Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1 of 2350




Plaintiffs’ Exhibit A-2
      Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2 of 2350


53887A46161975   CARL              KEYS                     CA     90001390461
538883A817B46B   RONNIE            HARRIS                   NC     90005013081
53888486476B75   OLGA              CANO                     CA     46068244864
538884A227242B   ROSA              KUSSEROW                 PA     90012164022
53888A13672B43   LASHELLE          LEAKS                    CO     33069940136
5388935A17B372   JOSE              SALMERON BENITEZ         VA     90000903501
5388949A35758B   RAYMOND           TRUJILLO                 NM     90012494903
5388964A672B43   JAMES             WILSOON                  CO     90013916406
53889A43261971   FEDDY             NIETO                    CA     46071900432
5388B15493B387   GLORIA            ROMERO                   CO     33064551549
5388B178972B27   CHRISTOPHER       BLUMHAGEN                CO     90014361789
5388B2A8771964   JOHANNA           POMPA                    CO     90007192087
5388B518171964   JOHANNA           POMPA                    CO     90012895181
5388B869A76B75   MARIA             SALAZAR                  CA     90014188690
5388BA53761975   APRIL             HETH                     CA     90009080537
5388BA99891534   LUPE              SANCHEZ                  TX     75089880998
538912A9933696   TOBIAS            DARDEN                   NC     90015022099
53891545A2B27B   VICTOR            JONES                    VA     90013145450
5389171245B393   JOSH              ANDERSON                 OR     90012967124
538917A6931428   TALISA            SAFFOLD                  MO     27547417069
538919A3372B43   JACKIE            VIGIL                    CO     33003959033
5389268255758B   OBDULIO           PEREZ                    NM     90007126825
5389294374B28B   BRENDON           SMITH                    NE     90010609437
53892A66961975   PEARL             AYON                     CA     90007930669
5389411A257157   DUSTIN            JACKSON                  VA     90014471102
53894242972B49   BLANCA            CEPEDA                   CO     90014752429
5389424A23B372   RUBEN             MARTINEZ                 CO     90011832402
5389492A37B46B   RAKECIA           BLOUNT                   NC     11006869203
538951A1633696   DANIEL            SMITH                    NC     90005611016
5389562A624B51   BARNES            SADE                     DC     90010886206
5389629344B28B   BILLY             HUFF                     NE     26066842934
53896956A2B27B   ANGEL             HERRERA                  DC     90013249560
538971AA82B228   CARLA             MEYERS                   DC     90012961008
53897699472B27   JOAN              AGUILAR                  CO     90015096994
5389832453B388   LISETTE           GONZALES                 CO     90007673245
5389912337242B   GINA              STOKES                   PA     90012141233
538995A2791895   RACHEL            SCOOPER                  OK     90012855027
5389986A772B36   DRISZELLE         RICHARDSON               CO     90013868607
5389989135B531   VANESSA           BENALLY                  NM     90014788913
5389B134833699   TONYA             ARNETTE                  NC     90010631348
5389B19655B387   CESAR             MARTIN FRANCISCO         OR     90014191965
5389B414672B49   RODNEY            CRUTCHER                 CO     33025544146
5389B632972B43   DAVID             FIMBRES                  CO     33008686329
5389B672661971   ESMERALDA         EL CANTERRA              CA     90000636726
5389B72A136165   EUSEDIA           GURRERO                  TX     90002357201
5389B954471964   AARON             LUEUANO                  CO     90012119544
5389B998261975   RAFAEL            ORTIZ                    CA     90013119982
538B1249872B97   ISAAC             SANTIAGO VIGIL           CO     90001132498
538B1831661975   ANDRES            VASQUEZ                  CA     90014748316
538B187118B169   TIFFANY           BARFUSS                  UT     90014688711
538B2258461971   RAY               RICHMOND                 CA     46006832584
538B22AA491895   MARIA GUADALUPE   FLORES                   OK     90013932004
538B251695B399   CHRIS             MILLER                   OR     44551135169
538B2699872B88   ANITA             MANSOURI                 CO     33017006998
538B2791A76B75   MENDOZA           JUAN MANUEL              CA     90002767910
538B3169161975   JORGE             LOAIZA                   CA     46062841691
538B361725715B   JOSE              ALEGRIA                  VA     81043496172
538B365315B387   DESHADEN          SMITH                    OR     90005196531
538B4483357157   HANNAH            AFRIYIE                  VA     90013964833
538B4855172B88   IVONNE            AGUILAR                  CO     90006888551
538B4A3AA33696   SHAINA            SIMMONS                  NC     90014500300
538B532825B399   EMILY             KINSEY                   OR     90005123282
538B556A272B27   DAVID             GRAY                     CO     33009815602
538B5621991895   ANDREW            WALKER                   OK     90015526219
538B5649772B36   REGINA            PROFFIT                  CO     90012856497
538B573515B531   LORI              BANUELOS                 NM     35090237351
538B574A276B75   SEBASTIAN         DOMINGO                  CA     90015107402
538B588317B46B   CLAUDIA           MARTINEZ                 SC     90013528831
538B5981861973   LYNN              SMITH VIRGINIA           CA     90010309818
538B5987991B79   CECIL             JOYE                     NC     90009689879
538B5A18743569   CANDACE           ROGERS                   UT     31008870187
538B5AAA793724   VIVIAN            BILLINGSLEY              OH     64536100007
538B6216533696   LASHAI            AUSTIN                   NC     90014942165
538B673525B234   BIBIDSAN          SANCHEZ                  KY     90010707352
538B6813161973   BLANCA            GOCHICOA                 CA     46098098131
      Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 3 of 2350


538B699A872B49   CATRINA       WINTERS                      CO     90004029908
538B69A265B531   RENTERIA      SUSANA                       NM     90001829026
538B6A24633699   SANTOS        MAURICIO MOLINA              NC     90003870246
538B718627242B   PAULA         STEVENS                      PA     90012441862
538B727545758B   TODD          SALAS                        NM     35590482754
538B761725715B   JOSE          ALEGRIA                      VA     81043496172
538B7865233696   PEGGY         SMITH                        NC     90012488652
538B7A88161973   ALAN          STRADA                       CA     90013860881
538B8148161971   CHRISTY       OLDHAM                       CA     90014831481
538B829895758B   DELILA        MELENDREZ                    NM     90010882989
538B921117242B   KATHRYN       SHUPE                        PA     51067682111
538B928682B27B   RICKY         SHEPHERD                     MD     81045732868
538BB37A272B43   MICHELLE      REYES                        CO     90012863702
538BB413561971   CATRISHA      WILKINSON                    CA     90010624135
538BB439372B27   BERTHA        HERRERA                      CO     33013474393
538BB914447833   TAVIA         FORD                         GA     90010999144
538BB923172B36   ANA           PENA                         CO     90012679231
5391136A357157   VERONICA      LEMUS                        VA     90011113603
5391148314B28B   ANGELA        COLEMAN                      NE     90008334831
539121A1A72B36   JESSICA       TRUJILLO                     CO     33052481010
53912A45181678   HERMAN        PENIX                        MO     29068840451
53912A5934B588   DEBBIE        CRESPO                       OK     21516420593
53913A92976B75   JUANA         ENRIQUEZ                     CA     90003130929
53914231272B88   PHILLIP       KOCER                        CO     90010542312
539146A885758B   CYNTHIA       MARTINEZ                     NM     90002606088
5391473117242B   LORI          VENTURELLA                   PA     51082367311
53915141172B97   KENNETH       GILDOW                       CO     90010971411
53915272572B36   HAYDEE        MARTINEZ                     CO     33052482725
53915749872B27   PRINCESS      KAMARA                       CO     90006397498
5391583655758B   DORA          NIETO                        NM     35587178365
5391681795B393   DAVID         SCOTT                        OR     44587968179
5391692A385928   BETTY         MEECE                        KY     90011279203
539176A785B271   MICHEAL       BRIGGS                       KY     90012196078
5391821425758B   TRAVIS        POWERS                       NM     90011392142
53918A3355B393   STEPHANIE     WILLCOX                      OR     90000720335
53919126772B43   BLANCA        ABALOS                       CO     90012691267
539191AA17242B   JOHN          WILTROUT                     PA     51046241001
5391928955B399   FREDY         PALOMO                       OR     90007952895
53919753772B49   FREDDY        ALVAREZ                      CO     90012757537
53919A3384B28B   STACIA        FLURY                        NE     90011320338
53919A43457157   MARIA         FUENTES                      VA     90014330434
5391B126443569   WALTER        BROWN                        UT     31034571264
5391B15848B191   DAVID         LOVATO                       UT     31002401584
5391B328372B27   ROBERT        GARDNER                      CO     90012733283
5391B333172B43   JOI MARIE     COOPER                       CO     33056823331
5391B39675B399   DIANA         BLAINE                       OR     90014473967
5391B416771964   CHELSEA       MANNING                      CO     90007194167
5391B4A9791534   IDA           ARAUJO                       TX     90011574097
5391B618272B77   RUDY          CIFUENTES                    CO     90005986182
5391B6A347242B   RENNE         JONES                        PA     51051416034
5392159488B169   TONY          GAGLIO                       UT     90000845948
53922386872B36   ANGEL         MADDEN                       CO     90003933868
539223A748B169   JUDITH        GONGORA                      UT     90014713074
5392294A684357   CHRISTOPHER   CHAPLIN                      SC     90011339406
5392324854B53B   PATRICIA      KERLEGON                     OK     90012392485
53923768372B43   JESSICA       OLIVAS                       CO     90008647683
53923993572B36   MARIA         MUNOZ                        CO     33023209935
539241A4372B77   EMMANUEL      NSHIMIYIMANA                 CO     33063211043
539243A748B169   JUDITH        GONGORA                      UT     90014713074
53924621676B75   ELMER         VENCES                       CA     90013056216
53924689A57157   SHEKU         KONNEH                       VA     90012686890
5392471787B46B   JONATHAN      ALVAREZ                      NC     90005477178
539251A495B271   JASON         CURRY                        KY     90002221049
5392563687242B   ALYSSA        THORNTON                     PA     90015326368
5392587235758B   MARTHA        CASTANEDA                    NM     35593588723
5392676A957157   CANDIDA       SUSANA                       VA     90014937609
53926A59A91534   JOSE          PASTRANA                     TX     90003490590
53927A3154B28B   SHANNON       JANIKE                       NE     90011680315
5392849AA61571   ASHLEE        SWIFT                        TN     90012664900
539288A7A5715B   TEMEKA        VALENTINE                    VA     81013938070
5392912845B393   ANTHONY       BEST                         OR     90013131284
53929767A91895   BRIAN         WILDER                       OK     90012777670
5392B14622B27B   HECTOR        CONTRERAS                    DC     90013391462
5392B554A72B36   MATTHEW       ALLEY                        CO     33006545540
5392B6AA87B46B   BALBINA       BASILIO                      NC     90014046008
      Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 4 of 2350


5392BA78491534   ERIKA             MORALES                  TX     90011900784
5393118875B531   BRENDA            RAEL                     NM     90012441887
5393145915B399   JULIAN            CHICH VENTURA            OR     44591324591
5393173A372B49   AHJAHNAE LEHSAE   MARTINEZ                 CO     90012387303
53931776A91895   AUSTIN            BARRETT                  OK     90012357760
53932A8315758B   ROSEMARY          MOREN                    NM     90005350831
53932A8664B543   ARLINDA           WILKES                   OK     90013420866
5393346615B531   JUDY              STEEL                    NM     35056724661
53933481872B43   ROSALIA           AGUIRRE                  CO     90012174818
53933561872B77   EMMANUEL          RODRIGUEZ                CO     33083315618
5393413318B188   ELIZABETH         BENNETT                  UT     90008971331
5393449AA72B67   PRINCE            BUKASA                   CO     33035554900
5393456A461973   VAU               SILIGA                   CA     90004715604
53934742A84357   NICOLE            SMALLS                   SC     90011567420
5393483368584B   FAY               SUELTZ                   CA     90003498336
5393493855B393   ANDREW            SURYNT                   OR     90012979385
5393532725B93B   JOSE              MESIAS                   WA     90015483272
53935545672B43   ANDREA            CASTILLO                 CO     33092665456
53935A1268B169   ADAM              MATTHEW                  UT     90010440126
5393681745B399   DON               JOHNSON                  OR     90014308174
5393712885B393   AMY               BRISTOW                  OR     90008381288
53937A39455959   GILBERT           HERNANDEZ                CA     90012640394
53938773A61973   CHRIS             BERRY                    CA     46051827730
5393893A284357   HAYWARD           THROWER                  SC     90008369302
53938981A61971   LISA              BELROSE                  CA     90013999810
53939727172B43   JAIME             ANCHONDO                 CO     90006797271
539398A6561975   SHEAKIA           EDWARDS                  CA     90014468065
53939A5235B399   TIMOTHY           ARCHIBALD                OR     44530660523
5393B543272B67   ANNETTE           TRUJILLO                 CO     90003955432
5393B88562B27B   JOSE              ALVARDO MARTINEZ         DC     90007688856
5393BAA3833696   KIMBERLY          CUSHMAN                  NC     90013600038
5394126325715B   ALBERTO           VILLANUEVA               VA     81082482632
5394291145B531   CHRISTINA         HERNANDEZ                NM     90000309114
53942A9A78B356   SHANAVIA          MCFADDEN                 SC     90013940907
53943891772B36   MARLENE           RODRIGUES                CO     90000238917
539442A8A91534   ANNA              RAMIREZ                  TX     75053062080
53945857972B49   GUADALUPE         MAR PARRA                CO     90009698579
5394588A172B25   DAVID             KELLEY                   CO     33050898801
539458AA34B28B   KAKA              KUONY                    NE     90011058003
53945A18133696   PICHARD           THACKER                  NC     90000170181
53946334676B75   MARIBEL           PADILLA                  CA     90014583346
5394746435B328   ROBERT            SCHNEIDER                OR     90013754643
5394766565B393   IAN               MORGAN                   OR     90008296656
53948496A33696   MUSA              SAVAGE                   NC     90011214960
53948523172B77   LAUREL            ROBERSON                 CO     33048405231
5394861287242B   MICHELE           JONES                    PA     90007996128
53948612A51348   DONNA             STIDHAM                  OH     66074976120
5394879AA5B387   BARBARA           KING                     OR     90009917900
53948879A5B393   MARIA             MATIAS MATIAS            OR     90013108790
53949A4A891895   JERAMY            MOREY                    OK     90008120408
5394B34A15B531   AMY               GARAY                    NM     90012623401
5394B366591534   ARIANNA           SALAZAR                  TX     90014013665
5394B498972B43   ALMA              RASCON                   CO     33027424989
5394B82717242B   TERRI             JORDANHAZY               PA     90011308271
5394B98A88B169   EPPY              HERNANDEZ                UT     90014289808
5394BA21693724   REGINA            BROOKS                   OH     90001380216
53951331672B77   SONY              GOMEZ                    CO     33072293316
53951618A5B399   LARISA            KURMAYEVA                OR     44547446180
53951AA925B393   KRYSTAL           DUFF                     OR     90014920092
5395349914B588   KANISHA           ORANGE                   OK     21503124991
53953A5177B46B   DESHIA            STARKES                  NC     90007530517
53953A69261975   JOSE              CORONADO                 CA     90013120692
539544A5261971   ABEL              ESCOBAR PEREZ            CA     90015124052
539553A5676B75   ALISHA            LIRA                     CA     90004923056
539556A645B244   JOHN              REICHLE                  KY     90012856064
53956755A8B169   MONIQUE           JOHNSON                  UT     90007777550
53956962224B7B   EVER              CASTILLO                 VA     90012119622
5395761748B169   NATALIE           SMITH                    UT     90014716174
5395762A685928   DESIREE           WEARREN                  KY     90008506206
539576A755B399   ZAIRE             HAMILTON                 OR     90013906075
53957725172B36   MICHAEL           LEWIS                    CO     90013787251
53958688A72B27   JOSEPH            HEIDENREICH              CO     33010066880
5395899A77B46B   JUDY              MOUA                     NC     90012109907
53959A21172B27   CARLOS            VILLALOBOS               CO     90009640211
53959A63943569   AMBER             RODRIGUEZ                UT     90008510639
      Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 5 of 2350


5395B11AA5B399   KRISTIN       SALER                        OR     44540611100
5395B42345715B   MABEL         RAMOS                        VA     90002024234
5395B61748B169   NATALIE       SMITH                        UT     90014716174
5395B869661971   FRANK         NEESE                        CA     90012488696
5396182535B393   JAMEENA       WEST                         OR     90012018253
539618A4376B75   YADIRA        GUZMAN                       CA     46084958043
539621A6761973   RENE          NAVARRO                      CA     90014831067
53962352A8436B   SHEYENNE      BRINSON                      SC     90004493520
5396253715715B   JOSE          PEREZ                        VA     90006745371
53962929A93724   CHRISTINE     HOLMAN                       OH     64582289290
53962A39A62322   HUMBERTO      TORRES                       AZ     90014050390
5396332755B531   JENNIFER      POSTON                       NM     35091483275
5396372615B387   FERNANDO      MARTINEZ                     OR     90010127261
53963917772B43   MICHAEL       BRADFORDS                    CO     90012599177
5396414625B387   DANIEL        WHEAT                        OR     90011191462
539655A8172B27   JENNIFER      JACOBS                       CO     33078505081
53965764A51348   PAMELA        MARTINEZ                     OH     90009637640
5396583477B46B   NANCY         MAYE                         NC     90005898347
53965952872B49   JOSE          HERNANDEZ                    CO     33077469528
53965AA9257157   TERRI         CHADE COLLINS                VA     81046230092
539676A2272B49   ANDREA        HERRERA                      CO     90010666022
5396831A472B49   HOPE          WATKINS                      CO     90002313104
539684AAA4B28B   BRITNEY       HOOD                         NE     90012814000
53968724172B27   AMANDA        WATERS                       CO     90007367241
539687A5361973   KARINA        CRUZ                         CA     90013167053
53968A2745B393   GOYO          MORENO                       OR     90011130274
53969796776B75   ANNIE         PEREZ                        CA     90013077967
5396994675758B   SOCORRO       CABALLERO                    NM     90008189467
5396B71785758B   GEORGE        CARDENAS                     NM     90012597178
5396B72AA72B67   ELIZABETH     GONZALEZ                     CO     90007297200
53971385498B2B   NICOLE        TILLMAN                      NC     11077903854
53971432476B75   YOLANDO       ORTEGA                       CA     90013654324
53971A2A75B387   JOANNE        BEAUDOIN                     OR     44572080207
5397252325B393   GILBERTO      CANCHE CASTILLO              OR     90013955232
5397273133B387   STEAM KING    INC                          CO     33028267313
5397286117B46B   DAIZHA        DANCY                        NC     90014758611
53973155A91895   THOMAS        NEWBERRY                     OK     90011871550
5397364872B27B   TAYLOR        CARRORLL                     MD     90015526487
53974133A33699   JUANITA       SIMON                        NC     12062151330
5397421915B393   JOSE          ALVARADO                     OR     44516022191
5397431865758B   MARIA         LOPEZ                        NM     90008053186
53974328A51348   LETICIA       KELLER                       OH     90013833280
5397436A972B27   BALDOMERO     VILLANUEVA                   CO     33081293609
5397466847B46B   MICHAEL       WILLIAMS                     NC     11057826684
5397483962B27B   CAMMEY        TAYLOR                       DC     90015188396
5397499535B399   JOSHUA        LEPOIDEVIN                   OR     90010899953
5397558978B165   BROOKE        JENSEN                       UT     31073615897
539755A964B28B   BRITTNEY      PHILLIPS                     NE     90013595096
5397563332B27B   JOE           SIMTH                        VA     90012756333
53975763172B27   WOODY         SEBASTIAN                    CO     33039567631
53975767672B49   PATSY         THEISEN                      CO     33008207676
5397588375715B   KELECHA       NABIL                        VA     90001848837
53976289972B67   DOLORES       MENNING                      CO     33035562899
5397636A176B75   EDWIN         BELL                         CA     46039063601
5397659925B531   RONNIE        REUST                        NM     90003735992
5397743775758B   JAIME         QUINTANA                     NM     35587484377
5397758815B283   DANIEL        VARGAS                       KY     68082865881
53978424972B27   MARIO         LAMAS                        CO     33034684249
5397877165B531   JOESPH        BRITT                        NM     90008957716
539795A2757157   TOMMY         HOLIDAY                      VA     81048625027
5397B683561973   SCOTT         MARTINEZ                     CA     90014026835
5397B77827242B   TAWNIE        BICKUS                       PA     51054397782
5397B98685B393   TOMAS         SAQUIC LARES                 OR     90012119868
53981283A55959   LUISA         ANDRADE                      CA     90014632830
53981294A72B43   ALICIA        MCCARTY                      CO     90010532940
5398271337B46B   NATASHA       GIVENS MONROE                NC     90000717133
5398278145B531   JAMAL         EVERAGE                      NM     90010697814
53982888772B36   RICARDO       GONZALEZ                     CO     33087508887
53982A8262B234   RONNIE        MCLEOD                       DC     90005660826
53984312A72B67   JOSE          ORELLANA                     CO     90000583120
53984891772B36   MARLENE       RODRIGUES                    CO     90000238917
53984898572B36   FORREST       GARRISON                     CO     90012988985
53985549972B43   JENNIFER      CASADOS                      CO     33062955499
53985598572B77   DONNA         LACEY                        CO     33058715985
539859A9961975   JONETTE       MINISEE                      CA     46035919099
      Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 6 of 2350


5398611625758B   VALERIE       ACOSTA                       NM     35590041162
5398658165B543   GARCIA        ELIZBETH                     NM     35057105816
539868A5472B36   BRENDON       JOHNSON                      CO     90012348054
53986A12357157   KEELA         PRESTONSOTO                  VA     90014920123
53986A47561973   RAY           DYER                         CA     90012160475
53986A54272B67   MICHAEL       PANNELL                      CO     90004570542
53986A9A67242B   TANYA         ARTMAN                       PA     90013370906
53987194972B43   NATIVIDAD     VELEZ                        CO     33087871949
53988732172B27   JOSE VICTOR   ALMANZA                      CO     90010787321
5398882A231428   CASSIE        WILLIAMS                     MO     90002408202
53988A77572B67   LUIS          MEJIA                        CO     33089990775
5398911745B399   JOSE          SALAS                        OR     90013821174
5398977295B531   HEATHER       GLASSCOCK                    NM     90014967729
53989A8945758B   ARREY         NOVAMARIE                    NM     90003050894
53989A91172B43   SHON          SELLS                        CO     33008690911
53989AA9461975   CLEMENTE      LEON                         CA     46041460094
5398B3A5771964   PEDRO         VALLE                        CO     90013023057
5398B43965B531   MARY          LUJAN                        NM     90014244396
5398B6AA191895   CHRISTINA     PUMA                         OK     21084676001
5398B861233696   ANTHONY       GOLDEN                       NC     90004888612
53991112A91895   DAVID         BRUCE                        OK     21023721120
53991115276B75   FABIOLA       ONESTO                       CA     90014341152
53991315A86B84   JOSHUA        PICARD                       CT     90014973150
5399154A25715B   GWYNETH       ANTONLINA                    VA     81067535402
539916A385B393   CAROL         FULTZ                        OR     90012966038
5399178648B169   NICOLE        ALARID                       UT     90014717864
53991A41561975   BRITNEY       MARQUEZ                      CA     90011780415
5399233437242B   ALBERT        CARALLI                      PA     90009533343
5399241A75B271   STEWART       BROWN                        KY     90013754107
53992442A57157   ANNIE         OVALLE                       VA     90005434420
5399434165B531   RUBEN         PONCE RODRIGUEZ              NM     35091053416
53994446A72B27   SANDRA        ESQUIBEL                     CO     90003584460
53994834A71964   ALEXIS        SANTIAGO                     CO     90008808340
539951A8891534   YAZMINE       VILLEGAS                     TX     90014901088
53996114872B88   VERONICA      RUIZ                         CO     33072831148
53997727872B67   GLADYS        LOPES                        CO     90007297278
539979A1184373   MARILYN       GOMEZ                        SC     19021629011
5399867A62B27B   ERIC          COFFEN                       DC     90001716706
5399927688B169   SIMON         D PEREZ                      UT     90013702768
5399947712B27B   MARIA         LOPEZ                        VA     81062194771
5399966135715B   PRIVATE       NOSEZY                       VA     90001076613
5399979165B531   ARMANDO       AGUILA                       NM     35013117916
5399B62275715B   MARGUERITE    THOMPSON                     VA     90009296227
5399B735561975   LYDIA         VALDEZ                       CA     46035917355
5399B8A5691534   JAZMIN        SALCIDO                      TX     90007108056
539B1229861973   LIMON         RAFAEL                       CA     46007802298
539B1446533696   KALLISHA      GIBSON                       NC     90011214465
539B1883371964   APRIL         HERNANDEZ                    CO     90013468833
539B191A97B365   LOIS MAIDEN   MCCRAY                       VA     90007089109
539B1A69851354   ASHLEY        HIBBARD                      OH     90010360698
539B1A75776B75   DULCE         ARELLANOS                    CA     90009880757
539B267485B399   TRACY         FLETCHER                     OR     90010566748
539B2A33461973   ISMAEL        VALENZUELA                   CA     90006210334
539B336295B387   MICHELE       DOREN                        OR     44589943629
539B3691A61975   MARIA         RAMOS                        CA     90013116910
539B369A25B531   CARLOS        GALVAN                       NM     90015336902
539B378A493724   NIELAH        IVERY                        OH     90005567804
539B44A855715B   WILFREDO      ESTRADA                      VA     90009264085
539B458845B393   MICHAEL       SAMAOTA                      OR     90004315884
539B466917242B   ETTA          CRAWFORD                     PA     51014186691
539B4899772B77   CATHERINE     PLATT                        CO     33053558997
539B537897242B   TY            HAYDEN                       PA     90015533789
539B545915B393   JULIAN        CHICH VENTURA                OR     44591324591
539B5823584357   DON           MERCER                       SC     90010068235
539B5979361973   ELENA         PEREZ                        CA     90007989793
539B61A6A91534   DALIA         PEREZ                        TX     75000881060
539B641857B46B   TERRON        STEVENS                      NC     90014564185
539B7148372B49   FELIPE        SAENZ                        CO     90001541483
539B7449133699   KITIKA M      MCPHERSON                    NC     90014924491
539B7657861971   LINDA         MULLEN                       CA     90012976578
539B7847172B67   PERLA         RODRIGUEZ-SIMENTAL           CO     33081918471
539B7A83191534   OLIVIA        ULLOA                        TX     90007410831
539B7AA3261975   ELIAS         LOPEZ                        CA     90013120032
539B8539A55959   NORMA         SANDOVAL                     CA     48011865390
539B8774161975   MICHAEL       WEBER                        CA     46008647741
      Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 7 of 2350


539B893262B27B   REGINALD      SMITH                        DC     90014599326
539B9274A55959   RUTH          MCDOWELL                     CA     90013172740
539B9334A5B387   SEAN          MUNROE                       OR     90010263340
539B9446A71964   JAMES         HANKS                        CO     32062134460
539B9511561973   ANTHONY       LAMONT                       CA     90013745115
539B9586161966   JAMES         MAIER                        CA     46087115861
539B9911933699   ZORAIDA       RODRIGUEZ                    NC     90013989119
539BB23442B27B   FELICIA       WASHINGTON                   DC     90014702344
539BB327491895   SHAMEKA       WALKER                       OK     90011523274
539BB47A576B75   JESSICA       MARTINEZ                     CA     90014944705
539BB544755959   VICTORIA      AVALOS                       CA     90014745447
539BB774733699   ANAHI         RUIZ                         NC     90011497747
539BB919861973   ARMANDO       RUIZ                         CA     46016119198
539BB97997B46B   KELLY         LENNON                       NC     90011069799
53B11136A91895   NORMA         SIGLLA                       OK     21002761360
53B1116815758B   GABRIELA      VALARDE                      NM     90013961681
53B11412372B77   MICHAEL       BEDWELL                      CO     90005974123
53B11433833696   OLLIE         WILLIAMS                     NC     12077004338
53B1196747242B   TRACY         BUNRIDGE                     PA     90001509674
53B12219572B36   DON           MURPHY                       CO     90003862195
53B12583976B75   MARIA         GAMINO                       CA     90014215839
53B126A735758B   JESSICA       RAMIREZ                      NM     90001156073
53B129A7461973   FABIOLA       JORDAN                       CA     90005049074
53B1321917B46B   MARCUS        STEELE                       NC     11076012191
53B133A4397125   SHELA         JACKSON                      OR     44595363043
53B133AA161971   JUAN          RUIZ                         CA     90012893001
53B1383144B588   PAYGO         IVR ACTIVATION               OK     90014948314
53B13911543569   DAVID         KELLEIGH                     UT     90012229115
53B13973736165   MELINDA       ALVAREZ                      TX     73596369737
53B14476161971   VERONICA      LOPEZ                        CA     46091284761
53B14825A43569   JENNIFER      GOROSTIETA                   UT     31092908250
53B1483A347877   SHARITHA      RIDGEWAY                     GA     90008348303
53B15132271964   STACIE        TSHABALALA                   CO     90014631322
53B15176972B49   DONALD        HOLTZ                        CO     90007481769
53B15554A55945   JANIE         ZACARIAS                     CA     90015135540
53B1624395B387   FRED          FANATIA                      OR     44506622439
53B16288472B27   BRENT         ROBERTS                      CO     90012252884
53B1632515B531   ELSA          RUBIA                        NM     90010373251
53B16A66A91534   RICARDO       TOLEDANO                     TX     75001200660
53B17159684357   JESSICA       NECESSARY                    SC     90014601596
53B1731465B531   MARINO        GAUNA                        NM     90014473146
53B1762167B461   JEROME        ALFORD                       NC     90005606216
53B17689A72B49   STEPHANIE     STEWART                      CO     90014376890
53B176A435715B   ZAYDA         FUENTES                      VA     81047346043
53B17926693724   MELANIC       BAKER                        OH     90009879266
53B1795A58B169   RHONDA        GUTIERREZ                    UT     90011069505
53B17A12843569   PAYGO         IVR ACTIVATION               UT     90014410128
53B18196133699   JUSTIN        VALENTINE                    NC     90012181961
53B1875887B431   ALEXIS        CUTHRELL                     NC     90014597588
53B18981A91895   WILLIAM       ROWLETT                      OK     90015059810
53B18A1927B46B   DARYL         SEARCY                       NC     11006200192
53B199A697B499   LASHAWN       NICHOLS                      NC     90008649069
53B1B139661971   LEE ANN       GRIDER                       CA     90011071396
53B1B253172B43   SARAHI        SALCIDO                      CO     90010752531
53B1B51565B543   FRANCISCO     CHAVEZ                       NM     35041275156
53B1B537161973   LAFS          ONE                          CA     46035185371
53B1B599461973   IVAN          MARTINEZ                     CA     90010115994
53B1B74844B52B   LACRESHA      COUNTS                       OK     90011257484
53B21111193782   MELINDA       DUNCAN                       OH     90008191111
53B21AA5743569   TEA           JESSE                        UT     90005740057
53B2216275B176   LISA          MORRIS                       AR     23013761627
53B2265A433696   RONNIE        FARROW                       NC     90011136504
53B22811955959   MICHAEL       NANEZ                        CA     90010028119
53B22988384357   SHRICE        GWATHNEY                     SC     90014629883
53B22A61A33696   WILLIAM       MCGEE                        NC     90009480610
53B2313754B28B   ADONAI        DONIS                        NE     26065991375
53B2339228B169   MANUEL        ALVAREZ                      UT     31034403922
53B2351A891895   BETHANN       HENDERSON                    OK     21054555108
53B23724876B75   ROQUER        OJEDA                        CA     90011077248
53B23939861971   ESTHER        POPOCA                       CA     90015319398
53B2399887B46B   AMY           RANKIN                       SC     11007529988
53B242A5676B75   REGINA        COPELAND                     CA     90011472056
53B2436258B169   STAR          HERNANDEZ                    UT     90015213625
53B243A345B393   AILEN         ABASEAL                      OR     90003553034
53B244A8772B67   CRYSTAL       MEDINA                       CO     90012084087
      Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 8 of 2350


53B2468A18B188   MARIA                    SANTILLAN         UT     90007136801
53B24A99972B27   ARLINDA                  CONTRERAS         CO     33018120999
53B25383A61497   ASANTE                   AIDOO             OH     90014673830
53B25497772B27   MARTHA                   LANDEROS          CO     90005664977
53B25931471964   TABITHA                  WRIGHT            CO     90010439314
53B2639355B399   EVANIS                   MUTOS TORNES      OR     44586883935
53B26531872B77   STEPHANIE                PAPE              CO     33072275318
53B26772157126   EMELIN                   CRUZ              VA     90001297721
53B26844561975   DOROTHY                  PINAULA           CA     90014128445
53B26947891534   ROBERT                   DAVIS             TX     90013799478
53B26985171964   INTERNATIONAL BOARDING   AND PET           CO     90008989851
53B26A7975B387   FULGENCIA                ZURITA            OR     90013240797
53B27332A2B242   SHARELLE                 THIGPEN           DC     90008613320
53B2734A272B88   LARRY                    HELLER            CO     33040463402
53B2751694B521   ANTONIO                  GARCIA            OK     90007005169
53B27539661971   TERRANCE                 RIVORD            CA     46040505396
53B27563972B49   LORENA                   AVILA             CO     33098615639
53B2776145758B   VICKI                    TORRES            NM     35545237614
53B27876461973   LYNETTE                  GALVAN            CA     90010308764
53B285A2372B36   RENEE                    RACICOT           CO     33055685023
53B28623A5B531   PATRICIA                 MADRID            NM     35065086230
53B28734672B67   JOHN                     BRADSHAW          CO     33035847346
53B28815A84357   BRANDI                   PRINCE            SC     90014608150
53B28936198B2B   KAREN                    VEGA              NC     11062649361
53B29836155959   ELEAZAR                  LEMUS             CA     48087328361
53B2B35565758B   FRANK                    ALVEY 3RD         NM     90013383556
53B2B57815B387   MARIA                    MARTINEZ          OR     44513825781
53B2B67354B521   DEBBIE                   TABBR             OK     90008946735
53B2B967676B75   ALYSSA                   SANCHEZ           CA     46019719676
53B31199285928   JACKY                    SILVA             KY     90014711992
53B3125787B385   THOMAS                   MOST              VA     90005632578
53B31444733696   CAROLYN                  ORTEGA            NC     90010054447
53B32442931429   DANIELLE                 FOWLER            MO     90004684429
53B3275875758B   SAMUEL                   VALDEZ            NM     90010437587
53B329A384B588   JACOB                    GARDINER          OK     90001979038
53B33369A5B531   TIANA                    RODRIGUEZ         NM     90013203690
53B33695444B91   PHILLIP                  LONG              OH     90014106954
53B33917A91534   CARLA                    ISAURA            TX     90008459170
53B3398195B387   HAZEL                    HAYES             OR     90001079819
53B343A2133699   FREDRICA                 BANKS             NC     90015273021
53B346A8571964   ANA                      SERRANO           CO     90013056085
53B34918972B36   ANN                      PORCELLY          CO     90015149189
53B35222A61971   OLEY                     JONES             CA     90015032220
53B35462572B77   ROSI                     ZACEVISH          CO     33048274625
53B3566285B531   MICHAEL                  SON               NM     90002646628
53B357A587B46B   ONUQUA                   CHISOLM           NC     90003747058
53B3583925715B   GUSTAVO                  GAMEZ             VA     81082698392
53B3598385758B   CAROLYN                  SMITH             NM     90013469838
53B36242172B49   ROSITA                   DELGADO           CO     90007792421
53B36435A72B27   ALMA                     ROSALES           CO     33087154350
53B36441743569   NICK                     SHARP             UT     90001884417
53B36A3A75B393   ROMERO                   SANDERS           OR     90002930307
53B37589591895   KEVIN                    CAVE              OK     90013925895
53B37725255959   ALEXIS                   SANCHEZ           CA     90013937252
53B37869471964   LORENA                   LOA               CO     90014718694
53B37984824B7B   PATRICIA                 CANADY            MD     90004369848
53B38452198B2B   ADRIANNE                 SIMMONS           NC     90008614521
53B38591491895   LAURA                    LOWE              OK     90013925914
53B3873175758B   TANIA                    GOLDEN            NM     90009687317
53B38771291534   ROCIO                    DOMINGUEZ         TX     90014067712
53B3889887B46B   KEMANI                   WALKER            NC     90014308988
53B38929A72B49   GEORGE                   AMAYA             CO     90015199290
53B38A9245B393   TEISA                    FUKOFUKA          OR     44548550924
53B391A6991587   JORGE                    SAENZ             TX     90013481069
53B3922545715B   JUANA                    TORRES            VA     90015102254
53B3927485B387   ELISA                    MARTINEZ          OR     90013402748
53B39425333696   CYNTHIA                  HORTON            NC     90012074253
53B39525642335   TYRON                    SUTTLES           TN     90011415256
53B3959215754B   VANESSA                  CARRILLO          NM     90008295921
53B39A18472B43   SHANELLE                 OPPERMAN          CO     90005270184
53B3B298833669   BLANCA                   CHICAS            NC     90011512988
53B3B921461975   ELIZABETH                HERNANDEZ         CA     46089659214
53B4143655B271   CEDRICK                  GRIFFIN           KY     90004394365
53B41533551348   BENEDICTA                AFFUL             OH     66032915335
53B41695481664   TERESA                   WEAVER            MO     90008746954
      Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 9 of 2350


53B41773A72B31   BENJAMIN      ROSE                         CO     90006167730
53B422A4685928   ASHLEY        SHACKELFORD                  KY     90014622046
53B4336934B28B   THOMAS        VONRENTZELL                  NE     26007033693
53B4364A761971   AIOTEST1      DONOTTOUCH                   CA     90015116407
53B44271655959   ANA           CORTEZ                       CA     90012522716
53B44395491895   WILLIE        KAUFFMAN                     OK     21096813954
53B4486A572B43   STEPHANIE     ARCHULETA                    CO     90013328605
53B44934161975   MARIBEL       ESPINOZA                     CA     90001729341
53B4495717242B   TANA          DOVE                         PA     90014569571
53B45355191534   HECTOR        JURADO                       TX     90007893551
53B4537948B169   GUSTAVO       BALCAZAR                     UT     90010903794
53B45878A7B46B   SIBYL         DURANT                       NC     11017198780
53B45A2A672B49   HECTOR        SALINAS                      CO     90008200206
53B46323933696   KIMBERLY      CASTERLOW                    NC     12010033239
53B46498651348   ERICA         WILLIAMS                     OH     90009494986
53B468A4584357   PHONESAVAN    KONGKIAT                     SC     90014868045
53B46923772B36   NICOMEDIS     ESCOBAR-MERINO               CO     90012589237
53B47114333699   KEYLEE        BARRAGAN                     NC     90014831143
53B47254561973   MIGUEL        MUNOZ                        CA     90013892545
53B472A9A8B173   DAVID         CASALASPRO                   UT     31016732090
53B4744147B46B   ANGELO        TILLMAN                      NC     11092534414
53B47565272B77   MARIA         HERNANDEZ                    CO     33072275652
53B47595891895   NORMA         RAMIREZ                      OK     90013925958
53B4776115B399   LORRIE        PALMER                       OR     44533837611
53B47892A5758B   MEGAN         JOHNSON                      NM     35529128920
53B48753433699   MIGUEL        MARTINEZ                     NC     90015217534
53B4882688B169   JOHN          MARK                         UT     90015328268
53B48868555959   ERNESTO       TABOADO                      CA     90009328685
53B48A6AA93724   SHAKIYA       REID                         OH     90004600600
53B48A8125B399   DAVID         CAMPBELL                     OR     44545430812
53B49483333696   OSCAR         MENDES                       NC     90012684833
53B49619285928   VALERIE       SCOTT                        KY     67060906192
53B4992A984357   MARQUISE      SIMMONS                      SC     90014619209
53B4B17795758B   JOSE          MALDONADO                    NM     90012361779
53B4B32897B46B   TAMMY         BURCH                        NC     11001123289
53B4B34214B28B   DZEMILA       SUBASIC                      NE     90007803421
53B4B48715B387   DWAYNE        JUDGE                        OR     44575464871
53B4B591491895   LAURA         LOWE                         OK     90013925914
53B4B596861973   PAULA         GANT                         CA     90010875968
53B4B71925715B   IRIS          VEIZAGA                      VA     90012047192
53B4B86A291534   BLANCA        REY                          TX     90010758602
53B51457271964   BETH          GELLERMAN                    CO     90009714572
53B51787772B27   GARY          AKIN                         CO     33013687877
53B51A36684357   DEMETRESE     MULLIGAN                     SC     90014630366
53B5249AA2B27B   ABRAHAM       GONZALEZ                     DC     90014254900
53B5332975B393   SOFIA         SALINAS                      OR     90013953297
53B54172485928   SHANE         ADCOCK                       KY     90004041724
53B54292972B27   BRIAN         BURTT                        CO     33082612929
53B54572976B75   JAMES         GOSS                         CA     46001685729
53B5493242B27B   ALMA          HERNANDEZ                    DC     90006369324
53B55563957157   YOVANY        A. MEDINA                    VA     81029555639
53B55581972B88   BRYON         BELLA                        CO     33016745819
53B56223276B75   GERI          COLVIN                       CA     90012522232
53B5654A985947   LUIS          HERNANDEZ                    KY     90013945409
53B5655172B27B   MARVIN        ALVARADO                     DC     81051835517
53B56637591895   BRITTANY      SUMMERS                      OK     90013926375
53B57292172B43   TERRY         READ                         CO     33046352921
53B57467271964   KAYE          QUEEN                        CO     32014824672
53B5758564B28B   TYLER         ABBOTT                       NE     26066375856
53B57654757157   WILIAN        LORENZANA                    VA     81092166547
53B5769A161973   ADAN          ZAVALA                       CA     90013016901
53B5815855758B   GRADALUPE     DURAN                        NM     90009401585
53B5838215B531   IRMA          ACEVES                       NM     35014693821
53B58542151348   OMAR          BASTITA                      OH     90012835421
53B58799A33696   BRYAN         SLIVER                       NC     90010737990
53B58895772B36   DURAND        YOUNGS                       CO     33001748957
53B58A25461971   KIRBY         WALLER                       CA     90009820254
53B59116391534   JAIRO         LOPEZ                        TX     90005791163
53B5928685B393   JULIANE       SOLIS                        OR     90015202868
53B5947772B27B   RAYMOND       HILL                         DC     90010494777
53B59943957157   JOSE          QUINANTILLA                  VA     90013319439
53B5B49467B46B   TONY          CAMPS                        NC     90012874946
53B5B721993724   LATICIA       HOWARD                       OH     90015007219
53B5BA39461973   ANGEL         GONZALEZ                     CA     90014830394
53B5BAA7985928   HYAM          ALABASSI                     KY     90008940079
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 10 of 2350


53B61376772B27   CARLOS        MANZANARES                   CO     90001313767
53B61428557157   DANI          ALVAREZ                      VA     90010134285
53B6151165B393   LALATTA       HERREJON                     OR     44505955116
53B61514172B36   RAQUEL        VILLAPANDO                   CO     90013315141
53B61736272B49   SHANA         THOMAS                       CO     90013557362
53B62422185928   ANNA          EDWARDS                      KY     90011964221
53B6311515758B   LETICIA       GONZALES                     NM     90005901151
53B63171491587   RACHEL        GUSMAN                       TX     90013481714
53B63292491535   MARIA         GUNTER                       TX     90005162924
53B63293491534   CAROL         DIAZ                         TX     90009422934
53B63396A2B861   AMANDU        RUIZS                        ID     90005383960
53B6345395B543   SOLANNO       MISSAEL                      NM     90006204539
53B6357652B27B   LARRY         DRAKEFORD                    DC     90012845765
53B63693641229   DARMONICA     FIELDS                       PA     90011596936
53B64114333699   KEYLEE        BARRAGAN                     NC     90014831143
53B64171491587   RACHEL        GUSMAN                       TX     90013481714
53B6429655B387   JOANNA        BROWN                        OR     90011142965
53B645A2961973   AMBER         RAMIREZ                      CA     90012375029
53B6477522B27B   LINDA         JACKSON                      DC     90010607752
53B65263255959   JOSEPH        SANCHEZ                      CA     90013822632
53B65379185928   SONIA         WITHERS                      KY     67012373791
53B65466861973   MARTHA        GONZALEZ                     CA     46077774668
53B6581225B399   KWELU         WILLIAMS                     OR     90009888122
53B66232A93724   MICHAEL       RANDALL                      OH     64500802320
53B662A9A72B49   MARIA         CABRERA                      CO     90011482090
53B66387155959   ERNESTO       HERNANDEZ                    CA     90013023871
53B66743933699   CATALINA      GONZALEZ                     NC     90008867439
53B6712645B393   DAVID         BROWNE                       OR     90000521264
53B672A4271964   ADRIANA       ACOSTA-GUERECA               CO     90011632042
53B67412661973   ESTEFANY      CARBAJAL                     CA     90007574126
53B674AA272B27   DAVID         WITZKE                       CO     33010814002
53B67647991895   DYLLAN        MANESS                       OK     90013926479
53B68226193724   JESSICA       BOBLITT                      OH     90008812261
53B6824A824B7B   ERICK         GARCIA                       DC     90012842408
53B682A7655959   ANGELITA      GUZMAN                       CA     90012842076
53B68719A51348   JESSICA       EUBANKS                      OH     90013527190
53B68774733699   ANAHI         RUIZ                         NC     90011497747
53B68A6A65B393   MANO          SMITH                        OR     90014100606
53B6935A27B46B   MARIA         DERAS                        NC     11007573502
53B69467172B43   TINA          ENRIQUEZ                     CO     90010584671
53B69477633699   KENDRA        BUTLER                       NC     12095404776
53B69588224B7B   ELMER         GONZALEZ                     VA     81044245882
53B69627861986   GERMAN        SILVAS                       CA     46081936278
53B6B165691587   FERNANDO      FERNANDEZ                    TX     90013481656
53B6B72565B531   JARED         PADILLA                      NM     90014467256
53B6B753433699   SEYMORE       BUTTS                        NC     90012257534
53B6B768961971   MATHEW        RISSE                        CA     46074807689
53B6B783291534   ANTONIO       CHAVEZ                       TX     75085137832
53B6B821433699   IVAN          FLORES                       NC     90014318214
53B6B85744B588   TERRI         MYER                         OK     90014988574
53B6B92975758B   ANTHONY       BARRAZA                      NM     90010469297
53B71175793724   TENOLA        OLIVER                       OH     64585251757
53B71188791895   JOSEPH        WALSH                        OK     90013641887
53B71325971964   LAMAR         WASHINGTON                   CO     90014633259
53B71752585928   TARAS         ISOM                         KY     90008387525
53B71A17157157   BILL          CABEZAS                      VA     90013930171
53B72186651348   DOUGLAS       BODEN                        OH     66076801866
53B7259A254151   MARK          AYERS                        OR     90012165902
53B72914457157   PARIS         SIMMONS                      VA     90010929144
53B72A1374B521   PHILIP        FARRIS                       OK     90012670137
53B734A725B393   CARIE         LEE                          OR     44589614072
53B73528191534   GENARO        BUSTILLOS                    TX     90014855281
53B73624472B43   JOSE          PEREZ                        CO     33094936244
53B7362577B46B   JOSE          MEDINA                       NC     11086866257
53B73929651348   KURT          MURDEN                       OH     66030719296
53B74188891534   MICAELA       VARGAS                       TX     90015031888
53B741A3A91895   DIANA         PANTOJA                      OK     90013831030
53B74A6162B245   ZONEIL        WILLIAMS                     DC     90007250616
53B75516633696   SHAWN         MCCRARY                      NC     12090705166
53B7633858B169   COREY         WALKER                       UT     90015193385
53B7663495B531   NATALIE       FAJARDO                      NM     35097486349
53B76929871922   LEOY          OLIVAS                       CO     90013289298
53B77166672B49   NADIA         PEREZ-ALVAREZ                CO     90014741666
53B7739135758B   LUZ           MORALEZ                      NM     90013003913
53B77988161975   KEVIN         COLLINS                      CA     90013619881
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 11 of 2350


53B7821988B169   TIARA          MARTIN                      UT     90009242198
53B78653485928   TABATHA        DRY                         KY     90014916534
53B78864172B49   TERESA         BERENS                      CO     90012208641
53B78A9914B28B   AMY            WALKENHORST                 NE     90004880991
53B79111672B27   ANTONIO        MARTINEZ                    CO     33064901116
53B7925597B46B   SHAWN          HART                        NC     90014872559
53B79423184373   EURA           MCCLAM                      SC     19077194231
53B7947148B169   PEARL          TOPANOTES                   UT     90011294714
53B79538155959   ANABEL         VENEGAS                     CA     90011015381
53B79936457157   SHAWNDA        YEE                         VA     90009629364
53B79962351348   BRYAN          WATKINS                     OH     90014679623
53B79A9452B27B   SHANNON        JONES                       DC     90014580945
53B7B197491587   ISABEL         CHAVIRA                     TX     90013481974
53B7B264372B43   ARMANDO        BARBA                       CO     33084892643
53B7B36A55B531   GREGORY        ROMERO                      NM     90001573605
53B7B435233699   NICHOLAS       GREGORY                     NC     90007844352
53B7B446355959   NANCY          GARCIA                      CA     90004164463
53B7B61A12B228   SHARLAYNE      BARTON                      DC     90012826101
53B7B676161971   BRENDA         GUZMAN                      CA     90009026761
53B81142555959   JR             GARCIA                      CA     90012811425
53B81474661973   ANTONIO        VARGAS                      CA     46017194746
53B8174485B531   ABEL           CRUZ                        NM     90007887448
53B8177A451354   MIKE           FELTS                       OH     90011887704
53B8199545B393   CASSANDRA      LUCAS                       OR     44581949954
53B8221A384357   YOLANDA        SNELL                       SC     90010202103
53B82228791587   AMANDA         GARCIA                      TX     90013482287
53B8234A871964   MICHAEL        DANIELS                     CO     90014633408
53B82428172B43   ANTONIO        GUZMAN                      CO     33026144281
53B8255474B588   ANA            ALVAREZ                     OK     90014995547
53B83399A6198B   MARIBEL        SEGURA                      CA     90013463990
53B83655372B49   JOSE           VERONICA                    CO     90011356553
53B83751351336   LINDA          GILL                        OH     90003577513
53B84153672B27   BRYAN          SHELEFONTIUK                CO     90015031536
53B84342993724   ROZ            SMITH                       OH     64561483429
53B84699491534   MARTHA         AYALA                       TX     75012176994
53B84886561975   JOANN          RICHARDSON                  CA     90013088865
53B84A6195B399   KODDY          HART                        OR     90003020619
53B85297461971   CHRIS          PLUMLEE                     CA     90009302974
53B85524372B43   JOSE LUIS      CASTILLO OROSCO             CO     90013565243
53B85579872B49   JESUS          ROJO                        CO     33052735798
53B85718781696   CHRISTOPHER    STANDLEY                    MO     90011947187
53B8637817242B   JEREMY         WATSON                      PA     90012833781
53B8669995B399   JASON          HENRY                       OR     44578466999
53B86A94133699   CHRISTINE      TIMBERLAKE                  NC     90003350941
53B8722334B588   KHARISTOPHER   TOOMBS                      OK     90015042233
53B873A4572B43   EDGAR          CORONA                      CO     90003943045
53B8746285715B   MARIA          RUIZ                        VA     81085484628
53B886A9584357   TIFILEO        GREEN                       SC     90014656095
53B88723261973   ASAD           SHUKUR                      CA     90001187232
53B89283957157   GERMAN         MEDRANO                     VA     90014862839
53B8944675B399   VICTOR         CHAN                        OR     90014364467
53B89572461971   JASON          MORGAN                      CA     90004835724
53B8B45375B393   ABIMAEL        MENDOZA                     OR     90012794537
53B8B59435B531   LUIS           ARMENNDARIZ                 NM     90011045943
53B91166572B88   ANA            LILI                        CO     33097851665
53B9116A85B393   RAYMOND        HOPKINS                     OR     90014781608
53B91248A71964   KARLEE         BABCOCK                     CO     90011632480
53B91289191534   HECTOR         BUENO                       TX     90010792891
53B91327A5B531   MELISSA        ARSENEAU                    NM     90012383270
53B917A6672B67   MARIA          ORTIZ CASTILLO              CO     33035857066
53B9182595758B   CAROL          SEDILLO                     NM     90008048259
53B9182965B531   LOUIE          GONZALES                    NM     90012188296
53B9196892B29B   MARGRETE       WOODS                       DC     90006539689
53B919A3461971   LESTER         STANLEY                     CA     46071769034
53B92113172B49   DAVID          JONES                       CO     90000211131
53B921A1172B27   BENGY          GONZALES                    CO     90007781011
53B92429661973   FERNANDEZ      ROXANA                      CA     90013244296
53B925A595B387   BRAD           WYATT                       OR     90014405059
53B93136891895   AMANDA         BECERRA                     OK     90002861368
53B9415125B393   LORI           SAHLI                       OR     44531821512
53B94175961971   THOMAS         SMITH                       CA     46010721759
53B9428953B352   RODNEY         BREWER                      CO     90010022895
53B9453387B46B   KEYA           ALLEN                       NC     90011505338
53B94677A8B169   KAYLA          ROLPH                       UT     90006826770
53B94873391895   ANITA          MOSLEY                      OK     90009188733
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 12 of 2350


53B95332991895   COLT          THOMPSON                     OK     90001803329
53B95661131428   SCOTT         GISH                         MO     27509176611
53B9576474B23B   VICTOR        MARTINEZ                     NE     27015427647
53B9648794B28B   YVONNE        DENNEY                       NE     26085504879
53B9656A44B588   JODY          HILL                         OK     90014995604
53B9665A491895   KEACHA        WILSON                       OK     90013926504
53B97329572B67   GUADALUPE     HERNANDEZ                    CO     33015213295
53B97776A5B399   MATTHEW       CALVIN                       OR     90015337760
53B9784455B271   PAULA         BROUSSARD                    KY     68019118445
53B98288391587   FLORENTINA    VALDEZ                       TX     90013482883
53B98381A72B49   MAYRA         ALBALADEJO                   CO     33056583810
53B986A575B399   SABRINA       BRYANT                       OR     44584096057
53B9894825B387   GAYLORD       DREW                         OR     90006009482
53B99373372B27   PATRICK       ZABRANO                      CO     90007853733
53B99375672B49   DONALD        WOMACK                       CO     90013983756
53B993A135B387   MATTHEW       RUSSELL                      OR     90007363013
53B99456972B43   DIANA         ALARCON                      CO     90002554569
53B9971A872B27   PATRICK       ZABRANO                      CO     90014917108
53B99915A43569   LUIS          HERRERA                      UT     90015039150
53B9B234A61971   TABATHA       HASKETT                      CA     46023792340
53B9B62A293724   JADE          DAUGHERTY                    OH     64549196202
53B9B759591534   GLORIA        WILLIAMS                     TX     90006267595
53B9B7A8943569   JUSTIN        POPP                         UT     31093287089
53B9BA8788B169   JOHN ROBERT   TURGEON                      UT     90014180878
53BB12A3191862   LISA          LYNCH                        OK     90012392031
53BB1411A91895   LENNISON      BAEZ                         OK     90014914110
53BB1751661971   KEVIN         THORNBLOOM                   CA     90010717516
53BB17A9198B2B   CASEEM        CORNELIUS                    NC     90005737091
53BB1854872B27   JOHN          KLOCKER                      CO     33014078548
53BB1915A5758B   AMANDA        HERRERA                      NM     90015179150
53BB239965B393   MARTHA        PALMA                        OR     90012763996
53BB23A1491895   MARISELA      PUEBLA                       OK     90012533014
53BB253814B28B   STACIE        PENATE                       NE     26010215381
53BB2714798B2B   BRENDA        WASHINGTON                   NC     90005737147
53BB2763472B27   SALVADOR      RODRIGUEZ                    CO     33012867634
53BB321A25B393   NICHOLE       NIEMEYER                     OR     44534162102
53BB349335715B   ERIKA         REYEZ                        VA     90009234933
53BB49AA97B46B   EVA           MARTINEZ                     NC     90004729009
53BB526114B28B   MARIA         GUERERO                      NE     26002982611
53BB52A5376B75   CHRIS         DAY                          CA     46051602053
53BB5863593724   ANDRE         CARTER                       OH     90012098635
53BB599A15B387   KAMLA         DEVI                         OR     90013819901
53BB6126876B75   CRISTINA      VASQUEZ                      CA     90000711268
53BB623AA93754   MELISSA       POLLACK                      OH     90002212300
53BB673977242B   BRIAN         MCALISTER                    PA     51047667397
53BB677554B588   KIM           BOSWELL                      OK     90014947755
53BB7348A5B531   MONIQUE       ANAYA                        NM     90004243480
53BB7596A72B49   CANDANCE      THOMAS                       CO     90012105960
53BB7796151348   REGINA        WATSON                       OH     90009417961
53BB7824351336   MARIPAULINE   JACKSON                      OH     90010078243
53BB7A45291895   DELBER        CARLL                        OK     90010700452
53BB81A6771964   ANNA          DOMINO                       CO     90015221067
53BB836914B588   VIVIANA       HERNANDEZ                    OK     90003803691
53BB83A1872B43   RAUL          LOPEZ                        CO     33031033018
53BB9148A55959   JULIAN        GONZALEZ                     CA     48015131480
53BB91A585B393   AARON         WELCH                        OR     90011211058
53BB9272672B27   MARGARITA     RODRIGUEZ                    CO     90006502726
53BB9355431429   LESLIE        PETTIFORD                    MO     27584033554
53BB94A115715B   MARIA         PEREZ                        VA     81021404011
53BBB277961975   KIMBERLY      CADWAY                       CA     46089842779
53BBB279493776   KIMBERLEY     LEWIS                        OH     90009952794
53BBB6A6833699   PETER         RAMOS                        NC     90010856068
53BBB87855758B   CARMEN        GOMEZ                        NM     35530368785
53BBB95A58B169   RHONDA        GUTIERREZ                    UT     90011069505
53BBB96945B399   VANNIDA       PHAENEPHOM                   OR     90014839694
54111142972B36   ROBERT        ROYBAL                       CO     33012541429
54111222372B88   DONNA         JACKSON                      CO     33008402223
54111237872B43   AARON         BARELA                       CO     90014932378
5411133215B399   WARNER        HOLFELD                      OR     44514413321
5411143335758B   MIGUEL        CASTRO                       NM     90010394333
54111833172B27   VERONICA      ALONZO                       CO     90009108331
54112197172B43   JOSE          RUIZ                         CO     90009421971
54112A7345758B   EDUARDO       LEAL                         NM     90015480734
54113288A72B43   JOSE PABLO    LORENZO                      CO     90007532880
5411334845B531   MELISSA       ELLIOTT                      NM     35022743484
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 13 of 2350


5411425275B399   RHOCHONDA     MELSON                       OR     44507632527
5411549895715B   ROMAN         FLORES                       VA     90013844989
54115634372B88   JUANCARLOS    PASCA                        CO     33072706343
541157A385715B   FRANKI        BAWUAH                       VA     90013827038
54115831A5B399   BASHIR        ABDI                         OR     90015018310
541164A6672B67   NORMA         CECILIA LEE                  CO     33041214066
5411674385B387   RONNY         GOWAN                        OR     90014917438
5411689215758B   ROLANDO       RIVERA                       NM     90005048921
54116A52572B49   SANDI         EVANS                        CO     33052200525
5411786515758B   ANNABEL       FLORES                       NM     35558888651
54117A9212B27B   JANET         HARVEY                       DC     90014360921
54118449A91587   SAMUEL        MEDINA                       TX     90012864490
5411859924B588   CHARLISE      DIZER                        OK     90008105992
54119A14493724   ANGEL         WRIGHT                       OH     90014200144
54119A62161975   MARIO         AGUAYO                       CA     46067630621
5411B8A5331428   JENELLA       NORMAN                       MO     90005388053
5411B93675B399   WILMA         PRATT                        OR     90010089367
5411BA1A972B49   ANDY          OSUNA                        CO     90012130109
54121715476B75   LUZMARIA      LICONA                       CA     90004867154
54122619772B88   CHRISTY       HULSE                        CO     33016466197
54122A4A672B38   SHAWNTAY      CORDOVA                      CO     90014790406
541233A4561973   ALFREDO       SOTO                         CA     90013463045
54123614272B38   LYDIA         ADAMS                        CO     90010336142
54123667A98B2B   ADRIANA       MATEOS                       NC     90004026670
54123769672B27   RALPH         GURULE JR                    CO     90006017696
54123AA1393724   WALTER        GLANDON                      OH     90012750013
5412466127B46B   ROBERTO       RAMIREZ                      SC     90010326612
5412489A772B49   MARY          GRIEGO                       CO     33075688907
5412537425B387   CRUZ          RAMIRAZ                      OR     90014833742
541264A865715B   NORA          SCHATZ                       VA     90013434086
54126834A5758B   DANNY D       VALDEZ                       NM     90008118340
5412686A493724   CHRISTINA     DAY                          OH     90013948604
5412772895715B   EMIDIO        VILLALOBOS                   VA     90008537289
541278A6772B49   ANDREW        JERNIGAN                     CO     90002458067
54127A25261971   DAYTRA        SMITH                        CA     90013200252
54127A29333699   DERRICK       PARSONS                      NC     90011890293
54127A3A124B7B   INDIA         DEAN                         DC     90012740301
5412913715715B   JEROME        COONEY                       VA     90012881371
5412941295758B   TODD          BRATHOLT                     NM     90011514129
5412B156572B36   EDUARDO       LOPEZ                        CO     90015131565
5412B261A5B399   JACOB         COON                         OR     90012092610
5412B7A482B27B   JUSSTIN       HAZER                        DC     90014777048
5412B84A184357   SHEENA        CRUZ                         SC     90012378401
5413133195B283   ANGELA        HARTLAGE                     KY     90008803319
541317A987B46B   KRYSTA        KEY                          NC     90009477098
5413184585715B   EBENEZER      SMITH                        VA     90013978458
54131A35872B49   ESTEVAN       VALVERDE                     CO     90013560358
541328A7391895   KEVIN         SHANDY                       OK     90009468073
54133755972B38   TERRI         NELSON                       CO     33092947559
5413398344B588   EDUARDO       MAYA                         OK     90013539834
5413479A272B38   ROSEANN       QUINTERO                     CO     90006717902
54134A3982B27B   SHARDEJIA     POWERS                       DC     90013980398
54135992772B43   NICHOLAS      CARSON                       CO     90004219927
54136464872B36   ZACHARY       MASS                         CO     33062114648
54136599472B38   LUZ           MARTINEZ                     CO     90014495994
541367A9842363   KARRIE        CARRINGER                    GA     90014807098
5413712325B387   VICENTE       GARCIA                       OR     44561871232
54137127272B38   CYNTHIA       RAMOS                        CO     90005081272
54137238572B27   MARIA         SALDANO                      CO     90002482385
54137253972B49   CARDENAS      MICHELE                      CO     33048392539
541382AA691534   MIROSLAVA     MURO                         TX     90009142006
54138492676B75   NATIVIDAD     HERNANDEZ                    CA     90008094926
54138794172B88   OLIVIA        DOMINGUEZ                    CO     33046067941
5413885985715B   JAWWAD        KAASHIF                      VA     90005608598
54139182472B36   DEMETRIO      PARRA                        CO     33023871824
541393A1872B27   DENISE        GREEN                        CO     33034013018
54139A1715758B   GINGER        BELLARD                      NM     35509110171
5413B387633696   DARRELL       JACKSON                      NC     90010803876
5413B43712B273   LATRONNA      BYRD                         DC     90010884371
5413B493A43569   JUSTIN        ODENTHAL                     UT     90006994930
5413B72325B387   JAMES         SIMS                         OR     90004967232
5414168A655959   MIGUEL        ZAPOTECO                     CA     90012586806
54141A1194B562   NAISHA        MORRIS                       OK     90011320119
5414266374B588   ROLAND        PATRICK                      OK     21572876637
5414316822B851   COURTNEY      MEYER                        ID     90000961682
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 14 of 2350


54143459698B2B   TRACIE            SAUTHERLAND              NC     90009174596
54143911576B75   JOSE              DEARAGON                 CA     46033959115
54143A66672B36   NICOLAS           EASTLAND                 CO     90010360666
541442A545B543   JOSEPH            DYE                      NM     35079982054
5414481165B531   AMANDA            DIAZ                     NM     90014888116
5414489785758B   NELSON            STANTON                  NM     90014118978
54144A62872B38   CASSIDY           GREEN                    CO     90012990628
5414512A793724   KELLY             STEINER                  OH     90002801207
5414531387B46B   DEDRIC            SHELL                    NC     90014883138
54145433A5715B   DAVID             JAMES                    VA     90015094330
54145A7625715B   DAVID             JAMES                    VA     90004560762
5414623925B399   JESSE             WARD                     OR     90006782392
54146246A4B588   ROLAND            CARD                     OK     90013792460
5414629497B826   SHIRELLE          GRIFFIN                  IL     90014822949
5414666455715B   RIGO              MAXIMO                   VA     90010466645
54146A68261966   IRMA              FAVELA                   CA     90010800682
54147343272B67   WILLIAM           MILLER                   CO     90007843432
5414752835B387   VANDY             MANGSANGHANH             OR     90012755283
5414762785715B   FANY              MARTINEZ                 VA     90007226278
54149354276B81   MICHAEL           TEMPLIN                  CA     90000603542
5414942735B531   MONICA            AVILA                    NM     35070174273
5414947515758B   ALEXIS            BORUNDA                  NM     90012344751
5414B48135B531   THOMAS            GOAD                     NM     90012024813
5414B58A361973   KHALID            ZAALAN                   CA     90011515803
5414B73A351348   CHRIS             DOTSON                   OH     66091197303
5415136A85715B   DAVID             LLLOYD                   VA     90011203608
541513A5733696   CHRISTOPHE        HARRELSON                NC     12091933057
54151769972B27   SAUL              MUNOZ                    CO     90011697699
5415183535715B   GUZEL             SALIKHZYANOVA            VA     90012868353
54151A5A331429   JOSHUA            COLE                     MO     27507030503
54152534A76B75   AURELIO           ALBA                     CA     90015605340
5415312A961975   AURELIO           RIVERA                   CA     46056711209
5415371235B399   GREGORY           KOCH                     OR     90004977123
5415415295B387   DONNA             WESSON                   OR     90013221529
54154781472B49   JAMIE             ARMSTRONG                CO     33025607814
54154792776B75   DERIC             WILD                     CA     90013467927
54154A2A92B27B   GARY              TROXLER                  DC     81028420209
54154A5A472B36   KIMBERLY          DOMINGUEZ                CO     33080080504
54156353976B75   BECCA             EDENS                    CA     90002513539
54156477A61971   AMANDA            RAMOS                    CA     90011984770
541574A8A5758B   ISAAC             ROSALES                  NM     90009954080
5415777755715B   WILFREDO          LOZANO                   VA     90005897775
54157A6985758B   MICHAEL           MARTIN                   NM     90013930698
5415833715715B   MAHADER           TAMIRU                   VA     90000473371
5415983365B531   JOHN              CARVER                   NM     90005878336
54159955298B2B   ELAINE            WHEELER                  NC     90014899552
54159A26472B49   CORLISS           CASE                     CO     90014100264
54159A6A65715B   MARYULI STEFANY   SANCHEZ                  VA     90013310606
5415B139461975   VIOLA             VIDAL                    CA     46080891394
5415B855955959   ALEJANDRO         LARA                     CA     90012388559
5415BA77261971   NOE               VILLANUEVA               CA     90012980772
5416112135B531   GEORGE            OTERO                    NM     90012271213
54161272976B75   SONIA             PEDRO                    CA     46005672729
54161279872B43   RAYNA             SANDERS                  CO     33091442798
54161344872B27   ADELAIDO          PEREZ                    CO     90014003448
5416144482B27B   WILLIAM           ASHBY                    DC     90009144448
54161528598B2B   ALEJANDRO         HERNANDEZ                NC     90008795285
5416186385758B   OMNI              MONTOYA                  NM     35589248638
5416212384B588   SHAYNA            PALMER                   OK     90010851238
54162523572B36   CARMEN            MEDINA                   CO     90011895235
5416255AA4B521   MANET             STALLWORTH               OK     90007085500
54162A3595B543   BERTHA            MONTEZ-CHAVEZ            NM     35003130359
54163141976B75   REBECCA           CALDERON                 CA     46051391419
541631A7361971   EDWIN             MEJILLA                  CA     90012231073
5416328845B387   ARACELI           ALMARAZ                  OR     90000342884
54163479A72B49   BHARANI           JAYARAMAN                CO     90007844790
54164A48A61971   LISETTE           HAWKINS                  CA     90012850480
541653A315B531   ORALIA            OLIVAS                   NM     35087013031
541677A3872B88   KARINE            OLSON                    CO     90004767038
54167A4A857157   LUIS              SALDANA                  VA     90001850408
5416841415B399   ALFREDO           VALDEZ                   OR     44573194141
54168533772B49   ANDREA            ARGUELLO                 CO     33014975337
541698A6393724   BEREKET           TESFA                    OH     90011638063
5416993115B531   JOSEPH            HELGESON                 NM     90010579311
5416B355A91587   ROSA              RUIZ                     TX     90005803550
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 15 of 2350


5416B624472B49   ANTONIO          BENITEZ                   CO     90012476244
5416BA3235B538   CAROLYN          HOLLOWAY                  NM     90004620323
54171187A61973   LUIS             GOMEZ DEL RINCON          CA     90006601870
54171498A5715B   MARIA            URREA                     VA     90012894980
541715A675B399   ALONZO           GARNER                    OR     90012785067
54171866272B38   ROSALBA          ESCOVEDA                  CO     90014578662
54171A3A484852   ESTEVAN          ZAPIEN                    NJ     90015190304
5417313337B46B   IISRAEL          VASQUEZ                   NC     90010651333
541737A1691884   ROBERTA          MCCONNELL                 OK     90008567016
5417418A55B399   JACOB            HELZER                    OR     90015201805
5417426852B851   MARY             SEITZ                     ID     42055222685
54174574472B27   JORGE            AZURDIA BARRIOS           CO     33084775744
5417465A872B36   KENNY            MCDORMAN                  CO     90013156508
5417475215715B   JANET            PACHECO                   VA     81016317521
54174911472B49   VERONICA         SCHIWART                  CO     90013819114
54175294A61973   SONIA            GASCA                     CA     46086662940
54175634272B43   SHAWN            RIEDEL                    CO     90014676342
54177A7817B49B   MACKY            KILUMBO                   NC     11077200781
5417831334B588   RICHARD          CARRANZA                  OK     21557193133
5417872515758B   LILIANA          ALVARADO-ZAMORA           NM     35552037251
5417915A472B77   JESSICA          COLLINS                   CO     90007431504
54179659172B43   TAMARA           PADILLA                   CO     33014506591
5417982A177574   ROBERT           ORTEGA                    NV     43088158201
54179912572B49   ELOY             GUTIERREZ-REYES           CO     90013899125
5417B34494B588   MICHAEL          DURAN                     OK     90015003449
5417B43275715B   STACY            PRICE                     VA     90014324327
5417B92145B399   DIANA            MILLER                    OR     90011239214
541811AA82B228   CARLA            MEYERS                    DC     90012961008
5418121184B588   LETITIA          HARRIS                    OK     90013962118
54181218972B67   MOREL            DE JESUS                  CO     90001852189
54181747172B27   DAVID            LILLEVOLD                 CO     33012517471
5418199215B399   STACY            FREY                      OR     90006309921
5418234715B531   CINTHIA          ALVEAR                    NM     35033483471
54182676A91587   MANNY            AGUIRRE                   TX     90009216760
541827A4184373   LASHAY           DIALS                     SC     90014477041
5418347535758B   JUANITA          LOPEZ                     NM     90014594753
54183579498B2B   TORESO           CRUZ                      NC     11079895794
5418369A793724   TAYLOR           GAYHART                   OH     90012446907
5418385364B521   PAMELA           VARGAS                    OK     90008278536
54184A63951348   JANIE            WILLIAMS                  OH     90014740639
5418543542B241   LEONIDES         GALLARDO                  DC     90003354354
5418566A85B393   PATRICK          BUCK                      OR     90002936608
541856A795B543   RACHEL           LEYBA                     NM     90005016079
5418571877B46B   JUSTIN           WALTERS                   NC     90013757187
5418614325715B   NICHOLAS         CANTOW                    VA     90010701432
54186723A33699   LAMAURICE        WILLIAMS                  NC     90015167230
5418694845B531   JUCILIA          SANTOS                    NM     90013819484
5418716A276B75   JOSE AMGEL       MEJIA MENDOZA             CA     90008541602
54187631972B77   JOSE             TORRES                    CO     33062436319
54188148572B36   JOSE             BENJAMIN                  CO     90014421485
54188218276B75   CRISTINA         CANSECO                   CA     90009172182
5418847262B273   OCTAVIA          BLACKMAN                  DC     90003624726
5418847AA2B27B   YIZREEL          FLOYD                     DC     90014394700
5418853A25B531   DOMINIC          SANCHEZ                   NM     90013285302
5418884174B588   MIGUEL           VELAZQUEZ                 OK     90012828417
5418886567B46B   JOHNY            TAYLOR                    NC     90013628656
54189456457B81   CARLOS           VALCAZAL                  PA     90014114564
54189515A72B67   AHMED            ELHAG                     CO     33006675150
5418B1A922B27B   CORY             BERNAT                    DC     81025731092
5418B346172B36   JUAN HERNANDEZ   GONZALEZ                  CO     90006213461
5418B42695B283   SHARON           PEAVLER                   KY     68044934269
5418B657491895   ANNA             DARR                      OK     90012646574
5418B831184373   MELLIE           BROWN                     SC     19058758311
5418B988531428   JA'NET           MORGAN                    MO     27539849885
5418B99A576B75   ISAAC            MYERS                     CA     46098639905
5419131845758B   ROBERT           LOFGREN                   NM     90012753184
54191788972B77   STEPHANIE        RORDRIGUEZ                CO     33003717889
54191925A91587   STEPHANIE        ESPITIA                   TX     90003879250
5419197A85B531   GILBERT          LEDEZMA                   NM     35074819708
54191A88A55959   MARIA            SANCHEZ                   CA     90007990880
54193739472B88   JUVENTINO        GOMEZ                     CO     33072897394
5419483645715B   DENVER           BATES                     VA     90012868364
54194881172B49   AMY              TURNERHAGMAN              CO     33055778811
5419495A55B531   MICHAEL          MIRABAL                   NM     90014729505
5419576632B27B   NILE             WEAVER                    DC     90014007663
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 16 of 2350


54195833A61971   VERONICA        GARCIA                     CA     90007698330
54196844872B36   MARQUITTA       MOORE                      CO     90013728448
54198228572B36   TED             WRIGHT                     CO     90010362285
5419883225B387   ABAD            FLORENTINO                 OR     44585028322
54198983A5715B   OSCAR           SANTOS                     VA     90014909830
54199513272B43   EDDER           URIEL                      CO     90009195132
5419B317A5715B   ABEL            SALAMANCA                  VA     90013783170
5419B64A985928   LARRY           CARTER                     KY     67016686409
541B1335761975   HUGO            BALTAZAR                   CA     90006613357
541B1344354151   STACEY          EDSON                      OR     90008193443
541B1529A93724   SHENAE          CAMPBELL                   OH     90011455290
541B199997B46B   TAMIKA          SMYTHE                     NC     90014609999
541B19A817B35B   JAQUELINE       MALDONADO                  VA     90002889081
541B2119784373   CHIANTI         PALMER                     SC     90002441197
541B2255885928   MARY            HYATT                      KY     90015302558
541B281895B399   KALEBELA        KABAMBA                    OR     44505328189
541B314375B393   ANDRE           PEREZ                      OR     44561541437
541B332A44B936   ALEXANDRE       ANDERSON                   TX     90015093204
541B3383155959   MARIO           ALANZO                     CA     48067793831
541B3387761973   CRIS            POMMIER                    CA     90005393877
541B445422B27B   CARLETTA        ZYRD                       DC     90011794542
541B457185B531   MARISSA         RENTERIA                   NM     90014925718
541B4577893724   DEBBIE          DAVIS                      OH     64520445778
541B47A495758B   ALVARO          BELMONTES                  NM     35585517049
541B561295B387   DYLAN           CROMPTON                   OR     90013406129
541B6395544B41   PATRICIA        OLIVERAS                   OH     90011883955
541B6447561971   GARY            HUTCHESON                  CA     46006584475
541B6574533699   ASHLEY          CANTY                      NC     12086105745
541B6623891587   JOSE            DURAN                      TX     90006636238
541B6972272B36   SONIA           MONCADA                    CO     90012879722
541B8A2A485928   DEESSEUA        BURGESS                    KY     90015030204
541B8A67272B43   BLAKE           STARR                      CO     90014290672
541B927814B588   EDWARD          BRIGGS                     OK     90012112781
541B9341A84373   NANCY           RICHARDSON                 SC     90010813410
541BB27A65B393   JOSE            LEDESMA                    OR     44506182706
541BB7A9861971   DELMY           OGARA                      CA     46016887098
541BB8A537B46B   KIMYETTE        WHITFIELD                  NC     90013748053
541BBA44A91587   SALMA           BUHAYA                     TX     90008870440
54211195A55959   PEDRO           NUNEZ                      CA     90012111950
54211231272B49   CHAS            RICHARDSON                 CO     90014722312
5421134845715B   JORGE           ANTICONA                   VA     90015123484
5421143795B387   MATTHEW         HAMILTON                   OR     90012254379
54211721472B67   CHRIS           OZOR                       CO     33028997214
54212136A72B78   MARK            CHELTON                    CO     90003471360
54212635776B75   AIOTEST1        DONOTTOUCH                 CA     90015116357
542128A725B399   BERNEICE        WOLPIN                     OR     90014158072
54212AA464B565   ARTURO          CASTRO                     OK     90010920046
5421365265B543   DIANE           JARA ARVIZO                NM     90005006526
54213AA168B186   KYLE            DAVIS                      UT     31023570016
5421436835B399   JR STEPHEN      KRISTICH                   OR     90012583683
54216499224B7B   RICHARD         SMITH                      DC     90009044992
542165A4776B75   BERLYN CARINA   REYES                      CA     90015085047
54216A5792B27B   MALIK           BATTLE                     DC     90011420579
54216A9232B241   DON             UNONU                      DC     81013380923
5421727732B27B   ELIJAH          BABIL                      DC     90001262773
5421742584B588   JUNIOR          LOPEZ                      OK     90010034258
542174A445B347   CHRISTOPHER J   FILLINGHAM                 OR     90010724044
5421792424B588   TREVOR          WRIGHT                     OK     90013419242
5421794224B588   JORDAN          THOMPSON                   OK     90007119422
5421799A65758B   ANGEL           CONTRERAS                  NM     35575839906
54218239872B43   RAYMOND         SMITH                      CO     90014932398
5421829515758B   TANYA           TAFOYA                     NM     35508642951
5421B338755959   MONICA          AVILA                      CA     90014373387
5421B464591895   JUDY            WIEHE                      OK     21023804645
5421B87913B399   WILLIAM         MCINTYRE                   CO     33012838791
5421BA5255B387   CANDI           RAMIREZ                    OR     90012790525
542213AA74B588   JESUS           MOSQUEDA-RUIZ              OK     90007303007
54221887A2B851   TYSON           SPARROW                    ID     90001728870
54221A9A143569   MARIA           PIEDRA                     UT     31051270901
5422284A661931   MARIA           RAMIREZ                    CA     90008918406
54223A6AA72B97   MELISSA         COMMINELLO                 CO     33005450600
54224469698B2B   CERELA          MEBIO                      NC     90011294696
54224526872B77   LAURA           SANDOVAL                   CO     90012965268
54224784A61973   LUKE            COLE                       CA     90012927840
54225154A4B588   TIMOTHY         MILLER                     OK     90010851540
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 17 of 2350


54225597572B27   JOSEPHINE     ECHEVARRIA                   CO     33007945975
5422636834126B   REBEKAH       PICKENS                      PA     90000513683
5422679134B588   DEMETRIOUS    DAVIS                        OK     90011777913
5422697567B46B   KHADENDRA     DARJEE                       NC     90010339756
542271A335B283   SHARON        SMITH                        KY     90009671033
542273A295B543   DOMINIC       VALLES                       NM     90014293029
5422844957B49B   MICHELE       CLAY                         NC     90004874495
54228537276B75   JAVIER        MORALES                      CA     90014205372
54228662372B49   CARLOS        SANTISTEVEN                  CO     90014446623
54228785A33696   TENISHA       MILLS                        NC     12015747850
54228825672B38   STEVEN        STRANGE                      CO     90014928256
54228A71691587   VICTORIA      MARTINEZ                     TX     90013090716
54229215A61971   ANA           SANTOS                       CA     90008092150
54229919172B43   DAVID         COLE                         CO     33058279191
54229A51151348   RENEE         MANASE                       OH     90013070511
5422B17115B387   CASEY         BRYAN                        OR     90013221711
5422B77885B531   CARLOS        SOTO                         NM     35058557788
5422B972761973   OMAR          NATERAS                      CA     90012189727
54231152572B36   SAMUEL        HIDALGO                      CO     90013661525
5423218694B524   SOLOMON       WASHINGTON                   OK     90011451869
54233127572B49   MONIQUIE      MATTHEWS                     CO     90012611275
54233142772B49   MARY          CASTRO                       CO     90003511427
54233246276B75   JAY           CHERRY                       CA     90012322462
54233589972B36   JOSEFA        GASPAR                       CO     33080685899
54233A2647B46B   ALEX          MOBLEY                       NC     11012660264
54233A3715758B   MARIA         SMITH                        NM     90013480371
54233A5993B372   DEREK         OLSON                        CO     33082490599
54234856972B27   ENCARNACION   PORTILLO                     CO     90008718569
54235358772B43   TRINO         MIRANDA                      CO     33075143587
542355A2261971   LAURA         ESPINOZA                     CA     90013935022
5423572752B27B   NIKKIA        MILES                        DC     81004087275
542361A5761949   REYNA         FLORES                       CA     90007491057
5423668177B46B   KESHIA        COWAN                        NC     90001676817
5423684462B259   LORETTA       WILLIAMS                     DC     90000858446
5423766795B399   JASON         ALEGRE                       OR     44556926679
5423872437B46B   TASHAUNA      WALLACE                      NC     90013297243
54238773598B2B   AAA           AAAA                         NC     90008307735
5423932765B234   KIMBERLY      HOLLOWAY                     KY     90011043276
5423947A35B531   AMY           TURNER                       NM     90009734703
5423B27475B387   KENT          BRAND                        OR     44517332747
5423B93A62B851   LUIS          BARRETO                      ID     42028909306
54241325172B27   JEAN          HARLESS                      CO     90011563251
542416A473B399   WAKENDA       BREWSTER                     CO     33098226047
54241A2192B27B   JAIMIE        HARRIS                       DC     90002400219
5424226385715B   LUIS          CAMPOS                       VA     90013512638
54242336272B67   LEAH          CLEVELAND                    CO     90005143362
54242594472B43   MARIAELENA    GUTIERREZ                    CO     90015305944
54242834A33696   CASSIUS       HALL                         NC     90012788340
54243539A72B36   ANGEL         PEREZ                        CO     90015115390
5424445615133B   SHAWN         MURRAY                       OH     90007384561
5424451A45B543   MARIA         BRADLEY                      NM     90006775104
5424517A155959   DAVEN         NAVARROP                     CA     90015361701
54245396976B75   DIEGO         FRANCISCO                    CA     90008963969
5424572917B46B   TRACEY        PHILLIPS                     NC     11053417291
5424641695B387   AARON         HAYS                         OR     44516224169
542469A7133696   LUIS          BARRERA MUNOZ                NC     90011329071
54246A37761973   RENE          RODRIGUEZ                    CA     90014630377
54247181272B77   DIANA         MARQUEZ                      CO     33084021812
542472A6343569   ASHLEY        KNOX                         UT     90008422063
5424737295B283   INGER         STARKS                       KY     90004233729
5424755525B531   DIANA         GONZALEZ                     NM     90010385552
5424785395B29B   DEBORA        JONES                        KY     90011178539
5424788A84B588   TINA          THOMAS                       OK     21515518808
54247A14398B2B   JULIO CESAR   FIGUEROA RUIZ                NC     90006890143
54248659A5B393   HECTOR        VAZQUEZ                      OR     90009166590
5424866383B352   LYNETTE       HALL-JONES                   CO     33087266638
5424867127B46B   RHODA         SWENGBE                      NC     90013356712
542492AA24B588   DEE           JOULE                        OK     90014712002
5424934A176B75   CARRIE        CALAHAN                      CA     46052473401
5424957457B46B   IRMA          MEJIA                        NC     90011965745
5424969A961975   ELLYN         TAKAHASHI                    CA     46098036909
5424974844B588   DAVID         HERNANDEZ                    OK     90012747484
5424987515B387   SHANNON       HOLLAND                      OR     44548128751
5424B126372B43   SHARI         SEBOEK                       CO     33008701263
5424B312761973   RIVERA        CORTEZ                       CA     90010633127
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 18 of 2350


5424B634A51348   WARE          ALEXANDREA                   OH     90009676340
5424B7A1261975   JORGE         RIVERA                       CA     90007087012
5424B86945B531   JOLENE        RAY                          NM     90013748694
5425116465B399   STANLEY       RADER                        OR     90011881646
5425116814B521   CHARLES       SHUMAR                       OK     21595831681
542517A9172B43   SARA          MOON MURPHY                  CO     90014127091
54251959672B67   HECTOR        TORRES                       CO     33014759596
5425218A55B399   JACOB         HELZER                       OR     90015201805
542527AA92B27B   JENNIFER      CARTER                       DC     81025777009
54252971272B38   JAVIER        ARVISO                       CO     90013019712
54252A27251348   STEPHANIE     CAMPBELL                     OH     90000340272
54252A71985928   ADAM          COWAN                        KY     90009070719
5425333A472B49   RAY           FERNANDEZ                    CO     33021263304
54253A4485B543   KAREN         MACIAS                       NM     90001330448
54254A27184373   CINDY         BURTON                       SC     19072560271
542554A5431428   TERRY         DONALDSON                    MO     90005394054
54256263572B43   JUAN          RUEDA                        CO     90009852635
5425637425758B   LAURA         MOORE                        NM     90013233742
54256988272B27   MARCO         VARGAS LOZA                  CO     90013529882
54256A51872B49   AMY           GREGG                        CO     90013710518
5425753A372B36   TAMARA        MOSS                         CO     33017645303
54258156176B75   YOLANDA       ESTRADA                      CA     46009241561
5425819AA72B27   TERESA        PEREZ DE-FREYRE              CO     90002991900
5425844655B387   TED           RIGGS                        OR     90005574465
54258A3412B851   BRANDON       BUCKNER                      ID     42016680341
5425911945B393   ALEX          PINEDA DAVILA                OR     90009461194
54259A7A461975   CAMELIA       GALLEGOS                     CA     46081940704
5425B285372B38   FELICE        FRANCO                       CO     33059502853
5425B413372B49   CONSTANCE     MAESTAS                      CO     90005254133
54261147472B43   PAUL          BOES                         CO     90013431474
54261329A61971   ROBERTA A     TORRES                       CA     90007693290
5426154A74B588   CHANDLER      THOMAS                       OK     90010225407
54261661172B38   AURORA        GARCIA                       CO     33091776611
54261A23572B67   OSCAR         ROMAN                        CO     33090970235
54262689372B43   YARA EDITH    ZUBIA-RODRIGUEZ              CO     90013626893
5426297944B53B   KRISTI        GRIFFIN                      OK     21506249794
54262A2895715B   OSWALDO       CHAVARRIA                    VA     90015010289
54262A37761973   RENE          RODRIGUEZ                    CA     90014630377
54262A78933699   LAFRANCES     WINGATE                      NC     90009950789
5426325254B241   TIMESHA       PERKE                        NE     27015942525
54263279A55959   MARIA         JUAREZ                       CA     90014212790
5426369995B387   BRUCE         BIRCH                        OR     44550896999
5426399725B399   MANUEL        RAMIREZ ENRIQUEZ             OR     44572529972
5426456A372B38   BRANDI        NICHOLE                      CO     90012435603
54264626A4B588   TIMOTHY       CRITTENDEN                   OK     90012746260
5426479515758B   SABRINA       LOZOYA                       NM     90010697951
54265165372B43   EDWIN         OLAM                         CO     90012661653
5426522167B46B   TONIA         GADDY                        NC     90015192216
5426527AA72B77   JACLYN        RICHARDSON                   CO     33062442700
5426546225715B   MANUEL        GIRON                        VA     90000164622
5426556837B431   FELICIA       PRICE                        NC     90006485683
5426565862B851   EMILY         RAMIREZ                      ID     90001626586
54265A74933699   ROBERTA       JACKSON                      NC     12060050749
5426622317B46B   SHARDISA      BENJAMIN                     NC     90012872231
5426673853B399   KARLA         OLIVEROS                     CO     90001597385
54267A4367B46B   CESAR         BALDERAS                     NC     90012780436
5426825A65715B   EMILIANO      PEREZ                        VA     90001772506
54268AA785B543   HUMBERTO      DOMINGUEZ-ORTIZ              NM     35013500078
5426912275B393   MICHAEL       WAGNER                       OR     90007511227
5426914753B388   BRAD          WAITES                       CO     90000951475
54269662A72B27   ERIC          BADE                         CO     90011896620
54269683572B24   PETTER        TUPPS                        CO     90010586835
542696A995B387   MARIYA        HALL                         OR     44569126099
5426972A533699   ERIKA         LIVINGSTON                   NC     90003907205
54269A3A493724   JOETTA        JACKSON                      OH     64515420304
54269AA3376B75   JANICA        TABOR                        CA     90012580033
5426B288A61966   HEATHER       TAFT                         CA     90008472880
5426B39919186B   WILLIAM       RYAN                         OK     21041073991
5426BA64272B43   ROBERTO       QUINTANA                     CO     33081730642
54272131172B38   MELISSA       NEWBURY                      CO     90004101311
542724A817B46B   JARREAH       HERSON                       NC     90013554081
5427279765B387   TRINA         GARBARINO                    OR     44507027976
542732A565758B   GINGER        PAYAN                        NM     35525672056
542738A3785928   PATRICK       RAYMOND                      KY     67090468037
54274166A2B27B   CHRISTINE     COLLINS                      DC     90010931660
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 19 of 2350


5427565A151348   HOPE             HEDGES                    OH     66045836501
542757A6276B75   SILENIA          MENDOZA                   CA     90006007062
54275981176B75   SONIA            PADILLA                   CA     90013969811
54275A41155959   FERNANDO         JARAMILLO                 CA     90014850411
5427642A885928   DEREK            CROWE                     KY     90013204208
54276783572B49   RACHEL           MAESTAS                   CO     33052327835
54276A2597B46B   DESTRY           MOSLEY                    NC     11001420259
5427753A693724   DENISE           BOSWORTH                  OH     90013085306
54277A92333645   CHARLES          GLOVOR                    NC     12013470923
5427854585B399   NANCY            AMBURGEY                  OR     90007275458
5427897A65B543   ANGELIC          ROMERO                    NM     35046909706
54278A77272B43   ATH              AUNG                      CO     90012160772
54279763A33645   RICHARD          KROL                      NC     12083617630
5427B582391587   ELSA             ANDRICK                   TX     75045965823
5427B785472B27   ADRIANNA         SMITH                     CO     90008817854
5427BA8A572B36   JOE              SLAPPY                    CO     33063490805
5428169934B536   KARINA           MOLINA                    OK     90012566993
5428177295715B   SANDRA           RODRIGUEZ                 VA     90015487729
5428263184B565   LA KIESHA        WHITFIELD                 OK     90008826318
54282862572B36   CHRISTINE        SMEDLEY                   CO     33051218625
54283264A81625   INA              EASLEY                    MO     90010982640
5428336175715B   KAREN            FLORES                    VA     90004733617
54283531998B2B   EBONY            HICKS-COSBY               NC     90011295319
542836A5472B43   JESUS            ROBLES                    CO     33034776054
54283A99972B49   MICHAEL          TAFOYA                    CO     33083760999
54284863172B43   KEITH            KOSTER                    CO     90011498631
54284A4865B387   JACOB            LANG                      OR     44538260486
54285716872B36   THOMAS           MELTZ                     CO     33056647168
542858A845758B   RITA             BOONE                     NM     90011868084
5428594A261971   ASHLEY           RECKLAU                   CA     90001739402
54285A56A42363   MONTEA           JOHNSON                   GA     90011170560
54286193A72B49   MALCOLM          MATTHEWS                  CO     33069151930
5428649A325424   LISA             CZKALLA                   TX     90012874903
54286A62685928   NORMAN           HADDIX                    KY     90010980626
54287242998B2B   ANDRE            MOORE                     NC     90006892429
5428727632B27B   APPOLLONA        MILLER                    DC     90013102763
5428784A372B33   KRISTINA         SHIVLEY                   CO     90011298403
54288426672B27   ALEXIS           MARTINEZ                  CO     90012724266
5428849215B531   KELLIE           SEDALL                    NM     35052954921
54288949276B75   MARSELA          AVILA                     CA     90013569492
5428913A272B67   ADRIAN           CORONA                    CO     33096561302
54289241272B88   HEATHER          BRANNAN                   CO     33013582412
54289575972B36   FORTINO          GARCIA                    CO     90014175759
5428979AA76B75   SHAWN            MATTSON                   CA     90014567900
5428B14725758B   SHANIECE         MELENDREZ                 NM     90010181472
5428B196833699   ARIEL            DARDEN                    NC     90013231968
5428B53A693724   DENISE           BOSWORTH                  OH     90013085306
5428B682551367   JEFF             BRAMAM                    OH     90013906825
5428B683472B77   ADAM             JONES                     CO     33016586834
5429164937B46B   ALEX             VELASQUEZ                 NC     90014446493
54291A3A451348   RONALD           REEVES                    OH     66023460304
54291A9785715B   YAJAIRA          PORTILLO                  VA     81067830978
54292971A84373   KAM              PAU                       SC     90013469710
54292A35372B36   ALFREDO          GUTIERREZ                 CO     90011930353
54292A64A72B43   SARAH            BIGLEY                    CO     33090580640
54292AA9391895   MISTY            MARTIN                    OK     90007970093
5429329A772B36   SEBASTIAN        RAMOS                     CO     90004852907
54293423272B38   JOHN             MURPHY                    CO     33064324232
5429381345715B   RUBEN            VELASQUEZ                 VA     81005068134
5429395995B387   PATRICIA         MARTZ                     OR     90005429599
5429527525B399   ANA              GONZALEZ                  OR     90015182752
54295341672B43   JERMAINE         WHITTINGTON               CO     90013773416
5429535A351348   LAVONDA          MOORE                     OH     90002103503
5429664323B387   CASSIE           CAMPBELL                  CO     90009446432
5429666A15715B   EDILBERTO        ANDREA                    VA     90010246601
542966A165B387   LEONARD JOSEPH   ARNOLD                    OR     90013956016
542967A9461975   OGBA             WOLDEGIORGIS              CA     90000117094
5429685A276B75   JOLYN            SANDERS                   CA     90012488502
54296973272B38   KIMBERLY         GREB                      CO     90013019732
5429751965758B   FLOR             RYAN                      NM     90014875196
542979A4772B27   CLARENCE         CRUTCHFIELD               CO     90001139047
54297A38A2B27B   ANTON            REID                      DC     90011050380
54297A89184373   CHEKETA          SINGLETON                 SC     90015010891
5429812122B27B   ANDREA           INMAN                     DC     81097171212
54298323A5B543   MICHAEL P.       JONES                     NM     90002863230
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 20 of 2350


54298955272B27   CHRISTINA     SERGO                        CO     33021919552
54298A79A61973   MARIA         WADLER                       CA     90012850790
5429988815B543   KEVIN         ADKINS                       NM     35080888881
5429B185461975   NILO          VERGARDA                     CA     90002931854
5429B27A491895   JOSEPH        PEYTON                       OK     21055952704
5429B47185B531   MAURICIO      ESPERANZA                    NM     90010344718
5429B618784373   SHAWN         SWINTON                      SC     19006366187
5429B66585715B   VICTOR        QUINTERO                     VA     90012796658
5429B67332B851   MICHAEL       SONNENBERG                   ID     90010106733
5429B838655959   MARCELO       AYALA                        CA     48055758386
5429B897333696   NKENGE        CARTER                       NC     90013138973
542B14A5233696   KELLEN        MCDONOUGH                    NC     90013194052
542B1599172B27   SATORU        HIGASHI                      CO     90012345991
542B1A94572B43   RONALDO       ALVAREZ                      CO     33005910945
542B251A65B531   JEANNETTE     ELLANO                       NM     90014825106
542B2894861971   DANIEL        CASTREJON                    CA     46068628948
542B3342661973   OLEIDA        SALAZAR                      CA     90002863426
542B342245715B   MARISSA       FULLER                       VA     90002184224
542B3912372B38   JUAN          PACHECO                      CO     33010609123
542B4243755935   ROSA          REYES                        CA     90008972437
542B4722972B43   BRIANA        LISMAN                       CO     90012167229
542B48AA536165   DONNA         JONES                        TX     90008618005
542B524A25715B   CALVIN        BOXLEY                       VA     90012402402
542B56A6491587   RODRIGUEZ     ANN MARIE                    TX     90001216064
542B612A672B43   ABRAHAM       GONZALEZ                     CO     33094521206
542B6165484373   MAKAYLA       STOKES                       SC     90012711654
542B6228572B38   MARCELINO     A LEIJA                      CO     90013922285
542B641A751348   TINA          ABNEY                        OH     66085424107
542B6678561975   ERIKA         GARCIA                       CA     90005846785
542B6A37957157   CRYSTAL       ARRINGTON                    VA     81093190379
542B8A86A61973   JESSICA       ZAZUETA                      CA     90012850860
542B956112B221   CHARLES       JOHNSON                      DC     81057515611
542B9875761975   JARRETT       EARLY                        CA     90010078757
542B9977293724   ANGELIA       BEATY                        OH     90009349772
542BB24A95758B   JENNIFER      QUINTANA                     NM     35504532409
542BB2A6961975   SANTIAGO      ZARATE                       CA     90013472069
542BB59185B283   TAMMY         MINGUS                       KY     68084975918
542BB89755B531   ANGELIQUE     GARCIA                       NM     35079898975
542BB989772B36   STEVE         SONNER                       CO     90013689897
542BBA9595715B   IRIS          LARA                         VA     90012700959
5431237465B387   MASIKA        KANYERE                      OR     90011283746
5431238A172B77   ANN           DAVES                        CO     33062953801
5431245544B563   CORY          HANCOCK                      OK     90013804554
5431246575715B   ANTULIO       LOPEZ CRESPO                 VA     90011084657
54312513A7B46B   ALBA          MONDRAGON MORALES            NC     90012675130
5431254A961975   MARCO         RAMIREZ                      CA     46010335409
54312A71872B49   BETTY         MARTINEZ                     CO     33099750718
5431351AA84852   PAUL          CASTREJON                    NJ     90015505100
5431362332B235   DEBRA         HARRISON                     DC     90011376233
54313A35733696   WLLIAM        PEACOCK                      NC     90013670357
54314289876B75   GRACIELA      GONZALEZ                     CA     46031912898
5431529185B393   LYNDIE        HOLTHAUS                     OR     90003902918
54315488972B36   JOANDRA       ROMERO                       CO     90009514889
54315696124B85   ENID          KUISSU                       DC     81010766961
54316173A72B27   MELISSA       LEIGHT TENNEY                CO     90009451730
5431635744B579   STAPHANIE     BRANCH                       OK     90002873574
543163A8155959   JESUS         VILLANEVA                    CA     90007713081
543165A4672B49   WALTER        GUTIERREZ                    CO     90005885046
54316A87191587   JANET         LOPEZ                        TX     75016470871
543171A9193724   JESSICA       KREITZER                     OH     90013951091
5431758A372B43   JAVIER        RAMIEREZ-ALBINO              CO     33043315803
54318931572B49   ALICIA        RODRIGUEZ                    CO     33052109315
54318A15933699   ANTWANETTE    BOSTON                       NC     90014460159
54318A1A491895   ALEJANDRO     RUIZ                         OK     21061250104
5431913A472B88   KAYLEE        BUCHANAN                     CO     90008601304
54319577A72B38   JOSE          GUARDADO                     CO     90013355770
543197AA785928   NAEL          LOPEZ                        KY     90013317007
5431B124661975   SANDRA        RAMIREZ                      CA     90014331246
5431B251761973   ESAMARA       PENA                         CA     90008152517
5431B2A9A91895   RAYCHEL       LAIRD                        OK     90014392090
54321A76791895   CHRISTINA     BARBERO                      OK     90008080767
54322112372B38   JESUS         PINEDA                       CO     90012991123
54322341772B88   ROBERT        LATTMAN                      CO     33073513417
5432234454B588   DANESHA       PONDER                       OK     90014863445
5432239545B399   JOSHUA        DAMEWOOD                     OR     90009183954
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 21 of 2350


5432278235B399   KRISTINE        WAYER                      OR     90005837823
5432281A372B38   MELISSA         JONES                      CO     33067578103
5432283A961975   ABELARDO        DURON                      CA     90011868309
5432357735B399   PATRICK         SCHAAN                     OR     90007175773
5432368A55715B   DIOVANNA        BAZAN                      VA     90011846805
54323772572B27   MANUEL          GARCIA                     CO     33012907725
5432392A155959   ADRIAN          SILVA                      CA     90014459201
5432445255B399   KELLIE          MEYERS                     OR     44577114525
54324538772B27   RENEE           WITHMORE                   CO     33052105387
54325598A51348   RANDALL         GLARDON                    OH     90012225980
5432583172B27B   NICHOLE         HICKSON                    DC     90007548317
5432584464B588   SANDRA          VALDEZ                     OK     90013178446
5432656122B27B   TYNESIA         MCCRAY                     DC     90002145612
5432665574B588   KEEGON          EISENHART                  OK     90014476557
54326A1A972B36   RICO            CAPONE                     CO     90013590109
5432716545B531   JAIME           YBARRA                     NM     35044081654
543272A4472B43   HANNA           NANNOLE                    CO     90014012044
5432754785B393   SHELDON         SHINN                      OR     90010855478
5432767695758B   LYDIA M         ANTILLON                   NM     90002096769
5432835415B283   JAMES           KESSINGER                  KY     90012203541
5432865314B251   SARAH           METCALF                    NE     90009296531
54329138A61975   TRINIDAD        ESPINOZA                   CA     90014241380
5432954915B531   PATRICA         GUERECA                    NM     35030435491
5432B138372B38   SHANNON         BAKER                      CO     90003221383
5432B43975715B   CARMEN          GARCIA                     VA     90012394397
5432B73465B531   ROBYN           COSBY                      NM     35077517346
5432B742251353   CHRIS           SCHUELER                   OH     66035467422
5433198172B27B   JOSE            SALAZAR                    VA     81050759817
54331A2515B543   JOSE            CABRAL                     NM     35016580251
54333822A93724   VAN             FOSTER                     OH     90011648220
54333A58376B75   DIANA           GUEVARA                    CA     90003650583
5433465795715B   AGUSTA          ACHULLE                    VA     90010986579
543354A942B27B   TAMETRIS        MORRIS                     DC     90015074094
54335669172B43   JOSE            AMADOR                     CO     33055706691
54335914572B36   LAKESHA         MANLEY                     CO     90010149145
5433598675715B   RICARDO         HERNANDEZ                  VA     90014909867
54336512A55959   LANBERTO        MENDRANO                   CA     90011465120
54336A48361975   MONICA          CAMARGO                    CA     90009670483
543376A9361975   ISABELA         SUTHERLAND                 CA     46036476093
5433855485758B   ROSA            DURAN                      NM     35571795548
54338973272B38   KIMBERLY        GREB                       CO     90013019732
54338A35872B27   SIERRA          DOXTATER                   CO     90012750358
54338A41133699   KIMBERLY        JACKSON                    NC     90012370411
54339692172B88   PEARL           BLUEBACK                   CO     33072926921
5433B542A72B27   ARTURO          CHAPARRO                   CO     90000145420
5433B74794B562   JEWEL           JOHNSON                    OK     90004967479
5433B91A284373   MANUEL          ROSARIO                    SC     19067299102
543413A9861975   CHRISTOMER      SCHERMAN                   CA     90013873098
54341463372B43   LINDELL         ROBERSON                   CO     90008884633
54341514A5B387   CRYSTAL         PURIFOY                    OR     90003535140
5434152A355959   JAIME           TORRES                     CA     48018075203
54342178872B27   LAMBORGHINI     BORREGO                    CO     90012741788
54342235872B49   ROSA PATRICIA   ONTIVEROS                  CO     90013932358
54342377276B75   ESMERALDA       PRETTY                     CA     90013833772
54342A9935B531   DEANNA          HERRERA                    NM     90006060993
54343278A5B531   DANIEL          SENA                       NM     90014392780
5434328597B46B   LEWIS           BALDWIN                    NC     90013472859
54343A4295715B   YOVANY          PEREZ                      VA     90013020429
54343A75272B38   JAYDEEN         JACOBO                     CO     90011570752
54343AA975B387   SARAH           SKEREI                     OR     90011880097
54344171A5758B   LUIS            LOZANO                     NM     90015301710
54344288157B23   TED             VANCOSKY                   PA     90014792881
5434462935B387   JOSE            SERRANO                    OR     90013956293
54344869672B36   FLORES          MARIA                      CO     90010108696
5434599AA33699   SHARIKKA        FORD                       NC     90010819900
5434626922B27B   SONIA P         GUTIERREZ                  DC     90012362692
5434672845B399   KRISTY          BANKS                      OR     44597387284
5434684667B356   ZOZIMO          PERDOMO                    VA     90003838466
5434687982B27B   MIRENA          HEIGH                      DC     90012428798
54347833A61971   VERONICA        GARCIA                     CA     90007698330
54347A96555959   ARIANA          VALDOVINOS                 CA     90013740965
54348148172B38   WILLIAM         BALL                       CO     90005281481
5434895615B393   JANET           SISCO                      OR     90006959561
54348A97A5B387   HEIDI           KRISTAN                    OR     90013990970
54349173472B38   CHRISTIANA      LOCKE                      CO     90006391734
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 22 of 2350


543492A915B399   KYLE                MASON                  OR     90015232091
5434933A961975   ROCHA               YVETTE                 CA     90010733309
543494A942B27B   TAMETRIS            MORRIS                 DC     90015074094
543498A735B399   KYLE                MASON                  OR     90014858073
543511A3272B38   JOSHUA              DAVENPORT              CO     33077761032
54351282257B81   KALI                JONES                  PA     90009792822
5435161762B237   BERHAN              KIDANE                 DC     90003506176
54351964676B75   DEREK               BELLAMY                CA     46031129646
54352117372B38   HERLINDA            DETORALES              CO     90012991173
5435228495B531   MICHELLE            CORDOVA                NM     35041252849
54352716372B43   ROBERTO             ALVARES                CO     33077567163
5435279A684357   PAYGO               IVR ACTIVATION         SC     90006617906
5435325855B531   OLGA                AGUILAR                NM     35035442585
5435387175715B   MARISOL             MONTEROSO              VA     90013428717
543542A9291587   JAZMIN              MEDINA                 TX     75001292092
54354A16672B38   RICARDO             ARIAS                  CO     90010030166
54355413172B43   TERESA              CASILLAS-VASQUEZ       CO     33061374131
5435631165758B   QUADALUPE           ONTIVEROS              NM     90013083116
543567A7872B43   ALL                 FITNESS INSTALLATION   CO     33055707078
5435742A84B588   MAKYLA              ROBINSON               OK     90010494208
5435848955B283   JESSICA             LAROCCO                KY     90004884895
5435897825758B   NORAYMA             CHAVEZ                 NM     90013399782
543591AA172B38   JOSE                LOPEZ                  CO     33075561001
5435935143B35B   GERARDO             GAMBOA                 CO     90013383514
54359631272B49   CHRISTY             GRAYUM                 CO     90002766312
5435B618985928   ARNITA              CARTER                 KY     90007786189
5435B62935B387   JOSE                SERRANO                OR     90013956293
5435B792161973   JAZMIN              OROPEZA                CA     90012607921
5436144764B588   DANIEL              MILLSAP                OK     90001344476
5436172A15B283   JEANNE              HABEGGER               KY     68023187201
54362145272B36   JONATHAN            OSBORNE                CO     90013941452
54362263572B27   KIMBERLY            RAYMER                 CO     90009882635
5436263A15B387   JUVENTINO           SANTOS CAMPOS          OR     90013956301
5436265112B27B   WILLIAM             ARTZ                   DC     90011516511
54362694676B75   NINFA               MORALES                CA     90012276946
5436368277242B   HOLLY               BRINKER                PA     90006486827
5436383377B46B   WENDY               MERALY                 NC     90013928337
54363A3A172B67   MARCELA             RAMIREZ-SANDOVAL       CO     33028280301
5436426535758B   YVONN               SANCHEZ                NM     90014832653
54364363772B77   IRAIS               GARCIA                 CO     33069073637
5436478684128B   MOHIT               JHAMB                  PA     51092967868
5436494755B387   JENNIFER            RODRIGUEZ-BENSON       OR     90014999475
54365384472B49   PEGGY               ARGUELLO               CO     33074513844
54365729A2B241   BERTHRAND           ANEKE                  DC     90005397290
543661AA455959   SILVIA              GUILLEN                CA     48033591004
5436646685715B   MARIA DEL ROSARIO   HERRERA                VA     90014434668
5436654165758B   KATALINA            HERNANDEZ              NM     90013695416
54367981472B36   MARTIN              FLORES                 CO     90013239814
54368325976B75   GREGORIO            ARMENTA                CA     90011313259
5436833755B393   ESMIRNA             RABANALES              OR     90011503375
5436835374B521   KEVIN               LITTLE                 OK     21518013537
5436924635B399   PATRICK             HUMPHRIES              OR     90014462463
543693AA75715B   ROXANA YESENIA      OCHOA                  VA     90015143007
5436B1A5631436   MARGARETTE          HOWARD                 MO     27500081056
5436B719191895   VIRGINIA            EVANS                  OK     21090887191
5436B735493724   JASEN               JONES                  OH     64509487354
5436B857172B67   SHANE               SUMSTAD                CO     90006398571
5437115312B27B   TENNRELLE           JONES                  DC     90011661531
543713A1761975   JOSE LUIS           BENITEZ                CA     90014363017
543724A8272B38   ISABEL              RAMIREZ                CO     33043384082
54372643672B36   SHAWN               FLOREZ                 CO     90012396436
5437269615B283   SHANNON             KATS                   KY     68062846961
5437273797B46B   EBONY               STURDIVANT             NC     90012257379
5437325357B46B   GERARDO             CARREON                NC     90000652535
54373291472B67   MARIA               GARZA                  CO     33062372914
543736A2591895   JOSPEHINE           REYES                  OK     90004246025
54374572172B36   JEANNIE             MEAGHER                CO     90010055721
5437484878B183   MARKUS              CARTON                 UT     90003328487
5437494844B536   BRANDY              ROLLANS                OK     90008469484
5437533AA5B531   JAMAL               MITCHELL               NM     90013453300
5437556A24B588   SHONNA              EDWARDS                OK     90015015602
5437566A255959   MARIA               DIAS                   CA     90014356602
54376156472B27   SERGIO              QUINONEZ               CO     90011491564
54376225A51348   EDGAR               PELCASTRE              OH     90010562250
5437685344B588   HUE                 NGUYEN                 OK     90011498534
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 23 of 2350


54376993972B38   VINCE         HUEY                         CO     90013019939
5437718A972B27   GILBERTO      CALDERON                     CO     90007601809
5437756A733696   MICHEAL       HALL                         NC     90003605607
54377723276B75   JOSEFINA      GUTIERREZ                    CA     46024527232
54377899972B36   CHACH AUTO    REPAIR AND BODY              CO     90010078999
54377A33577322   TOMMY         LABOY                        IL     90015590335
5437818924B588   ALEJANDRO     NUNEZ                        OK     90005621892
543781A6972B38   ANTONIO       DE-ANDA                      CO     90001161069
543785A6184373   ROSEMARY      THOMPSON                     SC     19056605061
54379132272B36   ROBERT        ARCHULETA                    CO     90013151322
5437963185B397   STERLING      WRIGHT                       OR     90013106318
5437964865B387   KACIE         WILCOX                       OR     90013956486
54379848376B75   SERGIO        SANCHES                      CA     90014168483
5437997498B142   JUSTIN        ISAACSON                     UT     90005099749
5437B684233696   TRON          BLACKWELL                    NC     90015056842
54381388A5B393   WILLIAM       SHOOK                        OR     90004223880
543813A2176B75   AGUSTIN       ARAGON                       CA     46002283021
5438143A32B27B   TRACY         RAINES                       DC     90012314303
543822AA24B588   DEE           JOULE                        OK     90014712002
54383126A2B851   PENNY         SANCHEZ                      ID     42016851260
5438315835B387   JARED         HOLMGREN                     OR     44551121583
54383572698B2B   ALAN          DOMINGUEZ                    NC     90011295726
5438357A15B399   KRYSTAL       MANSKER                      OR     90002055701
5438441815B531   MARIA         CHAVEZ                       NM     90015274181
5438543275B561   BERENICE      TERRAZAS                     NM     90011754327
54385662772B36   RICHARD       NIELSEN                      CO     90012456627
5438566A87B46B   JODY          WATSON                       NC     90015576608
543859A482B851   KATY          BENSON                       ID     42044249048
54386A99672B58   MICHAEL       PEREZ                        CO     90013970996
54387274372B49   JESUS         PEREZ                        CO     90000492743
5438778515758B   JAQUELINEE    GUTIERREZ                    NM     90010707851
5438819A161971   TINA          DAVIS                        CA     46009901901
5438853154B588   TEHRI         OLIVER                       OK     90013095315
5438865687B46B   MATTHEW       HEMDERSON                    NC     90012506568
5438869845B531   VALERIE       CERRANTES                    NM     35088996984
5438872867B46B   CARMEN        MUMFORD                      NC     90014757286
5438892968B163   TED           CYRUS                        UT     90008269296
54389548176B75   CELEDONIO     PACHECO                      CA     46021115481
5438965A25B387   LACSA         FUENTES                      OR     90013956502
54389792272B43   CHERYL        MORRISON                     CO     90014337922
5438B31124B521   TENNISE       ROBERTS                      OK     90005623112
5439112487B46B   AUDILIO       FUENTES                      NC     90004441248
54391198472B88   ERICA         BARELA                       CO     33080721984
5439192564B588   BARBARA       FULTZ                        OK     21516209256
543934A2733696   DAVID         DAVIS                        NC     90013214027
5439368872B27B   STAROLD       CELISTAN                     DC     90014896887
5439429A327B48   MIN           HLUN                         KY     90015352903
54394455A72B27   MARCELA       TREJO                        CO     33016664550
54394998672B43   SARA          DEVONN THOMPSON              CO     90013399986
5439519164B521   JOSHUA        WELCH                        OK     21509301916
5439534915758B   RUTH          GUTIERREZ                    NM     90006793491
54395354176B75   SUSANA        PINA                         CA     46052493541
5439556477B358   NICOLE        POWELL                       VA     90006635647
5439566665B387   VANESSA       RICE                         OR     90006416666
54395A86A61973   JESSICA       ZAZUETA                      CA     90012850860
543961AA191587   VALERIA       TERAN                        TX     90014401001
543963A4A5B393   MAXIMINO      CRUZ                         OR     44530933040
54396539672B27   JASON         NOTHWANG                     CO     90014575396
543967A8561971   LIZETH        TORRES                       CA     90013067085
54397363672B67   AARON         HUMPHREY                     CO     90006683636
54397612372B36   HEE YOUNG     LEE                          CO     90013966123
543976A7A85928   LESLEE        REYNOLDS                     KY     67006916070
54397A83472B38   TANYA         HINOJOSA                     CO     90010300834
5439854AA76B75   DAVID         FERRENCE                     CA     90012755400
5439888185B531   PERLA         FELIX                        NM     35016928818
54398A29161971   KIMIE         JOHNSON                      CA     46083450291
54399128672B38   NYDIA         CARDENAS                     CO     90012991286
54399152A5B399   EUGENIO       GARCIA                       OR     44587461520
54399336972B43   ASHLEY        JARAMILLO                    CO     33043873369
54399468572B36   JOHN RAY      GIVENS                       CO     90008034685
5439956595758B   CHRISTINE     CARILLO                      NM     90007725659
5439981AA61971   ORLANDO       FRIAS                        CA     90004158100
5439B7A6672B49   RACHEL        ORTEGON                      CO     33023967066
543B1235891587   NOEMI         MUNIZ                        TX     90009332358
543B1579933696   ANTONIA       MEJIA                        NC     90013705799
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 24 of 2350


543B1632672B77   JEREMIAH        WALL                       CO     33085496326
543B177765715B   MELVIN          FOSTER                     VA     90014727776
543B1A6645B399   SUZANNE         CZECHOWSKI                 OR     90015310664
543B2158991587   VANESSA         BATTLE                     TX     90014771589
543B2161361971   TAYLOR          SMITH                      CA     90013671613
543B21AA15B393   LIEBE           ARMSTRONG                  OR     44504931001
543B2259831428   TERINA          HILL                       MO     90014412598
543B23AA172B38   HARLINDA        FLORES                     CO     90004463001
543B319645B387   SHAWNDAHLEIGH   BAXTER                     OR     90012941964
543B3646761971   CARMEN          ISLAND                     CA     90007276467
543B371135B543   ROSA            ACOSTA-TORRES              NM     35051597113
543B39A175B399   CLONDY          NAVARRO                    OR     90013949017
543B481A35B393   CHRISTOPHE      COOK                       OR     44523258103
543B4852755959   SAULD M         REYNOSO                    CA     90005648527
543B499A361973   MICHAEL         ACOSTA                     CA     90009299903
543B49A315B531   JESSE           MOLINA                     NM     35081559031
543B5362672B88   DIANA           BOKER                      CO     90010763626
543B5623972B38   RENE ALBERTO    CANAS VALDEZ               CO     90010316239
543B5796272B36   RACHELLE        TAPLIN                     CO     90011387962
543B6153884373   ALBERT          RUSS                       SC     90013651538
543B6266455959   NONE            NNOE                       CA     90007712664
543B7464385928   WENONA          TRAPP                      KY     67021144643
543B7827376B75   DORA            ALVARENGA                  CA     46034288273
543B7846A91587   NAPOLEON        MAYORGA                    TX     90014848460
543B7894961975   DIANNE          TORRES                     CA     90013238949
543B7A96584373   GUALBERTO       CRUZ                       SC     90009210965
543B92A8885928   ROBERT          GRAHAM                     KY     90014172088
543B9A64333699   MARGARET        PETERS                     NC     12000780643
543BB222433696   JERMAYN         WILLIAMS                   NC     90013212224
543BB541191587   STEPHEN         WILLIAMS                   TX     90013805411
543BB6A3972B77   ANCELMO         GARFIO                     CO     33062446039
543BB723385B52   MICHELLE        HOUDIN                     FL     90015527233
543BB894684373   ALBERTA         SIMMONS                    SC     19081858946
5441149965715B   PETROS          BOKRETSION                 VA     90012394996
54411587372B77   MIKE            MIN                        CO     90008675873
54412159A5715B   WILMER          HERNANDEZ                  VA     90012591590
5441224995B176   TERRY           WATSON                     AR     90003452499
5441276645758B   JORDAN          CUEVAS                     NM     90013757664
5441298A255959   JOSE            REYNA                      CA     48068879802
54412A83251348   MARY            BURKART                    OH     90002910832
5441325212B851   ANTHONY         ISOLATO                    ID     90008312521
5441341645B393   ROBINA          SHAHEEN                    OR     44533024164
5441352885B247   DAVID           STAHL                      KY     90013165288
5441358645B247   SHARON          STAHL                      KY     90012815864
5441531367B46B   DANIEL          MORRIS                     NC     90010633136
5441573212B272   SALINA          BURNO                      DC     81006917321
54416521772B36   SANDRA          RIVAS                      CO     90007675217
54416598A98B2B   ANTHONY         WILLIAMS                   NC     90011295980
5441665A25B387   LACSA           FUENTES                    OR     90013956502
54416895876B75   LUIS            CASTELLANOS                CA     46075298958
54417178872B43   BENITO          PARAS                      CO     90004871788
54417644472B49   NATASHA         AUSTIN                     CO     90012246444
5441842855758B   ERIC            TALAMANTES                 NM     90014324285
54418459372B49   MARIBEL         RAMOS-EVARISTO             CO     33023314593
5441852A791895   JORGE           MONDRAGON                  OK     90012665207
54418544372B36   ROBERT          VALENCIA                   CO     90014915443
54418927172B88   ALADIA          LEDKINS                    CO     33072839271
544189A7955959   ALEX            AVALOS                     CA     48091099079
544194A977B631   PENNY           FRAZIER                    GA     15008654097
5441957325B393   MICHEAL         THOMAS                     OR     90010975732
544196A9872B88   ERIK            FITZWATER                  CO     90003246098
5441989255B387   MARVEL          SMITH                      OR     44525918925
544199A9947877   JASMINE         CHESTER                    GA     90012209099
5441B287A72B27   JUAN            ORDUNA ZAGAL               CO     33070002870
5441B289993724   STEVEN          BOYEE                      OH     90013952899
5441B33755B393   ESMIRNA         RABANALES                  OR     90011503375
5441B3A372B29B   VALERIO         CABRERA                    DC     90007013037
5441B432441273   KRISTIN         MARSELLA                   PA     51042264324
5441B577976B75   FERNANDA        RIVAS                      CA     90013815779
5441B646A7B46B   ADELINA         SANTOS                     NC     90013356460
5442197545758B   KAYLA           SCHULZ                     NM     90015149754
54421A77261971   NOE             VILLANUEVA                 CA     90012980772
54422332A7B46B   VISTINE         BISHOP                     NC     90014883320
5442246415758B   SCOTT           EDWARD                     NM     90013964641
5442251A35B399   MIRANDA K       POWELL                     OR     90002175103
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 25 of 2350


5442269874B588   RAUDEL             CASTANEDA               OK     21557206987
5442273A951348   LINDA              ROBERTSON               OH     90010697309
54422795172B27   MATHILDE           BODIFORD                CO     90003027951
54422A96A7B389   DEBORA ANN         THOMAS                  VA     81026050960
54423329472B27   CHAELA             QUEEN                   CO     90015123294
54423339A72B27   CHAELA             QUEEN                   CO     90003433390
5442428725B399   MAX                LOVATO                  OR     44576682872
54424693A61973   EDWIN              QUIAMBAO                CA     90012886930
544246A9272B38   JUANITA            GONZALES                CO     90009506092
54424A2914B588   MELISSA            RESENDIZ                OK     90013810291
5442514735B543   JOYCE              SANTANA                 NM     90007241473
54425156872B27   ALEJANDRO          TALAMANTES              CO     90012741568
54425393376B75   MARIA              CHADWICK                CA     90012673933
544269A1155959   JOVANY             PEREZ                   CA     90009869011
5442787934B588   JACQUELINE         WALKER                  OK     90012368793
54427893A72B38   ROSENY             RIOS                    CO     90005368930
54428255572B49   EDILBERTO          SUSANO V                CO     33012172555
544284A9172B27   FREDERICK          VENETTE II              CO     90014824091
5442898A872B77   PARIS              ROSENQUIST              CO     90005999808
54429129572B27   HOLLY              VAN KLEEK               CO     33014461295
54429289776B41   FREDDY             BENITEZ                 CA     90002102897
54429849372B36   ORLANDO            GUERRERO                CO     90013598493
5442B412172B67   GERALD             BARELA                  CO     33035634121
5442B641861973   JORGE              CANO                    CA     90013046418
5442B67135B387   JUDITH             JARJU                   OR     90013956713
5442B79197B358   SAKHON             HAM                     VA     90000947919
5442B98985758B   DORIS              SULLIVAN                NM     90013859898
54431A9237B46B   ARNOLD             CROWELL JR              NC     11079860923
544322A6172B49   NORMA              LEYVA                   CO     33018012061
5443233255715B   MARIO              LAINEZ                  VA     90014343325
5443257155715B   MARIO              LAINEZ                  VA     90013975715
54432698A91895   CODY               GANT                    OK     90014226980
5443299732B851   LAVAUN             JAUREGUI                ID     42091969973
5443332455758B   SYLVIA             ACUNA                   NM     35566823245
5443462145B399   CLAYTON            KLEIN                   OR     90007086214
54435499172B88   ROGELIO            FAUDOA                  CO     33083704991
54435597A55959   CARLOS             CANO                    CA     90014735970
5443578695B531   NORMAN             SANTIAGO                NM     90010357869
5443647765B531   BEATRIZ            CHAVEZ                  NM     90010244776
544376A5157157   MIGUEL             MORALEZ                 VA     81055666051
54437AA5993724   EDWARD             HARRIS                  OH     64584090059
54438A17633699   ALVIN              ALLEN                   NC     90011360176
54439111572B38   MARIA DEL CARMEN   ESTRADA-TOLENTINO       CO     90011571115
5443968AA5B399   KARA               SHEARER                 OR     44575966800
54439A77872B49   TRIPP              GOESSMAN                CO     90014830778
5443B238531428   CECILIA            LORENSO                 MO     27569352385
5443B2A6872B38   RITA               CHITWOOD                CO     33088282068
5443BA1965B531   DORA               DOMINGUEZ CHAVEZ        NM     90007630196
5444115394B922   JASON              PETTIES                 TX     90009391539
54441253772B27   KAYLLA             NEFF                    CO     90000132537
5444129732B27B   ROBERT             SIMMS                   DC     81025852973
544414A115715B   NATHANIEL          JONES                   VA     81027364011
5444174284B588   LAUREL             SMALLWOOD               OK     90011987428
54443121A4B588   MYRNA              JOHNSON                 OK     90014511210
5444343865B393   DAVID              JACOBO                  OR     44542944386
54444358572B27   DCHELLE            KERFORD                 CO     90013243585
54444375972B27   ALBERT             RAMOS                   CO     90011093759
54445268772B49   ELIZABETH          JACQUEZ                 CO     90009602687
5444539A55758B   JIMENEZ            RUFINO                  NM     90005883905
544455A595B399   BRAD               WYATT                   OR     90014405059
5444571A25B543   ESTELLA            LOCKHART                NM     35098617102
5444617825758B   VERONICA           PAYAN                   NM     90008201782
5444645164B588   TIME               THOMAS                  OK     90011374516
5444779285B399   JENNIFER           GLOY                    OR     90006677928
5444848145B425   GREGORY            KENNELL                 AL     90013834814
54449A36A61975   GINA               BAUMAN                  CA     90013310360
5444B355161973   HUGO ENRIQUE       TAPIA AVILA             CA     90006793551
5444B769384373   TAYLOR             BAKER                   SC     19081957693
5444BA87451348   ELISEO             GUTIERREZ               OH     90006130874
54451254A31429   RONALD             PAULE                   MO     90013962540
54451618A5B393   LARISA             KURMAYEVA               OR     44547446180
5445171414B588   ZULEICA            VASQUEZ                 OK     90013207141
54451988872B49   SOURACHATH         ROJANAPHONG             CO     90012679888
54451A5225758B   RICARDO            LAZONO                  NM     90007690522
54451A89372B36   IVAN               CRUZ                    CO     90002970893
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 26 of 2350


54453238776B75   STEVE              SANCHEZ                 CA     90013912387
544537A4598B2B   JOSE               DE OLIVERA              NC     90011297045
5445478227B46B   ONORIO             BARAJAS LOPEZ           NC     90013297822
54454848972B36   TORY               BLACK                   CO     90011948489
54455374172B43   GEORGE             FLEISCHMANN             CO     33008713741
5445543845758B   MARIA              RIVERA                  NM     90002654384
5445645422B27B   DARMEISHA          WHEELER                 DC     90015244542
544564A9291587   ELVIRA             SANCHEZ                 TX     90012404092
54456895572B38   JACKIE             CARSON                  CO     90014658955
544578A258B142   MINDY OR BRENDAN   WHEELER                 UT     90010208025
544579A8657157   BERNARDETT         BURLEY                  VA     81085179086
5445821532B27B   TERNIZA            EVANS                   DC     90000412153
5445834824B588   PATRICIA           OLVERA                  OK     90013203482
5445891585B399   RAYMOND            JIPSON                  OR     44562589158
54458957A5715B   YOL                PETER                   VA     90010459570
5445B24955758B   BRYAN              GUTIERREZ               NM     90013842495
5445B276A4B588   SILVIA             MILLAN                  OK     90003752760
5445B4A942B27B   TAMETRIS           MORRIS                  DC     90015074094
5445B513A72B88   DEREK              WATT                    CO     90003625130
5445B525661975   THELMA             PERALTA                 CA     46068735256
5445B563A61971   MELLISA            DILLENBECK              CA     46034155630
5446131545B393   MARIA              PINTO                   OR     44561653154
5446134A12B27B   INGA               BROWN                   DC     90014513401
5446158875715B   NAYBA              PANA                    VA     90013005887
54461A51361973   CRYSTAL            ISLE                    CA     46075030513
5446246182B851   CAROL              RICKER                  ID     42017024618
5446249125715B   BRYAN              HOLTON                  VA     81044274912
54462675372B43   RICHARD            KIECKHAEFER             CO     33039886753
54462786172B27   YVETTE             SANDERS                 CO     33013837861
5446327583B381   ESTHER             SOLES                   CO     33044562758
54463378A85928   JERMOL             SIMMONS                 KY     90012523780
5446339A161971   JOSEPH             PETERS                  CA     90014313901
5446442A947959   NICOLE             BARRON                  AR     90004384209
5446471375715B   MAURICIO           DIAZ                    VA     81096307137
5446485544B588   ANTHONY            JACKSON                 OK     90012418554
54465A7555758B   ROSE               CALLAHAN                NM     90011890755
54466142A5B543   ATTWOOD            NELMA                   NM     90000541420
54466151A5B387   SARA               CURL                    OR     90014371510
5446716932B27B   MYRON              ATKINS                  DC     90014661693
5446768952B27B   ANDREW             B                       DC     90007576895
54467768576B75   PAMELA             RAMIREZ                 CA     90012747685
54467A5237B46B   MAURISE            CLARK                   NC     90010160523
5446816375758B   ADAM               SEDILLO                 NM     90011741637
5446897785B543   CRISTIAN           MARNTES                 NM     90011299778
54468A6115B387   JOSH               BENZINGER               OR     90013970611
5446913212B851   KAYLA              RHOADES                 ID     42087711321
54469295672B43   ERNEST             DAKOLIOS                CO     90006992956
5446936974B588   ATINA              PULLIAM                 OK     90005563697
54469417672B49   RACHEL             GALLEGOS                CO     90012784176
54469732A5B387   MARIA              MARTINEZ                OR     44589887320
5446B255391895   JACKIE             GARDNER                 OK     90009992553
5446B46182B851   CAROL              RICKER                  ID     42017024618
5446B66A255959   MARIA              DIAS                    CA     90014356602
544715AA155959   JOSE               ARCIGA                  CA     90013405001
54471764A7B46B   CARLOS ANTINO      THOMAS                  NC     90012097640
54473282576B75   SANDRA             BOWMAN                  CA     90013642825
544732A5172B36   JULIA              ARAGON                  CO     90003722051
544734A9291587   ELVIRA             SANCHEZ                 TX     90012404092
54473569A5758B   SAMANTHA           BURNSIDE                NM     90014045690
5447476A551348   GINA               PARTIN                  OH     66089717605
54474AA3998B2B   KATHERINE          MILLER                  NC     90012210039
5447594985B387   DESTINY            WAJDIK                  OR     90011619498
5447616A62B272   ROBIN              MCKINNEY                DC     90010891606
54476236876B84   ANTHONY            CAMPBELL                CA     90011032368
5447669A172B49   FAJETTE            JENKINS                 CO     33031416901
54476A4795B531   JOHNNY             MIRABAL                 NM     90014550479
5447715134B588   ESTEBAN            SERNAN                  OK     90012271513
5447769324B521   KEVIN              HILL                    OK     90005626932
5447787945715B   JHONNY             ZUNIGA                  VA     90013418794
5447791AA84852   PABLO              MORFIN                  NJ     90015169100
5447847595715B   JULISA             FUENTES                 VA     90007854759
54479274A5715B   CRUZ               AREVALO                 VA     90011232740
5447949872B851   LINDA              ALANIZ                  ID     42093964987
54479629372B36   TRAVIS             ROTH                    CO     33008126293
54479A31933699   LYNETTE            BROWN                   NC     90004220319
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 27 of 2350


5447B2AAA85928   CARLA         MITCHELL                     KY     67019232000
5447B321393724   MIKE          ROWE                         OH     90013953213
5447B415972B88   MERCEDES      CHAVEZ                       CO     90006964159
5447B692793724   THERESA       SHANNON                      OH     90014906927
5447B93A67B46B   SILVIA        RAMIREZ                      NC     90012309306
5448122552B27B   ANDREA        BERECIARTU                   VA     90000412255
5448129234B588   TOMMY         NAMMIXAY                     OK     90002182923
5448143A75B399   VICTOR        MENDOZA RAMOS                OR     90013364307
5448147355B387   TATYANA       VASQUEZ                      OR     90013474735
5448324A25715B   CALVIN        BOXLEY                       VA     90012402402
544836A214B588   BRITTANY      HALBERT                      OK     90011956021
5448413335758B   JUAN          REYMUNDO                     NM     90007931333
54484331572B27   DONI          MARSELIES                    CO     33063143315
5448456542B851   CESAR         RODRIGUEZ                    ID     42097145654
5448487A733699   OKEYMA        LEWIS                        NC     90012958707
544848AA684373   DONNA         MCKINNEY                     SC     90013988006
54485436372B67   CLAIRE        CLARK                        CO     90002274363
54486148576B75   NANCY         VELZQUEZ                     CA     90013681485
5448637215B387   TEKA          CLEVIDENCE                   OR     44507053721
54486668472B38   CHRISTOPHE    WRIGHT                       CO     33075826684
54487A23472B27   OSCAR         MORENO                       CO     90012800234
5448915277B46B   JASMINE       JOHNSON                      NC     90013641527
5448998A591587   LUZ           ESCOBEDO                     TX     75001709805
54489A95761975   GUADALUPE     SARABIA                      CA     90008430957
5448B32634B59B   MIRANDA       NATION                       OK     90005273263
5448B38965B393   MICHAEL       MANNING                      OR     44523253896
5448B97A52B27B   CURTIS        ANDERSON                     DC     90014979705
544911A3461975   DIXANDERS     REYES                        CA     46004191034
54491224772B38   BOBBIE        VIGIL                        CO     90009822247
544917A5872B88   ANDREW        HENSON                       CO     90003247058
54492148A55959   NANCY         HERNANDEZ                    CA     90010761480
544924A5772B36   SANDRA        RIVERA                       CO     90003584057
54492958972B67   JAIME         HERNANDEZ                    CO     33086089589
54492A29285928   GILBERTO      GUERRA                       KY     67015710292
54492A8544B521   SARAH         PATTON                       OK     90006790854
54493217A72B43   JESUS         CASTILLO                     CO     90003822170
544939A8391267   MARSHA        WALKER                       GA     90009419083
54493A8374B588   DEANNA        MOSLANDEY                    OK     90005130837
5449431965598B   YRIS          PUMARINO                     CA     90011293196
5449431A181625   SARAH         DESCHEPPER                   MO     90001203101
544947A235598B   YRIS          PUMARINO                     CA     90013757023
5449614532B281   MARLON        POWE                         VA     90014541453
5449622134B588   SHERMAN       GRIFFIS                      OK     90014712213
5449712245B387   CORAL         DORAN                        OR     90007301224
5449748355B399   JAVIER        RODRIGUEZ                    OR     90010584835
54497A75172B27   RICHARD       CALLOR                       CO     90003020751
5449825635B399   JOEL          PEREZ                        OR     90012662563
54498259A61973   KYMISHA       FRANKLIN                     CA     90014642590
54498338972B38   GUADALUPE     SALINAS                      CO     33002503389
54498774572B88   BRUNO         NAVARRETE                    CO     33072847745
5449878722B27B   DEONNA        ONEAL                        DC     90012267872
54498836176B75   ALAPOZOUGHA   ALAPOBODR                    CA     90012748361
54498894198B2B   DWANA         TRUESDALE                    NC     11058078941
54499532A76B75   RAUL          MARTINEZ                     CA     46091365320
5449976A65758B   ED            TSYITEE                      NM     90009767606
54499A41198B2B   SHANNON       WORTHAM                      NC     11089420411
5449B147A31428   SCOTT         WALKER                       MO     27515241470
5449B387A72B38   TERESA        JONES                        CO     90000403870
5449B44A131468   SHARRONE      MILLER                       MO     90006004401
5449B618A5B387   LARISA        KURMAYEVA                    OR     44547446180
544B1368A72B27   EVE           LEE                          CO     90015093680
544B15A1761973   ANGELICA      CASTRO                       CA     90003115017
544B1837A5B399   MARTA         AJQUI SOP                    OR     90008778370
544B18A7972B27   MARIE         JESSICA                      CO     90007808079
544B2131398B2B   KAITLYN       CALDWELL                     NC     90010441313
544B347165758B   DORISE        FOLDY                        NM     90013854716
544B348A351348   HUGO          ANTONIO                      OH     90014044803
544B34A2272B67   DAWIT         GOYTOM                       CO     90012914022
544B399835715B   SANTOS        GRANADOS                     VA     90014069983
544B411925715B   DANIEL        WOLDEMICHAEL                 VA     90008151192
544B42A3661975   ALBERTO       SANTOS                       CA     90013292036
544B465245B387   CHRISTIAN     GRIJALVA                     OR     90013956524
544B537A272B43   MON           BAHADUR                      CO     33031513702
544B594A342363   SHERRY        CURTIS                       GA     90004369403
544B5AA8961971   JENNIFER      KENNISTON                    CA     90012340089
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 28 of 2350


544B6156361971   BRYAN         SLATEN                       CA     90011061563
544B6821472B36   ENERELDA      JUAREZ                       CO     33098438214
544B7468672B49   AJA           YOUNG                        CO     33030794686
544B7728A76B75   BELEN         VALERIO                      CA     90005037280
544B8395772B77   JOHN          ROBERT NEWELL                CO     90011013957
544B8632472B36   CINDY         MCCORMICK                    CO     90013846324
544B9259533696   VICTORIA      CRUZ                         NC     90013532595
544B9398755959   LETICIA       CORONA                       CA     90007713987
544BB173591269   SHACONIA      BROWN                        GA     90000701735
544BB17A772B49   SCOTT         DUTTON                       CO     33063331707
544BB2A6A91895   SHANTA        PRESSEY                      OK     90009582060
544BB317376B75   DANIEL        GRANADOS                     CA     46016003173
544BB521433696   ANTHONY       FOUST                        NC     12055805214
544BB93674B588   KRISTI        GRISSOM                      OK     90013279367
544BBA21A9376B   TARA          CALLICOAT                    OH     90011740210
5451111A155959   ADALBERTO     QUIRINO                      CA     90014951101
5451146A35715B   ELSA          PORTILLO                     VA     90012964603
5451157A75B387   MYKOLA        VORONCHUK                    OR     44593035707
5451172725B531   TINA          MONTOYA                      NM     90014127272
5451242A12B27B   MARK          LOPES                        DC     90012784201
5451268855758B   ROMELIA       LOPEZ                        NM     35548226885
5451349A172B36   ELIZABETH     GRAYS                        CO     90012904901
5451354165758B   KATALINA      HERNANDEZ                    NM     90013695416
54513767472B36   MICHAEL       ROYBAL                       CO     90010457674
5451411955B387   LESLIE        TORRES                       OR     90009101195
54514198576B75   ANA           ORNELAS LUNA                 CA     90014451985
54514A71172B43   DANIEL        GUERRERO                     CO     33074580711
5451541295715B   JUAN          GRANADOS                     VA     90007124129
5451542A472B38   DAMIAN        ARAMBULA                     CO     33003024204
54516278876B75   MERCED        FLORES                       CA     90003302788
5451673245B387   JOY           BELL                         OR     44507307324
5451715395B393   KABRINA       PENSELIN                     OR     44506051539
5451729885715B   MERCEDES      HERNANDEZ                    VA     81054892988
54517682772B88   APRIL         PEREZ                        CO     33093366827
54517A6925B543   CHARLES       BERGEVIN                     NM     90007140692
54518148372B38   JOSE          VELAZQUEZ ALDAY              CO     90012991483
5451823274B588   THOMAS        BILLINGS                     OK     90007502327
5451858535B399   ANA           IBARRA                       OR     90007875853
54518A3342B851   KIMBERLY      MOFFATT                      ID     42069270334
5451913275715B   RAMIRO        ARAUJO                       VA     90010321327
545191AA972B88   VICTORIA      THORNBURG                    CO     33072851009
5451968757B434   SOILA         MONCADA                      NC     11029726875
5451995A45B387   MELISA        ESQUIVEL                     OR     90011619504
54519A5A361971   JOSIANE       SYLAIN                       CA     90009640503
5451B79725B393   PEGGY         HESS                         OR     44522447972
54521136A5B399   JUSTIN        SMITH                        OR     90013991360
54521155472B38   DANIEL        CHAVEZ                       CO     90012991554
545229A2A5715B   ANGELICA      AVILES                       VA     81044339020
54523553A51348   TAMEL         PRUITT                       OH     90013485530
54523819A76B75   MARIA         RECENDIZ                     CA     90008798190
54524394A57122   KEITH         STEPHNEY                     VA     90011893940
5452449A55B531   ABBAS         AL-SAKINI                    NM     90012024905
5452457A44B588   NUVIA         CANO                         OK     90010525704
5452591845B387   ABDIFATAH     MAILEH                       OR     90011579184
54526226772B49   WADE          HARRIS                       CO     33008092267
545269A6998B2B   DANA          ANDERSON                     NC     90008229069
54526A35557157   CLAUDIA       ASTUDILLO PENA               VA     90011720355
5452722A776B75   JUDY          LINDQUIST                    CA     90014962207
5452731485B531   CRYSTAL       KLEINHENZ                    NM     90014653148
545275A9672B67   PETER         RIZZO                        CO     33015935096
5452767695758B   LYDIA M       ANTILLON                     NM     90002096769
54527A1A85715B   CARLOS        GUZMAN                       VA     90000170108
54528343172B67   JESSE         PHILLIPS                     CO     33031193431
54528A7245B387   DAN           MCNATT                       OR     90013970724
5452959295758B   TANYA         MCKENZIE                     NM     90014855929
54529A1245B538   JESSE         SUMMERS                      NM     90004760124
5452B14245715B   ARIA          DRAYTON                      VA     90009981424
5452B73825B387   MARIE         GREENE                       OR     90008977382
5452B86A85B399   ELSA          JUAREZ                       OR     90010658608
54531728A5B531   JOCELIN       GRIMM                        NM     90011937280
54531AA355B393   MERCEDEES     MORGAN                       OR     90010260035
54532419472B27   ADRIANA       CAMPOS                       CO     90012714194
54533115472B38   JOAN          GUERRA                       CO     90014521154
545333A8233699   RASHAUN       ROUSSAOU                     NC     90013923082
54533962976B75   JACQUELINE    SANCHEZ                      CA     90009579629
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 29 of 2350


54533973772B36   JACK          SIMON                        CO     90011609737
54533A9A885928   ELLA          WALKER                       KY     67009850908
5453421A272B88   TIMOTHY       BAKER                        CO     33072852102
5453423177B431   TIFFANY       HART                         NC     90012642317
5453424919376B   CASEY         CRAIG                        OH     90008962491
5453475135715B   MIRIAN        ARNEZ                        VA     90013197513
5453553815B531   ALEXANDRIA    MARTINEZ                     NM     90012955381
54535655A61975   BENNY         BOURNE                       CA     90009776550
5453598345758B   JESUS         HERRERA                      NM     90010899834
54535AA9172B38   JEREMIAH      HAYES                        CO     33070470091
54536296572B49   ANTHONY       MONTANO                      CO     90007332965
5453687625715B   SILVIA        VEIZAGA                      VA     90011928762
545369A4957157   JON           PROCTOR                      VA     81085409049
54536A14491895   SUMMER        HANKS                        OK     21056290144
5453855927B46B   MAURICE       EDWARDS                      NC     90011335592
54538731A72B36   TIFFANY       REEDOM                       CO     90012177310
5453883695758B   VERONICA      TORRES                       NM     90002288369
5453927565715B   MARLENY       MEDRANO                      VA     81044342756
5453956912B27B   KEVIN         STEWART                      DC     90005225691
54539AA8A4B588   CASSELL       LAWSON                       OK     21596620080
5453B188576B75   JOSE          MATA                         CA     90010021885
5453B212184357   ANTHONY       COAXUM                       SC     90013362121
5453B481A55959   ADRIANA       REYES                        CA     90010714810
5453B676484373   LACY          STRICKLAND                   SC     90015566764
5453B9A335B393   MAX           CHAMALBIDE                   OR     90009899033
5453BA4355B543   EDGAR         ROBLES                       NM     35040140435
5454123387B46B   YENSI         RAMOS                        NC     11086762338
5454176A872B49   TERRY         RUST                         CO     33016507608
54541A8765B387   ROBERT        STOCKWELL                    OR     90013970876
54542933698B2B   BOBBY         BROWN                        NC     90006949336
54543512172B38   JOSE          PEREYA                       CO     90013665121
545436A4172B27   JOSHUA        BROOKS                       CO     90013786041
54543729A5715B   JOBELIN       CONTRERAS                    VA     90013607290
54543A41533696   CATHERINE     CRAIG                        NC     90004880415
545442A595B543   MARIAH        KEAN                         NM     90009232059
5454533853B387   TABITHA       JACKSON                      CO     90008243385
54545523A81683   GERALD        CRUTCHER                     KS     29088995230
5454559635B387   MARCELINA     HERNANDEZ                    OR     90013965963
54545892972B67   JOHN          MILLER                       CO     33018048929
54546215272B49   MANDYMARIE    SWANSON                      CO     90006352152
545464A8A61975   DINA          GARATE                       CA     90010734080
5454656195B283   TIERRA        MOORMAN                      KY     90004235619
5454727612B27B   CHARISHIA     LANGLEY-PETERS               DC     81075352761
5454787A293724   ERICA         THOMPSON                     OH     64500188702
54548284772B27   THERESA       OWENS                        CO     33074712847
545482A2385928   GINGER        MULLINS                      KY     90010612023
54549321172B43   MAGDALENA     ZAZUETA                      CO     90008703211
54549529372B36   MAURICIO      FABIAN                       CO     90011865293
5454B365133699   MARY          SHEFFIELD                    NC     90012783651
5454BA99733645   LOUIS         WILSON                       NC     90006900997
54551135A85928   JENNIFER      RESCH                        KY     90014711350
54551346A84357   ANTHONY       BROWN JR                     SC     90007043460
5455261722B27B   JUAN          ZACARIAS                     DC     81011726172
54552655976B75   DON           MOLLETT                      CA     90013896559
5455269175715B   JORGE         RAMIREZ                      VA     90010966917
545527A3A91895   CHANCE        HORN                         OK     90012147030
54552929472B38   TERRIE        MACLEOD                      CO     33079329294
54553349572B49   JESUS         DE SANTIAGO                  CO     90000133495
545535A2484373   ZARIAN        BRELAND                      SC     90014715024
54553996672B88   ARTURO        MURILLO                      CO     33016169966
54553A64251348   TONYA R       EDDELMON                     OH     90011170642
5455419915B387   RICHARD       GARDNER                      OR     90008351991
5455544217B46B   OMAR          QUIROZ                       NC     90014534421
5455552535B531   DANNY         MARTINEZ                     NM     35044585253
5455569445B399   ELDA          ESTRADA                      OR     44571726944
545558A1198B2B   ABONY         BRIDGES                      NC     90011298011
54556416176B75   LARRY         SMITH                        CA     90002404161
54557A87A61971   JACOB         SCHOENLEBER                  CA     90011440870
5455943A25715B   MARTHA        HURTADO                      VA     81062354302
5455946A84B588   ASHLEY        SLOAN                        OK     90011444608
54559632A4B936   ISAIAS        BROWN                        TX     90011916320
5455B291A72B36   MARIA         CORONA                       CO     33092532910
5455B326684373   ANA           MEJIA                        SC     90011043266
5455B573461971   ALAN          FIFE                         CA     46090825734
5455B632761973   ESMERALDA     COVARRUBIAS                  CA     90014966327
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 30 of 2350


5456125A691895   JESSICA       WINFREY                      OK     90004042506
545612A1372B63   MARTIN        MARTINEZ                     CO     90010122013
5456131412B869   TERESA        GREMEL                       ID     90011623141
54561628572B38   GARCIA        ALEJANDRO                    CO     90010316285
54561672272B43   MEGAN         HANSEN                       CO     33076416722
5456186345B283   CHRIS         CURTIS                       KY     68028088634
54563547272B43   JEFFREY       RASBURN                      CO     90010355472
54563555972B36   MINERVA       RAMIREZ                      CO     90011375559
54563917A72B43   ASHLEY        MARTINEZ                     CO     90012959170
5456424494B588   SCOTT         WINNER                       OK     90013532449
54564291A81678   CORTEZ        MCDONALD                     MO     90014162910
5456471577B46B   NIKILA        CARTHRAN                     NC     90003047157
545647A1A9132B   ERIC          MEIN                         KS     29029797010
54564A87341273   SHANIKA       PEARSON                      PA     90014970873
5456519374B59B   JODY          MILLS                        OK     90013781937
5456623724B588   KENNETH       STEINER                      OK     21557262372
5456623885B543   TIFFFANY      RICKELL                      NM     90014092388
545662A2A76B75   HAEL          SOZA                         CA     90011952020
5456683735715B   ROSILAND      ROWE                         VA     90010248373
54566AAA785928   CHRIS         ELDRIDGE                     KY     90003790007
5456727A343569   SENN          ERICKA                       UT     90006342703
54567452372B27   MAURILIO      BROWN                        CO     33068054523
5456746388587B   JAMIE         GROVER                       CA     90005284638
5456778415715B   FAIZAN        NAHAR                        VA     90014327841
54567886876B75   ROSALVA       LACHA                        CA     46092948868
545681A3A61973   JUAN          PEREZ                        CA     90000281030
54568917798B2B   HENRY         SMITH JR                     NC     11050249177
5456899345715B   SHEILA        LAWSON                       VA     81044359934
545693A3751322   CHRIS         DELRIDGE                     OH     90008013037
54569578376B75   ANDREA        SCHMIDT                      CA     90014005783
54569818A72B38   ENRIQUE       VILLEZCAS                    CO     33064398180
54569931A24B7B   LISA          SMITH                        DC     90013799310
5456B235A72B38   DARALYN       DOSTIE                       CO     90013832350
5456B444433696   CAMERON       PEOPLES                      NC     90013504444
5456B469772B27   TEODORA       PINEDA                       CO     33064464697
5456B575A5B283   MARK          BRYANT                       KY     90001575750
5456B62275715B   GERARDO       MEZA                         VA     81007486227
5457113174B588   JULIA         BANDA                        OK     90009081317
54571648A91587   ANGELA        MORENO                       TX     90010736480
54571714798B2B   SHANTAVIA     SIMPSON                      NC     90012467147
54571846A5715B   CARLOS        VACA                         VA     90013948460
54572228A91895   LISHONDA      ELSTON                       OK     90015072280
5457312A691587   JUAN          PADILLA                      TX     90015151206
5457351857B46B   REGINALD      PARKER                       NC     11092955185
54573797572B38   BEATRIZ       LOPEZ                        CO     90005617975
5457485795715B   RODNEY        SMITH                        VA     81026918579
54575936A91587   LIZETH        ORO                          TX     90000299360
5457625665B399   STEVEN        MCDOWELL                     OR     90008142566
545762A992B851   MAURICIO      AYAGA                        ID     90012202099
5457682887B46B   DALLAS        LOWERY                       NC     90012368288
5457729954B588   SANDRA        STEVENSON                    OK     90015122995
5457751972B27B   SYLA          PAUL                         DC     90010775197
5457755A261971   GRACIA        BRADLEY                      CA     90011875502
5457832935B399   CRISTA        STROTZ                       OR     90014523293
5457915385B399   CHRISTINA     WALKER                       OR     44565081538
5457919A65B543   SAMUEL        GRIEGO                       NM     35088641906
54579238A61975   MIGUEL        VALDEZ                       CA     90012872380
54579243A9373B   IRVING        RASCON-ANAYA                 OH     90001102430
54579571A61975   MIGUEL        VALDEZ                       CA     90012915710
5457993975B531   JOSEPH        LUCERO                       NM     35054489397
54579A32A4B588   LESLIE        SPERRY                       OK     90014680320
5457B416A5B387   MARCELLA      ANDERSON                     OR     90012314160
5457B422991587   QUETZAL       DEVINE                       TX     90009944229
5457B454372B49   ROBBIE        RATAY                        CO     90013804543
5457B47123B35B   AMANDO        REYES                        CO     90013134712
5457B916761971   ANA LILIA     GEAIRN                       CA     90013509167
54581148872B43   SHERRI        MILLICAN                     CO     33025901488
54581182A91587   JUAN          RODRIGUEZ                    NM     75092281820
54581475972B38   MARIA         RIVERA                       CO     90014774759
54581597476B75   ROSA          MONDRAGON                    CA     90012895974
5458184225B399   JUAN          MCSPADDEN                    OR     90008698422
54581A84972B36   BERTHA        MORALES                      CO     33023420849
5458258A82B27B   DARRYL        BUTLER                       DC     90010595808
545826A5972B38   ALVARO        ZAVALA                       CO     90014566059
54584977A4B588   JENNIFER      BIGBEE                       OK     90010149770
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 31 of 2350


545849A7757157   JERARDO       VALLE                        VA     81066859077
5458626665B531   STEPHANIE     TODD                         NM     90013262666
5458641322B27B   RENEKA        SPEARS                       DC     90012934132
54586459772B49   CATHERINNE    HANNON                       CO     90004164597
545864A4733699   ELISEA        NOYOLA                       NC     90014674047
5458679815B283   ADRAINE       WHITE                        KY     90011407981
54586815A4B251   CANDICE       BROWN                        NE     90007768150
5458687984B588   MARK          PETER                        OK     90013538798
54586A6AA91535   RAMON         CARRERA                      TX     90008870600
5458769355B531   ANTHONY       LOPEZ                        NM     35077846935
54587A87984373   THORNE        THOMASON                     SC     90015300879
5458812375715B   MARCOS        ABREGO                       VA     90001771237
545883AA461973   ANGELO        VECCHIONE                    CA     90012453004
54588924176B75   JUAN          JIMENEZ                      CA     90013529241
545891A985B543   MICHELLE      PINO                         NM     35030891098
5458939312B27B   JOSE          BEUMON                       DC     81025933931
5458954A255959   TERESA        ESPINOZA                     CA     90003695402
5458961125B393   RENNY         DEASSIS                      OR     90004456112
54589843A91945   RUBI          ACCO                         NC     90000398430
545898A5872B49   ERIK          MARTINEZ                     CO     90009698058
5458B13174B588   JULIA         BANDA                        OK     90009081317
5458B161591587   MARIA         CARDENA                      TX     90011721615
5458B344555959   GONZALO       ALCARAZ                      CA     90013473445
5458B36A45B399   SHARON        KIRCHMANN                    OR     90014193604
5458B3A1561971   HIVIDAR       KHENDARI                     CA     46011473015
5458B74725B387   DAVID         JOHNSON                      OR     90014677472
5458B921872B77   HORTON        THOMAS                       CO     90006799218
54591A9185B399   JASEN         POPE                         OR     90014740918
54591A99761998   SERGIO        MAGANA                       CA     90002030997
54592259A61973   KYMISHA       FRANKLIN                     CA     90014642590
5459295A45715B   MARILYN       BURKE                        VA     90001559504
545933A9131462   LANCE         JONES                        MO     90008583091
54593622A2B29B   DENISE        WHITLEY                      DC     90007236220
545937A7A72B43   NGOZI         HARPER                       CO     90012957070
54593849372B88   GALILEA       MENDEZ GARCIA                CO     33016508493
54593A75991895   TAMECIA       MILLER                       OK     90014740759
5459422622B27B   JEROME        MCCRAY                       DC     90014142262
5459453A291587   JENNIFER      SOSA                         TX     75060625302
5459485A961971   ROCIO         LOPEZ                        CA     90014318509
545949A3784373   MARA          ACEVEDO                      SC     90013859037
5459581A751348   CHRISTOPHER   DERKINS                      OH     90014138107
54595A43391895   NIKKI         HOGAN                        OK     90009900433
54596AA935B531   MARIA         YANEZ                        NM     90003060093
5459773464B579   NICOLE        PHILLIPS                     OK     90011107346
54598168776B75   RYAN          JANSEN                       CA     46086171687
54598642372B36   JORGE LUIS    SOTO                         CO     90013016423
54598847A72B38   CRUZ          BURCIAGA                     CO     90014668470
5459916295B399   SHELLEY       HORINE                       OR     90014381629
5459932465715B   JUAN          ORTIZ                        VA     90014463246
5459949415B387   JACOB         WITHAM                       OR     90015284941
54599588572B43   D             KING                         CO     90012515885
545995A6676B75   SAMANTHA      HUGHES                       CA     90014135066
5459971A472B88   LIZBETH       CARDENAS                     CO     33072857104
5459B471793724   LOGAN         WALKER                       OH     90013124717
5459B486191587   DANIEL        GUERRA                       TX     75064284861
5459B817893754   JANEY         STANTON                      OH     90012038178
5459B848672B67   ARTHUR        TREJO                        CO     33015938486
545B129A15132B   ANDRE         SMITH                        OH     90011452901
545B1399951348   CHRIS         THACKER                      OH     90013813999
545B21A775B399   JOSH          FLEENOR                      OR     90012131077
545B227494B588   JEISY         MARTINEZ                     OK     90010852749
545B2281991587   LISA          FACIO                        TX     90011052819
545B257A891895   RACHEAL       BLUE                         OK     90014855708
545B25A5724B7B   TAURUS        STRONG                       DC     81039945057
545B2717543569   JASON         HOFMEISTER                   UT     90001527175
545B2853384373   KERRY         WASHINGTON                   SC     90011908533
545B31A4771935   LUTHER        RMOORE                       CO     90001101047
545B3458155959   MARGARITA     CISNEROS                     CA     90010714581
545B3518161971   JAMES         PABLO                        CA     90009035181
545B355577B46B   GILERIK       LOPEZ                        NC     90015495557
545B37A712B27B   ANTHONY       GREEN SR.                    DC     81018037071
545B3A8A15B531   JUANITA       MARTINEZ                     NM     35080160801
545B45A5533682   THERESA       MACKEY                       NC     90013345055
545B4752351348   HEATHER       SMITH                        OH     90014877523
545B4772691587   MAYRA         OLIVAS                       TX     90014097726
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 32 of 2350


545B512344B251   ANTONIO        TORRES                      NE     90007381234
545B5323755959   MARIO          SANCHEZ                     CA     90015293237
545B536412B27B   REGINA         WILLIAMS                    DC     90014913641
545B569A533699   CARLYLE        JIMMERSON                   NC     90014486905
545B59A8972B67   ELISEO         RODRIGUEZ                   CO     33000859089
545B5A4172B27B   JOSE           PRUDENCIO                   VA     90014940417
545B5A74991587   DIANA          VALENCIA                    TX     90007160749
545B5AAA961973   ARITAIRY       RODRIGUEZ                   CA     90013650009
545B6273A72B43   ANALEE         CAMPUZANO                   CO     33065212730
545B6523793724   BILLY          LEHMKUHLE                   OH     90014705237
545B725515758B   MANUEL         PEREZ                       NM     90009082551
545B7283A33699   KENNETH        CURLEY                      NC     90006162830
545B732A772B27   JUANA          CONEJO                      CO     90012673207
545B7415557157   CRUZ           GONZALEZ                    VA     90001784155
545B764265715B   SONIA          OTANEZ                      VA     90011946426
545B7746A38522   RANDY          CARTER                      UT     90013087460
545B7898A84357   DARIAN         PINKNEY                     SC     90008368980
545B7972691895   AMBER          HARPER                      OK     21088229726
545B79A3972B36   RAYMOND        ORTIZ                       CO     33021459039
545B8135672B49   HOLLY          SHAFER                      CO     90009591356
545B8343255959   RAMON          RUIZ                        CA     90008753432
545B855435758B   VASQUEZ        JESSICA                     NM     90004655543
545B958297B649   DERRICK        COBB                        GA     90015045829
545B9629A61975   AIOTEST1       DONOTTOUCH                  CA     90015116290
545B9669776B75   GABRIELA       MARQUEZ                     CA     90014536697
545B9853691895   PHILLIP        WALLACE                     OK     90004078536
545BBA27193724   EDDE           STIDHAM                     OH     90012180271
54611195772B36   MIGUEL         MARTINEZ                    CO     33096451957
54611913272B88   MARGARET       RODRIGUEZ                   CO     33040559132
5461228677B46B   ANGEL          ROJAS                       NC     90014922867
5461278455B387   DURGAM         AL TOFIYLY                  OR     90013067845
54613261A72B49   MINDY          SHUFORD                     CO     33090512610
54614597172B43   JESSICAMARIE   AYRES                       CO     90014855971
54615224576B75   SEBASTIAN      STYPULKOWSKI                CA     46091372245
5461558274B588   ANGELA         PRINCE                      OK     21508485827
5461567267B46B   PILL           BROWN                       NC     90013306726
54615991498B2B   ANTHONY        LAVEAU                      NC     90011639914
54615A8275715B   ORLANDO        RAMIREZ SORTO               VA     90000170827
5461621615B531   DANIEL         BOYER                       NM     35027712161
54617729476B75   JOSE           BALDERAS                    CA     90010137294
5461776A82B244   TARIQ          KHAN                        VA     90009837608
54617916472B27   JEREMY         LAWHON                      CO     33076939164
546181A2793724   ALEX           BURNEY                      OH     64532251027
54619491424B7B   CONSTANCE      WILDER                      DC     90008594914
546199A3172B49   JASON          DEDIS                       CO     33024829031
546199A415758B   ENRIQUE        TELLES                      NM     90009409041
5461B2A6A72B78   ADRINA M       SCHWEBACH                   CO     39084962060
5461B44185B543   BENA           PATEL                       NM     90005274418
5461B53645715B   EDWIN          GUERRERO                    VA     90013075364
5461B566584373   CEBREZREH      WILLIAMS                    SC     90013405665
5462118A576B44   SIGIFREDO      VARGAS                      CA     90002801805
54621552A76B75   MARIA          MUNO                        CA     90007945520
5462213775715B   SANTOS         MARTINEZ                    VA     81072101377
5462237942B851   AMBER          SMITH                       ID     90014653794
5462258915715B   VIVIDA         MONTAHAN                    VA     90015205891
546228AA491895   DESTINY        TRIPP                       OK     90011018004
5462291315134B   JENNIFER       SPICER                      OH     90007669131
54622A44493724   MARSHA         FRANCIS                     OH     90011660444
54623334A97129   ROLANDE        MENGUE                      OR     90007873340
54623492272B43   HOPE           LUCERO                      CO     33089404922
5462375272B851   AMANDA         THOMPSON                    ID     90005917527
546238A9972B38   ROBERT         ESTES                       CO     33019368099
54623A41872B43   CAMIL0         GUERRA                      CO     33011590418
54624194572B38   TANYA          REYNOLDS                    CO     90012991945
5462427AA72B36   ALVARO         MENA                        CO     90008452700
54624335472B27   GERARDO        GONZALEZ                    CO     90005693354
5462452A131428   PATRICE        DICKERSON                   MO     90005425201
546248A525758B   EVA            VALENZUELA                  NM     90014638052
5462494783B389   EVELIA         SOLIS                       CO     90008729478
54624982272B49   ELVIN          GUTIERREZ                   CO     90005899822
54624A78A7B46B   BLONDINA       REID                        NC     11003150780
54626382872B43   DALE           HAYES                       CO     90014103828
54626466872B43   ALEXANDRA      CARRILLO                    CO     90010314668
54626557672B38   EBONY          LOGAN                       CO     90014825576
5462671825715B   JHONNIER       NARANJO                     VA     81008677182
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 33 of 2350


54628413672B43   PERALTA       ALEJANDRA                    CO     33006324136
5462841A472B27   ALICIA        HASKELL                      CO     90009234104
5462866385715B   SAMUEL        JOHNSON                      VA     90013326638
5462912425B387   KATHLEEN      WAGNER                       OR     90013971242
54629387172B38   ARMIN         JAVID                        CO     33064853871
5462B175272B38   JON           KORNOCK                      CO     90013881752
54631A59893724   JAIME         BARON                        OH     90011660598
54632368372B27   LUIS          ALVIZO                       CO     90013733683
546327A4772B38   PATRICIA      TERRAZAS                     CO     33022107047
546333A425758B   YESENIA       SOLIS                        NM     90015183042
5463411AA61975   LINDA         JACOBS LEVARDO               CA     90001931100
5463461535B283   CYNDY         CLEMONS                      KY     68024006153
5463494145B393   BYRON         WEISS                        OR     90011679414
5463515175B387   YAW           HAN                          OR     90004361517
54635634A93724   LAURA         GREGORY                      OH     90011066340
5463579455B393   AARON         AMOS                         OR     90005277945
5463629494B588   JUAN          GONZALEZ                     OK     90015142949
54636898772B43   CHAD          HANES                        CO     33079468987
5463764115B387   HIGINIO       LOPEZ                        OR     90010216411
54637A67584373   MEGAN         STENDER                      SC     90015200675
5463831A65B531   VANESSA       JACKSON                      NM     90003433106
5463847845B223   ROBERT        KLIEN                        KY     68088654784
5463873A833699   RONALD        MITCHELL                     NC     12094467308
5463874A485928   NEDA          JARRELL                      KY     67038057404
54639836972B36   KORLITHA      WHITESIDE                    CO     90011658369
5463B84284B588   JAMES         HYMON                        OK     90012828428
54641567872B38   ANA           NUNES                        CO     90011035678
5464235335B531   ARACELI       MALDONADO                    NM     35043163533
5464285A72B896   LUIS          SANDOVAL                     ID     90009588507
54642A69885928   ROBERT        CLINE                        KY     90007940698
54643A13125137   DEBBIE        MATHIS                       AL     90013680131
54643AA1361971   ANDREW        ALDANA                       CA     90013520013
54644488772B27   JESUS         VILLA SANCHEZ                CO     33092084887
546447A885B531   JAMES         MORALES                      NM     35040287088
546448A2131428   ORIEL A       WILLIAMS                     MO     27515518021
54645511A4B588   JEREMY        ORCUTT                       OK     90011405110
5464624A95B399   VICTORIA      MCCOLLISTER                  OR     90004702409
54646839972B77   MARIA         PORTILLO                     CO     90003268399
5464767315B531   WILLIAM       ORTIZ                        NM     35091876731
5464851A75715B   FABIAN        LEDESMA                      VA     90005995107
5464879286B257   ASHTEN        PETERS                       AZ     90013927928
5464886A161973   DELBERT       ADAMS                        CA     90002488601
5464924582B27B   TERRIE        HICKERSON                    DC     90015092458
5464941332B27B   TAMETRIS      MORRIS                       DC     90015074133
54649542172B38   NADIENKA      FERMIN                       CO     90010545421
5464B151191895   STACY         COZART                       OK     21069571511
5464B162491559   RANDALL       GREENE                       TX     90013651624
5464B231733699   JOSE          ORTIZ                        NC     90014072317
5464B271776B75   JEANNETTE     GUTIERREZ                    CA     46061332717
5464B863972B27   RYAN          BACHNER                      CO     90013008639
5464B919872B77   NICOLE        GOMEZ                        CO     33062969198
5464B96745B387   RODOLFO       GALINDO SANTOS               OR     90002139674
54651435876B75   MIGUEL        MENDEZ                       CA     46023734358
5465221855B543   MANUEL        ZAVALA                       NM     35005492185
54653737372B38   CARMEN        RIVERA                       CO     90013277373
54654726472B88   ROSA          SALVADOR                     CO     33009907264
5465479132B27B   ANTIONE       ROUSE                        DC     90012957913
54654A2495B399   JUDITH        WALKER                       OR     90006690249
54654A54961973   BELEN         VASQUEZ                      CA     90013660549
5465551A291925   MARIA         MARTINEZ                     NC     90014435102
5465634922B27B   WILLIE        JENKINS                      DC     90012443492
546564A4291895   GAYLE         DEVEREAUX                    OK     90010634042
54656931572B38   VALENTINE     KIMBALIA                     CO     90011249315
54656961672B27   JOSEPH        SOLANO                       CO     90003669616
5465712925B387   JUAN          HERNANDEZ                    OR     90013971292
5465741367B434   ANNE          MOTARD                       NC     11001324136
5465745A176B75   JUAN          RIZO                         CA     90005154501
54657A22361975   MELISSA       RUBIO                        CA     90010270223
54657A27861971   WHITE         LARRY                        CA     46062600278
5465811187B46B   CHRISTENE     ELAMS                        NC     11080741118
5465818475B399   KARA          KIRKPATRICK                  OR     90014351847
54658739972B67   SANTA         LEON                         CO     33035667399
54658A15472B38   JAQUELINE     LOPEZ                        CO     90013000154
54658A24A72B49   PATRICIA      RAMIREZ                      CO     33061660240
5465958265B387   JESUS         EK HAU                       OR     90015165826
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 34 of 2350


54659623A5B531   LIZZIE        MARGUEZ                      NM     90014846230
54659844A72B77   DENNIS        TRASK                        CO     90003268440
5465B27925B531   CASSANDRA     LILLY                        NM     90015592792
5465B479461975   GREG          RUFFIN                       CA     46037014794
5465B639472B43   DAISY         ALVARADO                     CO     90014876394
5465BA45255959   DIANE         ALMANZAR                     CA     48066710452
5465BA8754B23B   JOSHUA        HORTON                       NE     90010930875
5466141924B588   ELIZABETH     RAMIREZ-FRAIRE               OK     90010954192
54661534776B71   CAROLINA      TURRUBIATES                  CA     90003925347
54661648A61973   TYRONE        LEWIS                        CA     90011236480
54661A98972B43   JENNIFER      GONZALEZ                     CO     90010760989
54662386398B2B   OSCAR         SANTOS                       NC     90007073863
5466299A361971   ANTONIO       NOLBERTO                     CA     90014899903
54662A7195B387   DAMON         HUGHES                       OR     44538660719
5466321175B387   DANIEL        LUKE                         OR     90011972117
5466398944B588   CAROL         FLEZIER                      OK     90012719894
54663A31851348   MARY          SWEET                        OH     66047690318
5466445384B588   LILIA         INGRAM                       OK     90014274538
54664755324B7B   DENNIS        DELGADILLO                   VA     81043647553
5466515275715B   SHIHAB        NOUH                         VA     90010721527
546652A5576B75   ROSELIA       MENDEZ                       CA     90009232055
546653A9391895   SAMAY         YVONGSA                      OK     90013103093
5466564975B531   SASHA         MEADOWS                      NM     90015086497
54666214972B49   MIGUEL        CARBAJAL                     CO     90012832149
54666A17772B38   JOSE LUIS     HIGUERA                      CO     90013000177
54667181872B67   MARY          VARGAS                       CO     33052701818
54667A21161971   SHANEL        BERTUSSI                     CA     90013510211
54667A2174B588   KIMBERLY      LYNCH                        OK     90013230217
5466811855B531   ARMANDO       MARIN                        NM     35012811185
5466868125758B   EUNICE        ACOSTA                       NM     90009426812
54668983A31428   PATRICIA      GRELLE                       MO     27515529830
5466929785B387   AHMED         MOHAMED                      OR     90009442978
54669739972B67   SANTA         LEON                         CO     33035667399
5466978955758B   LUIS          YANEZ                        NM     35598487895
5466984284B588   JAMES         HYMON                        OK     90012828428
5466999144B936   JUDY          WASHINGTON                   TX     90012629914
5466B2AA761973   SARVIA        ESQUER                       CA     90014182007
5466B31745758B   OLIVIA        RAINBOLT                     NM     90014933174
5466B429285928   SCOTT         SMITH                        KY     90014524292
5466B632461921   ABRAHAM       LOZANO                       CA     90008206324
5466BA65591895   EVANGELINA    ESPARZA                      OK     90013950655
5467187192B27B   NELSON        CHICA                        DC     81029228719
546721A6772B43   TRAVIS        DUNCAN                       CO     90011291067
54672A86672B77   VIRIDANA      QUINTERO                     CO     33043540866
5467333587B46B   AIDE          MENDOZA                      NC     90014823358
54673A1975B387   ROSALINA      PAT CENTINA                  OR     90009050197
54674398A5B387   RODNEY        SANDERS                      OR     90014813980
54674858A72B43   STEPHANIE     CHASE                        CO     90008738580
54674AA5633696   TAKERRIA      SPRINGFEILD                  NC     90014650056
5467521464B521   MICHELLE      GATES                        OK     21558132146
5467533A791895   LATRENA       CONWAY                       OK     21036343307
54675443172B27   CRISTINA      RAMIRES                      CO     90015314431
546765A1A72B43   SIDRONIO      BARRERA                      CO     33079565010
54677233772B27   ADRIANA       MORENO                       CO     90001632337
54677552A72B43   JACKIE        KETELSEN                     CO     33029215520
5467764194B588   KRISHAWN      KEMP                         OK     90006126419
54678263872B36   MICHAEL       BARNICK                      CO     33019642638
5467831752B27B   FRANCISCO     GONZALES                     DC     90011873175
5467856295758B   MARION        CARRILLO                     NM     90014875629
5467861385B531   YESSICA       MOLINA                       NM     90014456138
5467887543B399   GILBERT       PERNANDEZ                    CO     90002768754
5467921A593724   MARTIN        PULLEY                       OH     90011662105
546795A2284373   SHAREEN       BENNETT                      SC     90013085022
54679872572B49   ALVARO        MORALES                      CO     33003968725
5467B428572B49   FRANCISCO     TORRES                       CO     90007764285
5467B5A8991587   LISA          LOPEZ                        TX     90006075089
5467B77985B399   YVETTE        JANKANS                      OR     90011787798
5467B814A51348   RENEE         CHILES                       OH     90014908140
5467B9A825758B   LOUISA        ARAGON                       NM     90013259082
54681213472B49   EDWARD        BROWN                        CO     90012042134
5468144A984373   JOSEPH        MARLOWE JR                   SC     90012474409
5468198A572B43   SISNNEROS     EMILIO                       CO     90010239805
54683556672B36   OSCAR         LOPEZ                        CO     33071525566
546835A1555959   FRANCISCO     DIAZ                         CA     48054995015
54683A2A947928   ELIZABETH     MARTINEZ                     AR     90005800209
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 35 of 2350


54684A15361975   MARIA TERESA   ROSALES                     CA     90013530153
5468518735B387   STARLA         STARN                       OR     90012781873
5468539A751348   BETTY          STALLWORTH                  OH     90014013907
54685826472B27   ADALID         AGUILAR                     CO     90013358264
546862A3172B49   JEFFERY        GREGORY 2ND                 CO     33077472031
5468632375715B   MARTIN         COTO-MENDOZA                VA     81018033237
54686559A72B88   FRANCISCO      DOMINGUEZ                   CO     33072865590
5468681A772B67   SANDRA         SANCHEZ- GUZMAN             CO     33035668107
54686AA3A33696   JAVIER         CUANAS                      NC     90015490030
5468725275B531   AARON          MERRIFIELD                  NM     35076912527
5468736A94B59B   TYCHA          PULLEN                      OK     90009533609
5468811253B343   STEPHEN        CHASE                       CO     90000151125
5468992415B531   SUSIE          MAEZ                        NM     35015359241
5468994725B531   JOANNA         PHILLIPS                    NM     35062909472
54689A4945715B   NATASHA        MUSKELLY                    VA     90013430494
5468BA34872B43   PATRICK        CAMERON                     CO     90011910348
54691791972B43   BRIGITTE       SALDANA                     CO     33079257919
54691828872B36   WINTER         HARL                        CO     90002428288
5469191457B46B   COURNEY        HILL                        NC     90013009145
54691A74876B52   ALEXANDRA      MERRELL                     CA     90013420748
54692716472B38   JESUS          VASQUEZ                     CO     90015237164
5469275875B387   PAYGO          IVR ACTIVATION              OR     90011287587
54692A94872B27   NICHOLE        HERERRA                     CO     90011110948
5469313A161971   EHSAN          AL SABAHI                   CA     46045311301
54693396672B38   IVAN           LANDEROS                    CO     90005553966
54693A84251348   HELANA         CABLE                       OH     90006590842
54694482172B36   JOSE           ROLDAN                      NM     33057444821
5469533797B46B   JOHNNY         NORWOOD                     NC     90014903379
546957A565B531   PABLO          LOPEZ                       NM     35018327056
5469584737B46B   KALLARITI      SIU                         NC     90012888473
54695A82272B38   SHERI          SMITH                       CO     33090900822
54696163672B77   DESTINY        STONE                       CO     90006001636
546966A665B393   PAMELA         WILSHIRE                    OR     90011096066
54696A8A791357   IVAN           SOLIS                       KS     90008300807
5469712135B387   THALIA         SILVA                       OR     90012411213
54697232A72B36   JENNIFER       CRANDALL-LERMA              CO     90014412320
5469779535B531   JOHN           ZUNI                        NM     90013837953
5469782515B283   WILMA          MADERO                      KY     68023358251
546979A6433696   THOMAS         LEWIS                       NC     90013539064
54698172472B27   SAVANNA        GUERRA                      CO     33014681724
546985A8393754   VIRGINA        COX                         OH     90013165083
546988AA691587   ARANTXA        ZARATE                      TX     90013138006
54698A2145B387   CYNTHIA        ESPINOZA                    OR     44505350214
546996A8372B36   JUANA          RODRIGUEZ                   CO     90009776083
5469B225291895   URIEL          RAMIREZ                     OK     90004812252
5469B236384373   LETICIA        NAVARRO-HERNANDEZ           SC     90014992363
5469B59454B588   LORI           SKATES                      OK     90013525945
5469B879672B43   DELFINO        ABARCA                      CO     90005768796
5469BA14376B81   TERASA         ARROYO                      CA     90004430143
5469BA39272B38   SANDRA         MEDRANO                     CO     33009700392
546B13A985B531   GABRIELLIA     HERRERA                     NM     90002683098
546B1968172B67   OSCAR          CASTILLO                    CO     33068829681
546B1A27376B75   JAMES          BALDWIN                     CA     90006040273
546B1A6A25B399   MEGAN          MONTERO                     OR     44522190602
546B266954B588   SIERRA         CARRANZA                    OK     90011026695
546B2A53A51348   EARL           REIFF                       OH     90012390530
546B351275B531   DONALD         SALAZAR                     NM     90015165127
546B382842B27B   MELINDA        LYNCH                       DC     81057858284
546B3941372B49   MIGUEL         MORENO                      CO     90008179413
546B415924B521   NICOLE         LACEY                       OK     90007351592
546B43A8651348   KRISTINA       KOEBBE                      OH     90014353086
546B4569772B43   TERESA         WHITE                       CO     90014155697
546B5447161973   YESENIA        MARTINEZ                    CA     90011744471
546B572355715B   ISRAEL         GONZALES                    VA     90002307235
546B584972B851   SRNA           EMIR                        ID     42027248497
546B5A55A5B399   RUBIA          LOPEZ                       OR     90013950550
546B6213472B49   EDWARD         BROWN                       CO     90012042134
546B6263877522   IVAN           FOX                         NV     90008852638
546B631635B531   NELSON         SOTELO                      NM     90014833163
546B6321A84852   DAVID          BROWN                       NJ     90014413210
546B6559493724   MOSES          SANFORD III                 OH     64533355594
546B7161684357   MR             MATHIS                      SC     90009571616
546B7262772B36   DAVID          TORRES                      CO     90006332627
546B736292B27B   ABNER          EDWARDS                     DC     90012303629
546B7487661971   JORGE          NIEVES                      CA     46043734876
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 36 of 2350


546B765244B588   JUAN           NAVARRO                     OK     21557216524
546B776927B43B   DENZEL         TERRILL                     NC     90011327692
546B7A87472B67   MICHELLE       REYES                       CO     33035660874
546B8266972B38   LUIS           LEON                        CO     90000312669
546B829A62B27B   RENIKA         DORSEY                      DC     81014552906
546B832965B399   ALAWNZO        WATTS                       OR     90000623296
546B843665715B   KING           PARTHENIA                   VA     90002724366
546B8893861971   STANLEY        MCCUE                       CA     90012988938
546B8A8684B588   RACHELLE       GRAY                        OK     90013880868
546B942275758B   GILA           ARZOLA                      NM     90013304227
546B96A2191587   MARIA          ROJAS                       TX     90013476021
546B9A8947B461   LINDSEY        CORDELL                     NC     90013480894
546BB497A93724   CHRISTY        SAMS                        OH     90013954970
54711A3A45715B   LUTHER         DJAMEN                      VA     90005800304
5471253985B543   TERESA         BROWN                       NM     90004015398
547125A6661971   MELISSA        BUREIAGA                    CA     46089235066
5471436585715B   LORENA         CHAVEZ                      VA     81007843658
5471562A961975   JOSE           VALLES                      CA     90013586209
54716194572B43   SARA           MOLINA                      CO     90010551945
5471656A972B36   CHERLONDA      PORTEE                      CO     33043425609
5471666A661971   DONTE          BETTON                      CA     90010946606
5471683A861975   LUCIO          ROJAS                       CA     46070908308
54716A14472B38   KAREN          LEWIS                       CO     90013000144
54716A8A15B543   NEMECIO        VASQUEZ                     NM     35061290801
54717568572B27   LIZBETH        PALACIOSORTIZ               CO     90013535685
54717A2495B399   VICTORIA       MOYER                       OR     90011930249
5471857135758B   DESIRAE        VALLADARES                  NM     35571805713
547186A515B387   CECILY         MCROBBBIE                   OR     44583716051
5471872A776B75   GLADYS         CORDERO                     CA     46032717207
54718743A72B49   DAISHANAE      MACKEY                      CO     33062347430
54718931572B77   ALICIA         RODRIGUEZ                   CO     33052109315
5471B64A872B49   KAREN          AHRENDT                     CO     90002876408
5471B671772B38   OLIVIA         AVALOS                      CO     33067016717
5471B76735758B   DAWN           MIRANDA                     NM     35510267673
5471B978543569   LAVE           WILLIS                      UT     90003199785
5472147892B851   ROBERTO        JUAREZ                      ID     42076104789
54721597172B43   JESSICAMARIE   AYRES                       CO     90014855971
54721A1582B27B   GERONE         BROWN                       DC     90008740158
54722127572B27   TONY           BIVENS                      CO     33041661275
54722671157B81   MONGAL         GAGMER                      PA     90014106711
547228A522B27B   JOE            FLOOD                       DC     81061778052
54722976172B49   DIAMOND        GREEN                       CO     90002499761
5472311567B46B   ANDREA         AREVELO                     NC     11087411156
54723335A61921   JOSE           AVILA                       CA     90011813350
54723A49461548   DOMINIQUE      CASARES                     KY     90013600494
5472436A161973   CRISTINA       PEREZ                       CA     90005393601
54724384172B38   KIMBERLIE      RUSSELL                     CO     90013503841
5472489715758B   HAYES          ANGELA                      NM     90009368971
54724A28A85928   HOLLIE         BARGER                      KY     90010330280
54724A4635715B   RENE           LARIOS VENTURA              VA     81006720463
54725137672B67   CYNTHIA        GARCIA                      CO     33045971376
5472513A172B88   ANDRESS        ESCALNTE                    CO     33099631301
54725159A93724   RACHEL         STRADER                     OH     64514301590
5472519925B35B   RAMIRO         GARCIA-LOPEZ                OR     44554801992
5472523945B399   DONALD         ANDERSON                    OR     90009862394
547269A185715B   JOSE           GALEANO                     VA     81080999018
54727372A72B49   LUCIANO        CASTRO                      CO     90012913720
547291A6991587   MARIA ELENA    SOSA                        TX     90015191069
5472958473B399   MATTHEW        MCGRAW                      CO     90013995847
5472976315134B   LATRINA        WRIGHT                      GA     90001257631
5472B265A91587   KARLA          GUERRERO                    TX     90014602650
5472B46665B399   JAMESON        PALMORE                     OR     90010214666
5472B636361973   EDWIN          BOJORQUEZ                   CA     90007646363
5472BA3964B588   MARUA          CONTRERAS                   OK     90010850396
5472BA54276B75   KIANA          BRABANT                     CA     90013080542
5473122945132B   JACINDA        ASHER                       OH     90010872294
54731A9635B399   DELFINO        HERNANDEZ-HERNANDEZ         OR     90013950963
54731AA852B27B   MICHAEL        MASON                       DC     90010830085
54733393A63648   KRISTEN        GARNER                      MO     90001823930
5473389A584373   JEFFREY        BERNS                       SC     90013928905
54733A28261975   MARCOS         OROZCO                      CA     90010270282
54733A39861971   MUNOZ          COSETTE                     CA     90001020398
54734453872B36   RUDY           DAMEK                       CO     33009144538
547347A9924B7B   HAMID          NYAMEKYE                    VA     90011937099
5473485452B27B   JOSE           MERSEDES VILLATORO          DC     90012308545
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 37 of 2350


547359A6985928   WEATHERS        MELODIE                    KY     90010609069
54735A11655959   PHILLIP         FLORES                     CA     90013830116
5473629885B387   CARRIE          BUSH                       OR     90007782988
54736317872B88   TERRY           RESARE                     CO     33073703178
547364A3161939   ANNABELL        WARDEN                     CA     90010094031
547364A5285928   BREAUNA         GLASS                      KY     90014224052
5473682962B27B   MONIQUE         TODD                       DC     81078958296
54737138772B36   DANNY           LUEVANO                    CO     90011191387
5473769442B27B   IOLA            WILKINS                    DC     90007576944
54737A58761973   MARCELA         ACEVEDO                    CA     90004730587
54738166172B43   ROBIN           SKELTON                    CO     90015211661
5473825597B46B   TANYA           HOLMES                     NC     90004302559
54738318772B36   DAVE            ROWLAND                    CO     33048503187
5473864294B588   KAYLA           ANDERSON                   OK     90014546429
5473926615758B   MIRANDA         LEONEL                     NM     90011472661
547399A3293724   MARKIA          ANDERSON                   OH     90011669032
5473B588684373   CYNTHIA         GREENE                     SC     90010845886
547428A4A72B49   FRANKIE         GOMEZ                      CO     90013108040
5474359A461971   WATHEQ          SHAWKA                     CA     46083645904
547435AA55758B   RITO            VEGA                       TX     90010825005
5474367A191895   DANIEL          ROBINSON                   OK     90014146701
54743AA9261973   BRANDON         GUEST                      CA     90013100092
54744229372B27   YVETTE          WILLIAM                    CO     33062472293
5474435A15B399   RICHARD         LARACUENTE                 OR     90012823501
547444A9172B27   FREDERICK       VENETTE II                 CO     90014824091
5474541445B387   TESFU           YOWHANES                   OR     90009774144
5474567935B393   ALEXANDER       SORIA                      OR     90001526793
547457A344B588   SHYLA           WILKINS                    OK     90008767034
547458AA893724   SUSAN           HEGGAN                     OH     64566258008
5474592137B46B   JOHN F          KNIGHT                     NC     90010149213
5474612382B851   OFELIA          RODRIGUEZ-TOVAR            ID     90012431238
5474614AA84373   BARBARA         GEHL                       SC     90006731400
547462AA455959   BLANCA          MANZO                      CA     90013322004
54746331A72B27   FRANCHESKA      ALMADA                     CO     33090303310
547464A5161973   NOHEMI          KATZENSTEIN                CA     90005254051
54746537476B75   ASHLEY          GOODWIN                    CA     90008585374
5474798342B851   JAMES           BAILEY                     ID     90003919834
54747993272B36   CELENA          GALLEGOS                   CO     90010779932
5474876654B588   ELEZOR          VAZQUEZ                    OK     90001487665
54748779A91587   TOMMY           HARRIS III                 TX     90009707790
54748A33A72B43   JOHN            REEFE                      CO     90010150330
54748A4285B387   KELLY           WHITE                      OR     90015270428
5474B257A5B543   SHIRLEY         QUINTANA                   NM     90003452570
5474B79A32B27B   JOSE            REYES                      DC     90013897903
5474B866672B27   MICHELE RENAE   KENNEDY                    CO     90013848666
5475144154B588   DANIS ALONSO    FLORES                     OK     90015184415
5475165367B46B   ANTHONY         SMALL                      NC     11001506536
54751A46184373   LON             BERGEN                     SC     90014580461
5475218985B387   KAREN           BLACKIE                    OR     44507371898
54753597972B67   LAURA           ESPARAZA-NAJERA            CO     33035675979
5475382774B588   LYDIA           MARZOUK                    OK     21516998277
547541A2361975   ANA             GOMEZ                      CA     90011411023
54754355172B38   JIM             HENDRYX                    CO     33066103551
5475441765758B   TARA            OLIVER                     NM     35553514176
54755157472B67   ASHELY          VALDEZ                     CO     90009401574
5475569845B399   CARLOS          GARCIA                     OR     90007866984
54755754872B27   AMIR            JAFARI                     CO     33007037548
5475626225B399   AMY             MARTIN                     OR     90006832622
547568A8833699   ROMERO          RAMOS                      NC     90013778088
54757644672B49   MARIO IVAN      SOTO                       CO     90013136446
5475793A491587   JOSE            GOMEZ                      TX     90010359304
54758537672B49   KEVIN           SYKES                      CO     90008015376
5475928A655959   JERONIMA        YANEZ                      CA     48064052806
547593A367B46B   RONALD          BARNETT                    NC     90014853036
54759642572B43   MARIA           ESTRELLA                   CO     90006166425
5475999AA72B67   ASHELEY         NANCE                      CO     33081979900
5475B754961975   CARLOS          CARLOS                     CA     90006427549
5475B76934B588   SHANNON         WARLEDO                    OK     21511017693
5475B861491895   APRIL           WYTCH                      OK     90012248614
5475B872443522   RICHARD         SZERSZEN                   UT     90000878724
5475B878972B27   TANNER          DELAGE                     CO     90009928789
5475BA9322B241   GEORGEANNA      ORNDORFF                   DC     90001470932
5476163A651348   THOMAS          PERRY                      OH     90013226306
54761A49761973   GRACIELA        VALLEJO                    CA     90005610497
54761A65572B88   VALENTIN        DELGADO                    CO     90003250655
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 38 of 2350


54761A77176B44   JESUS         LOZANO                       CA     90001710771
5476237325758B   ALEJANDRO     YEVERINO                     NM     90011153732
5476268A172B42   LORENA        MENDEZ                       CO     90012976801
54763128A72B77   MAKAYLA       CAUSER                       CO     90006781280
5476396655B393   JUSTINE       THIBEAU                      OR     44510999665
54764291372B49   CHRISTOPHER   LEWIS                        CO     90013222913
5476513145B531   MARIA         TENORIO                      NM     90014301314
5476552A761973   CARMEN        TAPIA                        CA     90014815207
54765589272B27   ADRIANA       TERRAZAS                     CO     33051755892
54765795A91895   KELLY         WILLIAMS                     OK     21025437950
5476612344B251   ANTONIO       TORRES                       NE     90007381234
54766387A2B27B   ARGELIO       FERRUFINO                    DC     90001523870
54766651872B27   QUENTIN       NEILL                        CO     90013826518
547667A175B387   JOSEPH        HARRISON                     OR     44556587017
54767424472B67   ELIZABETH     HALL                         CO     90005144244
54767441572B36   SHANNON       MARTINEZ                     CO     33058604415
5476752A44B588   JESSIE        ARELLANO                     OK     90007505204
5476824915758B   FRANCES       PADILLA                      NM     90015282491
547684A3485928   HOLLY         WORST                        KY     90014724034
54769269472B49   RICKY         PENNINGTON                   CO     90012332694
5476936445B393   JOSHUA        KREGER                       OR     90011503644
54769714172B49   LEROY         ROBINSON                     CO     90013517141
54769A42472B36   CHRISTOPHER   BENNING                      CO     90014380424
5476B4A2585928   NOELLE        BARNETT                      KY     90013374025
5476B534193724   ANGELA        PEARGAN                      OH     64512705341
5476B948661975   ANTONIO       ORTA                         CA     90014949486
547712A842B27B   BRITTANY      SCOTT                        DC     90014922084
5477161874B588   PATRICIA      ARMSTRONG                    OK     90000476187
54771782798B2B   MICHELLE      COLLINS                      SC     11021297827
547726A9751348   NIKKI         CARMAN                       OH     90012466097
54772A94761973   WESLEY        HARRIS                       CA     90001760947
54773176776B75   JOE           GAERLAN                      CA     90012741767
5477433375715B   MIRIAM        LOPEZ                        VA     90001883337
5477437987B46B   CHARIST       BAKER                        NC     90008453798
5477447385758B   AIMEE         ESCANDERO                    NM     90011904738
5477475645B531   VIOLA         SEGURA                       NM     90015017564
5477495777B46B   SHELESA       HUBBARD                      NC     90014559577
5477538A15B399   JESSICA       OAKLEY                       OR     44573373801
54775551372B49   LEROY         GARCIA                       CO     33085655513
54775815176B75   JOE LUIS      MERCADO                      CA     90013868151
54775921672B27   KELLI         HARPER                       CO     33057769216
54775A28172B38   DONAVAN       HAVILAND                     CO     90010990281
5477615A972B27   CHRIS         CORTEZ                       CO     33018591509
54776595272B43   LUIS          GIMENEZ                      CO     90006695952
547769A624B521   ALICIA        ADAMS                        OK     90005679062
547771A1572B49   MARGARET      RICE                         CO     90014691015
5477728155B543   ANTOINETTE    MORA                         NM     90012702815
54777417A7B46B   MARY          FEELY                        NC     11016764170
54777465127B3B   CHYNA         JOHNSON                      KY     90006974651
54777822376B75   MARLENE       GARCIA                       CA     90012798223
54778118476B75   SALVADOR      PIUDRA                       CA     90012281184
54778317672B49   ABRAHAM       PEÑA                         CO     33014393176
54778996A5B531   JOSE          LOZANO                       NM     90014249960
5477923967B46B   ARTURO        PORTILLO                     NC     90009992396
5477932475B531   ROXANNE       RIOS                         NM     90002443247
5477941714B588   STEPHANIE     DE LEON                      OK     90010244171
5477954775758B   MARIA         TELLEZ                       NM     35588985477
5477971A398B2B   PATRICIA      FOX                          NC     90001687103
5477B59475B543   ROBERT        SANCHEZ                      NM     90004175947
5477B8A3272B27   PATRICIA      ASIMUS                       CO     90005568032
54781244972B36   ISMAEL        GUTIERREZ                    CO     33088132449
5478128A385928   CHAD          KIRK                         KY     90015022803
5478195275758B   BAUTISTA      PATSY                        NM     90013109527
54781A89572B38   DELORES       LUCERO                       CO     90010300895
54782236572B38   LAURA         GOMEZ                        CO     90008932365
5478259A95B387   ANTHONY       VARRA                        OR     44555715909
547831A9372B77   JENNIFER      ZIMMER                       CO     33030831093
5478325615B543   DAVID         SUMMERVILLE                  NM     35015602561
5478342332B27B   PATRICIA      KETTLES                      DC     81026794233
54783531272B67   ANGELA        CANDELARIA                   CO     33038025312
54783553A93724   OMAR          GARCIA                       OH     64584075530
54783A6667242B   DAVID         BRUCE                        PA     90003630666
54783A8487B461   KEOKI         FULWILEY                     NC     11078180848
54783A97955959   FABBY         DURAN                        CA     48076180979
54783AA9A91587   MARIA         RAMIREZ                      TX     75027130090
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 39 of 2350


5478455A991587   JOSE          PEREZ                        TX     90013805509
54785191372B43   XOCHITL       FRANCO                       CO     33030171913
5478522A572B27   WILLIAM       CARRUTH                      CO     90007682205
54785661772B27   WILLIAM       CARRUTH                      CO     90013616617
54785A61572B38   TERENCE       FIELDS                       CO     90006050615
5478629A255959   MICHAEL       COVARRUBIAS                  CA     90010462902
54786454972B49   ROSIO         MARTINEZ                     CO     90010674549
5478687425B393   CORENNA       FRANCK                       OR     90003978742
547868A872B27B   NIKITA        RECTOR                       DC     90005148087
54786916A51348   VINCENT       BRANDY                       OH     66008599160
5478696715758B   LILIANA       MORIN                        NM     90012759671
5478913A25715B   DAVID         SCROFANI                     VA     90008991302
54789141172B36   KENNETH       WELCH                        CO     90012961411
5478914465B387   MIGUEL        ASCENCIO                     OR     90013321446
5478B218172B38   DIAZ          MARIO                        CO     33019182181
5478B323761973   BRIANNA       JOHNSON                      CA     90010703237
5478B836791587   ERNIE         RAMIREZ                      TX     90002418367
5478B851861975   HECTOR        MARCELO                      CA     46071988518
5478BA6325715B   CELIA         GARCIA                       VA     90014750632
5479123484B588   PAUL          CONOVER                      OK     90000302348
54791477A93724   ERIC          BROWN                        OH     64532734770
5479169555B531   SUGAR         MARIE                        NM     90012256955
54791999172B43   ALMA          MORALES                      CO     33093149991
547921A3533699   KOKETTA       WILLIAMS                     NC     90013621035
54792319472B36   SENIA         HERNANDEZ                    CO     90011863194
54793455A84373   JERENE        GILLIAN                      SC     90012884550
54793528272B38   MICKEY        MEDINA                       CO     90011045282
54793578672B27   JESSIKA       MUNOZ                        CO     33064105786
54793912776B68   FRANCISCO     PALMA                        CA     90005549127
54793A68533699   MELITON       CATEMAXCA                    NC     90009420685
5479435975B399   FRANKLIN      CARSNER                      OR     90014993597
5479482AA93724   PERRY         MARTIN                       OH     90011668200
5479523525B387   YAYA          RICKEY                       OR     90015442352
54795712572B43   ALEX IVAN     GUERRA                       CO     90010107125
5479587515715B   MOHAMMAD      YOUSEF IMANI                 VA     81045628751
5479632345715B   ANA           OSORIO                       VA     81087183234
5479637A35B399   WILLIAM       PARRINGTON IV                OR     44545263703
54796721576B75   MELISSA       CERRILLO                     CA     90005737215
5479689A584373   JEFFREY       BERNS                        SC     90013928905
54797141672B36   SHERNETTE     BLACK                        CO     90014371416
54797561972B27   MARIA         MARTINEZ                     CO     90011405619
547977AA672B49   JOSEFINA      SAUCEDO                      CO     33074457006
54797852572B38   CHRIS         STRATTON                     CO     90000448525
54797A99384373   MELISSA       BROOKS                       SC     90005930993
54798884324B35   SANTOS        AREVALO                      DC     90001738843
547989AA191587   MARIA         GARCIA                       TX     75044969001
54799672A51348   JOSHUA        ROTHWEILER                   OH     90015126720
5479B677361973   KENNETH       MCCLELLAN                    CA     90013006773
547B1A88476B75   ISAIAH        FISHER                       CA     90013780884
547B222754B588   THURMAN       DEWBERY                      OK     90014712275
547B224575135B   DOUGLAS       ALSIP                        OH     66077102457
547B22A3191862   LISA          LYNCH                        OK     90012392031
547B2396672B38   IVAN          LANDEROS                     CO     90005553966
547B2435151348   JAMES         ARMSTRONG                    KY     66055144351
547B322A191895   THURMAN       JOHNSON                      OK     21050002201
547B3275A5B387   ROMOS         GONZALEZ                     OR     44517432750
547B335A172B43   APRIL         CHAVARRIA                    CO     90013773501
547B352265B399   MARY          JOHNSON                      OR     90014765226
547B364735B283   VICTOR        HODGE                        KY     90008356473
547B4292343569   JILLYN        SMITH                        UT     31032722923
547B4453361975   MELVIN        HARRIS                       CA     90013404533
547B4968884373   TOMAROE       WRIGHT                       SC     90013139688
547B5414972B49   JAMES         BARTHOLOMEW                  CO     90013574149
547B541995B387   ALEAH         ENGEVOLD                     OR     90010314199
547B5A8977B46B   ARTURO        VAZQUEZ                      NC     90012410897
547B5AA465715B   MARCIANO      ROMERO                       VA     81001860046
547B612675B399   KORI          O'BRIEN                      OR     44502491267
547B6426233699   DETICIA       RUCKER                       NC     90014674262
547B752625758B   ANNETTE       GARCIA                       NM     35503065262
547B7797A5715B   LILIAM        CRUZ TURCIOS                 VA     90013657970
547B8114351348   SHANNON       TUMEY                        OH     90013081143
547B8127791895   CHRISTY       GARDNER                      OK     90011001277
547B8178372B38   TROY          FLORES                       CO     33031251783
547B829875715B   ELICA         SOLORZANO                    VA     90004112987
547B8468761975   EDGAR         OCHOA                        CA     90010844687
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 40 of 2350


547BB453533696   KETURAH        DAVIS                       NC     90015564535
547BB53A157157   LUIS           CLAROS                      VA     90012715301
547BB754284373   NATALIE        BONDURANT                   SC     19050057542
547BB827772B77   LORRAINE       VAROZ                       CO     33072898277
54811477A5715B   BABIKER        OBAID                       VA     90012624770
5481195A191895   WILLIAM        BERRY                       OK     90006709501
548119A7172B77   DAVID          NEWCOME                     CO     33016649071
5481219634B588   JOHN           LIPPE                       OK     21573281963
54812377672B43   DEBRA          DAVIS                       CO     90005873776
5481238297B46B   MICHAEL        DEVEN                       NC     90013703829
54812587872B49   CANDACE LYNN   LOZANO                      CO     90010045878
54813357372B36   MELISSA        MARQUEZ                     CO     90002633573
54813771A4B588   RICO           CASTILLO                    OK     90000447710
54813A71484373   GLINDA         JOHNSON                     SC     90013610714
54813AA115B531   CARLA          SANCHEZ                     NM     35004430011
54814313376B75   CONNIE         WEHRER                      CA     90014623133
54814983A2B27B   SAMAYA         SMITH                       DC     90014529830
54814AA7672B38   WILLIAM        BURNETT                     CO     90013020076
54814AAA272B36   ROSALBA        RAMOS                       CO     90010780002
5481523335B387   LASHONYA       MORRIS                      OR     90014802333
54815247272B38   TERESA         VILLA-SENOR                 CO     90011572472
5481534A761971   CIRA           SALAZAR                     CA     90013243407
54815534172B43   JANE           HALL                        CO     90007685341
5481659155B399   SHIRLEY        DEWEESE                     OR     90015025915
54816991376B75   MANUEL         VARGAS                      CA     90013969913
548169AAA5715B   JORGE          URBINA                      VA     90015309000
54817199372B49   YANETH         PERDOMO                     CO     33015651993
54817A54A7B46B   RENEE          GERALDS                     NC     90013340540
5481821A477322   KYLE           PRANKE                      IL     90015512104
5481856A393724   ELIZABETH      LUGO                        OH     90009195603
548188A9984373   DESIDERIO      SUT                         SC     90008638099
548191A595758B   SALVADOR       DE LOS SANTOS               NM     90007161059
5481926625B393   MAURICIO       ORTIZ                       OR     44575822662
548192A3472B36   JOHN           HEREDIA                     CO     33053662034
54819444572B49   ELIZABETH      MCGINLEY                    CO     33067964445
5481986A391587   MIGUEL         MALDONADO                   TX     90014138603
54819A59261973   ULYSSES        RODRIGUEZ                   CA     90013660592
54819A76484373   JOSE           GARCIA                      SC     90014000764
5481B17397B46B   FIDELA         MELCHOR                     NC     11016921739
5481B272A61973   SANDRA         ALVAREZ                     CA     90015192720
5481B46585B387   DANIEL         JOHNSTON                    OR     90014984658
5481B476A72B27   ALEJANDRA      ALVAREZ                     CO     33063104760
5481B79545715B   MARCOS         GUEVARA                     VA     90012317954
5482142AA55959   JOHN           VIGO                        CA     90008984200
5482185945B283   LUSHES         BENSON                      KY     68068248594
5482228A733696   ARIEL          FIVECOAT                    NC     90013082807
54822661472B38   VICTORIA       HERNANDEZ                   CO     90005856614
54822A36691587   CECY           NAVARRETE                   TX     90010780366
54822AA7461971   MARWAN         AZABO                       CA     90013130074
54823912A5B531   ELIZABETH      MONTEMARANO                 NM     35071379120
5482447885B531   MICHELLE       JONES                       NM     90014804788
54825645972B88   CELIA          RUIZ                        CO     33016526459
5482574635B531   ESTRELLA       CHAVEZ                      NM     90010667463
5482584335715B   CHRISTINA      TUCKER                      VA     90014428433
54825977A72B27   MARIA          MORA                        CO     33063769770
54825A16693782   MARRA          CHRLESTON                   OH     90005020166
54826426772B27   MIRIAN         DZIB                        CO     90011724267
54826829572B49   JULIAN         LUCERO                      CO     90011328295
54827621872B38   JOSE           SALINAS                     CO     33091476218
5482763A455959   JOSE           RODRIGUEZ                   CA     90014886304
5482764AA61973   JENNIFER       KISH                        CA     90015316400
5482769967B46B   DIANDRIA       SWEENEY                     NC     90013306996
548276A9751348   NIKKI          CARMAN                      OH     90012466097
54827894A4B588   YOLANDA        PUENTE                      OK     21592098940
5482813A75758B   AMANDA         ROBERTS                     NM     90012961307
54828679772B49   JAVIER         UC                          CO     90010956797
5482881442B851   ALICIA         LIZAMA                      ID     42006668144
5482894528B181   VERNEY         QUIROZ                      UT     90008469452
5482924142B851   ELIZABETH      STEELEI                     ID     90012452414
5482B2A715B399   DANIEL         NEWELL                      OR     44522692071
5482B35AA72B49   JOSE           JAHEN                       CO     33002983500
5482BA86391895   STEVEN         THOMPSON                    OK     90013200863
548313A627B461   JUSTO          MENCIA                      NC     90001703062
548313AA991587   JOSE           PINA                        TX     90009303009
5483142635758B   ANTONIO        LUNA                        NM     90007564263
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 41 of 2350


5483146555715B   BRENDA        SOLORZANO                    VA     81012104655
548316A245715B   DAVID         ORTIZ                        VA     90015566024
548321A2484373   JOSE          ALONSO                       SC     90011861024
5483269AA72B27   FRANCISCO     EMBARCADERO                  CO     33008546900
54832899A3B387   RICHARD       WHITE                        CO     90006038990
54832A78561975   DANNY         CHRISTENSEN                  CA     90010930785
54832A87455959   ELVIRA        MUNDO                        CA     90010790874
5483356A333699   DANIEL M.     C0RTEZ                       NC     12028815603
5483427715B399   MARY          KING                         OR     44592912771
54834677772B27   MARLENE       SCUDDER                      CO     33091336777
5483474A361971   GENIVIVE      FOSTER                       CA     90000257403
54834A42256326   ANGELA        STICKEL                      IA     90014670422
5483551884B588   TRENIER       HARRISON                     OK     90013325188
54836245172B36   KATE          GASTON                       CO     90015182451
54836447A72B27   MARCUS        HOWERTER                     CO     90015344470
54837679672B36   BARRON        ARTURO                       CO     33035766796
5483778192B27B   MARTINA       BATES                        DC     90004427819
5483834312B851   TULSHI        DHAMALA                      ID     42078623431
54838A47822459   GUY           TURTURICI                    IL     90009320478
5483913335758B   JUAN          REYMUNDO                     NM     90007931333
5483923625B387   LEDUVIER      PEREZ GARCIA                 OR     90013972362
54839596876B75   JUANA         FELIX DE LOPEZ               CA     90009585968
5483B427572B36   CRYSTAL       ESPINOZA                     CO     90013924275
5483B699691895   JEFFREY       WOODS                        OK     21068396996
5483B87787B46B   SHAKEIRA      COOOPER                      NC     90013878778
5484135155B393   SHARON        NICHOLS                      OR     44503513515
54841729572B67   ALLEN         KIEL                         CO     90006837295
548417A384B521   STEVEN        IRVIN                        OK     21577657038
54842171872B43   MAKAYLA       HONEYCUTT                    CO     90008421718
5484245725B387   EUNICE        GUZMAN                       OR     90013204572
5484277A585928   SCOTT         PRESTON                      KY     67014147705
54842A29633696   KENNY         HARRISON                     NC     90014810296
5484322165715B   LUIS          VILLATORO                    VA     90000552216
54843956172B67   CLIFF         SUNDSTROM                    CO     33058399561
5484432812B28B   EDMOND        BYNUM                        VA     90008173281
5484463875758B   GUADALUPE     DELHIERRO                    NM     90013166387
5484518814B588   CECIL         HUNT                         OK     90012901881
548451A954B588   ALICIA        GARZA                        OK     90009991095
5484545385B531   AMY           MAESTAS                      NM     90015274538
54845536676B52   MARY          CONWAY                       CA     90009195366
54845A63551346   LEAH          SIMPSON                      OH     90013550635
54846A96791587   ANGEL         RIVERA                       TX     90015140967
548472A1A33696   CHRIS         MCDOWELL                     NC     90014482010
548472A6155959   LAURA         GONZALEZ                     CA     48089292061
548472AA85758B   NICHOLAS      CABRERA                      NM     90010322008
54847A28176B75   IRMA          GARCIA                       CA     46059440281
54848123972B43   FELIPE        RAMOS                        CO     33083291239
5484881A231425   JASON         MEDINA                       MO     90001808102
5484885AA7B46B   KRISTY        KANYON                       NC     11015468500
54849125472B38   LIZBET        YANEZ VENEGAS                CO     90013321254
54849165572B36   GABE          VEGA                         CO     33043661655
5484B269755959   RITA          EHCUARIA                     CA     90009002697
5484B27797B497   MICHELLE      ANDERSON                     NC     90014742779
5484B34A657157   THERESA       CLARK                        VA     90006383406
5484B42795B393   BRIANNE       FUENTES                      OR     90010894279
5484BA92261973   JOHN          WAGNER                       CA     46029270922
5485119A884373   GENESIS       VELEZ                        SC     90015331908
5485178975758B   MELISSA       TSYTTEE                      NM     90009767897
54851921A51348   TAMIKA        HUTCHERSON                   OH     90014559210
5485224A85715B   ROBERT        DAVIS                        VA     90006992408
5485348155758B   AARON         PEDRAZA                      NM     90011974815
5485421345B399   JACQUE        WARNER                       OR     44536492134
5485461212B27B   SHENISE       HILL                         DC     90013226121
54854746772B43   JOHN          KERR                         CO     90011947467
54855362472B38   LUIS CRUZ     MORALES                      CO     90002803624
548553A1385928   GLORIA        GARCIA                       KY     67081873013
5485557755B531   ZACHARY       TONKINSON                    NM     90013615775
5485585612B851   RUSTEE        SCHADE                       ID     42087258561
54856A5A65B399   TERESA        MOODY                        OR     44522870506
54857282272B77   JUKER         KEIRESTEIN                   CO     33045742822
54857351A7B46B   HALEY         PARADIS                      NC     90003333510
5485813A25B399   JUAN          CAB                          OR     44564131302
54858888176B75   ROBERT        AGULAR JR                    CA     90007468881
54858A38255959   OSCAR         MENDOZA                      CA     90015380382
54858A44176B75   JABIER        HURTADO                      CA     46006480441
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 42 of 2350


54859676972B43   ALFREDO       GRIJALVA                     CO     33070206769
5485B194843569   MICHAEL       OWEN                         UT     90008051948
5485B516272B38   ROSA          GUTIERREZ                    CO     90013925162
5485B93A491895   JAMES         MAYFIELD                     OK     90013079304
5485BA17793724   LAUREEN       BRANNAN                      OH     90011670177
54861A2155B387   JAQUELINE     JOHNSON                      OR     90013470215
5486264155B399   ANDREA        BURNSWORTH                   OR     44548936415
54862821798B2B   WAYNE         BROWN                        NC     11080138217
54863126A61548   BERTHA        DIXON                        TN     90013291260
548633A8655959   DIRCE         AGUIRRE                      CA     90013053086
54865839772B88   SELINA        CASTRO                       CO     33016528397
54865A8645B387   DAVID         FORQUER                      OR     90014430864
54865A93961971   MARLA         JAMES                        CA     90015080939
5486635AA5B531   CHRIS         OTERO                        NM     35095933500
54866862376B75   ANALI         RAMOS                        CA     90010358623
5486714525B387   SEBASTIAN     WILLIAMS                     OR     90011581452
54867428297B4B   SHAWNA        ESTREICH                     CO     90004854282
5486745427B46B   WEDNA         DE SOUZA                     NC     90011464542
5486752447B46B   SCOTT         WILLIAMS                     NC     90012965244
54867937672B27   JOSEFINA      LUEVANO                      CO     33028399376
5486887515B531   RODRIGUEZ     VINCENT                      NM     35079398751
5486B25515B393   DIANA         HUGHES                       OR     44556082551
5486B255691587   FRANCISCO     CHACON                       TX     90015192556
5486B264A5B387   ROBERT        EICHLER                      OR     90013422640
5486B265872B36   HOLLY         GOLASZCWSKI                  CO     90006482658
5486B954372B27   JASON         ADAMSON                      CO     90009459543
5486B99675B399   TRENT         RAU                          OR     44531799967
54871A2617B46B   LEEANDRA      CARROLL                      NC     90011520261
54872254972B38   CYNTHIA       COMPEAN                      CO     90011612549
5487258744B588   MICHAEL       CLAYTON                      OK     90013315874
548726AA65B399   KELSEY        HAWS                         OR     90015106006
5487347334B588   SHERRIE       FRICK                        OK     21595004733
5487368AA85928   JOHN          REYON                        KY     90012266800
54873A64372B67   ELTON         ROSALES                      CO     33042910643
5487423415B531   REGINA        TAPLEY                       NM     90009492341
548746A2A5B393   RONDA         JOHNSON                      OR     44589296020
54875622572B36   KEITH         POTTRATZ                     CO     90013326225
54875999A5758B   HOPE          CABRALES                     NM     90009469990
54875A11472B43   JOSE          ALACORN                      CO     90014510114
54876111972B36   YOLANDA       FLORES                       CO     90009851119
548773A695B387   ANNA          BENZ                         OR     90009013069
5487751774B251   FANNY         PEREZ                        NE     27028225177
54877534572B88   DAL           BAHADUR                      CO     90004335345
5487799A761973   BLANCA        RUEDA                        CA     90012129907
54877A43372B49   MARK          HELFMAN                      CO     33088800433
548784A865B399   WILLIAM       DEWEESE                      OR     44558114086
54878573272B27   BRENDA        MACIAS                       CO     90013645732
54878597672B77   GUADALUPE     GRANADOS                     CO     33016655976
5487874172B241   BERNARD       ARGYLE                       DC     90002297417
5487998815B387   BREANNE       FISHER                       OR     44520949881
5487B152A72B36   CRYSTAL       LOPEZ                        CO     33095561520
5487B846557157   LAURA         GOFF                         VA     90005908465
5487B89965B399   ROY           JAHA                         OR     44520408996
5487BAA4855959   MONICA        ESPARZA                      CA     48046230048
54881157A72B88   TARRA         NEEDHAM                      CO     90003251570
5488121265715B   LORIS         GALVES                       VA     90011242126
54881282176B75   JESUS         SANTIAGO                     CA     90005902821
5488149115B283   WILMA         WICKLIFFE                    KY     90007354911
5488153287B46B   CLAUDIO       LOPEZ PEREZ                  NC     90004525328
54881937772B49   SERGIO        LOPEZ                        CO     90008169377
5488346195758B   DAVID         SHAW                         NM     90003354619
5488359A95B399   JEFFREY       ADAMS                        OR     44512975909
5488458355B531   LOUELLA       LOPEZ                        NM     35003455835
54885148976B75   BLANCA        CARMONA                      CA     90004381489
5488522995B399   ELIAS         TESFASELASSIE                OR     90013952299
5488548845B543   PERLA         QUEZADA- VAZQUEZ             NM     90004914884
54886537A51348   LUZ MARIA     JUAREZ MANRIQUEZ             OH     90014725370
5488715947B46B   ANTRON        PEGUES                       NC     90000271594
54887A8735758B   DOUGLASS      UPSHAW                       NM     90007970873
54888239272B36   ISSAC         LINK                         CO     33046752392
5488851143B35B   BENJAMIN      FELIX                        CO     90011005114
54888614372B38   NICHOLAS      WOOD                         CO     90001626143
5488966677B46B   KEVIN         BLACK                        NC     90008166667
54889A2784B588   LORETTA       MCGASKEY                     OK     21593900278
5488B458184373   WILLIAM       WARING                       SC     19012474581
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 43 of 2350


5488B4A5491587   OMAR          GALLARDO                     TX     90000774054
5489132A15758B   LUZ           REYES                        NM     90014033201
54891797A5B399   STEVE         GEORGE                       OR     44546387970
54891A4198168B   CARLOS        GIRAUDY                      MO     29094980419
5489246945B399   TERRANCE      HALL                         OR     90008564694
548926A2672B36   ESTEFANY      ALVAREZ                      CO     90010426026
54892713A72B43   ANGELINA      WEATHERSPOON                 CO     90012997130
54892A39393724   LAMAR         MAYE                         OH     90007320393
54893652772B49   LORA          JORALIN                      CO     90013006527
548936A3855959   JONATHAN      GAYTAN                       CA     90005306038
548936A9272B36   SIDNEY        TAYLOR                       CO     90006156092
54893737A4B588   JENNIFER      WOOTEN                       OK     90006077370
54893A41372B27   DAVID         ESTRADA MURILLO              CO     90014340413
54895118A5B543   ANDREA        BACA                         NM     90014011180
54895265A72B38   CHAVEZ        CHAVEZ CARRASCO              CO     90002622650
5489579A561973   CHRIS         GILKES                       CA     90007937905
5489643875758B   MARIA         ACOSTA                       NM     90006554387
54896A17961973   JAMES         SIMMONS                      CA     90013810179
54897162672B36   MICHELE       RODRIGUEZ                    CO     90012391626
5489846465B387   CHARMAINE     CROSSLEY                     OR     90012794646
5489869AA72B77   JAMIE         BONNER                       CO     90011936900
54899947276B75   JENY          ASUNCION                     CA     90011609472
5489B14135B393   TABITA        SIMEDRU                      OR     44562301413
5489B333272B88   FELICIA       GOODE                        CO     33073103332
5489B482A61975   JAMES         GROGAN                       CA     90013714820
5489BA2174B588   KIMBERLY      LYNCH                        OK     90013230217
548B11A6991587   MARIA ELENA   SOSA                         TX     90015191069
548B146545B387   ERICK         FRENCH                       OR     44569064654
548B214735B393   PAMELA        LEWIS                        OR     44594641473
548B2376672B27   RUDY          GERINGER                     CO     90014053766
548B258185715B   KIMISHA       DABNEY                       VA     90014285818
548B2649A61971   GIOVANNY      CHAVEZ                       CA     90012616490
548B2955157554   IRMA          APODACA                      NM     90008749551
548B2A34472B38   LAGEORGE      HADNOTT                      CO     90013000344
548B3273791587   ELISA         RODRIGUEZ                    TX     75061432737
548B362485B399   RITA          GIORGEES                     OR     90015226248
548B3A16693724   BRANDY        BAYES                        OH     64584130166
548B414155B399   ANGEL         SMITH                        OR     44594771415
548B4534772B43   EVELIA        RODRIGUEZ                    CO     33008645347
548B5271276B75   ALYSSA        STEIWERT                     CA     90012822712
548B52A7972B27   MARIA         ABARCA                       CO     33077812079
548B54AA45B399   GLADICELLA    CRUZ                         OR     90009374004
548B577175715B   DAWSON        DAWSON                       VA     90013897717
548B5991791587   MELISSA       ROBLES                       TX     90014309917
548B631675593B   JOSUE         GOMEZ                        CA     49096823167
548B6411261971   LAURA         GONZALES                     CA     46013064112
548B68A4972B77   ALLYSON       KULINSKI                     CO     33032168049
548B6979872B49   KYLE          SUNDRIUP                     CO     33025779798
548B7447A61973   LILY          GOMEZ                        CA     46033304470
548B7526155959   JANET         REYES                        CA     90004765261
548B767455B387   JOSHUA        GRIFFIN                      OR     90012346745
548B816162B851   JORGE         PEDROZA                      ID     90000591616
548B8531472B49   VANESSA       ATAYDE                       CO     33040425314
548B854A657554   ALICE         SHANNON                      NM     90010345406
548B868975758B   CHARLOTTE     STOEHNER                     NM     90012146897
548B8755A61973   PRICILLA      GONZALEZ                     CA     46028847550
548B878A333645   ROBIN         DUEHRING                     NC     12005137803
548B952A761973   CARMEN        TAPIA                        CA     90014815207
548B9631372B27   RONALD        POINDEXTER                   CO     33016516313
548B9826261975   JAMES         HYNUM                        CA     90007828262
548BB975772B27   JESSICA       MEDINA                       CO     90010139757
548BBA51151348   RENEE         MANASE                       OH     90013070511
5491114684B588   MICHEAL       ALLEN                        OK     90006631468
5491142695B264   TAMARA        CRUMP                        KY     90005324269
54911952A3B352   GLEN          FISHMAN                      CO     90000219520
54911A4A87B46B   QUAR          GUIAN                        NC     90012770408
5491331135758B   SERGIO        LOZANO                       NM     90012243113
5491377694B521   DAVID         DANNER                       OK     21502497769
54913A24376B75   ELIZABETH     TORRES                       CA     90014050243
5491414255B283   TERRY         IRVIN                        KY     68007131425
5491439A472B43   LAURA         HERNANDEZ                    CO     90014823904
5491466185715B   RONI          BALLARDO                     VA     90010186618
54914812872B88   POLLY         PASCHALL                     CO     33074938128
54915345372B43   KAREN         CHASE                        CO     90011203453
54915AA9931429   JOSEPH        ROSENHOFFER                  MO     90007570099
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 44 of 2350


5491635515B543   JULIE         WINDSOR                      NM     35084083551
5491638695715B   IVELISSE      RUIZ                         VA     90014573869
5491641895B531   FLORA         SERRANO                      NM     90009104189
5491711A833699   JASMINE       REED                         NC     12085061108
5491798655B387   MELISSA       SEAMON                       OR     90009709865
549181A985B531   MICHELLE      PINO                         NM     35030891098
5491837585B393   KRISTOPHER    WOOD                         OR     44514933758
54918474A76B75   PETER         JUAREZ                       CA     90014514740
54918987872B49   NOELLE        SPANGLER                     CO     90012419878
54919588572B49   JORGE         SANCHEZ                      CO     33063115885
54919A48872B38   JAMIE         MATHEWS                      CO     90013000488
5491B22A45B531   SONIA         SENA                         NM     90013882204
5491BA62772B38   TROY          CHATTERLY                    CO     90013000627
54921563124B7B   CHARITY       BUTLER                       DC     90006195631
5492169785758B   DAMIAN        ORTEGA                       NM     90012926978
549219A3391534   ROSA          RAMOS                        TX     90005499033
549222A982B27B   TIFFANI       TAYLOR                       DC     90013922098
54922317472B27   ADELAYDA      TORRES                       CO     33058453174
5492437345B399   EMMANUEL      RODRIGUEZ                    OR     90012343734
54924492972B27   JEFF          HELTON                       CO     90012084929
549247A615B531   JULIE C       ZECCA                        NM     35037887061
54924984A72B43   ERICA         GALINDO                      CO     33094999840
54924A65A72B36   YANIKA        ALLEN                        CO     33003150650
5492524A933696   TAWNNISHA     CHRISP                       NC     90014822409
54925833372B49   PENNY         LARSON                       CO     90014168333
54925888A72B27   RUBEN         FLORES                       CO     90001178880
5492658492B851   CARLOS        JIMENEZ                      ID     90010375849
5492686425715B   KRISTIAN      DOUGLAS                      VA     90010358642
54927266272B38   ROSA          DIRCIO                       CO     90011572662
5492783617B46B   THERESA       HAMILTON                     NC     11097408361
549286A5891267   PATRICK       DONALDSON                    GA     90012456058
5492915485715B   HORRA         HOSSAINI                     VA     90010321548
549296A825B531   DANNY         GUAJARDO                     NM     90013306082
5492B27424B588   LELIA         CASE                         OK     90010432742
5492B64585599B   JOSEPH        WOOD                         CA     90012456458
5492B88A385928   LISA          YOUNG                        KY     67008868803
5492BA36A51348   ZORAIDA       ESCALANTE                    OH     66041530360
5493125624B587   TRACY         WILLIAMS                     OK     90014842562
549312A1876B75   DAWN          ZIPPER                       CA     90014522018
5493171195B399   SUSANA        TUAFALE                      OR     90011247119
54931721A7B46B   SAMBA         MATETA                       NC     90013307210
54932266772B27   KIMPHONE      PHANTHAVONGSA                CO     33096722667
54932336772B77   RAMON         RIVERA                       CO     90006533367
5493279115B543   MARIA         EMILIANO                     NM     35051487911
549327A955B393   FRED          MARTINEZ JR                  OR     44573217095
54932874172B38   COLLEEN       CHRISTOFFERSON               CO     33045018741
54932A37272B49   MADELYN       BONNER                       CO     90013560372
549341A2A61975   JEFFREY       TODD                         CA     90014801020
54934455376B75   LUCILA        MONZANO                      CA     90007714553
54934836A5B531   GUSTAVO       FACIO-SANCHEZ                NM     35047608360
5493486585B387   JACOWSKI      BISSERETH                    OR     90003738658
5493495A151348   ADRINNE       LEE                          OH     66002899501
54934A36291587   FATIMA        TINOCO                       TX     90010860362
54934A5A372B38   DIANA         PROO                         CO     90013000503
54934A5AA91587   ARTURO        TINOCO                       TX     90010860500
54934AA7284373   KELLY         BROWN                        SC     90009980072
5493551362B27B   REGGIE        JAMES                        DC     90007145136
5493558AA5B393   ORIEL         HELZER                       OR     44556375800
54935A87551348   CARLOS        RODRIGUEZ                    OH     66012760875
5493686935B387   SCOTT         WOLFE                        OR     90009398693
54937A35191895   VIRDIANA      ROJAS                        OK     90012240351
5493839475758B   JAVIER        FIELDER                      NM     90014043947
54938756A21631   AIREZ         EBERHARDT                    OH     90013377560
54938797772B49   ALLISON       MARTINEZ                     CO     90012257977
54938A5835B387   POWELL        DONNA                        OR     44543270583
54938A6215758B   JAVIER        FIELDER                      NM     90014060621
5493912277B46B   MAUREEN       HOECKER                      NC     90013721227
5493912365715B   SANTOS        GARCIA                       VA     90004301236
5493946683B391   EMITERIO      CRUZ                         CO     33015364668
5493B68A333696   NICOLE        HAPTON                       NC     12082696803
5493BA52272B38   AMILZA        ALDANA                       CO     33010540522
5494133AA98B2B   DANIELLE      CHILDRESS                    NC     90005993300
54941466A72B43   KATHLEEN      LOVATO                       CO     33059394660
5494154A133696   DONNA         PRESSLEY                     NC     12057315401
54941633576B75   BEVERLY       BOCCHINO                     CA     90012176335
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 45 of 2350


5494253455B531   JOSE           AGUERO-GAYTAN               NM     90001625345
54942A7A751351   WILLIAM        DARIA                       OH     66016910707
54942AA334B588   DANIEL         WOOLERY                     OK     90012660033
54943454A72B43   CESAR          CHAVEZ                      CO     90013764540
5494363A651348   ANDRE          DIBER                       OH     90013786306
549439A1155959   NEYSA          LUJAN                       CA     48095239011
549439A2184373   JOSELITO       JALANDONI                   SC     90015329021
54945249A76B75   EDGAR          ROJAS                       CA     90011002490
54945425672B38   JONATHAN       CORNWELL                    CO     90000404256
54945849572B49   YAZMIN         MORENO                      CO     33023838495
54945A26572B77   JOE            FERRILL                     CO     90003270265
5494618545B399   MARY           LAZARUS                     OR     44556571854
54946415A91895   CURLEY         WALKER                      OK     90014924150
54946733872B36   GERALD         YOUTSEY                     CO     33071487338
54946A85272B49   CARLOS         GUILLEN                     CO     33010620852
549478A515715B   ILSY           CRUZ                        VA     81098128051
54947A14A5758B   FELIPE         GARCIA                      NM     35508710140
54948954372B77   ALEJANDRO      RIVAS                       CO     90000649543
5494896945B393   MALEA          AMERMAN                     OR     90001559694
54948A79A72B36   LILIANA        ORTEGA-SERNA                CO     90012360790
5494B29715B393   BRYAN          LOWES                       OR     44550202971
5494B84232B851   MARIA          LOPEZ                       ID     90002918423
54951A95872B27   KATHERINE      LEATHERBURY                 CO     90010450958
5495253645715B   EDWIN          GUERRERO                    VA     90013075364
54952584272B38   PAISLEY ROSE   GORMAN                      CO     90013355842
5495259175B393   DEVIN          LUCE                        OR     44597865917
5495354885B387   SHERY          ADAMS                       OR     44511505488
5495696A472B43   TERRY          SMITH                       CO     90011169604
549572A1A72B27   JOSEPH         LUCERO                      CO     33056022010
54957316A91895   VAL            COOPER                      OK     90014813160
54957AA9476B75   RUFINA         IXCOY                       CA     90011850094
5495825A62B27B   TAKEISHA       GLOVER                      DC     90012882506
54958445A93724   SHANNON        CHRISTIAN                   OH     64585924450
5495911A82B851   RICHARD        RIVERA                      ID     90002921108
549594A6291587   RICARDO        BOCANEGRA                   TX     90014694062
5495973895B399   TONYA          RIVAS                       OR     90011247389
5495B2A892B959   PAULO          ALBERTO                     CA     45062062089
5495B416255959   RACHEL         CERVANTES                   CA     90013524162
5495B574A91587   ISAAC          GARCIA                      TX     90013905740
5495B75315715B   GIOVANNY       ROMERO                      VA     90010127531
5495B784576B84   GUADALUPE      CERVANTES                   CA     90006417845
5496123194B521   JAMES          REED                        OK     90005712319
5496153615B387   MUNA           ABU                         OR     90010005361
54961912772B38   JAMES          GORDON                      CO     90013009127
54961A1185715B   FRANCISCA      JUAREZ                      VA     90012410118
5496225665B543   MARIE          ALDERETE                    NM     90001892566
54962361572B43   FELICIA        CHAVEZ                      CO     90012653615
549626A6561971   AJ             REEVES                      CA     90014266065
5496281A35132B   KRYSTAL        HAUSSLER                    OH     90011278103
5496296158B12B   KRISTINE       MONTOYA                     UT     90003189615
5496317435B393   REBECCA        CRAWFORD                    OR     44506201743
54963221A33699   CAROLINA       LOPEZ                       NC     90012762210
54963368872B27   RALPH          ALLMAN                      CO     33028283688
5496351A761971   KIMBERLY       PARRA                       CA     90011405107
54963592572B36   LINDA          FRAZIER                     CO     90005475925
54964275172B38   JOSE           PUENTE                      CO     90015242751
54964589772B49   JUAN           ROBLES                      CO     90002765897
549645A8A2B235   CLYDE          CASEY                       DC     81065165080
5496521445B531   VALERIANO      LOPEZ                       NM     90005662144
5496547683B387   ABEL           RODRIGUEZ                   CO     90013044768
54965665A5B387   GARY           PROCTOR                     OR     90014176650
54965875172B49   SANTOS         SOTO                        CO     33020558751
54965912972B27   EMILIO         MUNIZ                       CO     90013379129
54967411672B49   CAMILIO        TELLEZ                      CO     90015184116
54967799372B38   CYNDY          ADAMS                       CO     33035907993
54968AA125B387   KINDA          SWEETLAND                   OR     44551540012
54969535872B38   BRUCE          GERARD                      CO     90015115358
5496B61134B588   ROBERT         WILLIAMS                    OK     90012566113
5496B793691587   ALEJANDRA      CORONEL                     TX     90011717936
5496B838A5758B   JOSSE          ZAVALA                      NM     90008668380
5496B96355715B   KRISTY         GIBSON                      VA     90005889635
5496BA1932B27B   SILVANO        PAREDES                     DC     90014750193
54971A19672B38   SANTIAGO       RAMIREZ                     CO     33052920196
5497336A733696   DAIMEN         FERGUSON                    NC     90013313607
54973586476B75   MENDEZ         JOVITA                      CA     46013255864
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 46 of 2350


54973731A76B75   YESENIA       CRUZ                         CA     90011897310
5497397495B393   TODD          HARDY                        OR     90003029749
54973A2834B588   LANE          ROSS                         OK     90015100283
5497436695B531   ANTONIO       TARIN                        NM     35085833669
5497454674B52B   CEDRIC        KING                         OK     90007695467
54975343A72B27   JUAN          ABREGO                       CO     33073433430
54975476972B43   TINA          LAVATO                       CO     90010514769
5497553A191587   ROBERT        BAKER                        TX     75026785301
54975A3215B393   GAYLE         JENSEN                       OR     90000610321
5497616A45B561   GERALDINE     DURAN                        NM     35091481604
549761A3676B75   JOSE          OLIDIO                       CA     46072191036
549762A8472B43   LUIS          RODRIGUEZ                    CO     90013542084
5497666815B387   ERMAND        ZOCHERT                      OR     44585486681
54977179872B38   LAURA         ESTRADA                      CO     33017251798
54977322698B2B   RICARDO       MORALES                      NC     90011643226
54977443172B36   MELISSA       MEZA                         CO     33017904431
54977A78872B38   JESSICA       ABEYTA                       CO     33039620788
5497829685715B   BARBARA       SIDDIQUI                     VA     90010322968
5497847A172B77   GERARDO       CORTEZ-MONTANEZ              CO     33001184701
54978A41231428   MELONIE       HORTON                       MO     27515640412
54979155A5758B   ARISVEL       HERRERA                      NM     90014271550
549793A8276B75   JONATHAN      B NICKELS IV                 CA     90012363082
54979919172B27   TIMOTEO       SOLORZANO                    CO     90013899191
5497B21675B387   GLORIA        LOPEZ                        OR     44560972167
5497B243761971   LANCE         DARINGER                     CA     90001482437
5497B339633696   VICKIE        HARRIS                       NC     90015093396
5497B49175B531   ROSE          WOPAT                        NM     90011604917
5497B82964B588   ZANDRA        SMITH                        OK     90009648296
5497B88A55B283   STEPHEN       SORG                         KY     90004238805
5497BA92472B38   TAMARA        COLLIER                      CO     90014150924
54981348272B77   SHANA         LAVON                        CO     90006003482
5498174315B52B   EVELYN        NETZER                       NM     90011297431
5498183715B399   NIESHIA       BROWN                        OR     44560928371
5498195938B186   EMILO         TORRECILLA-VALLE             UT     31041359593
5498199A74B251   MARIA         GAMES                        NE     27013879907
549826A4491587   NANCY         NAVARRETE                    TX     75040076044
54982A42698B2B   SHELLY        BYERS                        NC     90013910426
5498336424B521   MIA           COOK                         OK     90005713642
54983747372B36   JESSICA       VILLEGAS-LOPEZ               CO     33067297473
5498396A12B27B   CLINTON       CARROLL                      DC     90010419601
54984619A5B543   LUZ           HERNANDEZ                    NM     90004916190
54984935A55959   FRANCISCO     PARRA                        CA     90012789350
54985489472B77   CHUCK         BLUE                         CO     90002554894
54985963472B36   MARIANA       SANCHEZ                      CO     33055879634
549861A1A5715B   CINDY         SANCHEZ                      VA     90000441010
54986317472B27   ADELAYDA      TORRES                       CO     33058453174
54986811972B43   JAMES         TRAVIS                       CO     90009788119
54986A6A433696   CYNTHIA       SPRINGS                      NC     90014960604
5498781355715B   MARIA         SALOME                       VA     90013568135
54987A8695758B   CHRISTIAN     LUCERO                       NM     35582640869
54988343A5B393   CHRISTINE     CREAMER                      OR     90004973430
5498855894B588   ANTHONY       PERRY                        OK     90015085589
54988593872B38   JAVIER        GUTIERREZ                    CO     33043375938
54988842A76B75   MAGDALENA     LOPEZ                        CA     90012108420
54988A23172B88   KIMBERLY      OLIVER                       CO     33033990231
5498B193A5B387   KAREN         WEBB                         OR     90011581930
5498B817591895   LATASHA       WILSON                       OK     90014238175
5499163A561975   DANIELA       SANCHEZ                      CA     90011166305
54991A57651348   HIRAM         MARION                       OH     66064140576
54991A74631429   SIDNEY        SPRADLEY                     MO     90014390746
5499257825758B   GUADALUPE     MORALES                      NM     90012625782
5499282A676B75   BERNAVE       MERIDA                       CA     90005188206
549928A1385928   ISAC          FIGUEROA                     KY     90014908013
5499365385B387   BRUCE         VELARDE                      OR     90008166538
54993735472B88   LARRY         JAMISON                      CO     90003817354
54993998972B27   BRENDA        WHITMIRE                     CO     90008079989
54994488172B67   JUANMANUEL    HERNANDEZ-IVARRA             CO     33068524881
5499479555B387   RAY           SEAMSTER                     OR     44524927955
5499528295758B   NORMA         TORRES                       NM     90014832829
549952A9972B49   KIM           HATCHEL                      CO     90014842099
549959A365B283   ROSA          GONZALEZ                     KY     90004239036
54996831297B21   TAMARA        SEUFER                       CO     90004038312
5499754A75B531   CRISTOPHER    EDWARDS                      NM     90013105407
5499796345B283   CHRIS         MILLER                       KY     90013839634
54998115476B75   DAVID         FRAZER                       CA     90013251154
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 47 of 2350


54998529172B77   VERONICA       CASTILLO                    CO     90000415291
54999A26961973   INDIA          SWANSON                     CA     46061220269
5499B148131443   MARIAN         BUCK                        MO     90009581481
5499B1A175B531   CATALINA       VANVLEET                    NM     35082971017
5499B433672B88   ANTONIO        MARTIN                      CO     90009504336
5499B557176B75   VICTOR         CANSECO                     CA     46079975571
549B2167672B38   SAMUEL         LAYTON III                  CO     33039781676
549B221685758B   ELSA           ARMENDARIZ                  NM     90009092168
549B2316961971   DENISE         AUSTIN                      CA     90011503169
549B2712272B88   DANYELLE       SPENCER                     CO     33073707122
549B3658272B38   TERESA         MENDOZA                     CO     90014456582
549B392465B387   ADAM           HART                        OR     90015079246
549B4125172B77   ABEL           CARMONA-ZAVALA              CO     90006341251
549B414224B588   TRACI          BOYD                        OK     90012121422
549B4245772B67   ADELINA        HERMOSILLO                  CO     33032252457
549B4825A72B43   CLISTY         MEDIOLA                     CO     90001258250
549B582A876B75   AMANDA         CORTEZ                      CA     90007198208
549B5984872B49   GALE           BOULWARE                    CO     33035689848
549B5A3655B387   STUART         CARR                        OR     90008010365
549B6115872B49   ISMAEL         GUZMAN                      CO     90003331158
549B6122484373   LACRETIA       BRYANT                      SC     90011221224
549B6377472B67   GINAMARIE      MICHIELLI                   CO     90012383774
549B6417791587   ARACELI        RODRIGUEZ                   TX     90013964177
549B64A3298B2B   MARIA          MAYA                        NC     11047234032
549B6824233696   GLADYS         ELLISON                     NC     90013168242
549B755147B46B   PEDRO          VILLAHERRERA                NC     90012965514
549B7574272B36   TABITHA        GRAHAM                      CO     33071485742
549B854115B387   HEATHER        SONNE                       OR     90010345411
549B8877772B43   CHRIS          MCCUNE                      CO     33098708777
549B8A28572B49   ALEXA LOUISE   ELLIS                       CO     90013560285
549B916A951348   DEVIN          HALL                        OH     90013961609
549B9478933645   CHRISTA        WHITE                       NC     90004414789
549B98A2572B27   ENRIQUE        CELACRUZ                    CO     33050598025
549BB228484373   CHRIS          BLACK                       SC     90014152284
549BB313851348   DENNIS         BATTON                      OH     90004113138
549BB84A131429   MALIN          KATHLEEN                    MO     90001448401
549BB882672B38   SHARAY         RUDOLPH                     CO     90003128826
54B1113A55715B   LORDA          CHAVARRIA                   VA     81043761305
54B1124755B283   DON            LOVE                        KY     90010622475
54B11591861973   JAMES          HYNUM                       CA     90014825918
54B11622572B43   JAMES          SALAS                       CO     90000326225
54B11697551348   WILLIAM        BENNETT                     OH     90010326975
54B11862851348   JOSEPH         CAUDILL                     OH     66074298628
54B1229765B393   RAGNAR VIJAY   CEREZO ESTENOZ              OR     90011502976
54B12329A57157   RAPLH          MOSS                        VA     90001693290
54B1251A385928   KIMBERLY       GRIFFITH                    KY     67059155103
54B12552233699   KEVIN          HASKINS                     NC     90009075522
54B12641A41221   ASIA           CAMP                        PA     90014956410
54B12933972B38   ANGELICA       CASTILLO                    CO     33057639339
54B13773691869   NICHOLAS       MARTIN                      OK     21001267736
54B13775976B75   PRINCESS       GUZMAN                      CA     90011387759
54B1379515B283   MOTY           BRIGHT                      KY     68052377951
54B14178398B2B   YOLANDA        BYRD                        NC     90001101783
54B144A8672B49   LAWRENCE       BROOKS II                   CO     33008964086
54B14511233699   DEON           BETHEA                      NC     90013365112
54B14979985928   ANGELA         ROBERTS                     KY     67043759799
54B14A1A72B851   MELLISA        COSTILLA                    ID     90003330107
54B14AA4872B77   LUCIANO        FRAIRE                      CO     33062420048
54B15121493724   ANDREWS        WEISS                       OH     90008121214
54B15274272B38   MISTY          PERKINS                     CO     90008242742
54B153A3572B49   MICHAEL        BELL                        CO     90011223035
54B15673872B36   LAURA          STEARNS                     CO     33091306738
54B15968261973   CASSANDRA      BUENO                       CA     90007459682
54B1621187B46B   VINCENT        HAYDEN                      NC     11032962118
54B16383484373   CARL           COLEMAN                     SC     90014853834
54B16731161975   BRUCE          GRENFELL                    CA     46001167311
54B17639384373   BENJAMIN       ATON                        SC     90005306393
54B17A69672B38   MIKE           LUCERO                      CO     90010300696
54B18435A24B7B   MIREYA         VALASQUEZ                   MD     81087524350
54B1867185758B   FRANCISCO      BECERRA                     NM     90014156718
54B19145872B49   KELLY          GRIES                       CO     90006771458
54B1923775B393   TIFFANY        INGRAHAM                    OR     90006492377
54B19625291587   MAYRA          GONZALEZ                    TX     90000616252
54B19897A5715B   AKBER          SEWANI                      VA     90010458970
54B1B271784373   MANUEL         ZUNIGA                      SC     90015032717
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 48 of 2350


54B1BA2495B387   JOSE          TORRES BARRAGAN              OR     90011880249
54B1BA45336165   JESSICA       LOZANO                       TX     90001590453
54B21164291587   MONICA        MORALES                      TX     90013151642
54B2185225B393   DAHN          ANDERSON                     OR     90003978522
54B219A7772B38   BRANDON       HAYES                        CO     90014109077
54B22588A55959   LINDA         STONE                        CA     90015365880
54B22A7257B46B   QUINTINA      HOBSON                       NC     90005580725
54B2329485758B   DAYAN         BELMONTES                    NM     90013302948
54B2342567B46B   NOEL          NAVARRO LOPEZ                NC     90012964256
54B23624872B27   CARMEN        PADILLA                      CO     90014016248
54B23744143569   DOCTOR        MARISCAL                     UT     31090867441
54B24391272B27   CHRISTINA     ASHBY                        CO     33064693912
54B24433184373   STEVEN        NELSON                       SC     90012934331
54B24897733699   MATTHEW       PARHAM                       NC     90013928977
54B25134761971   ANNA          JONES                        CA     46022071347
54B2554395B531   EMELDA        SOLIS                        NM     35002705439
54B25782157123   OMAR          PALACIOS                     VA     90001467821
54B25A3127B657   BRANDY        KELLMAN                      GA     90013450312
54B25A31385928   BRENDA        DAVENPORT                    KY     90011440313
54B25A7A75758B   ALICIA        FISHER                       NM     90013880707
54B262A3661975   ALBERTO       SANTOS                       CA     90013292036
54B2637885715B   FRAN          VARGAS                       VA     90002813788
54B2642562B851   KIMBERLY      PRICE                        ID     42014144256
54B26676385928   JOYCE         BOOKER                       KY     90007636763
54B28235198B2B   SONYA         SMITH                        NC     90010482351
54B283A7261973   JORGE         GONZALEZ                     CA     90014563072
54B284A145715B   AROZO         KHAIRZADA                    VA     90014104014
54B286A2372B38   ADRIAN        VILLANUEBA                   CO     33079326023
54B2874692B851   SUSANA        ADAME                        ID     90012357469
54B2878825758B   FORREST       MCDANIEL                     NM     90012187882
54B288A6455959   EVA           FIGUEROA                     CA     90007708064
54B2937A861975   ADAN          GOMEZ                        CA     90013933708
54B2B183972B38   LILIANA       ARELLENO                     CO     90013451839
54B2B48715715B   SONYA         WATKINS                      VA     90013144871
54B2B7A584B23B   ROSALIND      SELLS                        NE     90001237058
54B2BA8A22B851   JORDAN        NEILSON                      ID     90003690802
54B3122362B27B   ALCANTARA     MARISELA                     DC     90001902236
54B3132517B46B   BENI          LUTALADIO                    NC     90001823251
54B31487A5B393   HANI          ABIDIRAHMAN                  OR     90007974870
54B3165A151348   SHEILA        MESSER                       OH     66045396501
54B317A2361971   TINA          BUSSEY                       CA     90011527023
54B31934484373   JULIUS        FIELDS                       SC     90015019344
54B3226755758B   CTNDI         MEDRANO                      NM     90014832675
54B32516472B38   ABRAHAM       PASCUAL                      CO     90009865164
54B33252233645   BERTIN        ROMERO                       NC     12013262522
54B33621191587   HERNANDEZ     SANDRA                       TX     75016246211
54B33859855959   MANUEL        MEZA                         CA     90006688598
54B34258984373   SHANA         WADE                         SC     90003142589
54B3443515B283   KIM           ALLEN                        KY     90007994351
54B3471735B531   ELIZABETH     MOORE                        NM     90010587173
54B35251541296   MICHAEL       EBERT                        PA     90001102515
54B3546A376B68   LEONOR        POZOS                        CA     46004544603
54B3567A486427   MARCO         SORTO                        SC     90014486704
54B3658262B27B   JESSE         ANDERSON                     DC     81015075826
54B36649276B75   TIMOTHY       DAY                          CA     90014676492
54B366A6872B88   ERIKA         TORRES                       CO     90006726068
54B367A9A51348   CHRISTINA     CRAWFORD                     OH     66006107090
54B36912472B67   PRISCA        GARCIA                       CO     90002259124
54B36995A4B588   NAYELY        SADLER                       OK     90014569950
54B369A4A55959   ISRAEL        GONZALEZ                     CA     90015439040
54B3719292B27B   MARIALINDA    HERNANDEZ                    DC     90000451929
54B3727485758B   GEORGE        GONZALES                     NM     90007262748
54B37533951348   MANUEL        BARROA                       OH     90012655339
54B37537772B77   IVONEE        VELAZQUEZ                    CO     33048415377
54B37655A5B543   MARY          HAUPT                        NM     35004676550
54B37873772B49   SELENA        CANDELRIA                    CO     90002618737
54B38291261971   M             MIRADOR                      CA     90012502912
54B384A4591895   SANDRA        CARMONA                      OK     90014924045
54B38567398B2B   MARBIN        DOMINGUEZ                    NC     90002845673
54B3864368B597   ISRAEL        VAZQUEZ                      CA     90013826436
54B38773733696   DOMINIQUE     BREEDEN                      NC     90014647737
54B388A5872B36   EMILIO        JIMENEZ                      CO     90002518058
54B39111455959   LINDA         B                            CA     90008441114
54B39722A5B543   SONIA         PORTILLO                     NM     35013477220
54B39A28751348   ROBERT        ALTHAUS                      OH     66069170287
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 49 of 2350


54B3B71725B399   DONALD          BREAZEALE                  OR     90014547172
54B3B7A1A72B43   SOANI           LOPEZ                      CO     90014727010
54B42159572B27   JAKE            DINCOLA                    CO     90012491595
54B42169A61971   CAPRICE         SMITH                      CA     90013171690
54B422A6372B27   JAKE            DINCOLA                    CO     90013822063
54B42332672B38   ALBERTO         FRAISO                     CO     90013243326
54B42818A4B588   JEFFREY         COX                        OK     90003258180
54B42895461975   MARTIN          OSUNA                      CA     90010748954
54B42A4A555959   PAULINA         HILL                       CA     90011340405
54B4332314B588   TIQUILLA        FRIDAY                     OK     90003163231
54B43553891587   PALOMA          TORRES                     TX     90012405538
54B43687572B77   GERMAIN         RUIZ                       CO     33079056875
54B43A9242B27B   TYRICE          STANTON                    VA     90009510924
54B44211431429   BRIANNA         FOUNTAIN                   MO     27555862114
54B44727172B27   ORLANDO         CERCEDA                    CO     90014307271
54B44921A61975   AMELIA          ORTEZ                      CA     90013059210
54B44A34A72B49   MIRIAM          VALENZUELA                 CO     90000900340
54B44A5745715B   ROBERTO         ALFARO                     VA     90013560574
54B44A8995715B   OK HYUN         YANG                       VA     90007020899
54B45244784373   WILLIAM         DRIGGINS                   SC     19097762447
54B4558314B588   MONSERRAT       PASOHONDO                  OK     90010645831
54B46211784347   ANTHONY         CLUBB                      SC     90003612117
54B46249991587   OSCAR           JAQUEZ                     TX     75092052499
54B46961384373   BASEM           SHALASH                    SC     19038539613
54B47219A5715B   ANTONIO         JOYAS                      VA     90015302190
54B47814261973   LYNDA           MILSAP                     CA     46008058142
54B47817151322   NATE            REID                       OH     66058388171
54B47849A55959   INGRID          REYES                      CA     90012798490
54B47A81891587   ERIKA           GUILLEN                    TX     90008210818
54B4821A551348   JEREMIAH        PACE                       OH     90015182105
54B48314572B49   MARCELA         MARTINEZ                   CO     33006373145
54B4831947B46B   ALFRED          DAVIS                      NC     11074663194
54B48637791587   REYNALDO        PINON                      TX     75011866377
54B4865775B531   DAVID           ARMIJO                     NM     90010006577
54B4899142B27B   RICK            SHULTZ                     DC     90008599914
54B49136A5B387   JEFFREY         JACOBS                     OR     90008841360
54B49151872B27   JACQUELINE      GUZMAN                     CO     33093091518
54B4915875715B   DION            RIBINSON                   VA     90006631587
54B4994695B399   KAYLENE         SONGER                     CA     44559769469
54B4B464A5715B   JOSE            MARTINEZ                   VA     90014004640
54B4B647533696   TONIA           NORMAN                     NC     90014516475
54B4B9A3372B67   MUOISES         GARCIA                     CO     33057119033
54B51154955959   EDLENE          LOPEZ                      CA     90013881549
54B51534391552   CARLOS          RIVERA                     TX     90003995343
54B52189557157   HUGO            ANDRADE                    VA     90001771895
54B521A7676B75   EDGAR           LOPEZ                      CA     46064581076
54B5236182B27B   RYNIKA          JONES                      DC     90014913618
54B52411651348   DENISE          ALLEN                      OH     90007234116
54B528AAA55959   DANIEL          CABALLERO                  CA     90012248000
54B535A5A72B27   TAMMY           GONZALES                   CO     33074795050
54B5416A27195B   JOHN            GARCIA                     CO     90012501602
54B548A9A5B399   RAYMOND         MOSLEY                     OR     44560478090
54B5555A15B531   SHIRLEY         LACROIX                    NM     35082645501
54B55A21A72B27   JENNIFER        CHEVARRIA                  CO     33084510210
54B56128672B67   BRAULIO         BALDERAS                   CO     33015801286
54B5622A32B851   AMANDA          SMITH                      ID     42016442203
54B56264985928   ANDREW          BECRAFT                    KY     90008452649
54B56474261975   MARILYN         GONZALEZ                   CA     46036184742
54B56984693724   OLIVIA          RUSSELL                    OH     90011199846
54B56993593782   ROCHELLE        DEVOISE                    OH     90014629935
54B569A8672B49   ROSEMARY        RESEIGH                    CO     90005939086
54B57354676B75   REYNA           AYALA                      CA     90009593546
54B5773282B27B   APRIL           JOHNSON                    DC     90010107328
54B5788635B387   JAY             RICHEY                     OR     90014288863
54B58466131429   LINDDSEY        OWNENS                     MO     90008794661
54B5856A95B387   EDUARDO         MARTINEZ                   OR     90013955609
54B5874615715B   MOHAMED         CONTEH                     VA     81066427461
54B58973272B49   KIMBERLY        GREB                       CO     90013019732
54B595A6891895   JOSE BERNALDO   GONZALEZ                   OK     90009435068
54B5962955B243   DONNA           SOWARD                     KY     68024266295
54B597AA872B38   REBECCA         MEDINA                     CO     33033267008
54B598A2561973   FLORENTINO      MORENO                     CA     46007498025
54B5B12114B588   SHEILA          OWENS                      OK     90014511211
54B5B639A7B46B   AISHIA          MILLER                     NC     90013856390
54B5B72A291587   DON             LE                         TX     90006857202
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 50 of 2350


54B5B951661975   ALICIA        MACHADO                      CA     90014159516
54B5B973255959   CHRISTIAN     VALENCIA                     CA     90012849732
54B5B9A4772B43   RICHARD       GABALDON                     CO     33073879047
54B61163872B88   GLENDA        DERBY                        CO     90003241638
54B61374A55959   MONICA        SERRANO                      CA     90009303740
54B61586584373   RHAWNIE       GONZALEZ                     SC     90013015865
54B61885A61971   ROBERTO       GUZMAN                       CA     90011478850
54B6223A172B49   DANNY         LONG                         CO     33005232301
54B6242255B399   REGINA        HUNT                         OR     90005284225
54B62591A8B164   JOHNNY        MONTOYA                      UT     90008105910
54B62663293724   TAYLOR        MOORE                        OH     90014036632
54B62846857124   AMANDA        CRUZ                         VA     90008128468
54B62854433696   MIKE          EDWARDS                      NC     90011398544
54B6324695B387   DEBRA         TROTTIER                     OR     44506192469
54B63636791895   BRANDY        COX                          OK     21070296367
54B63644391251   ALLEN         TILLMAN                      SC     90010306443
54B63931A5B399   KAZELL        LUMINATE                     OR     44517159310
54B642A414B588   DAVID         HAMILTON                     OK     21529182041
54B64719884373   NISA          VANDERHORST                  SC     90003227198
54B64792161971   MARIA         GONZALEZ                     CA     46072307921
54B64864351348   LISA          JOHNS                        OH     90014758643
54B65198472B36   HUNG          MAI                          CO     90010711984
54B6535165B387   MARCOS        MENDEZ                       OR     90011573516
54B6547664B588   DANIEL        HOLLEY                       OK     90001054766
54B6618A572B49   STACY         CLARK                        CO     90007371805
54B66279851348   LENORA        KING                         OH     66054272798
54B67567391587   MARIA         SARELLANO                    TX     90012005673
54B6758A984373   GLORIA        MITCHELL                     SC     19031535809
54B67A7675B399   GONZALO       RIVERA                       OR     44527850767
54B68394561975   FRANCIS       NICHOLS                      CA     90013043945
54B68558372B67   GEORGIA       SWANSON                      CO     90014315583
54B68674172B27   GUILLERMO     RAMIREZ                      CO     33073166741
54B6968A361971   DAN           BARLEY                       CA     46000156803
54B69757133696   LUIS          CAMPOS                       NC     90015307571
54B69969772B88   ADRIAN        TAKAHASHI                    CO     90013599697
54B6B16325758B   ISABEL        CRUZ                         NM     90004041632
54B6B412372B67   ARACELY       VALDEZ                       CO     33091854123
54B6B7A7176B75   ROSA          AGUILAR                      CA     46034357071
54B71173884373   VERONNICA     WALLACE                      SC     90004091738
54B7152963B182   TONYA         JONES                        DC     90000805296
54B7192295715B   PABLO         MOLINA                       VA     90010699229
54B71A8A461973   ANTONIO       ELIZARRARAZ                  CA     90004850804
54B72142476B75   KENNETH       CARPENTER                    CA     46088471424
54B72194472B27   DANIELA       BONILLA                      CO     90011941944
54B723A1691895   MICHELLE      FRANCE                       OK     90010203016
54B73214485928   QUINDALE      MCCLURE                      KY     90015192144
54B73262972B43   TONYA         GIDEON                       CO     90007532629
54B73458572B27   DONNA         BELCHER                      CO     33092854585
54B73549391587   HUGO          LECHUGA                      TX     90013255493
54B73591A55959   JESSICA       PEREZ                        CA     90013555910
54B739A1661975   DAVID         PHILLIP                      CA     90012829016
54B7449835758B   GERALD        BECK                         NM     90000754983
54B7455915B543   KIMBERLY      RUBIO                        NM     35017475591
54B74A3314B588   IDES          SUMO                         OK     21591470331
54B75247572B77   AUMBREE       BOWLBY                       CO     33025112475
54B75636261973   DENISE        ARMAS                        CA     90014286362
54B75739955959   JUANA         CRUZ                         CA     48055447399
54B76263A5B387   ADOLFO        GONZALES                     OR     90012892630
54B7658452B851   HEATHER       YIELDING                     ID     90002715845
54B76772772B38   WILLIAM       MANESS                       CO     90005087727
54B76911391587   ROXANA        SANTELLANES                  TX     90011099113
54B7723944B521   ASHLEY        THOMAS                       OK     21504592394
54B7743A533699   NAKIRA        DAVIS                        NC     12062284305
54B77453484373   ROBERT        BUMGARNER                    SC     90010484534
54B77861972B67   CINDY         IBARA                        CO     33061968619
54B77896872B77   RUBEN         CASTILLO                     CO     33071828968
54B778A8591895   DAVID         SANDOVAL                     OK     90008058085
54B77948661975   ANTONIO       ORTA                         CA     90014949486
54B78428272B49   JOHN          VO                           CO     90014174282
54B78497633645   HENRY         TAYLOR                       NC     12059884976
54B7856455B393   JOHN          CLAYTON                      OR     90007415645
54B7864AA5715B   RAMON         LARA                         VA     90013696400
54B79373433699   JOEMANE       MCCOLLOUGH                   NC     90013643734
54B79592357122   ROBERTO       SOSA CRUZ                    VA     90010235923
54B7963AA61971   ZINAH         DAWOD                        CA     90012066300
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 51 of 2350


54B79758985928   JAMES         SMITH                        KY     67036367589
54B7B432455959   CHAD          SANDOVAL                     CA     90013734324
54B7B597972B27   KENDRA        WARREN                       CO     33054195979
54B7B6A515B393   MELENAITE     KALAMAFONI                   OR     44588956051
54B7B72962B851   KIM           MACHADO                      ID     42071867296
54B81463872B43   JOSSE         NUNEZ                        CO     90012784638
54B8184145758B   MICHELLE      BUSTILLOS                    NM     90008588414
54B81878272B49   ALEJANDRO     LOZANO                       CO     33000398782
54B81A15893724   MARIA         JONES                        OH     64590720158
54B8239737B631   QUIANA        CHAMBERS                     AL     90010533973
54B828A7961973   KRISHNA       SAMPERIO                     CA     46043748079
54B8325695B531   AMANDA        RODRIQUEZ                    NM     90005812569
54B8352A561975   MINERVA       GARCIA                       CA     90010185205
54B83644272B43   CAROLINE      DEBACA                       CO     90011866442
54B8372A372B49   REBECCA       LOPEZ                        CO     33055777203
54B83891357157   ELIZABETH     GONZALEZ                     VA     90004998913
54B8444645B399   JESSICA       FOX                          OR     90013904464
54B8453A172B77   LIZZETTE      CARRILLO                     CO     33088635301
54B8463A55B387   YESENIA       ANQUIANO                     OR     90007876305
54B8487674B588   CARLOS        RENDON                       OK     90013268767
54B85112191587   ADRIAN        FLORES                       TX     90007161121
54B85688A91895   CARMELITA     PALMER                       OK     21038226880
54B8599A63B372   DANIEL        VISSER                       CO     90012869906
54B85A1A85B531   JONATHAN      NULL                         NM     90015050108
54B86178576B75   ALEJANDRO     GOMEZ                        CA     46051771785
54B86298333699   JIM           MANKINS                      NC     90011022983
54B8684555715B   ELVIS         MARTINEZ                     VA     90015398455
54B8734915B531   JAVIER        ARAUJO                       NM     35040193491
54B87693172B49   DARRIN        GONZALES                     CO     90012996931
54B87A9348B597   MARISOL       PALOMINOS                    CA     90015460934
54B88171A72B88   WILLIAM       MORTON                       CO     90003241710
54B884A9A8B169   KC            COLLIER                      UT     90007284090
54B88554672B43   SHELLEY       GILSON                       CO     90011975546
54B8865A361975   IMELDA        BOJORQUEZ                    CA     90010246503
54B88785851348   TRESA         VOGT                         OH     90014637858
54B887A4172B38   RENE          MARCO                        CO     90013047041
54B89222284373   CHRIS         BRANCH                       SC     90005612222
54B89327376B75   ISABEL        HERNANDEZ                    CA     90013793273
54B8976255B387   EDDIE         BLACC                        OR     90000197625
54B8B158691587   SAMUEL        CHAVEZ                       TX     90013621586
54B8B511372B27   MICHAEL       BENAVIDEZ                    CO     33034575113
54B8B79AA42335   ALISHA        BARBER                       GA     90011797900
54B8B95515B399   JANELLE       GASTON                       OR     44522139551
54B9147A35B531   AMY           TURNER                       NM     90009734703
54B91589472B49   SARA          BANOUN                       CO     90012425894
54B9166184B588   JEZREEL       LOPEZ                        OK     90001586618
54B92233791587   NADIA         BARRAZA                      TX     90012722337
54B92323A93724   PAMELA        ANDREJCIO                    OH     90011633230
54B92422A2B851   ALEXA         MARTINEZ                     ID     90011534220
54B9242A47B46B   EDWIN         GONZALEZ                     NC     90013364204
54B92556176B75   COLIN         GORDON                       CA     46063905561
54B93198361975   JERALD        IZAGUIRRE                    CA     90012321983
54B93389455959   ROBERT        TREJO                        CA     90015583894
54B94112961971   BRIDGET       STANLEY                      CA     46012631129
54B94188298B2B   QUAMEKA       BENNETT                      NC     11009201882
54B94389691895   TONG          SEI                          OK     90014343896
54B94573555959   FRANCISCA     RUBIO                        CA     90011315735
54B95211961971   JERILYN       LEISER                       CA     90003332119
54B95371772B38   ADAM          GRATEDA                      CO     90009663717
54B96179585928   ANGEL         HIGUERA                      KY     67068391795
54B9623295B399   KATY          CLIPSTON                     OR     90013172329
54B96234257157   EDRAS         PAZ                          VA     81011182342
54B96269861973   CAMELIA       RODRIGUEZ                    CA     90012182698
54B962AA85B393   GASPAR        LOPEZ                        OR     44552592008
54B96547672B38   JOHN          ANTOINE                      CO     33073675476
54B969AA57B372   FRANCISCO     NARVAEZ                      VA     90001619005
54B97477172B88   TIANNA        MORISON                      CO     90003624771
54B9756275B387   JIMMY         RODRIGUEZ                    OR     90013955627
54B97A92772B43   EVELYN        ESCOBAR                      CO     90013270927
54B9821A551348   BEULAH        VANCAMP                      OH     90011022105
54B9842545B393   ANTONIO       RODRIGUEZ                    OR     90005034254
54B98761261975   GEORGE        MENDOZA                      VA     46067097612
54B98794685928   YOLANDA       MORTON                       KY     90013817946
54B98829A2B27B   CARL          HAWTHORNE                    DC     81005378290
54B9898A872B38   EDUARDO       DURAN                        CO     90011569808
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 52 of 2350


54B9922974B588   LUZ             ALEJOS                     OK     90013532297
54B99514472B38   KARYN           SUROVIK                    CO     33085445144
54B9956325B387   IAN             JACKSON                    OR     90013955632
54B99A62672B36   KYONG           REITER                     CO     90014130626
54B9B14A87B46B   TAHASHI         WILLIAMS                   NC     90013641408
54B9B32867B463   RAMON           RODRIGUEZ                  NC     90015333286
54B9B341891895   JESSICA         JUAREZ                     OK     90009243418
54B9B397976B75   BETH            GALLION                    CA     90012123979
54B9B573A7242B   DAVID           WALKER                     PA     90002265730
54B9B733A2B851   KRISTOPHER      MARLATT                    ID     90009297330
54B9B977561975   TISHA           TUCKER                     CA     90013529775
54BB1318161975   ISMAEL          VIDRIO                     CA     46034243181
54BB1821884373   SANTONIA        SINGLETON                  SC     19077598218
54BB1956293724   TONISHA         MOSLEY                     OH     64509109562
54BB1A18472B38   ERIK            ZAVALA                     CO     90012990184
54BB1A46561971   MARK            SCOTT                      CA     90013090465
54BB2116172B49   WONDA           GUTIERREZ                  CO     33049171161
54BB253645B387   ADAM            WOHLTMAN                   OR     90013955364
54BB262985B531   JAMES           HERRON                     NM     90014306298
54BB287534B588   MARY            HERNANDEZ                  OK     21598718753
54BB2934333696   CARLETHA        CROWELL                    NC     90008619343
54BB314325B531   CYNTHIA         AGUILAR                    NM     90012301432
54BB315285B399   JUSTIN          FISSEL                     OR     90012471528
54BB33A2A5B393   SUFIAN          ELNOIEMEY                  OR     90002193020
54BB354595B387   LILA            BAUDEL                     OR     90012745459
54BB37A4A5B399   JASMINE         SILVA                      OR     90013947040
54BB3878951348   DAWN            EWING                      OH     66041048789
54BB3A9A876B75   GABRIELA        GUTIERES                   CA     46026990908
54BB4151233699   MARY            BROWN                      NC     12017701512
54BB426765B531   DAVID           ALDERETE                   NM     35017112676
54BB4916872B27   MICHEAL         MOORE                      CO     90013899168
54BB518925B531   WILBERT         WILSON                     NM     90005331892
54BB5429761971   GLADYS          ROBERTS                    CA     46070754297
54BB548435715B   JALIKATU        JALLON                     VA     90013774843
54BB5512543569   WESLEY          ALBISTON                   UT     31090325125
54BB5527591587   MONICA          PALACIOS                   TX     90014005275
54BB5858393724   EDDY            RIVERA                     OH     64587908583
54BB5875555959   ALEXANDRA       MURILLO                    CA     90007368755
54BB5925593724   JACOB           OCHEN                      OH     90014249255
54BB6113993724   JOSHUA          BUCKINGHAM                 OH     90015121139
54BB632545B387   ELIZABETH       MARTINEZ                   OR     90014743254
54BB666515715B   JAVIER          ORTA                       VA     90011906651
54BB6711255959   EMMANUEL        CHERRES BRAVO              CA     90013977112
54BB7124172B36   OSCAR           LOPEZ                      CO     33053991241
54BB7695972B27   PETRA           GONZALEZ                   CO     90010596959
54BB779AA41242   VALERIE         TAYLOR                     PA     90007627900
54BB7A55576B85   VICTORINO       GUERRA                     CA     46003700555
54BB8146372B27   CANDESSA        STAFF                      CO     90010971463
54BB838113B345   RICHARD         KOURI                      CO     90001123811
54BB8597A5B387   TAYLOR          ADAMS                      OR     44522335970
54BB8658A72B49   MIRNA           FLORES                     CO     90000136580
54BB941375B531   LATHASHAL       GREEN                      NM     37027394137
54BB947845715B   GENAR           PADILLA                    VA     90008364784
54BB9633472B36   TAMARA          GUZMAN                     CO     90014106334
54BB9686184373   ANTONIO         AGUILAR                    SC     90009736861
54BB9A59A5B543   RUBEN           BARNARD                    NM     90006520590
54BBB427672B36   JULIETA         BASTIDA                    CO     33086944276
54BBB627598B2B   LILLY           FRANK                      NC     90008746275
55111A4A72B92B   MONIKA          LORENZO                    CA     90010440407
5511217844B28B   RONTRAL         BLUFORD                    NE     26066401784
55112652872B85   ARIANA          JAQUEZ                     CO     90012826528
5511282425758B   RIVAS           JUANA                      NM     90009958242
5511358277B46B   TANIA           ESTRADA                    NC     90012505827
5511358A491552   JULIO           QUEZADA                    TX     90013555804
551136A135B387   JOSE            MURRILO                    OR     90011426013
5511397929373B   STEPHANIE       GOINGS                     OH     64578779792
5511471912B851   NATALY          RAMIREZ                    ID     90012007191
55114778A72B43   CARMELA         AGUILAR                    CO     90013177780
5511487AA5B129   MARTHA ANDREA   SAAREDRA                   AR     90006518700
55114A59191587   ROBERTO         MUNOZ                      TX     90011060591
5511596422B27B   WILLIAM         JENKINS                    DC     90012049642
55115A2A984357   DENISE          JOHNSON                    SC     90009030209
5511616A191895   RON             HURLEY                     OK     90009661601
55116811772B38   YASMEEN         GUTIERREZ                  CO     90014928117
5511688385B543   GRIEGO          TONY                       NM     90004398838
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 53 of 2350


5511737882B27B   ERIKA         BUCHANAN                     DC     90014583788
5511756685758B   LORI          BACA                         NM     90005695668
55117726372B49   KIMBERLY      PARKS                        CO     33089517263
55117813A33699   TIMOTHY       HAIRSTON                     NC     90003048130
55117991324B7B   NELY          HENRIQUEZ                    DC     90014189913
55117A3175B338   SARAH         SMALLING                     OR     90010390317
55117A37855951   FRANCIS       MONNIS                       CA     90002280378
551184A8472B49   JOSE          DIAZ                         CO     33065804084
55119217172B85   MARIBEL       GOMEZ                        CO     90014442171
5511926264B521   MEGAN         BREWINGTON                   OK     90006902626
55119584472B49   JANUSZ        SANECKI                      CO     90013515844
55119747198B2B   GABRIEL       RIVERA                       NC     90009347471
5511982A85B387   ROBBI         FORSTER                      OR     44545688208
5511B28615B543   DIMAS         PADILLA                      NM     35000932861
5511B37A272B38   FLORES        LETICIA                      CO     90001193702
5511B395343569   HEATHER       HATHAWAY                     UT     90008043953
5511B684A72B88   JENY          OCANA-GUTIERREZ              CO     90012226840
5511B765172B49   JOHN          DONOVAN                      CO     90014157651
5512112432B851   CHRISTINA     SOTEROPOULOS                 ID     42090191243
5512151565B399   CESAR         VALVERDE                     OR     44571685156
5512217315B387   BO            LA DUE                       OR     90015221731
55122A54633699   JAMI          SOUTHERN                     NC     90014670546
5512345365B531   CLARIDA       SALASAR                      NM     90014824536
5512459275715B   PATRICK       FENN                         VA     81075895927
5512533995715B   WENDY         REYES                        DC     90013033399
5512555997B46B   TASHIBA       MCCLELLAN                    NC     90002705599
5512576122B27B   JOHN          SIMTH                        VA     90013147612
5512589995B399   MALCOM        RICHARDSON                   OR     90014348999
55126271772B85   HALEY         LANDRETH                     CO     90012272717
55126538972B85   LUPE          VALDEZ                       CO     90015125389
55126554372B27   NORBOTO       RAMIREZ                      CO     90001785543
5512679A172B36   BIANCA        ORQUIZ                       CO     90009467901
5512783384B588   ASIA          ABRAMS                       OK     90012838338
55127A1965B387   TELIA         ANDERSON-GRANT               OR     90014870196
55127A47185928   FERRANDO      PEREZ                        KY     90008860471
55128833872B36   JOHN          RISE                         CO     33010238338
5512966947B46B   ALEX          MART                         NC     90014166694
5512B131691587   LEYVA         MARYTE                       TX     90012791316
5512B162672B27   BRENDA        BORREGO                      CO     90008751626
5512B1A5551348   JODY          YOUNG                        OH     90014301055
5512B26A64B521   CHARNINA      COLEMAN                      OK     90003952606
5512B9A285B387   CHRISTOPHE    FIELDS                       OR     44507809028
5513154955B387   BRIAHNA       BATISTE                      OR     90001605495
5513176865758B   LEAH          GARZA                        NM     90010707686
5513177845B399   NOE           CAMARGO                      OR     90007727784
55131A3112B27B   KRAIG         BROWN                        DC     90012670311
55132339172B49   SEMAJ         OLGUIN                       CO     90010973391
55132927272B49   JOSE          AGUILAR MARMOLEJO            CO     90011359272
5513354A191534   RAUL          RAMIREZ                      TX     75073035401
551335A395B283   LETICIA       GONZALEZ ESTRADA             KY     90011705039
55133687172B43   BRITTANY      ERICKSON                     CO     90005906871
55133951672B85   ERIC          MACGILL                      CO     33067229516
5513493A861973   ARMANDO       JUVERA                       CA     90013639308
55135614372B49   ELSA          MARTONEZ                     CO     90010226143
55135784672B38   SHARON        SAJRONZAMORA                 CO     90007207846
55136651672B49   JESSI         TROCHEZ                      CO     90011656516
5513674A55B283   MARK          ADAIR                        KY     90006497405
551374A7672B67   DONTE         BIRDSONG                     CO     33041694076
55137781872B49   LAURA         EDWARDS                      CO     90003047818
5513779895715B   MARIELA       ESPINA                       VA     90005377989
551379A667192B   RONDALYNN     JONGELING                    CO     90003869066
5513846814B588   MARIA         ZAVALA                       OK     90009964681
5513853635B399   STACEY        ROBERTSON                    OR     44588715363
55138A71351348   BRIANNA       THURMOND                     OH     90014570713
55138A84761973   SEFCHOVICH    GABRIEL                      CA     90007150847
55139113A5715B   JAMES         WILLIAMS                     VA     90013331130
55139A4592B851   ZACHARY       FLORES                       ID     90005420459
55139A68261971   REYNALDA      GONZALEZ                     CA     90010130682
55139A98573268   CHRISTOPH     HANNAFEY                     NJ     90014940985
5513B15475B387   MARTIN        GARCILAZO                    OR     90013921547
5513B1A895B399   ABHIMANU      CHAUDHARY                    OR     90011381089
5513B292155997   MARIA         VARGAS                       CA     90014802921
5513B38385715B   ALFREDO       MENDEZ                       VA     90013033838
5513B654891587   LUDWIKA       SOLIS                        TX     90013456548
5513B668772B36   PEPE          ALAMILLO                     CO     33004726687
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 54 of 2350


5513B919A72B85   VERONICA      RIVAS                        CO     33080719190
5514127187B46B   ARNALDO       PERDOMO                      SC     11014402718
55141372A5B129   GLENDA        PRIDE-IRBY                   AR     23079863720
55142743172B43   SERINA        DURAN                        CO     90012557431
55143292A72B43   JAMES         SANCHEZ                      CO     90010292920
55143391A72B49   MARIA         TORRES                       CO     90011403910
5514354262B851   DEBRA         RAMERO                       ID     90006725426
55143577A81265   JEREMY        EVANS                        IN     90015465770
551435A124B588   MARIE         ERVIN                        OK     90009405012
55143729572B36   JESUS         GONZALES                     CO     90011627295
5514458265B283   VALLE         ENCARNACION                  KY     68037645826
55144A73591895   LUIS          CHINCHILLA                   OK     90014690735
5514541385B531   LUISE         AGUIRRE-CARLOS               NM     35073694138
5514545525B387   MARICELA      MONTES ALVAREZ               OR     90014754552
55145893A72B21   ROSEMARY      ORNELAS                      CO     90005768930
5514598484B525   MANUELA       GARCIA                       OK     90010589848
55145A52672B27   CHISPAS       ROOT                         CO     90014560526
55145A56484357   GLENDA        JOHNSON                      SC     90014740564
5514682535B531   ERIC          GABALDON                     NM     90011938253
5514694714B588   ISMAEL        HERNANDEZ                    OK     21573389471
5514786375B399   SEAN          LINDEN                       OR     90005218637
55148285272B38   KORI          DEWING                       CO     33019722852
551485A395B283   LETICIA       GONZALEZ ESTRADA             KY     90011705039
551487A762B27B   CHRIS         MCKINLEY                     VA     90012787076
55148A6A55758B   POLLY         WILSON                       NM     90012400605
55149164372B85   CESAR         PEREZ                        CO     90014251643
5514985135B387   ILON          INONA                        OR     90012398513
5514992A498B2B   LAKEISHA      BYRD                         NC     90006799204
55149935A91356   SYLVIA        TOWNLY                       KS     90014759350
5514B261361975   FERNANDO      BALDOVINOS                   CA     46037552613
5514B85754B588   EMILY         HELTCEL                      OK     90010948575
5514B918A5B399   JESSICA       CRUZ                         OR     90008729180
55151875A5B531   ANNA          JIMENEZ                      NM     90009838750
55151A6A961971   JASON         LANG                         CA     46014610609
5515212515B543   ANTONIO       ARAGON                       NM     90005321251
5515219A391895   ROBERT        ROBERSON                     OK     21004471903
5515275A372B49   JAMES         PEARSON                      CO     33008137503
55152967A72B54   JAMES         NATIVIDAD                    CO     90005459670
5515321667B46B   GAMALIA       MOORE                        NC     90010882166
5515391585758B   ELVA          RENTERIA                     NM     35580279158
55154262872B36   RAYMOND       SCOLES                       CO     90011382628
5515445375715B   SALMAN        KHAN                         VA     90013034537
5515446855B387   DANIAL N.     BIORNSTAD                    OR     90015114685
55155141872B43   ERASMO        MEDINA                       CO     33056031418
5515551672B27B   CHERRI        WILSON                       DC     90013075167
5515553384B588   ROBERT        REDFORD                      OK     90009855338
5515638852B27B   DANIELLE      WORRELL                      DC     90014583885
5515654775B531   JORGE         CUEVAS-RIOS                  NM     35058815477
5515656272B998   MARGARITA     HERNANDEZ                    CA     90006905627
5515657A855935   JOSE          RAMIREZ                      CA     90007935708
551565A5131428   VALERIE       RAHMBERG                     MO     90012185051
5515663525B543   NICOLE        PARRA                        NM     35021076352
55156791598B2B   SHAWANDA      ASHE                         NC     11035337915
55156A62181678   MYEASHA       HALIBURTON                   MO     29000410621
5515711255758B   BRENDA        CORTINEZ                     NM     90015331125
55157A56657157   FELISHA       OLIVER                       VA     90007600566
55157A58585928   MICHELLE      JOHNSON                      KY     67016940585
55157A6A55758B   POLLY         WILSON                       NM     90012400605
5515827A65758B   SYLVIA        ESCALANTE                    NM     35599042706
55158325A5715B   WONDIRAD      ESSAYAS                      VA     81003413250
5515855735B531   RAYCHELL      LEWIS                        NM     35019955573
55158793A51348   PAUL          AUSTIN                       OH     66001917930
5515889627247B   BRIDGET       ACKLEY                       PA     90007528962
55158A85A7B46B   MICHAEL       NOBLITT                      NC     90013180850
551591AA85B531   AUTUMN        CHACON                       NM     90005841008
55159A19491939   DARIEN        YOUNG                        NC     90001110194
55159A9545B387   LILLIAN       LEE                          OR     90014860954
5515B17127B46B   RUTH          PETTUS                       NC     90007341712
5515B451372B88   BENJAMIN      SMITH                        CO     33007674513
5515B48315B387   LAZARO        LOPEZ                        OR     90012374831
5515B563961971   AMANDA        WALLER                       CA     90013565639
5515B829785628   EUGENIO       MARTINEZ                     NJ     90010578297
5515B832751326   RENEE         FORRESTER                    OH     90006268327
55161769972B49   BEATRIZ       BATRES                       CO     90010377699
55161997572B27   CINDY         MUNOS                        CO     33009119975
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 55 of 2350


5516215475B531   LETICIA       MENDOZA-ORTEGA               NM     35092231547
5516227A685928   HEATHER       MANSELL                      KY     90005982706
5516229152B851   ANDREW        MONAHAN                      ID     90010412915
55162359A72B38   CARLOS        CHAIREZ                      CO     33019723590
5516277695758B   CINDY         CLARK                        NM     90015147769
55162776A91356   SARAH         NITZSCHKE                    KS     90013157760
551637A324B588   EDUARDO       MADBULL                      OK     90006367032
551641A115635B   JASMINE       BANKHEAD                     IA     90014281011
55164776A91356   SARAH         NITZSCHKE                    KS     90013157760
55164792872B38   LEE DON       QUINTANA                     CO     90002877928
551649A132B27B   JANICE        DEAN                         DC     90005969013
551657A467B46B   CLARK         MONIN                        NC     90010267046
55165992A61973   ARTURO        SAENZ                        CA     46067089920
55165A5635B531   DAVID         DAMON                        NM     35093180563
55165A78791356   REGINIA       MATHIS                       KS     90011060787
551665AA55B543   GERARDO       CAMPOS                       NM     90002735005
5516698A34B28B   MAURICE       BRASSELL                     NE     26082749803
551673A164B588   DIANA         HARLAN                       OK     90014803016
55167A39555997   RICARDO       FELIX NIEBLAS                CA     90013090395
55168182A8649B   BARRY         VARTON                       SC     90013831820
551682A8491587   GUSTAVO       IBARRA                       TX     90011132084
551686A9A91895   JESSICA       RANSBOTTOM                   OK     90013546090
55169522572B38   JUAN          GUTIERREZ                    CO     90013065225
5516973175758B   MARIA         VARELA                       NM     35543827317
5516B1A6991587   MARIA ELENA   SOSA                         TX     90015191069
5516B299A2B27B   EXTASIS       CACERES                      DC     90010872990
5516B2A165B387   GREGORIO      LOPEZ                        OR     90014052016
5516B355361975   ESTEBAN       RODRIGUEZ                    CA     90014203553
5516B464191356   HEATHER       HARRIS                       KS     29093674641
5516B65955758B   MONICA        DOMINGUEZ                    NM     90007526595
551711A4561971   MOLINA        KENNETH                      CA     46071731045
5517127185B399   MARIA         LOPEZ                        OR     44501002718
5517148A472B43   ANTHONY       DEJULIO                      CO     90008944804
551716A5472B38   ROSA          ZARAGOZA GONZALEZ            CO     90012876054
5517197515758B   ELIZABETH     DIAZ                         TX     35519089751
551721A5A5B271   LAURA         LIVESAY                      KY     68080301050
5517295824B588   DEVIN         MORRISON                     OK     90014729582
551729A6A4B521   JORGE         UVALDE                       OK     90001429060
55173665372B36   ADRIAN        CASTANON                     CO     90014946653
5517557487B365   TANIA         SAMPERIO                     VA     81011015748
5517578285758B   ERNEST        BANEGAS                      NM     90014427828
551759A115B531   DELLIAH       GARCIA                       NM     90012159011
55176338772B49   BRIAN         MORACE                       CO     90010293387
5517643535B543   LUIS          MARRUFO                      NM     35010844353
5517652955715B   CORY          TAYLOR                       VA     90013035295
5517725984B588   TABITHA       MCDOULETT                    OK     90011752598
5517896845758B   VICKEY        ARREY                        NM     90012639684
55178A5215B399   CLEARANCE     KENNER                       OR     44503120521
55178AA9851586   JAFAR         KINI                         IA     90012320098
55179177772B85   HIGDON        ARMSTRONG                    CO     33087391777
55179563A51348   WILLIE        COLEMAN                      OH     66014055630
5517B281661975   SEAN          WEBER                        CA     90013292816
5517B288272B27   SIENA         PEARCE                       CO     90015322882
5517B2A7331428   TIFFANY       LEWIS                        MO     90012082073
5517B623291356   HOLLY         ADKINS                       KS     90002866232
5517B934A91587   JORGE         BENAVIDEZ                    TX     90014729340
5518123A691587   EDUARDO       CAMARA                       TX     90014652306
5518171385B399   ANTONIO       RENEN                        OR     90014847138
55181A3754B588   JENNIFER      EVANS                        OK     90005810375
55181A89372B27   JULIO         MADERA                       CO     90011930893
55182931272B38   JESUS         TALAMANTES                   CO     90011179312
5518391455B399   CHARLES       PRYOR                        OR     90011439145
5518614635B531   OPHELIA       ANTONIO                      NM     90009361463
55186699A91523   EDUARDO       RAMIREZ                      TX     90009366990
55186A2717B46B   MARIA         JONZALEZ                     NC     11004430271
55187333A51348   JENNIFER      LENOS                        OH     90014033330
5518742845B399   FERNANDEZ     BECERRA                      OR     90012174284
5518762185B387   LISA          WALKER                       OR     44549686218
551881A994B28B   SUSAN         LUCHT                        NE     26052281099
55188639A33696   DAWNIELLE     MCGEE                        NC     90009346390
551887A392B27B   CHARLES       SUMMERVILLE                  DC     90011307039
55189558A5758B   ERIC          CHAVEZ                       NM     90012025580
5518998A991968   JOSUE         RAMIREZ                      NC     90008809809
5518B3A995B531   ANA MARIA     RAMIREZ                      NM     35042633099
5518B5A6872B38   JON PAUL      COOPER                       CO     90011455068
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 56 of 2350


5518B916A5B531   ANA MARIA     RAMIREZ                      NM     90012079160
55191113672B36   KRISTEL       HERNANDEZ                    CO     90008711136
551912A4872B85   CARLOS        RAMOS                        CO     90014252048
55191A5282B27B   EDWIN         ROMERO                       DC     90007980528
5519237165B531   ARACELY       GOMEZ                        NM     35004093716
5519421682B851   STACEY        RODRIGUEZ                    ID     42064472168
551951AA94B588   TONJA         DENNIS                       OK     90006851009
5519522A28B188   JUAN          OSEGUERA                     UT     90008292202
5519531A472B43   JAIME         RASCON                       CO     90012613104
5519539955715B   DUSTIN        PALMER                       VA     90014763995
55195AA7131468   SABRINA       BREWER                       MO     90001430071
5519622142B851   DAVID         JENNINGS                     ID     42063222214
55196A4A672B43   LOURDES       URIAS                        CO     90013810406
55197439372B36   JUAN          CANO                         CO     90009614393
5519761785758B   RAFAEL        REYES                        NM     90013536178
5519821175B387   STACY         CHA                          OR     90008242117
551984A7261971   CRYSTAL       MACKIN                       CA     90014364072
55199259A84341   MAURA         FLORES                       SC     90013332590
551992A7372B85   MARY          SERNA                        CO     90014252073
5519931A472B27   MARIA         SANDOVAL                     CO     90012723104
5519945A172B67   FLORENCIA     FLORES                       CO     33041704501
5519B212491587   JOSE          ARZOLA                       TX     75018152124
5519BA64851348   DAVID         DOMINGES                     OH     90002290648
5519BA86A5B271   MICHAEL       HINES                        KY     68047200860
551B1272644363   GEORGE        DANIELS SR                   MD     82064852726
551B147924B28B   JONI          OLBERDING                    NE     26076144792
551B167575B283   CJ            BROWN                        KY     90006496757
551B1815372B67   TWAQWELLA     HENDRIX                      CO     33094288153
551B2124298B2B   LETA          ROUDOLPH                     NC     11060481242
551B241485758B   CLARISA       REZA                         NM     90011294148
551B2843172B88   NICHOLAS      SARTORI                      CO     33016448431
551B2928772B38   KRIS          DEANDA                       CO     90011099287
551B3843172B88   NICHOLAS      SARTORI                      CO     33016448431
551B3875A7B46B   SHANDRICE     PORTER                       NC     90007148750
551B441895B531   MICHAEL       FISHER                       NM     90013044189
551B4448591266   FREDRICK      WOLFOLK                      GA     90015004485
551B4492391587   CARLINA       VILLALOBOS                   TX     90011014923
551B451755B531   IMELDA        OLIVARRIA GAMBOA             NM     90010345175
551B458385715B   RAMON         GONZALEZ                     VA     90003175838
551B475895B283   SOTANA        MAYES                        KY     90012557589
551B4855272B36   MUELLER       DAVID                        CO     33095648552
551B5166772B49   IRMA          GARCIA                       CO     33036781667
551B5218572B43   PORFIRIO      CARBAJAL                     CO     33008842185
551B5258991356   JASON         BLACK                        KS     90013122589
551B535A572B27   RYAN          PACHECO                      CO     33008843505
551B557315758B   TODD          GANTZLER                     NM     90008185731
551B5575798B2B   DEWANA        COLE                         NC     90005615757
551B5784A57157   MOHAMMAD      IQBAL                        VA     90006387840
551B5A12791587   NICOLE        LUSHER                       TX     90013960127
551B6262385928   GAVIN         ROGERS                       KY     90015422623
551B687527B46B   LIZ           ROHRBACH                     NC     11065878752
551B733924B588   JOSE          MARRUFO                      OK     90012343392
551B7838633699   JIMMY         CARPENTER                    NC     90000108386
551B78A7972B67   ROXANNE       GALLEGOS                     CO     90006598079
551B811A451348   PHILLIP       BROWN                        OH     90007161104
551B8297891356   ROBERT        KNIGHT                       KS     29024872978
551B865A22B27B   FELICIA       BRANHAM                      DC     90013486502
551B874A75B531   RAFAELA       CHAPARRO-GUTIERREZ           NM     35015407407
551B876A861971   AARON         ARMSTRONG                    CA     46088967608
551B9478161975   TERESA        FLORES                       CA     90014824781
551B9578161975   LOURDES       REYES                        CA     90012765781
551B9594872B36   SAID          BENJELLOUN                   CO     90002785948
551B9A68A72B49   HELEN         HEIDBRIDER                   CO     33036180680
551BB32864B28B   THOMAS        TAYLOR                       NE     90002713286
551BB38895758B   RUBY          SALAZAR                      NM     35594303889
55212393972B27   ALEKSANDER    TYLEC                        CO     33038553939
5521243535B561   TOBY          ROMERO                       NM     90011644353
5521253A685928   DIANA         MCDONALD                     KY     90002855306
55212719A9B121   ANTHONY       THOMAS                       AR     90010297190
55212781A72B43   TIKA          BISTA                        CO     90009547810
5521286514B28B   HOLLY         MCSHANNON                    NE     26007878651
5521441812B27B   ERICK         HERNANDEZ                    DC     90009884181
5521465772B851   CHRISTINA     ZACARIAS                     ID     90008606577
5521539955715B   DUSTIN        PALMER                       VA     90014763995
55215672872B49   JEREMY        MCADORY                      CO     90000856728
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 57 of 2350


55217935A5B283   BEVERLY       JOHNSON                      KY     90006329350
5521836A772B36   SONNESSA      GONZALES                     CO     33066523607
55218435172B43   RAFAEL        MACIAS                       CO     33046624351
55218476A57157   TEQUILA       WILLIAMS                     VA     90001914760
55218632772B85   ROGER         MARTINEZ                     CO     90013896327
55219298272B43   YOLANDA       GUADARRAMA                   CO     90012582982
55219321472B38   LILIANA       SANTANA                      CO     33059083214
55219577372B27   ANAIS         SALCIDO                      CO     33094925773
5521972675B387   ARESLY        LOUIS                        OR     90011857267
55219A3685B283   SHELLARA      GRIFFIN                      KY     90009590368
55219A6214B28B   PEDRO         ORTEGA                       NE     26085030621
5521B14937B46B   MOULTRE       SPENCER                      NC     11073631493
5521B1A5885928   STEPHEN       NICHOLS                      KY     90013041058
5521B358561971   BRENDA        WALKER                       CA     90004623585
5521B445872B38   MARCUS        HALL                         CO     90013384458
5521B742133696   SHAMEKA       COLEMAN                      NC     90010967421
5521B873A51348   ROBERT        PARKER                       OH     90014028730
5522242554B588   ELIZABETH     BYRNES                       OK     21588414255
55223578A91356   HOLLY         BURTON                       KS     90011995780
55224326A61973   PATRICIA      ANAYA                        CA     46015683260
55224536A72B49   NICK          TRIMBLE                      CO     90010055360
55224A44272B27   HECTOR        AGUILAR                      CO     90001800442
55224A76561971   CLAUDIA       FERNANDEZ                    CA     90015160765
5522568932B851   KERINA        LEE                          ID     42051986893
5522581187B46B   DANA          MARTIN                       NC     11002638118
552258A684B588   RIO           MIMS                         OK     90008348068
55226594A5B399   RYAN          SMITH                        OR     90010765940
552281A554B521   KOFI          SANGI                        OK     90014691055
55228254972B38   SILVIA        PRIETO TOLEDO                CO     90012042549
55228256672B85   REYES         CLAUDIA                      CO     90007082566
5522881454B588   KAISHIA       LINZY                        OK     90011128145
55228943972B38   SILVIA        PRIETO TOLEDO                CO     90003609439
55228A88555951   SANDRA        RAMIREZ                      CA     90008410885
5522919525598B   JOSE          ROMERO                       CA     90007981952
552294A8427B3B   TAMMY         DAVIE                        KY     90007954084
55229591A84357   MARCY         SANCHEZ                      SC     90007985910
55229785A61971   ZAARBARA      MYERS                        CA     90015277850
5522983634B588   AERIAL        FAZEKAS                      OK     90014518363
5522B189261971   LUNNEAY       SEAN                         CA     46081081892
5522B21627B46B   TAMMY         CULLER                       NC     90014582162
5522B344857157   PAYGO         IVR ACTIVATION               VA     90013833448
5522B4A2393721   MELISSA       CLARK                        OH     64598674023
5522B94675B543   LOURDES       CORDOVA                      NM     35001309467
5523133A85B387   MICAELA       JUAN ANDRES                  OR     90000163308
55231342A33696   STACEY        AMICK                        NC     90009203420
55231385A72B36   HANNAH        SMITH                        CO     90012663850
5523151A55B531   JUANITA       MCCOY                        NM     90013525105
5523154725598B   YOLANDA       VASQUEZ                      CA     90006275472
5523288A661973   APRIL         BERRY                        CA     90014538806
55233A65161975   DEBORAH       CAZARES                      CA     90013970651
55234A34A72B38   MARIA         LOMELI                       CO     33093380340
55235476A2B851   TAKNEN        CRYSTAL                      ID     90009134760
5523557A572B49   TERRANCE      WILLIAMS                     CO     90008035705
55236233972B85   JAIDYN        CORDOVA                      CO     90014252339
5523634254B588   SERGIO        SALAZAR                      OK     90014713425
5523636A261973   ELMER         ARRIGUNI                     CA     90003073602
55236569272B38   APRIL         REED                         CO     90015025692
5523728985715B   BAYRON        MALDONADO                    VA     90015022898
5523796584B588   BRADLEY       WALDMAN                      OK     90008739658
55238837272B67   ENRIQUERA     QUINTERO                     CO     33015868372
55239129A4B588   FREDIE        FUSTON                       OK     90010341290
552394A985715B   VICTOR        ONORATO                      VA     90014764098
55239736772B85   SILVIA        MEDINA-RODRIGUEZ             CO     90014257367
5523B629785928   CASEY         EHNEY                        KY     67090116297
5523BA22772B36   KATE          STENSTROM                    CO     33087140227
55241197A72B49   LINDA         VILLAR                       CO     33081831970
55241249972B36   MAXINE        WARE                         CO     33046402499
5524126435B399   MARIO         RAMOS                        OR     44586072643
5524257194B588   TATYWONE      ANGLIN                       OK     90014265719
55242847A7B46B   SALENA        DAVIS                        NC     90005188470
5524285A272B49   MARCIA        MARTINEZ                     CO     33059038502
55242A6665758B   ANGELA        SEGURA                       NM     90009500666
5524359964B28B   COURTNEY      DAVIS                        NE     26048005996
5524394A22B976   STEPHEN       WALSKI                       CA     90006189402
55244644972B36   BRIGID        KELLY                        CO     33059226449
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 58 of 2350


5524473815715B   ANGELIQUE     EARLEY                       VA     90006707381
55244A52451348   TASHA         MARSHALL                     OH     66005950524
55245272572B38   NICOLE        RICE                         CO     90013292725
5524597753143B   MICHELLE      CLAYTON                      MO     90014889775
5524619AA5715B   MARIA         HART                         VA     90011431900
55246541172B67   JENNIFER      MCCORD                       CO     33067935411
552469A8361973   JOSELUIS      ARRIAGA                      CA     90011179083
55246A66693754   ANNA          SHULTZ                       OH     90010600666
5524735255B399   MINDY         KLOPP                        OR     44585573525
5524785622B27B   DADITU        MOSISSA                      DC     90001838562
55248444A3B399   EDDIE         AEYONI                       CO     33013584440
55248494372B43   PATRICK       CARNES                       CO     90010124943
55248664172B36   LANCE         WINTERS                      CO     33071706641
5524874327B46B   KAREN         GUTIERREZ                    NC     90003327432
5524889A772B43   PATRICK       CARNES                       CO     90011428907
55248A54372B38   AUNDRA        ALEXANDRA                    CO     33014210543
5524961972B27B   KENDRICK      ASH                          DC     90015316197
5524974724B588   STEVEN        MOYER                        OK     90011857472
5524B65772B851   CHRISTINA     ZACARIAS                     ID     90008606577
5524B894191895   PHYLLIS       WARD                         OK     21037518941
5525131A45B399   TARA          NEYER                        OR     44509503104
55252237472B85   FLORENCE      PRZYBYS                      CO     90014252374
5525244A55758B   DAVID         SWAN                         NM     90014984405
55252541A8584B   KEVIN         CHO                          CA     90001895410
55252677272B85   JASON         FERGUSON                     CO     90014966772
5525336A585928   CAITLIN       HALE                         KY     90013223605
552533A7772B38   GALE          HORTON                       CO     90015063077
5525372485715B   MARTHA        RAMOS                        VA     81029387248
5525441674B28B   CYNTHIA       WEEKS                        NE     26039424167
552556A8147833   LAKITA        JONES                        GA     90014166081
5525578244B588   ALONSO        CONTRERAS                    OK     90011857824
55255872A72B27   JENNIFER      SERRANO                      CO     90014288720
55256247A61975   THOMAS        MEJIA                        CA     90013042470
5525724715B531   MAX           SANCHEZ                      NM     35064252471
5525726A591895   REGINA        MCMILLIAN                    OK     21062762605
55257846272B36   JAMIE         BERNAL                       CO     90006678462
5525793A172B85   ANTONIO       MORENO                       CO     90006689301
552585A1261971   MARISOL       GALEANA-ALONSO               CA     90009455012
5525864A872B38   VAILE         PRICE                        CO     90012876408
55258695A61975   DAREEN        FONG                         CA     90014186950
5525883864B588   JUAN          RODRIGUEZ                    OK     90001358386
55259214672B85   SONIA         ORTIZ                        CO     33080532146
5525923A233696   MICHELLE      PEARSON                      NC     90014452302
55259518972B43   MARISA        CHAVEZ                       CO     33061925189
5525B2A434B241   MERCEDES      VALAZQUEZ                    NE     90013822043
5525B474872B67   SHIERE        GRAY                         CO     90005424748
5525B51583B381   JORDAN        ALLEN                        CO     90011205158
5525B5A1884357   RONALD        CAMPBELL                     SC     14544115018
5525B937372B85   NORMA         MUNOZ- GARFIO                CO     33089559373
5526125575B531   SIGIFREDO     JIMENEZ                      NM     90012142557
5526156A75B271   DEBORAH       STATON                       KY     68060295607
5526159745B399   REBECCA       KRESS                        OR     90002605974
5526186362B851   SANDIE        RUEB                         ID     90002628636
5526189224B28B   EFRAIN        CASTILLO                     NE     90008868922
55262867591B79   BERNARD       SIMPSON                      NC     90013938675
55263293372B88   AMANDA        DURLAND                      CO     33025652933
552634A985715B   VICTOR        ONORATO                      VA     90014764098
552644A985715B   VICTOR        ONORATO                      VA     90014764098
55264643A72B52   MIA           RUBIN                        CO     90014866430
5526512A477581   MICHELLE      FIFER                        NV     90012171204
5526574A372B36   LUIS          VELASCO                      CO     33028727403
55266348872B49   DIANA         ARGUMEDO-ALTAMIRA            CO     33028163488
552664A985715B   VICTOR        ONORATO                      VA     90014764098
5526674835B531   JUAN          PRIETO                       NM     90013227483
5526676697B46B   BERNARDINA    BELLO                        NC     90012367669
5526734485758B   JAZMIN        CENICEROS                    NM     35552613448
55267377872B38   ADANA         BAILEY                       CO     90009083778
552674AA185928   DAKOTA        WOOD                         KY     90011904001
55267578272B36   SARA          RIVERA                       CO     90013095782
5526811A15B543   RITA          MARTINEZ                     NM     35060691101
5526865344B588   MESUIRE       HENDRIX                      OK     90009486534
55269128372B67   DIANA         CHAVEZ                       CO     33072071283
552695A2861975   SHAWN         WOOD                         CA     90013895028
55269755572B88   DANIELLE      MARTIN                       CO     90004337555
5526987815B543   ANNA          IGUADO                       NM     35054818781
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 59 of 2350


5526B346172B27   ORNELAS       MENDOZA                      CO     33011673461
5526B53567B46B   PATRICIA      BENSON                       NC     90009365356
5526B777284341   LATRELL       KIDD                         SC     90010037772
5526B77784B536   SHANE         MINSON                       OK     90013647778
5526BA8153B387   ITZEO         ORTIZ                        CO     90012530815
5527132992B27B   JOY           HERBERT                      DC     90011363299
5527164265B543   THERESA       GOODYEAR                     NM     35007176426
55272467972B27   RAMIRO        RODRIGUEZ                    CO     90009534679
5527297924B588   LATERIA       DAY                          OK     90010899792
55273388472B38   ALAN          MENDEZ                       CO     90013733884
552735A742B27B   MICHELLE      ALEXANDER                    DC     90014955074
55273663672B85   DRUCE         WILLIAMS                     CO     90015236636
55275482272B43   JILL          SOLET                        CO     90015104822
5527686925715B   NELSON        CRUZ                         VA     90013958692
55276A96761973   VANESSA       SANCHEZ LUNA                 CA     90013910967
552771A3A55951   TIMOTHY       TROTTER                      CA     90006751030
55277A85761973   JAMES         SHELLHAMMER                  CA     90009500857
55279413324B7B   JORGE         VARGAS                       VA     90013544133
5527B478184329   VERNOICA      FENNELL                      SC     90011694781
5527B57A985928   ALPHONSE      RUTAYISIRE                   KY     90010705709
5528143825715B   ONDINA        REYES                        VA     90014764382
5528147934B29B   ANDREW        CLEMENT                      NE     27021074793
55282615272B38   ALMA          GONZALEZ                     CO     90013936152
5528297147B46B   KEVIN         SWAFFORD                     NC     90009049714
5528326555758B   ADRIANA       MARTINEZ                     NM     90013892655
552835A7985941   MEGAN         CEHRS                        KY     90007775079
5528394954B588   RIKIYIA       SPEARS                       OK     90003249495
55283971A72B67   JOSE          VARGAS                       CO     33039669710
55284814976B44   JAVANNY       ECHEVERIA                    CA     90010258149
55284A2A672B49   CHRISTOPHE    VASQUEZ                      CO     33075040206
55284A3A35B531   ALEJANDRO     VALENZUEL-URANGA             NM     90014370303
5528533852B27B   SHARRON       LIVERPOOL                    DC     90012843385
5528583495B387   YVONNE        MESTRE                       OR     44507238349
5528619765715B   GELIA         HOLLOWAY                     DC     90013001976
5528684A791524   OAXACA        VICTOR                       TX     90005058407
5528694765B387   DANNY         VILLEDA                      OR     90013839476
5528696535B399   MATTHEW       TEKVERK                      OR     44537129653
55286A8152B949   RAMON         LUQUIN                       CA     90012890815
55287A9675715B   NICKIE        STERLING                     VA     90013120967
5528814694B588   ANDREW        BASGALL                      OK     90013141469
5528871A972B38   RONNIE        SHEA                         CO     90014957109
55288835A61971   DANIELLE      DOMINGUEZ                    CA     90014548350
5528885157B424   STATESVILLE   STATESVILLE                  NC     90011278515
55288A8882B851   TOBI          BURNS                        ID     42025970888
5528914A584357   THELMA        STOKES                       SC     90013931405
5528991715B531   ERICA         BAEZA                        NM     90003169171
5528B56975B531   DIANA         GALLEGOS                     NM     90003465697
5528BA4145715B   NELSON        AMAYA                        VA     90013120414
5529135192B851   MARISELA      MEDRANO                      ID     90014543519
55291A33191587   REBBECA       GARCIA                       TX     75063280331
55292326872B43   FRANCISCA     LOZOYA                       CO     33008303268
552925A822B27B   DAMAR         MILLER                       DC     90014955082
552929A8276B7B   RAUL          SUAREZ                       CA     90001929082
55293271272B85   MICHAEL       PATTON                       CO     90014252712
5529338355B399   EMMANUEL      VAZQUEZ                      OR     44518973835
55293474172B43   LUISA         SAENZ                        CO     33067274741
55293522872B38   MARLENE       BORGES                       CO     90013935228
5529355152B221   JERRAD        HANCOCK                      DC     90012185515
5529362A55758B   PRISCILLA     ZAPATA                       NM     90011116205
55293988472B43   MICHELLE      CARTER                       CO     90003999884
5529449197B46B   SHANNON       BENJAMIN                     NC     90009324919
55295238A5B271   ELOY          ALFARO                       KY     68070412380
552952A7655951   SYRIPHORN     SIDAOHEUANG                  CA     49077632076
5529568935715B   R             PINNA                        VA     90008656893
55295A85433699   RICHARD       WOOD                         NC     12059160854
552962AA95758B   YESENIA       CORRAL                       NM     90015092009
552967A4261973   CHERYTA       MOSS                         CA     46010167042
5529697994B588   KIMBERLY      MCFARLIN                     OK     90010899799
55296A9A72B27B   LISSETH       RODRIGUEZ                    DC     90009500907
552971A7361971   SYLVANIA      DUNN                         CA     46014711073
55297887372B36   SHANTEL       BERRY                        CO     90010548873
5529797285B129   MIGUEL        HERNANDEZ                    AR     23078179728
5529835A157157   PAZ ANTONIO   PENA                         VA     90013033501
55298839A4B936   JONATHAN      GOMEZ-SARMIENTO              TX     90011688390
55298A19733699   ARIANNA       WILSON                       NC     90014650197
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 60 of 2350


5529914978B164   AARON            REID                      UT     90014651497
55299272772B85   JOSHUA ALLEN     HOFFMAN                   CO     90014252727
55299989A5758B   JUDAS            PEREA                     NM     90013279890
55299A19A72B27   MIRIAM           RODRIGUEZ                 CO     33063750190
5529B123A91895   KIMBER           ALLEN                     OK     90013911230
5529B184572B38   MERSEDEZ         SMITH                     CO     90001101845
5529B743851348   ALISHA           DAVIS                     OH     90014097438
552B1123872B43   RAUL             HAU                       CO     33062801238
552B119855B531   HILDA            GOMEZ                     NM     90013671985
552B1549561973   HECTOR           MALDONADO                 CA     90014855495
552B189445B543   DESERAE          ZAMORA                    NM     90007708944
552B18A6333693   NATHANIEL        ROBINSON                  NC     90012988063
552B2355572B67   JONATHAN         SLINAS                    CO     33041703555
552B2723972B43   ALFREDO          ALONSO                    CO     33062207239
552B27A595715B   GUILLERMINA      BAUTISTA                  VA     90006177059
552B388A557148   MARIA            PENA                      VA     81073898805
552B3A71891587   CARLOS           RENTERIA                  TX     90010410718
552B4396884357   EARTHA           MOBLEY                    SC     90014623968
552B4743851348   ALISHA           DAVIS                     OH     90014097438
552B591344B588   REGINALD         DOTSON                    OK     90009649134
552B595445715B   CARLOS           BARIENTOS                 VA     90013209544
552B5AA6657157   EDUARD           BEAUCHAMP                 VA     90013800066
552B6314A5715B   VICTOR           BRANCH                    VA     90013113140
552B679295B399   JORGE            VILLEGAS                  OR     44593107929
552B6967891356   MICHAEL          MCMAHAN                   KS     90012209678
552B774725B387   MELINDA          HICKS                     OR     90007847472
552B7AA632B851   CAMI             JOHNSTON                  ID     90006400063
552B812235B387   JANELLE          FREEMAN                   OR     90015271223
552B8656772B27   MIGUEL           DEDIOS                    CO     90002406567
552B867242B851   CYNTHIA          VASSAR                    ID     42091866724
552B8733572B85   ELOISA           PALACIOS                  CO     33054747335
552B937354B29B   MARIE            DES GRAVES                NE     27077553735
552B9438951348   NICOLE           HALLORAN                  OH     90014714389
552B9623272B38   MYAH             CONDON-LORICK             CO     90012876232
552B965465B399   TYLER            LEWIS                     OR     90014686546
552B9913572B43   VICTORY          LAGUNAS                   CO     90006459135
552B9A9A172B85   NATASHA          DEVOIL                    CO     90008050901
552BB649372B85   GABRIELA         GONZALES                  CO     33019436493
552BB963472B43   LEWIS            PLANTER                   NM     90001479634
552BB9A265B283   HEATHER          THOMAS                    KY     90002559026
552BBA66861971   ANDREA L         FLOW                      CA     90000790668
5531192944B588   ADRIANN          DOWD                      OK     90009649294
55311A17A85928   CONCEPCION       TAPIA                     KY     67015290170
55311AA595B531   SANDRA           VICKERY                   NM     35022460059
5531215875B387   CHASE            CASTLE                    OR     90014791587
5531234344B936   EUGENE           BLACKWELL                 TX     90006403434
55312A89561971   RYAN BRENT       THOMAS                    CA     90013860895
553131A3631429   DEBBIE           PEEBLES                   MO     90006201036
5531324265B543   RIGOBERTO        ESTRADA-FLORES            NM     35040502426
553132A3372B43   JOANNA           MARTINEZ                  CO     90014412033
5531334525715B   MARLENI          ROSALES                   VA     81031793452
55313428A91587   RITO             BUENO                     TX     90012434280
55315364272B43   CINDY            RODRIGUEZ                 CO     33014493642
55315648A5B531   MARICELA         ANDAZOLA                  NM     35018136480
55316334A72B36   JUAREZ           DANIEL                    CO     90010373340
55316622772B49   LEONOR           ALVARADO                  CO     90009646227
5531765595758B   MARGARET         MALONE                    NM     90002946559
55317A46A61971   CANDICE LOUISE   RICKER                    CA     90011570460
5531867A85B129   KEVIN            JACKSON                   AR     23059996708
5531B499591356   RYAN             FOLSOM                    KS     90014784995
55321592A4B588   TOMMY            SHOOPMAN                  OK     90012705920
5532199674B588   BREANNA          HOWE                      OK     90010899967
55321A2295758B   JONATHAN         ORTIZ                     NM     90014870229
55321A6155B387   VIKTOR           BARNA                     OR     90014970615
55322644972B38   BRANDY           MOOTY                     CO     33003676449
5532312A172B21   STEPHANIE        VIGIL                     CO     90013521201
5532314755B399   ERIKA            HOLHOS                    OR     90011941475
5532355625B271   THELMA           BRYANT                    KY     68078225562
553236A9585928   LATASHA          CLIFFORD                  KY     67003036095
553238A784B588   DOMINIQUE        GOTCHER                   OK     90012428078
55323A8967B347   MAXINE           ASAMOAH                   VA     90002210896
55324478A91895   PATRICIA         FLORES                    OK     90001224780
5532453525715B   CLAUDIA          FAJARIDO                  VA     90010395352
55324651572B38   BRITTANY         ALDRIDGE                  CO     90004126515
5532487527B46B   LIZ              ROHRBACH                  NC     11065878752
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 61 of 2350


5532498522B869   JULIE         JACKMAN                      ID     42092289852
55324A26172B85   GINO          ORTEGA                       CO     33056660261
55324A8315715B   MAJAWI        AJKERON                      VA     90014180831
553257A5261971   VALISHIA      JOHNSON                      CA     90014717052
55326112372B43   AMY           HESSE                        CO     90015001123
55326929172B85   ALEJANDRO     OROZCO                       CO     33005129291
5532756965B523   CESAR         VELAZQUEZ                    NM     90009965696
553275A115B387   CHRISTINE     ALVARADO                     OR     90013395011
5532826A82B27B   MICHAEL       DEVANCE                      DC     90014892608
55328513872B49   RYAN          JONES                        CO     90011195138
5532855875B283   DESTINY       JOHNSON                      KY     90009915587
5532889114B29B   CHRIS         ROTUNDO                      NE     27029728911
55328A1464B28B   OLIVIA        MANNING                      NE     90009770146
55329181998B2B   MARVIN        GRINGO II                    NC     90001621819
5532985135758B   JOHNATHAN     WELLS                        NM     35533458513
5532993875598B   LUCIA         JAREGUI                      CA     48011869387
5532BA2295758B   JONATHAN      ORTIZ                        NM     90014870229
5532BA64651348   KEYONTAE      JOHNSON                      OH     90010100646
5533163615B338   MEGAN         HORTON                       OR     90005846361
5533197424B588   JULIUS J      STANFIELD                    OK     90012369742
553321A5657157   LEONFINE      NGUNZA                       VA     81086211056
5533266A172B38   IRMA          RODRIGUEZ                    CO     33061366601
553326AA772B36   ANNA          CASSIO                       CO     90014416007
5533277885133B   KYLIE         FICK                         OH     90000997788
5533385777B46B   CHARLES       JONES                        NC     90005578577
55333AA6872B49   MARIE         DENISON                      CO     33038970068
553341A7A5B579   MONICA        TAPIA                        NM     90001261070
5533432993B369   DALE          SHUTTLEWORTH                 CO     90000403299
5533535292B27B   JOSE          MARTINEZ                     VA     81054623529
5533695845B531   VALERIE       APODACA                      NM     35037279584
55336A8A57192B   AMY           BADER                        CO     32005270805
55336AA715B387   MARTHA        VAZQUEZ                      OR     44598730071
55337544A57157   EDWIN         NAVAS                        VA     81097565440
55337747372B36   THOMAS        SUMNERS                      CO     33083827473
55337A18672B43   MICHAEL       MAES                         CO     33041580186
55339284572B38   KEVIN         ANGELINI                     CO     90014722845
5533B21235B399   JAMIE         MORTENSON                    OR     90009422123
5533B556A61973   MICHAEL       MUNOZ                        CA     90014575560
5533B768972B85   MICHAEL       FISHEL                       CO     90007737689
5533B79A472B36   ALMA          ROCHA                        CO     90011397904
5533BA13761966   JONATHAN      OATES                        CA     90012890137
553411A3991525   SARAH         TORRES                       TX     90008541039
55341333172B49   JOI MARIE     COOPER                       CO     33056823331
5534155252B851   MANDI         REISENAUER                   ID     42027075525
5534168AA5B399   KARA          SHEARER                      OR     44575966800
5534172525B531   KATERI        MONTOYA                      NM     90011017252
55342273172B43   SARA          DURNELL                      CO     33088332731
553426A3272B85   BREE          VASQUEZ                      CO     90005596032
55343266872B38   ELAINE        POHLMAN                      CO     90007032668
5534332314B28B   JAMIE         HOLDER                       NE     90002513231
5534343A185928   JARUS         GLASPIE                      KY     90010984301
5534375152B27B   JULIO         LOPEZ                        DC     81026847515
55343A34698B2B   DEJA          TURNER                       NC     90008300346
55344356A91356   JENNIFER      THOMPSON                     KS     29022543560
55344794697B21   KARRIE        ELKIN                        CO     90010407946
5534497237B372   FAUSTINO      TURCIOS                      VA     90004499723
55344A91657157   TEODRAS       MAWSHA                       VA     90013950916
5534528184B588   JOSEPH        BRANTLEY                     OK     90014112818
553452A2172B27   DOREEN        TAFOYA                       CO     33068652021
5534611A95B531   JESSE         GONZALEZ                     NM     90014831109
55346752372B67   ROSE          SEGOVIA                      CO     90001257523
553469A885758B   APRIL         HOLGUIN                      NM     90014459088
5534729835B387   CATHERINE     PEIGNEUX                     OR     90003832983
55347362A5B399   BEN           AGUILAR                      OR     90012693620
5534831A15B283   ERICA         JACKSON                      KY     90006503101
5534838A943569   LIZETTE       RIOS                         UT     90007453809
5534868775B387   JAMES         MUNOZ                        OR     90003406877
55349376572B67   C             GARCIA                       CO     33080373765
5534943AA72B36   JUSTIN        ZIEMBO                       CO     90014444300
5534965A591356   CHERRITA      LAWSON                       KS     90003246505
55349872A33696   SHAYNELLE     EPPS                         NC     12026948720
5534B278A4B28B   ROBPARTRA     PATTERSON                    NE     90007942780
5535111315B399   YOLANDA       MAGULE                       OR     44523651131
5535138344B588   ROCIO         NEGRETE                      OK     90014153834
55351798172B88   RAUL          AYALA                        CO     90006507981
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 62 of 2350


55352384672B49   LESLIE        PURK                         CO     33064393846
5535252552B851   GABRIELA      ARREOLA                      ID     90013765255
55352819A72B36   MARTHA        FAJARDO                      CO     90014838190
55353335372B38   AMY           MAST                         CO     33029133353
55354169172B85   WAYNE         EMERICH                      CO     33054911691
55354426A57157   HUGH          SMITH                        VA     90013954260
55354857972B49   SARAH         PEREZ                        CO     90007108579
553551A2991524   DOLORES       VEGA                         TX     90008521029
55355422772B27   NORMA         AMES                         CO     90009974227
5535543A557157   DANIEL        WILSON                       VA     90013954305
553555A185758B   LISETTE       SWAIM                        NM     35522595018
5535574A733699   LATOYA        DAVIS                        NC     90014697407
5535617655B399   MICHELLE      AVILA                        OR     90013171765
5535623A85B531   CORIE         COPELAND                     NM     90014562308
553562AA74B28B   TARA          TEETERS                      NE     26027182007
5535672255758B   PATRICIA      RAMIREZ                      NM     90013797225
5535674A733699   LATOYA        DAVIS                        NC     90014697407
55356A75772B36   CALVIN        POWELL                       CO     33007930757
55357627324B47   CHRIS         POSTON                       DC     90008516273
5535774537B46B   SHANAE        WITHERSPOON                  NC     90013037453
55357761A33699   PEGGY         WENDLE                       NC     90014697610
55358133A72B38   SARAH         ELIZABETH                    CO     90014261330
55358218424B7B   RESHEN        MCCOMB                       DC     90001422184
5535827335B543   BERTHA        RODRIGUEZ                    NM     35085682733
553582A6A5B399   MICHELLE      LUIZ                         OR     44506302060
55358577A72B36   PRISCILLA     LANG                         CO     90015045770
55358A3245758B   JULIE         MOSHTER                      NM     90012800324
5535979A35758B   LUIS          DEL RIO                      NM     90012617903
5535B15714B28B   JOSE RUBEN    FELIZ ACOSTA                 NE     90001411571
5535B279155951   MARIA         GONZALEZ                     CA     90009012791
5535B287957157   SABA          ABRAJ                        VA     90013952879
5535B632172B88   MINERVA       MEDELLINARENAS               CO     33076356321
5535BA2164B588   RODNEY        COSGROVE                     OK     90009160216
5535BA9464B28B   MARGARITA     GONZALEZ                     NE     90011350946
5535BAA925B531   CRISTINA      ESCARENO                     NM     35087270092
553611A377195B   DANNA         SMITH-SNEDDEN                CO     90003861037
55361217372B27   GRACIELA      GONZALEZ DOMINGUEZ           CO     90011912173
5536137954B28B   EMAL          GUL                          NE     90007103795
55361434A5715B   ZULMA         ASEENCIO                     VA     90013124340
55361A97191587   JACOB         BARRON                       TX     90003660971
5536215A88B188   JASON         JUDY                         UT     31014821508
55362761A33699   PEGGY         WENDLE                       NC     90014697610
55363915A61975   LIONEL        PRADO                        CA     90013869150
55363A9A691587   BRIANDA       MIRANDA                      TX     75044020906
5536415A88B188   JASON         JUDY                         UT     31014821508
5536468825B399   PABLO         LOPEZ TZUNUX                 OR     44549656882
55364989472B36   JESUS         MARQUEZ                      CO     90010679894
5536512314B588   PAYGO         IVR ACTIVATION               OK     90013381231
55365144472B38   MARILU        PERALTA                      CO     90012111444
5536515385B399   CINDY         RIOS                         OR     90011511538
5536532717B46B   JOSUE         GARCIA                       NC     90015003271
55365761A33699   PEGGY         WENDLE                       NC     90014697610
553657A2772B27   PAULINA       HURTADO-OCAMPO               CO     33049557027
5536619544B28B   JULIE         OVERTON                      NE     26081131954
553662A4791523   VERONICA      MENCHACA                     TX     90011212047
5536729995715B   JOSE          HENRIQUEZ                    VA     90002182999
553673AA47B46B   NELCY         CERRATO                      NC     90002983004
55368213972B85   DOMINIC       DOLTON                       CO     90008572139
5536846855B387   DANIAL N.     BIORNSTAD                    OR     90015114685
55368A25372B27   JESUS         CASTRO                       CO     33089680253
55368A29561973   JIMMY         ABIGANDO                     CA     90012380295
55368A98491895   AMANDA        HARTLINE                     OK     90014360984
55369423172B49   JANET         CANIFORD                     CO     33096054231
55369815872B88   TINA          VELKERS                      CO     33072998158
55369AA5961966   ADAN          OCHOA                        CA     90013000059
5536B217561973   JAVIER        LUNA                         CA     90012942175
5536B35114B588   ASHLEY        DECKER                       OK     90013863511
5536B39227B46B   EMILY         ALBRIGHT                     NC     90014763922
5536B773A61975   KRISTY        PATTERSON                    CA     90011287730
5536B776172B27   VANESSA       VIGIL                        CO     33051037761
5536B964333696   JOSE          GARCIA                       NC     90012069643
5536B969291587   JOSUE         RODRIGUEZ                    TX     90015479692
55371317972B38   ERENICE       GONZALEZ                     CO     90008003179
55371453272B49   NICOLE        SENA                         CO     90009994532
55372123172B43   RAMON         GARCIA                       CO     90014381231
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 63 of 2350


55372385772B49   CRYSTAL       HASS                         CO     33030073857
553723A492B27B   JOSE          GONZALEZ                     DC     90013493049
5537265AA4B28B   NICKIE        COLANGELO                    NE     90011746500
55372814772B85   LOYDA         ORIHUELA                     CO     33033548147
55373581472B36   MARVIN        CARDOZA                      CO     33053205814
55373659772B38   DJ            PALMPALMER                   CO     90012876597
55373958A61973   ALMA          ALCARAZ                      CA     46068009580
5537411475B271   AUDREY        MCBRIDE                      KY     90000551147
55374254424B7B   KADIJAH       WILLIAMS                     DC     90015002544
5537442154B588   LAWRENCE      TAYLOR                       OK     90013494215
55374431A91587   JARRED        JUAREZ                       TX     90013154310
553749A8291895   KEITH         MARSHALL                     OK     21056859082
55375363172B27   LEROY         LEMOS                        CO     33087083631
55375522A2B27B   MIGUEL        CRUZ                         DC     90010195220
5537569695B399   ROBERT        OJANEN                       OR     44523936969
5537617544B55B   NATALYA       BRIGGS                       OK     90006721754
553763A7285928   YVETTE        FRANKLIN                     KY     90012143072
5537663275B387   ANTHONY       SMITH                        OR     90004826327
55377468472B85   ALEJANDRINA   ROJAS                        CO     90013234684
55377A49172B27   TERRI         HIGHLAND                     CO     33014200491
5537837A35B399   GONZALO       CRUZ ALVAREZ                 OR     44505173703
5537871685B531   VICTORIA      GARCIA TRUJILLO              NM     35053957168
55378A41685928   ARTHUR        HAYDEN                       KY     67058660416
5537966A451323   CHAZMAN       CANNADY                      OH     90006576604
55379A74631429   SIDNEY        SPRADLEY                     MO     90014390746
55379A76633699   TIFFANY       INGRAM                       NC     12005580766
5537B1A1772B38   TIFFANY       MEDINA                       CO     33098251017
5538116575758B   REBECCA       PAZ                          NM     35591211657
5538211354B28B   SHELLI        SHADA                        NE     26020031135
5538253A861975   ALEX          ZARIPOV                      CA     90008865308
55382563A61975   BURGANDY      COLLINSWORTH                 CA     90014495630
55383441272B85   JOAKINA       DE LEON                      CO     90007074412
5538347785B531   LORENA        MENDOZA                      NM     90010724778
5538347797B46B   DEMETRIA      BROWN                        NC     90014984779
55383682A57127   INGRI         GONZALEZ                     VA     90001016820
553842A1572B49   STEPHANIE     BAILEY                       CO     90012582015
55384A86A72B43   ORLANDO       VIVENS                       CO     33017590860
55384A9815B271   VIRGINIA      CHAPPEL                      KY     90002250981
5538513A251348   DANA          JONES                        OH     90010871302
5538531344B588   ERICELDA      MALDONADO                    OK     90013403134
55385949472B85   MARCELINO     SANTILLAN                    CO     33029749494
5538598A872B43   JOEL          PONCE                        CO     33061999808
5538616514B28B   JODI          EVANS                        NE     90003481651
5538643A955951   MARCIL        CAUWELS                      CA     90000604309
553865A5133699   LOUANNA       MOLINA                       NC     12085605051
55386944672B27   NAYELI        AGUILAR                      CO     90011499446
5538719915B531   RAY           GABALDON                     NM     35028361991
5538766A65758B   OLIVAS        GUADALUPE                    NM     90011186606
553877A1772B85   JOANN         MADRID                       CO     33085157017
55387A36191895   JOY           SECREST                      OK     90013750361
55387A84685928   NASARIO       SANCHEZ                      KY     67029900846
5538867616198B   MELISSA       GALICOT                      CA     90012526761
553886A6272B38   SHELLEY       MILLER                       CO     33091546062
55388A2493B394   NICOLE        HAYNES                       CO     33023170249
553891A5544B26   TRAVIS        MCNAY                        OH     90014951055
55389282872B67   RAHSHAAD      MATHIS                       CO     90004572828
55389518A43522   MICHAEL       GRIMES                       UT     31001025180
55389A4635B399   SYLVIA        EVANS                        OR     90014450463
5538B371861971   SIMER         JERJIS                       CA     90000813718
5539153152B27B   ROSIBEL       FLORES                       DC     90011975315
553916A5172B36   RONALD        BAYSINGER                    CO     90010016051
5539181347B46B   TAMETRAS      THOMPSON                     NC     90011048134
553918A832B851   MAXINE        DAVIS                        ID     90006288083
55391966172B43   TYRONE        HAMMOND                      CO     33073079661
5539233325B271   ERIN          BORROWS                      KY     90012523332
5539233565B271   ERIN          BORROWS                      KY     90011043356
553928A8972B27   GUADALUPE     RAMIREZ                      CO     90002518089
553928AA64B588   LAQUITA       MCCRAY                       OK     90012138006
5539319A491356   CHASSIDY      CRADDOCK                     MO     90014571904
5539345944B588   TANIA         SANCHEZ                      OK     90001054594
553942AAA91356   JENDAYI       MAPLES                       KS     90002872000
55394A3A133642   JOSEPH        CORPENTER                    NC     90005450301
55394A67133696   SHUNOAH       HOLLENBACK                   NC     12053520671
5539516845B271   CHERYL        MEINHART                     KY     90002251684
5539523645B531   ROMERO        MICHELLE                     NM     35097582364
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 64 of 2350


5539527245B387   VALERIE         PIERCE                     OR     44588792724
55395A6715758B   JASMIN          TARIN                      NM     90015120671
5539616845B271   CHERYL          MEINHART                   KY     90002251684
5539638A672B67   ANN             ARELLANO                   CO     33081683806
55396A57476B84   ABIGAIL         ALFARO                     CA     90014180574
55397414A5B283   TIAMIRA         SMITH                      KY     90006504140
5539796985B271   JOSH            HERALD                     KY     90003649698
55397A21191523   VASQUEZ C       CARLOS                     TX     90011070211
55398197372B85   RAFAEL          AGUILAR                    CO     33046421973
5539838618B644   SERGIO          ROJO                       TX     90015083861
5539923AA91587   CRISTIAN        MUNIZ                      TX     90010362300
553999A4233674   LEIGH ANNE      DODSON                     NC     90013749042
55399A34972B67   MARIO           PEREZ                      CO     33086950349
55399A77257B81   THOMAS          MILLER                     PA     90014570772
5539B246972B85   ADOFO           GERONIMO                   CO     90011132469
5539B35247B46B   EDWARD          MONTGOMERY                 NC     90015203524
5539B639751348   DOMINIC         MILLER                     OH     90013936397
5539B784A5715B   MALENA          VILLARROEL                 VA     90013127840
5539B87A972B43   EVELYN          SAILAS                     CO     33071598709
5539B88847B661   TIFFANI         EARLY                      GA     90008698884
553B1388972B38   ANGEL           SHABAZZ                    CO     90015143889
553B1486A5B387   MAMADOU         TOURE                      OR     44526164860
553B166815B399   STEPHENI        WALKER                     OR     44540996681
553B1754161971   HEATHER         ASHLEY                     CA     90012607541
553B2499272B49   ROSANNA         HERRERA                    CO     90014024992
553B2765A61975   JANINE          BRINKLEY                   CA     46093007650
553B284A791524   OAXACA          VICTOR                     TX     90005058407
553B2A3555B387   GABRIEL         TIBBETTS                   OR     44572520355
553B319217B46B   CEASAR          SYKES                      NC     90015191921
553B322A991587   CARISSA         RODRIGUEZ                  TX     90014052209
553B33A6572B43   ALEXANDER       ESPINAL                    CO     33006173065
553B356494B588   DELMA           CORNELIUS                  OK     90000975649
553B378A672B88   DEBBIE          OBERHAUSEN                 CO     33073577806
553B4533772B43   SERGIO          HERRERA                    CO     33058415337
553B4768661971   AMY             TODD                       CA     90000947686
553B538947B46B   LILLIAN         MALOY                      NC     90013373894
553B5545761975   BLANCA          CORTEZ                     CA     90004775457
553B556835B399   CHERANDA        CURTIS                     OR     90014835683
553B5839672B38   SADIE           VICTORIA                   CO     90004498396
553B5AA1657157   ISABEL          HERNANDEZ                  VA     90013940016
553B6181355941   SHAMEKA         REED                       CA     90013221813
553B6217551348   AMANDA          LEECE                      OH     90012602175
553B6A3A957157   KIM             WILSON                     VA     90013940309
553B6AA4833696   AMBER           TAYLOR                     NC     90013010048
553B737144B251   DOUGLAS         GENE                       IA     90010863714
553B7459385928   SHEENA A.       ALCORN                     KY     90008814593
553B767345B399   ANGELITA        GOMEZ                      OR     90008906734
553B783175B399   SAMPSON         JOHNSON                    OR     90015278317
553B7A2854B245   EMERALD         MCLAUGHLIN                 NE     90012780285
553B7A5255758B   LUSI            CARMONA JUAREZ             NM     90015120525
553B8481885928   BILLY           HYDEN                      KY     67050804818
553B8571861924   ESTHER          MANZO                      CA     90001325718
553B865735715B   MARY            CURRY                      VA     90014766573
553B8669861975   JODEY           HINKEL                     CA     90007926698
553B887774B588   JOHNNIE         TRAYLOR                    OK     90009098777
553B8995555951   ELEANOR         PATLAN                     CA     49070549955
553B9194372B88   CLARK           GENTRY                     CO     33060331943
553B9934372B85   RICHARD         HAINES                     CO     33002379343
553B9982372B67   LORI            MCNABB                     CO     33078139823
553B9A42131428   EMILY           TUCKER                     MO     27505940421
553BB293A72B38   STEPHENIE E     BACA                       CO     90009662930
553BB43442B851   MARGARITO       RIOS                       ID     90010414344
553BB487A91895   BETTY           SEANARD                    OK     90011854870
553BB98545B387   MELISSA         SILERSMITH                 OR     90014229854
55411576A91587   VIRGINIA        DE LA PENA                 TX     90011015760
5541162A772B43   OSVALDO         MENDEZ                     CO     90012976207
5541245964B588   CHASE           HINES                      OK     21574164596
5541256342B27B   JAMAAL          CHANDLER                   DC     90014075634
55412672772B38   MATTHEW JAMES   RANGEL                     CO     90012876727
554126A1833696   TRACI           ACKWELL                    NC     90002036018
55412A56861971   WILLIAM         HOWE                       CA     46014990568
55412AA975715B   WAIDEMAR        MARROQUIN                  VA     90002330097
5541315455758B   PETER           SMITH                      NM     90015171545
55413254172B36   JOSEPH          FISHER                     CO     90003142541
554135A4691356   CHARLES         COZADD                     KS     90006125046
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 65 of 2350


554136A574B28B   JENNIFER      VERNAN                       NE     90003836057
55413A3775B399   VERONICA      LOPEZ                        OR     90013400377
55414243A91895   DILLON        KING                         OK     90011982430
55414257972B43   TABATHA       MELANCON                     CO     90012662579
554147A115B387   LOWELL        JACKSON                      OR     90005837011
55414816372B49   AMBER         MERCADO                      CO     90011068163
55414A59A61975   JESUS         VILLAGOMEZ                   CA     90011290590
55415288372B38   DOMINIQUE     TAYLOR                       CO     90014722883
55415A8AA61971   KIRSTEN       KRYGSMAN                     CA     46037390800
5541655A427B3B   CHRIS         MCKEE                        KY     90011575504
554166AA291524   ULISES        BINION                       TX     90015026002
5541681895758B   CELINA        SAMBRANO                     NM     90014468189
55417558972B93   BYRON         LOPEZ                        AZ     90014205589
55417622672B36   LAURA         GONZALES                     CO     33072406226
55417A7235758B   CARLOS        RAMIREZ                      NM     35501420723
55418215272B38   PABLO         GOZALEZ                      CO     33077652152
5541888A172B36   KORINA        ARCHULETA                    CO     33005598801
55418967272B38   ERCILIA       GARCIA                       CO     90009419672
55419325772B38   AMBER         STARNES                      CO     90008923257
554195A5672B85   ANDREA        WAGNER                       CO     90015125056
554195A935B399   JOY           MOORE                        OR     90007325093
5541B19125B399   AUDREY        RUSSELL                      OR     90012591912
5541B243372B43   MARGARITA     ANDREWS                      CO     33026602433
5541B29A27B46B   MARCUS        GRAVES                       NC     11058902902
5541B563391895   RAYMOND       VALENTIN                     OK     90013655633
5542117A591356   LUCAS         MOORE                        KS     90014791705
55421947872B36   TERESSA       TRIPPENSEE                   CO     90014879478
55422319172B67   NICOLE        GRAY                         CO     90007243191
5542253925B283   TERRANCE      ANDREW                       KY     90010795392
5542255A654152   BESSY         CHINCHILLA                   OR     90005355506
554225A5133699   LOUANNA       MOLINA                       NC     12085605051
55423453172B85   EARL          LOWE JR                      CO     33014764531
554237A7972B27   JACOB         REEVES                       CO     90009497079
55424A66261971   SHATHA        RAHIM                        CA     90001030662
55425249872B36   JANICE        EIDSON                       CO     33060302498
5542528744B28B   KIMBERLY      CLARK                        NE     26012352874
55425768972B85   GERARDO       CRUZ ORTEGA                  CO     90009907689
5542593A333699   JARRELL       HUDSON                       NC     90014229303
55425A83172B43   MICHELLE      ARMSTRONG                    CO     90010870831
554272A7833699   QUENITA       YOUNG                        NC     90014712078
554274A425758B   RICARDO       GALVAN                       NM     35502964042
55427524772B93   EMILY         HOUSE                        CO     90004205247
55427A53772B27   FATIMA        WILLIAMS                     CO     90012780537
55428136A5B531   JUDY          SECATERO                     NM     90012101360
55428625172B36   TOM           BRADLEY                      CO     33071266251
55429624172B49   BERENICE      MANI                         CO     33063036241
554297A945B387   CLAUDE        GIBSON                       OR     44565097094
55429877A55941   SOPHIA        GLORIA                       CA     90012018770
5542995882B27B   JENNIFER      FRANCES                      DC     90003919588
55429A8245715B   DEBRA         GAMBOA                       VA     90002270824
55429A93672B85   FRANCES       SERGIO                       CO     90010900936
5542B77224B29B   FURITA        DRIVER                       NE     90006997722
5542BA94A61975   GLORIA        MURILLO                      CA     90011290940
5543118274B28B   CARTER        MICAH                        NE     90009721827
554312A7833699   QUENITA       YOUNG                        NC     90014712078
55431A27572B85   WILLIAM       BUTLER                       CO     90009720275
55432857572B36   JOE           FLAHERTY                     CO     33091338575
55432A1A457157   CESAR         KIMENEZ                      VA     90003150104
55433145772B85   RHONDA        DIAZ                         CO     33028191457
5543325A485928   ALEXANDER     HUESTON                      KY     67030682504
55433987772B38   ANNE MARIE    MARTINEZ                     CO     90011099877
5543441A491895   RACHELL       DOWNS                        OK     90014344104
5543456312B27B   TOMASITA      AQUINO                       DC     90002085631
55434A5A361973   DANIEL        OLMOS                        CA     90012380503
55435337172B27   SARAH         MORAVETZ                     CO     90014853371
554353A6A72B85   TIRHAS        DEBRETSION                   CO     33018163060
5543588455B399   CYNAMIN       WARD                         OR     90012638845
55436169472B49   BELEN         TORRES                       CO     90014741694
5543619A95B531   MICHAEL       ROURKE                       NM     90011081909
55436333572B43   ALIA          KANAAN                       CO     90004713335
554364A7584357   KAIKA         LAWTON                       SC     90014424075
5543826885B531   JAIME         CERVANTES                    NM     90013602688
5543839A961975   MERAH         MIRANDA                      CA     90013273909
55438443A91356   DOUGLAS       STANFIELD                    KS     90001094430
55438788472B36   LETICIA       MANGRERA                     CO     90007387884
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 66 of 2350


554391A2772B85   WILLIAM        COSTAK                      CO     90002631027
55439494272B43   YVETTE         DE LA CRUZ                  CO     33031214942
55439839472B35   MICHELLE       BOOKER                      CO     90013448394
5543987915B387   DANNY          HOWARD                      OR     44594658791
5543B281472B88   AMY            HARDER                      CO     33031792814
5543B44445715B   ADAM G         PAREZO                      VA     90008734444
5543B46A985928   IVAN           VAZQUEZ                     KY     90006314609
5543B626972B85   ANDREW         HALTERMAN                   CO     90004826269
5543B62AA5758B   DIONNA         RIVAS                       NM     90013186200
5543BA94184357   EBONY          WASHINGTON                  SC     90014800941
5544115285B399   ALAN           WHITE                       OR     44523991528
5544136AA4B588   JENNIFER       CUCCARO                     OK     90012203600
55441445172B27   KACY           SLAUGHENHOUP                CO     90012644451
5544167A361973   ISABEL         RIOS                        CA     90008916703
55441A63791587   NANCY          ORTEGA                      TX     75000210637
554427A6A91587   BRITTANEY      DURON                       TX     90015177060
55443359972B38   DEBBIE SUSAN   BURNS                       CO     90014003599
55443711672B85   FELIPE         LUCATERO-GONZALEZ           CO     33025447116
5544381148B12B   SERGIO         CORRANZA                    UT     90005048114
55443A1A991356   PAYGO          IVR ACTIVATION              KS     90014840109
55444621572B43   ANTHONY        WILCOX                      CO     90012976215
5544538884B588   MYEESHA        CHEADLE                     OK     21573563888
55445389172B27   JOSECARLOS     COB CANCHE                  CO     33096373891
5544594945B387   CHRISTY        UHRICH                      OR     90013839494
5544695882B27B   JENNIFER       FRANCES                     DC     90003919588
55447391772B36   FERD           CHAVEZ                      CO     90008013917
5544755A491356   BECKY          MARTIN                      KS     90014915504
5544772AA72B38   ELIZABETH      GONZALEZ                    CO     90007297200
554477A194B588   VERONICA       CORONADO                    OK     90009487019
55447AA2372B27   PATRICK        HANLON PRINZ                CO     90011300023
554485A445715B   SAMANTHA       BREGMON                     VA     81009035044
554485A6891895   KEYON          JOHNSON                     OK     21049065068
554491A384B588   CHARITY        MERRIMAN                    OK     90014841038
55449278772B27   VENNINA        QUEZADA                     CO     90010702787
5544967445B387   BERTHA         GARCIA MARTINEZ             OR     44520876744
5544976A191356   PEGGY          WILLIAMS                    KS     90011277601
55449778172B38   JOSEPHINE      MECILLAS                    CO     33070077781
55449A78884357   LASHANDA       MILLER                      SC     90015230788
5544B369872B38   BRENT          OSENDORF                    CO     90011193698
5544B991772B85   PRISCILLA      PRYOR                       CO     33054899917
5544BA76972B49   MATTHEW        COLUSSI                     CO     33096110769
554518A1572B27   KELLY          DAWSON                      CO     90007728015
55453338A91587   BRIGITTE       RODRIGUEZ                   TX     90014303380
55453744472B49   MANUEL         ROBLES                      CO     33058177444
5545423815B387   BROOKS         JERZELL                     OR     90014502381
554553A4961975   BARGAS         JOSE LUI                    CA     90007013049
55455618372B38   CHRISTOPHER    RIVENS                      CO     90013936183
55455696572B88   LAURA          PARRA                       CO     33054596965
55456454198B2B   ERIC           CARABALLO                   NC     90006234541
5545741A15758B   CYTHIA         VARGAS                      NM     90014374101
5545785154B28B   ALICE          DANIELS                     NE     90011588515
554581AA272B27   ANTONIO        ROCHA                       CO     90002691002
5545829425B387   ZACHARY        SCOTT                       OR     90005092942
554587A7372B38   MARIELA        GUTIERREZ                   CO     33011067073
5545894255B543   HUGO           CHAVEZ                      NM     35061739425
55458A68161975   ABEL           CARMELO                     CA     90009250681
5545981A74B28B   DEJUAN         LUMPKIN                     NE     90012928107
55459A93285928   LEONARDO       CHAVEZ                      KY     67084330932
5545B183151348   CHRISTOPHE     COMBS                       OH     66009741831
5545B397261971   ANA            BRESSNUTTI                  CA     90012883972
5545B665172B38   SARAH          MANCHEGO                    CO     33015566651
5545B69A75B531   KIMBERLY       CANMARTER                   NM     90013986907
5545B817972B36   IVAN           GARCIA                      CO     90006558179
5545BA5885715B   GERBER         BARRIOS ANGEL               VA     90006980588
5545BA8AA72B49   ANTONIO        MENDOZA                     CO     90007710800
5546122555B373   JEFFERY        MAIN                        OR     90007372255
5546227A557157   DANA           MARSHAL                     VA     81044342705
5546247395B387   RACHEL         JONES WARREN                OR     44507224739
5546286A761973   JUAN           SMITH                       CA     90014728607
5546373495715B   CARLOS         GONZALES                    VA     81085317349
5546494545758B   ABRIEL         DRESSER                     NM     90010809454
5546561A461971   RODRIGUEZ      GUSTAVO                     CA     90012146104
5546593674B29B   REBECCA        MOORE                       NE     90006999367
5546645925B399   MARY           SHARP                       OR     44541334592
55466785A33696   TENISHA        MILLS                       NC     12015747850
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 67 of 2350


55467853A2B851   DALE             COREYLL                   ID     90011968530
5546793955B399   BARBARA          NUGENT                    OR     90010969395
55468A63357157   JUSTO            ZEPEDA                    DC     81061430633
5546984997B46B   SHAKERA          GREEN                     NC     90007998499
5546B474172B38   DONALD           SNOW                      CO     33034384741
5546B52625758B   ANNETTE          GARCIA                    NM     35503065262
5546B78875B247   BETTY            SACHLEBEN                 KY     68076137887
55471394A72B49   JEFFREY          MERVIN                    CO     90010973940
5547144AA91356   ORLANDO          CHACON                    MO     90015034400
5547157314B28B   MICHAEL          SAMEK                     NE     90009775731
55471843872B88   VICTORIA         PARRA PAVON               CO     90006928438
554722A1731429   JOHN             ELLIOTT                   MO     90004102017
5547255A972B58   DIONE            ARCHULETA                 CO     90012365509
554725A5772B49   KARA             CULBERTSON                CO     90002155057
55472791372B67   MICHEAL          GUY                       CO     90011007913
55473818A61973   ANA              DE LA ROSA                CA     90013048180
55473A7539132B   JOSEFINA         VALERIO                   KS     90006450753
5547498338B174   PERRY            MICHAELS                  UT     90011099833
55474A58661971   BRANDON          FISHER                    CA     90013680586
554752A1731429   JOHN             ELLIOTT                   MO     90004102017
5547623725715B   MATTHEW          RUMINER                   VA     90013132372
55476434672B27   VALERIE          PETRONE                   CO     33080594346
5547833315B52B   CHRISTINA        HARO                      NM     90002853331
554784A8272B85   JOHNSON          WAREN                     CO     90001594082
5547852745B531   GUADALUPE        REYES DELGADO             NM     90006335274
5547855574B588   JACQUELINE       TAYLOR                    OK     90012585557
5547916988B169   ANGELA           RAMOS                     UT     90006291698
55479326272B85   SCOTT            UHRICH                    CO     33016613262
5547962812B27B   AMULCAR          MORENO REYES              DC     81094636281
55479913A84357   SHARRA           PIERCE                    SC     90013939130
55479A1195B531   MATTHEW          SHUSTER                   NM     90012320119
5547B427672B43   JULIETA          BASTIDA                   CO     33086944276
5547B528A5B531   STEVEN           CHAVEZ                    NM     90008625280
5547B748931428   BARBARA          SHIELDS                   MO     90005337489
5547B7A365715B   LOURDES          TACURE                    VA     90013927036
5548111742B851   NAOMI            MOLINA                    ID     42086181174
55481322897B4B   BREANA           GARCIA                    CO     90000783228
55481922572B27   LEONARDO         SALAS                     CO     90009409225
55481A57984357   GERRANT          ASBORNE                   SC     90013940579
5548235AA5715B   MARCO            MENDOZA                   VA     90013883500
55482814272B43   JULIAN           HERRERA                   CO     33075268142
55483182272B38   ELIU             VILLAGRANA                CO     90009881822
554836A552B851   JACINDA          CUELLAR                   ID     42006946055
55483729A61971   JESSICA LEANN    REYES                     CA     90011417290
5548373984B521   CAROL            NIEDFELD                  OK     90004077398
55483AA8272B85   JOLENE ERMINIA   MAES                      CO     90008060082
5548561325B271   TONYA            CARNES                    KY     90004276132
5548666987B46B   ERIKA            HILL                      NC     11096346698
5548682A94B521   TANYA            WISBY                     OK     90001438209
5548684485B543   LONNIE           LANE                      NM     90001128448
5548696465715B   NOEL             HERRERA QUINTANILLA       VA     81079449646
55486A6254B28B   ROXANNE          HAMILTON                  NE     90009790625
55487253372B36   JAIME            ESQUIVEL                  CO     33036382533
55487682572B49   MARCELO          FLORES                    CO     33041236825
55487A99441271   CAJETAN          MURRAY                    PA     90014520994
55488A4485715B   LAKNDAR          GABBABI                   VA     90011240448
5548929355B399   LUIS             UBILES                    OR     44589232935
55489855A24B7B   LATOYA           WILLIAMS                  DC     90013318550
5548994842B27B   TRACYE           REDD                      DC     90013689484
5548B75A35758B   KARINA           VASQUEZ                   NM     90009547503
5549116A684357   SAMANTHA         HODGES                    SC     90011021606
5549162AA61973   CHRIST           SOTO                      CA     90015126200
5549164324B588   DANIEL           ENCARNACION               OK     90012696432
55491A4547B46B   TANK             THOMAS                    NC     90015330454
55492269872B43   JOSE             JAUREGUI                  CO     90007172698
5549242515715B   JONAS            HERNADEZ                  VA     81044744251
5549246137B46B   JOSE             ESPINOSA                  NC     90012304613
55492769A72B49   SILVIA           QUINTANA                  CO     90010107690
55492A79867836   LARRY            TIAH                      IA     90015250798
55493423172B27   ROSA             GERMES                    CO     90012174231
5549373545758B   IGNACIO          NUNEZ                     NM     90009217354
55493A85172B38   ALVIN            AYERS                     CO     33064750851
5549428A95B543   DANIEL           LUCERO                    NM     90001832809
5549482342B27B   SHERRI           JORDAN                    DC     81027068234
5549498244B588   JAMES            JAMES                     OK     90001369824
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 68 of 2350


5549529615758B   ELIZABETH     GALVAN                       NM     90010282961
55495593872B49   BEVERLY       ARCHULETTA                   CO     33007295938
55496291A72B36   JOSE          BAUTISTA                     CO     90010802910
5549726A191895   AMY           CARROLL                      OK     21056532601
55498A19172B36   SERGIO        SANCHEZ                      CO     90013950191
5549953385B387   MARK          BANKS                        OR     90014795338
55499A2985758B   JULIO         RODRIGUEZ                    NM     90005990298
5549B172A61971   ANDREA        CASTANEDA                    CA     90014001720
5549B73A261975   SANDRA        BONILLA                      CA     90003107302
5549B84585B399   EVAN          HARVEY                       OR     90012248458
554B115364B28B   JOSEPH        HOOPER                       NE     26079151536
554B13A5372B43   BLANCA        GONZALES                     CO     33044893053
554B166354B588   NOEMI         VERA-ROMERO                  OK     90010986635
554B244477B46B   NE            H                            NC     90014704447
554B3227772B27   NICHOLE       MARTINEZ                     CO     33088862277
554B3682891923   WILLIAM       AGULAR                       NC     90006466828
554B376845B387   SKYLAR        WYLIE                        OR     90013827684
554B4197991535   LUIS          MONTALVO                     TX     90008501979
554B448364B588   LUIS          FIGUEROA                     OK     90012484836
554B479785758B   ROBERT        HERNANDEZ                    NM     35578867978
554B496345715B   RAQUEL        CHAVEZ                       VA     90013929634
554B5273A72B88   BRIAN         WILLIS                       CO     33015732730
554B5352372B85   GUSTAVO       MORALES MACIAS               CO     33028983523
554B535855758B   LUPE          GLOVER                       NM     90006813585
554B589687B49B   CHASTITY      DAVIS                        NC     90008708968
554B664765B387   DAWN          HENDRY                       OR     44512756476
554B6797A33699   LATASHA       ESHIET                       NC     90014707970
554B7399A61973   MARIBEL       SEGURA                       CA     90013463990
554B7872231428   LAUREN        SCHEFFING                    MO     27582448722
554B7A8975758B   STEPHANIE     ELIZALDEZ                    NM     90009480897
554B811752B851   KYRSTAL       SMITH                        ID     42066871175
554B8448A33696   BRYAN         NELSON                       NC     12012404480
554B88A1572B38   TIERRA        PEARSON                      CO     90014848015
554B8A95872B49   CLARENCE      BERRYMAN                     CO     90010220958
554B9174772B38   GUILLERMIN    LOYA                         CO     33095811747
554B917A672B43   ALXANDER      JOSEPH                       CO     90011421706
554B9255184357   EMMARYN       BARRETT                      SC     90013432551
554B957742B27B   WANDA         TINDAL-SMOOT                 DC     81051695774
554B98A4861973   MOISES        ORGUNA                       CA     90006268048
554BB227661971   JUAN          MENDOZA                      CA     46050942276
554BB243972B49   DOLORES       GALLAGHER                    CO     33078592439
554BB659772B97   FAITH         BRADY                        CO     90012896597
554BB74A733699   LATOYA        DAVIS                        NC     90014697407
5551126375B129   ROSA          SEGURA-FLORES                AR     23091342637
55513948972B27   RAFAEL        QUINTANILLA                  CO     33084079489
55513A49A5758B   MARIA         AVALOS                       NM     35548190490
5551422A54B588   MICHELLE      WILIAMS                      OK     90013472205
5551425A391356   MICHELL       PAYNE                        KS     90015162503
55514845772B36   KIMBERLY      OWENS                        CO     90013208457
55515376772B85   JUAN          MIGUEL ROJAS                 CO     90014253767
5551575992B27B   CHANITA       BAKER                        DC     90010857599
5551592A333699   CHANISA       SMITH                        NC     90014719203
55515A19561971   DAVID         MARTINEAU                    CA     90002760195
5551624A791982   BRITTANAY     DUNN                         NC     90009922407
55516A47272B27   BERENICE      ECHAVARRIA                   CO     90009460472
55516A66172B27   CHRISTOPHER   VALENCIA                     CO     90004100661
55517284472B49   CARLOS        MORENO                       CO     90013962844
5551756A872B36   MARK          MARTINEZ                     CO     90007275608
55517931272B36   STEPHANIE     MANN                         CO     90010129312
55517A3872B948   AMANDA        CASTRO                       CA     90008610387
5551861A67B46B   TIMOTHY       HOUSTON                      NC     90012396106
555194A1972B85   GERARDO       MONTANEZ                     CO     33074644019
5551955655B543   VERONICA      GONZALES                     NM     35007405565
5551B29685715B   MAURICIO      LOPEZ                        VA     90013132968
5551B785161971   PATRICIA      CESENA                       CA     90013247851
5551BA9A85715B   SANDRA        COREAS                       VA     90015030908
55522567472B43   ROEL          MATA                         CO     33033555674
55523423224B76   STEPHANIE     MACK                         VA     90004924232
55523686172B38   MANUEL        HERNANDEZ DE LA CRUZ         CO     90013936861
55523782672B27   JESUS         ESTRADA                      CO     90000187826
5552387384B588   BETTY         HALL                         OK     21573598738
55524476272B38   STACY         SCHWEBACH                    CO     33036434762
5552496342B27B   KRISTINA      WASHINGTON                   DC     81048079634
55524A35433696   ANGELA        LAMB                         NC     12003640354
55525A5245B387   CHRIS         WILCOX                       OR     90013790524
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 69 of 2350


55526172272B85   JOSE              LUIS                     CO     90001701722
55526454A91895   LASHION           REYNOLDS                 OK     90012284540
55526476672B36   JOHN              SMITH                    CO     33012184766
55526A4745715B   FREDDY            CHICAS                   VA     90008420474
5552838A172B85   ROSA              GONZALEZ                 CO     90014253801
55529351276B97   JAMES             MALVEY                   CA     90001463512
5552935537B46B   MILDRED           DAVIS                    NC     11065923553
55529715A76B58   TERESA            GARCIA                   CA     90012827150
5552997292B851   LUISA GUADALUPE   REYES                    ID     90008629729
5552B457872B27   RUTH              DIAZ                     CO     90012434578
5552B815255937   EDNA              DELEON                   CA     90011938152
55531351172B67   LORI              ALCON                    CO     33015523511
55531482372B85   MIGUEL            RAYMUNDO                 CO     90010734823
5553289525715B   DAVID             CASTRO                   VA     90014818952
5553329A57B46B   ALEJANDRO         REYES                    NC     90014992905
5553372648B169   ESMON             TUCKER                   UT     31077907264
55534535A91587   LORENZA           HERRERA                  TX     75036575350
55534774972B36   MARKUS            DEAN                     CO     33025437749
555358A777B46B   VIVIANA           HERNANDEZ                NC     90012958077
5553673314B588   APRILE            SMITH                    OK     21561227331
5553686964B588   ERNESTO           ACOSTA                   OK     90010898696
55537224772B85   NANCY             SALAS                    CO     90013292247
5553725815758B   NICHOLAS          ESQUIBEL                 NM     90013252581
555379A9772B38   ISRAEL            CARDONA                  CO     33046249097
55537A2244B588   LLUVIA            OLIVEDO                  OK     90008960224
55538271772B43   KELLY             PATTERSON                CO     33053402717
55538517A85928   MARCUS            MARTINDALE               KY     90013015170
55538657A5B531   PAUL              NTUMBA                   NM     90014676570
555392A8961971   RAEDA             ABDULAHAD                CA     90006212089
5553964742B27B   ROSE              ASUQUO                   DC     90013136474
5553B225161975   ROSEMARY          RAMIREZ                  CA     90011542251
5553B696872B38   BENJAMIN          PALMA                    CO     33058006968
5553B87384B588   BETTY             HALL                     OK     21573598738
5554143A185928   JARUS             GLASPIE                  KY     90010984301
5554167122B869   ROBERT            LOWE                     ID     90008126712
55541824776B7B   JULIE             RALPH                    CA     90011358247
5554244735B399   JAMES             REYNOLDS                 OR     90012744473
55543A38372B85   PATRICIA          CANNON                   CO     90009720383
5554436A761973   TANYA             ZEPEDA                   CA     90006353607
55544551472B36   CHARLENE          GARCIA                   CO     33086375514
55545611672B36   DENEKA            MAESTAS                  CO     90015036116
5554629A272B53   SHARON            LOCKE                    CO     33095422902
5554636A85715B   ROGER             ORTIZ                    VA     90013923608
5554645425B399   SHULENA           NELSON                   OR     44524454542
555466A767B46B   LEANESE           CHILDRESS                NC     11073116076
5554674145758B   ASTRID            LUNA                     NM     90012657414
55546789A33699   VENDREDI          SHORE                    NC     90012437890
5554769A691356   VIRGINIA          ESQUIVEL                 MO     90007566906
55547757972B49   CANDASI           SANCHEZ                  CO     90009447579
5554775812B27B   WILLIAM           QUEZADA                  DC     90013447581
55547A17691895   CLAUDIA RUBI      GRANADOS                 OK     90004520176
55547A5335B387   RAQUEL            RAMIREZ MULATO           OR     90013750533
55547A67651348   NANCY             TARANTINO                OH     90000570676
55547AA5372B36   CHRISTINA         ALLEN                    CO     90003150053
55548277872B49   CAROLYN           TURMAN                   CO     33088522778
5554912A272B67   MARIA             CARDENAS                 CO     90003491202
5554934A491356   RICHARD           MATHIS                   KS     90002913404
55549AA9785928   MARY              JEFFERSON                KY     67030750097
5554B525855951   AMBER             MADRIGAL                 CA     49098315258
5554B72225B399   PAUL              HERRY                    OR     90014847222
5554BA45572B43   BRANAYE           BARHAJAS                 CO     90010230455
55551228372B85   LEAH              HELBAK                   CO     33054882283
5555143452B934   ROSALINA          GONZALEZ                 CA     90011224345
5555158414B28B   CHRISTOPHE        WEGNER                   NE     90001265841
5555174AA5758B   ANGEL             ALVARADO                 NM     90010637400
55552399472B85   ALTHEA            CASTRO                   CO     90014253994
5555245695B93B   DEONEL            MARTINEZ                 WA     90015474569
55552A5563B333   ARTURO            QUIROGA-BADILLO          CO     33009300556
5555365A15715B   CARLOS            SOLIS                    VA     90014796501
5555373324B524   JOSEPH            ABBO                     OK     21528057332
555537A8772B43   LAURA             PADILLA                  CO     33046377087
55553A22533696   STEPHANIE         MOSHER                   NC     90011980225
55554165872B88   UNKNOWN           JOANIE ARMENDAREZ        CO     33036981658
55554646A51367   TONYA             JOHNSON                  KY     90001696460
55554A91255951   RALPH             WESLEY STYLES            CA     90001010912
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 70 of 2350


5555521A55B531   MICHAEL       SALAZAR                      NM     35003442105
55556416372B49   ROBERT        ROW                          CO     90001294163
55556676372B36   LOUIE         HERNANDEZ                    CO     33094636763
555567A6261973   JANINE        CONWAY                       CA     90003707062
55556965A5758B   AGUSTIN       REYES                        NM     35574139650
5555735944B588   DAKOTAH       SPENCER                      OK     90015113594
5555748A833699   KARVIN        MENDEZ                       NC     90013924808
5555755742B851   NANCY         JUAREZ                       ID     42088805574
5555778712B27B   SONIA         JOYNER                       VA     81000467871
55558388272B27   GABRIEL       BARRERAS                     CO     33035903882
5555858414B28B   CHRISTOPHE    WEGNER                       NE     90001265841
5555868135715B   SELAM         HAILE                        VA     90014886813
55559889A51348   DEBORAH       WARD BOWMAN                  OH     90010998890
55559A33461973   VANESA        VALDOVINO                    CA     90001180334
5555B683A5B387   MARSHA        ROETHER                      OR     90014276830
5555B692672B38   JOE           CARMARENA                    CO     90012876926
5556135882B27B   DARNICE       JOHNSON                      DC     90011423588
5556139A472B35   GAIL          ANTHONY                      CO     90011883904
55561951A33699   WILLIAM       BRABOY                       NC     90014729510
55561A14472B27   BEVERLY       WALLIS                       CO     90006340144
55561A33672B36   JOSE          RODRIGUEZ                    CO     90000830336
5556247615758B   LORENA        CHAVEZ                       NM     35561504761
55562951A33699   WILLIAM       BRABOY                       NC     90014729510
5556327855B531   AMANDA        ESQUIBEL                     NM     90005382785
5556357145715B   JOSE          LEMUZ                        VA     81012395714
5556438895B543   ESPINOSA      JOE                          NM     90006673889
555659A5291895   YASMIN        TREVIZO                      OK     90008019052
55566267672B88   DIANA         DUNCAN                       CO     33079732676
55566573172B49   JORGE         BERNAL                       CO     33037625731
5556675825B531   JESSICA       MORES                        NM     35056917582
555677A185B271   JILL          KESSINGER                    KY     90013227018
555678A2484357   TOLONDA       GIBBS                        SC     90005208024
55567A78724B7B   JAMES         ROBINSON                     MD     90011770787
55568359772B36   EDGAR         CRUZ                         CO     90009473597
5556869134B588   LUIS          DAVILA                       OK     90005756913
55568A2417B46B   LETICIA       RESENDIZ                     NC     90008920241
5556B251961973   ROBERT        VAZQUEZ                      CA     90011822519
5556B519585928   MICHAEL       TRUJILLO                     KY     67084995195
5556B55555B387   BRITTANI      DAVIS                        OR     90012145555
555711AA933699   KENNETH       COLE                         NC     90014731009
5557138265715B   NELLY         SILVA                        VA     90014113826
55571836A5758B   ADAN          LEWIS                        NM     35565228360
5557194445B283   ANDRE         RIICHARDSS                   KY     90009409444
5557225634B588   RUSS          DAVIS                        OK     90015482563
5557276554B28B   HOWARD        COLE                         NE     90008967655
55573793A2B869   KRISTA        ECKIS                        ID     90010637930
5557382782B851   REYNA         GARCIA                       ID     90009378278
5557484295B387   BRIAN         BERTHA                       OR     90008328429
555755AA284357   LATEIA        SCANTLING                    SC     90007585002
55575654272B38   JANN          SCOTT                        CO     33074096542
55575756124B7B   TIFFANY       KEYS                         DC     90000897561
55575A76672B36   JAIME         JIMENEZ                      CO     90014170766
5557694267B46B   SULVANA       HOLLIS                       NC     90012659426
55576A8465715B   VERTHA        REYES                        VA     81076960846
5557734795B399   MICHELLE      SHOWALTER                    OR     90008503479
55577919A61975   RICK          RIVERA                       CA     90007819190
5557834262B851   MONTGOMERY    GIBSON                       ID     42017153426
5557887515715B   MOHAMMAD      YOUSEF IMANI                 VA     81045628751
555792A9851348   DANIEL        WALLACE                      OH     90013062098
5557946A884357   ANGELA        ROBINSON                     SC     90013954608
55579473372B38   SEAN          VIGIL                        CO     90013154733
5557964345B283   AMANDA        MOORE                        KY     90008496434
5557B9A3A72B43   ROBERT        NIEVES                       CO     90010669030
55581393172B27   ELICEO        PINON                        CO     33040533931
5558224274B588   TYRONDA       PIERSON                      OK     90013472427
55582247472B36   MARIO         RAMOS                        CO     90005692474
555823A8161975   ROBERT        RASTA                        CA     46020913081
5558273455B129   MANUEL        CEDILLO                      AR     90005537345
5558326465B271   RENE          HAMPTON                      KY     68009052646
5558369655B399   STEVEN        LEE                          OR     90001046965
55583826772B67   WILLIAM       SERRANO                      CO     90006638267
55583896272B88   JONATHAN      HERNANDEZ                    CO     90006508962
555838A7191587   SALOMON       POLANCO                      TX     75012848071
5558412284B588   MATTHEW       HARVEY                       OK     90010901228
5558424835B283   STORM         HARLOW                       KY     90013402483
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 71 of 2350


55584292372B27   MARIA         ESPARZA                      CO     33076672923
5558511244B28B   BOBBIE JO     PETERSEN                     NE     90011771124
5558521122B27B   LAKISHA       LORENA                       DC     90012862112
5558529A97B46B   DANIEL        DAVIS                        NC     90010562909
55586598872B27   KARINA        CORREA                       CO     33016955988
55586626872B85   SAUL          QUINONES                     CO     33009466268
5558677694B588   ROSALDA       GRANT                        OK     90007047769
5558696515B387   DANIELLE      WHITE                        OR     44589179651
55587282172B43   TAMIKA        OWENS                        CO     33071862821
55587289872B36   JOSE-LUIS     GALLEGOS                     CO     90010232898
55587474872B67   SHIERE        GRAY                         CO     90005424748
55587A65821631   DEONTE        CAVOR                        OH     90014360658
5558842247B46B   SHEQWENA      CRENSHAW                     NC     90013784224
55588628A4B28B   FRANCISCO     PANZI-ADAME                  NE     90006856280
55589167472B27   JOSE          HERNANDEZ LOPEZ              CO     33030361674
555891A3651348   EDIBERTO      REYNOSO                      OH     90015311036
5558969415B283   JUAN          LINDO TINO                   KY     90014376941
5558993985B387   PHILLIP       MADDOX                       OR     44508089398
55589AA912B27B   CHARLES       WINGFIELD                    DC     81027120091
5558B37375B531   KATHY         BARRERAS                     NM     90014893737
5558B98A35B399   CORTEZ        WILLIAMS                     OR     90003199803
5559138555B531   ALICE         VERIN                        NM     90015093855
55591541472B27   LAURA         MARTINEZ                     CO     90013115414
5559168A672B38   GRISELDA      ALCALA                       CO     33054646806
5559172385758B   ROCIO         GOMEZ                        NM     90012737238
5559248745758B   PRISCILLA     MEDINA                       NM     35517154874
5559332824B588   JOSE          CRUZ                         OK     90003823282
5559352955758B   CIERRA        THOMAS                       NM     35549625295
55593844A91895   DESHAUNTAY    BRADFORD                     OK     90000728440
55594364972B38   MARCO         MUNETON                      CO     90014993649
555944A342B851   DAN           TACKITT                      ID     90004024034
5559552752B27B   CHANTE        WALKER                       DC     90014715275
55595621172B49   TERESA        JOHNSON                      CO     33096356211
55595A55972B36   EDWARD        STEVENSON                    CO     90009230559
5559639A433657   DEVON         WILLIAMS                     NC     90005973904
55596418772B38   APOLINAR      PENA GALLEGOS                CO     33094054187
55596A46324B7B   EDILSAR       FUENTES                      VA     90007920463
5559711577B46B   FLORENCIA     MORALES                      NC     90005281157
55597464372B88   RAQUEL        DAVIS                        CO     33016434643
5559772A791587   ERNESTO       DE LA CRUZ                   TX     90013777207
55597871A4B588   JOSEPH        CERNOCKY                     OK     90015178710
5559832135B129   TINA          ALLEN                        AR     23095803213
55598533872B38   DEMAJE        RATCLIFF                     CO     90013275338
55598AA125B531   RODNEY        WALK                         NM     90013970012
5559963677B359   LEONARD       LEASSEAR                     VA     81001526367
55599866A72B36   JASMINE       SOLANO                       CO     90010388660
555999A892B851   CHRISTOPHE    WYLIE                        ID     42055509089
55599A12872B38   TAMIKA        WILLIAMS                     CO     90011100128
55599A43284357   AGAMSHARAN    PATEL                        SC     90013520432
5559B768A7247B   TIM           BOYD                         PA     90010747680
555B1183151348   CHRISTOPHE    COMBS                        OH     66009741831
555B1A3324B588   ALFONSO       SANTA CRUZ                   OK     90011340332
555B1A87985928   BRIAN         CARR                         KY     90005380879
555B212A855951   JOHN          JUDKINS                      CA     90000611208
555B232A44B28B   DUSTY         LORD                         NE     90000593204
555B248825134B   KENNETH       ROBERTS                      KY     90011544882
555B255352B27B   REGINALD      COX                          DC     90014235535
555B314994B588   AMY           BLACKBURN                    OK     90011071499
555B326695B399   MARY          WOOD                         OR     90008002669
555B34A3472B43   NIKITA        STEWART                      CO     90014814034
555B4124531462   BRANDEE       WYATT                        MO     90011191245
555B4149972B85   JONATHAN      NADEAU                       CO     90012541499
555B4342172B36   LILA          PURI                         CO     90012333421
555B4925691356   JUSTIN        CAMPBELL                     KS     90015149256
555B5288457157   SOLOMON       SEIUM                        VA     90006042884
555B5356A91587   DIXON         MEJIA HERNANDEZ              TX     90013053560
555B573984B521   CAROL         NIEDFELD                     OK     90004077398
555B576212B92B   GERARDO       VIVEROS                      CA     90008677621
555B5886261975   LYNDA         DUKES                        CA     90009738862
555B6224572B49   ELMER         MORAN                        CO     90011942245
555B6689672B27   VICTORINO     CAMPOS                       CO     90002306896
555B733745B387   JAMES         MOTTRAM                      OR     44557983374
555B766A85B399   PATRICK       BUCK                         OR     90002936608
555B7731272B49   PEDRO         ASCENCIO                     CO     90008537312
555B773945B283   CHARLIE       CLARK                        KY     90006507394
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 72 of 2350


555B775294B588   SERGIO        MORALES                      OK     90012017529
555B777484B251   MICHELLE      HALPINE                      NE     27083687748
555B7A15472B85   JOANNE        GARCIA                       CO     90008060154
555B7A18261975   ALFREDO       TORRES                       CA     90013260182
555B8457761971   JOE           FLORENTINO                   CA     90013224577
555B8A77572B63   GAY           STOUT                        CO     90002400775
555B9A9482B27B   JIM           SCOTT                        DC     90013670948
555BB136461973   JAIME         PORRAS                       CA     46017961364
555BBA67A91968   FELIX         HAYES                        NC     90007440670
555BBA76A5B387   RAUL          EQUIHUA                      OR     44574850760
556112A685B543   ABIGAIL       GARCIA                       NM     90003252068
5561141734B588   FLOYD         HILBERN                      OK     21551364173
5561144A572B36   ANGELICA      GONZALES                     CO     90008994405
5561195725B531   PATRICK       SANTISTEVAN                  NM     90002499572
55611A33172B43   JANATHAN      BRATCHER                     CO     90010030331
55612648972B38   PAULA         HERNANDEZ                    CO     33054236489
55613133272B88   JORGE         RUIZ                         CO     33062631332
55613255A72B49   BARIDEAUX     JESSICA                      CO     90009712550
55613321757B81   RYAN          PURDY                        PA     90014543217
5561375295B531   CARLOS        CAMPOS                       NM     90008667529
5561453942B851   DANA          CAPPS                        ID     90005455394
55614824272B43   CHRISTIAN     CALKINS                      CO     33030968242
5561484A75B129   CLYDE         SANDERS                      AR     90005658407
55614A52A72B85   JENIFER       REED                         CO     90013110520
55615A5AA72B58   TYLER         MOORE                        CO     90012570500
55615AA3772B27   JESSICA       PEREA                        CO     90013610037
5561652272B27B   NICOLAS       MOYER                        DC     81088725227
55616AA7172B38   OCTAVIO       ROSA                         CO     90014100071
5561724722B851   KARLA         CAMPOS                       ID     90011192472
55618A9532B27B   RENARTA       MACK                         DC     90015110953
5561912724B588   JOSEPH        SAYAS                        OK     90014691272
55619A95631429   DALE          PRATT                        MO     27557670956
5561B113591587   CARLOS        GALLEGOS                     TX     90013761135
5561B7A694B28B   MICHEAL       MULLENS                      NE     90001707069
5561B9A1672B88   PAMALA        LOPEZ                        CO     90006509016
55621167372B36   CHRISTIAN     RODRIGUEZ ROSAS              CO     33071241673
5562122452B851   PETER         HOFF                         ID     42031042245
5562215A772B49   ROSEANN       BRITTON                      CO     33018221507
5562259495B531   JOHNATHAN     TERRY                        NM     90013325949
5562277A772B85   PAUL          BITEL                        CO     90014257707
5562291524B28B   MARILYN       JONES                        NE     26042859152
55623A7854B28B   KARINA        GONZALEZ                     NE     26012850785
55624653A33699   REGINA        STRICKLAND                   NC     90001936530
556248A7A5B283   ASHLEY        WEATHERS                     KY     90008368070
5562556915B531   LUPE          TRUJILLO                     NM     90001705691
55625714672B43   ELIZABETH     MICHAELS                     CO     90007387146
55625AA4572B85   MOHAMED       HAMED                        CO     90014710045
5562613225B531   ROGER         KONGNE                       NM     90010731322
5562618882B899   SUSAN         GOEPFERT                     ID     90012571888
556265A8461973   ELIZABETH     HERNANADEZ GONZALES          CA     90012405084
55627279172B43   KAYLAN        MITCHELL                     CO     90014932791
5562734A75715B   NELSON        RAMOS                        VA     90013143407
55627716372B38   LUIS          COLOMERO                     CO     90012877163
55627AA545B271   KYRI          DEMBY                        KY     90004310054
55628537A91587   MARIA         RIVERA                       TX     75058265370
5562871A15B399   JACKIE        MCKINNEY                     OR     90009017101
5562885777B46B   CHARLES       JONES                        NC     90005578577
5562889925B387   CRISTINA      HERNANDEZ-CARMONA            OR     90015418992
5562894475B283   CRISTIN       DURHAM                       KY     68073249447
55628A1345B531   CONNIE        THOMAS-MONTANO               NM     35065850134
55629625A61973   MARINA        GARCIA                       CA     90011396250
55629768972B85   DARLENE       MCARTHUR                     CO     90014257689
5562977874B28B   JOE           WENCIKER                     NE     90003147787
5562993A533696   ZELDA         KELLEY                       NC     90014809305
5562B39165715B   JOSE          AGUILAR                      VA     90007623916
5562B451772B36   JACK          STEEL                        CO     33095484517
5562B56165B387   PAIGE         BYROM                        OR     44592185616
5562B694872B67   BROWN         WANDA                        CO     90001326948
5562B714172B38   JESUS         BARRAZA                      CO     90012877141
55631819A72B36   MARTHA        FAJARDO                      CO     90014838190
556321A6791587   MARIA         CONDE-PEREZ                  TX     90010781067
5563233122B851   MUKESHIMANA   BELLANCINE                   ID     90011683312
5563251285B531   LIZ           APODACA                      NM     90010725128
5563256965B399   RHONDA        TAYLOR                       OR     44552745696
5563378A95B531   GABRIELLE     KING                         NM     90009717809
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 73 of 2350


556337A745B397   CONNIE                 LOPEZ               OR     44518627074
5563439375B399   MAHABUB                MAHAMED             OR     44569143937
55635A14885928   PETER                  MCKENNA             KY     90012040148
556364A485715B   MAYRA                  SOTO                VA     90013144048
5563687545B399   MARIA DE LOS ANGELES   OCANA ROJAS         OR     90014478754
55636A92A51348   JESSICA                ALBAVERA            OH     90013270920
556374A535715B   SAYRA                  HERNANDEZ           VA     90001604053
5563777465B387   HARDY                  SARA                OR     90011007746
55638451372B49   ALEJANDRA              GUTIERREZ           CO     33079094513
55638677A91587   EDUARDO                GRAJEOLA            TX     90015616770
5563877447B396   FRANKLIN               TORRES              VA     90003207744
55639227272B85   JACQUELINE             COSSIO              CO     90011012272
5563935A15715B   COBBY                  BONSU               VA     81061433501
5563955355B387   ADRIANA                ANSUREZ             OR     44582575535
5563965A15B531   MAYRA                  OLIVAN              NM     35045286501
55639914572B43   MATTHEW                SILCOTT             CO     33090909145
5563B57144B55B   SHAKAYLA               GORDON              OK     90011195714
5563B84184B588   TYLER                  SCOTT               OK     90004938418
5563B847255937   SALVADOR               LOPEZ               CA     90001348472
5563BA4515715B   ERIC                   FLEMING             VA     90014880451
556416A5361973   LAWRENCE               THOMPSON            CA     90013896053
55641778172B38   JOSEPHINE              MECILLAS            CO     33070077781
556422A5A4B588   MARTIN                 MEDINA              OK     90015102050
55642339A72B85   VANESSA                TAYLOR              CO     90004003390
55642A3165B399   ANGELA                 MUTO                OR     90002480316
55642AA4285928   MIRIAM                 CAMPOS              KY     90005310042
55643997A5B387   BRENT                  DEWHITT             OR     90015599970
55643A28591356   TERRIE                 MATHIS              KS     90010590285
55644399672B43   STEVEN                 BRYANT              CO     90012503996
55644731A91587   JASMIN                 LUNA                TX     90011377310
5564522652B27B   DASHAWN                CARTER              DC     90013962265
5564541685B399   FREDERICK              WARTHEN             OR     90015124168
556456A9872B43   SARAI                  RESENDIZ            CO     90013736098
55645A83172B43   MARIA                  REYNOSO             CO     90004830831
556466A3272B85   LAWRENCE               PEREZ JR            CO     90011896032
55646A11351348   LAURA                  WHITE               OH     90002800113
556475A5333699   DAVID                  SMITH               NC     90014745053
55647897A5758B   ANITA                  MORALES             NM     90014158970
556478A6191587   YVETTE                 MARTINEZ            TX     90011438061
55648541672B49   ANNASTASIA             MENNEMEYER          CO     90014095416
55648A44461975   CELIA                  ROCK                CA     90013990444
55648A75357157   TONY                   MCILWAIN            VA     90007190753
5564B41955B283   JUAN                   ROJAS-ALVAREZ       KY     90009624195
5564B73915B531   DARREL                 JONES               NM     35008957391
5564BAA7451329   LESLIE                 WILLIAMS            OH     90001080074
5565126154B29B   LAMAR                  CARTER              NE     90009452615
5565173782B851   MONICA                 HERNANDEZ           ID     42050537378
556522A935B283   JAMES                  ELLIOTT             KY     90006082093
55652AA7772B38   MAURICIO               CRUZ                CO     90014100077
5565458A472B36   ADRIANA                ELIOTT              CO     90004755804
55654596872B36   YOLANDA                JAMES               CO     90011765968
5565545A55715B   TISA                   HOGAN               VA     90005024505
5565564445758B   JAVIER D               VALENZUELA          NM     90002996444
5565632794B588   DARLENE                SCOTT               OK     90009593279
5565634615715B   DIGNA                  PORTILLO            VA     90013153461
55657225872B49   CHRISTIAN              GUZMAN-VENTURA      CO     90011942258
55657495A91587   CRISTINA               HERNANDEZ           TX     90013214950
5565756765B399   ESSENCE                RAMIREZ             OR     90013775676
5565824A333699   RUTH                   HOLIFIELD           NC     90012842403
5565864A172B85   JANE                   PACHECO             CO     33061906401
5565873A372B38   LORA                   GONZALEZ            CO     90012877303
5565876557B46B   MARIA                  ZAVALA              NC     11019557655
5565951576B246   ANGELA                 BASS                KS     90001425157
5565968665B531   RON                    ARCHULETA           NM     35098396866
55659A8A372B85   JESUS                  RENTERIA            CO     33095660803
5565B297785928   JEFF                   NOE                 KY     90002042977
5565B64475B399   J.A.                   MAGNUSON            OR     44552746447
5565B838157157   CARLOTA                BARRERA             VA     81061728381
5565B93185758B   IRMA                   MEDRANO             NM     90013149318
5566147795B399   JARED                  JOHNSON             OR     90004984779
5566149952B851   RICHELLE               PEHRINGER           ID     90009674995
55661538924B7B   OCTAVIA                WALKER              DC     90014715389
5566173947B46B   CURTIS                 HESSIWS             NC     90014927394
5566247A15758B   FRANCISCA              GAYTAN              NM     35538104701
5566371475758B   RAQUEL                 DE LA TORRE         NM     90011777147
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 74 of 2350


5566445115758B   BIANCA        SOSA                         NM     90007674511
5566459132B851   SHALAH        STINNETT                     ID     90005455913
55664A85272B27   JORGE         GALVEZ                       CO     90012160852
556652A495B283   LISA          BURKE                        KY     90009592049
55665394472B43   JAMAICA       HINES                        CO     90014133944
5566544135B387   CATARINA      OTZOY MACHIC                 OR     90000364413
55666273A4B562   LAURA         RODRIGUEZ                    OK     90010582730
55666A36372B85   ROGELIO       MONDRAGON                    CO     90009720363
5566742612B851   CODY          BELCHER                      ID     42008484261
55667686A61973   CONANTINO     REYES                        CA     90013356860
55669311472B38   SCOTT         WILLSON                      CO     90013623114
5566969242B851   RUSSELL       ROCHELL                      ID     90010416924
5566979567B46B   ROTISHA       GETER                        NC     90004257956
5566B244672B38   LA QUANA      BROWN                        CO     90013462446
5566B388172B36   JOSE          HERNANDEZ                    CO     90012673881
5566B883433699   ARMANDO       HERRERA                      NC     90014748834
5567163232B851   JESUS         VIZCARRA HUERTA              ID     90011286323
55671753772B88   LEXIS         AGUILAR                      CO     33016437537
55671791A5715B   OVIDIO        VILLATORO                    VA     90014887910
55672937472B27   JESUS         MAGANA                       CO     90013429374
5567491335B271   AMY           WHITE                        KY     90004449133
55675112672B67   CORDOVA       ANTHONY                      CO     33048961126
55675366A2B851   KARL          DELRIO                       ID     42063643660
556753A9A5B271   TERRY         MURRELL                      KY     90011133090
5567552875B543   JOSE          TERRAZAS                     NM     90012075287
55676A8A77B46B   BOBBIE        KIRKPATRICK                  NC     90013530807
556774A3861973   VANESSA       FRANCO                       CA     90006354038
55677A36361975   RODERICK      HARVEY                       CA     46072130363
5567825A54B29B   DICK          FITSWELL                     NE     90011752505
556788A6591587   ESMERALDA     NUNEZ                        TX     75033708065
5567927544B588   ISAIAS        ESPINOZA                     OK     21500222754
5567928874B521   TASHEENA      AGU                          OK     21501162887
55679589272B49   KEENAN        PUGH                         CO     90013515892
5567981877B46B   BRENDA        MILENDEZ                     NC     90010538187
5567B514A5715B   OSMAN         KARGBO                       VA     81045735140
5567B52144B588   KRISTINA      HUFF                         OK     90009405214
5567B65575B387   BROOKE        CARLIN                       OR     90014746557
5568128945715B   ANITA         LIMA                         VA     90011012894
55681684872B36   MATTHEW       KEMP                         CO     33047556848
55681744572B27   DANIEL        COOK                         CO     33058087445
55682228872B88   CHASTIDY      DIAZ                         CO     33056712288
55682A3824B251   DENNIS        CLARK                        NE     90011840382
55682A4184B562   JESUS         CASTANEDA                    OK     90006350418
5568315275B399   SHAWANA       GAINES                       OR     90011141527
5568339A14B28B   ZACHARY       PHIPPS                       NE     90011583901
55683871172B36   EDUARDO       GARCIA                       CO     90012938711
5568389825715B   IRIS          HERNANDES                    VA     90004538982
5568429A972B38   ABRAHAM       SERRANO                      CO     90008422909
5568455435B531   MARIA         BOLIVAR                      NM     90002845543
55685161A72B38   T             TALLEY                       CO     90010481610
55685281A85928   CARLOS        ALONSO                       KY     90015112810
5568535915758B   SHALOME       LUCKY                        NM     35505573591
55686661A72B27   LISA          SERNA                        CO     33027256610
55686998872B36   CATHERINE     GOZALES                      CO     90010679988
5568786364B588   JESUS         MANCERA                      OK     90014828636
5568B128172B36   RITA          SALAS ROCHA                  CO     33075231281
5568B181191356   JOY           HILL                         KS     29025491811
5568B26625715B   CARLOS        MANUEL TREJO                 VA     90015232662
5568B354451348   CONSTANTIN    BLEMANO                      OH     66048243544
5568B51724B588   RAYMUNDO      SOLACHE                      OK     90012485172
5568B592861973   EDREESE       POPAL                        CA     90014935928
5568B63A391895   VERONICA      FRAIRE                       OK     90001756303
5568B68834B28B   ANGELA        BEAR KILLER                  NE     90004386883
5568B742172B27   MIKE          PHELPS                       CO     90012497421
5568B98555715B   MARLENE       POMEROY                      VA     90013929855
556911A675B283   SABRINA       DORSEY                       KY     90010281067
55691A6134B29B   IBRAHIM       MUSE                         NE     90007060613
5569237A62B27B   DESHA         QUARLES                      DC     90012633706
5569238364B588   JOSH          BROWN                        OK     90006923836
55693381172B36   JOHN          ESCAMILLA                    CO     33048943811
5569362278B644   CANDICE       HALL                         TX     90015256227
55694276A5715B   ABDUSELAM     MOHAMMED                     VA     90002232760
5569448954B588   KIMBERLY      STOKES                       OK     90002224895
556944A3A4B28B   HAROLD        COPLAN                       NE     90000604030
55695858A4B521   KEVIN         GILBERT                      OK     90009858580
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 75 of 2350


55695887372B27   JESSE         CALHOON                      CO     90011478873
55697166672B43   JESSICA       CAMARA                       CO     33051931666
55697862872B27   ADAN          MORALES                      CO     33098908628
556984A3A4B28B   HAROLD        COPLAN                       NE     90000604030
55698A53772B38   ALEXIS        SISNEROS                     CO     90006680537
55699814572B38   FELIPE        CORDOVA                      CO     90002098145
55699A54761975   ALEXYZ        CARILLO                      CA     90013990547
55699AA1555997   AGUSTIN       GONZALEZ                     CA     90009880015
5569B42A472B49   EARLENE       NEWTON                       CO     90010424204
5569B743961971   JOSH          OSBORN                       CA     46019777439
556B1682472B67   DARLENE       GONZALEZ                     CO     33000096824
556B1686861971   KILIS         MATAITUSI                    CA     90008896868
556B1A7925715B   THERESA       RAMSAY-CLARK                 VA     90013150792
556B248AA61971   CYNTHIA       TROTTIER                     CA     90013804800
556B2756431429   MICHELLE      MOORE                        MO     27557667564
556B2AA3172B38   SANDRA        GUERRA LEOS                  CO     33098550031
556B3196161973   DIANA         KANE                         CA     90013481961
556B322345715B   EDWINA        REYES                        VA     90013142234
556B355655B543   VERONICA      GONZALES                     NM     35007405565
556B3746333699   PRINCESS      FLOYD                        NC     90010557463
556B524A791895   PAULA         MARQUEZ                      OK     90008032407
556B57A445B387   JAMES         HARRAH                       OR     90014697044
556B5A67985928   AURAMIL       QUINONEZ                     KY     90011990679
556B616A772B27   ALAN          ATHEY                        CO     90014351607
556B675A791356   CHRISTINA     COOPER                       KS     90011697507
556B6795391587   ANGELICA      GONZALEZ                     TX     90013027953
556B6894272B43   WILLIE        NCNEIL                       CO     33015888942
556B7128355951   VELIA         MONTOYA                      CA     90007431283
556B745262B27B   MELVERNA      WEELER                       DC     90013364526
556B74A8571935   MELISSA       BLOCK                        CO     90012064085
556B755125B387   KOURTNEY      KRUM                         OR     90014035512
556B784855B271   MAIA          SAZEKELY                     KY     90003828485
556B789525715B   DAVID         CASTRO                       VA     90014818952
556B823362B57B   ALECIA        PRESSWOOD                    AL     90011972336
556B833235758B   ISABEL        MIRABAL                      NM     35586863323
556B874527B46B   ATOYA         WILSON                       NC     11073167452
556B9887391895   ALAN          FRANKS                       OK     21004928873
556B9A57A72B49   JERRY         SARABIA                      CO     90001490570
556B9A84685928   NASARIO       SANCHEZ                      KY     67029900846
556BB473757157   JOSEPH        BUCKLEY                      VA     81044664737
556BB72455758B   SABRINA       LOPEZ                        NM     90013797245
556BB836872B49   OTIS          EMMERT                       CO     90014158368
556BBA8645B129   SHERRY        WILLIAMS                     AR     90003390864
557111AA691587   EDUVIGES      VILLA MORENO                 TX     90008261006
55711227172B43   ERIC          BRIGGS                       CO     33057012271
55711629172B36   URIEL         ALVARADO                     CO     33093606291
5571185912B851   CADRLLO       AARON                        ID     42015628591
55711A33961975   DERON         HACKLER                      CA     90012830339
55712A5A75B399   SOCORRO       CORDOVA                      CA     44510120507
5571325855B283   STACEY        RUNYON                       KY     68008542585
5571448A372B85   JULIO         ROMERO                       CO     90001694803
5571466184B588   CYNTHIA       SWAIN                        OK     90011056618
5571466455B283   DELTE         ROBINSON                     KY     90015326645
5571474A372B36   MICHAEL       FOX                          CO     90011307403
5571479485715B   ZACKCEMA      BERKLEY                      VA     90013157948
5571621AA63657   JEREMIAH      STEVENS                      MO     90011652100
5571646365B271   EBONEE        HACKETT                      KY     90007164636
55716751472B43   ROBERT        LOVATO                       CO     90013137514
5571685465B531   MARIA         JUAREZ-FERNANDEZ             NM     90013658546
55717195572B49   ANGELICA      BARRIENTES                   CO     33027971955
55717414872B67   ERICA         VILLA                        CO     33052534148
557174A3333696   MARLEANEA     CARMICHAEL                   NC     90014514033
55717859272B49   TASHANA       WALKER                       CO     33088188592
55717A47761975   MANUEL        ALVAREZ                      CA     46014510477
55718776972B43   JASON         JOHNSON                      CO     33011787769
55719123372B36   MARIA         ARELLANO                     CO     33043411233
55719565A84347   BETHANY       CUMMINGS                     SC     90008035650
557195A9A5B531   MICHEAL       BYRNES                       NM     90013385090
557198A4A5B399   DELMY         RODRIGUEZ                    OR     44592928040
55719A86951348   JUSTIN        BOOKER                       OH     66080430869
5571B45555B579   CHRISTIAN     CASTRO                       NM     90007164555
5571B929385928   KEITH         TICHENOR                     KY     90005079293
55721395272B85   KARI          DELACRUZ                     CO     33045123952
557214A3333696   MARLEANEA     CARMICHAEL                   NC     90014514033
5572156645B531   CYNTHIA       JEFFRIES                     NM     90012625664
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 76 of 2350


5572168A631428   KAREN               KANKOLENSKI            MO     27516776806
557216A2A72B38   GANGA               DARJEA                 CO     33041956020
557221A3161971   JOY                 OSUJI                  CA     90007431031
55722A8974B588   DRAULIO             ESCAMILLA              OK     90012230897
5572344187B46B   CARLOS              OSORIO                 NC     90012944418
5572346195758B   DAVID               SHAW                   NM     90003354619
5572356495715B   SANTIAGO            RIVERA                 VA     90010425649
557235A9A72B38   LORINDA             GONZALES               CO     33058535090
557241A164B588   RONALD              HULL                   OK     90011201016
5572429A491587   JOSEFINA            GUTIERREZ              TX     75041492904
55724942A33696   OLIVIA              NEAL                   NC     90014549420
55725372672B43   VANESSA             EVANS                  CO     90014843726
55725523572B85   MARIA               RAMIREZ                CO     90000275235
5572583A35B531   NANCY               LOVATO                 NM     35068798303
557266A445B543   EMILY               HERNANDEZ              NM     90003256044
5572678315758B   MGUADALUPE          SANCHEZ                NM     90013437831
5572697424B588   JULIUS J            STANFIELD              OK     90012369742
55726A19A98B2B   SYLVIA              CAMPBELL               NC     11077630190
557271A6272B77   BLANCA              JURADO                 CO     90000761062
55727211472B27   JOSEFINA            RODRIGUEZ              CO     90007712114
5572735525758B   CECILIA             LOZANO                 NM     90014773552
5572758955B129   SHUNTANA            NOID                   AR     23026485895
55727653672B43   MARIA               BARAJAS                CO     33046376536
55727A26951348   KEYONA              TAYLOR                 OH     90015220269
55728424872B36   YARELI              CASAS                  CO     90013294248
55728543472B85   ELIZABETH           REITENBAUGH            CO     33066075434
55729792172B85   JOEL                QUINTANA               CO     33093497921
557299A225B358   ROCIO               GONZALEZ               OR     90011009022
5572B79127B496   EDGAR               LEMOS                  NC     90001437912
5573114317B46B   FRANCISCO           RAMIREZ                NC     11062581431
5573168525758B   ADRIANNA            PEREZ                  NM     90014876852
5573195A485928   MATIN               SHERROW                KY     90014439504
55731A7A74B525   FFR 22107 CHARLES   CLEVELAND              OK     90011280707
55732389172B49   MARIO               MENDEZ                 CO     33036183891
5573241A872B27   PAUL                GONZALES               CO     90012304108
5573246192B27B   ROBYN               KENNEY                 DC     90007394619
5573255455B129   NICOLE              EASTER                 AR     90013595545
55732737A5758B   CARLOS              LUJAN                  NM     90012677370
55732A9257B46B   JUSTIN              SEAFORD                NC     11067020925
55733439472B43   JAZMIN              BUCIO                  CO     33008594394
55733453972B49   AMY                 CARRILLO               CO     90010974539
5573355A14B588   KOKIA               ALLEN                  OK     90015305501
55733A21172B27   CARLOS              VILLALOBOS             CO     90009640211
5573458A65B129   RUSVEL              AGUIRRE                AR     23063475806
55734A98872B36   HEATHER             MARTIN                 CO     90009620988
55735535A91587   RITA GUADALUPE      GONZALEZ               TX     90010215350
55736519A4B28B   CUAUHTEMOC          ALVAREZ-MERAZ          NE     90011815190
55736A22651348   FELICIA             BROWN                  OH     66007540226
55737178A5B399   ROBERT              HOLMAN                 OR     44536981780
5573724945B129   VINCENT             HIGHTOWER              AR     23059662494
557377A9A5B283   ABDULLAH            JABAR                  KY     90010387090
5573832625B271   MIKE                HUFF                   KY     90002273262
5573846A161956   SAMEL               GUARIN                 CA     90011584601
55738857A4B251   DAVID               EISCHEID               NE     90002308570
5573938454B536   TARA                PLATT                  OK     90008843845
55739781A51348   NARYAB              MAZWELL                OH     90014977810
55739969972B36   DARIAN              DURAN                  CO     90010869699
55739974172B85   DONAVAN             HAYNES                 CO     33095659741
5573B27544B588   BLANCA              SALAZAR                OK     21536662754
5573B31465715B   ENRIQUE             MENDOZA                VA     81045823146
5573B387A31675   LUCIANNA            KLAUSMEYER             KS     90012473870
5573B6A955758B   ALEJANDRA           SIFUENTES              NM     90014086095
5573B71525B283   LISA                BORDERS                KY     68082197152
5573B911133696   BACHIR              MEZIOUD                NC     90008719111
5574115654B588   GWEN                BUTLER                 OK     90011521565
5574124892B875   BUNNY               BRINK                  ID     41078942489
55742471A33699   JASLYNE             LEGETTE                NC     90012004710
55742727472B43   AARON               GARZA                  CO     90015237274
55742A65161975   DEBORAH             CAZARES                CA     90013970651
557432A5272B36   LEAH                LEBE                   CO     90009162052
557433A1851574   SONIA               GARCIA SANDOVAL        IA     90015363018
5574372158B169   PEDRO               GONZALEZ               UT     90012827215
557437A2891895   MIKE                SHEWMAKER              OK     90014337028
5574419A95B387   TABITHA             SOLIS                  OR     90010271909
55744A3AA33696   KEVIN               ANDERSON               NC     90013130300
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 77 of 2350


55744AA2A33699   ALICIA        MITCHELL                     NC     90014770020
5574524554B588   SHOLONDA      SMITH                        OK     21554982455
5574636862B27B   MARCIA        MORRIS                       DC     90012683686
5574774615715B   JOSE          RAMIREZ                      VA     81068397461
55747846772B49   KIARA         CALVO                        CO     90013648467
55747863172B43   MARIA         RIVERA                       CO     33000208631
55747876472B36   ROYALTY       CHILDREN                     CO     33004368764
55747A43851348   KAREN         OLDENDICK                    OH     66023610438
5574824922B851   RUSSELL       BOHLING                      ID     90007072492
557494A9A2B27B   LILIANA       CASTANEDA MORALES            DC     90007624090
55749894A72B49   JOSE          RAMIREZ                      CO     33051028940
55749A53172B38   JOSE LUIS     MEDINA                       CO     90004000531
5574B31425B129   AMELIA        TYUS                         AR     23027993142
5574B595285928   CINDY         JONES                        KY     90013215952
5574B9A5891587   SERGIO        RUBIO                        TX     75067419058
5574BA92872B27   MIECHELLE     STAPLETON                    CO     33012960928
5575153AA61975   NIDIA         SOTO                         CA     90000225300
5575197A272B85   HEATHER       JOHNSON                      CO     90014719702
5575232142B851   SAMI          STONE                        ID     90004193214
5575239575B129   RICHARD       GRICE                        AR     90013873957
5575312415B399   HEBERTO S     REYES                        OR     90004741241
55753357A2B851   DIANA         RODRIGUEZ                    ID     90014143570
5575348A65B397   TALASINGA     ETEAKI                       OR     90006244806
5575357415B387   CHRISTOPHER   CAMPOS                       OR     90013845741
55753618272B49   CALVIN        HARRIS                       CO     90015186182
5575367A65B531   DAVID         GONZALES                     NM     35056826706
5575446992B922   VANESSA       TILLMAN                      CA     90012794699
55754652472B38   SHAWLENE B    SPEARK                       CO     90013936524
5575475145758B   DAVID         RIOS                         NM     90007307514
5575494695B531   JAVIER        REYNA-GARCIA                 NM     90012379469
55754A22472B49   CLAUDIA       HUERTA                       CO     90009800224
55755131572B49   DUSTIE        WIESNER                      CO     33014421315
5575538355B531   ALICIA        RODRIGUEZ                    NM     90013963835
557567A482B27B   LAKISHA       WHEELER                      DC     81026947048
55756849272B27   EDITH         ROMERO                       CO     33049728492
5575727A95B543   BENJAMIN      GARCIA                       NM     35090142709
5575746615B271   ROSE          MITCHELL                     KY     68015104661
55758311772B67   TERRY         BAYNARD                      CO     90006273117
5575888575132B   SANDRA        HATTER                       OH     90004148857
5575981925715B   ROBERTY       CLAROS                       VA     81040868192
5575B23975715B   JASON         SMITH                        VA     90013812397
5575B2A3191356   LAQUALA       RUSSELL                      MO     29061802031
5575B836A5B387   BRITTANY      LOWELL                       OR     90011398360
5575BA63772B85   VICTOR        VILLALOBOS                   CO     90012480637
5576168A751348   SAMANTHA      RUSSO                        OH     90013936807
55761A4A572B85   JOSE          JUAREZ                       CO     90008110405
55762167A33696   TAYDRA        NEWTON                       NC     90007831670
5576234AA4B28B   ARMANDO       NAVARRETE ALVAREZ            NE     90014773400
5576369325B531   JOSIE         GUTIERREZ                    NM     35051506932
55763932572B43   TRACY         JARAMILLO                    CO     33018349325
5576448957B46B   SULAMITA      BATA                         NC     90012634895
5576497495715B   LEONARDO      LOZA                         VA     90013159749
5576534625B531   LEON          REAL                         NM     90010863462
55765825A5593B   JATINDER      KAUR                         CA     90012108250
557665A2172B43   INCISUNI      ALVAREZ                      CO     90012785021
5576661A272B43   FERNANDO      SALAZAR                      CO     90014676102
55766A38A72B38   ARETHA        BROWN                        CO     90011790380
5576711882B851   TATE          LANCE                        ID     90008651188
5576722612B27B   FILIBERCO     SANCHEZ                      DC     90013552261
557673A8133699   ERIC          JOHNSON                      NC     90012603081
5576746992B922   VANESSA       TILLMAN                      CA     90012794699
5576783385B399   MATT          KREGER                       OR     44579478338
5576821945B387   MARIA         SANCHES                      OR     44573182194
5576824575B531   IRMA          LOPEZ                        NM     90007712457
55768465A4B588   TIFFANY       JONES                        OK     90013584650
5576917397B46B   TIMOTHEE      JEAN NOEL                    NC     90013921739
557691A8A4B28B   FRANCISCO     PEREZ                        NE     26003151080
55769591272B27   MARIA         RUIZ-VELETA                  CO     33036215912
5576B264372B67   JAKELINE      RUIZ                         CO     33017412643
5576B536591587   GRACE         MARTINEZ                     TX     90014155365
5576B659972B49   DIONISIO      ARELLANO                     CO     33056946599
5576B6AA833699   ALEXIS        COUNCIL                      NC     90010586008
5576B946984329   JAVIER        LARA                         SC     90013659469
5576B9A294B588   MANUEL        TIGUILA                      OK     90009099029
5577139863B352   PAUL          ROCKWELL                     CO     90013663986
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 78 of 2350


5577158175B531   KAILENE       DANIELLS                     NM     90013535817
5577182625B387   PORFIRIO      GONZAGA                      OR     90013798262
55772167772B27   KELLIE        MARSHALL                     CO     90014931677
5577217A572B36   JUAN          RIVERA                       CO     90013561705
55773453872B38   JAVIER        BUITRAGO                     CO     33021664538
55773845A72B88   YESSICA       BANUELOS                     CO     33099428450
55773976172B67   NORMAN        MAESTAS                      CO     33015889761
55773A22572B85   CHAZ          SMITH                        CO     33093250225
5577433492B27B   LANETTA       EATMON                       DC     90011143349
55774374872B38   ADEANA        GARCIA                       CO     90014733748
5577519235B399   ANTONIO       OROZCO                       OR     90011051923
55775247472B36   MARIO         RAMOS                        CO     90005692474
55775339A61548   ROSEMARIE     PURTELL                      TN     90001803390
5577569A261973   GUILLERMO     LORENZO                      CA     90012326902
557756A4691B79   MAUEL         SOLES                        NC     90013976046
55775863A41242   QUALYNN       LINNEN                       PA     90011918630
557759A8472B38   SHANE         SEAY                         CO     90014989084
55775A3595B271   CYNTHIA       TYLER                        KY     90003580359
5577623535B543   MIRIAM        VALENZUELA                   NM     90005352353
55776255A33699   RHONDA        DEMPSEY                      NC     12028742550
55776263172B85   REBEKAH       DUDLEY                       CO     90011012631
55776425A61975   KASANDRA      RAMIREZ                      CA     90011294250
55776446772B85   ERIC          ARELLANO                     CO     33086164467
5577759752B851   DAVID         NIBLETT                      ID     42010145975
557778A9A72B49   PAULINO       TREJO                        CO     33007498090
55778112A5758B   JOSE          CASTANEDA                    NM     90007181120
557785AA872B43   BRYAN         FLOWERS                      CO     33085085008
55778A34397128   ELEASE        RUMBAUGH                     OR     90012480343
5577917895B531   MARY          REIDER                       NM     90005071789
5577B243561973   JAVIER        RUELAS                       CA     90010222435
5577B645861973   GUSTAVO       CURIEL                       CA     90013896458
5577B788184357   BRITTANY      MIDDLETON                    SC     90014137881
5577B99844B562   SILVIA        RAMIREZ                      OK     21571419984
5577BA9947B46B   LAKEMA        YOUNG                        NC     90008000994
55781942372B38   SHEILA        CARVAJAL                     CO     33086659423
55781A38172B36   DIANA         OROZCO                       CO     90014550381
5578222977B46B   SHARANDA      MOORE                        NC     90013092297
5578247A931429   YVONNE        LANG                         MO     27516284709
55782A5325133B   RON           PHELPS                       OH     66016590532
5578363A551348   TEONNA        QUARLES                      OH     66051946305
55784287A7195B   CALVIN        CLUBB                        CO     90000822870
55784476572B49   JAMES         BROWN                        CO     33006344765
55785263872B85   JEANETTE      ALVAREZ                      CO     90011012638
557852AA55B399   PAUL          SCHROETER                    OR     44511962005
55786263A72B85   JUAN          HERNANDEZ                    CO     90012592630
5578647792B851   ABIGAIL       STACY                        ID     90009834779
5578664724B588   DEBRA         JONES                        OK     90013756472
55787111172B85   MARTINEZ      FRANK                        CO     90005581111
5578771495B543   THERESA       MOLINA                       NM     35036557149
5578773A872B27   COREY         BUSTOS                       CO     90004257308
55788145A5B129   VICKIE        MASSEY                       AR     23021151450
5578847855B229   DEBRA         CLARK                        KY     90001064785
5578848715B531   CHARLES       SANDOVAL                     NM     35071834871
557887A134B28B   JALISA        GRAHAM                       NE     90000597013
5578966192B27B   RITA          HENDERSON                    DC     90005106619
5578972A731428   ROBIN         CHAFFIN                      MO     27589407207
5578B12A84B588   RASHAUD       WILLIAMS                     OK     90013811208
5578BA38872B38   PAYGO         IVR ACTIVATION               CO     90011100388
557921A8433696   CHINITA       HOWARD                       NC     12084101084
557922A5891895   TIFFANIE      MARKS                        OK     90009552058
5579257864B588   KAREN         NELSON                       OK     21570315786
5579286875B387   ALICIA        CLEARY                       OR     90015208687
5579382855B531   BELINDA       LOVATO                       NM     35064978285
55794355A72B27   VERONICA      GALINDO                      CO     33045703550
5579446935B531   DELISHA       GARCIA                       NM     90013774693
55796A4852B851   LANCE         LIMBOCKER                    ID     90004170485
55797658572B43   LUIS          MORALES                      CO     33039596585
557978A5185928   MARK          KEEZER                       KY     67034778051
55797A79A84357   SHANNEL       HOLMES                       SC     90010240790
5579819582B27B   ERIBIEL       CRESPO                       DC     90012081958
557991A7785894   NELLY         MUNOZ                        CA     90008161077
55799A82891587   MEGGIN        CENTENO                      TX     75042020828
5579B163A61973   JOSE          OROSCO                       CA     90009121630
5579B5A352B27B   ELIZABETH     FLORES                       VA     81017225035
5579B664A72B43   SABRINA       SALAZAR                      CO     90014916640
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 79 of 2350


5579B731372B38   PHILLIP       YOUNG                        CO     90005827313
5579B757872B38   MARIA         GONSALEZ                     CO     90012877578
5579B762261975   ROSA MARIA    OLMERO                       CA     90012177622
5579B997A72B85   DANIEL        TEATES                       CO     90014719970
557B1214A4B28B   SHANNAN       CARLMARK                     NE     90011802140
557B212854B588   PEGGY         YOUNG                        OK     90011441285
557B21A3A8B356   CAROLYN       GREEN                        SC     90014721030
557B235244B241   JORGE         RIVERO                       NE     90002653524
557B3246461971   NOMEI         ORTIZ                        CA     90013932464
557B3551784357   ARTHUR        WYNN                         SC     90013965517
557B3799772B36   LUIS          MORALES-ROJAS                CO     33048137997
557B37AA95715B   GIANNINA      PEREZ                        VA     90013157009
557B384385715B   JUAN          GARCIA                       VA     90014888438
557B4568791587   MELINDA       AHORTALEJO                   TX     90010025687
557B4634761973   ERNESTO       OCHOA ROJO                   CA     90010946347
557B474724B588   JOANNA        LEISTNER                     OK     90008667472
557B5221772B85   SANDRA        LOPEZ                        CO     33050562217
557B5363833696   JESSICCI      TARLEY                       NC     90014513638
557B5918A71935   STACEY        SWANSON                      CO     32060049180
557B6229533699   JOHNISE       BLACKWELL                    NC     12016072295
557B628515B543   ASHLEY        BECKETT                      NM     90001832851
557B63A715715B   SANDRA        MALDONADO                    VA     90004233071
557B665887B46B   LAURETTA      HUGGINS                      NC     11061606588
557B6732291895   CRAIG         BRINKLEY                     OK     21092497322
557B6759172B43   RAMON         ANDAZOLA                     CO     33042587591
557B695884B521   KIM           SMITH                        OK     90004099588
557B6AA855B399   RON           LATIN                        OR     90015050085
557B72A6872B98   MARICELA      GALBEZ                       CO     90001732068
557B7476433696   LISA          CAGLE                        NC     90004584764
557B7765A72B38   JOSE          GALDAMEZ                     CO     33037987650
557B8157A72B27   JOSE          POBLANO                      CO     90011501570
557B81AA572B85   VALERIE       TYNES                        CO     90014781005
557B821A64B588   NICK          BRASEL                       OK     90013242106
557B848442B27B   JOSE          BONILLA ALVAREZ              DC     81045184844
557B8583A51348   TIANA         BINGHAM                      OH     90013875830
557B858475758B   ROSE          AVALOS                       NM     90012365847
557B885355B399   RODRIGUEZ     AMILCAR                      OR     90013248535
557B8974291587   DINORAH       SOTO-MORALES                 TX     90011549742
557B8A61772B27   LENA          ARNEACH                      CO     33039480617
557B8A9285B176   OSBOURNE      SMITH                        AR     90000420928
557B911115B387   JESIKA        DIAZ                         OR     44594401111
557B945A94B23B   SABRINA       BELL                         NE     90011294509
557B9644484357   MONICA        BURRISON                     SC     90013966444
557B9824A43569   SIONE         TONGA                        UT     90005408240
557B99A7372B85   MATT          METZLER                      CO     33064789073
557BB267798B2B   JENNIFAR      STEELE                       NC     90005702677
557BB34825B283   TIM           CLARK                        KY     68024153482
557BB57A391895   MICHAEL       BOWMAN                       OK     90013655703
55811652472B38   SHAWLENE B    SPEARK                       CO     90013936524
5581168A45758B   GEOVANI       RAMOS                        NM     90013966804
5581169615B531   ADRIANA       TORRES                       NM     90014556961
5581182A55B223   LORENZO       CAIRO                        KY     90001038205
5581185A272B27   FRED          BRACE III                    CO     33041518502
55811869972B85   VICTOR        CARSON                       CO     33012188699
55812544A5B399   EDDIE         BERTELSON                    OR     44545985440
5581266985B531   MICHAEL       AGUILAR                      NM     90014456698
55812A2544B588   BOBBY         ROBISON                      OK     90011160254
55813861672B38   ESTEFANY      PEREZ                        CO     90011418616
558139AA391356   SHYLA         HAMILTON                     KS     29020179003
5581426335B531   CODY          WILMON                       NM     90008002633
55814264572B43   JONATHAN      TORRES                       CO     90002972645
55814791A61971   CEJA          MARIA                        CA     46087757910
5581519832B27B   DONNELL       CHATMAN                      DC     90012901983
55815357872B67   KARINA        MADERA                       CO     90010733578
55815884172B85   JUSTIN        DYER                         CO     90012458841
5581644565758B   JILL          CAVAZOS                      NM     90015124456
558166A985B387   BRETT         ESPELAND                     OR     90004356098
55816839272B85   LOLA          LUNA                         CO     33064178392
5581726435B247   JENNIFER      THOMPSON                     KY     90001252643
55817577572B49   DEMECRIUS     PARHAM                       CO     90010965775
5581869135758B   APRIL         HUMPHREYS                    NM     90003566913
5581889465B129   BRITTANDY     PIRTLE                       AR     90012578946
55818A12272B85   MATHEW        VIGIL                        CO     90014720122
55819994772B27   FRANCISCO     TOLEDO                       CO     33014489947
55819A4194B588   DAISY         IXCOT                        OK     90014730419
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 80 of 2350


5581B38A485928   NANCY              LOMAN                   KY     90008003804
5581B392A4B521   SAMUEL             QUEZADA-FLORES          OK     21514043920
5581B77864B29B   JULIETA GRISELDA   BATRES YOOL             NE     90007087786
5581B849372B43   JOSH               WOOD                    CO     33093818493
5581B8A5133634   BERENICE           SALINAS                 NC     90010788051
5581B994A5715B   RICHARD            AYAIM                   VA     90012439940
55821613272B85   VALARIE            CARLSON                 CO     33068216132
558223A2772B88   JOANN              BROOKS                  CO     90005953027
5582249742B27B   CRYSTAL            DAVIS                   DC     81098814974
5582282885B531   JASMIN             GALLEGOS                NM     90013168288
5582299985715B   ROLANDO            VAZQUEZ                 VA     90014889998
55822A16572B85   MARVELLA           MANRIQUEZ               CO     33011110165
5582317A284357   JOSEFA             BENAVIDES               SC     90007471702
5582327744B588   CARLA              WALDON                  OK     90008182774
558233A3772B49   BEAU               GOCIO                   CO     90008903037
558234AAA8166B   MEELANDRA          ADKINS                  MO     90010664000
5582351A472B38   SAVANNA            MARIE LEDOUX            CO     90013615104
5582423255758B   ALEX               SANCHEZ                 NM     90012852325
55824883A72B67   DEBRA              JEAN HECKETHORN         CO     33082108830
5582532384B588   LAMONT             LEE                     OK     90012323238
55825413A85928   IRMA               FLORES                  KY     90001584130
55825451A84357   AMBER              KNOX                    SC     90011394510
55825623972B27   DANIELLE           JOCK                    CO     33041876239
55825A2245758B   MATTHEW            MARTINWZ                NM     90000530224
55825A42233699   TIFFANY            CARLTON                 NC     90014780422
5582625A441229   AISHA              SHAVERS                 PA     90010772504
55826446A5B387   ELVIN              SVEEN                   OR     90011374460
5582689717B46B   GAYLA              LUCKEY                  NC     90007418971
55826A78991587   ENID               MORENO                  TX     90000650789
55827322472B38   MANUEL             DEARA-AL-ALVARO         CO     90008103224
5582745457B46B   KATRINA            TIMMONS                 NC     11059194545
55827541772B36   ALEXANDRIA         DURAN                   CO     90014815417
5582759A391587   ANGELA             DIAZ                    TX     75029635903
55827695172B49   SAMUEL             HIMES                   CO     90010746951
55827A1685715B   ANTONIO            RAMOS                   VA     90013170168
55827A64272B98   SANDRA BOURGEOIS   BOURGEOIS               CO     90007120642
5582824795758B   JERIMIAH           WILSON                  NM     90014932479
5582832252B27B   STACIE             DURANT                  DC     90014943225
55828572A61973   MICHAEL            CARRILLO                CA     90012315720
55828887272B37   TAYLOR             BELL                    CO     90007998872
5582956897B46B   CHRISTOPHER        BYRON                   NC     90014525689
55829818A4B588   JONATHAN           HAYES                   OK     90010138180
558298A8272B27   JESUS              DOMINGUEZ               CO     90000778082
55829A71191895   JERIANNE           SHOWALTER               OK     21016270711
5582B332384357   PATRICIA           MOORE                   SC     90003683323
5582B421372B85   CARLOS             CHAVEZ-ALVARADO         CO     33060034213
5582B52A957157   JUAN               REYES                   VA     81087215209
5582B731791895   ADOLFO             CANO                    OK     21047017317
5582B96A972B27   EVIAN              SOSA                    CO     90014429609
5583132365B387   MICHAEL            BROWN                   OR     44585013236
5583134625B531   LEON               REAL                    NM     90010863462
55831561172B36   ARNULFO            CALDERON                CO     90011425611
55831618672B43   YADIRA             ORTIZ                   CO     90014976186
55831A39861971   MUNOZ              COSETTE                 CA     90001020398
55831A6685758B   JOSE               ARROYO                  NM     90012820668
55832353272B49   GENE               JONES                   CO     33082683532
5583264815715B   AMMA               AMPONSAH                VA     90010486481
5583276672B27B   BRANDY             PRAILOW                 DC     90015257667
55833178172B36   MISAEL             LUEVANOS A              CO     33048781781
5583322A191587   ROEL               MARTINEZ                TX     75000642201
5583346612B851   AUSTIN             STEPHENS                ID     42094264661
558337A2791895   TOSHIBA            BROWN                   OK     90014897027
55833A7955715B   OSCAR              CENTENO                 VA     90014890795
5583432442B27B   CHEYENNE           DOHAWK                  DC     90010623244
55834368772B38   MARIA              ROBLES                  CO     90014993687
5583565A37247B   CHRISTINA          SANCHEZ                 PA     90011766503
55835A8535715B   GERMAN             MEJIA                   VA     90014890853
55835AA3A93782   HEATHER            SCOTT                   OH     90012130030
55836969A72B85   CHRIS              THOMAS                  CO     90008869690
55836A14272B43   STACY              SMITH                   CO     33075720142
55836A65161975   DEBORAH            CAZARES                 CA     90013970651
5583734344B28B   IRENE              HIRSCHMAN               NE     26092983434
55837811572B88   SHERRY             HOLMES                  CO     33055878115
5583811442B27B   SHARON             HUDGENS                 DC     90007081144
5583836117B47B   SHIRLEY            JOHNSON                 NC     90014613611
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 81 of 2350


558383A7533699   TAMARA        BULLOCK                      NC     90014783075
5583843A47B424   SAHRROM       MCKINSTRY                    NC     90011084304
55838489A7B46B   LIZETH        SANTANA                      NC     90012304890
55838888A41285   LAWRENCE      ARRIGO                       PA     90004018880
55838A9868B142   JENNIFER      LONGO                        UT     90001680986
55839389172B49   MARIO         MENDEZ                       CO     33036183891
55839693872B38   KARLA         YARRISH                      CO     90013936938
5583B21555B387   CHARLOTTE     DUNCAN                       OR     44521502155
5583B367555951   LISA          CERVANTES                    CA     49086193675
5583B49335715B   JONAS         PONCE                        VA     90008554933
5583BA6685758B   JOSE          ARROYO                       NM     90012820668
5584125195715B   JUAN          HERRERA                      VA     90008842519
5584155857B383   TABITHA       THUGURI                      VA     90006135585
5584177977B46B   MARLENE       CARETO                       NC     90014127797
55841A18672B36   TIMOTHY       RUYBAL                       CO     33010290186
5584211595715B   KATRINA       MARTIN                       VA     90013171159
55843262572B36   SAMIA         OBEID                        CO     90012962625
55843974A98B2B   PEDRO         AGUIRRE                      NC     90005709740
55844128172B49   ASHLEY        HOULIHAN                     CO     90011521281
5584434415B531   EGLYN         PEREZ-RASCON                 NM     90013803441
55844548857B81   BOBBIE SUE    WHEARY                       PA     90015435488
5584496AA4B588   VERONICA      BECERRA                      OK     90011609600
5584535394B588   TINA          ANDUSEN                      OK     90015283539
5584597A15B283   JOANNA        MURRELL                      KY     90011719701
5584617327B339   STEVEN        HINES                        VA     90001691732
5584722A533699   TAMOTHY       HACKETT                      NC     12055982205
55847641972B43   EUGENIA       GOMEZ-PEREZ                  CO     33098276419
55847947372B38   AMANDA        NAJERA                       CO     90011179473
558485A582B998   DONA          SHEAR                        CA     45013935058
55848686572B36   TONY          GOVEA                        CO     90012016865
55848836472B27   CLARINDA      MELENDREZ                    CO     33076318364
5584895374B588   DANA          HALL                         OK     21560179537
55848A58233699   PRECIOUS      BAILEY                       NC     90003870582
55848AA5597164   FRANK         STONE                        OR     90012480055
558492A9961973   BETHANY       JONES                        CA     90015092099
5584B27A272B27   FAHAD         AZEEM                        CO     90013922702
5584B8A624B55B   CARLOS        LOVEST                       OK     90012568062
55851141272B38   SPENCER       NEWMAN                       CO     90015211412
55851715A7B46B   JANI          BLACKMON                     NC     90003877150
5585249335B387   JACKLIN       PAUL                         OR     90014764933
558525A162B851   TONIA         PACHECO                      ID     90011695016
5585336847B46B   ALEX          LOBOS                        NC     90014753684
55853378A33699   JAQUILA       WILEY                        NC     90014783780
5585376122B27B   JOHN          SIMTH                        VA     90013147612
55853966A91587   MATTHEW       FAULKS                       TX     90007679660
5585397595B283   JAVIER        AREVALO                      KY     90011719759
55853A35931428   LEON          WHITENER                     MO     27517280359
55854326472B49   JESUS         ESQUESA-PENA                 CO     90009523264
5585461964B588   ANGELA        MARTINEZ                     OK     90013256196
5585469A385965   JAMES         RISTER                       KY     90013236903
5585471155B531   DAVID         GUTIERREZ-M                  NM     90008407115
5585511595715B   KATRINA       MARTIN                       VA     90013171159
55855317172B49   RICARDO       SANTOS                       CO     90009063171
5585546AA85962   MICHAEL       MOORES                       KY     67004554600
55855A95A91587   ANA           GALLEGOS                     TX     90013670950
5585619755715B   ALVARO        URIONA                       VA     90013171975
55856618572B27   LEE           GANT                         CO     90007626185
55856661472B85   SHERRI        DOTTSON                      CO     90011156614
55856972472B49   MARIA         BLANCO                       CO     90011919724
55857239872B49   SHERRY        APODACA                      CO     90007552398
5585796A35B387   PERREE        GILREATH                     OR     90015009603
558582A8172B38   VICKIE        SANTISTEVAN                  CO     33004582081
5585839AA61975   TERRY         RAHN                         CA     90013383900
55858757372B36   TONYA         ATHERTON                     CO     33042877573
55859131A61971   LUZ           GUIDO                        CA     46019501310
5585B21237B46B   ELVIN         ESQUIVEL                     NC     90014802123
5585B424191356   JONATHAN      PURVIS                       KS     90008424241
5585B58132B851   GUADALUPE     VALENZUELA                   ID     90008605813
5585B99134B28B   PETE          JOHNSON                      NE     90000609913
55861777772B38   JONATHAN      RIVERA                       CO     90012877777
55861A2A772B49   EFRAIN        SILVEYRA                     CO     33001360207
55861A5149B131   HOPKINS       DONDRICK DEMALE              MS     90009690514
55861A9675593B   LUCIANA       DIAZ                         CA     90001040967
55862165A4B588   TREK          WHITE                        OK     90014521650
5586295A472B43   MAIRA         MAGALLANES                   CO     90007839504
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 82 of 2350


55864613A72B85   MAYRA         ALBALADEJO                   CO     33050086130
5586549635B531   LUIS          OLIVAS                       NM     35035174963
55865A63791356   EDWARDO       HERNANDEZ                    KS     29039770637
5586611985134B   RYAN          TYLOR                        OH     90004151198
5586677855758B   ALMA          BERMUNDEZ                    NM     90013147785
5586727437B46B   ISRAEL        ALCOCER                      NC     11060882743
558675A1A5B531   EDWARD        BACA                         NM     35093115010
5586764665758B   ANGELICA      SANCHEZ                      NM     35591956466
5586843542B27B   AYANA         OSBORNE                      DC     90010104354
5586848AA5758B   JEFF          DUFRANE                      NM     90015064800
558684A2A4B28B   CHEYENNE      LUSSIER                      NE     26066214020
55868932272B27   LETICIA       GALLEGOS                     CO     33085769322
5586981777B46B   HATTIONA      TEYNOLDS                     NC     90007458177
5586997825758B   NORAYMA       CHAVEZ                       NM     90013399782
55869A62831468   LAKESHA       GRIFFIN                      MO     90004100628
55869AAA75B387   ANITA         SANTIAGO                     OR     90012800007
5586B12272B851   JENNIFER      SNOW                         ID     90005641227
5586B296172B43   ARLENE        GALLEGOS                     CO     90007942961
5586B735785928   PATRICK       SPICKARD                     KY     90006377357
5586B775591895   GILBERT       MOORE                        OK     21024737755
5586BA7AA31675   JERRY         LUCE                         KS     90010970700
55871466272B36   ANGEL         SAENZ SANCHEZ                CO     33059344662
5587167785B387   GREG          EDGEMON                      OR     90007726778
5587228497B46B   ANA           MONTOYA                      NC     90006882849
55872471972B27   EVERARDO      GUZMAN                       CO     90003774719
5587334A791587   ZARA          MANSON                       TX     90014713407
558734A5A72B27   ALICIA        GAYLORD                      CO     33017614050
55873A6674B588   IVAN          RODRIGUEZ                    OK     90007190667
558748A8755951   ESMERALDA     CHAVEZ                       CA     49017548087
5587515114B588   MELISSA       LONG                         OK     90014941511
55875A22233696   PATRICIA      PATE                         NC     90014560222
55876613A3163B   TANIA         LEAL                         KS     22007396130
55876684972B43   JESSICA       ZARYCHTA                     CO     90015306849
55876839A51348   MATHEW        STEGMAN                      OH     90012918390
55876A7195758B   JESUS         GOMEZ                        NM     90010760719
55877226798B2B   DAMION        HOWELL                       NC     90012792267
558773A415758B   HECTOR        RODRIGUEZ                    NM     90014023041
5587776325B531   MELISSA       GONZALES                     NM     35063957632
55877921A72B36   GUSTAVO       MARTINEZ                     CO     33022879210
55878199772B36   HUMBERTO      PALLARES                     CO     33017241997
55878812572B38   VALERIE       CARRILLO                     CO     90013388125
5587946195715B   ALEX          GUERRA                       VA     90014894619
55879A21791356   CYNTHIA       ANDERSON                     KS     29034300217
55879A68A5B387   JENNIFER      KLEFFNER                     OR     90015260680
5587B424A72B27   GABRIEL       HINIJOSA                     CO     90013094240
5587B43535B531   ANDRE         NUNEZ                        NM     90014494353
5587BA4945B543   ABEITA        MAERCEDES                    NM     90007230494
55881A39A5B531   MIKE          VILLALOBOS                   NM     35057460390
55882113172B38   SANTOS        CECENA                       CO     33014081131
558825A385758B   VICTORIA      DE LA CRUZ                   NM     35521865038
55882682A5B399   KERI          BASLER                       OR     90014366820
55882A68272B43   RUFINA        BONILLA                      CO     90009390682
5588321A661973   MARIO         FRANCO                       CA     90010022106
55883246A3B388   JAMES         CUNNINGHAM                   CO     33004922460
55883561872B49   AGUIRRE       JANET                        CO     90009825618
5588361532B259   CURTIS        PEARSON                      DC     81026646153
5588381894B588   GREGORY       ANDERSON                     OK     90010138189
5588482685758B   DARLENE       FRAUSTO                      NM     35519108268
5588496645715B   MANO          MANSARAY                     VA     81078239664
55884A59872B36   ANGELICA      ESPINOSA                     CO     33091380598
55885291572B85   MICHELLE      CAUDILLO                     CO     90014622915
5588535755758B   DENISE        PORTILLO                     NM     90015163575
55885359A7B46B   CALANI        TAFARI                       NC     90008003590
558853A9185928   SHANTORIA     JOHNSON                      KY     67006903091
55885A82272B27   KAIGE         BOWLING                      CO     90013930822
55886388A61971   ERICA         OLEA                         CA     90014383880
5588776195758B   HUGO          DOMINGUEZ CARDENAS           NM     35557667619
5588828775715B   DWAYNE        COLDS                        VA     90011042877
558887AAA72B36   JEREMY        GRIFFITH                     CO     90009987000
55889368272B49   GINO          GARCIA                       CO     33087873682
558894A4572B85   GABRIELLA     AVILA                        CO     33077444045
55889A85251348   CARLA         MATOS                        OH     66003160852
5588B151261941   ANDREW        VOLPER                       CA     90007661512
5588B373A72B36   JOSE          MARQUEZ                      CO     33040593730
5588B783472B85   TAMMY         GLANDON                      CO     90014117834
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 83 of 2350


5588B99A872B27   SERGIO           HERNANDEZ                 CO     33017989908
5589178868B531   CORAYAMA         VALSQUEZ                  CA     90013977886
55891A25872B36   NATASHA          ROMERO                    CO     90010680258
558924A7861971   EDUARDO          CORTEZ                    CA     46019214078
5589253527B46B   REGINA           RAVENELL                  NC     90015315352
558933A4491895   AMY              BONAOBRA                  OK     21042303044
5589347235715B   KATHY            LOZANO                    VA     90014894723
5589351A361971   JOHN             TARANTINO                 CA     90014845103
558938A1753B41   CHRIS            BROWN                     CA     90015348017
55893A34272B43   BRAIN            NUNES                     CO     90012740342
558942A4772B88   CHRISTINE        CRUZ                      CO     33001672047
5589499325135B   ERIC             SIMS                      OH     90001999932
55895151472B43   SHENNA           KEITH                     CO     33074271514
5589525A88B163   CLAUDIA          CASAGRANDE                UT     90010082508
5589535442B27B   BRANDON          POINTER                   DC     90014363544
55895A7A384357   PAYGO            IVR ACTIVATION            SC     90014220703
5589615575758B   ANA              BENAVIDEZ                 NM     90003551557
55896299172B38   MELISSA          ROMERO                    CO     33097362991
55896553472B36   HOLLY            GARRETT                   CO     33007745534
5589657695715B   REKIKWOFKU       WOLDEGIORGIS              VA     90014905769
558966A4491356   SCOTT            DANIEL                    KS     29063406044
5589689495B531   MARIA            QUINTANA                  NM     90010168949
558968A5491587   ANGEL            HERRERA                   TX     90008288054
55896A6257B46B   ZAKIYYAH         RASHEED                   NC     90002690625
55897392A4B521   SAMUEL           QUEZADA-FLORES            OK     21514043920
55897933872B85   JORDAN           PATTERSON                 CO     90007029338
55897A6295758B   ABIGAIL          SALGADO                   NM     90014550629
5589811425758B   ALBERTO          SANDOVAL                  NM     90011491142
55898512A5715B   MARSHALL         HARRISON                  VA     90014895120
5589865857B497   CHENELL          GOODE                     NC     90010306585
55898951772B43   ELLEN            JUDISH                    CO     90012209517
55898A13161973   STEVE            HENDERSON                 CA     90011860131
558999A865B387   MICHAEL          HALE                      OR     90012069086
5589B25365B387   RUDY             MENDEZ-GALVEZ             OR     44559412536
5589B3A8433696   MARQUIKITA       HAYES                     NC     90013033084
5589B437372B38   MERCEDES         SANDERS                   CO     90004564373
5589B89435758B   AGUILERA         SORAYA                    NM     90006858943
5589BAA4972B49   CHAVEZ           SHIRLEY                   CO     33002250049
558B1626155951   RICHARD          GARCIA                    CA     49017526261
558B171435B387   ANTHONY          WATTS                     OR     90010067143
558B1964651348   TEKI             FOGGIE                    OH     90010599646
558B19A1285628   JUAN             GARCIA                    NJ     90004689012
558B1AA3A93782   HEATHER          SCOTT                     OH     90012130030
558B2127585928   CRYSTAL          DEERING                   KY     90014761275
558B2448A72B98   LUZ              CLAUDIO                   CO     90014644480
558B2541731428   JONATHAN         JOHNSON                   MO     90005805417
558B265355B283   KEISHA           SMITH                     KY     90008846535
558B26AA451348   SONIA            GARCIA                    OH     90010356004
558B341A45B283   LEO              ZURKUHLEN                 KY     68024214104
558B341A772B43   MARISSA          BARELA                    CO     90011104107
558B3716585928   MARY             RODDY                     KY     67083127165
558B3A46A61971   CANDICE LOUISE   RICKER                    CA     90011570460
558B5258833699   ANTHONY          WHITE SR                  NC     12075322588
558B562945B399   ALMA             BELASCO                   OR     90007496294
558B5A1A47B46B   NICOLE           MCCREADY                  NC     11089920104
558B6579991895   TABITHA          HOLT                      OK     90009705799
558B668375715B   FRANCISCO        RIVERA                    VA     90014696837
558B669A985941   ADREA            POWERS                    KY     90011296909
558B6AA8472B85   MARIA            MARTINEZ                  CO     90014720084
558B727625758B   ERNESTO          VALLES                    NM     35585362762
558B778A872B38   MARIA            MATA                      CO     33020277808
558B796675715B   CLEMENT          YEBOAH                    VA     90014889667
558B7996191587   NAVARRETE        HECTOR                    TX     90011179961
558B834312B851   TULSHI           DHAMALA                   ID     42078623431
558B8432341286   JOHN             PHIRI                     PA     51024754323
558B9641A5715B   EDWIN            ARGUETA                   VA     90011376410
558BB6A6891587   VERONICA         QUINTANILLA               TX     75051866068
558BB712572B27   DEANNA           WILLIAMS                  CO     33063497125
558BB758372B38   ROBERT           RUCKER                    CO     90012877583
5591122525B387   MARLYNN          HAMPTON                   OR     90012122252
55911225A2B27B   TYREEK           LAMBRIGHT                 DC     90013922250
5591212865712B   MICHEAL          HOUSTON                   VA     90009821286
5591279685715B   JOANTHAN         RODRIGUEZ                 VA     90015177968
5591341582B27B   KEAUNA           RAY                       DC     81017894158
55913A5285B531   ASHELY           ANDERSON                  NM     90014570528
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 84 of 2350


55914131572B85   CHRISTOPHER     MARTINEZ                   CO     90014721315
5591428744B588   KERRIE          CUNNINGRAM                 OK     90013152874
5591458652B851   JEANNIE         VALENZUELA                 ID     42065885865
55915175A57157   SANDRA          DERONNA                    VA     81062381750
5591548795B399   LEEANNE         CHAVEZ                     OR     44552764879
55915535672B43   JOSE            MOSQUEDA                   CO     90014885356
5591568524B221   JENNIFER        FAUCHIER                   NE     90005006852
559159A9A91356   ELIZABETH       HAYWOOD                    KS     29071849090
55916139672B43   CLAUDENE        ALLEN                      CO     90000441396
55916592A72B27   LILIA           BARRIGA                    CO     33063915920
5591675A15B531   GABRIEL         JURADO ESQUIVEL            NM     35097347501
55917612472B38   SHAUN MICHAEL   STOWERS                    CO     90014936124
55918723772B38   VERONICA        GALLARDO                   CO     90013007237
559189A7461971   TYRIECE         BAVAIN                     CA     90010699074
559192A5933645   PRINCESS        STRIBLIN                   NC     12006372059
5591956985B543   JUSTIN          ASHLOCK                    NM     90008375698
55919712772B67   VICTOR          MACIASMORAN                CO     33046967127
5591994A931428   JESSE           HARRIS                     MO     90005349409
55919A52884357   TIFFANY         GREEN                      SC     90011310528
5591B388161971   BRIAN           DAUTREMONT                 CA     46015373881
5591B5A712B27B   SAMUEL          NDI                        DC     90001125071
5591B652A7B46B   ELIOTT          MICHEAEL                   NC     90005436520
5591BA15472B85   GIDGET          MAES                       CO     90008630154
55921142972B43   JUAN            DEVORA                     CO     90010691429
5592115325B531   MANUEL          SAIZ                       NM     90014061532
5592127574B588   CARL            HARRIS                     OK     90013072757
5592136A972B85   BALDOMERO       VILLANUEVA                 CO     33081293609
5592299535715B   TOBIAS          MELENDEZ                   VA     90013929953
55922A26984852   NOE             MARTINEZ CERVANTES         NJ     90015190269
55922A55A7B46B   KAYLN           HILL                       NC     90013870550
5592327482B27B   RENAH           WALKER                     DC     90014942748
55923A34833696   ERIC            LOCKLEAR                   NC     90014580348
559241A4891587   EDELMIRA        VALENZUELA DE SOTO         TX     90009731048
55924515972B88   LAUESSA         EAGLE HORSE                CO     90005935159
5592458A93163B   REBECCA         ACOSTA                     KS     90005535809
5592472195B399   MICHELLE        ANTHONY                    OR     90004307219
559248A667B348   RAMATU          KARGBO                     VA     81055968066
55924A45761975   MARISA          MCGREGOR                   CA     90014170457
55926573272B27   JESUS           MIGUEL GONZALEZ BELTRAN    CO     90010785732
559267A2457124   JORGE           CARRANZA                   VA     90008767024
5592691A54B588   DESEAN          HANKINS                    OK     90011129105
55927758972B49   KYRA            CONNER                     CO     90013147589
55927864572B38   NATHANIEL       HENSLEY                    CO     90010398645
55928116672B49   RANON           VENEGAS                    CO     90008501166
55928314772B67   SALLY           BRUCE                      CO     33047643147
55928399472B38   RANDALL         RIPPLINGER                 CO     90011153994
5592844847B46B   ADELA           CRUZ                       NC     90012074484
5592956A172B36   MARIA           AREVALO                    CO     33032385601
55929821172B27   KRISTIE         RUDE                       CO     33008458211
55929925A61941   TINA            COOPER                     CA     90002789250
5592B24775B543   THOMAS          LINEBAUGH                  NM     90006312477
5592B2A1333696   KISHA           CUMMINGS                   NC     12049052013
5592B987772B49   NAD             WEYER                      CO     33064029877
5592BA1AA85833   LESLIE          BABANTO                    CA     90009610100
5593111292B27B   DONALD          JEFFERSON                  DC     90004831129
5593136A472B88   JOSE            SIERRA                     CO     33073863604
55931AA9261975   ROSARIO         OLIVAS                     CA     90014710092
5593259587B64B   COURTNEY        JOHNSON                    GA     90012395958
5593325715758B   CHRISTY         LITA                       NM     35519692571
5593327A191895   PAYGO           IVR ACTIVATION             OK     90005132701
5593341235B531   VALERIE         MARTINEZ                   NM     90010154123
559334A8372B27   CECELIA         BEAUCHANE                  CO     33092514083
559338A1A33696   JULIE           ALSTON                     NC     90008668010
559351A8672B49   MARIA           FRIAS                      CO     90005781086
5593527184B588   CAREY           TOWELL                     OK     90014182718
55935AA4172B27   PEDRO           LOPEZ                      CO     33046080041
5593653A333699   MARTHA          TOMAS                      NC     90014435303
559368A665B399   RIGOBERTO       SANCHEZ                    OR     90006418066
559375A7A91525   ERIQ            MARTINEZ                   TX     90012135070
5593787342B851   YOLANDA         MARTINEZ                   ID     90005378734
55937A78272B38   JASON           MARX                       CO     90011100782
5593849A676B31   CLORISSA        ANDERSON                   CA     90014204906
55938739A51348   JASON           WALTER                     OH     90010207390
5593883472B948   PHILLIP         PHARR                      CA     90010518347
5593884A333699   CRYSTAL         JESSUP                     NC     90012618403
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 85 of 2350


5593894A472B85   ANNA          CAPEL                        CO     90011549404
5593898A62B27B   STAR          GANTT                        DC     90013819806
55938A26A5715B   MARTA         ORTIZ                        VA     90014900260
5593912215715B   ALEJANDRO     CRUZ                         VA     90007111221
55939827572B38   MICHEAL       SCHUMACHER                   CO     90010068275
55939963772B27   MIKE          EDWARDS                      CO     90015059637
5593999A45B387   CANDACE       HICINBOTHOM                  OR     90010889904
5593B1A9672B36   LUCAS         HERNANDEZ                    CO     33092811096
5593B274961973   REBECCA       FINK                         CA     90009122749
5593B27938B181   JAMIE         CARLSON                      UT     31015762793
5593B675961975   BEN           RIVERA                       CA     90014496759
55941116A72B85   DUSTIN        MILLER                       CO     90014721160
55941792772B38   SENIA         HERNANDEZ                    CO     90011117927
55942339A2B27B   ANTWON        HARRIS                       DC     90012843390
5594322A772B38   MELANIE       GOMPF                        CO     90004012207
5594332A361971   LEA DAWN      HEBERT                       CA     90014633203
55943588572B36   DAVID         LYBARGER                     CO     90013275885
5594364A491587   VICTORIA      SNOWDEN                      TX     90013226404
5594371A161971   LEA DAWN      HEBERT                       CA     90008787101
5594395A52B27B   TYSEAN        REDMOND                      DC     90006599505
55944462172B36   EDWARD        DIMOCK                       CO     90015334621
55945334272B38   DIANA         CALDERON                     CO     90002463342
55945A61672B85   LETICIA       REYES-ALARCON                CO     33045060616
55946438572B27   DOMINIC       MCGEE                        CO     90011344385
55946828872B38   CRIS          LOPEZ                        CO     33026168288
55947A55231449   JARVIS        GAMBLIN                      MO     90004430552
5594829965758B   RAUL          MARTINEZ                     NM     35505942996
55948361872B49   ORALIA        CASTRO                       CO     33093313618
55948521172B43   DENNIS        HARRISON                     CO     90013005211
55948618A85928   MATHEW        LUNSFORD                     KY     67084366180
5594868132B851   MANDINGO      SMITH                        ID     90014866813
5594874A472B27   PRISKA        RAFFAELI - MCMILLEN          CO     33037217404
55948A8A74B588   GERALD        STEWART                      OK     90001400807
5594953A272B27   CATHY         NELSON                       CO     90004695302
5594955374B588   PAYGO         IVR ACTIVATION               OK     90010865537
559499A515B531   SELENE        CASTANEDA                    NM     35011619051
5594B3A6184357   EDUARDO       RAMOS                        SC     14551853061
5594B4A7A4B588   AMANDA        LOVE                         OK     90010904070
5594B52367B46B   KRISTEN       BUTLER                       NC     90007215236
5594B531172B67   MARIA         GUTIERREZ                    CO     33080345311
5594B592672B88   GUADALUPE     ALMENDAREZ                   CO     33075505926
55952554372B85   NORBOTO       RAMIREZ                      CO     90001785543
5595278255B283   TONIA         JONES                        KY     90009027825
559533A415715B   ERICK         CHAVEZ                       VA     81017133041
55954319A4B588   WAYNE         RENFROE                      OK     21503203190
55954479A57157   CEDRIC        MAKELA                       VA     90005374790
55955293872B85   WILLIAM       NELSON                       CO     90011012938
55955A7185715B   JOSE          LLAMAS CASTRO                VA     90014900718
5595636A55715B   ASRET         TEGEGNE                      VA     81013953605
5595646A691351   THOMAS        GIESLER                      KS     90011444606
55956587472B85   JAMIE         YEITER                       CO     33002385874
55957A88272B25   KELLIE        HERNANDEZ                    CO     90009930882
55957A92533699   KANIKA        WHITAKER                     NC     90013850925
55958279272B38   ALMA          CASTILLO                     CO     33019822792
55958293A72B43   ANA           CENDEJAS                     CO     33017142930
5595834794B521   JUSTIN        JACK                         OK     21520953479
5595888215B271   AMBER         LADD                         KY     68024648821
55959886272B49   HAROLD        MCBRIDE                      CO     33086518862
5595B156961971   TOYGLENN      DEDMON                       CA     90013561569
5595B251A72B27   ALEX          FRANCO                       CO     90014112510
5595BA1444B221   ADJOKO        GABA                         NE     90007480144
5596149AA91523   SYLVIA        ALONZO                       TX     90014994900
5596313A85B387   CASSIUS       DASILVA                      OR     90012931308
5596314A85B531   MERRLINDA     BENAVIDEZ                    NM     35094641408
559639A345B399   JOSE          VENTURA                      OR     90011849034
5596426855715B   REINA         ROMERO                       VA     90013212685
55964A66A31428   DELMAR        WRIGHT                       MO     90005840660
5596541475B531   ARTHUR        BONILLA                      NM     35095434147
55965584A72B85   NATHAN        ENRIGHT                      CO     90002295840
55965A59172B49   CEASER        ACOSTA                       CO     33009010591
55965AA6272B38   CANDACE       HARRISON                     CO     90014880062
55966266A61971   ANTHONY       BROWN                        CA     90010132660
55966666472B38   LIZBETH       PURECO                       CO     90013936664
55966AA2872B49   ILEANA        GALLEGOS                     CO     90009130028
55967119A72B85   ANNA          NELSON                       CO     90014721190
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 86 of 2350


55967279672B36   LINDSEY       SISNEROS                     CO     33019792796
5596752AA5B387   ANGELA        BRONKHORST                   OR     44511325200
559694A952B27B   KAREEN        PALMER                       DC     90010054095
55969A35A5B52B   CHRIS         CIPOLLOOME                   NM     90003150350
55969A4A972B85   DAN           XIONG                        CO     90007340409
55969A87572B67   OSCAR         RODRIGUEZ                    CO     33020260875
5596B42254B28B   ARACELI       ALCALA SERRANO               NE     90011764225
5596B67615B283   AMANDA        ORM                          KY     90008166761
5596B737433696   LASHANNON     WOMACK                       NC     90014117374
5596B848133699   OYUKY         ARELLANES                    NC     90014798481
5597173915758B   MARGARITA     FLORES                       NM     35517337391
5597175845B283   ALEX          ANDERSON                     KY     90009287584
5597296415B399   CHRIS         NOLTEN                       OR     90012389641
55972A4A972B85   DAN           XIONG                        CO     90007340409
55972AA5391587   CAROLINA      FIGUEROA                     TX     90013660053
55973523772B67   CHELSEY       BROWN                        CO     33068075237
5597392385B399   POLLY         WINTERS                      OR     44534039238
55974123772B36   ANTHONY       LUCERO                       CO     33059941237
55974669A91895   MIA           HAGIN                        OK     90012696690
559746AA85715B   FRANCISCO     GONZALEZ                     VA     90002856008
559762A7791534   NORMA         RODRIGUEZ                    TX     90011132077
55977992172B36   GIOVANNI      FLORES                       CO     90011299921
5597821655758B   EMMANUEL      GUEVARA                      NM     90001992165
5597825357B46B   AMBRIA        FONDREN                      NC     90004052535
55978429172B38   NICHOLAS      GREATHOUSE                   CO     90014734291
5597853564B588   RAMON         RODRIGUEZ                    OK     90013365356
5597925544B588   CHRISTOPHER   ECHOLS                       OK     90009272554
5597B366A61973   GILA          PORTILLO                     CA     90010753660
5597B8A9861971   ALICIA        LUCAS                        CA     90012008098
5598142A75758B   CARLOS        ROBERTO                      NM     90013864207
5598152A67B46B   MARGARITA     MORENO PEREZ                 NC     11080385206
55981785772B38   KEVIN         AGUILAR                      CO     90012877857
559822A9972B36   GRAG          FARLEY                       CO     90009162099
55982892A2B851   BRYAN         SLATER                       ID     90010458920
55982926672B49   ANGELA        BURRIS                       CO     90012859266
5598297795715B   JOSE          ARIAS                        VA     90010499779
5598379245B387   JASON         LATUALA                      OR     44513597924
5598385735B52B   CARISSA       BERRY                        NM     90011098573
5598431475B543   CATHERINE     DAVILA                       NM     35073523147
5598432A24B588   MICHAEL       YOUNGS                       OK     90012183202
5598445985B129   MARTIN        GAECIA                       AR     90003354598
5598478A772B43   MICHAEL       MARTINEZ                     CO     90015357807
5598492387B46B   REMONICA      EARL                         NC     90009399238
5598616A657157   MARIA         MENDOZA                      VA     90011641606
55986622772B85   EICKA         RODRIGUEZ                    CO     90004216227
55986625A5B399   HEATHER       MOEHKE                       OR     44578016250
55987128672B85   TIFFANY       ALCANTAR                     CO     90014721286
55987658572B49   JESSIE        JONES                        CO     90014876585
55987762172B38   LEWIS         GLEN                         CO     33041117621
55988522472B88   CRISTINA      VAZQUEZ                      CO     33073865224
55988812724B5B   WENDY         WILLIAMS                     DC     90001018127
559888A513B352   MAHAN         ARENDS                       CO     33024038051
5598961514B29B   PAIGE         NELSON                       NE     90012046151
5598988235B387   KARLA         CHAMBERS                     OR     90014958823
55989892A2B851   BRYAN         SLATER                       ID     90010458920
5598B11275B399   DAVID         LANGHOLZ                     OR     90015101127
5598B15137B34B   AKLLILU       HAILEMARIAM                  VA     81011011513
5598B25482B851   CHARLES       COLE                         ID     42052302548
5599172253146B   JEWEL         JACKSON                      MO     90012067225
5599273A761973   EVANA         PEINADO                      CA     46050157307
55992856672B27   MA DEL        VALLES                       CO     33028068566
5599296787B46B   ANGELICA      CAREON                       NC     90010669678
55992A8114B588   CRYSTAL       HILL                         OK     90014810811
55992A95A72B85   ADAM          STONE                        CO     33052110950
55993583772B49   REMBERTO      ALVAREZ                      CO     33019875837
5599382A261975   STEVE         FIELDING                     CA     46040468202
55993A2427B46B   JESSICA       LAMBERT                      NC     90010730242
5599495427B46B   IVEYMER       NTIGUA                       NC     90012969542
55997134572B85   JORGE         BALLINES                     CO     90014721345
559977A9972B49   HUMBERTO      ORDAZ                        CO     33036407099
55997A81257157   MARIA         CARRANZA                     VA     90006910812
55998315A61971   KIERA         WILLITS                      CA     90011993150
5599879992B27B   CHARLES       CARPENTER                    DC     81046047999
55998956A5758B   LAURA         GONZALEZ                     NM     35536089560
5599912752B27B   TERI          MOTEN                        DC     81027341275
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 87 of 2350


5599913A34B588   JULIE         RICHARDSON                   OK     90014681303
5599946545715B   SIMIE         ABEBE                        VA     90008154654
559996A7491895   KIM           SULLIVAN                     OK     90013846074
5599B564172B38   CHARLIE       ESQUIBEL                     CO     33039425641
5599B684172B43   RAMIREZ       AARON                        CO     33078266841
559B1373461973   PEDRO         CUEVAS                       CA     90011603734
559B1979985928   PAYNE         LYNN                         KY     90014789799
559B2329172B49   ADAN          FLOREZ                       CO     90000663291
559B276447B46B   CRAIG         SANDERS                      NC     90013997644
559B336863B35B   LAKAISHA      PIERRE                       CO     90013643686
559B353842B851   MACKENZIE     BURWELL                      ID     90002435384
559B3963361973   PAOLA         PEREZ                        CA     90013259633
559B3A88661975   ROSA          RODRIGUEZ                    CA     90003340886
559B4299391895   ROBERT        CALVERT                      OK     90012812993
559B4668172B38   TIFFANY       KICKLIGHTER                  CO     90014436681
559B4A7775B531   DIANA         LOPEZ                        NM     90001960777
559B521A872B67   CHRISTINA     RESNICK                      CO     33047642108
559B5353533696   VENNY         SUAVE                        NC     90014563535
559B5485984357   ANTONIO       GARRETT                      SC     90001534859
559B548815B399   ROBERT        YOUNG                        OR     44573534881
559B5697591587   LORENA        LARA                         TX     90011016975
559B5A1A84B588   KENISHA       WOODEN                       OK     90008470108
559B5A43A33699   DANA          LITTLE                       NC     90011120430
559B613342B27B   LA ROYA       HUFF                         DC     81015991334
559B6194784357   ANTOINETTE    JENKINS                      SC     90014211947
559B67A9772B49   SAMANTHA      ORNELAS                      CO     90010597097
559B7755772B36   BRIANNA       FLORES                       CO     90013777557
559B7927685928   BRENDA        SALAS                        KY     90015009276
559B8435731428   CASSIE        FOX                          MO     27517234357
559B8673A55949   MICHELLE      GARCIA                       CA     90001236730
559B895812B27B   CABRERAS      HERNANDEZ                    DC     81046099581
559B9197833699   JOEL          KING                         NC     90010611978
559B949A65B271   ANDREAKA      BAILEY                       KY     90007164906
559B9958572B33   MARIA         GOMEZ                        CO     90003049585
559BB112485928   CANDICE       SMALL                        KY     90014731124
559BB98613148B   EMERSON       SUTTON                       MO     90014359861
55B11266972B49   PERTRICE      BUMPAS                       CO     33073792669
55B11612A5715B   LUCACIA       ALDINO ECHEVERRIA            VA     90006446120
55B11726184357   WALTER        PINCKNEY                     SC     90012187261
55B11893651348   BRIDGET       MORTON                       OH     90006328936
55B1225557B46B   AMELIA        FLEISCHHAUER                 NC     90011972555
55B12672333699   FREDIE        GETHERS                      NC     12000476723
55B133A2784357   NEKEIA        MARFO                        SC     90014693027
55B13474861975   ROSANGEL      ACOSTA                       CA     90013094748
55B1353622B27B   DAVID         CAVANAUGH                    DC     90010165362
55B13764851348   CHRIS         WALKER                       OH     90015107648
55B1451925B387   ZACH          WILLIAMS                     OR     90007715192
55B145A1172B38   MICHAEL       ARLEDGE                      CO     33062985011
55B14721184357   GARY          MOELLENHOFF                  SC     90015187211
55B1489995B531   LUCY          CANO                         NM     35047078999
55B148A412B27B   MONTY         JACKSON                      DC     90013898041
55B155A2251348   JENNIFER      STANDLEY                     OH     90002815022
55B15785672B43   MANDI         DASSEL                       CO     33000227856
55B1584A591587   KAREN         FABELA                       TX     90012928405
55B1627A27B46B   ANAGELI       RAMIREZ                      NC     90007992702
55B16929772B85   AARON         PITTS                        CO     90004409297
55B17294791587   TIANA         ACOSTA                       TX     90012262947
55B176A6331428   ANGELA        ALEXANDER                    MO     90013826063
55B176A922B27B   YOLANDA       FRONEBERGER                  DC     81007656092
55B176A9291356   BOBBY         TRAMMEL                      KS     29080466092
55B17915A91895   DONALD        BEISSEL                      OK     90004699150
55B17A6155B387   VIKTOR        BARNA                        OR     90014970615
55B17A8237B358   MANUEL        CABALLERO                    VA     90014450823
55B17A8A261975   LISA          SHANGO                       CA     90011540802
55B18259172B27   NICHOLAS      VIGIL                        CO     90007252591
55B1831A257157   FELIX         CONDORI                      VA     81031193102
55B18599172B38   ANDREA        UNGERMAN                     CO     90013935991
55B18681651348   CODY          GENTRY                       OH     90013066816
55B18743291356   CARMEN        SANTOS-RIVERA                KS     90009767432
55B1879319373B   FREDERICK     NEWCOMB                      OH     90001137931
55B18853272B67   LUCILA        BELMONTES                    CO     33089418532
55B1885A444B26   MIKE          PYLE                         OH     90014148504
55B1986565758B   LUIS          AMAYA                        NM     90014108656
55B1B239985928   CRUZ          BAEZ                         KY     90009262399
55B21274361973   PATRICIA      GAYTAN                       CA     90007982743
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 88 of 2350


55B21311333696   WHITNEY           LYNCH                    NC     90013433113
55B2134945B129   BELINDA           MORRIS                   AR     23001473494
55B21A87372B38   ALNGELICA         BURCIAGA                 CO     90012820873
55B22139884357   CHRISTOPHER       HODGES                   SC     90011021398
55B23646772457   MUSTAFA           BAHTISHI                 PA     90015186467
55B24513591895   NEWTON            ANGIE                    OK     21004585135
55B24625461973   SANDRA DE JESUS   FREGOSO                  CA     90014526254
55B24625633696   CHRISTIAN         GUTIERREZ                NC     90014426256
55B2546254B936   MONICA            GONZALEZ                 TX     90009454625
55B25656A72B36   GLADYS            SARINANA                 CO     33043046560
55B25A3655B387   JAYME             MCFADDEN                 OR     90013790365
55B25A52A72B85   OSVALDO           RUBIO                    CO     33061430520
55B262A1A85928   DYHENVY           MARTIN                   KY     90011132010
55B26649172B49   JASON             FUHS                     CO     33053746491
55B2678254B588   SUKHEYDEE         MEDINA                   OK     90013507825
55B2691195B387   CHRISTOPHER       PONTE                    OR     90014689119
55B26A3AA5758B   ANDREW            HERNANDEZ                NM     35522590300
55B26A53433696   ALICIA            ENOCH                    NC     12087210534
55B26AA3861975   ROMAN             COE                      CA     46037320038
55B2711242B27B   ALMA              YANIRA                   DC     90012111124
55B271A6961975   JAVIER            ESPINOZA                 CA     90010111069
55B27548931428   KRISTIE           TAYLOR                   MO     90004625489
55B275A565B387   LISA              HIBDON                   OR     90004875056
55B27A7854B28B   JOE               JOHNSON                  NE     90012880785
55B2814332B272   REGINALD          MCCORD                   DC     90000841433
55B28294791587   TIANA             ACOSTA                   TX     90012262947
55B28658733696   THOMAS            SCOTTON                  NC     90012216587
55B286A8233699   PLEASANT          HUNTER                   NC     90009666082
55B28749972B36   MARCOS            CANCHE                   CO     90010677499
55B287A2457124   JORGE             CARRANZA                 VA     90008767024
55B2881874B588   DANIELLE          WHITE                    OK     90012918187
55B29482161973   CHRISTINA         GONZALEZ                 CA     46009634821
55B2959135715B   MARIATU           KAMARA                   VA     90010335913
55B298A1772B85   OSCAR             PADILLA                  CO     90010158017
55B2B216151348   MOHAMMAD          RUSTAMI                  OH     90006432161
55B2B26685B283   TAMIKA            CUMMINGS                 KY     90004992668
55B2B27565B399   OSCAR             JUAN CARLOS              OR     90000242756
55B2B45924B28B   VANISHA           TUCKER                   NE     90002284592
55B2B796391534   MANUEL            PINA                     TX     75089567963
55B2BA9133B352   LUIS              NAVARRO                  CO     90009860913
55B3129535B387   KAREN             HARRIS                   OR     44507142953
55B31384961971   JOSE              LEDEZMA                  CA     90012903849
55B31749761975   PAULA             WHEELER                  CA     46075057497
55B31788457157   DARYL             SAUNDERS                 VA     81066937884
55B3243784B588   CLAUDIA           SOTO                     OK     90005614378
55B33169491587   JOSE              GARCIA                   TX     90001381694
55B33446472B43   MARISELA          MARTINEZ                 CO     90012984464
55B33727872B85   JOAQUIN           FRANCO                   CO     90012337278
55B33A6A32B27B   DEMETRIA          MURPHY                   DC     90011190603
55B34479761956   LOUIE             CASTILLO                 CA     90010684797
55B34543198B2B   PETER             AWUTE                    NC     11078145431
55B3476A85B129   GEROY             FINKS                    AR     23016397608
55B3513597B46B   REBECCA           TODD                     NC     11085091359
55B35426872B38   PAUL              CHA                      CO     90008444268
55B3589235B223   ERIC              OLSON                    KY     90012308923
55B35952191356   SONNY             BANKS                    KS     90013089521
55B3599AA91587   GENE              MARRUFO                  TX     75053079900
55B3629616194B   LORENA            SARABIA                  CA     90001882961
55B36A46172B49   MICHAEL           CARRERAS                 CO     90011030461
55B3745725758B   ELISABETH         SALAZAR                  NM     90011514572
55B3813444B29B   ALAINA            MERRILL                  NE     90006891344
55B38237472B67   RUDI              LOPEZ                    CO     33015862374
55B38676233657   AMANDA            SALINAS                  NC     12020386762
55B3871747B46B   DESHONE           FORNEY                   NC     90005017174
55B39352272B27   RAUL              POZMENO                  CO     90004953522
55B3954655758B   JAVIER            AGUIRRE                  NM     90004255465
55B39566251348   MARCOS            DIAZMORALES              OH     90013935662
55B395A6261973   KARLA             GOMEZ                    CA     90009095062
55B39785A84357   TAIWAN            GIBBS                    SC     90010967850
55B39789872B38   DEMBA             SACKO                    CO     33015297898
55B3987A291391   HERNANDO          GUTIERRES                KS     29035918702
55B39923985928   TASHA             MONTALVO                 KY     90011939239
55B3B1A6627B98   SHEKIA            WILSON                   KY     90000951066
55B3B62654B28B   SAMIRAH           OSMAN                    NE     26006366265
55B3B7A565B283   MASON             LOPEZ                    KY     90008307056
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 89 of 2350


55B4122A585928   JOSEPH        HALSTEAD                     KY     90015492205
55B4139475B543   SILVIA        GONZALES                     NM     90005773947
55B416A4931428   JUSTIN        WALLER                       MO     90004626049
55B4238344B588   ROCIO         NEGRETE                      OK     90014153834
55B42521861971   HAWLEY        DAVID                        CA     90009135218
55B42839861973   JOCELYN       SEVIER                       CA     90002358398
55B43471785928   JESSE         HISEL                        KY     90010714717
55B4381395B387   ASCENCIO      FLIAS                        OR     90009888139
55B43A84661975   ESTHER        GALVEZ                       CA     90011540846
55B44186861971   GHASSAN       NOAMAN                       CA     46049341868
55B4429265758B   CONSTANCE     YOUNG                        NM     90012642926
55B44658361975   ONEIDA        ARIAS                        CA     90010476583
55B4489A272B38   FLOR          OCHOA                        CO     90013968902
55B44A84591356   VICKI         GRIFFIN                      KS     29005620845
55B455A2561973   BRENDA        CASTELLANOS                  CA     90005105025
55B4614795715B   KAREN         BAQUEDANO                    VA     90006541479
55B4614A82B27B   BRADIE        LOTT                         DC     90012081408
55B46215333699   SEAN          HIGHET                       NC     90005032153
55B47851A43569   ALICA         PERO                         UT     31031598510
55B4792894B28B   BRIAN         ANDERSON                     NE     90002339289
55B48592972B38   RAYCHELLE     MARTINEZ                     CO     90012875929
55B4878A872B49   JUAN          ALCALA JR                    CO     90013117808
55B48988A77533   DONALD        HENSON                       NV     43072009880
55B48A57172B27   FREDY         AMBARIO                      CO     90008010571
55B49293591895   AMY           PERKINS                      OK     90008812935
55B4941335758B   REMY          SIGALA                       NM     90015174133
55B49579291587   HUMBERTO      CASAS                        TX     75095315792
55B4B616961975   ADAM          NICHOLSON                    CA     90014486169
55B4B86585B399   KHRISTAYL     NELSON                       OR     90014458658
55B4BA15791356   KAVIN         TAYLOR                       KS     29045810157
55B4BA73651361   CHRIS         WHITLEY                      OH     66010720736
55B51361193782   LISA          PARKS                        OH     64591113611
55B5137364B29B   GARY          WILEY                        NE     90004033736
55B52A75191587   LESLIE        HERNANDEZ                    TX     90009310751
55B532A5A91895   FRANKO        RAVILA                       OK     90010282050
55B535AA151348   STARR         PINKELTON                    OH     90014565001
55B53978972B88   MARICRUZ      AGUILERA                     CO     90003219789
55B54124772B36   FRANKIE       CASTILLO                     CO     33015221247
55B54921391587   MARIA         VASQUEZ                      TX     75025459213
55B54A9235715B   DANIEL        THOMAS                       VA     90013030923
55B55262A72B43   MILLER        CURT                         CO     90001182620
55B55712161975   MARTHA        GOMEZ                        CA     46037327121
55B5571697B46B   AURELIO       FLORES SALMERON              NC     90015227169
55B56183691895   ARIEL         REYNOLDS                     OK     90010381836
55B56858A7B46B   HUGO          GONZALES                     NC     90012358580
55B5686585B399   JACOWSKI      BISSERETH                    OR     90003738658
55B56889172B38   SHANA         BOYD                         CO     90011478891
55B5691854B29B   ASHLEY        ADKINS                       IA     90007779185
55B56992961971   JOSHUA        TURNER                       CA     90001029929
55B56A9185B283   LAQUANDA      BRUTON                       KY     90009080918
55B56A99172B43   BERTHA        DELGADO                      CO     90010690991
55B57358533699   DETICIA       RUCKER                       NC     90011133585
55B58353284357   SCOTT         MARCELE                      SC     90013893532
55B58499961973   SONYA         GODINEZ                      CA     46058474999
55B5874212B851   RUBEN         GOMEZ                        ID     90008867421
55B589A8872B38   MATILDA       MARQUEZ                      CO     90015089088
55B59493857157   BOBBY         POOLE                        VA     90013674938
55B5954915B387   MISAEL        PACHECO                      OR     44540635491
55B5966995758B   WENDY         CHAVEZ                       NM     90004356699
55B59737684357   VICTORY       MALLORY                      SC     90008817376
55B5B87855758B   CARMEN        GOMEZ                        NM     35530368785
55B61161261971   DYLAN         SULLIVAN                     CA     90014061612
55B61547672B36   EDWARD        CURTRIGHT                    CO     90008675476
55B6173935B531   LARRY         PAIZ                         NM     35062237393
55B6174834B588   PATRICIA      SANDRS                       OK     90007177483
55B61751861973   DANIEL        GARCIA                       CA     90012307518
55B6222645758B   DIANA         BUENO                        NM     90002012264
55B6238A34B28B   JENIFER       GONZALEZ                     NE     90001903803
55B6259212B851   MEEK          SHAWN                        ID     90009175921
55B62752572B67   BESSIE        FLETCHER                     CO     90000977525
55B62A18291356   SUZANNE       COOPER                       KS     29026650182
55B6352222B27B   ELISE         JOHNSON                      DC     90005615222
55B63836A91895   ERIKA         GRISEYDA                     OK     90009048360
55B63983433696   CATHRICE      WHITSETT                     NC     90014289834
55B64556491587   DELIA         MARIN                        TX     75044165564
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 90 of 2350


55B649A8A57157   TIONNA        QUINN                        VA     81096119080
55B65195A51348   MARK          GRIFFIN                      OH     90014811950
55B65422191356   DARVIN        THOMAS                       KS     90002794221
55B65953761973   HEATHER       MAGERA                       CA     46080489537
55B66437477581   MARTHA        RICO                         NV     43001744374
55B6681112B92B   LUIS          DE ARCOS                     CA     90007478111
55B671A514B588   AMANDA        THOMPSON                     OK     21509131051
55B6726415B399   BRANDON       EDDY                         OR     90011892641
55B67371151348   KRISTINA      DARDING                      OH     66096043711
55B6782AA43569   TERESA        NIELSEN                      UT     90000768200
55B68419472B49   ZACH          EVANS                        CO     33012894194
55B68424491895   BRITTINI      BOKOLAS                      OK     90000274244
55B68544543569   CAMERON       BRANTLEY                     UT     90006835445
55B6877735B531   CECILA        RIVERA                       NM     90001097773
55B68847572B85   URB           GLAPION                      CO     33012348475
55B6924395B399   MIXAEL        VELIZ                        OR     90012522439
55B6935185B531   RAUL          RODRIGUEZ                    NM     35064093518
55B6995485B387   WILLIAM       GONZALEZ-PEREZ               OR     90011399548
55B6B3A6572B27   JOSHUA        STOTLER                      CO     33040963065
55B6B4A135B29B   KATHY         BALL                         KY     90005404013
55B6B534372B85   CRISTINA      PARRA                        CO     33092615343
55B6B993461971   WYLIE         WILLIAMSON                   CA     46048599934
55B71469972B49   JOHN          SWERCINSKY                   CO     33069324699
55B71763891587   ENRIQUE       CASILLAS                     TX     90013537638
55B71796251348   LISBETH       ZELAYA                       OH     66078667962
55B71A85233696   SONDRA        TOWNSEND                     NC     12011010852
55B72456472B49   HEM           DAHAL                        CO     90007904564
55B72819291895   PASCUAL       VILLA                        OK     90014598192
55B73491172B43   LUKE          VILLALOBOS                   CO     90011144911
55B73638484341   EMILY         ROBERTS                      SC     90013916384
55B73842A91895   AMANDA        ROBINSON                     OK     90013528420
55B747A317B46B   DEQUARIUS     CHASTAIN                     NC     90013407031
55B74AA712B27B   ROBERT        GROSS                        DC     90015080071
55B7529195758B   LIZBETH       PONCE                        NM     90014002919
55B75297872B43   ALFREDO       MATA                         CO     90012352978
55B75464291895   DYLAN         LACRONE                      OK     90012824642
55B7584145B399   DANIEL        CAREY-WISE                   OR     90015058414
55B7611A74B588   PARIS         RICHARDSON                   OK     90013651107
55B76399A61973   MARIBEL       SEGURA                       CA     90013463990
55B76453361973   JANET         RIOS                         CA     90014304533
55B7664662B27B   ANTONIO       HENDLEY                      DC     90014846466
55B76799A5B531   CHARLES       COOKE                        NM     35077717990
55B76A9685715B   LEE           PETTIGREW                    VA     90009800968
55B7722462B869   MANUEL        BERMUDEZ                     ID     90009952246
55B77429261975   ROSIO         PADILLA                      CA     90011204292
55B77642593782   ERICA         PETERSON                     OH     90010806425
55B782A122B27B   JOHN          ALLEN                        DC     81065692012
55B78453491895   ASHLEY        PEARSE                       OK     90012944534
55B7863678B191   AMY           SIMPSON                      UT     90010736367
55B7884293B343   MANUEL        CALDERON                     CO     33090128429
55B78A5985B399   JARROD        OSTROM                       OR     44572200598
55B7915952B851   DAN           JOHNSON                      ID     42010431595
55B79336233696   RHONDA        BYRD                         NC     90001943362
55B7944755B399   RAUL          PALACIOS                     OR     90006044475
55B7945417B46B   TERRY         MORRIS                       NC     90009894541
55B79519633645   ASHLEY        CLARK                        NC     90010355196
55B79645661973   TAMMI         HAMPTON                      CA     46009666456
55B7995725B531   PATRICK       SANTISTEVAN                  NM     90002499572
55B79996521B42   BRIAN         SINGH                        TX     90012449965
55B7B84645B543   VICKIE        HERNANDEZ                    NM     35057928464
55B8135A861971   NICOLE        ARNOLD                       CA     46091643508
55B81561885928   NATANYA       GILL                         KY     67081945618
55B8171875B387   JOYCE         LANGSTEFF                    OR     90015157187
55B8181A231428   THOMAS        MCCORMACK                    MO     90006748102
55B81923872B38   AMAPARO       GARCIA                       CO     90011099238
55B8277512B27B   GULGHUTAI     KAKAR                        VA     90003067751
55B82A69461975   CHRISTIAN     REYNOSO                      CA     90013460694
55B83A19672B85   RUSSELL       SHEPHERD                     CO     90003880196
55B83A37A4B28B   SAMUEL        DONAHOO                      NE     90009670370
55B8429A472B27   MICHAEL       LAFRANCE                     CO     90004092904
55B8453152B851   MONICA        MORENO                       ID     90011665315
55B84AA545B271   KYRI          DEMBY                        KY     90004310054
55B85162761975   MANUEL        GODINEZ                      CA     90010471627
55B85241972B38   KJ            VIGIL                        CO     90014722419
55B8539A24B53B   TAMMY         EDWARDS                      OK     21564053902
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 91 of 2350


55B8565985B387   ZACHARY       HALL                         OR     90014276598
55B8576122B27B   JOHN          SIMTH                        VA     90013147612
55B8586964B588   ERNESTO       ACOSTA                       OK     90010898696
55B85A4A52B851   MARK          HENRY                        ID     42066910405
55B85AA6161973   PATRICIA      CARRINGTON                   CA     90001500061
55B865AA872B85   RAMONA        MARTINEZ                     CO     33077315008
55B8666365B283   ERIC          HANNON                       KY     90007406636
55B87393151348   ANDREW        SCOTT                        OH     90014503931
55B87446684357   TIFFANY       MOULTRIE                     SC     90007844466
55B87598861973   CALDERON      BLANCA                       CA     90006315988
55B8763747B46B   NATHANIEL     NEWBERRY                     NC     90012916374
55B8773252B259   VEETA         CLAYTON                      DC     90001547325
55B87A47391356   ALLISON       MEREDITH                     KS     90012590473
55B8816464B588   JULIE         PARKER                       OK     21527831646
55B8821525B399   LUKE          STICKLER                     OR     90008652152
55B88471A91895   ROMAN         CONDE                        OK     90015084710
55B886A2372B38   MICHAEL       MAURICE HUGHES               CO     90013936023
55B89148472B49   VINCENT       RIVERA                       CO     33051081484
55B89314961971   ANDY          SWEET                        CA     90009083149
55B89487698B2B   MARTIEKA      DAYE                         NC     90005614876
55B8B13294B521   JASSON        KILBURN                      OK     90014311329
55B8B338985928   ROBIN         DAVIS                        KY     90011713389
55B8BA68891356   JERQUAN       BOTLEY                       MO     29094040688
55B91469791587   CARLOS        CASILLAS                     TX     75036004697
55B91632184357   ANITA         JONES                        SC     14571996321
55B9216885715B   JOSE ABELI    LOPEZ                        VA     90005561688
55B9224395B399   MIXAEL        VELIZ                        OR     90012522439
55B9257564B28B   ERIKA         MERIDA                       NE     90002355756
55B93276151388   KRISTIAN      PERRY                        OH     66097832761
55B93424891587   TY            WALKER                       TX     90000304248
55B9352465598B   ALBERTO       SANDOVAL                     CA     90011335246
55B9388255715B   MILKI         DIAZ FUENTES                 VA     90015158825
55B93884A72B36   NETESHA       HYSAW                        CO     90012918840
55B9396A15B283   JACKIE        CARRIER                      KY     68023589601
55B9418975B387   EGBEVADO      ANANOUKO                     OR     90014091897
55B94424991932   ALBERTO       SANCHEZ                      NC     90002974249
55B95155155951   ISABEL        HERNANDEZ                    CA     49084171551
55B9534265715B   SANDRA        PERALTA                      VA     90010853426
55B9568715B399   KELLY         TALLENT                      OR     44560866871
55B96265372B88   BERLE         TAYLOR                       CO     33017452653
55B967A8291895   CHELSEA       JACKSON                      OK     90013767082
55B9689547B434   ADAM          CHRISTENBURY                 NC     11063978954
55B96A62933699   MARCELLA      ADAMS                        NC     12052580629
55B975A2972B67   JOSEFINA      MARTINEZ                     CO     90006525029
55B9762614B28B   CODY          THOMAS                       NE     26026696261
55B985AA372B38   MAYRA         ALVAREZ                      CO     33054245003
55B98712357157   WILBER        AYALA                        VA     90013937123
55B98791661973   RAMIREZ       FRANK                        CA     46059257916
55B9883395B531   RAFAEL        LOPE                         NM     90003178339
55B9884112B27B   EDWIN         GRAY                         DC     81061288411
55B9888214B28B   JONATHAN      WALDROP                      NE     26044898821
55B98887233696   MARIAH        STINSON                      NC     12016338872
55B9889945715B   HILDA         ORE                          VA     90002398994
55B988A2933642   MARCELINO     RIVERA                       NC     90006138029
55B9937235B399   CHRISTINE     GERHARD                      OR     90010653723
55B993A7772B38   ADAM          ARAGON                       CO     90011113077
55B997A397B46B   GLENNIS       HARRIAGE                     NC     90010797039
55B99869172B27   LEXY          CANADAY                      CO     90008318691
55B99872133696   SHAREE        MOSLEY                       NC     90004238721
55B9B6A7161971   JOHANNA       FUENTES                      CA     90008066071
55BB14A392B851   WAYNE         ROLLER                       ID     90001894039
55BB185AA85928   ABDRIETTA     GASSETT                      KY     67041488500
55BB1A1323B381   ABRAMAJTIS    GEORGE                       CO     33005990132
55BB214A67B46B   EFRAIN        GUZMAN                       NC     90003851406
55BB222762B27B   ALISHA        CARRINGTON                   DC     90014092276
55BB24A3572B27   ANGELICA      BENTON                       CO     90013724035
55BB2566572B38   HENRY         GURULE                       CO     33074325665
55BB279455B387   MAXWELL       AKUMA                        OR     90014397945
55BB2979255951   YOLANDA       EASTLAND                     CA     90010409792
55BB2A33533696   TRAVIS        ALSTON                       NC     90014830335
55BB358A95B387   JU            WINE                         OR     90012905809
55BB399A172B49   MICHAEL       L SUSMAN                     CO     33091189901
55BB4288872B49   TAYLOR        RAY                          CO     90012912888
55BB4629A72B36   SYMMONE       LAPP                         CO     90013846290
55BB4631891895   BRIDGETT      WRIGHT                       OK     21018056318
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 92 of 2350


55BB4795372B43   MARK          STONE                        CO     90010137953
55BB5471657157   RUBEN         ALVAREZ VILLAGRANA           VA     90010614716
55BB5539381265   AMANDA        PAOLELLO                     OH     90004705393
55BB557145B399   BRENT         TUMBLESON                    OR     90011595714
55BB593414B588   KIRK          STALEY                       OK     21503319341
55BB6743A5758B   MICHAEL       JORDAN                       NM     90011937430
55BB712674B588   MARION        COOPER                       OK     90015131267
55BB7273591587   GLORIA        MARQUEZ                      TX     75020822735
55BB733365B387   LYNN          CLARK                        OR     90013933336
55BB7563A51348   HEATHER       SIZEMORE                     OH     90013935630
55BB787184B29B   MARTIZA       MORA                         NE     90006888718
55BB8428131429   ANTONIO       DUNN                         MO     90014054281
55BB9162855949   LORENA        VILLA                        CA     90013411628
55BB9399A5715B   CLEMENTINO    BOLVITO                      DC     90010333990
55BB9652461975   RICARDO       GONZALEZ                     NM     90011626524
55BBBA65472B85   JULIAN        RAYMOND MAESTAS              CO     90003310654
56111648A5B236   DANNY         ADAMS                        KY     68077786480
561117A575715B   CESAR         REYES                        VA     90013267057
56112233472B32   MARIA         DEAN                         CO     90010452334
56112793A61965   MARGARET      SANCHEZ                      CA     46035087930
561127A6A4B52B   KARY          CROOKS                       OK     90013337060
5611293725B236   ZAIRE         WOODS                        KY     90007959372
561135AA533696   ANTONETTE     WOOD                         NC     12054195005
5611377325715B   DONNA         GOGISHVILI                   VA     90013557732
5611383414B521   DELIESHA      DIRDEN                       OK     21500038341
5611395415B283   NORMAN        BROWN                        KY     68000279541
56113A39572B43   MARCELINA     BUENO                        CO     90011080395
56113A56751323   JENNIFER      HECKLER                      KY     66021380567
5611435117B491   JUNAITA       SPENCER                      NC     11096113511
56114A53955939   ANDRE L       ROBERTS                      CA     90010350539
56115A6254B588   JOHN          CALDWELL                     OK     90007910625
56115A94542363   LORI          SEIBERT                      GA     90012550945
561162A1271968   JARESON       AYALA                        CO     90008312012
561166A2472B36   ANGELA        NELSON                       CO     33055346024
56116938172B27   JESUS         LOPEZ                        CO     33084519381
56116A38972442   ELI           GRAVES                       PA     90009340389
5611711A45715B   JORDAN        ESPINOSA                     VA     90010581104
5611732452B27B   MONICA        TAYLOR                       DC     90015063245
5611746815B236   SERINA        KIMBLE                       KY     68092624681
56117857A7B491   JOSE          REYES                        NC     11067178570
5611871314B588   NEYRA         ALVARADO                     OK     90011017131
56118993572B36   MARIA         MUNOZ                        CO     33023209935
56118A8522B228   CHIDI         NWOSU                        DC     81012060852
5611929A272442   MICHAEL       STONE                        PA     90006352902
5611976225B399   MATT          MARSHALL                     OR     90007197622
561199A8472B27   RICHARD       SPEAECT                      CO     90013109084
5611B668985928   JOHNNY        BULLARD                      KY     67082696689
5612123912B27B   KHAYLA        LINDER                       DC     90014502391
56121A58961965   PEDRO         CADENA                       CA     90014950589
5612271665B399   LUDIVINA      FRAIRE                       OR     90007937166
56122A68172B67   MAYRA         MARTINEZ-HERNANDEZ           CO     33010380681
5612313A155939   CLISSIE       CROWNOVER                    CA     90003651301
561231A835715B   SANTIAGO      GATLUMAN                     VA     90004381083
561234A3957157   KRISTAL       RODRIGUEZ                    VA     90014204039
56124AAA661971   KEITH         CRAIG                        CA     46057370006
5612516A891587   SHARON        PIMENTEL                     TX     75004311608
56125238272B36   ISSIAC        TAFOYA                       CO     90007962382
56125333772B43   JONATHAN      GARCIA                       CO     90014153337
56125643272B67   TERESA        FULLTON                      CO     33077966432
561258A6824B7B   JULIO         ALVAREZ                      VA     90009188068
561259A3672B27   GREGORIO      MARTINEZ                     CO     33073929036
5612613885B531   BRITTANY      KRAHN                        NM     90012431388
56126A65131429   LEJON         GRAY                         MO     27575410651
56127576972B88   VICTOR        SANCHEZ                      CO     90013295769
5612781867B491   JOSE          VASQUEZ                      NC     90011808186
561278A7672B36   LY            LAM                          CO     90012458076
56127AAA772442   AMANDA        KEEFER                       PA     90014600007
56128648472B43   GRISELDA      AYALA                        CO     33066466484
5612878115B399   RAY           MASTERSON                    OR     44500187811
5612892675B387   JOSHUA        GANN                         OR     90002529267
5612897485B387   JOSHUA        GANN                         OR     90014359748
56128A63672B27   BLANCA        LUNA                         CO     90006960636
56128AA3572B36   CECILIA       ALVAREZ                      CO     33014790035
5612939625B531   SELENA        BAROS                        NM     90011413962
56129647A4B588   ARON          BARRIOS                      OK     90003376470
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 93 of 2350


5612BA99A61971   KAREN         SHRINER                      CA     90007520990
5612BAA9391347   LATOSCHIA     TOWNSEND                     KS     29026760093
5613182845B531   ROSA          TORRES                       NM     90012758284
5613257424B588   SHELLY        SAMPLETON                    OK     21570295742
56132A15A85928   SHANTIA       HOGAN                        KY     90013780150
56133641172B38   TIFFANY       MARTINEZ                     CO     90003656411
56133766172B43   LANDRE        EDWARDS                      CO     33097377661
5613389545B236   ANN           CORTS                        KY     90010288954
5613438A772B38   ANA           CARBAJAL-RAYGOZA             CO     33081043807
56134A9935B399   ANGELA        CRAWFORD                     OR     90004050993
56135277572B88   STEFANIE      CAIRNS                       CO     90005682775
5613567A961965   FARAH         ABDULMASEEH                  CA     46095486709
561358AA785928   ANDREW        BECRAFT                      KY     90014568007
56136543472B49   JOHN          MAHU                         CO     33038425434
56136615A2B27B   TYDAYJHA      TALLHM                       DC     90012846150
561379A632B27B   ALBA          MENDOZA SANTOS               DC     90014449063
5613816114B588   MARIA         PALOMARES                    OK     90013851611
56138288A51354   ROBERT        MOORE                        OH     90008832880
5613828A885928   MARK          SMITH                        KY     67009842808
5613865772B27B   DANNY         JACKSON                      DC     90004306577
5613894525B387   JOEL          GUEMBES                      OR     90009329452
56138996672B49   SAY           HTOO                         CO     90013029966
5613923847B46B   LASHEENA      STITT                        NC     90011102384
561396A745B543   ANNETTE       GULLEY                       NM     90003266074
5613B646191587   YAHAIRA       CAMACHO                      TX     90014726461
5613B88754B29B   LINDA         VILLAGOMEZ                   NE     27013868875
5614163995758B   ADOLFO        FAVELA                       NM     35583866399
5614178415B393   JUAN          MAYORAL                      OR     44575457841
56141823A72442   ANTHONY       HUNTER                       PA     90014718230
56141AA2372B43   JULIET        CURRINGTON                   CO     90012490023
561424A7A55939   ERIC          GARCIA                       CA     90010434070
5614265336194B   ILEANA        RUIZ                         CA     90005256533
56142895624B7B   ROBERT        CLARK                        DC     90008168956
56143412A61965   BEVERLY       ROBERTS                      CA     90005064120
5614365375758B   ADAM          LOVATO                       NM     90013986537
5614377325715B   DONNA         GOGISHVILI                   VA     90013557732
56143938172B27   KATIE         KINNEY                       CO     33000309381
56143A79572B38   PATRICK       FOX                          CO     90012270795
5614454835B236   DAVID         HUGHES                       KY     90011895483
5614469367B46B   LAURA         GARCIA                       NC     90006516936
5614471865715B   JUAN          ZELEDON                      VA     90000637186
5614519AA33645   ASHLIE        SHEFF                        NC     90005481900
5614524195B283   LINDA         FERGUSON                     KY     68007252419
56145558772B49   CHRIS         CRUZ                         CO     33048245587
56145A26572B49   BETTIE        FURRU                        CO     90014460265
56145A68855939   CHRISTINA     HOWELLS                      CA     90014560688
5614612612B27B   LORENZO       JOHNSON                      DC     90010251261
5614616A35715B   LUCIA         CUEVAS                       VA     90009531603
5614652A291587   ZULEMA        OLIVAS                       TX     90012275202
5614711395715B   CLAUDIA       PORTER                       VA     81094351139
5614735A55758B   MARIANA       GUILLEN                      NM     90008693505
561481A557B46B   CAMILO        BENITEZ                      NC     90014991055
5614844945715B   SARA          MORALES                      VA     90012714494
561485A1385928   DARRELL       HOOD                         KY     90014005013
56149883572B36   CRYSTAL       CHAVEZ                       CO     90014478835
5614B129A57541   MICHAEL       MILLS                        NM     90012391290
5614B441733646   IRIS          KNERR                        NC     12012724417
5614B747672B67   DAVID         MARTINEZ                     CO     33047037476
5615154AA72B49   FISHER        CECILIA                      CO     90004695400
5615181855B531   SONIA         LOPEZ-PEREZ                  NM     35093268185
56151835A72B38   KIMBERLY      MORRINSON                    CO     90014598350
56151A2257B46B   DIEGO         MENDEZ                       NC     90015190225
56152A12455939   MARI          MARTINEZ                     CA     90013740124
56153A6472B567   TERRY         BURGETT                      AL     90013880647
5615497455758B   HARLEY        JASSO                        NM     35535219745
5615521A73B332   NICHOLAS      SMITH                        CO     90012392107
56155383272B43   GUADALUPE     REYES MEZA                   CO     33041743832
5615545314B588   CECILIA       MORALES                      OK     90012964531
5615568642B231   LESLEY        WILKERSON                    DC     90005506864
5615574A691895   MICHAEL       GRABEAL                      OK     90012267406
5615598665758B   ENRIQUE       MARQUEZ                      NM     90013169866
5615693775B543   SAL           CISNEROS                     NM     90001389377
56156A7595B387   HEATHER       PEARSON                      OR     44539300759
56157142A21664   LINDA         WILLIAMS                     OH     90011591420
5615754615715B   SERGIO        POLANCO                      VA     90011755461
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 94 of 2350


56157664872B38   BRENT         MINGS                        CO     33061026648
561578A794B588   COREY         HOWARD                       OK     90013228079
56157A39591587   YENIA         CONTRERAS                    TX     90010330395
5615869175B236   CYNTHIA       JACKSON                      KY     90003886917
5615B291951348   KATHY         HARRIS                       OH     90008642919
5615B41A285928   GERALD        CLAY                         KY     90001054102
5615BA1455B271   BRIAN         MOBLEY                       KY     90004330145
5616139A231429   ASHANTI       BRYANT                       MO     27517323902
561615A815B387   SHAWNA        PAULSON                      OR     90014855081
561616A2255997   AARON         OREA                         CA     90012216022
56161A13A72442   EDNA          BUSH                         PA     90013930130
56161A75447877   ESTHER        HOWARD                       GA     90012550754
56161A86272B27   JACKIE        MEDINA                       CO     33057960862
56163471972B88   BETHANY       CONNER                       CO     33073154719
56164169772B88   BRYAN         WEAVER                       CO     90003201697
5616451A45B387   CRYSTAL       WILLIAMS                     OR     90011005104
561657A534B28B   TYLER         TRUDELL                      NE     90007197053
56165A8365B351   DANIEL        SALTMARSH                    OR     90009560836
5616651315B387   KARIN         WILLIAMS                     OR     90010645131
5616673845715B   MEGEL         PENELOPE                     VA     90013047384
5616678845B236   DZENET        KERELHA                      KY     90011237884
56167576472B49   KIMBERLY      VAZQUEZ                      CO     90012645764
5616872397B341   THELMA        VALLESPIN                    VA     81076747239
5616874495B387   SUZANNA       MURRAY                       OR     90013467449
5616886464B588   LUIS          ARAIZA                       OK     90013448646
5616914A457157   ANA RUTH      DEGANDEZ                     VA     90005011404
5616947635B236   MARCO         CHAVEZ                       KY     90009534763
5616B6A855B236   HEATHER       POYNTZ                       KY     90011216085
5616B93375B399   TRYSTEN       REIGARD                      OR     90007029337
5617114575758B   SOCORO        VILLEGAS                     NM     90010171457
561711A1761971   CHUYITA       BLACK                        CA     90010841017
5617124145715B   MONIS         HOMAYOON                     VA     81046462414
5617182865758B   SOCORO        VILLEGAS                     NM     90013188286
56171851198B39   ALEXANDER     KENDU                        NC     90008088511
56171A99772B43   WENDY         REYES                        CO     33040210997
56172391772B38   FERD          CHAVEZ                       CO     90008013917
5617278335B399   SABRINA       HAIGWOOD                     OR     44585087833
5617283714B588   ERICKA        ARNOLD                       OK     90008628371
56172A98871968   ROCIO         DE RUELAS                    CO     90012240988
5617326122162B   CHRISTINE     CHRISTOPHER                  OH     90014372612
5617399115B531   LUZ           HERNANDEZ                    NM     35058089911
5617417545715B   DAVID         VASQUEZ                      VA     90002321754
5617447765B399   CAMI          KNOWLES                      OR     90014874776
56174953776B31   JAMES         FISHER                       CA     90012699537
5617544665715B   MARIO         CANALES                      VA     90014154466
5617562A555997   JOSE          VAZQEZ                       CA     90013366205
56175768972B49   JUSTIN        WILLIAMS                     CO     90012387689
56175893172B36   ALFREDO       MURILLO-RODRIGUEZ            CO     33062438931
561762A9291895   MICHEAL       CARPENTER                    OK     90009842092
56177153172B36   CARRIE        JOE                          CO     33032471531
5617716A67B46B   FAY           SHOUP                        NC     90003911606
5617736245758B   PAUL          PADILLA                      NM     35551543624
5617898A972B43   CHRISTIAN     LUJAN                        CO     90008729809
5617B975555939   VANESSA       MORALES                      CA     90008189755
56181226772B67   JEFFERY       WOELFLE                      WY     33015712267
5618127335B387   KORAH         SMITH                        OR     90014082733
56182593A55997   MARIA         GALLARDO                     CA     90011375930
56182719972B36   JON           ROYBAL                       CO     33078287199
5618339A472B27   CHRIS         SMITH                        CO     90012483904
5618412462B27B   PRECIOUS      FORD                         DC     90012841246
5618422A351586   JUAN          GARCIA                       IA     90014382203
56184284972B38   MANUEL        CORREA MACIAS                CO     33081052849
56184477A5B236   DAVID         LOCKETT                      KY     90014554770
5618453985B531   ASHLEY        WEBER                        NM     90012935398
56184633472B49   JULIO         PINEDE                       CO     33064256334
56185518872B36   CECILIA       GOLDSCHMIDT                  CO     90011615188
56185A3785758B   JAMIE         LEE                          NM     90011140378
5618644115B399   COLIN         OHNEMUS                      OR     44529714411
56186759672B43   KENDRA        SEES                         CO     90010457596
5618683354B588   QUIQUIA       ELLIS                        OK     90011058335
5618699327B46B   KIMBERLY      EFIRD                        NC     90014689932
561873A7672B88   PAULA         CASIAS                       CO     90005683076
56187A38884357   MARIA         GALLOW                       SC     90003640388
5618818167B46B   ROGER         BROWN                        NC     90012881816
5618962245758B   JOSEPH        SANDOVAL                     NM     90011896224
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 95 of 2350


5618BA44172B49   RUTH             SONS                      CO     33083740441
5618BA6A172B67   HERLINDA         RODRIGUEZ                 CO     90011140601
561911A9785928   ADRIANA          ALVAREZ                   KY     67013051097
56191AA445758B   SAHRAH           BLISS                     NM     90002250044
5619263AA91552   IRA              SMITH                     TX     90009956300
5619266A45758B   MICHAEL          BANEGAS                   NM     90014416604
56192A64172B67   SUSAN            KLINKE                    CO     90011140641
5619331295B236   DOMINIQUE        HOWARD                    KY     68006053129
56193623A2B27B   THELMA           SILVERS                   DC     90012846230
56193A89851348   MIGUEL           HERNANDEZ                 OH     90014210898
5619414A25B531   ASHLEY           QUINTANA                  NM     90011091402
5619471724B588   CHRISTOPHER      MANCHESTER                OK     90014817172
5619479A172B27   DOLLY            COVARRUBIAS SANCHEZ       CO     90012667901
56194A57A72442   DEJA             CARTLIDGE                 PA     90011710570
5619572942B27B   MAHBOOB          BHATTI                    VA     90009457294
5619599657B491   NAKITA           LOVE                      NC     11009999965
56196418572B27   KARISSA          SUDDUTH                   CO     90007584185
5619656A572442   MARY             HENSEL                    PA     90014745605
5619671215B387   JORDAN           HIKMAT                    OR     44506627121
56196A25372B36   JESSE            WALLACE                   CO     90012440253
56197185472B27   DAVID            CERCEDA                   CO     33047881854
5619789215715B   MARIA            VILLANUEVA                VA     81053728921
5619793512B272   LEE              BRIDGES                   DC     81079519351
56198739A4B588   MELVA            GULD                      OK     90011017390
5619956A572B36   BRANDON          MARTINEZ                  CO     90012415605
561995A5855997   ESTELA           DERAS                     CA     90005205058
5619B333261965   ZAIRA            HERNANDEZ                 CA     90010463332
5619B61812B27B   EDWINA           SINCLAIR                  DC     90012846181
5619B965A5B399   JANAY            LANE                      OR     90012939650
5619BA36755997   LINDA            ANDERSON                  CA     49093390367
5619BAA995B387   ALESHIA          OSTERKAMP                 OR     44582630099
561B111325B283   JENNY            HOLLY                     KY     68059351132
561B122194B588   ASHLY            DANKER                    OK     90015132219
561B1A26A72B49   DIANE            MCELVEEN                  CO     33094650260
561B2163355997   MARY             PEREZ                     CA     90013061633
561B239415715B   MIGUEL           VASQUEZ                   VA     90012583941
561B257657B491   SANTOS           AZMAR                     NC     11037205765
561B3169A5B399   TRACY            ANDERSON                  OR     90014571690
561B3928491587   RICARDO          REYES                     TX     90012879284
561B3AA142B27B   CHRISTIAN        BARRERA                   DC     90014030014
561B412A35B531   YURI             VALLES                    NM     90014401203
561B42A7676B68   DAVID            MARTINEZ                  CA     90002842076
561B444777B46B   HENRY            SMYTH                     NC     11095484477
561B449464B588   CARVELL          WRENN                     OK     21549974946
561B4794272B43   BECKY            MARTINEZ                  CO     90013377942
561B49A3857157   JUANA            GONZALEZ                  VA     90008789038
561B5142161965   JOSHUA BRANDON   OSNAYA IPARREA            CA     90014971421
561B5227661965   JUAN             MENDOZA                   CA     46050942276
561B5243551348   CARLOS           HERNANDEZ                 OH     90013922435
561B5418472B43   GUADALUPE        AQUINO                    CO     33025004184
561B553AA85928   DATAJAHDRA       JOHNSON                   KY     67032215300
561B5611972B36   JANALEE          SANTOYO                   CO     90014016119
561B5673A72442   NICOLE           STOKES                    PA     51021476730
561B5A5885715B   JERSON           GONZALEZ                  VA     90013610588
561B6589A55997   ARMANDO          VILLAGOMEZ                CA     90013655890
561B6673A72442   NICOLE           STOKES                    PA     51021476730
561B6762261971   CHERRIE          HARRIS                    CA     46066217622
561B6831172B38   ABEL             MONTOYA                   CO     90006948311
561B691452B27B   JAMELLE          HARRIS                    DC     90012839145
561B693124B588   LAWANDA          BUFFALOHEAD               OK     90010199312
561B7646672B37   NUBIA            RODRIGUEZ                 CO     90009516466
561B781867B46B   ALEJANDRA        HERNANDEZ                 NC     11072678186
561B7A5675715B   MARVIN           PEREZ                     VA     90014910567
561B859727B46B   RODRIGO          MORAN                     NC     11043785972
561B85AA15B271   ASHLEY           COATIE                    KY     90005385001
561B8711172442   BRUCE            KELLY                     PA     90014707111
561B8938872B27   VIOLA            MARTINEZ                  CO     90014109388
561B9279A7B356   STEPHANIE        HERRING                   VA     90005412790
561B969114B28B   SAMANTHA         BURTON                    NE     90002196911
561B9772172B88   FELICIA          MARTINEZ                  CO     33088367721
561B987765B531   ANA              PEREZ                     NM     90010918776
561BB15427B46B   VICTORIA         ROTH                      NC     11011221542
561BB45A457157   LIDIA            RODRIGUEZ                 VA     81013404504
561BB77575715B   SANDRA           RAMIREZ HERRERA           VA     90012277757
561BB788772B67   JAMES            COBBS                     CO     90001887887
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 96 of 2350


56211349A4B29B   TARA            KUSEK                      NE     90002713490
562117AA872B43   REBECCA         MEDINA                     CO     33033267008
5621184975B236   TERRY           HENDERSON                  KY     68062618497
56211898472B67   KYLE            CHAMBERS                   CO     33093878984
5621214575758B   SOCORO          VILLEGAS                   NM     90010171457
56212421472B27   MARK            SCHULTZ                    CO     90007584214
562125A2731429   BRANDON         CHRISTIAN                  MO     27517345027
5621282865758B   SOCORO          VILLEGAS                   NM     90013188286
562128A8291587   CINTHIA         ROSALES                    TX     75050628082
56213366A5758B   ROSA            RASCON                     NM     90012203660
56213681772B36   GUADALUPE       LOPEZ                      CO     90011196817
56214549372B27   MARGO           LICATA                     CO     90009725493
5621493155758B   ALEXANDER       CHAIDEZ                    NM     90014599315
5621664534128B   LINDA           CAUGHERTY                  PA     90003056453
56216675A5B236   CAROLE          MILES                      KY     68084146750
56216936A5B399   TERESA J.       MARSHALL                   OR     90009469360
5621693765758B   ASHLEY          COFFEY                     NM     90013919376
56216A9A672B67   RONALD          MOLLICK                    CO     90010600906
56217595172B67   JESUS           MOLINA                     CO     33058275951
56217836A5B387   ALAN            JONES                      OR     44574048360
56217A85A5758B   NOHEMI          MAGALLANES                 NM     90014030850
562182A6A55939   LILIA           GARCIA                     CA     90013222060
56218A65284357   HELEN           SAMUEL                     SC     90011810652
56218A72372B38   THOMAS          MULCAHY                    CO     90004910723
56219387572B27   MATT            ASBERY                     CO     33052933875
5621947514B936   ERIC            CHARON                     TX     90013974751
5621959A45B531   JENNIFER        LUCERO                     NM     90014705904
5621B324261971   ASHLEY          THOMSEN                    CA     90013033242
5621B99944B29B   JESSICA         GOMORA                     NE     27044149994
5622112925B399   TANYA           DUBOSE                     OR     90015161292
56221399872B49   NORA            SALINAS                    CO     33036603998
562221A7584357   ROWENA          HILL                       SC     90011811075
56222789672B38   MERILYNN        WALDMAN                    CO     90012917896
56222A2A27B46B   REGINALD        CALDWELL                   NC     90002170202
56223459172B43   MARIA           CARREON                    CO     33000834591
562239A7A61971   DIANE           BANFIELD                   CA     90006209070
5622466A45758B   MICHAEL         BANEGAS                    NM     90014416604
56224695972B67   PETRA           GONZALEZ                   CO     90010596959
562248A8185928   CATHERINE       ANDERSON                   KY     90014568081
56224A9827B348   JUAN            COLATO                     VA     90010400982
56225134A5715B   TONY            SAMPLER                    VA     90008711340
5622559382B27B   TYTRICE         DIGGS                      DC     90014685938
56225752172B38   ROSA            CARDOZA                    CO     33084657521
5622578887B491   DAJOUR          BURRIS                     NC     11084177888
56225A11591587   IVETTE          MONTANA                    TX     75082250115
56225A51572B36   MARIA           OLIVERA                    CO     90000120515
5622616245758B   JAYRINA         PENA                       NM     90013321624
5622721184B28B   SHALLA          SPANGLER                   NE     90000242118
56227A33272442   DANDRA          CASSONS                    PA     90014770332
56228183A7B491   CHRISTOPHER     MILLHONE                   NC     90011531830
56228694576B41   RAFAEL          LOPEZ                      CA     90012546945
5622874AA61965   LAVONNE         HENDERSON                  CA     90010217400
56229494A4B588   CARI            HORNIBROOK                 OK     90009364940
5622977A17B46B   LEONEL          ESPINAL                    NC     90011477701
562299A6961965   DARIO           CASTANON                   CA     90003949069
5622B17115715B   MERILDA         GARCIA                     VA     90014901711
5622B317533645   JAZMON          CARTER                     NC     90005513175
5622B34515B387   JOSEPH CLAUDE   HART                       OR     90011123451
5622B551772B27   SYNDEE          HUFNAGEL                   CO     33007395517
5622BA66172B67   CHRISTAL        MCLEOD                     CO     90011140661
5623121139372B   MICHAEL         MOHAMMAD                   OH     90014782113
5623169283B145   MARIA           GOMEZ LOPEZ                DC     90007696928
562334A9A72B49   ARMANDO         CAROLA                     CO     90013834090
5623434644B521   BRIDGET         JUDGE                      OK     90008533464
56234621A61965   LABONNIE        TAYLOR                     CA     46041646210
5623463245B531   RUBI            PEREZ                      NM     90012916324
562357AA672B67   JUAN            M HERNANDEZ                CO     90010597006
56235885472B36   ISAAC           RIVERA                     CO     90012998854
56235A65385928   SHANNON         SMITH                      KY     90009090653
5623648A157157   MICHAEL         BURGER                     DC     90011684801
5623675254B588   CANDY           GRIDER                     OK     90011017525
5623766242B27B   MARK            JOHNSON                    DC     90012846624
56237A74A61965   BRIANNA         JOHNSON                    CA     90013160740
5623814A272B36   MARIA           ESTEVEZ MILLAN             CO     33035511402
5623834694B588   SUSANO          CIFUENTES MAZARIEGOS       OK     90012373469
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 97 of 2350


56238651A72B43   CARLA         VAZQUEZ                      CO     90012546510
56238952872B38   BRAD          ALSTON                       CO     33076879528
56238A5A97B46B   GERALD        CHARLES                      NC     90008370509
56239247272B36   VERONICA      VAQUERA                      CO     33025272472
5623981A972B88   JOLEE         ADAMS                        CO     33084928109
5623995925B531   FRANCISCO     OCON-RODARTE                 NM     90014659592
5623B372A4B28B   JAMIE         HANDY                        NE     26097183720
5623B37A44B588   BERTHA        PELAYO                       OK     90001523704
5623B399172B27   JEFFERY       JOHNSON JR                   CO     33017723991
5623B58975B283   CHRISTOPHER   HILL                         KY     90009615897
5623B641A57157   LORRAINE      COLLINS                      VA     81015836410
5623B98957B46B   TEE JAY       GRIER                        NC     90009669895
5624131517B46B   QUILLIE       SMITH                        NC     90013563151
562424AA461971   NOELLE        PRICHETT                     CA     46006704004
56242824472B36   BRAD          BAUMBACH                     CO     90010348244
56242A1A572B38   GLADYS        MORALES                      CO     33037810105
5624312877B491   RAFEAL        DIAZ                         NC     90011831287
562436A6172B49   VICTOR        IBARRA RAMIREZ               CO     33050166061
56244179772B21   LARRY         PALMER                       CO     90009821797
5624451555B283   TANISHA       TRICE                        KY     90005485155
56245141A5B399   SHELBY        HAMILTON                     OR     90010831410
562451A8672B43   SOCORRO       VARGAS                       CO     90012081086
5624527155B236   DARRELL       BRATTON                      KY     68048472715
56245729172B67   UBALDO        CALDERON                     CO     90005037291
5624576347B491   APRIL         HARRIS                       NC     90001177634
56245A76A84357   JUAN          ALVAREZ                      SC     90005910760
5624654724B588   MARIA         PAREDES                      OK     90014875472
56246697472B32   AUTUMN        NELSON                       CO     90012136974
5624676634B588   IVETTE        GUEVARA                      OK     90011017663
5624697837B46B   JESSICA       BROOKBANK                    NC     90010379783
56246A7235758B   CARLOS        RAMIREZ                      NM     35501420723
56247291A72442   SHELBYLYNN    ROSENSTEEL                   PA     90014792910
56247642872B36   DOUG          HUNT                         CO     90003756428
5624782A198B28   ISIDRO        DIAZ                         NC     90004418201
5624973754B29B   LOCANIE       STEWART                      NE     27092857375
562497AA833696   BRANDON       COMBO                        NC     12071647008
56249AAA842363   LAURA         SMITH                        GA     90012030008
5624B2A325B531   DANIEL        QUINTANA                     NM     35081232032
5624B463661965   BRITTANY      WHITTAKER                    CA     90014894636
5624B626561965   JOHN MIKAEL   BOWERMAN                     CA     90014936265
5624B632A5758B   ORTIZ         CONNIE C                     NM     90007816320
5624B831991895   OLGA          AGUILAR                      OK     90010958319
5624B83545B399   HEATHER       MCNAMEE                      OR     44572708354
56251A57257157   ROSICELA      LOVO                         VA     90009560572
5625226A472B43   ERIKA         ALCANTAR PETTY               CO     33043742604
5625274414B588   DARRICK       NEWBY                        OK     90003377441
5625276945B399   FRANCISCO     CLAROS                       OR     44572637694
5625311685B531   DALIA         GRANADOS                     NM     90014401168
56253182A57157   ABDOU         NJOYA                        VA     90011691820
5625332A161965   JOSE          CAMILNGA                     CA     46096123201
5625352A372B36   ALEJANDRO     MUNOZ                        CO     90002215203
5625412A65758B   DAVID         ANAYA                        NM     90012471206
5625427137B46B   VICTOR        CORTEZ                       NC     11091392713
56254865272B38   YOELVIS       OROSCO-GONZALEZ              CO     90014408652
5625511A45B271   WANITA        GREVIOUS                     KY     90004231104
5625587565B236   BIANCA        CRUMPTON                     KY     90011238756
56256156A61965   MANUEL        GARCIA                       CA     90015011560
56256229857B81   DAWN          ACE                          PA     90015372298
5625746A433645   KENNETH       BURNETT                      NC     12082654604
56258933576B4B   KEVIN         PATE                         CA     90011509335
5625B99132B27B   BOSTON        BEATTY                       DC     90002309913
5626129625B531   JONATHAN      FIGUEROA                     NM     90012642962
56261419572B36   FRANKIE       VARGAS                       CO     33006544195
56262365A72B36   FERNANDO      SANCHEZ-PEREZ                CO     90014293650
5626238A591587   ABEL          AGUILAR                      TX     90011803805
5626285295758B   HARBEY        LOPEZ                        NM     90013188529
562634A285B387   MANERVA       CAMPOS                       OR     90005264028
56263783A5715B   ALBA          ANDRADE REYES                VA     90006897830
562639A425758B   ESTELLA       GONZALES                     NM     90010349042
56264A3A255997   LUZ           ZEPEDA                       CA     49096580302
5626582422B345   FRANCISCA     HERRERA                      CT     90013838242
562658A1655939   VIRGINIA      CENTENO                      CA     90015108016
5626614897B46B   BRANDON       BATTS                        NC     90013981489
56266411772B67   SALVADOR      REYNA                        CO     90008044117
56266665172B38   ALEJANDRO     VILLANUEBA                   CO     33066386651
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 98 of 2350


56266A34161971   RONALD         WALTER                      CA     46085350341
56266A6995758B   SHAWNA         GUERRA                      NM     90007570699
5626726A285928   NDAYISHIMIYE   JEANNE                      KY     90013912602
5626775254B588   MYRESHA        PATTERSON                   OK     90011457525
5626777184B588   JOYLICIA       HILL                        OK     90011017718
5626786995599B   JENNIFER       WEBER                       CA     90011098699
5626822464B588   CECILIO        VILLAFANA                   OK     90013502246
5626835528B53B   ELSY           CISNEROS                    CA     90014013552
5626856A372B43   NATASHA        GARCIA                      CO     90015485603
56268A51472B36   FRANKIE        MARTINEZ                    CO     90014330514
56269A84291895   RICKY          OBERLENDER                  OK     90014540842
5626B492472B49   SARA           ESTES                       CO     33086574924
5626B657872B67   DOMINIC        STAPLES                     CO     33047056578
5626B87395B531   RODNEY         FERRELL                     NM     90006378739
5626B93944B28B   ANGELA         PRINDLE                     NE     90007319394
5626B96355B543   YAZMIN         CHAVEZ                      NM     35030939635
5627122648597B   BRYAN          SANDERFER                   KY     90013652264
5627154855758B   JORGE          GONZALEZ                    NM     90013065485
56271559A72B43   EDUARDO        BARRIOS-PACHECO             CO     33061125590
5627166345B399   WHITNEY        RODRIGUEZ                   OR     90014536634
56271A8375593B   YOLANDA        SANDOVAL                    CA     90013920837
5627239455758B   OSCAR          TARANGO                     NM     90009223945
56272416A55939   FABIOLA        CORTES                      CA     90011194160
56272A8375593B   YOLANDA        SANDOVAL                    CA     90013920837
56273111A7B46B   MIRANDA        SMITH                       NC     90004211110
5627315455758B   PETER          SMITH                       NM     90015171545
5627364AA72442   AUDREY         HOLLAND                     PA     90000976400
56273A56355939   SPIRIT         MEJIA                       CA     90014250563
5627437347B46B   ALANA          NEAL                        NC     90014723734
5627476197B46B   MARQUIS        CLARK                       NC     11065497619
562749A6391895   YZTEKA         HARJO                       OK     90011079063
5627515975B399   AHMIRO         WILLONGBY                   OR     90012111597
562752A355B399   AHMIRO         WILLONGBY                   OR     90014192035
562759A2472B36   CONSTANCE      BURKS                       CO     33073629024
562768A217B394   LIMBERT        ZEBALLOS                    VA     81058558021
56276974972B27   ADRAIN         IBARRA                      CO     90012619749
56277297A2B27B   SYLVESTER      NIBLET                      DC     90014412970
562774A785B387   BETSY          PEREZ                       OR     90014664078
562778A217B394   LIMBERT        ZEBALLOS                    VA     81058558021
5627873497B491   CATHY          ROSS                        NC     11043167349
5627876A42B851   CARMEN         MARTINEZ                    ID     90013577604
5627897127B46B   TYLER          KELLER                      NC     90013489712
56278A97976B84   MARISELA       TORRES                      CA     90008720979
562791A975B399   WILLIAM        ANDERSON                    OR     90013771097
5627926A991895   MELVIN         MONDAY                      OK     90010132609
56279296972B67   ARISBETH       NAVA                        CO     90007472969
5627977894B588   CHRISTINA      EMBERSON                    OK     90011017789
5627B35634B521   CARLOS         OBANDO                      OK     21541983563
5627B717172B49   JACOB          SERRANO                     CO     33016437171
5627B86A772B36   KYLE           JARRATT                     CO     33024888607
5628138645758B   DAN            HERRERA                     NM     35521013864
562813A277B46B   JOSE           ARAMIL                      NC     90000663027
56281416472B67   PEDRO          QUINTERO                    CO     90007284164
5628152355715B   JOSH           MORRIS                      VA     90013305235
562822A5691587   HECTOR         RUIZ                        TX     75051902056
5628263A555997   JOSUE          RODRIGUEZ                   CA     90003336305
56282A79672B49   AMADO          PASCUAL HERNANDEZ           CO     33080710796
56283158A51348   ALVIN          USHRY                       OH     90015031580
562831A3A5758B   EVELINA        GOMEZ                       NM     35506521030
5628383A472B38   CASANDRA       RODRIGUEZ                   CO     90012168304
5628416594B588   LETICIA        NELSON                      OK     90013851659
5628437665754B   GREGORIO       ESPARZA                     NM     35558573766
5628439975B538   OLIVIA         DOMINGUEZ                   NM     90009643997
562846A9861971   LUIS           ALVERADO                    CA     46016036098
56284729772B23   MARY           WEST                        CO     90007477297
56284812A72B25   OLIVIA         EVANS                       CO     90007408120
5628482125B399   SUSAN          SCOTT                       OR     90002298212
56284862A7B46B   CARLA          RAGIN                       NC     90010318620
56284A35255997   HENRY          RODRIGUEZ                   CA     49098620352
5628553375B357   FANTASIA       DERR                        OR     90010645337
5628599A372B36   LUIS           MONCADA                     CO     33061959903
56287919272B36   LOURDES        BALTAZAR                    CO     90011459192
56287A13185928   NARKITA        MITCHALL                    KY     90010360131
56288652A61971   MILKA          FRIAS                       CA     90011156520
56288A19A5B387   MARIO          RAMOS                       OR     90014780190
     Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 99 of 2350


5628972367B461   TIBURCIO      VENTURA                      NC     90010677236
562899A7172B49   PAIGE         BUTKUS                       CO     90003299071
56291324672B38   CHARLES       ANTHONY LEWIS                CO     90011223246
56291794272B43   BECKY         MARTINEZ                     CO     90013377942
56292214372B43   OLGA          RIVERA                       CO     33033092143
5629225834B567   CRYSTAL       AUSTIN                       OK     90010602583
56292A31751348   ANTHONY       DENNEY                       OH     90015380317
5629327765B531   VERONICA      GRADO                        NM     35014852776
56293782A4B588   ROBERTO       TORRES                       OK     90011457820
56294174172B43   HUGO RENE     ARANA-SANDOVAL               CO     90013501741
5629468472B27B   NADEAN        TALLEY                       DC     90012846847
56294AA9A72442   CHET          MILLER                       PA     90012550090
56295129172B43   STEPHANIE     BRUNSON                      CO     90013481291
56295262572B49   ALEJANDRO     RAMIREZ                      CO     33074142625
5629554545B271   STARLA        GREEN                        KY     90002955454
5629576825758B   GLADYS        RODRIGUEZ-VILLA              NM     35597787682
56295A37557157   ABMED         ISMAEL                       VA     90006980375
56296426272B36   BIANCA        LUNETTA                      CO     90014324262
562968A995758B   MELBA         HERRERA                      NM     90015318099
5629781515B236   JAMES         CONNOR                       KY     68025468151
5629962176194B   GWENDA        BLUM                         CA     90008166217
562B1393172B36   NORA          VEGA                         CO     90004873931
562B1534972B88   GUADALUPE     LAYNES                       CO     33016895349
562B2232451348   EMILY         SORRELL                      OH     90006872324
562B2244761971   TED           APOSTOLIDIS                  CA     90010742447
562B2349931428   LATRICE       HARRIS                       MO     27543223499
562B278A155997   JOSE L        ZAMORA                       CA     90011877801
562B2A38333699   CARLOS        RENTERIO                     NC     90003800383
562B336A357157   DONALD        DORSEY                       VA     81009933603
562B3419655997   SERGIO        MOJICA                       CA     90013794196
562B3784172B38   SHATASHA      HONEGGER                     CO     90010537841
562B3946A61965   JESUS         GROVES                       CA     90001059460
562B4154685928   LENCOLA       GROVES                       KY     90014171546
562B4182972B36   JOHNNY        MUNSON                       CO     90012521829
562B4248255997   CLEOFAS       RODRIGUEZ                    CA     90014912482
562B4395951348   CHAD          HENDERSON                    OH     90014933959
562B4413372B38   AGUSTIN       NDRADE                       CO     90012534133
562B5159A72B43   MELISSA       WACHOLTZ                     CO     33073351590
562B553382B27B   EDWARD        SMITH                        DC     81003955338
562B5687372442   JANICE        COTTON                       PA     90014786873
562B5791572B25   KYERSTIN      SHARPLESS                    CO     90012647915
562B5A57372442   SAMATHA       HARDEN                       PA     90014760573
562B6913172B49   ELMER         TRUJILLO                     CO     90013929131
562B724252B27B   LINDA         TOMPKINS                     DC     90007522425
562B7398733696   VICKYE        WOODS                        NC     12058063987
562B8861633699   LATRONE       WILLIAMS                     NC     90010238616
562B8A5455B399   BRIAN         JONES                        OR     90015050545
562B9113791895   MICHELLE      HECK                         OK     21094531137
562B9591A33665   SAMUEL        CURETON                      NC     90001045910
562B9794757148   DALILA        MONTERROSA                   VA     90005967947
562B981A885928   SHAQUANNA     RATLIFF                      KY     90012398108
562B9A1AA5B93B   VICTOR        LARA                         WA     90015430100
562BB829872B38   JONATHAN      CLEMONS                      CO     33065158298
562BB883372B67   ROSALES       CHRIS                        CO     90008088833
56311145A91895   OSCAR         MARTINEZ                     OK     90013781450
56311262A61971   INGRID        GARCIA                       CA     90013942620
56311397A61971   INGRID        GARCIA                       CA     90013753970
56311478A5B399   EVA           AVINA                        OR     90014874780
5631162445B241   REBECCA       PIKE                         KY     90007746244
5631163497B46B   SANDRA        MARQUEZ                      NC     90000676349
5631223A833699   AMANDA        HENDRICK                     NC     90014012308
5631246765715B   PATRICIA      ANTON                        VA     81010584676
56312641472B38   FABIAN        SILVA                        CO     33095966414
5631278364B588   SHAMILLAH     RAHEEM                       OK     90011457836
56312936A72B36   MICAELA       MONCADA                      CO     90014929360
563129A125B387   PATTY         BRYANT                       OR     90011029012
56312A8377B46B   MARCUS        COLLINS                      NC     90005830837
5631331472B27B   JOSE          TORRES ORDONEZ               DC     90015093147
5631333255B531   NEREIDA       VENEGAS                      NM     35090423325
5631383865B399   TRAVIS        BUNCH                        OR     90009348386
56314334A91332   PABLO         PEREZ                        KS     90014763340
56315212172B25   PETRA         SAUCEDO                      CO     90001082121
5631582A85B399   JEANNE        RAMSEY                       OR     44512008208
56316A38985928   NIKKI         CAUDILL                      KY     90013920389
56317534172B49   JANE          HALL                         CO     90007685341
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 100 of 2350


56317912644B85   JANICE         DYER                       OH     90011059126
56317A4195715B   WILLIE         FELIX                      VA     90014020419
56318996772B38   JANET          QUIGLEY                    CO     90011849967
56318AA3A55997   ROSA           MERINO                     CA     90013100030
5631937A972B27   BRAD           ARELLANO                   CO     33095413709
5631984444B588   PAUL           GARCIA                     OK     90013228444
563199A632B27B   ALBA           MENDOZA SANTOS             DC     90014449063
56319A22187222   SHELLY         HARTWICK                   IL     90015210221
5631B24624B521   JERRY          WALKER                     OK     90004672462
5631B31745B399   ASHLEY         LINDSTEN                   OR     90014363174
5631B43735598B   BERTHA         GONZALEZ                   CA     90008844373
5631B849861965   CRISTINA       RAMIREZ                    CA     90009678498
5631B936233699   PATRICIA       GONZALEZ                   NC     12046229362
5632249A15B531   LADONNA        SIAR                       NM     90014834901
5632297552B27B   TYKIA          BOLLER                     DC     81016029755
56323133272B31   DANIEL         YANEZ                      CO     90011141332
56323412A72B27   RAYMOND        REYES                      CO     90014704120
56323668924B7B   KAYLA          MCDUFFIE                   DC     90015126689
5632455215715B   ANTONIO        HARRIS                     VA     90014885521
56324A18972B36   JUDY           KONRAD                     CO     90012690189
563251A4A57157   TAMARA         GREEN                      VA     81094791040
5632558615758B   LETICIA        MORENO                     NM     90013935861
5632579775758B   CHEYENNE       GALE                       NM     90010017977
5632584AA5B387   CATHERINE      CLARY                      OR     44544268400
5632623AA33699   CHRISTAN       ROBINSON                   NC     90010202300
56326471572B49   ALEXIS         POTTER                     CO     90011504715
5632669A52B27B   SHAUNTAE       MILLER                     DC     90012846905
56326729A86545   KRISTIN        MILES                      TN     90015457290
5632787224B588   EDGAR          MERAZ                      OK     90008338722
5632791A75B531   JANNETTE       GONZALES                   NM     35043809107
56327A6615B399   SARAH          WILLIAMSON                 OR     90012980661
5632814A254B45   MARIA ISABEL   CORDOBA HERNANDEZ          VA     90013541402
5632826692B92B   JESUS          FUENTES                    CA     90011782669
5632929315758B   DIANE          GALLEGOS                   NM     90000732931
56329378772B27   KARLA          GAYTAN                     CO     90011393787
5632B4A275758B   DAVID          CRUZ                       NM     90008244027
5632B649172B38   JOSE           NAVARRO                    CO     33037746491
5632BA4296194B   SHERESIA       WEST                       CA     46028740429
56331814672B38   CHAVEZ         CHRIS                      CO     90007918146
56332535A31428   KENNETH        BLACKMON                   MO     90010505350
563328A875B387   SHERREE        STREETER                   OR     90009748087
56333218272B36   FRANSISCA      HARO                       CO     90000892182
5633341A133699   TAMMY          EDWARDS                    NC     12075754101
56333469972B38   CRISTINA       ROMERO                     CO     90000854699
56334177476B85   OLIVERIO       ESCOBEDO-RUBIO             CA     46047071774
563348AA55B531   SHAQUILLE      MARTINE                    NM     90011008005
5633529A25758B   JESUS          CERNA                      NM     90012512902
5633567917B46B   TARRAH         MASSEY                     NC     11064826791
5633576852B27B   ADRIENNE       LANE                       DC     90014757685
56335843A55997   GABRIEL        GONZALEZ                   CA     90012548430
5633679A472B38   BRITTANY       HORTON                     CO     90012917904
5633695185B236   DANIELLE       GRYDEN                     KY     90011239518
56337A93961971   ALFREDO        SEPULVEDA                  CA     90013650939
56338398572B36   ROSY           GABRIEL-LOCIA              CO     33052263985
563383A3572B49   BRAD           CURTIS                     CO     33069113035
5633891522B27B   TOSHA          WHITING                    DC     90013769152
56338A69155939   LISA           MONTGOMERY                 CA     49082690691
563392A5A4B521   JARED          WEIGANE                    OK     21516042050
5633B12917B46B   DANIEL         THONGBOR                   NC     90012341291
5633B18385B399   JESUS          MARTINEZ                   OR     90010671838
5633B511331428   TEERA          JACOBS                     MO     90008355113
5633B838331429   KEISHA         KOLE                       MO     90007988383
5633BA4A55B387   DAVID          KNEDLER                    OR     90014560405
563412A1361971   CLAYTON        TAYLOR                     CA     90000182013
563415A7491587   BIANCA         SANCHEZ                    TX     90013125074
5634182525B387   JORGE          CONTRERAS                  OR     90011388252
5634211A451348   JESSICA        MALOTT                     OH     90014011104
56342A29A4B588   TAMMY          STEVENSON                  OK     21503020290
5634312A55B579   GABRIELA       PONCE                      NM     90012411205
56343381272B38   CHRISTINE      SENA                       CO     33078473812
563438A7A7B46B   PEGGY          SAMUELS                    NC     11001388070
56343A84291895   RICKY          OBERLENDER                 OK     90014540842
5634535775758B   SAVANNAH       GONZALES                   NM     90013673577
5634591AA91587   JAMES          AHUMADA                    TX     90013159100
5634622488B837   JOSEPH         VALENTE                    HI     90015102248
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 101 of 2350


56346632472B49   RICHARD      WEST                         CO     90010326324
563466A815B236   KELLEE       CURRY                        KY     68003116081
56346873A72B38   SUSANA       ROMERO-RIOS                  CO     33096658730
56346A8775B387   CLAUDIA      ALVAREZ                      OR     44569550877
56346A9265B399   PRISCILLA    CLARK                        OR     90013320926
5634735975758B   JORGE        QUEZADA                      NM     90014193597
56347A58372442   BRIAN        GRADY                        PA     51065580583
5634872334B536   MICHAEL      CLINE                        OK     90009647233
56348A7AA72B36   ROSA         VALDERAS                     CO     90006590700
563493AA297B21   KATHRYN      TACKETT                      CO     90001493002
5634997364B588   KATHRYN      MILTON                       OK     21567709736
5634B21275715B   OMAR         NARANJO                      VA     90015192127
5634B28A141224   MICHELE      BATCH                        PA     90001292801
5634B29677B47B   ADONIS       ESPINOZA                     NC     90011312967
5634B298138522   KATTERYNE    SANCHEZ                      UT     90010482981
5634B993455997   ANGEL        JONES                        CA     90011979934
563511A9331431   TIA          BLISSIT                      MO     27595451093
563515A4A55939   LEON         BREAZELL                     CA     90013235040
56351867472B36   LUEVANO      RUDY                         CO     90011158674
56352412527B3B   LATISHA      CLARK                        KY     90006704125
56352526472B49   KEITH        PERRY                        CO     90012345264
5635269634B521   SHARON       QUINN                        OK     90005886963
56352862572B49   MIGUEL       SALAZAR                      CO     90014728625
5635319A457157   NELSON       ROBLES                       VA     90010291904
5635323A65B399   ERICK        MONTGOMERY                   OR     90014812306
56353651A7B491   KRYSTAL      GILFILLAN                    NC     90005856510
563539A615B129   L            CROSS                        AR     23024709061
56355455972B27   PATTI        SMITH                        CO     90013114559
563556A7972B43   LACI         BARCLAY                      CO     90014726079
563561AA857128   ERICK        MEIJA                        VA     90014951008
5635765925B283   THEODORE     HOBBS                        KY     68024936592
5635779715B561   GABRIELA     LUJAN                        NM     90011617971
5635798A155997   ELIAS        GRANADO                      CA     90001299801
56358542A72B38   WILLIAM      SANTOS                       CO     90013485420
56358616372B36   MONICA       GARCIA                       CO     90008896163
563586A1361971   OSCAR        CAVENDER                     CA     90006426013
563593A795758B   RENE         RIOS                         NM     90013603079
5635977315B543   JESSE        SANCHEZ                      NM     35028267731
5635983412B27B   AZIZ         WHEALTON                     DC     90012848341
563598A644B588   ANGEL        VIZUETH                      OK     90013098064
56359A58861965   ANTHONY      ROMERO                       CA     46049270588
5635B42A161971   DEREK        WILLIAMS                     CA     90010944201
5635B539572B27   JOSE         SANTOS                       CO     33080085395
5635BA65555997   KEVIN        HILLARD                      CA     90012790655
56361116272B43   JESSE        STEVENS                      CO     33013301162
56361893A57157   SANDRO       ROSOTO                       VA     90014788930
5636245985B271   RONALD       WOLFE                        KY     68094804598
5636273137B372   ALI          HAMDAN                       VA     90002007313
5636314824B546   WILLIAM      LANIGAN                      OK     90008391482
5636318282B27B   AJANAI       SHENITA                      DC     90013741828
563634A373B389   CLAUDIA      RIVAS                        CO     90001684037
56365239272B36   LUCAS        GLEDHILL                     CO     90009552392
563658A5972B38   ARELI        VELASCO                      CO     90013548059
56365A1374B588   TIMOTHY      BOHN                         OK     90013460137
56365A1A772B27   SELETA       HILL                         CO     90015240107
563663A6971935   TONYA        BROWN                        CO     90008643069
5636658865B543   JACOB        SEDILLO                      NM     35088565886
56367955872B27   LAURA        CARTY                        CO     33090919558
56367A38972B43   RICHELE      GARCIA                       CO     90007820389
56368A64491587   RICARDO      ESQUIVEL REYES               TX     90011940644
5636919367B46B   REBECCA      VASQUEZ                      NC     90010291936
5636935A62B27B   SEAN         WEST                         DC     81036883506
5636942A372B36   CRISTINA     HERNANDEZ                    CO     33091504203
5636989235715B   YON          BALDELOMAR                   VA     90004228923
5636B117972B67   JASON        ISENHART                     CO     90011141179
5636B2A4872B43   ROGELIO      PICAZO LOZANO                CO     90013052048
5636B325272442   ANN          RUNKLES                      PA     51098963252
5636B65724B28B   CHRISTINE    JOHNSON                      NE     26092526572
5637161565758B   MARIA        RAMIREZ                      NM     35571526156
56372854472B67   CHANNING     WILLIAMS                     CO     90008608544
5637311747B491   EUNICE       BROOKS                       NC     11029431174
5637374865B271   JANELLE      GULLEY                       KY     90002317486
5637455614B588   SHAWN        ROBBINS                      OK     90012875561
5637494117B46B   SANDRA       HARRIS                       NC     11089929411
56375218272B36   FRANSISCA    HARO                         CO     90000892182
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 102 of 2350


5637565215758B   ROCIO            MEDINA                   NM     90009076521
5637584865B236   KAYLA            TIMMERING                KY     68047168486
56375974472B36   MARTHA           FERNANDEZ                CO     90012589744
5637628644B588   SHANTAY          LITTLESUN                OK     90014092864
56376469472B43   JESSICA          MARTINEZ                 CO     90004864694
5637665285B387   JORGE            FLORES                   OR     90013376528
56376755972B67   PABLO            FONT                     CO     90010597559
5637684A151348   JAMES            SMITH                    OH     90011108401
5637698968B189   ROBERT           SIMS                     UT     90014589896
563775A6672B27   JAIR             RUBIO                    CO     33053735066
563778A763B387   DALILA           QUINTINO                 CO     33005278076
56377A8A472B67   ISRAEL           MILLAN-OLIVAN            CO     33065860804
5637828225715B   MARCIO           MORALES                  VA     90015142822
563786A9A72B38   ESAU             GARCIA                   CO     90004456090
56378883372B27   MIRIAM           BLANCO                   CO     90011278833
5637889895B399   LEEANN CANDICE   SMITH                    OR     90013448989
56379879172B36   OMAR             SANCHEZ                  CO     90011158791
5637B141555997   SUZANNE          MONTOYA                  CA     49014471415
5637B1A5285928   JAMES            MORRISON                 KY     67030131052
5637B718785941   MORGAN           BARNS                    KY     90008977187
5638119465758B   NORMA            HERNANDEZ                NM     90014571946
5638169465B399   ROBIN            LEISURE                  OR     90011696946
5638195734B29B   LISA             HUMPHRUY                 NE     90010199573
5638279127B46B   ANTHONY          MCCULLOUGH               NC     90014647912
56383244A5B399   KRYSTAL          HEARD                    OR     90009852440
5638326648B142   FAITH            SALAZ                    UT     90009472664
5638352634B936   CHELSEA          HENNING                  TX     90010785263
5638368895B387   CALLIE           KLINE                    OR     44569566889
5638376115B283   RIGOBERTO        LORENZO                  KY     90001147611
563862A193B352   CARLOS           ZASUETA                  CO     90003582019
56386595272B38   RALPH            LOPEZ                    CO     90011885952
56386843172B27   BRIDGES          TRAVIS                   CO     33078698431
56387A76472B49   TERESA           BENTZ                    CO     33097040764
56388129472B67   MIKHAIL          MAKSIMOV                 CO     33044811294
5638866965715B   MILAGRO          HERNANDEZ                VA     90000186696
5638917374B588   ROBERT           JOHNSON                  OK     21558061737
5638954AA61933   MARIALUCIA       CUNHA TOLENTINO          CA     46082765400
56389944772B67   MARIA            RAMIREZ                  CO     90011559447
56389A32857157   JORGE            FLORERO                  VA     90013020328
5638B34A94B28B   TERRANCE         WRIGHT                   NE     90011883409
5638B473885928   BRIAN            MCKINNEY                 KY     67000794738
5638B59A372B67   MICHAEL          OZAWALD                  CO     90008295903
5638B5A4161965   STEPHEN          LOPEZ                    CA     90014835041
5638B616831428   JAYALAKSHMI      ARIVANANDAN              MO     90010506168
5638B618857157   FORDAY           MABAILEY                 VA     90006176188
5638BA32872B49   DESIREE          BLEA                     CO     90010050328
5638BA53372B88   YAA              RICE                     CO     90003650533
5639147992B27B   EBONY            GODDARD                  DC     90011354799
56393278372B38   JULIAN           GARFIO                   CO     33081582783
563938A1A4B588   SHERRY           KOVACH                   OK     90011458010
563938A685715B   JOSE             SORTO                    VA     81046768068
56394445572B38   ROMAN            ORTIZ                    CO     90009404455
56394611972B36   JANALEE          SANTOYO                  CO     90014016119
5639474342B27B   CALVIN           KYLE                     DC     90012847434
56394A49485928   ESSANCE          COLLINS                  KY     90012280494
56395998A85928   STEPHANE         MOKOBAN                  KY     90013699980
56395A38372B67   JESSICA          ROSADO                   CO     90011580383
5639626685758B   MARY             ERSINGHAUS               NM     90014992668
5639679135B531   ERICK            HERRERA                  NM     90005927913
5639681557B491   GRACIELA         FLORES                   NC     90012128155
563968A1272B88   DAVID            RAZEY                    CO     90009998012
56397221772B38   DANIEL           ROGO                     CO     90015032217
56397335172B43   TERESA           GUADALUPE VILLA JACOBO   CO     90014153351
563973A355B399   DELONDA          CANTON                   OR     90013673035
5639817115715B   MERILDA          GARCIA                   VA     90014901711
5639859355593B   JOHNATHEN        PENA                     CA     90014705935
56398681672B36   RANDY            DEMOTTE                  CO     33095256816
5639879375B236   JAVIER           VILLAOLOBOS              KY     90003217937
5639893424B588   NORA             ESCALERA                 OK     90003379342
5639957A372B36   CARLOS           LOPEZ                    CO     90012415703
5639B355891895   ISABEL           MARTINEZ                 OK     90009423558
5639B6A1685928   CARLOS           VIZCAINO                 KY     90000796016
5639B7A285B531   JEREMY           SERNA                    NM     90013137028
563B1483572442   CARISSA          HOWARD                   PA     90009024835
563B168665758B   STACEY           REDDING                  NM     35509436866
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 103 of 2350


563B1A92372B36   REGINA       GROPP                        CO     33081080923
563B223915B387   SONORA       WILSON                       OR     90014802391
563B287745B236   DAVID        HOWARD                       KY     90005378774
563B341634B29B   REBECCA      RIDGE                        NE     90006224163
563B3668438522   JESSICA      PEHRSON                      UT     90011866684
563B4283157157   STEFANI      MASON                        VA     90014152831
563B4996933699   NARISHA      PAUL                         NC     90011869969
563B5523372B42   JANE         HAWKINS                      CO     90009865233
563B577112B27B   GENAI        JOHNSON                      DC     90007787711
563B6161731429   ENZA         ZITO                         MO     27507951617
563B6881855939   ARTURO       VASQUEZ                      CA     90009438818
563B6A51491895   JAMIE        KOENIG                       OK     90002720514
563B7124651348   LEEANN       BROWN                        OH     90012091246
563B8212272B36   KATHERINE    WALKER                       CO     33078892122
563B9321991895   SOPHIA       DAVIS                        OK     21064563219
563BB5A3372B36   KATHY        LOCKRIDGE                    CO     33046155033
563BB872991587   TANIA        GUTIERREZ                    TX     90011348729
56411812A7B477   ARTAVIA      DCIYE                        NC     90008838120
56411975172B88   MARK         BRIGHT                       CO     33016769751
5641281235B387   MILT         SCHILL                       OR     44546528123
56413958572B31   MARIA        GOMEZ                        CO     90003049585
56413A32561971   GABRIELA     AGUILAR                      CA     90014190325
56414473A72B36   ROBERT       HARMANN                      CO     90007884730
5641471374B29B   DION         WILLIAMS                     NE     90007397137
5641516955715B   HELA         JIMENEZ                      VA     90014001695
56416117172B36   JONATHAN     ROTH                         CO     33047681171
5641612785B387   MARIA        OLMOS VILLEGAS               OR     90000281278
56416159A85928   ALMOND       WALKER                       KY     90004901590
564162A6A57157   RICHIE       LARSON                       VA     81063992060
564168A6572442   KATHY        DOWNS                        PA     51000438065
56417458472B38   NYSSAMARIE   MENDOZA                      CO     90004104584
56417A25361965   KIRK         ALEXANDER                    CA     90003170253
56418263972B36   DESIREE      SAUNAR                       CO     33092522639
56418389172B38   EVELIO       ESCOBAR CANEZA               CO     33097383891
5641894244B588   JAMES        CHITMAN                      OK     90012239424
5641B38A772B36   NICOLE       VALDEZ                       CO     33069623807
5641B744A61971   RAY          HARDISTY                     CA     90012887440
5641BA25361965   KIRK         ALEXANDER                    CA     90003170253
56421418472B32   JUAN         BARRIOS                      CO     90009014184
56421654472B27   JOSEPH       ELIUD                        CO     90013626544
564216A2961971   RICHARDSON   JANESSA                      CA     46044526029
5642192655B399   SETH         YELLOTT                      OR     90014819265
5642192914B588   JAMES        ERWIN                        OK     90011019291
56422382A72B36   MELISSA      MORGAN                       CO     90004873820
564224A6755997   CHARLES      MCDOWELL                     CA     90013414067
564227A9191895   MYESHA       POPE                         OK     90009057091
564234AA35B387   SHANNON      HENRY                        OR     90013084003
56423A1335715B   PEDRO        ENROQUES                     VA     90008670133
5642468A261971   CANDIDO      MARAGON                      CA     46065806802
5642486784B29B   LADY         WILSON                       NE     27000228678
5642491A25B531   ANAHI        FLORES-SOTO                  NM     90010079102
5642571915B399   VILMA        VILLALOBOS                   OR     44553537191
564258A765B387   GRISELDA     PEREZ-OLMOS                  OR     90005098076
56425912772B27   MARICEL      PADILA                       CO     33036309127
56425A27A61965   JODI         VARGASON                     CA     90003170270
5642678612B27B   VICTOR       TOLER                        MD     90005467861
5642719335B399   FADUMO       NUR                          OR     90012651933
5642723752B27B   TAPHNE       HITCHCOCK                    DC     90009402375
5642759A257157   DAILA        LAVANDEROS                   VA     90011705902
56428165472B49   LUCILLE      QUINTINO                     CO     90002401654
56428A4525758B   JUAN         CONSTANTE                    NM     90014650452
56429137A97123   DENISE       SPURGEON                     OR     90004541370
5642951295B399   GABRIEL      SIU                          OR     90006425129
5642961615B283   DEBIRA       FIRMAN                       KY     90000986161
56429A6665758B   HAYDEE       FRANCO                       NM     35532650666
56429AA735B531   JORGE        RIOS                         NM     90003090073
5642B415A72B49   DAVONNE      VIGIL                        CO     90014554150
5642B51A25758B   BELINDA      CORBIN                       NM     90008855102
5643151A761971   HUSAM        YAQOOB                       CA     90012735107
564325A517B46B   CONSUELO     PENA                         NC     90013175051
56432A54791534   RAQUEL       ALLARD                       TX     90013830547
56432AAA172B88   ELIJIO       JOHNSTON                     CO     33073180001
56433572472B36   GEANESIA     HINTON                       CO     90014105724
564336AA561965   DOMINIC      DIBERNARDO                   CA     90010556005
56434347572B27   JENNIFER     VIGIL                        CO     90010143475
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 104 of 2350


56434348627B3B   DARREN          WITTENBURG                KY     90011673486
5643446965B236   DAVID           BROWN                     KY     68003124696
564345A367192B   JESUSITA        PACHECO                   CO     90004015036
56435859A91895   LAROY           DICKSON                   OK     90014728590
56436A39555997   JESSICA         PIMENTEL                  CA     90001390395
5643742A872B38   LAURA           GONZALES                  CO     90007444208
5643765957B46B   LEITHA          WILLIAMS                  NC     90014056595
56437912772B49   ANDREW          ORNDORFF                  CO     90011169127
56438643A21696   TERRENCE        KING                      OH     90015376430
56438884A4B588   ISABEL          GIRON                     OK     90008288840
56438A39351348   KEITH           SIZEMORE                  OH     90010190393
5643923455715B   SINDY           GRACIAS                   VA     90002952345
5643988935758B   MARLON          FRIAS                     NM     90008388893
56439A88451348   CARLO           MONTARVO                  OH     90012610884
5644137865B236   MARY            BRYANT                    KY     68003063786
56441A57785928   DONNA           BOND                      KY     67092670577
5644233935B399   MARQUISE        GREEN                     OR     90014893393
56443145772B43   JASON           SIMMONS                   CO     90012491457
56443582A72B98   MARTIN          SMITH                     CO     33088555820
5644364315B283   KIMBERLY        BALDWIN                   KY     68007276431
56443655872B38   JORGE           VAZQUEZRIOS               CO     33076756558
56443724A55939   ANA             COMPRERAS                 CA     90010767240
5644376572B27B   KINA            KERRY                     DC     90012847657
564442A7233696   KENECIA         JOHNSON                   NC     90002742072
5644481125758B   ZINNIA          GRANILLO                  NM     90005868112
5644537925B399   MANUEL DE       ROBLES-HERNANDEZ          OR     44520023792
5644549727B46B   DOMANEEK        MOBLEY                    NC     11001444972
5644551392B27B   DEON            BROWN                     DC     90014275139
5644565A857157   WATSON          SMITH                     VA     90014786508
5644575A585928   ANGELA          HERNANDEZ                 KY     67094097505
56445A15891587   DANIEL          SEGURA                    TX     90004100158
564475A5791587   JADIRA          LUNA                      TX     90014865057
5644846A35B387   KERRY           WESTLING                  OR     90011484603
5644875163B35B   TIDIANI         ANOGO                     CO     90014717516
5644917172B574   DEONTOE         THORINGTON                AL     90010391717
5644943295715B   GABRIEL         COCA                      VA     81009704329
5644945575B399   MARK            ZITNIK                    OR     90003234557
5644976822B27B   DEBORAH         CAMPBELL                  DC     90012847682
5644B437661971   CAMERON         ADAMS                     CA     90011094376
5644B556272B36   AIDIL           SERNA                     CO     90002435562
5644B9A444B588   ALMA            SIERRA                    OK     90012169044
5645113925B399   KRISTOHER       MCCUEN                    OR     90013771392
56451454372B38   IRENE           BEREST                    CO     90013504543
5645161634B588   KEVIN           ALLEN                     OK     90012256163
56452192A2B27B   MARY JANE       MANILA                    VA     81005171920
564531A767B46B   BRIDGETT        HERRING                   NC     90005811076
56453348A72B27   SAMUEL          PARRA                     CO     33095463480
56453877772B38   STELLA          HERNANADEZ                CO     90012788777
56453A2822B27B   LAFAYETT        DAVIS                     DC     90011690282
56453A45751348   JEFF            HEDGES                    OH     66081470457
56455566A91895   LUIS            ARMAS                     OK     90012065660
5645557584B588   ANGELICA        HERNANDEZ                 OK     90014855758
56455A1615B236   NIKISHA         ROBINSON                  KY     68008530161
56456139A5B387   BLANCA          ARROYO                    OR     90002831390
56456452A61965   LORENA          PADILLA                   CA     90010724520
5645665A857157   WATSON          SMITH                     VA     90014786508
56456A93185928   HEATHER         BEGLEY                    KY     90013440931
5645721115B543   CHRISTINA       BOOS                      NM     35087482111
5645795517B46B   ELDA            HERNANDEZ                 NC     90001819551
56457A5535B531   UBALDO          CARAVEO-ESCALANTE         NM     35089050553
56458224924B7B   HELEN           RANDOLPH                  DC     81053852249
56458455272B38   DIANNE          GREGG                     CO     33014224552
56458867A7B46B   FREDA LAVERNE   TYSON WILLIAMS            NC     90007448670
56459147772B43   MONIQUE         ZAMORA                    CO     90015451477
5645952A572B27   JUAN            ZAVALA                    CO     90009725205
56459559972B38   LINDA           ANDERSON                  CO     90002055599
5645986994B588   HERIBERTO       DAVILA                    OK     90011438699
5645B44767B46B   LEJAMES         BLACKMON                  NC     90010884476
5645B496457157   ANA REBECA      ROMERO                    VA     90013644964
5645B9A3955997   RENEE           BROWN                     CA     90013199039
5646162625758B   PATRICK         MOLINA                    NM     90009626262
56461983172B38   ERASMO          LOEZA                     CO     33024519831
56461A33572442   TIMOTHY         MONG                      PA     90001000335
56461A6565B142   EDWINOL         HENLEY                    AR     23003070656
56462212972B49   GUMARO          GUERRERO                  CO     90013582129
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 105 of 2350


5646262245B531   ESTEVAN      GALLEGOS                     NM     35058186224
56462697972B38   MARIAH       MARQUEZ                      CO     90013366979
5646279865B387   BEN          FRANKLIN                     OR     90006667986
56462A7117B46B   CRYSTAL      SPRUILL                      NC     11001490711
56464783A2B27B   JAMES        JOHNSON                      DC     90012847830
5646489435B543   NICOLAS      VASQUEZ                      NM     90004388943
5646496195B387   LESLIE       PRESSEL                      OR     90009479619
56464A86872B38   JESUS        LOPEZ-MORENO                 CO     90012540868
5646526485B387   REYNA        RESENDIZ VEGA                OR     44563972648
5646574354B521   WANDA        PRICE                        OK     90005097435
56466153172B49   ELISE        QUISPE MONTES                CO     33089801531
5646623625B236   COREY        JOHNSON                      KY     90008852362
56466647924B7B   WILBERT      MC ILWAIN                    DC     90013946479
5646692745715B   SURINDER     KAUR                         VA     81083819274
564674AA857157   NICK         HARRITY                      VA     90013154008
56467928A72B49   WANDA        WORTHAM                      CO     33041569280
56468344272B49   NARAD        SANYASI                      CO     90011803442
564683A2785928   KATHLEEN     VERITY                       KY     67027103027
5646846235758B   LILLIAN      CABRERA                      NM     90014514623
56469546972B67   BEATRIZ      ANGELEZ                      CO     90004105469
56469748285B52   HOMERO       FLOWERS                      FL     90014117482
5646B45685715B   JOSE         QUINTEROS                    VA     90011774568
5646B4A644B588   BRITTANY     WONG-ELLIS                   OK     90012014064
5646B52435B531   WILLIAM      BEALL                        NM     35096195243
5646B583772B49   DOMINIQUE    HILL                         CO     90005515837
5646B91A45B543   KIMBERLY     SPERANDEO                    NM     35015879104
56471434472B38   ORLANDO      MARTINEZ                     CO     90012424344
5647163857B46B   JAIRO        LOPEZ                        NC     90014476385
56471756772B38   ALICIA       JIMENEZ                      CO     33040967567
56471857272B49   SERGIO       RAMIREZ                      ID     33084868572
5647217592B27B   RUT          FLORES                       VA     90007481759
56472565172B43   RENE         WHITMORE                     CO     33037865651
5647279A54B521   LAURA        THURSTON                     OK     21569477905
5647288A15B129   ANDREW       NEMETH                       AR     23012888801
56472A8A272B38   RAYMOND      DAY                          CO     90013470802
5647329772B27B   DENA         HEPBURNS                     DC     90007542977
56473A4567B46B   JOHN         GRADY                        NC     90004870456
5647449615715B   JESSENIA     PEREIRA                      VA     90011774961
56475151527B48   DERRIC       SMITH                        KY     90010151515
56475227A2B27B   CARLA        DREW                         DC     90007732270
5647525275B531   FELICIA      ANAYA                        NM     90012192527
5647532485B387   TAMMI        BELL                         OR     44540513248
5647565A857157   WATSON       SMITH                        VA     90014786508
56475761272B43   ROSE         JOSEPHINE TRUJILLO           CO     33053537612
5647581A151348   MEHLEA       ABBOTT                       OH     66035268101
5647725532B27B   GENICE       LYNCH                        DC     90008382553
56477478672B36   DSASDASD     SINGH                        CO     90015014786
564776A6A5B271   MIDIALIS     VALLE                        KY     90005796060
564777A1791587   BRUCE        SHELDON                      TX     90004447017
56477829172B88   RAMIRO       FLORES                       CO     33079608291
5647838718B341   CARL         RUFF                         NC     90006843871
5647869A94B588   BENARDO      MARTINEZ                     OK     90014816909
56479495172B43   RAUL         VENZOR                       CO     33046764951
5647949922B27B   RACHELLE     THOMPSON                     DC     90005314992
5647B42285B387   JOANNA       DANMYER                      OR     44546364228
5647B45A372B49   TAIRA        HALL                         CO     90013294503
5647B82A231429   DANIELLE     REID                         MO     90005508202
5648139A355997   FILADELFO    VASQUEZ                      CA     49052113903
56481461A55939   DELIA        RUELLAS                      CA     90014694610
564814A7661971   YVONEE       PROANO                       CA     90014654076
564817A845715B   LINDA        POWELL                       VA     90013297084
5648186AA85928   YULIANA      SANTILLANES                  KY     90013938600
56482237772B36   ANTHONY      ROBINSON                     CO     90010362377
564824A665B543   JOLEANA      PARMENTIER_LUJAN             NM     35088584066
564839A2572B36   KASANDRA     LO                           CO     90011159025
56484452298B47   RUBY         ANTONER                      NC     90013874522
5648458A95758B   IRENE        MALDONADO                    NM     90013935809
5648545A755997   MARIA        UCABELLERO                   CA     90014814507
56485598A86545   DEBRA        PALMER                       TN     90015585980
56485652A91895   MACKENZIE    PARKER                       OK     90012906520
56486113472B67   CARL         GARCIA                       CO     90011141134
5648628AA51348   MICHAEL      SCHNOOR                      OH     90014972800
5648634825B531   ALAN         FRANKLIN                     NM     35046043482
5648644765715B   ELIGIO       DUARTE                       VA     90012094476
564864A5372B49   GABRIEL      CRUZ                         CO     90011004053
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 106 of 2350


5648652855B399   CHRISTOPHER     GOULD                     OR     90012185285
5648687A92B567   MIKA            BLIKE                     AL     90015208709
5648752635758B   NELLIE          GONZALES                  NM     90014385263
5648754765B387   MARCUS          BOONE                     OR     90014825476
5648755825758B   AMY             SALAZAR                   NM     90011145582
56487612A72B49   ARLEEN          AMAES                     CO     33040876120
56487722A2B27B   TOYA            RIDOUT                    DC     90015027220
56487843372B38   CHRISTOPHER     APPROVED                  CO     90013238433
56487A6AA72B88   SAMUEL          CHAPMAN                   CO     33073190600
56488382472B88   FRANK           LUCERO                    CO     33078113824
5648881A151348   MEHLEA          ABBOTT                    OH     66035268101
56489575772B38   AL              VIAPANDO                  CO     33054395757
564899AA385928   JAMIE           STAMPER                   KY     90013939003
5648B231576B58   KEITH LALANDE   JOHNSON                   CA     90009952315
5648B349985928   JORGE           LARA                      KY     67094153499
5648B64243B145   CRYSTAL         ANDERSON                  DC     90006926424
5648B665355997   MARIA           GUERRERO                  CA     90012846653
564915A2955997   ERICA           GARDUNO                   CA     90013925029
5649184A385928   NATALIE         WELLS                     KY     90011798403
56493649A7B46B   KARLA           CONTRERAS                 NC     90013706490
5649387765B531   ANA             PEREZ                     NM     90010918776
564944A3672B27   OLIVA           TREVIZO                   CO     33054124036
5649458AA72B36   TIFFANY         HARDER                    CO     90013405800
56494788372B43   CONNIE LEE      MONTOYA                   CO     33018797883
5649519435758B   JUAN            RUIZ                      NM     90012971943
564957A4651367   TOM             MANITSAS                  OH     66011827046
56495845272B49   MARC            FREYETA                   CO     90009158452
5649615552B27B   WILLIAM         JOHNSON                   DC     81037711555
5649699A972B49   JUAN            PEREZ                     CO     90001029909
5649812515758B   KARINA          COBOS                     NM     90015161251
5649822858B142   TIERRA          CHESTINE                  UT     90012222285
5649845972B27B   ELEISHA         BRIDGES                   DC     90013574597
564986A9A61971   MICHAEL         BAILEY                    CA     90013286090
564992A6372B43   TIL             KHADKA                    CO     33008992063
5649B29A45B531   JENNIFER        GALLEGOS                  NM     90011072904
5649B6A297B46B   MARTIN          GOMAR                     NC     11012526029
5649B75875758B   JANET           OCHOA                     NM     90014667587
5649B814855997   FELISA          BANKS                     CA     90011178148
5649BAA4755939   JENNIFER        VELAZQUEZ                 CA     90014340047
564B193292B27B   TONI            DAVIS                     DC     81038129329
564B221515715B   REUBEN          HERNANDEZ                 VA     90013902151
564B247484B588   ROGER           MATHEWS                   OK     21575374748
564B252A572B27   MARIA           DOMINGUEZ                 CO     90001035205
564B273352B27B   JOYCE           PEOPLES                   DC     90012847335
564B4225A72B43   JESUS           ESCOBAR                   CO     90012832250
564B4323251348   NILDA           GONZALEZ                  OH     66078683232
564B4796A57157   ILDA            RIOS                      VA     81014287960
564B4894461971   PATRICIA        MEZA                      CA     90013798944
564B532685599B   ORLANDO         OCHOA                     CA     90005383268
564B53A6891587   EDUARDO         PEDRAZA                   TX     90012803068
564B58AAA72B43   MARIO           YANEZ                     CO     33015128000
564B5A75261971   RONALD          SCHIEBERL                 CA     90014180752
564B6132847928   SARAH           MORRISON                  AR     90010721328
564B7447872B38   LICEA           MENDOSA                   CO     90013934478
564B8373A72B43   JOSE            MARQUEZ                   CO     33040593730
564B8516198B22   CHARLES         NORWOOD                   NC     90010875161
564B869567B358   LEONEL          PERES                     VA     90011356956
564B8711955997   NOEMI           PERAZA                    CA     90013367119
564B884545B236   RHONDA          MORTON                    KY     68024368454
564B88A145B399   BRENEE          PRYER                     OR     90013298014
564B892595B531   LANCE           JIM                       NM     90000519259
564B9212972B49   GUMARO          GUERRERO                  CO     90013582129
564B933325758B   ZELENIE         PAUL                      NM     90014033332
564B933695715B   JULIO           ARDON                     VA     90002463369
564B9534385928   STEPHANIE       DODSON                    KY     90013935343
564B9616433696   KARLA           BRANDON                   NC     90013266164
564B988515758B   JESSICA         GALVAN                    NM     90013518851
564BB825891895   ANGEL           AMBRIZE                   OK     90008638258
564BB8A7441222   ROBYN           DIETERLE                  PA     90005308074
564BB923485928   TERRI           MCGHEE                    KY     67011019234
564BB932957157   TRILOCHAN       BHATT                     VA     90014059329
564BB967372B49   VIANKA          VARGAS                    CO     90013039673
564BBA4357B391   TIGIST          WOLDEMARIAM               VA     90002180435
564BBAAA884357   SHAYNE          WHITE                     SC     90003350008
5651115725B399   RAVELL          STERLING                  OR     90013771572
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 107 of 2350


5651134815715B   TIANA         SHAIA                       VA     90012703481
56511414172B27   DAGOBERTO     MIJANGOS                    CO     33049974141
56511A71157157   JOSHUA        SCHAEFFER                   VA     90002080711
56512262A72B27   FAKHRI        ABDULLAH                    CO     90014602620
56512661972B88   REFUGIO       CASILLAS                    CO     33060116619
5651273A77B491   DANNENE       WARD                        NC     11009277307
5651352675B236   DAVID         FRENCH                      KY     68007975267
56513925172B43   PETRA         CISNEROS                    CO     90014589251
56514372972B43   HUMBERTO      DE LA ROSA                  CO     33094133729
565158A882B27B   CHRISTOPHER   GRAYSON                     DC     90012848088
5651594635758B   BALTAZAR      MENDOZA                     NM     35578149463
56516738172B67   NANCY         ORTIZ                       CO     33024257381
5651754255B531   ESTEBAN       HERNANDEZ                   NM     90013645425
56517A62272B49   SHANELE       RAE                         CO     90005940622
5651818625715B   FORTUNATO     SARMIENTO                   VA     90012341862
56518194372B27   TOM           HAJDE                       CO     33074391943
5651838615B399   VESTER        BROWN                       OR     44563563861
5651875234B536   ADRIANA       TORREZ                      OK     90011027523
5651962A472B38   ROBERT        KETTERMAN                   CO     90010296204
565198A1655939   VIRGINIA      CENTENO                     CA     90015108016
5651B253372B49   MARIE         BROWN                       CO     33006892533
5651B28485B387   JEROME        THOMPSON                    OR     44507692848
5651B355272B43   DENISE        CHAVEZ                      CO     90013503552
5652127445715B   HOWARD        BATISTE                     DC     90002072744
56521293772B36   IVETE         NAVA                        CO     90007912937
5652151A87B491   NUSRAT        AHMAD                       NC     90012335108
5652272A161965   MYESHA        JACKSON                     CA     90014697201
56522836172B27   SADIQ         ANNOR                       CO     33014558361
5652319A15B531   MICHELLE      GORDON                      NM     90012511901
5652371717B46B   JACINDA       KITCHENS                    NC     11081807171
565242A574B521   BRYAN         JOCKEY                      OK     21515942057
56524472272B43   ADAN          PACHECO                     CO     33003144722
5652466545715B   JOEL          ROMERO                      VA     90012966654
56525123A72B43   CHRISTOPHE    FREEMAN                     CO     90000251230
5652542A63B372   GABRIELA      ALCARAZ                     CO     90013794206
5652553695B399   JUAN          XIRUIM                      OR     90001775369
5652568463B372   BERTHA        ALCARAZ                     CO     33029256846
565259A1685928   VERNON        BURNS                       KY     90014799016
565259A3955997   RENEE         BROWN                       CA     90013199039
56526297772B43   CLAUDIA       ACOSTA                      CO     90009172977
565264A2A5758B   GUILLERMINA   MORENO                      NM     90011024020
56526938872B38   OSCAR         FLOREAS                     CO     33088009388
5652698715758B   DAVID         GOMEZ                       NM     90015079871
5652756312B27B   RONALD        WEST                        DC     81004255631
5652766AA61965   KELSIE        QUINN                       CA     90014176600
56527A47172B49   JOHN          LUOMA                       CO     90014090471
56527A95A91587   SALVADOR      PERKENS                     TX     90004270950
56527AA9285928   VANESSA       BEATTY                      KY     90013940092
5652821265758B   SANTANA       OCHOA                       NM     35560222126
565283A8557157   MANUEL        GONZALEZ                    VA     90013853085
56529863772B38   ALBERTA       GONZALES                    CO     90001968637
5652B525172442   EDDIE         SINES                       PA     51054325251
5652B784655997   NATALIA       MARTINEZ                    CA     90012777846
5652B83A991587   ASHLEY        SALAZAR                     TX     90002098309
56531193772B49   TINA          NOVOTNY                     CO     90013221937
5653146A291587   BERNICE       PORTILLO                    TX     90007384602
5653157695415B   RHONDA        LOVE                        OR     90007845769
5653171455B531   NADINE        BACA                        NM     35082497145
56531A82685928   FRANK         BOATTY                      KY     90003050826
565321A895715B   ANA           GONZALES                    VA     90014771089
5653272875B236   CHAYLA        CARR                        KY     90008267287
56533271172B38   CONRAD        HOFFMAN                     CO     90014242711
5653346A35B387   KERRY         WESTLING                    OR     90011484603
5653398A661971   IRIS          GARCIA                      CA     90013389806
5653421228B677   GENISIS       CAZARES                     TX     90015362122
5653424434B588   DANIELLE      JENEY                       OK     90009282443
56535113872B67   NINA          AVILA                       CO     90011141138
5653582134B588   CORTIESHA     STEVENSON                   OK     90011028213
56536277172B43   YVETTE        TENA                        CO     33072792771
56536589A31429   KHADEEM       RATCLIFF                    MO     90005875890
5653673875B387   MARTIN        PETRY                       OR     44522117387
5653717727B46B   LATOYA        CLAYTON                     NC     90014621772
5653783484B588   RENEE         CHAPLINE                    OK     90011028348
5653822612B27B   AYANAA        COLEMAN                     DC     90014622261
56538434972B38   LATASHA       MORADO                      CO     90012994349
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 108 of 2350


5653899A971646   DARRELL           SMITH                   NC     17084969909
56539164372B27   HARLEY            STOLTZ                  CO     33051571643
565396A575B543   GLENNA            JONES                   NM     35045326057
56539A57557157   BLANCA            ARGUETA                 VA     90011650575
5653B7AA82B27B   VENNESA           BAKER                   DC     81027377008
5653B842972B43   JOE               GARCIA                  CO     33006738429
5653BA9265B399   PRISCILLA         CLARK                   OR     90013320926
565414A6757157   JORGE             ELERA                   VA     90003484067
5654153757B46B   JOYCE             MACK                    NC     90010365375
5654221255758B   VIOLA             GARCIA                  NM     90008112125
56542258A72B36   CAROL             STEVESON                CO     33075012580
565429A6A57157   EDDIE             YATES                   VA     81097509060
56542A54672B49   ROCHELLE          BRICKER                 CO     33085980546
56543338A5715B   HENRY             OCHOA                   VA     81046993380
5654338855B387   GUSTAVO           VILLACORTA              OR     90009143885
56543457872B27   LE DAWN           LOCKS                   CO     90007584578
56543A19A33699   KENERD            FRASIER                 NC     12054640190
5654417385758B   CARLOS            OROZCO                  NM     90015161738
56544888272B43   CATHERINE         JONES                   CO     90015218882
5654517317B46B   KERISHA           LATIMER                 NC     90014661731
56545183A72B36   RANDALL           WELCH                   CO     33007391830
56545396A4B588   MARIE             DRISKELL                OK     21567103960
5654555274B521   ELIAS             AGUILAR                 OK     21587785527
56546599924B35   LATIA             JOHNSON                 DC     81071325999
5654738285B399   PATRICK           BROGDON                 OR     90015133828
56547434972B43   BRANDEN MICHAEL   SUMMER HINSHAW          CO     90015054349
565474A1972B38   MELISSA           MCCONNELL               CO     33020714019
5654766995B399   MARSHA            HAYES                   OR     90013986699
565476A5257157   CHARLIE           COLATO                  VA     90010606052
56547749A61965   WILLIAM           WILLS                   CA     90014177490
56547A57557157   BLANCA            ARGUETA                 VA     90011650575
5654852A85B236   MS                ALLEN                   KY     90005665208
5654885395B531   MONICA            LOPEZ                   NM     35039158539
56548AA865B399   JACQUELINE        KENNEDY                 OR     90012940086
5654B188A61965   ANTHONY           HARRIS                  CA     90006291880
5654B556451348   DONNA             CAMPBELL                OH     90013215564
5654B722155997   KATHERINE         PENA                    CA     49080457221
5654B765972B38   JORGE             GARCIA                  CO     90012607659
5654BAA525B236   CRAIG             HART                    KY     68054580052
5655145295B531   APRIL             ROMERO                  NM     35090154529
5655191A25B543   NUBIA             BORREGO BERMEA          NM     90001399102
56551A3337B46B   JESSICA           CARTER                  NC     90014680333
56552935A4B29B   ALICIA            VOGT-ROGERS             NE     27044189350
5655458585B387   SHAUNA            KING                    OR     90001835858
56554A57557157   BLANCA            ARGUETA                 VA     90011650575
56555385272B38   RIBKA             RIBKA                   CO     90011223852
5655559365B387   DOUG              SCHUERMYER              OR     44507695936
5655585A491587   VICTORIA          SAENZ                   TX     90013198504
56556342A7B46B   DANIEL            WEEMS                   NC     90010653420
5655668355B531   DARRELL           JONES                   NM     90012316835
5655785894B588   CLARENCE          SCROGGINS               OK     90013228589
56558123972B67   DESTINY           MULLOWNEY               CO     90011141239
5655832545758B   ELIZABETH         BALBOA-TARACENA         NM     90015163254
5655858855B399   SHELLY            TRIPLET                 OR     90004825885
56558826272B21   TAISHECA          BROWN                   CO     90013028262
56558898172B27   YOLANDA           RIVERA                  CO     33081468981
565588A675B387   PAMELA            RANKIN                  OR     44582238067
5655936125B399   MARWAN            AHMED                   OR     90012693612
56559413372B38   CONSTANCE         MAESTAS                 CO     90005254133
5655B73A272B38   MICHAEL           AEILLO                  CO     90003057302
5655B853631428   KEISHA            HAMILTON                MO     90010458536
56561125472B38   ARIEL             CORDOVA                 CO     90012541254
56561466A5715B   MARIA             SANTOS                  VA     90014734660
565616A965B387   ROGELIO           MOCTEZUMA               OR     44507696096
56564192972B27   FRED              TOWERS                  CO     90014801929
56564A97291895   JUAN              GUTIERREZ -MARTINEZ     OK     90014010972
5656517145B531   NANCY             GILPIN                  NM     90009231714
565657A865758B   CRYSTAL           VACIO                   NM     90009627086
56566286A91587   BRENDA            BARRRIENTOS             TX     75032882860
5656693344B588   MONICA            LOPEZ                   OK     90015509334
56566A1875B387   DENYSE            SCHWENGELS              OR     90012440187
56567432972B36   BARBARA           PORTILLO                CO     90014024329
5656743672B27B   DARRINIQUE        REAVES                  DC     90014414367
56567453172B36   MARIA             RAMIREZ                 CO     90002574531
56568878372B93   LISA              BURNS                   CO     90001898783
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 109 of 2350


5656936115754B   JASON          HOBBS                      NM     90008113611
5656988665B223   EARL           GARTH                      KY     90000198866
56569A29293754   CIRILO         MODI                       OH     90006440292
5656B188172B88   BRETT          KNIGHT                     CO     33073201881
5656B884672B38   ANTHONY        LUCERO                     CO     90015018846
5656B923291895   ASHLEY         DORRIS                     OK     90008429232
5656BA52785928   LEONOR         MARTINEZ                   KY     90011750527
5657148557B365   JUAN A         SANCHEZ                    VA     90009654855
56571A51772B27   GONZALO        ESCARENA-DURAN             CO     33092070517
56571A84185928   MICHAEL        WHISMAN                    KY     90008760841
56571A9837B46B   TAMMY          GREGG                      NC     90013250983
56571AA3955997   LAURA          GUTIERREZ                  CA     90014790039
56572119972B43   RICHARD        GOMEZ                      CO     90014831199
5657244535B387   AMBER          ECHAVARRIA                 OR     90013064453
56572919172B27   CAROL          RUSHTON                    CO     33030289191
56573388472B67   ANTONIO        OJEDA                      CO     33017243884
5657385592B27B   KATRINA        POGE                       DC     90012848559
56573A6A65B399   GRACE          ERICKSON                   OR     44507980606
5657484A555997   NORBERTO       MARTINEZ                   CA     90012948405
5657537292B27B   JEAN PAUL      KAIKOUMI                   DC     90006453729
56575938872B36   JOSHUA         PAUTZ                      CO     90012469388
5657651915B399   MATTHEW        INGRAHAM                   OR     44577595191
5657674425715B   ABDULHAKIM     ABDI                       VA     81059537442
56577172372B38   JESSICA        HAMILTON                   CO     90010691723
56577A3855B236   IVAN           LEDEZMA ANDRADE            KY     90004460385
56578355272B27   JOSHUA         HEBERT                     CO     90012883552
56578A1574B525   LIZA           WOLF                       OK     90010570157
5657912415B387   TRACY          KAIN                       OR     44514601241
5657964345758B   GABRIEL        PACHECO                    NM     90007236434
5657B38784B588   CRYSTAL        BROWN                      OK     90007093878
5657B598A72B67   SHAWN          BEARD                      CO     90014715980
5657B62365715B   ELSI           GARCIA                     VA     90013306236
5657B72445715B   MONIQUE        POSADA                     VA     90004247244
5657B879661965   ABDULLAH       JUMAH                      CA     90013368796
5658166965758B   CRUZ           RENE                       NM     90004186696
56582A77331428   VERONICA       ORTIZ                      MO     90010510773
5658327A585928   CESILIA        GARCIA                     KY     90007192705
5658339A455997   MATTHEW        GRAHAM                     CA     90013903904
565833A7757157   THOMASINA      FORD                       VA     90014793077
5658342784B588   PATRICIO       HERNANDEZ                  OK     90004954278
5658345AA5715B   MAIRA          SANCHEZ                    VA     81073494500
565834A8772B67   JEFF           CRISAFULLI                 CO     90006684087
56583918772B49   ADRIAN         GARCIA                     CO     90006889187
5658394AA72B27   OMAR           ESTEVEZ                    CO     90012569400
56584361372B43   DIMITRIUS      TRUJILLO                   CO     90003323613
565854A6257157   EUGENE         MORTON                     VA     90014794062
565861AAA5B399   SCHILTA        BELL                       OR     44503441000
5658622A533699   TAMOTHY        HACKETT                    NC     12055982205
565862AA172442   MICHELLE       LEWIS                      PA     51025982001
56586317472B49   JOHN           TUCKER                     CO     90014593174
56586328A85928   JEREMY         HUNTER                     KY     90014853280
565868A9261965   MORGAN         BEAN                       CA     90004518092
5658761A373268   ZANETA         PARKER                     NJ     90014916103
56587A8884B521   LOUREN         COPELAND                   OK     90006710888
56588279872B67   BUTLER         LIONEL                     CO     90005712798
56588796424B7B   NAKIA          GANT                       DC     90014157964
56589328A31429   JEREMY         PATTERSON                  MO     90005513280
56589388772B43   JUAN           SUAREZ                     CO     90011863887
565893A3185928   EMILY          SCHILDERS                  KY     90013943031
5658991A631429   JEREMY         PATTERSON                  MO     90012649106
5658B387755997   ADRIAN         LOPEZ                      CA     90012903877
5658B69AA72B38   MICHELLE       COREY                      CO     90013216900
5658B99677B46B   CAMONE         ALLISON                    NC     90012549967
5659243295B271   JON            NUSS                       KY     90002334329
56592452672B88   HILARIO        SANDOVAL                   CO     33001484526
5659257A251329   KATHLEEN       GORDON                     OH     90011345702
56592932A61971   THONG          VU                         CA     90010749320
56592A14257157   ELVIA          VALLADARES                 VA     90011700142
56592A46651348   CHASTITY       REDMON                     OH     90008920466
56593117572B49   GEISY          ALVARENGA                  CO     90007051175
56593472872B27   JUAN           MARTINEZ                   CO     33049314728
5659355465B399   DAVID MARCUS   WILLIAMS                   OR     90013195546
56594524A72442   CARL           LEWIS                      PA     90007165240
565949A945715B   BEDFORD        KING                       VA     90014339094
5659552384B588   MINISHA        FRANKLIN                   OK     90005815238
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 110 of 2350


5659565872B27B   SYMRA           DUNBAR                    DC     90001426587
56595694372B36   IRMA            SALMERON                  CO     90012546943
56596663A72B49   LOVETA          MOYA                      CO     33081566630
5659692A25715B   JOHN            WESLEY                    VA     90002929202
56596932772B88   LINDA           CALLAHAN                  CO     33073209327
56597241A33699   GABRIELA        GONZALEZ                  NC     12013322410
56597518372B27   VANESSA         SALINAS                   CO     33043215183
56598175572B43   SAULO           FLORES                    CO     90013501755
5659839345B236   NECO            JONES                     KY     68003933934
56598951172B67   CARLOS          CARRILLO                  CO     33019469511
56598A56855939   SABINA          SOLIS                     CA     49014820568
5659943575715B   JOSE            FELIPE                    VA     90002084357
565B119885B399   BRIAN           AHRENDT                   OR     90013051988
565B127A672B36   CLAUDIA         GUTIERREZ                 CO     90014002706
565B13A7A5758B   ABIGAIL         MENDEZ                    NM     35579183070
565B1839391895   ALMA            LOPEZ                     OK     21065488393
565B221725B399   KATHLEEN        RICH                      OR     90011032172
565B28A1631428   RHONDA          JONES                     MO     90006498016
565B3258341247   TOSI            WORTHAM                   PA     51029222583
565B376A15715B   LUIS            CHISCUL                   VA     90014847601
565B433133B372   SHAWN           MATHER                    CO     90001693313
565B43A8972B88   FRANSISCO       MATA                      CO     33005303089
565B49AA385928   JAMIE           STAMPER                   KY     90013939003
565B5434A4B521   DANA            HAMPTON                   OK     90000824340
565B559A572B88   RONALD          MOORE                     CO     90009735905
565B567535B531   JOHN            LASKY                     NM     35055386753
565B574485B271   DYANN           STEWART                   KY     68081867448
565B581115B399   DARCIE          SHUPP                     OR     44538328111
565B5852491895   SARA            RAMIREZ                   OK     21053348524
565B595875B387   BRENDA          SCHREI                    OR     44574049587
565B6133672B49   AINISSA         PROCTOR                   CO     90008771336
565B6444672B67   SERGIO          SALAZAR-FIGUEROA          CO     33000694446
565B646885715B   LUIS            FUNES                     VA     90014474688
565B6492772B43   DIANA           VALDEZ                    CO     33037744927
565B6512155997   CONSTANTINO     VALDEZ                    CA     90013925121
565B6855661965   MARC            ARMBRISTER                CA     46037758556
565B7152571923   RONALD          ROBB                      CO     90011831525
565B7375861965   BASSAM          HANNA                     CA     90004353758
565B7637772B38   JENNIFER        THOMAS                    CO     90012666377
565B7816172442   TINA            JOHNSON                   PA     51001668161
565B78A916B257   ANTONIO         SEGURA                    CO     37017068091
565B7A78972B67   THERESA         MONTOYA                   CO     33047080789
565B819394B588   LOURDES         MARTINEZ                  OK     90008681939
565B823582B27B   NATHANIEL       NAILS                     DC     90015262358
565B8616985928   ERIC            HARRIS                    KY     90013156169
565B8766491895   OSCAR           LOPEZ                     OK     90011147664
565B8A25A55939   ERIC            DOMINGUEZ                 CA     90012310250
565B912387B46B   ISADORE         CLARK                     NC     90000341238
565B9265A72B49   CHAVEZ          CHAVEZ CARRASCO           CO     90002622650
565B933925B387   ROBERTO         ROSALES                   OR     90014903392
565B955842B27B   DASEAN          DRUMMOND                  VA     90014275584
565B966AA33645   LESLIE          EGEONU                    NC     90013126600
565B9A5215758B   MARISELA        SHUMWAY                   NM     90002110521
565BB16A65B371   JAYMI           JUNG                      OR     90013971606
565BB45634B588   TOMMY           SCOTT                     OK     21595554563
565BB724572B27   PATRICIA        GUTIERREZ                 NC     33073357245
5661115165B399   HEATHER         AYERS                     OR     44501421516
56611323972B27   MASON           MCINTYRE                  CO     33020943239
56611396A57128   MARIA           CRUZ                      VA     90012623960
566114A975B387   JOSHUA          DAVIS                     OR     90007764097
56611728572B36   CECELIA         MILLER                    CO     90008157285
5661231A631462   CARLOS          NEWBY                     MO     90007263106
56613188172B88   BRETT           KNIGHT                    CO     33073201881
56614724A55997   MATHEW          ELISALDE                  CA     90013927240
5661478A172B38   KATINA          VALENTINE                 CO     90011507801
5661483692B27B   NAMES           THOMPSON                  DC     81066848369
5661497665715B   MARIBEL         SAYSON                    VA     90014479766
56614989472B88   KATHERINE       GOTWALD                   CO     33088269894
56614A23A51348   VALARIE         POLLARD                   OH     66093220230
5661519425B271   KEITH           THOMPSON                  KY     90004381942
5661521145B531   MARCI BENALLY   CAROL WASHBURN            NM     90013372114
56615576972B27   ADAN            ROMERO                    CO     33037025769
56615582A91895   JAMES           ARTHUR                    OK     90009825820
566161A255B236   ALICIA          HARRIS                    KY     68041351025
56616298A41292   JOHN            SEITZ                     PA     90012712980
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 111 of 2350


5661724A54B588   RIKKI        SMITH                        OK     90014002405
56617297472B27   NICOLE       PERKINS                      CO     33083742974
56617382272B67   VARNELL      JENKINS                      CO     90001593822
566176A7491895   CLAUDIA      CALDERON                     OK     90007866074
5661842682B27B   TRACEI       FLEMING                      DC     90014874268
5661921345715B   SERGIO       VILLEGAS                     VA     81070222134
5661931825B283   JAMIE        DENNISON                     KY     90011973182
5661938A831428   GEROME       TOLLIVER                     MO     90009583808
5661959125B387   SUZETTE      TINKESS                      OR     90015155912
5661B57125859B   ISIDORO      BAUTISTA-GOMEZ               NY     90015395712
5662151157B46B   MICHAEL      HAMILTON                     NC     90013215115
5662154615B387   GAIL         SAYRE                        OR     44597735461
5662174A942363   MARANDA      KELLY                        GA     90008577409
5662197314B588   REGINALD     BURRIS                       OK     90015179731
56621A5515758B   ACOSTA       JULIA                        NM     90010390551
5662238A842363   SUSAN        NATION                       GA     90006073808
5662341175B283   HEATHER      ASHLEY                       KY     68075264117
566235A8872B36   CHERYL       WATKINS                      CO     90004295088
56624367672B67   ROXANE       URIOSTE                      CO     33083463676
5662448685B387   KATHRYN      DISHMON                      OR     44507824868
5662526425B387   MIKE         CIAFFONI                     OR     44585022642
5662645285B283   GLENN        ROSA                         KY     90005514528
5662679295B387   JORGE        VILLEGAS                     OR     44593107929
56627163972B43   MARTA        COTEZ                        CO     90004251639
5662878465B236   CHRISTINA    SLOVAK                       KY     90014547846
5662916815B283   MELISA       CUNNINGHAM                   KY     68007301681
56629589A55997   ALEJANDRA    MALDONADO                    CA     90005645890
5662966255758B   IRMA         SALINAS                      NM     90015456625
56629961A72B49   RIVERA       ANITA                        CO     90004039610
56629A17131428   TRANADA      FINLEY                       MO     27563760171
5662B2A8A5758B   KATHLEEN     MONTOYA                      NM     90009562080
5662B343957157   EMILIA       HERNANDEZ                    VA     90000403439
5662B6A8772B27   RITA         NIETO                        CO     90001596087
5662B881372B49   HILDA        ESPINOZA                     CO     90001518813
5662BA6A851348   RUBY         JOHNSON                      OH     66009470608
566313A895B531   BILLY        HARTZOG                      NM     35076533089
5663173865B387   ISIDORO      REYES                        OR     44563437386
566318A8972B49   JOSHUA       LUCKEY                       CO     90012868089
5663199715B399   JESSE        EICHSTAT                     OR     90012699971
56632185824B7B   TREVON       DEAN                         DC     90004231858
56632531572B38   PATRICIA     HERNANDEZ                    CO     90011035315
5663279355B387   ANGELAH      HILL                         OR     44587027935
56632A5515758B   ACOSTA       JULIA                        NM     90010390551
56633172672B38   HONEY        MONEY                        CO     90009691726
566331A4691895   SARAH        SNIDER                       OK     90015181046
566331A967B362   ADBUL        COLE                         VA     90010731096
5663344134B588   VICTOR       VALADEZ                      OK     90004644413
566334AA65758B   RICARDO      MUNOZ                        NM     90008104006
56633679572B27   WUBSHET      SILESHI                      CO     90012946795
56633773672B49   JOSE         JURADO                       CO     33069877736
56633A45A61971   DANIEL       PENNISON                     CA     90012840450
56634265772B36   JURIEL       FLORES                       CO     90011982657
5663463515B271   LAZARO       DE LA NUEZ                   KY     90005796351
566349A295B93B   BERTHA       FARIAS                       WA     90015369029
5663551A95B236   KELLIE       ROGERS                       KY     68013095109
5663636575B531   MALLORY      DEVARGAS                     NM     90014003657
566365A345715B   EDGAR        HUOX                         VA     90002325034
5663678A872B43   MARIA        MATA                         CO     33020277808
56637326A72B38   MARIA        ROMOS-AGUAYO                 CO     90012903260
566378A9255939   EDGAR        HERRERA                      CA     90011468092
56638581A91587   GILBERT      MARTINEZ                     TX     90010135810
5663928975B387   JENNIFER     MILLER                       OR     44555952897
566392A2A5B351   TAMIE        MILLS                        OR     90008352020
5663934535B399   ROSA         MENDOZA                      OR     90014893453
5663973545758B   IGNACIO      NUNEZ                        NM     90009217354
5663B167772B36   CORY         BRUCE                        CO     90008721677
5663B479A86545   JEREMY       WADE                         TN     90015554790
5663B662885928   TINA         SUMPTER                      KY     90013156628
5663B697272B49   MICHAEL      GARCIA                       CO     90013156972
5663BA9874B588   ZACHARY      TUNISON                      OK     90013580987
5663BAA765B543   CINDY        MARTINEZ                     NM     90003350076
5664152394B588   ANGELA       GLENN                        OK     90002145239
5664231A15B531   SAMANTHA     PALACIOS                     NM     90013063101
5664282AA55997   BERTA        CAMACHO                      CA     90012398200
566431A285B236   CONTROL      FREAK                        KY     90010471028
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 112 of 2350


5664342635758B   ANTONIO               LUNA                NM     90007564263
566436A8757157   TASHANDA              JORDAN              VA     90014806087
56643AA8A7B46B   JUAN                  HERNANDEZ           NC     90014970080
5664441817B491   SAHARA                JACKSON             NC     11012814181
5664448795B387   LEEANNE               CHAVEZ              OR     44552764879
5664449995B551   MARK                  GEER                NM     90010784999
5664513465758B   GOMEZ                 YAQUELIN            NM     90012001346
56645313472B36   HERLANDA              DAVIS               CO     90013933134
5664546875B387   FABIOLA               MARTINEZ            OR     44504124687
5664663215B531   DAVID                 SANDY               NM     35086496321
5664715462B27B   KENYATTA              LYNCH               DC     81035851546
56647384A72B38   JOSEPH                BAVENDER            CO     33084573840
56647859172B36   ALBERTO               SALAZAR             CO     90013668591
56648234272B49   LUIS                  AGUILAR             CO     33048942342
5664859645715B   LUIS Y MARIA GARCIA   ORELLANA            VA     90014315964
5664881995B387   TIFFANY               TERBENCHE           OR     44557568199
5664882835B531   KARINA                MORA                NM     90012178283
566489A965758B   JOYCE                 HICKS               NM     90015039096
56649A1427B46B   PAMELA                STRAYER             NC     11084450142
56649A9395715B   HERSON                RUIZ                VA     81047150939
5664B13A661971   DESTENY               MATHENY             CA     46014011306
5664B62112B27B   WALTER                MARTINEZ            VA     90011486211
5664B944685928   GARY                  NEEDHAM             KY     67084109446
5664B987A72B27   MONICA                SAENZ               CO     33084299870
5665123A772B88   LORENA                CORTEZ              CO     90005922307
566513A1591587   BRAD                  WEAVER              TX     90000263015
56651A1794B588   MOZELLA               JACKSON             OK     90014870179
5665234144B588   SEKEINA               EBERSON             OK     90006793414
566523AA572B36   DEIDRA                VALDEZ              CO     90015213005
5665372145B399   GERVACIO              RIOS                OR     90012907214
5665485A877522   EDWIN                 LOPEZ               NV     90006378508
5665514225B129   TIONA                 WATSON              AR     90005991422
5665515AA61965   BUFFY                 BRIGGS              CA     90008621500
5665571625715B   IRMA                  SANDOVAL            VA     90013307162
56656765998B47   SAMARIA               TRUESDALE           NC     90014327659
5665741737B46B   SILVIA                PEREZ               NC     90014884173
5665767992B27B   FRANCESCO             KELLY               DC     90013966799
5665772295B543   MABEL                 CHAVEZ              NM     90003277229
5665786465715B   JULIO                 HILARIO             VA     81096048646
56657AA3155939   NADINE                APOLONYA            CA     90011100031
5665919912B27B   THERESA               KEMP                DC     81016111991
5665937755758B   VICTOR                MALDONADO           NM     35585213775
56659534A61965   TIMOTHY               ADONA               CA     90012495340
5665974295B543   DIANA                 LAGUNAS-MINGURA     NM     90003277429
56659743A72B43   JOSEPH                RAMIREZ             CO     90003727430
5665B1A4172B43   LEOPOLDO              CHAVARRIA           CO     33052621041
5665B237972B27   KATHRYN               BROWN               CO     33061432379
5665B62A831429   ROBERT                CARTWRIGHT          MO     90005516208
5665B72A372B36   REBECCA               LOPEZ               CO     33055777203
5665B797691895   SHERRY                MARTIN              OK     90013197976
5666115215715B   KHALED                DJAHRA              VA     90012561521
5666127A191587   HILBERTO              VASQUEZ             TX     90014832701
56661367572B38   KAYANA                LITTLE              CO     90003013675
56661A22A51348   JESSE                 BALL                OH     90015300220
56663A8825B543   LISA                  SUAZO               NM     35089550882
56664384872B36   MARTIN                CABRAL              CO     90013783848
5666512234B588   DEANA                 GABRIEL             OK     90009321223
5666534A661971   VICTOR                LOPEZ               CA     90013123406
56665A3337B46B   JESSICA               CARTER              NC     90014680333
5666665477B379   RIMBER                FERRUFINO           VA     81016986547
56667856172B43   CAROL ANN             LANG                CO     90009818561
56667A1AA4B29B   NICHOLAS              KANSAS              NE     27067430100
566686A7655997   YASMIN                ARZOLA              CA     90013936076
56668A5145B543   JASON                 JOHNS               NM     90001590514
566692A2755997   JOSE                  GARCIA              CA     90015042027
56669394872B43   WALTER                ABREGO              CO     90015143948
56669472372B38   RUBEN                 FLORES-RIVAS        CO     90014824723
5666949187B46B   BRENDETTA             SPENCER             NC     90004254918
56669916A61971   TRACIE                DEAL                CA     90010919160
5666B22448168B   WILLIAM DE JESUS      HERNANDEZ           KS     90007212244
5666B46745B399   KATHLEEN              KOHLER              OR     90003004674
5666B865272B43   TODD                  HASEN               CO     90012228652
5667172612B27B   MARCELLUS             PATE                DC     90011377261
566717A185B387   CLARENCE              WATTS               OR     44532607018
56671A61751348   DAMITA                HARRIS              OH     90013400617
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 113 of 2350


5667225547B46B   TIA              HOWARD                   NC     90000412554
566722AA955939   ALONDRA          CALDERA                  CA     90013822009
56672878272B27   MELISSA          MCKISSACK                CO     90009758782
56672A98957591   CHRIS            TERRY                    NM     90001730989
56673414A7B46B   SHADATIA         WARD                     NC     90003954140
56673841A72B67   CHARLES          GROSSO                   CO     33022808410
56673A42A72B2B   TIFFANY          HILL                     CO     90009060420
5667431275758B   MARTHA           VILLA                    NM     35519893127
56674494A4B588   CARI             HORNIBROOK               OK     90009364940
566748AA14B221   JASON            HECKMAN                  NE     90001988001
56674A1565B399   DAVID            SHAW                     OR     90006300156
56674A5A584357   DEREK            WASHINGTON SR            SC     90004600505
566755A7757157   OSMAN            BANGURA                  VA     90013985077
56675659A72442   VICKI            THOMPSON                 PA     90004276590
5667586462B27B   MICHAEL          HAWKINS                  VA     90008538646
566759A2772B43   SWAN             SAUNDRA                  CO     33006319027
5667688495B531   ANTOINETTE       QUINTANA                 NM     35047478849
5667726255758B   ERIKA            CORRAL                   NM     90015132625
56677A24761971   LORENA           EDEZMA                   CA     90010460247
56678534A85928   CHARLES          GARRETT                  KY     90012025340
56679AA1351348   CAITLYNN         BAKER                    OH     90014780013
5667B77AA91587   VIANA            FRANCO                   TX     90009877700
566813A2733699   EDGAR            JOHNSON                  NC     12085443027
566823A8185928   DOUG             GOLDEN                   KY     90000543081
56682425372B38   NICOLE           GETZ                     CO     90011224253
56683659A72442   VICKI            THOMPSON                 PA     90004276590
5668416515B399   ANTIONE          FARVE                    OR     44524731651
56684628272B88   MARTHA           CORTEZ                   CO     90003206282
56684733A55997   MARIA            PINEDO                   CA     90014737330
566849A4385928   LISA             SANDERS                  KY     90013949043
5668547137B46B   SEFERINO         CASTILLO                 NC     90013754713
5668653695B399   LAYNA            XOCHITL                  OR     90009905369
56687213A72B49   BUCK             FISHER                   CO     90013582130
5668756A672B27   JEREMY           WRIGHT                   CO     33014575606
56687968572B67   VARGAS           ASALIA                   CO     90006779685
5668915765715B   MERCEDEZ I       COTES                    VA     90005751576
5668949573B372   JENNIFER         PHILIPSON                CO     90000824957
56689971672B67   ISABEL           GONZALEZ                 CO     90002279716
5668B4A5491587   LISA             ARREOLA                  TX     90004254054
5668B6A4885941   NICK             LISCOMB                  KY     90014106048
5668B738172B67   NANCY            ORTIZ                    CO     33024257381
5668B78AA91895   SHIRLEY          SEAL                     OK     90007867800
5668BA46891895   NATALIE          ACEVEDO                  OK     90010480468
566911A342B27B   HATERIA TAMIKA   PEARSON                  DC     90011981034
5669143695B551   MARTHA           HIDALGO                  NM     90012474369
5669194165B393   HERNAN           CASTELAN                 OR     90002659416
5669195A972B49   JORGE            ORNELAS                  CO     33099789509
5669298A485928   CHARMAINE        WASHINGTON               KY     90013949804
56693361A55939   ELMER            ORTIZ                    CA     90014353610
56693659A72442   VICKI            THOMPSON                 PA     90004276590
5669445647B339   CHRIS            JOHNSON                  VA     90001754564
56694488A91535   SERGIO           GOMEZ                    TX     75006544880
56696171772B49   JAMES            DEAGUERO                 CO     90014961717
56696821972B67   FRANCISCO        BARRAGAN                 CO     33067248219
5669691875B387   NECHERI          GRANT                    OR     90015119187
566969A4385928   LISA             SANDERS                  KY     90013949043
5669828AA5B399   STEVE            KOEHLER                  OR     44575862800
5669876893B352   STACIA           SCHMIDT                  CO     33085507689
5669882865758B   SOCORO           VILLEGAS                 NM     90013188286
56698A57472442   SHERRY           CHILZER                  PA     51062800574
56698A76A72B27   JAZZMINE         PETERSON-WOODRUM         CO     90006240760
56699551372B38   NICK             LAUS                     CO     90010185513
5669959484B588   JOSHUA           WELCH                    OK     90013505948
56699694A72B43   UVALDO           VARGAS                   CO     33018096940
56699695172B88   BLAKE            LEWIS                    CO     33073216951
5669B476A72B43   OMAR             RAMOS PASILLAS           CO     90012894760
5669B69A685928   DIANE            SPENCER                  KY     90013856906
5669B962891587   GENARA           ALQUISIRA                TX     90002289628
566B1263533699   TANJA            BROWN                    NC     90003812635
566B14A635B387   RIANTE           BADON                    OR     90014514063
566B287444B588   KAREN            FLETCHER                 OK     90011028744
566B2A96261965   ANTONIO          TEJEDE                   CA     90008620962
566B327487B46B   ZAVEUS           FLOWE                    NC     90014872748
566B412325715B   ADALBERTO        RECINOS                  VA     90000831232
566B4136561965   GEORGE           RAMIREZ                  CA     90013171365
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 114 of 2350


566B4516957157   KENDRA       CHAPMAN                      VA     90014795169
566B4872457148   MANUEL       DELAFUENTE                   VA     90007168724
566B48A5A72B36   JUANITA      LOPEZ                        CO     90012928050
566B499965B399   LYLES        DICKERSON                    OR     90013779996
566B5239451348   GREGORY      SCHLAKE                      OH     66013272394
566B541885758B   SABRINA      DELATORRE                    NM     90012194188
566B5538157157   DELTON       BRODIE                       VA     81065035381
566B5864685928   CHRIS        FARMER                       KY     67061618646
566B6427872B38   JAMES        THOMPSON                     CO     90001074278
566B69A9797123   LARAINE      SANCHEZ                      OR     90014079097
566B6A6A372B36   TY           CAMPBELL                     CO     33039360603
566B79A3872B49   ANGIE        MORTENSEN                    CO     33037999038
566B8716872B27   THOMAS       MELTZ                        CO     33056647168
566B899715B399   JESSE        EICHSTAT                     OR     90012699971
566B89A385B543   DARRELL      COLE                         NM     35089719038
566B941A65758B   MARIA        ORTIZ                        NM     35500884106
566B9473155939   ANGEL        COLE                         CA     90014694731
566B9567672B27   CAMERON      BECHTLE                      CO     33038305676
566BB15885B399   ENRIQUE      HERNANDEZ GOMEZ              OR     90014201588
566BB447351348   NIKKI        GOINS                        OH     90014684473
566BB466A5715B   MARIA        SANTOS                       VA     90014734660
566BB98445B543   TOMAS        AHUATZI                      NM     35057289844
56711399672B43   NURA         ZIMAH                        CO     90010763996
567113A2272B36   ADERONKE     OGUNREMI                     CO     33090113022
56711631672B49   ARACELI      GONZALEZ                     CO     90011286316
56711A47185928   FERNANDO     VAZQUEZ                      KY     90013950471
567121A795599B   ROBERT       LOPEZ                        CA     90005311079
567124A1991587   BRYAN        ALVAREZ                      TX     90014504019
567144A3991587   DENNIS       YBARRA                       TX     90014844039
56714733A55997   MARIA        MORALES                      CA     90013667330
5671617835B531   CARLA        CABRERA                      NM     35087091783
567168A7557157   CHARLES      WD                           VA     90014818075
56716A94161971   ROSALBA      HELWA                        CA     90013780941
5671732487B49B   PHILLIP      HUTSELL                      NC     11098603248
56717573524B7B   GENARO       GARDUNO OSORNIO              VA     90014795735
567175A235758B   ISAAC        COLE                         NM     90002445023
5671776155715B   RACAEL       GARAY                        VA     90009997615
56717788972B27   SUSAN        ANDERSON                     CO     33052937889
56717A81757157   ELIAS        APARICIO                     VA     90011270817
567189A565B93B   BERTHA       FARIAS                       WA     90015369056
5671964A872B27   ALMA         DIAZ-LUJAN                   CO     90002536408
56719A81885928   OBDULIO      RAMIREZ LOPEZ                KY     90013950818
56719AA2A72B38   BRET         KERR                         CO     33039770020
5671B26124B588   DAVID        YAHOLA                       OK     21570422612
5671B746785928   TARLA        DERANGER                     KY     67028197467
5671BA33261971   MIGUEL       VALDEZ                       CA     46087080332
5672112265593B   ALFREDO      HERNANDEZ                    CA     90005161226
5672132A655997   NORMAN       RIOS                         CA     49023733206
5672137A45B531   DEBBIE       PARSONS                      NM     35060193704
56721986972B67   MARIA        DELCARMEN                    CO     90002279869
5672212265593B   ALFREDO      HERNANDEZ                    CA     90005161226
5672232254B588   JAMIE        DAWN                         OK     90013043225
5672332734B588   KAYLEE       LEDFORD                      OK     90012793273
5672364164B29B   CONNIE       GRANT                        NE     27068316416
56723646172B27   MYRON        PLENTYWOLF                   CO     33066436461
56723A9675B236   DENNIS       SALING                       KY     68035090967
56724449372B38   JUNITA       BISWA                        CO     90013934493
56724A34A55997   JORGE        SARAGOZA                     CA     90012350340
567251A8785928   JOSUEL       ECHEVERRIA                   KY     90013951087
56725333472B43   ANTHONY      SAIZ                         CO     90012643334
5672557895B538   MARLEN       ARROYO                       NM     90001685789
5672582795715B   ALEXANDER    CASTILLO                     VA     90013698279
567258A8861965   SAMIR        TOUMA                        CA     46078848088
5672613A155939   CLISSIE      CROWNOVER                    CA     90003651301
5672635A651348   ARIANA       AUSTIN                       OH     90013943506
5672676A191587   CONCEPCION   RAMIREZ                      TX     75056287601
56726A14A5758B   CLAUDIA      MINJARES                     NM     90011130140
5672767574B588   CHRISTINE    JOSEPH                       OK     90003186757
5672768A751348   MULUGETA     GIZAW                        OH     90005116807
56728121A85928   KAUSHA       MILLER                       KY     90013951210
5672895467B46B   ANSELMO      CASTILLO                     NC     90014179546
56728A51761965   DANIEL       SHOULTZ                      CA     46064910517
56729245872B43   ALICIA       ROMERO ESTRELLO              CO     90004812458
5672934A391587   JESUS        FLORES                       TX     90013393403
567297A3472B88   JULIE        ATENCIO                      CO     33004517034
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 115 of 2350


56729961A61971   LILIANA              VALDEZ               CA     90007369610
5672B78842B27B   DEMETRIUS            PEELER               DC     90006787884
5672B919A4B588   ALEJANDRO            LANDEROS             OK     90010679190
5672B986572B36   ANGELINA             RODRIGUEZ            CO     90014139865
5672BA4A172B49   KELLY                CASTILLO             CO     33069000401
5673152125715B   AUSTIN               RILEY                VA     81095545212
5673159637B46B   STEPHEN              BRYDEN               NC     90008065963
5673161A65B531   MELISSA              BARRERAS             NM     90010876106
567318A875B271   RITA                 MEEKS                KY     90012508087
5673346A32B221   RODERICK             MYERS                DC     90000284603
5673349745B399   JENNIFER             PICKNER              OR     90012994974
56733919172B67   CYNTHIA              BOWSER               CO     33041789191
56734375672B49   JAIME                KENNEDY              CO     90013363756
56734A6745B236   REBECCA              ALLEN                KY     68020020674
56735557A5B399   CASANDRA             REYNOLDS             OR     44576685570
56735AA2884329   JESUS                AVILA                SC     90008000028
56736593472B43   BEATRIZ              CABALLERO            CO     90007345934
5673B143785928   GABRIEL              MORALES              KY     90013951437
5673B227251348   TERESA               ROBBINS              OH     90014602272
5673B448172B36   RACHEL               RUBY                 CO     90008124481
5673B69A94B588   BENARDO              MARTINEZ             OK     90014816909
5673B95232B27B   DEVONTE              HOWARD               DC     90012849523
5674232734B588   KAYLEE               LEDFORD              OK     90012793273
5674267855758B   ANTENETTE            RAMIREZ              NM     90012466785
56742718872B36   AKILAH ESHE LILLIE   MITCHELL             CO     90012617188
567434A332B27B   PRANA                BELL                 DC     90001444033
56744218172B36   YULIANA              CORONADO             CO     90013782181
56745214672B38   GEORGE               LANG                 CO     90013042146
5674552A25B271   ALICIA               CUMMINS              KY     90010575202
56746423A5B399   AUDRA                REED                 OR     90015134230
5674712322B574   GRAY                 MC                   AL     90014541232
5674724525B387   LISA                 DOGGETT              OR     90001112452
5674818933B394   MYNOR                GARCIA               CO     33079901893
567482A6572B88   DAVID                DAMIAN               CO     33010402065
5674869A94B588   BENARDO              MARTINEZ             OK     90014816909
56748A19172B49   KARINA               AGUILAR              CO     33091660191
5674949595B399   SERGIO               VASQUES              OR     90013904959
5674971A62B27B   TAMEKA               ROBINSON             DC     90014247106
5674978672B27B   OSCAR                ALVAREZ              DC     90011127867
5674B1A342B27B   HATERIA TAMIKA       PEARSON              DC     90011981034
5674B84A95B387   TIFANI               KNIGHT               OR     44533498409
5674BAA3761965   DAWN                 SMITH                CA     46036490037
567522AA32B27B   ASHLEY               CRESTWELL            DC     90009322003
56752634A72B36   WENDY                GARCIA               CO     90013096340
567526A455B399   PUREZA               RESENDIZ HERNANDEZ   OR     90009646045
56752969672B67   NEIKO                AMBROSIO             CO     33025569696
56752AA8761965   MARTY                ISENMANN             CA     46001940087
5675329735B387   DRANDY               HARDISON             OR     44584092973
56753748172B36   CARLY                HOFF                 CO     90014127481
5675399173B332   SHAWN                ELLIS                CO     90010289917
5675399A491895   MISTY                BRACHNA              OK     90010969904
56753A68557157   HALEY                FRANK                VA     90009090685
56754464A72B27   GABRIELA             ZAMORA               CO     90009194640
56754716972B43   MARTHA               UROZA                CO     90007897169
5675491A555939   JOSE                 SANTOS               CA     90012729105
56755716972B38   CAROLINE             DURAN                CO     90012657169
56755AA4791895   EQUA                 ANTAI                OK     90010970047
5675661984B29B   HECTOR               BANDERAS             IA     90001656198
567578A692B261   DAVID                TERRY                DC     90002088069
5675854785758B   GABRIEL              JARAMILLO            NM     90015205478
5675874425B387   JEREMY               CLARK                OR     90005107442
56758799172B88   SANDRA               MOLINA               CO     33011407991
56758A39A55939   LEANNE               TREVINO              CA     49012910390
56758A43472B67   COLBY                ZECH                 CO     90011200434
5675941885715B   BRAIN                MASIN                VA     90011924188
56759899A72B36   DIANA                YRINEO               CO     33005538990
56759993A5758B   SHARON               BARTLEY              NM     90012559930
56759A2315B236   ANGELA               BROWN                KY     68000870231
56759A3195B543   TYRESHIA             CHESTNUT             NM     90003280319
5675B7A585B543   VERONICA             PIEDAD               NM     35011487058
56761A9A78B356   SHANAVIA             MCFADDEN             SC     90013940907
56762211372B88   RENE                 MANGE                CO     90007062113
5676227A692852   MARTHA               ANDARDE              AZ     90014292706
5676276725715B   JESSICA              MENDEZ               VA     90008707672
56763339372B38   ROBERT               WILLIAMS             CO     90013753393
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 116 of 2350


56763941872B58   BRITTANY        LEIGHANN                  CO     90010869418
56764172272B27   VIVIAN          ANDREU                    CO     33024581722
5676438815B531   MIGUEL          CASTREJON                 NM     35099383881
5676439A731429   ROBERT          JOHNSON                   MO     90010483907
56764A2775B399   CORRENA         COLEY                     OR     90013450277
567653A9191587   RITA            ONTIVEROS                 NM     90012803091
567658A9561965   ROSA            GARCIA                    CA     90013308095
56765948A72B38   PEDRO           ROJAS                     CO     33000569480
56765A3584B588   NATASHA         KENNEDY                   OK     90013170358
5676642774B29B   BEVERLY         WEBB                      NE     27005894277
5676678554B521   EDILSAR         GONZALES                  OK     21516167855
56767387172B27   JAMES           WHITE                     CO     33091473871
56767551172B38   TORRES          JOSE                      CO     33090495511
56768711372B98   VIRGINIA        AMBRIZ                    CO     90009617113
56769231A5598B   SARA            ALVAREZ                   CA     90007742310
5676B266585928   MELISSA         TOLES                     KY     90014962665
5676B381872B43   BR2AN           WILLIAM                   CO     90015173818
5676B53145715B   ERICKA LORENA   GARCIA ALVAADO            VA     90011785314
5676B67115758B   SARAH           CLOSSON                   NM     90000806711
5677183485B399   RAYSHELL        COOPER                    OR     44539208348
5677223A284357   LATOYA          LESESENE                  SC     90009832302
56772726472B49   SL              MORALEZ                   CO     33008437264
56772A9967B46B   SUGEY           MANZANARES                NC     90011910996
56773372872B36   TRACEY          ULRICH                    CO     33091793728
5677365125B399   MARIA           ZEPAHUA                   OR     90008926512
56773A5887B362   GERBER          BARRIOS ANGEL             VA     90006980588
5677439272B27B   LAKEYVETTE      SEARS                     DC     90014323927
5677559165758B   LILLIANA        HERNANDEZ                 NM     35588035916
5677583342B27B   ANTONIA         WILLIAMS                  VA     81047118334
5677616AA5B387   MARGARET        RANGEL-CRUZ               OR     90014221600
567765A1A2B27B   LESLIE E        JENNINGS                  DC     81009255010
5677675A561971   MICHAEL         ROSE                      CA     90013057505
567769A3184357   CAROL           LEE                       SC     14570739031
56777829624B35   JUAN            PEREZ                     VA     81098178296
5677788295B236   AUTUMN          ROBINSON                  KY     90003388829
56778297A4B588   ASHLEE          GARDNER                   OK     21589442970
56778A55672B49   KRYSTAL         GOODMAN                   CO     33034740556
56779439A57157   YOALMO          ARAUJO                    VA     81088274390
5677984435B531   ASHLEY          RIVERA                    NM     90009898443
56779A58472B93   VERONICA        PACHECO                   CO     90001710584
5677B17A15B531   IVETH           ESPINOZA                  NM     35090341701
5677B6A9461965   THAIR           BINYAMEN                  CA     46032486094
5677B941A61971   IVON            ISSA                      CA     90004799410
5677BA7754B588   LAURA           CANALES                   OK     90014150775
56781A58961965   PEDRO           CADENA                    CA     90014950589
56782168872B67   ENDHER          PEREZ                     CO     90015311688
5678226287B46B   RAUL            OCHOA                     NC     90012622628
5678247235B271   JERMAINE        BERNARD                   KY     90004404723
56783361472B49   GABRIELA        PEREZ                     CO     90003583614
5678344494B521   KANESHA         SHELTON                   OK     90007014449
56783495572B38   JOSE RAMON      CHAVEZ MELENDEZ           CO     90014374955
56783641A51348   MELISSA         BURNS                     OH     90007926410
56783721372B67   VICTORIA        GONZALES                  CO     33092817213
5678414A372B67   HELEN           MARTINEZ                  CO     90011141403
56784834A33682   DAVID           ROBERTSON                 NC     90013878340
5678518A45B387   LESLEE          WILCHER                   OR     90014031804
5678523742B27B   ZELES           BUTLER                    DC     90007002374
56785294672B36   FREDERICK       FONTENOT                  CO     90005312946
567853A8191587   VASHTY          VIGIL                     TX     90003113081
56785421372B27   JOHN            CIMAFRANCA                CO     90009034213
56785584A55939   DANIEL          MELENDEZ                  CA     90014905840
5678559484B588   JOSHUA          WELCH                     OK     90013505948
5678564795B543   ERIKA           HURTANO                   NM     90012556479
56785785272B36   SAVANNA         MAESTAS                   CO     90015027852
56785995A72B38   MALCOLM         COULTMAN                  CO     90014559950
5678631195B399   KIMBELY         KANTO                     OR     90011323119
567867A835B387   ELEONORA        SLOVODA                   OR     44565587083
56786925872B49   JOY             SURRATT                   CO     90007759258
5678753494B588   ROBERT          MAYFIELD                  OK     90010145349
5678773333B394   MIKE            ANDREATTA                 CO     90009637333
56787811572B67   MARIA           LOPEZ                     CO     90004528115
56788512872B38   JULIO           MEJIA                     CO     90014385128
56788711172B67   CHATAYA         LOLLIS                    CO     90000817111
56789426A55939   JOHN            LUNA                      CA     49006134260
56789A3265715B   RUBIA           RODRIGUEZ                 VA     90012990326
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 117 of 2350


5678B139872B67   JAMIE           CRAWFORD                  CO     90011141398
5678B427991895   JOSHUA          HOEHNER                   OK     90014504279
5678B712633699   JAIRO           CAMPOS                    NC     90011787126
5678B999651348   CARLA           WILLIAMS                  OH     90014859996
5679119A63B35B   MARIA           CARDOZA                   CO     90014211906
56791248672B43   RUDY            SANDOVAL                  CO     33049062486
567918A125B399   OSCAR           FERRUZCA-CASTANEDA        OR     90014898012
5679455A25758B   MONIQUE         ROCHA                     NM     90014385502
56794572472B36   GEANESIA        HINTON                    CO     90014105724
56795741A91587   CHRISTINE       ANDERSON                  TX     90013207410
5679582135B399   ATANACIO        AVELLANEDA                OR     90010938213
56796723A72B36   JEANINE         NELLIS                    CO     33096717230
56796972772B67   KATIE           BOBBIN                    CO     90003289727
56797329872B49   MICHELE         WAKE                      CO     90014823298
567973A5A55997   PABLO           LOPEZ                     CA     49097373050
567976A584B588   JOHN            MAYFIELD                  OK     90009826058
56797829572B49   TERESA          LIGHTHALL                 CO     33096938295
56797A7A761971   OSCAR           ALATORRE                  CA     90002360707
567981A3961971   JAMES           SASHER                    CA     90013651039
56798244672B27   LA QUANA        BROWN                     CO     90013462446
567984A445B399   CHRISTOPHER J   FILLINGHAM                OR     90010724044
5679853557B46B   KEIASHA         BUTLER                    NC     90013835355
56798691A4B29B   TONI            WILBURN                   NE     27022866910
567991A6857123   BERTA           BERRIOS                   VA     90011401068
56799468972B49   DAVID           JIMENEZ                   CO     33056694689
5679947467B46B   PATRIC          LEARY                     NC     90003504746
5679962A472B38   ROBERT          KETTERMAN                 CO     90010296204
5679B234785928   JANIAH          CARTER                    KY     90013972347
5679B31A15715B   ASEFU           AREGAWI                   VA     90010233101
5679B51255B387   PEDRO           MARCELINO                 OR     90006555125
5679B51275B399   STACIE          WILLIAMSON                OR     44589325127
5679B582172B27   MARGARITA       ARELLANO                  CO     33028405821
5679B8A1731665   DENISE L        DAVIS                     KS     90007508017
567B1395272B49   ELSA            BARDALES                  CO     90002963952
567B18A5772B38   HECTOR          REYES                     CO     33037318057
567B229185758B   JOHNSON         TAMY                      NM     90006992918
567B2551691587   OCTAVIO         SOLTERO                   TX     90012315516
567B2586772B43   OLIVIA          TIEH                      CO     90013175867
567B269495B531   LUCERO          CHAVEZ                    NM     90012986949
567B2759357148   ALMA            MACHUCA                   VA     90007317593
567B2977A4B588   NATASHA         DEAN                      OK     90011029770
567B322114B521   NAKKITA         YOUNG                     OK     21532992211
567B3253891895   EBOUTOH         FOBIA                     OK     21084932538
567B3559A5715B   RODNEY          CHANDIA                   VA     90015285590
567B3A9417B394   CRISTIAN        FERREL                    VA     81094500941
567B487985B531   VELMA           BLACK                     NM     90011888798
567B4A41872B38   SENA            LINDA MARIE               CO     33076380418
567B523195B399   NORMAN          CORTES COKER              OR     90014812319
567B529515758B   ALICIA          MORALES                   NM     35508442951
567B551515B543   JEANETTE        TURNER                    NM     35072135151
567B5557172B67   CHARLIE         GARZA                     CO     90011155571
567B576A761936   KARLA           MARQUEZ                   CA     90008047607
567B5799755997   VERONICA        MENA                      CA     90013937997
567B6298672425   SHARON          HOHN                      PA     90007692986
567B6599172B36   IVONNE          ALEMAN                    CO     90012415991
567B681AA91895   ANDREA          ALFORD                    OK     90013198100
567B6862851348   LISA            RATLIFF                   OH     66035568628
567B69A1872B49   GIOVANNI        BANUELOS                  CO     90005089018
567B7347A57157   ATIF            ZIA                       VA     90012943470
567B7358872B43   RAQUEL          PEREZCEDILLOS             CO     33002933588
567B759A955939   ALEXANDER       VASQUEZ                   CA     90013245909
567B7716391895   ASHLEY          ALEXANDER                 OK     90010407163
567B8462661971   ARNOLD          AVALOS                    CA     46049154626
567B8A92555997   ROJELIO         RICO                      CA     90009820925
567B915A572B43   RANDAL          SEIFERT                   CO     33085111505
567B917135B531   KEVIN           DURAN                     NM     90013481713
567B9242661965   MICHAEL         CONWAY                    CA     90013882426
567B9591A57157   JOSE            CELEDONIO                 VA     90006775910
567B961867B46B   MARK            BISHOP                    NC     90011406186
567B9645361939   CHRIS           JENNEN                    CA     46003206453
567B99A447B359   SUNIL           BISWAL                    VA     81093849044
567B9A9A951348   DAGOBERTO       MEZA                      OH     90004600909
567BB39865B387   AKASH           SINGH                     OR     44549663986
567BB44745B271   LATONIA         KELLY                     KY     68056004474
567BB46935B399   DENNIS          DIXON                     OR     90010734693
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 118 of 2350


567BB563155939   MISAEL       TIXTA                        CA     90015375631
567BB57A75758B   ALEXANDRA    CORPUS                       NM     90014855707
567BB629161971   GAVINO       PINEL                        CA     90011236291
567BB65A151348   LEANECE      ARMSTRONG                    OH     90014416501
567BB67A372B27   MARLIN       STEVENS                      CO     90013256703
567BB738A72B38   IRENE        ORTEGA                       CO     90009917380
567BB989A61971   EDWARD       WHITESIDE                    CA     90013049890
5681162A95B531   RODNEY       GOODLOE                      NM     90015276209
56811973372B36   PRISCILLA    AGUILA                       CO     90011159733
5681212725758B   GERMAN       ROMARO                       NM     90004071272
56812482A55939   JUAN         ORTIZ                        CA     90012164820
56812A2882B27B   DESTINY      MACK                         DC     90012850288
5681325625B397   EULALIA      FELIPE MATIAS                OR     90007152562
5681376A291988   JESUS        ARROYO BENITEZ               NC     90011177602
56813847472B38   MARTIN       QUINTANILLA                  CO     90012808474
5681414787B491   LISA         HEAVNER                      NC     11013241478
56814456472B43   DAVID        GRIEGO                       CO     33038524564
5681683335715B   ALEXANDRO    AGUILAR                      VA     90013958333
5681683564B588   SELIMA       SEIPP                        OK     90002628356
56816A74961971   FELICIANO    HERNANDEZ                    CA     90015000749
56816AA2957157   CONNIE       WASHINGTON                   VA     90013930029
56817367A72B43   DIONISIO     REYES                        CO     33086083670
56817993672B38   DELRENA      CHAVEZ                       CO     90012699936
56817A75891587   RONALD       RAMIREZ                      TX     90012080758
56817A97791895   STACEY       RIVETT                       OK     90002700977
5681825625715B   HERLINDO     VALIENTE                     VA     81077202562
5681853525B387   JUAN         VELAZQUEZ                    OR     44590685352
56819117972B43   FRANISCO     GUTIERREZ                    CO     90004511179
5681942A25B399   CAZMINE      WARBONNOT                    OR     90014624202
5681B354472B67   BOYCE        JOSH                         CO     90007473544
5681B613472B27   SHEILA       BAKER                        CO     90011176134
5681BA6165758B   GUSTAVO      MEJIA                        NM     90013840616
5681BA6AA72B49   STEPHANIE    CONTRURAS                    CO     90008360600
56821146172B49   EDUARD       IUSUPOV                      CO     33025991461
5682116AA55997   LORENA       GARCIA                       CA     90013941600
5682123752B27B   JOSUE        CARIAS ALVAREZ               DC     81003812375
5682131115715B   MUHAMMAD     HUSSAIN                      VA     90004363111
5682166A891895   SHARIECIA    FULTZ                        OK     90008926608
5682211177B461   TIMOTHY      DOUGLAS                      NC     90001721117
5682315325758B   MARTIN       RODRIGUEZ                    NM     90013221532
56823455372B38   JOAN         SIMS                         CO     90011224553
56823529372B67   WILBERT      SANDOVAL                     CO     33036465293
568243AA15758B   BERTHA       LOPEZ                        NM     35514593001
5682463455715B   ERCIDES      BARAHONA                     VA     90014116345
5682512A191587   ESTEVAN      PINON                        TX     90013661201
5682586A272B38   LEONEL       PEREZ                        CO     90008278602
56826271772B49   KELLY        PATTERSON                    CO     33053402717
56826975A72B36   SUSAN        HUGES                        CO     90011159750
5682725A67B69B   ARNOLDO      ROSALES                      GA     90012532506
56827263672B27   ELIZABETH    BARRALES                     CO     90012352636
5682728877B491   SERENA       JOHNS                        NC     11024772887
56827455472B38   MANUEL       MEJIA                        CO     90011224554
5682748A285928   TALENA       MYERS                        KY     90015094802
5682766118B173   ANGEL        MONTALVO                     UT     90010376611
568282AA484347   MISTY        BUNCH                        SC     90005922004
5682875575B531   MARY         IBARRA                       NM     90015107557
56829157772B67   SANDY        MADRID                       CO     33094451577
5682953484B588   KIMBERLY     DANIELLE                     OK     90015115348
5682987144B536   SHANNON      MASSAD                       OK     21504008714
5682B265291893   CHRISTIE     WATSON                       OK     90009942652
5682B776A72B49   YONNICE      JOHNSON                      CO     90011997760
5683149AA72B27   ANTHONY      MEDINA                       CO     90012434900
568317A874B587   NIKKITA      GRANT                        OK     90014527087
5683181A472B38   NATALIE      GRIFFIN                      CO     90006308104
56832565572B67   KENDALL      HELFRICH                     CO     33082055655
5683295245B236   CYNTHIA      CRUTCHER                     KY     90011349524
568346A952B869   JAVIER       CERVANTES                    ID     42069396095
5683496585B399   MATHEW       BRAINARD                     OR     44525009658
568349A7172B88   JOSE         CHAVEZ                       CO     33081519071
56835412472B38   SELENE       CASTREJON                    CO     33028954124
5683582274B588   HEATHER      SPINKS                       OK     90013198227
56835921772B49   VANESSA      TORRES                       CO     90013929217
56835A4515758B   ALMA         VALDEZ                       NM     90013940451
5683635217B46B   MICKEY       CHAPMAN                      NC     11014133521
56838319472B49   SUSAN        FERNANDEZ                    CO     33040023194
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 119 of 2350


5683849532B27B   SHARYN       PRYOR                        DC     90012554953
5683859897B491   ERLIN        PEREZ                        NC     90014175989
5683874597B46B   BLANCA       DOMINGUEZ                    NC     90013027459
5683943785715B   JACINTO      RIVERA RAMIREZ               VA     90012794378
56839A1794B588   SHELLA       WILLIAMS                     OK     90013340179
5683B43922B27B   JAYVEL       WATERS                       DC     90014874392
5683B717372442   REGINA       METRO                        PA     90001127173
5683BA3A54B588   JOSH         BLEDSOE                      OK     90013370305
5684118915B387   SONIA        GOVEA                        OR     44558051891
5684137737B46B   LENORA       MAYS                         NC     90012843773
56841492A72B38   LUZ MARIA    RODRIGUEZ                    CO     90013924920
56841629372B27   MARIE C      KOUAME                       CO     33069566293
5684255435715B   ANDRES       POCASANGRE                   VA     90009195543
5684274884B588   FORREST      FREEMAN 111                  OK     21559727488
56842752172B38   ERIC         ALVA                         CO     33084787521
568429A7691895   JAMIE        BASCO                        OK     90013789076
56842A21A8B181   PATTI        DIXON                        UT     90003660210
56842A7337B46B   ADRIENNE     WALLER                       NC     90008350733
56842A9A672B49   CRYSTAL      ALDERETE                     CO     90012310906
56843279472B36   RONALD       THORSTEN                     CO     33067392794
56843311372B38   ALIN         MOLINA                       CO     90008933113
5684415124B588   TOMMY        TISON                        OK     90009481512
5684443465B271   BRANDON      WARREN                       KY     90002354346
5684488455B399   CYNAMIN      WARD                         OR     90012638845
56845511A57157   OSCR         LOLIVA                       VA     90007805110
5684659A155997   ISAIAH       LORENZO                      CA     90012355901
56846A97372B27   RITA         DURAN                        CO     33071670973
5684713584235B   JENNIFER     MOORE                        TN     90015161358
5684794A572B27   RAQUEL       CAMPOS                       CO     90007709405
56847985572B49   JOSE         CANTOR-GALICIA               CO     90014469855
5684847344B588   JOHN         HILL                         OK     90014574734
56849422372B38   DAMMION      PARKER                       CO     90014004223
5684B198A61936   MELISSA      PACHECO                      CA     90008671980
5684B637985928   ADAB         PEREZ                        KY     90011856379
5684B744161971   DANIEL       ORTIZ                        CA     90014407441
5685137654B29B   NOE          MEJIA                        NE     27002833765
568514A8372B27   JOHN         BUGARINS                     CO     90013604083
5685185135B399   DENNIS       ECCLES                       OR     44524788513
5685193A991895   AMANDA       BECERRA                      OK     90013789309
56851947172B36   SARA         STEWART                      CO     90010489471
5685258425B387   KOREY        SMITH                        OR     44585605842
56852931A91895   MYRON        MATHIEU                      OK     90013789310
5685311755B399   MATTHEW      GRAY                         OR     44507581175
56853879272B38   BARRETT      JEREMY                       CO     90007278792
56853999A57127   OLGA         GALDAMES                     VA     90004829990
56854192672B36   LISA         VARGAS                       CO     90011501926
5685435365B387   MR BRIAN     CEK                          OR     90011343536
5685486865B123   ANTHONY      KING                         AR     90014578686
5685528A531428   JAZMIN       SWAN                         MO     90006762805
56855762972B88   MARISOL      MARTINEZ                     CO     90003207629
56855A13661965   EUNICE       CASTROCORREA                 CA     90014760136
5685678825715B   SANDRA       CUVARRUBIAS                  VA     81018047882
56856A82672B43   EVERARELO    PEDROZA                      CO     33096830826
56857598272B36   ELIZABETH    LUEVANOS                     CO     90010075982
568582A6291895   TAYLOR       SIGLI                        OK     90014572062
568585A8A72B49   COURTNEY     MINTER                       CO     90014905080
56858A12831468   DEMETRIA     JOHNSON                      MO     90001890128
56859174172B38   JOSIAS       OLSIN                        CO     33000971741
5685939235715B   ALFRED G     THULLAH                      VA     90014073923
5685976A661971   TRACEY       RIVAS                        CA     90009877606
5685989695B387   NANCI        OCHOA                        OR     44595408969
568599A984B588   TELA         PINTO                        OK     90015309098
5685B426A5B387   STEPHANIE    SANCHEZ DEL RIO              OR     90015124260
5685B431A61971   ADAM         HILL                         CA     90015144310
5685B952291587   DAVID        FANNING                      TX     75065419522
5686255A25758B   MONIQUE      ROCHA                        NM     90014385502
5686269A485928   TINA         ADAMS                        KY     90010646904
568633A7A5715B   BERTA        AVILES                       VA     90004803070
56864345672B49   CHRISTA      GONZALEZ                     CO     33067503456
5686455655B399   TERESA       CARLSON                      OR     90005595565
56864743672B36   LORRIE       MARTINEZ                     CO     33013377436
5686528825758B   MARIA        HERNANDEZ                    NM     90013682882
5686634945715B   HARRIS       JEROME                       VA     81014873494
568668A7972B36   JACQUELINE   PENA                         CO     33093068079
56866A18172B38   MARIA        MARRUFO                      CO     90004030181
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 120 of 2350


56867811372B36   JOSE         SOSA                         CO     90000918113
568678A277192B   ROBERT       FURLONG                      CO     90002328027
5686851655B236   BILLY        BROWNS                       KY     90008445165
56868637772B36   JENNIFER     THOMAS                       CO     90012666377
56868946172B49   CHRISTINA    HUIZAR                       CO     90014779461
56868A8574B588   JANETTE      RAMIREZ                      OK     21509560857
5686999945B399   JOSE         MURALLES PEREZ               OR     90010389994
5686B349785928   ANTHONY      FRAZIER                      KY     90014873497
5686B787755997   SYLVIA       TORRES                       CA     90009337877
5686B97845B279   LASHAE       PHARRAM                      KY     90008719784
5687117A75B531   JUDITH       ARVIZU-CARDONA               NM     35040101707
5687271724B588   JOVITA       REYES                        OK     90014847172
56872959472B27   GUSTAVO      ARIAS                        CO     90012119594
5687335585715B   SHANNA       SEAGER                       VA     90011793558
56873593672B49   JESUS        LUNA RODRIGUEZ               CO     90013335936
5687392915758B   BERENIS      MUNIZ                        NM     90013299291
56873A6382B869   MICHAEL      BAUMBACH                     ID     90011740638
5687431AA5B399   PAM          BROWN                        OR     44598163100
5687491515B52B   BERNARDO     ULLOA                        NM     35004609151
56875281572B36   RICARDO      RAMOS                        CO     33054012815
56875284372B38   RICO         MONTEZ                       CO     90009082843
5687531815758B   JANETTE      GONZALES                     NM     35589373181
5687624272B27B   TRANESHIA    STAFFORD                     DC     90012992427
56876428972B43   SHERLOCK     AMBER                        CO     33081124289
5687657615B531   ANGELIQUE    INGERSOLL                    NM     90009985761
5687658A691587   JOSE         GONZALEZ                     TX     90002815806
56876713A27B48   DELOIS       CALHOUN                      KY     90011367130
5687724365B283   JESSE        EVANS                        KY     90006702436
5687751985B399   JUAN         ZARATE                       OR     90006375198
56878349A55939   PRECIOUS     BARRIOS                      CA     90014833490
56878634A72B36   WENDY        GARCIA                       CO     90013096340
5687961245B387   ANNA         WRIGHT                       OR     90011426124
5687971587B46B   VENUS        WALLACE                      NC     90011827158
56879A75972B36   JULIANNE     FRESQUEZ                     CO     90010110759
5687B88A991587   ALFONSO      MARTINEZ                     TX     90010698809
5687BA1195715B   MAKOKO       COULIBALY                    VA     90015280119
5688138624B588   ELY          GRIFFITTS                    OK     90012793862
56881751972B36   RAYMOND      MCKIZZIC                     CO     33072687519
568835A5861965   DAVID        SEAVELLO III                 CA     90013115058
56884157772B38   KATIE        FERNANDEZ                    CO     90013061577
5688512A52B27B   ANDREA       PONSON                       DC     90012851205
5688514894B588   CAROL        MONTGOMERY                   OK     90011031489
5688546255B244   DESIREA      ROWE                         KY     68066764625
5688612A52B27B   ANDREA       PONSON                       DC     90012851205
5688784A34B588   VALERIE      FOY                          OK     90014268403
568878A577B468   BRANDY       STROUD                       NC     90004408057
56887A4A35B399   STEVE        LARA                         OR     90014530403
5688839A161971   JENNIFER     SCHLANDER                    CA     46065363901
56888779172B49   JESUS        GARCIA                       CO     33004657791
5688885355B399   CARLOS       FUENTES                      OR     44514528535
56888A4A885928   AUTUMN       HADDIX                       KY     90014060408
5688972287B46B   KENNIETH     BOONE                        NC     90008067228
5688B379176B31   MODESTA      JAXIOLA                      CA     90003893791
5688B5A874B588   WILLIAM      TAFT                         OK     21541455087
5688B77322B27B   LAWON        JENIFER                      DC     81004717732
5688BA23955997   MARCELINA    GONZALEZ                     CA     49019910239
568915A2155997   MARIO        DIAZ                         CA     49032425021
5689197825B283   BOBBY        MCGEORGE                     KY     90007979782
56892134A85928   CARLOS       ARANDA                       KY     90002051340
56892264624B3B   MARTA        LEON POLO                    DC     90003662646
5689227655B236   VERONICA     WHITE                        KY     90011522765
56892854572B36   CRISTINA     FINLEY                       CO     90014798545
5689314A62B949   EVELIN       SANCHEZ                      CA     90013141406
5689326354B524   RAUL         NUNEZ                        OK     90008102635
5689337515B387   AMBER        DOMINGUEZ                    OR     44551443751
5689371A471946   ANNA         KARIEGE                      CO     90011967104
56894785272B43   ELIZABETH    SKRETTA                      CO     90014487852
568947A2A2B92B   GEORGE       SCOGGINS                     CA     90009507020
5689484132B27B   MARTHA       RODRIGUEZ                    DC     81027968413
5689488337B46B   SHEILA       GODWIN                       NC     90009998833
56894A69772B38   CLAUDIA      LINARES                      CO     33078970697
5689514472B27B   SAMUEL       WARREN                       DC     90012851447
568958A3261965   RENEE        KNUTSON                      CA     90013758032
568962A255B271   CRISTY       MORRISA                      KY     90004232025
56896633972B27   MARTIN       RODRIGUEZ                    CO     33029196339
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 121 of 2350


5689775654B251   ALEJANDRO    GARCIA                       NE     90014897565
56897A9955B399   TERRY        SOUTH                        OR     44574110995
56897AA425B531   ALFREDO      FLORES                       NM     35051620042
5689826355758B   MARIA        ALVARADO                     NM     35588992635
5689841972B92B   EDITH        JIMENEZ                      CA     90014754197
56898637A55939   CYNTHIA      SANCHEZ                      CA     90000436370
568988A325715B   HINA         AHZAZ                        VA     90011798032
56898A8574B588   SHAQUETTA    MACK                         OK     90013250857
56899A9197B383   KENNON       BONDS                        VA     90012520919
5689BA94572B43   LATOYA       CHAVEZ                       CO     90015330945
568B1137472B43   MARIO        RUIZ                         CO     33008161374
568B196A172B49   VERDELLA     ARNEST-HUDSON                CO     33005979601
568B2219357157   YELSON       CRUZ                         VA     90003462193
568B252415B531   VICKY        BURNETT                      NM     35075575241
568B259915758B   JULIA        TELLEZ                       NM     90010125991
568B27A795758B   CUNG         NGUYEN                       NM     90010697079
568B2977161971   CHESTON      HAUER                        CA     90014099771
568B3294251348   PAMELA       TYE                          OH     66089482942
568B3297655997   ROY          FERNANDEZ                    CA     90012652976
568B345295758B   JULIER       BACA                         NM     90014624529
568B346324B588   CASSANDRA    ADAIR                        OK     90012084632
568B4458255997   ELISEO       GALLEGOS                     CA     90013074582
568B451115B387   BRYCE        WASHINGTON                   OR     90014345111
568B458A561965   TRAVIS       HEPNER                       CA     90014315805
568B5296172B38   CLAUDIO      MIJARES                      CO     33077032961
568B5661551348   EMMA         HICKSON                      OH     66024446615
568B721A35B283   BENTARO      GUTIERREZ                    KY     68016702103
568B7493251348   LASHAWNA     HARRIS                       OH     66013294932
568B782135B399   ATANACIO     AVELLANEDA                   OR     90010938213
568B8189672B49   MARCUS       MATHEWS                      CO     90013311896
568B842925B387   STEWART      CAMPBELL                     OR     44521494292
568B9A14872B36   ESMERALDA    SHADY                        CO     33038290148
568B9A4A64B588   PAIGE        WILLIAMS                     OK     90011520406
568BB363A5B543   ASHLEY       SGALA                        NM     90002963630
568BB823991587   ELSA         FRANCO                       TX     75010378239
568BB9A5755939   ALMA DELIA   CUELLAR                      CA     49032239057
5691151A84B29B   SANTOS       NARVAEZ                      NE     90005975108
569121A8872B67   JOSH         ANDRESON                     CO     33008101088
5691318134B588   CHERYL       BUFFALO                      OK     90011031813
5691374A65758B   AMBER        HARRELL                      NM     90012007406
56914A9A485928   ANTONIO      WEBB                         KY     90001440904
569151A292B27B   EDWARD       TAYLOR                       DC     81095611029
5691526217B46B   MARIA        DIAZ DE BILLEREY             NC     11080142621
5691535A272B36   LYNN         TOOKER                       CO     33091033502
5691553A172B38   IAN          HESLEP                       CO     90014165301
56915A2314B588   PEGGY        WILLIAMS                     OK     90009980231
56915AA915B387   STEVE        FROOM                        OR     90000860091
5691659A861965   BRANDON      CODY ALLEN                   CA     90015025908
56916A34333699   ALBERTO      MALDONADO                    NC     90011810343
56916A6A45B531   JOSEPH       GRIFFIN                      NM     90009160604
56917475872B38   JOSE         VEGA R                       CO     90011224758
56917495A72B27   ANTONIO      GARCIA                       CO     90007584950
56918156A61965   MARILYN      HARRAH                       CA     46029211560
56919552A72B36   MARIA        ESTRADA                      CO     90002945520
569196A644B588   NANCY        AVILA                        OK     90014686064
5691B32142B27B   SABRINA      DEVINE                       DC     90014023214
5691B677933699   ROBERT       WRIGHT                       NC     90002276779
5691B749391587   JUAN         URENO                        TX     90015067493
5691B81554B29B   CAMERON      ZENDEJAS                     NE     90010518155
5691B88645598B   SAMUEL       FLORES                       CA     90003008864
5691BA5374B588   JOSE         MORA                         OK     90015160537
56921189A4B588   CYNTHIA      KIENKA                       OK     90012801890
569215A4572B38   MARIAH       PERRI                        CO     90006655045
5692256438B193   LETTICIA C   GUTIERREZ                    UT     90012425643
5692257442B27B   MARKETA      WILLS                        DC     90001295744
56922644172B88   CHARLES      SHERMAN                      CO     90008126441
5692274745B283   DUANE        ROBINSON                     KY     90013477474
5692278A772B49   TARA         ESKAM                        CO     33042087807
569232A335B387   KYRA         LOPEZ                        OR     90006892033
5692497575B399   DEBORAH      BOBB                         OR     90002769757
56925225672B49   ROMEO        GUTIERREZ                    CO     33089682256
56925A9A95758B   ENRIQUETA    CARRERAS                     NM     90012030909
5692625337B385   MILVIA       SANTILLAN                    VA     90002882533
5692647274B521   ROSA         CERVANTES                    OK     90002774727
56926984172B49   DILLINGER    CHARLES                      CO     90013139841
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 122 of 2350


5692738755B283   MR JAMES     WEATHERS                     KY     90005543875
56927477A91895   MIESHIA      RUTH                         OK     90009654770
5692772AA91587   JOHN         PRIEGO                       TX     90013797200
5692B171886545   DANIEL       RUSSELL                      TN     90015531718
5692B2A8172B49   RUFINA       LAGUNAS                      CO     90011072081
5692B377191535   JM           ADKINS                       TX     90003323771
5692B576472B38   SANTIAGO     RUIZ                         CO     33082685764
56931258A91895   DEDEE        BOATMAN                      OK     21057232580
5693136AA4B52B   CHIQUITA     BROWN                        OK     21588803600
5693151A955939   JESSICA      VENTURA                      CA     90011405109
56931812172B88   LEANDRO      LOPEZ                        CO     33050448121
56931A9815B283   TAWANA       CAUSEY                       KY     90004810981
5693216215B236   MARY         FLANAGAN                     KY     68025431621
5693232A55B37B   RIBERT       GREYBAR                      OR     90008383205
56932478372B38   JOSE         MUGUIA                       CO     90011224783
56932A66572B67   RAN HAE      KIM                          CO     90010600665
5693314335B283   DAWN         WILLMAN                      KY     90001661433
56933462472B27   JASMINE      AUSTIN                       CO     90014874624
5693462AA7B359   MELISSA      MONROE                       VA     90010016200
5693469A35B387   RICARDO      PAT CHALE                    OR     44534106903
5693577A47B46B   ANGELA       TRUESDALE                    NC     90014597704
569357A9633696   IMARI        WATKINS                      NC     90001807096
56935812672B38   ANDREW       CROSS                        CO     33055608126
56935843672B49   JOSE         CARRERA-CUEVAS               CO     90010928436
5693613A35B387   TRISHA       BROWN                        OR     90013581303
569363A2551348   DHAN         RAI                          OH     90007653025
56936596A72B27   CANDANCE     THOMAS                       CO     90012105960
56936696172B67   VICTORIA     ANTONIO                      CO     33047096961
56936A86A72B43   MICHAEL      VON SHARPSTEEN               CO     90012580860
5693714785B399   RENAE        SCOTT                        OR     44573941478
5693826965758B   MARIA        ARMENTA                      NM     90013942696
569389A655B289   LARRY        RAYMOND                      KY     68043889065
5693969A298B47   JESUS        HERRNANDEZ                   NC     90013046902
5693B335A72B43   JEREMY       RONQUILLO                    CO     33035643350
5693B845172B27   JOSE         SANCHEZ                      CO     33038778451
5693B876431428   DELORES      BLUE                         MO     90001358764
5693B876A91895   JASON        BUNNELL                      OK     21051358760
5694115577B49B   GREG         LEWIS                        NC     90009171557
5694133785B399   TRISHA       TURNER                       OR     90014063378
56941735524B7B   ANDREW       JOHNSON                      VA     81084467355
5694221A85B236   DAVID        YATES                        KY     68092202108
5694233215715B   METEKU       WORKU                        VA     81060273321
5694234A272B43   RICARDO      MENDOZA                      CO     90014153402
56943236A5B399   ANDREW       BATTERSON                    OR     90014812360
56943552A72B88   JOSE         AYALA                        CO     33051015520
5694396A161965   AMY          CANNON                       CA     90002849601
5694415A32B958   MARQUITA     DAVENPORT                    CA     90004121503
569444A4924B7B   DANY         REYES                        VA     90013954049
5694527A27B46B   ANAGELI      RAMIREZ                      NC     90007992702
56945435372B36   MARLENE      RENTERIA                     CO     90014264353
5694611325598B   CHINEDU      AKABIKE                      CA     90009961132
56946473A51348   LUCINO       PATINO LUNO                  OH     90013804730
56946596872B67   CHRIS        RYSZKOWSKI                   CO     90005095968
56947378A55997   ARLEEN       ALVES                        CA     90012153780
5694749617B46B   SADE         MCCRORY                      NC     90011144961
5694799687B491   KATRINA      NICHOLS                      NC     90004199968
5694883715B387   CYNDI        BANZER                       OR     44507728371
56948A48A61926   MIREYA       VARGAS                       CA     90008240480
5694912665B236   TINA         BURNELL                      KY     90003391266
569496A2A72B36   WILLIAM      BURKE                        CO     90013986020
5694988873B391   KEVIN        ROBERTS                      CO     33074478887
5694B16554B521   NORMA        RIOS                         OK     21541551655
5694B478855939   CINTIA       CHAVEZ                       CA     90009274788
5694B84AA2B27B   DANZEL       BAKER                        DC     81094008400
5694BA38372B67   CHRIS        DAVIS                        CO     90005700383
5695153415B399   MR SHAWN     STIPE                        OR     90009495341
5695184995715B   MELVIN       ROMERO                       VA     90005578499
56952248A57157   ZOILA        REYES                        VA     90010022480
56952A17833645   MING         CHIEN                        NC     12021390178
56952A2655B283   TAMEEKA      JOHNSON                      KY     90012880265
5695375175B387   LAVINA       NEWTON                       OR     90013987517
56953896272B49   JOSE         GONZALES                     CO     90001148962
5695411835715B   EDWIN        LOPEZ                        VA     90015101183
56954316A42363   JOYCE        HENDERSON                    GA     90007923160
56954318672B49   ADRIAAN      EASTWOOD                     CO     90003633186
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 123 of 2350


56955634472B36   SAMANTA         MARTINEZ                  CO     90012416344
56955A27555939   LUIS            AREYAN                    CA     90011920275
5695691AA72B43   DESHAWNDA       HESTER                    CO     33051129100
56957A1AA5715B   CRISTINA        GALINDO                   VA     90012040100
5695811125B387   BEVERLY         KLEIN                     OR     44564161112
56958846872B38   REGINA          RICHARDSON                CO     90002538468
569588A2172B36   MARIA           FERNANDEZ                 NM     33055868021
56958952972B67   PANFILO         VASQUEZ                   CO     33072119529
5695945884B588   VINCENZO        AUTERI                    OK     90012794588
56959A6599132B   SAYI            DIAZ                      KS     90007240659
5695B41795B387   PATRICK         ZAHN                      OR     90001884179
5695B787785928   HEATHER         LANE                      KY     90014917877
5695B86A533645   SHANICE         HARRINGTON                NC     12055608605
569616A874B251   TLC             SYSTEMS                   NE     27035026087
5696188A35715B   ROSALINDA       CASTRO                    VA     90000988803
5696221244B588   MARVAMETTE      BROWN                     OK     90010172124
5696229A95758B   CRUZ            SOTO                      NM     35508512909
56962356172B49   TERRY           CORDOVA                   CO     90007553561
569624A9A31428   KAYLA           LANGGUTH                  MO     90009054090
5696271568B175   JARED CROWLEY   J O C MANAGEMENT INC      UT     90001767156
569629A1391587   SUSANA          TORRES                    TX     90013609013
5696357764B588   KENNETH         DUDLEY                    OK     90012875776
5696424685715B   TIJAHUN         TESFAYA                   VA     90011802468
5696529835715B   EVIN            TORRES                    VA     90014112983
569652A8872B43   GARY            STONEWALLL                CO     90013052088
569661A2361965   COSMAS          MUSYOKA                   CA     46072531023
5696652455715B   JHOSMAR         JIMENEZ                   VA     90014425245
5696677245B283   MARK            RAGG                      KY     90001147724
5696685587B46B   JACQUIE         KALONDA                   NC     90011528558
56966889372B63   NORVEL          BOLDEN                    CO     33015938893
5696742784B588   PATRICIO        HERNANDEZ                 OK     90004954278
56968145172B38   SERHIY          SHMALEY                   CO     33044491451
56968AA715B142   LELAH           MONK                      AR     90003410071
5696B389385928   LORETTA         HENSON                    KY     90013163893
5696B58A95B399   TONY            DAVIS                     OR     90010245809
5696B64745B399   JOHNATHAN       SHAW                      OR     90014186474
5696B85A52B27B   TALISHA         JUDD                      DC     90009738505
56971112A2B27B   EDRICK          THIMES                    DC     90012861120
56971829654B84   BRENDA          ARIAS                     VA     90011008296
56971A44173268   EDITH           GARCIA                    NJ     90014770441
56972842A4B23B   CLANCY          OBRIEN                    NE     90009468420
5697335142B27B   JUAN            RAMIREZ                   DC     90010763514
56973391A5593B   ELISEO          GONZALEZ                  CA     90004283910
56974186872B27   SCOTT           BROWN                     CO     33014651868
5697422574B588   BRITNEY         SHELBY                    OK     90014742257
56974258A91895   DEDEE           BOATMAN                   OK     21057232580
5697499827B491   AMY             BLACK                     NC     11041209982
569751A7955939   FELEENA         BERRY                     CA     90005511079
56975526972B36   EUNICE          ROCHA                     CO     90002085269
5697554435B283   LORIE           BARR                      KY     90005545443
569757A8572B38   HERLINDA        LIPE                      CO     33041517085
56976899A72B36   MARY            COLECCHI                  CO     90014248990
56978118A57157   ADRIAN          PEREZ                     VA     90013231180
5697843645B399   SHERRILL        HOLM                      OR     90001234364
5697852925B531   LEIGH           SEELEY                    NM     90013265292
5697874935758B   LEE             SMITH                     NM     90005017493
5697919A84B588   ROLANDO         CARDENAS                  OK     90011031908
5697923645758B   VERONICA        GONZALEZ                  NM     90015032364
5697939A172B88   JOSH            DUNKIN                    CO     33016663901
5697B257491587   KARINA          ORTIZ                     TX     90014572574
5697B424891856   MAGALI          GONZALEZ                  OK     90008724248
5697B466391895   ROBERT          LLTMAN                    OK     90010374663
5697B66692B574   LASHANA         REESE                     AL     90014566669
5697B75395758B   LAURA           ESTRADA                   NM     90013947539
5698119834B588   STORMI          FLOOD                     OK     90013291983
569812A9772B49   BRYON           ALBERTY                   CO     33005442097
56981723A55997   CARLOS          SIERRA                    CA     49039717230
56981855A72B27   NORMA           PEREZ                     CO     90002098550
56982755172B23   ESTER           JUAREZ                    CO     90006447551
56982895A33699   RODNEY          GAMBLE                    NC     12083628950
56982A58372442   BRIAN           GRADY                     PA     51065580583
56983869372B67   ANDREW          MAXWELL                   CO     90002038693
5698399564B588   KEVIN           COULTER                   OK     90014339956
569848A754B536   MARTIN          GONZALEZ                  OK     90010058075
5698513537B46B   STACY           BEATTY                    NC     90013331353
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 124 of 2350


56985322172B49   VITTORRANIO    MIERA                      CO     90014843221
56985921172B43   BRYCE          MICKELSON                  CO     90010699211
56986154772B49   JARRAD         BRANCH                     CO     90012951547
5698621A64B588   JEFFREY        GAMBLE                     OK     90014802106
5698665675B387   YUDEL          LABARCA                    OR     90007076567
5698678495758B   KELLY          PEACOCK                    NM     90008597849
5698716A855997   JENNIFER       SANTOS                     CA     90012971608
56987173972B38   NAKARRI        JONES                      CO     90013051739
56987462A33699   CARBELLA       CHEEK                      NC     90006594620
5698782385B531   JESUS          FLORES LOPEZ               NM     90007708238
5698791355B387   DARLENE        HOWARD                     OR     44571029135
569882AA477581   ELIZABETH      BAUTISTA                   NV     90011482004
5698854A185928   CHELSIE        CAMPBELL                   KY     90014935401
56989464A55939   SUSMEY         CORTEZ                     CA     90004754640
5698958A25758B   DEREK          CHAVEZ                     NM     90014255802
56989757972B49   CLAIRICE       BAILEY                     CO     90014697579
569897A2961965   CHASTITY       ROSSI                      CA     90015127029
5698B21995B531   EDITH          CABRERA                    NM     90006752199
5698B27594B588   LEIDI          MENJIUAR                   OK     90007582759
5698B455333645   OLLIE          WILLIAMS                   NC     90003154553
5698B627872B88   TAWATHA        BLEDSOE                    CO     33032336278
5698B782891587   GABRIELA       GARDEA                     TX     75023407828
5699125435715B   FARMER         JEREMY                     VA     90006262543
5699143412B27B   FAYE           JOYNER                     DC     90014134341
5699184345B531   JANETH         MARTINEZ-ANDRADE           NM     35009178434
56991A2355758B   RICHARD        ENRIQUEZ                   NM     90013070235
56992175A72B67   JOHN           MCCOVY                     CO     90008871750
56992343672B38   ROBERT         GOMEZ                      CO     33063303436
56992926A4B521   KELLY          HENDRICKSON                OK     21516109260
569929A5251348   SYDNEY         ALLEN                      OH     90013929052
5699323365B271   DARRELL        READUS                     KY     90004232336
569935A485B531   JAKOB          BUTTERFIELD                NM     90013475048
5699385185B399   JIM            PARKINS                    OR     44515428518
569941A3372B36   MARITZABEL     MOLINAR                    CO     90014981033
5699423215B387   ROBERT LEE     RUNNELS                    OR     90011332321
5699443A172B27   BRENDA         ESCOBAR                    CO     90015314301
5699447A651348   ALEXIS         BOHANNON                   OH     90012164706
56994734A61965   CHRISTOPHER    HAMLIN                     CA     90003597340
56994842672B43   MELISSA        CHAVEZ                     CO     90009978426
5699488647B46B   BRITTANY       ALLISON                    NC     90012158864
569949A4331429   RHONDOLYN      WEST                       MO     90005559043
56994A8A761971   GARCIA         UGOT                       CA     90014450807
56995A1127B46B   MARIA          ESTRADA                    NC     90011250112
56995A22972B36   ARNULFO        CONTRERAS                  CO     90011360229
56996A2355758B   RICHARD        ENRIQUEZ                   NM     90013070235
5699734725B271   MICHAEL        RISEN                      KY     90007413472
569976A595715B   REBECCA        HAMILTON                   VA     90014526059
56997AA9991856   RONALD         JAMES                      OK     90012630099
5699846777B46B   TASHA          MILLER                     NC     90015344677
56998557672B36   JOSEFINA       RUIZ                       CO     33014355576
569985A6172B43   CHRISTOPHE     C TORREZ                   CO     90001335061
56998772324B7B   STEVEN         SIMMONS                    MD     90001867723
569988A4455997   TROY           TODD                       CA     90011098044
56998981772B38   PEDRO          HERNANDEZ                  CO     90014919817
56998A69272B27   ENRIQUE        BRAVO                      CO     39058980692
56999226572B36   STACIE MARIE   MCKINNEY                   CO     90012852265
5699941225758B   AMANDA         GOMEZ                      NM     90012184122
569997A1872B36   JESSICA        JARAMILLO                  CO     90015177018
56999961272B98   THOMAS         ROBINSON                   CO     90008769612
5699B72A561971   GIUZEL         QUINTERO                   CA     90010767205
569B186A855939   KATRINA        HENDRIX                    CA     90013798608
569B1AA715B129   LELAH          MONK                       AR     90003410071
569B231635B399   MARANDA        CLOUGH                     OR     90014353163
569B2374572B38   DIANA          BRANHAM                    CO     33054373745
569B253253B332   MITCHELL       BERG                       CO     90008065325
569B255732B27B   JUSTINA        PETTWAY                    DC     90014885573
569B2697957157   FIDIA          MORALES                    VA     90006056979
569B32A255B271   CRISTY         MORRISA                    KY     90004232025
569B3871551348   CHARLES        COLLIER JR                 OH     66052538715
569B3A2468B837   KETSY          SOS                        HI     90013750246
569B3A8425B399   MARGARITO      MORALES                    OR     90012560842
569B41AAA61971   ANDREW         ENGFELT                    CA     90010791000
569B453725715B   ELISAVETH      QUINTANILLA                VA     90014225372
569B4742791587   PAULA          TORRES                     TX     90013207427
569B475217B491   RONALD         ALEXANDER                  NC     11013337521
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 125 of 2350


569B4A45772442   CALVIN       WINFREY                      PA     90007230457
569B5263698B34   MARCO        ROMERO                       NC     90013922636
569B52A315B271   JANIE        BARONI                       KY     90004232031
569B5855572B67   LUIS         MEDINA                       CO     90011558555
569B6145A91895   OSCAR        MARTINEZ                     OK     90013781450
569B61A9672B27   RYAN         ESPERAS                      CO     90012451096
569B691897B46B   TAKEISHA     DAE                          NC     11006039189
569B754775B531   JORGE        CUEVAS-RIOS                  NM     35058815477
569B7598272B36   ELIZABETH    LUEVANOS                     CO     90010075982
569B8199697B4B   VANESSA      SAINZ                        CO     39011361996
569B8518857157   BERIDA       CARDONA                      VA     90008505188
569B866A62B261   SHAMANDA     MCCALOP                      DC     90008336606
569B881A75715B   JIMMY        MARTINEZ                     VA     90013048107
569B887965B531   REBECA       HERNANDEZ                    NM     90001788796
569B9418A33696   DAWN         WYRICK                       NC     90002974180
569B9731672B27   RACHEL       MARTINEZ                     CO     90012807316
569BB85155B399   HENRY        JONES                        OR     44506018515
569BB87495B399   AUSTIN       SILIANG                      OR     90014758749
56B1139845715B   PATRICK      CONTEH                       VA     81046243984
56B11989972B88   SERGIO       SAENZ                        CO     33090509899
56B11A63991587   ARTINA       ALEXANDER                    TX     90014600639
56B1344173B35B   OSCAR        RIOS                         CO     90011664417
56B13554772B49   ALEXANDER    GIBSON                       CO     90011345547
56B13928133696   MARGARET     GRIFFIN                      NC     12087349281
56B1474A457563   JON          HUGHES                       NM     90013807404
56B15154272442   TARYN        NICHOLSON                    PA     90014631542
56B15673951348   JOHN         ENDRESS                      OH     90009276739
56B16628381666   AMY          GAPPA                        MO     90001256283
56B166A265715B   JAQUELIN     NUNEZ                        VA     90014196026
56B16961772442   SCOTT        DARNELL                      PA     90014639617
56B16A61955997   TYLER        ROE                          CA     49045990619
56B16A81272B88   DAWN         SOPER                        CO     90002680812
56B17152161965   THOMAS J     SALGADO                      CA     90012391521
56B17444191895   DARLENE      MORGAN                       OK     21012724441
56B1789AA5758B   JOSE         SALAS                        NM     35562368900
56B1792237B491   ALFREDO      TORRES                       NC     90011789223
56B17961772442   SCOTT        DARNELL                      PA     90014639617
56B18152272B49   MARIA        RODRIGUEZ                    CO     90012871522
56B18466A72B38   BRENDA       FAULKNER                     CO     90014814660
56B1858A37B491   LENA         BROWN                        NC     11063565803
56B19187684852   FRANCISCO    GONZALEZ                     NJ     90015261876
56B1941414B588   STEVEN       LAFFOON                      OK     90012364141
56B1955867B46B   TAMEKIA      WESSON                       NC     90010325586
56B1B541891587   TIMOTHY      BLACKBURN                    TX     90010105418
56B1BA18157157   CINDY        POTTILLO                     VA     81018140181
56B1BA2535715B   BLANCO       OSCAR                        VA     90011900253
56B1BA87133699   DETICIA      RUCKER                       NC     90012600871
56B21778233696   ANTHONY      RORIE                        NC     90004027782
56B21792272B49   KELLY        RICHARDSON                   CO     90008937922
56B21A35172B67   PAUL         PORTILLO                     CO     33019110351
56B22154657157   OBED         MELINA                       VA     90003721546
56B22199172442   ROBERT       TISSUE                       PA     90003951991
56B22647336123   ELIAS        PEQUENO                      TX     90013156473
56B22732761971   JULIUS       WOMACK                       CA     90009827327
56B22975484357   DEXTER       RATLIFF                      SC     90012319754
56B22A9515B338   JOHN         WRIGHT                       OR     44093250951
56B23325672B49   BARBARA      KERR                         CO     33039513256
56B2332855B399   WENDY        WILLIAMS                     OR     44580263285
56B237AA972B36   ANGELIQUE    MARTINEZ                     CO     33069067009
56B23923861965   JUAN         RODRIGUEZ-TORRES             CA     46067769238
56B23A19872B43   JESUS        GURROLA                      CO     33026600198
56B24417291587   SYLVIA       OLIVAS                       TX     90001634172
56B24491A57157   BANESSA      PORTILLO                     VA     90004324910
56B2462265715B   JOSE         VILLALOBOS                   VA     90008156226
56B25183572B36   RENEE        ROMERO                       CO     33073741835
56B26347172B36   JESUSROMAN   GONZALEZ                     CO     33063343471
56B26438455997   VICENTE      ROBLES                       CA     49045104384
56B26543A55939   MICHAEL      ZAPATA                       CA     90007445430
56B2662167B491   KAWAN        BILAL                        NC     11009376216
56B2674A372B49   IDELL        MCCOY                        CO     33055567403
56B26812572442   PAUL         LAWRENCE                     PA     51014948125
56B268A5591895   GUADALUPE    CORTEZ                       OK     90003838055
56B27114531429   JACQUELYN    CALHOUN                      MO     27517451145
56B27129172B43   STEPHANIE    BRUNSON                      CO     90013481291
56B27586372B88   MARIA        DETINAJERO                   CO     33016605863
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 126 of 2350


56B27812572442   PAUL         LAWRENCE                     PA     51014948125
56B28249672B36   CECILIA      O'JOHN-HERNANDEZ             CO     33058562496
56B28581851383   JAMES        PILAIA                       OH     90008835818
56B2894652B27B   ROSAURA      MORENO                       DC     90013069465
56B29151672B36   KRISTY       RAAB                         CO     33015261516
56B2B2A2661965   DOMINIQUE    CRAWLEY                      CA     90014022026
56B2B717A72B37   KATRINA      BRINKMAN                     CO     90007917170
56B31318A7B491   CURTIS       WHITAKER                     NC     11020593180
56B31616555997   JORGE        PEREZ                        CA     90012786165
56B3164193B343   COLT         CARLSON                      CO     33087856419
56B31847272B67   SYLVIA       PORTUGAL LOVATO              CO     90011178472
56B32479657157   LISHA        NORRIS                       VA     90014764796
56B325A6A61971   BENJAMIN     OCAMPO-GERRERA               CA     90009495060
56B3274275B597   GAERLAN      ARTHUR                       NM     35034557427
56B3316A572B38   ALONSO       FLORES                       CO     90010111605
56B3333A972442   KELLI        JOHNSON                      PA     90005333309
56B3393215758B   VERONICA     GALVAN                       NM     35538349321
56B34857555939   JOSE         SALCIDO                      CA     90015148575
56B35379161965   JENNIFER     PRESLEY                      CA     90014323791
56B35415533699   LASHAUNTA    GREEN                        NC     90011684155
56B357A3772B27   JAMES        ARAGON                       CO     90004907037
56B35942861971   LUCERO       ESPINOZA                     CA     90009489428
56B359AA357148   DILWAR       HUSSAIN                      VA     90004609003
56B3613455B387   GEOVANNY     SANCHEZ-GONZALEZ             OR     90002251345
56B3624735B531   GIATAN       GLORIANA                     NM     90013362473
56B3783595758B   LAURA        CRUZ                         NM     90012118359
56B378A637B46B   RODNEY       BAZLEY                       NC     90014468063
56B38369133645   TAYLOR       RIDGE                        NC     12028863691
56B38423998B33   GUADALUPE    GONZALEZ                     NC     90014854239
56B38495A55939   JUAN         PABLO                        CA     90014524950
56B3857434B588   DEVA         SMITH                        OK     21557425743
56B38A65A91587   ROBERTO      SAENZ                        TX     90006520650
56B39151185928   ROIS         HISEL                        KY     90007131511
56B3B38975B387   MR BRIAN     ECK                          OR     90015323897
56B3B585851348   GABRIELLE    MCSWAIN                      OH     90008545858
56B3B586655997   FERNANDO     MARCIEL                      CA     90010925866
56B3B6A2261965   WILLIE       COLEMAN                      CA     90000476022
56B41398572B49   FELIPE       PINTO                        CO     90013843985
56B41485A4B521   IRENE        MARTINEZ                     OK     90003424850
56B41736355939   MICHELLE     BURCIAGA                     CA     90011987363
56B419A4172B27   EBRIMA       CAMARA                       CO     90009429041
56B42153933699   ALMETRIS     SHIELDS                      NC     90002061539
56B4315A933699   SAMIA        RASHWAN                      NC     12041441509
56B43452572442   CHRIS        NICHOLSON                    PA     90008434525
56B4388755715B   NAHUM        REYES                        VA     90007138875
56B43A3A772B27   DANIEL       HAMILTON                     CO     33002780307
56B4429347B46B   KRYSTAL      PAIGE                        NC     11067642934
56B44A9744B588   TORI         LONG                         OK     90013120974
56B45361172B27   DOUG         MCDONALD                     CO     33050413611
56B45367984357   PRINCETTA    BLAKE                        SC     90010573679
56B4542145758B   TODD         FULTON                       NM     35593604214
56B45427155997   JESUS        HIPOLITO                     CA     90013934271
56B45699491587   RAUL         VAZQUEZ                      TX     75044936994
56B4581154B588   JERRY        BOLSTER                      OK     90011468115
56B459A6772442   TIFFANY      WOOD                         PA     90005919067
56B45A15372B67   PAUL         JORDAN                       CO     90010140153
56B4628427B491   TATIANA      MONSALVE                     NC     11043912842
56B46389457157   BRENDA       GUTIERREZ                    VA     90011673894
56B46566A7B491   TATIANA      LINDSAY                      NC     90012775660
56B468A127B359   JAMES        GOODLOW                      VA     90001628012
56B46A45A72B49   DIANA        VELAZQUEZ                    CO     90012750450
56B4816267B491   RYAN         HANEY                        NC     90012031626
56B4822994B521   JOSHUA       SIMPSON                      OK     90005292299
56B4895175758B   ISEBEL       DELO                         NM     90008189517
56B48A4877B46B   ERNESTO      NUNEZ                        NC     90013730487
56B49211361965   JEFF         STEGALL                      CA     90009392113
56B49427272B88   JOYCE        GREGORY                      CO     90001074272
56B49475472B43   ZABRINA      RODRIGUEZ                    CO     33072734754
56B49478251348   ALEXANDRO    SANCHES                      OH     90009974782
56B4975265B543   IGNACIO      VASQUEZ                      NM     35088527526
56B49A74232545   MONTIVA      CASEY                        TX     90015070742
56B4B48815715B   JOSE         AMAYA                        VA     90000124881
56B4B84AA91895   BROOKS       CURRY                        OK     90012828400
56B4B97745B579   ANTHONY      LARRANAGA                    NM     90014729774
56B51385172B38   RAMON        FLORES-FIGUEROA              CO     90012533851
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 127 of 2350


56B51527457157   HAWA         BROWN                        VA     90005055274
56B5188554B587   ISRAEL       ISRAEL                       OK     90011138855
56B52277185928   JORGE        VEGA                         KY     90011722771
56B5235775B129   TY           MOSBY                        AR     90008203577
56B5247A15758B   FRANCISCA    GAYTAN                       NM     35538104701
56B52516697B4B   CINTHIA      GALVEZ                       CO     90008925166
56B53346772442   JOHN         CAMPBELL                     PA     90011093467
56B5336445B129   OPAL         CLARK                        AR     90005913644
56B53523A51388   SHONDA       FOWLER                       OH     66026475230
56B5369477B491   ANN          STOGNER                      NC     11008356947
56B53866157148   JOE          SAM                          VA     81083088661
56B54253A72442   CINDY        BORRIS                       PA     90014652530
56B54258872B43   AMPARO       RIVERA                       CO     33061352588
56B54276384357   COURTNEY     BLANKENSHIP                  SC     90011732763
56B546A3172B67   MIKE         TRUJILLO                     CO     90012406031
56B54A3A52B27B   MISHA        JEFFERSON                    DC     90003780305
56B54A41472B67   MIKE         TRUJILLO                     CO     90011140414
56B551A8872B67   JENNIFER     TAPIA                        CO     33090091088
56B5524182B27B   DAVID        WILLIAMS                     DC     90012992418
56B55393555939   ANA          ZEPEDA                       CA     90011883935
56B554A8A5B129   JESSICA      YORK                         AR     90005294080
56B5555765B531   ANTWINETTE   GARCIA                       NM     90008895576
56B557A7585928   TERRI        LEONARD                      KY     90013777075
56B55A55172B88   ERICH        MITTELSTAEDT                 CO     33073130551
56B56524385928   JENNIFER     STONE                        KY     90002285243
56B5662265715B   JOSE         VILLALOBOS                   VA     90008156226
56B568A5351348   SALVADOR     MARTINEX                     OH     66081248053
56B56912776B97   MARIBE       MAYA                         CA     90003209127
56B5727A972B43   OSCAR        MENDO                        CO     33053072709
56B5783745B236   DEIRDRE      MOSBY                        KY     68041288374
56B5798A65B399   VICTORIA     HASSEL                       OR     90012419806
56B58153772B43   MC           THOMPSON                     CO     33008181537
56B58464655997   MARIA        GONSALEZ                     CA     49060444646
56B58497972B88   LETICIA      RUBIO                        CO     33005884979
56B58623344352   DEKOTA       WILSON                       MD     90014176233
56B59784161971   CHRISTIAN    THOMAS                       CA     90015167841
56B59A2A77B491   SANTIAGO     CUEVAS                       NC     90004830207
56B59A39851348   LOLITA       JOHSON                       OH     90012370398
56B5B124972B67   TANYA        RODRIGUEZ                    CO     90004511249
56B5B34585B387   RYAN         KUMM                         OR     90013333458
56B5B516157148   JOSE         ZELAYA                       VA     90004615161
56B5B5A6A72B38   ANTON        BAILEY                       CO     33053705060
56B5B895855997   BRIAN        GARCIA                       CA     90012768958
56B61389972B38   AHABRAM      MARTINEZ                     CO     90012533899
56B6163AA91552   IRA          SMITH                        TX     90009956300
56B616A775B543   MICHAEL      HERNANDEZ                    NM     35032486077
56B61717957157   STEPHANIE    WILSON                       VA     90014747179
56B61A36831428   BEAUTIFUL    LOVE                         MO     90006500368
56B6244245715B   WILLIAM      LLOYD                        VA     90011234424
56B6257625B399   FRANCISCO    JAVIER PINTO ESTRELL         OR     90014885762
56B6296A65B236   DUSTIN       MAHAFFEY                     KY     90014189606
56B635AA25B387   ARTEMISA     BEDOY                        OR     90010235002
56B6374132B27B   MICHEAL      THOMAS                       DC     90014917413
56B6379314B28B   MORGAN       LAUSTEN                      NE     90013097931
56B63832361965   KARISSA      BAILEY                       CA     90013578323
56B63936472B49   JIMMY        TRAVIS                       CO     90012999364
56B64277255939   ISABLE       CHILDS                       CA     49084382772
56B64623344352   DEKOTA       WILSON                       MD     90014176233
56B64649A2B27B   THIERRY      MANGA                        DC     90012966490
56B64672155997   HELEN        SKIPWORTH                    CA     49002996721
56B65321957157   MARITZA      PEREZ                        VA     90015043219
56B6544485B531   DANIEL       JARAMILLO                    NM     35055434448
56B65484855937   LUPE         RAMIREZ                      CA     90005844848
56B65A28591587   ALMA         DESANTIAGO                   TX     75067750285
56B66A32361971   SAVANNAH     HEILIG                       CA     90014900323
56B67238185928   BRAD         GRANT                        KY     90013152381
56B6788595B236   LAURA        DAVIDSON                     KY     90009168859
56B67989957128   DAVID        MENDEGILA                    VA     81072399899
56B6869A94B588   BENARDO      MARTINEZ                     OK     90014816909
56B6931855758B   ROBERT       FREZQUEZ                     NM     35518513185
56B6951765715B   GUEVARA      ALEXIS                       VA     90012035176
56B6964642B27B   CHRIS        JOHNSON                      DC     90014726464
56B69748A51348   RICHARD      CARPENTER                    OH     90012797480
56B6983A372B43   RALF         MORONES                      CO     90013858303
56B6984A77B46B   DILLON       BLACKWELDER                  NC     90014568407
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 128 of 2350


56B6998935715B   GUEVARA           ALEXIS                  VA     90014159893
56B6B26925B236   NICOLE            RODRIGUEZ               KY     68021252692
56B6B642A72B28   DESIREE           PEREZ                   CO     90014196420
56B6B673155939   MARIA             GALINDO                 CA     49017576731
56B6B919472B67   GUSTAVO           BARRAZA                 CO     33065429194
56B71265A61971   JADE              HOWARD                  CA     90012742650
56B71557372B27   EULIZER           RAMOS                   CO     33068225573
56B71567772442   JEANIE            BUTTS                   PA     90009315677
56B71912772B38   KELLY             TRUJILLO                CO     90012869127
56B72453761971   LISA              MATHIS                  CA     46015874537
56B7311885B387   CHRISTOPHER       ARNETT                  OR     90014301188
56B73226172B38   LUIS              REYES                   CO     33056052261
56B7342725B531   ARACELI           CABELLO                 NM     90006414272
56B7395984B588   TYESHA            WEBSTER                 OK     90003509598
56B73A5645B399   KIMBERLY          HERNANDEZ               OR     44546740564
56B74125861965   RICARDO           HERNANDEZ               CA     90002591258
56B74632272B38   CHILECE           BONANNAN                CO     90001216322
56B7483585B531   LORENA            LOPEZ                   NM     90012598358
56B75114972B49   CHELSEA           COTE                    CO     90015051149
56B75531772B36   AMALIA            ROCHA                   CO     33057855317
56B76382957157   GLORIA            GONZALEZ                VA     90014763829
56B76618772B38   NICOLE            BALCH                   CO     90010296187
56B76654157148   ANGUEL            GARCIA                  VA     81083136541
56B76A96972B49   ALEJANDRA         GUTIERREZ               CO     33066520969
56B77312872B36   JERRY             JIMENEZ                 CO     90013333128
56B7734115715B   RAUL AND TERESA   ANTAYHUA AND REYNOSO    VA     90010933411
56B77519457157   WAULKER           MERINO                  VA     90011675194
56B7752A455939   PATRICIA          GOMEZ                   CA     90007695204
56B77676672B88   JOSUE             OLIVAS                  CO     33061566766
56B77784272442   JOHN              WILSON                  PA     90014657842
56B77A2464B588   CRAIG             GUESS                   OK     90014070246
56B78533385928   KEVIN             LABONA                  KY     90011725333
56B787A1261971   IVAN              DURAN                   CA     90013717012
56B787A9772B49   SILVIA            RIVERO                  CO     33068357097
56B79333A33699   OGLACIA           PATTELSAN               NC     90009643330
56B7946685758B   DELFINO           ALVAREZ                 NM     90001214668
56B79519457157   WAULKER           MERINO                  VA     90011675194
56B79893131429   TERRY             CARVER                  MO     90014158931
56B7B397272B36   JAMES             WEINBERG                CO     33008753972
56B7B944991895   ANGEL             SINCLAIR                OK     90013879449
56B81652A5715B   ZEGEYE            WELDE                   VA     90012606520
56B81A4985715B   SOLEYMA           MORALES                 VA     90013610498
56B82398672B49   DAVE              MANCINILLI              CO     33090313986
56B82844185928   JUAN              JUAREZ                  KY     67011568441
56B83116933699   COREY             GRIFFIN                 NC     90007171169
56B83595A5715B   BRENDA            ARCE                    VA     90013065950
56B8361652B27B   ROY               MARSHALL                DC     81000006165
56B838A9555997   ANTONIA           RUIZ                    CA     90014858095
56B846AAA5B531   EMMA              CARILDA-SUAREZ          NM     35088146000
56B84845472B36   ALLISON           HOLMES                  CO     90013668454
56B84928925154   LUTHER            BREWER                  AL     90011149289
56B84928955997   JAYME             JIMENEZ                 CA     90010789289
56B84A99484329   RHONDA            WILLIAMS                SC     90008370994
56B8549552B834   NORHTWEST         SECURITY                ID     90012674955
56B8551932B27B   DEBORAH           WINSTED                 DC     90005025193
56B85576491587   SERGIO            CANALES                 TX     90009605764
56B85A43551332   CEIRRA            COWHOWN                 OH     90012690435
56B8623355B531   JOANNA            HENDRICHSEN             NM     35091302335
56B86235A51348   DIAMOND           WILLIAMS                OH     90008452350
56B86277872442   BRITTANY          MILLER                  PA     90014692778
56B8628A25B399   JENNIFER          FERGUSON                OR     90004102802
56B8664695758B   HENRY             OGAZ                    NM     35534476469
56B86794572B88   CAROLINE          WITTSHIRE               CO     33070247945
56B86863A61971   JOCABEL           VILLANUEVA              CA     90006168630
56B8691675B531   BILLY             FELICIA                 NM     90014349167
56B87652A5715B   ZEGEYE            WELDE                   VA     90012606520
56B88133A3B399   GERARDO           GUTIERREZ               CO     90011471330
56B88811185928   RUBICEL           GARCIA                  KY     90013778111
56B8927845B387   JENNIFER          GRIFFITH                OR     44510442784
56B8947575715B   JONIS             ROMERO                  VA     90013714757
56B8953AA57157   LOUISE            HILEMAN                 VA     81063405300
56B8B151772B43   MARIA             LAZARIN                 CO     90006181517
56B8B38A485928   ELEXUS            JOHNSON                 KY     90003733804
56B8B63259373B   LATOYA            RENNEE STEWART          OH     90006846325
56B8B784272442   JOHN              WILSON                  PA     90014657842
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 129 of 2350


56B9157472B27B   KENNETH       WRIGHT                      DC     90007395747
56B91688272B88   JESSICA       BLANKENSHIP                 CO     90002786882
56B91A85161965   OLGA          FREGOZO                     CA     46055210851
56B9225445B399   CURTIS        KING                        OR     44571712544
56B92327772B27   DOLORES       BROWN                       CO     90010103277
56B92341731428   DEBRA         FRAZIER                     MO     90011753417
56B9269175B129   SAMMY         MILLS                       AR     23069526917
56B9281614B521   LEONA         BURDETTE                    OK     21515838161
56B9296AA72B49   LAURA         ESPARZA                     CO     33014319600
56B93183791587   OLGA          GARCIA                      TX     90012971837
56B9331A55B387   LOURIE        GOOKINS                     OR     44521053105
56B93584972B43   MARTHA        CONTRERAS                   CO     90013175849
56B93621672B38   TIFFANY       CASTENS                     CO     90012906216
56B93659755997   FRANCISCO     LUNA                        CA     90005756597
56B93A2A991587   JOSE          AMBRIZ-RUIZ                 TX     90011030209
56B94186972B27   MARJORIE      MARTINEZ                    CO     90013891869
56B9438A372442   RONALD        HOWAED                      PA     90014693803
56B9463595B236   SYDNEY        BRUNDIDGE                   KY     90009066359
56B94795972B49   SHANE         HOGAN                       CO     33080307959
56B94A38761971   DONNA         BECK                        CA     90011970387
56B95211361971   MAYKALA       MENDOZA                     CA     90010742113
56B95427A72B67   LISA          CALVERT                     CO     33095384270
56B9555364B28B   SHANNON       MEGUIRE                     NE     90007105536
56B95878361965   GARY          JOHNSON                     CA     46013278783
56B9595677B46B   SACARU        GIVENS                      NC     90012949567
56B95A7415B531   ARMANDO       GONZALES BRINGAS            NM     90003620741
56B96268651348   DANIELLE      HARRIS                      OH     90008182686
56B964A8472B88   DEVIN         MULLINS                     CO     90005824084
56B968A857B46B   DECHELLE      MILLER                      NC     90015088085
56B9719725B531   ROWENA        SANTOS                      NM     90010431972
56B97555372B27   MERCEDES      BEDOYA                      CO     33070285553
56B976A295758B   HERMINIA      GUSMAN                      NM     35507896029
56B9796985758B   ANGELICA      LEDEZMA                     NM     90012939698
56B97A21551348   TANESIA       CARTER                      OH     90015300215
56B98537772442   ALICIA        LEE                         PA     90014705377
56B9865714B559   CATHERINE     PALACIO                     OK     90010976571
56B98A7A32B92B   JEANETTE      NUNEZ                       CA     90011560703
56B98A83861971   CHARLES       WELDON                      CA     90015270838
56B9989257B46B   MIYORI        BAKER                       NC     90013398925
56B9992255758B   ROSALIA       ACOSTA                      NM     90010909225
56B9994785B387   JACQUELINE    SPORES                      OR     44509979478
56B9B135A55939   JULIA         MENDOZA                     CA     90013221350
56B9B511672B49   KELVIN        NICHOLSON                   CO     90013995116
56B9B98A15758B   PEDRO         HERRERA                     NM     35514109801
56B9BA93372B38   JOSUE         CARRERA                     CO     33097130933
56BB1228451348   ROSA MARIA    RIVERA                      OH     90006662284
56BB1656172B43   ERRNEST       COOK                        CO     33008786561
56BB1752A72B67   ROSA LILIAM   BARRERA                     CO     90002817520
56BB176154B588   ERICK         MONTES-LUCERO               OK     21584397615
56BB179A772442   JOSEPH        ETTING JR                   PA     90014627907
56BB2341555939   LELA          POOL                        CA     49014743415
56BB23AA657157   ALEXANDRA     FLORES                      VA     90012243006
56BB2764772B36   JEAN          GALLEGOS                    CO     90011387647
56BB3546472B43   STEVEN        WILLIAMS                    CO     33008175464
56BB363A555939   JOSUE         RODRIGUEZ                   CA     90003336305
56BB399517B46B   TINA          MCMILLIAN                   NC     11037069951
56BB4398376B41   STEVEN        GARRETSON                   CA     90009953983
56BB4418272B36   TIMOTHY       RODRIGUEZ                   CO     33079554182
56BB4648651348   ANTONIO       DOZIER                      OH     90009276486
56BB4887791587   HECTOR        HERNANDEZ                   TX     90013548877
56BB4A46A61971   ANGELICA      VALDEZ                      CA     90014180460
56BB5AA7172B27   RUBEN         ALAMILLO                    CO     33097570071
56BB648A872B49   KENNAH        BARRETT                     CO     33075544808
56BB65A114B28B   THOMAS        MIRACLE                     NE     26096445011
56BB6794A55997   JOHNNY        SAUNDERS                    CA     90014527940
56BB7154872B49   STEVEN        YECKLEY                     CO     90008031548
56BB744765B354   HIRAM         LIZARRAGA                   OR     44537844476
56BB7497372442   TEJENDER      CALLOWAY                    PA     51062574973
56BB761915758B   OLGA          HERRERA                     NM     35547486191
56BB775775B531   SANDRA        ARAGON                      NM     35009927577
56BB8294572B36   MOLLY         BLANCAFLOR                  CO     33019472945
56BB872225715B   PEDRO         FELIX                       VA     90012877222
56BB873A272B88   KATIE         WARNE                       CO     90013027302
56BB8A63831428   LATRICE       BILL                        MO     90011750638
56BB9346A5715B   WALTER        RIVAS                       VA     90005203460
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 130 of 2350


56BB958844B588   JEANMARIE    FORGA                        OK     90011015884
56BB95AA655997   ALICIA       HARNER                       CA     90014175006
56BB972467B348   FEKADE       MERETO NIDA                  VA     90001517246
56BB976A155997   JAVIER       LOPEZ                        CA     90015007601
56BBB192472B36   TANIKCA      REAVES                       CO     90013781924
56BBB33A87B395   JAMES        LOVICK                       VA     90005893308
56BBB46744B588   CRYSTAL      GARY                         OK     21504414674
5711184665B543   MONIQUE      CHAVEZ                       NM     90001288466
5711281515B399   JASON        BROWN                        OR     90001238151
5711382312B27B   KASSAYE      HAILEMICHAEL                 DC     90013418231
57114A8545715B   MARFA        ESCOBAR                      VA     90014770854
5711536514B221   APRIL        WADLEIGH                     NE     90002433651
5711586A35B393   DENISE       LOPEZ                        OR     44555878603
5711628195758B   MARIA        NUNEZ                        NM     90013612819
5711634A354152   COLE         TUTTLE                       OR     90011253403
57117636772B36   AURAMARINA   ORTIZ                        CO     33009946367
571179A687B46B   JAMES        CINEQUEGRANO                 NC     90010969068
571194A3A5B236   AUTUMN       DANIELS                      KY     90012314030
57119A67433699   ANAMAR       MEDINA                       NC     90009110674
5711B518691895   DONNA        BRASFIELD                    OK     90000415186
5711B726361965   RUBY         ARELLANO                     CA     90000127263
5711B898761971   RAYMOND      BROWN                        CA     90010248987
57121656898B47   JUDITH       JIMENEZ                      NC     90007796568
5712186347B657   ERNESTINE    PAULK                        GA     90001638634
57121A8657B491   EDGAR        JIMENEZ                      NC     11058540865
5712294575B387   WADE         BARKER                       OR     90013869457
57123A48961965   MARSHA       FLETCHER                     CA     90014340489
571241A9576B31   LUISA        CARMONA                      CA     90011161095
57124423172B43   DEBRA        MELTON                       CO     90006774231
5712463335B283   JAMES        COATES                       KY     90008126333
5712498737B35B   WILLIAM      MENDOZA                      VA     81044769873
57124A89576B21   CHALLIS      BRYANT                       CA     46055360895
571251A7A72B49   ANTHONY      GARCIA                       CO     90014031070
5712578355B393   SAMUEL       SCHMIDT                      OR     90014397835
5712599785715B   SIGRIDO      ORELLANA                     VA     90014859978
57126222472B49   FERNANDO     GUZMAN                       CO     90006522224
5712635155B551   MONICA       WYCHE                        NM     90002833515
5712735925715B   KENIA        CALLX                        VA     90012163592
571273A8A91587   ILIANA       MARTINEZ                     TX     90011403080
571274A1672B88   DOMINIC      LOPEZ                        CO     33050144016
5712773315B543   MARA         ZALETA                       NM     35063317331
57128362972B38   ANTONIO      MACIAS                       CO     90000313629
571294A735B236   SHERYL       BRITO                        KY     90014274073
571295A8272B43   CESAR        MENDOZA                      CO     33027815082
57129912172B49   INOSENCIO    NAVA VASQUEZ                 CO     33095549121
5712B34525B236   CODY         TUCKER                       KY     90015343452
5712B412961965   ANTHONY      CABIGAO                      CA     90012144129
5712B835391587   ROBERT       ORTEGA                       TX     75017498353
57131A29991587   LUIS         ALCALA                       TX     90014740299
571324A285B283   TRACY        BALLARD                      KY     68025344028
5713283715B399   NIESHIA      BROWN                        OR     44560928371
57132862524B3B   EARL         WALKER                       DC     90012038625
57133143872B43   CLAUDIA      MOSQUEDA                     CO     33096971438
571339A5791895   JUAN         LOPEZ                        OK     21069539057
571345A4A54152   JEANETTE     RIDDLE                       OR     47041765040
57134A7245B393   SLADE        LEITCH                       OR     90014530724
57135374172B38   ZACH         SNYDER                       CO     90004143741
5713544335B236   APRIL        GRIGSBY                      KY     90014824433
57135825772B43   MELINA       CRUZ                         CO     90011388257
5713584215715B   KUDZAI       KURAPA                       VA     90013988421
5713661765B393   PATRICIA     SLAZAR                       OR     90014206176
57137281772B43   SHAUN        BROSE                        CO     90013512817
571383A155715B   GARDNER      VILLAGOMEZ                   VA     90006493015
571391A2161965   MITZI        RUIZ-VIZCARRA                CA     90011021021
5713968164B588   AMBER        RICHARDS                     OK     21592776816
571396A115B399   SARA         HURSEY                       OR     90014996011
5713B677172B27   ALFONZO      RICE                         CO     90008216771
5714117115B393   MILES        LOMAX                        OR     44528291711
5714121255B387   NANG         KHUKMU                       OR     90013322125
57141663972B38   CHRISSY      DOLENSKI                     CO     33068766639
5714234324B251   MARIA        RIVAS                        NE     90014433432
57142AA6131428   DOROTHY      PICHON                       MO     27527230061
5714363722B27B   LENITA       WHEELER                      DC     81014166372
57143A7A472B36   DENISE       PRUIETT-WILLIAMS             CO     33012790704
571444A555715B   CARLOS       CEDILLO                      VA     90014584055
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 131 of 2350


5714452A672B27   CASANDRA      GALLEGOS                    CO     90014815206
57144628A72B27   DESTINY       BARTLETT                    CO     90013446280
5714478435B531   EDWARD        VILLANUEVA                  NM     90011867843
5714493425B399   TERRI         JACOBUS                     OR     90014929342
57145398A5B236   BRIAN         FACESON                     KY     90010573980
5714544954B29B   REBECCA       HARLOW                      NE     90008644495
5714558A65B387   TIFFANY       ELLIOTT                     OR     90013245806
5714628AA3B352   JOSE MANUEL   ARELLANO                    CO     90001212800
57146659A61965   SONYA         RIOS                        CA     46012146590
57147742472B49   ANA           MARQUEZ                     CO     90012037424
5714828A961965   BATOOL        HANNA                       CA     46015372809
571483A5776B97   HUGO          RAMIREZ                     CA     90004173057
5714857215B399   ALAIN         MARTINEZ                    OR     44587815721
5714865122B27B   MANUEL        MEDRANO                     DC     81012756512
5714892A891895   NITA          DOTSON                      OK     90008809208
5714915A291552   GEORGINA      ORTEGA                      TX     90006961502
5714916945B393   CHRIS         GARCIA                      OR     90011341694
5714B145572B36   MARIA         BARRON                      CO     90011911455
5715118435B387   AGUSTIN       CASTANEDA                   OR     90014381843
5715177927B391   JENNIFER      DOUGLASS                    VA     90006397792
571525A2172B36   ANGELA        MORALES                     CO     33029925021
571531A594B29B   BRENDA        PARKER                      NE     27074261059
571533A325B387   JIMMY         HARMAN                      OR     90007553032
57154A35172B38   SANDRA        CASTILLO                    CO     90012790351
5715561A65B531   ANISSA        ROSS                        NM     90001186106
5715562375715B   ALEJANDRO     RECINO SORTO                VA     90014996237
57156243572B88   CHRIS         ROLLERSON                   CO     90000872435
5715626244B29B   SERGIO        FUERTES                     NE     90007122624
5715632335B387   ROBERT        HARMES                      OR     90011063233
57156448172B36   JOSE          GARFIAS                     CO     90012664481
5715684765758B   JESSE         RODRIGUEZ                   NM     35539328476
57156A28861965   EDWARD        SLOAN                       CA     90012270288
5715764164B588   CELO          KEITH                       OK     90009826416
57157A95772B49   ADOLFO        HERNANDEZ                   CO     90009740957
57158449772B43   FRANKI        REVELLO                     CO     90012014497
571585A7A2B959   HERLINDA      CARABANTES                  CA     90000165070
57159172172B43   ROMAN         VIGIL                       CO     90013741721
5715B376291895   SUSAN         SUCHAN                      OK     21064153762
5715B71A25758B   REYNA         DELEON                      NM     90014527102
5715B914A72B49   DAVID         CASILLAS                    CO     33085119140
5715B975761965   SUSAN         ALLNUTT                     CA     90012899757
5715BA8514B588   JONNIE        ELLYSON                     OK     90006810851
5716145A784346   NABRASHA      SHERMAN                     SC     90014734507
5716147315B387   CHANTEL       MOORE                       OR     90014514731
571622A934B588   LACY          ROBERTS                     OK     90015492093
5716245115758B   BIANCA        SOSA                        NM     90007674511
57163A85A5B387   SHELBY        CUSHING                     OR     90013000850
57164158A55997   ALEJANDRO     VILLA                       CA     90010731580
5716417475715B   UYANA         MARTHA                      VA     90014301747
57164367772B38   LYNN          SCHURR                      CO     90012053677
5716456924B521   BRANDY        KASSAGE                     OK     90005095692
5716468242B27B   JOHANNA       CHAMBERLAIN                 DC     90014806824
5716547135B283   WENDY         HOLDER-HALE                 KY     90014534713
5716625A15758B   JESUS         OCHOA-SOSA                  NM     35565762501
571668A4191524   NATHAN        BRYANT                      TX     90007638041
5716696A43B399   ANDRE         CHEKAN                      CO     33008379604
5716697745B393   MATT          SAGDAL                      OR     44501179774
57167135972B38   SONJA         VILLALOBOS                  CO     90007021359
5716775844B29B   WILLIAM       HANSEN                      NE     27006777584
5716785184B588   ELISE         GROTTS                      OK     90012338518
571679A7A84346   ALICE         OWENS                       SC     90011589070
5716821155B393   GLENDA        BINGHAMM                    OR     90012672115
57168436A55997   EDGAR         FLORES                      CA     90014504360
57169A1A55B393   ARCHIE        MOORE                       OR     90013030105
5716B18945B283   HEATHER       SHEALY                      KY     90009071894
5716B276491534   JORGE         PRADO                       TX     75013742764
5716B855972B43   JAMES         MARTINEZ JR                 CO     90013018559
5717126477B491   TERRY         MONTGOMERY                  NC     90004062647
5717161A95B236   TILONDA       EDWARDS                     KY     90013706109
5717213775B236   AMANDA        SPAULDING                   KY     90010221377
57172438472B38   CARMELO       VALDEZ                      CO     90013814384
5717345514B29B   DAWNTA        GRIGSBY                     NE     27035254551
5717364625B387   CECILIA       LOPEZ                       OR     44586446462
57173656872B43   DEBRA         LENTSCH                     CO     90013046568
5717398AA91895   MAYANDRA      TOTTRESS                    OK     21003399800
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 132 of 2350


5717481A461965   SANTIAGO      HERNANDEZ                   CA     90012988104
571758A9357541   CASSANDRA     FOREMAN                     NM     90011588093
5717594575B387   WADE          BARKER                      OR     90013869457
57176339672B88   DANIEL        PEREZ                       CO     90003273396
5717657455B399   SERGIO        VAZQUEZ                     OR     90011055745
5717679213B338   ELIZABETH     BLUMETTI                    CO     90007027921
571767A8261971   VANESSA       NAVAS                       CA     90013257082
5717737A972B27   JACK          ROLAND                      CO     90014503709
5717882945758B   DARREL        FRANKS                      NM     90014038294
5717927AA55997   MARIA         CORTES                      CA     90013792700
5717932864B588   SCARBOROUGH   KRYSTAL                     OK     90009263286
57179447A5B387   CASSIDY       CAMERON                     OR     90015124470
571794A185758B   SONIA         CASTILLO                    NM     90007294018
571796A167B46B   ANA           HERNANDEZ                   NC     90010396016
5717983895B236   BRIDGETT      JOHNSON                     KY     68026808389
5717B35857B46B   ADELAIDA      LANDA                       NC     90012083585
5717B873672B43   ADRIANA       CHAVEZ                      CO     90013778736
57181193A91587   RUDY          PENA                        TX     90010731930
57181257172B43   MELISSA       TUCKER                      CO     33082172571
5718212774B576   CAYLA         ACEBO                       OK     90014881277
57182216572B88   DORA          TRUJILLO                    CO     90013462165
57182331672B43   MICHAEL       BOWLING                     CO     90005553316
5718254A85B393   AIMEE         WILLIAMS                    OR     44501245408
5718255324B588   PAUL          MCMINDES                    OK     90011535532
57182875872B36   SHANTEL       VIALPANDOGARCIA             CO     33005108758
5718387515715B   MOHAMMAD      YOUSEF IMANI                VA     81045628751
571844A7A61971   JENNIFER      HEARTMAN                    CA     90005284070
57184596A5B531   MISTY         STEVENS                     NM     90013095960
5718481A45715B   FATIMA        CRUZ                        VA     81049268104
5718496345B283   PATRICIA      HALL                        KY     90008979634
57184A5AA72B43   ASA           GREENWOOD                   CO     33017280500
5718531855B387   CIN           KIM                         OR     90012243185
5718531A651348   BRIAN         BORNTRAGER                  OH     90010483106
5718533265758B   EDELMIRA      RODRIGUEZ                   NM     90004903326
5718659325B393   BO            WATKINS                     OR     44541635932
571876A6372B38   LUCINDA       VELASQUEZ                   CO     33063256063
57188143672B36   EMILIO        HERNANDEZ                   CO     90014831436
5718842757B46B   VANETTA       ROBERTSON                   NC     11042424275
5718882115B543   CARL          TERRY                       NM     35096938211
571892A135B543   JESSICA       MORENO-ORTIZ                NM     35062322013
5719156235B543   CLAUDIA       CEBALLOSCANO                NM     35014225623
5719158155715B   ALPHA         SESAY                       VA     90001655815
5719195955B236   MARK          HELTON                      KY     68082599595
5719195A391895   LECREASA      COLE                        OK     90015029503
57191A71157123   TANYA         SLADE                       DC     90003880711
5719223315715B   ISMAEL        ALAMO                       VA     81077492331
5719243424B521   MARIE         DAVIS                       OK     21560694342
57192A95655997   ZEFERINA      DOMINGUEZ                   CA     90009620956
5719372535715B   MANUEL        GARCIA                      VA     90012447253
57193A4965B393   EUSTOLIA      FLORES                      OR     44578390496
57194559A4B588   AMANDA DAWN   KITCHENS                    OK     90009775590
57194A61572B27   DOROLES       LOPEZ                       CO     90011300615
57195139A7B46B   SHAWN         MARQUIS                     NC     11001521390
57195249572B36   LOURDES       EUGENIO                     CO     33007262495
57195A2495B399   IRMA          PACHECO                     OR     90004280249
57196421A55997   GENE          SHERIDAN                    CA     90002564210
5719655A85B399   ERIKA         BOOKER                      OR     90014845508
5719695362B27B   VENORA        EVANS                       DC     90010369536
5719799785715B   SIGRIDO       ORELLANA                    VA     90014859978
57197A7344B588   NOEL          RODRIGUEZ                   OK     90006600734
57198126972B88   VIRDIANA      DIMAS                       CO     90004331269
57198979472B23   LINELL        NUNLEY                      CO     90013579794
57199624A7B631   JOVANNI       PEREZ                       GA     90010476240
5719989975B387   MERRIEL       MIS MOO                     OR     90007818997
57199A4885758B   SEAN          DAVIS                       NM     35574800488
5719B36A298B39   LAUREN        MCALPINE                    NC     90012213602
5719B72A45B399   ROSA          EPENROSA                    OR     90014947204
571B1615891587   YOLANDA       LOPEZ DE FLORES             TX     90013566158
571B177A43B381   WILLIAM       CAMPOS                      CO     33045717704
571B181735599B   FANI          GOMEZ                       CA     90013808173
571B243675715B   MARK          CRUZ                        VA     90002354367
571B2452272B36   PERLINE       CDANIELS                    CO     90006804522
571B2712A5B283   STACEY        CALDWELL                    KY     90011947120
571B3168172B49   JOHN          CARLOS DEL VAN              CO     90014771681
571B369257B46B   JESSICA       PLESSNER                    NC     11069676925
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 133 of 2350


571B3983355997   ANTONIO         GARCIA                    CA     90014779833
571B441134B588   THOMAS          VOGLER                    OK     90000734113
571B441235B236   BRYAN KELLY     BROWN                     KY     90014854123
571B4465191895   ROSHAWN         DALEY                     OK     21068894651
571B4857372B27   ANTONIO         FUENTES                   CO     90012948573
571B5747181265   MONICA          QUILLEN                   OH     66069787471
571B5944872B38   WILLIAM         DANIELS                   CO     90013989448
571B6255872B49   ANALIZ          CASIANO                   CO     33043632558
571B626327B365   EDWIN           REINOSA                   VA     90000932632
571B67A6161965   JACKIE          NEUMAN                    CA     46026787061
571B6834A72B38   MARIA           PALOMO                    CO     33044148340
571B7A64491587   MELISSA         GIRON                     TX     90000340644
571B826A272B27   JENNIFER        MANN                      CO     90013152602
571B8811472B38   ROSA            CARDOZA                   CO     90003898114
571B918685B387   DIANA           CULBERTSON                OR     90007601868
571B9663251383   GINGER          MCINTYRE                  OH     90002106632
57211116372B36   JOSE            ENRIQUEZ                  CO     33084701163
5721117A972B49   LAURA           CHILDRESS                 CO     33038811709
5721193485B399   CARLOS          ICHICH CHOC               OR     90014939348
57212469A72B36   DAVID           HERNANDEZ                 CO     90011594690
5721334A954152   RANDY           SETTLES                   OR     90011823409
57213911872B27   VICTOR          ARCINIEGA                 CO     90012799118
57213A31955997   PHILLIP         MARTINEZ                  CA     90006080319
5721426184B588   RAENETTA        HAYWOOD                   OK     90008202618
57214372472B43   ARNOLD          MARA                      CO     90006703724
57214379A72B27   JESUS           LEIVA                     CO     90009453790
5721469A15715B   MIRIAM          FLORES                    VA     90015096901
57215937272B36   VIRGINA FAITH   CARTER                    CO     90012039372
5721688395B399   NELSON          SHANER                    OR     90001598839
572169A1833696   SHANLYN         STEVENSON                 NC     12008159018
5721751A95B283   KELLIE          ROGERS                    KY     68013095109
57217553472B43   ERIK            JIMENEZ                   CO     90014045534
57217771A91524   TERESA          MUNOZ                     TX     75036487710
5721783A551348   VANESSA         CLARK                     OH     66094518305
5721821A85758B   MICHAEL         MUNOZ                     NM     90014132108
57218A7764B588   NELSON          WILLIAMS                  OK     90014730776
57218A84491587   NORMA           GONZALEZ                  TX     90014290844
57219578A5B236   AMANDA          FITZGERALD                KY     90013535780
572196A5681265   PAULINO         ORDERO                    OH     90006816056
5721984A24B588   AUREALYIA       TROUTMAN                  OK     90014238402
5721B43695B393   JOSHUA          HOYT                      OR     90000844369
5721B989772B27   OTONIEL         GUTIERREZ                 CO     90001499897
5721BA2A97B46B   ALEX            STITT                     NC     90010840209
5721BA43A72B43   CHRISTINE       MEDINA                    CO     90012550430
57222143872B36   ALEJANDRO       ROBLES                    CO     90008421438
5722217247B491   DOUGLAS         HARRIS                    NC     90008931724
5722323425715B   EDRAS           PAZ                       VA     81011182342
5722348852B27B   TYREE           BURNS                     DC     90012254885
5722356735B531   MJ              WEBER-WEHLER              NM     90014175673
5722394447B496   DANITA          HINES                     NC     90013459444
57224668872B98   ARIZONIA        MCCANICK                  CO     90013386688
57224714A84346   LADOVIA         WOODARD                   SC     90012637140
57225887A5B236   GIOVONEE        MEEKS                     KY     90012978870
57225A33891895   JASMINE         CRAWFORD                  OK     90008810338
57226594872B88   ARCINIEGA       MARTIN                    CO     33097455948
5722741655B283   SHERRY          AUTRY                     KY     68042734165
57227773A61971   CLEVELAND       FERRELL                   CA     90012737730
5722873175758B   TANIA           GOLDEN                    NM     90009687317
5722881935B236   AMANDA          REECE                     KY     68016558193
57229315A72B43   JOSE            CASTENADA                 CO     90013243150
5722938AA5B387   MIA             MCCORMICK                 OR     90001703800
5722957A831468   FATIMA          MCFARLAND                 MO     90014795708
572295A7A2B959   HERLINDA        CARABANTES                CA     90000165070
5722986485B531   MARIA           CERVANTES-AGUILAR         NM     35000368648
5722B15AA61965   SABAH           SLEWA                     CA     90012371500
5722B26975715B   JOEL            HENRIQUEZ                 VA     90013022697
5722B42215B399   EVELIA          ALFONSO-HERNANDEZ         OR     90000434221
5722B697A7B491   BRIAN           HILLMAN                   NC     90003586970
5722B8AAA72B38   RACHEL          VIGIL                     CO     90012858000
5722B95635715B   ALEXANDER       CHAVEZ                    VA     90002489563
5722B97684B29B   MARIA           ANTONIO-MATEO             NE     27007209768
5722BA5665B531   MICHAEL         HRUBIENSKI                NM     90003760566
5723116A355997   LUCIA           FREITAS                   CA     49039101603
5723197A272B38   DONNA           FREDERICO                 CO     90012909702
5723226945715B   MARIA           RAMIREZ                   VA     81001002694
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 134 of 2350


5723244514B588   MARIO        HERNANDEZ                    OK     90001544451
57232567A7192B   GRACIELA     GRACIA                       CO     32084975670
5723262415B393   PAUL         MARTIN                       OR     90012456241
5723399925715B   ABDULLAH     KHALIL                       VA     90014789992
5723438995715B   MABELITA     SALGADO                      VA     90012813899
57234623A4B29B   TOYCE        ROBINSON                     NE     90013066230
5723491855B351   OLEG         TKACHUK                      OR     90002919185
57234A7194B588   CHRISTINA    BYRNE                        OK     90014650719
572351A6591895   LATRICE      ATKINSON                     OK     21003511065
572355A585715B   JUAN         ELEODORO CORTES              VA     90014805058
5723586A85B399   ELSA         JUAREZ                       OR     90010658608
5723765845B283   ISREAL       LAERSI                       KY     90005616584
5723784715B551   STEPHANIE    ROMERO                       NM     35026268471
5723824695B399   SCOTT        POKALLUS                     OR     90010692469
572383A9391587   JOSHUA       SALINAS                      TX     90011133093
5723858885B393   ERICA        COMBS                        OR     90013475888
5723887622B27B   MIKE         SMITH                        DC     90013918762
5723971A34B588   KAYLA        LEONARD                      OK     90010987103
57239A8577B491   ERIC         BENNIX                       NC     11095430857
5723B14465B387   ROMMEL       MANGUBAT                     OR     90000861446
5723B394872B43   FABIOLA      CABRERA                      CO     33088053948
5723B81385B399   RODOLFO      ALVAREZ                      OR     44535698138
5724114725715B   NDA CECILE   KOUAKOU                      VA     90001561472
5724116A291587   SAN JUANA    FELIX                        TX     90002961602
57241449772B38   VIVIAN       VELEZ                        CO     33017404497
57241A69455997   DAVID        ORTIZ                        CA     90013190694
5724237655B531   ALMA         ROCHA                        NM     90015013765
5724239535758B   CARLOS       HERNANDEZ                    NM     90003823953
572427A565B387   STEVEN       TURCOTTE                     OR     44592037056
572429A984B588   JERMAIN      HOPSON                       OK     90009789098
5724375985715B   ISHA         KARGBO                       VA     90008307598
57243977A33699   DONTE        FRANCE                       NC     90010079770
57244A86591895   RICARDO      JONES                        OK     90013950865
5724562212B567   LATORA       WHITE                        AL     90015456221
5724759152B27B   RAYMOND      DIGGS SR                     DC     90010715915
5724764964B29B   DAVID        ACOSTA                       NE     90002496496
572481A4891587   LLUVIA       CENICEROS                    TX     90014751048
5724884765715B   JOSE         RIVAS                        VA     81042008476
5724894575B387   WADE         BARKER                       OR     90013869457
57249164672B27   JULIO        OVANDO                       CO     33081451646
57249448A91587   EMMA         PEREZ                        TX     90013224480
5725162A75B283   SHANTIKA     MUDD                         KY     90008186207
57251836472B27   CLARINDA     MELENDREZ                    CO     33076318364
57251A89791895   EZEQUIEL     DE DIOS                      OK     90013950897
57251AA7961965   GERARDO      RODRIGUEZ-ROJAS              CA     90013230079
5725274115758B   JASMINE      GONZALEZ                     NM     35533277411
5725395134B588   KELLY        CARTWRIGHT                   OK     90013619513
5725459515B236   CATINA       PORTER                       KY     90007745951
5725515915758B   DAVID        GOMEZ                        NM     90011971591
572553AA45758B   LORENA       NAVA                         NM     90012243004
5725568A572B36   ALICIA       HILLS                        CO     33096226805
5725573555B399   JAMES        BERTRAM                      OR     90014947355
572568A2391587   MARIA        MARQUEZ                      TX     90012348023
57256A2865758B   MARIA        HERRERA                      NM     90000180286
57257A3465B543   ROSCO        GARCIA                       NM     90002410346
5725831A161971   LIQA         IBRAHIM                      CA     46095473101
572584A6A21685   MICHAEL      CARTER                       OH     90015394060
57258A3135758B   MARIO        CASTILLO                     NM     35575280313
5725928884B241   BRENNA       ZIPAY                        NE     90003432888
5725992945B393   HELENE       WALKER                       OR     44564789294
5725B28645B393   MARY         PEARSALL                     OR     90013542864
5725B56A172B43   ELICEO       LEAL                         CO     33094875601
5725B5A1854152   TRAVIS       GAINER                       OR     47044915018
5725B745472B27   DALILA       QUEZADA-LENDO                CO     90009937454
5725B74785B561   JO           MAXEY                        NM     90012507478
5726129A431444   CHARISSE     BELL                         MO     90001312904
57261847272B93   RALPH        SPARKS                       CO     90004898472
5726228425B387   VENANCIA     ROMERO                       OR     90011182842
5726229A431444   CHARISSE     BELL                         MO     90001312904
5726296A857157   ROBERT       WELCH                        VA     81017519608
57262AA865B531   JESSIE       SALIZAR                      NM     35089590086
57263288772B49   ERIC         CURRY                        CO     90004252887
5726342214B521   ANTHONY      THOMAS                       OK     21569454221
572639A295B586   GILBERT      ARCHULETA                    NM     90011469029
5726411165B399   ANGELICA     PIZANO                       OR     44529191116
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 135 of 2350


57264947872B43   CRISTINA       ACEVEDO-CALLEJA            CO     90012159478
5726554334B588   CAROLE         START                      OK     21551905433
57265588872B38   GARY           ALBERTS                    CO     33037475888
57265591572B36   LAKIYA         NEVINS                     CO     33063225915
57266639372B38   JEANNE         BETER                      CO     33094296393
57266738272B49   CHERYN         HERMANN                    CO     33033427382
57267A89572B38   DANIEL         MACHADO                    CO     90011950895
57268122172B34   CRUZ           BURCIAGA                   CO     33015461221
57268417A5715B   EMMA           ALVAREZ                    VA     90010214170
5726874992B27B   TAMESHIA       FOWLER                     DC     90014807499
5726885865B531   ALISANDRA      GRIEGO                     NM     90013218586
5726914A45715B   DENISE         BUCHANAN                   VA     90003161404
5726971A25758B   REYNA          DELEON                     NM     90014527102
5727248A52B231   LATASHA        CLIPPER                    DC     90007704805
5727293718B173   TYSON          BLANCO                     UT     31077779371
57272A89A5B531   LISA           PEAK                       NM     90009350890
57273488672B43   ESTEVAN        ROSA                       CO     90008464886
572734A2A7B46B   TRACEY         HAYDEN                     NC     90011354020
5727373615758B   JORGE          SALAS                      NM     35568037361
5727399785715B   SIGRIDO        ORELLANA                   VA     90014859978
57273A6764B29B   CANDANCE       JONES                      NE     90000540676
5727435995B399   JESSICA        KIKER                      OR     90014923599
5727486A872B38   JOSUE          FACIO                      CO     90010508608
57274A3832B245   JOSE           MORALES AGUIRRE            DC     90001420383
57274A64861971   LETICIA        GONZALEZ                   CA     90013170648
572754A7161971   ALBERTO        PAYAN                      CA     90013074071
5727627382B231   SONIA          HENRIQUEZ                  DC     81069772738
572763A575758B   RAYMOND        GARCIA                     NM     90013883057
5727791245758B   YEHIMLL        TORRES                     NM     90013239124
5727854334B588   CAROLE         START                      OK     21551905433
5727865152B922   ELOISE         ARANDA                     CA     90011736515
5727B211961971   MATTHEW        TOLAR                      CA     46055962119
5727B321472B49   BRIDGETT       HOBBS                      CO     90013463214
5727B352433696   LASHUNDA       RUDD                       NC     90002913524
5727B84695758B   PAUL           MONTAYA                    NM     90011818469
5727B964861965   SARAI          GOULDING                   CA     90006249648
5727BA99272B36   KEVIN          HALL                       CO     90013810992
5728115585B387   RICHARD        GALLAGHER                  OR     44513291558
5728127935B531   GABINO         VILLA                      NM     90009122793
57281898272B27   ALEXIAS        MARQUEZ                    CO     90011668982
5728217455B283   RAYMOND        NEGRON                     KY     68025431745
5728218364B588   STACY          EMMONS                     OK     90008191836
57282336372B36   NICOLE         KRIVANEK                   CO     90013453363
5728265A661548   JUSTINO        GARCIA                     TN     90015366506
5728289245715B   RENE           GARCIA                     VA     90008868924
5728339975B387   JORGE LUIS     CEDILLOS                   OR     44583743997
57283425572B43   FELINA         MONTEZ                     CO     33047124255
57283878872B36   LAURA          TRINIDAD                   CO     33068948788
572838A3972B38   GEORGIA        ALLEN                      CO     90011688039
5728442A45B236   ALEJANDRO      MANZANO                    KY     90008484204
5728482A733696   ASHLEY         STEWART                    NC     12000008207
57285677972B24   CELINA         ORNELAS                    CO     90011686779
5728627A886428   QUASIA         EARL                       SC     90014122708
57286481772B38   CAROL          MENDEZ                     CO     90006004817
572867AA65B399   JENNIFER       MCREYNOLDS                 OR     44576187006
5728684515715B   BLANCA         CORTEZ                     VA     81076518451
57286A75972B49   ENRIQUE M      TORRES                     CO     90013960759
57287577572B36   LUCIO          RUIZ-VALENCIA              CO     90013285775
5728818678B187   JULIA          HAMBERLIN                  UT     90012271867
5728847875B387   STACEY         WILLS                      OR     44562314787
5728865375758B   TASHA          CALLAWAY                   NM     90010326537
57288A56251348   KENIYA         LOWE                       OH     90014910562
5728952395715B   EDIBERTO       ORALLANA                   VA     90005765239
5728B286472B49   LISSETTE       LOYA                       CO     90013062864
5728B479A72B49   ANNA M         ROMERO                     CO     33088584790
5728B869172B36   MINDY          FREEMAN                    CO     33080538691
57291832A72B36   TAZJA          PYLES                      CO     90009668320
57291A69354152   ALENA          CONNOLLY                   OR     47004890693
5729221375B399   LUIS           ROJAS                      OR     90014952137
5729228215B531   GRACE          PADILLA                    NM     35070902821
5729232A161965   TYRECE         MCNEIL                     CA     90013083201
57292733872B43   BARBARA        ROCHA                      CO     33015857338
5729289814128B   JACK           VENTRICE                   PA     90001418981
57293158372B38   NICOLE RENEE   PALESTRO                   CO     90002341583
57293A72251348   LAMAR          JACKSON                    OH     90014910722
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 136 of 2350


57294A3885B543   HELEN            MULIMA                   NM     90006800388
57295A5735B531   MARCOS           GONZALEZ                 NM     90013800573
57295A9845B236   MICHAEL          SUTTON                   KY     90013930984
57296249A72B27   MICAELA          MARTINEZ                 CO     90011892490
57297617A72B49   JOAN             ELAINE FRISCH            CO     90011346170
5729778628B163   THANIA           ALARCON                  UT     90015207862
57298113A91895   ANTONIO          SALINAS                  OK     90013951130
57298278A72B36   GUADALUPE        VILLALOBOS               CO     90012652780
5729832137B46B   ALEJANDRA        ZANE                     NC     90014923213
57298A4315715B   ROCIO            RAMIREZ                  VA     90011590431
5729974155B393   KATELYN          WALDEN                   OR     90000597415
5729977452B27B   RONIQUKA         HAMMOND                  DC     90014807745
5729B174172B27   CHRISTIAN        HINOJOSA                 CO     90013641741
5729B613791B79   GABRIELLE        SAMUEL                   NC     90013826137
5729B7A4161971   MELADEE          HAMPSHIRE                CA     90012337041
5729BA82154152   JOAN             SANTIAGO                 OR     90011840821
572B11A7233699   ABIGAIL          ANTONEZ                  NC     90011151072
572B147A94B579   ARTURO           SANCHEZ                  OK     90007524709
572B1525751348   SARAH            CALLINAN                 OH     90014705257
572B1596972B27   DALILA           CARBAJAL                 CO     90013375969
572B165595B393   TEYONDA          OVERTON                  OR     44560766559
572B218215B543   SOYLA            HERNANDEZ                NM     90005161821
572B2263451348   TAMMY            BANNIGAN                 OH     90011742634
572B2453472B43   MARGUERITE       BROWN                    CO     90013964534
572B2612461971   DIANA            RUSSELL                  CA     46071656124
572B26A855B236   HEATHER          POYNTZ                   KY     90011216085
572B2762472B27   TROY             TALLON                   CO     33004507624
572B35A825758B   LILDA            PONCE                    NM     35541275082
572B389345715B   ROBERTO CARLOS   ENRIQUEZ                 DC     90013918934
572B38A5A54152   THOMAS           FIORELLI                 OR     90002168050
572B4137372B27   KEVIN            PROSSER                  CO     33088651373
572B4258172B49   JORGE            GONZALEZ                 CO     33016662581
572B479A45B236   CHRISTY          SMITH                    KY     90013167904
572B4819272B38   LISETH           SACHINA                  CO     90002158192
572B48A2957131   JUAN             MENDEZ                   VA     90008238029
572B52A6155997   RODRIGO          MARTINEZ                 CA     90013842061
572B5812472B27   DONOVAN          DELTORO                  CO     90013758124
572B5925A5B399   MIST             REY OLDS                 OR     90014939250
572B6A15776B85   ISMAEL           RESENDIZ                 CA     90014120157
572B7A3A972B27   LUCIA            OCHOA                    CO     90014900309
572B7A89172B38   CHERALLE         YOUNG                    CO     90011950891
572B841925758B   SAMUEL           SAENZ                    NM     90012024192
572B8728655997   SAMMY            CUEVAS                   CA     90011507286
572B896A361965   LILIANA          REA                      CA     90013899603
572B95A542B949   DAVID            YEPEZ                    CA     90006025054
572B97A3955997   SINGH            GURDEV                   CA     49088357039
572BB653431429   DAVID            DOWNING                  MO     90007186534
572BB83615B283   RAYSHAWN         BELL                     KY     90003728361
572BBA2375B543   ARACELI          NEVAREZ-CARBAJAL         NM     35035820237
572BBA58472B43   MAIKUDI          SHOAGA                   CO     90012980584
572BBAA585B387   WILLIAM          BECKETT                  OR     90012080058
5731155688B163   HUGO             ZAMBRANO                 UT     90001765568
5731174894B29B   CHRISTOPHER      WEAVER                   NE     90002647489
5731237755758B   VICTOR           MALDONADO                NM     35585213775
5731244AA61965   CHANTIL          CHERRY                   CA     90014444400
57312937272B36   VIRGINA FAITH    CARTER                   CO     90012039372
57313753672B43   KHRISTIAN        TOUHY                    CO     90014417536
57313788172B49   GABRIEL          MARTINEZ                 CO     90010697881
57315597A31429   KENDRA           SANDERS                  MO     90002145970
573161A344B588   LIZZETH          HERNANDEZ                OK     90009791034
5731645535B271   ROGER            HINTON                   KY     68090094553
57316A1165758B   BRAYAN           CHAVARRIA                NM     35593480116
5731745415B283   ANDREA           BEAVEN                   KY     68025454541
5731758795758B   SANDRA           MUCINO                   NM     90000645879
5731822825B393   NICHOLAS         GREGG                    OR     44506342282
57318826672B27   RITA             ROBERTS                  CO     33078798266
57318A8465715B   VERTHA           REYES                    VA     81076960846
5731957464B521   KEISHA           SCROGGINS                OK     21578725746
5731B675255997   JOSE             CALDERA                  CA     90014156752
5731B95965B387   OSMAN            KALMOLE                  OR     44596009596
5731B98355B399   GAUDENCIO        RUIZ ANGON               OR     90014959835
573213A415B283   KENNY            ETSE                     KY     90014293041
573222A3161965   ADAM             HEYMAN                   CA     90010422031
5732293A55B283   ARAUMARIS        LAGUNA PUPO              KY     90005619305
5732396885B393   LIZET            MOLINA NERI              OR     90005569688
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 137 of 2350


573256A595B393   SELENE        CORTEZ-PEREZ                OR     90013046059
57325A8A872B38   MICHAEL       VERAN                       CO     90009280808
573261AA861965   MARIO         HERNANDEZ                   CA     46059771008
57326725A61971   JULIE         CORIZ                       CA     90013847250
57326833A5B393   LEONEL        PEREZ                       OR     44512338330
5732795865B236   KEVIN         HENSHAW                     KY     68042379586
5732895815B393   JON           MEYER                       OR     90012859581
57329167772B36   DWANEIKA      PATTON                      CO     90009281677
57329819672B43   RENEE         OCHIUZZO                    CO     33091198196
5732988A15B387   LAMAR         WRIGHT                      OR     44533118801
5732B325A72B27   JIMMY         MEDRANO                     CO     90014603250
5732B616A91552   FLORENCIA     AGUILAR                     TX     90011926160
5732B668A51348   JOSEPH        ANNEKEN                     OH     90010486680
5732B892272B43   DAVID         DELAROSA                    CO     90007688922
5732B995661965   ROBERTO       GUILLEN                     CA     46093269956
5733161685758B   SCHIEK        GAIL                        NM     90006936168
5733187117B46B   MATILDE       RODRIGUEZ                   NC     90011958711
5733223384B588   CODY          RIBBLE                      OK     90013002338
57332365A72B38   GILBERT       MEDINA                      CO     90000443650
5733246935B387   RAMILLE       OSTOLAZA                    OR     90012874693
57332857872B49   BONNIE        CHADWICK                    CO     90000958578
57332A67791856   ASHLEY        RUEHLE                      OK     90013810677
5733383175758B   ERIKA         LEGARRETA                   NM     90009538317
5733435637B46B   FLORENTINO    RODRIGUEZ                   NC     11048513563
57334A55772B38   ISAAC         CISNEROS                    CO     90013860557
573351A7161965   JOSE          SOTO                        CA     46059781071
5733625175B236   DAVID         HARRIS                      KY     90013302517
57336725172B43   LAURA         GONZALEZ                    CO     33011597251
57337469772B49   ANGEL         CRUZ                        CO     33068364697
5733819575B236   DANIELLE      PHILLIPS                    KY     90008171957
5733916592B27B   ALLEIA        WRIGHT                      DC     90010451659
573392A965758B   ANDY          GRIJALVA                    NM     90013302096
5733964415B393   TERESA        MCKINNEY                    OR     90006086441
5733993994B521   STEVEN        DAUGHERTY                   OK     21578739399
5733B491A72B49   TOMAS         QUINTANILLA                 CO     90015224910
5733B971672B49   NOREEN        HUNT                        CO     90013409716
5734125835B393   RICKEY        LERMAN                      OR     90008632583
57341998472B36   STEVIE        TRUJILLO                    CO     90007709984
573421A8291587   ANA           VALERIO                     TX     90010951082
5734324325758B   CARLOS        PAEZ                        NM     35505982432
573432A187B46B   CHANTEE       STEELE                      NC     90009922018
5734341465B393   RANDI         REYNOLDS                    OR     90014244146
5734341915B236   LOUIS         PATTERSON                   KY     68076474191
5734361654B588   JONATHAN      HERNANDEZ                   OK     90013786165
573439A8A5B271   KAREN         WRIGHT                      KY     90002389080
57344373772B43   DANIEL        TRUJILLO                    CO     33008683737
573444A1872B27   MARIA         VIRGINA                     CO     90004974018
5734513787B46B   SHIRLEY       ARMSTRONG                   NC     11061371378
57345515972B36   LAUESSA       EAGLE HORSE                 CO     90005935159
57345971272B38   CHRISTOPHER   MCDANIEL                    CO     90012589712
57348359872B49   RON           LUMSDEN                     CO     33027893598
57348633572B27   JOSH          HARRIS                      CO     90013686335
5734875A85B387   THOMAS        OGDEN                       OR     90013367508
57348A1685B531   DAVID         MARTINEZ                    NM     90001720168
57349A5415B531   STACEY        PETERS                      NM     35087770541
57349A64891952   PEDRO         RAMOS                       NC     90013550648
5734B89445758B   JAMAL         MACKIN                      NM     90012138944
5734B914A72B36   BRENDA        LOPEZ                       CO     90006829140
57351161472B27   COV MARKET    SOLUTIONS                   CO     33043701614
5735139AA55997   MARIA         MICHEL                      CA     90014933900
57352765A72B27   KABA          MBALOU                      CO     33093727650
5735348525B571   AMANDA        MATTHEWS                    NM     90005174852
57353582772B27   TYLER         WILLIAMS                    CO     90013185827
5735397325B387   PEDRO         RICO PIEDRA                 OR     90013869732
5735437244B588   JOSE          SALDANA                     OK     90011063724
5735458A477533   JOHN          GURTON                      NV     90008385804
5735463972B27B   JEFFERY       HARMON                      DC     90010856397
57354691772B38   HEATHER       AMON                        CO     90013676917
57356692372B43   MONICA        BACHICHA                    CO     90011416923
5735697795B387   MERRILY       MEEKS                       OR     90011079779
57358649A5758B   DAISY         MARTINEZ                    NM     90010666490
5735865985715B   CLAUDIA       SOSA                        VA     90005926598
57358912A4B588   WAYNE         COAKLEY                     OK     90012999120
573593A6A72B38   MELISSA       SMITH                       CO     33099483060
5735972434B588   JACKIE        ESQUIVEL                    OK     21571647243
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 138 of 2350


5735B57A45B387   JENNIFER AND WAYNE   RONKE                OR     90013245704
5735B8A3A27B48   OLIVIA               NEWTON               KY     90009688030
5735B93265B271   ANTHONY              HALE                 KY     90002389326
57361276A5B387   BILLY                COLLINS              OR     44546482760
57362616172B27   CLARE                GILWE                CO     90010916161
57363496472B27   KENNY                MICHAEL              CO     90009514964
5736359815758B   REBECCA              TORRES               NM     90011245981
573637A585B236   STEPHEN              YOUNT                KY     90007747058
57363A45161971   JULIA                WISE                 CA     90013950451
57364236A61998   ALICIA               SANDOVAL             CA     46024242360
5736447114B588   FELIBERTO            SANROMAN             OK     90015154711
5736461495B387   CHRISTOPHE           JUMP                 OR     44587686149
5736537345B387   MOHAMMED             GHAZAWI              OR     90011333734
5736552667B46B   SANDRA               GILES                NC     11051505266
5736595635715B   ALEXANDER            CHAVEZ               VA     90002489563
573661A265B387   AMANDA               LIPPS                OR     90005801026
573661A667B461   EIKONJA              JOHNSON              NC     90011721066
573671A3472B49   JAMILA               WILLIS               CO     33051851034
5736745714B241   DEBRA                DIEDERICH            NE     90012024571
5736779275B531   JOANNA               GONZALEZ             NM     90014667927
573679A3372B43   TINA                 DILLON               CO     90010829033
5736812152B27B   ERICK                MONTOYA              DC     81061451215
57368272172B27   RODOLFO              HERNANDEZ            CO     33027732721
5736844137B46B   BRITNEY              BARNETTE             NC     90003824413
5736856935B531   NICHOLAS             CASAUS               NM     90014175693
57369127272B38   JENNIFER             TOZER                CO     90012291272
5736933925B393   KURT                 O'DELL               OR     44562813392
5736949475B387   NICOLE               PRECIADO             OR     90014764947
57369726A5B236   MICHELLE             CRUMP                KY     68094787260
57369A5834B588   STACI                MAHON                OK     21514980583
5736B468A72B88   VICTOR               MANUEL               CO     90003274680
5736B67937B46B   ANITRA               PHIFER               NC     90011176793
573718A6661971   RICHARD              CURO                 CA     46096218066
57371A23184347   WILLIAM              TAYLOR               SC     90014070231
5737234515B393   SARA                 ISSAC                OR     44510273451
573728A5655997   APOLINARIA           COBIAN               CA     90007498056
57373425272B88   MANDI                SIERRA               CO     33077324252
5737375545B283   LARON                SAUNDERS             KY     90009277554
57373919A72B21   MELBORNE             TALLMAN              CO     90006579190
57374281372B36   JANETTE              TRUJILLO             CO     90010972813
5737542944B588   LASHONN              THREATT              OK     90012444294
5737587765B393   LAURA                THOME                OR     44514058776
573766A495B244   ROSE                 WARD                 KY     68023106049
57376718A91895   ALBERTO              SALDIVAR             OK     21059017180
5737773815B399   DARREN               LANHAM               OR     44526427381
57377AA5833699   YURKOY               WILLIAMS             NC     12045800058
57378522A5B387   JESSICA              BARBER               OR     90002835220
5737868917B491   EPIGMENIO            MEDEL                NC     11083386891
5737B232472B43   JACQUELINE           ESCOBAR              CO     90014242324
5737B475A61976   ALICIA               SARDINA              CA     90001474750
5737B49195B236   KIMBERLY             JEWELL               KY     90009764919
57381313572B36   ROBERTO              FLORES               CO     90003583135
5738176277B46B   MICHAEL              MCCALL               NC     90014987627
5738198285758B   JOSEPH               RODRIQUEZ            NM     90003669828
57381A39691587   ANDRES               SAPIEN               TX     90010920396
57381A9715B387   MICHELLE             TYRRELL              OR     90013000971
5738215A872B27   RAFAEL               ZAPATA               CO     90006211508
5738231744B588   ESTEVAN              LOPEZ                OK     90012843174
57382696272B49   JOSH                 GILL                 CO     33016396962
5738282845B393   GLEN                 SANTA                OR     90014758284
57383326A72B49   CHAD                 BASNETT              CO     90013263260
57383448A91587   LAUREN               REYES                TX     90014174480
5738354385B387   JOSE                 GALINDO              OR     90007085438
5738368815B236   SHIRLEY              COLEMAN              KY     68067776881
57384311472B27   YVONNE               JOHNSON              CO     33062413114
57384641A5758B   CLAUDIA              CRUZ                 NM     35502196410
573847A945B531   JENNIFER             DUNN                 NM     90010967094
573848A4472B49   MARIA DEL ROCIO      CASAS-HERNANDEZ      CO     90010638044
57385792372B49   SWAYSEN              TRUJILLO             CO     90012867923
5738589255B234   TAMERA               CAIN                 KY     68095618925
57385A4525B283   KEISHANNA            HUGHES               KY     90005620452
57386213872B49   CHEZ                 BURDICK              CO     90011152138
57386AA314B521   KIMBERLY             NOBLE                OK     21598520031
5738744832B27B   SHAVONDA             ALSTON               DC     90004614483
57387A27A84852   JOSE                 RODRIGUEZ-AGUILAR    NJ     90015240270
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 139 of 2350


5738894754B588   JUAN         MASCORO                      OK     90007799475
5738895235B531   KATHERINE    KELLEY                       NM     35013239523
57388A19791895   CHRISTINA    ANDERSON                     OK     90013810197
5738945895715B   TONYA        HAGAN                        VA     90011594589
57389469972B38   JACKLEEN     SANTOS                       CO     90015124699
57389579872B27   TAMMY        JACOBS                       CO     33014815798
57389837A5B38B   MARTA        AJQUI SOP                    OR     90008778370
5738B68A361965   SALWAN       YAQOOB                       CA     46052466803
5738B88665B399   JAMES        GRAY                         OR     90012458866
5739126594B588   DELILAH      GOUGE                        OK     90009792659
5739133435B283   JOSHUA       PENROD                       KY     90011633343
573914A9591587   LUIS         TORRES                       TX     90008634095
5739218745715B   FILOMENA     GOMEZ                        VA     90013931874
5739237715715B   MASSOUD      SARWARI                      VA     90012453771
5739241597B359   MANUEL       VERGARA                      VA     90002644159
573932A842B836   GARY         MATHEWS                      ID     90009982084
57393317A5B399   BONNIE       SMITH                        OR     90014973170
5739385837B46B   KEBEBUSH     TOLENO                       NC     90014988583
5739432215715B   SANDRA       MIRANDA                      VA     90013023221
5739511A161965   AMY          FERNANDEZ                    CA     90005651101
57395226572B43   SEPTEMBER    DURAN                        CO     90008302265
57395262672B49   ANTONIO      MARTINEZ                     CO     90011552626
5739587A34B588   STEVEN       RICHEY                       OK     90013988703
5739612965758B   LISA         FRAMPTON                     NM     35591221296
5739641144B588   EMILY        BARNETT                      OK     21515944114
5739699155B543   HERRERA      ANSELMO                      NM     35080629915
5739717444B588   SEAN         KORNMANN                     OK     90012411744
57398745872B36   DALIA        GALLEGOS-MOZQUEDA            CO     90003147458
57398A6A586428   SANDRA       DAWKINS                      SC     90014970605
5739928195758B   MARIA        NUNEZ                        NM     90013612819
57399357372B43   JUSTIN       MARTIN                       CO     90014643573
5739936527B46B   AMY          BANKHEAD                     NC     11078223652
5739B16585B387   JONATHAN     PILGREEN                     OR     90014601658
5739B341372B38   MARIA        RIVAS                        CO     90011443413
5739B61A44B53B   PORTIA       HARRELSON                    OK     90001796104
5739B7A8672B27   LAWRENCE     KING                         CO     33049337086
5739BA3624B29B   TOM          BYRD                         NE     90004720362
573B1151972B27   NORBERTO     RODRIGUEZ                    CO     33079741519
573B161845715B   LUCIA        JERONIMO                     VA     90013926184
573B178A15B399   LISA         YATES                        OR     44588127801
573B248647B491   BRIAN        LAW                          NC     90004594864
573B27A865B531   OMRI         GONZALES                     NM     90008157086
573B2895972B43   STEVEN       HANSEN                       CO     90007688959
573B3173361971   DEREK        FOX                          CA     90001251733
573B328455715B   YESY         FLORES                       VA     90013512845
573B426215B283   ARIANA       STRANGE                      KY     90010412621
573B5671261971   WILLIAM      MOLLISON                     CA     90014606712
573B5743372B49   BETTIS       TRUJILLO                     CO     33000177433
573B594744B588   TIFFINE      JOHNSON                      OK     90012339474
573B5A43991587   ARANGO       JUAN JOSE                    TX     90004410439
573B5AA6155997   TRINIDAD     SANCHEZ                      CA     90014290061
573B621555715B   GUIMER       DIPP                         VA     81083902155
573B666954B588   TAMMIE       ROBINSON                     OK     90014556695
573B676685B387   DUANE        FREEMAN                      OR     44574547668
573B6779772B27   DEBRA        RAMSEY                       CO     33097787797
573B6AA6891587   ROBERTA      CAZIER                       TX     75042140068
573B725774B588   ANNA         MCGEE                        OK     90014312577
573B7395961971   DENISE       GOMEZ                        CA     46096373959
573B7819A5758B   EDDIE        RUBIO                        NM     90013068190
573B791775B393   LORIANN      RIVAS                        OR     90006569177
573B846494B29B   JASON        CAWTHON                      NE     27034624649
573B894764B588   AMBER        KING                         OK     90014779476
573B8A17391587   COBB         BREWIGTON                    TX     90010920173
573B8A86154152   KARI         JACOBSON                     OR     47081060861
573B9227A76B68   MANUEL       OROPEZA                      CA     90013522270
573B9563A72B43   JOSE         ROMAN                        CO     33094625630
573B9886451348   MATT         STANKORB                     OH     66017948864
573B9888261965   MAYRA        VILLA                        CA     90007458882
573B998355B399   GAUDENCIO    RUIZ ANGON                   OR     90014959835
573BB29574B588   SAMANTHA     MYERS                        OK     90008562957
573BB767881664   MARY         BURKE                        MO     90006247678
573BB864191895   GUADALUPE    NOHEMY                       OK     90012768641
57411832272B38   YESICA       BERMUDEZ                     CO     90014428322
574123A465B393   ANDRES       JIMENEZ                      OR     44564133046
57412431172B36   ELIZABETH    THORSTENSON                  CO     90000104311
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 140 of 2350


5741245A933622   CYNDI        RICHARDSON                   NC     12011534509
5741287465B271   JESSICA      HALL                         KY     90003538746
5741289A25B543   CHRIS        LAGUNA                       NM     35067338902
5741293512B27B   EVA          JOHNSON                      DC     81001389351
57412992472B38   EDWIN        FLORES                       CO     90008709924
57413A76933657   ZARINA       LOPEZ                        NC     90014530769
5741457797B46B   ESPERANZA    SANTOS                       NC     90014995779
5741527455B236   ANDREW       PETERS                       KY     90007082745
5741541832B27B   MIQUET       TAYLOR                       DC     90014474183
574155AA44B588   JAMES        COMBS                        OK     90013785004
5741673655758B   RAYMOND      PENA                         NM     35562507365
574167A5261971   VALISHIA     JOHNSON                      CA     90014717052
57416A83191535   VICTOR       GONZALEZ                     TX     90011540831
57416AA435B399   JOSH         COULTER                      OR     90015020043
5741785A75B236   MICHAEL      BARTON                       KY     68059918507
57417A9935715B   JULIO        MARTINEZ                     VA     90012520993
57418482A72B27   SERGIO       GARCIA                       CO     90008914820
57418652172B49   SHARON       MORRIS                       CO     33047356521
5741B6A1691587   LUIS         MATA                         TX     90005216016
5742115835B399   RICHARD      STILL                        OR     44546881583
574213A1572B36   GEORGE       HOFLING                      CO     33019333015
574215A846194B   ERNESTO      PADILLA                      CA     46056585084
5742248255B236   DOUG         RIDDLE                       KY     90013204825
5742248A893776   TARA         ALSPAUGH                     OH     90007194808
5742272635B399   DEBRA        EURICH                       OR     90013607263
5742287A454152   JULIE        SMITH                        OR     47062288704
5742289847B46B   MARIA        MONTALVO                     NC     90011428984
5742292495B543   MARTINEZ     VIRGINIA                     NM     35002509249
5742317755B399   JEREMY       ELLIOTT                      OR     44560371775
57423188A91895   SUSAN        WINTERS                      OK     90013951880
5742367684B588   TERESA       JPHNSON                      OK     90001096768
57424A1755B236   JESSICA      GUELDA                       KY     90013600175
5742513A55715B   TERRIE       MOODY                        VA     90013931305
5742528818B341   FANY         CANALES                      SC     90001282881
57426A9945B283   GREGORY      DUDECK                       KY     90007360994
5742721695B399   GUIERMO      CUMI                         OR     90006102169
5742731922B27B   WESEN        CHEMERE                      DC     90012423192
5742734365715B   MARIA        POCASANGRE                   VA     81023693436
5742763217B46B   MOISES       VILLALVA                     NC     90014996321
5742779575B387   HOWARD       WOOD                         OR     90014887957
57428163672B27   ALEXIA       MARQUEZ                      CO     33035501636
57428262872B88   VICTORIA     LOPEZ                        CO     33031242628
5742836395758B   EDIITH       TORRES                       NM     90014183639
5742895A533699   KEVIN        WILSON                       NC     90008489505
57429273372B43   MARIA        HERNANDEZ                    CO     90012042733
5742978275B531   FLOR         RUBIO RASCON                 NM     90014817827
57429AA5672B88   MARCELO      ARAUJO                       CO     33072690056
574315A9591587   SILVIA       MORENO                       TX     75079085095
57431968A61965   RODRIGUE     MENDOZA                      CA     90001529680
57432846772B38   FLORENCIA    ORTIZ                        CO     90011688467
57432A5487B491   TAMMY        STROUD                       NC     11008420548
57432AA2591587   CHARLIE      ZAVALA                       TX     75094450025
5743313974B29B   JOSE         GAMA                         NE     27014041397
5743343474B588   CHRISTINA    MCNEES                       OK     90012374347
5743361745B387   THANG        LIAN                         OR     90007906174
57433A7457B367   ANDREA       HERNANDEZ                    VA     81052440745
574344A9172B43   MAYRA        MENDOZA                      CO     33006054091
5743515435B531   GERARDO      ANDREW                       NM     90011331543
574353A8A5B393   VICTORIA     TORRES                       OR     44532163080
574357A875715B   MOHAMAD      ASLAM                        VA     90014817087
57435A92791587   ROSA         DELGADO                      TX     75073900927
57436411472B36   MATTHEW      BERDSTRAND                   CO     90011534114
5743648A25B236   DARNELL      CANNON                       KY     90010194802
57436566A5B399   CINDY        SABAN                        OR     90008185660
5743726325715B   ALBERTO      VILLANUEVA                   VA     81082482632
574376A514B588   MISTY        CHANDLER                     OK     90008626051
57437A2237B46B   STACEY       WALKER                       NC     11016380223
57437AA245B387   APRIL        THOMPKINS                    OR     90014850024
57438325A61971   LANASHA      HERRIOTT                     CA     90010363250
5743876885B29B   WALLIE       MURPHY                       KY     90006897688
57438785672B43   KYRAH        TATUM                        CO     33076977856
5743885A572B38   KHRYSTALE    ALVARADO                     CO     90011688505
5743889745715B   JUAN         GOMEZ                        VA     81071718974
5743913AA72B36   JULIANN      TORRES                       CO     90009591300
57439718472B43   CLARK        MCPHERSON                    CO     33098467184
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 141 of 2350


5743B87795B399   CHRIS        WAGGONER                     OR     44549308779
5744181375B399   RAINA        CASEY                        OR     44526438137
57441A8425B531   MARGARET     CHAVES                       NM     90005640842
574421A6891587   LUIS         JURADO                       TX     90012731068
5744228284B29B   CHAD         MACFARLANE                   NE     90001012828
5744229595758B   DESTINY      GRIEGO                       NM     90014332959
57442449672B36   ROCIO        VILLANUEVA                   CO     90011464496
57442688372B43   MICHAEL      BECRAFT                      CO     33086896883
57442728172B27   LINDSEY      BROOKS                       CO     90015097281
57442775A5B399   PEDRO        ABRELO FAURE                 OR     44515997750
57442AA6672B36   SHANYKA      TINNER                       CO     90011080066
57443AAA75B236   HUNTER       THOMPSON                     KY     90009030007
5744426985715B   PETER        SANTIAGO                     VA     90007242698
5744458899132B   TWYLA        DEPRIEST                     KS     90001755889
57444AA834B588   MIGUEL       ESQUIVEL                     OK     90003900083
5744532255715B   JENNIFER     PATTERSON                    VA     90007923225
57445694972B38   CHRISTINA    LEAL                         CO     90013676949
574458A7461965   MARYA        EBRAHIMI                     CA     46060328074
5744737295758B   MARIA        DURAN DE BUSTAMANTE          NM     90011513729
5744761892B27B   ANTHONY      HORTON                       DC     90014406189
57447888A86545   MARY         WARD                         TN     90006038880
5744836982B27B   URSLENIA     MATTHEWS                     DC     90013193698
574497A3791587   LILIA        CADENA                       TX     75011607037
5744984625758B   MELISSA      SONDOVAL                     NM     35586698462
5744994447B826   MAEBEL       MOMAN                        IL     90007229444
57449AA875B387   MARVIN       HOPKINS                      OR     44508000087
5744B557172B43   MARTHA       LUEVANO                      CO     33028295571
5744B777651348   ALICIA       ROSS                         OH     90014927776
57451429A5B387   LARRY        MC GUFFEY                    OR     90014014290
5745169144B588   MARY         BOWLAN                       OK     90011536914
57452218172B27   JORGE        BARBA-MARTIN                 CO     33006572181
5745266A62B228   RENEE        PRESTON                      DC     90010846606
574529A5761965   ANGELA       PERCY                        CA     90013509057
57452A59455997   LISA         CARDIEL                      CA     90004180594
574535A1951383   ALEXANDER    PRALL                        OH     90009475019
5745366895B393   SIAKI        POLATAIVAO                   OR     90015176689
5745369387B46B   USAMA        GHANIM                       NC     90007646938
57453857872B38   ARIELLE      PARRISH                      CO     90011688578
57453865272B36   SAMUEL       CRISWELL                     CO     90015088652
57454628772B43   JOHNNY       DOMINGUEZ                    CO     33088126287
5745536A261965   EUGENA       LARKINS                      CA     90011033602
5745569565715B   STEVE        GONZALAS                     VA     90011936956
5745589515758B   ZINNIA       GRANILLA                     NM     90014408951
574558A2933642   MARCELINO    RIVERA                       NC     90006138029
574559A1972B38   IVONNE       CHACON                       CO     90008009019
574565A2372B36   JENNA        OLIPHANT                     CO     33049205023
5745692615758B   SARAH        ALBILLAR                     NM     90012139261
574582A7685657   MATILDE      VRIBE                        NJ     90014152076
57458692172B38   SHERRY       GARCIA                       CO     90015036921
57458695A72B49   ERICKA       CASAREZ                      CO     90012926950
5745933455715B   EMILY        HOOVER                       VA     90013663345
5745941192B27B   ANTANEICE    DUNCAN                       DC     90012844119
5745946A457591   ANGELA       BIGELOW                      NM     90002404604
5746239895758B   SOFIA        AYALA                        NM     90014583989
57463727172B49   MENDOSA      EVA                          CO     90007637271
5746381357B46B   CHARLES      WARD                         NC     11017308135
57463A47222925   CHASITY      SELMAN                       GA     90014590472
5746417475B37B   BROCK        PARKER                       OR     90006521747
57464349A61971   ANDREW       VEGA                         CA     90014743490
57464386372B93   KATHY        KANE                         CO     90009133863
574647A997B491   JEFF         POOL                         NC     90012787099
574662A1633699   CARL         ROWDY                        NC     12096822016
574668A655715B   JOSE         DIAZ                         VA     81079838065
5746746995B236   KENNETHA     SHILLITO                     KY     90014304699
5746757295B399   TERESA       BERGSTROM                    OR     44577615729
5746825994B588   JONATHAN     MELILLO                      OK     90004822599
57468467272B33   BEATRICE     PASILLAS                     CO     90012574672
574686A2172B36   PEDRO        SANCHEZ                      CO     33062666021
5746871AA72B88   YAZMIN       ACOSTA                       CO     33072427100
5746B12A27B46B   ALBINA       MARTINEZ                     NC     90010841202
5746B8A2451348   TRACY        HESS                         OH     90005478024
5746BA7995B236   JAMES        ROBY                         KY     90013370799
5747154275B236   MARGARET     KENNEY                       KY     90014915427
5747236435B387   DANIELA      RODRIGUEZ                    OR     90012283643
5747262218B483   SHANNON      VAUGHAN                      VA     90011246221
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 142 of 2350


5747316264B588   SASHA                     TUGGLE           OK    90015111626
574732A1A55997   JOSE                      ESTRADA          CA    90011162010
574738A6A72B27   LETINA                    FOSTER           CO    90014878060
57474473224B42   JUAN                      PEREZ            VA    81002854732
5747471AA72B88   YAZMIN                    ACOSTA           CO    33072427100
5747485755715B   MOHAMMED                  SINDY            VA    90014488575
5747488865B236   MARTINA                   BETHEL           KY    90010478886
57474996A91895   DUSTIN                    SCOTT            OK    90010919960
57475946272B27   CHANEL                    JACKSON          CO    90013809462
57475A57657157   SANTOS                    GERMAN           VA    90010920576
5747619625B236   BRITTANY                  MCKINNEY         KY    90014581962
5747636635B399   ARMANDO                   SANCHEZ          OR    44511173663
5747711A372B43   JOSE MANUEL               SALGADO          CO    90014001103
5747714395715B   WENDIE                    GEBEYEHU         VA    90013961439
5747722285B236   LATEYA                    WOODS            KY    90009012228
5747735414B243   ANGEL                     MENDOZA          NE    26049193541
57477431472B38   ELMER                     KENYON           CO    90012874314
5747777827B491   ROBERT                    DEPUTY           NC    11005287782
57478117A55997   ROBERTO                   HERNANDEZ        CA    90010971170
5747813415758B   MELISSA                   GARCIA           NM    35534961341
5747825235B387   AIMEE                     HOFFNER          OR    90007102523
5747826985715B   PETER                     SANTIAGO         VA    90007242698
574782A9A57157   JOSE                      GOMEZ            VA    90000312090
5747842745B236   PAULA                     NAUGHTON         KY    68058824274
574789A2833699   SHARON                    OSTEEN           NC    12008419028
57478A17572B88   RICHARD                   CARLSON          CO    90004540175
57479165A51383   DIANE                     THOMAS           OH    90006861650
5747924395B531   ELEANOR                   CHACON           NM    90013292439
5747959515B393   TAMMY                     WILKINS          OR    44515645951
57479824A5B283   BRYAN                     BROWN            KY    90010058240
57479A86391587   ANTONIO                   CASTRO           TX    90014440863
5747B2A235B387   BARBARA                   OLSON            OR    44503572023
5747B4A4731429   MARY                      STRICKLAND       MO    90004334047
5747B634361971   OSCAR DAVID               MORA             CA    90012116343
5747B696661965   MABEL                     BALANZAR         CA    46006696966
5747B783293782   NANCY                     BERNOTAITIS      OH    64594417832
5747BA47591587   SARAI                     LOPEZ            TX    75052850475
57481188372B49   LAURA                     VILLALOBOS       CO    33005171883
5748151445758B   MARIBEL                   MARTINES         NM    90004935144
57481719472B38   EDITH                     MUKANDI          CO    33063977194
57481A58A5B551   JUAN OR RHONDA QUINTANA   TORRES           NM    90012270580
5748248A872B27   ANALILIA                  BELTRAN          CO    90014294808
574829AA672B33   KELLIE                    COCHRAN          CO    90006059006
57482A54672B88   RINABEL                   WALKER           CO    90010580546
57482A67A72B36   LESA                      HITZGES          CO    33069160670
57482A91133699   VISION                    SERVICES GROUP   NC    12089240911
5748432A25B399   MATTHEW                   DAVIS            OR    90005143202
5748475535B531   MICHAELA                  ROHDE            NM    35093487553
5748497844B588   ASHLEY                    RYE              OK    90010719784
5748512347B46B   KENNETH                   BOWEN            NC    90007361234
57485181A91587   ANA                       GONZALEZ         TX    90001401810
57485A1254B588   TABITHA                   DEAL             OK    90007880125
57485A79372B36   ARACELI                   ARROYO           CO    33069160793
5748615A25B236   CHRISTINA                 MCHUGH           KY    90014361502
5748622182B27B   CHUCKIE                   JOHNSON          DC    81076792218
5748631825B561   NESTOR                    SAAVEDRA         NM    90004123182
5748661875B393   SEAN                      DOODY            OR    90007706187
5748679125758B   EDLIN                     REZA             NM    90014307912
57486A11955997   NICKLAS                   TRANCHANT        CA    90013910119
57486A8715B387   DOUG                      CORBUS           OR    44522020871
57487A48391587   GRISELDA                  BARRERA          TX    90010920483
5748825A82B27B   GUS                       OLIVE            VA    90014002508
5748833A85B393   KELLI                     DOLAN            OR    90010983308
57488381672B27   BRANDY                    HUNT             CO    90010193816
5748858795B387   AHDUHA                    RAY              OR    90000435879
57488777372B38   CHARLES                   PINEGAR          CO    33069757773
57488A3515758B   JUAN                      VILLEGAS         NM    35589770351
57489326272B38   RICHARD                   ESTES            CO    33033623262
57489A3485B597   PAUL                      WEINRICH         NM    90003740348
5748B112A61971   NACY                      BENSON           CA    90012011120
5748B471261965   JOSIAH FRANCISCO          MCDANIEL         CA    90010714712
5748B8A4272B36   MICHAEL                   DAWSON           CO    90011858042
5748B925972B38   TONY                      LEWIS            CO    90008949259
5748B9A9472B27   CHRISTINE                 OSTROWISKI       CO    90007589094
574911A3255997   BLANCA                    INIGUEZ          CA    49098001032
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 143 of 2350


57491362172B43   ZABRINA            PEREZ                  CO     90003103621
574914A4155928   MARCOS             MARQUEZ                CA     90015144041
5749192395758B   ALEX               QUINTERO               NM     90004849239
57492716572B38   JOSUE              GALINDO                CO     90010047165
5749285334B588   REY                CRUZ                   OK     90013928533
57492A8A361965   HOLLY              AHVEN                  CA     90003330803
574932AA991895   CARMEN             VELSACO                OK     90013952009
57493473672B88   OSCAR              SANTANA                CO     33050314736
5749365455B399   ANGELA             MEGRANT                OR     90002296545
5749393A372B49   MARICELA           RIVERA                 CO     90010919303
5749444815B531   TERRY              TREADWELL              NM     35003474481
57495156872B43   DORA               SENA                   CO     90000951568
57495855572B43   FRANCISCO          DE LA CRUZ             CO     33080398555
57496133672B38   KIMBERLY           CULLEN                 CO     90012431336
57496146872B88   BRAD               BURNS                  CO     33072431468
5749633A491895   SHANAI             THOMAS                 OK     90008733304
5749639145B399   FLIMON             REZENE                 OR     90014973914
5749648395B393   ARNALDO            PARDO                  OR     90008644839
57496A69191587   CARLA              REYES                  TX     90008140691
5749746665B531   AMY                VARGAS-TRUJILLO        NM     90011854666
57497A6395715B   CAITLIN VICTORIA   AGUILAR                VA     90013990639
57498178A81625   LEO                AREVALO                MO     29088071780
5749821725B387   STEVEN             PROVORSE               OR     90013322172
574986A7761971   ELVIRA             ROGERS                 CA     90002676077
57499166572B43   ANA                LILI                   CO     33097851665
5749987267B491   DANA               LIPSCOMB               NC     90010558726
5749B3A515758B   ALEXIS             CORDERO                NM     90012673051
574B124565715B   SHANE              DUFFER                 VA     90013242456
574B1621A72B38   MARICRUZ           CASTANEDA              CO     33063536210
574B2138351348   LISA               MEENACH                OH     90011611383
574B218A14B588   JUANA              ORIADO                 OK     90014611801
574B286122B225   LATONYA            WILLAMS                DC     90014328612
574B28A412B27B   LUMEL              ROBINSON               DC     90014888041
574B29A8351383   KELSEY             EDGECOMB               OH     90005959083
574B2A62391576   MARTIN             LASCANO                TX     90008250623
574B32A6161965   AURORA             BELTRAN                CA     90013722061
574B34A945B283   DARREL             RICHARDSON             KY     90009864094
574B422295B393   NGUYEN             MINH THUY DO           OR     44538232229
574B451A55715B   YOVANI             ARDON                  VA     90008125105
574B463236194B   HERNANDEZ LUNA     MARIAE                 CA     90003656323
574B489915B236   CRUZ               ARELLANO-MONDRAGON     KY     90014998991
574B527615758B   JULIA              GONZALEZ               NM     90006332761
574B58A355B543   RANDY              GUTIERREZ              NM     35068008035
574B619915B543   HENRY              VIDAL                  NM     35029191991
574B644575B531   JANEL              VALENCIA               NM     90007144457
574B6577572B43   PATRICIA           FLANAGAN               CO     90008365775
574B671785B399   LYNN               ESSER                  OR     90014967178
574B7A3995B236   SARAH              WAGNER                 KY     68015890399
574B7A56872B38   CHANTALL           ARAGON                 CO     90012690568
574B859434B588   LACANDRA           RUFFIN                 OK     90008475943
574B86A1372B27   DENISE             LORENZEN               CO     33086796013
574B8713991587   DANIEL             BARRERAS               TX     90015447139
574B9256972B43   MIGUEL             LOPEZ                  CO     33064712569
574B9462A72B27   GWEN               HOLLINS                CO     33066194620
574B96A115715B   JAVIER             BENAVIDES              VA     81086666011
574BB57515B399   BRITTANY           THORNDIKE              OR     90000435751
574BB717591895   FREDDIE            SANTOS                 OK     90010637175
574BBA5597B46B   QUONNECIA          BAKER                  NC     90005870559
5751119584B588   QUINTON            SHOUSE                 OK     90012401958
57511266176B71   EDUARDO            PENA                   CA     46060302661
5751138687B46B   NATALIE            CLARK                  NC     11067753868
5751138945B283   LUCY               WILLIAMS               KY     90005643894
5751139895758B   SOFIA              AYALA                  NM     90014583989
57511611772B88   ISAURO             ZAMBRANO               CO     90003276117
57511A19591587   ROBERT             GONZALEZ               TX     90012870195
57512578872B77   CRISTINA           CHACON                 CO     33015365788
5751293A772B38   PAMELA             BEAR                   CO     33086709307
5751311392B27B   SHEREBURA          BULLOCK                DC     90004151139
5751346825B236   JAZZY              POWERS                 KY     90005464682
5751353695758B   ERIC               GARZA                  NM     90005375369
5751376624B588   SCOTT              PRESLEY                OK     90013837662
575142A4691895   LOURDES            LOPEZ                  OK     90013952046
5751488865B399   EDUARDO            DELEOR                 OR     90011158886
57515686A72B43   SANDRA             LEMOS                  CO     90013366860
57515925372B36   KARLA              LOYA                   CO     90011929253
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 144 of 2350


5751595A693776   HEATHER               ROBERTS             OH     90010469506
57515A36955997   VERONICA              CRUZ                CA     90012850369
57516289472B36   MARIA                 ALCALDE             CO     33044592894
57516429272B88   CHRISTINA             CHAVEZ              CO     33012144292
57516656472B27   JESSICA               BAHL                CO     33032836564
575177A8572B38   WHITNEY               THRASHER            CO     90004107085
5751916795B236   SHALA                 PEDRO               KY     90013551679
57519A7A833699   BATZAYA               BATCHULUUN          NC     90008500708
5751B291151348   JAMES                 BROWN               OH     90009402911
5751B343A5B387   JOHNATHAN             WOODWARD            OR     90014903430
57521982A2B27B   CURT                  DORN                DC     90009009820
5752246A772B38   GERMAIN               GUADARRAMA          CO     33047864607
575227A885B387   RACHAEL               ATKISON             OR     90015447088
5752298762B27B   CHRISTOPHE            WOODLAND            DC     81052929876
5752361485715B   KABEYA                NYEMBWE             VA     90012266148
5752379474B521   ANGEL                 CORONADO            OK     90006027947
5752381A85758B   ALEJANDRO             PEREZ               NM     90015058108
5752384585B271   SHAVONDA              DAVIS               KY     90013718458
57523AA2661971   STEVE                 MILLER              CA     90011600026
575244A675B399   OLIVIA                HANSON              OR     90014974067
5752498655715B   LEIDY                 PENADO              VA     90012649865
57524A37161965   BRIANNA               LOPEZ               CA     90014980371
5752549644B521   MUSHONDIA             SHEALY              OK     90005854964
5752557667B46B   MARIO                 CASTILLO            SC     90003665766
5752585385758B   MARIA                 MARTINEZ            NM     35574428538
5752638AA4B588   CHERYL                KILPATRICK          OK     90012943800
575263AA65B399   LUCREE                TYLER               OR     90008823006
5752661615B393   TONY                  MIKAELL             OR     90013056161
57526826972B27   SEAN                  DAWSON              CO     90003108269
57526A42791587   YVIANNA               CANDIA              TX     75046210427
5752716A94B521   ALICIA                VUILLIER            OK     90006211609
57527186172B36   MARIA ISABEL          CAMPOS              CO     90004461861
5752753535B387   BRANDY                NELSON              OR     90006555353
5752764A761971   AIOTEST1              DONOTTOUCH          CA     90015116407
57527845372B34   KATIE                 GWINN               CO     33011528453
5752849355715B   FELIPE                MENDEZ              VA     90003684935
57528A3755B236   S                     B                   KY     90012760375
5752923935B271   PAUL                  GRUBER              KY     90006322393
57529716A4B588   SUKHRAJ               PATHANIA            OK     90011337160
5752B14255758B   DENISE                MEJIA               NM     90007111425
5752B467961932   VICTORIA              CARMONA             CA     90011564679
5752B592751348   CRAIG                 ROGERS              OH     90014935927
57531222772B27   MARIA                 MONCLOVA            CO     33077362227
57531467572B43   TARA                  GREEN               CO     90000844675
5753181A45B393   FRANK                 MCKINLEY            OR     90012938104
5753195344B588   ELVELL                KNIGHT              OK     90009859534
57532565A61965   JULIAN                LOPEZ JR            CA     46084265650
5753335945715B   -EVA                  MONTERROZA          VA     90011603594
5753474132B27B   ROZINIA               CRAIG               DC     81015997413
5753619425B399   GUSTAVO               VARGAS              OR     44594581942
5753631265715B   HERMIS                MORENO              VA     90013933126
575366A6A61949   JESUS                 MUNOZ               CA     90007726060
57536749372B38   BERNARDA              MIRAMONTES          CO     33084277493
5753697984B588   MARIA                 GARCIA              OK     90009859798
5753711435B387   ESPERANZA             CAMACHO             OR     90009131143
57537AA875715B   HERBERT               RAMSEY              VA     90013650087
5753817945758B   JOSEPH                ROTHWELL            NM     90014181794
57538256972B88   MONICA                NORING              CO     33016852569
5753838545B271   MS                    LADY                KY     90005133854
5753844A291587   AGUSTIN               FAVELA              TX     90008994402
5753914954B29B   CHARITY               MONDI               NE     90001341495
5753937285715B   DARWIN                AGUILON             VA     90014003728
575396A7651348   AMIR                  SHABAZZ             OH     90014936076
5753983954B588   YZONDIA               FARRIS              OK     21594778395
5753B55645758B   BOBBY                 FERNANDEZ           NM     90014975564
5753B618991895   ASHLEY                JOHNSON             OK     21005426189
5753B635361965   AIOTEST1 DONOTTOUCH   DONOTTOUCH          CA     90015116353
5753BA5175B543   MOISES                SANCHEZ-HERNANDEZ   NM     90002700517
57541946A4B588   JAMES                 JACKSON             OK     90000719460
5754217945758B   JOSEPH                ROTHWELL            NM     90014181794
5754229165758B   ELIZABETH             LEE                 NM     90012742916
57542826772B43   LARISSA               LORD                CO     90009088267
5754323475B399   CHRISTOPHE            LUKE                OR     44513962347
575432A627B46B   ADONY                 FUENTES             NC     90013932062
5754396A572B36   KEEDRA                JOHNSON             CO     90003719605
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 145 of 2350


5754432595758B   GABRIEL        ORDONEZ                    NM     35542943259
5754474665B387   ROSARIO        AZPEITIA GARCIA            OR     44561577466
57544977272B36   TIANNA         HAMBLETON                  CO     33007979772
5754521724B588   EDIN           BARRIOS RUIZ               OK     90006652172
5754598A191587   FRANCISCO      ROJAS                      TX     75022759801
57545A78433696   SHANA          ARANT                      NC     12054510784
5754656235B236   PORSAH         HARRIS                     KY     90013045623
57546658372B36   SCOT           PRINCE                     CO     90011096583
5754694515B387   JAMES          REEVES                     OR     90013489451
57546A2715758B   CARLA          OCON                       NM     90013290271
57546A49833699   JEFFREY        BAKER                      NC     90001820498
5754732A35715B   MELVIN         ORDONES                    VA     90013933203
57547761672B88   STEPHEN        ARMENTA                    CO     33073057616
575479A7691962   JAVIER         LOPEZ                      NC     90014999076
57548648A72B35   SHELIA         MARSHALL                   CO     90013616480
5754872A45B393   RUTH           SAPPINGTON                 OR     90002107204
57548A33972B49   CHRISTOPHER    ALLEE                      CO     90013780339
5754924975B393   ERNESTO        GRANADOS                   OR     44548422497
57549615572B32   ERNESTO        UNGUIA                     CO     90012946155
57549783472B43   MANUEL`        SALINAS                    CO     33025577834
57549A72641222   KAREN          PELLECCHIA                 PA     51015270726
57551425572B43   FELINA         MONTEZ                     CO     33047124255
5755332615B543   RICARDO        GARCIA                     NM     90000113261
57553A6175B399   AUSTIN         PECKHAM                    OR     90014980617
5755414795715B   DINELY         PAGUADA                    VA     90014041479
5755531915B354   HEATHER        CRAWN                      OR     90006033191
5755592A35B543   VICENT         NOLL                       NM     35067349203
57555A62855997   COURTNEY       DURAN                      CA     90005410628
5755618675B523   JOAQUIN        CHAVARRIA                  NM     90008981867
57557A73872B36   JUSTIN         TAYLOR                     CO     90011080738
5755992465715B   CARLOS         ZEPEDA                     VA     90003479246
5755B17235B531   VICTORIA       FARRELLY                   NM     90003331723
5755B366861965   TINA           TALAMANTEZ                 CA     90013833668
5755B575672B38   ANDREA         GRIMES                     CO     90005355756
575613A1472B38   ALEJANDRINA    TORRES CABRERA             CO     90012613014
57561434272B28   DERRELL        FINCH                      CO     90010374342
5756235995B531   DANNY          GARNER                     NM     35021473599
57562893472B49   OMAR           VELASQUEZ                  CO     90014908934
57562A91972B43   SHARNA         FLORES                     CO     33047360919
57563884872B38   DAVID          GUTIERREZ                  CO     90006448848
575638AA84B588   KARINA         ORTIZ                      OK     90013798008
5756494A461965   WALIS          SANTANA                    CA     46014459404
57565766372B38   MICHELLE       K YUUNG                    CO     90007737663
5756634A72B273   RIYAD          HAJJAJ                     VA     90013273407
5756649335B283   KENNETH        PRICE                      KY     90008104933
57567153972B43   DONNA          SCHICK                     CO     33019411539
5756724854B588   PATRICIA       KERLEGON                   OK     90012392485
5756736995B399   SAFIYYAH       CHRISTOPHER                OR     90011193699
5756751955B223   STEVEN         CURFMAN                    KY     68007335195
5756777186194B   SEAN           MURPHY                     CA     90001607718
5756799445B393   MANDY          AGUILAR                    OR     90012289944
57567A19572B36   ELIZABETH      ARAGON                     CO     90006810195
57567AA2A5B236   SARA           BARNETT                    KY     90010010020
57568461A5758B   JUAN           HERNANDEZ                  NM     35509584610
57568958772B38   THERESA        CAMACHO                    CO     33013819587
57569583472B38   MARI CRUZ      MANCILLAS                  CO     90014005834
575699AA95B531   BIBIANA        PENA                       NM     90000629009
5756B389272B49   DAVID          HINES                      CO     33090653892
5756B51845B387   JASON          ELLEDGE                    OR     44548605184
5756B997191587   CLAUDIA        NAVARRO                    TX     90009089971
5756BA93872B43   ROGELIO        PINA                       CO     33077900938
575716A8372B38   GRACIANO       FLORES                     CO     90001186083
5757173395B387   JOSE           ANDRADE                    OR     90007937339
5757212A872B43   BRENDA         MCCLELLAN                  CO     33032641208
5757272695B93B   PABLO          ERNANDEZ                   WA     90015487269
57573151972B27   DENIS LEONEL   VACA GARCIA                CO     90012481519
5757316415758B   MIGUEL         SIERRA                     NM     90013611641
575737A355715B   CECIL          BENSON                     VA     81091937035
57573A15731477   KIMBERLY       AUSTIN EL                  MO     27511930157
57573A33672B38   JOSE           RODRIGUEZ                  CO     90000830336
5757411974B588   BORRAYES       ISMAEL                     OK     90009861197
5757426238B164   SOCORRO        JIMENEZ                    UT     90009262623
57574A2355758B   RICHARD        ENRIQUEZ                   NM     90013070235
57574A32572B38   SCHANICE       LUEVANO                    CO     90003090325
5757544A45715B   ELVIN          PINEDA                     VA     90000184404
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 146 of 2350


57575542A51388   RALPH          BAUER                      OH     90005625420
5757588452B57B   LAMETRIA       HENDERSON                  AL     90015488845
57575A7835B354   DANIELLE       CRAWN                      OR     90004710783
57576222972B49   TRAVIS         NILLES                     CO     90011372229
5757645894B29B   RUBY           LEWIS                      NE     90001014589
57576A62754152   SUSAN          TANTON                     OR     90005120627
575777AA951348   ROBERT         YOUNG                      OH     90014937009
57577998A84357   GARY           MOELLENHOFF                SC     90013849980
57579A3635B531   CINDY          CANO                       NM     90006860363
5757B24365B236   TAMMIE         ORTIZ                      KY     90013092436
5757B29447B491   JESSICA        HILDERBRAND                NC     90005192944
5757B348391895   LAURA          CERVANTES                  OK     90014883483
5757B51112B27B   BERNARD        MUNDAY                     DC     90013085111
5757B81AA5B531   REBEKAH        JOEY                       NM     90003098100
5757B925272B38   T              KSCOTT                     CO     90006929252
5758119AA31443   JOHN           BOWLBY                     MO     90007791900
575819A6A2B272   GREGORY        WARD                       DC     81017659060
57582411672B27   MARIA          SANDOVAL                   CO     90014174116
57583257172B38   JERRY          PENDLETON                  CO     90014122571
57583443472B27   GLORIA         ARROYO                     CO     33095224434
57583473A61965   MARCO          CLAROT                     CA     90000844730
57583485272B63   KEVIN          GREENE                     CO     90000494852
57583967324B85   LUIS           REYES                      DC     90012279673
5758429665B531   RIGOBERTO      MONTANO                    NM     90013332966
57584458472B88   DAVID          BILLINGS                   CO     33096294584
57584811772B36   ERIC           VENARD                     CO     33072488117
5758497964B588   LOTOYA         JOHNSON                    OK     90011209796
57584A42591587   LIDIA          PINEDA                     TX     75087290425
57585A9255B399   MOLLY          CLOUTIER                   OR     90014980925
575865A1A7B46B   KWAME          WITHDROW                   NC     90011995010
5758769755B236   YOLANDA        COLEMAN                    KY     68095766975
57587897572B49   DOLORES        VALDEZ                     CO     33007528975
5758799575B399   STEVE          ULESTAD                    OR     44571849957
57588A21961965   NEIL           HULL                       CA     90000570219
575893A695B393   LESLIE         MAYA                       OR     44529773069
5758987695B283   LORIE          MALONE                     KY     68038418769
5758B23395B399   MAGDALENA      PLATON-GALINDO             OR     90011472339
5758B493391587   MARIA          DE VILLARREAL              TX     90011014933
5758B71A651348   JOSHUA P       WEISS                      OH     90014937106
5758B91753B191   REINA          TICONA                     VA     90002359175
57591129872B38   ANGELA         PIRTALE                    CO     90009961298
5759143255715B   TUTU           TETERA                     VA     90013244325
5759222A391587   REBECCA        GONZALEZ                   TX     90003652203
5759231225B236   GLORIA         GLOVER                     KY     68082413122
5759328937192B   JASON          BLOMQUIST                  CO     90014132893
57593659772B36   ISRAEL         GONZALEZ                   CO     90007146597
5759393745715B   CARY           DUMAR                      VA     90009999374
57594487372B38   NOE            OLIVANO                    CO     33096084873
5759449A691587   JESSICA        HUERTA                     GA     75087744906
5759527A34B588   LAURA          WALCH                      OK     90014292703
5759546895758B   HUMBERTO       JIMENEZ                    NM     90013274689
5759587A591587   ALVARO         NAVARRO                    TX     90002848705
57597473A61965   MARCO          CLAROT                     CA     90000844730
57597757A33699   LATRIKA        PAYNE DRAKE                NC     90013617570
5759833AA55997   MANDY          CASTREJON                  CA     49057043300
5759861375B393   WAY            NU                         OR     44579946137
575988AA361971   KATELYN        KARL                       CA     90014158003
5759B925661971   BERTHA         VILLEGAS                   CA     90008769256
575B13A8561971   KELLY          JONES                      CA     90012173085
575B1754891895   CHRIS          FITZHUGH                   OK     90012017548
575B182234B588   SHORON         BUSS                       OK     90010918223
575B211345B236   NAKITA         NATHAN                     KY     90008041134
575B2192272B27   ATHENA MARIE   SANCHEZ                    CO     90013351922
575B278615B393   JUSTIN         WATERS                     OR     90014857861
575B322745B393   DANIEL         JONES                      OR     90004302274
575B3471791587   BRETT          HAZENSTAB                  TX     90012234717
575B416563B468   ROBERT         GLOVER                     WV     90015611656
575B44A345715B   NATIVIDAD      REYES                      VA     90003704034
575B4932772B38   ROBERTA        TURNAGE                    CO     33004109327
575B572632B27B   ALONZO         HAMILTON                   DC     90012577263
575B5764372B38   BARBARA        CURTIS                     CO     33059857643
575B631425B236   AUDREY         CUFF                       KY     90004083142
575B6344855997   HAMILTON       HYATT                      CA     90002463448
575B6369772B49   KRISTI         SCHMIDT                    CO     90010203697
575B6862372B43   JAMES          ABAD                       CO     90009858623
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 147 of 2350


575B7625972B38   SILVIA           TRINIDAD                 CO     33097836259
575B78A6972B88   BROOKE           KASPER                   CO     90000718069
575B797644B53B   CESAR            MORENO                   OK     90001019764
575B8367491895   AMANDA           JOHNSON                  OK     90008103674
575B9622691895   ANGEL            MORRIS                   OK     90008826226
575B9679972B43   YANETH           MORENO                   CO     90003346799
575B9837754152   DEIDDE           GAROFANO                 OR     47079648377
575B9848972B38   MANUEL           ALMARAZ                  CO     33089698489
575B9991261965   JOSE             ESPARZA                  CA     90013599912
5761124995B236   ROBERT           HUSTON                   KY     68041262499
5761349235758B   DIANA            SANCHEZ                  NM     90010404923
57613A9915B399   SHERRI           THOMAS                   OR     90014980991
5761469795715B   REINA            SANCHEZ                  VA     90014436979
57614837A5B543   ANDREW           HERRING                  NM     35068008370
5761517965B236   KASANDRA         HABICH                   KY     90014361796
576155A5972B88   ROSARIO          HILDALDO                 CO     90003825059
5761577794B521   JIMMIE           STEVENS                  OK     21578957779
57615789A5B387   JOHN             OWEN                     OR     90015247890
576161A115B399   BARBARA          OWENS                    OR     90014981011
5761731945B543   JESSICA          HERERA                   NM     35096963194
576177A6372B38   ERIK ALEXANDER   ROJAS                    CO     90013677063
57617A75672B49   RYAN             HUHN                     CO     90008690756
5761845472B261   SHARON           COLLIER                  DC     90012284547
5761875745715B   DAREN            MCEWAN                   VA     90013197574
5761961924B936   LUIS             LOPEZ                    TX     90010786192
5761976217B461   ELEUTERIO        MONTES                   NC     90007807621
5761B33522B241   ANDREW           GARNER                   DC     90004983352
5761B49415758B   REGINA           SANCHEZ                  NM     90009894941
5761B736361971   REGINA           MARTINEZ                 CA     90008827363
5762177794B521   JIMMIE           STEVENS                  OK     21578957779
5762213687B348   SAMUEL           RIVERA                   VA     90003991368
576221A2957153   CHARLES          ASILENE                  VA     90004301029
5762228712B27B   ANTONIO          MARTINEZ                 DC     90011162871
57622326A72B27   JARRETT          DILKA                    CO     90014113260
5762232AA5715B   FREDDY           ESCALIER                 VA     90013273200
5762276325B283   MACK             RAVYN                    KY     90011637632
5762291865B236   TIFFANY          NEELY                    KY     68042909186
5762433924B536   JOSE             MARRUFO                  OK     90012343392
57625144A5B387   EVA MARIE        COULOMBE                 OR     90012031440
57625194772B43   BERNARDINO       GARCIA                   CO     90013931947
57625724A2B27B   GERSON           LEMUS                    DC     90000337240
57625731172B43   GRACE            HERNANDEZ                CO     90012017311
5762588335B531   JESUS            SOTO                     NM     90010738833
5762661383B399   THOMAS           ESPOSITO                 CO     90013866138
5762731674B521   DAVID            GARY                     OK     21578963167
57628A1A672B38   JEAN             KEITA                    CO     33065040106
5762911315B236   BARBARA          FLINCHUM                 KY     90014691131
576293A4961965   ALEJANDRA        MARTINEZ                 CA     46049953049
5762B7A434B521   TONYA            RAKESTRAW                OK     90003157043
5762BA79A91895   LORENA           SOTO                     OK     90009830790
5763154535715B   SAMUEL           MANSARAY                 VA     90000195453
5763245534B588   DIONNE           FORSHEE                  OK     90015124553
5763251175B236   JEREMY           FROST                    KY     90011905117
5763253795B387   RACHEAL          KNOKE                    OR     90003315379
5763256433B343   ADELINA          BANUELOS                 CO     33039815643
57633565372B27   BUENOS           MINJAREZ                 CO     90011885653
57634236572B38   GLENN            GEORGE                   CO     33039842365
5763445635B236   JEREMY           EPPERSON                 KY     90010344563
576346A4351388   KENDRA           DAVIS                    OH     90010516043
57635286372B43   KIMBERLY         FXFORD                   CO     90010822863
5763539528B653   TOMAS            GARCIA                   TX     90015363952
5763596322B225   NELSON           VILLATORO                DC     90011689632
5763631275758B   COURTNEY         BOUNDS                   NM     90014613127
5763633394B556   JAMIE            JOHNSTON                 OK     90009693339
57636556972B36   TERESA           FRY                      CO     90013295569
5763684475B393   LORRAINE         MAENZA                   OR     90014348447
576375A8991895   LEEANN           WHEELER                  OK     90005345089
5763828535715B   ROMAN            KEY                      VA     90006842853
5763914114B588   BRYANT           DEMERY                   OK     90014831411
5763B24A85715B   NIKISHA          BUTLER                   DC     90001242408
5763B392551348   AMANDA           FESSEL                   OH     66042133925
5763B419A5B531   MARIA            ARMENDARIZ-BUSTILLOS     NM     90010874190
5763B976972B38   ANTONIO          LOPEZ JR                 CO     90013389769
5763B99325B399   KRISTINE         KOCH                     OR     44574869932
5764126445B387   ELVIRA           ALVEZ SALINAS            OR     44537642644
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 148 of 2350


57642117A33699   DARIUS        SIMMONS                     NC     90008511170
5764224A35B387   ALICIA        GAMER                       OR     90014732403
57642388672B36   JESSICA       CHAVEZ                      CO     33096763886
5764242754B521   RICKY         ORTON                       OK     90008904275
57642523A51348   RIGOBERTO     GARCIA                      OH     90000715230
5764282164B29B   TROY          LANGAL                      NE     27098178216
57642979172B38   KEITH         PERRY                       CO     33008409791
5764316615715B   FLORES        JUAN                        VA     90014041661
57643535372B88   HUGO          FUENTES                     CO     33087755353
57643567172B36   REYNA         QUEZADA                     CO     33037065671
576444AA372B28   KRISTINE      KELLNER                     CO     90014624003
5764459185758B   ANDREINA      TALAMANTES                  NM     35542905918
576456A9861965   CHRISTOPHER   OWEN                        CA     90014266098
57645897572B38   AUTUMN        REED                        CO     90012638975
576464A1857126   GERTRUDE      JONES                       VA     90001554018
5764713A77B491   SHASTA        RAINEY                      NC     90008571307
5764738165758B   SALVADOR      SANTILLAN                   NM     90008013816
57647A29372B43   CRYSTAL       MOORE                       CO     90014310293
57648A37172B43   BOBBY         HOGAN                       CO     33093210371
57649141A5758B   SOLEDAD       LOPEZ                       NM     90011741410
5764965885715B   RAHIMA        MOHAMMADULLAH               VA     90011616588
5764978A95B393   JENNIFER      MANNING                     OR     90009947809
5764B581A91587   ARMANDO       ENRIQUEZ                    TX     75089945810
5764BA5344B588   DEBRA         BRUCE                       OK     90012730534
57651335A48B25   KIMBERLY      WOLFE                       CO     90000273350
57651536572B49   JERRY         CHAVEZ                      CO     90014925365
57651A62872B36   ALEXANDER     WALLACE                     CO     90013720628
57652423272B27   ALMA          RODRIGUEZ                   CO     33036344232
57652458272B38   LISA          LUCERO                      CO     90011834582
5765316975B387   PAUL          JOHNSON                     OR     90003591697
5765385A272B42   AUDREY        MARTINEZ                    CO     90006718502
576539A653B352   GARY          HUNTER                      CO     90007929065
57653A71872B49   DESTINY       WRIGHT                      CO     90003530718
5765482164B29B   TROY          LANGAL                      NE     27098178216
5765556A22B228   PAUL          KEMELL                      DC     90005975602
57655898572B97   SHANNON       AMBROSIUS                   CO     90011478985
576562A7372B38   LISA          BUCKER                      CO     33003002073
5765642454B588   BLAKE         WILSON                      OK     90014574245
5765697558B167   BRANDON       FARLEY                      UT     90000479755
5765718AA5B399   SHAYLA        ADAMS                       OR     90005351800
5765758277B468   TANIA         ESTRADA                     NC     90012505827
57657949572B52   KAYLA         PEOPLES                     CO     90014119495
5765946555B283   RICKY         KENNEDY                     KY     90007404655
5765B264372B38   JAKELINE      RUIZ                        CO     33017412643
5765B546691587   OMAR          PORTILLO                    TX     90010945466
576611A2754152   AMY           CLANCY COX                  OR     47095121027
5766219195B387   SIQI          KANG                        OR     90012421919
5766246A861965   BON           BUCTIANAN                   CA     90012354608
576631AA172B36   WILLIAM       COX                         CO     90011081001
5766352755715B   DESALEGN      MENGIE                      VA     81017835275
5766526555758B   ADRIANA       MARTINEZ                    NM     90013892655
5766535AA91587   MATHEW        AGUILAR                     TX     90010213500
576655A3155997   HOSEIN        SALA                        CA     49013965031
5766568417B491   AMY           ROBINSON                    NC     90005296841
5766578687B46B   REGINALD      SMITH                       NC     11012677868
5766616585B236   MARQUETTA     STARKS                      KY     90009631658
57667186372B88   JORDAN        COLLIER                     CO     33016721863
5766784715B543   BIANCA        RIVAS                       NM     35076538471
57669186372B88   JORDAN        COLLIER                     CO     33016721863
576692A185758B   ARACELI       RAMIREZ                     NM     90014182018
5766992635B399   LISA          MYERS                       OR     90008339263
57669965372B36   KATHY         RUSSELL                     CO     90007839653
5766B17985B236   JOSEPH        CRAIG                       KY     90007841798
5766B74227B356   CARLOS        LEMOS                       VA     90005117422
5766B777491587   VICTORIA      LOPEZ                       TX     75089287774
5766B841172B38   DOMINICK      MAESTAS                     CO     90014428411
576716AA85B531   MICHAEL       SMITH                       NM     35061566008
576721A4472B36   HARVEY        MORGAN                      CO     90011081044
5767222255B531   ANDREA        BENAVIDEZ                   NM     90012972225
5767226614B29B   TROY          JOHNSON                     NE     27076642661
5767315325B399   DEVON         HAMMONDS                    OR     90008421532
576736A8A57126   LEONEL        CONTRERAS                   VA     90001016080
5767412A631428   STACY         BYRNE                       MO     27575501206
576752A4761965   ZELLASTEIN    MITCHELL                    CA     90013492047
57675564972B43   DONNA         FREITAG                     CO     90013495649
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 149 of 2350


5767869555B236   TEMPEST               WATKINS             KY     90001446955
57679333A91895   STEVEN                SHIPP               OK     90013953330
5767B186672B49   RAQUELLE              FORD                CO     33095931866
5767B452672B43   NIARA                 DOCK                CO     90012604526
5767B832391895   JASON                 HARRIS              OK     90013318323
5768156544B588   TAMMY                 CARTWRIGHT          OK     21590745654
5768177725B531   MONIQUE               PEREA               NM     90005637772
57681948A5B399   JESUS                 AYALA               OR     90014989480
576827AA833696   BRANDON               COMBO               NC     12071647008
57682A99251348   DEREK                 KNAUER              OH     66080800992
57683268472B36   JUAN                  ORDOZ ROMERO        CO     33051502684
576844A355715B   RIGOBERIO             DIAZ                VA     90013934035
57684539772B36   LILIANA               SAHAVEDRA           CO     33035905397
5768457955B531   JOSE                  VALENZUELA          NM     90012505795
576846A334B588   LINA                  RATTLIFF            OK     90014936033
57685A35272B38   DENVER                SMITH               CO     33044920352
5768654835B393   STEPHANIE             PUGLIA              OR     90007345483
5768659595715B   ROSA                  MARQUEZ             VA     81076095959
57686851A5B236   JOHNNY                FINLEY              KY     90012138510
57686A58472B38   JENNIFER              ROUSH               CO     90011940584
57687838A5758B   JOSSE                 ZAVALA              NM     90008668380
576885A7372B38   KARLA                 MORALES             CO     90012835073
57688738172B38   NANCY                 ORTIZ               CO     33024257381
57689449672B27   JOHN                  MIRABELLA           CO     90013224496
57689944A4B588   KENSLY                CHIVIRRIA           OK     90010009440
57689A9A95B393   LYNDSAY               MEDONICH            OR     90008750909
5768B27AA72B49   MIRIAM                LOPEZ               CO     33013772700
5768B671191587   MOISES                FLORES              TX     90013016711
5768BA1A45B393   STEVEN                TUIRENR             OR     90010000104
57691576372B49   JOSH                  WOOD                CO     90014155763
5769182345B399   JOYCE                 SEAMSTER            OR     90015138234
5769193535B387   SANDRA                ALVAREZ             OR     44542949353
5769292395758B   ALEX                  QUINTERO            NM     90004849239
57692A7AA5715B   FELICIA               TANIMOWO            VA     81023370700
5769324185B236   ALCOVISE              BURCH               KY     90014922418
5769333617B46B   MICHAEL AND CORLINA   STRICKLIN           NC     90015043361
5769334885758B   ARRI                  CHAVEZ              NM     90014853488
576936A3191895   JOSEPH                COLBERT             OK     90009886031
576936A6991587   CINDY                 ROSALES             TX     75072906069
5769433617B46B   MICHAEL AND CORLINA   STRICKLIN           NC     90015043361
576943A725B393   FELIPE                ARRIAGA             OR     90014553072
5769523A891587   MICHAEL               LANDEROS            TX     75015952308
5769563334B29B   VERLIE                ROSS                NE     27016406333
57695A2785B531   TERESSA               MENDEZ              NM     90013230278
57696695172B49   JOSHUA                DETTING             CO     33084076951
5769725255B531   MATTHEW               LOPEZ               NM     90010532525
576972A8372B36   SEAN                  DUNWOODY            CO     90001112083
57697916A72B27   CLAUDIA               ROCIO VILLEZCAS     CO     90013239160
5769886A85B236   BULLITT               TROY                KY     90012138608
57698992572B28   TRACY                 LYNCH               CO     90014169925
57698A16A61971   RODOLFO               SOTO PEREZ          CA     90003620160
57698A78A72B28   TRACY                 LYNCH               CO     90011580780
5769916288B164   CHRISTINA             STONE               UT     90010721628
5769B234854152   VIRGINIA              SANCHEZ             OR     90003132348
5769B25535B393   JACOB                 SHROYER             OR     44554062553
5769B941751348   JIMMY                 JONHSON             OH     90014019417
5769B95A12B27B   VANESSA               AGNEW               DC     90002309501
576B1A5535715B   JUAN                  UMANZOR             VA     90012370553
576B2557472B27   DOUGLAS               SARINOPOULOS        CO     90006505574
576B2641151348   JASEN                 KLEMS               OH     66095056411
576B2693A91895   ELIZABETH             LEONARD             OK     90011176930
576B26A562B27B   CHARNDA               MCNEIL              DC     90012226056
576B32A894B588   SHELBY                NAVES               OK     90012402089
576B351112B27B   BERNARD               MUNDAY              DC     90013085111
576B3729991895   ARELIZ                ESPARZA             OK     90012267299
576B3745772B38   TIMOTHY               KOCH                CO     90006927457
576B4185172B58   YURIDA                MIRANDA-DAMIAN      CO     90014161851
576B428915B387   KIM                   MOORE               OR     44511622891
576B434A15715B   SARA                  DRAKE               VA     90013933401
576B451A761965   KIMBERLY              PARRA               CA     90011405107
576B497124B521   JOSE                  ALVAREZ             OK     90005859712
576B5617261965   SANDIE                KALAMAHA            CA     90014536172
576B561815B531   VANITA                GREEN               NM     35003566181
576B5A8575B387   LACEY                 KISER               OR     90010670857
576B612772B27B   JANEL                 PATTERSON           DC     90012751277
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 150 of 2350


576B6333A51348   ERIK          HOLTZCLAW                   OH     66020083330
576B646812B389   SHARON        WYNTER                      CT     90004904681
576B6553472B49   SUZANA        QUINTERO                    CO     33082995534
576B6861672B38   CARMEN        LLAMAS                      CO     90001578616
576B7549661965   JOSHUA        WINTERS                     CA     90013965496
576B775665B393   TAYLOR        GERALD                      OR     44563257566
576B794415B236   MATTIE        ARNOLD                      KY     90011609441
576B797A52B27B   KENNETH       NJOKU                       DC     81028709705
576B819345B531   JEREMY        CANDELARIA                  NM     90014271934
576B8219861965   HEIDI         HOOVER                      CA     90006712198
576B846515715B   MARIA         DELGADO                     VA     90000184651
576B864425B538   MONAE         BEGELTON                    NM     90014286442
576B865515B543   HOLLY         BAECHER                     NM     35002526551
576B92A525B531   PATRICK       AYALA                       NM     90004562052
576B936254B521   LEANN         WHEELWRIGHT                 OK     21578953625
576B945295B543   LUIS          SERNA                       NM     35084334529
576B949365758B   HERRERA       LUIS                        NM     90006364936
576B96A415B531   KRYSTAL       YANEZ                       NM     90012876041
576B975985715B   ISHA          KARGBO                      VA     90008307598
576B9826372B88   KAYLA         BURNS                       CO     90014688263
576BB224197164   GRACE         DENTON                      OR     44594112241
576BB7A865B393   DOLORES       JUDIE                       OR     44565207086
577116A484B588   CLAUDIA       HERNANDEZ                   OK     90014936048
5771285712B27B   ANTHONY       MCNEILL                     DC     90014648571
57712A55851348   JAMIE         SCHIBLEY                    OH     66030820558
57714A78872B38   JESSICA       ABEYTA                      CO     33039620788
57714AA3761965   MARIA         HARO                        CA     90008510037
57715367A91587   ISIDORO       IBARRA                      TX     75038953670
57715A21172B43   JOSHUA        SHIELDS                     CO     90011180211
57715A4684B588   JENNIFER      YOUNG                       OK     90009980468
577166A4991587   EDWARD        MARTINEZ                    TX     75080046049
577166AA55B399   JOSHUA        HENDRICKS                   OR     90014996005
57716916972B49   EDWIN         VALERIANO                   CO     90014909169
57716A2114B29B   JENNIFER      DAHMER                      NE     27073370211
5771719835B393   JESSICA       PRATHER                     OR     90013071983
57717413472B43   JESSICA       AMIEE                       CO     90010424134
57718A99961971   JOHNNY        RODRIGUEZ                   CA     90014730999
57719722A91895   NATASHA       MURRAY                      OK     90013527220
577197A1591895   NATASHA       MURRAY                      OK     90013527015
5771B18A672B38   VERONICA      LOPEZ                       CO     90007481806
5771B292661548   ANGELA        WILLIAM                     TN     90015442926
5772116A955997   JULIO         GRANADO ORTIZ               CA     49096871609
577211A7772B38   ANGELA        CHAVEZ                      CO     90011691077
5772195A35715B   ASHENFANI     HABTEMICHAEL                VA     81084729503
57722655A61971   PATRICIA      CHRISTINA                   CA     90012256550
5772393585715B   FLOR          GIRON                       VA     90013089358
5772415865B236   SHANEQUA      ROEBUCK                     KY     90011221586
57724A79872B27   CHRISTOPHER   ULRICH                      CO     90012960798
5772531A772B36   PATRICIA      GUEVARA                     CO     33052493107
57725651A72B27   CINTHIA       CANO                        CO     90012076510
57725A9845B543   MATILDA       MCMANAWAY                   NM     35059170984
5772671A75B531   ALBERT        ESPINOZA                    NM     90012757107
577271A6461971   KANOE         MITCHELL                    CA     90012071064
57727531872B42   JOSE          ALONZO                      CO     90008885318
5772854965B236   JAKE          HISCOX                      KY     90014915496
577286A6131429   STEVEN        GADDY                       MO     27514266061
5772948775B393   NICOLE        STURN                       OR     90008984877
5772963274B588   KRYSTAL       LUCAS                       OK     90003126327
57729715572B38   JASON         CANDELARIE                  CO     33090897155
57729891A5B283   ADRIANE       GLENN                       KY     90008398910
5772B452A5B393   CURTIS        ADAMS                       OR     44513454520
5772B487572B38   DULCE         SANTILLANO                  CO     90009994875
5772B635755997   GUADALUPE     RAMIREZ                     CA     49073406357
5772B9A222B57B   ALEX          ALEXANDER                   AL     90013589022
5772BA4525B236   DAMIAN        COLLINS                     KY     90004000452
5773119A361971   ROBERT        WENEDT                      CA     90011251903
57731311A33696   SEAN          WALLIS                      NC     12065093110
57731615272B49   ANA           CARRILLO                    CO     33055926152
5773162375B387   MARY          PHILLIPS                    OR     44518456237
5773178885B393   RUSSELL       WHITAKER                    OR     44535027888
57731A8595B399   BRENDA        WERREMEYER                  OR     44538110859
5773261594B588   CHRISTINE     QUINN                       OK     90012596159
5773349495715B   MARIA         LETTICIA                    VA     90013934949
5773415365B399   JEROME        BABIA                       OR     90013071536
5773418525B531   TERRELL       BOESKE                      NM     90013861852
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 151 of 2350


57734885572B27   KAY          WILSON                       CO     90013818855
5773514755758B   GUADALUPE    NEVAREZ                      NM     90012691475
5773682862B29B   WILLIAM      OGDEN                        DC     81037138286
57736A9275B387   HELIODORO    ROSAS                        OR     44591760927
5773843335715B   BOGALE       HAYMANOT                     VA     90014514333
577387A2872B49   EMIR         ARROYO                       CO     33047847028
5773989595B393   CHRIS        BOCHSLER                     OR     90011708959
5773991814B588   CAROLYN      ALLEN                        OK     90011179181
57739A16A31429   JAMES        BACH                         MO     27567030160
5773B49495715B   MARIA        LETTICIA                     VA     90013934949
5773B62215B399   DORALVA      HERNANDEZ                    OR     90014996221
5773B74325B399   WILLIE       CHAMBERS                     OR     44526767432
5773B812491587   ROBERT       BONILLA                      TX     90012518124
5773B838A98B47   JUAN         ERAZO                        NC     90012528380
57742254A91576   HILDA        MORALES                      TX     90011182540
577431A455B387   MARILEE      KLEIN-WELCH                  OR     90007721045
5774349755715B   LUISA        SANTOS                       VA     90010474975
577434A122B922   GUADALUPE    BENITEZ                      CA     90012444012
5774371A22B27B   EBONY        WORLEY                       DC     81007767102
577447A555B531   WILLIAM      CHISHOLM                     NM     90009727055
5774573A65B531   LORENA       MLMANZAR                     NM     90007817306
577459A1672B38   YVETTE       CIENFUEGOS                   CO     90010509016
577461A5291895   APRIL        MARTINEZ                     OK     90013321052
57746426872B49   GABRIELLA    DENISE                       CO     33018104268
5774657145B531   VICTORIA     BAKER                        NM     35097755714
5774717285715B   MOULEIN      ROGER                        VA     90012071728
57747212A61965   JERRY        GARCIA                       CA     90011712120
5774722363B343   ROBERT       KAVINSKY                     CO     90011152236
57747461A5758B   JUAN         HERNANDEZ                    NM     35509584610
57747737672B36   ANTONIO      MARTINEZ-SAENZ               CO     90010247376
57748129A7B46B   NELSON       GONZALEZ                     NC     90015051290
577487A7772B49   MIKE         DONNELLY                     CO     90012267077
5774929AA5B531   MARISOL      HIELO                        NM     90009352900
5774B187257128   VALERIE      CURTIS                       VA     90011621872
5774B233A6198B   MARGARITA    DIAZ                         CA     90004532330
5774B53967B46B   MELODY       HEATH                        NC     11040275396
5774B765891587   ANGEL        PAIZ                         TX     90009177658
5774B899172B88   MONIQUE      APOLINAR                     CO     90003278991
5775113314B521   MICHELLE     RAMIREZ                      OK     21579031331
5775183A272B88   MAYRA        PARRAL                       CO     33072468302
5775281965B399   TERRIE       ARANGO                       OR     90013428196
57752977A61971   YOLANDA      ASENCIO                      CA     46093749770
5775363545B393   TAMMY        CONWAY                       OR     90012276354
57753733A7B46B   SHA          REED                         NC     11078227330
5775385A34B588   PATRICIA     ALEXANDER                    OK     90010888503
57753962872B28   JOHN         CURRY                        CO     90004119628
57754583397B21   JAMES        MEADOR                       CO     90012695833
577546A7761971   RAY          MUNOZ                        CA     90006896077
5775489685B399   SHEILA       BRACKENBURY                  OR     44510498968
57754AA2272B38   JOHN         LYNN                         CO     90013990022
5775514455758B   BORIS        BENIGNA                      NM     90012491445
5775556974B588   HILARIO      ORTIZ                        OK     21575575697
5775558175B399   THORRESA     HUFF                         OR     90000425817
5775561A572B27   GISELE       GREENIER                     CO     33080236105
57756581972B38   LENRIE       ASUMADU                      CO     90001575819
57756611872B27   TAVIA        EMERSON                      CO     90014146118
5775682595758B   CAROL        SEDILLO                      NM     90008048259
5775876195B399   DELORES      LOVING                       OR     44527097619
57758832A5715B   MARIA        BARRAZA                      VA     81073778320
57758A8145B236   TIFFANY      TERRY                        KY     90015120814
57759381172B49   MARTHA       MEADE                        CO     33063343811
5775964375B387   GINA         ANGECO                       OR     90015466437
5775966565B393   ELIZABETH    PHILLIPS                     OR     90011916656
5775967315B399   MARY ELLEN   KEAST                        OR     90014996731
5775968415715B   JUAN         ROSAS                        VA     90013126841
5775998995B543   SHARON       MADRID                       NM     35011649899
5775B135431547   MARGARET     CAMPBELL                     NY     90012441354
5775B1A755B236   CARPER       CHARLES                      KY     68063161075
5775B32A85715B   RONALD       NELSON                       VA     90014493208
5775B921172B36   ANA          REYES                        CO     33014049211
577611A4461965   GABRIEL      NAVARRO                      CA     90010131044
5776128A491587   LORENA       MARTINEZ                     TX     90005082804
57761362472B36   MARICELA     MEDRANO                      CO     33083553624
57762343A91587   GRACIELA     GONZALEZ                     TX     90013193430
57763137372B27   KEVIN        PROSSER                      CO     33088651373
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 152 of 2350


5776348A85B531   RUBY         LUCERO                       NM     35047304808
577639A885B399   BRADLEY      LOWE                         OR     90008489088
577651A1772B88   PAULA        NORTON                       CO     90006511017
57765584572B43   PATRICIA     MUNIZ                        CO     90013105845
5776591A17B46B   NANCY        HERCULES                     NC     90010239101
5776681A972B88   DESTINY      VARGAS                       CO     33051908109
577673A7191587   YOLANDA      CASAS                        TX     75053123071
577675A7191357   EMILIO       RUBIA                        KS     90014045071
57767941A72B27   JUSTINE      GOMEZ                        CO     33087019410
57767A5584B29B   NATHAN       WILLIAMSON                   NE     27092390558
57768282A2B27B   TENIKA       FENNER                       DC     90001732820
577682A8372B36   AUDRA        GEDNALSKE                    CO     90003342083
5776936A872B49   SUSAN        VELARDE                      CO     90005043608
57769657A4B521   JESSICFA     DENHAM                       OK     21579036570
5776966A72B27B   VAUGHN       HOWARD                       DC     90009026607
5776B26325B399   LACEY        FOY                          OR     44527402632
5776B351372B38   JARRET       SCARBERRY                    CO     90002383513
5776B76A672B27   LAURA        MANZOI                       CO     90009277606
5776B781351348   PEGGY        BUSBY                        OH     90010507813
5777112385B387   SARA         ISCA                         OR     90005231238
577711A415B283   KIMBERLY     HEATON                       KY     90000551041
57771495172B43   PAU          SING                         CO     90014894951
57771A32291587   MANUELA      ACOSTA                       TX     75041670322
5777215675B543   EMA          MADRID                       NM     35063851567
5777231A65758B   ESPERANZA    GRIEGO                       NM     90014333106
5777262A472B49   JAMES        RICHARDSON                   CO     90001896204
57772654672B38   KELLY        TRIMBLE                      CO     33017406546
57772A71661971   TYNISHA      GENTRY                       CA     46013400716
57773241A5B531   DANIEL       AMADOR                       NM     35081662410
5777367275758B   LETICIA      ALVAREZ                      NM     35567696727
57774174772B38   BRENDA       LOCKHART                     CO     33002711747
57774182772B38   GIOVANA      ROQUE                        CO     90008131827
57774277472B43   STEVE        WISECARVER                   CO     90004022774
5777559415715B   SARA         DE LEON                      VA     81001385941
577756AA472B27   RONALD       WELTY                        CO     33078016004
5777638925B531   MICHAEL      KELLY                        NM     90012163892
5777695212B896   MARISOL      SANDOVAL                     ID     90011799521
57776A2635B259   KRISTINA     CROWDER                      KY     90010550263
5777751165B387   LALATTA      HERREJON                     OR     44505955116
5777798597B46B   EMILY        HERNANDEZ                    NC     90009539859
57777A8515B236   RICHARD      HOFFER                       KY     68089460851
5777818965715B   ROSA         GOMEZ                        VA     81026661896
577792A4291587   EDWARD       NAVARRO                      TX     90002602042
57779378872B36   GINGER       VAN DYKE                     CO     33095713788
57779A32772B49   VIRGINIA     SALAZAR                      CO     90011130327
57779A5264B588   CATHY        WINTERSMITH                  OK     90007790526
57779A61631428   JOEANN       BUFORD                       MO     27550010616
5777B322691587   ALONSO       RIVAS                        TX     90010823226
5777B34A198B47   ROBERT       JACKSON                      NC     90013303401
5777B6A995758B   RITA         MORALES                      NM     90000896099
5777B99885B543   MICHAEL      VASQUEZ                      NM     35038189988
5778121A672B34   BARBARA      HANSON                       CO     90008692106
5778144645B531   VIRGIA       CHAVEZ                       NM     35047664464
5778165344B559   MESUIRE      HENDRIX                      OK     90009486534
5778174A561965   CARLOS       MENDEZ                       CA     90014847405
57782218857B81   ERIN         LEE                          PA     90015492188
5778223575B387   MICHAEL      FOUNTAIN                     OR     44558252357
5778246765715B   PATRICIA     ANTON                        VA     81010584676
57782538576B85   JOSE         ALVAREZ                      CA     90000995385
57782563A5B283   EDUARDO      VEGN                         KY     68097065630
5778278445758B   JENNIFER     GONZALES                     NM     35577247844
57783788372B43   FREDERICK    LOPEZ                        CO     33078987883
57783974372B36   LYNN         ABACHICHE                    CO     33093219743
57783A2224B588   HEDANA       LOPEZ                        OK     90009880222
5778438435B387   EBONY        KAMARA                       OR     90002403843
577847AA45B271   LASHAUNA     HARRISON                     KY     90007267004
5778511315B236   BARBARA      FLINCHUM                     KY     90014691131
57785449572B43   DAWN         ARCHULETA                    CO     33080614495
5778549755715B   LUISA        SANTOS                       VA     90010474975
5778563115B399   KRISTINA     FISHER                       OR     44569356311
57785933472B38   MARCUS       MEDINA                       CO     90013989334
577866A2854B29   ABDY         CARDONA                      VA     81005326028
5778728315B393   STACEY       WILSON                       OR     90015072831
57787757972B43   SONG         MOUA                         CO     90012047579
57787812472B27   DONOVAN      DELTORO                      CO     90013758124
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 153 of 2350


57787894672B38   MAYELA        MARTINEZ                    CO     33058378946
57787A76151383   DAVID         LOPEZ                       OH     66090790761
5778849495715B   MARIA         LETTICIA                    VA     90013934949
5778856465B236   MARTINA       KING                        KY     68008925646
57789123572B38   TAYLOR        BERTRAM                     CO     90011691235
5778963594B588   TASHA         SIMMS                       OK     90014676359
5778981222B27B   JAMES         JOHNSON                     DC     90010078122
5778B534991587   JAIME         ERNANDES                    TX     90012145349
5778B73964B945   CRYSTAL       ESTILLETTE                  TX     90001077396
5778B89855B236   TYLER         GACKENBACH                  KY     90015128985
5778BA54757157   SILVIA        MARCHANTE                   VA     81028500547
57791214A55997   MERCEDES N    ORTEDA                      CA     90011382140
57792143272B38   ANASTACIA     CROWE                       CO     90013131432
5779222545715B   JOSE L        RIVERA                      VA     90012832254
57792521772B43   SANDRA        RIVAS                       CO     90007675217
5779293325B393   BRIAN         RUSSO                       OR     90011709332
57792A38461971   JOSHUA        MCMUMIN                     CA     90013790384
5779338597B46B   HAYLEY        DE ACOSTA                   NC     11006073859
5779347312B27B   CARLTON       BREADSHAW                   DC     81073004731
57793A9285715B   ELISABETH     GROSSET                     VA     90014860928
5779419887B649   PEGGY         DAVIS                       GA     90013351988
577943AA672B43   DALE          MAUS                        CO     90011453006
57794786572B36   GELASIA       BURNEY                      CO     90011847865
5779512795758B   FELICIA       CASANOVA                    NM     90008501279
5779558784B588   ALESHA        PORTWOOD                    OK     90014595878
5779588195758B   ANGELINE      APODACA                     NM     90015118819
57795A48551383   JOHN          CORNELIUS                   OH     90006090485
57796281372B38   KARLA         VAZQUEZ                     CO     90014232813
577965A785715B   CHRISTIAN     CHAVEZ                      VA     90013935078
57796A8545B236   LEE           WILLIAMS                    KY     90014060854
57798173A5758B   FAUSTINO      MORENO                      NM     90000661730
5779899A95B236   JULIO         DELFIN                      KY     90014169909
57799183672B36   KRYSTAL       MCCARTY                     CO     33070451836
577995A6951326   MOHAMMAD      AHSAN                       OH     66047475069
5779966AA72B38   TAMISHA       PERKINS                     CO     90011126600
5779997875B283   EVE CELESTE   GRIFFITH                    KY     90011639787
5779B67388B183   JENNIFER      SMITH                       UT     90008336738
5779B737A5715B   MOHAMMED      KAMARA                      VA     90014817370
577B1312972B36   AGUSTIN       CARRASCO                    CO     90001223129
577B1A6125715B   FATIMA        LOPEZ                       VA     90014860612
577B239665B399   NICOLE        SINGLE                      OR     90003383966
577B2683931428   LATANYA       WILLIAMS                    MO     27590516839
577B34A475715B   AIDA          HERNADEZ                    VA     90003094047
577B376A651348   MELLISA       HENGARTNER                  OH     90007097606
577B4427833696   CHRISTEN      MCNEIL                      NC     90006614278
577B497514B588   RUSSELL       WEBSTER                     OK     90015009751
577B5182293776   CANDICE       ALLEN                       OH     90013271822
577B528A772B49   DANIELLE      HATCHER                     CO     90002312807
577B5393272B27   MARY          CHAVEZ-MEZA                 CO     90014683932
577B5428591587   JESSICA       WENDORFF                    TX     90004214285
577B5711A2B27B   STEPHANIE     RICH                        DC     90003147110
577B6884985877   DANIELLE      SAMSON                      CA     90010508849
577B734325B283   STEVE         BONDS                       KY     68001643432
577B8239557143   FLORENCE      TOGOE                       VA     90007352395
577B8663861965   QUENTON       BYERS                       CA     90015306638
577B8A86791587   JOE           GARCIA                      TX     90010920867
577B9191561965   ANN MARIE     PRINCE                      CA     90014681915
577B947475B393   JOHNNA        FRAZIER                     OR     44500454747
577B966A272B38   RUBEN         LUEVANO                     CO     90005036602
577B9A4715758B   JESUS         VASQUEZ                     NM     90014000471
5781119AA5B236   DEJAN         COSIC                       KY     90003671900
57812185972B49   JENNIFER      YARMON                      CO     33051081859
57812228A5B543   LARRY         GLASS                       NM     90007212280
578134A4955997   ALEXIS        PINEDA                      CA     90013924049
57813A33661971   ALLEN         ESLEIWAH                    CA     90012440336
57814529597B44   JAYNE         LENNAN                      CO     90011285295
57814A67A51336   TROY          JULIUS                      OH     90001840670
5781557645B222   LACRYSTAL     MASON                       KY     90010545764
5781592453B352   VICKY         GOMEZ                       CO     33009019245
57816717A5758B   KEISHA        HERNANDEZ                   NM     90010327170
57816812A61965   STEVEN        MARCY                       CA     90011488120
57817A11433696   CYNTHIA       LIPSCOMB                    NC     12094730114
5781813935758B   GUADALUPE     SAENZ                       NM     90000201393
578189A593B399   SELINA        ARMENDARIZ                  CO     33003059059
57819213572B49   VICTORIA      TAYLOR                      CO     33058452135
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 154 of 2350


5781931A35B236   ELIZABETH         WINBUN                  KY     90002403103
578196A392B27B   MICHELLE          ROBINSON                DC     90012546039
5781B453655997   STEPHEN           DAY                     CA     49085484536
5781B569A72B27   ALLEN             HENCH                   CO     90014845690
5781B598951348   ANGEL             MENDOZA                 OH     90014945989
5781B774891524   ROSA              SEGURA                  TX     90012047748
5781BA5A472B38   KENYA             RO BINSON               CO     90001690504
578213A6891552   LEONEL            VEGA                    NM     75024123068
57821A21A5B531   MATHEW            VARGAS                  NM     90006810210
5782242385B283   ROBYN             SANDERS                 KY     90012014238
57822875572B77   OPAL              ANDERSON                CO     90012588755
57822A92591856   PERLA             ESPARZA                 OK     90004940925
578232A1772B43   RAQUEL            PERES                   CO     33041862017
57823538372B27   KIEL              LARSON                  CO     33048045383
5782357A55B393   WILLIAM           MATHERLY                OR     90006215705
5782374485B387   JEFFREY           OWNBY                   OR     90012887448
5782428492B27B   TREVA             CALHOUN                 DC     90011312849
57824674372B36   SUSANA            ECHOLS                  CO     33094226743
5782545825B236   CLIFFORD          VANCE                   KY     90013804582
57825627372B27   IVETTE            VILLESCAS               CO     90009046273
578257A9672B36   STEVE             BURBANK                 CO     33016467096
5782696865758B   ISREAL            DOMINGUEZ               NM     90013899686
57826A5585B236   SHERRICE          JACKSON                 KY     90002730558
5782717885B399   RONDA             OSBORN                  OR     90000111788
57827232A55997   ARACELI           RODRIGUEZ               CA     90014652320
5782755895715B   YERLI             HENRIQUEZ               DC     90013935589
57827689A3B372   IGOR              VOLKOV                  CO     33093376890
578277AA25B393   SAMUEL            VIDAL                   OR     90008047002
5782843525B393   THANG             LIAN                    OR     90012374352
57829219857B81   TABITHA           SAYLOCK                 PA     90014212198
5782B225254152   MARK              KLEIN                   OR     90003192252
5782B518A5B531   TRACY             LINDSEY                 NM     90003145180
57831282172B49   JOSEPH            MEIXNER                 CO     33066612821
57831293A72B43   LORAN             LOFTON                  CO     90011892930
5783141115B387   SARAH             TORLAND                 OR     90010234111
57831446272B38   AFEWERKI          HAILE                   CO     33088564462
5783145994B588   LOLITA            MOSS                    OK     90014894599
578317A376194B   PRISCILLA         SCHOFIELD               CA     90009137037
57831A97A72B36   SANDRA            BENCOMO                 CO     33014270970
57832149672B38   ALMA              BERUMEN                 CO     90007321496
5783242A172B43   NATASHA           CONNELY                 CO     90013404201
57832499372B43   STEVEN            MCDONALDS               CO     90011974993
57832755272B27   JAME              DELGADO                 CO     33084157552
57832A3456198B   GEORGE BARRAGAN   ROBLES                  CA     90011460345
5783322274B588   LATISHA           AGUIRRE                 OK     90014012227
57833346772B49   TYRON             CORDOVA                 CO     90008463467
5783341545758B   BERTRAM           FORNI                   NM     90012204154
578338A2591895   DEBBIE            ANDERSON                OK     90008568025
57834146172B38   JOSEPH            MARTINEZ                CO     33016441461
57834261972B36   MERLENE           IMWALLE                 CO     33055112619
57835136472B43   WAYNE             SUGGS                   CO     90015091364
5783532A55758B   RUBY              HERNANDEZ               NM     90002333205
57835718A5715B   FRANKLIN          HERRERA                 VA     90012477180
57835826372B27   MARGARET          SANCHEZ                 CO     33033388263
5783619A35B393   HELIODORO         SANCHEZ                 OR     90014251903
5783636255758B   SYLVIA            CARRILLO                NM     90014463625
5783643A831429   JASON             FOSTER                  MO     90004834308
578371A2A5715B   SILVIA            RODAS GALINDO           VA     90012941020
57837398A72B36   ELZABETH          MELENDEZ                CO     33061383980
5783753225715B   LIDIA             ZAMBRANA                VA     81061705322
57838AA462B27B   MARCIANO          ROMERO                  VA     81001860046
5783911945B338   MARIA             MEZA-PEREZ              OR     90000371194
5783933377B46B   GLORIA            ESCALONA                NC     90015053337
57839546772B49   IVYANA            MENDEZ                  CO     90015535467
5783958855B531   ROBERTA           TSUTSUMI                NM     35006085885
57839771A72B49   JONATHON          RUIZ                    CO     90012097710
5783979217B491   AGUSTIN           CRISTOBAL               NC     90009447921
5783991375758B   MARTHA            GONZALEZ                NM     90010209137
5783B15985758B   JULIAN            RESENDIZ                NM     90012091598
5783B265372B49   MIGUEL            DE JESUS MENDOZA        CO     90012382653
5783B3A2457157   JONATAN           YTURRI                  VA     81003383024
5783B583972B36   ODILIO            CARRERA-CORTEZ          CO     90009025839
5784152375B399   MIGUEL            QUINO                   OR     44510795237
57841586972B36   REINA             REYES                   CO     90012235869
5784216AA61965   DAVID             FUENTES                 CA     46053111600
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 155 of 2350


57842596A55997   ANGELA        ORTA                        CA     90011515960
5784363AA5715B   MANUEL        DUTAN                       VA     90013936300
5784369774B588   MARISOL       AGUILAR                     OK     90012426977
57843AA8391587   IRIS          ROJAS                       TX     75013220083
57844598672B49   JENNIFER      WALTERS                     CO     90006775986
5784483357B46B   APRIL         BELLAMY                     NC     11088808335
57844A16961965   GILBERT       FRATE                       CA     90015190169
5784555335B531   YACAIRA       NIETO                       NM     35065375533
5784795255B399   CARLOS        RIVERA                      OR     44577629525
5784915675B399   ELIJAH        PARDUE                      OR     90015021567
5784922825758B   RITA          MELON                       NM     35506872282
57849683172B36   KELLEY        MCNEIR                      CO     90013656831
5784B355A5715B   CLAUDIA       FUENTES                     VA     81091983550
5784B545572B27   CHARLES       PRICE                       CO     33084325455
5784B816672B27   GISSELLE      PEREZ                       CO     90015168166
5785121165715B   LAILA         ZADA                        VA     90013962116
5785135984B588   MARK          HIGGINS                     OK     90014623598
5785195155B531   SANTOS        SALAZAR                     NM     90014789515
5785222315715B   FROYLAN       OLVERA                      VA     90008982231
57852361972B36   PATRICIA      TELLO                       CO     90013053619
5785268295B271   MARK          DAVIS                       KY     90003806829
5785329844B588   E             AUSTIN                      OK     90009882984
578538A4551348   TOMAS         VELAZQUEZ                   OH     90014958045
57854187572B88   DAVID         LOVATTI                     CO     90003941875
57854A32355997   JOCELYN       RODRIGUEZ                   CA     90013790323
57854A8A555997   NORMA         PIMENTEL                    CA     90015190805
578555A485B387   ALAN          LINK                        OR     90009595048
57855611272B27   LANCE         SEGURA                      CO     90011286112
5785562495B531   KILI          MURRAY                      NM     90001806249
5785577685758B   LOPEZ         JESUS                       NM     90013627768
57855A17384357   BRENDA        BAILEY                      SC     14570710173
57856144472B27   ROSE          PETER                       CO     90012361444
578564A6872B49   GUADALOPE     MUNOZ                       CO     33052994068
57856A81331429   BRIAN         JACKSON                     MO     27514980813
57856AA225758B   BRENDA        JOHNSON                     NM     90004390022
578572A865758B   SINTIA        DELATORRE                   NM     90013332086
57857645972B36   KELVIN        MADISON                     CO     90013306459
5785826184B588   TAMMY         SMITH                       OK     90004682618
57859222A61965   JASON         WHITED                      CA     90014992220
5785933235B236   CHARLETTA     PARKER                      KY     90004123323
5785B29275715B   MA JUANA      VALLEJO DE MALDONADO        VA     90013672927
578625A455B236   CHRISTOPHER   SMITH                       KY     90012725045
5786277264B588   CODY          YOUNG                       OK     90013147726
57862A4225B283   SUSAN         KESSINGER                   KY     90011640422
57862A6369376B   MANDY         LONDERGAN                   OH     90013670636
5786448A25715B   ROBERTO       GUZMAN                      VA     90014624802
57864AA5372B43   GERMAN        RAUDALES                    CO     33052860053
578654A185B543   ALEJANDRA     COLORES                     NM     35035634018
57865A58772B36   CHRISSY       FOX                         CO     33043790587
5786659837B46B   LATOYIA       BROWN                       NC     11004015983
5786681865715B   FRANCISCO     SOTOMAYOR                   VA     90010038186
57866A4282B27B   ANTHONY       EDAKO                       DC     90012200428
5786725825B236   CRYSRAL       MILLER                      KY     90007072582
5786756455715B   JOSE          AYALA                       VA     81009525645
57867927A5B393   HUSSEIN       MURSAL                      OR     90002269270
5786856A87B46B   TARQUITA      BARNETTE                    NC     90011055608
57868811372B49   NICOLE        DURAN                       CO     90009918113
5786889615B393   AARON         CHEW                        OR     90013248961
5786951A87B46B   ROBERT        GILES                       NC     90015055108
5786B182555997   VERONICA      ALDAPA                      CA     90000861825
5786B327376B85   MINDY         KILLION                     CA     90001953273
5786BA2485B393   ROBERT        ANDREW                      OR     90014690248
57871175A4B588   MICHELLE      LOVING                      OK     90015111750
5787197445B531   LORUHAMA      MACIAS                      NM     35070229744
578721A2A72B43   TYLER         PATOCKA                     CO     90013211020
57872779A91895   VIRGINIA      SEXTON                      OK     90014767790
5787346154B588   CHARISMA      HISHAW                      OK     90014724615
5787391625B387   MARIA         PEBLO                       OR     90014249162
5787442665758B   JESSE         RICO                        NM     90013724266
578744A6291895   STAR          MENDOZA                     OK     90013954062
5787458555715B   LEONARD       JOHNSON                     VA     90006295855
57874991172B27   ROBIN         RANSOM                      CO     90008149911
578756A9A33699   SHAYE         PLOWDEN                     NC     90010916090
5787625524B588   MARIA         MEDINA                      OK     90013432552
5787635625715B   GEORGE M      PEREZ ACOSTA                VA     81050303562
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 156 of 2350


5787649425B387   REBECCA         LUEALLEN                  OR     44507904942
578768A855B393   VICTORIAH       MARTINEZ                  OR     90014448085
57876A8557B46B   GONNIE          MACK                      NC     11081330855
57877194972B36   GABRIELA        LEMUS                     CO     33036151949
57877733572B88   ELOISA          PALACIOS                  CO     33054747335
5787792575B531   KYLE            RIECKE                    NM     90010369257
57877973672B38   KARLA           HARRIS                    CO     90014659736
5787847272B27B   CARA            CALLAHAN                  DC     90012864727
5787865815758B   GRISELDA        ACOSTA                    NM     35543476581
5787884943B157   ANTHONY         WALKER                    MA     81096968494
578789A935B393   HIPOLITO        GARCIA                    OR     90002039093
5787942A861971   TRAWONA         SMITH                     CA     90003554208
57879A35A85626   SHARANDA        LEE                       NJ     90001820350
57879A71651383   SELVIN          PEREZ                     OH     66088900716
5787B235A5B236   JACK            DALEY                     KY     90012262350
5787B329A57157   RAPLH           MOSS                      VA     90001693290
5787B51514B521   ANITA           TAYLOR                    OK     21579535151
5787B79144B588   EMILY           GOMEZ                     OK     90014747914
5787BA5625B531   DARIUS          BEATZ                     NM     90004710562
5787BAA575B283   URIEL           SALAZAR                   KY     90003480057
5788162314B588   KARL            HURST                     OK     21581626231
5788213A661965   DESTENY         MATHENY                   CA     46014011306
57883A11897128   ELIZABETH       CRUZ-LOPEZ                OR     44562690118
5788437285B531   LAURIE          CAPO                      NM     35063443728
5788582115715B   WILBER          CALLES                    VA     81007378211
5788616775B393   DAISY           HUNT                      OR     90001421677
5788644485B543   ABRAM           CARMONA                   NM     90002004448
5788665685758B   KATHLEEN        CLEMENTIN                 NM     90004726568
57886767A72B38   ALONSO GARCIA   MEDINA                    CO     90010027670
5788697395132B   ELIZABETH       LEONARD                   OH     66098059739
57887321972B43   MARK            PINKSTON                  CO     33004993219
5788765515715B   DAYSI           AGUILAR                   VA     90011626551
578879A7493754   RONALD          BARNETT III               OH     64511689074
5788816595B393   TIM             BAGLEY                    OR     90008771659
57889721A72B49   AARON           WARD                      CO     90013587210
57889A67472B49   RYAN KENYON     BAILEY                    CO     90013640674
5788B3A765715B   FERNANDA        ROMERO                    VA     90013673076
57891393272B27   MARY            CHAVEZ-MEZA               CO     90014683932
5789247322B245   ERNESTINE       LEWIS                     DC     90001574732
57892A12961971   HAITHAM         YOUHANA                   CA     46007430129
5789326A25B283   VARITA          GRIFFIN                   KY     68061972602
5789399A15758B   MIGUEL          GONZALES                  NM     90011999901
57893A2232B27B   SELVIA          MOORE                     DC     90008960223
57894315872B43   DOMNINQUE       LINNEY                    CO     90015123158
5789443694B588   MIKE            OLSZANSKI                 OK     90006444369
57895146572B38   PATRICIA        ZUBIA                     CO     33000401465
5789526A161965   BARRY           BUTLER                    CA     46077232601
5789559975B399   JESSICA         COLLINS                   OR     44588285997
5789596517B46B   FLOR            VAZQUEZ                   NC     90007649651
57895A5395B393   MARIO           BARBA                     OR     90008530539
578961A8772B36   WILLIAM         ANGEL                     CO     33088591087
578965A2372B49   KRYSTAL         ROBERTS                   CO     90010825023
57896A97561971   ALISSA          CIGNARELLA                CA     90014170975
5789711149373B   JUSTIN          BURKET                    OH     64583161114
5789898435B399   ASHLEY          BROWN                     OR     44592139843
57898A92472B36   JULIAN          OLGUIN                    CO     90012960924
57899A4A25B283   CHRISTINA       STOPHER                   KY     90009690402
5789B189454152   SHALISHA        JARVIS                    OR     90005081894
5789B288661971   MARCO           TORRES                    CA     90011342886
578B1451372B36   AMBER           TRUJILLO                  CO     90005834513
578B2198A72B36   LESLIE          GARCIA                    CO     33005811980
578B258784B588   ALESHA          PORTWOOD                  OK     90014595878
578B287515B399   NATHALIE        ANGULO                    OR     90010248751
578B3228472B38   DIANE           FRASER                    CO     33086232284
578B335759376B   BELINDA         MCCLANAHAN                OH     64536993575
578B336A191895   AMBER           STEWART                   OK     21074413601
578B373717B46B   RHONDA          CURRENCE                  NC     11011007371
578B395255B399   CARLOS          RIVERA                    OR     44577629525
578B4394651348   ASHLEY          CLEMMONS                  OH     90010693946
578B464A272B36   JOANNE          GALVAN                    CO     90012276402
578B4A58755997   BERNADETTE      HAROS                     CA     90010900587
578B5582351348   BRADLEY         ANDERSON                  OH     90014945823
578B5741151348   MARIKA          SHAMON                    OH     66052617411
578B5A9844B588   CHRISTOPHER     HOLT                      OK     90003580984
578B6727131429   GABRIELLA       JOHNSON                   MO     27527407271
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 157 of 2350


578B7A6A49375B   CHARLES       SHIRK                       OH     90013590604
578B82A6A72B27   FLAVIO        DIAZ                        CO     90014562060
578B841935715B   CHERINT       C                           VA     90003294193
578B8513372B38   ABIGAY        TIJERINA                    CO     90007205133
578B88A2972B36   LORRINE       BANZIE                      CO     33045558029
578B9857491895   JORGE         LOPEZ SANCHEZ               OK     90013688574
578BB22757B46B   PETRA         CATALAN                     NC     90012802275
578BB67A561965   VICTORIA      STOLARCZYK                  CA     90013436705
578BB92915758B   SIDNEY        DOMINGUEZ                   NM     35590519291
5791112A85B236   DRIELLE       THOMPSON                    KY     90013931208
5791128185B538   SYLVIA        PAUL                        NM     90007092818
57911374472B27   VANESSA       OSEI                        CO     90012903744
5791242615758B   ANTHONY       PEREZ                       NM     35593504261
579125A924B588   FLORINA       RIVAS                       OK     90015155092
57912A88991587   JESUS         VALENZUELA                  TX     90014570889
57913193172B38   ERICA         WILLIAMS                    CO     33024151931
5791335155B236   DEBRA         BALL                        KY     90009493515
5791385477B356   OSCAR         ORTIZ                       VA     90008128547
5791417392B29B   SHERLEEN      BOYDE                       DC     90001301739
5791545315758B   BRENDA        ZARAZUA                     NM     90013724531
57915A4A972B38   LUIS          LIMON                       CO     90012790409
57916217172B49   J             COOPER                      CO     33066082171
57916771372B38   DAVID         SKOW                        CO     90012817713
579169A4533699   JAMAL         SHELL                       NC     12030129045
57916AA445758B   SAHRAH        BLISS                       NM     90002250044
579185A6584342   SIERRA        MCCRORY                     SC     90007785065
57918689472B36   CHRISTOPHER   MAZEROLLE                   CO     90011096894
57918893572B36   CHRISTOPHER   MAZEROLLE                   CO     90013368935
5791912385758B   KARLA         PARRA                       NM     35595361238
5791947A255997   MIRIAM        VASQUEZ                     CA     90014934702
5791953974B588   LEA           HOWERTON                    OK     21551615397
57919829272B38   BERNADETTE    ARCHULETA                   CO     33049168292
5791B56745B387   JACOB         SCHARBROUGH                 OR     90004725674
5791B818698B34   ERIKA         PENDERGRASS                 NC     90011098186
5791B942672B38   MARTINEZ      JANET                       CO     90010509426
5791B98355B351   JOSE          GASTELUM                    OR     90008139835
5792186925B543   RENEE         MONTEVERDE                  NM     35043958692
57922212172B43   JOSSY         EGWUIDAM                    CO     90002342121
5792246645715B   ANGELICA      BENITEZ                     VA     90012484664
5792257715B399   MELANIE       BOX                         OR     90006705771
57922914272B22   MARLA         GRIFFIN                     CO     33053519142
57922AA9755997   ROSALBA       OZORNIO                     CA     90013530097
57923334A61975   ELEAZAR       CUBA                        CA     90005013340
57923A65961965   NAFAA         DAWOD                       CA     90010310659
579246AA872B38   MELVIN        DARNELL                     CO     90014836008
5792476A44B588   KIMBERLY      LYNCH                       OK     90010737604
5792531955758B   JAIME         PEREZ                       NM     90009923195
57925753A76B5B   OSCAR         DELGADO                     CA     46069117530
57925888872B49   TORI          CUCUMBER                    CO     90012318888
57926912263B81   PAYGO         IVR ACTIVATION              IL     90009449122
57926A65157153   BRUCE         SHEPPARD                    VA     90006400651
579275A8A5B531   MYRA          MAKAI                       NM     35040825080
579276A9A91587   DAVID         SANDOVAL                    TX     75067816090
5792775815B393   TRINA         HARPER                      OR     44516717581
5792882855758B   ESMERALDA     RODARTE                     NM     90013508285
5792928A961965   BATOOL        HANNA                       CA     46015372809
57929394A7B46B   STEFANY       LUCERO                      NC     90015063940
5792977215B393   EDWARD        WHITE                       OR     44573937721
5792997964B588   LOTOYA        JOHNSON                     OK     90011209796
57929A8AA85941   MARTHA        BRANSCUM                    KY     90011060800
5792B15935B343   HEATHER       SMITH                       OR     90002831593
579311A685B236   DREW          BLASKE                      KY     90013411068
57931973272B49   PAUL          GUTIERREZ                   CO     90013409732
579323A524B29B   LORI          REED                        IA     90005693052
5793252A772B49   NADIA         AGUILAR                     CO     90012905207
5793288515B543   EPIFANO       GONZALEZ                    NM     35018128851
57933116A98B47   THERESA       FERGUSON                    NC     90012501160
57933243272B49   SHANAE        WHITEMORE                   CO     33075912432
5793335515B223   SANDRA        BONDS                       KY     68024163551
579333A4772B43   MANUEL        GONZALEZ                    CO     90013923047
5793346834B231   TAMRA         WILLIAMS                    NE     27094524683
5793391475B393   JOE           MARUGG                      OR     90012929147
57933962572B36   DUNG          DINH                        CO     90002159625
5793446265B387   ASHLEY        BEDDOE                      OR     90006774626
5793462432B27B   SAMUEL        JOHNSON                     DC     90004616243
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 158 of 2350


57934674372B43   JUSTIN         CREDABLE                   CO     90013806743
57934A2935B271   BRADLEY        WEST                       KY     90002430293
57935276A51348   LAKENYA        DAVIS                      OH     90014962760
57935391A5715B   MIREYA         SANCHEZ                    VA     90014423910
579354A827B46B   JOYCE          TAYLOR                     NC     11024024082
5793628935B393   TIM            YOUNG                      OR     90014252893
5793736582B27B   LAJON          ALLEN                      DC     81052943658
5793786884B588   LEE            CLARK                      OK     90012408688
5793827835B399   ELIZABETH      THOMPSON                   OR     90002322783
5793917A861971   RICHARD        DELGADO                    CA     90008141708
5793936A972B43   THERESA        TAMBA                      CO     90013623609
57939529572B27   GUILLERMO      SIC SIC                    CO     90013785295
5793953294B231   ANTONIA        FLORES                     NE     90001975329
5793B317555997   BRYAN          ROUS                       CA     90013653175
5793BA33531428   WILLIS         BROWN                      MO     90015270335
5794119285B551   STEPHANIE      SOTO                       NM     90000811928
5794211435B387   ESPERANZA      CAMACHO                    OR     90009131143
5794218535B531   LINDA          CANDELARIA                 NM     90012461853
5794224112B27B   TAMKIA         BRANCH                     DC     90006022411
57942793524B6B   NANCY          CERROS                     DC     90007907935
57943137572B88   YOLANDA        REYES PEREZ                CO     90003281375
57943236972B49   TROY           BLACK                      CO     33085832369
57943279A33696   TRENEE         MILTON                     NC     12002412790
57943413A61971   PRISCILLA      ROMERO                     CA     90010504130
57944137572B38   INOCENCIO      MALDONADO                  CO     90001261375
57944331872B38   ROBERT         GARCIA                     CO     90014523318
5794463A172B27   KARLA          CERECERES                  CO     33009586301
5794483955B387   EMILY          ROGERS                     OR     44576678395
5794522667B46B   SAMARIA        COOK                       NC     90013652266
5794525A65B387   DEANNA         SHAFFER                    OR     44591142506
5794646765715B   PATRICIA       ANTON                      VA     81010584676
57946551272B49   EDUARDO        CASTANON                   CO     90013825512
5794823183B372   MELISSA        KRAKOVER                   CO     90013832318
57948A6817B46B   KIMBERLY       MCULLOUGH                  NC     90011180681
5794B285A31429   VICTOR         LOPEZ                      MO     27512612850
5794B296451348   AKOMA          BRITTEN                    OH     90014962964
5794B57235B236   JAMES          TOLLE                      KY     90013045723
5794B95615715B   NELSON         MAURICIO                   VA     81006789561
5794BA8392B27B   KIMBERLY       JAMISON                    DC     90003290839
5795129115B236   WILLIAM        ELLIFRITS JR               KY     90011222911
5795219435758B   JUAN           RUIZ                       NM     90012971943
5795227587B491   GLORIA         PEREZ                      NC     90005032758
57952346A72B49   BRENDA         VAZQUEZ                    CO     33097773460
5795238645B271   AMANDA         VINCENT                    KY     90007133864
5795276A391587   LORENZO        GARCIA                     TX     75089367603
5795371255B393   ROBERT         FLORENCE                   OR     44591037125
57954772772B49   RAFAEL         MIRANDA-ESCOBA             CO     90011167727
579554A714B588   RENEE          HUNTER                     OK     90014714071
57955538A91587   DISMAS SONIA   CRUZ                       TX     90011435380
579565A8872B27   CHERYL         WATKINS                    CO     90004295088
579569A3191895   SAMANTHA       HENDRIX                    OK     21019529031
579573A3972B43   MARIO          ARAGON                     CO     90010843039
57957A52751348   CARLA          CONOVER                    OH     90005480527
57957A8A35B387   MIGUEL         SANTIAGO                   OR     44546660803
5795859944B588   WENDY          BRYAN                      OK     90012405994
5795867775715B   REYES          F                          VA     90010436777
57959246772B36   MARGARET       THOMAS                     CO     33096712467
5795938715B393   LEO            WRIGHT                     OR     90009223871
5795944A15B543   JOSE A         SALGADO-                   NM     35035674401
57959522A61965   LORENZA        LEDEZMA                    CA     46097595220
57959845772B43   SARA           RENER                      CO     33004318457
5795997A891587   MARISELA       PERALES                    TX     90009129708
57961683A5B531   SALLY          LUCHETTI                   NM     90013676830
5796225225B393   ALFREDO        ALVES                      OR     44526382522
579623A4772B27   MANUEL         GONZALEZ                   CO     90013923047
57962A4813B377   WAYNE          WENTWORTH                  CO     33095790481
5796327875B283   ALRISHA        MOON                       KY     90011642787
57963658972B36   PATRICK        MURRELL                    CO     90013616589
57963A53472B49   MELVIN         THOUTT                     CO     33014520534
57963AA1372B34   NELSON         MILLA                      CO     90006140013
5796439922B228   KAREN          BORUM                      VA     90012443992
57964411A61971   LANE           THOMPSON                   CA     46007294110
5796447864B588   STORMEE        OWENS                      OK     90008504786
5796452915B399   RUFINA         LOPEZ                      OR     90013165291
5796484885B531   SIMONA         LOPEZ                      NM     35077638488
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 159 of 2350


57965242A61971   JAIMEE          SOUTHERLAND               CA     90009352420
57965492A5758B   IRENE           JANOS                     NM     35584394920
5796597A455997   RIGOBERTO       RAMIREZ                   CA     90014059704
5796622385B399   ANN             PRESTON                   OR     44571242238
5796656555715B   SANDRA          TOBAR                     VA     90014685655
57967818872B36   YVONNE          GALLEGOS                  CO     33055338188
5796827875B283   ALRISHA         MOON                      KY     90011642787
57968683A5B531   SALLY           LUCHETTI                  NM     90013676830
5796882295715B   ROBERT          NAGEM                     VA     81059558229
5796889AA97B3B   MARIA           CHAVEZ                    CO     39027108900
57968A3754128B   ERIKA           HILL                      PA     51017930375
57969464654B84   REBECA          CRUZ                      VA     90010814646
5796958362B27B   TYRONE          LOCKHART                  DC     90007135836
579698A8761965   KEGAN           NORQUIST                  CA     90004898087
5796B64245B543   LUCY            TRUJILLO                  NM     90002486424
5796B71495715B   ELISA           GONZALEZ                  VA     90013937149
5796BA28972B36   MATEO           MARTINEZ                  CO     90014260289
5797138995B236   LARRY           THOMPSON                  KY     90014483899
579722A6455997   MIGUEL          HERNANDEZ                 CA     90015272064
5797246242B27B   JESSICA         WARREN                    DC     81029664624
5797255895715B   JUAN            MAXIMO                    VA     90012315589
57972726172B49   CHRISTI         THOMPSON                  CO     90013857261
5797287345B399   ALEX            AMAYA                     OR     90015318734
5797337115758B   CARLA           ESCOBEDO                  NM     90013003711
57974297172B49   LOPEZ           MARIA                     CO     90009112971
57974678172B58   MERCEDES        POKORNY                   CO     90007806781
57974A1562B27B   NAHAMAN         HERNANDEZ COLINDRES       DC     81005970156
5797526965B283   MIRANDA         ZETKO                     KY     90011362696
57975649672B36   HUIB            STOKVIS                   CO     90006306496
57975A8595B531   VANESSA         ORDAZ                     NM     90013350859
57976398372B27   BENJAMIN        LUCERO                    CO     90010193983
5797651985B387   JUAN            ZARATE                    OR     90006375198
5797672A35715B   MARISOL         VALDEZ                    VA     90001497203
57976AA355B236   KEVIN           KLUCZINSKE                KY     90011610035
5797756A291895   KELLY           KENT                      OK     21077485602
57977698472B43   TOM             ADAMS                     CO     90006306984
5797952335B393   TYLER           SEARLS                    OR     90013395233
5797987A872B49   ANTONIO         MCKENZIE                  CO     90013518708
5797B464272B43   BETTY           GARCIA                    CO     33056174642
5797B46A172B49   KENNETH         KINDER                    CO     33050344601
5798149695715B   JOEL            UMANA                     VA     90015154969
57981857A61971   MELISSA         HARDSON                   CA     46004238570
57981964172B49   COLEEN          TOUSKY                    CO     90015449641
57982344A31428   LEE             NORTHINGTON               MO     90013963440
57982652872B36   ARIANA          JAQUEZ                    CO     90012826528
57982669272B38   RENEE           MORENO                    CO     33084076692
57982A19791895   MARSHELLE       MCCONNELL                 OK     90007280197
57982A49531429   PHIL            PORTWOOD                  MO     27512380495
5798328334B588   DAVID           LESTER                    OK     90012992833
5798359995B393   EILEEN          JASKSON                   OR     44589685999
57983A91651348   CHARLENE        HENSLEY                   OH     90005610916
5798466A65B236   TACHELLE        BOOKER                    KY     68027696606
5798558435B236   JEREMY          GIBSON                    KY     68002585843
57985A12672B88   PAUL            SANCHEZ                   CO     33013910126
579861A7531429   DENISE          HIGHTOWER                 MO     90012761075
5798632314B588   TYNEKA          INGRAM                    OK     90008683231
5798671485B399   MILA            MAKAROVSKAYA              OR     44508487148
579867A995715B   ADAN            REYES                     VA     81097007099
57986A42631444   LAMEEKA         WOOTEN                    MO     27550920426
5798736115715B   JENNIFER        SMITH                     VA     90012213611
5798771485B399   MILA            MAKAROVSKAYA              OR     44508487148
5798825372B27B   BIONCA          PRICE                     DC     90013952537
579886A2772B27   FERMIN          RAMOS                     CO     33095166027
5798872A55715B   JUAN ELEODORO   CORTEZ                    VA     90007957205
5798B235555997   ANTELMO         CONTRERAS                 CA     90012772355
5798B26524B521   ANA YESENIA     MENDEZ                    OK     90005892652
5798B534161473   JULIE           RIDGE                     OH     90013885341
5799128325B543   SALVADOR        RAMIREZ                   NM     35000282832
5799147545B393   ANGEL           WILLIAMS                  OR     90010904754
57991921272B49   MARIANA         HERNANDEZ                 CO     90011939212
5799223165715B   CESAR           DONALDO                   VA     90013962316
57992454A72B36   KIMBERLY        SMITH                     CO     90011974540
5799312784B543   MIRANDA         BURLESON                  OK     90008801278
579931A165B283   JEREMIE         BROWN                     KY     68097431016
579931A265B543   GUADALUPE       MONARES                   NM     35088071026
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 160 of 2350


579934A9A5B531   ALFRED            ANZURES                 NM     90013584090
57995343472B36   RENE              HERNANDEZ               CO     90013453434
57995639472B38   DALE              STACY                   CO     90001816394
5799669735B531   PAMELA            BACHICHA                NM     90013676973
57996972572B43   QUINTON           BROWN                   CO     90014909725
5799776265B283   TERESA            MICHELLE                KY     90012027626
5799814335B236   THELMA            PORTER                  KY     90013291433
579983A2491895   ELIZABETH         RAMIREZ                 OK     90014153024
579983A2672B88   LILY              MEDINA                  CO     33073073026
5799883845758B   ASHLEY            BARRIENTOS              NM     90009028384
5799998A95B531   ENRIQUE           SANCHEZ                 NM     90011529809
5799B637891895   JOHNATHAN         SIMPSON                 OK     90001796378
5799B827A61971   CRISTOBAL         ANDRIA                  CA     90013068270
5799B82858B191   JUERGEN           DE LEON                 UT     90010758285
5799B85355B399   TOI               POLK                    OR     90009318535
5799BA9A55758B   JOSE              RAMIREZ                 NM     90000390905
579B112875B399   MARIA DE LA LUZ   SAUCEDO                 OR     90010471287
579B1316691895   JASON             SORRELS                 OK     90009063166
579B191165B236   JOYCE             POWERS                  KY     90013339116
579B226895B236   STACIO            VALSEZ                  KY     90012202689
579B234485B399   CONSTECON         MARIA                   OR     90010663448
579B2412391895   JUDITH            GARCIA                  OK     90008874123
579B261345B531   JENNIFER          MARES                   NM     90013756134
579B2995766186   DONNA             HALL                    CA     90014849957
579B3251655997   GABRIELA          MORAN                   CA     90011152516
579B376AA91587   FERNANDO          LOPEZ                   TX     75015367600
579B413165B531   JENNIFER          VALDEZ                  NM     35070251316
579B413365715B   BALMORE           DEL CID                 VA     90015011336
579B5111684347   VICTOR            HARRISON                SC     90005981116
579B5231472B38   ZACHARY           YOUNG                   CO     33059942314
579B5583A72B43   JOSE              GUADALUPE               CO     90012575830
579B5A52751348   CARLA             CONOVER                 OH     90005480527
579B6134961939   AALIYAH           WADE                    CA     90002791349
579B6988972B49   NAR               RAI                     CO     90010929889
579B7474672B43   JEFFREY           MILLER                  CO     33001134746
579B7724A5715B   GARAD             MOHAMUD                 VA     90013097240
579B7A54951348   CARLOS            MENDOZA                 OH     90005480549
579B818394B29B   MELISSA           BUXTER                  NE     27081951839
579B853A155997   BEATRIZ           RUBIO                   CA     49009805301
579B85A164B588   NANCY             MENDOZA                 OK     90014315016
579B918435B393   JAMAR             HOLBRET                 OR     90010191843
579B9236451348   JESSE             ISAACS                  OH     90012692364
579B962A85B531   SHARI             ALBILLAR                NM     90013986208
579B9971372B27   AARON             BOUDREAU                CO     90010239713
579BB219172B36   ALBERT            LOPEZ                   CO     90013592191
579BB491261971   THOMAS            DEGRAND                 CA     46094424912
579BB62A15715B   WALTER            MEDINA                  VA     81013876201
579BB69415B236   JAMES             RICHARD                 KY     90014536941
57B11116272B49   MANUELA           LINARES                 CO     33080891162
57B11148A51383   KIMBERLY          ROBINSON                OH     90005481480
57B11369561971   BASSAM            SHAMOON                 CA     46038913695
57B11772391587   LAURA             GUTIERREZ               TX     90013137723
57B11827891895   MARTIE            PETTY                   OK     90008808278
57B11A31172B36   ARTURO            ENRIQUEZ                CO     90013850311
57B124AA554152   JENNIE            ANDREWS                 OR     90006744005
57B1261A15B236   AMY               SIMPSON                 KY     90009656101
57B12621A72B38   ALBERTO           RAMIREZ                 CO     90013246210
57B12755257157   HERBERT           GUEVARA                 VA     81093877552
57B12A14A51329   CIERRA            MC CLURKIN              OH     90003170140
57B13342172B36   MICHELLE          AQUINTO                 CO     90013973421
57B13539572B43   RANAE             COLERICK-NOLAN          CO     33016245395
57B1458314B521   EDMUNDO           MENDOZA                 OK     90005735831
57B14857591587   HUGO              PUENTES                 TX     90008718575
57B14919155997   CONNIE            GLENN                   CA     90005009191
57B1494545758B   ABRIEL            DRESSER                 NM     90010809454
57B14966151329   TERRY             COOK                    OH     90012269661
57B14987551348   KENT              FRIEDLANDER             OH     90014879875
57B15151651383   FILIBERTO         RISOSTOMO               OH     66085441516
57B1515435B531   GERARDO           ANDREW                  NM     90011331543
57B151A7A72B43   STAR              APODACA                 CO     90008591070
57B1585675B399   NOE               MERAZ                   OR     44526248567
57B1592344B524   DAVID             POE                     OK     21586439234
57B163A414B29B   YESICA            OLGUIN                  NE     27094303041
57B1723127B496   CHARLIES          WALTERS                 NC     11011832312
57B18191A72B27   SHANE             NORMAN                  CO     90011051910
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 161 of 2350


57B181A785B399   TANYA          COSTON                     OR     90014921078
57B1851425B236   ROBERT         WILLIAMS                   KY     90014975142
57B18527561965   TRAVIS         MELVILLE                   CA     90014295275
57B18652257157   MICHAEL        BOWEN                      VA     90000476522
57B18751757128   JUAN           HERNANDEZ                  VA     81078757517
57B18865272B36   SAMUEL         CRISWELL                   CO     90015088652
57B18897551348   BALAJI         REDDYGUNTA                 OH     90010438975
57B192A7572B43   RUBY           TRUJILLO                   CO     90012042075
57B19345991534   ARTURO         CEBALLOS                   TX     90008423459
57B19894991895   HUNTER         DEAL                       OK     90012938949
57B1B268431428   EDWARD         RIEFLE                     MO     90003612684
57B1B91A272B43   HERIBERTO      CRESPO                     CO     33091169102
57B21161855997   JOSE           PEREZ                      CA     90014221618
57B21189861971   SALWAN         KARYKOS                    CA     46095921898
57B21399872B49   JAMEY          BARTLEY                    CO     90007643998
57B2146875B236   AMANDA         PORTER                     KY     90011214687
57B21522161965   REESE          BEECHER                    CA     90004725221
57B21836172B38   DAVE           WINN                       CO     33056818361
57B22145691587   CRISTINA       PAYAN                      TX     90014691456
57B229A335B283   JANE           MEFFORD                    KY     90009679033
57B2311845B393   PAUL           KALIMA                     OR     90013371184
57B23288791587   MONICA         ESTRADA                    TX     90004892887
57B2346665B283   RASHEED        ABDULLEH                   KY     90011624666
57B236A6861971   HADEER         FADHEEL                    CA     46087406068
57B2392A65758B   MARCO          ORTIZ                      NM     90015259206
57B2457212B27B   JON            DOWE                       VA     90014805721
57B24A24161965   JESSE          BRYAN                      CA     90006960241
57B2542945B236   RAY            EASTON                     KY     90013914294
57B25596991895   RICKY          TYLER JR                   OK     90012835969
57B2571612B27B   FASSIL         TEKLEMARIAM                VA     81014617161
57B26418A72B43   LUIS           ALVAREZ                    CO     33042024180
57B26A14951348   HAYLEY         CLARK                      KY     90014880149
57B272A6172B49   MIGUEL         SIMENTAL                   CO     90012142061
57B27627491587   JESUS          GRAJEDA                    TX     90007536274
57B2765634B521   MAURO          ACOSTA                     OK     90005736563
57B27A2585B387   DUSTIN         GREEN                      OR     90013260258
57B28887451383   WARREN         DUNCAN                     OH     66040818874
57B28A14951348   HAYLEY         CLARK                      KY     90014880149
57B29573561971   JESUS          MUNOZ                      CA     46071335735
57B29696355997   ZAYDA          RIVERA                     CA     49017766963
57B2B21754B539   MELANIE        MCCULLOCH                  OK     90008512175
57B2B4A155B393   JEREMY         TOMLIN                     OR     90006054015
57B2B57574B588   ERIC           PETTIT                     OK     90012175757
57B3144AA61971   CHANTIL        CHERRY                     CA     90014444400
57B3198477B434   ADRIANA        GONZALEZ                   NC     90011399847
57B31A1A891587   LINO           FERNANDO ALMANZA           TX     75039450108
57B324A6661965   SONIA          RIVERA                     CA     90011134066
57B3317515B283   SHANNON        GREENWELL                  KY     90005591751
57B33663951348   ANGELA         PATTON                     OH     90014876639
57B3434955B236   STEVEN         ADWELL                     KY     90000763495
57B34543472B36   DESIREE        TRONES                     CO     90001635434
57B3474585B399   TERESA         CUNNINGHAM                 OR     44525167458
57B363A235B399   JASON          GAGO                       OR     44548123023
57B365A7A5758B   CORA           MCENERY                    NM     90013125070
57B37157A71956   VICTOR         VALDOVINES                 CO     90007511570
57B3738AA5B393   LANE           MARTIN                     OR     90015163800
57B37391251348   ROBIN          BARLAGE                    OH     90014643912
57B37592233699   ALVER          HUGHLEY                    NC     12093815922
57B37814861965   GENE           FORD                       CA     90012848148
57B38438A2B27B   BRIDGET        GARY                       DC     81009194380
57B3845865B387   CAAMAL         GUMERCINDO                 OR     90009124586
57B385A224B588   MARIA          PADRON                     OK     90013245022
57B38A38A61936   JESUS MANUEL   MEZA-ALVAREZ               CA     90011080380
57B39325172B49   ALFREDO        RIOS                       CO     33084073251
57B39391251348   ROBIN          BARLAGE                    OH     90014643912
57B3948364B588   MIGUEL         BARRIOS                    OK     90010734836
57B39657891587   OLIVER         ARROYOS                    NM     90010156578
57B3967A961971   FARAH          ABDULMASEEH                CA     46095486709
57B3B24215B531   MIGUEL         BUGARIN                    NM     90014012421
57B3BA14951348   HAYLEY         CLARK                      KY     90014880149
57B3BA6677B389   JUAN           PAZ                        VA     90006440667
57B41136731428   JEANNINE       VAUGHN                     MO     27516221367
57B41232351333   NICKI          PENNINGTON                 OH     90011202323
57B41498A72B36   NOEMI          DOMINGUEZ                  CO     90011904980
57B41656954152   AMY            HARLEY                     OR     90015166569
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 162 of 2350


57B42481291587   DANIEL          DOMINGUEZ                 TX     90012574812
57B42939672B58   VERONICA        SOTELO                    CO     90012429396
57B43681933699   SHANEALA        MIDDLETON                 NC     90015196819
57B43721172B27   KAITLYN         WALKER                    CO     90012537211
57B439A947B694   JAMES           CHILDS                    GA     90010399094
57B43A12672B43   MARIANA         SAUCEDO                   CO     90013380126
57B4415375B283   JAMES           MURPHY                    KY     90012081537
57B4427265B393   SHATOYLA        PRESTON                   OR     90014802726
57B44741272B36   JESUSITA        LOPEZ                     CO     33080477412
57B4484485B561   EAST            JEFFERY                   NM     90010758448
57B44A4465715B   CARLOS          MENDOZA                   VA     90012600446
57B453A445B531   JOHN            LIAL                      NM     35039493044
57B4555895B387   DARREN          ROACH                     OR     44593055589
57B45872891895   RENE            MARTINEZ                  OK     21061868728
57B46692372B36   BEATRIZ         OJEDA                     CO     90006126923
57B46744655997   LUPE            BRAVO                     CA     90012957446
57B47929333699   RICKY           LANE                      NC     90009169293
57B47954472B36   JOSE            ALAMOS-CRUZ               CO     90011079544
57B4797865B399   NIKI            FIFER                     OR     90010209786
57B4817552B229   JOAN            BROOKS                    DC     90006171755
57B482A3A5B393   KIMBERLY        CEDILLO                   OR     90012752030
57B4851115B399   BRYCE           WASHINGTON                OR     90014345111
57B49732261965   PETER           CROSS                     CA     90009777322
57B49733291895   GUILIBALDO      SAUCEDO                   OK     90013807332
57B4981564B587   ROBIN           SWEEDEN                   OK     90014538156
57B4B489161965   SUSI            HOUSER                    CA     90005334891
57B4B654154152   NICOYA          ARCHULETA                 OR     90015166541
57B4B85892B934   MARCOS          TOLDEO                    CA     90001268589
57B51199954152   JULIE           HUYNH                     OR     47043561999
57B51356672B27   CAROLINA        HERNANDEZ                 CO     90010243566
57B51827391587   ROBERTO         MORALES                   TX     90012978273
57B51A43933699   MARIA           HICKMAN                   NC     90010380439
57B52781A5758B   LIDIA           MARTINEZ                  NM     90014037810
57B5283A272B36   NKEONYE         EGBUNE                    CO     90007038302
57B52994572B43   GABRIEL         CHAVEZ                    CO     33008189945
57B5312115715B   ANEYDA          VASQUEZ                   VA     90012601211
57B5317335758B   XAVIER          QUINTANA                  NM     90012291733
57B5332849196B   MERLIN          SANTOS                    NC     90012843284
57B5349A85B393   KENNETH         HAGEN                     OR     90011674908
57B5396615B283   NIKI            LOHDEN                    KY     68007649661
57B5413285758B   IVAN            CARRILLO                  NM     90001861328
57B541A5791895   BRANDON         LOPEZ                     OK     90010321057
57B5485275B399   AYANNA          GOTCHER                   OR     90014928527
57B548A434B588   TAMARA          NORRIS                    OK     90015278043
57B5495485B543   ANGEL           SALINAS                   NM     90013349548
57B55948431429   BRANDIE         CONNER                    MO     90002489484
57B56A5A75B399   SOCORRO         CORDOVA                   CA     44510120507
57B57479576B84   EVELYN          COLON                     CA     90001524795
57B57581731428   TONY            HENNEHAN                  MO     27561965817
57B57A1195B347   JASON           BOYKIN                    OR     90000980119
57B5818865B393   EDIER           DOMINGUEZ                 OR     90014521886
57B5856255B531   NATASHA         RODGERS                   NM     90013535625
57B5857792B27B   MILENA          GUARDADO                  VA     90009615779
57B58792491576   ERIC            OCHOA                     TX     90012907924
57B5898375B399   REMEDY          NISOM                     OR     90007099837
57B59277972B49   VICTOR          ORTIZ                     CO     90002302779
57B59989451348   KARLA           HOWELL                    OH     90012849894
57B59991A91587   VIRIDIANA       RAMIREZ                   TX     90011429910
57B5B1A6672B49   KEVIN           NIEMI                     CO     90014641066
57B5B21A472B27   MARIANO         MARTINEZ                  CO     90010662104
57B5B7A2891895   KYLIE           EVITT                     OK     90012787028
57B5B865A7B491   JENNIFER        EASON                     NC     11045658650
57B61481691587   YESICA          ESTRADA                   TX     90005504816
57B6154915B283   ANTOINETTE      MC FARLAND                KY     90008725491
57B62586254152   HELPING HANDS   HARVEST                   OR     90015215862
57B6262962B567   JOSHUA          RHOTON                    AL     90015036296
57B6299A672B27   ESTHER          SCOTT                     CO     33056679906
57B63172A4B588   JARROD          RUSSELL                   OK     90003211720
57B63317672B36   NIKKAYLA        SVENBY                    CO     90014823176
57B6341965B393   DEEANN          ALLEN                     OR     90014454196
57B63498A5758B   DOMINIC         ARAGON                    NM     90010704980
57B63588572B38   JAVIER          CORDERO                   CO     90011905885
57B63626857157   CARLOS          RTUITA                    VA     90003066268
57B6415AA5B399   LYNNETTE        COX                       OR     90008531500
57B64229691895   BENITO          PEREZ                     OK     90013242296
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 163 of 2350


57B64292872B38   JOSE CRUZ            MEDINA               CO     33093232928
57B64917551383   BLAIR                JOSHUA DAVID         OH     90011759175
57B65635472B27   HOLLY                STECHER              CO     90013776354
57B66131276B4B   TAIU                 TAUMAOE              CA     90013891312
57B66192351348   LIZETT               BARNES               OH     90014881923
57B667A9472B38   ANA                  RUIZ                 CO     90014587094
57B67519172B43   MIKE                 MALOUF               CO     33064875191
57B6777A131429   SHAUNTE              WHITE                MO     27505947701
57B68773854152   GUY                  ZEMKE                OR     90015167738
57B68891161965   MELISSA              HERNANDEZ            CA     90009718911
57B6923465754B   RODRIJO              FLORES               NM     90002572346
57B69389561971   ROSA ILIANA          CISNEROS             CA     90014993895
57B69942A5B387   DAMASO               GONZALEZ             OR     44568869420
57B6B358333669   JUAN                 VAQUIS-AYESTAS       NC     90001453583
57B6B48A25B271   MICHALE              BELL                 KY     90006334802
57B6B52165B387   TARA                 FORD                 OR     90014115216
57B6B934761965   ARIEL                MOLINA               CA     90015159347
57B71179151383   SANDRA               ANDAVERDE            OH     90005481791
57B722A452B27B   DEXTER               GRAHAM               DC     90010772045
57B7245315B399   JUDY                 WILSON               OR     44543024531
57B7311144B29B   LISA                 WIDMAN               NE     90013941114
57B732A552B27B   KEISHA               NEWELL               DC     90008692055
57B73454A72B43   GEHAD                AHMAD                CO     33014564540
57B7353654B588   PRECIOUS             KEITH                OK     90012365365
57B7356765B399   DAN                  KING                 OR     90013865676
57B7473445B531   VERINICA             CUELLAR              NM     90015157344
57B747A765B387   TINA                 BROWN                OR     44594617076
57B7484945B399   RICHIE               JONES                OR     90002118494
57B74932991895   FERNANDO             PULIDO               OK     90007469329
57B75252331428   MATHEW               MAYFIELD             MO     27597282523
57B7594864B588   CHASE                WILLIAMS             OK     90010649486
57B76552A7B46B   TAVIS                VAUGHN               NC     90008095520
57B76764A31429   GARY                 BROOKS               MO     90012187640
57B7716815B387   CALVIN               PAPKIN               OR     90007901681
57B77354581664   MICHELLE             REED                 MO     29084283545
57B7756855B393   DAVID                MANNING              OR     90011695685
57B7775A65758B   ROSIE                CAZARES              NM     90011387506
57B7796875715B   LESLI                ULLOA MALDONADO      VA     81058389687
57B77A8865B236   LATRESA              BROWN                KY     90004740886
57B7896535B93B   FRANCISCO            VILLA CORIA          WA     90015409653
57B79245672B49   LA SHAAN             CAPUCHIO             CO     90015012456
57B7953133B387   SCOTT                BAILEY               CO     90003835313
57B79573A72B27   PEDRO                MURILLO              CO     33031075730
57B7984145B561   MICHAEL              CHAVEZ               NM     90010658414
57B7999A45B283   EILEEN               SCHUHMANN            KY     90010409904
57B7B12A961971   MARQUELIA            VILLARREAL           CA     90014211209
57B7B241961965   MAGALI               ALTAMIRANO           CA     90006892419
57B7B497861548   JOSEPH               OSBORNE              TN     90015484978
57B7B621A72B38   ALBERTO              RAMIREZ              CO     90013246210
57B7B671254152   JESSICA              TRENARY              OR     90013156712
57B7B73345715B   EVA                  FLORES               VA     90014717334
57B7B73A45B283   CLAYTON              JACKSON              KY     68091947304
57B7B99465758B   FERNANDO             HERRERA              NM     90012889946
57B8112615B543   JOSE                 MARTINEZ             NM     90005161261
57B8134295B236   JASMINE              HUTCHINGS            KY     90013703429
57B814A1391587   MARIA                ROBLES               TX     90009914013
57B8157A45B387   JENNIFER AND WAYNE   RONKE                OR     90013245704
57B8174532B27B   JACQUELINE           LEE                  DC     90010947453
57B8188295B236   INDIA                WHITE                KY     90013018829
57B81995472B38   JAMIE                FRESQUEZ             CO     33073409954
57B82315172B27   JEFFERY              RIVERA               CO     33014873151
57B839A1133699   CAROLYN              COVINGTON            NC     12071359011
57B8435A331429   LAYLAY               JONES                MO     90001223503
57B84538172B49   LEONARDO             BARRIOS              CO     90012475381
57B85351872B38   MICHAEL              LVARADO              CO     90013773518
57B85466A51383   DEVAN                BENDA                OH     90004644660
57B8644465B531   SONYA                MONTOYA              NM     35076744446
57B8658765B531   BOBBY                TERAN                NM     90013255876
57B86593654152   DAGMAR               ARBOGAST             OR     90010725936
57B86837133699   ERIC                 BOSTON               NC     90004208371
57B87457866186   RAUL                 GOMES                CA     90012044578
57B875A8191895   EDSON                BELLEFLEUR           OK     90011525081
57B87964854152   JACOB                HARVEY               OR     90015169648
57B88289761971   MARK                 NEAL                 CA     46028942897
57B88577691895   LORETTA              CUNDIFF              OK     90013715776
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 164 of 2350


57B888A5172B43   FRACISCA     STEVENS                      CO     90012588051
57B8929A991587   RAUL         FLORES                       TX     75007352909
57B89329A77526   ROSA         FLORES                       NV     90011623290
57B8961894B221   KERRI        KRAYNESKI                    NE     90001846189
57B89682A5B393   RACHEL       JOHNSON                      OR     90011926820
57B89A41125666   HUGO         PEREZ                        AL     90014200411
57B8B161A72B36   SARAH JEAN   LIESS                        CO     90012451610
57B8B1A9A72B36   NIKI         OLSZEWSKI                    CO     33090941090
57B8B839A72B43   IRENE        LOPEZ                        CO     33056128390
57B8B85AA5758B   FABIOLA      NORIEGA                      NM     90006908500
57B9117758B183   PAUL         SCHAAF                       UT     31084301775
57B91743372B38   DERRICK      COFFMAN                      CO     33005767433
57B91865454152   CAMRON       ABEENE                       OR     90013918654
57B92666855997   JOSE         ANZALDO                      CA     49068856668
57B92887991895   JESSE        CLUTE                        OK     90014798879
57B93233A5715B   JOSE         REYES                        VA     90012752330
57B9364A65715B   MAYCON       REYES ESPINA                 VA     90012736406
57B93A5635B543   MAY          PEREA                        NM     35096930563
57B9452245B399   AMBER        CORDA                        OR     90009465224
57B94568261971   IRENE        HANAII                       CA     90013015682
57B946A8736165   JEANETTE     GAMEZ                        TX     90006356087
57B95297972B43   LUZ          VELASCO                      CO     33094592979
57B95823254152   VALENTE      RODRIGUEZ                    OR     90011838232
57B9583892B27B   KATRICE      SMITH                        DC     90007558389
57B9629985715B   MANUEL       CRUZ                         VA     81058392998
57B96716851348   VAHLEA       TIPTON                       OH     90014887168
57B97311955997   PATRICIA     ROWLEY-ALVAREZ               CA     90014833119
57B9734A55B531   CAROLL       AUSTIN                       NM     90015013405
57B9774834B588   JOSE         VARGUS                       OK     90006357483
57B9861A42B27B   HEVYN        PAYNE                        DC     90002876104
57B98858685894   ANGELA       HAY                          CA     46013548586
57B99A9194B588   DEONNA       CARTER                       OK     21566820919
57B9B86175B531   SUSAN        NIETO                        NM     35005818617
57B9B89855758B   JEREMY       MARQUEZ                      NM     90004208985
57BB1252A5715B   SUZANNE      TSITSIBELIS                  VA     90013632520
57BB1367498B39   JHONNY       JHONSON                      NC     90008853674
57BB164A65B393   YENNY        CASIMIRO ORTIZ               OR     90013046406
57BB177555B222   RAESHAWE     LOCKRIDGE                    KY     90012777755
57BB1935872B49   SHERRY       SWAIN                        CO     33066609358
57BB2173A55997   MONICA       OCHOA                        CA     90009101730
57BB348152B27B   SANDRA       AVENT                        DC     90011394815
57BB449225B531   MELISSA      CARRILLO                     NM     90006614922
57BB45A8772B36   JUAN         LOPEZ                        CO     90009285087
57BB483575B393   TASHA        KRIEG                        OR     90014188357
57BB49A887B491   CRYSTAL      HOWARD                       NC     90001359088
57BB562455B393   RYAN         JONES                        OR     90013056245
57BB5651355997   MANUEL       IBARRA                       CA     90014236513
57BB5A66572B38   WALTER       ACEVEDO                      CO     90013840665
57BB6182633699   HUMBERTO     HERNANDEZ                    NC     12063141826
57BB6A6277B46B   MICHEAL      ALDRIDGE                     NC     90014920627
57BB72A125B387   ISHAQ        SHAMSUD-DIM                  OR     44507742012
57BB72A824B29B   DOROTHY      SOTMAN                       NE     27078992082
57BB7357251348   ANTONIO      POELLNITZ                    OH     90013783572
57BB7834633696   SCOTT        TILL                         NC     90012078346
57BB7989854152   JACKIE       GUSTAFSON                    OR     90009549898
57BB7A6277B46B   MICHEAL      ALDRIDGE                     NC     90014920627
57BB7A98672B36   RODRIGO      SANTOS                       CO     90013810986
57BB8421191587   ALBERT WES   VEALE                        TX     75000514211
57BB8867172B22   SONIA        VELA                         CO     90001458671
57BB893485B393   TONY         HERNANDEZ                    OR     90012249348
57BB894A472B36   EMANUEL      HERNANDEZ                    CO     90011079404
57BB9177551348   BRANDON      DOUGLAS                      OH     66013481775
57BB959A772B36   JESUS        PELCASTRE                    CO     33053505907
57BB963125B387   TAYLOR       SIMIEN                       OR     90013966312
57BBB296397B54   VICTORIA     LINEHAN                      CO     90001942963
57BBB41A751383   TINA         ABNEY                        OH     66085424107
57BBB668272B88   JUANA        HESSEK                       CO     33026126682
57BBB711497925   JESSICA      HERRERA                      TX     90001387114
57BBB85655B387   JONATHAN     CORNISH                      OR     90011928565
57BBB928A31429   ROBERT       CRITES                       MO     27545519280
5811151215758B   DANIEL       BLUE                         NM     90013235121
5811246865B399   JEFF         MCNEALY                      OR     44500204686
58112576A76B75   VERONICA     HERNANDEZ                    CA     90012185760
5811316995B239   BRAD         ROGERS                       KY     90015521699
581131AA772B27   EVERARDO     DELGADO                      CO     33010781007
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 165 of 2350


581133A5272B24   AMANDA       RUBIO                        CO     33083823052
581135A7A5758B   CORA         MCENERY                      NM     90013125070
58114816A4B588   JOHNNY       BONILLA                      OK     90000498160
58114A36A7B46B   WILMER       RODRIGUEZ                    NC     90015270360
581152A9772B43   MICHAEL      CORDOVA                      CO     90015612097
58116A66751348   CLAUDIS      MEJIA                        OH     90011960667
581171A665B239   AMY          SMITH                        KY     90012531066
58117785572B49   MARIA        SALAZAR                      CO     90015187855
58117AA1691982   DESIREE      MEREDITH                     NC     90006870016
5811871114B28B   MANUEL       LOPEZ                        NE     26057277111
58118A73191895   DEMETRIA     BARTON                       OK     90010580731
581196A8533699   CARLOS       BULL                         NC     90014806085
5811973965B239   CAROLYN      MCCLURE                      KY     90014977396
5811B331747929   LASHAE       LUCIEN                       AR     90008283317
5811B76524B588   ELVIRA       DOYLE                        OK     90008747652
58121231A33623   CHLOE        GLEASON                      NC     90005762310
58122A64551383   JASON        CRUTCHER                     OH     66086880645
58122A7944B588   RAMON        DE LA CRUZ                   OK     90014180794
5812321874128B   DELORES      SCOTT                        PA     51073902187
58123288872B27   JENNIFER     SCHUBERT                     CO     33091132888
5812349535B543   CELINA       ROYBAL                       NM     35005974953
5812396347B46B   ANETTE       RIDGEWAY                     NC     90003999634
58124676A5B239   NIKKI        AMBURGUI                     KY     68000326760
58124777A61965   YESENIA      COMANO                       CA     90013067770
5812483A733699   RENE         PENALOZA                     NC     12063238307
5812518795758B   LUIS         MUNOZ                        NM     90013781879
58125399376B75   ANDREA       SALUATERRA                   CA     90001983993
5812541A333699   EFREN        CISNEROS MOLINA              NC     90015134103
58125948A72B43   PHILLIP      GUILLORY                     CO     90013039480
5812631485758B   ROBERTO      MENDOZA                      NM     90009593148
58126A64261971   JOSHUA       WALLACE                      CA     90012720642
5812813334B588   LAKISHIA     DAVIS                        OK     90011241333
58128173A72B36   NORMA        RAMOS                        CO     90008761730
5812863A676B75   AIOTEST1     DONOTTOUCH                   CA     90015116306
5812889315B531   STEVE        BACA                         NM     35086068931
5812897529186B   SHARDE       BOYD                         OK     90008979752
58129856572B88   JOE          KNAPP                        CO     90007268565
5812B377191895   JENNIFER     CAMPBELL                     OK     90014523771
5812B9A1A5B236   JULIO        GARCIAS                      KY     90006829010
5812BA1767B46B   MAITA        KERSEY                       NC     90012240176
58131754476B75   DAVID        TREJO                        CA     90015137544
58131799876B75   DAVID        TREJO                        CA     90012837998
58132414272B88   CHRIS        MAYFIELD                     CO     90007244142
58133756A33696   RAEKWON      SIDDIQ                       NC     90010557560
5813397395132B   ELIZABETH    LEONARD                      OH     66098059739
5813417795758B   JOSE         MALDONADO                    NM     90012361779
58134491972B36   LEONEL       PENA                         CO     90004734919
5813462125758B   NORMA        DURAN                        NM     90002906212
5813468A561971   ANDERSON     LISA                         CA     46010906805
58134985376B75   ANA          SOLIS                        CA     90012449853
581355A4257541   GLORIA       RODRIGUEZ                    NM     90013345042
58136676772B88   SALVADOR     GARCIA                       CO     90006506767
5813693387B46B   REGINALD     JOHNSON                      NC     90010209338
5813713595B387   JON          MEYER                        OR     90009551359
58137586A61971   BRIDGET      CUNDIEFF                     CA     90013785860
58138514324B43   ALEXIS       MARQUEZ                      DC     90004905143
5813856A56B243   MATTHEW      ESBROOK                      AZ     90014095605
58138687476B75   REINA        VELASCO                      CA     90013646874
581394AA357541   ANA          OLIVAS                       NM     90013094003
5813973672B27B   TIANNA       DAWKINS                      DC     90013007367
5813B776851383   BILL         BOGGS                        OH     90004237768
5813B797533696   HASOAI       KSA                          NC     90011277975
5813B985533696   MIKE         JONES                        NC     90013969855
581411A375758B   RHIANA       DELAO                        NM     90010961037
58141216272B43   MELISA       AVALOS                       CO     33008152162
58141269572B27   PAUL         MURRAY                       CO     33038232695
58142147172B36   ARTURO       HOLGUIN                      CO     90013991471
581423A1A5B239   CHRISTINA    EMERY                        KY     90015023010
581424A594B521   TRICIA       MULLENDORE                   OK     90006454059
58142924576B75   WILLIAM      MINCEY                       CA     46048679245
5814422485B239   KIMBERLY     BENTLEY                      KY     90012752248
58144621A61971   ROYA         EBRAHIMI                     CA     90014596210
58145239372B36   GEORGE       CLEMENT                      CO     90014562393
581455A857B46B   CAMILO       VANEGAS                      NC     90013925085
581456A125B399   JUSTIN       WEST                         OR     90012906012
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 166 of 2350


5814582215758B   PAULA        CRUZ                         NM     90014198221
58145966472B43   SIMON        MANZANO                      CO     90013129664
581459A9876B75   JARED        HALGREEN                     CA     90014179098
581463A355B399   EDWARD       KRUGER                       OR     90010603035
581463A997B421   CHERYL       STEWART                      NC     90001193099
5814718A62B27B   WAYNETTE     WHITE                        DC     90012171806
581472A5976B75   EULALIA      SANTACRUZ                    CA     90002492059
5814748545B531   BUCK         KENDALL                      NM     90008384854
581481A477B46B   SANDRA       MEDINA                       NC     90001981047
5814836545B239   SANDRA       WALLACE                      KY     68006263654
5814922597B46B   ALICIA       WALKER                       NC     11084192259
5814B189333696   TAMMY        TATUM                        NC     12099031893
5814B257157541   NIKKI        SALAS                        NM     90003642571
5814B49A861971   SARAH        HAMILTON                     CA     90007254908
581514A434B588   PABLO        BOSQUEZ                      OK     90013844043
58153659172B27   DANIEL       TRUJILLO                     CO     33052866591
5815426237B46B   ESMOND       RICHARDSON                   NC     90008612623
5815436934B588   MARIVEL      MARTINEZ- MARTINEZ           OK     90013363693
5815467315B399   NICOLE       LUTHER                       OR     90007866731
58155937472B49   ROSALINDA    MEJIA                        CO     33048019374
5815598985B399   KACY         BUTLER                       OR     90009609898
58155A18461971   YESENIA      SALAS                        CA     90000620184
581563A7A72B38   YOAN         BALTAZAR                     CO     33050383070
5815682478B191   MIKE         BEAM                         UT     90013138247
58156924A51348   TYLER        GIDEON                       OH     90014059240
58156A2A557541   ANGEL        JORDAN                       NM     90014130205
5815782815B239   ANNA         SMITH                        KY     68023258281
58157A62557541   HARRY        DAVIS                        NM     90008920625
58159586972B27   KIM          KUYKENDOLL                   CO     33033185869
58159847A33696   KISA         COLLINS                      NC     90014868470
58159963976B75   MISAEL       CRUZ                         CA     46044949639
58159A54433696   KATINA       POTTS                        NC     90012460544
58159A9964B241   JENNIE       WEBERG                       NE     27003220996
5815B336691895   GABRIELLE    MARTIN                       OK     90007103366
5815B523151348   STACIE       MULLER                       OH     66005145231
5815B67662B27B   OSCAR        HERNANDEZ                    DC     90002646766
5815BA77A91988   GUILLERMO    ESCOBAR LOPEZ                NC     90012030770
5816111554B588   CARMALETTA   MENDENHALL                   OK     90010991155
5816132432B851   DUSTIN       SCHRADER                     ID     90013143243
5816176A672B43   MARK         ARAGON                       CO     33060097606
581619A6872B38   JUAN         NEVAREZ                      CO     90015099068
5816321515B531   SELENA       RAMIREZ                      NM     90010812151
58163726372B27   HANNA        KURABACHEW                   CO     33060037263
581639A914B588   JASON        KILGORE                      OK     21517159091
58164266472B27   DERRON       SMITH                        CO     90013062664
5816436694B588   CHARLES      SLAYTON                      OK     90014713669
5816442A233696   LYVONNE      HARRELSON                    NC     90012064202
58164447A5B229   MARIO        LOPEZ                        KY     90008554470
58164677672B43   KEVIN        JHONSON                      CO     90004516776
58164721472B88   KATHLEEN     WELTY                        CO     90009927214
58165137976B75   WENDY        WALESKA                      CA     90012691379
581658A752B27B   ROBIN        TURNER                       DC     90013008075
5816694535758B   BELMONTES    ZULMA                        NM     35533199453
58167243872B27   VIRGINIA     APODACO                      CO     90008282438
5816754A12B851   JORGE        GARCIA                       ID     90001275401
5816772365B399   CRISTINA     MARTIN                       OR     90008557236
5816777424B28B   VICTOR       BATT COC                     NE     26046697742
58167A9345758B   KEVIN        RODRIGUEZ                    NM     90013140934
58168847A33696   KISA         COLLINS                      NC     90014868470
5816939595758B   HIRAN        HERNANDEZ-GONZALEZ           NM     90014013959
5816952A37B46B   FLORENTINE   ANBROCIO                     NC     90013925203
58169A6295B399   JOHN         HUNTER                       OR     90013830629
5816B25854B588   BRENDA       LAMBERT                      OK     90011242585
5816B282A57541   AUDRA        RODGERS                      NM     90009192820
5816B746233699   JAIME        CORDOVA                      NC     12002577462
5817113155758B   BARBARA      KANE                         NM     90004961315
5817146315B239   KIM          WAINSCOTT                    KY     90011364631
58172357272B36   LORALI       LOREDO                       CO     90000223572
5817251115B283   DONNA        CONTRERAS                    KY     68018325111
5817274795B399   ALMA         TORRES                       OR     90001867479
581731A5772B24   KEVIN        S                            CO     90007151057
5817416A454152   SHANE        CARLSON                      OR     90008091604
5817437535758B   NANCY        MARTINEZ                     NM     90013133753
58174A34972B38   LORRAINE L   KANEHAILUA                   CO     90001890349
58174A42261965   CASSANDRA    WHITLEY                      CA     46071860422
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 167 of 2350


5817537915B399   GREGORY          WHITEAKER                OR     90013883791
58176456872B43   CREATIVE WORKS   CORORATION               CO     90007084568
5817651A551348   BRENDA           LAWSON                   OH     90011075105
5817669174B29B   DEBRA            MURRY                    NE     27034256917
5817676615B387   NICHOLE          RAY                      OR     90008457661
58176A19957541   KAREN            LAMM-BROCK               NM     90014140199
58176A7294B588   S                BIRD                     OK     90006990729
58177587572B43   ANDE             JONES                    CO     90012885875
5817794355B239   MARK             FITZGERALD               KY     68065399435
5817825A731429   BRINA            DUNN                     MO     90005892507
5817877A951348   DONTE            WILLIS                   OH     66045867709
58179A68433696   MARTHA           ALFEREZ                  NC     90003710684
5817B226433699   HAYWOOD          SALES                    NC     12004042264
5817B273872B38   ROSA             GUEVARA                  CO     33024052738
5817B83895B239   TERRANCE         HOCKER                   KY     68077098389
5817BA1838B142   JORDAN           WILHELMSEN               UT     90010060183
5817BA27851348   LAMAR            REYNOLDS                 OH     66044780278
58181262672B38   MAHIR            EL ZURAIQI               CO     33044562626
5818151215758B   JANEL            LAZANO                   NM     90011305121
5818199156194B   MARIA ELENA      CORRAL                   CA     90007179915
581819AA74B588   ERNESTO          QUINTANA                 OK     90013639007
5818275785758B   DORA             CARO                     NM     90007267578
58183413476B75   MARRY            LANE                     CA     90014054134
5818442414B588   ROBERT           CANTLEY                  OK     21546454241
5818456694B29B   ADAN             RIVAS                    NE     90006985669
58184589476B75   EFREN            RODRIGUEZ                CA     46012125894
5818578935B399   TIFFANY          SALUDARES                OR     90013977893
581857A1976B75   JULIA            RIVERA                   CA     90013917019
58185A66A5B531   ANDREW           DEARMENT                 NM     90015420660
58186896776B75   JESUS            RENTERIA                 CA     90011858967
58187199576B75   AYDEE            MARROQUIN                CA     90013911995
5818759555B399   TALITHA          WILKINS                  OR     44507755955
58187A15661965   FERNANDO         DIAZ                     CA     90010790156
58187A25991895   BRIANNA          ROBERSON                 OK     90015120259
58187A4715758B   JESUS            VASQUEZ                  NM     90014000471
5818843A88B195   CANDELARIO       SANCHEZ                  UT     31098254308
5818B248751348   TABITHA          JONES                    OH     90012692487
5818B332657541   DIANE            KNOX                     NM     90003163326
58191218372B27   OTILIA           LUEVANO                  CO     90015012183
5819154445758B   LORETTA          HOLBROOK                 NM     90012675444
5819172AA72B49   JAIRO            SERRANO                  CO     90012047200
58191973A61971   DONAL            T MACK                   CA     90012039730
58193155576B75   SANDRA           RINCON                   CA     90008161555
58193457872B27   LE DAWN          LOCKS                    CO     90007584578
58193746672B38   EVA              CORONA                   CO     33039117466
581938A375B399   DESIREE          THORN                    OR     44523618037
5819493A931428   CHARLIE          FULLER                   MO     27568759309
58194A1534B588   WENDELL          BYRLEY                   OK     21598150153
581952AA772B43   VANESSA M        FARRERA                  CO     90011402007
5819536A851348   PHILIP           BOAKYE                   OH     90014943608
58195423A7B46B   HORTENCIA        SIMMONS                  NC     90013654230
58195A2A972B38   JULIE            CAMPBELL                 CO     33013400209
58196421A72B43   MARTINEZ         JOSE                     CO     90011524210
58196486872B27   NELIDA           ROCHA-REYNOSA            CO     90014114868
581965A2A85959   KEVIN            MARSHALL                 KY     67075955020
58196665372B36   AZHANAE          WOODARD                  CO     90009186653
581975A2A85959   KEVIN            MARSHALL                 KY     67075955020
5819774764B28B   JASON            PHELPS                   NE     90002407476
5819818675B531   TOMOYOSHI        STEWARD                  NM     90010421867
5819863439376B   MARYLOU          SMITH                    OH     64557646343
5819876925B283   THERESA          HARLOW                   KY     68081407692
5819941825B239   MIKELL           ROBINSON                 KY     90007564182
5819B19765B239   KEVIN            RODGERS                  KY     90006321976
5819B923833699   SANDI            JIMENEZ                  NC     12086479238
581B128195B239   LATISHA          GARCIA                   KY     90013382819
581B1452376B75   SAMUEL           EZPARZA                  CA     90001964523
581B1476472B27   JOSE ANTONIO     ALVAREZ LOPEZ            CO     90012994764
581B1915991895   KASSANDRA        JACKSON                  OK     90012429159
581B2137372B43   SYLVIA           RENTERIA                 CO     33033251373
581B2224A5B399   SUSAN            BEACH                    OR     90006552240
581B244A172B49   LEN              GREGORY                  CO     90014134401
581B273A333696   LATOYA           BROWN                    NC     90011277303
581B355A261965   BEATRIZ          WIMS                     CA     46093965502
581B5442472B27   JERRY            JENKINS                  CO     90012624424
581B547354B59B   LASHONDA         WILLIAMS                 OK     90012514735
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 168 of 2350


581B5576361548   AMBER           BLU                       TN     90015545763
581B5973371946   WILLIAM         CARR                      CO     90006099733
581B5A13872B36   G               GURULE                    CO     90010910138
581B6429572B36   RAMIRO          GUERRERO                  CO     33089654295
581B675212B27B   MELAKU          ASSEFAW                   DC     90011677521
581B6A4835758B   ARACELI         RODRIGUEZ                 NM     90014730483
581B7251472B43   JODI            LEWIS                     CO     33067172514
581B755275B399   DARLYN          BETANCOURT                OR     44568435527
581B7562372B27   TODD            TYRRELL                   CO     90012875623
581B7847972B24   FERNANDO        CHAVEZ-CALDERON           CO     33012758479
581B856A27B46B   MIRIAN          HUELIT                    NC     11073695602
581B8587A5B239   TERESA          THOMAS                    KY     90003925870
581B8A1525758B   FRANCISCO       TRUJILLO                  NM     35540440152
581B912925B283   BRANDON         BARFIELD                  KY     90006621292
581B9635772B38   SALVADOR        GUZMAN                    CO     90014746357
581B984655B399   JORGE           MARQUEZ                   OR     44553648465
581B9875333696   WILLETTE        TILLMAN-WILLIS            NC     12026928753
581B9A21672B43   HALCON          BEWLEY                    CO     33008150216
581BB45844B588   PAYGO           IVR ACTIVATION            OK     90013064584
581BB953554152   HARRIET         ROBINSON                  OR     47088669535
58211127572B38   RANDLE          ROMERO                    CO     90012791275
582114A9572B36   EMMA            HARRIS                    CO     90012544095
5821198A84B588   MICHELLE        LOUISE                    OK     90015209808
58211A91577568   NICOLAS         PARICO                    NV     90007290915
58212467972B49   PIPKINS         RAY                       CO     33031074679
58212779772B43   MARIA           VILLASENOR                CO     90014907797
5821321185715B   HECTOR          CARDONA                   VA     81016212118
5821326812B276   SEAN            JONES                     DC     90014622681
5821338545B239   STEVE           DYER                      KY     90009933854
5821478425B239   NICKI           WHITE                     KY     90000277842
5821489735B387   KATHRYN         BAILEY                    OR     90000178973
58214A71672B36   SAUL            FLORES                    CO     33087160716
58215697376B75   VICTOR          RAMIREZ                   CA     46048606973
58216214A72B49   LUPE            GONZALES                  CO     90005652140
5821632535B543   AURORA          ORTIZ                     NM     35087933253
58216839A31428   ANNIE           SULLIVAN                  MO     27506258390
58217A3752B27B   CHARLOTTE       BROWN                     DC     90009790375
5821862395B239   MARK            MURPHY                    KY     90013626239
58218868A7B46B   RAMIRO          PEREZ                     NC     90003368680
5821961347B46B   MARY            WALKER-HOWARD             NC     11068626134
58219886372B38   ZAYLA MAUREEN   ZAK                       CO     90012858863
5821994AA61965   ROXANNE         GONZALES                  CA     90010259400
5821B118491895   GEORGE          GIPSON                    OK     90012721184
5821BA1A34B521   MICHEAL         MARTELL                   OK     90006400103
5822181713B179   ELIAS           TOP                       DC     90008228171
58221981472B38   CARLA           COLIN                     CO     90015019814
5822295295758B   ANNETTE         BENAVIDEZ                 NM     90009129529
582233A955758B   SOCORRO         CALDERON                  NM     90013143095
582239A274B28B   PANCHANA        ESPINOSA                  NE     90002409027
58225514272B88   MARIO           FLORES-MIRAMONTES         CO     33091335142
582257A3872B43   TARA            MONTOYA                   CO     33014867038
58226194A51348   CONTRINA        HARRIS                    OH     90009811940
5822627615758B   JULIA           GONZALEZ                  NM     90006332761
5822633A257541   TALIA           LAMBDIN                   NM     35523483302
5822689A672B43   KENDALL         FARRINGTON                CO     33042098906
58228A2954B588   JOSE            GOMEZ                     OK     90013210295
5822925565B239   JOHN            BAILEY                    KY     90010432556
582294A9131428   ANDREW          GAMMON                    MO     90011794091
5822976A94B28B   BRADLY          BURDEN                    NE     26053687609
582297A9391895   MERCEDES        MACIAS                    OK     90010587093
58229A39151574   STEVE           THORNTON                  IA     90014340391
5822B28785758B   LISA            RIVERA                    NM     90013142878
5822B315A5B399   YINET           PEREZ REYES               OR     90015013150
5822B45A84B588   SHENIKA         WALLS                     OK     90012804508
582321A1372B49   DAISY           BARRAGAN                  CO     90010391013
5823234535758B   MARIETTA        VALDEZ                    NM     90009463453
5823236497B46B   RASHUN          HILL                      NC     90014823649
58232685976B75   EVA             BALDERAS                  CA     90005166859
582329A127B46B   FRANK           LATTIMORE                 NC     11096009012
58233199A5B38B   KELSEY          BOWERS                    OR     44540461990
5823438A64B29B   NELLY           RUBIO                     NE     27068603806
58235264672B49   ASHLEY          REYES                     CO     90012372646
582359A885B283   MICHAEL         WILLIAMS                  KY     90008439088
58236365476B75   ARNOLDO         MARIN                     CA     90011183654
5823652644B588   MELANY          DAMAS                     OK     90011245264
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 169 of 2350


58236A2535B241   DIADORA       MOORE                       KY     90005640253
58236AA2272B27   MIGUEL        MARTINES                    CO     90014610022
5823718AA51361   MICHAEL       YOAK                        OH     90001151800
5823762565B93B   ATHAN         RAMERO                      WA     90015456256
5823777922B27B   SHEMSENDIN    ZEGETE                      DC     90011677792
58237887776B75   BRIAN         CODAY                       CA     90005858877
5823794676198B   JOSE          BARAJAS                     CA     90009369467
58238256972B88   MIGUEL        LOPEZ                       CO     33064712569
58238449576B75   YENZARY       RODRIGUEZ                   CA     90010844495
582386A8533699   CARLOS        BULL                        NC     90014806085
58239122872B38   JUAN          SALAZAR                     CO     90011651228
58239328472B36   KINDRA        BARLOW                      CO     33008963284
5823947627B358   FREDY         GRANADOS                    VA     90013424762
5823969A14B521   ROBERTO       DE LARA                     OK     21579346901
582398A7A31428   VALERIE       WHITFIELD                   MO     27594608070
58239A7AA31429   ERNESTO       GUERRA                      MO     90006120700
5823B12385B239   CATHY         BICKERS                     KY     90009531238
5823B186276B75   PROVIDENCIA   GUERRERO                    CA     90013331862
5823B19175B543   SANDRA        BRINK                       NM     35055351917
5823B25895B239   STEVYEAUANA   SLEETS                      KY     90007992589
5823B494591895   JOSEPH        MCGOY                       OK     90006744945
58241382472B88   PATRCIK       HAMM                        CO     33060373824
582416A797B46B   WAYNE         EWART                       NC     11001756079
5824192135B239   BETTY         MULDER                      KY     68004929213
58241A48433699   ABRAHAM       BOE                         NC     90012000484
58242127972B38   ELIZABETH     OCEAN                       CO     90011651279
58242293A72B49   STACY         TEMPLER                     CO     33029362930
58242882472B43   MARIA         MANCHEGO                    CO     33064678824
58243482A4B588   NEIL          MCWILLIAMS                  OK     21501804820
5824381155758B   AIDEE         GUTIERREZ                   NM     90005118115
5824382655B399   MARCOS        MOO BURGOS                  OR     90004678265
5824453824B588   LEA           HOWERTON                    OK     90011245382
582445A6972B49   KATY          WAHL- MARTIN                CO     90011965069
58244A12261965   ALEJANDRA     OCHOA                       CA     90011610122
5824631785B399   KATIE         BROWN                       OR     90015013178
58246A39133696   THERESA       VALETINE                    NC     90011870391
5824743935B271   KERRY         FORSTER                     KY     90002454393
5824783482B27B   DOMINIQUE     BUTLER                      DC     90013018348
58247942872B27   MELINA        MILLER                      CO     33046339428
5824814935B387   FRANCISCO     RUIZ                        OR     44555221493
5824837425B531   MARIA         RODRIGUEZ                   NM     90015123742
5824837864B55B   MARGARITA     GALLEGOS                    OK     90008993786
5824853127B46B   KELLY         CHAMPION                    NC     90014035312
58248925972B38   FAITH         GILLIS                      CO     90007229259
58249128372B38   ANGELA        BROWN                       CO     90012791283
5824947A791895   HERBERT       HOWARD                      OK     21035854707
58249681472B43   STEVE         HOWARD                      CO     90014146814
58249A1215758B   DIANE         JELLISON-BROWN              NM     90014500121
58249A6677B46B   EMERITA       LUNA                        NC     90014830667
5824B272961497   DARRELL       BURT                        OH     90015522729
5824B4A915B239   JENNY         SLONE                       KY     90010464091
5824B632672B49   ELIZABETH     SAENZ                       CO     90005486326
5824B827672B88   CARLA         CRAWFORD                    CO     90003628276
5824B95615758B   ANTHONY       ESPINOZA                    NM     90013949561
5824BA57533696   SIMON         PEPPERNICK                  NC     90013970575
58251373872B43   TANGANYAKA    MCINTYRE                    CO     33071953738
58251984A5B399   DEBORAH       THOMPSON                    OR     44568529840
5825247115B399   SHANNON       ROEBUCK                     OR     90010164711
58252A2715758B   VICTOR        PEREZ                       NM     90014080271
582536A4757379   SHELBY        SCOTT                       MO     90014566047
5825491197B49B   STACY         PATTERSON                   NC     90002069119
582552A8961965   RAEDA         ABDULAHAD                   CA     90006212089
58255714572B43   ADRIANA       MONDRAGON                   CO     90011347145
5825594A561971   ROSHELLE      EVANS                       CA     90012599405
58255A3365B531   GUADALUPE     ADAME                       NM     90015210336
58255AA4A91895   SHARRIE       NICHOLSON                   OK     21055540040
582564AA733696   KEVIN         GOINS                       NC     90012664007
58256941772B49   DWIGHT        LANDRETH                    CO     33051949417
5825787245B283   FRED          ROGERS                      KY     90010488724
5825836565B239   RON           MANN                        KY     90010983656
582591A415758B   LINA          MARTINEZ                    NM     90013951041
58259355672B36   CAROLYN       VANEMAN                     CO     90008843556
58259AA792B27B   WANDA         FERRELL                     DC     81090800079
5825B43755758B   ERIKA         CARRILLO                    NM     90011494375
5825B996761965   MARIA         GONZALEZ CECENA             CA     90010239967
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 170 of 2350


58261A69276B75   ROSA              DIAZ                    CA     90012840692
5826211414B588   WAYNE             BRADBURY                OK     21551401141
5826293A372B36   ARTURO            SANCHEZ                 CO     90006629303
58262A36251574   DAVID             GRAY                    IA     90015360362
58262A3645B531   ELIA              PALACIOS                NM     35087150364
582631A415758B   LINA              MARTINEZ                NM     90013951041
5826349AA33699   PATRICK           BROWN                   NC     90012334900
58263625772B38   BERNICE           BLEA                    CO     33064776257
58263949572B43   RACHEL            JONES                   CO     90010429495
5826436528B164   KELLIE E          DURBIN                  UT     90011393652
5826452544B588   VALERIE           BRIDGEWATER             OK     21573385254
582649A8422442   KIERRA            BOSLEY                  IL     90014789084
58264A3A461965   DAWN              PAGE                    CA     90006100304
58264A4765715B   SERGIO            MARTINEZ                VA     81056630476
58264A8A261971   BRENT             VAN EPPS                CA     46054790802
5826539845B399   ROBERT            WALKER                  OR     90000123984
582659A474B588   CIRILO            MENDOZA                 OK     90013459047
5826671985B399   ERIC              OLEARY                  OR     90014467198
58266995372B36   MAKIALI           GUYTON                  CO     90009999953
58267165A4B588   CHRIS             ESKER                   OK     90011451650
582683A8A91895   SADIE             DILL                    OK     90003993080
58268441A5B239   MELINDA           CARTER                  KY     90010984410
5826865415B399   VENETIA           MATTHEW                 OR     44592556541
5826B16A65B387   CODY              SZABO                   OR     44577751606
5826B58627B397   KELEM             DAMA                    VA     81015485862
5826B862A2B27B   YAQUILIN          GUITERREZ               DC     90013018620
5826B97825B947   SCOTT             BREESNEE                ID     90001659782
5826BA38451348   DORIS ELIZABETH   MONTANO                 OH     90012530384
582711A4291856   AMANDA            EWING                   OK     90012731042
5827182645B239   BJ                PERRY                   KY     90015048264
58271882572B43   TERESA            CODNER                  CO     33081708825
58272163176B75   JOSH              BLACKBURN               CA     46015681631
5827225245B543   YVONNE            CHAVEZ                  NM     35050352524
58272821772B27   JESUS             PENATE                  CO     90009268217
58273446572B38   ISRAEL            CASTRO                  CO     33025014465
582741A755758B   SALINA            SALINAS                 NM     90013951075
5827447537B64B   DARREN            CLIATT                  GA     90013934753
5827615A85715B   GLENDA            FUENTES                 VA     90011411508
5827643A25B239   BETTY             CURTIS                  KY     90010884302
5827671255B399   ROBERT            FLORENCE                OR     44591037125
5827688275715B   GLENDA            FUENTES                 VA     81096658827
5827726635758B   JESUS             LEDEZMA                 NM     90010282663
58277462A91895   ANDREA            BROWN                   OK     90011354620
5827755675B543   BRENDA            HELMICK                 NM     35087075567
5827786382B922   EDUARDO           LOPEZ                   CA     90004358638
58278641A2B27B   VICTORIA          GASKINS                 DC     81005786410
58278AA5777568   THOMAS            GRAY                    NV     90000610057
5827933217B46B   MICHELLE          BENNETT                 NC     90014553321
5827967814B588   JOE               WILSON                  OK     21579126781
58279AA5777568   THOMAS            GRAY                    NV     90000610057
5827B238972B43   EVELIN            JORDAN                  CO     90006092389
5827B467272B36   THERESA           SOLANO                  CO     90014824672
5827B656433696   AGNES             NDABERE KANYE           NC     90006046564
5827B748972B38   HEATHER           SCHNOOR                 CO     90003777489
5827B788557541   MANUELA           VARELA                  NM     35528537885
5828156914B588   RANDELL           INGRAM                  OK     90015395691
582815A8472B27   KATRINA           GREEN                   CO     90013865084
5828173815B239   VICTOR            DUKE                    KY     90012147381
58282A76A4B588   JORGE             ALVAREZ                 OK     90007710760
5828329835B399   JAMES             ADKINS                  OR     90012312983
5828375317B46B   JAIRO             RAMIREZ                 NC     90013667531
58283A27572B88   GUILLERMO         GARCIA                  CO     33003000275
58283A43A77568   REGY              FISCHER                 NV     90000610430
582847A6961971   HART              STRUCK                  CA     90011317069
58286228472B36   CHALORA           BODY                    CO     33008002284
58286555924B43   JOSE              RIVERA                  DC     90014415559
5828717AA61965   JON               ELSERLING               CA     90014781700
58287224572B43   WILLIAM           MILLARD                 CO     33060692245
5828735A923171   TAD               SCHWARTZ                MI     90014503509
58287A88A61971   ANGEL             VELARDE                 CA     90011510880
5828871A233699   VERONICA          LANE                    NC     12009257102
58288933272B36   BELL              SHAWNA                  CO     90011499332
582892A425B239   SHAWNIEN          MOORE                   KY     68008132042
5828978815B543   ALBERT            MORALES                 NM     90009707881
5828B358333696   LAKEISHA          HOOKS                   NC     90011283583
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 171 of 2350


5828B767351348   KAREN        RUMSEY                       OH     90013217673
5828B875931428   SHARON       HARRINGTON                   MO     90010098759
58291197272B27   MANUEL       VALDEZ                       CO     90008151972
5829142155185B   ROQUE        HERNANDEZ                    NY     90011634215
582922A6A61965   MANUELA      ARCHILA                      CA     90015232060
582924A9333696   LATOYA       GILLIAM                      NC     90014194093
58292944772B43   HUMBERTO     ARROIOS                      CO     90012769447
58293152572B88   MARGARITA    GONZALEZ-MELENDRES           CO     33001001525
5829329745758B   JAMES        GARCIA                       NM     90013952974
5829336535B283   STEPHANIE    BOBZIEN                      KY     90003323653
582933A845B283   STEPHANIE    BOBZIEN                      KY     90012813084
5829387A172B36   LORENA       GUTIERREZ                    CO     90001178701
582942AA872B27   LISA         MULQUEEN                     CO     90004852008
5829432735B239   GUY          SIMPSON                      KY     90013803273
582943A2961949   BONNIE       WAINWRIGHT                   CA     90010633029
582944A1454152   LEEANNA      SHREVE                       OR     47061324014
5829476815714B   JULIET       KORLEY                       VA     81085387681
58294915472B36   JORDEN       GALLEGOS                     CO     90010069154
58294A4A157541   JESUS        BRIONES                      NM     90013420401
5829533265758B   ANDREW       CAFFEY                       NM     90013953326
58295695A5B239   SHAYLA       HAPPY                        KY     90013796950
582963A367B46B   ELMER        RODRIGUEZ                    NC     90013663036
58296A62272B27   JAMIE        ARELLANO                     CO     33078590622
58296A69533696   EDWARD       WILSON                       NC     90014650695
5829769395B239   JESSI        WILLIAMS                     KY     90010366939
58297756A5715B   JAMES        ODDOYIE                      VA     81000867560
5829854185B531   JACOB        BALLEJOS                     NM     35017695418
582985A145B239   VICKI        CURTIS                       KY     90002425014
58298612A51348   LISA         MULLINS                      OH     66049206120
58298A32472B24   SADRA        LIMAS                        CO     33040940324
5829916385B399   CINDY        RUTHERFORD                   OR     90015121638
58299484A61965   HERIBETO     QUQUEZ                       CA     90013074840
5829B367533696   FALAN        BRAXTON                      NC     90011913675
5829B946631428   MICHAEL      SPRAGGIAS                    MO     90010519466
582B1229757541   TAMMIE       BUNKER                       NM     90007742297
582B152384B521   STEPHEN      FLEMING                      OK     21577945238
582B216988B169   ANGELA       RAMOS                        UT     90006291698
582B241897B356   ARCANGEL     HERNANDEZ                    VA     90009604189
582B2521672B49   MARY         SALAZAR                      CO     90012885216
582B2773572B36   SHELLY       MADDOX                       CO     90010197735
582B2843561965   JOSE         MORELOS                      CA     46093118435
582B3548657541   JOHN         HALMAYR                      NM     35567875486
582B376724B29B   CHAD         PHILLIPS                     NE     27024027672
582B398337B359   SHANNON      MILLS                        VA     90008399833
582B4443833699   WENDY        LIBORIO                      NC     90011484438
582B44A555B239   BRANDY       MAY                          KY     90005764055
582B4826161965   MARTIN       OCHOA                        CA     46041808261
582B5422572B27   ALFREDO      MOJICA                       CO     33038424225
582B5545991895   AMANDA       SILVA                        OK     90013925459
582B5771172B88   ERIN         TURNER                       CO     33083487711
582B5914561971   OLIVER       HERNANDEZ                    CA     90010839145
582B5923361971   MIGUEL       AMEZOLA                      CA     90014239233
582B5A34233696   SARAH        SANCHEZ                      NC     90013970342
582B61AA861971   JESSICA      VILLANUEVA                   CA     46079431008
582B6277791895   KIM          BATEMAN                      OK     90011672777
582B6476357541   ELIZABETH    BACA                         NM     90014154763
582B729995758B   ROSENDA      PEREZ                        NM     35517342999
582B778715B531   JOHAN        VAZQUEZ                      NM     35046857871
582B843754B588   TELISA       MCKENZIE                     OK     90014244375
582B9368157541   FRANCISCO    FLORES                       NM     90009993681
582B943645B399   LACEY        MONTGONTMERY                 OR     44560754364
582B9692861971   DAVAN        CHANPRASEUTH                 CA     90011866928
582B995965B239   KAELIN       LAWSON                       KY     90003219596
582BB16795B399   LUIS         RODRIGUEZ                    OR     90004101679
582BB287A72B43   JENNIFER     DOMINGUEZ                    CO     90014842870
582BB438361965   DIANA        WILEY                        CA     90006114383
582BB53275B283   MARTIN       GUZMAN                       KY     90011725327
582BB622757541   PHILIP       ACUNA                        NM     90010486227
58311626572B43   ANTHONY      COLAVOLPE                    CO     90007816265
58311A99733696   TREVAR       ROGERS                       NC     90013640997
5831231875B222   JUAN         GUTIEREZ                     KY     90010783187
58312484876B75   ISABEL       CARRILLO                     CA     90013244848
5831274545B531   DOLORES      ALARCON                      NM     90014317454
5831297AA72B24   DIEGO        VENZOR                       CO     33002159700
583131A5957541   BILLEY       OTERO                        NM     90008091059
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 172 of 2350


5831325175758B   LUCERO       LAWRENCE                     NM     90006872517
58315237572B36   JESUS        DE LUNA- ESPINO              CO     90013632375
58315358772B49   DAVID        CLARKSON                     CO     90014993587
5831599895B283   LACEY        MAINS                        KY     90009279989
5831627927B46B   ILYCIA       FEREBEE                      NC     90015082792
5831677727B46B   GUILLERMO    MARA                         NC     90012887772
5831715A551322   BARBARA      WOODS                        OH     90004001505
5831775987B46B   WILMER       GONZALES                     NC     90006037598
583185A5A76B75   JESSICA      VALENCIA                     CA     90010845050
5831867A476B75   AMY JANETH   HERNANDEZ                    CA     90014256704
5831931195B239   STLVIA       SMITH                        KY     90002793119
58319335A33696   ERICA        GREEN                        NC     90007673350
5831B344472B27   SAMUEL       GONZALES                     CO     90012833444
5831B4A9572B49   ROSA         FLORES                       CO     90011604095
5831B677351383   MIA          MANALILI                     OH     66015246773
5831B863A44B85   TATIANA      COLEMEN                      OH     90014778630
58321346172B27   CYNTHIA      HOFFMAN                      CO     33050603461
58321415324B43   RHONDA       LANE                         DC     90003354153
583214A377B865   ALFREDO      HERNANDEZ                    IL     90014554037
5832176354B588   CHERRI       DECKER                       OK     90013357635
5832244A372B27   CHRISTIANA   BUTLER                       CO     90010484403
5832294375B236   JAMIE        PARKER                       KY     68019969437
58323363372B43   MARCO        MARTINEZ                     CO     90009743633
58323558A5B399   MICHELLE     LYONS                        OR     90014545580
5832427944B588   MARTHA       ARRENDONDO                   OK     90014702794
5832471755B387   DAWN         GARVIN                       OR     90010667175
5832499665758B   MARICELA     RICO                         NM     90010539966
583254A1A5B283   DORIS        DILLON                       KY     68068084010
5832556A172B38   JOSLYN       MARTINEZ                     CO     33027595601
58326912372B43   JUAN         PACHECO                      CO     33010609123
5832867835715B   ERIKA        LOPEZ                        VA     90005596783
5832872A172B38   ROSITA       SANDOVAL                     CO     33091247201
5832883614B588   ROMAN        REYCCS                       OK     21552628361
5832918919373B   ROGER        LEWIS JR                     OH     90008161891
58329729472B38   KELSEY       WOMACK                       CO     33017577294
583299A8851323   TRESSA       SHERROD                      OH     90012509088
58329A11551383   KETURAH      KIRK                         OH     90004240115
5832B3A4172B36   MATILDE      VAZQUEZ                      CO     33064693041
5832B412957541   JOE          ROCHA                        NM     90014204129
5832B547361971   LEANA        DARIELLE                     CA     90014825473
5832B86195B387   JOSEPH       CAMPBELL                     OR     90005548619
5832BA22572B38   JUAN         STORENA                      CO     90007020225
58331172372B38   EPIMENIO     ZAPATA                       CO     90011651723
583313A555B239   CHERYL       CRAWFORD                     KY     90009033055
5833167845B271   THOMAS       CARSTENS                     KY     90005306784
58331762472B88   JUAN         TINOCO                       CO     33093157624
583317A7251383   CHERYL       RAINEY                       OH     66022837072
5833198785B399   JOSH         BODKIN                       OR     90014669878
5833227A651348   MICHAEL      RYAN                         OH     90013602706
5833259925B283   ULLOA        PADILLA                      KY     90003365992
583327A7A5758B   LEANN        MARTINEZ                     NM     90013437070
58334A8595B399   MATHEW       POST                         OR     90014880859
5833513A45758B   PERLA        RASCON                       NM     90014801304
58335142772B36   JULIO        LOYA                         CO     33043351427
58335145A72B27   JESUS        APODADCA                     CO     90013391450
58335799672B27   RODNEY       SIMPSON                      CO     90010937996
583358A4372B38   SHERA        HILDENBRAND                  CO     90006138043
5833629A472B36   MARIA        JARA                         CO     33005562904
583369A447B46B   TYRONE       SINGLETARY                   NC     90001819044
5833737A272B24   ASHLEY       SANCHEZ                      CO     90006953702
58337432972B38   SARAHY       HERNANDEZ                    CO     33073944329
58337464A72B36   TIM          DEAN                         CO     90009594640
5833818885B239   BERRY        SHAWN                        KY     90009071888
583384A492B27B   ANGELINA     BACHILLER                    DC     81033354049
5833926A98B12B   MICHELLE     PALMER                       UT     90007822609
58339548A72B27   TRACY        DANIELS                      CO     33050275480
5833969245B387   MARCOS       BAUITISTA                    OR     44582616924
5833969915B399   CHELSEY      HALSTAD                      OR     44549846991
5833B28387B46B   DANA         WALLACE                      NC     90002132838
5834115255B279   MICHELLE     WILLIAMS                     KY     90009091525
58341735A5B543   CORINA       ORTIZ                        NM     90005487350
5834186195B387   JOSEPH       CAMPBELL                     OR     90005548619
58341A6714B521   KERI         ETHERIDGE                    OK     21508790671
58341A94172B38   TAYLOR       PAULSON                      CO     90015190941
5834362575B531   ADRIANA      CARRANZA                     NM     90012906257
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 173 of 2350


58343A63861971   AMANDA            CREED                   CA     46029030638
5834427375B239   LINDSEY           CLEM                    KY     90009422737
5834428972B27B   MIRIAM            BENITEZ-MOLINA          DC     90006202897
583443A1977568   ANTHONY           YOUNG                   NV     90003813019
5834441365758B   ANA               GALLEGES                NM     35532224136
58344692172B27   KHIANA            LEWIS                   CO     33071126921
58345774472B43   ATHENA            CHAMBERLIN              CO     33085307744
5834596655B283   JASMINE           MURPHY                  KY     90010489665
583459A6943569   TRUITT            RUSSELL                 UT     31018889069
58346243772B43   TABITHA           COOK                    CO     90015172437
58346A18461965   YESENIA           SALAS                   CA     90000620184
58347267672B27   CATALINA          GUTIERREZ               CO     33042922676
583472A5372B49   VIRGINIA          GONZALES                CO     33073822053
58347323776B75   DELIS             HERNANDEZ               CA     90003653237
58347479A2B27B   BENETHEA          WOODSON                 DC     90001214790
58348535A5B239   BETTY             BROWN                   KY     68067915350
5834854294B588   DORA              PUCKETT                 OK     90013195429
58349562476B75   EDUARDO           LOPEZ                   CA     46035355624
5834966334B28B   JAMES             HARDING                 NE     90012596633
58349A4A461971   CARMEN KARSHIMA   MAYNE                   CA     90015310404
5834B3A8833699   JOVON             UPSON                   NC     90001243088
5834B989172B43   DANIELA           SALAIS                  CO     90008659891
583514A2131436   GLORIA            COLE-THOMAS             MO     27593074021
583517A2961971   CHASTITY          ROSSI                   CA     90015127029
5835222114B588   ASHLEIGH          SMEDLEY                 OK     90012262211
58353232372B27   PEDRO             OROSCO                  CO     90014142323
58353574A61971   OSHIA             ORAHA                   CA     90012825740
58353694872B43   CARMEN            MARTINEZ                CO     33049236948
5835373392B27B   DARREN            SUMMERS                 DC     90010387339
58353A12376B75   NORMA             PALENCIA                CA     90013350123
58354369624B43   VERONICA          MARTINEZ                DC     90008373696
5835453463B387   ARACELI           MENDEZ                  CO     39013075346
58354714A5715B   OSMARI            SALMERON                VA     90005597140
5835473965B239   CAROLYN           MCCLURE                 KY     90014977396
58354A14A5B271   JESSICA           WORKMAN                 KY     68040150140
58355941572B36   ISABEL            MENJIVAL                CO     90009679415
58356962A33699   CHRIS             SMITH                   NC     90005259620
5835711A572B38   MARCO             ESPINO                  CO     90012911105
583575A1572B43   MARVIN            LOPEZ-SANABRIA          CO     90013045015
5835794AA5B399   JASMINE           STANDIFER               OR     90013089400
58358255497B21   TAD               BUONAMICI               CO     90014602554
5835881745B531   JENNIFER          SOLIS                   NM     35012988174
5835B253A61971   RENE              ANGULO                  CA     46000682530
5835B551261965   MICHAEL           HERRERA                 CA     90010165512
5835B866772B24   DOMINGO           MORENO                  CO     90006968667
5835B942472B36   JORGE             GARCIA                  CO     90009679424
583613A9233699   RAMIRO            JIMENEZ SOSA            NC     90003033092
5836145592B27B   SHANNON           JOHSNSON                DC     90007804559
5836238835B283   PHILLIP           THOMPSON                KY     90006883883
583624A915B239   JENNY             SLONE                   KY     90010464091
58362761172B38   ROCIO             DESANTIAGO              CO     90013097611
5836334865B543   MAYRA             RUIZ                    NM     90002303486
5836412A933699   LATOYA            GATEWOOD                NC     90004101209
58364534372B49   LAURA             GALLARDO                CO     90011005343
58364819724B43   TEKELA            THOMPSON                MD     90001728197
5836529214B28B   AMBER             COLLIERS                NE     26047122921
5836548985758B   MONICA            COOPER                  NM     90013954898
58365A6595758B   MAURICIO          ESTRADA                 NM     90011350659
5836648985758B   MONICA            COOPER                  NM     90013954898
58366493A72B36   JENIFER           CAMPUSANO               CO     90007274930
5836673955B531   PANCHO            VALLES                  NM     35046517395
5836691515758B   JOEL              NAVARRO                 NM     90014879151
5836698A991988   ISMAEL            BALLESTEROS             NC     90011289809
58367266A91895   SUSAN             KIMSEY                  OK     90013452660
58367926176B75   ALEJANDRO         MARCELO                 CA     46023869261
5836816767B46B   BRITTANY          PATRICK                 NC     90012461676
5836952335B399   DESTENY           BELLER                  OR     90014215233
58369558672B36   KAREN             PATTYN                  CO     90006415586
583698AA54B553   EMILY             HARTWELL                OK     90011278005
5836B864257541   AQUINO            WALLACE                 NM     90010248642
5837219484B588   SHELEWA           MALONE                  OK     90011461948
583724A2872B43   LYNN              WILLIAMS                CO     33043594028
58372793672B49   JOHN              BAYNE III               CO     90012597936
583732A5831477   KATIE             SCEGO                   MO     90008172058
5837368782B934   REFUGIO           LLAMAS                  CA     90005506878
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 174 of 2350


58374778972B49   LUCILLE             MADRIGAL              CO     90010347789
58375177272B36   PATRICIA            MORENO                CO     90009921772
58375514272B49   ALICIA              CARDONA               CO     90010725142
583762A4933696   COURTNEY            SAMUELS               NC     90001302049
58377513672B88   NOE                 GUEVARA               CO     90009615136
5837763884B521   ROCKY               WILLIAMS              OK     21511366388
58377741276B75   R                   SHAKESPEARE           CA     90010437412
58377989576B75   MARY                HIGHLAND              CA     90014569895
58377A5713B343   LARRY               WHITING               CO     33093420571
58377A6295B52B   VERONICA G          LANDINO               NM     35046480629
5837872127B46B   SEMADAR             CITALAN               NC     90013227212
5837889895715B   TIMOTHY             NEWMAN                VA     81051318989
58379645A33699   DARIEN              WILLIAMSON            NC     90011346450
5837971845715B   JOSE OSCAR          COLINDRES             VA     90005597184
5837972495B239   CHAMARI             HAVARD                KY     68010607249
583798A5372B43   BAILEY              BALMUS                CO     90014198053
58379931872B49   VANESSA             RUVALCABA             CO     33078339318
5837B361576B75   ALFREDO             CHAVEZ                CA     46002373615
5837B42AA31428   LAWONDA             HENDERSON             MO     90010864200
5837B4A4972B43   TRAYCE              TITTERINGTON          CO     33093724049
5837B53A457541   HANDON              GRAYSON               NM     90001225304
5837B6AA32B27B   STEVEN              GRAHAM                DC     90002786003
5837B9A6372B36   PAOLA               AYALA                 CO     90004929063
5837BA97233696   FLETA               STARNES               NC     90012180972
58381537172B38   ANDREW              DUKE                  CO     33056395371
5838164715758B   JABIN               APODACA               NM     35525866471
5838192A25B531   DAX                 CUMBIE                NM     35052349202
5838214977B694   GRACE               BARNES                GA     90015341497
5838225A533699   ALEXANDER ANTONIO   ARCE SANTOS           NC     90015232505
58382769272B43   ANGELA              CRUZ                  CO     90014137692
58382844A76B75   ALBERTO             MENDEZ                CA     46044918440
5838316484B588   MARK                HARDIN                OK     90011251648
5838353712B27B   JOSE                CASTILLO              DC     90013985371
58383674676B75   DAVID               VORIC                 CA     90009546746
58383868672B43   KRISTIN             NARLOCK               CO     90011138686
5838445AA5B387   RACHEL              MARSDEN               OR     90003624500
58384533A7B46B   ZOILA               FUENTES               NC     90006985330
58385254772B38   SHAWNA              DOSS                  CO     33029322547
5838598265B387   PABLO               PRADO                 OR     90008089826
5838634172B27B   LYNNE               BATTLE                DC     81017043417
5838647835B399   TIFFANY             DEWEESE               OR     44571584783
58387344472B27   SAMUEL              GONZALES              CO     90012833444
5838734955758B   DAVID               MARQUEZ               NM     90010543495
5838744A172B43   JOHN                ALLRED                CO     90014684401
5838839912B27B   HARIS               HARTONO               DC     81034643991
58388554A7B46B   KURTIS              MONSON                NC     90013295540
5838865384B28B   CORINTHIA           FISHER                NE     26057986538
583886A2961971   WILLIAM             SANDERS               CA     90015396029
58389679A72B38   JOSE                PAVON                 CO     90011796790
58389697372B27   CAMERON             SMITH                 CO     90013026973
5838974A15B583   ADELE               CHAVEZ                NM     90015377401
58389924476B75   ANGELIKA            HERNANDEZ             CA     46012659244
583899A935B239   BRANDY              SIMON                 KY     90014989093
58389A2A251348   DAPHNE              CAMERON               OH     90009830202
5838B129481265   JOIE                LEWIS                 OH     90007761294
5838B1A1272B27   MERY                SANTACRUZ             CO     33004901012
5838B723351383   RUTH                YOUNG                 OH     66038277233
5838B997672B36   MATTHEW             AAGAARD               CO     33069659976
58391643572B38   ADRIANA             RAMIREZ               CO     90002086435
583916A6191534   KAREN               PALACIOS              TX     75074366061
58393181772B38   CRYSTAL LEE         LICON                 CO     90011651817
5839437143B352   LINDA               ARCHULETA             CO     90005273714
5839442A57B46B   GEORGE              MATHIS                NC     90013124205
58394736A7192B   TESSA               CAREY                 CO     90013067360
5839473945B583   CARMELITA           LOZANO                NM     90014607394
58394943876B75   MIGUEL              SILVAS                CA     90014689438
5839517765B239   REBECCA             ALLEN                 KY     90014621776
5839569395B271   JAMES               STEPHENS              KY     90002466939
5839581775758B   ELIONAI             MORAN                 NM     90012548177
5839593744B521   SHAUN               MCBATH                OK     21500299374
583961A1951348   SHARON              BROWN                 OH     90011831019
58396453A5B399   RIGOBERTO           GARCIA                OR     90015134530
58397261572B49   JOSE                ESMUNDO VIVEROS       CO     33094532615
58397514357B81   TONI                THOMAS                PA     90012535143
58397538872B38   LUCY                MENDEZ                CO     33096555388
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 175 of 2350


58397712272B88   BOBBIE            MASSEY                  CO     33038877122
5839835535B399   KYLE              RUML                    OR     90012073553
5839846336198B   KAITYLN           TORRES                  CA     90011394633
5839922674B588   MERARY            LOPEZ                   OK     90011252267
5839994962B27B   JUANITA           BROWN                   DC     90010529496
5839B538157541   JACKALYN          HALMAYR                 NM     35584175381
5839B63785B399   RYAN              GRAY                    OR     44524846378
5839B979672B49   DENNIS            NORRIS                  CO     90009399796
583B1222961965   JOANNA MICHELLE   ROMERO                  CA     90014912229
583B2618A5B399   MONIKA            HUBBARD                 OR     90013906180
583B2794272B36   DEBRA             EVANS                   CO     90013967942
583B2957872B43   BARBARA           FRIEND                  CO     90013249578
583B2A2A15B543   JOSE              LOYA                    NM     90010310201
583B454922B27B   GABRIEL           THOMAS                  DC     90000535492
583B499549712B   KEATON            STEPHENS                OR     90012639954
583B4AA2572B38   PHILLIP           GOLD                    CO     90010020025
583B5429154152   ANGELA            DIAZ                    OR     90013154291
583B5699272B33   RHYNA             YAGER                   CO     33047916992
583B574155B283   LAWRENCE          MCKINLEY                KY     90011727415
583B5792A5B399   LESTER            GUARDADO                OR     90012177920
583B6A68231428   JNAI              THREADGILL              MO     27593060682
583B747964B588   SALEEA            SHOCKLEY                OK     90013484796
583B791865B239   ROBERT            LEWIS                   KY     90013889186
583B8811A5B531   GERSON            GALDAMEZ                NM     90011968110
583B8929233696   THINH             SIU                     NC     90012519292
583B918994B29B   FRED              PEDERSEN                NE     27054251899
583B9A4827B46B   IRENE             AKINYL                  NC     11030310482
583BB286131429   ALFRED            RANDALL                 MO     27557802861
583BB744372B38   OSCAR             NUNEZ                   CO     90002877443
583BB796751348   SHARON            FIELDS                  OH     90009037967
583BB98614B521   SAMANTHA          ZAMARRON                OK     90000289861
58412278876B75   MERCED            FLORES                  CA     90003302788
5841243A876B75   MARCOS            RECIO                   CA     90013684308
584132A6A72B49   JIMMY             MARTINES                CO     90011602060
5841347768B188   PETER             JOHNSON                 UT     90003754776
5841395153B352   HUMBERTO          TORREZ-CALLETANO        CO     90012829515
5841425395B531   DEANDA            BERNADETTE              NM     90012142539
5841439975B597   ENRIQUE           CHAVEZ                  NM     90007533997
5841441245B399   PATRICK           NEWBERRY                OR     90010954124
58414457972B38   PAVEL             NAUMENKOV               CO     90009814579
5841465145B236   GLENN             ORR                     KY     90000516514
5841482255B154   MARKIE            HUNT                    AR     90007048225
58414865372B38   SONIA             HAKANSON                CO     90013968653
5841639195715B   ANGEL             PINEDA                  VA     90002373919
58416887A5758B   RACHEL            HERRERA                 NM     90013968870
5841694485B239   KIERRA            LOVELY                  KY     90015029448
58416A5A972B43   RAFAELA           MELANDEZ                CO     90004850509
5841743394B521   ANGELA            MILLER                  OK     21579454339
58417489A33696   TIMOTHY           DAVIS                   NC     12091944890
58417991272B49   BILLY             TOOMBS                  CO     33024869912
58418A76672B27   ALI               ABDULLANI               CO     90014120766
5841943394B521   ANGELA            MILLER                  OK     21579454339
58419458172B27   NATASHIA          BALL                    CO     90012424581
5841952695B399   AMANDA            FRENCH                  OR     90010315269
58419876697B51   PHIL              BERNAL                  CO     90012438766
5841B27A35758B   MIGUEL            RINCON                  NM     35576012703
5841B396451348   FRANK             ONDROVICH               OH     90014483964
5842139614B521   FISHER            KEVIN                   OK     21580033961
584219A945B239   SHERRI            MULLINS                 KY     90014369094
58422647272B36   TANISHA           THOMAS                  CO     90013486472
5842313A772B38   SHELBY            SCHALLMO                CO     90009311307
5842393852B27B   DELENCIA          BYRD                    DC     90013969385
58423A1885B531   FREDDIE           GARDUNO                 NM     90014440188
5842511835B399   JUSTIN            GIBSON                  OR     90015151183
5842521282B922   IRMA              CARDENAS-CHAVEZ         CA     90012782128
58425393972B43   JOSE              ZAPATA RODRIGUEZ        CO     90012653939
5842655A74B588   VANESS            CHAVEZ                  OK     21550015507
58427A3A461965   DAWN              PAGE                    CA     90006100304
58428353672B43   MICHELLE          LOVATO                  CO     90009333536
5842899354B29B   CARLOS            HURTADO                 NE     90004629935
5842944525B236   BOBBY             SALTKILL                KY     68040314452
58429746172B38   ANTHONY           REDDING                 CO     90008457461
5842B228987B49   CRYSTAL           TAYLOR                  AR     90015532289
5842B377A57541   AMBER             CADENA                  NM     90012473770
5842B39164B588   PATRICIA          KELLY                   OK     90015073916
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 176 of 2350


5842B9A765758B   MALORIE           LOPEZ                   NM     90013969076
5843156557B46B   YAHAIRA           MENDEZ                  NC     90011915655
5843193A751348   CM                FEATHERSTONE            OH     66029989307
58431987772B43   JOSH              GARCIA                  CO     90003549877
58431A82184342   QIARA             WHEELER                 SC     90003800821
58432136172B38   BRADLEY           JENSEN                  CO     33097151361
584326AA35B543   JOEL              ARELLANO                NM     35035326003
5843335664B588   DAWNISHIA         DAVIS                   OK     90014713566
58434331372B27   KIANA             YOKUM                   CO     90002623313
5843489615B543   KAYLA             DIXON                   NM     35031118961
58434A5AA51348   MICKI             MINCEY                  OH     90007350500
58435172572B27   STEVE             BACINO                  CO     33021331725
5843564A851383   EDGARDO           ERNANDEZ                OH     66087076408
584356AA72B27B   RUBY              THOMAS                  DC     90013886007
5843687A72B27B   PATRICK           SANZI                   VA     90013778707
584371A857B46B   ANTOINE           WILSON                  NC     90013931085
5843776A161965   ARNOLD            WHITE                   CA     90014677601
58437917A72B43   ASHLEY            MARTINEZ                CO     90012959170
58437A3A833696   ELINOR            SMITH                   NC     90012520308
5843823A291895   GABRIELA          PALACIOS                OK     90010592302
5843834695B236   MARIO             RODRIGUEZ               KY     68082233469
5843843514B588   SHARONDA          WEST                    OK     90011254351
584394A8224B43   DERRICK           LUKE                    DC     90012164082
5843969A38164B   NICOLE            KLASSEN                 KS     90013026903
58439948772B43   ART               HERNANDEZ               CO     90012769487
58439A3A833696   ELINOR            SMITH                   NC     90012520308
5843B16A25B399   SHARON            HELLER                  OR     90008821602
5843B363891895   LATRICE           AVINGTON                OK     21091153638
5843B42877B46B   AGUSTIN           HERNANDEZ               NC     11019564287
5843B463557541   KYLE              O'DELL                  NM     90010984635
5843B4A2777568   CLAUDIA           SAN JUAN ALZAGA         NV     43017104027
5843B54493B388   ALAN              HUDSON                  CO     90000915449
5843BA1795758B   VERONICA          GARDNER                 NM     90013970179
5844155185B543   ARTURO            FLOREZ-LOPEZ            NM     35099225518
584418A2472B27   CALEB             GOESSENS                CO     90012498024
584422A747B46B   SOFIA             PEREZ SANTIAGO          NC     90011002074
58443131172B36   EDUARDO           CHIHUAHUA               CO     90013321311
58443331A3B39B   TONY RAY          THOMPSON                CO     90005193310
58443A6958436B   NEISHA            JENKINS                 SC     90014010695
5844431449712B   KRYSTALL          CRUZ                    OR     90008893144
58444779172B43   JESUS             GARCIA                  CO     33004657791
58445932872B38   MERCEDES          CARDENAS                CO     90011059328
5844613A691895   LESLIE            TAYLOR                  OK     90012261306
5844739755B283   NATASHA R         BROOKS                  KY     90011743975
58447663876B75   CELESTINO         FLORES                  CA     90010996638
5844766565758B   JACQULYN          VILLEGAS                NM     35584416656
5844772974B588   BRETT             BRINKMAN                OK     21558487297
5844824565758B   JUSTIN            HOLMES                  NM     90014202456
5844827A372B43   AMAIRANI          MEDINA                  CO     90010422703
5844886A65B543   ANITA             WILLIAMS                NM     90000138606
58449196276B75   DANIA             OREGON                  CA     90014751962
5844B117172B43   APRIL             CUNNINGHAM              CO     33026881171
58451227A5715B   CHULTA            TAMIRAT                 VA     81013132270
58451977272B38   RAY               FURMAN                  CO     90014729772
58453239A4B28B   JILL              DOEDEN                  NE     90011202390
58453265A31428   MIGUEL            DUENAS                  MO     90006892650
58453275572B38   MARICELA          DIAZ                    CO     90013422755
58453989472B49   DARRELL           WALKER                  CO     90012109894
5845436564B588   GERARDO           MARTINEZ                OK     90014803656
5845458255B239   FRANCELENE        JEANTY                  KY     90008605825
58454A74861971   SEAN              MCCREA                  CA     90013070748
58454AA295B543   VALDEZ            VICTORIAMARTINA         NM     90005490029
58455A94872B49   NICHOLE           HERERRA                 CO     90011110948
5845696445758B   MICHAEL           RIGOR                   NM     90014889644
5845738814B588   GENA              LUJAN                   OK     21565633881
5845779325B387   MICHAEL           MC MILLAN               OR     90013007932
5845783435B387   JEFFERY MICHAEL   MCMILLAN                OR     90012568343
58457A24872B49   ALFREDO           MOLINA RAMOS            CO     90013720248
58458414272B36   ELIZABETH         MORTENSEN               CO     33086904142
58458623172B27   HUGO              ESQUEDA                 CO     90004386231
5845926A161965   MELISSA           MIRAMONTES              CA     90013672601
58459762A91895   SHERNIQUA         HERNDON                 OK     90014727620
5845BA81176B75   RUFINA            GASPAR                  CA     90010960811
5846157534B588   RICHETTA          THOMPSON                OK     90011255753
584617AA933699   COREY             DESHAZO                 NC     90006687009
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 177 of 2350


5846181165B531   AYDEE         LUJAN                       NM     90011968116
58462423172B49   PAUL          VIGIL                       CO     33042894231
58462528572B38   SHARON        MEEK                        CO     33094375285
58462739A76B75   ESTRELLA      MIRANDA                     CA     90011817390
5846278425B239   NICKI         WHITE                       KY     90000277842
58464776276B75   LETICIA       MARTINEZ                    CA     90006697762
58465117676B75   JUNIOR        ALONZO                      CA     90010961176
58465735572B36   JOANN         REISH                       CO     33065467355
58465769A58528   ALFONSO       SANCHEZ                     NY     90015567690
58465855272B43   DEBRA         EVANS                       CO     90010968552
5846681A72B27B   KYEONSHAE     RICHARDSON                  DC     90013288107
58466A5665B249   DAVONNA       SUTHERLAND                  KY     90014870566
584679AA972B24   MARISELA      TREVIZO                     CO     90006989009
58468117172B36   TORI          THORESON                    CO     33003711171
5846817A82B27B   CONNIE        FLEMMINGS                   DC     90010551708
58468819272B88   CANACE        PARKER                      CO     90002918192
58468987672B38   MCGREW        GLENDA                      CO     33070929876
58468A48591895   JAVIER        LOZONO                      OK     90012130485
58469117676B75   JUNIOR        ALONZO                      CA     90010961176
5846B78132B27B   CHE CHERISE   MERRITT                     DC     90008547813
5846B826733696   MICHEAL       SHARPE                      NC     90010498267
5847113A23B352   VANESSA       UGALDE                      CO     90010491302
5847117835B531   SARAYA        CASTILLO                    NM     90011321783
584713A4357541   MABLE         DELGADO                     NM     90003043043
58471A2A85B399   LESTER        SCHAEFER                    OR     90010780208
58472234376B75   ALEX          RODRIGUEZ                   CA     90012952343
5847312424B579   DALE          ROBINSON                    OK     90012061242
5847358685B283   MELODIE       WHITE                       KY     68024595868
58473631372B38   JOSHUA        ELDERT                      CO     90003146313
5847375749712B   AMY           BELL                        OR     90009107574
5847413275758B   LISA          FLORES VENEGAS              NM     35551261327
58474158A51383   NORA          ARNOLD                      OH     90004241580
58474A14A72B36   ERNESTO       SANCHEZ                     CO     90007400140
5847551215B531   GLORIA        LEMASTER                    NM     35045285121
5847584A25715B   JOSE ANGEL    AREVALO                     VA     90000198402
5847684995B239   JENNIFER      SMITH                       KY     90014888499
5847718475B399   JANET         LARA                        OR     44571431847
584775A6372B49   JULIE         SMITH                       CO     90001715063
5847768A261939   EDITH         REY                         CA     90009726802
584779A5361965   KRISTYN       PENA                        CA     46050589053
58478416A31428   REGINA        LEHR                        MO     90002904160
58478A89261975   ROBERTO       RODRIGUEZ                   CA     90008470892
584792AA84B588   JACQUELYN     TAYLOR                      OK     90012002008
5847932247B46B   JACQUELINE    WREH                        NC     90008583224
5847981A172B38   EDWIN         FLORES                      CO     33029508101
5847B512657126   RISTU         LAKEW                       VA     90000175126
584812A895B283   JIM           MCCUBBINS                   KY     90011732089
5848135714B588   JENNIFER      ROLLANS                     OK     90012873571
5848387865B531   MARY          ARCHULETA                   NM     90015018786
584838A1A5B543   MONICA        MARTINEZ                    NM     35024808010
58483A15272B27   NADINE        GARCIA                      CO     90006950152
58484414972B38   DANA          WILKINS                     CO     33079204149
5848479A37B46B   LAKISHA       FUNDERBURK                  NC     90014747903
58484929272B38   ISAAK         ODEROV                      CO     33094239292
5848521A877568   JOSE          CARBAJAL                    NV     90001272108
584854A725B236   BRADLEY       HETTICH                     KY     90006404072
58485A11572B43   AHMAD         MOHAMUD                     CO     90014120115
58486574A61965   GUADALUPE     MARTINEZ                    CA     90010015740
58487368A72B27   PATRICIA      MARTINEZ                    CO     90003373680
584873A395B283   DAVID         MATTHIS                     KY     90005613039
58487996A5B239   TANDEN        LATIN                       KY     90014199960
5848823658B173   RON           JASPER                      UT     90008862365
5848841A491895   JAYMI         BARROWS                     OK     90010594104
58488AA426232B   CHANNELLE     BREED-TORRES                AZ     90014020042
58489517976B75   FRANCICO      VELASCO                     CA     90015345179
5848961452B241   JAIME         SANCHEZ                     DC     81001286145
58489A66572B27   DESIREE       TAFOYA                      CO     33085880665
5848B366257541   IRENE         HARRIS                      NM     35592233662
5848B499A33696   LILLIETH      MOBLEY                      NC     90014734990
5848B766472B36   IRAN          MEZA                        CO     33077447664
5848BA74461965   MARIA         HERNANDEZ                   CA     90015090744
58492133A57541   PAYGO         IVR ACTIVATION              NM     90014281330
584922AA25715B   BLANCA        CHAVEZ                      VA     81077432002
5849257A472B36   CHRISTINA     BROWN                       CO     90010945704
5849264614B29B   NICOLE        NYBERG                      NE     27023596461
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 178 of 2350


5849321A272B24   DANIELLE              CALL                CO     90000602102
5849372135B387   KATHERINE             KELLOGG             OR     90009497213
58493741A24B43   LAKISHA               BRANDON             DC     90014767410
58494188172B49   CAREY                 ALMON               CO     90007571881
58494613576B58   BERT                  MOORE               CA     90007286135
58496285372B49   JESSICA               GRANADOS            CO     90001562853
58496737172B36   CHRISTINA             MYERS               CO     90012897371
5849695834B588   KENNETH               CAMPBELL            OK     90013039583
58497144672B49   LUZ                   SALCIDO             CO     33054711446
5849755A35B239   AMY                   SMITH               KY     90006215503
584977A362B29B   CHARMAINE             GARRETT             DC     90008047036
58497A1A966156   ERIC                  BAILEY              CA     90014080109
58498897276B75   JOSE                  DOMINGUEZ           CA     90008778972
584988A795B531   ERNESTINA             SEGURA              NM     90013908079
58499496772B27   JUAN                  AGUAYO              CO     33050574967
5849B287972B38   KHOEUN                NGETH               CO     90004382879
5849B345361965   REBECCA               LAUNIU              CA     90007903453
5849B41A65758B   JENNIFER              ENRIQUEZ            NM     90014804106
5849B8A4472B49   MARIA DEL ROCIO       CASAS-HERNANDEZ     CO     90010638044
5849B9A115B239   JENIFER               PEREZ               KY     90015179011
584B11A797B46B   GUSTAVO               BARRIGA             NC     90014601079
584B127345B239   LIONEL                MCGRAPTH            KY     90013212734
584B19A7A4B588   JASON                 PRICE               OK     90010279070
584B253117B46B   PRISCILLA             FISHER              NC     90011125311
584B289135B543   TERESA                GARCIA              NM     35072628913
584B291915758B   LINDA                 CASTILLO            NM     90010279191
584B316925B35B   JUANA                 CORTES LOPEZ        OR     90011061692
584B335414B28B   ANGEL                 MENDOZA             NE     26049193541
584B358885B387   JESSE                 POPPENHAGEN         OR     90000835888
584B387A177531   EDUARDO               GARCIA VILLANUEVA   NV     90009108701
584B3951672B38   LD                    FORD                CO     90014549516
584B4136376B75   LUCIA                 CABALLERO           CA     46075851363
584B451265758B   EUNICE                LARA                NM     90010545126
584B4897A72B38   MAX                   QUINTANA            CO     33089098970
584B4925872B27   CHRISTOPHE            LOETSCHER           CO     33091549258
584B5848557541   MICHAEL               BIGMONTH            NM     90012798485
584B5A44191869   JENNIFER              LEE                 OK     21029770441
584B61A334B588   DOUGLAS               KELLEY              OK     21501861033
584B6433272B36   ASHLEY                GARCIA              CO     90009974332
584B6652291856   VEIRA                 VAN                 OK     90009456522
584B687A45B236   TONYA                 JENKAMY             KY     68007338704
584B7243572B88   AVEL                  RODRIGUEZ           CO     33073362435
584B7499197B4B   ASHLEY                VIGIL               CO     90013674991
584B851914B29B   TARUS                 HAYES               IA     27024045191
584B85A5751348   DEA                   ANDERS              OH     90011145057
584B8832A61965   MIKE                  EDWARDS             CA     90014498320
584B91A5A81664   CINDY                 MELON               MO     90012551050
584B9312A91895   AVION                 ROBERTS             OK     90013463120
584B9459981664   CINDY                 MELON               MO     90002624599
584B982565758B   JEEHEE                SONG                NM     90013968256
584B9829272B38   BACA                  LORIE               CO     33067978292
584BB4A2572B49   RICARDO               PASTRAN             CO     33057484025
584BB73145758B   JOSUE                 BUSTILLOS           NM     90001087314
584BB796333699   VICTORIA              HOOSIER             NC     12010227963
584BB84245B239   JASON                 ALMOND              KY     90013008424
5851174444B588   ABRAHAM               VADILLO             OK     90011257444
58511A14A57541   CLAUDIA               MINJARES            NM     90011130140
5851222635758B   IVAN                  ARAMBULA            NM     90011802263
5851326484B588   LACEY                 FRANTZ              OK     90011462648
5851423A391895   RANDY                 POTTER              OK     21094202303
58514584A5B538   GLORIA                PRECIADO            NM     35007165840
58514947972B36   FILOMENO              JIMINEZ             CO     33009339479
5851499474B29B   DANIEL                BROWN               NE     27052769947
585151A335B543   PAUL                  LOVATO              NM     90005491033
5851637464B588   LEONOV                JIMENEZ             OK     21578233746
585169A115B239   JENIFER               PEREZ               KY     90015179011
58516AA6261965   ANTOINETTEHENDERSON   HENDERSON           CA     90010530062
5851782365B271   LUCINDA               KIPER               KY     90006858236
58517958572B49   DWAYNE                BECERRA             CO     90012789585
58517A2A633699   TABATHA               GRIGGS              NC     90013550206
585181A335B543   PAUL                  LOVATO              NM     90005491033
5851821515B387   KATHY                 LEAVITT             OR     90008092151
5851849232B354   EDDIE                 ROSA                CT     90015064923
5851858A361971   SONIA                 MADRIGAL            CA     90013325803
5851924435B239   CHRISTAL              WOOLUMS             KY     90013762443
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 179 of 2350


5851938187B46B   TAMMIESHA    FRANKLIN                     NC     90013203818
58519821872B36   CEASAR       ESCOBAR                      CO     90014188218
5851986395B531   DEAN         JONES                        NM     90013148639
5851B2A534B521   MISTY        BOYLAN                       OK     90007762053
5851B4A615B239   MICHELLE     MCCLEASE                     KY     68075594061
5851B83627B46B   MARCUS       MILLER                       NC     11075178362
5851BA48861965   NOEL         SOTO-GUERRERO                CA     90008950488
5852136345B239   JESSICA      CLAY                         KY     90013933634
5852147564B588   SAMANTHA     SLAUGHTER                    OK     90004514756
58521751772B27   RAYMUNDO     LONGINO                      CO     90001057517
58522172976B75   MATIAS       ELIZABETH                    CA     46072301729
5852244728B135   JENNIFER     JOHNSON                      UT     90010734472
58522864A72B27   KEVEN        DE OLIVER                    CO     90006038640
58523133172B43   RISA         EATON                        CO     33066161331
5852451317B65B   JANNIE       WILLIAMS                     GA     90008675131
585257A9372B43   IESHIA       CASTILLO                     CO     33083117093
58525A93572B38   JOGN         LARKINS                      CO     90012160935
5852619565B399   MARTIN       RAMOS                        OR     90013831956
58526A25A4B588   TERRY        GAUSVIK                      OK     90005060250
58526A2985B236   JOHN         HART                         KY     90004230298
58527253672B49   ULYSSES      DICKENS                      CO     33061332536
585273A8991895   FRANK        WINTERSTINE                  OK     21073413089
585279AA251348   OLEGA        LOPEZ                        OH     90014339002
5852813A85B399   CASSIUS      DASILVA                      OR     90012931308
58528375972B49   RAFAEL       CASTILLO                     CO     33050813759
5852851575B399   JOSEY        BLANCHE                      OR     90014965157
58528957772B38   SHALIMAR     NARVAEZ                      CO     33044189577
58529113724B43   CHRISTIAN    BLAKE                        DC     90013141137
5852917865B236   LAWANDA      MOORE                        KY     68067431786
5852947325B239   DEVON        MANION                       KY     90014394732
585299A894B28B   TIFFANY      ERHART                       NE     26063859089
5852B186372B36   JACQUELINE   ROMERO                       CO     33074521863
5853125887B46B   REGINALDO    AJIATAZ                      NC     90008502588
5853128855715B   JUAN         TOBIAS                       VA     90006522885
58531499572B43   GERSON       BELTRAN                      CO     90014264995
5853175165B531   NAMGYAL      HORMITSANG                   NM     90011867516
5853176A95B283   WILLIAM      ESPANA                       KY     90012127609
5853212A487B49   KONA         CHANEOWAN                    AR     90015341204
58532A7652B29B   DORIS        KENT                         DC     90008390765
5853314895B239   JANESSA      GRAHAM                       KY     90013031489
58533575376B75   ADRIAN       GARCIA                       CA     46084405753
5853364642B836   DARREN       CROWE                        ID     90009506464
5853469845B399   CARLOS       GARCIA                       OR     90007866984
5853481544B588   MARIO        VEGA                         OK     90011258154
58534871A72B49   CHRISTINE    HALL                         CO     33069298710
58534998772B49   KATHY        MCGINITY MCKEON              CO     90014459987
5853522135B531   APRIL        VILLEGAS                     NM     90007272213
5853534162B27B   CESI         REYES                        VA     90008343416
58535449472B27   STEPHEN      GRANIERI                     CO     90013844494
5853626A557541   DAWN         PEREZ                        NM     90014302605
58537586876B75   NORBERTO     CARILLO                      CA     90012355868
585376A9272B49   ALBERT       GUZMAN                       CO     90007346092
58537816672B27   CRAIG        GEDDIS                       CO     33052348166
5853831245B543   REBECCA      GONZALES                     NM     35038883124
5853842195B387   JULIO        YAM                          OR     44555254219
5853919645B399   JUAN         REGINO                       OR     90013801964
58539763172B43   SEGYO        LAMAS                        CO     33051757631
585397A585B283   JAMES        BYBEE                        KY     90008337058
5853B1A1157541   ROSA         DURAN                        NM     90014731011
5853B286172B27   SILVIA       ROJAS                        CO     33040602861
5853B786461965   JOHN         LUNA                         CA     90013057864
5853BA31957541   ROSA         DURAN                        NM     90013020319
5854112635B531   DANNY        MARTHA                       NM     35090541263
5854224435B239   CHRISTAL     WOOLUMS                      KY     90013762443
5854242644B588   ROSHAUN      GRANT                        OK     21574484264
58542583A5758B   JESSICA      SYKES                        NM     90014095830
585427AA261965   MOLLY        BAUER                        CA     46094637002
5854281264B29B   JUAN         CHITIC TIZOL                 NE     90004658126
58542895576B75   MARINO       DIEGO                        CA     46091768955
58543583A5758B   JESSICA      SYKES                        NM     90014095830
5854411442B27B   SHARON       HUDGENS                      DC     90007081144
5854422A75B239   RHONDA       TINSLEY                      KY     90014562207
58544563A72B49   JULISA       GOMEZ                        CO     90010025630
5854582885B239   JENNIFER     PEREZ                        KY     90015198288
5854637847B46B   CHIQUITA     WEST                         NC     90014993784
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 180 of 2350


58546A75161971   RUBY         GARZA                        CA     46056970751
58547A31891895   JESUS        VALDEZ                       OK     21027470318
58547A58176B75   RAMIRO       OBESO                        CA     46066580581
58548264572B27   TYLER        MILLER                       CO     90007252645
585483AAA4B588   JESSICA      ARAUZ                        OK     90010793000
5854866537B46B   JAMES        WILLIAMS                     NC     90013926653
58549881172B38   GEORGE       HERRERA                      CO     33012158811
5854B18534B588   RHONDA       SEANEY                       OK     90014941853
5854B34745B236   RHONDA       CAIN                         KY     90004693474
5854B352133622   JOSUE        SANCHEZ                      NC     90004153521
5854B51355758B   MICHELLE     BALDWIN                      NM     90014775135
5854B669661965   TAHIRA       MENDOZA                      CA     90011756696
5854B93615715B   STANLEY      MARKS                        VA     81013319361
5854B988372B43   LUIS         ZAMORA                       CO     33060639883
5854BA4A12B27B   THELMA       JARRETT                      DC     81005190401
58551711272B49   FRANK        BERNAL                       CO     90010957112
58551817A91895   MARKEISHA    JEMISON                      OK     90014538170
58551864176B75   VICTOR       ESPINOZA                     CA     90014448641
58551A48861965   NOEL         SOTO-GUERRERO                CA     90008950488
585526A8157541   PETE         DOMINGUEZ                    NM     90012016081
5855273774B559   RICHARD      CHESNEY                      OK     21558577377
5855317A772B36   JEANAI       LEGG                         CO     90002411707
585536A1A5B531   STEPHANIE    DUFFY                        NM     35004986010
5855433A761965   ANTONIO      MADERIAS JR                  CA     90007893307
5855455335B531   MONIQUE      KEYES                        NM     90014155533
5855481385B387   RODOLFO      ALVAREZ                      OR     44535698138
58554971872B43   PAOLA        MERAZ FERNANDEZ              CO     90013169718
58554AA9172B38   JESSICA      JAQUEZ                       CO     33024120091
5855616234B257   MONICA       FERSI                        NE     90009761623
5855683215B531   JOSE         ARCINEDA                     NM     90014558321
58556A7495758B   JOSE         BALDERAS                     NM     35573590749
5855756135B279   KATRICIA     THOMPSON                     KY     90012425613
585578AA761965   NITA         CARDENAZ                     CA     90010598007
58559631772B27   CRES         PEREZ                        CO     90011056317
5855B54365715B   ELIDA        ACOSTA                       VA     90013655436
5855B796772B38   CHASSON      LEYBA                        CO     90010207967
585611A745758B   ROSALINDA    MURILLO                      NM     35532701074
58561496772B36   NICOLE       MARIN                        CO     90013674967
58561545372B38   JOY          WILLS                        CO     33014375453
5856167357B46B   JAQUITTIE    MCLAUGHLIN                   NC     90013926735
58562A6285B387   PETER        BOOTH                        OR     44593770628
58563391576B75   TODD         HARWELL                      CA     90014443915
5856465A25B531   JOSE         ARIAS-PEREZ                  NM     90011546502
5856465A34B28B   MICHAEL      BARKS                        NE     26093516503
58564819A5B239   CHARLES      LAIR                         KY     90010018190
5856485A34B588   MARIA        HERNANDEZ                    OK     90012408503
58565211672B24   GRISELDA     CERVANTES PALOS              CO     90010112116
5856532152816B   HUGO         GUZMAN                       TX     90001043215
58565636172B43   GLORIA       CISNEROS                     CO     33005486361
58565972172B36   MIRANDA      PUTNAM                       CO     90007669721
58565A4495B239   JOHN         WOODARD JR.                  KY     68029480449
58567121372B38   MELISSA      MUNOZ                        CO     90004981213
5856749715B399   SAUL         URENA                        OR     90014904971
58567778272B43   HENRY        MOYA                         CO     90001357782
5856836535B239   CHRISTINA    DEWS                         KY     90012993653
58568514272B49   ROY          LOPEZ                        CO     33093395142
5856859175B399   DEVIN        LUCE                         OR     44597865917
585689A954B28B   RACHEL       SKEELS                       NE     90007549095
58568A4A25B531   MARIA        FLORES                       NM     90015130402
585696A1151348   CHARLOTTE    KROHN                        OH     90015006011
5856982544B588   NOLVIN       ALVA                         OK     21565418254
58569A1548B175   LEE          CUPPLES                      UT     90013740154
5856B143176B75   DELIA        BAUTISTA                     CA     90012131431
5856B15425B283   BECKY        SEARCY                       KY     68060961542
5856B583461971   MARIA        VALLES                       CA     46056645834
5856B695A91895   ROY          UVA                          OK     21082236950
5856B963A5B387   VICTORIA     HORNE                        OR     90009809630
5856BA76A2B27B   ETONDAI      ANDERSON                     DC     90007700760
58571766772B24   NICKI        CLARK                        CO     90009407667
585718A2661965   ANDRES       REYES                        CA     90011968026
58571A37851348   MEGHAN       MCNICHOLAS                   OH     66043370378
5857228662B95B   ROBERT       REEVES                       CA     90011072866
58572543A91534   WEDNY        CHAVEZ                       TX     90012185430
585725A415B239   CONSTANCE    NEAT                         KY     90012725041
58573172172B38   RAQUEL       BELL                         CO     90014781721
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 181 of 2350


5857362282B273   LAKESHIA           MARTIN                 DC     90004776228
5857389325B561   CIERA              CHAVEZ                 NM     90011108932
58574419172B27   VICTORIA           GOMEZ                  CO     33092244191
5857443AA91895   JIMMY              FRIDAY JR              OK     90012214300
58575297A61971   TARA               STAMOS                 CA     90014732970
5857533A672B49   CARMELA            PICON                  CO     33062643306
5857539A75B239   JUDY               PURVIS                 KY     90008863907
5857625A254152   JESSICA            CHANDLER               OR     47060132502
58577232372B27   PEDRO              OROSCO                 CO     90014142323
58577266572B24   FRANCISCO JAVIER   HERNANDEZ              CO     90007002665
58577272A5B399   BRITTANY           MARTIN                 OR     90009222720
58577511A72B49   VIVIANA            SANDOVAL               CO     90012885110
585781A174B29B   ANGELIQUE          LEWIS                  NE     27061911017
5857867197B46B   SHANNON            WILLIAMS               NC     90014646719
58578793872B43   BRIAN              ELLIS                  CO     90011107938
5857915965B571   CYNTHIA            LUNA                   NM     90009971596
5857927A872B36   CHRISTINA          SANTOS                 CO     33046422708
5857936934B521   JUAN               BANUELOS               OK     21549633693
5857967A191895   EDDIE              OAKES                  OK     21068566701
5857B248472B27   DELPHINE           MARTINEZ               CO     33060182484
5857B674A91895   JAMES              WALKER                 OK     90014446740
5857B85347B46B   MARCUS             HOOVER                 NC     11046428534
5857B93725758B   STEPHANY           NUNES                  NM     90010579372
585813A9A7B46B   DONAL              GARNER                 NC     90015383090
58581977872B49   AESHAA             DORADO                 CO     90010969778
585824A7472B24   MELISSA            MOORE                  CO     90006884074
5858283965B239   DANNY              ADKINS                 KY     68063678396
58582A4916199B   VIRGINA            MEJIA DIAZ             CA     46093510491
58583317872B43   SARAH              HULL                   CO     33096893178
5858411AA5599B   SEEKHAI            VANG                   CA     90010601100
5858421164B588   AARON              HALL                   OK     90015192116
5858459A57B423   ESTET              ROJAS                  NC     11007595905
58584628A7B423   ESTER              ROJAS                  NC     90013196280
5858488385B543   GRIEGO             TONY                   NM     90004398838
58585355576B75   OMAR               LUCIO                  CA     46065643555
5858543864B521   JORDAN             STEVENSON              OK     90015304386
5858669674B521   FAVIOLA            GONZALES               OK     21511626967
58586923672B49   ERIK               TELLO                  CO     90012979236
58586A9265B399   CASBE              SLAUGHTER              OR     44575650926
58587168A72B38   JILL               VIGIL                  CO     33057611680
58587526372B43   SARAI              MORAN                  CO     90012585263
58587A19257541   LINDSEY            EDWARDS                NM     90012090192
585883A1772B49   NICHOLE            JARRELL                CO     33092343017
585884A8672B36   LAWRENCE           BROOKS II              CO     33008964086
58589128272B38   ANDREW             WOODWARD               CO     33040061282
585893A8A7B46B   TRACY              CORRELL                NC     90012593080
5858951385B399   HUGO               RODRIGUEZ              OR     44594945138
58589A16A33699   GWENDOLYN          HUNTER                 NC     90013230160
5858B32155715B   MIRNA              ZAVALA                 VA     81096143215
5858B557551383   GRACE              YOUNG                  OH     66087165575
5858B59535B399   BRYCE              BUEHANAN               OR     90007115953
58591583872B49   FELIPE             RODRIGUEZ              CO     90001445838
58592212872B43   SHANNON            CHARLOT                CO     33087042128
58592612A72B27   KARINA             EVARSITO               CO     90009696120
58592894672B36   MARIA              SALAS ROJAS            CO     90009238946
58593292A4B588   MAURIYA            MAXWELL                OK     90011462920
5859334124B588   TRITIMA            JACKSON                OK     90010743412
5859352835B399   VANDY              MANGSANGHANH           OR     90012755283
5859362194B29B   KAREN              KING                   NE     90010956219
585943A2472B38   LUIS               GARCIA                 CO     90013613024
58594A9615B399   JENNIFER           ANDERSON               OR     90012920961
58595275472B49   JEANELL            MASCARENAS             CO     90013482754
5859562432B367   MOICES             ARIAS                  CT     90015016243
5859575A691895   DONNA              BLACK                  OK     21008237506
58596112A91B79   ROSALBA            GONZALEZ               NC     90015491120
5859617A972B49   KATLIN             FINGER                 CO     90013601709
58596315A5715B   GIOVANI            VELAZQUEZ              VA     81053163150
58596541372B27   STEPHANIE          SPENCER                CO     90012975413
58597616872B49   EDWARD             LLOYD                  CO     90010426168
5859778434B29B   MELISSA            THOMPSON               NE     27004167843
5859794AA91895   BRANDY             SCOTT                  OK     21017769400
58598746272B38   MARIA              GUERRERO               CO     90009427462
5859911614B521   WILLIAM            HOWARD                 OK     21510781161
5859916143B389   SABRINA            WALLS                  CO     90012501614
5859955515B239   RUTH               PARTON                 KY     68044995551
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 182 of 2350


585995A135715B   HIPO          GUTIEREZ                    VA     81005215013
5859B39725B283   CHRISTINA     WOODCOCK                    KY     90011733972
5859B463572B38   JUSTIN        WALSH                       CO     90007754635
585B128215B531   ELISS         PUCCIO                      NM     90008332821
585B1329733696   TABITHA       GOLDING                     NC     12039493297
585B172784B28B   OBADIAN       RODRIGUEZ                   NE     26001947278
585B22A187B46B   JAVIER        DE LOS SANTOS               NC     11000912018
585B241195B543   BRAD          GREEN                       NM     35086114119
585B2613333677   ANGEL         MARTINEZ                    NC     90011086133
585B292A554128   KERRY         HOOGSTAD                    OR     90008509205
585B3299651348   JOEL          MARTINEZ                    OH     90003972996
585B4231591934   KAREN         MEDINA                      NC     90013122315
585B4437651348   CHRIS         MARTIN                      OH     66085804376
585B478A44B588   VERNETIA      SMITH                       OK     90006167804
585B54A3A4B521   GEARY         LESTER                      OK     90006024030
585B569377B46B   FERNANDO      GONZALEZ                    NC     90014166937
585B5876697B51   PHIL          BERNAL                      CO     90012438766
585B61A325758B   TOMASA        HERRERA                     NM     90002161032
585B656757B46B   EREN          MARTIN                      NC     90013655675
585B683762B922   DOUG          FOWLER                      CA     90008548376
585B6893772B49   GERALD        VALDEZ                      CO     33090978937
585B68A3491895   BARBARA       ELLIS                       OK     90007638034
585B6AA623B347   RENEE         HANSEN                      CO     90013220062
585B7415633699   TRAVIS        PEACOCK                     NC     90008334156
585B7723A2B228   EMLEN JAYNE   COTE                        VA     90001337230
585B7A5695758B   ROWLAND       WEAVER                      NM     35570240569
585B815925B239   MELLISSA      BALLINGER                   KY     90014331592
585B8314961971   ANDY          SWEET                       CA     90009083149
585B8454372B36   REYNA         TOBOADA                     CO     90014514543
585B8733272B88   EDGAR         RAMOS                       CO     90006507332
585B8784924B43   GEORGE        JONES                       DC     81037867849
585B8932372B43   JOANNE        BENNETT                     CO     90015119323
585B8989A5758B   VERONICA      RODRIGUES                   NM     35587999890
585B8AA192B236   SABRINA       HAMM                        DC     90006210019
585B9155476B75   MIGUEL        VERDUGO                     CA     90003041554
585B9356772B24   MINERVA       MENDOZA                     CO     33037473567
585B9642A91552   SANDRA        OJEDA                       TX     75017086420
585B965295B531   MARTY         FRAGUA                      NM     90015186529
585B9734333696   RANDY         KING                        NC     90010717343
585B996584B53B   MICHAEL       SHANNON                     OK     21505519658
585BB448533696   RAY           CLINARD                     NC     12042014485
5861148A45B387   LISET         LORES-LEZACANO              OR     44593504804
58611875872B49   PEDRO         RAMOS                       CO     33056718758
58612137976B75   JOEL          GARCIA                      CA     46050101379
58612462672B38   HECTOR        CERVANTES                   CO     90015064626
586126A8233696   MARLEDA       CARTER                      NC     90014506082
58612862172B49   BRETT         EXLINE                      CO     33080588621
58612A2935758B   CEASAR        SOTO                        NM     90014110293
586135AA45B399   COURTNEY      BERNARD                     OR     90011315004
586136A5933696   BRIAN         BOLD                        NC     90011296059
5861422775B531   ANABEL        GONZALES                    NM     35081832277
586146A194B29B   JULIE         BLANKENSHIP                 NE     27077156019
58615426772B27   RENE          TORRES                      CO     90011424267
5861669835B531   PHIL          TOLEDO                      NM     35091046983
58616725298B87   DELLARISA     MOORE                       NC     11062847252
58617567672B49   MICHAELA      ARAGON                      CO     90012005676
5861779825B531   BRADLEY       WEBER                       NM     90013597982
5861811734B588   NICHOLE       HAMILTON                    OK     90011261173
58618776772B38   CHRISTINE     LOCKARD                     CO     90003957767
58618849A33699   JEFFERY       GREEN                       NC     90013658490
5861B39442B851   SHELLY        CARDONA                     ID     90005613944
5862329572B973   CHRISTINE     BURGESS                     CA     90001712957
58623297A61971   FRANK         BYAM                        CA     90009622970
5862338A75B399   ALLYSHA       SILER                       OR     90008313807
586235A3291925   CARLOS        GARRARO                     NC     90004685032
58623967A72B27   LAMAR         LATHAN                      CO     90013289670
5862414A53B352   ELSIE         CONWAY                      CO     90014391405
586251A665B239   AMY           SMITH                       KY     90012531066
58625A94561965   EVON          BARKHO                      CA     46097370945
58626177A4B29B   DEVIDA        SCOTT                       NE     90003591770
5862633615758B   OLIVIA        GALLEGOS                    NM     35552713361
5862783245B399   ELAINE        HANNA                       OR     90015268324
58627978A7B46B   KENNETH       BOGGESS                     NC     11034949780
5862819542B27B   CLAYTON       PAYVAY                      DC     90013531954
5862824822B27B   CLAYTON       PAYVAY                      DC     90010892482
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 183 of 2350


586283A9751348   MARTINA      BOOKER                       OH     90002373097
58628431A72B38   ELIZABETH    WILKERSON                    CO     33015684310
5862851415B387   COURTNEY     SWIDLER                      OR     90012265141
58628584A72B27   ARMIDA       TARIN                        CO     90012225840
586286AA35B543   JOEL         ARELLANO                     NM     35035326003
58628853372B27   ARMIDA       TARIN                        CO     90013378533
5862928145B531   ROBERTA      SALAS                        NM     90013182814
5862983615758B   MARK         PADILLA                      NM     90007548361
5862B225691934   SHANESE      JONES                        NC     17087652256
5862B46384B588   CHRISTINE    RHOADES                      OK     90006484638
5863121487B46B   REYFORD      MCMENUS                      NC     90014242148
5863125A24B539   SHVYANSTY    ADAMSON                      OK     90011192502
586321A717B46B   ANTONIO      NUNESS                       NC     90013221071
58632946172B36   RACHEL       ALVAREZ                      CO     33051809461
5863312924B588   KARLA        SOLIS                        OK     90013631292
58633194972B27   WILLIAM      JR                           CO     90011961949
5863436775B283   NATHAN       SMITH                        KY     90006723677
5863444A476B75   SALVADOR     GAYTAN                       CA     90013304404
58634718472B36   STEVEN       KADINGER                     CO     90014477184
58635366A55949   RICHARD      JUAREZ                       CA     90014013660
586356A9A57541   FILBERTO     PEREZ                        NM     90012436090
5863594585B239   JENNIFER     MILLER                       KY     90013939458
58635AAA776B53   MAGDALENA    ALVARADO                     CA     90007780007
5863657397B46B   ERIC         LUTHER                       NC     90010695739
5863661385B236   WILLIAM      BENNETT                      KY     90003006138
58636A64A5758B   MARIA        BUSTILLOS                    NM     90010590640
58637782172B43   MICHAEL      PARKER                       CO     90014907821
58637A95524B43   AGUILAR      ELVIA                        DC     81061620955
5863848A45758B   WILLIAM      LAWSON                       NM     90005154804
5863851635B239   REBECCA      FERGUSON                     KY     90013965163
5863882885B239   JENNIFER     PEREZ                        KY     90015198288
586393A254B525   KRISTY       NEWBY                        OK     90002293025
5863965932B27B   NINDA        MARTIN                       DC     90006496593
58639752372B24   ROSE         SEGOVIA                      CO     90001257523
5863B1A5541226   JULIA        SIMMONS                      PA     90001221055
58641164A5758B   LUIS         HUERTA                       NM     35592921640
58641476872B36   MARIA        DE LUNA                      CO     90014894768
586419A6A57541   AVLORA       URBAN                        NM     90006599060
5864267A561965   TONI         CHASE                        CA     90013536705
58643997472B36   SHARON       JULIOUS                      CO     33046759974
586441A8472B38   KATIE        WATSON                       CO     90002491084
586446A5261965   TAMANA       RAFIQZADA                    CA     90010946052
586448A632B27B   WILLY        RIVAS                        DC     90011818063
5864528145B399   KRISTIAN     HERNANDEZ                    OR     90014002814
586455A9176B75   PABLO        FONCECA                      CA     90014375091
5864565875715B   MARCO        PEREZ                        VA     81072666587
58645846472B38   JOSPEH       ROARK                        CO     90002968464
58646342A61965   BROOKE       BARNES                       CA     90006533420
586463A653B389   MOHAMMED     AITMOULAY                    CO     90000843065
5864672685B387   BRIAN        QUACH                        OR     44576807268
5864674415754B   GINGER       HARGRAVES                    NM     90007407441
58647335472B36   JAVIER       GOMEZ                        CO     90013473354
58648273A4B588   AMBER        DENNIS                       OK     90011262730
5864838634B587   ELIJAH       MUHAMMAD                     OK     90012813863
5864918712B27B   CHARLENE     COOLEY                       DC     90013251871
58649517576B75   BRITTANY     GILBERT                      CA     90014615175
5864B143A33699   DANOVI       ARIAS                        NC     90006971430
5864B331772B36   ALMA         ESTRADA                      CO     33029053317
5864B344A61971   GINA         BOWERS                       CA     90012453440
5864B44122B973   FRED         VAN DYKEN                    CA     90014204412
5864B91384B588   LAQUITA      MCINTOSH                     OK     90014929138
58651361972B49   DAVID        FOX                          CO     90014553619
58651582572B43   STEVEN       PEDERSEN                     CO     33096555825
5865275815B399   RONALD       VERHAALEN III                OR     90014457581
5865368755B239   LORI         WINTERS                      KY     90014296875
58653A14872B49   HOPE         GALLEGOS                     CO     90010970148
5865518745758B   OMAR         HOLGUIN                      NM     90004971874
5865793AA33699   CEDRICA      CRAWFORD                     NC     90008389300
5865927395B239   ERIC         BARNETT                      KY     68009022739
5865948485758B   TONY         SCOTT                        NM     90001664848
58659815372B43   MARY         FELIX                        CO     90012418153
5865983355B399   BJ           DAVID                        OR     90013268335
586598A475B399   MARTINA      RAMSEY                       OR     90015128047
5865B367372B24   DJON         PLANT                        CO     33045593673
5865B515733696   LASHUNDA     RUDD                         NC     90014635157
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 184 of 2350


5865B81A577581   JOSE          TINAJERO                    NV     90008928105
5866131855B399   MARCO         ANGUIANO                    OR     90008753185
5866233744B588   REBECCA       CHAVEZ                      OK     90011263374
5866253785B239   MIA           GRAVES                      KY     90011935378
5866254835758B   IVAN          HERNANDEZ                   NM     90014165483
58663193972B38   MANUELA       DELGADO                     CO     33003421939
586631A2361949   KARLO         RAMIREZ                     CA     90007851023
5866385789373B   JERITA        POOLER                      OH     90001658578
58663971672B43   SHANNON       BROWN                       CO     33091099716
58665174472B27   LINDARINE     TORREZ                      CO     90013571744
58665189272B88   DAVID         SCOTT                       CO     33003021892
58665647372B49   LATHOLAH      CHUMBLEY                    CO     33078626473
58666592A31428   SAMANTHA      GREENE                      MO     90007225920
58666672872B22   GRANILLO      OLIVIA                      CO     33053566728
5866833AA8B183   SHEIISA       MARTIN                      UT     90002473300
5866858834B28B   JOHN          MADER                       NE     26069525883
5866929875B387   CARLOS        LOEZA                       OR     90012582987
5866971A92B27B   DAVID         PAUL                        DC     90013067109
5866984767B46B   DYANGO        MAYFIELD                    NC     90015038476
5866B32922B27B   JOSE          HERRERA                     DC     90011483292
5867146665B38B   ANTONIO       DAMIAN                      OR     90006174666
5867152652B27B   MELVIN        LOVEJONES                   DC     90011545265
58671526A72B36   JUAN          MALDONADO TOLEDO            CO     33065385260
5867189295B239   DARLA         FITZGERALD                  KY     90005178929
58672348376B75   VIRVES        PASQUAL                     CA     46058593483
5867273575758B   VICTORIALEE   BARELA                      NM     90015177357
586727A2833696   JOLONDA       WARE                        NC     90006147028
5867316155B236   SEDRIC        MARTIN                      KY     90004761615
5867333515B239   JOSHUA        KENT                        KY     90014783351
5867423185715B   EDUARDO       RIVAS                       VA     90001152318
58674318A5758B   ERIKA         ESTRADA                     NM     90002683180
5867449114B588   DESIREE       NASH                        OK     90013874911
586744A1157541   ANNETTE       MAYNEZ                      NM     35508764011
5867472A661965   DOVANAH       JORDAN                      CA     90007897206
58674899472B43   RONALD        PADILLA                     CO     90011478994
5867546725B531   ROBBIE        TYLER                       NM     90007884672
58675949976B75   ULISES        ARELLANO                    CA     90002679499
58675A3122B27B   MISHA         MCLAMB                      DC     90015170312
5867637385B239   VERNON        ENGLE                       KY     90014853738
5867723244B28B   JENNIFER      AUMAN                       NE     90003422324
58677551572B36   TARANKA       HARRISON                    CO     90011325515
5867761848B181   MARTHA        RAMIREZ                     UT     90012646184
5867763435B387   TIMOTHY       ALLEN                       OR     44509566343
5867874223B372   DELTA         FLEMING                     CO     90005347422
5867881114B521   JEFFREY       RUSH                        OK     21579638111
58678818472B36   PEDRO         PEREZ                       CO     33087358184
58679617172B38   ROBERT        HOUSTON                     CO     90014386171
58679667A57541   KENNETH       AARNOS                      NM     35510436670
58679A6A64B588   LALO          GARCIA                      OK     90005930606
5867B211833696   JULIA         LITTLE                      NC     90012792118
5867B67197B46B   SHANNON       WILLIAMS                    NC     90014646719
5867B911772B49   MARIA         SANCHEZ                     CO     90008589117
5867B9A2561965   DANIEL        WILLARD                     CA     90014579025
5868141A972B38   MARCO         ORTEGA                      CO     33094654109
58681A52191895   JAMEKA        KIMBLE                      OK     90011950521
5868222955B239   TISA          CUNNINGHAM                  KY     90002902295
5868242955593B   MARIA         LYNCH                       CA     48027524295
58682446272B36   JUAN          VALADEZ-ACOSTA              CO     33098504462
586826A435B399   SHELLY        GILLASPIE                   OR     44545686043
586831A4861971   KRISTEN       TROUT                       CA     90014781048
58683667A57541   KENNETH       AARNOS                      NM     35510436670
586838A475B399   MARTINA       RAMSEY                      OR     90015128047
58683A1455B239   CELESTE       FLORES                      KY     90010490145
5868424285B387   VALERIA       ESPINOSA                    OR     90001542428
58684259372B27   LENNY         FORD                        CO     33096152593
586844A5833696   DAWN          RORIE                       NC     90008464058
586846A1233696   DAWN          RORIE                       NC     90014336012
58685A12676B75   JOE           MONTOYA                     CA     46012930126
58685A7915B239   DONNI         WALKER                      KY     90014330791
58686229A2B27B   DAHLIA        COLE                        DC     81024622290
586868A2984357   TYRON         HOLMES                      SC     14589878029
58686973876B75   MELANY        C                           CA     90012249738
5868774A558528   POODIE        GEE                         NY     90015587405
5868919A15B387   SUSYE         ANDERSON                    OR     44515121901
58689474972B38   VICENTE       DE LA CRUZ                  CO     90007754749
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 185 of 2350


5868985A97B46B   MITCHELL              BUSH                NC     11076778509
586898A3754152   SHELLIE MARIE RENEE   MILLER              OR     90003348037
5868B285891895   NANCY                 HERANDEZ            OK     90004812858
5869172AA72B43   TARRY                 CLEVELOND           CO     33023707200
5869215715B387   DEBRA                 HODGIN              OR     44555271571
586921A515758B   KATRINA               ESPARZA             NM     90010601051
58692588676B75   DOMINGA               SILVA               CA     46041685886
586932A8991895   SABTI ABDULLAH        ALGHAMDI            OK     90010602089
5869422A172B38   OSCAR                 MADRID              CO     90014452201
5869426525B399   DESIREE               FORD                OR     90008872652
5869464545B236   RICKY                 FOWLER              KY     90014176454
58696425472B43   SILVIO                VALENTIN            CO     90013924254
5869661332B27B   GAVADA                MARSHALL            DC     90010556133
58696942972B43   JESSE                 VYHNALEK            CO     90014899429
58696971A54152   DANIEL                CIEPLINSKI          OR     47086309710
58697864472B43   JEFF                  MARTINEZ            CO     33054148644
58698524172B43   KELLEY                GRIEGO              CO     33068435241
5869877A891267   IVORY                 YOUMANS             GA     90012577708
58698A62976B75   CRAIG                 MC DANIEL           CA     46025000629
58699541772B43   EUGENIO               GONZALEZ MURILLO    CO     33069805417
5869976195758B   JOEL                  LUGO                NM     90014167619
5869999AA5B531   ROSITA                MOYA-HERRERA        NM     35040159900
58699A8515B399   CHRIS                 HINTZ               OR     44567180851
5869B635161971   MAURICIO              LOPEZ               CA     90009926351
5869B714461965   HUGO                  BOJOR VQUEZ         CA     90008187144
586B1283772B38   MADELINE              LOPEZ               CO     90011992837
586B1825891535   MIGUEL                IBARRA              TX     75017648258
586B184A461924   NAHLA                 YAKO                CA     90013698404
586B1852A72B43   JAVIER                GASCA               CO     33074228520
586B2314851383   KELLY                 WARE                OH     90004243148
586B235A14B259   KIRK                  BATES               NE     90011233501
586B275A725154   WILBERT               KING                AL     90014767507
586B31A7754152   NICHOLAS              HUTH                OR     90010871077
586B3685772B49   MONICA                GARCIA              CO     90012056857
586B369A572B36   FRANCISCO             TAPIA               CO     90009636905
586B3939661971   SCOTT                 CHRISTANEE          CA     90014869396
586B3A76997B44   ALEJANDRO             LOPEZ               CO     90014450769
586B41A7333699   LUIS                  SANTOS              NC     90012831073
586B439725B283   CHRISTINA             WOODCOCK            KY     90011733972
586B4716891552   PEST CONTROL          EXTREME             TX     90007727168
586B4A58861965   ANTHONY               ROMERO              CA     46049270588
586B6172441229   DEAN                  WILLIAMS            PA     90011071724
586B6391176B75   JEAN                  WELSER              CA     90014243911
586B639725B283   CHRISTINA             WOODCOCK            KY     90011733972
586B717335B387   JOHN                  DOWELL JR           OR     44584831733
586B71A864B588   KHAYLA                ROGERS              OK     90006611086
586B7266833699   MELVIN                NASH                NC     90014742668
586B7714357541   MARY LOU              ANEVERAS            NM     90013157143
586B7784491895   JASON                 ROYSTER             OK     90004067844
586B7864372B38   LISA                  ARGO                CO     90014858643
586B812924B588   KARLA                 SOLIS               OK     90013631292
586B835AA5B239   HAROLD                HOCKENSMITH         KY     90010743500
586B8396657135   SHAMIKA               HILL                VA     90014983966
586B83A6376B75   LAIR                  MARIN SALAS         CA     46072853063
586B852167B46B   TIARA                 WILLIAMS            NC     90014985216
586B8762372B38   FRANCISCO             MORALES             CO     33048917623
586B9151A72B38   GEORGE                KING                CO     90011311510
586B9248172B88   PAULA                 HENRY               CO     33083512481
586B9441176B75   HECTOR                CORTES              CA     46030214411
586B9534854152   RYAN                  HILLSMAN            OR     90012365348
586B9854861965   ANA                   MCGUIRE             CA     90014498548
586B9A88A91895   BRIAN                 GREGORY             OK     21080850880
586BB244151348   ADAM                  MARTIN              OH     90006802441
586BB27115B399   MALIEA                DODSON              OR     44555342711
586BB27442B27B   RODNEY                BROWN               DC     90011602744
586BB28365715B   ROSSANA               CACERES             VA     90005392836
586BB362277568   DENNIS                DUNCAN              NV     90007863622
586BBA3895758B   CHRIS                 LAUSTER             NM     90014100389
5871267875758B   ANTOINETTE            HERRERA             NM     90011016787
5871282315758B   EUSEBIO               MORENO              NM     90014168231
58712974772B43   ITZEL                 FERNANDEZ           CO     33079489747
58713475672B38   FELICITY              SEGOVIANO           CO     90007754756
5871349315B531   ALYSSA                MARTINEZ            NM     90008914931
587137A874B588   CHAD                  ALBEE               OK     90001917087
5871387235B236   KIM                   HOWARD              KY     90005088723
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 186 of 2350


5871392747B46B   LATANYA       SINCLAIR                    NC     90012239274
5871461A257541   VERONICA      DE LA O                     NM     90014386102
58714622472B27   MIRANDA       WAREHAM                     CO     90012706224
5871462814B231   MIRSAD        KARAJIC                     NE     27064256281
58715448872B38   MARK          SEARCY                      CO     90006384488
5871585145758B   EDWARDO       GALINDO                     NM     90011238514
5871686A65758B   CHRISTOPHER   BLESSING                    NM     90014168606
58716945872B24   ADAM          MAYFIELD                    CO     90007709458
5871713625B239   AMANDA        MAY                         KY     90012341362
58717A7675B531   DUANE         THOMPSON                    NM     90010650767
58718475672B38   FELICITY      SEGOVIANO                   CO     90007754756
587184A7451348   JOANNIE       RODIQUEZ                    OH     66016484074
5871861414B28B   SHELLY        JACKSON                     NE     26016946141
5871866644B588   EDGAR         RAMOS                       OK     90011266664
5871972662B27B   JOSE          PORTILLO                    DC     90000537266
5871B113172B38   JOSE          DE LA CRUZ                  CO     90015141131
5871B163272B43   JESSICA       BRANDIN                     CO     33085561632
5871B3A4333669   SHANNON       LILES                       NC     90012843043
5871B75275B399   JAHNE         CODY                        OR     44527697527
5871B95125B271   TARA          JAGERS                      KY     90012279512
5871BA49851348   ALICIA        WITT                        OH     66008020498
5872124575758B   DESIREE       KEYS                        NM     35588772457
5872124A25B247   RENEE         SHERLEY                     KY     90014242402
5872185A772B88   TSHARLA       JONES                       CO     90004338507
5872235285B531   JESSICA       AUSTIN                      NM     35006223528
58722677A4B29B   CODY          HETTINGER                   NE     90010536770
587228A9561965   ROSA          GARCIA                      CA     90013308095
5872327A161462   SERGIO        MARTINEZ                    OH     90015052701
58723554324B6B   LUIS          LOPEZ HERNANDEZ             DC     81073595543
5872416775758B   BETTY         ROMERO                      NM     35537721677
58724A11672B38   DANIEL        DITIRRO                     CO     90012640116
5872646294B28B   BONNIE        PRICE                       NE     26054774629
5872721684B521   CRUZ          IBARRA                      OK     90002242168
5872778425B239   NICKI         WHITE                       KY     90000277842
5872827A191895   DERRICK       MASON                       OK     90012262701
5872833292B27B   NICKIS        STERLING                    VA     90005663329
58728AA435B387   JOSH          COULTER                     OR     90015020043
58729635772B38   SALVADOR      GUZMAN                      CO     90014746357
5872976547B46B   MARCO         MATA                        NC     90010657654
5872998555B239   SHAMICKA      WHITE                       KY     90013339855
5872B49235758B   ELVA          MURPHY                      NM     90010684923
5872B87575B399   LINDA         DODGE                       OR     90004908757
5872B976376B75   ALONDRA       HERRERA                     CA     90012829763
5873125415758B   MARISSA       ROMAN                       NM     35568902541
5873131824B29B   JACQUELYN     DUKE                        IA     90013213182
5873171364B588   LASHONDRA     TALLEY                      OK     90011267136
5873181875B236   TAQUISHA      YEARBY                      KY     90007288187
5873192AA72B49   JESSICA       JUAREZ                      CO     33049709200
5873353955758B   JOEL          SOLIS                       NM     90013335395
58733579A72B24   DONNA         DUNCAN                      CO     90007005790
58733A3745B239   PATRICIA      CORBETT                     KY     90015230374
5873443572B27B   SHIRLEY       FRAZIER                     DC     90013074357
58735563372B36   MARIA         HERNANDEZ                   CO     90002365633
58735798172B88   RAUL          AYALA                       CO     90006507981
58735A73A7242B   BOBBI         KOONTZ                      PA     90010010730
5873651AA31428   ANGELINA      MURRIE                      MO     90009485100
58736834272B36   RAFAEL        MENDOZA                     CO     90012798342
587372A917192B   JEFFREY       WALTERS                     CO     90010002091
5873753655B283   DANNY         SCHMITT                     KY     90007925365
58737619672B38   SANTIAGO      ESQUIXEL                    CO     33077446196
5873789155758B   SOCORRO       CHAPARRO                    NM     90014168915
5873818945B283   HEATHER       SHEALY                      KY     90009071894
5873854A172B27   DAVID         MOYERS                      CO     90013755401
58739A15985944   CATHLEEN      COMBS                       KY     90012030159
5873B183172B36   PAULA         BAENA                       CO     90015121831
5873B284591923   ROBERTO       MORALES                     NC     90011562845
5873B434533696   KIMBERLY      HURSEY                      NC     12036964345
5873B585754152   MELISSA       ADAMS                       OR     47017155857
5873B76A44B521   CRESTON       MOORE                       OK     90008227604
5874173524B588   MICHAEL       FISHER                      OK     90011267352
58741A8A351361   TONI          SCHWEGLER                   OH     90007220803
58741AA825B543   PATRICIA      PEREA                       NM     35046660082
58742115472B36   URSULA        ARAGON                      CO     90007041154
5874282815B239   ANNA          SMITH                       KY     68023258281
5874378A45B531   MARIA         NUNEZ                       NM     35069737804
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 187 of 2350


58743962272B49   ALBERTO      LOZA                         CO     90001759622
58744493472B36   JUAN         FUENZ                        CO     90013094934
58744946A5B239   MICHAEL      CHENAULT                     KY     68009549460
58744A1845B531   RAMON        GOMEZ                        NM     35064140184
58744AA5621623   CONSTANCE    CRAWFORD                     OH     90014030056
5874537615B283   CRAIG        SHAVER                       KY     68014843761
587456A9172B24   POITRA       ULIE                         CO     90007006091
5874579335B531   SHANNON      WEINBERGER                   NM     90009707933
587464A1472B38   MARIA        RENTERIA                     CO     90012674014
58746889A61965   DEBORA       GALINDO                      CA     90013518890
58747117572B49   SE           AUTO                         CO     33016601175
58747A13772B43   MARIA        CHAVEZ                       CO     33007930137
58747A19176B75   NICOLE       KINKEL                       CA     90002240191
5874966A45B531   ROBYN        TRAMMELL                     NM     90014286604
587497A8154152   AMBER        JEFFRIES                     OR     90004837081
5874B18A95758B   HELEN        ARAGON                       NM     90009401809
5874B24A372B38   CLARK        KAYCE                        CO     90010392403
5874B43A672B36   NICHOLE      CHAVEZ                       CO     90010264306
5874B574A5B399   LIYA         ASVOCHKA                     OR     90005275740
5874BA2925B236   BRANDON      HARTZ                        KY     90006560292
5875175A857541   FRANK        YOUNG                        NM     90014407508
587518A357B421   ANDREA       VALLEJO                      NC     90010728035
58752381276B75   FRANCISCO    PAYAN                        CA     90013753812
58752622972B24   RUSTY        WALLACE                      CO     90007006229
58753176224B43   VICTORIA     JENKINS                      DC     90010391762
5875318295758B   LISA         ORRANTIA                     NM     90010611829
5875335924B29B   RENEE        FLEMMING                     NE     90012703592
58753448A33696   TUQUISE      TURNER                       NC     90010574480
5875522AA4B588   WENDY        HOUSLEY                      OK     90012022200
5875556845B399   ELONA        SAMSONOVA                    OR     90014475684
5875628785B399   PURUSTTAM    MISRA                        OR     90012372878
587563A8572B38   CLIFFORD     SANCHEZ                      CO     90013613085
5875647717B46B   JAWAHIR      AHMED                        NC     11061804771
587564A854B28B   MICHELLE     JENKINS                      NE     90004424085
58756692372B49   RHONDA       WARREN                       CO     90013016923
587569AA276B75   ARACELI      DOMINGUEZ                    CA     46042709002
58757394A72B38   ASHLIE       MASON                        CO     33080953940
5875765424B588   MAGDIEL      RIOS                         OK     90011476542
58758A21A5B387   JAIME        HERRERA                      OR     44534370210
5875914894B28B   RICHARD      JONES                        NE     26068711489
58759A51154152   MATTHEW      HEADY                        OR     47018970511
5875B18A431428   JAMES        NOONAN                       MO     90006951804
5875B523633699   TANIESHA     JACOBS                       NC     90008385236
5875B641A72B43   OHARA        ANTONIO                      CO     90013966410
5875B68534B521   JAMES        BATES                        OK     90006566853
5875B7A8154152   AMBER        JEFFRIES                     OR     90004837081
5875B96A15B239   APRIL        POLSTON                      KY     90005629601
5876146742B27B   SHANNON      DONALDSON                    DC     90013074674
5876211AA61965   IVETTE       FLORES                       CA     90004341100
5876341314B521   WILLIAM      TUGGLE                       OK     90006114131
5876378434B588   KHEELAN      NICHOLS                      OK     90011267843
587637A1476B75   VERONICA     RAGUDO                       CA     90010417014
58763948872B49   LUIS         FLORES                       CO     33068519488
58763A3135B239   HOMER        STAMPER                      KY     90003700313
58763A95151348   ERICKA       COOPER                       OH     90004450951
5876445625B239   JOSH         GREER                        KY     90009724562
58764485372B49   SAUL         GABRIEL-DEL PILAR            CO     33066514853
5876487298164B   MONICA       CONDEE                       KS     90004308729
58764A8544B588   OLGA         RAMIREZ                      OK     90010010854
5876539897B46B   JUAN         AGUILAR                      NC     90013663989
58765447972B36   JARID        GALLEGOS                     CO     90007714479
5876552A55758B   FELIX        LOPEZ PEREZ                  NM     90014185205
5876571A561965   JUAN         LIQUIN                       CA     90013297105
58765871576B75   PATRICIA     DALE                         CA     90014138715
58765876A72B43   ERNEST       MCDONALD                     CO     90013988760
58765A5A272B88   JORGE        DOMINGUEZ                    CO     33045210502
5876637A733696   TONYA        HARRIS                       NC     12007003707
587665A5151348   MARTA        MENDOZA                      OH     90013555051
58766744372B49   RALPH        HEATLY                       CO     90010957443
58766794372B38   GARCIA       JESUS                        CO     33009237943
5876713443B352   MICHAEL      RAMIREZ                      CO     90001811344
5876765A677365   ANTOINETTE   MILLS                        IL     90015216506
5876773265B399   JESSICA      CHARBONEAU                   OR     90014527326
58767879472B36   PATRICIA     NEVARES                      CO     90012648794
58767881272B49   CHRISTIAN    NORFLAS                      CO     90014878812
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 188 of 2350


5876817892B27B   LAVONNE        SERRANO                    VA     90006271789
58768432A72B36   ANDREW         HURTADO                    CO     90013934320
58769322676B75   MARIBEL        GAMEZ                      CA     90014683226
58769346A72B27   URIEL R        HERNANDEZ                  CO     33012553460
5876993465B399   MICAH          GREENWALD                  OR     90009179346
5876B411257541   VALENCIA       PALMER                     NM     90004994112
5876B528A51348   JASON          BRINKMAN                   OH     66043355280
5876B955333699   JOSE           LARA                       NC     90012539553
5876BA1225715B   ALBERTO        ZANPERIO                   VA     81096370122
58771532172B36   DEVIN          MARTINEZ                   CO     33049985321
58771775872B88   CINDY          CHAVEZ                     CO     90006507758
58772139872B43   JENNIFER       VEITH                      CO     90000161398
5877274494B588   DEBRA          LARKIN                     OK     90014757449
58772A53A72B27   JAQUELINE      RODRIGUEZ                  CO     90013480530
58773295872B38   SAYLI          RENDON                     CO     90011992958
58773751372B49   KACEY          HUNT                       CO     90010957513
5877498A972B43   NICK           SCHNEIDER                  CO     33009959809
5877768545758B   IRMA           MARTINEZ                   NM     90010336854
58777AA4691895   DEBORAH        CURETON                    OK     90010820046
58779A66172B36   TERRY          CRUICKSHANK                CO     33089150661
5877B36967B46B   EQUILLA        RODAS                      NC     90014513696
5877B843457541   VICTORIA       RICHARD                    NM     90013488434
5878134A233696   SHADONNA       SMITH                      NC     12006133402
5878147972B27B   PRINCESS ANN   HAWKINS                    DC     90013074797
58781855272B49   ATHENA         GIFFORD                    CO     33019918552
58782279A91881   TRACY          NEWTON                     OK     90011472790
5878246A55B283   JOHNATHON      RANKIN                     KY     90008544605
58782A5335B236   RAMON          STRAIN                     KY     90013950533
5878339335B387   JERMANE        PETTYJOHN-BLUE             OR     90008093933
5878368285B399   WILLIAM        MCCOMMON                   OR     44526016828
58784366372B25   FERNANDO       ROMERO HERNANDEZ           CO     90010723663
58784A7A957541   ALLGELA        SAUCEDO                    NM     90002920709
58785857472B27   RUDY           GARZA                      CO     90003918574
5878633865B387   PAULA          ENGLISH                    OR     90002783386
587865A317B46B   JOSE           CUEVAS                     NC     11001445031
5878668A74B28B   TIFFANY        BOLTON                     NE     90004426807
587876AA84B539   TRAVIS         STREETER                   OK     90012676008
5878772822B27B   JAMES          COULTER                    DC     90011217282
5878833A95B239   MISHELLE       HUNCHMAN                   KY     90013283309
5878912794B521   KATIE          GREEN                      OK     21579751279
58789162172B38   JEANETTE       ARKADIE                    CO     33004071621
58789536676B75   LIZBETH        LIVZ                       CA     90013305366
5878964A972B38   FRANCISCO      GARCIA                     CO     90013066409
5878971668B145   WAYNE          MONTGOMERY                 UT     90010147166
5878B325533699   YASHICA        HULING                     NC     90014483255
5878B32A191895   ALEJANDRRO     ALMAZ                      OK     90008763201
5879199795B271   REGINALD       PRIMAS                     KY     68016939979
587919A295758B   SHOEMATE       SHANICE                    NM     90011019029
5879254735B399   AARON          SINGLETON                  OR     44512615473
5879342517B46B   ROXANA         MOREIRA                    NC     11013344251
5879359315B543   MIRANDA        TAPIA                      NM     90003245931
58793812572B27   CARMEN         RAMOS                      CO     90002288125
58794312A72B38   WINKA          TOE                        CO     90013613120
5879543472B27B   DERRICK        FERGUSON                   DC     90001914347
58795713344B85   KENNY          DIBELL                     OH     90015127133
58795774A51383   MELISSA        BURDEN                     OH     66050507740
5879586394B588   EUEGENE        LITTLEJOHN                 OK     90013218639
58795A5927B358   JOSUE          LUIS                       VA     90012500592
5879637154B521   GARRY          DUKES                      OK     21519373715
5879779855B531   ADAM           LOPEZ                      NM     90014247985
5879798267B461   JESSICA        DELAVEJA                   NC     90012909826
587986A4551348   ALICE          CARMACK                    OH     90006136045
587986A8533699   CARLOS         BULL                       NC     90014806085
5879955A191895   VICTOR         ELIZONDO                   OK     90013925501
58799634A2B27B   TENCHI         RYOUKO                     DC     81052566340
58799842472B36   LUZ            TORRES                     CO     90001308424
5879B21255B239   JAMES          MONIE                      KY     68051982125
5879B462272B27   MARTIN         MURGUIA                    CO     90010234622
5879B4A1241291   PAMELA         MILLER                     PA     90003284012
5879B68614B588   AARON          THORNBURG                  OK     90011476861
5879B6A5551348   JOSH           WILLIAMS                   OH     90010266055
587B183675B399   IRMA           NOCEDAL                    OR     44571778367
587B1987272B88   NATHAW         SZALOCZI                   CO     33016399872
587B2324A91525   LAURA          MARTINEZ                   TX     90007163240
587B243793B343   SALVADOR       VIDALES                    CO     90012084379
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 189 of 2350


587B247725B239   ASHAUNTIA    BLAIR                        KY     90014614772
587B2694254152   SARAH        BOULANGER                    OR     47014286942
587B3139551383   NAOMI        STREAKER                     OH     66078111395
587B322232B225   T            SATCHER                      DC     81057552223
587B3386A5715B   LEESA        PLOMBON                      VA     90004813860
587B3834931429   KIMBERLY     OWENS                        MO     27517118349
587B395647B46B   VERONICA     MACK                         NC     90014769564
587B3994A57541   MELISSA      WILLIAMS                     NM     90011079940
587B472145758B   JESUS        RODRIGUEZ                    NM     90013697214
587B47A9572B38   VICTORIA     DAHER-LOPEZ                  CO     90015027095
587B4AA965B531   MARISSA      BERNAL                       NM     90014740096
587B5423357541   JENEE        WARD                         NM     90000314233
587B5753361965   ALFREDO      PADILLA                      CA     90012067533
587B662A854152   JESSICA      RICHARDSON                   OR     47006496208
587B666475B283   LONAIE       PRUITT                       KY     90010506647
587B6687261965   SOURCE       ZTE                          CA     90013536872
587B711675B271   ROGER        FRAME                        KY     90002481167
587B7263776B75   ESPECANCA    AGUILAR                      CA     90011432637
587B728275B387   CLEMENTE     TESCAHUA AGUIRRE             OR     44529642827
587B743455758B   SARA         BOEHM                        NM     90014184345
587B7883533699   ANTHONY      SHEPHERD                     NC     90011068835
587B8282933696   ROBENA       GRIFFIN                      NC     90010572829
587B855175B283   MARCOS       GOMEZ                        KY     90006725517
587B891895715B   IJAZ         FATIMA ULHAQ                 VA     90009349189
587B9532972B43   JACOB        WEEKLY                       CO     90015205329
587B9663385959   TERI         MEYER                        KY     90011026633
587B9737A61971   FETULI       VEIKOSO                      CA     90009857370
587BB124633699   TASHEIA      HACKETT                      NC     12064991246
587BB758A57541   SHEREE       MANTANOMNA                   NM     90011077580
587BB76195758B   JOEL         LUGO                         NM     90014167619
587BB76244B29B   ANGELICA     MORA                         NE     90013857624
5881116315B283   QUOVODIS     MARTIN                       KY     90009281631
5881159435B399   GAY-LYN      GAYNER                       OR     90007815943
5881381635B239   NICHOLE      ROMMEL                       IN     90002888163
58814778772B38   ROSA         MARQUEZ                      CO     90013077787
5881487814B588   ANNMARY      RIUNGU                       OK     21539288781
58815512872B36   NOE          HERNANDEZ                    CO     90010945128
5881728764B588   SAVANNAH     LEE                          OK     90010672876
588172A7A72B27   STEPHANY     HERNANDEZ                    CO     90011152070
5881834A161971   MEYER        JEFFREY                      CA     90014033401
58818354972B43   WILLIAM      SAUCEDA                      CO     90012303549
588188A855B951   ARTEMIO      MARTINEZ                     WA     90014818085
58818917572B38   TELL         SNYDER                       CO     33064009175
58819575472B88   IRENE        THOMAS                       CO     33073405754
5881B264372B43   JAKELINE     RUIZ                         CO     33017412643
5881B2A6161971   MICHAEL      BOWKER                       CA     90012742061
5881B991851348   VIOLA        MARTINEZ                     OH     90014289918
5882128617B46B   DIANA        GOMEZ                        NC     90013672861
58821425A5715B   BYRON        VELIZ                        VA     81076384250
58821862772B36   LIVIA        YANG                         CO     33083468627
5882284935715B   JERBER       LOPEZ LOPEZ                  VA     90006468493
5882382122B27B   REDD         JOHNSON                      VA     90011218212
588242A3761971   CHRISTINA    PITTMAN                      CA     90008972037
5882455724B588   JUWAN        YOUNG                        OK     90013385572
58824997A4B588   AUSTIN       GUEST                        OK     90011269970
5882566A851322   ADAM         ROBB                         OH     90001826608
5882656A64B588   ENRIQUE      ELIAS                        OK     90013885606
5882663695758B   CASSANDRA    BUSTILLOS                    NM     90011036369
5882763695758B   CASSANDRA    BUSTILLOS                    NM     90011036369
5882799944B588   SHARRITA     LASKEY                       OK     90011269994
5882896952B27B   MEGAN        LEADBETTER                   DC     90004319695
58829183172B36   PAULA        BAENA                        CO     90015121831
58829256776B75   CARLOS       SILVA                        CA     90009012567
5882B352372B38   ELIZABETH    RODRIGUEZ                    CO     33045223523
5882B37714B28B   SHAYLA       SELL                         NE     90001793771
5882B41267B46B   LINDA        WILLIAMS                     NC     11089044126
5882BA94572B49   TIMOTHY      STROME                       CO     33036650945
5883136517B46B   MARY         FRASIER                      NC     90010473651
58831729876B75   ERICK        QUIROZ                       CA     90010817298
58831A59861965   KIMBERLY     FOSTER                       CA     90013160598
58832683876B75   JANET        LORENZO                      CA     90011316838
5883373215715B   ERICK        AYALA                        VA     81007707321
5883384878599B   TONYA        MOUNTS                       KY     90006558487
5883388865B531   CORNELIA     GARCIA                       NM     90003168886
58834167772B27   SAMANTHA     GRECO                        CO     90003471677
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 190 of 2350


5883439765B399   GILLIS        ROBINSON                    OR     90015193976
5883444395B399   DONALD        HARRIS                      OR     90013474439
58834459A54152   EUGENE        WHITEHALL                   OR     90004104590
5883562A22B27B   TIFFANY       BROOKS                      DC     90013076202
58835A96572B36   RICK          WORKMAN                     CO     90006630965
588362A175B236   DOUGLAS       BROUGHTON                   KY     68056962017
588371A3A57541   GARY          SKIFF                       NM     90011791030
58837A4337B434   TABIOLA       MACHADO                     NC     90012980433
58838362172B88   LORENZO       CHAVEZ                      CO     33000663621
5883891174B588   AHNA NICOLE   BOONE                       OK     90012289117
5883911A833696   MARCUS        LUCK                        NC     90011411108
5883915215B399   ANGELA        FULPS                       OR     90000971521
58839491A4B588   G             PARKER                      OK     21598934910
5883959255B531   ANGELICA      SILVA                       NM     90014335925
58839A34272B38   JOSE          BARRAZA                     CO     90008170342
5883B242251383   AMY           NIEHOFF                     OH     90004282422
5883B26845758B   ESTRADA       CLARA                       NM     35583252684
5883B517A7B46B   ANA           SIGARAN                     NC     90014545170
5884111145B93B   JESUS         ALEJANDRO                   WA     90015511114
5884189975B239   DARRYL        CURRY                       KY     90013518997
58841928A72B49   MELODYE       JENSEN                      CO     33091929280
58841A46291351   DAVID         RAMOS                       KS     90002390462
5884243195754B   STEVE         EISERLING                   NM     35517924319
58843256972B43   CANDELARIA    BARRADAS                    CO     90011482569
5884339815758B   GREGORIA      CEBALLOS                    NM     90009473981
58843971672B49   CARL          GAMBRELL                    CO     33072579716
58844896672B88   VIVIANA       MENDOZA                     CO     33073408966
58844A7935758B   YANITZA E     CARILLO LOPEZ               NM     90009520793
5884574845715B   CHRISTOPHE    JACKSON                     VA     81077227484
5884594234B588   LYLITH        LANIGAN                     OK     21598499423
58845A29772B49   JOSEPH        DURAL                       CO     90014560297
58846357472B43   WENDY         STUBBLEFIELD                CO     33056523574
58846929372B36   ABRAHAM       GONZALEZ-BELTRAN            CO     90013179293
5884728A961965   MAURICIO      RAMOS                       CA     90014592809
5884754757B46B   BRIANNA       BIDGOOD                     NC     90011025475
58847724824B43   LAUREL        HOILMAN                     VA     90012757248
588479AA172B43   JAMES         YORLE                       CO     33007789001
5884833345B283   BRIAN         STIDHAM                     KY     68014873334
58849522172B43   ALICIA        ALVARADO                    CO     33094915221
5884B358A61971   DARREL        CORY                        CA     90009573580
5884B432A72B36   DANA          WHALEN                      CO     90009174320
5884B661531429   JIMMY         LASTER                      MO     27538726615
5884B885A5715B   JULIO         BELTRAN                     VA     90013928850
58851247772B88   JANIE         ORRANTIA                    CO     33022172477
5885176524B588   BRENDA J      ESPINOZA                    OK     90004807652
5885236A14B588   JARED         REESE                       OK     21547043601
5885276A95B236   MAURICE       BAILEY                      KY     90007847609
58852886572B36   ROBERTO       CABRERA                     CO     33061768865
58852A5745758B   ROSEMARY      PEREZ                       NM     90015130574
58853747572B36   VIANEY        CONTRERAS                   CO     33013737475
5885418825B283   KEITH         SEWELL                      KY     90006771882
5885457535B399   JUSTINO       ARROYO MURGA                OR     44504615753
5885663247B46B   RUDY          KING                        NC     90008746324
58857253476B5B   SIMON         CANACHO                     CA     90000532534
5885933195B239   KEVIN         RAMBO                       KY     90013293319
5885944283B399   JACQUELINE    PENDER                      CO     33009924428
5885992995B387   VALERIE       MCBEE                       OR     44555759299
5885B21A25B531   VIRGINIA      MALDONADO                   NM     90007222102
5885B418A4B588   CHRISTOPHER   GIBBY                       OK     90015204180
5885B97A972B88   FLORENCIO     HERRERA                     CO     33073409709
588612A5751348   PAMELA        BURT                        OH     66020722057
588614A5461965   ANGELICA      GONZALEZ                    CA     90014744054
58861654176B75   RAFAEL        PONCE                       CA     46018036541
58861A69272B43   BRIAN         MORALES                     CO     90014430692
58861A89161971   JULIANA       ALFARO                      CA     46078580891
5886234565B531   MELINDA       CARRILLO                    NM     90014863456
58862585A5B543   VANESS ANN    HERNANDEZ                   NM     90005515850
5886268A65B561   RUTH          HERRERA                     NM     90005106806
58862838272B36   ALMA          ARIAS                       CO     90004118382
5886315992B973   VICTOR        ANDERSON                    CA     90008841599
58863319172B38   DEBORAH       JEAN                        CO     33014683191
5886484A52B27B   THORNTON      HUDSON                      DC     90011218405
58864851372B36   TODD          PHILLIPS                    CO     90004968513
588661AA131428   MARIO         STELLY                      MO     27502701001
5886642725B531   DAVID         DILTS                       NM     90015094272
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 191 of 2350


5886647614B588   JOY               R.N                     OK     21505054761
5886655A476B75   CYNTHIA           MOCTEZUMA               CA     46040885504
5886755615B239   BOBBIE            ENGLER                  KY     90011055561
58867913A5B531   OLVIA             CHAVEZ                  NM     90014829130
58868113176B75   KATRINA           MAZZETTI                CA     90005391131
588681A8872B43   DAVID             JONES                   CO     90010911088
588682A562B973   CHRISTINA         AMADOR                  CA     90010752056
58868985872B38   JESUS             RIOS                    CO     90014879858
588691A5A57541   GLORIA            RODRIGUEZ               NM     35502701050
5886926924B29B   KIMBERLY          MCNEAL                  IA     27023772692
5886B33A572B43   SITZMAN           THOMAS                  CO     33002983305
5886BA28761965   RAYMOND           SHARP                   CA     90006520287
58871445324B43   NOELIA MILAGROS   SANCHEZ                 DC     90010694453
58871753824B43   BOO               HUBBARD                 DC     90013237538
58871921372B38   TANJA             BENCIC                  CO     33003229213
5887196845B531   RIGOBERTO         NAVARRO-DIAZ            NM     35080269684
5887221465B271   KATHY             CAPPS                   KY     90005312146
5887334A14B588   DUSTIN            FARLEY                  OK     90011273401
5887363495758B   MANUEL            CABAZOS                 NM     90008826349
5887371A372B38   KIMBERLY          COOK                    CO     33055827103
58873866272B36   RYAN              HITCHCOCK               CO     90001868662
58874534272B36   CLAUDIA           ZAVALA                  CO     33048855342
5887453A37B46B   DANITA            ARCENEAUX               NC     90006165303
5887562A55B239   SUZANNA           CASTANEDA               KY     90013326205
58875A28161971   MARIA             CARRERA                 CA     90015280281
58875A61776B75   JAMES             BALA                    CA     90015130617
58876353572B35   ANNA              GARCIACANO              CO     90010423535
5887637586B243   LAUREN            JORDAN                  CA     37015553758
5887743335B531   EMILY             KIRKPATRICK             NM     90014914333
5887864355B239   MONICA            HENDRICKS               KY     68062836435
5887865548B175   NELSON            MARTINEZ                UT     90005206554
5887896487B322   JORGE             DUQUE                   VA     90003089648
5887936384B588   CASSANDRA         OPPERMAN                OK     90011273638
58879497A57541   DEBORA            LEGARDE                 NM     90014504970
5887B26645B399   JONATHAN          LIM                     OR     90012962664
5887B33444B588   CHINA             GRAY                    OK     90011273344
5887B549472B27   DEANNA            RIVAS                   CO     33080125494
5887B61167B365   MICHAEL           GOOLSBY                 VA     90003766116
5887B721672B36   JAQUILYN          SHIPLEY                 CO     90008127216
5888137752B27B   RAQUILLA          FELDER                  DC     90002813775
58881995A5B399   MR SEBASTIAN      FIORENTINO              OR     90004339950
58882695A5B239   NATIVIDAD         CRUZ GARCIA             KY     90012086950
5888368465B239   JAMES             SPARKS                  KY     90013326846
5888372715B239   PATRICIA          WILBURN                 KY     90000797271
5888426985715B   TAMERAT           GIRSHA                  VA     90003722698
5888456945B239   PEDRO             RAMIREZ                 KY     90010545694
5888536AA5B387   YVONNE            DRAKE                   OR     44563823600
58885A2625B239   KEILA             OCHAO                   KY     90000330262
58885A68491895   SHALA             BLUFORD                 OK     90002120684
58886445A51348   JUANITA           ROPER                   OH     90014154450
5888647514B588   TAKEITA           JACKSON                 OK     90008504751
5888663735758B   ROSA              ORTIZ                   NM     90014236373
5888696125B387   PATRICIA          GARNER                  OR     44592759612
58887654A72B36   VERONICA          HILT                    CO     33091816540
58887AA9A72B27   JUDITH            TORRES                  CO     33003830090
58888635172B43   JIM               PIKE                    CO     33090396351
5888B27264B29B   TIMOTHY           OWENS                   NE     90010032726
588919A8457124   DONALD            DORSEY                  VA     90003369084
58893846672B49   SARAH             RINGLEMAN               CO     90008588466
58893A13372B43   SHISHAY           YOSIE                   CO     90011980133
58894662A5B399   RENE              MARQUEZ PORCAYO         OR     90007106620
5889529315B387   TONI              FOY                     OR     44508492931
58895539572B27   JOSE              SANTOS                  CO     33080085395
58895768A5758B   JANET             LINDSEY                 NM     90014227680
5889644984B588   TRANETTE          UNDERWOOD               OK     90011274498
58896649772B27   PHILIP            MIERA                   CO     33096056497
58897146572B27   PATRICIA          ZUBIA                   CO     33000401465
5889786525B399   JAKE              DATO                    OR     90005438652
58898729272B43   KATHRYN           JOHNSON                 CO     90003937292
5889944283B399   JACQUELINE        PENDER                  CO     33009924428
58899582A91895   KEISHA            LEE                     OK     21010665820
5889968465B239   JAMES             SPARKS                  KY     90013326846
5889981517B424   NAOMI             MAXWELL                 NC     90007178151
58899A7514B521   JAMES             ZORGER                  OK     90002390751
5889B26284B29B   SUZANNE           GLOVER                  NE     90009632628
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 192 of 2350


5889B4A425B271   TERRY        BEAMUS                       KY     90004694042
5889B59795B399   FELICIA      MULKEY-BARTZ                 OR     90011315979
5889B78445B543   PAMELA       JOHN                         NM     35036437844
588B1267A72B43   LEONA        APOLINAR                     CO     33075252670
588B134535B236   PHYLLIS      WILLIAMS                     KY     90003973453
588B144225B543   RAUL         BARRON                       NM     90012134422
588B218A22B242   ANTOINETTE   GLASCOE                      DC     90010641802
588B221485B399   LUAN         CAMPOS                       OR     90013522148
588B2232241221   VERONICA     SPATARO                      PA     90009982322
588B2613333699   ANGEL        MARTINEZ                     NC     90011086133
588B275A972B49   MANUEL       JIMENEZ                      CO     33076547509
588B2A95151348   ERICKA       COOPER                       OH     90004450951
588B3619776B75   RAEFIELD     TAYLOR                       CA     90009296197
588B4212272B49   MARGARITO    AGUILAR                      CO     90004222122
588B4787433699   QUENTIN      HORNE                        NC     90014757874
588B5319551348   ROBERTO      NAVARRETE                    OH     90013193195
588B557347B46B   KARYN        REGER                        NC     11074175734
588B5689872B88   AVA          SEPULVEDA                    CO     90010986898
588B56AA272B24   AMADAEO      VIGIL                        CO     90010186002
588B6127A33696   PECOLLA      MOORE                        NC     12087501270
588B64A315B387   GEORGIO      ROGERS                       OR     90008104031
588B7764241244   MARY         RUSH                         PA     51025607642
588B7833191895   ETRICE       LOWERY                       OK     21046558331
588B7923472B43   MARIA        SOLARSANO                    CO     90013179234
588B8286172B88   JOHN         SCHONEBAUM                   CO     33073402861
588B8335672B27   NANCY        MUNOZ                        CO     90002333356
588B92A854B588   JESSICA      NELSON                       OK     90014692085
588B9972576B81   SHAWN        ADAMAS                       CA     90012929725
588BB15A94B588   NORMA        MADRIGALES                   OK     90013631509
588BB59435B399   GAY-LYN      GAYNER                       OR     90007815943
58911876872B36   EDUARDO      ALVARADO                     CO     90002588768
58912219A76B75   MANUELA      FELIX                        CA     90013862190
589123A7A5B543   EDWARD       SALAZAR                      NM     35064843070
5891332AA5B236   JEFERY       HINES                        KY     68090433200
589134A3972B24   LOPEZ        JAVIER                       CO     90009684039
5891372945B531   LORELEI      FERRELL                      NM     90006037294
5891373435758B   CASSIDY      BUSTILLOS                    NM     90013487343
58913845172B49   MELINDA      HERNANDEZ                    CO     33094538451
58914356576B75   ELIZABETH    LOPEZ                        CA     46084753565
58914659A61965   SONYA        RIOS                         CA     46012146590
58914A44851348   JANET        GUESS                        OH     66026080448
5891518637B46B   EDGAR        RODRIGUEZ                    NC     90013721863
5891528A991895   NANCY        GONZALEZ                     OK     21066422809
5891563954B579   DEZARAE      MCKENZIE                     OK     90011116395
58915A3577B46B   JARA         XINIA                        NC     11075140357
5891636435B283   SHIRL        TAYLOR                       KY     90012963643
58916657172B38   MARY         GONZALEZ                     CO     33048716571
58916792172B88   COCHRANE     JEREMY                       CO     33016407921
5891728515B543   ASHLEY       BECKETT                      NM     90001832851
58917559972B49   RHONDA       MARTINEZ                     CO     33075275599
58918279A54152   ANGELA       ROMAN                        OR     90005212790
5891841674B521   DAVID        CALDERON                     OK     21579854167
5891893A758528   CHEYDELLE    PRICE                        NY     90015439307
58918A13772B27   SCOTT        VANALLER                     CO     33095990137
5891917474B29B   TAD          BOUVIER                      NE     90005711747
5891B22525715B   CRISTINA     PEREZ                        VA     90008672252
5891B339561971   PENNY        LINDER                       CA     46005493395
5891B716561965   MARTIN       ANGULO                       CA     90012417165
5892178795758B   ERICA        SILVA                        NM     90011077879
589218A2372B49   ROY          BREWSTER                     CO     90012838023
5892213687B46B   DARWIN       NUNEZ                        NC     90013931368
5892223712B27B   NATHANIEL    BLAND                        DC     81003512371
5892237665B538   DIEGO        GUADERRAMA                   NM     90014513766
58922795172B38   MERYL        BOOTH                        CO     33087007951
58922939972B27   ALFREDO      GONZALEZ                     CO     90010769399
5892337644B28B   SHAUNA       ADAMS                        NE     26017373764
589233A4591895   LENDEE       PARKS                        OK     90014813045
5892366A44B588   MIESHA       THRASH                       OK     90014106604
5892453834B588   HEATHER      HONRSBY                      OK     90011275383
58924556324B71   JEFFERY      BLACKWELL                    DC     90011515563
5892539A376B75   GILBERTO     SAUCEDO                      CA     46013223903
5892614845B399   MIGUEL       LOPEZ                        OR     90012511484
5892616725B531   JUAN         VALDEZ                       NM     90013331672
5892686364B588   RONALD       MARSHALL                     OK     90014198636
58926959172B88   TANIKA       BLAYLOCK                     CO     33089719591
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 193 of 2350


5892729A32B27B   SHARRI        SMITH                       VA     90009012903
58927673976B75   JESUS         AMBROSIO                    CA     90013906739
58927719A72B38   GONZALA       REYES                       CO     90002647190
5892785685B35B   AMANDA        ADDIS                       OR     90011028568
5892797A472B22   ANDREA        SANCHEZ                     CO     90013849704
5892852775758B   ANDREW        A NUNEZ                     NM     90000975277
58928535372B43   SHARI         REPINSKI                    CO     90010045353
5892879538582B   OMAR          VELAZQUEZ                   CA     46006567953
5892925645B531   JESUS         LOYA                        NM     90011502564
58929834972B36   JEFFERY       ASHBY                       CO     90012798349
5892B41345B531   LAUREN        JOHNSON                     NM     35031684134
5892B54614B588   KELLEY        RUSSELL                     OK     90011275461
5893168A95B531   CLAUDINA      SCHWEITZER                  NM     90014466809
58931737A5B239   REBECCA       GAINES                      KY     90008507370
58931941872B38   LANIE         BALSILLIE                   CO     90005419418
58932295772B49   JOSEPH        HERNNDEZ                    CO     90014612957
58932A39676B75   ALVINO        GARCIA                      CA     90010410396
58932A6265B399   MALCOM        HUDSON                      OR     90011220626
5893392675715B   JOSE          GONZALEZ                    VA     90005679267
5893471385B543   FILIBERTO     ESPARZA QUIROZ              NM     90005517138
5893544214B28B   STEVE         SWARTZ                      NE     26017384421
589361A214B588   SHANNON       ALMEIDA                     OK     90014181021
58937212776B75   CALVIN        CASHER                      CA     90013112127
5893768755B239   LORI          WINTERS                     KY     90014296875
5893771375B531   JASMINE       MARTINEZ                    NM     90014757137
58937979A57541   GABRIEL       CASARES                     NM     90014599790
58938173276B75   JOSE          HERNANDEZ                   CA     90012281732
589381A315B239   GLENNA        MCQUEEN                     KY     90002851031
589388AA54B588   EMILY         HARTWELL                    OK     90011278005
5893B28A44B588   ALLAN         WOOD                        OK     90005612804
5894125672B244   DARLENE       MERRYWEATHER                DC     81060482567
58941773672B38   JOSE          JURADO                      CO     33069877736
5894179994B588   DONALD        HARVEY                      OK     21502187999
58941A22833699   ERIC          MCINTYRE                    NC     90012650228
58941A39676B75   ALVINO        GARCIA                      CA     90010410396
5894221794B588   MAYJA         SANCHEZ                     OK     21549072179
58942776372B24   JUAN MARTIN   BARRIOS-FLORES              CO     90007147763
5894282395B399   ANTHONY       BAEHR                       OR     90013308239
58942A22472B27   LEE           LUJAN                       CO     90004000224
58942A24872B49   RICKY         RUYBAL                      CO     90000910248
5894316745B399   DAWN          DUNN                        OR     90004461674
589432A2961965   REBECCA       LACHANCE                    CA     90013842029
58943A95757541   HAILEY        CALDERON                    NM     90014600957
58944135A5B399   ALMA          CHAVEZ                      OR     90006541350
5894585215715B   LESTER        SALGUERO                    VA     81051998521
5894595667B46B   TERESA        HARRIS                      NC     90005169566
5894736487B46B   SAQUATHIA     THOMPSON                    NC     90011493648
5894836AA5B543   LIZETH        SALAZAR                     NM     90008093600
58949398972B36   LINDSEY       BULSTERBAUM                 CO     90014443989
5894B178861949   TRACY         LOPEZ                       CA     90012971788
5894B1A325B387   MARCIE        MARROQUIN                   OR     44540181032
5895269655B236   WILLIE        BOYD                        KY     68050596965
58952A28772B43   JESUS         GONZALEZ                    CO     33032090287
58953234372B38   RAMONA        MENDEZ                      CO     33036192343
58953686872B27   ROMAN         HERNANDEZ                   CO     33022936868
58953778672B24   GARY          BARRY                       CO     90007587786
58953AA113B389   CHOMPHET      LY                          CO     90010350011
5895481A85758B   ROY           BARRAGAN                    NM     90014688108
589548A177B46B   SHANNON       BROOKS                      NC     11010658017
58955547672B49   EDWARD        CURTRIGHT                   CO     90008675476
58955AA9372B36   PAMELA        JONES                       CO     33075110093
58956263472B36   ASHLEY        GREENE                      CO     90012042634
58957645A72B43   ELGIN         DAVIS                       CO     33056526450
5895775A35758B   KARINA        VASQUEZ                     NM     90009547503
589581A6A58528   SELSO         HERNANDEZ                   NY     90015581060
589587A425758B   MARTHA        GARCIA                      NM     90001547042
5895887A872B27   YANIRA        VAZQUEZ                     CO     90010808708
5895B61A272B27   OSCAR         HERNANDEZ                   CO     33030696102
5895B67194B588   RAMONA        PRECIADO                    OK     90011276719
5895B751372B43   BERNARDO      SOTO                        CO     90004977513
5896114975B951   ARTURO        MORALES                     WA     90014871497
589612A4A72B38   JOSE MANUEL   HERNANDEZ                   CO     90013992040
5896199865758B   EMANUEL       SANTILLANES                 NM     90014239986
58962314772B38   EUGENE        SEVIER                      CO     90008253147
5896268A161965   GREG          ZAHAS                       CA     90011426801
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 194 of 2350


58963347772B27   JOSE         ESPINOZA                     CO     90012833477
589635A4357541   MELISSA      WILLIAMS                     NM     90014625043
58963896172B49   JONATHAN     MATERNE                      CO     90013168961
58964A73772B49   ARMANDO      RODRIGUEZ                    CO     90008660737
58965261872B27   JUAREZ       ORQUIDIA                     CO     90005502618
58965376272B49   JAMES        YARMON                       CO     33051083762
5896546A876B75   FREDDY       CORDOVA                      CA     46008324608
58965A4523B347   NICK         FEROTTE                      CO     33019980452
58966142876B75   BERNARDO     PEREZ                        CA     46001271428
589667A425758B   MARTHA       GARCIA                       NM     90001547042
58966A9A27B46B   KWAN         LEE                          NC     90011420902
5896723737B322   MARGAREIT    GABRE                        VA     90003782373
58967386372B49   KYLE         HYDE                         CO     90015263863
5896889632B27B   ANTOINETTE   MATTHEWS                     DC     81014778963
58969211572B27   BRIANNA      LOPEZ                        CO     90009742115
5896B442272B88   MIGUEL       SOLAIS                       CO     90007244422
5896B453933699   ARELY        LUCERO SILVA                 NC     90013964539
5896B681991895   KATLIN       FUSS                         OK     90013006819
58971179576B75   GINA         WILLIAMSON                   CA     90012771795
589725A9472B38   ALEXA        GRALEWSKI                    CO     90007755094
58972638872B36   JORDAN       TATE                         CO     90013286388
58972841672B49   LUCINA       RENTERIA                     CO     33063408416
5897317A151383   JESSICA      ENGLAND                      OH     90006491701
58973725772B43   SILVANO      CALDERON                     CO     90012927257
58973751772B27   RAYMUNDO     LONGINO                      CO     90001057517
58973A9184B521   RHONDA       LEWIS                        OK     21500650918
589743A7872B38   COOPER       SEAN                         CO     90001143078
589753A2272B38   LUIS         VILLAFANA                    CO     90011993022
5897776985B399   CHRISTOPHE   YOUNG                        OR     44501227698
58977A25772B49   BENITA       SANCHEZ SIFUENTES            CO     33075150257
58978985172B27   JAMES        SANCHEZ                      CO     90010869851
58978A4532B27B   JESSICA      CISNEROS                     DC     90013180453
5897917915B239   WILL         TIDWELL                      KY     90014731791
5897937115758B   CARLA        ESCOBEDO                     NM     90013003711
5898195295758B   ISRAEL       AVILA                        NM     90011099529
5898243865B239   DEKONNA      VAUGHN                       KY     90011214386
589828A5276B75   IRMA         HERNANDEZ                    CA     90014858052
58982A1A55B551   ERNESTO      GUERRERO                     NM     90004690105
58982A63831428   MEGAN        PAUCK                        MO     90011820638
5898319795B531   TENNILLE     GARCIA                       NM     90015561979
589839A9131429   SHEILA       MONTGOMERY                   MO     90013199091
58983A65A61965   FERNANDO     VELAZQUEZ-CACERES            CA     90008160650
58984615172B27   CESAR        GARCIA                       CO     90011176151
58985967A61971   HOLLY        WENZEL                       CA     90014079670
58985A66172B27   GREGORIO     MIRANDA                      CO     33048560661
58986A8945758B   EZRA         DIAZ                         NM     90011100894
589872A847B46B   ANA          RAMIREZ                      NC     90012452084
58987444572B36   VICTOR       HERNANDEZ                    CO     90013394445
58987559672B36   DOMINICK     WHITE                        CO     90012655596
58987598472B25   RICHARD      ASH                          CO     33095255984
589876AA33B347   GARY         BRYANT                       CO     90012036003
589878A4833696   LATASHA      INGRAM                       NC     90009228048
58987A36A72B43   SOPHIA       SMITH                        CO     90011150360
58989397297B51   VERONICA     RODRIGUEZ                    CO     90009093972
5898983847B46B   TIFFANY      MANTEN                       NC     90009168384
5898B112572B38   GABRIELA     VALLES                       CO     90013141125
5898B22184B252   JOSEPH       BYLER                        NE     90012712218
5898B256977568   WAYNE        STOVAL                       NV     90013372569
5898B561A4B521   TYROME       ARNETT                       OK     21504045610
5898B646A61473   JONATHAN     LEACH                        OH     90013836460
5898B83584B588   KAY          JONES                        OK     90011278358
58991563272B36   CLEOPATRA    NEWBURY                      CO     90012655632
58991A91691895   ESEQUIEL     FLORES                       OK     90011050916
58991A97931428   TESHAWNAH    STEWARD                      MO     90011820979
5899261915B399   NORMA        NUNEZ DE LA ROSA             OR     44527736191
5899331A15B399   ROBERT       TYLER                        OR     44562953101
5899374632B27B   ASHLEY       JOHNSON                      DC     90012847463
58993AA4825154   LOPEZ        GODOY                        AL     90014470048
58994497876B75   PEDRO        MELCHOR                      CA     90006804978
5899553535B239   ROSSY        RANCHARAN                    KY     90014715353
589958A8872B49   KEVIN        HEDLUND                      CO     33046148088
5899597655B283   JOSHUA       WAUGH                        KY     90010509765
5899753535B239   ROSSY        RANCHARAN                    KY     90014715353
58997684285B85   MIGUEL       CALLES-MIRANDA               FL     90015406842
58997A62A5758B   CHRISTINA    TORRES                       NM     35505400620
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 195 of 2350


58998184A72B88   ARRON         TORRES                      CO     90002921840
5899841582B27B   KEAUNA        RAY                         DC     81017894158
5899973624B28B   ELIZABETH     WHITNEY                     NE     90000247362
5899B785872B38   EDGAR         TORRES-AMADOR               CO     90010467858
5899B787561965   JASON         SANDERS                     CA     46058937875
5899B859172B36   ARMANDO       EQUIHUA                     CO     33076478591
589B1287133696   SALIJE        IMERI                       NC     12002872871
589B142445B531   SHAINE        SHERRILL                    NM     90012234244
589B1777A5B387   KAROLA        LEYTOW                      OR     44589447770
589B1934791895   TERRENCE      CHISHOLM                    OK     90010609347
589B193667B46B   MICHAEL       COOPER                      NC     90010249366
589B285A25B223   CLIFFORD      RICHMOND                    KY     68004968502
589B4437154152   ROBERT        METZLER                     OR     47028584371
589B4976A76B75   SCHINNABER    CANDIDA                     CA     46011469760
589B4A84691895   TKEYONA       WEINS                       OK     90013240846
589B515155B531   DARYL         QUINTANA                    NM     35000331515
589B5897633657   AVAN          VARGAS                      NC     90012518976
589B6239472B49   LAMAR         MILLS                       CO     90014582394
589B685955B387   PETRA         RODRIGUEZ                   OR     90003068595
589B745A45B399   KIMBERLY      PETTY                       OR     90002254504
589B7656172B27   JOSE          ORTIZ                       CO     90012536561
589B7A81A2B273   JEAN          KELLY                       DC     90007420810
589B8172191895   MARILYN       DAY                         OK     21085361721
589B827AA91856   LOURDES       LUIS                        OK     90010182700
589B9167224B43   LEONARD       HAYES III                   VA     90013241672
589B91A745758B   ROSALINDA     MURILLO                     NM     35532701074
589B9232561971   ROCIO         CASTRO                      CA     90011242325
589B954AA5B236   KAL-EL        TRAIL                       KY     90009625400
589B9743461971   ANITA         COBB                        CA     90012947434
589B9796761971   MARIA         PEREZ                       CA     90013167967
589B9862376B75   ROGELIO       MARTINEZ                    CA     90012668623
589B999165B351   CHALIE        FOLSOM                      OR     90010759916
589BB757261971   SABRINA       LOGAN                       CA     90012697572
589BB923A61965   FILIBERTO     COTA                        CA     46071569230
58B11152A72B43   DENITA        DAVIS                       CO     90015281520
58B1116435B543   ANGELO        VIGIL                       NM     90006201643
58B11193A33696   HELENA        ESKINDER                    NC     90013951930
58B113A8133696   ERIC          JOHNSON                     NC     90012603081
58B1156A28B82B   DEBRA         RAY                         HI     90014625602
58B1159314B28B   BRITTANY      BILLINGS                    NE     26087585931
58B12682133696   DANIELA       LOPEZ                       NC     90010986821
58B12783351329   RACHEAL       GEORGE                      OH     90010717833
58B12A1555715B   ESTRELLA      VASQUEZ                     VA     81077150155
58B1356795B399   NICOLAS       MURILLO                     OR     90000235679
58B1378228436B   FATIMA        LIGHTS                      SC     90014667822
58B1388924B29B   ASHLEY        WHEELER                     NE     90006798892
58B1412485B283   JUSMILA       RIVERO                      KY     90011721248
58B14239676B75   DARON         ZIVKOVICH                   CA     90013072396
58B1444255B239   SOFIA         KINNADE                     KY     90014144425
58B1445145712B   YOHANNES      MENGISTU                    VA     90013394514
58B14658A91895   CHER          MITCHELL                    OK     90013906580
58B16442833625   TASHARA       MORTON                      NC     90011964428
58B16734824B43   MICHAEL       SMITH                       DC     90013017348
58B16737233696   CHARDAE       KNIGHT                      NC     90004937372
58B1673A64B588   JOSHUA        WEST                        OK     90011237306
58B16839133625   TASHARA       MORTON                      NC     90004518391
58B1746A954152   SHEILA        OGRADY                      OR     47013774609
58B1795995B399   MYRON         SIMPSON                     OR     90013989599
58B1811A45B399   SADIE         WILLIS                      OR     44557531104
58B1843755B387   SAMUEL        KIAHD                       OR     90011044375
58B1848417B46B   ANA           CARRASCO                    NC     90013924841
58B1863A961939   LUZ           HARO                        CA     90010786309
58B1878A824B43   SHAKIA        GETER                       VA     90013017808
58B18A32791988   NESHELLE      HARRINGTON                  NC     90012530327
58B19559555945   MARTHA        MENDOZA                     CA     90006905595
58B19695A61965   MONIQUE       MACIAS                      CA     90013296950
58B1B7A165715B   MARY          COLEMAN                     VA     90013937016
58B213A535B399   JEFFREY       MEEK                        OR     44587413053
58B2276175B239   CHRISTINA     VIRGIN                      KY     90008757617
58B22848557123   SONIA         MARQUEZ                     VA     90010248485
58B2295325B561   CRRILLO       REYNALDO                    NM     90010709532
58B2356557B46B   IVEXY         GONZAILEZ                   NC     90011495655
58B23659561965   NANCY         AVILA                       CA     46082396595
58B23662133699   LISA JAIDEV   SEETARAM                    NC     90006886621
58B2384387B46B   ANDREA        AMOS                        NC     90013018438
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 196 of 2350


58B2428A472B27   JEREMIAH              FELICIANO           CO     90014662804
58B24347954151   JOSIE                 VELAZQUEZ           OR     90013083479
58B2437A761971   MIREYA                APARICIO            CA     90008343707
58B2441115B561   LAURA                 MONTOYA             NM     35012894111
58B244A3658528   SHIRLEY               MCCLOUD             NY     90015234036
58B24A14661965   AMEER                 SHAMMO              CA     90014860146
58B24A19A72B88   TABITHA               RAMIREZ             CO     33008380190
58B25373A33696   TASHA                 WOODARD             NC     90011273730
58B25643633699   GILBERTO              HERRERA             NC     90008266436
58B2577A25B399   LUENA                 JENKINS             OR     44568317702
58B25A47661965   JASON                 BRANCH              CA     90013210476
58B26153291895   SHIMARA               SICARDO             OK     90014461532
58B2627175758B   CLAUDIA               HERNANDEZ           NM     90008052717
58B2715A872B38   HOLLY                 LUJAN               CO     33022331508
58B273AA14B936   MISS LORRETTA MARIE   GROS                TX     90014603001
58B275A2261971   EFREN                 GARCIA              CA     46019525022
58B27722A76B75   FERNANDO              CABRERA             CA     46027297220
58B27729872B49   LILIANA               MARQUEZ             CO     33050097298
58B27786633696   HEATHER               MCPHERSON           NC     90012557866
58B2795285758B   MARCOS                HERNANDEZ           NM     90013099528
58B28195672B36   FRANCES               COLEMAN             CO     33085461956
58B28268133696   SAMMIE                RAWLISON            NC     90013952681
58B2826A772B43   KELLY                 SHELDON             CO     90012032607
58B2871317B46B   LURELLA               HARVELL             NC     11045237131
58B28719791524   MISAEL                CASTANEDA           TX     90006837197
58B29615361965   CARLA                 ARREDONDO           CA     90012676153
58B29719791524   MISAEL                CASTANEDA           TX     90006837197
58B2B573976B75   MARIANO               GARCIA              CA     90013815739
58B2BA25A42363   TINA                  MCCORMICK           GA     90001500250
58B3139175B399   UCHECHI               LOUD                OR     90015333917
58B31549972B38   DIEGO                 NARVAIZ             CO     90013245499
58B319A7861965   BRENDA                ALVAREZ             CA     90004079078
58B32169557541   THOMAS                SPIKES              NM     90010711695
58B3221A65B399   ANNA                  PUKHAREV            OR     90014722106
58B32484A5B399   ARESLY                NOUIS               OR     90012874840
58B32977A5B239   KATRINA               KAYS                KY     90014089770
58B33237772B43   CHRISTOPHER           ORTEGA              CO     90003692377
58B33491272B24   MIGUEL                ARAGON MARTINEZ     CO     90013114912
58B33643633699   GILBERTO              HERRERA             NC     90008266436
58B33813872B24   MIGUEL ANGEL          ARAGON MARTINEZ     CO     90006908138
58B3383838B12B   DAN                   HANSEN              UT     31065888383
58B34164551348   SAM                   SUNG                OH     90012401645
58B3456295758B   MARION                CARRILLO            NM     90014875629
58B35368754152   JESSE                 SPRATT              OR     90000513687
58B35463233696   HOLLEY                BELL                NC     12022544632
58B35591557541   WILLARD               HOFFMAN             NM     90010735915
58B35962872B43   CLAUDIA               GUTIERREZ           CO     90009079628
58B35964457541   PAYGO                 IVR ACTIVATION      NM     90015359644
58B35A4365B531   RODRIQUEZ             TANYA               NM     90002990436
58B3624A684357   LOUIS                 AIKEN               SC     14570612406
58B3642A433669   DAVID                 MILLER              NC     90012484204
58B36537231429   LOOKMAN               AFOLAYAN            MO     90005245372
58B3692625B283   KEITH                 CARTER              KY     90006619262
58B36A91572B36   ROBERT                PLEMONS             CO     90006910915
58B3744385758B   MARISSA M             GONZALES            NM     90011304438
58B3784165B239   GWEN                  HADLEY              KY     90010998416
58B3793752B221   MIA                   SPEARS              DC     90001649375
58B37A64251348   JMINA                 LUNPKEIN            OH     90011050642
58B38458361971   JUAN                  REYES               CA     90013104583
58B38512272B36   GERARDO               DIAZ DE LEON        CO     90013005122
58B38622872B49   DECEMBER              MURILLO             CO     90010946228
58B38813572B43   CHRIS                 DROBNICK            CO     33051508135
58B38978451348   ROCHELLE              FRALEY              OH     66029279784
58B38A2355758B   RICHARD               ENRIQUEZ            NM     90013070235
58B38A6915B239   JARROD                BRADEN              KY     90008180691
58B3B1A139186B   SALVADOR              GONZALES            OK     90000271013
58B3B234157541   GUILLERMO             ACOSTA              NM     90013022341
58B3B515261971   JEANNE                SCHLAGEL            CA     90004995152
58B3B7A513B399   JOE                   MCMICHAEL           CO     33083137051
58B41282733696   PAMELA                LANE                NC     90014342827
58B41495691923   ANA                   SOLANO-ARIAS        NC     17096374956
58B41549572B49   BRADLEY               HANSON              CO     90014925495
58B4159924B588   REYES                 WILLMER             OK     21574515992
58B41762161971   SARAH                 JORDAN              CA     46029857621
58B42326772B36   ANTONI                MEJIA               CO     33035783267
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 197 of 2350


58B4269923B388   RHYNA        YAGER                        CO     33047916992
58B43381933696   PORTIA       WATSON                       NC     90013953819
58B4338A772B25   LAWRENCE     JONES                        CO     90008393807
58B4361635B256   TERRY        HOWARD                       KY     90012346163
58B4433914B588   ERENDIRA     JUAREZ                       OK     90015363391
58B4442572162B   DANE         COLON                        OH     90014414257
58B4455655B387   TERESA       CARLSON                      OR     90005595565
58B44593958528   VICTOR       MASIAS                       NY     90015565939
58B447A195B236   CHARLES      WALZ                         KY     68019967019
58B449A767B46B   KELLY        THORLEY                      NC     11023549076
58B4511A75715B   GRACE        MINUS                        VA     90004451107
58B4557785B399   SHIRLEY      TRIPP                        OR     44591495778
58B4563A676B75   AIOTEST1     DONOTTOUCH                   CA     90015116306
58B45866257541   TYLER        MCCASLIN                     NM     90015518662
58B45A5835758B   KODY         GANNAWAY                     NM     90014150583
58B46219261965   ANALEE       NARANJO                      CA     90008892192
58B46272477568   FELIX        CHAVEZ MONTANEZ              NV     90003302724
58B46291724B43   JOQUA        BURTON                       DC     90007072917
58B46481A76B75   TATIANA      FALVAN                       CA     90008504810
58B464A2533696   DEMETRICE    JOHNSON                      NC     90003534025
58B46793772B88   DAN          GIECK                        CO     33085777937
58B46838772B43   EFREMTECLE   GEBREMARIAM                  CO     33083418387
58B4689A65B283   COURTNEY     BLACKMON                     KY     68014238906
58B47223761965   LEGRAND      LEWIS                        CA     90011542237
58B4773A876B75   JOSE         ARMANDA                      CA     90010437308
58B4831375B283   KAREN        GUERRA                       KY     68058693137
58B48476172B49   MICHAEL      SCROGGING                    CO     90012904761
58B48517151348   ELANA        MCCOY                        OH     90010165171
58B4879825B531   BRADLEY      WEBER                        NM     90013597982
58B48966361971   JENNIFER     MILNER                       CA     46062109663
58B48A24A2B27B   KAREN        THOMPSON                     DC     90005650240
58B49329691895   LILIANA      GARCIA                       OK     90003733296
58B4938945758B   JOSE         ZAVALA                       NM     90014833894
58B49659A61965   SONYA        RIOS                         CA     46012146590
58B4B32375758B   RAUL         ESTRADA                      NM     35590463237
58B4B7A6933699   CHUCK        HOLLEY                       NC     90013767069
58B4B7AA676B75   DIANA        SOTO                         CA     90012867006
58B4B914A24B43   DAWN         THOMAS                       DC     90013019140
58B4B969761965   SANDY        LITTLE                       CA     90005159697
58B4BA2635B239   JAZMINE      LARKIN                       KY     68010000263
58B5131187B356   GLADIS       PEREZ                        VA     90003263118
58B51381933696   PORTIA       WATSON                       NC     90013953819
58B5183375B239   KAYLA        SMITH                        KY     90015218337
58B52495961965   MARIA        SANDOVAL                     CA     46004384959
58B529A5572B38   ULISES       FLORES                       CO     90015099055
58B533A9A72B27   MARIA        LOPEZ                        CO     90006313090
58B53426533696   JAMES        BOND                         NC     90013954265
58B53A7224B562   JOYCE        WOODS                        OK     90009170722
58B54751961971   RICHIE       QUINTANA                     CA     90014367519
58B54848572B38   MAYRA        AVILA                        CO     33014008485
58B5698165B236   MARY         MCCLOSKEY                    KY     68081229816
58B56A61472B38   PAULINO      SANCHEZ                      CO     90011650614
58B5722825715B   YOLANDA      ARNEZ                        VA     90008842282
58B5778A16199B   BASSAM       SHAMOUN                      CA     90008687801
58B577A9331429   AUCTAYVIA    SNOW                         MO     90002537093
58B5795175B271   SHAUNA       GREENE                       KY     90002439517
58B58635676B75   MARC         PENA                         CA     90012206356
58B58714272B36   DALLAS       COLLIE                       CO     33017827142
58B587A535B239   PADILLA      JORGE                        KY     90008187053
58B5924A451348   DONNA        KING                         OH     66046432404
58B59517733696   EVITA        FREEMAN                      NC     90002895177
58B5982A972B38   MAURILIO     GONZALEZ GUERRERO            CO     90013558209
58B5995A34B588   NAKIA        WALKER                       OK     90007239503
58B5B378576B75   GLORIA       VALDOMINOS                   CA     90011523785
58B5B467841229   CAROL        WOEFEL                       PA     51014414678
58B5B625A5B399   WILL         BROCSEN                      OR     90014256250
58B5B827A72B88   OSCAR        MEJIA                        CO     90014718270
58B5B922361971   YVONNE       PRADD                        CA     46068109223
58B6131885B543   DANIEL       DUPRIEST                     NM     90001453188
58B6142775635B   LEONARD      COTTON                       IA     90014714277
58B6191635B387   BO-MANDELA   CORDETA                      OR     90014279163
58B61A9AA2B27B   WILLIAN      RAMIREZ                      VA     81036740900
58B62746972B38   ANTONIA      ORTIZ                        CO     90010377469
58B6289755B283   PAULA        ALLEN                        KY     90009278975
58B63383A5B387   GLORIA       RICHARDS                     OR     44520223830
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 198 of 2350


58B63526857541   LINDA        MCKINNEY                     NM     90012435268
58B639A1572B38   JOEL         RICHARDSON                   CO     90002629015
58B65495391869   ANGELA       MANLEY                       OK     90013284953
58B65629691921   CONFIDENCE   UMELO                        NC     90003326296
58B6566715758B   ROBERT       VASQUEZ                      NM     90012616671
58B6569754B588   MARY         ERVIN                        OK     90005276975
58B6571245B271   TERRY        MARSHALL                     KY     90006337124
58B65A24A2B27B   KAREN        THOMPSON                     DC     90005650240
58B666A5A76B75   YESENIA      VALENZUELA                   CA     90014916050
58B66812733696   BRAVLIO      COYOY                        NC     90013968127
58B66913872B27   TONY         PRINZ                        CO     33085369138
58B67194351348   AARON        LEWIS                        OH     90013821943
58B67266858528   AMBII        STEELE                       NY     90013602668
58B67796A5758B   SANDRA       MOLINA                       NM     35570297960
58B68122624B43   HELEN        CHASE                        DC     90013021226
58B68155957541   TIM          ANDERSON                     NM     90010021559
58B68475561971   SAMUEL       GARCIA JIMENEZ               CA     90005444755
58B68997A57541   MONIC        BACA                         NM     90015519970
58B6975AA72B38   MARLENE      REYES                        CO     90005187500
58B6986924B588   EFREN        ACOSTA GARCIA                OK     90013058692
58B6B56834B28B   KRISTI       WADE                         NE     90005145683
58B6BA9647B46B   CINDY        MERANI                       NC     90013930964
58B71679372B36   RICOBERTO    TAMAYO                       CO     90010356793
58B72817377568   HANK         JOHNSON                      NV     43075078173
58B72883A4B588   RODNEY       SMITH                        OK     90013638830
58B72888872B36   UNIQUE       WILLIAMS                     CO     90008268888
58B72913172B27   MARTHA       RIVERA-CERVANTES             CO     90004679131
58B7299115B239   CHAUNCEY     RESKETTS                     KY     90013059911
58B72A38191895   JEREMY       ROBERTS                      OK     90012240381
58B7348395B387   CRYSTAL      YOUNGE                       OR     44570974839
58B73485972B88   BALTAZAR     PEREZ                        CO     33073484859
58B737A1633696   RAFAEL       SOSA                         NC     90014337016
58B7394754B588   ALEJANDRO    MORAN                        OK     90011239475
58B74635955935   JOSE         ZUNIGA                       CA     90007706359
58B74853791895   CARSON       STATEN                       OK     90013228537
58B74A6A272B98   JORGE        ALVAREZ                      CO     33011220602
58B755A1A95196   WESLEY       BARNES                       CA     90014825010
58B76285361965   AMER         ISAK                         CA     90012392853
58B7686625B531   JOSE         TREVINO                      NM     90008988662
58B7687227B46B   XEP          DU                           NC     90015218722
58B769A295758B   FRANCISCO    SOLIS                        NM     90004929029
58B7749127B46B   BUDHA BIR    SUBBA                        NC     90013924912
58B78463133696   LATANIA      MARROW                       NC     90012404631
58B78A78177568   PHILLIP      DARVAL                       NV     43001950781
58B7971222B959   PATRICIA     MORAN                        CA     90007277122
58B7B394933699   ANNA         REED-HOOPER                  NC     90007093949
58B7B822433696   JANE         DOE                          NC     90013968224
58B7B884297B51   BERTHA       BATRES                       CO     90013488842
58B7B91545758B   LOIS         SIFUENTES                    NM     90004989154
58B7B94294B588   EUGENE       WILSON                       OK     90011239429
58B7B98627B46B   SONYA        HOOD                         NC     11008079862
58B7BA8854B521   CLAUDIA      GALINDA                      OK     90011420885
58B82544472B49   MICHELLE     GOMEZ                        CO     33074545444
58B825A225B239   LUKE         THE GREAT                    KY     90012635022
58B8289545715B   WILVER       CASTRO PEREZ                 VA     81000808954
58B8355252B29B   SHARITA      BANKS                        DC     90000215525
58B8361425758B   KRYSTAL      VENZOR                       NM     90013426142
58B84578A5B236   CAROLYN      SEELEY                       KY     68016005780
58B853A935B543   EVA          CASTILLO REYES               NM     35000253093
58B86244324B45   JOSE         RUBIO                        DC     90004332443
58B86375172B38   JESSICA      SCAMAN                       CO     90014773751
58B8639274B588   BRAD         BELLER                       OK     90002733927
58B86745872B43   ANNA         MARIE TANORE                 CO     90010837458
58B8686A833696   JOHN         SMITH                        NC     90013968608
58B87683433696   DERRICK      SCALES                       NC     90015166834
58B8892934B588   RHONDA       AMBROSE                      OK     90013059293
58B88A18372B49   BOB          HENNEMANN                    CO     33085620183
58B88A2924B28B   MINDEE       RAZO                         NE     26011500292
58B89516133696   SILAS        KBUOR                        NC     90010555161
58B8B143572B58   AZUCENA      CORCHADO RODRIGUEZ           CO     90012091435
58B8B967772B49   MARIA        CRUZ                         CO     90014429677
58B8B97737B46B   MARIETTA     PACE                         NC     90009209773
58B9171225B399   LACERRA      MCKENZIE                     OR     90004977122
58B91868133696   MIKE         MILLER                       NC     90013968681
58B91A42572B38   KARLA        LOPEZ                        CO     90004550425
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 199 of 2350


58B926A9433699   TIMOTHY        MORTON                     NC     90010956094
58B9287A733696   WHITNEY        BUTLER                     NC     90013968707
58B92887972B27   DAVID          CRAINE                     CO     90012448879
58B9332144B588   KARI           SMITH                      OK     90013403214
58B93349233699   MARTINA        BLYTHER                    NC     90014923492
58B9423937B46B   AURELIO        MARTINEZ                   NC     11097872393
58B94284851348   KORDELL        ALLISON                    OH     90012842848
58B94877972B36   TERESA         JESUS                      CO     33017318779
58B95595158528   LUIS ANTONIO   MENDOZA                    NY     90015565951
58B9591245B399   EDWIN          PUC GAMBOA                 OR     90010169124
58B962A7572B49   RUBY           TRUJILLO                   CO     90012042075
58B96365444352   JESSICA        BLAND                      MD     90015353654
58B9646377B46B   OTISHEA        PIERCE                     NC     90014044637
58B9697615B399   IRENE          CANO                       OR     90013989761
58B96A47851348   JASMIN         WRIGHT                     OH     90013960478
58B96A4A35B239   DONNA          WILLIAMS                   KY     90009900403
58B97158558528   FILIMON Y      HAGOS                      NY     90010441585
58B97279391895   SUZANNE        SITE                       OK     90012582793
58B977A365138B   JUAN           TORRES                     OH     90012457036
58B9845464B521   JERMAINE       BROOKS                     OK     21501734546
58B98831661971   MARC           BOYKINS                    CA     90003708316
58B988A8172B38   AMANDA         RODRIGUEZ                  CO     33016608081
58B99214251348   ERICA          TOLBERT                    OH     66031942142
58B99367272B27   ANTHONY        LOPEZ                      CO     90013013672
58B99558972B36   CARLOS         DERAS                      CO     90014525589
58B9967844B521   VERONICA       DA LA O DUQUE              OK     21531406784
58B9974365B531   JAMES          PRASEK                     NM     35044627436
58B9995415B387   JOSHUA         COLE                       OR     90010859541
58B9996227B424   VICENTE        FRANCO                     NC     90007579622
58B99A3A55B399   JOSHUA         HUGGINS                    OR     90012290305
58B99AA4451383   VIOLA          SMELCER                    OH     66017180044
58B9B22597B49B   KYLUNTA        MASON                      NC     90010822259
58B9B366A5758B   ROSA           RASCON                     NM     90012203660
58B9B7AAA5132B   KNYOKA         WILLIAMS                   OH     90014627000
58B9BA5762B973   YOANA          FLORES                     CA     90010680576
58BB147462B27B   RONNIE         GRAY                       DC     81033164746
58BB25A214B588   NASREEN        BEGUM                      OK     90014915021
58BB3883976B75   YULMA          ZEPEDA                     CA     90013698839
58BB3975A4B588   TIFFANY        GILBERT                    OK     90004149750
58BB4253172B49   JORGE          MARTINEZ                   CO     33028332531
58BB4263731429   DAVID          WILLIAM                    MO     27596102637
58BB434987B46B   ELTON          HOWIE                      NC     90014083498
58BB4913A72B27   MARIA          DEMARCO                    CO     33025439130
58BB499235758B   SALLY          GONZALES                   NM     90013089923
58BB5328133696   NADEZSHA       HERBERT                    NC     12091393281
58BB5A15131428   MELISSA        SCHNEIDER                  MO     90006800151
58BB636635B239   ERIC           ASHMORE                    KY     90005913663
58BB6742161965   EDWARD         SOMMERS                    CA     90012767421
58BB72A135B387   JOSE           AVALOS                     OR     90011582013
58BB7313A72B49   KIMBERLY       ESPARZA                    CO     33085363130
58BB737385B239   VERNON         ENGLE                      KY     90014853738
58BB7912972B38   KELLEN         SCOTT                      CO     90004879129
58BB7A74251383   KELLY          LOVE                       OH     66087140742
58BB818487B46B   TANIQUA        HORNE                      NC     90008841848
58BB8942972B43   JESSE          VYHNALEK                   CO     90014899429
58BB8A24761965   MARCO          DELGADILLO                 CA     90000980247
58BB954775758B   TERRY          NIETO                      NM     35538845477
58BB95A4497957   SILVIA         TORRES                     TX     90012695044
58BB967A342363   MEGAN          BAUER                      GA     90002746703
58BB9733633699   BEATRIZ        GARANZUAY RODRIGUEZ        NC     90012327336
58BBB99395B239   DEBRA          COSTA                      KY     90007759939
5911127485B387   MORIIA         DRAHOS                     OR     90015202748
5911144355B531   LETICIA        GONZALEZ                   NM     90014764435
5911162A22B27B   TIFFANY        BROOKS                     DC     90013076202
5911231417B46B   CARLOS         AREVALO                    NC     90015033141
59112987572B43   EMERSON        SANTACRUZ                  CO     90013719875
5911313872B237   FAHIM          SHABAZZ                    DC     90000151387
59113153A72B38   ELIZANDRO      RIVERA                     CO     90014721530
59114521172B27   ROBERTO        NIEVES                     CO     33037555211
591148A327192B   DENISE         QUINTAN                    CO     32081998032
59115A49772B38   NATALIE        ELLIOT                     CO     33030520497
5911657355B387   CINDY          WALKER                     OR     44571835735
5911663AA55971   AIOTEST1       DONOTTOUCH                 CA     90015116300
59116A27772B38   TYLER          DORY                       CO     90010250277
59116AA2924B43   NACHE          REESE                      DC     90011220029
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 200 of 2350


59117623A57591   REYNA                 SORIANO             NM     90012856230
59117721772B33   JOSHUA                NELSON              CO     90001577217
59117833A2B27B   VANTASA               WASHINGTON          DC     90011338330
5911785A84B28B   TAMISHA               LEE                 NE     26032448508
5911794617242B   NATHAN                WESTON              PA     51024459461
59118665872B36   CHRISTOPHER           BARMANN             CO     90014426658
59121325A57541   ROXANA                AGUILAR             NM     90014803250
5912135244B561   CLARENCE              LEWIS               OK     90011133524
59121637224B43   DONTAYE               CHANDLER            DC     90014156372
5912174855758B   ARMIDA                BARBA               NM     35526677485
59121764172B38   JESSE                 PONCE               CO     90008487641
59121A1915715B   GRANT                 MILES               VA     90012440191
59121A26791895   PAUL                  HERITAGE            OK     21064260267
5912214352B245   ANGELA                OLIVER              DC     90014701435
5912246865715B   ELSY                  ABIGAL              VA     90004544686
591232A517B46B   TRINETTA              BACOTE              NC     90013932051
591237AA631429   KATHERIME             PIPPINS             MO     27512147006
59123AA554B588   JACOB                 MARTIN              OK     90007780055
5912418687B46B   SHAINA                BREITOWICH          NC     90014231868
5912447774B588   CHASE                 MOSELEY             OK     90007474777
59125151372B36   MICHAEL               HAMMONTRE           CO     33038171513
59125222472B38   AMBROSIO              FRUCTUOSO           CO     33081722224
59125337A5758B   PHILLP                URBINA              NM     90013343370
59125A9953B356   ROBERT                PETTY               CO     33015280995
59126728372B27   ROBERT                DENNY               CO     90012837283
59126837472B38   YARELY                FLORES              CO     90010828374
59126A3859139B   HEATHER               LOEFFLER            KS     90003510385
59126A77772B43   CHRISTINA             YERKE               CO     33008600777
5912712A172B36   JOSE                  AMAYA GALINDO       CO     90010371201
59127221A72B38   JENNIFER              JUAREZ              CO     33030522210
5912723424B588   TRAVIS                ELLISON             OK     90014422342
59127424A57127   DONATIENNE SANDRINE   DOMITIEN-D          VA     90008774240
59127553A5B387   MONICA R              BROWN               OR     90012815530
5912791497B46B   ANTOINE               REID                NC     11005069149
59127A3859139B   HEATHER               LOEFFLER            KS     90003510385
5912949588B195   LORI                  NAVARRO             UT     31001044958
59129598397B54   HANG                  HERNANDEZ           CO     39074535983
5912B5A1661971   JERMIAH               VINCENT             CA     90002555016
5912B5A752B245   RAMOS                 WILLIAMS            DC     90013875075
5912B92855B387   TERRI                 PIETROMONACO        OR     90007579285
5913155517B46B   LINDA                 SMITH               NC     11054725551
5913184542B245   MARTA                 LEWANDOWSKA         DC     90007028454
5913197832B27B   CODY                  OSWALDO             VA     90011939783
5913251A22B27B   DAVID                 LONG                DC     90013055102
591326A4457541   AMANDA                SOLIS               NM     90014816044
59133759172B38   HECTOR                RUIZ                CO     90007727591
591338A9851348   STEPHANIE             HAVENS              OH     90003888098
59133A23293724   JOSEPH                PENNY               OH     64569040232
5913422622B95B   ARACELI               TRUJILLO            CA     90013322262
591344A857B46B   SHEREAKA              PARKS               NC     90005404085
5913478977B46B   TEVIN                 REID                NC     90013957897
59135197A4B588   SIERRA                GABRIEL             OK     90012571970
5913641915758B   ADRIANA               LIRA                NM     90011044191
5913727485B387   MORIIA                DRAHOS              OR     90015202748
5913767942B27B   ADAN                  LAZO                DC     90014866794
5913768897B46B   MARICELA              CUELLAR             NC     90011276889
59138694972B25   ROME                  WALSH               CO     90013726949
59139843372B49   JUAN                  HERNANDEZ           CO     33018108433
59139A53751348   VIDAL                 CHAVA               OH     90010420537
5913B44625B531   JAMES                 SIMPSON             NM     90014764462
5913B57A62B245   KEITH                 ALLEN               DC     90011635706
59142882A7242B   GEORGE                NEAT                PA     51033438820
59146162772B43   IVETTE                FLORES              CO     90010181627
59146549A5758B   CHRISTOPHER           LOPEZ               NM     90012865490
59146A5535715B   JUAN                  UMANZOR             VA     90012370553
59147923A2B27B   CRYSTAL               HAMILTON            DC     90010969230
5914796A75758B   LORETTA               GALLEGOS            NM     35508199607
59147A5262B27B   DEBRA                 WATKINS             DC     90014020526
5914833245B399   MICHELLE              BUCK                OR     44590333324
5914883475758B   FELIPE                MARTINEZ            NM     90007778347
5914892A254151   ANDREA                WHITELEY            OR     47007099202
59148A3A972B49   TABATHA               GARCIA              CO     33035070309
59149648A61971   JIHYUN                YANG                CA     90014006480
59149847A7B424   JOSH                  WALLACE             NC     90002758470
59149A2645758B   DEBORAH               BARELA              NM     90004490264
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 201 of 2350


5914B634872B43   MARRISA      WHITNEY                      CO     33051676348
5914B92A572B49   GUSTAVO      FERNANDEZ                    CO     90012389205
5914BA64372B36   JESS         JOHNSON                      CO     33026270643
5915122545758B   BRANDON      DUNN                         NM     90007902254
5915178642B27B   TIMYRA       ROUNTREE                     DC     90012797864
59151989972B38   SERGIO       SAENZ                        CO     33090509899
5915262947B46B   SANTIAGO     ARSNA                        NC     90015176294
59153894972B36   NORBERTO     MOJARDIN                     CO     33059908949
59153923772B27   GINA         MONTOYA                      CO     33028309237
59153A13957541   JOSEPHINE    PRENGER                      NM     90011680139
5915441912B245   ERIKA        BLUE                         DC     90011994191
59154848172B38   EFRAIN       TINOCO                       CO     33074558481
5915569795758B   KRISTIN      TWOMBLY                      NM     90009846979
5915732464B559   JESSICA      MOUNT                        OK     90001233246
59157484572B27   MARIA        FILETO                       CO     90004804845
59157A78951348   DAVID        BAUER                        OH     66002000789
59158718A72B38   MARTINEZ     NARDALIA                     CO     33037037180
59158A7988B188   AMBER        HANSEN                       UT     90010740798
5915973935758B   GONZALEZ     MARTIN                       NM     90002997393
5915982757B395   SALVADOR     SANCHEZ                      VA     90006348275
5916134595B399   MIKE         RENNIE                       OR     44528283459
591613A225758B   SILVIA       HERNANDEZ                    NM     90006583022
5916233A75B283   MELISSA      COLE                         KY     90007283307
59162476A44B85   NINA         SANCHEZ                      OH     90015374760
59163419272B36   JUANITA      RESENDEZ                     CO     33041424192
5916358975715B   MIR          MONSOR                       VA     90012825897
591639AA57B46B   AMBER        OUTLAW                       NC     11009769005
59163A9715758B   ROSE         YBARRA                       NM     90014520971
5916421827B46B   JASMIN       BRICE                        NC     11063532182
5916461375B387   FERNANDO     BRAVOE                       OR     90005776137
591657A9157541   BETTINA      MCKINLEY                     NM     90005977091
5916679385715B   ERLANGGA D   GRANT                        VA     90006097938
59166A13157541   BLESS        WAHLER                       NM     90014850131
59168A17872B49   ALVARO       VILLALOBOS                   CO     33062930178
5916992335B283   SHERISE      STRUGGS                      KY     68011749233
591699A442162B   SELENA       COOPER                       OH     90014419044
5916B318493724   VICTOR       HIL                          OH     90014763184
5916BA3A991895   JENNIFER     HARBERT                      OK     90012370309
5917219A97B46B   JAZMIRE      BENNETT                      NC     90013931909
59172758A2B868   SUSANNE      HOLSMAN                      ID     90009197580
5917293A54B588   KATHERINE    MUIR                         OK     90012959305
5917294745715B   TASHIA       HARRIS                       VA     90014609474
59172966672B36   ARTURO       QUEZADA                      CO     90012679666
5917523572B27B   DARIN        HARPER                       DC     90014152357
5917538634B588   CANDICE      BERRY                        OK     90009453863
5917568837B46B   EMMA         GALLARDO                     NC     90012336883
59176173372B36   NICOLE       GAMBOA                       CO     90010971733
59176523772B49   JUAN R       RIZO                         CO     33077535237
5917666A52B27B   TIFFANY      BROOKS                       DC     90011136605
591766A6172B43   JACOB        YOUNGER                      CO     90010736061
591776AA32B536   SALVADOR     JIMENEZ                      AL     90014596003
5917827162B245   JAKE         ROACH                        DC     81062112716
5917926445715B   ABEL         ARAGON                       VA     81013352644
5917976A155971   MARIA        SOSA                         CA     49087717601
59179922772B49   DIANE        STEWART                      CO     33016819227
5917B286833699   KAYE         BRABHAM                      NC     12071302868
5917B38A457541   HOPE         DUTCHOVER                    NM     90014863804
5917B557772B27   WILLIAM      KANTOS                       CO     90003535577
5917B779972B24   DAWN         EMMERLING                    CO     90003907799
5918226A92B27B   BRANDON      EDWARDS                      DC     90012412609
5918234865758B   PEDRO        SANCHEZ-PALOMARES            NM     90009533486
5918238885715B   ERIK         MCDOWELL                     VA     90000773888
591823AA77B46B   CIRINO       PENA                         NC     90011583007
5918398538433B   TONY         POLLEN                       SC     90010879853
5918418425B387   BENJAMIN     TUCKER                       OR     90014481842
59184669872B49   JEAN         HACKER                       CO     33066596698
5918477825B399   DEREK        STENERSON                    OR     90003317782
59185A3A472B43   SERGIO       ESPARZA                      CO     90004820304
59186734976B75   MARGARITA    SANCHEZ                      CA     46098797349
59186AA4872B38   MIGUEL       ANAYA                        CO     90009640048
5918741295758B   TODD         BRATHOLT                     NM     90011514129
5918783A261971   JESSIKA      WEITZ                        CA     90012048302
59187AA3572B93   LEONA        TRUJILLO                     CO     90001150035
59188249472B36   ROBERT       MONTOYA                      CO     90014232494
5918827354B588   BERTHA       MARTINEZ                     OK     21540912735
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 202 of 2350


5918844172B27B   BAKRI           NUR                       DC     90005674417
591888A185B387   JUAN            UC BALAM                  OR     90014938018
59189874472B49   KELLEN          FLEMING                   CO     90010518744
5918B1A4955971   MAYRA           LUVIANO                   CA     90012561049
5918B2A517B46B   TRINETTA        BACOTE                    NC     90013932051
5918B39295715B   VICTOR MANUEL   LOPEZ ENRIQUEZ            DC     90013723929
5918B656172B38   SOFIA           CASTILLO                  CO     33036986561
5918B663A97B54   JOSE            DOZAL                     CO     39041686630
5918BA15A5758B   MARIA           GOMEZ                     NM     90003740150
5918BA17661971   MARIA           CANALES                   CA     90009020176
5919137AA57157   LENIN           GUEVARA                   VA     81086343700
5919155162B27B   PENNY           DIXON                     DC     90013745516
5919252119198B   BRIAN           LOW                       NC     90014865211
591926A6391587   BERNICE         CERVANTES                 TX     90014886063
591932A517B46B   TRINETTA        BACOTE                    NC     90013932051
5919364815758B   RUTH            FAUDOA                    NM     90013836481
59193869272B38   MULAT           ZEWDE                     CO     33030528692
5919423635715B   STEPPHANIE      WATTS                     DC     90007482363
59194593372B43   MIRAM           GONZALEZ                  CO     90012605933
5919466357B46B   GRACE           DAWKINS                   NC     11096046635
5919528864B588   VALENTIN        SANCHEZ                   OK     21505592886
59195488A31429   DEBRA           LATTA                     MO     27598594880
59195A5427B65B   PATRICIA        HARRIS                    GA     90011410542
59195A5A172B24   MARIA           CASTANEDA                 CO     33084780501
59196149A91895   DION            DOUT                      OK     21074471490
591963A822B27B   MARNIE          LARY                      VA     90002383082
5919753A591895   ORVILLE L       BANKS JR                  OK     21051635305
5919838365758B   DESIREE         JAUREGUI                  NM     90014843836
5919893994B588   JASMINE         DIGGS                     OK     90015179399
59198A74891587   JENNIFER        BRIONES                   TX     90012060748
59199A1A657541   MANUELA         SALAS                     NM     35514620106
5919B142155971   ELISA           CERVERA                   CA     90014241421
5919B39587B496   LILLIAN         DURAND-MARTIN             NC     90007643958
5919B82858B12B   ANTONIO         SALINAS                   UT     90007958285
5919B863772B49   ERIC            LINDBACK                  CO     90007538637
591B1169861965   GLENDA          GREEN                     CA     90011571698
591B11A4A91524   ALEJANDRO       RIVERA                    TX     90012631040
591B176932B27B   SHARON          REED                      DC     81039887693
591B322A655971   CHRYSTALL       FOREST                    CA     90015322206
591B32A237B46B   ALEJANDRO       RUBIO                     NC     90013932023
591B3333A72B38   NORA            RUIZ                      CO     33059343330
591B393885758B   MAIAH           SOTELO                    NM     90013739388
591B3953451348   JOHN            CULP                      OH     66056019534
591B421855B531   CHARLIE         PEREZ                     NM     35069912185
591B4413157541   MARGIE          MORENO-RIVERA             NM     35500574131
591B4911193724   ZETH            SPURLOCK                  OH     90012779111
591B4A28733699   MIRANDA         GENTRY                    NC     90013930287
591B523235B387   MARK            LANDRETH                  OR     44516562323
591B536455715B   NELSON          TREJO                     VA     90007383645
591B5465661971   ROBERT          HOLLAND                   CA     90002744656
591B54A8833699   SHARON DENISE   CAPENTER                  NC     90002924088
591B6185191587   ANTHONY         GILLETTE                  TX     75044581851
591B6199957541   CREL            BRADLY                    NM     90014781999
591B637715B531   PETER           SANDOVAL                  NM     35003953771
591B639295715B   VICTOR MANUEL   LOPEZ ENRIQUEZ            DC     90013723929
591B6454361971   IRMA            OLIVER                    CA     90002804543
591B717985B531   GERARDO         MESTA                     NM     90001841798
591B822A17B395   ALEXIS          LAZO                      VA     81012392201
591B86A1857541   LUZ             MARTINEZ-HERNANDEZ        NM     35554446018
591B8861472B43   JAVIER          ALMARAZ                   CO     33061428614
591B9378957541   MARKUS          TESSMER                   NM     90014783789
591B9A7657B46B   DAWN            DIX                       NC     11084510765
591BB91644B28B   JODI            LOOS                      NE     90008179164
591BB921491895   JAMIAH          ARMSTRONG                 OK     90010659214
591BBA45257541   CAMERON         HUNTER                    NM     90014780452
5921215975B531   MARGARITA       VELASQUEZ                 NM     35070931597
592122A627B46B   ADONY           FUENTES                   NC     90013932062
5921299612B245   ANTHONY         MALONE                    DC     90011639961
59212AA845B271   LATAVIA         HENDERSON                 KY     90002510084
59213922172B49   RAYMOND         GUTIERREZ                 CO     33074479221
592141A4757157   GIL POMACAYO    MONTOYA                   VA     90013811047
5921428285B531   ERICA           NIETO                     NM     90009832828
5921536665B387   SARAH           MARZOUK                   OR     90007023666
5921539195758B   HENRY           CASANOVA                  NM     90011003919
5921562417B46B   ALLAN           FAGGART                   NC     90013246241
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 203 of 2350


59215664A72B49   TODD               STEEGE                 CO     90001026640
59215A18633699   RUTH               BRINKLEY               NC     90013610186
59215A6685715B   ERIKA              MOLINA                 VA     90002590668
59216637A93724   CHRIS              BRAND                  OH     64508796370
5921694A791587   WOODY              HELM                   TX     90010909407
592169A2876B75   JESUS              JESUS                  CA     90005929028
5921777772B27B   RYAN               JACKSON                DC     81037557777
5921945A351348   MIRACLE            ALVARADO               OH     90011154503
5921965795B241   GALE               HUNT                   KY     90012856579
5921B2A517B46B   TRINETTA           BACOTE                 NC     90013932051
5921B626451348   OLGA               REDONDO                OH     90011546264
5921B741633699   FRANKIE            EVORA                  NC     90002357416
5921B972151383   ROBERT             NEELY                  OH     66028149721
5921BAA677242B   WILLIAM            HOUSEHOLDER            PA     51083210067
5922128824B588   CATHERINE          POLK                   OK     90012582882
59221819172B38   DONAVAN            QUALLS                 CO     33012498191
59222A4248564B   CHRISTIAN          PEREZ                  NJ     90002120424
59223884972B38   BERNADETTE         GALLEGOS               CO     33065668849
59224A5A25715B   ALEXANDER          BETANCOURT             VA     90001910502
59225156876B85   ROBERTO            MONTOYA                CA     90002281568
5922612665B271   TERRY              HUFFMAN                KY     90010891266
59226215672B36   MARYANGEL          CISNEROS               CO     90014282156
592266A617B367   JENNIFER           RILEY                  VA     90014516061
592268A8257541   MUTSUMI            SMITH                  NM     90011728082
59226AA412B245   KEVIN              EVANS                  DC     90012600041
5922721A361965   MARITZA            PEREZ                  CA     90011962103
5922745494B588   KEILA              HERTA                  OK     90008074549
5922746685758B   DELFINO            ALVAREZ                NM     90001214668
59227A3A94B28B   CHELSIE            WALKER                 NE     90005710309
5922825A27B46B   SANDRA             MILLER                 NC     90013682502
5922898484B588   MARIO              SINGLETON              OK     90015089848
5922912725B271   DOROTHY            PITTS                  KY     90002511272
5922933632B27B   MICHAEL            LEE                    DC     90006603363
5922977285B387   STEPHANI           WORKMAN                OR     44591237728
59229953772B43   OSCAR              ROJAS                  CO     90012269537
5922B79175715B   MISHA              SAMUELS                VA     90011387917
5922B81A593724   DAVID              SHONKWILER             OH     90012878105
5923158455B531   ANDREA             OLIVAS                 NM     90014765845
592324A1751348   NICOLE             DOUGHERTZ              OH     90007044017
5923279137B46B   JAPANA             JOSEPH                 NC     11087937913
59233521A4B28B   BRENDA             STEINHAUER             NE     26054815210
59233634272B49   MARILYN            MENROE                 CO     90014336342
59233695872B24   RUBEN              ORTIZ                  CO     90006816958
592337A3655971   NADINE             HERNANDEZ              CA     90014547036
59233A3532B245   WENDY JO           HAYNES                 DC     90007330353
59233A6535B387   JOSHUA             ROTH                   OR     90012940653
59234232772B43   NELSON             ROJAS                  CO     33004422327
5923536A27B46B   RAYMUNDO           NAVARRETE              NC     90005093602
5923561A972B36   BRIDGITTE DENISE   WOOD                   CO     90013046109
5923626982B27B   MAURICIO           MENDOZA                DC     90013632698
5923637652B245   SOMAIYAH           PEEBLES                DC     90013093765
59236833472B49   BREE               MEREDITH               CO     90009738334
5923684A78B199   ANGELA             SPENCER                UT     90008018407
5923719845758B   CINDY              TORRES                 NM     90004261984
5923719A991942   CHARLES            WASHINGTON             NC     90010771909
5923765A533699   DARRON             CAMPBELL               NC     90011296505
59237A21255971   ERIC               SANCHEZ                CA     90011070212
5923814974B588   RODAS              OLIDAMA                OK     90009391497
59238871172B49   AMBER              CRAIGG                 CO     90011788711
59238923A5758B   LAURA              MILLER                 NM     35533029230
59238A23672B36   JORGE              PALOS CERVANTES        CO     90012030236
59239375172B36   SHAWNTEL           WILSON                 CO     90014923751
5923947395758B   ROSARIO            BARELA                 NM     90014444739
59239936272B36   SHAWNTEL           WILSON                 CO     90013029362
5923994732B27B   SANTOS             COREAS VALDEZ          DC     90008539473
5923B136272B43   RITA               AGUINAGA               CO     33015701362
5923B24115B387   DERENEE            LA TEENYA              OR     44587702411
5923B245A61965   MARIA              TORRES                 CA     90013882450
5923B3A245B283   RON                HEATH                  KY     68080993024
5923B58455B531   ANDREA             OLIVAS                 NM     90014765845
5923B653872B36   JEANNETTE          BAILOR                 CO     90012316538
5923B86A161965   MARIA              TORRES                 CA     90006318601
5924119647B46B   MARIA              SANDERS                NC     11071991964
5924157264B559   MANUEL             RAMIREZ                OK     90008385726
5924227594B588   CLARISS            BLANTON                OK     90010812759
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 204 of 2350


59242352172B38   PRISCILLA     RAMIREZ                     CO     90013163521
5924243A191587   CLAUDIA       VENTURA                     TX     90012894301
5924352395715B   AURELIO       LOPEZ                       VA     90012065239
5924465A191895   CARLOS        VALDEZ                      OK     90012236501
5924468275715B   TAMARA        BAILEY                      VA     90014916827
59245831A93724   MICHAEL       PRESTON                     OH     64536258310
59246216872B27   TERRY         NICHOLAS                    CO     90014532168
5924622795715B   JOSE          HERARTE                     VA     90003992279
59246471872B38   DAVID         RAMOS                       CO     90013934718
59247AA252B95B   JOAN          BRADFORD                    CA     90000480025
592481AA75859B   EXAR          ONZALES                     NY     90015401007
59248564A72B38   AJSHA         BURTON-HOBLEY               CO     90008105640
59248A57261965   MATT          WALKER                      CA     90015070572
59248A85861965   MARIO         RESENDIZ                    CA     90013770858
59248A87733699   MARIA         JACOBO                      NC     90002370877
5924953A15B399   ALADE         PAGE                        OR     90005355301
5924B365872B27   LINDA         ALCANTOR                    CO     90014443658
5924B6A3591587   ANGEL         RICO                        TX     90014916035
5925127A24B588   CODY          LASITER                     OK     90013002702
5925133815B531   SHAQUILLE     MARTINE                     NM     90014783381
5925185252B27B   DEBORAH       SMITH                       DC     81028148525
5925239694B299   DEBRA         PETRY                       NE     90013163969
59252429572B36   NICOLA        WILSON                      CO     33053764295
592527A525758B   STEVEN        MALDONADO                   NM     90013867052
59252A13661971   MARIA         GUEVARA                     CA     90006820136
59253418A33699   ROMEO         HALL                        NC     90014964180
59255A84772B49   ZORAIMA       CRUZ                        CO     33037990847
5925622675715B   WILFREDO      FUNEZ                       VA     81095822267
59256913372B27   ANA           SIMENTAL                    CO     90002609133
5925725722B245   NATHANIEL     LEWIS                       DC     81001372572
59258156572B27   EDNA YADIRA   DIMAS MEDINA                CO     90009831565
5925831244B588   DYLAN         CAREL                       OK     90011623124
592589A2772B27   EDNA          DIMAS                       CO     90013409027
59259249572B38   GERARDO       VALDEZ                      CO     33030532495
59259335172B27   MARIA         SAUCEDO                     CO     33060903351
59259517672B49   CARMONA       ADRIANNA                    CO     33030205176
5925B62A472B43   EDITH         OGBONNA                     CO     33044086204
5926243985715B   DAVID         IMMANUEL                    VA     90014774398
59262A17672B38   SAMANTHA      DAVID                       CO     90014050176
59262A3257B46B   ENRIQUE       BENTON                      NC     90005690325
5926332714B588   TEIRRA        BROWN                       OK     21536463271
59264286A5B531   LORENA        APODACA                     NM     90010812860
5926432714B588   TEIRRA        BROWN                       OK     21536463271
5926447665B283   ROACH         MARY                        KY     68052504766
5926454675758B   ASHLIE        HERNANDEZ                   NM     35506485467
59264A6732B27B   INDIA         HOLMES                      DC     90015090673
592664AA772B27   MICHAEL       ROYAL                       CO     33051374007
5926682895B243   RAFAT         SADFI                       KY     90013518289
5926763185B283   BROOKE        BURD                        KY     90004606318
5926792A272B27   ARAYELY       SOLORIO                     CO     90011879202
5926827A291587   KRISTIN       LOZANO                      TX     90004252702
59268448172B43   MINASE        SHABAIT                     CO     90014084481
59268492A51348   SARAH         HOBBS                       OH     90014784920
59268876576B67   CARLOS        JIMENEZ                     CA     90014658765
5926888125758B   ROLAND        BELANGER                    NM     90004078812
59268A1574B588   DANIEL        TIDWELL                     OK     90014780157
59268A36497B54   THADDEUS      JARMILLO                    CO     39086480364
5926B649391576   SALVADOR      RAMOS                       TX     90011086493
5926B742855971   LEO           GONZALEZ                    CA     90012427428
5926B85434B28B   NAOMI         BROCK                       NE     90006158543
59271346A7B46B   SHAQUANNNA    MILLS                       NC     90012173460
5927152AA91895   JAIME         CARTER                      OK     90009995200
5927233944B588   DUSTIN        PHIFER                      OK     90000303394
5927241295758B   TODD          BRATHOLT                    NM     90011514129
5927354225B531   ADETTE        GONZALES                    NM     90014775422
5927514A772B43   DANIELLE      TRUJILLO                    CO     90007881407
5927517757242B   BRIEANNA      HOFFNER                     PA     51059521775
592751A7261965   SHANNON       TEBBE                       CA     90012951072
5927555935B387   MARK          THOMPSON                    OR     44538045593
592762AAA57541   CINDY         HANNAN                      NM     90006222000
59277589772B38   MARIA         LOZANO                      CO     90008105897
59278859A72B38   BIANCA        HERNANDEZ                   CO     33049838590
5927B36A872B49   TAMISHA       MACKLIN                     CO     90011053608
5927B41835758B   NANCY         RYAN                        NM     35519364183
5927B515276B97   JUANA         DIEGO                       CA     90004395152
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 205 of 2350


5927BA1A991587   EDUARDO      HERNANDEZ                    TX     75095870109
59281592172B36   JEANNETTE    THOMAS                       CO     33067965921
5928167762B245   LUIS         MORALES                      DC     90007816776
5928213A15B531   SCOT         SUTFIN                       NM     35042571301
5928329772B27B   DENA         HEPBURNS                     DC     90007542977
59283372A5758B   FONSECA      BRITTANY                     NM     90008153720
5928358265B283   VALLE        ENCARNACION                  KY     68037645826
59283825A5B531   ROBERT       BOYER                        NM     35094558250
59283A87351348   TYRONE       NORMAN                       OH     66096800873
5928514317B46B   MARIA        MARTINEZ DE AGUILAR          NC     90014581431
5928564A84B588   DAWN         HICKMAN                      OK     90014226408
59285A6546192B   JAVIER       PASTRANA                     CA     90004050654
59286324872B24   MARLON       FRAZIER                      CO     33046363248
59286743272B38   SOSTENES     FLORES                       CO     90009677432
5928722855B531   ROCHELLE     GONZALES                     NM     35004522285
59287A36672B27   ANTONIA      GONZALEZ                     CO     33085500366
5928829295B531   ESMERALDA    RODRIGUEZ                    NM     90010812929
5928848428B191   FERNANDO     NEGRETE                      UT     90004394842
59288591A91895   WALTER       COLLINS                      OK     21054125910
59288A76772B27   ALFREDO      TOVAR-PINEDA                 CO     33014270767
592892A914B544   JAMES        HOOKER                       OK     90014002091
59289417872B49   MICHELLE     PARKERSON                    CO     33000454178
5928961765758B   RICHARD      LARSSON                      NM     90013336176
59289A56772B36   RUTH         JURADO                       CO     90007140567
5928B469297B54   RODOLFO      MEDINA-VALDEZ                CO     39058864692
5928B47997B46B   BELKY        RODRIGUEZ                    NC     90008664799
5928B76768B167   KATRINA      BATES                        UT     31074807676
5928B9A245715B   MIKHAIL      VESHCHEV                     VA     81092299024
5929126A791587   RITO         RMAIREZ                      TX     90004162607
5929144A355938   SHERMAN      JAMES                        CA     90006544403
5929194485758B   JOANN        GUTIERREZ                    NM     35557149448
5929211812B245   TIFFANY      MARBURY                      DC     90011641181
59292518772B36   LUIS         APODACA                      CO     90013935187
59293233972B38   CORIENA      CONTRERAS                    CO     90014022339
5929331A52B27B   EMMANUEL     MANGRUM                      DC     90014943105
59293619472B24   VIRIDIANA    LOYA-MOLINA                  CO     90008516194
59293A13A4B588   GUSTAVO      ALVARADO                     OK     90012510130
59294892A61965   LAUREN       JOHNSON-STEPHENSON           CA     90011818920
59294A6A177581   MARTIN       RAMIREZ                      NV     90010130601
5929525847B46B   JENNIFER     HOOD                         NC     90013932584
59295759472B36   DEVIN        TRUJILLO                     CO     90013007594
5929645394B588   LUIS         RANGEL                       OK     90002134539
5929653665B387   SHELLY       PHERNETTON                   OR     90006225366
5929665692B27B   JORGE        MERINO                       DC     90011206569
59296759572B36   SAMANTHA     PENNINGTON                   CO     33005007595
5929726137B46B   JUSTIN       WORSHAM                      NC     90013932613
59297A7575B531   LONNA        JUAREZ                       NM     90008100757
5929863AA55971   ANDRES       FIERRO                       CA     90013976300
5929924945715B   TEK          VIRGINIA                     VA     90015162494
5929B641372B24   JANAY        EILAND                       CO     90010836413
592B1478A91587   MARIA        LUNA                         TX     90013634780
592B1821233699   ERIK         BELCHER                      NC     90013088212
592B1835872B43   ALMA         CASTILLO-PEDROZA             CO     90001918358
592B184AA2B27B   GABRIELLA    EDWARDS                      DC     81088848400
592B239385758B   RANDALL      SMITH                        NM     90012063938
592B243568433B   JOSE         JIMENEZ                      SC     90011154356
592B247715B399   TERRESA      LAUER                        OR     90004544771
592B3196691895   NAKEEA       WILLIAMS                     OK     90014831966
592B3245261966   CELIA        PATRICIA FLORES              CA     90012042452
592B3352A91895   CATALINA     GOMEZ                        OK     90014853520
592B3567755971   SYLVIA       LAKALAKA                     CA     49015015677
592B3581672B38   GLORIA       DIAS                         CO     90013125816
592B3A2135B387   SHARON       WHITTON                      OR     90011100213
592B4251755971   ELIZABETH    WALKER                       CA     49077712517
592B429985758B   VANESSA      BARRERAS                     NM     90015112998
592B4416991587   VICTOR       RODRIGUEZ                    TX     90004144169
592B4581872B38   APOLONIA     BARRAZA                      CO     90013125818
592B485875B399   ELVIS        PARKER                       OR     44541608587
592B4A26A72B36   SHANNON      KICHLER                      CO     33073850260
592B543A357541   THOMAS       TOPE                         NM     90014894303
592B5618991895   ASHLEY       JOHNSON                      OK     21005426189
592B567552B27B   ROBNICE R    MOORE                        DC     90010076755
592B611142B27B   LEON         MASSEY                       DC     90015121114
592B6775251348   MARY         COLEMAN                      OH     90005687752
592B6A5A172B49   LLUVIA       REYES                        CO     90013960501
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 206 of 2350


592B7765172B43   JUSTIN       PACHECO                      CO     90004817651
592B8175772B38   AALIYAH      DURAN                        CO     90014721757
592B851745715B   ERIC         GONZALES                     VA     90012065174
592B8548557541   TONYA        ELLIOTT                      NM     90014895485
592B8556191587   CLAUDIA      ESPARZA                      TX     75091815561
592B864A85136B   AMANDA       HATTEN                       OH     66010616408
592B874175758B   ARMANDO      RUIZ                         NM     35547017417
592B8835951348   ADAM         LAMBERT                      OH     90015308359
592B8A3544B588   TASHA        BURTON                       OK     21536040354
592B914415B531   MELANIE      GARCIA                       NM     35006801441
592B9311493724   PHILLIP      FLINCHUM                     OH     90002443114
592BB77917B46B   MELISSA      TAYLOR                       NC     11073137791
5931126195758B   JEREMY       GARCIA                       NM     90007682619
59311AA344B28B   MURRY        NICOLLE                      NE     26074350034
59312656572B49   CYNTHIA      BARAJAS                      CO     90004786565
5931297645B531   LORAINE      AGUIRRE                      NM     90000999764
5931372935B387   JONI         HAMBRICK                     OR     90013097293
593138A9561965   ROSA         GARCIA                       CA     90013308095
5931499937B46B   ZENAIDA      HERNANDEZ                    NC     90010749993
59314A14372B36   KARINA       VALDEZ                       CO     90011160143
59315655172B24   JOSE         GALAVIZ                      CO     33055686551
5931779825B353   HECTOR       GASCA                        OR     90013737982
59317932172B27   JESUS        RODRIGUES                    CO     33052709321
59318455872B43   CHARLES      CLARK                        CO     90015224558
59318A5664B55B   KAREN        BALLARE                      OK     90011580566
5931936257B46B   LEELAND      MOSLEY                       NC     90008393625
5931B2A9861971   LINDA        GARCIA                       CA     90000472098
5931B3A6A93782   RONIKA       HENDERSON                    OH     90005413060
5931B581333699   PATRICIA     BRUNER-HOOVER                NC     90011825813
5931B693533696   TOBIAS       MONROY                       NC     90003336935
5931B9AA472B24   EMMANUEL     OLIVAS                       CO     90014719004
5931BAA745B522   STEVE        MAC DOUGALL                  NM     90001660074
59321241A72B36   JOSE         FLORES                       CO     90012412410
59321A6A772B38   VANG         SONIA                        CO     33044010607
5932278A672B27   LEE          WRIGHT                       CO     90012697806
5932279272B245   TARROD       FLEMING                      DC     81015207927
5932292747B379   JOSE         GONZALEZ                     VA     81032319274
5932367397B46B   TONDREA      STITT                        NC     11011736739
5932379237B461   CLAUDIA      HERNANDEZ                    NC     90007977923
59324654772B43   STANLEY      PETERSEN                     CO     90011326547
593246AA193724   SHARON       BARTON                       OH     90003036001
5932563235B531   CONRAD       BOCHOVE                      NM     90014776323
5932627A72B245   PRESTON      JACKSON                      DC     90002932707
5932641674B28B   CYNTHIA      WEEKS                        NE     26039424167
5932682275B52B   LYLE         WAGY                         NM     90013838227
593269A8A4B23B   JOHN         SALANITRO                    NE     90004599080
59327241572B43   JOEL         CATALAN                      CO     33066322415
5932784392B27B   JOHN         MENDIETA                     DC     90012698439
59327A58361965   MARY         JONES                        CA     90013690583
5932864645758B   DASY         COOKE                        NM     90013026464
59328A37272B43   FRANCISCO    VASQUEZ                      CO     33073790372
59328A7A561971   FRANCISCO    ANTONIO                      CA     46079930705
59329121572B49   RADHA        BHATTARAI                    CO     90004701215
59329533697B54   KEITH        GASTON                       CO     90005235336
59329994972B36   WATKINS      ROEL                         CO     90005689949
59329A92261965   GABRIEL      QUIROZ                       CA     90010670922
5932B36A172B43   SAMANTHA     MARTINEZ                     CO     33046413601
5932B373572B27   JAMIE        MONTOYA                      CO     90013863735
5932B69425B387   WENDY        VASELANEY                    OR     90010916942
5932B95622B245   DEHAB        MOHAMMED                     DC     90012629562
59331462672B27   NICK         SCHERMERHORN                 CO     90015044626
593316A8233699   VIVIAN       MIRON GRAJEDA                NC     12078866082
5933223297B46B   SIGMON       DUSTIN                       NC     90001572329
5933249225B354   NICOLE D     YOUNG                        OR     90003894922
5933355A95B531   JENNIFER     SALAZAR                      NM     90014555509
593335A9872B38   SOPHIA       ROMERO                       CO     90011285098
59334382A5715B   MIGUEL       PARADA                       VA     90010303820
593346A7161949   RAYMUNDO     HERRERA                      CA     46092186071
593351A5172B36   THOMAS       BAKER                        CO     33075081051
5933584913B388   JOETTE       CRUM                         CO     33096188491
59335997872B27   KAY          RAE                          CO     90010939978
59336929772B38   JON          FUTRELL                      CO     90012239297
593371AA833699   SANTOS       ALVARADO                     NC     90013931008
5933769947242B   MICHAEL      PORINCHAK                    PA     51040786994
59338188572B38   LAURA        AGUILAR                      CO     90014721885
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 207 of 2350


59338218272B27   NOHEMI       MANCINAS                     CO     90013112182
59338279272B36   MARIA        MONTES                       CO     33027922792
59338295572B43   JAIME        CORCHADO                     CO     90015112955
59339396172B38   DAVID        LEWIS                        CO     90009473961
5933944265B387   ALMA         CONTRERAS                    OR     90014124426
593397A954B588   BENJAMIN     REYES                        OK     90007247095
5933989352B27B   LAANGELLO    YOUNG                        DC     90013658935
59339A37493724   SALLY        FRYMAN                       OH     90014070374
59339A52761971   DAVID        CARTER                       CA     46070220527
5933B269993724   APRIL        VANSCOY                      OH     90014012699
5933B299951348   KOFI         ADJEI                        OH     66043002999
5933B991857157   CHRITOPHER   VAOULI                       VA     90005939918
593412A765B387   TRAVIS       SIGEA                        OR     90011602076
59341311A24B43   LAWARN       BARBOUR                      DC     81045453110
5934135AA72B38   JOSE         JAHEN                        CO     33002983500
59341614A61965   DANIEL       JOHNSON                      CA     90007426140
59341664272B36   JUAN         PEREZ                        CO     90014016642
59341675372B27   RICHARD      KIECKHAEFER                  CO     33039886753
5934221215B387   VIRGINIA     JOHNSON                      OR     90011602121
59342738872B36   SANDY        AVILA                        CO     33017017388
59343117472B38   STEPHANEY    HUGH                         CO     33012791174
59343263A57131   JOSE         MARTINES                     VA     90010762630
5934349A95715B   VILMA        MEDINA                       VA     90000774909
5934363364B588   LASGELLE     RAMSEY                       OK     90014866336
59343688272B36   LEILANI      PENDER                       CO     33037436882
59343861A2B354   KUSA         DERASSU                      CT     90013828610
5934465A872B43   JASON        WALKER                       CO     33055316508
5934466912B27B   DAVINA       CARSON                       DC     90000706691
593451A597B46B   TIFFANY      GULSTON                      NC     11081891059
593458A915B531   GERALDINE    RIVAS                        NM     35005218091
5934625A33B399   JANE         THOMAS                       CO     90011412503
593468A915B531   GERALDINE    RIVAS                        NM     35005218091
59346A41191521   KYLIE        SIQUEIROS                    TX     90013280411
5934733724B588   CURTIS       SCHWAB                       OK     90013993372
5934792317B46B   DORIS        LEE                          NC     11073969231
593487A874B588   HARVEY       SMART                        OK     90013467087
5934966987B46B   SAUL         ANDRES                       NC     90003056698
5934B19A772B38   ALYSSA       HOOD                         CO     90014721907
5934B4AA851383   HELEN        LITTIKEN                     OH     66082404008
5934BA7952B544   DESTINY      MILLS                        AL     90014370795
593511A3472B49   BRYANNA      GADD                         CO     90014691034
5935224355B387   KRISTINA     BUSCHKE                      OR     90014612435
593522A2972B49   EBONY        SPEARMAN                     CO     90012662029
5935317A14B588   MIGUEL       BARRIOS                      OK     21589111701
5935365762B27B   YVETTE       GILLIS                       DC     90012786576
59353A88493724   PATRICE      TONGE                        OH     64589960884
59354156444B91   ADAM         MAYNARD                      OH     90014301564
5935432A991948   AARON        HERBERT                      NC     90014933209
5935452395B531   CRYSTAL      TRUJILLO                     NM     90005275239
59354921A3B399   ISABELLA     ASAMOAH                      CO     90007429210
59354A79793724   SHEDRICK     JOHNSON                      OH     90012060797
59355124A72B38   LINDA        YODER                        CO     33049221240
59355693657B23   ROBBERT      JOHN                         PA     90014036936
5935578232B29B   ANTWAN       GREEN                        DC     90008107823
5935613484B28B   JAHSWILL     EKELE                        NE     90008471348
59356A3A572B38   JOSE         GARZA                        CO     33078610305
593571AAA72B43   IVAN         GONZALEZ                     CO     90006851000
5935784552B27B   CLARISSA     BROADIE                      DC     90013798455
59358144472B38   MARILU       PERALTA                      CO     90012111444
5935839695B531   DIANA        VALENCIA                     NM     90014783969
59358A64A61971   AAMER        QRYO                         CA     90014150640
5935915662B27B   ROGER        BURKE                        DC     90011151566
5935933845B531   JAVIER       FLORES                       NM     35076833384
593593A8A33699   WAYNE        RAINEY                       NC     90013693080
5935B51A572B49   RENEE        RAMIREZ                      CO     90004755105
5935BA9534B558   AMANDA       HARRELL                      OK     90012770953
5936172AA4B28B   CYTHIA       FALKNER                      NE     26049487200
59361A4275B531   TYRONE       PORTIS                       NM     90014760427
5936246474B588   JAMES        ROBERSON                     OK     21577574647
5936272935B531   ANDREITA     GARZA                        NM     35093797293
59362A23457353   JENNIFER     OEHLERT                      MO     90015500234
59363679472B27   LUZ-ALICIA   ELIZALDE                     CO     33035066794
593637A3161965   TONYA        BALE                         CA     46083967031
593641A6172B27   FRANCES      TURNER                       CO     33045741061
5936436395B399   ANGELA       CERVANTES                    OR     44523503639
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 208 of 2350


593646A6372B38   PAUL             MCLCZEWSKI               CO     33030676063
5936487732B245   LINDA            LUCKETT                  DC     90013928773
5936545947242B   LISA             REDISH                   PA     51063574594
5936546565B387   MARY             CROMBIE                  OR     44509794656
5936637332B245   KIMA             WHITE                    DC     90013723733
593667A565758B   MARTIN           REYES                    NM     90010787056
5936688357B46B   EDWARD           NAGY                     NC     90011278835
5936725237B46B   JOSE             ROSALES                  NC     90014972523
5936733547B46B   TAMARA           BROWN                    NC     90013933354
593681A795B531   APRIL            RODRIGUEZ                NM     90009881079
59368417472B38   MATTHEW          PRINCE                   CO     90010314174
59368563172B43   JESUS            FISCAL                   CO     90002685631
59368857772B36   JUNIOR           JR                       CO     33055628577
5936976915B531   MARIO            ALCANTARA-CABRERA        NM     90008737691
593698AA25754B   CHAVEZ           MIGUEL                   NM     90006608002
5936B174672B36   CALVIN           PAGEL                    CO     90010971746
5936B629A72B27   VALERIE          CLEVINGER                CO     33069816290
5936B88357B46B   EDWARD           NAGY                     NC     90011278835
5936B995693724   BILLY            MEADOWS                  OH     90005679956
593713A855B531   ALEXA            ORTEGA                   NM     90010813085
59371A75791895   JOSE             VEGA                     OK     90014680757
59374761772B43   CECILIA          GARCIA                   CO     90014277617
5937479855B326   RICHARD          DAUTREMONT               OR     90002037985
5937522A42B245   GLORIA           CELISTE                  VA     90009042204
59375443391B79   JASON            WALTERS                  NC     90013724433
5937599937B46B   ZENAIDA          HERNANDEZ                NC     90010749993
5937666745B93B   SALVADOR         ALVAREZ                  WA     90015476674
59376A3247242B   MARGO            DOSS                     PA     51053570324
59376A35457122   ROMMEL STANLEY   CALDERON                 VA     90011920354
59377282172B38   CHARLES          LOUGHLIN                 CO     33015022821
59377459172B36   CONNIE           THROCKMORTON             CO     33084804591
59377667A61965   LUIS             MORALES                  CA     90014156670
5937789537B46B   TEANNA           HALL                     NC     90011278953
593782A784B588   LISA GOODMAN     JOHNNY GOODMAN           OK     90013842078
5937B129272B49   FLORENCIA        ORTIZ                    CO     90006381292
5937B19882B261   JAMES E          ROGERS II                DC     90010391988
5937B693761965   LETICIA          TRUJILLO                 CA     90003026937
59381272872B38   ERIK             SODER                    CO     33062262728
593819A6731428   DEBRA            COLLIER                  MO     90013719067
5938352A472B43   JOEY             OSBORNE                  CO     90009975204
59383669572B49   RACHEL           BADLEY                   CO     90001756695
59383678772B27   GABRIELA         PACHECO                  CO     90014786787
593842A563B33B   LARONDA          HALL                     CO     90012712056
59384867A2B27B   SAMANTHA         MOORE                    DC     90001468670
5938538537B46B   ISMELDA          OCHOA                    NC     90013933853
593853A3357142   HANK             ADENS                    VA     90014083033
5938572157242B   PENNY            MCBETH                   PA     90004097215
5938581965758B   CARMEN           MARTINEZ                 NM     90011718196
5938583724B588   SENTAMIA         PITCHFORD                OK     90012568372
593859A1A51383   HAROUNA          SOUMAH                   OH     66087709010
593863A3472B36   NATALI           MARTINEZ                 CO     90012193034
59387145872B36   STEPHANIE        VANN                     CO     90013231458
5938775A95B399   KATHRYN          SCRIVENER                OR     44542277509
59387921672B36   PRESTON          SINGLETARY               CO     90010989216
59388229372B38   VANESA           ARMIJO                   CO     90013132293
59388463472B43   SILVIA           RAMIREZ                  CO     90015534634
59388645A91587   SALMON           CASAS                    TX     90014826450
59388AA435715B   ALFREDO          BUSTILLO                 VA     90005970043
5938923182B27B   ANGELA           BROWN                    DC     81025792318
5938948A555971   CRYSTAL          CANTRELL                 CA     90014954805
59389491A72B27   OSHJANE          WILEY                    CO     90014294910
5938961135758B   ROSEMARY         ROSALES                  NM     90014626113
593896AA64B28B   MICHAEL          CARNEY                   NE     90013996006
5938B361A7B46B   JUAN             JUAREZ                   NC     90013933610
5938B4A7372B43   DAVID            GRAM                     CO     90013054073
5938B6A8991895   FERNANDO         MORENO                   OK     90012386089
5938B73684B588   BESSIE           WASHINGTON               OK     90013757368
5938B857772B38   MIGUEL           LOPEZ                    CO     90014098577
5938B889172B38   SHAUN            RANK                     CO     33000128891
5938B946691552   VANESSA          HERNANDEZ                TX     90010939466
5939142764B23B   KRISTENE         KINNISON                 NE     90003854276
5939173524B28B   MARIA            RODRIGUEZ                NE     90005987352
5939173565715B   KELLY ANN        NEVERSON                 VA     90006317356
59392215372B49   MANUEL           RIVERA                   CO     90013402153
59392267A33699   APACHA           TETREAULT                NC     90013902670
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 209 of 2350


59392663872B36   SHADA        WILLIAM                      CO     90014176638
5939299552B225   CHAIKA       HARRIS                       DC     90008999955
5939299937B46B   ZENAIDA      HERNANDEZ                    NC     90010749993
59394156357B23   FERNANDO     DE LA CRUZ                   PA     90015311563
5939422A393724   DANNY        MURNAHAN                     OH     64589972203
593942A9861965   LINDA        GARCIA                       CA     90000472098
5939459895715B   JOSE         AMAYA                        VA     81052545989
5939461A151348   TINA         MURRAY                       OH     66023986101
5939472917B46B   TRACEY       PHILLIPS                     NC     11053417291
59394991672B36   ELAINE M     MARQUEZ                      CO     90009019916
59395721672B43   DAVID        BIRKLEY                      CO     90009277216
59395729A5B531   VALERIE      LUCERO                       NM     90013787290
59395A79361965   LINDSAY      COLLINS                      CA     46063470793
5939621375B531   JAMES        AIELLO                       NM     35026462137
59396943672B27   DAWN         TURNER                       CO     90015009436
5939753835B531   HORACIO      BELANGER                     NM     35033575383
5939835A45B351   JOEL         MONROY                       OR     90012063504
5939B724272B43   NANCY        RUIZ                         CO     90007537242
5939B728257157   MARQUITA     MANCIA                       VA     81068487282
5939B729A5B531   VALERIE      LUCERO                       NM     90013787290
593B123AA57541   MARIA        MUNOZ                        NM     90014812300
593B1261991895   CLARENCE     PITTS                        OK     90015322619
593B155685B387   MICHAEL      EPPS                         OR     90014995568
593B1639472B38   DALE         STACY                        CO     90001816394
593B177115758B   DEBRA        GOTTRELL                     NM     35561307711
593B226377B46B   LEE          TAYLOR                       NC     90013932637
593B2392833699   CHANEL       WESSON                       NC     90009633928
593B2991457541   KIMBERLY     SCARBRO                      NM     90015039914
593B3998672B38   SALVADOR     CHAVEZ                       CO     90010259986
593B41A885B387   GREEN        COMMUNICATIONS               OR     90014181088
593B427725B387   CHRISTIAN    LOPEZ                        OR     90015202772
593B4487651348   MAYA         TRUE                         OH     90009404876
593B4647972B43   BEVERLY      LOYD                         CO     90008856479
593B544185B387   ANGEL        ZAMORA                       OR     90013984418
593B5979A2B245   TONOA        BROWN                        DC     90009169790
593B61A8691895   JENNA        HILLMAN                      OK     21003721086
593B6969181524   MIKE         HUSZLA                       IL     20515809691
593B7226457157   FRANK        SEMBRIA                      VA     81009652264
593B72A237B46B   ALEJANDRO    RUBIO                        NC     90013932023
593B745555B579   CYNTHIA      ROMO                         NM     90008394555
593B782495B531   JENNIFER     BATEMAN                      NM     90014798249
593B7975272B43   ANGELICA     SERNA                        CO     90011259752
593B8495472B38   MARCUS       MARTINEZ                     CO     90011284954
593B8575A4B588   BOBBY        MONTEZ                       OK     90011125750
593B88A3472B43   JESSIE       CHAVIRA                      CO     90005208034
593B8923133699   HENRIETTA    VER0NICA ARMSTR0NG           NC     12040599231
593B931175B387   ENRIQUE      CALDERON                     OR     90011673117
593B9512672B49   JOANN        OVIEDO                       CO     33085735126
593B9523A55971   AMANDA       GREGG                        CA     90011275230
593B968655758B   FELIX        AGOSTO                       NM     90010466865
593BB62925715B   EVER         ESTRADA                      VA     90009056292
593BBA65357591   KEVIN        VASQUEZ                      NM     35526070653
5941172815B387   COREY        JENKINS                      OR     90012037281
5941172A193724   ADAM         JUAREZ                       OH     90014667201
5941191A27242B   CARMEL       MCCLOY                       PA     90007759102
59413155472B43   EARNEST      COATS                        CO     90004661554
59413882172B49   JULIE        HUFF                         CO     33034448821
59414789A91999   VERONICA     BARAJAS                      NC     90012067890
594151A335758B   ELIZABETH    BENAVENTE                    NM     90012731033
5941665295715B   AMILCAR      LEMUS                        VA     81011026529
59416989A72B24   PATRICIA     VASQUEZ-DELGADO              CO     90008519890
59417A77572482   JACOB        STEWART                      PA     90011810775
5941851984B588   JEREMY       RUSSELL                      OK     90009965198
59418A4A52B27B   ASHLEY       STEVENS                      DC     90011900405
59418A7252B27B   SHONTAY      ALAXDER                      DC     90014570725
5941946795B531   ABEL         ALVARADO                     NM     90014784679
5941948565758B   JOSHUA       PENA                         NM     90014454856
594194A946192B   SYLVIA       VALENCIA                     CA     46026284094
5941977327B46B   ADRIANA      DIXON                        NC     90014867732
5941B17885B531   JORGE        IBARRA                       NM     35033921788
5941B2A377B46B   MARIA        PORTILLO                     NC     90015182037
5941B312161971   MICHAEL      PRUETT                       CA     90012353121
5941B521497B54   RICKIE       KOEHLER                      CO     39008285214
5941B68275715B   TAMARA       BAILEY                       VA     90014916827
5942118995758B   SAMUEL       BARRAZA                      NM     35506011899
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 210 of 2350


594214AAA72B27   VICTORIA     GRIFFIN                      CO     33097374000
59421714572B27   ADRIANA      MONDRAGON                    CO     90011347145
5942191932B959   YESICA       MURILLO                      CA     90013049193
5942191A15B399   MARGARITA    MATZ                         OR     90004579101
5942331735758B   GUADALUPE    QUIROGA                      NM     90009063173
59423513372B38   BRANDON      CASTANDA                     CO     90011285133
594235A6561971   CLAUDIO      LOPEZ                        CA     46005465065
5942441985B531   JOSE         VAZQUEZ                      NM     90008004198
59424436A33699   DENESHA      MOORE                        NC     90014964360
59424517372B38   TIM          GRAUMANN                     CO     90011555173
59424655572B36   RONNIE       TAFOYA                       CO     90011856555
59424A63872B42   DANIELLE     WILLIAMS                     CO     90003750638
59426693272B36   MARCELLA     PALOMO                       CO     90014846932
59427114672B36   ANTONIO      ESTRADA                      CO     90007701146
59427182472B27   DEMETRIO     PARRA                        CO     33023871824
59427183172B36   ROSA         ESPINOZA-VASQUEZ             CO     33017021831
5942758958B341   SUMMER       PEREZ                        SC     90013835895
5942837345758B   OXIRIS       VALERIO-GUZMAN               NM     90014703734
5942894624B588   MARIBEL      VASQUEZ                      OK     90013959462
594291A8872B36   WILLIAM      KLEESPIES                    CO     90004911088
5942B23684B28B   ALBERT       PORTER                       NE     90005992368
5942B86A64B588   JOSHUA       WADDELL                      OK     90012438606
5943143562B242   TIFFANY      MILLER                       DC     90001414356
5943291774B28B   ESTHA        CHEEK                        NE     90001399177
59433934624B64   JOSE         RODRIGUEZ                    DC     90006739346
59433A94A91587   CECILIA      JIMENEZ                      TX     90009030940
5943413985715B   ELDA         BOLANOS                      VA     81064101398
5943426A161965   MELISSA      MIRAMONTES                   CA     90013672601
5943498A772B49   CONA         COMMUNICATIONS               CO     90009279807
5943546A172B43   MICHAEL      EMERSON                      CO     90010304601
59435787272B49   OSCAR        ROJAS                        CO     90011977872
59436983772B49   BRIANA       WARDMANN                     CO     90012609837
594372A285B531   STEVEN       SCOTT                        NM     35073542028
5943767774B588   RUBELSY      GIRON                        OK     90006576777
5943772745B285   MICHELLE     DILLION                      KY     90012687274
59437937772B36   MAE-LYNN     MARRUFO                      CO     33005999377
59438A1A27242B   JUNE         BERLIN                       PA     51006940102
594394A543B399   DOMINIC      SPEER                        CO     90008194054
59439A39544B3B   DIANE        PLEVNY                       OH     90014590395
5943B451733696   SHEMICA      HARRIS                       NC     12011314517
5943B45855B271   MIAH         CHATMOND                     KY     90002524585
5943B85232B245   NOHELIA      SANTOS                       DC     90013388523
5944143465715B   NICOLE       KENNEDY                      VA     90012984346
594419A1A55971   JAY          SINKS                        CA     90011729010
59442615272B24   JORGE        CONTRERAS                    CO     90008766152
5944271575B387   DOUGLAS      DROLLINGER                   OR     90011627157
59442A3477242B   KELLI        RITENOUR                     PA     90000440347
5944439675715B   DEE DEE      SHERROD                      VA     90008703967
5944462535B399   STEVEN       MAWSON                       OR     44559906253
59444763172B36   JESSICA      CALLENDER                    CO     90004807631
5944539275758B   JAIME        ALVARADO                     NM     90014843927
59446497A5B531   JESSICA      FLENNOY                      NM     90014784970
59446A5845715B   SAUL         VENTURA                      VA     90012470584
5944725737B46B   ALMA         MACIEL                       NC     11063752573
594476A494B588   EUGENE       SMITH                        OK     21575906049
59447941872B43   CHRISTINA    ESTRADA                      CO     90003399418
59447974172B28   ROBBIE       INGRAM                       CO     33073829741
5944928A191584   SAMANTHA     COOK                         TX     75062702801
5944938A491587   DOLORES      CHAVEZ                       TX     90014653804
5944966794B588   JONATHAN     HERNANDEZ                    OK     90014816679
5944B577972B49   ELIZENDA     ALVARADO                     CO     90013315779
5944B82238B837   VICTOR       KURESA                       HI     90014128223
5944BA31461965   VILMA        GOMEZ                        CA     46007410314
5945156575758B   VICTOR       ESQUIVEL                     NM     35592455657
59451A3455B243   STEFAN       SEGER                        KY     68020950345
59452A64A72B36   JOSE         PALACIO                      CO     33075300640
5945341A15758B   ALEXANDRIA   CHAVEZ                       NM     90010194101
5945346A45B283   SCOTT        HALL                         KY     68043804604
59453497A5B531   JESSICA      FLENNOY                      NM     90014784970
59453A1A27242B   JUNE         BERLIN                       PA     51006940102
59454266872B38   ELAINE       POHLMAN                      CO     90007032668
5945477414B588   JACKIE       GREEN                        OK     90014187741
59454963872B38   VERONICA     GONZALEZ                     CO     33065899638
594552A585758B   JUAN         MENDES                       NM     90006612058
5945571752B245   ARTAVIA      PRICE-BAY                    DC     90013737175
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 211 of 2350


59456A24972B49   JOSE               CHACON                 CO     90006840249
5945779A561965   CHRIS              GILKES                 CA     90007937905
59458638172B43   KENNETH            GIVEN                  CO     33053756381
59458AA875715B   CLAUDE             KIKONI                 VA     81024790087
5945958685758B   JUAN               CABRALES               NM     90014775868
59459A54131428   SANDY              WARD                   MO     27545070541
5945B266972B38   DANNY              GAMBOA                 CO     90013132669
5945B44A193724   JOHN               MOORE                  OH     90011744401
5945B523161965   ROBIN              CRAMER                 CA     90005545231
5945B82382B27B   ENRIQUE            RUIZ                   DC     90006598238
59461A53161971   NICOLAS            OLIVARES               CA     46017710531
59462795A5B531   CAREY              GONZALES               NM     90004677950
594632AA457157   JOAQUIN            RONDA                  VA     90002082004
5946381762B934   ANGELA             TOSTA                  CA     45002538176
59463A8252B245   JUDY M             HENDERSON              DC     90012300825
5946526162B27B   STANLEY            DANIEL                 VA     90011152616
59465283A33699   SAM                SMALL                  NC     90011582830
5946716854B251   ROSA               VALLESILLO             NE     90005121685
594674AA972B24   THERESA            LOOMIS                 CO     90004154009
5946755945715B   CHARLES            SMOODY                 VA     90012835594
59468517A4B588   DAVID              DOWNEY                 OK     21575915170
59468965772B43   MICHEAL            STODDARD               CO     90014429657
59468A6757B46B   ROXANNE            DAVIS                  NC     11092040675
594694A7472B38   JERRELL            SMITH                  CO     33014484074
594695A627B46B   DALONTAE           ROBINSON               NC     90013935062
5946961745B387   THANG              LIAN                   OR     90007906174
5946B124233699   TRINS              BALDWIN                NC     90011101242
5946B868355971   SAMMY              BYRD                   CA     49086048683
5947112677242B   BRUCE              JENNINGS               PA     51095411267
59471A69A71932   KELLY              MANNIX                 CO     90012280690
59472274272B38   JASON              SEADER                 CO     90013132742
59472778672B49   SHANTIL            ALEXANDER              CO     90012857786
59472A51293724   CATHERINE          SWEET                  OH     64500670512
59473337372B49   MARCELO            MARTINEZ               CO     90013093373
59473A36672B38   ANTONIA            GONZALEZ               CO     33085500366
59474517A4B588   DAVID              DOWNEY                 OK     21575915170
59474824672B43   MATTHEW            LAVAKE                 CO     90012718246
59474A3477242B   KELLI              RITENOUR               PA     90000440347
59475588A61971   MATTHEW            SANCHEZ                CA     90011415880
5947614632B27B   ARNITA             JACKSON                DC     81072811463
59476559772B49   KIMBERLY           RODRIGUEZ ROLDAN       CO     90012105597
594783A5593724   BRENDA             LONG                   OH     64555463055
59478565772B93   ROBIN              LAIRID                 CO     90005045657
5947887192B27B   CHRISTOPHE         MCLENNON               VA     90009008719
5947B191A2B245   CAROLINA           CONTRERAS              DC     81083141910
5947B27132B27B   FREDY              VARGAS                 VA     90011152713
5948111477B46B   TASHION            SINGLETON              NC     90008351147
594812A9A91895   MELVIN             WALKER                 OK     90013822090
5948131545715B   CARLOS             RIVERA                 VA     90012673154
594813A595758B   FERNANDO           CARRERAS               NM     35554163059
5948145212B27B   DERRICK            FERGUSON               DC     90014874521
59482816672B38   MARIA DEL CARMEN   GARCIA                 CO     90014108166
59482A14A4B588   AURELIO            GAMBOA                 OK     90014770140
5948353A141244   MARIANNE           LUIDELLI               PA     51080655301
5948355A37B46B   OSWALDO            QUINONEZ               NC     90013935503
59484442872B38   NICOLE             VALENZUELA             CO     90004874428
59484558772B49   BARBARA            PENDERGAST             CO     90014395587
5948482A393724   MATILDA            BLYTCHE                OH     90012728203
5948549734B299   WALTER             CUMMINGS               NE     90009684973
59485534372B38   BYRON              SMITH                  CO     33003635343
59485A7632B245   JOSE               GONZALEZ MELENDEZ      DC     90002180763
59486191472B43   APRIL              MOSSMAN                CO     90014751914
5948723458B164   CHERYL             LANDON                 UT     31088582345
59487235872B24   CARLOS             PRADO                  CO     33004672358
5948742A55B387   JUNE               VANDOLAH               OR     90015264205
59487728A5758B   JOSE               LOZANO                 NM     90015157280
59487A13733699   TAWANA             ROMNEY                 NC     90013860137
59487A86591587   JESUS              ORTEGA                 TX     90000780865
59487A98872B27   ELVIA              FLORES                 CO     90013900988
59488596A72B27   CANDANCE           THOMAS                 CO     90012105960
59488612672B36   MARCOS             VALLE                  CO     90011416126
5948873565715B   HUGO               GOCHEZ                 VA     90006757356
59488A2483B325   DORTHEA            BEZJAK                 CO     33089960248
5948931445B271   LISA               RHODES                 KY     90012273144
594893A577B46B   FLORIDALMA         PINTO                  NC     90013923057
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 212 of 2350


5948B116961971   DALE          WILLIAMS                    CA     90009191169
5948B157A72B43   HENRY         SUAREZ                      CO     90010041570
5948B16A48B161   JERED         ORVIN                       UT     90006211604
5948B28855715B   MAKAMURE      RANGANO                     VA     90012992885
5948BA6285B531   INDIA         NIXON                       NM     35078120628
5949114625715B   ROSA          SEGOVIA                     VA     90000401462
594916A8961965   CRESENCIO     VILLEGAS                    CA     90015116089
5949182587B46B   PORSCHE       STRICKLAND                  NC     90011818258
59493358A4B544   DEVONTEZ      GODFREY                     OK     90013543580
59493524972B38   ELIZABETH     LOVATO                      CO     33002005249
59494186672B24   CRISTIAN      ALONZO                      CO     90008521866
59494778172B38   WILLIAM       ROBERTSON                   CO     33090857781
5949554A451348   JOSHUA        NEWBERRY                    OH     90008995404
5949556877B46B   BRITTANY      HOLLINS                     NC     90013935687
59495922472B27   CRYSTAL       WINDHORST                   CO     90004729224
5949618285B283   TANISHA       ROLLINS                     KY     90009971828
5949657287B46B   GABRIELA      MARTINEZ                    NC     90013935728
5949721685758B   HEATHER       LUCERO                      NM     90014302168
59497285172B38   ROBERT        SIMS                        CO     90013132851
59497429572B43   TIMOTHY       SHORTS                      CO     33040844295
5949784592B245   TEAIRA        BLAINE                      DC     90004668459
5949817884B588   JEFF          LOFTIS                      OK     90009441788
5949864855B283   TOMMY         PUYEAR                      KY     68004136485
5949888647B496   JOSH          DAVIDSON                    NC     90007708864
59498955272B38   DAVID         ARGUELO                     CO     90004719552
59498A5365B531   LETICIA       AVITIA                      NM     35056230536
59498A97461931   LAKE          DAVIS                       CA     90012060974
5949963875715B   GREGORIO      HERNANDEZ                   VA     81032236387
594997A6972B38   JIM           MCCUNE                      CO     90000887069
5949B163A72B43   CHRISTOPHER   HARRELL                     CO     90012081630
5949B7A762B245   JADON         NEWKIRK                     DC     90006717076
594B114712B27B   SHEENA        SAWYER                      DC     90013681471
594B124225B387   JONATHAN      HALL                        OR     90010212422
594B1987155971   LINDA         CHAVEZ                      CA     49092299871
594B2238161971   JULIE         WRIGHT                      CA     46038972381
594B2356272B38   PRINCESS      GREENE                      CO     33067853562
594B237625715B   JAMES         EPPLEY                      VA     90009753762
594B241315715B   JAMES         EPPLEY                      VA     90012304131
594B2821457157   SHIVAUGHN     MARTIN                      VA     90005818214
594B3178993724   GERALD        WHITEHEAD                   OH     90014771789
594B4257572B38   ANTONIO       OREPZA                      CO     90013422575
594B4582272B24   ISABEL        MARQUEZ                     CO     33032405822
594B46A262B973   XELDA         OITERONG                    CA     90004296026
594B5429333699   TRAVON        DULIN                       NC     90013934293
594B546825B531   JEANETTE      GILBERT                     NM     35054564682
594B5646372B36   TELMA         FLORES MARTINEZ             CO     90000676463
594B5744655928   LA PERLA      RESTAURANT                  CA     90007807446
594B6343991535   VELA          MARIA                       TX     90005613439
594B638425135B   RICHARD       PLUMMER                     KY     90002873842
594B6833872B27   KELSEY        BROWN                       CO     90002578338
594B7334461965   GABRIELA      VELASCO                     CA     90013263344
594B757AA91895   LAYNA         FISCHER                     OK     90008925700
594B7956455971   JEANNETTE     ZAVALA                      CA     49018929564
594B7A46472B27   BENNY         ARMIJO                      CO     33012410464
594B8344293724   SHAWN         SMITH                       OH     64571363442
594B8681991587   IMMANUEL      SALAS                       TX     75006736819
594B926412B27B   ARONDO        HOLMES                      DC     81073372641
594BB14195B399   ALEJANDRO     FLORES                      OR     90011141419
594BB28965715B   CRISTIAN      ARIAS                       VA     90013292896
594BB34545B387   BETTY         MARCELLO                    OR     44561723454
594BB439133699   OYESOR        OZAKA                       NC     90013934391
594BB48A555971   CRYSTAL       CANTRELL                    CA     90014954805
594BB729A5B531   VALERIE       LUCERO                      NM     90013787290
594BB92735758B   BEATRIZ       PARADA                      NM     90004789273
594BB938193724   ANA           FLORES                      OH     64598469381
5951295364B588   DWIGHT        SMITH                       OK     90011069536
5951315A172B38   ROBERT        MCKNIGHT                    CO     33041481501
5951339915715B   TOMASA        MENDOZA                     VA     81017213991
5951348594B588   BELEM         GODOY                       OK     90003794859
5951356775B531   CHRISTINE     GEMOETS                     NM     90014785677
59513649172B43   TOBY          FOSS                        CO     33097936491
59513A74772B49   DAVID         OLORUNMOLA                  CO     33063630747
59513A96172B36   LISA          LICON                       CO     90011350961
595142AA24B28B   CRYSTAL       HULSMAN                     NE     90013282002
595143AA291587   REINA         MARTINEZ                    TX     90014833002
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 213 of 2350


59514579872B49   NATASHA      GARZA                        CO     90013315798
5951488125B283   JARVIS       BIBBS                        KY     90009658812
5951495814B28B   CRYSTAL      HULSMAN                      NE     90006709581
5951588619188B   ALFRED       PENA                         OK     21086868861
5951685285758B   FRANSISCO    BATISTA                      NM     90006918528
5951737A45715B   SILBESTRE    LOPEZ                        VA     90014923704
5951792864B588   SAVION       DAVIS                        OK     90013079286
59518449472B36   ERICA        MARTINEZ                     CO     33021984494
5951848195715B   MARTINA      JOSEPH                       VA     90012494819
5951888455715B   SANTOS       VARGAS                       VA     90012478845
5951915765758B   ELIGIO       AGUAYO                       NM     90012001576
5951B361472B49   MELISSA      KINCON                       CO     90011053614
5951B48334B588   ANITA        HERRERA                      OK     90014664833
5951B556472B38   JAY          RODRIGUEZ                    CO     90011035564
5951B861A6198B   BLANCA       CARRANZA                     CA     90005978610
5951B879272B27   KIM          JALBERT                      CO     33038938792
5951BA33372B49   NANCY        AVILA                        CO     90014480333
59521873472B43   RUDY         ALEN                         CO     90006348734
5952216385715B   FERNANDO     RODRIGUEZ                    VA     90000581638
59523266572B49   VICKY        KING                         CO     90010162665
5952433995B531   JOYCE        GILMORE                      NM     35095053399
5952441A17242B   JAMES        REYNOLDS JR.                 PA     51006584101
5952513235B387   JONATHAN     LANDON                       OR     44550061323
59525598A72B43   VICTOR       GALLEGOS                     CO     33003195980
5952582595B531   LUANA        ROBERTS                      NM     90011098259
5952649A14B561   JONATHAN     CRAIG                        OK     90007694901
5952733515B531   ANA          CALDERON                     NM     35062463351
5952785524B588   JIMITRA      SALAZAR                      OK     90014658552
595285A895B283   REUBEN       DEVOE                        KY     90014855089
59528A9915758B   FRANCISCO    JIMENEZ                      NM     90014730991
59529324A72B38   JUAN         HERNANDEZ                    CO     90001733240
5952975225758B   DEIBY        FERNANDEZ                    NM     35527137522
59529A26791587   CLAUDIA      TRUJILLO                     TX     75050010267
5952B851A72B36   MARYCRUZ     ANIVAL                       CO     90005818510
5952BA49961971   RAMON        CAMARERO                     CA     90000630499
5952BA87272B43   FLORA        LOPEZ                        CO     33076080872
59531372772B24   MANUEL       BENEVIDEZ                    CO     33079143727
595318A8A2B27B   RONELL       WHITE                        DC     90012098080
5953281A591895   AUDREY       MEADOWS                      OK     90015078105
59533421872B43   VILLA        KELLY                        CO     90006014218
5953426595758B   GLORIA       GARCIA                       NM     90009372659
59534322A2B231   JACQUELINE   JENKINS                      DC     90013553220
59535228472B43   CARMEN       PALOMARES                    CO     90010332284
5953622467242B   DARLENE      SABATINE                     PA     90007352246
595363AA333699   JOCELYN      BROOKS                       NC     90011593003
59537199972B38   BURRELL      WILSON                       CO     90014721999
59537A2A661965   CAITLIN      CORRIERE                     CA     90004410206
59537A4485B387   MAYLIN       ESTRADA                      OR     90002210448
5953819235B531   ZENAIDA      MARTINEZ                     NM     90010731923
59538A65855951   CARLOS       RIVERA                       CA     90011860658
5953913325B531   CLAUDIA      LEGARDA                      NM     35059311332
5953961785758B   RAFAEL       REYES                        NM     90013536178
5953983A372B27   CLAUDIA      SANCHEZ                      CO     90013038303
59539A7919188B   IVAN         DIAZ GARCIA                  OK     21005620791
5953B352431429   JAVIER       MARTINEZ                     MO     27508953524
5953B769251348   LAUREN       CASH                         OH     90011547692
5953B9A3972B36   JACQUELINE   CORONADO                     CO     90010959039
5953BA23472B38   MITCHELL     BLESSINGER                   CO     90009500234
59542165572B43   COHEN        BRANDON                      CO     90012081655
59543A67472B43   LOUISE       COLLESTER                    CO     90010960674
5954554A391895   KAY          FRANCES                      OK     90011525403
595461A885B387   GREEN        COMMUNICATIONS               OR     90014181088
59547362772B38   LULU         FLORES                       CO     33068993627
5954985652B27B   INES         CHAVEZ                       DC     90012618565
5954B374961965   LARRY        ZIKO                         CA     90012873749
5954B513172B27   JASMIN       LOVE                         CO     33097875131
5954B532755971   ALFREDO      ANDRADE                      CA     90014735327
5954B887A4B588   SHALONDA     KNIGHT                       OK     90003898870
59551218A57135   TANIA        GUTIERREZ                    VA     90003402180
5955123922B27B   ANDREA       MCCASKILL                    DC     90013602392
595516A4A5B531   JOHNNY       ROBINSON                     NM     90014786040
5955175A231428   ANTHONY      POVICH                       MO     27575647502
59551A83631429   ADRIANA      CROCKETT                     MO     90008390836
595524AA972B27   AQUILEO      BARRAGAN                     CO     33070374009
595528A947B46B   JARLIN       PEARMIN                      NC     90013958094
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 214 of 2350


5955312767B46B   SOCORRO            CRUZ                   NC     90005341276
5955423972B245   MYEISHA            BRISCOE                DC     90008382397
595543A3872B36   ANISSA             RODRIGUEZ              CO     33009533038
59554542172B27   PAULINE            BURROUGHS              CO     90015335421
5955456775B531   CHRISTINE          GEMOETS                NM     90014785677
5955483215B387   NENA               ZIPF                   OR     44537348321
5955545892B869   DAVID              DE DIOS                ID     90008124589
59555925372B24   GRACIELA           GARCIA                 CO     33063799253
59556371172B49   QUINN              JEBE                   CO     90013023711
59556529A7242B   AMY                PENNICH                PA     90012165290
59556793772B38   WALTER             KUEHNURT               CO     33030707937
5955686373B387   JEFFREY & SHEILA   GEDDES                 CO     90003228637
5955744A861965   PEDRO              NAJERA                 CA     90014824408
5955768594B588   TAMMY              MANGUM                 OK     90014576859
5955783677B46B   CRISTINA           MUNGO                  NC     90004878367
59557A6814B588   PAYGO              IVR ACTIVATION         OK     90011190681
5955978945715B   MARLENY            BELLOLI                VA     90004727894
5956124355B387   KRISTINA           BUSCHKE                OR     90014612435
5956127735715B   TERESA             JIMENEZ                VA     90007432773
5956154842B245   MONICA             HARDY                  DC     90006945484
59561571172B36   ANA                ROJAS                  CO     90001645711
5956158482B245   LINWOOD L          BRYANT JR              DC     90011795848
5956164795758B   MAGDALENA          CAMPOS                 NM     35546406479
59561A86427B48   VAN                MUAN                   KY     90015410864
59562655A72435   ED                 CRANMER                PA     90003726550
5956277A44B588   DIABLO             BROOKER                OK     90011327704
5956281A45B241   ZOILA              ZELAYANDIA             KY     90001658104
5956348555B142   TANJARE            WILSON                 AR     90003944855
59563A8252B245   JUDY M             HENDERSON              DC     90012300825
59563A88157157   JABRIL             MIRANDA                VA     81077370881
59564816372B27   CARLOS             ESCAMILLA              CO     90009908163
5956487959373B   ERIC               HAGWOOD                OH     90002048795
59565464A31429   MARIE              ROBINSON               MO     90004504640
59566118A93724   BETHANI            HERNDON-ALLEN          OH     90011231180
59566487572B36   DULCE              SANTILLANO             CO     90009994875
59566617172B43   CARMEN             ORTIZ                  CO     33071856171
5956661A361965   CRYSTAL            BROWN                  CA     90012876103
59566A1663148B   MARION             ARMSTRONG              MO     90009250166
59566A24761971   LORENA             EDEZMA                 CA     90010460247
595671A4A72B38   DANIEL             MARTINEZ               CO     90015191040
5956732A233699   LOCADIO            TORRES                 NC     90013943202
5956762225B531   EVAMARIE           ROMERO                 NM     90014786222
595683A8772B38   RICARDO            ARMAS                  CO     90013133087
5956848642B245   WILLIAM            WEBSTER REYNOLDS       VA     90000714864
595686A7161965   JOHANNA            FUENTES                CA     90008066071
5956877295B531   RICARDO            RODRIGUEZ              NM     90009977729
595689A365B387   EVER               VICAB POLANCO          OR     44585929036
5956939A15B531   JOSE               GRADO                  NM     35096913901
5956B43394B588   MONTIE             BRANNON                OK     90009354339
5956B457161965   DONNA              NIELSEN                CA     46092104571
5956B5A9472B43   TIANA              SINNETT                CO     90012845094
5956B683A5B387   MARSHA             ROETHER                OR     90014276830
5956B854255971   SULEMA             RIVAS                  CA     90014758542
59571495572B43   GREISY             AGUILAR                CO     90014324955
595714A4455971   SHAWNTAY           GOMEZ                  CA     49011484044
5957155355758B   SHAWNA             MONTGOMERY             NM     35569225535
5957178374B588   TIA                WOODY                  OK     90011497837
5957221AA4B588   TIMMIE             ANDERSON               OK     21538282100
5957259213B389   JILLANE            MAHONEY                CO     90011245921
59573145172B43   JAMEY              KOENIG                 CO     33061061451
5957339A557157   PORFIRIO           ROZALEZ                VA     81077783905
59573A88331429   EBONY              KNOWLES                MO     90002510883
59574323A7B46B   LILIA              MORALES                NC     90000483230
59574593372B43   MIRAM              GONZALEZ               CO     90012605933
5957468A72B27B   DWAINE             JOHNSON                DC     90001036807
5957524617B421   CHRISTOPHE         RODGERS                NC     11030922461
59575311772B38   YOOFI              MINTA                  CO     90013133117
5957618842B245   MARY               MCLUCA                 DC     90014461884
5957685855758B   SAMANTHA           EVANS                  NM     90012748585
595768A947B46B   JARLIN             PEARMIN                NC     90013958094
5957697A62B27B   KENNITH            ALFARO                 DC     90014259706
59577558A72B27   CHELSEA            ARAGON                 CO     90007645580
59577A58272B27   VERONICA           ESPARZA                CO     33083670582
59577A8952B245   DANNY              HIRSCHFIELD            DC     90002070895
5957855A272B38   LEEANN             MONTOUR                CO     90011285502
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 215 of 2350


5957858445758B   LEAH          MAESTAS                     NM     90009925844
595785A6691587   FERNANDO      RIVAS                       TX     75050495066
5957877422B27B   MARIKA        WASHINGTON                  DC     81001667742
5957888A933699   BIAMCA        GREEN                       NC     90014358809
59578A1635B387   JOSE          SACAYOU                     OR     90014150163
5957947A991587   LAURA         VALDES                      NM     75067144709
59579652A61971   MILKA         FRIAS                       CA     90011156520
5957966962B244   CHANELLE      FRAZIER                     DC     90005016696
5957B445961971   DANIEL        GOMEZ                       CA     46090744459
5957BA5A65B271   PAULINE       DISNEY                      KY     90005340506
5958198754B588   ABIGAIL       MALLONEE                    OK     21557969875
5958211774B588   HYE           SLACK                       OK     90007491177
595823A645B387   KHERTA        NOOR                        OR     90012393064
5958263965B531   LUIS          ACOSTA                      NM     90014786396
59584135A81632   LAURA         GRABER                      MO     90010221350
5958429667B46B   AMERICA       TRUJILLO                    NC     90010212966
5958452332B27B   SPARKLE       RANDO                       DC     90014885233
5958474A651348   MARIE         KANTE                       OH     90013937406
59584861272B36   ROBERT        ROYBAL                      CO     90010738612
5958587284B588   CHRISTOPHER   FORD                        OK     90008208728
595858A3951294   EDGAR         ESCAMILLA                   TX     72062628039
595858A855B531   JOVAN         SALAZAR                     NM     90010298085
59587416372B49   ALANA         STAUFFER                    CO     90006364163
5958848355B271   THOMAS        WILLETT                     KY     90006484835
595885A2921696   KIA           SMITH                       OH     90015385029
59588851572B43   PEDRO         RESENDIZ                    CO     90003738515
5958929265B387   CARLOS        DE LA HOZ                   OR     44562122926
5958958354B524   OSCAR         HERNANDEZ                   OK     90010525835
5958973A157591   DANIEL        PENA                        NM     90003227301
5958991815B271   AMANDA        CASEY                       KY     68060189181
59589A74272B27   ANTHONY       NICHOLSON                   CO     33039890742
5958B311972B43   IMELDA        VASQUEZ                     CO     33019803119
5958B85115B387   LOURDES       JAUREGUE                    OR     90009538511
5958B983472B27   BENNY         CHAVEZ                      CO     90012749834
59591479972B38   ERIKA         NAVARRO                     CO     90009484799
59591A4717739B   ANTONIA       HOLDERBAUM                  IL     90013240471
5959289995758B   JESSE         DELGADO                     NM     90003508999
5959358885B531   DANIEL        OLIVAS                      NM     90010695888
59593935A31468   CHRIS         TRAVIS                      MO     90013819350
5959462755B283   LINDA         HILL                        KY     68025876275
5959497AA91587   JORGE         RODRIGUEZ                   TX     90007539700
59594A5262B27B   GREGORY       MASON                       DC     90013950526
59597365A33699   PATRICK       BLACKWELL                   NC     90013943650
5959818A44B28B   DELORES       GLINSMANN                   NE     90009761804
595982A6172B38   NORMA         LEYVA                       CO     33018012061
5959873175715B   YULIANA       REYES                       VA     81048047317
5959887712B245   KANIESHA      TILLER                      DC     90002108771
595991A212B27B   ROBIN         OSBORNE                     DC     90011171021
5959935995B531   DANNY         GARNER                      NM     35021473599
5959991A361971   RICHARD       SIQUEIROS                   CA     90015319103
5959B212A2B27B   KA            FOUR                        DC     90014092120
5959B237172B27   CLEMENCIA     SANTOS LOPEZ                CO     90013822371
5959B627261971   LUCIANO       PEREZ-DAMIAN                CA     90007416272
5959B777493724   STACIE        GRIDER                      OH     90013987774
595B126A451348   MARIO         AVILA                       OH     66064262604
595B236862B245   CHARLENE      MONROE                      DC     90012843686
595B2395755971   SHERRIE       EIDSNESS                    CA     90012763957
595B2431473268   EMERSON       JOHNSON                     NJ     90014504314
595B255145B531   FRANCISO      CORDOVA                     NM     90014785514
595B262A64B28B   MOHAMMAD      KHALIL                      NE     26048956206
595B2713772B36   SAMUEL        HARRIS                      CO     90014927137
595B278A542335   ALICIA        MOORE                       TN     90003917805
595B2A37272B43   FRANCISCO     VASQUEZ                     CO     33073790372
595B314615B387   MARRISA       LARCOM                      OR     90014371461
595B3286872B38   MALORIE       ESCOBAR                     CO     90013132868
595B3299481622   ROSHONDA      OLIVER                      MO     90004932994
595B32A6A5715B   GARY          CUNNINGHAM                  VA     90014082060
595B339A272B36   THELMA        CASTILLO                    CO     90014943902
595B3663172B27   SADIE         MEDOW                       CO     90007916631
595B448915135B   JORELL        HACHER                      OH     90008864891
595B46A685B531   MISAEL        GONZALEZ                    NM     90007946068
595B5358531429   MAURICE       COLEMAN                     MO     27512973585
595B55A575B397   LYNN          MAHONEY                     OR     90010035057
595B5766772B38   SILVIA        NEGRETE                     CO     33025527667
595B5862272B38   KEILA         YANEZ                       CO     90013618622
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 216 of 2350


595B618135715B   ESTIFANOS    TEKLEGIORGIS                 VA     90014171813
595B6528351348   FABIOLA      AGUILAR                      OH     66094385283
595B653A172B49   SHELLEY      GARCIA                       CO     33085235301
595B6A98591587   PATTY        DIAZ                         TX     75011520985
595B7864591895   LEE          ROACH JR                     OK     21058658645
595B7A11A7242B   LEWIS        MARTINI                      PA     51001220110
595B842225715B   DORA         VIERA GUTIERREZ              VA     90012494222
595B856147B46B   MARSHALL     FLICKER                      NC     90013025614
595B8853372B36   JUAN         DE ARCOS- ORTIZ              CO     90012908533
595B8899357591   CASTRO       HERNADEZ                     NM     90003218993
595B9158872B36   SANDRA       PACHECO                      CO     90014941588
595B9286872B38   MALORIE      ESCOBAR                      CO     90013132868
595B9A58251348   JUANA        AGUSTIN                      OH     66008800582
595BB112A4B588   OSHINA       BORDERS                      OK     90014901120
595BB53A24B588   MICHAEL      LOTT                         OK     90012075302
595BB558A51348   KALILA       DAVIS                        OH     90014905580
595BB9A9361965   RAMADAN      ISSA                         CA     90008189093
5961145365B387   KAYYUNNA     COOPER                       OR     44578644536
59611729A5715B   OSCAR        BRIZUELA                     VA     81026757290
596117A317B46B   XIOMARA      SARAVIA                      NC     90013937031
5961183955758B   PETER        VIA                          NM     90012758395
5961234A661971   NATASHA      BRAZEAU                      CA     90009563406
59612A94172B38   JAMES        VOGENTHALER                  CO     33081430941
5961311787B46B   ALLAH        HAIGBEA                      NC     90001781178
5961337AA55971   CARI         OBRIEN                       CA     90013873700
5961456A24B588   DANNY        ELLERD                       OK     21562415602
5961538174B28B   MICHELLE     MCCULLOUGH                   NE     26012363817
596158A3844B26   JANICE       DYER                         OH     90015038038
59615922472B27   CRYSTAL      WINDHORST                    CO     90004729224
5961735555758B   ORLANDO      GONZALEZ                     NM     90013853555
59617A53972B36   DAVE         WALKER                       CO     33024120539
59618218572B27   MARIO        JONES                        CO     90009422185
5961899135B387   RITA         DAVILA                       OR     90011629913
59618A5274B588   JESSICA      RODRIGUEZ                    OK     90003560527
5961926A85B531   JORDAN       BONDESON                     NM     90003172608
59619541A5715B   EVA          FLORES                       VA     90012925410
5961979547B46B   COREY        SINGLETON                    NC     11002127954
5961B744872B27   IVONNE       ESTRADA                      CO     90011607448
5962121A32B27B   CECIL        THOMPSON                     DC     90005012103
5962133958B175   CARL         GRIFFITH                     UT     90011333395
5962152A472B43   JOEY         OSBORNE                      CO     90009975204
5962247552B273   ROY          HARRIS                       DC     90008544755
59622A79193724   ERIN         HARKLEROAD                   OH     90003260791
59623242A61971   MARTHA       JUAREZ                       CA     90005032420
5962472657B46B   DINORA       LEMUS                        NC     90013937265
59624781572B38   NOEL         ORNELAS-RIVERA               CO     33042087815
5962524355B531   JOHN         BESSE                        NM     35072072435
5962525385B387   JENNIFER     OSTERHAUS                    OR     90014612538
59626352772B49   LISA         FLINT                        CO     33026013527
5962861A13B35B   SEAN         MCENIRY                      CO     90012056101
5962876A131428   JOHNESE      OWENS                        MO     27505757601
59629396572B43   RICHARD      SALAZAR                      CO     90014773965
59629571172B38   MARCELA      SOTO                         CO     90011285711
596297A7351348   LESHA        COLEMAN                      OH     90014047073
5962B16155758B   JENNIFER     ROMERO                       NM     90000371615
5962B47525B531   WILLAIM      VANZILE                      NM     90006264752
5962B648A61971   JIHYUN       YANG                         CA     90014006480
5963174A47B46B   GERTUDIS     BENITEZ                      NC     90013937404
5963194655758B   ABIGAIL      CARDONA                      NM     90013049465
5963341A372B38   JESUS        ALVAREZ                      CO     90009754103
5963342725B531   ARACELI      CABELLO                      NM     90006414272
59634A78A5B387   JOANNA       CARRASCO                     OR     90014150780
5963654395B387   SHERRI       KIRK                         OR     90008965439
5963695912B973   RAFAEL       GARCIA                       CA     90007609591
59637115644B26   SABRINA      FUTURE                       OH     90015041156
59637A9785715B   JOSEFA       CONTRERAS                    VA     81081970978
596381A4133696   RONITA       QUEENETTE HILL               NC     90003951041
5963869885B387   FERNANDO     VELAZQUEZ                    OR     44511996988
59639133872B49   JOSEPH       CRESPIN                      CO     33027371338
5963991145B52B   SHELLY L     WEIDAUER                     NM     90008709114
59639AA1772B27   SAMERAH      MCGHEE                       CO     90011450017
5963B239261971   VERONICA     GARCIA                       CA     90014452392
5963B398172B36   SCOTT        MENDEZ                       CO     33061753981
5963B575472B43   CARRIE       TRONEL                       CO     33020835754
5963B924591587   ARMANDO      RODRIGUEZ                    TX     90010529245
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 217 of 2350


5963B973272B38   VIRIDIANA                    ORTIZ              CO   33089839732
5964125A172B27   MARIA                        MALTOS             CO   90010662501
596423A3961931   SHALESE                      PARKER             CA   90011033039
596424A5191587   JOJON                        WILCOX             TX   90008274051
5964474957B391   VICTORIA                     WEAVER             VA   90001017495
59644796A72B36   RENE                         DE LOS SANTOS      CO   90000947960
59644886A61965   JAY                          LOMBARDI           CA   90012878860
5964521733B337   ALICIA                       ZAMBRANO           CO   33009902173
5964532435715B   PEDRO                        GUEVARA            VA   90012563243
5964567164B28B   LISA                         ANKROM             NE   26080046716
5964626352B27B   TONYA                        SPENCER            DC   90008892635
5964717365B531   DANIELA                      RAMIREZ            NM   90009661736
59647532472B27   RENEE                        LOYA               CO   90013825324
59647617472B38   ROSALVA                      PACHECO            CO   90011286174
5964815585B531   JESSICA                      GUTIERREZ          NM   90014791558
5964881A276B21   JOCELYN                      OREGON             CA   90005398102
5964897835715B   RONALD                       JONES              DC   90007559783
59648A88A91587   DIANA                        MORALES            TX   90000150880
5964943A172B49   DEB                          SMITH              CO   33087984301
59649A98372B23   JADE                         MAYO               CO   90012390983
5964B75357B46B   KARINA                       ALEMAN             NC   90013937535
5964B76425B283   PATRICIA                     JONES              KY   68057347642
5964B917472B38   JOSE                         MARTINEZ           CO   90008459174
59651172A61965   WILLIAM                      MCKENNA            CA   90012951720
596512A235B283   LAURA                        MEADOR             KY   90004612023
59652A6665B342   TERESA                       MCCOLL             OR   90010210666
5965315634B588   TRINA                        DAVIS-HARTGROVES   OK   90013491563
5965327195758B   JESSICA JEAN                 KAMPLING           NM   90004722719
59653483672B27   JOSE                         TORRES C           CO   33007444836
59653714572B36   ANDRE                        MARTINEZ           CO   90013157145
59653A96A7B389   DEBORA ANN                   THOMAS             VA   81026050960
596542A4172B49   MARTINA                      CRUZ               CO   90012902041
59654321572B38   GIOBERTO                     DIOSDADO           CO   90014733215
59654A88791587   BLANCA                       RODRIGUEZ          TX   90006380887
596552A1651348   CHARLES                      BARNWELL           OH   90009472016
5965615585B531   JESSICA                      GUTIERREZ          NM   90014791558
5965627714B588   RENE                         MANZANO            OK   90010972771
596562A6491584   ANGELICA                     RODRIGUEZ          TX   75018912064
596563A9433699   SOLEDAD                      VALENTIN           NC   12045573094
5965648662B244   CHRIS                        FROKLIFTER         DC   81027044866
5965672445715B   LUIS                         CHAVEZ             VA   81052907244
5965682647B46B   SONIA                        COREAS             NC   90013938264
5965715585B531   JESSICA                      GUTIERREZ          NM   90014791558
59657714572B36   CONSUELO                     ROBLEDO            CO   33092367145
5965772415715B   JULIANA                      LOPEZ              VA   90000777241
59657733272B27   MARSHA                       SANDOVAL           CO   33043827332
5965793A524B43   JOSE                         AGUILERA           VA   81017169305
5965811315B387   RUBEN                        LOZOYA             OR   90010131131
5965815585B531   JESSICA                      GUTIERREZ          NM   90014791558
59658353A8B191   RET                          HUTCHISON          UT   90006403530
59658A3255B283   SARA                         MOORE              KY   68057350325
59658A9A393724   STUDEBAKER FAMILY NATIONAL   ASSC               OH   90011750903
5965915585B531   JESSICA                      GUTIERREZ          NM   90014791558
5965922128B191   MICHELLE                     DAVIS              UT   31091952212
5965928777B46B   TASHA                        HOWARD             NC   11062322877
5965B179361971   LAWRENCE                     TIERCE             CA   90014811793
5965B4A8791895   RICKY                        DAVIS              OK   90014704087
5965BA22561971   IVAN                         LOPEZ              CA   90012850225
59661283372B43   SHAYLA                       MANNING            CO   90013642833
5966138963B399   TRAVIS                       TEAGUE             CO   90002323896
5966157462B369   BRUCE                        MORDEEN            CT   90014525746
596615A8793786   MARGARET                     BOOKWALTER         OH   90014135087
5966319447B46B   JAVONTE                      CHAMPELLE          NC   90012371944
5966348115B531   BRENDA                       LABRADO            NM   90014134811
5966354414B588   ANDREW                       WOLFE              OK   90014285441
5966377435B283   RENE                         SMITHSON           KY   90014597743
596648A5A72B49   OSCAR                        ROMERO             CO   90004128050
5966493835B531   ANGEL                        RODRIGUEZ          NM   90014719383
59664A26372B38   YESENIA                      ALVARADO           CO   90014050263
596654A4961971   THOMAS A                     PASENELLI          CA   90004764049
596654A6572B27   PHILIP                       GONZALES           CO   90010994065
5966568545758B   IRMA                         MARTINEZ           NM   90010336854
5966573917B46B   WHITNEY                      JONES              NC   90012337391
59666188772B36   JAVIER                       VILLEGAS           CO   33004661887
5966628465B387   DMITRIY                      LEONTIY            OR   90007582846
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 218 of 2350


5966779957B46B   TWABDA        HARRIS LILLY                NC     90013937995
59668279472B38   MIA           JURZEC                      CO     90013132794
5966835132B245   DOUGLAS       STANCIL                     DC     90009823513
59668892372B27   JOSHUA        SANDOVAL                    CO     90014488923
59668957172B34   ALEJANDRO     HERNANDEZ                   CO     90006729571
5966B72815B387   COREY         JENKINS                     OR     90012037281
59671365A91587   JESSICA       SOMMERFELD                  TX     90014093650
59671472272B43   MARIO         TORRES                      CO     90007634722
59671679A7192B   RAYMOND       ROGAN                       CO     90010146790
5967223414B28B   MARK          SLECHTA                     NE     26094002341
5967245692B27B   MARILYN       DOWNS                       DC     90014874569
5967287812B245   KIZZEE        HOWARD                      DC     90004668781
59672881672B27   CRAIG         KOPPEL                      CO     33029408816
5967323415758B   BERTHA        GANDARA-CARRILLO            NM     90003012341
5967356775B531   RICHARD       MAGALLANES                  NM     90007885677
59673834272B49   MANUEL        FLORES                      CO     90013348342
5967393112B27B   ESTER         HARDESTY                    DC     81069639311
59673A66A51348   DAVID         HOPKINS                     OH     66039350660
59674632A33699   ANTONIO       ROGERS                      NC     90013946320
59675343472B27   MARTHA        MAGANA                      CO     90013083434
59675599772B36   ALFREDO       GARCIA                      CO     33024305997
5967598A591587   MONICA A      DELGADO                     TX     90007539805
59676348572B38   JOHNATHON     VALDEZ                      CO     90013133485
5967727A791587   CAMACHO       MOISES ROBERT               TX     90005962707
59677535572B27   JORADO        LETICIA                     CO     90011125355
5967863384B588   EASLEY        KEITH                       OK     90014866338
59678668572B36   DESTINY       VALDEZ                      CO     90013766685
596787A2A61965   JUANA         CASTILLO                    CA     90009167020
5967B467733699   ESMERALDA     NUNEZ                       NC     90013994677
5968125924B28B   NATASHA       MICHAUD                     NE     26040852592
59681322572B21   ROSALBA       SIMENTAL                    CO     33008743225
5968132A557591   MORENO        ELVIA                       NM     90003243205
5968133247B46B   TONY          GRIFFIN                     NC     90012383324
5968156375B522   FELIX         CANAMAR                     NM     90000135637
596815A5191584   RICHARD       AGUILERA                    TX     75055045051
59682536A72B43   GREGORY LEE   ORTEGA                      CO     90009525360
5968316225715B   NURIS         CUEVAS                      VA     81055631622
59683832133B26   FELIPA        PASCUAL                     OH     90015438321
59683997372B43   HECTOR        MUNOZ                       CO     90006719973
5968424745758B   NATAN         ACOSTA-GARCIA               NM     90012732474
5968456815B387   JOSEPH        GRANT                       OR     90014325681
5968473A261971   ANTWINE       BROUSSARD                   CA     90011867302
5968571335715B   WALLACE       JOHNSON                     VA     90007117133
59685863A7B339   MD            HUSON                       DC     90012328630
59685A96972B2B   JOSHUA        LITTLE                      CO     90013020969
5968699574B588   TRE           PACKER                      OK     90008769957
59686A1A85758B   LETICIA       MILLER                      NM     90005600108
5968742745758B   GARRY         PIGG                        NM     90013784274
59687511672B38   SANTOS        AISPURO                     CO     90010115116
59687A32A51348   NICOLINE      NSHOM                       OH     66092320320
596882A655B531   STEPHANIE     MARTINEZ                    NM     90014792065
596883A8993724   CARRIE        WILLIAMS                    OH     90014643089
5968897547B46B   ROGELIO       RUIZ                        NC     11017479754
5968898184B588   CARMALLITA    MILES                       OK     90011119818
59689671A33699   ADALILIA      CORTEZ                      NC     90013946710
59689739572B24   JANELI        GONZALEZ                    CO     90012757395
5968B665433699   MISAEL        LAZARO                      NC     90013946654
5968B754741272   WILLIAM E     KELLEY                      PA     51057307547
5969131735758B   ROBERT        MATA                        NM     90013893173
59691357472B38   ASHLEY        LUJAN                       CO     90013133574
5969145A772B43   SHOCKLEY      TIFFANY                     CO     33069854507
5969156A972B36   FELICIA       GARZA                       CO     90013985609
5969227915B387   KARL          HANSON                      OR     44598402791
59692372A5758B   FONSECA       BRITTANY                    NM     90008153720
59692AA6891587   ROBERTA       CAZIER                      TX     75042140068
5969317A431429   KEYON         PITTS                       MO     90012391704
5969371255B387   STEPHEN       EPSTEIN                     OR     90012687125
5969385A572B24   KIMBERLY      EVANS                       CO     90006448505
5969415415715B   SEWINET       TADDESSE                    VA     90007561541
5969547A372B49   REBA          ANDERSON                    CO     90012064703
59695832797B54   CHRISTINO     DIAZ                        CO     39033688327
59696149672B38   JESUS         TERRAZAS                    CO     33070121496
59698577272B49   GABRIEL       LOPEZ                       CO     33034495772
59698A33861965   FAHAD         ALROBIAN                    CA     90010350338
59699AA5593724   SHEILA        HUFFMAN                     OH     90011940055
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 219 of 2350


59699AA612B245   MARSHELLE    CONNER                       DC     90014650061
5969B426761965   CORBY        MCLARNEY                     CA     90010974267
5969B52777242B   RICHARD      RUSSELL II                   PA     51068055277
5969B97554B28B   AMBER        MARTINEZ                     NE     26072329755
596B1377533699   SONYA        WATSON                       NC     90013943775
596B1393272B49   MICHAEL      GRIEGO                       CO     33017063932
596B164595B531   GLORIA       CARDONA                      NM     90014786459
596B21A335B387   MAGDALENE    SALINAS                      OR     44522601033
596B2228193724   LEAH         FRAZEE                       OH     64532242281
596B2319372B38   MANDELYN     RANKER                       CO     90013133193
596B266697B46B   TANETHER     CAMPBELL                     NC     90013936669
596B2823A72B49   CARLOS       DELGADO                      CO     33054978230
596B326892B27B   HENRY        SUNUN                        DC     81044352689
596B3283A51348   DENNIS       C DAY SR                     OH     90010252830
596B3424572B24   CATALINA     URIBE                        CO     90008524245
596B351A95B271   KELLIE       ROGERS                       KY     68013095109
596B456775B531   CHRISTINE    GEMOETS                      NM     90014785677
596B4658231428   KEISHA       NELSON                       MO     90007226582
596B5658891895   NIANG        CING                         OK     90014546588
596B5899A93724   ERICA        APPLIN                       OH     90001048990
596B693332B245   TAMERA       KILGORE                      DC     90011649333
596B72A2472B24   PETRA        PUEBLA                       CO     90012222024
596B77A2872B27   JASMIN       ANDERSON                     CO     90013537028
596B7963961965   ALI          SALMANI                      CA     46098549639
596B797842B27B   ROBERT       JOHNSON                      DC     90001179784
596B7A6137B46B   JERSON       MENCIA HERNANDEZ             NC     90010600613
596B8146755971   DORA         ALBA                         CA     90014791467
596B8371854151   TAMARA       COLLIER                      OR     90012333718
596B8538851348   BILL         BISHOP                       OH     90015415388
596B858452B27B   REGINALD     JOHNSON                      DC     90012995845
596B8864A51348   ASHLEY       PERILLO                      KY     90011158640
596B88A4761965   MARTIN       GONZALEZ                     CA     90012878047
596B9157172B49   MARGARITA    GOMEZ                        CO     33013761571
596B949A861971   ARSENIA      PERALTA                      CA     90005264908
596B9531A4B588   VICTOR       DOMINGUEZ FLORES             OK     90010815310
596B962698B199   MONTE        ADAMS                        UT     90000296269
596B9A32851337   TRACI        GEE                          OH     66053660328
596BB33A84B553   CARLOTTA     BURLESON                     OK     90009433308
596BB95675715B   JAIRO        ARREAGA                      VA     90010419567
597111A335B387   NADINE       RABAGO                       OR     44547631033
59711767572B49   MORGAN S     COLEY                        CO     90004017675
5971276694B588   MANUEL       ALVARENGA                    OK     90014937669
59713349172B27   FRANK        ROBERTS                      CO     33015473491
59713368872B36   APODACA      AUGUST                       CO     33097823688
597133A4251348   JOHN         PARKER                       OH     90002703042
5971343A17B46B   MOISES       AMADOR                       NC     11000854301
597134A2651332   ANGIE        CHITWOOD                     OH     90007934026
59713A37172B49   IMELDA       PEREZ                        CO     90013930371
59714587272B43   JEANETT      MEDINA                       CO     90001505872
59714A2325B283   TRUDY        MAYS                         KY     90011200232
5971529A25B531   JANET        SAIZ                         NM     90014792902
597157A4533699   YESENIA      OCAMPO                       NC     90013947045
59715844872B36   EPIFANIO     SERRANO                      CO     33082418448
5971644A861965   PEDRO        NAJERA                       CA     90014824408
597166A9372B38   CARLOS       JARA ARROYO                  CO     33067936093
59716997772B49   PHILIP LEE   LOBATO                       CO     90014739977
59717656972B49   MARK         DOWNEY                       CO     90010086569
5971792897B46B   MUHAMMED     DAHMASH                      NC     90013939289
5971829335B531   ALEJANDRO    CARRERA                      NM     90014792933
59719117772B36   ROBBIE       JOHNSON                      CO     90007001177
5971956942B245   MARCELL      GOREE                        DC     90014715694
5971968345B387   RACHEL       HERNANDEZ                    OR     90014826834
59719861A72B38   CAROLINA     MIRAMONTES                   CO     90014888610
5971B1A9172B38   GABRIELA     LOPEZ                        CO     33039601091
5971B21475758B   ALEJANDRO    OROZCO                       NM     90012472147
5971B359833699   JUAN         SANTACRUZ                    NC     90011643598
5971B69852B245   TIERA        MOORE                        DC     90005226985
5971B766291587   DAVID        SEPULVEDA                    TX     90013907662
5971BAA9757379   JOSH         GRAUPMAN                     MO     90014090097
5972129335B531   ALEJANDRO    CARRERA                      NM     90014792933
5972154675758B   ASHLIE       HERNANDEZ                    NM     35506485467
5972194A24B588   MARIA        PEREZ HERRERA                OK     90013559402
59721A19793724   FLORENCE     OWENS                        OH     90010880197
5972229335B531   ALEJANDRO    CARRERA                      NM     90014792933
59722566272B38   DANIEL       FERNANDEZ                    CO     90011285662
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 220 of 2350


59722A71351348   DALE          BRUNNER                     OH     90015170713
59723293A2B245   KEYANA        KELLY                       DC     90013102930
59723A76851348   LEONEL        HENRIQUEZ                   OH     66087450768
5972431287B46B   RENAE         BANKS                       NC     90009913128
59725A7A833699   BATZAYA       BATCHULUUN                  NC     90008500708
5972611545758B   PAUL          GARCIA                      NM     90013741154
5972687625715B   MARCO         LEMUS                       VA     81052998762
5972737455715B   ERMA          ERVIN                       VA     90014403745
59727515172B38   VICTOR        VILLA                       CO     33054775151
59727932A5B531   CRYSTINE      BEBAULT                     NM     35031959320
59728355A4B588   DARYLL        SONLEY                      OK     90012673550
597284A6961971   RICARDO       FARIAS                      CA     90014054069
59728A4914B588   EDELMIRA      LOPEZ                       OK     90012630491
5972938515B283   SARAH         HOGUE                       KY     90004613851
5972966527242B   DONNA         HEASLEY                     PA     51032416652
5972B25A82B27B   GLORIASTEAN   HUNTER                      DC     90014962508
5972B29335B531   ALEJANDRO     CARRERA                     NM     90014792933
597313A265B531   AMANDA        RECIO                       NM     90014793026
5973189A891524   ADOLFO        ESTRELLA                    TX     90010398908
5973198427B46B   SANDRA        VELAZQUEZ                   NC     90009969842
59731AA2A72B49   ROBERT        MATTHEW                     CO     33085900020
59732222A5B387   MICHELLE      MOEHRLE                     OR     90014162220
5973232455758B   TERES         CARILLO                     NM     90014693245
5973244A861965   PEDRO         NAJERA                      CA     90014824408
5973328A65B387   SAMUEL        LANGFORD                    OR     90011892806
5973341185715B   AMAR          SINGH                       VA     90010264118
59734269472B49   ANDRES        GARCIA                      CO     90012342694
5973451A272B27   AMBER         ANDERBERG                   CO     90012715102
59734961372B43   ANNA          MARTINEZ                    CO     90008069613
5973529745B256   CHRIS         GOODWIN                     KY     90009682974
597352A545B551   STEVEN        MCGAVOCK                    NM     90012752054
5973546575715B   ANTULIO       LOPEZ CRESPO                VA     90011084657
59736541172B27   LUIS          LOPEZ                       CO     90013555411
597366A855B531   MICHAEL       CHAVEZ                      NM     35078646085
5973698A62B245   DEMARCUS      JOHNSON                     DC     81086369806
59737233A5B387   MICHELLE      HAYWARD                     OR     90014162330
5973724827242B   MATTHEW       SANTIAGO                    PA     51088192482
59738377227B99   SUSIE         DUDLEY                      KY     90015073772
59738489772B36   SONIA         AGUILAR                     CO     90015114897
5973856A86B247   DALICIA       HOLMES                      AZ     90013955608
59738583944B85   CARLOS        MARQUEZ                     OH     90014555839
59738994972B25   NELSON        ARCHILA                     CO     33011659949
5973933215B387   JULIA         GROSS                       OR     44551853321
59739799872B36   GRISELDA      BEJARANO                    CO     90000507998
5973B1A885B387   GREEN         COMMUNICATIONS              OR     90014181088
5973B56442B27B   ANTHONY       MACKELL                     DC     90011155644
5973B61245B387   BENJAMIN      PRECIDO                     OR     90013376124
5973B914A5758B   MERLINDA      FAOTOA                      NM     90004839140
5974122395B387   AMADOR        MENDEZ-PEREZ                OR     90000662239
5974133AA7B46B   ADELA         HERNANDEZ                   NC     90010423300
5974134475758B   LORENZA       GUZMAN                      NM     90013533447
5974193A472B36   JORGE         VELAZCO                     CO     33052599304
59741A42784852   GERARDO       ANAYA                       NJ     90015050427
59741A9827B46B   TAMMY         COELY                       NC     90015190982
59742741972B36   ROGELIO       PEREZ                       CO     90009467419
5974287584235B   WILLIAM       HOUSTON                     GA     90008938758
59742883A51351   SHEENA        FOSTER                      OH     66060108830
59743712372B36   MARIA         CAVALA                      CO     90014527123
59743A64572B36   PAM           MURDOCK                     CO     33072550645
59744531A5715B   MARIA         SALINAS                     VA     90010735310
59744995872B38   OSCAR         FELIX                       CO     90008309958
597451A6672B27   GABRIELLA     BOONE                       CO     33048951066
5974537295B531   BENNY         VALDES                      NM     35071013729
5974547382B27B   TINO          SANCHEZ                     DC     81073254738
597454A8872B34   GIOVANNY      DE LEON                     CO     90007964088
5974583A591895   HOPE          ROGERS                      OK     90014538305
59745A42791895   BRIAN         AMES                        OK     90015510427
597461A3661971   JAMES         ZIMMERMANN                  CA     90012951036
5974668152B272   DONTA         MCFADDEN                    DC     90012486815
5974698232B245   BIANCA        JACKSON                     DC     90013369823
5974981477B46B   BRIDGETTE     BENTON                      NC     90011588147
59749816A4B588   LESLIE        COOK                        OK     21561728160
5974B24495B387   TERRI         ZAGONE                      OR     90014162449
5974B526872B38   CLIFFORD      NICKLES                     CO     90011315268
59751164A7242B   JENNIFER      PLATT                       PA     51015341640
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 221 of 2350


59752294572B43   JESSICA            HANSON                 CO     90015452945
59752379197B4B   CARA               CAVEENDER              CO     90011003791
5975239A661965   MICHELLE           GUZMAN                 CA     46082713906
5975246A84B588   ASHLEY             SLOAN                  OK     90011444608
597528A7161971   ELIZABETH          VILLANUEVA             CA     90008378071
5975339832B998   EDELMIRA           LOPEZ                  CA     90003943983
59753499A5715B   MARIA DEL CARMEN   RUBIO                  VA     90011154990
59753628A93724   BRUCE              OSWALT                 OH     90014176280
5975583583B349   COMPTON            NICOLE                 CO     33089608358
59755A2A65B531   RAY                CHAVEZ                 NM     35021840206
59756329172B38   NICKOLAS           JENKIN                 CO     90010463291
59756A56472B38   NICKOLAS           JENKIN                 CO     90012770564
59757558272B38   JOHN               HEWITT                 CO     90015125582
59758181172B36   FERNANDO           GUZMAN                 CO     33081351811
59758338976B8B   MICAELA            ORTIZ                  CA     46090063389
5975836565B531   PAYGO              IVR ACTIVATION         NM     90014793656
5975838945758B   JOSE               ZAVALA                 NM     90014833894
5975936A45758B   FRAN               FRANCIS                NM     90010393604
59759A8474B588   MARGUERTITE        POLLOCK                OK     90012400847
5975B31A272B49   JUAN               GUTIERREZ              CO     90011663102
59761114972B43   BOBBY              REBOL                  CO     33008131149
59761177172B27   DERRICK            PARKER                 CO     90015451771
5976138675B531   RUBEN              CRUZ                   NM     90014793867
5976166235758B   ERIC               CAMPOS-MUNOZ           NM     90012926623
5976182775B387   STEFAN             ROSQVIST               OR     44559458277
5976239825B531   ANTOINETTE         IBARRA                 NM     90014793982
59762A52A61965   JESSE              LOPEZ                  CA     90013840520
5976361A75758B   DESIREE            CARILLO                NM     35581506107
597636A5561971   LUEL               TEGABU                 CA     90006206055
59763712372B49   MICHELLE           CASIAS                 CO     90011107123
5976397A991587   GONZALEZ           RAUL                   TX     75028929709
59764358472B27   BARRAULEO          CHAVARREA              CO     33067423584
5976439825B531   ANTOINETTE         IBARRA                 NM     90014793982
5976538675B531   RUBEN              CRUZ                   NM     90014793867
59765754872B49   FABIAN             ESPARZA                CO     90014757548
59765877772B36   JOSEPH             PHILLIPS               CO     90014458777
59765A3624B588   YUNUEN             GOMEZ                  OK     90015210362
59766424272B49   DONY               JOHNSON                CO     90013764242
59766A1677B46B   MARK               GRIER                  NC     90013940167
5976723985B531   MARY               SEDILLO                NM     90006722398
5976745985758B   LEOBARDO           CARNERO                NM     35545664598
597674A4391524   BEATRIZ            CORDERO                TX     90011384043
597676A584B588   MARCUS             JACKSON                OK     90010816058
5976855615B387   QUANDRAE           GENTLE                 OR     90002835561
59768839472B24   JOVE               MARTIN                 CO     90008528394
59769393572B38   THERESA            GONZALES               CO     90013133935
59769A27333699   ANGELA             MAYES                  NC     90013950273
5977122827B46B   MARK               MADAY                  SC     90013852282
5977165A55B387   NICOLE             LIPP                   OR     90013396505
5977183367B46B   SHANTE             KINARD                 NC     90011048336
5977214555715B   CECILIA            MANGUIA                VA     90015201455
59772A33593724   TYRONE             BROWN                  OH     90012780335
5977335822B27B   NICKY              EBERHARDT              DC     90009613582
59773767272B27   JACOB              TRUJILLO               CO     90011377672
5977385297B46B   PEDRO              NETO                   NC     90013958529
5977561555715B   TEQUA              JOHNSON                VA     81053086155
59775659172B43   EMITT              DANIELS                CO     90011326591
5977579895B142   FRANCINE           BILLINGS               AR     90008307989
597758A8851348   LAMONT             WOMACK                 OH     90005958088
5977726947B46B   RUBEN              IRIGOYEN               NC     90009822694
5977734A491587   ELIDA              HERRERA                TX     90001693404
59777453172B49   DEBBIE             RAMOS                  CO     90013004531
59777898872B27   EFRAIN             MORALES                CO     90013028988
59777A5A972B38   LINDA              PROPP                  CO     90013160509
5977834795758B   MARIA              CORRALES               NM     35530923479
597785AA961971   MIKHAEL            MANSOR                 CA     46072015009
59778A6297B46B   JOSE               ABREGO                 NC     90013940629
5977911535715B   RUBEN              ESTRADA                VA     90015311153
597796A6972B38   XOCHITL            LOPEZ                  CO     90011286069
5977972647B46B   TYRIKA             WILSON                 NC     90014507264
5977977A74B561   SHARON             JACKSON                OK     90004897707
59779A27191895   ALYSHA             ALLEN                  OK     90012960271
59779A8635593B   MARIA              VILLAGOMEZ             CA     90010060863
5977B26437242B   DONNA              RUFFNER                PA     51059492643
5978154114B588   CANDICE            JONES                  OK     90010915411
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 222 of 2350


597815AA75B283   ELISHEA       CHILL                       KY     90004615007
5978172894B559   CHRISTOPHER   LEWIS                       OK     90008607289
59781A6617B46B   ANA           REYES                       NC     90013940661
5978218A977544   JOSE          BARRERA                     NV     90013221809
5978289915715B   WILSON        PONCE                       VA     90013778991
5978396935138B   HARRIET       JONES                       OH     90004259693
5978419665B387   ETHAN         WILSON                      OR     44536391966
597841A862B27B   VIRGINIA E    WILLIAMS                    DC     90011361086
5978518645758B   JUAN          RAMOS                       NM     35573051864
5978539362B245   RICHARD       LIGHTFOOD                   DC     90014813936
5978548AA91265   LASHAWN       BUSH                        GA     90005704800
59785A52861965   DAVID         SANTALO                     CA     90001830528
5978619845758B   RACHEL        LUJAN                       NM     90011241984
5978632425715B   JOHN          WANZER                      VA     90014843242
59786AA345B531   JEROME        JARAMILLO                   NM     90011060034
597871A515715B   LUCIA         MONROY                      VA     81054451051
5978721315B387   SEAN          SNIDER                      OR     90014132131
59787214872B38   JULIAN        QUINONEZ                    CO     90014722148
59787955872B49   JANESSA       VILLYARD                    CO     90013869558
597886A1291587   JESUS         SAENZ                       TX     75090276012
59788A87233699   CICELA        NOYOLA                      NC     90011480872
5978911818B186   JEFF          PACE                        UT     90004581181
5978944852B27B   GERARDO       LOPEZ                       DC     90000274485
597894A157B46B   JOSE          ARGUETA                     NC     90007584015
5978986765B387   BEVERLY       HARVEY                      OR     44567778676
5978B46165B531   PAUL          GALLEGOS                    NM     90014794616
5978B544861965   TYLA          WILKS                       CA     90001895448
5978B718861971   PENELLE       HART                        CA     90004137188
5978B88832B245   NANCY         HOLGAN                      DC     81082318883
5978B958A31428   ROSE          THOMAS                      MO     90007249580
59791232772B38   FELICIA       SEVERNS                     CO     90014722327
597913A1791587   MARIA         LOPEZ                       NM     90014833017
597918A398433B   DONNA         MITCHELL                    SC     90014788039
59791A82691587   RAUL          CASTRO                      TX     90001950826
59791A8482B27B   LEON          YOUNG                       DC     90013670848
5979233535593B   JASON         WILLIS                      CA     90011513353
5979276855715B   CARLOS        MEJIA                       VA     90011987685
59792891A72B24   JOYCE         ORAMAS                      CO     90008528910
59793332A72B28   LEDY          VASQUEZ                     CO     90000993320
5979375597B46B   CARMEN        SANCHEZ                     NC     90012337559
59794331272B38   REBECCA       SMITH                       CO     33050933312
59794468572B43   KARLA         LOPEZ                       CO     33083784685
5979453635B531   SHARON        DAVIS                       NM     35082715363
5979468415758B   ROSE          ACOSTA                      NM     90007476841
59794A84661971   THAMER        BAZOO                       CA     46097660846
597954A1472B38   MAURICE       SHELTON                     CO     90013134014
59795753A57B23   MIOSOTI       MARTINEZ                    PA     90014417530
5979576115715B   JOSE          SANTANA                     VA     90006897611
5979587192B245   BONNICA       MARTIN                      DC     81042338719
59795A9A433699   ANIBAL        PETATAN                     NC     90013950904
59796226172B49   GABRIELA      TRUJILLO                    CO     33090602261
5979648625715B   ANDRE         WALKER                      VA     90014824862
5979675167B46B   DARYL         LIVINGSTON                  NC     11098067516
59797783672B43   MAYRA         SOLARES                     CO     33097917836
5979836264B936   SHERYL        MAXILE                      TX     90014853626
59798544633B26   KIRA          TRUITT                      OH     90014625446
5979915A133696   JOSE          OJEDA                       NC     90003751501
5979B849172B38   CHAD          ZISKAL                      CO     33028888491
597B11A885B387   GREEN         COMMUNICATIONS              OR     90014181088
597B151454793B   REBECCA       ROARK                       AR     90004095145
597B1557A72B27   CRUZ          CARLOZ MARTINEZ             CO     33042415570
597B1781761971   AMY           WIEDNEHOFF                  CA     46029507817
597B2366172B38   ASHLEY        GONZALES                    CO     90013133661
597B294117242B   RYAN          CHALFANT                    PA     90005419411
597B2998393724   ROBERT        BREWER                      OH     90001269983
597B2A94972B36   MELONY        GALVAN                      CO     90014900949
597B326265B387   MARCIE        MILLER                      OR     44505722626
597B3565261965   SAHRA         ABDINUR                     CA     90004165652
597B3567591895   MARTHA        MEARS                       OK     90012255675
597B4467891587   ROSA          SOLORZANO                   TX     90009334678
597B5795333625   PATRICIA      MURPHY                      NC     90001547953
597B6239172B36   OLGA          PALMA-LOYA                  CO     90012762391
597B651597B69B   DANIEL        HOLMES                      GA     15024875159
597B6613761971   RYAN          TALMADGE                    CA     90003806137
597B6A48872B36   MATT          DOWLING                     CO     33000680488
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 223 of 2350


597B737344B588   KENNITH      SPRINGWATER                  OK     21536993734
597B7539372B27   MICHELE      RANGER                       CO     90012605393
597B7559372B36   PATTY        RUIZ                         CO     33063925593
597B7917A7B46B   JENMY        NAVAS                        NC     90013939170
597B8273272B27   FLORA        ROSALES-MONREAL              CO     33090822732
597B8488421B42   LAURIE       MANNO                        TX     90012754884
597B8731172B38   EDUARDO      REYNOSO RAMIRES              CO     90007097311
597B8796357591   GLORIA       MARTINEZ                     NM     35506207963
597B884377B46B   KINDAL       PERRY                        NC     90013958437
597B9269993724   PRISCILLA    MARSHALL                     OH     90002332699
597B933A933699   PONCH        LOUISE                       NC     90011643309
597B979242B27B   KAREN        MARTIN                       MD     90014297924
597B992897B46B   MUHAMMED     DAHMASH                      NC     90013939289
597BB28A18B597   CAROLINA     ARRISTIO                     CA     90013842801
597BB87872B27B   YVONNE       MACKEY                       DC     90008178787
597BB961772B49   WHEELER      TALBERT                      CO     90014949617
598113A5572B38   SARAH        DAWN FISHER                  CO     90014373055
5981152A15B531   JARTURO      RAMIREZ                      NM     90014795201
59811678A2B245   TIFFANY      HAIRSTON                     DC     90001366780
598116A7772B38   OM           KHANAL                       CO     90011286077
59811A26761971   HECTOR       FUENTES                      CA     46007830267
59811A51151388   JAMES        FRIEND                       OH     66078300511
59812339A93724   WILLIAM      GIBSON                       OH     90002803390
5981244A67B378   ROCIO        COOK                         VA     90003854406
5981252A15B531   JARTURO      RAMIREZ                      NM     90014795201
5981279282B27B   MARIA        FLORES CRUZ                  DC     90011157928
5981352A15B531   JARTURO      RAMIREZ                      NM     90014795201
59813943272B24   ANGEL        ANDERSON                     CO     33001679432
59813A77A7242B   JENNIFER     HONSE                        PA     51095180770
598144A7772B38   ZALINA       HOLDER                       CO     90013134077
5981452A15B531   JARTURO      RAMIREZ                      NM     90014795201
5981465775B387   KEVIN        BARRANCO                     OR     90004396577
5981465A855971   VANESA       RAMIREZ                      CA     90008696508
5981486615758B   PATRICIA     CORRAL                       NM     35541778661
59814873872B43   ERIKA        NAVARRO                      CO     90012198738
5981549784B588   MAYRA        RODRIGUEZ                    OK     90013224978
59815899A91895   CRISTINA     MATHEWS                      OK     90012578990
59816A2235758B   SUSANNA      MARTINEZ                     NM     35512530223
59816A2355B283   ELIZABETH    COOK                         KY     90005000235
59817412272B38   ELIZABETH    NEVAREZ-FLORES               CO     90013134122
5981757A62B245   KEITH        ALLEN                        DC     90011635706
59818113A7B46B   CHEYNNE      SKIPPER                      NC     90013941130
5981861934B588   DEZJSHAE     MCINTYRE                     OK     90009296193
59818737A61971   FETULI       VEIKOSO                      CA     90009857370
5981893A572B27   ALICE        SAMANIEGO                    CO     33026479305
5981896352B245   MORGAN       CLAY                         VA     90006739635
59818A83A91895   MATTIE       GILBERT                      OK     21086720830
5981953825B531   IRVIN        RASCON                       NM     90014795382
59819558A33699   FREDERICK    HOUSE                        NC     90013605580
5981B216755971   AVENAL       CRICKET                      CA     90010332167
5981B51585B531   ANTONIO      TORRES-ESTRADA               NM     90014795158
5981B591533699   ARLAYSHYA    SHELTON                      NC     12055805915
5981B798791587   JOANNE       HERNANDEZ                    TX     90011507987
5981BA51151388   JAMES        FRIEND                       OH     66078300511
5982118392B27B   JAMES        LUDWIG                       DC     90003081839
5982155574B241   CHEO         LIWARU                       NE     27016825557
598215A1291895   TANYA        THOMAS                       OK     21014105012
598217AA74B588   THERESE      CHANDLER                     OK     90010067007
59822992472B49   MARIA        GARCIA                       CO     33072809924
59823288372B49   LINDA        EDWARDS                      CO     90013182883
59823547472B36   DAKOTA       NESMITH                      CO     90012115474
59823944A63B91   WILLIAM      MCGRADY                      IL     90014709440
59824136672B49   DEENA        WIDIGER                      CO     33042291366
5982497554B588   GERALD       VOSS                         OK     21518109755
59825142A2B245   JACK         ADAMS                        DC     90000101420
598253A635B387   JASON        CROWE                        OR     90002283063
5982592729376B   MICHAEL      CLEELAN                      OH     90010059272
59826A36193724   SEAN         KELLY                        OH     64518780361
5982735815758B   LINDA        GOMEZ                        NM     90006543581
5982756A151348   SAMANTHA     WOOD                         OH     90013385601
59827A19672B43   JAMES        MOSSMAN                      CO     90014590196
59827A4297242B   BRIAN        MCNEICE                      PA     90004240429
59828181872B36   TYNIA        BROWN                        CO     33055351818
59828266A5B142   TIMOTHY      MINCHUE                      AR     90007222660
5982861A95B387   MANIKA       JACKSON                      OR     90002436109
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 224 of 2350


59828A2732B245   PORSHA       EASON                        VA     90013700273
59829164572B38   CARLOS       CANALES                      CO     33070021645
5982938A35715B   JAMES        EPPLEY                       VA     90009753803
5982941735715B   JAMES        EPPLEY                       VA     90012304173
5982B3A353B388   MICHAEL      BELL                         CO     90011223035
5982B7A635B126   ERICKA       NALI                         AR     25006197063
59831253472B36   MARY         LUCERO                       CO     90013242534
59831269924B43   DERREL       CLINTON                      DC     90009802699
5983132834B588   APRIL        BAKER                        OK     90010423283
5983142925715B   TYRONE       TURNER                       VA     90004774292
59831616872B28   MARIA        VAZQUEZ                      CO     90012786168
5983176A272B36   JOSH         MILLES                       CO     33009537602
59832492272B36   GWENEVIEVE   DORREZ                       CO     33095664922
5983249784B588   MAYRA        RODRIGUEZ                    OK     90013224978
59832A2A131428   ARACELI      VALLEJO                      MO     27530610201
598335A265B531   KAY          HESS                         NM     90008555026
59833876A61971   CHRISTIAN    OBERG                        CA     90010808760
59833A2944B588   ANNE         REINAUER                     OK     90014210294
5983431365B283   ALISHA       MARON                        KY     68017773136
5983434785B271   TARIQ        SHABAZZ                      KY     90005343478
5983478877242B   MALLORIE     LINDEN                       PA     51014907887
5983489A32B27B   SHAQUANNA    WILSON                       DC     90012698903
5983515897B46B   GENARO       RAMIREZ-CRUZ                 NC     90013941589
59835328772B43   LAURA        CALDERON                     CO     90014603287
5983552185715B   NOE          TRUGIO                       VA     90010305218
5983683A451348   GWENDOLYN    WILKINS                      OH     66089928304
59836977272B24   SIERRA       DEVITA                       CO     90008529772
59836A51472B43   FRANKIE      MARTINEZ                     CO     90014330514
59837991A61965   JORGE        FIGUEROA                     CA     90010649910
59838883572B43   MARISELA     PEREZ                        CO     33054358835
5983995144B588   DONNIE       GROGAN                       OK     90014029514
5983B16A95B387   MOHAUGANY    CHERRY                       OR     90012081609
5983BA84872B38   MARGARET     ADAMS                        CO     33093970848
59841A34333699   WILLY        SMITH                        NC     90013970343
59842294972B43   MARIA        TORRES                       CO     33017932949
59842A19A72B38   TESSA        VIGIL                        CO     90012170190
5984312747B46B   KAREN        GORMON                       NC     11009611274
5984357285B531   MAXINE       ARAGON                       NM     90014795728
5984415995B387   LUIS         CONTRERAS                    OR     90000291599
5984434782B27B   TAMARA       COUGHMAN                     DC     81007583478
59844588572B49   PATRICIA     SANDOVAL                     CO     33086085885
59844738172B36   LUIS         BERNAL                       CO     90009647381
598451A7533699   EMILY        GORGE                        NC     90013971075
59845595A72B36   ALICIA       LATLOW                       CO     90014565950
59845624A91587   CANDACE      ACCIUS                       TX     90014866240
5984578A572B49   JEFFREY      THOMAS                       CO     33097667805
59846437A7B46B   SADIEU       BOYD                         NC     11051934370
5984665915B387   LACEY        PANKO                        OR     90013366591
5984774872B27B   TIFFANIE     WASHINGTON                   DC     90009737487
5984784485B531   MARIA        MONCADA                      NM     35095628448
5984878855758B   MANUELA      VARELA                       NM     35528537885
5984882785715B   MARIA        HERNANDEZ                    VA     90007058278
5984895475758B   RENE         FIERRO                       NM     90013619547
598498A947B322   JOSE         RODAS                        VA     81034918094
5984B468391561   STEPHANIE    TAMEZ                        TX     90010654683
5984B94394B588   KRISTY       MARTIN                       OK     21501659439
5984B954733699   BIANCA       NORRIS                       NC     90013969547
59851274272B38   IRMA         CASTILLO                     CO     33020732742
5985129825715B   ANGELICA     MENENDEZ                     VA     90005792982
5985155865758B   ANRES        GONZALEA                     NM     35551595586
5985218237B46B   MARIA        VILLEGAS                     NC     11071091823
59852499772B27   JACKSON      LAINE                        CO     33098584997
5985358745715B   RODNEY       LEVAIRE                      VA     90012865874
59854374A61941   ALINA        MORRISON                     CA     46092773740
598548A6572B49   GRETA        GRANT                        CO     33006468065
59854922A91587   LORENZA      ARRAS                        TX     75061609220
5985536A45758B   FRAN         FRANCIS                      NM     90010393604
5985687525B387   GRISELDA     BOLANOS ROCHA                OR     90010688752
59856A57861971   LAURA        LARIOS                       CA     46034690578
598574A1951348   ANDRES       MENDOZA                      OH     90013924019
59857647A72B38   STEPHANIE    KOSTUR                       CO     33097616470
5985884A17B46B   MARIE        MACKEY                       NC     11036358401
59859249572B36   LUIS         TARTABU                      CO     90013642495
5985951755B531   KEE          ELISSA                       NM     35060955175
5985B216872B27   TERRY        NICHOLAS                     CO     90014532168
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 225 of 2350


5986153617242B   NANNETTE     CONWAY                       PA     51095985361
59861A56A91587   YESENIA      OCHOA                        TX     90013160560
5986222A55715B   HASSAN       HASSAN                       VA     90008282205
59862633A2B27B   OMARA        HUSSEIN                      DC     90008506330
598635A6772B38   WALTER       LITTLE                       CO     33015725067
59863A72961965   CRYSTAL      GRANT                        CA     46073470729
59864441172B43   MARIA        ARAUJO-SALAS                 CO     33066714411
5986532932B221   NATHANIEL    GALES                        DC     90008563293
5986571124B588   LACY         LOVATO                       OK     90013077112
59866697472B38   TOYIA        JONES                        CO     33089586974
598692A135715B   AKWASI       BERPONG                      VA     81093912013
59869AA6572B38   BRITTANY     MARSH                        CO     90011810065
5986B11227B46B   RYAN         WILLS                        NC     90002931122
5986B152261965   ALICIA       RENTERIA                     CA     90010861522
5986B3A8784357   JOSEPH       LAWTON III                   SC     14584633087
5986B572672B38   ANTOINETTE   HARDWIRK                     CO     33044535726
5986B723861971   SHAWKAT      POLUS                        CA     90010467238
5986B849651348   CHRISTINE    CHUCK                        OH     90010048496
5987114615715B   VICTOR       RAMOS                        VA     90011401461
59871367172B27   LAUREN       MARTINEZ                     CO     33072613671
5987147A851348   TYLER        GARR                         OH     90015314708
5987162885B531   SAMULE       MALLORY                      NM     90014796288
5987269A35758B   ALYSSALINN   STRIETELMEIER                NM     90013916903
59872932672B38   REBECA       VARGAS                       CO     33082209326
598731A574B588   CHRISTA      VILAYSING                    OK     90010251057
598736A9261971   CARMEN       VELARDE                      CA     90010266092
59873755A51348   BERNIE       SCHULTIAN                    OH     66064267550
5987423865758B   DOMONIQUE    GONZALES                     NM     90013792386
59874338A2B899   BRANDI       FITZGERALD                   ID     90003103380
5987514775B387   ANN          BAILEY                       OR     90014181477
598762A3A4B588   WAYNE        MURRY                        OK     90011062030
59876625172B36   MARTIN       GARCIA                       CO     33022616251
59877554772B36   ALBA         MARINA                       CO     90009885547
5987827774B588   TREVOR       STEELE                       OK     90010092777
598789A3572B27   JOEL         MALLORY                      CO     90000769035
59878A9A572B36   EDWARD       HUNT                         CO     90013860905
5987912395758B   AMANDA       SALAIZ                       NM     35546161239
59879238A61965   NICOLE       NICHOLSON                    CA     90009032380
5987B622672B43   MARIE        RIVERA                       CO     90008776226
5987BA17361939   MIGUEL       MARTINEZ                     CA     90010460173
5988138A831429   JAYME        WILLE                        MO     27586373808
5988141965715B   LISA         BLACK                        VA     90013974196
5988155A52B245   MICHAEL      HOSTON                       DC     81086945505
59882721A72B36   MISTY        LIMON                        CO     90013157210
5988279A661971   LLOYED       GAMON                        CA     90004807906
5988329774B588   MICHAEL      JOHNSON                      OK     90006082977
59883381A47836   BLANCHE      DEAN                         GA     90012303810
59883666172B49   MARIA        AGUILAR                      CO     90012526661
5988394A572B36   THOMAS       MORRISSEY                    CO     90012439405
59883A83891587   ANTONIO      LOPEZ                        TX     90001950838
59884859A72B38   FERNANDO     MONTES                       CO     90006318590
59885519A5715B   JIN WON      LEE                          VA     90012565190
5988556292B827   JAMES        KOCH                         ID     90009635629
59885594676B52   AMADOR       MERCADO                      CA     90000435946
59885613672B27   GREGGORY     ROOP                         CO     90012256136
59885A1375715B   CLAUDIA      PICADO                       VA     90011490137
5988614A172B38   SONIA        CARREON                      CO     90014131401
59886277172B38   GIA          BROOKS                       CO     90013122771
5988749252B245   MARY         FLETCHER                     VA     90012704925
5988761347B46B   NAKEISHA     MILLER                       NC     90013016134
598878A6191895   DEBBIE       WINTERS                      OK     21064008061
59888429372B38   JOHN         SMITH                        CO     90013134293
59888AA2991587   PATRICIA     VILLANUEVA                   TX     75068170029
5988911217B46B   DAMON        THIELE                       NC     90011231121
5988912982B245   KENYA        UTLEY                        DC     90003391298
5988948433B352   DAIRYS       FRIEND                       CO     33025684843
59889713672B43   CARLOS       HERNANDEZ                    CO     90003737136
59889AAA172B36   GEBREAB      MEHARI                       CO     33008090001
5988B18212B27B   DAWARREN     ABNEY                        DC     90013401821
5988B213772B49   STEPHANIE    STRAND                       CO     33028562137
5988B47117B46B   JEREMIAH     SMITH                        NC     90012114711
5988B652172B38   SERGIO       FLORES                       CO     33019266521
5989158675758B   NICHOLAS     TRUJILLO                     NM     90012465867
59891879272B27   LEEZA        MARTINEZ                     CO     90015218792
59891A8A12B27B   EURSULA      WATTS                        DC     81037750801
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 226 of 2350


5989214775B387   ANN          BAILEY                       OR     90014181477
5989247A972B27   LUIS         PALACIOS                     CO     33077344709
5989321A47B46B   ELLEN        TACHER                       NC     90013942104
59893612472B43   SARA         POHL                         CO     90012946124
598936A8961965   CRESENCIO    VILLEGAS                     CA     90015116089
5989374825B283   KAREN        HUNTER                       KY     90004617482
5989385257B46B   JOHN         NORWOOD                      NC     90013978525
59894221A72B24   BLANCA       ESTELA                       CO     33016822210
59894225A61939   SANTIAGA     ANAYA                        CA     90012712250
5989447175754B   PAMELA       QUESADA                      NM     90015064717
5989468A272B27   HILIANA      ROCHA                        CO     33082216802
59894768A31428   DAVID        MUSGROVE                     MO     27530617680
5989529685715B   AHMED        BASTO                        VA     90012532968
5989555577B46B   LETTICIA     BEACHEM                      NC     90009345557
5989675A72B27B   LASHAWN      WILLIAMS                     DC     90014757507
59898471172B36   HEATHER      ESTEP                        CO     33011514711
59898583972B38   LUIS         CASTRO                       CO     90013135839
5989877AA7242B   TRACY        ARTH                         PA     51000857700
5989B28325758B   SAVANNAH     TORRES                       NM     90012402832
5989B632272B43   DEMITRIA     BLEA                         CO     33045876322
5989B839844B26   MEGAN        PYLE                         OH     90014148398
598B1133231428   DARLA        ROWAN                        MO     27596291332
598B1162333696   MICHAEL      OSINWN                       NC     12096861623
598B136A491587   YOHANA       ROMERO                       TX     90012643604
598B1677A5B387   PAYTTON      MCKENZIE                     OR     90013356770
598B174A872B36   JOHNATHAN    MARTINEZ                     CO     90015097408
598B2158633699   ULISES       BRACAMONTES                  NC     90013951586
598B29A7961971   MICHELLE     MOREE                        CA     46094779079
598B317A65715B   VILMER       ORTEGA                       VA     90011961706
598B33A4371922   ADOLFO       VALDEZ                       CO     90012223043
598B3769891895   PAUL         CALDERON                     OK     90003137698
598B3785531428   JESSICA      WAXMAN                       MO     27597807855
598B456572B27B   EDWARD       GARCIA                       VA     90012285657
598B511455715B   JOSE         FRANCO                       VA     90011401145
598B536685B283   OCTAVIA      THOMAS                       KY     68041323668
598B5882691561   CYNTHIA      VILLAIBA                     TX     90012588826
598B5934272B36   JAMES        SANFORD                      CO     90014419342
598B7481972B49   ALFEDO       CALAVERA                     CO     90011164819
598B75A575758B   MARIBEL      NAVARETE                     NM     90014445057
598B7A54A7242B   JONALYNN     COLAIZZI                     PA     51025250540
598B8739472B38   JUAN         GAMBINO                      CO     90003847394
598B934165715B   HARRY        BARBER                       VA     90013703416
598B9363151348   ALISHA       ALLEN                        OH     90014603631
598B955914B588   RONNETTA     BAKER                        OK     21537455591
598B9881133699   JESSICA      SHELTON                      NC     90011658811
598B9AA1191587   JOSEPH       PEPITO                       TX     75001230011
59911397A7B46B   ELEANOR      CAMPBELL                     NC     90014553970
599114A9691587   JOSE         CONTRERAS                    TX     90001864096
5991157464B581   MICHAEL      CHAVEZ                       OK     90006165746
59912368A72B49   HERIBERTO    GOMEZ                        CO     90011053680
59912419272B28   JESSICA      DAHER                        CO     90014854192
5991265394B587   KATIE        JONES                        OK     90010076539
59913148872B24   LAURA        AVINA                        CO     90008531488
5991339112B245   JOSE         OCHOA                        DC     81015933911
599135AA161971   JENNIFER     HEPP                         CA     90004935001
5991395144B588   DONNIE       GROGAN                       OK     90014029514
59913A1A97B394   HECTOR       LEANO                        VA     90001460109
5991525A88B189   ELIZABETH    GARCIA                       UT     90013172508
5991574624B588   ROSA         MEDELLIN                     OK     90013977462
5991622545715B   JOSE L       RIVERA                       VA     90012832254
5991647895B271   JAMES        MATLOCK                      KY     90005344789
59917258A4B588   RONALD       JUSTICE                      OK     90014992580
5991727855758B   ANDREA       ARMIJO                       NM     90010182785
59917394172B49   TRENT        WALL                         CO     90013863941
5991766965B531   SAPPHIRA     BARNES                       NM     90014796696
5991789A35B387   BREANA       GILBERT                      OR     90012368903
59917947A2B245   ELIZABETH    LARA                         DC     81062599470
5991824615B531   SELENE       ARCHULETA                    NM     90013022461
5991842345B387   THOMAS       BRANDON                      OR     90007584234
5991889154B28B   MICHELLE     MCCAULEY                     NE     90006068915
5991B387A5758B   JOEL         MARQUEZ                      NM     90011333870
5991B3A5172B43   PAT          MCCANN                       CO     33084923051
5991B66815B531   JUSTINA      BORREGO                      NM     90014796681
5991B699861965   EMMILLEE     TEC                          CA     90013356998
5991B94174B28B   JACOB        DALY                         NE     26082299417
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 227 of 2350


5992163815758B   GABRIEL      CABRERA                      NM     90013276381
59921A43351367   RENEE        WALLACE                      OH     90004640433
5992283A591895   HOPE         ROGERS                       OK     90014538305
599232AA57B46B   ARTAVIS      SAMPKINS                     NC     11098512005
59923448A57591   MORENO       ALDO                         NM     35589704480
5992358A472B49   JORGE        SILVA                        CO     33062955804
599243A474B588   SHAYLEE      CRAWFORD                     OK     90005483047
5992469545B531   ANTONIP      LEGARRETA                    NM     90014796954
599247A6191895   RODNEY       MCCLURE                      OK     21052897061
5992511255B387   WILLIAM      SPAKES                       OR     44507931125
59925125A33699   DELFINA      SORIANO                      NC     12077261250
59926298372B49   DANIEL       BLEDSO                       CO     90004882983
599269A2A2B245   STACEY       COFFIN                       DC     90013389020
599269A895B387   EVA          RISTICK                      OR     90015169089
59927436372B38   ERICK        VELAS                        CO     90013134363
5992743695715B   NELSON       SALAZAR                      VA     90015314369
5992751A85B353   ESTEBAN      GALLARZO                     OR     90014495108
5992816345B283   SATURNINA    VILLALOBOS                   KY     68060471634
599289A7472B49   LARRY        HOFFMAN                      CO     90011089074
5992958685758B   JUAN         CABRALES                     NM     90014775868
599295A855B387   MARLA        GIBSON                       OR     90007255085
5992967672B27B   DELORES      TABIN                        DC     90001346767
59929935172B21   SEAN         HAROLDSON                    CO     90006499351
5992997445715B   LEANDRO      PORTILLO                     VA     90014499744
5992B54282B252   VANESSA      JONES-THOMAS                 DC     90011505428
59931236872B27   AUDREA       BROWN                        CO     33061042368
5993134315133B   HEIDI        SCHEIBER                     OH     90001173431
5993157765758B   GRACIE       ESTRADA                      NM     35587125776
599315A852B245   YOSIMARA     JONES                        DC     90011655085
59931931372B49   RANDY        ZAVALA                       CO     33091899313
599327A415B283   SHEMEHA      BUFORD                       KY     90000417041
59933733A5715B   JUAN         REYES                        VA     90004977330
5993388A45B283   DAVID        ROSS                         KY     68064608804
59934A2732B27B   PORSHA       EASON                        VA     90013700273
59935439172B38   ROSA         SALINAS                      CO     90013134391
5993589555715B   JOHNNY       CRUZ                         VA     90015318955
59935AA272B27B   JAILEVE      MEDRANO                      DC     90011160027
59936732672B43   ASHLEY       BARR                         CO     90005887326
59936992A51348   NICHOLAS     ANDERSEN                     OH     90008429920
59937373A5758B   KAY          HERNANDEZ                    NM     35547123730
5993856A172B24   MARIA        AREVALO                      CO     33032385601
59938A6167B46B   GREGORIA     ALAMILLA                     NC     11064170616
5993B59A444B85   SARA         HOPKINS                      OH     90014565904
5993B739591584   MAYELA       RAMIREZ                      TX     75024027395
5993B74A75B531   RAFAELA      CHAPARRO-GUTIERREZ           NM     35015407407
5993BA61785981   CHARLES      DAWES                        KY     90012400617
599411A3672B43   JAVIER       GONGORA                      CO     90014771036
599413A985715B   EVER         MARTINEZ                     VA     90009613098
599416A2781625   TOMASA       SILVA                        KS     90014816027
59941822757B23   ALEXIS       RAMBO                        PA     90014228227
5994226367B46B   MARNITA      SMITH                        NC     90013942636
5994245815B271   MELISSA      BEATTY                       KY     68014554581
599427A3233699   ASHLEY       CONYERS                      NC     90011997032
599427A636B166   PATRICK      ROBINETTE                    MS     90015097063
599429A7791895   JENNIFER     LANGHAM                      OK     90013829077
5994414775B387   ANN          BAILEY                       OR     90014181477
5994428A47B46B   MELINDA      CARTER                       NC     90014802804
59944767872B32   DEBBRA       TREVINO                      CO     90008227678
59944851672B43   SYDNEY       MAHASO                       CO     90010458516
59944A4234B567   JOEVELYN     REYNOLDS                     OK     90012600423
5994587872B27B   PRECIOUS     ROSSER                       DC     81007308787
59945A7555B531   JOANNA       SAAVEDRA                     NM     90014800755
5994617AA7B46B   JEREMIAS     VENTURA                      NC     90011831700
5994626122B27B   TIAQUANA     CHANDLER                     DC     90002202612
5994641514B588   ROSE         LENA                         OK     90014964151
5994713572B245   NICO         BAILEY                       DC     90013491357
59947493A91587   CARMEN       VILLA                        TX     90010054930
5994751672B245   CARLOS       YOUNG                        DC     90008625167
5994776474B588   DEANNA       UPDERGRAFF                   OK     90011607647
5994778655B387   JAZZ         BRADLEY                      OR     44574937865
5994816437B49B   CHARLEY      DICKSON                      NC     90012871643
5994824AA72B43   DEBRA        MILLER                       CO     90013482400
5994873A272B49   AUDRA        BRACHTENBACH                 CO     33096717302
59948A7665B531   ANTOINETTE   BAROS                        NM     90014800766
5994959655715B   HENRY        MOLINA                       VA     81087355965
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 228 of 2350


5994982254B588   JASON        WALKER                       OK     90005698225
5994B551791587   LORENZO      MONAREZ                      TX     75031105517
5994B694A4B588   AMY          OLLISON                      OK     90012176940
5994B9AA661965   MERLITA      RAMOS QUIMADO                CA     90012859006
5995189A55758B   RICARDO      JIMENEZ                      NM     90013498905
5995243634B28B   NYAKOUNG     JONY                         NE     26080224363
59952683757B23   IRENEO       PANECATL                     PA     90014226837
59953672372B49   ARTHUR       MARTINEZ                     CO     33002846723
5995389452B245   DARNELL      WATSON                       DC     90013928945
59953953172B38   JULIO        GONZALEZ                     CO     33023969531
59955155772B24   JOSH         HAKENEWERTH                  CO     90008751557
5995549725715B   CHARLES      LANSDOWN                     VA     90012944972
5995663345B387   DONNA        DRAKE                        OR     90004016334
5995793392B27B   SHEENA       VENABLE                      DC     90012849339
59958339272B36   CARL         EMBERTSON                    CO     33069693392
59959118772B36   JESSICA      HERNANDEZ                    CO     90012921187
5995979275B579   JONATHAN     CONTRERAS                    NM     90013837927
59959A32361965   SAVANNAH     HEILIG                       CA     90014900323
5995B18344B588   TRICE        SHAWNTA                      OK     90013881834
5995B836685944   CHRISTIE     WOLNITZEK                    KY     90009028366
599617A8A5B12B   DOROTHEY     STANDRIDGE                   AR     23092457080
59961A65372B43   ISIDRA       RAMIREZ                      CO     33064010653
59962285672B43   SHAWN        ROLLINS                      CO     90014262856
5996257A493724   AMY          ROSE                         OH     90014095704
59963456872B38   GEORGE       PRUSAK                       CO     90013134568
59964222172B38   ANTONIO      HERNANDEZ                    CO     33079282221
5996438A46199B   RICK         COSGROVE                     CA     90013413804
59964663572B36   SYLVIA       LA BEL                       CO     90003796635
59964A3855715B   LUCIA        RODRIGUEZ                    VA     90014520385
5996518A191895   RENE         AGUILAR                      OK     21023881801
59965233972B38   CORIENA      CONTRERAS                    CO     90014022339
5996528A47B46B   MELINDA      CARTER                       NC     90014802804
5996589AA72B36   THOMAS       BECKER                       CO     33075968900
59965A3674B588   JEANNIE      GONZALES                     OK     90014910367
59966145898B33   STEPHANIE    MARRERO                      NC     90012151458
5996614A84B588   TERESA       LANE                         OK     21592131408
59966558272B38   JOHN         HEWITT                       CO     90015125582
5996664767242B   JAMEY        HENRY                        PA     51006426476
5996793264B588   KELLY        HENDERSON                    OK     21576449326
59968161872B49   MARTA        QUINONES-REYES               CO     90012901618
5996819512B953   MICHELLE     SMILE                        CA     90012331951
599684A1A3163B   JESSICA      MITCHELL                     KS     22022044010
5996887A344B85   MICHAEL      THOMPSON                     OH     90014578703
59968966172B25   HILDA        ANZUREZ-TEJEDA               CO     33082319661
599691A555B531   NICOLE       BARELA                       NM     90014801055
5996974415758B   JESSICA      MANCHA                       NM     90012597441
5996B411361971   SYLVIA       SPIRA                        CA     90014844113
5996B9A555715B   NINBAKUHIT   NAHED                        VA     90006829055
5996BA6A85B387   ANASTASIA    VENEGAS PACHECO              OR     44586400608
5997152592B27B   CATHERINE    THOMPSON                     DC     90010455259
59971745997B4B   JENNIFER     BLACKMER                     CO     90004157459
5997177A97242B   AMANDA       PARNELL                      PA     51095667709
59971A5A891895   KIMBERLY     FREEMAN                      OK     90012960508
59971AAA872B49   LILLIAN      SOTO                         CO     33071940008
5997218975758B   ERIC         CISNEROS                     NM     90007981897
59972569472B38   RENE         RIOS                         CO     33002015694
59972A19493724   NISHEYA      WILLIAMS                     OH     90015250194
5997354385715B   LUSY         GONZALEZ                     VA     81095645438
5997423745758B   SAMANTHA     RIVERA                       NM     90013252374
599753A317B372   ALBERTO      GARCIA                       VA     90010943031
5997543535B531   MATTHEW      TORTORELLA                   NM     90010814353
5997554A772B36   KELLY        GOMEZ                        CO     90013065407
59975627372B43   ESTHER       SILVAR ORTIZ                 CO     90005816273
5997634524B588   CRYSTAL      WOOD                         OK     90014403452
5997644A22B245   ARNETTA      ROBINSON                     DC     81007814402
59976458372B38   MICHEAL      GIBBS                        CO     33087914583
5997648195715B   MARTINA      JOSEPH                       VA     90012494819
59976787772B43   AMANDA       MORALES                      CO     33003197877
5997718147B421   TONYA        HERRING                      NC     90010711814
59977243672B36   MOLLY        CARPENTER                    CO     90012502436
59977A28A7B431   NEVILLE      WALLACE                      NC     11008550280
59977A4628B164   KIMBER       CAMERON                      UT     90005670462
59977AA3761956   MARIA        NASSIF                       CA     90003580037
5997825155715B   RUDY         ARIAS                        VA     90012582515
5997829A872B24   MARISOL      MEDRANO                      CO     90008532908
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 229 of 2350


599782A3A2B245   JULIA        JOHNSON                      DC     90013772030
59978553972B38   ROBERT       SHENEFIELD                   CO     90007395539
5997896997B397   LOURDES      LOPEZ                        VA     90010729699
5997935292B246   LAKISHA      JOHNSON                      DC     90010273529
59979A73472B43   WILKES       MARY                         CO     33005290734
5997B12955B387   SHAWN        CARTER                       OR     90014861295
5997B917A61971   SEAN         GAMBOA                       CA     90010399170
5998128614B588   BILL         LOPEZ                        OK     21580752861
5998163375B561   DOMINIC      RIVERA                       NM     90008086337
5998214925B531   OLIVIA       ESPINOZA                     NM     90010991492
5998253164B546   AMANDA       JOHNSON                      OK     90011875316
59983262A4B588   CASSANDRA    WOODS                        OK     90005672620
59983268972B43   MARIANA      ALVARES                      CO     90012352689
599836A575715B   JACQUELINE   HAMILTON                     VA     90009556057
5998398A133699   JOAN         ATWATER                      NC     12088729801
5998416A65B387   JOHNNY       BELLECI                      OR     90004551606
59984A9238B145   STEVE        HOLT                         UT     31014630923
5998511515715B   CHRIS        BLANCO                       VA     81053571151
5998512524B588   RASHA        SUNDERLAND                   OK     90010821252
5998576172B27B   PAMELA       BOWMAN                       DC     90013097617
5998621555758B   ERICA        BALDANADO                    NM     90014992155
599865A595758B   CLARK        MICHAEL                      NM     90006535059
59986625A31428   AMBER        HAIRE                        MO     90000386250
5998688358B597   MARISOL      CORONA                       CA     90011298835
59987459872B38   JULIANA      CALDERON                     CO     90013134598
59987585A93724   SAMUEL       PRICE                        OH     90011895850
59987773172B49   ROBERT       BOSH                         CO     90011107731
5998829A872B24   MARISOL      MEDRANO                      CO     90008532908
5998837A95B531   ANA          LUCERO                       NM     90005063709
5998873992B245   WILLIAM      VENSON                       DC     90009667399
5998B528272B49   MELANIE      HERNANDEZ                    CO     90012985282
5998B66A15758B   ANDREW       VOGANN                       NM     90010916601
59991594576B71   ERASTO       SANCHEZ                      CA     90014785945
5999198482B27B   MARVIN       CANEL                        VA     90012699848
59991A39551348   KATY         BLEVINS                      OH     90012300395
5999354A32B245   LASHON       PETTIE                       DC     81006995403
59993568572B27   PAULINA      GOMEZ                        CO     33024375685
5999384AA2B27B   GABRIELLA    EDWARDS                      DC     81088848400
59994477A8B17B   CYRENE       WEISS                        UT     31020224770
59995A57572B49   DONNA        GOLDEN                       CO     33029240575
5999665375715B   BOBBY        SINGH                        VA     90012916537
59997572285B52   VICTOR       CAMARGO                      FL     90014825722
5999762767B46B   ISREAL       HAM                          NC     11007776276
5999769A633696   MONIQUE      JARRIS                       NC     90004096906
5999836357B46B   PHIL         K                            NC     90013943635
599984A4797B54   FERNANDO     PEREA                        CO     90013724047
599984A935758B   ABIGAIL      SANTOS                       NM     90009564093
59998993A72B27   CHARLEY      BEARDEN                      CO     33094689930
59998A21861971   JO ANNE      MONTANO                      CA     46024660218
59999398772B43   ROSALIA      MACIAS                       CO     90007073987
599993A1872B27   BILLY        HARLOW                       CO     90010223018
59999987472B24   LISA         LAMBERT                      CO     33094779874
5999B277A93724   AMBER        COMBS                        OH     90008782770
5999B553561971   WILLIAM      MASTER                       CA     90012345535
5999B633161965   DAVID        REYES                        CA     90012956331
599B153A45715B   BRENDA       FIELDS                       VA     90008865304
599B167814B588   ROXANNA      MCCARREL                     OK     90015106781
599B169A751348   SHAUNGREGO   MONJAR                       OH     90011146907
599B1786A72B27   CARLOS       RUIZ                         CO     33010507860
599B189528166B   MARCELL      HOLMES                       KS     90011258952
599B1977391587   MIKE         MENDEZ                       TX     90013989773
599B2344A5715B   MARCTZA      ARGUETA                      VA     90012543440
599B2635933699   WILLETTE     CROCKETT                     NC     90014036359
599B359695715B   MOHAMED      KOROMA                       VA     81053385969
599B3792972B38   ELDER NAVA   MIRANDA                      CO     90008107929
599B39A694B588   AMANDA       JAMES                        OK     21576489069
599B4294493724   MONICA       HANDERSON                    OH     90014612944
599B483915758B   TONY         ISHAM                        NM     35586608391
599B5417972B36   HARES        NESSIRI                      CO     33033274179
599B5917272B27   SAUL         FLORES                       CO     33080589172
599B5922591885   TARYN        JONES                        OK     90010289225
599B6539372B27   MICHELE      RANGER                       CO     90012605393
599B6541572B49   RYANNE       WALKER                       CO     90010995415
599B692885758B   EUNICE       DELGADO-PALMA                NM     90010779288
599B7217991587   ANNA         SALDIVAR                     TX     90000132179
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 230 of 2350


599B7952361971   CHERYL              QUESADA               CA     46024299523
599B8891972B36   ALFONSO             LOPEZ                 CO     33009538919
599B8932991895   FERNANDO            PULIDO                OK     90007469329
599B9568831428   HONEY               JONES                 MO     27575655688
599B9A99872B27   DEBRA               JORGENSEN             CO     90010900998
599BB15A972B36   BEVERLY             GRAHAM                CO     90002641509
599BB23514B588   PAUL                BURKHARDT             OK     21541462351
599BB29932B241   SEREMA              COTTOMS               DC     90010252993
599BB875291587   SOLEDAD             MORENO                TX     75047538752
599BBA16861965   NADA                BUTRUS                CA     46073360168
59B1116A17B46B   JAMIE               PERRY                 NC     90013931601
59B11497A57541   ELI                 MADRID                NM     35592034970
59B116A4872B27   ESMERALDA           REYES                 CO     90012616048
59B11919391587   ROSA                TORRES                TX     90006129193
59B1245252B356   DEONE               KLIPHAT               CT     90012644525
59B13356657541   CRISTINA            GARCILAZO             NM     90011813566
59B13473755971   JEREMIAH            SEPEDA                CA     90008344737
59B1379694B588   JENNIFER            SMITH                 OK     90010257969
59B14365472B43   MICHELLE            SILVA                 CO     33014243654
59B14A27591587   ROSALBA             PEREZ                 TX     90003060275
59B15511561965   HAKMT               TOMA                  CA     46081715115
59B15727955971   ROGELIO             ARIAS                 CA     90013347279
59B15748822442   LINDA               GEHRINGER             IL     90013777488
59B15768824B85   ROSARIO FACUNDA     VELASQUEZ PEREZ       DC     90010317688
59B15921191895   JAKOB               SWIFT                 OK     90010659211
59B1682A497B54   CEFERINA            RESENDIZ              CO     90005098204
59B16969755971   IRMA                OLIVEROS              CA     90013759697
59B1716835B271   SHARON              ROBINSON              KY     90010531683
59B17293572B27   JEIMY               MORA                  CO     90007372935
59B17559531429   JOSHUA              GRAETTINGER           MO     90012685595
59B17A3A74B588   ELISA               FINLEY                OK     90015210307
59B18229891895   LLOYD CHRISTIAN     WOODS                 OK     90014562298
59B1823645B531   CHRIS               POLACO                NM     90004262364
59B18376872B38   STEPHANIE           MUCHAISEN             CO     33030513768
59B189A277242B   JOHN                SWANSON               PA     51017549027
59B19544693724   LISA                SHORTT                OH     90012605446
59B1B7AA961965   VILORIA             SJ                    CA     46070227009
59B1B87474B588   SHERILINDA          CLEM                  OK     90008318747
59B1B996557541   HIGINIO             HERNANDEZ             NM     90014659965
59B21137851348   CHERRY              COMBS                 OH     90010251378
59B21269772B43   CHAVAYA             BEEBEE-GALVAO         CO     90010862697
59B2175A672B24   TINA                CHAVEZ                CO     33018137506
59B2323A957127   MITCHEL             SMITH                 VA     81076722309
59B23314191587   MARIELA             BANUELOS              TX     90014293141
59B23835957541   LAURA               CRUZ                  NM     90012118359
59B241A917242B   ERIC                COTTRELL              PA     51009731091
59B25121151348   MELISSA             HADLEY                OH     66029421211
59B2522675758B   MELISSA RODRIGUEZ   RODRIGUEZ             NM     90010122267
59B2586314B588   KEVIN               WILLIAMS              OK     90002698631
59B25A66561986   ALEXANDRA           RUIZ                  CA     46085930665
59B26127561971   TRACY               BOSELLI               CA     90004821275
59B26488472B27   MAC                 POWERHOUSE            CO     90010454884
59B26519191885   RYAN                LOVE                  OK     90014775191
59B2658115B52B   EDGAR               ORTIZ                 NM     90003465811
59B2662A67B34B   ANA                 AMAYA                 VA     81056056206
59B27189833699   MBOLUWO             MATTEWS               NC     90009261898
59B2751445B531   ELIZABETH           OWENS                 NM     35063245144
59B27888693724   STACY               BOYD                  OH     90012778886
59B2793484B588   FELIPE              PRIETO                OK     90012749348
59B28684331429   ANGELIA             HUFF                  MO     27594666843
59B2884835B531   RANDY               CRUZ                  NM     90014748483
59B2933312B245   ESTUARDO            LOPEZ                 VA     81094913331
59B29743972B49   OMAR                BACA                  CO     33088827439
59B2B3A2733699   EDGAR               JOHNSON               NC     12085443027
59B2B44855593B   LUIS                RAMOS                 CA     90011384485
59B2B55567B46B   CANTIDO             GOMEZ LOPEZ           NC     11032905556
59B2B67364B24B   KRISTY              RECTOR                NE     90001826736
59B2B89255B531   CHRISTOPHE          GARCIA                NM     35009678925
59B2BA86731429   WILLIAM             CLAYTON               MO     90004990867
59B3174765B522   JAMIE               DURAN                 NM     90008037476
59B31769457541   SONYA               WIER                  NM     90014687694
59B32194155971   SHELLIE             WOOD                  CA     90013961941
59B3227335B531   ERLINDA             GONZALEZ              NM     90013462733
59B3228737B46B   CRICKET             CUSTOMER              NC     90014502873
59B3284A631428   MELINDA             EPPS                  MO     27543208406
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 231 of 2350


59B33228A4B542   ANGELA              BILLINGS              OK     90014242280
59B33516757157   DELMY               RIVAS                 VA     81043805167
59B33952561965   JESSICA             LANG                  CA     90014309525
59B33A53A31428   MOHAMED             TAMBADOU              MO     90006090530
59B349A1893724   CAMIE               HAWKINS               OH     90012779018
59B3518925B531   WILBERT             WILSON                NM     90005331892
59B351A624B588   RENNE               SLAGEL                OK     90012021062
59B36358A72B36   ANTINETTE           PAYNE                 CO     90012103580
59B3637155B283   AARON               HENDERSON             KY     90004603715
59B3646765715B   PATRICIA            ANTON                 VA     81010584676
59B36681357541   JULIAN              GARCIA                NM     90011896813
59B369A3472B49   CHARLES             RAIFSNIDER            CO     90012169034
59B36A28233696   WILLIAM             DAHN                  NC     90005640282
59B3713655758B   HECTOR              CORRAL                NM     90014901365
59B37165572B43   ROSLYNN             GORDON                CO     90003471655
59B3781342B245   TANYA               ROBINSON              DC     90013628134
59B37978A5715B   JALIL               MUSAH                 VA     90003799780
59B37A34931429   CHIDIOGO            OZUMBA                MO     27562670349
59B38243457B81   ASHLEY              HOUMAN                PA     90015372434
59B3873A65B531   FATEMA              ALIMI                 NM     90015237306
59B3914A593724   BREANNA             HILL                  OH     90009341405
59B3924475B283   CRYSTAL             HARRIS                KY     90009622447
59B3967942B27B   ADAN                LAZO                  DC     90014866794
59B39897651348   JASON               MORROW                OH     90013588976
59B39A67251348   JOHN                CARNEY                OH     90011190672
59B3B148572B36   CARL                KING                  CO     90012421485
59B3B59245B271   MARY                STINSON               KY     68065975924
59B3B722261971   ELENA               BERRA                 CA     90005567222
59B3B764491587   CATHERINE           MARTINEZ              TX     90004897644
59B3B8A3572B36   CARL                KING                  CO     90010958035
59B3B98A355971   EDDIE               GARAY                 CA     90011889803
59B4113425758B   SONNY               MATA                  NM     90005611342
59B41426361965   ANTHONY             MATEUS                CA     90012804263
59B41583472B36   SANTIAGO DE JUSUS   RUIZ-MEJIA            CO     90014565834
59B4177587242B   JENNIFER            CECCONELLO            PA     51037387758
59B41855661966   MARCO ANTONIO       RIVERA-OLAGUE         CA     90009868556
59B41876161971   SAMUEL              FUENTES               CA     46068888761
59B41887431428   ERIC                WILLIAMS              MO     27508088874
59B4189295B579   ROXANE              VIGIL                 NM     90005308929
59B41A86A81683   MICHAEL             HARPER                MO     29023290860
59B42526872B43   VANNA               CHAVEZ                CO     90007675268
59B42746355971   CHRISTINA           ATREAGA               CA     90010627463
59B42762A5B531   CATALINA            MORENO                NM     35083517620
59B42A3712B875   DEANNA              JEFFRES               ID     90002360371
59B43245293724   TRAVIS              ROACH                 OH     90010542452
59B432A7472B38   REY                 ERIVES                CO     33051432074
59B4347A941229   MONIQUE             JACKSON               PA     90001654709
59B4352145715B   KARINA              AVILES                VA     90012925214
59B4353A181683   MICHAEL             HARPER                MO     29020305301
59B43637933699   CABRICE             ORR                   NC     90014726379
59B43679972B49   JAIIMII             BORQUEZ               CO     90011306799
59B44241861971   ROXANNE             MARTINEZ              CA     90015282418
59B44466172B49   JESUS               Z                     CO     90012864661
59B44989693724   SHEENA              BILLINGSLEY           OH     64595709896
59B44A94A61965   AMY                 HERRERA               CA     90012790940
59B4554A393747   MARGARET            ROE                   OH     90006735403
59B4599A933696   ANTHONY             POOLE                 NC     90014599909
59B45A24672B36   ROSA VELIA          MUNOZ                 CO     33027230246
59B4646145B531   PAUL                RAEL                  NM     35065404614
59B46516361971   GABRIELA            CASTREJON             CA     90010955163
59B46524A33699   AUSTIN              HATCHER               NC     90013675240
59B46775872B49   RENEE               SOTTER                CO     33097097758
59B4721152B27B   MIYAKO              GADSON                DC     90014962115
59B47242657157   FRIDA               SAGARRA               VA     81005092426
59B47758A2B245   FARKHANDA           KHAWAJ                VA     90002617580
59B47A3622B27B   ALDA                ROMERO                DC     90011150362
59B4856183B387   NADEZHDA            CONSTANT              CO     33085925618
59B48735A5B387   ROSA                CONLON                OR     90012087350
59B48A97A61971   DENNIS              PLUNKETT              CA     90009160970
59B49721A72B49   TOMAS               ALCALA                CO     33074477210
59B4B93267B395   MARIA               RODRIGUEZ             VA     90009389326
59B5158665758B   SANJUANA            RIGALES               NM     35558685866
59B5164762B27B   WILLIE              CROOK                 VA     90012786476
59B5185415B531   PHILLIP             GALLEGOS              NM     90014748541
59B522A2997B54   ALMA                VALVERDE              CO     39030962029
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 232 of 2350


59B5248655B387   OSCAR        TAFOYA                       OR     90011594865
59B52857772B27   MISTY        MONTOYA                      CO     33073778577
59B5299745B387   SARA         REID                         OR     90014979974
59B53297A93724   NATHAN       REEVES                       OH     90014122970
59B53881A5B387   JORDAN       HAYS                         OR     90012828810
59B5388245B399   JEFF         LANSE                        OR     44574618824
59B54117272B27   JOHN         ARCHULETA                    CO     90013721172
59B54546A5B271   DANEEN       GREEN                        KY     68076925460
59B5455AA72B49   IVAN         ORDAZ                        CO     90004435500
59B55363157122   CHERYL       REYNOLDS                     VA     90012823631
59B555A177B46B   AMBER        EDWARDS                      NC     11070385017
59B55728861971   JESUS        MIRAMONTES                   CA     90006757288
59B5626754B588   WILLIAM      MOONEY                       OK     90014312675
59B56287261971   CRISTINA     GUTIERREZ                    CA     90010662872
59B5634655B387   LANCE        CHRISTENSEN                  OR     90005343465
59B57292872B36   DESIREE      CARLUCCI                     CO     33097352928
59B58241733623   ATRINA       SMITH                        NC     12013042417
59B58463172B27   ANGELICA     PETERS                       CO     90010954631
59B59125491895   JOSHUA       WILLITS                      OK     90007871254
59B59247A72B38   JANICE J     COOPER                       CO     90011502470
59B59485433699   SHANE        REID                         NC     90013924854
59B594A1A72B32   WILLIAM      BAKER                        CO     90002164010
59B5951267242B   TERRI        BASTECKI                     PA     51063945126
59B59641772B36   CLIFFORD     FISH                         CO     33042466417
59B5965485B531   MARIA        ALCALA                       NM     90010696548
59B59745933699   TIMOTHY      MURPHY                       NC     90011277459
59B5B38285B283   JORGE        GONZALEZ                     KY     90004603828
59B5B538272B38   BEN          LOPEZ                        CO     90013125382
59B5BA8915715B   IMELDA       CRESPIN                      VA     81060940891
59B6114A65758B   MARIA        GONZALEZ                     NM     35523571406
59B61588651348   SAMUEL       SIMON                        OH     90012155886
59B62131A4B588   MELANIE      ZUNIGA                       OK     21507071310
59B625A554B558   JENNY        SCOTT                        OK     90007525055
59B62688A2B245   NORMA        NAVARRO                      DC     90013926880
59B62745933699   TIMOTHY      MURPHY                       NC     90011277459
59B63138A51348   PAYGO        IVR ACTIVATION               OH     90006801380
59B63345272B36   AUTUMN       SALDANA                      CO     33094923452
59B63376372B27   MIGUEL       MENDOZA                      CO     90013523763
59B63793257541   JASON        FORD                         NM     90008567932
59B6398715B531   RONALD       SANCHEZ                      NM     35072389871
59B6413A157541   NICHOLE      NEDLER                       NM     90011301301
59B6458114793B   JENNA        JACKSON                      AR     25070755811
59B647A8461965   ADNAN        RAHEEMA                      CA     46094667084
59B6484624B588   BRYCE        EASLEY                       OK     90012858462
59B651A2872B43   BARBARA      BINGHAM                      CO     90014771028
59B654A7A7B46B   ANGELA       BYRUN                        NC     11052564070
59B6575A82B245   TIERRA       SIMMONS                      DC     90013347508
59B65772872B43   NYDIA        LOPEZ                        CO     90011187728
59B65843831428   RADONNA      MCKINNEY                     MO     27578338438
59B6589A85B531   GAIL         YNIGUEZ                      NM     90014748908
59B65967993724   ANITRA       HENDERSON                    OH     64522459679
59B66295A64145   HADGU        GEBRETSADIK                  IA     90013762950
59B6647745B531   EMILEE       FLORES                       NM     90001714774
59B66676233657   AMANDA       SALINAS                      NC     12020386762
59B66883197B54   MARTHA       BANUELOS                     CO     39092718831
59B66967893724   LEAH         JACKSON                      OH     90014049678
59B66A13172B38   JEFF         TABURES                      CO     90014050131
59B67736161971   JASON        BRANT                        CA     90007397361
59B6777987B46B   ALEXIS       MATUTE                       NC     90013957798
59B67791A2B245   TONY         BOYD                         DC     90012217910
59B67999572B24   MARTIN       DAVE                         CO     33044249995
59B6828385B387   JASON        JONES                        OR     44529372838
59B6831375715B   LUIS         SALAZAR                      VA     90012363137
59B68986561965   MARIAH       GRIPON                       CA     90014309865
59B69395791895   JAVIER       MARTINEZ                     OK     90014753957
59B6B115191895   LAURA        SOSA QUIROZ                  OK     90012191151
59B6B84972B245   MIGUEL       JONES                        DC     90001328497
59B71112A97B54   BAQUIEX      SAMUEL                       CO     39075871120
59B711A784B588   ONESHA       DOUGLAS                      OK     90013871078
59B72343857541   BRYAN        MARSHALL                     NM     90014743438
59B72516472B38   HECTOR       RODRIGUEZ                    CO     33084495164
59B7317157B46B   ABELARDO     MARIANO                      NC     90013931715
59B7476A15715B   MARILYN      ALEMAN                       VA     81017197601
59B7492A272B49   MORGAN       TURNER                       CO     33091669202
59B7532294B28B   DAVID        WELCH                        NE     26026473229
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 233 of 2350


59B76239A2B869   CHASITY       MCDONOUGH                   ID     90010072390
59B76343672B43   DAMIEN        WALKER                      CO     90013233436
59B76427433625   ANTOINETTE    MATTHEWS                    NC     90007644274
59B76878A72B43   ENRIQUE       SANCHEZ                     CO     90013978780
59B7691275B387   CRYSTAL       STUDINARZ                   OR     44598229127
59B7692AA57591   MANUEL        VILLALOBOS                  NM     90001269200
59B7756372B27B   MICHAEL       MCMILLAN                    DC     90011015637
59B7788934B588   NOLAN         BOTTOMS                     OK     90008978893
59B77A14797B54   ERIC          BACA                        CO     39098890147
59B7831A157157   MIGUEL        AMAYA                       VA     90006923101
59B78A6A97B46B   ADIEL         SANCHEZ                     NC     90013520609
59B78A8982B869   RUDY          DAVILA                      ID     90009060898
59B79885455971   ROBERT        GONZALES                    CA     49083748854
59B7989A85B531   GAIL          YNIGUEZ                     NM     90014748908
59B7B33AA51348   MARIAH        WATSON                      OH     90011153300
59B7B829551348   LISSA         SIGNORELLI                  OH     90014768295
59B8118625715B   FORTUNATO     SARMIENTO                   VA     90012341862
59B81369872B49   JASMINE       FLORES                      CO     33030573698
59B81556172B38   DALIA         MARMOLEJOS                  CO     90013125561
59B81633893724   LINDA         DICKERSON                   OH     64507346338
59B81681372B43   DIANA         CLARK                       CO     90014586813
59B82345361965   REBECCA       LAUNIU                      CA     90007903453
59B82372931428   ASHLEY        BROWN                       MO     27508293729
59B8256A664129   HEATHER       HAURUM                      IA     90012165606
59B8264365758B   CARMEN        GARCIA                      NM     90014276436
59B82796257591   BEATRICE      RAMIREZ                     NM     90005157962
59B8289A85B531   GAIL          YNIGUEZ                     NM     90014748908
59B83343857541   BRYAN         MARSHALL                    NM     90014743438
59B8338A65758B   BRISSA        LERMA                       NM     90007713806
59B83579355971   JOSE          PIMENTEL                    CA     90012875793
59B8376614B588   DONNA         BURNS                       OK     21575587661
59B84342433696   LISA          M CARTER                    NC     12049103424
59B84345272B36   AUTUMN        SALDANA                     CO     33094923452
59B8437A36194B   JENNIFER      HUNTLY                      CA     46094313703
59B8467A891587   DANIA         DUQUE                       TX     75016666708
59B84AA4424B43   JUAN CARLOS   GARCIA                      VA     90014100044
59B85273572B49   SALVADOR      ANGELES                     CO     90012832735
59B8551215758B   BERNADETTE    POTTS                       NM     35556055121
59B85881191584   PATRICIA      BRACEWELL                   TX     75021998811
59B85A85224B5B   RYAN          BELL                        DC     90008070852
59B8664715B387   KELLY         SCHMITT                     OR     44594236471
59B86681291587   EDGAR         VALENZUELA                  TX     90009156812
59B87175657541   BARBARA       GONZALES                    NM     90005671756
59B87917A91895   PAYGO         IVR ACTIVATION              OK     90012419170
59B87961372B38   ALEJANDRA     GOBEA                       CO     33005859613
59B87A27861965   WHITE         LARRY                       CA     46062600278
59B87A44A5B387   TINA          MATTHEW                     OR     90006600440
59B87A85791587   JESUS         GALLARDO                    TX     90010320857
59B88262961971   JULIO         CUELLAR                     CA     90008132629
59B886A3A33699   ANTUANE       WRIGHT                      NC     90011836030
59B88899A72B38   MADHU         DAHAL                       CO     33011358990
59B89441277322   ROGELIO       CAMACHO                     IL     90015094412
59B8B277361965   QUINCE        PARK APARTMENTS             CA     46060902773
59B9117415758B   DELIA         HERNANDEZ                   NM     35507591741
59B91728372B27   ROBERT        DENNY                       CO     90012837283
59B9173A32B369   BRUCE         MODEEN                      CT     90013947303
59B91A26A72B36   DIANA         PAREDES ARROYO              CO     90009160260
59B9317385B531   WILLIAM       HARRISON                    NM     90007881738
59B93319193724   STEPHANIE     RUSSELL                     OH     90002803191
59B934A922B245   JULIA         SIMMONS                     DC     90011634092
59B93645244B91   ERIC          STEPHENS                    OH     90014406452
59B93A18A24B43   SARA          MENDOZA                     DC     90008140180
59B93A59A55938   ANTONIA       CRUZ                        CA     90014670590
59B9418A65715B   JIMMY         GOMEZ                       VA     90011631806
59B94318931428   MONIQUE       NEPHEW                      MO     90003823189
59B9447134B28B   JOHANNA       BELK                        NE     26090754713
59B9544A85715B   ABIMAEL       NOBARRO                     VA     90011044408
59B95625172B24   JORDAN        VARGAS                      CO     33018746251
59B96111797B54   ROBIN         MCTARSNEY                   CO     90011181117
59B9612754B588   KIMBERLEY     HUDSON                      OK     90013281275
59B96191897B54   CONNIE        BELL                        CO     39070901918
59B96311672B43   SANDRA        ANN-BANUELOS                CO     33003623116
59B9735194B588   RONNIE        SCOTT                       OK     21580303519
59B97A48372B38   MARIA         CHAVEZ                      CO     90008630483
59B97A77897B54   PATRICIA      HERNANDEZ                   CO     90009000778
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 234 of 2350


59B9842A17B46B   TALIA           MCDOWELL                  NC     11006204201
59B98596972B36   DIANA           OCHOA                     CO     90009105969
59B98721372B38   EVA             GUITIERREZ                CO     90010197213
59B99931972B49   ALYSON          GROETKEN                  CO     90014569319
59B9994684B588   ASHLEY          CROOK                     OK     90014789468
59B9B398357541   NORMA           LAWRENCE                  NM     90003533983
59B9B411A91587   NATHAN          AGUIRRE                   TX     90012974110
59B9B566672B43   SUZANN          HAHN                      CO     90013565666
59B9B646A55971   ALEJANDRO       SANCHEZ                   CA     90013166460
59B9B963A5B283   MELODY          KING                      KY     68005099630
59B9B9A8197B54   GEORGE          NARANJO                   CO     39093769081
59B9BA8885758B   LOUIS           DEMOCK                    NM     35515550888
59BB1161561971   MARIA DOLORES   BUENO                     CA     90014401615
59BB153A457157   BRENDA          FIELDS                    VA     90008865304
59BB1552472B36   JETTA           SCHMITT                   CO     90013985524
59BB2238333696   TIFFANY         NEAL                      NC     90000342383
59BB226465B387   DONALD          HIGGINS                   OR     90015042646
59BB272497242B   LAURELANN       KOVAC                     PA     51039347249
59BB294935B531   ROCHELLE        GARCIA                    NM     90010969493
59BB298925758B   SHARLOTTE       TELLEZ                    NM     90014019892
59BB29A5972B38   SELINA          ARMENDARIZ                CO     33003059059
59BB315237B461   DEMARCUS        HERRON                    NC     90009111523
59BB32A2891587   RICARDO         MIRAMONTEZ                TX     75079392028
59BB41A1572B49   MARIO           VILLARREAL                CO     90014521015
59BB4539857541   GEMMA           GOODEN                    NM     90014645398
59BB456874B588   ZEIRY           MADERA                    OK     90015045687
59BB48A932B27B   SHAQUISE        SHEFFEY                   DC     90011338093
59BB491976192B   ARTURO          MAGALLON                  CA     90007189197
59BB544242B27B   ASHLEIGH        MITCHELL                  DC     90012844424
59BB5A8775B387   BRIAN           OSBORNE                   OR     90012010877
59BB613784B588   ANNA            BRIDGES                   OK     21583881378
59BB6287151348   JORDAN          DAWSON                    OH     90001652871
59BB6525272B38   JORGE           PEREZ                     CO     90013125252
59BB67A873B372   GARY            ALLEN                     CO     90004877087
59BB695A791895   KAYLA           COOPER                    OK     90013709507
59BB832845B342   STEVEN          BERTRAM                   OR     44510443284
59BB846775B387   OSCAR           TAFOYA                    OR     90011594677
59BB8AA897B421   MIGUEL          TEJEDA                    NC     90012180089
59BB9A35361971   JOEANNA         GIVENS                    CA     90009090353
5B111772597B77   JENNILYNN       STAPLES                   CO     90011557725
5B111866891895   JOSH            MCCAW                     OK     90010868668
5B111913261971   CRISTINA        MARQUEZ                   CA     90008149132
5B111A38884357   MARIA           GALLOW                    SC     90003640388
5B111A9455B236   AMANDA          FOSTER                    KY     90013450945
5B11222885B393   DONTA           MCDONALD                  OR     90013192288
5B11223A361971   MICHAEL         HOLLIN                    CA     90013112303
5B112376791895   SAMATHA         CORBET                    OK     90011073767
5B11251135B393   DONTA           MCDONALD                  OR     90000325113
5B112633A5B285   PATRICIA        THORNSBERRY               KY     90012836330
5B11283434B588   YONATHAN        LOPEZ                     OK     90010388343
5B112975972B27   JOY             RHODES                    CO     90013079759
5B112A79281693   SHENELLE        PARKER                    MO     29005040792
5B11312A672B67   ERIC            FRY                       CO     33015811206
5B11366A291895   DONALD          HAFEMANN                  OK     90014146602
5B113A6549712B   ABELARDO        RODRIGUEZ                 OR     90011570654
5B114262772B67   COREY           SENF                      CO     33032472627
5B114342A31429   SHALANDA        SMITH                     MO     27500883420
5B114395672B27   ROBERTA         FLORES                    CO     90014613956
5B114563784357   MARY            NELSON                    SC     14587715637
5B11476617195B   TERRI           WILLCOX                   CO     90013537661
5B1149A8891271   JISABEL         OTERO                     GA     90015179088
5B114AA175B393   MICHAEL         GENTLES                   OR     90013250017
5B1155A667242B   TINA E          ZEBROSKI                  PA     90009645066
5B115A3AA33699   SAMUEL          GAMBLE                    NC     12038090300
5B115AA6697B77   LALETIA         GIFFIN                    CO     90014890066
5B11632A497B54   KEYANA          MAVIS                     CO     90007813204
5B11649133B394   ORLANDO         MARQUEZ                   CO     90011754913
5B116556976B75   CARLOS          MEDINA                    CA     90012935569
5B116776891895   RONALD          DODSON                    OK     21001317768
5B116992361971   RACHEL          LUDWIG                    CA     90012999923
5B116A63797B77   ROSA            ESCOBAR                   CO     39012900637
5B117292871935   ANGELA          DRESNO                    CO     90010922928
5B117369272B49   JOSH            GELO                      CO     90011563692
5B11786A57B394   OLIVIA          LLOYD                     VA     90002368605
5B117912661971   NATASHA         BREEDLOVE                 CA     90013469126
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 235 of 2350


5B117A8879712B   MARIA           CHAVEZ                    OR     90011150887
5B11813422B27B   MARTIR          MELGAR                    DC     90013361342
5B11822129712B   JAMES           YAVARI                    OR     90009572212
5B118417472B36   MICHELLE        APPLETOR                  CO     33082614174
5B11888212B862   LORI            MALCOM                    ID     41090908821
5B11888795B399   ESTELLE         HOBSON                    OR     90013318879
5B118945291356   RANDALL         FIELDS                    KS     90008399452
5B119173676B75   RAMIRO          BARAJAS                   CA     90014601736
5B119296197B77   EMILY           RUSSELL                   CO     90012952961
5B119341491356   CODY            PULLIAM                   KS     90015423414
5B119426A5715B   RENE            CONTRERAS                 VA     81060524260
5B119551A85821   ALDO            GARSIA                    CA     90010685510
5B119651991356   BOBBIE          BRADFORD                  MO     29002136519
5B11B216391271   JOEY            HARVEY                    GA     90014592163
5B11B373497B77   PAYGO           IVR ACTIVATION            CO     90013143734
5B121169761975   RICKY           CORTEZ                    CA     90012951697
5B12136453852B   KEITH           TURNER                    UT     90006533645
5B121465A84357   SHAKYRA         SAUNDERS                  SC     90008444650
5B12148713B394   TAVAREZ         MANUEL                    CO     33058654871
5B12157737B359   GARDENIA        GUILLEN                   VA     81066435773
5B12159327242B   ALICIA          LEWANDOWSKI               PA     90012855932
5B12178695715B   EVER BLADIMIR   GRACIA                    VA     90013427869
5B1218AA672B27   JOSE            CARDOZA                   CO     90007588006
5B121915597B77   MARISOL         GOMEZ                     CO     90013159155
5B121919571935   JAMIE           BROWN                     CO     90010599195
5B121941A85821   LILIA           DIMAIWAT                  CA     46031959410
5B12214535B399   RYAN            PAGANO                    OR     90012771453
5B122146897B77   DAVID           CANO                      CO     90007981468
5B12224A77195B   MICHELLE        CASTENELA                 CO     90011572407
5B12255595B531   MONSERRAT       MONTANEZ                  NM     35027435559
5B122649191895   PAUL            HAVENS                    OK     90010076491
5B12289413B352   SHAWN           MCKNIGHT                  CO     33040868941
5B123141A71935   RICK            BAKER                     CO     32086681410
5B12327A372B27   BRUCE           YEE                       CO     90013572703
5B12344328164B   MARLA           MOORE                     MO     90004264432
5B12351A372B77   STEPHANIE       WIND                      CO     33001185103
5B12379A857157   RHONIKA         CALLAWAY                  VA     90011297908
5B123A36897B77   LAURA           GRIMALDO                  CO     90014890368
5B123A4A933642   BENJAMIN        HARGRAVE                  NC     12012730409
5B12434A557157   GLORIA          SALGUERO                  VA     90013073405
5B12438295B393   MONTY           VANN                      OR     90014993829
5B124461791356   SEAN            JOHNSON                   KS     90014814617
5B124477233696   HEAVEN          GRAVES                    NC     90004404772
5B124671555941   VERONICA        FLORES                    CA     90005256715
5B124784972B43   DOMINIQUE       NIRAGIRE                  CO     90013997849
5B124954657591   ANGEL           FLORES                    NM     90009519546
5B125139655936   SUMITRA         DHILLON                   CA     90010941396
5B125179361975   CARLOS          CRUZ                      CA     90010691793
5B125179672B27   TACHER          BROWN                     CO     90013041796
5B125213957157   LUIS            ALFARO                    VA     90003872139
5B12525A191895   JARVIS          VANG                      OK     90014312501
5B12533213B349   MELVIS          AMAYA                     CO     90008883321
5B125337341229   AISHA           BIGSTAFF                  PA     90006623373
5B12547297242B   JUANITA         SALYTON                   PA     90013934729
5B12626575B561   CARLA           MANRIQUEZ                 NM     35007442657
5B126492157591   VANESSA         RABON                     NM     35596324921
5B126686591356   LARRY           ENRIQUEZ                  KS     29090056865
5B126775497B77   DORA            VEGA                      CO     39037807754
5B127226A91271   IONA            GREY                      GA     90015252260
5B127412291895   KHPAID          REVELS                    OK     90013934122
5B127713A8B189   DIANA           BOWEN                     UT     90013497130
5B127A36897B77   LAURA           GRIMALDO                  CO     90014890368
5B127AA878B169   MARTIN          HYMAS                     UT     31006200087
5B128682384357   REGINA          JENKINS                   SC     90008516823
5B128713A8B189   DIANA           BOWEN                     UT     90013497130
5B129368972B49   JULIA           DENNING                   CO     90015243689
5B12965215B393   JUAN MANUEL     LUCERO ROJAS              OR     90011906521
5B12971772B27B   JOE             BLACK                     MD     90015497177
5B129926A41229   KEVIN           JOHNSTON                  PA     51016859260
5B129A2A22B862   ANITA           PEYTON                    ID     41070620202
5B12B117331429   MINDY           GEGG                      MO     27530091173
5B12B371285821   FAUSTINO        PABLO                     CA     90013923712
5B12B84639712B   KIMBERLIE KAY   ANDERSON                  OR     90007688463
5B12B91367242B   MICHAEL         RIZZO                     PA     90000339136
5B12B998A55941   HEATHER         APPLETON                  CA     90008089980
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 236 of 2350


5B12BA36897B77   LAURA         GRIMALDO                    CO     90014890368
5B12BA62772B49   VILMA         PENA                        CO     33077990627
5B131147371935   DIANA         LANDEROS                    CO     90010491473
5B131162172B43   NORA          CHAVEZ                      CO     90009901621
5B13147385B236   FABIAN        NICHOLS                     KY     68060194738
5B131811857157   KERLIN        PACHECO                     VA     81030288118
5B1319A715B271   REX           MOWMAN                      KY     90002099071
5B132174897127   CAITLIN       HALSTEAD                    OR     90008131748
5B13249A572B36   JEREMY        GEORGE                      CO     33063874905
5B132568972B67   REE           REH                         CO     33098595689
5B132622131428   SHONTRELL     STOCKING                    MO     27556926221
5B13264434B562   CYNTHIA       STIRES                      OK     90004336443
5B13294742B27B   ABIY          FANTA                       VA     90013369474
5B132978A84373   MORRIS        CLARK                       SC     19038909780
5B132A19484357   BRANDI        MILLEDGE                    SC     90012400194
5B133125A5B393   SARH          WALKER                      OR     90012001250
5B13373218B189   JON           CRUZ                        UT     90013497321
5B133A3292B851   DYLAN         CADOTTE                     ID     42037120329
5B133A36897B77   LAURA         GRIMALDO                    CO     90014890368
5B13417817195B   TAUTUNU       LAGO                        CO     90013541781
5B134213472B49   MARIA         LONELI                      CO     90013982134
5B13437A15B236   SAMUEL        CRUZ                        KY     90011343701
5B13462314B588   KEITHA        BUFORD                      OK     90009806231
5B1349A6661939   DANNY         JOHNSON                     CA     90010979066
5B135143685821   ARMANDO       CEDILLO                     CA     90014871436
5B135216772B27   JORGE         MEJIA                       CO     90001142167
5B135244261971   LYNETTE       GORDON                      CA     46005652442
5B13533775B236   YULIBER       DUCAS                       KY     90012313377
5B135337761975   SHAYLENA      SIMPSON                     CA     46025883377
5B135717755951   SANDRA        DUNN                        CA     49087177177
5B1359A8172B77   GABRIEL       NEVARES JR                  CO     90010759081
5B13614A771935   CHARLES       WEELER                      CO     90013941407
5B1362A2972B43   JONATHAN      YRINEO                      CO     90009072029
5B136351631433   ERIC          CONDER                      MO     90008843516
5B136A36897B77   LAURA         GRIMALDO                    CO     90014890368
5B137412391895   DIANA         MORENO                      OK     90013934123
5B13756555B162   KATHY         LANCASTER                   AR     90013935655
5B13767614B588   DAVID         CUTE                        OK     90011186761
5B137691197B77   LINDZY        FREEMAN                     CO     39093806911
5B137749972B27   VIOLA         CORDOVA                     CO     90013927499
5B13774A25B531   ISAAC         GARCIA                      NM     35038937402
5B137952191347   BRIANA        KIESLING                    KS     90014029521
5B13813A861975   LIZEBETH      MEDRANO                     CA     46085431308
5B13844417242B   FAITH         KLUGH                       PA     90011814441
5B138536772B36   MARTIN        RODRIGUEZ                   CO     33045615367
5B1386A545B387   RANDY         ROWLANDS                    OR     90012866054
5B13879622B862   ELIZABETH     COOK                        ID     41084697962
5B1387A3155951   SALLY         MARMOLEJO                   CA     49049907031
5B13881359712B   ESTELA        LOPEZ                       OR     90014398135
5B13881735758B   JAIME         ESCALANTE                   NM     35527528173
5B13894775B561   YANET         ESPINOSA-RAMOS              NM     90004949477
5B138959155941   ANA ROSA      INGUEZ                      CA     48048389591
5B13921115B399   RICHARD       JOHNSON                     OR     44572102111
5B13936A55B531   GREGORY       ROMERO                      NM     90001573605
5B139478A4B524   JAMES         WHITE                       OK     90005024780
5B139555891271   DANETTE       RENARD                      GA     90010445558
5B139563A85821   WILLIAM       ANDERSON                    CA     90012345630
5B139657472B43   PRENTICE      SIGARS                      CO     90013016574
5B139817672B43   LETICIA       SANCHEZ                     CO     90008528176
5B139826991895   TREVOR        BENDURE                     OK     90012408269
5B13983714B588   JENNY         GARCIA                      OK     90008158371
5B139A5A197B77   ESTAPHANITA   GRIMALDO                    CO     90014890501
5B13B13117195B   JAMES         LOPEZ                       CO     90013541311
5B13B161257157   MANUEL        ALVARENGA                   VA     90012621612
5B13B19A15715B   MARTHA        HENRIQUEZ                   VA     90013081901
5B13B371941229   PAT           MCCURRY                     PA     90006623719
5B14117179712B   SYDNEY        DAVIS                       OR     90009551717
5B14129318B169   HURST         KEVIN                       UT     31051572931
5B141458791895   ALANA         HOMCHANH                    OK     90007274587
5B14164375B393   YUNISON       CASTILLO                    OR     90003426437
5B141649772B36   PHILIP        MIERA                       CO     33096056497
5B141A24A85821   REBECCA       OCLASSEN                    CA     46072130240
5B141A38757591   MARY          CHAVEZ                      NM     35541370387
5B141A83A7195B   KRISTI        ROEVER                      CO     90012650830
5B142533241233   LIDIA         GOMEZ                       PA     90004705332
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 237 of 2350


5B142776442363   BRIANNA      WESCH                        TN     90015497764
5B14286AA5B399   JONATHAN     LINDSAY                      OR     90013228600
5B142887955941   MARIA        JIMENEZ                      CA     90011458879
5B142934197B77   NORMA        CERVANTES-DEL VILLAR         CO     90013159341
5B143164351348   TYLER        PERRY                        OH     90014691643
5B143181472B36   KACEY        BRUNS                        CO     33061971814
5B14376578B189   DENNIS       JENSEN                       UT     90013497657
5B143781638598   NATHAN       BLANEY                       UT     90012997816
5B143969897B77   JOSHUA       RIGGS                        CO     90013159698
5B144151491356   LAVARO       VEGA                         KS     90014581514
5B144672A72B46   LONDON       GIBSON                       CO     90008536720
5B1448A7157157   CANDICE      SCOTT                        VA     90013678071
5B14512922B27B   JUAN         SANCHEZ                      VA     90004451292
5B14527222B862   RICK         WHEELER                      ID     90003052722
5B14539215B399   CARTER       MACOMBER                     OR     90006823921
5B1453A1572B77   RODRIGO      IBARRA-PINEDO                CO     90006363015
5B145459272B27   HEATHER      FRITZ                        CO     33031284592
5B145854324B3B   BIRUK        MEKURIA                      DC     81018688543
5B145A32A8B169   MAURO        PENA LOPEZ                   UT     31033700320
5B146284791895   TERRY        MOOREN                       OK     90009682847
5B14642682B862   JACOB        KNITTEL                      ID     90013084268
5B14685785B399   KYLE         THURMAN                      OR     44573358578
5B146896872B96   FRANCISCO    PENA                         CO     90013198968
5B14718445758B   IGNAC        GARCIA                       NM     90001841844
5B14775214B588   THOMAS       SCUNGIO                      OK     90012977521
5B14791794B28B   KENDY        GOMEZ                        NE     90015009179
5B147945633699   JEFFREY      YORK                         NC     90012179456
5B148257757157   MARIA        PEREZ                        VA     90008372577
5B14826444B28B   AJONIQUE     BAXTER                       NE     90014382644
5B148451751348   JAMES        RILEY                        OH     90011944517
5B14846712B851   MICHAEL      MAYOVSKY                     ID     42047584671
5B148814955941   LESLIE       HERNANDEZ                    CA     48094818149
5B14881995B236   RONNIE       GRIMES                       KY     90012828199
5B14896145B283   TERRY        PERKINS                      KY     68072929614
5B148975997B77   NATHAN       ZAVALA                       CO     90013159759
5B149114342363   SHANNON      BAKER                        TN     90015461143
5B149215584373   LISA         WATSON                       SC     90006982155
5B14B377891356   CARMEN       BORJA                        KS     90014703778
5B14B39119712B   BENNY        SMITH                        OR     90014453911
5B14B653572B36   YOLANDA      TRUJILLO                     CO     90010186535
5B14B76A88B189   MARIA        DEALMEIDA                    UT     90013497608
5B14B88A54B28B   STEPHANIE    MARSH                        NE     26008708805
5B15132265B162   ANSHEKA      SHAW                         AR     90002603226
5B151323272B43   SOCORRO      PEREZ                        CO     33009093232
5B1518AA88B189   GERARDO      ORTIZ                        UT     90013498008
5B151993772B44   JOSE         GOMEZ                        CO     90008189937
5B151999A97B77   DESTINI      PENA                         CO     90013159990
5B15218625B162   PARIS        KEYS                         AR     90000171862
5B152412891895   BILLY        MOSLEY                       OK     90013934128
5B152429857157   STEFONI      MACK                         VA     90005834298
5B15285698B189   JULIE        WILL                         UT     31047458569
5B15311857B46B   BRENETTA     COLEMAN                      NC     90010411185
5B15329142B851   CHRISTINA    GARZA                        ID     90001202914
5B153755533699   GENE         BUTLER                       NC     90003017555
5B15394329712B   JORGE        RODRIGUEZ                    OR     90015239432
5B15416378B169   LANNING      JENNY                        UT     90005661637
5B154216A8B169   BARBE        JUSTIN                       UT     90006352160
5B154369572B36   KAYTI        POHLMAN                      CO     33073253695
5B15467235B162   GABE         HOLDER                       AR     23001046723
5B154725491356   ALLEN        ROBINSON                     KS     90015467254
5B154A39772B36   NAPOLEON     BOLDEN                       CO     90011380397
5B15539925B236   WANDA        MACK                         KY     90013533992
5B1556A935B531   KAREN        TEMPLETON                    NM     35016066093
5B155854451348   SHAWN        ESCAMILLA                    OH     90012568544
5B1559A4972B77   GUSTAVO      MEZE                         CO     90001939049
5B155A91257591   ERNEST       ALVAREZ                      NM     90008470912
5B156143151348   STEVE        HELTON                       OH     66098371431
5B156245A84357   ANDRE        SIMMONS                      SC     90014602450
5B156523384357   ANDRE        SIMMONS                      SC     90012125233
5B156545157157   ELIZABETH    IRAHETA                      VA     90012105451
5B156616584357   ANDRE        SIMMONS                      SC     90013856165
5B156763772B88   MICHAEL      SACKETT                      CO     33016277637
5B15698625758B   MARLO        FLORES                       NM     35591479862
5B157183671935   MATILDE      MARTIN NIZ                   CO     90013961836
5B1573A758B169   JASMINE      POWERS                       UT     90012313075
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 238 of 2350


5B15751164B28B   BRANDY       CERVANTES                    NE     90012185116
5B15768A961975   ROY          COFFIE                       CA     90010106809
5B157921A51345   TAMIKA       HUTCHERSON                   OH     90014559210
5B159355351348   TAMMY        MULLINS                      OH     90011103553
5B159827633696   OLIVERIO     ABURTO                       NC     90012458276
5B159942341229   MAETOSHIA    HICKMAN                      PA     90006959423
5B15999185758B   HAROLD       MAY                          NM     90011879918
5B15B118871935   FRANK        LABRIOLE                     CO     90013731188
5B15B2A7157591   JENNY        MARTINEZ                     NM     90014252071
5B15B475133667   BRANDI       TUCKER                       NC     90013584751
5B15B4A772B27B   JACQUETTA    DAY                          DC     90009834077
5B15B818961971   JOSE         SEGURA                       CA     46040428189
5B15B85689712B   SIVINO       PEREZ                        OR     90009578568
5B161233557124   OSCAR        PANAMENO                     VA     90001502335
5B161323757591   CHRISTINA    HERNANDEZ                    NM     90010073237
5B1616A9661971   BOYD         EUBANKS                      CA     90006166096
5B16199379712B   CHRIS        GETTE                        OR     90012159937
5B161A2748B169   CODY         VINING                       UT     90009750274
5B161A2925B162   MANUEL       VALDIVA                      AR     23018770292
5B161A2965B393   LINDA        ROUSKE                       OR     90015130296
5B161A4335B531   DOLLY        CANDELARIA                   NM     35029490433
5B162585972B36   RENE         ALARCON                      CO     90014155859
5B162838572B88   FRANCES      JACKSON                      CO     90006798385
5B16296978B169   LONDON       PORTER                       UT     90013129697
5B162996791356   LARHONE      WORD                         KS     90002569967
5B162AAA671935   DANIEL       ATENCIO                      CO     90010270006
5B16311788B169   G            A CHOATE                     UT     90006031178
5B163512997B77   BRENDA       CUTBIRTH                     CO     90006605129
5B16419A27B46B   STEVEN       SALMON                       NC     11035851902
5B16432895758B   BLANCA       VALENZUELA                   NM     90005263289
5B16441A171935   MARINA       TORREZ GARCIA                CO     32093374101
5B164519572B46   LUIS         ESCANDON                     CO     90002145195
5B16486A855951   ROBERT       LARA                         CA     90013268608
5B164A75538598   JESSICA      ANDERSON                     UT     90010150755
5B1652A315B387   CURTIS       NEWELL                       OR     44506112031
5B165851371935   BRENDA       GARCIA                       CO     90012618513
5B165852355941   MIGUEL       HERNANDEZ                    CA     90012018523
5B165872697B77   MIKE         AYRES                        CO     90014658726
5B165878557591   CARMEN       GOMEZ                        NM     35530368785
5B16593113B352   JASMINE      STURDEFANT                   CO     90007809311
5B165935461939   RUDELL       REID                         CA     90014929354
5B166393A5B162   JONATHAN     JOODIN                       AR     90015473930
5B16651437195B   JESSICA      MCGRIER                      CO     90010545143
5B16663A14B28B   AMY          LARSEN                       NE     90012346301
5B166913651348   AICHETOU     WAIGA                        OH     90006759136
5B166A54572B43   MARVIN       WHITE                        CO     90015030545
5B166A69284357   LATOYA       SIMPKINS                     SC     90011220692
5B167977672B77   DAWN         MOLSKI                       CO     33004529776
5B16812947B46B   JAMIE        HOLBROOKS                    NC     90011181294
5B16825237B397   JUAN         BONILLA                      VA     90002252523
5B169746372B36   JOHN         FLETCHER                     CO     90001877463
5B169A76572B27   PAULETTE     BRUTON                       CO     33063670765
5B169AA754B588   SAMUEL       EDWARDS                      OK     90004500075
5B16B635572B27   FRANCISCO    JAVIER                       CO     90014376355
5B16B73665B387   SARA         CHAMBERLAIN                  OR     44518037366
5B171322351348   PAIGE        HUMPHREY                     OH     90012883223
5B171335291356   PAYGO        IVR ACTIVATION               KS     90015383352
5B171585A5B399   ELISHA       MITCHELL                     OR     44576455850
5B171743772B77   MAYRA        LOPEZ                        CO     90001817437
5B171744976B75   MICHAEL      CHARLTON                     CA     90009097449
5B171749572B88   GABRIELA     STEFFANI                     CO     33072207495
5B171814372B27   STERLING     BEALS                        CO     33008028143
5B171913597B77   DANIEL       MOORE                        CO     90014929135
5B17195122B237   STERLETTA    BYRD                         DC     90012189512
5B17249597242B   ANTHONY      CORBETT                      PA     90008754959
5B17255A86B243   BELINDA      GORDEN                       CA     37049555508
5B17294955B543   CHARLENE     ARCHULETA                    NM     35012359495
5B17322719712B   BRANDON      MULVAHILL                    OR     90015042271
5B173369A97B77   DANIEL       GARCIA                       CO     90007253690
5B1733A212B862   DELAYNE      DYE                          ID     90011643021
5B17342575758B   JOSEFA       TORRES                       NM     35589294257
5B173564372B49   MARY         GREENWALD                    CO     33006355643
5B17395754B588   KANERON      OLIVER                       OK     90011879575
5B173A53633696   MARIA        RAMOS                        NC     90008670536
5B174593591535   ANGEL        CABRRERA                     TX     75030355935
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 239 of 2350


5B174786272B27   LUND          SHALYNDA                    CO     33034237862
5B1749AA838598   JEFFREY       SYDDALL                     UT     90013009008
5B174AA8197B77   ASUNCION      PEREZ-DE JESUS              CO     90009520081
5B175178372B77   MARIA         LEON                        CO     90013041783
5B17533435B393   SONYA         CASTELLANO                  OR     90006403343
5B175393171935   BETTY         BROWN                       CO     32052203931
5B1753A384B28B   JUAN          ARSIAGA                     NE     90004823038
5B175A4A25B531   MARIA         FLORES                      NM     90015130402
5B1762A3271935   TODD          ELARIO                      CO     32006592032
5B176373284357   RAY           MOE                         SC     14527873732
5B17661967195B   KEVIN         GREER                       CO     90013206196
5B17668337242B   WILLIAM       BLUMAN                      PA     51006446833
5B17671215B531   ELIZABETH     SOSA                        NM     90012777121
5B176932A38598   HAL           MITCHEL                     UT     90013009320
5B177492172B43   LAURENE       DINNEEN                     CO     33040574921
5B177663361971   LEO           FUENTES                     CA     90014126633
5B177758A91895   SCOTT         PERRIER                     OK     90009067580
5B177785161975   NICOLAS       LORA                        CA     90009767851
5B17824255B393   MARIO         LOPEZ-CONTRERAS             OR     90013282425
5B178271691356   TERRY         HESTICLE                    MO     90015472716
5B178349584373   SHAWN         WILLIAMS                    SC     90010313495
5B17842245B236   EVELYN        JOHNSEN                     KY     90011224224
5B17847615715B   JOSE          RAMIREZ                     VA     81069694761
5B178614131428   TERRIS        SMITH                       MO     27559686141
5B179228657B23   EILEEN        SWERDON                     PA     90014432286
5B1792A7585821   JOSE          MENDEZ                      CA     46062802075
5B179576397B54   SELENA        LIMONES                     CO     90004385763
5B179786957157   SHAROLL       JIMENEZ                     VA     90014707869
5B17B14467B48B   LATOYA        TEZINO                      NC     90001161446
5B17B548885821   SERGIO        PINA                        CA     46061695488
5B17B58325B162   RANETTA       GUILLORY                    AR     23023975832
5B17B62275B531   JOSHUA        JORDAN                      NM     90009236227
5B17BAA1A72B27   BRANDON       JACOBS                      CO     90013750010
5B181253997B77   STILES        SANDERSON                   CO     90013112539
5B181799172B49   VIET          NGUYEN                      CO     90014907991
5B1817A155B162   ROCIO         AGURDO                      AR     90015107015
5B181951172B67   OSCAR         FLORES UMANA                CO     33065179511
5B181A84757591   DEBRA         SANCHEZ                     NM     35582960847
5B182122597B77   MICAELA       FLORES                      CO     90011151225
5B182124155941   MARTIN        VENTURA                     CA     48071601241
5B182481571964   NICHOLIS      FERNANDEZ                   CO     32068804815
5B18273A548B24   KRISTY        TRAN                        AZ     90014037305
5B183188298B2B   QUAMEKA       BENNETT                     NC     11009201882
5B183265155941   NANCY         NAVARRO                     CA     90014472651
5B183429191895   CLIFFORD      CLARK                       OK     90013934291
5B183454572B46   DOREEN        GARCIA                      CO     90004154545
5B18363134B588   CAITLIN       VIDAL                       OK     21508696313
5B1837A124B28B   HECTOR        AGUILAR                     NE     90004117012
5B1844A4672B49   PHILIP        STEWART                     CO     90011004046
5B18465495715B   ALEXANDER     REYES                       VA     81071076549
5B18478115758B   MELISSA       VEGA                        NM     90007847811
5B184974172B36   JENNEFER      PHILLIPS                    CO     90011129741
5B18543462B862   DEVIN         DURBIN                      ID     90014744346
5B185517955941   MARIA         OROSCO                      CA     48085565179
5B18558575758B   MARIO         BUSTILLOS                   NM     35589515857
5B185678872B36   DONALD        GRIMS                       CO     33006316788
5B185696A76B75   CRAIG         SHAPMAN                     CA     90012076960
5B1859AA971935   ERIC          CASTRO                      CO     90013039009
5B185A56284357   ANTWONETTE    BRYAN                       SC     90014830562
5B186412238598   CRUZ          OCHOA                       UT     90013014122
5B18678235B399   ELIZABETH     WILLIAMS                    OR     90004867823
5B18711437B46B   VERONICA      WILSON                      NC     11044021143
5B187348197B4B   JUAN MANUEL   RODRIGUEZ CANO              CO     90013023481
5B187372A27B48   BIE MA        DAU                         KY     90014463720
5B18773A491356   ROBERT        WILD                        KS     29018077304
5B188196A71935   MATT          GUNTER                      CO     90013941960
5B188378961975   EDIK-ANDRE    GODINEZ-AGUILAR             CA     46055363789
5B18844A861971   PEDRO         NAJERA                      CA     90014824408
5B188544933699   DOUGLAS       HIGHAM                      NC     90014195449
5B188847A7B46B   SALENA        DAVIS                       NC     90005188470
5B188A65884373   IESHA         ORTIZ                       SC     90014250658
5B18921939712B   RENEE         LOPEZ                       OR     90015142193
5B18929A37195B   IVONNE        OCHOA                       CO     32022792903
5B189637861975   MARIA         REYES                       CA     90002326378
5B189667233696   JHONNY        BARILLAS                    NC     90013126672
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 240 of 2350


5B18974725715B   BAYRON          MELGAR                    VA     81088117472
5B189832672B49   TANYA           REYNA                     CO     33028668326
5B18B13A484357   PAMELA          MAYFEILD                  SC     90012301304
5B18B2A515B162   SHARON          JAMES                     AR     23032312051
5B18B46214B28B   ALLISON         REILLY                    NE     90009274621
5B18B73A548B24   KRISTY          TRAN                      AZ     90014037305
5B18BA12A72B67   KAMRON          SMITH                     CO     90002260120
5B18BA38693754   CHARLES         HAMMOND JR.               OH     64551640386
5B18BAA4691895   KAYLA           LYLES                     OK     21096580046
5B19115557242B   TAMMY           DURSO                     PA     90003051555
5B191479955951   VERONICA        VILLALOBOS                CA     90013344799
5B19179248B531   ROBERT          ROBERTSON                 CA     90010467924
5B1919A5597B54   KORI            MORSE                     CO     39096619055
5B1919A747B372   ANA             ERAZO                     VA     81015189074
5B19247155758B   KARI            LEE                       NM     35547684715
5B192532172B43   DEVIN           MARTINEZ                  CO     33049985321
5B19268645B393   CHERYLN         LAMPTON                   OR     44515896864
5B19271234B271   CAROLE          APOVO                     NE     90007807123
5B193127772B27   KEVIN           BULLARD                   CO     33039011277
5B19314158B169   KAY             CUMMINGS                  UT     90003741415
5B19325388B189   ANTONY          CADENA                    UT     90013502538
5B19325A472B36   JAMILETH        TERRAZAS                  CO     90010192504
5B193364357157   IDELLE          HAMILTON                  VA     90012753643
5B193837561975   MONICA          DUPLESSIS                 CA     90007828375
5B19387A45715B   LORRAINE        GADSDEN                   VA     81088578704
5B193995372B43   KRISTIE         WILLIAMS                  CO     90001059953
5B194134184357   AVIS            BROWN                     SC     90014261341
5B194418361975   JENNIFER        MIRANDA                   CA     90014524183
5B19486155B399   ROBERTO         OZUNA                     OR     90010378615
5B19525242B862   MICHAEL         PANNELL                   ID     90013462524
5B195438197B77   NOELIA          DAVLIA                    CO     90014944381
5B1954A439712B   HEBERTO         MENESES FIGUEROA          OR     44534224043
5B195516A5B393   MICHAEL         JARROTT                   OR     90010375160
5B195A19185821   MITCH           PENNER                    CA     90009310191
5B19615A45B543   JULIO           ELIAZ                     NM     35095651504
5B19616118B189   MAXIMO          ESPINOZA                  UT     90005271611
5B19621A65715B   MALIK           NASR                      VA     90014932106
5B19626725715B   LINETH          PEREZ                     VA     90013962672
5B196379A57157   TRENA           ROBINSON                  VA     90012753790
5B196463833699   MICHAEL         QUATTKEBAUM               NC     90014724638
5B196497497B77   MARLENE         GLESMANN                  CO     90004134974
5B196678A85821   RUTH            MORALES                   CA     90008906780
5B196815A5B531   NORMA           GONZALEZ                  NM     35088128150
5B197376198B2B   BARRY           TESENIAR                  NC     11043313761
5B197422384373   DORNELL         GREEN                     SC     90015164223
5B197447557157   MIGUEL          MELGAR                    VA     90014274475
5B197466A72B43   EDMOND          MCLEAIN                   CO     90014834660
5B19771219712B   RACHELLE        FLINT                     OR     90013447121
5B198164872B77   CARMEN          TOURE                     CO     33052261648
5B19833248B169   MARIE           BROOKLYN                  UT     90010353324
5B198359654B45   BENNIE          MORRIES                   VA     90015053596
5B198438197B77   NOELIA          DAVLIA                    CO     90014944381
5B19848455B162   DANA            RUSSELL                   AR     23006984845
5B198658471935   COREY           DEROSA                    CO     32078986584
5B198A7234B588   IVAN            IBARRA                    OK     90014750723
5B19932365B531   MANUEL          CANO                      NM     90014973236
5B19938335B162   TOWANIA         OLLISON                   AR     23084943833
5B19973A548B24   KRISTY          TRAN                      AZ     90014037305
5B19979942B27B   LEONARD         ROSS                      DC     90011947994
5B199858361971   CATALINA        ZAMORA                    CA     46078388583
5B199A36738598   PAUL            HANSEN                    UT     90013020367
5B19B164571935   JAMIE           GIBSON                    CO     90014261645
5B19B26A155941   COREY MICHAEL   MADRIGAL                  CA     90013082601
5B19B34299712B   PEREZ           FERNANDEZ                 OR     90010353429
5B19B34514B29B   DARRYLL         TIMPERLEY                 NE     27028133451
5B19B3A5591356   MARTHA          DIAZ                      KS     29026003055
5B19B564951348   LUIS            GARCIA                    OH     90009845649
5B19B777176B75   SHENA           ARMSTEAD                  CA     90012847771
5B19B78825B393   MIGUEL          AVILA CORREA              OR     90007797882
5B19B843271935   ANTHONY         MAZYCK                    CO     90012858432
5B1B137824B588   FRANK           MORALES                   OK     90009473782
5B1B152192B27B   KEITH           YARBOROUGH                DC     90013795219
5B1B1768172B49   RACHEL          SULZBACH                  CO     90010807681
5B1B1A9322B862   GREGORY         BLACKWELL                 ID     90006980932
5B1B2255361971   MIKE            GOODWIN                   CA     90003632553
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 241 of 2350


5B1B2378A5B236   EVELYCA      NELSON                       KY     90011223780
5B1B2385172B67   GREGORY      KOLLENBORN                   CO     33085793851
5B1B23A3A72B43   BARBARA      HARRIS                       CO     33006373030
5B1B2828284373   ISABELLE     BAMBARA                      SC     90014238282
5B1B2995A71935   SAMANTHA     RIVERA                       CO     90013009950
5B1B2A5A257591   MARIA        LOZANO                       NM     90011930502
5B1B3169472B36   SERGEY       FOUKS                        CO     90012361694
5B1B3375972B43   MICAH        APODACA                      CO     90014553759
5B1B3418A72B36   FRANCIS      COFFEY                       CO     90015134180
5B1B346382B27B   JOSE         PORTILLO                     DC     90000964638
5B1B357A572B49   JOSE         PEREZ                        CO     90012635705
5B1B436632B861   FELICIA      PADILLA                      ID     90001703663
5B1B456685B531   ROBERT       ARMIJO                       NM     90004545668
5B1B4875197B77   SHAWN        MAY                          CO     39055518751
5B1B5143871935   TIFFANY      DUGGER                       CO     32084771438
5B1B5466672B88   EDUARDO      RONQUILLO                    CO     90003584666
5B1B563129712B   LUCAN        RAINWATER                    OR     90015036312
5B1B6197757591   ADRIAN       PALACIOSPARRA                NM     90005031977
5B1B62AAA5715B   SERGIO       AYALA                        VA     90007582000
5B1B658945B162   NICOLE       BURRELL                      AR     90015515894
5B1B6647A33696   JESHUAN      DELGADO                      NC     90013236470
5B1B6658438598   FAIGA        MULIPOLA                     UT     90011816584
5B1B722976B943   TANYA        GREEN                        CO     90000922297
5B1B725185B236   JACQUELINE   BROOKS                       KY     90013422518
5B1B7561A2B27B   SHADASHIA    GILLIS                       DC     90015315610
5B1B75A512B862   HOLLY        JOHNSON                      ID     90007165051
5B1B763335B162   ALBERT       STEPHENS                     AR     90009756333
5B1B7889172B67   SHAUN        RANK                         CO     33000128891
5B1B79AA59712B   JOHANNA      CAMARGO                      OR     90011149005
5B1B823335B393   LASHONYA     MORRIS                       OR     90014802333
5B1B868A357157   JEFFREY G    SWEARMAN                     VA     90010446803
5B1B876515715B   KEVIN M      HENDERSON                    VA     81047347651
5B1B9389933696   ROBERTO      ZAMORANO                     NC     90011023899
5B1B9415555941   MARIA        AVILA                        CA     90013174155
5B1B9544191895   PAMELA       ARLEDGE                      OK     21016045441
5B1B958178B189   HERACLIO     MARTINEZ                     UT     90013495817
5B1B964569712B   MARIA        CASTRO                       OR     90015036456
5B1B971255B247   MARK         BLACK                        KY     90012337125
5B1B975148B169   NIKKI        REEVES                       UT     31084957514
5B1BB166272B27   CESAR        NORIEGA                      CO     33035321662
5B1BB23A561971   CHRIS        SPRECCO                      CA     46052872305
5B1BB382A5715B   JUAN         DOMINGUEZ                    VA     90010743820
5B1BB68277195B   MINH         PHAM                         CO     90013536827
5B1BB78155B236   ROSE         ROSE                         KY     90010177815
5B211155761971   AMANDA       ULMER                        CA     46035591557
5B211256772B77   BENITO       DURAN                        CO     90007282567
5B211271572B43   MIGUEL       LEMUS                        CO     33095182715
5B211535172B49   RONNIE       JIRON                        CO     33033235351
5B211547A5B236   MARY         MERRIMAN                     KY     68013245470
5B21199675B393   TRENT        RAU                          OR     44531799967
5B211A6A571935   KIM          DEIS                         CO     32085220605
5B212388261971   SABRINA      LARUE                        CA     90014523882
5B21244435B236   JAMES        JOHNSON                      KY     90011224443
5B212619484357   COURTNEY     BEE                          SC     90010266194
5B212648276B75   LILIANA      RUVALCABA                    CA     90010116482
5B21299695B162   RICKY        CONNLEY                      AR     90013749969
5B21334299712B   PEREZ        FERNANDEZ                    OR     90010353429
5B213481133699   NICOLE       HERRING                      NC     90009314811
5B213487497B77   JEREMY       HAMILTON                     CO     90014944874
5B213697255951   CARLOS       ROMERO                       CA     90006166972
5B21398815B531   RENE         ARROYO                       NM     90006519881
5B21419665B399   MARIA        BOCANEGRA LUNA               OR     44583881966
5B214582877568   DENISE       LORENZI                      NV     90011235828
5B214772961975   LEILANI      SANDLER                      CA     46051767729
5B21565635B236   ABELL        SARAH                        KY     90009476563
5B21574AA5134B   DENISE       SMITH                        OH     90012757400
5B215797272B43   WAYNE        WALKER                       CO     33008417972
5B21624A791356   ASPEN        WILSON                       KS     90014262407
5B216493291895   CAROLYN      RICHARD                      OK     21080764932
5B216638272B67   MAURICIO     PEREZ-BADILLO                CO     33088636382
5B216AA3585821   LISA         TWOMBLY                      CA     46082140035
5B217299271935   LESLIE       STEARNS                      CO     90003582992
5B217345357591   MARIETTA     VALDEZ                       NM     90009463453
5B217484A7242B   MARK         STANTS                       PA     90014604840
5B217586733696   VINCENT      JOHNSON                      NC     90013515867
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 242 of 2350


5B21773387B46B   ORLANDO       LOPEZ OSPINA                NC     11089817338
5B21821277195B   KIMBERLEY     KERLAVAGE                   CO     90013552127
5B21851278B169   STEPHANIE     MCRAE                       UT     90012695127
5B218588457B81   ALTON         SWINGLE                     PA     90014375884
5B21897927242B   FRANK         ADAMS                       PA     90006999792
5B21946A857591   STEPHANIE     MATUTE                      NM     90013934608
5B2195A2957157   ROSA          TORREZ                      VA     81072635029
5B219614255941   RUSSUEL       DAVIS                       CA     90013356142
5B219A8957B46B   LUZ           MARIA                       NC     90002340895
5B21B179472B43   NELSON        PEREZ                       CO     90003481794
5B21B28914B588   IFEOLUWA      IDODE                       OK     90013282891
5B21B33878B189   JOSH          COULSTON                    UT     90014253387
5B21B52979712B   BERTHA        RUBIO                       OR     90015215297
5B21B625784357   SANDRA        CARDENAS                    SC     90012776257
5B21BA48472B67   LAVERN        WHITE                       CO     33016060484
5B221141651348   ONEILL        COSME                       OH     90012151416
5B221263A8B169   MARIA         HERNANDEZ                   UT     31012842630
5B221586572B27   FLOR          IBARRA                      CO     90014195865
5B22163677195B   OLLICE        BURKE                       CO     90010086367
5B22167995B162   VULNAVIA      BAKER                       AR     90009476799
5B221733172B47   CYRENE        TILBURY                     CO     90009827331
5B2218A3391356   BENNETT       MERANDA                     KS     90003198033
5B22196A291895   LOYE          TOWE                        OK     90008929602
5B221A6A571935   KIM           DEIS                        CO     32085220605
5B222161172B49   CECILIA       JIMENEZ                     CO     33054281611
5B22218765B399   JOHN          ETUN                        OR     90008131876
5B22227967195B   ALFRED        DEBIAS                      CO     90013552796
5B22265A37242B   AMANDA        KUHNS                       PA     90015026503
5B223136876B75   GERALD        KOSTIHA                     CA     90015151368
5B223293372B36   KATRINA       JOHNSON                     CO     33083232933
5B22343562B851   CHERYL        MCKINNEY                    ID     42015674356
5B223948238598   KATIE         WILLIAMS                    UT     90013029482
5B224355A4B588   JUSTIN        MADDEN                      OK     90010723550
5B224614855938   ASHLIE        WILLIAMS                    CA     90013956148
5B224697755941   BENJAMIN      GARCIA                      CA     90013206977
5B22538A331428   KAUANA        ALLEN                       MO     90003583803
5B22546917195B   PAUL          KENDALL                     CO     32096134691
5B225622A7B339   LICETH        SAAVEDRA                    VA     81015866220
5B225636976B75   GABRIEL       CARO                        CA     90007896369
5B225695A61971   KEVIN         JEANTY                      CA     90014976950
5B2256A9797B77   MELISSA       BLOYD                       CO     90014946097
5B2257A755B583   ALEXIS        FERNANDEZ                   NM     90009147075
5B225836A72B32   CLAUDIA       FARRELL                     CO     90009558360
5B225A76272B27   EMILIA        RECINOS                     CO     33007100762
5B226332372B36   ANTONIA       AVILA                       CO     90008903323
5B22639A35758B   HEATHER       TORRES                      NM     90015103903
5B22662A24B28B   LYLE          BAKER                       NE     26051826202
5B22687245758B   HEATHER       TORRES                      NM     90010668724
5B226943A5B236   LORIE         VAUGHN                      KY     90014489430
5B226A4A25B531   MARIA         FLORES                      NM     90015130402
5B226A6A571935   KIM           DEIS                        CO     32085220605
5B22724875B162   MANUEL        SANDOVAL                    AR     23017972487
5B227787991895   JOSE          MATINEZ                     OK     90008987879
5B22832A172B88   NOLEN         DEAN SHABER                 CO     33065353201
5B22857342B27B   ESTELA        ESTRELLA                    DC     81092985734
5B22896A772B36   CHRIS         CLARK                       CO     90013139607
5B229256576B75   EVERARDO      MARTINES                    CA     90007112565
5B22931A855937   CARLOS        RUBIO                       CA     90011333108
5B22946425B236   TRACY         MACCLELLAN                  KY     90011224642
5B22974632B862   BRET          MINZGHOR                    ID     41007327463
5B22978898B169   KEITH         TUCKER                      UT     31032437889
5B229834133699   MICHELLE K    FALLMANN                    NC     90002808341
5B22B667872B43   CHRISTIAN     STOPPEL                     CO     90009636678
5B22B82445B531   VALENTE       ACOSTA                      NM     90014638244
5B22B858A61971   BRADEY        LARA                        CA     90011478580
5B22B967676B75   ALYSSA        SANCHEZ                     CA     46019719676
5B23161977242B   ANDREA        JONES                       PA     90013066197
5B23169375B399   CRAIG         EVANS                       OR     44591736937
5B231964772B62   GORDON        STENKE                      CO     90012819647
5B231985751348   YARY          RIVERA                      OH     66096979857
5B23227427B347   MARK          PERTUIT                     VA     90012642742
5B2323A1451348   CARLOS        DAMASO                      KY     66052793014
5B23262A59712B   JOSE          DELGADO                     OR     90005316205
5B232881372B43   ALEJANDRINA   ATAIDE                      CO     90010078813
5B23321975715B   JOEL          RIVERA                      VA     90006292197
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 243 of 2350


5B23326639712B   CRYSTAL      LAUDERDALE                   OR     90008642663
5B2336AA833699   VALENTINA    MCCARTHER                    NC     12094206008
5B23434519712B   MIRIAM       BLAS                         OR     90015043451
5B234469455941   MICHAEL      ROSAS                        CA     48005804694
5B234612497B77   NOELIA       DAVILA                       CO     90014946124
5B23475362B27B   FAITH        BELLAMY                      DC     90009667536
5B234866733696   RUFUS        VARRON                       NC     90006808667
5B23538689712B   GUTBERTO     GARCIA PASTOR                OR     90010403868
5B235574A61971   OSHIA        ORAHA                        CA     90012825740
5B235A8118B169   MELISSA      JESKE                        UT     90014510811
5B236698985821   REYNALDO     PALAPO                       CA     46014496989
5B23684295134B   LINDA        FANTETTI                     OH     90008228429
5B23733A185821   SALEH        FAZAL                        CA     46093423301
5B237626391939   TYSHA        CARVER                       NC     90004166263
5B237681133699   RONALD       HACKETT                      NC     12059626811
5B237913A97B77   ORLANDO      MEDINA                       CO     90013419130
5B23821792B851   RANDEE       FRATTO                       ID     90005892179
5B23834519712B   MIRIAM       BLAS                         OR     90015043451
5B238385397B77   GLORIA       CANCHOLA                     CO     39065063853
5B23847365B236   JAMAR        ELLIOTT                      KY     90011224736
5B238635471935   JANET        R STAATZ                     CO     90008816354
5B23875615B531   JOSE         FERNANDEZ                    NM     90002967561
5B238774793787   CHRIS        REYNOLDS                     OH     90006037747
5B23927625715B   JOSE         VONILLA                      VA     81011832762
5B239612497B77   NOELIA       DAVILA                       CO     90014946124
5B23B228657157   MARIA        GUEVARA                      VA     90009392286
5B23B41A557591   JOSE         JIMENEZ                      NM     90010844105
5B23B445126222   PAYGO        IVR ACTIVATION               WI     90012704451
5B23B758361971   MANI         QUIDIANI                     CA     90010187583
5B23B8A495B531   JESUS        MARINELARENA                 NM     90011628049
5B24136684B588   ALEXANDER    CARMONA                      OK     90013963668
5B24156518B169   CHRISTOPHE   GALYK                        UT     31051605651
5B241612497B77   NOELIA       DAVILA                       CO     90014946124
5B241913333696   ROBERT       CAMERON                      NC     90012959133
5B242155291895   CALEB        MANGUM                       OK     90012201552
5B24233134B588   BETTY        MALLETTE                     OK     90008163313
5B24234344B28B   ERENDIRA     SOLORIO                      NE     90011483434
5B24258A45B236   AMY          CAIN                         KY     90008805804
5B2425A224B28B   ERENDIRA     SOLORIO                      NE     26095585022
5B242852A5758B   ANGELA       FERNANDEZ                    NM     90012188520
5B24321115B399   RICHARD      JOHNSON                      OR     44572102111
5B243218931551   AUDREY       SHOULTS                      NY     53056562189
5B243388172B27   TRACY        BLANKENSHIP                  CO     33087863881
5B2433A7897B77   JOSE         SANTOYO                      CO     90010803078
5B243482171935   LOUIS        SIERRA                       CO     90015144821
5B243492172B67   GUILLERMIN   DIAZ                         CO     33026874921
5B243A76376B75   AMADOR       MONREAL                      CA     90001480763
5B244132591895   GERARDO      GOMEZ                        OK     90011901325
5B244379A72B49   SALENA       COMPOS                       CO     90013693790
5B244514672B77   MIGUEL       MORALES                      CO     33072125146
5B24477A14B28B   JAMIE        ARENAS-SALAMANCA             NE     90013167701
5B244A26772B88   KARLA        VARGAS                       CO     90014100267
5B245467691356   KEVIN        WILLIAMS                     KS     90005504676
5B24557835B271   YULANDA      RICKMAN                      KY     90005385783
5B24637689712B   ULDO         LIZARRAGA                    OR     90011663768
5B246452591895   TRACEY       WESSON                       OK     90012364525
5B2466A8284357   CAITLYNN     FOSKEY                       SC     90012286082
5B246783757591   NICOLE       ALANIZ                       NM     90011467837
5B246898742363   TYLER        PELHAM                       GA     90013928987
5B247469791535   SILVERIA     GUILLEN                      TX     90007204697
5B247472661971   LONNIE       JACKSON                      CA     90012474726
5B247546233699   ALMA         LOPEZ                        NC     12045925462
5B247552391895   DAVID        RODRIGUEZ                    OK     90007765523
5B247685172B27   MIGUEL       PANTOJA                      CO     90013166851
5B247846255941   JOSE         MEDINA                       CA     90014838462
5B248313671935   FRANK        MCCOLLUN JR                  CO     90013943136
5B24844AA2B27B   KIARA        CHILDS                       DC     90012994400
5B24862435715B   JOSE         MENDEZ                       VA     90012036243
5B248626277568   MARIO        CUEVAS                       NV     90011686262
5B248979398B2B   BEVERLY      COVINGTON                    NC     90005279793
5B24898314B561   SHERRY       HOMES                        OK     90011659831
5B248A5282B862   JOHN         BOWERS                       ID     90012980528
5B249278384852   ZEFERINO     HERNANDEZ                    NJ     90008982783
5B249367297B77   CINDY        VALENTINE                    CO     90012073672
5B24961853B347   PATRICIA     MICHAEL                      CO     33047016185
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 244 of 2350


5B2496A9251348   NATASHA         JOHNSON                   OH     90006386092
5B249734A97B54   MARIA           RODRIGUEZ                 CO     39034777340
5B24981555B236   ASHLEY          MATTHEWS                  KY     90013808155
5B249823757591   ROGER           CISNEROS                  NM     90012148237
5B249888155941   ROSAURA         GUERRA                    CA     90012698881
5B249936A5B531   BRETT           GALLEGOS                  NM     90013289360
5B249A59972B27   MARISOL         MARTINEZ                  CO     90014310599
5B24B14225B531   ANA             GRANILLO                  NM     90013911422
5B24B887357591   COLBERT         VALDEZ                    NM     90013488873
5B24B98A497B77   TORI            BELL                      CO     90008769804
5B24BA1274B28B   MICHAEL         DUNN                      NE     90010330127
5B251257A2B27B   ANTHONY         BAILEY                    DC     90014582570
5B25156418B169   AGUSTIN         ROMERO                    UT     90013345641
5B251613571935   LUZMARIA        CASTANEDA                 CO     32025006135
5B25238527195B   DAMIAN          JOHNSTON                  CO     90013563852
5B25283667195B   DAMIAN          JOHNSTON                  CO     90014588366
5B25286A433696   PATRICIA        MURPHY                    NC     90008598604
5B252A28938598   MARIA           FAUSTO                    UT     31022780289
5B252A8A297B35   VENEZIA         CUADRAS                   CO     90014250802
5B253148655941   JOSE            HERNANDEZ                 CA     90003601486
5B25328862B934   LISA            HARRIS                    CA     90013122886
5B253536733699   JASMINE         JAFFERS                   NC     90009845367
5B253686A51348   JOSH            JOHNSTON                  OH     90013686860
5B253827871935   HUGO            VARGAS                    CO     90011418278
5B253849972B43   LANDON          STECKLEIN                 CO     90006358499
5B2538A5161949   BALDOMERO       RODRIGUEZ                 CA     90004568051
5B253A4364B28B   PHYLLIS         REINWALD                  NE     90010380436
5B254552638598   ROBERT          LAWRENCE                  UT     90013045526
5B254826676B75   ENRIQUE         RUIZ                      CA     90013818266
5B25482A89712B   CHELSEA         REEDER                    OR     90012728208
5B255173472B36   EVIN            PRO                       CO     90012361734
5B255392A7B48B   MARTIN          GALEANA                   NC     90011163920
5B25552A972B27   TERRELL         JOHNSON                   CO     90009725209
5B255583A2B896   FRANCCESCA      MILLER                    ID     90001525830
5B255943972B46   PETER           NIELSEN                   CO     90002309439
5B255959857157   BENJAMIN        OPOKU                     VA     90014059598
5B25627878B169   JERRY           CALLIHAN                  UT     31015032787
5B256495961971   SALVADOR        ACEVEDO                   CA     90014334959
5B25665395B531   MARCELLA        SANCHEZ                   NM     90014256539
5B256659776B75   ALANMAR         GAJO                      CA     90014726597
5B25698375758B   IRIS            DELATORRE                 NM     90009539837
5B256A7A75B162   SHARON          LUTON                     AR     23028090707
5B25711A285821   ADRIANA         LOPEZ                     CA     90014191102
5B257352291895   CODY            FIPPS                     OK     21038173522
5B257462172B36   GREGORY         SCHWAB                    CO     33064614621
5B257476272B77   AZUCENA         JIMENEZ                   CO     90011514762
5B25748485B236   RAPHAEL         TENNYSON                  KY     90014044848
5B25755A74B28B   ASHLEY          GREEN                     NE     90015125507
5B25761627242B   DIANA           AMSLER                    PA     90003066162
5B257811657591   KAREN           SIMPSON                   NM     90008608116
5B25782174B28B   ASHLEY          GREEN                     NE     90006478217
5B25793798B169   MARIE           AMANDA                    UT     31086299379
5B257A49931551   TERRI           TWOMEY                    NY     90015490499
5B25861434B588   KIMBERLY        BARKER                    OK     90015066143
5B258944785821   SANTIAGO        LOPEZ                     CA     90012409447
5B25919A872B67   VICKY           PRYOR                     CO     33083571908
5B2594A2A97B77   ALEX            SELAN                     CO     90015044020
5B25962275B236   COURTNEY        FOREHAND                  KY     90009756227
5B259687A41244   STEVEN          SWEENEY                   PA     90002206870
5B26141285B162   SHANE           ROBY                      AR     90015584128
5B261784531429   ALICIA          MILLER                    MO     27513797845
5B261822438598   JUSTIN          GRAMMER                   UT     90013048224
5B261A64384373   MARION          KAREEM                    SC     90007040643
5B26237454B28B   HOLLY           DONDLINGER                NE     90011053745
5B262493A91895   DELIA           BEJARANO                  OK     90013934930
5B262A8395B399   SHIRIN          BOUKAGHAEI                OR     90013000839
5B26365292B27B   MARKEISHIA      THOMAS                    DC     90014906529
5B26371A19712B   RANDOLFO        MARROQUIN                 OR     90009617101
5B26381855B531   SONIA           LOPEZ-PEREZ               NM     35093268185
5B263999872B36   PATRICK AARON   COLLIER                   CO     90012749998
5B26428217B46B   EVER            MELENDEZ                  NC     90008512821
5B26472158B169   BETTINA         GALLEGO                   UT     90009137215
5B264894376B75   JON             REED                      CA     90013748943
5B2648A224B271   ROSA            VASQUEZ                   NE     27004328022
5B265135561975   ANN             SMITH                     CA     90008601355
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 245 of 2350


5B265267233696   VALERIE      ROBERTS                      NC     90013162672
5B265282857591   LUZ          RIVERA                       NM     90005972828
5B265872472B27   STEVEN       DAVID                        CO     90008418724
5B265A5947242B   MARC         KOVALCIK                     PA     90015210594
5B265A91157157   WILMA        NEWBY                        VA     90006700911
5B266685271935   ALEJANDRO    BARRERA                      CO     90011716852
5B266875397B54   GERALD       LONG                         CO     39000398753
5B2668A6951348   KRISTAL      POORE                        OH     90008938069
5B26694317195B   CHRISTINE    SAVOY-JOHNSON                CO     32088279431
5B26746285B393   KAW          SHWE                         OR     90015204628
5B26765247195B   ARTEMIO      ALVARADO                     CO     90013556524
5B267916A5B399   JERRY        THERIAULT                    OR     44595249160
5B26814939712B   FRANCISCO    RUIZ                         OR     44555221493
5B268A6847195B   LETICIA      MADRID                       CO     90005390684
5B2693A7457157   ROSA         VALLADARES                   VA     90012623074
5B2693A7631429   MICHEAL      BOUNDS                       MO     90009793076
5B269A96184334   JOSE         JUAREZ                       SC     90007580961
5B269AA335B531   CHRISTIAN    LAZO OCHOA                   NM     90005880033
5B26B39392B862   REBECCA      JACOBS                       ID     90002803939
5B26B45222B27B   ISMELDA      CRUZ                         DC     81075914522
5B26B564291895   MICHAEL      STRONG                       OK     90014625642
5B26B594197B77   NOE          MEDINA                       CO     90008435941
5B271475A5B393   LLOYD        QUINTON                      OR     90014824750
5B27152948B177   GENE         SNOW                         UT     31076945294
5B27163A161989   TODD         BASNIGHT                     CA     46008606301
5B271958391895   MANUEL       LOPEZ                        OK     21072939583
5B271A53A4B936   MARIA        FORBES                       TX     90009070530
5B272648276B75   LILIANA      RUVALCABA                    CA     90010116482
5B272649284357   HENRY        HOAGLAND                     SC     90015106492
5B27271825B236   GEORGETTE    PETERSON                     KY     68050987182
5B272A21872B49   EMILIANO     ALVIDREZ                     CO     33074420218
5B272A51191895   AMBER        HOPPER                       OK     90007820511
5B273163942363   EUCEBIO      NIZRAMIRES                   TN     90001411639
5B273269455941   ANTHONY      GARNICA                      CA     90011902694
5B273393871935   CESAR        FLORES                       CO     32025963938
5B2733A7A5758B   ABIGAIL      MENDEZ                       NM     35579183070
5B273426176B75   NOEMI        GARIBAY                      CA     46094844261
5B27355264B28B   CASSANDRA    SIWEMUKE                     NE     26042405526
5B273841172B43   JERRICK      PERKINS                      CO     33063638411
5B273AA3184373   CHAD         WESSINGER                    SC     90014630031
5B27413234B588   ALEJANDRO    LOPEZ RAMOS                  OK     90014231323
5B274239961971   ANTHONY      WRIGHT                       CA     46091822399
5B27433A141229   CHARLEE      WILLIAMS                     PA     90010893301
5B27448A433699   HAROLD       BRANDON JR                   NC     12048754804
5B2747A4672B43   VILOET       CODY                         CO     90014957046
5B274A9162B862   STEVEN       FRANK                        ID     90005060916
5B27545A75715B   ELENA        TROCHE                       VA     81095924507
5B275461772B46   JOSEPH       POTTER                       CO     90008794617
5B2754A7477522   JUAN         BARAJAS                      NV     43090984074
5B275A9277195B   ALYSHA       LORATO                       CO     32096160927
5B276213761971   MARIA        BANDERAS                     CA     90010912137
5B27625985B393   MICHELLE     ADAMS                        OR     44506792598
5B276268351348   LARREN       MARTIN                       OH     90014612683
5B276334933696   KATERINA     MARSHALL                     NC     90013923349
5B276512561975   JUSTIN       NICOLETTI                    CA     90013675125
5B276912755941   ABIGAIL      PENA                         CA     90001249127
5B276A33A84373   MARY         MCNEIL                       SC     90014630330
5B276AA784B28B   ZEELORIS     HAYNES                       NE     90014800078
5B2771A215B271   LATRICE      YORK                         KY     68008481021
5B27744365715B   DANIELA      RODRIGUEZ                    VA     90012474436
5B2774AA638598   MICHAEL      NEILSON                      UT     90013054006
5B27769885758B   SENAIDA      RANK                         NM     90012036988
5B2777A7457157   ELVIN        BROWN                        VA     90012917074
5B277872855941   JUDY         ERENO                        CA     90011728728
5B27859A18B169   WENDY        GROW                         UT     31007605901
5B279492471935   REYNALDO     VARGAS-TENA                  CO     32054384924
5B279547791895   JOY          BLOCK - WRIGHT               OK     90013095477
5B279691991895   JOY          WRIGHT                       OK     90012166919
5B279728598B2B   YANETH       MENJIVAR                     NC     11043297285
5B27978725B543   ALEJANDRO    SIERRA CHAVEZ                NM     35012627872
5B2797A8238598   GINA         CAMPBELL                     UT     90006027082
5B27983A672B49   MARISOL      VALLES                       CO     33045378306
5B279A5588B169   SHANE        STOREY                       UT     90013910558
5B27B31165B531   TONEY        MARTINEZ                     NM     90005383116
5B27B565772B67   ALMA         SAENZ                        CO     33079255657
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 246 of 2350


5B27B69325715B   DARWIN         RAMIRES                    VA     90007806932
5B27B715497B54   WENDI          JENSEN                     CO     39090537154
5B27B75355B236   LESLIE         EDWARDS                    KY     90006757535
5B27BA27133696   PRINCE         RUTLRDGE                   NC     12093610271
5B281167472B43   J SANTOS       ESQUIVEL                   CO     90011371674
5B281283372B67   MARIA          GARCIA                     CO     33017602833
5B281656372B27   ALVINO         WATKINS                    CO     90014106563
5B2817A6651348   TIFFINI        SMITH                      OH     66040477066
5B2817A6672B27   ALVINO         WATKINS                    CO     90014107066
5B2817A985B399   CHARLES        CAMPBELL                   OR     90014027098
5B28181615715B   CARLOS F.      RAMIREZ DIAZ               VA     81031158161
5B281A5215B531   MICHAEL        PINO                       NM     90013750521
5B28214375B531   GAMA           VASQUEZ                    NM     90008071437
5B28217218B164   XAVIER         L POLK                     UT     90008471721
5B28224195758B   JASON          CARTA                      NM     35587072419
5B282482185821   MARIA YASMIN   BAZAN                      CA     90013644821
5B282781472B27   JORGE          JIMENEZ                    CO     90011927814
5B282792576B75   LOIS           HARRY                      CA     90013327925
5B2831A8742363   PADASIA        MOON                       TN     90015531087
5B283348831551   MICHAEL        TIFFT                      NY     90015503488
5B283428772B36   CLAUDINE       BROWN                      CO     33084944287
5B28355174B588   JESSICA        ALVAREZ                    OK     90013925517
5B28382262B851   CHRISTINA      GOMEZ                      ID     90006268226
5B28394454B28B   MERCEDES       LAME                       NE     90012809445
5B284359A72B77   MARK           DAVY                       CO     90001713590
5B2843A5661971   EFREN          EFREN                      CA     46035873056
5B284459576B75   JENNIFER       WORTH                      CA     90014324595
5B284613733696   DANYELL        HUNTLEY                    NC     12000896137
5B284663672B49   ANDRES         RAMIREZ                    CO     90015026636
5B284692672B43   NICKOLAS       TERRY                      CO     33008436926
5B28469484B588   MELISSA        BRISTOW                    OK     21542636948
5B284A91691881   ESEQUIEL       FLORES                     OK     90011050916
5B285291322485   WALTER         APPLEWHITE                 IL     90015612913
5B285474861975   ANGELA         JOHNSON                    CA     90001964748
5B285629A5B162   MARY           WILLIS                     AR     90000196290
5B285753A72B77   GEOFFREY       RAHRS                      CO     90004877530
5B28575597195B   ANDREA         FLYNN                      CO     90013557559
5B286135157157   MARGARITA      GONZALEZ                   VA     81084651351
5B28631A35B236   ANTONIO        HARRIS                     KY     68002393103
5B28634725B283   MATTHEW        SISCO                      KY     90001923472
5B28655A25B162   DIANE          CANFORD                    AR     90010525502
5B2865A535136B   CHASTITY       DABNER                     OH     90012585053
5B28683964B588   ROSHAUN        BIVENS                     OK     21593658396
5B287661257157   SHERENNA       MAJORS                     VA     90004226612
5B28825895715B   NEFTALI        MARROQUIN                  VA     90014892589
5B288745257157   LINDA          SCRUGGS                    VA     81006237452
5B288877551334   EVELYN         BROWN                      OH     66005618775
5B288958391895   MANUEL         LOPEZ                      OK     21072939583
5B288A4762B862   DAVID          GUZMAN                     ID     41052400476
5B28953594B28B   JOSH           BELL                       NE     90013915359
5B289677331429   CHRIS          DIXON                      MO     90002766773
5B28981AA84357   TONY           FRIPP                      SC     90005358100
5B289842757591   ASTORGA        VERONICA                   NM     90003688427
5B289867533696   RACHEL         TEAGUE                     NC     12091968675
5B28B32662B862   MICA A         MISETICH                   ID     90006573266
5B28B58335B347   AMBER          HANCOCK                    OR     90009485833
5B28B8A925B387   THERESE        SCHMIDT                    OR     44537708092
5B28B946A5715B   WILFREDO       GUEVARA                    VA     81025669460
5B28B976397B77   CODY           CHRISMAS                   CO     90001899763
5B28B995955941   VICTORIA       SANCHEZ                    CA     90007029959
5B29119A15B162   SAUL           RODRIGUEZ                  AR     90014861901
5B29141A171935   MARINA         TORREZ GARCIA              CO     32093374101
5B291892471935   HENRY          COTHRAN                    CO     90008278924
5B291987657591   OSCAR          GALVAN                     NM     90010619876
5B291A12861971   ALICIA         IBARRA                     CA     90010410128
5B292123691895   MARISSA        WILLIAMS                   OK     21009271236
5B292717A61971   LESLIE         STARK                      CA     90004927170
5B292AA665B399   LAUREN         MCGEE                      OR     90014920066
5B293363857591   JOSE           ARMENDARIZ                 NM     90011043638
5B29351425B399   RICHARD        ANDERSON                   OR     90008855142
5B29362A55B531   SANTIAGO       PARRA                      NM     90015176205
5B293968951348   CAROL          JACKSON                    OH     90012009689
5B2939A455B531   JESSICA        JARAMILLO                  NM     90003849045
5B293A23A55951   NOE            CAMPOS                     CA     49080020230
5B294154597B54   JOSE           LEGARDA                    CO     90012231545
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 247 of 2350


5B294273A72B27   ANALEE        CAMPUZANO                   CO     33065212730
5B294A94372B49   GUADALUPE     TERRAZAS                    CO     90006720943
5B295146557591   PETER         GARCIA                      NM     90011751465
5B295385772B27   CHANDRA       MORENO                      CO     90011103857
5B295641784357   NICOLE        GOODRICH                    SC     90008956417
5B295646797B54   ALLAN         ADAMS                       CO     90008516467
5B295745771935   MARCUS        MARTINEZ                    CO     90013007457
5B295A33761971   CINDY         WILSON                      CA     46068660337
5B295A45A76B7B   VALERIE       LLOYD                       CA     90012530450
5B2963A2571935   NIGEL         KERR                        CO     32036183025
5B296445A33699   LATASHA       POTTER                      NC     90014924450
5B2964A345B531   JUANA         CEDILLODESILVA              NM     90013744034
5B296918A7242B   SARA          WATERS                      PA     51019639180
5B297572A61975   MARIO         CARREON                     CA     90014265720
5B297954657591   ANNETTE       FLORES                      NM     90001479546
5B297A95751348   JENNIFER      THOMPSON                    OH     90012680957
5B29848752B862   AMANDA        ENNS                        ID     41049884875
5B29885347B46B   LISA          WILLIAMS                    NC     90011628534
5B298861238598   BRANDEN       KENNEDY                     UT     90013058612
5B298A91522485   CONRAD        PITTER                      IL     90000740915
5B29938295758B   GUILLERMO     CORRALES                    NM     90006363829
5B29966745B393   GLORIA        BOSSY                       OR     90014126674
5B299851193747   DAVIS         PRADLLY                     OH     90009748511
5B29991415B236   KAYLA         MATTINGLY                   KY     90014869141
5B299996184373   MAEFRANCIS    PERRY                       SC     19003139961
5B299A32772B27   DONNY         HEISLER                     CO     33063750327
5B299A91172B36   JESSE         SOLORINE                    CO     90000120911
5B29B128485821   NESTOR        ALONSO                      CA     90001761284
5B29B46875B543   HUMBERTO      DAVALOS                     NM     35085514687
5B29B68927242B   ASHLEY        SEBEK                       PA     90005836892
5B2B118814B588   CECIL         HUNT                        OK     90012901881
5B2B15A7733699   JENNIFER      BLEDSOE                     NC     12013945077
5B2B2539485821   DAVID         FRUTOS                      CA     90003745394
5B2B2631731429   RHONDA        ALEXANDER                   MO     90003206317
5B2B274685B399   NELPHER       LEMUEL JR                   OR     90013967468
5B2B299828B189   HEATHER       MEMMOTT                     UT     90007979982
5B2B3187761971   TERESA        BYRD                        CA     90003951877
5B2B321A18B169   BINGHAM       JARED                       UT     90011402101
5B2B341A15B393   VENIAMIN      GREVTSOV                    OR     90009044101
5B2B3427A91356   ROBERT        DICKINSON                   KS     90010464270
5B2B357375B387   KRISTI        WEIKER                      OR     44518455737
5B2B3718233699   THOMAS        NORWOOD                     NC     12057107182
5B2B3727172B36   TODD          CRANDELL                    CO     33094947271
5B2B3772576B75   LINDA         ESTUDILLO                   CA     90009957725
5B2B3889157157   KANIRAN       MIRZA                       VA     90014548891
5B2B398494B588   JUMEKA        SANDERS                     OK     90014469849
5B2B4111197B54   WENDY         HALL                        CO     39073371111
5B2B4397572B37   ASHLEY        HODGE                       CO     90012463975
5B2B443665B393   CARLOL        DINATALE                    OR     90012574366
5B2B453674B588   KORTNEY       HAWTHORNE                   OK     90013395367
5B2B572344B588   DARLENE       ROCCO                       OK     90013757234
5B2B5795791895   JOE           CRUTCHER                    OK     21017057957
5B2B587477195B   ROBIN         KING                        CO     90013548747
5B2B599A297B77   GABRIELA      GONZALEZ                    CO     39024709902
5B2B5A1A372B49   SHAWN         LEE JEWELL                  CO     90000240103
5B2B6158897B77   ROLANDO       JIMENEZ                     CO     90002681588
5B2B626A531429   SCOTT         SKAGGS                      MO     27514582605
5B2B6346A5B531   ALBERT        BARRERAS                    NM     35096043460
5B2B63A135B543   KELLY         KERYTE                      NM     35007803013
5B2B6611141229   DEQUAN        CARMICHAEL                  PA     51064036111
5B2B678A45715B   ABBE          FOKE                        VA     90012587804
5B2B7175161975   BLANCA        LOPEZ                       CA     90013991751
5B2B7271861975   SOLIS         PAKTRICIO                   CA     90014422718
5B2B736295715B   JAVIER        PAREDES                     VA     90013793629
5B2B8188391895   DIEGO         WILLY                       OK     90015001883
5B2B8237885821   DUSTIN        BOYCE                       CA     46060102378
5B2B8249591356   JUDY          HERNANDEZ                   NM     29005522495
5B2B866165715B   STEWART       FEDERICK                    VA     90013986616
5B2B8A1473B394   PEDRO         BAENA                       CO     33012980147
5B2B9278197B77   ALICIA        PALOMARES                   CO     90013712781
5B2B928292B27B   SHARON        WILSON                      DC     81022072829
5B2B944244B588   MARQUISHA     BRIGGS                      OK     90015084424
5B2B9484276B75   CHRISTOPHER   WILLIAMS                    CA     90011464842
5B2B9549584357   DELNY         HAMILTON                    SC     90013765495
5B2B982795B264   PAUL          WIELAND                     KY     90001768279
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 248 of 2350


5B2B9871572B88   MIKE          GOMEZ                       CO     33045198715
5B2B9A1473B394   PEDRO         BAENA                       CO     33012980147
5B2BB112885821   LUIS          ANAYA                       CA     46041291128
5B2BB271672B31   ANGEL         HUDSON                      CO     90010472716
5B2BB424A72B49   MIRANDA       HEATON                      CO     33073104240
5B2BB481357591   OSCAR         NAVARETTE                   NM     90006754813
5B2BB527255941   RIGO          HERNANDEZ                   CA     90008105272
5B2BB648631428   COURTNEY      JONES                       MO     90002826486
5B2BB76375B531   BRUCE         TURNER JR                   NM     35074037637
5B2BB96148B169   SCOTT         DAVIS                       UT     90014849614
5B2BB99742B862   MICHAEL       SMITH                       ID     41053869974
5B31133847242B   DAWN          THOMAS                      PA     90003933384
5B311644972B49   ETIENNE       KAMANZI                     CO     90014876449
5B311763133696   DEDE          MUNTU                       NC     90014787631
5B311865A55941   JOSE          OLMEDA                      CA     90003798650
5B31214A35B393   JOSE          TORES                       OR     90012891403
5B312291661975   YOLANDA       PONCE                       CA     46074352916
5B31271735715B   ALZAR         HILE                        VA     90014127173
5B31275489712B   KHAMMOUANE    MALATHIP                    OR     90014377548
5B31331AA61975   ECTOR         VAUGH                       CA     90013853100
5B313366A85821   PHUOC         TRAN                        CA     90001953660
5B31343A45758B   MARISOL       LARA                        NM     90015404304
5B31347A797B54   PATRICE       MARQUI-HILKER               CO     39079684707
5B313763A55941   OLEVIA        ANAYA ARIAS                 CA     90013207630
5B313817461986   LILIA         BELTRAN                     CA     90009028174
5B314245A9712B   MARISSA       PARKER                      OR     90009622450
5B314462776B21   BRANDI        BAKER                       CA     90011004627
5B3145A585B162   GRANT         WARD                        AR     90005185058
5B31467155B531   DENICE        MOORE                       NM     90013926715
5B314974851348   JAYDE         REID                        OH     90012499748
5B31525375758B   DANNY         BAKER                       NM     90013982537
5B31538715715B   DIGNA         ARECELY                     VA     81060973871
5B315673672B36   RODOLFO       ESPINO                      CO     90001296736
5B315878433699   WILLIAM       JEANTY-ROWLAND              NC     90001298784
5B316141485821   JOSE          RAMIREZ                     CA     90011051414
5B316242572B27   AIOTEST1      DONOTTOUCH                  CO     90015122425
5B31641415B283   KYRALE        WILSON                      KY     68009014141
5B31641A55B531   CHARLENE      TORRES                      NM     90004874105
5B316A25855941   PAYGO         IVR ACTIVATION              CA     90013820258
5B31719A385821   DONALD        DUPONT                      CA     90012541903
5B3172A2A91356   CHRISTINA     COOPER                      KS     90013882020
5B31829187242B   TONYA         MANTSCH                     PA     90002222918
5B31842675B531   FREDERICK     MCDANIEL                    NM     90008834267
5B318449A33699   VIRGINIA      GOMEZ                       NC     12096304490
5B31892A45715B   MILAGRO       MIJANGO                     VA     90013449204
5B318A3617195B   COLLETTE      PRYOR-NORTON                CO     90013560361
5B318A81261975   LUIS          SANZ                        CA     46011870812
5B319112672B88   HERSCHEL      ARRINGTON                   CO     90010421126
5B319183397B54   JUAN          CASTILLO                    CO     39003231833
5B319346438598   JACK          KOCH                        UT     90013063464
5B319457133696   BEVERLY       FISHER                      NC     90014674571
5B31959615B531   ALCON         HOPE                        NM     35000555961
5B319959891895   JEREMY        JENNEY                      OK     90012089598
5B319A49172B49   LILY          TRUONG                      CO     90013960491
5B31B237838598   BEN           MONTOUR                     UT     90013062378
5B31B29A95B399   NATASHA       NAKAGAWA                    OR     90002502909
5B31BA41384357   CHRISTOPHER   STOUT                       SC     90013510413
5B31BA5897242B   LARRY         WAGNER                      PA     51081570589
5B32132955758B   TANIA         CHAVEZ                      NM     90012053295
5B32134315B531   FIDENCIO      MENDEZ                      NM     35072493431
5B32164728B169   RONALD        VINE                        UT     31045076472
5B321695A61971   KEVIN         JEANTY                      CA     90014976950
5B321A29133699   JUVONNE       JOHNSON                     NC     12025180291
5B32212A676B75   ALICA         ESTRADA                     CA     90014501206
5B32218632B241   ROSLYN        SHIELDS                     DC     90005561863
5B32232143B352   DALE          FLANDERS                    CO     90010883214
5B322469133699   TAMBRA        PARSON                      NC     90002634691
5B322A48772B36   CECILIA       MUNOZ                       CO     90007770487
5B32323467B46B   JUAN          CRUZ                        NC     90007022346
5B32327568B169   NATHAN        RABALAIS                    UT     90004732756
5B32329144B588   CARLA         EDWARDS                     OK     90007662914
5B323336151334   TAMISHA       JONES                       OH     90012523361
5B323456791895   JOYCE         WILLIAMS                    OK     21089574567
5B32373A72B241   NIA           KEITA                       DC     90004187307
5B323815133696   TOMMIE        MOORE                       NC     90010098151
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 249 of 2350


5B323899957157   PEDRO             MARCUS                  VA     90007868999
5B323988672B77   RICARDO           SANCHEZ                 CO     90006949886
5B324283733699   TAMIKA            MCMOORE                 NC     90011192837
5B324388557B23   ERIN              EGAN                    PA     90013973885
5B324426897B54   MARIA             ZAVALA                  CO     39049714268
5B32442AA6198B   FRANCISCO         GASTELUM                CA     90011594200
5B32445285B393   CAREY             GOSS                    OR     90015124528
5B324458533696   MARIA             AGUILAR                 NC     90006974585
5B325831661971   MARC              BOYKINS                 CA     90003708316
5B325A9495B531   DESIRAE           LUSSOW                  NM     90012390949
5B326242157591   CYNTHIA           CHAVEZ                  NM     90014942421
5B32644879712B   SHURLY            MCOY                    OR     90011154487
5B326578733699   JOHN              MOORE                   NC     90013195787
5B3265A6885821   LINDA             SIMPSON                 CA     90013815068
5B326763A61971   JAVIER            VASQUEZ                 CA     90013927630
5B3267A935B162   DENISE            SANCHEX                 AR     90001497093
5B326A22484357   ALEXANDER         BROWN                   SC     90008430224
5B326A87676B75   MICHEAL           HARDESTY                CA     90014360876
5B327265951348   JUAN              HERNANDEZ               OH     90012342659
5B32753348B189   MINDY             HILL                    UT     31085235334
5B32758275B162   TAYLOR            HICKS                   AR     90014615827
5B327769385821   FERNANDO          GARCIA                  CA     90000857693
5B32846A341242   KATHLEEN          STARK                   PA     90010774603
5B32855174B588   JESSICA           ALVAREZ                 OK     90013925517
5B328725872B49   JUAN              SANTOYO                 CO     90015317258
5B329294933699   GUADALUPE         LOPEZ                   NC     90011192949
5B32939765715B   JUAN              MARTIR                  VA     90014003976
5B329444297B77   HOLLIE            BOPP                    CO     39027584442
5B3297A119712B   CHRISTOPHER       RUNYAN                  OR     90010407011
5B329956884357   NATHANIEL         GARNER                  GA     90014329568
5B329A5865B236   MAILY             DARITHZA                KY     90013740586
5B32B519A33696   RADOVAN           BANOVIC                 NC     90015185190
5B32B524176B8B   FRESVINDO         G RODRIGUEZ             CA     90005365241
5B32B66935B393   SCOTT             GRAF                    OR     90012586693
5B32B79547B891   GERMAN            OROZCO                  IL     90010697954
5B32B986272B36   GREG              AVISON                  CO     33095619862
5B33114219712B   RUBEN             REYES OLIVEROS          OR     90015151421
5B33122865758B   DAVID             URENA                   NM     90013052286
5B331312784373   RACHEL            WILLIS                  SC     90008083127
5B331744572B36   ADRIAN            YANKANA                 CO     33017517445
5B33175225715B   SALOMON           GARCIA                  VA     90009547522
5B331931655941   FIDEL             PEREZ                   CA     90010979316
5B331936351348   TAMMY             GARRIGUS                OH     90013999363
5B331A43755937   WILLIAM           CLARK                   CA     49068440437
5B33222539712B   REYES             BARRAGAN                OR     90013612253
5B33259752B27B   CINDY             CAMBELL                 VA     90007525975
5B332986751353   MELANIE           JONES                   OH     90012529867
5B333125784373   FREDRICK          HUNTER                  SC     90014651257
5B333268884373   NATHAN            MACDONALD               SC     90010732688
5B33327A35B531   MALACHI           COLEMAN                 NM     90005832703
5B333357A26222   TIM               MCFADYEN                WI     90011743570
5B333786884357   SHANNON           MONTGOMERY              SC     14510797868
5B333814476B75   AARON             DAVID                   CA     90014848144
5B333A79733696   COYAN             HARGROVE                NC     90014990797
5B334457855941   MONIQUE           NICHOLS                 CA     90001454578
5B33459645715B   SIDIQUA           ROUHOLLAH               VA     90000245964
5B334946A71935   TANYA             ROBERTS                 CO     32029439460
5B335449472B88   BILLIE            LORENZINI               CO     90003254494
5B33553195B162   ISRAEL            MORENO                  AR     90012415319
5B33583465715B   ALFREDO           VARGAS                  VA     81031188346
5B33643793B343   SALVADOR          VIDALES                 CO     90012084379
5B336553384357   ERIC              JENKINS                 SC     90011615533
5B336569755941   MARTHA            GARCIA                  CA     90011405697
5B336A3A891895   CALVIN            BOWEN                   OK     21042710308
5B33721349712B   CHRYSTEL          ROTHAUG                 OR     90011202134
5B337356876B75   DAVID BARRAMEDA   VILLAMIL                CA     90013963568
5B337442597B77   ROBERT            WHITE                   CO     90001824425
5B3374AA572B27   RACHEAL           VIGIL                   CO     33085494005
5B3378A7998B2B   ALAN              ABLE                    NC     11045908079
5B337949251348   STEPHAN           HAHN                    OH     90002269492
5B33843435B162   SHALYAL           TORRES                  AR     90015564343
5B33848628B169   CINDY             BLAIR                   UT     31045884862
5B3384A4A33699   SAMUEL            GORDON                  NC     90012864040
5B33872537242B   GREG              MORRISON                PA     51002677253
5B338847672B36   JOHN              PEREZ JR                CO     90013628476
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 250 of 2350


5B338A67272B49   GERARDO      CHAVARRIA                    CO     90009440672
5B339446972B43   FIDEL        JIMENEZ                      CO     90012134469
5B33961A65715B   MALTE        NIKCEVICH                    VA     81086586106
5B3398A7884373   LINDSEY      RUSSELL                      SC     19004278078
5B33B436251348   ASHLEY       BRINKER                      OH     90013904362
5B33B49795758B   JUDY         SALAMON                      NM     35565284979
5B33B5A439712B   WILLIAM      WILLIS                       OR     44535335043
5B33B653884357   GEORGE       LOVE                         SC     90015106538
5B341235A72B43   ZOHAR V      HINOJOS MUNOZ                CO     90006282350
5B341345372B27   HENRY        KIMBELL                      CO     33073593453
5B341644591356   JONATHON     JOHNSTON                     KS     90014116445
5B341816885821   HUGO         CASTILLO                     CA     90014858168
5B34244617195B   ARNOLDO      HERNANDEZ                    CO     32076784461
5B3425A8957591   ANGIE        FELIX                        NM     90002815089
5B342664785821   ROSENDO      LUCERO                       CA     46080566647
5B34299157242B   LAURIE       PRIMUS                       PA     51067709915
5B3429A3776B75   VERONICA     SIBRIADO                     CA     46006409037
5B34321835758B   ADRIANA      CORDERO                      NM     90013152183
5B343236597B35   NOHEMI       ARREDONDO                    CO     90014382365
5B343975185821   SELMA        CASTILLO                     CA     90014079751
5B343991285821   JUAN         HERNANDEZ                    CA     90010649912
5B34448965B236   ALLEN        BETTS                        KY     90012444896
5B344496376B75   VANESSA      CHRISTENSEN                  CA     46019834963
5B3451A2533699   ISMAEL       GARY                         NC     90014711025
5B345298638598   AUSTIN       JOHNSON                      UT     31006002986
5B34532487242B   DAVID        STAIGVIL                     PA     90014613248
5B345352291895   MARY         BURGOON                      OK     90011983522
5B345853784373   SHAMBELE     LOAFF                        SC     90008428537
5B345A41961975   YESSENIA     CHAVES                       CA     90010960419
5B346125172B77   APRIL        MARQUEZ                      CO     90010121251
5B346352163634   AMANDA       GRABER                       MO     90013693521
5B34642A241229   CHELSEY      KERSHNER                     PA     51076134202
5B346558A97B54   ROSA         MAURICIO                     CO     90010865580
5B346588542335   DUSTIN       HOLLAND                      TN     90015505885
5B346697A4B588   THOMAS       WATSON                       OK     90004116970
5B346776661975   GEOVANI      ARAMBULA                     CA     90000267766
5B347158691356   CHRIS        ROBERTSON                    KS     90010151586
5B347751A5B236   ALISHA       WASHINGTON                   KY     90011227510
5B348536755941   BLANCA       OZUNA                        CA     48021075367
5B349338791922   SHIRLYN      WALTERS                      NC     90010983387
5B349835833699   JIMON        CRAWFORD                     NC     90013518358
5B349954561975   SERGIO       HERNANDEZ                    CA     90012469545
5B34B259757157   JULIO        SEDANO                       VA     90014962597
5B34B31792B27B   KYRAH        WILSON                       DC     90014663179
5B34B327472B67   OLGA         LOPEZ                        CO     90012953274
5B34B3A4A8B169   TAMMY        HANDLY                       UT     90011653040
5B34B599572B43   GERARDO      PEREZ                        CO     33023895995
5B34B828771935   MATTHEW      SALAZAR                      CO     90011718287
5B34B88A35B236   BONNIE       ROSE                         KY     68038008803
5B351141672B27   KLAUD        BANKS                        CO     33017921416
5B351271597B77   AMMIE        HERMAN                       CO     90011182715
5B35135915B393   IMELDA       MOJICA                       OR     44507743591
5B352149633699   DIANA        BLUE                         NC     12059641496
5B352347161971   JASON        PUCKETT                      CA     46053673471
5B35241275B162   MY           LE                           AR     90014404127
5B35266A59712B   JESSICA      HAUSER                       OR     90013396605
5B352725133696   PAMELA       CAUTHEN                      NC     90013077251
5B35336294B28B   DAVID        ELLER                        NE     26027963629
5B353423A2B27B   JOHN         BRAGG                        DC     90010354230
5B353487172B43   ALFONSO      FRIASPINON                   CO     33035924871
5B35368319712B   DAWN         LILLIS                       OR     90000786831
5B353764176B75   ALAN         MORTENSON                    CA     90010217641
5B354415657591   PAOLA        MARTINEZ                     NM     90013964156
5B3544A1157123   ANNMARIE     KANU                         VA     81023684011
5B354634891356   SHANNON      SHERRILL                     KS     29075996348
5B35478375B531   DAVID        LEYBA                        NM     35073677837
5B354989757157   CINDI        CORDOVA                      VA     90008649897
5B3551A9797B77   JESSICA      BENEDIX                      CO     90000411097
5B355213261975   RAMIRO       MORENO                       CA     90010812132
5B355436251348   ASHLEY       BRINKER                      OH     90013904362
5B355529384373   KEGAN        SMITH                        SC     90002845293
5B35553915B393   BEE          XIONG                        OR     90009925391
5B3557A285B162   GABRIEL      LUNA                         AR     23074137028
5B35586A384357   SARA         COURTNEY                     SC     90006198603
5B35631645B399   DIANA        TODD                         OR     90014753164
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 251 of 2350


5B356574838598   ZACHERY      FREDERICK                    UT     90013075748
5B35658284B28B   MERIDEL      FUNK                         NE     90012355828
5B356643833699   DENCZYL      ROLLE                        NC     12052416438
5B356945251348   VICTORIA     GNITKE                       OH     90001829452
5B35696A857157   ROBERT       WELCH                        VA     81017519608
5B35699985B543   MARY         MONTANO                      NM     35040919998
5B356A63A5715B   LEEANN       KLUKE                        VA     90012900630
5B357216871964   ISIAH        DIXSON                       CO     32072132168
5B35748A972B88   ABDELLAH     ELKEBIR                      CO     33027264809
5B357591538598   JAMIE        ALLEN                        UT     90013075915
5B3576A495B162   TIM          MITCHELL                     AR     90015116049
5B357896251348   TAMMEKA      MOSLEY                       OH     90013718962
5B35839774B588   THOMAS       JAMES                        OK     21552323977
5B358441391356   DELINDA      ANDERSON                     KS     90000194413
5B358518176B75   BELI         LOPEZ                        CA     90009185181
5B358589A8B169   ANDRES       GARCIA                       UT     90011545890
5B358716131428   RANDALL      BARNES                       MO     27506837161
5B35898A39712B   ISAIA        RODRIGEZ                     OR     90015169803
5B358A9A92B862   SHARI        ROSE                         ID     41009220909
5B359225A5B236   LINDSEY      BEAUMONT                     KY     90014082250
5B35926914B588   BEATRIZ      GONZALEZ                     OK     90014412691
5B35936948B169   LYNN         MITCHELL                     UT     90002553694
5B359591538598   JAMIE        ALLEN                        UT     90013075915
5B3596A2384357   ANTHONY      MAYS                         SC     90014006023
5B35B18774B588   JENNIFER     BALLARD                      OK     90012671877
5B35B46A75B236   DONALD       LANE                         KY     90014484607
5B35B815A5B531   AMANDA       DIAS                         NM     90014198150
5B35B996961971   MARISIA      KRETOWICZ                    CA     90007509969
5B35BA1A15B387   MYRSA        DIAZ                         OR     44510840101
5B361352285821   MARCO        MORA                         CA     46044773522
5B36154719712B   HEIDI        BARRETT                      OR     90013845471
5B36156413B394   SHAY         FARRELL                      CO     90006845641
5B361873561975   SULLY        ESPARZA                      CA     90005378735
5B36224155B236   TARA         WEAVER                       KY     90013932415
5B362357197B77   MARK         SHAFER                       CO     90003693571
5B36239224B28B   NICOLE       LAIRMORE                     NE     90010473922
5B362429933696   BRENDA       HEDRICK                      NC     12007954299
5B362437472B27   DAVID        BEAL                         CO     33063664374
5B3625AAA51348   RODNEY       MILLER                       OH     66000505000
5B36285844B588   CIN          THANG                        OK     90015188584
5B36293577195B   PORFIRIO     GONZALEZ                     CO     32021699357
5B363285491356   CHARDONNEY   AKINS                        KS     90013812854
5B36336425715B   RONNY        LOPEZ                        VA     90009643642
5B36342695B399   MICHAEL      SHAW                         OR     90011644269
5B363611338598   TINA         THOMAS                       UT     90012916113
5B364255972B67   PEDRO        RAMIREZ                      CO     33011112559
5B36426794B28B   ALUAT        ATEM                         NE     90014822679
5B364278251348   PAUL         STEEL                        OH     66010012782
5B36428A14B28B   JOE          SIMS                         NE     26075162801
5B36438785B561   ISIS         AMAYA                        NM     90009053878
5B364576433699   NEFERTARI    JERNESE SHEPARD              NC     90001755764
5B36492125B531   ANGEL        GARCIA                       NM     90007019212
5B364A2168B169   JOHN         RICE                         UT     31042100216
5B365279391356   DAVE         BENTON                       KS     29053302793
5B365331733696   AMY          GALINDO                      NC     12045823317
5B36566165715B   STEWART      FEDERICK                     VA     90013986616
5B3657A1551348   ALYSSA       WEISE                        OH     90010877015
5B366423533696   DELORIS      WILLIAMS                     NC     12042574235
5B366456371935   MONICA       SAUCIER                      CO     90013404563
5B366498291356   MARSHA       CARPENTER                    KS     90014144982
5B36654218B169   OUNEHEUANE   MILVONG                      UT     31067265421
5B366753697128   THERESA      RUCKER                       OR     90009277536
5B366A7A65715B   ROBERT       MOLLEN                       VA     90012850706
5B367326384357   JULIA        DELOACH                      SC     90014173263
5B367511161975   JOSE         RODRIGUEZ                    CA     46005795111
5B36855AA2B862   ANNABELLE    JONES                        ID     41067315500
5B36892764B588   MICHAEL      CORBIN                       OK     90008579276
5B36897795715B   MELISSA      TALBERT                      VA     90013479779
5B368A73941229   RONALD       GAVINS                       PA     51066210739
5B36924355715B   CHRISTIAN    CORTEZ                       VA     90013832435
5B36B159672B49   ENRIQUE      SANCHEZ                      CO     90014741596
5B36B67325B399   ROBERT       HARDY                        OR     90014016732
5B36B7A1A33699   ALMA         LYLES                        NC     90003047010
5B36B8A3271935   CHRISTI      JAMISON                      CO     32067308032
5B36BA73672B49   MARCO        FRANUA                       CO     90014780736
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 252 of 2350


5B371215A4B28B   STEPHANIE        VASQUEZ                  NE     90014442150
5B37142785B399   AMY              HUNT                     OR     90011644278
5B37144895715B   NEGASH           SENBETA                  VA     81008974489
5B371488651348   PAUL             SITTEL                   OH     90009544886
5B371622872B49   TRAVIS           DILLON                   CO     90012176228
5B3716A9A72B36   MARTHA           VASQUEZ                  CO     90012276090
5B371775555941   ANITA            BANUELOS-CUEVAS          CA     90012997755
5B37192627B359   JAQUELIN         SANTOS                   VA     90001619262
5B371A19233696   NICOLE           CASTERLOW                NC     12055070192
5B372157757591   FAVELA           ABIGIAL                  NM     90006371577
5B372481333696   JILL             AARON                    NC     90013764813
5B372499A9712B   CRISTIAN         PATRICIO AVILA           OR     44540924990
5B37251922B862   CHRISTINA        AMBER                    ID     90015115192
5B37255A571935   KAREN            MENDOZA                  CO     90010615505
5B3725A7461975   RICARDO          ARREDONDO                CA     90012205074
5B3727A575B531   DARLENE          ARMIJO                   NM     35004397057
5B37294267B46B   SAN              OUK                      NC     11045969426
5B372A6A27242B   AMANDA           CAUDILL                  PA     90012760602
5B373743233699   CELIA            BROWN                    NC     90013837432
5B373777484357   SHAUVONE         WELLS                    SC     90014397774
5B373867A57157   MICHAEL          LAWLESS                  VA     90011548670
5B37425A684373   JAMILAH          MUHAMMAD                 SC     90014642506
5B37465374B28B   DANIELLE         HERGENRADER              NE     90013656537
5B37477255B236   THERESA          PATRICK                  KY     90013277725
5B37486682B862   AMBER            FISHER                   ID     90014918668
5B37523995715B   FELIPE           ABRAHAM                  VA     90015302399
5B375241A72B49   JOSEFINA         TORRES                   CO     33043672410
5B37565612B27B   MICHELLE         CRAWFORD                 DC     81010306561
5B375754471935   LAURA            BEARD                    CO     32045997544
5B375792397B54   SANDRA           ABREO                    CO     90009077923
5B37623527B46B   MONTRAQ          HOUSTTON                 NC     90011312352
5B376398957157   DAVID            OBIRI                    VA     81031253989
5B37644477242B   JOCELIN          TOM                      PA     51093194447
5B376478172B77   PAVEL            HOMOLA                   CO     90008114781
5B376568591895   SEI              LAL                      OK     90014915685
5B376621A4B23B   SHANNON          HARPER                   NE     90003066210
5B37664565B543   BRENDA           CHAVIRA                  NM     35047166456
5B376794997B54   LARRY            GUTIERREZ                CO     39072707949
5B376926655941   MARIA            PARA                     CA     90001619266
5B377346541229   ATHALIAH         ISRAEL                   PA     90002493465
5B37754867195B   EDWARD           MARTINEZ                 CO     90010555486
5B377714231429   JAVIER           VAZQUEZ                  MO     27529877142
5B377831184357   JOSE             JIMENEZ                  SC     14570848311
5B377984272B49   JASMINE          HARRIS                   CO     90012709842
5B377AA3672B36   GARRETT          MITCHELL                 CO     33096610036
5B378333772B49   LUNDEBY          ASHLEY                   CO     33085423337
5B37836397242B   JUSTIN           HAYDEN                   PA     90013413639
5B378885172B43   RUBEN            VINCENT DIAZ             CO     33069208851
5B379151555941   FRANCES          MANCILLAS                CA     90011791515
5B379154A57591   PATRICIA         ESTRADA                  NM     35587741540
5B379311857157   WILFREDO DERAS   SONIA DERAS              VA     90014863118
5B37943949712B   ESTEBAN          ROMERO                   OR     44568894394
5B3794A647242B   MEGAN            LLOYD                    PA     90012524064
5B37987215B531   RAYMOND          MADRID                   NM     35075798721
5B37B31112B27B   CRAIG            EDMONDSON                DC     90000393111
5B37B53325715B   SUK              RO                       VA     90010305332
5B37B868691895   CHARLES          MINNEY                   OK     21075408686
5B37B976376B75   ALONDRA          HERRERA                  CA     90012829763
5B381522991895   MARTIN           GRANADOS                 OK     90013935229
5B381992671935   CASSANDRA        ROUT                     CO     32054389926
5B3821A589712B   ANDREW           SALINAS GUERRA           OR     90011311058
5B38232485B393   MONIKA           PESCHEL                  OR     44511283248
5B382336A5B399   STICKS           JONES                    OR     44552913360
5B382342655941   ANNETTE          BRUCE                    CA     90014243426
5B382617371935   JUWAN            MACK                     CO     90011986173
5B38292AA57157   WADE             FARRAR                   VA     81097169200
5B382A3195B543   MARQUESSA        HAWKINS                  NM     35019970319
5B382A46684373   REMOINA          JONES                    SC     19019870466
5B38334865B162   JEFFERY          HALL                     AR     90012303486
5B38346845B399   MATT             ARNOLD                   OR     90008084684
5B38376718B169   JULIE            MARTIN                   UT     31024987671
5B38397A94B588   JONATHAN         MANCHA                   OK     90010849709
5B384114455941   GLORIA           GUERRERO                 CA     48015551144
5B384197191356   MICHAEL          CHMIDLING                KS     29062571971
5B384295761975   YESENIA          TAPIA                    CA     46084252957
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 253 of 2350


5B38435465B543   MAURICIO     MINJARES                     NM     35043703546
5B384475872B49   CHRISTIAN    DE LA ROSA                   CO     90002314758
5B384782651586   FIDEL        SUAREZ                       IA     90014207826
5B38488597195B   RUBEN        MENDOZA                      CO     90013568859
5B3851A4A7B46B   HNAM         SIU                          NC     11089341040
5B385556671935   ZACHARY      KING                         CO     90013295566
5B386217176B75   PAMELA       MOLTHEN                      CA     90013792171
5B386498372B36   LAURA        SOLANO                       CO     90010794983
5B386756751348   MICHAEL      EVANS                        OH     90010797567
5B38693955758B   ALVARO       HERNANDEZ                    NM     90012979395
5B3869A7561971   HECTOR       CEJA                         CA     46028139075
5B386A1995B543   ELIZABETH    SNYDER                       NM     90005890199
5B387345938598   BRYAN        CONDER                       UT     90001623459
5B387627391895   DOLORES      STORY                        OK     90008746273
5B387669461971   MARK         WILSON                       CA     90006456694
5B38787894B588   RICKEY       SMITH                        OK     90015008789
5B387A26991356   ANTHONY      NORTHERN                     KS     90013700269
5B388239431429   BRENDA       YOUNG                        MO     90008872394
5B388481761971   HELEN        DAKHA                        CA     90011274817
5B388A9259712B   PAMELA       FABIANI                      OR     90015190925
5B38923865715B   ANTONY       LOPEZ                        VA     90010672386
5B389241572B27   HEATHER      OSTERMAN                     CO     33089072415
5B389416584373   ERICKA       FREEMAN                      SC     90014644165
5B389596251348   SABINO       MARTINEZ                     OH     90014025962
5B389641A7B46B   MAI          LEE                          NC     90012886410
5B38968568B169   RUSSELL      BROWN                        UT     31083786856
5B389797172B88   CLARENCE     BROWN                        CO     33065387971
5B389A96A7242B   PATRICIA     FLETCHER                     PA     90011620960
5B38B2AA54B588   PERLA        VERONICA                     OK     90014422005
5B38B59582B862   JENNIFER     RENTERIA                     ID     90014465958
5B38B633A97B54   AGUSTIN      GONZALEZ                     CO     39033076330
5B39151A533699   CALPERTA     BAKER                        NC     90012545105
5B39154675715B   JOHANA       CASTRO                       VA     90010915467
5B391AA8761971   MARTY        ISENMANN                     CA     46001940087
5B39235114B588   TOBY         MAGERUS                      OK     21574083511
5B392351851348   NORMA        BOYD                         OH     90013783518
5B392526872B36   JORGE        VAZQUEZ                      CO     33073335268
5B392A99776B75   RUFINA       TAYLOR                       CA     90013880997
5B39313A557157   LAWRENCE     SMITH                        VA     90013201305
5B393284751348   MARGUERIET   ELLICK                       OH     90006962847
5B39335627B48B   KIM          BARNES                       NC     11053393562
5B3934A722B241   FEREHIOT     MULAT                        DC     90000194072
5B393569397B77   BRITTANY     SELBURG                      CO     90006315693
5B394462997B54   RANDALL      WESTPHAL                     CO     39072424629
5B3944A6572B36   JAYDEEN      TOLMICH                      CO     90014754065
5B394758941229   GLADYS       ROWSER                       PA     90010727589
5B39489155758B   JOSHUA       PANDO                        NM     90012778915
5B39514969712B   DALIA        DOODNATH                     OR     90009831496
5B39523277242B   ALEXANDER    NECHEFF                      PA     51069032327
5B395342871935   TERESA       GUTIERREZ-CHAVEZ             CO     90011723428
5B3954A335B162   KIARA        STEWARD                      AR     90013944033
5B395596684357   QUINCY       SANDERS                      SC     90012755966
5B395618A55951   YAZMIN       HOLGUIN                      CA     90005826180
5B3957A2A5715B   PEPPIE       DAVIS                        VA     90013467020
5B395851A76B75   SOTERO       MICHEL                       CA     90012848510
5B395882661971   CHRIS        AGUILAR                      CA     46010398826
5B396283371935   ANNIE        ARCHIE                       CO     90014802833
5B3964A2A5715B   MATIAS       GARCIA GONZALEZ              VA     90013334020
5B39687299712B   PABLO        ACATITLAN                    OR     90012518729
5B396A17657B81   KELLY        DAVAILUS                     PA     90014690176
5B39711639712B   IKE JEREMY   KAIPAT                       OR     90015191163
5B397256157591   MARIA        GARCIA                       NM     90014652561
5B397678555941   DOLORES      LOPEZ                        CA     48069876785
5B397747751334   BRANDON      SLAVEN                       OH     90004667477
5B398131772B88   ENRIQUE      RODRIGUEZ                    CO     33071231317
5B3981AA43367B   LARA         VASWANI                      NC     90001261004
5B39834755758B   BERNADINE    ESTRADA                      NM     90014343475
5B39854925B162   NAKIA        CHEATUM                      AR     90010955492
5B39898A77195B   JESSENIA     ROACHO                       CO     90013569807
5B39918244B28B   TAMI         SINTEK                       NE     90014501824
5B399454255941   IMELDA       LOPEZ                        CA     90014474542
5B399A46571935   JANETTE      MARTINEZ                     CO     90012890465
5B39B29A25758B   JESUS        CERNA                        NM     90012512902
5B39B3A3797B54   COREY        WILSEY                       CO     39074703037
5B39B728772B43   ASHLEY       MCANALLEN                    CO     33009937287
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 254 of 2350


5B39B99A34B28B   DONITA       UHART                        NE     90013919903
5B3B1152472B46   VERONICA     EVANS                        CO     90007181524
5B3B15A8A91895   PRECIOUS     JOHNSON                      OK     90013935080
5B3B192327195B   MICHAEL      THOMPSON                     CO     90013559232
5B3B194942B27B   ARICA        WEST                         DC     81051919494
5B3B2436561975   JASON        WRIGHT                       CA     46056294365
5B3B297A49712B   LEANA        JIMENEZ - FFR - 11531        OR     90007829704
5B3B3251384373   BERNADETTE   JOHNSON                      SC     90014632513
5B3B33A952B27B   NIYSHAY      SWYGERT                      VA     90014883095
5B3B3543172B27   FAYE         GARCIA                       CO     90009435431
5B3B35A918433B   LORENZO      ORTEGA                       SC     90009945091
5B3B3659133696   TOINETTE     STOUT                        NC     12098736591
5B3B3874A42335   JOHN         PENDERGRASS                  TN     90015348740
5B3B3951161933   DEANNA       MCGOUGH                      CA     46015309511
5B3B3A43461971   SALLY        PHOENIX                      CA     90013960434
5B3B3A79A76B75   CATALINO     HERNANDEZ                    CA     90004690790
5B3B428335758B   MARIA        MEZA                         NM     35563052833
5B3B491127242B   SAMANTHA     DULL                         PA     90011289112
5B3B4995733699   MICHELLE     SELLERS                      NC     12062519957
5B3B49A678B169   DUANE        SIMMONS                      UT     90013289067
5B3B5195271935   GREGORY      WALTERS                      CO     90008741952
5B3B522A261975   MARJAHIM     ANDAR                        CA     90009652202
5B3B5438A72B67   RANDALL      LEE                          CO     33062134380
5B3B55A2991356   SHEIRRA      SIMMS                        KS     90014395029
5B3B6285491356   CHARDONNEY   AKINS                        KS     90013812854
5B3B6311976B75   MICHELLE     HOLGUIN                      CA     46007303119
5B3B6445A85821   JULIA        ZHOU                         CA     90012144450
5B3B66A8272B43   VICTOR       TAPIA                        CO     33042736082
5B3B6718797B54   ROSA         LUGO                         CO     90003107187
5B3B682A872B27   DUANE        MOORE                        CO     33013038208
5B3B692925715B   CIRA         JAIMES                       VA     90005679292
5B3B6A5544B28B   KIM          WEYGINT                      NE     90014800554
5B3B7313157591   RICARDO      SALAZAR                      NM     90010323131
5B3B7825A2B862   WAYNE        BERGER                       ID     90015318250
5B3B783215B393   KATHERYN     CURRIER                      OR     90013898321
5B3B783975B162   LUIS         CARRENO                      AR     90014448397
5B3B8125591356   ALEX         GARCIA                       KS     90015301255
5B3B822A857591   RAMON        JACKSON                      NM     90014162208
5B3B84A3272B88   GLORIA       GARCIA                       CO     33069684032
5B3B8525633696   RUBEN        HERRERA                      NC     90013505256
5B3B8867272B49   BRENDA       MASTERS                      CO     90008538672
5B3B894A876B75   RAFAEL       ESCOBAR                      CA     90012589408
5B3B9211438598   JESUS        CISNEROS                     UT     90013062114
5B3B9387484373   DESTINY      SINGLTON                     SC     90010343874
5B3B9459272B36   TRACY        YOUNG                        CO     90014414592
5B3B9568491895   JALEN        JACKSON                      OK     90010925684
5B3B969A261971   EMMA         BON                          CA     90008696902
5B3B96A647B661   IVA          JOHNSON                      GA     90011536064
5B3B981735B531   JENNIFER     NANEZ                        NM     90010798173
5B3B9893A7242B   JOHN         WILLIAM                      PA     90013688930
5B3B98A3324B6B   DASHAWN      GEORGE                       VA     90002428033
5B3B9A99A72B43   SAUL         VALENZUELA                   CO     90003450990
5B3BB18A571935   ADRIAN       BUNYON                       CO     90013361805
5B3BB4AA384357   AUTUMN       AKERS                        SC     90011214003
5B3BB71275B162   BARBARA      MCANNON                      AR     90014457127
5B3BB85617195B   JOSEPH       DUKES                        CO     90013558561
5B3BB87495758B   STEVEN       SETTLES                      NM     90007578749
5B3BB91682B862   DENEA        HEIMAN                       ID     41084499168
5B3BB954785821   TRICIA       ELDRIDGE                     CA     90015219547
5B3BBA46857157   CINDY        FRANCO                       VA     90012400468
5B41169965B531   DEDRA        GREEN                        NM     90014156996
5B41193A255941   GLORIA       ACEVEDO                      CA     90010109302
5B411955738598   CODY         ELLIOTT                      UT     90010209557
5B412317A72B49   WILLIAM      PRICE                        CO     90012643170
5B412459855941   MARIA        LEDESMA                      CA     48013484598
5B41254A79712B   MICHAEL      MOFFITT                      OR     90000385407
5B41286355B393   KAREN        HARDAWAY                     OR     44575698635
5B412874954B45   ROSALY       RIVAS                        VA     90015158749
5B41314A372B43   AMBER        PRESSON                      CO     90014461403
5B41362975B236   IVAN         BENNETT                      KY     90012256297
5B413691891356   RUDY         PADILLA                      KS     29026356918
5B4137A588B169   JARRAD       CABLE                        UT     31018007058
5B413845791895   SCOTT        SHARPE                       OK     90012408457
5B413A86384357   TREVOR       PERRY                        SC     90014710863
5B414276172B36   ZOE          PETERSON                     CO     90013112761
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 255 of 2350


5B414347184373   ANDREW         BROOKS                     SC     90014653471
5B415365471935   JODY           SMITH                      CO     90000823654
5B415A4484B588   MARTIN         GARCIA                     OK     90008060448
5B41623A15B531   ISAAC          JARAMILLO                  NM     90008522301
5B416431A8B169   ROSS           KAREN                      UT     31083794310
5B41647785B162   JASMINE        SMITH                      AR     90013564778
5B41667A498B2B   PRINCEESS      SESAY                      NC     90003396704
5B416713857157   ROSA           ACOSTA                     VA     90013817138
5B416819972B43   VALERIE        WOOD                       CO     90005298199
5B4168A1A85821   JENNIFER       BARIAL                     CA     46007448010
5B416A84672B49   LORI           BRUMMIT                    CO     33079240846
5B417342972B43   SHILAMONIQUE   LUCERO                     CO     90007483429
5B417486533696   JEREMY         TAYLOR                     NC     90013044865
5B417539661971   TONI           BOYLES                     CA     90014835396
5B41788975B393   CAROL          ADAMS                      OR     90011138897
5B417943372B36   RAOUL          GARCIA                     CO     33056879433
5B41819824B588   MELODY         THORNBURG                  OK     90011121982
5B418254151348   TIMOTHY        MALONEY                    OH     90009582541
5B418298A5B387   SHAUNTAE       STEWARD                    OR     44545762980
5B418398957157   DAVID          OBIRI                      VA     81031253989
5B4185A4633699   KRISTINA       FRANCE                     NC     90014855046
5B418857A85821   MELISSA        HARDSON                    CA     46004238570
5B419A38485821   ROBERT         MATSUOKA                   CA     90010890384
5B419A65924B7B   EDWIN          CASTRO                     DC     90013540659
5B41B65425715B   JOSE           BONILLA                    VA     90006876542
5B41B67A455951   ZAIDA          MERAZ                      CA     90005826704
5B41B877872B27   SIRRITA        BURT                       CO     33086728778
5B41BA9949712B   ALBERTO        LUNA                       OR     90001250994
5B421193772B77   ERNESTINA      FERNANDEZ                  CO     90000771937
5B421717A5B531   ARIEAL         JOHNS                      NM     35010637170
5B42215574B28B   STEVEN         RUNG                       NE     26088271557
5B422163A5715B   JOSE           GALICIA ARRIAZA            VA     90012971630
5B42247385B393   CHARMESHA      HILL                       OR     90010934738
5B422477651348   LYNN           JENSEN                     OH     66010984776
5B423293A7242B   JOHN           CUNNINGHAM                 PA     51091512930
5B423394885821   JOSEPH         MCMANUS                    CA     90013723948
5B42342225715B   SIMON          MERINO                     VA     90008084222
5B423565551343   DEBORAH        REINDAL                    OH     90001525655
5B42356627B362   FELICIA        DAVIS                      VA     81000715662
5B42359498B189   LILIANA        VERDEJO                    UT     31073295949
5B423651761975   ALEJANDRINO    GAMEZ                      CA     90007056517
5B423659355951   CARA           TATUM                      CA     49004946593
5B424524172B36   SERGIO         VALLE-ROMO                 CO     33065435241
5B42453789712B   MARIA          CISNEROS                   OR     90009645378
5B42474565758B   CHARLOTTE      FLORES                     NM     35555477456
5B42479545B543   REAGINA        ROJAS                      NM     90004227954
5B424AA7655951   DANIEL         OLIVER                     CA     49047980076
5B425217472B46   GRISELDA       MUNOZ                      CO     90008542174
5B42596594B588   ANA            RODRIGUEZ                  OK     90009189659
5B42599649712B   STEVEN         LOVELY                     OR     90012069964
5B42621412B27B   ZAHIRUDDIN     ASAD                       DC     90013132141
5B42624974B28B   TERESSA        SCHLICKER                  NE     90011422497
5B426391776B75   JUANA          GONZALEZ                   CA     90013393917
5B42643835B531   YOLANDA        LAJEUNESSE                 NM     35004264383
5B42648862B862   RICHARD        JONES                      ID     41065374886
5B426671531665   LINDA          COX                        KS     90002086715
5B426831372B88   SHARI A        MAPES                      CO     90006388313
5B426912172B43   SHILAH         MARTINEZ                   CO     33002799121
5B426A1349712B   BLOCKSTORE     LLC                        OR     90011910134
5B426AAA65B399   SHERRY         HALE                       OR     90008940006
5B42716A45B236   CHARLES        HOBSON                     KY     90013401604
5B427353A61975   PABLO          LEMUS                      CA     90011503530
5B427759797B54   MELISSA        STANLEY                    CO     39007537597
5B42784882B27B   ANITA          PAYNE                      DC     90014328488
5B428179991356   PAYGO          IVR ACTIVATION             KS     90015431799
5B428252872B27   JAMES          BATCHO                     CO     33042042528
5B4284A7776B75   JUANITIA       WILLIAMS                   CA     90013594077
5B42859583B39B   ABDALLAH       ABOUELFATH                 CO     90007695958
5B42863A361971   ALEJANDRO      CHAVEZ                     CA     90014436303
5B42866142B862   SHELBY         SEVERANCE                  ID     90013436614
5B428684A71935   KAELA          DAVIS                      CO     90013946840
5B428956338598   NACEY          PELAGIO                    UT     90013099563
5B428A3724B588   JOSE           HERNANDEZ                  OK     90012200372
5B428A37785821   CLAUDIA        CARMONA                    CA     90011850377
5B429193A5B162   LONDELL        KINSEY                     AR     90014411930
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 256 of 2350


5B429253257591   CRISTINA         GAMBOA                   NM     90011062532
5B429447961971   AMY              TIMMINS                  CA     90015094479
5B429448572B36   JASON            WEYANDT                  CO     90013634485
5B42947A431665   SAMANTHA         MILLS                    KS     90005154704
5B429865872B27   RAOSCOE          MONTOYA                  CO     90009068658
5B42B21A285821   ERIC             NESA                     CA     90011872102
5B42B437331429   TENECIA          PATTERSON                MO     27508544373
5B42B622572B49   MARISOOL         MARTINEZ                 CO     90012626225
5B42BA7918B169   THOMAS           BRAD                     UT     90011260791
5B43123A372B46   TERE             WILBERT                  CO     90008542303
5B43143852B27B   DEWAYNE          JOHNSON                  DC     90013904385
5B4316A325B399   JESUS            LOPEZ                    OR     90014946032
5B43185A298B2B   CLAUDIA          GARCIA                   NC     11061108502
5B432997438598   AUSTIN           CRAWFORD                 UT     90013099974
5B433188798B2B   LEE              VUE                      NC     90002921887
5B43326158B169   LUIS             MACIS                    UT     90002662615
5B43373815B162   SUE              OLIVER                   AR     90015367381
5B433876357157   MEGAN            DONOVAN                  VA     90008448763
5B433997438598   AUSTIN           CRAWFORD                 UT     90013099974
5B434139161971   CRISTINA         GONZALEZ                 CA     46001661391
5B43438265B531   CANDI            SUNMIGUELLE              NM     35005883826
5B43444A42B862   JESSICA          KOZAK                    ID     41075044404
5B43457674B588   CARL             BENNETT                  OK     90014535767
5B43479244B28B   JESSICA          SABIN                    NE     90002657924
5B434A66557157   YARITZA          RIVAS                    VA     90015130665
5B435119847993   JASON            GIORDANO                 AR     90001121198
5B43522645B162   BRANDON          CUBIT                    AR     90003792264
5B435375297B77   WENDY            HURTADO                  CO     90002433752
5B43548755B236   NICHOLAS         SMITH                    KY     90006494875
5B435696761975   ROBERT           NIEBLAS                  CA     90013006967
5B435696971935   ANTHONY          MILLER                   CO     90013946969
5B43573915758B   PATSY            MEDINA                   NM     35597957391
5B435979633696   DANA             GORDON                   NC     90015289796
5B43644A42B862   MATTHEW          SMITH                    ID     90006594404
5B43693169712B   JESSE            CHATAM                   OR     90009649316
5B436A42161975   ESMERALDA        WILLIAMS                 CA     90003570421
5B436A71391356   APRIL            LAVIGNE                  KS     90015100713
5B436A7262B851   MELISSA          HODGES                   ID     90001260726
5B437135285821   JESSICA          PORTER                   CA     90002231352
5B437256772B67   MARIA            RODRIGUEZ                CO     33071742567
5B437781933699   DIRETHER         PARROT                   NC     12039567819
5B437895191895   KIMBERLY         SEGOVIA                  OK     21001118951
5B4379A985B393   LUIS             URUETA ESTRADA           OR     44573659098
5B437A72938598   JACE             ANDERSON                 UT     90013100729
5B438272272B43   GAIL             BAILEY                   CO     33097442722
5B43832715B399   STEVEN           DAVEY                    OR     90015163271
5B43849135758B   LIZETTE          LOPEZ                    NM     90013684913
5B438592A8B169   KELLEY           BRAEGGER                 UT     90014415920
5B438819433699   EVETTE           THOMPSON                 NC     12088888194
5B43912544B588   OLIVIA           VEGA                     OK     21508741254
5B439235672B46   DEVOLLA          GALLOWAY                 CO     90008542356
5B43955715B162   JERRY            BURNETT                  AR     90013945571
5B43977A885821   JUSTIN           CHAVEZ                   CA     90013917708
5B439A6A27242B   AMANDA           CAUDILL                  PA     90012760602
5B43B364251348   VAUGHN           BUSH                     OH     90012983642
5B43B55AA57157   BERTHA LUZ       ESPINOZA                 VA     90006285500
5B43B68349712B   STEVEN           AMREIN                   OR     90009646834
5B43B6A3842363   CARL             THOMAS                   GA     90011576038
5B43B924661971   JOEL             OSTOSH                   CA     90013249246
5B441128172B88   RITA             SALAS ROCHA              CO     33075231281
5B44115445B271   TAMMY            CALHOUN                  KY     90007481544
5B44144612B27B   ERIC             GAMBLIN                  DC     81012054461
5B44188219712B   HILLARY          ROBINSON                 OR     90013338821
5B442311857157   WILFREDO DERAS   SONIA DERAS              VA     90014863118
5B442436476B75   DOMINGO          PEREZ                    CA     46015484364
5B442569891895   TEANNA           BROWN                    OK     90014915698
5B44262225B162   MARIA            ELENA                    AR     90011966222
5B44262377B46B   ALEXIS           ZULUETA                  NC     11013456237
5B442883A57591   MARIA            FLORES                   NM     90015168830
5B442A41484357   MICHAEL          MURPHY                   SC     90009630414
5B443248941229   ELIZABETH        NEUMEYER                 PA     51016912489
5B443446A4B588   JENNIFER         SCOTT                    OK     90013904460
5B443837685873   GILBERTO         VILLA                    CA     90012448376
5B443863671935   SHAWNA           JACKSON                  CO     32089248636
5B443A25431428   SPURGETTE        FRANKLIN                 MO     27513440254
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 257 of 2350


5B443A43255941   PAUL          SANTIAGO                    CA     90014540432
5B444137981632   JERONIMO      GOMEZ                       MO     29093551379
5B44424977B434   MILAGRO       CUZMAN                      NC     90011352497
5B44426694B28B   JESSENIA      TERUEL                      NE     90013922669
5B44456215B387   ELIZABETH     DOBBINS                     OR     44517295621
5B445413272B27   JULIO         GUTTIEREZ                   CO     90001074132
5B44543984B28B   DEVAN         MURCEK                      NE     90014694398
5B44595175B162   MACKENZYE     PARKER                      AR     90013339517
5B44678784B28B   BRAD          WALTON                      NE     90013027878
5B44686775B531   JOHN          VELASQUEZ                   NM     35003998677
5B4469A312B57B   ISMAE         AUILA                       AL     90015359031
5B446A91972B43   ADRIAN        MEDINA                      CO     90011900919
5B44728795715B   ANA MARIA     MORENO BLANCAS              VA     90014082879
5B447289A98B2B   MARTHA        LYTCH                       NC     11043282890
5B447335157591   DANIEL        URQUIDI                     NM     90013153351
5B44741A691323   ANTHONY       ADAIR                       KS     90008374106
5B447663871935   ISRAEL        CEBALLES                    CO     32004786638
5B447665271935   XANDRIA       GRAY                        CO     90008586652
5B448415591356   HANNAH        HEARNE                      KS     90015204155
5B44848767242B   PAMELA        WALLBAUM                    PA     51089114876
5B44857625B531   MELANIE       GURULE                      NM     35006325762
5B448956A57591   CHRISTOPHER   CLEM                        NM     90013129560
5B44899814B28B   MARIA         FLORES                      NE     90001509981
5B449643355941   MERCEDES      WHITE                       CA     90012656433
5B449693257157   VAUDILIO      VICENTE                     VA     90010046932
5B449738172B27   MARTHA        CASTELLON                   CO     33011907381
5B4498A545B543   SABRINA       MEAD                        NM     90004228054
5B449915991895   KELLY         DON                         OK     90012269159
5B449946A84334   MELISSA       BRYANT                      SC     90001379460
5B449997371935   ELIANI        HOOVER                      CO     32092779973
5B449A1678B169   BECKY         SOLIS                       UT     90003380167
5B449A39333692   FERNANDO      GASPAR                      NC     90010480393
5B44B16645B29B   JEREMY        JONES                       KY     90011121664
5B44B38745B543   TINA          MARTINEZ                    NM     35055633874
5B44B44427B48B   CHRISTOPHER   LITTLE                      NC     90006724442
5B44B598251348   CLAUDIA       WALKER                      OH     66031505982
5B44B6A8584373   MARKESE       WALKER                      SC     90014656085
5B44B772771935   BRITTNEY      WHATLEY                     CO     90013387727
5B44B899298B2B   TORI          CREDLE                      NC     90008328992
5B44BA91A7242B   JENNIFER      KIVADOR                     PA     51097450910
5B451286351348   TRAVIS        PELCHA                      OH     90014662863
5B45153355B162   RODNEY        WHITAKER                    AR     23001685335
5B451662871935   CHRISTOPHER   GARDNER                     CO     90010386628
5B451732357157   EDNA          COVELL                      VA     90011927323
5B451856738598   MARK          HYMAS                       UT     90013108567
5B452217176B75   PAMELA        MOLTHEN                     CA     90013792171
5B45241892B862   ROB           GAMBLE                      ID     90013684189
5B452639272B36   DARLA         BECERRA                     CO     90001236392
5B45321A25715B   KAGOYA        BIKOBERE                    VA     90013082102
5B453744976B75   MERCEDES      FLORES                      CA     90014177449
5B454125672B49   LINDA         PADILLA                     CO     33034201256
5B45413A47242B   RACHEL        MACKEY                      PA     51019441304
5B454224631428   DARLENE       SHEPARD                     MO     90005962246
5B45475374B28B   CINDY         ANDERSON                    NE     26061257537
5B455354161975   STACEY        CUSTER                      CA     90009973541
5B455373172B49   MARIA         HUIZAR                      CO     90013693731
5B455452191895   YESHODA       GOWDA                       OK     90012354521
5B455524133699   LATISHA       BROOKS                      NC     90011195241
5B455846885821   LUCAS         MONTEJO                     CA     46041428468
5B456115561971   ZENAIDA       SOBREMONTE                  CA     90010921155
5B456299733696   EARL          ARTIS                       NC     12094762997
5B456335A33699   JENNIFER      MEDINA                      NC     90014833350
5B45642A861975   RIGOBERTO     ACEVEDO                     CA     46030984208
5B456432172B27   SALVADOR      CASTRO                      CO     33029254321
5B45667365715B   KAREN         ADAMS                       VA     90014156736
5B45677649712B   MARCOS        ARIZMENDEZ                  OR     90014377764
5B456796891895   GILL          VELASQUEZ                   OK     90000637968
5B45714992B27B   RINELLE       PIERCE                      DC     81066571499
5B457453272B49   CHRISTOPHER   BUELS                       CO     90015194532
5B457499591356   RYAN          FOLSOM                      KS     90014784995
5B45754735B162   CHRISTIAN     ROBLES GUTIEREZ             AR     90015545473
5B457719684373   RAYQWAN       TAYLOR                      SC     90014657196
5B45776A85B283   CHARLES       KANINBERG                   KY     68009447608
5B458241885821   CYRIL         AQUINO                      CA     90005392418
5B45834A597B54   HEIDI         PINO                        CO     39094993405
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 258 of 2350


5B45895A75B325   MBETE           DUNBAR                    OR     90006969507
5B459144161973   KAREN           ISOM                      CA     90011601441
5B459247372B36   ARTHUR          MEDINA                    CO     33083202473
5B45935244B28B   ANA             LOM-PEREZ                 NE     90012493524
5B459392591356   KIMBERLY        WILEY                     KS     29073583925
5B459518291535   MATIAS          LOPEZ                     TX     90010575182
5B45952112B851   SUSAN           COPPLE                    ID     42081555211
5B45B395633699   TIMOTHY         WILLIAMS                  NC     12064733956
5B45B483A55941   VALERIE         MOLINA                    CA     90003624830
5B45B489871935   DOLLY           LANDIN                    CO     32087924898
5B45BA72491356   MEGHAN          FIELDS                    KS     90006700724
5B461188A5B162   TEKELA          LOMACK                    AR     90009361880
5B4612A984B588   JUSTIN          KILLIAN                   OK     90005182098
5B461572371935   JONATHAN        MCCORMACK                 CO     32002895723
5B46219312B862   STEVEN          CONGDON                   ID     90009481931
5B4627A534B588   MARKETHIA       BARBER                    OK     90000327053
5B46291667195B   ROBYNN          BURCH                     CO     90010509166
5B462A5215B393   LUCY            JORDAN                    OR     44514620521
5B464218272B43   ISABEL          RAMIREZ                   CO     90011152182
5B464379684357   LISA            CKLE                      SC     90013813796
5B464834755941   JOSE            LOPEZ                     CA     48057348347
5B4651A155B393   ANN             MURRELL                   OR     44514241015
5B46528772B862   DEBBIE          PAYNE                     ID     41052162877
5B46554669712B   SLLYSSA         HOLLYTALAMANTEZ           OR     90000885466
5B46628115B162   LESLIE          ROBERTS                   AR     90015612811
5B46633164B28B   MARTIN          MENDOZA                   NE     90013923316
5B466444433699   KENDRA          ANTHONY                   NC     90001854444
5B46651525B236   STEPHANIE       WELLS                     KY     90010615152
5B46674939712B   RAYMUNDO        GONON CACATZUN            OR     90009957493
5B467437351348   GREGORY         JONES                     OH     90011914373
5B467677491356   CHEYENNE        PORTER                    KS     90011386774
5B468226638598   URSULINO        SALAZAR                   UT     90013112266
5B46852214B28B   BENJAMIN        ATKINSON                  NE     26070415221
5B4685AA872B67   ALBERTO         DOMINGUEZ                 CO     33062885008
5B46863342B272   ANA ELIZABETH   LOPEZ                     DC     90004806334
5B4688A4331428   CAINE           BRUCE                     MO     90006588043
5B468966555941   LARRY           WILSON                    CA     90012239665
5B468A4895B531   ANTHONY         LUNA                      NM     90013330489
5B469384A55941   BERNIE          RAMIREZ                   CA     90015523840
5B469396472B88   CHRISTIN        RICHARDSON                CO     90005133964
5B4695A462B862   SHAWN           LENON                     ID     90008345046
5B46981A15415B   STEVEN          GRABOW                    OR     90012908101
5B469A6A784357   SHALONDA        SWEARINGEN                SC     90008370607
5B46B32835B531   MARIAH          HANWAY                    NM     90008173283
5B46B34817B46B   EBONY           LOGAN                     NC     90011193481
5B46B394584373   DELESNIE        THROPOLIS                 SC     90011203945
5B46B556491895   BEATRIZ         GOMEZ                     OK     90013935564
5B46B73229712B   RUBEN           MARTIN                    OR     90011437322
5B4712A1A91895   HERMELINDA      MOLINA                    OK     21080252010
5B471585271935   SHERRY          MARTIN                    CO     90012575852
5B47164445B393   KATRINA         COPLAN                    OR     90013646444
5B47186612B27B   MICHAEL         GREENE                    DC     90014388661
5B472234791356   ALISHA          COLSTON                   KS     90013852347
5B47257A457591   CRISTAL         HERNANDEZ                 NM     90014265704
5B472666176B75   KAREN           BRUYETTE                  CA     90004296661
5B4727A4985821   FERNANDO        NAVA                      CA     46004157049
5B473626855941   ROBERT          RODRIGUEZ                 CA     90014556268
5B473672941273   STEPHANIE       KERN                      PA     90000106729
5B474213672B36   MARIE           RODRIGUEZ                 CO     90014752136
5B474323533696   ASHTON          SMITH                     NC     90015023235
5B474546561975   ANDRES          CORONA                    CA     90014415465
5B474653872B36   JESSICA         WADDELL                   CO     90013396538
5B474739291895   NIKKI           BENNETT                   OK     21013297392
5B47495765B236   CONSTANCE       SATTERLY                  KY     68055919576
5B475115151348   SELENA          FELICIANO                 OH     90015201151
5B4751A5691895   WILLIAM         HILL                      OK     90013081056
5B47524A433696   ADRIANNE        WOLFE                     NC     12083072404
5B47543517242B   ROGER           MARSH                     PA     90013634351
5B475452461971   ELOI            CRUZ ARISTA               CA     46039774524
5B47562754B588   AMBER           MCGUIRE                   OK     90009416275
5B476277A3B343   JESUS           TRETO                     CO     33034962770
5B476631257591   YOLI            MARTINEZ                  NM     35592426312
5B47669819712B   KARIN           BRUNTON                   OR     90011946981
5B477382A38598   DENNIS          SUDO                      UT     90013113820
5B477463155941   ADRIAN          HERNANDEZ                 CA     90015614631
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 259 of 2350


5B478184761975   YARITZA       REYES                       CA     90010801847
5B47863812B27B   OLGA          ROSALES                     DC     81002056381
5B47874785B543   KAREN         ACOSTA                      NM     90003217478
5B478836A5B531   MARIA         LOPEZ                       NM     90015028360
5B478965197B54   STANLEY       KO                          CO     39072349651
5B47924225B399   JONATHAN      HALL                        OR     90010212422
5B47935715B162   ERIC          LOMACK                      AR     90014703571
5B47947A431665   SAMANTHA      MILLS                       KS     90005154704
5B479834633699   CIEDA         DOBSON                      NC     90011398346
5B479967471935   LORENA        MANGOLD                     CO     32070899674
5B47B2A1172B49   GABRIEL       PASSARELLI                  CO     33029112011
5B47B435457591   ADRIANA       TRUJILLO                    NM     90012804354
5B47B756A84373   ANGEL         SPAIN                       SC     90006117560
5B47B768941229   NICHOLAS      CONLEY                      PA     51077447689
5B47B863755941   DEANNA        WETTERLING                  CA     90011918637
5B48141657B46B   SHAUNTERIA    MOULTRY                     NC     11083774165
5B481576876B75   DOROTHY       AMES                        CA     90005095768
5B481592271935   ASHLEY        DENTON                      CO     90012575922
5B482153597B77   CASEY         SPEAKER                     CO     90007271535
5B482658172B77   RAMONA        REZA                        CO     33091356581
5B483187671935   AMANDA        ZALEWSKI                    CO     90015161876
5B48336794B588   KARA          MOORE                       OK     21558693679
5B48414199712B   MARIANA       MALDONADO                   OR     90013971419
5B48433489712B   JILIO         RODRIGEZ                    OR     90013923348
5B484673838598   JORDIN        CHRISTENSEN                 UT     90013116738
5B484911557591   EVA           MATA                        NM     90012539115
5B485395284357   SHARON        SINGLETON                   SC     90014073952
5B485467172B43   DAWN          LANDRUM                     CO     90012614671
5B4855A3A97B77   ISMELDA       CARRASCO                    CO     90001645030
5B485969672B27   KRYSTLE       PENA                        CO     90011909696
5B486173676B75   RAMIRO        BARAJAS                     CA     90014601736
5B48624532B869   KARA          HENRY                       ID     90000982453
5B48685A271935   BRANDON       COFFENBERRY                 CO     90013948502
5B486873755941   GIL           SOMERA                      CA     90014178737
5B487267A4B28B   MIKE          BURNER                      NE     90007282670
5B487674938598   CORRINE       BEACH                       UT     90013116749
5B487867271935   ELISHA        GONZALES                    CO     32025018672
5B487871997B77   GERALDINE     DOMINGUEZ                   CO     39058298719
5B487A7945B531   LAURA         TRUJILLO                    NM     90000790794
5B488357197B77   MARK          SHAFER                      CO     90003693571
5B488385285821   TIM           THORNBURY                   CA     90001613852
5B488583631428   JULIA         PERKINS                     MO     27583855836
5B48926222B27B   JOAN          THOMAS                      DC     81022362622
5B489452757591   MOHAMMED      ALDHEFEERY                  NM     90012104527
5B48948A155951   MARIA         BUENO                       CA     49077674801
5B489518272B67   PHAT DADDY    DADDY P                     CO     90006315182
5B489789384373   LUIS          GARDNER                     SC     90007577893
5B489891555941   AVELINA       BRENES                      CA     90014528915
5B489A8A391356   CREATIONS     BY BRITT                    KS     90005210803
5B48B467477568   GILBERTO      GOTCHEZ                     NV     90012064674
5B48B553557157   THEODORE      SADOFF                      VA     90014555535
5B48B57442B862   RACHELLE      HOOVER                      ID     90011955744
5B48B684371235   DAVID         DAVIS                       NE     27065856843
5B48B73775B236   ENCARNACION   DE LA FUENTE VILLALABOS     KY     90015207377
5B48B788141229   NANCY         WINNIEWICZ                  PA     51075767881
5B4911A534B588   THOMAS        RIOS                        OK     90010841053
5B49137144B28B   ISSEU         YOUM                        NE     90013933714
5B49225A691356   CNS           CARPET CLEANING             KS     90000792506
5B49228A784357   TASHA         PIERCE BROWN                SC     14589642807
5B492519491895   BRANDY        LOCKETT                     OK     90014855194
5B492756A72B43   ROSA E        RODRIGUEZ-MOJICA            CO     90013437560
5B49355175B162   DAVID         GUTIEREZ GONZALEZ           AR     90015545517
5B493751155937   EVELYN        SALINAS                     CA     90008727511
5B493A96171935   LEONCIO       QUINTERO                    CO     90014780961
5B494139161971   CRISTINA      GONZALEZ                    CA     46001661391
5B494212557591   MELISSA       NAVARRO                     NM     90011942125
5B494266A4B251   JUANA         ALBERTO                     NE     90010212660
5B49427425758B   CARLOS        GARCIA                      NM     90013472742
5B49442548B356   ALEX          TAYLOR                      SC     90009134254
5B494468872B36   ALMA IDALIA   ESCARCEGA-QUINTANA          CO     90008564688
5B494546A72B43   GENARO        MATO                        CO     90001575460
5B494833772B27   RENDA         WILLIAMS                    CO     33031238337
5B4948A5471935   FAUSTINO      SOLANO                      CO     90011728054
5B49497115B393   JONETTA       CARTER                      OR     44501409711
5B49498745B162   DARRIN        FRANKLIN                    AR     90010339874
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 260 of 2350


5B49498895B162   YENI         CALDERON                     AR     90013949889
5B495355738598   RICHARD      MILLER                       UT     90013123557
5B49543864B588   DAMDRE       THOMPSON                     OK     90010214386
5B495525691895   MITCHIE      MISKELL                      OK     90008885256
5B49562835B283   NICHOLAS     GADDIE                       KY     68073406283
5B49621647242B   CYNTHIA      MATHEWS                      PA     90012812164
5B49621775715B   JACQUELINE   DE LEON                      DC     90010672177
5B49631465758B   RITA         RODRIGUEZ-HERNANDEZ          NM     90014973146
5B496459197B68   CANDI        JOHN                         CO     90008294591
5B49666899198B   SONYA        LONGMIRE                     NC     90003166689
5B496787A33699   LAMEIKA      EDWARDS                      NC     12047267870
5B49679A884357   ARIEL        SZUCS                        SC     90014907908
5B49713665B236   RYAN         TERRY                        KY     90012331366
5B4971A625B162   EDWARD       WHYERS                       AR     90013271062
5B497382297B77   JILLENE      SOWL                         CO     39085353822
5B49746289712B   JOSE         UROZA ZUNIGA                 OR     90015014628
5B497817776B75   ISAURA       LOPEZ                        CA     90010398177
5B497913561975   BLANCA       VILLA                        CA     90009409135
5B497931885821   GELACIO      REMIGIO                      CA     46078389318
5B498164172B49   MARIA        CARROLL                      CO     33002091641
5B49844875B236   JESSICA      BAUM                         KY     90014364487
5B498648972B27   NORMA        CASTILLO                     CO     33041096489
5B498778455951   AMANDA       DE LA CRUZ                   CA     49069917784
5B498A37484373   CATHERINE    EVANS                        SC     19016280374
5B49919315B283   SHALITA      BETHEL                       KY     90009901931
5B49937129712B   RAFAEL       CALLEJAS-MOHEDANO            OR     90007573712
5B49964744B28B   MICA         NIMOX                        NE     90014976474
5B4996AA451348   THOMAS       NICHOLS                      KY     90014186004
5B499A98333657   SHARON       MCCARRELL                    NC     90011320983
5B49B421371923   BRANDON      RAINS                        CO     90011374213
5B49B6A965758B   CEARA        ANGEL                        NM     90006966096
5B49B7A6884357   TAMMIE       FRIPP                        SC     90003327068
5B49B8A4A71935   ANDREW       LEAAETOA                     CO     90011728040
5B49B941733696   TREVOR       SOLOMON                      NC     90013069417
5B49BA9658164B   DELANA       PICKENS                      MO     90010490965
5B4B1254772B36   TIFFANY      JOHNSON                      CO     90007992547
5B4B14A882B236   VANESSA      WOODLAND                     DC     90014464088
5B4B1748133696   TRIVY        WESTBURY                     NC     90006067481
5B4B191185B531   DAWN         ALLEN                        NM     90010319118
5B4B1997738598   STEPHANIE    HEIN                         UT     90013089977
5B4B23A3531456   SHANTA       SMITH                        MO     90008863035
5B4B262247B46B   SHANIYAH     GOODMAN                      NC     90010406224
5B4B2967761975   CARINA       GONZALEZ                     CA     90013229677
5B4B2A2835B162   MAXIMO       LUMBREAS                     AR     90014760283
5B4B2A41585821   SHANNON      MOLNAR                       CA     46058440415
5B4B351A591356   SELENE       FLORES-GARCIA                KS     90013965105
5B4B3533772B27   BHOJRAJ      BHATTARAI                    CO     33096555337
5B4B3675757591   CATALINA     GOMEZ                        NM     90008626757
5B4B3688961971   KATHREEN     CALLAHAN                     CA     46030526889
5B4B378685758B   JEREMY       JURGENS                      NM     90013007868
5B4B3976757157   SONYA        A TORRES                     VA     90010719767
5B4B3AA557195B   STEVEN       JACOBS                       CO     90013570055
5B4B4357438598   JAVIER       VARGAS                       UT     90013093574
5B4B4968255941   ARTHUR       LAMBERT                      CA     48052409682
5B4B498442B27B   NADINE       SMITH                        DC     90005959844
5B4B518847B46B   KWAN         JENNINGS                     NC     90008641884
5B4B5362A9712B   BEN          AGUILAR                      OR     90012693620
5B4B5A42172B43   MARISELA     VIZCARRA                     CO     33059600421
5B4B6248891521   DIANA        ALVARES                      TX     90011232488
5B4B6366172B42   LAURA        FLOREZ                       CO     90001993661
5B4B6547184357   ARIEL        SEESER                       SC     90008335471
5B4B7346684357   JORDAN       MOON                         SC     90013083466
5B4B7364151322   CLYED        JENKINS                      OH     90001493641
5B4B76A2971935   AMBER        GONZALES                     CO     90014336029
5B4B76A8333699   RAVON        ROUSSEAU                     NC     90015326083
5B4B7923455941   JESSICA      GONZALES                     CA     90014629234
5B4B7944285877   KATHERINE    AUSTIN                       CA     90009209442
5B4B797A561971   ROBERTO      ROMERO                       CA     46028389705
5B4B812579712B   NAKAYI       MICHAEL                      OR     90015191257
5B4B8261672B27   JOHNATHAN    CANCINO                      CO     90010282616
5B4B8262672B27   MARTIN       BELTRAN                      CO     90013102626
5B4B837AA72B49   DONALD       RAZEY                        CO     33026773700
5B4B8659557157   JEFFERY      HONAKER                      VA     81003896595
5B4B8834472B36   ALVINO       WATKINS                      CO     33068578344
5B4B8955738598   CODY         ELLIOTT                      UT     90010209557
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 261 of 2350


5B4B91A475B393   RICHARD            MORALES                OR     90011941047
5B4B9233972B43   JOSH               THOMAS                 CO     90014042339
5B4B936622B27B   ANNISEA            FIELD                  DC     90014843662
5B4B936896232B   JENNIFER           MOSS                   NM     90012653689
5B4B9632955941   JOSE FRED          BERMUDEZ MENDOZA       CA     90012406329
5B4B966675B393   RICHARD            MORALES                OR     90013516667
5B4B9763384357   SHIRLEY            FIELDS                 SC     90014777633
5B4B983885415B   ANNA               COLLINS                OR     90002238388
5B4B9889651348   SAMANTHA           SMITH                  OH     90012158896
5B4B9A2667242B   JESSICA            THOMPSON               PA     51041050266
5B4BB18225B393   J GUADALUPE        RAMIREZ                OR     90015171822
5B4BB342133696   LOUIS              ALLEN                  NC     90010643421
5B4BB86A297B54   MICHELE            ALANIZ                 CO     90006068602
5B4BB87782B851   EMMA               HUMPHREYS              ID     42030318778
5B4BBA6445B162   LATANAYA           MUSKINS                AR     90014700644
5B51112A672B49   ANTHONY            AGUILAR                CO     90002641206
5B511181631428   ALTON              DARDEN                 MO     90011291816
5B51132495B531   KYLE               VANCE                  NM     90013513249
5B51134214B28B   BRANDON            MARSHALEK              NE     26052333421
5B51165524B588   LATRICIA           MILEY                  OK     90007396552
5B51171655B543   FLORIBERTO         ESQUIVEL-INFANTE       NM     35031297165
5B511868461966   MIGUEL             HERRERA                CA     90009698684
5B511938797B77   DELIA              M                      CO     39056759387
5B51195A971964   JALISA             ESTRADA                CO     32073419509
5B512238442363   COBY               ASKINS                 TN     90015602384
5B51254155715B   PEDRO              VALENZUELA             DC     90010305415
5B512749584357   SALLIE             FENNELL                SC     90011277495
5B512833376B75   LUCY               VAZQUEZ                CA     90010398333
5B512AA815B236   SHANNON            ELLISON                KY     90009270081
5B5131A3A4B28B   AFAK               MOHAMMED RIDA          NE     90012651030
5B51325885715B   ANDREA             FUENTES                VA     81001862588
5B513272233696   NAKEIA             DARDEN                 NC     90014952722
5B51381285B236   CRYSTAL            LINK                   KY     90003998128
5B5138A755B399   LORENA             MENDOZA                OR     90013388075
5B51416AA55941   LOURDES            MEDINA                 CA     90013911600
5B51453A272B36   VALERIA            ANDRADE                CO     90013845302
5B51484615715B   JO ANN             NISWANDER              VA     90004348461
5B515312491356   GARY               EMERY                  KS     90010733124
5B515396257591   ALYCE              BALES                  NM     35586153962
5B51563A65758B   AIMED              CISNEROS               NM     90011116306
5B5159A645B531   PENNY              MADESEN                NM     35042679064
5B51652A461971   MIKE               HATHAWAY               CA     90002895204
5B51662365B531   TOMAS              GARCIA                 NM     90012766236
5B51672824B28B   SASHA              DORWART                NE     90005127282
5B51681A572B43   BRIAN              OCONNOR                CO     90012378105
5B516A33338598   RENEE              ASH                    UT     90013130333
5B51721652B851   MARGUERITE         PRISKE                 ID     42068642165
5B51735414B588   CARLOS             WASHINGTON             OK     90014083541
5B517668361971   NAZANIN            WAHID                  CA     46032236683
5B518152897B77   AVERY              SORENSEN               CO     90009551528
5B518358276B75   ALFONZO            RAMIREZ                CA     46034633582
5B519195838598   SHELBY             TRIPP                  UT     90013131958
5B51929879712B   LUIS               GONZALEZ OLEA          OR     90002202987
5B519595371935   MARIA              CONCEPCION             CO     32051805953
5B51965A14B28B   JOSE               MIRANDA                NE     26012046501
5B51977715B531   JESUS              SALAS                  NM     35095797771
5B519855791895   RENEE              KELLER                 OK     90014538557
5B51B12515B531   LANCE              BREAUX                 NM     90012471251
5B51B599231429   VENETTA            WILLIFORD              MO     27581355992
5B51B65A491356   PAMELA             DANIELS                KS     90006566504
5B51B6A865715B   SAEED              ISSA                   VA     90011066086
5B51B81A95758B   MARIA DEL CARMEN   KINNEY                 NM     90009198109
5B52112574B588   KIMBERLY           FRAZIER                OK     90009431257
5B5211AA771935   MARINA             MCKEY                  CO     90001891007
5B521421751348   SHANE              MCANDREW               OH     90008164217
5B521A1A672B43   ELIZABETH          TRUJILLO               CO     90010540106
5B522673555941   RENEE              RODRIGUEZ              CA     48087386735
5B52276978B169   NICOLE             BRYNER                 UT     90013027697
5B522878A33696   IJASHA             WRIGHT                 NC     90004708780
5B522894272B36   NORMA              GUARDADO               CO     90012998942
5B523242138598   TONY               LUCERO                 UT     90013132421
5B523274361971   EVA                MARTINEZ               CA     46031332743
5B523354884357   TOQUASHA           BLUE                   SC     90014793548
5B523449291356   DEMEKA             PORTER                 MO     90012854492
5B52363979712B   FRANK              LUMPKINS               OR     90013826397
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 262 of 2350


5B523A22891535   MARIA          GRISANTI                   TX     90007820228
5B52448345B283   KAREN          MOSER                      KY     68053324834
5B52454114B936   MINDI          STERLING                   TX     76506915411
5B5246A175B223   KENDRA         BRADLEY                    KY     90001196017
5B524722451348   ANNETTE        MEYERS                     OH     90014287224
5B524796657157   ZOILA          FLORES                     VA     90013607966
5B524A43284357   AGAMSHARAN     PATEL                      SC     90013520432
5B52534118B837   GABRIEL        KERESS                     HI     90014813411
5B525385585821   ADEOLA         LAPITE                     CA     90010803855
5B525587831447   ERICA          JOHNS                      MO     90012645878
5B525A56433696   FELICIA        PENNIX                     NC     12060240564
5B52618455B236   JO ANN         SOMERVILLE                 KY     68040331845
5B52635825715B   JOSE 1         GRIJALVA                   VA     90011913582
5B52693A19712B   D              MACHO                      OR     90012049301
5B526992984373   AMANDA         DENNING                    SC     90014669929
5B5271A585758B   DEBBIE         MELON                      NM     90008871058
5B527437572B49   TIM            SCHOLLAERT                 CO     90009184375
5B5276A3933696   SHERRY         PRIDE                      NC     12095376039
5B527855771935   CODY           CAWTHRA                    CO     90013948557
5B52832144B28B   SUSANN         WENZL                      NE     26075003214
5B5287A3572B36   SILVIA         RUIZ                       CO     90000167035
5B528895297B77   STEPHANIE      GARZA                      CO     39010438952
5B529261257131   JAMES          DIGGS                      VA     81005752612
5B52928495B236   JOHN           GRIFFITH                   KY     90006842849
5B52941195715B   ALFREDO        VICENTE                    VA     90001294119
5B52958AA71935   JESSICA        VOGL                       CO     90014615800
5B529727384373   RICKIE         JORDAN                     SC     90011347273
5B529866272B36   KIMBERLY       MOSS                       CO     90013228662
5B52998864B588   JANIS          LONEMAN                    OK     90013609886
5B5299A6572B67   MANUEL         SERRATOS                   CO     33015789065
5B529A6A75758B   APRIL          ORTEGA                     NM     35571820607
5B52B2A5138598   JESSICA        FULLMER                    UT     90013132051
5B52B47215B579   ANDREA         MATA                       NM     36025094721
5B52B4A3533699   HEATHER        MATTHEWS                   NC     90011354035
5B531123A55941   RYAN           TAYLOR                     CA     90014371230
5B53127A991895   BETTY          WILLIAMS                   OK     90012212709
5B53129824B28B   DENISE         JONES                      NE     26089862982
5B5313A9A7B431   VILMA          OROZCO                     NC     90004413090
5B53199A55B399   LAURA          MICHEL                     OR     90014419905
5B531A7655B543   JOE            BLEA                       NM     35049490765
5B53211689712B   MARIA          PERES                      OR     90009671168
5B53253195758B   GABRIELA       ORTIZ                      NM     90011195319
5B532898461971   LEA            HUBERT                     CA     46032708984
5B53292365B531   MARTA          VARELA                     NM     35042059236
5B532A65272B67   ADRIANA        MENDOZA                    CO     33051730652
5B533517655941   JUAN           JIMENEZ                    CA     90014445176
5B53374A284357   ANTOINE        JONES                      SC     90014767402
5B533818976B75   MELANIE        ABONGAN                    CA     90012708189
5B53397265715B   JUAN           AMADOR                     VA     90013369726
5B53399A94B28B   CHRISSY        HENNINGS                   NE     90009939909
5B53429954B28B   ZEWAR          BIBI                       NE     90012502995
5B53436845B162   MARCUS         WELSBY                     AR     90003933684
5B534588257591   ABRAHAM        LIN                        NM     90014265882
5B534634184357   RODNEY         THOMPSON                   SC     90009156341
5B534791272B27   MARIA          ROMAN                      CO     33025077912
5B534AA814B588   JULISA         FAJARDO                    OK     90013070081
5B535355657591   JOE            GARCIA JR                  NM     90014573556
5B535398376B75   ROBUAN         ISALS OLVERA               CA     90013343983
5B53543975715B   RYAN           COMEAU                     VA     90006824397
5B535588647836   TENISHA        FRALEY                     GA     90012505886
5B536919755941   JESUS          CASTANEDA                  CA     90014839197
5B53699935B531   ADRIAN         SALAZAR                    NM     90013419993
5B537258457591   LISA           LOPEZ                      NM     35564562584
5B538122471935   MELINDA        MYERS                      CO     32017931224
5B538784457157   JERRAE         GIBSON                     VA     90002527844
5B538821138598   RUSSELL        TAYLOR                     UT     90013138211
5B539134838598   ASHLEY         MINER                      UT     90012331348
5B539471172B49   JENAZZIA       MATA                       CO     90000844711
5B539485172B27   CRUZ           DIAZ                       CO     33044204851
5B53948995715B   JACQUELINE S   LOUIS                      VA     90012684899
5B53993165758B   JESSE          TORRES                     NM     35598599316
5B53999354B588   MICHELL        LEWIS                      OK     90010779935
5B53B24455758B   AMBER          REYNOLDS                   NM     35586852445
5B53B382233699   WILFRIDO       TOLEDO                     NC     90013473822
5B53B455572B43   PATRICK        MONTANO                    CO     90007874555
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 263 of 2350


5B53B561957157   ROBYN        PARAS                        VA     90012835619
5B53B86347B46B   LESTER       CASTELLANOS                  NC     11039638634
5B53BA8795B162   NYEISHA      ELLIOTT                      AR     23056230879
5B54136655B393   KRISTEN      WHEELER                      OR     90002553665
5B541789384373   LUIS         GARDNER                      SC     90007577893
5B54228A872B36   CRISTELA     HOPKINS                      CO     90013172808
5B542398176B75   GIOVANNI     VARGAS                       CA     90013333981
5B542A36671935   MICHAEL      ROTH                         CO     32063910366
5B542A65891921   NELSON       VARELA                       NC     90005060658
5B5433A5963B74   PETER        PUKNAITIS                    IL     90012313059
5B543A72538598   ERIN         HENDERSON                    UT     90013140725
5B543A87857591   ROBERTO      RODRIGUEZ                    NM     90014130878
5B543AA3A2B27B   ANTONIO      ROBINSON                     DC     90014550030
5B54447515715B   MILAGRO      BONILLA                      VA     81038564751
5B54469724B588   VANESSA      SERRANO                      OK     90011186972
5B544747671935   G            JONES                        CO     32077097476
5B54478362B92B   ERNESTO      ESCALANTE                    CA     90001787836
5B54527145715B   GIOVANI      SANCHEZ                      VA     81051432714
5B54531A761971   BRYAN        BARTLING                     CA     90015143107
5B54535A25B162   PAUL         CONSTANCIO                   AR     90013193502
5B545441838598   RONALD       NELIUS                       UT     90007824418
5B5459A2284357   ALVARO       LOPEZ                        SC     90012109022
5B547125A91356   TERRY        JOHNSON                      KS     29012001250
5B54713295715B   MARIA        ELSA LUCERO                  VA     81069321329
5B547467455941   EILEEN       NAVARRO                      CA     90005354674
5B547966857591   GILBERT      JARAMILLO                    NM     35583599668
5B547A61185821   CARLOS       LOPEZ                        CA     46007860611
5B54842364B588   CASSAUNDRA   JACKSON                      OK     90008834236
5B548555872B27   MARVA        SMITH                        KS     33075095558
5B548614A33696   PORSHA       NOELL                        NC     90009666140
5B548638233696   SARAHI       VIDAL                        NC     90015016382
5B54867262B27B   JOVOUGHN     MYRICK                       DC     90012946726
5B54922825B531   LYNN         YARBROUGH                    NM     90004892282
5B54926A938598   DAVID        ALAND                        UT     90013142609
5B549318991356   DAVE         DANGLESER                    MO     29013783189
5B549347A91895   GWENDOLYN    BROOKS                       OK     21083683470
5B54939297B496   AKOH         ANYANGWE                     MD     90006193929
5B549413497B77   ANGELICA     MOSQUEDA                     CO     39066904134
5B54B257291895   GUSTAVO      MORALES                      OK     90003562572
5B54B33328B169   LISA         DALENCH                      UT     31049613332
5B54B46635758B   REBECCA      GOMEZ                        NM     90014894663
5B54B679A76B75   ALIZA        GUTIERREZ                    CA     90010466790
5B54B957555941   MARISOL      SOTOLEOS                     CA     90014839575
5B54B962797B54   EDUARDO      CASTRO                       CO     90001769627
5B55132A751348   ANNA         DUNN                         OH     90001423207
5B551459561971   RAY          SAN NICOLAS                  CA     46016114595
5B55146285B393   KAW          SHWE                         OR     90015204628
5B5514AA68B12B   SILVIA       RAMIREZ                      UT     90013794006
5B55154114B936   MINDI        STERLING                     TX     76506915411
5B55171845B393   TINA         ERNST                        OR     90015187184
5B55172935B162   AARON        MOORGAN                      AR     90002927293
5B551743157591   ALLEN        MAPLES                       NM     90012177431
5B551787231429   VANESSA      LEDBETTER                    MO     27510107872
5B5517A1733696   ALICIA       UNDERWOOD                    NC     90010987017
5B5522A8972B27   FELIX        FLORES-CUZ                   CO     90003582089
5B552369584373   WENDI        GRANT                        SC     90010733695
5B55264765B579   DENISSE      CANALES                      NM     90013406476
5B552693184357   MATTHEW      CLINTON                      SC     90008846931
5B552693271935   WINNETTA     CLARK                        CO     90007976932
5B552A12657157   BERTILA      MERLOS                       VA     81014650126
5B553117283278   JUAN         VIGHIL                       CO     90007611172
5B553134433696   RAMONA       HARSTEN                      NC     90000561344
5B553181A8B169   MELISSA      SCHELLER                     UT     31088671810
5B55334715B531   PAULA        CUNNINGHAM                   NM     35003333471
5B553A88691356   NAENA        OLIVER                       MO     90008300886
5B554266772B43   OSCAR        BECERRA                      CO     33067602667
5B554416971935   JOESPH       MELILLO                      CO     90014944169
5B554998841224   RICHARD      COUSAR                       PA     90009169988
5B555465A41222   ERIC         THOMAS                       PA     90012464650
5B55555235715B   BETTY        SOLIZ                        VA     81015935523
5B555587A33699   CONCHITA     MILLER                       NC     12025495870
5B5555A6787B39   DONALD       SPEARS                       AR     90009785067
5B55599665B393   ROBERT       DAVIDSON                     OR     90008769966
5B556136684373   AYESHA       KARNICKEY                    SC     19039661366
5B55626A52B27B   CHANDRALYN   TAYLOR                       DC     90015122605
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 264 of 2350


5B556474897B54   LEANNE       CHRISMAN                     CO     39039114748
5B5565A314B588   ALVIN        WOODEL                       OK     90010725031
5B55668849712B   ALAN         VAZQUEZ                      OR     90015216884
5B556887585821   SOCRATES     MONTOYA                      CA     90000288875
5B556A24138598   DALE         BROWN                        UT     31009770241
5B55711152B851   CESARIO      SINACA                       ID     90005701115
5B557364391895   IRIS         OROZCO                       OK     21072023643
5B557617A7B431   KIERRA       CARTHRAN                     NC     90011826170
5B558112871964   REBEKAH      VINING                       CO     90012101128
5B558366772B36   ROBYN        FERNANDEZ                    CO     90003563667
5B558385A57591   MATTHEW      WALTERS                      NM     90013153850
5B55872225715B   JOSE         MARQUEZ                      VA     81068027222
5B55872815B283   NICOLE       BENTLEY                      KY     68009827281
5B558865731449   DEVON        JEFFERSON                    MO     90007068657
5B558A94133696   KEVIN        HEART                        NC     90006650941
5B55934667242B   RONALD       SOPKO                        PA     90013063466
5B559517A91895   MARIA        JUAREZ                       OK     21052705170
5B55968A961975   DAVID        LAFEAR                       CA     90009686809
5B55972285B387   TOBY         REICHELT                     OR     90007777228
5B559832151348   JAMES        REYNOLDS                     OH     66022308321
5B55B135161971   ROSALEA      VASBINDER                    CA     90006321351
5B55B441391356   DELINDA      ANDERSON                     KS     90000194413
5B55B498342335   NICOLE       OWNS                         TN     90015574983
5B55B586597B54   LORI         EHRLICH                      CO     39091665865
5B55B95A772B36   BRENT        DOMINGUEZ                    CO     90011939507
5B55B976133699   GERARDO      TERRONES                     NC     90012319761
5B55B982784357   AMANI        VAUGHN                       SC     90013829827
5B561396191895   ALEXANDER    ORTIZ                        OK     90013013961
5B561672A72B46   JANCINTO     CASTRO                       CO     90008546720
5B561759561975   JOHN         SMITH                        CA     90013307595
5B561885572B43   SALVADOR     DURAN                        CO     33037868855
5B5623A6272B36   KRISTEN      MOLLOY                       CO     33031663062
5B56247A172B43   LAURA'S      CLEANING                     CO     33062864701
5B562973238598   ABBIE        MITCHEL                      UT     90013149732
5B562994772B27   MARY         GROSS                        CO     90009039947
5B563144161971   RUBEN        SANCHEZ                      CA     46077721441
5B563183591356   CHRISTIAN    HODGES                       KS     90014021835
5B563647A72B36   TIFFANY      THOMAS                       CO     90013396470
5B563784A2B851   SUE          SPRUTE                       ID     90006747840
5B563918355951   PRECIOUS     MCGRAW                       CA     49088879183
5B56416782B851   MARK         KITTLESON                    ID     90005701678
5B564298A76B75   ANGELICA     ORTIZ GUTIERREZ              CA     90002782980
5B564353785821   THOMAS       HIRSCH                       CA     90015293537
5B564374797B77   BETHANY      LOVELL                       CO     90001453747
5B564518472B49   RAYMOND      LAWSON                       CO     90014715184
5B564623541229   MARIA        REA                          PA     51016946235
5B564956291895   ALICIA       OCHOA                        OK     90008169562
5B565282357591   ELEANOR      HOLMES                       NM     90012642823
5B56534A161971   STEVEN       MASSEY                       CA     46005663401
5B565515A7242B   CARRIE       PLICHTA                      PA     90008385150
5B565523572B43   EFRAIN       EVANGELISTA                  CO     33056805235
5B565656955941   ANA          GARCIA                       CA     90004896569
5B56566888B169   TODD LEE     NELSON                       UT     90014346688
5B566376284357   JATAVIA      WILLIAMS                     SC     90015373762
5B566516672B36   BAUMBACH     BRADLEY                      CO     90010725166
5B566738571935   ANTININA     DAVIS                        CO     32066087385
5B56674365B264   LAWRENCE     SECREST                      KY     90009257436
5B566A46357591   MEDRANO      VIRGINIA                     NM     90005190463
5B56713285B399   EDDIE        KENNON                       OR     90013761328
5B567451A9712B   ALEJANDRA    GUZMAN                       OR     90012994510
5B567581897B77   VICTOR       FLORES                       CO     39005855818
5B567818751348   GIRI         SAPKOTA                      OH     66077088187
5B567863172B36   RONA         LEDFORD                      CO     33042248631
5B56796835758B   MICHELLE     BUSTAMANTE                   NM     35591899683
5B5681A7785821   ANDRES       ESCOBAL                      CA     90013501077
5B568573772B49   PETER        GILK                         CO     90015205737
5B568688691269   LAURIE       HASAN                        SC     90011486886
5B56884587242B   MATTHEW      HUTCHISON                    PA     90013188458
5B568962857591   JOHN         VALDEZ                       NM     35598089628
5B568982391895   NEWANNA      TIGER                        OK     90008749823
5B5689A7655941   SOLEDAD      CONTRERAS                    CA     48076639076
5B56944765B393   HIRAM        LIZARRAGA                    OR     44537844476
5B5695AA257591   HERNANDEZ    EDWIN                        NM     90005785002
5B56B716661975   ANTONIO      VARGAS                       CA     90014047166
5B56B8A7557157   ANTON        WHITE                        VA     90014128075
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 265 of 2350


5B571225633699   TAJA         LITTLEJOHN                   NC     90013582256
5B57123475B399   TRAVIS       NEAL                         OR     44518562347
5B571298472B49   JOHN         REGAN                        CO     90010402984
5B57255745715B   REINA        LOZANO                       VA     90013215574
5B57257AA71935   MARGARITA    PRADO                        CO     90002585700
5B572786555941   JULIE        SAYLES                       CA     90014287865
5B572855972B88   ELSA         VENZOR                       CO     33063578559
5B573212491356   ERYN         TUCKER                       KS     90012752124
5B573399A5758B   GILBERT      ALFARO                       NM     35516633990
5B574166242363   KEDRICK      BUSH                         TN     90015461662
5B574235751348   LESLIE       HOLCOMBE                     OH     90012242357
5B5746A1684373   ERICA        WARNER                       SC     90008756016
5B57477A385821   PRESTON      JUDD                         CA     90011177703
5B574789855941   GENELLE      MAYO                         CA     48096957898
5B574844772B43   MENZELL      HUGHES                       CO     90015118447
5B57538358B169   DAWN         LONG                         UT     31077733835
5B575889A9712B   DEBORAH      GALBREATH                    OR     90011478890
5B575989333696   ZIPPORAH     HAMMOND                      NC     90015209893
5B576424685821   SURESH       VENKATA                      CA     90014974246
5B576592A72B49   JESUS        ACOSTA                       CO     90013765920
5B57667725B393   JESSE        HOFFMEISTER                  OR     90014576772
5B576742338598   JESUS        LOPEZ                        UT     90013157423
5B57674265B531   FRANK        SISNEROS                     NM     90013977426
5B57675A38B169   JOSH         COLVELL                      UT     90008727503
5B57686A55758B   JOANIE       PRIETO                       NM     90012398605
5B5768A535B393   JESSE        HOFFMEISTER                  OR     90014238053
5B5768A5491356   PEARL        GIBSON                       KS     90012888054
5B576A7A572B36   BRENDA       FULTON                       CO     33089270705
5B577393361971   JAMES        PITYA                        CA     90011313933
5B57777585B162   JOSE         MENDEZ                       AR     90008037758
5B577785372B49   KENNETH      ROBINSON                     CO     90011087853
5B578595472B49   JORGE        SANCHEZ                      CO     33030345954
5B578662A5B393   IAN          JACOVER                      OR     90013646620
5B579385272B27   NEGUSSIE     DENKU                        CO     33018883852
5B57944A35B399   SHANNON      SCHIEDLER                    OR     90007354403
5B579967A57591   JANETH       IDOLINA                      NM     90014819670
5B57B519461975   ISABEL       SAMPSON                      CA     46091405194
5B57B765861971   JILIAN       RAYMOND                      CA     90007917658
5B57B796672B27   ALEXANDRA    MAGORAL                      CO     90009717966
5B58173767242B   RICHARD      JORDAN                       PA     90014617376
5B581875231429   KIMBERLY     DOWNAR                       MO     27562358752
5B582328891356   JASON        GRUBBS                       KS     90013533288
5B58257522B27B   LAUREN       HENON                        DC     90013225752
5B582988557157   DONNE        DAVIS                        VA     90009399885
5B582A64A5B393   WENDELL      GLEASON                      OR     90002500640
5B583293A72B77   ANA          CENDEJAS                     CO     33017142930
5B583563276B75   ROBERT       ZIMMERMAN                    CA     90013065632
5B58379A972B27   YESENIA      ENRIQUEZ                     CO     90012847909
5B583A15572B49   APRIL        LYONS                        CO     90008850155
5B584489584357   CARLOS       CALVO                        SC     90008774895
5B585125A91356   TERRY        JOHNSON                      KS     29012001250
5B5851A7955941   YESSENIA     HERNANDEZ                    CA     90005101079
5B58532234B588   ANTHONEY     CAHILL                       OK     90014553223
5B585542284357   RICHARD      BROCK                        SC     90014275422
5B585594284373   CHAVELLA     GADSDEN                      SC     90014695942
5B585617171935   FELICIA      LEWIS                        CO     90004256171
5B58597675715B   ANA          OLIMPIA JIMENEZ              VA     81087929767
5B585A5438B169   KELCIE       GWYNN                        UT     90013960543
5B58637415B393   VELVET       PERSON                       OR     44591933741
5B586388884357   NICOLE       BANKS                        SC     90010263888
5B586AA1A31434   KIRK         TSIAKLIDES                   MO     90009890010
5B587291472B43   DUFF         GLENN                        CO     90011792914
5B587378784373   TAMARA       NATHANS                      SC     90015073787
5B587A87497B77   ESMERALDA    GAMEZ                        CO     39031750874
5B588472391939   RAFAEL       RUBIO                        NC     90002694723
5B58886975B236   PORTAS       KACHOKA                      KY     90012768697
5B589347272B49   DEHLIA       SUMMERS                      CO     33088303472
5B5893A5A33699   OSCAR        CAJON                        NC     90007893050
5B589422361971   DARRELL      HAUER                        CA     90013544223
5B58966385B399   KANISHA      JOHNSON                      OR     44530466638
5B589687471935   KRISTEN      WEAVER                       CO     90013296874
5B5898A3561971   DARRELL      HAUER                        CA     90013788035
5B58B135384357   KY ASIA      SMALLS                       SC     90002091353
5B58B37948B169   GUSTAVO      BALCAZAR                     UT     90010903794
5B58B431791267   MAMIE        WRIGHT                       GA     90010344317
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 266 of 2350


5B58B61465758B   FERNANDO                      GUZMAN       NM    90013166146
5B58B99175B538   CLYDE                         JORGENSEN    NM    90008499917
5B58BAA735B393   DAVEYON                       MCFADDEN     OR    90012690073
5B59125197B48B   DAVIDA                        FRANKLIN     NC    90004172519
5B59125942B27B   ASHLEY                        JOHNSON      DC    90011422594
5B59135744B28B   THOMAS                        MARTIN       NE    26037393574
5B591359A72B46   RANDY                         CONNER       CO    33035593590
5B591586276B75   ELIZABETH                     VELAZCO      CA    90014895862
5B592127A5758B   JOHN                          SANCHEZ      NM    90000291270
5B5921A4233699   SYVERIA                       WILSON       NC    90000421042
5B592341561971   ROSEME                        WESNER       CA    90008833415
5B59241325B162   NICOLE                        FORBES       AR    90008954132
5B592415472B88   MERCELO                       HERNANDEZ    CO    33080914154
5B59243882B851   DAVID                         LUNA         ID    42048414388
5B592721271935   JUAN                          MANUEL       CO    90011737212
5B592858757541   WILLIAM                       LATHAM       NM    90012628587
5B59292328B169   MISTY                         ROBERTS      UT    90007149232
5B592965957591   STEPHANYE                     MORALES      NM    35584499659
5B592A8644B588   CLARK                         DREW         OK    90012130864
5B593181241222   MEGAN                         YANKUS       PA    90008501812
5B593591676B75   MARIA DEL ROSARIO             MAGALLON     CA    90014765916
5B59366122B27B   DONNELL                       FREE         DC    90007866612
5B593682491895   JORGE                         DOMINGUEZ    OK    90013936824
5B59389358B169   WILL                          RANEY        UT    31098888935
5B593946372B36   JAMIE                         ELLIOT       CO    90013529463
5B594282572B36   CATALINA                      FLORES       CO    90013172825
5B594455638598   RUAN                          JIAQI        UT    90013164556
5B594546971935   JAMES                         SPENCER      CO    90014925469
5B594735361971   VINCENT                       GOMEZ        CA    46013937353
5B595187838598   CHRISTY                       RUSSALL      UT    90005091878
5B59538A772B36   SETH                          HOFMANN      CO    90015263807
5B5955AA761975   KARINA                        CORTES       CA    90014865007
5B59576747242B   AHLEY                         HUNTER       PA    90009787674
5B596187361971   ANTONIO                       ESTRADA      CA    90013451873
5B596855338598   JANETT                        STOCKS       UT    90012358553
5B597157797B77   KIM                           BIEDERMAN    CO    90000431577
5B59722A85B531   NORA                          MONTANO      NM    35049392208
5B59735167B34B   MARGARET                      DUDA         VA    90005613516
5B598434398B2B   STEPHAN                       SIMMONS      NC    90006694343
5B598882557157   EDWIN                         QUINTEROS    VA    90012228825
5B5988A6657591   GASPAR                        DENY TOMAS   NM    90015298066
5B598912476B75   EVELYN                        AGUILAR      CA    90010399124
5B598A9975B393   PJ                            HARTMANN     OR    90014730997
5B599385872B36   KATRINA                       HORTON       CO    90003593858
5B5994A825B236   DAVONIA                       BENE         KY    90012014082
5B599624997B54   VALENTINA                     ORTEGA       CO    39089246249
5B59972774B28B   ROBERT                        PHILLIPS     NE    90007447277
5B59B498485821   ALYSE                         SIMON        CA    90012194984
5B59B775951348   EUGENE                        RIDENOUR     OH    90010617759
5B59B963684357   PERRYMAN                      MICHAEL      SC    90012179636
5B59BA1124B588   AMANDA                        RIGGS        OK    21574410112
5B5B1372872B27   NORALLY                       ARZATE       CO    33074563728
5B5B1413172B49   VICTORIA                      HAAG         CO    90013974131
5B5B1586597B54   LORI                          EHRLICH      CO    39091665865
5B5B15AA45B387   LISA                          BAGLEY       OR    90003715004
5B5B165568B356   STEDIE                        LELEUX       SC    90015386556
5B5B179997B365   ANA                           CARTAGENA    VA    90012227999
5B5B2322491895   NICHOLAS                      BOSWORTH     OK    90014713224
5B5B268A572B88   ALICIA                        HILLS        CO    33096226805
5B5B3287272B36   FRANCISCO Y MARIA DE LA LUZ   RIVAS        CO    90007992872
5B5B351A19712B   KATI                          SERMENIO     OR    44504675101
5B5B3524661971   LAINE                         DUTHIE       CA    46014765246
5B5B3825261975   MARGARITA                     DIAZ         CA    90012058252
5B5B3A7725B162   RICARDO                       TAPIA        AR    90015130772
5B5B4128A5B162   MARK                          STEVENS      AR    23011871280
5B5B417A872B49   CARLA                         PEREZ        CO    33052711708
5B5B474655B387   ANGELA                        LAMPKIN      OR    90009747465
5B5B476658B169   MICHAEL                       RENTERIA     UT    90004407665
5B5B4799633696   SHAQUITA                      WHITE        NC    12093457996
5B5B5146433699   TANECA                        STEPHENSON   NC    90006361464
5B5B575595B399   JODI                          NEWELL       OR    44501027559
5B5B5817A5B236   LACORY                        FLEMING      KY    90008168170
5B5B5988972B36   MICHELLE                      YAMAGUCHI    CO    90011439889
5B5B59A9455941   MARCOS                        TORRES       CA    90014839094
5B5B6296497B77   ANTHONY                       GAUDET       CO    39011282964
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 267 of 2350


5B5B666295B236   MUIUAIEM         ZEREFA                   KY     90007976629
5B5B68A2772B43   GLORIA           GARCIA                   CO     90013798027
5B5B6A92333696   CHARLES          GLOVOR                   NC     12013470923
5B5B7274961975   EDUARDO          ACEVES MIRELES           CA     90015102749
5B5B7337357591   RUBEN            LOZANO                   NM     90014833373
5B5B7465A5B531   STEVE            BROWN                    NM     35082254650
5B5B7766871935   DAVID            MYERS                    CO     90005507668
5B5B7824472B67   LEETHA           PAUL                     CO     90012188244
5B5B8656384357   SHIRLEY          JENKINS                  SC     14514776563
5B5B8732557143   KAMALUDIN        SOBOURUDIN               VA     81083537325
5B5B875645715B   MICHAEL          FLORES                   DC     90010047564
5B5B881664B588   RICO             JAMISON                  OK     90011068166
5B5B9348A9712B   MARCELINO        PINEDA                   OR     90008113480
5B5B934A571935   THEODORE         BEASLEY                  CO     90012263405
5B5B946882B27B   APRIL            COX                      DC     90011454688
5B5B94A785758B   ERNESTO          PAIGE                    NM     90009814078
5B5B9786584373   SHAMEEKA         GRAHAM                   SC     90014667865
5B5B97A6884357   TAMMIE           FRIPP                    SC     90003327068
5B5B982195B399   TEODOCIA         HERNANDEZ                OR     90009588219
5B5B996524B588   ALICIA           RUIZ                     OK     90003219652
5B5B9A58A8B169   ANNA P           HERNANDEZ                UT     90004080580
5B5BB43615B236   MICHAEL          GALLAMORE                KY     90010204361
5B5BB889591356   JOSE             MUNOZ                    KS     90010728895
5B61153915B393   BEE              XIONG                    OR     90009925391
5B611762171935   DAVID AND ANNA   DUMPSON                  CO     90011877621
5B612434272B77   SANTA            GARCIA                   CO     33067404342
5B612635861971   BLAISE           NTAHONIKORA              CA     90007656358
5B612715972B27   KRISTINE         FARNSWORTH               CO     33013117159
5B613354671935   ABEL             ORTIZ                    CO     32088673546
5B61338915B236   AUSTIN           HOSLER                   KY     90014033891
5B61357325B162   FLOYD            NEELEY                   AR     90008065732
5B613647772B43   MARIA            RODRIGUEZ                CO     90001836477
5B613743372B27   TELISHA          HUSKEY                   CO     90014057433
5B61433274B28B   SANTANIA         TAYLOR                   NE     90012453327
5B614351661975   DAMARA           TYSVER                   CA     90009913516
5B614579471935   RICK             MARTINEZ                 CO     32061805794
5B614626372B43   JOEL             CANO                     CO     90015256263
5B614894A61971   DAVID            FLEMING                  CA     46029168940
5B614A8573B349   ABIGAIL          CARNEY                   CO     90011370857
5B614A95A55951   CORINA           JIMENEZ                  CA     49088320950
5B615128172B88   RITA             SALAS ROCHA              CO     33075231281
5B615779A5B393   JACOB            WALKER                   OR     44524957790
5B615811184357   LAURA            ROBONSON                 SC     90010618111
5B616269171935   DEONNA           STEPHENSON               CO     90014802691
5B6165A3472B49   JIMMY            FRANKLIN                 CO     90013915034
5B616672684373   JORGE ALBERTO    DAMIAN                   SC     90014726726
5B616879961971   ROBERT           TAUFERNER                CA     90011428799
5B617366491895   DOYLE            BURMA                    OK     90008153664
5B617426491925   TEDDI JO         WALKER                   NC     90014154264
5B617639991356   CLAYTON          SPEARS                   KS     29082186399
5B617679872B36   ANDREA           HIPWELL                  CO     90014856798
5B617771A72B27   HOLLY            ERICKSON                 CO     33013117710
5B618212161975   ISAAC            LOPEZ                    CA     90000272121
5B618357951348   CHEALSEA         MARTIN                   OH     90012443579
5B618394A5B162   JOSHUA           CURRY                    AR     23084523940
5B61844A25B387   JAVIER           CHIN                     OR     90005704402
5B618697A9712B   JAIME            FERNANDEZ                OR     90013336970
5B618733171935   CYNTHIA          AREVALO                  CO     32097867331
5B61894875758B   SERGIO           GARCIA                   NM     90007339487
5B618948A5B162   CARLIE           HOLT                     AR     90011069480
5B619212161975   ISAAC            LOPEZ                    CA     90000272121
5B6193A434B588   ASHTON           STEVESON                 OK     90010553043
5B619552198B2B   CECILIA          SANCHEZ                  NC     11098505521
5B619573471935   ALFRADO          KELLEY                   CO     32007225734
5B61967A35B399   MANRIQUE         RAMIREZ                  OR     90008166703
5B619849A55941   REGINA           TAFOLLA                  CA     90014068490
5B619894241229   LENISE           BAILEY                   PA     51016958942
5B619A3517B499   MICHEAL          PETTICE                  NC     90008620351
5B61B224772B77   NANCY            SALAS                    CO     90013292247
5B61B38379712B   MICHAEL          EASTERLY                 OR     90013983837
5B61B72675715B   TERESA           SORIANO                  VA     90014917267
5B61B97755B283   SALOUM           CEESAY                   KY     90006589775
5B621122A9712B   ANA              CONTRERAS                OR     90002011220
5B62144195B244   ASHLEY           TREGO                    KY     90010314419
5B621776657591   GRANT            KEEVER                   NM     90012967766
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 268 of 2350


5B621978371935   MAGIC        SALEH                        CO     90001089783
5B6219A5657157   CHAE         HUNTER                       VA     90013679056
5B621A28331429   NATASHA      MCKEE                        MO     90004000283
5B621A81384373   EUGENIA      JACKSON                      SC     90000110813
5B62215634B588   DESMOND      NORDYKE                      OK     90014021563
5B622761272B88   BHIMA        ADHIKARI                     CO     33065427612
5B623111533696   PATRICE      WHITE                        NC     12058641115
5B623139572B88   RICHARD      RAMIREZ                      CO     33036241395
5B62338335758B   GABRIEL      MOYA                         NM     90012723833
5B62351935B531   IGNACIO      LOPEZ                        NM     90010025193
5B62354145B387   EWARD        WILSON                       OR     90005285414
5B623756255941   ALMA         CONTRERAS                    CA     48048017562
5B623793672B49   ANTHONY      HODSON                       CO     90007507936
5B623811571935   CHIRS        RUDNICK                      CO     32098308115
5B62384777242B   RYAN         TRESATTI                     PA     90013108477
5B6239A7297B77   RON          TAFOYA                       CO     39028019072
5B624112357157   KRISTAL      BOUNCER                      VA     90007771123
5B62455AA2B862   JESSE        SCHOCH                       ID     90014155500
5B6245AA472B46   BELICA       MARTINEZ                     CO     33027645004
5B62461985715B   JORDAN       REYES                        VA     90008906198
5B62491285758B   JOSE         ESPARZA                      NM     35516979128
5B62558575715B   CRYSTAL      WILLINGHAM                   VA     90011305857
5B625714298B2B   BELINDA      VILLALTA                     NC     90005297142
5B625919472B88   GUSTAVO      BARRAZA                      CO     33065429194
5B62594324B588   CHARLIE      RYGHT                        OK     21552249432
5B62615592B27B   SOLOMON      M ZIKARGE                    DC     90010221559
5B6265A2272B27   BERNALDO     MARTINEZ                     CO     33052905022
5B626972297B68   LUIS         ALBERTO                      CO     90013939722
5B626979172B88   JUSTIN       HAUPTMAN                     CO     90003259791
5B627136538598   JUAN         CALDERON                     UT     90014521365
5B62725655B522   DOMINIC      LOPEZ                        NM     90011012565
5B627268755941   PETE         CORTEZ                       CA     90012122687
5B62748A75B236   JESSIE       PORTMAN                      KY     90014574807
5B627582591356   JOSE         AMADOR                       MO     29010185825
5B627775431428   PAUL         POWERS                       MO     27562867754
5B627943957157   GLORISMEL    PENA                         VA     90000879439
5B627977672B88   ROBERTA      RINGQUIST                    CO     90008989776
5B62813255B393   TIM          COOLE                        OR     90011141325
5B628689276B75   JOHN         CAMACHO                      CA     90010656892
5B62869855B399   MARK         WILLIAMS                     OR     90014466985
5B628A2974B55B   JOSEPHINE    LAROCK                       OK     90008600297
5B628A5A576B75   JOSEPH       BRANDON                      CA     90013450505
5B629293533699   TERRY        LEAK                         NC     12019672935
5B62978A35B399   ARACELI      VALERA                       OR     90013097803
5B629A14584357   KRISTEN      MCALHANEY                    SC     90013880145
5B629AA665B531   GORDON       BOX                          NM     90008500066
5B62B22555758B   VALERIE      QUINTANA                     NM     90010952255
5B62B278172B49   BRADY        WEBSTER                      CO     33013802781
5B62B411891356   CASSANDRA    CHANEY                       KS     90014834118
5B62B998685821   AMADAIT      AVILES                       CA     90012969986
5B631273991356   LAURA        DENISE                       KS     90014662739
5B6312A6661971   AFRAH        SHAREEF                      CA     46060942066
5B6314A715715B   RODOLFO      DOMINGUEZ                    VA     81067694071
5B631573271942   RAYMOND      JORDAN                       CO     90010525732
5B63171535B387   MIKE         NYQUIST                      OR     90014817153
5B63172A684373   SHELBY       CLARK                        SC     90014707206
5B631A19985821   SOUFRANT     ROBINSON                     CA     90013790199
5B632152972B43   ROSA         DELIA                        CO     90006541529
5B632288197B54   MARTHA       TORRES RAMIREZ               CO     90010672881
5B632537955941   MARIA        RODRIGUEZ                    CA     48014745379
5B632684A61975   EDGARDO      MONTECLARO                   CA     90003606840
5B632745984373   TAMEKA       ODOM                         SC     90014707459
5B632782372B27   MICHELLE     TOLAR                        CO     33043227823
5B6328A835B162   PAYGO        IVR ACTIVATION               AR     90015568083
5B632AA665B531   FRANCES      ROMERO                       NM     35029210066
5B63317315B283   TINA         MATTHEWS                     KY     90001941731
5B633527A5B236   MICHELLE     COMPTON                      KY     90014925270
5B633564261971   JAMES        PRESTON                      CA     46065545642
5B6339A1498B2B   SILVIA       BARRIENTOS                   NC     90001779014
5B63428137242B   NATE         JOHNSTON                     PA     90014182813
5B63462A65B236   RICHARD      LUCE 111                     KY     90005376206
5B6348A7676B75   ZURI         REYES RAMIREZ                CA     90013548076
5B634913472B77   LUISA        VALENCIA                     CO     90001939134
5B634927931429   PAM          BUECKENDORF                  MO     27513249279
5B63525615B543   DORA         BORUNDA                      NM     35040382561
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 269 of 2350


5B635277197B77   ASHLEY        STEPHENS                    CO     39010992771
5B63529137B46B   DENISE        HARRIS                      NC     11074172913
5B635398A55941   JULIAN        FRAIRE                      CA     90011013980
5B635584791356   CHARLENE      HENSHAW                     KS     90010165847
5B635A38684357   PATRICIA      GONZALEZ                    SC     90012730386
5B63612A451348   MARGARET      KELLY                       OH     66044391204
5B636549597B77   DAMARIS       HERNANDEZ                   CO     39092355495
5B636564284357   ISAAC         PARKER                      SC     90007175642
5B636571333696   LINDA         HARRIS                      NC     90011395713
5B636788A84373   STEVEN        PRICE                       SC     90014707880
5B636A95A5B236   BRIAN         HODGE                       KY     90014910950
5B637249384357   NIKKI         LATHER                      SC     90013232493
5B637393633696   RAYSHUNN      HICKMAN                     NC     90003533936
5B63751987242B   CRYSTAL       DICKANT                     PA     90012065198
5B63798765B399   STEVEN        HAGEN                       OR     90013209876
5B63833177242B   WATSON        FETTY                       PA     90013963317
5B638554572B77   JESSICA       ASADURIAN                   CO     90008575545
5B63873865B236   TOI           CRAWFORD                    KY     90005647386
5B63874A431429   NICOLE        WOODSON                     MO     90006497404
5B63893515B162   SAMMY         NELSON                      AR     90014139351
5B638A85457157   LISA          CANNON                      VA     90013030854
5B638A9925B399   ANTHONY       SKILLINGS                   OR     90014450992
5B639311972B27   JOSE          FLORES                      CO     33072783119
5B639453272B49   CHRISTOPHER   BUELS                       CO     90015194532
5B639762533696   ROCHAELLE     SUTTON                      NC     90009187625
5B63983797B496   RICHARD       RIOS                        NC     90013028379
5B63B14225B162   JESSE         JONES                       AR     90015141422
5B63B175972B36   MARY          EVERTTS                     CO     90012361759
5B63B439457157   DELIS         VENTURA                     VA     81041184394
5B63B728324B7B   DULCE         SCHWARTZ                    MD     90012047283
5B641136957591   MONICA        CASTRO                      NM     90014691369
5B64132787242B   DAVID         ESPEY                       PA     51083743278
5B641531A4B28B   SHANNON       CAUGHEY                     NE     90000675310
5B64183495715B   JERSON        FUENTES                     VA     90013248349
5B641917576B75   KARINA        TORRES                      CA     90013039175
5B64237395B162   DANIELLE      WEST                        AR     90009163739
5B642614197B77   GUADALUPE     CHAVIRA-COTA                CO     39068226141
5B643182572B88   PEDRO         HERNANDEZ                   CO     33001511825
5B64327475B387   KENT          BRAND                       OR     44517332747
5B6433AA391356   ELVIRA        SIMPSON                     KS     29072773003
5B643899933699   HENRIETTA     ARMSTRONG                   NC     90012108999
5B6438A4272B28   JULIA         MORALES                     CO     90002798042
5B644419561971   ADRIANA       RODRIGUEZ                   CA     46070324195
5B644525233699   CYDNEY        MARTIN                      NC     12064615252
5B644641A38598   TAMARA        DIDAS                       UT     90004886410
5B64478512B862   ADAM          KENYON                      ID     90013307851
5B64485899712B   CRAVEN        DARKHEART                   OR     90014398589
5B644996957157   FARRUKH       SABIR                       VA     90012319969
5B645328984357   ASHLEY        RAMOS                       SC     90011513289
5B64544A472B77   TOUCH         ACLASSIC                    CO     90001714404
5B645521151348   ERNEEN        CHERRY                      OH     90003705211
5B64616A25758B   CLAUDIA       GUTIERREZ                   NM     90008711602
5B64648626198B   JACKELINE     PEREZ                       CA     90008644862
5B64695484B588   MINNIE        LIDY                        OK     90011049548
5B646976691356   SAMUEL        MELSON                      KS     29086499766
5B6477A6676B75   RICHARD       CORTEZ                      CA     90011477066
5B6481AAA71935   LANCE         NELSON                      CO     90004841000
5B648295891356   MARLENE       BROWN                       KS     90015362958
5B648562372B67   JUANA         RANGEL                      CO     33025235623
5B64871325B387   AMPARO        MIRONES                     OR     44513777132
5B64899814B588   BRIANA        WOODBERRY                   OK     90006589981
5B649514661548   RICARDO       SANTILLAN                   TN     90011515146
5B649648385821   VICTOR        RODRIGUEZ                   CA     90006656483
5B64979A884357   ARIEL         SZUCS                       SC     90014907908
5B649AA5141229   CARL          DOSS                        PA     51013910051
5B64B1A2A85821   JUAN          PEREZ                       CA     90015341020
5B64B38275B271   BRYAN         NIETO-VATTIERRA             KY     90002133827
5B64B73599712B   WILLIAM       THOMAS                      OR     90013597359
5B64B935984357   ANSON         SINGLETON                   SC     90001289359
5B6513A7731429   BEVERLY       OLIVER                      MO     27510173077
5B651742198B2B   LAKISHA       FALKS                       NC     11065787421
5B65182135B393   ATANACIO      AVELLANEDA                  OR     90010938213
5B651A5475B236   SHARON        MORRISON                    KY     90012690547
5B65244819712B   DIONISIO      FUENTES                     OR     44536204481
5B6526A5A72B77   ROBERT        HOUK                        CO     90008206050
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 270 of 2350


5B652821457591   JOSE         GALLARDO                     NM     90015298214
5B652989961975   MARIA M      ARAMBURO                     CA     90013209899
5B652A9925B399   ANTHONY      SKILLINGS                    OR     90014450992
5B653167A5B399   TINA         HERNANDEZ                    OR     90012301670
5B65326A79373B   GWENDOLYN    WRIGHT                       OH     90001312607
5B65333835B162   ROSA         AMAYA                        AR     90013323383
5B65334412B27B   ROBIN        ROBERSON                     DC     90011073441
5B65339147242B   DIANE        GRAFT                        PA     90013963914
5B65365525B399   RYAN         KUMM                         OR     90009136552
5B653A25A84357   KARINA       MUJICA                       SC     90014290250
5B653A27A4B553   JOLENE       SALSMAN                      OK     90010970270
5B65433745B399   JAMES        MOTTRAM                      OR     44557983374
5B654376391356   JESSIE       FARMER                       KS     90010813763
5B654868A72B46   TERESA       ALMANZA                      CO     90008548680
5B654918A57591   KAREN        ALANIZ                       NM     35587869180
5B65525715B531   BERTHA       VELASQUEZ                    NM     35021922571
5B65576239712B   YOUSSEF      MAHMOUD                      OR     90001637623
5B65618164B28B   SHERRY       KAGE                         NE     26056721816
5B656755161971   SONIA        SHAMAN                       CA     90011127551
5B656853671935   SHERRY       CISNEROS                     CO     90010788536
5B65698987B461   RAFAEL       TORREZ                       NC     11096599898
5B656A4A797B77   SANJUANA     CARLOS-REYES                 CO     90008170407
5B65727375B543   MARY         SOZA                         NM     90001272737
5B65746245B393   FELIX        ESTARDA                      OR     90008974624
5B6575A2484373   ZARIAN       BRELAND                      SC     90014715024
5B65765378B169   ALFREDO      CEJA                         UT     31008626537
5B65784225B162   LEONCIO      HERNANDEZ                    AR     23000198422
5B657963A71935   DONITA       ROCHE                        CO     90002439630
5B65842764B588   DONNELL      CHEADLE                      OK     90014344276
5B658A95191895   BRYAN        WATASHE                      OK     90010880951
5B659833338598   AMY          SHERMAN                      UT     90013198333
5B65B21A75B399   CAROL        GOULD                        OR     90008892107
5B65B274372B67   ARACELY      JIMENEZ                      CO     90001782743
5B65B35A797B77   TAYLER       BARRAZA                      CO     90009183507
5B65B44819712B   DIONISIO     FUENTES                      OR     44536204481
5B65B757472B36   MORGAN       WOODS                        CO     33062777574
5B65B82425B399   FLAVIA       BULAMBO                      OR     90012588242
5B65B89795715B   DANIELLE     RATHBUN                      VA     90010968979
5B661519584373   NATHANIEL    CRISWELL                     SC     90014715195
5B661523861971   CONNIE       WALKER                       CA     90003015238
5B6621A6A5713B   NELSON       DIAZ                         VA     81073851060
5B66226AA57591   MARCO        PEREZ                        NM     90011882600
5B662532A5B393   JAVIER       GARIBAY                      OR     90013325320
5B662716761975   MIIGUEL      CENICEROS                    CA     90013677167
5B66293347242B   HELLEN       HAZEN                        PA     51062919334
5B663272A61971   MELISSA      HEYNAR                       CA     90008442720
5B663331991895   JENNIFER     DENNIS                       OK     90014493319
5B66341929712B   MARIA        URBANO                       OR     90012154192
5B663422A57591   EDITH        GALLEGOS                     NM     90014814220
5B663515884357   DWAYNE       LADSON                       SC     90014835158
5B663589597B77   RHONDA       LITTLE                       CO     90010055895
5B664153961971   ROMULA       RUIZ                         CA     90008351539
5B66425325B543   DIANA        PARRA                        NM     35068422532
5B66429A62B27B   GWENDOLYN    PUGH                         DC     81051882906
5B664328571935   WILLIAM      PRYGON                       CO     90012143285
5B664552191356   JOSE         ORTIZ                        KS     90007575521
5B664553884373   STANLEY      NELSON                       SC     90014715538
5B66455669712B   CALIXTO      HERNANDEZ REYES              OR     90009645566
5B66462435715B   JOSE         MENDEZ                       VA     90012036243
5B664833338598   AMY          SHERMAN                      UT     90013198333
5B66487145758B   ELLEN        REEVES                       NM     35500908714
5B664A41984357   KIANNA       BRITTON                      SC     90004770419
5B66531A355935   SENG         MOUA                         CA     90008143103
5B66551935B531   IGNACIO      LOPEZ                        NM     90010025193
5B665566455941   VIRGINIA     OLIVERA                      CA     90011705664
5B665746672B27   JUAN         MARQUEZ                      CO     90012797466
5B6657A7272B46   NORMA        CISNEROS                     CO     90005107072
5B665A39971935   JANE         TIPPETT                      CO     90008070399
5B666148542363   DONNA        QUALLS                       GA     90006381485
5B666677A72B36   LETICIA      RAMIREZ                      CO     90013536770
5B66736575B236   RONDA        TURNER                       KY     68039673657
5B66756118B169   ELOISA       GODINEZ                      UT     31073385611
5B66768A64B28B   RAQUEL       CORBIN                       NE     90011066806
5B66811455B162   SHERRY       GIBBS                        AR     90002011145
5B6683A5271935   MIGUEL       ANGEL                        CO     32068453052
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 271 of 2350


5B668524333157   JUAN          ACEVEDO                     IL     90014565243
5B668538161971   JULIO         MARTINEZ                    CA     90014855381
5B66855A62B27B   DEWAIN        JACKSON                     DC     90012225506
5B668747633696   GREGORY       CASTERLOW                   NC     12054897476
5B66929777242B   KATHLEEN      WOOD                        PA     90014972977
5B66957A84B588   JORDAN        NIX                         OK     90010745708
5B669772197B54   JOSHUA        ROCKE                       CO     90006407721
5B66985155B387   JIM           CANCHE                      OR     90006528515
5B669A25172B43   MARCELLA      OLIVER                      CO     33008740251
5B669A5445715B   KELVIN        DERAS                       VA     90014970544
5B66B135931429   NICK          TAYLOR                      MO     90011521359
5B66B216376B75   NICHOLAS      DIPIAZZA                    CA     90014442163
5B66B232572B49   ANDOLPHO      ARCHIEBEQUE                 CO     90014752325
5B66B345384357   AVA           MAJOR                       SC     90003453453
5B66B42285758B   PETER         TAUER                       NM     90012054228
5B66B7A2A7B46B   LUKE          JOHNSON                     NC     11010017020
5B66BA95351348   ALBERT        LONG                        OH     66038760953
5B67128185B162   JAMES         MCKA                        AR     90014642818
5B67176A32B851   STEPHANIE     PENA                        ID     42056737603
5B671992855941   NICOLE        PRATT                       CA     90014839928
5B6721A9438598   FERNANDA      PANTOJA-OCHOA               UT     90012801094
5B67229855715B   WILFREDO      BONILLA                     VA     90012072985
5B672567A91356   JAMES         WATKINS                     KS     90014885670
5B672639A2B27B   GERMAN        ORANTES                     DC     90013326390
5B672679884373   STEVEN        BROOKS                      SC     90014716798
5B67281212B851   BRITTNEY      LAWE                        ID     90007928121
5B673391861975   JULIO CESAR   BARRON                      CA     90014363918
5B6733A895B387   INOCENCIO     MEJIA                       OR     90011923089
5B673829291895   COURTNEY      ALSIP                       OK     90010658292
5B67398625B543   RITA          GRANADOS                    NM     90009839862
5B67411325B393   CHRIS         MC MILLIN                   OR     44586291132
5B674143257591   MIRANDA       ZUNIGA                      NM     90014801432
5B674344A57B81   WILLIAM       CHRISTINE                   PA     90013833440
5B67457165B283   DANIEL        CRABTREE                    KY     68009345716
5B674938372B27   AMANDA        SCHELLINGB                  CO     90015489383
5B67522958166B   TAMIKA        HYLER                       MO     90013492295
5B675393257157   YIMMI         TORREZ                      VA     81069853932
5B675A4955B531   TERRYL        TORRES                      NM     35001100495
5B676249972B43   RENEE         WALKER                      CO     33062052499
5B676424772B36   CARLOS        QUINTANA                    CO     90012084247
5B676534172B67   LISA          AULT                        CO     90005095341
5B6766A5372B49   PHUOC         NGUYEN                      CO     33028936053
5B67692537B46B   DENEEN        SUTHERLAND                  NC     11027759253
5B676936461975   ROBERT        ROMERO                      CA     90012249364
5B67694755B236   DEBRITA       WELLS                       KY     90013779475
5B67726183B39B   UBERTINO      MARTINEZ                    CO     33092752618
5B6773A2872B36   VICTOR        GARCIA                      CO     90007313028
5B67759955B236   ASIA          FOWLER                      KY     90011365995
5B67785AA57591   DAVID         STALWORTH                   NM     90013558500
5B6778A388B189   FRANCISCO     MIRALES                     UT     31077498038
5B677958161975   ANDREA        GARCIA                      CA     90012999581
5B677A83472B88   JOSE          LEYVA                       CO     33041100834
5B67828185B162   JAMES         MCKA                        AR     90014642818
5B67857124B588   MARIA         TREVIZO                     OK     90014545712
5B679132961975   SARAH         LWIS                        CA     46010141329
5B67918282B851   JOSHUA        DANIEL                      ID     90010591828
5B67929A22B851   JOSHUA        DANIEL                      ID     90013742902
5B67949A176B75   BERNARDA      VILLA                       CA     46015654901
5B679754A97B77   SELMA         ORTIZ                       CO     39035047540
5B679885331428   CATHERINE     HACKE                       MO     27588278853
5B679895A71935   MILES         IUSTIN                      CO     90003828950
5B679A47357B23   TINA          CRISAFI                     PA     90015150473
5B67B58515758B   ROBERTO       SANTOME                     NM     90013685851
5B67BA86972B27   PAOLA         MONTANAS                    CO     90010390869
5B6812A8172B49   PHILLIP       MEDINA                      CO     90010242081
5B681424884357   ALVINA        GADSON                      SC     90005634248
5B681453251376   KEVIN         MOLLOY                      OH     66076884532
5B681699933692   MONICA        RUBIO                       NC     90006246999
5B681919A7242B   LYDIA         CARSON                      PA     90004829190
5B682213233696   MATTHEW       FAIRCLOTH                   NC     90010772132
5B682245257157   LAUREN        ROUCKA                      VA     90013002452
5B68266272162B   CHISA         JAMES                       OH     90014156627
5B68277415715B   FLOR          SANTOS                      VA     90014197741
5B68345695B236   MANUEL        LEON                        KY     90008354569
5B683A18391356   JESSICA       DEARINGER                   KS     90010820183
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 272 of 2350


5B68444155758B   ALBERTO           OROZCO                  NM     90012794415
5B6845A6472B88   MARIBEL           GARCIA                  CO     33060875064
5B68462892B851   STEPHEN           RODRIGUEZ               ID     90008606289
5B68485AA91895   THANG             MUN                     OK     90014758500
5B684A2365B399   TOMMY             SKIPPER                 OR     90000400236
5B684A2A661975   MARIANO           ARISTA                  CA     90015130206
5B684A91557591   MANUEL            PADILLA                 NM     90003980915
5B68514437B468   ALYSHA            ANDERSON                NC     90003761443
5B685256A5B162   MEKAH             JOYCE                   AR     90013862560
5B685526384373   LATOYA            JOHNSON                 SC     19033575263
5B685572491895   JENNIFER          RAY                     OK     90013645724
5B6856A7272B49   MARIA             VALIENTE                CO     33096296072
5B68581A587B39   MARCUS            RAGLAND                 AR     23097438105
5B68591182B862   VALERIE           CROSS                   ID     90014869118
5B685A37258528   MARIO             MOORE                   NY     90011200372
5B68613A57242B   TONYA             GOSS                    PA     51088341305
5B6865A135B393   DAVID             WHITE                   OR     90010185013
5B686629733696   JOHN              JOHNSON                 NC     90011616297
5B686777397B54   CHERIE            HUTCHINS                CO     39022667773
5B686999291356   ANTHONY           EDWARDS                 KS     90013279992
5B687116671935   JACQUELINE        STUCKEY                 CO     90012531166
5B687213457541   TRICIA            SAUCEDO                 NM     90011612134
5B687279451348   ANGIE             DAMEN                   OH     90005502794
5B68739385758B   JESSICA           THOUVENELL              NM     90007573938
5B687424884357   BRADU             MILEDGE                 SC     90012914248
5B68783A785821   MONSERRAT         RIVERA                  CA     90012928307
5B687A6929712B   TIM               SANDVIG                 OR     90013960692
5B687A7765B399   SAMANTHA          TROXEL                  OR     90008980776
5B687A9A95B543   MARIA             ESPINOZA                NM     35089650909
5B68838285715B   EDWIN             CASTRO                  VA     90015143828
5B688396A5B236   DEJUAN            JACKSON                 KY     68017133960
5B688596961971   TRINETTA          MCCLAIN                 CA     90013255969
5B6887A3272B27   PHILLIP           ROSS                    CO     90005377032
5B688942761552   JULIO             HERNANDEZ               TN     90013369427
5B689439991895   ROBIN             RICHARDSON              OK     21088804399
5B689674355941   GUSTAVO           LOZOYA                  CA     90012316743
5B691257372B77   RENA              ZORN                    CO     33047622573
5B691623A91895   GLENDA            BURKETT                 OK     90008766230
5B691A17657591   JESUS             VILLA                   NM     90014910176
5B691A3915758B   SARA              WOOTEN                  NM     90014470391
5B69276127192B   ROSALBA           JUAREZ                  CO     32029697612
5B69322A84B588   CYNTHIA           GROTH                   OK     90014812208
5B69345499712B   CARLOS            PINA                    OR     90010764549
5B69358255715B   ALEJANDRO         NGEL                    VA     90013165825
5B693644376B75   ERICA             LOFMARK                 CA     90014386443
5B693835738598   JENNIFER          JENKINS                 UT     90012388357
5B693A62A71935   ANTHONY           HOWLETT                 CO     90013950620
5B693A7675B236   DESHAWNA          LEWIS                   KY     90007990767
5B6944A4A5715B   LISSETH           ESCOBAR                 VA     90013094040
5B69459519712B   CHERYL            WOOD                    OR     90010965951
5B694699572B27   PHILLIP           BARROS                  CO     33043746995
5B694763441221   MICHAEL           SWIECH                  PA     51086277634
5B69488755B393   MADHIEL           AVILA                   OR     90004518875
5B694961161975   VIRGINIA          QUINTERO                CA     90012999611
5B694A89272B77   BRIANA            NOVAK                   CO     33082420892
5B69518A24B251   JOSEPH            BOLDAN                  NE     27001291802
5B69536345B387   MICHELLE          JONES                   OR     44518173634
5B695492597B77   ISIS              VALDES                  CO     39089674925
5B69552677B46B   JONATHAN          DAVIS                   NC     90011195267
5B695789784373   AMY               HILL                    SC     90014727897
5B695A6287242B   SUZANNE           CUTLER                  PA     90011640628
5B69627222B27B   KENYA             THORTON                 DC     90014282722
5B69645A172B27   ASHLEY            BEAZER                  CO     90014044501
5B69652517B46B   YOHANA            CIBRIAN                 NC     11014035251
5B69655872B851   PAUL              MORRISON                ID     42088355587
5B69666712B27B   KENYA             THORTON                 DC     90014516671
5B697156A2B27B   ANDREA            JOHNSON                 DC     90014171560
5B697485357157   CARLOS            RODRIGUEZ               VA     81020064853
5B69757745B531   ELIZABETH         DE LA TRINIDAD          NM     90001185774
5B698511284373   SAMATHA ELEANOR   JOHNSON                 SC     90010725112
5B698873672B27   MARTHA            ROMERO                  CO     33033078736
5B698A13955941   RAMIRO            MUNOZ                   CA     90010260139
5B699396872B88   ELIZABETH         CASTILLO                CO     90007673968
5B699541438598   BRANDEN           OLSEN                   UT     90013245414
5B69975147242B   ZACHARY           BREEGLE                 PA     90011367514
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 273 of 2350


5B69991825B531   LINDA         SANDOVAL                    NM     35021759182
5B69B135A7B46B   ITANIA        SHINN                       SC     11034601350
5B69B41325B162   NICOLE        FORBES                      AR     90008954132
5B69B4A945B236   DARREL        RICHARDSON                  KY     90009864094
5B69B622491895   RIKKI         HILTON                      OK     90008766224
5B69B74315B393   ESPERANZA     GALLARDO                    OR     44573667431
5B69B81835758B   REYES         EDUARDO                     NM     90008568183
5B69B952455941   GERARDO       ARELLANO                    CA     90000529524
5B69BA1425B399   DANA          MAJERAK                     OR     90011650142
5B6B1378731429   ALFREDIA      BONS                        MO     90005723787
5B6B1591897B77   BARBARA       CHRISTEN                    CO     39030145918
5B6B164863B349   JOSE          MELCHOR                     CO     90001556486
5B6B1755938598   PAUL          RUBIO                       UT     90013167559
5B6B183AA72B36   SANDRA        BOWEN                       CO     90013018300
5B6B1862A9712B   STEVEN        HEBERT                      OR     90009688620
5B6B1A45A31434   TERRICK       WILSON                      MO     90014560450
5B6B1A93972B27   JOSE          CANO                        CO     33041040939
5B6B2183A72B43   MARCOS        QUEZADA                     CO     33051461830
5B6B231895B531   MATEO         MARTINEZ                    NM     35059033189
5B6B241269712B   EVA           MIJARES                     OR     44562134126
5B6B282135B397   ATANACIO      AVELLANEDA                  OR     90010938213
5B6B291212B862   MELISSA       BROSSARD                    ID     41017909121
5B6B2A9125B393   MARIA         CASTILLO                    OR     90015010912
5B6B2A96685821   BRITNEY       GOMEZ                       CA     90012940966
5B6B3217731551   JOANNE        MERRITT                     NY     90013702177
5B6B3252772B43   JENNIFER      HENRY                       CO     90000182527
5B6B34A3991356   EUGENE        BELKE                       MO     90015364039
5B6B3586276B75   ELIZABETH     VELAZCO                     CA     90014895862
5B6B3797672B36   SARAHI        BARRAZA                     CO     90000907976
5B6B387215B531   MARINA        CORTEZ                      NM     35051138721
5B6B428A272B36   KEN           MAHER                       CO     33087262802
5B6B4351585821   MARTHA        HERNANDEZ                   CA     90009693515
5B6B454755B531   VICTOR        MENDEZ DIAZ                 NM     35002455475
5B6B4585272B27   BILLI         LUCERO                      CO     33056085852
5B6B4634861975   GABRIEL       GUERRERO                    CA     90014426348
5B6B4916457591   MONIQUE       LARA                        NM     90013099164
5B6B5194372B49   LAURA         MCCLAIN                     CO     90011321943
5B6B526255715B   AARON         MCCORMICK                   VA     90012912625
5B6B573A88B169   MANDA         WAGSTAFF                    UT     90010327308
5B6B5763172B46   CANDICE       BRANDON                     CO     90008547631
5B6B581525B543   ANTHONY       GUTIERREZ                   NM     35078358152
5B6B5A79533692   MICHAEL       BETHEA                      NC     90009510795
5B6B5A95791895   DARYL         QUIRMAN                     OK     21080620957
5B6B652285B236   DONTA         SMITH                       KY     90014155228
5B6B6711955941   JOSE          SANTS                       CA     90013717119
5B6B6716351348   JOSEPH        MEYER                       OH     90014287163
5B6B6829957591   GRACIELA      VEGA                        NM     35570278299
5B6B6875955951   ERICKA        GAINES                      CA     90005848759
5B6B731115B162   LEONARD       BAKER                       AR     23038493111
5B6B768255B393   JACOB         STOCKTON                    OR     90011856825
5B6B7891151348   JOSE          TIRO                        OH     66087638911
5B6B8245255941   ADAM          WYAT                        CA     90012742452
5B6B8312184357   TINA          WILLIAMS                    SC     14548473121
5B6B8722451348   ANNETTE       MEYERS                      OH     90014287224
5B6B875217242B   MARIAN        WILCOX                      PA     90014177521
5B6B8841633696   WHITLEY       WEBBER                      NC     90009178416
5B6B89A5784373   WAYNE         HAMPLETON                   SC     19039669057
5B6B9A4464B28B   JESSICA       WILSON                      NE     90014490446
5B6BB44A551351   BRUCE         SCOTT                       OH     90012584405
5B6BB47318164B   SHANIKA       WHITLEY                     MO     90005504731
5B6BB687A5B531   LEMUEL        JONHSON                     NM     90006466870
5B6BB86745B393   ROSARIO       PENA                        OR     44535858674
5B6BB8A6A72B36   CHARLESTENE   LEVY                        CO     90006948060
5B711126671935   LAURA         MONTANO                     CO     90004841266
5B71166535B393   RYAN          GANNON                      OR     90013646653
5B712121838598   TESS          GIBB                        UT     90013221218
5B712226576B75   MARGARITA     GASPAR                      CA     90013402265
5B71253625715B   FANNY         DURAN                       VA     90014175362
5B7126A812B252   LISA          PETERS                      VA     81013506081
5B71271725758B   PAYGO         IVR ACTIVATION              NM     90013487172
5B712759272B43   TECHMANSKI    NICKIE                      CO     33060097592
5B7127A275B387   DANYA         BRIEN                       OR     44517347027
5B71287115B399   PATTY         BAXTER                      OR     90012228711
5B712A46357591   MEDRANO       VIRGINIA                    NM     90005190463
5B7135AA47B46B   MYOSHIE       FORBES                      NC     11043995004
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 274 of 2350


5B7136AA455951   MARIO        GARCIA                       CA     49080146004
5B713744257157   CHERICE      JOYNER                       VA     90013227442
5B71394382B851   KENNETH      LONG                         ID     90002159438
5B713A32171935   RUSTY        SCHACKLEFORE                 CO     90015140321
5B71418A571935   MARGRET      ROMERO                       CO     90013321805
5B714224872B77   FILIBERTO    RUBIO-SANCHEZ                CO     33069032248
5B714592872B43   JOSHUA       SMITH                        CO     90009935928
5B71492AA84373   ABIGAIL      MCGILLIVRAY                  SC     90014719200
5B71546A476B75   SOCORRO      ASCENION                     CA     46053564604
5B715749238598   JUSTYN       SUDWEEKS                     UT     90013227492
5B71574954B588   MICHELLE     REEVE                        OK     21505997495
5B71594735B243   TAMIKA       SAUNDERS                     KY     90005619473
5B716393597B77   GREG         ROGERS                       CO     90010543935
5B716417872B67   MICHELLE     PARKERSON                    CO     33000454178
5B716A8319712B   DORA         CSUHA                        OR     90013960831
5B716AA5772B46   GLADYS       VILLAGRAN                    CO     90008550057
5B717136772B27   WILLIAM      REYES                        CO     33024821367
5B7171AA233696   MICHAEL      CARROLL                      NC     90010561002
5B717443172B43   JACKIE       KENDRICK                     CO     33008224431
5B7177A3585821   LARRY        HILL                         CA     90015197035
5B717948872457   GREGORY      CUMMINS                      PA     90001179488
5B717AA6572B46   STEVE        LATIMER                      CO     90008550065
5B718286976B75   RAFAEL       ABARCA                       CA     90007772869
5B71833495B162   JOSE         FLORES                       AR     90013583349
5B71841515B399   KATHLEEN     BYBEE                        OR     44579084151
5B71897A84B588   CARLA        SAARET                       OK     90014369708
5B719547538598   RAYMOND      MURO                         UT     90010975475
5B719659933699   RODERICK     DAVIS                        NC     12038376599
5B719663861971   CANDICE      HEDRICK                      CA     90014586638
5B71966525B236   KYLE         HASH                         KY     90013576652
5B71969655758B   KATHERINE    ROSALES                      NM     90013256965
5B719831784373   KYLONA       GARRETT                      SC     90014728317
5B7198A7157157   CAMELLIA     MILLS                        VA     90014938071
5B71B17355758B   DEVAN        NIETO                        NM     90002241735
5B71B26114B28B   AMBER        PAYNE                        NE     90014602611
5B71B387697B77   JOSE         DE JESUS                     CO     90010543876
5B722124571935   VITORIA      REYES                        CO     90014531245
5B722133585821   ROBERTO      VALENCIA                     CA     90014061335
5B72216175B399   LAURA        FRISWOLD                     OR     44518651617
5B722197972B49   JESUS        VALENTE VANEZ                CO     33087661979
5B72229969712B   JOSHUA       RICKE                        OR     90014282996
5B7229A8461971   DEANA        GILKES                       CA     46060559084
5B722A44657591   CELIA        ONTIVEROS                    NM     90011180446
5B72328AA7B347   KATHY        CASRO                        VA     90011692800
5B723867457591   STEPHANIE    GPNZALES                     NM     90014168674
5B7238A4461971   ALISHA       CASTEEL                      CA     46006968044
5B724479242335   TIERA        LYLE                         TN     90015544792
5B724523655941   RUBEN        PEREZ                        CA     90012115236
5B724548172B27   SHANA        PHILLIPS                     CO     90013445481
5B72478127B394   BRIAN        PALOMBO                      VA     81043427812
5B725126A9712B   KAREN        BERGER                       OR     90013721260
5B725462584357   MYRON        MILLER                       SC     90011304625
5B725497A4B588   TONI         CALDWELL                     OK     90011144970
5B725542884373   TIMOTHY      MCKUHEN                      SC     90010965428
5B72562795B543   MICHELLE     SNIDER                       NM     35020206279
5B7259A3A5B387   PAMELA       ZENGEL                       OR     90004249030
5B725A74A5B162   JUAN         REJES                        AR     23015280740
5B72629484B28B   DELYNN       SLEDGE                       NE     90014602948
5B7262A867242B   ERIC         WILSON                       PA     90013262086
5B726466472B77   GLENN        GARCIA                       CO     33023274664
5B72646782B272   ALEXIS       PORTILLO                     DC     81096544678
5B7264A4941229   LORI         GIGANTE                      PA     51068654049
5B72666847B46B   MARIA        GONZALEZ-LOPEZ               NC     11068246684
5B72718A92B27B   BEVERLY      OBRIEN                       DC     90009581809
5B72734879712B   TWILA        STEWART                      OR     90015223487
5B72738884B588   HIRAYDA      MORALES                      OK     90010393888
5B727648333696   DERITRA      MCNAIRY                      NC     12009696483
5B72765765B162   JACKIE       ANGEL                        AR     90011516576
5B72814A95715B   JOSE         SANTOS RUIZ                  VA     90015101409
5B72838315B162   VERA         JORDAN                       AR     90013433831
5B728667872B49   DARLENE      TURNER                       CO     33024916678
5B728753371935   ANGEL        MOORE                        CO     90013897533
5B7287A255B531   LINDA        ARMIJO                       NM     90013387025
5B728A9714B28B   MARGUERITE   HARLAN                       NE     90014460971
5B72924375B236   HEATHER      NEELLEY                      KY     68000632437
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 275 of 2350


5B729276985821   SANDRA         SCHWARTZ                   CA     46082482769
5B72941854B28B   JESHENA        GOLD                       NE     90014814185
5B72943984B588   ZAKKERY        GARZA                      OK     90010214398
5B72947617242B   TINA           SMOREY                     PA     51083064761
5B729557572B43   DAMON          WASHINGTON                 CO     33081815575
5B729696376B75   BRYANT         RAMOS                      CA     90013736963
5B729992561971   FAITH          G BENSON                   CA     90009269925
5B72B111684373   SHAWNTY        DOUGLAS                    SC     90010401116
5B72B1A2371935   NIO            ZETRENNE                   CO     90013951023
5B72B447176B75   MICHAEL        ALFANO                     CA     90008624471
5B72B673591895   RIANNE         WATTS                      OK     90010106735
5B72B79898B169   TARA           CRAWFORD                   UT     90003827989
5B72BA62976B75   RICHARD        LUNDY                      CA     90013310629
5B731114584373   CHUCK          FULTON                     SC     90013621145
5B731433333699   THOMAS         MILLER                     NC     90015004333
5B731639177522   LISA           FRANKS                     NV     90011036391
5B731658361971   JASON          YOCHUM                     CA     90014126583
5B731688591521   GLORIA         GARCIA                     TX     90013876885
5B731824272B67   CHRISTIAN      CALKINS                    CO     33030968242
5B732355161975   HUGO ENRIQUE   TAPIA AVILA                CA     90006793551
5B732487438598   MORELIA        GUTIERREZ                  UT     90010224874
5B73282334B588   CALVIN         LEE                        OK     90013148233
5B73286745B393   MICHAEL        HALPIN                     OR     90009458674
5B733183897B77   JAMES          WHEATLEY 4TH               CO     90011151838
5B733986457591   ASHLEY         RIVERA                     NM     90014309864
5B734182938598   MARIA          CONTRERAS                  UT     90013231829
5B73444875B236   JESSICA        BAUM                       KY     90014364487
5B734622A5B283   JENNIFER R     LUOMA                      KY     68009356220
5B73495A48B169   ALEX           WEBB                       UT     90012239504
5B735218772B67   SELENE         LOPEZ                      CO     33051922187
5B73564A88168B   NICHOLAS       FORD                       MO     90005026408
5B735A9965B543   GLORIA         GUEVARA                    NM     35063450996
5B73626385B531   MARIO          CARRASCO                   NM     35050532638
5B73628A62B862   HAROLD         LILLIE                     ID     90014272806
5B73633A972B49   ANTREVIA       DONALSON                   CO     90014263309
5B73634735B285   CATHY          ELLIOTT                    KY     90005053473
5B736636A72B27   KEVIN          PAS                        CO     90009516360
5B73682345B271   MONTEZ         SMITH                      KY     90011068234
5B736928155941   PETE           CORONADO                   CA     48036809281
5B736A52872B49   STEPHANIE      FLEMMINGS                  CO     90009150528
5B737168597B54   YOLANDA        RAMIREZ                    CO     90000391685
5B737287351348   COURTNEY       HILL                       OH     90007922873
5B737419357591   EUGENIO        ROSALES                    NM     35508544193
5B737555471935   SCOTT          WADE                       CO     90014855554
5B73761724B28B   DEE            HUGHES                     NE     90002986172
5B737A61822485   LOVE           MZ                         IN     90015570618
5B73813A191348   DALTON         ALAS                       KS     29014181301
5B73842324B52B   SHERRI         HARDMAN                    OK     90002164232
5B738759557157   ALICIA         ALVAREZ                    VA     90007917595
5B738A59338598   LYNN           HONE                       UT     90007490593
5B73911A95B393   DAVID          GRIMMETT                   OR     90008181109
5B73993284B588   RAVEN          WILSON                     OK     90014059328
5B739A83472B27   DONNA          SMITH                      CO     90011040834
5B73B545671935   NATALIE        STERLING                   CO     90014205456
5B73B816A91895   LAMAR          THOMPSON                   OK     21031338160
5B73B86235B531   VALERIE        PENA                       NM     35015498623
5B741221285821   GERARDO        ALVARES                    CA     46011782212
5B741243572B27   SHAY           ESTESQ                     CO     90003912435
5B74146675B531   DANIEL         JAMES                      NM     90013254667
5B741A9515B162   JOHNNY         SCOTT                      AR     90001340951
5B741A98572B43   QUIROZ         CRISTINA                   CO     33073700985
5B74215742B27B   NATINA         KIAH                       DC     90001311574
5B74226215B399   RASHID         KAMBAROV                   OR     90013112621
5B742267138598   OSCAR          RAMIREZ                    UT     90013232671
5B742347A91356   AMBER          COOPER                     KS     90015123470
5B742886884373   CYNTHIA        HUTTON                     SC     90014728868
5B742912172B36   CHARLES        WILLE                      CO     90013609121
5B742A2A171935   TERRANCE       HANES                      CO     90011750201
5B7432A1A8B186   BRYAN          CLAYTON                    UT     90011992010
5B74341A651348   LAREAN         HEDGES                     OH     90007134106
5B74345192B27B   LEONIDAS       UMANZOR                    DC     90011964519
5B743913784373   SHANIECE       DENT                       SC     90014729137
5B743A5652B27B   LEONIDAS       UMANZOR                    DC     81022580565
5B744455397B35   ANA            CANDELA                    CO     90015394553
5B744492972B67   MARTINEZ       MELISA                     CO     90010294929
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 276 of 2350


5B744657698B2B   ANDREA            ALESE REID              NC     90001696576
5B744869655941   ROBERTO           GARCIA                  CA     48097138696
5B74554A857157   PEDRO             QUISPE                  VA     90010465408
5B745574657591   EDWARD            CLARK                   NM     90010955746
5B745652284373   ANITHALEAN        DENISE                  SC     19091566522
5B74657AA55941   KRYSTAL           SHOWALS                 CA     90009565700
5B74673475B399   FLOYD             HEWITT                  OR     90009707347
5B74678987B378   DASHIM            MESGINA                 VA     81053257898
5B74692A841229   KAREN             THOMPSON                PA     51024239208
5B747138361975   ESPERANSA         MURILLO                 CA     90015071383
5B747258271935   JENNIFER          GIORGI                  CO     90013912582
5B747385133699   LAUREN            MARIE                   NC     90000413851
5B74753674B588   JOSE              CHAVEZ                  OK     90014175367
5B747568172B36   ANDRE             GABALOON                CO     33059025681
5B7475A1884357   RONALD            CAMPBELL                SC     14544115018
5B747692A5B393   WILLIAM           HANEMANN                OR     90005326920
5B74797385715B   TIFFANI           RULEY                   VA     90013369738
5B747A68872B46   SCOTTYS REPAIR    SHOP                    CO     90008550688
5B74818313B388   SHARON            CHASTIN                 CO     90002071831
5B748225384357   LESA              MURRELL                 SC     90006572253
5B74825585B399   JOSHUA            WINSLOW                 OR     90010502558
5B748266851348   LAVERNE           YARBROUGH               OH     90005852668
5B748782691895   ALEXANDER         HERNANEZ                OK     90013937826
5B748835491895   BRITTANY          MORROW                  OK     90010658354
5B74915355B236   KIM               WHEELER                 KY     68008261535
5B74992925758B   CESAR             MARTINEZ                NM     90013879292
5B749955761971   SHAWNA            GARCIA                  CA     46021849557
5B74B353172B27   KENYETTA          WILSON                  CO     90011423531
5B74B35697B48B   ALBA              SANTIAGO                NC     90006963569
5B74B41595B162   PAMELA            FOX                     AR     90012684159
5B74B512891884   ELIZABETH LOPEZ   BECERRA                 OK     90011435128
5B74B74245B531   CHANTAL           CORDERO                 NM     90014107424
5B74B884484373   KYLONA            GARRETT                 SC     90014728844
5B74B927457157   JOSE              GONZALEZ                VA     81032319274
5B74B97A561971   ROBERTO           ROMERO                  CA     46028389705
5B751196576B75   DANIEL            MARRON                  CA     90012741965
5B751315A7242B   TIFFANY           DANIELS                 PA     90014333150
5B751354351376   KARISSA           RODRIGUEZ               OH     90011343543
5B751363561971   PATRICK           FERMOILE                CA     90012293635
5B751718A93765   BRANDY            FIELDS                  OH     90010977180
5B751828257157   THOMAS            MOSLEY                  VA     90008978282
5B75194535B236   DELORIS           BRAXTON                 KY     90014889453
5B751A2145758B   KARLA             MORALES                 NM     90003440214
5B75233444B588   ALTON             JOHNSTON                OK     90015023344
5B752532A5758B   ALBERTO E         CUEN                    NM     90010425320
5B752927791895   MARCIE            GONZALEZ                OK     90008549277
5B752A43284357   AGAMSHARAN        PATEL                   SC     90013520432
5B7531A164B588   DEREK             PETUT                   OK     90007291016
5B753262572B67   JOHN              MURPHEY                 CO     90005952625
5B7538A1976B75   SEAN              ODELL                   CA     90014948019
5B753A24831434   ROBIN             JACKSON                 MO     90011210248
5B754357672B36   JOSE              RODRIGUEZ               CO     90012313576
5B75482115B399   ROGER             LEDOUX                  OR     44589228211
5B755649757591   HERMILA           TARANGO                 NM     35597396497
5B7558A255B236   JAMES             JOHNSON                 KY     90013218025
5B755A2748B169   DALTON            MENDOZA                 UT     90014850274
5B75611195132B   CAROLYN           ABNER                   OH     66034861119
5B756556176B75   COLIN             GORDON                  CA     46063905561
5B75693525B399   ALEXANDRA         KLAGER                  OR     90008539352
5B756A5A65136B   MARSHAE           MUNDY                   OH     90013270506
5B756A68172B77   ISIDRO            SALAZAR                 CO     33083030681
5B757333A55951   VIRGINIA          RAMOS                   CA     49009193330
5B757513284357   JENITA            PERRYMAN                SC     90010015132
5B757668155941   GABRIEL           PIMENTEL                CA     90014496681
5B75776AA5B393   LEILA             ALI                     OR     90005007600
5B757887772B36   ANTHONY           MADRID                  CO     90014488877
5B7579A6297B77   TRAVIS            STRICKER                CO     90001899062
5B75813A185821   ALEX              GUTIEREZ                CA     46063351301
5B758354861998   NANCY             JAIME                   CA     90006533548
5B75835685758B   MARGARET          JIMENEZ                 NM     90014303568
5B7584A2861975   ANTHONY           CHAVEZ                  CA     90000274028
5B75865557192B   LORIE             ESTRADA                 CO     90002036555
5B758932A76B75   ENRIQUTA          SALGADO                 CA     90003829320
5B75937635B162   ANDREA            CADE                    AR     90003973763
5B7593A3A72B43   HECTOR            RAMOS                   CO     90013903030
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 277 of 2350


5B75986514B28B   CATHERINE       KAHLER                    NE     26060218651
5B759A8945715B   AMEENA          GILL                      VA     90014610894
5B75B58255715B   ALEJANDRO       NGEL                      VA     90013165825
5B75BA69772B46   LEONEL          PARRA                     CO     90008550697
5B761295A5715B   HELENA          FIGUEROA                  VA     81003312950
5B761424884357   BRADU           MILEDGE                   SC     90012914248
5B76165A14B28B   TONJA           NIEVEEN                   NE     26076666501
5B761737172B43   JULIE           DELGADO                   CO     33005037371
5B76177147242B   FRANCIS         CRINER                    PA     51062587714
5B761A91561975   YADIRA          MEDRANO                   CA     90010340915
5B76216675B531   MARTHA          GALLEGOS                  NM     90008711667
5B762379724B7B   GASPAR          CHAJON                    VA     90014823797
5B762512A72B27   MARIA           BARRAGA                   CO     90005355120
5B762532333696   SHANIKA         UPCH                      NC     12093035323
5B76256AA91356   PAUL            CORDT                     KS     90014665600
5B762973157157   SAMUEL          DOGBY                     VA     81074089731
5B763586984373   CYNTHIA         HARRIS                    SC     90001805869
5B7636A1572B49   HERRERA LOPEZ   ZAIRA                     CO     90010426015
5B76388212B27B   SHAWN           BOUKNIQHT                 DC     90006628821
5B76454165B236   KIMBERLY        SAMUELS                   KY     68014505416
5B764A15733699   SHARON          DOUTHIT                   NC     90011520157
5B765327951348   MARY            ENNIS                     OH     90012853279
5B765471297129   BRIAN           BRADSHAW                  OR     90012194712
5B7654A295B236   JOHN            PRESTON                   KY     90011344029
5B765653776B75   EFIGENIA        MALDONADO                 CA     90015096537
5B765656691895   SHAWN           TALLEY                    OK     90014056566
5B76579462B27B   MAHMOOD         SAMI                      VA     90012377946
5B765A6695B271   OCEAN           BURNS                     KY     90002140669
5B766296561971   JENNIFER        SUMMEY                    CA     90001482965
5B766475491895   DARLENE         NEWSOME                   OK     90014874754
5B76651655593B   EBER            SALDIVAR                  CA     90011775165
5B766874791364   CHILDCARE       SCHOLASTIC KIDS           KS     29025578747
5B766919A72B49   JESUS           LOPEZ                     CO     90003029190
5B76694472B851   SHERADON        COWGER                    ID     90002059447
5B766952491356   CARRIE          BARNES                    KS     90011399524
5B76724A95B393   ROBERT          CHANCELLOR                OR     90012112409
5B7673A3661971   NICHOLE         GARROD                    CA     46014003036
5B767616671935   YOLANDA         PHOENIX                   CO     90014396166
5B76762775B531   VICTOR          RAMOS                     NM     35012836277
5B76781912B27B   MARIA           VAUGHAN                   DC     90013258191
5B768872457591   FRANSISCO       SERRATO                   NM     90014418724
5B76888212B862   LORI            MALCOM                    ID     41090908821
5B768973484373   SALIH           AL-HADI                   SC     90014729734
5B76972935B162   AARON           MOORGAN                   AR     90002927293
5B76B119757157   SARITA          HARGIS                    VA     90014771197
5B76B135372B36   CARLESS         JONES                     CO     90003971353
5B76B2AAA4B588   MONICA          THUNDERBULL               OK     90009172000
5B76B31465B531   KARLA           PADILLA                   NM     35084803146
5B76B575A9712B   VINNA           JONES                     OR     90010615750
5B76B676661975   MARTINES        LEASLIE                   CA     90004876766
5B76B688257157   OLGA            CARBALLO                  VA     90014746882
5B76B94A57242B   KENNETH         KOVACS                    PA     51089749405
5B76BAA6684357   MEL             DANIELS                   SC     90011370066
5B771455191934   TESFARE         AKUMA                     NC     90006344551
5B77163685758B   CAMILLE         CARRILLO                  NM     35586706368
5B771865497B77   MAYRA           CHACON                    CO     90009408654
5B772182261971   CASS            ROY                       CA     46034301822
5B772913176B75   CARMEN          GARCIA                    CA     90012459131
5B77298434B28B   SOLOMAN         KIFLEMARIAM               NE     26069799843
5B772A18333699   KENYA           MILLS                     NC     90008550183
5B772A63A5B236   CHRIS           VOWELS                    KY     90003910630
5B772A6625B531   TONY            ALVAREZ                   NM     90011060662
5B773128572B27   ESEQUIEL        ORTIZ                     CO     90015281285
5B773696472B49   ERNESTO         ROCHA                     CO     90012986964
5B773966122485   MARTINA         HERRERA                   IL     90014629661
5B773967A72B36   JEAN            WHITEHURST                CO     33067719670
5B774149957157   BIANCA          MORON                     VA     90011641499
5B774166131428   KELLEMA M       EVENS                     MO     27503891661
5B7741AA74B588   SHAWNA          YOST                      OK     90011951007
5B774418151348   SHARON          BOYCE                     OH     90014444181
5B77484A42B862   SARAH           CARTER                    ID     90006588404
5B774A95791347   LLYYD           COX                       KS     90008640957
5B774AA8384373   MISHIMA         BRADLEY                   SC     90014730083
5B77527A257143   EVA             RIVERA                    VA     90013112702
5B775431857591   MARIA           ACOSTA                    NM     90011374318
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 278 of 2350


5B775468572B36   KARLA        LOPEZ                        CO     33083784685
5B775512591356   JOHNNA       NIMMO                        KS     90006785125
5B775886857157   YAMILETH     PARADA SARVIA                VA     81052738868
5B776199733696   ASHLEY       LEAVY                        NC     90008701997
5B776244184373   ALBA         DUVALL                       SC     90013942441
5B776394833699   MACEY        PETERSON                     NC     90014223948
5B776589A71935   JENNIFER     DAIMLER                      CO     90014615890
5B777118A5758B   NORMA        CASADO                       NM     90012371180
5B7772A3761971   MARIA        DE LOS ANGELES CORTEZ        CA     90015282037
5B777347657157   JUAN         VELEZGONZALEZ                VA     81083493476
5B77748684B588   LIONEL       LOPEZ                        OK     90007124868
5B77791527B48B   KARINA       RUBIO ALVARADO               NC     90014239152
5B778117255951   IRMA         GARCIA                       CA     49070211172
5B779899491895   ROSA         SERRANO                      OK     90010128994
5B779A56355941   CANDICE      MARTINEZ                     CA     90010170563
5B77B2A4891356   KATHRYN L    SNEDEKER                     KS     90010862048
5B77B3A9757591   ROSA         OLIVAS DE GARCIA             NM     90015323097
5B77B64315B531   ADAM         GREEN                        NM     35076876431
5B77B76645715B   ORLANDO      SORIANO                      VA     90014907664
5B77B79A48B161   RYAN         OLSEN                        UT     90004537904
5B77B94745715B   CHALACHEW    DABI                         VA     90014069474
5B78117987242B   JANET        TOALA                        PA     90014051798
5B781327785821   PABLO        CAMPOSECO                    CA     46067093277
5B7813A524B588   MICHAEL      NELSON                       OK     90009273052
5B781434555941   MARTHA       MURPHY                       CA     90012564345
5B78167475B531   RAY          GARCIA                       NM     90013206747
5B7818AA851348   CHRIS        COOK                         OH     90013678008
5B7821A395B531   QUINCY       SMITH                        NM     90014651039
5B782234438598   BRET         WOFFINDEN                    UT     90013252344
5B78254772B27B   LENISHA      WILLIAMS                     DC     90014715477
5B782572371935   MICHAEL      ADER                         CO     32007275723
5B782791691895   PAULA        HARDING                      OK     90010347916
5B78281864B28B   KEENYA       BARNES-HEYWARD               NE     90013938186
5B782839A76B75   TEDDI        DEBEAUVOIR                   CA     90010418390
5B78291125B236   CHASTITY     LUALLEN                      KY     90005129112
5B782913A84357   SHARRA       PIERCE                       SC     90013939130
5B7833A6472B36   ENSALDO      NEYDIN                       CO     33016313064
5B783455191934   TESFARE      AKUMA                        NC     90006344551
5B783557161971   GREGORY      RAYO                         CA     90013825571
5B78437485B399   SAM          HACKMAN                      OR     90014563748
5B784427861975   FERNANDO     LEMUS                        CA     90011514278
5B78457A35B236   MONIQUE      EASTON                       KY     90014175703
5B784741291895   MICHELLE     HAINES                       OK     90008767412
5B785455885821   ROSA         VEGA                         CA     90012884558
5B785493A5B162   AMANDA       RICE                         AR     90015324930
5B7855A3172B36   JENNIFER     WYATT                        CO     33093475031
5B78589555B162   LUIS         GAMEZ                        AR     90009138955
5B785A7722B862   ROBERT       FAULKNER                     ID     90014780772
5B785A79261975   JOVANA       GAVIN                        CA     90012840792
5B786256972B88   CANDELARIA   BARRADAS                     CO     90011482569
5B78693995715B   JESUS        TOLEDO                       VA     81055309399
5B78732385B236   BARBIE       HAYDEN                       KY     90006933238
5B78746445B393   ANNA         SWAN                         OR     90014704644
5B78767A79712B   TEQUILA      LEDAY                        OR     90013756707
5B78832A372B36   BRIAN        FRASHER                      CO     90012113203
5B788482171935   LOUIS        SIERRA                       CO     90015144821
5B78863875B283   MILANES      NARANJO                      KY     68098246387
5B788769933696   JAMIE        CRAVEN                       NC     90011497699
5B788977991356   LISA         KILGOREE                     KS     90015169779
5B788AA6351348   VICTOR       PEREZ                        OH     90010480063
5B788AA8472B27   SEVERIANO    DELGADO                      CO     90006590084
5B78942375B393   JOHN         LICHTENBERG                  OR     90011334237
5B78957718B169   EDWARD       WEIGANDT                     UT     31090475771
5B78966935B399   KARISSA      KNETZGER                     OR     44503436693
5B789754561975   RAMIRO       GARCIA                       CA     90012127545
5B78B119355941   JOSE         MAGANA                       CA     90015481193
5B78B17825B393   MARIO        GARCIA                       OR     44593481782
5B78B3A2871935   LAURA        ERIVES                       CO     90014443028
5B78B4A8761971   GUADULEPE    IBARRA                       CA     90014424087
5B78B583372B67   DAUD         SUTANTO                      CO     33028265833
5B78B5A144B28B   KELLY        TRIPP                        NE     90012835014
5B78B69A95B399   ELIZABAETH   HENSON                       OR     44510996909
5B78B712161975   GRACE        NUNEZ                        CA     46016837121
5B79126595758B   ANTHONY      HOLGUIN                      NM     90013452659
5B791477285833   VIRGINIA     BENDIK                       CA     90010224772
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 279 of 2350


5B791865A55941   JOSE         OLMEDA                       CA     90003798650
5B791922461462   APRIL        WARD                         OH     90015159224
5B79229745758B   JOEL         SOLIS                        NM     90012312974
5B792599991895   JENNY        JOY                          OK     90015265999
5B7928A3797B54   RUTH         MORAN                        CO     90002258037
5B7929A2971935   MARIA        CERA                         CO     90012779029
5B79326244B28B   JACKIE       BROWN                        NE     26003562624
5B793373251348   NICOLE       FARRELL                      OH     90013433732
5B7933AA461971   JEFFERY      HOUSTON                      CA     90012643004
5B793428993743   WILLIAM      WILKINSON                    OH     64567864289
5B793618472B43   ZULEMA       VASQUEZ                      CO     90015026184
5B79368852B862   KELLEN       POTTS                        ID     41012066885
5B793762191356   DEBRA        HODGES                       KS     90014037621
5B793773A3147B   NEAL         NAREZ                        MO     90001767730
5B794127531428   SONIA        MCINTYRE                     MO     27504601275
5B794219A76B75   PATRICIA     SOUCIE WILSON                CA     90006922190
5B79469912B27B   TAY          JONES                        DC     90015096991
5B794728A7B46B   CORLISS      SIMPSON                      NC     11065447280
5B794A2A584357   SHERYL       ROCHELLE                     SC     90013930205
5B795126891864   TONI         WELCH                        OK     90012481268
5B79515592B27B   SOLOMON      M ZIKARGE                    DC     90010221559
5B79539285B543   ELOISA       SANCHEZ                      NM     35078763928
5B79559178B169   ISMAEL       GARCIA                       UT     90013895917
5B7959A5485959   JESSIE       MCKEITHEN                    KY     90000979054
5B795A6897B46B   JIM          RICHARSON                    NC     11067710689
5B79619197B48B   JOSHUA       FED                          NC     90013701919
5B796287672B77   BERNADETTE   DUKE                         CO     90007282876
5B796388357157   CATALINO     SANTOS                       VA     90012323883
5B7963A335715B   LUSMILA      MORALES                      VA     90007933033
5B79675148B169   NIKKI        REEVES                       UT     31084957514
5B7972A5472B36   JUSTIN       JIRON                        CO     90012122054
5B79744765758B   CLAUDIA      GUTIERREZ DE LA CRUZ         NM     90012364476
5B797519372B49   BRIDGET      SHOEMAKER                    CO     90014835193
5B797563985821   SANTOS       AMAYA                        CA     46073415639
5B797568391356   LORI         CALDERON                     KS     90009445683
5B7977A4933699   ADRIAN       CAMACHO                      NC     90014957049
5B798249638598   DARCY        PIERCE                       UT     90011922496
5B79843A34B28B   MEGAN        CANBY                        NE     90011144303
5B798499961975   HILARIO      DOLOREZ                      CA     46031934999
5B798874697B77   MANUEL       ENSINIA                      CO     90010368746
5B798885322485   ELIZABETH    DIAZ                         IL     20571158853
5B79921154B28B   JONNIE       SCHUELKE                     NE     90002802115
5B79946A897B77   JIM          DOKE                         CO     39000244608
5B7994A3772B43   CATHLEEN     MEYERS                       CO     90005974037
5B79954285B162   ERICCA       KOMULA                       AR     90014715428
5B7996A882B851   PATRICIA     ARVAI                        ID     42049866088
5B79983675B271   CAROLYN      VITTITOW                     KY     68011928367
5B799A2795B399   GABRIEL      VASQUEZ                      OR     90012810279
5B799A28751348   ROBERT       ALTHAUS                      OH     66069170287
5B799A42572B36   JODENE       SHERWOOD                     CO     33075990425
5B79B36485715B   MARIA        CAYABYAB                     VA     90012973648
5B79B524585821   MARY         PARWANA                      CA     90005185245
5B79B546238598   HERNANDEZ    RENATO                       UT     90008515462
5B7B1138161971   CANDACE      PRATER                       CA     90012291381
5B7B1365251348   TERRI        CRAIG                        OH     90006403652
5B7B1411A4B28B   CORINNE      MASON                        NE     26093074110
5B7B1425333696   SAFFIATU     MEANS                        NC     90006304253
5B7B1579A4B28B   BETHANY      BANTAM                       NE     90014875790
5B7B1718A72B49   MARTINEZ     NARDALIA                     CO     33037037180
5B7B199355B543   PAULA        ARCHUNDE                     NM     35066789935
5B7B1A8237B372   MANUEL       CABALLERO                    VA     90014450823
5B7B1A94871935   IVAN         LUNA                         CO     90013950948
5B7B2381155941   JORGE        QUINTERO                     CA     90005733811
5B7B273988B169   SARAH        TOMNEY                       UT     31069187398
5B7B2764276B75   HILARIO      OLIVOS                       CA     90014177642
5B7B336AA76B75   OSCAR        GONZALEZ                     CA     46007363600
5B7B338AA2B27B   BALDEMAR     AGUILAR                      DC     90010523800
5B7B391775B543   JOHN         GUZMAN                       NM     35004809177
5B7B3919238598   WAYNE        THORNTON                     UT     90013219192
5B7B4634738598   JACK         LARGE                        UT     90013226347
5B7B4719297B54   ADRIANA      AGUILERA                     CO     90009987192
5B7B486817B48B   WALTER       RAY                          NC     11017948681
5B7B48A3272B36   CRISTAL      GREEN                        CO     90011608032
5B7B494174B588   VENUS        TAFT                         OK     90007669417
5B7B4AA835B531   LOUIE        MALDONADO                    NM     90010430083
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 280 of 2350


5B7B532595B162   GACARIAH           BROWN                  AR     23063653259
5B7B5924784373   EDELMIRO           GUZMAN                 SC     90006799247
5B7B5A4A15758B   TRENT              MCCORMICK              NM     90003590401
5B7B6211671935   ALEX               STEWARD                CO     90001292116
5B7B632242B862   CHELSEA            WARD                   ID     90013363224
5B7B63AA651348   NATSUMY KATERINE   GARAYAR                OH     90009223006
5B7B6665761971   DANALYNN           FEJAPANG               CA     90014196657
5B7B693A52B27B   SHANAY             GLENN                  DC     90005799305
5B7B7176776B75   JOE                GAERLAN                CA     90012741767
5B7B724895B393   LARRY              MCFADDEN               OR     90013332489
5B7B7418261975   ANGELINA           GARRETT                CA     90007374182
5B7B761465758B   FERNANDO           GUZMAN                 NM     90013166146
5B7B761815715B   TOMASA             PEREZ                  VA     90014976181
5B7B7889957591   TERESA             VASQUEZ                NM     35579028899
5B7B8517691895   DONNA              LUCKEY                 OK     21070555176
5B7B852175B283   RODNEY             GARDNER                KY     68050485217
5B7B881A761975   ERNESTO            MARTINEZ               CA     90013868107
5B7B91A5485821   ERIC               CAMPBELL               CA     46070061054
5B7B9285776B75   DONALD             STANLEY                CA     90012572857
5B7B9464872B36   EFRAIN             FLORES CORDOVA         CO     90004954648
5B7B958959712B   SHARA              MORRIS                 OR     90010625895
5B7B958975B543   JAMES              LAMBROS                NM     35014155897
5B7B9674157157   ANA                PARADA                 VA     90013966741
5B7BB1A2591895   BRITTANY           GIPSON                 OK     90011381025
5B7BB36A28B164   KIRT               GAISFORD               UT     90011463602
5B7BB46895B399   KRISTINA           LUSK                   OR     44513954689
5B7BB553771935   JASON              BRYSON                 CO     32015265537
5B7BB65724B588   MARIO              BARRIOS                OK     90005396572
5B7BB74362B27B   EDNA               BOWIE                  DC     81022547436
5B7BB754231429   MEHEDIN            SALIHU                 MO     27557437542
5B7BB8A8631428   TIFFANY            DIGGS                  MO     90006048086
5B7BB99A95B531   RAYMOND            RUBI                   NM     35013739909
5B7BBA16691356   MARCELL            BAILEY                 KS     90015370166
5B811233672B27   NIA                DIBBLE                 CO     90014522336
5B81166554B28B   RYAN               MOSCO                  NE     90009276655
5B81176A555941   STEPHANIE          SALAZAR                CA     90013387605
5B811A4375B162   DANA               MCKA                   AR     90014800437
5B81218A272B46   J ENCARNACION      MARTINEZ - HORTA       CO     90008551802
5B812216A9373B   DAVID              JENKINS                OH     90012242160
5B8122A2333699   KADEEN             HARMON                 NC     90014762023
5B81289165B236   PHONECIA           CARNEY                 KY     90005198916
5B812944A7242B   RUTH               WORKMAN                PA     51078929440
5B81314A657591   ANA                HERNANDEZ              NM     35551221406
5B813583157157   ASHLEY             HALL                   VA     90013075831
5B813583176B75   SHEILA             DAVIS                  CA     46076885831
5B814623672B27   COSA               GALLION                CO     90000676236
5B81469635B283   JEREMY             BREWER                 KY     68072826963
5B814775557591   PATRICIA           DIAZ                   TX     35546837755
5B81481185B162   ANGELA             CRAWFORD               AR     90009998118
5B814A66485821   CARRIEANN          POE                    CA     90000520664
5B815184957591   ROSE               SELLERS                NM     35562431849
5B815224A84373   BARINYEGIA         WIWUGA                 SC     90014732240
5B8153AA684357   TASHEKA            DAWSON                 SC     90014763006
5B815517155941   MARIA              RAMIREZ                CA     90009815171
5B815565551343   DEBORAH            REINDAL                OH     90001525655
5B81584A45B393   RICARDO            VILLAGRAN HERNANDEZ    OR     90015068404
5B81599255715B   ANN M              WATSON                 VA     81011649925
5B815A6415B236   KIRTISHA           MCCADDEN               KY     68052360641
5B815A7262B851   ASHLEY             WYATT                  ID     90002710726
5B816291284357   CIERRA             SMALLS                 SC     90014502912
5B8165A1497B77   GALE               TRUITT                 CO     39014425014
5B816849484373   YOVANNI            PEREZ                  SC     90006958494
5B816854697127   STEPHANY           HENIFIN                OR     90012388546
5B816948272B49   NICOLE             LETBETTER              CO     33079369482
5B817116672B49   JOVANNY            SALAS                  CO     90015321166
5B817434333699   CHARITY            FALLIN                 NC     90011224343
5B817455A72B43   JAMES              KNIGHT                 CO     90015004550
5B817672357591   SAVINA             DOMINGUEZ              NM     90014436723
5B81789A355941   ISMENE             ARROYO                 CA     90012918903
5B81827A655951   DORA               HERNANDEZ              CA     49012102706
5B818476A5B543   NAOMI              MONTOYA                NM     90000454760
5B81888A485821   JOSEPH ADRIAN      LUCCA                  CA     90002428804
5B8189A7271964   ROBERT             HUDSON                 CO     32079219072
5B81919A551348   MAHAMOUD           BERTHE                 OH     90005881905
5B81949232B27B   LAKISHA            SMITH                  DC     90011084923
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 281 of 2350


5B81951835758B   MARIA          GOMMES                     NM     90002725183
5B81951895B236   TINA           FIEDLER                    KY     90001785189
5B81963775715B   MARY           GONZALEZ                   VA     90012426377
5B81983312B862   ANGIE          MCCAFFERTY                 ID     41067488331
5B819887272B88   BLANCA         RODRIGUEZ                  CO     33046908872
5B81B14A65B399   MELINDA        BAKER                      OR     44543471406
5B81B433838598   TREVOR         PYNE                       UT     90013264338
5B81B494584373   MICHAEL        GIBSON                     SC     90013014945
5B81B93995758B   CLARISSA       SAIZ                       NM     90012229399
5B81B9A397B48B   VICTOR         HERNANDEZ                  NC     11080549039
5B81BA73951348   ALFREDO        RAMIERZ                    OH     66077960739
5B8212A3291934   ANTHONY        PITTMAN                    NC     90011752032
5B821397885821   JAMES          PRICE                      CA     46005393978
5B82152515B531   ELISEO         ANGEL                      NM     35086455251
5B82175974B588   DEVAN          JOHNSON                    OK     21559917597
5B821763233699   MIRIAM         SILVA                      NC     90012747632
5B822185A91947   LATESHA        ROGERS                     NC     90009271850
5B822581433696   ADRIENNE       EASTERLY                   NC     90011395814
5B822594A33696   DAVONTE        MOORE                      NC     90013985940
5B82268415B531   JAEL           FUSTE                      NM     90010226841
5B822995A5B387   MR SEBASTIAN   FIORENTINO                 OR     90004339950
5B82317715B531   JEAN           GLEASON                    NM     35096891771
5B823827A61971   REBECCA        BEATY                      CA     90001858270
5B823867638598   TYLER          JONES                      UT     90013268676
5B824454472B43   ALEJANDRO      GARCIA                     CO     90000774544
5B824595A81537   BRIAN          FRENCH                     TX     20590075950
5B82472427242B   JAMES          FARABAUGH                  PA     90014627242
5B82495535B399   TRACY          ONEAL                      OR     90008869553
5B8249A3457591   KIANA          SANDOVAL                   NM     35507419034
5B825192A33699   SAMUEL         CHESTNUT                   NC     90014151920
5B825216376B75   NICHOLAS       DIPIAZZA                   CA     90014442163
5B82524A45B399   TAMARA         WALKER                     OR     90014592404
5B825519372B49   BRIDGET        SHOEMAKER                  CO     90014835193
5B82563722B851   TRAVIS         BENNETT                    ID     90008746372
5B825794191895   MARVA          WILLIAMS                   OK     21054777941
5B825958384357   BRENDA         COLE                       SC     90013029583
5B826222157591   SHERRY         ROMERO                     NM     90010622221
5B826313738598   ROBERT         MISKELL                    UT     90013273137
5B82637628B169   PHILLIP        DYKEMAN                    UT     90011293762
5B826466872B36   MELISSA        STUMPF                     CO     90010064668
5B8267A798B189   JAMIE          SPRING                     UT     31077597079
5B826853471935   ADRIANNA       SOOS                       CO     90010918534
5B827417957591   JEREMY         LAWSON                     NM     90009684179
5B827428572B43   OMAR           SILVA                      CO     90015204285
5B827467155941   LAURA          ASHLEY                     CA     48084684671
5B82753895B271   ALEXIS         JOHNSON                    KY     90002145389
5B82785A533696   DINA           BERRY                      NC     90011258505
5B827892785821   CARLOS         HERNANDEZ                  CA     46020198927
5B828438772B36   YOLANDA        CERVANTES                  CO     90012574387
5B82848245B399   AMANDA         LARKINS                    OR     90006324824
5B828524A38598   OSCAR          FUENTES                    UT     90013275240
5B828687357157   ELSY           MONTESINOS                 DC     90004166873
5B829197141229   KRIS           COOKNICK                   PA     51033061971
5B82948345B236   TOM            BURCH                      KY     90014484834
5B829574433696   ELIZABETH      PIERRON                    NC     90011045744
5B829579571935   SAMANTHA       WILLEY                     CO     90014135795
5B829598497B54   EVA            GOMEZ                      CO     39035935984
5B82B266484373   MELLODY        SEELS                      SC     90011422664
5B82B582551348   ANTONIO        ZAPADA                     OH     66035275825
5B82B668961966   SANDRA         HERNANDEZ                  CA     90012986689
5B83118235758B   DONETTA        DEMIRJIAN                  NM     35565321823
5B831226184373   DERRICK        IZZARD                     SC     19094292261
5B83127825B399   ADRIAN         YEBRA OLMOS                OR     90011812782
5B831387A33699   CURTIS         MCLAURIN                   NC     90013073870
5B831455661975   ALBERTO        RODRIGUEZ                  CA     90000274556
5B8318A4571935   ABIGAIL        BECERRIL                   CO     32049368045
5B8319A843B389   GUADALUPE      CISNEROZ JR                CO     90012819084
5B83221912B27B   MESHYKIA       WITHERSPOON                DC     90014572191
5B83227254B588   LUIS           RIOS                       OK     90000212725
5B832A34A91356   EVA            BANKS                      KS     29062190340
5B833393661956   HEATHER        MACK                       CA     90010003936
5B833444172B49   RUTH           YIRGA                      CO     33053914441
5B83439184B588   STEVEN         SPAAN                      OK     21504243918
5B83452532B27B   WILBER         AMAYA                      DC     90014675253
5B834579871935   JUAN           VEGA                       CO     90011755798
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 282 of 2350


5B83491364B588   DARLENE        MILLS                      OK     21580679136
5B83494735B162   ALMA           CRISANTO                   AR     90015149473
5B834A7929712B   VANESSA        WARKENTIN                  OR     90015190792
5B83527585B162   PATRICIA       BROWN                      AR     90013112758
5B835377157591   BERENICE       MORALES                    NM     90011403771
5B835439376B75   EDUARDO        HERNANDEZ                  CA     90014424393
5B83546354B28B   WILLIAM        PHILLIPS                   NE     90014604635
5B835A41533696   ANTHONY        HERNDON                    NC     90013960415
5B83621415758B   ANEL           GONZALEZ                   NM     35579612141
5B836569A61949   EVARISTO       HERNANDEZ                  CA     46097345690
5B836882A91895   LARRY          BUTLER                     OK     90012498820
5B83694A471935   WALTER         MIRANDA                    CO     32066739404
5B836A57557157   BLANCA         ARGUETA                    VA     90011650575
5B83711232B862   PAULA          NELSON                     ID     41073391123
5B83715659712B   JENNIFER       REYES                      OR     90010631565
5B83765247B46B   ROSA           JACKSON                    NC     11007056524
5B837A3A472B27   EDUARDO        MARTINEZ                   CO     90015230304
5B837A77891895   BILLY          RUSSELL                    OK     90006920778
5B838294A51348   EROISA         HERNANDEZ                  OH     90014482940
5B838321172B77   DANIEL         QUINLIVAN                  CO     33065063211
5B838562957591   MARION         CARRILLO                   NM     90014875629
5B838779742335   REMONDA        BAILEY                     GA     90013937797
5B838779955951   CHARLES        SCOTT                      CA     90002947799
5B838933291356   SAMUEL         STILLLWELL                 KS     90012079332
5B83893357242B   JOYCE          SCHARER                    PA     90010519335
5B8389A125715B   ABDOW          SAYF                       VA     90000799012
5B83914282B851   ADRIAN         BRITT                      ID     90002241428
5B8396A8733699   TIFFANY        BROWN                      NC     90013326087
5B839AA6655941   JESUS          ONTIVERON                  CA     90014840066
5B83B236351348   JESSE          HUGHES                     OH     90009682363
5B83B26428B169   DAWN           MARTIN                     UT     90000942642
5B83B358972B88   ESPERANZA      VILLALPANDO                CO     33079963589
5B83B599384357   JESSE          BROWN                      SC     90012905993
5B83B76625B393   MIKE           NGUYEN                     OR     90011977662
5B83B8AA95758B   ELZZA          CURRIE                     NM     35553778009
5B83BA57161975   ANA            VASQUEZ                    CA     46078430571
5B841111972B27   ROSENDO        HERRERA                    CO     90013641119
5B84129467B46B   WANDA          BROOKS                     NC     11078692946
5B841351A31428   RICHARD        PROVANCE                   MO     27574823510
5B8415A345B236   TIMOTHY        BREEDING                   KY     90014575034
5B84161375B399   JOHN           CONCANNON                  OR     44550246137
5B841618361975   DESIREE        MCALLISTER                 CA     90012276183
5B841853255941   LUIS           JAIRO                      CA     90010638532
5B84193955758B   ALVARO         HERNANDEZ                  NM     90012979395
5B841A89A72B49   DANIEL         HERNANDEZ                  CO     90014550890
5B842124985821   ERLIN          HERNANDEZ SANCHEZ          CA     90013751249
5B84214155B162   LAYLA          TAPI                       AR     90005771415
5B842166772B36   JASON          WETZEL                     CO     33057471667
5B84216975B236   THOMAS         BURK                       KY     68060331697
5B842223872B77   CESAR          AGUILAR                    CO     90005552238
5B84232234B28B   VERGITH        KAYLA                      NE     26068613223
5B842351176B75   ALMA           VALDOVINOS                 CA     90014163511
5B842447191356   ELADIO         RODRIGUEZ                  KS     90008834471
5B842746A97B77   WENDELIN ANN   GONZALES                   CO     90005697460
5B842A15984373   HALAKIA        WRIGHT                     SC     19089070159
5B843118242335   NAJEE          CAL                        TN     90015061182
5B843229697B77   ANDRE          BUTLER                     CO     90002822296
5B843314972B27   GRAY           BESSIE                     CO     33095653149
5B843421372B43   CARLOS         CHAVEZ-ALVARADO            CO     33060034213
5B84347984B588   CHRIS          ASHBY                      OK     90009004798
5B844118A72B36   PHILIPPE       JOURDIN                    CO     90002781180
5B84439978B169   BRIAN          JONES                      UT     90014093997
5B84458335B236   JANET          JACKSON                    KY     90013875833
5B84488745B162   MICHAEL        BOLTON                     AR     90013698874
5B8453A3176B8B   JANETT         CRUZ                       CA     90007133031
5B846124157157   FIDEL          DOMINGUEZ                  VA     81089921241
5B84614295B399   JEASON         MUNSON                     OR     90015041429
5B846315372B27   ALEJANDRO      VASQUEZ                    CO     33080263153
5B84639117B661   SHARANA        TYLER                      GA     90005113911
5B846798872B43   SOCORRO        SANCHEZ                    CO     90013747988
5B84682214B28B   ABIGAIL        ANDERSON                   NE     26093868221
5B846A74471935   CHRIS          DENNISON                   CO     90012660744
5B847192971942   LAWRENCE       MCCLAIN                    CO     90010751929
5B847413833699   SHANET         MCCALL                     NC     12095694138
5B84772215758B   NELSON         BOURLAND                   NM     90009467221
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 283 of 2350


5B848226538598   BRAIDEE          SHAW                     UT     90009032265
5B849185A51348   CHERYL           STEGALL                  OH     90008361850
5B8491A6157143   MAGDA            CRUZ                     VA     81002401061
5B84B475661971   FRANK            WHITE                    CA     90014074756
5B84B72AA91356   LAURA AND ROSS   BOLLIN                   KS     90013047200
5B84B84775B387   KERRIE           ONEAL                    OR     90003158477
5B84B98414B28B   QUENTIN          STEPHENS                 NE     90013939841
5B84BA56433696   BOBBIE           GROGAN                   NC     90010350564
5B851221461971   VANESSA          REBELEZ                  CA     90012582214
5B851298272B36   NIKKO            GABALDON                 CO     33002422982
5B851727A57591   JOVANNA          DOMINGUEZ                NM     90012527270
5B85182A972B49   JASI             NEOPANE                  CO     33096108209
5B851A72171935   RANDOLF          JARAMILLO                CO     32049640721
5B852236A5B29B   JESSICA          KARNER                   KY     90008922360
5B85227775B543   ELISHA           SAAVEDRA                 NM     90008152777
5B852621698B2B   CHERIA           ROCK                     NC     11009706216
5B85284A491356   JOHN             JONES                    MO     90014968404
5B852982184373   KIRSTIN          SODERLUND                SC     19033489821
5B85339922B25B   DANIEL           JR                       VA     90010313992
5B8533A9433699   STEPHANIE        GOODSON                  NC     90014533094
5B85341962B851   WAYNE            JOSLEYN                  ID     42082644196
5B85344895B236   AMBER            LOWE                     KY     90014954489
5B853512372B36   DANNY            RODRIGUEZ                CO     90013695123
5B853727476B75   EDITH            LOPEZ                    CA     46010117274
5B853843155941   CODY             CHAMBERS                 CA     90015618431
5B8538A6A72B27   NOEMI            DIAZ                     CO     90010468060
5B853A82751348   ALLISON          HALLCOMB                 OH     90013140827
5B854334555941   VICTORIA         RAMIREZ                  CA     90001183345
5B85453339712B   VERONICA         MARTINEZ RIVAS           OR     90010675333
5B855651871935   WALTER           PAYTON                   CO     32009026518
5B85599255715B   ANN M            WATSON                   VA     81011649925
5B85634545B236   ROSARIO          HERNANDEZ                KY     90011973454
5B85635A49712B   TIM              CLARK                    OR     90009753504
5B85753527B46B   MIGUEL           REYES                    NC     90009565352
5B857863633696   MYESHA           CONAWAY                  NC     90010338636
5B8579A2971935   JAZMYN           JONES                    CO     90014009029
5B8579AA957157   ENRIQUE          MENDOZA                  VA     90012009009
5B857A18A5B236   SKY              HOWARD                   KY     90014420180
5B857AAA45B393   AARON            CURFMAN                  OR     90004770004
5B85818814B579   CECIL            HUNT                     OK     90012901881
5B858A5A133699   ROSA             GOMEZ                    NC     90010980501
5B859672533699   ELVIA            OLIVIA                   NC     12065196725
5B859838A72B88   ARRON            WILLIAMS                 CO     33016328380
5B859871891895   JENNY            LOFTIN                   OK     90015158718
5B85B161261975   DANETTE          ALVAREZ                  CA     90013721612
5B85B24145715B   ISAIC            ROQUE                    VA     90007592414
5B85B24275715B   ISAIC            ROQUE                    VA     90014372427
5B85B2A8A85821   THOMAS           BAKER                    CA     90013272080
5B85B343872B43   DAN              KITTELSON                CO     90006043438
5B85B48685B236   SHATAVIUS        REMBERT                  KY     90014484868
5B85B4A4A33699   CONNIE           BANNER                   NC     90014834040
5B85B797757591   CHEYENNE         GALE                     NM     90010017977
5B85BA2A69712B   ALLAN            KEMPTON                  OR     90009730206
5B8611A8355941   MINDY            MARTINEZ                 CA     90009731083
5B86126A75B236   ALEJANDRO        GARCIA                   KY     90014972607
5B861546172B27   VINCENT          PETERS                   CO     90012895461
5B861636224B7B   LISA             JOHNSON                  DC     81031796362
5B861656851365   SONDRA           ANDERSON                 OH     90005386568
5B86174265B393   GILBERTO         RUBIO                    OR     90009167426
5B861786872B88   SEBASTIAN        RICALDAY                 CO     90004867868
5B861959A71935   RALPH            IRSIK JR                 CO     32088009590
5B86215375136B   CLAYBURN         BEGLEY                   OH     90014461537
5B862657955941   MARIA            VALDEZ                   CA     90015296579
5B86266135B399   TERRENCE         HARRIS                   OR     90012346613
5B862676233696   CONSUELA         SULLIVAN                 NC     90011466762
5B8626A295B399   AMOS             HARRIS                   OR     44578196029
5B8633A2697B54   OMAR             CORONA                   CO     90010473026
5B863493957157   FRANCISCA        NOLASCO                  VA     90004794939
5B863732971935   ALFREDO          VENZOR                   CO     90014937329
5B864165291895   FELIX            SOLORZANO                OK     90015081652
5B86466355758B   VANESSA          GARCIA                   NM     90015086635
5B864872551348   DARREL           WOODWARD                 OH     90000258725
5B8649A6A71935   KEVIN            CLEARY                   CO     90006799060
5B86519615B236   JORGE            PASTOR                   KY     68084911961
5B8651A1772B27   TIFFANY          MEDINA                   CO     33098251017
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 284 of 2350


5B86522152B27B   MARK         BROWN                        MD     90015512215
5B86523857242B   CYNTHIA      SOMPLE                       PA     51042252385
5B86527415B162   LATOYA       ALEXANDER                    AR     90011112741
5B86541575B399   HILARIO      LOPEZ                        OR     44592754157
5B865549261975   RICHARD      AZHOCAR                      CA     46032385492
5B865731951348   RUTHIE       WETTERSTROM                  OH     90012257319
5B86599744B588   DARLENE      TESKE                        OK     90012119974
5B866145484373   SEISHA       LORA MORALES                 SC     90011781454
5B866395241229   MARIA        LAND                         PA     90004303952
5B866414661975   ZOILA        MAZARIEGOS                   CA     90015174146
5B86641815758B   JESSE        DOMINGUEZ                    NM     90003944181
5B8665A125B393   NOONIE       MAGEE                        OR     90002805012
5B866656A72B46   CRAIN        JAIME                        CO     90010956560
5B866713561971   NICOL        SMRZOVA                      CA     90006767135
5B866926993782   MARIO        JACKSON                      OH     90013099269
5B86725A77B46B   QUINTINA     JOHNSON                      NC     11088582507
5B86727AA7242B   KIMBERLY     HILL                         PA     51082252700
5B86732315B543   MARK         OGDON                        NM     90001593231
5B86752242B862   AIMEE        MORAN                        ID     90013395224
5B867991891356   MICHAEL      REED                         KS     90014099918
5B867A95872B27   TOMASA       LOPEZ                        CO     90007070958
5B868387476B75   JUAN         MENDOZA                      CA     46086243874
5B86886329712B   ARANDA       JORGE                        OR     90010858632
5B86937219712B   ISIDRO       DOMINGEUZ                    OR     90012173721
5B869443776B75   ALDAIR       SANCHEZ                      CA     90013264437
5B869562285821   TEODOLO      CHAVEZ GUZMAN                CA     46075735622
5B869574833696   NIKKIA       RATLIFF                      NC     12069595748
5B869757891895   CANETHA      JONES                        OK     90013057578
5B86B195131468   YVONNE       BURRAGE                      MO     90010701951
5B86B594261971   JANAN        RAFO                         CA     46063005942
5B86B664172B67   JANET        LUCERO                       CO     90015016641
5B86B9A835B393   NICENE       TILLERY                      OR     90014919083
5B86BA45472B43   JORDYN       DREILING                     CO     90014740454
5B871196A5B543   MARINA       ROJAS DE VALDOVINOS          NM     35077001960
5B87133362B862   JOHN         OBER                         ID     90004433336
5B871357961975   BEATRIZE     RAMIREZ                      CA     90013273579
5B8713A3653B96   DAVID        LOPEZ                        CA     90015473036
5B871496797B54   REYEZ        MARTINEZ                     CO     39040294967
5B871558238598   FRANCISCO    ZAPATA-VIVAS                 UT     90013295582
5B87189188B169   MATTHEW      RICARHD                      UT     90002898918
5B871986A93747   JULIAN       TAIWO                        OH     90010769860
5B872263585821   TODD         STRANUSS                     CA     46074562635
5B872413333696   LASHAWN      ISLEY                        NC     90008744133
5B872512361975   ZURAH        ALI                          CA     90015325123
5B872543857591   ENRIQUE      PEREZ                        NM     90011055438
5B872632372B93   NALIZA       GOMEZ                        CO     90011496323
5B87265549712B   COLLETTE     CAVITT                       OR     90014336554
5B87276285B531   JIMMY        SANTIAGO                     NM     90005477628
5B87282217242B   APRIL        NICOLO                       PA     90014628221
5B8728A6972B27   LAURIE       TVERBERG                     CO     33077378069
5B87292385B236   JUANA        GUZMAN                       KY     90012689238
5B872A42584357   THELMA       STOKES                       SC     90013930425
5B873628591895   TIFFANY      GENSEL                       OK     90010806285
5B87387A733696   IBARHIM      SALIH                        NC     90011978707
5B873A29372B49   DELIA        PACHECO                      CO     90008330293
5B874124771935   ALICIA       KERR                         CO     90012661247
5B87426349712B   BAILARD      ERIC                         OR     90009762634
5B874911891895   DANIEL       HINDS                        OK     21029809118
5B87491957B46B   MARIA        ROBLES                       NC     11014429195
5B874936972B27   JORDAN       ROBINSON                     CO     90014829369
5B874A5335B399   RAQUEL       RAMIREZ MULATO               OR     90013750533
5B875214272B27   KENDRA       JASSMANN                     CO     33087222142
5B87547855758B   CARMEN       ORTEGA                       NM     90007454785
5B87631334B28B   DANIEL       DEL RELLO                    NE     26062633133
5B8764A8761971   GUADULEPE    IBARRA                       CA     90014424087
5B876719872B43   LUKE         REED                         CO     90010017198
5B876777457157   ISIAH        CONTEE                       VA     90011797774
5B876836372B77   ADELINA      GARCIA                       CO     33080388363
5B87684A45B162   SAMMY        NELLSON                      AR     90014148404
5B876A7377B46B   ANDREA       MOORE                        NC     90011990737
5B87758A484357   GENRY        ORDLANA                      SC     14570615804
5B8775A6455951   PERSIVAL     SAUCEDO                      CA     49005275064
5B87761285B531   DANIEL       AGUILAR                      NM     90011196128
5B877A12691885   JUAN         RUBIO JR                     OK     90008710126
5B878123972B43   DOROTEO      DIAZ                         CO     90013111239
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 285 of 2350


5B8783A7131429   AMOS         JACKSON                      MO     90006633071
5B87851685B236   KATIANA      JOSEPH                       KY     90011235168
5B878846885821   LUCAS        MONTEJO                      CA     46041428468
5B878871785821   ANDREA       CHASE                        CA     90012108717
5B87918615715B   WIL          RAMIREZ                      VA     90013741861
5B8791A135B236   WATKINS      PATRICIA                     KY     90013741013
5B87925242B862   MICHAEL      PANNELL                      ID     90013462524
5B87926A657157   AGUEDA       MEZA                         VA     81092162606
5B8794A5372B49   GABRIEL      CRUZ                         CO     90011004053
5B879A66771935   GABRIEL      PACHECO                      CO     90015120667
5B87B1A139712B   TERRY        DORMAN                       OR     90012721013
5B87B42A58B169   MISTY        MALONE                       UT     90013714205
5B87B54985B162   JAQUISHA     HOLLYINQUEST                 AR     90012855498
5B87B94355B236   ANDREW       WALKER                       KY     90014869435
5B87B97275B543   BEN          MONTOYA                      NM     35014799727
5B881183761975   BRIANA       QUIRINO                      CA     90012851837
5B8814A825B162   ADRIAN       DAMIAN                       AR     90015224082
5B88159852B27B   LAKISHA      GREEN                        DC     90008485985
5B88194545758B   ABRIEL       DRESSER                      NM     90010809454
5B881A2767B69B   PATRICA      OUDA                         GA     90013180276
5B88317A972B67   KIM          WARREN                       CO     90002891709
5B883181772B27   KIMBERLY     ORELLANA                     CO     90013041817
5B88332A391895   YUDITH       ANDAZOLA ENRIQUEZ            OK     90009963203
5B8835A345B236   TIMOTHY      BREEDING                     KY     90014575034
5B88418AA2B869   ANNA         VALLARD                      ID     90009331800
5B884736576B75   JUAN         PABLO                        CA     46004447365
5B88497925B387   MERCEDES     BULLITT                      OR     44560049792
5B885263A61973   REGINALD     HAILEY                       CA     90012742630
5B885271A72B88   KEITH        LOMMATSCH                    CO     33065462710
5B88548554B28B   TRAVIS       POWELL                       NE     26084644855
5B88557A37B46B   VIVIAN       FIGUEROA                     NC     90001385703
5B88574535B531   HEIDI        HAGENLOH                     NM     90009627453
5B886158371935   ANDREA       WILLIAMSON                   CO     90013951583
5B88639224B28B   NICOLE       LAIRMORE                     NE     90010473922
5B8865A6433699   ANTHONY      WILLIS                       NC     90012825064
5B8865A9557157   DOMINIQUE    FRYE                         VA     90014275095
5B886829571935   JENNIFER     CATRON                       CO     90013978295
5B88713A784373   MARKETTA     HAYNES                       SC     90011031307
5B887163392878   RON          JACOBSEN                     AZ     90013981633
5B88812697B48B   JERRY        JONES                        NC     90006151269
5B8882A427242B   DANIEL       RABE                         PA     90006142042
5B888335371935   MARCUS       VALDEZ                       CO     90012273353
5B8885A5861971   CALLER       A KNOWN                      CA     46045905058
5B888A85A71935   LEON         MURPHY                       CO     90015250850
5B88924A833699   DENNIS       SPEAR                        NC     12033122408
5B88931819712B   ROBIN        GROSSER                      OR     90012833181
5B88933558B189   KEITH        HUNTINGTON                   UT     31077623355
5B88977235B393   LETICIA      SANCHEZ                      OR     44517687723
5B88B35654B588   KENNY        PHELPS                       OK     21580203565
5B88B391472B27   KIMBALA      CONRAD                       CO     90012623914
5B88B424A72B36   JESUS        DE LA HOYA                   CO     90010864240
5B88B561897B54   JASON        STILLMAN                     CO     39063645618
5B88B9A8155941   VERONICA     DIAZ                         CA     90008269081
5B88BA69A61975   DAYRA        SANCHEZ                      CA     90011980690
5B891272A72B43   JAYRO        ESPINO                       CO     90005092720
5B89131235B531   ALEX         GARCIA                       NM     90004893123
5B8914AA461975   JOHN         AKERS                        CA     90005044004
5B89158654B588   BRYON        BRYANT                       OK     90006675865
5B89183182B851   TIMOTHY      LANCASTER                    ID     90002298318
5B891863984357   KAREN        SEABROOK                     SC     90014118639
5B891A2685B93B   VICTOR       LARA                         WA     90014960268
5B892154757143   FELIPE       VENTURA                      VA     90002351547
5B892358457157   TAMMY        MOORE                        VA     90002373584
5B8925A6585821   CECILIA      RODRIGUEZ                    CA     46013565065
5B8927A6671935   NASIM        KHAN                         CO     90012657066
5B8929A8455941   HARMONY      GARCIA                       CA     90011019084
5B892A93572B49   CAMILLE      HOFFMAN                      CO     33029760935
5B893167271935   ISAMAR       GURROLA                      CO     90013951672
5B893276157125   NELSON       ALEXIS GALO                  VA     81095562761
5B893366A84373   WANDA        HAWKINS                      SC     90011083660
5B8941A6257591   KEVIN        KELLY                        NM     90013351062
5B894689661975   MARIO        NAVARRO                      CA     90013956896
5B894887897B77   DAVID        MORGAN                       CO     39000858878
5B894966261971   CRYSTA       LOPEZ                        CA     90009469662
5B8952A5872B49   RUBY         FODEN                        CO     33048812058
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 286 of 2350


5B89561375B399   JOHN         CONCANNON                    OR     44550246137
5B895678357157   RAFAEL       DE JESUS VILLALOBOS          VA     90005636783
5B895737191356   MARIA        AYALA                        KS     29016567371
5B8958A3672B43   JOANNA       OLMSTED                      CO     33087028036
5B896622861971   JONATHAN     LOVELASS                     CA     90001676228
5B89673935758B   ESTELA       CHAPARRO                     NM     90009467393
5B897239271935   GAIL         EDWARDS                      CO     32057742392
5B8972AAA84373   MICHAEL      WRIGHT                       SC     90010202000
5B89734314B251   ELLIOTT      HORTON                       NE     27089623431
5B897752461975   LUZ MARIA    DUENAS                       CA     90013067524
5B89784464B588   TAQUANNA     GATES                        OK     90009248446
5B897A1895B162   VALECIA      CLAYTON                      AR     90011370189
5B898282A57157   JAMES        GALIMAH                      VA     81042632820
5B8982A6333696   TIFFANY      JOHNSON                      NC     90006912063
5B89845A755937   GABRIEL      ALARCON                      CA     90009434507
5B8985A642B862   MAKEL        ALT                          ID     90014315064
5B89864117B46B   MIA          NICHOLS                      NC     11002516411
5B898679397128   BARBARA      PAYNE                        OR     90001736793
5B8986A2855951   ANDRE        FLANIGAN                     CA     49005276028
5B898835272B49   ROBERT       ACOSTA                       CO     90012358352
5B8988A9261971   ERIK         GUZMAN                       CA     90014388092
5B898A6445715B   DAVID        GRUND                        VA     90002470644
5B899283184357   DAVID        STOCKHAUSEN                  SC     14575122831
5B899411757157   CARLOS       CHIRINOS                     VA     81033364117
5B899763891321   LISA         WING                         KS     90012627638
5B899888161971   TERRIE       KHOEUM                       CA     90013328881
5B8998A6457591   YOLANDA      ORDAZ                        NM     35585028064
5B89998447B46B   SHANIKA      GRAHAM                       NC     11086819844
5B899A85372B49   CARLEY       CARTER                       CO     33051650853
5B89B346684357   YADIRA       ALTAMIRANO                   SC     90015323466
5B89B46572B241   KEIA         BROWN                        DC     90007594657
5B89BA3342B27B   SUNSERI      REID                         VA     90008980334
5B8B148A75B399   CARRIE       WILKINSON                    OR     90000794807
5B8B1495461975   ALMA         MOTA                         CA     90012814954
5B8B16A1572B36   MICHAEL      STOCKTON                     CO     90012816015
5B8B187215758B   RENEE        HINOJOSA                     NM     90015138721
5B8B1A61955941   SHAWN        BENSON                       CA     90006620619
5B8B2158461975   ARMANDO      BAUTISTA ENRIQUEZ            CA     90005941584
5B8B2417161971   LUIS         MARTINEZ                     CA     46081994171
5B8B2589A72B46   ADAMS        LASHAY                       CO     90008285890
5B8B2988238598   LAWNI        BEAVERS                      UT     90013259882
5B8B2A1839712B   BROOK        TOPPS                        OR     90007400183
5B8B2A2A272B27   SERGIO       BARBA                        CO     90000660202
5B8B2A96A7242B   PATRICIA     FLETCHER                     PA     90011620960
5B8B318AA84373   EDGAR        RAMIREZ                      SC     90014731800
5B8B3247257157   JUAN         ALBA                         VA     90011642472
5B8B3253572B43   MANUEL       BARRON                       CO     33066902535
5B8B327972B27B   KEVIN        HOWARD                       VA     90010882797
5B8B32A3172B36   SHANE        BERNAL                       CO     33058532031
5B8B3394133696   ADEN         ROSE                         NC     90015613941
5B8B3658A8B169   SHANNON      WERNY                        UT     90006846580
5B8B367A54B588   TODD         DIXON                        OK     90015506705
5B8B3939376B75   JESSENIA     AVILA                        CA     46073569393
5B8B4229551348   AMBERLY      BURGESS                      OH     90013212295
5B8B4357733699   MONICA       LEWIS                        NC     12073283577
5B8B4372353B96   RUBY         NEWSOME                      CA     90015373723
5B8B459617B46B   VEATRIZ      RUEDUS                       NC     90004645961
5B8B4957861975   EDNA         VERDUZCO                     CA     90011659578
5B8B4982631252   LASHANTE     HAMBLIN                      IL     20507229826
5B8B4A18385821   ERNESTO      HERNANDEZ                    CA     90012160183
5B8B524265B393   JACOB        ARBUBKLE                     OR     90013072426
5B8B5298891895   DESARAY      ARNEECHER                    OK     90012622988
5B8B5315372B43   MANUEL       MARTINEZ                     CO     90004253153
5B8B5459172B36   ANGEL        BARELA                       CO     33052064591
5B8B5565757591   ANGELA       CORCHADO                     NM     35588805657
5B8B5694333696   DENNETTA     DAWKINS                      NC     90011976943
5B8B622772B851   JAMES        MCCULLOUGH                   ID     90006772277
5B8B628228B169   WILLIAM      DRAPER                       UT     90014202822
5B8B6918A2B28B   ROSSVY       VALLEJOS                     VA     90008569180
5B8B7597972B27   KENDRA       WARREN                       CO     33054195979
5B8B766244B28B   DELFINA      BOWER                        NE     90013816624
5B8B784665758B   MINERVA      ARZOLA                       NM     90011148466
5B8B788525B387   MONALISA     BROWN                        OR     44564978852
5B8B8149172B43   MONALISA     FINLEY                       CO     33057771491
5B8B849A655941   SONIA        M DOMINGUEZ                  CA     90012024906
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 287 of 2350


5B8B8583361971   MARIA        CASTRO                       CA     90015105833
5B8B8695672B2B   MONICA       BUTLER                       CO     90010036956
5B8B8841961949   TERESA       TORRES                       CA     46054388419
5B8B891442B27B   CINDY        STILL                        DC     90014049144
5B8B8A31A76B53   HECTOR       GONZALEZ                     CA     46063050310
5B8B9272771922   JEOVONI      HERRERA                      CO     90010472727
5B8B972452B27B   ABEL         GUERRA                       DC     90010707245
5B8B972724B588   MARCUS       CHAMBERS                     OK     90015167272
5B8B98AA655941   OSCAR        OCAMPO                       CA     90013358006
5B8B9A18985821   EMILY        NEWTON                       CA     90012090189
5B8B9A3A772B36   GINA         CATHERINE                    CO     90011400307
5B8BB43717B46B   ANDRE        MCGILL                       NC     90014684371
5B8BB55815B543   ANJELICA     PEREZ                        NM     35036415581
5B8BB63124B28B   LUIS         FERNANDEZ                    NE     90005216312
5B8BB657161975   ANDRES       GARCIA                       CA     46042126571
5B8BB885A55928   MARGARETA    PANEDA                       CA     90008898850
5B8BB889A72B36   JOSHUA       HOWARD                       CO     90014488890
5B91121252B27B   JAMAAL       RAMSEY                       DC     81072042125
5B911829257157   TONY         TUNER                        VA     90008838292
5B911871661975   MIGUEL       COVARRUBIAS                  CA     90011148716
5B912198361971   RUPERT       GALLEGOS                     CA     90012271983
5B91241A89712B   RYAN         THOMPSON                     OR     90013634108
5B912665A98B34   SHANIKA      HINES                        NC     90011286650
5B912716361975   MARIA        NAVARRETE                    CA     46031787163
5B912767141229   ROBERT       CRIDGE                       PA     90006877671
5B913179171935   VICTOR       GUILLEN                      CO     90013081791
5B913682855941   JESUS        MACIAS                       CA     48000846828
5B91443565B531   ALAN         VALENZUELA                   NM     90014584356
5B91498A37B362   EMANUEL      BROWN                        VA     90010819803
5B914A9775715B   CARLOS       MENDIA                       VA     90014840977
5B91515984B28B   LUIS         LOPEZ                        NE     90013941598
5B9152AAA33699   ROCIO        GONZALEZ                     NC     90013712000
5B9155A1284357   MARIO        ALTAMIRANO                   SC     90001765012
5B915651272B27   MARIA        DEL SOCORRO                  CO     90009116512
5B915958772B49   ANGIE        GONZALES                     CO     33019669587
5B916474133699   BEATRIZ      ORTIZ CRUZ                   NC     90004084741
5B91655A29712B   HUENGJIN     PARK                         OR     90012255502
5B916574397127   ALEXSANDR    NIKIPELOV                    OR     90010345743
5B916632591356   NATALEA      BEATTY                       KS     90006046325
5B9166A165B543   AARON        THOMAS                       NM     35068996016
5B91677795758B   VIRGINIA     ARMENDAREZ                   NM     90010347779
5B916885633696   JONATHAN     BLACKWELL                    NC     12011518856
5B916915872B36   JIMMIE       WINSTON                      CO     33070469158
5B917355172B36   FRANCISCO    GARCIA                       CO     33024943551
5B917391476B75   RACHEL       RODRIGUEZ                    CA     90011423914
5B917416A5B387   SEAN         BROCKSMITH                   OR     44595944160
5B91758795B399   COLINA       HARTUNG                      OR     90008305879
5B917846233696   CAMERON      HODGE                        NC     90003148462
5B918542297B77   JACQUEZ      SANTOS                       CO     39004835422
5B918567441229   JENNIFER     AZZARETTO                    PA     90014235674
5B918583A5B271   ROBERT       WILLIAMS                     KY     90003055830
5B918843672B67   YESSENIA     LUDWIG                       CO     33086238436
5B9188A5141229   JENNIFER     AZZARETTO                    PA     90006878051
5B9191A162B851   AMBER        DAVIS                        ID     42026281016
5B91965595B531   JAMES        GLOVER                       NM     90008076559
5B919725124B7B   RUDY         ESCOBAR                      VA     90005397251
5B91997285B399   KASSEY       MCGUIRE                      OR     44560549728
5B919A9A555941   ROSA         CANCHOLA                     CA     90012790905
5B91B11995715B   KEVIN        FOLEY                        VA     90012961199
5B91B534884373   ENIKA        WHICKER                      SC     19057325348
5B91B53A872B43   GABRIELLE    GONZALES                     CO     90007875308
5B921269772B36   DEANNA       ESTRADA                      CO     33052192697
5B921A23184373   MICHAEL      JORDAN                       SC     19048650231
5B922539951348   DYLAN        MILLER                       OH     90015175399
5B92261A691356   SAMANTHA     FLEMMING                     KS     90004256106
5B922633471935   JESSICA      VAN NESS                     CO     90000826334
5B92265A45B399   KAYLEE       IXCOLIN                      OR     90002906504
5B922687985821   SHARON       WHITE                        CA     90009996879
5B923312255941   MICHELLE     YORK                         CA     90015063122
5B923357454191   JULIE        MAIN                         OR     90008363574
5B923511891895   TIMOTHY      WHITE                        OK     90010795118
5B924129271935   RYAN         THEMER                       CO     90011761292
5B9243A325B399   KEITH        PYLMAN                       OR     44559443032
5B92448575758B   CRESPIN      JO                           NM     90004154857
5B924678A7B468   JEREL        ROLLINSON                    NC     90009916780
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 288 of 2350


5B924A51933696   ANTONIO               DAVIS               NC     90013880519
5B925175385821   EDUARDO               SEANZ               CA     90011141753
5B92517A697B54   BRANDON JAMES LARRY   CASTERLINE          CO     90010921706
5B925458991895   NOLVIA                SOLIS               OK     90012344589
5B925766572B43   ANNETTA               WATKINS             CO     90011927665
5B92577525715B   JORAM                 AMAPANGA            VA     81032447752
5B9258AA45B531   SABA                  SHIRZADA            NM     90008798004
5B926142176B52   RAY                   HORTON              CA     90001201421
5B92669295B399   JR                    ALVAREZ             OR     90003536929
5B92681654B588   LUIS                  MARTINEZ            OK     21584928165
5B927138772B46   GERARDO               LOPEZ               CO     33071071387
5B927152685821   YURI                  GONZALEZ            CA     90002781526
5B927154133699   MARIA                 BRACAMONTES         NC     90011231541
5B927227472B27   TOM                   PRIDY               CO     90013982274
5B927356855941   HUGO                  MEDINA              CA     48067433568
5B927451972B49   JAMES                 BURGOS              CO     90015274519
5B928268284373   MONASHIA              DAWKINS             SC     90014742682
5B92871859712B   ISRAEL                ZAPATA FLORES       OR     90009777185
5B9289A3176B75   TERESA                MENDOZA             CA     46083379031
5B928A4416B166   PATRICK               SMITH               MS     90015460441
5B929268284373   MONASHIA              DAWKINS             SC     90014742682
5B929282A7B46B   BRIAN                 JAMES               NC     11087102820
5B92945365715B   BIANCA                HURTADO             VA     90011504536
5B92977879712B   CARLOS                SANTIAGO            OR     90013837787
5B929779284357   DEBBIE                COHEN               SC     90013127792
5B929912172B36   CHARLES               WILLE               CO     90013609121
5B92B342657157   ANN MARIE             DIXON               VA     81036573426
5B92B362171935   FRANCISCA             RUVALCABA           CO     90014313621
5B92B54325B93B   VICTOR                LARA                WA     90015405432
5B92B594A5715B   FATIMA                SAMANTAR            VA     90014755940
5B92B81375B531   ISIS                  VIEZCA GONZALEZ     NM     35078268137
5B92B923884373   GAQUOHA               RICHARDSON          SC     90010989238
5B92B979185821   DAVID                 FRAZER              CA     90010799791
5B931579A4B28B   BETHANY               BANTAM              NE     90014875790
5B931A15472B27   IVONNE                TRUJILLO            CO     90011660154
5B932242233696   PAUL                  FOLEY               NC     90008492422
5B932425841242   DHAN                  TIMSINA             PA     90005044258
5B932473157591   ARNULFO               MUNOZ               NM     90014964731
5B93288A161971   LIZA                  PEREZ               CA     46035138801
5B932929591895   KEVIN                 JOHNSON             OK     90009779295
5B932A8148B169   ANDRES                CASTNEDA            UT     90011300814
5B933131372B88   GUILLERMO             DELGADO             CO     33016331313
5B9331AAA51329   DONALD                BAKER               OH     90001261000
5B93352742B27B   THOMAS                NORRIS              DC     90014975274
5B933673433157   SANIQUA               THOMPSON            MO     20531226734
5B93385A691895   BIANCA                ORTIZ               OK     90011338506
5B93386625758B   HECTOR                GONZALEZ            NM     35586598662
5B933873384373   LAWRENCE              TAYLOR              SC     90009088733
5B93451615B531   DAYNA                 BACA                NM     90012585161
5B934568341229   JAY                   MATTIE              PA     90013745683
5B934653657591   GABRIEL               ORTIZ               NM     90014536536
5B934726176B75   JOSE                  CHAVEZ              CA     46068287261
5B93492627B46B   JENNIFER              MEJIA               NC     90011589262
5B934A86557157   LORENA                RAMOS               VA     90013610865
5B935254185821   LUIS                  ARANA               CA     90012782541
5B93527465B523   ROSA                  SMITH               NM     90007412746
5B93527534B588   TRACY                 HENSLEY             OK     90015152753
5B935447A5758B   SARAI                 LOPEZ               NM     90006174470
5B93548548B169   MELISSA               LEAL                UT     90005864854
5B935597572B27   LINDA                 CHANDLER            CO     33063685975
5B935AA7861975   PABLO                 GAMEZ               CA     90012750078
5B93615A85B543   DAVID                 MARRUJO             NM     90002011508
5B936533357591   DIVENA                COVINGTON           NM     90013085333
5B93792669712B   JESSICA               SUMANO              OR     90006419266
5B937A57457157   CANDELARIO            HERRERA             VA     90012670574
5B937A74133699   TONESCA               HOLMAN              NC     12052430741
5B938158A51348   MARIUS                KOUASSI             OH     66002861580
5B938511672B49   MAYRA                 GUETIERREZ          CO     33060005116
5B938997A5B162   DUSTIN                WHITENER            AR     90013339970
5B9389A684B588   ANTHONY               HANSFORD            OK     90012949068
5B939169551348   RHONDA                SHEPHERD            OH     90014581695
5B93926255758B   ERIKA                 CORRAL              NM     90015132625
5B9392A725B531   EDWARD                HUNT                NM     35006142072
5B939398757591   JOSE                  OLIVAS              NM     35596493987
5B939552857157   CAROLINA              MORALES             VA     90007225528
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 289 of 2350


5B93956837B431   FELICIA          PRICE                    NC     90006485683
5B93967148B169   ROBERT           REDD                     UT     90013786714
5B939A45A71935   COLLEEN          JACKSON                  CO     90006140450
5B93B261A57591   CRYSTAL          HERMOSILLO               NM     90009112610
5B93B397157124   BOBSON           BANGURA                  VA     81036533971
5B941369561971   BASSAM           SHAMOON                  CA     46038913695
5B94137388B167   REYNA            M ORTEGA                 UT     90009593738
5B941718272B77   ERIK             LANCIEGO                 CO     90013067182
5B9417A3372B43   LAKISHA SHANEE   PHILLIPS                 CO     90013827033
5B94217765B531   ANTONIO          GARCIA                   NM     35058101776
5B94274185B393   NICK             MORALEZ                  OR     90013507418
5B942A85433696   KOIZEAH          SNETTER                  NC     12010680854
5B943146261971   WILLIAM          RUSSELL                  CA     46014781462
5B94323A751348   BRIDGET          BROWN                    OH     90011562307
5B94359194B28B   JOANNE           SCOTT                    NE     90008085919
5B943686451341   FELICITA         DELGADO                  OH     90010346864
5B94384184B588   RONNIE           BURTON                   OK     90013708418
5B94423AA8B169   ESTHER           ROJAS                    UT     90011502300
5B944379633157   DWANECIA         DAVIS                    IL     90015413796
5B94515425B531   LISA             MADRID                   NM     90002831542
5B945398272B67   KRISTA           FORD                     CO     33016783982
5B945536884357   ANDRE            SIMMONS                  SC     90012125368
5B94612A591895   REBECCA          GRIFFITH                 OK     90002311205
5B94636845758B   ANARENEE         BACA                     NM     35548283684
5B94656215715B   LUIS             BALTAZAR                 VA     90006475621
5B9465A4472B46   MA GUADALUPE     ORTIZ                    CO     90008555044
5B946666784373   SARAH            BROWN                    SC     19061956667
5B9467A652B27B   LATONYA          HILL                     DC     90013257065
5B946873955941   JESUS            CISNEROS                 CA     90004888739
5B9468A547B46B   MADELINE         REID                     NC     11068038054
5B947594271935   HEATHER          BILYEU                   CO     90014835942
5B9479AA872B43   OLLIE            WARE                     CO     90008949008
5B94854A25B236   PAUL             EDWARDS                  KY     90000685402
5B948572884373   SHAQUANTA        ANCRUM                   SC     90014745728
5B94868285B387   BRETT            KIBERLING                OR     44526566828
5B948852884357   NISSA            SCHULTZ                  SC     90013168528
5B94886354B28B   MARY             LOURY                    NE     90012538635
5B94888AA55951   AMANDA           GARCIA                   CA     90007268800
5B948925391895   ROBERT           COOPER                   OK     21048889253
5B94894765715B   OTONIEL          BATEN                    VA     90011039476
5B948964A7242B   LATOYA           HARRIS                   PA     90014139640
5B94926675715B   PHILLIP          NY                       VA     90014422667
5B94941A931429   KHAIRON          DUNLAP                   MO     27511544109
5B94B26435715B   JORGE            SARACHINI                VA     81065312643
5B94B2A9A5B393   FELIPE           MORENO                   OR     44515332090
5B95111757242B   RANA             SEMANCIK                 PA     90014161175
5B951737491895   HERMINIO         BEAS                     OK     21060417374
5B951825976B75   STEVE            CARR                     CA     90009098259
5B951A2965B399   JAMIE            SUMMER                   OR     44514730296
5B953121333699   MAGDALENO        SILVA                    NC     90012441213
5B95321A538531   CASEY            VIGIL                    UT     90015202105
5B9532AA55B393   EVA              MILLHOLLIN               OR     44537032005
5B9533A617242B   LORETTA          GRIMM                    PA     90014743061
5B9535A8872B46   IRMA             CHAVEZ                   CO     90008555088
5B953883572B27   JAYLIN           THOMAS                   CO     90012578835
5B9539A1991356   KIMBERLY         FORD                     KS     90010049019
5B953A7637242B   MELISSA          CASTEEL                  PA     90014730763
5B954382661975   LAURIE           JOHNSON                  CA     90012043826
5B954488185821   ANGELA           JONES                    CA     90014154881
5B95456815715B   JAMAL            MOUSTIR                  VA     81061865681
5B95493AA76B75   MARTIN           ROMERO                   CA     90009239300
5B954A1345B531   CONNIE           THOMAS-MONTANO           NM     35065850134
5B955123857157   WILL             KING                     VA     90014491238
5B955221191521   JACQUELINE       OPDYKE                   TX     90010182211
5B955A21676B75   LOUIE            LOPEZ                    CA     46057860216
5B956218672B49   EFREN            GARCIA                   CO     90000802186
5B956323861971   CHARLES          NESS                     CA     90012433238
5B95718215B531   OLIVIA           EZPINOZA                 NM     90010991821
5B957628984357   ASHLEY           ROBINSON                 SC     90008586289
5B95824934B28B   CASANDRA         OGDEN                    NE     90013592493
5B958448A61971   KANDACE          SWIECH                   CA     90009164480
5B958A4375B162   DANA             MCKA                     AR     90014800437
5B959181457591   JOSE             CHAVEZ                   NM     90013991814
5B9593A315B162   STEVEN           SAMUEL                   AR     23089003031
5B959966633699   LOURDES          SOTO                     NC     90001269666
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 290 of 2350


5B95B327A97B54   JAMIE              BEACH                  CO     39006313270
5B95B3A6A72B46   LORENA             CHAVEZ                 CO     33044963060
5B95B627755941   KENIA              MORENO-ESCALANTE       CA     90011406277
5B95B788391895   ALLEN              GLOVER                 OK     90013947883
5B95B862925154   MICHAEL            GAMBLE                 AL     90014508629
5B95B93465B162   EXZONDA            ROSS                   AR     90011149346
5B96137515715B   SIRAK              SHERINET               VA     90013893751
5B96145877242B   JEFFREY            TOMKO                  PA     90014164587
5B961522655941   L                  FERNANDEZ              CA     90011905226
5B96187577192B   CLEORA             COCHRANE               CO     90014888757
5B9618A1872B49   HEATHER MICHELLE   PATOCKA                CO     90013038018
5B9618A8855941   MONIQUE            SANCHEZ                CA     90009688088
5B961A96957157   DANISHA            ANDERSON               VA     90009330969
5B962129176B75   MICHELLE           INMAN                  CA     90013891291
5B96242A955951   MONICA             CARDENAS               CA     49039224209
5B9626A2542363   SYLVIA             MCNABB                 TN     90015486025
5B96311175B236   RUTHIE             OLIVER                 KY     90013701117
5B963112391356   KIM                FILLEY                 KS     90013971123
5B963227672B43   TINO               RICE                   CO     90015112276
5B9632A477B46B   RUBEN              ALVARADO               NC     90007732047
5B963366984357   HAROLD             IRVIN                  SC     90007863669
5B963437684373   JENNIFER           KINSEY                 SC     19026254376
5B963936285821   PHOUVIENG          CHANTHAVONG            CA     90010289362
5B964195557591   JOHN               MONTOYA                NM     90003681955
5B9641A8457157   CARLOS             GUZMAN                 VA     81044251084
5B96453668B169   SHANNON            REES                   UT     90012165366
5B964695597B77   LORI               GONZALEZ               CO     39021746955
5B964774A5B393   DIANE              HIRSCH                 OR     90005597740
5B96499454B588   CLARENCE           WOODFORK III           OK     21595609945
5B96524565B283   ALINE              HILL                   KY     90013952456
5B965366533696   MICHEAL            PRICE                  NC     90001443665
5B965493585821   YOLANDA            JIMENEZ                CA     90006794935
5B965733231429   STEVIE             WINSTON                MO     27500037332
5B965AA485B236   MELVIN             WALLS                  KY     90015120048
5B9662A6755941   IVORIE             LINDSEY                CA     90014542067
5B966324751348   KIMBERLY A         ANDERSON               OH     66052103247
5B96677522B27B   QUIANNA            LAMONS                 DC     90000637752
5B96688778B169   RAMON              SANCHEZ                UT     90004538877
5B966A19855997   CINTHYA            DIAZ                   CA     90001170198
5B966A6A68B169   RAMON              SANCHEZ                UT     90014210606
5B9674A9591895   PAYGO              IVR ACTIVATION         OK     90009004095
5B967654361975   YULIANA            MOLGORA                CA     90009426543
5B96768135B399   ASHLEY             BIRGE                  OR     90014526813
5B96828179712B   NAZARIO            MORAN BARRILLAS        OR     44569032817
5B96834975B393   KARLA              BADILLO-MONTES         OR     44501423497
5B968376157157   VERONICA           LEMUS                  VA     90013253761
5B968567755941   EDGAR              PULIDO                 CA     90014545677
5B968573797B54   ERICA              RODRIGUEZ              CO     90011165737
5B96858838B169   NORMAN             STEVENS                UT     90013895883
5B968696361975   MARCOS             GARCIAAS               CA     90010106963
5B968868A5B543   JESSENIA           MUNOZ                  NM     35001598680
5B9688A254B588   RONALD             HAWKINS                OK     90012918025
5B9689A1433696   SANA               TOGOL                  NC     90013929014
5B96926158B169   AMBER              GALBRAITH              UT     31039752615
5B96941325B29B   KORI               KILGORE                KY     90013964132
5B969895171935   LAURA              ZORNES                 CO     90013298951
5B969A9A157157   JACUELYN           BEHNE                  VA     90010240901
5B96B36A97B461   DORIS              MCKAY                  NC     90000423609
5B96B522333696   DONNA              SCALES                 NC     90014195223
5B96B651984373   CARNELL            WILLIAMS               SC     90014746519
5B96B7A528B169   JEFFREY            TROBAUG                UT     90009347052
5B971417857591   OMAR               GARCIA                 NM     90013734178
5B97175125758B   ROSA               GALLEGOS               NM     90012377512
5B971989A85821   BASILIO            MARTINEZ               CA     46082479890
5B97269718B169   JAMES              BAILEY                 UT     31087836971
5B97291837242B   ELIZABETH          TELLES                 PA     90011739183
5B97292555B393   ORLANDO            UCAN                   OR     90014619255
5B972935761975   DIANA              GONZALEZ               CA     90013799357
5B972A84A91895   EVELYN             AYERS                  OK     90009420840
5B973318471935   STEPHANIE          LONGREAR               CO     90013023184
5B973721A5B399   JOSE               MENDEZ LOPEZ           OR     90010337210
5B97383265758B   DESTINEE           BORUNDA                NM     90011018326
5B973877955941   GUADALULPE         MOLINA                 CA     90012768779
5B974149455951   MA. ELENA          BANALES                CA     49003031494
5B9741A6257591   KEVIN              KELLY                  NM     90013351062
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 291 of 2350


5B974678161975   GEORGE        ALCARAZ                     CA     90008016781
5B974692455941   LYNNAE        POTTER                      CA     48064256924
5B9747A6984357   CAPRESHA      JAMES                       SC     90009387069
5B97533435B399   KALALA        SCHUSTER                    OR     44525193343
5B975698A4B588   ZENOBIA       FRAZIER                     OK     90011996980
5B975955A97B77   BRITT         UNRUH                       CO     90014179550
5B97597665B543   ANDREA        CHAVEZ                      NM     90006049766
5B975A9514B588   AMELIA        HARGROVE                    OK     90014500951
5B97629234B588   JESSICA       BLUFORD                     OK     90013192923
5B976517133B26   NAQUIA        EVANS                       OH     90011295171
5B9766A5472B77   HORACIO       DOMINGUEZ                   CO     33028846054
5B977311591895   ANN           TAYLOR                      OK     90014703115
5B977A67151334   JENNIFER      SINGLETON                   OH     90001460671
5B977A79485821   PRUDENCIO     MONTEJO                     CA     46091250794
5B97849535B162   BRISON        MCFALLS                     AR     90007364953
5B978663284357   MARK          CARSON                      SC     90013156632
5B9786A3661971   DERRICK       WILKINSON                   CA     90013596036
5B97876658B169   MICHAEL       RENTERIA                    UT     90004407665
5B979172A4B588   DAVID         HALL                        OK     90012061720
5B97924A62B27B   SHARON        ARTIS                       DC     90014072406
5B97941835B531   LISA          SANCHEZ                     NM     90006174183
5B979672A84373   DESIREE       MOULTRIE                    SC     90014756720
5B979797672B36   SARAHI        BARRAZA                     CO     90000907976
5B979832772B27   JANELLE       JENLINS                     CO     90002758327
5B97994775B162   PAYGO         IVR ACTIVATION              AR     90008349477
5B979A32261971   EVERARDO      GONZALEZ                    CA     46063700322
5B97B338191356   KEITH         THOMAS                      KS     29016043381
5B97B53835B531   FRANK         SAIZ                        NM     90007255383
5B97B82517242B   PAMELA        JUART                       PA     51012748251
5B97B928684357   DAVID         TAYLOR                      SC     90013349286
5B97B955A9712B   MELISSA       MCCRAW                      OR     90009459550
5B97BA64472B43   OSCAR         PALOS                       CO     90010670644
5B981283A72B33   DEBRA         LOCKE                       CO     90008862830
5B981439472B77   ALEX          TORRES                      CO     90004994394
5B981534A91895   LASHAWNTA     POORE                       OK     90005305340
5B98172AA91534   NANCY         AGUILAR                     TX     90008857200
5B98177853852B   TINA          COLSCH                      UT     90011277785
5B981929433B26   ESTEBAN       RAMIREZ                     OH     90014239294
5B982482172B49   MICHAEL       REEVES                      CO     33078444821
5B9824A214B561   APRIL         HARVEY                      OK     90011634021
5B9826A4976B75   JOSHUA        AMOS                        CA     46058666049
5B98347777192B   MONICA        PEREZ                       CO     90002984777
5B98363555B236   RACHAEL       FITCH                       KY     90012736355
5B98363677242B   DONOVAN       BEAN                        PA     90014646367
5B98412859372B   JESSICA       REED                        OH     90013901285
5B98417115715B   LUIS          LOZANO                      VA     90007821711
5B98484772B27B   CARLOS        GALVEZ                      DC     90013878477
5B984898755941   ERIK          CORDOVA                     CA     90009978987
5B984A5437B461   VERONICA      HARRIS                      NC     90013180543
5B984A9734B28B   KEVIN         DELKA                       NE     90011880973
5B985126A91356   KYLA          MARTIN                      KS     90014591260
5B985182654151   MARIAH        RAMSEY                      OR     90007951826
5B985318A7242B   TYLER         JOHNSTON                    PA     90014183180
5B985451272B21   ART           FLORES                      CO     90007954512
5B985491355941   BARBARA       DOMINGUEZ                   CA     90009454913
5B98577215B236   MARTIN        SEELYE                      KY     90011447721
5B9862A4391356   MAECELA       ROCHA                       KS     90007442043
5B986439397B77   KATIE         VASQUEZ                     CO     90012094393
5B986457584373   CHRISTINA     ROWE                        SC     90002864575
5B9865A8272B62   GARY          RODRIGUEZ                   CO     90009215082
5B986931985983   LEE           GILLESPIE                   KY     90010499319
5B98698AA61971   THOMAS        GAST                        CA     90012359800
5B987375884373   CHARLES       HUTCHINSON                  SC     90014753758
5B987923291945   FRANSHORN     LEACH                       NC     90002769232
5B98826A172B36   EDGAR         GARCIA                      CO     90013932601
5B988274376B31   CHRISTOPHER   DALY                        CA     90008962743
5B98828348B169   VERONICA      PINON                       UT     90010482834
5B988347A33696   SARA          MCGUIRE                     NC     90010533470
5B98862274B28B   ANDREW        BOSWELL                     NE     90014606227
5B988AA2A5B399   CARLOS        BURGOS                      OR     90012260020
5B98B266357591   JESUS         LEDEZMA                     NM     90010282663
5B98B559555951   MELISSA       MARAVILLA                   CA     90012575595
5B98BA29697B54   JERRY         GOMEZ                       CO     90010960296
5B99115852B261   KENNETH       HUGHES                      DC     90008431585
5B99135417242B   CHRIS         FRHNHOFER                   PA     90014183541
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 292 of 2350


5B991663284357   MARK          CARSON                      SC     90013156632
5B991929472B46   JASMINE       SHANICE                     CO     90010299294
5B99216995715B   HERBER        PINTO                       VA     90013301699
5B992313A5B399   LAMAR         KENNEDY                     OR     90009853130
5B992331172B49   RAMIRO        GONZALEZ                    CO     33031713311
5B992658272B43   HUMBERTO      LUCERO                      CO     33049586582
5B99283A785821   BEATRIZ       MARTINEZ                    CA     90003188307
5B992949772B77   ROBERTA       MOLAND                      CO     33088969497
5B992A13872B36   LUPITA        GARCIA                      CO     90004510138
5B992A66657591   HAYDEE        FRANCO                      NM     35532650666
5B992A7545758B   ARTURO        PORTILLO                    NM     90012920754
5B993189A97B54   ANGELA        MESA                        CO     90011211890
5B993339657157   BLANCA        SOSA                        VA     90011663396
5B993483133696   STEVEN        ALLEN                       NC     12033594831
5B993512533699   LORENZO       FERNANDEZ                   NC     90009205125
5B994448572B67   PAIGE         BRIANZA                     CO     90005954485
5B99463A551348   ANEISHA       ASHLEY                      OH     90012656305
5B99465178B169   KAYLA         ECKMAN                      UT     90012256517
5B994828472B36   JANNET        HERNANDEZ                   CO     90012548284
5B994AA165715B   ANDREINA      PEREZ                       VA     90015180016
5B995127A97B77   EUFRACIO      DE SANTIAGO                 CO     90001551270
5B99516815135B   JAOHNN        P                           OH     90000311681
5B9955AA231428   RACHELL       HENDERSON                   MO     90005245002
5B995A9125715B   GREGORY       HUNT                        VA     81066330912
5B99621A776B75   LETICIA       ALVAREZ                     CA     90012742107
5B996521697B77   JACOB         BOWIN                       CO     39002475216
5B9969A785B236   DEONDRA       BURNEY                      KY     90012239078
5B997515361971   IRMA          MORENO                      CA     46032505153
5B998A3498B169   JASON         YEITER                      UT     90008720349
5B99963485B399   VICTOR LUIS   COPADO                      OR     90015176348
5B999831A4B588   SHENNA        WEBSTER                     OK     90012558310
5B99B26472B851   DEBRA         LORD                        ID     90002242647
5B99B392691895   CASANDRA      ROSALES                     OK     90013973926
5B99B558384373   TENORA        BROWN                       SC     90010875583
5B99BA7A372B49   GUNDERSON     ANN                         CO     33000880703
5B9B1115261975   STEVEN        MANN                        CA     90004331152
5B9B14A2361986   MARTHA        MORALES                     CA     46055104023
5B9B1666631429   MICHAEL       JONES                       MO     27555736666
5B9B171985758B   DAVID         PACHECO                     NM     90014097198
5B9B1863872B49   ZACHARIAH     MCKINNEY                    CO     90010228638
5B9B1891972B27   NICOLE        MUNOZ                       CO     90014748919
5B9B2236385821   ADVIN         HERNANDEZ                   CA     90013312363
5B9B239945B393   ASHLEY        DELOACH                     OR     90014423994
5B9B267665B393   ASHLEY        DELOACH                     OR     90013646766
5B9B287392B862   ADRIENNE      CRONEBAUGH                  ID     90012688739
5B9B3411885821   CATARINO      GONZALEZ                    CA     46008284118
5B9B3661372B49   JEREMY        MUEHE                       CO     90014866613
5B9B395825715B   DAVID         ALEGRE GARCIA               VA     90010539582
5B9B453A571935   TREVOR        CRANE                       CO     90012245305
5B9B4575172B43   ANGELICA      SANTOS-MALDONADO            CO     90013195751
5B9B5187431429   ELCID         STRICKLAND                  MO     27563331874
5B9B5193971935   CAMERON       MASON                       CO     90013951939
5B9B523322B862   JOHN          YEARSLEY                    ID     90004552332
5B9B545595715B   ANTONIO       DIXON                       VA     90014524559
5B9B551497B46B   ELLEN         WEAVER                      NC     11095635149
5B9B5548291895   D ANN         BILLINGSLEY                 OK     90006665482
5B9B562525758B   FREE          KRESS                       NM     90011136252
5B9B57A684B588   RAMIRO        GUTIERREZ                   OK     90013167068
5B9B5844876B75   EDITH         ESTRADA                     CA     90014468448
5B9B6358457591   BOYD          WELCH                       NM     90012323584
5B9B64A7455941   AIDA          RAMIREZ                     CA     90013924074
5B9B695544128B   KRYSTAL       VAN METER                   PA     90011009554
5B9B6A66784373   JOSEPH        SCOTT                       SC     90014740667
5B9B6A7595B543   BRENDA        GUTIERREZ-SOLANO            NM     90003260759
5B9B744955B393   DAVID         HILLIARD                    OR     44556424495
5B9B7878A72B27   ZACH          MATHEWS                     CO     90015288780
5B9B793682B27B   MARGARET      MORGAN                      DC     90008889368
5B9B818277242B   JOHN          BALT                        PA     90009781827
5B9B831242B27B   DEVAUGHN      GRIER                       DC     90012843124
5B9B8618933699   TAMMIE        TURNER                      NC     12001616189
5B9B8979572B43   CELEDONIA     CASTRO                      CO     33021049795
5B9B9324457157   FREDERICK     VANDOREN                    VA     90014563244
5B9B9383872B36   JACOB         OLAH                        CO     90009743838
5B9B9688371935   GARY          HOSKINS                     CO     90014876883
5B9B99A6191356   AMANDA        ROBINSON                    KS     90014969061
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 293 of 2350


5B9BB46765B399   YESSICA           PINEDA                  OR     44519814676
5B9BB47A12B95B   MAYRA             MONTOYA                 CA     90011514701
5B9BB48422B851   SHAD              EDINGTON                ID     42049904842
5BB11175A84357   CARLOS            RODRIGUEZ               SC     14563921750
5BB1117A35B393   LARRY             MONROE                  OR     90010901703
5BB113A7376B75   JOEL              ACOSTA                  CA     90013203073
5BB11418963638   RYAN              SETLICH                 MO     90006464189
5BB11447357157   KADIATU           RICHARDSON              VA     90000584473
5BB11524757591   JAVIER            NUNEZ                   NM     35501905247
5BB1171675B531   JENNIFER          SCHAFER                 NM     35035677167
5BB11752655941   MARIA             ZELAYA                  CA     90012037526
5BB1176859712B   FREDYS            FERNANDEZ               OR     90011717685
5BB12174857591   VICENTE           GOMEZ                   NM     35540521748
5BB12463A72B49   BONIFACIO FELIX   TIVORCIO                CO     90013784630
5BB12634A91271   JOSE              FERMIN                  GA     90015606340
5BB12853771935   MARIA             RENZ                    CO     90014008537
5BB12A77A7242B   JENNIFER          HONSE                   PA     51095180770
5BB12AA5498B2B   ELICIA            HOPPER                  NC     11009990054
5BB131A9871935   MARTHA            ALVAREZ                 CO     90009251098
5BB13481651348   SANDRA            OSTERBERGER             OH     90010494816
5BB13538191895   KIM               SANDERS                 OK     21083095381
5BB1355588B169   MICHAEL           KUTTERER                UT     90007685558
5BB1366789712B   SANTIAGO          RODRIGUEZ               OR     90000666678
5BB1374A197B77   CONNIE            MONTOYA                 CO     90010847401
5BB1393584B29B   SHIRLEY           ELLIS                   NE     90003459358
5BB139A9172B49   RUBEN             DELGADO-GUARDADO        CO     33047049091
5BB14222591895   IGNACIO           FERREIRA ZAMUDIO        OK     90014112225
5BB1455765B543   JAIME             BARRAZA                 NM     90014485576
5BB1461495B162   SHARINA           STEPHENS                AR     90009756149
5BB14A8665B283   DENISE            KANSON                  KY     90002050866
5BB15148971935   THOMAS            GILL                    CO     90013961489
5BB15286551348   BRITTANY          HARRIS                  OH     90007922865
5BB1528A857157   RONALD            MC GRILL                VA     81095082808
5BB1547A24B588   LINCOLN           KOSA                    OK     90014754702
5BB15524997B54   CAROL             SERNA                   CO     39033175249
5BB1553419712B   BRONSON           REVILLE                 OR     90015135341
5BB15676672B27   DAVID             BESS                    CO     90001466766
5BB15698354151   STEPHANIE         CLEVENGER               OR     90012466983
5BB1585817242B   LINDA L           SHIRLEY                 PA     90015008581
5BB15A48661975   PATRICIA          FLORES                  CA     90010210486
5BB16285147928   JESUS             LUNA                    AR     90006142851
5BB16482881622   LAURA             WILSON                  MO     90012274828
5BB1649927195B   PATRICIA          BEATRIS                 CO     90007764992
5BB164A1697B77   SIERRA            RICHEY                  CO     90013134016
5BB1663514B588   SOIE              CRUM                    OK     90009616351
5BB16697581622   LAURA             WILSON                  MO     90001516975
5BB16752933696   CHARLES           JONES                   NC     90010967529
5BB167AAA85821   JESUS             ALVINES                 CA     90012687000
5BB16828661975   RAYMOND           DAVIS                   CA     90014138286
5BB1683817B46B   JERRY             GIRAUD                  NC     11012818381
5BB16AA5342363   JERI              HOOPER                  GA     90011570053
5BB1725A32B27B   ALICIA            GREEN                   DC     90014582503
5BB1737318B169   TIFFANY           BILLS                   UT     90012313731
5BB17599372B43   RUBY              PADILLA                 CO     90010815993
5BB1771A455941   DONALD            MULLINS                 CA     90013507104
5BB1818164B28B   SHERRY            KAGE                    NE     26056721816
5BB18613233699   VANESSA           MCDOWELL                NC     90002086132
5BB1894132B862   DAVID             LARSEN                  ID     90013029413
5BB18967261975   MARIA M           ARAMBURO                CA     90013209672
5BB18A31631428   THERESA           GORDON                  MO     90002430316
5BB18A6237242B   JOSH              STCRY                   PA     90001620623
5BB1949835B162   KENDRA            SIMS                    AR     90010784983
5BB19A43284357   AGAMSHARAN        PATEL                   SC     90013520432
5BB1B126998B2B   JERRY             JONES                   NC     90006151269
5BB1B45875B393   JOHN              CONDRON                 OR     44586524587
5BB1B47565B236   VICENTE           PARRA                   KY     68054634756
5BB1B58A15758B   DANIELA           VASQUEZ                 NM     90004215801
5BB1B5A2A5B531   ARMONDO           DIAZ                    NM     35083985020
5BB1B93928B169   AMANDA            R WOODS                 UT     90010779392
5BB1B9A3861975   GUILLERMIN        ALDRETE                 CA     46035439038
5BB2113235B162   JASON             HICKS                   AR     90012261323
5BB2124325B236   KIMBERLY          ASHER                   KY     68011722432
5BB21492472B43   MARIA             HUIZAR                  CO     33052414924
5BB2165485B399   BRANDON           KILLINGER               OR     90014526548
5BB21986997B54   YOLANDA           RODRIGUEZ               CO     39005189869
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 294 of 2350


5BB2215A54B588   MONICA           DIAZ-ROBINSON            OK     90014711505
5BB22172551348   KENDRICK C       DAVIDSON                 OH     66043871725
5BB221A639712B   KELLY            PURCELL                  OR     90012711063
5BB2255AA57157   BERTHA LUZ       ESPINOZA                 VA     90006285500
5BB2287142B862   TIM              GOODWIN                  ID     90006048714
5BB231A8257153   RHONDA           RICHARDSON               VA     90008181082
5BB23266661975   SONIA            GROVES                   CA     90013482666
5BB2389884B588   JAMES            MEENH                    OK     90013278988
5BB23981853B41   CLIFTON          HASSELL                  CA     90015399818
5BB23A14757591   ESLIN            ESCOBEDO                 NM     90011980147
5BB24431872B46   MARTRICE         LANEICE BANKS            CO     33085994318
5BB24522A7242B   MICHAEL          GRANT                    PA     51027125220
5BB24523391535   MARIA            MALDONADO                NM     90010695233
5BB24968361975   ARMANDO          NUNEZ                    CA     46059349683
5BB249AA151348   RENE             CHILD                    OH     66088829001
5BB25125484373   LASHEA           WILLIAMS                 SC     90000171254
5BB25197897B77   FRANCES          CAMPBELL                 CO     39046401978
5BB25293572B43   YOLANDA          MURRAY                   CO     33040862935
5BB2581A92B862   TONY             YOUNG                    ID     41056768109
5BB25A99A57B23   FAITH            DEMARCO                  PA     90014600990
5BB26277872B36   EMILY            SHOOP                    CO     90011412778
5BB2699354B28B   SONYA            MEAD                     NE     90003049935
5BB2726195B393   ANNESAH          HUSBAND                  OR     90014022619
5BB2726945B236   DENNIS           MURRAY                   KY     90009722694
5BB27336342363   TABAHTA          WILEY                    GA     90013473363
5BB2755998B189   YANETH           TRINIDAD                 UT     90012365599
5BB27698557121   KENNETH          PAYNE                    VA     90012396985
5BB27AA155B399   HEATHER          CANNON                   OR     44554250015
5BB2812135758B   MICHAEL          GAMBOA                   NM     35592531213
5BB28243472B88   MELODY           GONZALES                 CO     90003252434
5BB2855464B553   RONALD           DAHLEM                   OK     90009705546
5BB28764751348   CRAIG            BURKE                    OH     66094377647
5BB28AA3772B36   PRISILIANO       HERNANDEZ                CO     33062140037
5BB29179685821   ALBARO           JIMENEZ                  CA     46027531796
5BB2935A841229   JOSEPH           OLASIN JR                PA     51084233508
5BB29715161971   JENNIFER         LOPEZ                    CA     90010547151
5BB2991785B399   LATOYA           MCDONALD                 OR     90014419178
5BB2992779712B   RODOLFO          GONZALEZ OCAMPO          OR     90013969277
5BB2995115B522   SANDRA           MOYA                     NM     90011109511
5BB29985997B77   ERICA            WEBSTER                  CO     90004229859
5BB2B298885821   CASTRO           IRENE                    CA     46029902988
5BB2B2A5457591   ANDRADE          MARIALOURDES             NM     35516392054
5BB2B444871935   ELIZA            HERNANDEZ                CO     32074344448
5BB2B482A91895   AMED             PLASCENCIA               OK     90011864820
5BB2B4A1697B77   SIERRA           RICHEY                   CO     90013134016
5BB2B516A72B43   CRISTAL          AGUILAR                  CO     33011725160
5BB2B731472B36   DESIREE          ARNOLD                   CO     33098857314
5BB2BA5165B162   NATHANIEL        FREEMAN                  AR     90013930516
5BB2BA83233699   LAKISHA          MARSHALL                 NC     90003130832
5BB312A3A8B169   MICHAEL          ORR                      UT     90013512030
5BB3194132B862   DAVID            LARSEN                   ID     90013029413
5BB3196384B28B   AMANDA           MASCHMAN                 NE     26043349638
5BB32847A61975   DALE             LUSK                     CA     46095658470
5BB3312A297B77   KENNETH          MCCARTHY                 CO     90011501202
5BB33335572B77   GERALD           GOUDEAU                  CO     33065583355
5BB3344A533696   RODNEY           CATES                    NC     90004584405
5BB33586A5B283   EMIN             PATKOVIC                 KY     90004045860
5BB336A1676B75   SYBIL            LOVAAS                   CA     90013226016
5BB3387677242B   MICHELE          MAGLICCO                 PA     90000548767
5BB3431364B29B   ANDREZ           FLOREZ                   NE     90007143136
5BB343A4893782   MARIANNE         MUELLER                  OH     90006213048
5BB3451A65B236   ROYALTY          FINN                     KY     90013775106
5BB34595384357   SHAKIMA          SIMMONS                  SC     90013605953
5BB34724A5B399   EDWIN            DEHOYOS                  OR     90014427240
5BB34949572B88   DESTINY          HARRIS                   CO     33065299495
5BB35667672B67   MIRIAM           QUINTEROS                CO     33043616676
5BB35747972B49   GERALDINE        CUMMINGS                 CO     90012157479
5BB35885461975   ROCIO            PERAZA                   CA     90009628854
5BB35A13657157   EVERETTE         CANNON                   VA     90012390136
5BB3622864B28B   JOSE             ANAYA                    NE     26015712286
5BB36255197B77   KRISTEN          RICE                     CO     39051452551
5BB3638A472B36   STEVEN MICHAEL   DENTON                   CO     90012603804
5BB363A625B162   MARIA            NAVA                     AR     90014223062
5BB363A7591271   CATHERINE        WILLIAMSON               GA     14570713075
5BB363A935B236   CLARA            HARNED                   KY     90014993093
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 295 of 2350


5BB3687168B169   MARJORIE         REARDON                  UT     90014838716
5BB3699567242B   SELINA           SUMMERVILLE              PA     90014639956
5BB37434671935   KAYLA            RIVERA                   CO     90010104346
5BB3748335B236   CHARLES          LATIMER                  KY     90005814833
5BB3795498B189   ANNA             ALVAREZ                  UT     90013489549
5BB38116772B36   SELENA           MEDINA                   CO     90012421167
5BB38315691271   AGUSTIN          MORA                     GA     14579983156
5BB3831A25715B   FELIX            CONDORI                  VA     81031193102
5BB38456138598   KIMBERLI         BEARDALL                 UT     90012954561
5BB38735541292   SHERRI           WASHINGTON               PA     90007357355
5BB38876A91895   MARNIE           WAGNER                   OK     90013978760
5BB38A95355951   DARLA            SEHER                    CA     49027070953
5BB39194997B77   GORETY           CASTILLO                 CO     90014881949
5BB3997794128B   JOYELLE          BATEMAN                  PA     90010329779
5BB39A1427B372   FRANSISCO        GRANADA                  VA     90000230142
5BB3B147361971   TIMOTHY          JORGE                    CA     90015281473
5BB3B226755941   JUAN             LOPEZ                    CA     90008542267
5BB3B34945B531   SHEILA           RODRIGUEZ                NM     90006913494
5BB3B65865B393   PAUL             FAIAS                    OR     90014126586
5BB3BA26A5715B   JOE              JONAS                    VA     90006340260
5BB3BAA744B55B   LATONIA          BRANUM                   OK     90009000074
5BB41626855941   JUAN             CRUZ                     CA     90014566268
5BB41A89351348   CARTER           KELLY                    OH     90009170893
5BB42413884373   EUGENIA          BRYANT                   SC     90013884138
5BB42486A72B36   ARTURO           MEDINA                   CO     90006414860
5BB42562872B88   HEATHER          KUCZEK                   CO     90009145628
5BB4262255B283   CORA             SIMMONS                  KY     90005776225
5BB4291489712B   CHELSEA          HILL                     OR     90014249148
5BB4311667B631   KEYORA           WILLIAMS                 GA     90011091166
5BB43231833696   RETEKA           OGLESBY                  NC     90014732318
5BB4329695B531   DINA             ORTEGA                   NM     90010812969
5BB4345527242B   GARY             GILBERT                  PA     90008394552
5BB43A8865B393   LINDSEY          WARREN                   OR     90014730886
5BB44167551348   JEREMIAH         DUGAR                    OH     66094631675
5BB44397451348   JEREMIAH         DUGAR                    OH     90012703974
5BB44529191356   RICO             RIVERA                   KS     90002595291
5BB44562524B7B   JENNIFER         CASTILLO                 VA     90010125625
5BB4469168B169   MARIA            ESPITIA                  UT     31025556916
5BB4496815B236   LAURIE           HUTCHINS                 KY     68011049681
5BB44A43857591   CESAR            MARINES                  NM     90008630438
5BB4522367195B   HEATHER          MUNDT                    CO     90011822236
5BB4541985B357   CHRIS            RHEIN                    OR     90010164198
5BB45977333696   WILLIAM          PURDIE                   NC     90013649773
5BB46135361971   CRAIG            PEARL                    CA     46014371353
5BB46199161975   ISEULT           ROMO                     CA     90012111991
5BB46211651329   SEEUS            JUNKCARS                 OH     90010612116
5BB467A9176B75   KEIARA           REESE                    CA     90010497091
5BB4687565B399   CRISTOBAL        GONZALEZ                 OR     90012818756
5BB47147371935   DIANA            LANDEROS                 CO     90010491473
5BB472A1397B77   DELIA            HERRERA                  CO     90014882013
5BB472A388B12B   VICENTE          RAMIREZ                  UT     90009622038
5BB4731744B588   LATISHA          MORGAN                   OK     90010723174
5BB47453276B75   ALFONSO          JIMENEZ                  CA     46065474532
5BB475A3155941   RUDY             ARREDONDO                CA     90013535031
5BB47749891521   HOSAY            BATTS                    TX     90011227498
5BB47882861975   JUAN ALEJANDRO   RIOS                     CA     90012878828
5BB48284361971   IRMA             CARONA                   CA     90010702843
5BB4899695715B   FARRUKH          SABIR                    VA     90012319969
5BB4913665715B   ALY              GONZALEZ                 VA     90013511366
5BB49184672B77   ANTONIO          GONZALEZ                 CO     33005841846
5BB4925142B851   KRISTEN          MARKER                   ID     42022832514
5BB4963617195B   RAUL             CERVANTES                CO     32076446361
5BB49717985821   KIMBERLY         CACHA                    CA     46002387179
5BB4988155B393   ERICA            PEEBUS                   OR     90014338815
5BB49A44972B49   BERNARDINO       SANCHEZ                  CO     90013810449
5BB4B16454B588   GLORIA           DEBORHA                  OK     90012101645
5BB4B1AA991271   ARTHUR           COOK                     GA     90010961009
5BB4B845372B88   PEDRO            RODRIQUEZ                CO     33002618453
5BB4B964955941   DANYUELL         BENNETT                  CA     90012789649
5BB4BA36371935   DOROTHY          MOORE                    CO     90013940363
5BB4BA66172B43   TERRY            CRUICKSHANK              CO     33089150661
5BB5117895B399   NICOLLE          BEST                     OR     90014721789
5BB5118475B391   JANET            LARA                     OR     44571431847
5BB511A1171935   AIDEN            BENDELE                  CO     32052871011
5BB51451376B75   ANDREA           DURO                     CA     46027604513
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 296 of 2350


5BB51497A33699   BEA          TORAIN                       NC     12009824970
5BB51557755941   JOSE         FLORES VARGAS                CA     90007315577
5BB5189A85758B   CARMEN       JAIME                        NM     90012368908
5BB51A42761971   ROBERT       COBIAN                       CA     90010230427
5BB52287497B77   GEMA         ISABEL                       CO     90013672874
5BB5235122B896   DAN          MORA GUZMAN                  ID     90000363512
5BB5245434B28B   GARRETT      BLYTHE                       NE     90012834543
5BB52856272B36   JOHN         RAYBURN                      CO     90012778562
5BB53111371935   RACHEL       FOX                          CO     90015041113
5BB53191638598   ROSA         PEREZZ                       UT     90011961916
5BB5319175B162   JENNA        WARD                         AR     90012291917
5BB53A37372B46   LETICIA      LUEVANO                      CO     90006120373
5BB55191638598   ROSA         PEREZZ                       UT     90011961916
5BB5526255715B   DESIRE       ALSTON                       VA     81030852625
5BB553A422B862   JASON        YEARSLEY                     ID     90013493042
5BB56348438598   ALMA         AGUAYO                       UT     90012963484
5BB56469191895   ANNIE        MOUGELL                      OK     21003474691
5BB567AA685821   MELISSA      ROBERTSON                    CA     90010447006
5BB568A372B272   KAREN        HALL                         DC     90002118037
5BB56A87491576   AMANDA       PERALES                      TX     75000650874
5BB57113551348   MEAGAN       WHITE                        OH     90010981135
5BB5714515B543   ANGELA       MARTINEZ                     NM     35068541451
5BB57495A2B851   JOSH         CONGLETON                    ID     90006404950
5BB57769993782   MICHAEL      UGWUEGBULA                   OH     90008097699
5BB57941472B49   DENITA       ROJAS                        CO     90013629414
5BB579A4197B77   JENNIFER     VANLANDINGHAM                CO     39024199041
5BB57A7722B27B   TONY         GIBSON                       DC     90007580772
5BB58915985821   JOSE         MONTOYA                      CA     90012719159
5BB58A81191895   TONI         WALKER                       OK     90008740811
5BB5923182B244   ANGELA       BROWN                        DC     81025792318
5BB59565184357   SILVESTRE    DONJUAN                      SC     90001855651
5BB5962A52B862   DEANNE       HASTINGS                     ID     90014776205
5BB5972A35758B   ALBA         PIZANA                       NM     90012467203
5BB5B41387242B   JULIE        JOYNER                       PA     90002884138
5BB5B75835B531   LEO          FRECHETTE                    NM     35086537583
5BB5BA9A961971   FRANCISCO    PENA                         CA     46092250909
5BB6121225758B   KIM          GRAHAM                       NM     90014752122
5BB6184A472B36   ISIAH        VIGIL                        CO     33088578404
5BB61988A9712B   CHELSEA      HYLAND                       OR     90007239880
5BB6221225758B   KIM          GRAHAM                       NM     90014752122
5BB62514985821   LORENZO      MARTINEZ                     CA     90007275149
5BB626A3244363   MARVIN       LEMUS                        MD     82074766032
5BB6311A861971   JAMAR        COLEMAN                      CA     90014171108
5BB63149271964   DYTANIA      ROBINSON                     CO     32065821492
5BB6321468B189   DAVID        CORONADO                     UT     90013492146
5BB6328585B393   BRITTANY     BRANCHLEY                    OR     90015112858
5BB63623291356   HOLLY        ADKINS                       KS     90002866232
5BB63899176B75   SALOMON      GARCIA                       CA     90014858991
5BB6436288B169   MATTHEW      HOWARD                       UT     90014733628
5BB64373A91895   BILL         HOWELL                       OK     90003973730
5BB643A934B588   LASHANDA     BOOTH                        OK     90014843093
5BB6448585B162   TERESA       HUNTER                       AR     90013964858
5BB64492833696   KAREN        SIMON                        NC     90012944928
5BB64777361986   MICHAEL      CASTLEBERRY                  CA     90012557773
5BB6499945B399   JOSE         MURALLES PEREZ               OR     90010389994
5BB65583A8B169   HEALY        BARTLETT                     UT     31017915830
5BB6576773B356   CHAD         BEARDSLEY                    CO     90012177677
5BB66139A33696   SANDRA       SUMNER                       NC     90000721390
5BB6627865B236   JOEL         COWAN                        KY     90015212786
5BB66765485821   SUSAN        BRAUN                        CA     90000207654
5BB6682255B236   REALLY       REAL JR                      KY     90008678225
5BB6683785B561   SOCORRO      CASTILLO                     NM     90009628378
5BB67213491356   THOMAS       TERRIEN                      KS     90010432134
5BB67269657591   PAUL         MONTOYA                      NM     90013692696
5BB6752165B236   JAMES        WATTS                        KY     68012105216
5BB6773525B283   WANDA        SPENCER                      KY     68072927352
5BB67824A51348   ANTONIO      DARDEN                       OH     90012718240
5BB67AA7972B36   MACIAR       BELLER                       CO     90013030079
5BB68221997B77   CAROLE       VINCENT                      CO     90014882219
5BB68332A33157   RUSSELL      GUNTHER                      IL     90001103320
5BB68355772B49   JUAN         REYES                        CO     90006173557
5BB6849394B28B   ROBERTA      BARREDA                      NE     90012204939
5BB687A6A72B36   DAVID        PRADO                        CO     90006757060
5BB68896371935   GEORGE       LOPEZ                        CO     90014008963
5BB68A5A771935   JON          GEMELKE                      CO     90013940507
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 297 of 2350


5BB68A87631468   JON            REVELLE                    MO     90012110876
5BB6938698B169   KARA           BURKE                      UT     90014733869
5BB6966735B393   ERIKA          SCHNIDRIG                  OR     90009826673
5BB69997897B77   BARBARA        RUEBEN                     CO     39096419978
5BB69A69872457   PAULINE        LEICHLITER                 PA     51063280698
5BB6B972357157   KEISHA         WASHINGTON                 VA     90011879723
5BB71532738598   SUSANA         MUNDO                      UT     90012965327
5BB71654676B75   FIDELINA       ORTEGA                     CA     90008666546
5BB7169978B169   REBECCA        BUTLER                     UT     31080936997
5BB71751772B67   MICHAEL        VAN KIRK                   CO     90000597517
5BB7175565B283   SAMANTHA       ROBINSON                   KY     90006577556
5BB7196962B862   TRAVIS         CAINES                     ID     41011769696
5BB7197A261971   OLGA           PEREZ                      CA     90003839702
5BB7244A897B54   BECKY          GONZALEZ                   CO     90009464408
5BB7259835B162   JUAN ANTONIO   ESCOBAR                    AR     90015535983
5BB727A2157157   JOSE           MOLINA                     VA     90009107021
5BB7287282B27B   JOSE           MARTINEZ                   VA     90010758728
5BB7287A85B543   GENAIA         GRINE-LUCERO               NM     35005198708
5BB7292754B28B   MICHELLE       JACKSON                    NE     90010429275
5BB72A11751348   ANA            PLATA                      OH     66094380117
5BB7352944B28B   NICK           PHARR                      NE     90013875294
5BB736A2276B75   IRMA           CHAVEZ                     CA     90000486022
5BB73747991271   HENRRIETTA     DEMPS                      GA     90013527479
5BB73972897B54   MIGUEL         ANGEL RAMOS                CO     39054169728
5BB73A57197B77   ISAMAR         LEGARDA                    CO     90013140571
5BB741A4184357   SHAN TERRA     NELSON                     SC     14587151041
5BB74619672B49   DANIEL         VARGAS                     CO     33083266196
5BB7478512B862   ADAM           KENYON                     ID     90013307851
5BB74825191864   KATIE          CRULL                      OK     90011438251
5BB74839751348   ISSAC          PRICE JR                   OH     66021918397
5BB7489664B588   EBONI          WEST                       OK     90013828966
5BB7536653B39B   MICHAEL        PERRY                      CO     90015273665
5BB75824472B36   JAMAL          WILLIS                     CO     90013268244
5BB7586888B164   KENT           MARCHANT                   UT     31042538688
5BB76862972B36   SIERRA         ARENAS                     CO     90010748629
5BB76967985821   HEATHER        SANCHEZ                    CA     90001479679
5BB76989A5B247   MARTINA        BETHEL                     KY     90011669890
5BB77312776B75   JUAN           HERNANDEZ                  CA     46005243127
5BB77474261975   EUGENIO        LOPEZ                      CA     90014114742
5BB7765438B172   PRESTON        ROSANDER                   UT     90005546543
5BB7766255B283   SHAUNDA        LOVE                       KY     90005336625
5BB778A3884373   AJ             DAVIS                      SC     90014828038
5BB78137593747   HOLLY          SMITH                      OH     64514551375
5BB78336A91356   ANDREW         WHITE                      KS     29044473360
5BB7843185B271   CHERYL         COLEY                      KY     90002094318
5BB785A9772B43   DEANA          DRUMRIGHT                  CO     33098235097
5BB7867A657157   JOSE           CHAVEZ                     VA     90011456706
5BB78794972B88   JAMAR          BETTIS                     CO     33069877949
5BB7892358B12B   MASON          HARDMAN                    UT     90012529235
5BB79172484357   TAWANA         KOZLOWSKI                  SC     90006651724
5BB792A145B271   ROBERT         WILSON                     KY     90004622014
5BB7938835B162   STEPHANIE      SMETHERS                   AR     90009153883
5BB7956445B399   SILVIA         VARGAS                     OR     90011305644
5BB79826585821   ELIAS          MARTINEZ                   CA     46029168265
5BB79929461971   EDITH          PARTIDA                    CA     46097419294
5BB79A26A5B236   CHANDRA        RAI                        KY     90012370260
5BB7B46825B543   JEANETTE       GILBERT                    NM     35054564682
5BB7B524A5758B   PAUL           ROMERO                     NM     90002085240
5BB7B82467195B   BARBARA        HINES                      CO     32044028246
5BB81457172B49   CARESSE        CORREA                     CO     90011554571
5BB81747A5B162   LATOYA         HARRIS                     AR     90014277470
5BB81772172B77   ANTONJA        HOUSE                      OH     33079237721
5BB81824372B36   SARAH          KAUFFMANN                  CO     90009848243
5BB8228315715B   DARRYL         WYRE                       VA     81030912831
5BB82364984357   FRANK          CUMMINGS                   SC     90013803649
5BB82471A72B88   JULIA          PALACIOS                   CO     90003424710
5BB82496984373   ROY            WILLING                    SC     90015014969
5BB82755598B2B   DUNIA          ESTRADA                    NC     11059037555
5BB829AA871935   MARK           ANGELO                     CO     90014009008
5BB82A39172B27   DANIELA        NUNEZ                      CO     90007800391
5BB83628838598   MICHELLE       MARISCAL                   UT     90012976288
5BB8398694B28B   LEAH           GUERRA                     NE     90010899869
5BB83A59357591   VILLALPAND     DESIREE                    NM     90000630593
5BB8416A85715B   BETTY          HURTADO                    VA     81001741608
5BB84196491356   LANA           KENDALL                    KS     29011751964
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 298 of 2350


5BB84218A5758B   MANUEL        RIVERA                      NM     90011372180
5BB8446225B236   VIDIE         JACKSON                     KY     90008484622
5BB84685857157   BRAYAN        RAMOS                       VA     90011636858
5BB8475547B467   GLORIA        DISOMMA                     NC     90013057554
5BB84864A72B36   VICTOR        PUENTES                     CO     90012228640
5BB84AA6624B7B   JOSE          NOLASCO                     DC     90006210066
5BB8548315758B   MELENDEZ      GEORGINA                    NM     90007844831
5BB85491257157   TERESA        DIAZ                        VA     90012774912
5BB8575547B467   GLORIA        DISOMMA                     NC     90013057554
5BB85898657591   MARIA         JUAREZ                      NM     35567428986
5BB86219757157   LEO           SCHULTZ                     VA     90012352197
5BB86296297B54   MARCO         JIMENEZ                     CO     90010752962
5BB86918A8B169   MARGIE        ANTUNEZ                     UT     31066579180
5BB86A83161971   RENE          RAMOS                       CA     90012600831
5BB87581A5B162   BOBBIE        SEBREN                      AR     90009155810
5BB87643672B36   FLOYD         HICKS                       CO     33070286436
5BB87988391356   CHARITY       BLACKMON                    KS     90015309883
5BB87A32257591   ROBERTO       CARLOS                      NM     35552990322
5BB87A5864B588   KIMBERLY      BOYDSTUN                    OK     90013060586
5BB8811965B399   DANA          DRUMMOND                    OR     44589041196
5BB88152A91271   JEFFEREY      MCQUILLEN                   GA     90013141520
5BB882A185715B   NURIA         GARCIA                      VA     81012582018
5BB883A7438598   FAYBEIN       LARSON                      UT     31024823074
5BB88569571964   JEFFREY       WINDLEY                     CO     32068645695
5BB88644A97B77   PORFIRIO      SAUCEDO                     CO     90003866440
5BB8869492B851   BENOLOGA      WHITEHURST                  ID     90006266949
5BB89249485821   JESUS         QUINONES                    CA     46034792494
5BB89367891271   FRANK         WALKER                      GA     90009853678
5BB8945638B189   TUMIUA        TUPIOLA                     UT     90015264563
5BB89569571964   JEFFREY       WINDLEY                     CO     32068645695
5BB89745776B75   ANDREA        MARTINEZ                    CA     46044597457
5BB8975315B162   DIANA         DEFALCON                    AR     90014017531
5BB89851291895   RICHARD       SOULE                       OK     90012128512
5BB8991635B236   CHARLESTINE   LINDSEY                     KY     90014739163
5BB8994275715B   LUZ           HERNANDEZ                   VA     90010669427
5BB8994945758B   OLGA          LOPEZ                       NM     90013849494
5BB8999795715B   COSTELLO      DAVIS                       VA     90012209979
5BB89A5A771935   JON           GEMELKE                     CO     90013940507
5BB8B31968B189   STEPHANIE     GARCIA                      UT     90013493196
5BB8B526771935   ERIN          HURKA                       CO     90010385267
5BB8B647572B36   SHARNA        MORRIS                      CO     90013366475
5BB8B679472B27   LUZ-ALICIA    ELIZALDE                    CO     33035066794
5BB8B766A5B236   DIANE         ALEXANDER                   KY     90000987660
5BB8B862A4B588   ZACHARY       TAYLOR                      OK     90014068620
5BB8B89655B393   BRADLEY       BISHOP                      OR     44570298965
5BB8B951A5715B   CHEEICE       HARRISON                    VA     90013449510
5BB8BA72457591   ANGEL         FLORES                      NM     35565310724
5BB912A5955941   VERONTICA     ROBERSON                    CA     90015082059
5BB91345651345   TAMMY         OHMER                       OH     90011593456
5BB9137689712B   ULDO          LIZARRAGA                   OR     90011663768
5BB91458691535   JULIE         GONZALEZ                    TX     90011514586
5BB91492772B46   MARIA         SAUCEDO                     CO     90006704927
5BB9194A361971   NADA          JABO                        CA     46078309403
5BB91A32876B75   RUBEN         DOMINGUEZ                   CA     90011020328
5BB92131261975   RAY           RAMOS                       CA     90010761312
5BB92254957157   CRISTOBAL     LOVOS                       VA     90012462549
5BB92322955941   ALISON        RAMIREZ                     CA     90012413229
5BB92345757591   LORENZO       MURILLO                     NM     90009073457
5BB92611672B49   MICHAEL       SULZBACH                    CO     90013066116
5BB92768172B49   RACHEL        SULZBACH                    CO     90010807681
5BB92778838598   ROBERTO       VALENCIA                    UT     90012977788
5BB9339279712B   MARQUITTA     EUBANKS                     OR     90003323927
5BB93478172B36   WILLIAM       MILLER                      CO     90014814781
5BB9398687195B   LINDA         WATKINS                     CO     90013549868
5BB94147371935   DIANA         LANDEROS                    CO     90010491473
5BB94277A91535   LORENZO       QUEZADA                     TX     75014492770
5BB9431225758B   SCOTT         MOZLEY                      NM     90005843122
5BB94375281625   MIA           YARBOUGH                    MO     90004673752
5BB9452628B169   DAVE          SANCHEZ                     UT     31075425262
5BB9461537195B   STEPHANIE     VAN NESS                    CO     90000826153
5BB94686591356   LARRY         ENRIQUEZ                    KS     29090056865
5BB95498931428   BRYAN         PRIBBLE                     MO     90003154989
5BB95543976B75   LEYDI         LAUREANO CONTRERAS          CA     90002445439
5BB95552257591   JOHNNY        ONTIVEROS                   NM     90002725522
5BB95985272B36   SHAQWEILA     PHILLIPS                    CO     33097089852
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 299 of 2350


5BB95A53991271   RODRICK      JENKINS                      GA     90015470539
5BB95A7A172B43   TAYLOR       MANDEEN                      CO     90013240701
5BB96181438598   RODOLFO      FONSECA                      UT     90011821814
5BB96269785821   OSCAR        JUAREZ                       CA     90002922697
5BB962A559188B   BRANDON      GOODSON                      OK     90008842055
5BB96794872B49   GAVY         CERVANTES                    CO     33028077948
5BB96898351348   FANNIE       HODGE                        OH     90014488983
5BB96A4767242B   COTY         FETTY                        PA     90011580476
5BB97297891356   ROBERT       KNIGHT                       KS     29024872978
5BB97658438598   FAIGA        MULIPOLA                     UT     90011816584
5BB97862491895   MARINA       TABORA                       OK     90013848624
5BB9787685B236   WHIPP        FORIEN                       KY     90014868768
5BB978A1572B36   RODOLFO      AMAYA                        CO     90012898015
5BB97944172B27   BRANDI       MARTIN                       CO     90014829441
5BB98164161975   SOLEDAD      MECLAUGHLIN                  CA     90013991641
5BB9851477B46B   SHEREE       PHILLIPS                     NC     11086795147
5BB9868277195B   MINH         PHAM                         CO     90013536827
5BB98941A2B862   RYAN         WATTS                        ID     90011629410
5BB9898A885821   FORREST      WOODRUFF                     CA     46080239808
5BB993A388B189   EDVIN        DARDON                       UT     90010933038
5BB99455733696   GRACE        CRUM                         NC     90011374557
5BB99515661975   JOEL         POLLORES                     CA     90010795156
5BB9954185B531   TINA         TABER                        NM     90006445418
5BB9968277195B   MINH         PHAM                         CO     90013536827
5BB99964371935   JOHNNY       ROSE                         CO     90014539643
5BB99A3417B48B   FRANK        REALS                        NC     90002740341
5BB9B388591356   BRENT        PARR                         KS     29035183885
5BB9B55412B862   KARI         HOGEN                        ID     41077765541
5BB9BAA7333157   ANTONIO      BRAN                         IL     90015230073
5BBB1125231429   KATIE        ADDISON                      MO     27565571252
5BBB14A545715B   ALICIA       ACIEGO                       VA     90002744054
5BBB151A82B862   STEPHANIE    MILLS                        ID     90007895108
5BBB169685B351   JAMIE        COOK                         OR     44544166968
5BBB182324B251   RAYMOND      MCINTOSH                     NE     90012138232
5BBB21A3A61975   KENTON       DAVIS                        CA     90010891030
5BBB2415872B46   BARBARA      QUEZADA                      CO     90007554158
5BBB2481497B54   DEBORAH      DAY                          CO     39067064814
5BBB3291742363   DEBBIE       POTEET                       GA     90014842917
5BBB329785B162   ROSA         JUAREZ                       AR     23079402978
5BBB3477555941   EDWARD       MILLER                       CA     90010994775
5BBB3564455951   LAMETRIUS    JENKINS                      CA     90005715644
5BBB3919291271   MIKE         JONES                        SC     90009359192
5BBB39A574B553   GABRIELLE    HOBBS                        OK     90008169057
5BBB3A96791895   DONNA        JOHNSON                      OK     90000610967
5BBB414685B393   MALIA        JACOBO                       OR     90012871468
5BBB47A678B189   FRANK        GU                           UT     90013487067
5BBB484835B236   HEAVEN       DUPIN                        KY     90014978483
5BBB5361997B77   NICOLE       SHEPPARD                     CO     90013133619
5BBB5374851329   GEOFFREY     ATKINSON                     OH     66074693748
5BBB5536755941   BLANCA       OZUNA                        CA     48021075367
5BBB5576576B75   GIOVANNI     ORTEGA-JACOB                 CA     90014895765
5BBB558484B29B   ELIZABETH    HIKMATOV                     NE     90009285848
5BBB564755758B   WHITTNEY     MILENCE                      NM     90015436475
5BBB595344B588   CURTIS       VANWYNGARDEN                 OK     21583309534
5BBB5A7739712B   DANIEL       GARCIA                       OR     90011860773
5BBB62A2733696   ANTONIO F    SPINKS                       NC     90014442027
5BBB63A1855941   NICOLE       BROWN                        CA     90005923018
5BBB6673755941   MARIA        MACIAS                       CA     90011246737
5BBB6697A5B393   CESAR        PINEDA                       OR     44550506970
5BBB6716691271   ALEXANDER    VALDEZ                       SC     90000887166
5BBB6852A5758B   ANGELA       FERNANDEZ                    NM     90012188520
5BBB693535B236   ROSHYNELLE   LANGDON                      KY     90014489353
5BBB728335B162   ROCHELLE     BELCHER                      AR     90013382833
5BBB7482A5B561   RONALD       TRUJILLO                     NM     90010424820
5BBB7594897B77   TERRY        EGAN                         CO     90010955948
5BBB8386491895   PARSCHE      BARNETT                      OK     90013933864
5BBB84A8198B2B   ELIZABETH    MCLAUGHLIM                   NC     11086234081
5BBB857795B393   CHRISTY      MORRIS                       OR     90013645779
5BBB874792B225   LAURYNE      BRICOE                       DC     90001457479
5BBB8878155951   MELISSA      PUGA                         CA     49005278781
5BBB888A472B27   ALEJANDRO    VALENZUELA                   CO     33008858804
5BBB8A35A33699   DONALD       MERRITT                      NC     90011140350
5BBB91A915B236   ALAHNA       MILLS                        KY     90013621091
5BBB983994B28B   CARLITA      NELSON                       NE     26067018399
5BBB9936131434   DERRICK      WALKER                       MO     90004649361
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 300 of 2350


5BBB998532B237   SHADA         CHARITY                     DC     90006639853
5BBB99A5471935   CHRISTOPHER   GOODMAN                     CO     90013939054
5BBBB27354B29B   RAUL          GONZALES                    NE     90008492735
5BBBB986197B77   KEN           JANECEK                     CO     90008619861
611111A3372B36   SAMUEL        GUTIERREZ                   CO     33065231033
6111134988B168   LAPREECE      KIRBY                       UT     31052433498
611113A3A33645   SAMMIE        AL-NAJJAR                   NC     90013923030
61111612A71921   TERRA         OSBORN                      CO     32028046120
61111856987B31   JIMMY         ROSS                        AR     90013928569
611118A3654128   MICHAEL       ERALP                       OR     47013028036
61111A12176B57   JOEL          ANASTACIO                   CA     46001840121
61112326272B43   RICHARD       ESTES                       CO     33033623262
6111233418B168   JACOB         YOUNG                       UT     90007883341
6111295A731453   TEANA         TAYLOR                      MO     90012939507
611135A6772B29   ROSS          MCMILLION                   CO     33066125067
61113A97531455   MALCOME       MORRIS                      MO     27571650975
61113AA7A31453   TRISTEN       BRADFORD                    MO     90015210070
6111426974B588   FRANCES       DAVIS                       OK     90003342697
61114A69891975   KESHIKA       DINGLE                      NC     90014990698
6111513A34B588   THERESA       MITCHELL                    OK     90009811303
6111545578166B   ROJELIO       PONCE                       MO     90014094557
6111569688B169   ROD           NIELD                       UT     31043836968
61115A63655973   JESSICA       BALDERAS                    CA     90007920636
6111671A651354   ALFREDA       JONES                       OH     90008097106
6111673822B543   LATRECIA      MCABOY                      AL     90014217382
6111884485B531   THOMAS        VIGIL                       NM     36092298448
6111919298166B   JOEL          GUERRERO                    MO     90010921929
61119983687B31   MAGAN         YOST                        AR     28006059836
6111B27225B531   DIMMITRESS    RODRIGUEZ                   NM     90013982722
6111B555255975   ALEJANDRO     ALVARADO                    CA     90013435552
6111B574971921   PAYGO         IVR ACTIVATION              CO     90013035749
6111B698971924   ANTHONY       SALAZAR                     CO     90011486989
6111B828533698   DANNY         DANIELS                     NC     90013618285
6111B85565B235   TARA          KELLER                      KY     90014718556
6111B868384392   AMBER         ROWE                        SC     19094478683
6111B991472B43   JAMI          PARKIN                      CO     90003889914
61121361A7B46B   LATASHA       HUNT                        NC     11007613610
61121418A2B27B   RICARDO       MOZIE                       DC     90011374180
6112171894B268   MARIA         GARCIA                      NE     27043747189
6112185618B168   GLADYS        ANDREI                      UT     90014988561
611221A7A5B235   SUMITRA       RAI                         KY     90010951070
61122A2975416B   KIAH          FARRINGTON                  OR     90013030297
6112327715B392   JA'AUNA       GORDON                      OR     44507812771
6112347145B271   SADERA        WOOD                        KY     68009884714
6112367A561936   DANIEL        ESTRADA                     CA     90011526705
611245A1333698   ALEXIS        COOK                        NC     90014155013
6112469894B268   KATHRYN       MCKERN                      IA     90013766989
61124717A3B126   FRANCIS       BUTLER                      DC     90003897170
6112559A272B29   MICHAEL       PENA                        CO     90013295902
611255A7771921   TAMERA        SENBART                     CO     90013315077
61125813A71921   TAMERA        SENBART                     CO     90014608130
611263A6861964   KARLOZKRIZ    HERNANDEZ                   CA     46081753068
6112647474B27B   RONNEY        VAUGHN                      NE     90015024747
6112654615B531   LUIS          QUEZADA                     NM     36034635461
611266A815416B   MIRANDA       SCHAFER                     OR     90013346081
6112729AA7B46B   DALILA        MARTINEZ                    NC     90011152900
6112746368B169   MICAH         BEVINS                      UT     90006474636
6112773615137B   SCOTT         PRYOR                       OH     66044327361
6112782528B168   LA MONT       STARKS                      UT     90003898252
611278AAA5B392   HEATHER       FOUST                       OR     90011198000
61127A6595B235   TAMIKA        SLOSS                       KY     68097820659
61127A78191894   KARA          CONRAD                      OK     21074880781
611282A675B531   JAMES         LOPEZ                       NM     36069462067
611289A525B392   JOSEPH        PIO                         OR     90012479052
6112937164B22B   TAOFIC        ONI                         NE     90002703716
6112978A44B27B   MICHAELA      PETTIS                      NE     90012767804
61129A6647B46B   SIMONE        MCDONALD                    NC     90012370664
6112B19A351354   TERRY         YOUNG                       OH     66024691903
6112B383485946   TODD          NELTNER                     KY     90001253834
6112B492461936   DERLAD        POPE                        CA     46085154924
6112B71A572B36   KRYSTAL       COPELAND                    CO     33004257105
6112B875372B43   ALICE         GOMEZ                       CO     90007798753
61131655672B36   DZIB          MANUEL JOSE                 CO     33097516556
6113185A891894   JOE           ELLIS                       OK     90014788508
61132552872B27   KYTIA         GREENE                      CO     90011965528
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 301 of 2350


61133A71261936   EILEEN       MARTINEZ                     CA     90000180712
61133A91631453   IVANA        LITTLETON                    MO     90014830916
6113436665416B   ATHEL        MORGAN                       OR     90014523666
61134A51361936   MANUELA      RIOS AVALOS                  CA     90012820513
61134A9A45B235   JERRY        ROBNETT                      KY     90014690904
611351A4331453   KIMBERLY     LATCHER                      MO     90014831043
6113546A763646   JOSEPH       FRISZ                        MO     90008204607
6113597A972B27   CAROL        MCCLURE                      CO     33085849709
6113613184B588   ROBIN        GREER                        OK     90013461318
6113627A555973   RUBEN        GARDENER                     CA     90014632705
6113659354B27B   STEPHANIE    POWELL                       NE     90015075935
611368A6131453   TINA         BELL                         MO     27574948061
61136A66772B36   MARIA        CASTILLO                     CO     33059010667
61137218472B29   HECTOR       CASTRO GARCIA                CO     90000202184
6113746744B588   CAREY        FOSTER                       OK     90012084674
611376A6351354   AMBER        JONES                        OH     90012176063
6113773994B27B   JACOB        PLUMB                        NE     90013227399
611382A7772B43   CHRIS        OGG                          CO     90010782077
6113911A972B43   LEXUS        CASAREZ                      CO     90011981109
6113934355416B   MARCIA       WELCH                        OR     90004433435
61139481287B31   BEONCA       LEE                          AR     90013254812
61139A68161936   RAY          VALDEZ                       CA     90012820681
6113B237391894   AMY          HILL                         OK     90013012373
6113B488761964   DAVID        RAMIREZ                      CA     90006674887
6113B5AA171921   TINA         FRANCESHI                    CO     32088365001
6113B62A291975   RONDARIUS    BRADSHAW                     NC     90014326202
6113B67784B588   FRANCISCO    MEZA                         OK     90015206778
6113B87A34B27B   MARTHA       HOUDESHELDT                  NE     27090908703
6114121638B168   SARA         MARTINEZ                     UT     90005772163
611413A915B392   ASNAKE       ENSERMU                      OR     90013943091
6114165A591894   CARMEN       CARDENAS                     OK     21092846505
611419A747B46B   CARESSIA     ELLISON                      NC     90014769074
6114218814B588   MIREYA       VARGAS                       OK     90004541881
61142521272B43   MOHAMMED     ELAYYAN                      CO     90013575212
61142AA255B392   CASSANDRA    MORRIS                       OR     44590590025
61143A65172482   CINDY        HAYDEN                       PA     51082820651
61144A5833168B   DEANNA       JANTZ                        KS     90014730583
6114532258166B   DION         JACKSON                      MO     29064913225
61145A93957538   ANTHONY      VEGA                         NM     90013230939
6114664347B46B   CAMELO       YEPEZ                        NC     90010786434
61148125272B29   RUBEN        MARTINEZ                     CO     90013861252
6114859918166B   LISA         WHITE                        MO     90009095991
6114862A191975   DENNIS       MEDLI                        NC     90015576201
6114893275B531   MAGALI       RAMIREZ-CRUZ                 NM     90014049327
61148A7515B392   JUSTIN       YARGER                       OR     44546850751
61149233A72B43   LEONELA      RODRIGUEZ                    CO     90012452330
6114935355B125   CASSANDRA    BLUE                         AR     90013643535
61149369572B27   KENYON       ACOSTA                       CO     90015493695
61149385A54128   MASON        DREWS                        OR     90012303850
6114968355416B   PAYGO        CRICKET                      OR     90014266835
61149756172B27   GLAFIRA      CORTEZ                       CO     90012547561
6114B31A94B27B   TREXIN       WITCHER                      NE     90014323109
6114B637361964   AIOTEST1     DONOTTOUCH                   CA     90015116373
6114B971572B36   ABRAHAM      LOPEZ                        CO     90014739715
6114BA48947927   RICHARD      MARTING                      AR     90011740489
6115118917B46B   MAURICE      ARCHIE                       NC     90014161891
6115181515416B   SHERLYN      DENDY                        OR     90013058151
61151A2255B235   KRISTI       CLARK                        KY     90008880225
611521A565B392   KEITH        JOBMAN                       OR     44598611056
6115281894B588   GREGORY      ANDERSON                     OK     90010138189
61152A24557538   GUSTAVO      RAMOS                        NM     90012770245
6115325937B45B   JEROME       CRADDOCK                     NC     90002682593
61153885A63646   BRANDON      BAILEY                       MO     90012318850
6115444648B492   DAVID        ROBINSON                     VA     90011694464
6115492A751337   MAYA         EMERY                        OH     90000689207
6115523968B168   ABIGAIL      MELO                         UT     90009112396
611553A485B392   ANILEYDIS    MARRERO                      OR     44593513048
61156575987B31   JAWANIKA     HILL                         AR     28073515759
6115682254B588   JASON        WALKER                       OK     90005698225
6115722A387B31   TRE A        SEMPER                       AR     90001862203
6115727644B27B   PATRICK      MCPHERSON                    NE     27042712764
61157378A57538   JESUS        MARTINEZ                     NM     90013023780
6115738267194B   MICHELLE     RODRIGUEZ                    CO     90010873826
6115796A691894   JAIR         ACOSTA                       OK     21009489606
6115818694B588   JEREMY       WEAVER                       OK     21544551869
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 302 of 2350


6115819665416B   PHILLIP       FONSECA                     OR     90010561966
6115828995416B   DEYSI         MORENO                      OR     90008442899
61158A7258166B   MARIO         JIMENEZ                     MO     90011480725
6115943483168B   TAMIKA        DEMPSEY                     KS     90010314348
611595A4287B31   JOHN          WILSON                      AR     28040225042
61159671298B22   DIANA         LOPEZ PASSE                 NC     11065556712
61159A78861936   CIERA         HARRIS                      CA     90010680788
6115B31755B531   ROBERTO       MIRANDA XAJIL               NM     90013173175
6115B349A93792   CYNTHIA       SINGLETON                   OH     64505713490
6115B422191894   KENNETH       MCELROY                     OK     90011664221
6115B465557538   BLANCA        ZAMORA                      NM     90004264655
6115B8A372B543   LATRECIA      MCABOY                      AL     90014218037
6115B913961964   DOUGLAS       SWAFFORD                    CA     46024549139
6115B926555973   CHERYL        CHAVEZ                      CA     90007029265
6115B941555975   MARIA         FIGUEROA                    CA     90013109415
61161787A51344   JUDY          WESLEY                      OH     90012387870
61161912372B43   CHRISTOPHE    ROMERO                      CO     33000889123
6116253315B531   STEPHANIE     WOOD                        NM     36085405331
6116313AA3B125   CAPRICE       BRAXTTON                    DC     90014411300
6116359893B388   JEANETTE      KLOFT                       CO     90001935989
6116388922B27B   JUAN          DAVIS                       DC     90013938892
61164695436B93   GUY           MAEL                        OR     44543676954
6116486A88B168   TABITHA       CAFOUREK                    UT     31092028608
61164872772B27   KERISHA       CROWDER                     CO     90013208727
611649A4172B29   SUZANNE       BJORK                       CO     33040829041
61164A7A761936   RAMIRO        TLATEHUI                    CA     90012820707
6116524855416B   BRANDI        FARISH                      OR     90000302485
6116614494B27B   JANE          FRAZIER                     NE     90000131449
6116751425B392   BONNIE        PAGE                        OR     90013215142
61167647424B7B   CARRIE        HAGEE                       DC     90012556474
6116781A131453   MARSHAE       BRYANT                      MO     90014878101
61167A9545B392   LILLIAN       LEE                         OR     90014860954
61168468A72B27   KEVIN         KEEVAK                      CO     33067244680
61168761672B29   MICHAEL       MILLER                      CO     90003487616
6116919863B125   ELSY          SILVA                       DC     90001381986
6116979698B168   HENRY         TRUEBA                      UT     90008717969
6116B6A838B168   TRACEY        ARCHIBALD                   UT     31078686083
6116B739472B27   KENDALL       LINGHAM                     CO     33057837394
6116B754A61964   LINDA         SOTO                        CA     46071077540
6116B76484B27B   JANINE        PENNEY                      NE     90010207648
61171262572B36   STELLA        HOLMES                      CO     33006292625
6117132A572B43   JAMES         MURPHY                      CO     90015173205
61171458698B22   JANET         CHAMBERS                    NC     90001334586
61171A5118B168   CHADWICK      JORDAN                      UT     90003570511
6117214424B22B   SHER-JAN      AHMADZAI                    NE     27082201442
61172266772B27   ROGELIO       ARTEAGA                     CO     90012902667
6117243295416B   JILLIAN       FIELDS                      OR     47052734329
61172817176B57   LINDA         REILY                       CA     90000358171
61173826A71921   PATRICIA      ONFRE                       CO     90005048260
6117412272B27B   CHRISTOPHER   BANKS                       DC     90004821227
61174281476B57   ANGEL         LOPEZ                       CA     90007062814
6117429537B46B   NORMAN        SMITH                       NC     11066782953
6117431125B32B   ELVIA         ARZATE                      OR     90010443112
61175697A91889   ROGER         BROWN                       OK     90014696970
6117576345B531   KENNETH       SANCHEZ                     NM     90013917634
61176A9A83168B   ARTURO        SANCHEZ                     KS     90006080908
6117751414B27B   MICHELLE      PHALEN                      NE     90014005141
611778A3172B36   DEONNA        COMBS                       CO     90014158031
61177A81172B27   ROBERT        PACOTTI                     CO     33088700811
6117869A491522   LEOVARDO      MONTERO                     TX     75010966904
6117949148166B   CHAD          KENNEDY                     MO     90011504914
6117B225557538   JIMMY         GIRON                       NM     90013702255
6117B353871921   MARCUS        TAYLOR                      CO     32001613538
61181161A71921   CHEYEANNE     GUINN                       CO     90013051610
611815A984B54B   ERIKA         HERNANDEZ                   OK     90004435098
6118232622B27B   KIM           GRAVES                      DC     90012083262
61182414572B36   SHAQUEDA      DAVIS                       CO     90012694145
61182992787B31   GREGORY       HYDE                        AR     90014219927
611829A4A4B268   ISREAL        SANCHEZ                     NE     90002789040
6118316814B588   CHARLES       SHUMAR                      OK     21595831681
6118414655B235   THOMAS        NIELSON                     KY     90007261465
611852A1784392   ZULMA         CHAVIRA                     SC     19076932017
6118537132B381   JOSE          QUISPE                      CT     90014323713
6118568252B27B   RONDOH        SIDHARY                     DC     90014166825
61186132A5B235   AMANDA        FEIREISEL                   KY     90014681320
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 303 of 2350


611866AA95416B   JASON         MCMILEN                     OR     90015516009
6118687148B169   TORY          BERRET                      UT     31083688714
611868A2272B29   ALMA          IGUADO                      CO     90009518022
61189262398B22   ESMOND        RICHARDSON                  NC     90008612623
61189A2334127B   DAVID         LEE                         PA     90012210233
61189A8864B588   JEREMY        HENSLEY                     OK     90013280886
6118B14512B886   CARL          HOLMSTROM                   ID     90013651451
6118B25685B235   JOCELYN       VAUGHN                      KY     90005812568
6118B27A14B27B   IDISSAH       OURO-BERE                   NE     27003132701
6118B59A287B31   CASSONDRA     POLLION                     AR     28087245902
6118B891655975   REYNA         RUIZ                        CA     48006288916
6119158AA72B36   JOHANN        CHARLES                     CO     90012925800
6119167574B588   LUIS          MARTINEZ                    OK     90013566757
611918A4584392   RUTH          SPELLS                      SC     19038478045
61191A9A15B531   SAUL          DIAZ-VALADEZ                NM     90006250901
611934A5272B27   MARIA         BORUNDA                     CO     33066894052
6119454495B132   KELLY         RAPER                       AR     90006165449
6119462688166B   EVLIO         SONTAY                      KS     90013876268
61194762572B27   TIMOTHY       MADRIL                      CO     33011927625
61195A92261936   ROY           LOZANO                      CA     46077020922
6119615474B588   JOYCE         JACKSON                     OK     90009921547
6119834285B392   CHALISE       LEWIS                       OR     90014653428
6119867487B46B   MARTA         BONILLA                     NC     90012736748
6119918375B392   ASHLEY        SIMS                        OR     44516241837
6119959618166B   SERENA        BARNEY                      MO     90015235961
6119961A991348   MIGUEL        TRUJILLO                    KS     90011196109
6119976493168B   MEADOW        SUBLETT                     KS     90006627649
61199A9A67B46B   YONATAN       MOLINA                      NC     90010660906
6119B371684392   BRIDGETT      GROUP                       SC     19062583716
6119B59432B27B   ALFREDA       BACON                       DC     90014175943
6119B875184327   LESLIE        POOLE                       SC     19098588751
611B125784B27B   CAROLINE      ANNIN                       NE     27071832578
611B1314571921   CRECENCIANO   AQUILAR                     CO     90013643145
611B1421A72B29   NINFA         MAURICIO                    CO     90014674210
611B149834B588   ALISA         DE YOE                      OK     90015174983
611B151A131453   ELISABETH     MILLION                     MO     27582075101
611B159815B531   MELANIE       SALAZAR                     NM     90013215981
611B234A35416B   COLE          TUTTLE                      OR     90011253403
611B236665B531   SHPRESA       AGUSHI                      NM     90002623666
611B2659771921   ERIC          VELASQUEZ                   CO     90015206597
611B2728872B27   TIFFANY       THOMAS                      CO     90011397288
611B277864B221   SOLEDAD       ACOSTA                      NE     90007687786
611B2794744335   RANDY         DILLARD                     MD     90013127947
611B2A6884B588   TEARSTINE     MCDANIEAL                   OK     90012740688
611B3336151354   SCOTT         SPEERS                      OH     66091053361
611B3761272B27   BEN           MARTINEZ                    CO     90014907612
611B3978A31453   IDELLA        HOLMAN                      MO     90013919780
611B4627861936   ZAMORA        ANGEL                       CA     90008076278
611B483995B531   FERNANDO      MEDINA                      NM     90013498399
611B5637361964   AIOTEST1      DONOTTOUCH                  CA     90015116373
611B57A748B168   TARA          TODD                        UT     31006557074
611B597994B544   FELISHA       RUSSELL                     OK     90010849799
611B5A58772B26   ABRAHAM       ZAMORA                      CO     90002440587
611B6259191894   LILIANNA      AVELA                       OK     21032372591
611B6895772B43   MARCUS        TOLANDER                    CO     90013378957
611B7121A57538   BENJAMIN      ROMERO                      NM     35534651210
611B725955B531   JOSE          PENA                        NM     90014112595
611B7276272B36   RICK          CORRENTI                    CO     33016062762
611B8212191894   LICILO        RIVERA SARCENO              OK     90011662121
611B833395416B   ALENA         ADAMSON                     OR     47058873339
611B893A67B46B   DESIREE       MONSON                      NC     11016709306
611B8A87997121   ERIK          CLINKENBEARD                OR     90000520879
611B921235B392   HANI          SODAL                       OR     90011212123
611B942642B27B   MICHAEL       PURYEAR                     VA     90014164264
611B9877557538   ROCIO         SALCEDO                     NM     35545638775
611B997343168B   SAQUAYA       WHITE                       KS     90014669734
611B9A87997121   ERIK          CLINKENBEARD                OR     90000520879
611BB315687B31   BRENDA        DORNBACH                    AR     90000383156
611BB31A563646   JOSEPH        DITTER                      MO     27565863105
611BB47352B27B   KIRTRINA      DOUGLAS                     DC     90010964735
611BB652A8166B   JAMES         COOK                        MO     90004226520
611BB7A185416B   PATRICK       MOORE                       OR     90009027018
611BB7A2972B27   ISIDRO        RODRIGUEZ                   CO     90012977029
611BB984761945   CHAVELA       HOSS                        CA     46014479847
61211925A61964   JOSIE         CARDENAS                    CA     90014879250
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 304 of 2350


6121197415B235   SHACOI             PENICK                 KY     90015039741
612126A7372B29   TROY               SMITH                  CO     33009286073
6121317265B235   CHARLES            BALLARD                KY     90006551726
6121383A84B268   RONALD             FERDINAND              NE     90013878308
6121459158B168   KALLEY             WEIGHT                 UT     90013795915
61214751372B27   SARA               BUTLER                 CO     33060677513
61214A99157538   FRANCISCO          JIMENEZ                NM     90014730991
61215772672B27   ALYSSA             SOLIS                  CO     33087877726
6121641668166B   DOROTHEA DUSHAWN   DAVIS                  MO     90012834166
6121648973168B   ROCIE              SOTO                   KS     22003934897
61216766A5B287   DIANE              ALEXANDER              KY     90000987660
61216A5585416B   AMBER              MCCAHILL               OR     90014560558
6121711288565B   MARLO              RUSSELL                NJ     90005481128
61217358A8166B   ARENICE            SING                   MO     90014513580
6121742AA61936   ALEX               ALVINA                 CA     90014094200
6121791784B588   PATINA             SHADE                  OK     90001889178
61218151287B31   MARGARET           IJIDAKINRO             AR     90007861512
6121857117B46B   MARY               HORTON                 NC     90000195711
612193AAA71921   BRITTANE           MCBRIDE                CO     90011053000
6121962892B27B   FANCISCO           VALLES                 DC     90014176289
61219851A5B392   CRYSTAL            CRONE                  OR     90015478510
61219A4A176B57   MARIA              FUENTES                CA     46002990401
6121B584491894   KRISTY             PETERS                 OK     21083735844
6121B851163646   MICHAEL            MARION                 MO     90000318511
6121B8A4655973   ROSITA             BALDIVIEZ              CA     90015268046
6121BA88363646   MIKE               MARION                 MO     90014030883
6122126158166B   ARMANDO            CHAVEZ                 MO     90003492615
6122158345B531   DARLENE            GONZALES               NM     36075055834
6122167AA57538   VERONICA           ALVAREZ                NM     90013876700
612223A827B46B   ANTHONY            CAMPBELL               NC     90014163082
61222437A31453   ROBERT             JOHNSON                MO     27589124370
61222463A33698   JUANA              BANOS ROJAS            NC     90014164630
612232A5291552   NOEL               DOMINGUEZ              TX     75098792052
61223383A72B27   BIANCA             AGUILAR TAPIA          CO     33023093830
6122338A772B36   NICOLE             VALDEZ                 CO     33069623807
61223A3A691975   HUMBERTO           MERAZ                  NC     17017770306
6122425515B392   ROBIN              REYNOLDS               OR     90006032551
6122539555416B   LISA               GETTINGS               OR     90010633955
61225513672B36   ALICIA             SALAZAR                CO     90014875136
61226659A5B392   JEANETTE           NEIL                   OR     90013916590
6122714474B27B   PENNY              BARNETT                IA     90012221447
61227A1988B168   VASSER             SHANNAN                UT     31016480198
61228235272B27   CALLIE             VAVRIK                 CO     90001112352
6122869688166B   JAMIE              HARRIS                 MO     90014296968
6122876834B27B   PABLO              NAVARETTE              IA     27058137683
61229139787B31   JESSICA            GARZA                  AR     90013441397
6122926715B392   ENRIQUE            ELISEA                 OR     44536432671
6122935334B27B   ANJANEA            COLLINS                NE     27093043533
6122948A731453   JEFFREY            BOLTON                 MO     90011684807
6122955952B27B   BELINDA            YORK                   DC     81030215595
61229589972B43   MARIO              MENDOZA                CO     33070415899
6122986845416B   SUZANNE            MEHTA                  OR     90009078684
6122B663791894   LEANNE             DAVISON                OK     90005056637
6123249A133698   ALVARO             AVILA                  NC     90014164901
612331A1461936   STEVEN             BROWN                  CA     90012821014
6123365255B392   TOMMY              MOORE                  OR     44585706525
6123398A891894   EDDIE              ROBINSON               OK     90014499808
61233A98A71921   BOBBIANN           MIREAULT               CO     32003140980
6123427895B271   JOHNETTA           MAYEA                  KY     90010162789
612347A1891894   FRED               ZUMBRUN                OK     90000377018
61235468376B57   GAVRIEL            GONSALEZ               CA     90011404683
61235AA3A5416B   JESSICA            HOBBS                  OR     90007910030
612364A5961964   RAFAEL             ZUNIGA                 CA     90012684059
61236754A55983   ALEJANDRO          LOPEZ                  CA     90010357540
6123725A851354   JEREMY             LACEY                  OH     90009602508
6123745668166B   JAMILA             SCOTT                  MO     90013544566
6123797144B588   CECILIA            MEDINA                 OK     90010279714
6123821AA31453   SYDNEY             HUTTER                 MO     27502052100
6123861A32B27B   HERRILL            ROBINSON               DC     90008616103
6123866845B531   MARVIN ANTONIO     GARCIA TOJ             NM     90007966684
612386A243168B   SHARON             SCOTT                  KS     90014696024
6123967AA57538   VERONICA           ALVAREZ                NM     90013876700
6123B397A33698   LA SHAINA          PERSON                 NC     90008623970
6123B81A991975   MELISSA            CLIFF                  NC     90003908109
6123B96855B392   NATALY             BONNET                 OR     90012589685
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 305 of 2350


6123B985791522   MARTHA       CUEVAS                       TX     75010969857
6124176A763646   DENA         BOSHERS                      MO     90000547607
61241A46A87B31   ANTHONY      ANDERSON                     AR     90012720460
61241A74172B36   CLAUDIA      HENDERSON                    CO     90007900741
6124216965B531   MAGALI       CAMPOS                       NM     36037521696
61242323976B57   EDRAS        JOHNSON                      CA     90007143239
6124267AA57538   VERONICA     ALVAREZ                      NM     90013876700
6124282725B271   MARIA        MIRANDA                      KY     68067138272
61242A63651354   EJ           GREIG                        OH     90008960636
6124358924B588   SHANOTTA     MOORE                        OK     90010655892
61243A1435B235   KEVIN        PARKS                        KY     90015090143
6124428995B271   SERRA        JOBE                         KY     68087772899
612447A327B46B   ESTELA       HERNANDEZ                    NC     90014177032
612454A3363646   MARY         CORDRY                       MO     27575574033
61245552487B31   ZEFERINO     GALINDO                      AR     90012055524
6124633945416B   JENNIED      SHARON                       OR     90009363394
6124837367B46B   FELICITAS    CALLEJA                      NC     90014163736
612486A484B27B   GREGORY W    GURNICZ                      NE     90015076048
61248865A51354   LAVAR        MCAFEE                       OH     90011318650
6124937355B235   VIVIAN       KING                         KY     68004973735
6124941448B346   RAUL         TORRES                       SC     90015224144
6124968865B531   ERIKA        VAZQUEZ                      NM     90004236886
6124B1A323168B   FERNANDO     URISTA                       KS     22071821032
6124B272763646   BARBARA      REA                          MO     27593472727
6124B391584392   ESSENCE      PALMER                       SC     19054143915
6124B638261964   AIOTEST1     DONOTTOUCH                   CA     90015116382
6125177AA84392   CELIA        JETT                         SC     90010127700
6125187868B168   DEANNA       GERMAN                       UT     31097408786
6125192A354128   BRAD         GUBSER                       OR     47064219203
6125292315416B   KIMBERLY     BRIGHT                       OR     90012559231
61252A29A3168B   VICTORIA     SANTOS                       KS     90006380290
61253713A51354   JOSE         BARRA                        OH     90013517130
6125385715416B   CHASTITY     VINCENT                      OR     47061228571
61253997272B36   MICHAEL      MCLAUGHLIN                   CO     90013929972
612539A948166B   CASSANDRA    PRZYGOCKI                    MO     29052659094
61253AA6884392   PAIGE        DEW                          SC     90003010068
6125441743168B   SHELLY       PHILLIP                      KS     90012774174
61254857272B36   SERGIO       RAMIREZ                      ID     33084868572
6125513444B588   YVONNE       SHERFIELD                    OK     90009371344
612573A3172B36   DAWN         JENNINGS                     CO     33006303031
61257A46191975   JOSE         CARRILLO                     NC     17058760461
612583A952B893   EDGAR        VARGAS                       ID     90013953095
6125843A35B235   LUCKY        LUCK                         KY     68076294303
6125883A772B29   ALEXANDER    HOOSZ                        CO     90011398307
612588A733168B   CHERYL       BIGGARS                      KS     22044518073
612593A9657538   ALBERT       FERNANDEZ                    NM     90013753096
6125967A48B168   RAINE        OSTLER                       UT     90013796704
6125B8A2255973   KAREN        GRZYEEK                      CA     90015118022
61261542672B43   JANET        WEST                         CO     33076125426
612619A168B168   ROBERT       HESS                         UT     31003979016
6126222228B169   DREWIN       BROWN                        UT     31001652222
6126324818B168   SANTOS       GONZALEZ                     UT     90012022481
6126348374B588   SHENITA      WHILLIAMS                    OK     90014934837
61264585472B43   JOCELYN      GONZALEZ                     CO     90014775854
6126461AA87B31   ONC          KEEGAN                       AR     90009446100
6126541987B46B   CRISTIAN     ROLDAN                       NC     90014164198
612655A4372482   TRACY        FREEDLINE                    PA     51010125043
6126562745416B   TRACY        BURGES                       OR     90008926274
6126578314B27B   DALLAS       LAWVER                       NE     90011047831
61266297672B29   OLGA         PORTILLO                     CO     33097292976
61266744A4B27B   WILLIAM      FLESHMAN                     NE     27020707440
6126677766196B   SHANE        LYNN                         CA     90008287776
61267417472B29   JEFF         NUNYA                        CO     90001824174
6126777794B588   JIMMIE       STEVENS                      OK     21578957779
6126778298B169   TONY         DEAN                         UT     90009077829
6126814255B392   RHIANNON     HURLBUT                      OR     90008111425
61268149172B27   MONALISA     FINLEY                       CO     33057771491
6126871413B35B   WILLARD      CARVATT                      CO     39010897141
61268A61933698   ABELARDO     VILLEGAS                     NC     90014170619
61268A72357538   PABON        FELIX                        NM     90003740723
6126976165B392   ANDREW       MANTIA                       OR     90012207616
612699A122B949   DANIELLE     MACHADO                      CA     90014839012
6126B533663646   JEFFREY M    SCHEJBAL                     MO     90011005336
6126B69978B168   PRICE        JUSTIN REED                  UT     90006306997
6126B718361936   MARISSA      MACHEAN                      CA     46080317183
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 306 of 2350


6126BA1925B235   AUSTIN           SEEWER                   KY     90015090192
612714A415B531   JAZMINE          BENAVIDEZ                NM     90011444041
6127168385B531   ALMA             ROSALES                  NM     90011146838
61271934A63646   PAYGO            IVR ACTIVATION           MO     90010229340
61271998A2B27B   JOE              JOHNSON                  DC     90010879980
6127389215B386   ROCKY            BALANGITAO               OR     90011518921
61273964972B29   DIOSCORO         CRUZ                     CO     33020499649
61275A1265B392   LON              BURTON                   OR     90014140126
61275A9114B268   SALVADOR         VEGA                     NE     27021060911
6127635845B235   VANESSA          WILSON                   KY     68010743584
6127718153168B   CONSUELO         RODRIGUEZ                KS     90014631815
612791A8455975   YOLANDA          SARACHO                  CA     90015311084
6127933288166B   DAVID            PENO                     MO     29072473328
6127B12A38B589   CARLOS           SOTO                     CA     90014141203
6127B291793728   STEVEN           WIWI                     OH     90013892917
6127B618A72B27   PETER            PARLO                    CO     33062836180
612815A385B531   JEANETTE         CRUZ                     NM     90012465038
612816A8571921   REBECCA          ALSUP                    CO     90008376085
612817A517B46B   MARTIN           CRUZ                     NC     90010297051
6128298775B531   NANCY            DIAZ                     NM     36006169877
6128313898B168   WATERS           BRADLEY                  UT     90003451389
6128332243168B   ALICE            VANDOREN                 KS     22090623224
61283572A87B31   ANTHONY          CRAWFORD                 AR     90015045720
6128368918B385   CHARLES          MCKENZIE                 SC     90014086891
6128375944B27B   CONNOR           HEAD                     IA     90013137594
6128415595B392   MICHAEL          LINTON                   OR     90010851559
61284462272B43   TAI              SANDERS                  CO     90013194622
6128556AA61936   TINA             ELLIOTT                  CA     46017905600
6128571A93B391   MATT             GILDEA                   CO     33034707109
61285819A4B268   SUSAN            GRAFFIUS                 NE     27090058190
6128588523168B   JAMES            CAMERON                  KS     90014758852
6128625368B168   DENISE           MCCRONE                  UT     31094062536
6128643AA7B46B   JASMIN           ERVIN                    NC     90014164300
612864A225B392   TALISA           WILSON                   OR     90013944022
6128686A991522   RAMON            GARCIA                   TX     90007118609
6128687413B359   JOSHUA           NELSON                   CO     90012268741
6128763344B588   FATIMA           BHAILIK                  OK     90012056334
61287736A57538   JENNIFER         LOPEZ                    NM     90010377360
612877A117B46B   KING             SIMS                     NC     11066447011
6128781425416B   JAUNI            MCCAULEY                 OR     90008568142
612882A9557538   MELISSA          GARCIA                   NM     90015082095
612882AAA5B235   LAURA            SCHERZINGER              KY     90014312000
6128838755B531   PATRICIA         CORDOVA                  NM     90013713875
61288414172B36   SHARI            TAYLOR                   CO     33043024141
61288492672B29   GRICELDA         REYES                    CO     90009574926
6128943547B46B   ANGELINA         KING                     NC     90014164354
61289589A91894   TAMARA           BERRY                    OK     90013415890
61289996372B43   NYLE             HOUSTON                  CO     33063269963
6129193925B531   EUSTOLIA         MEDINA                   NM     36068649392
61291A4924B588   LUIS FRANCISCO   PAZ SOTELO               OK     90014110492
612921A8633698   MAGALI MARQUEZ   AVILA                    NC     90007671086
6129347674B27B   KARAH            ZOLLICOFFER              NE     90014714767
61293A1822B227   CRYSTAL          ROGERS                   DC     90000860182
61294486572B43   REGINA           NATIVIDAD                CO     33043074865
6129512A27B378   DANIEL           FERREIRA                 VA     90005351202
61295555472B29   MARIA            CHAVEZ                   CO     33088595554
61295A64498B22   ELIZABETH        SMALLS                   SC     90010310644
61296A33591975   SHEKA            MACDONALD                NC     90011290335
6129734114B588   PATRICK          YOUNG                    OK     21584533411
6129735488B168   JEFF             MECHAM                   UT     31077873548
61298448A7B46B   MATIAS           ROLDAN                   NC     90014164480
6129975A572B27   AGRIPINA         GARCIA                   CO     90015267505
61299A93387B31   NAKIA            TAYLOR                   AR     90014690933
6129B528587B31   SALVADOR         CARRANZA                 AR     28028375285
6129B638661964   AIOTEST1         DONOTTOUCH               CA     90015116386
612B114365B531   ALYSSA           CARRILLO                 NM     90012131436
612B1234263646   JESSICA          LECRONE                  MO     90013442342
612B1263661936   SHAWNNA          WILLIAMS                 CA     90014272636
612B155892B27B   GREGORY          THOMPSON                 DC     90010035589
612B1918A31453   JULIA            WILSON                   MO     90014799180
612B239894B588   AUSTIN           SPAIN                    OK     90014413989
612B28A7661936   PAULETTE         BROWN                    CA     90006578076
612B295198B168   JAZMINE          HUMPHREYS                UT     90012779519
612B3216961964   YVONNE           AGUILAR                  CA     90009632169
612B3796355973   DAISY            TRUJILLO                 CA     90012777963
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 307 of 2350


612B413845B235   JELONDA      ROBERTS                      KY     90009061384
612B4245172B27   ROBIN        PETERSON                     CO     33060422451
612B4397A2B27B   BERNIQUA     PARKER                       VA     90008373970
612B442685B392   LEESA        UYESHNALL                    OR     90013474268
612B4645261986   PEDRO        OBRETADO TENORIO             CA     90009966452
612B4754A5B392   LEE ANN      KRISTOPH                     OR     90004757540
612B4759861964   MELINDA      HORNE                        CA     46018917598
612B6111A72B43   ANGELA       MCMAHAN                      CO     33095941110
612B6969133698   EARL         LADSON                       NC     90000829691
612B73A245416B   MISHELLE     PRIOR                        OR     90012313024
612B7411371921   COLLEEN      WININGER                     CO     90011344113
612B773288B138   TRACEY       GARRETT                      UT     90011097328
612B7894972482   NICOLE       SISO                         PA     51057448949
612B8374161936   XOCHIQUETZ   RIVERA                       CA     46086883741
612B8533272B43   BRITTNEY     MARTINEZ                     CO     90009385332
612B8638261964   AIOTEST1     DONOTTOUCH                   CA     90015116382
612B881722B248   TAWANA       THOMAS                       DC     90002458172
612B929347B46B   MICHAEL      CAMPBELL                     NC     90014162934
612B9397551323   RAYNOLD      GORDON                       OH     90005333975
612B9938584392   PATRICE      CARPENTER                    SC     19094639385
612B9A4A12B27B   LATONYA      MCPHAUL                      DC     90014170401
612BB684871921   MONSERTTO    ALIVERIA                     CO     90013176848
6131125295B392   JENNIFER     CHAINEY                      OR     90011212529
613117A3255973   ADRIAN       ZEPEDA                       CA     90010827032
6131241865B392   ELIZABETH    GAULT                        OR     90014964186
6131253A68B168   MICHELLE     DENNIS                       UT     31073155306
613128A118166B   GLENDA       HOLMES                       MO     90010048011
61312932572B29   ANDREA       MYERS                        CO     33064039325
6131295888B169   BENJAMIN     COOK                         UT     31056289588
61312A92972B29   DEIRDRE      MYERS                        CO     90011610929
613131A6455973   LESLIE       CHANDLER                     CA     48035451064
613135A2991894   ELLEN        STEWART                      OK     90014165029
6131388168B169   MARLEY       BOB                          UT     90002358816
61314333A4B27B   DEBRA        HOGAN                        NE     90003553330
61314413476B71   VERONICA     VACA                         CA     90003014134
61314746472B36   CARMEN       ACEVEDO                      CO     33042357464
6131486868B168   CAROL        WORKMAN                      UT     90012918686
61314A6255B235   MELISSA      CARPENTER                    KY     90007840625
61315293987B31   JENNIFER     MOON                         AR     90009342939
61315346372B43   MARISA       SCHMIDT                      CO     90011333463
613157A978166B   FRANKIE      ASHLEY                       MO     90014167097
6131633AA71921   MASON        MCCRACKEN                    CO     90013303300
6131664913B125   MELVIN       MILIAN                       VA     90015236491
61317756372B29   JOHN         JR                           CO     90010857563
61317978972B29   RICHARD      CHOVAN                       CO     90012329789
61317A5A791894   FRANCO       GONZALEZ                     OK     21073000507
61318168972B43   JOHN         SCOTT CUTTER                 CO     90007171689
6131825295B392   JENNIFER     CHAINEY                      OR     90011212529
61318636172B27   BRITT        LIEBMAN                      CO     90013296361
6131885525B221   JOHNNIE      TOPPING                      KY     90002608552
61318863A51354   ARNITA       JENKINS                      OH     66038958630
6131889395B235   KRYSTAL      BROWN                        KY     90009588939
61318A6437B761   DAREN        LORDAHL                      CA     90015470643
613193A5A7B46B   NELINDA      BIGSBY                       NC     90003793050
6131997285B392   ROSEMARIE    MILLER                       OR     44583629728
6131B18555B392   LAILO        FARAH                        OR     90013381855
6131B538784392   LAQUENA      WINE                         SC     19090895387
6131B755471921   CHERRY       CRAFT                        CO     90009657554
6132141865B392   ELIZABETH    GAULT                        OR     90014964186
6132147135B531   JOSE         MELENDEZ                     NM     90001124713
613214A668166B   SARAH        YAZEL                        KS     90000924066
6132185A144335   DANIEL       HEFF                         MD     90015448501
61321AA5A5B235   DEBRA        FARRIS                       KY     90015260050
61322356372B27   KEVIN        WILLIAMS                     CO     33034743563
6132271A22B527   ERIC         WALTON                       AL     90015297102
6132272A17B46B   CARMRLA      TOBIS                        NC     90014177201
6132277195B392   ALBERT       PATTON                       OR     90008857719
61322AA7171921   JOSUE        MENDOZA                      CO     32055770071
6132378683168B   HUYNH        NGUYEN                       KS     90014697868
61324A82A47996   NONIE        JURADO                       AR     25018200820
61325586572B43   WILLIAM      SHERMAN                      CO     33001445865
6132576645B392   KRISTA       HANSEN                       OR     44561107664
6132646A272B36   LORENA       JIMENEZ                      CO     33066284602
6132677538B563   PABLO        FLOR                         CA     90014217753
61326A41971921   CRISTINA     SANCHEZ                      CO     32018400419
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 308 of 2350


61327319A87B31   LASANDRA         BOGARD                   AR     28072473190
6132777134B27B   MAYRA            JACOBO                   NE     90013137713
61327A35491572   JOSE             RODRDIGUEZ               TX     75053720354
6132888684B588   MARY             JACKS                    OK     21559198868
6132915A561936   ADEN             OLMEDO                   CA     90008541505
613291A9A57538   LORENZO          TRUJILLO                 NM     90009321090
61329318A5B235   PATRICIA         BAKER                    KY     90013543180
6132982A561936   CYNTHIA          ACOSTA                   CA     90012858205
61329A67151354   NICHOLAS         MOLINA                   OH     90014680671
6132B66715B235   WENDY            CAREY                    KY     90000806671
6132B87635B531   EDITH            BEJAR LOPEZ              NM     36085828763
6132BAA395B271   DAWN             CLARK                    KY     68072790039
6133128125B351   ANDY             MAES                     OR     90001002812
6133227A855975   ALMA             MADRIGAL                 CA     90001922708
6133259823B335   RICHARD          LUMPKIN                  CO     90001005982
6133312514B588   CLAUDIA          ROJAS                    OK     90010601251
61333364A5B392   VALERIO          GONGORA                  OR     90014813640
6133375A272B36   JAMES            REYNOLDS                 CO     33006607502
613339A6A31453   MELIA            ROWE                     MO     90014569060
61333A7514B27B   EDUARDO          MORALES                  NE     90015100751
6133424A185877   ZAKIA            MASHIRI                  CA     46013332401
613342A595416B   MARIA            VARELA                   OR     90010642059
61334A72A57538   JOSE             MADRID                   NM     35589760720
61335365187B31   MERCEDES LAYNE   ANDERSON                 AR     90007643651
6133547947B46B   RAYVONN          HOWERD                   NC     90014164794
6133564A572B43   DANIEL           HIGHT                    CO     33015876405
6133566358B168   BRANDON          PROCTOR                  UT     90015176635
6133581983168B   FELICIA          DENNIS                   KS     22005478198
613358A6355975   JUAN             GONZALEZ                 CA     90015128063
613359A8831453   DARLENE          WADE                     MO     90014569088
6133633472622B   RAYMOND          HALLQUIST                IL     90014953347
6133695234B588   SHANQUILA        CARTER                   OK     90014789523
613369A3A55975   OSCAR            AVILA                    CA     90011929030
6133769865B221   JASON            JORDAN                   KY     90014976986
61337A46591522   IVAN             ALFARO                   TX     90005490465
6133813445B392   JORGE            VIGOA BARRIOS            OR     90012731344
6133839144B588   VANESSEA         GARCIA                   OK     90012603914
6133841A55B235   TRIXIE           EMBRY                    KY     90004944105
61338973A2B27B   BOBBY            PEGUES                   DC     90014179730
6133941824B52B   TAMMARA          JONES                    OK     90005194182
6133972373168B   LEVETTE          SOLOMON                  KS     22093917237
6133B156561936   YISELLE          PHELPS                   CA     90009401565
6133B44325B235   JEMAL            JOHNSON                  KY     68010084432
6133B82944B27B   TAMMY            MALFAIT                  NE     27058478294
6134172373168B   LEVETTE          SOLOMON                  KS     22093917237
6134216A755975   YVONNE           VELASQUEZ                CA     48073551607
6134294188168B   STEVEN           TURNER                   MO     29017279418
61342A7834B555   EMMANUEL         CRUZ                     OK     90009300783
61343121772B27   JOEL             DE LA CRUZ               CO     90001951217
613432A4A33698   RICHARD          JONES                    NC     90007362040
61343472172B36   ILIA             WALKER                   CO     90008684721
613435A2831453   DAVID            HILL                     MO     90012215028
61343A51757538   DEBBIE           SHARPE                   NM     90015190517
6134415A672B36   EMMA             VEGA                     CO     90013801506
61345459972B43   KASHAUN          FOX                      CO     90013354599
6134559484B27B   WAYNE            CARLSON                  NE     90015195948
6134595662B27B   BROCKINGTON      WESLEY                   DC     90007939566
61346791A5B392   EUDDYS           COLLADO                  OR     90008127910
613477A4461964   VALERIA          ACEVES                   CA     46001077044
61347A18191975   PAYGO            IVR ACTIVATION           NC     90012820181
6134812134B27B   DAN              SEDLAK                   NE     90000131213
6134837148B169   SAIRA            GARCIA                   UT     31013373714
6134849697B46B   SHONTAY          MORRISON                 NC     90014164969
61349128A5B235   BETTY            CARR                     KY     90007841280
61349512A91975   JUAN             RAMIREZ                  NC     90015535120
6134956184B588   JIM              LEEDER                   OK     21574575618
6134959AA72B36   ALEJANDRO        GAMBOA                   CO     90013795900
61349978172B27   LUZ MARIA        HERNANDEZ ROMERO         CO     33046049781
6134B138A72B29   DANIEL           ERSKINE                  CO     90013501380
61351334572B27   EMETERIO         CORPUS                   CO     90012533345
6135195224B268   BRENT            SAMSTAD                  NE     90011319522
61351A95855975   ANTHONY          SOTO                     CA     48046040958
6135222963168B   BRIANNA          KEE                      KS     90006272296
613524A947B46B   DOMAR            BAILEY                   NC     90015304094
6135256A561936   JESUS            BARRERA                  CA     90003165605
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 309 of 2350


6135261715B531   ALENJANDRA   ORTIZ                        NM     90012906171
613526A183B335   JUAN         GUERRERO                     CO     33072506018
61353528472B43   LUZ          BALTIERRA                    CO     33078925284
61353A33663646   PAYGO        IVR ACTIVATION               MO     90008880336
613543A2831453   JORDAN       SWISHER                      MO     90014173028
6135441315B392   MARIA        MENDOZA                      OR     44539444131
613549AA38B169   AMY          BORGHOLTHAUS                 UT     90010739003
613554AAA4B588   DENNIS       EDWARDS                      OK     21561214000
61356296572B43   RYAN         LAUB                         CO     33010062965
61357367A84392   ALLEN        STARK                        SC     90010123670
613573AA75B235   LAKENYA      EDWARDS                      KY     90003033007
6135742AA87B31   ANTHONY      DALEY                        AR     90014524200
613576A4372B36   ALE          DUARTE                       CO     90010576043
61357A3842B27B   LATOYA       YOUNG                        DC     90014180384
61358213672B27   ERIC         WELCHLEN                     CO     33066462136
61358A95572B29   ENRIQUE      CABRERA                      CO     90002720955
61359834172B43   ELIZABETH    MCMULLEN                     CO     33047258341
6135B12125B271   ERICA        GLENN                        KY     90009261212
6135B23648166B   JEFFREY      TOLEFREE                     MO     90013062364
6135B385771921   DALE         REVELLO JR                   CO     90011483857
6135B68544B292   DEANNA       MEECE                        NE     90008636854
6135B814772B27   PORTIA       TUCKER                       CO     90013548147
6135B846533698   CANDACE      PAIR                         NC     90010468465
6135B8A5555973   OSCAR        ANDRADE                      CA     90006798055
6136119272B543   ROBBY        KNIGHTEN                     AL     90014231927
61361239A55973   EFRAIN       TOSCANO                      CA     90013922390
6136131A955975   MAGALI       HERNANDEZ                    CA     90008083109
6136173A755973   TANYA        GUTIERREZ                    CA     48005897307
61361978698B22   REINA        SANCHEZ                      NC     90007229786
61361A36891522   JOSE         MACIAS                       TX     75049420368
6136214492B27B   DILICIA      BANQUEDANO                   DC     81030591449
61362836A5B921   MISTY        SANTOS                       WA     90015308360
6136341792B27B   BRAYANT      BUTLER                       DC     90011724179
6136546555B392   KIETH        SMITH                        OR     90013344655
61365A76472B36   LINDA        COX                          CO     33095200764
6136685218B563   JESSE        CABRAL                       CA     90015268521
61366A9678166B   MARITZA      HART DE ESPIN                MO     90013740967
613672A687B46B   DEMARQUES    ANDREWS                      NC     90010992068
613679A4363646   ALVIN        SEGAL                        MO     90011819043
61367AAA572B36   JANET        ALCAZAR                      CO     90012600005
6136837A261964   CHRIS        HAWKINS                      CA     46059793702
6136848455B235   EYVONES      CRUZ                         KY     90008724845
61369275872B29   WENDY        PAYNE                        CO     90012172758
613692A2461964   LEA          RODRIGUEZ                    CA     90012612024
6136976454B588   ELVERINIA    GARCIA                       OK     90013857645
6136BA82455975   RUBEN        LEMUS                        CA     48011140824
61371821372B43   DANIEL       NEWTON                       CO     90012098213
6137184225416B   BRIAN        RANKIN                       OR     47052538422
61371863587B31   ROSENIQUE    MCCARROLL                    AR     28093308635
61371A1A263646   LOUIS        DAHN                         MO     90004300102
6137221274B588   MARIA        LOPEZ                        OK     90007232127
61372228672B27   PAUL         ROBBINS                      CO     90012552286
61372367A3B374   DIONISIO     REYES                        CO     33086083670
61373A94671921   BRYAN        HUNTER                       CO     90015010946
6137434365B531   DAVID        LUTERO                       NM     90000713436
61374367A3B374   DIONISIO     REYES                        CO     33086083670
6137485AA72B36   CHARLES      CORTINEZ                     CO     90015258500
6137489833168B   JUSTIN       PROVENCE                     KS     90014708983
6137517A272B36   DESIREE      PIGFORD                      CO     90011531702
61375446A2B27B   JOHN         BRYD                         DC     90013394460
613762A478166B   ROBERT       LANE                         MO     90010942047
6137652845416B   ESTEBAN      ACOSTA                       OR     90014095284
6137699795B235   REGINALD     PRIMAS                       KY     68016939979
6137715524B588   MARCIA       STONE                        OK     90009291552
6137798A75B392   DORA         MONTES                       OR     44556199807
61378369472B43   MARIA        BORJAS                       CO     33029713694
61378376A57538   TIMMY        HERNANDEZ                    NM     35544483760
6137876998B169   SANDRA       CASTRO                       UT     90014257699
6137919355B531   DESIREA      VALDEZ                       NM     90014761935
6137982548166B   TYAUN        MITCHELL                     KS     29040978254
61379A27155973   JUANA        BONILLA                      CA     90013230271
6137B45A457B78   BRIGEL       MYLER                        PA     90015124504
6137B69635416B   GEORGE       TAYLOR                       OR     90014526963
6138156447B46B   THERLA       LOPEZ                        NC     90014165644
61381773524B7B   CARMEN       QUIROZ                       VA     90012167735
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 310 of 2350


6138184498166B   LUIS         CRUZ                         MO     90012188449
6138211852B27B   TASHAWN      MCMILLIAN                    DC     90014181185
6138356927B46B   GERARDO      RARCOI                       NC     90014165692
61383715587B31   PRESTON      SPENCER                      AR     28081337155
61384A1784B53B   MELANIE      ROSALES                      OK     90008300178
6138515712B27B   CHRISTIANE   FRANKLIN                     DC     81081341571
6138559AA51354   CARLOS       CORTEZ                       OH     66091535900
61385622487B31   APRIL        PORTER                       AR     90013746224
6138612245137B   PAUL         HARNEY                       OH     90011321224
61386289A61936   MICHELLE     BROWN                        CA     46007872890
61386665A4B268   TILYNN       HARRIS                       NE     27030726650
6138713AA47996   JOHNNY       GRUNDY                       AR     90005911300
613872A8963646   JEFFREY      MILES                        MO     27567302089
613875A5191894   ERIC         MASON                        OK     90014165051
6138761322B27B   RHONDA       HALL                         DC     90013526132
61387993A87B31   KAYLA        JONES                        AR     90014329930
61388238A31453   ODIL         SHAKHBAZOV                   MO     90004682380
61388694187B31   TIMOTHY      COLEMAN                      AR     90008316941
61388921A4B588   ANGELA       VINEY                        OK     21558499210
61388A3795B531   VICENTE      CORADO MUNOZ                 NM     90013790379
6138968635416B   TRUMANN      DUCKER                       OR     47008836863
6138B144772B27   JENNIFER     RODRIGUEZ                    CO     90008061447
6138B184872B43   MARIA        GUZMAN GURROLA               CO     90013791848
6138B1A652B27B   LEROY        DAWAYNE                      DC     90014181065
6138B56377B46B   WALTER       GUTIERREZ                    NC     90014165637
6138B76AA5B392   DEBRA        KNETZGER                     OR     90009767600
6138B963151354   DAVID        BOLLING                      OH     90003769631
6138BA6184B27B   SHAWNTRIZE   JACKSON                      NE     90014280618
6138BA79A72B36   J IGNACIO    REYES-FIERRO                 CO     33079570790
6139123664B588   KARL         DOAKES                       OK     90014682366
6139163296155B   DAKOTA       STEWART                      TN     90015346329
6139178A172B29   TRACY        JOKELA                       CO     90011367801
6139249A35B392   CHRISTAL     SMITH                        OR     90014984903
6139277495416B   LUIS         SANCHEZ                      OR     90014137749
6139352585B392   ANGEL        SANCHEZ                      OR     90014805258
61394432872B29   MARCELO      OLVERA                       CO     33080774328
6139444598B168   CARLOS       SOTO                         UT     31073724459
6139461A661936   RHAQIL       SAMPBELL                     CA     90013966106
61394675987B31   NICHOLAS     DUNCAN                       AR     90004676759
6139533A563646   EVETTE       CLARK                        MO     27551813305
6139559943168B   MARK         APPIER                       KS     22004825994
6139561945B235   CHARMAIGNE   FUGATE                       KY     90010806194
61396653572B36   MARGARET     GONZALES                     CO     33063036535
61396A14A61936   WILKIE       THOMPSON                     CA     46010040140
61396A6A557538   JACINDA      RAMIREZ                      NM     90014860605
6139741A35B531   KIMBERLY     ROMAN                        NM     90009274103
6139755165416B   DENISE       CURTIS                       OR     90014715516
6139855675B392   REY W        NODAL                        OR     44506125567
61398A43431453   VIRGIL       MURPHY                       MO     27566490434
6139919995B235   SANDRA       FLAHERTY                     KY     90008761999
6139923A898B22   ALICIA       COLE                         NC     90014652308
6139943914B268   CHERISH      BENNETT                      NE     90005444391
61399446A87B31   JOHN         BARKS                        AR     90002054460
613996A417B46B   GABRIELA     GUTIERREZ                    NC     90014166041
6139B16A84B268   DAWN         RODGERS                      NE     90001681608
6139B237161964   FELIPE       MARTINEZ                     CA     46016882371
6139B529191894   WHITE        WINKELMAN                    OK     90014165291
613B1538257538   RENALDO      DIXON                        NM     90001545382
613B1545631424   DANAY        GUNN                         MO     90001535456
613B2538531453   SHARON       CARR                         MO     90011535385
613B275383168B   MARQUAN      SIMMONS                      KS     90014697538
613B2843557538   FRANCISCO    GUTIERREZ                    NM     90012518435
613B2864A91975   LUIZ         RAMIREZ                      NC     90015618640
613B299A155975   MICHELLE     HILL                         CA     90012569901
613B29A1455973   LUCY         CASANOVA                     CA     90012689014
613B3129871921   JUAN         CARLOS                       CO     90002071298
613B3534491894   ESTELA       SALDANA                      OK     21054205344
613B3586372B29   MICHAEL      MCMAHILL                     CO     90012225863
613B3767491527   MELISSA      SANCHEZ                      TX     90012477674
613B37A4571921   JAY          COYLE                        CO     32001837045
613B4238841221   JAMES        BROWN                        PA     90011772388
613B4239255973   MARIA        RANGEL                       CA     90007702392
613B425295B392   JENNIFER     CHAINEY                      OR     90011212529
613B4335255991   JOSE         CHAVIRA                      CA     49016403352
613B555414B268   TAVIN        MILLER                       NE     27057655541
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 311 of 2350


613B5A5838B168   DANA         CARTWRIGHT                   UT     90009650583
613B6516947996   MARIA        GUERRERO                     AR     25009305169
613B671A45B351   SHELIA       WILES                        OR     90012447104
613B6A9A18B168   JOSE         JACQUEZ                      UT     31047750901
613B719775416B   RAY          ELLIOTT                      OR     90013721977
613B71A1663646   SARABIA      LOPEZ                        MO     90009911016
613B727924B588   BRIAN        CARR                         OK     90013252792
613B7392384392   THAMETRA     BRIGGS                       SC     90011553923
613B753845B531   BELINDA      AVILA                        NM     90014405384
613B7872755973   MELISSA      ELLSWORTH                    CA     90012778727
613B793A291894   MARIA        BOYD                         OK     90010789302
613B7A25272B36   ALEX         PRESCOTT                     CO     90013960252
613B8514887B31   SARAH        COGGINS                      AR     90012555148
613B8514A91975   ESPENCER     GARCIA                       NC     90014075140
613B8539661936   JOHNATHAN    MCMARRIN                     CA     90014895396
613B8A8A55B531   LARRY        BAYLAN                       NM     36017850805
613B8A9985416B   KIMBERLEY    MCCORDUCK                    OR     90014510998
613B9389631453   SYUNIE       STAPLES                      MO     90013923896
613B9A4695B235   WOODY        MOORE                        KY     90012700469
613BB75383168B   MARQUAN      SIMMONS                      KS     90014697538
613BB825A2B27B   JAMES        AYERS                        DC     90014178250
6141119334B27B   SANDY        RASMUSSEN                    IA     90005271933
61411713A4B268   RAQUELA      MILLER                       NE     27063007130
6141329468166B   SEAN         BLOSS                        MO     90013812946
6141366A72B27B   LINDA        POPE                         DC     90000946607
6141374757B46B   DEBORAH      ALDRICH                      NC     90014177475
614137A3A55975   SYLVIA       FLOREZ                       CA     90012787030
614139A574B588   KENNETH      JOHNSON                      OK     21593859057
614141A6A51354   SHAMAEL      DAVIS                        OH     90014031060
614142A6955975   ANICA        RIOS                         CA     90013892069
6141511A356367   GWENDOLYN    REID                         IA     90011891103
6141582AA72B29   GIOVANNI     RUIZ                         CO     90014188200
6141597853B125   MARTEACO     TAYLOR                       DC     81005949785
61415AA1A8166B   DENISE       PADILLA                      MO     90012460010
6141682A831453   SCOTT        ROBBINS                      MO     27583988208
61417462872B43   JENNIFER     SEALS                        CO     90012894628
61418739672B43   LINDSEY      WYATT                        CO     90009577396
6141878435416B   KURTIS       DANIEL                       OR     90012187843
61418AA1272B27   GREGORY      MCGRAW                       CO     90013380012
6141966525B235   BRANDY       BOARD                        KY     90015206652
61419AA6672B29   JAIME        ACEVEDO                      CO     33065880066
6141B119376B57   ADRIANA      P. JIMEZ                     CA     46015881193
6141B25288166B   TONIA        STAVA                        MO     90009742528
6141B498172B43   HILDA        ORTIZ                        CO     33059694981
6142143428B168   ALAURA       BOMAR                        UT     90015174342
61422187A57538   NANCY        MORA                         NM     90013521870
6142261947B46B   ROSER        FREEMAN                      NC     90014166194
614237A9755973   BARRA        ARMONDO                      CA     90002817097
6142423998B169   PATRICK      UPTON                        UT     31049802399
61424288272B36   JAIME        BUENISTRO                    CO     33049992882
61424362372B43   RULEZ        RODRIGUEZ                    CO     90015143623
6142474194B27B   TERRI        KNUTSON                      NE     90002937419
61425834A71921   ALEXIS       SANTIAGO                     CO     90008808340
6142631392B27B   CHIFAWN      WATTS                        DC     90014183139
6142672435416B   BRYAN        FERRELL                      OR     90007827243
6142756315B271   TIMOTHY      THOMAS                       KY     90002025631
61427861A55975   FRANK        CARAVEO                      CA     90014768610
614279A1A72B29   ESTELA       DE SANTIAGO                  CO     90001869010
61427A9165416B   SARAH        BRYSON                       OR     90010950916
6142866378B169   TEREMAINE    WHETSTONE                    UT     90004606637
61428A72163646   SHEILA       CAMPBELL                     MO     90007750721
6142B16355416B   ROSALBA      GARCIA SANCHEZ               OR     90008651635
6142B241461936   ISAIAH       ALCALA                       CA     46016982414
6142B29752B27B   LONDON       JOHNSON                      DC     90014182975
6142B368491894   MARIA        GARCIA                       OK     90007093684
6142B39A24B268   LACEY        SCHMECKERPEPER               IA     27006113902
6142B48578B169   MICHAEL      VALLEE                       UT     90006474857
6142B6A7A8B168   CODY         RODICIO                      UT     90012856070
6142B95473B125   MICHELLE     WOODWARD                     DC     90010539547
6142BA98855973   ADAM         HERNANDEZ                    CA     90015540988
6143118565B271   SETH         REDMON                       KY     68067151856
6143172435416B   BRYAN        FERRELL                      OR     90007827243
61431A5293168B   SARA         ASHURST                      KS     90000720529
61432393A71969   GABRIEL      PEWITT                       CO     90012333930
61432934A57538   RACHEL       MARTOS                       NM     35503749340
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 312 of 2350


61432A26555973   CHARLES      CHEARY                       CA     90011460265
61432A72163646   SHEILA       CAMPBELL                     MO     90007750721
614347AA847821   JANIE        ROUNDTREE                    GA     90004117008
61434816A55973   TERESA       BOLLING                      CA     90014438160
6143493964B588   ADAM         IRWIN                        OK     90014619396
61434A64172B36   NARCISA      GARCIA                       CO     33013970641
6143518555B392   LAILO        FARAH                        OR     90013381855
6143572417B46B   PEDRO        NAVAJA                       NC     90014167241
61435A74731453   DESIRRA      MCFADDEN                     MO     90008960747
61435A97A5B235   OSCAR        BARRIOS                      KY     68018950970
61436371A4B588   ALICIA       CAMPBELL                     OK     90010633710
61436A2118B161   STEPHEN      SWANSON                      UT     90004390211
614373AA331453   ASHELY       BARSH                        MO     90006983003
6143878283168B   JUSTIN       BROOKS                       KS     90009897828
61438A46472B27   LATASHA      DAVIS                        CO     90013960464
6143954955416B   LOLA         BATEMAN                      OR     90010715495
614398A395B531   ARMANDO      QUINTANILLA                  NM     90013938039
61439A9595B392   WILLIAM      BEALL                        OR     44505480959
6143B271763646   HEATHER      SPINELLI                     MO     90013532717
6143B28948B356   DAVID        LIGGINS                      SC     90015272894
6143B41364B588   JESSIE       RAMIREZ                      OK     90007054136
6143B47AA47996   JAIME        GIVENS                       AR     25013454700
6143B71865B235   AUSTIN       BELL                         KY     90014447186
6143B87154B27B   JESSICA      BRUCE                        NE     90014818715
6143B883572B43   DALIENE      SPENCER                      CO     33049018835
6144119AA81651   JOSE         HUERTA                       MO     29044101900
6144125595B392   KENDRA       JOHNNY                       OR     90013582559
6144146925416B   MICHELLE     HANNERS                      OR     90014034692
614419A5A4B27B   WILLIAM      CURRAN                       NE     90012409050
61442256A61936   JOHANNA      CAMPOS                       CA     90007232560
6144262774B268   TRAY         HOLLINGSWORTH                NE     27003996277
6144262814B588   ROBERT       RODRIGUEZ                    OK     90012646281
61442A6258B168   REBECCA      SHEPHERD                     UT     31095260625
614438A2191522   ANGELICA     ISAC                         TX     90007488021
61443A4984B946   EDDIE        STEWART                      TX     90001370498
61444398457B92   JASMER       SINGH                        PA     90015083984
6144497248B168   STORMIE      CHAVEZ                       UT     90014719724
6144525265B271   DAVID        HOLLINS                      KY     68062552526
61445399572B27   MANUELA      VASQUEZ                      CO     90014153995
61445442698B22   JASMINE      MOORER                       NC     90007254426
61445A44184372   EVETTE       PHILLIPS                     SC     14592120441
6144612A855973   WIGGO        BROWN                        CA     48092511208
61446825A8B168   SKY          SANDOVAL                     UT     31014568250
61446A7985416B   ANDRADE      GARCIA                       OR     90010040798
6144714638B168   KRISTINA     RODRIGUEZ                    UT     90013851463
6144739833B365   RUBY         ESPINO                       CO     90009303983
614476A9457538   RIOS         NATIVIDAD                    NM     35598896094
6144778957B46B   LILIANA      HERNANDEZ                    NC     90014167895
6144793694B588   HOLIE        YARBROUGH                    OK     90014769369
61447AA1372B29   TISH         ROMERO                       CO     33059470013
61448362698B22   DONELL       TAYLOR                       NC     11084443626
61448817A8166B   ISHAUN       WILLIAMS                     MO     90008968170
6144882A341221   JASON        RENDA                        PA     90009708203
6144897385B235   DANIELLE     BASS                         KY     90001689738
6144916A376B57   JIM          GALLEGOS                     CA     46016191603
61449243472B29   SHANNA       WEST                         CO     90006862434
61449589A63646   MISTY        MCGEE                        MO     90012995890
6144962A472B36   EDITH        OGBONNA                      CO     33044086204
6144979447B46B   JOSE         DOROTEO                      NC     90014167944
61449A4A87B462   SABTIS       AVELAR                       NC     90005850408
6144B511A5416B   DAVID        BRAINARD                     OR     90014865110
6144B638261964   AIOTEST1     DONOTTOUCH                   CA     90015116382
6144B774557538   ROSA         NEVAREZDEARVIZU              NM     90000837745
6144B98265B392   HEATHER      DIAZ                         OR     90014869826
614511A6233698   STEPHANIE    PORTER                       NC     12089241062
614512A165B235   ANTHONY      SENIOR                       KY     90013702016
61451338A91525   RAMON        CANO                         TX     75094883380
6145175A27B46B   TIMOTHY      ALLEN                        NC     11002417502
6145187178B168   BRANDY       DAVES                        UT     90008498717
614518A4471921   RICARDO      REID                         CO     32024208044
61452231972B27   NATHAN       ELMY                         CO     33087472319
6145252122B27B   TORTISHA     HOLLAND                      DC     90014175212
614525A9363646   ASHLEY       GRILLS                       MO     90013115093
614528A597B46B   LORENA       HERNANDEZ                    NC     90014168059
61453534987B31   MERCEDES     BARRERA                      AR     28053245349
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 313 of 2350


6145429347B46B   RITCHIE      CUTHBERTSON                  NC     90010992934
61454A78655975   RAMIREZ      EDUARDO                      CA     48075340786
6145539428166B   CHRISTINA    FINN                         MO     90003703942
6145557345B392   DAMEKA       COLBERT                      OR     44556205734
6145557865B235   HECTOR       ROSAS                        KY     90013105786
61455646A8B168   JOHN         REDFORD                      UT     31046886460
61455793A47821   SHAMIR       TERRY                        GA     90009327930
61456548472B29   MICAH        KNOX ELAZIER                 CO     90013865484
61456796A84392   SHANITA      VERDEJO                      SC     90002607960
61457492687B31   MISTY        COLBURN                      AR     28021504926
61457861A51354   JOSE         CARRILLO                     OH     90009788610
61457928A72B43   VERONICA     URBINA                       CO     33054489280
61457A6477B46B   MAJOR        MATTOCKS                     NC     11078700647
61458288A72B27   ADAM         ELY                          CO     90009902880
6145869A572B36   SANDRA       ANN-BANUELOS                 CO     90010566905
61459269272B29   ANABEL       CELIO                        CO     90013052692
614593AA34B27B   DIANNE       MALY                         NE     27054003003
61459496A5B392   BILAL        RAHMAN                       OR     90013944960
6145963438166B   TATIANA      ROSEBURROW                   MO     90015006343
61459A3A672B43   JULISSA      CASTELLANOS                  CO     90015010306
6145B358163646   APRIL        MCCLAIN                      MO     27567743581
6145B57932B27B   DAVINA       MICKOY                       DC     81030515793
6145B697472B43   SYLVIA       NORIEGA                      CO     90015186974
6145B77545B235   CLINT        SETTLES                      KY     90006147754
6145BA2A25B921   NICOLE       GARNER                       WA     90014570202
614613AA34B27B   DIANNE       MALY                         NE     27054003003
614614A2855975   MARTHA       SANCHEZ                      CA     48090324028
6146168A485939   AMY          HILL                         KY     90002916804
61461A7945B235   JAMES        DAVIS                        KY     90012380794
6146222338B168   AMANDA       GROVE                        UT     90001902233
6146236692B27B   AMANUEL      WOLDMICHAEL                  DC     90014913669
6146243157B46B   ESTEFANIA    VENTURA ARRAZOLA             NC     90009374315
61462A5694B588   BRENDEN      MCCNANA                      OK     90015120569
614637A884B221   TANISHA      CARTER                       NE     27061707088
6146398627B338   ASHLEY       ISAAC                        VA     90008009862
6146455464B268   GARY         MILLER                       NE     27005245546
61464A47A5B392   TAMI         FIDLER                       OR     90005730470
61464A93991525   FRANCISCA    SANCHEZ                      TX     90008300939
6146513924B588   VERONICA     CASAS DE HERRERA             OK     90013891392
6146598A357538   ANGEL        GARCIA                       NM     90014009803
61466432172B36   TASHEENA     EVANS                        CO     90012864321
6146711747B46B   JAMES        COLEMAN                      NC     11088481174
614671A7855975   ERICA        PEREZ                        CA     90013671078
61467935272B36   MELODY       POITRA                       CO     90002139352
6146796824B588   TINA         YANG                         OK     90015139682
61468477A61961   JAIME        VALENCIA                     CA     46064334770
61468A43A91894   RAVEN        CLARK                        OK     90014270430
61468A44172B43   SARA         HAYWOOD                      CO     33088250441
61468A8637B46B   CURTIS       SMITH                        NC     90008370863
61469A26885948   CHELSEA      BUSH                         KY     90012360268
6146B415172B29   DELLA        BAXTER                       CO     33011424151
6146B45565B392   JULIO        HERNANDEZ                    OR     90013944556
6147276934B27B   ALISHA       VANDENBOSCH                  NE     90013617693
6147289598166B   LENNY        ESQUIVEL                     MO     29036418959
6147291A85B271   MONTA        SIMS                         KY     68089599108
6147298A55B392   DAMIEN       JEFFERSON                    OR     90004169805
6147352815B392   ISTAR        ABU                          OR     90013045281
6147389247B46B   DAFANIE      ALLEYNE                      NC     90014168924
614741A6457B78   SABRINA      CHAPLAIN                     PA     90015401064
61474544872B43   KATHY        ROGERS                       CO     33031775448
61475637887B31   RICKY        WEST                         AR     28085416378
6147565A761936   FRANCES      LOPEZ                        CA     90011366507
6147648688B168   CARRIE       WHITBY                       UT     31071594868
6147649AA3B125   BOBBY        HERBERT                      DC     90008854900
6147692118B169   DIANE        JEFFS                        UT     31079739211
61476A88372B43   ANDREA       GIRON                        CO     33083980883
6147756875B392   NATHAN       CUZZETTO                     OR     90014005687
6147831498166B   RUSSELL      DAVIS                        MO     29039353149
614786A4861936   WASH         LAUANA                       CA     46060346048
6147876287B46B   MARIA        CRUZ                         NC     90014177628
6147882865B271   STANLEY      BULEY                        KY     90001848286
61479177572B43   ELLA         PACE                         CO     90012651775
6147923A972B29   MARIA        CARMEN-ROSALES               CO     33015682309
6147B174272B27   JOSE         TORRES                       CO     33058051742
6147B37AA55973   DAVID        LOZANO                       CA     48096363700
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 314 of 2350


6148131163168B   JESSICA       LAWYER                      KS     90009763116
6148153845B531   BELINDA       AVILA                       NM     90014405384
614815A4177563   CHELLEY       DULGAR                      NV     43023055041
614821A3472B43   SHAKAILA      PROULX                      CO     90012811034
614821A5A87B31   SAMUEL        WILLIAMS                    AR     90010951050
6148283A233698   WESLEY        SCOTT                       NC     90009758302
61482A81A4B544   NICOLE        JONES                       OK     90008090810
6148351925B392   TIM           OMTA                        OR     90013945192
6148436795B392   ANDERBERHAN   TEKLEHAIMANOT               OR     90002963679
61485738787B31   MIKE          BREWER                      AR     28038027387
6148587695B271   LORIE         MALONE                      KY     68038418769
61485923A3168B   SHAWNA        WEBB                        KS     90014709230
6148646722B27B   LORRIE        SILVER                      DC     90014184672
614864A6871921   RAYE          CHRISTINA                   CO     32044584068
61486A9678166B   CHARLNAE      SPEARMAN                    MO     90007380967
6148738A487B31   CLINT         POINDEXTER                  AR     90013933804
61487AAA872B27   K.K.          MILLER                      CO     33072640008
61488481672B43   MICHELLE      MOORE                       CO     33099544816
614886A8961964   JAMES         CASTRO                      CA     90013516089
6148875A561936   LUPE          VALENCIA                    CA     90007927505
6148958A231453   TAMARA        TIDWELL                     MO     90015255802
6148974988B168   CURTIS        ENZ                         UT     90004117498
6148B22123168B   KEVIN         BOWEN                       KS     22005932212
6148B79725B531   RAYMOND       PENA                        NM     90013037972
6148B96A972B43   JOHANA        ARZOLA                      CO     33091169609
6148B9A614B268   MARIA         DEL ROSARIO                 NE     27055369061
614914AA331453   JESSICA       TYLER                       MO     90015284003
6149169959372B   REBECCA       JOHNSON                     OH     90003506995
6149193AA4B588   JACOBI        EATON                       OK     90007569300
61491A56A5B531   BRANDON       DURAN                       NM     90006450560
61491A9872B224   LEMAR         KINNARD                     DC     90014580987
6149224554B588   SHOLONDA      SMITH                       OK     21554982455
61492431A5B235   LATOSHIA      D                           KY     90012994310
6149292A661936   MANUEL        MEDIA                       CA     90012859206
614938A868B168   GAIL          FORTE                       UT     31085318086
61493993A87B31   KAYLA         JONES                       AR     90014329930
6149477155B271   ERIN          COX                         KY     68033677715
6149485315416B   LORRAINE      REICH                       OR     47020958531
6149574375B392   CHRISTINE     LAYTON                      OR     90006117437
61495777A5B531   GRACIELA      BOJORQUEZ                   NM     90011197770
6149597A891975   VINCENT       DOMINGUEZ                   NC     90008879708
61495A8484B54B   JASON         VICK                        OK     90011670848
61495AA1851354   TEENYA        HUFFMAN                     OH     90009010018
6149655968B168   KANA          BIDDLE                      UT     31052725596
6149713338B168   ISAAC         RICH                        UT     31053781333
61497678372B36   SHERINA       DETREVILLE                  CO     90012226783
6149827924B581   TERRIS        MILLER                      OK     90014482792
614983A625B531   SALLY         ROJAS                       NM     36009363062
6149856365416B   BEN           OLSON                       OR     47073885636
6149912328B168   ROBERT        BRIGHT                      UT     90004551232
61499334987B31   CHRIS         MAYS                        AR     90013263349
6149939165416B   CHANTEL       MATTIN                      OR     90009643916
614993A7972B27   DANIELLE      DUNCAN                      CO     90004203079
6149944A951354   MATHEW        MALATT                      OH     66011174409
6149954765B392   TINA          FLORES                      OR     90013945476
61499762A76B58   CARLOS        RAMIREZ                     CA     46040537620
61499A79372B43   INDYA         HENDERSON                   CO     90015300793
6149B461555973   ANESSIA       CALVO                       CA     48060654615
6149B494572B27   AMY           FISHBAUGH                   CO     33091684945
6149B824255975   MINERVA       LOPEZ                       CA     90006188242
614B162173168B   CHANTAL       RICHARD                     KS     90014706217
614B1AAA972B43   JEREMY        BERG                        CO     90010950009
614B2165656787   TORY          HOLOBAUGH                   OH     90015381656
614B2276957538   LEO           GONZALES                    NM     35556822769
614B345565B392   JULIO         HERNANDEZ                   OR     90013944556
614B34A2572B29   ALYSSA        BURKHART                    CO     90013774025
614B3512A84392   QUINDELLA     GREEN                       SC     90014355120
614B35AA672B27   RORY          MARKGRAF                    CO     90003125006
614B36A838B168   APRIL         SPRUILL                     UT     90006286083
614B4333272B43   NATHAN        HAINES                      CO     90014613332
614B43A3872B29   COURTNEY      HAYNES                      CO     33027023038
614B4589471921   MICHAEL       SINSABAUGH                  CO     90009185894
614B473445B235   SANDRA        GASGA                       KY     68063577344
614B486A45B392   DESMOND       WASHINGTON                  OR     90014838604
614B5293172B29   HAROLD        ORTIZ                       CO     90010772931
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 315 of 2350


614B5367591894   HUGOLINDO      BRAVO MORALES              OK     90011673675
614B617A88166B   ERIK           WADE                       MO     90013121708
614B6764A72B27   SHERWOOD       GORDON                     CO     90015467640
614B6A1A155975   RACHEL         FACIO                      CA     90013420101
614B6A32761964   VIOLETA        ATAXCZA                    CA     90009840327
614B729148B168   SHANNON        SOLONON                    UT     90004502914
614B731326155B   ASHLEY         FERGUSON                   TN     90015373132
614B73A5672482   LISA           MOAN                       PA     51087843056
614B774447B46B   MICHEAL        HALL                       NC     90014177444
614B815255B235   ROBERT         SANDERS                    KY     90015181525
614B8A96A71921   NANCY          FLORES                     CO     90013610960
614B92A3951322   EBONY          WATKINS                    OH     90001702039
614B9364751322   EBONI          WATKINS                    OH     90013043647
614B94A4761936   PATRICIA       OSBORNE                    CA     90014564047
614B956854B268   KATHY          MILLER                     NE     27009015685
614B9758484322   KIMBERLY       SWEENEY                    SC     90011217584
614BB562791522   LUIS           BURGOS                     TX     75088665627
614BB638261964   AIOTEST1       DONOTTOUCH                 CA     90015116382
614BB77555B235   DETWAN         BINGHAM                    KY     90001027755
6151115855B357   NEIL           YOUNG                      OR     90013451585
6151144765B368   HIRAM          LIZARRAGA                  OR     44537844476
6151177A225236   CHRISTAL       BOBBITT                    NC     90006037702
6151256A94B543   CHRISTOPHER    GIANETTINO                 OK     90004325609
6151315983B125   PERNELL        SUMLIN                     DC     90010561598
6151351495B392   STEPHEN        LEAVENWORTH                OR     90014295149
615136A552B27B   LUIS           VASQUEZ                    VA     90014186055
61513A4A561964   CRISTINA       TAVARES                    CA     90012960405
61514246172B43   ANNETTE        QUINTANA                   CO     33042752461
6151429435B392   ZACHARY        ADAMS                      OR     90012722943
61514515972B27   ROSA           GAYTAN-DE SALAS            CO     33079545159
6151482287B46B   YOLANDA        HOWARD                     NC     90002868228
61514857498B22   SHAMIKA        WILLIAMS                   NC     90001568574
615148A6861936   SERGIO         CELAYA                     CA     90009408068
615166A2891894   AMY            TRUAX                      OK     90014166028
61517444A5B392   LISA           DZIB                       OR     90014894440
6151773537B46B   LISA           ANN                        NC     11011867353
6151817362B238   VANESSA        ELLIS                      DC     81017011736
61518346272B43   TERESA         HERRRERA DIAZ              CO     90013053462
6151982627194B   SAMUAL         GREIGO                     CO     90004998262
6151988A733698   JOHN           HOGAN                      NC     90002178807
6151B86115B392   CURTIS         BROWN III                  OR     44556998611
6151BA6863168B   KEVIN          JONES                      KS     90014730686
6152145725B235   RENATA         CHURCHILL                  KY     90014864572
6152168883168B   ALBERTA        HUERTA                     KS     90002626888
61521A35791894   OSCAR          DELGADO                    OK     90011680357
615226A9891894   JAMIE          GRAMBLIN                   OK     90014166098
6152378333168B   BENSON         KATHLEEN                   KS     90006277833
6152477447B46B   MAILA          LOPEZ                      NC     90014177744
61524815172B43   MARIA          SOLODAD RAZO               CO     33017908151
6152488A58166B   ROBERTA        LOPEZ                      MO     90012208805
615258A754B293   MICHAEL        SCARPINO                   NE     27010738075
61525A54761936   MARIA          BAUTISTA                   CA     90011740547
6152613175416B   KIMBERLY       MCDANIEL                   OR     47068201317
6152688714B27B   ANDREW         COLBURN                    NE     90012208871
615275A618B169   RAFAEL         VALENZUELA                 UT     31022695061
61527A55155973   LISA           MARTINDALE                 CA     48092430551
615281A8171921   ANDREA         LUTHER                     CO     90008541081
6152824988166B   MELILVETH      NOVOA                      MO     90010642498
61529247A2B27B   JOSE EDUARDO   PEREIRA                    DC     90007312470
615294A6772B43   HALEY          CHESTNUT                   CO     90013084067
615298A183168B   SENAIDA        RETANA                     KS     90014718018
6152B225684392   JACOB          DOZIER                     SC     90008522256
6152B955691975   TERESA         MILAN                      NC     90009149556
6153121A63168B   ADAM           RICE                       KS     22093752106
6153145217B46B   DEREK          RAIFORD                    NC     90012524521
6153147495B235   TERESA         CRAWFORD                   KY     90010554749
61531835272B29   ANIQUE         HUNTER                     CO     90015398352
6153212A184392   YAVOR          ANTONOV                    SC     19007711201
61532441372B27   PRISCA         LEARMANN                   CO     33017114413
615328A157B46B   GABRIELA       TORRESPERZ                 NC     90014178015
6153313A95B392   DAVID          RODRIGUEZ                  OR     90013191309
6153323994B268   DOUG           HOULT                      NE     27083152399
6153363A491894   HAYLEY         BOLTON                     OK     90014166304
61534551A61964   KAREN          JIMENEZ                    CA     46037875510
6153456324B27B   DEAN           PUTNAM                     IA     90009325632
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 316 of 2350


6153474675416B   FREDRICK LEONARD   ALLINSON               OR     90014897467
6153572A65B235   EDWIN              MALDONADO              KY     90001867206
6153577494B588   TAMEEKA            GRAYSON                OK     90011337749
6153596A861936   FRANCHESCO         SALGADO                CA     90012859608
61535A8A972B36   MARIA              PONCE                  CO     33006800809
61536A4358B168   BARBARA            CLARK                  UT     90005070435
61537773272B29   NANCY              ARAGON                 CO     90006567732
6153881345B921   ARIEL              GARCIA                 ID     90001348134
61538873772B29   ROSA               TORRES                 CO     90006358737
6153894665B235   KIMBERLY           WESLEY                 KY     90010869466
6153896132B27B   SHAQUATA           MOBLEY                 DC     90014199613
61538A59185948   STACY              DONOVAN                KY     90011350591
61539A29893721   THOMAS             JACOBS                 OH     90012080298
61539A4625416B   JOHN               GARRETT                OR     90015240462
6153B68742B27B   DAVID              WILLIANS               DC     90008836874
6153B865247821   SHARON             SWINFORD               GA     14089208652
6154194A291894   CHRISTOPHER        FERNANDEZ              OK     90014779402
6154198312B27B   SHATRINA           FREEMAN                DC     90014199831
61542168472B29   LETISHA            GURULE                 CO     90013271684
6154219A251354   ROBERT             GILMOREA               OH     90014381902
61542462472B36   JASMINE            AUSTIN                 CO     90014874624
61542544A5B531   MARIELA            RUIZ                   NM     90015225440
61542837A5B392   JANTE              HAMPTON                OR     90014088370
61542883972B66   SAUL               ANDERSON               CO     90011428839
615433A8791894   RANDY              GRAVES                 OK     90013483087
6154448335B531   JOEL               ARMENDAREZ             NM     36068764833
61544497A4B588   BRANDY             HOWARD                 OK     90014834970
6154478485B392   PATRICIA           INGRAM                 OR     90013457848
61544A9355416B   JOSEPHINE          JARED                  OR     47010250935
615455A3184392   PATRICIA           LOPEZ                  SC     19049065031
6154583695B392   CHAD               RUSSELL                OR     90014158369
61545877A71921   STEVEN             GARCIA                 CO     90013098770
6154652845B235   ABDULLAHI          SABRIYE                KY     90012595284
6154689528B168   JOHNNY             PALACIOS               UT     90011538952
61547328872B36   I. LETICIA         BARAJAS A.             CO     33043543288
6154762898B17B   ERIENNE            PECK                   UT     90003076289
6154776245416B   JANIS              PARKER                 OR     90005177624
6154817A184392   KIESHA             WITTRELL               SC     90011151701
6154942114B588   YOLANDA            FOY                    OK     90014024211
6154998328B169   CARMINIA           CASTILLO               UT     90013889832
6154B294872B36   KYLE               SIGNS                  CO     33098682948
6154B434255977   DIANA              HUBBLE                 CA     90013744342
6154BA55572B29   JEROME             SANCHEZ                CO     90012320555
615516A784B588   JOHN               CHEADLE                OK     90014236078
6155184127B46B   JONATHAN           REMIGIO                NC     90014178412
61551A3744B27B   RIKI               VINCENT                IA     90015560374
61552314772B29   ISRAEL             HEREDIA                CO     33017933147
61552371172B36   MARIA              COTA                   CO     90004523711
6155253185B235   JAMAR              LOWERY                 KY     90012895318
61552A2AA5B392   WAYNE              BUNKER                 OR     90014540200
61553532672B29   SANTINO            SANTOVENA              CO     90006645326
6155382477B46B   LUIS               ARIAS                  NC     90014178247
61553AA1361936   VENESSA            GONZALES               CA     46092070013
6155431154127B   JESSICA            MAZON                  PA     51012223115
615543AA261964   JOHN               CESENA                 CA     90010993002
61554932672B43   JOSE               VAZQUEZ                CO     90014949326
61555163172B43   SHIRLEY            HEWITT                 CO     33054561631
6155532925416B   ROBERT             MENDONICA              OR     90008523292
615559A4391894   CLAYTON            COLEMAN                OK     90010629043
6155617664B268   JASMINE            NEWTE                  NE     27035161766
6155632613168B   KAYLEE             TRUE                   CO     22039123261
6155733168B168   SUSAN              KOEHNE                 UT     31018543316
6155743A687B31   GAVIN              PERKINS                AR     28015464306
61557576A8166B   AMANDA             BOGACZ                 MO     90009215760
6155762995B531   KELLY              PATNODE                NM     90013476299
6155787A731453   BOB                YOUNG                  MO     90012518707
6155869A87B46B   EZEQUIEL           ESPINAL                NC     11076506908
61558794A5B392   LESLEY             CLARK                  OR     90009577940
6155B27A75B531   HENRY              ESCOBAR                NM     90012382707
615611A1972B36   LUIS               CRUZ                   CO     33029191019
6156154195B271   NICHOLE            HINER                  KY     90002845419
615621A7772B29   LINDA              LUTZ                   CO     90007381077
6156232668B17B   RAMON              MARTINEZ               UT     31001423266
615624A2491894   JOSHUA             WILLIAMS               OK     90002374024
6156273695B235   DEBRA              WOODS                  KY     68065927369
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 317 of 2350


6156298528B17B   GRISELDA     LOPEZ                        UT     90013619852
61563289272B29   FERNANDO     VALENZUELA-MEDINA            CO     90009172892
6156374725B235   ROBBINS      FAMILY                       KY     90010907472
61563891598B22   DIANE        CROWE                        NC     90007278915
61563A15597125   DAVID        CURTIS                       OR     90009550155
61563A22963646   ROBERT       VOLLMER                      MO     90009040229
6156533A45B235   AMANDA       BASHAM                       KY     90013023304
61565376A57538   TIMMY        HERNANDEZ                    NM     35544483760
6156548258B168   MARLON       NORTON                       UT     31042034825
61565A61333698   GARRETT      SHEPARD                      NC     12086470613
61566152287B31   ERIC ALAN    BARNES                       AR     90014621522
6156633945416B   JENNIED      SHARON                       OR     90009363394
6156659124B268   JEREMY       WIEDEL                       NE     90003955912
61566AA8171921   JOHN         WARREN                       CO     32051490081
61567211472B36   LORI         MONTOYA                      CO     33075912114
615673AA661881   ANTHONY      FERNANDEZ                    IL     90015493006
61567649A57432   LUIS         DIAZ                         IN     90014496490
61567A11661964   AGREDA       PENA                         CA     90012410116
61568438A63646   PHILLIP      MACKEY                       MO     27575544380
615686A447B46B   RACHEL       BYERS                        NC     90013746044
615693A9361936   NORMA        SALAZAR                      CA     46027543093
61569629787B31   ARACELI      SALAZAR                      AR     90014916297
615698A1957432   VERONICA     NOLASCO                      IN     90013088019
6156B17A72B27B   ANTHONY      JAMES                        DC     90013501707
6156B333172B43   GREGORY      WALENTINE                    CO     33048303331
6156B828755973   AGUSTINE     ESPINO                       CA     90012778287
6156B98254B27B   CHRISTINA    THROWER                      NE     27041179825
6157229565B531   ANNA         MORALES                      NM     90013462956
6157254365416B   TERESA       WEBB                         OR     47088855436
61573533972B36   SELINA       MUBILI                       CO     90007375339
6157377914B532   ERNESTO      TRUJILLO                     OK     90001767791
6157381A951354   LEONEL       SALES                        OH     90014058109
6157398775B235   CHARLES      SCOTT                        KY     90014569877
61573A1697B392   AGUSTIN      SOTERO                       VA     90011510169
6157562783168B   NICOLE       CROW                         KS     90013866278
61575A4424B27B   SERGIO       ORTIZ-PINEDO                 NE     90006640442
61577456A8166B   TYNISA       DENNIS                       MO     90015304560
6157774223B365   PETER        DATTILO                      CO     90006857422
61578919172B27   DAVID        COLE                         CO     33058279191
6157935645B235   KIMBERLY     HERDT                        KY     90004223564
6157997522B248   KENNETH      HOLMES                       DC     90012759752
61579979572B36   SUZANNE      OATES                        CO     33046189795
6157B8A815416B   RICHARD      DIFFIN                       OR     47083368081
615812A2672B43   OFELIA       CHAVEZ                       CO     33016662026
615816A5955975   GERARDO      MADRID                       CA     90008966059
615819A6A7B46B   CALISTRA     FLORES                       NC     90014179060
61581A3A94B547   BREAVESS     MCBRIDE                      OK     90000280309
61581AA5A61936   ERNEST       BULLS                        CA     90012860050
61582273A61936   CHELSEA      STOCK                        CA     90015462730
6158315645B531   MONICA       TARANGO                      NM     90014261564
6158316374B268   JESSE        HANSEN                       NE     90011481637
6158417748166B   MICHELLE     HOPPER                       MO     90015041774
61586352A5B531   GABRIELA     PONCE                        NM     90014173520
61586435A97B56   CARL         HUGHES                       CO     90007684350
6158828188B168   STACEY       CANNON                       UT     90008082818
61588531898B22   SHAY         MAYFIELD                     NC     90008095318
61588A17261936   ALEXANDER    MATUSAK                      CA     90012860172
6158968AA55975   JULIAN       MARTINEZ                     CA     90013826800
61589A7762B27B   JOSE         RAMIEREZ                     DC     90014780776
6158B18445B235   MARSHAN      FRANKLIN                     KY     90007191844
6158B864831453   MARCO        LOMAT                        MO     90012268648
6158B96843168B   JULIA        KISELEVA                     KS     90014719684
6158BA86841272   LANEDA       DEVAUGHN                     PA     51057130868
6158BAA574B588   DULCE        MARTINEZ                     OK     90007570057
61591331372B36   SUSIE        SEGO                         CO     90010233313
6159185455B392   CESAR        RANGEL                       OR     90011218545
61591862587B31   TAVELLA      CASH                         AR     90011448625
61591A2255B271   CONSTANCE    MOUANDA                      KY     68073600225
61591A3498B168   JASON        YEITER                       UT     90008720349
6159263514B588   ANDREA       BURKLEY                      OK     90014846351
6159265AA91522   FRANCISCA    HERNANDEZ                    TX     75043206500
61593174A61964   JOSEPH       SMITH                        CA     46051161740
61594885A57538   FEDERICO     VACIO                        NM     90011708850
61595198A5416B   SUSAN        HASSETT                      OR     47060551980
61595596272B29   VIRGINIA     MILLAN ESTRADA               CO     90009575962
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 318 of 2350


6159595145B531   MANUELA          MARQUEZ RICO             NM     36013089514
61596163557B92   MARIAH           MOORE                    PA     90014581635
615966A484B27B   GREGORY W        GURNICZ                  NE     90015076048
6159714A591522   MICAELA          MOTTU                    TX     75027981405
6159755A697125   DAVID            ARNETT                   OR     90007105506
6159854A261964   WARREN           COLLIER                  CA     46052455402
61598573A63646   JEREMY           RODRIGUEZ                MO     27513525730
6159871864B588   KATIE            NOLAND                   OK     90000457186
61598722A91894   ASHLEY           PRICE                    OK     90003497220
615993A6672B27   CORIE            CASHMAN                  CO     90002953066
6159B165791894   AMIE             DYER                     OK     90013421657
6159B4A485B235   KEN              BONER                    KY     90007844048
6159B52A18B168   SUZANNE          SPEIRS                   UT     90010255201
6159B61865B392   SUSAN            SPENCE                   OR     44509666186
6159B949798B22   ALBERTO          PABON                    NC     90007179497
615B1A7374B588   ROBERT           HEINKEN                  OK     21561150737
615B365AA72B43   LAURA            IBARRA                   CO     90010246500
615B389974B588   MARSHANE         REED                     OK     90008078997
615B394A861936   CESAR            RESENDEZ                 CA     90012859408
615B3A9824B27B   MARIA            RODRIGUEZ                NE     90009510982
615B4217A5B235   SHERMAN          WILSON                   KY     90014932170
615B42A4863646   TERESA           LEWIS-HUTSON             MO     90014482048
615B4312A61964   JESUS            GUTIERREZ                CA     90009563120
615B456174B292   JAMES            GROSS                    NE     27060795617
615B46A244B588   ROBERT           HARRSTON                 OK     90012866024
615B489515B392   JULIO            TAPIA                    OR     90013588951
615B48A6871921   ELICIA           SALAZAR                  CO     90011848068
615B4A15A98B22   ALISA            BLACK                    NC     11012350150
615B5513661936   SERGIO           ARISTA                   CA     46020595136
615B5549661964   VALERIE          SEVILLA                  CA     90014075496
615B586995416B   MEGAN            MARTIN                   OR     47005038699
615B6154A33698   ANA              KEIDY                    NC     90009981540
615B647223168B   ROBERT L         ROBINSON JR              KS     22005224722
615B7382257538   ROBERTA          GILLETTE                 NM     35570693822
615B8284A51354   MARA             GARCIA                   KY     90010782840
615B874748B168   JAVIER           MARTINEZ                 UT     90009217474
615B915A65B271   MICHELLE         BOWMAN                   KY     68000361506
615B9496A72449   MATTHEW          PETERS                   PA     51044964960
615BB235374B7B   ALAN             CRAIG                    OH     90013822353
615BB32338B138   AMBER            EEN                      UT     90001773233
616115A242B27B   DASHAWN          RUSSELL                  DC     90010305024
6161163894B57B   CHRYSTAL         JUSTICE                  OK     90007686389
6161195512B27B   CARLED           WHITE                    DC     90012849551
6161236915416B   ROBERT           LEE                      OR     90014523691
6161251A64B588   VIRGINIA         JONES                    OK     90014885106
6161274255B271   ERICK            BARKER                   KY     68036297425
61612A67685689   YTSOREINA        GUERRO                   NJ     90009620676
61613322672B43   MARIEL           CABALLERO                CO     33016973226
61613945A72B36   CATELYN          FLIEDER                  CO     90011349450
616143A2A61936   JADE             VIVIANA                  CA     90007243020
616144A4355975   STEVE            GUTIERREZ                CA     90012674043
61614A2633168B   NIKKI            PERKINS                  KS     90014720263
6161532385416B   CASSANDRA        MILLER                   OR     90013053238
6161538365B392   AHMAD            STEVENS                  OR     90008453836
6161568315416B   CASSANDRA        MILLER                   OR     47015616831
61615A2873168B   STEPHANIE        MOREN                    KS     90014720287
6161619A176B57   ROSA             MUNOS                    CA     46002381901
61617269A91395   COLBY LORENTO    SHOATE                   KS     90007582690
61617617672B43   CHRISTINE        PRANGE                   CO     90012846176
61617786572B36   JOAN             HACKBIRTH                CO     90014427865
616183A335416B   JEREMY           KING                     OR     47000523033
616189A5291834   YASMIN           TREVIZO                  OK     90008019052
61618A2535B235   MONIQUE          THOMAS                   KY     68016250253
61618A44287B31   SHERRI           RYAN                     AR     28061080442
6161947A24B588   LINCOLN          KOSA                     OK     90014754702
6161997A131476   PRINCESS GREEN   ALLRED                   MO     90002869701
61621372A33692   ENRIQUE          ZETINA GUILLEN           NC     90013553720
61621479172B43   TRAVIS           MILLER                   CO     33004544791
6162212945B392   JAHNELLE         SMITH                    OR     90014741294
616223AA491894   LISA             PEARCE                   OK     90015103004
6162293857B46B   MARIE            CONTO                    NC     90014179385
6162316A163646   TRAVIS           WILKINS                  MO     90010191601
6162318328B168   ADAMS            HASTINGS                 UT     90011091832
6162326854B268   LORA             BUSH                     NE     90005062685
61623421372B43   JOSE             SANCHEZ                  CO     33044274213
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 319 of 2350


6162358645B392   TROY         HAKALA                       OR     90012605864
6162431888166B   CRYSTAL      MCGEE                        MO     90010943188
6162461738B168   CESAR        ONTON                        UT     90013276173
616247AA85B235   KIM          WARLEY                       KY     90013607008
61625A2873168B   STEPHANIE    MOREN                        KS     90014720287
6162685A75B531   JULIE        OMERO                        NM     90014538507
61627217A61964   ASTRID       VILLAVICENCIO                CA     90006442170
61627622A2B23B   GLORIA       THURSTON                     DC     81035526220
6162775675B235   MIKE         WISON                        KY     90011437567
616281A8971921   NATHANIEL    BENSON                       CO     90013611089
61628382287B31   BRITTANY     BATSON                       AR     90013323822
6162879593168B   BART         DUNCAN                       KS     22075867959
61629219472B29   ROMEL        GREER                        CO     90013872194
616292A7871921   LUZ          QUITERIO                     CO     32013942078
61629721A4B588   RICKY        JAMES                        OK     21589187210
6162993675B392   KIM          SANBORN                      OR     44586729367
6162994627B46B   VERNISHIA    HOOVER                       NC     90014179462
6162B4A8291894   LAURA        BOST                         OK     90011684082
6162B658A76B57   ANTONIO      APARICIO                     CA     46016556580
6162B695233698   TIFFANY      JOHNSON                      NC     90008556952
6162B855672B36   HUBERT       RAYBAL                       CO     33038298556
6162B89A361936   GUILLERMO    ROMO                         CA     90013778903
616313A8A71921   NATEKA       CONNORS                      CO     32025223080
616313AA771921   NATEKA       CONNORS                      CO     90013883007
6163169225416B   KRYSTAL      RUIALL                       OR     90008516922
61631887A5B921   PAC          PICARD                       WA     90015368870
6163261AA71921   LEONARD      ANDERSON                     CO     90006636100
6163269865B392   AUGUSTO      CASTILLO POOL                OR     90010036986
6163279134B588   KATHY        HUGHES                       OK     90010507913
6163336634B588   KARISSA      SMITH                        OK     90011363663
616333A1398B22   KANAN        HALL                         NC     90007283013
6163341325B235   DANDREA      HARRIS                       KY     68015714132
6163473747B46B   LAQUATTA     HERRON                       NC     90015297374
61635429A72482   DONNA        JACK                         PA     51067854290
61635632472B43   ERIK         GONZALEZ                     CO     90007566324
6163588124B588   DEBRA        SOSKE                        OK     21572978812
616362A815B392   EDDY         VIENGKHAMVILAY               OR     90007842081
6163651295B392   EDDY         VIENGKHAMVILAY               OR     90008885129
6163674773B365   FELIPE       CARRANZA                     CO     90002817477
6163679174B268   MERCEDES     RUELAS                       NE     27048727917
6163733795B392   JESUS        GUTIERREZ                    OR     44559923379
6163739A651354   WILLIE       HOSKINS                      OH     90004693906
6163781885B531   MARTHA A     VELARDE                      NM     90010218188
61638478672B29   NICHOLAS     MANGO                        CO     90012884786
61639436A8B185   NEAN         HAWE                         UT     90014524360
6163B32A931453   VIRGINIA     KING                         MO     90012173209
6163B6A6125236   EVELYN       MARTINEZ                     NC     17098436061
6163B721161964   YIN          LI                           CA     46067167211
6163B943972B27   MARIA        GALINDO                      CO     90009369439
616412A9798B22   CARTER       VIVI                         NC     11017042097
61641688872B43   NELIDA       BRUHN                        CO     33077096888
6164198537B46B   LANE         HOOVER                       NC     90014179853
61642449472B29   GUSTAVO      ORDAZ BACIO                  CO     90002184494
61642649987B31   TOMMY        GEORGE                       AR     90008326499
6164295154B268   ANDREA       HEARTER                      NE     90010529515
61642A53A3168B   JOSHUA       BROWN                        KS     90013840530
6164331834B588   ASHLEE       WOOD                         OK     90015303183
6164392655B392   ANDREA       WALKER                       OR     90011219265
6164394998B168   JONATHAN     TAYLER                       UT     31090749499
61644678172B29   MARTIN       MAYO                         CO     90001366781
6164496727B46B   MARIA        CAMACHO                      NC     90014179672
61644A1115B531   RAFAEL       ESCAMILLA MADRID             NM     36059650111
61645372A72B43   CAROLYN      EMMETT                       CO     90005953720
6164583128598B   SUNSERRIA    WATSON                       KY     67004028312
616465A675B531   HECTOR       SAENZPARDO                   NM     90014595067
616469A827B46B   MICHAEL      MCGILOL                      NC     90014189082
61646A5A44B588   DARLA        WILLIAMS                     OK     21577630504
6164753148166B   DOMINICK     JOHNSON                      MO     90013785314
6164755A25B531   DANIEL       ROMERO                       NM     90012725502
6164876A38166B   IVANUZA      JOHNSON                      KS     90014387603
6164934528B168   KATIE        BOYACK                       UT     90010393452
6164954655416B   CORY         HEIMARK                      OR     47014705465
6164997454B27B   PATRICK      ODIGBO                       NE     27010129745
6164B157755975   LUISA        ANDREWS                      CA     90012781577
6164B31938166B   DARLENE      BRENSON                      MO     90010943193
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 320 of 2350


6164B663491975   MALVIN        FUENTES                     NC     90014106634
6164B68A361964   SALWAN        YAQOOB                      CA     46052466803
6164B81925416B   INGRID        NETTLES                     OR     47067948192
6164B964972B27   MARIA         DEHERRERA                   CO     90012269649
6165123468166B   SARAH         FRITZ                       MO     90004412346
616512A772B352   FELIPPE       DALA                        CT     90013252077
6165147237736B   PEDRO         CHAN                        IL     90012574723
6165187677B46B   FELICIA       MAXWELL                     NC     11066938767
616526A7171921   BOBBIE        SCHULLER                    CO     32051366071
6165289A161964   AURORA        MEJIA                       CA     90011398901
61653163876B57   OSVALDO       LAZCANO                     CA     46016631638
616531A427B423   JOSE          GOMEZ                       NC     90011861042
6165331A25B531   JULIO         ESCARCEGA                   NM     90007653102
616537A328166B   MICHAEL       JONES                       MO     90015167032
61654482A91975   JASSMYN       SPINKS                      NC     90014724820
6165463A355975   GERARDO       MORENO                      CA     90012246303
61654653A5B235   ELAINE        GARRETT                     KY     90013316530
6165486878166B   RONA          HUTCHINSON                  MO     90010388687
6165614517B46B   RAUL          HERRERA                     NC     90011451451
61656866A5B235   ELMIRA        BERIDZI                     KY     68053108660
6165689328166B   MARIO         GALE                        MO     90003498932
61656AA6431453   KENT          CHINOWTH                    MO     90015160064
6165711AA3168B   JASON         SATTERFIELD                 KS     90014721100
6165715983B125   PERNELL       SUMLIN                      DC     90010561598
61657688172B27   FRED          BAKER                       CO     33036036881
616578A7861936   DAVID         ARNEZ                       CA     90015588078
61658494772B36   ANGELIA       ALKINS                      CO     90002464947
6165911674B588   CLIFFORD      LAWRENCE                    OK     90013371167
6165996862B27B   DANNA         MAYS                        DC     90013539686
6165BA3815B531   WESLEY        CHAVEZ                      NM     90015010381
6165BA7994B268   CINDY         COFFEY                      NE     90002610799
6166133128B168   JARED         BOOG                        UT     90006093312
6166162817B46B   DEON          SELBY                       NC     11000046281
6166173AA91894   ERLINDA       LOPEZ                       OK     90014167300
61661743A5416B   EBONY         BOWER                       OR     90012977430
61661AA9A63646   TINA          OSNESS                      MO     90009040090
61662315572B36   IRMA          NAGEL                       CO     33006303155
6166322A15B531   JOSE          GAMES GONZALEZ              NM     90004192201
6166339857B46B   ANGELA        HERDERSON                   NC     90011983985
6166344A55B392   JOSE          VILLARREAL                  OR     90008114405
616639A6741257   APRIL         CASERES                     PA     90008449067
61664991A7B46B   JONATHAN      FUENTES                     NC     90014179910
61664A31871921   TAMMY         PEREA                       CO     90012770318
6166542A18B168   GINA          MONTANO                     UT     90004604201
6166785485B235   STACY         FRENCH                      KY     68035108548
616678A264B27B   JORDAN        WILLIAMS                    NE     90015108026
616678A4231453   RODNEY        HUMPHREY                    MO     90015068042
6166792768166B   CHRISTOPHER   VALENTINE                   KS     90010279276
61668143672B36   CASSANDRA     ZAMORA                      CO     90008651436
6166889328166B   MARIO         GALE                        MO     90003498932
61669111A55973   DANIEL        CEBALLOS                    CA     90014351110
6166927948166B   YAI           LOUANGBORIBOWNE             KS     29018052794
6166935848B168   CHRISTMAS     BOLES                       UT     90012463584
61669435A97B56   CARL          HUGHES                      CO     90007684350
6166999525B235   JASON         HAMMERS                     KY     90011959952
61669A2A654128   HELEN         MOAK                        OR     47061450206
6166B535761964   JOSE          SANCHEZ                     CA     90010995357
6166B73265B271   JONOVA        ROSS                        KY     90007877326
6167297864798B   MARISEL       LOPEZ                       AR     24031609786
61672A45272B36   RAYMOND       WEBBER                      CO     90015130452
61672A93972B29   KIMBERLY      EDGERTON                    CO     90010940939
616736A264B588   ISIAH         HERNANDEZ                   OK     90012986026
6167382732B27B   VALERIE       ROYCE                       DC     90015138273
6167441755B531   STEPHANIE     PAYNE                       NM     90011534175
61674672A4B268   DONNA         OFFERMAN                    IA     27033646720
61674A76455975   ESTHER        MOISA                       CA     48027580764
6167595847B451   LEONE         WALKER                      SC     90004849584
6167663948B168   JACK          RAY                         UT     90011096394
61678154587B31   CAREY         COWELL                      AR     90004001545
6167817185B235   JOHNNETTA     BURLEY                      KY     90012861718
61679186A61936   SUZANNE       CAMPOS                      CA     46013271860
6167923473B335   TAWNA         WOLTMAN                     CO     90004122347
61679758A87B31   JERRY         BROWN                       AR     90013947580
6167B125584392   STEVE         KAUFMANN                    SC     90009661255
6167B434851354   MARY          NUNEZ                       OH     90014004348
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 321 of 2350


6167B457961964   ALEX         CRUZ                         CA     46033564579
6168135A363646   ORLANDO      RAY                          MO     90014563503
61681399772B43   ROBERT       MARTINEZ                     CO     33020793997
61682217572B27   CARLOS       ALTUZAR                      CO     90010422175
6168255464B588   MITCHELL     YODER                        OK     90009765546
6168286385B235   CHAYLA       CARTER                       KY     90011088638
61683AA437B46B   JADA         BEAM                         NC     90014180043
616844A1151354   JOSHUA       STEPHENS                     OH     66037204011
6168452854B268   CRAIG        VRANA                        IA     27033075285
6168461835B392   JUAN         PEREZ                        OR     44543516183
6168485A54B27B   AMEERA       RABEEA                       NE     90014998505
61685271A55975   FRANCISCO    CEBALLOS                     CA     48082152710
61685355A63646   PAYGO        IVR ACTIVATION               MO     90010913550
6168744A855975   JENNIFER     HOOD                         CA     90002994408
61687757672B29   CARREL       CORTEZ                       CO     90014157576
6168788823B391   PERRY        SMITH                        CO     33048018882
61687A1147B46B   RAMON        BENITEZ                      NC     90014180114
6168817634B588   CHRISTA      OZOYA                        OK     90013041763
61688559572B43   MARIA        MARTINEZ                     CO     90010275595
6168858875B392   DAN          SULLIVAN                     OR     44560175887
61689234172B43   CRYSTAL      JAMES                        CO     33024792341
6168963948B168   JACK         RAY                          UT     90011096394
61689A91633698   DEVE         NAPPER                       NC     12093560916
6168B252476B57   RUBEN        RODRIGUEZ                    CA     90000802524
6168B3A245B531   OMAR         TOPETE                       NM     90004333024
6168B568351354   ELIZABETH    CONTRERAS                    KY     66081155683
6168B823261936   SANDRA       RUFFIER                      CA     90010668232
6168B885991975   LORENZO      FOX                          NC     90007378859
6168BA1865B392   DMITRI       LANGSTON                     OR     90015070186
6168BAA4A72B43   NATASHA      YORK                         CO     90003490040
6169138475416B   CHERI        MCCLAIN                      OR     47033923847
6169186A776B21   ALBERTO      RODRIGUEZ                    CA     90010548607
61691AA9785946   CHRISTIAN    YOUNTS                       KY     90013510097
616921A3372B29   MARIA        VICTORIA                     CO     33092181033
61692322172B36   MATT         MCMULLEN                     CO     90014923221
6169253845B235   JAIMIE       SISTRUNK                     KY     90013785384
6169259A96199B   SALVADOR     SANTOS                       CA     90004285909
616927AA371921   CHRISTOPHE   MATTEWS                      CO     32039917003
61692932172B36   JESUS        RODRIGUES                    CO     33052709321
6169367123168B   LISA         MARTINEZ                     KS     90010856712
61693A16672B43   ELENA        HERNANDEZ CALVA              CO     90004510166
61693A51155973   MICHAEL      AVILA                        CA     90015280511
6169472623B365   CHERE        FERRAIUOLO                   CO     90006827262
61695824987B31   VALENTE      ROJAS                        AR     28019188249
61695918A4B27B   DAWNELL      HILL                         NE     27017019180
61697273A91894   RICK         JAMES                        OK     21051962730
6169736795B392   IMMER        GUTIERREZ MARTINEZ           OR     90013623679
61697368872B27   NICOLAS      GARCIA                       CO     90000343688
6169B35AA72B29   WILLIAN      FULLER                       CO     90014553500
6169B533363646   FALLON       LAIRD                        MO     27586695333
6169B572231453   CELESTINA    ALTON                        MO     90015205722
6169B632491894   KATRENA      JONES                        OK     90011686324
616B1183776B69   VICTORIA     LAIE                         CA     90011321837
616B1447861936   SILVIA       GARCIA                       CA     90008574478
616B191617B46B   SHANNON      REDFEARN                     NC     90014179161
616B236848166B   KIM          ALEXANDER                    MO     90004403684
616B241424B268   TROY         LEWIS                        NE     27033704142
616B2677A4B588   TRISHA       JACKSON                      OK     90014046770
616B269A85416B   ASHLEY       WILSON                       OR     90011776908
616B284174B588   JENNIFER     SMITH                        OK     90010138417
616B2A46251354   ERIC         BROCK                        OH     66076950462
616B3245363646   SHERRY L     LEBEAU                       MO     90004732453
616B3A51772B29   CELIA        FRAUSTO                      CO     90014000517
616B4372A55975   MARIA        RODRIGUEZ                    CA     90010863720
616B4482963646   KAYLA        BORDERS                      MO     90014734829
616B4693657538   LISA         TARRIN                       NM     90010706936
616B4717561936   JOSE         DELGADO                      CA     90014917175
616B4879772B36   CRYSTAL      MARTINEZ                     CO     90014638797
616B491847B46B   DENNIS       REDFEARN                     NC     90014179184
616B5161661936   JASON        PANNELL                      CA     90012751616
616B535A95B235   KIERRA       MOORE                        KY     90007603509
616B5388257538   ALFREDO      LAZARIN                      NM     35576123882
616B655345B235   MICHAEL      CANNON                       KY     90013695534
616B65A7831453   JAMES        JOHNSON                      MO     90010205078
616B6A44591894   DEEANNA      EDENS                        OK     21000280445
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 322 of 2350


616B6AA6355983   LUIS          NEGRETE                     CA     90006500063
616B714365B235   AMANDA        NAGLE                       KY     90014531436
616B724A54B588   SERGIO        GARCIA                      OK     90010402405
616B72A455B392   ESTEBAM       PERAZA                      OR     44577062045
616B733A591894   REBECCA       MITSCHELEN                  OK     90011683305
616B7356363646   CHAD          A LOWE                      MO     90002313563
616B75A8161964   JERRY         GIBBS                       CA     90014225081
616B7629687B31   WILLIAM       HOUSE                       AR     90009656296
616B843995B235   ELAINEA       MERVIN                      KY     90014844399
616B844187B46B   KAMAL         BASTOLA                     NC     90015144418
616B8733991975   CARAMORE      COMMUNITY                   NC     17090057339
616B8997571921   JASON         YOCKEY                      CO     32015619975
616B8AA538B168   NICK          MARTIN                      UT     90012690053
616B951A972B36   KENNY         SMITH                       CO     90001725109
616B982544B588   THONATUE      LEYVA                       OK     90013468254
616B9A6A557538   JACINDA       RAMIREZ                     NM     90014860605
616BB17547B46B   NATE          JACKSON                     NC     90011501754
616BB2A1633698   CARL          ROWDY                       NC     12096822016
616BB54A771921   KIRK          COOPER                      CO     90013315407
616BB86945B531   CHRYSTAL      ESPINOZA                    CO     90004998694
61711774A7B329   DAVID         MENDIOLA                    VA     90001317740
61711912972B43   DANIEL        CASSIN                      CO     33032449129
61712448A57538   MORENO        ALDO                        NM     35589704480
6171252A272B43   KENNETH       LIGHTFOOT                   CO     90012995202
6171262315B235   TINA          GRAHAM                      KY     68063336231
61712745972B29   MARRY ELLEN   RUEDY                       CO     90004137459
6171285655B531   SOCORRO       GAMBOA                      NM     90000638565
61712A7A131453   MARY          ADAMS                       MO     90012940701
6171352A15B235   DANIEL        ESCALANTE                   KY     90007845201
6171367255B392   RYAN          SMITH                       OR     90012226725
61714A8594B27B   LAJOYCE       HUNTER                      NE     27028860859
6171759A73168B   BWIMBO        KAJANJA                     KS     90011465907
617183A1291894   ANDREW        WALKER                      OK     90013423012
61718459A72B29   LEIGH         ALLEN                       CO     33063984590
6171993543B125   VIVIAN        EDILLON                     DC     90006899354
6171BA72157538   THOMAS        MELENDEZ                    NM     90013630721
61721A4368B168   SHANE         PACE                        UT     90012630436
6172245164B27B   ASHLEY        BREEDEN                     NE     90014624516
6172275485416B   CHRISTOPHER   HARRIS                      OR     90010087548
6172296455B235   HEATHER       COCHRAN                     KY     68053779645
61723476372B29   VICTOR        MUNOZ                       CO     33048894763
6172436334B588   PRISCILLA     MESSER                      OK     21561033633
61725119287B31   AMBAR MARIE   RIVERA CRUZ                 AR     90013001192
61725244472B29   MARY          MARTINEZ                    CO     90008502444
61725266476B57   JULIANA       PULIDO                      CA     90000802664
6172614463168B   DWAYNE        SCOTT                       KS     22098281446
6172627885416B   CODY          EDWARDS                     OR     90010862788
6172663955B235   ELLIOTT       NATHANIEL                   KY     90008066395
61727662876B57   CONSUELO      MORALES                     CA     90010476628
6172773442B23B   CELESTE       BASON                       DC     81037137344
6172778893168B   KEITH         RATHER                      KS     90010737889
6172785883147B   DAWN          OTTEN                       MO     90002658588
61728641A55973   GUSTAVO       MORALES                     CA     48092346410
6172895AA8B168   MADELEINE     WESTBROOK                   UT     90002699500
61728A59251354   JOSEPH        PITTMAN                     OH     90014690592
61729511672B36   JORDAN        KING                        CO     90013255116
6172992465B357   ZINA          ESTRADA                     OR     90000929246
61729A12771921   VERONICA      BALL                        CO     90013860127
6172B245655975   ESRELLITA     ALOMZO                      CA     48037392456
617315A5671921   SUSANA        ROUSER                      CO     32061045056
61731816A8166B   NELSON        PONCE                       MO     90014848160
61731916772B29   VICKY         EKYOCI                      CO     90014229167
6173231578166B   RICHARD       NUNN                        MO     90013713157
61732339A91522   VIANHEY       SOON                        TX     75054173390
617327A9884392   DANEL         SHERRILL                    SC     90013217098
61732A5153168B   WILMA         BAIRD                       KS     22082330515
61733122A33698   JASMINE       MCCULLOUGH                  NC     90011341220
61733481A8B168   CHISTOPHER    WILLIAMS                    UT     90014994810
617339A2A91894   HILL          JANELLE                     OK     21000569020
61734388587B31   WILLIAM       WOODS                       AR     28086263885
617345A515B392   MATTHEW       BECKETT                     OR     90011605051
61734A4135B392   TONY          LESNER                      OR     90010260413
61735296772B43   ELIZABETH     JIMENEZ                     CO     90000942967
61735A81857538   DELSINIA      DOMINGUEZ                   NM     90014740818
6173652715B392   KRISTINE      MATHEWS                     OR     90008115271
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 323 of 2350


6173737242B27B   PAULINE          AKINBOWALE               DC     81098853724
61737737672B29   SEAN             FRALINCK                 CO     90013427376
617378A9556367   HECTOR           SANCHEZ                  IA     90012518095
61737A2485B531   FRANCIS          MAYHEW                   NM     90013470248
61737A6637B46B   JODY             TEANDER                  NC     11053890663
61737A6A555973   TED              TERRY                    CA     48064410605
61737A95284392   NATHANIEL        BROWN                    SC     19050870952
6173881A961936   ARTURO           MORALES                  CA     90012878109
61738965187B31   ANTONIO          SAENZ                    AR     28080559651
61739A1765B271   MELISSA          STEIER                   KY     68008450176
61739A19572B29   LISA             KIEBERT                  CO     90013110195
6173B28214B588   CONNIE           FRANCES                  OK     90012722821
6173B41462B27B   ANGELA           SCOTT                    DC     90014204146
6173B48AA91522   POMAPA RAMIREZ   ELOISA                   TX     90005514800
6173B698161964   GUILLERMO        CORONA                   CA     46002756981
6173B9A2355973   DELIA            GUERRERO                 CA     48012949023
6174187A957538   SHAKIRA          GARCIA                   NM     90014578709
61741A63461964   WILLIAM          AGUIRRE                  CA     90011850634
61741A8355B531   ANNA             GONZALES                 NM     36078310835
6174313257B46B   KEISHA           PHIFER                   NC     90012091325
617441A557B46B   TAMRA            MEGILL                   NC     90014181055
617443A2372B27   MARIA            CARRASCO-ALCANTARA       CO     90009923023
61744648A55973   REBECCA          CASTILLO                 CA     90011286480
617446A825B235   FRANSISCO        JARA                     KY     90010436082
61745839A7B13B   MIKAYLA          LIDDLE                   ND     90015388390
61745A61772B27   LENA             ARNEACH                  CO     33039480617
61745A75672B36   CECILIA          CASAS                    CO     90009330756
6174641338B168   SHANDA           DAVIS                    UT     90011514133
6174711124B588   JUAN             NINO                     OK     90008091112
61747586172B27   DAVID            LACY                     CO     33099595861
6174779A95B271   WILLIAM          HINES                    KY     90014147909
6174793644B27B   DONA             BRANIFF                  NE     27052979364
617479A6133692   MYEASHA          GORE                     NC     90004219061
6174833674B559   PATRICIA         JUDD                     OK     21582403367
6174845968166B   TIANA            KELLEY-SIMS              MO     90015174596
6174862517B475   COREY            TURNER                   NC     11093466251
61748866172B27   MAIYSHA          SMITH                    CO     33074138661
6174983A461964   JULIE            MORALES                  CA     46008718304
6174992888166B   MARIO            GOMEZ                    MO     90013969288
6174995394B588   TAHIR            YESUF                    OK     90014769539
61749A3378B169   AMY              BURTON                   UT     90006160337
6174B142455975   EVELIA           OROSCO                   CA     90001481424
6175113845416B   ROBERT           BIVENS                   OR     47087051384
61751669A4B27B   MIKE             OHLE                     NE     90008426690
61751838472B27   ARMANDO          GARCIA                   CO     90012648384
61752569A72B43   JESSICA          TAFOYA                   CO     90007095690
6175278465B531   LYDIA            SALGADO                  NM     90010987846
6175297AA87B31   TAMMY R          WORTHAM                  AR     90003089700
6175311355B235   DANIEL           DAVIS                    KY     90001521135
617541A4285991   COURTNEY         DOTSON                   KY     90011901042
6175434A13168B   RAYMOND          MENDOZA                  KS     90014733401
6175528164B588   ASHLEY           BROWN                    OK     90013252816
6175533235B235   CYNTHIA          MAXWELL                  KY     68007853323
61755A85933698   TERRANCE         HILLIAN                  NC     90014420859
61757341776B69   SOPHIA           AZLIN-MCLENDON           CA     90013363417
61757556372B29   KATHY            ZARAGOZA                 CO     33077975563
6175766888166B   EVER             LOPEZ                    MO     29049646688
6175773114B27B   KAROLINE         MARTINEZ                 NE     90013857311
617579A985B392   JAMES            RATHGEBER                OR     44515969098
6175817A472B27   RUBEN            ALCANTAR                 CO     90005091704
61759A3285B235   MELISSA          WENFRY                   KY     90009400328
61759A6764B588   TERESA           HALL                     OK     90009980676
6175B4A244B27B   RICK             FROEHLICH                NE     27084334024
6175B814461936   JOHN             BROWN                    CA     90012878144
6175B94397B475   ALBA             MARTINEZ                 NC     90011239439
61761135A4B588   DANYELLE         STEELE                   OK     21561021350
617619A8731453   RACHEL           JACKSON                  MO     90008369087
6176234485B531   JOSE             BEJAR-SILVA              NM     90008043448
61762675A72B62   STEVE            KING                     CO     90014306750
61762A23755975   NANCY            JIMINEZ                  CA     90011740237
6176332844B27B   SHAWANDA         COMBS                    NE     90008083284
6176337454126B   CARMELA          WILLIAMS                 PA     90014273745
6176386A68B168   TONY             HERNANDEZ                UT     90014568606
61763A22963646   ROBERT           VOLLMER                  MO     90009040229
6176419488B168   BREANNA          BACHMAN                  UT     90013581948
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 324 of 2350


61764549972B29   ERICK        JAMES                        CO     90010545499
617645A7257538   ANAMARIA     AGUILERA                     NM     90007075072
61764A53961936   ANGELICA     VINDIOLA                     CA     46008520539
61764A8195416B   KELLY        WILSON                       OR     90014740819
6176532315416B   JEAN         LEMMON                       OR     47018123231
61765583972B29   REBECA       HERNANDEZ                    CO     33063765839
6176668927B46B   MONICA       HOOVER                       NC     90014176892
6176671828B168   JOY          STARKS                       UT     90001327182
6176713185B235   CARRIE       ROBBINS                      KY     68009591318
6176713255B392   CYNTHIA      DAME                         OR     90005771325
6176848455416B   RAIN         TEEMAN                       OR     90014714845
6176886298B168   KARA         MILNER                       UT     90001708629
61769153A55973   AMBER        FLORES                       CA     90000251530
6176982188166B   JASON        CARR                         MO     90012488218
6176983A998B22   SHAY         HAMPTON                      NC     90007308309
6177139474B588   KARI         PORTER                       OK     90008033947
6177147952B27B   MARGARET     HINES                        DC     90012644795
617722A1784392   LANCE        BROWN                        SC     19006362017
6177242393168B   ADAM         FREIHAGE                     KS     22071994239
617733A4731453   CHRISTOPHE   THOMPSON                     MO     90012063047
61774541572B27   LAWRENCE     HUGHS                        CO     33017345415
6177491A997125   ROBERT       MOREHEAD                     OR     90007169109
6177522A15B392   QUINCY       HARRIS                       OR     44556232201
6177578175B531   MATEO        BERMEJO- MARIN               NM     90010867817
617772A4863646   TERESA       LEWIS-HUTSON                 MO     90014482048
6177741395B392   LIBORIO      OLIVARES                     OR     90015144139
6177763A18B168   PATRICK      FRANKLIN                     UT     90012306301
61778332672B36   ARTHUR       CRUZ                         CO     33025393326
61778372A72B43   CAROLYN      EMMETT                       CO     90005953720
617786A5555973   ANDREA       MARES                        CA     48077546055
61778A1195B531   GLORIA       PADILLA                      NM     90008660119
61778A1353168B   DARRELL      BUTTS                        KS     90000820135
61778A52763646   ANGELA       DAVIS                        MO     90008820527
6177911532B27B   RAYCHEL      GREEN                        DC     90008801153
61779A8375B531   JENNIFER     QUINTERO                     NM     90014240837
6177B185A55973   AIDE         PEREZ                        CA     90014361850
6177B271457538   BRIAN        ROMERO                       NM     35548422714
6177B641351354   YOLANDA      MARTINEZ ORTINEZ             OH     90009856413
6177B66A15B235   CARRIE       MEISNER                      KY     90011306601
6177B715193726   CHARLES      CALDWELL                     OH     90001677151
6177B73545B392   STACY        GIESBRCHT                    OR     44572517354
6177BA97A5B531   KRYSTLE      GARCIA                       NM     36035560970
6178218A691522   PATRICIA     GONZALEZ                     TX     75090721806
617829A8455973   GUILLERMO    MENDOZA                      CA     90013959084
6178484A34B27B   ANTHONY      WHISENAND                    NE     90013928403
617848A1957432   VERONICA     NOLASCO                      IN     90013088019
6178515657B46B   ADRIAN       NAVA                         NC     90014181565
6178631165B235   CHARLES      KLEMPNER                     KY     68064413116
6178696AA72B36   JESUS        VALLES                       CO     90007729600
6178719A593777   SHANEICE     JOHNSON                      OH     90011191905
61787289A8B168   DOUG         LARSEN                       UT     31035512890
6178749688166B   OLIVIA       WALLACE                      MO     90012994968
6178786745B392   MICHAEL      HALPIN                       OR     90009458674
61788156A91525   ANA          OLIVAS                       TX     90008671560
617893AA951331   BRENDA       BALLEK                       OH     90014983009
6178B14635B235   TIFFANY      DARLAND                      KY     90014521463
6178B675691522   TINA         ROMERO                       TX     75008726756
6178B775461964   JEFF         SWEIGART                     CA     46051237754
6178B86685B392   DALLAS       KELLEY                       OR     90015188668
6178B9A8455973   GUILLERMO    MENDOZA                      CA     90013959084
6179181354B27B   MARK         ASHBY                        NE     90009728135
61792611972B27   EVERETT      MOORE                        CO     33047806119
617927A524B268   JEROME       WATTS                        NE     90000587052
6179331A55B531   NICK         MAESTAS                      NM     36081073105
6179515757B46B   JENNIFER     BOLCH                        NC     90014181575
6179553172B27B   CORINNE      BACHILLER                    DC     81031065317
61795641987B31   JIM          MOORE                        AR     90012506419
6179567364B27B   VINCENT      MAGEE                        NE     90012686736
6179591275B392   CRYSTAL      STUDINARZ                    OR     44598229127
61795A61255975   BERENICE     GONSALEZ                     CA     90007610612
61797374272B27   LOURDES      AGUILERA                     CO     90013923742
617974A9172B43   LUVINA       RIOS                         CO     33063154091
6179851733167B   CHRIS        WEAVER                       KS     22098375173
61798647A63646   JULIE        DELAPAZ                      MO     90008646470
61798651A5416B   BRITTANY     SOLOMON                      OR     90013056510
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 325 of 2350


61798925272B29   KERIANNE     PADILLA                      CO     90008419252
6179B272172B36   FRANCINE     BARELA                       CO     33060702721
6179B512572482   REBECCA      HAHN                         PA     51080495125
6179B84325B235   CHRIS        BROWN                        KY     68029838432
617B118A691894   JERI         WILLIS                       OK     90006831806
617B1829784392   STEPHANIE    LAVERETTE                    SC     19019878297
617B1988171921   VANESSA      CHOWING                      CO     90013769881
617B19A9972482   DAVID        LOOKABAUGH                   PA     51043569099
617B2377941949   RACHEL       TIMMONS                      OH     90013883779
617B251195B531   LUIS         ANGUIANO                     NM     90005655119
617B267165B531   LUIS A       ANGUIANO                     NM     36058576716
617B3734531468   ROBERT       CROUCH                       MO     90005677345
617B3838961964   RASHEL       MCDONALD                     CA     90012388389
617B389515B235   AUBREY       HENDERSON                    KY     90014598951
617B3AAA472B36   MARIA        SALOMON                      CO     33061480004
617B4356755975   IRMA         GUTIERREZ                    CA     90011483567
617B446A272B29   TAMARA       SMITH                        CO     90012244602
617B4521A5416B   PATRICK      BABCOCK                      OR     47015625210
617B4A26763646   JEFFREY      HINKLE                       MO     90013350267
617B4A31555975   JUSTA        MORENO                       CA     90015150315
617B4A91961936   YANET        RAMIREZ                      CA     90012820919
617B557575416B   MONIQUE      GRILLO                       OR     90013495757
617B593288B169   MARIA        ELIDA                        UT     31056589328
617B5935771921   PORFIRIO     GONZALEZ                     CO     32021699357
617B6171761964   KAITLIN      ROBERTS                      CA     90014631717
617B699455B531   SONIA        ORTEGA DE CASTILLO           NM     90013989945
617B6A8978B168   KATHLEEN     FLOREZ                       UT     90015340897
617B716A35716B   CELIO        BUESO                        VA     90002401603
617B789614B588   THURMAN      KING                         OK     21561038961
617B7A25655975   AIMEE        JOHNSON                      CA     90001890256
617B8223661936   MALIKK       JAMAL                        CA     46039182236
617B8453184392   ANTWAN       BROWN                        SC     19079454531
617B845362B941   TRINIDAD     TARANCON                     CA     90013954536
617B879534B27B   JASON        HUBBARD                      NE     27077487953
617B8967A57538   JANETH       IDOLINA                      NM     90014819670
617B8A66872B36   LARRY        CRISCO                       CO     90002800668
617B9119841221   PETTER       STAMOOLIS                    PA     90006901198
617B939127B46B   LESWIN       ESCALANTE                    NC     11009913912
617B941155416B   MARNIE       ATKINS                       OR     90010924115
617B9837376B58   MARLENE      CORONA                       CA     90013468373
617B9A27157538   PEDRO        RUIZ                         NM     35528460271
617BB684672B29   JAVAY        LINDSAY                      CO     90010086846
6181138A991975   ERICA        DEMPSEY                      NC     17017163809
6181151815416B   MALYNDA      SPIERS                       OR     90010255181
61812498A3168B   ANTWONE      WILLIAMS                     KS     90014734980
618124A5855983   JOHNNY       DURAN                        CA     90008634058
6181265445416B   TAMMI        HENRY                        OR     90003846544
6181276865B235   DEBORAH      BENNETT                      KY     90010497686
61812A1578166B   FONTAY       GOODWIN                      MO     90004970157
61813A2745416B   TAWNA        WAKELAND                     OR     90010330274
61813A69531453   CORY         PRICE                        MO     90013390695
618141A463168B   DALTON       WARD                         KS     90010871046
6181481368166B   KAILA        HULL                         MO     90004518136
6181497745B531   BEN          BAROS                        NM     36084939774
6181517A391572   CRISTINA     ALARCON                      TX     90001151703
61815244A5B392   KRYSTAL      HEARD                        OR     90009852440
618153A629133B   PATRICK      J CASTIN                     KS     90001853062
61816111A8B168   BENARDINO    LUNA                         UT     31062081110
6181623665B531   ADRIANA      ESCAMILLA                    NM     90012762366
6181627735B392   JENNIFER     TORREY                       OR     90014392773
6181655435416B   ELIJAH       LAIS                         OR     90014925543
61816A61972B36   STEVEN       ADDISON                      CO     90012300619
61816A8A27B46B   AVONDA       MORRISON DICKEY              NC     90011090802
61817142298B22   ISAAC        BELL                         NC     11098251422
6181715A225236   CHRYSTLE     TAYLOR                       NC     90011621502
61817A23731453   JATON        MOODY                        MO     90003910237
61817A96491522   GONZALEZ     JUAN CARLOS                  TX     75049920964
61818225376B57   MARK         HANSEN                       CA     46017152253
61818A8418B168   PHYLLIS      EHRHARDT                     UT     90009750841
61818AA328B169   AMANDA       JONES                        UT     31001300032
6181912624B588   KELISHA      ROJAS-ESTRADA                OK     90014651262
6181949A491894   GARRET       YEAGER                       OK     21000394904
6181975732B27B   SHERNITA     CARTY                        DC     90014207573
61819757A61964   LUCI         DUENAS                       CA     90005187570
6181B15A472B43   TAN          NGUYEN                       CO     33009361504
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 326 of 2350


6181B18688166B   ANGELA       KITCHELL                     MO     29025171868
6181B243861936   ROBERTO      ROCHE                        CA     90012882438
6181B264355975   VERONICA     ALVAREZ                      CA     48053832643
6181BA23A91894   SHETTA       MILLER                       OK     90015080230
618213A134B588   CARMONA      ESTRADA                      OK     90012483013
61821A32751354   TEENYA       HUFFMAN                      OH     90014740327
61821A95191352   ENRIQUETA    TORRES-GOMEZ                 KS     90014880951
61822536A91534   CHRISTINE    GRIJALVA                     TX     75048835360
6182384AA72B36   KARLA        GUZMAN                       CO     33002998400
61823A4944B27B   CARMEL       WAKA                         NE     27085230494
6182476764B27B   STEVEN       JONES                        IA     27048327676
6182523A561936   JONAH        DENNIS                       CA     90010292305
61825278A57538   FELIPE       JUAREZ                       NM     90011752780
6182543415B531   VICTOR       AVILA SOTELO                 NM     90008014341
618255A3A2B238   JASMINE      ANDREWS                      DC     90010765030
61825A73161964   CRISTINA     BARAJAS                      CA     90012640731
61827186672B27   MERRANDA     CARDENAS                     CO     90003001866
61827993572B66   LILAH        FREELON                      CO     90009929935
61828187372B29   GERALD       WILLIAMS                     CO     33031821873
6182854493B388   ALAN         HUDSON                       CO     90000915449
618286A8972B43   DANIEL       VAIL                         CO     90013336089
6182873A74B588   AMBER        SANDERS                      OK     90013127307
61828825A8166B   REYES        CANDELARIO                   KS     90015328250
618293A6963646   RAMON        SANCHEZ                      MO     90014903069
6182B28833168B   LEON         FIELDS                       KS     22079742883
6182B351657538   JUAN         JIMENEZ                      NM     90013233516
6182B533261936   AMANDA       GREENE                       CA     90010955332
6182B917887B31   WHITNEY      LEWIS                        AR     90014889178
61831152372B36   CANDICE      AVILA                        CO     33096011523
618313AAA4B54B   QUAYLON      BARR                         OK     90012463000
61831425772B27   JOYCE        MENDEZ                       CO     90003974257
6183164298166B   PAULA        ROSAS                        KS     90015106429
6183165954B27B   ADA          RUIZ                         IA     90004936595
6183169234B27B   RANDY        NORTHHORN                    NE     90011406923
6183243445B252   RICHARD      IRVIN                        KY     90002274344
6183272884B27B   SHAQUAN      RUSSEL                       NE     90013827288
61832A87857538   ROBERTO      RODRIGUEZ                    NM     90014130878
6183348795B238   CAROLINA     PEREZ                        KY     90006334879
61833AA6361936   BREA         SIMMOES                      CA     90009540063
6183445115B235   CIARA        BROOKS                       KY     68005454511
61834494672B36   ISIDRA       TREVINO                      CO     33097664946
6183492A24B588   TODD         GENTRY                       OK     90011399202
61834941176B57   NICOLAS      SALDIVAR                     CA     90013709411
6183577A44B268   MELLISSA     EDIE                         IA     27048067704
618359A9461936   JOSE         RAMIREZ                      CA     90001899094
61836247172B29   DONTE        BEASLEY                      CO     90014522471
6183648888166B   DERRICK      HUPMAN                       MO     90014234888
6183663A233698   ROSALYN      SHELTON                      NC     90000556302
6183698A172B27   KAREN        KISH                         CO     33040289801
61836A1422B27B   AMEER        EDWARDS                      DC     90015010142
618377A4298B22   TIARRA       GRAY                         NC     90007317042
618378A574B27B   FRANCISCO    SANCHEZ                      NE     90013378057
61837997272B36   MICHAEL      MCLAUGHLIN                   CO     90013929972
61838863472B27   ZACH         MERLING                      CO     90010908634
6183B292197125   TIFFANY      MOTEN                        OR     90007192921
6183B333172B29   MANUEL       ESCOBEDO                     CO     90000473331
6183B3A5585944   KATHERN      SPICER                       KY     90004133055
6183B618187B31   ZENETA       AUSTIN                       AR     90012066181
6183B8A3931453   DAWN         PIECHOINSKI                  MO     90008058039
6184119918166B   SHAUNA       LAUGHLIN                     MO     90013661991
618414A188B168   RICK JAMES   RYDALCH                      UT     90012654018
618418A7155975   SERGIO       GALLEGOS                     CA     90013698071
61841A9A557538   JOSE         RAMIREZ                      NM     90000390905
61842281172B29   BRIANA       JACKSON                      CO     90012172811
61842589A57538   RICHARD      PORTILLO                     NM     90011755890
6184351134B27B   DAVID        BRUNING                      NE     90008595113
61843937A5B55B   JASMINE      CANDELARIA                   NM     90008649370
6184413844B588   DARIONTE     RENTIE                       OK     90013821384
6184479785B392   ANDRE        SOLOMON                      OR     44513987978
6184491A75B235   DEONTE       WALTON                       KY     90008529107
61844AA437B46B   JADA         BEAM                         NC     90014180043
6184567267B761   ELISA        SANCHEZ                      CA     90015416726
6184594A15B531   PETER        MOORE-LAMPHERE               NM     90014819401
61845A4173168B   SAMMIE       MURRAY                       KS     22081170417
61846645A8B168   BRYAN        HUFFMAN                      UT     90013066450
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 327 of 2350


6184691695B392   MARIA               DE JESUS LASCANO      OR     90012479169
6184716213168B   VINCENT             GUZMAN                KS     90014981621
6184769415B392   LUDVING             COTOM BARRIOS         OR     44591086941
61847736372B29   IRLENE              CASTILLO              CO     33087737363
6184784394B588   WILLIAM             DAY                   OK     21560958439
618483A8A8166B   NICOLE              BURNETT               MO     90014903080
6184848994B588   DIAMOND             HARPER                OK     90014664899
6184885718B169   ANGELICA            BARCENAS              UT     31016908571
6184925A17B46B   BRITTANY            TURNER                NC     90014182501
6184972414B27B   RICHARD             JOHNSON JR            NE     27011147241
61849874A61964   WENCESLAO           DE LOS SANTOS         CA     90012548740
61849A27557538   FREDERICK           FREEMAN               NM     90011770275
61849A54272B43   LILIA               RODRIGUEZ             CO     33092750542
6184B585972B43   SAUL                MELVIN                CO     90013615859
6184B67AA57538   DAVID               GARCIA                NM     90014426700
6184B793887B31   BRYON               MADDEN                AR     90014897938
61851192672B27   MAIA                GALLARDO              CO     90010471926
618515A9857538   LOUIS               LAYCOCK               NM     90013665098
6185165914B588   BIANCA              HOLLINS               OK     90010846591
6185212365416B   MARIA               CRUZ                  OR     90012041236
6185246684B588   CHARLES             MCCRACKEN             OK     90015094668
618525A142B27B   SHANA               WATASON               DC     81007955014
6185282523144B   JACOB               HEMP                  MO     90010438252
61852A1778166B   TAMARA              LARKINS               KS     29074240177
6185365594B588   ALFREDO             RESENDIZ              OK     90010746559
61854767A87B31   LASCHELLE AND BEN   PATTON                AR     90012577670
61855682187B31   KIMBERYLY           BYRD                  AR     90015106821
6185578A872B27   VERONICA            CLARK                 CO     33023807808
6185582A455928   SELENE              DIAZ                  CA     49012138204
61855943A55975   EMPERATRIZ          REYES                 CA     90013709430
6185612635B531   SERGIO              ORTIZ                 NM     90013771263
6185658147B46B   LUIS                SOSA MATA             NC     90000355814
61857152772B27   LORENZO             GONZALES              CO     90015591527
61857432A61964   EDMUNDO             OSORIO                CA     46081564320
6185786495B235   RONALD              COLEMAN               KY     90011108649
6185825A17B46B   BRITTANY            TURNER                NC     90014182501
6185836887B46B   PATRICIA            ELEAZER               NC     11094883688
618583A7991894   ALEJANDRA           GONZALEZ              OK     90011693079
61858A3554B588   CURTIS              HEATH                 OK     90010670355
6185995245B531   REUBEN              BERRY                 NM     90014839524
6185B85A787B31   BENITA              HARRELL               AR     90005878507
6185B941691975   MARLENI             PEREZ                 NC     90008639416
6185B98A87B472   ALICIA              GREEN                 NC     90013079808
6186174A151354   DAVID               CORREA                OH     90003127401
61861A5588166B   RICHARD             CARTER                MO     29031020558
6186263648166B   RYAN                MAYCOCK               MO     90013166364
6186268548B168   KENNEDY             ARLENE                UT     90000706854
6186321115B235   EBONY               TODD                  KY     68072862111
618635A9857538   LOUIS               LAYCOCK               NM     90013665098
6186425A62B27B   ROBIN               WILLIAMS              DC     90005632506
61864317A51354   TIMOTHY             FORTMAN               OH     66007893170
6186472413168B   ALAN                RICHEY                KS     22059247241
61864A5AA72B29   JANESSA             VALDEZ                CO     90006070500
61865151672B36   ANALAURA            CARRILLO              CO     33057411516
6186561995B392   MICHAEL             SMITH                 OR     90003816199
61865624A55975   GRACIE              BEATY                 CA     90006586240
61865A6A371921   JAMES               HOPKINS               CO     90012330603
6186826347B46B   FRANK               LUCAS                 NC     90014182634
6186885915416B   AMBER               TRAVIS                OR     90015548591
61869335772B29   ANTONIA             BRAVO                 CO     90008003357
618699A2561964   SALVADOR            DOMINGUEZ             CA     90000639025
61869A1378166B   STEVEN              MONTGOMERY            MO     90015180137
61869A6455B235   TERESA D            JOHNSON               KY     68048370645
61869A9844B588   CHRISTOPHER         HOLT                  OK     90003580984
6186B12A75B392   STEPHANIE           SWEENEY               OR     90011221207
6186B24342B27B   KISHI               WASHINGTON            DC     90015322434
6186B52A92B27B   KISHI               WASHINGTON            DC     90001675209
6186BA3A28B168   HEATHER             PETERSEN              UT     31036660302
6187195A361964   JOHN                PURKOWSKI             CA     90006299503
61871A69772B36   PATRICIA            HOLMES                CO     90013070697
618723A8971921   JOHNNY              FERRELL               CO     90010433089
61872A36691975   TAMEKA              MAYFIELD              NC     90010850366
61872A51755975   HUGO                OSEGUERA              CA     90000220517
6187316158B169   ANDREW              WADE                  UT     90004621615
6187367A251347   MARVIN              GUZMAN                OH     90005726702
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 328 of 2350


6187396A58B168   STEFANIE     FLORES                       UT     90015039605
6187495647B46B   DAPLINE      REID                         NC     90010479564
61874A47491975   JOSE         ALVARADO                     NC     17003130474
61875A38A4B588   KRISTINA     ALVARADO                     OK     90014070380
6187723315416B   LEEANN       CHITWOOD                     OR     90014512331
6187747624B268   SALVADOR     HERNANDEZ                    NE     90009774762
6187763155416B   ROBERT       KELLY JR                     OR     90006956315
61877A1685B531   SAUL         DE LEO                       NM     90010470168
6187876A663646   RODOLFO      GONZALEZ                     MO     27517987606
6187887787B46B   MARIA        MARTINEZ                     NC     11055918778
6187897794B588   CHRISTINA    BLACK                        OK     90015149779
61878A32984392   ENEDINA      AVILA-SANTIAGO               SC     19019600329
6187928A172B43   MICHELLE     ESQUIBEL                     CO     90004042801
61879379A24B47   YONG         SAULEN                       DC     90003653790
6187978A955973   LIONEL       MURRIETA                     CA     90011437809
61879A4894B588   GAIL         ABNEY                        OK     21560950489
6187B19915B392   MARY         LEON MARTINEZ                OR     90013581991
6187B387A51354   MONICA       HERNANDEZ                    OH     90001813870
6187B63794B588   NILS         JUAREZ                       OK     90012946379
6187B68835B235   THOMAS       DAVIS                        KY     90012666883
6187BA37A5416B   HUNTER       THOMPSON                     OR     90015520370
6187BA9878B168   HECTOR       VARA                         UT     90008970987
6188133265B531   BERNADETTE   BLEA                         NM     90010323326
6188176674B588   JAMES        SIMMONS                      OK     90008377667
61881772A5B921   JASON        KERR                         ID     90013057720
6188186A84B588   DANIELA      AGUILAR                      OK     90015018608
61883137A8B168   KATHY        STANSELL                     UT     90014521370
6188317915416B   DEBBIE       HEIGHT                       OR     90008741791
6188327AA8B169   HECTOR       CARDONA                      UT     90007232700
61883856872B29   AUDRA        MESTAS                       CO     33087928568
6188444758166B   MICHELLE     TURNER                       MO     29070364475
6188585243B335   LUIS         RIVAS                        CO     90001228524
6188669955B531   LEONARD      MARTINEZ                     NM     90002616995
6188738223168B   AMY          AFFLECK                      KS     22086743822
618875A844B27B   AFI          AGBOSSE                      NE     90013845084
61887AA2761964   MELISSA      BUCHHOLZ                     CA     90012310027
61888558372B36   SILVIA       OLMOS                        CO     33006015583
6188894745B271   JUAN         LARA                         KY     90001659474
61888963A4B268   TIMOTHY      WALLING                      NE     27057979630
6188898A85B531   GUADALUPE    MIRAMONTES                   NM     90012509808
61889825372B43   MORALES      CARLOS                       CO     90000428253
6188B2A384B27B   KELVIN       DILWOOD                      NE     27027742038
6188B417A8166B   JEFFERY      MANIS                        MO     29027244170
6188B46944B268   ANTHONY      INITELL                      NE     90007374694
6188B671A5B531   AMRIT JOT    S KHALSA                     NM     90003706710
61891555372B36   TRACY        VOLLENBERG                   CO     90003705553
61891586487B31   SHEILA       BROWN                        AR     90009325864
6189239452B224   ROBERT       BUSH                         DC     90011653945
61892737487B31   REYNALDO     GARCIA                       AR     90015107374
6189334827B46B   ALEN         KORDAN                       NC     90014183482
61893A4794B588   MARVIN       HOPGOOD                      OK     90014540479
61893A4855B531   SABINA       PENA LUJAN                   NM     36096090485
61894326572B36   FRAN         BOYD                         CO     90010263265
618943A4857538   AMANDA       VILLEGAS                     NM     90013883048
618945A728B169   CAMILLE      LUCE                         UT     31027265072
6189474618166B   RAYCHELLE    BANKS                        MO     29049277461
61894884172B32   BERT         MARTINEZ                     CO     33042958841
6189535367B46B   ERASTO       ENDEZ                        NC     90014183536
6189585A34B588   BRITANY      JONES                        OK     90008188503
6189613274B268   JOSELUIS     DELGADO GARCIA               NE     90004891327
61896373A71921   DENISE       LOPEZ                        CO     90014863730
6189674438166B   LATISHA      CLINE                        KS     90014877443
61897157472B27   ARREOLA      NEVAREZ                      CO     33096011574
6189727755B392   MICHELLE     ALLEN                        OR     90015132775
618986A155416B   REBECCA      TENDICK                      OR     90001616015
618987A7772B27   MATHEW       GARCIA                       CO     90012977077
61898A5895B235   AMANDA       HODGE                        KY     90014740589
61898A8664B27B   JENNIE I     JOHNSON                      NE     27013420866
6189918A68B356   MICHAEL      DARWIN                       SC     90013931806
61899212772B29   KELLY        GEIGER                       CO     90010202127
61899744A91522   DANIEL       CAMACHO                      TX     75057337440
6189B26A191894   DAVID        SMITH                        OK     90003162601
6189B83544B588   JAMIE        TAYLOR                       OK     90013328354
6189BA4665B392   MABEL        NTIAMOAH                     OR     90010230466
618B1963833698   CELIA        MCLAUGHLIN                   NC     12009849638
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 329 of 2350


618B24A5855983   JOHNNY       DURAN                        CA     90008634058
618B2726891894   ROSA         CHAIREZ                      OK     21011177268
618B284A75B531   ANTHONY      ROMERO                       NM     90015088407
618B2851272B29   BEATRIZ      MCDONALD                     CO     90011058512
618B2891A55975   MARCIAL      GAYTAN                       CA     90015418910
618B3975857538   MANAH        GONZALES                     NM     35563629758
618B3A24671921   NATHANIEL    SMITH                        CO     90010750246
618B3A5A87B46B   S MICHELLE   WILKS                        NC     11065470508
618B424855B531   RAUL         MONTEJANO                    NM     90013682485
618B4756155975   ELENA        SANCHEZ                      CA     48042257561
618B4796972B27   TERRENCE     BROUSSARD                    CO     33042537969
618B5195871921   GUSTAUO      NIZ                          CO     90014681958
618B52A4A72B27   CARLOS       BLANCO                       CO     90011412040
618B535A82B224   ROBERT       SMITH                        DC     81011783508
618B593685B392   WALLACE      ROULHAC                      OR     90011499368
618B59A535B531   KAY          LOWANCE                      NM     90015089053
618B5A28671921   JOSEPH       MENOKEN                      CO     90010750286
618B6126787B31   MONTY        WILLIAMS                     AR     28093871267
618B6138471921   ROBERT       REINHARD                     CO     90010221384
618B6264272B27   DIANA        QUINTETERO                   CO     90014172642
618B653A172B36   MANUEL       ZAMARRON                     CO     33087845301
618B691667B46B   BALTAZAR     GARAY                        NC     90014189166
618B7663A31453   LAWANDA      DAVIS                        MO     90013146630
618B77A495B531   JESSICA      GONZALES                     NM     90011957049
618B7A25661954   G SUSAN      RODRIGUEZ                    CA     46083610256
618B8255A4B268   EVA          VALLES                       NE     90005572550
618B85A675B531   HECTOR       SAENZPARDO                   NM     90014595067
618B873883168B   JADEN        VULGAMORE                    KS     90010297388
618B8812571921   BROOKLYN     RUSH                         CO     90014638125
618B95A737B46B   TYLER        STEWART                      NC     11016535073
618B9721A72B36   JAMIE        LYNN                         CO     33091047210
618B9792A8B168   OSCAR        VELEZ                        UT     90012347920
618B9838A63646   JERRY        DICKENS                      MO     90013508380
618BB256572B36   ANTONIO      JAQUEZ                       CO     33053992565
618BB34315B392   JOSHUA       SHELDON                      OR     44511333431
618BB5A528166B   JERREN       PEBBLES                      MO     90009485052
618BB923591975   SHANDA       NEWSOME                      NC     17066659235
6191113AA33698   KEDRICK      DUNLAP                       NC     90010861300
619121A3433698   DENISE       MARTIN                       NC     12044141034
619127A725B392   JANET        RAMIREZ                      OR     90012857072
61912811824B41   KERLIN       PACHECO                      VA     81030288118
61912913972B43   ZACHARY      FRANKLIN                     CO     90014359139
6191294AA57538   DORA         JIMENEZ                      NM     35503209400
6191295615B235   PATRICIA     HUDSON                       KY     90009319561
61912A57561964   MAYRA        RIVERA                       CA     90012820575
619132AA172B27   CHAD         NEILSON                      CO     33053262001
619139A3761936   PRISCILLA    ACOSTA                       CA     90012879037
61914141A4B261   MARK         HAGEDORN                     NE     90001591410
61914158372B27   ZACHARY      HETRICK                      CO     90015081583
61915AA545416B   ANDREW       CAREY                        OR     47050960054
6191641144B268   MICHAEL      BARNES                       NE     27065724114
61916433572B36   GLORIA       AVILA                        CO     33006644335
619164A6A5416B   ROBERT       SANCHEZ                      OR     47088844060
61916932987B31   CASSANDRA    WILLIAMS                     AR     28093799329
6191693854B27B   CHRISTINE    STECHENFINGER                NE     90003629385
6191755A672B29   NELL         CONNALLY                     CO     33026185506
61917A45872B27   STEVEN       INZURRIAGA                   CO     90013250458
61918858A72B29   SARAH        STEPP                        CO     90012488580
61918A12287B31   APRIL        HINES                        AR     90013470122
61918A7A38B169   AMI          FITISEMANU                   UT     31016930703
61919154472B29   CRYSTAL      HERNANDEZ                    CO     33079871544
6191B116A61964   NATASHA      CAMARILLO                    CA     90010191160
6191B2A125B392   GLEN         WOODHOUSE                    OR     90011222012
6191B392531453   BRIDGETTE    WILKERSON                    MO     90014813925
6191B51617B46B   NADIYAH      GILCREAST                    NC     90005885161
6192212AA55975   JUAN         MARTINEZ                     CA     90012941200
6192345A231421   ALMIR        ZGALJ                        MO     90006904502
6192391837B46B   DOROTHY      BROWN                        NC     90005289183
61923A3345416B   MARGARET     JELLEY                       OR     47016050334
6192437947B46B   JONATHAN     CRUZ                         NC     90014183794
61924618A61936   YECENIA      VELAZQUEZ                    CA     46069326180
61924635472B36   ARAIZA       GABRIELA                     CO     33056566354
6192491AA2B27B   MELANY       GARCIA                       VA     90014209100
61924A2882B27B   CHRIST       BOYD                         DC     90015010288
61924A47938522   KRISTY       MANGAHAS                     UT     90001360479
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 330 of 2350


6192522558B168   JAMES        LANIER                       UT     31085802255
61925796272B43   LARIZA       CANTU                        CO     90014367962
61925A21793762   CINDY        SMITH                        OH     90009540217
61925A9978B137   WAYNE        PARKE                        UT     31089060997
6192632874B588   MAURICE      DANIELS                      OK     90012713287
619265A5157538   CARMEN       MENDOZA                      NM     35582255051
61926659A5416B   TAMMY        JACOBSEN                     OR     90014436590
619272A935416B   MITCHELL     SPARGO                       OR     90011942093
6192794382B27B   ROBIN        DEAHL                        DC     81090709438
6192921A15B392   MORGAN       BISSELL                      OR     90011222101
61929333A51325   MARCUS       SEWELL                       OH     90001373330
61929489676B57   ADAM         LAIGO                        CA     90003524896
6192B218161936   MARIBEL      ROMERO                       CA     90009472181
6192B316451323   KATHLEEN     CARROLL                      OH     90009573164
6192B393155975   DAVID        REDMON                       CA     90012153931
6192B47A24B588   LINCOLN      KOSA                         OK     90014754702
6192B99142B27B   QUASANDRA    JACKSON                      DC     90011529914
6193117715416B   JOSUE        MENESES                      OR     90011651771
6193135154B27B   NICOLE       KING                         NE     90012923515
619313AA591894   JONNY        PORTER                       OK     90013403005
6193186238B168   CANDIS       WARREN                       UT     31021948623
61931A2987B46B   KRISTY       GOODEN                       NC     90011400298
6193335A45B392   MARIA        HORD                         OR     90006343504
619333A1A8B168   RAYMOND      BACA                         UT     90014623010
6193463514B588   ANDREA       BURKLEY                      OK     90014846351
61934673A72B43   GLORIA       TRONOCO                      CO     90007566730
6193495A172B36   DONIEL       WHITFIELD                    CO     33081669501
61935327372B36   ESMERALDA    IBARRA                       CO     33085993273
6193545772B27B   FELICIA      OLADUGBA                     DC     81025854577
61936525A8166B   YN           G                            MO     90013395250
6193769145B392   SANTIAGO     HERNANDEZ                    OR     90013946914
61937968572B43   SONIA        SALIDO                       CO     33002539685
6193863A855973   SAMANTHA     GUARDADO                     CA     90012006308
6193875617B46B   ANTHINA V    SIDBERRY                     NC     90013287561
61938AA6163646   BROOKSIE     VOLKMAN                      MO     90015090061
6193991838166B   MARK         LEE                          MO     90014789183
61939A3634B544   JORGE        MDREGAL                      OK     90010960363
61939A62561964   MARIA        ROMERO                       CA     46061000625
6193B11A572B43   AMBER        MORTENSON                    CO     33042021105
6193B2A418B168   DAVID        HADDEN                       UT     90013662041
6193B53385B526   DARRIN       HARGIS                       NM     35004575338
6193B83138166B   CELINA       HOLLY                        KS     90008738313
6193BA8714B588   MARKEIA      YARBRUGH                     OK     90009390871
61941125A31453   BRITTNEY     DRORTCH                      MO     90013931250
61941A8984B27B   SUSAN        SMOLINSKI                    IA     27007650898
61943194887B31   JUANITA      SULLINS                      AR     90014801948
61944298A63646   SHANNON      DUNN                         MO     90010822980
6194466125B235   YURKA        AVALO                        KY     90014706612
6194498615B531   CONCEPSION   SALCIDO SILVA                NM     36009099861
619449A3431453   BECCA        SWAFFORD                     MO     90000149034
6194554674B293   LUZ          REYES                        NE     90001945467
61945933872B43   VICTORIA     NARANJO                      CO     90005409338
6194633A83168B   DAMON        WILLIAMS                     KS     22085893308
6194645625B235   KEITH        GREAVES                      KY     90006134562
61946A72A8B168   LILY         LUGO                         UT     31047560720
6194744918B168   MARISSA      MEADOWS                      UT     90005984491
619476A7572B43   FERNANDO     BATISTA                      CO     90013206075
61947AA685B392   JOE          CLINE                        OR     90014400068
6194851477B46B   SHEREE       PHILLIPS                     NC     11086795147
6194B399A47821   RODNEY       JORDAN                       GA     90005843990
6194B487161964   ROGELIO      MARIQUEZ                     CA     90011954871
6194B4A277B46B   CLARA        HILARIO                      NC     90014184027
6194B548333698   JASON        JOHNSON                      NC     90003045483
6194B575A97125   ASHLEY       OLSON                        OR     44598885750
61951256A33698   ALFONSO      MENDOZA                      NC     12001362560
61951771472B36   HERBERT      WALL                         CO     33085077714
6195179825B531   EDGAR        LOPEZ                        NM     90012897982
61952212A8166B   DEMONTE      FOREMEN                      MO     29012452120
6195241A54B27B   FRANK        PARKER                       NE     27013064105
6195297613168B   ALENA        PENNINGTON                   KS     90014739761
61953122A4B588   JENIFFER     BONILLA                      OK     90005901220
61953852572B43   LINDA        KENNERLY                     CO     33041218525
61953861472B36   CHARLIE      SARGENT                      CO     90015258614
61953A7345B235   OCTAVIA      WRIGHT                       KY     90015120734
619542A725B531   CAROL        BACA                         NM     90001902072
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 331 of 2350


61954753172B29   KENT         ALLEN                        CO     33000967531
619547AA772B36   MIGUEL       RAMIREZ                      CO     90012537007
6195499A33168B   ALBERTO      IBARRA                       KS     90014739903
61955265A8B168   JEFF         WEST                         UT     31080882650
619558A1931453   ASHLEY       ROBEL                        MO     90004508019
619562A2472B36   LOUIS        SMITH                        CO     90011072024
61956394887B31   BRIAN        MEREDITH                     AR     90010733948
61956714772B43   MIGUEL       FUENTES                      CO     90002067147
6195685458B346   MINH V       GIAP                         SC     90014148545
61957224A5B375   SUSAN        BEACH                        OR     90006552240
61957249572B27   ROCIO        VALDIVIA                     CO     90014612495
6195754588B821   CHITA        LOUIS                        HI     90013955458
6195765655B235   TOBIAS       CLARK                        KY     90002876565
6195845687B46B   NESTOR       MEZA                         NC     90014184568
61958845A51555   ASHCEON      KLINE                        IA     90013888450
61959129472B27   REIS         REIS                         CO     90001861294
619592A315416B   CHERYL       JENNINGS                     OR     90015572031
61959A8628B168   MONICA       ZAMRA                        UT     90010920862
6195B61424B588   LESLIE       STEYER                       OK     90013966142
6195BA49655973   RICHARD      BLOCKER                      CA     90013230496
6196128A34B588   OCTAVIA      ROBINSON                     OK     90014622803
6196195185B392   KRISTINE     ANGELOFF                     OR     90014319518
6196233475B392   JAYDEN       CLIFFONRD                    OR     90011523347
6196299814B588   KRISTINA     CROWELL                      OK     90010319981
6196467863168B   JEREMIAH     EDMISTON                     KS     90014946786
61966851972B25   CODI         ZUFELT                       CO     90004148519
61966936798B22   VALENTIN     GOMEZ                        NC     11086329367
6196741618B169   JOHN         KNUDSON                      UT     31083454161
6196745818B168   DEANNA       GALLETOS                     UT     31010994581
61968352272B43   TWYNNA       MOSLEY                       CO     33086653522
619683A1A61987   BERNADETTE   SANTOS                       CA     90011073010
61968688472B29   PHILIP       SALAS-ARMIJO                 CO     90013736884
6196874884B27B   JUAN         RAMIREZ                      NE     90014777488
6196898A85B531   GUADALUPE    MIRAMONTES                   NM     90012509808
6196938798B168   PAYGO        IVR ACTIVATION               UT     90014063879
6196969634B27B   BRENDA       SEDIVY                       NE     90012476963
6196B89835B392   NAPHAT       MEEPHUN                      OR     90013178983
619716A5A61964   ZACHARY      TORRES                       CA     90014486050
6197193295B531   CHINA        BARRAS                       NM     90003499329
619719A8561936   VERONICA     RODRIGUEZ                    CA     90009679085
6197246697B46B   NESTOR       MEZA                         NC     90014184669
61972523A72B43   NKEM         EDOZIEM                      CO     90012995230
61972688872B29   RUBEN        GONZALEZ                     CO     90000166888
6197272935B392   JENNIFER     MCCALMONT                    OR     90001797293
61973258787B31   TAMEKA       DOLLISON                     AR     28021142587
619736A9472B36   GABRIEL      VALADEZ                      CO     90007416094
619739A6A61936   GABRIEL      CRUZ                         CA     90015139060
6197489385B392   ISAKA        SHAMSUD-DIN                  OR     90014158938
6197517773168B   ELIZABETH    WILSON                       KS     22015111777
61975A54261964   ENRIQUE      MONFIL                       CA     90014200542
61976438572B36   SHERRI       FISCHER                      CO     90013024385
61976643372B27   LYNN         SHANGREAUX                   CO     90014536433
6197681355B235   RICKY        ELBLE                        KY     90010198135
6197723934B268   ADAM         BRUNICK                      NE     90011842393
6197744935B235   VICTORIA     STAR                         KY     90014844493
61977532772B27   MYESA        RICHARDSON                   CO     33074025327
61977813872B43   NICOLE       DELEON                       CO     33021638138
61977954A76B69   MANUEL       ANGON                        CA     90007699540
6197855995B235   JOSEPH       GAMBLE                       KY     90013785599
619787A9961936   MAYRA        RANTARIA                     CA     90014337099
6197952225B235   AARON        DAVIS                        KY     68052045222
6197972654B27B   DARREN       KETCHERSIDE                  IA     90010697265
6197B614955973   FERNANDO     GOMEZ                        CA     48043486149
6197B739193728   DAVID        HODGES                       OH     64501767391
6197B814755975   MADALINE     STODDARD                     CA     48072398147
6197B825891894   AMANDA       STINSON                      OK     90014168258
6198181174B27B   STEPHEN      VANCE                        NE     90010308117
61982113A5B235   MEGAN        NELSON                       KY     90014441130
61982114A8B168   RYAN         BRIGGS                       UT     90012051140
61982157A55973   JEANNIE      MALDONADO                    CA     48004511570
61982225972B93   LINDA        KYLE                         CO     90009692259
61982229172B36   CLAUDIA      PADILLA                      CO     90007732291
61982A1287B329   LATOYA       HILL                         VA     90005770128
61982A31955973   GRACIE       SERRANO                      CA     90015580319
6198328624B588   MELISSA      SHAFFER                      OK     90009732862
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 332 of 2350


61983431972B43   KEVIN             NELSON                  CO     33083844319
61983445724B7B   GETANEH           WOLDETSADIK             VA     90001304457
619835A3597125   TAISHAWN          MILLAGE                 OR     90012795035
61983A32433641   KIM               SUMMERS                 NC     90007570324
6198439914B27B   MIKALLE           SCHELLIN                NE     27023443991
6198461592B27B   ROBERTO           ARGANDONA               VA     90010276159
6198493734B268   SHERICE           GRESHAM                 NE     27045379373
61985512287B31   JALISA            CAMBELL                 AR     90011455122
619858A4825236   SHANTA            JOHNSON                 NC     17029558048
619864A5987B31   DAVID             SHUN                    AR     90015114059
61987321972B43   EDITH             MARTINEZ                CO     90008433219
6198747637B46B   JOSE              CRUZ                    NC     90014184763
61987A76331453   AMY               PITSCHNER               MO     90014670763
6198816AA72B43   LUIS              ULLOA                   CO     90014991600
619884A4461936   JASON             STERN                   CA     90012884044
6198898228B168   JAMES             BROOKS                  UT     90013779822
61989453372B43   CATARINO          HINOJOZA                CO     90013534533
6198B846672B43   JAMES             BROWN JR                CO     33092288466
619911A5663646   ANTHONY           MIGASI                  MO     90015241056
6199144968166B   JANNIE            HOPKINS                 MO     90011434496
6199149477B46B   ROSETTA           WHITE                   NC     90014184947
619917A485416B   KIMBERLY          YOUING                  OR     47007867048
6199258395B221   HEAVEN            POWELL                  KY     90014265839
6199269633B34B   STEPHANIE         LEWIS                   CO     33025766963
61992A55761964   RUTH              BELTRAN                 CA     90012960557
61993A7985416B   ANDRADE           GARCIA                  OR     90010040798
6199425434B588   RACHEL            MOORE                   OK     21567992543
6199447994B27B   HENRY             EMODI                   NE     27020384799
6199516463168B   SHAWN             LEROY                   KS     90014741646
6199614985416B   JOE               JAMES                   OR     90011461498
61996A99872B29   JESUS             EPIFANIO                CO     33090150998
6199731782B227   SHERRITA          KELLY                   DC     90004333178
6199782474B588   JESSE             DOBBS                   OK     90012778247
619978A448166B   TERRI             SCHWIERZKE              MO     90014908044
61997995A5B392   ANITA             WHITTER                 OR     90011929950
61998313572B27   JUAN              GONZALEZ                CO     90013913135
6199852277B46B   MARTIN            DOE                     NC     90014185227
6199877145B392   MARK              JAMES SHARP             OR     44569867714
619991A685B531   BRANDY            TALAMANTE               NM     90005191068
619994A1687B31   HEATHER R         JACKS                   AR     28075074016
6199B2A7572B36   MIREYA            CHICO                   CO     90012052075
6199B5A856188B   MARLYN            CLAY                    IL     90014275085
6199B672291894   CHRISSA           TIGER                   OK     90011696722
6199B72664B27B   ALICE             HILL                    NE     27049407266
619B1286987B31   JOESPH            HOWARD                  AR     90012632869
619B129355B271   YVONNE MECHELLE   FULKS                   KY     90013442935
619B1473247996   JOSE              PINEDA                  AR     25043344732
619B1625155975   JUSTINA           MACIAS                  CA     48009296251
619B1678772B36   ALMA              MARQUEZ                 CO     90012746787
619B2229847996   WANDA             TABAR                   AR     25007712298
619B2251261494   JOSE              FLORES                  OH     90013932512
619B2573461964   LORIELLE          HARRISON                CA     90010995734
619B2732A91522   GABRIELA          DICKERSON               TX     90005517320
619B36A835B235   BRITTANY          GOFF                    KY     90012266083
619B395494B522   CORNELL           ADAMS                   OK     90005019549
619B4253784392   AVENLEA           CASELLA                 SC     90002622537
619B44A264B588   ELISHA            CHEADLE                 OK     90009074026
619B4668772B43   PEPE              ALAMILLO                CO     33004726687
619B4833A71921   JAMIE             COLEMAN                 CO     90015138330
619B4A84757538   DEBRA             SANCHEZ                 NM     35582960847
619B5467797125   TABITHA           SEARS                   OR     90004734677
619B5732A91522   GABRIELA          DICKERSON               TX     90005517320
619B5746891894   SALVADOR          DE LA ROSA              OK     90013697468
619B5831733698   SYDNEY            DESHAZO                 NC     90011208317
619B5915131454   ELAINE            BUTLER                  MO     90009869151
619B5AA825B392   VERONICA          ROJAS                   OR     44529030082
619B645115B392   DARLENE           GILROY                  OR     44582994511
619B653252B558   BRITTANY          REED                    AL     90013835325
619B6772757538   TANIA             COBOS                   NM     90014877727
619B679784B588   RICHARD           GOMEZ                   OK     21526087978
619B6883855975   CYNTHIA           HERNANDEZ               CA     90013868838
619B68A9963646   TAMMI             HERBEL                  MO     90015408099
619B7595861936   JOSE              SANTOS VALDEZ           CA     46096845958
619B7672372B29   KELLY             JOHNSON                 CO     90014186723
619B787325B392   LARRY EARL        BROWN                   OR     90014838732
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 333 of 2350


619B8363372B43   REBECCA      BARRETT                      CO     33046793633
619B8A91663646   PAYGO        IVR ACTIVATION               MO     90013420916
619B936574B588   BILL         COZENS                       OK     21531043657
619B937A88166B   ANITA        RANDALE                      MO     90012623708
619B95A3272B43   DAWN         HUNT                         CO     33004535032
619B9787698B22   ADOLPHUS     BOB                          NC     11047427876
619BB422855975   NIVRAM       LOPEZ                        CA     90013584228
619BB589687B31   STEPHANIE    SMITH                        AR     90001105896
619BB68A491894   JAMES        WOOD                         OK     90004456804
619BB7A228B168   MICHAEL      MORLEY                       UT     90010367022
619BB961A91525   MARIBEL      AYABAR                       TX     90010499610
619BBA13557538   FLORA        DURAN                        NM     90014140135
619BBA97772B29   ABIMAEL      BELTRAN                      CO     90014610977
61B1131815B392   ALEJANDRO    BARRERA                      OR     44559773181
61B1133448166B   DAYNA        TURNER                       MO     90008373344
61B11381A84392   JENJI        SMITH                        SC     90012913810
61B11554431453   MATT         BOLTAS                       MO     90012665544
61B1222617B46B   LARRY        BLACK                        NC     90011612261
61B1253445B271   ISHIA        KIRKPATRICK                  KY     90005415344
61B12558155973   AIMEE        MURPHY                       CA     48085025581
61B12786557538   ANDRADE      MANUEL                       NM     90004097865
61B1337425B235   CRYSTAL      BEARD                        KY     90010763742
61B13416863646   GLYNNIS      ANDERSON                     MO     27569044168
61B1434298B169   VICTORINA    HERNANDEZ                    UT     90012743429
61B146A7A91975   SAMANTHA     THOMPKINS                    NC     90013076070
61B14922472B29   AL           PULLMAN                      CO     33064289224
61B14937147996   TANYA        ACUFF                        AR     25009849371
61B1551744B588   ROMERO       JOHNSON                      OK     90014085174
61B15535172B43   HOLLI        FERNANDEZ                    CO     33095705351
61B15757171232   JOHN         TROVATO                      IA     90014397571
61B1598875416B   CHARLES      MURPHY                       OR     90012689887
61B16312276B57   IRENE        POTTER                       CA     46096733122
61B16714761964   BRIDGET      KNIGHT                       CA     90013857147
61B16962291975   DEZMEN       JOHNSON                      NC     90003309622
61B1769564B27B   CHARLOTTE    PINKNNY                      NE     27027436956
61B1815825416B   BARBARA      SILVIA                       OR     47097071582
61B18637361964   AIOTEST1     DONOTTOUCH                   CA     90015116373
61B18651361931   DANIEL       REYNOSO                      CA     90009816513
61B18774184347   ANTOINE      WILLIAMS                     SC     14572657741
61B19283772B43   IVON         GARCIA                       CO     90012112837
61B1944355B271   DALE         GOODMAN                      KY     68032304435
61B19664872B27   JOHN         ADAMS                        CO     33070816648
61B1991355B392   DARLENE      HOWARD                       OR     44571029135
61B19AA7397B56   NORMA        GAYTAN                       CO     90011350073
61B1B23AA8166B   NATOSHUA     MORTIN                       MO     90005052300
61B1B48464B268   VICTOR       ALVARADO                     NE     90008764846
61B1B613131453   INASS        ELOUERRASSI                  MO     27500586131
61B1B712672B29   VIRGINA      BESSERT                      CO     90011457126
61B1B942887B31   JESSE        FAUGHT                       AR     90008519428
61B1BA33133698   CONSTANCE    CANNON                       NC     12080240331
61B21124A87B31   SHARAE       HARRIS                       AR     90013551240
61B21486772B27   PALENCIA     EVELYN                       CO     90012164867
61B2154A48B168   DOLORES      RAMIREZ                      UT     31015595404
61B2157A931453   THOMAS       CORNELIUS                    MO     90014915709
61B218A865416B   TONYA        WHITE                        OR     47025448086
61B2192A34B588   LAWANEA      STEVENS                      OK     90014769203
61B21948963646   COLIN        LECHNER                      MO     90011529489
61B21A8A291894   APRIL        ALLEN                        OK     21001550802
61B227A595B235   SHAY         GREEN                        KY     90014987059
61B22914931445   SERITA       STOKES                       MO     90002459149
61B22992155973   LEAH         MUNOZ                        CA     48079859921
61B23182384392   NICHOLE      RAINEY                       SC     19090881823
61B23291972B27   ADELA        FLORES                       CO     33007102919
61B2339175B235   JAMES        ALKER                        KY     90014223917
61B23718672B43   DEVAUGHN     BOWENS                       CO     90013827186
61B23919991975   RONALD       BURTON                       NC     90013809199
61B24473455973   ANTHONY      CRUZ                         CA     48046414734
61B2525184B588   MARIA        SANCHEZ                      OK     21513712518
61B25375A5B271   LATRICE      BUNDLEY                      KY     90002833750
61B258A988B168   OLGA         VASQUEZ                      UT     90000638098
61B2597187B46B   JOYCE        MACK                         NC     90014159718
61B25992897125   ALBERTO      ZUNIGA                       OR     90006969928
61B262A5691894   SHARON       BRUMFIELD                    OK     90013962056
61B26A4914B588   PRUDENCIO    ZAMARRIPA                    OK     90003440491
61B27595A5B392   KASEY        KENT                         OR     90005445950
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 334 of 2350


61B27A5A172B27   MARIO         HERNANDEZ GUERRA            CO     33096470501
61B27A75684392   JUSTIN        MACK                        SC     90001400756
61B2819685416B   MICHELLE      ROHR                        OR     90015431968
61B2833884B588   MARIA         PEDROZA                     OK     90011123388
61B28579187B31   LAMANDA       BOWLIN                      AR     28005645791
61B2919A35B392   ANTHONY       MCCONNELL                   OR     90014781903
61B2935A633698   ISHAUN        FAIR                        NC     90014993506
61B2B466A4B588   TISHA         SAMILTON                    OK     90012354660
61B2B811791975   JOSE          PRADO                       NC     90012368117
61B2BA9345B531   MICHAEL       CISNEROS                    NM     90014560934
61B2BA9885416B   SHANA         GIGER                       OR     90010520988
61B3157348B168   BERNARDO      TORRES                      UT     31088125734
61B3168737B46B   JOANN         GRESHAM                     NC     90014176873
61B31A6685416B   SAMANTHA      ASHBURN                     OR     90014650668
61B32248772B29   CHAVEZ        RAUL                        CO     90007842487
61B32251461936   EBONY         DAILEY                      CA     90010282514
61B32464397B64   TREVIN        HOMACK                      CO     90009504643
61B33A94155973   MONICA        ASEVEDO                     CA     48050370941
61B34861572B29   LANI          ANDERSON                    CO     33085228615
61B35247231453   LORRAINE      WOODSON                     MO     90013752472
61B35254155975   ELOY          CARDANAS                    CA     90015242541
61B35356163646   CHRIS         FREEMAN                     MO     90008603561
61B35736861964   MIGUEL        GALBAN                      CA     46029537368
61B36248772B29   CHAVEZ        RAUL                        CO     90007842487
61B36387431453   MONIQUE       RAINER                      MO     90014823874
61B3743672B27B   TIFFANY       SANDERS                     DC     90008624367
61B37586772B36   RON           DOXTATER                    CO     90008925867
61B3767684B588   LORRAINE      BRZEZENSKI                  OK     90007166768
61B377A9A41299   BRYAN         HURST                       PA     90001927090
61B3898767B46B   MARIO         PINENTERO                   NC     90014159876
61B38A88772B27   DIANA         VARGAS-COLMENERO            CO     90013740887
61B3953564B268   TIM           STRICKLIN                   NE     90008765356
61B3981567B46B   TAMMEY        MC CLELLAN                  NC     90011178156
61B3991424B27B   ROBERT        MASON JR                    NE     27090989142
61B3B73994B588   CALMEN        LITTLETON                   OK     21503407399
61B3B8AA64B268   DANIEL        MCWILLIAMS                  NE     90014108006
61B3B92655B531   TRENTON       WOOTERS                     NM     90013469265
61B4139A557538   JIMENEZ       RUFINO                      NM     90005883905
61B4167694B268   CASEY         WILSON                      NE     90006966769
61B418A3191894   KENNETH       HONEYCUTT                   OK     21041118031
61B41A31163646   TAMARA        REEVES                      MO     27510300311
61B42161263646   VICTOR        LEE                         MO     90012351612
61B42193261964   SANDRA        ALFARO                      CA     90010231932
61B4236285B235   FRANCISCO     LOPEZ                       KY     68054083628
61B42461531453   LATASHA       PARKER                      MO     27573724615
61B42544472B27   JUSTIN        MOURRAY                     CO     90013875444
61B4298927B46B   MARITZA       ESCOBAR                     NC     90014159892
61B43143184392   ROSHELL       MITCHELL                    SC     19043901431
61B43212161964   ELOISA        ANGEL                       CA     90007342121
61B4336144B588   SHARON        WINSTAD                     OK     90008683614
61B43885324B7B   MARVIN        GOMEZ                       DC     90006338853
61B4439618166B   KELLY         HOLMBERG                    MO     90011083961
61B4452A45416B   SHAWN         RANDALL                     OR     90014095204
61B44A71872B29   BRENDA        RICHARDSON                  CO     90012020718
61B45116372B29   LINDA         HUFFCUT                     CO     90013361163
61B4517898B168   BROOKE        DURHAM                      UT     90002791789
61B451A6361964   BRENT         DEMOSS                      CA     90013101063
61B4523398166B   ALAN          RATHGEBER                   MO     29092002339
61B45853444335   RALPH         COLEMAN                     DC     82013278534
61B45A1357B632   ANGELA        WILSON                      GA     90012310135
61B45A56191894   JOSEPH        SHARP                       OK     90014740561
61B4629748B168   CRYSTAL       THOMAS                      UT     90009462974
61B46814772B27   PORTIA        TUCKER                      CO     90013548147
61B46AA6991894   AMY           GREENE                      OK     90011660069
61B47117861964   GUILLERMO A   GONZALEZ                    CA     90009991178
61B474A9872B27   JEROME        WATREN                      CO     90009184098
61B475A284B588   LISA          CLARK                       OK     90012695028
61B4766172B27B   LUVINIA       CARTER                      VA     81015896617
61B4768198B346   ORLANDO       BROWN                       SC     90012576819
61B4771A78B168   GRETA         SUAREZ                      UT     31094567107
61B4796599715B   JACK          BECKWITH                    OR     90007809659
61B47A2A97B46B   ADRIAN        DIAZ                        NC     90014160209
61B47A4A972B43   KATHY         LOPEZ                       CO     90015030409
61B4849354B588   ANGELICA      YBARRA                      OK     90007564935
61B49129571921   JASON         COCHRAN                     CO     90002551295
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 335 of 2350


61B49253751354   KELLIE        CALDWELL                    OH     90010632537
61B49835531453   RAYMOND       HINES                       MO     27559998355
61B4995755416B   MARCI         WOODY                       OR     90007819575
61B49A6415B235   CHERIE        WOOD                        KY     90015120641
61B4B13A255973   SAMUEL        HERNANDEZ                   CA     90014381302
61B4B38AA5416B   TYLER         NOLAN                       OR     90014923800
61B4B39895B235   JONATHON      SERRIA                      KY     90010653989
61B4B4A2872B29   SHERRY        WILSON                      CO     90009984028
61B51256691975   MIRACLE       MADDOX                      NC     90014382566
61B51524591525   NORMA         YOUNTS                      TX     90002015245
61B51781A57538   LIDIA         MARTINEZ                    NM     90014037810
61B51835855973   TAYNA         PASILLAS                    CA     90013268358
61B51894472B36   SHAWN         BROTHERTON                  CO     33095228944
61B51921591894   CHERYL        GROGAN                      OK     90002509215
61B5217AA55973   FABIOLA       MORALES                     CA     48094361700
61B5223A351354   BEAU          KELLY                       OH     90007052303
61B5232448B194   CHRISTOPHER   GROVER                      UT     90010583244
61B52491876B57   MAURA         BARRERA                     CA     90008364918
61B53272355973   GEORGE        RODRIGUEZ                   CA     90005972723
61B5374A761964   TERESA        NUNEZ                       CA     90009277407
61B54452591894   WILLIS        JOHNSON                     OK     90015304525
61B5448927B46B   TIJUANA       MARTIN                      NC     90015044892
61B54578991975   JESSE         WILSON                      NC     90002825789
61B54714772B43   MIGUEL        FUENTES                     CO     90002067147
61B5475967B13B   RACHEL        WIGER                       ND     90012577596
61B5484184B52B   LISA          BRADFORD                    OK     90012428418
61B54A4A27B46B   TIJUANA       MARTIN                      NC     90014160402
61B5521127B46B   LEONEL        ARCOS                       NC     11021322112
61B55911955928   JOSEFA        NERI                        CA     90009579119
61B56387871921   JEREMY        GELL                        CO     90014873878
61B57118193726   BARBARA       ROBINSON                    OH     90010401181
61B57662971921   QUIZZIE       SHELTON                     CO     90012656629
61B58196931453   SHEILA        SMITH                       MO     27532161969
61B59483171969   JEANNIE       VALLEJOS                    CO     38038644831
61B59551261936   NGHIA         BUI                         CA     46022845512
61B5B133755941   DIANA         VARGAS                      CA     90009311337
61B5B25213168B   SANDRA        GONZALEZ                    KS     22057232521
61B5B572772B43   MARIA         ALCARAZ                     CO     33071395727
61B5B57314B588   ANGEL         CARRILLO                    OK     90013925731
61B5B656676B84   JULIO         ALVAREZ                     CA     90006536566
61B5B81835B235   KIMBERLY      NEWTON                      KY     90005908183
61B5BA8A672B36   MELODY        BELL                        CO     33011310806
61B61363372B43   MARCO         MARTINEZ                    CO     90009743633
61B6137155B271   CHARLES       BROWN                       KY     68049363715
61B6145A955973   ASHLEY        SHELTON                     CA     90009844509
61B61572357538   RUBEN         DIAZ                        NM     35583735723
61B62471361936   MARISOL       TAGLE                       CA     90003204713
61B62812572B27   ALAN          CLAPHAM                     CO     33053528125
61B6284A872B36   CARLOS        CHAVEZ                      CO     33044778408
61B629A873B132   HECTOR        MANUEL AGUILAR              DC     90007799087
61B63111463646   JAY           WEST                        MO     90012651114
61B6336A731453   CAROLYNN      MORALES                     MO     90004733607
61B6378AA7B46B   ORALIA        GONZALEZ                    NC     90001097800
61B63A83884392   RON           CATES                       SC     90012090838
61B6421317B329   BLANCA        CALERO                      VA     90012172131
61B6431552B27B   TASHA         NORRIS                      DC     90014163155
61B64771157538   DEBRA         GOTTRELL                    NM     35561307711
61B649A5655973   DEISY         RODRIGUEZ                   CA     90007699056
61B65513187B31   COURTNEY      TROOST                      AR     90005005131
61B655A915137B   NICCI         DAVENPORT                   OH     90009385091
61B65633531453   MARIAH        MARTIN                      MO     90013846335
61B65893661936   GEORGE        SMITH                       CA     90001418936
61B66261A57538   CRYSTAL       HERMOSILLO                  NM     90009112610
61B6633AA91894   JAVIER        RUIZ                        OK     90014163300
61B6636234B588   LATISHA       GARRETT                     OK     90006623623
61B66524A5B392   VICTORIA      AVILA                       OR     90010895240
61B66A92272B43   VINCENT       CALACI                      CO     90015280922
61B6723135B271   JOCI          MERRIWEATHER                KY     68034022313
61B67338155973   VANESSA       SANCHEZ                     CA     90015173381
61B6777755B392   NOCHOLAS      BAKER                       OR     90011197775
61B688AA261881   MIKE          STOVER                      IL     90015478002
61B6931365B531   JAVIER        GALDAMEZ                    NM     90001843136
61B69325957538   GABRIEL       ORDONEZ                     NM     35542943259
61B69475887B55   VALARIE       EDNA                        AR     90006424758
61B69827761936   ABEL          MENDEZ                      CA     90014698277
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 336 of 2350


61B69A81724B7B   GWEN            SHOWELL                   DC     90011260817
61B6B29472B27B   LUVINIA         CARTER                    NC     90014162947
61B6B49523168B   DAWN            WADE                      KS     22085864952
61B6B668561936   GODFREY         OGBEGBE                   CA     90011526685
61B7118498166B   CHELSEA         MCGEE                     MO     90010921849
61B716A6391975   CHAQUETTA       SMALL                     NC     90010806063
61B71853471921   ADRIANNA        SOOS                      CO     90010918534
61B7251142B27B   JUAN            VELASQUEZ-TUCUX           DC     81046525114
61B7265644B27B   LEONIDEZ        MARTINEZ                  NE     90012896564
61B7346484B27B   MOLLY           MAXWELL                   NE     90013274648
61B73523991975   FERN            CAMPBELL                  NC     90012135239
61B7421464B588   LAUREN          OSCEOLA                   OK     90014972146
61B74235A72B29   ZOHAR V         HINOJOS MUNOZ             CO     90006282350
61B74346631453   SHANTAJA        GRAHAM                    MO     90005133466
61B7442A933698   SHANIQUA        BROWN                     NC     90000244209
61B7479A94B588   MARIA           DE LARA HERNANDEZ         OK     90006317909
61B74811172482   VICTORIA        MILLER                    PA     51087478111
61B74A85491894   ALISIA          LUETHJE                   OK     90011660854
61B75539155973   MARK            SCHAUDRA                  CA     48074615391
61B75A72672B27   HOPE            BERTSCH                   CO     33079100726
61B7613923B125   FREDY           FLORES                    VA     90003151392
61B76252761936   DANIEL ISMAEL   PEDROZA-HOFFMAN           CA     90014272527
61B76689172B27   JOSHUA          GARCIA                    CO     33000536891
61B76744455975   KENNETH         STEWART                   CA     48029287444
61B76843A72B36   EDDIE           MASCARENAS JR             CO     33089298430
61B76858531453   ALISHA          RUSH                      MO     90015078585
61B7692995416B   TINA            SMELTZER                  OR     47061499299
61B76A65291894   ROSA            PEREZ                     OK     90010430652
61B77372684392   JANE            HOUTWED                   SC     19078413726
61B782A6955975   ANICA           RIOS                      CA     90013892069
61B784A975B176   CHRISTINA       CANALES                   AR     90013544097
61B7872654B588   KENNETH         WOOD                      OK     90000197265
61B78A9197B46B   MIREYA          CRUZ                      NC     90014160919
61B7956115B531   URSULA          OVERBY                    NM     36008195611
61B79567955975   HEIDI           LARA                      CA     90010275679
61B79686487B31   NICOLE          KELNHOFER                 AR     90015086864
61B7998945B235   MAVONA          UTLEY                     KY     68052939894
61B7B363A71921   MAURICE         KENTISH                   CO     32046293630
61B7B653A8166B   JANITA          BRISCOE                   MO     29060916530
61B7B673584392   GEORGE          MURRAY II                 SC     19020846735
61B7B729991975   ARGELIA         PEREZ                     NC     17089457299
61B7B735391894   KANDIS          GLAVIN                    OK     21001927353
61B81149A8166B   HOWARD          KIMBLE                    MO     29011691490
61B8132A255975   VILLA           GERARDO                   CA     90007763202
61B81697493751   MIKAIL          SHIRINOV                  OH     90009416974
61B81878291894   JENNIFER        MINOR                     OK     90013128782
61B8191689182B   NATHAN          GRIFFIN                   OK     90009189168
61B81A7712B352   MAYRA           ROMAN                     CT     90014040771
61B82331591975   WANDA           SOLOMON                   NC     90010693315
61B82869551335   MARIO           ARREAGA                   OH     90008438695
61B82A85581678   ROY             KIRKENDALL                MO     90001290855
61B83148672B27   DELIA           AGUSTIN                   CO     90009011486
61B84446272B36   MANUEL          GARCIA                    CO     33058744462
61B8467988B355   HEATHER         HARMON                    SC     90015346798
61B84A42891975   KEVIN           LEE                       NC     90013880428
61B8668815B271   CHRIS           STILTS                    KY     68067136881
61B87492A55975   MARIA           DE LA TORRE               CA     48012124920
61B87732963646   PERRY           MONTESI                   MO     27566287329
61B888A178166B   AMIE            REEVES                    MO     90014348017
61B88997A84392   WILSON          ARGUETA                   SC     90003969970
61B8927663B394   EMILY           HULL                      CO     90009082766
61B89431A72B29   ZZAHCARY        BARGER                    CO     90013104310
61B89A9747B46B   COURTNEY        SHULER                    NC     90014160974
61B8B28A43168B   ASHLEY          CONLEY                    KS     90007592804
61B8B79A772B36   JUAN            SORIA                     CO     90002957907
61B8B88A761964   YOLANDA         TUTSON                    CA     90012568807
61B9119298166B   JOEL            GUERRERO                  MO     90010921929
61B9129A12B841   DEBBIE          MCCARTY                   ID     90001412901
61B91335572B29   FORREST         TUCKER                    CO     33008263355
61B9144327B46B   CHARLES         CARSON                    NC     90008164432
61B91448387B31   ROSHON          HARRIS                    AR     90002454483
61B91581631453   ANDRE           YOUNG                     MO     27587785816
61B91811855975   JOSIE           CRUZ                      CA     90010348118
61B924A228166B   MAURICE         CRADLOCK                  MO     90015304022
61B9271AA51354   ERICA           COMPTON                   OH     90013807100
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 337 of 2350


61B92744971921   KEVIN              FELKER                 CO     32088117449
61B931A1872B36   SERGIO MAGDALENO   RAMIREZ                CO     90010861018
61B93252163646   CHASTITY           BRELSFORD              MO     27587612521
61B9388A457549   GABRIEL            LUCERO                 NM     90006218804
61B9415344B56B   JACQUELINE         BALMOI                 OK     90009601534
61B9436A872B27   FRANCISCO          SILVA                  CO     33006023608
61B9453118B168   ELADIA             LOPEZ                  UT     90014625311
61B945A7187B31   TATYANA            GIBSON                 AR     90011175071
61B94765361936   MARK               PEDERSON               CA     90008787653
61B9546974B588   LAKESHIA           COBB                   OK     21548544697
61B95476761936   JOANN              MCFANN                 CA     46069934767
61B95572A87B31   ANTHONY            CRAWFORD               AR     90015045720
61B95588572B43   JUAN-JOSE          MONCADA                CO     90011025885
61B9564155B531   ELVA               OCHOA                  NM     90005526415
61B95697A87B31   ROBERT             BUFORD                 AR     28083756970
61B95781391522   MIGUEL             ARROYO                 TX     75048737813
61B95844533698   DANIELLE           GRAY                   NC     90014188445
61B963A3461936   MANUEL             MUNOZ                  CA     90010833034
61B964A2872B29   MARTIN             GOMEZ BUENO            CO     33017784028
61B965A7887B31   DELORES            ROBINSON               AR     90001415078
61B9676A94B588   SUNNY              WILSON                 OK     90013167609
61B97163684392   JAMES              GRAHAM                 SC     19020181636
61B9724A271921   KIRK               GRAYAM                 CO     32049562402
61B975A5133698   LOUANNA            MOLINA                 NC     12085605051
61B98395272B29   ADELA              PORTILLO               CO     33084183952
61B9874A18166B   TRIVA              JACKSON                MO     29072417401
61B98A99155975   DALIA              GARCIA                 CA     90011140991
61B99785A71921   DAVENIA            WALKER                 CO     32002717850
61B998A1A55975   RICKY              BARRERA                CA     90012688010
61B9B393885877   AMIR               GHOBADI                CA     90007583938
61B9B426472B43   REYNA              QUINONEZ               CO     33048064264
61B9B717972B36   SHAWANA            VIEYRA                 CO     90013137179
61B9B812657538   BONNIE             BARNES                 NM     90000288126
61B9B94988B168   MICHELLE           MORRIS                 UT     90013819498
61B9BAA155B235   MARQUES            SCOTT                  KY     90000240015
61BB139188B371   LAQUISTA           SATTERWHITE            SC     90011223918
61BB163374B588   ROBERT             FIELDER                OK     90007096337
61BB1AA6855975   BREANA             LOPEZ                  CA     90013910068
61BB2188672B27   JAMES              HANSON                 CO     33092811886
61BB2252155975   GLORIA             JOVEN                  CA     48005992521
61BB3288791975   CHINO              MORALES                NC     90015142887
61BB331A255973   RAY                PERKINS                CA     90012773102
61BB4142455973   VICTORIA           PALACIO                CA     90013971424
61BB486695416B   JUSTIN             BROWN                  OR     90015338669
61BB4915857538   KRYSTAL            NANEZ                  NM     90013099158
61BB515184B27B   SHAUN              WALKER                 IA     90013531518
61BB5153757538   LIZBETH            ORTEGA                 NM     90013021537
61BB533625B235   JONATHAN           HERNANDEZ              KY     68072093362
61BB5925655973   BIANCA             BRAVO                  CA     48074729256
61BB666935B392   YASHAWN            ALLEN                  OR     90012816693
61BB668717B46B   MAILA              LOPEZ NAVARRO          NC     90014176871
61BB6999955975   ADRIAN             RODRIGUEZ              CA     90008989999
61BB7278197125   RICHARD            MCCLURE                OR     90006952781
61BB7348472B43   MARIA              MIER                   CO     90000263484
61BB8317A5B392   AMY                ALVIZURES              OR     90009733170
61BB8851157B78   JAMES              LEWIS                  PA     90013928511
61BB9172457B76   MATTHEW            KINHE                  PA     90014111724
61BB9737757538   JESSICA            MANCHA                 NM     90012597377
61BB983653168B   AYANNA             GREEN                  KS     90008448365
61BB9975A55973   ADRIANA            DELACRUZ               CA     48030459750
61BBB47818166B   ESTETICA           ILUSSION LLC           KS     90014784781
61BBB6A274B268   MICHAEL            BOYLE                  NE     27089926027
61BBBA7822B949   AZIZ               JACOBS                 CA     45021610782
6211112395416B   BRIAN              GAY                    OR     47091861239
6211113615B241   TESFAGUER          HADGU                  KY     68097821361
6211137168B169   JOSHUA             DEAN                   UT     31000713716
6211162797244B   JEFFERY            SIMANTON               PA     90002926279
621123A2A72B27   D                  SHADOW                 CO     33081803020
6211261145B571   MARISOL            OROSCO                 NM     90013786114
62112727A72B36   CLARISSA           MEDRANO                CO     90007987270
62113788A55977   KA                 LEE                    CA     90011897880
62113A65831476   SHERMAN            COLE                   MO     90008630658
62114175172B27   AMBER              STROCK                 CO     90013151751
6211426675416B   NORA               ESTRADA                OR     90010942667
6211435A397121   JOSE               SOLORIO ALVAREZ        OR     44028663503
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 338 of 2350


6211534A14B588   MICHAEL      LORING                       OK     90008553401
6211565955B531   MIRTA        RODRIGUEZ                    NM     36068366595
6211576415416B   BARBARRA     KELSO                        OR     90013517641
6211625393168B   CHARVONDA    ELLIOT                       KS     22013992539
6211777442B27B   JUSNITA      DORSEY                       DC     81017607744
6211815413168B   JENNIFER     TAFOYA                       KS     22072051541
6211852414B588   ANGELA       THOMPSON                     OK     90013715241
62118635A55975   MIGUEL       FIGUEROA                     CA     90014546350
62118938772B27   SCHARPER     JIM EDWARD                   CO     33068989387
6211911568B169   ALFREDO      GARCIA                       UT     90004431156
62119142772B43   STEPHANIE    JUDY                         CO     90014791427
62119238272B43   ALEJANDRO    SANDOVAL                     CO     90012232382
62119769963B88   ROBERT       MARTELL                      IL     90001027699
6211B5A234B588   LESLEY       LENA                         OK     90005355023
6211B828472B27   MARIA        RUIZ                         CO     90013188284
62121316672B36   REYNA        AVILA                        CO     90015003166
6212138612B27B   GEORGE       ROMERO                       VA     90012533861
62121A59357538   VILLALPAND   DESIREE                      NM     90000630593
6212242A372B27   ELBA         RODRIGUEZ                    CO     90009404203
62122468A57538   SOCORRO      HIDALGO                      NM     90011804680
62122A67151354   ROBIN        ZELLERS                      OH     66000210671
6212389428B843   JOHANSEN     BORGES-PAIVA                 HI     90015098942
6212415A781644   MARCELA      CORONA                       MO     90012341507
621241A1991522   ANTONIO      PENA                         TX     90014371019
62124A15991522   LLANES       SANDRA                       TX     90011590159
62125116A72B27   ROBERTA      RATCLIFF                     CO     33020751160
6212554944B57B   KEITH        MILLIKEN                     OK     90010595494
62125888A5B531   SANDY        VALENZUELA                   NM     36039428880
6212591A27B46B   MELISSA      ALMEIDA                      NC     90005899102
6212637282B949   JORGE        HERNANDEZ                    CA     90009533728
6212683925416B   KINDI        PASCHALL                     OR     90012608392
621269A1572B29   CRYSTAL      HUNT                         CO     90005229015
62126A6A64B27B   AIDE         HERNANDEZ                    NE     90000780606
62126A9194B588   TONI         EDWARDS                      OK     90011940919
6212716428B354   NILISA       GARRETT                      SC     90015391642
6212755455B241   MICHELLE     PIERCY                       KY     90001735545
621278A6861964   HUE          EDWARDS                      CA     46085288068
621281A5272B29   HILMER       CAMPOS                       CO     90012621052
621281AA65B531   JESUS        GARCIA-LOPEZ                 NM     90013241006
6212854A85B235   MICHELLE     BARGO                        KY     90014585408
6212887575B235   MICHELLE     BARGO                        KY     90010898757
62128A18172B27   ALETTA       MARTINEZ                     CO     33070050181
6212915A472B43   MATTHEW      NADEAU                       CO     33020081504
62129254A7B385   SERGIO       MOLINA                       VA     90006352540
62129671A97121   ALEX         MAMETIEV                     OR     90005406710
6212B737461936   ANDREA J     VAZQUEZ                      CA     90009057374
6212BA7167194B   JESSICA      SMITH                        CO     90012280716
6213161A297121   RUFINA       ROJAS                        OR     90004366102
62131A6558B169   CHRISTOPHE   BREDING                      UT     31009820655
6213257233168B   CARSON       SINCLAIR                     KS     90014825723
62133336372B29   JOSEPH       CHAVEZ                       CO     90012183363
6213352A455993   JUAN         SERBIN                       CA     48005725204
62133782572B43   NIKKI        RIVERA                       CO     90002867825
6213442394B588   FAITH        SALLASKA                     OK     90008744239
62134438272B29   RAUL         MERAZ                        CO     33017314382
6213467254B27B   SOL          COLON                        NE     90002846725
62135285A5416B   PHILLIP      SCHREPEL                     OR     47061702850
6213537752B269   RAQUILLA     FELDER                       DC     90002813775
6213574A95B531   NIDIA        ARIAS QUEZADA                NM     36049367409
621371A2355975   ANGELA       ROBERTS                      CA     90007261023
6213768492B27B   SHAMIKA      HARRIS                       VA     90014886849
62137A67284392   CONNETT      GILLARD                      SC     90013300672
6213835234B588   ANTONIO      SIMPSON                      OK     90012363523
62138629972B29   ARIC         HILL                         CO     33074036299
62139A47891522   GABRIELA     ESCARZAGA                    TX     90011590478
62139A72984392   HUNTER       HUBBS                        SC     90012720729
6213B11927B46B   LARRY        ASHFORD                      NC     90007151192
6213B155255973   SONIA        LOPEZ                        CA     90010131552
6213B237697121   DANIELA      DURAN                        OR     90012982376
6213B485672B43   ELIZABETH    OROSCO                       CO     33002154856
621412A5861936   MARY LOU     PELAYO                       CA     90010832058
62141988A51354   DUSTIN       DILLON                       OH     90013289880
6214215767B46B   ROD          SMITH                        NC     90003901576
62142A41472B29   BRYAN        ARAGON                       CO     90008120414
62143313372B27   ISRAEL       CRISTO                       CO     90011503133
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 339 of 2350


62143829672B29   OFELIA       ESPARSA                      CO     90013988296
62143A29A4B588   TAMMY        STEVENSON                    OK     21503020290
62143A58963646   PAYGO        IVR ACTIVATION               MO     90014050589
62143A72384392   COREY        BELL                         SC     90013850723
62143A89757544   MARY         LIGHT                        NM     90004540897
6214555944B549   GLENDA       GREENHOWARD                  OK     90008605594
621455A5572B27   DEONDRAE     LASHUN GIBBS                 CO     90010075055
6214625A457544   JEMAL        HADDAD                       NM     90006012504
6214632375B531   OMAR         AGUIRRE                      NM     36092813237
62146588A8B168   SYDNY        GONZALEZ                     UT     90008795880
6214716168B163   REYES        MEDINA                       UT     90000731616
6214776165B235   BARBRA       GRAHAM                       KY     68098317616
6214813532B27B   PAYGO        IVR ACTIVATION               VA     90009461353
6214921A381644   JAMES        NOEL                         MO     29039872103
621494A6857544   ANTOINETTE   COYAZO                       NM     90015144068
62149556272B29   FLOR         ONTIVEROS MONTES             CO     90013335562
621495A865B531   VANESSA      ORNELAS                      NM     36001225086
62149A77555977   NICOLE       WILLIAMS                     CA     90010830775
6214B37A497121   RAUL         TABARA                       OR     90015043704
6214B563433698   JOSEPH       ROBERTS JR.                  NC     12090185634
6214B667584392   STACEY       FAVORS                       SC     19045976675
6215122A561964   WENDY        SANDOVAL                     CA     90012432205
62151A5525B531   RICARDO      DE LIRA MERAZ                NM     90014850552
6215212A755975   REBECCA      RODRIGUEZ                    MO     48011391207
621522A552B27B   BYRON        ANDERSON JR                  DC     81055202055
6215264377B46B   JESSICA      GREEN                        NC     90009056437
621528A6861964   HUE          EDWARDS                      CA     46085288068
62153112472B43   EDUARDO      GUERRERO                     CO     90003661124
62153252272B27   ANN          SILVA                        CO     90011052522
6215356673168B   CLARITA      JACKSON                      KS     90001195667
62153791A72B36   AUDELINA     VELASQUEZ                    CO     90014877910
62153A33197B57   RAMON        GUTIERREZ                    CO     39014220331
62154311172B29   RUBEN        LANDA                        CO     90003493111
6215467485416B   CATHY        SANCHEZ                      OR     47030816748
62154762A76B53   GUSTINO      GUILLEN                      CA     90011547620
62154A6A191522   DAMITIA      ANDERSON                     TX     90012070601
6215558624B27B   CLARA        JOSLIN                       IA     27008075862
621559A2355975   VICTOR       LEMUS                        CA     90012669023
62156186A4B27B   MESSANGAR    AGBOZO                       NE     27009051860
6215818968166B   OSCAR        GARCIA                       MO     90013941896
6215884523168B   RANDALL      TIDWELL                      KS     90004928452
62159339972B43   ANTONIO      MIRANDA-GARCIA               CO     33050953399
621595A8491522   TUESDAY      IVES                         TX     90014575084
6215964A12B949   CHERIKA      BLODGETT                     CA     90010356401
6215B128298B22   TASHANA      ALLEN                        NC     90007471282
6215B348772B27   ANDREA       NASH                         CO     90006283487
6215B681A97121   IRMA         PALADIN                      OR     90001646810
621614A1357544   LINDA        JUAREZ                       NM     90009654013
6216268512B27B   TWANA        DICKINSON                    DC     90000726851
62163548172B29   SHANNON      POOLE                        CO     33022535481
62164494872B27   VIRGINIA     STACEY                       CO     33034094948
6216454582B959   JEFF         DUPOINT                      CA     90010645458
62164A57672B29   KENT         ANDREWS                      CO     90013200576
6216533A74B588   AMANDA       RUCKER                       OK     90014183307
62165975A2B949   OLIVIA       ZERMENO                      CA     90013249750
6216612884B588   ROBERT       PORTERFIELD                  OK     21525731288
62166828472B27   MEAGAN       HESTER                       CO     90006958284
6216682A255975   ARTURO       LERA                         CA     90014998202
621675A5261936   MARIA        RODRIGUEZ                    CA     90011465052
62167A17397125   BETH         JOHNSON                      OR     90007370173
62168412272B36   MAGALY       MORENO                       CO     33078614122
621684A8897121   CARMEN       SOSSA                        OR     90015114088
6216873898166B   ERIC         BENSON                       MO     29015187389
6216899A33168B   TERESA       TRACY                        KS     90012549903
6216964515B235   DEMARCO      FLOWERS                      KY     90013816451
6216979927B357   RONALD       MCNULTY                      VA     90001117992
6216B247555975   MAI          XIONG                        CA     90014612475
6216B356172B29   TAMMY        PLIEGO HOPKINS               CO     33052063561
6216B54212B27B   JOSE         MALDONADO                    VA     81083445421
6216BA7575B235   JAREKA       RHODES                       KY     90015290757
621712A6161936   NORMA        DE LA CRUZ                   CA     46006062061
6217136195B531   JAMES        MEDINA                       NM     90011653619
6217183555B241   LATRICE      ELZY                         KY     90005778355
62171A43497125   TIFFANY      SPRINDSTED                   OR     90007370434
62172477724B7B   LONDON       SUMMERS                      DC     81016844777
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 340 of 2350


6217256769133B   KELLIE          BROWN                     KS     90011925676
621725A8554128   KRISTINA        FRAZIER                   OR     47079995085
621728A1A72B36   MICHAEL         CURTIS                    CO     90012468010
6217339133168B   RHIANNA         MCBROOM                   KS     22098563913
62173A94261964   ADELA           VARGAS                    CA     90008890942
621741A6A7B46B   DALRON          JOPLIN                    NC     11096271060
6217446375B531   VICTOR          HERRERA                   NM     90007074637
6217448933168B   STACY           BORDEAUX                  KS     90010934893
62174743A91522   RUTH            ARGELIA RAMIREZ           TX     90000527430
6217476242B949   SERGIO          TORREZ                    CA     45039437624
62175187672B27   LIDIA           MIRANDA                   CO     33065711876
62175778272B43   HENRY           MOYA                      CO     90001357782
621757A685B531   GRICELDA        GARCIA                    NM     90001627068
6217682244B27B   JUAN            HERNANDEZ                 IA     27072998224
6217683395B531   MARIO           MORALES RAMIREZ           NM     36079878339
62177167A57538   ROBERT          LUCERO                    NM     35503951670
62177281A2B949   SARAH           BURGESS                   CA     90010872810
62177451A2B27B   LASHAWN         LIPSCOMBE                 DC     81031274510
6217799647B46B   DALE            TOBIAS                    NC     90012769964
62177A21957544   WILLIAM         SWAIN                     NM     90010120219
6217853557B46B   JENNIFER        COLE                      NC     11068765355
6217859465B531   ERIKA           BALDERAS GUTIERREZ        NM     36063305946
6217859512B27B   ROBIN           LEWIS-LEMONS              DC     81015815951
62179A7915B235   ANGELA          STUBBS                    KY     68083820791
6217B187957538   LUIS            MUNOZ                     NM     90013781879
6217B276A5B531   GEORGIA         TRUJILLO                  NM     36060122760
6217B348A2B27B   TONY            OLDS                      DC     90015263480
6217BA43497125   TIFFANY         SPRINDSTED                OR     90007370434
621811A7233698   ABIGAIL         ANTONEZ                   NC     90011151072
62181253A5416B   DENNIS          HAGANS                    OR     90005412530
621817A2681621   JOSHUA          BURNETT                   MO     90007117026
621822A7755975   MAYRA           LOPEZ                     CA     90009622077
62182527572B29   VERONICA        HERNANDEZ                 CO     33063375275
6218326A733698   FRANKY JAMANI   OSAFO                     NC     90004292607
62184351172B29   GOMEZ           MELANIE                   CO     33015963511
621851A3672B36   ZENA            BARRERA                   CO     90003171036
6218542717B46B   BLANCA          GOMEZ                     NC     90008674271
621854A3797121   TANZY           HOLLINGSWORTH             OR     44040614037
6218561AA54121   ALEXIS          AVILES                    OR     90013476100
6218567784B588   FRANCISCO       MEZA                      OK     90015206778
621859AA18B168   CHRIS           LUTZ                      UT     31082989001
62185A28772B27   BOBBY           KIRKPATRICK               CO     90009410287
62185A73A3168B   LEAH            SUTTON                    KS     22055020730
6218614375416B   DAVID           GINGERY                   OR     90011101437
6218765395B531   KAYLEIGH        DURAN                     NM     90013646539
621876A7533698   LORETTA         COLEMAN                   NC     90012976075
62188244A72B36   GARRITTE        GLOVEZ                    CO     90012342440
62188599A4B27B   GREGORIA        LAGOS LOPEZ               NE     90009325990
62188614372B43   GINA            BOSSMAN                   CO     90003736143
6218872A88B168   KELLY           SMITH                     UT     31098657208
6218882653B125   SYLVESTER       DANDRIDGE                 DC     90005368265
6218931914B588   SHANE           LAMBERT                   OK     90014623191
62189A65297121   FEDRERICK       HENDRIX                   OR     90009080652
6218B187A51354   DANIEL          RUIZ MARTINEZ             OH     90003991870
6218B585A5B531   NANCY           LOPEZ                     NM     90010545850
6218B646172B27   CHRISTINE       JOHNSON                   CO     90000296461
6218B943431453   AMBER           WAKER                     MO     90006499434
62191839372B43   DOVAUGHN        NORMAN                    CO     33075278393
62191A66157544   TERRANCE        ROBERTS                   NM     90015150661
6219212A872B29   IAN             KERNAN                    CO     33054801208
62192183A97121   MARIA           GUTIERREZ GARICA          OR     90015181830
62192254A7B385   SERGIO          MOLINA                    VA     90006352540
62192432A57538   LEVINE          LEVINE                    NM     90015014320
6219295A854121   BEATRIZ         PEREZ CONTRERAS           OR     90012439508
6219313A497121   MARIA           DE JESUS AGABO GARCIA     OR     90015151304
6219352794B588   ALEXIS          GRANT                     OK     90013195279
6219363A872B27   STEPHANIE       SEYBOLD                   CO     90008166308
621938A8431455   SONGHO          RO                        MO     27586428084
6219392A561964   MARIA           OCHOA                     CA     90009799205
6219446A157538   JOHN            FRITSEN                   NM     90015014601
6219462322B27B   PATRICIA        MACK                      DC     90014876232
62194A4245B235   STEPHANIE       ADAMS                     KY     90009530424
62195235672B35   JORGE           JAIME                     CO     90008492356
6219528835416B   CLIFFORD        ARAUJO                    OR     47052662883
6219534533168B   KENETH          WILKINS                   KS     90013733453
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 341 of 2350


621964A975B235   DAILAN       BLANCO                       KY     90011604097
62196729272B43   JAMIE        HERRERA                      CO     90011387292
6219691529184B   CARIAL       CHAPPELL                     OK     90012979152
62196A45961964   CINDY        VIGIL                        CA     90013530459
6219715A651354   JUSTIN       SOUTHWICK                    OH     90009891506
62197279372B29   SPRINGFIED   AMBER                        CO     33046132793
621972A663168B   TANISHA      EARNEST                      KS     22015042066
6219738698B168   QUERSTIN     NELSON                       UT     90005673869
6219758A833698   CAROLYN      ROGERS                       NC     12091625808
6219942A925236   SHAMEKA      TACARA                       NC     90014774209
62199711872B29   GEORGIA      MUNIZ                        CO     90012647118
62199993772B27   JUAN         AGUILAR                      CO     90013559937
6219B213255983   BILLY        BRYSON                       CA     90005522132
6219B66A254121   MARIA        ESPINOZA                     ID     90014156602
621B12A7381644   LACY         DICKERSON                    MO     29057692073
621B15AA48B168   REBECCA      CURTIS                       UT     90003255004
621B1681272B29   MELISSA      DEBELL                       CO     90009056812
621B1931772B29   MARIA        PALOMARES                    CO     33029759317
621B2579857544   ANGELINA     RICE                         NM     90009405798
621B281127B46B   GENETTA      WYNN                         NC     90011018112
621B2981A55975   ANNA         MENDEZ                       CA     90012749810
621B2A95254121   ZACKERY      CROSS                        OR     90013340952
621B321215B531   JAIME        CACERAS                      NM     90008812121
621B34A9655977   NICHOLE      SALINAS                      CA     90008904096
621B47A7833698   REBECCA      HOGSTON                      NC     12006507078
621B48A6233698   REBECCA      HOGSTON                      NC     90013648062
621B496145B531   JOSE         MUNOZ                        NM     90012629614
621B5792181621   SAMANTHA     PAPPAS                       KS     29001637921
621B58A2A57538   MARIA        AU                           NM     90010088020
621B5944157544   PAUL         MILLER                       NM     90015129441
621B5A3A44B588   THOMAS       CHILDS                       OK     90014770304
621B68A2A57538   MARIA        AU                           NM     90010088020
621B7292855973   JOSE         RODRIGUEZ                    CA     90013312928
621B7917984392   ANDREW       MEYES                        SC     90013539179
621B8386763646   PAYGO        IVR ACTIVATION               MO     90012673867
621B841474B588   ROSA         GALINDO                      OK     90015304147
621B84A243168B   PAYGO        IVR ACTIVATION               KS     90011964024
621B856964B27B   DANIEL       MARION                       NE     27067205696
621B873A361964   JESUS        GARCIA                       CA     46023567303
621B88A2A57538   MARIA        AU                           NM     90010088020
621B9471861936   DANIELLE     SMITH                        CA     90012484718
621B9651672B36   NORMA        CERVANTES                    CO     90001506516
621B9A9285416B   BRYAN        COSTA                        OR     47097440928
621BB226357538   IVAN         ARAMBULA                     NM     90011802263
621BB821287B31   JENNIFER     SNOW                         AR     28080888212
62211A81A72B29   ALBA         SALGADO                      CO     90003970810
6221262215416B   PETER        SOISSON                      OR     90002956221
62212A2974B588   JUSTUS       MEANS                        OK     21553540297
62212A63261936   MARINA       DE GUZMAN                    CA     90001260632
62213222824B7B   CHRISTINA    DAVIS                        DC     90015072228
6221376835B235   MARANDA      CHRISTMAN                    KY     90014597683
6221386A572B29   ARACELI      MACIAS- ARELLANO             CO     33090198605
62213A67461964   SERENA       TIMMONS                      CA     46028190674
62215A6A72B269   DIVANTE      HARPER                       DC     90010830607
62215A7575593B   BLANCA       LEMUS                        CA     90012230757
6221611128B168   KANDI        DILLEY                       UT     31053121112
62216311A72B27   TINA         JOHNSON                      CO     33022553110
62216698772B36   MAGDALENA    RODRIGUEZ                    CO     90003016987
6221728A233698   LISA         PENN                         NC     12071162802
62217796A57538   SANDRA       MOLINA                       NM     35570297960
62217A53651354   GRANT        DAVIS                        OH     90015360536
6221811A52B27B   YVETTE       SMITH                        DC     81019451105
6221832742B227   NIESHA       LLYOD                        DC     90007803274
6221948158166B   JESSICA      MAYBERRY                     MO     90003944815
6221951887B46B   SHAKIRA      BRAVO                        NC     90008675188
6221995645B235   IRMA         BENJAMIN                     KY     68067619564
6221B366A91522   SARAHI       MONTES                       TX     90014653660
6221B588957544   YVETTE       WOODS                        NM     35593215889
6221B93495B386   PEDRO        ANGLADA CORDERO              OR     90011479349
6222127A48B169   LAMIA        HOSKINS                      UT     90012782704
62221746A25236   JAVIDAN      JONES                        NC     90014867460
6222181A551354   MICHELLE     CARNEY                       OH     66075548105
62221848A91522   FABIAN       PARRA                        TX     90013058480
6222196754B27B   KARLI        ADDISON                      NE     90014699675
6222221265B235   ALEX         JEWELL                       KY     90013012126
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 342 of 2350


62222753697B42   MIGUEL       ORONA                        CO     90013987536
62223A17981644   LATRAIL      ERBY                         MO     90011570179
62224445A72B43   JUAN         LUSIO                        CO     33015904450
622252A615B531   SANTOS       GASPAR                       NM     90012922061
6222533737B653   BURTON       MISHEA                       GA     90008473373
6222739785B531   CRISSIE      MRILLO                       NM     90006523978
62227616A31454   SHONTAY      SHELLS                       MO     90011476160
6222768A155975   MARIA        NAVA                         CA     48045976801
62227A54561964   NOEL         COVINGSTON                   CA     90012990545
62227A63261936   MARINA       DE GUZMAN                    CA     90001260632
6222962A972B27   CHARLENE     PACHECO                      CO     90009156209
6222987994B27B   GREG         KIEPKE                       NE     90013158799
622298A6A63646   ANGELA       MCMENAMY                     MO     90013128060
6222B1A1355975   JANETTE      ESTHER                       CA     90011131013
6222B547551354   LISA         RICHARDON                    OH     90014855475
6222B627A72B43   CHRIS        EDELEN                       CO     33073826270
6222B63892B27B   ERNEST       MUNSON                       DC     90013036389
6223216955B531   BERTHA       TREVIZO                      NM     90011061695
6223217212B27B   MICHELLE     HOLT                         DC     90004231721
62232A46A4B27B   RON          CHANDLER                     NE     90003870460
62232A88161936   LYNN         CONNEARNEY                   CA     90012040881
622331AA555977   RICK         BIDEGAIN                     CA     90013521005
62233713972B29   CATHY        ORMSBEE                      CO     90012647139
62233945A4B27B   WALLESHA     HUBBARD                      NE     27076349450
6223458A17B46B   SAUL         VALLADARES                   NC     11040225801
62235938A8B169   DEREK        ORTZ                         UT     90006709380
62236192272B43   CODY         LONGLEY                      CO     90006031922
62237242272B43   SERGIO       GARCIA                       NM     33095092422
6223795A663646   JAMES        VACCARO JR                   MO     90002149506
622386A352B27B   JONHESHA     FUERGUSON                    DC     90014926035
622387AA15B271   DEARL        HAMPTON                      KY     68015207001
6223964955B271   SHERRY       GOODBODY                     KY     68046656495
62239651172B27   SYLVAN       MAHASOH                      CO     33024126511
6223982714B588   ANTHONY      PURINTON                     OK     21551688271
62239A1A85B531   DAWN         JOHNSON                      NM     90003440108
6223B557455975   GLORIA       VARGAS                       CA     48032585574
6223B634672B27   BRYAN        REMODEL                      CO     90012846346
6223B937454121   SHARI        SIMS                         ID     42043659374
6223BA81655977   ANNETTE      ARAGUZ                       CA     90004690816
6224118753B125   EDDY         POZO SARMIENTO               VA     90012271875
622411A2455973   WILLIAM      WERT                         CA     90013581024
6224138472B27B   SHAWN        WASHINGTON                   DC     90011553847
6224154494B27B   JESUS        ESPINOZA                     NE     90007595449
6224196898166B   HENREY       JACKSON                      MO     90002349689
622419A8272B29   MARCUS       JOHN                         CO     90014879082
62242857A51354   JEFFERY      GROLL                        OH     66013478570
62242A17972B43   SERGO        ASHALYAN                     CO     90008300179
6224358598B168   SYLVESTOR    BEGAY                        UT     31037525859
62243A19A81644   MARTINE      SIMMONS                      MO     90011570190
62243A78784392   ANNETTE      BURCH                        SC     19037090787
6224576585B531   ARMANDO      CHAVEZ                       NM     36093627658
622463AA14B588   STELLA       UDOH                         OK     90013653001
62247326A97121   FARTUUM      ALI                          OR     90009253260
622475A4681644   CHRISTIAN    RONDON                       KS     90014015046
6224767573168B   TABITHA      WEST                         KS     90012096757
6224822A561964   TERESA       EDELEN                       CA     46092462205
622492A428166B   CHRISTOPHE   ASHLEY                       MO     29074452042
622495A9297125   FELICIA      CONKLIN                      OR     90012405092
6224B14378B169   MARCIE       TAYLOR                       UT     31083411437
6224B247555975   MAI          XIONG                        CA     90014612475
6224B355625236   OLGA         GONZALES                     NC     90014803556
6224B363857544   JOSE         ARMENDARIZ                   NM     90011043638
6224B948851354   LEANARDO     VELOSQUEZ                    OH     90013559488
6225245A35B531   RAYMOND      ROMERO                       NM     90002664503
6225354A955977   DESIRAE      BROWN                        CA     90014595409
62253A64955977   ALEJANDRA    BARRAGAN                     CA     90012970649
62254498A72B29   ALEJANDRA    VASQUEZ                      CO     90014504980
62254753A54121   FAITH        BOOTH                        ID     42079907530
62254A1A15416B   DANIEL       MEYERS                       OR     90011820101
6225519672B27B   PORFILIO     SANDOVAL                     DC     90001321967
6225554A254121   HILARIO      PARADA                       OR     90014815402
62255562172B27   VINCENT      GONZALES                     CO     33011775621
6225595984B27B   NYALUAK      RUOT                         NE     90013159598
62255A6165B531   ADAM         VALERO                       NM     90014850616
6225714712B949   EMMANUEL     LUNA                         CA     90009401471
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 343 of 2350


62257831772B29   JUANITA        RODRIGUEZ                  CO     33034908317
6225821175B531   YADIRA         FIERRO                     NM     90010582117
6225882A472B27   SHERESE        NICOLE                     CO     90011088204
622589A7487B31   JOSEPH         MISAK                      AR     28016079074
62259325A61964   SARA           APODACA                    CA     90014563250
6225981615B531   MARY           MONTOYA                    NM     36050988161
622598A6955973   TYKESHA        EDWARDS                    CA     90008198069
6225996A14B27B   ASSA           HAIDARA                    NE     90013159601
6225B474872B36   BARBARA        WINTER                     CO     90000924748
6225B73A354121   ELOISA         ESEBERRE                   OR     90014687303
6225B815372B27   RUSTY          SHANK                      CO     90010688153
6225BA3154B221   BRANDI         NIEBUR                     NE     90012360315
6226145A85B531   MARCOS         VIALPANDO                  NM     36008044508
6226149AA55973   SAVANNAH       FLINT                      CA     90011484900
6226273615B921   MICHAEL        THOMAS                     ID     41097127361
62263166A91522   JESSICA        CHAVEZ                     TX     90012301660
6226333AA5B53B   AMY            CRAPSE                     NM     90011063300
62263A7192B949   STEPHANIE      NUNEZ                      CA     90010860719
62264156A2B949   ANGELINA       VIZCAINO                   CA     90009591560
6226423345B241   ORLANDO        MENDOZA                    KY     68097952334
6226449913168B   STEFANIE       DEAHL                      KS     90007094991
6226557113168B   JIM & MELODY   HARRISON                   KS     90015205711
6226579A791522   CYNTHIA        RUVALCABA                  TX     90013367907
622664A1157544   ANNETTE        MAYNEZ                     NM     35508764011
622671A355416B   TERESA         PITZER                     OR     47069091035
6226771284B27B   DEVON          THORPE                     NE     90014707128
62267722472B27   RAFAEL         MENDOZA                    CO     90014327224
62268A17555977   FRANK          SIQUEIROS                  CA     49014230175
622691A2A55973   FELIBERTA      SANMIGUEL                  CA     90010561020
622693A3855973   BETTY          CONTRERAS                  CA     90006653038
6226B657361964   OSCAR          CALDERON                   CA     90006286573
6226B817757544   ELIONAI        MORAN                      NM     90012548177
6226BA26355975   SINTHYA        CAMPOS                     CA     48031240263
6226BA92584392   LEONARD        STARKS                     SC     90014440925
6227134812B949   TONY           QUIJAS                     CA     45029763481
62271969472B29   DESIREE        MARTINEZ                   CO     90012829694
62271AA6354121   BALBINA        TORRES                     OR     90014930063
6227276AA2B949   FRANK          SILVA                      CA     90011177600
62272A67781644   JAILYNN        HEYER                      MO     90010470677
62272AA6354121   BALBINA        TORRES                     OR     90014930063
6227341385B531   LOUIE          ROMERO                     NM     90001974138
62274AA6354121   BALBINA        TORRES                     OR     90014930063
62275483187B31   DONNIE         ANDREWS                    AR     90013774831
6227565968166B   ANGIE          RICO                       MO     90014716596
62275A6485B241   TYESHA         JARRETT                    KY     68035400648
62275AA6354121   BALBINA        TORRES                     OR     90014930063
62276358272B27   LESHAWN        HOOD                       CO     90014893582
6227643495B531   ANGEL          FRANCISCO PEREZ            NM     36013114349
62277294972B27   SONIA          MORALES                    CO     33095392949
622773A6A57538   CHRISTOPHER    SMITH                      NM     90015043060
62277841672B43   ELYAS          ABDULLAHI                  CO     90014598416
6227879A172B93   RUBEN          AMBROCIO                   CO     33081397901
6227938A561964   VIRGINA        GARCIA                     CA     90000273805
6227941825593B   SERGIO         MATA                       CA     90006544182
62279A49757538   COURTNEY       MEIHLS                     NM     90006590497
62279A8965B531   HEATHER        RAWLINGS                   NM     36040730896
6227B283957538   YVONNE         REYES                      NM     35509272839
6227B5A6A51354   ROSHIERLEY     MARCANO                    OH     90015005060
6227B91147B46B   SHERRY         HARLEY                     NC     11050609114
62281A9A272B27   ESPERANZA      CRUZ                       CO     90011370902
62281AA357B46B   CAROLYN        JACKSON                    NC     11086690035
62282343472B29   REGINA         BASWELL                    CO     90014253434
6228248673168B   DWIGHT         MEADOWS                    KS     90011574867
6228249472B949   AMY            LINCH                      CA     90015144947
6228398962B949   AMBER          SCALICE                    CA     90009389896
62283A98A8B168   SARA           OLIVER                     UT     90010500980
62284328624B7B   ERVIN          PEREZ                      VA     90014893286
6228465912B949   SHANE          CONLEY                     CA     90013036591
62284AA3884392   MUSALEMA       CAPERS                     SC     90013070038
622851A8272B29   GRANBY         HILLYER                    CO     33084261082
6228556245B287   LATRIECE       BOOKER                     KY     90014515624
62285735272B36   BRIAN          HERGENREDER                CO     90013637352
6228578398B331   SAM            GREEN                      SC     90014827839
6228628233168B   JOHN           MOON                       KS     22004772823
622864A4655977   BERENICE       CORTES                     CA     90008844046
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 344 of 2350


622865A4287B31   JOHN          WILSON                      AR     28040225042
62287379372B29   SALVADOR      ALCANTAR ROMERO             CO     33093153793
62287899772B43   ERICKA        GARCIA                      CO     90012348997
622879A837B46B   JAY           MILHEIM                     NC     90011539083
62288232A93753   CHRISTOPHER   KARG                        OH     90007372320
6228888342B27B   JANET         ROSARIO                     DC     90015108834
6228911AA2B949   SAMUEL        RAMOS                       CA     90013311100
6228938258B169   DONJA         CHANTHASACK                 UT     31080753825
6228B493563646   PAYGO         IVR ACTIVATION              MO     90010194935
6228B553255977   RAQUEL        VALDEZ                      CA     90012095532
6228B743357538   ROCIO         MOLINA                      NM     90015047433
6228B82465B531   ELIAS         VALENCIA                    NM     36020608246
6229132A874B46   LESSLIE       SOUTHWICK                   OH     90013073208
622914A6963646   HEATHER       ERSON                       MO     90014334069
62291675372B43   TACHER        BROWN                       CO     90013916753
6229259657B46B   BRIDGET       SELLERS                     NC     11043035965
6229265A172B27   GENARO        BECERRIL                    CO     90014916501
6229293A45B235   BILLIE        WALKER                      KY     90007869304
62292A78181689   JOSE          GARCIA                      MO     90000650781
6229342355B235   JOEL          CHERRY                      KY     90014724235
6229381AA81644   JAMES         ROWLAND                     MO     90014648100
6229419A991522   YVONNE        HERNANDEZ                   TX     90009571909
622945A7461936   RICARDO       ARREDONDO                   CA     90012205074
6229491365B531   SAMUEL        LUJAN MARQUEZ               NM     90010589136
622949AA681651   TIMOTHY       MCENROE                     MO     90005209006
62295453272B29   RANISHA       DAVIS                       CO     90013104532
6229577A451354   ANDREA        ABLES                       OH     90010047704
62295A49463646   JARED         WIGGER                      MO     90012370494
62295AA9456787   DIXIE         SAYRE                       OH     90015030094
62296251A81644   MANDI         LOGAN                       MO     90003192510
6229645698B168   MICHELLE      BERRETT                     UT     31088474569
6229656458B169   KARA          TAYLOR                      UT     90003155645
62297324A31434   VIRMEKA       JEFFERSON                   MO     90011883240
6229773375416B   IAN           MCKINNON                    OR     90009017337
62298817372B27   YVONNE        GARCIA                      CO     90001918173
6229922465B531   MARTHA        CHAVEZ DE GUARDADO          NM     90010592246
6229973715416B   LORENA        PINEDA                      OR     90001027371
6229B1A8698B22   SEILYA        SIMS                        NC     11035931086
6229B386297121   JENNIFFER     MONTOYA AMERICA             OR     90006103862
6229B456A72B36   COBY          NEHLS                       CO     90011874560
6229B478891525   YOLANDA       DELUCIO                     TX     75004274788
6229B699654121   ROBERTO       PARRA                       OR     90015106996
622B145718B169   JOSE          CASTILLO                    UT     31000904571
622B1577872B29   JESUS         HINOJOS                     CO     90014005778
622B2567A57538   RICHARD       DELAO                       NM     90012725670
622B3218655973   GUSTAVO       SANCHEZ                     CA     48069322186
622B3254491522   ROSIO         GUERRERO                    TX     90005142544
622B3376672B27   RUDY          GERINGER                    CO     90014053766
622B3864A4B27B   RENEE         MCDONNELL                   NE     90013158640
622B43AAA2B27B   RODNEY        ROGERS                      DC     90010953000
622B4496372B36   JOSE          RIVAS FERNANDEZ             CO     90011164963
622B4637363646   MIKE          PEREZ                       MO     90000136373
622B4639257544   KAGEN         BOYDEN                      NM     90013786392
622B4924555973   EVELIA        TORRES                      CA     48004649245
622B5233697125   JODY          SMITH                       OR     90007372336
622B5267372B27   BRITTANY      TRACY                       CO     90011052673
622B6179661964   SERGIO        LOPEZ                       CA     46090891796
622B6186191522   ELIZABETH     DE LEON                     TX     90011591861
622B628132B949   LEANNE        JANES                       CA     90007862813
622B631355B235   WILLIAM       ATHERTON                    KY     90009083135
622B671784B23B   CHRISSY       MILLER                      NE     90013427178
622B6851972B36   BRIAN         LAWYER                      CO     33051638519
622B736664B588   JOSE          VASQUEZ                     OK     90008243666
622B7588957544   YVETTE        WOODS                       NM     35593215889
622B75AA372B36   SELENA        MEDINA                      CO     90014615003
622B7A79884392   JAMES         LONG                        SC     19081880798
622B84A735B579   ARMANDO       PALMA                       NM     90003644073
622B8A33772B43   VICTOR        BERNAL                      CO     90011330337
622B9192991522   MYRIAM        PULIDO                      TX     90011591929
622B981A672B43   RAUL          ROBLES                      CO     33045698106
622BB3A2754121   BEN           KINNEY                      OR     90013253027
622BB662961964   MARTHA        SAMANAIEGO                  CA     46064216629
62311463A55973   LYN           BARNETT                     CA     48091684630
6231267852B949   MARIA         GONZALEZ                    CA     45066736785
623126A7533698   LORETTA       COLEMAN                     NC     90012976075
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 345 of 2350


6231277673168B   AMANDA          REED                      KS     90012137767
62313557497B64   DENNIS          WOODARD                   CO     90010455574
623144A4A55975   OSCAR           GARCIA                    CA     90014754040
62314792172B27   JOEL            QUINTANA                  CO     33093497921
62315655972B27   LE PRECECE      WILKINSON                 CO     90009846559
62316339872B36   MARIA           VELAZQUEZ SOSA            CO     90004863398
6231656414B588   JESSICA         WALKUP                    OK     90012715641
62316AA8181644   EDUARDO         PENA                      MO     90012650081
62317378572B29   JAVIER          MOSCO                     CO     90008273785
623173A9755978   LESLIE          CHAPA                     CA     90006373097
62317718272B27   RODNEY          MOORE                     CO     90010537182
623181A7581644   LAWANDA         ROATH                     MO     90014831075
6231854335B531   JAMMIE          POOLE                     NM     90013085433
62318727972B36   JOSE DE JESUS   RODRIGUEZ                 CO     90015237279
62318888A72B29   RUBEN           FLORES                    CO     90001178880
6231B158184392   ANGELA          MCCALL                    SC     19040211581
6231B342755975   CARLOS          IBARRA                    CA     90010433427
6231B728257538   JOSE            GONZALEZ                  NM     90001817282
6231B793255977   ALFREDO         MORENO                    CA     90011227932
6231B98655416B   CHELSI          KURZHAL                   OR     90005679865
6231B9A7772B29   LUS             ELVA                      CO     33006189077
623212A759186B   DAVID           CLARK                     OK     90014472075
623214AAA63646   LINDA           CENTO                     MO     27598784000
6232177174B27B   JEANNA          BURRELL                   NE     90014707717
62322243A8B168   ROSALINDA       FLORES                    UT     90007452430
6232242562B27B   NICKIE          WRIGHT                    DC     90014624256
62323A89772B29   PATRICIO        SILVA                     CO     33014450897
6232452A55B531   JESSICA         ALVAREZ                   NM     90010595205
6232485587B46B   HAROLD          WHEELER                   NC     90010458558
62325235172B29   LOIS            ZIMMER                    CO     90002722351
62325472A55977   KANWERDEEP      SINGH                     CA     90013104720
623254A4255975   MATTHEW         WAYNE                     CA     90015134042
62326267772B43   ISAIAH          IBARRA                    CO     90010112677
62326459472B36   ALISSA          AGUIRRE                   CO     90008904594
62326789A4B27B   VINCENT         GRANT                     NE     90009087890
6232727692B27B   LEYDIS          XIOMARA HERNANDEZ         DC     90007712769
6232737535416B   ANDREW          STUBBS                    OR     47026203753
6232758277B656   JAMES           BROWN                     GA     15010195827
62327678672B43   FILIBERTO       RENDON                    CO     33048976786
62329399A55975   YADIRA          PIZANO                    CA     90012753990
6232939A963646   JILL            DEMPSEY                   MO     90003503909
62329915A63646   NICHOLAS        GILLESPIE                 MO     90012689150
6232B11355B531   LIZETTH         ESCARCEGA                 NM     90013101135
6232B281555973   ROSALVA         HERNANDEZ                 CA     90012642815
6232B4A5861936   GUADALUPE       YBARRA                    CA     46004154058
6232B647881644   EDIS            MURILLO                   MO     90011786478
6232B94335B531   RUBEN           GUZMAN                    NM     36037969433
6232BA4155B395   DARREL          RICHARDSON                OR     90012510415
6233187894B27B   ADAN            ORTIZ                     NE     90000398789
62331923972B27   ROSA            FLORES DE PAZ             CO     33005269239
62331923A81621   ANTOINE         GRIFFIN                   MO     90004409230
6233246AA72B27   ASHLEY          WEBB                      CO     90013094600
6233253334B588   LINA            LEONARDGONZALEZ           OK     90013715333
62333297A61964   GIACOMO         PANIAGUA                  CA     90001892970
62333AAA361936   LUCY            THORTON                   CA     90015260003
6233455A84B554   SHONETTE        SPARROW                   OK     90013945508
623345A2857538   RALPH           STEINHOFF                 NM     90015055028
623347A264B27B   WENDY           ASHBY-WENNINGHOFF         NE     27088957026
6233633335B235   PAUL            GREEEN                    KY     90014143333
62336496897B42   LINDA           MOORE                     CO     90014244968
6233673313168B   LORENA          CARTER                    KS     90011117331
62337183672B43   BARBARA         HERRERA                   CO     90004721836
623382A3A2B27B   SHAQUITA        WILSON                    DC     90014762030
62338443A91534   JORGE           SALAZAR                   TX     90013734430
6233918A472B29   CARMEN          TRUDEL                    CO     90002061804
6233921A92B27B   QUENTIN         HARDY                     DC     90013902109
623393AA681644   AARON           FLEENOR                   MO     90012483006
62339A22357538   SUSANNA         MARTINEZ                  NM     35512530223
62339A6982B224   YVETTE          ROGERS                    DC     90001240698
6233B1A987194B   JESUS           CDEBACA                   CO     90013921098
6233B7AA47B46B   REHAB           GABR                      NC     90010497004
6233B999A33698   KELIA           CRUZ                      NC     90008799990
62342131A72B36   LUIS            VALDES-GALVAN             CO     90015101310
623423AAA63646   MICHAEL         OCONNOR                   MO     90001593000
6234242494B588   CYNTHIA         CAVITT                    OK     90015304249
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 346 of 2350


6234326373B374   DOLORES           FIERRO                  CO     33013332637
6234336A751354   SHAINELLE         SHANNON                 OH     90008863607
623437A5555977   JOHANA            NAVARRO                 CA     90012547055
6234395A172B29   TANYA             LITTRELL                CO     33048549501
6234426165B531   IRVING            VALVERDE                NM     90015242616
6234465918166B   ELMER             JONES                   MO     90001406591
6234479279715B   DANIELLE          DAHRENS                 OR     90002977927
6234546925B531   LINDA             SOSA                    NM     36005914692
62345918A4B27B   ANITA             HILL                    NE     27051919180
62345A21255973   BENNIE            ALVARADO                CA     90015070212
62346163172B43   CECILIA           CARBAJAL                CO     90014891631
62346988172B29   TERENCE           BERRY                   CO     90012429881
62346A7985B531   JOSE              HERRERA                 NM     36081060798
6234781AA72B27   LENA MARIE        ARELLANO                CO     90013448100
6234847983168B   ROBBIE            SIMMONS                 KS     22090924798
6234865895B235   SHARESE           HAEMERS                 KY     90013006589
6234B1A723B125   DAVID             PERALTA                 DC     90008861072
6234BA2213168B   ROBIN             HALL                    KS     90013980221
6234BA23761936   THOMAS WILLIAM    JACKSON                 CA     90014390237
6235183764B588   MARIA             MARTINES                OK     90008288376
6235199A851354   VALITA            HURST                   OH     90001199908
6235226734B588   SIERRA            MERIWETHER              OK     90015182673
62352437372B36   TODD              REINHARDT               CO     90014454373
62352437A72B36   LUIS              NEGRON                  CO     90013104370
62352773172B43   SANDRA            FRANCO                  CO     90009947731
62352A63772B43   DEJA              WILSON                  CO     90014680637
6235371468B168   ELISEO            MORALES                 UT     90009277146
62353796672B36   GOLDIE MICHELLE   MOSES                   CO     90007317966
62354127824B7B   ERNESTO           ORTIZ                   VA     90006311278
6235469A872B29   MONIQUE           SALAS                   CO     33051216908
6235522212B27B   MAHALI            SCHENKELBERG            DC     90015202221
623554A8433698   STANLEY           DALTON                  NC     90014914084
62355854972B27   DIANA             RAMIREZ                 CO     90012768549
62355989A91522   ANA               MEZA                    TX     75023889890
6235635A155975   RANDY             LEE SCROGGINS           CA     48089103501
6235663A35416B   RACHEL            CARTER                  OR     47013086303
62356A21555977   BRENDA            PIERSON                 CA     49061100215
6235715A961936   GUALUPE           GIL                     CA     90003271509
62357721A55975   JESUS             ORTIZ                   CA     90008997210
6235776518166B   ANDREW            MATTSON                 MO     90011837651
62357925A55977   EDWIN             RODRIGUEZ               CA     49025349250
6235884412B27B   LAKEENYA          HAMLIN                  DC     81020948441
62358A6555416B   KIM               HAVENS                  OR     90014360655
623592A1A55973   MARGO             ROMERO                  CA     90010782010
6235973A25416B   KIM               PAGE                    OR     90011317302
623598A1155977   JUAN              RAMIREZ                 CA     49044868011
6235B671772B36   BOBBY             BARDON                  CO     90014496717
6235B76752B27B   BRIANA            PAZARRO                 DC     90012827675
6236134724B27B   KOSSI             EHO                     NE     90007403472
6236138368B168   AMANDA            JOHNSON                 UT     31055373836
62361722772B27   NATILIDE          PERALTA                 CO     90006607227
6236236A52B27B   NIDAL             ARNOUS                  DC     81090603605
6236348A472B29   NORMA             SSNTOVENA               CO     90010014804
62363716272B36   VIRGINIA          ORDONEZ                 CO     33070997162
6236372345B531   ANTHONY           SILVA                   NM     90012117234
6236396367B46B   CYNTHIA           TOOUGHTMAN              NC     11036339636
62363A16681644   HATOYA            RODRIGUEZ               MO     90013300166
62363A18872B36   BRIAN             NATALE                  CO     90012950188
6236444234B588   ALFREDO           GARCIA                  OK     90004794423
623644A815B531   CASSANDRA         QUINTANA                NM     90014654081
62364634A55975   VANESSA           DAGGETT                 CA     48027426340
62364AA2591522   CHARLIE           ZAVALA                  TX     75094450025
623653A6884392   KATHY             KROOK                   SC     90010503068
62365A96691285   ANGELA            POLK                    GA     14518160966
6236644835416B   KEN               GANGLE                  OR     47026334483
62366A3A45B531   MARISELA          ORNELAS                 NM     90014290304
6236815758B168   CONNIE            PUTMAN                  UT     90002661575
623684A6172B29   JUAN              VARGAS                  CO     90009564061
6236894A52B949   NOEMI             MEDINA                  CA     90013639405
6236941A361936   JULIA             CASTILLO                CA     90011324103
6236974AA72B29   MONA              ROSALES                 CO     90002197400
6236B12985B235   ANA               GARCIA                  KY     90015001298
6236B18985416B   SHERICE           ANDERSON                OR     90009511898
6236B1A1651354   CATITLIN          TOLER                   OH     90009091016
6236B733455973   SAMANTHA          LEMOS                   CA     48007577334
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 347 of 2350


6237164672B949   CARINA         RUBIO                      CA     90014546467
6237168A155973   OSCAR          GAMEZ                      CA     48086876801
62371A7634B27B   BOBBI          STARK                      NE     90004780763
6237232665B531   NORMA          CRUZ-VALDEZ                NM     36038353266
6237253832B949   RONALD         LONG                       CA     45012995383
6237279A661964   DIANE          MAYA                       CA     90000807906
6237318163B125   CHRISTIANA     LOGAN                      MD     90015051816
623736A2761931   MARCO          LOPEZ                      CA     90004826027
6237391177B334   ELMER          RODRIGUEZ                  VA     90007639117
62374325A91522   ADRIAN         VALENCIANO                 TX     90012533250
6237451254B27B   TIFFANY        WHITE                      NE     90014625125
62374A82172B43   ARMANDO        VALDIVIA                   CO     33049330821
6237514715B235   RITA           DECKER                     KY     90012411471
6237514995416B   HANNAH         ZABRISKIE                  OR     47094211499
6237547242B949   SANDRA         ALVARADO                   CA     90007654724
62375817A57538   JUAN           ARZOLA                     NM     90003028170
623761A986232B   SILVIA         NAVARRETE                  NC     37034861098
62376467A31453   WILL           MCCOY                      MO     90000944670
62377748172B29   ESHLU          NELLIS                     CO     90003557481
62377754A81621   LAMONT         SMITH                      MO     90009597540
6237B483672B43   ROXXANNE       VIGIL                      CO     33027324836
6237B51254B27B   TIFFANY        WHITE                      NE     90014625125
6237B71A551354   TONYA          FARFEN                     OH     90015317105
6237B742591522   Z              MONTANO                    TX     75008487425
6237B947977584   HOLLY          BERRY                      NV     43091549479
62381187A72B43   JERRY          AMARO                      CO     90013791870
6238212365416B   ANGELA         HOUGHTON                   OR     90012241236
623834A3363646   MARY           CORDRY                     MO     27575574033
6238397133B125   IBIN           JACKSON                    DC     90014609713
6238417782B27B   KYSA           BLAKE                      DC     90007461778
6238447934B588   DRE            LAW                        OK     21551804793
623847A4461964   YADHIRA        VILLA                      CA     46013737044
62384A86A91522   VERONICA       MACIAS                     TX     90012470860
62384A92A33698   LADREANA       WOOD                       NC     90014810920
62385164A4B27B   LANITA         ENGLISH                    NE     90014071640
6238516A55416B   ANGEL          ARAMBULA LARA              OR     90001761605
6238657113168B   JIM & MELODY   HARRISON                   KS     90015205711
6238665933168B   TONYA          RANGEL                     KS     90014206593
6238674885B271   TIFFANY        COMBS                      KY     90008937488
6238678484B588   ANDREA         BUSS                       OK     90010957848
6238751924B27B   STEPHANIE      CARTER                     NE     27064505192
62387748172B27   ANDRES         RUIZ                       CO     90012787481
62387967A5B531   TIMOTHY        SANDOVAL                   NM     90005839670
62387A4673B125   DARNELL        WHICHARD                   DC     81083670467
62387A77161936   JULIO          NUNEZ-SAENZ                CA     46042220771
6238821414B588   PATRICIA       THOMAS                     OK     90014542141
6238822734B251   JERRY          ANTHIS                     NE     90000792273
6238869313B394   HERMAN C       MEJIA                      CO     33097336931
6238913762B238   JOSEPH         HARRIS                     DC     90008331376
6238926375416B   DAWN           CASTLEBERRY                OR     47088312637
6238961A297121   NICOLAS        SANTOS                     OR     90009566102
6238964698B163   ANABEL         MEJIA                      UT     90014056469
623899A837B46B   JAY            MILHEIM                    NC     90011539083
6238B18475B235   FRELONDA       POSTON                     KY     90015071847
6238B61572B949   MAGGIE         CHAVEZ                     CA     90010806157
6238B78A157544   JAMES          AGEE                       NM     90010847801
6238B948457123   FARRUKH        MEHMOOD                    VA     90012989484
6238BA57963646   JAKE           ESSEN                      MO     90014720579
6239118883168B   BRITTNEY       BENIOT                     KS     90009781888
6239129412B27B   SU VAN         NGUYEN                     VA     81004122941
623918A265B531   ALEXANDRA      HAWKINS                    NM     90013578026
62391A54A5B235   NIMSY          ARCHARGA                   KY     90014940540
62391A6862B949   HELENA         GREEN                      CA     90014830686
623929A492B949   MICHAEL        HODGE                      CA     90015029049
62392A6A85B531   VICTOR         CASTANEDA                  NM     36078570608
6239318813B324   CAREY          ALMON                      CO     90007571881
623932A3A4B27B   MARISOL        CHINO                      IA     90006242030
62393337772B27   ELENA          VALADEZ                    CO     33067103377
62393A26872B29   SHAWNA         GOMEZ                      CO     33015350268
62393A48933698   KEOSHEA        GIST                       NC     12063120489
6239433464B27B   JOYCE          SCHAFER                    NE     27033163346
623943A9455975   ROY            REYNOLDS                   CA     90013073094
62395272676B53   NAMITA         PITRE                      CA     90007512726
62395325172B27   MONICA         MAES                       CO     90010013251
62395438272B36   COLLEEN        JORGENSEN                  CO     90014454382
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 348 of 2350


62395788872B29   SONYA             MCGAUGHY                CO     33064807888
6239622A125236   CARLOS            MORALES                 NC     90011292201
623964A142B238   CHERYL            BOWEN                   VA     90008914014
62397555772B27   TAMEKA            WASHINGTON              CO     33016135557
6239788362B949   SUSIE             MOJICA                  CA     45006808836
62398288172B27   JUAN              CENICEROS               CO     33043662881
623983A8755977   KEITH             ENGLEBRIGHT             CA     90015483087
623989A8A2B27B   HENRY ADALBERTO   OLIVA                   VA     90008539080
62398A85672B36   MAYRA             GARCIA                  CO     90015190856
62399819724B34   FREDY             GONZALEZ                VA     90014708197
62399AAA284392   KANDACE           HANCOCK                 SC     90013380002
6239B117461936   MARIA             RUIZ                    CA     46017771174
6239B425131454   DANA              HANEY                   MO     90001734251
6239B677384392   SEDRICK           MATHEY                  SC     90011926773
6239B6A695B531   ADRIANA           CASTILLO DORAN          NM     90012966069
6239B78A272B36   PATSY             CORDOVA                 CO     33044817802
6239B963755973   ALEJANDRO         RODRIGUEZ               CA     48098139637
623B1192663646   KATHY             KONOLOFF                MO     90009631926
623B11AA833698   ANGEL             TAPIA SALINAS           NC     90003171008
623B1327197121   RYAN              GRAFF                   OR     90012663271
623B1439425236   HATTIE            CAREY                   NC     90011274394
623B146945416B   AUNDREA           BIRT                    OR     90013404694
623B1736461964   OLGA              GIMENA                  CA     46013777364
623B183738B168   SHANE             ZIRKEL                  UT     31022668373
623B1859481644   JERI              WATSON                  MO     90014898594
623B2125257544   JAMEA             HATTON                  NM     90003001252
623B2217971924   MICHAEL           RICHARDS                CO     90011092179
623B384678166B   CRYSTAL           JONES                   MO     29057908467
623B4258991525   GLORIA            MELENDEZ                TX     75012112589
623B4758755977   JOSE              HERNANDEZ               CA     90014657587
623B4831A51354   HEATHER           LANE                    OH     66098778310
623B51A3A57538   EVELINA           GOMEZ                   NM     35506521030
623B524946155B   PAYGO             IVR ACTIVATION          TN     90015122494
623B533A62B27B   SHERREE           BOWIE                   DC     81017913306
623B5394397B42   JOSE              COSTA                   CO     90014203943
623B5938957544   JEFFREY           BACON                   NM     90013689389
623B5A9537B46B   MONICA            MARTIN                  NC     11044900953
623B6276872B27   RAYMOND           CHECOTS                 CO     90010612768
623B628157B46B   ELENA REMIGIO     PALOMARES               NC     90014192815
623B6381161936   ERIKA             SKOG                    CA     90015233811
623B6383191522   ROCIO             LAZOS                   TX     90007113831
623B662437B46B   ELENA REMIGIO     PALOMARES               NC     90008676243
623B739265B531   DARLENE           BARELA                  NM     90014613926
623B752814B293   KATRINA           CHISM                   NE     90014935281
623B7571384392   CARLOS            ENRIQUEZ                SC     90013015713
623B819898B168   WAYNE             MITCHELL                UT     31010071989
623B83A913168B   LESLIE            POWELL                  ID     22004393091
623B842532B27B   LAWANDA           WELLINGTON              DC     90014864253
623B86A3355975   LUPE              MAZANA                  CA     90015286033
623B8A1A231453   MATHEW            PANTANO                 MO     90004040102
623B8A4652B949   MISTY             WARNER                  CA     90013750465
623B972932B27B   REGINA            GREEN                   DC     90001107293
623B9983172B29   KATHLEEN          PEDIGO                  CO     90012869831
623B9A9A54B549   DALIA             TOVAR                   OK     90009980905
623BB557455975   GLORIA            VARGAS                  CA     48032585574
623BB571A61964   JESSICA           CHUMACERA               CA     90009925710
623BB666987B31   DORIS             BUCK                    AR     28095626669
623BB691691522   EDUARDO           CARRASCO                TX     75038726916
623BB762A91522   KRUSTAL           ZAVALA                  TX     90004527620
62411767172B29   ALMA              TARANGO                 CO     90013167671
62411A74357538   ELISA             TANGONAN                NM     90000930743
62411AAA32B27B   ANTHONY           WALDRON                 DC     90012540003
6241213A28B169   AIMEE             CRANFILL                UT     31053091302
6241254212B949   BRUCE             WALKER                  CA     90011415421
6241277858166B   EMIGDIO           IBARRA                  MO     29038427785
62413272A5B237   PAM               MAYER                   KY     90009532720
6241369228B168   FREDERICK         BODENSTEDT              UT     31078746922
62413A6152B949   RON               SMALLEY                 CA     90004690615
62414227A5416B   LEVI              URTON                   OR     90012962270
62414293A8166B   DAWN              CANADA                  MO     90014732930
62414821372B43   TEODORO           GARCIA                  CO     90009868213
62414872A72B36   GOITOM            DORI                    CO     90001918720
62414A97255975   ANGELA            TOVAR                   CA     48015040972
62415288272B27   BENRAHOU          RACHID                  CO     33072712882
62415792A55977   ELIZABETH         BETANCOURT              CA     49065577920
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 349 of 2350


6241622194B588   YOLANDA       DOMINGUEZ ACOSTA            OK     90010282219
62416A72A72B43   PENNY         HEDRICK                     CO     33034160720
6241724A98166B   CARLOS        OROSCO                      MO     90002272409
62417289272B27   GAYLE         MEYER                       CO     33097562892
62418193A81644   ANGIE         WIMMER                      MO     90010861930
6241825A25B271   ELMORE        JACKSON                     KY     68083082502
6241846872B949   OSCAR         GARCIA                      CA     90012824687
624184A3A72B27   CHERIE        DEHERRERA                   CO     33073604030
62418797A61964   ANDREA        TINAJERO                    CA     90014817970
62418A29A3B125   TONY          BEE                         DC     90003480290
6241963188B168   AMANDA        TOWSEND                     UT     90010716318
6241967355B531   MA ATOCHA     MARIN RAMOS                 NM     90012666735
62419A46757544   AMY           GREEN                       NM     90008430467
6241B945572B43   ANGELA        SKUBISH                     CO     33000459455
62421178272B29   GILBERTO      ALVAREZ                     CO     33009431782
6242147894B27B   KATHY         WALKER                      NE     90009644789
6242177178166B   MIA           SLAUGHTER                   MO     90009167717
62422762A63646   JOEL          SANTOS                      MO     90014237620
624229A6A57544   JAMES         WESTHEAD                    NM     90008669060
624231A6571926   STEPHANIE S   SLAY                        CO     90001791065
6242347A755975   ANALI         TIMMERMAN                   CA     90013004707
62423529772B27   CONNOR        ZAPP                        CO     90012345297
6242397A297121   MELISSA       ERLANDSON                   OR     90011939702
6242471235B531   ALEX          CHAVEZ                      NM     36091377123
6242471618B168   MATT          HARRIS                      UT     90001897161
62424A46855973   HUGO          FLORES                      CA     90005030468
624251A865B531   ISABEL        CHACON-NAJERA               NM     36058031086
6242521232B27B   TIARA         SAMUELS                     DC     90010232123
6242546854B588   VICTOR        OCHOA                       OK     90012204685
624259A2557544   GEORGE        VISCARA                     NM     35598659025
6242614874B27B   MARIA ELEN    RAMIREZ                     NE     27075061487
6242649465B235   BENJAMIN      MARQUEZ                     KY     68093004946
6242685A27B46B   ARTURO        VELASCO                     NC     90011028502
62426882472B43   CHANEL        DICKERSON                   CO     90013148824
624271A2563646   REBECCA       WILLIS                      MO     90005181025
62427475272B43   TINA          TAFOYA                      CO     90011974752
62427943372B27   SHAWNDOR      BRIST                       CO     33040869433
62427A95A51354   WILLIAM       MCMURRAY                    OH     66045970950
62428618A81644   JOSEPH        BOSAS                       MO     90014596180
6242898854B27B   LYNN          WILSON                      NE     27025439885
6242911525B531   RASHELLE      ULLRICH                     NM     36045631152
6242944844B588   MARK          FLOWERS                     OK     90004504484
6242997335B241   JENNIFER      WHEELER                     KY     68036199733
6242B24465B235   KIARA         LEWIS                       KY     90015322446
6242B368961964   ELVIA         RAMOS                       CA     90013193689
62431596372B27   LENA          SHAVERS                     CO     33097875963
6243234A35B241   ANGELA        WOOSLEY                     KY     90001463403
6243258885B531   VANESSA       ESPINOZA                    NM     36067015888
6243368974B588   VILMA         GAMONAL                     OK     90013756897
6243416515416B   VICTORIA      THOMSEN                     OR     47030361651
62434547172B36   BRITTANI      NULL                        CO     90013035471
62434A96A61964   IVETTE        PADILLA                     CA     90013960960
6243613A25B531   RODNEY        HARRIS                      NM     90011831302
6243614398B183   PATTERSON     CONSTRUCTION                UT     31050431439
6243687562B949   JOSE          GONZALEC                    CA     90014458756
624368A894B588   KIMBERLY      WILLSON                     OK     90010958089
6243717585B531   CARMELO       BARBERO                     NM     36006611758
62437A15984392   HALAKIA       WRIGHT                      SC     19089070159
62438591772B43   JOSHUA        MOLINA                      CO     90013385917
62439312A61964   ADA           OROZCO                      CA     90013923120
62439721A55977   BEVERLY       BRAZIER                     CA     90013007210
6243B295272B43   RICE          JEROME                      CO     33009952952
6243B746172B27   AMBER         MCDONALD                    CO     90014387461
6243B893A63646   JOSHUA        POSTL                       MO     90007198930
6243BA95997121   PEDRO         FERNANDEZ-AMADOR            OR     90011820959
6244187434B27B   JESSICA       HAJEK                       NE     90014718743
6244239AA4B588   VAZQUEZ       MARCO                       OK     21503323900
6244256556B15B   WILLIE        HOLLINS                     MS     90013605655
624441A335B235   LARRY         SALES                       KY     90014831033
62445376372B27   PAUL          GRANT                       CO     90013003763
6244538283168B   DANIEL        HOJNACK                     KS     90012523828
6244596A881621   HAYDEE        COLON                       KS     90007139608
62445A63861964   RENE          ZAMUDIO                     CA     46000650638
62447AA655B531   URSULA        ALMADA                      NM     90001920065
6244912695416B   MARIA         VILLANUEVA ZERMENO          OR     47028841269
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 350 of 2350


6244915455B235   KURTIS            WOLFE                   KY     90009291545
6244B638847992   BRANDI            LONG                    AR     90014156388
6244B7A352B27B   SANDRA            GLANVILLE               DC     90005537035
6244B862387B31   BRIAN             PROFFIT                 AR     90008348623
6244B86694B27B   CARLOS            HERNANDEZ               NE     90014718669
6244BA96633698   TINA              COCKERAN                NC     90014420966
624514A3955935   VASILIA           SOSA                    CA     90011134039
6245347A88166B   ROSELIND          DAWSON                  MO     29009904708
6245398A557544   SHANTEAL          OWENS                   NM     90013849805
624546A2563646   DAVID             SHARP                   MO     90014096025
624547A3991522   LESLY             SANDOVAL                TX     90014467039
62454A9718166B   TRACY             SCHMIDT                 MO     29034930971
6245537445B531   OSCAR             RODRIGUEZ               NM     90014123744
62455589972B27   ANGELA            GUERRERO                CO     33030545899
6245793A391522   ALBERT            BARBA                   TX     75086259303
62458268972B27   ERICELA           ALANIZ                  CO     90011052689
6245831444B588   LINDA             MISER                   OK     90004163144
6245846A634728   JERMAN            VALERIO                 NJ     90015044606
624592A6491522   ARACELI           RUIZ                    TX     90013882064
6245983A155975   CARMELITA         JOVEN                   CA     90007338301
6245B116557544   JESSE             WATSON                  NM     90015201165
6245B262655973   STEPHANIE         BUSTAMANTE              CA     90014702626
6245B297272B29   ANGELICA          ALVAREZ                 CO     33022262972
6245B864672B36   CLAUDIA           PEDROZA-MOCTEZUMA       CO     90010498646
6245B882997122   MAURICIO          HERNANDEZ               OR     90008058829
6245BA2A484392   EUTIKA            BALLS                   SC     19066080204
6246181127B46B   FREDDYS           UMANZOR                 NC     11039988112
624628A7A24B48   LATISHA           COLE                    DC     90001478070
62463593472B36   SABINA            RAEL                    CO     33090125934
6246399417B46B   ANGELA            WILLOUGHBY              NC     11080529941
6246532334B27B   OSCAR             GARCIA-PELAYO           NE     27076843233
6246542524B588   TAMESHA           ODAMTTEN                OK     90015304252
6246561313168B   SHANIQUA          STEGALL                 KS     90015426131
6246579663B388   GOLDIE MICHELLE   MOSES                   CO     90007317966
6246597A35416B   MARISA            BLAIKIE                 OR     90014559703
6246688595B531   JAIME             ANTILLON                NM     36072278859
62468518672B27   VIVIAN            ESPINOZA                CO     90012935186
6246863495B243   REYNALDO          ELIZONDO                KY     90014256349
6246B513872B27   TERESA            BELTRAN VEGA            CO     90001185138
6246B818361964   GREGORY           MCKNIGHT                CA     90013328183
6246B93828322B   RICHARD           MARKS                   CA     71022549382
6247156A151354   TONI              ENYAN                   OH     66086695601
6247228232B949   JAMES             FREEMAN                 CA     90009392823
62472413772B36   SHANELLE          LOPEZ                   CO     33071434137
6247266562B27B   CHAWNTAE          TRULL                   DC     90014526656
624727A664B588   SHIRLEY           JACKSON                 OK     90014457066
6247297514B27B   ESTER             MOSES                   NE     90014719751
62473429272B27   CHRISTINA         CHAVEZ                  CO     33012144292
6247364A633698   FLOR              BERROA                  NC     90013826406
62474664772B27   DEBORAH           KING                    CO     33098696647
6247544745B271   TANYIA            DIXON                   KY     90004374474
624754A8A93753   REHANA            THOMAS                  OH     90001834080
6247583862B949   CELIA             RUIZ                    CA     90011468386
6247598774B27B   BOGDAN            GOLOGAN                 NE     90014719877
62476754A63646   ROBERT            FRY                     MO     90001937540
6247698774B27B   BOGDAN            GOLOGAN                 NE     90014719877
62477599972B29   MONICA            MADRIGAL                CO     90014815999
6247775365416B   CHRISTIAN         FORRESTER               OR     47085327536
6247789772B27B   AARON             PARK                    DC     90012788977
62477A15672B36   MARISOL           FLORES                  CO     90007100156
62478142A57544   KEVIN             WILSON                  NM     35516001420
62478257672B27   DAMIANA           CASTILLO                CO     33046652576
6247873A34B27B   KOREY             TELECKY                 NE     27016807303
624798A634B27B   GALA              MCSPADDEN               NE     90014148063
6247B425184392   CAMEO             BROWN                   SC     19079554251
6247B675472B29   VALARIE           MARTINEZ                CO     90009616754
6247B8A5976B58   CARLOS            MOLDANADO               CA     46064688059
624812A265416B   ASHLEY            LINGERFELT              OR     90007582026
6248178667B46B   MARCOS            VALVERDE                NC     90010067866
62482449272B29   SKYELLER          LEONARD                 CO     90003164492
62482A6264B27B   JASMINE           KELLY                   NE     90014720626
6248316544B27B   ALEXANDRIA        STUGART                 NE     90013181654
6248334877B46B   JOBARRIO          RALEY                   NC     11039703487
624834A5272B29   CHRISTPHER        HOLBEN                  CO     90011384052
62484586187B31   TIFFNEY           ANDERSON                AR     28085455861
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 351 of 2350


6248485152B949   SANDI        GARY                         CA     90011518515
624855A424B588   STATIA       JACKSON                      OK     90013715042
62485961272B36   PABLO        GARCIA URENO                 CO     90013959612
62486364A72B36   MARISOL      LOPEZ                        CO     33064793640
624866A1A7B46B   SAUL         LOPEZ                        NC     90001386010
62487311772B27   JOHN         VARGA                        CO     33032323117
6248766995416B   PATRICK      RAMSEY                       OR     90015236699
62488168372B29   INES         RIVERA                       CO     33062041683
62488195672B43   SEFARINA     OLIVAS                       CO     33095181956
62489599772B29   YARELI       FONSECA                      CO     90005045997
6248992912B949   BALJINDER    SINGH                        CA     90012229291
62489A81284392   JULUIS       WASHINGTON                   SC     90007080812
6248B535284392   NICOLE       HENDERSON                    SC     90007335352
6248B73A63168B   TONY         FAULKNER                     KS     90013317306
6248B95A355975   ANDREA       DEPAOLI                      CA     90006169503
6248B97568166B   STUART       TIDWELL                      MO     29008449756
6248B981991522   JUAN         SANTILLAN                    TX     90011599819
6249147A857135   JANICE       WARD                         VA     90004224708
6249183645B531   JESSICA      VELETA                       NM     36019598364
62491A46172B29   KRISTINE     KERINS                       CO     90014730461
62492123A55975   RICK         MARAIN                       CA     48082731230
6249311918B169   EVELYN       DAWN                         UT     90007321191
62493227972B27   JAVIER       GONZALEZ                     CO     90015312279
6249358975B531   RENEE        ENCINIAS                     NM     90003565897
62493873872B29   EMALEIGH     ROMERO                       CO     90014158738
6249388887B46B   JERMAINE     WARE                         NC     90011028888
6249481858B168   JUDKINS      CODY                         UT     90008388185
6249489885B235   ROBERT       CRUME                        KY     68054468988
62495126757B92   JASMER       SINGH                        PA     90015011267
62495A6588B137   MARK         SHAW                         UT     90004790658
6249613725416B   STEPHANIE    IVERS                        OR     90009421372
6249629AA63646   LACY         HINKLE                       MO     90002562900
62496735372B35   KARLA        SALAS SAUCEDO                CO     90013097353
62496A87772B29   MELISSA      GENTRY                       CO     33006050877
624971A4381621   GRACIELA     GONZALES                     MO     90006041043
62497A97357538   ROMELIA      GARCIA                       NM     90002730973
62498A1612B27B   CESAR        GONZALES                     DC     81021450161
6249922343B324   LINDA        MERSHON                      CO     90004752234
6249956314B588   ERIKA        KING                         OK     90012875631
624998A335B235   BETTY        ROBINSON                     KY     68098388033
6249B388A72B43   ARIANA       CHARGINIGCROW                CO     90012563880
6249B55525B579   MARY         WELCH                        NM     90001675552
6249B73615B235   MICHAEL      PATTERSON                    KY     90013477361
6249BA9424B27B   TONY         WADE                         NE     90014720942
624B131595B53B   JOSEPH       GAGAN                        NM     35055893159
624B2382972B43   JAVIER       CALIXTRO                     CO     33066873829
624B253318B161   TINA         ESPANA                       UT     90007095331
624B2667A4B588   CAROLYN      MOULTRIE-CHEESEMAN           OK     90010686670
624B3164931453   RICHARD      GALE                         MO     90004291649
624B354A55B531   FRANCISCO    CERVANTES                    NM     90012575405
624B413663168B   JUSTIN       ANDERSON                     KS     22086851366
624B437A52B949   ANGEL        TORRES                       CA     90013623705
624B4437A5B531   LORRAINE     ABEYTA                       NM     36093324370
624B4513291552   BENITEZ      GUILLERMO                    TX     90006525132
624B515328B185   MARK         BAUMAN                       UT     90000581532
624B53A415B531   GRISELDA     CAMPOS                       NM     90005563041
624B5455181644   MARIA        CRISTINA                     MO     90013924551
624B5871491522   KARLA        SANCHEZ                      VI     90014158714
624B587A581621   CATONDRA     MORGAN                       MO     29067418705
624B5A9A14B27B   CLARENCE     WILDER                       NE     27065870901
624B6383855977   LINDA        LEWIS                        CA     90012853838
624B6472281644   TINA         JONES                        MO     90013874722
624B656845B235   JORGELINA    CRUZ                         KY     90014915684
624B6AA914B588   MARGUERITE   SPOTTED CORN                 OK     90001690091
624B715328B185   MARK         BAUMAN                       UT     90000581532
624B7268A4B588   BYRON        BOYD                         OK     90014692680
624B7444161964   KIERRA       TUTSON                       CA     90013154441
624B7862833698   LANCE        ATWATER                      NC     90013928628
624B7962572B43   YOLANDA      YBARRA                       CO     90002639625
624B8585755977   LATONYA      WILLIAMS                     CA     90008345857
624B954482B949   ELIAS        ROMERO                       CA     90013445448
624B9863A51354   JOSEPH       FOSTER                       OH     66095728630
624BB94364B27B   PHYLLIS      ADAMS                        NE     27053219436
624BB99912B949   JESSICA      BUENDIA                      CA     90013659991
624BBA56451322   DAN          POLOHA                       OH     90014730564
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 352 of 2350


62511251972B36   JACQUELINE      MITCHELL                  CO     90012382519
62511329A2B949   DAMON           GRAY                      CA     90012983290
6251134545B531   CLAUDIIO        CRISPIN MATA              NM     36030483454
6251184698B168   ROMERO          LISA                      UT     31073098469
6251216485B235   STEPHEN         HARBISON                  KY     90014421648
62513134A5416B   DANIEL          NILSSON                   OR     47076701340
6251313954B27B   TALYSSE         HARRIS                    NE     90014721395
62513833A63634   NICOLE          KELLY                     MO     90008428330
6251417785B381   BRAMDON         OBRIEN                    OR     90008081778
625146A383168B   WELDON          SMITH JR                  KS     22044736038
6251486714B588   WENDY           LEWIS                     OK     90010958671
62514A8692B949   MARCO           PEREZ                     CA     90013750869
6251511A972B43   AMBROSIA        DELMASTRO                 CO     90008101109
6251563874B588   MARITZA         CASTELLON                 OK     90013876387
62516582572B29   STEVEN          PEDERSEN                  CO     33096555825
62516863324B7B   DONTE           LEE                       DC     90013878633
625173A3A8B168   DAVID EUGENE    ROLLOW                    UT     90009503030
625179A4551354   JOSIAH          THROWER                   OH     90015459045
62517A69484392   SARAH           SHERRILL                  SC     90015050694
62518446A57544   JESSICA         BONHORST                  NM     90007054460
62518988872B43   CANDYCE         OLONA                     CO     33047299888
6251926918166B   JANET           WAGERS                    MO     90011842691
6251962A68B168   RICARDO         RANGEL                    UT     31031576206
6251989975B241   MONIQUE         THOMAS                    KY     68098148997
6251B31A161936   TAMARA          BELCHER                   CA     90010053101
6251B36A781644   JAMES           WAGNER                    MO     90015003607
6251B86895B235   APRIL           CARTER                    KY     68080668689
625212A635416B   WENDI           CATES                     OR     47095062063
6252181455B531   ELSE            DE-GOMEZ                  NM     90013258145
6252292563B125   YOVANI          ROMERO                    VA     90002399256
625231A8984392   CHRISTY         GOINES                    SC     90014521089
62523442672B36   CRYSTAL         GIACOMELLI                CO     90013804426
625235A5891259   TRONDA          CAMPBELL                  GA     90010705058
62523A46355973   ROSA            ALVARADO                  CA     90003860463
625241A354B27B   ROXANNE         AILES                     NE     27033531035
62524286A8166B   MIRIAM          ARAMBULA                  MO     90011842860
62524517172B43   DANIEL          KRENKE                    CO     33055135171
62524774372B29   MARISOL         ESCOBEDO                  CO     90000667743
62525432472B43   JOSE            CASTILLO                  CO     33051134324
62525A96A5416B   ALANNA          GARDNER                   OR     47065980960
62526388672B27   STEVEN          EVIN                      CO     90009953886
62526A3AA81621   MICHAEL         BRADLEY                   KS     90010490300
62527433872B43   RICHARD         VALDEZ                    CO     33008874338
62528457A7B329   DANIEL          NAGRETE                   VA     81091374570
625286A4172B43   DEREK           WEST                      CO     33081156041
6252976915B531   FRANCISCO       ESPARZA                   NM     90011707691
6252981545B235   AMANDA          LOWE                      KY     90012368154
6252B282872B27   ANGEL           MARQUEZ                   CO     90013692828
6252B76984B588   LOLA            GOOSBY                    OK     90014477698
6253128A181621   CHRISTEN        CRISMON                   MO     90007152801
6253177925416B   AMAZING GRACE   POLITO                    OR     90011977792
6253316615B235   JAMES           JONES                     KY     90014101661
62533569A55975   DAVID           TIRADO                    CA     90006995690
6253387A455977   SHERYL          QUIROZ                    CA     90010888704
6253421232B27B   ARIANIA         CAIN                      DC     90014762123
6253457624B27B   SHERYL          STENNIS                   NE     90009035762
62534928472B43   MAXWELL         BURDICK                   CO     90010499284
6253615994B27B   LIDDICK         MICHELLE                  IA     90013441599
62536329A33648   JOHNNETTA       BROWN                     NC     90001443290
6253633422B27B   MARY            YOUNG                     DC     90009003342
6253682315B531   STEPHEN         MULLER                    NM     36054848231
6253732164B588   NAKILA          LOTTIE                    OK     21545673216
62537469672B43   ROCHELLE        WASHINGTON                CO     90012814696
625379A7493792   JABARI          PEOPLES                   OH     90006409074
6253822A131587   SUZANNA         WARD                      NY     90013852201
6253897555B235   SUSANNA         CROWE                     KY     68029689755
62538981572B29   STEVE           RETANA                    CO     90015139815
6253943A855975   RUBEN           LONGORIA                  CA     90014054308
6253B149A4B27B   JULIAN          FLORES                    NE     90014721490
6253B446A57544   JESSICA         BONHORST                  NM     90007054460
62541283287B31   LATARCHA        CARTER                    AR     28017372832
62541388272B36   JUAN            PATLAN                    CO     33069953882
62541A38157538   NOE             BUSTILLOS                 NM     35572850381
62541A52861964   JOHN            WILKINSON                 CA     46002940528
6254217318166B   WARREN          TRE                       MO     29071071731
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 353 of 2350


62542A32633698   CHRISTINA    MILLER                       NC     12005400326
62543283287B31   LATARCHA     CARTER                       AR     28017372832
6254343672B949   HUSAM        ESHAQ                        CA     90011834367
62543893772B29   SEVERIANO    MONTES                       CO     90013038937
625439A2172B27   CLAUDIA      SALAZAR                      CO     33039639021
62543A1AA2B27B   CARLOS       ALVAREZ                      VA     81031550100
6254465388166B   PAM          KHATCHADOURIAN               MO     29006866538
6254472734B588   MARIA        GARCIA                       OK     21579127273
6254482485B271   JOWANDA      WILLIAMS                     KY     90003058248
6254538372B27B   TANEKA       SHOEMAKER                    DC     90000773837
62545A4918B169   STACY        BEARDALL                     UT     31061820491
62546449A72B29   JADE         COUSINS                      CO     90010784490
62547199372B29   MELINDA      KIMBALL                      CO     90014901993
62547258872B27   THOMAS       KIERY                        CO     33016472588
62547A4A64B588   DONALD       DICKERSON                    OK     90007440406
62547A77472B36   ANDRE        FABRE                        CO     90012260774
6254831134B27B   JOSEPH       TROSHYNSKI                   NE     90014723113
6254855A155975   CARMEN       CASTRO                       CA     48006085501
6254B163484392   GIOVANY      DIAZ                         SC     90012501634
6254B496A72B43   BRIDGETTE    SPRINGS                      CO     90013634960
6254B559961936   TRACY        JIMENEZ                      CA     90003785599
6254B7A792B27B   GEREMIAS     MENJIVAR                     DC     81019027079
6254B869A4B588   CHARLES      CAGLE                        OK     90003328690
62552655A55975   OSCAR        MAGANA                       CA     90010676550
6255265794B588   TARA         WEST                         OK     90012876579
62553454A51354   MICHELLE     BUKER                        OH     66011414540
6255354214B588   MARIA        GOMEZ                        OK     90013475421
62553A62455973   ANGELICA     FLORES                       CA     90012030624
6255436185B531   MONICA       MARTINEZ-GALLEGOS            NM     90011713618
6255461718B169   ARAINA       BROADHEAD                    UT     31087996171
6255468535B235   MARK         FUTSCHER                     KY     90012786853
6255521A75B531   ELIA         RODRIGUEZ                    NM     36089602107
62555957A71693   JAIME        MARRERO                      NY     90013339570
62557396587B31   ELOY         RIVERA                       AR     28059843965
6255781515B531   GELI         MARCHI                       NM     90013258151
62558723498B22   JORGE        PEDRAZA                      NC     11048447234
6255895774B588   JORGE        MARIN                        OK     90004689577
62558A51672B29   LISA         TILLER                       CO     90010120516
62559492A4B27B   CHARLES      AMOS                         NE     90014674920
62559A12A55973   DOUGLAS      COPELAND                     CA     90012930120
6256111155416B   SARAH        SAWYER                       OR     47009651115
6256119122B949   BEATRIZ      PADILLA                      CA     45088601912
62561214A81671   SHERYL       FERGUSON                     MO     29000862140
6256181A54B588   COURTNEY     SANDERS                      OK     90014078105
62562915A55977   KARINA       CHOLULA                      CA     90013389150
62562A4169715B   KATHLEEN     HAMMOND                      OR     90008870416
62564A58661936   DIEGO        IBARRA                       CA     90007850586
62564A61572B36   OLGA         REYES                        CO     90002120615
6256526A461964   DIEGO        M RIVERA                     CA     90012332604
62565642772B43   CLAUDIA      MONCADA GARCIA               CO     33053476427
6256573575B271   RAMONA       FREEMAN                      KY     68065407357
6256635892B27B   NICOLE       PHIFER                       DC     90012853589
6256751913168B   DYRON        WASHINGTON                   KS     22005405191
62567576A4B588   LAKIESHA     AMIE                         OK     90012115760
62567A49493762   RANDY        RODEY                        OH     90007780494
6256883235416B   RICHARD      NEIS                         OR     90014708323
625688A7555977   YURI         MARTINEZ                     CA     90003958075
62568A67A61964   GUS          PONCE DE LEON                CA     46086550670
6256911A57B39B   CLAUDIA      SALMERON                     VA     90005801105
62569271572B36   CONSTANCE    WALTERS                      CO     33012682715
625695A214B27B   KELLY        HAMELL PEREZ                 NE     27042075021
6256B575561964   JUDCELL      MORALES                      CA     90014345755
6256B579863646   BRITTNI      BRAUNGARDT                   MO     90010665798
6256BA13961954   CINTHIA      LOPEZ                        CA     90010460139
62571123672B43   NICHOLAS     PAVLOVICH                    CO     90011961236
62571135272B36   ALEXANDRO    CRUZ                         CO     33007781352
6257119794B52B   NEMESIS      SILVA                        OK     90010561979
6257125354B27B   ANGELICA     FIGUEROA                     NE     90014732535
6257186278B168   JENNIFER     BELL                         UT     90009218627
625719A5584392   ERIC         SIMMONS                      SC     90014499055
62572A1595416B   ROBIN        CARTER                       OR     47077220159
6257381132B27B   HEYDIE       RUVI                         VA     90011558113
62573A6525B235   KEVIN        CARTER                       KY     90014430652
62574128772B43   DORIS        SOLORZANO                    CO     90015131287
62574633972B29   MARTIN       RODRIGUEZ                    CO     33029196339
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 354 of 2350


62574754972B36   CARMEN       DUARTE                       CO     33071227549
625754A332B949   ANA          HERNANDEZ                    CA     90012024033
62575557A87B31   LANA         GREER                        AR     28017535570
6257595A455977   CESAR        LAOENG                       CA     90013029504
62575966972B36   TIARA        REYES                        CO     33079769669
625759A4655975   ISELDA       GARCIA                       CA     90013969046
6257628394B27B   TIERRA       MCPHEE                       NE     90014732839
62576A5917B46B   ANDREA       NUNEZ                        NC     90001620591
62577A1635416B   JAMIE        SHORT                        OR     47089910163
6257867972B949   REBEKAH      BREWER                       CA     90010786797
6257933915B531   LIZA         MARTINEZ                     NM     36018863391
6257954235B235   MISTY        PICKARD                      KY     90012335423
6257989533B125   ZUTEYMA      SERRANO                      VA     90012328953
6257B344191522   ROBERTO      SAPIEN                       TX     90012313441
6257B756881621   CERIDWEN     DLUHOS                       MO     90009957568
6257B762481644   TINA         CRUCES                       MO     90010547624
6257B8A7624B7B   MONISA       SMITH                        DC     90014358076
6258188953168B   MINDY        GASAWAY                      KS     90009518895
625835A6933698   RITA         JONES                        NC     12093355069
62583671A55973   ANA          MARTINEZ                     CA     90009366710
6258397877B46B   JAQUTTE      ALEXANDER                    NC     90011029787
62584175A33698   MARCELINO    VILLALVA                     NC     12084631750
6258456375B531   ISMAEL       MOLINA                       NM     90012875637
62584861472B36   TYLER        NEVONEN                      CO     90007378614
62584AA8757544   RENEE        MILLER                       NM     90012930087
62585687172B29   CARLOS       FLORES                       CO     90010366871
62585717A33698   DWIGHT       MOSES                        NC     90007517170
6258573575B271   RAMONA       FREEMAN                      KY     68065407357
62586146772B43   HERNANDES    MARIA                        CO     90010511467
62586A5825B235   JULIAN       PAVELK                       KY     90014460582
6258723AA57544   MARIA        MUNOZ                        NM     90014812300
62587966272B29   VERONICA     GARZA                        CO     33030709662
62588526772B43   ANN          CROSSE                       CO     33091025267
62588534972B36   STEVEN       RADFORD                      CO     90008885349
6258897964B27B   CHARLES      BROOKS                       NE     90013779796
62589635472B27   VICTOR       FUENTES                      CO     90012986354
6258987825B531   LUCILLE      MONTOYA                      NM     36012118782
625898A234B588   BROOKLYN     BAILEY                       OK     90014848023
6258B11A261936   KENNETH      MULLEN                       CA     90011411102
6258B232261936   KENNETH      MULLEN                       CA     90013542322
6258B48115B235   SOLOMON      PWAMANG                      KY     90011914811
6258B5A4A61964   LANG         NGUYEN                       CA     90008895040
6258B671755975   BEVERLY      GOMEZ                        CA     90013706717
625916A1772B36   FELIX        PEREZ                        CO     90010776017
6259181972B949   DELFINA      LOPEZ                        CA     90011318197
6259183473B394   KEYANA       TAYLOR                       CO     90008458347
6259243985416B   MARY         MACDIARMID                   OR     90003794398
62592624272B29   MARSHA       TAYLOR                       CO     90014936242
6259331844B27B   JOSHUA       CABE                         NE     90014733184
6259353419184B   STACY        MCCARRELL                    OK     21078345341
62593A44451354   GLENDY       ZACARIAS                     OH     90011320444
625941A9A72B36   RAUL         MARTINEZ                     CO     90010341090
6259436A224B7B   MERCY        ANKOMAH                      KY     90004673602
6259471255B531   NANCY        MICHAELSON                   NM     90014127125
62594A88851354   CHARLES      SMITH                        OH     90003690888
62595811A63646   JAKY         CONTRERA                     MO     90015308110
625958A832B27B   SHINIQUA     BRADY                        DC     90010318083
62595A9563168B   ROBERT       MOUNT                        KS     22063680956
62596657A5B531   DESIREE      SENA                         NM     90011726570
6259687A961936   JACOB        GILBERT                      CA     46089168709
6259718872B27B   BRIAN        PARKER                       DC     90004231887
6259742524B588   TIERRA       ELLIOT                       OK     90009464252
625976A174B588   SILVIA       MENDOZA                      OK     90014086017
6259799A655973   PATRICIA     JIMENEZ                      CA     48020139906
6259873857B46B   FELIPE       CRUZ                         NC     11001867385
6259958555B271   KATHY        FIELDS                       KY     90003625855
62599692572B27   WILLIAM      SANCHEZ                      CO     90014126925
6259B7A4772B27   HEATHER      LYNN ROBINSON                CO     90010217047
6259B874172B27   JASON        KAMERZELL                    CO     90014778741
625B159924B588   REYES        WILLMER                      OK     21574515992
625B1A6482B949   MICHAEL      RAMSEY                       CA     90008280648
625B248975134B   TIFFANY      GORDAN                       OH     90011484897
625B24AAA63646   LINDA        CENTO                        MO     27598784000
625B2554691885   MALCOLM      BERRY                        OK     21060845546
625B28A7155973   ARIEL        SAENZ                        CA     90013018071
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 355 of 2350


625B2955791522   DESIREE            HARRIS                 TX     90014159557
625B2AA8161964   ISMAEL             LOERA                  CA     46014610081
625B381A361964   PEDRO              ARREGIN                CA     90015138103
625B412825B531   JESUS              HOLGUIN                NM     36097131282
625B414884B588   ERICK              CHALI                  OK     90010471488
625B445A38166B   OTHA               SELMON                 MO     90001984503
625B5621A2B949   TOMMY              ALVARADO               CA     90011736210
625B563967194B   MERRILEE           LAAS                   CO     38018196396
625B6618333698   TERRA              FLOWERS                NC     90015146183
625B668535B235   MARK               FUTSCHER               KY     90012786853
625B7633561964   AIOTEST1           DONOTTOUCH             CA     90015116335
625B8329472B29   CHAELA             QUEEN                  CO     90015123294
625B838755B531   PATRICIA           CORDOVA                NM     90013713875
625B9344461936   QUASHANA MONIQUE   SIMMONS                CA     90013943444
625BB76958B177   KEVIN              NAY                    UT     31089297695
625BB862655977   MONIQUE            ANES                   CA     90013348626
626112AAA4B27B   TIMOTHY            LEARY                  NE     27028032000
626114A4251354   FRED               CARDEMAN               OH     90002014042
62611A66131453   BARBARA            OLDHAM                 MO     27566320661
6261251673168B   JAMES              MCCLAIN                KS     22089835167
6261275714B27B   EMMA               MILLER                 NE     27017537571
62612786872B36   CHERYL             BAUDER                 CO     33077537868
626128A317B46B   TAMIKO             FARRIS                 NC     11074798031
6261373956196B   LARRY              STEGALL                CA     90001547395
6261418AA55975   ROMAN              SALDANO                CA     49080561800
6261422A133698   CHRIST             MORTON                 NC     12098182201
6261483935B531   PERLA              CHAVEZ                 NM     90013828393
62614A4392B27B   LAKEISHA           CHRISTIAN              DC     90007950439
6261563732B27B   JONATHAN           ETHERIDGE              DC     90014876373
62615882172B29   REBECCA            SHANKWEILER            CO     90006428821
62615AA1457544   JOSEPHINE          OLIVAS                 NM     90010210014
62618137A61964   HONG               NGEYN                  CA     90012701370
6261834132B27B   DEBBIE             BRUNSON                DC     90012923413
6261B56885B531   ANAHI              DIAZ                   NM     90013285688
6261B746872B29   RICO               ORDONEZ                CO     33009447468
6261B75714B27B   EMMA               MILLER                 NE     27017537571
6262233AA93762   TOUFEK             HAKIM                  OH     90010243300
62622494A7B357   HUGO               MENDOZA                VA     81069694940
626226A8455973   ERIKA              LAVREVI                CA     48006816084
62623363A4B27B   FORTINO            MARIANO                NE     90014733630
6262366842B949   REYNA              VARGAS                 CA     90000666684
6262423285B571   GABRIELA           TORES                  NM     90013412328
62624329A72B29   SALEMY             FLORES                 CO     33015313290
6262468443168B   SAMUEL             SCHIEY                 KS     22040506844
626246A7351354   VELVET             DAVIDSON               OH     90013026073
626253A4772B27   DEMETRIUS          ADAMS                  CO     90011423047
6262576325B235   MACK               RAVYN                  KY     90011637632
62626287872B27   FRANCISCO          RAMIREZ                CO     33068262878
62626A19855975   RAUL               LOPEZ                  CA     90015180198
6262718824B27B   MEGAN              BRISENO                NE     90006001882
626272A2A57129   JULIO              PORTOCARRERO           VA     90003292020
6262743754B27B   ANGELIQA           LOPEZ                  NE     90014744375
62627561472B36   JOLINE             VELASQUEZ              CO     33019395614
62627566472B29   DESARAE            PRIDE                  CO     90013335664
62627A12A55973   DOUGLAS            COPELAND               CA     90012930120
62629398572B27   CLAUDIA            OLIVAS                 CO     90012813985
6262973795B531   AYDE               VELETA                 NM     90006997379
6262B64294B547   JIMMY              GORDON                 OK     90004136429
6262B671A72B29   THIARA             CAMBELL                CO     90012716710
6262B99A163646   MONICA             MCGRATH                MO     90013059901
62631875A61964   AMERICA            AGUILAR                CA     90011708750
6263199855B235   KHADIJI            POWELL                 KY     90011869985
626319A8672B36   ORLANDO            ANGLADA                CO     33096989086
62631A1997B46B   KEY                JOHNSON                NC     90011030199
62632281272B43   KEELEY             SHISLER                CO     90009042812
62633134A4B588   VIRIDIANA          AMEZQUITA              OK     90011621340
62633671772B36   BOBBY              BARDON                 CO     90014496717
62633A6422B949   DAVID              VILLARIAL              CA     90012680642
62634172524B7B   ANGILA             FOUCH                  DC     90009391725
6263439435B235   SAMANTHA           JOHNSON                KY     90013213943
62634A4678B169   JUSTIN             JOYNER                 UT     90014850467
62634A5227B46B   KIM                WILLIAMS               NC     11015620522
62635119272B36   JAMES              ALTFELTIS              CO     33072251192
62635748A31453   ANITA              BARBEE                 MO     27524677480
6263723965B531   ISRAEL             LOPEZ                  NM     90015202396
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 356 of 2350


62638211672B43   ELSWORTH           CROWE                  CO     90013112116
626382A597B653   PATRICIA           POUNDS                 GA     90001372059
6263849782B27B   PHOENIX            JILES                  DC     81055494978
62639211672B43   ELSWORTH           CROWE                  CO     90013112116
626393A2825288   JANET              COFIELD                NC     90008833028
6263B179791522   ESTELA             AMAYA                  TX     90011591797
6263BA84281621   JAMES              GLOVER                 KS     29056840842
62641A7774B588   CHRISTIANE         DJIMI NYABA POINTER    OK     90005700777
62642454472B36   FLORA              SVAZO                  CO     90011174544
6264249A25B235   TARYNN             BUNDY                  KY     90004804902
6264356983167B   KRISTAL            GADSDEN                KS     22007045698
62643A3155B53B   SANDRA             RIVERA                 NM     90008120315
6264594797B329   JOSE               GAITAN                 VA     81008239479
62645A52291522   DIAZ               HECTOR                 TX     90014160522
626464A9872B43   JOSHUA             SANCHEZ                CO     90009584098
62646848A7B46B   LINDA              MELTON                 NC     11030678480
6264725A88B168   AUNDREA            REVIEA                 UT     31023262508
62647842972B27   URIEL              BARGAS                 CO     33036008429
6264788A463646   TIMOTHY            GALLION                MO     90015168804
6264846922B949   MATT               SCHWARZ                CA     90000934692
6264866825B235   STEVE              LOCKERD                KY     90011996682
6264866984B588   HERBER             BATEN                  OK     90014886698
6264912A561964   SALVADOR           MORENO                 CA     90014591205
6264916824B53B   ANNITA             COURTNEY               OK     90008581682
6264939495B235   ANNE               LUTCHMAN               KY     90007033949
6264B415561964   FATIILOUS          KESNIEEL               CA     90001474155
6264B46115B531   DIONICIO CABRERA   GREGORIO               NM     90014904611
6264B514A8B183   DEBRA              CUSTOMER               UT     90015025140
6264B54222B949   YADIRA             MENDOZA                CA     90013105422
6264B78643B371   JOEL               MORGA                  CO     33090567864
6264B796461936   FERNANDES          MAIRA                  CA     90005537964
6264B83473168B   DELMA              RODRIGUEZ              KS     90014358347
6265139A25416B   STEVEN             FRIEND                 OR     90014873902
6265181738B168   MADLYN             MARTINEZ               UT     31014998173
6265211A28166B   JOHN               SMITH                  MO     29087741102
6265212447B49B   STANLEY            HENDERSON              NC     90010051244
6265299A872B43   SERGIO             HERNANDEZ              CO     33017989908
62653278A51354   JASMIN             HERNANDEZ              OH     90012312780
626532A675B241   DAVID              GOLDSMITH              KY     68083012067
62653A39261936   JAIME              DIAZ                   CA     90000740392
62653AAA191522   GUADALUPE          RODRIGUEZ              TX     90014180001
62654359572B36   SANDRA             RIVAS                  CO     90010833595
626548A9957544   KATHERINA          RICHARDSON             NM     35595958099
62654A41A91522   LYDIA              VILLAREAL              TX     90014160410
6265512A14B588   ERNESTO            ACOSTA ACOSTA          OK     90012991201
6265546114B27B   DAISY              VILLAGOMEZ             NE     90014734611
6265673835B531   RAMONA             FLORES                 NM     90014197383
6265688A12B949   CRYSTAL            THOMAS                 CA     90015058801
62656A46172B29   KRISTINE           KERINS                 CO     90014730461
62657746172B36   ANTHONY            CASILLAS               CO     90013837461
62657848A61936   JESSY              LOPEZ                  CA     90009888480
6265798462B949   MONICA             ORTIZ                  CA     90013259846
626581A8A72B36   MARISELA           GARCIA                 CO     33093991080
6265839342B27B   HUGO               NARANJO                VA     90009283934
6265881215B241   MATTHEW            MOHR                   KY     68098258121
6265934335B351   KELLY              HOPPER                 OR     90004043433
6265964588B168   HURLEY             ASHAVETT               UT     90003506458
6265B45944B27B   CYRUS              OMBAIRE                NE     90014734594
6265BA32384392   JAMIE              MANN                   SC     90015020323
6266145264B27B   SCOTT              EALY                   NE     27090384526
6266154432B999   ROGELIO            SANCHEZ                CA     90012255443
62662A62163646   VICTORIA           SMITH                  MO     90011310621
6266439412B949   ALISHA             BORGES                 CA     90010643941
626658A2461964   JAIME              CARILLO LOPEZ          CA     90012168024
62666299472B43   JANET              GALVAN                 CO     33007212994
6266684228B168   JENNIFER           LYBARGER               UT     31061788422
6266694A191522   SANDARA            LUGO                   NM     75095519401
6266774337194B   CHERYL             SILVESTRINE            CO     38000847433
6266792665B241   DAVID              SIC                    KY     68098769266
6266819A62B227   YOLANDA            WASHINGTON             DC     90008371906
62668236172B43   BONNIE             LEVITT                 CO     90012762361
6266924A855981   CHRISTOPHER        BAUMGARTNER            CA     90006272408
626692A4261936   JULIA              DENARDO                CA     90009402042
6266B957A72B29   MIGUEL             SALVADOR               CO     90012929570
62671143672B27   DAMIEN             WALKER                 CO     90008401436
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 357 of 2350


62671343672B27   DAMIEN          WALKER                    CO     90013233436
62671481872B55   MELISSA         MARTIN                    CO     90012824818
6267183215B531   TEENA           TALACHY                   NM     90012728321
6267239A655973   JENNIFER        PADILLA                   CA     90012273906
6267336418B169   LANA            HUGHES                    UT     31067393641
6267379764B27B   ERIN            HENDRIX                   IA     27075897976
62673A1A472B27   JOHN            RICHARDSON                CO     33016220104
62674699A2B949   ARASELI         CASTELLANOS               CA     90006406990
6267483A87B632   ALVERIA         WILLIAMS                  GA     90000808308
6267582A672B29   TARIBIO         SAGUILAN                  CO     33051798206
62675A9794B53B   MARIA           ROBLES                    OK     90010010979
6267615615B531   SHANTELLE       TRUJILLO                  NM     36063051561
6267624A984392   JUANITA         SIMMONS                   SC     90002042409
6267671312B949   LINA            MATTI                     CA     90011317131
6267687633168B   DEBRA           WENIGER                   KS     22014858763
62677798472B43   GUADALUPE       BARRIOS RAMOS             CO     90007967984
6267785A957538   JUDITH          HINDASH                   NM     90004188509
62678188972B29   TREVON          KOLLARS                   CO     90013631889
62678463472B27   TERRI           GERVASI                   CO     33041634634
62679129987B31   STEVEN          LOGGINS                   AR     28051221299
6267942875B235   STACY           PASZEK                    KY     90005174287
6267B226984392   PORSCHER        AIKEN                     SC     90006142269
6267B3A4291522   VALERIA         MADRID                    TX     90011603042
6268152358B168   MARTINEZ        PERRY                     UT     90003335235
6268156A993728   KARL            SCHOEN                    OH     90007125609
6268173A73168B   ADRIANNE        SMITH                     KS     90013157307
6268266555B235   JULIE           NALLEY                    KY     68000346655
6268433825416B   KRISTEN         RAFFIN                    OR     90012433382
626846A9191522   LUIS            CEJA                      TX     90010826091
626849A2572B29   JOSE            AGUILAR                   CO     33083369025
62685554872B27   DIANA           QUINONES                  CO     90013015548
62685A3424B27B   SANDRA          WILLIAMS                  NE     27090270342
62685A53272B43   NICHOLAS        SOLANO                    CO     90009810532
62686513A72B43   JODY            LEFAYT                    CO     90011855130
6268711885B531   TRINA           NEVAREZ                   NM     90010511188
62687268572B43   ROSE            ROYBAL                    CO     90013922685
6268791AA63646   JESUS MCEHUEL   MALAGA                    MO     90007519100
6268884995416B   GARY            ELFSTROM                  OR     90009928499
62688A33555973   ALBERT          DOMINGUEZ                 CA     90011740335
62688A93994158   GEORGE          LEEDHAM                   AL     90015370939
62689528272B36   ANDREW          ST JAMES                  CO     90012625282
6268B338161964   ROBERT          DANGLER                   CA     90006923381
6268B68847B46B   ROXANNE         HAMILTON                  NC     90006396884
6269143A15B531   GABRIEL         SANCHEZ                   NM     36065414301
62692AA3187B31   GLENDA          COPELAND                  AR     28001250031
62693416A61964   REBECA          SALINAS                   CA     90014944160
62694163772B36   CLAUDIA         MEDLLIN                   CO     33056761637
6269432A44B588   JESSE           OLIVER                    OK     90011473204
6269485825B531   DULCE           FLORES GARCIA             NM     90011768582
62695561A25236   PATRICIA        NESTOR                    NC     90008245610
62695865872B29   BRENDA          MAGEE                     CO     33071828658
62696A62691522   PABLO           RIVAS                     TX     90014160626
62697157A55975   LISA            RAMIREZ                   CA     48051121570
62697943172B29   GARY            IJAMS                     CO     33054099431
62699312A3B338   BRANDIE         PERKINS                   CO     90004873120
626996A568B168   EUGENNE         SMILEY                    UT     31045826056
6269B277384392   ELAINE          VALBERT                   SC     90014072773
6269B768133698   NIQUITA         LYTCH                     NC     90011757681
626B148885B235   ROCHELLE        MILES                     KY     90013174888
626B158555B271   KATHY           FIELDS                    KY     90003625855
626B1743A91522   AURORA          LUJAN                     TX     75088257430
626B1794397121   SALVADOR        LOZA                      OR     44064587943
626B2161255977   JOSE            ESCOBAR                   CA     90012161612
626B222358B186   HILLARY         KEITH                     UT     90008842235
626B2343198B22   JAQUELINE       DANIELS                   NC     11011703431
626B2596A91522   ROSAURA         DIAZ                      TX     90013245960
626B286382B27B   YEVETTE         FUNNYRE                   DC     90011558638
626B357A22B27B   MICHELLE        STERNOD                   DC     90009605702
626B385782B248   CHARLENE        JACKSON                   DC     90012948578
626B386AA5B531   RENE            MIRANDA                   NM     90012588600
626B3913791522   MARCOS A        OCHOA                     TX     90013059137
626B418874B588   MARQUEZ         TAYLOR                    OK     90010201887
626B4596897121   ISRAEL          NEGRETE                   OR     90012215968
626B45A813168B   JEREMY          HOESCH                    KS     90010345081
626B45AA25B235   JAMES           MILLER                    KY     68012965002
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 358 of 2350


626B4713172B29   GINA         MOSS                         CO     33009447131
626B5271281644   T            JAMES                        MO     29022552712
626B5636955977   CLARISSA     ALBA                         CA     90010416369
626B56A434B27B   KIRA         BELDING                      NE     27003456043
626B585AA55973   EDWARD       JUAREZ                       CA     48086488500
626B5929955975   GRACIELA     CISNEROS                     CA     90012309299
626B6298772B36   RODRIGO      PORTILLO                     CO     33095952987
626B6744831453   TAMALA       MERIWEATHER                  MO     90003827448
626B7193833698   KWINTA       BISHOP                       NC     90011041938
626B7956872B36   SOL          LOPEZ                        CO     90014899568
626B7992891522   CHRISTINE    LONDON                       TX     90014159928
626B7A5684B588   PABLO        RAMIREZ                      OK     90013210568
626B8456861964   JAIME        NAVA                         CA     90014154568
626B84A1A7B46B   SHEILA       BRUTUS                       NC     11012784010
626B8575A5593B   ANGEL        CASTANEDA                    CA     90000985750
626B873364B588   MELISSA      SMITH                        OK     90014887336
626B8934763646   VICTORIA     ROBERTSON                    MO     90014809347
626BB197891522   MAYRA        SALAS                        TX     90011601978
626BB72924B588   NORMA        BAQUERA                      OK     90014437292
62711A31187B31   CAREY        HOOVER                       AR     28015630311
62712792A72B93   RICHARD      BEDWELL                      CO     90007537920
62713844A61936   HECTOR       VIDRIO                       CA     46086188440
62713941972B27   BERTHA       RAMEY                        CO     90009389419
627141A5181644   CHRISTOPER   WORLEY                       MO     29040671051
6271455AA3168B   SCHON A      ELIX                         KS     22038175500
6271473A24B588   AUTUMN       TAYLOR                       OK     90010187302
627147A7872B36   JOSEPH REY   GUTIERREZ                    CO     90010787078
6271486382B949   EDUARDO      LOPEZ                        CA     90004358638
62714A68A4B27B   RAQUEL       SERRANO                      NE     27043170680
6271526734B588   SIERRA       MERIWETHER                   OK     90015182673
6271682758166B   DORA         RAMIREZ                      MO     29005698275
627176A1455977   AARON        BUCHHEIM                     CA     90014496014
62717A6952B949   DANIEL       RASEY                        CA     90013460695
62718537A84392   HALEIGH      MURPHY                       SC     90009705370
6271872865B531   WENDI        GARCIA                       NM     90014527286
627187A1772B29   MARIA        MERAZ-MARQUEZ                CO     33046207017
6271894785416B   AMANDA       WHITMYER                     OR     90014599478
62718A28157544   CARLOS       GUERRA                       NM     35500400281
62719218A84392   MELVIN       BALDWIN                      SC     90014832180
6271946516193B   LARRY        HARBAUGH                     CA     90008344651
6271956642B949   EDWARD       NAJEEB                       CA     90010825664
6271957934B27B   ALYSIA       DELIA INGUEZ                 NE     90014735793
6271988A351354   ANGELA       CLEM                         OH     66040628803
6271993515B531   ASHLEY       MARTINEZ                     NM     36087979351
6271B84215B531   OSCAR        SOTO                         NM     90012068421
627212A1333698   ALBERT       HASKINS                      NC     90003532013
627212A227B46B   JAVIETTE     GRANT                        NC     11094192022
6272137474B588   ALEX         JOHNSON                      OK     90010253747
6272189113168B   JOEL         BELL                         KS     90009698911
627218A6255973   JUAN         ALCANTAR                     CA     48012238062
62722331872B36   SAMUEL       ANDERSON                     CO     90012413318
627227A1872B27   JUSTIN       HOMAN                        CO     33072807018
6272312542B27B   JOE          SHELL                        DC     90013661254
6272316A15B531   VENILDO      PEREZ                        NM     90013861601
627236A2351354   CHERYL       SPARKS                       OH     90013146023
62723978672B27   CODY         OSHKIDE                      CO     33065679786
62724A55855973   TRISTAN      EVANS                        CA     48045430558
627252A1663646   NATHAN       AGLER                        MO     27597882016
627266A7955975   RAQUEL       LOPEZ                        CA     90015096079
62726A98A55977   CRISTAL      CRUZ                         CA     90013660980
627271A785B531   JOHN         ORTIZ                        NM     36071581078
62727616572B43   SHELINA      RIVERA                       CO     90010416165
62727A7A47B46B   VALMARE      HARRISON                     NC     90009810704
627285A145B531   RAFAEL       MENDEZ FLORES                NM     90002905014
6272865A355973   SAMANTHA     RAMOS                        CA     48091636503
6272988A961936   KARLA        CARDOSO                      CA     90014038809
62729A91372B43   HEATHER      COLLINS                      CO     33033070913
6272B719857544   TERESA       HUTCHINSON                   NM     35504987198
6272B82458166B   DEANDRE      JOHNSON                      MO     90007768245
6273215A855977   PRISCILLA    FRANCO                       CA     90013461508
62732261772B43   JOSE         MIRANDA                      CO     33004672617
6273246A78B168   ANN          BRIDENSTINE                  UT     31069624607
6273365615B531   JUSTIN       GUINN                        NM     90012876561
62733983A72B27   ANTHONY      SANDAVOL                     CO     90011179830
6273542624B588   ANDREW       AMBURN                       OK     90015304262
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 359 of 2350


62735483A81644   RAHEME       SMITH                        MO     90014534830
6273573555416B   PHILLIP      NESS                         OR     90014177355
6273686775B531   TAMIKA       MONTOYA                      NM     90011778677
6273753788B168   BRYON        BARBER                       UT     31078185378
62737598A55977   BETTY ANN    GOMEZ                        CA     49002045980
6273764515B235   DEMARCO      FLOWERS                      KY     90013816451
62737921A72B36   MARTIN       MARTINEZ                     CO     33093819210
62737A72491522   ROSA         PALACIOS                     TX     90014160724
6273836A45B235   JEREMIE      BRUCE                        KY     90015153604
6273842962B27B   SPENCERA     SIMKINS                      DC     90012894296
6273854564B27B   MELISSA      WIBLISHOUSER                 NE     90014745456
62739538172B27   RODNEY       MILLS                        CO     90013195381
6273B278A84392   VICTOR       LOPEZ                        SC     90009612780
6273B31AA4B588   RANDALL      JONES                        OK     90013413100
6273B892372B43   KAREN        TORRES DE SANTIAGO           CO     90009558923
6273B916A61936   ALEX         CUELLAR                      CA     90013169160
62742523A72B29   LUCAS        GAWRYL                       CO     33030625230
6274262A357129   YLERE        MOULENDE                     VA     90009566203
627426A262B949   KENNETH      CREEKMORE                    CA     90013446026
62742718A72B36   ALAN         RAMIREZ                      CO     90010407180
627431A642B27B   DEMIDEZ      BROWN                        DC     90004791064
62744395A55975   DANIEL       GONZALEZ                     CA     90004763950
6274465A681621   TEE          ROLAND                       MO     90009266506
6274471112B949   ROCKY        GARZA                        CA     45083197111
6274589A155975   DALIA        GARZA                        CA     90013778901
627459A2172B29   ZACHARIAH    MACK                         CO     90014139021
6274673A74B588   ESTEBAN      SALDANA                      OK     90014817307
6274692432B949   JOSE         JIMENEC                      CA     90014459243
62746A61472B43   JOSE         JAUREGUI                     CO     90012840614
6274712498B169   ALEXANDER    WRAY                         UT     31050021249
62747562A91522   ANTONIA      GALAVIZ                      TX     90011615620
6274756787B46B   ETIENNE      HARRIS                       NC     90005135678
62748467A91522   GEORGE       FLORES                       TX     90013414670
6274873182B27B   LAKESHA      THOMAS                       DC     90013487318
6274955A755977   JACOB        MONTOYA                      CA     90008205507
6274961A35B531   ALANA        GONZALES                     NM     90013106103
6274B11A372B43   SEAN         MICHEAL-SUTLIFF              CO     33075441103
6274B791872B36   CAMACHO      GODINEZ                      CO     90014877918
6274B888557544   BILLY        DANIEL                       NM     35512498885
62751117A4B27B   KATY         CHARGING                     NE     90011551170
62751382A4B588   TRAVIS       SHAW                         OK     90010203820
6275161215B386   SANDRA       DAVIS                        OR     90001646121
627523A6372B29   DANA         JACKSON                      CO     33034113063
627527A6261936   ALBERTO      OCHOA                        CA     90004137062
6275311675416B   KATRINA      SMITH                        OR     90000821167
62753718A72B43   BRIANNA      FA                           CO     90014677180
6275393672B949   TIM          BERG                         CA     90011649367
62753A31172B43   BRIANNA      FA                           CO     90013230311
62754832A72B27   DON          BERNARD                      CO     90012488320
6275551A15416B   STEVEN       ROOT                         OR     90001625101
6275567864B588   LUCIANO      SMITH                        OK     90006846786
62756347172B29   MICHAEL C    CARSON                       CO     33000723471
62756578A55977   YARIMA       MENDOZA                      CA     90012445780
6275689955B531   JULIETA      RODRIGUEZ SOSA               NM     36041128995
6275714752B949   GRACE        ENSEY                        CA     90014001475
6275725784B267   ESTHER       PEREZ                        NE     27098812578
62758124A81644   JOSE         MENJIVAR                     MO     29086871240
6275847182B949   GUADALUPE    BRECEDA                      CA     90009274718
6275867A555977   ERIKA        GARZA                        CA     90013046705
6275934A85B235   JOHN         WELCH                        KY     90014143408
62759848A61964   VICTOR       LOPEZ                        CA     90003928480
62759A8317B46B   RAQUANTA     WHITE                        NC     90011030831
6275B214272B27   FLOR         MEDELLIN                     CO     90013922142
6275B4A747B46B   ELVIN        BOWEN JR                     NC     11001604074
6275B553651354   NAJAH        HABLI                        OH     90007515536
6276163394B27B   TERRENCE     MURRY                        NE     90009926339
62761A4713168B   ANGELA       GRITTEN                      KS     22073740471
62762651972B36   TRINIDAD     SOTELO                       CO     90007866519
627628A6697122   SANTIAGO     GIL                          OR     90009108066
6276337414B27B   SHAWN        FRANKLIN                     NE     90007263741
62763A6133B125   DON          BENTLEY                      DC     90010790613
6276482763168B   CHREE        BRADLEY                      KS     22034978276
62765666A4B27B   DANNY        MONTERROSO                   NE     90011426660
6276573433168B   ALFREDO      SANCHEZ                      KS     90011497343
6276585A85B531   JESUS        MIRELES JR                   NM     90014248508
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 360 of 2350


62765994972B36   CARLOS               MENDOZA              CO     90012119949
62765A98984392   TANYA                MARTIN               SC     19021350989
62766446A72B29   SANDRA               ESQUIBEL             CO     90003584460
6276788A131453   JAMES                WASHINGTON           MO     90011988801
6276833935B531   GUSTAVO              PINEDA               NM     90004223393
62768776672B43   STEVE                BUSCIETTA            CO     33008887766
627694A398B168   JASON                SHUMWAY              UT     90014314039
62769A16172B29   TIMOTHY CHARLES      BAUER                CO     90013750161
6276B857881644   ABBY                 FORBES               MO     90013258578
6276B96382B27B   DELORIS              WALKER               DC     90013829638
62771575A7B46B   GREGORY              MISSOUR              NC     90005135750
6277159364B27B   CARLOS               GARCIA               IA     90014745936
6277299713B125   HABIEBA              ISRAEL               DC     81000779971
6277361322B228   RHONDA               HALL                 DC     90013526132
62774173A5B52B   MANDY                PERLAS               NM     90009071730
6277447175B531   KERRY                MITCHELL             NM     90013424717
62774A8822B949   JOSEPH               MCKINLEY             CA     90014460882
6277527354B27B   TAMARA               CARSON               NE     27014082735
62775298472B27   KEITH                MAY                  CO     90014932984
6277573182B27B   LAKESHA              THOMAS               DC     90013487318
62776A8715B271   TROY                 HOLLEY SR            KY     90012390871
627771A535B531   KAREN                MAZULIS              NM     36032231053
6277725145B571   MYREYA               RODRIGUEZ            NM     90014122514
62778414572B29   DOREEN               VALDEZ               CO     90014964145
62778444A51354   LEAH                 THOMPSON             OH     90010794440
6277889266155B   MATT                 STOCKMAN             TN     90015598926
62778A7285B531   ITZEL                MARTINEZ             NM     90015150728
62779A3785B235   JAMES                BADGETT              KY     90008110378
6277B2A615B531   SANTOS               GASPAR               NM     90012922061
6277B6A9591522   EFREN                MENDIOLA             TX     90011616095
6277B988772B43   RUSSELL              LEVI                 CO     90013419887
627813A5155973   MICHEAL              BLACK                CA     90008603051
62781659772B43   RUQIYAH              SHABAZZ              CO     90012016597
62781A5A944341   SHA'VON              GAUSE                MD     82017500509
6278225A972B27   LOUISE               BARRAZA              CO     90012672509
6278228448B168   SHELLAY              WILLIAMS             UT     31098472844
6278265794B588   KELLY                STEEN                OK     90014156579
62782758372B29   CARLOS WILFREDO      AQUILAR QUIJADA      CO     90009007583
6278312A22B27B   ROMERO               GUDIEL               DC     90015221202
6278317A43168B   JASON                CEBALLOS             KS     90011261704
62783544672B43   CHARLEY              GOINS                CO     33031845446
62783982272B27   GRISELDA             DUENAS               CO     90014649822
62783A92291522   YOHUALLI             MALDONADO            TX     90014160922
6278448A65B235   JOELLEN              WHITE                KY     68009834806
62785441472B27   REINA                SERNA                CO     33004324414
6278624292B27B   LATISHA              WASHINGTON           DC     90013012429
6278631782B949   RUBEN                ALVAREZ              CA     90013643178
62786481872B55   MELISSA              MARTIN               CO     90012824818
6278718395B375   VERN                 FARDER               OR     90015281839
6278767717B46B   SHAWN                MOORE                NC     90008426771
62787971524B7B   JODY                 MORGAN               VA     81039279715
627879A315B235   EDILBERTO            LORES                KY     90009949031
62787A16791522   ROY                  ARGUMANIZ            TX     75046740167
6278813725416B   GEORGINA             MOON                 OR     47002191372
6278829895B531   JESSICA              JUAREZ               NM     36060742989
6278852643168B   PATRICIA             SAFSTROM             KS     90004955264
62788943A2B949   SUSAN                REDDEN               CA     45060739430
62789936A81644   TAMIKA               LAW                  MO     90007189360
6278B629957544   JESUS                HERNANDEZ            NM     35562896299
6278B65652B27B   TYRON                WILSON               DC     90014876565
6278B8A324B588   SHELIA               HAWKINS              OK     21574418032
6278B912661974   KATHRYN              BECERRA              CA     90012569126
62792278324B7B   YOLANDA DEL CARMEN   MARTINEZ             DC     90008912783
6279259575B235   WESLEY               KNIGHT               KY     90006215957
6279259A12B886   BILL                 BOARDMAN             ID     90011955901
627927A495416B   JEANA                THOMPSON             OR     90013067049
6279294A291522   ARNOLDO              GARCIA               TX     75086739402
62793354172B43   BRANDON              HEGLAND              CO     90009563541
62793621197B37   STEPHANIE            MORRIS               CO     33005666211
6279414415B235   EMILIO               REYES ESCOBAL        KY     90013061441
627941A8A91522   MELISSA              SILEX                TX     90014161080
62794621624B21   CHAVON               FOSTER               DC     90002516216
6279465544B588   YADIRA               GUITERREZ            OK     21512976554
6279518165B235   KARAY                STARNES              KY     90013221816
62796737A63646   MOLLY                BISHOP               MO     90009377370
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 361 of 2350


6279676564B27B   JULA              THUOTH                  NE     90014747656
6279728315B271   LYNNETTE          TAYLOR                  KY     68051242831
6279878A34B27B   JOHN              FARRELL                 NE     90014747803
6279951374B27B   MICHELLE          CASE                    NE     27029755137
6279994A87B48B   DEMETRIS          JONES                   NC     90013069408
6279B53895B531   ROBERTO           MONAREZ                 NM     90003565389
6279B758772B27   ROBERTO           ESPARZA                 CO     90013967587
6279B7AA172B29   NATHANIEL         TUNISON                 CO     33091127001
6279B98425416B   TERESA            BASZLER                 OR     47082539842
6279BA66591969   CHIQUITA          GILCHRIST               NC     90012450665
6279BA81781644   JENNIFFER         CASTANEDA               MO     29052040817
627B116854B27B   MINDY             NELCHOR                 NE     90006821685
627B11A764B588   CARRIE            SLAUGHTER               OK     90011941076
627B1321391522   JESUS             SANTAMARIA              NM     90004463213
627B227272B27B   MELISSA ABIGAIL   GUEVARA                 DC     90012622727
627B233A58166B   PETER             YUNKER                  MO     29082603305
627B248A581644   MONIQUE           DAY                     MO     90013874805
627B2866972B36   JAVIER            MARTINEZ-AVILES         CO     90010398669
627B326735416B   JAYLON            CHRISTIAN               OR     90014462673
627B33A665B235   ABIGAIL           ROCKWELL                KY     90013093066
627B3457272B36   BRENDA            PAZ                     CO     33093234572
627B349358B358   JESUS             CORTEZ-BLAZ             SC     90015084935
627B3649972B29   PATRICIA          JANTZ                   CO     90006296499
627B39A3181644   JOSIAH            MATT                    MO     29008379031
627B3A29772B36   RALPH             MAESTAS                 CO     33013940297
627B4146893753   ERRIDC            DIXON                   OH     90002731468
627B4662A55973   BLANCA            MORALES                 CA     48043066620
627B468A672B29   GRISELDA          ALCALA                  CO     33054646806
627B524788166B   SAREAH            BROWN                   MO     90007292478
627B5559A4B588   AMANDA DAWN       KITCHENS                OK     90009775590
627B568958B168   DENNIS            FERNANDEZ               UT     90005236895
627B585457B333   BERHANU           DESSIE                  VA     90003598545
627B5922341295   CLAIRE            BYRNES                  PA     90007669223
627B616717B445   IRIS              LEIVA                   NC     11006461671
627B6355172B43   RICKEY            PAYNE                   CO     90004713551
627B669A872B36   SANTANA           THOMAS                  CO     90014636908
627B6813A2B27B   CARLA             BUSSEY                  DC     90002118130
627B7167972B36   ANGELA            STREWELER               CO     90013311679
627B7AAA151354   STEVE             DENT                    OH     90009620001
627B815958B169   ISABEL            WATSON                  UT     31024071595
627B8195772B29   ANTHONY           ABEYTA                  CO     90013351957
627B88A3572B29   JAQUELINE         NEVAREZ                 CO     90014698035
627B8A83A55977   YOLANDA           BARRON                  CA     49058580830
627B9627A72B29   JAVIER            VILLANUEVA              CO     33014336270
627B9649293753   GERI              BOSTIC                  OH     90008186492
627B9991991527   ALEJANDRO         URBINA                  TX     90014239919
627BB4A9563646   MELISSA           SMITH                   MO     90008614095
627BB795655973   SUSIE             HENDRIX                 CA     90009027956
627BB915A81644   ANGEL             WRIGHT                  MO     90012499150
627BB958372B27   SARAH             PADILLA                 CO     90003509583
628127AA331422   TAMALA            TABOR                   MO     90008707003
62812888A5B531   SANDY             VALENZUELA              NM     36039428880
62812A71672B36   SAUL              FLORES                  CO     33087160716
62813623872B36   MARIA             SANCHEZ                 CO     90009046238
6281421425416B   LAUREL            GRINCER                 OR     90010692142
6281427313168B   VINNIE            TIMMONS                 KS     22056342731
62815681A61936   JARYBA            MUNOZ                   CA     90011166810
6281589A92B949   EMMA              NUNES                   CA     90008448909
628159A472B27B   TIFFANEY          GRAY                    DC     90015109047
6281613545B271   JOSH              YATES                   KY     90009171354
6281668952B27B   ANDREW            B                       DC     90007576895
6281741684B588   MANDY             WHEELER                 OK     90014574168
628177A2272B36   MICHAEL           BARBER                  CO     90010307022
6281822773168B   TEREECA           GAHMAN                  KS     22021592277
6281919513168B   TIFFANY           PHILLIPS                KS     90015331951
6281929AA31453   VERNITA           LOVAN                   MO     27583742900
6281971642B27B   JAIRO             ORELLANA                DC     90014527164
6281B14A555975   ALEXIS            ALEXANDER               CA     90012481405
6281B37A28166B   RONNIE            HICKS                   KS     29062243702
6281B41912B27B   SHASHANNA         PATTERSON               DC     90014324191
6281B453631455   KAT               UNDERWOOD               MO     90010464536
6281B661191522   CLAUDIA           ORDUNA                  TX     90011616611
6281B795A4B27B   MIRANDA           MORROW                  NE     90014747950
6281BA77555975   MELISSA           GRENFELL                CA     90005130775
6282111787B46B   JOANN             JOHNSON                 NC     11091841178
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 362 of 2350


6282113833168B   KIM          SIEMERS                      KS     22083451383
6282135624B261   CARLE        FORSTER                      NE     27013183562
62821465A72B29   CAUHTEMOC    PEREZ                        CO     90014104650
6282238A381644   ADORS        LANGMAID                     MO     90014883803
6282249A491522   SUSAN        GOMEZ                        TX     75069004904
6282294635B271   PAUL         DANIELS                      KY     68037059463
628229A2255983   CLAUDIO      REYES                        CA     90011559022
628235A6972B36   KATY         WAHL- MARTIN                 CO     90011965069
6282382447194B   ELAINE       PINO                         CO     90001118244
6282428A184392   SHERRISE     CAPERS                       SC     90006092801
628245A8933698   DAVIS        JAMES                        NC     90005125089
6282483958B168   TOD          LAMOREAUX                    UT     31073628395
6282527347B358   ROINALD      GOMEZ                        VA     90007892734
6282635155B53B   BRENDA       THOMPSON                     NM     90014513515
628266A4555975   TEDDY        MATA                         CA     90004936045
62826918572B43   KIMBERLY     PADILLA                      CO     90014389185
62826979A2B949   JAMIE        SNYDER                       CA     90011999790
62828342A55975   CRYSTAL      TAYLOR                       CA     90011723420
6282875225B235   JAMIE        WILLARD                      KY     90007877522
6282884355B271   CHRIS        HUMFLEET                     KY     90003068435
6282B35824B27B   ROBERT       CLATTERBUCK                  NE     27095173582
6282B35A67B46B   QWANTETTA    MARSHALL                     NC     90009713506
62831171772B43   TAMARA       MOYER                        CO     90013791717
6283162AA91522   ERNESTINA    VALLES                       TX     75052486200
6283166822B27B   ERICA        MOBLEY                       DC     90012586682
62831A95381644   KENTON       POKE                         MO     29097530953
6283227368B168   ALICIA       DELGADO                      UT     31044592736
628322A6A55973   TONIE        SANCHEZ                      CA     90009192060
6283259194B588   CHRIS        DYAS                         OK     21511825919
62832641A72B43   JEMROSE      VALERIO                      CO     90010726410
628327A3184392   CONISHA      JOHNSON                      SC     90009057031
6283385922B27B   OSCAR        POZO                         DC     81002308592
62833986672B43   SHARLENE     GOOD                         CO     33008889866
6283468A155973   OSCAR        GAMEZ                        CA     48086876801
62834A31961558   MS           LILIAM                       TN     90015380319
6283514AA91522   MELENDEZ     LEONARD                      TX     90014161400
628351A875B235   MARCELLA     THOMPSON                     KY     68012401087
62835A22855973   SENORINA     MARTINEZ                     CA     48097550228
6283693554B562   SKYLER       LUSK                         OK     90010029355
62836AA125B271   MARVIN       JOHNSON JR                   KY     68094620012
6283777525B235   TIFFANY      MATTINGLY                    KY     90015307752
6283847182B949   GUADALUPE    BRECEDA                      CA     90009274718
628384A412B949   GINA         DAYANAN                      CA     45052734041
6283868914B588   CAROL        TROUSDALE                    OK     90014886891
628388AA34B588   GABRIELA     ACOSTA                       OK     90007148003
62839613A8B168   CAROLYN      REYES                        UT     90000826130
6283B113525236   JOSHUA       HARRIS                       NC     17086271135
6283B412661964   KALANI       MASON                        CA     90014324126
6283B757424B4B   JUANA        ESCOBAR CUETO                DC     90010487574
6283BA68957544   ROBERT       SSIQUIROS                    NM     35509190689
6284177475416B   KRYSTAL      BJURLING                     OR     90014077747
62843158A61964   ERNESTO      MEZA                         CA     90014261580
62843376172B29   BRENDA       CARRILLO LOPEZ               CO     33084833761
628434A212B27B   JEFFREY      BRENT                        CO     81083454021
6284425842B27B   EVA          CANALES                      DC     90007892584
6284492195B531   ISABELLA     CARCAMO                      NM     90012429219
6284534824B27B   DEMETRUIS    SPIGHT                       NH     90014743482
62845A57955975   NOEMI        GAXIOLA                      CA     90014340579
6284764693168B   TAKEYSHA     WILLIAMS                     KS     90013536469
62848264A5B531   JENNIFER     ROMERO                       NM     90011802640
62848462A72B27   STEVE        BILLER                       CO     90014154620
6284887914B588   EULALIA      GAMEZ                        OK     21514848791
62849125372B36   VERONICA     CAMACHO                      CO     90012401253
6284B9A964B588   JAQUELINE    JACKSON                      OK     90014309096
6285128695B531   LARRY        LOVATO                       NM     90002382869
6285194375B395   JESSICA      SUMERLIN                     OR     44512199437
6285223A272B27   RUBEN        DELGADILLO                   CO     90013062302
62852563972B29   JOANNA       M ESCAMILLA                  CO     33041705639
628527A485B271   KRISTAL      HUNT                         KY     68093187048
62852A77972B43   NEINA        COLLIER                      CO     33026900779
62853118A81644   NOEMI        REYES                        MO     90010941180
6285368524B27B   ARON         PIERCE                       NE     90009426852
62853689172B43   TEDDY        FULTON                       CO     33038596891
6285381385B235   DAPRE        OLDHAM                       KY     90001758138
6285385AA5B271   EDWIN        NAVAS QUEVEDO                KY     90003068500
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 363 of 2350


6285393475416B   EMILY         ACOSTA                      OR     90010359347
62853974472B27   ANTONIO       LUIS GONZALEZ               CO     33026419744
628545A5972B29   MARYANN       CASIAS                      CO     90013055059
62854A49281644   DARRLY        WILLIAMS                    MO     90014950492
6285516794B27B   BETH          CHURCHILL                   IA     90010371679
6285599285B53B   CYNTHIA       DURAN                       NM     90012719928
62855A68755973   JUAN          BECERRA                     CA     48007670687
62858737A85981   KEVIN         FRY                         KY     90007867370
6285962A82B949   GRICLDA       PENA                        CA     90009676208
6285967425B531   ESMERALDA     RUIZ                        NM     36012676742
628598A1772B36   CHRIS         SIERRA                      CO     90013828017
6285B18485416B   SALLY         DAVIS                       OR     47072511848
6285B4A735B531   MIKO          QUINTANA                    NM     90011454073
6285BA26772B43   JOLIE         VIGIL                       CO     90003520267
6286192554B588   JAZZMINE      JOHNSON                     OK     90013219255
6286276122B27B   JOHN          SIMTH                       VA     90013147612
628627A8251354   EILEEN        BORGMANN                    OH     90000817082
6286344A22B27B   CALIFORNIA    LOVE                        DC     90010034402
62863845A2B949   ANA           PIMENTEL                    CA     90013438450
62863A1238B169   DARLA         HOLLADAY                    UT     31046910123
62864171772B43   TAMARA        MOYER                       CO     90013791717
62864441372B36   MARIA         REYES                       CO     90011454413
6286491845B531   GLORIA        ANDRADE DE GONZALES         NM     36050789184
62865414672B29   ZACHARY       CRUZ                        CO     90011334146
62866492A4B27B   WANETTA       RICHARDS                    NE     27073034920
62866634A55975   VANESSA       DAGGETT                     CA     48027426340
62867482472B29   JESUS         ACEVEDO                     CO     90014444824
62867A48384392   MAURICE       ALLARD                      SC     19021590483
62867A6555B531   BERTHA        PEREZ DE GARCIA             NM     90000720655
62867A6A55416B   SHEENA        BRONSON                     OR     90007000605
6286816A181644   STEVEN        MEDLEY                      MO     90013611601
62869426972B29   FREDY         LOPEZ HERRERA               CO     90013794269
628695A795416B   JEFFERY       EMERALD                     OR     90008875079
6286991264B588   JUAN          TAPIA                       OK     90004689126
62869A2915B531   MARGARITA     FRANCO                      NM     90010680291
62869A3558166B   ALYSSA        BYBEE                       MO     90000810355
62869A4214B27B   JUAN          GOMEZ-HERNANDEZ             NE     27064090421
6286B437572B29   LUCINDA R     HILL                        CO     90003294375
6286B499761964   MARLA S       SAVOIE                      CA     90000654997
6286B546997122   ISABEL        GARCIA MORENO               OR     44522415469
6286B63487B46B   CARLOS        JOLON                       NC     90008706348
6286B715133698   MEGAN         WRIGHT                      NC     90006837151
6286B95545B375   ISABEL        VILLEDA                     OR     90013389554
628716A6984392   DIANE         LAWSON                      SC     90011256069
6287172424B27B   ALEXANDER     RIVERA                      NE     90014767242
6287214492B949   CHRISTINE     CLARKE                      CA     45023881449
62873322672B27   RAFAEL        DOMINGUEZ                   CO     90003733226
62873379A7B46B   LARRY         GAINES                      NC     90000793790
628741A3281621   CHARITY       TILLERY                     MO     90012351032
628755A583168B   KARLA         DIFFENBACHER                KS     22027725058
6287571534B27B   JOSE          FUEGOS                      NE     90014117153
6287622552B269   COREY         RUSSELL                     DC     90007442255
6287655A73168B   SHANE         EAST                        KS     90013905507
6287787197B636   TERESA        WRAY                        GA     90005898719
6287821A171924   KEVIN         GREGORY                     CO     90009742101
6287822298B17B   MICAH         VARGAS                      UT     90014572229
62879A16A55977   ANTHINY A     HERNANDEZ                   CA     90010860160
6287B65958B168   ELIZABETH     ORR                         UT     90010546595
62881657A5B235   KEITH         BIRDSONG                    KY     90010326570
6288176432B27B   RENEE         MCPHERSON                   DC     90012587643
6288176A872B27   ANA           SANTOS                      CO     90010987608
62881937598B22   DARROND       MARSHALL                    NC     11088939375
6288199462B949   MARITZA       CASTILLO                    CA     90011429946
6288226955416B   KAILEY        LEWIS                       OR     90013442695
62882289172B29   OBED          SERNA                       CO     33089312891
62882A16855975   JOAQUIN       URIOSTEGUI                  CA     90008470168
62883566A5B531   DOLORES       LUCERO                      NM     90007775660
6288426588166B   CANDICE       CARDWELL                    MO     90006262658
628849A762B27B   RICHARD       BRANCH                      DC     90001399076
62885893172B36   FRANK         BENALLY                     CO     90012078931
62886878A55975   JUAN MANUEL   GARCIA                      CA     90013128780
6288731858B168   DANNY         CAMPOS                      UT     90013403185
6288752A13168B   SHARON        JACKSON                     KS     22004295201
6288817487B46B   KANTE         QUAYE                       NC     90009691748
6288965748B169   FRANK         BARBOZA                     UT     31079776574
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 364 of 2350


6288982A391522   MARIA GUADALUPE   LANDEROS                TX     90011618203
6288B75115B531   SALVADOR          BELTRAN                 NM     36083637511
628919A955134B   KATONDRA          COUSINS                 OH     90013009095
62892371A61936   EDWARD            KIRSTAHLER              CA     90011853710
6289253672B27B   CHANEL            COLBERT                 DC     90012765367
6289287A261964   MAURICIO          HERRERA                 CA     90014188702
6289326899199B   MARIA             ANDRADE                 NC     90008412689
6289359675B241   TYSHA             SIMMONS                 KY     90007035967
6289387A37B46B   GONZALO           LOPEZ                   NC     11035988703
62894284372B36   KAREN             THOMAS                  CO     33023902843
6289436155416B   DIANE             DUER-WILLIS             OR     90009913615
628946A3A51354   JUDY              HUGHES                  OH     90008546030
6289472464B27B   ANDREW            COLLEY                  NE     27058237246
628947A8591522   AGUSTIN           AVILA                   TX     75088447085
62894A8285B531   ANTONIO           BACA                    NM     90014860828
628955A337B321   BETH              MITCHELL                VA     90003535033
62895654772B29   KATHY             POLLACK                 CO     33075666547
6289775125B531   GABRIEL           GALDAMEZ                NM     90014577512
62897A8A381644   MOHAMMED          MUSTAFA                 MO     90010560803
6289854A15B531   RICHARD           OSNESS                  NM     36089885401
6289882734B588   JUSTIN            FIELDS                  OK     90015098273
62898897A72B29   ALAN              MANNING                 CO     33009468970
62898A32A2B949   MIRANDA           BLANCA                  CA     45031450320
628995A198166B   JEFF              LAMMPING                MO     90006085019
62899659A33698   MICHAEL           ROBERTSON               NC     90006036590
6289B21A58B169   TAMRA             LEE                     UT     31029692105
6289B487172B29   ALFONSO           FRIASPINON              CO     33035924871
6289B51992B27B   KENISHA           JACKSON                 DC     90005495199
6289B657A55975   MONICA            VILLARREAL              CA     90005296570
6289B8A9957544   KATHERINA         RICHARDSON              NM     35595958099
6289BA56172B27   PEGGY             SANFORD                 CO     33086090561
628B139732B949   JACK              MULDER                  CA     45038883973
628B1425A72B43   JORDAN            ORTEGA                  CO     90013364250
628B1652481621   ANN               DAVIS                   MO     90002216524
628B168763B374   CYNTHIA           GEORGE                  CO     90009446876
628B1764177527   JENNIFER          KURTZ                   NV     90004247641
628B214394B588   LARRY             DREW                    OK     90013011439
628B2178257538   VERONICA          PAYAN                   NM     90008201782
628B2523A2B227   RONALD            SAUNDERS                DC     90002455230
628B2799255975   CHRISTINA         POMPA                   CA     48018007992
628B3921872B22   YAVICELA          RIZO MUNOZ              CO     90005509218
628B3A86661936   DIAMOND           TATE                    CA     90013190866
628B42A725B235   SHERMAN           JOHNSON                 KY     90012742072
628B46A4655935   SARA              CORDOVA                 CA     49060026046
628B4874384392   JUANITA           SIMMONS                 SC     90014298743
628B4944355975   BRITTANY          ROENTZ                  CA     90014059443
628B4A12272B36   CHRISTIAN         QUEZADA                 CO     90013190122
628B534955B531   MARIA             CHAVEZ                  NM     90001013495
628B5A69955973   GABRIELA          MENDOZA                 CA     48097210699
628B6238484392   AMRAA             SAENZ                   SC     19073142384
628B7516372B36   ROSALBA           COLIMA RAFAELA          CO     33034335163
628B845575416B   SHAYNE            RODGERS                 OR     90014874557
628B8586572B29   CHRISTIAN         RAMIREZ                 CO     90012345865
628B9131461964   BRENDA            MILLER                  CA     46091321314
628B918695416B   CHERYL            BEIKMAN                 OR     90010691869
628B9213255977   JORGE             JUAREZ LOPEZ            CA     49084522132
628B92A1663646   NATHAN            AGLER                   MO     27597882016
628B9432381644   DUSTIN            ADAMS                   MO     29075654323
628B9476272B27   KORTNIE           ZUNDEL-FRANCIS          CO     90013564762
628B9889181621   CHARLES           BEEGHLEY                MO     29017508891
628B98A7184392   EDWARD            MAZYCK                  SC     90009598071
628B998922B949   SILVIA            TOVAR                   CA     90013379892
6291148255416B   EMILY             MOORE                   OR     90012574825
6291266232B934   LAURA             JORDAN                  CA     45031536623
6291284467B422   MULUGETTA         LEMMA                   NC     11025538446
6291326645B271   JENNY             GRAHAM                  KY     68092882664
6291334412B27B   RAVEN             BENNETT                 DC     90014583441
629149A575B531   JORGE             PEREZ                   NM     90012729057
62914A34A72B36   MIREYA            CHAVEZ-SILVA            CO     33053510340
6291635635B235   MARK              IRWIN                   KY     90013293563
62916918572B43   KIMBERLY          PADILLA                 CO     90014389185
62917A12961936   GEORGE            ESPINOZA                CA     90011130129
629183A9272B27   ISMAEL            MORENO                  CO     90011423092
62918638172B29   DERRICK           STERIEENSEE             CO     90015596381
62918AA2457544   TERRY             RASMUSSEN               NM     90009760024
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 365 of 2350


6291963A15B531   KIMBERLY     HOLYFIELD                    NM     36074066301
62919A37372B29   ABIGAIL      HERNANDEZ                    CO     33088460373
62919A51681644   ELLA         COBB                         MO     90013800516
6291B548141252   GEORGE       GABLE                        PA     51090005481
6291B642131453   ULYSSES      GORDON                       MO     90014426421
62921223572B29   BAMBI        MOODY                        CO     90011062235
6292161A75416B   MAYME        KREBS                        OR     90009986107
6292265235B531   ANGELA       CHAVEZ                       NM     36009656523
62922687972B27   MARIAN       CARDENAS                     CO     90013326879
6292376733168B   MATTEW       NANCE                        KS     90015107673
62924373172B43   MARGAUX      MILCHEN                      CO     33008893731
62924536872B36   MARIA        RIVERA                       CO     33078325368
62924A1895416B   JAMES        BATEMAN                      OR     47015090189
6292541513168B   JAZMIN       HERNANDEZ                    KS     90011954151
629257A495B531   JESSICA      GONZALES                     NM     90011957049
6292581685B235   ARTHUR       THOMAS                       KY     68098668168
6292613825B531   LARRY        JACQUEZ                      NM     90012701382
62926853872B27   BERENICE     SAUSTEGUI                    CO     90012508538
6292956412B27B   JAMAL        WOODS                        DC     90001705641
6292983745B531   MARIA        PENA                         NM     36007638374
6292984575B235   TINA         BLANDFORD                    KY     90011318457
62929871272B27   CHRISTINA    MONDRAGON                    CO     33091378712
6292B17154B588   MIGUEL       VELETZUIT                    OK     90010721715
6292B232251354   WANYNE       SHAW                         OH     66021162322
6292B42767B46B   MARY         LAMBERT                      NC     90014564276
6292B758284392   MYONG        PARSONS                      SC     90013957582
6292B79488B168   VALERIE      BAKER                        UT     90010557948
6292B79642B27B   YVES         PAILMA                       VA     90013207964
6292B887481644   CONSTANCE    ALTIERI                      MO     90012428874
6293193266155B   CHELSEY      KING                         TN     90015529326
6293237615416B   YIK CHIN     PANG                         OR     90007293761
6293283A65B235   JACQEULINE   JONES                        KY     90009208306
62932A92A2B941   MICHELLE     PRITCHETT                    CA     90004550920
6293332993168B   JENNIFER     HOLLENSBE                    KS     90009623299
629348A235416B   JAMES        PERRY                        OR     90013538023
6293592392B27B   MARQUETTE    CATLETT                      DC     90006599239
6293637994B588   COLE         BULLEN                       OK     90013413799
6293647348166B   SOLID        ENT                          MO     90014604734
6293661378B168   SHERA        FERNAU                       UT     31008056137
6293672688166B   TERRENCE     O'BRYANT                     MO     29001407268
6293681625B531   JANET        PINON                        NM     36068878162
629376A524B588   LAKESHA      ANGLIN                       OK     90006026052
6293772A172B43   ALEX         REID                         CO     90001587201
6293784399184B   JUSTIN       PERGIO                       OK     90007778439
6293792752B949   TRISHA       PIRES                        CA     90011109275
6293B26A48B168   ROGER        JONES                        UT     31055012604
6293B496755973   JOSE         VILLAGRAN                    CA     48094794967
6293B626872446   JAMES        JACKSON JR                   PA     51006856268
6293B832991522   CARLA        CADENA-GARAY                 NM     90013308329
6294178167B761   LUIS         REY                          CA     90013977816
62941793372B43   DANIELLE     HUERTA                       CO     33096117933
62941A59661936   MICHELLE     MARTINEZ                     CA     90012120596
62942139A55977   ANTHONY      CURRILLO                     CA     90013171390
629431AA12B27B   SANDRA       CONTRERAS                    VA     90011181001
62944387A7B357   VANESSA      LOPEZ                        VA     81016883870
6294586373168B   ROBERT       CRUZ                         KS     22089378637
62945A9A82B27B   VERNON       NEWLAND                      DC     81095640908
6294725915B271   KEVIN        TAYLOR                       KY     90014312591
629481A984B27B   TIFFANY      BROWN                        NE     90014761098
6294866412B949   CORINA       MARSHALL                     CA     45045946641
62949123672B29   KAYLA        OKAFOR                       CO     33042881236
6294914A161964   AURORA       MUNOZ                        CA     46095821401
6294B42243B125   IMANI        JEFFERSON                    DC     90014174224
6294B444598B22   NELLY        NAVARRO                      NC     90006414445
6294B765151354   LINDA        BONNER                       OH     90008447651
6294B827872B36   ARCEDALIA    DURAN                        CO     33058668278
6295143672B949   JOHN         WADE                         CA     90014464367
62952479A4B588   DANY         LOPEZ AGUILAR                OK     90004814790
62952A3222B949   PATRICIA     BRINKLEY                     CA     90012080322
629531A984B27B   TIFFANY      BROWN                        NE     90014761098
6295348565B235   HOPE         WILLIAMS                     KY     90012684856
629535AA772B43   JOAN         ELKINS                       CO     90001685007
62953A92A4B588   ELVIA        ROJO                         OK     90008270920
62954175A72B36   FRANK        BUSTOS                       CO     90015061750
629541A9185939   TIFFANY      GIVENS                       KY     90010641091
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 366 of 2350


6295424528166B   IVROY         WESTLEY                     MO     90002542452
6295458A885953   KENDRA        LASHAY                      KY     90015165808
62954A8235B38B   AURA          MAYEN                       OR     90007790823
6295543624B27B   JULIE         ANDERSON                    NE     27090674362
6295589A572B27   ERYC          THORNTON                    CO     90013718905
6295647269B14B   LOUISE        SWANIGAN                    AR     90011144726
6295678125B235   CHARLES       EFFINGER                    KY     68029037812
6295742662B27B   SHANE         JAMES                       DC     90007864266
629577A284B54B   DARNELL       FORSHEE                     OK     90004027028
62957916972B29   ROSALINO      GONZALEZ                    CO     90012809169
62957A21151354   AMBER         JARBOE                      OH     90013540211
6295815314B27B   RONALD        WASHINGTON                  NE     90014761531
6295923428162B   CHRISTOPHER   CASSIDY                     MO     90007882342
6295951A361964   RODERICK      SMOTH                       CA     90013375103
6295997448B169   JAMES         NIELSEN                     UT     31037539744
6295B713761936   ANGELICA      CABRERO                     CA     90006537137
6296217559193B   BERNARD       PAYNE                       NC     17010951755
62962571672B36   RALPH         SALAZAR                     CO     90010535716
62962A6792B27B   SHAVON        WHITEHEAD                   DC     81093480679
6296346634B27B   TASHEA        HARRIS                      NE     27088954663
629637A2863646   PAUL          HARRIS                      MO     27591307028
6296591416155B   CORI          ROGERS                      TN     90015419141
6296635A855977   ELI           ONTIVEROS                   CA     90014373508
629677A732B27B   FRANCISE      FINCH                       DC     81010737073
6296797825B271   EFRAIN        RUIZ                        KY     90003069782
62967A46191522   ANTONIO       GARCIA                      TX     75073400461
62967A65461964   JOSE          SOLIS-MEDINA                CA     46084950654
6296818235416B   CARLOS        PEREZ                       OR     90014481823
62968279A57127   ELMER         BONILLA                     VA     90011402790
6296835A13B125   ROSA          BONILLA                     DC     81077443501
6296843654B588   LYNDA         KEATHLEY                    OK     90015304365
6296933317B46B   GLORIA        RAMIREZ                     NC     90010733331
6296984822B949   ANNA          FERNANDEZ                   CA     90015348482
62969A8A25416B   GARRET        LEWIN                       OR     90014900802
6296B512272B43   PAT           STEERS                      CO     33008895122
6296B62165416B   DONNA         DOOLITTLE                   OR     90000886216
6297194354B547   JOHNNY        LAMPTEY                     OK     90010369435
6297314394B588   LARRY         DREW                        OK     90013011439
6297396743B239   OSCAR         RAMIREZ                     DE     90014469674
62974525872B36   NICOLE        CORDOVA                     CO     33097405258
62974569A55977   JESSICA       CAMARILLO                   CA     90013695690
6297458393B394   GONZALO       AGUILAR                     CO     90014125839
6297466A961964   ERICA         MUNOZ                       CA     90001906609
62974861A2B949   JESUS         MENDOZA                     CA     90010808610
6297528622B949   MALOLOGA      SIAGATONU                   CA     45028632862
6297536165B531   SAMUEL        FUENTES                     NM     90013023616
6297547A381644   WILLIAM       BREWER                      MO     29046254703
62975A83172B29   ALFONSO       CAMPOS                      CO     90015100831
6297613A872B43   QUALITYTIM    PAINTING                    CO     33095211308
6297631A95416B   LEAH          LYMAN                       OR     90015153109
6297634A88B324   PERRY         BLAIR                       SC     90013573408
6297686124B588   ALLEVON       MCELYEA                     OK     90012688612
6297755A481644   JAMES         PRATT                       MO     29084155504
6297826928B168   PHILLIP       LUBY                        UT     90011582692
62978336372B36   ALISHER       ADILOV                      CO     90012583363
62978A7822B949   AZIZ          JACOBS                      CA     45021610782
6297956412B27B   JAMAL         WOODS                       DC     90001705641
6297969A272B29   ALEJANDRO     GONZALES                    CO     90009336902
6297B12865B531   STEVE         BACA                        NM     36040191286
6297B192491522   DAYANNA       MARQUEZ                     TX     90014161924
6297B42113168B   RACHEL        LUCAS                       KS     90009554211
62981A3A44B588   THOMAS        CHILDS                      OK     90014770304
6298219254B588   LEZENDRA      JACKSON                     OK     90008971925
62982447A57544   SARAI         LOPEZ                       NM     90006174470
6298258A872B27   PEDRO         DONAYRES-MOLINA             CO     33013595808
6298341792B949   JORDAN        STANLEY                     CA     45096514179
62983AA7272B27   THOMAS        TACU                        CO     90013240072
62984745872B29   ROSA          RAMIREZ                     CO     90011557458
62985867A72B29   STEVE         JOHNSON                     CO     90009908670
62985A31855973   LUCRETIA      SWEEDEN                     CA     48084100318
6298623762B27B   MARVIN        MENJIVAR                    DC     90009492376
6298696834B27B   AURA          ROCKWELL                    NE     27088669683
62986A1697194B   CAROLINA      HERNANDEZ                   CO     90010040169
6298777744B27B   WILLIAM       HADDAD                      NE     90009957774
62987958A55977   ANGELICA      LEON                        CA     49083449580
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 367 of 2350


629879A6A57544   JAMES              WESTHEAD               NM     90008669060
62988221A72B43   JORGE              MORALES                CO     90011912210
6298827864B588   REBEKAH            HOOPER                 OK     90006992786
6298829A55B531   ANITA              MOYA                   NM     90011882905
6298837182B27B   AMANDA             BLAKEY                 DC     90014513718
6298929158B168   ILIANA             CENDEJAS               UT     90003582915
629896A6A91522   ESTEBAN            DE SANTIAGO            TX     90005246060
62989924A33698   JOSE               TREJO                  NC     90013929240
6298999AA4B27B   DARILYN            STERLING               NE     90009479900
6298B241551354   LUIS               TOMAS RAMIREZ          OH     90012642415
6298B553581644   MIKE               ADAMS                  MO     90009455535
62991773772B36   LIZ                CHAVEZ                 CO     33028227737
6299214314B27B   ESTELA             ORTIZ                  NE     27041441431
6299222995B271   KIMBERLY           MORRIS                 KY     68009072299
62992657172B37   RODRIGO            MARES                  CO     90013616571
62994789A84392   EVODIO             MAYA-ARREGUIN          SC     90012917890
62994A7745B235   TAMMY              BINDNER                KY     90002740774
6299637A197B61   JASMINE            VAROS                  CO     90010903701
6299646433B125   CHARLES            WILLIAMS               DC     90014844643
62996532A4B27B   JAKAYE             JONES                  NE     90010105320
6299662465416B   SHELLEY            TUSKI                  OR     47058706246
62996688572B29   RON                WARTTMAN               CO     90015166885
62996816A4B588   LESLIE             COOK                   OK     21561728160
62996A42A55975   EPIFANIO           FERREIRA               CA     90014420420
6299778A157544   JAMES              AGEE                   NM     90010847801
62997A5A257538   MARIA              LOZANO                 NM     90011930502
6299962A15B531   DAVID              MONTOYA                NM     36004536201
62999A81184392   MARTINEZ           HERNANDEZ              SC     90014330811
62999AA797B46B   EDDIE              DAVIS                  NC     11005500079
6299B29884B27B   APRIL              GEORGE                 NE     27074432988
6299B38415416B   TYSON              DUNCAN                 OR     47030253841
6299B896591522   MARY               DODSON                 TX     75050268965
629B1114163646   ANA                GUTIERREZ              MO     27562581141
629B129395416B   RENEE              GUTIERREZ              OR     47036002939
629B1542A2B949   DARWIN             FULLON                 CA     90008275420
629B1932172B36   MELISSA            REYES                  CO     90012209321
629B198A355975   KRYSTAL            MCKAY                  CA     90014629803
629B1A65A72B36   ANGELICA           CANDIA                 CO     33013200650
629B215914B588   BRANDON            BOYD                   OK     90012751591
629B2343957544   THURMAN            CURRY                  NM     90014043439
629B2366A81644   ANIBAL             MERCADO                MO     90014843660
629B2748372B29   MICHAEL            REDDY                  CO     90004787483
629B276395B531   MARIA              ELIAS                  NM     90013257639
629B2834755977   SCARLET            DURAN                  CA     90014708347
629B3492457544   EMILIE             WESTERBUR              NM     90006574924
629B3A3912B27B   RODOLFO            MARTINEZ-ALVARENGA     DC     81046500391
629B4471698B22   TARIO              LESSA                  NC     11080204716
629B4645455977   NICHOLE            COOPER                 CA     90010646454
629B4818355975   RAFAEL             AYON                   CA     90011138183
629B59A1372B36   YARITZI            CERVANTES              CO     90011409013
629B5A5962B27B   STEVEN             FERGUSON               DC     90014450596
629B5A67472B29   DAWN               LITTLER                CO     90013820674
629B625295B531   JENNIFER           LEASK                  NM     90014842529
629B6A1514B588   BRYAN              BICKERSTAFF            OK     21561610151
629B6AA7A31453   TRISTEN            BRADFORD               MO     90015210070
629B7594984392   SAUL               MARTINEZ               SC     90012975949
629B8193A57544   GABRIEL            STA MARIA              NM     90015311930
629B8741761936   ANDRE              CHAVEZ                 CA     90013037417
629B895844B588   AMBER              PARROTT                OK     90010999584
629B913444B27B   BRENDA             FLORES                 NE     90007261344
629B9745286593   SELVIN ALEXANDER   CIFUENTE               TN     90015507452
629B9942133698   ADAMA              BAH                    NC     90010839421
629BB413633648   TARNELL            MOORE                  NC     90007354136
629BB749972B36   REYNA              VALDEZ                 CO     90012087499
629BB9A8357544   ARIEL              QUINTANA               NM     35506899083
62B11375A2B27B   GERALD             HINES                  DC     90014363750
62B1156295593B   ANTHONY            BOST                   CA     90006535629
62B11AA9451392   SHANICE            GIBSON                 OH     90013270094
62B12262761964   ISMAEL             DURAN                  CA     90006242627
62B1274A955977   RUBY               HOLGUIN                CA     90014927409
62B129A6155975   GINA               MILINICH               CA     48078429061
62B13126A7244B   ANN                LEONARD                PA     90015111260
62B13244655975   ALMA               LUCVANOS               CA     90014292446
62B1329964B588   CRYSTAL            FRAZIER                OK     90003632996
62B13851484392   ANTHONY            RIVERA                 SC     90009058514
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 368 of 2350


62B1426AA51354   SAMANTHA      WISE                        OH     90005322600
62B1464498B168   DEBORAH       ALAWNEH                     UT     90002176449
62B1486858B169   MELANIE       DRAPER                      UT     90012508685
62B1493127244B   BARBARA       PENNICH                     PA     90012689312
62B1532865416B   CRISTEE       PERGAMENT                   OR     47007343286
62B15A15772B36   MARIA         PEREZ                       CO     33091840157
62B15A5A372B43   JENNIFER      HAHN                        CO     33079610503
62B16235A84392   BRIDENY       GRANTHAM                    SC     90009942350
62B1657614B27B   TODD          ANDERSON                    NE     90010525761
62B165A7257538   ANAMARIA      AGUILERA                    NM     90007075072
62B16624691534   LUIS          VALLES                      TX     90012176246
62B1683342B949   LUIS          BOLANOS                     CA     90011438334
62B1685327244B   TYLER         MARKET                      PA     90014318532
62B16A83172B29   ALFONSO       CAMPOS                      CO     90015100831
62B17432272B43   JARED         WOODSMALL                   CO     90002464322
62B1749789184B   JOYCE         BARY                        OK     90006354978
62B17589955935   MARTA         LOPEZ                       CA     90005975899
62B176A6797121   CHRIS         BRAY                        OR     90011626067
62B18A33384392   SHARLENE      DOZIER                      SC     19054020333
62B19181591522   RODRIGO       RODRIGUEZ                   TX     90006731815
62B19215576B93   VICTOR        RAYO                        CA     90012622155
62B19344654121   BETTY         ADAMS                       OR     90009733446
62B19416863646   GLYNNIS       ANDERSON                    MO     27569044168
62B19522451354   TAHNIA        BUTLER                      OH     90011435224
62B19591533698   YAMILE        ROJAS POMARES               NC     12059375915
62B1967378B168   SHUE LENG     MOUA                        UT     90007926737
62B1B155681621   TANYA         GOMEZ                       MO     90008291556
62B1B497297121   JUAN          BARTOLO                     OR     90012674972
62B1B996A5B235   VERA          WRIGHT                      KY     90010169960
62B2158792B949   JUAN          PARRA                       CA     90006915879
62B21782272B29   ERICA         ESTRADA                     CO     33093567822
62B21967672B43   JOSIE         DURAN                       CO     90012789676
62B23228755983   DIANE         BEALS                       CA     48011792287
62B23415481621   DULCE         FLORES                      MO     90000494154
62B23695397121   ALBA          RAMIREZ                     OR     90012586953
62B23857A5416B   CHARLEY       SNELLINGS                   OR     47003408570
62B23A55555975   CINDY         PASSMORE                    CA     90013750555
62B24387A5416B   STACEY        ALANI                       OR     90010723870
62B24421954121   JOEL          ALEMAN                      OR     90014054219
62B2444984B27B   SHANNON       LUDDEN                      NE     90013474498
62B24732172B27   JOSE          DEL TORO                    CO     33012567321
62B25676A54121   GEORGE        BROWN                       OR     90008686760
62B26127157544   SANTANA       DURAN                       NM     90015121271
62B26214681644   TALAWN        ARELLANO                    MO     90014832146
62B264A492B27B   LYNN          WEBB                        DC     90000664049
62B26614861558   HERMAN        NELSON                      TN     90015416148
62B2766587B46B   KIMBERLY      POSEY                       NC     11081316658
62B27717255977   GLORIA        SANTIANGO                   CA     49057587172
62B28246997121   MARIA ELENA   GARCIA CARDENAS             OR     90013292469
62B28641797125   DEMETRIUS     JACKSON                     OR     44506056417
62B28A69372B29   GEORGE        RIDEOUT                     CO     33045760693
62B29553861936   CORINA        PADILLA                     CA     90012915538
62B2962115416B   TAMARA        WILLIAMS                    OR     90013206211
62B296AA997121   MARIELA       TELLEZ                      OR     44036496009
62B2B426272B29   LAJEANNA      LIFFICK                     CO     33013274262
62B2B642184392   KARLA         GARCIA                      SC     90013696421
62B2B8A9154121   JOSE          ALBERTO                     OR     90010668091
62B31398455973   MAURA         CUELLAR                     CA     48060573984
62B3171A884392   FREDERICKA    BENNETT                     SC     90009187108
62B3194A191522   JUAN MIGUEL   ELIZONDO                    TX     90012819401
62B31AA4298B22   JOSE          FLORES                      NC     11067930042
62B32428561936   JINIA         FRANCOIS                    CA     90013054285
62B3252192B27B   KEITH         YARBOROUGH                  DC     90013795219
62B32994924B7B   RENEE         SANDIDGE                    DC     90012229949
62B3333558166B   AMANDA        BILDERBACK                  MO     90011823355
62B3415A64B588   RAQUEL        HERNANDEZ                   OK     90011921506
62B34687297121   FLORENCIA     HERNANDEZ BAUTISTA          OR     90007486872
62B3488732B27B   MAYULIS       QUINTERRO                   DC     90010668873
62B353A3754121   RYDER         SIMSON                      ID     90014813037
62B3617A455977   JOSE          CERDA                       CA     90013061704
62B3646A291522   NORMA         QUINONES                    TX     75054464602
62B36633561964   AIOTEST1      DONOTTOUCH                  CA     90015116335
62B36978757544   JAMES         POLIZZI                     NM     90012969787
62B37396955973   ALEJANDRA     ONTIVEROS                   CA     90002583969
62B378A9154121   JOSE          ALBERTO                     OR     90010668091
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 369 of 2350


62B37991463646   KENNETH       BROWN                       MO     90012079914
62B37A6A75B235   KIARA         BROWN                       KY     90014520607
62B38365481651   WIRELESS      CALLER                      MO     90008533654
62B38556A2B27B   JAMIE         SMITH                       DC     81002875560
62B38A32525236   BRANDON       JAMISON                     NC     90008600325
62B39242397121   AMY           MAGRUDER                    OR     90005122423
62B3B1A8761881   RANDY         CROSS                       IL     90015491087
62B3B212763646   BRADLEY       JACKSON                     MO     27528022127
62B3B445972B29   RANDALL       MCCOY                       CO     33034514459
62B3B539997125   BRIANNA       BEYROUTI                    OR     90007285399
62B41126787B31   MONTY         WILLIAMS                    AR     28093871267
62B41361A86593   KASEY         GRIFFIN                     TN     90015493610
62B413A7172B29   JESSICA       BALLESTEROS                 CO     90012853071
62B41439691522   ABRAHAM       CHAVEZ                      TX     90013414396
62B41469281644   SHIRL         MALDONADO                   MO     90006924692
62B42789554121   ISRAEL        DELGADO                     OR     90013017895
62B4317494B588   LARRY         RINGGOLD                    OK     90013661749
62B43398357544   NORMA         LAWRENCE                    NM     90003533983
62B437A625416B   YAZMIN        GOMEZ                       OR     90011277062
62B44315563646   TYESHIA       BEANS                       MO     90014583155
62B44372972B36   DAVID         TORRES                      CO     90003303729
62B443A218B168   AMANDA        MESTAS                      UT     31006303021
62B4456A65416B   KRISTINA      MEEK                        OR     90011765606
62B4486A97244B   MARY          KASACJAK                    PA     51006598609
62B453A5561936   DENISE        MANGE                       CA     90004493055
62B455A4357538   MARGARITA     ALARCON                     NM     35539875043
62B45783972B27   TRUJILLO      APRIL                       CO     90010687839
62B45795763646   DONNA         JAMES                       MO     90009347957
62B4641A654121   RECHELLE      MIRANDA                     OR     90014934106
62B4646465B531   KENNY         CAMPOS                      NM     90013234646
62B47241A24B7B   MARCOS        CRUZ                        DC     81079382410
62B4726198B168   AMANDA        KEEFER                      UT     90000412619
62B47864A84392   KIMBERLY      JACKSON                     SC     90012128640
62B47953657538   JOHN          HUERTA                      NM     90011789536
62B48243284392   KENNETH       BATTEN JR                   SC     90013802432
62B48389872B43   CHRISTOPHER   FUGETT                      CO     90012723898
62B4846335B531   TONY          QUINTANA                    NM     36048104633
62B48766997121   JUAN          MIRAMONTES                  OR     44091667669
62B4879375416B   CARMALITA     HOCKLEY-STAIR               OR     90011397937
62B48A55757538   EMILIO        RASCON                      NM     90011790557
62B4918683168B   CATHERYN      THOMPSON                    KS     90013451868
62B49657772B36   ALMA          LOPEZ                       CO     33050096577
62B4975758B168   TAMEIKA       ALLEN                       UT     90009197575
62B4B498255977   CELINA        MENDOZA                     CA     90013184982
62B4B654754121   JOSE          CID                         OR     90013356547
62B4B664355973   DIANA         FIGUEROA                    CA     90013866643
62B4B683A55977   YASMIN        CAMARILLO                   CA     49007346830
62B4B9A7255975   JULIA         MUSICH                      CA     90012749072
62B51116755975   SARAH         HAGER                       CA     48023351167
62B5176555B235   LARRY         YATES                       KY     90003447655
62B5187115B531   KRISTY        JANDA WAGNER                NM     90010518711
62B51A34272B43   JOSE          ESCALANTE                   CO     90012870342
62B51AA9872B27   DAVID         MICHAUD                     CO     33084780098
62B52628954121   LIZET         JAQUEZ                      OR     90009486289
62B5274255416B   MIKE          MORNEAU                     OR     47086017425
62B5286525416B   MICHELLE      RUSSELL                     OR     90009328652
62B5292A872B27   ADAM          NIELSEN                     CO     33021329208
62B5338A34B588   CRYSTAL       HICKS                       OK     21575313803
62B53738624B28   DANTE         DAVIS                       DC     81089097386
62B5379A655977   ROGELIO       SOLIZ                       CA     90014107906
62B53848533698   JENNIFER      BROWN                       NC     90013738485
62B53858633698   TRACEY        GREEN                       NC     90010948586
62B53A42A4B27B   JANELLE       DEPUYDT                     NE     27067910420
62B5416864B27B   DUANE         MOORE                       NE     27079501686
62B54357A3168B   HANK          NELSON                      KS     22016683570
62B54538324B7B   RAUL          BILLALTA                    VA     81071135383
62B54958A3B391   CHRISTINA     AGUILAR                     CO     90011949580
62B54967955977   LEONARD       RALLS                       CA     90001229679
62B5544A65416B   LINDA         KAY                         OR     90012304406
62B55725363646   JORGE         ALBERTO                     MO     27568507253
62B5581972B949   DELFINA       LOPEZ                       CA     90011318197
62B5592567B46B   JAIME         VENEGAS                     NC     11025869256
62B55A32672B29   SA            STEPHANEY                   CO     90015230326
62B56222A54121   RODOLFO       ROJAS                       OR     90013592220
62B56242272B27   MIRANDA       RODRIGUEZ                   CO     33082392422
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 370 of 2350


62B5634AA63646   CYNTHIA       TAYLOR                      MO     27569163400
62B56418684392   DORON         JEFFERSON                   SC     90009684186
62B5659299372B   DANA          MORTIMER                    OH     90005615929
62B56666591522   ANA           GAYTAN                      TX     75087616665
62B56898257538   JEAN          CAMACHO                     NM     90014938982
62B57219624B7B   PAUL          MCMUS                       DC     81011562196
62B57778972B43   ROSALIE       NAVARO                      CO     33014957789
62B5798A48166B   JOSEPH        LEWIS                       KS     29034189804
62B579A1381644   DESTINY       JONES                       MO     90011569013
62B58144455977   JOSH          CLARK                       CA     90014541444
62B5824A155973   ELIZBETH      GALEANA-BARRERA             CA     90001192401
62B5826984B588   TANEKA        HARRIS                      OK     90014392698
62B5921724B27B   JENNIFER      SILKETT                     NE     27054352172
62B5928515B235   KATHRYN       MILLINER                    KY     68086862851
62B592A8525236   KIMBERLY      ELLIS                       NC     90005332085
62B59641A2B27B   VICTORIA      GASKINS                     DC     81005786410
62B59938784392   RON           MEIER                       SC     90014469387
62B599A5A57538   ISRAEL        GONZALEZ                    NM     90014939050
62B5B3A1A54121   JENNIFER      REESE                       ID     90015433010
62B5B565981644   STEVEN        ALBRIGHT                    MO     29098025659
62B5B6AA333698   JOSEPHINE     MCGILL                      NC     90010056003
62B5BA36172B43   OLGA          DUARTE                      CO     33051130361
62B61319372B27   GUADALUPE     PEREZ                       CO     90001143193
62B6224378166B   NICOLE        STUART                      MO     90000692437
62B62357272B43   FEYDRA        VANSICKLE                   CO     90012913572
62B62541761936   JOHN          SMITH                       CA     90010455417
62B62883855975   BILLIE        ZAMARRIPA                   CA     90001798838
62B6296544B588   JOSE          CRUZ                        OK     90009709654
62B631A986232B   SILVIA        NAVARRETE                   NC     37034861098
62B63316884392   SEMONA        CAHILL                      SC     90011423168
62B63539A7B761   ANIYAH        LYNN                        CA     90014295390
62B63991791522   SOLIS         JACKIE                      TX     90013009917
62B6424135B531   TRACY         STULTS                      NM     90005992413
62B64277761936   JAZMIN        MCCLARY                     CA     90015132777
62B6574A355977   JASON         DOMINGO                     CA     90013927403
62B6577442B27B   JUSNITA       DORSEY                      DC     81017607744
62B65A47454121   EDER          LAZARO                      ID     90009350474
62B65A77381644   KRISTIE       PORTER                      MO     90014700773
62B66186651354   DOUGLAS       BODEN                       OH     66076801866
62B6637A45B235   HELENA        DIXON                       KY     68034103704
62B6647A397121   ERICK         TORRES                      OR     90014994703
62B66849591522   CESAR         NEVAREZ                     TX     90006838495
62B6717634B27B   HOPE          DOGBEVIA                    NE     90015361763
62B6745A755977   CONSUELO      SANTOS                      CA     49016394507
62B6748455B235   EYVONES       CRUZ                        KY     90008724845
62B67588972B29   RAQUEL        ELLIOT                      CO     90011305889
62B67788655977   PAULINO       CARMONA                     CA     49092187886
62B67A78651354   ROY           RAMSEY                      OH     90009920786
62B68264981463   ROBERT        TOBIN                       PA     90015332649
62B68317363646   CRYSTAL       ROSS                        MO     90012323173
62B6862414B588   GEORGE        CHAMBERS                    OK     90010956241
62B68664155975   ROBERT        SUCRESE                     CA     48013126641
62B68849955977   JESSICA       GOMEZ                       CA     49054538499
62B68AA9A97121   JUAN CARLOS   SANCHEZ CRUZ                OR     90013050090
62B6913787244B   KEVIN         SCHELL                      PA     90000441378
62B69383697121   HUGO          RENDON MEDINA               OR     90011643836
62B6995513B394   JESUS         GUZMAN                      CO     33091129551
62B69A1A284392   JAZMINE       BOMAR                       SC     90014250102
62B6B24916155B   MICHEAL       JHONSON                     TN     90015522491
62B6B392A5B531   EDUARDO       BELTRAN-MARTINEZ            NM     90010523920
62B6B443172B29   JACKIE        KENDRICK                    CO     33008224431
62B6B844654121   TRICIA        GARDNER                     OR     90009318446
62B6B89A32B27B   DAHLICIA      LEA BOUGH                   DC     90006778903
62B71148A97125   BRITTANY      HARRIS                      OR     90006561480
62B711A1772B43   CAMILLE       PRICE-JOHNSON               CO     33073881017
62B7158433168B   ALEXIS        KARAS                       KS     22004545843
62B71791457538   VICTOR        APODACA                     NM     35516517914
62B7239475B235   GWENDOLYN     FRIDAY                      KY     68095553947
62B7244767244B   PAYGO         IVR ACTIVATION              PA     90006684476
62B72638355975   CAROLYN       WRIGHT                      CA     48098716383
62B72657163646   CALEB         STRUCKMANN                  MO     27576286571
62B72681551384   DEREK         MORRIS                      OH     90001796815
62B73893172B36   RICHARD       WOLFORD                     CO     90012248931
62B7391237B46B   MARJORIE      SANCHEZ                     NC     90011669123
62B73A63257544   JOSE          SEGURA                      NM     35503990632
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 371 of 2350


62B74244697121   SETH               HARRIS                 OR     90006902446
62B7446493B125   JOSE               AYALA                  VA     90007854649
62B7475115B531   SALVADOR           BELTRAN                NM     36083637511
62B74811451354   NATHANIEL          FOSTER                 OH     90015018114
62B7487687B653   ANGEL              GARCIA                 GA     90008748768
62B74978325236   MARIA              ESTRADA                NC     17063809783
62B7522812B949   PAUL               PUMPHERY               CA     90014772281
62B7524965416B   JASMINE            ALBERT                 OR     47026712496
62B75787155975   TERI               DAVIS                  CA     48097107871
62B7758615B531   ERICA              MARTINEZ               NM     36040145861
62B7864935B235   JNEISHA            STEPHENS               KY     90012086493
62B7891A491522   ELVIRA             MUNOZ                  TX     90011589104
62B78A86854121   SOPHIA             LOPEZ                  OR     90010960868
62B7912A14B588   ERNESTO            ACOSTA ACOSTA          OK     90012991201
62B7961414B27B   BOURAIMA           LASSISSI               NE     27045496141
62B7B193172B29   ANTIONIO           GONZALEZ               CO     90013351931
62B7B43472B27B   DERRICK            FERGUSON               DC     90001914347
62B7B48815B921   BARBIE             BERRY                  WA     90015024881
62B7B8A2355977   FEDERICO           GOMEZ                  CA     90014918023
62B82242563646   WILLIAM            TOWLE                  MO     90009772425
62B8242A361936   JOSE               DOMINGUEZ              CA     90000704203
62B82999563646   WILLIAM            TOWLE                  MO     90012949995
62B83548A2B949   MARIA              BAUTISTA               CA     45083255480
62B83A34472B36   SHANTELL           INGRAM                 CO     33072570344
62B8447A272B36   CODY               MOSER                  CO     90014044702
62B84991257544   VICTOR             GARCIA                 NM     35517119912
62B84A6837244B   KELLY              ROCCO                  PA     51069320683
62B85A99772B29   STEVEN             DEROEST                CO     90009030997
62B861A3A57544   GARY               SKIFF                  NM     90011791030
62B8631A533698   PATRICIA           IZELL                  NC     90014883105
62B86875A57538   JULIO              RAMIREZ                NM     90014958750
62B8792132B949   DENNIS             JAY                    CA     90014339213
62B8792255B235   SHAUNA             DOYLE                  KY     90004169225
62B879A9A61936   SYLVIA             GONZALEZ               CA     90011929090
62B87A79163646   AKEEM              LOVE                   MO     90013960791
62B8829567B46B   JOSUE              AVILA                  NC     90008672956
62B8855952B949   PERCILA            MANCILLA               CA     90013045595
62B886A5A8B169   LEOBARDO           DIAZ                   UT     31062586050
62B888A2491522   NORMA              MENDIAS                TX     75009228024
62B88A41657544   CORY               VASQUEZ                NM     90012620416
62B8921A263646   SARAH              MILLER                 MO     27588362102
62B8934918B168   AFTON              HANSEN                 UT     31004193491
62B8951AA8B169   TAMI               TAYLOR                 UT     31087065100
62B89544A5B531   MARY               ISRAEL                 NM     90010535440
62B8B25738B168   BRENDA             BARRANDEY              UT     90009262573
62B8B63A855975   KATHERINE          MORALES                CA     48090806308
62B8B8A2355977   FEDERICO           GOMEZ                  CA     90014918023
62B8BA86854121   SOPHIA             LOPEZ                  OR     90010960868
62B9125512B949   NISHA              FREED                  CA     90013232551
62B91524457538   TIFFENIE           BLAIR                  NM     90003915244
62B91753391522   JACINTO            LUNA-ROBLES            TX     75004317533
62B9191AA4B588   BRIANDA            CHAVEZ                 OK     90005909100
62B91A76161954   HARALDH            TEJADA                 CA     90010810761
62B921A6584392   JUSTICE            WILLIAMS               SC     90015041065
62B9226417B46B   MATTHEW            BEATY                  NC     11019692641
62B9236112B27B   MAURICE            JOHNSON                DC     81055183611
62B932A8525236   KIMBERLY           ELLIS                  NC     90005332085
62B93366A55973   JENNIE             MCNUTT                 CA     90014933660
62B936A668B185   GUSTAVO DE JESUS   CASTRO                 UT     90014486066
62B93715891522   DAMARIS            FRANCO                 TX     90015027158
62B93783155975   ERIC               GALAFATE               CA     90013977831
62B93971461964   MANUEL             VALLES                 CA     90009759714
62B9412473B125   DAVID              CURLEY                 DC     90013941247
62B94569181644   DAMU               EDMOND                 MO     29008765691
62B9466965B235   ANTHONY            CASEY                  KY     90013936696
62B9487424B588   CLINT              ARMSTRONG              OK     21505448742
62B96994551354   AUDREY             KANTE                  OH     90006479945
62B97A52872B36   KEVIN              PERKINS                CO     33091100528
62B9813763B125   MARIA              REYES                  DC     90013941376
62B98248984392   BRYAN              BLACK                  SC     90014152489
62B98485757538   CRESPIN            JO                     NM     90004154857
62B98727A97121   AMY                KELLY                  OR     90005317270
62B98873291522   ARTURO             CABRERA                TX     75083318732
62B99558433698   ALMA               TAMAYO                 NC     90012975584
62B9B288A2B27B   CHIQUITA           RICHARDSON             DC     90012532880
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 372 of 2350


62BB115197244B   KAYLA        JACK                         PA     90005611519
62BB1489572B36   CARL         HORNBUCKLE                   CO     90014614895
62BB215465B235   WANISHA      WHITE                        KY     90000931546
62BB232424B588   ARRON        PATTON                       OK     21525723242
62BB2558133698   KRISHANDA    BYERS                        NC     90010915581
62BB2676272B27   INDRA        MAGAR                        CO     33006886762
62BB2719357544   DENNIS       CORTES                       NM     90015117193
62BB314863168B   JULIET       APPIER                       KS     90013981486
62BB3328761936   SHENEL       COOK                         CA     46019823287
62BB3732891975   LISA         MARTIN                       NC     90010297328
62BB3972657544   SERGIO       GONZALEZ                     NM     90015119726
62BB3993A57538   STEVEN       MONDRAGON                    NM     90011779930
62BB41A8257538   BEATRIZ      GAYTAN                       NM     35546981082
62BB4393154121   ELIANA       RAMIREZ                      OR     90010593931
62BB4517A5416B   JIMMY        SOLANOS                      OR     90002145170
62BB519A872B27   MARC         FALLOS                       CO     33004201908
62BB5627581644   TRINRTLE     TURNER                       MO     90010306275
62BB589424B588   ARLEN        CARBEY                       OK     90013778942
62BB618A25B531   AZUCENA      CASTILLO-DURAN               NM     36088921802
62BB626443168B   CURTIS       WESBROOK                     KS     22006372644
62BB6455A97121   RIGOBERTO    HERNANDEZ CORONA             OR     90014894550
62BB6525933698   COURTNEY     CLAGGETT                     NC     90010785259
62BB8168872B36   JOSE         ROCHA                        CO     90001101688
62BB827947244B   JAMES        SHIPTON                      PA     90012272794
62BB8334772B29   WHITNEY      LEDESMA                      CO     90012693347
62BB8523954121   FERNANDO     VILLAS                       OR     90012365239
62BB8A71591522   LESLIE       RUBIO                        TX     90011300715
62BB918A855973   MARIE        COWAN                        CA     48041261808
62BB91A947B46B   JERMY        SIMPSON                      NC     90001831094
62BB942865B531   MIRNA        VALERIO                      NM     90013234286
62BB987424B588   CLINT        ARMSTRONG                    OK     21505448742
62BBB18A333698   JEROME       STAPLES                      NC     90014851803
62BBB28114B588   MINDY        HOOPER                       OK     90010732811
63111333A72B29   NORA         RUIZ                         CO     33059343330
6311169228166B   MARVIN       AJI                          MO     90010706922
6311198A691522   SWEYSEE      SAENZ                        TX     90014959806
6311251448B168   BRANDON      LAYNE                        UT     90011675144
63113237A22465   ABELINA      HERNANDEZ                    IL     90012382370
63113851872B27   AADAM        LAMB                         CO     90007028518
631139A857B46B   JEFFREY      SCERCY                       NC     90013779085
63113A7145B531   DENISE       GOULD                        NM     36061880714
6311423694B27B   JUAN         HERNANDEZ                    NE     90014402369
63114A72661936   JEFF         COOK                         CA     90006620726
6311576517B46B   TERRY        STATON                       NC     11054947651
63115833372B49   TAMMY        SOBINA                       CO     90008668333
631161A147B46B   KARINA       RODRIGUEZ                    NC     90013141014
6311638A626758   FRANK        HAMILTON                     PA     90011813806
63116565672B43   JOEL         GONZALEZ                     CO     90012185656
631167A6561964   ROBERT       MORALES                      CA     90014177065
63116A57472B36   MARIELA      VILLARIOS                    CO     90014830574
6311711414B27B   CARMEN       CARBAJAL LUGO                NE     90013631141
63117261A8B163   HEATHER      LASER                        UT     31043062610
6311757125B235   ERIKA        GONZALES                     KY     90015125712
6311765734B268   BRANDI M     ENGERT                       NE     27086926573
631181A7161964   VANESSA      BROWN                        CA     90012761071
6311979135594B   YVETTE       GARCIA                       CA     48008317913
631197A727B46B   KAITLYN      MILLIKIN                     NC     90014917072
6311B77612B84B   CIERRA       JOHNSON                      ID     90012697761
6311B99A591522   PERLA        DELGADO                      TX     90014959905
63121581987B31   JESUS        ORTIZ                        AR     28015725819
6312199A591522   PERLA        DELGADO                      TX     90014959905
631221A814B588   DUSTIN       DUNSMORE                     OK     90000941081
63122A79372B36   MICHEAL      FLACH                        CO     90009790793
63123279687B31   HEATHER      YANCEY                       AR     90010982796
63123493A61936   JULIO        CIFUENTES                    CA     90014594930
6312418383168B   FABIOLA      CASTILLO                     KS     90011881838
63124778972B43   ROCIO        SERNA                        CO     90004697789
63124AA7525236   KELLY        TURNER                       NC     90010410075
6312537125416B   JAMIE        LINKENBACK                   OR     90012213712
63125377A55975   JESUS        MARTINEZ                     CA     90015033770
63125998A61936   LOREN        WILSON                       CA     90014909980
63126476872B29   ANGELA       GUTIERIEZ                    CO     33067954768
6312659918B168   CODY         MCCREE                       UT     90014745991
63127714372B27   DANIEL       FRANCES                      CO     33018217143
63127A86571976   ROY          HERBURGER                    CO     38049160865
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 373 of 2350


6312829394B27B   ABBEY           VAN LANGEN                NE     27071492939
6312867A955973   FABIAN          CAMARENA                  CA     90014156709
63129384A4B27B   JOHN            WALLACE                   NE     90002263840
6312943445594B   OSMAR ANTONIO   AMAYA                     CA     90014114344
6312986355416B   SHANE           BOSS                      OR     47052538635
63129A86571976   ROY             HERBURGER                 CO     38049160865
6312B22795B235   DAVID           COX                       KY     90011092279
6312B444861936   APRIL           LAZO                      CA     90015304448
6312B59918B168   CODY            MCCREE                    UT     90014745991
6312B675525236   JALEESA         JAMES                     NC     90013216755
6312B696572B27   LAURA           PARRA                     CO     33054596965
6312B733857143   JOSE            ARIES                     VA     90005247338
6312BA2468B83B   EDWARD          BASUEL                    HI     90014040246
63131631572B29   ALFREDO         UDINO                     CO     33029916315
6313182562B27B   ALANA           HOLMES                    DC     90001538256
6313254A26198B   SAUL            HERRERA LOYA              CA     90013285402
6313287894B588   MAJESTA         BROOKINS                  OK     90014078789
6313316865B531   BELINDA         RUE                       NM     90000271686
6313387A17194B   ARLENE          SOLANO                    CO     38062538701
6313473A591549   YVETTE          DIAZ                      TX     75079067305
6313474A261936   LORRI           KARAM                     CA     90014087402
6313496965B235   CANSHIA         YELDER                    KY     90008279696
63134A2525416B   AIMEE           BARRERA                   OR     90014980252
63135A61333698   CIMONE          JOHNSON                   NC     90006990613
63135A82472B43   JOSE            VAZQUEZ                   CO     33089060824
63135AA725B271   MACHAL          ST DENNIS                 KY     90007330072
6313642382B27B   VANESSA         CHRISTIAN                 DC     90013574238
6313648918B169   TIFANI          CLOSEN                    UT     31037204891
63137257372B26   ANGELA          DIAZ-DIAZ                 CO     90014752573
6313747412B27B   WILFREDO        ZELAYA                    DC     81066524741
631374A9563646   MELISSA         SMITH                     MO     90008614095
63137539472B43   ROBIN           FAIRCHILD                 CO     90010295394
63138232576B54   ANTHONY         STEPHENS                  CA     46056632325
6313887915B271   OSNIEL          MARTI                     KY     68008008791
63138A65A72B27   DANIEL          MCCLARY                   CO     90014080650
6313953A172B36   JULIE           RODRIGUEZ                 CO     90011515301
63139936A5B252   LISA            ABERNATHY                 KY     90010999360
6313B23447B46B   BELINDA         GERMANY                   NC     11032132344
6313B43415416B   GLORIA          PRICE                     OR     90014264341
6313B447191522   LUZ MARIA       HERRERA                   TX     90005354471
6313B68215B241   JAMES           VIERS                     KY     90006796821
6313BA68533698   PRECIOUS        COUSER                    NC     90008760685
6313BA9555B271   WILLIAM         THOMAS                    KY     90006420955
63141182172B43   DARA            RUANO                     CO     33086851821
63141469A55973   CONSUELO        GUTIERREZ                 CA     90013694690
631423A9925236   MATHEW          EMORY                     NC     90014223099
63142415A63646   GAGE            CASTLEBERRY               MO     90011564150
63142474A61964   ROBERT          QUINTERO                  CA     90014454740
6314325775416B   MELISSA         MUSGRAVE                  OR     90005582577
6314351A34B588   ALEJANDRO       CORREA                    OK     21542915103
63144179872B43   LAURA           ESTRADA                   CO     33017251798
63144197A6B537   TSEGAY          TESFAY                    SD     90015431970
631444A815594B   PABLO           SALAS                     CA     90011974081
63144A8A761964   SANDRA          URBANO                    CA     46086770807
6314569257B46B   JESSICA         PLESSNER                  NC     11069676925
63145735187B31   BARBARA         SMITH                     AR     28024827351
63145A36397122   NEREIDA         MEJIAS                    OR     90006290363
63146243387B31   JJ              QUALLS                    AR     90014582433
6314629215B235   LASHAE          THOMPSON                  KY     90013962921
631465A8451388   PETER           GAUDIO                    OH     90002265084
63147365A51388   TIMOTHY         ROHRIG                    OH     66069483650
6314739835594B   ALEJANDRA       LUPIAN                    CA     90008693983
631477A2957538   DOMINGUEZ       EVEDINA                   NM     35512547029
631479A9391522   JOSE            BARRON                    TX     90009499093
63147A4A471976   ALFREDO         LOPEZ- CRUZ               CO     90002180404
631482A1772B29   THOMAS G        SWEED                     CO     90003742017
6314951935594B   SANDRA          DE LA CRUZ                CA     90014115193
6314986317B46B   WESSEH          NYEKAN                    NC     90015198631
631499AA591549   IRMA            REYES                     TX     90009729005
6314B184491549   GUILLERMO       SAENZ                     TX     75001311844
6314B296855975   RAUL            CORNEJO                   CA     90014902968
6314B415663646   MARK            ROGGE                     MO     90001974156
6314B861472B36   LISA            MCHENRY                   CO     33082118614
6314B948641261   AMY             MARTINEZ                  PA     51009469486
6314B965285955   DEANNA          MCINTOSH                  KY     90012049652
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 374 of 2350


63151629972B25   EUGENE            ACOSTA                  CO     90007806299
631516A5881631   SHON              FIELDS                  MO     29019236058
6315212979184B   TODD              KRAMER                  OK     90010811297
63152613A8166B   TERRENCE          DONLAP                  MO     90013226130
6315385444B27B   CRAIG             STARKS                  NE     27063358544
63154422376B54   LUIS              NAVA                    CA     90010394223
631544A4572B29   MONICA            LEON                    CO     90012194045
6315453415594B   ELIAS             CORONADO ZUNIGA         CA     90014115341
6315474745416B   RONEY             PRAT                    OR     90012907474
6315598A42B27B   SONYA             BRIM                    DC     81082209804
63155A76781631   ROBERT            SMITH                   MO     90001270767
63155AA6931453   ROBIN             BRYSON                  MO     90010720069
6315623718B168   TYRONE            LAVINE                  UT     31084942371
6315656568B169   BAUDELIA          MOTA                    UT     31090545656
63156638572B32   NASHIA            TURNER                  CO     90011886385
63156962A72B27   RICKY             MCLTONE                 CO     90014509620
63157566A72B27   DESTINY           CORDOVA ARAGON          CO     90012555660
6315765A772B26   TITO              ESTEBAN                 CO     90009566507
6315769275594B   MOISES            OROSCO                  CA     90014786927
6315843895137B   SOBONTE           FREEMAN                 OH     90013414389
6315867224B268   JAMES             GILLESPIE               NE     27003116722
63158756A72B27   JUANA             RAMIEREZ                CO     90012057560
63158972A71968   DOUGLAS           HANLEY                  CO     90015079720
6315935A72B27B   JOYCE             THOMPSON                DC     90011833507
63159913A61964   ALBERTO           OLVERA                  CA     90002429130
6315B394887B31   BRIAN             MEREDITH                AR     90010733948
6315B4A9631453   KIMBERLY          GILMORE                 MO     27584014096
6315B572333698   SAMUEL            SCHUMACHER              NC     90000115723
6315B57A155977   EUGENIA           PEREZ                   CA     49042705701
6316153823168B   BRENDA            GANDARA                 KS     90013985382
6316212A62B248   LASHAWN           TYLER                   DC     90013781206
6316399348B168   BROCK             PROTHERO                UT     90010579934
6316414A572B43   DANIEL            SHARPE                  CO     90013491405
63164A3227B46B   SHANNEN J         VOGEL                   NC     90014900322
63165274272B36   MICHAEL           LEIVA                   CO     90012252742
6316536335B531   FRANCISCO         AGUILAR TORRES          NM     90002053633
63165454872B43   JANIS             ARAGON                  CO     33098714548
6316587633168B   CLAYTON           BLEDSOE                 KS     22057048763
6316627955B271   ABEL              TRINIDAD                KY     68067972795
63166443972B36   ELIZABETH         CRUZ-BECERRA            CO     33045954439
63166A34951354   BREANNE           MASON                   OH     90014740349
631682A5A61936   EVELYIN           ORTIZ                   CA     46021042050
6316836335B531   FRANCISCO         AGUILAR TORRES          NM     90002053633
63169559A5416B   KATIE             BAKER                   OR     90014275590
6316957A563646   BREANNE           WRIGHT                  MO     90012255705
6316B44292B524   SEBRINA           JONES                   AL     90013914429
6316B557655973   HECTOR            CARDONA                 CA     48090975576
6316B5A955B241   LOIS              SPRINKLES               KY     90011915095
6316B755961936   ALEJANDRO         DIAZ                    CA     90011407559
6317145168B168   NATHAN            FARNSWORTH              UT     90006254516
63171A1285594B   JOSE LUIS RAMOS   JOSE LUIS RAMOS         CA     90014170128
6317264353168B   FRED              OGBODO                  KS     22040906435
63172A3637B46B   MELINDA           WADE                    NC     90003970363
6317336984B268   MARIE             NELSON                  NE     27094693698
63174795372B43   YOLANDA           CARDOZA                 CO     33001477953
63174966A63646   VALERIE           GIBSON                  MO     90013349660
63174A32591522   CARLOS            MARQUEZ                 TX     75041400325
63175A8544B562   BRET              ELLIS                   OK     90010880854
631786A7991549   NESTOR            CARDOZA                 TX     90014926079
63178A18A71976   JUAN              MURILLO                 CO     90002130180
63178A29755973   REBECCA           LOPEZ                   CA     90012860297
6317928154B268   CATHARINE         AZER                    NE     27073772815
6317928848B163   KIM               GAUGER                  UT     90008822884
63179423A55977   PETER             DAVIS                   CA     90013684230
63179AA544B22B   JAIMIE            BARTLETT                NE     27067120054
6317B2A838B169   IVAN              LOPEZ                   UT     90005792083
6317B51895B271   RUTHIE            WHITE                   KY     90009845189
6317B66385416B   ROBERT            WOODRING                OR     47081336638
6317B8AA95B531   D                 LOPEZ                   NM     36003598009
6317B99A25594B   MARIA             SANDOVAL                CA     48056169902
63181252A33698   KATY A            ULLOA                   NC     90001962520
6318193A55B235   ELBA              HERNANDEZ               KY     90007329305
63182463172B26   SUSANA            CARAVEO                 CO     33094584631
6318292A361966   VERONICA          CELICEO                 CA     90013049203
6318297118B169   JACOB             GUBLER                  UT     31036199711
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 375 of 2350


63182A4675B235   VIRGIL       GAINES                       KY     90013720467
63182AA3561936   JOSE         GARCIA                       CA     46091930035
6318315833168B   KASHA        FAIRBORN                     KS     90014031583
63183641472B29   FRANCES      GUTIERREZ                    CO     90013996414
631839A9A72B36   CARL         FOUNTAIN                     CO     90014779090
63183A12A91522   BLANCA       BADILLO                      TX     90014960120
63184533A3168B   ERA          GREENE                       KS     22030925330
6318526A187B31   JAMILLIA     EAKES                        AR     28084462601
631852A6561936   JIMMY        SRICHANDR                    CA     90010822065
63185A2A976B54   MINERVA      RAMIREZ                      CA     90004630209
63185A4645594B   ISIDRO       MARTINEZ                     CA     90014170464
63187152A8B168   LAKEISHA     THAIN                        UT     31030371520
6318741152B949   CRISO        REYES                        CA     45000994115
631875A6171976   BROOKE       TRUJILLO                     CO     90015175061
63187659972B29   LAURA        HAYS                         CO     90013746599
63187A4645594B   ISIDRO       MARTINEZ                     CA     90014170464
6318844297B46B   NANCY        MARTINEZ                     NC     90014474429
6318913A955973   FELIPE       REYES                        CA     48054561309
6318B395155977   DANIELLE     COOPER                       CA     90014843951
6318B792581644   JEFFERY      ECKFORD                      MO     29069377925
6319118A561964   MINERVA      ROMANO                       CA     90010921805
6319122515594B   ANTONIO      HERNANDEZ                    CA     48078512251
6319131A463646   TIM          SELLINI                      MO     27514893104
6319162A472B27   ROBERT       KONKOL                       CO     33044306204
63191A3A255975   GABRIEL      GASTELUM                     CA     90012860302
63192173872B36   CROCKETT     WESLEY                       CO     33085411738
63192175672B43   IVAN         FIGUEROA                     CO     33069911756
6319259775594B   ONECIMO      IBARRA                       CA     90011675977
63192853272B29   CHRISTELLA   HARTLEY                      CO     33028858532
63192A44A91549   ANDY         TOLLEY                       TX     90012910440
6319362728B168   JUANA        CARRILLO                     UT     31011896272
631936A8A71976   ROSEMARY     HERNANDEZ                    CO     90015176080
63193946A72B27   ROBERT       MARTIN                       CO     90001669460
63194653A5594B   GABRIEL      GARCIA                       CA     90014186530
63194749A5B375   PAMELA       HILSCHER                     OR     44500667490
6319488254B27B   DANNY        BRUNING                      NE     27015948825
6319491A651354   TARA         BARNETT                      OH     90012999106
63195463872B26   KATHY        LYON                         CO     90014134638
63195A26955973   JOE          HERNANDEZ                    CA     48049430269
6319613487B46B   SONYA        THOMPSON                     NC     90010281348
6319651465B531   BENJAMIN     HEFLIN                       NM     90006865146
63196577387B31   MELANIE      PENNINGTON                   AR     90003045773
63196638A55973   RICHARD      FREUDIGER                    CA     90003506380
63197364372B29   LISA         SMITH                        CO     33011313643
6319744A12B949   CHRISTOPHE   MCCOY                        CA     45053384401
63197815A87B31   JOYCE        KELLEY                       AR     28064288150
6319787195416B   SHAWN        STEELE                       OR     90003608719
631979A125B235   JAMES        PERRY                        KY     90015329012
6319882A791527   ROSA         VICENCIO                     TX     90012728207
6319884115B235   KELLEY       RENN                         KY     90013568411
63198A6344B992   EVA          MOSQUEDA                     TX     90007600634
63199436372B36   LETINA       FOSTER                       CO     90014874363
63199728472B27   MICHELLE     JENSEN                       CO     33066207284
63199A48391522   IRENE        DIAZ                         TX     75047180483
6319B519872B36   EVAN         AUSMAN                       CO     33082415198
6319B55A691522   JESUS        BAYLON                       TX     90014785506
6319B718825236   OLISHA       TOLES                        NC     90013937188
6319B798372B27   KELLY        WEAVER                       CO     33058067983
6319B811891549   PATRICIA     BOTELLO                      TX     90013768118
631B1454141261   AMBER        EL                           PA     90011534541
631B1A36661964   MARIA        MARTINEZ                     CA     90008960366
631B1AAA972B29   GILBERTO     RANGEL                       CO     90015220009
631B2298A55977   GUADALUPE    GUERRERO                     CA     90011942980
631B251135B271   MELLISA      JONES                        KY     68008005113
631B2A6845B235   NANNY        BOO BOO                      KY     68015050684
631B3356573267   STACEY       MCBRIDE                      NJ     90009623565
631B3367887B31   ROSALINDA    CANTU                        AR     28069813678
631B3A45872B26   JAMES        FINLAYSON                    CO     90010390458
631B448AA61964   DARSHEL      JONES                        CA     90014404800
631B4559691522   LILLIE       MIRANDA                      TX     90008765596
631B493468B168   JEAN         FROST                        UT     31009249346
631B4964191522   JUAN         VAZQUEZ                      TX     90014959641
631B5186372B26   ANN          SALAZAR                      CO     90005341863
631B5495972B43   VIVIANA      LOPEZ                        CO     90001594959
631B61A8191549   DAVID        RENTERIA                     TX     75050681081
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 376 of 2350


631B643A872B29   JAVIER          MOLINA                    CO     33099794308
631B6914555973   MARCO           QUEZADA                   CA     90001739145
631B7612971968   SANDRA          MOORE                     CO     90007266129
631B7922855975   YADIRA          VILLARREAL                CA     90013589228
631B7992791522   JOSE            GARCIA                    TX     90012159927
631B7AA6355973   MAURA           CUELLAR                   CA     90007730063
631B8314361936   MYCHERI         MCBRIDE                   CA     46070993143
631B8332463646   TODD            THOMAS                    MO     27500593324
631B83A1891549   JOSE ALBERTO    PRECIADO                  TX     90014543018
631B8875755983   ASHLEY          ORTIZ                     CA     90006528757
631B93A5291522   JESUS ALFREDO   JIMENEZ                   TX     90014973052
631B9714255977   ELMER           AREVALO                   CA     90005067142
631B974137B46B   TAKIRA          ANDERSON                  NC     90014417413
631B9922591549   RITA            VELASQUEZ                 TX     90014709225
631BB578361936   LASHAWN         KELLY                     CA     90014835783
631BB61888B168   JAMIE           MCCREA                    UT     90012386188
631BBA54455973   KENNETH         MATNEY                    CA     90004340544
63211268272B43   RYAN            REYNOLDS                  CO     90013002682
632112A1971968   OROSCO          PADILLA                   CO     90010862019
63211622972B26   MURPHY          REGINA                    CO     90010496229
632133A1591522   CORA            AVILA                     TX     90008843015
632146A8384392   BRENT           MITCHUM                   SC     90013846083
63214765472B29   CLEO            S WILEY                   CO     90011407654
63214A11533698   JAMESIA         HARRIGAN                  NC     90012660115
63214A74A91549   JORGE           LOPEZ                     TX     75086290740
63215567172B36   MOUA            YANG                      CO     90014415671
63216463872B26   LEOBARDO        TOVAR                     CO     90000564638
6321676A672B43   ROBERT          ARAMIANTS                 CO     90006977606
63216AAA293762   MITCHELLE       LAFORCE                   OH     90001910002
63217431772B43   AURORA          PAIZ                      CO     90014174317
632175A7187B31   TATYANA         GIBSON                    AR     90011175071
6321799A484392   JOSEPH          LACHANCE                  SC     90013959904
63218341A91572   DAVID           GOMEZ                     TX     90009123410
632184A2672B26   MARIA           ORTEGA                    CO     90006974026
6321964A861936   HUMBERTO        GRIJALVA                  CA     90011296408
6321976882B27B   SILVIA          CHEVEZ                    DC     90011837688
6321B148272B43   MICHAEL         STEVENS                   CO     90011951482
6321B193987B31   ANGELA          RUSSELL                   AR     28089131939
6321B6A1861964   ADRIANNE        GARCIA PRIETO             CA     46094166018
6321B854331453   PAT             KELLENBERGER              MO     90009648543
6322271A84B268   SUSIE           PAPST                     NE     90005387108
63222951672B36   OLGA            CAZARES                   CO     33011899516
63222A18381644   SOTERO          ALVAREZ-PEREZ             KS     90004560183
6322385514B268   JESSICA S       MANNION                   NE     27078738551
63223A29755973   REBECCA         LOPEZ                     CA     90012860297
63223A5255B241   BILLY           THIXTON                   KY     90006800525
63223A7A372B36   KIMBERLEY       LANGSTON                  CO     90013180703
63224534772B26   GUADALUPE       RODRUIGUEZ                CO     90007485347
632246A6691522   DANIELA         MORALES                   TX     90014966066
632246A6A72B36   JERRY           BACHICHA                  CO     33011086060
632248A4555973   SIMONA          HUERTA                    CA     90003418045
63225211487B31   TANYA           FREYTAG                   AR     90005302114
6322528232B269   PATRIECE        HANDON                    DC     90003842823
6322541A98166B   RAYNONND        WEBB                      MO     90009664109
632257A5A51354   TILA            PHUYAL                    OH     90014857050
63225A35672B26   MARY            ARANDA                    CO     33049710356
632263A9672B27   JANINE          BROWNE                    CO     90014713096
6322681912B27B   CURTIS          CRAWFORD                  DC     90011838191
6322698AA87B31   ROBERT          COLEMAN                   AR     28068489800
6322833293168B   LATARA          NOLEN                     KS     90012863329
6322848A155977   MARINA          ENCISO                    CA     90012084801
63228827A51342   BETTY           HURD                      OH     90006598270
6322896323168B   LATARA          NOLEN                     KS     90014519632
6322964895594B   JUAN            HERNANDEZ                 CA     90014456489
6322982A15416B   JO ANN          JOHNSON                   OR     47061008201
63229A2635B241   JASON           AUTRY                     KY     90008210263
6322B158125236   PAMELA          ALLEN                     NC     90001941581
6322B1A517B46B   COSTA           WHITE                     NC     11001641051
6322B231176B54   JUAN            SANTIAGO                  CA     90002282311
6322B868661964   BRENDA          COVARRUBIAS               CA     90014698686
6322B942772B26   ROSA            MARQUEZ                   CO     90011459427
6322BA25491549   AYERIM          MONCAYO                   TX     75048760254
63231559472B43   JAZZMEEN        RODRIGUEZ                 CO     90013745594
6323179145416B   JOANNA          ROBINSON                  OR     47082357914
63231A32A91522   JOSE LUIS       ROCHA                     TX     90013960320
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 377 of 2350


63231AA5357538   ROBERTO       RASCON                      NM     35556190053
6323276148B169   AYMEE         RACE                        UT     31021957614
6323335A661936   SERGIO        PARTIDA                     CA     90013993506
6323359238166B   KATIE         RING                        MO     90010285923
6323388815594B   LILIANA       ZARAGOZA                    CA     48028898881
63234395A5B235   CECILIA       JOHNSON                     KY     90008823950
632349AA37B46B   SEAN          OLEARY                      NC     90009259003
6323523655B271   RENEE         LUDLOW                      KY     68098902365
6323525A876B54   MARLEN        PEREZ                       CA     90005462508
6323558213168B   CAROLE        CARTER                      KS     22007735821
63235584187B31   CHARITY       DAVIS                       AR     90015175841
6323568A293726   JOETTA        MOSLEY                      OH     90012256802
63235A16872B27   JESSIE        STOVER                      CO     33059060168
63235A31A43549   KRISTIN       STIERLI                     UT     90008290310
63236277772B29   ANTHONY       DELEON                      CO     90014042777
6323645378B169   ELIZABETH     GILLON                      UT     31058714537
6323696438B168   DIEGO         DOMINGUEZ                   UT     90012699643
632376A475594B   VICTORIA      CONTRERAS                   CA     90014206047
6323987897B46B   YOLANDA       TURNER                      NC     90013688789
632399A1955975   PETER         CHAPA                       CA     90004539019
6323B223176B54   SANTA ANA     RAMOS                       CA     90005462231
6323B799391522   MAGDALENA     ARANA                       TX     90003937993
6323B913851354   JESSICA       HESTER                      OH     90009439138
6323BA72472B29   TABITHA       EHREDT                      CO     90012330724
6323BA94355973   TERESITA      RANGEL                      CA     90004300943
63241841A63646   MARVELOUS     HITCHYE                     MO     90013228410
6324198325416B   TRAVIS        STEWART                     OR     90015589832
632422A7A4B268   NICOLE        TAYLOR                      NE     27089752070
6324313495416B   DAN           EDNEY                       OR     90013991349
6324335A861964   ESAY          CARRILLO                    CA     46097713508
63243471472B43   SAMUEL        DEWELL                      CO     90012664714
632434A443168B   ASHLEE        VERBECK                     KS     22009704044
6324391525594B   ANALLEY       CAMARENA                    CA     90013059152
6324427A984392   MOEKESHIA     ROYAL                       SC     90014102709
63244448A8B168   JOSE          BARAY                       UT     90014794480
6324484985416B   CASSIE        BARAJAS                     OR     90012488498
63244957576B54   CRYSTAL       LUCAS                       CA     90005489575
63244A37181644   MARIA         ARAMBULA                    MO     29058920371
63245634A5B235   PATRICK       EDWARDS                     KY     90012426340
6324699A155975   MICHELLE      HILL                        CA     90012569901
63246A32384392   TRACY         THATCHER                    SC     90013960323
6324724A431453   MEHO          DURGUTOVIC                  MO     90006702404
6324797A38166B   ADRIANA       HERNANDEZ                   MO     90012659703
63247AA7471976   CHRISTOPHER   CLEMENT                     CO     90015250074
63248648972B26   MARIEL        ACOSTA                      CO     90012716489
63248726A91522   LUZ           TRUJILLO                    TX     90002837260
6324899A357538   GUADALUPE     GARDEA                      NM     35588809903
6324962A387B31   JOSHUA        DYE                         AR     90005406203
632496AA14B588   JANETTE       COSTIN                      OK     21517016001
632498A3255975   SARAH         JOURNAGAN                   CA     90003778032
632498A414B52B   BRIAN         SLAYTER                     OK     90005048041
6324B376471976   MARIA         RAMIREZ                     CO     38020503764
6324B43625B235   JOSUE         LOPEZ                       KY     90012424362
6324B58545B531   AMANDA        CHAVEZ                      NM     36075795854
6324B789155977   TERRY         RAZO                        CA     90003837891
6324BA2A561964   ROXANA        MONTES                      CA     90001390205
6325152684B27B   FRANKIE       PARRA                       NE     90012205268
63251728772B66   FRANK         MCCNEARY                    CO     90009637287
63251A75172B36   DAVID         VARGAS                      CO     33055560751
63251AA7471976   CHRISTOPHER   CLEMENT                     CO     90015250074
63252227772B43   DOLORES       MAULDIN                     CO     90012722277
6325236148B168   SHANNON       MINNIG                      UT     31062093614
63252393272B27   BIANCA        FLORES                      CO     90009473932
63254435A87B31   SHEDRICK      PRINGLE                     AR     90015374350
6325451A971976   ASHLEY        KINGSTON                    CO     90003285109
63254653472B26   IMELDA        TENORIO I T                 CO     90011216534
6325492A361936   LEIA          MACHADO                     CA     90003029203
6325494628B168   NEILO         TAYLOR                      UT     90001129462
6325519A455973   TABITHA       RUIZ                        CA     90010941904
6325612444B588   ZACHARIA      RHEAM                       OK     90005311244
63256225A51354   JENNIFER      BOWLING                     OH     66051202250
6325655858B168   JAVIER        AGUILAR-FLORES              UT     90014775585
6325662A372B26   JAMES         GREEN                       CO     33044176203
6325784398B168   MICHAEL       LIPTRAP                     UT     90012128439
63257967572B29   CAROL         WALKER                      CO     90008469675
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 378 of 2350


63257A7113168B   KEVIN          SHIPMAN                    KS     90000790711
63258428372B29   TROY           GAMEZ                      CO     90010794283
63258935A5416B   MIKE           SPAULDING                  OR     90012239350
6325933725594B   LUIS           GALINDO                    CA     48086743372
632599A4651351   JAMES          MEIGS                      OH     90008059046
6325B26A18B168   DANIEL         HOLCOMBE                   UT     90012082601
6325B813A5B235   CALL           ME                         KY     90012298130
6325B86532B27B   DENISE         WINGATE                    VA     90008618653
6326131765B235   JESSICA        MCCRARY                    KY     90012553176
63261597372B27   HARRIETT       SMITH                      CO     90013305973
6326163898B168   MARVIN         LEGER                      UT     90013496389
6326234A672B43   YVONNE         DEHERRERA                  CO     90008143406
6326251A971976   ASHLEY         KINGSTON                   CO     90003285109
6326281648B168   MARIA          CABRERA                    UT     31093798164
63262A81251354   ANNA           LITTLE                     OH     90011250812
6326313655594B   ALFREDO        CASTILLO                   CA     90012691365
63264A53361964   CHRISTOPHER    VILLAVICENCIO              CA     90014260533
6326518575594B   JORGE          ZEPEDA                     CA     90014951857
63265186672B43   RAQUELLE       FORD                       CO     33095931866
63265865A3B372   MARIA A        GUEEDA                     CO     90003068650
6326642A584392   GALE LASHAUN   JOHNSON                    SC     90011024205
63266536172B43   SASHA          WILLIAMS                   CO     33069365361
6326672554B27B   DESIREE        RIVERA                     NE     90009727255
63266A81533698   SHAROYA        ALFORD                     NC     12009540815
63266A99555975   IVETTE         NAVARRO                    CA     90014820995
63267554772B27   JOHN           HERMAN                     CO     90007045547
6326761728B169   ALLISON        HANDLEY                    UT     31040076172
63267AA5357538   ROBERTO        RASCON                     NM     35556190053
63268AA795B531   MARCELA        GONZALES                   NM     90002770079
63269448A8B168   JOSE           BARAY                      UT     90014794480
6326975A855973   JANETTE        PALACIOS                   CA     90013357508
63269884A87B31   ESTER          TINZIE                     AR     90011108840
63269A59291549   RUDIE          ORTIZ                      TX     75023040592
6326B232272B27   DONALD         GOSSARD                    CO     90012642322
632726A7991549   NESTOR         CARDOZA                    TX     90014926079
632729A4A4B53B   ALFREDO        ACOSTA                     OK     90008009040
63273491272B29   EVARISTO       BARAJAS                    CO     90015224912
6327368985594B   KAYLEY         VARGAS                     CA     90014216898
632736A7655973   CHEALSEA       WOOLAND                    CA     90013536076
63274376A7B479   KAREN          HARPER                     NC     90011563760
6327456AA72B29   MICHELLE       HUFF                       CO     90013125600
6327499252B27B   JAMES          MASON                      VA     90011839925
63274AA713168B   LEAH           TAYLOR                     KS     22093910071
63275326572B29   MELISSA        BENAVIDEZ                  CO     90004973265
63275AAA78B169   JOSE           RODRIGUEZ                  UT     90006930007
63276437172B27   MAX            BARRIENTOS                 CO     33026034371
63277AA9881644   RRASHEENA      DEONA                      MO     90011110098
63278812A5416B   MEGAN          STEVENSON                  OR     90001118120
6327916825594B   JOSE           NERAZ                      CA     90011681682
632797A518B169   DAVID          PET                        UT     90003397051
6327981173168B   SARA           BOWERS                     KS     22063598117
63279A22361936   ANNA           RUIZ                       CA     90009050223
63279A94331453   JOSE           JOAQUIN                    MO     90010170943
6327B545133698   STEPHANIE      FATTA                      NC     90012515451
6327B836A61936   CARRIE         BRADY                      CA     90011408360
6327B974771968   ASHLEY         PHILLIPS                   CO     90012089747
63281713A7B46B   ANTUWAN        BROWN                      NC     90002047130
63282362A5B531   ANDRES         LOPEZ                      NM     36050923620
6328281278B168   SHARLAIN       MORSE                      UT     31054638127
6328321677B46B   JULIO          DAVILA                     NC     90013142167
63283446A5416B   CHRISTIAN      MONTES                     OR     90013264460
63283977A51347   CHARLENE       PRATT                      OH     90005289770
6328414A225236   ALVARO         TORRES                     NC     90013831402
63284174472B26   SAMANTHA       ANGERMAN                   CO     33085921744
6328419215416B   TIFFANNY       BARELA                     OR     90015521921
632846A9957549   RITA           MORALES                    NM     90000896099
6328544AA71976   ALYSSA         SANCHEZ                    CO     90013654400
63285645A91522   DIANE          DIAZ                       TX     90014966450
63285774972B27   BRIGITTE       ESPINOZA                   CO     33057977749
63285A76755973   JUAN           ANTONIO                    CA     90014750767
6328628717B46B   REGINALD       LAWHORN                    NC     11060452871
632862AA391549   ARVIZU         CHRISTIAN                  TX     75086062003
63286551A8B168   TERRIE         ASTON                      UT     90013495510
63286962772B43   SILVIA         PARODI                     CO     90014569627
632869A5661964   PATTY          GUTIERREZ                  CA     90011499056
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 379 of 2350


6328741535594B   LORENA       BARAJAS                      CA     90014794153
63287612A5416B   DANIEL       MUCHKA                       OR     90011816120
6328762A272B27   HEATHER      PLUMLEY                      CO     33070186202
63287645A91522   DIANE        DIAZ                         TX     90014966450
6328798A272B26   ANTHONY      HERNANDEZ                    CO     33002609802
63288232872B29   JOE          PROVO                        CO     90004352328
6328837928B168   NOEMISITA    VERA QUEVEDO                 UT     90007893792
6328843587B49B   CONNELL      SIMS                         NC     11026044358
63288841372B29   SELINA       AGUILAR                      CO     90012258413
632891A585594B   TAIS         GARCIA                       CA     90002791058
63289494A63646   TONNIA       WYHS                         MO     90014954940
63289A3213168B   SANTA        HEREDIA                      KS     22050050321
6328B476255973   BARTOLA      PICAZO                       CA     90015184762
6329268493168B   D ANDRE      THOMAS                       KS     90013706849
6329358242B27B   ANTHONY      CONNER                       DC     90004985824
632947A4133698   JOHNATHAN    HICKS                        NC     90014857041
63295349587B31   JESSE        LAGRONE                      AR     90008993495
6329541A476B71   MICHAEL      STOUFFER                     CA     90001714104
6329572458B169   ANGIE        ANDERSON                     UT     90003397245
6329581335594B   LOVELL       JOY                          CA     90012338133
6329598318B54B   VERA MAE     LACUESTA                     CA     90014149831
63295A25654B65   JONHY        ALVARADO                     VA     90010900256
63296448A8B168   JOSE         BARAY                        UT     90014794480
6329672139196B   AMY          CARROLL                      NC     90014397213
6329672425B235   SHIRLEY      DUTTON                       KY     90012567242
63296798A5B271   TERRANCE     MORRIS                       KY     90012687980
632974A6361964   MICHAEL      BRADEY                       CA     90010674063
6329773A172B26   MARIA        RIVERA                       CO     33091657301
6329778A576B54   ALBERTO      ZARATE                       CA     90007267805
6329823937B46B   AURELIO      MARTINEZ                     NC     11097872393
6329824565B531   OLIVIA       JUAREZ                       NM     90000772456
632982A9981631   MARK         PLUYM                        MO     90001272099
6329925855B271   STACEY       RUNYON                       KY     68008542585
6329925948B169   ANGELICA     ESTRADA                      UT     31083842594
6329937928B168   NOEMISITA    VERA QUEVEDO                 UT     90007893792
63299459387B31   EDWARD       BAIN                         AR     90010954593
63299544172B36   VENITA       PETTEWAY                     CO     33092965441
63299A73751354   HEATHER      BECK                         OH     90011570737
6329BA37387B31   RODNEY       GRAY                         AR     28093810373
632B1237461964   RICHARD      FLORES                       CA     90013962374
632B1419387B31   JOYCE        MINTZ                        AR     90015374193
632B1573491522   MONICA       OBANDO                       TX     90011095734
632B2444A8B168   ANDREW       JIMENEZ                      UT     90014774440
632B2464571976   HAUNANI      APO                          CO     38049724645
632B261A791522   LIZ          LOPEZ                        TX     90009776107
632B286445B531   BRENDA       BARTRUM                      NM     36096348644
632B2969172B36   RAFAEL       LEANOS                       CO     90012319691
632B32A7155973   ANGELA       RAMIREZ                      CA     48080392071
632B3555861558   LAVONGUA     EWING                        TN     90015355558
632B4612A71968   VICTORIA     PITMAN                       CO     90000156120
632B47A555594B   RUBEN        VIVAS                        CA     90014187055
632B5137272B29   FREDRICK     GONZALEZ JR.                 CO     33060731372
632B515A13168B   JUAN         ESPINOZA                     KS     90013881501
632B533748B168   ANDREW       JONES                        UT     90012793374
632B5354971968   AMANDA       SANCHEZ                      CO     32080823549
632B62A7772B29   CHRISTINA    SHEPHERD                     CO     33083482077
632B644A761964   RANDY        ROWLAND                      CA     90004374407
632B6669471976   BENJAMIN     SOTELLO                      CO     90015176694
632B67A945594B   NAYELLI      MENDOZA                      CA     90014187094
632B7276472B29   CHARO        FOLLETT                      CO     39013552764
632B7311155973   WENDY        SANDOVAL                     CA     90009373111
632B734125B235   VALERIE      JOHNSON                      KY     68063263412
632B7763691549   CARNALES     ERNEST                       TX     90001507636
632B8198572B27   MANUEL       BALDERAS                     CO     33040981985
632B864315B235   JAMES        HELM JR                      KY     68098736431
632B8669471976   BENJAMIN     SOTELLO                      CO     90015176694
632B8AA4433698   KARENA       WADE                         NC     12056430044
632B9176951354   DANIEL       FIELDS                       OH     90012501769
632B9599272B26   JOHNNY       JOHNSON                      CO     90012855992
632B971175594B   JAVIER       HERNANDEZ                    CA     90014187117
632B9966291549   MARIA        CHAVEZ                       TX     90013469662
632BB144A91549   JESSE        SCHICHTL                     TX     90004311440
632BB31584B27B   JASON        ROGERS                       IA     90001653158
632BB61A391522   ANA          LUJAN                        TX     90008796103
632BB813772B29   TYRONE       OWENS                        CO     33009428137
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 380 of 2350


63311122772B29   JAMES         ROGERS                      CO     33097821227
63312A68672B43   KIMBERLY      CORRAL                      CO     90012920686
6331385847B46B   MANUEL        AJANEL                      NC     90001188584
6331494562B949   RENEE         BARTON                      CA     90005439456
63314A7664B588   HERNANDEZ     SYLVIA                      OK     90002940766
63315623672B36   MARTIN        BUSTAMANTE                  CO     33051756236
6331568225594B   OMAR          ALBA                        CA     90012646822
6331589875416B   MELISSA       MARINEZ                     OR     90011438987
633162AA65B271   KATHIAN       PRANGE                      KY     68046962006
6331687815594B   MARICELA      VELASQUEZ                   CA     90012048781
6331716288B354   MAYELY        VELASCO                     SC     90014941628
633174AAA72B36   JESUS         RODRIGUES                   CO     90001854000
6331811844B268   JULIE         LOWRY                       NE     27089651184
63318297A71976   MARTIN        LUCERO                      CO     90015252970
633188A938B169   GORDON        JOHNSON                     UT     90003398093
63318954687B31   AMANDA        ANDERSON                    AR     90005809546
6331941A63168B   YOLANDA       ALCALA                      KS     90012724106
63319464672B43   JENNIFER      HEGER                       CO     90010964646
6331984A472B27   KRISTINA      HOOVER                      CO     90002248404
6331B69A472B27   BRYAN         ECKSTROM                    CO     90004806904
6331B817972B29   SHALECE       SMITH                       CO     90013188179
6331B916672B26   JAKE          BOBIAN                      CO     90011479166
6332113495416B   DAN           EDNEY                       OR     90013991349
633223A868B169   DAN           HUMPHRIES                   UT     31057593086
63322624A93753   DERON         BARNES                      OH     90011376240
63323228472B43   ROSARIO       CARDENAS SANTIVANES         CO     33002372284
6332341433168B   CHARLENE      LAURIN                      KS     90013374143
6332351A14B27B   SANDRA        NICK                        NE     27004245101
6332379385594B   MONICA        MONTES                      CA     90015027938
6332437A63168B   MARIA         RAMIREZ                     KS     22026823706
6332452424B543   NOEMI         VERDUGO                     OK     90008745242
6332453924B27B   DANYELLE      LEAR                        NE     90002865392
6332492418434B   RASHID        COAKLEY                     SC     90010369241
63324A93661936   OMAR          AGUILAR                     CA     90000800936
63325317A61936   RYOSUKE       OGURA                       CA     90013473170
633255A958B168   BETTY         JONES                       UT     31046145095
63325A26384392   BOBBY         JONES                       SC     19074950263
63326749A71976   GUSTAVO       ACURIO                      CO     38031747490
63326AA8172B26   DANTE         PAGLIASOTTI                 CO     90012930081
63327219A72B36   MIGUEL        DELAROSA                    CO     33048412190
6332725347B46B   ISAAC         FITZSIMMONS                 NC     90014932534
6332874AA72B27   ANDREA        SCARBOROUGH                 CO     90015247400
6332888A651352   THERESA       ANDERSON                    OH     66031228806
6332915234B27B   COLLEEN       CHAPARRO                    NE     27028741523
633296A6571976   DARLA LEE     ATENCIO                     CO     90003956065
63329A58141261   LYNN          GERAMITA                    PA     51047480581
6332B199971976   OSCAR         PEREZ                       CO     90002241999
6332B343687B31   PATRICK       BAGGETT                     AR     90000673436
6332B725A5416B   APRIL         SHOCKEY                     OR     90011867250
633316A2955975   DIANE         MARENCO                     CA     90015316029
63331738372B26   JAMIE         SCHEUERING                  CO     90011217383
63331A85172B29   ALVIN         AYERS                       CO     33064750851
6333225854B267   KENNETH       MELICHAR                    NE     27003962585
6333274284B588   KIMBERLY      RIDGWAY                     OK     90004027428
6333431662B27B   STEPHANIE     ARIAS                       DC     90011843166
63334617A91522   RICHARD       ORNELAS                     TX     90011096170
63335926787B31   TERESA        HOLLIMON                    AR     90014689267
6333634935B235   STEVEN        JOHNSON                     KY     90009073493
6333666368B358   WARREN        BRANCH                      SC     90015106636
6333861255416B   CRYSTAL       PAINTER                     OR     47065066125
6333872525594B   MARTINA       GARCIA                      CA     90014797252
633389A5972B27   TAMIRA        MARTINEZ                    CO     33083899059
63339A8A933698   JAYMEE        REAVIS                      NC     90011110809
6333B328761964   ANGEL         GONZALEZ                    CA     46039043287
6333B452372B36   REBECCA       ZAVALA                      CO     90013964523
6333B515757538   VANESSA       DIAZ                        NM     35562445157
6333B629472B36   KATIE         GRIGKBY                     CO     33033256294
6333B79385594B   MONICA        MONTES                      CA     90015027938
6333B818272B26   CAPRIE        CARDENAS                    CO     90000808182
6334146737B46B   BENEDICTA     OPPONG AKOSAH               NC     90014874673
6334174A672B43   CHRISTOPHER   NUNEZ                       CO     90011317406
63341979A84392   BRYAN         BROMELL                     SC     19014949790
6334255485416B   ERNEST        LATTYMER                    OR     90011915548
63342555472B26   AMANDA        MAES                        CO     90001695554
6334255768B168   SIERRA M      MAGILL                      UT     90014795576
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 381 of 2350


63344146A91549   DANIELA      RODRIGUEZ                    TX     75095951460
63344A74463646   MELISSA      SCHAUGHNESSY                 MO     90003640744
63344A86872B43   MARIA        GUTIEREZ-DIAZ                CO     90006910868
63345461472B27   CHARLES      STALEY                       CO     90014854614
6334566958B183   WAYNE        BUCKLEY                      UT     90012316695
63345924972B36   ANUKA        GUTIERREZ                    CO     90002929249
63346555472B27   DARREN       CARTER                       CO     33031245554
633469A1872B62   DEREK        CHAPMAN                      CO     90011769018
63348113787B31   POLLY        BRYANT                       AR     90007761137
63348179372B26   KARINA       ESCOBEDO                     CO     90005951793
6334822818B168   KONOR        ROCKHILL                     UT     90011692281
6334B11135594B   BENNY        SANDOVAL                     CA     90008311113
6334B421884392   ANDREA       MUNIZ                        SC     90010404218
6334B718372B29   SEFERINA     RIVERA                       CO     33066897183
63351627872B36   OMAR         MENDOZA                      CO     90013746278
63351A23A3168B   MICHELLE     HURSEY                       KS     22052510230
63352365987B31   LEROY        ZUNIGA                       AR     90012703659
6335241715416B   AMIE         ALLISON                      OR     47047534171
6335249475416B   JONATHON     7544594                      OR     90015124947
6335334A771968   BARRY        MCKAY                        CO     90013443407
6335342A972B29   OSCAR        MANZO                        CO     90012194209
6335345518B563   ANGELITA     VARGAS                       CA     90012624551
6335356A12B27B   LOLO         NOLIN                        DC     81091695601
63354143172B29   LYNN         RIVARD                       CO     33048861431
6335566912B27B   DAVINA       CARSON                       DC     90000706691
63356587272B36   RUEBEN       ZAMORA                       CO     90011505872
6335666A287B31   MALLORY      MANNING                      AR     28041646602
633571A325594B   ANGEL        ARREOLA                      CA     90010491032
6335765394B992   JOSE         FERMAN                       TX     90001176539
633577A218B168   JOSE         CASTANEDA                    UT     90014797021
6335785223168B   CHRISTINA    JONES                        KS     22026338522
6335862A772B43   LARONDA      KEMP                         CO     33032476207
6335873767B46B   TONYA        CALDWELL                     NC     11072567376
633587A218B168   JOSE         CASTANEDA                    UT     90014797021
63358A13372B26   NANITA       TAYLOR                       CO     33044300133
63358A54925236   DARIUS       OSBORNE                      NC     90013300549
6335968A191522   YANETH       ARANDA                       TX     90014966801
6335B881584392   JOYCE        DAVIS                        SC     90015318815
63361685772B36   MONICA       GARCIA                       CO     90012056857
6336179325416B   DAWN         THORNBRUGH                   OR     90014837932
63361A2193168B   JOHN         JOHNSON                      KS     90009390219
6336217654B588   BRUCE        LEE                          OK     90005311765
6336246645B235   TONY         CURTSINGER                   KY     90014534664
63362569A87B31   HEATH        WILLIAMS                     AR     28006045690
6336265575412B   RENEE        CONSTANT                     OR     90012016557
6336298915594B   ADRIAN       RUIZ                         CA     90011909891
63363211487B31   AIMEE        WEST                         AR     90014802114
6336335225B235   NICHOLAS     DELANEY                      KY     90013983522
63363522A2B27B   MIGUEL       CRUZ                         DC     90010195220
63364342572B27   ROBIN        MOULTRIE                     CO     90013413425
633644A5931453   SHAUNA       HALL                         MO     90011134059
63364A2435594B   PATTY        RINCO                        CA     48097310243
63365139772B36   BRIAN SAUL   SOTO                         CO     90008661397
6336535623168B   ANA          MENA-VALENCIA                KS     90014483562
6336594744B268   SUSAN        HOKE                         NE     27090889474
6336596445B235   RODRICKA     CAMP                         KY     90014259644
6336641518B168   KELLY        JESSICA                      UT     31090504151
6336694A672B43   JESSE        RAMIREZ                      CO     90013149406
63367323A72B29   JESSICA      AGUILAR                      CO     90014173230
63367443972B43   MANUEL       ALONZO                       CO     33018564439
6336766A78B168   LAURA        MOOSMAN                      UT     31070016607
6336787485B241   MIKE         JONES                        KY     90006818748
6336881644B27B   LESLIE       ZRUST                        NE     90006978164
63369449A5416B   LOREE        WOODS                        OR     47031854490
6336B328772B36   WENDY        HERNANDEZ                    CO     90003913287
63372519672B36   ALEJANDRA    SALDANA                      CO     90004935196
6337313984B588   ELISEO       FRAYER CRUZ                  OK     90002941398
6337365232B27B   KENNETH      HUGHS                        DC     90011376523
6337371875594B   ALEX         LANDEROS                     CA     90011317187
6337423A461936   SHAKYLA      BELL                         CA     90014902304
633747A558B168   RANDI        CLARK                        UT     90010797055
63374A32591549   CARLOS       MARQUEZ                      TX     75041400325
6337567A798B22   DANIELLA     HATCHER                      NC     11085496707
63375777472B43   ADRIAN       TREJO                        CO     90012767774
6337581A855973   LILIANA      MEEK                         CA     48097508108
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 382 of 2350


63375A9AA5B271   DILIP             RAI                     KY     90006650900
6337627A333698   LIDIA             VILNOR                  NC     90012692703
6337634115594B   REYNA             ALVARENGA               CA     90014253411
6337657848B168   LUIS              RIVERA                  UT     90012335784
633765A755416B   JENNIFER          BANPELT                 OR     90013945075
63376A66455975   ANTONIO           RAMIREZ                 CA     48092390664
6337744345594B   ROSA              GARCIA                  CA     90013874434
6337752545B358   SAVANNA           BIRT-WOODIN             OR     90008535254
6337786A691522   EDWARDO           GONZALEZ                TX     75017868606
63378299472B26   JANET             GALVAN                  CO     33007212994
633783A7771976   GREGGOREY         FILES                   CO     90005843077
6337846867B761   FRANK             WALL                    CA     90014164686
6337852AA5594B   RACHEL            MORAN                   CA     90011035200
63378A19A55973   DHERON            MINS                    CA     48075760190
63378A29784392   DARNELL           BATNWELL                SC     90007530297
63378A72371968   HILDA             PINEDO                  CO     90015060723
6337922585594B   BELLA             PEREZ                   CA     90008312258
63379279A4B522   DANA              JENKINS                 OK     21589182790
6337B1AA58B168   MICHAEL           HISLOP                  UT     90014881005
6337B749972B22   EUSEBIO           RUIZ-HERNANDEZ          CO     90010037499
63381252A7B46B   BRANDON           BONES                   NC     90012502520
6338143948166B   SHIRLEY           RAMSON                  MO     90005264394
63382343A87B31   JOHNNY            WHEELEY                 AR     90014623430
63382724A71968   SAVANNA           LINDSAY                 CO     90001067240
63382A16572B27   JAMES             GRAHAM                  CO     33090700165
63382A7145B531   DENISE            GOULD                   NM     36061880714
63382AA725B235   TIM               OBRYANT                 KY     90012730072
633839AA955973   JOSE              PACHECO                 CA     90012029009
63384325187B31   ALIYAH            MCCARROLL               AR     90013303251
633844A7855977   GAGE              WILLOW                  CA     90014324078
633844A998166B   JACLYN            DANIELS                 MO     90002074099
6338485214B27B   PATRICK           JONHSON                 NE     27091418521
6338521535B235   JESSICA           COXX                    KY     90014832153
6338526614B268   JEFFREY           WILLIAMS                NE     90006272661
6338599475594B   JENNIFER          AYALA                   CA     90014819947
63385A86A5B395   DAROL             BALL                    OR     90012170860
63386171887B31   THOMAS            BLAKENSHIP              AR     90000931718
6338641454B268   AARON             VALDEZ                  NE     27060494145
633867A1491522   KATIA             GARDEA                  TX     90014967014
63386818872B26   APOLINAR          ISLAS                   CO     33096238188
6338713754B27B   MARIA AMARILLAS   LOPEZ                   IA     90011201375
6338735482B27B   CORDELLA          JACKSON                 DC     90004673548
6338826885B235   JENNIFER          HOWELL                  KY     68098892688
6338846A32B231   ATISHA            SAMPSON                 DC     90000664603
6338878A77B46B   LATOYA            BIGGINS                 NC     90014857807
6338999335594B   ALBERTA           VALLE                   CA     48056859933
6338B138763646   RONALD            DE-ROY                  MO     90013581387
6338B417825236   DHYANNA           NEAL                    NC     90012684178
6339134163168B   MARIA             TEMICH                  KS     22086103416
6339141935416B   JERRY             ROMBOLD                 OR     90015154193
633925A2151354   BRIAN             CURRY                   OH     90010325021
633927A1491522   KATIA             GARDEA                  TX     90014967014
63393A82184392   WALTER            LOUIS                   SC     90010980821
6339449A133698   PEDRO             ZAMORA                  NC     90013404901
63394697472B26   AUTUMN            NELSON                  CO     90012136974
6339511577B46B   FLORENCIA         MORALES                 NC     90005281157
6339546A491549   ARIZBET           RIOS                    TX     90010054604
633955A235594B   RAQUEL            AMEZCUA                 CA     90007165023
6339597895B531   RICHARD           GARCIA                  NM     36052979789
63395A98657B92   MELISSA           COTTON                  PA     90015390986
6339612A472B43   INES              ALVAREZ                 CO     33012901204
6339652218B168   DAVID             FLEGEL                  UT     90011695221
63396A22751354   LEQUENCY          ANDERSON                OH     66043200227
633971A6172B36   MARIA             GONZALES                CO     90002731061
6339794AA91549   NUBIA             ACOSTA                  TX     90001089400
63397988772B26   LUIS              DE LA CRUZ              CO     90013259887
63399A9568B168   DEBRA             SWENSON                 UT     31026810956
6339B499387B31   ROGER             SOLES                   AR     90011914993
6339B7A1491522   KATIA             GARDEA                  TX     90014967014
633B145538B168   TEDI              SORENSEN                UT     90014794553
633B14A9355977   DAVID             TRUJILLO                CA     49096334093
633B1531455977   KHLOEUNG          YOU                     CA     49036215314
633B1636791549   PATRICIA          CHAIREZ                 TX     90014886367
633B1937972B29   ELISHA            SEYMORE                 CO     33065129379
633B1986391549   JACQUELINE        RAMIREZ                 TX     90012939863
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 383 of 2350


633B1AAA591549   PATRICIA     CHAIREZ                      TX     90015500005
633B213A571968   ESPENANCE    LUKAMSO                      CO     32097011305
633B236925594B   SERGIO       FRANCO                       CA     90010583692
633B351324B27B   JESSICA      HOOPER                       NE     27004075132
633B446AA55975   JASON        HOOD                         CA     90002994600
633B4739163646   TAMMY        NOVAK                        MO     90012857391
633B5186A41261   ELAINE       SCOTT                        PA     51079081860
633B5237891549   ADRIAN       ORTEGA                       TX     90004242378
633B5439771968   DYLAN        FISHER                       CO     90013004397
633B5861A87B31   SHAWN        LAKEY                        AR     28046938610
633B5957581671   LYNN         BAKER                        MO     90001149575
633B6126161964   SELINA       DELAPAZ                      CA     90012281261
633B6186261936   MANUEL       BAEZ                         CA     90013631862
633B61A1855975   ERICKA       LOPEZ                        CA     48013941018
633B6249972B43   JESSE        CARLISLE                     CO     90008452499
633B6525155977   GRAHAM       RALFE                        CA     49066955251
633B6578691522   LEONARDO     URRUTIA                      TX     75088505786
633B675467B46B   EVER         DERAS                        NC     90014277546
633B713A555977   LILLIAN      DIAZ                         CA     49095031305
633B7168372B27   DANIEL       MEADORS                      CO     90011131683
633B7529572B26   OSCAR        ROMERO                       CO     90013655295
633B7712961964   JOSE         RAMIREZ                      CA     90014177129
633B7998572B43   DAVID        ENRIQUES                     CO     90015269985
633B8319233698   DANEIKA      STONE                        NC     90003203192
633B8758855975   PRECILA      CHAVEZ                       CA     48097987588
633B8796161936   ALBERTO      CASTANEDA                    CA     90014037961
633B8943872B27   ARNULFO      FLORES                       CO     90007799438
633B8A62A55973   TINA         STOOPS                       CA     90008990620
633B917A151354   SHAWNTELLE   TURLEY                       OH     90011251701
633B9956A91549   MIGUEL       ALVAREZFLORES                TX     90014419560
633BB325771976   LORENA       MERCADO                      CO     90015253257
633BB816A72B36   PAULINE      BRADLEY                      CO     33045908160
6341116764B588   LUIS         DIAZ                         OK     21554901676
6341127275416B   CONNIE       HOWLETT                      OR     47066172727
63411489A72B36   ZAK          PARISH                       CO     90005984890
63411939A4B27B   KATHERINE    FUEHRER                      NE     90013459390
63411A74525236   TERRAOL      STALEY                       NC     90015080745
63412638A91522   CAROLA       LAMBERT                      TX     90001986380
63412A92991549   MARTHA       MENDOZA                      NM     90012920929
63412A98355977   SHIRLEY      BREAZELL                     CA     90012960983
63413112A63646   ADAM         BEAMS                        MO     90013881120
6341358977B46B   DENASHA      HARRIS                       NC     90014865897
63414746972B27   JUSTIN       BARENBERG                    CO     90012767469
63414875A72B66   MARGARITO    FLORES-ADAME                 CO     90010678750
634148A6151354   MARK         HESS                         OH     66089248061
63414A79372B29   DANIEL       FOLK                         CO     33057820793
63415978572B36   GONZALO      BOTELLO                      CO     33093089785
6341633AA55977   CESAR        ROSAS                        CA     49035983300
6341653858166B   PETTIS       STANLEY                      MO     29030335385
6341798392B27B   PATRICE      GILLIS                       DC     90005529839
634179A244B27B   EARL         HODTWALKER                   IA     27044319024
63418237A5594B   MICHELLE     REYES                        CA     90002922370
63418252772B27   RUBI         VELEZ                        CO     33091902527
63418449772B36   EDUARDO      CHAVEZ-SALVIDREZ             CO     33030514497
6341847A28B168   MARVIN       MOORE                        UT     90014804702
6341961617B46B   ROGERICA     STRAITE                      NC     90010146161
6341B655A71968   KYREE        HOWARD                       CO     90013056550
63422291224B48   DELORA       MAIDEN                       DC     90000712912
63422787872B27   MARCUZ       BURNETTE                     CO     90015577878
63422A1955B235   SAI          SEINMAING                    KY     90014680195
6342385925B235   FRANK        WILDER                       KY     68098908592
63423A11972B29   ANTHONY      GARCIA                       CO     90010540119
63423A8735594B   ANTONIO      VALDOVINOS                   CA     90014920873
6342436855B235   MELISSA      MUDD                         KY     90011973685
6342451A861964   JULIAN       SOTO                         CA     46061525108
63424673A8B168   HAL          BARFUSS                      UT     90011696730
63424A82272B27   JOSE         ANDRADE                      CO     33095940822
6342541AA71976   RACHELLE     IRVIN                        CO     90005924100
6342565394B992   JOSE         FERMAN                       TX     90001176539
63425A19787B31   AMANDA       ELROD                        AR     90013890197
63425A59272B29   RODRIGO      MIRZMONTES                   CO     90013640592
6342796215B235   JOSEPH       FIRST                        KY     90014109621
63427AA1531495   COREY        ANDERSON                     MO     27508720015
63428379272B27   ODESSA       THOMAS                       CO     90014073792
63429418376B54   SERGIO       CARRERA                      CA     90005804183
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 384 of 2350


6342B13927B46B   COREY        BELL                         NC     90013961392
6342B68885594B   LUPE         GOMEZ                        CA     90011166888
6342B726755973   ALEJANDRA    SOTO                         CA     48078087267
6342B77298166B   MAXANN       PERSON                       MO     29055607729
6342B7A5891527   ELVIRA       MORENO                       NM     90010597058
6342B875272B43   ANGELINA     ENRIQUEZ                     CO     33034328752
6342BA12181644   LORRAINE     BATHE                        MO     29005150121
6343235A191522   SAID         BUHAYA                       TX     90014973501
6343312215B235   SUZZANA      CASTANEDA ESCALONA           KY     90010641221
634331A3A72B43   ROBERT J     CARPENTER                    CO     33063531030
63433379372B49   MARK         CHANDLER                     CO     90008353793
634342A7A8B168   GUILLE       GONZALEZ                     UT     90009362070
6343441918B163   KAREN        ORIZAGA                      UT     90014414191
6343597867B46B   CARLOS       MONTIEL                      NC     90009899786
63435A6683168B   IRENE        KING                         KS     90013430668
63435A72171976   DONNA        OLDMAN                       CO     38044150721
634361A9A4B588   DANIEL       RODRIGUEZ                    OK     90010281090
6343681735B531   MARIO        MENDOZA                      NM     36054988173
63436987172B27   DARLA        MURPHY                       CO     90012659871
63436A32433698   MAYLO        ORTEGA SCOSTA                NC     90013830324
63436A34A72B43   JOHN         GONZALEZ                     CO     90014850340
6343891674B27B   NECEE        SMITH                        NE     90012049167
63438A1985594B   HERIBERTO    SILVESTRE                    CA     90003260198
6343918687B46B   JOCELYN      WELLS                        NC     90011211868
63439981A84392   MARTHA       TAYLOR                       SC     90011319810
6343B89148B168   DOTTI        BIRT                         UT     90012128914
6343B957A8166B   LINCOLN      JHONSON JR                   MO     90005659570
6343B959672B36   DAVID        DORRIS                       CO     90012649596
6344118687B46B   JOCELYN      WELLS                        NC     90011211868
634431A4233698   SYVERIA      WILSON                       NC     90000421042
63443A23161964   LENNETH      SALAC                        CA     90007800231
63443AA3655977   LILY         RILEY                        CA     90014730036
6344464497B761   CHRIS        VILIBORGHI                   CA     90013766449
6344496515B235   LAURA        YOUNG                        KY     68090059651
63445213772B29   KARON        VONFELDT                     CO     90010792137
6344568A17B46B   LATOYA       MCVAY                        NC     90013316801
63446186A5594B   FAUSTINO     GONZALEZ                     CA     90006411860
6344639778B168   WENDY        SMITH                        UT     90008673977
6344683A37B392   ISMAEL       ANASTACIO                    VA     81007768303
63446A75941261   DANIELLE     ROBERTS                      PA     51069160759
63447343A51354   VICTORIA     SIEBE                        OH     90012293430
6344853664B588   CRISTIAN     CASTRO                       OK     90001925366
6344911457B46B   ANGELA       BRAWLEY                      NC     90013231145
6344921618166B   MICHAEL      JOHNSON                      MO     90010732161
63449381172B36   JOHN         ESCAMILLA                    CO     33048943811
6344B3A9A55975   JUANA        AREVALO                      CA     90014003090
6344B446A55973   FERNANDO     COLASO                       CA     90012894460
6344B75798B168   LACEY        COMBS                        UT     90014807579
6344B96518B169   JUSTIN       GOODWIN                      UT     31096949651
6344BA43181622   ANGELICA     MARTINEZ                     MO     90012550431
63451414472B36   JACQUES      MINAN                        CO     90012044144
63451558872B27   JOSE         GUTIERREZ                    CO     33013625588
634519A3A71968   ADAM         WIK                          CO     90010679030
634526A8525236   TANYA        MASON                        NC     90010256085
63452A98561936   FRANCISCO    JURADO                       CA     46072280985
63453649A55975   LISA         DIXON                        CA     48028166490
63454221272B36   ELENA        FOSTER                       CO     33019202212
634557A785416B   JOHN         UNREIN                       OR     90012337078
6345591A78B168   RAY          LILLY                        UT     90014819107
6345615355416B   MELISSA      RAMIREZ                      OR     90012401535
63456357572B26   GATRELL      WILLIAM                      CO     90011283575
6345695295B235   LAKEISHA     FARRIS                       KY     90014379529
6345699675594B   ROCIO        CANCHOLA                     CA     90003269967
6345722834798B   LADONNA      MENDENHALL                   AR     90001362283
63457262A72B36   LEO          BANUELOS                     CO     33076742620
63457A46281631   WILLIAM      LAHN                         MO     29086720462
63457A9A671968   STACI        TILLMAN                      CO     90010090906
6345823485594B   JOSE         FLORES                       CA     90010602348
6345883925416B   KINDI        PASCHALL                     OR     90012608392
6345884A481644   BLANCA       MERLOS                       MO     90013028404
6345911155B235   CHRISTI      ELLIOTT                      KY     90012741115
63459A6A851354   ASHLEY       PATE                         OH     90008770608
6345B5A585416B   VENESSA      GUTIERREZ                    OR     90010385058
63461867687B31   DRENAY       CRAWFORD                     AR     90014788676
6346216668B355   JULIA        MCDERMOTT                    SC     90014941666
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 385 of 2350


634621A3363646   DANIEL        BAUR                        MO     90010581033
6346225347B761   WILL          CARTER                      CA     90013982534
6346239344B588   JEANNIE       JONES                       OK     90002943934
6346336567B46B   NIKYIA        SUAD                        NC     90011213656
634633AA661964   CHRISTINA     ABARCA                      CA     46002323006
63463728276B54   MANUEL        DIAZ                        CA     90004217282
6346448795416B   LOGAN         BEVANS                      OR     90013494879
63464546A61964   EMETERIO      HERNANDEZ                   CA     46046265460
63464A88531453   SHARRONDA     JONES                       MO     27563090885
63465481A5B531   MAGDELENE     URBAN                       NM     36017544810
63466159372B36   CAROLYN       DINO                        CO     33091141593
63466174A61964   VIRGINIA      AKPA                        CA     46045561740
6346683495416B   NOLAN         RAMEY                       OR     90013358349
63466A4AA72B26   KIERH         BURGER                      CO     90014150400
63467275272B43   ISREAL        MEJORADA                    CO     90001702752
63467754A51354   TYLER         GIBSON                      OH     90013837540
6346784514B27B   KRISTINA      FARIAS                      NE     27087148451
6346795578166B   LETICIA       CALDERON                    MO     90008999557
6346858A571976   DOROTHY       LARA                        CO     90009225805
63468951272B43   ZEKE          FOBB                        CO     90015259512
6346B299471968   CHRISTIAN     DOMINGUEZ                   CO     90004302994
6346B52423168B   ANNIE         ALLEN                       KS     22064245242
6346B644A61964   GABRIEL       OLIVAS                      CA     90002376440
6347119585B235   PAUL          SPICER                      KY     90014711958
63471555A81644   BRENDA        STOKES                      MO     29017105550
63471834272B27   ALMA          SANCHEZ                     CO     33012878342
6347298753168B   MARIA         ACOSTA                      KS     90014599875
6347325895B38B   SHANNON       HUNTER                      OR     90011292589
6347341235594B   OLGA          CALDERON                    CA     90012764123
634742A5A72B26   MARCIA        SCHENCK                     CO     33076722050
6347435A68B169   ACACIA        NAVARRO                     UT     31017153506
634744A6972B43   MARIO         ACOSTA                      CO     90003584069
6347595425416B   DEANNA        HAABY                       OR     90010659542
63475A3A781631   RACHEL        HALL                        MO     90010450307
63476448A5B136   QUERIDA       KELLEY                      AR     90014444480
63476477A41221   CHRISTOPHER   FORNELLI                    PA     90002174770
6347676316196B   ALEX          TELESFORD                   CA     90010217631
63476A87891549   CARMEN        PORTILLO                    TX     75089080878
63477554172B27   FADHILA       LEKMINE                     CO     33090175541
6347772A48B569   SOFIA         SEGUNDO                     CA     90014167204
6347811888B168   OSCAR         BUGARIN                     UT     31002681188
6347877A77B36B   WALTER        SCOTT JR                    VA     90003377707
6347911A35B235   REBECCA       MCCUBBINS                   KY     90014781103
6347982A157563   DENISE        KOLLER                      NM     90002158201
634799A4972B26   KEVIN         WILLIAMS                    CO     90012479049
6347B114A5B241   JOSE          MARTINEZ                    KY     90000431140
6347B343372B36   TRACY         SEIGAL                      CO     33013873433
6347B48715594B   BEATRIZ       PEREZ                       CA     90011834871
6347B643181644   BENIGNO       RODRIGUEZ                   MO     90009796431
6347B653861964   JAVIER        FLORES                      CA     46078566538
6347B835A71976   PAYGO         IVR ACTIVATION              CO     90004898350
63481718A72B36   ALAN          RAMIREZ                     CO     90010407180
6348195175B235   RICKY         MCCLELLAN                   KY     90006039517
63481A4315B271   SANTA         XITAMUL                     KY     68014740431
634821A8771976   COURTNEY      GOLDMAN                     CO     90005381087
6348279279715B   DANIELLE      DAHRENS                     OR     90002977927
6348283678B168   ANN           OLSON                       UT     31095268367
63482A35891522   GONZALEZ      JESSE                       TX     90002410358
6348311998165B   STEPHANIE     STEURY                      MO     90005881199
63483A79733698   JOSHUA        RODRIGUEZ                   NC     90007820797
63484234872B27   PATRICIA      LOKAKAO                     CO     90009332348
6348512745416B   JONATHAN      SCHOPPET                    OR     90014511274
63485437872B29   MICHAEL       PARK                        CO     90013064378
6348559815594B   MARIA         CARMONA                     CA     90011695981
6348591A78B168   RAY           LILLY                       UT     90014819107
6348693515B531   ASHLEY        MARTINEZ                    NM     36087979351
634869A8571968   BILL          BANKUS                      CO     90014699085
63486AA3291522   JOSE          MONTANEZ                    TX     90014980032
634872AA872B43   ROSA MARIA    BARRERA-MARTINEZ            CO     33039592008
63487914A72B36   BRENDA        LOPEZ                       CO     90006829140
6348957645B271   WILLIAM       RICHARDSON SR.              KY     68098595764
6348B25A93168B   ASHLEAH       SWARTZ                      KS     90013902509
6348B653A91522   URIEL         MEJIA                       TX     90011096530
63492AA583B365   BEVERLY       GRANT                       CO     90012630058
6349329475594B   MANUEL        GAYTAN                      CA     90015222947
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 386 of 2350


6349372A88B168   SHARRON B    FOWLER                       UT     31008317208
63493A6655B531   ANA          URIAS HOLGUIN                NM     36014330665
634948A9491522   LORENA       MARQUEZ                      TX     90011808094
63494951672B43   OLGA         CAZARES                      CO     33011899516
6349521AA31453   ANTHONY      GARAVAGLIA                   MO     90010422100
6349578477B46B   NICOLE       CUTHBERSTON                  NC     90014857847
63495A15755973   FELIPE       AVITIA                       CA     90004380157
634963A768B168   MARIA        CERVANTES                    UT     90012753076
6349684287B472   MARQUILLA    HALL                         NC     90012718428
634969A5272B26   JESSE        FULLER                       CO     90000679052
63497359872B29   RITA         GARCIA                       CO     90003613598
63497A51371968   JOHANNA      PEARSON                      CO     32021950513
6349851A455973   MICHAEL      MENDOZA                      CA     90015505104
634985A538B168   CASTRO       RAMIRO                       UT     90000395053
6349893A25B235   ANTHONY      ALEXANDER                    KY     90015199302
6349912655B241   PAMELA       DAVIS                        KY     68002021265
6349925435416B   DAVID        BERTRAM                      OR     47078492543
6349998A472B36   JON          BLAKE                        CO     90002019804
6349B3A618B168   JOEY         WIEHE                        UT     90007373061
6349B474233698   LACTRINNA    CASTON                       NC     90002094742
6349B56498166B   KIM          SMITH                        MO     29031905649
6349B765655973   AURORA       ROBLES                       CA     90007527656
634B1331872B26   SAMUEL       ANDERSON                     CO     90012413318
634B176335B531   MITCHELL     MERLE                        NM     90006927633
634B2348A61988   JUAN         ROSALES                      CA     90012823480
634B2374661936   RUBEN        DIONISIO                     CA     90010093746
634B2444772B26   ANGEL        CAMARENA                     CO     90013604447
634B291638B169   JOE          MATT                         UT     90004269163
634B297A47B46B   EBONI        FEAMSTER                     NC     90013559704
634B33AA171968   ANTONIA      CANALES                      CO     32020323001
634B359888B168   ESTER        AGUILERA                     UT     90012025988
634B3642741261   NICHOLE      HOLYFIELD                    PA     51015266427
634B3757455973   MARY         DATES                        CA     48054467574
634B4143A61964   MONICA       WARTMAN                      CA     46091691430
634B4222A31453   RHONDA       ANDERSON                     MO     27582922220
634B4355772B29   ANN          BURTON                       CO     90014923557
634B549494B588   KINTE        DURROUGH                     OK     90012574949
634B5545A7B46B   KEESHIA      BISHOP                       NC     90010805450
634B673A65B271   DAPHNE       BATEY                        KY     90006687306
634B6A7912B248   COYON        ATCHERSON                    DC     90007780791
634B7135971968   LOUIS        COUSSEY                      CO     90014801359
634B7275272B43   HEATHER      CHAVEZ                       CO     90014782752
634B743255B271   DAVID        LITSEY                       KY     90001214325
634B7542357538   KARINA       CARMONA                      NM     35573395423
634B7A45891549   GERALD       BACA                         TX     90010370458
634B7A51591348   JOSEPH       THIESFELD                    KS     29003590515
634B8449691549   VERONICA     CASTILLO                     TX     75026144496
634B89A7963646   TRAVIS       HAND                         MO     90015039079
634B9189333698   SHAKERYA     JACKSON                      NC     90010841893
634B9319A87B31   LASANDRA     BOGARD                       AR     28072473190
634B9463555973   DESIREE      BROOKS                       CA     90011954635
634B9822561936   ROMAN        ANGULO                       CA     90014638225
634BB317281644   JAMES        THOMPSON                     MO     29019783172
634BB856484392   JULIO        VALLEJO                      SC     90011628564
63511239372B43   NICOLE       WIDDLE                       CO     33011032393
6351145A751347   TENIKA       BUTLER                       OH     66059414507
6351197814B268   BRENDA       CENTAMORE                    NE     27006669781
6351255A772B26   VALERIE      BARROS                       CO     90005015507
63513A99372B29   KARLA        CASTILLO                     CO     90009540993
63513AA734127B   JASON        DICKER                       PA     90008140073
635151A1855975   ERICKA       LOPEZ                        CA     48013941018
63515377A7B46B   KUADARIUS    THOMAS                       NC     90010983770
63515872187B31   KIMBERLY     SMITH                        AR     28032888721
635162AA28B169   MARK         WAYMAN                       UT     31057772002
63516418A3168B   DEANNA       MCWITHEY                     KS     22065894180
635176A1372B29   ANAHI        LOPEZ                        CO     90000166013
6351771A791549   ROSA         AGUILAR                      TX     90013437107
63518817472B43   ALEJANDRO    OLIVAS                       CO     33084778174
63519426672B29   DAVIS        JACQUELINE                   CO     90002314266
63519978A4B27B   CRYSTELL     ORENT                        NE     27076979780
6351B275255975   MALINDA      FRANKLIN                     CA     90014562752
6351B418561936   VALERIE      OSOBAMPO GERARDO             CA     90013794185
6351B76A355973   JESUS        TURNER                       CA     90014467603
63521133972B43   IVY          CURRY                        CO     90014121339
63521175672B36   JENNIFER     GALLEGOS                     CO     90004711756
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 387 of 2350


6352192A261936   REYIANNA     WHITE                        CA     90014309202
63521A3834B588   NICHOLE      NORRIS                       OK     90003970383
635223A6855975   MARIA        CONTRERAS                    CA     48090953068
63523277672B36   GUADALUPE    CORONA                       CO     33031132776
63523679572B29   MYRNA        LANDA                        CO     33044216795
635237A9655973   CYNTHIA G    RIZO                         CA     90010337096
63524384372B27   EDWARD       RUMMEL                       CO     33065253843
6352464914B268   MIGUEL       LUNA                         NE     27089556491
6352469A671976   DANIEL       MASON                        CO     90006976906
6352493625594B   PERLA        MALAGON                      CA     90014939362
635254A8525236   EMMA         LYNCH                        NC     90012544085
6352682A855975   JAMES        OBANNON                      CA     90010638208
63527876A57538   RAYMUNDO M   LOPEZ                        NM     90010648760
6352794315B235   TERRELL      CHRISTINA BRYANT             KY     68027179431
63527A3625594B   BLANDINA     GARCIA                       CA     48047180362
6352891678B168   DANYEL       EWING                        UT     90014839167
6352894315B235   TERRELL      CHRISTINA BRYANT             KY     68027179431
6352946795416B   JOSHUA       RAINWATER                    OR     90014214679
63529786187B31   NATHAN       WHEELESS                     AR     28008527861
63529A57672B43   ANGEL        MONTOYA                      CO     33047080576
6352B644281691   PEDRO        MANCIA                       MO     29070456442
6352B662961936   ANETTE       PALEO                        CA     90014616629
6352B93A68B183   MARK         MURDOCH                      UT     90011129306
6353138145B235   DREW         CULL                         KY     90007403814
63531A3A561936   SONIA        BELMONTE                     CA     90008140305
63532A5A672B43   LARRY        CLARK                        CO     33004720506
63533673672B27   JUSTIN       MEDINA                       CO     90013826736
6353417A191549   ROSARIO      ARAMBULA                     TX     75080711701
635341A6671968   SHAMIKA      DAVIS                        CO     32014591066
63534756572B26   KARL         GROFF                        CO     33028517565
6353514925B531   JULIO        BAMACK                       NM     36096041492
63535222A72B43   RENE         OCHOA                        CO     90013462220
635357A2155975   KAITLYNE     BODOH                        CA     90007327021
63536119672B27   JOANN        AMARO                        CO     90014651196
63536459672B27   CARLOS       CAMARILLO                    CO     90011354596
63536728987B31   LARRY        GLASCO                       AR     90012557289
635374A5125236   TYRONE       WATKINS                      NC     90011104051
63537571872B29   QYANISHA     REED                         CO     90013685718
63538262272B36   ALEJANDRO    FLORES                       CO     90013102622
63538373676B54   JOE          THOMPSON                     CA     90005873736
63538593872B26   JOSE         HERRADA-CHAVEZ               CO     33090315938
6353874755B235   MATTJEW      HOWELL                       KY     90013107475
635389A4355973   MARIA        SUAREZ                       CA     90002419043
635394AA672B36   TRINIDAD     GALLARDO                     CO     33046674006
6353B42A58166B   JAMES        WILLIAMS                     KS     90002394205
6354147A263646   HARLEY       KUSCHLER                     MO     90010274702
635432A5261964   CRISTINA     LANDEROS                     CA     90009312052
6354361A45416B   JAIME        ANDERMAN                     OR     90014516104
6354523748B168   LACIE        WILDER                       UT     31011892374
6354533AA81631   ALEX         CARDONA                      MO     29008043300
63545A46691549   ASHLEY       MARTINEZ                     TX     90012910466
6354623897194B   ANITA        GARZA                        CO     90003012389
63546242572B29   URIEL        RIVAS                        CO     90005962425
63546247772B36   CHRIS        CULPEPPER                    CO     90000832477
63546711472B26   LIZA         MARTINEZ                     CO     90010827114
63546A6A433698   NOEMI        GOMEZ                        NC     90012630604
63548248A72B26   IRMA         MARTINEZ HERRERA             CO     90008122480
63548457972B36   BARTHA       ZUNIGA                       CO     33026004579
63548A48863646   ALEXIA       CONTIS                       MO     90012650488
63549619A72B36   EFRAIN       GONZALEZ                     CO     90005876190
6354989AA7B46B   EBONY        HEADEN                       NC     90013238900
6355146A35594B   VINCENT      TORRES                       CA     90012764603
6355161A684392   GUADALUPE    REYES                        SC     90001876106
635519A5791549   ARACELI      QUINTERO                     TX     75098579057
63551A5A371976   JENNIE       REVETERIANO                  CO     38089560503
6355245249184B   JACKLYN      MOORE                        OK     90010734524
63552842972B36   ALFREDO      MARTINEZ                     CO     33047088429
63552A83271968   JOANN        MOWDY                        CO     90013730832
63553A88272B27   JULIAN       FOLEY                        CO     90013080882
63554129472B29   GREGORY      SANCHEZ                      CO     90011001294
63554315272B26   MELODY       WRIGHT                       CO     90014393152
6355445A65594B   PEDRO        SANTIZO                      CA     90007284506
6355448A998B22   OMAR         COCHRANE                     NC     11085654809
635547A2172B27   JOSEPH       GIRON                        CO     33054097021
635551A813168B   MARY         BLEA                         KS     90008031081
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 388 of 2350


63555476A55973   VICTORIA     CONTRERAS                    CA     90015444760
63556544A5416B   MICHAEL      PANKEY                       OR     90013585440
63556A94A72B29   JOSE         MEDELLIN                     CO     90004520940
6355732462B27B   ABBASSE      ADJI                         DC     90003113246
63557393A8B169   DAKOTA       LUCAS                        UT     90003403930
6355746334B27B   IGNACIO      PACHECO                      NE     27096714633
63557578172B29   MAI          THAO                         CO     90012445781
63557A78491534   ESTHER       OJEDA                        NM     90001570784
63558681A61559   PAYGO        IVR ACTIVATION               TN     90015556810
63558913772B36   JENNIFER     BETH CASAREZ                 CO     90008979137
63559A55572B29   PAUL         MARTINEZ                     CO     90013960555
6355B13A891522   ESTEFANIA    HERNANDEZ                    TX     90009201308
6355B226671976   CATHY        CABRERA                      CO     90008862266
6355B226981644   YVONNE       FEE                          MO     29089112269
6355B592833698   DARNETTA     PERRY                        NC     90011125928
6355B642563646   CHARLES      DISCMAN                      MO     90014316425
6355B858593792   DENISE       LALLY                        OH     90001838585
6355BA4574B27B   SHANIQUE     WILLIAMS                     NE     90003260457
6355BA9625594B   JAVIER       ROSAS                        CA     90014980962
63561211872B29   ELENA        SANCHEZ                      CO     33093482118
63562235A91549   GRACIELA     FIERRO                       TX     90008702350
63563453A72B27   TEAONNA      CALDWELL                     CO     90010774530
63563478772B26   BRIAN        COOKS                        CO     90009174787
635636A194B588   KASEY        BALL                         OK     90002946019
6356389175416B   STEVEN       MARRIOTT                     OR     90014288917
63563A68371968   JOSE         VEGA                         CO     32065070683
63564A92761936   GERARDO      ALSINA                       CA     46056320927
6356636582B27B   CHRISTILL    GRAYS                        DC     90004673658
63566552A72B26   ALEJANDRO    CARDONA                      CO     90005015520
6356697A881631   MADDISON     WARMINGTON                   KS     90005839708
6356716395594B   ADRIANA      VEGA                         CA     90015021639
63567397A72B43   MICHAEL      SHORT                        CO     33027213970
635676A5555977   ALTA         MULLENDORE                   CA     90012256055
63567AA2431453   DAMIEN       ROBINSON                     MO     27561500024
63569229787B31   RANDY        MORGAN                       AR     90007812297
6356B762772B27   MIREYA       VILLALOBOS                   CO     90012057627
6356B769455975   JESSICA      GIBBS                        CA     90013457694
6356B77625416B   ROBIN        RICHARDSON                   OR     90002797762
6357121292B27B   NIA          WILLIAMS                     DC     81094172129
635723AA14B27B   ROBERT       BUSKEVICIUS                  NE     27068333001
6357252635594B   NONE         NONE                         CA     90007255263
63572734A71976   LISA         ROMERO                       CO     38056737340
6357347763B388   BERNADETTE   OCHOA                        CO     33091374776
6357353245594B   TAMRA        SANCHEZ                      CA     90003325324
63573A1653B132   ALMAZ        LEMLEN                       DC     90012160165
63574699972B29   LAUREN       AGUIRRE                      CO     90010046999
6357548264B27B   JENNIFER     PARKER                       NE     90010374826
635754A7991549   GABRIEL      HIGADERA                     TX     90009224079
63576377372B26   DAVID        DINSMORE                     CO     90015003773
6357787984B27B   NEVA         LONGSTRETH                   NE     90013238798
63577AAA85B271   DAMITRA      WILLIAMSON                   KY     90009900008
6357817A34B544   SHAY         LEWIS                        OK     90008371703
6357839148B169   SOPHIA       LOSOYA                       UT     90001363914
63578499A55977   LISLIA       VERDUGO                      CA     90010234990
6357877482B27B   TERRQUELLA   BUCHANAN                     DC     81084287748
6357885425416B   JENNIFER     RIGGS                        OR     90013508542
63578A94191522   CARLOS       ROACHO                       TX     90001820941
63579131172B36   LARZ         GODFREY                      CO     90008841311
63579AA5A5B241   FREDA        DICKERSON                    KY     90006860050
6357B136781644   BERHANU      MERGO                        MO     90010441367
6357B18A155975   RAUL         VERDUZCO                     CA     48030591801
6357B434171968   SANDRA       JURADO                       CO     32031624341
6357B711772B36   DONALD       VEGA                         CO     90013247117
6357B878925236   ELOISA       NUNEZ                        NC     90000328789
63581756A72B27   JOANN        MARTINEZ                     CO     90011167560
6358265888166B   JULIE        BOYLE                        MO     29085666588
6358282A161964   MARIA        RAMIREZ                      CA     46003668201
635829A2455975   JESUS        DIAZ                         CA     90013819024
63583245A61936   ALEJANDRO    MENDOZA                      CA     90015112450
6358345848B168   SAM          STAHURA                      UT     90007374584
6358356233B374   LINDA        STONESTREET                  CO     90005705623
6358466A784392   SADE         COOK                         SC     90000876607
6358471375416B   CHARLES      TRESCH                       OR     90015097137
6358472495B235   FELICIA      PUGH                         KY     90003027249
63584911172B43   SOE          AYE                          CO     90010389111
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 389 of 2350


63585794A91549   ORTEGA           RAMON                    TX     90004777940
63585A18731453   SUSAN            WARD                     MO     90015130187
63585A91872B43   JOSE HERIBERTO   LIRA                     CO     90010760918
6358612365B531   NICOLE           ROYBAL                   NM     90009891236
6358631A691549   URIEL            DUARTE                   TX     75086043106
635865A5A61936   HERNANDESZ       LIZBETHH                 CA     90006065050
6358713455B271   SUMMER           COLLINS                  KY     68095431345
63587382172B43   ARNULFO          GONZALEZ RUIZ            CO     33083833821
6358799875B235   OSCAR            MARTINEZ                 KY     90009129987
6358811154B27B   OSCAR            MORALES                  NE     90007401115
63588137372B26   SCOTT            MALACHAI WILLSON         CO     90014341373
63588317172B49   LETICIA          GONZALES                 CO     90006233171
6358869398B169   MARCELA          GOMEZ                    UT     31093766939
6358887595B241   MICHAEL          GAINES                   KY     68095808759
63588918A81644   JUANITA          GARCIA                   MO     90001809180
6358926114126B   GREGORY          PATTON                   PA     90010562611
63589398972B36   MIGUEL           BECERRA                  CO     90011163989
63589566672B26   CHRISTINE        OSBURN                   CO     33034365666
635895AA294945   JACOB            WHITE                    CA     90013025002
63589A43A72B27   MICHEAL          SALGADO                  CO     90012080430
63589A8458B168   REBECCA          WYKSTRA                  UT     31066340845
6358B141155977   TANGALE          ADAMS                    CA     49087811411
6358B552555973   ROSA             BELTRAN                  CA     90015505525
6358B8A364B588   ILMA             ORDONEZ                  OK     21554948036
6358B8A9984392   DESIDERIO        SUT                      SC     90008638099
635911AA361964   ANDRIA           ROBBS                    CA     90013811003
63591779772B36   STEPHEN          RIAL                     CO     90011767797
63592728472B29   RACHELE          BARTA                    CO     33017867284
6359274A884392   WLY KELLY        VICENTE                  SC     90009637408
63592A39155975   MARBELLA         DIAZ                     CA     48095450391
6359337798B569   PREEPAID         COSTUMER                 CA     90014293779
635954A7972B27   STEPHEN          SNEVE                    CO     90013694079
6359574575594B   BERNARDINO       HERRERA                  CA     90015027457
63595A34272B36   ISMAEL           PORTILLO                 CO     90009020342
63596173A4B27B   ZAKCHERY         TAYLOR                   NE     90012271730
6359634495B235   HARMONY          SIKITI                   KY     90012923449
63597996A8B168   MISTY            CHAPMAN                  UT     31077949960
6359859735416B   CHEROKEE         HEADY                    OR     90007945973
63598782A61964   LAURA            REYNOLDS                 CA     90010887820
6359895285B235   SABINO           DE LEON LOPEZ            KY     90002009528
6359954844B27B   SANTOS           GARCIA                   NE     27003795484
63599914A71976   RITA             BASTIAN                  CO     90011809140
6359B354871968   JACOB            HUTCHERSON               CO     90012263548
6359B656625236   LASHONDA         WIGGINS                  NC     90011096566
6359B6A897B46B   JUANITA          MEDINA                   NC     11007646089
6359BA69672B26   LEROY            WAR RING TON             CO     90014760696
635B1273672B27   KODJO            AMOUZO                   CO     33093772736
635B162524B268   SUSAN            HENNEBERRY               NE     90002786252
635B1779A55975   DAVID            LOPEZ                    CA     90002987790
635B212195594B   DAMIAN           MARMOLEJO                CA     90015041219
635B2169A5594B   JORGE            LUZ ESTRADA              CA     90011931690
635B2265924B7B   EUGENIQUE        JACKSON                  DC     81049382659
635B2579381631   ISAEL            COCA                     KS     29046255793
635B2756572B43   JOSHUA           SWEAT                    CO     90011477565
635B321A155975   MIGUEL           VILLA                    CA     48067172101
635B3351531453   MATTHEW          AUBIN                    MO     90008203515
635B3364981631   HENRY            PUNTI                    MO     90011123649
635B3452271976   KIMBERLY         KENISTON                 CO     38013854522
635B3581261936   LAURA            TENORIO                  CA     90014995812
635B3968872B27   KANAN            ARKAWAZY                 CO     90011909688
635B39AA55B241   JAMES            EVANS                    KY     90006849005
635B4318A81644   BRIDGET F        MASSIE                   MO     90010043180
635B4658351354   TIFFINEY         MCGHEE                   OH     66037986583
635B499A826267   MUHAMAD          ISMAIL                   VA     90001539908
635B5116251354   MANUEL           VILLATORO                OH     66071261162
635B542555B241   MICHAEL          DORSEY                   KY     68095764255
635B546875B531   MATILDE          VICENTE                  NM     36045514687
635B6235391549   BLANCA           KRESSLER                 TX     90014002353
635B672A372B26   JYSLANE          CAMPA                    CO     90012737203
635B678528166B   CLARISSA         GILMORE                  MO     29073027852
635B794612B27B   CHARLES          GRAY                     DC     81080069461
635B7A62161936   ADELA            DUARTE                   CA     46072640621
635B7A9A172B27   CHACK            MAYER                    CO     90007300901
635B814797B46B   CATHEY           CAGER                    NC     11011421479
635B828519133B   EDUARDO          CRUZ                     KS     90012352851
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 390 of 2350


635B8531855975   LEON          LOZANO JR                   CA     48026265318
635B8592572B36   PABLO         GUERRERO                    CO     33044415925
635B8819555977   JOSE MANUEL   TIRADO                      CA     90002758195
635B8837761964   MARIE         ANDRADE                     CA     46066968377
635B9213155977   JAVIER        LOPEZ                       CA     90007902131
635B9213655975   JOHN          MCCUNE                      CA     48028442136
635B9411555977   NICK          KOVAC                       CA     90014154115
635B9927272B43   RODRIGO       SANDOVAL                    CO     90015319272
635BB75287B46B   JANAY         MCCROREY                    NC     90014547528
635BB864461964   KAI           GIBSON                      CA     90008028644
63611395A55975   PHANIDA       KAYKEO                      CA     90012703950
6361149648B169   KRIS          SHANE                       UT     31005344964
6361181814B27B   ARETHA        PRODJINOTHO                 NE     27083758181
6361198987B46B   TARVINCE      HALLMAN                     NC     11088609898
63611A1155416B   MARJORIE      LINN                        OR     47087360115
63612314772B26   THANEA        MARTINEZ                    CO     90006023147
6361279385594B   MONICA        MONTES                      CA     90015027938
63612A62A71976   ABEL          FUENTES                     CO     38092900620
63612A73161964   CRISTINA      BARAJAS                     CA     90012640731
6361343A371968   ANDREA        CORTEZ                      CO     32000654303
6361349A961936   ELIA          REYNOSO                     CA     90014044909
63613778A72B32   MICHELLE      FORSYTHE                    CO     90008797780
6361469528B168   JEFFREY       CHARLESWORTH                UT     90012676952
63615286372B26   KIMBERLY      FXFORD                      CO     90010822863
63615786272B26   DEANDRA       JAUREQUI                    CO     90009367862
63615A73861964   KIMBERLY      PEREZ                       CA     90006950738
6361614A855977   DARITHA       WILSON                      CA     90012331408
63616386587B31   JENNIFER      GEATHERS                    AR     90011083865
6361679385594B   MONICA        MONTES                      CA     90015027938
636167A995B235   DAEKOYA       JOHNSON                     KY     90015227099
63616931A87B31   WENDY         HYMES                       AR     90010399310
6361775A957538   NOEMI         GUERRA                      NM     90005977509
6361779385594B   MONICA        MONTES                      CA     90015027938
6361786985594B   SIRENA        PAREDEZ                     CA     90006568698
6361789138166B   YVETTE        GONZALEZ                    MO     90004208913
63617A72A63646   PAYGO         IVR ACTIVATION              MO     90010320720
6361831845B235   TONYA         MICKEY                      KY     90012133184
6361848854B562   NOREEN        TATE                        OK     90010884885
63618A8244B562   NOREEN        TATE                        OK     90013540824
636192A4355973   TONY          QUINTANA                    CA     90014812043
6361975565416B   ROBERT        TAPPANA                     OR     90015577556
63619A8A571976   JEANETTE      ABREU                       CO     90011810805
6361B33678B168   EMILY         BRYANT                      UT     90009903367
6361B815A4B27B   JAMES         BENFORD                     NE     27066808150
6361B927293792   MICHAEL       CLEELAN                     OH     90010059272
63621728A8B168   ANGEL         FLORES                      UT     90010357280
636218A555594B   ABRAHAM       GARCIA                      CA     90015028055
63622465372B36   BETHANY       BERENDT                     CO     33058404653
636224A8755977   ANN           PEREZ                       CA     90000174087
6362271917B46B   SHANNON       PLYLER                      NC     90014547191
636229A4891522   JESSICA       ESPINOZA                    TX     90008609048
6362321515416B   NEANA         BENNETT                     OR     47051582151
6362331142B27B   RICARDO       KNOX                        DC     81032193114
63623398772B27   ALFREDO       GRIEGO                      CO     90007633987
6362448A572B43   OUMOR         O                           CO     90006744805
636262A8172B26   VICKIE        SANTISTEVAN                 CO     33004582081
63626625276B54   HERNANDEZ     CLAUDIA                     CA     46056296252
6362711353168B   KENNETH       WILLIAMS                    KS     90014761135
6362712875594B   CELIA         CORREA                      CA     90015021287
6362734535B531   ANA           SERRANO                     NM     36069553453
6362744487B46B   KELLEY        BELL                        NC     90014474448
6362745753168B   JOSE          LIMON                       KS     90011334575
636278A5471968   JUAN CARLOS   CHAVEZ                      CO     90012448054
63628697472B26   AUTUMN        NELSON                      CO     90012136974
6362943735594B   SANDRA        RAMIREZ                     CA     90012184373
63629725A5416B   APRIL         SHOCKEY                     OR     90011867250
6362981327B46B   ROSE          LARONDA                     NC     11037788132
636298A7971976   DAVE          RAMIREZ                     CO     38018598079
6362B15414B27B   DENISE        SHAVERS                     KS     27043841541
6362B963A72B27   MARINA        ARRITOLA                    CO     90010749630
6363134A961945   ARMANDO       CARANZA                     CA     46051623409
636313A7593777   JAMIE         HUGHEL                      OH     90010673075
6363151215594B   YOLANDA       RIVERA                      CA     90010505121
63632262172B29   DEBBIE        BAROS                       CO     33056992621
6363238A35B271   CHRISTY       RIGGS                       KY     68017793803
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 391 of 2350


63632A6935416B   ANDREW        DELORME                     OR     90000840693
63632A6A984392   LESLY         RODAS                       SC     90014760609
6363333275B235   STACY         DECKER                      KY     90014223327
636338A2761964   ESTEFANA      VILLALPANDO                 CA     46061218027
6363454538166B   PAMELA        NICKERSON                   MO     29036855453
6363591545B235   JASMINE       YOUNG                       KY     90009009154
63636496887B31   LASHAWN       COOK                        AR     90014694968
63636687324B7B   EDWIN         PEREZ                       DC     90008006873
636375A178B168   MICHAEL       BURBACH                     UT     90011575017
63637629772B27   CHERYL        BULL                        CO     33089636297
6363786A933698   GLENNELL      WATSON                      NC     90013598609
6363817314B27B   ROBERT        JAMERSON                    IA     90014571731
63639278A71968   RICHARD       EBELING                     CO     90005452780
636392A7133659   MICHAEL       HUMPHREY                    NC     90008102071
6363945897B46B   MICHAEL       FOSTER                      NC     90014104589
63639586272B29   ERNIE         TRUJILLO                    CO     33009955862
6363986755416B   MARVELLA      GORDON                      OR     47028288675
6363B512325236   SIEDAH        HUNTER                      NC     90012785123
6363B91345416B   KELI          BEEMER                      OR     90007979134
6363BA71191522   ELVA          MARTINEZ                    TX     90014980711
6364135A871968   DERRICK       GIBSON                      CO     90005233508
63641521672B43   ROY           DUDLEY                      CO     90012485216
63641A47933698   TYRELL        SOSA                        NC     90015240479
636423A445594B   RIKKI         FRIEND                      CA     90012803044
636425A7551354   APRIL         EVANS                       OH     66008375075
6364286475B235   MICHAEL       FREDERICK                   KY     90007898647
63643551972B43   ERIN          HENRIXSON                   CO     90015085519
6364551615B235   DAVID         WHITMORE                    KY     90012785161
6364578494B27B   TIM           MCSHANNON                   NE     90001977849
636461AA391549   DENISE        GUZMAN                      TX     75076811003
63647274A7B46B   QUECIA        LOPEZ                       NC     90014932740
6364826333168B   JENNIFER      BALL                        KS     90008252633
6364861318B169   BEVERLY       LARSEN                      UT     31000356131
636486A8855975   LUIS          ESPINO                      CA     90013936088
6364874834B588   BILLY         CHAVEZ                      OK     90011147483
63649111A72B26   LORETTA       ROMERO                      CO     33032881110
6364917415B531   NANCY         CARMONA                     NM     36040981741
636495A1A51354   LAMAR         JOHNSON                     OH     90011255010
6364992A155975   ANDREA        LOPEZ                       CA     48076249201
6364B457951354   CARLA         TUCK                        OH     90012204579
6364B6AA357538   SIRIA         SANDOVAL                    NM     35546866003
6364B774472B26   ATHENA        CHAMBERLIN                  CO     33085307744
63651263172B29   SHAQUA        YARBER                      CO     90014282631
63651A82261964   MARK          ARAOS                       CA     90014740822
636522A935B271   CHRISTOPHER   WOODRUM                     KY     90006922093
6365329578B169   PETER         TREANOR                     UT     31071872957
63655475A91522   BOBBY         VIS                         TX     75084814750
6365553138B168   CYLE          THOMPSON                    UT     90013545313
6365582485B235   ANGELYNN      HELM                        KY     90013658248
63655A12A31453   LADONNA       SMITH                       MO     27508150120
63656137272B36   SALINA        VELASCO                     CO     90005631372
6365628178B169   EUGENIA       MORENO                      UT     90005742817
636585A5884392   INDIA         GRANT                       SC     90000365058
6365874425416B   JACOB         THOMAS                      OR     90011027442
6365998535B531   MARIA         PEREZ DE LOPEZ              NM     36053939853
63659A29755973   REBECCA       LOPEZ                       CA     90012860297
6365B382972B26   IDA           DOMINGUEZ GARCIA            CO     90009283829
636625A7371968   JANELL        BERNAL                      CO     90008255073
63662759672B26   SILVIA        BLANCO                      CO     90013277596
6366285AA91522   VERGINIA      MELENDEZ                    TX     75010128500
63663A79357538   YANITZA E     CARILLO LOPEZ               NM     90009520793
63663A93333698   NAKEISHA      BRANNUM                     NC     90012360933
63664998A8B169   ELIZABETH     GARCIA                      UT     31096879980
6366532535B241   TRACEY        DAVIS                       KY     90006863253
6366545A97B46B   TATYANA       CARMONA                     NC     90011214509
6366719A13367B   ASHLEY        MARTIN                      NC     90008811901
6366768928B169   CHRIS         BENNETT                     UT     31051986892
6366779442B27B   ANDREW        RUBIANO                     DC     90003067944
636678A355416B   JONATHAN      LONG                        OR     47067928035
63667A6255B235   DELTA         ALVATEZ                     KY     90011900625
63668167A71968   KEVIN         MCKINNEY                    CO     90013361670
63669136787B31   MISTY         DRENNEN                     AR     90013601367
63669522572B43   JEFF          BETTS                       CO     90014075225
6366957A572B43   MARIE         WEBSTER                     CO     33032105705
6366959317B46B   QUANTIZES     TERRELL                     NC     90013455931
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 392 of 2350


6366982A961964   JOSE MANUEL   CARLOS                      CA     90012508209
6366993888B168   VINCENT       SILVA                       UT     90013919388
6366B54A855973   SILVIA        SUN                         CA     90013585408
6366B5A795B235   ERIC          ERVIN                       KY     90003065079
6366B97A85416B   JOSE          GONZALEZ                    OR     90015609708
6367128A65594B   JERONIMA      YANEZ                       CA     48064052806
6367174176B244   DEBRA         ERICSON                     AZ     90014187417
6367182195B235   SANDRA        MCDONALD                    KY     90012428219
6367198758B168   TAMRA         HARRIS                      UT     90013839875
6367246777B46B   TAURICE       STWE                        NC     90011214677
6367274176B244   DEBRA         ERICSON                     AZ     90014187417
63672A33185953   TABITHA       MAYES                       KY     90005910331
63672A53372B36   SARAH         TOLENTINO                   CO     90013280533
6367342A772B43   TYLER         TANNER                      CO     90011394207
636735A2255977   FILOGONIA     SANCHEZ                     CA     90009885022
636735A795B235   ERIC          ERVIN                       KY     90003065079
63674238172B43   NATHAN        SUTERA                      CO     90012722381
6367447945B235   ANNETTE       GRAVES                      KY     90013764794
6367486A971976   WULIE         SPEAKMAN                    CO     38057188609
6367492798B155   JOANN         GLASS                       UT     31036099279
63674981A55973   JODAN         PECK                        CA     90012719810
6367558977B46B   DENASHA       HARRIS                      NC     90014865897
63675644A8166B   AMPARO        GOMEZ                       MO     90001126440
6367586A971976   WULIE         SPEAKMAN                    CO     38057188609
63675969A72B26   CHRIS         THOMAS                      CO     90008869690
63675A1A263646   LOUIS         DAHN                        MO     90004300102
63675A41133698   KIMBERLY      JACKSON                     NC     90012370411
636762A888166B   JIM           MUNK                        MO     90008862088
63676313A4B268   LARAE         JASPER                      NE     27081273130
6367643A691549   LUCY          GONZALEZ                    TX     75072624306
6367688A78B168   KENNETH       SWING                       UT     90003398807
6367691175416B   BERNADETTE    DORA                        OR     47005009117
6367711A12B949   MATTHEW       GRISE                       CA     45072141101
63677457272B43   DENNIS        BROOKS                      CO     33051304572
6367775498B168   IVON          RUIZ                        UT     90006407549
63677A2843168B   FAYE MARIE    MILLS                       KS     22084250284
63677A46A4B27B   BRENT         QUIGLEY                     NE     90013600460
6367859677B46B   JASON         FLEMING                     NC     90014045967
6367B132181631   LYNN          VOLK                        MO     90002941321
6367B23A772B26   MIGUEL        ALVAREZ                     CO     33011852307
6367B7A6731456   JAMES         SWYERS                      MO     90015127067
6367B915391534   ARTURO        JARA                        TX     90011509153
6367B946681644   ONEIL         MYERS                       MO     29055689466
6367B969625236   BOBBY         ROWE                        NC     17039219696
6368198758B168   TAMRA         HARRIS                      UT     90013839875
6368214519187B   KASEY         ODELL                       OK     21032071451
6368218A471968   JENNIFER      GONIEA                      CO     32073291804
63682311672B36   SANDRA        ANN-BANUELOS                CO     33003623116
6368268378B168   ANTHONY       HURTADO                     UT     90012336837
63684215372B26   BRITTNEY      BAILEY                      CO     90013832153
636846A1171968   KARLA         CAMARGO                     CO     90014456011
63684AAA25594B   KRYSTAL       CONTRERAS                   CA     90005930002
6368589893168B   RONALD        DUNN                        KS     22079088989
6368688A733698   JOHN          HOGAN                       NC     90002178807
636873A3171976   TINA          COOPER                      CO     90003353031
63687771A55973   HUBER         HORTIZ                      CA     90013897710
63687AAA172B43   LIEUTENANT    BARNES                      CO     90010870001
6368918585416B   ERIC          GALBRAITH                   OR     47007791858
636898A287B46B   DAQUAM        TAYLOR                      NC     90014858028
6368B16765416B   RALETTE       CHURCHWELL                  OR     47045631676
6368B246151354   HEATHER       GRAMANN                     OH     66033692461
6368B957472B29   SERGIO        COBOS                       CO     33077149574
636916A5625236   TONIA         MAC CRAY                    NC     17073466056
6369181713168B   NICK          DOCKERS                     KS     90013738171
63692193572B26   ROXANNE       ALVAREZ                     CO     90012951935
63693765672B26   AARON         JOHNSON                     CO     90011567656
6369386244B27B   TAMIKA        LANE                        NE     90014798624
6369395183168B   DALE          CONNELZ                     KS     22072409518
63694979A55973   DALIA         VARGAS                      CA     48049169790
63696A3A861936   ROSA          SOSA                        CA     90009720308
6369792675594B   IRIS          GUDINO                      CA     90011709267
6369793415B374   LISA          STANLEY                     OR     90011439341
63698242A7B656   AYREOAL       RAMEY                       GA     90009712420
636983A285B531   ANTHONY       GUTIEREREZ                  NM     90007213028
6369844587B46B   SULAIMON      SANUSI                      NC     11030964458
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 393 of 2350


6369856A455973   MICHAEL        HURST                      CA     90015545604
63698767472B26   DANGELO        EAZELL                     CO     90014927674
6369897345416B   TRASK          ENSMINGER                  OR     90015609734
63698AA1171968   ELIZABETH      WHITE                      CO     90012240011
63699222472B43   DAVID          SALAS                      CO     90013182224
63699957A72B36   SERGIO         RODRIGUEZ                  CO     33005079570
6369998195B271   LISA           TROUTMAN                   KY     68032729819
6369B657661936   CECILIA        MONTANO                    CA     90014826576
636B1124233698   RASHEDA        WHITE                      NC     90009631242
636B1354461936   JERRY          SANCHEZ                    CA     90012603544
636B1385555973   JR             RIVAS                      CA     90011423855
636B1973891549   MANUELA        VALDEZ                     TX     90014419738
636B3212172B36   RITA           ALLEE                      CO     90013262121
636B3718833698   DARLETRIS      NELSON                     NC     90011127188
636B39A615594B   ISDRO          PENA                       CA     90011699061
636B4282672B29   KAREN          OCHOA                      CO     90010622826
636B52AA155973   BEATRIZ        RICO                       CA     48092092001
636B5356672B29   ANTHONY        ALONZO                     CO     90007763566
636B5939A4B27B   KATHERINE      FUEHRER                    NE     90013459390
636B6367672B36   AMANDA         PHILLIPS                   CO     90013963676
636B6A56191522   DANIEL         NAJERA-QUEZADA             TX     90014980561
636B7458971968   JUSTIN         LABARD                     CO     90013614589
636B7694287B31   CHRISTINA      LANGSTON                   AR     90013086942
636B7912497122   TRISHA         JACKSON                    OR     90007589124
636B815777B46B   MELISSA        LOVE                       NC     90013231577
636B8726A91549   AMANDA MARIE   LUEVANO                    TX     90010227260
636B9763233698   MIRIAM         SILVA                      NC     90012747632
636BB2A4387B31   CLAYTON        GARNER                     AR     90014172043
636BB58174B268   FABIAN         CREIGHTON                  NE     27083995817
636BB5A5891549   ANA            FLORES                     TX     75095955058
636BB885355973   ANTONIO        ALDACO                     CA     90007138853
63711648887B31   CHARLIK        RIKARD                     AR     90011586488
63711A72633698   SHAVONNA       ROBINSON                   NC     90010210726
6371235418B168   CINDY          JARVIS                     UT     90014163541
637124A6661964   DELIENEI       JOSEF                      CA     90001634066
63713712672B26   GENARO         OLIVAS-PEREZ               CO     90012737126
6371374167B46B   DARRIEN        GABRIEL                    NC     90013157416
6371386A791522   CHARLES        ROBINSON                   TX     90014988607
6371445653168B   KRISTIE        BOARD                      KS     90010254565
6371472555B235   GREG           MCCLOURE                   KY     90006257255
6371492545416B   DEBORAH        WHEELER                    OR     90015219254
63714A6953168B   SHAWN          ANDERS                     KS     90003910695
6371563553168B   DONNA          ONEAL                      KS     90014856355
63716652272B43   DESIREE        DOUGLAS                    CO     33073426522
6371695A45B235   SHARON         PARKER                     KY     90009779504
63717252872B27   DESTINY        LEE                        CO     90014412528
637173A3671968   MARIA          HERNANDEZ                  CO     90010413036
6371844435594B   SAYDA          PEREZ                      CA     48064624443
637188A7772B26   ARIANA         KASPER                     CO     90013298077
63718A46931679   DARIEN         ANTOLDI                    KS     90013860469
63719757A91549   AMANDA         VALDIVIA                   TX     90014017570
6371985755B235   MARK           BOGGS                      KY     68085858575
6371B2A9A61964   MARIA          VALDEZ                     CA     90012322090
6371B63435B271   ANDRE          FRAZIER                    KY     68083136343
6371B767125236   MONICA         VINES                      NC     90011127671
63721819772B26   ERIC           BROWN                      CO     33034448197
63721A56831453   CARMESHA       SUTTON                     MO     27592120568
6372276A361936   FORTINO        QUIROZ                     CA     46036007603
63723195772B36   ALYSSA         LANGMAID                   CO     33091741957
6372384463168B   CYNTHIA        ARAIZA                     KS     90014248446
637239A8571968   ARACELI        DEL TORO                   CO     90013799085
637243A4A55975   MARIA          VILLEGAS                   CA     90002583040
6372453995B271   ANGELA         UNDERWOOD                  KY     68004445399
6372468955594B   ELISA          MAGALLAN                   CA     90012956895
63724863672B26   KYLIE          BAROS                      CO     90011218636
6372487147B46B   EARLQUASHIA    LONG                       NC     90012338714
63725748672B26   MYRNA          GALARZA                    CO     90006297486
63725895A5B235   PATSY          PATCHIN                    KY     90007418950
63726299A3168B   ROBERT         ROGERS                     KS     90000482990
6372764A831453   LATONYA        DORSEY                     MO     90001176408
637277A4A72B27   RACHEL         GOTTSCHALCK                CO     90007237040
63727948872B26   MICHAEL        PICKRELL                   CO     90008739488
6372891958B168   MARIA          NEGRETE                    UT     31010419195
63728A86981644   CHRIS          GROGAN                     MO     90009950869
63729258172B26   BRANDON        JONES                      CO     90009712581
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 394 of 2350


6372939325594B   PORFIRIO          LLERENAS                CA     90000363932
6372B65134B27B   MONIQUE           HILDRETH                NE     90002316513
6372B7A4A61936   TRUONG            NGUYEN                  CA     90012887040
6372B864172B29   SHIRLEY           DAVIS                   CO     90007158641
6372BA6465B235   SHAQUAN           CHISHOLM                KY     90014460646
637314A8555977   JORDAN            SOVEN                   CA     90008034085
63731731272B36   ANGEL             GONZALES                CO     90010927312
6373228AA72B43   YEIMI             OROZCO                  CO     90014002800
63732961A91549   JAVIER            MEZA                    TX     90012039610
63732A4835B271   MARIELA           OROPEZA                 KY     68054410483
63732A5977194B   MARGET            RICH                    CO     90008200597
6373357A272B43   JENNIFER          AGUIRRE                 CO     90008025702
6373396245416B   CARMEN            DUNBAR                  OR     90005489624
6373443215B389   DAHIRO            ABDIRAHMAN              OR     90005064321
6373459938B168   GAIL              BEEZLEY                 UT     31060015993
63734871A3168B   DANIEL            PENA                    KS     90010688710
63734A79372B26   JAMIE             AYALA                   CO     90007000793
6373533835B235   WILLY             BLANE                   KY     90012283383
6373553A755973   KEIVI ELIZABETH   SORTO                   CA     90013705307
63735737487B31   SHERMA            GREEN                   AR     90009237374
6373598595416B   VICTORIA          CAMPOS                  OR     90001769859
63736796572B43   YADIRA            VALENTE                 CO     90011507965
63736836972B27   RODNEY            MORTON                  CO     33033898369
63736982972B26   TEODORA           AGUIRRE                 CO     90013789829
6373734772B844   ANGIE             CHUDY                   ID     90004243477
6373766313B155   YOSIEF            TECLE                   DC     81012766631
6373768754B268   CHRISTINA         CROFFER                 NE     90010186875
637379A3431453   JOE               CROWDER                 MO     27587559034
63737AA265599B   JOSE              VAZQUEZ                 CA     90010960026
637384A5691522   ANA               TAVAREZ                 TX     90011114056
6373854124B27B   DONALD            GOSWICK                 NE     27091205412
637386A1684392   ERICA             WARNER                  SC     90008756016
6373897322B82B   SARAH             MICHELL                 ID     90010589732
63738A4588B168   BARBARA           WYATT                   UT     31079230458
63738AA7261936   TYE               MILLER                  CA     90015340072
63739438172B26   DUSTY             MILLER                  CO     90002214381
6373961A17B46B   SHAWN             A CRAWFORD              NC     11096866101
63741114472B27   ASHLEIGH          WINSLOW                 CO     90013541144
63742349272B29   JUAN ANTONIO      HERRERA                 CO     90013103492
63742A1414B27B   BRENDA            LOZANO                  NE     27068750141
637432A8272B27   NICHOLE           GONZALAS                CO     90010972082
63743347172B36   ALEJANDRO         PEREZ                   CO     33042103471
637435AA471946   PALMIRA           FRYE                    CO     32066285004
6374363A872B26   CHARITI           FRIEND                  CO     90013406308
637439A438B169   JENNAY            TORRES                  UT     90006529043
637452A3472B27   JOHN              HEREDIA                 CO     33053662034
63745611A93753   MIKE              ROLLINS                 OH     90009706110
6374575745416B   KARRIE            STONE                   OR     47023637574
6374593A363646   STEPHANIE         WALLACE                 MO     90005379303
63745A2232B956   VALERIE           ZAMORA                  CA     90013740223
637463A5884392   NAJEAL            THEIL                   SC     90014933058
63746A9318B168   LYNN              CHADWELL                UT     90014920931
63747134172B36   TIMOTHY           SWANSON                 CO     33017971341
637478A1755975   OLGA              LOPEZ                   CA     90010008017
6374795495B271   CHRISTINA         BURDEN                  KY     90007399549
63747AAA571968   DONALD            BEEBE                   CO     90007620005
63748114A81631   CASH              CASH                    KS     90015311140
6374817668B169   DENNIS            BODINE                  UT     31069331766
63748633A61964   MONIQUE           VERZERTUSHE             CA     90015126330
63748A9318B168   LYNN              CHADWELL                UT     90014920931
637492A5172B26   ROBERT            RITTER                  CO     33058062051
637493A1972B27   JOSEPHINE         BUENO                   CO     33073753019
6374B215871968   ALYSHA            JACKSON                 CO     90014482158
6374B586531453   DELISE            CATRON                  MO     90012605865
63752236172B29   XTISHA            JACKSON                 CO     90014692361
63752648A7B46B   LOREDA            MARTIN                  NC     90008986480
6375272575594B   LINO              CAMACHO                 CA     90015047257
63752765A6155B   SHONDRA           SMITH                   TN     90015547650
63752859872B27   CORY              LANING                  CO     33091698598
6375364748B168   DENNISHIA         JONES                   UT     90007646474
63754292197B28   MASON             KILBURN                 CO     90011552921
6375458977B46B   DENASHA           HARRIS                  NC     90014865897
63754A23955973   JASMIN            SANTANA                 CA     90008860239
6375523958166B   GUADALUPE         MOLINA                  MO     90010562395
63755989A91B28   NICLOE            WILLIAMS                NC     90013909890
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 395 of 2350


63756936A91234   SCOTT          WELCH                      GA     90009969360
6375763354B582   CARMEN         SERRATO                    OK     90010306335
637576A8355975   GARY JR        MELSON                     CA     48066766083
63757A46131453   TIMOTHY        PISONI                     MO     90013290461
63759545672B36   NICK           M'CLAUGHLIN                CO     33057395456
63759A1725B531   EDGAR          GONZALEZ                   NM     90000870172
6375B28848B163   KIM            GAUGER                     UT     90008822884
6375B295455975   ROSENDO        ARROYO                     CA     90014562954
6375B482655977   MARICELA       HERNANDEZ                  CA     90005144826
6375B76524B588   TANYA          RICH                       OK     90005317652
6376119863168B   BARBARA        WINZER                     KS     90006701986
63761514272B29   REBECCA        CORDOVA                    CO     90012715142
6376266954B27B   MELODY         JACKSON                    NE     90014916695
63762A91984392   TANYA          HOWARD                     SC     90010550919
637632A6A3B164   JOHN           HOLBROOK                   DC     90005542060
63763863672B26   KYLIE          BAROS                      CO     90011218636
63763A4A14B268   JASON          SINGER                     NE     27049480401
63764A86A72B29   JAMES LELAND   BURNETT                    CO     90014500860
6376545344B27B   SAFIA          MANZOUL                    NE     90009814534
637659A4891522   DAVID          ALVARADO                   TX     90014989048
6376724548B168   BRANDI         ATMORE                     UT     90014832454
63767947172B29   SAIF           ALBADRI                    CO     90014169471
6376815948B168   DENNIS         CRUZ                       UT     31075661594
6376867325B235   VEDA           HARRIS                     KY     90003436732
63768A2425B271   HELENA         DANIEL                     KY     68035480242
6376956165B235   JANEYS         MARTINEZ                   KY     90003725616
63769A76963646   TINA           RUSHWORTH                  MO     90013390769
6376B28325B235   BRANDI         BARNES                     KY     90009952832
6376B44932B27B   KEITH          FITZHUGH                   DC     90000194493
6376B621755977   AMBER          ROSE-SMITH                 CA     49012956217
63771754972B43   CESAR          GUTIERREZ                  CO     90003597549
6377196A97B46B   ALFERDO        CARAMUTTE                  NC     90013859609
637719A8772B27   JAVIER         HUMILNAR                   CO     33007479087
6377213545416B   JAMES          MARSHALL                   OR     90012501354
6377258635B271   RICHARD        BLAIR                      KY     90013145863
63772617487B31   MICHAEL        HOLT                       AR     90013626174
6377296938166B   MERCEDES       WILLIAMS                   MO     90011529693
6377314AA61964   BRENDA         ROJAS                      CA     90012091400
6377358598B168   JUAN CARLOS    URBINA                     UT     90011715859
6377421688B168   MARISOL        RODRIGUEZ                  UT     90009112168
6377475894B27B   KATRINA        BUTLER                     NE     90013837589
63774A98863646   RYAN           PERREY                     MO     90001810988
637773A7133698   CANDICE        NORMAN                     NC     90011133071
63777A61257142   ILIR           BOCI                       VA     81068870612
6377843A56155B   QUENTIN        WILLIAMS                   TN     90015454305
6377851A461936   MARCOS         ROMAN                      CA     90012095104
637788A5271968   OMAR           BAUTISTA-CUEVAS            CO     90013038052
63779193A5416B   HANNAH HELEN   KRUSH                      OR     90009081930
63779989A4B27B   CLINTON        FAIRGOOD                   NE     90006749890
6377B13457B392   MONICA         MENA                       VA     90000441345
6377B253881644   MARTEEN        TOLBERT                    MO     90002212538
6377B813855975   GABBY          GODOY                      CA     90005868138
63781255372B43   TONY           VAGIANOS                   CO     90004222553
6378136A872B36   ESTELA         DIAZ                       CO     33013863608
6378268695594B   LUCY           DEOCHOA                    CA     90000146869
6378367995B235   PAT            HUNTINGTON                 KY     90011486799
637839A8272B36   TIMATHY        WILLIAMS                   CO     90003719082
63784185872B27   CHRIS          SWARTOUT                   CO     33024661858
63784266472B36   RICK           SCHMIDT                    CO     33094272664
63784819A33698   JAMES          BETHUNE                    NC     90014208190
63784A26791549   RICARDO        GUERRERO                   TX     75003510267
63785619876B54   ELVIA          RIZO                       CA     90006526198
6378588944B588   BRIDNEY        DAVIS                      OK     90006488894
63786287272B26   STEPHANIE      HULL                       CO     33096672872
63786AA434B27B   JAMES          RAY                        IA     90012600043
63787121972B36   DUSTIN         CLUBB                      CO     90012881219
63787258972B26   DIANA          QUINTANA                   CO     33000812589
637873A5787B31   CEDRIC         ROBERTS                    AR     90010983057
63787825A55977   MONICA         TAVERA                     CA     90012858250
6378863337B358   BAWUAH         FATIMA AD SANTOS           VA     81059376333
63788698172B27   GHANDIA        BUNDHI                     CO     33031166981
6378881383168B   MISTY          YARDLEY                    KS     22051478138
63788894972B29   JASON          MURILLO                    CO     33062418949
63789A3365594B   BLANCA         MORALES                    CA     90012160336
6378B141463646   DEAN           FOSTER                     MO     90002711414
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 396 of 2350


6378B282255975   JESSE        ALDACO                       CA     90014772822
6378B4A825416B   GIFTY        KROPF                        OR     90012744082
6378B71AA55975   ERLINDA      POMPA                        CA     90013687100
6378B72484B27B   KELLY        MOORE                        NE     27092297248
6378B746163646   ROBERT       HAMPSON                      MO     90013297461
6378B75155594B   LYNN         RESENDEZ                     CA     90006947515
6379115618B168   ROXANNE      HAINES                       UT     31097091561
6379129A663646   KATHLEEN     HYDAR                        MO     27598312906
6379186775B531   ESPERANZA    ANDRADE                      NM     36023968677
637918A754B27B   ANGEL        GLOVER                       NE     27006758075
6379266165B271   SHERRI       LINCHAN                      KY     68046256616
6379266A755975   DEVESHA      LAMELLE                      CA     90012916607
6379384A97B365   JOSE         PARADA                       VA     81093618409
63793A9545B241   BREDE        TIMBERLAKE                   KY     68095950954
637942A5951354   BRYAN        SHEPPARD                     OH     90013772059
63794AA6372B43   FRANKLIN     MOLINA                       CO     33008940063
63796245787B31   OLEGARIO     LORENZO                      AR     90002022457
63796312A5B531   YUNY         CASTILLO                     NM     36057723120
6379663765B287   KAYLYN       CARRIER                      KY     90014256376
63796733572B36   BEN          BOOKMAN                      CO     33052687335
637968A4124B67   KENNETH      NEAL                         DC     90005348041
63796A19672B27   PEGGY        DIYOKA                       CO     33063670196
63798782776B54   DAISY        TREJO                        CA     90006527827
63798998A72B26   THOMAS       WALKER                       CO     90012939980
63798A81A25236   BO           WADE                         NC     90014160810
637992AA333698   JOANA        BOLANOS                      NC     90004092003
63799991372B29   JOSEPH       BERGER                       CO     90013929913
6379B49157B46B   KEITH        HANKERSON                    NC     11086044915
6379B96818B169   DAWN         ARSON                        UT     31083929681
637B139255416B   TRAVESS      GRAHAM                       OR     90011203925
637B151A284392   COURTNEY     FULTON                       SC     90008165102
637B195898166B   HANNAH       WILSON                       MO     90009199589
637B247382B886   JOSEPH       EVERHART                     ID     90009174738
637B2538751354   MACHIKO      TANNO                        OH     66059365387
637B2764161964   JANETTE      VAN TASSEL                   CA     90004497641
637B2984172B26   MARIBEL      GARZA                        CO     90011119841
637B3412191522   FELIPE       LIRA                         TX     75099004121
637B3575885948   JESSICA      HICKS                        KY     90011545758
637B3964463646   RYAN         BASER                        MO     90014989644
637B3A3935416B   SONNY        HANNA                        OR     47018110393
637B4264A71976   DAINA        PACHECO                      CO     90011822640
637B4378261559   MORGAN       ARMSTRONG                    TN     90013193782
637B4A7225416B   JESSE        BRYAN                        OR     47098450722
637B626154B268   CALVIN       DAVENPORT                    NE     90002412615
637B66A1391549   MARY ANN     HERBIG                       TX     75010116013
637B71A7A31453   GERL         WILLIAMS                     MO     90004771070
637B7586487B31   SHEILA       BROWN                        AR     90009325864
637B7926181631   ELZORA       HILL                         MO     29080359261
637B8253372B43   MAURICIO     ALBARENGA-ESCOBAR            CO     90002252533
637B835A391549   DANIEL       GRELL                        NE     90012413503
637B8571725236   JAMIE        ATKINSON                     NC     90012775717
637B9289961558   EMBERLY      REED                         TN     90015352899
637B9686324B24   MARVIN       REYNOLDS                     DC     81001526863
637B988A784392   DOMONIQUE    FORREST                      SC     90014828807
637B9A63425236   MARK         FUSE                         NC     90011390634
637BB3A1872B36   YESHAREG     YOHANNES                     CO     90014473018
637BB416A61936   ANA          STUEWE                       CA     90014124160
637BB5A1972B36   YESHAREG     YOHANNES                     CO     90003835019
637BB8A2791549   MICHELLE     STURDIVANT                   TX     90000688027
637BBA29172B27   JOESPHE      CASTRO                       CO     90015220291
63814335472B27   GERARDO      GONZALEZ                     CO     90005693354
63814468A61964   KIPPERR      BELL                         CA     46003534680
6381459A75416B   ZACH         BAHEN                        OR     90013935907
63814A24725236   DORIE        MAY                          NC     17085190247
63814AA868B168   HEIDI        HADLEY                       UT     31006180086
6381535A74B27B   TRISHA       RIDDLE                       IA     90011143507
6381563A872B26   CHARITI      FRIEND                       CO     90013406308
63815961976B54   DAN          DIER                         CA     90013319619
6381678A272B36   PATSY        CORDOVA                      CO     33044817802
6381731954B268   KURTIS       LENSER                       NE     27068303195
63817652172B27   BERNARD      BEAYREGARD                   CO     90012246521
6381783815594B   GREGORIO     DURAN                        CA     90011718381
638183A4372B26   RAY          REYNOLDS                     CO     90014543043
6381952A772B27   KATRINA      RUBY                         CO     90006145207
63819692587B31   BRANDI       COOKSEY                      AR     28028966925
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 397 of 2350


63819A23357538   CLAUDIA      QUINTELA                     NM     90005730233
6381B121163646   COLEMAN      LONG                         MO     90000271211
6381B39584B268   JACOB        MANYANG                      NE     27089923958
6381B542971968   DARION       COLE                         CO     90014525429
6381B712872B27   JAVIER       CORPUS PALOMINO              CO     33071107128
63821249A72B26   CLAUDIA      PEINADO                      CO     90009512490
63821282572B36   D            JACKSON                      CO     33038402825
6382164355B241   DANIEL       DE LEON                      KY     68095966435
6382181A98B168   MARTHA       SANTOS                       UT     90014938109
63821954A25236   RAQUEL       PRATT                        NC     90014609540
63821A13531453   MARKITA      GURLEY                       MO     27586210135
6382286A871976   TONY         SANCHEZ                      CO     90006508608
6382315515416B   STACY R      WEST                         OR     90012061551
63823232272B36   DONALD       GOSSARD                      CO     90012642322
63823939A4B27B   KATHERINE    FUEHRER                      NE     90013459390
6382458724B946   TANYA        CLOUD                        TX     90011175872
63824983A55975   SILVIA       VARGAS                       CA     48092689830
63824A36272B27   SARA         NASS                         CO     90013880362
6382532328B168   SERGIO       ORTIZ                        UT     90015133232
6382574455B235   AUBREY       HIGDON                       KY     90015147445
6382577854B588   JESSICA      MCMINDES                     OK     90003417785
6382598432B938   AMANDA       GOFF                         CA     90002429843
6382599A791549   PRISCILLA    LAREDO                       TX     90012769907
63826A6235B235   LEA          BOARD                        KY     90011220623
63829A64A8B168   NOEL         SHERMAN                      UT     90001830640
6382B2A7161936   CHRIS        SKI                          CA     90014432071
6382B4A8761964   LEONA        BARRON                       CA     90012824087
6382B653584392   MARIA        MAULDING                     SC     90008066535
6382B99748B168   ESTEBAN      CURLETTO                     UT     90006159974
63831415476B54   HEATHER      COURTWRIGHT                  CA     90006534154
6383172877B46B   NICHOLAS     SOTO                         NC     11095977287
63832496972B27   JACQUE       CHAVEZ                       CO     33017954969
63834556A61936   AMANDA       THOMAS                       CA     46006015560
6383493247B329   KELVIN       ZAVALA                       VA     90008159324
63834A86971968   RACHEL       MARTINEZ                     CO     90010480869
6383617265B176   GABRIELLE    PERRY                        AR     90015351726
63836657A91549   AUDREY       GONZALES                     TX     90008596570
638377A8641261   EBONY DAWN   DAVIS                        PA     90012657086
63837A3388B168   DEAN         BRECHLIN                     UT     90013170338
6383815345594B   MARTIN       SARAGOZA                     CA     90011741534
6383845A751354   SAMANTHA     MORGAN                       OH     90003624507
638384A1771976   JOHN         GARCIA                       CO     38013394017
6383897A75416B   SHERRI       NEWDERRY                     OR     90015379707
63838A21784392   JULIO        TORRES MENDOZA               SC     19053370217
638398A524B27B   MICHAELA     WARD                         NE     90015328052
6383B65A781644   TODD         JACKSON                      MO     29059296507
6383B69528B168   JEFFREY      CHARLESWORTH                 UT     90012676952
6383B976225236   MARGUISE     WINSTEAD                     NC     90009459762
6383BA8124B588   JOSEPHINE    DIAZ MARTINEZ                OK     90000890812
638419A7981644   R            GILMORE                      MO     90009069079
63841A48271968   ANGELA       MARTINEZ                     CO     90010180482
6384259837B46B   KACI         CONVINGTON                   NC     90011215983
63842697672B29   EDGAR        SOSA                         CO     90011726976
6384285A972B43   SCOTT        MONTGOMERY                   CO     90015118509
6384296AA63646   PAYGO        IVR ACTIVATION               MO     90013249600
63842A2655416B   ORLANDO      ABEYTA                       OR     47062370265
638437A767B46B   RAYMOND      BENNETT                      NC     90008927076
63844516A87B31   MARIA        RUFUS                        AR     90011515160
63844A5745416B   VANESSA      STIDHEM                      OR     90014500574
638452A535416B   DEENA        HOGAN                        OR     47023602053
6384569528B168   JEFFREY      CHARLESWORTH                 UT     90012676952
638459A392B956   LIZETTE      TORRES                       CA     90000979039
63845A71463646   DAWN         HOWERY                       MO     27540310714
63845AA5155977   FELIX        SILVA                        CA     90007580051
63846716A33698   NICOLE       PRESSLEY                     NC     90014197160
63846798272B26   KERI         BURTON                       CO     90013047982
6384693A551354   DOREEN       HOUSWORTH                    OH     66028809305
638471A4587B31   CARLA        RODRIGUEZ                    AR     90012881045
6384749875594B   ANNECIA      SANCHEZ                      CA     90006514987
63847777372B27   SHAWN        CORONADO                     CO     33068067773
638479AA683289   PAT          LUCAS                        TX     90012989006
63847A9217B46B   FRED         SUDDUTH                      NC     90013340921
6384853235416B   JAMEY        FULLER                       OR     90002725323
638485A655B235   ASHLEY       SMITH                        KY     90010285065
63849224972B29   EDGAR        RAMIREZ                      CO     33078292249
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 398 of 2350


6384979884B268   KRISTY       WOLFF                        NE     27074177988
6384B189184392   JAMES        MOTEN                        SC     90014841891
6384B7AA961964   EDLIN        PEREZ                        CA     46085427009
63852813572B36   TIJO J       SANCHEZ                      CO     90012408135
63852A2595B235   ROBBIE       SIMMONS                      KY     90014680259
63852A9217B46B   FRED         SUDDUTH                      NC     90013340921
6385352A855977   LEWIS        EVERK                        CA     90004735208
63855415A63646   KATHRYN      BENNETT                      MO     90013814150
63855456A81644   MISTY R      LOYD                         MO     90006764560
63855678576B54   DOMINIC      JOHNSON                      CA     90006536785
638561AA355975   REYNA        SANCHEZ                      CA     90014471003
63856317A8B168   LETICIA      RIOS                         UT     90009263170
6385639A24B27B   LACEY        SCHMECKERPEPER               IA     27006113902
6385757915B235   PUSPA        GHIMIREY                     KY     90001035791
63857A99941261   ANDREW       SAMUELS                      PA     90006590999
6385858627B46B   TANDRKA      THIBODEAUX                   NC     11093385862
63859262687B31   KIMBERLY     JACOBS                       AR     90013962626
6385948225416B   WENDY        FROST                        OR     90012684822
638599A6355975   JESTINA      MARTINEZ                     CA     90012559063
6385B358533698   DETICIA      RUCKER                       NC     90011133585
6385B678371968   DELANEY      SAILER                       CO     90008486783
6385B895772B29   HOLLIE       JONES                        CO     33009658957
6386195763367B   ARACELY      HAX                          NC     90010509576
63861A52A3B324   TWYLA        ENCINIAS                     CO     90011300520
63861A91A71968   SASHA        FINAN                        CO     32067830910
6386239867B761   ERICKA       ORTIZ                        CA     90015123986
63862563472B36   ROBERTO      RIVERA                       CO     90013845634
6386334285594B   ISMAEL       GOMEZ                        CA     90015223428
63863721A55975   JESUS        ORTIZ                        CA     90008997210
6386392587194B   LUPIE        SOLANO                       CO     38042669258
6386425A461936   KRISTIN      RAHJA                        CA     90013082504
6386526817B46B   IRIS         POMPEY                       NC     11003072681
6386527615594B   CLAUDIA      AGUIRRE                      CA     90002942761
6386589A44B27B   HILDA        OROZCO                       IA     27017088904
63865A6293168B   JAMES        CHRISMAN                     KS     22054200629
6386624A291522   EDUARDO      AVITIA                       TX     75015122402
63866495698B22   DELVEDAS     ARIEL                        NC     11094984956
63867A68471968   LETICIA      MADRID                       CO     90005390684
6386949A28B168   DALLAS       CHRISTENSEN                  UT     31004804902
638699A4284392   KIM          ARCHIE                       SC     90014509042
6386B328931453   FRANCHESKA   SANFORD                      MO     90008103289
63871A2325416B   DANIEL       QUICK                        OR     47063550232
63871A61685944   NICHOLAS     EARLS                        KY     90011120616
6387236515594B   SAMUEL       ARAIZA                       CA     90015223651
6387385118166B   DENNY        GIST                         MO     90000798511
63873A96133698   ROBERT       SMITH                        NC     90013430961
63874193787B31   GINGER       CLAY                         AR     28011051937
63875146A3168B   JOHNY        BRANAUGH                     KS     22080811460
6387521362B224   LATASHA      GREENAWAY                    DC     90011082136
6387578898B168   KEITH        TUCKER                       UT     31032437889
63875A27972B43   MARTHA       SALCIDO                      CO     90011990279
63875A51791549   GUADALUPE    ARRAS                        TX     75048290517
6387672555B235   GREG         MCCLOURE                     KY     90006257255
63876A71733698   ALBA         FLORES                       NC     90013410717
638771A6955977   EDGAR        SILVA                        CA     90012231069
6387736478166B   ROXANNA      PENNINGTON                   MO     29027723647
6387834A35B241   LISA         SWEET                        KY     68096593403
63878416A31453   REGINA       LEHR                         MO     90002904160
6387859912B27B   SHANTA       STANLEY                      DC     90002495991
6387B164A61964   SHARDAY      MENDOZA                      CA     90011261640
6387B549591522   JOSE         RAMIREZ                      TX     90000405495
6387B721255975   JASON        PAINTER                      CA     90004047212
6387B752272B26   DANIEL       MENDEZ                       CO     90014177522
6387B918233698   BENJAMIN     PARKER                       NC     90015259182
6387BA45263646   JOHN         HUGHES                       MO     90013990452
6387BA5663B347   ANACONNIE    JARAMILLO                    CO     90010730566
63881481A72B36   LISA         DURANT                       CO     90015264810
6388154A172B27   MARQUITA     LITTLES                      CO     33046565401
63883255472B27   JASON        STONE                        CO     90014412554
6388357784B568   MAKANILE     JEAN                         OK     90014945778
6388429568B168   SHARLEE      JONES                        UT     31052012956
63884754572B29   FILOMENA     VENEGAS                      CO     90013817545
6388512844B27B   STORKLE      SPARK                        NE     90015421284
63885438587B31   FARRAH       YOUNG                        AR     90014154385
63886315472B43   SABRINA      FITZHERBERT                  CO     90011963154
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 399 of 2350


638871A7355975   SELENE        TAPIA                       CA     90011361073
6388731124B268   PATSY         HUPP                        NE     27016383112
6388798755B235   CHRISTOPHER   EDWARDS                     KY     90012289875
638881A263168B   ROLAND        BELL                        KS     22069831026
63888629687B31   WILLIAM       HOUSE                       AR     90009656296
6388916797B46B   SHANIECE      SPRINGS                     NC     11077361679
6388B256791549   LUPITA        RAMIREZ                     TX     75053772567
6388B51775594B   ESTER         ROSALES                     CA     90012805177
6388BA32451354   WILLIAM       BLACK                       OH     90008940324
6389113333162B   ANGELIQUE     TREVINO                     KS     90004361333
6389114515594B   JORGE         RODRIGUEZ                   CA     90012101451
638913A917B378   REGINA        HOGAN                       VA     90007983091
6389142134B588   JENNIFER      CAMPBELL                    OK     90001664213
6389183922B27B   AHMED         ABDULLAHI                   VA     90002658392
6389269558B169   JOSEPH        SEVER                       UT     90013446955
6389318214B268   MELODY        STOCK                       NE     90010641821
638932A6251354   KELLI         THOMAS                      OH     66076652062
6389358845594B   MIGUEL        RODRIGUEZ                   CA     90010615884
63893785272B36   ELIZABETH     SKRETTA                     CO     90014487852
6389381523168B   MARIA         VILLAGRANA                  KS     90013428152
6389387A15B531   KIM           CHRISTOFF                   NM     36015728701
6389479A35B235   LATRICE       LANGDON                     KY     90011337903
6389492A47B46B   GUSTAVO       PEREZ                       NC     90015319204
638957A7A71968   RONALD        AMERSON                     CO     90014477070
63895A44561936   JUDITH        PEREZ                       CA     46049980445
63895A8725416B   DESIREE       COOK                        OR     90007530872
63896118A63646   AMANDA        MADSEN                      MO     27542051180
6389616328B168   TRENTON       SIMPER                      UT     90012891632
6389645A784392   BRIAN         DEWITT                      SC     90011144507
6389697A591522   VICKY         BARRON                      TX     90007769705
638972A8484392   LATASHA       HOLMES                      SC     90014202084
6389746515B235   TORRE         FOREE                       KY     68059934651
63897484A5B241   KEVIN         HENNESSY                    KY     68079214840
6389791A441261   JEAN          DANKO                       PA     51033229104
63898373A33698   JAMES         MCDOWELL                    NC     12086883730
6389931475416B   SARAH         APPLEBEE                    OR     90015233147
6389976A177568   RUBY          HOWARD                      NV     90011427601
6389B22678B168   ZAHIDA        LORANCA                     UT     31038172267
6389B346791549   MARIA         PEDREGON                    TX     75082803467
6389B628781671   NICHOALS      SHAW                        MO     90001266287
638B1193987B31   ANGELA        RUSSELL                     AR     28089131939
638B254474B27B   PAN           FLORES                      NE     90015195447
638B284A363646   GEORGE        SARVER                      MO     90011258403
638B316747B46B   PEDRO         HERNANDEZ                   NC     11004261674
638B327855416B   KERRIE        BURSELL                     OR     90014412785
638B3457172B43   THOMAS        BOSHER                      CO     33018184571
638B384183168B   SUZIE         RED                         KS     90015148418
638B4121161936   PEGGY         RICE                        CA     46017421211
638B4311771976   RALPH         LANTIS                      CO     90011843117
638B4458633698   SHIRLEY       BACOTE                      NC     90013884586
638B4474525236   ANGEL         PITTS                       NC     90004914745
638B4997781644   VERONICA      VAZQUEZ                     MO     29083589977
638B4A58272B29   VERONICA      ESPARZA                     CO     33083670582
638B5186355977   AMANDA        HENDERSHOT                  CA     49074621863
638B519518B168   DAVID         SHUPE                       UT     90012801951
638B53A8872B36   ANA           VAZQUEZ                     CO     33069153088
638B5576455977   VANESSA       PLACENCIA                   CA     90015155764
638B6386A55975   TIFFANY       CARRILLO                    CA     90002853860
638B6461555973   JUAN          MORALES                     CA     48022074615
638B6497A55977   MANUEL        PEREZ                       CA     90012084970
638B649A772B43   CLUDIA        PEDROZA                     CO     90010764907
638B6991351354   SHERRY        HAMMONS                     OH     66098529913
638B69A3591522   VIIANNEY      RODRIGUEZ                   TX     90005399035
638B7368191549   JESUS         LEVAREZ                     TX     90002943681
638B73A9255975   DAQRI         FREDRICK                    CA     48050533092
638B7432155978   TIFFANY       COPLEY                      CA     90010124321
638B783A77B46B   MONICA        LUCKEY                      NC     90009648307
638B7983771968   FRANKLIN      RUSSELL                     CO     90010659837
638B8649A91522   HEMELY        MARTINEZ                    TX     90001006490
638B8664587B31   LUIS          ANAYA                       AR     28050446645
638B9129972B26   SHAWNA        BURTON                      CO     33001071299
638B9275455975   RICARDO       OLEA                        CA     90010352754
638B9517A5416B   KIMBERLEE     MAY                         OR     90011195170
638B9526684392   KESHIA        KING                        SC     90014865266
638B9691A5594B   JUAN          PEREZ                       CA     90012106910
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 400 of 2350


638BB275255975   RAFAEL       GUTIERREZ JR                 CA     48094152752
638BB69915B241   BRADLEY      HINKLE                       KY     90006876991
638BBA7745B374   MULU         SADA                         OR     90011490774
63911347A71968   SHANNON      HOUNCHELL                    CO     90009903470
6391161A491522   SELENA       ZUBIA                        TX     90009696104
63911659A31453   ORAMOS       MARTIN                       MO     27521166590
63911A69472B36   ABISAI       ESTRADA                      CO     90014690694
63912398672B36   PAUL         ROCKWELL                     CO     90013663986
63912A45A55977   ROGELIO      URISTEGUI                    CA     90013250450
63912AA6A91534   ARACELI      AYALA                        TX     75070270060
6391381424B27B   RAMON        FELIX                        NE     90009178142
6391451365594B   LETICIA      BOOKER                       CA     90005055136
6391463593168B   KARINA       CANALES                      KS     22012146359
6391486885B389   KYRON        BARROW                       OR     90007948688
63914916A91522   HUMBERTO     MARTINEZ                     TX     90005419160
63914955872B29   TRACEY       LLOYD                        CO     33061579558
6391498914B581   WILLIAM      WRIGHT                       OK     21586299891
639156AA655977   NANCY        NAVA                         CA     90009356006
6391576997B46B   TERESA       ESQUIVEL                     NC     90015297699
6391677585594B   ISABEL       GARCIA                       CA     90011897758
63916A76272B29   JAVIER       GONZALEZ                     CO     33066480762
63917431272B29   MARIO        RAMIREZ                      CO     90007274312
63917623A5B921   RANDELL      HOLECEK                      ID     90009546230
639181A7755975   OMAR         ESPINOZA                     CA     90011361077
639184A3772B26   JOSE         NORIEGA                      CO     33077994037
63918585472B29   ALCANTARA    GUZMAN                       CO     90008475854
639186A564B27B   SUKRA        TAMANG                       NE     90013026056
6391874857B46B   MARSHALL     ONEAL                        NC     11037157485
63918A5775416B   JAMIE        CARLSEN                      OR     47010760577
63919375A61936   BRET         HARY                         CA     90014183750
63919885572B27   MARIA        CRUZ                         CO     90009558855
6391B48A555975   MARIA        CEBALLOS                     CA     90002774805
6391B8AA491522   ESMERALDA    RODRIGUEZ                    TX     90011098004
6391B963971968   RUBEN        INCERTO                      CO     90009709639
6392115A771968   ANGELA       WHITE                        CO     90014561507
63921288672B43   MAURICIO     WAINTRUB                     CO     33011902886
63921622376B54   SERGIO       TORRES                       CA     90006006223
6392174883168B   DUSTIN       THUMMEL                      KS     22031457488
639224A7991522   GABRIEL      HIGADERA                     TX     90009224079
6392288513168B   SHERI        ANTES                        KS     22091268851
6392297A625236   LETICIA      MONDRAGON                    NC     90010009706
639234A6171968   ELSA         RASCON                       CO     90011394061
63923A8A15B235   HENRY        HAZLEY                       KY     90013070801
639243A8655977   TONG         YANG                         CA     90014643086
6392478A555975   ALFONSO      ANDRADE                      CA     90007537805
63924A93771976   FRANCES      LYNCH                        CO     90006510937
6392566755594B   ALBERTO      GAZCA                        CA     90010616675
63925A76984392   KATHLEEN     KELLY                        SC     90015130769
6392619A781644   ERIKA        RIVAS                        MO     90008931907
63926359A71968   DIONICIA     ROMERO                       CO     90003353590
639265A794B27B   SPYRIDON     HASKOS                       IA     90014725079
6392677A75416B   JOSEPH       BIANCHE                      OR     90000287707
63927616672B26   VENITA       HALL                         CO     33079276166
6392821135B368   FERNANDO     AVILA                        OR     90008062113
63928277A61964   BONNIE       GARCIA                       CA     90009432770
63928353772B27   WILLIAM      PLUME                        CO     90012123537
63928933672B36   DAVID        PERREAULT                    CO     90006379336
639295A615594B   JACKLYNN     BARIENTOS                    CA     90006535061
63929A98672B29   TOMMY        WILLINGHAM                   CO     90014800986
6393191395B241   SUZANNE      KIEFER                       KY     68096039139
6393291734B27B   PANUNCIO     MUNOZ                        NE     27052879173
6393325335B241   JASMARAE     WOODS                        KY     90004212533
6393325337B46B   SABRIMA      WALLACE                      NC     90013232533
639343A5533698   LITTLEJOHN   WILLIAM                      NC     90013653055
6393445135416B   KATHLEEN     TIDRICK                      OR     47004834513
6393547655B235   KORI         KLEIN                        KY     90008954765
63935565897B45   NOHEMI       ARREDONDO                    CO     90011505658
63935639372B36   THERESA      MEANOR                       CO     33075886393
6393572995B235   JARED        MORE                         KY     90013407299
63935A8425594B   TRINIDAD     ROJAS                        CA     90009050842
6393646682B949   MAYRA        ALVAREZ                      CA     90005444668
6393688A23B388   CARLOS       GONZALEZ                     CO     90000958802
63936A9768B168   KEITH        BAKER                        UT     90011730976
63937121172B36   CIRO         RAMIREZ                      CO     90012591211
6393768375B241   CHAD         DERRINGER                    KY     90006886837
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 401 of 2350


63937986A72B27   CLAUDIA      FARRELL                      CO     33071009860
6393815335416B   KAMERON      MEASHELL                     OR     90015011533
63938974672B43   PATRICIA     MCGHEE                       CO     90009599746
6393B1A1A21692   PAMELA       MCDONALD                     OH     90014211010
6393B25883363B   TIPPANIA     BRABHAM                      NC     90013132588
6393B721255977   CLARE        KENNEDY                      CA     49012057212
6393B857671968   KEVIN        FRANQUI                      CO     90009058576
6393B869872B27   BROQUELL     ARGUELLO                     CO     90003138698
6393B876884392   KELISHA      ARNOLD                       SC     90010108768
6393B938933698   PAULA        OKAFOR                       NC     90013929389
639419A7872B26   SAM          SOUTHWORTH                   CO     90011219078
63942227672B26   MARIA        ORDAS TOVAR                  CO     90011312276
63942324372B27   CHARLES      CROW                         CO     33016773243
639427A1351354   BARTOLO      PABLO DOMINGO                OH     90013687013
639434A2461964   TRACY        STEELE                       CA     90012994024
6394394577B46B   KAREINA      MILLER                       NC     11074789457
6394479853B395   CLAUDIA      CHO                          CO     90014877985
63944A78A84392   ALEXANDRA    MCCRAY                       SC     90013910780
639453A4933698   OLIVERIO     PAULIN                       NC     90011533049
63948251A55977   ELVIA        VERDUGO                      CA     90011202510
6394942393168B   JUAN         ESPINO                       KS     22001754239
6394961325594B   ANA          MURO                         CA     90007646132
6394978A172B26   BRENDA       PEREZ                        CO     33058067801
6394B411171968   OSAYANDE     OMOMOH                       CO     32005224111
6394B518A55977   BLANCA       CARMONA                      CA     90007935180
6394B812272B29   ADRIANE      VAUGHAN                      CO     33057038122
6395176A18B168   MICHAEL      MANUS                        UT     31095757601
6395186A655977   OLEA         ENRIQUE                      CA     90014998606
6395225677B423   FRANCIS      WISE                         NC     90006482567
6395251A172B29   HUMBERTO     ARROIOS                      CO     90013385101
63952A7A891522   ROCIO        ISLAS                        TX     75069850708
6395459514B27B   ELLA         BIGGS                        NE     90009025951
639548A7463646   WILLIAM      REMMELE                      MO     27591288074
63954911172B29   TEODORO      MUNOZ                        CO     33000459111
63955A6464B588   ANGELA       JORDAN                       OK     21517260646
6395622A15416B   LINDA        BENNETT                      OR     47081152201
63956528172B36   EDDIE        AGUSTIN                      CO     90014155281
6395663937194B   JACQUELINE   AGUILAR                      CO     38089516393
63957A5898B168   CAROL        PARISH                       UT     31026200589
6395811755B241   PHILLIP      MORRIS                       KY     90013121175
6395851AA72B43   JESSE        BARLAU                       CO     90013065100
6395884695B235   DAMION       CARBY                        KY     90013458469
63958A1A633698   NIKKI        HERNANDEZ                    NC     90011030106
63958A51755977   SHANTELL     SPEARS                       CA     49066030517
639591AA455973   LYNZIE       TORRES                       CA     48034841004
6395939AA5B531   RAFAEL       ALDANALOPEZ                  NM     36067843900
63959741A5B235   CHRISTOPHE   WALKER                       KY     68099197410
63959778972B27   HASSEN       SHARIE                       CO     90010797789
6395999745416B   PAYGO        IVR ACTIVATION               OR     90014939974
63959A58872B36   JESUS        MARQUEZ                      CO     90013280588
6395B352731453   KAWONNA      CHANEY                       MO     90008733527
6395B3A1771968   BOBBIE       WHALEN                       CO     90010863017
6395B492584392   CRAIG        LEWIS                        SC     19093764925
6395BA5898B168   CAROL        PARISH                       UT     31026200589
63961199672B36   ALICIA       HERNANDEZ                    CO     90010311996
63961672187B31   CAROL        SIMS                         AR     28079696721
639617A6376B54   CHRIS        PORTER                       CA     46014387063
6396188695B53B   MICHAEL      KINDEL                       NM     90013098869
63963141172B26   ROBERTO      CHERY                        CO     90014341411
6396364335B235   BRANDY       WALDRIDGE                    KY     90014296433
63963775A72B29   PRESTON      SLAUGHTER                    CO     33008817750
639643A3A5B235   DARIUS       WILSON                       KY     90012933030
6396445A384392   DIAZ         ARNULFO DEL CARMEN           SC     90014374503
6396451585594B   UNKNOWN      UNKOWN                       CA     90006545158
63964A14741261   JOSHUA       ROBERTS                      PA     90006150147
63965A36672B29   MARIO        HERMOSILLO                   CO     90007850366
63965A58285836   CONSTANCE    MARTIN                       CA     90001530582
63966287172B26   MEAGAN       PEREA                        CO     90012762871
6396678135594B   ADRIAN       PETERSON                     CA     90012727813
63966789372B43   RAUL         ARAMILLO                     CO     90003597893
63966928172B29   JOSEPH       VIGIL                        CO     33029859281
63967366187B31   JESSE        MELTON                       AR     28014893661
63967399672B29   CARLOS       RESENES                      CO     90012913996
6396762833B391   DAVID        WILSON                       CO     90012036283
639687A5571968   SALVADORE    TORRES                       CO     32016087055
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 402 of 2350


6396886452B844   CYNTHIA      BAST                         ID     90012478645
63969A7224B588   PRINCE       BRAZILLE                     OK     90006490722
6396B212472B43   PATRICIA     GARIBAY                      CO     90013042124
6396B281485948   MICHAEL      GARNETT                      KY     66095932814
6396B52A855973   MANUEL       SOTO                         CA     48066255208
6396B68925416B   ERIK         WUORINEN                     OR     90013946892
6396B727251354   BRITTNEY     HEHN                         OH     66074827272
6396B979261558   PAYGO        IVR ACTIVATION               TN     90014859792
63971A39A5594B   IRENE        AGABO                        CA     90012810390
63972349A55973   EPIO         SAESEE                       CA     48092313490
63972A4A471976   ALFREDO      LOPEZ- CRUZ                  CO     90002180404
639732A8151354   NAKESA       MENZISE                      OH     66053632081
639734A6457129   KEITH L      FLEURY                       VA     90005004064
6397421548B168   IVAN         CRUZ                         UT     31085722154
639745A7455977   DAVID        CASTRO                       CA     90012085074
63976339972B26   CHANITO      GAGA                         CO     90006743399
63977761672B29   JORDY        ABARCA                       CO     90013247616
639778A473168B   CARLOS       LUJANO                       KS     22033068047
63979573587B31   CLAUDIA      MARTINEZ                     AR     28077585735
63979A4198166B   JAMES        HOWARD                       MO     90001620419
6397B285191549   JULIO        RENTERIA                     TX     90009552851
6397B35888B346   ARANDA       GALLEGOS                     SC     90015313588
6397B751971968   FAITH        JOHNSON                      CO     90013207519
63981189572B36   IRMA         MACIAS                       CO     33006171895
63982117272B43   FLOR         BEAL                         CO     33059831172
63982262687B31   KIMBERLY     JACOBS                       AR     90013962626
63982317A9715B   MATTHEW      HOMER                        OR     90004103170
63982A13A41261   BOBBIE JO    TAYLOR                       PA     51061490130
63983869A72B27   STEVEN       WEIBEL                       CO     33089328690
63985462372B43   ANDRE        PATRICK                      CO     90007144623
6398555685B229   MARC         CLICK                        KY     68084825568
639857A952B27B   SHERRY       GLADNEY                      DC     81053157095
63985A28891522   JESSE        WARE                         TX     90007190288
63985A9217B46B   FRED         SUDDUTH                      NC     90013340921
6398682727B46B   CHYPHES      PALMER                       NC     90014528272
63987162272B36   DONALD       PHANEUF                      CO     90013201622
6398733A17B46B   TUAN         NGUYEN                       NC     90013633301
63988589972B27   PEDRO        CHAVEZ SALAZAR               CO     33007495899
63988985287B31   YO ISHA      ALLEN                        AR     90008879852
6398925775416B   MELISSA      MUSGRAVE                     OR     90005582577
6398938194B268   MICHAEL      KNIGHT                       NE     27078203819
639896A5891549   CARLOS       ORONA                        TX     90010386058
6398B37128B169   EVON         MONDRAGON                    UT     31038253712
6398B68A155975   MARIA        NAVA                         CA     48045976801
6398BA1755416B   CALEB        FULLER                       OR     90012140175
63991995A72B26   LUIS         BENITEZ                      CO     90013259950
63992657972B43   DOMINICK     MARTINEZ                     CO     90012146579
6399343A487B31   LATOYA       LOVE                         AR     90011324304
639934A7A8B168   CINDY        BAIR                         UT     90008724070
639945A6972B43   DABID        CASANEDA                     CO     90007475069
6399484A391549   MIRIAM       RIVAS                        TX     90011978403
63994A18261964   BRAYAN       LAFOREST                     CA     90011190182
6399516328B168   TRENTON      SIMPER                       UT     90012891632
6399537327B46B   TINA         MARSH                        NC     11040253732
6399565215B235   LEONARD      GRAHAM                       KY     68088616521
63996483A31453   RONALD       PERRY                        MO     90013994830
6399674123168B   SHEILA       JASO                         KS     90013187412
63996A13155975   VILAYVANH    KHOUSAVATH                   CA     48070410131
6399718417B13B   PAYGO        IVR ACTIVATION               ND     90013901841
63997441772B29   AUDRA        RUSELL                       CO     33071974417
63997486772B36   CLAUDIA      MEJIA                        CO     33021724867
6399832414B543   ABEL         DELGADO                      OK     21561543241
63998388187B31   SANDY        GARCIA                       AR     28007673881
63998568672B43   SOLANO       ESQUIVEL                     CO     33090735686
639985A7655977   FATIMA       BRYANT                       CA     90011025076
639994AA15137B   SHELLENIA    NICLEY                       OH     90002024001
63999A5165594B   YANET        ARREOLA                      CA     48034700516
6399B22615416B   MARIA        MERCADO GARCIA               OR     47011942261
6399B249591522   ALMA         CASTRO                       TX     75044662495
6399B84915B235   TERESA       NEWTON                       KY     68038948491
6399BA5547B46B   VANESSA      MENESES                      NC     90013290554
639B11A575416B   MARY         BEER                         OR     47028531057
639B139697B475   CRISTINA     ROMERO                       NC     90002903969
639B1651872B29   ANTHONY      TURNER                       CO     90000166518
639B1966951354   TIFFANY      WARE                         OH     90014899669
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 403 of 2350


639B2578851354   SHARON        CUNNINGHAM                  OH     90012675788
639B2737272B29   JOSH          NETZEL                      CO     33018877372
639B387A884351   NATHAN        GRAFF                       SC     90011478708
639B4444484392   CANDACE       OLIVER                      SC     90014914444
639B451488B168   TRENTON       SMITH                       UT     90012955148
639B5259363646   ROBIN         BRUNNER                     MO     27586262593
639B5367672B36   AMANDA        PHILLIPS                    CO     90013963676
639B5771A4B27B   CHRISTINA     JOHNSTON                    NE     27071167710
639B584583168B   KYRENE        KUHRT                       KS     90014418458
639B6331A84392   ROBERTS       FLOGLE                      SC     90011083310
639B66A3572B43   NATSLIR       OTT                         CO     90003856035
639B692323168B   LOWELL        LAMB                        KS     90010069232
639B7313372B43   ALICIA        RIBOTA                      CO     90012813133
639B7494372B36   TERESA        MOLINA                      CO     33049524943
639B7557491522   LORENA        SUZAMEDA                    TX     90014995574
639B836255594B   JENNEIFER     MARTINEZ                    CA     90015253625
639B8857661964   KENDRA        LIZARRAGA                   CA     90010088576
639B8879491549   LUCIA         NATION                      TX     90011468794
639B9428761964   BLAISE        QUINLAN                     CA     46016814287
639B953A784392   VOLARIA       SEABROOK                    SC     90013325307
639B9927255977   LILLIAN       TELLES                      CA     90011169272
639B9A93191522   KIMBERELY     BINKLEY                     TX     75094380931
639BB538472B27   SHARON        CARPENTER                   CO     90009845384
639BB838363646   JACQUELINE    LAWRENCE                    MO     90012518383
63B1193812B27B   QUE'ANDRIA    HALLMAN                     DC     81006769381
63B1254425594B   PEDRO         LOPEZ                       CA     90013955442
63B12796371976   DAMIAN        ULIBARRI                    CO     38049637963
63B1286315B531   MARIA         ROMERO                      NM     90008868631
63B12A4A772B27   AUDREY        KELSO                       CO     33068000407
63B12A8963168B   TINA          SPENCER                     KS     22090180896
63B132A495B271   CODY          LEE                         KY     90004012049
63B13324461936   CHRISTINA     MANZO                       CA     90008303244
63B1342745416B   DANNY         MORGAN                      OR     47088664274
63B135A6872B26   JOHANA        GONZALEZ                    CO     33071705068
63B13759A91522   RAMSES        PORRAS                      TX     90014947590
63B13873372B29   ANGELA        PEEVY                       CO     33072958733
63B14332391525   DAVID         BASTARDO                    TX     90013493323
63B14493A91572   CARMEN        VILLA                       TX     90010054930
63B15533191522   IVAN          BUSTAMANTE                  TX     90007275331
63B15541A85949   CONNIE        STOLZ                       KY     90000445410
63B15A32172B43   JERRY         CARRERA                     CO     90013730321
63B16271541299   WILLIAM       LEMON                       PA     51062642715
63B16439755973   ALEJANDRP     RUJILLO                     CA     90006874397
63B16872381644   JAMIE         RANDLE                      MO     90010308723
63B169AAA4B952   KIRSEY        CRAWFORD                    NC     71022649000
63B16A51887B31   DENISE        MASON                       AR     28099200518
63B17227A33698   BRIDGETTE     WASHINGTOM                  NC     90001842270
63B17299787B31   GARY          JACKSON                     AR     28072262997
63B17429755975   MICHAEL       ESTRADA                     CA     48027344297
63B17671971968   ROBIN         THIESE                      CO     32078706719
63B17779655977   FABIAN        BARAJAS                     CA     49048867796
63B17934A3168B   SHANE         URBAN                       KS     90010149340
63B1797427B46B   WILLIAM       RAYMOND                     NC     90013139742
63B17977272B43   CORY          JARAMILLO                   CO     33050799772
63B18113555973   MONICA        BARNETT                     CA     90009441135
63B18124A55975   LORENAS       REYES                       CA     90015121240
63B1863525B235   DEKUANEEQUE   JONES                       KY     90011446352
63B1872548162B   DEVIN         RODGERS                     MO     90014277254
63B18993161964   SHERRY        BORRAYO                     CA     90014949931
63B19183571976   LYNETTE       MONTOYA                     CO     90004771835
63B19736141261   GEORGETTE     BABBIT                      PA     51010817361
63B19918133645   LEIDRA        DUNSON                      NC     90014609181
63B19A58272B29   VERONICA      ESPARZA                     CO     33083670582
63B1B45AA55977   VICKY         SANDERS                     CA     90014834500
63B1B74227B46B   KETURAH       HOFF                        NC     90011207422
63B2111A171968   LISA          WEINER                      CO     32082711101
63B21149225236   ROBERT        HOLLOWAY                    NC     90015431492
63B213A352B27B   TAVON         MOYE                        DC     90004673035
63B2187915B235   RICHARD       DELEWIS                     KY     68051908791
63B21948863646   WENDY         SMART                       MO     27537059488
63B21973472B43   JOSE          MUNOZ                       CO     90009519734
63B22148331455   TANIKA        WHEELER                     MO     90003551483
63B22255233698   CHARLES       FLETCHER                    NC     90009492552
63B22548A63646   JULIE         RIDGELL                     MO     90008345480
63B227A678B168   LISA          ROBERTS                     UT     90014737067
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 404 of 2350


63B2284455B235   PAULA        BROUSSARD                    KY     68019118445
63B23169261964   ANA          RENTERIA                     CA     90009691692
63B2324274B268   MARISOL      CUELLAR                      NE     27058552427
63B23474172B36   STEPHANIE    VARGAS                       CO     90011724741
63B23541272B27   ERICA        HENDESON                     CO     33036465412
63B23587A63646   SHANNON      YUEDE                        MO     90014795870
63B2374A861936   JOVAN        BOOKER                       CA     90004147408
63B23786855975   MARTY        CORONA                       CA     48050787868
63B2396184B27B   MONIQUE      CLEMENTS                     NE     90000809618
63B24456655973   FLEMING      JOSHUA                       CA     90001854566
63B24495A5416B   DONNA        GIOVENCO                     OR     90009174950
63B2463343168B   RALINA       MASSIE                       KS     90013636334
63B24764451354   OCIEL        OLIVERA GARCIA               OH     66061517644
63B24A8715594B   MARGARET     RODRIGUEZ                    CA     48002810871
63B25294155975   AMY          BUENROSTRO                   CA     90004842941
63B253A5787B31   DAVID        GALLEGO                      AR     90015373057
63B2574A98B168   GENEVIEVE    WIRTH                        UT     31040637409
63B25765A5B531   NESTOR       CABELLO                      NM     36068667650
63B2579A291549   MICHAEL      DAVIS                        TX     90004977902
63B25933655973   SHERINA      MOORE                        CA     90007039336
63B26435355975   RACHEAL      RENTERIA                     CA     48010124353
63B2645525B235   PEDRO        PEREZ-GOMEZ                  KY     90001564552
63B2671AA91522   CRISTINA     GUZMAN                       TX     75009907100
63B2687747B46B   TOVIAS       FLORES                       NC     90013798774
63B26AA6A72B26   DIANA        BRADFORD                     CO     33086210060
63B27176872B27   LUIS E       CHULIN                       CO     33084061768
63B2753714B27B   EDWARD       BARNES                       NE     90013845371
63B28989A5B271   MARSHALL     JORDON                       KY     90011839890
63B29159172B43   MERRY        CASALES                      CO     90010741591
63B29218572B29   KELLIN       MCELVAINE                    CO     33000712185
63B2931445B271   NATHANIEL    LAMAR                        KY     90006993144
63B298A5821776   JUAN         SEBASTIAN                    IL     90015368058
63B2B58584B588   YEVHENIYA    IVASHCHENKO                  OK     21516835858
63B2B78A63B395   JESSICA      HEYLIGER                     CO     90005477806
63B2B866755973   CARLOS       VILLASECA                    CA     90008958667
63B2B99A655975   TIMOTHY      LEVASSER                     CA     90008909906
63B31318572B27   GILBERT      FERNANDEZ                    CO     90007633185
63B31A9888B168   PETER        FOUKAS                       UT     31078840988
63B3224248B334   TALITHA      BING                         SC     14570652424
63B32354291522   KARINA       GONZALEZ                     TX     90005353542
63B3299644B588   NAITHA       YELTON                       OK     90003429964
63B33159184392   VERONICA     STEWART                      SC     90009401591
63B33196A55975   ALFREDO      PELAEZ                       CA     48028051960
63B333A9672B27   JANINE       BROWNE                       CO     90014713096
63B3343788B169   MIRIAM       LOPEZ                        UT     90003384378
63B33A96191549   GLORIA       CANO                         TX     75021500961
63B34126972B27   JESUS        GARCIA-PULIDO                CO     90009981269
63B34629472B26   RAQUEL       VIGIL                        CO     90002016294
63B3476422B27B   BEKELU       GUDETA                       DC     81015557642
63B35559663646   SHERRY       LEWIS                        MO     27528105596
63B35858933698   STEPHEN M    BYRUN                        NC     90014848589
63B35931A7B46B   MIRIAM       MORALES                      NC     90014159310
63B35A1155B235   MONTRAY      MERRILL                      KY     90004440115
63B35A6125B271   JONA         JOSEPH                       KY     90010250612
63B35A99755977   RUDY         GONZALES                     CA     90014060997
63B36577372B43   LAURA        VATIERRA                     CO     33030285773
63B36615A5B531   JARED        ORTEGA                       NM     36061736150
63B36711572B29   THOMAS       ROEMMICK                     CO     90009327115
63B37594991522   KRISTA       BARRY                        TX     90003235949
63B37699A55977   KAREN        DELT                         CA     90015346990
63B377A678B168   LISA         ROBERTS                      UT     90014737067
63B38141371976   MATTHEW      LIRA                         CO     38093821413
63B38571A5594B   CELERINO     RAMIREZ                      CA     90013955710
63B3864127B479   VENICIA      WILLIAMS                     NC     90002056412
63B38748455975   LUIS         GOMEZ                        CA     90010827484
63B38774391549   IRVING       ROCHA                        TX     90012727743
63B3918167B472   NORMA        MORENO                       NC     90011151816
63B3924118166B   SHAWN        DECKER                       MO     90009182411
63B392A7172B43   CHRISTINA    CHAPARRO                     CO     90013042071
63B39527455969   ALEXIS       MELLA                        CA     48038255274
63B39595455973   MELISSA      MORALES                      CA     90014585954
63B39666733698   DAVID        ALLEN                        NC     12093426667
63B39A63971976   GARY         VUJCICH                      CO     38032840639
63B3B185A71968   CHRISTINA    MONTOYA                      CO     32046221850
63B3B39785416B   JENNIFER     SERNA                        OR     47022713978
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 405 of 2350


63B3B496291522   OLIVIA         GONZALEZ                   TX     90006304962
63B3BAAA625236   DANIEL         DE LA CRUZ                 NC     90008090006
63B42254671968   WILLIAM        DECKER                     CO     32001312546
63B4231297B46B   LAVINE         GOODWIN                    NC     90013883129
63B4296595594B   ISABEL         VALERIO                    CA     48062589659
63B42A13455973   EDUARDO        PEREZ                      CA     90013650134
63B42A5A472B26   MISA           HOBLEY                     CO     33058060504
63B4348485594B   JOSE EDUARDO   FRIAS                      CA     90015144848
63B43497A8B168   SHUNDRA        THOMAS                     UT     31034404970
63B43535191522   DOLORES        RENTERIA                   TX     75087105351
63B43561772B29   BECKY          DELEON                     CO     33004475617
63B4371145594B   ROSE MARY      JOSEPH                     CA     90010567114
63B43786871968   LUIS           DELGADO                    CO     90012937868
63B43923772B26   KIM            ALLEN                      CO     90003129237
63B4447167B46B   CIEARA         MCCORKLE                   NC     90005984716
63B44553661936   MORENO         VINCENT                    CA     90003825536
63B445A1972B29   KASSANDRA      PALMER                     CO     90008715019
63B44A2418B169   DAVID          AHALMAN                    UT     31016970241
63B4527A771976   DANIEL         VIGIL                      CO     90010332707
63B45661691549   MIRANDA        GONZALEZ                   TX     90014426616
63B45752163646   SARA           WALZ                       MO     90002747521
63B4596A55B235   GREGORY        MASTERS                    KY     90014609605
63B45988791522   JOSE LUIS      TORRES                     TX     75034319887
63B46134572B36   NICOMEDIS      MERINO                     CO     33002981345
63B46189161936   MARTHA         LOPEZ                      CA     46069201891
63B4627A771976   DANIEL         VIGIL                      CO     90010332707
63B4638495416B   JASMAN         BEATTY                     OR     90013323849
63B46535671921   COLORADO BBQ   OUTFITTERS                 CO     90005815356
63B4668734B268   BRANDY         RICHARDS                   NE     90005386873
63B46746155977   JEROMY         SWANK                      CA     90011317461
63B46866871968   SUZANNA        PHILLIPS                   CO     90002098668
63B46885672B27   MARYLOU        PESA                       CO     90012968856
63B47193487B31   GUADALUPE      LOPEZ                      AR     28038301934
63B4763495594B   JOSE           DELGADO                    CA     90013956349
63B47889191549   MICHAEL        ARELLANO                   TX     90013748891
63B48479171976   DENISE         CHAVEZ                     CO     90000334791
63B48497A8B168   SHUNDRA        THOMAS                     UT     31034404970
63B49226433698   HAYWOOD        SALES                      NC     12004042264
63B49256351354   KELCI          PUGH                       OH     66047742563
63B49262672B43   JASMINE        JONES                      CO     90012362626
63B498A2761964   ESTEFANA       VILLALPANDO                CA     46061218027
63B4B455172B29   JACKIE         BARKER                     CO     33074044551
63B4B942672B27   AMALIA         RUIZ CANAHUI               CO     90013249426
63B4BA29871968   JOHN           NICKLIN                    CO     90003510298
63B4BA3814B27B   CHARLSIE       ANISSA                     NE     27049520381
63B4BA71624B39   CORDELL        HENRY                      DC     90001140716
63B5125347B46B   ISAAC          FITZSIMMONS                NC     90014932534
63B51322787B31   AARON          QUINTERO                   AR     90015363227
63B51411172B27   DANIEL         GALVAN                     CO     90015234111
63B516A585594B   KRISTINA       VEGA                       CA     90011666058
63B51761841261   MONIKA         LONS                       PA     90007237618
63B51949855973   OSCAR          GONZALEZ                   CA     90015079498
63B51A39A91522   ARMANDO        RAMOS                      TX     75011520390
63B52282871968   NORMA          ESCOTTO                    CO     90004112828
63B52351491549   GRACIELA       ROMERO                     TX     90014613514
63B52393272B29   JANNET         ESCALANTE                  CO     90012193932
63B52814A51354   ABIGAL         FABIAN                     OH     66009138140
63B52828255973   MARIA          YANEZ                      CA     90002068282
63B53123572B36   AIDA           HERNANDEZ                  CO     90008581235
63B53687381644   CANDICE        HATHAWAY                   MO     29094066873
63B53696A55977   MICHELLE       ENRIQUEZ                   CA     90004246960
63B5379295594B   SUSANA         ROSALES                    CA     90002357929
63B5441785B235   BARBARA        CRAWFORD                   KY     90014864178
63B5452A272B36   CORINNE        RACHEL CHERRY              CO     90012955202
63B54993355977   JOEL           BARRAGAN                   CA     90013899933
63B5545945B235   MELISSA        BURTON                     KY     90006494594
63B55A19972B43   CHRISTINE      JACKSON                    CO     33093880199
63B5649454B27B   ERIN           HORTON                     NE     90009884945
63B5671887B46B   FELECIA        FREEMAN                    NC     90011337188
63B5678A672B27   CHRISTINE      TALLEY                     CO     90013817806
63B57334671968   JOHNATHAN      BYTWERK                    CO     90004223346
63B57565172B43   SELINA         SAENZ                      CO     33061485651
63B57718825236   OLISHA         TOLES                      NC     90013937188
63B57733872B27   GINA           DEL REAL                   CO     90012057338
63B57A2657B46B   MICHEAL        CARL                       NC     90013140265
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 406 of 2350


63B5816A381644   JERRY            NEWSOME                  MO     90010851603
63B58292A93726   SHALIESHA        SMITH                    OH     90000652920
63B58327171968   MAGALI           DIAZ                     CO     90006803271
63B58428293721   MARY             TRISSELL                 OH     64590554282
63B5885867B46B   XAVIER           BROWN                    NC     90010228586
63B59243247985   KATHERINE        RUSSELL                  AR     90013062432
63B5959A361964   LAURA            ROBLES                   CA     90009915903
63B5B188198B22   KRISTIN          GUTIRREZ                 NC     11084211881
63B5B26448B168   TAYLOR           ANGELL                   UT     90012952644
63B5B458355973   ALEEZA           RODRIGUEZ                CA     90010474583
63B5B7A265B235   MIKE             PENDERGEST               KY     68017777026
63B5BA5575B235   NATELLA          THOMAS                   KY     90011940557
63B61937791522   DIEGO            RIVERA                   TX     90014959377
63B6246825416B   CHARLES          WILLIAMS                 OR     47062844682
63B62663561936   SULEMA           DIAZ                     CA     90012686635
63B62763633698   CHARLES          LASH                     NC     90012437636
63B62A22963646   ROBERT           VOLLMER                  MO     90009040229
63B63337191522   HECTOR           URIBARRI                 TX     75054133371
63B63393871968   CESAR            FLORES                   CO     32025963938
63B6352943B391   ELIZABETH        HEIDENREICH              CO     33063105294
63B63A97555977   OTILIO           GARCIA                   CA     49016880975
63B64276251354   OTIS             HITT                     OH     90014172762
63B64355772B29   ANN              BURTON                   CO     90014923557
63B64532761964   VERONICA         HERRERA                  CA     90014675327
63B64638171976   JOLLENE          ALLSWORTH                CO     90011476381
63B64734661936   MAURICIO         DE LA CRUZ               CA     90015027346
63B64931357563   CYNTHIA          DELANOY                  NM     90008189313
63B64A49463646   RYAN             MARSHALL                 MO     90009810494
63B651A4955975   TATIANA          ESQUIVEL                 CA     90015311049
63B66149761936   JUANE            CROCE                    CA     46050751497
63B66298655975   CAROLYN          SCHMIDT                  CA     90008302986
63B6665484B27B   FELIPE           RANGEL                   NE     90014196548
63B66881584392   KWAMANE          GOSS                     SC     90014758815
63B67271155973   JESSICA          MENDOZA                  CA     48010992711
63B67859A8B169   BOYD             BIRCH                    UT     90014858590
63B68676384392   TROY             PRINGLE                  SC     19034656763
63B6871155594B   CLAUDIA          GARCIA                   CA     90012877115
63B6976125416B   DEBORAH          COWAN                    OR     47066267612
63B69A58461964   MONICA           NEGRETE                  CA     90013580584
63B69A96872B29   CARLA            ROSAS                    CO     33094370968
63B6B454655973   JUAN             SEVILLA                  CA     90014474546
63B6B52289133B   EASTER           FLANIGAN                 MO     90015215228
63B6B617172B27   LEROY            QUINTANA                 CO     33025396171
63B6B6A3A51354   CURTIS           WOODS                    OH     66015136030
63B6B798755981   KARINA           ZEPEDA                   CA     90009137987
63B71861A41261   GREGORY          JACKSON                  PA     51074728610
63B71957172B26   ESMIRO           GONZALES                 CO     33069869571
63B72125A72B29   ELADIO           BARRAGAN                 CO     90013731250
63B72479871968   JUAN             CAMPOS                   CO     90010064798
63B72564A5594B   OSIEL            ALMONTE                  CA     90004195640
63B72581936B93   JEAB             PETITHOMME               OR     90013615819
63B727A6663646   FIDEL            ORTIZ                    MO     90013567066
63B72863772B43   EDGAR            GUZMAN                   CO     90007948637
63B72A67A2B27B   JOSE             GONZALEZ-ROBLES          DC     81031690670
63B73136231453   GARY             COOKERLY                 MO     90012201362
63B73298691549   EDUARDO          FRANCO                   TX     75051462986
63B734A7572B43   DENNIS           LORANCE                  CO     90002204075
63B7355A755993   SILVINO          PENA                     CA     90005905507
63B735AA884392   BRYAN            IRVIN                    SC     90009655008
63B73692861964   JONATHAN         WHITE                    CA     90005406928
63B73787172B29   DARWIN           MIRALDA                  CO     90011467871
63B73949833698   ARIANNE          RAMIREZ                  NC     90013779498
63B74143191522   MANUEL           RAMIREZ                  TX     90014521431
63B74277372B27   CHRISTY          FESTER                   CO     90003492773
63B74384463646   ELITE AUTO SPA   LLC                      MO     90014483844
63B74487291549   JAMIE            CHAVEZ                   TX     75029204872
63B74887472B29   JOSE             CHANEZ                   CO     90007848874
63B74942991522   JOSE             CANO                     TX     90014959429
63B74A74331453   KRISTIN          WALBRIDGE                MO     90008070743
63B7514565594B   JESUS            URIBE                    CA     90013971456
63B75242825236   BRIDGET          HARRIS                   NC     90014592428
63B75527471976   CRYSTAL          GRANILLO                 CO     90015135274
63B75721461964   GUILLERMO        CORRALES                 CA     90011127214
63B7584535B531   JOSE LUIS        GONZALES                 NM     36003588453
63B75A77691549   ASTANEDA         MARIE                    TX     90009230776
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 407 of 2350


63B76184271968   CASSANDRA     HOWARD                      CO     90014651842
63B76358955973   BRITTNAY      MARKEL                      CA     90014383589
63B7648555594B   JOSE          ZUNIGA                      CA     90012794855
63B76541A72B26   BRIAN         ARNOLD                      CO     90007865410
63B77156741261   STEPHEN       PORTER                      PA     51038491567
63B77429772B29   TYKESHA       SIMONS                      CO     90009234297
63B77457555977   BRIANA        NICKIFOROS                  CA     90012084575
63B77531951354   TIERRA        SANDERS                     OH     90012785319
63B77531971976   CHERYL        SILVESTRINI                 CO     90015135319
63B7773984B581   CARLETTA      STRINGER                    OK     90003917398
63B78251A51354   ARLISHA       NORMAN                      OH     90009682510
63B78694961972   AGUSTIN       VARGAS                      CA     90012686949
63B78747455977   MARQUEZ       LUNA                        CA     90011317474
63B7883678B168   ANN           OLSON                       UT     31095268367
63B79277955977   DANIEL        IMMEL                       CA     90014802779
63B794A374B582   REAGAN        BOCKHOLD                    OK     90001294037
63B79537172B26   JILL          ROMERO                      CO     90013275371
63B7B164191522   ESTELA        ALVARADO                    TX     90014911641
63B7B271272B29   LUIS          CASTRO-ENRIQUEZ             CO     90004852712
63B7B71218B168   EDGAR         ORTIZ                       UT     90012667121
63B7B9A552B27B   ANDRE         BULLOCK                     DC     90011829055
63B8129645B235   CHRISTINE     PUSEY                       KY     90012932964
63B8148173168B   THOMAS        MCNEILL                     KS     90013314817
63B814A2991522   LINDA         JASSO                       TX     90013574029
63B81557455973   JUAN          VARGAS                      CA     90000335574
63B818A4655975   DENISE        RODRIGUEZ                   CA     90014168046
63B821A533168B   ABDULKAREEM   AHMED                       KS     90014941053
63B8252A93168B   KAREN         BRADLEY                     KS     22005285209
63B82654351354   ANGEL         GALAN                       OH     90013376543
63B82A5135B235   IRMA          ACOSTA                      KY     68003790513
63B83148331427   SHAREEKA      HENDERSON                   MO     90004421483
63B8315678B168   SONIA         MONRREAL                    UT     90011901567
63B83165733698   ASHLEY        TSTE                        NC     90012961657
63B8379A172B26   JOE           VANCE                       CO     90014857901
63B84349772B36   BRAD          SCHULZ                      CO     90015383497
63B8458A184392   STEVEN        TWYMAN                      SC     90000405801
63B84594724B4B   IYANNA        JACKSON                     DC     90012855947
63B8476A171968   DEANNE        LOPEZ                       CO     32031337601
63B84967655977   LYNETTE       SANDOVAL                    CA     90012589676
63B85336661936   MELINDA       CASAS                       CA     90014473366
63B85423384392   ELIZABETH     AHRENS                      SC     19086934233
63B854A2991522   LINDA         JASSO                       TX     90013574029
63B85995655973   ROY           VIRGIN                      CA     48037269956
63B86272891522   GUSTAVO       MACIAS                      TX     90011572728
63B86458451354   VERSENA       MCGLOTHIN                   OH     66013294584
63B86683557538   MARISELA      GARCIA                      NM     35545046835
63B86742A7B46B   JOSE          MEJIA                       NC     90013787420
63B87281284392   ERIC          NIELSEN                     SC     90013342812
63B87415455977   DONALD        MARTIN                      CA     90008974154
63B88111472B26   WENDY         GUART                       CO     90011921114
63B89112991522   SANDRA        ACOSTA                      TX     75087601129
63B8917535594B   MIGUEL        FLORES                      CA     90012931753
63B89288651354   AMY           SMITH                       OH     66012872886
63B89477472B36   ADRIANA       ALEMAN                      CO     90014914774
63B89531971976   CHERYL        SILVESTRINI                 CO     90015135319
63B89818633698   SHENA         WILLIAMS                    NC     90007758186
63B8B531971976   CHERYL        SILVESTRINI                 CO     90015135319
63B8B894672B43   KELLY         TAYLOR                      CO     33035628946
63B8B954351354   SCOTT         KIRBY                       OH     66014439543
63B91239A81644   VICTOR        CABALLERO                   MO     90011092390
63B91523571968   SHAUNICE      TURNER                      CO     90012655235
63B91531971976   CHERYL        SILVESTRINI                 CO     90015135319
63B91671125236   LINDA         GARLICK                     NC     90014066711
63B91716A71976   REBECCA       GLICK                       CO     38097597160
63B919A6191549   SASHA         SANCHEZ                     TX     90014109061
63B91A6435594B   EVELIA        LUJANO                      CA     90012420643
63B92399261964   FIDEL         TORRES                      CA     46002263992
63B9246645B235   TONY          CURTSINGER                  KY     90014534664
63B92721984392   LAKECIA       JACUES                      SC     90003667219
63B92863631453   MICHAEL       ANDROLEWICZ                 MO     27526548636
63B9311A672B36   ANGEL         QUIROZ                      CO     33013801106
63B9315574B27B   MARINA        AGUILERA                    NE     90001861557
63B937A4872B29   CHRIS         JONES                       CO     90012807048
63B9454A851354   TONYA         HICKS                       OH     90008785408
63B94729A5B235   JUAN          DOMINGUEZ                   KY     90015147290
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 408 of 2350


63B94958991522   ROSA          RUIZ                        TX     90014959589
63B94A25A81628   CHRISTIAN     FLESNER                     MO     29092540250
63B95284551354   ANNE          RICKS                       OH     90004082845
63B95336291549   NARMI         MARTINEZ                    TX     75091663362
63B95425131453   DANA          HANEY                       MO     90001734251
63B95481655977   JORGE         ZARATE                      CA     90006604816
63B95532455975   RUBEN         RAMIREZ                     CA     90012555324
63B96261A91549   GUSTAVO       CASTRO                      TX     75042062610
63B97118A72B36   DAVID         MONSON                      CO     90011391180
63B973A6961964   JOSE LUIS     PELAEZ                      CA     46012013069
63B976A7572B27   JERROLINE     JUMBO                       CO     33094516075
63B97A9742B938   MICHAEL       WADDELL                     CA     90007850974
63B9824A463646   GINA          TAYLOR                      MO     90010052404
63B9858724B946   TANYA         CLOUD                       TX     90011175872
63B9993955594B   MIGUEL        SANCHEZ                     CA     90007869395
63B99A2942B27B   ADRE          BULLOCK                     DC     90011830294
63B99A5177B46B   DEAN          SCHELLER                    NC     11085480517
63B9B37185416B   EDGAR         FANDINO                     OR     90012303718
63B9B82A831453   SCOTT         ROBBINS                     MO     27583988208
63B9B899671968   PEDRO         AQUINO                      CO     32033898996
63B9B8A612B27B   RICHARD       RINDSKOPF                   DC     81032328061
63B9B97A672B43   LAURA         DE SANTOS                   CO     90002199706
63B9BA95591522   SUSANA        HORNER                      TX     90004190955
63BB145397B46B   CHRISTINA     TOMS                        NC     90002124539
63BB1A42684392   CHARLES       BUESING                     SC     90002570426
63BB1AA1285677   CARING        HANDS                       NJ     90012920012
63BB241214B588   JUDY          BURRESS                     OK     21572784121
63BB2477872B43   ROBERT        LARSON                      CO     33078854778
63BB24A1361987   LEONEL        S.MUZ                       CA     46036214013
63BB2698372B27   HUMBERTO      MONCADA                     CO     33011346983
63BB2843587B31   CLAUDIA       OLVERA                      AR     90005798435
63BB293215B235   PORCIA        MILLS                       KY     90007549321
63BB2A3528B168   TASHA         MEINTS                      UT     90010570352
63BB2A8634B53B   WHITNEY       PAYNE                       OK     90013680863
63BB3329485646   MARVIN        MARTIN                      NJ     90002393294
63BB3783155975   EUGENIO       ACOSTA                      CA     90009017831
63BB3947981644   SHERRELL      ROSS                        MO     29090289479
63BB413417B46B   AGGIE         BOULWARE                    NC     90010331341
63BB4478451354   SANDRA TODD   MC CLINTON                  OH     90002124784
63BB463275B229   JAMES         GREENWELL                   KY     90003236327
63BB483884B268   SCOTT         MONTANGE                    NE     90007138388
63BB5737991522   ARTURO        RODRIGUEZ                   TX     90009527379
63BB573A471976   BRENDA        YOSHIMURA                   CO     90011027304
63BB5755A3168B   JUSTIN        DRAKE                       KS     90012627550
63BB6325191522   TANNIA        BARAY                       TX     90011183251
63BB655336155B   RYEESHIA      MOORE                       TN     90015485533
63BB662395594B   REYNALDO      CABASOS                     CA     90010566239
63BB6A83855975   MARGARITA     GARCIA                      CA     48009010838
63BB713375416B   IBRAHIM       COULIBALY                   OR     47025761337
63BB77A9755973   VALERIE       CANTU                       CA     90012267097
63BB8296161966   LAHIB         MAROGY                      CA     46047282961
63BB8468171968   JENNIFER      FERRINI                     CO     90013844681
63BB8A6A391549   MANUEL        GARAY                       TX     90014060603
63BBB2A965B271   DEMETRIUS     RIVERS                      KY     68083442096
63BBB381887B31   LENZY         MCCULLOUGH                  AR     28061893818
63BBB62A68166B   YONDA         SANDERS                     MO     29037376206
6411144345416B   JOSH          VANBEEVER                   OR     90014614434
64111A55A55977   ROSE          DURAN                       CA     90013690550
641122A5691998   NIXZALI       SALCEDO                     NC     90013822056
6411235634B946   RICARDO       ORTIZ                       TX     90005513563
64112625A72B36   KASIE         MEMMER                      CO     33086446250
6411283A25B241   MARIO         ALFONSO                     KY     90012568302
641134A8571968   ANGELO        BATTAGLIA                   CO     32012284085
64113714A25236   ANTHONY       SIMPSON                     NC     90003047140
64113A76A63646   FRANSISCO     PADILLA LOPEZ               MO     90015560760
6411434A38166B   DON           FAUDEL                      MO     90013613403
64114634272B22   HOLLY         NOVAK                       CO     33080016342
64114851172B27   LAWRENCE      MCGAUGHY                    CO     33084828511
64114A2945B271   STEFANIE      LOWERY                      KY     90010560294
6411582AA55977   SUSAN         HOFFMAN                     CA     90008858200
6411641A261936   JUSTICE       ARREGUIN                    CA     90014764102
641165A535B235   CHRISTINA     BATTLE                      KY     90014845053
6411681235B241   PRETTYGRL     THRNTON                     KY     90007518123
6411685A663646   DOUGLAS       ESCOBAR                     MO     90000618506
64116995A5416B   BRENT         SELLS                       OR     90008499950
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 409 of 2350


6411722557B46B   JOSE         CRUZ                         NC     90012262255
641173A245416B   MISHELLE     PRIOR                        OR     90012313024
6411748578B168   MAXINE       JEWETH                       UT     90003054857
6411754639B948   ABIGAIL      DURAN                        AZ     90015125463
6411778A372B27   PATRICIA     GUYTON                       CO     90007997803
64117A66584392   KRISTIN      DANIEL                       SC     19027300665
6411825455416B   LISA         HAND                         OR     90002242545
6411894763168B   YNETTE       HIEBERT                      KS     90009889476
64119168772B27   DINEAH       LUCERO                       CO     90010281687
64119AA4591525   GRACIELA     MORENO                       TX     90011570045
6411B572655975   VERONICA     MARCOS                       CA     90015445726
6411B884776B49   NORMA        LAURA ZURITA                 CA     90000918847
641216A194B562   BEVERLY      HICKS                        OK     90011216019
64123722487B31   TONYA        LEIGOTT                      AR     90009767224
64125251872B29   ALBERTO      LEON                         CO     33017992518
6412568235B235   NIKKI        GORMAN                       KY     90002746823
6412575424B588   JIMMY        COBBS                        OK     90014097542
64126A49563646   KRISTINE     YOUELL                       MO     90015060495
64127267172B29   JUAN         PICAZO                       CO     33063512671
641275A3855973   ERIC         QUEZADA                      CA     90014035038
64127AA647B357   JUAN         BARRERA                      VA     90006220064
64128768572B27   JANIS        JONES DOSS                   CO     33007967685
64128AA6591998   MICHELLE     EVANS                        NC     90013290065
64129623172B43   DANIEL       FAVELA                       CO     33025826231
641298A5A61961   FRANCISCO    MUNOZ                        CA     90012838050
641298A8191998   JOSEPH       NYANLULEH                    NC     17089768081
64129A2A372B27   NICHOLE      HULSTROM                     CO     90012110203
64129A36872B36   DAISY        GARCIA                       CO     90008250368
6412B182557555   JOSUE        PONCE                        NM     90013781825
6412B426398B22   SOPHIA       WILLIAMS                     NC     90005484263
6412B54474B588   RAVEN        HERRERA                      OK     90009945447
64131151A71968   MARGARET     SULLIVAN                     CO     32087111510
6413244525416B   CLAYTON      ROBITAILLE                   OR     90009044452
641327AA161961   ERIC         MILLER                       CA     46012907001
6413367625B271   YUSMARY      SUAREZ- FABELO               KY     90005686762
64133867172B43   LOURDES      GARCIA                       CO     90009208671
64133A81333698   RICHARDEAN   MILLER                       NC     12051840813
64134746A63646   MELISSA      FOX                          MO     90002967460
6413514725B235   JOEL         DAILY SR.                    KY     68099011472
6413524215B241   RICHMOND     BOOKER                       KY     68023772421
6413544637B46B   TAMARA       GORDON-WARD                  NC     11082114463
64135569A4B27B   SHANELL      TAYLOR                       NE     27011295690
6413556A571968   JAVIER       LOPEZ                        CO     90012135605
641355A5476B49   CYNTIA       LASTRE                       CA     90015145054
6413622174B268   SAMATHA      DANKOF                       NE     90009222217
6413728864B27B   CRYSTAL      BRIGHT WINDOW                NE     27023492886
6413779A761961   OMAR         ROMERO                       CA     90012837907
64137979A84392   VELVIA       SMITH                        SC     90014769790
641379A9185886   DELIA        COSTNER                      CA     90013009091
64137A42181644   BREEANA      MARTINEZ                     MO     90011600421
64137A94155973   CINTHIA      HERMOSO                      CA     90005700941
6413813485416B   MICHAEL      SPEAKLANDER                  OR     90013801348
64138692572B43   CECILIA      ZAMORA                       CO     90001016925
64138749476B49   JORGE        LAUREANO                     CA     46005087494
64138A4A25416B   BRIAN        SWEENEY                      OR     90012390402
6413935995416B   ANNETTE      SHERMAN                      OR     47041753599
6413956462B27B   THELMA       SCOTT                        DC     90013645646
6413956815B235   THANG        UK                           KY     90009645681
64139824A87B31   LASHUDNA     PICKETT                      AR     28077888240
6413B2A7357555   JOANN        TORRES                       NM     35536222073
6413B77A44B588   DOLECIA      HEBERT                       OK     90014097704
641414A2255975   BRANDON      DUNCAN                       CA     90013014022
64141864572B27   ASHLEY       STAPLETON                    CO     90013568645
6414282124B588   SHELVA       WILSON                       OK     90012008212
64143967872B27   MICKIE       CASTANEDA                    CO     33051559678
64143A92A8166B   CAPTAIN      JON                          MO     90003220920
6414478524B588   FELIX        MENDEZ                       OK     90014097852
64145497A5416B   BONNIE       DOMINGUEZ                    OR     90007714970
6414624A25416B   GLADYS       GREEN                        OR     90014832402
6414626477B46B   EMILIANO     CORRAL                       NC     90008422647
6414641A755973   SERGIO       SANDOVAL                     CA     90006824107
64146696376B49   LETICIA      MAYORAL DE SALAS             CA     90014186963
641466A4685953   THOMAS       GORNIAK                      KY     90000656046
641475A5A61964   KENRICK      FORRESTER                    CA     90014435050
6414762A95B531   THERESA      MONTANO                      NM     36017066209
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 410 of 2350


64147728A4B588   KANDICE      MCNET                        OK     90009947280
64147A7582B27B   HELEN        BURNETT                      DC     90001470758
64148521A61961   GLORINDA     ALCARAZ                      CA     46074805210
641486A568B168   EUGENNE      SMILEY                       UT     31045826056
6414899265B235   JAMES        JOHNSON                      KY     68053679926
64149547276B49   CARMEN       PURYEAR                      CA     46064295472
6414B526461964   MARIA        MORALES                      CA     90009085264
6414B695161964   ANTHONY      HINOJOS                      CA     90009266951
6414BA89371968   VANESSA      MENDOZA                      CO     32030480893
64151152476B49   GLORIA       BERNAL                       CA     90014791524
64151337172B43   ANAHI        ECEVERRIA                    CO     90012043371
6415133A57B46B   SHANDI       COLF                         NC     11001553305
64152263A2B27B   MARY         LOCKMAN CAMERON              DC     90014172630
64152288A4B588   PRAVEETA     NATHA                        OK     90014852880
641522A2872B43   CHRIS        GALLEGOS                     CO     33090262028
64152457872B43   TINA         DAILEY                       CO     90015184578
64152549672B36   ROSALINDA    COVARRUBIAS                  CO     90008275496
641528A3A8B168   TAMARA       SMITH                        UT     31001888030
64153955172B29   KYNA         CHEEK                        CO     33091479551
64155325876B49   NANCY        URIBE                        CA     90007363258
64155383172B27   ASHLEY       SHIPLEY                      CO     90004003831
641555A3155928   JACKIE       JURADO                       CA     90006375031
6415566632B27B   EBONEE       SULTRY                       DC     81060346663
641558A3891562   ALEXIS       RODARTE                      TX     90015338038
6415689A351338   SARA         STOUT                        OH     90011318903
64157AA385B271   LEWIS        SCHAFER                      KY     68005620038
6415877667B46B   SHANELL      SANDERS                      NC     90013127766
64158AA7361936   MIGUEL       PINEDO                       CA     90011140073
6415959215416B   JAMIE        GABOURY                      OR     47011325921
64159A89455977   MIRIAM       BARRAGON                     CA     90000210894
6415B326693739   MICHAEL      MASHBURN                     OH     90003503266
6415B376A57555   DEIDRA       CHAVEZ                       NM     90010213760
6415B754185886   SHANE        RUNALLS                      CA     90012857541
6415B825272B43   DENE         ROMERO                       CO     33086998252
6415BA25481644   ROSARIO      DEGOLLADO TELLO              MO     90013930254
6415BA3825416B   JENNIFER     VAN DYKE                     OR     47029020382
6416198157B46B   NATALIE      DANIELS                      NC     90014379815
64161A34955975   MONICA       ESPARZA                      CA     90013710349
6416337A872B29   JAMIE        BAHM                         CO     33061013708
64163488772B36   ADAN         TORRES                       CO     33090574887
64163494287B31   AMANDA       HILL                         AR     90014824942
6416355935416B   GAY          JUDD                         OR     47024125593
64163663A55977   ELIZABETH    MASON                        CA     90013566630
6416382564B588   CHRISTINA    SEELEY                       OK     90014098256
64163A8853168B   SARA         JUAREZ                       KS     90011000885
64163A91561936   LUZ          VARAJAS                      CA     46062830915
6416492194B27B   JUDI         WALKER                       NE     27058669219
64164A47A55977   MARIO        VARGAS                       CA     90011070470
64164A93685886   TORPEKAY     ZAKIR                        CA     90014390936
64165489687B31   ALEXIS       STEVENSON                    AR     90015024896
6416582564B588   CHRISTINA    SEELEY                       OK     90014098256
64166217A5416B   WILLIAM      MAPFUMO                      OR     90012902170
64166794272B27   LILLY        SAMAIN                       CO     90012357942
6416784274B588   DESTINIE     NEWMAN                       OK     90014098427
64167A68831453   SHARON       DESALVO                      MO     90011270688
64167A92351338   GISSELLE     CUEVAS                       OH     66045710923
6416824A791562   DENYS        PALMA                        TX     90011172407
64168839372B27   JOEL         MENDOZA                      CO     90003718393
64168A97261964   KENIA        MARROQUIN                    CA     90013070972
6416949A461961   YAZLII       MENDEZ                       CA     90012054904
64169816A2B27B   OTEIA        JONES                        DC     90013708160
64169895576B49   CHARITY      JUGO                         CA     90004138955
64169A2135B241   GERRY        CRAWFORD                     KY     90004680213
6416B263891562   MONICA       RUELAS                       TX     90013922638
6416B757591998   CHARLES      SPURLOCK                     NC     90011107575
6416B826191522   GUILLEN      MONICA                       TX     75016168261
6416B878555977   ANNE         MCKAY                        CA     49094358785
6417184584B588   BRIDGETT     MYRES                        OK     90014098458
64172136A72B36   ERIKA        CRESPO                       CO     90012681360
6417255792B27B   ROY          RUSSELL                      DC     90013805579
64172746A8166B   MELISSA      BRADLEY                      MO     90006847460
64172A15487B31   NATASHA      LEE                          AR     90014020154
64175333A72B36   HELEN        VAUGHAN                      CO     90010933330
64175843587B31   CLAUDIA      OLVERA                       AR     90005798435
641762A732B27B   NATASHA      BANNER                       DC     90011222073
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 411 of 2350


64176382387B31   CHRISTOPHE   JONES                        AR     28083883823
6417639234B27B   EZGAR        CORRALES                     NE     90014173923
6417654893168B   BRANDON      HOGAN                        KS     90015325489
6417661574B588   CHRISTY      LEWALLEN                     OK     90012776157
64177AA6457555   JASON        GREEN                        NM     90005870064
64178776572B36   ROCKY        JOHNSON                      CO     33064827765
6417895415B229   LIZANDRA     BELLO                        KY     68090289541
64178A6435B235   ADRIANNA     CALFEE                       KY     90001230643
64179A74381644   DEIRDRE      SMOOT                        MO     29015240743
6417B19A361964   MARTIN       ROMO                         CA     90012301903
6417B268851337   COLANDREAH   SHAMEL                       OH     90014292688
6417B457251338   NICOLE       DANIEL                       OH     66001214572
6418156522B524   TOMIKA       GOSA                         AL     90013965652
641817A2363646   KEVIN        BAKER                        MO     27518347023
6418186534B588   YOLANDA      BARRIOS                      OK     90014098653
6418194452B231   MARIE        REYNOLDS                     VA     90003459445
641829A9A51337   SHANNON      PLUMMER                      OH     66086119090
64182A3A355977   PATRICIA     RUBY                         CA     90013120303
64182AA585B235   JESSICA      HUGULEY                      KY     90009010058
6418326842B27B   DARIUS       DAY                          DC     90011222684
641833A7957555   RENE         RIOS                         NM     90013603079
6418357257B46B   ANDERSON     OSVALDO                      NC     90013265725
641843A1391522   BRANDY       HOUSTON                      TX     90010093013
6418458744B588   TERRI        WOODS                        OK     90010715874
641851AA976B49   ANGELITA     URIBESA                      CA     90011311009
6418539385593B   MARIA        GONZALEZ                     CA     90012463938
6418587114B588   JARIAN       LIGGENS                      OK     90014098711
64185A7A381644   JESSE        GRAMMATICO                   MO     29076850703
64185A99572B27   ROBERT       PETTY                        CO     33015280995
64186327887B31   SAVANNA      SALAZAR                      AR     90013653278
6418643967B46B   REBECCA      SCHAUF                       NC     90007614396
6418666982B27B   RHONDA       HUGHES                       DC     90013236698
64186A1775B235   STACEY       NEIGHBORS                    KY     90012960177
64187522772B43   HASAAN       NELSON                       CO     90014715227
6418779A585886   SANDRA       BOGHOZIAN                    CA     90014157905
641891A1772B27   YOLANI       JUANES                       CO     90011721017
6418927223168B   JASHIA       MORRIS                       KS     90013932722
64189492A2B27B   SERITA       EL-AMIN                      DC     90008314920
64189594576B49   ERASTO       SANCHEZ                      CA     90014785945
64189AA8A55973   AGUSTINE     MONTIEL                      CA     90010230080
6418B21A371968   EDGARDO      VEGA                         CO     90007152103
6418B467A61936   ARACELI      RODRIGUEZ                    CA     46007504670
64191594576B49   ERASTO       SANCHEZ                      CA     90014785945
6419163615B235   JEREMY       VOTAW                        KY     90015336361
64192441376B49   LORENA       GUTIERREZ                    CA     90001014413
64192886272B43   GUILLERMO    ENRIQUEZ                     CO     33068698862
64192A5A855973   PAULINE      ZAMUDIO                      CA     48027520508
641941A4357555   MARIA        VASQUEZ                      NM     90010741043
6419443365B235   SHAWNA       DOMINE                       KY     68027584336
641952A5172B43   JULIA        ARAGON                       CO     90003722051
641959A784B588   MARIA        RODRIGUEZ                    OK     90014099078
64195A14A85886   ALICIA       RAYA                         CA     90014160140
64195A3137B46B   LARRY        GREENE                       NC     90013870313
6419631932B27B   BRENDELL     SMITH                        DC     90012203193
64196326887B31   TANISHA      WEATHERSPOON                 AR     90013343268
64196553972B43   JEREMY       LEE                          CO     90013325539
641968A9476B49   MARIA        SAN LUIS                     CA     90014188094
64196A91584392   DANA         FOX                          SC     19049330915
6419756A261964   RODOLFO      ARTEA                        CA     90014425602
64197785498B22   ALVARO       ROJAS                        SC     90007487854
6419789A957555   JOE          LOPEZ                        NM     90011088909
64197959A91998   YULMA        CRUZ                         NC     17082719590
6419817A33168B   ELAINE       SEAGER                       KS     22063711703
64198327887B31   SAVANNA      SALAZAR                      AR     90013653278
6419884634B27B   MICHELLE     BOOTH                        NE     27026248463
64199186272B36   PATRICIA     CRUZ                         CO     90011121862
6419981A376B49   AMARIZ       SANCHEZ                      CA     90014188103
6419989115B271   VICKIE       COLE                         KY     90006008911
6419993817B46B   MIKKI        BUFF                         NC     11004599381
6419995475B242   LARRY        MARCELL                      KY     68008439547
6419995A363646   DAVID        HICKS                        MO     90014809503
6419B472A55977   YVONNE       HARO                         CA     49086014720
6419B472A81644   WILLIAM      MCMULIN                      MO     90003954720
6419B538763646   ALONSO       DELGADO                      MO     90010975387
6419B64AA5B235   MATTHEW      TULEY                        KY     90013026400
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 412 of 2350


6419B828391998   STACEY        AGUIRRE                     NC     90012868283
641B1975A61936   DAWN          REDD                        CA     90011139750
641B1A48A71968   MICHEAL       GREER                       CO     90009620480
641B2535363646   AMANDA        KAYSER                      MO     90015565353
641B2696A4B27B   BROOKE        RAUMAKER                    NE     27097686960
641B2759224B64   LIONEL        HALL                        DC     90006547592
641B2783285886   JOHN          LETO                        CA     90011247832
641B2825891876   JOHN          KAYSER                      OK     21017068258
641B2846771968   MIGUEL        CARRERA                     CO     90008928467
641B3382785689   ANITA         OCAMPO                      NJ     90009483827
641B3A62593739   STEPHINE      VANFOSSEN                   OH     90013110625
641B4148285886   HOLLY         SHORT                       CA     90000711482
641B4244871968   RYAN          BELL                        CO     90013252448
641B4526255973   MARIA         PULIDO                      CA     48055185262
641B4589251337   SHAWNA        JOHNSON                     OH     90008935892
641B472544B588   ELIAZAR       LARA                        OK     90014097254
641B4961591525   ANA           QUEZADA                     TX     90012689615
641B5395471968   JAIRO         PEREZ                       CO     90013183954
641B5413A55973   KERRI         DYKES                       CA     48011094130
641B5451772B27   KELLI         MORRISSEY                   CO     90013204517
641B5496376B49   DOMINIQUE     DISANO                      CA     90012184963
641B5627141261   NICOLE        KNAPPER                     PA     51094796271
641B61A5555977   SYLVIA        GUTIERREZ                   CA     90012101055
641B6365472B29   GEORGE        SOLORZANO                   CO     90004773654
641B67A5163646   KELLY         SEGO                        MO     27509057051
641B693AA57555   JOSEPHINE     PEREZ                       NM     90008509300
641B719367B46B   JASMINE       JOHNSON                     NC     90012811936
641B7232761964   YENESIS       FLORES                      CA     90012492327
641B7631385689   DONNA         MANOR                       NJ     90007616313
641B796784B27B   BEATRICE      MUNENE                      NE     90012239678
641B7A44572B43   JUAN MANUEL   LUEVANO                     CO     90004760445
641B7A9494B268   WILLIS        CAMPBELL                    NE     27073430949
641B8253572B36   ANDREW        APPLEQUIST                  CO     90012222535
641B8571655977   HELEN         JACKSON                     CA     90014665716
641B862A85416B   JESSICA       RICHARDSON                  OR     47006496208
641B882A771968   JOSHUA        HITT                        CO     90015508207
641B9134791998   MARICELA      CORONA                      NC     90015091347
641B96A6785981   ROBERT        SCOTT                       KY     90010696067
641B9911451338   KAMI          KELLEY                      OH     90011149114
641BB26A592836   LAURA         GONZALEZ                    AZ     90015032605
641BB492155977   GILBERT       LOPEZ                       CA     90014524921
641BB867191522   MICHELLE      VILLALOBOS                  NM     90006048671
641BB972755975   ARACELI       JAIMES                      CA     90013159727
64211399A4B27B   MOHAMAD       ISSAWI                      NE     27068333990
6421162A272B43   HEATHER       PLUMLEY                     CO     33070186202
6421185312B27B   KAREN         HILL                        DC     90002728531
6421232272B27B   KRYSTAL       LEE                         DC     90002603227
64212A48261936   ARACELY       MARTINEZ                    CA     90012870482
6421376A672B29   LAURA         MANZOI                      CO     90009277606
64214147787B31   ALONZO        MCCUISTON                   AR     90014601477
64214437872B36   MARITZA       OCAMPO                      CO     90008724378
64214781A2B27B   JENSEN        JENSEN                      VA     90014517810
64215324A55928   MARIA         ARREOLA                     CA     90004393240
6421584A855977   ANGELICA      RODRIGUEZ                   CA     90000378408
64216424172B27   EDDY          BAILEY                      CO     90013094241
6421678A74B27B   ERIK          MYERS                       NE     90013817807
6421761A15B235   AMY           SIMPSON                     KY     90009656101
64218331172B29   RYAN          VOLLEYBERG                  CO     90001303311
64219484A72B29   SHARON        MOSTUE                      CO     90009644840
64219494772B43   DELIA         ALVAREZ                     CO     90014384947
64219A81957555   MARTINA       GALLEGOS                    NM     90004190819
6421B292672B27   HEATHER       YOUNG                       CO     33031492926
6421B6A254B588   NADIA         HERBERT                     OK     90008806025
6421B742781675   ADELAIDA      CONTRERAS                   MO     90013127427
6421B824976B49   LARRY         HERNADEZ                    CA     90014188249
6421B885855973   AMORITA       LOPEZ                       CA     90012838858
6421BA1943168B   VELDA         STONE                       KS     90010810194
6421BA22781644   MARY          JAMES                       MO     90013100227
64221116772B27   ANGEL         SANABRIA                    CO     33088571167
6422219985132B   SHERRITA      CASTLERLOW                  OH     66070951998
64222836A72B27   APRIL         ROSALES                     CO     90012268360
64223839372B29   DOVAUGHN      NORMAN                      CO     33075278393
64223A8A581675   SHIELA        SMITH-BLACK                 MO     90013750805
6422479184B268   ROSALIA       SALAZAR                     NE     27015947918
64224894A76B49   THERESA       VALDEZ                      CA     90013448940
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 413 of 2350


64224A17391562   AGUILAR      SELINA                       TX     75023620173
64224A2354B27B   REYES        BLANCO                       NE     90013930235
6422595354B27B   MIGUEL       PEREZ-GARCIA                 NE     90012349535
6422616718166B   OMAR         ENRIQUEZ                     MO     29015431671
6422641865B389   ELIZABETH    GAULT                        OR     90014964186
642267AA272B29   GEORGE       LERMA                        CO     90015107002
64227114572B27   ARACELI      RIVERA                       CO     90010701145
6422864A855975   ALBERTO      PIZANO                       CA     90011906408
6422893A261961   MARY LOU     TORESS                       CA     90008679302
64228972A61936   MIGUEL       LANDEROS                     CA     90012699720
64228A91336B93   KIM          RUNYON                       OR     90014850913
64229579172B27   MIRNA        HERREIA                      CO     90009795791
6422971A672B43   VANESSA      TRUJILLO                     CO     33066747106
6422989545B271   ANTOINETTE   JILES                        KY     90005288954
64229994324B64   GLENDA       QUINTEROS                    VA     90015099943
6422B293655959   ERNESTO      RODRIGUEZ                    CA     90013582936
6422B4A9357555   JASMINE      RIVERA                       NM     90012494093
6422B51225B235   EMANUEL      NTABAZONKIZA                 KY     90010285122
6422B827576B49   GERARDO      ORTIZ                        CA     90014188275
6422B952591998   BRITTNEY     WHITE                        NC     90011109525
6423138A581644   KELLY        HENSLEY                      MO     90015093805
6423142A887B31   MAGGIE       JOHNSON                      AR     28098824208
64231A51861961   LILIA        ALVES                        CA     90014720518
6423247535B531   ARIEN        DAVIS                        NM     36016144753
642327AA68B168   ERIC         GONSALVES                    UT     31084877006
64232834576B49   BRIAN        ELEAZAR                      CA     90014188345
642329A3424B7B   VERONICA     GUZMAN                       DC     90003169034
64232A42985886   JOSE         ARCEGA                       CA     90014180429
64233182772B27   TAMARA       HERRERA                      CO     90010011827
6423326A355977   SOPHAL       SOK                          CA     90014832603
6423331474B27B   SONIA        LOYA                         NE     90014713147
64233332A55977   IRENE        VALLEZ                       CA     90007063320
6423412725B271   ROBERT       MADDOX                       KY     68089391272
64234275A84392   CHERLONDA    SNYDER                       SC     90004862750
64234362A72B43   TONY         VELAQUEZ                     CO     90013203620
64234572772B43   SARAH        VIGIL                        CO     90013345727
6423555938B168   STAR         HERNANDEZ                    UT     90010215593
642356A9255977   MICHELLE     STOGNER                      CA     49073616092
642358AA991965   LILIANA      MARTINEZ                     NC     90011508009
6423597A47B46B   ADRIAN       FIELDS                       NC     90010389704
6423599798B331   LARRY        SHANNON                      SC     90015399979
6423671A95B235   JESSICA      KNOTT                        KY     90012357109
6423685312B27B   KAREN        HILL                         DC     90002728531
64237A5A361936   BOUNNHONG    KAIGNAVONGSA                 CA     46050180503
642381A3784392   BRITTANY     PUITE                        SC     90013931037
6423851585B235   CHRISTY      JENNINGS                     KY     90011995158
64238835476B49   DAVID        HUERTA                       CA     90014188354
64239A3A585886   BRIAN        BUCKNER                      CA     90014170305
6423B365184392   MOHAMED      SELMAN                       SC     90013923651
6423B52923168B   GABRELLA     BROOKS                       KS     90013635292
6423B613591522   ALFREDO      VAZQUEZ                      TX     90011026135
6423B756481675   RONNIE       SIMMONS                      MO     90014387564
6423BA52591998   ERMELINDA    ESTRADA                      NC     90008090525
6424134574B27B   TYLENA       TUCKER                       NE     90015113457
64242113A55975   DANIEL E     DELGADO                      CA     90006641130
642421A3291998   SAMUEL       REYES                        NC     90011831032
64242325198B22   BENI         LUTALADIO                    NC     90001823251
642433A1691522   ESTHER       GUILLEN                      TX     90010093016
642439A8A55975   GABRIELA     LOPEZ                        CA     48075729080
64243A9684B268   MICKEY       CAMPBELL                     IA     27062960968
6424469A157555   LUISA        PINEDO                       NM     90005116901
6424472272B27B   DEVANTE      HANCOCK                      DC     90011437227
6424559315B235   LINDA        ELDER                        KY     90000145931
6424591975B241   SHAWNDA      CHANDLER                     KY     68021839197
642466AA733698   GARY         SWEENEY                      NC     12087996007
64246A4A563646   CARMEN       BUCHANAN                     MO     90007860405
64246A72655975   BRANDY       BRATCHER                     CA     90013160726
642477A2A4B27B   JENNIFER     TAYLOR                       NE     90010237020
64247A94876B49   GISSELLE     VAZQUEZ                      CA     46058370948
64248155A72B29   CRUZ         QUINTANA                     CO     90003521550
6424851464B588   JESSICA      COSTIN                       OK     90009395146
64248711A91522   ALEJANDRA    ESCOBAR                      TX     75017827110
6424882435B241   EDUARDO      LETO                         KY     90008118243
64249578672B29   JEFFREY      BURNS JR                     CO     90008345786
64249848776B49   DAWN         SILVA                        CA     90014188487
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 414 of 2350


6424B181981675   KARLA         GALLEGOS                    MO     90014641819
6424B28A75B921   WIRELESS      CALLER                      WA     90015382807
6424B53A172B43   HASAN         AHMED                       CO     90008735301
6424B98A691998   PRECIOUS      HOPKINS                     NC     90011749806
6424BA26A91562   MELISSA       PEREZ                       TX     90010690260
6424BA61351337   JADA          ANDRADE                     OH     90014560613
6425165928166B   ZANETA        LOVELL                      MO     90003226592
6425196645B235   MARQUEASE     RICHARDSON                  KY     90014909664
64252247372B27   DANIEL        GARZA                       CO     90010102473
6425225724B27B   ALVIN         UBBEN                       IA     90014692572
6425245A372B36   FLORENCIO     AMADOR                      CO     90001484503
6425247785B531   VERONICA      RAMON DEHERNANDEZ           NM     36006604778
6425279513168B   VALERIE       HILL                        KS     90014417951
6425284A555975   JAMIE         VAUGHT                      CA     90011308405
6425383225B235   THOMAS        JOHNSTON                    KY     90012208322
6425385A976B49   DULCEQ        RODRIGUEZ                   CA     90014188509
64253A35A55973   GLORIA        HERNANDEZ                   CA     48084190350
6425441715B241   PATRICK       HYKES                       KY     90011894171
6425444393B385   TRINO         CASTANON                    CO     90001294439
64254953A71968   APRIL         GARCIA                      CO     90013039530
6425512534B588   RHEYSHAUN     ROBERTS                     OK     90014101253
6425526615B271   CHRIS         BENNETT                     KY     68068192661
6425535515B235   TIM           TIPTON                      KY     68090303551
6425539A257555   ALESHIA       NELSON                      NM     90013793902
64255795672B29   JUDITH        HOLLEY                      CO     33092357956
6425696577B423   DANNY         GRIFFIN                     NC     90001369657
64256A2A65B235   TRACY         STEVENSON                   KY     68092060206
64259852576B49   EDWIN         ROJAS                       CA     90014188525
6425B14AA41261   LEANNE        BIELEC                      PA     51002801400
6425B219363646   ALEX          SIMON XOLIO                 MO     90014002193
6425B337271968   LUVON         SANCHEZ                     CO     90012353372
6425B8A8655977   RAQUEL        TINOCO                      CA     49043558086
64262173372B43   ARTURO        RODRIGUEZ                   CO     90007611733
642624A715B235   SONIA         NALL                        KY     68085814071
6426256433168B   RITCHIE       HOYLE                       KS     90015405643
64263114A72B27   MIGUEL        LOPEZ                       CO     33008811140
6426313235B241   KRISTINA      DUNLAP                      KY     90003521323
6426347932B224   MICHELLE      WHITE                       DC     90004204793
64263689672B43   DAVID         JOHNSON                     CO     90005296896
64263741A72B36   ERASMO        MARTINEZ                    CO     90004157410
6426487A171968   JOSEPH        MILLER                      CO     32027388701
64264A21161964   ALEJANDRO     PORFIRIO                    CA     46054670211
64264A4338B168   KAUNIE        WRIGHT                      UT     31089540433
64265499772B43   EMILY         GRIMLAND                    CO     90012204997
6426568A824B64   FELIPE        GUEVARA CRUZ                VA     90001716808
64265A5495416B   KIM           COMBS                       OR     47090090549
6426625A933698   MICHAEL       ROBINSON                    NC     90004622509
64266854676B49   ANA           RODRGUEZ                    CA     90014188546
642673A5961961   SARA          CARMONA                     CA     90013303059
64267568A5B385   JULIE         GARCIA                      OR     90012585680
64267743387B31   SAMANTHA      WHITE                       AR     90009087433
64267855376B49   JOHN          SMITH                       CA     90014188553
64268265976B49   LUIS MANUEL   PEREZ                       CA     90014792659
64268517A7B46B   MELSON        DUARTE                      NC     90001895170
6426945A555973   MELISSA       SANCHEZ                     CA     90014854505
642698A2461964   HEIDI         RUSHING                     CA     90012128024
64269AA3572B43   ERIC          ANDRE                       CO     90013740035
6426B396272B29   ROBERTO       FUENTES                     CO     33065373962
6426B969761936   MARTIN        CARRILLO                    CA     46052919697
64272856876B49   RONALD        MCDONALD                    CA     90014188568
6427349A577568   CECILIA       LOPEZ                       NV     90015024905
6427359452B223   ELMER         ORTEGA                      DC     90001145945
64276294A91562   DENISE        SEGURA                      TX     90012322940
6427633318166B   SHARRON       JONES                       MO     29086763331
642769A7271968   SAUL          RIOS                        CO     90014249072
642776A8372B27   OSCAR         RIVERA                      CO     90001536083
6427772715B921   JIM           HILL                        ID     90012827271
6427775817B472   TIPHANY       CALDWELL                    NC     90007877581
6427798894B27B   BRANDON       SCHWARZ                     NE     90000209889
64277A9A27B46B   KWAN          LEE                         NC     90011420902
64277AA184B588   TIFFANY       SPENCE                      OK     90008740018
6427814A22B27B   REGINALD      GREENE                      DC     90015301402
64278675772B36   ROSA ICELA    RAMIREZ CASTRO              CO     90013136757
6427B129491522   GLORIA        AMEZCUA                     TX     75024121294
6427B38874B588   TYANN         MCCORKLY                    OK     90010143887
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 415 of 2350


6427B424772B29   MIGUEL       ONOFRE                       CO     33060454247
6427B4A9261961   LUIS         PEREZ                        CA     46083564092
6427B61327B46B   MARIBEL      ACOSTA                       NC     90013336132
6427B883555973   YANIRA       REYES                        CA     90010028835
642812A414B27B   RACHEL       VAIAOGA                      NE     27095802041
6428132A777568   LUIS         VIEYRA                       NV     90007913207
6428151A172B27   MICKY        MCKEE                        CO     90013555101
6428163115137B   LEN          LOVE                         OH     66048736311
64282273A7B357   JAMES        LEWIS                        VA     90011622730
6428246A587B31   SHANTARA     GILLIAM                      AR     90015074605
64283633A5B287   ANGELA       HASSELBACK                   KY     90001406330
6428369414B27B   JASON        JARFFIN                      NE     90001796941
64284149776B49   OMAR         PEDRAZA                      CA     90001181497
6428461665B125   TANESHA      BROWN                        AR     90014166166
6428466375B235   AUSTIN       HARRIS                       KY     90012376637
64284714A7194B   PHIL         GONZALES                     CO     90001197140
642852A1677527   ROSA         MACIAS                       NV     90013382016
6428583475416B   IRINA        RAPOPORT                     OR     90009828347
642858AA585886   TIMOTHY      FLANNERY                     CA     90012108005
64285A61287B31   CLINTON      KELLY                        AR     90002720612
64286298172B36   FERNANDO     MORENO                       CO     90011792981
6428649414B27B   MAGDALENA    ROSAS-ESPINOZA               NE     90013614941
6428663493168B   KWANTAE      HARDYWAY                     KS     90014016349
6428671214B268   KATHY        HICKS                        NE     27032817121
64286896872B36   PATRICIA     MARTINEZ                     CO     33006078968
64287855136B93   .            FRANSISCA TINAJERO           OR     44519458551
64287A84A5B241   BRITTANY     WILLIAMS                     KY     90014570840
6428825A57B46B   MAIBIS       PEREZ                        NC     11024342505
6428862A391522   ELIZABETH    ROCHA                        TX     75043106203
64288857776B49   SHARKEISHA   THOMPSON                     CA     90014188577
64288A41872B36   SENA         LINDA MARIE                  CO     33076380418
6428919415B531   MONICA       VIALPANDO                    NM     90010901941
6428925A455977   RAY          RODRIGUEZ                    CA     90014812504
6428927547B46B   MADELI       PEREZ                        NC     90013702754
642894A5A91522   TODD         BONNER                       TX     90005564050
6428B872585689   DANIELLE     NOSAL                        NJ     90014558725
6428B973A91522   ALMA         BRAVO                        TX     90008229730
6429134A955973   DOMITILA     ZACARIAS                     CA     90015173409
6429184519194B   ALISHA       DUNN                         NC     90009618451
64291858576B49   MARIA        MARIA                        CA     90014188585
6429186835B235   WILLIAM      WOOLEN                       KY     90015158683
64291897A33698   ANTHONY      SIMPSON                      NC     90002988970
6429275A181675   LYNN         BROWN                        MO     90015307501
6429286A691522   DANIEL       RODARTE                      TX     90009418606
642934A8576B49   ARACELI      CASTILLO                     CA     90015144085
64293639872B29   FATHIA       MOUSSA                       CO     33003466398
64294A61191998   JASMINE      FULTZ                        NC     90011110611
64295521587B31   SKIP         MACON                        AR     28026475215
642966A7881675   MILTON       BROWN                        MO     90011306078
64296859676B49   STEVE        BOUNDS                       CA     90014188596
64296A88891998   QUINCY       HICKS                        NC     90014700888
642971A5372B29   JOSE         GODOY                        CO     90012801053
6429755464B582   KEENAN       WOODEN                       OK     90011955546
642978A134B27B   BRANDY       REED                         IA     27052608013
642979AA261961   MARICELA     YANEZ                        CA     90010259002
6429887A757555   LAURA        VALERIO                      NM     90011008707
64299AA4585886   JUSTIN       ROBERTS                      CA     90005160045
6429B289891562   CESAR        PARRA                        TX     90015002898
6429B372972B29   HUMBERTO     DE LA ROSA                   CO     33094133729
6429B468485886   JAMES        SNYDER                       CA     90002874684
6429B759861964   ANGELA       REYES                        CA     90004007598
6429B851372B43   LUIS         ZAVALA                       CO     90007048513
6429BAA335B241   SUSAN        DINGES                       KY     90012990033
642B128348B168   BRENDA       WOODS                        UT     31095452834
642B136635B241   MITCHEL      ROWLETT                      KY     90011203663
642B1745576B49   RAUL         SANCHEZ JR                   CA     90010457455
642B1769557555   DULCE        BUENROSTRO-MENDOZA           NM     90013227695
642B216967B46B   LATASHA      MCCOY                        NC     90012741696
642B2429A85886   GLORIA       FLORES                       CA     90003174290
642B261A155977   MICHELE      ROTHWELL                     CA     49013436101
642B2716172B27   JENNIFER     MORTON                       CO     90009017161
642B2723825236   JOHN         SMITH                        NC     90010857238
642B274497B329   JAIRO        MILIAN                       VA     90010677449
642B3238791998   FRANCISCO    GONSALEZ                     NC     90015212387
642B3598361936   MIRELLA      DE ORENDAY                   CA     90013335983
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 416 of 2350


642B367335B235   DARRYL          WELCH                     KY     90008446733
642B3954585886   JAVIER          PILLANO                   CA     90012869545
642B39A6972B27   ANA             GOMEZ                     CO     90014619069
642B3A71185886   EDGAR           LABRADOR                  CA     90014160711
642B3A85381644   NATHANE         DOSSEY                    MO     90009060853
642B4155A5B591   ROBERT          RAMIREZ                   NM     90012571550
642B4269491562   SAMUEL          RAMIREZ                   NM     90014812694
642B449597B46B   WILSON          HERNANDEZ                 NC     90012304959
642B4757384392   MIKAYLA         AIKEN                     SC     90014897573
642B4818A7B46B   ATHEAB          LAMOMTTILMAN              NC     90014018180
642B4979557555   AIDE            REYES                     NM     90013789795
642B4A1A971968   JESUS           TORO                      CO     90009800109
642B5139872B29   MARIE           LANG                      CO     90012901398
642B5322291998   TSEHAYTU        GUANGUL                   NC     90012563222
642B565184B588   MARTHA          JACKSON                   OK     90006736518
642B594A384392   ELIZABETH       GARCIA-PEREZ              SC     90014649403
642B6111191562   JUAN            RIVERA                    TX     90013631111
642B6132591998   SALENA          CORTEZ                    NC     90015561325
642B6428285689   MARCIAL         PEREZ                     NJ     90011054282
642B6575933698   DEREACE         GRAHAM                    NC     90004605759
642B6812276B49   ELIZABETH       TZINTZUN                  CA     90014188122
642B6898956367   LAMAR           MCCREE                    IA     90012918989
642B7644194945   EMIGDIO         BAUTISTA                  CA     90014776441
642B792784B27B   WILLIAMS        LEAH SUE                  NE     27073289278
642B7A37761936   SONIA           URENA                     CA     90011140377
642B8595572B2B   FARZAD          NAZEMI                    CO     33084185955
642B8659381675   SHAWN           ESHMAL                    MO     90015476593
642B8841272B43   ISABEL          RAVELL                    CO     33019148412
642B8942155973   ELIZABETH       GARCIA                    CA     48007259421
642B923A591998   OSCAR           CABRERA MALDONADO         NC     17055612305
642B9651755975   KRIS            LINDLEY                   CA     48060686517
642BB112161961   TIM             BURTON                    CA     46003671121
642BB41A361936   AYAN            SHEIKH MOHAMED            CA     90014774103
6431152592B27B   MAHMOOD         BEHNAM                    VA     90006125259
643116A7563646   THOMAS          WILGUS                    MO     90010356075
6431197AA91562   NICHOLAS        HOUSTON                   TX     90008849700
643122A192B27B   MARCIAL         VALLEJO                   DC     90007312019
64312669A93786   SANDRA          GODDARD                   OH     90013776690
64312A53272B43   ALMA            ORDAZ                     CO     33015180532
64313243157B92   ELIZABETH       CICCOZZI                  PA     90011882431
64313284172B27   JORJE ALBERTO   MURILLO                   CO     90008052841
6431329314B27B   SASHA           CARTER                    NE     27097612931
64314A2655B531   MAX             VARGAS                    NM     36007240265
6431553137B46B   BARBARA         LYTCH                     NC     90008825313
64315A84272B43   MARINA          GONZALEZ                  CO     90015030842
643167A8A91998   SHERRI          TURNER                    NC     90012107080
6431736968B168   NENNA           CURRY                     UT     90004403696
64317582A85689   MARIA           RUIZ                      NJ     90005805820
6431772685416B   ANGELA          BUEHLER                   OR     90006957268
6431778293168B   NANCY           ORTIZ                     KS     22094977829
64318439A72B36   VICTOR          TERRAZAS                  CO     33038974390
6431864442B27B   OLITHA          STEVENSON                 DC     90001216444
6431869A661936   TIMOTHY         LEONARD                   CA     90012846906
64318A5A661936   EDGAR           ABARCA                    CA     90013910506
64319335372B27   RUBEN           HERRERA                   CO     90014703353
64319849A51337   VICTOR          MENDOZA                   OH     90013348490
6431B17A172B29   ROGER           SHEFF                     CO     90014821701
6431B57347B46B   NORMA           GARCIA                    NC     90013355734
6431B626191562   JOSEPH          MEDINA                    TX     75097656261
6432191854B588   MOSS            KEN                       OK     21589029185
64322418172B36   MARIA           VILLEGAS PALOMINO         CO     33036554181
643238A218166B   PABLO           CALLES                    MO     29043638021
6432398755B235   JOHN            BOYLE                     KY     68083069875
64323A73681644   RAE             LOE                       MO     90007600736
6432427A361964   ULISES          FLORES LARIOS             CA     90013002703
64324326887B31   TANISHA         WEATHERSPOON              AR     90013343268
64324855772B43   KEITH           FELLS                     CO     33077488557
6432485A455973   CHARLEEN        BRADFORD                  CA     90014068504
643249A1591998   OSMAYDA         GARCIA M                  NC     90012189015
643283A5A81644   JULIA           GLOVER                    MO     29039353050
6432881378B168   JOSH            GARZA                     UT     90009458137
64328973224B64   KENNETH         WILLIS                    DC     90014599732
64328A6A25B221   MICHALA         TEELUCKSINGH              KY     90007720602
64328AA5291562   PATRICIA        GOMEZ                     TX     75018670052
6432939157B46B   KASHONNA        WILSON                    NC     90013433915
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 417 of 2350


6432B338887B31   DEBRA         TAYLOR                      AR     90007413388
6432B45A22B27B   MYKEDA        SMITH                       DC     90001984502
6432B641851337   LEAH          STIDHAM                     OH     90011026418
6432B653524B6B   MARCO         REYES                       VA     90007536535
6432B711861961   MARIA         AMEZCUA                     CA     46089407118
64331416A85689   OLIVER        GOMEZ                       NJ     90009134160
643315A3791562   ERIKA ANNY    AIZA                        TX     90010345037
643315A8791562   ANGELA F      SANCHEZ                     TX     90012785087
6433275455416B   KRISTINE      KING                        OR     90011927545
643327A8561924   JAHMILAH      ROSS                        CA     90014317085
64332819A72B36   ASHLEY        LUCERO                      CO     90001698190
64332982A55973   LYDIA         ORTIZ                       CA     48072879820
64332A43187B31   NECOLE        BARBER                      AR     90010990431
6433389124B27B   NORTH         STARR                       NE     90014638912
64333A63736B93   LUCIA         MARTINEZ                    OR     90012300637
6433443624B261   JULIE         ANDERSON                    NE     27090674362
64335218536B93   COLLEEN       SMITH                       ID     44516282185
6433573A591522   BRENDA        OLIVAS                      TX     90009507305
6433587325B235   BETTY         PICKENS                     KY     90010218732
643358A857B46B   GREGORY       HOWARD                      NC     90000638085
6433593213B39B   ROBERT        SENA                        CO     90010929321
64335941A85689   SHANNON       LORE                        NJ     90014839410
6433635213B335   GERALDINE     LOPEZ                       CO     90013673521
6433658A42B27B   ABDULLAH      NOORISTANI                  DC     90009805804
64336664976B49   COURTESY      PHONE                       CA     90009116649
64337445824B64   RAFAEL        RAMOS                       VA     90000854458
64337535A81675   EDUARDO       SILVAN                      MO     90012905350
6433867475416B   JOHN          LE MAY                      OR     47070006747
6433877795B235   ANDREA        MCDONALD                    KY     90000457779
6433918A52B27B   NATAUSHA      JONES                       DC     90004601805
6433942A45B531   PEGGY         GONZALES                    NM     36003074204
6433962755B235   DOMINIQUE     MARTIN                      KY     90015166275
6433979A561961   CARINA        AQUINO                      CA     90014857905
6433B178961936   CHRISTOPHER   BURGESS                     CA     90013781789
6433B188663646   ASHLEY        KOHL                        MO     90004771886
6433B629861961   NORA          AROCHO                      CA     46076896298
6433B741172B27   MARIA         GUADALUPE                   CO     33002117411
6433B744891522   CELESTE       SANTOS                      TX     75062087448
6434261474B53B   GINGER        MAGILL                      OK     90005586147
64342731172B36   JULIO         GARCIA                      CO     33025887311
64342836A57555   ADAN          LEWIS                       NM     35565228360
643428A5655975   GILBERTO      MARTINEZ                    CA     90013098056
64342A16151338   MOISES        MENDOZA                     OH     66089650161
64342A6A185689   ELIZABETH     ALICEA                      NJ     90012860601
6434312A957555   MICHAEL       RODRIGUEZ                   NM     35566031209
64343627872B29   MICHAEL       CARMA                       CO     90013016278
64343653A57555   KENNETH       TEAGUE                      NM     90014946530
64343957A57555   BOBBY         MENDOZA                     NM     90012429570
643439AA372B29   KENNY         LOZANO                      CO     90014949003
64343A1A15B241   RHONDA        GOODMAN                     KY     68038310101
6434631344B588   CALVIN        SANDERS                     OK     90014123134
6434649715B921   SCOTT         ALLEN                       ID     90008074971
64346573972B36   ISAIAH        JOHNSON                     CO     90012825739
64347771676B49   MARTIN        HEARD                       CA     90001277716
64348284A81675   KANTINA       FRANKLIN                    MO     90010242840
64348319676B49   ROGELIO       MENDEZ TORRALVA             CA     90015163196
6434853597B46B   IMELDA        SANCHEZ                     NC     90012685359
64348694A72B36   BRAD          CRIMMINS                    CO     33092206940
6434883AA91562   ROCIO         DE LA CRUZ                  TX     90013978300
64348A1822B956   ROSENDO       VEGA                        CA     90012530182
64348A6734B588   MARIA         CASRTO                      OK     21590950673
64349775A85886   ALEJANDRO     DE LA MORA                  CA     90014187750
6434B11178B168   VALERIA       SANCHEZ                     UT     90011141117
6434B133581644   TERRA         BLAIR                       MO     90014651335
6434B28664B588   VIVIANA       EVANS                       OK     90014122866
6435169225B271   SHELLEY       ZOELLER                     KY     68095726922
64352A12485886   JUAN          MEJIA                       CA     46085560124
64352A48684392   MIRANDA       MILLER                      SC     90014120486
64354A47281675   JOSE          GONZALEZ                    MO     90015130472
6435589418B168   JOSE          SILVA                       UT     31081238941
64355984572B36   MELINDA       GOMEZ                       CO     90000879845
643559A875B241   JESSICA       SANDERS                     KY     90004029087
6435652842B27B   VERONICA      HUNT                        VA     90001635284
643576AAA55973   ALMA          CORDOVA                     CA     90008396000
643583A434B27B   MAGDANELA     VILLEGAS                    NE     90014893043
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 418 of 2350


64358534A85886   DOMINGO      JIMENEZ                      CA     46050105340
64359232872B36   MANAL        GADALLAH                     CO     90015132328
64359965A3168B   KUANA        WILLIAMS                     KS     90014779650
64359A2594B268   VIKTORIYA    PHILLIPS                     NE     27057400259
6435B546171968   JORDAN       RESCHKE                      CO     90013845461
6435B643751338   KRISTEN      STITZEL                      OH     90014876437
6435B747772B27   ODESSA       PACHECO                      CO     90002497477
643611A7571968   JOHN         WILLIAMS                     CO     90007321075
64361343672B43   BRUCE        HILL                         CO     90010793436
643619A4571968   VIEANE       PENA                         CO     90010669045
6436222914B588   TAWANA       DAVIS                        OK     21580642291
6436257A355977   CINDY        RODRIGUEZ                    CA     49067025703
64363221472B29   ANA          ANDRADE TELLEZ               CO     33066842214
6436333485B241   CYNTHIA      MURPHY                       KY     90012673348
6436397335416B   JACQUELINE   CARPER                       OR     90013379733
643641AA855975   ADELFO       GOMEZ                        CA     48000101008
6436536A54B588   THOMASINE    GRASS                        OK     21510663605
6436545297B46B   HARRY        JAMES III                    NC     11085224529
6436565A661961   SVETLANA     POPA                         CA     90015146506
6436579A24B27B   MALLORY      MARSH                        NE     90013627902
643658AA691522   PRISCILLA    FLORES                       TX     90004778006
64365A75461964   CECELIA      BAUSELL                      CA     90013970754
64366281672B27   SEFERINO     HERRERA-GALLEGOS             CO     90006202816
6436645634B27B   MEG          LARSEN                       NE     90014914563
6436721A384392   KWANDRA      JOHNSON                      SC     90013612103
643676A8561961   B ARACELI    DANIELS                      CA     90012446085
64367989672B27   JOLEEN       LUFT                         CO     90013709896
64367A1A372B43   CECILLE      SUTTON                       CO     90010990103
6436813A885689   MARIO        MARURI                       NJ     90014751308
64368197A91998   ANDREA M     BATTON                       NC     90003401970
64368327272B43   LAURA        LAMOUREAUX                   CO     90014013272
6436866284B27B   CLAUDIA      ARVIZU                       NE     90013196628
64368832A5416B   MARIA        RODRIGUEZ                    OR     47067068320
64368882972B27   OSCAR        ARIAS                        CO     33065368829
64368A7177B46B   KELLY        MURDOCK                      NC     11068700717
64369846172B29   KAREN        MCDERMITT                    CO     33005908461
64369AA6191522   MARK         CERVANTES                    TX     90010770061
6436B2A3255975   SALVADOR     CISNEROS                     CA     90010802032
6436B326485689   JULINA       VARGAS                       NJ     90014593264
6436B383855977   ALEX         SANCHEZ                      CA     90014713838
6436B779885886   ALEJANDRO    DE LA MORA                   CA     90014187798
64371986472B43   JOEY         BANEULOS                     CO     90014229864
64371A51561961   ROBYNIQUE    BROWN                        CA     46091820515
6437212265B235   JULIE        MOODY                        KY     68067221226
6437325A872B36   VERONICA     GONZALEZ                     CO     33011992508
643732A7A4B268   TERESA       MYERS                        NE     90004092070
64373481A72B29   JAINE        EVERHART                     CO     90003354810
6437364365B271   NAZARIO      MENDOZA                      KY     90013376436
64374251A87B31   DANA         BECK                         AR     90015322510
643751AA43168B   KRISTIN      MCANALLY                     KS     90011001004
643755A6481675   ANTONIO      HARRIS                       MO     90009055064
643758A4472B27   TAMMARIA     MORGAN                       CO     90014168044
64375A8A151338   TIM          MAKLEM                       OH     90008370801
6437629115B235   NIGHYA       WRIGHT                       KY     68065502911
64376675672B43   VILMA        RAMIREZ                      CO     33077756756
64376A6537B46B   MARIA        MONTOYA                      NC     11023700653
64376A7315416B   SONIA        VILLAVICENCIO                OR     90014600731
64377653272B29   MONEE        BIRCH                        CO     33037496532
64378375672B36   ASPEN        BABB                         CO     90001543756
6437862A876B49   NUVIA        MORAN                        CA     90012206208
64379917287B31   VICTORIA     EVANS                        AR     90009879172
6437B163876B49   MARIBEL      CAMBEROS                     CA     46001981638
6437B193891522   MARIA        NAJERA                       TX     75030641938
6437B612733698   ANGELIA      YORK                         NC     90005276127
6437B648161961   JUAN         PRADO                        CA     90011876481
6437B6A1355977   KONG         YANG                         CA     90012446013
6437BA5934B27B   T            GRAY                         NE     27007040593
6437BAA1141261   NICOLE       FELDMANN                     PA     51018330011
643812A3881675   SHENIA       DAVIS                        MO     90009342038
6438147A161936   MARTHA       MURILLO                      CA     90009184701
6438243A455973   RICARDO      MORENO                       CA     90013334304
6438273A324B64   WILLIAMS     OLIVER                       VA     90013387303
64382834A5B231   WILDA        HATHCOCK                     KY     90014878340
64382A8A191562   RUBEN        MARTINEZ                     TX     75004960801
643832A9761964   PHILLIP      MARABLE                      CA     90009232097
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 419 of 2350


6438364165B241   DEKEYBREEON          JONES                KY     90008956416
6438384195B531   AMELIA               MATA-BLANCO          NM     36080088419
64384122676B49   GARY                 TORREZ               CA     90008791226
6438435682B27B   ALISHA               VOLLMER              DC     90013473568
64384624A36B93   PETER                PAUN                 OR     90015216240
6438559644B27B   DEIDRA AND TIFFANY   RODZIELSKI SHESTAK   NE     90014675964
64385839472B29   DORA                 SCHAUSS              CO     33068008394
64385A8865B395   MELISSA              BEAVER               OR     90011610886
64386329A51337   TOMY                 ROBINSON             OH     90013933290
64386A78125236   KENYA                DALE                 NC     90005220781
64387651A85689   TAMEKA               BRYANT               NJ     90005226510
643878A1987B31   MELISA               BURNS                AR     28028188019
64387A8277B46B   SHAQUAL              BARRET               NC     90007860827
64388618772B36   MISAEL               MATA-CHAVEZ          CO     90004956187
643886A1785689   ADELA                MAZAVIEGOS           NJ     90001586017
64388728987B31   LARRY                GLASCO               AR     90012557289
643896A1585689   JOVANA               RIVERA               NJ     90011306015
64389769472B43   MIKE                 CHAVEZ               CO     33012997694
64389A9195416B   MARIA                CONTRERAS MARTINEZ   OR     47029570919
64389AA4791572   MANUEL               CANTO                TX     90007250047
6438B75187B46B   MIKE                 WASHINTON            NC     90013867518
6438B852663646   ALANA                JORDAN               MO     90012268526
6438B859291522   ANA                  QUEZADA              TX     75024168592
6438B87A872B29   JOSE                 ROCHA                CO     33011718708
6438BA74671968   VENESSANNA           ITUGBU               CO     32081780746
64391348376B49   MARTIN               MORA                 CA     90015163483
64391522A61961   ENRIQUE              GARIBAY ANGULO       CA     90014445220
6439216345B235   SATURNINA            VILLALOBOS           KY     68060471634
64392321A2B27B   SHAUNICE             CRAMPTON             DC     90003403210
643923A817B46B   RONNIE               HARRIS               NC     90005013081
6439246955B271   TAMMY                TOWNSEND             KY     90006924695
643929AA561961   DORA                 FIERRO               CA     90012569005
6439345282B27B   JOYCE                SWAILES              DC     90013414528
64394557A72B36   YOLISBET             CALRBAJAL            CO     90000625570
64394A35A55975   JOHNNY               CISNEROS             CA     48048110350
64394A65851338   VICENTE              CAMPOS-RAMIREZ       OH     66093720658
64394AA335B235   DANIELLE             WILLIAMS             KY     90007240033
6439543654B53B   SHELIA               RAINGER              OK     21518604365
6439649814B27B   LATYZA               MABEN                NE     90014044981
6439653942B27B   FINESSE              GRAVES               DC     90011225394
643978AA455975   NICOLE               GUERRERO             CA     90014198004
64397A72561936   HEATHER              WRIGHT               CA     90003950725
6439896724B588   MARIO                RODRIGUEZ            OK     90010019672
6439958584B559   CARL                 SWANSON              OK     90002265858
643995A194B27B   MARIA                INIGUEZ              NE     90013975019
643996A2872B29   MELIA                YELVERTON            CO     90011356028
6439B13A685689   GLORIMAR             SOTO                 NJ     85014801306
6439B45724B27B   BEVERLY              HARRISON             NE     90007764572
6439B55935B241   RACHEL               MCEROY               KY     90012435593
643B1484891998   CORY                 BARNES               NC     90013994848
643B1536655973   DONNA R              GRINIS               CA     90003305366
643B191928B168   TRAVIS               GAY                  UT     90008059192
643B19A5872B29   SAN JUAN             TAFOYA               CO     33073169058
643B239467B48B   LATANYA              CORBETT              NC     11091883946
643B2431755975   LORENA               RAMIREZ              CA     90012054317
643B294435B235   MARY                 UNSELD               KY     68099119443
643B2954955973   ANGELICA             SANTOS HARO          CA     48024349549
643B327425416B   CORRINA              DISHON               OR     90013192742
643B3987663646   JONATHAN             JONES                MO     90012149876
643B4458761964   RODRIGO              AYALA                CA     90005614587
643B4485261961   VIVIANA              GONZALEZ DE ANDA     CA     90014904852
643B458A957127   VARNEY               KIADII               VA     90008455809
643B4A64172B36   JOYCE                MONTOYA              CO     90012300641
643B5134385689   ELIOS                MARTINEZ             NJ     90012341343
643B5555655977   PEDRO                ZEPEDA               CA     90009785556
643B5895191562   OSCAR                ONTIVEROS            TX     75018958951
643B5941961961   JOSHUA               SUMMERS              CA     90012789419
643B5A1687B479   AMICA                GILBERT              NC     11005280168
643B5A18A91998   DURIUS               NOEL                 NC     90014570180
643B6414561961   JESSICA              BAUTISTA             CA     46013244145
643B6711291998   TITUS                YOUNG                NC     90010717112
643B6A4423168B   JORDAN               BERGMAN              KS     90010910442
643B7139151338   CAROL                NELSON               OH     66038141391
643B752A755975   JENNIFER             FERNANDEZ            CA     90005175207
643B769448B168   CONNIE               WALLENTINE-GOSS      UT     90011216944
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 420 of 2350


643B7A3885416B   BRIAN        MCCLAY                       OR     47023290388
643B8169172B29   ZULEMA       LOPEZ                        CO     33046371691
643B81A2372B27   MARCELA      SAUCEDO                      CO     90003831023
643B8221355977   DARREN       SANDUSKY                     CA     90013072213
643B8319A51338   SETH         PETERS                       OH     90012223190
643B83A355B241   DONALD       DALTON                       KY     68064413035
643B9295785886   JUAREZ       JUANIT                       CA     90006522957
643B9418455977   MARIA        LOZA                         CA     90014294184
643B97A787B46B   FEDD         PULIDO                       NC     90012177078
643BB17A991522   SANDRA       NUNEZ                        TX     90013701709
643BB4A8576B49   ARACELI      CASTILLO                     CA     90015144085
643BB86AA76B49   CRISTEL      BLANCO                       CA     90014188600
643BB89A15B241   STEPHANIE    DUNN                         KY     68039828901
643BBA28751338   MICHEAL      WYSONG                       OH     90013550287
64411AA875B271   BLACK        LION                         KY     90003860087
64412537172B36   CARLOS       CHAVEZ                       CO     33007065371
64413141672B43   HANNAH       JULIANO                      CO     90001841416
64413753472B29   GLORIA       HERNANDEZ                    CO     90010637534
64414944676B49   ELISEO       VARGAS                       CA     90001389446
64415278A61936   JASON        LOCKLAR                      CA     46003762780
64415536A71968   CHARLOTTE    ALVARADO                     CO     32029605360
64415966672B43   ARTURO       QUEZADA                      CO     90012679666
64415A92972B27   DANIELLE     ZABORSKY                     CO     90014330929
6441624A857555   TADEA        ALAMANZA                     NM     90004682408
64416817A72B43   JASON        PEREZ                        CO     90014628170
64416928187B31   CARLOSS T    GILL                         AR     90014619281
64416959A5B241   NATASHA      CARDONA                      KY     90001839590
64417564898B22   JOSE         LEON                         NC     90005515648
644178A1151338   JACK         MARTIN                       OH     90013348011
64417A94461936   ANDREW       NEGRETE                      CA     90011160944
64418A9964B27B   MICHAEL      WHITE                        NE     27005390996
6441974A563646   AMANDA       ONGER                        MO     90011487405
64419797A71968   JOANN        MARTINEZ                     CO     90008337970
64419973224B64   KENNETH      WILLIS                       DC     90014599732
6441B336191998   BEATRIS      LAZARO                       NC     17041223361
6441B385687B31   BARBARA      BELL                         AR     90013353856
6441B87A955975   DESTINY      GALLEGOS                     CA     90004708709
6441B884491522   MONICA       GARCIA                       TX     90011678844
6441B989761936   MAYRA        PEREZ                        CA     90012399897
6441B9A4681675   MARCIA       VANDERGRIFF                  MO     29066999046
64421515A71968   AUTUMN       NELSON                       CO     90013225150
644217AAA55973   NORMA        PEREZ                        CA     90014107000
644233A8384392   CARLISHA     COARDES                      SC     90011233083
64423566A72B27   SHERYL       SORIANO                      CO     90013385660
6442476944B582   KIMBERLY     HENDERSON                    OK     90011007694
64425158972B27   ANDREW       VERKAIK                      CO     90012701589
644256A6191562   JOEL         SANCHEZ                      TX     90015166061
6442599A33168B   LAQUINTA     STIGER                       KS     90012039903
6442753895B235   COBY         STEVESON                     KY     68099235389
6442763232B27B   NEBIYOU      TADESSE                      DC     90003356323
64427A82376B49   MARIA        REED                         CA     46056730823
6442842A284392   FRANCISCO    REYES                        SC     90012664202
6442887665B53B   CARIN        COFFEY                       NM     90007778766
64428882A72B29   REUEBEN      BENAVIDEZ                    CO     90013708820
64428A56A81644   CHRIS        SIMS                         MO     90015330560
644292A634B268   STEPHLYNN    MITCHELL                     NE     27015982063
64429674972B43   JENNIFER     TROMBI                       CO     90013126749
64429928187B31   CARLOSS T    GILL                         AR     90014619281
6442B16374B27B   JUAN         MORAN                        NE     27087531637
6442B187881644   RACHEL       HAMM                         MO     29015491878
6442B35632B269   KIESHA       RAYFIELD                     DC     90012553563
6442B6A564B588   ISREAL       CARRILLO                     OK     21514776056
6442B963A5416B   DANIEL       CROY                         OR     90003899630
6443111253168B   BRET         MOORE                        KS     90012651125
6443113A485689   SHEENA       HUNT                         NJ     90013041304
64432284572B36   SAMANTHA     ARROYO                       CO     90013812845
6443263A161964   AIOTEST1     DONOTTOUCH                   CA     90015116301
6443272345B235   MAURICE      GOODMAN                      KY     90010477234
64432A45391998   LESLIE       JATTA                        NC     90006240453
6443316A74B268   BEATRIZ      DOMINGUEZ                    NE     27097131607
64433173A91562   RAYMOND      ARIAS                        TX     90012591730
6443422A54B588   KRISTIN      WARD                         OK     90010212205
64434978A4B27B   AMBER        HOLSAPPLE                    NE     90013649780
64434A84291562   JUAN         LEAL                         TX     75069950842
6443516918166B   HITCHCOCK    HERMAN                       MO     29094351691
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 421 of 2350


64435352776B49   SUSANA           MARCIAL                  CA     90015163527
6443712235416B   JUSTIN           BLOMKVIST                OR     90014131223
64437352776B49   SUSANA           MARCIAL                  CA     90015163527
6443745A372B36   CAMERON          GUSE                     CO     33045004503
644377AAA51337   ANTHONY          DILLINGER                OH     90011127000
644379A1755977   DOMINGO          QUINTANILLA              CA     90011459017
64437A8155B389   LASHA            DEBOARD                  OR     90011060815
64438387672B43   RUSSELL          HEINRICHS                CO     90010273876
6443874325B235   ANTOINETTE       HOUSE                    KY     90002627432
64439122A4B588   ALAN             REGALADO                 OK     90010021220
64439236A71968   CRYSTAL          LEHRMAQN                 CO     90015332360
64439591A63646   TASHERA          MORGAN                   MO     90011015910
6443B676684356   TRACY            LUCAS                    SC     90008166766
644413A1872B43   MARIBEL          MANRIQUEZ                CO     90015113018
64441777587B31   JAMES            COLEMAN                  AR     90011307775
6444274982B27B   ELLSWORTH        RUCKER                   DC     90014127498
64442A76455975   JESUS            COVIAN                   CA     90005780764
644435A4A71968   JEROLD           ROSKIN                   CO     32094545040
644436A6872B29   CLAUDIO          GARCIA                   CO     90009206068
64443A95A81671   LISA             BRADLEY                  MO     90003350950
644446A5171968   VICTOR           ESCARCEA                 CO     32092846051
644455A1261961   RIA              BOLT                     CA     90003445012
6444613173168B   JUDITH           STROUD                   KS     90013641317
64446738772B27   IRYNA            KOCHUBEY                 CO     33083337387
6444687535416B   ETHAN            GALLOWAY                 OR     90013698753
64446A19981675   MATTHEW          RUSSELL                  MO     90013620199
6444733145B235   HEATHER          WRIGHT                   KY     90013323314
6444741995416B   DIANE            WIRFS                    OR     47029514199
64447643672B29   FLOYD            HICKS                    CO     33070286436
64447A65255975   TERESA           LOPEZ                    CA     90015060652
6444855A461936   MELISSA          ARAGON                   CA     46052775504
6444B223861964   MANUEL           MARTINEZ                 CA     46055092238
6444B511663646   MICHAEL          STATLER                  MO     90013705116
6444B5A725B235   MELISSA          TERRY                    KY     90009685072
6444B654741261   JONATHAN         BUTTER                   PA     51004766547
6444B692791998   SHONTA           PARSON                   NC     90014346927
6444B923772B36   WILSON           HOLLIE                   CO     33045979237
6445145335B271   WILLIAM          BROWN                    KY     90006754533
64451956976B49   JESSAMYN         ORANGE                   CA     46074499569
64453A68885689   ASHLEY           FELICIANO                NJ     85074130688
644542A1191522   SERGIO           CHAVEZ                   TX     75064892011
6445458473168B   KENYA            SMITH                    KS     22068715847
644546A2261936   SONIA            HERRERA                  CA     90014766022
6445472A785689   RENEE            FAISON                   NJ     90013037207
64454846972B27   DARIUS           WYNN                     CO     90007548469
64454A99161964   RAMON            AHUMADA                  CA     90003370991
644558A7681687   LASHON           CARSON                   KS     90009238076
6445672222B27B   KENDRA           RICHMOND                 DC     90009787222
64456A2375416B   RACHEL           BROWN                    OR     90012630237
64457374176B49   LEYVI            VASQUEZ                  CA     90015163741
6445767A68B172   CLINTON DEANNA   CHATWIN                  UT     90010636706
6445878942B27B   SHARIFA          THOMAS                   DC     81016287894
64459324524B34   STEPHANIE        RAHMAN                   VA     90013683245
644599A7663646   DARRELL          LINSON                   MO     90013239076
64459A98284392   REBECCA          HERNANDEZ                SC     90007700982
6445B264751338   SHARON           LUMPKIN                  OH     66005432647
6445B485672B27   SCOTT            SANDS                    CO     33052514856
6445B561381675   JOHN             ANAYA                    MO     90010415613
6445B674585689   KIA              MAVEN                    NJ     90014746745
6445B6A2261936   SONIA            HERRERA                  CA     90014766022
6445B727155977   ANGEL            VANG                     CA     90012347271
6445BA59172B36   MARTHA           JUAREZ                   CO     33013320591
64462A82571968   SHANEL           ROBERTSON                CO     90013670825
64463444572B29   DEBBIE           VIGIL                    CO     90014594445
6446363285B241   MEDOZA           MEDOZA                   KY     90012996328
6446413282B27B   GREGORY          JACKSON                  DC     90006621328
64464442372B29   RAMONA           MARRON                   CO     90013304423
6446468877B46B   AMELE            BIRARA                   NC     90014196887
6446554684B588   JOSE             MEDRENO                  OK     21580805468
644656A5655973   JESUS            GUERRERO                 CA     90013766056
644659A6472B29   RICHARD          MARTINEZ                 CO     33003439064
6446614A781644   LEROY            AYERS                    MO     29067261407
644662A725B921   CATHY            MCCOY                    WA     41005852072
64466573272B43   PAUL             GABEL                    CO     33006905732
6446738197B46B   ADRIAN           MANZO                    NC     11094413819
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 422 of 2350


644684A4171968   BERNARDO         NOLAZCO                  CO     32005304041
6446852A93B394   PAUL             DELEON                   CO     33081325209
64468722672B27   ARMONDO          BLANCO                   CO     90007047226
64469A56597127   JUSTIN           IVEY                     OR     90011800565
6446B1A6355973   KRYSTINA         METZ                     CA     48035541063
6446B684151338   PHYLLIS          PERRY                    OH     66017956841
6446B6A2261936   SONIA            HERRERA                  CA     90014766022
6446BA95655975   GRACE            RODRIGUEZ                CA     90011410956
6447187737B329   DONALD           IVERY                    VA     90007448773
64471A71985886   ARNULFO          GARCIA                   CA     46087160719
64472375272B27   SONIA            MARTINEZ                 CO     90012503752
6447294765B241   JOSH             COOPER                   KY     90013119476
64472A58872B43   LAVINA           GIOIA                    CO     90012830588
6447329242B27B   JORDAN           JAMES                    DC     90013872924
64473A33381675   MARGARITA        SUBIA                    MO     90001650333
64473A63163646   SARAH ANN        PROCTOR                  MO     90014560631
64474A33761936   ELIZABETH        YANEZ                    CA     46052760337
6447517695B235   MARK             BERTRAND                 KY     90012831769
64475578972B43   SANTITOS         BANUELOS                 CO     90007805789
6447642A591998   HECTOR           ESPARZA                  NC     90012684205
64477271987B31   TANESHA          BURNETT                  AR     90009342719
64477A73963646   NICOLE           HANSON                   MO     90014730739
64477A75971968   MARY             WILSON                   CO     32003430759
64478133336B93   PIOTR            CONSTANTINOV             OR     90013181333
6447858A741261   SUEANN           BOSTARD                  PA     51041705807
6447859365416B   DAGMAR           ARBOGAST                 OR     90010725936
64478639476B49   CODY             CRUZ                     CA     90007896394
6447932A657555   CLAUDIA          VEGA                     NM     35531053206
64479935472B29   CRYSTAL          CAMPBELL                 CO     33016499354
6447B4A2891521   CARLOS           CHAVIRA                  TX     90014124028
6447B522785689   LUIS             LOPEZ                    NJ     90007175227
6448154125416B   STEPHANIE        GILLISPIE                OR     47009435412
64481961372B36   MICHAEL          DURAN                    CO     90011889613
6448256595B235   MARK             ELDRIGE                  KY     90014955659
644826A5751337   DONALD           BROOKS                   OH     66066766057
6448315378B168   ALONZO           RILEY                    UT     90011321537
6448339825416B   DWAYNE           THOMAS                   OR     47091733982
6448459A372B27   MICHAEL          OZAWALD                  CO     90008295903
644847A1471968   ANGELA           VALDON                   CO     32046497014
64484A97261936   OLIVIA           HURTADO                  CA     90014870972
6448536362B27B   GLENN            MARCUS                   DC     81060923636
6448673A725236   DEA              ROSE                     NC     90010857307
6448771A524B7B   KHLOE            HILL                     DC     90010847105
644877A3581675   PATRICIA         STEVENS                  MO     29072267035
6448798446193B   JOSE             LOPEZ                    CA     90006849844
64488441487B31   ELLISE           TUCKER                   AR     90015044414
644886A7324B47   GLENDA           RAMOS                    DC     90008026073
64488996972B29   JOSE ALEJANDRO   LOPEZ                    CO     90010119969
64489717A5B536   CONNIE           MONTES                   NM     90007367170
64489758A72B27   ROMNEY           MARQUEZ                  CO     90012047580
6448B26A187B31   JAMILLIA         EAKES                    AR     28084462601
6448B458A8B168   TROY             JACKSON                  UT     31059014580
6448B952887B31   ANGELINA         FAIR                     AR     90014859528
6448B9AAA81644   RICARDO          GACHUZ-MIRANDA           MO     90003509000
644911A6455975   LESLIE           CHANDLER                 CA     48035451064
64491278372B27   JACQUELINE       CRUZ                     CO     90011382783
6449128488B168   MIKE D           QUINLAN JR               UT     90010072848
6449232735B241   AMY              BAKER                    KY     68053133273
644925A8972B29   SERGIO           GONZALEZ                 CO     33008115089
6449281425416B   PHILIP           COOK                     OR     47087958142
64494168672B43   MARIA            OLIVER                   CO     90014961686
64494282A84392   RITA             ELMORE                   SC     90014602820
64495163872B43   AMANDA           MENDOZA                  CO     90014431638
644951A4184392   JOCELYN          WILSON                   SC     90005031041
6449541A972B43   ANISSA           LUCERO                   CO     90010694109
64495A2A772B27   MARIE            ROBLES                   CO     33068980207
644961A3355975   SERGIO           RAMIREZ                  CA     90011191033
64496283A61961   THERESE          DUSENBERRY               CA     90012662830
6449658325B921   RENEE            ZIMMERMAN                WA     90015535832
64496629872B29   RUBY             ALFARO                   CO     33052846298
6449681138166B   MICHAEL          SCOTT                    MO     90001068113
64497A72A57555   JOSE             MADRID                   NM     35589760720
6449964857B46B   WILLIAM          FUSSELL                  NC     90013336485
6449B194791535   CARMAN           NERIA                    TX     90011521947
6449B51678162B   CASSIE           JOHNSON                  MO     90009745167
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 423 of 2350


6449B567963646   CARISA        HITE                        MO     27502525679
6449B72892B27B   ARDELIA       WEST                        DC     90001257289
6449B797184392   MARY          CUYLER                      SC     19008607971
6449B814885689   CLARISSA      COSSABON                    NJ     90012308148
6449BA42651337   JOHNNY        JACKSON                     OH     90011530426
644B123155B531   ZULEMA        RODRIGUEZ                   NM     36026772315
644B1758A55975   MARIA         MORALES                     CA     90012107580
644B219535B235   LATANYA       SMITHERS                    KY     90005371953
644B245A571968   THERESA       AGUILAR                     CO     90010004505
644B2653687B31   RESHA         TAYLOR                      AR     90014616536
644B2853572B43   ALEJANDRINA   SANTANA                     CO     90015078535
644B2897125236   DENIZ         TAYLOR                      NC     90011138971
644B2935351338   WILLIAM       RAINS                       OH     90008619353
644B35A7787B31   BRANDY        WILSON                      AR     90014625077
644B3627372B29   JENNIFER      DURBIN                      CO     90011356273
644B3757761964   SUEMYRA       SIERRA                      CA     90012677577
644B3955981644   CHANITA       BYNUM                       MO     90010999559
644B3957651338   SEAN          BECK                        OH     90010969576
644B3A87A76B49   GABINO        CRUZRAMOS                   CA     90011930870
644B4465363646   CAROL         CAMPBELL                    MO     90015494653
644B484325B235   JEROME        LOUIS HARRIS                KY     90003948432
644B4877781644   CATHERINE     WARNER                      MO     29042818777
644B4A81763646   AMANDA        STEMMLER                    MO     90012670817
644B516A957555   MIREYA        HERNANDEZ                   NM     90008921609
644B536857B46B   SHEILA        HUNTLEY                     SC     11088123685
644B547714B268   RICHARD       LEWIS                       NE     27080094771
644B552A34B27B   KEVIN         STRONG                      NE     90004095203
644B5748391998   JAMES         POLK                        NC     17054887483
644B629962B27B   TIFFANY       BARBETT                     DC     90012062996
644B6675855973   CATHY         REABOLD                     CA     90013566758
644B6962291998   LATASHA       WING                        NC     90011209622
644B6A98863646   RYAN          PERREY                      MO     90001810988
644B8521872B36   EDGAR         PENA                        CO     90010735218
644B8661184392   DEJA          FICKENS                     SC     90013436611
644B9583491998   MARTIN        PADRON                      NC     90015415834
644BB128A55977   ANDREA        RUIZ                        CA     90012111280
644BB415572B93   MARCIA        GONZALES                    CO     90011834155
644BB693A61936   JESSE         WYRICK                      CA     90000246930
644BB72374B27B   PATRICIA J    RYTTER                      IA     27034987237
644BB7A5191562   YANET         RAMIREZ                     TX     90012927051
6451154A651338   TERRY         FORSTE                      OH     90013735406
645115A1161961   AZUCENA       VILLAGOMEZ                  CA     90010795011
645122A3763646   TIFFANY       SERRALTA                    MO     90013832037
64512563A85833   DAVID         CHELEMEN                    CA     46008125630
64513588A85689   ELIAS         GARCIA                      NJ     90014905880
64513776472B27   JEFF          COZAD                       CO     33017977764
645138A2284392   NED           WORKMAN                     SC     19074198022
64513A48491522   JESSICA       CARLOS                      TX     75032220484
64514844A8B168   MARLON        HEBRON                      UT     90001868440
64515246372B36   BRETT         ATEN                        CO     90014502463
64515648572B27   ROBERT        JULIAN                      CO     33072856485
6451625A184392   NICHAEL       DORICH                      SC     90002232501
645165AA872B29   RAYMOND       GONZALEZ                    CO     33007405008
64517145376B58   DONNA         GARDNER                     CA     90006441453
64517455A72B93   GUADALUPE     PURYEAR                     CO     90007294550
6451786635B395   JOHN          WOLD                        OR     44572688663
64518217272B27   SEF           GARCIA                      CO     33016952172
6451836544B27B   REBECKA       HERMAN                      NE     90004263654
6451837615B235   CHRISTI       PHIPPS                      KY     90009763761
64518795187B31   VINCENT       PARKS                       AR     90011067951
64518797A76B49   JULISSA       LOPEZ                       CA     90001597970
645192AA441261   TANIS         CHRISTIAN                   PA     90001342004
6451945A871968   JERI          SLOAN                       CO     90008374508
6451966325416B   KITTIE        KNIGHT                      OR     90005726632
64519817387B31   CARLOS        FIJUEROA                    AR     28025828173
64519A83884392   MIYOSHA       JONES                       SC     90014570838
6451B362885689   NAZARIO       SANCHEZ                     NJ     90015023628
6451B64927194B   JOSEPHITA     CHAVEZ                      CO     90010206492
64521313887B31   COURTNEY      NEAL                        AR     90006753138
64521487A63646   PAYGO         IVR ACTIVATION              MO     90007344870
64521564898B22   JOSE          LEON                        NC     90005515648
645218A4381675   DANNY         MOORMAN                     MO     90013848043
645219A6485886   JR            VILLA                       CA     90008589064
64521A19791861   CHRISTINA     ANDERSON                    OK     90013810197
6452244372B27B   LINDA         WHITFIELD                   DC     81016834437
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 424 of 2350


6452248738166B   LADY          C                           KS     90013574873
6452271144B27B   KELLIE        SELBY                       IA     90014727114
64522A6115B271   LAVAR         MCGUIRE SR                  KY     90004780611
64522A79861964   JUAN PABLO    GOMEZ                       CA     90001250798
645236A9471968   MARISELA      FLORES                      CO     32059876094
6452442345416B   JAMES         GOYER                       OR     47037884234
645244A5855983   JOHNNY        DURAN                       CA     90008634058
6452526284B27B   SUZANNE       GLOVER                      NE     90009632628
6452563955B235   MERRY         GOLSON                      KY     90001266395
6452564465B287   MATTHEW       LOWE                        KY     68032086446
64525722A91998   CARLOS        CHAVEZ                      NC     90012997220
6452689955B235   JOHNICE       WAKEFIELD                   KY     90013908995
64526A85324B64   RICHARD       RAYFORD                     DC     90014440853
6452752925416B   MIKE          DUSKA                       OR     90013065292
64527A44291998   ONNALEE       COLAMAIO                    NC     90014090442
6452854A75B531   JOSE          ZAPATA                      NM     36048025407
64528632687B31   STEPHANIE     CAINES                      AR     90014166326
6452873694B27B   EDUARDO       MENDOZA                     NE     90013067369
64529296272B36   BARTON        MCDANIEL                    CO     90012942962
6452937484B27B   SKIELYNN      STEPHENS                    NE     90009263748
64529615387B31   SABRINA       FOJT                        AR     90014166153
6452961717B46B   YAJAIRA       CASERES                     NC     90013696171
6452B648691522   LILIANA       CANALES                     TX     75030026486
6452B71115B241   MIKE          BERRY                       KY     90013627111
6453172735416B   LITTLE        DANIELS JR                  OR     47053697273
64531992A8B168   HEATHER       JO SCHRULL                  UT     90006519920
6453234658166B   JEAN          TRAYLOR                     MO     29037033465
6453244A571968   KATRISHA      LARREAU                     CO     90013934405
64532481772B43   GEBEREHIWE    TSEHUF                      CO     33078434817
6453373818B168   CARLY         PENROD                      UT     90007407381
64533A22491998   DIANTE'       CRUMEL                      NC     90005830224
64533A5435B235   REBECCA       BAYS                        KY     90014250543
645347A3951338   GARY          CARTER                      OH     66009927039
64534A4465B235   DANAE         CALDWELL                    KY     90011340446
64535618472B27   JOSEPHINE     CASTRO                      CO     90015156184
64535A6A185689   ELIZABETH     ALICEA                      NJ     90012860601
64535A88372B29   ANDREA        GIRON                       CO     33083980883
6453676678166B   CHRIS         BOWERS                      MO     90008697667
6453679795416B   GARY          WEBB                        OR     47016357979
6453691784B27B   SHONQUETTA    WASHINGTON                  NE     90013719178
645371A7461936   DARSHELLE     LAMAR                       CA     90005111074
645376A722B27B   EDGAR         LOPEZ                       DC     90009146072
64537954372B29   CATHY         CHAVEZ                      CO     33009819543
64537A47855977   BRITNEY       TAYLOR                      CA     90014570478
64538794876B49   MARTA         LOPEZ                       CA     90011247948
6453893894B27B   SARAH         BROWN                       IA     90007919389
6453893A27B46B   JAMIE         MAILMAN                     NC     90009659302
64538AA8672B43   MEDINA        ESPARZA                     CO     90007580086
64539A2143168B   SHELENA       TREZVANT                    KS     90002680214
64539A6718166B   SHIRLEY       JOHNSONJ                    MO     29073700671
6453B756387B31   JOHN          TAYLOR                      AR     90014167563
6453B7A1772B29   RICHARD       TRUJILLO                    CO     33072237017
6454159735416B   CHEROKEE      HEADY                       OR     90007945973
645417A1391572   VERONICA      LOYA                        TX     90010837013
64541928A55973   JERRY         LITTLE                      CA     90000309280
64541A22884392   CHRISTOPHER   GREEN                       SC     90013370228
645425A8191998   SIESTA        SMITH                       NC     17041945081
645427A9157555   ILSE          QUINONES                    NM     35527627091
64542913572B43   KATHY         NEWTON                      CO     33056409135
64542AA1855977   DANTE         SMITH                       CA     49043220018
6454329242B27B   JORDAN        JAMES                       DC     90013872924
645433A8972B27   PAULA         BACA                        CO     90013813089
6454411885B531   ISELA         GONZALES                    NM     36053421188
6454499174B588   SCOTT         SEMMIONS                    OK     90011009917
64545986172B29   CARLA         HARRIS                      CO     90012329861
64546138372B29   SHANNON       BAKER                       CO     90003221383
64546487887B31   SUSAN         SCALES                      AR     90002934878
64546681A55975   CHRISTINA     VANKIRK                     CA     90013936810
64546686472B27   TAWNY         JENSEN                      CO     90015156864
645468A4885886   MOISES        ORGUNA                      CA     90006268048
64547AA395B235   ERIC          TINNEL                      KY     90012380039
6454883974B268   LACEY         LOPEZ                       IA     90000358397
6454885394B562   GERALD        JOHNSON                     OK     90013568539
64549A84A57555   NORMA         ORTIZ                       NM     90010840840
6454B39AA61936   NAELY         SERRANO                     CA     90012383900
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 425 of 2350


6454B774487B31   ROSEMARY      TOWNSEND                    AR     28084947744
6455141812B27B   ERICK         HERNANDEZ                   DC     90009884181
645514A1A55973   TONIQUE       STOKES                      CA     90001544010
6455152AA81644   LENETTA       YOUNG                       MO     29039325200
64551A17261936   LANE          KEENER                      OR     90001050172
64552691A4B27B   GLADYS        ARIAS                       NE     90013376910
645532AA351338   FERMIN        RAMIREZ                     OH     90007592003
6455345A451337   NICOLE        SMITH                       OH     90010894504
64553521872B36   EDGAR         PENA                        CO     90010735218
64553591287B31   MELISSA       COUSATTE                    AR     90014625912
64553AA8451352   DEIDRE        THOMPSON                    OH     90005850084
6455427A84B588   WENDY         HOUSLEY                     OK     90003952708
64554575672B27   KIMBERLY      HERNANDEZ                   CO     90005835756
6455459A13168B   SAMANTHA      COUNTS                      KS     22093145901
64554699A61936   VERONICA      MANZO                       CA     90009166990
645547A8A57555   MARIBEL       SALINAS                     NM     90011397080
6455551817B46B   LUWANNA       SMITH                       NC     90013975181
6455551935B241   PATRICIA      MCKEEHAN                    KY     90014055193
6455596532B27B   JOSIAH        BURNS                       DC     90011229653
6455629928166B   ALLIA         MAUPIN                      MO     90013352992
6455689394B588   TRIXI         LIERMAN                     OK     90011108939
6455766115B241   MARK          DAUGHERTY                   KY     68075366611
6455779557B46B   FRANCISO      HERNANDEZ                   SC     90004447955
64557A12351338   JYNNA         LEE                         OH     90013480123
6455935695B241   LAWERENCE     SHEPARD                     KY     90012873569
645593A9541261   JILL          NIXON                       PA     51020033095
6455944A491998   PATRICIA      MENDOZA                     NC     90012164404
6455984A276B49   JENNIFER      RIOS                        CA     90009398402
6455986883168B   MISTY         FLORES                      KS     90012058688
6455B564281675   MARCUS        MERIWETHER                  MO     90005435642
6455B64A38B168   ELISA         JENSEN                      UT     90006336403
6455B868461964   CRISTAL       MIRANDA                     CA     90014638684
645611A9876B49   SILVIA        APONTE                      CA     90010021098
6456151874B268   BRITTANY      THURLOW                     IA     27082495187
64561794A63646   ADRIENNE      FINERAN                     MO     90005467940
64561A43572B43   REGINA        MARTINEZ                    CO     33057330435
6456231192B27B   FRANK         CARTER                      DC     90013783119
6456298178B529   ANGEL         PACHECO                     CA     90014169817
64562A88881644   MELISSA       EDWARDS                     MO     29069600888
6456317A172B29   ROGER         SHEFF                       CO     90014821701
645639A6471968   ELENA         REED                        CO     90010669064
64563A41691562   LESLIE        OJEDA                       TX     90012280416
6456418462B248   LATIA         DURRETT                     DC     81009561846
6456418985B241   PAIGE         CLAYTON                     KY     90015111898
645645A6261936   ISAAC         GRIMES                      CA     46011665062
64564955172B29   JUANA         NUNEZ                       CO     90013429551
64564A93455975   ROBERTO       LUENGA                      CA     90002130934
6456597A376B49   ALBERTO       VALENCIA                    CA     90012839703
6456645673B39B   THOMAS        POLLOCK                     CO     33055264567
64566A7375B241   VIRGINIA      JOHNSON                     KY     90012880737
6456764545B235   JANAY         WOOLRIDGE                   KY     90013146454
64568818A5416B   MICHAEL       DUNPHY                      OR     90006118180
64569526A55977   PATRICIA      THOMAS                      CA     90014915260
6456953A75B271   WHITNEY       COX                         KY     68064455307
6456991348B168   KYLE          CHRIS                       UT     90006379134
6456B168887B31   BRIDGETT      TEMPLE                      AR     90010651688
6456B25414B268   MYRTHALA      ROSALES                     NE     27053642541
6456B542898B22   GREGORY       MCPHERSON                   NC     11002725428
6456B675855975   CATHY         REABOLD                     CA     90013566758
6456B75A35B531   NANCY         ALVAREZ                     NM     36018567503
6456B872485689   REBECCA       AMES                        NJ     90012388724
6457133122B27B   JAYSHAWN      ALEXANDER                   DC     90012063312
645715A633168B   CYNTHIA       SMITH                       KS     90006605063
6457189773168B   JOSEPH        MANYAGA                     KS     90010098977
64572123A91562   HILDA         CHAVEZ                      TX     90014441230
64573A3A951338   SHEMAYAH      TAFARI                      OH     90008410309
64573A44387B31   CHRISTOPHER   WHITE                       AR     90011060443
64574228A55975   SERGIO        GONZALEZ                    CA     90014022280
6457423687B46B   FRACSER       LORENZO                     NC     90010402368
6457463694B53B   TINA          WILLIAMS                    OK     90013146369
64574737172B43   JULIE         DELGADO                     CO     33005037371
64575A26A4B532   CASSANDRA     WILLIAMS                    OK     90011700260
64575A4315B235   THOMAS        ODELL                       KY     90012060431
64575A8A44B27B   RAFAEL        ENRIQUEZ                    NE     90008450804
64576459A72B29   JESSE         THOMAS                      CO     90013784590
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 426 of 2350


64576584A91998   SABRINA      WHITLEY                      NC     17077805840
6457687892B27B   MICHAEL      JONES                        DC     90010118789
64576A47433698   LARETHA      GLADDEN                      NC     90011390474
6457736852B27B   JACQUELINE   MITCHELL                     DC     81057383685
64577A6985B241   MARGARET     PERRIE-WHITE                 KY     90011920698
6457816653619B   CYANNA       DELOS SANTOS                 TX     90013421665
645783A8A91562   CARLOS       MARTINEZ                     TX     90014523080
6457888474B268   JESSICA      RILEY                        NE     27086348847
64578A1454B27B   SHANTEL      LOUIS                        NE     90014800145
64578A91572B27   JESUS        GARCIA                       CO     33044630915
6457998732B27B   CHENOKI      WILLIAMS                     DC     90015019873
6457B233555973   RACHELLE     LOPEZ                        CA     90009312335
6457BA63971968   JACINTA      LOVATO                       CO     32027730639
6458117774B261   MICHELLE     MILLER                       NE     90008461777
6458168A67B46B   EULALIA      CARNOVALE                    NC     90003856806
6458223723168B   ROY N        CARGILE                      KS     90010232372
6458283A281644   MELINDA      MENGEL                       MO     90003098302
6458498924B268   DOUG         GORDON                       NE     27088259892
6458631A455975   JUSTINA      SILVA                        CA     90013593104
64586445387B31   TAMEKA       HENRY                        AR     90010264453
64587271A81644   JOHN         CASCONE                      MO     90013992710
6458741215B241   DEUANA       GENTRY                       KY     90007544121
645878A595B235   BRUCE        RIGGS                        KY     68077568059
64588139A8166B   LAMAR        QUARLES                      MO     29018951390
6458834368B168   RANDY        TINGEY                       UT     90014183436
645883A1887B31   KAREN        GRAY                         AR     90001473018
64588495776B49   FELIMON      LOPEZ                        CA     90005564957
6458B433885689   DANNY        REYES                        NJ     90014004338
6458B524A57555   PAUL         ROMERO                       NM     90002085240
6458B9A5491562   GABRIEL      CARRASCO                     TX     75028719054
6459115634B532   VICENTE      ROSALEZ                      OK     90009081563
6459166685B235   DAMON        WALLACE                      KY     90014436668
6459176817194B   CHRISTINE    BYRD                         CO     90004107681
6459185A761961   MARTHA       BARAJAS                      CA     90014558507
645919A495B241   RONALD       HILL                         KY     90013879049
645919AA957555   SUSIE        MISQUEZ                      NM     90007619009
64591A7775B235   DAMON        WALLACE                      KY     68004600777
645921A2855975   CHRISTINA    GARCIA                       CA     48016411028
64592486A71968   MARCELLA     BOATSMAN                     CO     32004464860
6459251565B235   QUINTON      MCBROOM                      KY     68034695156
6459289864B27B   JOSEPHINE    JOHNSON                      NE     27088498986
6459385445416B   CHRISTINA    SARAVIA                      OR     90001528544
645944A2191562   RAUL         REYNOSO                      TX     75038514021
64594738687B31   DONNA        THOMAS                       AR     90014307386
64594758A3168B   WAYNE        ROBERTSON                    KS     22085047580
64594765176B49   AUGUSTO      DIAZ                         CA     90014547651
64594A25655973   FRANCES      ARIAS                        CA     90011350256
64595345872B27   VENUS        GERGANOFF                    CO     33056023458
6459556915B271   AMY          SMITH                        KY     90002495691
6459627368166B   STEVEN       TOTH                         MO     90008712736
6459631222768B   JOSE         DELAROSA                     VA     90013943122
64596333A91562   JESSICA      VARGAS                       TX     90002973330
6459681994B588   BRENDA       ALANES                       OK     90005758199
6459766715B241   TRENISE      THOMAS                       KY     90008146671
6459787A261964   BRENDA       MIRAMONTES                   CA     90012798702
645979A9891562   LIZBETH      ACOSTA                       TX     90009579098
6459824A361964   PATICIA      ROGERS                       CA     90012522403
6459863A172B29   ESTHER       GANDARILLA-DUARTE            CO     90011356301
6459875A685886   TRINH        TU                           CA     46021907506
64599258A31453   ETHEL        ROWELL                       MO     27558822580
64599379A72B43   ANTONIO      EYETOO                       CO     90009823790
6459954923B374   AARON        RIOS                         CO     33082805492
6459978234B588   SAICEULL     DRAKE                        OK     90014157823
64599862172B29   RANDY        XOOC                         CO     90012568621
64599A49181644   RAQUEL       PEREZ                        MO     90013240491
64599A6462B27B   GABRIEL      ALFARO                       DC     90011370646
64599A95572B43   SABINA       RIOS                         CO     33091180955
6459B285951337   OLIVARES     TOMAS                        OH     90014292859
6459B2A994B588   MARIA        GONZALEZ                     OK     90015202099
6459B86475B241   CISSY        CHRISTIAN                    KY     68084918647
645B1319A72B27   ANTONIA      MANTINEZ                     CO     33051113190
645B14A3381644   REBECCA      MINTON                       MO     29027104033
645B1618285886   PATRICIA     HEGEMEYER                    CA     90014806182
645B1781A91562   MARGIE       PROVIDENCE                   TX     90002747810
645B1A96763646   HEEJAE       LEE                          MO     90014700967
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 427 of 2350


645B1A97881675   DOUGLAS      BASS                         MO     90013360978
645B217315B241   JIMMY        YOUNG                        KY     90011451731
645B224919715B   ABDI         AHMED                        OR     90007142491
645B22A9A57555   FALDA        BEASON                       NM     90013512090
645B236549715B   ABDI         AHMED                        OR     90001083654
645B2676336B93   DANIEL       SOTO                         OR     90009836763
645B2726A7B46B   MEGAN        BROWN                        NC     90013737260
645B3155A81644   JERRY        GATER                        MO     29004081550
645B3267491998   COLEEN       MEREDITH                     NC     90001072674
645B3458231453   KIAIRA       BOWDEN                       MO     90011274582
645B3618285886   PATRICIA     HEGEMEYER                    CA     90014806182
645B36A2891923   LUSILA       MATUTE                       NC     90009876028
645B4125A61936   YULVIN       SANCHEZ ORTEGA               CA     46016511250
645B4169391562   SANDY        PADILLA                      TX     90014381693
645B4451361964   ANTONIO      BROWN                        CA     90013154513
645B4781176B49   ERIKA        CONTRERAS                    CA     90013097811
645B4825555973   JUDITH       SANCHEZ                      CA     90008278255
645B5312872B27   PENGLY       MAM                          CO     90012883128
645B5412291522   BENY         NOLASCO                      TX     90005324122
645B5452698B22   JULIE        CAMARAGO                     NC     90013804526
645B569942B271   MORGAN       ZIFF                         DC     90006476994
645B6477261964   JESUS        MARISCAL BENITEZ             CA     90012984772
645B648752B27B   LEAH         FAIRLEY                      DC     90013414875
645B6587484392   RAHNELL      MACKEY                       SC     90011235874
645B6A26384392   KEROL        CORAM                        SC     90014420263
645B6A59291998   MICHAEL      DOE                          NC     90015200592
645B7172755977   KARINA       SALDANA                      CA     90012771727
645B73A732B248   DOMINICK     BAILEY                       DC     90005763073
645B7971172B29   SHANE        SHADE                        CO     33034649711
645B7A91255975   ANGELICA     RODRIGUEZ                    CA     48087100912
645B8212461964   JORGE        COTA                         CA     46016842124
645B8262381644   KATHY        DORSEY                       MO     90012202623
645B8542151338   ENRIQUE      AGUILAR                      OH     66014905421
645B8645431453   STEPHANIE    KELLY                        MO     90007036454
645B8A5899184B   GLENN        DE FENIKS                    OK     21014970589
645B9175655975   DEANNA       JARAMILLO                    CA     90011191756
645B935485B235   TONYA        HAYSLEY                      KY     90011383548
645B959AA91562   FUENTAS      JESIKA                       TX     90010185900
645B9617872B43   JAVIER       CRUZ                         CO     33079026178
645B9643651338   KILEY        VANDEPAS                     OH     90015136436
645B9818185689   RICARDO      OSORIO                       NJ     90007428181
645B9A23331453   VICTORIA     SMITH                        MO     27501670233
645B9A6115B271   LAVAR        MCGUIRE SR                   KY     90004780611
645BB24A672B29   LUCY         MARTINEZ                     CO     90007422406
645BB517655977   CHELSEA      HOLEMAN                      CA     49011125176
645BB568572B27   ABEL         CASTANEDA                    CO     90015225685
645BB664991998   MEHRETAP     GEREGEREGERIS                NC     90013186649
645BB93928B168   AMANDA       R WOODS                      UT     90010779392
6461125615B241   JASON        HATCHER                      KY     68015782561
646112A3A4B588   CALE         WRIGHT                       OK     90011622030
646113A865B235   VIOLA        DOWELL                       KY     90013923086
6461169AA87B31   PRINCE       SMITH                        AR     90014626900
6461251425B241   AKHILAH      CHERRY                       KY     68060715142
64612694587B31   JONES        RASHAD                       AR     90014626945
646127A315416B   ARTHUR       OBRIEN                       OR     47017517031
6461335A971968   YOLANDA      ROSADO                       CO     32012923509
6461339774B588   NORMA        GOODWIN                      OK     90013443977
6461347925B235   THERESA      MORAN                        KY     68095284792
64614126A61961   IRENE        VALENZUELA                   CA     46010811260
6461427595B241   LYNNICE      BERKLEY                      KY     90012012759
646142A8861964   DIEGO        ALVAREZ                      CA     90015362088
64614717A55977   JUAN         TORRES                       CA     90012207170
6461522A272B36   CHRISTIN     GEARHART                     CO     90012012202
6461529113168B   ERIC         BROWN                        KS     22008412911
6461529773B385   MIRSHA       NUNEZ                        CO     33077212977
646155A4A76B58   JUAN         PARADA RIVAS                 CA     90009165040
64615951A61964   CARLA        BALLESTEROS                  CA     90014319510
64616322676B49   ROSA MARIA   ZAMORA                       CA     90007913226
646163A7872B29   CLOVER       ZIGLAR                       CO     33029243078
6461757134B588   SYLVIA       KING                         OK     90008665713
6461799A48598B   TAMMY        HODGE                        KY     67098709904
64617A81655977   YESENIA      GONZALES                     CA     90002220816
646183A1155977   CRYSTAL      PEREZ                        CA     90011503011
64618A8888166B   TIEARA       MONROE                       MO     90007570888
646193A487B46B   JAMES        BANGE                        NC     90014433048
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 428 of 2350


6461997897B46B   CHARMAINE    COOK                         NC     90013069789
6461B47562B248   CASSANDRA    WALLACE                      DC     90013704756
6461B816372449   DERRICK      WILES                        PA     90005208163
64621A39571968   ROBERT       WIGGINS                      CO     90014070395
6462239557B46B   ANSELMA      RANGEL                       NC     90013783955
6462254755B241   SHERICE      FRANKS                       KY     90010805475
6462275485B235   NOBLE        ONEAL                        KY     90003197548
64622A25136B93   BERNABE      GONZAGA                      OR     44543680251
64622A44555975   DONNA        SUMMERS                      CA     90013140445
64623126472B36   CRYSTAL      RUIZ                         CO     90014341264
6462314117B46B   FRANCISCA    ARAGON                       NC     11055211411
64623326887B31   TANISHA      WEATHERSPOON                 AR     90013343268
64623787424B64   SHAPORSHA    WEST                         DC     90012957874
6462379365B235   YOLANDA      DUKES                        KY     68099277936
646245AA881644   LEDELL       LEWIS                        MO     90014525008
64624A39571968   ROBERT       WIGGINS                      CO     90014070395
6462541857B46B   JOHN         CACHO                        NC     90010874185
646254A8171969   JOANNA       BUSBY                        CO     38015944081
646256A7531453   DEAN         SCHNIEDERS                   MO     90014456075
6462594395416B   STEVEN       BENAVIDES                    OR     90012799439
6462624945B235   RHONDA       COLLINS                      KY     90002212494
64626431972B27   KEVIN        NELSON                       CO     33083844319
64626984687B31   CEDRIC       OLIVER                       AR     28070269846
6462728855B241   CONRAD       VERNON                       KY     90015192885
64627723A61964   KEELIN       WASHINGTON                   CO     46055867230
64628625136B93   JESSIE       RICHTER                      OR     44564746251
6462866435B235   CAROL        PRINCE                       KY     90015096643
64628A45687B31   COREY        BOOKER                       AR     90014630456
6462933512B27B   JAMES        PEACE                        DC     90009483351
64629487A51337   G.DANIEL     KUNTZ                        OH     66030454870
64629A1A35B271   VANESSA      GENTRY                       KY     90004410103
64629A99987B31   JAMIE        JONES                        AR     90014630999
6462B733491522   ALICIA       ARELLANO                     TX     90008557334
6462B82354B588   ALESHA       MONTGOMERY                   OK     90014158235
6462BA65672B27   LORRAINE     STANLEY                      CO     90008520656
6463162554B27B   DANIEL       VALADEZ                      NE     90014566255
6463212695416B   MARIA        VILLANUEVA ZERMENO           OR     47028841269
6463299474B588   KENNY        TAYLOR                       OK     90010239947
64632AA5663646   SHARDAE      JACOBS                       MO     27511520056
6463394A54B27B   EDNA         CONTRERAS AGUILAR            NE     90012619405
6463488A291562   MARIE        CERVANTEZ                    TX     90013838802
6463489425416B   RAQUEL       CLARK                        OR     90014338942
64634A15272B36   MARIA        CALDERA                      CO     33099760152
64635526687B31   JOANN        MULLINS                      AR     28080485266
6463573347B46B   KEISHA       WILLIAMS                     NC     90004117334
64636431376B49   SAMMI        JUAREZ                       CA     90011254313
6463653965B235   JESSIKA      STROGHAM                     KY     90012835396
64636A24372B29   DAVID        NILSSON                      CO     90011530243
646382A245416B   TIMMY        BARRETT                      OR     90013982024
6463853684B588   WAYLAN       NUSZ                         OK     90010985368
6463884534B588   NATHAN       SANDS                        OK     90014158453
64639599A91562   SELINS       HERNANDEZ                    TX     90012625990
64639A64141261   DENISE       BROWN                        PA     51011180641
6463B73627B46B   JOEL         MARTINEZ                     NC     90012487362
6463B792172B27   LAKRISIA     TORRES                       CO     90011067921
6463B85265416B   GAIL         HURST                        OR     90011968526
6463BA6824B27B   AARON        YECK                         NE     90014600682
6464131627B329   DIGNA        MELENDEZ                     VA     81020243162
6464255A757555   DEIDRA       CHAVEZ                       NM     90014165507
64643241A57555   ISREAL       RAMIREZ                      NM     90013372410
64644517876B49   CHAZMON      HEMPHILL                     CA     90011885178
6464473282B949   CARLOS       DOMINGUEZ                    CA     90004127328
64644844A72B29   IRMA         BARRERA                      CO     90013028440
6464485244B588   ABELINO      PRIMERO                      OK     90014158524
6464544A261936   ANNA         CARY                         CA     46078654402
6464564A12B956   ROBERT       JANES                        CA     90013126401
6464576AA5416B   SHANNON      SHARP                        OR     90012667600
646464A1672B43   ROBERT       HYATT                        CO     90003544016
6464676464B588   ROBIN        SAZO                         OK     90010027646
64646954687B31   AMANDA       ANDERSON                     AR     90005809546
6464719536192B   MARCOS       MOUET                        CA     46096531953
64647216676B49   EDRIK        CONTREEAS                    CA     90011972166
64647571A72B29   HENRY        CHIRINO                      CO     33068025710
6464776794B588   JACQUELINE   GORDON                       OK     90014157679
64648A5AA31455   ALANA        CARBIN                       MO     90002840500
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 429 of 2350


64648A95641261   TIM            BURTON                     PA     51080380956
646498A894B27B   STEFFANIE      POPE                       NE     90010258089
64649954687B31   AMANDA         ANDERSON                   AR     90005809546
6464B347255973   MIRIAM         MENDOZA                    CA     90015173472
646513A1455975   FEDERICO       SALDANA                    CA     90006713014
64652328A81644   MIGUEL         GUERRERO                   KS     90014153280
64652748A8166B   JORGE          BALDOVINOS                 MO     29001647480
64653285572B22   MARLON         VAZQUEZ                    CO     90005892855
64653376A57555   TIMMY          HERNANDEZ                  NM     35544483760
6465365A85B235   HEATHER        JONES                      KY     90013316508
64654818987B31   RICE NICKELL   FOUNTAIN                   AR     90014718189
6465495AA8B168   MADELEINE      WESTBROOK                  UT     90002699500
64654A1623168B   CASSIE         THOMPSON                   KS     90013840162
64655258A4B27B   OLGA           CHAIDEZ                    NE     90000212580
64655271987B31   TANESHA        BURNETT                    AR     90009342719
64655925A7B46B   YULETZI        PEREZ MEJIAS               NC     11058969250
6465651447B636   JASMINE        PITTS                      GA     90005995144
64656982472B43   LINDA          MCCLURE                    CO     33007329824
64656A39A91522   NANCY          CLARK                      TX     90010770390
6465741475416B   JENNIFER       OLIVAS                     OR     47087514147
64658428A2B27B   MICHAEL        DARBY                      DC     90012114280
6465869A472B29   BRYAN          ECKSTROM                   CO     90004806904
64659337A72B29   LAURA          MOLINA                     CO     90004493370
64659611287B31   ADRIANA        OLVERA                     AR     90002676112
6465B461484392   THURMOND       KELLEY                     SC     90014874614
6465B619772B29   LILIA          GONZALEZ                   CO     90012386197
6465BA75461964   CECELIA        BAUSELL                    CA     90013970754
6466112A385689   ELADIO         ALAVEZ                     NJ     90014191203
64661234387B31   TASHA          SMITH                      AR     90014642343
646612A9251337   SOLETHA        BERRY                      OH     90003982092
6466142A55B235   PAYGO          IVR ACTIVATION             KY     90009044205
6466158697B46B   SPARKLE        HEMPHILL                   NC     90015205869
6466164243168B   KRISTA         NUNN                       KS     90014566424
646617A2351338   TRAVIS         FRICKMAN                   OH     90015117023
6466181265B241   MARISELA       LOPEZ                      KY     90012558126
64661A1A691998   MARCELO        PENALOZA                   NC     90015420106
6466215113168B   HEIDI          BURTON                     KS     90000141511
6466234AA5B531   DIANA          GRAJEDA                    NM     36044353400
646624A9591522   NOEMI          HERNANDEZ                  TX     90011404095
646629A3557555   YETLANESY      SAENZ                      NM     90012949035
646641A1361964   ANDREW         GUTIERREZ                  CA     90012741013
64664259A91998   ERIN           JEFFRIES                   NC     90011762590
646646A8271968   BRITTANY       DUGGER                     CO     32070296082
6466495AA8B168   MADELEINE      WESTBROOK                  UT     90002699500
64664A6995416B   FELIPE         MARTINEZ                   OR     90013800699
64665388587B31   ELIZABETH      MIXON                      AR     90014643885
64665515A91998   CHRISTINE      SLOOP                      NC     17059495150
646658A2755975   MARIA          QUIROZ                     CA     90009398027
6466594877B46B   FRANK          GADSDEN                    NC     11017259487
64665965187B31   ANTONIO        SAENZ                      AR     28080559651
6466625815416B   REYNA          BELTRAN LOPEZ              OR     47060522581
6466637615B235   CHRISTI        PHIPPS                     KY     90009763761
6466713845416B   ROBERT         BIVENS                     OR     47087051384
64668A53355975   MARIA          SANTOYO DE CHAVEZ          CA     48035420533
64668A76441264   AMANDA         CLARK                      PA     90013780764
64669158172B29   JACK           BRITTINGHAM JR             CO     33046621581
646695A6481675   ANTONIO        HARRIS                     MO     90009055064
6466968A961936   DAVID          LAFEAR                     CA     90009686809
646698A8676B49   RODRIGO        RENDON                     CA     90011258086
6466B345351337   MARTELL        WILLIAMS                   OH     90013933453
6466B513771968   ELISA          BOSLEY                     CO     90014715137
6466B8A5887B31   LOUANN         CUMPTON                    AR     90014668058
6466BA3977B46B   STEPHANIE      STEFFES                    NC     90008230397
64671A51685689   ADA            ROMAN                      NJ     90014700516
64672173A5B531   PAULINE        MARTINEZ                   NM     36011141730
6467226A94B588   FRANCISCO      DE LA CRUZ- RAMIREZ        OK     90012012609
6467475A357555   KARINA         VASQUEZ                    NM     90009547503
646754A5685886   AGUSTIN ISAO   CHAVEZ                     CA     90010864056
6467652923168B   AMETHYST       MESKILL                    KS     22083625292
64676852A84392   SARA           RIEDEL                     SC     90001028520
6467716644B588   ALMONDE        ALPIREZ                    OK     90008041664
64677261A57B92   JASMIN         STEVENS                    PA     90014172610
646777A6272B36   MAXINE         CARRILLO                   CO     90012847062
6467781955B531   VICTOR         MEDINA                     NM     36098438195
6467835A772B29   MARISELA       WASHBOURN                  CO     90012143507
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 430 of 2350


6467848724B588   LILLY              TIGER                  OK     90015324872
6467886A463646   JUSTIN             BROOKS                 MO     90015468604
6467889745416B   JOSHUA             LAUBE                  OR     90002348974
64678A51685689   ADA                ROMAN                  NJ     90014700516
64679667372B36   DIRAE              DELGADO                CO     90009936673
6467975914B543   GUDELIA            SALAS                  OK     90009487591
6467B351161964   MARGARITO          LIZARRAGA              CA     90010703511
6467B631892836   VICTOR             PUEBLA                 AZ     90013976318
6467B651698B22   PRINCESS           WHITE                  NC     90005546516
6468135374B27B   NICHOLAS           SCALISE                NE     27090803537
64681582676B49   ALEJANDRIN         MORALES                CA     90001475826
64681619A87B31   DANNIQUE           SNOW                   AR     28031816190
6468198AA55975   MONTE              PEYRON                 CA     90012849800
6468219392B27B   ANYA               FORREST                DC     90010931939
6468221744B588   JOSE               GUTIERREZ              OK     90010222174
64682A55681644   ARYANNA            GORDON                 MO     90012300556
646836A3261936   NICOLE             PURNELL                CA     90000966032
646839A1357555   MARY               CANDY                  NM     90012699013
64683A39985689   ABRAM              MORALES                NJ     90005830399
6468439185416B   AMANDA             BENITEZ                OR     47083143918
64684979A5B235   JESSICA            MADDOX                 KY     90011919790
64685146A72B36   YANSY              VELASQUEZ              CO     90015081460
646852A8755975   FRANCISCO          SANCHEZ                CA     90012382087
6468578474B549   JESSY              KEEN                   OK     90009417847
6468584AA55977   ANGELITA           MENDEZ                 CA     90007738400
64685A6667B46B   MARCELO            MENDOZA                NC     11016180666
6468626897B46B   SHAKIA             JACKSON                NC     90012082689
64686679A41252   CHRISTINA          KLEIN                  PA     90001016790
6468683974B268   LACEY              LOPEZ                  IA     90000358397
6468764494B27B   ASHLEY             GLAZE                  NE     90002006449
6468799A985689   DIANA              VERA                   NJ     85086959909
6468893814B268   SHANE              VOLENTINE              IA     90002629381
6468894293168B   PANCHO             VILLA                  KS     90013919429
6468896835B241   ROBERT             ROGERS                 KY     90015129683
64688A79357127   OMADATH            MAHALAJ                VA     90001270793
6468961A45416B   CRISTIAN           ROMEROQ                OR     90014136104
64689A6423B385   COLTEN             BILLINGER              CO     90000390642
6468B267155975   GEANIE             HOSLER                 CA     90013462671
6468B287A5597B   FRANCISCO JAVIER   HERNANDEZ GARCIA       CA     90003792870
6468B79327B46B   RASHEEDA           ARRAHEEM               NC     11029537932
6468B7A2261961   MARGARITA          ALCANTAR               CA     90014827022
6468B871171968   BRANDY             SANDOVAL               CO     90010018711
6468B93545B531   PAT                GARCIA                 NM     36006279354
6469187A131453   LINDSEY            OLDHAM                 MO     90007358701
646922A924B27B   JUAN               VILCHES ALBITER        NE     90002902092
6469239254127B   LEAH               ROBERTS                PA     90013673925
6469247734127B   LAMONT             COVINGTON              PA     90012824773
6469258275416B   LAURA              PROCK                  OR     90014355827
6469294845B241   ERNESTO            MANDEZ                 KY     68070479484
6469296A572B29   WYNN               JESSICA                CO     33073379605
64693386A91522   ELENA              FERNANDEZ              TX     75073973860
646938A7A61961   NDY                CHHARM                 CA     90011588070
6469393825B235   FARHIYA            AHMED                  KY     90013579382
6469422725416B   CELINA             DONALDE                OR     90003062272
64694333A4B27B   XAVIER             AKOHIN                 NE     27074653330
6469512822B27B   OMAR               GREATHEARRT            DC     90011231282
646952A8791998   DAVID              SALYERS                NC     90015532087
646956A9485886   YANIRA             PEREZ                  CA     46064036094
6469575955416B   JOHN               POPE                   OR     90012457595
64696462A87B31   DEWONNA            ISABELL                AR     90013544620
6469683892B27B   BRITTANEY          AUSTIN                 DC     90014228389
64696A81763646   AMANDA             STEMMLER               MO     90012670817
6469765A972B27   PEDRO              CASTORENA              CO     33056916509
646976A254B268   AMANDA             SPRACKLIN              NE     90011296025
64698947172B36   MONIQUE            DAVIS                  CO     90012119471
6469B19A591562   GERARDO            GONZALEZ PEREZ         TX     90013341905
6469B26A55B53B   LONA               WILLIAMS               NM     90008702605
6469B428887B31   MONICA             GLADNEY                AR     90014704288
6469B468351337   WILLIAM            THOMPSON               OH     90001134683
6469B56A15B235   CAROLYN            MUCKER                 KY     68090875601
6469B8A6172B29   JAIME              VARGAS                 CO     33009788061
646B1283861961   YVONNE             JOHNSON                CA     90013272838
646B1977291522   VITERBO            URQUIDI                TX     75033749772
646B239994B268   TIMOTHY            SIRAGUSA               NE     27020753999
646B2694587B31   JONES              RASHAD                 AR     90014626945
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 431 of 2350


646B26A7672B36   JERRY        DYCUS                        CO     33072046076
646B2857372B27   MARK         ZEMENAK                      CO     90013698573
646B313115B235   AMANDA       VIZE                         KY     90015131311
646B3544571968   CRISTIANA    LYNN                         CO     90012305445
646B3966457555   JOHNNY       MEDINA                       NM     90011519664
646B43AA255977   CARENA       LAWBERMILT                   CA     90010083002
646B4557472B27   ASHLEY       DUMBLETON                    CO     90009295574
646B4637251338   MAGGIE       FERDON                       OH     90012166372
646B4682261961   BOB          FARRA                        CA     46098026822
646B4A64881644   RENEE        SIMON                        KS     90001030648
646B4A98672B29   ELENA        CLOUD                        CO     33075450986
646B517165B235   RICHARD      SMALL                        KY     90014701716
646B5182A87B31   BOBBY        SHOWN                        AR     90014471820
646B5287161974   MIRANDA      MACLEAN                      CA     90007552871
646B5439284392   FREDERICK    SANGUINETTI                  SC     90013494392
646B569A661964   TIMOTHY      LEONARD                      CA     90012846906
646B594648166B   C.           JOHNSON                      MO     29007679464
646B6231A8B163   KATHERINE    HALL                         UT     90008752310
646B6346484392   EBONY        NELSON                       SC     90014703464
646B6446772B27   ERIC         ARELLANO                     CO     33086164467
646B7178861961   TRACY        LOPEZ                        CA     90012971788
646B7321463646   SHEILA       DOBBS                        MO     90000393214
646B7363761936   LAQUETTA     BROWN                        CA     90014493637
646B7364851337   CHRIS        PENNINGTON                   OH     90011053648
646B75A945B235   KENNETH      NICOULIN                     KY     90013515094
646B8429791998   CRYSTAL      BETHEA                       NC     90011244297
646B8469872B43   GESWAN       SWANSON                      CO     90013964698
646B867A584392   JOSE         MENDOZA-REYES                SC     90014906705
646B877545B241   ANTHONY      WILLIAMS                     KY     68094707754
646B88A613B135   MOUFTAOU     MEATCHI                      DC     81072878061
646B88A735B235   KIARA        GARNER                       KY     90012748073
646B9138A55983   BRENDA       DUARTE                       CA     90013191380
646B9138A8B168   CAMERON      KAPETANOV                    UT     31046831380
646B945A725236   SHA'TONGA    PITTMAN                      NC     17051704507
646B9864957555   LAURA        HOLGUIN                      NM     90013638649
646BB568851338   STACEY       BRYANT                       OH     90001785688
646BB593761936   JORGE        TORRES                       CA     90010415937
646BB78384B588   LAWANDA      ROBINSON                     OK     90014157838
646BB993761972   MANUEL       RUBIO                        CA     90011079937
6471113542B27B   MEGHAN       CALHOUN                      VA     90011231354
64711443136B93   NICOLE       MEAD                         OR     44533004431
6471161345B241   JASON        HOAGLAND                     KY     90011276134
6471221428B168   MICHAEL      FERGUSON                     UT     90010202142
64712715587B31   PRESTON      SPENCER                      AR     28081337155
64712A71672B43   SAUL         FLORES                       CO     33087160716
64713338872B27   MAGDALENA    BALDERRAMA                   CO     33051483388
6471381465B235   MIKCA        SURRELL                      KY     90014508146
64713A82172B43   ARMANDO      VALDIVIA                     CO     33049330821
6471432A891562   MARIA        GONZALEZ                     TX     90011103208
6471434197B46B   MICHAEL      HENRY                        NC     90005833419
6471477A48166B   CINDA        CHAPMAN                      MO     90001517704
6471519292B27B   BFERYTYT     DFGDVDFBD                    DC     90011481929
64715968A72B36   HENRY        MARTINEZ                     CO     33016479680
64715A7832B27B   STANLEY      ANDERSON                     DC     90012970783
647163A8581644   CORY         PRESTON                      KS     90014403085
647164A5972B43   AUERILA      PALOMINO                     CO     90008124059
64717261672B27   ELVIRA       SEANEZ                       CO     90015082616
6471764A971968   AMANDA       SCOTT                        CO     90015336409
64717759687B31   TOMEKA       SCALES                       AR     90014727596
64717963576B49   JAMES        ACTON                        CA     90001929635
64718866A63646   PAYGO        IVR ACTIVATION               MO     90013488660
6471893525B53B   DOROTHY      MONTOYA                      NM     90006019352
64718A47A2B27B   ANTHONY      GREEN                        DC     90012990470
6471918358B163   PAUL         BARTH                        UT     31089571835
6471938525B241   WILLIAM      SMITH                        KY     90010963852
64719556372B36   JASON        ROBINSON                     CO     90009045563
6471B28934B27B   TRACY        MILLER                       NE     90002462893
6471B439355975   RENE         CASTRO                       CA     90005994393
6471B479461964   MARIANA      MORALES                      CA     90011594794
64722386A91522   ELENA        FERNANDEZ                    TX     75073973860
64722A54655977   ALICIA       DIAZ                         CA     90007830546
64723183672B27   PEDRO        LUEVANO                      CO     90010331836
6472376575416B   ADAM         HUNTER                       OR     90008347657
64723A82361964   ANTONIA      RODRIGUEZ                    CA     46045540823
647257A2791522   DESIREE      GUERRERO                     TX     90010417027
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 432 of 2350


64725953487B31   FELISHA           PEEL                    AR     28069559534
647259A9272B27   CRYSTAL           PICKETT                 CO     33009589092
64725A7A772B36   GABINO            FLORES                  CO     90008810707
64727449A7B46B   KIM               HOKETT                  NC     90011104490
6472752228B168   STACI             STOKES                  UT     90002005222
64727768772B27   THOMAS            FITZGEROLD              CO     90012847687
64729332A7B46B   DIANA             ORTEGA                  NC     90014863320
64729AA9687B31   TRACIE            JONES                   AR     90014730096
6472B52A63367B   REETHA            JAMES                   NC     90010965206
6472B76615B241   DR. G             HAROLD BYERS JR         KY     90008297661
6472B76A471968   JESUS             CORONADO                CO     90012797604
6473126515416B   LAURIE            DONAHUE                 OR     90009442651
6473334325B52B   PAMELA            SHOOK                   NM     90012423432
647339A294B27B   KELLI             PHILLIP                 NE     90005179029
64734449172B27   SCOTT             WERNER                  CO     33033264491
6473471A787B31   LISA              ERVIN                   AR     90014757107
64735226A63646   BRENDAN           DUMALA                  MO     90015492260
64735365A87B31   BREYONNA          SHARKS                  AR     90014733650
6473578534B588   SEAN              CABRAL                  OK     90010337853
64735A18191998   DAVID M           PONGO                   NC     17050970181
6473654314B27B   VERONICA          JONES                   NE     27086145431
6473681864B588   MICHEAL           GREEN JR.               OK     21575238186
64737999476B49   EDUARDO           PANTALEON               CA     90012839994
64737A45181644   FREDERICK         WHITNEY                 MO     90014530451
64738128A85689   MAYNOR            VELAZQUEZ               NJ     90014491280
6473877417B46B   JAJUAN            COSTNER                 NC     90013217741
64738A8A357555   JOSHUA            SANCHEZ                 NM     90013820803
6473921188B169   DENISE            ANDERSON                UT     90009752118
647392A9761964   PHILLIP           MARABLE                 CA     90009232097
6473941497194B   ISARAE            PACHECO                 CO     38009414149
64739626976B49   SAMUEL            RAMIREZ                 CA     90012876269
6473B522A76B49   ROSARIO           SANCHEZ                 CA     90013325220
6474195965599B   LINDA CHRISTINE   MCLAUGHLIN              CA     90003689596
64742112872B27   BARRY             WATTS                   CO     90014641128
6474341992B27B   KAYLA             STREETER                VA     90014424199
647437A2661961   ISRAEL            VILLALOBOS              CA     90014927026
64744752687B31   AUDREY            HEARD                   AR     90014757526
6474493A291562   MARIA             COSTANZA                TX     90014209302
64745752687B31   AUDREY            HEARD                   AR     90014757526
647457A8657555   CRYSTAL           VACIO                   NM     90009627086
647462A6351337   JORGE             TEHUINTLE               OH     90011412063
6474657785B241   TOMAS             ESPINOZA                KY     90006195778
64746641A8B168   ESTER             VELASCO                 UT     31042566410
6474716815B271   DELVONDA          MCCRARY                 KY     90013621681
64747457A91562   ABEL              FRANCO                  TX     90013864570
6474816A372B36   EDWARD            LEWIS                   MO     90013531603
6474818637B46B   DARIUS            BURROUGHS               NC     11063591863
6474837345B241   RODGER            TURNER                  KY     90003603734
64748A8958B168   DIANA             RENTIE                  UT     90013840895
647492A1857555   MARISELA          RIVERA                  NM     90013352018
647492A6672B43   STEPHANIE         PORTER                  CO     33090932066
64749AA6981675   MISHA             HARRIS                  MO     29069610069
6474B3A9455975   AMBER             MAHUVIEN                CA     90007683094
6474B454387B31   LATESHIA          LEE                     AR     90014734543
6474B67118B168   CONNIE            WALLENTINE-GOSS         UT     90012766711
6474B973191522   ALBA              APRIL                   TX     90011109731
647515A944B27B   LAZARO            PEREZ                   NE     90013975094
6475264322B231   YASHICA           THOMAS                  DC     90011726432
6475321695B235   SABRINA           JACKSON                 KY     68033082169
64753A8A357555   JOSHUA            SANCHEZ                 NM     90013820803
6475443675416B   RYENN             WINSTON                 OR     90014904367
64754483A55975   DEBORAH           BENNETT                 CA     90012324830
64754518A72B27   STEVEN            DECENICK                CO     90014825180
6475522837B46B   JEFFREY           RHONE                   NC     90012762283
647552A1657555   AMANDA J          VAUGHN                  NM     35547782016
6475556162B27B   ANJELICA          GRINAGE                 DC     90011995616
64755758A72B29   SERGIO            BURROLA                 CO     90010637580
6475629A371968   GUADALUPE         PEREZ                   CO     32018482903
64756774272B36   FREDDY            HUAMAN                  CO     90000297742
64756AA9163646   LINDA             DEAL                    MO     90015600091
6475719A37B46B   TOMORRIS          SMITH                   NC     90012651903
6475756835B241   PAMELA            CROWE                   KY     90012425683
6475819414B588   CODY              MELLOTT                 OK     90014161941
6475857A78B168   TINA              KARRAS                  UT     90004055707
64758752687B31   AUDREY            HEARD                   AR     90014757526
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 433 of 2350


6475892A45416B   PAMELA       BLIZZARD                     OR     47010969204
64759162972B27   TOMAS        CORDOVA                      CO     33063721629
64759446172B36   LEONEL       CERVANTES                    CO     33033034461
6475953225B229   ERICA        PARKER                       KY     90010515322
6475954855B241   GARY         MCCANE SR                    KY     90008755485
647595A4851337   SANDY        WESSEL                       OH     90012785048
6475963164B562   CAMERON      STAFFORD                     OK     90008186316
6475984255416B   JOHN         MUTCHLER                     OR     90015438425
6475B18524B588   ASHLEY       WEIDENMAIER                  OK     90014161852
6475B233233698   TWANNA       GARDNER                      NC     12045722332
6475B641351337   COURTNEY     SPRAGGS                      OH     90014726413
6475B757A8166B   CHRISTI      COLEY                        MO     90008727570
6475B75A251337   JEANITA      CUMMINGS                     OH     90014647502
6475B763481644   BRADLEY      YOUNG                        MO     90013697634
6475B9A3677367   ALICE        PITTS                        IL     90012759036
6476138554B27B   LINDSEY      POTTER                       IA     27085353855
6476161144B268   IVA          MABEN                        NE     90005516114
64761752687B31   AUDREY       HEARD                        AR     90014757526
6476189285B241   KRYSTAL      CARNEY                       KY     90014368928
64761A2624B588   BRANDI       WHITE                        OK     90010040262
64762318672B43   JOSHUA       WORLEY                       CO     90013733186
6476264243168B   KRISTA       NUNN                         KS     90014566424
64762947572B29   DARRYL       PRESLEY                      CO     90014539475
64762A2A872B36   LAUREN       GALASSO                      CO     33038520208
64762A64333698   MARGARET     PETERS                       NC     12000780643
6476388A161964   RHIANNON     WILLIAMS                     CA     90007168801
6476531A591998   MAJORIE      SPEED                        NC     90002653105
6476566745B241   KIM          MITCHELL                     KY     90013206674
64765A26584392   CASONOVA     PIMP                         SC     90000290265
64765A4564B588   JUAN         FLORES-MARTINEZ              OK     90010040456
6476726317194B   CYNDRA       SHISLER                      CO     38094102631
6476729342B27B   INDIA        COTTON                       DC     90014222934
6476788272B27B   INDIA        COTTON                       DC     90011888827
64768417872B36   MAILORN      SMITH JR                     CO     90014004178
6476873A191522   IRMA         HINOJOSA                     TX     90009727301
64768A12781644   TIMOTHY      BROADWAY                     MO     29000890127
6476933A14B221   EZEQUIEL     VALADEZ                      NE     27055923301
6476949A691562   JESSICA      HUERTA                       GA     75087744906
6476959995B241   JAMES        RHODES                       KY     90013705999
6476985412B27B   TYLER        HAWKINS                      VA     90014348541
6476B2A8A85689   FREDY        RAMOS                        NJ     90010822080
6476B4A875B241   MARISSA      SULLIVAN                     KY     90013054087
6476B615361964   TERRIE       LOVE                         CA     90010566153
6476B933591998   SHANTAYE     BARNES                       NC     90012869335
647713A644B221   MINERVA      ARGUELLES                    NE     27080843064
6477165A261961   KARINA       ORTIZ                        CA     90012886502
64771878572B36   YANE         RUBIO                        CO     90012348785
64771A39757555   ARMANDO      GUTIERREZ BACA               NM     35507500397
647725AA172B29   ALEJANDRO    CALDORAN                     CO     33078515001
64772649A63646   AUTUMN       BOYD                         MO     90000416490
6477281A381644   JACK         SMITH                        MO     90015048103
6477322385B235   MICHAEL      DANIELS                      KY     90015342238
64773A3387B46B   LUFUDU       SHUNGU                       NC     90015220338
6477432432B27B   ANTHONY      JOHNSON                      DC     81038313243
64775A5A851352   TIMOTHY      HOELMER                      OH     90013930508
6477612865B235   JERMAINE     WILLIAMS                     KY     90013331286
64776274172B27   LINDA        DELANCY                      CO     33060562741
64776295972B29   ESTRELLA     JARAMILLO                    CO     90011882959
6477694245416B   JOSEPH       HOLIHAN                      OR     47070479424
64776AAA85B241   TERRY        GRINSTEAD                    KY     68025270008
647782A535B271   PHLANESHA    BLAND                        KY     90000922053
64778368776B49   MAURA        RODRIGUEZ                    CA     46019293687
6477855A591525   JESUS        REYES                        NM     90015295505
64778A62451352   IESHAIE      LUQMAN                       OH     90012040624
64779285987B31   YURIDIA      ZUNIGA                       AR     90014762859
64779452A81675   ADRIANA      VARGAS-GARCIA                MO     90000574520
64779A1548166B   ARGELIA      ZELAYA                       MO     29088820154
6477B358351337   JAMES        LAINHART                     OH     90013933583
6477B516251338   TAMEKA       WILLIAMS                     OH     66001675162
6477B559A36B93   ANGELICA     RAMIRES                      OR     44539765590
6477B611287B31   ADRIANA      OLVERA                       AR     90002676112
6477B94214B532   SUSAN        LARMAN                       OK     21556949421
64781332A2B27B   LARRY        SHARPE                       DC     90008523320
64781411872B43   MARIA        CASTRO                       CO     33073984118
6478171334B27B   DENEIL       OSBORNE                      NE     90000687133
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 434 of 2350


6478212A44B588   ANA          ROSA                         OK     90010041204
6478227A584392   ARTHUR       DEHAY                        SC     90003102705
647822A6972B36   ANGELICA     DURAN                        CO     90014772069
64782391A55975   ROLANDO      MONTEZ                       CA     90006063910
6478246575B271   JENNIFER     MICHEL                       KY     68057354657
64782815A5B241   DANIEL       PATTERSON                    KY     90009018150
64783259172B29   ERIKA        ELLIS                        CO     33017382591
6478336458166B   CYNTHIA      WILSON                       MO     29078853645
6478344145B241   CHRISTOPHE   HOWELL                       KY     68094564414
647837A8785689   JENNIFER     RIVERA                       NJ     90014847087
64783898972B27   ROTINI       ASESO                        CO     33092508989
64783A3A255975   DAVID        CHAVEZ                       CA     48060160302
6478442A761961   TIFFANY      BUZAN                        CA     90014974207
64785341287B31   VALERIE      MCARGO                       AR     90014773412
64785476172B36   URIEL        AGUIRRE                      CO     90014374761
6478598245416B   TOSHA        CASSIDY                      OR     47090159824
64785A8A863646   CASSIE       JAMES                        MO     90015440808
6478611723B394   ALEXIS       SAMBEL                       CO     90008051172
6478724642B248   SERENA       CRAWFORD                     MD     90010482464
64787A6385B235   DESEAN       ISOM                         KY     90014900638
64788122A61961   MARTHA       MOTA                         CA     90013111220
6478833A15416B   TAWNYA       MARTINEZ                     OR     90002013301
6478881648B168   MARIA        CABRERA                      UT     31093798164
6478927A23369B   WILMARY      CARABALLO                    NC     90004922702
6478986A672B43   JULIA        CHAVEZ                       CO     90014728606
6478993A291527   MARK         BROWN                        TX     90002769302
64789A73284392   JAMIE        MUCKELVANEY                  SC     90013030732
6478B116825236   SAMANTHA     DUNSEITH                     NC     90007531168
6478B17182B27B   LISA         EARLE                        DC     90012851718
6478B517A84392   SHARLYN      BRITTON                      SC     90013335170
6478B826A72B43   SERGIO       MARTINEZ                     CO     90012158260
6478B84465B241   CHRISTIANE   YOPP                         KY     68083968446
6479132A661964   VIOLETTE     THEOGENE                     CA     46034653206
64791597A72B29   ROBERT       SOLORIO                      CO     90009645970
64791874172B43   BIANCA       RODRIGUEZ                    CO     90009678741
64791985572B29   SAVANNAH     ROYBAL                       CO     90012889855
6479219152B27B   MARIA        NUNEZ ABUNDEZ                DC     90006281915
6479257855B241   GREGORY      SMITH                        KY     90012845785
64792978576B49   AVILEZ       PATRICIA                     CA     90002299785
6479382175416B   RYAN         DUNLAP                       OR     90007398217
64794126472B36   CRYSTAL      RUIZ                         CO     90014341264
647942A7455977   RICHARD      RAY DAY                      CA     90010942074
647945A8957555   ANGIE        FELIX                        NM     90002815089
64794A44591894   PATRICE      EVANS                        OK     21065620445
6479525A591562   JAZMIN       RODRIUEZ                     TX     90013302505
6479531775416B   JENNEY       PASLEY                       OR     47046873177
6479533A457555   ISAI         SALCEDO                      NM     90013823304
6479627154B268   JEANETTE     ALSTON                       NE     27031562715
6479627283168B   DONALD       STEWART                      KS     90012542728
6479629185B241   JOSE         TORRES                       KY     90014582918
64796517572B29   TRAVIS       HULSE                        CO     90009935175
64796521A91998   NORMA        GONZALEZ                     NC     17020745210
64796A65485689   PAMELA       MITCHELL                     NJ     90014770654
6479842775B241   ROBERT       CUNDIFF                      KY     90011894277
64798A6A82B27B   JACINTO      SALGADO                      DC     90012230608
647996A5A41261   MARLON       GREENWADE                    PA     90010196050
6479971A15B235   MARCIA       MEREDITH                     KY     68008967101
6479B356491998   ALVIN        MCCLAM                       NC     90011863564
6479B376951354   KATELYN      MURDEN                       OH     90009183769
6479B818987B31   POLLY        WILLIE                       AR     90012258189
6479B897263646   CLARENCE     JOHNSON                      MO     90013568972
6479B988A72B43   KEVIN        AQUINTO                      CO     33000259880
647B1389784392   SYRAN        AUSTIN                       SC     90014563897
647B195488166B   BRENDA       CASTLEBERRY                  MO     29077319548
647B278A661936   GREYS        POSADAS                      CA     90012017806
647B2828261961   CHRIS        BREWER                       CA     90012838282
647B2AA4561936   CARMEN       LOREDO                       CA     90011100045
647B3111A91534   RAQUEL       GAYTAN                       TX     90002061110
647B326A85B271   CHAD         NEWBY                        KY     68074242608
647B36A7771968   ALMA         SANCHEZ                      CO     90013646077
647B375953369B   CHIMESA      ROBINSON                     NC     90011377595
647B3A32391562   NANCY        CHAVIRA                      TX     90011320323
647B3A7655B241   CHRISTINA    STANFORD                     KY     90015210765
647B3A7664B588   ROBERT       EDWARDS                      OK     90014160766
647B422A955975   JASON        BLASINGAME                   CA     90013182209
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 435 of 2350


647B457725B235   CATRINA      THORTON                      KY     90009635772
647B4616877563   JENNY        CHILDS                       NV     90013646168
647B4626787B31   CRYSTAL      MCALISTER                    AR     90014726267
647B5146272B27   VICTORIA     SWEENEY                      CO     90009951462
647B5394A91522   ISAAC        ZAMORA                       TX     75024293940
647B549472B27B   WENDY        YOUNG                        DC     90014694947
647B5515461936   TRAVIS       MITCHELL                     CA     46006275154
647B5664371968   SHERRY       BROWN                        CO     32097936643
647B613512B27B   ERIC         LINDSAY                      DC     90009821351
647B6556551337   IVAN         TOLBERT                      OH     90010015565
647B67A6561936   DAVID        ZARCO                        CA     90011137065
647B691A298B22   HOLLY        GRAHAM                       NC     90005549102
647B714685B235   RODNEY       MASSEY                       KY     90015131468
647B7462971968   DAVID        ONEIL                        CO     90014854629
647B7624687B31   SHALANA      JONES                        AR     28045436246
647B7851461936   PATRICIA     CASTELLANOS                  CA     46040288514
647B8522272B27   PRISCILLA    ENOSTROSA                    CO     33073165222
647B8573272B36   HENRY        FLORES                       CO     90013985732
647B8A3685B235   MICHELLE     JAGGERS                      KY     90009400368
647B963A881644   KELLY        RENNO                        MO     90011626308
647B967623168B   ROBERT       DIGGERS                      KS     90001636762
647B96A3872B29   BRIAN        VENEGAS                      CO     90014006038
647B991A763646   HAROLD       SOENARIE                     MO     27593379107
647BB112872B29   DARLINE      HARDEN                       CO     90014841128
647BB262385689   MANUEL       JIMENEZ                      NJ     90012702623
647BB55672B27B   BARBARA      CLEMMONS                     DC     90009785567
647BB65215593B   BRENDA       BORQUEZ                      CA     90012296521
647BB975591998   OCELA        DENISE                       NC     90013839755
648116A3872B36   DAISY        RODRIGUEZ                    CO     90011936038
64811A65491535   SANDRA       TREVIZO                      TX     90011180654
648126A1824B64   RALPH        HOCKDAY                      VA     90011306018
64812747772B27   FELIPE       CARRANZA                     CO     90002817477
6481343675416B   RYENN        WINSTON                      OR     90014904367
6481345214B268   LINDA        BIRDSLEY                     NE     90006524521
6481372394B588   JESSICA      RAMOS                        OK     90005007239
64813A7872B27B   ANTONIO      FAISON                       DC     81015640787
6481455675B235   NATHAN       SIMS                         KY     90009485567
64814AAA261961   CELIA        AVINA                        CA     90013690002
6481595A984392   DEBORAH      SINGLETON                    SC     90010329509
6481637895416B   JUSTIN       MEDERO                       OR     90013193789
64816817A55975   BLANCA       LIRA                         CA     90004808170
6481694447B46B   SELLERS      DEMISHIA                     NC     11084409444
6481716A64B27B   DENNIS       ESAU                         IA     27042261606
64818296A81675   JULIE        TAYLOR                       MO     90013332960
6481887585B235   GOMEZ        FRANSISCO                    KY     90000158758
6481938875416B   KATHLEEN     BISHOP                       OR     47048843887
6481942A493771   KAREN        VULTEE                       OH     90009594204
64819AA142B27B   SARA         PINEDA                       VA     90012240014
6481B342791562   ADAN         MUNOZ                        TX     90000113427
6481B965561936   PRISCILLA    BURNSIDE                     CA     46077419655
6482157A261961   JOSOUE       BARRERA                      CA     46016995702
648217A545B53B   BRENDA       FELIZ-ZAYAS                  NM     90012707054
64822486A55977   RONALD       PINEDA                       CA     90013094860
6482296545B241   RAYMOND      PAYTON                       KY     90012389654
6482376264B268   AMY          MOTA                         NE     90005517626
6482379A481644   JAMIE        GRAHAM                       MO     90014687904
64824699324B34   KRISTINA     ROBINSON                     DC     90005866993
64825159872B29   CHISTOPHER   BACA                         CO     90011871598
64826157A55975   LISA         RAMIREZ                      CA     48051121570
64826336172B27   MARIA        TORRES                       CO     90009463361
6482662A261961   FELIPE       GUERRERO                     CA     90003766202
648267AA355977   LETICIA      ONTIVEROS                    CA     49072877003
6482681575B241   ELBA         DOMINGUEZ                    KY     90012558157
6482731864B27B   TINA         BRUNT                        NE     27069643186
6482742634B251   RASHONDA     WYATT                        NE     90009604263
648279A872B224   HECTOR       MANUEL AGUILAR               DC     90007799087
6482852523168B   GERARDO      GONZALEZ                     KS     90000685252
6482857A13168B   GERARDO      GONZALEZ                     KS     90014825701
64829193976B49   ALEXIS       ORTEGA                       CA     90013021939
64829578472B36   TONIA        PORCHE                       CO     90014095784
6482B331A4B588   ADRIANA      LADEZMA                      OK     90014163310
6482B466351338   ROY          WALTON                       OH     90008154663
6482B61864B268   LAKISHA      TAYLOR                       NE     90010976186
6482B873955975   RACHEL       FLORES                       CA     90002018739
6483127284B27B   I            LEWIS                        NE     27065492728
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 436 of 2350


6483137185416B   TAMARA       COLLIER                      OR     90012333718
64831522672B43   SANTANA      NELLY                        CO     90011855226
64832586A7B46B   LEIGH        MIXAN                        NC     90011355860
648337A3951338   GARY         CARTER                       OH     66009927039
64833A86A87B31   ADRIAN       ROBERTS                      AR     28086920860
64834149A72B27   MONIQUE      GILMORE                      CO     90015181490
64835413572B43   AMBER        PARIS                        CO     90011304135
64835A1AA4B27B   JOSE         MARTINEZ                     IA     27026420100
64835AA2447958   MEKA         COX                          AR     90003810024
64836135876B49   IRMA         MENDOZA                      CA     46092151358
6483685137B46B   TERI         GRIFFIN                      NC     90013608513
6483691124B588   ELIZABETH    MADRID                       OK     90010409112
64836935472B29   WENCELAO     AMAYA                        CO     33063549354
64836A83855973   RANDY        FLORES JR                    CA     48047590838
6483744A85B241   BRYAN        KENDALL                      KY     68086614408
64838214572B43   JUAN         SILVA MARMOLEJO              CO     90004292145
64838251A5B241   BRENDA       BENSING                      KY     90012142510
6483843554B588   DENISE       HODGES                       OK     21551884355
64839154587B31   CAREY        COWELL                       AR     90004001545
6483964883168B   CHRISTINE    ENEY                         KS     90009096488
64839A63572B36   ANDREA       ROYBAL                       CO     90014950635
6483B554881675   MICHAEL      LEWIS                        MO     29094005548
6483B93875B235   BRIAN        CRAFTON                      KY     68015989387
6483BA1A361961   FRANCISCO    RODRIGUEZ                    CA     90009520103
6483BA2A384392   ANNAMORGAN   BENTON                       SC     90014450203
64841465872B27   MICHAEL      KAMACK                       CO     90012454658
64841A57572B29   PATSY        GARCIA                       CO     90014350575
64841A97172B43   RODRIGUEZ    PETER                        CO     33016790971
64842886A91562   MARISOL      PROPECK                      TX     90006638860
64843554372B36   DENNIS       TUTTLE                       CO     33049585543
6484485AA8166B   GAIL         DUNN                         MO     29086798500
64845A9277B46B   KARLA        COILEZ                       NC     90010170927
64845A95755973   MARICELA     TREVINO                      CA     48012190957
64846498424B64   DAVID        BROWN                        VA     81022434984
6484653725B235   ZANDRA       CATES                        KY     90012985372
648468A778B168   EDDIE        GALLEGOS                     UT     31041528077
64846926987B31   SARA         KELEMS                       AR     90014879269
6484734492B27B   DESEAN       MARABLE                      DC     90012583449
64847841772B43   RAMON        TORRES                       CO     90009088417
6484843244B588   ARICKA       EHYAEI                       OK     90007074324
6484849A884392   JOSEPH       MUSTAFA                      SC     90011244908
64848524572B43   SCOTT        WAHE                         CO     90006055245
6484882287B46B   JILLISA      MCMANUS                      NC     90006708228
64849235872B27   ALFREDO      ALCANTARA                    CO     90014722358
6484B284181644   KAREN        HASS                         MO     29010692841
6484B2A1185689   LENOR        JONES                        NJ     90014152011
6484B523351338   TIFFANNY     CROSS                        OH     66005645233
6484BAAA15B241   ERNESTO      CARRALERO                    KY     68013330001
648515A2391522   KATRINA      RILEY                        TX     90010875023
6485176955B271   MARCUS       RIDLEY                       KY     68049727695
6485179975B283   BRIANNA      JACKSON                      KY     90014707997
64852857772B43   LISA         SOTO                         CO     90012148577
64852A78661936   JESUS        ORTIGOZA                     CA     90011910786
64853A19A51338   KRISTIN      PRINGLE                      OH     66006700190
6485413818166B   TIFFANY      WRIGHT                       MO     29096851381
6485459467B761   CHRIS        PACHL                        CA     90013305946
6485521A12B27B   THOMAS       BAILEY                       DC     90012332101
6485641A451338   DAVID        PAXTON                       OH     90012424104
6485647984B588   MELISSA      CITIZEN                      OK     90004884798
6485652872B274   JANINE       MCCORKLE                     DC     90012315287
6485655847B46B   NATANI       BENZON                       NC     90012865584
64856A14891562   CHRISTIAN    LOPEZ                        TX     90014770148
64856A3A55B235   TROY         NEARN                        KY     90002250305
64857491672B36   ROSY         RODRIGUEZ                    CO     33030364916
6485794724B549   WILLIAM      SMITH                        OK     90006039472
648579AA74B588   KEVIN        SKELTON                      OK     21557029007
64858284A71968   SHARON       DELAOSA                      CO     90013102840
648585A7691969   CHARLES      SHAW                         NC     90011675076
6485869315B241   ROBERT       CROWE                        KY     90003556931
648588A1172B29   BRIANA       JESSICA                      CO     90008598011
64858968A4B588   JOHN         MOORE                        OK     90002219680
64858A4188166B   BERENICE     ORTIZ                        MO     29087010418
6485931A684392   HOWARD       GORE JR                      SC     19092883106
64859446A91998   DIVINE       HARTY                        NC     90012594460
648595A734B27B   CARMEN       GARCIA                       NE     27095015073
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 437 of 2350


64859A3798B168   GARRY         WATMAN                      UT     31094880379
6485B112761964   BEATRIZ       SANTANA                     CA     90012161127
6485B525691562   JOSE          MORIEL                      TX     90011085256
64861445387B31   TAMEKA        HENRY                       AR     90010264453
6486254262B27B   PHILLIP       DIRKSEN                     DC     90013085426
64862585A72B36   SHELIA        EVANS                       CO     33065265850
64863534772B43   SIGIFREDO     MENDOZA                     CO     33062875347
64863584A76B49   SUMANO        MENDOZA                     CA     90002385840
6486359A185689   KULWINDER     SINGH                       NJ     90000135901
64864542A55975   GUSTAVO       MENA                        CA     90008065420
64864884A71968   SAUL          BARBOSA                     CO     90015038840
6486489145B241   JENNIFER      BOBZIEN                     KY     68046338914
64865556372B32   NAJAR         CLAUDETTE                   CO     33059495563
6486566A25416B   ALIX          LARSEN                      OR     90015206602
64865A91976B49   SERVIO        DIAZ                        CA     90013100919
64866A79657555   CASSIDY       BUSTILLOS                   NM     90002280796
6486748A572B36   ISRAEL        VALENZUELA                  CO     90013964805
6486763375B235   HEATHER       JONES                       KY     90014856337
64867743372B29   RONALD        BIANCHI                     CO     90002747433
648678A8A81675   SANDRA        GOZALEZ                     MO     90012758080
64868492A2B27B   SERITA        EL-AMIN                     DC     90008314920
6486851A64B268   ADRAIN        WESTCOTT                    NE     27096105106
6486B263472B36   LEONARDO      MEDINA                      CO     90010322634
6486B394A2B27B   DERRICK       CARTER                      DC     90012093940
6486B69514B27B   DEBORAH A     LEMR                        NE     27039666951
6486B987661936   BRYAN LEE     PACKWOOD                    CA     90014079876
6487172AA91527   DANIEL        DIAZ                        TX     90010717200
6487189595B241   ANTHONY       HICKMAN                     KY     68090448959
64871A3798B168   GARRY         WATMAN                      UT     31094880379
6487369A172B36   GABRIEL       ESCOBAR                     CO     33004226901
64874312A5B531   YUNY          CASTILLO                    NM     36057723120
648744A2672B93   URIEL         AGUIRRE                     CO     90011604026
6487481A57B46B   DIARRA        DUKES                       NC     90005118105
64875114A72B29   KIM           JEANNOUTOT                  CO     33080751140
64875265372B43   AMANDA        SINOMSON                    CO     90008802653
64875277A61961   YADIRA        AHUMADA                     CA     90013992770
64875799376B49   SANCHEZ       DAISY                       CA     90005117993
6487581862B27B   LISA          DURRETT                     DC     81009758186
64876A62371968   DELFINA       GARCIA                      CO     90015140623
64877359A71968   ANGELA        MARTINEZ                    CO     32098123590
6487843AA71968   BRIAN         BEAN                        CO     90014594300
6487954654B27B   ERIC          BAULDWIN                    NE     27039295465
64879858772B27   ALEJANDRINA   CORAL                       CO     90013698587
6487B47453168B   TERESA        JASO                        KS     22015744745
6487B637231453   RAMIRO        NEYES                       MO     27534166372
6487B775455973   ARMANDO       GONZALEZ                    CA     90014367754
6487B85A787B31   BENITA        HARRELL                     AR     90005878507
6487BA57571968   ADOLPUS       MATHIS                      CO     90012090575
64882279372B43   STARR         MERMEJO                     CO     90003282793
6488228A755975   CHRIS         RAMERIEZ                    CA     90013712807
648828AA85416B   MICHELLE      LEMON                       OR     90006388008
64882A83285689   YADIRA        CISNERO                     NJ     90013560832
648834A9885689   LILIA         HERNANDEZ                   NJ     90014154098
6488369A633698   CARLETTA      HINES                       NC     12085246906
6488413165416B   THOMAS        MAXWELL                     OR     90008821316
6488419367B46B   JASMINE       JOHNSON                     NC     90012811936
6488494A272B27   EMMANUEL      ETIENNE                     CO     90001249402
648849A1191522   NAJELLY       CERECERES                   TX     90005409011
6488557495B235   GORE          MOMINICK                    KY     90011955749
64886259772B29   BRANDON       WALKER                      CO     90013502597
64886837A63646   RICKY         HAMPTON                     MO     90013798370
64886A4817B46B   ARIYANA       THREATT                     NC     90003150481
64887195A4B588   BRIAN         ARMSTRONG                   OK     90012961950
648876A4691998   GENEDE        MATTHEWS                    NC     17030686046
64887A37298B22   NUBIA         JIMENEZ                     NC     90005590372
6488877557B46B   PAM           WHITE                       NC     90004457755
648889A1557555   ELIZABETH     AVILA                       NM     90009989015
6488926A463646   KENT          CUNNINGHAM                  MO     90012962604
6488B55432B27B   LUIS          LOPEZ HERNANDEZ             DC     81073595543
6488B75A17B46B   EARNEST       MAPP                        NC     90000517501
64891324A85689   NASSIA        PENDELTON                   NJ     90012713240
6489173A176B49   APRIL         CRESPO                      CA     90012967301
64891A6125B235   MANFRED       REED                        KY     68076170612
64893963672B29   VERONICA      RIVERA                      CO     33067589636
64894664672B36   JASON         CORDOVA                     CO     33039186646
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 438 of 2350


64894AA9172B43   BERENICE         GONZALEZ                 CO     33026270091
64895A61872B43   FRANCISCO        TREVIZO                  CO     90014370618
64896292672B36   RAYLIN           MACIAS                   CO     90013642926
64896717172B29   NEIL             MOLINA                   CO     90007667171
6489684844B27B   MONIQUE          FANNING                  NE     90014908484
64896887476B49   LUIS             PEREZ                    CA     46005878874
6489695A472B27   RHONDA           NELSON                   CO     33077639504
6489747A372B29   RIAZ             REHMAN                   CO     90002364703
64897772276B49   MINA             BARAJAS                  CA     46012677722
64897975A5B235   ROBERTS          MARSH                    KY     90003069750
64898254576B49   FRANK            GAGLIANO                 CA     90012492545
6489878A951338   MARIO            OCAMPO                   OH     90012197809
6489967155416B   TRISTAIN         PARKS                    OR     90010456715
6489B583751337   ATARAH           YISRAEL                  OH     90014045837
648B1199781675   VERONICA         WRIGHT                   MO     90013361997
648B1222A87B31   APRIL            ESTRADA                  AR     90008282220
648B12A8231453   TERRY            ELLIOT                   MO     90003322082
648B1367185886   VIANEY           MANJARREZ                CA     46056993671
648B1631885689   CRISTOBAL        ORTIZ                    NJ     90013386318
648B17A434B588   TONYA            RAKESTRAW                OK     90003157043
648B2A24285689   LEE              LEE                      NJ     90014020242
648B3431987B31   STEPHANIE        FINCHEM                  AR     90011124319
648B3453872B29   MARIA            MONTOR                   CO     90012074538
648B347A55B531   MAGDALENA        SERRANO                  NM     36006704705
648B372632B27B   CEDRIC           ASHFORD                  DC     90013057263
648B474935416B   MARENDA          HAWKINS                  OR     90013987493
648B4993555975   YVETTE           CARRILLO                 CA     90013899935
648B56A6361961   ROGELIO          ROJAS                    CA     90003446063
648B6165685886   RICHARD          LYONS                    CA     90012941656
648B632432B27B   ANTHONY          JOHNSON                  DC     81038313243
648B6597281644   CIARA            DULL                     MO     90013065972
648B6733787B31   ANNE             HOFFMAN                  AR     28032857337
648B682974B588   DEE              THOMPSON                 OK     90005668297
648B7386655973   BETTY            HORNE                    CA     90003653866
648B7522931453   CHRISTIAN        BEDOLLA                  MO     90009945229
648B7641691522   ADRIAN           GONZALEZ                 TX     90010916416
648B7927371968   ALBERT           GUERRERO-MATINEZ         CO     90014049273
648B7947171968   ERICA            IBARRA                   CO     90011409471
648B8472891562   CRYSTAL          CHAVEZ                   TX     90014854728
648B9482185689   JUAN             VAZQUEZ                  NJ     90014524821
648B949124B588   JOHN             YOUNG                    OK     90005104912
648B9A89261961   JOHN             KREISCHER                CA     90012220892
648BB78795B358   FAJARDO          MARIA                    OR     90003067879
6491122712B27B   STANLEY          TAYLOR                   DC     90011232271
64911367A5B235   JAMINA           MACCLEAN GONZALEZ        KY     90005073670
64911A3924B27B   JUDY             JONES                    NE     27053030392
64913293872B36   ENRIQUE          VEGA                     CO     90012672938
649133A5877361   GUSTABO          RODRIGUEZ                IL     20516433058
6491363255B241   MACK             MARZETTE                 KY     90011336325
649138A6761961   ELIZABETH        GOMEZ                    CA     90014618067
64914A8975416B   JAMES            SARTELLE IV              OR     47067930897
64916165A63646   SEAN             FINK                     MO     90008791650
6491628A25B241   ALLAN            HEPBURN                  KY     90013482802
6491692AA55973   LAURA            MORENO                   CA     48037279200
64917649376B49   CHRISTINA        JANSEN                   CA     90012856493
64917A54951337   MARIE            SCHINDLER                OH     66044310549
6491817464B562   DANNI            DUNN-LEGG                OK     90006391746
649187A3755975   JOHNNATHEN       RIVAS                    CA     90009387037
649187A4963646   AIDAN            MCCORMICK                MO     90015447049
64918A63172B43   FAYLENA          ROBINSON                 CO     90014240631
6491924A255975   ERIC             CLAWSON                  CA     90007702402
64919A14887B31   TEKESHIA         BUTLER                   AR     28068890148
64919A9752B27B   OCTEVIA          SEWER                    DC     90013220975
6491B259363646   KATHRYN          CULLEN                   MO     27562152593
6491B941631453   CAMILLA          CAGE                     MO     90013659416
6491B951655973   JAVIER           OCHOA                    CA     90013629516
6491BA28972B43   TRACEY           SPINDOLA                 CO     90005110289
6491BA54591522   MIRIAM           MARQUEZ                  TX     90012280545
6492128825B241   TIFFANY          FRAZIER                  KY     90012712882
6492248A261964   ARIZDELSY        DIAZ                     CA     90011984802
649226A135B358   MONICA           MORENO ESQUIVEL          OR     44030566013
64922A21351337   EDDIE            SHERMAN                  OH     66094690213
64923594872B36   SAID             BENJELLOUN               CO     90002785948
6492387515B381   KEAGAN LINDSAY   QUIRING-KOEHN            OR     90013778751
649238A5572B36   MARVIN           MONTIEL                  CO     90005438055
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 439 of 2350


649239A9384392   LEANN                JAMES-SANDERS        SC     90011249093
64924438472B27   JU WAI               DI                   CO     90014594384
649246A3772B29   DIRK                 SMITH                CO     90012916037
649249A3155975   ASHLEY               BROWN                CA     90013749031
64925439772B27   CELEDONIA            CASTRO               CO     33057874397
649255A8A71968   ADAM                 LARA                 CO     90015575080
64926484A72B27   SHARON               MOSTUE               CO     90009644840
6492694498B168   BECKY                GRAY                 UT     31093089449
649269AA263646   MICHEAL              CRUSE                MO     90014069002
64927171A72B36   BRYAN                MOLAND               CO     33039241710
6492757A981675   JIN                  PARK                 MO     90013735709
6492767865B241   FERNANDO             ESCOBAR              KY     90012636786
6492768644B27B   MARY                 THOA                 NE     27012066864
6492795657B46B   ROBERT               THOMPSON             NC     90006279565
64927A1A455975   CARRIE               GIBSON               CA     90012270104
64928186697B37   SKYLER               CHRISTIAN            CO     90000691866
6492851724126B   VICTORY              PIROLI               PA     90008865172
64928658A72B36   GERALD               RAY                  CO     33075226580
64928874376B49   MICHAEL              ENGLISH              CA     90012858743
6492988184B588   DO                   LY                   OK     90010038818
649298A7A3B324   CRYSTIL              SMITH                CO     90002448070
64929A34163646   CALEB                RILEY                MO     90015580341
6492B37359187B   AXEL AND ELIZABETH   MOIYAI               OK     90006173735
6492B695561936   JOSELO               LEON                 CA     90013486955
6492BA12355975   JESUS                ESCALERA             CA     48050310123
6493127463168B   AMANDA               MOORE                KS     90012462746
649312AA62B956   MARVIN               LANGFORD             CA     90008702006
649313A4A72B43   STANIA               YARMON               CO     90009763040
6493182314B27B   MARCI                OWENS                IA     90014018231
64932327472B36   MARIA                CHICHARO ZACARIAS    CO     33093783274
64932328687B31   JOY                  MAYALL               AR     90011133286
6493255222B27B   GWENDOLYN            JOHNSON              DC     90012905522
64932983A7B46B   BRIANA               WILLIAMS             NC     90010729830
64932A99157555   LUPE                 LOZOYA               NM     35547480991
649334A7391562   ALEJANDRO            TORRES               TX     90011034073
64933589687B31   STEPHANIE            SMITH                AR     90001105896
64933732A41291   ROBERT               KUSTRA               PA     90003007320
6493389785416B   TRISTA               FULLER               OR     90012498978
64934464172B27   DENISE               GONZALES             CO     90012834641
6493456125416B   SOPHIA               KALDAHL              OR     90013205612
6493458374B588   NASHIKA              CORLEY               OK     90014165837
6493461A784392   JOSEFINA             ESCOBAR              SC     90014176107
6493469323B374   DAWN                 MICHELL              CO     90010366932
64934A1685B351   LENNY D              SANTA ANA            OR     90003370168
64935239572B29   NED                  DUDYMOTT             CO     33016222395
6493528A163646   SUNDAR               SHRESTHA             MO     90012322801
6493645A77B653   JENNIFER             PERSON               GA     90012314507
64936616A3168B   SHAWN                PHELPS               KS     90013916160
6493693A872B43   MORGAN               JUSTIN               CO     90011219308
6493819372B224   ANDRE                REID                 DC     90014941937
6493822495416B   REBECCA              HENSON               OR     90007752249
6493837515B132   CRYSTAL              SHADWICK             AR     23000713751
64939474A84392   ANTHONY              PRINCE               SC     90014874740
6493978727B446   BARBARA              ANNWRAY              NC     90003437872
64939A6155B385   MARK                 ARVIDSON             OR     90002710615
64939AA4957555   REBECCA              JAQUEZ               NM     90002520049
6493B316872B36   ANGLE                RAMOS                CO     90013293168
6493B367A2B248   MARVIN               SMITH                DC     90007833670
64941247572B36   JESSICA              MCGREGOR             CO     90014772475
6494186785B241   KENDREA CHEYENNE     RICE                 KY     90013518678
6494232214B27B   SARAH                CHRISTENSEN          NE     90004223221
64942368736B35   JORGE                HERNANDEZ RAMON      OR     90006913687
6494243A42B27B   JEAN                 LITTLETON            DC     90009234304
649425AA881644   LEDELL               LEWIS                MO     90014525008
6494366A25B241   RODRICA              ANDERSON             KY     90010636602
64943952A63646   JOHN                 BYRNE                MO     90015449520
64943A49261964   WENDY                NOLAN                CA     90010130492
64944155A76B49   GUZMAN               ASHLEE               CA     90012031550
6494428A971968   JOEY                 BOTTOMLY             CO     90012992809
6494437A251337   JAILYN               COLLINS              OH     90015153702
64944A12485689   HILDA                PEREZ                NJ     90012190124
6494545883B359   MILLER               EICHELBERGER         CO     90000594588
6494659A185689   KULWINDER            SINGH                NJ     90000135901
6494683824B27B   DAVID                YOUNG                NE     27058018382
6494719A272B36   ELY                  ORONA                CO     33039601902
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 440 of 2350


6494796224B27B   JASON        CALVERT                      NE     90003269622
6494867212B27B   MIRANDA      MARTINEZ                     DC     90004956721
6494874765B235   MISTY        LAWSON                       KY     90010107476
649491A855B235   STEVE        COPE                         KY     68034411085
64949569172B27   RODNEY       LEIGH                        CO     90013275691
64949A2854B588   LUIS         RESENDIZ                     OK     90013420285
64949A37761964   DANIELLE     BAILEY                       CA     90013780377
6494B159372B29   JEFFREY      LISZEWSKI                    CO     33031061593
6494B16988B168   ANGELA       RAMOS                        UT     90006291698
6494B474691562   ELIZABETH    GUEVARA                      TX     90014854746
6494B648161936   JESUS        MORALES                      CA     90011176481
64951493472B29   JORGE        LUIS                         CO     33096224934
649527A2361961   JESUS        PALMA                        CA     90014827023
6495287A65B243   NELDA        KING                         KY     90013828706
64953773A85689   DARRELL      ROSA                         NJ     90012227730
6495418A555977   AMPARO       BALERO                       CA     49043351805
6495629A171968   JOSHUA       ROBILLARD                    CO     90008332901
6495633584B588   LISA         RAY                          OK     90014173358
6495711A184392   LONNIE       YARBROUGH                    SC     90014771101
64957359598B22   RAFAEL       GONZALEZ                     NC     90005593595
6495756A185689   LISA         HINES                        NJ     90013745601
64957A88691998   DYNA         NGAMA                        NC     17097250886
6495826898B168   TAMARA       NERIA                        UT     90001232689
6495928A172B29   REFUGIO      VILLANUEVA                   CO     33094422801
6495933922B526   HELEN        BROWN                        AL     90012623392
649597A8A81644   RENA         GOODWIN                      MO     29072787080
6495B584885886   TERI         HAWKINS                      CA     90012185848
6495B5A9298B22   TALISHA      TOBIN                        NC     90002405092
6495B666A8166B   ASHLEY       CARPENTER                    MO     90010316660
6495B784257555   KATHERINE    VILLEGAS                     NM     90010347842
6495BA44555973   LAURA        RAMIREZ                      CA     48068130445
6495BA96981675   JOY          GRAY                         MO     90010900969
64961A49372B29   JOSELUIS     RINCON-PEREZ                 CO     90002770493
64962727372B43   REUBEN       MARTINEZ                     CO     90014877273
64962999A63646   LEWIS        AMOS                         MO     90011319990
64962A97661964   VIRGINA      LOPEZ                        CA     46040490976
64962AA252B27B   ZAAEAR       PACK                         DC     90015020025
64963159A91998   TERRANCE     LANCASTER                    NC     90011131590
6496318612B27B   SEAN         HACKSHAW                     VA     90010211861
649632A4571968   TAUSHA       BENNETT                      CO     90014462045
64963722A5416B   PRISCILIAP   HERNANDEZ                    OR     47053527220
649642A8287B31   SHAMEKA      WILLIAMS                     AR     90014992082
6496492115B235   MICHAEL      MCLEMORE                     KY     90012709211
6496548975B235   SHARON       THOMAS SAUCER                KY     68034114897
6496641AA84392   CHRISTAL     BAXTER                       SC     90012294100
649668A755B235   TODD         JAMES                        KY     90010728075
6496725495B241   DANYREA      JOSEPH                       KY     68020432549
64967482587B31   GEORGE       RAMOS                        AR     90014994825
64967A79485689   SAUL         MORALES                      NJ     90013660794
6496876875B241   TAMIKA       TAYLOR                       KY     68076237687
6496881A676B49   JESSICA      LARA                         CA     90012878106
64968A28661961   JOSE         MACHUCA                      CA     90015120286
649694AA472B36   JACQUALYN    VAN HORNE                    CO     33051204004
649695A725B235   MELISSA      TERRY                        KY     90009685072
6496B388285689   SAMAIJA      FILE                         NJ     90012973882
6496B9A165B271   ANDRE        STARLING                     KY     68075479016
6496BA92591998   JANICE       WILSON                       NC     17074080925
64971317A91562   RUBEN        RUIZ                         TX     75074073170
649722A7861961   MELISSA      VILLALOBOS                   CA     90007912078
64972466472B27   GLENN        GARCIA                       CO     33023274664
6497276362B27B   ANTONIKA     JOHNSON                      DC     90013897636
6497337A991522   MARCOS       MENDOZA                      TX     90010923709
64973982176B49   NIKI         BURGAN                       CA     90004799821
64973A49181644   RAQUEL       PEREZ                        MO     90013240491
64973A95371968   BETTY        LUEDEKE                      CO     90015140953
6497455583168B   GERALD       RICHEY                       KS     90012585558
64975883376B49   ANGELICA     CARREON                      CA     46011518833
6497632A476B49   HILARY       LOVAT                        CA     90009893204
6497667528B354   ANNETTE      TOLEN                        SC     90014816752
64976A6565B235   LORI         STOUT                        KY     90010430656
64977531972B27   KENNETH      SCHLOTTERBECK                CO     90012525319
64977623A4B588   LAKEN        MURRAY                       OK     90011456230
649785A1785689   GERARDO      ARIAGA                       NJ     90013725017
6497946567B46B   JAIME        HERNANDEZ                    NC     11073124656
6497967145716B   BRUCE        DRUCKENMILLER                VA     90004316714
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 441 of 2350


6497983214B27B   JAMES         REED                        NE     90001198321
64979A57757555   MARTHA        ROWLES                      NM     90011140577
6497B132561936   CLAUDIA       GUTIERREZ-DOWNEY            CA     90013111325
6497B53765B235   GREGORY       DUNLAP                      KY     68021425376
6497B585385689   FELIX         TAPERIA                     NJ     90012615853
6497B58A191522   ADRIAN        DELGADO                     TX     75017845801
6498122495416B   REBECCA       HENSON                      OR     90007752249
64981465A55975   LETICIA       OCHOA                       CA     90003474650
6498166A35B235   VICTORIA      ROACH                       KY     90014836603
6498171A672B36   SABRINA       GUTIERREZ                   CO     33072787106
6498262A584392   JOSE          HERNANDEZ                   SC     90014156205
649835A858B168   COLE          LOPEZ                       UT     90010415085
64983637A91998   DAVINA        KEARNEY                     NC     90013836370
649839A2172B29   JUAN          FLORES                      CO     90014159021
64983A84581675   JEFFREY       SPOTWOOD                    MO     90005010845
64984255872B43   BILLY JOE     OLIVER                      CO     90014292558
649844A6251337   JAMES         CLARK                       OH     90013934062
6498451A955975   JENNIFER      HILL                        CA     90015105109
64984587A57555   MAGDALENA     MACIAS                      NM     90001055870
64984679272B36   MARIA         MARTINDELCAMPO              CO     90012786792
6498467A184392   JASMINE       MORRISON                    SC     90013496701
64985588798B22   YENSI         BRENES                      NC     90005935887
64985612A36B93   NEWELL        JOSH NEWELL                 OR     90012186120
6498637882B27B   EUGENE        PORTER                      DC     90013153788
6498648125416B   KRYSTAL       HAHN                        OR     47084184812
6498667494B588   NATHALIE      ROJAS                       OK     90014166749
64987674598B22   EDEL          RIVERA                      NC     90005596745
6498781285416B   SERGIO        AGUILAR                     OR     90015258128
649886A862B27B   DONMIANE      PERSON                      DC     90010436086
6498875914B588   RUTH          PACHECO                     OK     90010077591
64988954487B31   ALLIE         HOOKS                       AR     90006809544
649894A188B355   MAXIMILIANO   VASQUEZ                     SC     90014334018
649898A1A72B36   MAGDALENA     SAGUILAN                    CO     90008008010
649899A8657555   YVETTE        RUIZ                        NM     35532219086
6498B58AA91998   RUBY          AMAGWULA                    NC     90002615800
6498B66775B241   BRYON         THOMPSON                    KY     90010636677
64991443A4B268   DWAYNE        SARTAIN                     NE     27096514430
64991714498B22   ALEJANDRO     OLIVERA                     NC     90005597144
6499269377B46B   TWANNA        SMITH                       NC     11005666937
6499324568166B   MS            ANYNOMOUS                   MO     90008922456
6499442725B235   REBECCA       RICHARDSON                  KY     90009234272
64994739A4B27B   RYAN          POPE                        NE     90013237390
64995255572B27   DENISE        LAROSE                      CO     90013052555
649957A3257555   RUBEN         VALLES                      NM     90003197032
6499584177B45B   HERNAN        ARGUETA                     NC     90004528417
64996166A55977   CHRISTINA     GUZMAN                      CA     90001871660
6499617A261974   CINDY         SOTO                        CA     46018951702
649967A1685689   SCOTT         BROWN                       NJ     90014777016
64996934187B31   MARIA         JIMMENEZ                    AR     90015019341
64997113A51338   MOISES        QUILES                      OH     90013071130
6499713135B241   KEVIN         DUNFORD                     KY     68067511313
649982A1961961   MARTHA        MARTINEZ                    CA     90013282019
64998817372B29   JAMES         MAIER                       CO     33089138173
649988A6551338   KAREN         WALLACE                     OH     66005488065
6499898A53168B   DAVID         CARTER                      KS     22031699805
6499938845B241   MARCIA        SCHERZER                    KY     90004003884
6499941354B588   DANIEL        REYES                       OK     90004764135
64999876A4B27B   JOHN          OWENS                       NE     27001208760
64999A1377B46B   ANTONIO       CURETON                     NC     90007580137
6499B141184392   KIMBERLY      CHABOT                      SC     19063501411
6499B366A85689   CLAUDIA       STRICKLAND                  NJ     85048853660
6499B388672B43   LUIS          GAMEZ                       CO     33061903886
6499B65A85B235   HEATHER       JONES                       KY     90013316508
6499B692A2B27B   STEPHON       FRANKS                      DC     90012836920
6499B8A7771968   MYONG         MOON                        CO     32003588077
649B1155755973   MARIA         BEJARANO                    CA     48042401557
649B1A3A991562   BRENDA        PORTA                       TX     75002230309
649B2129A61936   SHYANN        MERCADO                     CA     90009821290
649B223165B241   SHANNON       HURT                        KY     90009272316
649B248335416B   AMANDA        ANGELO                      OR     90010784833
649B3154A4B27B   EILEEN        SCHAFER                     IA     27095011540
649B344A12B27B   ADELIA        CARRANZA                    DC     81054294401
649B3942663646   BRITTANY      HOLDEN                      MO     90011209426
649B4427276B49   LOGAN         BROCK                       CA     90010084272
649B447213168B   GLADYS        MURRAY                      KS     90003934721
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 442 of 2350


649B4662841261   JENNIFER     ZEILER                       PA     90000606628
649B46A5355975   JAMES        HILL                         CA     48019376053
649B488654B27B   TERRI        MARTIN                       NE     27065368865
649B513385B37B   ANDREW       LIGHTCAP                     OR     90002751338
649B5247791522   CHRISTINA    CHAVEZ                       TX     90010892477
649B538758B168   SHERRIL      TELFORD                      UT     31016343875
649B58A5381644   TAMARA       WASHINGTON                   MO     90014688053
649B6221181675   BRYAN        LEONARD                      MO     90011882211
649B6446491998   DIANA        FRANCO                       NC     90012244464
649B673384B27B   CARMEN       WISENER                      NE     90013127338
649B7396A4B588   MARIE        DRISKELL                     OK     21567103960
649B7A74257555   FAVELA       YAZMIN                       NM     35591490742
649B7A74661961   FRANCISCO    LUGO-CHICO                   CA     90011630746
649B8457863646   IAN          JENNINGS                     MO     90015464578
649B8552271968   JONATHAN     LONG                         CO     90007625522
649B866A185886   ROSEMARIE    RAMIREZ                      CA     46050226601
649B891A551337   DEBBIE       LYKINS                       OH     90003469105
649B892773168B   JOSEPH       GIBBS                        KS     90007359277
649B9379971968   EILEEN       SCHERMANN                    CO     90001673799
649B9859676B49   ELIA         SANCHEZ                      CA     90012178596
649B9A78881644   JANISHA      THOMAS                       MO     90010830788
649BB82477B46B   TAMESHA      GANT                         NC     90014018247
649BB852A91562   ADRIAN       MORENO                       TX     90013818520
649BB928472B29   JAVIER       OROCIO                       CO     33011959284
64B111A7992844   VENIGNO      PEREZ                        AZ     90014321079
64B1154374B27B   AYLA         GOMEZ                        NE     90010105437
64B11624361936   FRANCISCO    BENITEZ                      CA     90013296243
64B1167665B531   DAVID        MCPHERSON                    NM     36039596766
64B11695191562   GUADALUPE    GUERRERO                     TX     90008486951
64B11949981675   JOSEPH       KING                         MO     29010189499
64B12162271968   ROXANNE      AMBROSE                      CO     90009011622
64B1251A161936   SHANE        WOOD                         CA     46062945101
64B12537972B29   SELINA       GONZALES                     CO     90012365379
64B13327171968   JESSIKA      RICE                         CO     32005773271
64B133A2985689   VALENTIN     MARTINEZ                     NJ     90013523029
64B13454187B31   ALISON       LYNCH                        AR     90010964541
64B13596A31434   ALISIA       LASHLEY                      MO     90014115960
64B1365477B329   RIMBER       FERRUFINO                    VA     81016986547
64B13693461961   MARTHA       RAMIREZ                      CA     90009346934
64B1424514B268   GARY         GRAYSON                      NE     27079902451
64B1435534B27B   STANLEY      MIERS                        NE     90014833553
64B1482A457555   DEBBIE       LEGARRETA                    NM     90010248204
64B1495AA5B235   SHARRITA     BROADUS                      KY     90014089500
64B15749A72B43   CRAPPS       LISA                         CO     90013147490
64B16473171968   DUANE        BROWN                        CO     32096704731
64B16678861936   ISMAEL       GONZALEZ                     CA     90012586788
64B166A175B921   ANJELA       PINK                         WA     90013696017
64B1714775B235   APRIL        KALTOFEN                     KY     90013921477
64B17315881675   ERIC         GLOVER                       MO     29063453158
64B17753455975   ESTELA       BORQUEZ                      CA     90013177534
64B17781A91562   ERIKA        MIRANDA                      TX     90011307810
64B1778544B27B   ANGEL        JOHNSON                      IA     90010107854
64B1781132B244   MICHELLE     MCKIETHAN                    DC     90007458113
64B17855157555   ARMANDO      CARRERA                      NM     35587818551
64B185A6A4B588   NATHAN       CODY                         OK     90014095060
64B1874993168B   LEON         JONES                        KS     22047527499
64B18877692836   VICTOR       GARCIA                       AZ     90014578776
64B188A8872B29   GARFIELD     BOB PEDRAZA                  CO     33096948088
64B1893A172B43   ROBERTO      OSALES                       CO     90004189301
64B19186761961   HITLER       DOIS                         CA     90002801867
64B19787A2B27B   MIGUEL       LOPEZ                        DC     81095917870
64B19916991522   GABRIELA     PONCE                        TX     90010769169
64B19A9315416B   JOSIE        HUMPHREY                     OR     90014430931
64B1B486451338   AMANDA       DIAZ                         OH     90011474864
64B1BA88891998   QUINCY       HICKS                        NC     90014700888
64B213A3572B29   BRAD         CURTIS                       CO     33069113035
64B21446261964   GUADALUPE    MEDINA                       CA     90006324462
64B22149984322   KATRINA      DAWSON                       SC     90015121499
64B22382A91562   KERRY        MCCORD                       TX     90005573820
64B22454187B31   ALISON       LYNCH                        AR     90010964541
64B2279AA8B168   JOSE         CASTANON                     UT     90011437900
64B22844576B49   DIANA        AMAYA                        CA     90006558445
64B2316A763646   NOVA         FOSTER                       MO     90001491607
64B23215376B49   EVERARDO     VERGAR                       CA     90013972153
64B23A43591522   LUZ ELENA    NAVA                         TX     75003910435
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 443 of 2350


64B2431394B27B   GERALD       STEWART                      NE     27001513139
64B2485148166B   TOMMY        HODGE                        MO     90006268514
64B25222872B36   NATASHA      ERWIN                        CO     33012702228
64B25774951338   NICK         MORRIS                       OH     90013707749
64B2581825416B   IAN          MCKINNON                     OR     47090518182
64B25886A91562   RUBEN        IBARRA                       TX     90013778860
64B259A1A87B31   TIM          PROFFITT                     AR     90007269010
64B25A9A54B588   ANITA        TOH                          OK     90002120905
64B26516155924   EDGAR        INOSTROZ                     CA     90012705161
64B26577555975   JAKE         FABELA                       CA     90007625775
64B26714961961   TOM          ANTONIEWIXZ                  CA     46054467149
64B27289155975   JAVIER       ARIAS                        CA     90015102891
64B274A5551338   ESSARHANY    MOHAMMED                     OH     90004854055
64B2752A984392   MELISSA      BOWDOIN                      SC     90000615209
64B27751161936   MARISSA      CASTRO                       CA     46062947511
64B2819375B271   VINCENT      POZZIE                       KY     90003921937
64B2823A971968   SANDOVAL     JULIAN                       CO     32050752309
64B28244361961   BELLA        ACOSTA-MESA                  CA     90013792443
64B28316385689   CARLOS       HERNANDEZ                    NJ     90011383163
64B28652755973   SOILA        SUAREZ                       CA     90000896527
64B29251A24B64   TRACEY       GRANT                        DC     90013652510
64B29338531453   VERONICA     CLARK                        MO     90011583385
64B2993A261961   PRISCILLA    ESTRADA                      CA     90002919302
64B29A47281675   JOSE         GONZALEZ                     MO     90015130472
64B29A85887B31   BRITTANY     WOOD                         AR     28014870858
64B2B48A681675   EDUARDO      FUENTES                      MO     29085764806
64B2B675181644   ROBIN        HARRIS                       MO     90013666751
64B31233791562   VICTOR       FLORES                       TX     90001452337
64B31352376B49   IVAN APODA   MENDEZ                       CA     90000593523
64B31559363646   RYAN         NIBLETT                      MO     90000965593
64B3165815B368   DAVIS        NATE                         OR     44504876581
64B31745261964   ALTHEA       WHITEHEAD                    CA     90012847452
64B3177945B241   KESHA        KOLE                         KY     90011667794
64B3195A785689   JENNIFER     STRUBLE                      NJ     90013719507
64B3198717B46B   KYESHA       MCKINZIE                     NC     90011849871
64B3245A691562   GRACIELA     RAMIREZ                      TX     75036114506
64B3262633168B   LEOPOLDO     GARZA                        KS     90014636263
64B326A3163646   MARIA        SOUSA                        MO     27579466031
64B3319A84B588   ROLANDO      CARDENAS                     OK     90011031908
64B33267785886   VASANA       LY                           CA     90012852677
64B3337A485689   ANTONIO      ALICEA                       NJ     90006603704
64B3353585416B   PAULA        RHODES                       OR     47035465358
64B3375338166B   ROBERT       CAIN                         MO     90003217533
64B33872681675   SANDRA       VALENCIA                     MO     29015318726
64B33A1642B27B   VILMA        MEJIA                        DC     90005580164
64B34334491522   LUIS         RAMOS                        TX     75030513344
64B343A5A84392   LASHENNA     BRAELEY                      SC     90005603050
64B347A9761964   GUADALUPE    VALERIO                      CA     90010877097
64B3494618B168   STACEY       WALTON                       UT     31079749461
64B34A7135B241   LATERREN     WAR                          KY     90012060713
64B35241355977   AQUILEO      SOLANO                       CA     90014812413
64B35334591998   GABRIEL      GONZALEZ                     NC     90004703345
64B3571314B27B   SARAH        WRIGHT                       NE     90013607131
64B35991791562   HECTOR       GUTIERREZ                    TX     90002449917
64B3663298B168   MARLENE      ENGLAND                      UT     90004756329
64B3764A82B27B   ROBEL        ASSEFA                       DC     90009116408
64B38445171968   WILL         SCHUTZ                       CO     32020954451
64B3864AA61936   JENNIFER     CARRILLO                     CA     90007636400
64B3879993168B   MATTHEW      COOK                         KS     90012527999
64B3923592B27B   FIKRU        WONDAFEREW                   DC     81076922359
64B39A19872B43   JOSE         MONTES                       CO     90008700198
64B3B438861964   LEWIS        GIBSON                       CA     90001694388
64B3B4A7472B36   AMANDA       WIDHALM                      CO     90012834074
64B3B57388B168   NORMA        CORNA                        UT     31009165738
64B3B675355975   MIRENA       MORFIN                       CA     90012326753
64B3B93734B27B   SHERICE      GRESHAM                      NE     27045379373
64B41247A91522   CARELI       ORTIZ                        TX     90010952470
64B41283671968   MARIA        MARTINEZ                     CO     90010662836
64B41284761936   ARAM         ESQUERRA                     CA     90015162847
64B41349A76B49   BECKY        QUIROZ                       CA     90000603490
64B41421457555   MANUELA      VASQUEZ                      NM     90012314214
64B41611187B31   LACY         ANTHONY SPEED                AR     90008986111
64B41A9143B372   GERARDO      SANCHEZ                      CO     33031910914
64B42152772B43   RICARDO      DIAZ                         CO     90014771527
64B4226344B27B   MERDELL      PHELPS                       NE     90013552634
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 444 of 2350


64B42284376B49   MARISOL         FRANCO                    CA     90008602843
64B4228997B46B   VICTORIA        BATTLE                    NC     11095242899
64B42291991562   MARIO           FALCON                    TX     90015192919
64B424A3172B29   SAMANTHA        KETTL                     CO     90003684031
64B42A18472B36   MIRANDA         HAGSTROM                  CO     90013180184
64B43538191527   FRANCISCO       GALLEGOS FRANCISCO        TX     90009705381
64B43577272B29   GASPAR          HUGO                      CO     90007665772
64B43629A85689   JOSE            HERNANDEZ                 NJ     90010866290
64B43679291998   TRAVIS JARELL   LATIMORE                  NC     90012476792
64B43733461936   ROSS            SCHWARBERG                CA     90012897334
64B44387A91562   CLAUDIA         MARTINEZ                  NM     75030173870
64B44525655977   LINDA           CLAUDIO                   CA     90014915256
64B44562955975   ANTHONY         BOST                      CA     90006535629
64B44748785886   ELLIE           EDELMIRA                  CA     46036947487
64B44798172B43   JORGE           GALINDO                   CO     33040927981
64B4532497B761   JAMES           ZIEGLER                   CA     90015333249
64B45437384392   CLARISSA        DWIGHT                    SC     90013874373
64B4548644B27B   LAURA           THOMAS                    NE     27063404864
64B45A98455975   LASHA           CAROLINA                  CA     48010960984
64B46647857555   SANTIAGO        RAMOS                     NM     90013366478
64B4668415B271   LENATA          TOWNSEND                  KY     68088436841
64B46686755975   ARMANDO         LOPEZ                     CA     90012446867
64B468A7372B43   RICARDO         GOMEZ                     CO     90014338073
64B4729A855975   CRYSTAL         WALL                      CA     90012712908
64B47419785886   HYE SEONG       PARK                      CA     90012534197
64B47428881644   SARA            BULEN                     MO     90001034288
64B476A5191562   LUZ             MORENO                    TX     75057626051
64B47728A4B588   ADRIAN          SMILEY                    OK     90014147280
64B47864672B43   RAYLEEN         DURON                     CO     33097918646
64B47968555977   JAMES           SEYLER                    CA     90010149685
64B48288A2B27B   ISMAEL          SOSA                      DC     90013412880
64B48493376B49   DIANNA          WINCHESTER                CA     90015144933
64B4868852B27B   GUILLERMO       HERNANDEZ                 DC     90011436885
64B4B282351338   KARON           SHOWES                    OH     90014752823
64B4B576A4B588   EMMERALD        WALKER                    OK     90014095760
64B4B713272B36   EVARISTO        ROSALES                   CO     33037557132
64B4B76662B27B   TIFFANY         MARSHALL                  DC     90010177666
64B51261355977   JOHN            BURNS                     CA     90013192613
64B51324263646   MARLENA         DEES                      MO     90002573242
64B51369925236   CECILIA         REYES                     NC     90009543699
64B51811993762   LATASHA         CRUM                      OH     90001648119
64B52128772B43   KIMBERLIN       PACHECO                   CO     90010031287
64B5253874B588   VERONIKA        THOMAS                    OK     90015305387
64B52723272B27   SERGIO          PARRA                     CO     90007777232
64B52725172B36   LAURA           GONZALEZ                  CO     33011597251
64B531A9272B27   JOHN            WILKINSON                 CO     33002061092
64B53568255977   JUAN            CORONA                    CA     49085085682
64B53978576B49   ANA             GERRA                     CA     90009799785
64B5491A941261   WENDY           BOTT                      PA     51001559109
64B5496464B27B   JAMES           CHATMAN                   NE     90013929646
64B54A77191562   ROXANA          BAEZ                      TX     90013630771
64B55879572B27   SHERRI          ASHCRAFT                  CO     33043678795
64B55911581675   MISS            NIQUE                     MO     29042369115
64B5611A385689   CAMESIA         PRATT                     NJ     90014291103
64B5624A591522   GABRIEL         MENDEZ                    TX     90009792405
64B56312372B29   TIMOTHY         HOFFMAN                   CO     90008903123
64B5697597B46B   MARIA           MIPANDA                   NC     90014759759
64B56A5277B46B   MARIA           MIPANDA                   NC     90013620527
64B57182955977   DANNY           SALAS                     CA     90010311829
64B57382571968   LAMONT          APP                       CO     90012373825
64B57736176B49   MORGAN          COPELAND                  CA     90002967361
64B58145A5B235   LAQUITA         MILES                     KY     68038091450
64B58154561964   NATALIA         GONZALEZ                  CA     90008391545
64B58341655977   TINA            TURNER                    CA     49087433416
64B58383555973   DANIEL          VASQUEZ                   CA     48011883835
64B5846A17B386   PATRICK         WHITTON                   VA     81067444601
64B584A7A8B186   CINDY           BAIR                      UT     90008724070
64B58535984392   SEAN-PAUL       LAVERY                    SC     90011225359
64B58562451337   MATT            BICKEL                    OH     90001105624
64B5868564B268   ROBERTO         LOPEZ                     NE     27063676856
64B59137971968   THOMAS          COSTANDINE                CO     90013991379
64B5967A171968   JAVIER          RODRIGUEZ                 CO     90014866701
64B59754193751   REBECCA         BURGHER                   OH     90008727541
64B5981A561961   ANTOINETTE      GARCIA                    CA     90010688105
64B5B31295416B   KEVIN           FRETS                     OR     90002203129
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 445 of 2350


64B5B35995B235   TODD            HORRELL                   KY     90006743599
64B5B781955975   EDUARDA SOLIS   STEVENS                   CA     90012767819
64B5BA86A51337   HILIRIO         PALACIOS                  KY     90006170860
64B61436881644   HAZEL           JONES                     MO     90015084368
64B61921955977   LIA             HER                       CA     90010489219
64B61982361961   ORA LEE         HU                        CA     90003539823
64B62339971968   CHRIS           GOLDBLUM                  CO     32015593399
64B6253648B168   CHRISTOPHER     BENARD                    UT     90002515364
64B62815231453   CORINE          MCGILL                    MO     90011268152
64B63887698B22   LAKENDRA        NICHOLS                   NC     11065218876
64B63897163646   NICHOLE         ROYER                     MO     90012788971
64B6427745B241   PAMELA          STATT                     KY     90006492774
64B64281972B36   JORGE           SANTOS                    CO     33027692819
64B644A8A3168B   BLAKE           BOYLE                     KS     90014514080
64B6461748B168   CANADA          BRADSHAW                  UT     90014986174
64B647A2763646   NIJAZ           TABAKOVIC                 MO     90012637027
64B64929385886   VICTOR          JIMENEZ-VELAZQUEZ         CA     46077629293
64B649A4851337   KIAUNDA         GIBSON                    OH     90013379048
64B64A34971968   MONIQUE         ORTEGA                    CO     90012030349
64B65167651337   ANNE            LYLE                      OH     66002031676
64B65233584392   LAQUETTA        MILLER                    SC     90004992335
64B65549171968   ALMA            URREA                     CO     90010155491
64B6595572B27B   ALANA           THOMAS                    DC     90007669557
64B66176925236   SAMUEL          BATTLE                    NC     17041481769
64B6621265B235   RONALD          CLARDY                    KY     68034002126
64B66243855977   TODD            MORGAN                    CA     90014812438
64B6641135B241   SHERRY          OLIVER                    KY     68070584113
64B66785984392   ERIKA           GARCIA                    SC     19089507859
64B66984776B49   ROBERT          CRUZ                      CA     90014169847
64B67185271968   BILLY           THRASH                    CO     32088761852
64B6735454B27B   FABIOLA         AGUAYO                    NE     90011613545
64B673A5872B29   KENNY           SANTISTEVA                CO     90010143058
64B67638731453   BRANDY          CANION                    MO     90011586387
64B67982185886   JONATHAN        RUTTER                    CA     90012829821
64B68295155973   DEMETRIA        PORRAS                    CA     90014112951
64B68599181644   PAMALA          KORNEGAY                  MO     29070085991
64B68A12872B27   ANTONINA        ACEVEDO                   CO     90013840128
64B69219891562   FREDDY          SMITH                     TX     75074472198
64B6955352B27B   BIANCA          WALLER                    DC     90009805535
64B69937785886   ANTHONY         MOSICH                    CA     90012979377
64B69A9AA71968   MARIE           CUNNINGHAM                CO     90015290900
64B6B87A972B29   EVELYN          SAILAS                    CO     33071598709
64B6B989361964   VIVIANA         MENDEZ                    CA     90014389893
64B71211372B2B   JOSE            MARTINEZ                  CO     33026452113
64B71417184392   ANA             GARCIA                    SC     19060804171
64B71468A72B36   THOMAS          BURCHFIELD                CO     33049314680
64B71776255975   YANETT          LEMUS LIRA                CA     90014427762
64B71866461964   BO              MUONGKHOT                 CA     46002958664
64B71991131453   JEREMY          BARKER                    MO     27591829911
64B72176881675   MICHELLE        COMPOS                    MO     29092921768
64B72243387B31   JJ              QUALLS                    AR     90014582433
64B72926161964   RONNIE          TRUITT                    CA     46004359261
64B736A5A85886   MICHELLE        WHITE                     CA     90003836050
64B74214A51338   PAMELA          GREEN                     OH     90008102140
64B74437184392   CHRISTINA       DARLING                   SC     90010204371
64B74551263646   BILLY           BLAKENSHIP                MO     90010055512
64B74892585689   LETICIA         RAMOS                     NJ     90009508925
64B74A92791562   JOHNNY          LAZANO                    TX     75087850927
64B75629285689   CARLOS          SANCHEZ                   NJ     90014506292
64B75762625236   AUDREY          BATTLE                    NC     90010807626
64B7627775B235   JENNIFER        LORD                      KY     90009752777
64B76391A61936   IGNACIA         RODRIGUEZ                 CA     46027353910
64B763A9885689   JUSTINA         VARGAS                    NJ     90014593098
64B7642687B46B   RENDRICK        WALLACE                   NC     90012924268
64B76478872B29   CHRISTINE       URIOSTE                   CO     33034684788
64B76584325236   ADAM            PETTIGREW                 NC     90009195843
64B76585826267   STEPHANIE       MOLDENHAUER               WI     90015525858
64B76626871924   CHARLOTTE       STAFFORD                  CO     90012966268
64B766A168B168   MARTIN          TORRES                    UT     90003936016
64B76941451337   EDITH           VOGEL                     OH     66095599414
64B76982185886   JONATHAN        RUTTER                    CA     90012829821
64B77276161964   WALTER          MURILLO                   CA     90013182761
64B7736933B339   JOSE            CASTRO                    CO     90001243693
64B77523451337   PAM             THOMPSON                  OH     90010245234
64B78122763646   ROLDEN          SANTOS                    MO     90014001227
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 446 of 2350


64B78138472B27   GERALDINE        BATE                     CO     90010321384
64B78162191562   HECTOR           FLORES                   TX     90014381621
64B783A9276B49   JORGE            TORRES-CHAVEZ            CA     90000873092
64B78668A81651   GARY             STEVENSON                KS     90005136680
64B78756591534   GILBERT          MEDRANO                  TX     90014247565
64B792A1872B29   JUAN             MACIEL                   CO     90013372018
64B792A225B241   GAYNESHA         JOHNSON                  KY     90014552022
64B7B123151337   CASSIE           GAMBILL                  OH     90010541231
64B7B19575B271   BRANDON          ALFORD                   KY     90003971957
64B7B328141292   ADAM             SAVKO                    PA     51092863281
64B7B726A55975   OSCAR            CAMPOS                   CA     90007627260
64B81641885886   RENE             GUERRERO                 CA     46062416418
64B8166174B27B   AMOU             FARIAL                   NE     90010936617
64B81A88A81675   GERARDO          ZARATE                   MO     29095780880
64B822A6661961   VANESSA          SALGADO                  CA     90006942066
64B82539687B31   FRED             PERRY                    AR     90014275396
64B8261127B46B   PATRICIA         JOHNSON                  NC     90013356112
64B8284A376B49   ABIGAIL          CAREDENAS                CA     90013728403
64B82A4A52B27B   ASHLEY           STEVENS                  DC     90011900405
64B83194872B36   TOMMELL          MCCLELLAN                CO     90012501948
64B83452191562   FATIMA           CEPEDA                   TX     75094864521
64B8351475B271   DECORA           BEELER                   KY     90002485147
64B83582831453   JEFF             PRICE                    MO     90013705828
64B8369672B224   ANDREA           BENSON                   DC     90012476967
64B83883955975   KRISTINE         LOOMIS                   CA     90007388839
64B83914463646   AMANDA           MCATEE                   MO     90014969144
64B83A53255973   MARIBEL          RODRIGUEZ                CA     90012940532
64B84169855973   MARTIN           MOROLES                  CA     90007931698
64B84631785689   MAYRA            VELASQUEZ MEJIA          NJ     90015146317
64B84921976B49   BEATRIZ          SERRATOS                 CA     90003839219
64B84995485689   ERWIN            VAZQUEZ                  NJ     90008879954
64B85146961936   TERESITA         OROZCO                   CA     90004691469
64B852A7371968   MICHAEL          KIM                      CO     90013092073
64B85447457555   TERRY            PYLE                     NM     90012174474
64B8564328166B   REVA             JONES                    MO     90004966432
64B86512272B36   ABDY             MONTOYA                  CO     90010435122
64B874A9655977   CHRIS            INZUNZA                  CA     90010834096
64B874A9963646   SETH             BRIGHT                   MO     90015364099
64B8773554B27B   DENISE           LEWIS                    NE     90004067355
64B877A7251338   ROBERT           PHILLIPS                 OH     90004587072
64B87912555973   JOHN             HURST                    CA     90010839125
64B8793A44B268   DONALD           MANNS                    NE     27098019304
64B8813A485886   STEVEN           GREENE                   CA     90011161304
64B88149691527   BLANCA           RODRIGUEZ                TX     75091651496
64B881A5772B29   GABRIELLE        FINLAY                   CO     90012721057
64B88463672B29   STEPHANIE        PEREZ                    CO     90012804636
64B8853414B588   EROL ALEXANDER   RAX                      OK     90002755341
64B88574624B64   EBONY            BRUCE                    DC     81005925746
64B886A6372B36   GIUSLAINE        BAINO                    CO     33072936063
64B88944851337   RONALD           E POOR                   OH     66056299448
64B89257455975   JAMIE            BRANNON                  CA     48010622574
64B89266572B43   DYNEL            LANE                     CO     90013332665
64B89432961964   VICTOR           SANCHEZ                  CA     90013104329
64B89585371968   DEVANTE          LANCE                    CO     90012775853
64B8B382257555   LAVONNE          GARCIA                   NM     90009503822
64B8B782891979   JOSE             SANCHEZ                  NC     90007577828
64B918A113168B   JERICHO          KOCSIS                   KS     90014238011
64B9197234B268   SARAH            FIBICH                   NE     27079909723
64B91A54785689   DAVID            SANCHEZ                  NJ     90014520547
64B92359357555   LEAH             MADRID                   NM     90009793593
64B92415485689   JUAN             RAMON                    NJ     90013164154
64B92711841261   SEQUOIA          BROWN                    PA     51076807118
64B93186191522   CHRISTINA        GUZMAN                   TX     75026891861
64B93239A51352   JOE              LUCAS                    OH     90002522390
64B9326227B357   EMANUEL          DIAZ                     VA     90003132622
64B93342651337   REGINA           CHANEY                   KY     90013543426
64B93483A5B235   KIETH            SMITH                    KY     90011884830
64B9358494B588   DAWN             HELTCEL                  OK     90014265849
64B93715385886   BRIAN KEITH      LAY                      CA     90012237153
64B93794651338   DEMARCO          CAMPBELL                 OH     90014857946
64B9384735B241   LINDA            KEY                      KY     68001678473
64B93955385689   CHARLES          JOHNSON                  NJ     90014809553
64B939A3772B43   RINA             HARRISON                 CO     90013609037
64B9447635B241   MARCO            CHAVEZ                   KY     90009534763
64B945A5181644   LARRY            BONNER                   MO     90010135051
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 447 of 2350


64B94833184392   ROBERT        MILLER                      SC     90012428331
64B95641185689   NACY          MOLINA                      NJ     85074956411
64B957A8A5B271   MANDI         RICHARDSON                  KY     90000817080
64B958A5191522   ROBERTO       BELMONT                     NM     75081208051
64B95A19772B27   AZALIA        ALVAREZ                     CO     90007380197
64B95A78655975   RAMIREZ       EDUARDO                     CA     48075340786
64B95A7913168B   BERNAL        LUNA                        KS     90010050791
64B96386161961   MARCUS        ESTRADA                     CA     90011993861
64B9644444B27B   CHRISTINE     CAILLIER                    NE     90014564444
64B9661AA81675   TYMISHA       WILLIAMS                    MO     29044026100
64B96971555975   RICARDO       DOMINGEZ                    CA     90015129715
64B969A4972B36   ROBERT        WALSH                       CO     33024369049
64B9715715416B   ROBERT        SCOTT                       OR     47037351571
64B97175781675   AYANA         BUTLER                      MO     90013921757
64B97764391998   SURESH        SUBBU                       NC     90011677643
64B98268851337   COLANDREAH    SHAMEL                      OH     90014292688
64B98872772B36   MARGARET      TAYLOR                      CO     90010758727
64B99517455973   JOHN          GARCIA                      CA     90013355174
64B99577361964   MAGDALENA     PEREZ                       CA     90012495773
64B99A59772B27   MARGIE        ELDER                       CO     90012570597
64B9B12472B27B   MAYA          PERKINS                     DC     81077181247
64B9B19A155973   LUIS          RAMIREZ                     CA     90006231901
64B9B8A5191522   ROBERTO       BELMONT                     NM     75081208051
64B9B9A555416B   NEVA          SMITH                       OR     90012129055
64BB1382172B36   ARNULFO       GONZALEZ RUIZ               CO     33083833821
64BB144AA5B241   ALICE         FREEMAN                     KY     68054884400
64BB1488272B27   JEFFERY       ASKEW                       CO     90013194882
64BB14A6991998   PATRICIA      JERINA                      NC     17022674069
64BB1666655973   RUBY          MCDONALD                    CA     90013686666
64BB18A5572B29   CLAUDIA       KOPRINOCK                   CO     33097138055
64BB1A47176B49   ALEJANDRO     GARCIA                      CA     90011810471
64BB2A71A76B49   REBECCA       KLEIN                       CA     90013970710
64BB2A91651337   MONICA        BROOKS                      OH     90012520916
64BB3198287B31   KYLN          ROSS                        AR     90014611982
64BB3817261961   ANNETTE       GUIDO                       CA     90004898172
64BB3996972B27   CIANCIO       SALCIDO                     CO     90014759969
64BB4388263646   MAGDALENA     POSAS                       MO     27535293882
64BB44A575B235   CHASE         PADGETT                     KY     90015114057
64BB467355416B   STACY         RAE                         OR     90014416735
64BB4866461964   CLEMENTE      RINCON                      CA     90011558664
64BB5314A5416B   CHRISTINE     BRENT                       OR     90013083140
64BB543637B46B   JEREMY        ISLES                       NC     90013544363
64BB565A261961   KARINA        ORTIZ                       CA     90012886502
64BB5A42755973   MARITZA       BELTRAN                     CA     90013590427
64BB62A8961936   DANIELLE      BRONDSTETTER                CA     46020222089
64BB6432291562   MKAEL ERIC    WATNEE                      TX     90008344322
64BB65A8157555   RICARDO       ABRAHAM                     NM     90012085081
64BB6933655973   JUAN          BACA                        CA     90012569336
64BB6982285689   EMANUEL       MORALES                     NJ     90012119822
64BB77A5976B49   EFREN         SANTOS                      CA     46056837059
64BB8146771968   SEAN          LOVELACE                    CO     90002661467
64BB828235B531   CAINER        MERSEREAU                   NM     36045702823
64BB844A65B241   CAMILLE       YOUNG                       KY     90007844406
64BB844A74B268   LISA          COLBERLT                    IA     90000354407
64BB8693751352   SHUNIKA       BUNTIN                      OH     90012516937
64BB883684B27B   PIAMA         ANDERSON                    NE     90014308368
64BB8A23855975   SAMANTHA      CASTRO                      CA     90002300238
64BB9331763646   CHRISTOPHER   LAROSE                      MO     90015393317
64BB9388172B43   TONYE         OKI                         CO     33098173881
64BB9734431453   SIEDAH        DAVIS                       MO     90011267344
64BB9818451338   ANDY          ZEISER                      OH     90014408184
64BB9923361936   DANIELLA      MORA                        CA     90014749233
64BB9936772B27   ALICIA        DAVIS                       CO     90009739367
64BB99A9855975   EMELINA       JERBAL                      CA     90014509098
64BBB239561961   SONIA         ROMERO                      CA     90012872395
64BBB411976B49   JOSE          ZAMORA CRUZ                 CA     90006374119
64BBB433151338   KATHERINE     AKEY                        OH     90007774331
64BBB446471968   ALANA         STOLLE                      CO     90012484464
64BBB44A74B268   LISA          COLBERLT                    IA     90000354407
64BBB563872B27   REBECCA       EKENSTAM                    CO     90002155638
64BBB56828B17B   SARA          WOODS                       UT     90004255682
64BBB624561936   TASHIA        LYONS                       CA     46087386245
64BBB689A72B29   VICTOR        CAMPUZANO                   CO     90007356890
64BBB893255973   ULDARICA      NAVARRO                     CA     48078588932
651111A5172B43   CAMERON       BENTON                      CO     33075211051
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 448 of 2350


6511157478B168   CLAY           WHITTEMORE                 UT     90010025747
6511158764B268   MANUEL         VALDEZ                     NE     90001855876
6511231325B235   ANGELIQUE      HAYNES                     KY     90004743132
6511289528B168   JOHNNY         PALACIOS                   UT     90011538952
65113116A72B27   WILLIAM        BAKER                      CO     33017141160
6511326483168B   ROBERT         STONE                      KS     90010172648
6511372288B168   SHANNA         STITT                      UT     90009137228
65114582172B27   VARERIE        HERRERA                    CO     33021835821
65114736A4B27B   LANCE          DALTON                     IA     90013587360
6511529AA8B168   AIDA           ARCADIO                    UT     31050052900
65115A3567B46B   LATOYA         BIGGINS                    NC     90015050356
65116192A5B241   DEREK          VESSELS                    KY     90014931920
651168A4463646   MINDY          PUCKETT                    MO     27515658044
65117557A7B46B   APRIL          JACKSON                    NC     90012745570
651175A8A72B36   EVELIO         MENDEZ                     CO     33024885080
6511923855B235   MICHAEL        HAINES                     KY     90014662385
6511925478B168   NATALY         TREJO                      UT     90011592547
6511933385B132   JOANNA         TANNER                     AR     90014713338
6511977595416B   TYLER          TRIPP                      OR     90009047759
6511983157194B   LANELLE R      BUCH                       CO     90009658315
651199A5791549   ARACELI        QUINTERO                   TX     75098579057
6511B396355975   ROSA           SERRATO                    CA     48038673963
6511B458591998   KARISSA        JORDAN                     NC     90012224585
6511B538772B36   LINDSAY        WYMAN                      CO     90007275387
6511B631A61961   ZOLIA          GARCIA                     CA     90009706310
6511B863325236   JENNIFER       MOORE                      NC     90015588633
6511B96A37B445   HECTOR DAVID   VILLALOBO NUNEZ            NC     90011269603
6512124625B241   MARIETTA       REYNOLDS                   KY     90013932462
6512168524B27B   JENNIFER       FAUCHIER                   NE     90005006852
65121868A61961   JUAN           PEDRAZA                    CA     90011178680
6512215854B588   RENEE          FULLER                     OK     90001661585
65122198672B36   DAVID          RAINEY                     CO     90010111986
65122AA9655977   RIVERA         RAMOS                      CA     49076630096
65123196A91998   KAMISHA        LYNN                       NC     90011001960
651237A5355973   TIMOTHY        RAMOS                      CA     90012687053
6512411A384392   CEDRIC         SMITH                      SC     90014091103
651247AA491522   HECTOR         MORENO                     TX     75067087004
65124A54591998   MEISHA         BULLOCK                    NC     90012910545
6512512798B168   SYNDI          MONTOYA-MILLER             UT     31011851279
6512533164B588   LONNIE         FEEMSTER                   OK     90013043316
651255A7A72B93   KEYA           LEWIS                      CO     90013725070
65125759672B29   SUSANA         MENDEZ                     CO     90003607596
65127AAA191522   SERGIO         MEDINA                     TX     75077150001
65128583A2B893   FRANCCESCA     MILLER                     ID     90001525830
651289A273168B   ANTHONY        PATTERSON                  KS     90010819027
65128A31A8B168   RUSSELL        ROSS                       UT     31096170310
65128A84755973   MARIA          ZUNIGA DE ROMERO           CA     90013240847
6512938217194B   WILLIAM        PULLARO                    CO     38087723821
6512B647972B36   JERRY          LOZANO                     CO     90012846479
6512B89653168B   YESENIA        CUELLAR                    KS     90013788965
6512B97968166B   FLORENCE       LEVELL                     MO     29090159796
6513177A261964   RUTH           LUNA                       CA     90013197702
6513295A391522   YOLANDA        VARGAS                     TX     90011729503
65132A44991522   ROGELIO        CUETO                      TX     75009330449
65133A28572B27   ALEXA LOUISE   ELLIS                      CO     90013560285
6513417635594B   ALEXI          ALVAREZ                    CA     90011751763
6513531385B241   DAIN           HOWARD                     KY     90014603138
65135A57681644   JESSICA        EDMAN                      MO     90011670576
6513617A98166B   DANTE          MCALISTER                  MO     90012961709
6513621448166B   JESSICA        CAIN                       MO     90012962144
65136778A72B27   CRYSTAL        GALLEGOS                   CO     33031327780
651372A3391522   ROSEMARY       OLAGUE                     TX     90014722033
65137351A4B27B   CALVIN         PHILLIPS                   NE     90015313510
65137495A4B588   EUGENIA        DAVIS                      OK     90011354950
6513757262B89B   MANDA          ZIMMER                     ID     90012565726
651384AA455975   GUADALUPE      AGUILAR                    CA     48050404004
65138687887B31   ANDREW         RENO                       AR     28083436878
65139368572B27   ROBERTO        SORIA                      CO     33038163685
6513B21A25416B   CAMELIA        CORY                       OR     47002312102
6513B461972B36   ANITA          LEON                       CO     90001464619
651412A1781651   CHAD           JOHNSON                    MO     90005972017
6514213948166B   TOM            COLLINS                    MO     90014601394
651421A675416B   JACKIE         MORRIS                     OR     90014981067
65142286A55973   JAVIER         ROSENDO ZAPOTECO           CA     90014802860
65142A2718B168   DANILLE        BASARA                     UT     90008310271
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 449 of 2350


6514341414B588   ILIA           VILORIA                    OK     21535204141
651436A2563646   DAVID          SHARP                      MO     90014096025
6514444A48166B   LOUIS          PETERSON                   MO     90009804404
651448A9355973   HCHRISTINA     GARIBAY                    CA     90008038093
65144A2245B241   RALPH          MCGUFFIN                   KY     90014800224
65144AA855416B   ALYSSA         STAFFORD                   OR     90011520085
65145624A5594B   ARTURO         CABRERA                    CA     90011496240
65145784797B37   SOLUTIONS      ELEMENTAL BUILDIN          CO     33051157847
65146554172B29   MICHAEL        WORKMAN                    CO     33032725541
6514785854B27B   ENTHONY        VALDEZ                     NE     90008158585
6514823333168B   CHELSEA        ROGERS                     KS     90013362333
6514836338166B   TRAMAINE       STOKES                     MO     90013883633
651485A894B588   ANGEL          GARCIA                     OK     90013335089
65149246A81644   MICHAEL        LANNING                    MO     29059872460
6514954327B46B   JIMMY          UTO                        NC     90010365432
6514981738166B   HOMERO         PINA ROCHA                 KS     29053458173
65149A46A4B588   ESBIN          CARRETO                    OK     90014190460
6514B447225236   TYRIQUE        BRASWELL                   NC     90015564472
6514B463955973   VEMON          SENA                       CA     48052714639
6514BA8874B27B   JEREMY         SMITH                      NE     90013890887
65151164A4B588   ARMANDO        ROJAS                      OK     90013111640
6515137164B27B   DEJA           LEVERING                   NE     90006483716
651514A7361964   ROBERT         ROMERO                     CA     90013754073
65151877272B43   SANDRA         MYRE                       CO     90012298772
6515245463168B   KARLETTA       MCPHERSON                  KS     90013854546
6515248AA31453   TIFFANY        TRIPLETT                   MO     90008994800
65152A5798166B   JACQUE         BROWN                      MO     90004290579
6515391A963646   WILLIAM A      KARANS                     MO     90007989109
65153A3815B235   ALEXANDRIA     CATRON                     KY     90006210381
6515418A981644   CURTIS         HANDSON                    MO     29017841809
6515442274B543   DAVI           MURPHY                     OK     90009364227
651545A4472B36   MA GUADALUPE   ORTIZ                      CO     90008555044
6515636A561961   CYNTHIA        LOPEZ                      CA     90014673605
6515643A77B46B   VICCARDO       STREATER                   NC     90010274307
6515724595594B   ISHLATIA       DELACERDA                  CA     90012782459
65157551A61964   HERIBERTO      GARCIA                     CA     46082865510
651576A2193153   EVANS          AKINS                      TN     90015426021
65157A31254124   DAVID          ISAACSON                   OR     47090370312
65157A68691998   NATALIE        LANE                       NC     90014810686
6515821985594B   ANGELINA       HUERTA                     CA     90011872198
65158523A81644   JAMES          GUSHARD                    MO     29092205230
65158895A61936   BRANDY         GARCIA                     CA     46057298950
6515985334B588   QUINTEAS       BRYANT                     OK     90002068533
6515985413B394   JONATHAN       WILLS                      CO     90009308541
6515B4A3A55975   VICTOR         SANDOVAL                   CA     90008104030
6516128774B27B   CARL           FLETCHER                   NE     27095552877
65161486372B36   MATTHEW        GABIL                      CO     90006584863
6516157A57B445   TIAFA          BRAWLEY                    NC     90011275705
6516212575B235   LINH           NGUYEN                     KY     90014991257
6516257152B82B   LOIS JANE      OSTLUND                    ID     90014275715
6516385518166B   CALVIN         WARD                       MO     90006688551
65163A4AA72B29   J.W.           KIMMONS                    CO     33059260400
65164116A4B27B   MU             PI                         NE     90013671160
651643A2951354   EDGAR          RODRIGUEZ                  OH     90015443029
65164868A55973   JOSE           ESQUEDA                    CA     90013928680
65164875972B29   ROSIE          MONTELONGO                 CO     33017348759
6516537AA91998   NORMA          SERINTOS                   NC     90011923700
6516557584B268   SHIKOLA        ASHBY                      NE     90013285758
65165983672B27   MIGUEL         HEREDIA                    CO     90014899836
6516633595B241   LAQUISHA       WHARTON                    KY     90009493359
651663A717B46B   GERARDO        NAVA                       NC     90011543071
65166931172B36   YOMIRA         ORTIZ                      CO     90012279311
65167129A55975   RENEE          LOPEZ                      CA     48063571290
65167422A91522   MABEL          SANCHEZ SAENZ PARDO        TX     75066354220
651675A584B588   DARREN         BRANNNON                   OK     90013345058
6516779594B27B   TERESA         LOPEZ                      NE     90009017959
65167817772B29   RYAN           EDDINGTON                  CO     90010278177
65167A56272B43   JOSHUA         FORTENBERRY                CO     33054140562
6516927354B27B   OM             GURUNG                     NE     90015152735
65169819672B43   MONA           LOPEZ                      CO     90001448196
6516B166261961   GUADALUPE      MEDINA                     CA     90011431662
6516B345655977   ROSA           GONZALEZ                   CA     90012453456
6516B62767B46B   SCHUNKA        SMITH                      NC     90013816276
6516B95618B168   MICHAEL        MARTINEZ                   UT     90015329561
6517117675B531   JORGE          MELARA GALDAMEZ            NM     36043961767
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 450 of 2350


6517229A491998   HUY                 NGUYEN                NC     90011982904
65172938672B36   KYRON               SIMTH                 CO     90012309386
65172A39791549   JOSE                HERNANDEZ             TX     90009540397
65173259A4B27B   JUAN                MONTANO               NE     90013542590
6517329175B241   RHONDA              BURRES                KY     90012022917
65173572272B36   KATHRYN             MCCLURE               CO     90012115722
65173979A81644   KRISTEN             VASQUEZ               KS     90010239790
6517412A472B27   MARIA               ORTIZ                 CO     33085681204
6517488A37B365   ROSALINDA           CASTRO                VA     90000988803
6517515753B395   SCOTT               HIGHLAND              CO     33044161575
6517662A491522   PALOMA              CRESPO                TX     90005136204
6517668985416B   ANGELA              PURSCELLEY            OR     47046756898
65176984A5B921   SHARLA              PURCELL               WA     90015539840
6517734A85594B   LEOPOLDO            PADRON                CA     90012743408
6517748A372B27   BRIAN               FULKERSON             CO     33070404803
65177A2AA55975   DABI                GUSMAN                CA     90013780200
6517934515416B   JASON               BOWHAN                OR     47040983451
65179A3925594B   WALEED              SALEH                 CA     90011760392
6517B589684392   JOAN                MARIE                 SC     90014805896
6517BA28772B27   MARIA               CEBALLOS              CO     90010340287
6517BAA258B168   PAUL                HERNANDEZ             UT     90007750025
651815A244B27B   ANDREA              CLARK                 NE     90010725024
65181A6AA4B588   KIMBERLY            ROSS                  OK     90009980600
65181A71572B43   RENE                CARMONA               CO     90011870715
6518231915B241   LISA                SIDIABCELLAH          KY     90013003191
651836A4A72B36   CLAUDIA             RIVERA                CO     33071636040
6518425A624B7B   EMILIANO            PEREZ                 VA     90001772506
65184A67561964   BIANCA              HARRIS                CA     46050890675
65186674272B36   NICHOLAS            GARZA                 CO     90003956742
6518718168B168   LOGAN               SMITH                 UT     90011501816
6518735A45B351   JOEL                MONROY                OR     90012063504
6518778774B27B   JAMES               ANZALONE              NE     27028367877
65187A27855977   ESTEBAN             ROMERO                CA     90007400278
651885A815B235   GABRIEL             MIRELIS               KY     90014265081
65188739472B27   JOEL                ROJAS                 CO     90006047394
65189716A5B235   BILLY               WILLIAMS              KY     68012377160
65189767372B43   REBECCA             KNOX                  CO     90003617673
6518B35A45B235   JENNIFER            FARRIS                KY     68093143504
6518B612425236   DOMINGO             CAZANAS GARCIA        NC     90015466124
6518B679955973   VIVIANA             VALDIVIA              CA     90008586799
6518BA94772B36   ANGELICA            LUEVANO               CO     33077040947
6519139A872B27   MARIA               ORTEGA                CO     33022183908
65191755A4B268   DEBORA              GRIFFIS               NE     27061047550
65192A7947B46B   SHARON              GRIER                 NC     11063700794
6519343345B235   MAVIS               KINCAID               KY     68089134334
651935A5155977   GABRIELA            AISPURO               CA     90015135051
65193886272B29   MARIA               GUTIEREZ              CO     90008008862
65193A38772B43   LOIS                DENNIS                CO     90012070387
6519418865416B   NOVA MARIE          CONNOLLY              OR     90005091886
65195244172B27   AIOTEST1            DONOTTOUCH            CO     90015122441
6519628454B27B   LETICA AND RAFAEL   LOPEZ                 NE     90014092845
6519661968B168   CARINA              ZENTENO               UT     90014816196
65196675A4B588   LARRY               ALBERTY               OK     90012146750
65196969872B43   KAREN               BLEA                  CO     33033049698
65197153376B69   ROSAMUNDA           SANCHEZ               CA     90006871533
651971A575416B   MARC                ROGGE                 OR     90013951057
6519733633168B   GERMAN              DIAZ                  KS     90013663363
65197946272B29   CHAD                MCCULLOUGH            CO     90001479462
651979A1963646   KIMBERLY            FOLEY                 MO     90009769019
651985A1161964   ELIA                TEJEDA                CA     90007665011
65199849A2B224   FATOUMATA           SYLLA                 DC     81042058490
6519B772372B29   ERICK               MORSTAD               CO     90014447723
651B1296761964   ANALISA             IBARRA                CA     46027852967
651B155985416B   JAMIE               OTWELL                OR     90010115598
651B159144B588   CARL                HINES                 OK     90012945914
651B167675B241   ARDELIA             FIELDS                KY     90008706767
651B1683A8166B   ROBYN               STALDER               MO     29088996830
651B1736A55975   BRENT               SALTER                CA     48038667360
651B198A551354   MATTHEW             TAYLOR                OH     90013889805
651B229745B241   BRIAN               BRICKSIN              KY     90014602974
651B2386A5B238   CARLA               CAMERUCCI             KY     90001533860
651B2698A63646   SAMMI               COX                   MO     90015026980
651B2718691998   WANDA               COX                   NC     90011327186
651B325935B235   ROW                 WINTER                KY     68091562593
651B3419571976   DEBRA               PARRA                 CO     38001184195
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 451 of 2350


651B3768225236   EBONY          THOMPSON                   NC     90001957682
651B398985594B   LUCERO         DE DIOS                    CA     90003689898
651B42A1155973   NANCY          WILBANKS                   CA     90010632011
651B4816A91998   EDITH          SHABAZZ                    NC     90005578160
651B4992591522   CHRISTINA      LOPEZ                      TX     90001409925
651B5424191534   OLGA           SALCEDO                    TX     75038604241
651B5845991863   ANNA JANETTE   WALDEN                     OK     90010178459
651B6125891549   TREVIZO        KIMBERLY                   TX     90013301258
651B6334863646   TIFFANY        SWIFT                      MO     90009743348
651B6625191549   TREVIZO        KIMBERLY                   TX     90009766251
651B663A261964   AIOTEST1       DONOTTOUCH                 CA     90015116302
651B675345B235   BARRY          TROKLUS                    KY     90012357534
651B691218B185   ARTHUR         ROBERG                     UT     31014729121
651B691225416B   SHELBY         BROWN                      OR     90014489122
651B7428755973   LUPITA         RICO                       CA     90011074287
651B7465551354   CARLOS         FARLEY                     OH     90013254655
651B758678166B   ANDREW         JAROZEWSKI                 MO     90013535867
651B7643984392   CRISTINA       ORTIZ                      SC     90000276439
651B8314191549   SYLVIA         SIERRA                     TX     75059353141
651B8A19272B27   MARGARET       ONEILL                     CO     90013290192
651B8A48561961   YVETTE         SMITH                      CA     90012840485
651B9411384392   TYEREC         BAYLOCK                    SC     90014794113
651B949685B531   JUDITH         TORRES PRIMERO             NM     36005764968
651B94AA591998   JESSE          JANOWSKY                   NC     90010494005
651B9868155977   EVELIA         PARRA                      CA     49088708681
651B98A9172B43   MICHAEL        THOMPSON                   CO     90011938091
651BB614972B43   RATCHEL        LOPEZ                      CO     33000296149
651BBA5798168B   BERNIE         BATLINER                   MO     90000760579
651BBAAA584392   LASHAUNTA      SINGLETON                  SC     19016280005
6521115665416B   SANDRA         MEFOUDE                    OR     47092471566
6521135415B235   JAMES          KESSINGER                  KY     90012203541
6521163998166B   LARRY          SHAW                       MO     90011486399
6521218425416B   RAUL           TAVARES                    OR     47055711842
65212197A93153   KAYLA          SMITH                      TN     90015461970
6521262538B168   DIANNE         SMITH                      UT     31045666253
65212AA1155973   EYCHELLE       RENTERIA                   CA     48087970011
65213A41472B29   DANIEL         REYES                      CO     33016110414
6521417664B532   KHNATA         SMITH                      OK     90009591766
6521421585B241   KELLI          HAMPTON                    KY     90014602158
65214343472B27   EDGAR          DEPAZ-BARRIENTOS           CO     90008303434
6521461A18166B   KREISHA        PICKENS                    MO     90007406101
6521516754B27B   SHANNON        WAGONER                    NE     27039791675
65215274A72B43   IGNACIO        JUAREZ                     CO     90004492740
652153A9263646   PAYGO          IVR ACTIVATION             MO     90011433092
6521576AA81644   JONATHAN       WHITE                      MO     90012467600
6521689578166B   JAMIE          LOYD                       MO     90010828957
65217244172B27   AIOTEST1       DONOTTOUCH                 CO     90015122441
65217426872B43   DAMIAN         WITASCHEK                  CO     90013494268
6521785AA4B588   GREGORY        ROGGENKAMP                 OK     21566988500
6521792625B235   MARLENA        KNIGHT                     KY     90013559262
65218864272B36   NAILEH         GARDNER                    CO     33039378642
65219734A72B43   MONIQUE        ESPAMILLA                  CO     90014517340
6521991A82B535   ADOLFO         YAX                        AL     90014239108
6521998848B168   BRYAN          LYONS                      UT     31080689884
6521B18425416B   RAUL           TAVARES                    OR     47055711842
6521B248172B29   DOMINIC        PEREZ                      CO     90002332481
6521B3A3391998   JOSAFAT        HERNANDEZ                  NC     90011983033
6521B84164B27B   OLMAN          ORTIZ                      NE     90013688416
6521B87655B235   BRANDON        THOMAS                     KY     90013598765
6521B88A761961   LATOYA         RODGERS                    CA     90014898807
6521B927933698   AKIKO          COTTON                     NC     90011249279
6521BA4A691522   DIANE          ALVAREZ                    NM     90007690406
6522223265594B   MARIA          MARTINEZ                   CA     48019282326
6522226854B588   LUCILA         ESPARZA DE LOERA           OK     90014472685
6522327AA55973   MARIA          LARIOS                     CA     48085972700
65223692A61961   ROBERT         TIRADO                     CA     90014166920
652237A635594B   ESPERANZA      MENDOZA                    CA     90011767063
6522488975B241   TRENEKIA       KIRKPATRICK                KY     90013398897
65225736A4B27B   LANCE          DALTON                     IA     90013587360
6522587A655973   HARRIET        RUSSO                      CA     48004508706
65225A59172B43   CEASER         ACOSTA                     CO     33009010591
6522718545416B   KRISTINA       JOHANSEN                   OR     90012921854
652271A484B268   CHRISTINA      DAVENPORT                  NE     90005421048
652274A9791998   IDALIA         MARINEZ-SANCHEZ            NC     90014324097
652281A8372B36   PREYDA         HERNANDEZ                  CO     33096061083
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 452 of 2350


65228AAA785953   WENDELL      BELL                         KY     67098600007
652291A2681644   MICHAEL      JAMES                        MO     90014251026
65229331172B36   DANIELLE     SOKOL                        CO     90006383311
6522955735B235   KERRY        KLUMB                        KY     90005075573
6522B1A2455973   FELICIA      MORENO                       CA     90012271024
6522B62965416B   JODY         VAUGHN                       OR     90013896296
6523113745B241   SAMANTHA     STARKEY                      KY     90013481374
6523133925B531   MARCO        MERCADO                      NM     36079463392
6523138218B168   HECTOR       DELFIN                       UT     31014223821
652319A7551388   JOHNNY       SANDERSON                    OH     66004139075
65231A1647B46B   ANGELA       PRUITT                       NC     90008890164
65232469A91549   CARLOS       CORRAL                       TX     90011954690
65232A62A8B168   TERRI        PRICE                        UT     31031930620
65233138A33B78   LARRY        CLARK                        OH     90012371380
65233614A5B235   THERESA      EDWARDS                      KY     90013886140
65234149A61936   JAMES        WILLBANKS                    CA     90003421490
65234352872B36   ALEAZAR      ZAVALA                       CO     33025223528
65235A5264B27B   JOSE         BAYLON                       NE     27078420526
6523739365416B   TRAVIS       BARTELL                      OR     90013953936
6523746412B224   COLLECHA     NEWBY                        DC     81027954641
6523766288166B   TECORA       PEARSON                      MO     90012726628
6523781798B168   ADAM         WESTBROEK                    UT     90014418179
65237A91341291   LINDA        ROWAN                        PA     90014000913
65237AA2391549   SELENA       MARQUEZ                      TX     90011910023
652381A364B27B   CAMERON      FIELDS                       NE     27099151036
6523822A35594B   ENRIQUE      PENA                         CA     90007872203
65238541A71976   NICKCOLE     ORTIVIZ                      CO     90010815410
6523873A572B27   SYLVIA       BORUNDA                      CO     33017297305
65238978672B36   LESLY        LUCERO                       CO     90012659786
65238A61155973   RODRIGO      VELAZQUEZ                    CA     90012010611
6523966553168B   ANDREW       JENKINS                      KS     22012576655
6523998A95B235   DAWN         HARRIS                       KY     90008969809
6523B216372B29   MARK         JACQUEZ                      CO     33089602163
6523B417955975   ROBERTO      ADAME                        CA     48061704179
6523B67125B235   BARBARA      HEALY                        KY     90012196712
6523B713255973   RICHARD      HENRY                        CA     48099707132
6523B949484392   JOSE         LOPEZ                        SC     90014889494
6524147714B588   CHAVONNE     DIXON                        OK     90009824771
652416A595B241   ANTHONY      TAYLOR                       KY     90012386059
6524189144B588   CHELSEA      PRICE                        OK     90014448914
65241A8334B27B   LASHI        FOSTER                       NE     90015010833
65242248A4B27B   JUAN         FUERTES LUNA                 NE     90014062480
652426A6591527   IDALIA       ROMERO                       TX     90010776065
6524295A14B27B   JUAN CARLO   FUERTES                      NE     27086189501
652431A575B241   ROBERT       PEIFER                       KY     90003641057
65243594A84327   LELA         MCBRIDE                      SC     19086955940
65243775A5B235   RONDA        ALLEN                        KY     90012997750
6524391837B46B   ANNIKA       GRIER                        NC     11099239183
65243AA9884392   STEPHEN      OLIVER                       SC     90014880098
6524414225416B   TAMARA       SHELTON                      OR     90013971422
65244A75461961   RUBY         AGUIRRE                      CA     90013210754
65245887124B41   RACHEL       FLEMMING                     DC     90008858871
65247247A61961   JANETTE      SANTOS                       CA     90003042470
65247674272B36   NICHOLAS     GARZA                        CO     90003956742
6524794535B531   MAMBA        AKUMBA                       NM     36015889453
6524818A14B588   ARIELLE      MINIER                       OK     90005901801
6524824237B46B   MAGDALENA    VASQUEZ                      NC     90012342423
65248718A63646   MICHAEL      OVERY                        MO     90013577180
6524918144B588   SAMANTHA     DEWBERRY                     OK     90012331814
6524936975B324   LAURA        BURDA                        OR     90002183697
65249469A61964   MICHAEL      FORKNER                      CA     90013404690
6524992A161961   MICHELLE     MEZA                         CA     46014919201
65249A34884392   SHEANKA      ROLLINS                      SC     90014880348
6524B4A4391549   ALESHA       MORGAN                       TX     90013914043
6525114255B531   BLANCA       GONZALEZ CHACON              NM     90004241425
6525135898B168   HARLEY       GOULD                        UT     90009483589
65251385A4B588   LATONYA      SANCHEZ                      OK     21506003850
65253699A8166B   BARRINGTON   COLLEY                       MO     29001686990
652538A735B235   CARBY        DAMION                       KY     90015038073
6525418A272B29   ABUNDIO      BUENROSTRO GUTIERREZ         CO     90005011802
652543A4491969   SELENA       SAUNDERS                     NC     90011633044
65254AA6772B27   MARGARITA    LORATOS                      CO     33046280067
6525544A581644   JAMIE        GILPIN                       MO     90012724405
652572A7761961   ROLLY        LUNAS                        CA     90012332077
65257819A91998   JOSE         SANCHEZ                      NC     90000518190
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 453 of 2350


65257891A61964   GUILLERMO    DURAZO III                   CA     90008728910
6525825344B588   CHARLOTTE    BERRY                        OK     90009842534
65258469272B36   MARY         VALDEZ                       CO     90004984692
65259482A72B27   DENISE       SALAZAR                      CO     90012754820
6525953414B27B   ERIC         CARLBERG                     NE     90014155341
65259A14591998   ELIZABETH    BRIZUELA                     NC     90013140145
6525B6A3855973   MARIA        ESTARDA                      CA     90000206038
6525BA16791549   JUANA        GARCIA                       TX     90010420167
6525BA31191522   MICHAEL K    WASHINGTON                   TX     90013110311
65261422572B27   KANDICE      HERNANDEZ                    CO     90013634225
6526146745594B   ANGEL        SILVERIO                     CA     90012954674
65262362372B36   ADRIAN       GONZALES                     CO     90010453623
6526261335416B   VOLESKY      KRISTY                       OR     90013956133
6526263A755977   BRENDA       CERVANTES                    CA     90013646307
6526293A572B43   GIDIEL       HUICOCHEU                    CO     90011969305
65262AA5984392   BLANCA       MORA                         SC     90014890059
65264A7845B241   HELEN        GOODE                        KY     90009940784
6526536825B235   ERIKA        WRIGHT                       KY     90011153682
6526561755B235   JOHN         MINKS                        KY     90008316175
65265719A51354   RICKY        JACKSON                      OH     90008067190
65265A97A4B56B   ADAN         PEREZ                        OK     90009640970
65266625A4B588   TOYA         E BRYANT                     OK     90003206250
65266A2235B241   SHARIKA      COCHRAN                      KY     90010710223
65266A7925B531   JESUS        VEGA                         NM     36063780792
652675A194B221   MARIA        INIGUEZ                      NE     90013975019
65267AA348B168   VALERIE      LONGFELLOW                   UT     31088620034
65268273272B43   MICHAEL      PETERS                       CO     90002202732
65268873A7B46B   ANGELICA     WORTH                        NC     90013848730
6526894185594B   LIBRADO      BURROLA                      CA     90011769418
6526917228B168   MARISSA      HERRERA                      UT     31033201722
6526942925B241   LEONEL       REYES                        KY     68080664292
6526972754B588   JOSE         DELEON                       OK     90003527275
652698A3163669   SCOTT        HUTTON                       MO     90014458031
6526B2A9272B43   CARRIE       HINESLEY                     CO     33037112092
6526B362255973   KORNG        SEE                          CA     90014423622
6526B3A3361964   JASON        OGDEN                        CA     46075493033
6526B692172B29   ANGELICA     SONORA                       CO     33057776921
6526B6A294B27B   DENISE       VAAG                         NE     27075136029
6526B764491522   OLIVIA       CABALLERO                    TX     90002627644
6526B988663646   SHERRY       PEQUIGNOT                    MO     90010939886
6526BA56855977   ELIZABETH    BRINCEFIELD                  CA     49080060568
6526BA9543168B   MICHAEL R    SMITH                        KS     90013890954
6527221585B241   KELLI        HAMPTON                      KY     90014602158
6527277278166B   LOUIS        WATSON                       KS     90013037727
6527313497B358   MICHAEL      BLEVINS                      VA     90008081349
652734A6954124   NATHAN       PRENGAMAN                    OR     90004174069
6527389A761964   KHADEDRA     KINCHEN                      CA     90014228907
6527398A35B235   SHEYLA       GUDGER                       KY     90013179803
65274945572B29   ANGELA       SKUBISH                      CO     33000459455
65274968672B36   DIANA        QUINTEROS                    CO     90010669686
6527512284B588   CODY         BEENE                        OK     90013911228
6527519A672B29   JOHNNY       MONTOYA                      CO     90001401906
65276345A4B588   PHILIP       FREEMAN                      OK     90001933450
65276749A51354   JOSEPH       GOOLSBY                      OH     90008007490
65276968672B43   AMANDA       LENTZ                        CO     90006149686
6527723137B47B   MARTY        MANGAN                       NC     90004802313
652774A234B27B   NADJA        ANDERSON                     NE     90012584023
65277A52763646   ANGELA       DAVIS                        MO     90008820527
6527852727B46B   MICHAEL      BOSTON                       NC     11010785272
6527868764B27B   NICOLAS      ANTONIO                      NE     90012696876
65278968672B27   RICHARD      BAKER                        CO     33017209686
65278A11372B2B   GERALD       HORTON                       CO     90012820113
65278A59372B43   GUADALUPE    ARROYO                       CO     33051960593
6527948817B46B   KEVIN        PARRISH                      NC     90013014881
6527971A484392   ILANY        LEBEHN                       SC     19019317104
6527B18958166B   JODIE        BEYDLER                      MO     90010401895
6527B298655975   CAROLYN      SCHMIDT                      CA     90008302986
6527B334861964   ZULLY        KANE                         CA     46007523348
6527B388263646   BECKY        SANDBERG                     MO     27586243882
6527B589891549   AMBER        LARA                         TX     75065895898
6527B933261961   KARLA        RAMIREZ                      CA     90009649332
652815A795B385   LEANNA       GARCIA                       OR     90009495079
6528179935B241   TERRANCE     FLEMING                      KY     90000837993
65282214A91923   PAULINA      GONZALES                     NC     90001902140
6528273745B235   PHONG        NGUYEN                       KY     90012697374
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 454 of 2350


65282777A63646   CASANDRA     BOYD                         MO     90015307770
6528367458B168   ROACH        TIYRENE LAVEARE              UT     90015026745
65285191672B43   ROYCE        ROLAND                       CO     90013811916
65285287372B43   ROSIO        FLORES                       CO     90011122873
652853AA261964   BRIDGET      DE ANDA                      CA     90014713002
652855A877B46B   JANNNET      SERRANO                      NC     11004655087
6528584218B331   TRACY        COOK                         SC     90015198421
65286244A4B588   LUIS         FERNANDEZ                    OK     90013452440
6528652A28166B   CALEB        EMEJUOBI                     MO     90008615202
6528697378B168   BEN          SANDBERG                     UT     31062449737
65287318472B29   JAVIER       VILLALOBOS                   CO     90012493184
65288232A5B241   MARVIN       CALIMANO                     KY     90013882320
65288666A91549   ERIC         NUNEZ                        TX     90013616660
652887A354B588   WAYNE        SAUCIER                      OK     90007767035
6528917A261964   GIBELE       GODOY                        CA     46067731702
6528918438B168   REBECCA      PRICE                        UT     31006631843
652898A7391522   JAUREGUI     MELIDA                       TX     90011518073
6528B167177367   MARY         JOHNSON-OQUINN               IL     20521581671
6528B966155977   DEESHAWN     GREENE                       CA     90015169661
652912A1551354   MARIA        OCAMPO                       OH     90014922015
65292317A81644   JANNETE      ANGUANO                      MO     90010003170
652928A945416B   JOSUE        SALIC                        OR     47067158094
65292A97372B36   SHAUN        SCOTT                        CO     90014990973
652936A3272B29   JANETT       ARIAS                        CO     90002376032
652939A8451352   FAITH        OHMER                        OH     66035889084
65294A33A8B168   AMANDA       STEPHENSON                   UT     90014560330
65295746972B43   ZANE D       GRAHAM                       CO     90001647469
6529667458B168   ROACH        TIYRENE LAVEARE              UT     90015026745
65296A6698B168   ANGELA L     VALDEZ                       UT     90015000669
652975A5691549   LUIS         QUINONEZ                     NM     75033445056
65297982172B27   GUADALUPE    BUSTAMANTE                   CO     33071109821
6529812A871976   CHARLIE      CLEMENTI                     CO     90011401208
65298539A5594B   NORMA        SANDOVAL                     CA     48011865390
6529869315B235   EVONNE       PAUL                         KY     90015166931
6529881385416B   SARAH        DELLIE                       OR     90005238138
6529938655B235   ANTHONY      DOBRZYNSKI                   KY     68093473865
6529966498B168   DUAINE       MOORE                        UT     90011686649
65299A8865416B   KURT         CUTLI                        OR     90011140886
6529B34654B268   JAME         GATLUAK                      NE     90003333465
6529B72125B241   MIKE         JONES                        KY     90014087212
6529B8A8151347   JOSEPH       KRAIMER                      OH     66096858081
652B1993872B29   JAMES        RIDOUT                       CO     33098879938
652B21A7A61964   MONICA       BARAJAS                      CA     90006741070
652B231647B46B   DOROTHY      GRAHAM                       NC     11076493164
652B3174872B29   ALFONSO      HERNANDEZ-MENDEZ             CO     90013051748
652B324595594B   ISHLATIA     DELACERDA                    CA     90012782459
652B3286691522   DANIEL       RAMIREZ                      TX     90014722866
652B352768B168   AARON        RANDALL                      UT     90014285276
652B36A568166B   TERCIA       TENNER                       MO     90014656056
652B4511955975   ARTURO       LEMUS                        CA     90002775119
652B45A155132B   DEBORAH      SEEMAN                       OH     90005645015
652B5416391534   MARIA        CABRAL                       TX     90008484163
652B551733168B   CHRIS        WEAVER                       KS     22098375173
652B5588A81644   TAMIA        KENNEDY                      KS     90014245880
652B56A3772B43   MARIA        RAMIREZ                      CO     33091416037
652B5725A4B588   STEVEN       LEDBETTER                    OK     90008937250
652B658198B168   BRITNIEANE   GUERRERO                     UT     31084305819
652B7432385689   ANTHONY      BARNES                       NJ     90002194323
652B7516772B27   MIRIAM       SCHIRO                       CO     33081465167
652B758185132B   JAMES        PILAIA                       OH     90008835818
652B778925416B   ROCKY        BELL                         OR     90013267892
652B8134255977   CHRIS        LEAKE                        CA     90000301342
652B823A45B241   DOROTHY      CASE                         KY     90013882304
652B8323972B43   MARIBEL      MONCADA-LARA                 CO     90014113239
652B8389893771   CHERYL       ESTEP                        OH     90007803898
652B83A1161936   KELLIE       SHAVER                       CA     46086673011
652B877A261964   RUTH         LUNA                         CA     90013197702
652B8AA3891549   ERICK        ESPARZA                      TX     90014870038
652B9186755977   NORMA        CORTEZ                       CA     90002161867
652B939A591998   ASHLEY       STEPHENS                     NC     90001553905
652B947465416B   WENDY        SCHLEIS                      OR     47067644746
652B9479891522   GA RCIA      ANGELICA                     TX     90002164798
652B9622955975   ANN          ESPARZA-MORA                 CA     48004626229
652BB118A91549   TORRES       ANNE                         TX     90010861180
652BB849272B29   ZACHARY      PRINCE                       CO     90012498492
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 455 of 2350


652BBA47672B43   OMAR         RAMIREZ                      CO     90013850476
6531117A961961   LORRAINE     CABANDONG                    CA     90009751709
65311777972B27   BURNETT      MOSLEY                       CO     90004417779
6531182A75416B   JESSE        LYNCH                        OR     90007898207
6531333A472B27   JESUS        PACHECO                      CO     33059983304
6531359898166B   SHANE        WOOD                         MO     90012105989
6531365467B46B   LINDA        ELLIS                        NC     90000216546
653137A2A5416B   BREANNA      SCROGGINGS                   OR     47089407020
6531381215594B   MARIA        BARAJAS                      CA     90009328121
65313A34A72B36   ESMERALDA    ROSAS                        CO     90010820340
65314617A25236   SHENEKA      BULLOCK                      NC     90013826170
6531471A824B41   DELORIS      BROCKINGTON                  DC     90008647108
653159A6955975   DION         LAMBERT                      CA     90010619069
65316491A81687   JEFF         WEBB                         MO     29002454910
65316556672B43   MICHAEL      BUTTERWORTH                  CO     90007525566
65316A5A772B43   JAMES        ONEAL                        CO     90014800507
65317179A91998   MELISSA      BEVERLEY                     NC     90005001790
65317544472B43   HEIDI        LAHR                         CO     33009015444
6531814195B235   THEODORE     BUTLER                       KY     68096261419
653184A6855973   INOSENCIO    CRUZ                         CA     90004374068
65318857672B29   SHANICE      DAVIS                        CO     90012388576
6531915485416B   KEITH        BASKETT                      OR     90013971548
6531934313168B   JOSE         GARCIA                       KS     90013663431
6531953115B235   KENNITRIA    PUMPHREY                     KY     68099785311
6531B71564B268   RANDY        KINNEY                       NE     27072137156
6531B866755975   DIANA        ALANIS                       CA     90012998667
6531B8A8151347   JOSEPH       KRAIMER                      OH     66096858081
6531BA7A64B588   KAYLA        SMITH                        OK     90013620706
65321181A87B31   MICHELLE     SULLINS                      AR     28030371810
6532128924B588   ALEXIS       OWENS                        OK     90010052892
6532153438166B   SHEILA       CRAWFORD                     MO     90001865343
65322163972B29   CAROLYN      GONZALES                     CO     90013931639
6532233385B241   ANTOINE      PEARSON                      KY     90014603338
6532234688166B   AMBER        BARNES                       MO     90013583468
6532263695B531   MARTHA       RIVERA                       NM     36015306369
65323575A8B168   HEATHER      FREEMAN                      UT     31056995750
6532391144B27B   ORFELINA     HERRERA-LORENZO              NE     90015139114
65323A63661964   MARGARITA    AGUIRRE                      CA     90013320636
6532415485416B   KEITH        BASKETT                      OR     90013971548
6532486254B588   KELLY        MILLER                       OK     90000618625
65324879872B43   ALANI        GAZLEY                       CO     90015468798
65324AA965B235   MARY         GONZALES                     KY     90015430096
6532517A45416B   WENDY        OLIVE                        OR     90013971704
6532522A95B235   DIANE        GOOCH                        KY     90014622209
65325A67684392   JIMMY        WILKERSON                    SC     90000780676
653269A514B27B   SARAH        BECKMAN                      IA     27069499051
6532724674B588   DANIELLE     THOMAS                       OK     90013752467
65327618A61964   FERNANDO     AYALA                        CA     46044516180
65327686A63646   DAVID        SMITH                        MO     90014756860
6532785574B27B   DANIELLE     BERTCH                       NE     90014128557
6532793877B46B   MA ISABEL    TOVAR                        NC     90014289387
6532812A13168B   KAREN        ALCARAZ                      KS     22037981201
65328642A54124   BRENDA       BRANTON                      OR     90005526420
6532873454B588   PATRICIA     KERN                         OK     21562617345
65328A35672B36   HILDA        RODRIGUEZ                    CO     90010820356
6532B15558B168   GLORIA       REYES                        UT     90005261555
6532B286655977   SARA         BARAJAS                      CA     90010232866
6532B31A65B235   CHERISA      WILSON                       KY     90010143106
6532B35158166B   MARILYN      BUTLER                       MO     90013993515
6532B935A84392   FLORENTINO   CHIPAHUA                     SC     90014919350
6532BA19691522   ALBERTO      GUERRERO                     TX     75013710196
6533117A45416B   WENDY        OLIVE                        OR     90013971704
6533135A461961   EQUIVEL      KEVINN                       CA     46046463504
6533243A655973   JAVIER       HERNANDEZ                    CA     90006824306
65332A14225236   DEBORAH      ALSTON                       NC     90014910142
65332A5398166B   ANNA         DAVIS                        MO     90014510539
65332A98991549   ANGIE        VAZQUEZ                      TX     90014570989
6533314515B531   JORGE        RODRIGUEZ                    NM     90005581451
6533333947B46B   PAUL         KELLER                       NC     90011343394
6533362A755977   MARIA        GALINDO                      CA     90014766207
653337A2372B43   ANDREA       OSCARSON                     CO     33011967023
65334156772B43   BERNABE      ESQUIVEL                     CO     33084361567
6533415695132B   RACHAEL      MYAMAYEDEMGA                 KY     90015131569
6533425124B588   DEE          MULLENS                      OK     90013452512
6533448268B168   ANGIE        YOUNG                        UT     90013944826
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 456 of 2350


653356A735B125   JACQLYN       PRUIETT                     AR     90015186073
65335A36955975   NANCY         HERRERA                     CA     90008560369
6533638A691998   TINA          MILLS                       NC     90015093806
65336788A5B241   TEANDRA       BOARD                       KY     90013207880
65336971A84392   JEREMY        MILLER                      SC     19034069710
6533754294B27B   PETER         SCOTT                       NE     90012265429
65337573272B36   HENRY         FLORES                      CO     90013985732
6533762238166B   JANICE        STRONG                      MO     90013636223
65337812A81644   TONIQU        WILLIAMS                    MO     29040808120
65337A89A63646   CARRIE        HANKE                       MO     90014880890
65338892272B27   FAITH         STANFORD                    CO     90013118922
6533917995416B   DEVON         MORGAN                      OR     47086181799
6533B21634B588   AQUILLINO     DUQUE                       OK     90010842163
6533B421A55973   AURORA        SANCHEZ                     CA     48043834210
6533B54575B241   VLADIMIR      SILVA                       KY     90013135457
6533B651925236   JOSE          ZRUZ                        NC     90009416519
6534122934B588   MARILYN       THOMPSON                    OK     90009162293
6534158A18B168   DIANE         MORTON                      UT     31052425801
6534174A354B22   MATTHEW       PAONE                       VA     90008447403
653422A9A4B27B   FRANCISCO     MARTINEZ                    NE     27070952090
6534331674B588   CARLA         ROBERTSON                   OK     90008863167
65343A13A55975   JOHN          CHAPA                       CA     90013210130
65343A41A51354   ALEX          SAYAS                       OH     90009670410
6534429A391522   RICARDO       MESSINA                     TX     90014732903
65344393A51354   TINA          HENSLEY                     OH     90014883930
65344486A72B32   CARLOS        ROSSI                       CO     90004804860
65344512972B27   SIMON         MARTINEZ                    CO     90003585129
6534463A261961   AIOTEST1      DONOTTOUCH                  CA     90015116302
653449A7231661   SARAH         GULICK                      KS     90009669072
6534554385B241   TERRIL        GEISER                      KY     68038405438
6534571775416B   JESSE         RICE                        OR     90014027177
65345A31284392   RICKY         BROWN                       SC     90007330312
6534614A65B241   SHANESSE      ADAMS                       KY     90012441406
653464A5591863   YENI          URQUIZA                     OK     90011294055
65346824672B29   CHARISE       RAE-GIEM                    CO     33013818246
6534729A391522   RICARDO       MESSINA                     TX     90014732903
6534754325B241   YOANYA        GARCIS                      KY     90010805432
6534786497B46B   DYIASHIA      RODZIEWICZ                  NC     90000328649
6534797AA8B168   BILL          MICHEL                      UT     90014529700
65348374972B43   CHRISTOPHER   DAVIS                       CO     90004103749
6534852385B241   ROBERT        RANDOLPH                    KY     90014195238
653486A5191234   RAVEN         PRIDGEN                     GA     14514596051
65348A28555973   MARINA        MARTINEZ                    CA     90013240285
6534923328B168   KAYLIE        BARTON                      UT     90014362332
6534992A591998   CASSELL       JONES IV                    NC     90013579205
653499A844B588   PAULINO       MAZARIEGOS                  OK     90012639084
6534B29A391522   RICARDO       MESSINA                     TX     90014732903
6534B4AA561961   ANDREA        BAKER                       CA     90006284005
6534B52778166B   FATIMA        FINLEY                      MO     90015305277
6534B73A75416B   AARON         HALE                        OR     90002997307
6534B789A4B27B   VINCENT       GRANT                       NE     90009087890
6534B791985957   BOBBY         JACOBS                      KY     90004177919
6534B942472B43   ABRA          COOLEY                      CO     90012329424
65351322A84322   SONYA         ROBERTS                     SC     90013653220
653516A3772B27   BRANDON       HOWELL                      CO     90011006037
6535173323168B   JEFFREY       GILLIS                      KS     22024447332
6535219A661961   JAMES         THOMPSON                    CA     90003291906
653525A3A87B31   KIKI          JOHNSON                     AR     90004955030
6535362A15B531   DAVID         MONTOYA                     NM     36004536201
6535396144B588   JOLENE        FORNEY                      OK     21538409614
6535427885416B   CODY          EDWARDS                     OR     90010862788
6535489A272B23   PATRICK       ORTIZ                       CO     90001278902
65354A82951354   JEREMY        VINCIENT                    OH     90013350829
6535522A797122   RAMIRO        RIVERA                      OR     90008632207
65355517A61961   EVERARDO      GUTIERREZ                   CA     90014965170
65356211A36B35   ROBERT        ESPERTO                     OR     44501232110
6535642875594B   GUILLERMO     DELGADILLO                  CA     90012794287
6535758827B46B   MARTIN        WILLAMS                     NC     90012825882
6535872A455975   MARIA ELENA   RODRIGUEZ                   CA     90013677204
65358933672B29   GILBERTO      CORTES                      CO     33071279336
6535899924B27B   MANUEL        HERNANDEZ                   NE     90012869992
653589AA255973   AMANDA        PALMER                      CA     48065859002
65358A89691998   DANIELLE      GIRARD                      NC     90008910896
653592A6857131   NORBERTO      DIAZ                        VA     90012882068
6535971A45416B   SHANE         BURROWS                     OR     90013807104
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 457 of 2350


6535991715594B   LUPE              ROBLES                  CA     48027819171
6535B543172B27   LALEH             MILLER                  CO     33033765431
6535BA33861964   HECTOR            BERMUDEZ                CA     90014530338
653611A1A55975   VICENTE           GARCIA                  CA     90013781010
6536141755416B   NORMA             GALVAN DE PADELFORD     OR     90005164175
6536145A291549   CHRIS             HERNANDEZ               TX     75097914502
65361472772B36   MICHELE           TRUJILLO                CO     90010004727
6536239735B241   DAVID             PRATT                   KY     90014603973
65364792172B43   JUDITH            IRONWING                CO     90012377921
65365534372B29   DARLENE           GONZALES                CO     90014715343
65365656A81644   SUMMER            BREEDLOVE               MO     90014256560
6536645575B237   JENNIFER          LENOX                   KY     90013694557
65367798A2B984   SALVADOR          MORA                    CA     90007597980
6536784224B27B   ADAM              CARLSON                 NE     90013688422
6536812224B27B   JESSICA           MEDINA                  NE     90009671222
6536815A591549   ANGELA            MICHAEL WOODS           TX     90013321505
653682A722B248   DONAI             AVALOS                  DC     90002422072
6536861424B588   JENNIFER          CURTIS                  OK     90015306142
6536899145B235   MICHAEL           BRUCE                   KY     68093139914
65368A66A91998   LUIS              TORRES                  NC     17069370660
653695A1A55973   ALYSSA            CANO                    CA     90012775010
65369656A81644   SUMMER            BREEDLOVE               MO     90014256560
6536B3A1591522   GLORIA            MARROQUIN               TX     90014733015
6536B671125236   LINDA             GARLICK                 NC     90014066711
6536B696961936   KAPRI             POLLARD                 CA     90001186969
6536B847A3168B   SHENELLE          HEUETT                  KS     90000908470
6536BA41172B29   MARIA             MARTINEZ VARGAS         CO     33051540411
6537132218166B   BRANDI            LINDER                  MO     90014693221
65371A1675B241   ALEXANDER         CARR                    KY     90008710167
6537371A191549   SANDRA            MACIAS                  TX     75096207101
6537398A672B29   LORENA            BALDERRAMA              CO     33067699806
65374A22491998   FANNY             SANABRIA                NC     17069950224
65374A4164B27B   DEBORAH           MITCHELL-WADE           NE     27040040416
6537616A78B168   JACLYN            MCCUBBIN                UT     31008271607
6537659328B185   HECTOR            PANIAGUA                UT     31023415932
6537675315B235   SHARON            KINNEY                  KY     68018607531
6537735158166B   MARILYN           BUTLER                  MO     90013993515
65377A44555977   CHRIS             GABER                   CA     90014540445
653789A2751354   MONIQUE           SMITH                   OH     90003759027
6537928A384392   AHMED             SHEDID                  SC     19091692803
6537B218172B29   JORGE             BARBA-MARTIN            CO     33006572181
6537B39A73168B   MARCIA            ANTHONY                 KS     22097023907
6537B3A9991522   ALFREDO           ARIAS                   TX     90014733099
6537B656A81644   SUMMER            BREEDLOVE               MO     90014256560
6537B94727B46B   JEFF              HARE                    NC     90012679472
6537B94824B268   DIANE             CULBERTSON              NE     27004449482
6537BA57263646   TODD              FREY                    MO     27559930572
6538125867B46B   BEVERLEY MONICA   WHITMIRE                NC     90008492586
65381291272B43   KATIE             OROURKE                 CO     90009272912
65382955572B36   RESURECTED        RECORDS                 CO     90013679555
65382A5845B241   THOMAS            SMITH                   KY     90013070584
6538332975B921   CHRIS             GERMAN                  ID     90005183297
6538345496198B   MARISA            SOLER                   CA     46097864549
65384255A55975   IGNACIO           MARES                   CA     90014522550
653842A6761961   KARINA            AGUILAR                 CA     46013582067
6538468188B168   CLYDE             CROWLEY                 UT     90009956818
6538475A34B27B   STAN              MARCISZONEK             NE     90006067503
65384A59A51354   ANDERSON          BEHANAN                 OH     66005360590
6538532645416B   LAUREN            HOFFMAN                 OR     47080853264
6538639377B46B   MIKE              BOYCE                   NC     90012993937
6538659A655975   ANGEL             MENDOZA                 CA     48095095906
653873A5155977   ANTHONY           JOHNSON                 CA     90013063051
65387A35455973   ALEJANDRO         PEREZ                   CA     48032970354
65388854A72B29   RICHARD           BROZE                   CO     90013898540
65388A42861964   GEORGE            ROSADO                  CA     46059790428
65388A49391998   ALMA              LILIANA                 NC     90010430493
65389258A63646   SALLY             HAMPTON                 MO     90008072580
65389A68561964   CESAR             CORRAL                  CA     90014020685
6539141A261974   REYNA             CRUZ                    CA     46019644102
6539157343B335   CHRISTOPHE        WEBER                   CO     33068205734
653915A2755924   ROBERTO           GONZALES                CA     90011795027
653915A5555977   ROSARIO           GALLEGOS                CA     90003245055
6539185A45B235   VICTOR            DUBON                   KY     90015148504
65391A71572B36   ADA               LOPEZ                   CO     90008530715
653921A3891998   KAY               MCCRAY                  NC     90009701038
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 458 of 2350


6539272984B57B   FREDDIE      HUDSPETH                     OK     90013047298
65392738A72B29   ADRIANA      RAMIREZ                      CO     33067307380
6539382534B588   TRINA        KLANS                        OK     90008468253
65393A28772B36   CINTHIA      RODRIGUEZ                    CO     33015410287
6539424357B46B   DANIEL       MARTINEZ MELENDEZ            NC     90003842435
6539495588B168   MARCELA      GALLEGOS                     UT     90014569558
65394A27172B43   ALFONSO      SANTOS                       CO     90014230271
65394A66191549   SANTOS       MARTINEZ                     TX     90002090661
653952AA291522   FRANCISCO    CALDERON                     TX     90014182002
65395A7835B531   ADRIANA      HERNANDEZ                    NM     36086180783
6539612977B365   ALBINA       FLORES                       VA     90009011297
65396175A63646   NICOLE       HORN                         MO     90014921750
65396512872B36   ELAINE       CANTOR                       CO     90011885128
6539666A571976   JOEAL        MONTOYA                      CO     38005186605
65397269272B36   FRANCISCO    RENTERIA                     CO     90014372692
653974A5672B36   AMELIA       CORTEZ                       CO     90013924056
65397612372B36   HEE YOUNG    LEE                          CO     90013966123
6539873944B588   BRAVO        CLAUDIA                      OK     90010917394
65398A73855977   JESUS        SANTIAGO-MONTERO             CA     49097870738
6539943375594B   SUSANA       CORTEZ                       CA     90003814337
65399991672B36   IRIS         CONTRERAS                    CO     90010669916
6539B288572B36   CYNTHIA      EAGAN                        CO     33061912885
6539B516161961   YASMED       MIRANDA                      CA     90013155161
6539B692481644   ANTONIO      HERNANDEZ                    MO     90014256924
653B1714A91998   LENZI        DOLLIN                       NC     90009647140
653B1A45751354   TONY         BIRD                         OH     90006290457
653B212995B235   LARRY        OSBORNE                      KY     90015211299
653B245318B168   YAJAIRA      ARREDONDO                    UT     90009264531
653B2625672B27   TAMARA       VETERE                       CO     90005406256
653B2645963646   MIKE         THUDIUM                      MO     27547206459
653B298244B588   RODRICK      ROUBIDOUX                    OK     90014549824
653B318545416B   KRISTINA     JOHANSEN                     OR     90012921854
653B3251933648   KIMBERLY     BLACK                        NC     90009932519
653B33AA25B241   CATINA       DEMPS                        KY     68016153002
653B3618581644   SHENIKA      JENKINS                      MO     90014916185
653B448A63168B   KORY         SAMPSON                      KS     90005694806
653B469A163646   KYLE         DOWDALL                      MO     27514326901
653B4711A85821   PETTER       MORRIS                       CA     90011767110
653B492A55B241   S            SMITH                        KY     90015289205
653B4991A5B531   JOSE         MELARA MENJIVAR              NM     36057439910
653B5213672B36   ERIC         WELCHLEN                     CO     33066462136
653B531214B588   JOSHUA       MITCHELL                     OK     90011523121
653B6758261936   LUKE         HORMAN                       CA     46064227582
653B689175416B   TIFFANY      TAYLOR                       OR     90014168917
653B68AA45B531   MARIE        FLAMAND                      NM     90004498004
653B6948272439   RANDY        JORDAN                       PA     90009149482
653B7361684392   AVANEY       RIVERS                       SC     90014903616
653B8843587B31   CLAUDIA      OLVERA                       AR     90005798435
653B921457B46B   ROSMARI      VELASQUES                    NC     90013582145
653BB137255975   JESENIA      ESPINOZA                     CA     48006181372
653BB4A624B588   LEROY        BROOKER                      OK     90015134062
653BB619491549   MONICA       DE LA CRUZ                   TX     90003866194
653BB98655416B   CHELSI       KURZHAL                      OR     90005679865
654118A184B588   IRENE        BECERRA                      OK     90010918018
65412A24A51354   VIRGINIA     BECKER                       OH     90010420240
6541348225B531   ANDREW       POTTER                       NM     90002274822
654136A3A72B27   HUGO         CARRASCO                     CO     33070236030
65413745A5B531   ANDREW       POTTER                       NM     90012167450
65414426A5B241   MYRISA       DANIELS                      KY     90014604260
654152A1A91549   AGUILAR      TERE                         TX     75010152010
6541622275B235   MERCEDES     CANNON                       KY     90014622227
6541623A655973   VANESSA      WEST                         CA     48092722306
6541635387B46B   BERNADETTE   MOHAMED                      NC     11088143538
65416433787B31   JASON        WARREN                       AR     90007044337
654175A665B531   MARCO        VILLESCAS                    NM     36052315066
6541771A991535   ROBERTO      MANJARREZ                    TX     90012887109
6541791284B588   JAMIE        THOMPSON                     OK     90012639128
6541813A855973   SAMANTHA     SOLIS                        CA     90014901308
6541815128B168   KERI         MARSH                        UT     31067971512
654181A2172B27   JORGE        GARCIA-BRIZUELA              CO     33098591021
6541821985594B   KARLA        CHAVIRA                      CA     90012982198
65418283672B43   SHAWNTE      SEGURA                       CO     90013452836
65418353772B36   FABIOLA      VILLANUEVA BUENO             CO     33085873537
6541923565B531   DANIEL       JOHNSON                      NM     90006802356
654192AA75B235   ROSA         CHOATE                       KY     90012322007
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 459 of 2350


6541B277491522   BLANCA       CAMPOS                       TX     90011732774
6541B36A655973   JOSE         MARTINEZ                     CA     90015143606
6541B653555973   EDGAR        VILLAGRANA                   CA     90011856535
6541B94445B235   DANIEL       HARVEY                       KY     90015119444
6541BA3714B588   KEANDRE      GOLDEN                       OK     90003540371
6542128295B531   ANTONIA      CHAVEZ NAJERA                NM     36012362829
6542164158166B   DOROTHY T    WHITEHEAD                    KS     29008286415
654228A6957131   HECTOR       AGUILAR                      VA     90008018069
65423114972B36   ELIZABETH    COX                          CO     33052531149
65423366972B43   ADAM         DUGGAN                       CO     33014053669
654236A478B168   TERESA       HARRISON                     UT     31051846047
654242AA75B531   LUCIA        MENDEZ                       NM     90003282007
65424739772B43   BRANDON      MIROCKE                      CO     90015317397
654248A1772B29   MARIA        RODRIGUEZ                    CO     33081008017
6542543795416B   LISA         BURCHELL                     OR     90006474379
6542595A991998   VANESSA      KINGSLEY                     NC     90015149509
6542717974B27B   KELLY        WRIGHT                       IA     90007541797
654271A385416B   JENNIFER     WILKINSON                    OR     47006531038
65427A7A951354   LAKEITHA     TINSLEY                      OH     90003340709
65428766372B29   CYNTHIA      SUSS                         CO     90001137663
65429211A33698   AMBER        STAINBACK                    NC     90012662110
65429489A5594B   FELIX        OCAMPO                       CA     90011784890
65429996A4B547   MARION       PORTER                       OK     90010029960
6542B1A7491549   CONTRERAS    OBED                         TX     90012841074
6542B233291522   MARCELA      TAPIA                        NM     75054132332
6542B261372B27   THOMAS       ROYBAL                       CO     90010932613
6542B65228B331   GUTIERREZ    LEONEL                       SC     90014066522
6542B6A318162B   LISA         BRUMMELL                     MO     90009676031
6543111395416B   SCOTT        WILSON                       OR     90011161139
65431186272B29   JESSICA V    BAUTISTA                     CO     90009721862
6543127765B241   PATRICIA     POYNTER                      KY     90013982776
654325A155594B   PAYGO        IVR ACTIVATION               CA     90011785015
6543269A54B27B   RICHARD      STANGE                       NE     90012436905
6543281555B531   EVER ARMAN   LEMUS                        NM     36066728155
65432A99521781   SAUL         PEREZ                        IL     90015520995
6543367567B46B   AMBER        KRIMMINGER                   NC     90010146756
6543461424B588   JENNIFER     CURTIS                       OK     90015306142
65434645972B43   CELIA        RUIZ                         CO     33016526459
654348A6191549   ANNA         DOMINGUEZ                    TX     90002268061
65435AA9855977   JESUS        HERNANDEZ                    CA     49075090098
65436123472B29   MELODY       HILLEMANN                    CO     90002491234
65436431972B27   IVON         RODRIGUEZ                    CO     90000124319
6543658444B27B   MATTHEW      DEASON                       NE     27006415844
6543699618166B   LEONARD      BARBEE                       MO     29025739961
65437A1458B168   MICHAEL      CARD                         UT     90010200145
65438527772B43   GEORGINA     RODRIGUEZ BEOKFORD           CO     90007125277
65438A22355973   RONALD       DEAN                         CA     48039210223
6543917895B241   SANDRA       PARTIN                       KY     90014901789
65439443272B27   JAZMIN       ASCENCIO                     CO     90006814432
65439A31691549   RAUL         SANDOVAL                     TX     90010070316
65439AA9761961   RITA         HASKELL                      CA     90011450097
6543B27A37B48B   TERESA       AGAPILO                      NC     90010002703
6543B759641232   JONATHAN     ALLEN                        PA     90004767596
6543B761972B27   RUFINA       MARTINEZ                     CO     90013987619
6543B85A14B27B   BETH         BARNES                       NE     27070208501
6543B92A33168B   DANA         GREEN                        KS     90013829203
6544149A291549   TAMIKA       RHODES                       TX     75043344902
6544168425B531   NICOLA       HERRERA                      NM     36050216842
65441A55463646   CHRISTINA    CREAMER                      MO     90009750554
654422A238B168   SHANNON      QUINTANA                     UT     90002482023
6544313775594B   CHRISTINA    GUTIERREZ                    CA     90012631377
6544381798B168   ADAM         WESTBROEK                    UT     90014418179
65443A39555975   JUANA        PEREZ                        CA     90014380395
6544468A28166B   JOSH         DREYER                       MO     29006476802
65445338A61964   CORRINE      NATSON                       CA     46058453380
6544559735B125   DEMORRIS     KNOX                         AR     23045275973
65446249272B27   SUSIE        ALDERT                       CO     90015032492
65446497A91549   MARIA        MORLES                       TX     90003464970
65446611372B36   JOE          BRADLEY                      CO     90001816113
654467A4261961   GUILLERMO    DURAZO JR                    CA     46010827042
6544683954B588   CAITLIN      INMAN                        OK     90015368395
6544695515B241   BRYAN        SMITH                        KY     68001569551
65447A55191549   ISELA        DELGADO                      TX     90013590551
65447A97655977   ANTHONY      RODRIGUEZ                    CA     90014790976
65448387372B27   PAUL         HUMPHREY                     CO     90013813873
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 460 of 2350


6544846794B588   PAYGO        IVR ACTIVATION               OK     90014704679
6544852AA61936   KEVIN        MENDOZA                      CA     90006535200
6544934958166B   VERONICA     HALL                         MO     90013423495
65449377272B29   NOEL         PENA                         CO     90011203772
654493A2791998   JENNIFER     VOGELSBERG                   NC     90014173027
65449522672B43   CHRIS        GORDER                       CO     90001845226
6544957658B168   JENNIFER     KNUTH                        UT     31054985765
6544B147961964   GEORGE       ARELLANO                     CA     46031641479
6544B24698166B   PATRENA      BROOKS                       MO     29054372469
6544B276663646   ANTHONY      ROBIN                        MO     90007822766
6544B36424B522   HORACIO      AGUILAR                      OK     90010053642
6544B628461936   GLADIS       TAPIA                        CA     90005066284
6544BA94A91998   TARCHA       BURRELL                      NC     90007940940
654513A488B168   SCOTT        EDWARDS                      UT     90013653048
6545156A855975   FRANCES      ARELLANO                     CA     48041685608
654515A3A4B27B   STEPHEN      HICKS                        IA     90013025030
65451A6A472B43   DEBORAH      STONE                        CO     90013850604
65452A53425236   LARANDALL    HOUSE                        NC     90015010534
65453441372B27   ERNESTO      DURAN                        CO     90009524413
65453452872B36   SAMUEL       ORTIZ                        CO     33009874528
6545388465B921   TIMOTHY      WESTBROOK                    WA     90012358846
6545398955416B   JENNIFER     ALGEIER                      OR     47095609895
654543A874B588   EVER         PEREZ                        OK     90010753087
6545479215594B   NITA         CACAYORIN                    CA     90011787921
65455664A54124   ASHLEY       DAVIS                        OR     90005866640
65455A9195416B   MARIA        CONTRERAS MARTINEZ           OR     47029570919
6545625265594B   GRAVIEL      RUIZ                         CA     90005902526
65457274187B31   RHONDA       AUSTIN                       AR     28063552741
6545732168B168   YVETTE       LANKFORD                     UT     90005663216
65457425572B36   COLLEEN      CLARK                        CO     90013724255
65457A8577B46B   DAPHNE       HALL                         NC     90014900857
6545962A181644   LAROCK       THOMPSON                     MO     29084876201
65459A54361972   MARICELA     MONTIEL                      CA     90002260543
6545B297972B29   KEVIN        ROSE                         CO     90013962979
6545B728A33698   SYLVER       LEIHOLT                      NC     90002117280
6545B783761961   GEOVANNI     LUGO                         CA     90000547837
6545B9A2A55977   MERI         DAVIES                       CA     49081179020
6545BA25472B36   ERIKA        GARCIA                       CO     90010230254
6545BA27172B43   ALFONSO      SANTOS                       CO     90014230271
654629A1155977   JUAN         REYES                        CA     90015099011
6546314944B588   ESTER        AGULIAR                      OK     90001211494
6546315755B235   RONNIE       ROBEY                        KY     90014191575
65463516A25236   MIGUEL       LARA                         NC     90015585160
6546384455594B   FELIX        RUELAS                       CA     90002048445
6546456633168B   LAURA        PORRO                        KS     90007145663
6546464188B168   KENNETH      RICHARDS                     UT     90014076418
654659A243168B   LISHA        HARRIS                       KS     90011129024
6546622755594B   ERICA        RODRIGUEZ                    CA     90010892275
6546631397B46B   JOSE         LOPEZ GARCIA                 NC     90011103139
6546651189184B   GABRIEL      ENRIQUEZ                     OK     90004315118
65466932972B29   DEVONTAE     WYATT                        CO     90013519329
65466A34561961   MIGUEL       MENDEZ                       CA     90004820345
6546756297B46B   THAN PAR     NO                           NC     90012745629
6546786195416B   MAJESTY      HESS                         OR     90000838619
6546794A163646   ROSS         LEACH                        MO     27556529401
6546888625B241   JENNIFER     WINDELL                      KY     90014918862
65468976A72436   CARLA        WILTROUT                     PA     90006629760
65469655A55975   OSCAR        MAGANA                       CA     90010676550
6546991A14B588   KATRINA      HARRINGTON                   OK     21562529101
65469A18655977   ARMIDA       PADILLA                      CA     90013990186
6546B647881644   COLETTA      GREEN                        MO     29045916478
6546B92A955975   MICAELA      RAMIREZ                      CA     48066049209
6546BA4495594B   MARGARITA    CARDENAS                     CA     48013250449
6547114857B46B   KAMALI       TRININDAD                    NC     90000701485
65472643A33698   BEN          GRAHAM                       NC     90009856430
654728A3755975   LUISA        DIAS                         CA     48082348037
65472A1A261964   DEVON        SCALES                       CA     90013020102
6547351A95B243   CARLA        SILERIO                      KY     90007665109
65473696A5B241   BLAINE       SPAULDING`                   KY     68086366960
65473957587B92   DARCEY       NORRID                       AR     90013239575
65473A61891549   VERONICA     ARELLANES                    TX     75002870618
6547427A372B29   KEVIN        MCVAY                        CO     90011642703
65474A24457131   LAMONT       LEWIS                        VA     90013960244
65475299A61964   SANDRA       BUTTERFIELD                  CA     90013242990
65475337972B29   JOEY         ATLER                        CO     90007603379
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 461 of 2350


65475354A8166B   ROSALYN      ARRINGTON                    MO     90013073540
65475514872B29   NADIR        TYLER                        CO     90012705148
65475A58791998   CHRISTINE    GOODMAN                      NC     90004940587
65476253772B43   JOHN         MCGRATH                      CO     90006072537
6547673A44B588   MICHELE      MITCHELL                     OK     90008757304
6547697994B27B   ROCHELLE     BELGRAVE                     NE     27085249799
65477793572B43   DEAUDRA      CASTRA                       CO     90010147935
65478527172B43   GUADALUPE    CASTILLO-ARMENTA             CO     90012895271
65479221172B43   IVONNE       ROMERO                       CO     33051252211
65479369772B29   TERRY        MCCASLAND                    CO     33085403697
6547938827193B   PATRICK      SIMINGTON                    CO     90010793882
654796A9961936   PAT          BALDWIN                      CA     90006536099
6547B28435B235   HERIBERTO    CLETO                        KY     90012132843
6548132275B241   DEERICA      YOUNG                        KY     90012653227
65481A6975594B   RICHARD      PEREZ                        CA     90001760697
65483236A61964   JOANNA       MENDOZA                      CA     46096322360
65483239A5B241   DONNA        JACKSON                      KY     90015022390
65484A16455975   ALFREDO      LARA                         CA     48046180164
6548549A15B235   MARIA        PRESTIGIACOMO                KY     68046684901
65485A6314B27B   DON          PANKIEVICZ JR                NE     27020350631
6548652365B235   KAREN        FITZGERALD                   KY     90004325236
65486639772B27   JERMAL       STEPHON                      CO     90008596397
65486A8638166B   VICKIE       BLATT                        MO     29074210863
65487379A55973   ERIC         BURNETT                      CA     90009073790
65488379772B43   HEATHER      MONTOYA                      CO     90009083797
6548928A472B27   BRANDON      ARCHULETA                    CO     90011662804
6548938784B588   ROGER        BATES                        OK     90014613878
6548954664B27B   AMBER        WALKER                       NE     90010805466
65489583A55975   PAYGO        IVR ACTIVATION               CA     90014505830
6548B335691549   IVETTE       RAMOS                        TX     75074473356
6548B386372B29   SEBASTIAN    HERRERA                      CO     33068863863
6548B786A5B531   GUADALUPE    MENDOZA                      NM     36079467860
65491762972B27   LUCERO       IBANEZ                       CO     33043997629
65491858372B29   SAUL         TAVERA                       CO     90012388583
6549257A27B46B   ALEXANDER    MAYORGA                      NC     90014875702
65492761972B36   DANNY        HAMLETT                      CO     33017707619
65493A63691522   ERIC         CARREON                      TX     90011920636
6549418417B46B   BERNARDINO   LOPEZ                        NC     11015611841
65494899A3168B   TERON        WINTERS                      KS     90013838990
654949A8A61964   MARCO        OLVERA                       CA     90014229080
65495469A55973   CONSUELO     GUTIERREZ                    CA     90013694690
654954A4163646   JENNIFER     EVANS                        MO     27575684041
6549582588B168   JANICA       MCCLOUD                      UT     90010348258
65496A12155975   RAYMOND      BECERRA                      CA     48066060121
65496A66291522   MARIO        SOBAL-VARRO                  TX     90007060662
65496A7235B241   JEFFERY      BESSINGER                    KY     90009940723
6549746A791549   JARROD       PLAYER                       TX     90007644607
6549761338166B   JASON        ANDERSON                     MO     90013356133
6549B15A261961   CARMEN       VALLADOLID                   CA     90003011502
6549B393491998   HENRY        LILEF                        NC     90015083934
6549B73237B46B   CHANTE       PARKER                       NC     11074587323
6549BA2164B588   RONALD       HUMPHREY                     OK     90010500216
654B1162491522   IRMA         MARQUEZ                      TX     90009821624
654B12AA955973   MARIBEL      OSEGUERA                     CA     90013962009
654B1453972B27   CAMERON      EDWARDS                      CO     90010684539
654B164A861961   ALBERT       FEDERICO                     CA     90013066408
654B181725B241   JUAN         GUZMAN                       KY     90004258172
654B1A89551352   ANGEL        FALCON                       OH     90011000895
654B232195412B   LINDA        BRIGGS                       OR     47014193219
654B2327761936   BERNARDO     RODRIGUEZ                    CA     90006533277
654B2852181644   JOSE         PELAEZ                       MO     29001368521
654B2977293751   ANGELIA      BEATY                        OH     90009349772
654B3345381644   FELIPE       JIMENEZ                      MO     29054733453
654B3A13A55975   JOHN         CHAPA                        CA     90013210130
654B3A93655975   LINDA        RENTERRIA                    CA     90014530936
654B4499591522   VANESSA      ORTIZ                        TX     75046194995
654B4632661961   JUAN         GUERRERO                     CA     90012066326
654B4795355977   DESIREE      CHENOT                       CA     90007237953
654B4798224B7B   JORGE        MOLINA                       VA     81014427982
654B4A76263646   SMYTHE       GABRIELA                     MO     90014940762
654B5117855977   BOBBIE       KING                         CA     90007781178
654B5242761961   YVONNE       MORENO                       CA     46092262427
654B555574B588   MORGAN       NICHOLE                      OK     90012065557
654B5676A91549   MARIA        SORIANO                      TX     90014426760
654B6819272B36   MATTHEW      RIVERA                       CO     90004218192
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 462 of 2350


654B7172A55977   GUILLERMINA   MORA                        CA     90010081720
654B7184A5B235   DARLENE       FLEMING                     KY     90013301840
654B8216172B49   LATISHA       GARCIA                      CO     33004982161
654B8216572B29   RYAN          PHELPS                      CO     33082982165
654B8392251388   SARA          WILBURN                     OH     90008083922
654B8422372B93   YONI          PENA                        CO     33085214223
654B8684697B55   SARA          LANG                        CO     90003866846
654B872525B235   PHIL          BAKER                       KY     90013477252
654B932348B168   ANTHONY       NAVA                        UT     90015163234
654B95A9361961   MARIA         GALVAN                      CA     90012115093
654B994497B46B   LEVERT        EVERETT                     NC     90003399449
654BB19994B27B   HARMAN        AMY                         NE     90011041999
654BB244172B27   AIOTEST1      DONOTTOUCH                  CO     90015122441
654BB456251354   JOE           BYRD                        OH     66093574562
654BB484263646   KATHY         DUNN                        MO     90011864842
654BB49A15B235   MARIA         PRESTIGIACOMO               KY     68046684901
654BB646255975   MARICRUZ      GONZALEZ                    CA     90011526462
654BB87A172B29   TOM           RIED                        CO     33009878701
654BBA51291549   GABRIELA      MALDONADO                   TX     75088280512
6551112695416B   MARIA         VILLANUEVA ZERMENO          OR     47028841269
65511298372B27   MARYLIN       LEACH                       CO     33084902983
6551182975597B   CARMEN        CRUZ                        CA     90012838297
65514532572B43   ARMANDO       QUEZADA                     CO     90015025325
65514A2688B168   ANDREW        WIGGINS                     UT     90013120268
65515261472B27   DAVID         SMITH                       CO     90011852614
65515523A72B36   SEAN          KENNEDY                     CO     90012775230
655159A6472B43   COLTER        CONLEY                      CO     90010319064
6551651155594B   MAGGIE        FLORES                      CA     90011795115
65516782A61964   GIL           BINET                       CA     46019887820
6551683514B27B   CHANDA        PARKER                      NE     27085488351
655168A5572B43   ARACELI       TORNERO                     CO     90006998055
65517A81172B29   MANUELA       CONTRERAS                   CO     33059450811
6551996298166B   DENISE        GOODWIN                     MO     90010219629
6551B194A2B893   JOSHLIN       ROWE                        ID     90004331940
65521277A61936   TIER          TREJO                       CA     90012112770
65521482172B29   MICHAEL       REEVES                      CO     33078444821
65522A61831225   OSCAR         SALAS                       IL     20564690618
6552343184B27B   TEVIN         DIXON                       NE     90014724318
6552433855B235   LINH          DOAN                        KY     90012743385
65524787A5B237   DERRICK       UNDERWOOD                   KY     90001797870
65524A9448166B   LINDSEY       CAVANAGH                    MO     29086870944
65525649572B29   JOHNSON       JOHN                        CO     90011506495
65525879A4B27B   HECTOR        MUREERO                     NE     90013628790
6552644728B136   JENNIFER      JOHNSON                     UT     90010734472
65526A3A955977   JESSIE        BEAVERS                     CA     90013090309
6552713438B168   KYLE          GREGG                       UT     90010281343
6552757A45132B   JARROD        WOODWARD                    OH     90008595704
65528272A72B43   ELIAS         ROMERO                      CO     33080782720
6552B2A145B241   MARQUITA      ALEXANDER                   KY     90014922014
6552B42A73B372   MEGHAN        WIDHALM                     CO     90012684207
6552B478272B27   ROBERT        STOOPS                      CO     33039274782
6552B71684B588   SENORINA      LERMA                       OK     90013007168
6552B8A9981644   NOEMI         MORENO                      MO     29073588099
6553169474B588   MARQUITA      PETTY                       OK     90014886947
6553187285594B   JOSE          TRUJILLO                    CA     90007498728
655324A324B27B   REINA         SALAZAR                     NE     90005034032
6553257A361961   ARACELI       ALVAREZ                     CA     90013125703
65532593172B36   GIANCARLO     SMALL                       CO     33083195931
6553291A472B27   RYAN          MILLER                      CO     90008069104
655332A695B241   YOLANDA       JOHNSON                     KY     68018842069
65533426A7B46B   CAROLYN       PITTS                       NC     90010334260
65533675A91998   KELLY         LOWERY                      NC     17096496750
655336A1355977   LETICIA       GARCIA                      CA     49001786013
6553429537B46B   VIXAY         SAYBOUNE                    NC     90013342953
6553486145B241   DAVEDA        YELVERTON                   KY     90006238614
65534996A8B168   MISTY         CHAPMAN                     UT     31077949960
65535498172B29   RICARDO       ALAS                        CO     33046314981
6553555644125B   NICHOLAS      DUBLIN                      PA     90010055564
6553561154B588   AMANDA        SIMONDS                     OK     90005336115
6553577A681644   SHERI EZ      AUSTIN                      MO     90014667706
655359A697B46B   LATOSHA       MOMANYI                     NC     90013109069
6553631715B235   ALEXEN        MARRERO                     KY     68048903171
65536521A91522   ALEXA         CASTRO                      TX     90014735210
65536715A5B241   JASON         TURNER                      KY     90012597150
6553711A99715B   TERA          STANTON                     OR     90000711109
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 463 of 2350


6553765375B241   JENNIFER     REARDON                      KY     90010286537
655376A5751354   JAYCENE      EDMONSON                     KY     90012976057
6553776515416B   JOLAN        HILL                         OR     90014527651
65537A48972B36   ROSE         ASEBEDO                      CO     90012050489
65538361A55977   DON          SISOUVONG                    CA     90008143610
65538A25354124   JAMES        GREENWOOD                    OR     90005990253
6553B295855973   TAMY         ROBINSON                     CA     48016822958
6553B33A68B168   JOHN         GARVIN                       UT     31022153306
6553B349961961   ANGELICA     AMAYA                        CA     46064793499
6553B662472B29   BRUCE        HENG                         CO     33027396624
6553B89295B241   DEANDRE      LESTER                       KY     68080168929
65541451A72B43   CHAD         MARPLE                       CO     33011574510
6554158A272B25   GIRUM        MELESE                       CO     90013895802
655415A215B531   MIRIAM       LOPEZ                        NM     90005065021
65541891A63646   CRYSTAL      WATERS                       MO     90012378910
65542234A91998   NEAL         GIORDANO                     NC     90003902340
6554251A55B241   JOSHUA       WILKERSON                    KY     90014605105
6554356937B46B   JACQUELINE   MOORE                        NC     90014945693
6554378352B886   LINDSAY      CARLSON                      ID     90005397835
65543A24251354   RAMONA       MIRLISENA                    OH     90006770242
655444A1672B29   JENNIFER     SIMMONS                      CO     33052094016
65544A7845B241   HELEN        GOODE                        KY     90009940784
65545331572B29   JULIA        BANUELOS                     CO     90012483315
655453A253168B   THERON       NEAL                         KS     90014573025
6554564354B27B   MARISSA      OLGUIN                       NE     90014516435
65545787A4B562   MOISES       ALANIS                       OK     90001677870
65546571487B31   STEPHANIE    ANDERSON                     AR     28038645714
655468A5725236   JUAN         DOMINGUEZ                    NC     90013928057
6554736745B235   TARA         BHJEL                        KY     90015003674
6554737597B46B   MARISOL      HERNANDEZ                    NC     90014073759
65548669572B36   ANJELICA     MELERO                       CO     90001046695
655489A723168B   MARY         WARD                         KS     22077599072
6554928852B941   ERMA         FREGOSO                      CA     90012672885
6554939514B27B   STEPHANIE    CRISP                        IA     27063503951
655494A6761964   PRISCILLA    VALDEZ                       CA     90013964067
6554998244B588   RODRICK      ROUBIDOUX                    OK     90014549824
6554B523891522   AHYLEEN      SANCHEZ                      TX     90014735238
6554B65A24B588   MONIQUE      THOMPSON                     OK     90014586502
655514A9833698   KENDRA       DAVIS                        NC     12030864098
65551757A5416B   CHARITY      BLALOCK                      OR     47037267570
655521A1991998   GARYF        LOVY                         NC     90009061019
6555321318166B   LUTHER       MCARN                        MO     29077542131
6555359A272B36   AMANDA       RODRIGUEZ                    CO     33063895902
6555485425416B   JENNIFER     RIGGS                        OR     90013508542
65555657472B27   JESUS        SANDAVOL                     CO     90007096574
6555581398B168   PENNY        BOWER                        UT     31096538139
6555634958166B   VERONICA     HALL                         MO     90013423495
6555732A75594B   MARISOL      GUERRERO                     CA     90011803207
65557571A61964   JESSICA      CHUMACERA                    CA     90009925710
6555848225B235   PRECIOUS     BURNLEY                      KY     90013724822
65559838A91522   SUSANA       CASAS                        TX     75094078380
65559961172B27   NOLBERTO     OJEDA                        CO     33076079611
65559A7A191549   BRENDA       HERNANDEZ                    TX     90013590701
6555B658381644   BARTOLO      ARVIZU                       MO     90012736583
6555B814191522   SANDRA       LOPEZ                        TX     75092308141
65561226287B31   EJUBA        WALTER                       AR     28075372262
6556129254B27B   SERGIO       HERNANDEZ                    NE     90012272925
65561717472B27   NICOLE       ASBERRY                      CO     33095557174
6556173895B241   MICHAEL      WILSON                       KY     90014847389
6556259136196B   GABRIEL      VIRAMONTES                   CA     90012575913
65562A5A75B241   DENNIS       SCHOENLAUB                   KY     68035160507
655644A7372B43   MARIA        VARELA                       CO     90012544073
6556474217B46B   CECILIA      HERNANDEZ                    NC     90003557421
6556477A525236   VICKIE       TAYLOR                       NC     90006107705
6556488635B241   TAMMY        MCCRAY                       KY     68082208863
655648A4572B27   ELSA         RAMIREZ                      CO     90014228045
65564A31255977   ARMANDO      MACIAS                       CA     90013850312
6556513AA31434   JAMES        POWERS                       MO     27582051300
6556637A69132B   SHERRI       MOTEN                        KS     90014743706
6556641795B241   ANGELA       ALDRIDGE                     KY     68057174179
6556681533B35B   SAMUEL       MULAY                        CO     33005858153
6556683675B531   VERONICA     HERNANDEZ                    NM     90010278367
6556736524B27B   TYLER        DUNCAN                       NE     90007343652
65567797772B27   MARIA        VAZQUEZ                      CO     33077617977
6556823813168B   BRITTANY     AXE                          KS     90013992381
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 464 of 2350


65568639A61964   FELIX        CRUZ                         CA     90012536390
6556882175416B   EVARISTA     PELAYO-PELAYO                OR     90011238217
655689A384B588   BRITTANY     JONES                        OK     90013699038
6556917998B168   CESARIA      MCCLAIN                      UT     31090061799
6556944324B588   LANCE        DAVIS                        OK     90015134432
6556983994B27B   DAVID        BENT                         IA     90014578399
6556B27A355977   ROBERTO      GARCIA                       CA     90015182703
6556B58737B46B   ANDREW       NOSAL                        NC     11031305873
6556B811225236   RANDY        WILLIAMS                     NC     90010638112
6556B875972B36   ADRIENNE     DOPP                         CO     90014508759
6556B93978166B   VANESSA      AREVALO                      MO     90011329397
65571545A25236   SEMEKIA      TALYOR                       NC     90011275450
65572245172B43   KENNETH      HILL                         CO     33098172451
65572A12872B27   NEKITA       WIMBUSH                      CO     33017300128
65572A6235B531   RUBEL        GONZALEZ                     NM     90012890623
6557324424B268   MEREDITH     RUSSELL                      NE     27035122442
6557337575594B   JOSE         LUA                          CA     90011803757
6557339438B168   KRISTA       GENTRY                       UT     31080743943
6557349284B588   MANUEL       VIOLANTE                     OK     90014994928
655748A9272B29   ASHLEY       JONES                        CO     90013738092
6557515697B46B   JOHNSON      ELLS                         NC     90011691569
6557622A963646   CHRIS        CRAIG                        MO     90013362209
655766A4561961   MARCOS       NICARAGUA                    CA     46043826045
6557779564B588   JOSE         CASTRO                       OK     90012847956
6557832A88B346   CANDELARIO   ARANDA                       SC     90015313208
6557987A272B27   PAUL         HAYWARD                      CO     90011688702
65579A15972B29   RUDY         ORTEGA                       CO     90014290159
65579A98863646   RYAN         PERREY                       MO     90001810988
6557B394187B31   QUINAUSIA    BONDS                        AR     90007083941
6557B58275416B   GABRIELA     LEON                         OR     47066915827
6557B96818168B   NANETTE      SCADUTO                      MO     29072249681
655818A8591549   JORGE        AMPARAN                      TX     90013888085
655835A9A61964   MONICA       MEJIA                        CA     90014455090
6558367A95594B   BERENICE     MORENO                       CA     90012286709
655836AA74B588   CHRISTINA    SCHUE                        OK     90001536007
65583989124B41   MARCUS       JACKSON                      DC     90013079891
65583A91972B36   BLANCA Z.    CARRAZCO                     CO     33083770919
65584127A7B358   ANGEL        MEJIA                        VA     90006851270
655841A3363646   DANIEL       BAUR                         MO     90010581033
65585235A3168B   LISA         APOLITO                      KS     22067242350
6558541688166B   REBECCA      BUSTAMANTE                   MO     90011104168
6558573684B27B   ALAN         EINSPAHR                     NE     27001947368
6558593794B588   JONATHAN     JOHNS                        OK     90012429379
6558721877194B   JEANA        MCALISTER                    CO     90007282187
655878A9981644   VELTON       HARDEN                       MO     90013088099
65588953372B36   OSCAR        PINEDA                       CO     90014859533
65588A46651354   JAMES        BEACH                        OH     90012080466
65588A4825B351   KIMBERLY     TORRES-JIMENEZ               OR     90014450482
6558967A787B31   KENNETTE     ROBERTSON                    AR     28092756707
6558B268531495   LATASHA      BARNES                       MO     90002592685
6558B73964B588   LAURA        MEDINA                       OK     90012147396
6558B814561961   ARCADIA      SARTOR                       CA     90013578145
6558B817A71976   ERNEST       TAGLE                        CO     90007988170
6558BA18891998   JOSELINNE    AMAYA                        NC     90012680188
6559182767B46B   SANDRA       WHITNEY                      NC     90006418276
6559186335416B   MARYANNE     GAMMELL                      OR     90014618633
65592641872B29   SHANE        GIULIANO                     CO     33092956418
6559312687B423   JESSICA      SCOTT                        NC     90013841268
65594248172B36   ANNA         VIGIL                        CO     33052332481
6559483A961961   YAZARY       FUQUA                        CA     90014168309
6559492924B588   DONTRELL     DELOCH                       OK     90011059292
65595A76991522   GLORIA       ARRIETA                      TX     90012030769
6559632964B588   KEYAW        HAWKINS                      OK     90011403296
6559673643B335   HECTOR       TORRES                       CO     33061807364
6559699674B588   JERRY        THOMPSON                     OK     90013999967
6559715417B46B   MASIVI       TUWAMO                       NC     11096861541
6559745A161936   SANDRA       GRAF                         CA     46016534501
655974AA861964   JESSICA      ZUNIGA                       CA     90005514008
65597A52955975   JESSIE       RUIZ                         CA     90009650529
6559857843168B   JOSHUA       VINEYARD                     KS     90008775784
65598984672B36   STEVEN       SISK                         CO     90014279846
6559932348B168   ANTHONY      NAVA                         UT     90015163234
655994AA15B235   KESHA        TURNPIN                      KY     68008224001
65599A47784381   JODY         WARD                         SC     90005060477
6559B39155B235   TANYA        MONTGOMERY                   KY     90002613915
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 465 of 2350


6559B566947985   RODOLFO       MARTINEZ                    AR     90011495669
6559B845591998   VIRIPI        JONES                       NC     90003498455
655B1186551354   ANGELA        MCDONALD                    OH     90010011865
655B1821831453   DEIDRE        JOHNSON                     MO     90010638218
655B223A23168B   ROSA          SULLIVAN                    KS     90013992302
655B231215B241   TERANISHA     PERDUE                      KY     90012583121
655B2736161961   ANDRES        CAMPA                       CA     46042177361
655B299317B46B   BRITTANY      LEE                         NC     90013859931
655B3496151347   JOSE          AGUILAR                     OH     90001614961
655B3571487B31   STEPHANIE     ANDERSON                    AR     28038645714
655B368A572B36   BRIAN         JENKS                       CO     33039346805
655B391417B46B   JUSTIN        WHITE                       NC     90015309141
655B3A49251354   CHARLES       WALLACE                     OH     90008520492
655B425735416B   ALEJANDRO     LAGARDA                     OR     90002622573
655B515A251354   SILVESTER     PEREZ                       OH     66073761502
655B5291855973   CHRIS         BALES                       CA     48062132918
655B5321133698   JERMAINE      GLENN                       NC     12090393211
655B5472191522   CHRISTOPHER   MARSH                       TX     90012654721
655B582924B268   TAMMY         JOHNSON                     NE     27079788292
655B61A745B241   THELMA        HALEY                       KY     68080701074
655B631A54B588   YANETIA       BEAN                        OK     90011193105
655B6546284392   CHANTE        MONTGOMERY                  SC     90009685462
655B7A54555977   MARVIN        LOMAN                       CA     90014540545
655B824858B168   BARBARA       MOSHER                      UT     31003142485
655B849518166B   GREGORY       GARDENHIRE                  MO     29023234951
655B9119491534   GUADALUPE     CASTRO                      TX     90010791194
655B9465225236   MICHAEL       LOVETTE                     NC     90014924652
655B95A1855973   RAQUEL        CHAVEZ                      CA     90012055018
655B961A57B46B   BIANCA        SMART                       NC     90015166105
655B968113168B   WENDI         FISHER                      KS     22081206811
655B9748361964   JUAN CARLOS   BARRAGAN                    CA     90005827483
655BB964891527   ZANDRA        AGUIRRE                     TX     90009759648
655BBA3747B48B   MICHAL        RADEK                       NC     11019200374
655BBA7215B235   CHRIS         MCALISTER                   KY     68009980721
65611464172B36   ALEJANDRO     GALLEGOS                    CO     33004484641
6561198A44B588   MARTIN        ARIAS                       OK     90012679804
656119A1A91522   DIANALI       VARELA                      TX     90005169010
65611AA135594B   JAVIER        REGALADO                    CA     90011810013
65612137A7B46B   TIMOTHY       ROBINSON                    NC     90013061370
656131A818166B   ANDRE         BOWMAN                      MO     90014271081
6561321745416B   DAVID         SMITH                       OR     47052882174
6561356A45B241   HOLLY         WILLIAMS                    KY     90014155604
656136A915B235   BRADLEY       SARTIN                      KY     90013216091
65613721972B27   LUANN         ROGERS                      CO     90002177219
65614752772B27   SHARON        COX                         CO     90001417527
6561486A172B43   DENISE        LAWSON                      CO     90013708601
65614875636B28   AMILCAR       LOPEZ                       WA     90015428756
6561488935416B   CORRINE       STAHL                       OR     90014548893
65614A59625236   ANGDLA        POOLE                       NC     17085220596
65615A5434B588   WILLIAM       FORD JR.                    OK     21562460543
656172A2791522   BRENDA        GARCIA                      TX     90014752027
6561783815B531   VICTOR        PEREZ                       NM     36016178381
65617A24863646   JULIE         WATSON                      MO     90013940248
6561953A355993   RIGOBERTO     COVARRUBIAS                 CA     90007715303
65619592572B36   JESSIE        ARELLANO                    CO     33088845925
6561B21967B46B   ANTOINETTE    GRAYSON                     NC     90011052196
6561B4A7772B43   GUADALUPE     PEREGRINO                   CO     33073814077
6562188165B385   KENNETH       WILSON                      OR     90014748816
65622917272B43   STEVE         NELSON                      CO     90013169172
65622A13361961   FROILAN       VAZQUEZ                     CA     90013090133
65622A24863646   JULIE         WATSON                      MO     90013940248
6562378A355975   OLIVIA        HERNANDEZ                   CA     90008607803
65624195672B27   CARMEN        SZARKA                      CO     33012021956
6562449694B588   ELISA         REGALADO                    OK     90003844969
6562517437B46B   REBECCA       ZAMBRANO                    NC     11001201743
6562576285416B   COURTNEY      GREEN                       OR     47039587628
65625A12155973   SCOTT         HUFF                        CA     48083490121
6562657745B241   MARKESHA      THOMPSON                    KY     90014605774
656267AAA55977   RUBYCELA      RAMIREZ                     CA     49085057000
65627474872B43   JEREMY        KUST                        CO     90015384748
65627595A72B27   ELEUTERIO     CHAVARRIA                   CO     90005205950
65627968572B43   RENEE         CORDOVA                     CO     90000199685
65628813372B29   MARIA         GONZALEZ                    CO     33097518133
6562882455B375   SAUNDRA       AARON                       OR     90001768245
6562895438166B   MICHEAL       SHANOR                      MO     29006169543
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 466 of 2350


656292A685416B   TIA MARIE    TRAVIS                       OR     90002612068
6562968A961964   KAVAL        REMZI                        CA     90010946809
6562996658166B   PHILLIP      BUTLER                       MO     90013169665
6562B194261961   JOSE         ALEJANDRO                    CA     90011671942
6562B556A2B984   JAMIE        PARRY                        CA     90010185560
6562BA66672B29   DALTON       CROAKER                      CO     90014250666
65631666A4B588   RAUGEL       WILKERSON                    OK     90014866660
65632255A7B13B   MATT         HOLM                         ND     90015352550
656326A7255977   RAYMOND      MAYBERRY                     CA     90003816072
656331A7172B36   JULIAN       VIGIL                        CO     90014951071
65633359472B43   EDWARD       DOHMAN                       CO     33092463594
6563349463168B   KELLY        CARSON                       KS     22084434946
6563362355B178   RODNEY       BEASLEY                      AR     90013456235
65633933272B43   GERI         MARTINEZ                     CO     90002349332
6563398935B385   ANA LUISA    IBARRA                       OR     90005209893
65633A83255977   ANNA         YANG                         CA     90013930832
65633A83A5B235   CHAD         GREEN                        KY     68073550830
65633A93872B27   MIGUEL       MELERO-PEDRAZA               CO     33072200938
65634581372B27   MARIA        MENOZ                        CO     90007295813
65634666A8B355   DAVID        GOFORTH                      SC     90014256660
6563485643168B   CARLA        BROWN                        KS     22086838564
6563498935B385   ANA LUISA    IBARRA                       OR     90005209893
65635568154B37   JOSE         REYES                        VA     90014855681
6563559344B588   STACEY       BLATNEY                      OK     90003785934
6563565AA55975   BEATRIZ      VALENCIA                     CA     90001906500
656359A8551354   GEORGE       KOPRIVA                      OH     90014339085
6563643357B46B   RACHELLE     REID                         NC     11094414335
6563669255B241   CHERYL       JAGGERS                      KY     68039826925
656372A7555977   ANGELICA     CAMARENA                     CA     49018122075
6563748765416B   GARRY        LOAR                         OR     90009224876
656377A2591234   ANGELA       WASINGTON                    GA     90002497025
6563835244B268   JORGE        RIVERO                       NE     90002653524
65639651972B27   KARINA       BARRAZA                      CO     33064176519
65639A93172B29   JEAN         MOSCHETTI                    CO     33077080931
6563B146191549   ALFREDO      RAMIREZ                      TX     90015311461
6563B73117B46B   VERONICA     GONZALEZ                     NC     90000267311
6563B78A55B531   JESSIE       GUERRA                       NM     36055567805
6563B87595B241   TOREE        SINKFIELD                    KY     90009748759
6563B92A361961   BOONTHAN     LABNONGSANG                  CA     90014689203
65641447A4B588   JOYCE        RAMSEY                       OK     90015134470
65641587672B43   NINA         TAYLOR                       CO     90007525876
656421A5961961   ABRAHAM      HERNANDEZ JR                 CA     90000391059
65642AA525B241   ELIZABETH    ROJAS                        KY     90009220052
6564383994B27B   DAVID        BENT                         IA     90014578399
65643847272B43   DOMINGA      ORTEGA                       CO     33064048472
65643A76991522   GLORIA       ARRIETA                      TX     90012030769
6564456A872B36   MICHAEL      REPP                         CO     90013175608
6564497718B168   SHANE        MIKE                         UT     31080749771
65645341872B43   ANGIE        SANCHEZ                      CO     90007573418
656455A2961964   BERENEICE    COSSIO                       CA     90012635029
65646125A4B562   LUTHER       GORDON                       OK     90008601250
65646429272B27   JAVIER       RICO                         CO     90012724292
6564683515416B   JOANN        CARLSON                      OR     90014558351
65646A3774B27B   FAISAL       FARAH                        NE     90001860377
6564734A972B36   MICHELLE     SPRAITZ                      CO     90013213409
6564758413168B   REBECKA      GARRISON                     KS     90008045841
65647AAA491998   BRANDI       MOORE                        NC     17050210004
656483A994B27B   TERRY        THOMAS                       NE     27092073099
65648987272B29   RACHEL       SAUCEDO                      CO     90011089872
65649485772B36   CAMILLE      TRICHIE                      CO     90007044857
6564B44464B27B   RANDY        ORDUNA                       NE     27013644446
6564B89575B531   NERY         LUNA                         NM     90004388957
656518AA972B29   STATEN       KUALANI                      CO     33089028009
6565377A13168B   JOSE         MATA                         KS     90013967701
65653AA562B269   RAY          JOHNSON                      DC     90012550056
6565456524B588   MEGAN        MITCHELL                     OK     90015415652
6565468644B588   CLARENCE     MITCHELL                     OK     90013166864
6565523795B531   EDUARDO      VILLALOBOS                   NM     36065162379
6565616765B235   DAGEN        HUDSON                       KY     90014961676
6565731865B235   KAMMY        LAWNCH                       KY     90010143186
656588A4491549   NOELLE       GLANZMAN                     TX     90008098044
6565937783168B   FREDA        DAVIS                        KS     90014833778
656597A6972B29   CRYSTAL      LUCERO                       CO     90010937069
6565B493661972   ROCIO        ZURITA                       CA     90007624936
6565B596A5594B   CEYDA        AL MONTE                     CA     48051975960
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 467 of 2350


6565B973133698   IVY              GILLIS                   NC     12098199731
65661185972B29   DEE              WILLIAMS                 CO     33093121859
65661217472B36   ANDREW           MARTINEZ                 CO     90001312174
6566152A15B531   ALMA             RIVAS                    NM     36040315201
656618A762B957   CHRISTOPHER      SARINA                   CA     90013808076
6566193618166B   AMANDA           MORGAN                   MO     90013519361
6566221A67B45B   DIONNE           TAYLOR                   NC     11010282106
65662A41355975   MALLORY          BROWN                    CA     90010310413
6566421985416B   KRISTA           SPANGLER                 OR     47046672198
65664387372B27   STEPHANEY        WACKER                   CO     90008043873
65664A2823B359   CHRYSTAL         VASQUEZ                  CO     90011210282
656664A9281644   JESSE            ARROYO                   MO     90011694092
65667824272B29   MARIBEL          JIMENEZ                  CO     33059458242
656694A585B241   MICHEAL          NELSON                   KY     90008764058
6566B55A184392   NATASHA          PEDERGRASS               SC     90000125501
6566B645291522   LENA             PADILLA                  TX     90012066452
6566B6A6961961   DENISSE          CASILLAS                 CA     90011526069
6566B947555973   REYNA-JULIETA    GONZALES-LUNA            CA     90010139475
6566BA6867B46B   CARLA            BARRINGER                NC     11006210686
656711A1361964   ANDREW           GUTIERREZ                CA     90012741013
6567192234B27B   DONNA            FARFALLA                 NE     27081859223
656721A318166B   LAURA            OKELLY                   MO     90002661031
65672242A55973   VERA             RAMIREZ                  CA     48098682420
65673344172B36   TONY             VIGIL                    CO     33049763441
6567338A58B168   ANGELICA         GARCIA                   UT     90015293805
6567423884B27B   VICTORIA         AUSTIN                   NE     90011042388
6567459A672B43   KAREN            GOMEZ                    CO     90009175906
65674A6A44B588   TAMISA           GROVE                    OK     90007960604
65675132872B29   ASHLEY           WITT                     CO     90014681328
656751A453B394   SHERRY           GONZALES                 CO     90012471045
656755A6697943   VERNA            DAVIS                    TX     90000835066
6567586425B235   WILLIAM          SEARCY                   KY     90011878642
65676524672B27   ISSAHA           ABEYTA                   CO     90012465246
656776A8655975   MARIA            RAMOS                    CA     90014706086
6567838794B588   ISIDRO           LUNA                     OK     90015013879
65678941A5416B   M                SCHAFER                  OR     47086569410
65679971572B29   JESSICA          URQUIDEZ                 CO     33006109715
65679A59291522   JUAN             COBOS                    TX     90014520592
6567B338355973   ROBERTO          AVILA                    CA     90009573383
6567B491172B43   CENORINA         SAUCEDO                  CO     33033114911
6567B648991522   CLAUDIA          MOLINAR                  TX     90014736489
6567BA92361961   ARIANA           GALINDO                  CA     90013210923
6568174A461936   APOLONIA         FLORES                   CA     46083397404
65681A51A61964   SERRANO          BARTOLO                  CA     90010310510
65681A7995B235   JAMES            ROBY                     KY     90013370799
65682426372B36   CAROLYN          SMITH                    CO     90002004263
6568291924B27B   BUD              MINSHALL                 NE     90013759192
65682A82572B43   LESLIE           INGRAM                   CO     33036950825
65682A99261961   BYRON            MINER                    CA     90009020992
65683A9695594B   MELISSA          DE LA CRUZ               CA     90006750969
65684A37991549   DANNY            CALDERON                 TX     90008700379
65684AAA33B335   TRACY            SEBER                    CO     90012630003
65685A65572B29   ARTURO           BERMIA                   CO     90012670655
656866A5955973   GLORIA           FUENTES                  CA     90007726059
65686766372B43   JANETH           ISPINOZA                 CO     33077097663
6568746937B46B   ANNETTE          ERWIN                    NC     11030264693
65687A37597B39   VICENTE          DURAN                    CO     90001640375
65688A53881644   EMILY            BERRIER                  MO     90014670538
6568988254B27B   DANNY            BRUNING                  NE     27015948825
6568B13317B46B   BRENDA           MITCHELL                 NC     90015291331
6568B2A6172B36   GABRIELLE        FRAUSTO                  CO     33012602061
6568B3A1591549   ERNESTO          SALAS                    TX     90000383015
6568B5A538B168   NICKOLAS JAMES   ASHFORD                  UT     90011005053
6568B65955B531   KARLA            HERNANDEZ                NM     36016496595
6569193A555973   ALICE            ARAUJO                   CA     90007829305
6569241A797127   SEQUOIA          MCMAUNUS                 OR     90014524107
656927A194B588   EARNEST          ROBERTSON                OK     90013527019
6569366749184B   DEBRA J          LIMON                    OK     21087826674
6569439AA63646   AMADOR           SSALOS                   MO     90014183900
6569466498B168   DUAINE           MOORE                    UT     90011686649
6569468264B268   GARY             MOSLEY                   NE     27055236826
6569478625B241   JAMES            BROWN                    KY     90009857862
65694A7A191549   BRENDA           HERNANDEZ                TX     90013590701
6569555A691998   JULIO            LOPEZ                    NC     17036045506
65695A9314B27B   NICK             PAULSON                  NE     90015010931
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 468 of 2350


6569635A94B27B   ASHLEY       SHELBY                       IA     27044043509
6569695A276B58   TONI         ORTENZO                      CA     90006229502
6569717424B588   PAYGO        IVR ACTIVATION               OK     90012161742
65697764872B27   KENDRA       CHRISTENSEN                  CO     33059847648
6569816314B27B   ALLAN        LAWSON                       NE     27059631631
656981A948B185   KRISTEN      HARGREAVES                   UT     90001241094
6569851298166B   THE          THREAT                       MO     29014845129
6569889827B46B   PRISCILLA    MCVAY                        NC     90011758982
6569892385416B   EVA          OSBORNE                      OR     47079639238
65698A9A281644   ANNA         SILVA                        MO     90014670902
6569942A155977   JESSICA      ZAMORA                       CA     90009744201
6569B216155973   GEORGANNA    ALLEY                        CA     90004982161
6569B81735B531   MARIO        MENDOZA                      NM     36054988173
6569B963963646   JOHN         GLEASON                      MO     27557759639
6569BA53881644   EMILY        BERRIER                      MO     90014670538
656B157718166B   KATRINA      PARSONS                      MO     90001765771
656B2148655975   SANDRA       LOPEZ                        CA     90004521486
656B235AA91998   ISRAEL       CISNEROS                     NC     90012573500
656B2481955973   JESSICA      LOZA                         CA     90015154819
656B321755B921   ESTRELLA     MARTINEZ                     WA     90015612175
656B359995B235   RONNIKA      SULLIVAN                     KY     90002965999
656B3871681644   JOHN         DOE                          MO     29071568716
656B5846581644   EARL         VAILES                       MO     90010208465
656B737A355977   JOSHUA       HERNANDEZ                    CA     90012453703
656B7397491522   BLANCA       JUAREZ                       TX     90011743974
656B7687163646   KITCHEN      ERIC                         MO     90012386871
656B845417B46B   DARLIUS      HORTON                       NC     90011034541
656B8554672B36   MARIA        ADAME-CATALAN                CO     90005335546
656B8588191522   IVAN         LOPEZ                        TX     90014735881
656B86A613168B   EVA          NEELY                        KS     90009986061
656B9A1835416B   WILLIAMS     RHODES                       OR     90014540183
656BB797961961   ISIDRO       ALCARAZ                      CA     46014867979
65711A55A81644   ANNA         SIMPSON                      MO     90014710550
65711A68172B36   JORGE        QUINONES                     CO     90013750681
65712635A7B46B   CHERISEE     GENDREAN                     NC     90010766350
6571264263168B   KASANDRA     CLARK                        KS     90014466426
65712683A72B29   JORGE        GALVAN                       CO     33098066830
6571313794B268   DARLA        HALLGREN                     NE     90006941379
657136A575B235   TASIA        BROWN                        KY     90013326057
6571379727B362   DAVOUD       BAZID                        VA     81095927972
6571422827B46B   RICKA        FORNEY                       NC     90011052282
6571444884B27B   BILLIE       BARNETT                      NE     90007574488
6571531A95B241   WHITNEY      COX                          KY     90015523109
6571554845416B   NICHOLE      POULSON                      OR     90010055484
6571583A663646   THOMAS       COLLINS                      MO     90008928306
65715AA6372B29   CARL         KELLY                        CO     33048040063
65716A1A671976   JESSICA      AYALA                        CO     90012610106
65716A8957B46B   JAMILA       JONES                        SC     90007260895
6571777245B235   ZACKORY      JOHNSON                      KY     90013997724
65719744572B36   ALFONSO      GONZALEZ                     CO     33034747445
6571974774B27B   FREDDY       CISNEROS                     NE     27074147477
6571B635A7B46B   CHERISEE     GENDREAN                     NC     90010766350
6571B73A572B27   BERNARD      GARNER                       CO     90013137305
6571B767191522   CARDOZA      MAGDALENA                    TX     75013497671
6571BA17172B36   ASUZUCENA    ESTRADA                      CO     33065310171
6571BA37597B39   VICENTE      DURAN                        CO     90001640375
65721849172B29   GISELE       MCFARLAND                    CO     33064548491
657218A4491998   GENISE       INGRAM                       NC     90005418044
65722253772B43   THOMAS       MASON                        CO     33074602537
657223A6772B27   ARMANDO      HERNANDES                    CO     33081463067
65723A7A631453   MONUETTE     BURRELL                      MO     90013490706
6572414694B588   ANDREW       BASGALL                      OK     90013141469
65724581672B36   ZACHARY      SIDELL                       CO     33006635816
6572516A655975   VICTOR       MARTINEZ                     CA     90002821606
65726A36472B43   ARTURO       HUERTA                       CO     90014230364
6572845A55B235   JUSTIN       MORRIS                       KY     90000624505
657284A8651354   BRIANNA      PHILLIPS                     OH     90010274086
6572975168166B   JAHMANDA     DIXON                        MO     90011647516
65729A75A3B339   EDGAR        LOPEZ                        CO     33078270750
6572B346A9187B   ASBEL        FRAIRE                       OK     90008053460
6572B547A63646   CHANCE       COOPER                       MO     90014215470
6572B714391549   LUIS         CARDENAS                     TX     90003827143
6572BA1A491522   VICTOR       TREVINO                      TX     75095110104
6573124224B588   LINDSEY      CASTLE                       OK     90009082422
65731353587B31   TODD         FAULKNER                     AR     90014413535
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 469 of 2350


6573191A12B89B   STEPHEN       SLATER                      ID     90010459101
65731A99172B36   GLORIA        SILVA                       CO     33051150991
65734134972B43   ERIK          RAMOS                       CO     90012531349
6573528194B27B   ALEXANDREA    GALLET                      IA     27013882819
6573583A563648   RONALD        ALTEMUELLER                 MO     90008648305
6573584A85B531   LAWRENCE      HERNANDEZ                   NM     36082198408
65736576A55977   CASSANDRA     MALONE                      CA     49093105760
6573697675B531   MARTIN        LOYA                        NM     36019649767
65736A48561961   YVETTE        SMITH                       CA     90012840485
6573859A491522   CANDY         PEREZ                       TX     75080465904
6573B499472B36   RICARDO       VELLOZO                     CO     90007714994
6573BA51161961   ROB           LEE                         CA     46076680511
6573BAA2351354   JANET         STRONG                      OH     90010800023
6574119824B27B   STEVEN        KENDALL                     NE     27018161982
65741434A21731   KAYLI         CROUCH                      IL     90015324340
65741723372B27   MARLENE       MONTOYA                     CO     33041177233
65741749A5416B   CHAD          KERNUTT                     OR     90014627490
6574237A491525   CANDIDO       AGUILAR                     TX     75015863704
657426A957B46B   SANDRA        CALDWELL                    NC     90007736095
65742895A55977   JUVENAL       ZARAGOZA                    CA     90014348950
6574298655416B   CHELSI        KURZHAL                     OR     90005679865
6574311A65B386   DAVID         MCCOY                       OR     90010921106
65743481972B27   GEMA          ACOSTA                      CO     33042914819
6574394168166B   JULIO         OLGAZA                      KS     90013579416
6574426665B921   DAVID         ARIAS                       ID     90012352666
65744532A31651   MATT          SCOTT                       KS     90004185320
6574487A87B46B   KAMEKA        SHUFFORD                    NC     90010968708
6574514948B168   DERRICK       VIGIL                       UT     90006221494
65745254A91549   MICHAEL       BANKS                       TX     90014442540
6574619176B156   REGINA        HUGGINS                     MS     90015501917
657463A7672B27   SHAMEKA       DAVIS                       CO     33027363076
6574682A93168B   VERONICA      GOODEN                      KS     22033948209
6574726353168B   AMBER         SMITH                       KS     90014902635
65747669A7B46B   ANTHONY       ROSS                        NC     90005116690
65748198472B43   JANAE         MUNIZ                       CO     90013811984
6574864837B46B   MARIA         MATARAZZO                   NC     90010766483
6574918594B268   EKEOMA        EKEH                        NE     90000921859
6574926615416B   MORGAN        WILLIAMS                    OR     90014642661
65749A68272B29   BREEANNA      HERRERA                     CO     90012670682
6574B1A2591522   ELSA          SANCHEZ                     TX     90004571025
6574B211697B28   JAMES         CHAVEZ                      CO     90010892116
6574B327351354   MINDY         SHELTON                     KY     90014463273
6574B375751354   ERICA         MAHER                       OH     90011333757
6574B955287B31   JOHN          BARNES                      AR     28011109552
6575157774B221   EDWARD        STERLING                    NE     90013935777
6575181745416B   LINDSEY       NELSON                      OR     90014628174
65751A3165594B   EPIE          CARRERA                     CA     90011830316
6575224558B168   MONICA        GONZALEZ                    UT     90011842455
65752716A5B241   JOSEPH        HINTON                      KY     90015317160
6575297194B27B   MICHELLE      GOODWIN                     NE     90002869719
6575327925416B   RENE          WYNCOOP                     OR     90007072792
6575339552B274   FRANCES       LEHMAN                      DC     81023173955
65754562872B29   CARMELO       JARAMILLO                   CO     90007705628
6575498444B27B   ANDREA        LOPEZ                       NE     90008539844
6575589A361964   CYNTHIA       ROCHA                       CA     90008938903
6575633234B588   NICOLE        CONALLY                     OK     90003653323
6575692525B235   DANIEL        EWING                       KY     90012019252
65757997A2B959   DENISE        LARA                        CA     45028249970
65758234872B43   PATRICIA      LOKAKAO                     CO     90009332348
65758671372B36   FERNANDO      VALENCIANO                  CO     33092596713
657586A4661964   WASEEM        HABIB                       CA     46041016046
65759921972B27   JUAN          MURILLO                     CO     33069169219
65759A58425236   CHERYL        STATON                      NC     90010420584
6575B276455977   RANISHA       HARRIS                      CA     90012402764
6575B336891549   AMELIA        HENSON                      TX     90014903368
6575BA1525594B   EPIE          CARRERA                     CA     90011830152
6575BA8485B241   RICO          JOHNSON                     KY     68020100848
6576157AA61964   VANESSA       KSNYDER                     CA     90008205700
6576164458B163   RONI          MORATALLA                   UT     90001366445
6576254275B241   JONDREA       WRIGHT                      KY     90015185427
6576356A15B241   CHRISTOPHER   KERR                        KY     90014715601
6576429735594B   OSCAR         RAMIREZ                     CA     90011832973
65764426672B43   DAVIS         JACQUELINE                  CO     90002314266
657651A574B268   JOHNNY        MCCARTER                    NE     27054781057
6576543754B588   STACY         MORRIS                      OK     90010844375
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 470 of 2350


65765513A5416B   TOBY             HADDOCK                  OR     47067845130
6576587785B235   ABIGAYALE        HAWKINS                  KY     90014128778
6576591364B293   RYAN             RUSSELL                  NE     90001079136
65765A64574B58   TIM              DAVIS                    OH     90012990645
657663A675B235   RYAN             JONES                    KY     90014153067
6576715575B235   DIANA            NELSON                   KY     90013821557
65767518A55973   JAMIE            DELGADO                  CA     90012775180
65768172172B43   PA               YON                      CO     33098591721
6576852217B46B   CORDERO          TOBIAS                   NC     90014965221
657688A435B235   ROBERT           JUDSON                   KY     90005718043
6576898264B588   RODRIGO          AGUILAR                  OK     90014549826
6576937A172B36   LAZARO           SANDOVAL                 CO     33051133701
6576938265B241   AMBER            GARDNER                  KY     90014703826
657695AA54B588   MICHAEL          JOHNSON                  OK     90013015005
6576967535B241   TAMEKA           ALEXANDER                KY     90014686753
65769AA8691549   STEVE            SOTO                     TX     90010950086
6576B47194B268   MARY             SWEDENSKY                IA     90010824719
6576B826591522   EDGAR            MARRERO                  TX     75061148265
6577117878166B   LISA             HILL                     MO     90011611787
6577177165416B   EVARISTO         RUIZ                     OR     47059777716
65772788472B36   ANGELICA         SILVA                    CO     33074447884
65773A96991549   APRIL            RAMIREZ                  TX     90013590969
657742A5372B43   ROBERTO          LOPEZ                    CO     90013082053
6577453963B374   ERICA            BERG                     CO     33029735396
6577454785416B   PABLO            MARTINEZ                 OR     90011245478
6577489185416B   MARY             BAXTER                   OR     90014628918
65774A24191522   EUTIMIO          NUEVO                    TX     90011750241
65775139A7B46B   ERIKA            ORTEGA                   NC     90005221390
6577541995416B   DIANE            WIRFS                    OR     47029514199
6577542947B445   ANTHONY          GIBBS                    NC     90008314294
6577619712B828   TABITHA          W-CAMPBELL               ID     90013981971
657768AAA55973   EVALYNA          FRANCO                   CA     90007728000
6577761715B241   KENNY            PRICE                    KY     90010706171
65777AA8491522   IRVIN            LOYA                     TX     90008840084
65778364A55973   MARIA            CHOLICO                  CA     90012893640
65778558972B43   ANDRES           LUCERO                   CO     33011035589
657792A685416B   TIA MARIE        TRAVIS                   OR     90002612068
6577942674B27B   CHRIS            NICHOLSON                NE     27095314267
657796A5572B43   LAYAH            JARMAN                   CO     90015286055
65779A27955975   SANDY            BROWN                    CA     90010750279
6577B524972B27   ERICA            CRUZ                     CO     90006845249
6577B812A33698   MERETTA          DUKES                    NC     90009838120
6578121A555973   GUSTAVO          GUERRERO                 CA     90011902105
6578122274B588   LACIE            ADAME                    OK     21554012227
6578379A384392   DEBBIE           FRAZISER                 SC     19025267903
65784452872B36   SAMUEL           ORTIZ                    CO     33009874528
65787283772B27   JENNIFER         HAYSLETT                 CO     33057992837
65788A78661961   JESUS            ORTIGOZA                 CA     90011910786
6578B254581644   KANDIS           BOLIN                    MO     90014672545
6578B567872B43   SERGIO           GONZALES                 CO     90012325678
6578B962991549   NORMA            ANILES                   NM     75004509629
6578B98175B241   STEPHANIE        POLLARD                  KY     90011449817
6579149A74B588   LAKRYRA          STEWARD                  OK     90014704907
6579173954B27B   JOSE             AGUILAR                  NE     27072177395
6579249445416B   APRIL            BOREN                    OR     90010894944
65792734A2B828   TERI             HUNTER                   ID     90001077340
657927AA78166B   RONNESHA         SMITH                    MO     29041997007
6579391868B168   SABRINA          FAVELA                   UT     90001269186
65793A8A361966   GUADALUPE        DE GARCIA                CA     90008990803
6579473A591522   JORGE            OCHOA                    TX     90014737305
65794942872B27   JOSE             TOVAR                    CO     90006229428
6579521445B241   JOSE             GONZALEZ                 KY     90007302144
6579534A972B36   MICHELLE         SPRAITZ                  CO     90013213409
65795557772B43   RENARD           EUELL                    CO     90002565577
65796985A5416B   KIMBERLY         CLARK                    OR     90014629850
657972A3472B43   GLOVER           GERALD GLOVER            CO     90011392034
65797879972B29   BRANDO           CALDERA                  CO     90009388799
657979A8155975   VILIULFO         MORA                     CA     90013939081
65798323472B36   TONASHALEY       COBOS                    CO     33016203234
6579929973168B   MARISHA          PARKER                   KS     90015152997
65799483772B36   JUAN             BOTELLO-CASTRUITA        CO     33097144837
6579B72245B235   LEKESHA          RICHARDSON               KY     90008937224
6579BAA4791522   SANDRA MARCELA   PEREZ                    TX     90013460047
657B111314B588   CALISTA          HULLETT                  OK     90011211131
657B124A25416B   GLADYS           GREEN                    OR     90014832402
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 471 of 2350


657B1582591522   OSCAR        SOLIS CHAVEZ                 NM     75058155825
657B1A46781651   TOM          PACE                         MO     90015250467
657B2462491549   ESTHER       ARCHULETA                    TX     75005144624
657B2572972B43   JORGE        DE LOS SANTO                 CO     90006235729
657B2637955973   MARIA        KECK                         CA     90006586379
657B29A5361961   SIOELI M     UHILA JR                     CA     90003479053
657B3869761961   NANCY        VASQUEZ                      CA     90014168697
657B4127472B36   MARIA        GUADALUPE                    CO     90014521274
657B4A63872B27   MELISSA      MATHENA                      CO     90011140638
657B5782172B29   PABLO        LAMAS                        CO     90013037821
657B5A8737B653   BYRON        BRASSELL                     GA     15092480873
657B6123472B29   MELODY       HILLEMANN                    CO     90002491234
657B612A255975   VICTORIA     RODRIGUEZ                    CA     90014571202
657B6257991522   EVA          URANGA                       TX     90008932579
657B6263655973   ELDON        PACE                         CA     90006262636
657B6475A51354   KAREN        MIRANDA                      OH     66003474750
657B674495416B   VERONICA     CAMPBELL                     OR     90001627449
657B6944961961   VICKY        FISHER                       CA     46021019449
657B777334B588   LEE          COCKREAM                     OK     21598447733
657B7815472B27   MICHAEL      WHITNEY                      CO     90013308154
657B827265B55B   JOHN         BIRNER                       NM     90005192726
657B849A655975   MARIA        CHAVEZ                       CA     90014824906
657B9343972B43   REBECCA      MUNIZ                        CO     33001993439
657B953484B588   SHERRIE      NEAL                         OK     21547125348
657B9A38691522   MARTINA      CHAPARRO                     TX     90000390386
657B9A58191549   JANET        SALAZAR                      TX     75009590581
657BB17278B168   TRICIA       MAYO                         UT     90010971727
657BB22A15594B   MARIA        ARAUJO                       CA     90011822201
657BB77A34B588   LATRECE      POLK                         OK     90014817703
65811986172B27   ERNESTO      VARGAS                       CO     90001149861
65811A3125416B   DAVID        ISAACSON                     OR     47090370312
65812349A61936   ANGEL        PONCE                        CA     46016623490
65812543472B36   DORIS        KNIGHT                       CO     33072665434
658135AA24B588   CRYSTAL      STOUT                        OK     90014705002
65813A31772B43   MAUREEN      FULMER                       CO     90012400317
65815212172B36   JONATHAN     WHITE                        CO     33064042121
6581583415B235   ANTIONETTE   DAWSON                       KY     90008348341
6581611A725236   BRANDON      SANDERS                      NC     90015441107
6581616574B27B   DANA         BOSILJEVAC                   NE     27064531657
65816298A33698   ERICA        CAESAER                      NC     90009332980
6581633AA55975   ALEX         PEREZ                        CA     90013943300
65816796524B7B   YOLANDA      SANCHEZ                      VA     90001467965
6581746257B46B   ANTHONY      ADAMS JR                     NC     90007434625
658177A7A72B27   ROBERT       LEE                          CO     33014187070
6581829944B27B   CHELSEA      RABLIN                       IA     90012302994
65818433172B29   MARGARITA    CASTANEDA                    CO     33057954331
6581898492B23B   ANNIE        THOMPSON                     DC     90013659849
65818A69451354   RICHARD      LAWSON                       OH     66020910694
65818AA4291998   FLORENCE     WHALEY                       NC     17043700042
6581996387B46B   TIFFANY      SLOAN                        NC     11080339638
6581B15494B27B   DATISIA      DAY                          NE     90012721549
6581B236672B27   AARON        VIEYRA SUAREZ                CO     90012022366
6582264A755975   RENEE        EDGAR                        CA     90013116407
6582344545B235   PEDRO        HERNANDEZ                    KY     90010254454
6582353894B588   TRAVIS       SMITH                        OK     90013785389
6582399225B241   JAMES        MADORS                       KY     90010579922
658249AA27B46B   CHRIS        PRUDE                        NC     90008079002
65824A9A98B168   KIMBERLY     SCOTT                        UT     90004080909
65825525272B27   BARBORA      PARKER                       CO     90003585252
6582562A22B893   PAM          HARPER                       ID     90012736202
65826346472B29   MICHELE      GRIGGS                       CO     33016553464
6582649A191535   OLGA         RODRIGUEZ                    TX     90001334901
6582714235594B   AGUSTIN      IBARRA                       CA     90012911423
65827462572B27   ROSI         ZACEVISH                     CO     33048274625
6582765664B588   DONNA        JAMESON                      OK     90007336566
658281A1855973   MONTY        PAINTER                      CA     90013581018
65828633A91998   THU          NGUYEN                       NC     90014476330
6582883A657142   JOSE         ANDASOL                      VA     90008888306
65828A21A55973   ENRIQUE      CASTORENA                    CA     90006670210
658292A5191522   RAMONA       CASTRO                       TX     90011752051
6582947568B137   ALEXANDER    ARMSTRONG                    UT     90013354756
6582952625B241   BETTY        TARRANCE                     KY     68080845262
6582956764B588   KATHERI      TOWE                         OK     90013685676
658297AA97B46B   JUAN         JOVEL                        NC     11075587009
65829933772B29   CARLA        ALVAREZ                      CO     90012289337
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 472 of 2350


65829A11472B36   ELIZABETH     BALD                        CO     90012960114
6582B127472B36   MARIA         GUADALUPE                   CO     90014521274
6582B139251354   TALAYNA       GLOVER                      OH     66097781392
6582B187755973   RAMON         FORES                       CA     90014561877
6582B59465B531   ERIKA         BALDERAS GUTIERREZ          NM     36063305946
6582B911991522   CHAPARRO      JOSE                        TX     90007489119
6583111115416B   JEREMY        SCHRADER                    OR     90006161111
65831A41791549   JOSE          CEBALLOS                    TX     75094360417
65831AA1A7B46B   LYNN          SIBBY                       NC     11053910010
65831AA514B588   DEANNA        MONTOYA                     OK     21562360051
6583222995B531   ELIANA        MOLINA                      NM     36094302299
658322A9655973   RIGOBERTO     MARTINEZ                    CA     90009562096
6583328135B531   GERARDO       TORRES-MURILLO              NM     36055162813
65833AA514B588   DEANNA        MONTOYA                     OK     21562360051
65834818A5B241   EMILY         CAREY                       KY     90014858180
6583497355594B   JUVENAL       GALVAN                      CA     90001569735
65834A26191549   TORRES        CORDOVA                     TX     90007930261
65834A87455973   LYNETTA       BILYK                       CA     90014530874
6583594648166B   GLORIA        MASTERSON                   MO     29040889464
6583679A581644   AUDREY        HENRY                       MO     90014677905
658375A478166B   CIERRA        MORRIS                      MO     90014235047
65837665572B27   ROSA          HERNANDEZ                   CO     33035526655
6583781A555969   CELESTE       DIAZ                        CA     90013888105
6583819713168B   RAUL          REYES                       KS     90013071971
65838218A55975   JOE           GARCIA                      CA     48011022180
65838798A7B46B   NIA           TIMMONS                     NC     90011577980
658388A665594B   ISAIAS        SILVERIO                    CA     90009238066
65839327A91998   ALMA          CARRINGTON                  NC     90012103270
65839671A5B241   LEROYA        JOHNSON                     KY     90008956710
65839991272B43   ERIC          CRESVISTON                  CO     90002729912
6583B24A25416B   GLADYS        GREEN                       OR     90014832402
6583B352855973   ERMA          ESTRADA                     CA     90014703528
6583B386191549   ESPERANZA     VALDIVIEZO                  TX     75072743861
6583B733225236   JULIÁN        RAMÍREZ                     NC     90015047332
6583B81235B241   CAMILLE       CRAFT                       KY     90014858123
6583B84115B235   KAREN         DUNN                        KY     68040458411
6583BA5237B13B   TIFFANY       DOWNING                     ND     90014890523
6583BAA5761961   VERONICA      BIZUELA                     CA     90014710057
658411A1663646   SARABIA       LOPEZ                       MO     90009911016
6584127874B562   LILLIAN       WATKINS                     OK     90007992787
6584165245594B   JONATHAN      FRAUSTO                     CA     90006866524
65841824A61964   MARYELLEN     REYES                       CA     90013788240
65842553A4B27B   MARCO         CARDONA                     NE     90007985530
65842567472B29   PAULA         CISNEROS                    CO     90011705674
65842A93855973   ERIC          MARTINEZ                    CA     90013960938
6584332AA55973   EDNA          HANSEN                      CA     48020523200
65843642172B29   JOSE          HERNANDEZ                   CO     33075296421
6584366A255975   MARIE         BALES                       CA     90012886602
65843A63663646   PIERA         COOPER                      MO     90014640636
6584455435B235   LUCKOSONDO    SYLLA                       KY     90014355543
65844813A4B547   TIANDRA       YOUNG                       OK     90014168130
65844832672B27   LORRETTA      LANSING                     CO     33028008326
6584532298B168   MARYANN       LAWRENCE                    UT     90001783229
65845368772B27   JOSEPHINE     GALLEGOS                    CO     90006043687
658453A455416B   RHIANNON      PELROY                      OR     47070513045
658455A5691998   RANDI         STALLINGS                   NC     90011525056
6584575874B588   PRESILLA      MARTINEZ                    OK     90007377587
6584581385594B   ERICK         CASIANO                     CA     90009238138
65846418372B29   LUCIA         SELL                        CO     90013804183
65847A5957B475   ROSALVA       SILVERIO                    NC     90013730595
6584828715416B   CHRISTINE     STRINE                      OR     90014632871
65848434A91549   JANET         FRANCO                      TX     90013864340
65848AA9261961   ROSARIO       OLIVAS                      CA     90014710092
65849823172B49   ANGELA        CASTANEDA                   CO     33096598231
6584B55178166B   CASSANDRA     ELDER                       MO     29042765517
6585176768166B   ANGELA        TOSKA                       MO     29090627676
65852219A72B27   LUCIA         ARIAS                       CO     90011512190
6585228715416B   CHRISTINE     STRINE                      OR     90014632871
6585294468B168   MATEI         MAKA                        UT     90013129446
6585322AA72B27   ERNESTO       MARIN                       CO     90011512200
65853365472B36   PIOTR         WASIAK                      CO     33078993654
6585339754B588   MARVEL        HUDSON                      OK     90007133975
65854A81372B29   YINTIATZIRI   MONTESINOS                  CO     90012440813
6585516A172B36   IESHIA        MILLER                      CO     90014241601
6585522498B168   BRANDY        VIA                         UT     90014212249
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 473 of 2350


65855A1A361961   GABRIELA ROBLES   ROMANO                  CA     90014710103
65856864672B93   CLAUDIA           PEDROZA-MOCTEZUMA       CO     90010498646
65857438A61924   JUANITA E         QUEVEDO                 CA     90011514380
65858323372B27   LUIS              GONZALEZ                CO     33019383233
658598A9872B29   HECTOR            JIMENEZ                 CO     90013858098
6585B952525236   SAM               WOLF                    NC     90003089525
6585BA8745B241   LATRICE           THOMAS                  KY     90015170874
6586152755416B   JASON             WELCH                   OR     90008875275
65861621A3168B   VALERIE           CHENEY                  KS     90004646210
6586219A972B27   MICHELLE          MONDRAGON               CO     90012191909
6586247975B235   LATONYA           ANTHONY                 KY     68000114797
6586269A172B29   JOSE              RAMIREZ                 CO     90013036901
65862794A91998   LINDA             PERRY                   NC     90000637940
65862852A4B588   CHRIS             HAMILTON                OK     90015058520
65863A17825236   KIMBERLY          WHITAKER                NC     90009070178
65863A1A361961   GABRIELA ROBLES   ROMANO                  CA     90014710103
6586418338166B   ARMOND            PURNELL                 MO     90012501833
65865377A72B29   SANTIAGO          VIRGEN                  CO     90015313770
658659A6A8B186   JAMES             WATERBURY               UT     31015269060
6586699595B241   AMANDA            HERNANDEZ               KY     68022569959
6586739735594B   JOSE              DE LEON                 CA     90011843973
6586785A191923   ANTONIO           BENITEZ                 NC     90010998501
6586837827B46B   NOE               ACOSTA                  NC     90015133782
6586879728166B   LUIS              RIVERA                  MO     90004237972
65868A5A491549   MARTHA            HERNANDEZ               TX     75010020504
65869196A91998   RONNIE            MARSHALL                NC     90013271960
6586983267B46B   REBECCA           ALEXANDER               NC     90015318326
6586991694B588   RAECHEL           TAHDOOAHNIPPAH          OK     90007549169
658699A7961961   CHRIS             JENNEN                  CA     90014169079
6586B13A43168B   JAMIE             GOODWIN                 KS     22062131304
6586B671955975   BLANCA            ANDRADE                 CA     90013946719
6586B793291522   MARY              GONZALES                TX     90010357932
6586B81675B921   GABINO            GOMEZ                   WA     90015528167
6586B899761961   GARY HUGH         CURTIZ                  CA     90014168997
6587115465B235   RAQUEL            LOCKETT                 KY     90005821546
6587143233B35B   STACY             SWANSON                 CO     90013074323
65872364672B27   JOSIE             ACOSTA                  CO     90013573646
6587295A291549   ELIABETH          GIRARD                  TX     75042809502
6587334914B588   RUDY              BARRIOS                 OK     21525013491
6587379935B55B   WALTER            MEANS                   NM     90007667993
65873A93591998   MEHARE            TETSBEHA                NC     90004220935
65874A26791522   LEONEL            DE LA CRUZ              TX     90011000267
6587519AA25236   BRITTANY          CROOKS                  NC     90014601900
65875675A4B27B   TERE              LEA                     NE     90003496750
65875A5885416B   TAMMY             MUNOZ                   OR     90002990588
6587647865B235   JOHN              KENNELL                 KY     90010214786
65876523272B36   KERRY             LUDWIG                  CO     90004105232
6587655A681644   MARCELLA          GOLDSMITH               MO     29062915506
65876943972B27   JUDITH            LOPEZ                   CO     90010919439
6587738865416B   COREY             DAVIDSON                OR     90014643886
6587743285B235   TARISHA           CALVIN                  KY     68051884328
658775A863168B   SHAUN             MCDOWELL                KS     90013265086
65877897772B27   LINDA             BAILEY                  CO     90008158977
65877A74872B29   JOSEPH            CARRASCO                CO     90014600748
6587861764B27B   LISA              BILLMAN                 NE     27043016176
6587B18984B268   KATHERIN          WALKER                  NE     90004721898
6587B895A55977   JUVENAL           ZARAGOZA                CA     90014348950
6587B972655975   LUISA             ANDREWS                 CA     90012779726
6587BA3594B27B   TIFFANY           COPPAGE                 NE     27098470359
6588151828166B   YONTIUS           JOHNNEY                 MO     90005635182
6588179255594B   PENNY             LAMB                    CA     48052247925
6588212357B653   TAKEISHA          CARRUTH                 GA     90010821235
658829A9941257   LORA              HODDER                  PA     90008439099
658836A8855973   HORACIO           VELASCO                 CA     48035466088
658846AA125236   KATINA            WINSTEAD                NC     90014696001
6588484275B235   DONNA             BELL                    KY     68009908427
65884A26791522   LEONEL            DE LA CRUZ              TX     90011000267
65884A39261936   JOHN              FASON                   CA     90008780392
6588556585416B   TERRY             MARMON                  OR     90010395658
6588583825594B   VATALINA          PEREZ                   CA     90011038382
6588588375416B   TERRY             MARMON                  OR     90013448837
65885919872B29   NICOLE            GOMEZ                   CO     33062969198
65886266972B29   LISA              VANDERHEIDEN            CO     90009232669
65886A7354B588   IVETTE            BORGOS                  OK     21575720735
6588738A161961   NUIANZA           MUNFORA                 CA     90007723801
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 474 of 2350


6588776185416B   ROBERT III     HOWELL                     OR     90004337618
65887782672B29   LIZBETH        GUTIERREZ                  CO     33044427826
65887A7193619B   DEAN           BOGGAN                     TX     90014060719
658881A5861964   BEATRIZ        BOBODILLA                  CA     46017051058
6588938A191522   DANIEL         HERNANDEZ                  TX     75088093801
65889A4217B46B   MILDRED        LOPEZ                      NC     90012160421
6588B413955975   NATALIE        ROBLES                     CA     90007844139
6588B885921928   PAYGO          IVR ACTIVATION             IN     90012258859
6588BA14184392   SHALMAN        HOLMES                     SC     19017780141
65893385A72B36   EDWARD         SCOTT                      CO     33034803850
6589378362B89B   HAILEY         WILSON                     ID     90014897836
6589386553168B   ROSA           DOZAL                      KS     22092478655
65893A52A51354   RICHRD         INGLE                      OH     66012150520
6589488615416B   AMELIA         ROMERO                     OR     90014628861
65894A95855975   ANTHONY        SOTO                       CA     48046040958
65895487972B27   ANNA           ZHURAVLEV                  CO     33092524879
6589552165416B   ARIANA         TOWNSEND                   OR     90014645216
65895696A61961   JOSE ALBERTO   PEREZ ROJAS                CA     90010956960
65895745A51354   COURTNEY       JONES                      OH     90007517450
6589616274B588   PATRICIA       CRANFIELD                  OK     90014231627
65896A56391265   MICHAEL        MASON                      GA     90002830563
65897393972B27   LUKE           H                          CO     90012493939
65897544372B29   LIONEL         MEREDITH                   CO     33082295443
658976A764B588   JACOB          JACKSON                    OK     90010956076
658976A8172B43   DARYL          BOOKER                     CO     90007526081
6589834A15B241   CHRIS          FILIGGI                    KY     68053133401
6589837A44B588   BERTHA         PELAYO                     OK     90001523704
65898568A8B168   WHITNEY SAGE   CAVALLI                    UT     90014315680
6589927A391552   ANGEL          LUJAN                      TX     75018192703
6589935A95B235   NELSON         TOMAS                      KY     90014513509
658993A8891549   GERARDO        MUNOZ                      TX     90014903088
6589978A261964   TERESA         HERNANDEZ                  CA     46043837802
658997A1291522   LETICIA        CASAREZ                    TX     90001267012
658998A1381644   CORNELIUS      CAREY                      MO     90011698013
658998A9A5416B   MATT           HINKLE                     OR     90014728090
6589B1A925594B   JOANNA         AVALOS                     CA     90005301092
6589BA43425236   RAYMOND        BEARD                      NC     90010660434
6589BA73572B27   JESUS          JOHNSON                    CO     90005710735
658B131A472B43   ARTURO         SALAS                      CO     33030273104
658B141323168B   KEVIN          GOURLEY                    KS     90010374132
658B19AA891549   ABRIL          GARCIA                     TX     90002409008
658B2146191549   LUIS JR        MARTINEZ                   TX     90003471461
658B2724A31422   RON            ANDERSON                   MO     90001137240
658B2767591522   TORRES         LOPEZ                      TX     75034727675
658B285685594B   ANAKAREN       DUARTE                     CA     90012198568
658B357715B241   BETH           CROMER                     KY     90011065771
658B3967472B36   LAURA          RAMIREZ                    CO     90015129674
658B3A96172B36   CESAR          ORTIZ                      CO     33041860961
658B3A9884B588   CLIFFTON       ALLEN                      OK     21514880988
658B444AA55975   ELENA          DIAZ                       CA     90014494400
658B45A4561964   JASMINE        LEYVA                      CA     90010845045
658B4613261964   MAYRA          LOPEZ                      CA     90012486132
658B485155134B   EMANNEL        COSTON                     OH     66040638515
658B4A62991522   ANDY           CABALLERO                  TX     90006100629
658B5435825236   URI            OROZCO                     NC     90014154358
658B5466155975   KATHLEEN       FINDLEY                    CA     48092084661
658B6721281644   ALISHA         MILLER                     MO     90014677212
658B6989663646   DUNYA          BRYANT                     MO     90015379896
658B69A4561964   CARLA          PARRA                      CA     90014769045
658B729537B46B   KRSTON         SLOAN                      NC     90002652953
658B7689251354   MARISSA        HABLUTZEL                  OH     90014906892
658B7866461961   CARLOS         RODRIGUEZ                  CA     90009838664
658B82A5172B43   KATHLEEN       ARMENTA                    CO     33009042051
658B832685B235   JASMINE        MURPHY                     KY     90014873268
658B8614751354   ERNESTINE      CALDWELL                   OH     90013836147
658B883A672B27   ALISHA         GARRETT                    CO     90014288306
658B935645B921   JASON          MCGREGOR                   WA     90015473564
658B9545A91522   FELIX          ZIUSU                      TX     90003155450
658BB993272B27   TRAVIS         VALENTINE                  CO     90011249932
6591133418B168   MARIA          VAZQUEZ                    UT     90012083341
6591312687B365   CHARLIE        FORBES                     VA     90001461268
6591388178166B   KAMMIE         SALINAS                    MO     90010688817
659138A275B235   JEFFERY        FLANIGAN                   KY     90012298027
6591617AA4B588   CHARLES        BERTRAND                   OK     90014081700
65918571472B27   WILL           BELL                       CO     90004885714
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 475 of 2350


65918753972B29   NATALIE      MARTINEZ                     CO     90005467539
65919187272B36   STACI        JACOBS                       CO     90011221872
6591935A95B235   NELSON       TOMAS                        KY     90014513509
659193A2261961   SARA         ESPERANZA                    CA     90013843022
6591941A891522   RHEA         HORNBACK                     TX     90012804108
65919A7449182B   MARIA        LUEVANO                      OK     90013750744
6591B257791522   AILED        MACIAS                       TX     90013642577
6591B296463622   SHERRY       SPARKS                       MO     90012072964
6592114A155973   ISRAEL       GOMEZ                        CA     90010921401
65921999A5594B   MARISOL      SALDANA                      CA     90011859990
65922864A5B235   JHERELL      WHITE                        KY     90015148640
6592291755B241   RACHEL       SEGNOU                       KY     90003709175
6592296A355975   RIGOBERTO    MORA                         CA     90013949603
65922A36991549   CLAUDIA      DILL                         TX     75038690369
659233A7A4B27B   JEFF         COLLINS                      NE     90014293070
65924A56855975   NOEMI        VILLAPUDUA                   CA     90013950568
65925167972B43   KARINA       PLATA                        CO     90007761679
6592525A58B168   JAMES        CARTER                       UT     90009492505
65925424A54124   KELI         UPSHAW                       OR     90012294240
65925A61363646   MICHAEL      ENKE                         MO     90015430613
6592623755594B   HUGO         RUELAS                       CA     90012982375
6592691754B588   WILLMA       DUPREE                       OK     90007769175
6592698838166B   JULIO        BARDET                       MO     90011329883
65926A83161974   SIXTO        SANCHEZ                      CA     90010690831
6592713664B588   ESTEFANA     LOPEZ                        OK     90008371366
6592743A787B31   MARTHA       MANCILLA                     AR     28037424307
65927569A57131   CHRISTIAN    AMAYA                        VA     90014015690
6592774A572B36   ROBIN        HITTIE                       CO     90012487405
6592781195B235   ROSIE        ASHFORD                      KY     90010458119
6592793912B922   MARIELA      LOPEZ                        CA     90012139391
659285A655B235   KATI         JONES                        KY     68062415065
65928A71755975   FLORENCIO    JERONIMO                     CA     90013950717
6592923415594B   BEN          MAROLEJO                     CA     90011292341
65929546A97B57   JESSICA      CERVANTES                    CO     90008365460
6592B837772B29   KENNETH      MEFFORD                      CO     33091258377
6592B846263646   FOREST       HENRY                        MO     90014668462
65931461872B29   MIBOBE       BOMBOMI                      CO     33001214618
6593176AA61964   BAYLEE       WOODARD                      CA     90002797600
65931A3435416B   JESSICA      WILSON                       OR     90011260343
6593225235B241   ROBERT       LOONEY                       KY     90013932523
6593238148B168   KATRINA      REYNOSO                      UT     31094753814
659328A245B235   TYSHAWN      CRAIG                        KY     90014648024
65933A51225236   ALQUAN       EVANS                        NC     90015040512
6593431443168B   SHANNON      SIMONIN                      KS     90008903144
6593441538B168   TREVER       KNOWLDEN                     UT     90009224153
6593482698434B   ANGELA       TAYLOR                       SC     90002318269
65934895A55977   JUVENAL      ZARAGOZA                     CA     90014348950
6593492685B531   JUAN         MARRERO                      NM     90000569268
65934A88133698   LISHA        THOMPSON                     NC     12056220881
6593514A97B761   CINDY        SCHILLING                    CA     90015261409
6593577564B588   CATINA       BRAY                         OK     90012017756
65935858572B27   JILL         REMIGIO                      CO     90004118585
6593588415B235   RENE         VOLTZ                        KY     90010128841
65935A26361961   CHARLES      REED                         CA     90012640263
6593613A68B168   CHRIS        BAIRD                        UT     31040581306
6593641AA91998   MONICA       HERNANDEZ                    NC     90006654100
65936A58977338   DARLA        MCGEE                        IL     90000280589
659376A7881644   ROCKISHA N   STUART                       MO     29008236078
6593B181991522   DAMARIS      TOVAR                        TX     75021391819
6593B664772B29   DEBORAH      KING                         CO     33098696647
6593BA76455975   JESUS        COVIAN                       CA     90005780764
6594142664B588   BRITTNEY     GRIFFIN                      OK     90014074266
659418A4955973   ERIC         BALTAZAR                     CA     90004458049
65941A2435B235   JULIE        MINK                         KY     90014750243
65941A51772B27   GONZALO      ESCARENA-DURAN               CO     33092070517
6594214235416B   FRANCIS      LOCKHART                     OR     90011261423
6594373585B241   JOSEPH       MCQUILLAN                    KY     90014867358
65943A94A4B27B   RODOLFO      AVILA                        NE     90009310940
659441A8A55973   SALVADOR     BUSTOS                       CA     90006771080
6594476215B235   TIFFFANY     GRIMES                       KY     68091027621
6594525124B588   DEE          MULLENS                      OK     90013452512
6594632635B235   H AND K      ENTERPRICES                  KY     90004743263
6594654558B168   CAMPBELL     DALE                         UT     90012935455
65946756A81644   GERRY        OVERCASH                     MO     90014697560
6594797118B168   ASHLEY       BUMPERS                      UT     90011659711
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 476 of 2350


6594928925B531   DENNIS       RIVERA                       NM     90012332892
65949432A7B46B   SHIQUITA     MOORE                        NC     11072204320
6594947A491522   MARIA        CASILLAS                     TX     90011754704
65949737172B29   CHRISTIAN    AHEARN                       CO     33068647371
659498A1354124   LUCIO        MARTINEZ VASQUEZ             OR     90007198013
65949A1635594B   ROSELINE     FLORIS                       CA     90007020163
65949A74951354   WILLIAM      BATAN                        OH     90006330749
659526A594B588   ROBERT       WILLIAMS                     OK     21586476059
65952A3685594B   MARIA        ROCHA                        CA     90010680368
65953A32487B31   KIMBERLY     PUGH                         AR     28010690324
659541A1761961   SONIA        AHUMADA                      CA     90007371017
65954333372B29   BENJAMIN     RICE                         CO     33074483333
6595527578B168   COLBY        KAP                          UT     90007732757
659559A9772B43   FAYE         COX                          CO     90000709097
659562A5951354   AISHA        JOHNSON                      OH     66063062059
6595788AA63646   SHAWN        ABBASS                       MO     90014688800
6595825575594B   JOVITA       IZAZAGA                      CA     90007022557
6595986A34B27B   SALAT        MUSA                         NE     90014858603
659598A8261964   JAMIE        WOOD                         CA     90010438082
6595B8A5754124   ESTELA       BEVANS                       OR     90007198057
6595B9A9A5594B   APOLINAR     OLIVE                        CA     90011869090
659616A3672B27   WILSON       BRENDA                       CO     90011106036
6596212225B237   MILTON       MADDOX                       KY     68094861222
65962423772B43   ANDREW       FEARHEILEG                   CO     90010624237
6596242585B235   JAMES        JOHNSON                      KY     68047854258
6596334417B46B   SATONA       WALLACE                      NC     90014343441
65963547772B29   YENNY        QUIJADA                      CO     33018215477
65964174172B27   DOROTHEA     SCARSELLA                    CO     33035721741
65964557A91923   ADRIAN       LINDSAY                      NC     90003505570
6596456225B241   TAMMY        BLANFORD                     KY     90014715622
6596514465B235   BILLIE       SCHWEITZER                   KY     68038411446
65965893A63646   JOSHUA       POSTL                        MO     90007198930
6596645815B235   MELISSA      BEATTY                       KY     68014554581
65966547272B43   ALBA         CALDERON                     CO     90012285472
6596679495B241   JOSEPH       SPAULDING                    KY     90013837949
65967724572B27   GARY         GORDON                       CO     90015167245
6596797744B268   SHARON       VALEZ                        NE     90003369774
6596813AA8166B   BILL         PAYNE                        MO     29072381300
659684A7791549   MALUISA      CISNEROS                     TX     75081214077
65968898172B36   CANDY        REYNOLDS                     CO     33067238981
6596893215B531   GABRIELA     PUEBLA MONTES                NM     36054179321
65969148872B43   SAVINA       HERRERA                      CO     90012031488
65969354A55973   HILDA        VILLA                        CA     90011753540
6596943925B235   DANA         GUZMAN                       KY     68081314392
65969A92881644   DAVID        LANG                         MO     90015220928
6596B65997B329   JOSE         ZELAYA                       VA     81043076599
6596BA5A184392   SHELIA       LAVAL                        SC     19040030501
6596BA6A772B43   BEAU         PIPE                         CO     90014360607
6597199A863646   WANDA        GAITHER                      MO     90015419908
6597272915B235   ROSHONDRA    MCNEAL                       KY     90014897291
6597284A97B46B   CHRISTY      HILL                         NC     90007428409
65972956172B27   ERIK         ARELLANO                     CO     90004809561
65972A7174B27B   AVERY        HOPKINS                      NE     90013370717
6597376934B588   SHANNON      WARLEDO                      OK     21511017693
6597454538166B   PAMELA       NICKERSON                    MO     29036855453
65975759172B29   ANDREW J     EASTMAN                      CO     90004037591
6597575AA72B27   EVA          RUBY                         CO     90013687500
6597593484B27B   BERNADETTE   WALKER                       IA     90011149348
65976499272B29   RAQUEL       GUEVARA                      CO     90009114992
659772AA351354   FERMIN       RAMIREZ                      OH     90007592003
6597764A272B27   LAUREN       LEYBA                        CO     90008596402
65977883772B43   MARIA        VALLES                       CO     90013798837
65977A7A133698   LAURA        OGLE                         NC     90006090701
6597837513168B   ANNIE        BROOKS                       KS     22094533751
659793A6755975   PATRICIA     ANDRADE                      CA     48072673067
6597961A855973   COSME        PIZANO                       CA     48068006108
65979A1455B127   LARRY        LACAUSE                      AR     90009090145
6597B888191549   REBECA       CALDERON                     TX     90010728881
6597B895555973   MARIA        BELLE                        CA     90014908955
6597B94398166B   JOHNNY       BOWMAN                       MO     29014399439
6597B98454B588   MICHELLE     MOUTON                       OK     90011429845
6598111AA5416B   WANDA        TRYON                        OR     47049141100
6598181843B394   FELIPE       MARTINEZ                     CO     90001788184
6598349118B168   EARNESTINE   STEWARD                      UT     31078504911
6598383625B235   KAYLA        MOORE                        KY     90013228362
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 477 of 2350


6598411415594B   ALONZO        NINO                        CA     48005881141
6598437554B268   ALTHEA        LANE                        NE     90002533755
6598481958B168   JASON         BRICE                       UT     90013698195
659849A4A8B168   TRACY         ROGERS                      UT     90013789040
6598574175416B   THOMAS        CELENTANO                   OR     90004957417
6598577965B921   SCOTT         BYRNES                      WA     90015497796
65985A1A261964   JESUS         ALCANTAR                    CA     46084740102
65985A8A355975   EDITH         CENTENO                     CA     90014900803
6598688967B495   ALICIA        NAVARRO                     NC     90006528896
65987814A72B36   MIGUEL        VIOLANTE                    CO     33020248140
6598855A391549   ISREAL        HERNANDEZ                   TX     90005065503
65989199A72B43   ANGELICA      CARILLO                     CO     90010381990
65989241572B27   EDGAR         GARCIA CORTEZ               CO     90001522415
6598944688166B   MYNOR         AGUILAR                     MO     29066404468
6598B248A8166B   CHARLENE      MATTHEW                     MO     90007682480
6598B271491998   KAREEMA       ISMAEL                      NC     90007272714
6598B358155977   SHELLY        CLINTON                     CA     90013983581
6598B58865B235   BRENDA        GRAVTTE                     KY     68033985886
6598B59A272B43   MICHAEL       PENA                        CO     90013295902
6598BA6944B27B   AUDRAINA      PEAK                        NE     90012710694
65991242172B43   MANUEL        GONZALEZ                    CO     33006202421
65991337372B27   MARCELO       MARTINEZ                    CO     90013093373
6599151298166B   AMY           MILLS                       KS     29012345129
659922A6863646   CRYSTAL       FRENCH                      MO     90010332068
65992965A55977   JOHN          MURDOCK                     CA     90012629650
6599327A271976   REYANN        TAFOYA                      CO     90010102702
6599372358166B   CHRISTOPHER   JONES                       MO     90013917235
6599385A37B46B   CHALIKA       MARSHALL                    NC     90000808503
65993A68991522   LIZ           RODRIGUEZ                   TX     75031630689
6599436624B27B   JONATHAN      DOMINGUEZ                   NE     90013553662
65994399772B43   BONITA        SHIPP                       CO     33044903997
659949A3672B27   DANIEL        RODRIGUEZ                   CO     90000219036
6599522824B588   TALAYA        MOSLEY                      OK     90004992282
6599526928166B   ADRIAN        EGUADE                      MO     90002402692
65996614772B36   ERICKA        RAYMUNDO                    CO     90013966147
65997169472B27   DARIANA       ROSADO                      CO     90014701694
65999113A91549   VIVIAN        MEZA                        TX     90013031130
6599926824B588   TINA          LOPEZ                       OK     90002442682
65999269772B27   DIANA         GREEN                       CO     90012502697
6599B259572B43   NICK          GOTTSCHALSK                 CO     90014052595
6599B548881644   KARLA         SMITH                       MO     90010215488
6599B656191943   BELAN         BAUTISTA                    NC     90013756561
6599B684325236   JESSEIA       JACKSON                     NC     90014786843
6599B77A161964   CHINA         RODRIGUEZ                   CA     90010037701
6599BA6714B268   KEVIN         LIMPACH                     NE     90003370671
659B118444B27B   NORA          LEMUS                       NE     90014601844
659B135132B231   JUAN          HERNANDEZ                   DC     81030463513
659B1388155973   ELISABETH     MORENO                      CA     90011753881
659B1A1964B22B   LISA          MILLS                       NE     27064070196
659B1A99655973   BRIANNA       CASTILLO                    CA     90015520996
659B2117591998   IRENE         GONAZALEZ RODRIGUEZ         NC     90013881175
659B2191725236   MAX           PIEDRA                      NC     90012741917
659B241AA72B29   ROY           DOBSON                      CO     90014174100
659B2432751354   ALLANA        ROBINSON                    OH     90012884327
659B268434B27B   NICOLE        CARR                        NE     90013466843
659B3494755975   ABELARDO      ROSALES                     CA     90013424947
659B3751425236   EFRAIN        DIAZ GOMEZ                  NC     90015547514
659B4423291522   MAITE         RAMOS                       TX     90011754232
659B491A391549   MAGDALENA     DE LA CRUZ                  TX     90011329103
659B51AA672B36   JOSE          FERREIRA                    CO     90010571006
659B575AA8B179   RODRICK       HATT                        UT     31003937500
659B6633161964   ALONZA        RANDALL                     CA     90014156331
659B6658572B43   LUIS          MORALES                     CO     33039596585
659B714675416B   LARRY         P DEAN                      OR     90002491467
659B735168B168   WILLIAM       HOLTHAUS                    UT     90011883516
659B735A35B531   BARBARA       VALENCIA                    NM     90009913503
659B7418161961   LINDA         GONZALEZ                    CA     46091774181
659B8219555975   MARIA         ALVARDO ZENDEJAS            CA     90014292195
659B8292191522   SALVADOR      ESPINOZA                    TX     75004622921
659B8922455973   FLORINDA      RAMIREZ                     CA     48065109224
659B9138381644   ANTHONY       FIELDS                      KS     90014681383
659BB327725236   ANDRELLA      BAINES                      NC     90013673277
659BB395391549   S             DIANA                       TX     75046023953
659BB745872B29   GUADALUPE     AVILA GARCIA                CO     33095187458
65B11114563646   LATANYA       WINBUSH                     MO     90000721145
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 478 of 2350


65B11145A91549   ISABEL           RIVAS                    TX     90012941450
65B1119A972B29   JESSE            LAIR                     CO     90008041909
65B11499191998   JOEY             WIGGINS                  NC     90014804991
65B11584355977   DARLENE          VAGA                     CA     49039705843
65B11621325236   TONY             SMITH                    NC     90013146213
65B11753386593   OMAR             ORTEGA                   TN     90002427533
65B1184134B588   AIDE             VAZQUEZ                  OK     90006418413
65B1197815B531   GERARDO          BALANDRAN-SANCHEZ        NM     36056829781
65B12173A5B531   PAULINE          MARTINEZ                 NM     36011141730
65B1218588B168   MICHAEL          HOWELL                   UT     31087211858
65B1239213168B   PEGGY            TURNER                   KS     90002173921
65B12596561936   SANDRA CECILIA   DIAZ                     CA     90006525965
65B12886861964   MARIANA          DE QUINTANA              CA     46017588868
65B1299465594B   VALERIE          ESCOBAR                  CA     90005599946
65B12A4394B27B   KAMELA           MOFFITT                  IA     90013070439
65B12A8984B268   ASHLEY           STARKS                   NE     27047630898
65B1314A991522   VALERIA          CHAVIRA                  TX     90007871409
65B1374A851352   ALINA            RAMOS                    OH     90003707408
65B13844855977   GLORIA           LOPEZ                    CA     90015288448
65B13882384392   ROMERA           SEABROOK                 SC     90014788823
65B14693925236   YURIDIA          CAZUELA                  NC     90012096939
65B14A7295416B   DAVE             MARTIN                   OR     47084530729
65B15118861964   JEANETTE         RAMOS                    CA     46009131188
65B15331163648   RODNEY           VARDIMAN                 MO     90003113311
65B15532272B43   LIETY            WU                       CO     33083605322
65B15594191522   MARIPAZ          CALDERON                 TX     75024385941
65B15A76A91549   GABRIEL          LOPEZ                    TX     90004890760
65B1654313168B   MARICELA         RAMIREZ                  KS     22041645431
65B1677A34B27B   JUANA            HUIZAR                   NE     27081037703
65B1678425416B   HECTOR           MORENO                   OR     90005177842
65B16944A5B235   MARIO            SMITH                    KY     68099369440
65B17115991522   ADRIANA          RODRIGUEZ                TX     90014721159
65B1717A591549   OSCAR            HUGO                     TX     90001951705
65B1787AA84392   TERRELL          SMALLS                   SC     90014788700
65B1837A65416B   MARY             DAVENPORT                OR     90002393706
65B1857A44B581   MARY             ANDERSON                 OK     90007935704
65B18732972B29   JULIA            BURTNESS                 CO     90002047329
65B1923A25B235   SUE              BIONE-GREVIOUS           KY     68066392302
65B1B116791998   JACQUELINE       ANDERSON                 NC     90000991167
65B1B416491549   PERLA            ZUNIGA                   NM     75017554164
65B1B53268B168   HELEN            GARRETT                  UT     90011285326
65B1B5A5981644   TICKEMS          JONES                    MO     90009745059
65B2111835B235   JAMES            DUVALL                   KY     90013281183
65B2117A591998   TACOSHA          MCSARLAND                NC     90006361705
65B21735655973   ROSA             MARROQUIN                CA     90004327356
65B21916561961   ANDREW           CATALETA                 CA     90008689165
65B21985761964   JUAN             CARRILLO                 CA     90010139857
65B22364154124   LINDA            RAMIREZ                  OR     47070243641
65B22533972B27   ANTHONY          HELM                     CO     90013005339
65B22A35451354   ALEX             TURNER                   OH     90012550354
65B23318191549   LODOZA           VERONICA                 TX     90001603181
65B2487AA84392   TERRELL          SMALLS                   SC     90014788700
65B2522624B588   SHERRY           SYLVAIN                  OK     90014112262
65B25485572B27   EILEEN           NAPUTI                   CO     90010524855
65B25486A72B29   CATHERINE        ANDERSON                 CO     33006284860
65B2577348166B   CYRISTAL         CUMMINGS                 MO     90008737734
65B26254663646   ELINOR           NEWTON                   MO     90005722546
65B26A75955977   DAVID            DELBOSQUE                CA     90002870759
65B2741293168B   MIKAEL           MONTES                   KS     90015174129
65B27894172B29   JESUS            GONZALEZ-DOMINGUEZ       CO     33070668941
65B27923984392   RENE             REYNOLDS                 SC     90014789239
65B2827254B27B   JULIE            BUTTERBAUG               NE     90004132725
65B28568272B43   NOCOLE           CORTEZ                   CO     33017905682
65B2863718B168   MARNIE           SLADE                    UT     31026916371
65B288AA85416B   MICHELLE         LEMON                    OR     90006388008
65B2933A68B168   JOHN             GARVIN                   UT     31022153306
65B2953615416B   KATHERYN         FOSTER                   OR     90010115361
65B29652791549   FUENTES          VALERIE                  TX     90008746527
65B29979385957   ANGEL            AGUIRRE                  KY     90006509793
65B2B245341248   MICHAEL          DELLERT                  PA     51078922453
65B2B445272B29   CLAUDIA          REYES RUIZ               CO     90004874452
65B2B58115594B   ERIBERTO         LARA                     CA     90012405811
65B2B823A5B235   ANTIOJO          CAMACHO                  KY     90012928230
65B2B99528B168   SCOTT            BRIDWELL                 UT     90012429952
65B3132385B531   MARTHA           SANTOS                   NM     90010593238
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 479 of 2350


65B3195664B268   KAREN             CULLIVER                NE     27005979566
65B32169254124   AARON             CADAN                   OR     90010691692
65B3242868B354   JOHNNY            KELLY                   SC     90015444286
65B32459561961   NIKOLA D.         VUJAS                   CA     46038384595
65B3263318B169   RICK              JOHNS                   UT     90012626331
65B32665471976   MICHAEL           WILLIAMS                CO     90005676654
65B3278148166B   DUNCAN            MCQUEEN                 MO     90004177814
65B32782355977   ADRIANA           AVINA                   CA     90013167823
65B32A3A755977   KATHRINE          VELASQUEZ               CA     90011380307
65B33985355975   HUGO              ROMAN                   CA     90015109853
65B33A14655977   JOSE              LARA                    CA     90009840146
65B34281A61964   ALEXANDER         VILLAMIL                CA     46006522810
65B34931A84392   JOSHUA            STAYTE                  SC     90014789310
65B34AAA571976   ADRIANNA          SIGALA                  CO     90006820005
65B355A7155977   CHAPAO            XIONG                   CA     90012005071
65B35668971976   DESIREE           SEYBOLB                 CO     90009386689
65B35A5245594B   JUAN              TREVINO                 CA     90007460524
65B3614A291549   LUIS              BARRIOS                 TX     75041951402
65B36245441226   BHAWANI           BARKER                  PA     90015212454
65B364A3872B43   WAYNE             CASE                    CO     90013014038
65B36527391522   ADRIAN            MIZCLES                 TX     75010395273
65B36788425236   FRANTRESA         STATON                  NC     90000767884
65B368A248B168   KRISHA            FAVILA                  UT     90014758024
65B37133291549   MATTHEW           CHEWNING                TX     75017711332
65B3748A45594B   ELISEO            VALENCIA PEREZ          CA     90009104804
65B38274187B31   RHONDA            AUSTIN                  AR     28063552741
65B38362151354   CHRISTOPHER       CAPPA                   OH     90014853621
65B38493A72B43   MICHELLE          WAHLSTROM               CO     33094724930
65B3853115416B   BRUCE             IVIE                    OR     90013675311
65B38573361964   DONNY             ANGELES                 CA     90011945733
65B38725872B27   ALMA              ROMERO                  CO     90007467258
65B3932288B168   CLAUDIA           WHITING                 UT     90002663228
65B39475197122   BARBARA           MC GUIRE                OR     44596104751
65B3B531461964   IRIS              LOAIZA                  CA     90007715314
65B3B53A272B29   NORMA             GUERRA                  CO     33095305302
65B3B58285594B   ELI               ALVARADO                CA     90007485828
65B3B694355973   AURELIO           GONZALEZ                CA     48052756943
65B3B8A8A55975   OMAR              CRUZ                    CA     90012178080
65B41771651374   SUNSHINE          PUTTEET                 OH     90012807716
65B422A994B27B   AMBER             STONE                   NE     90013772099
65B42939A5B235   TRINA             BELL                    KY     90012049390
65B43862171976   JOHN              VENDETTI JR             CO     90005678621
65B4391439196B   RICHARD           THURSTON III            NC     90007619143
65B4392145416B   MARIA             LOPEZ ZAVALA            OR     47024079214
65B44345455975   SARA              AVINA                   CA     90010733454
65B444A2655973   MARIA             PEREZ                   CA     90010164026
65B4474367B445   NAISHA            SUMMERS                 NC     90011147436
65B452A4963646   RYAN              HORN                    MO     90013122049
65B45378972B29   BRYON             HALL                    CO     90011363789
65B45499833B78   ROSETTA           CIANO                   OH     90013844998
65B45553881644   PATRICIA          GUTIERREZ               MO     90002535538
65B45625651323   LANAY             OLIVER                  OH     90009076256
65B45882291522   JAVIER            DE LA CRUZ              TX     90011728822
65B46212755973   ELVIRA            RUIZ                    CA     48060272127
65B4657667B46B   STACEY            JOHNSON                 NC     90015245766
65B4687338B168   LILYANN           GARCIA                  UT     90011998733
65B468AA191549   ISAAC             RODRIGUEZ               TX     90011188001
65B47191472B36   HARKA             THAPA                   CO     90013261914
65B4758768166B   JENNIFER          JOHNICO                 MO     90010965876
65B4784A13168B   JAMES             CRANDALL                KS     22082228401
65B47A88684392   SIRQUANNA         AIKEN                   SC     90014790886
65B48274372B43   SWEET JANE        JONES                   CO     90004822743
65B48514363646   RAQUEL            DIAZ                    MO     90014875143
65B49289491522   ENRIQUE           DELAROSA                TX     75032002894
65B4958954B588   ALVAREZ           ROMEO                   OK     90012125895
65B49732772B29   JACQUELINE        OLIVAS                  CO     90011287327
65B49778191998   CARMEN            MILLA                   NC     90004397781
65B4B233225236   WILLIAM/REBECCA   BOWMAN                  NC     90007802332
65B4B29638B168   MICHAEL           MARTINEZ                UT     90013942963
65B4B752984392   ANDREA            MCCLELLAN               SC     90007187529
65B4B854455975   JOSE              CORRO                   CA     90015188544
65B5186714B251   DEWAYNE           BLAHA                   NE     90006198671
65B5242A94B27B   BAYRON            ALVA                    NE     90012704209
65B52534355975   CAROL             GONZALEZ                CA     48098695343
65B5276844B588   VALANESHA         WASHINGTON              OK     90015127684
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 480 of 2350


65B52812572B27   BENJAMIN           LUCERO                 CO     90015338125
65B5297818B163   ERIK               COUSIN                 UT     31083769781
65B52A11391522   MAYRA              SOLIS                  TX     90013100113
65B5314285B235   CHRISTIAN          DUDLEY                 KY     90014581428
65B53265391549   JULIO              OLIVAS                 TX     75098622653
65B5329967B46B   RASMERY            MARTINEZ               NC     90015132996
65B5343713168B   TEANNA             MOORE                  KS     90012254371
65B5369A23B365   SANDRA             JOHNSON HILL           CO     90009326902
65B54153455973   MICHELLE           MAIREL                 CA     90011891534
65B5419235B235   MARLAN             BETANMCOURT            KY     90010151923
65B5419812B271   KENNETH R.         STEPHENS               DC     90002671981
65B54764284392   SHARON             SURPRENANT             SC     90002127642
65B55671672B43   ENRIQUE            SOSA                   CO     33056576716
65B55999184392   ERICA              SINGLETON              SC     90012979991
65B55A52661961   ANGEL              COSTANTINO             CA     90013210526
65B56184755969   SAMANTHA           GALLYER                CA     49015241847
65B5648A363646   FRANCISCO          ESCOBAR                MO     90010674803
65B56896391522   SUSANA             MARQUEZ                TX     90011728963
65B56A57872B29   HOHN               FRESQUEZ               CO     90002900578
65B57235155975   ISABEL             GARCIA                 CA     90006052351
65B57459772B55   SUZANNE            ETTA                   CO     90009264597
65B57612A55977   MARK               MARTINEZ               CA     49041016120
65B58314255973   MARIA              QUINTANILLA            CA     90013923142
65B59136155977   CHRIS              MOLINA                 CA     49096661361
65B59361A72B36   ARTHUR             SCHAUMBURG             CO     90005623610
65B5944495B235   JACQUELINE         EVANS                  KY     90013254449
65B59573A5594B   MAGUINELY          PEREZ                  CA     90009105730
65B5B112A5594B   JOSE               GONZALEZ               CA     90003661120
65B5B841161961   XOCHILT            GONZALEZ               CA     46073938411
65B5B8A5391549   DAN                LOZADA                 TX     90004128053
65B5B95A47194B   ROSE               NIEMIEC                CO     90009929504
65B612A815416B   VICTORIA           BORNER                 OR     47006122081
65B61951655973   JAVIER             OCHOA                  CA     90013629516
65B62624551354   MANDY              BUNCH                  OH     66058046245
65B62A2414B27B   MARIA              ARCE                   NE     27011460241
65B633A234B588   ERIKA              MACIAS                 OK     90014153023
65B6423984B268   MICHAEL ROBERT     BRUNKOW                NE     90002942398
65B64247272B27   JASON              KARL                   CO     33010622472
65B6453284B27B   CHRISTOPHER        SUMMERS                NE     90014235328
65B64732584392   THEODORE           BROUGHTON              SC     90013187325
65B6493725B235   ELIZABETH          WILLIAMS               KY     68086459372
65B6513163168B   DANIELA            RAMIREZ                KS     90005781316
65B6535584B27B   DWIGHT             HOWARD                 NE     90014603558
65B65524772B43   EDWARD             CAMACHO                CO     90013385247
65B65696491549   BENJAMIN           GARCIA                 TX     75096356964
65B65937555973   RICHARD            RAMIREZ                CA     48074849375
65B6622168B191   CHINAR             ALI                    UT     90012102216
65B66539461961   JOHNSON            PEPRAH                 CA     90014965394
65B66589A5B235   VALENTINA          TAYLOR                 KY     90013015890
65B6674265B235   LACY               RANDOLPH               KY     90012997426
65B67553172B36   STEPHANIE          KRAUSE                 CO     33093025531
65B6761233168B   SHERRY             KNOX                   KS     90003106123
65B67A43663646   JESUS              LOPEZ                  MO     90013130436
65B68161291522   JUAN               LIRA                   TX     90014721612
65B681A675416B   JACKIE             MORRIS                 OR     90014981067
65B6831134B588   CODY               BENAVIDEZ              OK     90013963113
65B68364793734   NICOLE             SOLES                  OH     90012903647
65B6843195B531   MARK JR.           WRAY                   NM     36095344319
65B68763191998   JONATHAN           GREENE                 NC     90015297631
65B688A165B241   JAMIE BARMORE ND   JERRY MAGGARE          KY     90014638016
65B69147784392   SHONDREKA          BROWN                  SC     90014791477
65B69281525236   FRANCISCO          JAVIER                 NC     90015572815
65B69298881644   LORI               WOLLARD                MO     29039782988
65B69324A61964   TINA               PEREZ                  CA     46014353240
65B69A39A5B241   EMILY              JENKINS                KY     90013070390
65B6B23A35B176   TANISHA            CLINKSCALE             AR     90014552303
65B6B249672B36   ZACK               BANARK                 CO     33077742496
65B6B64155B531   ELVA               OCHOA                  NM     90005526415
65B6B926172B29   MICHAEL            WILLIAMS               CO     33001309261
65B6BA69391522   JEANNE             DIAZ                   TX     75015130693
65B71161491522   OZZY               TORRES                 TX     90014721614
65B71192284392   BRITTANY           STATON                 SC     90014791922
65B72279991522   ALEXIS             ARREOLA                TX     90011862799
65B7236824B588   STACEY             JONES                  OK     90015013682
65B73155751354   ELLEN              GRAY                   OH     66045751557
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 481 of 2350


65B73167281644   HEBLEEN      SANTIAGO                     MO     90015311672
65B73275491549   PAOLA        VALLE                        TX     90011512754
65B7328825B241   EMILY        CUNDIFF                      KY     90014602882
65B73471255973   VANESSA      VELAZQUEZ                    CA     90013304712
65B736A9972B29   FRUTOSO      CHAVEZ                       CO     33044866099
65B737A4461961   MARTHA       SESSOMS                      CA     90010777044
65B73868961964   KIM          NATIVIDAD                    CA     90010828689
65B7387427B46B   SHAWN        MONTGOMERY                   NC     11010328742
65B73A3894B588   MYCHAEL      HARDING                      OK     90003750389
65B7427A555975   OMAR         MAGANA                       CA     90006802705
65B74946991522   MARIA        ACOSTA                       TX     75054579469
65B7539354B54B   REINA        BARRIOS                      OK     90011723935
65B75624661936   MICHAEL      TESCH                        CA     90012516246
65B758A564B588   THOMAS       RULE                         OK     90014988056
65B7593594B588   TANYA        COOPER                       OK     90014919359
65B7631155B241   DAVID        PARKER                       KY     90013853115
65B76483455973   JAMI         MITCHELL                     CA     90011424834
65B76736A55975   BRENT        SALTER                       CA     48038667360
65B771AA38166B   CONRADO      SOTO                         MO     90015311003
65B77433891549   SOCORRO      VELASCO                      TX     90000174338
65B77619355973   JOSE         OROZCO                       CA     90009226193
65B7838658B168   TARA         TACCONI                      UT     90014573865
65B7839854B27B   CHRISTIE     BURGESS                      IA     27088403985
65B78756561964   RONALD       MARCUS                       CA     90013097565
65B787A275594B   ANGEL        CARRASCO                     CA     90007487027
65B7887552B23B   EDUARDO      GOMEZ                        DC     90002628755
65B78919655977   ROBIN        KACHADOORIAN                 CA     90012949196
65B78934655973   GABRIEL      GUTRERREZ                    CA     90007709346
65B7973985B241   JOHN         MCGREW                       KY     68027997398
65B7B147784392   SHONDREKA    BROWN                        SC     90014791477
65B7B2A6A8B168   DANIEL       ACUNA                        UT     90014792060
65B7B31448166B   SYLVESTER    HILL                         MO     90013423144
65B7B33A18B163   DAVID        KELSCH                       UT     90011653301
65B8152733168B   MOLLY        MCCLURE                      KS     22072485273
65B81821655975   ALONZO       MEZA GARCIA                  CA     90015128216
65B81831172B29   CARY         SMITH                        CO     90000708311
65B81A9328B168   FELIPE       OLASQUOAGA                   UT     90011590932
65B827A4261964   GUILLERMO    DURAZO JR                    CA     46010827042
65B83144361936   RAMIRO       ESPINOZA                     CA     46015971443
65B83894961961   IRIS         MORALES                      CA     46013028949
65B84171291522   ANGELICA     ARCHULETA                    TX     90014721712
65B84453651354   BRYAN        SCHWIER                      OH     90006494536
65B84728987B31   LARRY        GLASCO                       AR     90012557289
65B84865991522   MONICA       GUTIERREZ                    TX     90009298659
65B84888272B2B   EDWARD       YOST                         CO     90010708882
65B848A6754124   HAILEE       ORTH                         OR     90013068067
65B84924191549   JONATHAN     CORTEZ                       TX     75067229241
65B849AA74B27B   SARA         LEDEZMA                      NE     90013379007
65B85113593771   CHRISTIAN    SAVAGE                       OH     90000511135
65B85173591522   CESAR        RAMIREZ                      TX     90014721735
65B85496172B29   CLAUDIA      LUNA                         CO     90004254961
65B85823572B27   MARIA        TOSKI                        CO     33040598235
65B85925654124   OMAR         SANTIAGO                     OR     90005099256
65B86257351354   NANCY        THACKER                      OH     90011292573
65B8653265B241   MONTRELL     PATTERSON                    KY     90010925326
65B86659491522   VICKY        SANCHEZ                      TX     75051986594
65B8681267B46B   ALFONSO      NARANJO GARCIA               NC     90012928126
65B8731544B27B   PAULA        LEON-FRANCISCO               NE     90005193154
65B87336884392   GREGORY      HOLDER                       SC     90014793368
65B87385991549   DAVID        GILL                         TX     90013473859
65B877A373168B   MICHELLE     ANTHONY                      KS     90015187037
65B88246A8166B   JILEESA      MCDANIEL                     MO     90014572460
65B88265891549   CARMEN       MONTEROS                     TX     90014102658
65B8836485594B   NATHAN       CORRALES                     CA     90003683648
65B88751151354   CHRISTINE    LACEY                        OH     66009857511
65B89156172B29   RICARDO      MENDOZA                      CO     90013931561
65B89363A84392   DOMINIQUE    GREEN                        SC     90014793630
65B89663A91549   PIXIE        AVILA                        TX     75032196630
65B89919891998   MARIE        ARMOUR                       NC     90010429198
65B8B91695B235   CAROLYN      GOOTEE                       KY     90012319169
65B8B9A7A72B43   KRISTAL      MCMILLAN                     CO     33077409070
65B9146735594B   ALEX         BEJAR                        CA     90003684673
65B9162753168B   HALI         RICE                         KS     22038256275
65B91689472B43   STANLEY      SMITH                        CO     33068366894
65B91989284392   JAMES        MCCOY                        SC     90013759892
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 482 of 2350


65B924A3625236   ROSA               RODRIGUEZ              NC     90013284036
65B9285327B46B   CEDRIC             HOWARD                 NC     90013718532
65B9327165B235   LAWRENCE           MALONE                 KY     90011152716
65B9354114B588   DENNIS             KING                   OK     90010135411
65B93941372B29   MARY               MCCARTY                CO     90003479413
65B9413767B358   JORGE              PACHECO                VA     90001481376
65B94162751354   IVORY              MOORE                  OH     90013901627
65B94525181644   GREG               GERING                 MO     29083835251
65B9491A44B268   EMILY              CRAWFORD               NE     27032299104
65B95469655977   JACQUELENE         MANDUJANO              CA     90014444696
65B9567727B46B   JONQUIA            BARRIER                NC     11083396772
65B96965A72B43   BETH               LAWLER                 CO     33052329650
65B96A59A84392   CHADRICK           MILLS                  SC     90013610590
65B9713394B27B   KEITH              TOOLEY                 NE     90013921339
65B9739785B531   CRISSIE            MRILLO                 NM     90006523978
65B9791259133B   PAIGE              HINSON                 KS     90008139125
65B98873872B43   WENDY              CHEEVER                CO     90012408738
65B99243491998   KIRA               HATLEY                 NC     90013402434
65B9992334B27B   APRIL              MORGAN                 NE     90010949233
65B9B41235416B   YOLANDA            MESTAZ                 OR     47085844123
65B9B58825B241   CHENEKA            RELIFORD               KY     90005235882
65B9B93428B168   BRIAN              KLINGER                UT     31041899342
65B9B96A661964   RAQUEL             LOPEZ                  CA     46040539606
65B9B997555973   CHARLES            VALLEJO                CA     48074549975
65BB1525881644   ALICIA             CARSON                 MO     90004125258
65BB196335594B   RAYMOND V          HERNANDEZ              CA     90011879633
65BB2A49651354   KIMBERLY           POINTER                OH     90006430496
65BB36A395B241   WENDY              HITER                  KY     90015146039
65BB36AA472B43   ADAM               STONE                  CO     33070546004
65BB4124291522   ANGEL              GUADALAJARA            TX     90014721242
65BB4136255977   EMYROSE            MARTINEZ               CA     90015201362
65BB4165551337   GRISELDA           BAUTISTA               OH     90001481655
65BB4312751354   CAROLYN            EVANS                  OH     90013383127
65BB4622755973   HILDA              GONZALEZ CEBALLOS      CA     90015176227
65BB4753891549   ISABEL             OLMOS                  TX     90014927538
65BB479215B241   CHRISTOPHER        POLLARD                KY     90003197921
65BB517413B365   MARIA              CHAPARRO               CO     90003081741
65BB5247A5B531   MIGUEL             VILLEGAS               NM     36091822470
65BB667125B235   BARBARA            HEALY                  KY     90012196712
65BB6746772B27   MARIA              MORALES                CO     33036047467
65BB696A255973   JAQUAYLA           JENKINS                CA     90014009602
65BB7431791522   AMY                MICHELA                TX     90002554317
65BB7771A5B241   JACQUES            JACKSON                KY     90009857710
65BB781A961934   GUADALUPE          FLORES                 CA     90011578109
65BB782388B168   FELICIA            RODGERS                UT     90004688238
65BB78A6361961   MARTHA             FAJARDO                CA     90009428063
65BB8746855973   GABRIEL            MURILLO                CA     90011847468
65BB9231655973   MAGESTA            ALVARADO               CA     90015102316
65BB923884B27B   TONIE              GICHUHI                NE     90012622388
65BB958A455973   CYNTHIA            HOLLIS                 CA     90010015804
65BB9753891549   ISABEL             OLMOS                  TX     90014927538
65BBB375551354   MANFREDO           TRUJILLO               OH     90010373755
65BBB638163646   PATTEN             JULIA                  MO     90002896381
65BBB758691549   MARIA              PALMA                  TX     90014957586
65BBB855984392   ANDRE              DUNCAN                 SC     90014788559
6611153585B531   ADRYAN             ROMERO                 NM     90011965358
66111A21591562   M.A.C              ......                 TX     75022120215
661121A5691562   HERIBERTO          GARCIA                 NM     75016881056
6611342892B828   YOLANDA            AVENDANO               ID     90012104289
6611379A38B168   GREMILLIOM DAVID   DAVE                   UT     90009657903
66113969A91592   GILBERT            SANCHEZ                TX     90011759690
66114145697B57   EFRAIN             GRADO                  CO     39094171456
6611428467B46B   BRENDA             SIMS                   NC     90012752846
66114493572B36   FAITH              GOAD                   CO     90014854935
6611467384B588   MONICA             SILORO                 OK     90008676738
6611516875416B   JOAN               FARGO                  OR     90012851687
6611554187B46B   DARIN              AERY                   NC     11078225418
6611559974B588   LOUIS              LISOYO                 OK     21534085997
6611584177193B   MIKE               GUNTER                 CO     90004998417
6611721564B268   PATRICIA           KOSON                  NE     90005252156
66117384272B43   MICHAEL            HECKMAN                CO     90014973842
6611778767B46B   ADOLPHUS           BOB                    NC     11047427876
66118289A61991   SELENA             ZWARTJES               CA     90009172890
66118394A55973   JOSEPH             GUERRERO               CA     90012543940
66118A9555B241   BREA               FRANKLIN               KY     90014630955
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 483 of 2350


6611931465B241   ROBERT            CALDWELL                KY     68096083146
661198AA24B27B   AMANDA            MONTES                  NE     27097348002
66119957772B29   ANWAR             ELHOWERIS               CO     33002039577
66119A2894B268   DAWN              GRIFFIN                 IA     27089400289
6611B5A515134B   CHIANNE           FOSTER                  OH     90012435051
6611B738677367   SHAWN             FORD                    IL     90013947386
6611B74A272B43   EDEN              AMOS                    CO     90001307402
6611BA28291592   MARIA             MONAREZ                 TX     90010940282
6612111545B241   HIRAM             GONZALEZ                KY     90000741154
66121329A81628   ALOYSIUS          DENNIS                  MO     29073983290
6612148614B588   CHASSITTY         HORN                    OK     21585844861
66121A46291592   PRICILLA          VALLES                  TX     90012520462
6612271A35B531   HEYDY             ALONZO                  NM     90012177103
661232A685416B   TIA MARIE         TRAVIS                  OR     90002612068
66123742672B27   MCKENZIE          FERRE                   CO     90010837426
6612381947193B   ZOE               HOLOD                   CO     90006928194
6612425A65B235   MADEILIS MARICE   CASTILLO TAN            KY     90013552506
6612433684B27B   ANGELA            RANDLE                  NE     27062843368
6612464868B168   ROSALYN           HAYWOOD                 UT     31042986486
66124966A9198B   ASHLEY            SHARPE                  NC     90013929660
661252A5881644   CRAIG             SHAFFER                 MO     90000362058
6612575525B241   JOESPH            ELLIOT                  KY     90013227552
6612621539182B   IPOLITA           ROJO                    OK     90010052153
6612622995B531   KATHARINE         RADEMAEKERS             NM     90004212299
6612629A491522   LETICIA           IRIGOYEN                TX     90011752904
66126521672B29   ROY               DUDLEY                  CO     90012485216
66127141172B29   HOPE              AMOUZOU                 CO     33008451411
66127418A91592   FRANCISCA         MARTINEZ                TX     75098524180
66127574572B27   GHOT              EM                      CO     90011495745
66128334A4B268   LATRICE           HOWARD                  NE     27056213340
66128717A72B29   DIANNA            HOFARTH                 CO     90007897170
6612922934B588   MARILYN           THOMPSON                OK     90009162293
6612943A655977   MARIA             ZAPATA                  CA     49046734306
6612B211761936   YESSICA           CHAVEZ                  CA     90012092117
6612B49524B27B   WILLIAM           ALLEN                   NE     90010644952
6612B619493729   TAMARA            DORNON                  OH     90011896194
6612B76A44B588   SONJA             GONZALEZ                OK     90014137604
6612B98A24B946   LACRETIA          FONTENOT                TX     90012939802
6613112895B235   WADE              CARTER                  KY     90015471289
66131456A7193B   MIREYA            SOSA                    CO     90012904560
66131AA3291562   MARY              FRAYRE                  TX     75026250032
661325A6861936   JEANETTE          ELIAS                   CA     46067665068
66133725172B36   LUIS ALBERTO      NUÑEZ                   CO     90010007251
661345AA24B27B   DANIEL            PEREZ-ALMAGUER          NE     90013855002
66134843972B43   OMAR              GOVEA                   CO     33091198439
66134A9248B168   BARNEY            DAWN                    UT     31017740924
66135696572B36   LEAH              RORICK                  CO     90013236965
66135A85893729   DONNA             EVANS                   OH     90001830858
66135A91491562   MARCOS            OLIVAS                  TX     90013920914
6613657297B46B   SARAN             SHOEMAKER               NC     11012755729
66136A5948B168   JEFFREY           LAVALLEE                UT     90004270594
6613732555B531   TERRA             ECKHART                 NM     90013333255
6613743675416B   RYENN             WINSTON                 OR     90014904367
661385A4355975   ALEX              ELSTON                  CA     90008685043
661395A9691522   LINDA             AGUILAR                 TX     90013545096
66139A43255977   ASHLEY            GARZA                   CA     90013190432
6613B156171964   ANTHONY           WILLIAMS                CO     90001151561
6613B74862B828   LIZ               CHINEA                  ID     90014517486
6613B75A672B36   CABALLERO         MARIA DEL CARMEN        CO     33054877506
6613B997155977   JANET             RENTERIA                CA     90011849971
6613B9A5291522   CLAUDIA           ORTIZ                   TX     75099289052
66141A3375B241   SCOTT             BANNING                 KY     90008960337
66141A9AA61964   JESUS             VAZQUEZ                 CA     90013750900
6614217A17B46B   SIMONE            LITTLE                  NC     90012871701
66142789672B36   MARIA             GOMEZ -PECH             CO     33039587896
661433A8A3168B   NORMA             CALDERON                KS     22004423080
66143AA3255977   CHERRIE           SWILLIS                 CA     90009860032
661451A2A71964   JOSEPH            VALDEZ                  CO     90014951020
661452A7263646   JULIA             ROBERTS                 MO     90011292072
6614661912B828   CHRIS             ISOLATO                 ID     90004226191
661466A9393729   WESLEY            OWENS                   OH     90012426093
6614673593168B   JEREMY            SIEMILLER               KS     90015127359
6614751654B588   KHADIYA           ISKANDAROVA             OK     90012495165
6614756792B828   REBECCA           COOK                    ID     90014815679
6614757A47193B   SHANTUEL          REYES                   CO     90012295704
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 484 of 2350


6614799A75B241   CANDICE        HIGGINBOTHAM               KY     90012779907
6614821215B241   ERIN           ASHLEY                     KY     90013912121
6614841825594B   ANGELICA       GARCIA                     CA     90011774182
66148957272B27   WILLI          BRUST                      CO     90013999572
661497A5751354   PATTY          HAMILTON                   OH     90013747057
661498A564B27B   BARBIE         JAMBOBOOBS                 NE     90010728056
6614996A791522   JUAN           GUERRERO                   TX     90013009607
66149A96751354   SHANIECE       HILL                       KY     90015290967
6614B15364B588   TEMEEKA        BARNETT                    OK     90011771536
6615113AA5416B   PAMELA         HADDOCK                    OR     47067631300
6615117735B531   MICHELLE       DORAME-CASIQUITO           NM     90014121773
66151661472B29   SHANNON        CROSS                      CO     33078856614
66151926972B43   EDUARDO        QUIROZ                     CO     33083509269
6615261694B27B   BLASHA         CARRILLO                   NE     90013706169
6615359A95B531   MARCELLO       CMORGO                     NM     36071745909
66154A29691592   DEBORAH        DELGADO                    TX     90010390296
66154A91497B39   JAZMIN         GRUBE                      CO     90004360914
66155397772B43   EVERETTE       MARSHALL                   CO     90012993977
6615555157B46B   FANNY          ALVARADO                   NC     90010245515
661561A475B591   SERGIO         GONZALES                   NM     35002911047
6615676263168B   JENNIFER       AMADOR                     KS     90010697626
661574A3A91562   MARIA          LOPEZ                      TX     90014574030
66157A75681644   WILLIAM        CATANZARO                  MO     90009590756
66159246A5B235   RICHARD        GOODMAN                    KY     90008952460
66159497797B57   HECTOR         RASCON                     CO     90014674977
661597A7991592   RAMIREZ        GEORGE                     TX     90008467079
6615989577193B   AMCARIO        GUTIERREZ                  CO     90015438957
66159A5384B588   BECKY ROSE     JOSLIN                     OK     90006510538
6615B2A3971964   RICCARDO       DAVENPORT                  CO     90010972039
6615B51385B531   PASCUAL        ANDRADE-PAZ                NM     36016435138
6615B827663646   LOUIS          ALEJANDRO                  MO     90011638276
6615BA29691592   DEBORAH        DELGADO                    TX     90010390296
6616143675B531   ARMIDA         MARTINEZ-CRISTERNA         NM     36009944367
6616243145416B   JENNIFER       ELIAS                      OR     90009084314
6616268A85594B   TASHA          MURRILLO                   CA     90000946808
6616282843168B   CHELSEA        FRAZIER                    KS     90014118284
66163427672B29   BONITA         DUNGAN                     CO     90011004276
6616353317193B   BEN            MAEZ                       CO     90012885331
66163A2772B828   ISABEL         CARRASCO                   ID     42061960277
6616597927193B   ALEXANDRA      OLSAVSKY                   CO     90013199792
6616673A755973   SOMPHIENE      PHOUMY                     CA     90003227307
6616783578B122   RANDY          SALIBY                     UT     90001388357
66167A58255973   PATRICK        MOORE                      CA     90013680582
66168273A72B29   MONICA         MONETTE                    CO     33047392730
6616911892B828   JORDAN DAVID   NORMAN                     ID     90005341189
6616957278B168   AMBER          OLSEN                      UT     31067455727
661697A887193B   DAVID          JACQUEZ                    CO     32065927088
6616B48443168B   SHELIA         HERMAN                     KS     22064344844
6616BA25772B29   MARIA          HERNANDEZ                  CO     33038370257
6616BAA3791998   FAVIOLA        ALVARDO                    NC     90004030037
6617128497193B   EDITH          CONSAVAGE                  CO     32023162849
66171A32691592   NANCY          MARTINEZ                   TX     75060930326
66171A97555975   MAYDA          DIAZ                       CA     90001040975
6617216A561964   VERONICA       MARTINEZ                   CA     90010631605
661721A5393729   SHERRITA       ADKINS                     OH     90002981053
661728A4871964   BRANDY         SANCHEZ                    CO     32013648048
6617325284B27B   JENICA         MILLER                     NE     90013062528
66174367172B27   BINU           ZACHARIAS                  CO     90001363671
6617445535B241   TIFFANY        DISSPAYNE                  KY     90011004553
6617451AA5B241   SHANE          HUTCHINSON                 KY     90015015100
6617524217193B   REBECCA        LUCAS                      CO     90014272421
66176267A72B43   SHERRI         LANDRUM                    CO     33032842670
6617631615416B   MICHAEL        WILTFONG                   OR     90013603161
6617639A355975   JORGE          MAGANA                     CA     48013843903
66176731472B36   ERIC           STOCK                      CO     90011997314
6617833618B185   TREY           PRUITT                     UT     90009263361
6617836A77193B   CHANEL         AGUILAR                    CO     90005183607
661785A235B241   ARRON          COWERD                     KY     90012175023
6617874A971976   ASHLEY         VALDEZ                     CO     90007297409
6617899545416B   MARIE          AMIDON                     OR     90011099954
6617974A971976   ASHLEY         VALDEZ                     CO     90007297409
66179825A8B194   SUELYNN        PEARCE                     UT     31043138250
6617B935791998   DOMINICK       OGNIBENE                   NC     90003949357
6618119975B531   MICHELLE       ORTIZ                      NM     36006211997
661811A5A5B596   CLAUDIA        LUCERO                     NM     35094201050
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 485 of 2350


6618124718B168   JON               KING                    UT     31000792471
6618125373168B   MURLYN            HERGERT                 KS     90009302537
6618138115B241   LOUIS             BESTEN                  KY     90011323811
6618175517193B   RACQUEL           MARTINEZ                CO     32097497551
6618285715416B   CHASTITY          VINCENT                 OR     47061228571
661834AA172B36   CATRINA           GONZALEZ                CO     33036394001
66184216872B36   EDGAR             MANUEL                  CO     90014382168
661842A4572B43   CARLOS            ESQUIVEL                CO     90004252045
6618447A161964   ARTURO            PAEZ                    CA     90008124701
66184569772B27   LORENA            SOTO                    CO     33096315697
6618487263168B   MAYA              MITCHELL                KS     90010478726
6618522497193B   SASHA             QUINONES                CO     90001102249
66185A92761964   JOSE              FUENTES                 CA     90014750927
66185A9958166B   MARIE             LEWIS                   MO     90013200995
6618618395B235   ALYSSA            SLOAN                   KY     90014081839
661863A7A91592   STEVEN            STRICKLAND              TX     75087593070
66186678A61936   VIANCA            VALENZUELA              CA     90012306780
66187314A51354   VIRGIN            SARGENT                 OH     90013963140
6618775985B241   LIMBOCKER         KASEY                   KY     90006147598
661881A915B531   CARLA             VIGIL                   NM     36062061091
6618928447193B   LANIECE           JOHNSTON                CO     32017902844
6618992715B235   KIARRA            KENNEDY                 KY     90009619271
6618B278A72B43   GUADALUPE         VILLALOBOS              CO     90012652780
6618B744533698   ROXANA            LEON                    NC     90006947445
6618BA47361964   GILBERT           BARRON                  CA     46032140473
661911A933B359   ESMERALDA         ZUNIGA                  CO     90012371093
6619124A951354   SHANI             COLLIER                 OH     90014622409
661913A7A91592   STEVEN            STRICKLAND              TX     75087593070
6619152685B531   DARETTE           ATENCIO                 NM     90007455268
6619152815B235   LAVITA            MCCLAIN                 KY     68007475281
66192153A71964   YADIRA            LIKKEL                  CO     90011891530
6619219784B27B   CAROLINE          ROGERS                  NE     27095001978
6619262947B46B   DONATO            FLORES                  NC     90014466294
661928A9291522   ELIZABETH         LOPEZ                   NM     90006608092
6619478477B46B   BENJAMIN          JHONSON                 NC     90014117847
66194A3622B828   NISSA             PORRAS                  ID     90007740362
66194A96591562   RUDY              ROMERO                  TX     75017510965
661952A8772B27   LUIS              ACOSTA                  CO     90009072087
66195496A55973   JUENCIO           GARCIA                  CA     90005954960
6619626A45B241   BRANDON           LAVENDER                KY     90012142604
661963A7261964   ISRAEL            PECINA                  CA     90013253072
6619689A94B588   REGINALD          DOSS                    OK     90012838909
66196A29671964   MARIA             FIGUEROA                CO     32081130296
66196AA8651354   MELISSA           HANKS                   OH     90010580086
6619818865594B   REYNA             RODRIGUEZ               CA     90007081886
66198697172B36   JARED             GRANTHAM                CO     90013236971
6619917475B241   LOWES             RACING                  KY     90014471747
6619919594B532   LATONYA           WARNER                  OK     90010751959
6619931322B828   LUCIANO           LEAL                    ID     90013913132
6619977982B828   LUCIANO           LEAL                    ID     90014557798
6619B59317B46B   XOCHITL           VAZQUEZ                 NC     90014985931
6619B637772B36   ROB               RODRIGUEZ               CO     90014556377
6619B775391522   ROBERT            QUINN                   TX     75044167753
6619B7A9291592   NORMA             GONZALEZ                TX     75028897092
6619B929255977   GEORGE LUIS       DE ANDA                 CA     90004749292
6619B97294B292   DANIELLE          ROCHA                   NE     90007749729
661B1361972B27   HECTOR            MARRUFO                 CO     90009983619
661B1914791562   CARLA             MARTINEZ                TX     75033149147
661B1987155977   ROSALINDA         SANZON                  CA     90011909871
661B247118B168   BELINDA           SOLIS                   UT     31088764711
661B31A925594B   NICOLAS           ZAPOTECO                CA     90014341092
661B351475594B   NICOLAS           ZAPOTECO                CA     90009085147
661B357719123B   SHENEKA           KINGS                   GA     90008565771
661B4317271964   GABE AND JEREMY   YOUNG                   CO     90013233172
661B44A3881644   WILLIAM           MATHIS                  KS     90005004038
661B474325416B   JESSICA           SKRAMOVSKY              OR     47015387432
661B486724B588   EBELYN            RODRIGUEZ               OK     90011848672
661B4A6757B46B   WILLIE            COPELAND                NC     90014210675
661B5261A51354   AMBER             RUFFIN                  OH     66096852610
661B582382B255   ENRIQUE           RUIZ                    DC     90006598238
661B5A2A555973   JEFFERY           DAVIS                   CA     90015120205
661B5A93191534   MARIBEL           MURO                    TX     75051970931
661B6111A72B43   DIONNE            VIGIL                   CO     90014681110
661B674828166B   DAVID             MARTINEZ                MO     90011977482
661B68A434B268   ANA               DELGADO-DE ROSALES      NE     90008038043
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 486 of 2350


661B692625B235   ANNA         WETHINGTON                   KY     90012709262
661B728785B531   AIDA         NAVARRETE DE LOPEZ           NM     90005622878
661B746723168B   ROBERT       SCHULTE                      KS     90005694672
661B7472655977   LEE          GIST                         CA     90015274726
661B7676891998   YAJAIRA      SORIA                        NC     90003786768
661B7A7114B27B   BRIAN        WALTER                       IA     90000220711
661B8275272B27   RITO         MARTINEZ                     CO     90013672752
661B8435691562   GILBERTO     GUTIERREZ                    TX     90013934356
661B8742591998   PABLO        ARGUETA                      NC     90003087425
661B911A772B27   ANGELA       HILLIARD                     CO     90003671107
661B9145391522   CELIA        BANUELOS                     TX     75057191453
661B996AA3B125   MARIA        BONILLA                      VA     90014489600
661BB269593729   ASHLEY       SCHULTE                      OH     90007172695
661BB2A535B235   THOMAS       DODSON                       KY     90012952053
661BB341791592   SANDOVAL     MARIA D                      TX     75001613417
661BB49A872B43   DANIELLA     CHAVEZ                       CO     33076964908
661BB912A4B268   SEAN         HASTON                       NE     90012469120
6621118695416B   CHERYL       BEIKMAN                      OR     90010691869
66211447A72B29   CHAVELLA     JOHNSON                      CO     33011974470
66212294272B43   ADRIANA      LOPEZ                        CO     90011342942
6621235AA91522   LETICIA      VENTURA                      TX     90009903500
6621271425B241   LUCILLE      GREEN                        KY     90012367142
6621434177193B   THOMAS       SCHEIBE                      CO     32017903417
6621439A95B235   AUTUMN       WEST                         KY     90013563909
66214546A55975   MARIA        MONTEZ                       CA     48049205460
6621549A23168B   SONJA        CRAWFORD                     KS     90014354902
6621566395B241   STEPHANIE    SMILEY-CLAYTON               KY     90013196639
66215673A91525   ANTONIO      GARCIA                       TX     90005446730
6621595284B57B   ASHLEY       RADER                        OK     90008289528
662165A787B349   ILIANNE      ZAVALETA                     VA     81061735078
6621685632B89B   BRUCE        ARNOLD                       ID     90008068563
66216A94855973   ANTONIO      MORALES                      CA     90013680948
6621728A561936   EDDIE        PARKER                       CA     90006982805
6621753734B267   TIFFANY      GRIFFIS                      NE     27093135373
6621793975594B   ROBERTO      AMEZCUA                      CA     90007089397
66217A74671964   VENESSANNA   ITUGBU                       CO     32081780746
662182AA42B828   STEPHANIE    GUARDIOLA                    ID     90013852004
66218863A72B29   RYAN         CLARK                        CO     90013248630
66219244A61964   SAMUEL       ROSALES                      CA     90013382440
6621953622B828   RANDI        COFFMAN                      ID     90009785362
6621956798166B   ANNETTE      BROMLEY                      MO     29006365679
6621B159455973   ASHLEY       THOMAS                       CA     90013751594
6621B453172B43   DANIEL       MONTEZ                       CO     33056364531
6621B71A891522   HECTOR       HERRERA                      TX     90000187108
6621BA24A91592   JORGE        RODRIGUEZ                    TX     75060480240
6621BAA8471964   CALVIN       DENZMORE                     CO     32017530084
6621BAA8651354   MELISSA      HANKS                        OH     90010580086
662212A6455977   ANA          MARTINEZ                     CA     90008632064
66221646A8B168   JOHN         REDFORD                      UT     31046886460
6622176828166B   JOEL         SOTO                         KS     90013267682
66221AA715594B   JORGE        MAGANA                       CA     90007090071
662224A878166B   JASON        CRUZ                         MO     29046894087
66223347472B27   DAVE         RICHARDS                     CO     33048363474
6622341312B828   NICOLE       MANZANARES                   ID     90014464131
6622428967193B   MELISSA      WHITTAKER                    CO     32080732896
6622458A655975   FABIOLA      VALDEZ                       CA     48080165806
6622532444B588   MELISSA      BUFF                         OK     21565743244
6622577A272B29   VERONICA     MARTINEZ                     CO     33004557702
66225A35961936   ANGELICA     QUEMUEL                      CA     90004890359
66225A7A697B57   WESLEY       RINCON                       CO     90008620706
662263A2955977   DAWN         REAL                         CA     90003413029
66226429357B92   LANCE        HILBERT                      PA     90014314293
6622662857B761   JAMES        ZIEGLER                      CA     90013806285
66226AA515B531   NICHOLAS     RIVERA                       NM     90013880051
6622742964B588   EDNA         ABSHIER                      OK     90013654296
662274A275B235   VHELEJAH     TURNER                       KY     90013344027
662275A2791562   FRANK        ORR                          TX     90013705027
6622764755B241   ERIC         HODGES                       KY     90010486475
662276A5161964   STEPHANIE    COVARRUBIAS                  CA     90014876051
6622773814B27B   APRIL        WILLIS                       NE     90001957381
6622831742B828   JESSIE       DOUTHIT-ROBERTS              ID     90014543174
662284A9951354   LARRY        PARKER                       OH     66015194099
66228A9595594B   THERSA       VELA                         CA     90007090959
6622953A72B828   HAILEY       VEGA                         ID     90013855307
6622989944B268   LORI         BANSE                        NE     90005348994
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 487 of 2350


66229943672B29   MICHELLE     DOZIER                       CO     90012659436
6622B2A5463646   EDILEUZA     CONCEICAO ORDONES            MO     90011642054
6622B63415B241   JEFF         PARKS                        KY     68077586341
6622B87298B168   NICOLE       MARTINEZ                     UT     31015758729
6623159A58B331   JANNA        GRINNELL                     SC     90015385905
6623213913168B   RAECHELLE    MOORE                        KS     90011681391
66232247A5B235   BRAD         ANDERSON                     KY     90012952470
66233363A4B547   SHAYNA       HOFFMAN                      OK     90012673630
6623387868B168   DEANNA       GERMAN                       UT     31097408786
66233883872B29   STEPHANIE    GARZA                        CO     90015268838
6623428A78654B   JAMES        HALL                         TN     90012452807
6623444355B241   DWATNE       SPENCER                      KY     90011964435
66234A96A5416B   ALANNA       GARDNER                      OR     47065980960
66235321A31422   WILLIAM      DURAN                        MO     90001623210
66235A9254B588   LUCINA       QUIEJ                        OK     90015200925
6623666374B588   RICHARD      ROSSER                       OK     90013846637
6623712684B27B   FERNANDO     AHUMADA                      NE     27080111268
6623729938166B   JAMEZETTA    BAILEY                       MO     29006372993
66237536372B29   BERTHA       ORTEGA                       CO     90007805363
66238691672B29   BERNADETTE   GAYTON                       CO     90013166916
6623885257B329   CARLOS       HERNANDEZ                    VA     90010028525
66239368672B27   NOELIA       DURAN                        CO     90014833686
66239727472B29   NARCISO      SAENZ                        CO     90014027274
66239A5A961964   CESAR        GOMEZ                        CA     90009130509
66239A6675B241   LESLIE       GREENWELL                    KY     68052580667
6623B191A5416B   JENNIFER     MCCLAIN                      OR     90013231910
6623B365281644   JAMELLE      BROWN                        MO     90001333652
6623B68A555977   MELONIE      TORRES                       CA     90009426805
6623B75277B46B   CHRIS        MAHONE                       NC     90012077527
66241451872B27   ANDUALEM     TIRUSEW                      CO     90012704518
6624154628B163   HERNANDEZ    RENATO                       UT     90008515462
66242559972B36   TROY         HOWDEN                       CO     90010805599
662426A1772B43   AARON        PLEDGER                      CO     90013316017
66242A9195B238   MARILYN      MCQUILLEN                    KY     90008010919
6624363765B241   KAYLA        MILLER                       KY     90011516376
66244452572B27   JANICE       BRISNEHAN                    CO     90001194525
6624458112B828   TONYA        WILLIAMS                     ID     42033375811
66245117572B36   JOHN ALEX    MACKINNON                    CO     90012741175
66245AAA391562   RAVEN        HUGHES                       TX     90012080003
662464A3351354   NORA         BRENES-ACOSTA                OH     90011464033
662465A2A91562   FELIPE       JARAMILLO ROMERO             TX     75099335020
6624672534B588   LORNA        RICHARDSON                   OK     21565757253
6624681685B531   MARY         BARTO                        NM     90006448168
66246A6398166B   LINA         ADAMS                        MO     90004960639
662475A4972B29   JUSTIN       CARLSON                      CO     90012705049
66247642A51354   KADE         TAYLOR                       OH     90013546420
6624781A972B43   ROSA         CONTRERAS                    CO     90008678109
66248AAA872B36   MCCLINTON    LATOYA                       CO     33099070008
6624983A72B828   KELLY        DODSON                       ID     42074098307
662499A1972B29   IVONNE       CHACON                       CO     90008009019
6624B42964B588   EDNA         ABSHIER                      OK     90013654296
6624B528855977   LORENA       SALAS                        CA     90011075288
6624B59164B268   ROSE         AREVALO                      NE     27002935916
6624B78377193B   ELIZABETH    SHEPHERD                     CO     32077637837
6625135878166B   CHEROKEE     RIMPSON                      MO     90013663587
66251419572B27   LINDSAY      BETHEL                       CO     33024584195
6625172432B828   ANDREW       MAIN                         ID     90006507243
6625225385B235   ALICIA       SOLIS                        KY     90013552538
6625233657B46B   MITCHELL     SYLVER                       NC     90013553365
6625318297B46B   BARBARA      CARD                         NC     90012871829
66253786372B49   ROSA         CAMPUZANO                    CO     90009517863
662538A7372B43   SILVIA       VILLAGOMEZ                   CO     33062428073
6625456A32B269   DENNIS       AUSTIN                       DC     90000985603
6625466762B828   SAUL         CUEVAS                       ID     90004826676
6625495A65B241   SHA-DONYA    BRYANT                       KY     68008149506
6625515488B346   COSTONZO     BRYANT                       SC     90009361548
66255629476B69   HEATHER      BEAVEN                       CA     90008906294
6625575364B27B   KATIE        BARROW                       NE     90014427536
66255A9A83168B   CHRISTINA    HERNANDEZ                    KS     22059100908
66256177A61964   SANDRA       MOAT                         CA     90009441770
66256867A7193B   MARTY        BENNETT                      CO     32082278670
66256A51681644   ELLA         COBB                         MO     90013800516
6625717365B235   MARIA        MILLINER                     KY     68022431736
6625738615B531   ANTOINETTE   QUINTANA                     NM     36082353861
6625765424B588   MAGDIEL      RIOS                         OK     90011476542
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 488 of 2350


66257892772B36   LARRY           BOYD                      CO     90001488927
6625818A555977   JUAN            COSIO                     CA     90002491805
662584A9281644   KENNETH         DAVIS                     MO     29013154092
6625886A171964   MIRNA           SCHOOLFIELD               CO     90013008601
66258A42172B27   MARGARET        BOYLE                     CO     33034550421
66259A4194B588   DAISY           IXCOT                     OK     90014730419
6625B275693729   NICKOLE         GLANTON                   OH     90013632756
6625B476481644   CARY            CRAINE                    MO     90007484764
6625B64418B168   MARIA           MARTINEZ                  UT     90001356441
6625B76225416B   VICKI           NEISZ                     OR     47056147622
6625B81A27B46B   JOSE            MARTINEZ                  NC     11053208102
6625B83995B531   RENE            ARAGON                    NM     90009488399
6625B8A2655973   JESSICA         NEGRETE                   CA     90013228026
6625B928191562   EDITH           GOMEZ                     TX     90012199281
6626173222B828   GUADALUPE       GARCIA                    ID     90013067322
662619A4972B43   SHEILA          SANACORE                  CO     33080219049
66261A7344B588   JOSE DE JESUS   ADAME CARDOZA             OK     90015240734
6626217545B53B   DELILAH         SANCHEZ                   NM     90011091754
6626226A84B27B   RICKY           DAVIS JR                  IA     90015302608
66263326172B27   BRANDI          JACKSON                   CO     33052323261
66263398A2B828   ROXANNE         MCGUIRE                   ID     90012003980
662638A9351354   JESSICA         MURRAY                    OH     90008848093
6626518745416B   AARON           HUNT                      OR     47078621874
6626525185B235   STEVEN          PATTERSON                 KY     90009642518
66265A44461936   ALFREDO         SEGURA                    CA     46095760444
6626615355B241   JACQUELINE      DAVIS                     KY     68008151535
66267A21172B43   JASON           TOLER                     CO     33074920211
6626884A272B36   LAURA           FRIAS                     CO     90006418402
662689A2A4B588   BETHANY         TINSLEY                   OK     21565819020
6626978847193B   KRYSTAL         CASTANON                  CO     90011167884
66269865A5416B   JAMIE           MOON                      OR     90014438650
6626B166291998   KEYARA          BARNES                    NC     90005661662
6626B49744B221   ALEZ            ROBEY                     IA     90004264974
6626B77694B588   DAVID           DANNER                    OK     21502497769
6626BA1144B27B   KATHLEEN        JAMROZY                   NE     27019270114
6627174432B828   DANIEL          DISMUKE                   ID     90012947443
6627218A73168B   AARON           ADAMS                     KS     22086381807
6627281947193B   ZOE             HOLOD                     CO     90006928194
6627313955B531   STEPHEN         GARCIA                    NM     90004221395
6627356525416B   DAMIEN          BRADLEY                   OR     90014695652
66273699A63646   BRITTANY        MISCHE                    MO     90011646990
6627369A755973   DIANA           HERNANDEZ                 CA     90011236907
662737A875B235   PATRICIA        UNSELD                    KY     90012577087
6627385825B596   NOEL            GARCIA                    NM     90009648582
6627397614B588   FIDENCIO        SANTIAGO                  OK     90013019761
6627449817B46B   AJA             COSTNER                   NC     11003064981
66274521A85946   RODNEY          LEON                      KY     90004345210
6627543658166B   WHITE           GLOVE                     MO     90011004365
6627578A391522   CHRISTY         CORTEZ                    TX     75081687803
66276A66172B29   JOHN            PEREZ JR                  CO     33063290661
66276A8A172B27   CHRISTINE       SCHLONEGER                CO     90010130801
662772A824B588   RAFAEL          ALVARADO MUNGUIA          OK     90011632082
6627835765B235   SIMONE          DILLARD                   KY     90012383576
6627888344B268   OLGA            THOMPSON                  NE     90014108834
6627891189134B   ALVARO          QUEZADA                   KS     29002119118
66278A77A72B27   DEMPSEY         TUCKER                    CO     33098560770
662798A364B559   JUSTIN          DUPUIS                    OK     90012098036
662798A935B531   JARED           BETHEL                    NM     90012768093
66279A5A361936   ANA             SALAZAR                   CA     46068030503
6627B24215B235   RICHMOND        BOOKER                    KY     68023772421
6627B693163646   LAURI           STANGER                   MO     27568286931
6627B839A71964   JERRAD          NORTON                    CO     90012778390
66281143A55975   ALFONSO         LOPEZ                     CA     90006151430
6628185788166B   ABBY            FORBES                    MO     90013258578
66281AA5371964   PAUL            MORALES                   CO     90014410053
66281AA8A72B27   ROSE            SILLETTO                  CO     90013910080
6628237367B46B   PAUL            ALOMA                     NC     90011023736
6628365668166B   SHERIHA         GANT                      MO     90009656566
66283A91255975   TRAVIS          DOBON                     CA     90014140912
6628497937193B   PAUL            VIBERT                    CO     90011009793
66284A8374B588   DONNA           ELLIS                     OK     90011340837
66284AA665B241   FRED            FAHNBULLEH                KY     68074470066
6628512827B46B   ERIKA           BENITEZ                   NC     90015191282
66285A52877369   DANELLE         ADAMS                     IL     90013790528
66285A55791562   RICARDO         GUZMAN                    NM     90014230557
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 489 of 2350


66285A99424B4B   EBONY        OLIVER                       DC     90010070994
6628638658166B   BENJAMEN     PUDENZ                       MO     90013663865
6628666A37B46B   AMANDA       FUENTES                      NC     90014886603
6628712667193B   CHRIS        FOWLER                       CO     90012401266
66287385972B36   ILIANA       LEAL                         CO     90012033859
66287662472B29   JASON        RUNSTROM                     CO     90002556624
66287A6697B46B   KAREN        PORTER                       NC     11014840669
6628867545B241   ADAM         ROGERS                       KY     90013196754
6628951585B241   TARA         KENNEDY                      KY     90011005158
66289777A91562   LUZVIMINA    CONTANZA                     TX     90006467770
6628B2A314B27B   MICHAEL      SEVERIN                      NE     90012712031
6628B41475B235   SHAVONNE     DUNLAP                       KY     68089114147
6628B436791562   LUCIA        SANCHEZ                      TX     90013934367
6628B552551354   SHERRY       MOORE                        OH     90013695525
6628B792A84392   MATTHEW      MALONEY                      SC     90009117920
6629168A25B531   PATRICA      VILLEGAS                     NM     90013926802
66291694A91522   EVANGELINA   ONTIVEROS                    TX     90014686940
66292331972B36   CERDA        CONSTANTINO                  CO     33017203319
66293159972B27   DEIRDRE      GREENEMEIER                  CO     33008461599
6629318685B386   JOHN         KEELE                        OR     44506111868
66293365A91592   JESSICA      SOMMERFELD                   TX     90014093650
66293644A93762   TIFFANY      HAILEY                       OH     90001416440
6629398A74B588   TANIQUA      GREEN                        OK     90013689807
66293A61955977   KOU          VANG                         CA     90011030619
6629418565B241   SAUL         VASQUES                      KY     90006901856
6629475258B155   JAMES        CALLAGHER                    UT     90009677525
662955A683369B   STEPHANIE    OBOYLE                       NC     90011705068
6629583645B531   JESSICA      VELETA                       NM     36019598364
6629763974B588   JOE          PHILLIPS                     OK     90013086397
66297949872B43   JINA         VIGIL                        CO     33041139498
6629825915594B   YURITZI      TORRES                       CA     90007122591
66298594472B36   ERIKA        CALDERON                     CO     90014175944
662986AA155977   LILIANA      MADRIGAL AGUIRRE             CA     90013226001
66298789172B29   CARLOS       RAMIREZ                      CO     90009477891
66298887A91998   GAIL         ALSTON                       NC     90015168870
66299939A8166B   JASON        MILLER                       MO     29006389390
66299992A5B531   ARMINDA      GONZALES                     NM     90013049920
66299A62772B49   VILMA        PENA                         CO     33077990627
6629B4A7272B36   NORMA        MEJIA-CORTEZ                 CO     33070844072
6629B715185886   JOSEPH       PEABODY                      CA     90013227151
6629B87A64B588   JESSICA      BOBBITT                      OK     90013838706
662B119A991562   YVONNE       HERNANDEZ                    TX     90009571909
662B181845B531   MIGUEL       NUNEZ                        NM     90007888184
662B186225416B   JENNIFER     ABBAS                        OR     47038848622
662B186A12B89B   DAVID        TOWELL                       ID     90007488601
662B1A4A97193B   RUSSELL      BURNETT                      CO     90013630409
662B2213393726   FRANK        REESE                        OH     90013912133
662B2373172B43   TROY         MARSHALL                     CO     90009793731
662B2914191552   MARIA        CASTILLO                     TX     90008539141
662B342625416B   ROBERT       POWERS                       OR     47034544262
662B3514972B29   MICHAEL      JOHNSON                      CO     90013335149
662B3933A4B562   CRUZ         MAJALCA                      OK     90014849330
662B3A7A43168B   JESUS        CANALES                      KS     22050180704
662B469A677381   ASHANTI      CLARK                        IL     90012726906
662B4A9395B531   CHAVEZ       PRISMA                       NM     36011490939
662B54A5881644   CAMERON      BRAY                         MO     90014544058
662B5568891592   PINTOR       ANDRES                       TX     90006605688
662B559455B241   ELAINE       MCMAHAN                      KY     90007835945
662B57A5672B43   MELISSA      BARMANN                      CO     33014687056
662B5A7A55B531   JEFFREY      HAMM                         NM     90014280705
662B5AA1281644   DAVID        CARTER                       MO     90011250012
662B6361191998   LATANYA      BARNETT                      NC     90013963611
662B669965B531   JULIANNA     ORTIZ                        NM     36011496996
662B6913993729   STEVE        MOORE                        OH     64575669139
662B736594B27B   THERESA      MEYER                        NE     90003433659
662B7543191562   AMAIRANI     TREVINO                      TX     75006865431
662B7557572B36   RENE         AREVALO ARVIZO               CO     90012075575
662B769A655975   KARLA        FARIAS                       CA     90014146906
662B779274B588   ALEX         CRUZ                         OK     90013047927
662B7A3988B168   SHELLI       ADAMS                        UT     31046860398
662B837712B828   FRANK        TRUJILLO                     ID     90006483771
662B851994B27B   RHONDA       MOSES                        NE     27044215199
662B9341A72B22   ROSALBA      MORALES                      CO     33067863410
662B9514272B27   MONICA       LANE                         CO     33018255142
662B954A77B46B   RAYNELLE     HUGLEY                       NC     90014025407
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 490 of 2350


662B963612B828   PATRICI       ARREDONDO                   ID     90011036361
662B9682881644   THERESA       OPATRNY                     MO     29063556828
662B9784791522   VICTOR        DOMINGUEZ                   TX     75055787847
662B996623B125   ALEX          MEDINA                      MD     90015399662
662BB464A5B531   MARTIN        ASTORGA                     NM     90015064640
662BB838172B27   RAMONA        GAVIN                       CO     33028918381
66311573A5B531   JESSICA       PEREZ                       NM     90014765730
663124A165B531   DAVID         TAPIA                       NM     36090284016
6631262A23168B   ADAM          WOODROW                     KS     90015196202
66312A65791998   ISLANDE       LAMARTINIERE                NC     90002680657
6631313A261964   CASIE         CALAHAN                     CA     90011321302
6631318962B828   MICHELA       TALAMANTES                  ID     90002101896
663132A5891522   DENISE        JAQUEZ                      TX     90013902058
66313461A8166B   JENNIE        CORRAZANA                   MO     90013314610
663135A785B531   LAURA         JURADO                      NM     90006605078
66313841A71964   CHRISTINA     CAMPBELL                    CO     90013138410
66314316A72B29   CYNTHIA       ARAMBULA                    CO     33084343160
663149A1A7B653   W             GORDON                      GA     15010719010
663149A248166B   TIFFANY       JONES                       MO     90013779024
6631519A84B27B   JORDAN        BELL                        NE     90012141908
6631643558B355   TRACI         SIMS                        SC     90014594355
66316A74171964   KANDICE       JOHNSON                     CO     90010860741
66317491172B29   CENORINA      SAUCEDO                     CO     33033114911
6631778A772B36   JESSICA       RYAN                        CO     90011847807
6631823335B235   DEVANA        BUSH                        KY     90009072333
66318495A61964   JOSE          ORTEGA                      CA     90011414950
6631889292B828   DANIEL        CHRISTENSEN                 ID     90014868929
6631926A672B43   CHRIS         MARTINEZ                    CO     90014522606
6631959955B241   ASIA          FOWLER                      KY     90011365995
6631B439391562   AMY           CISNEROS                    NM     90013934393
6631B781A93729   CARLOS        CENTENO                     OH     90013047810
66321625A51354   JERON         MAYS                        OH     90011936250
6632238645B235   AMANDA        VINCENT                     KY     90007133864
6632252185B531   DAVID         LOWERY                      NM     90012485218
6632325714B588   UNICA         RECOR                       OK     90010502571
66323311272B27   ANABEL        ORTEGA                      CO     33042273112
663234A695B241   ADAM          LYLES                       KY     90014884069
66323861572B43   CAMERINA      HUIZAR                      CO     90012798615
66323A81A93729   MIRANDA       REITZ                       OH     90009150810
663242A144B268   KATHY         COMBS                       IA     27070402014
6632439415B235   VALERIE       DUNCAN                      KY     68029293941
66324519A55973   JOANNA        CASTELLANOZ                 CA     90006065190
66324A11693729   SUZIE         LAMBERT                     OH     90003310116
6632537165B531   JASON         MARKULIN                    NM     36015043716
66325378A4B588   MESHA         GREEN                       OK     90014853780
663255A2191522   SAUL          ALVAREZ                     TX     90011765021
663265A8391522   RYAN          BROWN                       TX     90011765083
66327392A93729   STEVEN        FAIR                        OH     90004573920
6632768994B588   CHERIE        TUCKER                      OK     90011436899
6632772414B268   ALBERTO       HERNANDEZ                   IA     27091347241
6632783335416B   TISHA         WOOTTON                     OR     90013268333
6632798A95B241   CHASITY       HIGGINS                     KY     90014779809
66329248A55973   JOE           LOURENCO                    CA     90002942480
6632932997193B   VICTOR        RUBIOVILLANUEVA             CO     32042373299
6632947215B531   ANDREA        MATA                        NM     36025094721
6632951A291562   SHELSEA       RAMOS                       TX     90014015102
663299AA172B27   LAVERNE       IRONWING                    CO     33005639001
66331147A7193B   CAROLYN       SALING                      CO     32014621470
6633188355416B   BRUCE A       SPOTSWOOD                   OR     90012178835
66331924872B36   JUAN          VILLANUEVA                  CO     90013989248
66331A9214B27B   SARAH         GARCIA                      NE     27042230921
6633215A172B36   HAYDEE        OROZCO                      CO     33091051501
663322A4A91522   GLORIA        CASTOR                      TX     90014842040
6633263255B241   APRIL         RAIN                        KY     68008176325
6633283115B235   JONICKA       HARRIS                      KY     90014568311
66334762124B64   JOCELYN       HERBERT                     DC     81018877621
66334A6235B241   LEA           BOARD                       KY     90011220623
6633621454B588   ROBERT        FOWLER                      OK     21573282145
6633641A771964   LILI          AGUILA                      CO     32069414107
6633645395416B   CHRISTOPHER   LEDGETT                     OR     90014764539
6633677167193B   RUBEN         CHAVEZ                      CO     32018867716
66336899172B43   LUIS          QUINTERO                    CO     90009068991
6633718155B235   MICHAEL       GLASGOW                     KY     68015101815
66338152572B43   MATTHEW       HAUPT                       CO     33007841525
66338242A71964   JOSE          MARTINEZ                    CO     90004802420
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 491 of 2350


66338A8A25B235   BAISHIA        PAGE                       KY     90011980802
66339AA857193B   TRACY          HALL                       CO     32075460085
6633B14197B46B   SONIA          HERNANDEZ                  NC     11031721419
6633B462191592   TONY           MUNOZ                      TX     90014484621
6633B54AA51354   KRISTINA       BOWLING                    OH     90012065400
6633B728872B36   TODD           RICHEY                     CO     33039557288
6633B8A697193B   ADAM           BRADSHAW                   CO     90014468069
6633B915455977   PERTER BRYAN   SHAW                       CA     90006029154
6634163974B588   JOE            PHILLIPS                   OK     90013086397
6634186378166B   SOCORRO        GUTIERREZ                  MO     90007038637
66342975557B92   AUGUSTO        GOMEZ                      PA     90014579755
6634325875B531   MELISSA        GALLEGOS                   NM     36069512587
6634329698166B   JUAN           CORDERO                    MO     90010622969
6634356A324B64   TYRONE         PINKNEY                    DC     90014385603
66344421624B64   LEJUAN         GREEN                      DC     90013194216
6634539A16193B   DENISE         GIBBS                      CA     90010523901
6634588794B588   LAURA          MELECIO GARCIA             OK     90013258879
66345A22A61964   JAMIE          ALBARRAN                   CA     90014430220
66346487772B36   AUSTIN         ZOETEWEY                   CO     90000644877
6634674517193B   TANYA          ARTHUR                     CO     32084737451
6634717627B761   SOLOMON        BLACK                      CA     90015521762
6634719A355977   VICTOR         ESCAMILLA                  CA     49021981903
66347243A8166B   ASHLEY         FRANKLIN                   MO     90008552430
6634825515B531   CHEYENNE       BOOG                       NM     90012462551
6634888A972B43   FELISHIA       MARTINEZ                   CO     33044048809
6634934A73168B   LEAYA          FAGGITT                    KS     22077283407
6634956445B241   ROBERT         WARREN                     KY     68089215644
663498A3A72B36   ROBERT         LANDSPERG                  CO     90011428030
6634B589961964   ROBERTO        RUIZ                       CA     90014885899
66351856A71964   OSCAR          MOLINA                     CO     90008028560
66351997272B29   MICHAEL        CORDOVA                    CO     90013429972
6635313777193B   DAVID          HARRIS                     CO     90012471377
6635335365B241   RONALD         JOHNSON                    KY     90010223536
6635478212B828   MIGUEL         BARROSO                    ID     90009917821
6635485285B531   JOHN           URANGA                     NM     90014878528
663549A7881644   MARSHON        BYNUM                      MO     90005889078
66354A67755977   JESSE          HERNANDEZ                  CA     90002010677
6635541118166B   THEOPHLIS      JOHNSON                    MO     90014944111
6635555317B46B   SHANYKA        BALVER                     NC     90014695531
66355561872B43   BRANDON        TRUJILLO                   CO     90014595618
6635586152B828   KAREN          OWENS                      ID     42022738615
66356173A55977   LIZBETH        LOZANO                     CA     90015181730
6635617798166B   JESSICA        BOUDROW                    MO     90011151779
6635652242B828   MICHAEL        YOUNG                      ID     90012695224
6635658953168B   JUSTIN         LYMAN                      KS     90015215895
6635866725B241   PAYGO          IVR ACTIVATION             KY     90012726672
6635898A45B235   JOHN           FERGUSON                   KY     90010989804
66359242A71964   LYNN           PARKER                     CO     90007042420
66359264A3168B   ROBIN          JAY                        KS     22009912640
66359714A4B588   CLAUDIA        VASQUEZ                    OK     90013807140
66359A68557549   KELLY          OCONNEL                    NM     90000670685
6635B755771964   ANDREW         DENNISTON                  CO     90013047557
663612A987B329   EDUARDO        MAMO                       VA     90006402098
6636147977B46B   SUSAN          DILLEHAY                   NC     90001954797
66361A21855975   TINA           MARTINEZ                   CA     90008340218
66361A57161964   NOEMI          MARRON                     CA     90014530571
6636267537193B   CARLOS         TOVAR                      CO     90009296753
6636281115416B   JEREMY         KEPHART                    OR     90014518111
6636358A655975   FABIOLA        VALDEZ                     CA     48080165806
6636393964B588   SHARON         TODD                       OK     90000849396
66363A7777193B   STEPHEN        EDWARDS                    CO     90013630777
66363A87991599   YOLANDA        FLORES                     TX     90007580879
6636455745B136   SHARON         WILLIAMS                   AR     90011575574
6636461438654B   ADRIAN         PRUITT                     TN     90015136143
6636495922B828   MANDI          MOORE                      ID     42042019592
66364A16A72B29   JUVENAL        MEDRANO-ROBLES             CO     90012160160
6636528A172B27   PRIDOLINO      BERGEN                     CO     90011122801
6636561313168B   JASON          SEARS                      KS     90015216131
6636675454B588   TRAMINE        ALLEN                      OK     90012537545
6636677A172B27   REMEDIO        BERNAL                     CO     33091457701
66366859A7193B   LISA           REEVES                     CO     90014688590
6636699763B125   DAVID          CANALES                    VA     90014739976
663683A3671964   MARIA          HERNANDEZ                  CO     90010413036
6636858215594B   ALFREDO        AGUILAR                    CA     90007155821
6636861455B531   MILYAH         ORTEGA                     NM     90010216145
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 492 of 2350


6636888955B241   VICTORIA      BURGIN                      KY     90013708895
66368A1187193B   JAMES         THOMPSON                    CO     90001850118
6636928397193B   YOLANDA       LOPEZ-CHAVEZ                CO     90013932839
6636929973B372   DONNA         ELLISON                     CO     33021852997
6636B25A472B29   JAMILETH      TERRAZAS                    CO     90010192504
6636B33445B241   CHRIS         MCCRAW                      KY     90012913344
6636B531355975   MARIA         GONZALEZ                    CA     48030585313
6636B835572B36   MANNY         MARTINEZ                    CO     90010978355
6637171278B168   TIFFANY       HEFFERNON                   UT     90012667127
6637191314B588   DETRA         KNIGHT                      OK     90013389131
663719A8A72B43   VERONICA      GONZALES                    CO     33036109080
6637218575416B   ROBERT        CHENEY                      OR     90015041857
66372316A91522   ROSA          PARRA                       TX     90015123160
6637326A172B29   BRIGET        ORTIZ                       CO     90012612601
6637368987193B   JUSTIN        MCCARTHY                    CO     32025286898
663736A5161964   STEPHANIE     COVARRUBIAS                 CA     90014876051
66373A36372B27   MAYRA         OLIVAS                      CO     90009440363
663741A2661964   CONSTANCE     DEMBY                       CA     46095671026
6637452162B828   MICHAEL       SHAW                        ID     90000375216
66374865A55973   ABRAHAM       MADRIGAL                    CA     90013728650
6637497967193B   SEBRENA       NORTON                      CO     90013229796
663757A1281631   CHRISTOPHER   LOWE                        MO     90007137012
66375A6A74B27B   MICHAEL       NAGEL                       NE     90005880607
66376A92972B43   LUIS          SANCHEZ                     CO     90011520929
6637788867193B   AMY           LOPEZ                       CO     90011878886
66377A3544B588   TASHA         BURTON                      OK     21536040354
66378392372B27   CHAD          DEAN                        CO     90000643923
6637966362B893   SALVADOR      ESCAMILLA                   ID     90008066636
66379911624B7B   HAILEMARIAM   TIRUNEH                     DC     90010569116
6637B65513143B   KATHY         KERNEBECK                   MO     90008106551
6637B685781644   NICOLE        HEWITT                      MO     90013066857
6637B738A4B588   CHASITY       WHITE                       OK     90013367380
6638136515B235   INDIA         JACKSON                     KY     90015343651
66381422372B36   EVELYN        HERNANDEZ                   CO     90005724223
6638176157B46B   BRODRICK      STEWART                     NC     11064607615
66381A37A91522   LORENA        MARTINEZ                    TX     90003920370
66382738272B36   VANESSA       PEREZ                       CO     33092477382
663829A4691592   BRANDY        GONZALEZ                    TX     90002699046
66382A22872B27   PATRICIA      RUSH                        CO     33095260228
66383183A7B46B   RAY           JACKSON                     NC     90014781830
6638387455B531   JOSE          PATZAN-MIRANDA              NM     36014738745
6638436694B588   CHARLES       SLAYTON                     OK     90014713669
66385742772B43   JOSEPH        ZEPHYRINE                   CO     90014377427
6638585A172B43   DINAE         GURULE                      CO     90009318501
66385A56472B29   SIDNEY        BENEDICT                    CO     33066400564
66387262272B43   TSHARA        SWARTZ                      CO     33056372622
663874A3972B27   CARLOS        TELLEZ                      CO     90004254039
6638777364B268   RACHEL        EDICK                       NE     90003847736
6638784337B365   CRYSTAL       VINSON                      VA     81095018433
6638828192B255   MICHAEL       TILLAR                      DC     90002952819
66388644272B27   CARRIE        LEONARD                     CO     90013836442
66388776A33656   SHAWN         HIGGINS                     NC     90012337760
6638915A172B36   HAYDEE        OROZCO                      CO     33091051501
6638919747B46B   MICHAEL       HAMMES                      NC     90011771974
6638981A171964   WILLIAM       CLAYTON                     CO     90012698101
6638B37465B241   SANDRA        COOK                        KY     90014313746
6638B43848166B   MARLON        BARNETT                     MO     90013664384
6638B985A7193B   JAMONION      KEYS                        CO     90005059850
6638BA75793729   CINDY         PAUL                        OH     64510550757
6639163335B372   LEVI          REPP                        OR     90012236333
6639166425B235   CANDICE       BRUNTON                     KY     68058186642
663916A546193B   GHAZWAN       MANSOUR                     CA     90007406054
66392528872B27   RUTH          PRINCE                      CO     33058355288
6639316AA61936   KARLA         ARTEAGA                     CA     90001891600
6639363434B588   LEADREA       HODGE                       OK     21564886343
663941A3261936   SILVIA        MORALES                     CA     46068571032
6639429465B235   KAITRIN       OHARA                       KY     90001202946
66394645872B43   JOSEPH        KITURA                      CO     90010306458
6639521A261924   JUAN          TOSCANO                     CA     90012042102
6639556A324B64   TYRONE        PINKNEY                     DC     90014385603
6639583A755975   ZAINDRA       FLORES                      CA     90012898307
6639599748B168   LAVONNE       CASTAÑEDA                   UT     31047609974
663959A974B27B   RICHANTE      HYDE                        NE     27096309097
6639685367193B   SHERRY        HENDERSON                   CO     90013318536
6639744985B241   MICHELLE      DAMATO                      KY     68050754498
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 493 of 2350


663974A7997943   GUSTAVO       SANDOVAL                    TX     90007684079
6639755A691592   JESUS         BAYLON                      TX     90014785506
66398451672B36   CARLOS        PASTOR                      CO     33093074516
663991A317193B   YVETTE        BAROS                       CO     90009861031
66399344572B27   MARCO         LOPEZ                       CO     90007453445
66399AA992B828   CHRISTI       ALLEN                       ID     90009220099
6639B686891522   DENNISE       MONTALBAN                   TX     90014696868
6639B845A71964   BOBBY         ARCHIBEQUE                  CO     90014228450
6639BA22255973   ALICIA        QUINTANA                    CA     90001160222
663B113445416B   DAVID         CREITH                      OR     90013271344
663B13A615B241   MICHAEL       HOLSAPPLE                   KY     90014173061
663B145A855977   LUPE          RIVERA                      CA     90014154508
663B146A772B36   ARMANDO       ACEVEDO                     CO     33087734607
663B154374B27B   ALICE         BLACK                       NE     90009365437
663B1837171964   THOMAS        PADILLA                     CO     90005888371
663B1A89461964   STACEY        MILLER                      CA     90014330894
663B2169672B36   EMILIO        HERNANDEZ                   CO     33025251696
663B234457B46B   LAVONDA       ALEXANDER                   NC     90010123445
663B2434A91522   CRYSTIANLEO   REYES                       NM     90011764340
663B263164B562   CAMERON       STAFFORD                    OK     90008186316
663B2777291998   MICHELLE      HOWARD                      NC     90009727772
663B2911663646   TRACY         COLLINS                     MO     90006339116
663B324A951354   SHANI         COLLIER                     OH     90014622409
663B34A2155973   ROSEMARY      NICKLES                     CA     48016714021
663B3719A4B588   JC            BROWN                       OK     90014107190
663B3949A91998   CHEREE        HARTSFIELD                  NC     90011659490
663B3A21971964   VALERIE       DUMAS                       CO     90013020219
663B4224991998   ANDREW        WALSH                       NC     90014462249
663B5272855977   DANAE         ROBERTSON                   CA     90001102728
663B5669572B29   JALEESA       HARRIS                      CO     90007306695
663B56A6361964   ERUBED        DUQUE GOMEZ                 CA     90001386063
663B5768A2B828   MARTIN        JOHNSON                     ID     90008927680
663B7252163646   CHASTITY      BRELSFORD                   MO     27587612521
663B7349161961   CHARLES       SMITH                       CA     90011993491
663B7A9217193B   IRENE         WILLIAMS                    CO     32089280921
663B8119755975   ALONZO        JOHNSON                     CA     90013011197
663B8212272B43   JUAN          GONZALEZ                    CO     90014332122
663B829A35B241   SANDRA        BASTIN                      KY     90009822903
663B885945594B   CRISTINA      CAMACHO                     CA     90006458594
663B8919872B36   JOSSELINE     ARCHILA                     CO     90011909198
663B8981191562   ALDO          CORONADO                    TX     75071999811
663B8A85A71964   DOTTIE        GILLIAM                     CO     90012030850
663B921A872B36   JOSEPH        TORRES                      CO     33082142108
663B9249691998   HEATHERY      DUNN                        NC     90013122496
663B9253355973   FLABIA        RUBIO                       CA     48045302533
663B946A872B27   JOHN          PEREZ                       CO     90012994608
663B9493172B43   JUAN          HERNANDEZ                   CO     33056604931
663B9676672B29   MARCELA       HERNANDEZ                   CO     90001366766
663B968242B828   KENNETH       PRICE                       ID     90012476824
663B9834991522   GABRIEL       VALEZUELA                   TX     75013018349
663B9A62657127   GERBER        PAREDES                     VA     81085120626
663BB2A338166B   JAKE          PATTY                       MO     90014562033
663BB96A84B27B   JENNIFER      SHADY                       NE     27080649608
66411173972B36   JOYCE         MENDEZ                      CO     90010191739
6641153814B27B   MARIA         RIVERA                      NE     27095085381
6641256743367B   KAREN         LITTLEJOHN                  NC     90014545674
6641265684B588   DEMETROUS     THOMAS                      OK     21508236568
66412735A8166B   LESLIE        GOODLOE                     MO     90012827350
6641278275416B   BRENDA        JONES                       OR     90014707827
66412874472B29   RENE          CISNEROS                    CO     33050088744
664134A5851354   DEBRA         MORRIS                      OH     90007184058
66413655772B27   KEN           TRUMBULL                    CO     90006796557
66413725172B36   JUAREZ        EDGAR                       CO     33095257251
6641374A631456   BARBARA       HEUS                        MO     27573497406
664139A816196B   YESENIA       VALDEZ                      CA     90010649081
66413A44693729   DEBBIE        CLARK                       OH     90009810446
66413A78561936   CHARLISSE     BROWN                       CA     90010590785
6641519A15B235   DENISE        WITT                        KY     68025861901
6641565915B235   ASHLEY        PERRY                       KY     90004186591
66415784A91522   DANIEL        TORRES                      TX     90001967840
66415798A7193B   GUADALUPE     VERA                        CO     32046667980
664157A2A51354   ADAM          HUGHETT                     OH     90006167020
66416491A55975   ERIN          KELLY                       CA     90014204910
6641649735B531   YESENIA       PEREZ                       NM     90013434973
6641667367B36B   JULIO         MEJIA                       VA     90004326736
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 494 of 2350


66416A26A91562   MELISSA      PEREZ                        TX     90010690260
6641739855416B   PAMELA       ROSE                         OR     90014693985
6641789A44B562   FRENCHE      DRAKE                        OK     90012628904
664188A5993729   DANIEL       PALMER                       OH     90011158059
66418A83172B27   HILDA        LOPEZ                        CO     33049060831
66419383A5B235   BENJAMIN     ROBINSON                     KY     90011893830
66419782A72B43   ANTHONY      MARAS                        CO     90012887820
66419AA5491592   JESSE        JAMORALIN                    TX     90002190054
6641B13425B241   DOUG         DAGES                        KY     90014621342
6641B6A3461936   LUISA        SANCHEZ                      CA     46020796034
6641B755155975   JOHN         RAMIREZ                      CA     90011237551
6642148728B168   WILLIAM      SMITH                        UT     31014744872
6642193577B46B   NIKKI        DODDS                        NC     90014569357
66421A67191592   LIDIA        PERKINS                      TX     75046390671
664227A7133698   SERENA       CALLEJA                      NC     12016197071
6642345AA5416B   NICOLE       ELLIOTT                      OR     90003484500
66424446772B36   ERIC         ARELLANO                     CO     33086164467
6642564A572B36   BERNARDO     SALGAO                       CO     33091716405
6642595918B168   TIM          BERRETT                      UT     31057109591
66425A9175416B   KELLY        WILSON                       OR     47036160917
6642643968B168   ANDREW       TRZNADO                      UT     90001944396
66426A63291562   CRISTINA     SOLORZANO                    TX     75018180632
6642863A961964   VANESSA      CONNON                       CA     90012686309
66428A7165B235   C            PAYNE                        KY     90014810716
6642948A461964   EVETTE       RODRIGUEZ                    CA     90007624804
6642957284B268   ALEX         FOSTER                       NE     27079025728
664297A4791562   ALMA         SAENZ                        TX     75005167047
664298A1A55975   RICKY        BARRERA                      CA     90012688010
6642B157672B43   ULONDA       GREENE                       CO     90015101576
6642B19953168B   A            HENDERSON                    KS     22068171995
6642B647624B7B   JOSE         GARCIAS                      VA     81071296476
6642B65297193B   TINA         PALMER                       CO     32053816529
6642B684491562   LILIANA      SABBY                        TX     90010746844
6642B87553B39B   TABATHA      POSTON                       CO     90004978755
66431381872B29   SANDY        BASULTO                      CO     90012653818
6643147525B287   JOANN        ROTH                         KY     90012364752
6643151A791592   DALIA        ELIAS                        TX     90013885107
66431978A5B235   MELISSA      PARKER                       KY     90013599780
6643244185B531   SYLVIA       ORTIZ                        NM     90010664418
66432736A71964   CITLALI      CASTILLO                     CO     32030767360
66432A62791362   ROXANA       ORELLANA                     KS     90009070627
66433189A8B168   MELISSA      ROLAND                       UT     90001361890
66433289A71964   JEFF         FERGUSON                     CO     90008202890
66433A29755975   DEWAYNE      BARTON                       CA     90013970297
66433A77261936   FERNANDO     HERNANDEZ                    CA     90006750772
66435285A91562   JESSICA      LOERA                        TX     90010632850
66435515972B36   ROSA         GAYTAN-DE SALAS              CO     33079545159
66435677A3168B   JAMES        HORNER                       KS     90009716770
6643574715B531   EDGAR        VALDEZ-ORDONEZ               NM     36021257471
6643595785B235   STEPHEN A    PALMER                       KY     90002829578
66436422172B29   CAMERON      GALLATIN                     CO     90013974221
6643644334B547   MICHELLE     DEDMON                       OK     90011904433
6643687152B828   ELISA        LARSON                       ID     42018928715
6643714364B268   MICHELLE     MARTINEZ                     NE     27002941436
664373A4691562   FRANCISCO    MAURICIO                     TX     75089563046
66437728A91998   JASMINE      MORRIS                       NC     90011837280
66437A22A7B46B   ELLA         FORNEY                       NC     90014210220
6643822484B27B   CHERIE       HECKMAN                      NE     90009052248
66439374672B27   ANTIONETTE   WARD                         CO     90008683746
6643977645B241   JASPER       HUNT                         KY     90014067764
66439885172B29   KEVIN        PADILLA                      CO     33000868851
66439A12372B43   MARTHA       CISNEROS                     CO     33047790123
6643B365131256   LUIS         GOMEZ                        IL     20595913651
6643B476354B84   DAVID        ANDERSON                     VA     90008764763
6643B579272B29   SALOME       FLORES                       CO     90005565792
66441118124B64   DEMLEW       AMARE                        VA     90006071181
664415A7691592   CANDI        IBARRA                       NM     75089625076
6644172914B588   SHEILA       RAILBACK                     OK     90010957291
66441AA5261936   SIERRA       PULLUM                       CA     46096770052
664421A972B828   CARREN       MATTSON                      ID     42020771097
664426A213363B   KENNETH      GRIFFIN                      NC     90012506021
6644387652B828   DEBRA        PIERCE                       ID     90011468765
66443AA5A7193B   MARTY        WHITE                        CO     32051990050
6644419813168B   CARLA        HARRISON                     KS     22060451981
664441A3561964   SUE          MALAN                        CA     90002261035
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 495 of 2350


6644434A791562   MARY         DE ROSSO                     TX     90003083407
6644447A591592   VIRGIL       JULIAN                       TX     75061104705
66445438A72B27   LAZARO       RASCON                       CO     33068314380
664464A3A93729   CLARENCE     WHITE                        OH     64537744030
6644669A35416B   BONNIE       HYLTON                       OR     90009946903
66446789553B64   ANNA         GARCIA MARTINEZ              CA     90012477895
66449237272B36   ROSA         BLEA                         CO     90013502372
6644972715416B   KEVIN        BRUCE                        OR     47090527271
66449AA6581644   KALIAH       MALONE                       MO     90015090065
6644B127661964   ENEDINA      RUBIO                        CA     46078431276
6644B18755416B   ABBY         DONNER                       OR     90012851875
6644B387A55973   CHRISTINA    JOHNSON                      CA     90010223870
6644B796263646   RUSSELL      HESSER                       MO     90011667962
6645111614B27B   WANDA        LEWIS                        NE     27054741161
6645229A761964   MARIALENA    FLORES                       CA     46042562907
6645233645132B   AUDREY       VARNER                       OH     90012753364
6645237477B46B   SORANLLY     PENA                         NC     11002473747
6645248268166B   ALVARO       FLOREZ                       MO     90013664826
664524A997193B   JON          CARSON                       CO     90013814099
66452A59491522   ADRIANA      GARCIA                       TX     90014430594
66452A98781644   AMY          POWERS                       MO     90013260987
664534A5A92836   JUAN         RANGEL                       AZ     90014054050
66453898972B29   ELIDA        MENODOZA                     CO     90015218989
66453A6518166B   RACHEAL      TALBERT                      MO     90015010651
6645424A993729   STEVEN       WILSON                       OH     64561982409
66454264A55975   OCTAVIO      ZAVALA                       CA     90015222640
66456558124B64   JOAQUIN      ANTONIO FELICIANO            VA     81055345581
66456A4117B46B   ANGELIA      STINSON                      NC     11090420411
66457381A4B588   BARBARA      ELCYZYN                      OK     90013503810
6645749335416B   MIKELL       DOETSCH                      OR     47011894933
6645793925B531   EUSTOLIA     MEDINA                       NM     36068649392
66457A52161964   MARIA        SAUCEDO                      CA     90013980521
66457AA5A72B27   JOHN         MARTIN                       CO     90011050050
6645828825B531   LAWRENCE     GONZALES                     NM     90014122882
664585AA671964   RODNEY       FLANNAGAN                    CO     90013235006
66458646A91522   MANUEL       RIVERO                       TX     75065986460
6645886115594B   CRISTOBAL    PEREZ                        CA     90007198611
66458A3A86B248   DANIELLE L   DARLE                        AZ     90014530308
66458AA7693729   CRYSTAL      MCKIBBEN                     OH     90014650076
66459391572B36   LONNIE       ISBORN                       CO     33094903915
6645984584B268   TONY         BROWN                        NE     90000518458
66459951A72B27   LUIS         RODRIGUEZ                    CO     33043419510
6645B15385416B   STEVEN       DUNN                         OR     90010611538
6645B468291522   SAMUEL       BISHOP                       TX     90014884682
6645B65545B235   BRIAN        LIVINGSTON                   KY     90013786554
6645B723991522   CARLA        CINTORA                      TX     90011767239
6645B788A55975   EDGARDO      BASURTO                      CA     90012617880
6645B825463646   VICTOR       HERNANDEZ                    MO     27565518254
6645B87A872B27   TERESA       CASTILLO                     CO     90009448708
6646193895416B   SAMANTHA     LUNYOU                       OR     90014479389
6646211374B27B   ROSA         RODRIGUEZ                    NE     27057631137
6646236677B46B   JEROME       SINGLETON                    NC     90000593667
6646241535416B   MADISON      BRANDT                       OR     90009184153
664655A6331587   HENRY        C                            NY     90013995063
664656A1955977   EDGAR        GALINDO                      CA     49017366019
6646591AA7193B   CHELSEY      HARTWELL                     CO     90013209100
6646598139187B   CHRISTINE    ROGERS                       OK     90013609813
66465A49491522   GUSTAVO      GALLEGOS                     TX     75067890494
6646623A25416B   ELIA         MERCADO                      OR     90006082302
6646635A65B531   CLAUDIA      ORTIZ                        NM     36017713506
6646652343B385   LUIS         QUIJADA                      CO     90005015234
664668A9272B36   JOSEPH       WILLIAMS                     CO     33008808092
66466A2567B46B   BAGNER       PEREZ                        NC     90009250256
6646734335416B   ROGER        EUBANKS                      OR     47031833433
6646872784B268   PARKER       ELOISE                       NE     27097347278
6646929597193B   NADINE       OLLIER                       CO     90014602959
6646949845B229   RACHEL       GILES                        KY     68014084984
66469A1555416B   KYLE         WOODYATT                     OR     90010970155
66469A42255973   TAYLOR       BOBBITT                      CA     48015310422
6646B771455975   MARI         VELAZQUEZ                    CA     90009297714
6646BA6815594B   ARISBEIDY    GUITERREZ                    CA     90003220681
6646BA9A472B29   RALPH        LOPEZ                        CO     90013310904
6647141A82B224   CAROLYN      SHEPHERD                     DC     90012874108
6647155454B562   MARTINA      LOTTIE                       OK     90010625545
66471612A55977   MARK         MARTINEZ                     CA     49041016120
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 496 of 2350


6647181317B46B   FELICITA     PLEITES                      NC     11077068131
66471A63472B36   KIRK         HIGHT                        CO     33039610634
6647327698166B   BARABARA     JOHNSON                      MO     29017112769
66473337172B36   BERNADINE    HERNANDEZ                    CO     90012303371
6647386372B828   VANNESA      GUAJARDO                     ID     90012768637
66473A9255B241   MCKENZIE     CHRISTENSEN                  KY     90008120925
6647429A491592   AARON        GONZALEZ                     TX     75079222904
66474775272B29   BRANDA       GOMEZ                        CO     90001037752
66474A12A4B268   ANGELA       LASOVICH                     NE     27085220120
66474A5184B588   FRANCIS      MCGOUGH                      OK     90015260518
6647518A85B241   EDDIE        ROBERTS                      KY     90013281808
6647585A861964   AIOTEST1     DONOTTOUCH                   CA     90015128508
66476727172B43   TODD         CRANDELL                     CO     33094947271
66477143572B27   AZUCENA      CORCHADO RODRIGUEZ           CO     90012091435
6647763655416B   JONNIE       BELLIZZI                     OR     47031846365
6647773A363646   BRYON        SCAIFE                       MO     90011067303
6647954658166B   HOPE         STEPHENS                     MO     90014715465
6647981664B588   EATH         MALILAY                      OK     90014768166
6647B2A7291562   ARLENE       HERNADEZ                     TX     90010642072
6647B362284329   SELLERS      RICHARDSON                   SC     90008043622
6647B3A6861936   KARLOZKRIZ   HERNANDEZ                    CA     46081753068
6647B547591562   PEDRO        CRUZ                         TX     90013965475
6648145178B155   MANUEL       GONZALEZ                     UT     31013834517
6648175444B27B   EGYPT        COOPER                       NE     90011147544
6648199938B161   LUCAS        MUNGARRO                     UT     90004869993
66481AA5972B36   JUANA        BADILLO                      CO     33023750059
6648243A991592   FERNANDO     SOLIS                        TX     90012834309
6648256987B46B   ROSARIO      DELGADO                      NC     90005395698
6648356672B828   ANA          ARELLAN                      ID     90011415667
66483636A81644   EDWIN        ESPINOZA                     MO     90013716360
6648453915B531   CRYSTAL      MARTINEZ                     NM     36061185391
6648459557193B   MICHELLE     MEAD                         CO     90014135955
6648464315B235   JAMES        HELM JR                      KY     68098736431
6648491A77193B   CASSANDRA    LOCKS                        CO     32086059107
664849A342B828   AMANDA       STINER                       ID     90014129034
6648521575416B   JAMIE        RAJKOVIC                     OR     47023302157
66485274572B43   PEGGY        BREIT                        CO     90013362745
66485687A55977   FRANK        HERNANDEZ                    CA     49012296870
6648574325B531   ALBERT       MARTINEZ                     NM     90002267432
66485786A5594B   SUZETTE      MATA                         CA     90007217860
66485972972B29   JOSEPH       SCAGGS                       CO     90012399729
66487235A91998   ELENA        CAMPBELL                     NC     17005992350
6648811745B531   SONIA        GRIEGO                       NM     90011921174
6648828394B27B   FELIX        ADAME                        IA     27054422839
6648842424B588   QUINCY       ALLEN                        OK     90014804242
6648878922B828   DONNA        THERIAULT                    ID     42036657892
66488A57291592   GUILLERMO    ROSALES                      TX     90012780572
66488A66A91998   KENIA        ALTAGRACIA                   NC     90000370660
6648915642B828   JOSEPH       EVANESKI                     ID     90000941564
66489545A91562   ADSMIN       CAMPOS                       TX     75085305450
664895A1972B43   DAVID        HAUSER                       CO     33061035019
6648B24537193B   NOELLE       KUDHOT                       CO     90013892453
6648B688A72B27   DAVID        ROBERTS                      CO     33012126880
664915AA572B36   MARCUS       MARTINEZ                     CO     90014875005
6649187732B828   SHAUNA       EMARA                        ID     90011798773
6649363338166B   RANDALL      GASSEN                       MO     90010916333
6649363A95B241   KIM          CLEMENTS                     KY     90011006309
66493A59351374   JESSICA      ALLEN                        OH     90001780593
66493A9715B531   NANCY        STUART                       NM     36073720971
66494239772B43   JESUS        ACOSTA                       CO     90009892397
6649426A68B168   JORDAN       SOWERS                       UT     90005622606
6649517685B531   PRISCILLA    MARTINEZ                     NM     90012921768
6649526A68B168   JORDAN       SOWERS                       UT     90005622606
66495392472B27   LONDY        MENDOZA                      CO     90001123924
6649574724B27B   TROY         OLES                         IA     27083837472
66495A58A57142   CARMEN       ROMERO                       VA     90009150580
6649615A661972   OSCAR        RAMOS                        CA     90009541506
6649692A555973   TANYA        TESSLER                      CA     90012979205
66496A24591592   YVONNE       HERNANDEZ                    TX     90014290245
6649725145B531   MARIO        GUERRERO                     NM     90012112514
6649729212B828   TIFFANY      LARSEN                       ID     90013592921
6649755965B241   TINA         STEIER                       KY     90013535596
6649798563B125   ROBERTO      SANCHEZ                      DC     90009379856
66498216872B36   NIKORA       SHELLMAN                     CO     90014942168
6649857987B46B   LCHOPO       TOMAS                        NC     90013495798
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 497 of 2350


66498681A72B36   STEPHEN          GROVES                   CO     90015416810
66499174172B43   PEDRO            RODRIGUEZ                CO     33022471741
664995A675B921   DAVID            NICK                     ID     41068335067
6649B14165B241   KIM              DAWLEY                   KY     90005641416
6649B475981644   ROBERT           ALLEN                    MO     90010264759
6649B92392B828   VALARIE          MUNSON                   ID     42066179239
6649BA9175416B   KELLY            WILSON                   OR     47036160917
664B1124A4B27B   CINDIE           BAUTISTA                 NE     27037361240
664B124775B531   ENDIR            CRUZ LOPEZ               NM     36061172477
664B15A6155975   PATRICIA         SANCHEZ                  CA     48050115061
664B2577691998   BLANCA           DIAZ-LOPEZ               NC     90014135776
664B2593591522   ANGEL            CABRRERA                 TX     75030355935
664B263597193B   JULIO            CHAVEZ                   CO     90013006359
664B2A3595B241   CYNTHIA          TYLER                    KY     90003580359
664B2A7478B168   PEDERSON         LELAND                   UT     31016510747
664B3259891998   JUAN             HERNANDEZ                NC     17064622598
664B34A4472B43   DEXTER           METCALF                  CO     90010944044
664B4972455977   PEDRO            NAVA                     CA     49082399724
664B5275472B29   BLANCA NELY      AYALA                    CO     90009902754
664B5282372B29   MARIA            GARCIA                   CO     90014582823
664B5375155975   JOSEFINA         ESPINOZA                 CA     90008343751
664B5639A7193B   ONEAL            TONY                     CO     90010116390
664B5959772B27   YVONNE           ARCHULETA                CO     33075669597
664B6193A91562   ELIZABETH        HERNANDEZ                TX     75077101930
664B637887193B   ELAINE           BLAKE                    CO     90001203788
664B64A7155973   ALEJANDRO        JACOBO                   CA     90011374071
664B66A964B588   JOSLYN           PIERSON                  OK     90013536096
664B6A61293729   AMANDA           EASTER                   OH     90014590612
664B7557455973   JUAN             VARGAS                   CA     90000335574
664B831915B241   NAIROBI          APARCEDO                 KY     68004003191
664B835952B269   ZENATTA          THOMPSON                 DC     90001863595
664B8494191562   JOELYNN NICOLE   CASTRO                   TX     90013934941
664B8788472B29   SHERRI           PAZ                      CO     33010027884
664B895662B269   ZENATTA          THOMPSON                 DC     90013209566
664B9637455977   SANDRA           WEAVER                   CA     49067606374
664B987A591562   ALVARO           NAVARRO                  TX     90002848705
664B988365B131   KRYSTAL          WILLINGHAM               AR     90008158836
664BB116481644   KIMBERLEY        GAITAN                   MO     90011251164
664BB438693729   AMANDA           CARL                     OH     90013554386
664BB612A55977   CRISTINA         PEREZ                    CA     49080626120
664BB934172B43   ISABEL           ZAPATA                   CO     33075869341
6651111745416B   JOHNNIE          STORTS                   OR     90010291174
6651135672B388   CINDY            VASQUEZ                  CT     90014323567
6651161A272B55   MARIA            CONDADO                  CO     90011006102
66511A4A491522   ELVA             VASQUEZ                  TX     90014630404
6651253915B531   CRYSTAL          MARTINEZ                 NM     36061185391
6651295A18B168   BORTOLUZI        MARIANO                  UT     90001249501
665133A154B27B   BRIEANNE         HETTINGER                NE     90014613015
66513983672B27   MIGUEL           HEREDIA                  CO     90014899836
66513A5755B531   WILLIAM          GONZALES                 NM     90014770575
66514363A2B828   GLEN             BAILEY                   ID     90011063630
66514425472B29   DANNY            TINKER                   CO     90013094254
665144A4733698   MACON            TILLMAN                  NC     90007294047
66514A65272B27   STACEY           MOSLEY                   CO     33024890652
66514A79351323   JAY              ALEXANDER                OH     90009250793
6651527348B168   JENNIFER         HILLAKER                 UT     31016792734
66515318872B27   DEBRA            TAPIA                    CO     90013213188
6651553A491562   LETY             MARTINEZ                 TX     90013935304
6651569637B46B   GARRICK          TROUPE                   NC     90015246963
66515A53372B27   GREGORIO         ECHAVARRIA               CO     90011720533
66516A2A291562   GLORIA           GAYTAN                   TX     75012190202
665177A9A72B43   LEANNE           SALTAR                   CO     90006167090
66517A5523168B   PHILLIP          TOOTHMAN                 KS     90015250552
6651816A391562   DOLORES          RAMIREZ                  TX     90015281603
665189A8A91562   MARTHA           BERMUDEZ                 TX     90012249080
66519115A55973   SABRINA          RENTERIA                 CA     90014301150
6651971A44B588   LUIS             ARAIZA                   OK     21594197104
66519A86161936   JORGE            CAMPOS                   CA     90011360861
6651B18327193B   DONNA            JACKSON                  CO     90012451832
6651B1A665B531   FELIX            MATZIR-XIA               NM     90007491066
6651B215961936   JESUS            OCAMPO                   CA     90012632159
6651B571391522   BRANDON          MELLADO                  TX     75012515713
6652138A94B27B   DEVELLE          SMITH                    NE     90014883809
6652143825B241   SHERRI           CASH                     KY     90014884382
6652227275594B   ANGEL            PEREZ                    CA     90007232727
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 498 of 2350


6652279184B588   CHRIS        WALKER                       OK     90006687918
665234A385416B   JOSHUA       CURRY                        OR     90000874038
6652352685B531   DARETTE      ATENCIO                      NM     90007455268
66523819A91522   ISMAEL       FELIX                        TX     90011768190
6652396717193B   SANDRA       WILLIAMS                     CO     32056459671
66523A94155977   LETICIA      JIMENEZ                      CA     90005640941
6652422734B27B   THOMAS       KELLER                       NE     90013932273
6652436345B235   GABRIELA     RODRIGOEZ                    KY     90012463634
66524397A55973   MYLES        LANDIN                       CA     48045263970
6652443254B588   TANJA        HALL                         OK     90004024325
6652463625B241   LAURANN      SLUSHER                      KY     68039016362
6652489675416B   ASHLEY       WASAN                        OR     90001448967
6652512227193B   GARRICK      TERRELL                      CO     90014401222
6652522542B828   MARIA        MARTINEZ                     ID     90011192254
6652565998B133   FRANCISCO    SANPEDRO SANTIAGO            UT     90010336599
66525A14491592   MARISA       PARRA                        TX     90012890144
66526433A51354   AMANDA       BAILEY                       OH     90013164330
6652778337B656   JELISA       SHAKESPEARE                  GA     90011447833
66527845A71964   PAMELA       SLIWKA                       CO     90013208450
665282A4871964   MARIA        AGUILAR                      CO     90012952048
66528612A72B29   JEAN         SNODDY                       CO     90013576120
66528738A93729   JAMAL        MOSLEY                       OH     64555417380
665288A185B241   KEVIN        HARRISON                     KY     90014678018
6652892A32B828   LEE          GARNER                       ID     90014919203
66528A4A491998   ANTOINETTE   LOONEY                       NC     90003940404
66529293A91562   OSCAR        TORRES                       TX     90010052930
6652965573B335   JESUS        ESPARZA                      CO     90005386557
6652966A255975   MARIE        BALES                        CA     90012886602
6652B266591592   JUAN         MARTINEZ                     TX     90009692665
6652B363655973   ANTONIO      TORRESS                      CA     90013683636
6652B53A661964   KARINA       VILLAREAL                    CA     90014155306
6652B759A5B241   CANDICE      BLAND                        KY     90014647590
6652B894161936   FERNANDA     VALENTINA                    CA     46020818941
66531A3135B531   JOSE         VEGA                         NM     90012780313
665321A9461936   JILL         MILES                        CA     46008991094
66532659A93729   ROLANDA      GIBSON                       OH     90013086590
66532829A71964   JAMES        LEE                          CO     90011328290
6653288A13B125   STEVEN       BELZER                       DC     90015088801
6653322265B241   JAMES        HAYDEN JR                    KY     68008252226
6653332765B531   SILVIA       DIAZ                         NM     90005943276
6653391174B27B   KATHERINE    JOYCE                        IA     27024079117
665341A4991562   MIGUEL       ANGEL NINO                   TX     75058501049
665342A7A55977   LINDA        ENG                          CA     90011522070
66534A71781644   CJ           THOMAS                       MO     90007330717
6653557187193B   LOUISE       MARTINEZ                     CO     32015545718
665355A2A55975   VICKIE       INGRAM                       CA     48057565020
66535855472B36   RAMIRO       ROJAS OCAMPO                 CO     90002238554
66537A7215B235   DAVID        BANNER                       KY     90005190721
6653828855B241   ROBBIN       BYRD                         KY     90014892885
6653841444B588   JEFREY       SCHMIT                       OK     90011644144
66538439A5B235   MARTIN       ORTIZ                        KY     90014084390
6653878A24B27B   TYNEIL       BRADFORD                     NE     27032847802
665387A4572B27   JOSEPH       LUCERO                       CO     90012317045
6653883845416B   JONI         FULLER                       OR     90013888384
6653928723168B   LINDA        BROWN                        KS     22081602872
66539293A91562   OSCAR        TORRES                       TX     90010052930
6653B12695416B   MARIA        VILLANUEVA ZERMENO           OR     47028841269
6653B27A172B43   DELFINA      JIMENEZ-MORENO               CO     90006552701
6653B528472B29   GUADALUPE    NAVARRO-CERVATES             CO     33098035284
6653B534A3168B   TANYA        WALKER                       KS     22039575340
6653B55365B235   JESSICA      HALL                         KY     90008085536
6653B6A375B241   CHANTEL      BURKHEAD                     KY     90015336037
665418AA224B64   JAIME        MALDONADO                    VA     81017948002
6654197A24B27B   SHAWNTA      RAFINER                      NE     90015539702
66541A35855977   ELIZABETH    GUTIERREZ                    CA     90003740358
66542613272B27   DANA         PADRON                       CO     90013536132
6654385A172B43   VIANEY       CORTEZ GOMEZ                 CO     33097028501
6654395A74B27B   BRIANA       TAYLOR                       NE     90011649507
665444A2961964   VERONICA     ALAMILLA                     CA     90006844029
6654472645B531   CRISTHIAN    CORONA-GUILLEN               NM     90013357264
6654485A861964   AIOTEST1     DONOTTOUCH                   CA     90015128508
66545289A7193B   ISMAEL       MADRID                       CO     32076942890
6654568995416B   JONTHAN      GRAY                         OR     90012476899
66545737A7B46B   MICHAEL      SIMMONS                      NC     90011607370
6654612154B268   JEANNETTE    BARFIELD                     NE     90000991215
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 499 of 2350


66546A13872B43   JESUS        ESTRADA-VALDEZ               CO     90006240138
66547167672B29   FLORENCIO    REGALADO VALDOINOS           CO     90011851676
6654737444B27B   MARCO        ATTIA                        NE     90013253744
66547934A61558   BOBBY        HAGLER                       TN     90001899340
66548618872B29   PRENTS       WEBER                        CO     90001796188
6654913A54B588   TIFFANY      MILPAUGH                     OK     21502771305
665495A8655975   MARY LOU     LOPEZ                        CA     90007495086
6654975867B46B   PATRICK      WALKER                       NC     90006107586
66549829A71964   JAMES        LEE                          CO     90011328290
66549933A81675   EDWARD       LONG                         MO     90012169330
6654997287193B   HEATHER      BENAVENTE                    CO     90012749728
66549A9384B27B   KHAMBA       GURUNG                       NE     27013180938
6654B139A91592   MARK         PINONES                      TX     75085521390
6654B283751354   HEATHER      RYCEK                        OH     90013992837
6654B51655416B   ANDREA       PORTER                       OR     90014005165
6654B568961964   DAVID        FORMICA                      CA     90013125689
6654B689255973   CYNTHIA      BRICENO                      CA     90014226892
6655129387B46B   ELBA         BARRINGER                    NC     90012102938
66551589A72B43   MICHAEL      TROYER                       CO     33084825890
6655161A176B58   DAMIAN       SPANO                        CA     46084196101
6655162617193B   AARON        VALDIDAVES                   CO     90012166261
6655179A155973   DEBRA        CALVO                        CA     48069217901
66551843A71964   RONALD       VERAMONTES                   CO     90006768430
6655252A355973   CRYSTAL      GARGES                       CA     48092515203
66552A95155977   JOSE         MORALES                      CA     49096000951
665531A3772B29   KAREN        PARKER                       CO     33068401037
66553338872B27   JOSE LUIS    ZAMBRANO                     CO     33013013388
6655333A791592   LUIS         LOPEZ                        TX     90008363307
6655347347B493   ELMER        BERTOTTY                     NC     90000904734
6655349A95416B   LORI         KING                         OR     90012204909
665534AA15B241   LOUIS        BESTEN                       KY     90011324001
6655382A63B335   GABE         CHAVEZ                       CO     90014498206
66554891A91522   ANNA         MILDON                       TX     90014038910
66555521A7B398   KAREN        ROBLES                       VA     81049135210
6655599248B168   PAULA        HERRERO                      UT     90010869924
665562AA65B241   TODD         MILES                        KY     68075642006
665567A5655977   NADIE        TRUJILLO                     CA     90011387056
6655686372B828   VANNESA      GUAJARDO                     ID     90012768637
665573A3671964   MARIA        HERNANDEZ                    CO     90010413036
6655763735B235   RAYBURN      PRICE                        KY     90015166373
6655769993168B   JENNIFER     CRAWFORD                     KS     90014656999
6655781752B893   LYLE         NOE                          ID     90004208175
66557A43451354   DONNA        JORDAN                       OH     90012290434
66559349A91562   MARTHA       CEBALLOS                     TX     90011863490
6655982214B27B   DEBORAH      DAVIS                        NE     27090298221
66559846372B29   JOSEFA       HERREA                       CO     90007238463
6655B721155981   JASON        HOBBS                        CA     90012017211
6655B724761422   ROBERTO      GOMEZ FLORES                 OH     90015417247
6656179A97B46B   BOBBIE       DOCIER                       NC     90013377909
66562572372B29   SHANA        SMITH                        CO     90011305723
6656257967B46B   MARILYN      SMITH                        NC     11091465796
6656346354B268   JOEL         HERNANDEZ                    NE     90003774635
66563537872B36   JOSEPH       ZANGARO                      CO     33087385378
6656372615137B   MANUEL       FOGGIE                       OH     90011097261
6656419A261964   MARGARITA    HERNANDEZ                    CA     90014301902
6656455365B235   JESSICA      HALL                         KY     90008085536
66564A9568166B   MARILU       MURILLO                      MO     90014480956
6656525155B131   STEPHANIE    ALLEN                        AR     90006902515
665662A245416B   TIMMY        BARRETT                      OR     90013982024
66566559A93729   JASON        MARTEL                       OH     64553685590
6656673274B22B   EVA          MARTINEZ                     NE     90006397327
66566A16681644   HERMAN       WAMBUGU                      MO     29077710166
6656714345B531   RICHARD      SANDOVAL                     NM     36094991434
6656725795B235   CAMERON      KINSEY                       KY     90012952579
665677A4891322   ARIADNA      VARELA                       KS     90010797048
6656788545594B   ESMERALDA    SALINAS                      CA     90015198854
6656894737193B   KEVIN        HAWKINS                      CO     90007789473
66569181772B36   YOLANDA      TORRES                       CO     33081691817
66569216872B36   NIKORA       SHELLMAN                     CO     90014942168
665695A5255977   ROSARIO      ELORZA                       CA     90012325052
6656968747193B   MAGGIE       SCHINE                       CO     90007276874
6656B14995B235   ALICIA       REED                         KY     90010991499
6656B163257B92   RARSA        GASTANO                      PA     90014131632
6656B266693729   JUAN         ARIAS                        OH     90014022666
665723A918166B   ORLANDO      MCGARY                       KS     90014743091
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 500 of 2350


6657276427B365   LOURDES IRENE     GARCIA                  VA     90003217642
6657319387193B   ROSA              CASTILLO                CO     90015361938
66573AA515B531   NICHOLAS          RIVERA                  NM     90013880051
665741A277B46B   INGRIS            PAZ                     NC     90009621027
6657443235B531   ROMERO-RODIGUEZ   ROBERTO                 NM     90012704323
6657555514B581   DAISY             DOONKEEN                OK     90013785551
6657611595B235   MICHELLE          SPENCER-LOUDEN          KY     90013351159
6657612AA4B268   TILA              MILLER                  IA     90001261200
66576949672B36   MAIRA             SAENZ                   CO     33068519496
665773AA55B235   IEASHA            NORTON                  KY     90014893005
665774A768166B   JOQUISHA          MITCHELL                MO     90014754076
6657772972B828   LAURA             DAVIS                   ID     90014607297
6657791A65B531   ERIKA             COPELAND                NM     90012489106
665779A5481644   SETH              MILLER                  MO     90013989054
66578188172B43   MARIO             ARREOLA                 CO     33060721881
665781A848166B   SUSANA            ALFARO                  KS     90013381084
6657847164B27B   DAN               NESBITT                 NE     90013774716
6657861345B235   JOHN              CRENSHAW                KY     90012236134
66578A42691562   JUAN              GALINDO                 TX     90011860426
66579885672B36   JOHN              ANDERSEN-KIRTLAND       CO     33067708856
6657B671572B43   BLANCA            SAENZ-PAYAN             CO     33038076715
6658118437B46B   JESSICA           LITTLE                  NC     90012391843
6658139337193B   STORMI            EATHERTON               CO     90009603933
66581641A5B241   CHRISTOPHER       FULTS                   KY     90013836410
66581671972B43   CELINA            HARO                    CO     90011086719
66581A4898166B   TANAYA            BERTOCCI                MO     90014290489
66581A9762B828   ERIKA             GOMEZ                   ID     90013780976
6658213A15416B   THOMAS            KLEINFELTER             OR     90011801301
665821AA15B531   MARY              MARTINEZ                NM     36082131001
66582232772B43   KARLA             LOPEZ                   CO     90013932327
6658255697193B   ARTIA             ROUSER                  CO     32086695569
66582824285B27   DILMER            LOPEZ                   FL     90011168242
6658349A85B241   ARVONNIS          SCULFIELD               KY     90011574908
665834A3272B43   MARGARET          LEYBA                   CO     33060304032
6658368945B235   SHANIQUA          DILLION                 KY     90012686894
66583695672B36   ASHA              MITCHELL                CO     90014356956
6658378282B828   TARA              HILL                    ID     42031677828
66584A2355B531   RALPH             SANCHEZ                 NM     90007080235
6658537335B235   CHARLES           LUSH                    KY     90011163733
66585535A5416B   LANESE            BERWER                  OR     90013345350
6658553795B531   ELOY              JACQUEZ                 NM     90007645379
6658686148166B   MARIA             WRIGHT                  KS     90010478614
66587228572B29   MARCELINO         A LEIJA                 CO     90013922285
6658751A471964   NORMA             PORTILLO                CO     90000145104
66587842A3168B   DEVON             CASTANEDA               KS     90003888420
66589422A61964   SERGIO            DOMINGUEZ               CA     90013104220
6658948344B532   MISTY             STEFFEN                 OK     90010624834
665896A4551352   DAN               SCHLUETER               OH     90015006045
6658998255B141   MICHELLE          JACKSON                 AR     23004149825
6658B5A364B588   ROD               WILSON                  OK     21595605036
6658B641191592   MELISSA           MUNOZ                   TX     90013866411
6658B734791522   RODRIGUEZ         JOHANNA R               TX     90004797347
6658B879355977   UBALDO            REYES LEON              CA     49006078793
6659113A28166B   NIKKI             W                       MO     90011051302
6659132A85B235   ANGEL             JIN                     KY     90014873208
66591373872B29   JOHN              ELBECK IV               CO     33092313738
6659139825416B   JESSE             ELLINGWORTH             OR     90014393982
6659167643168B   IGNACIO           ROBLES                  KS     22011296764
66591699572B27   JAZMINE           SOLIS                   CO     90014726995
66592A14391562   FLOR              GRIEGO                  TX     75085310143
66592A5A75B235   DENNIS            SCHOENLAUB              KY     68035160507
66593322A61964   MARYANN           POSEY                   CA     46051493220
6659361217B46B   ASHLEY            HUMPHRIES               NC     11072486121
665939A7451354   REGINA            PHILLIPS                OH     90014759074
6659429573B125   LAKITA            HALL                    DC     90013932957
665944A495416B   MICHELLE          DAWSON                  OR     90014394049
665952A9771964   TIFFANY           KLEINHEITZ              CO     90015242097
6659579454B588   ROSETTA           BOWEN                   OK     90011817945
6659611274B27B   KIMBERLY          ADDISON                 NE     27088661127
6659635A591998   DATRICK           KEITH                   NC     90013543505
6659654468B168   JACKIE            REEVES                  UT     31031005446
665969AA861964   SONIA             SERRANO                 CA     90012429008
66596A4565B235   DARREL            SMITH                   KY     90011000456
6659774A291592   EDUARDO           RODRIGUEZ               TX     75052087402
6659796A15B531   VICENTE           VALADEZ                 NM     90001849601
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 501 of 2350


665982A785B531   JOEY         MONTOYA                      NM     36051012078
66598A14391592   ROBERT       ESCOBEDO                     TX     90008580143
6659941A791522   SENORINA     OROZCA                       TX     90014684107
66599697472B27   VICTOR       DOMINGO                      CO     90011856974
665997A3463646   TRACY        CAWTHON                      MO     90005257034
6659984A561559   DARLENE      THOMAS                       KY     90010818405
6659993525B241   DALE         HESS                         KY     68042609352
6659B2A4191592   MINDY        PARTIDA                      TX     90004942041
6659B643961936   THOMAS       PETERIVELLI                  CA     90011376439
6659BA23A84392   MICHAEL      CHINNIS                      SC     90004490230
665B1193191998   BRANDY       ETCHENSON                    NC     90013411931
665B1312691562   JOSE A       MARTINEZ                     TX     90010633126
665B1722A71964   FELIPE       MANZANARES                   CO     90012897220
665B193867B349   TERRY        GOCSCHI                      VA     81075749386
665B241155B235   NYOTA        BITENDELO                    KY     90013544115
665B2741172B36   ANGELA M     WELLER                       CO     33042537411
665B2A1975B531   FRANCIS      PHILLIPS                     NM     90012220197
665B3448161964   ALVARO       NUNEZ                        CA     90011844481
665B354A68B356   ERLIN        MORALES                      SC     90015605406
665B3962481644   RUBI         ORTEGA                       MO     90013899624
665B429A151354   THERESA      ENGEL                        KY     90012812901
665B4449293729   RYAN         GRUBER                       OH     90005134492
665B4559591998   JOSEPH       WRISHT                       NC     90002145595
665B464368B191   ANNA         WALKER                       UT     90003956436
665B4741481644   ALEJANDRA    GUERRERO                     MO     90012727414
665B47A7172B36   ANTHONY      DELEON                       CO     33051337071
665B4949A8B191   SCOTT        WALKER                       UT     90013919490
665B536967B46B   HELOISE      CLARK                        NC     90014033696
665B538352B828   BRANDON      FRETWELL                     ID     90013603835
665B595145B375   LINDSEY      DORAN                        OR     44598039514
665B626715594B   DAVID        GARCIA                       CA     90010922671
665B629755B235   JANIYA       HOLT                         KY     90014892975
665B6454A71964   ANJELIKA     WILKINS                      CO     32003394540
665B668A161936   VERONICA     ZENON                        CA     46023966801
665B669A955975   GUSTAVO      QUEZADA                      CA     90014276909
665B699A77B46B   DERRICK      TERRY                        NC     11047499907
665B6A8327193B   TARA         SCHNEIDER                    CO     90013780832
665B72A598166B   AMBER        COLEMAN                      MO     90002372059
665B818A12B828   VICTORIA     NSABIMANA                    ID     90011211801
665B82A725597B   JANIS        SCHMIDT                      CA     90006662072
665B921474B588   STACY        DRISCOLL                     OK     90002272147
665B932315B241   BRYNDA       AUSTIN                       KY     90009643231
665B9856591592   MONICA       ROJAS                        TX     75005038565
665B9886555975   FRANSISCO    LOPEZ                        CA     90014428865
665B9A3653168B   SHATYRA      NOLAN                        KS     90015250365
665BB11155416B   STEVE        INNESS                       OR     47048051115
665BB18354B27B   NORMA        LOPEZ                        NE     90013931835
6661192767193B   VALENTIN     GOMEZ                        CO     32091499276
6661199143B125   JONES        IS                           DC     90012239914
6661224AA61922   STEVEN       PEÑA                         CA     46088372400
6661296287B46B   DARRIN       STANBACK                     NC     90010939628
6661298314B27B   JERRY        EPPERSON                     IA     27041889831
66612A21355975   NORMA        TAPIA                        CA     90012980213
66612A2938166B   KAY          HOLLAND                      MO     90014130293
66612A64355973   FRANCISCO    AVALOS                       CA     90002260643
66612A94891592   CRISTINA     CAMARILLO                    TX     90014720948
66613436772B36   ALBER        MAZARIEGOS                   CO     33096374367
6661389314B588   REOLA        CARGILE                      OK     21587528931
66613A19155975   ANA          PAREDES                      CA     90013030191
66613A4988B172   DANNY        BIRD                         UT     31001790498
6661423774B27B   TRUDELL      TAMERA                       NE     27091792377
66614A85981631   ALPHA        OMEGA                        MO     29057830859
66614A87971924   TAMARA       MONTOYA                      CO     32012260879
66614AA8691592   LIZ          HERNANDEZ                    TX     90009770086
6661511727193B   GERTHA       WALKER                       CO     90013561172
6661545315B393   THERESA      BERNARDS                     OR     90013094531
66615731A72B27   JESSIE       SIMS                         CO     90013147310
66616244372B29   SERGIO       RODRIGUEZ                    CO     33048362443
66616987A72B43   EFREN        HERNANDEZ                    CO     33006289870
6661737855B235   MONDRECK     BURKHEAD                     KY     68036173785
6661821653168B   RACHEL       FORSHEE                      KS     22084402165
6661914224126B   MAGEN        DEMARET                      PA     90010161422
66619223972B36   IVONNE       MARTINEZ                     CO     90007622239
66619A13591522   GABRIELA     CAMPUZANO                    TX     75009140135
6661B488855973   CARMEN       ACOSTA                       CA     48017634888
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 502 of 2350


6661B852A5B235   ANALOYKI           VERDURA                KY     68013018520
6661BA27191592   DIANA              ESPARZA                TX     75044530271
6662151A555975   DANIEL             RAMOS                  CA     90012355105
66621564A51354   DEREK              EWING                  KY     90013505640
666218A3A8B168   KAIRENE            LOFTUS                 UT     90007188030
66621911872B43   REYNALDO           MEZA                   CO     90006739118
666219A2A4B268   KEVIN              SUDBERG                NE     27091379020
66621A6382B828   TRENTON            WRIGHT                 ID     42026680638
6662233324B27B   ANGEL              SHOMAKER               IA     90012013332
66622466772B36   ANTHONY            FERNANDEZ              CO     90004104667
666224A9A55973   JOSE               PANTOJA                CA     90013684090
6662298194B588   CAROLYN            WILLIAMS               OK     21551849819
6662298727193B   BRIAN              WIRTZ                  CO     90009179872
666229A7461936   CLAUDIA CAROLINA   RAMIREZ                CA     90010449074
66623262A91592   MIGUEL             FLORES                 TX     90013142620
66623361A33698   CHRISTY            ACKER                  NC     90007363610
6662342734B588   KAELYN             GREENE                 OK     90002774273
6662437855416B   SANDI              KELLEY                 OR     90012663785
666245A393168B   MARIA              LOREDO                 KS     22089695039
66624748A72B43   DAVID              MONTOYA                CO     90014907480
6662527955B241   MARIA              BILLINGSLEA            KY     68053912795
6662531A393729   ANGELA             PETERSON               OH     90012323103
66626285872B29   OMAR               FRAIRE                 CO     33094102858
66626736A91535   YOLANA             RUVALCABA              TX     90013797360
6662675397B46B   RANDALL            NEWKIRK                NC     90009847539
666267A9491562   JUAN               DOMINGUEZ              TX     90006047094
66626951172B36   ROBERT             KULL                   CO     90014159511
66626A3894B588   GINA               EHRHART                OK     90014570389
66626A42255977   RUTHY              RODRIGUEZ              CA     90015260422
66627A8662B828   ROBERT             SKELTON                ID     42045290866
6662B254155975   MARIA              MIRANDA                CA     90014762541
6662B466455973   DEON               MORALES                CA     90012174664
6662B467191998   BREIDA             SANCHEZ                NC     90001354671
6662B89314B588   REOLA              CARGILE                OK     21587528931
6663122A172B36   SANDRA             FREYTA                 CO     33054632201
66631393272B27   DAVID              CAMPBELL               CO     90013013932
66631A77772B22   MANUEL             GARCIA                 CO     90001330777
6663259825B241   DONELL             KINNISON               KY     90012335982
66632A7A191592   THELMA             VENEGAS                TX     90012870701
66633466A4B588   ESPERANZA          BLUE                   OK     90013404660
6663374445B531   MAEGAN             PACHECO                NM     90013517444
6663452285B531   ARTHUR             QUINTANA JR.           NM     90013755228
6663467235416B   RICARDO            JUAREZ                 OR     90014996723
6663683915416B   LAURA              WHALEN                 OR     90009198391
66636987A5B921   SELINA             GEORGE                 WA     41025729870
666377A3172B44   DARREN             WALTMAN                CO     90012457031
6663834957193B   ROSALINDA          LOPEZ                  CO     90003023495
66638593A5B241   KRISTINE           PAULLEY                KY     90014195930
66638689972B36   JERRICA            MEDINA                 CO     90013966899
66638A9617B761   ALONDRA            RUZ                    CA     90014530961
66639193372B29   ROBERT             GROSKO                 CO     33093201933
6663941A65416B   KERRY              ACKLEY                 OR     90009764106
6663B66485416B   SKY                COBURN                 OR     47060356648
6663BA6744B588   LAUREN             GRAVES                 OK     21531700674
6664171525B241   SHAWN              DUPIN                  KY     90013217152
6664182A593729   TERRENCE           DUNKLIN                OH     90013088205
6664195227193B   DAVID              BAILON                 CO     90014159522
66642A35A5416B   ALVA               SANTOYO-GOMEZ          OR     47031090350
66643275972B27   ERIK               JHONSON                CO     90009422759
66643793A55973   MARY               IBARRA                 CA     90001977930
6664386117B349   RENE               PACHECO                VA     90014408611
66644A55A81675   JEFFREY            SCOTT                  MO     29058150550
66645134A7B46B   SHERYL             WORLEY                 NC     11077521340
66645631A91562   ANGELINA           CASTANEDA              TX     75057846310
6664566A347942   NORMA              AGUILAR                AR     90012496603
6664649868166B   BOO                BANKS                  MO     29094394986
66646A7232B828   CODY               CLARK                  ID     90013410723
66646A91772B36   SHELBY             COLLET                 CO     90014800917
6664733315B241   DANIELLE           FRANKLIN               KY     90000663331
6664759787B45B   EWING              GARSIA                 NC     90013535978
66647686572B29   PHILLIP            GARCIA                 CO     33070846865
66647A46681644   JAMES              DEREMER                MO     29055840466
66648117872B29   STEVEN             DICKEY                 CO     33092611178
666482A377B46B   ALMA               CASTILLO               NC     90014782037
66648614A5B358   CRISTINA           REYES                  OR     90013476140
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 503 of 2350


6664955717B46B   MORRIS           SEEGARS                  NC     11001685571
6664958A43B394   KIMBERLEE        WATTS                    CO     90009655804
6664B972891592   MICHELLE         MADRID                   TX     75005029728
66651116872B27   SERGI            JACOB                    CO     90006521168
6665192945B235   SAHSA            RICHMOND                 KY     90013319294
66651A4A75B121   BRIDGET          RUSSELL                  AR     90005150407
66652A73355975   ALBERTO          ZAMBRANO                 CA     90003880733
6665387867193B   RACHEL           BESSETTE                 CO     90014928786
66653A64191562   MARCELINO        JIMENEZ                  TX     75048130641
66654195A93729   MELISSA          ADKINS                   OH     64506611950
6665466835B241   TONI             HABBS                    KY     68022256683
66654A1837B46B   KIMBERLY         ALEXANDER                NC     90012560183
666554A8272B43   CORNELIO         LECHUGA                  CO     33010144082
6665631A272B43   MATTHEW          THOMAS                   CO     33076833102
6665692A94B268   CESAR            ARAUZ DE LEON            NE     27028479209
6665699355B241   LUIS             GOMEZ                    KY     90004249935
66656A5A35B531   MELVIN           REYES                    NM     90006540503
6665775A391592   DARLINA          RAMIREZ                  TX     75017117503
6665795887193B   STEPHEN          WALKER                   CO     90015099588
6665866162B828   CHRIS            FARMER                   ID     90008456616
6665886888B186   MICHAEL          WITTNER                  UT     90012458688
6665943958B168   YESENIA          ALVAREZ                  UT     31043264395
6665959A555973   CHRISTY          PETTY                    CA     48084545905
6665963565594B   EDUARDO          DIAZ                     CA     90006086356
6665982435B235   TONIA            CUNNINGHAM               KY     90005618243
66659943A8166B   STEFANIE         JOHNSON                  MO     90010609430
66659A5965B531   PAULA            COUCHMAN                 NM     90011300596
6665B147972B27   SHERYL           SCHLUND WITT             CO     90014021479
6665B367591522   JOE              MEDINA                   TX     90011773675
6665B463A3B395   DOUGLAS          EDELFELT                 CO     33006044630
6665B47364B588   ENRIQUE          ARVIZU                   OK     90013404736
6665B64235416B   MADELINE         SMITH                    OR     90008696423
6665B647155975   JUAN             BRAVO                    CA     48010146471
6666143459132B   BERALITH         QUEVEDO                  KS     90004654345
666614A614B27B   LISA             POPKEN                   NE     90013084061
6666227745B235   PAMELA           STATT                    KY     90006492774
66662449472B43   VICTORIA         PEREZ                    CO     90012984494
6666369245B235   CHRIS            HALL                     KY     90008086924
666638A4255977   DENISE           RODRIGUEZ                CA     90014348042
666644A2691562   LETICA           PERE                     TX     75098914026
6666475255B531   CELESTE          NAVA                     NM     90009407525
6666511527B46B   ARMOND           BRADLEY                  NC     90003141152
66665A43A4B588   CHUFFEE          WALDON                   OK     21506100430
6666636414B544   PHILLIP          JOHNSON                  OK     90008283641
6666649824B268   CALERO           VALUB                    NE     90013214982
6666669514B581   HOLLY            LAMPKIN                  OK     21582166951
666667A484B268   JAMES            RODNEY                   NE     90008737048
6666716335B235   ANGELA           PORTER                   KY     68095641633
666673A865B531   VELINDA          CASTILLO                 NM     90006473086
66668521A85946   RODNEY           LEON                     KY     90004345210
6666861965B241   PHAEDRA          CHAPMAN                  KY     90014726196
6666894995594B   YANETH           VARGAS                   CA     90007309499
66668A25491562   ALEJANDRA        GUTIERREZ                TX     90003290254
6666916737B46B   LAKEITHIA        DAVIS                    NC     90014781673
6666934A13168B   AMY              WOODS                    KS     22006093401
66669471272B29   RICARDO          FLORES                   CO     33084204712
666696A1291562   ADRIANNA ARELY   RICO                     TX     90013936012
6666993845594B   GAIL             MARTIN                   CA     48051899384
6666B332A91562   JOSHUA           COLLINS                  TX     90011023320
6666B416872B29   JEFFREY          LINDBERG                 CO     33090974168
6666B432293729   DASHAWN          HAYDEN                   OH     90014014322
6666B513781644   MARK             WHITE                    MO     29041465137
6666B749655973   ISRAEL           CORTEZ                   CA     90011877496
6666B957A61964   FABIAN           VILLALOBOS               CA     90011369570
6666B986772B43   ROBERTO          BUENO                    CO     90014229867
6666BA91272B36   LUZ              GONZALES                 CO     33099200912
66671127A91998   ROBERTO          UVALDO                   NC     90011701270
66671143372B29   DOLORES          MAGNO                    CO     33010071433
66672354A7193B   JAQUANA          WOOLEY                   CO     90009863540
66672A96761936   ALECIA           RENEE                    CA     90012840967
6667373255B235   SHAINA           MCCAULEY                 KY     90014337325
6667397755416B   DEBRA            ASHDAUGH                 OR     47062559775
66673A54791522   CALDERA          SANDRA                   TX     75070430547
6667442377193B   BRYAN            HAGS                     CO     90015304237
6667616237193B   DANIELLE         CARDENAS                 CO     90010521623
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 504 of 2350


6667627895137B   MARCIA        MATELL                      OH     90012202789
66676612A5416B   DANIEL        MUCHKA                      OR     90011816120
666767A5671964   JAHLEENE      MAESTAS                     CO     90010977056
66676A35655973   ASCENCION     GARCIA                      CA     90007540356
6667758A655977   DEANNA        MARIE MENDOZA               CA     90000475806
6667773474B268   MACLOVIO      AGUILAR                     NE     27094287347
66678A63661936   SUSANA        DE LA TOBA                  CA     90003650636
6667933653168B   MARK          CARSON                      KS     90015263365
666799A7561964   RAUL          VITAL                       CA     90004799075
6667B17218166B   ESMERALDA     GALVEZ                      MO     90012221721
6667B985161964   CHRISTINA     VAUGHAN                     CA     46010479851
6667B98673168B   FELICIA       CARTER                      KS     90001989867
6668163745B235   HAMEHED       GARCIA                      KY     90015166374
666818A3576B58   MARTHA        DE LA TORRE                 CA     90001088035
6668198A27193B   JEROME        ROSENOGLE                   CO     90013259802
6668258414B588   JORGE         PEREZ                       OK     21517685841
666826A1455973   JUAN          CUEVAS                      CA     48087416014
6668318A25B235   CODY          KERR                        KY     90013651802
6668322534B588   KIMBERLY      DAVIS                       OK     21582142253
6668323A161964   MARIJA        WILLIAMS                    CA     46084762301
6668384365416B   HEIDI         BALL                        OR     47098928436
666839A2371964   RODRIQUEZ     GONZALEZ                    CO     90014519023
6668467285B531   ANGELICA      SALAZAR                     NM     90006656728
66684A46493729   JILL          VOTAW                       OH     90008000464
6668589427B46B   SONJA         ELLIS                       NC     90011008942
66686354A61964   POLLYANNA     FANNA                       CA     90013743540
66686A1417193B   CHAD          ABEYTA                      CO     90009460141
66687172972B29   SHARON        MYHRE                       CO     90013151729
6668748777B46B   ANGELICA      MORALES                     NC     11056554877
666875AA671964   RODNEY        FLANNAGAN                   CO     90013235006
66688938472B27   LUIS MIGUEL   BANUELOS                    CO     90012219384
6668917594B588   ROSA          MINJARES                    OK     90011801759
6668936993168B   KASSANDRA     LUCERO                      KS     90015263699
6668944114B532   JOHNNA        WATTS                       OK     90012464411
6668B52894B268   ASHLEY        NESBITT                     NE     90003775289
6668B58567193B   ELIZABETH     WHITE                       CO     90008085856
6668B842471964   DANTE         BUTCHER                     CO     90014518424
6668B963691998   OSMIN         ANTONIO HERNANDEZ           NC     90014859636
6668BA89755975   JOSEPH        ALDACO                      CA     90013740897
6669123365B241   SHERICKA      BRIGGS                      KY     90002092336
6669127815B235   CHELSEA       COULTER                     KY     68051932781
666912A7672B29   DONOVAN       CHAVEZ                      CO     90014992076
6669148614B588   JOHNATHAN     JOHNSON                     OK     90013404861
6669181A28166B   RIGOVERTO     GALLEGOS                    MO     90012408102
66691A45761964   ANAKAREN      LOPEZ                       CA     90014470457
6669211767B46B   CHRIS         WILSON                      NC     11037681176
66692784672B43   SHARON        SAJRONZAMORA                CO     90007207846
666934A9172B27   MANUEL        CASAREZ                     CO     90015144091
6669365418166B   BUD           ERICKSON                    MO     29006766541
666937A832B828   LARRY         KOSS                        ID     42037737083
6669515375B283   CHRIS         PAYTON                      OH     68074751537
66695253272B36   DARRYL        CHAMPION                    CO     90001042532
6669534A55B531   BRENNEN       CARRILLO                    NM     90012273405
666963A2872B29   JASON         APODACA                     CO     33095273028
666964A6891592   MARTHA        ZUBIA                       TX     90014174068
6669653134B588   IVETTE        LOPEZ                       OK     90013245313
66696562A7B46B   LEONARD       FERGUSON                    NC     90003795620
6669757A45B235   LAUREN        SHARP                       KY     90013095704
66697A5817193B   MARLON        GOODLOE                     CO     32042770581
66698113472B43   DWIGHT        SEAY                        CO     90007411134
66699672357B92   SHARIF        ALI                         PA     90014646723
6669968995416B   JONTHAN       GRAY                        OR     90012476899
6669976134B588   DANIEL        FUENTES                     OK     90012537613
6669B39487193B   DAVID         ROMANICK                    CO     90012533948
6669B63A372B29   TAYLOR        DINGLEBERRY                 CO     90014006303
6669B929863646   CHRIS         KUPFER                      MO     90000569298
666B126757B46B   LAKESHA       THOMPSON                    NC     90011462675
666B1416176B93   LARRY         SMITH                       CA     90002404161
666B1621672B27   RAFAEL        LANDEROS                    CO     90013916216
666B2287593729   TALAQWON      SURLES                      OH     90013932875
666B24A1171964   JASMINE       BANKS                       CO     90014894011
666B2595761964   BILL          ELLIS                       CA     90010055957
666B358284B27B   FERNANDO      HERNANDEZ                   NE     90013925828
666B3594981631   DAMIAN        VARGAS                      MO     29047215949
666B4411291522   MELANIE       REBOLLO                     TX     75013964112
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 505 of 2350


666B5449A3168B   SHAUNDA               KERN                KS     90014504490
666B5715691592   ISMAEL                PEREZ               TX     90014927156
666B5AA5A24B34   JULINA                BRIGGS              DC     90007390050
666B6763355975   KALLEY                MASON               CA     90005887633
666B6A18A8B563   VICTOR                PAREDES             CA     90014180180
666B7151571964   JOSHUA                WARNER              CO     32027701515
666B7415272B36   JUAN                  VENEGAS             CO     33024914152
666B7477141272   DANIEL                MCCAULEY            PA     90002414771
666B75A125416B   SKYLAR                GILMORE             OR     90015035012
666B7661781644   SUSANA                FARIAS              MO     90013716617
666B76A8661936   HERNANDEZ             IVAN                CA     46035356086
666B773A591592   SERGIO                SERRANO             TX     90011727305
666B7A9964B588   EDDIE                 BARNHILL            OK     90014440996
666B8573681644   JASON                 PEREZ               MO     90014175736
666B8997A5B235   ENRIQUE               VASQUEZ             KY     90012729970
666B8A4465416B   AJ                    WALTON              OR     90013940446
666B9494A91998   ALEXANDRA             SHANNON             NC     90011694940
666B949AA72B43   LUIS                  BUBIO               CO     90013614900
666B95A7A4B27B   ALEXIS                WATKINS             NE     90011135070
666B985A561964   ANGEL                 FLORES              CA     90013408505
666B997552B828   TERRI                 HARRINGTON          ID     42010709755
666BB213491562   LUIS                  GUTIERREZ           TX     75033802134
666BB499493729   ALICIA                ERWIN               OH     64539144994
666BB62875594B   DANIELA               ANGUIANO            CA     90007296287
66711A11584392   HASSONA               SIMMONS             SC     19058750115
66711A4817193B   LISA                  AVILA               CO     32014820481
66712118572B43   NATHAN                COOPER              CO     90013911185
6671237A855975   RUDY                  AMADOR              CA     90013663708
6671269A77193B   SHANNEA               BOBIAN              CO     32026986907
66712AA738166B   DEE-DEE               HOOKER              MO     29053300073
66713433A51354   AMANDA                BAILEY              OH     90013164330
667137A332B828   ALEJANDRO             MENDOZA             ID     90011077033
66713955A72B43   EDGAR                 PENA                CO     90013479550
667141A7372B29   ROBERT                DAVIDSON            CO     90013511073
6671543A191562   ALBERTO               TORRES              TX     75018184301
6671558213B125   DIANA                 CATALINA            VA     81076525821
6671565517193B   CHAD                  HINKHOUSE           CO     32039506551
667157A2771964   SCOTT                 LAUGER              CO     32096957027
6671582A163646   LINDA                 KREITNER            MO     90005428201
6671647648166B   DONTAE                TAYLOR              MO     90013674764
6671679895B241   TANIECE               JOHNSON             KY     68021167989
66717111A5B235   VALQUITA              MORRIS              KY     68000571110
6671728614B27B   EMANUEL               RODRIGUEZ           NE     27001462861
667172A6A55977   PLZ UPDATE CUSTOMER   PROFILE             CA     90010242060
6671733387B46B   SOPHEILIA             BADWIN              NC     90012753338
6671819544B292   COURTNEY              HUDSON              NE     27008581954
66718387A84392   NATASSIA              NELSON              SC     19034873870
6671839634B588   OLMIN                 FLORES              OK     90012083963
6671957815B235   DALE                  CURRY JR            KY     68018105781
6671B18245B235   YOLANDA               PENA                KY     90001981824
6671B92A672B36   OLVERA                ARIADNA             CO     90013189206
6671BA12924B64   GREGORY               FOSTER              DC     90006220129
6671BA2518166B   AMBER                 ZORDEL              MO     29039270251
66721AA4871964   SHERIKA               BARNES              CO     90014590048
6672218A591562   LAURA                 MOLINA              TX     75049611805
6672255A951322   JOANN                 RICHARDSON          OH     90010655509
66723317672B27   ERNESTO               RAMIRES             CO     33092953176
66723A29371964   GABRIEL               REED                CO     90014590293
66724354372B29   RENEE                 MONTANO             CO     90013953543
66726397872B29   CRISTA                LEWIS               CO     90014863978
6672647862B828   ELIZABETH             LINDSAY             ID     42086424786
6672672A94B588   ERIC                  BERRY               OK     21558937209
667273A2991998   RAFAEL                RODRIGUEZ           NC     90013133029
6672744755B241   TERRI                 MULFORD             KY     68013284475
6672818545B241   JOEL                  HERNANDEZ           KY     90003591854
6672818A861964   THOMAS                DOUGHLAS            CA     90013881808
6672822995B235   AMBER                 MILLER              KY     90015612299
66728775A72B29   LISA                  LYNCH               CO     33010077750
66728A7195B531   HERLINDA              NAJARRO             NM     90005350719
6672945144B588   IRENE                 TIROCH              OK     90014414514
66729A4985B241   MIRIAM                THOMPSON            KY     68000950498
6672B29925416B   KIBER                 JARRELL             OR     90010362992
6672B387755977   MICHELLE              FARIAS FERREL       CA     90012383877
6672B3A5176B93   DIANA                 NAVARRETE           CA     90013843051
6672B8A2591998   MOLLY                 SPARKS              NC     90013918025
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 506 of 2350


6673148A62B828   PATRICIA     FARLEY                       ID     42095184806
66731A48755977   DOMINIQUE    OMOS                         CA     49012320487
6673234138166B   JULIUS       ODUGWE                       MO     29007853413
6673337A251354   ANTONIA      REYNALDO                     OH     90009643702
6673364743B125   CARRIE       HAGEE                        DC     90012556474
6673374A191592   BIANCA       OBREGON                      TX     75093607401
66733A22172B43   DAMIAN       PEREZ                        CO     33027160221
66733A7195B531   HERLINDA     NAJARRO                      NM     90005350719
66734253A7B46B   KRISTENA     JOHNSON                      NC     90011102530
667352A385B235   JASMINE      DILLON                       KY     90012612038
66736698972B27   JUAN         FRANCISCO                    CO     90000656989
66736A1615416B   HARVEY       PEDEN                        OR     90013760161
66737117772B36   JACOB        SANTISTEVAN                  CO     90013491177
6673748185B235   LARRY        WILSON                       KY     90013204818
66737A49697122   SELENE       ZACARIAS                     OR     90009720496
6673867497193B   DOMINICK     BARTALONE                    CO     90014946749
667386A234B27B   BOBBY        MOONE                        NE     90013836023
66738A47A7B46B   MARIA        MARTINEZ-GONZALEZ            NC     11044270470
667395A535416B   KATHERINE    MILLER                       OR     90010095053
66739A11881644   MONICA       MIRANDA-LUJANO               KS     90015070118
66739AA585B235   THOMAS       STANFORD                     KY     90014270058
6673B25217193B   GREGORY      GALLEGOS                     CO     90015342521
6673B842772B36   LEOLA        NUBINE                       CO     33015938427
667425A214B588   MARIKA       DYKES                        OK     90011655021
66742869A71964   BRITTANY     YANCEY                       CO     90013748690
66742A97461936   KING         BRIAN                        CA     90012840974
66743243472B43   MARCIA       VETTER                       CO     90011202434
6674361787B46B   MANDY        IZEY                         NC     90011446178
667443A3372B36   DORALEE      FERONA                       CO     90013813033
667443A7A91592   LUIS         VALDEZ                       NM     90008383070
667457A8791894   LIZBETH      INIGUEZ                      OK     90012527087
6674623217193B   JASMINE      VEGAS                        CO     90012372321
66746654A93729   KEVIN        WEESE                        OH     64564976540
66746689A3B324   IGOR         VOLKOV                       CO     33093376890
6674768965B235   JAY          ALEXANDER                    KY     68046806896
66747955172B36   SERVICES     DAMIAN                       CO     90008389551
66747A26871964   ANISSA       MCNALLY                      CO     32012940268
66747A27233B92   DAYSHA       WATKINS                      OH     90009170272
667481A765B235   PENNY        HAGAN                        KY     90011281076
667487A582B828   RICK         ARMSTRONG                    ID     90014427058
66748A36991522   LOURDES      HERRERA                      TX     75017010369
6674974A62B225   DAVON        BYRD                         DC     90007687406
6674B25469123B   JAWAN        JOHNSON                      GA     90014552546
6674BA3265594B   ADRIAN       MALDONADO                    CA     90008470326
66751455A61936   ARMANDO      GARCIA                       CA     90012564550
6675147927B46B   ANAHI        CRUZ                         NC     90011494792
6675173247193B   CORY         BELL                         CO     90006477324
6675185AA7B46B   KRISTY       KANYON                       NC     11015468500
66752261572B29   AGUSTINA     PINEDA                       CO     90013252615
66752551672B36   GERDA        TANYA                        CO     90002955516
6675261A991562   MARIA        TERRAZAS                     TX     90011086109
66754177172B43   JESUS        GALVAN                       CO     33009571771
66754345772B36   BRITTANY     CHAVEZ                       CO     90011473457
6675434767B329   JUAN         VELEZGONZALEZ                VA     81083493476
66754462A91562   DAVID        ESTRADA                      TX     90014374620
6675521237B46B   CHAREE       CAMPBELL                     NC     90014782123
6675552495B531   DONAVAN      MONTOYA                      NM     36017035249
66755866272B93   CHAD         ROBINSON                     CO     33039458662
66756A3338B168   SHANDA       BORJAS                       UT     90002160333
66756A5175B241   MELISSA      DAVIS                        KY     90015330517
66756AA9872B29   FRANCISCA    LOPEZ                        CO     90009150098
6675771337B46B   NATASHA      GIVENS MONROE                NC     90000717133
6675773A455975   REYNALDO     MOSO                         CA     90013877304
6675835392B23B   JOHN         BROADWAY                     DC     90008433539
6675865517193B   CHAD         HINKHOUSE                    CO     32039506551
667591A517193B   QERINA       QUINTANA                     CO     32005211051
6675972485B531   DANIL        DURAN                        NM     90007917248
6675B215A91592   SOFIA        LARA                         TX     90010392150
6675B38A172B36   ESTAPHEN     HUMILDAD                     CO     90007193801
6675B483691562   FELICITAS    CARRASCO                     TX     90010504836
6676131174B588   BEVERLY      JOYCE                        OK     90014423117
6676165A43B125   RENATO       MENDIETA                     VA     90005506504
66761833A72B29   SHADANA      HUFFAKER                     CO     33041678330
66761858A61936   LUIS         GONZALEZ                     CA     90012668580
6676191767B349   JUAN         RODAS                        VA     81017679176
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 507 of 2350


6676244475B531   ELFEGO               VARGAS               NM     36044644447
6676297595B531   CANDACE              DELGADO              NM     90014729759
66762A2885B241   EVERETT              BONDS                KY     90008420288
66762A3227193B   DANIEL               WEST                 CO     90012630322
6676321A693762   ASHELY               BROYES               OH     90010212106
6676418438B347   CHARLES              CILPPARD             SC     90013931843
6676447397193B   DAVID                ALVARADO             CO     90010524739
6676464A471964   GARY                 ZAHN                 CO     32019006404
66765226672B43   SANDRA               SANCHEZ-RAMIREZ      CO     33090722266
66765448A5594B   GUADALUPE            MEZA                 CA     90008474480
66765793A93729   BRIANA               MURPHY               OH     90014727930
6676598154B588   SERGIO               MARTINEZ SANCHEZ     OK     90013099815
66765A47372B29   ALEX                 VARGAS               CO     90012560473
6676656925B235   TOSHA                BLINCOE              KY     68081355692
6676688A872B36   GERALDINE            ESTRADA              CO     90014258808
6676739A191599   RENE                 SANCHEZ              TX     90005713901
6676745147B632   BLAKE                HUGHEY               GA     90014874514
6676764935B243   AMY                  HERDT                KY     90007786493
667683A2661964   ROBERTO              RUVALCABA            CA     90011943026
6676868555B531   JAMIE AND CONSUELO   GARCIA               NM     90012566855
6676869A172B36   CLIFTON              CLAY                 CO     90013966901
6676888867193B   AMY                  LOPEZ                CO     90011878886
6676943645B241   DAMIAN               MURRAY               KY     90007094364
6676B26495B531   ADELAIDA             COBOS-DERODRIGUEZ    NM     36006282649
6676B52775B531   THOMAS               BACA                 NM     90015285277
66771543972B43   ERIK                 GILLESPIE            CO     90007345439
6677225194B588   PARRIS               KENNEDY              OK     90004862519
6677351A74B27B   SALVADOR             GARCIA               NE     90007205107
6677529A491562   MARIA                GUTIERREZ            TX     75092552904
66776561A72B29   LORENA               MORALES              CO     90012025610
6677672224B27B   JOEL                 SCHLOTFELD           NE     90011137222
6677738698B168   QUERSTIN             NELSON               UT     90005673869
6677768493B359   JUSTIN               PARFREY              CO     90007296849
6677773188B183   HECTOR               MANCIA               UT     90004787318
667778A684B588   ASHLEY               COLLINS              OK     90014758068
66777AA2372B27   MARGARET             GONZALES             CO     33067940023
66778124A91562   EVA                  VASQUEZ              TX     75087871240
667786A235B241   ANTONIO              ARNOLD               KY     68010536023
6677885287B46B   CHERRIES             WILSON               NC     90001548528
66778A4854B27B   TT                   TT                   NE     90013620485
6677917725B235   AMBER                CHEEKS               KY     90013961772
6677951A97193B   KIM                  STEWART              CO     90010525109
6677966474B27B   HUNTER               SADLE                NE     27041596647
6677968335B241   GAGE                 HART                 KY     90013196833
6677979457193B   KIM                  STEWART              CO     90012567945
667798A9291592   YOLANDA              BENAVIDEZ            TX     75090098092
66779998A55975   ELIA                 MARTINEZ             CA     90012779980
6677B693171964   ROBERT               SOBE                 CO     90004426931
66781A73391522   JANET                VARGAS               TX     90015100733
66782159872B43   CHISTOPHER           BACA                 CO     90011871598
6678255225416B   JOSHUA               IVEY                 OR     90014425522
6678264344B588   BRYAN                MEJIA                OK     90011656434
6678268A75B241   MARTIN               LOWE                 KY     68044736807
6678269575B53B   MARIA                REYNAGA              NM     35095236957
66782A78A91562   ROBERTO              ENRIQUEZ             TX     75050010780
6678323222B956   ENRIQUE              CASTANEDA            CA     48015302322
667838AAA61936   CHRISTOPHER          FOSS                 CA     90013098000
6678393314B268   JASON                SCHNEWEIS            NE     27046299331
6678456357B48B   ROBIN                FREEMAN              NC     11060405635
66784A29891592   RALPH                LAUREN               TX     90010090298
66785384A3B385   DIANE                HERNANDEZ            OK     90008673840
6678588255B531   LYDIA                MEDINA               NM     90012358825
6678677115416B   KILA                 HOWARD               OR     90010827711
66786969A91562   FRANK                HERNANDEZ            TX     90010129690
66786A5A591592   ELIZABETH            MENDIA               TX     90010780505
6678721A25B531   JOSEPH               VASQUEZ              NM     90003042102
6678748A171964   JEWELL               MELILLO              CO     32056664801
66789536472B36   CHAD                 SCHWANDT             CO     33057995364
66789543A55977   AMBER                RICHARDSON           CA     90011485430
6678B23A32B828   STEPHANIE            AFAMASAGA            ID     90009752303
6678B384A3B385   DIANE                HERNANDEZ            OK     90008673840
6679158328166B   TAMEKA               WASHINGTON           MO     90015095832
6679161A755977   POUNGMALEEN          REUK                 CA     90013966107
6679168A951354   VICTOR MANUEL        RAMOS MARQUIN        OH     90015116809
66792454872B29   CELIA                RAYLENE BALES        CO     90001854548
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 508 of 2350


6679247565B531   ANDRES       ORNELAS                      NM     90008204756
6679258157193B   CHRIS        HARTMAN                      CO     32081335815
66793193A93729   CHANPELL     MORGAN                       OH     90014601930
66793254A8166B   LUIS         ESPIN                        MO     90014172540
6679331A991552   GLORIA       MAGALLANEZ                   TX     90009333109
66793A18A55975   OSCAR        ESPINOZA                     CA     48095380180
6679415864B588   MATTHEW      AKERMAN                      OK     90013031586
6679452A291265   MONIQUE      BALDWIN                      GA     90005395202
667947A5455977   ANGELICA     BORGUEZ                      CA     90000477054
6679488274B268   LARRY        STATION                      NE     27080418827
66794A8675B531   ELVIA        CHAVIRA SERRANO              NM     36000760867
6679583512B89B   JAVIER       LARA                         ID     90014748351
66796226A55973   EMILY        AVILA                        CA     90002912260
6679637375B235   TACHIA       TAYLOR                       KY     90012463737
6679672632B828   JESSIE       TRUJILLO                     ID     90014427263
6679729225B235   JESSICA      ARMSTRONG                    KY     90010992922
6679739634B588   OLMIN        FLORES                       OK     90012083963
667973AA13B366   BERNADETTE   MILES                        CO     33076643001
66797823A72B43   GEORGE       HERNDON                      CO     33066208230
6679797198166B   KRISS        OLSEN                        MO     29088199719
66798782A55975   MARTHA       MANDUJANO                    CA     90008657820
6679923A155975   MARY         CASTILLO                     CA     48034602301
66799364A91998   CRAIG        FISCHER                      NC     90013963640
66799546872B43   TONY         NADEAU                       CO     90011485468
6679B321891592   STANLEY      ESTALA                       TX     90012953218
6679B34245B53B   TED          TAPIA                        NM     90004013424
6679B49625416B   ROBERT       HARRIS                       OR     90013584962
667B1241151354   JAMES        WALKER                       OH     66011092411
667B128A18166B   MICKAIELA    MCKINLEY                     MO     90010012801
667B1369A55977   MARIA        PONCE                        CA     90010313690
667B174985B235   ERNESTO      LOPEZ                        KY     90015267498
667B1842A72B36   JACKSON      OSBORN                       CO     90014158420
667B185232B535   LUCAS        BUNT                         AL     90010698523
667B1947881675   ROSALINDA    ZARAGOZA                     MO     90002569478
667B2424491522   MAYRA        CASTILLO                     TX     90010624244
667B2487951354   SKYLAR       STINCHCOMB                   OH     90012984879
667B295964B588   CHRISTIAN    DAVIS                        OK     90011839596
667B398818166B   THE          ONE                          MO     29096899881
667B3A9956198B   SCOTT        STEMMERMAN                   CA     90001890995
667B4387672B36   DONNA        PAYNE                        CO     33039623876
667B47A4661936   RUBEN        LOMELI                       CA     90012317046
667B4916372B43   J MERCED     DIAZ-ARAGON                  CO     90007589163
667B493284B588   SELENA       COMMEY                       OK     90013099328
667B5167655973   ANA          NAVARRETE                    CA     90012511676
667B5556651354   BIMAL        RAI                          OH     90012245566
667B5659972B27   JEREMY       NISS                         CO     90013136599
667B59A8972B36   JUANA        GAMBOA                       CO     33084829089
667B5A29972B43   JAMES        GRIFFITH                     CO     33024290299
667B5A8133B324   RICHARD      DAVIS                        CO     90003470813
667B612737193B   DANIEL       JAIRO                        CO     90011541273
667B6531584392   HEATHER      SAIN                         SC     90000955315
667B6752772B27   JENNI        FAAMAUSILI                   CO     90012627527
667B7934A91562   MARIBEL      CARRERA                      TX     75007629340
667B7977A93729   URIEL        SEGURA                       OH     90013089770
667B7AA545416B   JOSEPH       KOCER                        OR     90012470054
667B8263485946   KENNETH      SHELL                        KY     90003822634
667B8384955977   KEN          WILKEROSON                   CA     49067973849
667B93A8755977   WENDELL      CAMPBELL                     CA     49046703087
667B972312B828   ALEXANDER    CASSELL                      ID     90012297231
667B974A92B828   ALEXANDER    CASSELL                      ID     90014537409
667B9814691522   MELISSA      ECHAVARRIA                   TX     90013058146
667BB34585B531   DIANA        ARCHULETA-WALKER             NM     90012883458
667BB465761936   RHONDA       GANN                         CA     46000924657
667BB559672B43   JOE          SMITH                        CO     90014875596
667BB68645B241   LINDA        MATTINGLY                    KY     90005276864
667BB747955977   MARCO        RODRIGUEZ                    CA     90014767479
6681188674B588   AMANDA       SLUDER                       OK     90012498867
6681223227193B   MISS         TEIASFHA                     CO     90009082322
6681226415B531   ARNOLD       BARRERA                      NM     90014982641
6681239295B235   JEREMY       LOWRY                        KY     90015533929
66812758A71964   SAMANTHA     LYNN                         CO     90014607580
6681283A461964   MARIA        ANGEL                        CA     90010608304
6681337A37193B   SEAL COAT    SOLUTION                     CO     90012013703
66813972272B36   THOMAS       CROWE                        CO     90014779722
66814329472B27   CARLOS       SANDOVAL                     CO     90012903294
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 509 of 2350


66814493A91998   ANTHONY         ALSTON                    NC     90011714930
6681486592B828   TREVIN          SKINNER                   ID     90014728659
668148A667193B   CHANIE          GREGORICH                 CO     90006478066
66814A89755975   JOSEPH          ALDACO                    CA     90013740897
668153A7381644   DONALD          TRENT                     MO     90010113073
66815429172B36   HEATHER         GRAY                      CO     90008164291
66815712572B29   DEANNA          WILLIAMS                  CO     33063497125
66815A16172B43   JAVIER          CAMACHO                   CO     33092790161
6681646A27193B   KATE            JHONSON                   CO     90011544602
66816592A71921   ELIZABETH       JUVERA                    CO     90011895920
6681674975B531   ERIC            MARTINEZ                  NM     36044317497
6681695A824B64   ZEBRINA         KINEY                     DC     90014539508
66817153972B27   ANGEL           GUTIERREZ                 CO     90013051539
6681743985416B   EDUARDO         PEREZ                     OR     90014904398
66817A41591562   WESLEY          KUNTZ                     TX     90012850415
66818634A55975   VANESSA         DAGGETT                   CA     48027426340
6681913714B588   CYNTHIA         SMITH                     OK     21566731371
66819741172B36   MARIO           GUTIERREZ                 CO     90010967411
6681B8A1491592   MAYRA           CORDERO                   TX     90010638014
66821169A5B235   CRYSTAL         COGHILL                   KY     90011201690
6682165215416B   RICARDO         LOSANO                    OR     90014406521
66821A69492836   FELIX           LOPEZ                     AZ     90014110694
668223AAA71924   KEN AND WANDA   EIDE                      CO     90014443000
66822998A55975   ELIA            MARTINEZ                  CA     90012779980
66822A6313B365   ERICA           HERMANN                   CO     90012720631
66823173A2B828   CHRIS           HOLMES                    ID     90007571730
6682358395B235   JASMINE         DAVIS                     KY     90011085839
66823A5957193B   FABIAN          WOODS-ALANIZ              CO     90006270595
66824495572B36   ALFREDO         TERRAZAS                  CO     33046294955
6682463343168B   MATILDA         REYNOLDS                  KS     90009196334
66824686372B29   CARA            DENOMA                    CO     90009796863
668246AA572B43   ANNARSHIE       AMIANIUS                  CO     90003466005
6682576548166B   SUSAN           STANBACK                  MO     29063227654
6682582A571964   JENNIFER        LONCKI                    CO     90014608205
668259A167193B   REBECCA         HOLT                      CO     90014579016
6682613674B588   KIRK            GARFIELD                  OK     21506291367
66826531A61964   MARIA           NARANJO                   CA     90014145310
6682654285B38B   CLARENCE        MALLETT                   OR     90012145428
668267A7981675   ANTHONY         KENT                      MO     90009807079
6682686A371964   TROY            MORGAN                    CO     32011908603
6682746594B588   MICHEAL         LEWIS                     OK     90013964659
6682748577193B   DANIELA         BAUTISTA                  CO     90011514857
6682788565B241   DONNIE          BISHOP                    KY     90015128856
66828778A91534   FLOR            LOPEZ                     TX     90008287780
66829126972B27   LARRY           DODSON                    CO     90007781269
668295A1372B27   SERGIO          TOSCANO                   CO     33051855013
6682B51565B531   LADONNA         GALLARDO                  NM     90009925156
6682B84975B241   THOMAS          COLEMAN                   KY     68093028497
6682B8A8761964   CARLA LIZETTE   LOZANO                    CA     90013248087
6682B985961936   MARIA           MUNDO                     CA     46063889859
6682BA5235594B   IRVING          REYES                     CA     90008510523
66831167672B29   ENRIQUE         LUNA                      CO     90012851676
66831254A93729   BRIZ            C                         OH     90015132540
6683132285B235   CHAMEKA         BENEDICT                  KY     90014873228
66831764A5B531   ANGEL           LOPEZ                     NM     90007957640
6683244578166B   ENGRACIA        MUNOZ-RODRIGUEZ           MO     90007054457
6683282958166B   TRACY           GRATTY                    KS     90011208295
6683338765594B   JUANA           PRADO                     CA     90008513876
6683359A793777   THOMAS          MOCKABEE                  OH     90001785907
66833752972B43   JOSE            GUIJARRO                  CO     33053547529
668338A1855973   CATHY           REEVES                    CA     48098188018
66835166A72B43   SHANDELL        EASTRIDGE                 CO     90011871660
668359A788166B   BENITO          ALFONS                    MO     90008789078
668364A582B828   ALEXIS          WOODLEY                   ID     90013834058
66836739A61936   CAROLINA        DELAPUENTE                CA     46068537390
6683692664B588   JULICIA         BROOKS                    OK     90011659266
6683749255B531   SANDI           ASSEL                     NM     90003144925
6683758634B588   ANGELA          HANEY                     OK     90014935863
66837A21881644   MISTY           ANZALDO                   MO     90014560218
668389A3272B25   NORMA           MERAZ                     CO     90013249032
66838A13291998   KIM             DANIELS                   NC     90014860132
6683B15572B828   TAMMY           SMITH                     ID     90004351557
6683B4A7155975   ANA             TAPIA                     CA     90010094071
6683B93A955973   JOSHUA          NOTHSTEIN                 CA     90012579309
6684112A391592   STEPHANIE       ZUBIATE                   TX     90014021203
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 510 of 2350


668411A487193B   EDWUIN       ALCANTAR                     CO     90013401048
66841A14791522   RICHARD      CORNEJO                      TX     90011900147
6684247792B828   ABIGAIL      STACY                        ID     90009834779
66842663A81644   NICOLE       BEAMGARD                     MO     90000376630
66842728372B49   GABRIELA     SARAVIA                      CO     90010567283
66842A3598166B   JUAN         GARCIA                       MO     90009910359
66843147972B27   SHERYL       SCHLUND WITT                 CO     90014021479
668437A952B828   DANIELLE     BOND                         ID     90013737095
66843A8257193B   SHANEL       ROBERTSON                    CO     90013670825
6684442312B828   JASON        ALRED                        ID     90007754231
6684466485416B   SKY          COBURN                       OR     47060356648
6684517A861964   ESPINOZA     MARIOA                       CA     90001341708
66845639672B29   SHAUN        MAGRATH                      CO     33027206396
6684585765B531   BERVERLY     FERNANDEZ                    NM     90011628576
66846416A61936   HAYDEE       VAZQUEZ                      CA     90012564160
668465AA493729   ASHLEE       HILL                         OH     64528015004
66846811572B27   GUADALUPE    LOPEZ                        CO     33064128115
66846A13272B29   JERRY        RODRIGUEZ                    CO     90013240132
6684759784B27B   JEFFREY      WASHINGTON                   NE     90009615978
6684761988166B   MASHEIKA     DAVIS                        KS     90013676198
66847A25472B27   SHEREACE     JUAREZ                       CO     90003960254
66847A7272B269   LUIS         VENTURA MACARIO              DC     81079270727
66847AA1491592   ESTELA       REZA                         TX     75040130014
6684874A936B21   JAMES        CRAIG                        OR     90012177409
66848796A91522   ROSA         RAMIREZ                      TX     90014697960
6684964474B27B   PATRICIA     SARRATT                      IA     90011606447
66849997A5B531   MANUEL       ESTRADA                      NM     90011629970
6684B17374B588   MARKETT      JONES                        OK     90013021737
6684B69125B235   SONIA        HEAD                         KY     90005006912
6684B94657193B   MAUDA        HERNANDEZ                    CO     90005189465
6684BA9A68B168   DEVONA       COVEY                        UT     90002090906
66851124172B27   JESSICA      ATHANACIO                    CO     33076211241
66851441A61936   ESTELA       DOMINQUEZ                    CA     90014804410
66851474124B7B   BRIAN J      HILLIARD                     DC     90000854741
6685155624B588   MARIA        JUANES                       OK     90002145562
668519A8681644   JASINTO      GONSALEZ                     KS     90014649086
668523AA681644   A            PM                           MO     90011593006
6685266225416B   LISA         SCHNOES                      OR     90014406622
66852819172B36   EULALIA      ESPARZA                      CO     33067568191
66852835A72B29   ALLISON      WESTFALL                     CO     90007028350
66852999472B27   ANZHELLA     BUSH                         CO     90005469994
66853329972B29   JARRA        HEWITT                       CO     90010383299
66853427A5B241   CRYSTAL      BRANDON                      KY     90007374270
6685349437B46B   MARIE        LYNN                         NC     90014814943
6685355467193B   FRANK        FOSTER                       CO     90010525546
66853A8935B235   TRAVIS       DICKERSON                    KY     90010620893
66854417A91535   SERENA       DE LA RIVA                   TX     90012834170
66854516A5B531   DENISHA      QUINTANA                     NM     90009925160
6685475542B828   MARIA        SANCHEZ-SQUIRE               ID     42058297554
66855836472B36   BONNIE       RUPP                         CO     90014998364
66855A7272B828   GORRINGE     DESAREE                      ID     90011470727
66856435772B27   RONALD       WELLS                        CO     33025834357
6685692A991562   YVETTE       NIEVES                       TX     75028409209
6685715AA72B27   JANET        JIMENEZ                      CO     90013721500
6685728885B235   BRANDY       HOLLAND                      KY     68045782888
6685779195416B   JOSHUA       DOWELL                       OR     90015087919
6685929955594B   MARIA        TALINGO                      CA     90000152995
6685931A781644   JOANNIE      ROUNDS                       MO     90008303107
6685967692B228   ROCHELLE     SEENEY                       DC     81016786769
6685999A633698   CHARLES      THOMAS                       NC     12064689906
6685B288191522   CLAUDIA      TORRES                       TX     75044672881
6685B36524B27B   CHRIS        PETERS                       NE     90013543652
6685BA57451354   VIRGINIA     WRIGHT                       OH     90002430574
6686128128166B   DAKODA       JOYCE                        MO     90014472812
66861447772B43   THERESA      MCGRATH                      CO     33003814477
66861742972B27   KARY         MANZANARES                   CO     90007537429
6686226A48B168   ROGER        JONES                        UT     31055012604
668622A6672B43   JENNIFER     LEIGH                        CO     90014442066
66862587A55969   SHELLY       COITO                        CA     90009875870
6686266484B27B   IRMA         MORGAN                       NE     27015916648
6686281A151354   SHERITA      ROBY                         OH     66034458101
66862A29972B43   JOSE         QUINONEZ                     CO     90013560299
668638A4393729   JAMES        FOLEY                        OH     90013098043
6686424759132B   MYLISSA      REYNOLDS-MARLOW              KS     90012082475
6686431A88166B   DANIEL       MORALES                      MO     29009793108
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 511 of 2350


66864822A91522   NIKY         MONTANEZ                     TX     90014698220
668652A5891592   LUIS         HERNANDEZ                    TX     90013962058
6686557885B241   RODOLFO      RUELAS                       KY     90015325788
6686561117193B   JESUS        RIVERA                       CO     90013846111
66866744A5594B   AMADO        BAUTISTA                     CA     90007437440
668669A867193B   SANDRA       MARTINEZ                     CO     90008269086
6686848339198B   PEDRO        ARROYO BENITEZ               NC     90007964833
66868976A91562   ELIZABETH    SANTOS                       TX     90008859760
668692A4161964   WALTER       BREALEY                      CA     90005802041
6686946765416B   BRIAN        MAY                          OR     47014694676
6686988962B828   LORI         STURGEON                     ID     42008398896
6686B16817193B   LORIE        DE PAULA                     CO     32096181681
6686B642891522   ADRIANA      PAZ ANAYA                    TX     75084086428
6686BA8A94B27B   BILLY        BROWN                        NE     27016770809
6686BAA1291562   FRANCISCO    CHAVEZ                       TX     90015120012
66871194772B43   FRED         ACKER                        CO     33043951947
6687152367B46B   KASON        WILSON                       NC     90013435236
6687182975416B   KARI         STEINEKE                     OR     90013158297
6687255A45B235   MARY         COX                          KY     90015015504
66872913972B29   GEORGE       LELESZ                       CO     90002049139
66872A4545B241   BRETT        SCHMIDT                      KY     90013080454
66872A4937193B   BREANNA      ISAAC                        CO     90008090493
66873A18A61964   JESUS        RAMIREZ                      CA     90000900180
6687432235416B   STEVEN       WOBBE                        OR     90009473223
6687432377B46B   CALVIN       COOKE                        NC     11052823237
6687469A893729   CIPRIANA     MARTINEZ-TREJIO              OH     64528606908
6687478A33B394   ANGELO       COLE                         CO     33001767803
668749AA15B176   JOSE         ORANTES-REYES                AR     90011679001
668753A625B571   CRYSTAL      RIVERA                       NM     90013953062
6687544A655977   LETICIA      ORTEGA                       CA     90013934406
66875A98471964   LEANN        WILLIAMS                     CO     32017960984
668768A5A71964   MICHAEL      GUTHRIDGE                    CO     90014618050
6687884972B828   SRNA         EMIR                         ID     42027248497
66879678872B29   APRIL        SALAZAR                      CO     33040996788
6687988935B235   JERJUANA     MERIWETHER                   KY     68000418893
6687B289891522   ISELA        MADRID                       TX     75002262898
6687B46517B389   PEDRO        RIVERA                       VA     90002294651
6687BA9A193753   THOMASS      HUFFMAN                      OH     64567570901
6688143925B235   KAYLA        FEY                          KY     68063604392
6688155514B27B   PETER        DAK                          NE     27090815551
6688218264B588   NIGEL        BLAND                        OK     90013021826
6688333414B27B   BONNIE       CAULDER                      NE     27089033341
66883637672B43   SHERRI       GALLEGOS                     CO     90008716376
66883743A91534   RUTH         ARGELIA RAMIREZ              TX     90000527430
6688494528B168   BRIANNA      CHAVEZ                       UT     90010919452
66884A56291592   ALFONSO      VILLAGRANA                   TX     90010780562
66884A8655B235   WILLIAM      BROWN                        KY     90014930865
6688583644B588   DION         DUNCAN                       OK     90015018364
66885891172B43   JUAN         RANGEL                       CO     33083468911
6688589464B27B   JAMES        WEST                         NE     27072988946
6688655825B531   ALFREDO      AMAYA                        NM     90013345582
66886A8A12B244   LENNOX       WILSON                       DC     81040460801
6688827745594B   MARIA        RAMOS                        CA     48071302774
668884A6355975   SARAH        BLEDSAW                      CA     90013364063
6688875855594B   MARIA        RAMOS                        CA     90014887585
6688887974B27B   BRENDA       AUSTIN                       NE     90010898797
6688899AA91522   SUSAN        MARTINEZ                     TX     75089739900
66889336672B36   CYNTHIA      RODRIGUEZ                    CO     90011323366
668895A612B828   JOSE         SOLANO                       ID     90012375061
6688999153B342   VU           LANDSCAPE                    CO     90008589915
6688B17A78B168   ATOCHA       BARRANDEY                    UT     31017241707
6688B236572B27   REYNAUD      MAYRA                        CO     90010752365
6688B346555975   MYRA         RIVERA                       CA     90014303465
6688B4A9555975   MYRA         RIVERA                       CA     90012884095
6688B67374B268   MICHELLE     LADD                         NE     27046876737
6688B857A5B531   JOSE         RIVERA                       NM     90004898570
6688B893461964   LYDIA        M. OLACHEA                   CA     46054558934
6688B91384B27B   KATRINA R    CARTER                       NE     27050979138
6688B995191522   FRANCISCO    SOLIS                        TX     90012109951
6689166A571964   JONATHAN     FLORES                       CO     90011386605
6689192918B168   JEREMY       VENTRINO                     UT     31057459291
66892257972B43   JUAN         GARCIA LOZANO                CO     33066152579
668925AA655975   CAROL        ORDUNO                       CA     90006085006
6689262163B35B   ISELA        GAYTAN                       CO     90009896216
66892A1225B235   SHANIQUA     SHECKLES                     KY     90014910122
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 512 of 2350


66892A47493729   NIKOLAUS     FOECKLER                     OH     90011190474
6689366A65B241   TACHELLE     BOOKER                       KY     68027696606
6689383112B828   LEAH         PAINTER                      ID     90000208311
66894821557B92   DARREN       PETRONE                      PA     90012278215
6689533562B828   SARA         JANE                         ID     90014783356
66895A55561936   BREANNA      REED                         CA     46087780555
6689639965B235   BRANDON      MORGAN                       KY     90013333996
66896488172B43   SHIRLEY      MCQUOWN                      CO     90008894881
66897265672B27   PAUL         LAGO                         CO     90011862656
668975A525416B   CHARLES      PRICE                        OR     90012665052
6689762A372B27   NIEKIA       BROWN                        CO     90012866203
668984A8593729   LENTON       BOYD                         OH     90013934085
6689874A351354   DAVID        HUNTER                       OH     90005147403
66898A43261964   JADE         ALLEN-FOREMAN                CA     90014430432
66898AA8581644   NICOLE       NELSON                       MO     29055770085
6689954912B828   NANCY        HOOVER                       ID     42023295491
66899621A63646   STEVEN       NORRIS                       MO     90004666210
66899A35255977   ANDREA       RUSBOLDT                     CA     90012370352
66899A6247193B   KENYETTA     TYLER                        CO     90013860624
6689B25A54B27B   MODESTO      ANTONIO DURATE               NE     90001112505
6689B331381644   ANIBAL       ESCOBAR                      MO     29096223313
6689B375555977   HIGINIO      PEQUENO                      CA     90015023755
6689B39A372B43   BEN M        WICHMANN                     CO     90004513903
6689B3A8A5416B   ALEX         GARCIA                       OR     90013943080
6689B75A961936   FA           LIMA                         CA     46024617509
6689B92A351354   RANDLE       DAWES                        OH     66092329203
668B1334A91998   DEKA         GAAL                         NC     90015233340
668B13A6191592   RODRIGUEZ    SANDRA                       TX     75038373061
668B1732261964   THOMAS       WARSAW                       CA     90014477322
668B2189A5416B   FELICA       NEVILLE                      OR     47026071890
668B241964B588   ROBERT       SULLIVAN                     OK     90014354196
668B247724B268   DEANNA       MONTANYE                     NE     90014474772
668B2A1325B235   DUNZELLA     POLK                         KY     90003110132
668B3311761936   DANIEL       CERVANTES                    CA     90013313117
668B3775755973   CRISTINA     OSORIA                       CA     48064287757
668B3894891998   MARY         MOORE                        NC     90001038948
668B4237872B43   DEAN         DURAN                        CO     90006362378
668B4373261936   GEORGE       VAHLE                        CA     90014103732
668B4551251354   CAREY        SMITH                        OH     90010855512
668B461397193B   FRED         ANDERSON                     CO     32019926139
668B4691793729   SHAUNA       HERNANDEZ                    OH     90013726917
668B4A79455973   JUAN         QUINTERO                     CA     90015200794
668B513427193B   VICENTE      NATIVIDAD                    CO     32065231342
668B5531161964   FREDDIE      CARRUTHERS                   CA     46060715311
668B6353255977   ROGERS       CHRISTOPHER                  CA     49096073532
668B6372872B29   JENNIFER     SIMMS                        CO     33057223728
668B63A554B27B   LORI         KILGORE                      NE     90015143055
668B7423291998   SHAMECA      MCKINNIE                     NC     90011714232
668B7664261964   SANDRA       PARTIDA                      CA     46027046642
668B7666191234   ROBERT       LAPOINTE                     GA     90011256661
668B8218855975   CASEY        KELLOGG                      CA     90012772188
668B92A4251352   BOBBY        WOOTEN                       OH     66052792042
668BB28A38B168   DEBBI        TATRO                        UT     31057282803
668BB421A7193B   AMANDA       LOCKWOOD                     CO     90015064210
668BBA62924B7B   TOLA         KEKEBA                       VA     81089410629
6691135535594B   REFUGIA      FUENTES                      CA     90008543553
66911A3A661936   RODOLFO      HERNANDEZ                    CA     90014330306
66912A95A5B241   DANIANA      SANCHEZ                      KY     90001840950
6691311914B27B   CURTIS       WHEAT                        NE     27007481191
6691339A991562   NORMAN       RHODES                       TX     75041893909
669134A8693729   ROBERT       BLANKENSHIP                  OH     90013934086
6691422817B46B   BRIDGETTE    MILLER                       NC     90014162281
66914A71661964   MANUEL       GOMEZ                        CA     90003670716
6691556628166B   LEAH         RUTH                         MO     90010385662
669167A172B828   AMARALDA     MARTINEZ                     ID     90010427017
6691715A372B29   ADRIANA      SANCHEZ                      CO     90002971503
669172A745416B   ANDREA       MENDEZ                       OR     90012012074
6691732625B235   DOMINICK     BROWN                        KY     90014873262
6691844A351354   LINDA        OVERALL                      OH     90002504403
669184A8A55973   ALYSSA       ESPINA                       CA     90014904080
6691858425B531   MARTHA       RUIZ                         NM     36069455842
6691861325B241   KIMBERLY     HAMILTON                     KY     90011146132
66918A79271964   MAGDALENA    VELEZ                        CO     90010960792
66918AA6391592   ALEJANDRA    ORTEGA                       TX     75027420063
669192A9572B27   ALFREDO      TERAN                        CO     90001642095
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 513 of 2350


6691B143A61936   CAMERINA      VASQUEZ                     CA     90004461430
6691B412691998   CONCEPCION    MERRITT                     NC     17083294126
6691B52167B46B   KIMBERLY      WILSON                      NC     11063195216
6691B697872B29   EMANUEL       LOPEZ                       CO     90007126978
6691BA28372B29   DWAYNE        WOODS                       CO     90014610283
6692133565B571   MARK          MALOUFF                     NM     90013953356
66921A8397B46B   EGYPT         WILLIAMS                    NC     90008210839
669224A1171964   JASMINE       BANKS                       CO     90014894011
6692263995416B   MICHAEL       NORRIS                      OR     90011656399
669234A912B828   ANGELITA      VELA                        ID     42064554091
6692371712B828   MARIA         MARTINEZ                    ID     90010347171
6692393844B588   FELICIA       THOMPSON                    OK     90014779384
6692414724B588   MARVIN        VEALY                       OK     90014391472
6692414998166B   MAHOGANY      JOHNSON                     MO     90009231499
6692425554B549   DAISY         STILL                       OK     90009292555
6692438817193B   SERGIO        GUIJAS                      CO     90012743881
6692484573B18B   LARRIS        MEDINA                      MD     81042058457
6692586724B588   CHRISTOPHER   ONEILL                      OK     90004738672
66925A3165416B   ROBERT        RICHARDSON                  OR     90015060316
6692645735B241   TRINA         MILBURN                     KY     90012174573
669264AA57B46B   DENNIS        RHODES                      NC     90013074005
6692681575416B   RICHARD       WARREN                      OR     90014148157
66926A29351354   LAINEY        BROWN                       OH     90011050293
6692744968166B   TIREESE       BROWN                       MO     90013724496
66927867A91522   BRANDON       COCHRAN                     TX     90014698670
6692799518166B   PORCHIA       LOLE                        MO     90011089951
66927A6632B828   ZAINAB        DALIB                       ID     90009850663
6692819415B235   DAVID         ALLEN                       KY     90010001941
6692837937B46B   CASSANDRA     HUDSON                      NC     90010163793
66929135457B92   EILEEN        SWERDON                     PA     90014451354
66929367772B29   NICOLE        DETWILER                    CO     90011233677
6692969213B125   SHAWNTERIA    BARBOUR                     MD     90015386921
669297AA12B828   DINO          LEEFLANG                    ID     90010407001
66929894A2B227   MICHELLE      KING                        DC     90001458940
6692997A35B235   CHARLES       GOLD                        KY     90008099703
66929AA1491592   ESTELA        REZA                        TX     75040130014
6692B5A958166B   VERLEATE      HOLMES                      MO     90008605095
6692B663155973   MARISHKA      SILVA                       CA     90014526631
6692B74137193B   TRACY         SNOW                        CO     90014857413
6692B763791522   OSCAR         LUCERO                      TX     90014897637
6693158475B241   ANGEL         JUDAH                       KY     90013915847
66931843A61936   VERONICA      DOBBS                       CA     90013178430
6693186218322B   ZENAIDA       REILEY                      TX     71056218621
6693198455B235   DONALD        PUGH                        KY     68072859845
669324A3277367   TIFFANY       BUTLER                      IL     90010274032
66932A4385B531   HOPE          PEREZ                       NM     90007180438
6693331544B588   DAVID         CAMERON                     OK     90011663154
6693339925B358   SANTIAGO      FIGUEROA                    OR     90013923992
6693437165594B   RUBEN         HERNANDEZ                   CA     90007513716
6693441532B828   DARRELL       COWLES                      ID     90011454153
6693487567193B   TERRENAN      SCHEMPP                     CO     90015338756
6693497785B531   JOSE          LORENZO MEDIA               NM     90014969778
66934A5365B235   ASHLEY        CRAWFORD                    KY     90015280536
6693584947193B   JOHN          BILLINGS                    CO     32087048494
66936192372B29   AMANDA        SIFUENTES                   CO     33029981923
6693637A772B27   KATHERINE     ARRINGTON                   CO     90014983707
669363A627193B   ISMAEL        MORALES                     CO     90014373062
6693647A785843   CASEY         ROBINSON                    CA     90003594707
6693652969186B   JUDY          MONTGOMERY                  OK     90011675296
6693674442B828   DAMIAN        SANCHEZ                     ID     90014337444
6693826375B241   ANGEL         BLUITT                      KY     90013122637
66938664A55978   MISTY         PARTON                      CA     90006866640
66938715A7193B   CHERICE       HUGGINS                     CO     90011347150
669391A1661936   STEPHANIE     GODINEZ                     CA     90012771016
66939688A5B235   WENDI         TURCHETTA                   KY     90014436880
6693979847B46B   APRIL         BARBER                      NC     90010257984
6693B182981644   KATHERINE     BURNS                       MO     90014711829
6693B578A5B531   VIDAL         CHAVEZ PEREZ                NM     90014255780
6693B793355973   MARIA         FUENTES                     CA     90013337933
6694136492B224   RAMON         GATEWOOD                    DC     90001003649
6694162485B241   JANESKA       HURKES                      KY     90009446248
669417A6672B36   MARIA         ORTIZ CASTILLO              CO     33035857066
669417A9591562   ANA           ALMARAZ-SALAZAR             TX     90012257095
6694189257193B   MONIQUE       SMITH                       CO     32021378925
66941A11755977   JESSICA       SANCHEZ                     CA     90014850117
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 514 of 2350


6694215213B125   CAMEO         OOTEN                       DC     90014721521
6694218847B46B   JUSTO         ARCHILA                     NC     11045101884
6694236615B531   JANAYE        FRANCO                      NM     90011963661
669431A578166B   MIGUEL        PEREZ                       MO     90014481057
6694379813B374   FERNADO       DE LOS ANGELS               CO     33084717981
6694397A94B562   JONATHAN      MANCHA                      OK     90010849709
66943A32A61964   ARACELY       DIAZ                        CA     90005280320
6694482A98166B   DAVID         STRODE                      MO     90013858209
6694485357193B   JOSE          GARCIA                      CO     90013988535
66945141472B43   UNIQUE        HERNANDEZ                   CO     90013581414
6694528418166B   JAMIE         WEST                        MO     29094112841
66945389A4B588   ERNEST        TOVAR                       OK     90011663890
6694613955B235   CAROLYN       SMITH                       KY     68091841395
6694682A861991   JOHNNY        CRAYTON                     CA     90008648208
6694698682B89B   NATE          DANNENHAUER                 ID     90008669868
6694713783168B   LATISHA       MORAIN                      KS     90007741378
669471A767B46B   BRIDGETT      HERRING                     NC     90005811076
6694772624B588   TRISHA        HILTERBRAN                  OK     90015097262
66947A8A42B956   GAYLA         MCLAIN                      CA     90005340804
66947A94255975   FELICIA       ARIAS                       CA     90013460942
6694819518166B   JONATHAN      VILLACIS                    MO     90012851951
66948237172B29   VICTOR        ALVAREZ                     CO     90014112371
6694841934B27B   ANTONNETTE    RUSSELL-SMITH               NE     27016694193
6694865887193B   LUIS          OROZCO                      CO     32074836588
6694965155B235   LAMONTE       BRANHAM                     KY     90014706515
66949713A5B235   LAMONTE       BRANHAM                     KY     90012437130
6694B391891592   REGINA        YBARRA                      TX     90013723918
6695156237B46B   OLANDO        MURPHY                      NC     11052225623
6695172774B588   BETTY         STUMAN                      OK     21574277277
66952851A5B531   KELLI         SCHLIENING                  NM     90011878510
6695375A672B27   JUAN          SOLARES                     CO     90010837506
669539A3161964   RUBEN         REYES                       CA     46045769031
66953A3345416B   MARGARET      JELLEY                      OR     47016050334
669543A144798B   MARK S        MENDENHALL                  AR     90000663014
6695484A972B27   SERGIO        DEVORA                      CO     90013118409
66954A97851354   JASEMINE      PITTS                       OH     90012570978
6695529145B235   LEXIUS        DENTON                      KY     90011972914
669553A9455975   AMBER         MAHUVIEN                    CA     90007683094
66955566A72B27   AMBER         HAUBENCHILD                 CO     90005405660
6695568455B531   CYNTHIA       MONTOYA                     NM     36017616845
66955743A72B36   DAISHANAE     MACKEY                      CO     33062347430
6695675A661964   TRINH         TU                          CA     46021907506
6695724A481631   RITA          JENKINS                     MO     29016772404
669573A1191592   MARIA         RODRIGUEZ                   TX     90011403011
6695779234B27B   RYEISHA       NORMAN                      NE     90004747923
669581AA24B588   ANGELA        CISZYNSKY                   OK     90015091002
66958A32772B29   JAMES         GLISSON                     CO     90013690327
66959A69391562   JEANNE        DIAZ                        TX     75015130693
6695B24A84B581   DUONG         HOANG                       OK     90011002408
6695B626755975   ROBIN         SHEPHERD                    CA     90014736267
6696116837B423   BRANDON       SMITH                       NC     90001981683
669611A9854B84   CLAUDIA       ZUNIGA                      VA     90012531098
6696125127B46B   MARTIN        RODRIGUEZ                   SC     90014472512
6696161655B235   CHRISTIAN     AQUINO                      KY     90015146165
6696161A933681   DOMINGA       CORIA                       NC     90012476109
66961A16A91998   HUSSEIN ALI   IBRAHIM                     NC     90014860160
6696244265B531   MICHELE       ROMERO                      NM     90006694426
66962528272B29   NICANORA      BAHENA                      CO     90012655282
66962A11391522   GRISEL        ROSALES                     TX     90013140113
66962A3285B241   GREG          SAGE                        KY     90012770328
66962A9A793729   BRUCE         SALLEE                      OH     90011190907
6696344744B588   SHANE         ANDERSON                    OK     90011814474
669636A9A2B828   HEATHER       FARISS                      ID     90015176090
66963A82461936   ALFRED        HEAVENER                    CA     90002070824
669649A5A5594B   GAYLE         NORTON                      CA     90005369050
66964A69555977   CHRISHA       CHRISPENS                   CA     90013770695
6696516624B27B   DONALD        CLEES                       NE     27041391662
669657A9555975   ANTONIO       RIOS                        CA     90013077095
6696588985B241   SAMANTHA      SULLIVAN                    KY     90011008898
669666A937193B   GRAIG         PARENTILA                   CO     90001936093
6696689818B155   DARCY         TOAFE                       UT     90002458981
66967173A5B235   YVETTE        MERVIN                      KY     90014841730
6696744737193B   JASON         JONES                       CO     90005344473
6696766832B828   DELORIS       WYATT                       ID     42049246683
66967886A55975   CHRISTINA     CUMMINGS                    CA     90014348860
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 515 of 2350


6696793944B588   TRAUNYA        HARDEMAN                   OK     90014779394
66967A51161964   ALYSSA         TIUMAN                     CA     90012280511
66967A5194B588   JOLEENA        ALEXANDRA                  OK     90014730519
6696848284B268   ADRIENNE       MOORE                      NE     27015794828
66968645272B36   RON            SCHLITT                    CO     33049296452
6696894A671964   TONYA          LICIAGA                    CO     32003719406
6696927685B241   MARY           REED                       KY     90013122768
669692A1963646   SEAN           HINKLE                     MO     90013072019
6696961634B588   JUAN           GOMEZ                      OK     90011806163
66969A59161972   ARIANA         SANCHES                    CA     90007710591
66969A86591998   LAUREN         TROTTER                    NC     17007580865
6696B31947B46B   TANGELA        WHITE                      NC     11060603194
6696B5AA44B588   JAMES          COMBS                      OK     90013785004
6696B63192B828   JOSE           PATINO RIOS                ID     90013276319
6697137735416B   SARAH          BARROS                     OR     90008053773
66971385972B43   BERENICE       HERRERA                    CO     33011263859
66971581A4B588   NICHOLAS       MOODY                      OK     90011665810
6697169885B235   HANNAH         DEVEREAUX                  KY     90013706988
669721AAA4B27B   TABITHA        LACY                       IA     27052141000
6697224A691998   CARLOS         RODRIGUEZ                  NC     90013422406
6697228AA5B531   SERGIO         GONZALEZ                   NM     90011642800
6697258724B588   PAYGO          IVR ACTIVATION             OK     90011665872
6697399A871964   MICHAEL        STEVENS                    CO     90014809908
66973A12491522   LEANDRA        SOLIS                      TX     90001550124
66974296A81675   ANDISA         TURNER                     MO     29037352960
66974693A72B29   DANIELA        RUBIO                      CO     90013166930
6697493A791592   MARIA          MORENO                     TX     90013389307
6697511342B828   ANTONIO        VILLASENOR                 ID     90015121134
6697656139372B   ERIC           VANBEBER                   OH     90011115613
669766A6A91562   MARIA          GARCIA                     TX     90009136060
66977372372B29   TERESA         RAMOS                      CO     33042803723
6697749843168B   TRESSIE        GRIFFIE                    KS     90010094984
669775A275B235   KAREY          SWEASY                     KY     90014975027
6697767722B828   JASON          GREER                      ID     90013356772
6697782724B268   CHRIS          BIGLEY                     NE     27022798272
6697818353B125   WILLIAM        FUENTES                    DC     90003081835
669781A788B168   KATIE          DIAZ                       UT     90003261078
66978875672B36   SABRINA        GALLEGOS                   CO     90012918756
6697947122B828   SHASTA         RUIZ                       ID     90006224712
66979995472B36   LUZ            HERRERA                    CO     90000899954
6697B124561494   EDGAR          FRANKO                     OH     90015111245
6697B352272B62   MATTHEW        BURKE                      CO     90012423522
6697B44A32B828   BERTO          GONZALEZ                   ID     90011734403
6697B59654B27B   JORGE          FUERTES                    NE     90006715965
6697B879171964   LORETTA        MOTLEY                     CO     90011848791
6697BA48791522   MARIA          PORTILLO                   TX     90011900487
6698112477193B   ALICIA         KERR                       CO     90012661247
66981A5594B27B   SAN            LINN                       IA     90012050559
66981A7225416B   DENISE         KALATZES                   OR     90011180722
6698226A472B27   JOSE           HAU                        CO     33052652604
6698236514B588   BLANCA         GONZALEZ                   OK     21560573651
66982AA7561964   STEVE          ENGLAND                    CA     90013870075
669836A6755973   MAGDALENA      HERNANDEZ                  CA     48070966067
66984351472B43   THOMAS         HOFFMAN                    CO     33008973514
66984354A71964   CHRISTOPHER    TATE                       CO     90010993540
6698451284B588   STEVEN         COKER                      OK     90013655128
66985843872B36   JAZMINE        MORALES                    CO     90015068438
66986296A7B46B   ERNIE          BARR                       SC     11094722960
6698643A95416B   CHEYENNE       FORD                       OR     90007574309
669865A384B27B   ALLIE          RICHARDS                   NE     90012525038
6698662918166B   NANCY          STROZIER                   MO     90008686291
66986956776B88   SANDRA         PEREZ                      CA     90014619567
6698721284B27B   LYNDA          KNECHT                     NE     90014482128
66987381A91535   RUBEN          VASQUEZ                    TX     90010433810
66987518472B29   DLAVIA MARIE   WILLIS                     CO     90013495184
6698768455B531   CYNTHIA        MONTOYA                    NM     36017616845
669876A817193B   MICHELLE       JOHNSON                    CO     90011546081
6698796397193B   TINA           GILYARD                    CO     90015099639
66987AA3871964   DANNIELA       MEYA                       CO     90012150038
6698872694B268   FELICIA        JONES                      NE     90002017269
66988815972B43   ANGEL          ESTEVEZ                    CO     90009578159
6698921527193B   MICHAEL        PERRY                      CO     90005142152
6698969595416B   BRYAN          FAIRCHILD                  OR     90013316959
669898A8A31449   MATTHEW P.     SPENCER                    MO     90002328080
6698B283572B36   CISCO          MIERA                      CO     90013872835
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 516 of 2350


6698B28745416B   MICHAEL          KITTLESON                OR     90011892874
6698B489261964   JOSE             MARQUEZ                  CA     46054154892
6698B61A991592   VICTOR           VILLANUEVA               TX     75036426109
66991118A4B543   JACQUELINE       COLE                     OK     90010751180
6699462A57193B   DENNIS           LOETSCHER JR             CO     90011546205
6699496295B531   JOSEPH           ESPINOZA                 NM     36002319629
66994A6798166B   DIXIE            MEYER                    MO     29008130679
6699533737193B   ROXANNE          FREGUSON                 CO     90012853373
6699561264B27B   CAMERON          BRUCKNER                 NE     90015086126
66995894872B36   NADINE           MONDRAGON                CO     90011088948
66995A64291998   FIDENCIO         CORTES                   NC     17091700642
6699623537B46B   QUENETTA         HART                     NC     90014762353
6699661277193B   LORRI            RAMOS                    CO     90008606127
6699696855B531   HAENDEL          PALOMINO                 NM     90015179685
6699726A97B46B   WILTON           CASTRO                   NC     90013922609
6699831A593729   ANTHONY          STACY                    OH     64512253105
66998A38884392   KIMBERLY         JORDAN                   SC     90002120388
66998A99A72B29   JUAN             ORTIZ                    CO     90006640990
6699951967B46B   LEXUS            MCILWAIN                 NC     90008695196
66999A85A55977   HENRY            ORTIZ                    CA     49072910850
6699B147584392   JUSTIN           TOLBERT                  SC     19073871475
6699B289A5B241   GARY             ROY                      KY     90011122890
6699B2A415B131   KATOYA           WILLIAMS                 AR     90000912041
669B1422A5B235   VINCENT          WRIGHT                   KY     90013544220
669B2257491562   REBECCA          BUSTILLOS                TX     90012872574
669B2461A91562   CRISTINA         MARTINEZ                 TX     90013274610
669B329277B48B   DAMJAN           VISNJIC                  NC     11081142927
669B3334A91592   ROGELIO          AGUIRRE                  TX     90004173340
669B3448761964   LUIS             HINOJOSA                 CA     90013094487
669B3621561936   GLORIA           LAZARO                   CA     90014136215
669B362325B531   ASHLEY           SAMUEL                   NM     90012206232
669B3671691562   ABEL             HERNANDEZ                TX     90013936716
669B444A32B828   BERTO            GONZALEZ                 ID     90011734403
669B4A1A461936   DIANE            SLOAN                    CA     46081250104
669B5638181644   SUZANNE          BOLIN                    MO     90014106381
669B578245B531   VANESSA          GOMEZ                    NM     36051177824
669B593455B235   NATALIE          BURKHEAD                 KY     90013929345
669B637785416B   JOSEPH           CUELLAR                  OR     47014933778
669B641484B588   NECHOLA          KING                     OK     90004324148
669B6648A55977   MARK             MARTINEZ                 CA     49009586480
669B6897961922   STEPHANIE        KUBA                     CA     46063838979
669B7594361936   MARIA            LOPEZ                    CA     90013635943
669B782934B588   ERIC             FULWIDER                 OK     90011878293
669B8143691562   JOE              ARAIZA                   TX     90008051436
669B876A791998   TASION           PAPE                     NC     90005427607
669B897725B235   FRANCISCO        BUENO                    KY     90014369772
669B8A6AA93729   DAVID            COOPER                   OH     90011190600
669B9544A5B531   JESUS            PEREZ                    NM     36017285440
669B9843791522   STEPHANIE        SALAS                    TX     90011778437
669B99A2172B36   CLAUDIA          SALAZAR                  CO     33039639021
669B9A11472B27   LISA             ORTEGA                   CO     90014270114
669BB323391562   RAYMUNDO         TORRES                   TX     90011333233
669BB494455973   ROSEANNA         CARDENAS                 CA     90007824944
66B11125772B36   JORGE            BRAVO GUERRERO           CO     90010381257
66B11265891562   YESENIA          RAMIREZ                  TX     90004572658
66B1159637B46B   LAMARIO          DUNLAP                   NC     11011445963
66B11625991592   VANESSA          MERCADO                  TX     90008736259
66B1181455599B   DOUGLAS ALBERT   BECKMAN                  CA     90005648145
66B11833355981   FRANCISCO        SALCIDO                  CA     90012538333
66B11968571964   TORRYE           THURMAN                  CO     32009989685
66B12134184392   BRENDA           BRISBANE                 SC     19039481341
66B12495771964   STANLY           BROWN                    CO     90012334957
66B1265993B125   DANIEL           GRADOS                   DC     90011136599
66B12A14663646   TIMOTHY          WREN                     MO     90014850146
66B1349A97193B   MARGARET         ZAMORA                   CO     32014754909
66B1376763168B   ANTHONY          KLIMA                    KS     22083697676
66B14247891592   DOMINIQUE        AUSTIN                   TX     90014382478
66B14389872B27   MARTHA           LLAMES                   CO     90009383898
66B14895463646   DARYL            EDWARDS                  MO     90014858954
66B15295872B36   LIZETH           LAZOS                    CO     33054732958
66B1564665B241   KRISTI           JAGGERS                  KY     90010996466
66B1593787193B   LORENZO          LUCERO                   CO     90013229378
66B16121A91592   RICHARD          NEGRETE                  TX     90013931210
66B16434793729   JAMES            HEARD                    OH     90004114347
66B16557272B43   ALICIA           CHIHUAHUA                CO     90013325572
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 517 of 2350


66B16622391522   VICTOR                GARCIA              TX     90005346223
66B16998184392   GERALD                KENNEDY             SC     19091609981
66B17444872B27   CARLOS                MARTINEZ            CO     90012604448
66B17893555973   ADAM                  GONZALEZ            CA     90014488935
66B1886288B194   ALEXIS                NELSON              UT     90013498628
66B19696855977   ROBERT                PAZ                 CA     90004126968
66B1981342B828   VERONICA              DUARTE              ID     90007018134
66B199A2491562   GUSTAVO               FLORES              TX     75011009024
66B1B371A5B235   LENORA                MILTON              KY     90015103710
66B1BA7A981644   RANDY                 GLOVER              MO     90008860709
66B21127172B29   BURRELL               WILSON              CO     90013851271
66B2117A697B56   BRANDON JAMES LARRY   CASTERLINE          CO     90010921706
66B211A738166B   SANTIAGO              CAMACHO             MO     29007581073
66B21233691863   TANIKA                ELAM                OK     90012462336
66B21321A55975   MARIA                 MEZA                CA     90005303210
66B21435A7193B   ISABEL                RIVERA              CO     32053894350
66B21577751354   DONTA                 JOHNSON             OH     90011005777
66B2168943B125   MARIA                 MARTINEZ            VA     81012416894
66B2169525B235   JANAE                 SMITH               KY     90014906952
66B21915371964   DARCIE                REILLY              CO     32020469153
66B228A152B248   MARIA                 VASQUEZ-PINEDA      DC     90001898015
66B22A3814B588   PATRICE               ELLISON             OK     90014730381
66B23122261964   SEBASTIAN             GONZALEZ            CA     46066811222
66B23375551354   DARWIN                LUCERO              OH     90007733755
66B234AA872B27   ROMAN                 SEGURA              CO     33015314008
66B23552393729   CHASE                 BROWN               OH     90014005523
66B23649481644   CLARENCE              MARSHALL            MO     90010406494
66B2434A355975   MARY                  LYNCH               CA     90005303403
66B24561461936   BETTY                 AGUILAR             CA     46039655614
66B2468675B531   CAMILLE               KONWIN              NM     90012626867
66B2484733168B   RAUL                  REZA                KS     90002528473
66B25561571964   DAVID AND KIM         HARRIS              CO     90014365615
66B25874471976   ROXANN                ORTEGA              CO     38088378744
66B2588215B531   JORGE                 CHAPARRO            NM     90015188821
66B25947A61936   EJIGEYEHU             ABEBE               CA     46000799470
66B25A2115416B   CHRIS                 HENDRIX             OR     90012690211
66B2622797193B   INGRID                DURAN               CO     90004822279
66B26A99951354   TIM                   ELI                 OH     90008050999
66B2756888166B   VICKIE                CONROY              MO     29072065688
66B27955A61964   JOEL                  PEREZ               CA     90002789550
66B28817991592   ARMANDO               MEDINA              TX     75012758179
66B28856993771   AARON                 KELLER              OH     90011608569
66B2945552B828   BRANDON               SMITH               ID     90012634555
66B2B81725B531   MARIA                 FLORES-GARICA       NM     90014538172
66B2B967397B77   KEVIN                 WINKLEPLECK         CO     90012689673
66B31897836B21   VIRGINIA              VILLA               OR     90014838978
66B3218535B241   JAMES                 JOHNSON             KY     90000821853
66B321A375416B   NICK                  DEVORAK             OR     90007251037
66B33268872B27   EDGAR                 ARREOLA             CO     90008972688
66B33491172B29   ALISHA                SANCHEZ             CO     33038834911
66B3373A47193B   BRIAN                 BRESCIANI           CO     32040677304
66B3383615B531   VICTORIA              PADILLA             NM     90000668361
66B3391174B27B   KATHERINE             JOYCE               IA     27024079117
66B33A24455973   TWILA                 GENTRY              CA     90001530244
66B34211155975   ANGELA                DUSSOR              CA     90014452111
66B3426A863646   COLE                  BROWN               MO     90014882608
66B34897255973   TAMARA                MASOUD              CA     90003528972
66B34961191592   TANIA                 CHAVEZ              TX     90014869611
66B34A2484B268   ADRIANA               FREYRE-MARQUEZ      NE     27072070248
66B35A37261964   CYNTHIA               HOLDER              CA     90012840372
66B3646418166B   TANISHA               DUPREE              MO     90003744641
66B36624372B29   MICHAEL               MARCKS              CO     90012946243
66B36699191562   CHRISTOPHE            CORNWALL            TX     75091706991
66B36784A2B886   IRENE                 MANSFIELD           ID     90011867840
66B368A5391592   DAN                   LOZADA              TX     90004128053
66B369A6741243   MOLLY                 RODRIGUEZ           PA     90012719067
66B36A1432B228   SHAMELIA              GOFF                DC     81022990143
66B3737955B235   TIFFANY               BOTT                KY     90013343795
66B37695655973   PAULINE               DOMINGUEZ           CA     90009776956
66B3771317B46B   LURELLA               HARVELL             NC     11045237131
66B3783462B956   EDUARDO               GOMEZ               CA     90013578346
66B37A73A71964   PETER                 WOOD                CO     32043900730
66B38519872B27   JASMIN                WALKINS             CO     90010775198
66B38814591562   ALMA                  RAQUEL              TX     75089128145
66B3919774B588   LORI                  EATON               OK     90011601977
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 518 of 2350


66B39527961964   MARIA           HUERTA                    CA     90001845279
66B3964457B422   SHANNON         GRAY                      NC     11095486445
66B3979355B531   SANDRA          VEGA                      NM     36076217935
66B3B149263646   MARIE           DEES                      MO     90014891492
66B3B2A3891562   GRACIELA        PEREZ                     TX     90014682038
66B3B961881644   MICHAEL         BROADWELL                 KS     90014119618
66B411A2755977   JESSICA         QUINTEROS                 CA     90015211027
66B41546855973   KAO             SAETERN                   CA     90009785468
66B41591591998   WAYNE           ROGERS                    NC     17056295915
66B41592171964   MATHEW          GARCIA                    CO     90009535921
66B41A7848B17B   JONATHAN        HINCKLEY                  UT     90007430784
66B41A7A52B893   LORENZO         MORENO                    ID     90009330705
66B42143661964   AZUSENA         ARROYO                    CA     90014351436
66B42516A7193B   DAVID           BORTON                    CO     90009095160
66B42631555977   VERONICA        BELLO                     CA     90013716315
66B426A1672B22   KYLE            PAINTER                   CO     90000566016
66B42772A81675   NANCY           LOPEZ                     KS     29017267720
66B42A99791535   LIZETTE         ARMENDARIZ                TX     90013160997
66B43268155977   CODY            LOPEZ                     CA     90014112681
66B4327A855975   ALMA            MADRIGAL                  CA     90001922708
66B43833671976   BRITTANY        RAMOS                     CO     90007198336
66B43852963646   RAMON           ESCAMILLA                 MO     90014938529
66B44134772B27   ERIKA           RUYBOL                    CO     90010321347
66B44179861964   AGELICA         RUIZ                      CA     90008161798
66B4481384B588   EDGAR           MORALES                   OK     90013528138
66B45477291998   DIANNE          JONES                     NC     90013914772
66B4558347B653   TALIA           WIGGINS                   GA     90007955834
66B4567475B235   MARJORIE        BRUEDERLE                 KY     90013016747
66B4583A97193B   LUIS            MENDEZ                    CO     90015098309
66B4667A591348   LORENZO         AVENDANO                  KS     90013716705
66B46742255973   ROSA            VELASQUEZ                 CA     48058067422
66B46946A3B125   LIDONNA         JONES                     DC     90012619460
66B46952151354   KRISTA          CARNES                    OH     90014969521
66B46983191522   MARLO           BUILDING                  TX     75063889831
66B46A4515416B   ANNE            SPARKMAN                  OR     47035090451
66B47531555977   DAVID           SOITO                     CA     90010905315
66B4763A65B235   SHAUNDA         MCKINLEY                  KY     90013706306
66B47756855975   CASSANDRA       STEPHENSON                CA     90005277568
66B49218181644   DOLLA           BILLS                     MO     90013352181
66B4922764B588   CHRISTINA       HERNANDEZ                 OK     21535012276
66B49268951354   TARVIS          DAVES                     OH     90015172689
66B492A4772B29   CHRISTINE       CRUZ                      CO     33001672047
66B498A4855973   JESS            AHUMADA                   CA     48015478048
66B4B36237193B   STEPHANIE       OWENS                     CO     90013153623
66B51238371964   ANYELO          ROLDEN                    CO     90014252383
66B52294191592   JACQUELINE      HERNANDEZ                 TX     90012952941
66B52319384392   DANIEL          DOSTER                    SC     19014183193
66B5314277B46B   ADRIANA         CASTILLO                  NC     90011801427
66B53721991562   RAQUEL          DURAN                     TX     90013167219
66B5414197B46B   PERLA           TREJO                     NC     11063711419
66B5473A657544   LESLIE          LAMB                      NM     35514647306
66B5474744B588   TIRANN          LAWS                      OK     90013047474
66B54998555977   ELEANOR         VALENCIA                  CA     90010499985
66B5511955416B   LAURA           MUSGRAVE                  OR     90013281195
66B55287891592   NAYELI          DEL RIO                   TX     90013622878
66B5529627193B   ASHLEE          MICK                      CO     90011962962
66B5576354B588   CHERRI          DECKER                    OK     90013357635
66B571A685B531   BRANDY          TALAMANTE                 NM     90005191068
66B57255A91592   SANDRA          COOMBE                    TX     90009982550
66B572A687193B   JOSE            BERTADILLO                CO     90009122068
66B5762357B46B   LAURELIA        LEE                       NC     90014466235
66B5776928166B   JOSE            RODRIGUEZ                 MO     90012457692
66B58593272B43   CARINA          VALLE                     CO     90013375932
66B587A4555975   YESENIA         MENDOZA                   CA     90012307045
66B587A9491998   SHAUNA          RAVENELL                  NC     90014227094
66B5975514B54B   MIGUEL          MUNOZ                     OK     90007697551
66B5B285691522   JENISSA         LOI                       TX     90014692856
66B5B371781655   MIKE            JOHNES                    MO     90010573717
66B5B373955973   WILLIAM         JAYNES                    CA     90012553739
66B5B714891562   CLAUDIA         GIL                       NM     75057117148
66B61127891592   NORMA           VALENCIA                  TX     90008641278
66B62444772B36   JORGE ALBERTO   M                         CO     90013814447
66B62459A55973   ADRIANA         GARCIA                    CA     90010144590
66B62736881675   TONY            KING                      MO     90012947368
66B62913593729   REBECCA         JAMES                     OH     90004819135
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 519 of 2350


66B6319A855977   YVONNE        AMBRIZ                      CA     90010211908
66B6329344B268   MARIA         CARRANZA                    NE     27083942934
66B63686991592   MAYELA        SIERRA                      TX     75074236869
66B63A6345B241   ASHLEY        TUCKER                      KY     90013650634
66B6424825B235   WILLIAM       FRANCIS                     KY     90010492482
66B64417363646   ROBERT        ARABIAN                     MO     90015024173
66B6463827193B   DAMIAN        GOMEZ                       CO     90010996382
66B6481765B531   STEVEN        QUINTANA                    NM     36020888176
66B64A11272B43   REFUGIO       CASILLAS-MENDOZA            CO     33092500112
66B64A33255973   EMERIO        BARRAGAN                    CA     90012240332
66B65264972B29   JASMINE       VALENZUELA                  CO     90012572649
66B65897791522   MARIA         NEVAREZ                     TX     90015008977
66B65A45672B43   TRESSA        WEBSTER                     CO     90012650456
66B66675491998   KEVIN         RUIZ SIMON                  NC     90012096754
66B67155691998   BRITTANY      WILSON                      NC     17018651556
66B67226251354   CLOELYNN      PENNIX                      KY     90012602262
66B6734625B235   RANDALL       MORAWIEC                    KY     90014533462
66B6741A191562   NINA          AVILA                       TX     90008964101
66B6773A45716B   JOSE          RUBIO                       VA     90005877304
66B6777314B946   JENNIFER      BALLINGER                   TX     90007637731
66B6786592B828   TREVIN        SKINNER                     ID     90014728659
66B6816A14B27B   DAVID         MCNAMEE                     NE     90001901601
66B68258833698   ANTHONY       WHITE SR                    NC     12075322588
66B68595161936   MAGGIE        RUIZ                        CA     90008575951
66B69389781631   LANCE         HACK                        KS     29016303897
66B69399A72B27   LETICIA       PENA                        CO     33085973990
66B69666287222   KALIAH        EISON                       AR     90014806662
66B69812293729   MARQUIA       BRIGHAM                     OH     90014588122
66B69866172B36   JOSE          CISNEROS                    CO     90011148661
66B6994A55B235   DONNA         JOHNSTON                    KY     90011319405
66B6B289272B36   FERNANDO      VALENZUELA-MEDINA           CO     90009172892
66B6B435A72446   RAKIA         BERRY                       PA     51026744350
66B6B8A1A4B588   CRYSTAL       MCHAZLETT                   OK     90009828010
66B712AA391592   ARVIZU        CHRISTIAN                   TX     75086062003
66B71424381644   MIGUELINA     LEYVA                       MO     29084914243
66B72156355973   ROSEMARY      HERNANDEZ                   CA     48070341563
66B72265551354   CHUCK         MACINTOSH                   OH     66051342655
66B72292871964   VICTORIA      LOEHR                       CO     90014252928
66B7236468B168   AMANDA        STREBEL                     UT     90012623646
66B7246A33B393   LESLIE        LEE ESPINOZA                CO     33046424603
66B7263827193B   DAMIAN        GOMEZ                       CO     90010996382
66B731A8672B29   RAEANN        WILLIAMS                    CO     33046201086
66B73A58781631   NICK          WOOD                        MO     90000650587
66B74386391998   CYNTHIA       HECK                        NC     90006673863
66B74748993729   JOHNITA L     PITTS                       OH     90004297489
66B747A295B531   JOANNA        ALVAREZ REYES               NM     36001097029
66B75181761964   CLEOTHUR      GONZALES                    CA     90011961817
66B75379581644   RAYMOND       DREW                        MO     90014313795
66B75533993729   JEFF          PATTERSON                   OH     90013085339
66B7625384B588   ABDELAZIZ     AMARA                       OK     90011392538
66B7633388166B   IVAN          HERNANDEZ                   KS     90011283338
66B7633514B588   ENEDINA       BULLOCK                     OK     90011603351
66B7737694B27B   ALMA          SANCHES                     NE     90013093769
66B77595A71653   SARA          BARON                       NY     90015355950
66B78284A7194B   BEATRIZ       GONZALEZ                    CO     38072392840
66B78562472B43   BETY          TEPOLE                      CO     33023195624
66B78575525236   DANNY         KELLY                       NC     90013745755
66B7885A161936   MARIA         FIELD                       CA     46076388501
66B788A6455977   KELLY         MORRIS                      CA     49098068064
66B79253363622   DANNY         HUGHES                      MO     27501242533
66B7933663B125   KEYONA        RIZES                       VA     90015553366
66B79344163646   ROBERT        GRINSTEAD                   MO     27568883441
66B79372255975   DANIEL        LUCIO                       CA     90011843722
66B793A8255973   J LUZ         BALTAZAR                    CA     48010293082
66B7943597B46B   ROSHAN        BHUJEL                      NC     90003974359
66B79687A71964   CHRISTOPHER   ARNOLD                      CO     90007896870
66B7B3A7A72B27   ALBURY        VALERIE                     CO     33091283070
66B7B944261936   TIMOTHY       BROOKS                      CA     46067699442
66B7B981872B43   NAOMI         BENAVIDES                   CO     90006699818
66B7BA6A361936   HORACIO       VILLARRUEL                  CA     90009090603
66B81286491592   ROSA          CHAVEZ                      TX     75051062864
66B8157675B531   LUPITA        ITUARTE                     NM     90001515767
66B81667961936   DIANA         LOPEZ                       CA     90010966679
66B817A577193B   GARY          QUEEN                       CO     32046057057
66B81AA8A93729   ANDREA        CRAPYOU                     OH     64574840080
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 520 of 2350


66B82717971964   MELVIN           CERNA                    CO     32071567179
66B82992191562   JESUS            GALINDO                  TX     75075469921
66B82A7537193B   CHRISMELISSA     WOODS                    CO     90005270753
66B83211161995   ANGELINA         SANCHEZ                  CA     46005882111
66B83499451352   RAYCOLE          GORDON                   OH     90011824994
66B83929A93729   GILBERT          SANDERS                  OH     90011519290
66B8392A48166B   ALAN             SHARP                    MO     90013629204
66B8398A24B946   LACRETIA         FONTENOT                 TX     90012939802
66B84188A61936   REBECCA          ALFORD                   CA     90013281880
66B84277455975   EDITH            OROZ                     CA     90006532774
66B8436694B588   CHARLES          SLAYTON                  OK     90014713669
66B8521A263646   SARAH            MILLER                   MO     27588362102
66B8551735B235   KARINA           BORDES INFANTE           KY     90013095173
66B8567683168B   ASHLEY           LOWE                     KS     22090196768
66B86416891998   ANA LILIA        NERI-ISLAS               NC     90007734168
66B86445755975   PERLA            GARZA                    CA     90011984457
66B86766333698   WYTERIA          GLENN                    NC     90006887663
66B868A2881687   JOHN             COLAW                    MO     29032608028
66B87121172B36   LEAH             HOUSTION                 CO     33071601211
66B87492781675   ANNA             ARREGUI                  MO     29029524927
66B8755548166B   PARIS            DARNELL                  MO     90013655554
66B87659491592   VERONICA         MEDINA                   TX     90006446594
66B87929191522   GUADALUPE        QUINTANILLA              TX     90014669291
66B885A4971964   JUAN             RANGEL                   CO     90014825049
66B8884A491562   IDALI            RODRIGUEZ                TX     75067848404
66B8897215B235   KAIN             YATES                    KY     90013749721
66B88972663646   MICHAEL          ROBARDS                  MO     27517629726
66B88A1917193B   JULDY            MCCAMPBELL               CO     90013630191
66B89174171964   NICK             WEREMBLEWSKI             CO     32078041741
66B8936313168B   LANDON           LAMB                     KS     22041493631
66B89911663646   TRACY            COLLINS                  MO     90006339116
66B8B212255973   PERLA            CHAVEZ                   CA     90014462122
66B8B341272B43   FATIMA MARISOL   PINEDA                   CO     90009003412
66B8B73A37193B   ROSALINDA        MENDEZ                   CO     32014737303
66B91123461964   JUDEAN           LEWIS                    CA     46014141234
66B9129A391592   ALMA             TAPIA                    TX     90014692903
66B91969991998   ABEEKU           BRUCE-MENSAH             NC     17014359699
66B9229447193B   NOEL             RAMOS                    CO     32088132944
66B92626372B36   REBECCA          ROYBAL                   CO     90014556263
66B9321655416B   SHAUN            KJOBERG                  OR     90012892165
66B93428591562   ISRAEL           CARDOZA                  TX     90013934285
66B9351575B241   ANDRE            PYATT                    KY     90014145157
66B93631A81631   ANTONIA          JONES                    MO     29021436310
66B94143455977   RASHAD           MCBRIDE                  CA     90012731434
66B9424225B287   GARY             MEADOWS                  KY     90008432422
66B944A9455975   HORACIO          VELAZQUEZ                CA     90014124094
66B94879991998   STACY            RAMOS                    NC     90011638799
66B948A2A91522   BRENDA           SARINANA                 TX     90014168020
66B95476261936   BLAS             VAQUEZ                   CA     90005174762
66B95617355975   VANESSA          CISNEROS                 CA     90014006173
66B9598A991562   JORGE            HERNANDEZ                TX     90008449809
66B96A91971964   JAE YUE          LEE                      CO     90002750919
66B9713A955973   YESENIA          GONZALEZ                 CA     90009031309
66B97237472B29   DEMETRIUS        SNELL                    CO     90014822374
66B97AA3A55975   ELEAZAR          MAGANA                   CA     90013850030
66B98234491562   JOSHUA           HERNDON                  TX     90010632344
66B985A734B268   CARMEN           GARCIA                   NE     27095015073
66B98771A4B588   ANGEL            KINNEL                   OK     90008497710
66B99812455975   ANA              GARICA                   CA     90005278124
66B99922672B36   BRITTNEY         VARGAS                   CO     33066499226
66B9B174A8B168   SHANDICE         ADAIR                    UT     90002841740
66B9B21644B588   MARISOL          MEZA                     OK     90013612164
66B9B4A5955977   RUTH             BRISENO                  CA     49014274059
66B9B873955975   RACHEL           FLORES                   CA     90002018739
66BB1131131459   JOHN             QUIRK                    MO     90004211311
66BB1283763646   ADAM             KANE                     MO     90014812837
66BB187A65416B   MARIANA          AGUERO                   OR     47056068706
66BB1A28755975   JESSICA          MORALES                  CA     90008470287
66BB231964B588   CHRISTIE         GRANT                    OK     90011533196
66BB2636757129   LEONARD          LEASSEAR                 VA     81001526367
66BB333972B828   CHARLES          FERDIG                   ID     90012253397
66BB343192B828   VANESSA          MELCHOR                  ID     90012094319
66BB3513A5B241   WINDY            KELLY                    KY     90003805130
66BB3886161936   JORGE            SALDIVAR                 CA     46007728861
66BB3A91163646   NICOLE           RENO                     MO     90003640911
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 521 of 2350


66BB4268791562   ROSALBA       MARTINEZ                    TX     75099522687
66BB4271891522   FILIBERTO     LUPERCIO                    TX     90014672718
66BB4878572B27   WILLIAM       BOWKER                      CO     90013588785
66BB5283763646   ADAM          KANE                        MO     90014812837
66BB5491225236   KEONAH        LUCAS                       NC     17031124912
66BB573724B588   BRITTANY      JOHNSON                     OK     90013047372
66BB573A455975   JOSE LUIS     SALGADO                     CA     90013977304
66BB583A82B244   ERIKA         CRUZ                        DC     90009178308
66BB5929255977   GEORGE LUIS   DE ANDA                     CA     90004749292
66BB5962472B43   JANIE         MILLS                       CO     33009599624
66BB5A5A693729   HIRAM         JOHNSON                     OH     90002710506
66BB628765B531   JESUS         GARCIA                      NM     90011252876
66BB7632271964   JANICE        LUCERO                      CO     32039526322
66BB7671A91562   BRETT         CHRONISTER                  TX     75090306710
66BB769957193B   ABBY          HARRIS                      CO     32012696995
66BB8994972B43   ERIKA         GARCIA                      CO     90001129949
66BB9472991522   EDUARDO       BLDERAS                     TX     75014324729
66BB9827271964   AUNA          MOSE                        CO     90010308272
66BB98A6455977   KELLY         MORRIS                      CA     49098068064
66BBB213891522   SAMUEL        VILLA                       TX     90010552138
66BBB382271964   CONNIE        ANAYA                       CO     32030313822
66BBB52134B588   BRUCE         SEERY                       OK     90014155213
67111448A57563   VALERIE       VALENCIA                    NM     90007874480
67111449A5416B   LOREE         WOODS                       OR     47031854490
671126A3991522   LIZET         VELASQUEZ                   TX     90006906039
67112A15871964   KORRI         SMITH                       CO     90008470158
67112A71972B27   PABLO         PEREZ                       CO     90014350719
6711349445416B   SCOTT         CLEETON                     OR     90011944944
6711377A94B588   GRISELDA      LADIN                       OK     90007457709
6711495A991522   VICTOR        SANCHEZ                     TX     90014699509
6711595A991522   VICTOR        SANCHEZ                     TX     90014699509
67116A14391998   LINDA         ATKINS-WELLS                NC     90014650143
67116A6A591998   MOHAMED       SULTAN                      NC     90012910605
6711795A991522   VICTOR        SANCHEZ                     TX     90014699509
6711843AA72B27   DENA          JURADO                      CO     90014074300
6711931744B543   NACOLA        AQUILA                      OK     90010973174
6711995A991522   VICTOR        SANCHEZ                     TX     90014699509
67119A62872B36   DEREK         PINKHAM                     CO     90007550628
67119A97471921   DENISE        CHAPPELL                    CO     90015360974
6711B5A3455977   PRISCILLA     BACA                        CA     49085445034
6711B627A61964   MARCO         COLON                       CA     90011096270
671211A8A8166B   KEITH         BENSON                      KS     90014261080
6712183A27193B   TAMRA         HARRIS                      CO     90014718302
67122445172B29   JOHN          MARTINEZ                    CO     33032954451
6712274258B183   NINA          MAMONA                      UT     90014447425
6712293584B588   GREGORY       LAND                        OK     90013929358
6712338835B235   WILLIAM       BROWN                       KY     90008413883
67123549472B36   DANIEL        MURPHY                      CO     90002135494
6712389337B46B   TERRI         MAHATHA                     NC     11096348933
6712389724B588   AMY           LOYD                        OK     90011338972
6712529A661936   EDGARDO       VASQUEZ                     CA     90005172906
6712567338166B   ABRAHAM       MENDOZA                     MO     90004706733
6712575145416B   MICHELLE      GOLDBERG                    OR     47072837514
67125844472B29   DERRICK       LONG                        CO     33043608444
67125AA3433656   YANET         RODRIGEZ                    NC     90011110034
671261A7755973   ARTURO        ATILANO                     CA     90013841077
6712629A655973   MATTENE       BAKICH                      CA     48090362906
67126532672B36   EDWARED       CHACON                      CO     90009465326
6712685874B588   BRITTANIA     VILLALOBOS                  OK     90013498587
671273A234B268   SARA          INDA                        NE     27047233023
6712758284B27B   JOSE          MORENO                      NE     90009655828
6712785465B241   PAMELA        MELONE                      KY     90011648546
67127961A5B235   JALICIA       LUCAS                       KY     90014869610
67128797372B27   JOSE          DE LEON                     CO     90009727973
67129A21891562   RAUL          RAMIREZ                     TX     90009660218
6712B97184B27B   STACY         ROBINSON                    NE     27032669718
6712BA32661972   LYDIA         REYES                       CA     90012150326
6712BA53197B64   ROBERTO       MEZA                        CO     90005080531
6713116614B588   ERIC          THREATT                     OK     90013131661
671314A6391562   REBECCA       BELMONTE                    TX     75045454063
6713151424B27B   AMANDA        MCCONNELL                   NE     27086465142
67131555A4B268   LONNY         KING                        IA     27088855550
67131A21871921   HARPREET      CHANA                       CO     90011410218
67131A69A97B64   FERNANDO      MEZA                        CO     39041770690
6713378517193B   CECILIA       HERNANDEZ                   CO     32094607851
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 522 of 2350


671341A367193B   ANNAH        HENDRA                       CO     90014291036
671348AA471921   GLENDA       MALDONADO                    CO     90009688004
67135435772B29   TERRY        PAPADIMITRIO                 CO     33054074357
6713582AA72B43   MARIO        LOPEZ-LUNA                   CO     90009798200
6713615A572B29   JAYDE        HENDERSON                    CO     33047081505
6713632977193B   MONCARAT     OLIVAS                       CO     32029993297
671363A4161936   JAINE        CORTEZ                       CA     90000533041
67137111A71921   REBECCA      THOMPSON                     CO     90011341110
6713748984B522   JUSTIN       SCHMEHL                      OK     90012784898
67137686A25236   DOROTHY      DUVLIN                       NC     17087576860
6713883A551354   VANESSA      CLARK                        OH     66094518305
6713889965416B   CHRIS        BOGLE                        OR     90008938996
6713891124B27B   JENNIFER     SUING                        NE     90014059112
6713B231472B29   ZACHARY      YOUNG                        CO     33059942314
6713B363891522   NEREYDA      PEREZ                        TX     90011283638
6713B3A8255977   JACK         PASQUALE                     CA     49096963082
6713B66677193B   DESIRE       MARTINEZ                     CO     90011436667
67141A2124B27B   RICARDO      LESSLEY                      NE     90007380212
67141AA4372B22   ERICK        RUIZ                         CO     90002840043
6714291645B344   CARINA       RUIZ                         OR     90012469164
67142973372B22   ANTHONY      GALLEGOS                     CO     33002469733
671433A6855977   CHARLES      HAMBY                        CA     90012763068
6714362444B588   JUSTIN       QUILLIN                      OK     90015236244
67143731657B76   TATTOO       DRUW                         PA     90015467316
6714399115416B   CASEY        GINNIS                       OR     90010309911
6714426A48166B   SUSAN        ZAMARRIPA                    MO     29006622604
6714451527B329   JULIO        GALLARDO                     VA     81017415152
6714485317193B   MICHAEL      LITTLE                       CO     32068398531
67144A44172B36   CHRISTINE    QUAIL                        CO     33020370441
67145157872B62   AMANDA       SWEET                        CO     90011031578
67145975A61936   EDUARDO      GONZALEZ                     CA     90011359750
67146256A72B36   STEPHEN      PISANO                       CO     33087262560
6714694A931587   DRANELL      KIMBROUGH                    NY     90013069409
67146A25681675   DELPH        MICHAEL                      MO     90012710256
67147677572B27   MARITZA      GARCIA                       CO     90011966775
67147941A81675   MORALES      AMY                          MO     29012829410
67148137772B29   ANGELICA     ALBA-LUCIO                   CO     90001101377
6714861A597B64   NICOLE       BENAVIDES                    CO     90005136105
6714879724B588   HEATHER      FISHER                       OK     90012687972
67149327A85689   CASSANDRA    SHOPE                        NJ     90009993270
671495A785416B   BRENDAN      RICHEY                       OR     90013645078
67149A8974B27B   YAVON        LEWIS                        NE     90006990897
6714B267372B27   JESUS        ORZCO-RUIZ                   CO     33098302673
6714B278571921   BRUCE        RUST                         CO     90014382785
6714B279A7B357   GREG         TALBERT                      VA     90009932790
6714B76567B422   NICHOLAS     ALLEN                        NC     11009637656
6715155A955977   PHASY        CHANCHEM                     CA     90014885509
67151763472B49   SALVADOR     RODRIGUEZ                    CO     33012867634
6715225678B358   KIETH        HOUGH                        SC     90015332567
6715233657193B   STEWART      PEGUES                       CO     90009453365
6715334314B268   OLEBIR       MAKUEI                       NE     90001683431
6715454577193B   KYLE         LAMM                         CO     32068075457
67154AA235B235   DAVIS        MCTEER                       KY     90014210023
6715522213B339   AMANDA       WYNMAN                       CO     90013372221
6715538665B235   CHERYL       SMITH                        KY     90004353866
67155487372B27   JOHN         PRESTON                      CO     33082904873
67155A2A14B27B   TONYA        AVANT                        NE     27002300201
67156263372B43   SASHA        MEYERS                       CO     90009122633
6715647324B27B   LUIS         GARCIA                       NE     27065024732
6715691235B241   RONALD       GRASSMAN                     KY     90010389123
67157498A91998   MIGUEL       HERRERA                      NC     90013224980
6715792175B235   AMBER        BLOOTHOOFD                   KY     90014199217
67158546372B43   ELAINE       CISNEROS                     CO     90007045463
6715865A53168B   ROSANNA      BENTACOURT                   KS     22093086505
6715925235B235   ROBERT       LOONEY                       KY     90013932523
67159AA3891998   CAROL        BENTON                       NC     90013020038
6715B368A57127   VIRONICA     GONZALEZ                     VA     90004843680
6715B69914B588   ELAINE       WOLF                         OK     90012526991
6715B77A84B588   MARLENY      CIFUENTES                    OK     90010057708
6715BA88161964   ESMERALDA    DELGADO                      CA     90012100881
6716115214B588   ANGEL        ELLIS-POWELL                 OK     90010041521
67161616372B29   JOHN         STARCEVICH                   CO     33072666163
6716195243168B   COLLEEN      DYKE                         KS     22023809524
67161A9165B241   JESSICA      MCDONALD                     KY     68091710916
671626A7461944   JOSE         MARTIN                       CA     90011876074
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 523 of 2350


67162A68755973   JUAN           BECERRA                    CA     48007670687
6716345234B588   AMANDA         MORAN                      OK     90013724523
6716458A161991   AMER           ODISH                      CA     90007935801
671645AA971921   ELVORA         SCHMIDT                    CO     90010255009
6716488AA72B29   JAVIER         ISLAS                      CO     33042448800
6716563957193B   VINCENT        MOTLEY                     CO     32079076395
6716586163168B   TYKEISHE       CALDCLEUGHT                KS     90002748616
6716591A37193B   LEONARD        PAR                        CO     90003849103
6716719387193B   TINA           MOORE                      CO     90010921938
6716787454B27B   TIM            SHEEHY                     NE     27029918745
67167A9615B235   SAM            SATTERLY                   KY     68062890961
671685A4751374   ANISSIA        JOHNSON                    OH     90008375047
6716926625B241   RAUL           ARAMBULA                   KY     90014112662
6716962684B588   SALVADOR       FRAUSTO                    OK     90013926268
67169AA2151354   TINA           LESTER                     OH     66000530021
6716B237584392   AISHA          MUHAMMAD                   SC     90014562375
6716B48787B46B   ROSHESA        MORRIS                     NC     90003064878
6716B534591562   YOLIE          GARCIA                     TX     90004265345
6716B544561964   LEE            WILLIAMS                   CA     46032025445
6716B638571964   DEBBIE         SULLIVAN                   CO     32015716385
6716B8A447193B   DALION         BARTLET                    CO     90014858044
6717174967193B   MICHAEL        POWELL                     CO     90012637496
67172343A55977   JARED          FIGUROA                    CA     90013683430
67172A58191525   ROBERTO        GOMEZ                      TX     90012430581
6717358395B344   JOE            BROWN                      OR     44590055839
67173A88161964   ESMERALDA      DELGADO                    CA     90012100881
67174136853B64   MARIA          AGUILAR                    CA     90015251368
67174675A72B27   ANTONIO        CHAVEZ                     CO     90003336750
67174755A8B358   HENRY          ARROYO MARROQUIN           SC     90015067550
6717483A84B588   ALICIA         BICKEL                     OK     90010038308
67175117A5B241   AKIVA          HARRIS                     KY     68076681170
67175A75891522   VIRAMONTES     SALDEZ                     TX     90005610758
67176449672B29   ROCIO          VILLANUEVA                 CO     90011464496
67176466A85689   BERZAIN        VELAZQUEZ                  NJ     90012874660
671766A174B27B   DIANA          KNIGHT                     NE     27083266017
67176A3957B46B   CHARLES        CARR                       NC     90011180395
6717733517B46B   RAEGAN         DENNIS                     NC     90006503351
6717737924B588   MARCEE         GIGGER                     OK     90011033792
67177761672B36   MICHAEL        MILLER                     CO     90003487616
67177A4477193B   MARIA          WILLIAMS                   CO     90004540447
6717B1A174B588   MARCELA        OCHOA                      OK     90008161017
6717B343A72B43   CHRISTIAN      HUNT                       CO     90014373430
6717B69774B27B   CAROL          DENNY                      NE     27045686977
6717BA16255977   HECTOR         FLORES                     CA     90012790162
67181322A7B46B   WALTER         KISIAH                     NC     90006723220
6718287794B547   ELHADJI        SECK                       OK     21506408779
6718334944B588   JESUS          MARTINEZ                   OK     90009083494
67183979A71921   JUSTIN         HAMMAN                     CO     90013469790
671842A2671964   FELICIA        BALDONADO                  CO     32019112026
67184A15631476   AMANDA         DECKER                     MO     27566760156
67185123672B43   DEBORAH        COLLINS                    CO     90014341236
6718579275B241   SHIRLEY        COTTON                     KY     90014267927
6718595717193B   BEDA           TOMASZEWKI                 CO     32043919571
67185A3675B241   TELL           ROWLAND                    KY     90010850367
6718622943B391   JOSE           GONZALES                   CO     33073902294
67186515A61936   LIONEL         MAHONEY                    CA     90012095150
671866A455B241   CHARLES        WILLIAMS                   KY     90003036045
6718741369186B   ED             ASHER                      OK     90010934136
67187948A71964   JUANA          DE LA CRUZ-ARTEAGA         CO     32076019480
67187A76385689   MAIRA          LOPEZ                      NJ     90005750763
67188A83A92844   AARON          AMERSON                    AZ     90008000830
67189148272B29   MIGUEL ANGEL   GUARDADO                   CO     90013071482
67189798A33B78   SHONTAIRE      WILLIAMS                   OH     90013867980
6718986964B27B   LENNEL         WALKER                     NE     27082068696
671898A3A71921   DOMINIC        SIMMONS                    CO     90000148030
6718B89178166B   MARIE          HOPKINS                    MO     90013218917
6719123A14B588   CLINTON        HARDESTY                   OK     90013132301
671925A424B27B   MOISES         ROJO HUERTA                NE     27054195042
67192A15772B27   JOHNNY         TROUT                      CO     33014970157
67193A29155973   LUPE           CASTRO                     CA     48004570291
6719448347193B   KEOSHIA        BROWN                      CO     90014514834
67194942272B27   MIGUEL         MENDOZA                    CO     33003809422
67194A5343168B   ANNA           DEL GAUDIL                 KS     22072450534
67195633A71964   GERARDO        RESENDIZ                   CO     32089646330
6719596635416B   TERESA         PITZER                     OR     47007489663
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 524 of 2350


6719685535416B   LUIS                   RODRIGUEZ          OR     47000868553
67196A64771964   ROBYN                  PALLMER            CO     32035060647
67198852672B29   ESTEPHANIE             ROSAS              CO     90012808526
6719897A684392   DANIEL                 BARRIOS            SC     90013519706
6719B166161936   DARLENE                RIOS               CA     90013381661
6719B61327B46B   EUGENE                 MCMILLAN           NC     90005006132
671B132697193B   SHAUNNA                CRANE              CO     90011193269
671B199775B241   KATIE                  MOSER              KY     90008229977
671B224AA72B43   JON                    ARCHER             CO     90010642400
671B236AA4B27B   LATISHA                JORDAN             NE     27088333600
671B2695772B27   ADAN                   FLORES             CO     90015446957
671B281864B268   TERESA                 LEE                NE     27071088186
671B2961871964   GABRIELA AND VALERIE   ESCARCEGA          CO     90014339618
671B319714B588   DULCE                  TAPIA              OK     90001871971
671B3245A91562   VICTOR                 GUERRERO           TX     90013262450
671B4446A5B241   TROY                   BROCK              KY     90013614460
671B45A9885689   CAROLINA               CRUZ               NJ     90013645098
671B484A67B46B   PAUL                   SHORTRIDGE         NC     90014538406
671B5648855973   ROBERT                 DEATON             CA     90013716488
671B591174B582   JERRY                  BETHEL             OK     90013479117
671B5A33A7193B   SHERI                  SANCHEZ            CO     32014980330
671B5A5824B588   BRITTANY               MOORE              OK     90014070582
671B5A88A4B27B   RODERICK               FLOTT              NE     27086470880
671B645787193B   ROMARIO                LEWARS             CO     90013954578
671B6724A55973   DARRELL                MCCOY              CA     48076117240
671B6826691562   RITA                   BENAVIDES          TX     75040588266
671B6A2AA71921   JOHANA                 HERNANDEZ          CO     32055040200
671B7287463646   SUZANNE                PHILIPS            MO     90003412874
671B735395416B   SANDRA                 STEMM              OR     47061943539
671B7613872B27   SARA                   CUNNINGHAM         CO     90012996138
671B789515B241   CARRIE                 HOLDERITH          KY     90012488951
671B8137461972   JUVENTINO              MATA               CA     90013111374
671B959814B27B   ANGELA                 MANSOORI           IA     27067775981
671B9A93191562   RUBEN                  MARTINEZ           TX     75080870931
671BB4A4891562   JOSE                   GARCIA             TX     75022614048
671BB689884392   FRANK                  SIMMONS            SC     19015206898
671BB766A81644   KIM                    BROWN              MO     90001657660
671BBA55472B27   GLORIA                 ARCHULETA          CO     33074240554
67212396772B43   MICHAUS                HESSI              CO     90007303967
672127AA87B46B   COLLEEN                WILCOX             NC     90014747008
67212816A84392   SIDNEY                 GARY               SC     90006528160
672136AA555973   JUAN                   SANTACRUZ          CA     90006696005
672144A9591562   LUIS                   TORRES             TX     90008634095
672146AA171921   AIMMIE                 KOO                CO     90014406001
672155A155B344   PAULA                  GARCIA             OR     90004105015
67215A54861964   MICHELLE               PRIESTLY           CA     90002950548
6721668A291522   BLANCA                 RAMIREZ            TX     90014706802
6721676177193B   RACHEL                 BROWN              CO     32086237617
6721698139187B   CHRISTINE              ROGERS             OK     90013609813
6721768789198B   YANETT                 SALINAS            NC     90013936878
6721776767193B   KRYSTEN                DOWNES             CO     90014877676
6721779657B46B   FREDY                  BRITO              NC     11010397965
6721796A15B241   NICOLE                 BIBELHAUSER        KY     90012059601
6721854454B588   HOLLY                  JONES              OK     90001025445
6721888635B235   TAMMY                  MCCRAY             KY     68082208863
6721915847193B   AISHA                  SAWYER             CO     90013271584
67219164572B29   JUANA                  GUTIERRES          CO     33055841645
6721931A84B588   MANUEL                 VILLANUEVA         OK     90015163108
67219477372B36   JAMES                  HARRIS             CO     90006294773
672199A673168B   RICK                   ODEN               KS     90000609067
6721B754641232   KIMBERLY               SMITH              PA     90001137546
67221622272B27   MONICA                 RUIZ               CO     33019456222
6722317264B27B   BRIANNA                SHINROCK           NE     27012251726
6722335777193B   JOE                    BARELA             CO     90014573577
6722347544B522   WILLIAM                ROBINSON           OK     90010494754
6722448865B241   TERRY                  ALLEN              KY     68021574886
6722517A772B27   JUAN                   ORDAZ              CO     33063551707
672253A377193B   MARIA                  COOK               CO     32059453037
67225A29755977   TC                     XIONG              CA     90010080297
67225AA6681644   MIKE                   MCCARTER           MO     90015570066
672265AAA84392   EVARISTO               CASTRO             SC     19087945000
6722669A17B46B   AUDREY                 WALLACE            NC     11060796901
6722676158166B   BRANDAS                MURPHY             MO     29005837615
6722815475B344   MICHAEL                MCCRAY             OR     90012231547
6722989A771921   JESSELYN               MARTINEZ-VALASCO   CO     90010288907
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 525 of 2350


6722B4A1155973   JEANETTE     WILLIAMS                     CA     48011194011
6722B9A7861936   ALEJANDRO    VARGAS                       CA     90014819078
67231A6674B27B   TALAYAH      DAWSON                       NE     27013430667
67232234572B29   DESTINIE     MAESTAS                      CO     90010232345
6723225414B588   DAVID        ESTRADA                      OK     90013422541
67232A35891562   MIGUEL       GRANADOS                     TX     90005790358
672346A7455973   JOHN         HEFFERNAN                    CA     90014576074
67234865672B36   LAWRENCE     RICE                         CO     90013548656
6723486AA72B36   HELEN        CORDOVA                      CO     90007338600
6723499A87193B   KIMBERLY     ARGO                         CO     32010249908
6723521AA7B46B   WANDA        STOVER                       NC     11070002100
6723528A14B27B   LORI         PUCKETT                      NE     27081402801
6723585347193B   DAMON        MILES                        CO     90012238534
67236411172B36   ALEJANDRO    HEREDIA                      CO     90009794111
6723831657193B   DOUGLAS      WIMBLEY                      CO     32026903165
67238951372B27   VICTORIA     THOMAS                       CO     33009149513
6723B236457595   ANITA        DEL PALACIO                  NM     90014932364
6723B53375416B   JESSICA      PARKER                       OR     90011915337
6724133597193B   MALINDA      DETWEILER                    CO     32090903359
67241A57672B43   JENNIFER     TUN MEDINA                   CO     90011160576
6724256A272B29   LAURICE      QUINN                        CO     33083155602
67242A2615B235   KARIN        SPURLING                     KY     90007960261
672432A9884392   RANGEL       TUBURICIO                    SC     19086002098
67243A96171921   LEONCIO      QUINTERO                     CO     90014780961
6724444324B27B   RAISHEANA    HARRIS                       NE     90013304432
6724447363168B   DAVID        CALVILLO                     KS     22083024736
6724473717193B   MARCIAL      SOTO                         CO     32085787371
672459AA855977   CHRISTOPHE   WHITTON                      CA     49014019008
6724656285416B   CLINTON      LOCKARD                      OR     90011105628
67247251A72431   DARRYL       HOUSHOLDER                   PA     90002042510
6724744585B238   MISTY        KAMINER                      KY     90013304458
672483A495B235   DESHAN       RUSHIN                       KY     90009093049
67249578672B29   LEONARDO     PEREZ G                      CO     90013005786
672497AA361964   MATTHEW      MARTINEZ                     CA     90013757003
67249A5457B46B   HALONAH      ACORD                        NC     90015180545
6724B158371964   JACOB        EIGSTI                       CO     90009771583
6724B27967193B   RACHELLE     TREU                         CO     90013462796
6724B49573168B   JOSE         SORIA                        KS     22058244957
6724B5A6151354   MICHELLE     LEDBETTER                    OH     66083285061
6724B67A555973   JOUREI       CORREIA                      CA     90014606705
6724B948172B36   JOSEPH       MEDINA                       CO     33081599481
672515A6791522   JOSE         GARCIA                       TX     75019035067
6725167534B588   TOSHA        GONZALEZ                     OK     90011556753
672523A4881668   MACIA        WALLER-POWELL                MO     90013683048
67252879376B69   HUGO         PENITEZ                      CA     90014708793
67252A4A861964   FRANCISCA    CASTRO                       CA     46054450408
67252AA4691522   JUAN         SOLANO                       TX     75025120046
672536A8697B64   ARENY        GALLEGOS                     CO     90005396086
67253744472B36   ELIAS        LENDRUM                      CO     90007787444
67253A31691998   JESSICA      MASSENBURG                   NC     90003980316
672545A427B632   ERODES       LOPEZ DIAZ                   GA     90008755042
6725461483168B   DONNA        MOXLEY                       KS     22087356148
672548A4A91998   VIRGNIA      HERNANDEZ                    NC     17006298040
67256918572B36   ARMANDO      TAPIA                        CO     33098099185
67258286A72B27   MARIO        MENDEZ                       CO     90009512860
6725B254672B29   CONTRA       HERNANDEZ                    CO     90010342546
6725B458272B36   MATTHEW      MEDEROS                      CO     33013644582
6725B56917193B   MARION       JACKSON                      CO     32061465691
6725BA15455977   LINDA        HERNANDEZ                    CA     90015240154
6726125954B588   LAVETTE      SEELEY                       OK     90015082595
67261785672B43   JOHANNA      SIERRA                       CO     90004027856
67261874372B27   MARIA        RODRIGUEZ                    CO     90013908743
67262248A7B46B   ISMARI       HERNANDEZ                    NC     90013602480
672626A6855973   MONIQUE      ALLEN                        CA     90001226068
67262896A5B241   JAMES        MITCHELL                     KY     90013438960
67262A8883B339   LETREASH     SMITH                        CO     90008580888
67262A8A64B588   PETER        BYRD                         OK     90015040806
67262A9487193B   ALANDA       MORRISON                     CO     90011830948
6726336947193B   EMILY        BRIGGS                       CO     32038533694
6726341A73168B   MICHELE      PEHRSON                      KS     22095444107
6726417285B235   LEIDYS       GONZALEZ                     KY     90001761728
67264269A72B27   MIRIAM       VIDAS                        CO     90005532690
67264288A71921   MODESTA      CHAVEZ                       CO     90004432880
67264362A81675   JOHN         TIERNEY                      MO     29098203620
6726445717B46B   OLGA         GARCIA                       NC     11080204571
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 526 of 2350


67265284872B29   VALENTINO    PEREZ                        CO     90014692848
67265A73291522   IRIS         ALVARADO                     TX     75047910732
6726853264B261   CHRISTINE    CLARK                        NE     27052315326
67269438A4B588   SARA         ORDONEZ                      OK     90011034380
672696A2972B36   GARY         KALIKA                       CO     33051656029
67269756A91998   JOSE         AGUILAR                      NC     90012347560
67269A2A872B29   CONSUELO     HIPOLITO                     CO     90010920208
6726B46785B235   STEPHANIE    ELZY                         KY     90011194678
6726B85818166B   SUSAN        SEARS                        KS     90011448581
6726B865757123   JOSE         GONZALEZ                     VA     90010278657
6726B914A55934   ISAIAS       SIAS                         CA     90013549140
6726B984951354   CHAZARAY     CURTIS                       OH     66013709849
6726B9A267193B   CODY         SEMENIUK                     CO     90013969026
6727113417193B   CLAUDIA      SANTOS                       CO     32028081341
6727149864B588   JAY          BRINKMAN                     OK     90010424986
672715A9881675   WILLIAM      SMITH                        MO     90015425098
67271777A91562   PERRY        JACQUELIN                    TX     90011107770
67272177A33668   DWAYNE       FUNDERBURK                   NC     90008831770
6727238428166B   SUMMER       KNUTTER                      MO     90001333842
67272526772B29   DERECK       BEENE                        CO     90005435267
672736A7971964   MICHAEL      FRENCH                       CO     90011896079
672737A2485689   BLANCA       SOTO                         NJ     90012907024
67273A75651354   MILTON       HAWKINS                      OH     90013480756
6727487585B241   DARRELL      WILLIAMSON                   KY     90013278758
6727555AA71921   SONJA        ANDERSON                     CO     32089565500
67275918472B29   MICHAEL      MACKEY                       CO     90007529184
6727596A955973   LAURA        GONZALEZ                     CA     90008789609
67275A46681675   EDWIN        THOMA                        MO     90013190466
672765A3672B29   TAMRA        ARAGON                       CO     90000765036
67276712897B36   JOSE         NEVAREZ                      CO     90013977128
6727684755416B   LISA         RATHBUN                      OR     90015028475
67276AA7691998   JAMYIA       SPINKS                       NC     90013360076
672786A834B27B   ASHLEY       WEBER                        NE     27000416083
67278977A72B27   PATRICIA     GARCIA-MONCADA               CO     33049299770
6728281217B46B   MEHMET       ILIK                         NC     11024128121
6728398434B27B   JEFFREY      WALTERMIRE                   IA     90011999843
6728416542B949   FRANK        HERNANDEZ                    CA     90010501654
6728441915416B   HOWARD       HUMMEL                       OR     90012804191
6728463A55416B   BRUCE        SPOTSWOOD                    OR     90011926305
67284967A55973   CONCEPCION   AGUILAR                      CA     48071929670
672849A295B235   DENNIS       BROWN                        KY     90011579029
6728513265B235   ANTELIA      PARRISH                      KY     90012201326
67286444A7B46B   BRENDA       HERNANDEZ                    NC     11041824440
6728743A291562   LORENA       MUNOZ                        TX     90007624302
6728782295416B   MICHAEL      HAAS                         OR     90012338229
67287A42776B58   ROCIO        FLORES                       CA     90000280427
6728845964B588   GINA         KILPATRICK                   OK     90011034596
6728848325B241   DARLENE      BROWN                        KY     68010874832
6728855565B235   PAULA        ENNIS                        KY     90008715556
6728914944B588   ANTHONY      KURTZ                        OK     90015141494
6728945927193B   ROSA         CHAVEZ                       CO     90008344592
6728966617193B   RALPH        ROTH                         CO     90013156661
6728987848166B   SUSANNA      ALEJO                        MO     29083368784
6728999A27B653   DUDLEY       SAVAGE                       GA     90014479902
672899A295B241   DENA         MCCORD                       KY     90012189029
6728B289591522   LANNETE      PEREZ                        TX     90004422895
6728BA5A94B268   CHARTESA     GORUM                        NE     90002640509
67291468A91562   YESENIA      CORDOVA                      TX     90007284680
67291778472B27   TINA MARIE   KEIL                         CO     90009627784
67291919772B27   TINA MARIE   KEIL                         CO     90014129197
67293221A81675   KENIAM       LUCAS                        MO     90008872210
6729492695416B   AYLA         BRAZELL                      OR     47070179269
67294A11871964   JAMES        THOMPSON                     CO     90001850118
6729539865B235   RONDA        DENNIS                       KY     90014713986
6729577A87193B   JACOB        WAYNE                        CO     90014877708
6729618523B388   GLORIA       MENDOZA                      CO     90008341852
6729641867B46B   CAMMESHA     WILSON                       NC     90015114186
6729667427193B   RICHARD      PACHECO                      CO     32026816742
6729812955B238   AMANDA       BOWMAN                       KY     90003421295
6729844A291998   WILLIE       FARMER JR                    NC     90011234402
6729875815B344   TRINA        HARPER                       OR     44516717581
67298A94955973   FERMIN       RUIZ                         CA     90011140949
6729956694B27B   ADAN         RIVAS                        NE     90006985669
6729958A636139   JEAN         HERNANDEZ                    TX     90003855806
67299689272B43   KACEY        YEAGER                       CO     90007396892
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 527 of 2350


6729B722A91522   ANITRA       VENZOR                       TX     90014707220
672B113A991522   EDGAR        URBINA                       TX     90012021309
672B1224772B36   VANESSA      EAGLE                        CO     33073212247
672B1787A61964   TINA         PHETVIXAR                    CA     90009997870
672B243A991562   MARIA        LIRA                         TX     90009534309
672B24A377193B   CHRISTINE    SCHNOOR                      CO     32029714037
672B2A48785689   JOBET        MONTALVO                     NJ     90003310487
672B2A7AA72B27   BRITTANY     CORDOVA                      CO     90007250700
672B3275371921   AYLA         BARTLETT                     CO     32090722753
672B333387193B   ANDREA       RATHKE                       CO     90014123338
672B3676591562   CRISTAL      RODRIGUEZ                    TX     90014436765
672B423284B588   MICHAEL      CANNON                       OK     90013132328
672B4236A61936   HUNZA        KOTAS                        CA     90013312360
672B4747161964   LETICIA      RODRIGUE                     CA     90011167471
672B4763791562   JESSIE       LUNA                         TX     90012797637
672B4814391522   ISABEL       RIVAS                        TX     75057868143
672B4A61291562   CUAHUTEMOC   GOMEZ                        TX     75043870612
672B4A94872B36   JULIE        BLAN                         CO     33008290948
672B535497193B   CHRIS        HELVIE                       CO     90004843549
672B5572884392   LETISHA      YOUNG                        SC     90010865728
672B5855972B36   ELSA         VENZOR                       CO     33063578559
672B613668166B   SABREENA     MORRIS                       MO     90015261366
672B645A163646   TAMMY        HODGES                       MO     90011024501
672B665327B46B   CANNESHA     AMOS                         NC     90014846532
672B681745416B   MARKIE       HOHNADEL                     OR     90005078174
672B6993661936   RENITA       STEWART                      CA     46079049936
672B7174361936   HERBERT      PANARES FRANCISCO            CA     90012231743
672B7383172B27   MARIA        RUBIO                        CO     33067453831
672B7699361964   DERRIK       HARRELL                      CA     90013256993
672B78A275B235   SHELBY       MURPHY                       KY     90015088027
672B7A62984392   JOSE         DURAN                        SC     19031420629
672B8249971921   MAYRA        PEREZ                        CO     90002212499
672B836362B941   CRYSTAL      SMITH                        CA     90009473636
672B856465416B   MINDY        YOERK                        OR     90014685646
672B8617461936   FRANCISCO    SANCHEZ                      CA     90004856174
672B8654671964   FRANCINE     NIBIGIRA                     CO     32078206546
672B8A9735B176   JUNILLA      MARLOW                       AR     90012490973
672B9189571921   ANDREW       BONNEGENT                    CO     90012141895
672B918A972B27   ANDREA       LUCERO                       CO     33083751809
672B91A893B372   CAREY        LEJEUNE                      CO     90006621089
672B9377197B64   MARIA        MUNOZ                        CO     90009363771
672B9654172B43   RONNELL      ALBRIGHT                     CO     33034096541
672B975825416B   ALAN         COATS                        OR     90011327582
672BB111381644   KATHLEEN     ZULKO                        MO     29062001113
672BB841584392   RANDY        SCOTT                        SC     90010648415
672BB88364B232   DAVID        ALLEN                        NE     90005078836
672BBA34355977   MARICELA     OLIVO                        CA     90011170343
672BBA6277B46B   RONALD       FORD                         NC     90012850627
6731114744B588   KRISTY       WICKWARE                     OK     90011501474
6731149935B235   LA MURIA     FRANKLIN                     KY     68081804993
6731215462B255   RITA         ALSTON                       DC     90007701546
6731233465B241   EMERALD      CLARK                        KY     90013333346
67313A9335B241   AMANDA       PRICE                        KY     68011110933
673141A237193B   TRACI        CORY                         CO     90002251023
6731472454B27B   DANY         RODRIGUEZ                    NE     90014447245
6731476A13168B   MARTIN       GUERRA                       KS     22095847601
673153A6972B43   JULIE        ARCHULETTA                   CO     33073953069
6731552767193B   JESS         KIPF                         CO     90013065276
6731581A655977   SIMON        CARDENAS                     CA     49006628106
6731725354B268   TINA         QUINN                        NE     27019772535
6731736468B17B   STEPHANIE    WRIGHT                       UT     31001583646
6731746935416B   VICKI        RUTLEDGE                     OR     90012204693
67317698A91998   BRYAN        JONES                        NC     90014526980
6731787355B235   BRITTANY     BROWN                        KY     90012868735
67317A31151352   ROBERT       FUHR                         OH     90012780311
673183A995416B   DAVID        PARRISH                      OR     90000213099
67318794672B43   TIFFANY      BROWN                        CO     90013697946
6731B499991998   LEVY         SHERROD                      NC     17097184999
6731B687881675   ALFREDO      BAYLON                       MO     90013036878
67321672672B27   MANUEL       PEREZ SR                     CO     33096926726
67321881872B36   TAMMY        ESCAMILLA                    CO     33063578818
673218A6997B64   DANA         GARCIA                       CO     90000278069
6732312A65416B   BEN          MUNDAY                       OR     90002841206
6732336AA8166B   TIMOTHY      WHITHAM                      MO     90010923600
6732347725B235   MISTY        WHALIN                       KY     90014684772
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 528 of 2350


673243A3261988   JOAQUIN      FORBES                       CA     90012393032
67324539A4B27B   GABRIEL      FLORES                       NE     90013095390
6732529287193B   ANGELA       DRESNO                       CO     90010922928
67325931472B29   ITZEL        BRAVO                        CO     90015409314
6732622A672B27   JAMES        NUNLEY                       CO     33098392206
6732649A384392   TAMULA       CAMPBELL                     SC     90009934903
67326636A72B29   ELVIA        PINO                         CO     33021206360
67326763A63646   J REYES      GUTIERREZ                    MO     90015037630
67326874A8B155   SAMIU        TEISINA                      UT     90002348740
673268A4485689   AUDREY       MORRISON                     NJ     90011988044
67326A9A17193B   ALICIA       LOPEZ                        CO     32073650901
6732784297193B   RENE         DOE                          CO     90007228429
6732832317193B   KARINA       IRECHETA                     CO     90010923231
6732835725416B   REBEKAH      WALDORF                      OR     90000213572
67329219172B36   SANTIAGO     PATINO                       CO     90004832191
67329517A5B241   TENYA        LEE                          KY     90009495170
67329A25681644   QUALA        TILLMAL                      MO     90015300256
67329A43785689   JOSE         PEREZ                        NJ     90003270437
67329AA359187B   LUIS         LOPEZ                        OK     90008060035
6732B736661936   GABRIELA     PULIDO                       CA     90014017366
6733131148B346   OCTAVIA      CRUEL                        SC     90014143114
6733154997B46B   CHRISTIAN    MENDEZ LOPEZ                 NC     90014865499
6733156A72B228   TRACIE       THOMPSON                     DC     90009895607
67331A67561936   GENE         HILL                         CA     90015180675
67331A69957563   DANIEL       GRIFFITH                     NM     90010740699
6733233814B588   PATRICIA     BELL                         OK     90010013381
673325A7897B64   KYLA         GONZALES                     CO     90005455078
673327A2772B43   MICHELLE     LUCERO                       CO     90012397027
67333932172B36   BRANDON      NELSON                       CO     90014949321
67333A93872B36   ALFREDO      MUNOZ                        CO     90012420938
6733434674B53B   CLIFTON      HOWARD                       OK     90012403467
6733447465B241   WILLIAM      MCBROOM                      KY     90015304746
6733561127B46B   SHAKEMA L    JENKINS                      NC     90005126112
67335724833B92   DANIEL       SWIGART                      OH     90015097248
67336514A7B358   SONIA        MENDOZA                      VA     81011355140
673366A388166B   ARNULFO      SANCHEZ                      MO     90013596038
6733688135B241   ROBERT       MANGRUM                      KY     90014328813
67336884A72B43   FRANSISCO    BEJARANO                     CO     33094368840
6733717435B235   SHELIA       COLEMAN                      KY     90012811743
6733785578166B   JOANN        MONACO                       MO     90012078557
67337A64661964   ANN          OLDENBURG-GARCIA             CA     90015220646
6733849A37B46B   LENANDO      SPRINGS                      NC     90011244903
67338633497B64   ROGELIO      APOLONIO-PATRICIO            CO     90005346334
6733898235B241   JENNY        BRANHAM                      KY     90005039823
6733B156372B27   JESUS        ORTIZ                        CO     90014941563
6733B829172B43   KALEEMA      THOMPSON                     CO     90006688291
67341854172B43   ALFONSO      LABRADOR                     CO     33001018541
67341A12161964   ENRIQUE      PEREZ                        CA     90015270121
67342371472B29   FELIPE       RODELO MEDINA                CO     33049553714
67342377372B27   OSWALDO      DE LA CERDA                  CO     90012813773
67343317972B43   ERNESTO      BRITO                        CO     33042433179
6734369845B235   TAYLOR       CORNETT                      KY     90012056984
6734375645B238   CORTAYSIA    WATTS                        KY     90011867564
67343776972B27   STEPHEN      LONG                         CO     33090167769
67343A8737193B   NICOLE       SANCHEZ                      CO     90013000873
67343A8A161964   LISA         IYUA                         CA     90014550801
6734442914B27B   CHEYENNE     PECHA                        IA     27072014291
67344471472B2B   JOEL         ASTORGA                      CO     90014714714
67345818372B27   MICHAEL      SEELMEYER                    CO     33093378183
67346927A5B351   HUSSEIN      MURSAL                       OR     90002269270
67346A22271964   AASH         MOSE                         CO     90011080222
6734734A691998   DONOVON      FORBES                       NC     90010593406
67347352372B36   RONNIE       MAYNES                       CO     33056193523
6734745958166B   BREIA        OGLESBY                      MO     90013274595
6734811A572B27   AMBER        MORTENSON                    CO     33042021105
67349127772B43   JAIME        HARO                         CO     90001731277
6734932885416B   TIMOTHY      DURKIN                       OR     47090733288
673498A1A5B132   KENNEDY      DARRELL                      AR     90012198010
6734B248341288   LINDA        MANN                         PA     90011172483
6734B55A472B27   JOSE         ADALI                        CO     33020625504
6734B5A1855983   SUZETTE      MODDY                        CA     90004775018
6734B878461936   LUIS         FIGUEROA                     CA     46083758784
67351A52672B36   DARRYL       GIESE                        CO     33002410526
67351A77461964   ALLYSON      LEWORMAN                     CA     90001080774
6735218A391998   TANGENEKA    WARREN                       NC     90012751803
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 529 of 2350


673523A247B46B   DAVID        LYONS                        NC     90012663024
6735284A97193B   RAMON        FLORES                       CO     90013358409
67353349372B36   GERTRUDIS    CORDOVA                      CO     33079273493
6735336194B27B   ROSALIO      SANCHEZ                      NE     90010233619
67354A29791998   SHARELLE     HATLEY                       NC     17066980297
67355A74481644   MICHAEL      FETTERLY                     MO     90013390744
6735628145B241   PATRICIA     ELSTON                       KY     90013542814
67356548172B23   JUANITA      PICAZO                       CO     90007285481
67356736172B27   SEAN         KITE                         CO     33017787361
673571A5881644   LUIS         CHAPA                        MO     90014741058
6735744295B235   THERESA      COLLINS                      KY     68074714429
6735774225416B   SHAD         BLAND                        OR     90009447422
6735788684B542   KRISTIN      PAIR                         OK     90014748868
6735811784B27B   JUAN         RODRIGUEZ                    NE     27039551178
67358537A72B29   SHANA        JONES                        CO     33010195370
673585A535416B   KATHERINE    MILLER                       OR     90010095053
6735B112A61964   CLAUDIO      BERNAL                       CA     90008141120
6735B151984392   DANIELLE     MINER                        SC     90008731519
6735B967571921   JOSE         RIVERA                       CO     90010329675
6736115197193B   CINDY        WALT                         CO     32091621519
67361816272B27   JANETH       MORENO                       CO     90003938162
67361994972B36   ANTHONY      ZUNIGA                       CO     90003419949
6736287477193B   DOUGLAS      CHAD                         CO     32016918747
6736352355B235   JOSE         ALVAREZ                      KY     68007595235
67363A7657193B   GERARDO      SANCHEZ VALDEZ               CO     90013000765
673644A3481644   ANTONIO      COBINGTON                    MO     90015354034
67365562572B36   NANCY        CORDOVA                      CO     90013785625
6736573725416B   ASHLEY       BRAZIL                       OR     47061947372
6736597925B34B   KAREN        WELLMAN                      OR     90005239792
67367435A71964   JOHNNY       LIAS                         CO     90007854350
673684A6772B43   HALEY        CHESTNUT                     CO     90013084067
6736866A74B268   CARMEN       RODRIGUEZ                    NE     27084066607
67369A79872B43   MAURICIO     QUEZADA                      CO     90001520798
67371441A61936   ESTELA       DOMINQUEZ                    CA     90014804410
6737176246159B   ALBERTO      PANIAGUA                     TN     90014947624
67372327A71921   ARTHUR       GARCIA                       CO     90011503270
6737248255416B   EMILY        MOORE                        OR     90012574825
6737255784B27B   RHONDA       FREEMAN                      NE     90001385578
6737298A461966   CLAUDIA      GARCIA                       CA     90007589804
67373A17157135   CARLOS       GARCIA                       VA     90007940171
67373A74191562   ADRIANNA     TARANGO                      TX     90013670741
67374175772B43   JORGE        MORALES                      CO     33022301757
67374243872B29   VIRGINIA     APODACO                      CO     90008282438
6737467A891534   OMAR         ROPELE                       TX     75068096708
67374683A5B235   LATOSHA      OFFUTT                       KY     90014496830
6737616245B241   TAMMY        MATTICK                      KY     90011511624
67376872772B36   REBECCA      BURNSWILLIS                  CO     90011438727
67377182772B43   JONATHAN     ALONSO                       CO     90012981827
6737753484B588   OMAR         RIVERA                       OK     90009485348
6737757447B761   ALLEN        ROHN                         CA     90014135744
67377849A85981   KEITH        RATLIFF                      KY     90008738490
67377A59471964   GRACIELA     VALENZUELA                   CO     32000830594
67378329672B43   RICHARD      AHRENS                       CO     90014333296
67378833572B29   JERRAD       LEONARD                      CO     90014308335
6737884A871921   ANTHONY      GLANTON                      CO     32003898408
6737951564B588   CHRIS        ALEXANDER                    OK     90009495156
6737B14424B268   SHANNON      EUSTICE                      NE     27091991442
6737B179984392   ASHLEY       LUKE                         SC     19076861799
6737B37955B241   MAY          IRIAS                        KY     90012943795
6737B711381675   JACOLA       JONES                        MO     90002827113
6737B8A7761964   DARRYLE      CODRAY                       CA     90013468077
6737B992572B43   LASHAWNDA    JOHNSON                      CO     33095029925
6738121A663646   VICTORIA     SACK                         MO     90006712106
67381335A81675   KATELYN      HELMS                        MO     90013923350
67381A39672B29   JACK         ROLDAN                       CO     90012950396
6738213445416B   DAVID        CREITH                       OR     90013271344
6738254997B46B   CHRISTIAN    MENDEZ LOPEZ                 NC     90014865499
6738286A35B235   KALIE        CHILDRESS                    KY     68006888603
6738326724B27B   PHILIP       SHADDY                       NE     90010452672
67383369A71964   WILLARD      COLEBANK                     CO     90013553690
673838A1181675   CYNTHIA      JOHNSON                      MO     90013658011
6738491765416B   SABRINA      MILLER                       OR     90008789176
6738559634B588   VANESSA      VIERA                        OK     90011035963
6738574A571964   DOMINIQUE    BUCHANAN                     CO     90011457405
67385952A55977   PEARL        LAMBERT                      CA     90001259520
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 530 of 2350


67387531597B64   AMANDA        MILLSAP                     CO     90010555315
6738799A891522   ALEJANDRO     CONDE                       TX     75055319908
67387A28651354   DANA          GIBSON                      OH     90012710286
6738868985416B   ANGELA        PURSCELLEY                  OR     47046756898
6738871A685689   HECTOR        MARTINEZ                    NJ     90008427106
67388A34255977   JAMES         RUMLEY                      CA     90012150342
67389A52991522   CORINA        LAZCANO                     TX     75025950529
6738B283572B36   AGNES         GONZALES                    CO     90013302835
6738B6A7144B79   DAN           OBRIAN                      OH     90015006071
67391174A5B344   JOSHUA        TYREE                       OR     44596681740
6739162AA5B235   EBONY         ELIOT                       KY     90013076200
673916A9984392   LINDA         MESSICK                     SC     90012676099
6739236A872B27   ALEIA         WATENPAUGH                  CO     90005233608
67392828672B29   BEAU          PEPLOW                      CO     33012068286
6739289815416B   ELIZABETH     HARDARDT                    OR     90005108981
6739297844B588   TINA          WILLIAM                     OK     90011059784
6739346377B46B   JAIME         UMANZOR                     NC     90012424637
6739396A172B36   JEREMIAH      FITZ                        CO     90013949601
67393A12661964   AGUSTIN       VAZQUEZ                     CA     90015190126
6739582A75416B   JESSE         LYNCH                       OR     90007898207
67395A51961964   GABRIELLA     RALDA                       CA     46007190519
6739682A15B241   KAYLA         SCOTT                       KY     90010998201
6739743487B46B   ESSIE         PITTMAN                     NC     90014714348
67397558A4B27B   LONNIE        WILLIAMS                    NE     90011725580
673975A235416B   MEYANA        DUMMER                      OR     47049785023
6739765855416B   LISA          HAMM                        OR     90014686585
67397724872B43   VANESSA       MARQUEZ                     CO     90012477248
6739772A861936   DANIEL        STOLTZY                     CA     46098557208
67399414472B29   ROSAS         MARIELENA                   CO     90010754144
6739999A491998   ANTOINE       MOORE                       NC     90012949904
6739B33A291562   SARA          LUJAN                       TX     75067453302
6739B37A585689   JOE           LOPEZ                       NJ     90011433705
6739B48A284392   LUIS A        SOLIS                       SC     90000534802
673B17A685B235   RANDALL       COULTER                     KY     90009687068
673B1917A71921   YEEYAO        TAN                         CO     90009079170
673B193765B241   JERI          COTTRELL                    KY     90015199376
673B1A66672B43   SASKIA        MESSMER                     CO     90013460666
673B248954B27B   HASER         MURINAR                     NE     90001904895
673B251A255977   CHENG         YANG                        CA     90014875102
673B252275416B   AARON         FORD                        OR     90005015227
673B266248166B   JUAN CARLOS   CORONADO                    MO     90012546624
673B2932661964   JASON         DAIGLE                      CA     90011259326
673B3145381644   ALBERT        ENDERLE                     MO     90013121453
673B3269855977   JESSIE        VEGA                        CA     49049032698
673B358155416B   ROXY          NATION                      OR     90003425815
673B381982B53B   ANGELIA       LEWIS                       AL     90014208198
673B4123761964   JOSE          GONZALES                    CA     46058301237
673B4216872B43   JOSEPH        AUSTIN                      CO     33074832168
673B4477472B36   EULONDA       KEELING                     CO     33074434774
673B474845B344   LATASHA       HANKINS                     OR     44530987484
673B4981972B27   HUGO          SEANZ                       CO     33035589819
673B5136A8166B   MARIA         CABALLERO                   MO     90009511360
673B5347581644   ALFREDO       ALEGRIA                     MO     29079883475
673B544A972B36   CARLA         BARTON                      CO     33048594409
673B5659672B29   BILLY         WHEELOCK                    CO     90015186596
673B589A94B268   MARTINA       HENRY                       NE     90002038909
673B5944291998   ROMAIRO       ROBLEDO BARIAZ              NC     17055459442
673B6321A4B588   TYLER         THORPE                      OK     90013133210
673B6353863646   MICHELLE      RABENAU                     MO     90003593538
673B699965B344   ALLISON C     PRICE                       OR     44596579996
673B7775872B29   BRENDA        RODRIGUEZ                   CO     90012897758
673B79A4972B27   YANINN        DYCK                        CO     33081469049
673B817637193B   ANGELICA      TOVAR                       CO     90011551763
673B8419791527   IRMA          HERRERA                     TX     75067434197
673B84AA572B29   MERARY        RUBIO                       CO     90004494005
673B9928761944   JESSE         VANDEVER                    OK     46075939287
673BB2AA67193B   MARIA         ORTEGA                      CO     90010812006
673BB55787194B   JAYLYNA       MILLER                      CO     90011565578
6741241A255973   YOLANDA       ANGULO                      CA     90011994102
6741251114B588   ALONSO        RUVALCABA                   OK     90014005111
67412A5297193B   DIANA         VARGAS ORTEGA               CO     90014110529
6741313A991562   GUADALUPE     PONCE                       TX     75078181309
6741336274B27B   ALEX          PAQUETTE                    NE     90014173627
67413766497B64   AMERICA       ARREOLA                     CO     90009057664
67414729572B36   JUAN          HERNANDEZ                   CO     90012867295
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 531 of 2350


6741793684B588   FERNANDO     GARCIA                       OK     90013929368
6741812997193B   LISA         OCONNELL                     CO     90011941299
674181A852B587   SAMUEL       ELBEREZ                      AL     90010531085
674183A7851354   MARLON       ROBERTS                      OH     90014083078
6741882A581644   ROGER        ELAM                         MO     29062298205
67418855572B27   GREGORY      TALLEY                       CO     90013288555
67418961597B64   ROBERT       CASTANEDA                    CO     90013769615
67418A59961964   HIROMI       LEYVA                        CA     90011030599
67419128A7B46B   DAVID        DORANT                       NC     90007741280
6741923497193B   NICOLE       ORTIZ                        CO     90001962349
6741935A955977   KERRIE       BROOKE                       CA     90010973509
6741984738166B   RIGOBERTO    VEGA                         MO     90009088473
67419A56651354   BETTIE       WILSON                       OH     90009870566
6741B16737193B   ORALIA       GARCIA                       CO     90013621673
6741B599A81675   JOHN         BENNETT                      MO     90012315990
6742143A47193B   BALERIA      DE NOVA-REYNOSO              CO     90012984304
6742179585B241   LAVON        TROUTMAN                     KY     90015087958
6742237835416B   CHRISTINE    LINDSAY                      OR     90012603783
67422631A84392   BERNALDINO   PENA BLANCO                  SC     90011336310
67422A74A76B57   LORETTA      BENTLEY                      CA     46021480740
67422A85471964   JORDAN       MARTINEZ                     CO     90001640854
67423175A55973   RON          PEMBERTON                    CA     90010271750
6742378944B588   DONTA        HOUSE                        OK     90013157894
6742443654B588   JUDY         WESTGATE                     OK     90014704365
6742516AA71964   KOMPHEAK     PIV                          CO     32000841600
6742625695B241   ESTEBAN      PAZ                          KY     90013582569
6742626A672B27   AOWDIA       TUORMBIL                     CO     90010782606
67426589A5B235   EDDY         QUESADA                      KY     90013075890
6742754855B235   MARTHA       SILVA                        KY     68073155485
67428139A91998   GLENDY       FLORES                       NC     90010601390
67428A26472B36   MICHAEL      DELODOVICO                   CO     33087350264
67429125872B43   TYMMIE       BYRAM                        CO     33015501258
67429151672B27   CATHY        ASEND                        CO     90004341516
67429398A5B241   TRANG        LE                           KY     90013823980
6742B326A5416B   JUDY         THOROGOOD                    OR     90011883260
6742B718985689   FRANCES      GUZMAN                       NJ     90003587189
6743136958166B   ABBYE        GRAYHAND                     MO     90009493695
674321AA44B27B   TODD         DANKER                       IA     27003571004
6743259697B46B   AARON        GRAY                         NC     90012925969
67432789372B36   MARY         ONARATO                      CO     33041887893
6743333475416B   GUSTAVO      DIAZ                         OR     90013963347
674334A3571924   JENNIFER     CASTELLON                    CO     90011754035
67433593472B29   ROGELIO      CRUZ                         CO     33095055934
6743366324B268   SOUTH        OMAHA ARTS                   NE     27062476632
67434157797B64   KIM          BIEDERMAN                    CO     90000431577
674347A2491562   BRIANNA      GUYE                         TX     90007827024
67434875172B27   ERIKA        HERRERA                      CO     33085898751
6743698347B46B   MELESSIA     GILMORE                      NC     11030679834
6743755944B588   DEBORAH      APONTE                       OK     90005975594
674379A5A91522   CINTHIA      NAVA                         TX     90014709050
67437A5A361966   ANGEL        CURIEL                       CA     90011160503
67439249172B43   NICHOLAS     RICHIE                       CO     33080682491
6743944A571921   ALMA         MARTINEZ                     CO     90014944405
6743B337772B36   TODD         ROMERO                       CO     90008583377
6743B47A991998   JAHLANIE     JOHNSON                      NC     90015264709
6743B497561964   SOPHIE       MEDINA                       CA     90003604975
6743B499491522   MARY         AGUILAR                      TX     75061124994
6743B72735416B   JAMES        POWERS                       OR     47075637273
6743B78545B241   LANEICEA     WEBB                         KY     90011177854
674429A6255973   HEIDRUIN     WITHERSPOON                  CA     90000889062
67443955197B64   HEATHER      BLACK                        CO     39059269551
674439A5491522   LORRAINE     MONTIEL                      TX     90014709054
6744413AA71964   FAUSTO       CRUZ                         CO     32013911300
67446965A91562   CAROLINA     NAVARRO                      TX     75069109650
67446A73A91522   RAFAEL       IBARRA                       TX     75074360730
67447154572B29   FRANSISCO    RODRIGUEZ                    CO     33049411545
67447A52491562   RAUL         MARQUEZ                      TX     75058980524
674487A3972B36   FRANCINE     HOGAN                        CO     90013017039
674488A9361964   YESENIA      MARQUEZ                      CA     46009908093
67448964A61936   DUKEL        JOSEPH                       CA     90013029640
67448A2A691998   ANGELA       RIDDICK                      NC     90013360206
674491A928166B   PAYGO        IVR ACTIVATION               MO     90010541092
67449A52572B27   CRISTINA     BALTODANO                    CO     33042700525
6744B212484392   ALICIA       SCOTT                        SC     90004762124
6744B3A1A55977   BRYAN        ANDRADE                      CA     90015133010
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 532 of 2350


6744B51A972B36   MORGAN       DANFORD                      CO     90015315109
6744B77658166B   CHEREI       GALLAGHER                    MO     90006077765
6744B7A317193B   VERONICA     LANNING                      CO     90011387031
6744B82734B588   CHARLES      SHIPMAN                      OK     90013308273
6744B996891522   UBALDO       CERVANTES                    TX     90004569968
674513A3261964   DANIA        SORIANO                      CA     90013283032
67451552A4B268   RACHEL       KRZYCKI                      NE     27047285520
6745197792B255   FRANKLIN     MERINO                       VA     90011549779
6745245574B588   DIKISES      JACKSON                      OK     90014684557
67452759672B43   ALEJANDRA    CORTEZ                       CO     33050457596
6745294722B962   JOHN         JAMES                        CA     90013189472
67453118872B29   INOCENTE     MENJIVAR                     CO     90012051188
67453623A4B268   TOYCE        ROBINSON                     NE     90013066230
67453A53291562   JOHN ADAMS   TAYLOR                       TX     90013070532
67454531972B36   VILLALOBOS   FELIX                        CO     33014605319
67455A4453B394   RAIAN        GARCIA                       CO     90011540445
6745623474B268   CATHY        TORRANCE                     NE     27080922347
67456A17961937   CYRUS        BROOKS                       CA     90015250179
67457324A91522   JUSTIN       VALLES                       TX     90011793240
6745749797193B   HEATHER      SEARS                        CO     90008344979
6745838A785689   STEPHEN      NOVAKOWSKI                   NJ     90013023807
6745877794B27B   EDELMAN      MIRANDA                      NE     90013427779
674587A6691562   LUIS         MONTANEZ                     TX     90012387066
6745894814B588   FLOR         SALDIERNA                    OK     90013929481
67459447272B29   ROBERT       HOCKER                       CO     33018144472
67459644572B36   COLLEEN      ROTH                         CO     33064706445
67459696A5B235   RONALD       NELSON                       KY     68089346960
6745B12AA85689   ANA          LEZAMA                       NJ     90012881200
6745B26435B344   MARIO        RAMOS                        OR     44586072643
6745B44A27B442   JUAN         HIDALGO                      NC     90002364402
6746316737193B   ORALIA       GARCIA                       CO     90013621673
67463A2613B33B   SCOTT        STEIGERWALD                  CO     33005140261
67464AA9A72B29   WILLIAM      DAVERNET                     CO     33086880090
674657A794B588   DANIELLE     KEMP                         OK     90005977079
6746742735416B   TARA         THOMPSON                     OR     47039314273
6746879487193B   ANDRIAN      MARTINEZ                     CO     90014857948
6746962A351354   REBECCAH     BURTIS                       OH     90012746203
67469A12691998   SASHA        SMITH                        NC     90012950126
6746B252891998   ANDREW       PEARCE                       NC     90012502528
6746B39982B227   TOAN         HUYNH                        DC     90007973998
6746B932872B29   CHENOA       MORA                         CO     90015009328
6746B93855B344   ERIKA        BRACAMONTES                  OR     90009809385
6746B946661964   VILLEGAS     IGNACIO                      CA     90003129466
67471A6227B46B   DEVETTO      RICHARD                      NC     90000150622
67471A68291998   NOE          MORALES                      NC     90013980682
67471A7195416B   ESTELA       PEREZ                        OR     47083130719
67472A81961964   JONATHAN     GARCIA                       CA     90010810819
6747332315416B   JEAN         LEMMON                       OR     47018123231
674735AA98B165   JAMES        CHASE                        UT     90000695009
67473688872B43   COLLIN       ANDERSON                     CO     90013016888
6747425A191998   ELVIA        MORALES                      NC     90013982501
674744A2691998   KATALINA     CRUZ                         NC     90014924026
6747466A931445   CARLOTTA     VAUGHN                       MO     90005676609
6747515A15B344   ALFONSO      MONTEROSO                    OR     90003311501
6747518795B241   MICHELLE     PEREZ                        KY     90008861879
67475742A72B43   MARILU       ANDRADE-ARROYO               CO     33094407420
6747595A24B588   HUGO         VALERIANO                    OK     90013929502
67478443372B36   PILAR        AGUILAR                      CO     33045394433
674786A5171964   VICTOR       ESCARCEA                     CO     32092846051
6747939A94B27B   VICTOR       RIOS                         NE     90011593909
6747945778B492   LUCAS        NOTARIO                      VA     90015234577
67479496A72B36   ISAURA       FLORES                       CO     90003334960
6747B626385689   ANTHONY      REESE                        NJ     90013086263
6747B8A3971964   JAMES        JONES                        CO     32060348039
67481381872B36   TIFFANY      THOMAS                       CO     90010813818
6748173A27193B   NATASHA      ORRIS                        CO     90010957302
6748186818166B   WILLIAM      DOLINGER                     MO     90012948681
67482625472B43   RACHEL       LIVELY                       CO     90002746254
6748284A97193B   RAMON        FLORES                       CO     90013358409
67483AA6977367   MONICA       SPRIGGS                      IL     90015490069
6748416297B46B   DAVID        PRICE                        NC     90013401629
6748465A95B235   GENETA       SHOW                         KY     90009046509
67484948A81675   MANUEL       AGUIRIANO                    KS     90014559480
67484A3854B588   TIMMY        BEAR                         OK     90013140385
67484A53961964   CHRIS        CHAVEZ                       CA     90012790539
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 533 of 2350


67485498372B29   FERNANDO     VILLASENOR                   CO     33063384983
6748558AA55977   CINDY        FANG                         CA     90012585800
67485832A5B235   MARIANA      RAMIREZ                      KY     90014858320
67486797A51354   JOSE         CAMPOS                       OH     66077287970
674867A425416B   DANIELLE     ROBERTSON                    OR     47066137042
67486A3854B588   TIMMY        BEAR                         OK     90013140385
6748736518166B   EDWARD       ESPINOZA                     MO     29031073651
6748745A791562   RAUL         DORADO                       TX     90000314507
67487586272B27   EDGAR        LUGO                         CO     90010225862
6748775817193B   MELANIE      GAPPMAYER                    CO     90010957581
6748818565B241   ROMON        LEWIS                        KY     90009771856
67488272472B43   ROBERTA      LOPEZ                        CO     90014642724
6748BAA7472B27   ISABELA      SANCHEZ                      CO     33000540074
6749125394B588   SHAWNDRA     ROBINSON                     OK     90011502539
6749125915B235   JACQUES      WILLIAMS                     KY     90015012591
67491A13791522   RUBEN        OLIVER                       TX     90011300137
67492A17961937   CYRUS        BROOKS                       CA     90015250179
67493A13791522   RUBEN        OLIVER                       TX     90011300137
67493A3A45B241   JULIUS       WATTS                        KY     90008240304
6749474A797B64   FERNANDA     SOLIS LEYNEZ                 CO     90012327407
67494A2A291562   CHRISTIE     FLORES                       TX     90011520202
6749516585416B   TROY         KISER                        OR     90009811658
67495448472B36   FRANCISCO    MEDINA                       CO     33039684484
674968A3A84392   KIANDRA      POPO                         SC     90010328030
674971A2697B64   MARTIN       AYALA                        CO     90005031026
6749749AA5416B   JOYCE        LUPERCIO                     OR     47023144900
6749768A655977   JESSICA      ORTEGA                       CA     49025296806
67497A51871964   LORRAINE     COBB                         CO     90008620518
6749926484B588   LACEY        FRANTZ                       OK     90011462648
6749B55485416B   EVANGELINA   MONJE                        OR     90013945548
6749B654271921   ARIANNA      DEVRIES                      CO     90014156542
6749B72A861936   TONY         DURAN                        CA     90005507208
6749B948272B36   WESLEY       HONEYSETTE                   CO     90012089482
6749BA61872B29   GUADALUPE    ROJAS                        CO     90009850618
6749BA64181675   LEOBARDO     GONZALEZ                     MO     90011330641
674B1167891522   RAMONA       SAENZ                        NM     75009521678
674B1279663646   STEAVEN      BRENT                        MO     90002452796
674B1311A81675   DONALD       ADAMSON                      MO     90012093110
674B1317291572   DANIEL       YU                           TX     90003753172
674B1779972B2B   CHRIS        AGUILAR                      CO     90006907799
674B1942291998   VICTORQ      AVILA                        NC     17046139422
674B1A18561936   JOHN         HOUSE                        CA     90012750185
674B2286291998   ROSARIO      MORALES                      NC     90011272862
674B289A584392   JEFFREY      BERNS                        SC     90013928905
674B3755872B36   MARIA        MELGOZA                      CO     90013837558
674B3814951354   LATRASHA     BROOKS                       OH     66018358149
674B418387193B   LEAH         WESTLIE                      CO     32049521838
674B4273172B27   RODOLFO      REYES                        CO     90006642731
674B443168B132   LACYNTHIA    SPEAN                        UT     90007554316
674B475A685689   CASSANDRA    MCNAIR                       NJ     90002927506
674B4A76891522   ALICIA       REGALADO                     TX     75074220768
674B4AA448166B   KEVIN        BLACK                        KS     29015940044
674B514A455973   LORI         PAYZONT                      CA     90015161404
674B523234B588   ASHLEY       PRATHER                      OK     21559912323
674B5A2644B559   DUWAYNE      MILLS                        OK     90010580264
674B625648166B   LULA         NIX                          MO     29009562564
674B66A327193B   MIREYA       MARTINEZ                     CO     32071236032
674B7576255977   SHERYL       SWEGART                      CA     90013585762
674B7933251354   GUADALUPE    CORTEZ                       OH     66079379332
674B8211985986   ERIC         RICE                         KY     90007462119
674B8516991562   DIANA        ORTEGA                       TX     90014175169
674B857A79184B   YUVONNA      HEMPERLEY                    OK     90012345707
674B9415393753   REBECCA      YADEN                        OH     90011324153
674B9463A72B27   RICARDO      CRUZ                         CO     33092594630
674B997114B27B   AKOUETE      ALMEIDA                      NE     27095699711
674B998898166B   ERICA        WASHINGTON                   KS     90009819889
674BB255455977   JOSE ARIAN   AGUILAR                      CA     90005022554
674BB42557193B   JODI         JACQUES                      CO     90010864255
674BB693755973   LIDIA        RODRIGUEZ                    CA     90012716937
67511372572B36   NEMIAS       JIMENEZ                      CO     90009003725
675115A2171964   JUAN         ORDONES                      CO     32010205021
6751222627193B   LORI         HERRERA                      CO     90005772262
6751246854B588   MICHELLE     HARMON                       OK     90007644685
6751312A281644   RENADA       LOPEZ                        MO     90013441202
6751326A45B235   JENNIE       BAKER                        KY     90013402604
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 534 of 2350


67513A6674B27B   AMANDA         OLSON                      NE     90008050667
6751419A785689   LUIS           CERON GUZMAN               NJ     90013421907
6751434634B588   GINGER         WEST                       OK     90011073463
67514552A55973   LEON           NAVARRO                    CA     90001785520
67514939A5B389   FREDDY         AVILA                      OR     90007959390
67515533872B29   JAMES          MCDONALD                   CO     90008065338
67516328972B43   ROBERT         DAWSON                     CO     90011803289
6751883A671964   ROSS           OSBORNE                    CO     90011458306
67518A21661943   RAMIRO         SANDOVAL                   CA     90002700216
6751952694B588   RUSSELL        RAINS                      OK     90014005269
67519877A71964   JESSE          CARSON                     CO     32000868770
67519A1245416B   ROGER          MCCONNELL                  OR     90009670124
6751B3A677B46B   IVAN           RAMIREZ                    NC     90002003067
6751B755561964   PHILLIP        O HARE                     CA     90014067555
6751B976881644   MARIA          SPENCER                    MO     90012319768
675213A3491562   JAZMIN         TARANGO                    TX     90011773034
6752163144B588   FRANK          TANNER                     OK     90008966314
6752212364B588   CAYLA          HALL                       OK     90013141236
6752249A461936   YORDANOS       AMINE                      CA     90015194904
67522885572B36   MANUEL         BRISENO                    CO     33077188855
67522AA552B253   PHILIP         ELAD                       DC     90015230055
6752312364B588   CAYLA          HALL                       OK     90013141236
67523A81355977   ALBERTO        MARTINEZ                   CA     90013800813
67523A82171964   MARK           ANDERSON                   CO     32044530821
67524172A63646   ASHLEY         SHATRO                     MO     90007071720
6752574347193B   KELLY          STEELE                     CO     32039197434
67526123372B36   PATRICIA       VALDEZ                     CO     90007551233
6752645458166B   KATHLEEN       MAURICE                    MO     90013014545
67526A6665B241   ANTHONY        TAYLOR                     KY     90008240666
6752741275416B   KRISTI         MENDONCA                   OR     90007524127
67527484A71921   JESUS          VICTORINO                  CO     90011874840
675275AA584392   JESSYKA        HARDEN                     SC     90008375005
6752798A54B588   BARBARA        DELEON                     OK     90006049805
67527A95781644   URSULA         PALMER                     MO     90013520957
6752848474B588   RICKY          STAMPER                    OK     90005984847
67528642A51354   RICKEY         MCNICHOLAS                 OH     90010716420
6752948474B588   RICKY          STAMPER                    OK     90005984847
6752951A484392   DILLON         CALDER                     SC     90012855104
67529A4A491998   ANTOINETTE     LOONEY                     NC     90003940404
6752B12AA5B235   J              SMITH                      KY     90010361200
6752B329181644   ERICK          GARCIA                     MO     90013853291
6752B455271921   JOSH           LIFA                       CO     90014704552
6752B9A6555977   DENISE         JENNINGS                   CA     90009099065
675315A3151354   ELIZABETH      MEYER                      OH     90001785031
67531928572B43   CLAUDIA        RAMOS                      CO     90014619285
6753225397B442   IVAN           ELIAS                      NC     90006822539
6753367A87B761   CYRUSS         ALLEN                      CA     90015436708
6753395914B27B   KIM            HOOLE                      NE     90014809591
67535368872B27   JOSE EDUARDO   MUNOZ                      CO     90015143688
6753557A261936   AFIYA          CLARK                      CA     46023845702
6753558825416B   ANDREA         BRACKETT                   OR     90011495882
6753615385416B   DANIEL         SUPIK                      OR     90013131538
6753638277B46B   ROSA           INFANTE                    NC     11019273827
67536A34A81644   BERTHA         NIXON                      MO     90010840340
675372A8172B29   LINDA          LOPEZ                      CO     90011482081
675378A6391522   IVAN           MORA                       TX     90013988063
67537AA118439B   ERICA M        BROWN                      SC     90000540011
675384A1191562   OMAR           GUZMAN                     NM     75008304011
67539117572B27   ELIZABETH      GARCIA                     CO     33062621175
6753978667B46B   LATOYA         PRIOLEAU                   NC     90013257866
67539A47661964   ALEX           GONZALEZ                   CA     90006490476
6753B351671921   CHASITY        TUCKER                     CO     90015013516
6753B669972B27   MANUEL         APODACA                    CO     90012866699
6753B899255973   MARIBELL       MUNOZ                      CA     90013008992
67541A2A691998   ANGELA         RIDDICK                    NC     90013360206
6754279567B46B   DAMON          COOPER                     NC     90013827956
67543A1748166B   MICHELAE       ALISHA                     MO     90013930174
6754457384B588   LORENZA        WILLIAMS                   OK     90005985738
67544599A84392   DANTE          JENKINS                    SC     90013385990
67544AA187193B   DONALD         ENTRIKIN                   CO     90013020018
675455A2872B36   ORTEGA         EDGAR                      CO     90014145028
67545A5935416B   JOSE           ROMERO PASTOR              OR     90012920593
67546332572B36   KRISTY         HERNANDEZ                  CO     90007203325
6754758A472B36   DANIEL         ARITA                      CO     33045505804
6754771AA5B235   VEEDA          WASHINGTON                 KY     90011657100
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 535 of 2350


67547768A51354   NICOLE       JENNINGS                     OH     90013147680
67547A55685689   SEAN         HARRIS                       NJ     90012520556
675484A3372B29   LAWRENCE     COLLINS                      CO     33027334033
67548926772B27   TIFFANY      JACOBS                       CO     90013479267
67548A41871921   HAROLD       STRUTHERS                    CO     90013380418
67549896A91549   OSCAR        IBARBO                       TX     90008698960
6754B42928166B   FRANCISCO    VASQUEZ                      MO     90013044292
6754B57794B588   LAMAR        JOHNSON                      OK     90011805779
6754B99595B235   AMANDA       HERNANDEZ                    KY     68022569959
6755153157193B   PATRICK      PEASE                        CO     32028825315
6755155558166B   KARIM        HAMIDOU                      MO     90009455555
6755259A871964   KIMBERLY     LYNN                         CO     90008565908
6755387A681644   YVONNE       BASS                         MO     29023888706
67553AAA67193B   DANIEL       ATENCIO                      CO     90010270006
67554262672B43   ANTONIO      MARTINEZ                     CO     90011552626
6755569544B588   LUCIS        WOODFORK                     OK     90012016954
6755574765B235   MISTY        LAWSON                       KY     90010107476
6755677385B235   TIFFANY      BANULES                      KY     90013197738
6755682A372B43   TANISHA      LISTER                       CO     33046838203
6755686627193B   ABEL         GARCIA                       CO     90008388662
67557218972B27   CHARLENE     PEREA                        CO     90007242189
675575A1A84392   EILI         WALKER                       SC     90012025010
6755864254B23B   FRANCISCO    PEREZ                        NE     90000636425
67558A86661936   ANA          LEMUS                        CA     46019730866
675592A8597B37   RODRIGO      ESCUDERO                     CO     90010742085
6755B22A15416B   LINDA        BENNETT                      OR     47081152201
6755B24494B268   MICHAEL      SUNCLADES                    NE     27019612449
6755B356461964   CRISTINA     WHITNEY                      CA     90011873564
6755B452791522   LAURA        PEREZ                        TX     90011794527
6755B57517193B   DAVID        SWAFFAR                      CO     32065465751
6756139A691562   GRACIELA     AGUAYO                       TX     90001053906
675614A9831455   ROCHELLE     DAVIDSON                     MO     90003754098
6756168838B137   DEBBIE       GARDNER                      UT     31016256883
675616A125B241   VENITA       WILLIAMS                     KY     90014126012
67561896A91549   OSCAR        IBARBO                       TX     90008698960
67561A32991522   HERMILA      BECK                         TX     75022850329
67561AA7691998   HEMMA        GONZALEZ                     NC     90011250076
6756298664B588   LUIS         ENRIQUEZ                     OK     90011059866
6756313933B339   ROBIN        KINKLE                       CO     90013081393
6756395234B588   OPEYEMI      SALAMI                       OK     90013929523
67563961972B27   JOSHUA       TRUJILLO                     CO     90012349619
67563A2264B27B   DIANA        RICE                         NE     27056630226
67564249972B29   EFRAIN       KUCHIMAS                     CO     33033702499
6756431A681644   CAMERON      TOLIVER                      MO     90008063106
6756441155B241   HARLIE       EDDINGTON                    KY     90001724115
67564613772B26   JUAN         SANTOYO                      CO     90010416137
67564672772B27   DARIAN       BLEA                         CO     33016986727
675647A723B339   NORMA        CISNEROS                     CO     90005107072
67565A73A8166B   LARRY        MCCOY                        MO     29025500730
6756626A557595   STEPHEN      MIRANDA                      NM     90011582605
6756662A78166B   TRISTA       HOY                          MO     90014046207
675668A8561964   SUSANA       LAZARO                       CA     90010888085
6756695885B235   DAVID        WATERS                       KY     68086849588
67566A7517B46B   CESAR        IBARRIAS                     NC     90008080751
67568327972B43   NICOLE       ALEGRIA                      CO     33067523279
67568A8785B235   JEREMIAS     CASTILLO                     KY     90015200878
6756964677B46B   FABIAN       MEJIA                        NC     90011546467
67569763A7193B   KELLI        BIROU                        CO     90011357630
6756B19887B46B   SGAYLA       WILLIAMS                     NC     90011091988
6756B59397193B   JACQUELYN    RAYE                         CO     90005885939
6756B923797B64   TANYA        MORALES                      CO     90012289237
6757245754B588   JASON        EDMON                        OK     90011134575
6757261585B235   MILLIE       WARD                         KY     68012656158
6757331215416B   ALAN         CAPPS                        OR     47033303121
6757339774B27B   STEPHANIE    BROWN                        NE     90007173977
675736A5761936   STEPHEN      DAUNT                        CA     90014006057
67574A79991998   MARQUES      LITTLE                       NC     90010610799
675752A3672B36   JUAN         ARREDONDO-GARCIA             CO     90012702036
675752AA781675   JANELLE      BRIGGS                       MO     90008412007
67575766572B27   ROBIN        GOLOB                        CO     33061457665
6757711817193B   SHARON       VANN                         CO     32041341181
6757727674B27B   KAYLEEN      SCHABEN                      IA     90010742767
67577458872B29   DURAN        AMANDA                       CO     90010904588
67578A6844B27B   PRESTIN      HORNE                        NE     90010410684
675791A5681644   JAMICE       CRAIG                        MO     90015171056
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 536 of 2350


675793A4261936   YVETTE         VASQUEZ                    CA     90011413042
67579AA917B46B   ALEX           THOMAS                     NC     11051440091
6757B517472B29   STEPHANIE      WILLEY                     CO     90005025174
6757B891591562   JANELI         ANAHI                      TX     90014838915
6757B926951322   JAMES          BRATTON                    OH     66091989269
6757BAA3597B36   JENNY          GARCIA                     CO     90014340035
67581864A91522   MIGUEL         DE LA ROSA                 TX     90014718640
67582381472B43   FRANCISCO      ENRIQUEZ                   CO     90012183814
6758267A171921   LUIS           JIMINEZ                    CO     90012816701
67582A7A455973   ESTELA         MACIAS                     CA     90003170704
67582AA165B235   SAEN           ALLEN                      KY     90011580016
67584687A72B29   ANGELICA       AVILA                      CO     90010256870
67586715272B43   FERNANDO       LAZOS LUNA                 CO     90013367152
67586A29351371   JACUB          BLANKENSHIP                OH     90008790293
6758743735B241   RICHIE         WILLIAMS                   KY     90012244373
6758781A861988   ARTURO         AVALOS                     CA     90007938108
67587994272B36   JENNIFER       FENNELL                    CO     90013239942
67587A1A581675   BLANCA         MARTINEZ                   MO     29015860105
6758826455B241   ELIZABETH      HARDIN                     KY     90013302645
67588458872B29   DURAN          AMANDA                     CO     90010904588
6758864877B423   JOANNA         YOUNG                      NC     90001356487
67588717472B36   ESPERANZA      LOPEZ MORENO               CO     90013697174
6758873117193B   JARED          PROCTOR                    CO     32080177311
67589413172B43   SUMMER         VALLEJOS                   CO     90014334131
67589864972B29   JAMES          SHACKELFORD                CO     90009888649
6758989435416B   KENNETH        MCANALLY                   OR     90015108943
6758989774B52B   MARK           SAINTZ                     OK     90010698977
67589A86491562   LEROY          SHELDON                    TX     75018350864
6758B135672B27   TOMMY          HUFF JR                    CO     33009371356
6758B3A7671921   TAMARA         PATINO                     CO     32049983076
6759139634B268   KELLY          COOPER                     NE     27052063963
67592214A91998   TARA           TURNER                     NC     17081562140
6759247624B588   GLORIA         TREJO                      OK     90014494762
6759247A284392   ELIJAH         WARING                     SC     90015254702
6759389A191522   MAGALY         REYES                      TX     75068218901
67593936A5B241   JORDAN         MICHAEL                    KY     68094349360
67594434A81644   KRISTY         BAILEY                     MO     29065934340
675949A749372B   JABARI         PEOPLES                    OH     90006409074
6759546544B588   QATWANA        MUCKER                     OK     90010334654
6759643217B46B   SHARONDA       TORRENCE                   NC     90009034321
6759716A385948   AJ             WILLIAMS                   KY     90013491603
67597279372B27   BRETT          WRIGHT                     CO     90012462793
6759781664B588   EATH           MALILAY                    OK     90014768166
67597A53A5B241   SANDRA         DAWSON                     KY     90012550530
6759826A451354   LAURA          KUCHERA                    OH     90013652604
67598475672B27   SHANTA         MINOR                      CO     90012054756
6759849A75B235   PATRICIA       ILES                       KY     90013884907
67598916A61936   SELENE         ESPINOSA                   CA     90010929160
67598943272B43   ANGEL          ANDERSON                   CO     33001679432
6759B12517B46B   JUNITA         POUGH                      NC     90013611251
6759B35415B241   TIFFANY        STOTTS                     KY     90012523541
6759B813172B27   WENDY          GORTON                     CO     33017828131
675B156533B391   JULIA J        MOODY                      CO     33060845653
675B183495416B   NOLAN          RAMEY                      OR     90013358349
675B1975371921   PAYGO          IVR ACTIVATION             CO     90013669753
675B19A4961964   ITZEL          QUINONES                   CA     46011279049
675B2769671964   JACOB          SCHALLER                   CO     90007137696
675B2A64772B29   ALEXANDRA      GRAHAM                     CO     33074320647
675B3311A81644   THOMAS         BEDSWORTH                  MO     90005003110
675B352A272B43   ERICH          SHANHOLTZER                CO     33084055202
675B35A6861945   HUSHAM HANNA   MANSOOR                    CA     90011645068
675B389A584392   KEITH          RAPP                       SC     19057158905
675B39AA55B344   TANA           MEIER                      OR     90013209005
675B3A1694B588   TONJONIQUE     GREEN                      OK     90004580169
675B4765871921   JARED          IKAOLA                     CO     90014527658
675B5488A8166B   KEATON         BROWN                      MO     90012164880
675B5663484392   TAMARA         NELSON                     SC     90014396634
675B5971755981   ASUSENA        DE OCHA                    CA     90013799717
675B5A17191998   JOSE           VELASQUEZ                  NC     17091700171
675B6221521646   RENEE          PETONIC                    OH     90015032215
675B687174B27B   KEVIN          GROVER                     NE     90014738717
675B68A394B588   EFRAIN         IXTUPE                     OK     90003278039
675B7128361964   DIANA          YANEZ                      CA     90005641283
675B714715B241   KIM            DEMAR                      KY     90009421471
675B7438184392   VALERIE        CRUSS                      SC     90014304381
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 537 of 2350


675B84A2971964   SETTLE       CORZETTA                     CO     90001894029
675B8631272B27   MARY         WEGNER                       CO     90013166312
675B9267772B29   KEVIN        JOHNSON                      CO     90012932677
675B947484B27B   VANIA        FREEMAN                      NE     90013224748
675BB449772B36   HEILDI       BURSHTEN                     CO     90014084497
675BB61483168B   DONNA        MOXLEY                       KS     22087356148
675BB835671964   JORDAN       PERKINS                      CO     90011098356
675BB8A9161964   MARVIN       YOUNG                        CA     90013058091
67611394472B29   NIKKI        ASEBEDO                      CO     33041993944
6761213A291522   OSCAR        ESTRADA                      TX     90014931302
6761245A691998   LACEY        OVERBAUGH                    NC     90014304506
67612474A97B64   AARON        MEZA                         CO     90001454740
6761254334B588   RAUL         ALEJOS                       OK     90009225433
67612A9215416B   DONALD       JOHNSTON JR                  OR     47048740921
6761361625B241   TERESA       OAKLEAF                      KY     68006866162
67614145A5B241   LAQUITA      MILES                        KY     68038091450
67614968A72B36   SHERRI       LORENZO                      CO     33088009680
6761516944B588   TAMMY        PURDY- O NEAL                OK     90008381694
6761554997B46B   CHRISTIAN    MENDEZ LOPEZ                 NC     90014865499
676159A5571921   QUIRINO      SANTIAGO                     CO     90008069055
6761638924B268   JENNIFER     DANEHEY                      NE     90004093892
6761712455B235   CRYSTAL      YATES                        KY     90013611245
6761768668B191   BERT         LEFEVRE                      UT     90001366866
6761814767B46B   ANGELA       DE PAULA-VALERA              NC     11088261476
676181A8572B27   LEO          MARSHALL                     CO     90013491085
67618546A5B235   PAYGO        IVR ACTIVATION               KY     90010165460
6761998417B46B   BRIDGETTE    BELL                         NC     90013929841
6761B145897B64   GABRIELA     SMITH                        CO     90003211458
6761B437891562   LYDIA        DURAN                        TX     75027624378
6761B91234B27B   YVONNE       HARRINGTON                   NE     90008839123
6761B929261936   CONCEPCION   CISNEROS                     CA     90007739292
67621378A5416B   DAVID        WEBER                        OR     47017993780
6762168585B241   MIMI         WELLS                        KY     68095136858
67622118A5B241   RANANA       FIELDS                       KY     68024631180
67622372872B29   BRADLEY      WATERS                       CO     90012303728
6762239165B344   CANDY        BUTLER                       OR     90003053916
6762241814B588   TOM          BAILEY                       OK     21556274181
67622515172B43   MICHELLE     WEST                         CO     33010125151
6762265A184392   GMR          SERVICES                     SC     90009896501
676232A144B588   SHARON       BROADOUS                     OK     90013142014
676233A3772B27   JUAN         BRIONEZ                      CO     90013043037
6762394915B235   TIMOTHY      ELAN                         KY     90013929491
67624229372B36   RAY          BACA                         CO     33095492293
676246A4881675   SANIYYAH     DANIELS                      MO     90013506048
6762536AA91522   GUADALUPE    RODRIGUEZ                    TX     75024943600
67625926972B43   EDWIN        GUEVARA                      CO     90013229269
6762626434B588   REBBIE       SIMMS                        OK     90014742643
67626366872B21   RAYMUNDO     CRUZ                         CO     90002073668
676267A9A72B29   MARITZA      OBANDO                       CO     90011847090
676276A1155977   MARYJANE     CANALES                      CA     49020046011
67627A5224B268   PATRICK      HAWKINS                      NE     90014630522
67628299A72B27   NANCY        LEE                          CO     33044442990
67628935A55973   IVAN         PALOMERA                     CA     90007179350
676294A414B588   SHELLY       ALLISON                      OK     21583224041
676295A1691265   ROBIN        SOHEMEL                      GA     90012845016
67629A27872B36   DIANA        MIRANDA                      CO     33002470278
6762B422181644   SHARON       THOMPSON                     MO     90004804221
6762B474161964   JULIAN       AGUILAR                      CA     90013764741
6762B79A372B43   DANIEL       BALND                        CO     90014107903
6762B8A437B46B   DIGNA        CENTENO                      NC     90006058043
6763129687B46B   MALIK        SHABAZZ                      NC     11017262968
67631431A91562   EDITH        SAENZ                        TX     75087614310
67633229972B27   BOB          HAMMOC                       CO     90001212299
676333AA35B344   TAMMY        CONAWAY                      OR     90005313003
6763343878166B   RHONDA       KING                         MO     90011664387
676335A1691265   ROBIN        SOHEMEL                      GA     90012845016
676336AA85B235   ASHLEY       WILSON                       KY     90013946008
676342A3A55977   SHIRLEY      BEDWELL                      CA     90012912030
6763464937B46B   ANDRE        CHAPPELLE                    NC     90014526493
6763465457B46B   MAKAYLA      CORPENING                    NC     90004956545
6763554A75416B   DENISE       BUNNELL                      OR     90014445407
6763555734B588   DEVIN        NICHOLS                      OK     90014735573
67635943872B27   YESICA       MATA                         CO     33002499438
67636227A8166B   JENNIFER     MACKEY                       MO     90008112270
6763626A44B588   MICHAEL      GUINN                        OK     90013142604
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 538 of 2350


67636AA3A7193B   ROBERT       MARQUEZ                      CO     90011560030
6763753724B27B   THOMAS       CARLSON                      NE     90012425372
676377A3A7B46B   BRENDA       MAZARIEGOS                   NC     90011547030
6763871234B27B   MANDI        WRIGHT                       NE     90008777123
67638714472B27   RAL          UK                           CO     90014117144
6763B661A7B46B   TANIA        HEATH                        NC     11026376610
6763BA11855977   PETER        MACIAS                       CA     90007180118
676416A3391965   ISMAEL       SANCHEZ                      NC     90012266033
67642123372B36   PATRICIA     VALDEZ                       CO     90007551233
6764221447193B   BONNIE       SMITH                        CO     90012562144
67642548172B23   JUANITA      PICAZO                       CO     90007285481
67642744A5B235   LISA         GHOLSTON                     KY     90011997440
6764322847193B   OLIVIA       JONES                        CO     90007112284
67643664972B29   CARLOS       FERNANDEZ                    CO     33069616649
676437A2972B43   ALICIA       LUCERO                       CO     33031967029
67643A86272B36   MARIA        LIM                          CO     90014520862
67644942172B27   LAURA        OCON                         CO     33055439421
6764544457193B   EDWIN        CCORDOVA                     CO     32043214445
67645611A71964   STEVEN       SHIPLEY                      CO     90009786110
6764635A933692   LATESHIA     WHITE                        NC     12048263509
67646777272B27   GREG         VIGIL                        CO     33068047772
6764733375416B   STACI        WILDE                        OR     90012063337
6764771A95B241   LAVONNE      BROWN                        KY     90014727109
67648623A61964   CONNIE       VALDEZ                       CA     90011326230
676486A3355973   CHRIS        FELIX                        CA     90010476033
6764898785B235   ANGELA       SLEETS                       KY     90002899878
6764975395416B   JEFFREY      SAMPLES                      OR     90013077539
67649A44972B27   DANIEL       CRUZ                         CO     90014830449
67649A61455973   JENNALEE     ROGERS                       CA     90008800614
67649A82672B43   JUSTINA      LEE                          CO     33044740826
6764B146591562   CLAUDIA      PONCE                        TX     90013641465
6764B169997B64   TONY         GONZALES                     CO     39081921699
6764B388855977   MARIO        GARCIA                       CA     49053943888
6764B476272B36   OMAR         RAMIREZ                      CO     90003334762
6764B54A57B358   JOSE         RENOJO                       VA     90012305405
6764B86A25B235   NAYELI       MENDOZA                      KY     90014848602
6764B925691998   KEVIN        GRISSOM                      NC     90012919256
6764B93635416B   ERIK         SPEARS                       OR     90012859363
67651755A91998   NEASIA       MC CARGO                     NC     90009147550
67651A69781644   PATRICIA     ZAMORA                       MO     90015310697
676523A3891998   RUSSELL      BRYANT                       NC     90011453038
6765362787193B   SAMANTHA     COLLINS                      CO     90014896278
67653826A3168B   MARTHA       RODRIGUEZ                    KS     90002408260
6765586994B27B   JAN          MILLER                       NE     27070568699
6765613695B241   BILLY        VITTITOW                     KY     68005361369
6765645164B27B   ANA          MAZO                         NE     90009584516
6765735A291562   CARMEN       SANCHEZ                      TX     90014993502
67657865872B36   AUSTIN       DALLA                        CO     33006078658
67657A33161964   JOHNELL      THOMPSON                     CA     46070000331
6765819374B268   SHANNON      ASHFORD                      NE     90000311937
67658216772B36   BRIAN        WITTROCK                     CO     90014272167
676583A7A91527   RAQUEL       GARCIA                       TX     90012643070
6765912697B46B   RACHEL       PEREZ                        NC     90013611269
6765964A555977   ALISHA       GARRISON                     CA     49098916405
6765B35894B588   DIANA        STAGE                        OK     90013423589
6765B389171921   JERMERY      PARRISH                      CO     90009923891
6765BA7447193B   ANGELA       JENT                         CO     32070000744
67661229A81644   CUNESHA      WILLIAMS                     MO     90011852290
67661565972B36   TODD         PETTIGREW                    CO     90011085659
6766264624B588   ANGEL        RAMIREZ                      OK     90013966462
67662A42991562   ROXANNE      BANUELOS                     TX     75044410429
67662A98571921   TOM          PAULUS                       CO     32001530985
6766331483168B   ZACH         COLLINS                      KS     22035133148
6766354518166B   BRENDA       JENKINS                      MO     90002985451
67664273A7B46B   DREIDRE      RICE                         NC     90012852730
6766441337B46B   ANTONIO      SIMBRON SANTES               NC     90014814133
6766457AA85689   JUDIT        HERNANDEZ                    NJ     90013865700
67664668172B27   JOEL         SHELTON                      CO     33017836681
676647AA172B36   ERNEST       MARCIL                       CO     33060187001
6766518495B241   TODD         HAVERLY                      KY     90004891849
676652A2A81644   KELVIN       BELL                         MO     90013952020
6766569634B268   CRYSTAL      WIECZOREK                    NE     27047516963
67665A6883168B   RICHARD      MARTINEZ                     KS     22038330688
6766661513B359   LENORA       SENKOZLIEFF                  CO     90010456151
6766855894B588   ABIGELLE     STEVENSON                    OK     90009195589
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 539 of 2350


67668A74872B43   AMANDA            SORRENTINO              CO     90008210748
67668A7957193B   MICHAEL           CAZAREZ                 CO     90012390795
6766982257193B   ALVARO            JERONIMO                CO     90014718225
6766B24875416B   STANLEY           HIXSON                  OR     90003092487
6766B539772B29   NICKI             RAYMONDE                CO     90013315397
6766B8A9A91562   ANGELICA          VILLALOBOS              TX     90011108090
6766BA62991522   BERENICE          MARTINEZ                TX     75034480629
6766BA7745B235   BETTY             VANWANING               KY     68063040774
6767135A972B36   LOURDES           MURILLO                 CO     90015023509
6767148414B27B   DENISE            WIELER                  IA     27000734841
67671594297B64   ROSALINDA         CARDENAS                CO     90013325942
6767167575B241   REIBER            MORA                    KY     68046606757
67671A49791998   SUSANO            REYES                   NC     90000550497
6767239545B344   DON               MALKEMUS                OR     44596883954
6767435864B27B   MARIBEL           MALDONADO               NE     90014453586
6767474255416B   MIKE              MORNEAU                 OR     47086017425
6767531125B386   YINTIAN           ZHOU                    OR     44553023112
676753A4A61964   ALBERTO           DAMIAN                  CA     90014653040
6767565A484392   ORALIA            RIVERA                  SC     90015346504
67675A76691562   ISABEL            PEREZ                   TX     75000040766
6767662917B394   LUIS              CRUZ                    VA     81087476291
6767692775B241   TOMMY             SCHROERLUCKE            KY     90010809277
6767694A371921   CHRISTOPHER       BRODIE                  CO     90013749403
67676A28191998   PEDRO             GOMEZ                   NC     90011240281
67676A52372B66   CENA LAURA        SPENCER                 CO     90011130523
6767725437B46B   JOSEPHINE         BAILLEY                 NC     90013712543
6767735125B921   HUNTER            HUSK                    WA     90001623512
676787A3972B36   FRANCINE          HOGAN                   CO     90013017039
6767923358B133   ROBERT            RAPPLEYE                UT     90002482335
67679A72981644   KAYLA             LISTER                  MO     90015040729
6767B1A3391998   YUMILKA           PAYAMS                  NC     90011241033
6767B49397193B   EDITH             ESQUIVEL-LUNA           CO     90000764939
6767B49A75B235   PATRICIA          ILES                    KY     90013884907
6767B773472B43   BRIAN             MCGINNIS                CO     33093367734
6767B945638691   ANTWAUN           LAMB                    FL     90015519456
6767B97A971921   ADAM              PASCHALL                CO     90015529709
67681524672B36   GONZALES          LETICIA                 CO     90002265246
6768256115B235   BRYAN             DONAHUE                 KY     90013085611
6768435617B46B   ANGELA            MCHAM                   NC     90011493561
6768468A761936   SHARON            ROBBINSON               CA     90010056807
67685787A91562   SAMUEL            VILLANUEVA              TX     90014317870
6768587454B27B   TIDJANI           SIJOVUD                 NE     90014738745
6768649928166B   NORA              HERNANDEZ               KS     29051064992
6768672584B588   ELIJAH            WILLIAMS                OK     90006527258
67686A32951354   GARTH             ROTHSCHILD              OH     90013300329
67687A33381644   JAMES             GRABLE                  MO     90010460333
676883A338166B   TEENA             ROBINSON                MO     90008973033
6768851335416B   MARIA GUADALUPE   CARDONA ALVARADO        OR     90003955133
6768897A691562   UNIQUIA           GRISER                  TX     90006559706
6768949324B588   SYRITA            JAGGERS                 OK     90014574932
6768B347655977   ANTONIO           SANCHEZ                 CA     90002853476
6768B839672B36   SHAWN             MARTENSWARNER           CO     33095548396
6768B928372B43   SETHENIE          SEIDEN                  CO     90013789283
6769184654B562   LATOYYA           PENNON                  OK     90010798465
67692216A72B43   ROSA              LOPEZ                   CO     90013832160
6769339785B235   JEANNIE           LAUREANO                KY     90011903978
67694537872B29   VERONICA          OROZCO                  CO     90007085378
6769453885B344   MY                MY                      OR     90007995388
676949A8A91522   YVETTE            CASTRO                  TX     90011799080
67694A18791562   PAULA             ROJAS                   TX     90011070187
67694A37781644   CHRIS             CREACY                  MO     90014500377
67694A52A91562   SAMANTHA          ESTRADA                 TX     90014550520
67694AA1281675   TERRANCE          ESKRIDGE                MO     90015010012
67695376272B36   ANDREW            DURAN                   CO     33095843762
6769541287B46B   JORGE             CUENCA                  NC     90014114128
6769576224B588   RUSSEL            CHANDLER                OK     90005997622
6769714248166B   KIM               SIDDENS                 MO     90012461424
67697665797B36   GONZALO           ARREDONDO               CO     90015366657
6769775185B53B   FORTINO           ORTEGA                  NM     90010127518
67697818972B27   SHANNA            STIEF                   CO     33028518189
67698A1237B46B   BARBARA           PETERSON                NC     11001670123
6769921164B27B   WENDY             BESSE                   NE     90015202116
6769921A85B235   KATHERINE         REICHARDT               KY     90013422108
67699297A5B235   STIVEN            JAMES                   KY     90011042970
67699515A61936   LIONEL            MAHONEY                 CA     90012095150
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 540 of 2350


67699866872B29   ROSSA         HOFFMAN                     CO     90015218668
6769B29337193B   ADRIAN        BROWN                       CO     90011222933
6769B55564B27B   JOSE          GARCIA                      NE     90001115556
6769B68785B344   IAN           MC CORMACK                  OR     44596896878
6769B71745B241   KATHERINE     PALMER                      KY     90014727174
6769B747471921   LINDA         GLAB                        CO     32010097474
6769B781A81644   MARY          BENSON                      MO     29014857810
6769B925772B43   YESENIA       ARDON SEGURA                CO     33070179257
6769B958A7193B   BRENDA        GALLEY                      CO     90010959580
676B1648A71921   MACARTHUR     JOSEPH                      CO     32016906480
676B2313481675   JOHN          DAVISSON                    MO     29087073134
676B294615B235   STEVEN        PENNINGTON                  KY     90011209461
676B3545172B29   THOMAS        HENRITZA                    CO     90015165451
676B35A1A72B87   SIDRONIO      BARRERA                     CO     33079565010
676B4274381675   STACEY        BROWN                       MO     29017572743
676B445534B27B   SHONDA        JOHNSON                     NE     27080504553
676B4619A61936   MARTHA        ROMERO                      CA     90014826190
676B484985416B   CASSIE        BARAJAS                     OR     90012488498
676B4861191522   MICHELLE      NIETO                       TX     75013118611
676B4A4A381644   DAVID         YEWELL                      MO     29016810403
676B521444B588   ANGEL         MILLS                       OK     90014332144
676B5393891522   YOLANDA       ZAMBRANO                    TX     90014863938
676B5474A4B53B   MELISSA       GOODSON                     OK     90015104740
676B6979671964   SHANNON       MARTINEZ                    CO     90011099796
676B7277555973   SARA          TORRES                      CA     90013942775
676B745A491522   VERONICA      GALLEGOS                    TX     75092804504
676B7492A7B358   JOSE          BARAHONA                    VA     90009714920
676B9364491522   JEANETTE      GALVAN                      TX     75017583644
676B9446761936   CHRISTOPHER   MILLIGAN                    CA     90010124467
676B9484A91352   VICTOR        RIVERA                      KS     90006284840
676B948A172B27   JERALD        JOHNSON                     CO     90015364801
676B974A472B36   REJINA        BENEDITA FARRAR             CO     33067807404
676B9885671921   PAUL          GARCIA                      CO     32087828856
676BB459281675   CAROWELL      SHELTON                     MO     90014394592
677117A8255973   VICTOR        JIMENEZ                     CA     90013437082
6771229255B241   BEVERLY       THOMAS                      KY     68036412925
677129A4A91522   ZURI          VILLARREAL                  TX     90014719040
67713215A3168B   DEZARAE       BALLINGER                   KS     22087552150
67713437472B27   DAVID         BEAL                        CO     33063664374
6771382544B27B   BRANDI        TURNER                      NE     90008098254
6771424A87193B   MIA           SANDOVAL                    CO     32066362408
67714485A72B36   WENDY         KANOHO TORRES               CO     90013864850
67714A26772B36   CHARLES       POLLOCK                     CO     90014740267
67714A55771921   LISA          CARSON                      CO     32014790557
67715112872B43   JUANCARLOS    DIMAS                       CO     90013311128
6771511845B241   ERICA         DOTSON                      KY     68002681184
6771541814B581   TOM           BAILEY                      OK     21556274181
6771656A25B344   TIA           SANDAGE                     OR     90003325602
6771664A471964   NIEL          REID                        CO     90002846404
6771714A271921   DAVID         JONES                       CO     90010421402
6771769837193B   KAREN         WESTPHAL                    CO     32038346983
67718373A91562   DANNY         BARRON                      TX     75005393730
6771855487193B   MONIQUE       LOVELY                      CO     90004065548
6771989165416B   RHONDA        BARTLETT                    OR     90011108916
67719A14381675   GUSTAVO       GUTIERREZ                   MO     90013600143
6771B113551354   VICTOR        ALMARAZ                     OH     90004441135
6771B418872B27   TIA           JOHNSON                     CO     33024604188
6771BA6327193B   DAREN         SCOTT                       CO     90014590632
6772155AA71921   SONJA         ANDERSON                    CO     32089565500
67721583972B36   MARIA         VILLANUEVA                  CO     33009205839
6772179837193B   JOSHUA        KINDLER                     CO     90006677983
6772189294B268   DAVID         STILL                       IA     27097998929
6772293635416B   ERIK          SPEARS                      OR     90012859363
67723326972B27   JULIANA       MARTINEZ                    CO     90009383269
6772395494B268   MARY          COLLINS                     IA     27015569549
6772399154B27B   JESSICA       ASHCRAFT                    NE     90010479915
67724171A5B235   MICHAEL       SUMPTER                     KY     90013311710
67724717A72B29   CARLOS        PEREZ                       CO     33072157170
6772497117193B   ALEXA         ACEVES                      CO     32071249711
6772587A391894   LATOSHA       OSBORNE                     OK     90004648703
67728466A7193B   CLAUDIA       PEREA                       CO     90014474660
677285A8755977   MONICA        ZAMORA                      CA     90012935087
6772861194B532   DEBRA         MCELROY                     OK     90012586119
6772868647193B   LENZIE        JETER                       CO     90012526864
6772872757B46B   TAMMY         REYNOLDS                    NC     11074547275
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 541 of 2350


6772889848166B   LATONYA       WIGGINS                     MO     90013218984
6772945398166B   JESSE         CAMPBELL                    MO     90010024539
677297A594B588   KELLI         WATSON                      OK     90007207059
6772B723A72B43   MANDI         SKINNER                     CO     33091677230
6772B79565416B   BONNIE JEAN   MALECHA                     OR     90010227956
6772B991972B36   GREGORY       MARTINEZ                    CO     33066499919
6773128535B241   PAUL          WITT                        KY     90005412853
677317A8651354   ZURAB         JANGVELADZE                 OH     90009467086
67734363672B36   JOEL          VASQUEZ                     CO     33083083636
67735131772B36   BRENDA        CASTRO                      CO     90008571317
67735146372B43   CANDESSA      STAFF                       CO     90010971463
67735295A91998   BENIAM        TEKLE                       NC     90014042950
67735519A55973   JORGE         HERNANDEZ                   CA     90011225190
677357A5457595   MERCEDES      CARRISCO                    NM     90013847054
67735A7145B235   TATASHA       DAVIS                       KY     90010540714
6773655A255973   ALICIA        RODRIGUEZ                   CA     90013185502
6773663685416B   ROBIN         DAVIDSON                    OR     90013946368
67736911872B29   MONIQUE       MARES                       CO     33080029118
67737A65872B27   SOCORRO       DETREJO                     CO     33074380658
67738315972B29   DESIREE       ORNELAS                     CO     90011413159
6773957414B27B   GARY          ABRAHAM                     NE     27071035741
677399A937B46B   BLANCA        BARRIOS                     NC     90012239093
6773B234A4B588   MICHAEL       HAMILTON                    OK     90008882340
6773B285A72B36   ASHTON        MOORE                       CO     90014692850
6773B41728166B   ERIC          HANSEN                      MO     90014524172
6773B851781675   JUAN          JUAREZ                      MO     90014828517
6773B884484392   TAKIELA       LAFAYETTE                   SC     90014908844
6773B963585939   ANNETTA       COMPTON                     KY     90011339635
6773B997555973   CHARLES       VALLEJO                     CA     48074549975
6774147525B235   RHONDA        BALLARD                     KY     68010784752
6774219778166B   MERRISSA      CHAPMAN                     MO     29017151977
6774234A65416B   ANTHONY       SEAVEY                      OR     90001993406
67742472A6155B   TRAVELL       MORRIS                      TN     90013974720
6774331939199B   ANGELA        COLEMAN                     NC     90008253193
6774335855B235   ROBIN         BLASCO                      KY     90014573585
6774337A94B588   DANIELLE      HARRIS                      OK     90011513709
677434A5351354   EDWARD        WRIGHT                      OH     90010464053
677434A695B241   HEATHER       WILCOX                      KY     90005234069
67743A93455973   SONIA         HERNANDEZ                   CA     90005310934
6774444425416B   ELOISE        NELSON                      OR     90013404442
6774453435B241   GILL          GRAVEL                      KY     90008925343
677452A254B54B   THELMA        TRUJILLO                    OK     90011842025
67745A42191522   MARCELO       MORALES                     TX     90011800421
6774675327193B   SHIRLEY       MOSELEY                     CO     32013817532
6774715818166B   ELEECE        MOORE                       MO     90014601581
6774774525B235   CHRISTINE     VINCENT                     KY     90013777452
677487A8472B29   ROBIN         MORTENSEN                   CO     90010897084
6774945A471921   JOHN          LEONE                       CO     90014004504
6774954944B588   BETTY         BYRD                        OK     90013545494
67749A14371964   CHRISTOPHER   HAYES                       CO     90011460143
6774B7A4561964   TIMOTHY       BAUDIS                      CA     90007567045
6775219285B235   YANELIS       GONSALEZ                    KY     90009661928
67752277A7193B   ETHEN         SUCHARSKI                   CO     90008672770
67753181A5B344   BECKY         KELLY                       OR     44593971810
6775318227193B   MARIA         PADILLA                     CO     90013071822
6775351A64B268   RACHEL        KING                        NE     90008505106
67753546272B36   STEPHEN       DEARBORN                    CO     33008905462
67754183197B84   JONAH         GUMPENBERGER                CO     90015141831
6775516824B27B   SCOTT         HANSEN                      NE     90003111682
67755471772B29   ALONSO        BUSTILLOS                   CO     33074804717
67756AA965B241   KIMBERLY      DUNCAN                      KY     68029710096
67757283872B29   MILO          LANDERS                     CO     90014852838
6775784237B46B   NANCY         VIVAS                       NC     90013988423
677579A5793753   JESSICA       LONG                        OH     90011209057
677583A9591B28   TRAVON        LEGGETTE                    NC     90014863095
6775851955B235   MARY          ANDERSON                    KY     90014045195
67758734172B29   ELIZABETH     GRISCHKOWSKY                CO     33053547341
6775952853168B   ANNA          NEWPORT                     KS     22028935285
6775964645416B   NICOLE        KEILY                       OR     47045836464
67759882A5B235   RAY           FIFE                        KY     90009998820
6775B27794126B   RONALD        JANKOWSKI                   PA     51012822779
6775B33674B27B   ELVIRA        HOWARD                      NE     27057263367
6775B5A255B235   JESSICA       LUSK                        KY     68011745025
6775B918791562   MARGARITA     KILGORE                     TX     75098869187
6775B941751354   CAROLYN       JONES                       OH     90005679417
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 542 of 2350


6776189A584392   JEFFREY        BERNS                      SC     90013928905
6776217384B588   MALLORY        LINDSEY                    OK     90011061738
6776352948166B   DEROBINIQUE    BYRD                       MO     90014635294
67765341772B36   CORRINE        MAESTAS                    CO     90006373417
6776539878166B   CHIMEKA        KINDRED                    MO     90014403987
6776593957193B   ELIZABETH      LOPEZ                      CO     90008809395
67766839672B36   SHAWN          MARTENSWARNER              CO     33095548396
6776787217B46B   NAPORCHE       ASBURY                     NC     90013068721
67767A1617193B   JEYSIL         ROMAN                      CO     32052590161
6776864277193B   RAMON          VALDEZ                     CO     32018116427
6776931A95B235   YULI           SIN                        KY     90006503109
6776949AA7B46B   JUAN           LEMUS                      NC     11076494900
677695A6681644   VONACIA        JOHNSON                    MO     90014895066
67769852A8166B   SYLVESTRE      DETCHOU                    MO     90009978520
6776B22997193B   SHANE          THURSTON                   CO     90011912299
6776B833A91522   ROBERT         DEDLUK                     TX     75057868330
6776B939171921   LIZBETH NAVA   ADAME                      CO     90003809391
6777121874B27B   MYNOR          ESTRADA                    NE     90013922187
6777163A155973   MELINDA        HARLOS                     CA     48024656301
6777244A49184B   CHRISTOPHER    RHODES                     OK     90012824404
6777256925416B   KENYA          MORENO                     OR     47082405692
6777263794B27B   CARLOS         GALLEGOS                   NE     90005816379
6777325985B594   VICTOR         VEGA CASTILLO              NM     90011512598
67773964A91522   JOANA          CASTANEDA                  NM     90014719640
6777591A671921   JEREL          DONYA                      CO     32009059106
67775964A91522   JOANA          CASTANEDA                  NM     90014719640
67775A41485689   SABRINA        SOLOMON                    NJ     85017980414
6777612377B761   MATHEW         JONS                       CA     90013921237
67776313272B36   RON            COX                        CO     33090323132
6777737224B588   CLAUDIA        HERNANDEZ                  OK     90009503722
6777795527B46B   ELAINE         WHEELER                    NC     90014899552
677779A1772B29   ALONSO         NEVAREZ                    CO     33060729017
677783A3561936   ROSA           MAGANA                     CA     90013463035
6777882664126B   LADONNA        HESTER                     PA     51060658266
6777932455B241   ANITA          SCARLOTT                   KY     90015113245
6777973527193B   JAVAN          GADLIN                     CO     90010197352
67779AA334B23B   ANGELENA       STIBBS                     NE     90007680033
67781491A7193B   TIFFANY        GRANILLO                   CO     90007094910
6778335414B588   SERGIO         CRUCES-IBARRA              OK     90013713541
6778357575416B   MONIQUE        GRILLO                     OR     90013495757
6778387135B235   PARRISH        HAYDEN                     KY     68056028713
67783898972B27   BILLY          PURYEAR                    CO     90006938989
6778429927B422   WALTER         AGUILERA                   NC     90001032992
6778431374B588   LUIS           ZUNIGA                     OK     21544243137
6778435A455973   MARIA          GARCIA                     CA     48008833504
6778495A74B27B   BRIANA         TAYLOR                     NE     90011649507
67784A44871921   PAUL           OVERSTREET                 CO     32089330448
67785125A84392   SANDRA         DOMENICK                   SC     19040641250
6778522A25B241   KENNETH        JONES                      KY     90012242202
6778525634B268   JOEL           SCHWARCK                   NE     27088512563
6778543827193B   DEVON          ROPER                      CO     90008364382
67786A6A35B235   WILLIAM        CAREY                      KY     90012410603
67787362972B29   LUIS           DORANTES                   CO     33044153629
67787481A7193B   TERESA         SANCHEZ                    CO     90008364810
67787562572B36   NANCY          CORDOVA                    CO     90013785625
6778769832B227   BRANDON        ANDERSON                   DC     81001556983
67788886872B27   MARIA          AQUINO                     CO     33052478868
6778946114B221   KEITH          MOMBERGER 2ND              NE     90001014611
67789A1497193B   JENNIFER       ALISON QUEEN               CO     90010960149
6778B368591522   CASSIE         PENN                       TX     90005703685
6778B9A2141232   BERNARD        DAVIS JR                   PA     90014149021
677922A754B27B   MARTANZA       BROWN                      NE     90014852075
6779243497193B   ALEX           SERMENO                    CO     90012854349
67792789972B62   JORDAN         SWEDBERG                   CO     90009797899
67793246272B36   JUAN           MARTINEZ                   CO     90006092462
67793649272B43   CHRISTIAN      RAWK                       CO     90007646492
67793A6927193B   ERIC           MEEK                       CO     32063690692
6779413727193B   TERESA         MCLAUGHLIN                 CO     90002561372
67794158472B43   JEANETTE       VARGAS                     CO     90011161584
67794771A71921   MICHELLE       MEID                       CO     90012917710
6779511A991522   LUIS GERARDO   ROMERO                     TX     90011801109
6779652854B268   RONALD         FERDINAND                  NE     90013015285
6779662A472B43   TAMMY          PETRIE                     CO     90012826204
6779673A97B423   REGGIE         CALDWELL                   NC     11092117309
6779739697193B   AMY            CARSON                     CO     32094873969
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 543 of 2350


677976A1972B43   JOSEPH       ABEYTA                       CO     33075066019
6779841614B27B   SARAH        SCHULTE                      NE     27017984161
6779849AA91998   TIFFANY      LYONS                        NC     90010924900
67798666172B29   ROBERT       FURGERSON                    CO     33002246661
6779B234355977   SUSANNA      GARCIA                       CA     49085402343
6779B445251354   JAREL        TILLIS                       OH     90006334452
6779B676672B36   MELISSA      FASEL                        CO     90012776766
6779B69644B588   TAMMY        AUSTIN                       OK     90008306964
6779B855271921   JAIMIE       LINDSEY                      CO     90010078552
6779B9A1251354   JARRELL      TILLIS                       OH     90014729012
677B116A861945   SUSANNA      KAELIN                       CA     90007711608
677B178283168B   SHAWNA       MCCANLESS                    KS     22087557828
677B249A48166B   TAMARA       THOMAS                       MO     29042824904
677B2572155977   RAUL         HERNANDEZ                    CA     49008215721
677B292948B331   CLARISSA     SMITH                        SC     90013569294
677B297654B27B   KYLE         ODAY                         NE     27074189765
677B3537951354   JOSE         TREJO QUINTANA               OH     90004925379
677B3751771921   DAVID        MIRANDA                      CO     32098507517
677B378717193B   KENNETH      SCOTT                        CO     90012777871
677B3A9518166B   CRISTINA     VALADEZ                      MO     90014690951
677B4382955977   STEPHANIE    SANDERS                      CA     90014333829
677B43A935B241   JASMINE      PETERS                       KY     90014713093
677B4786191562   GABRIELA     MORENO                       NM     90012207861
677B542455416B   WARREN       MABES                        OR     90013294245
677B574384B588   FIONA        SHELTON                      OK     90008747438
677B593267B46B   JOSE         ESCOBAR                      NC     11005049326
677B6119561936   LAURA        OLIVARES                     CA     46021081195
677B6479771921   CLAUDIA      MONTELONGO VAZQUEZ           CO     90013664797
677B6537A5B241   JOSEPH       ONEAL                        KY     90015305370
677B6594991998   DARLENA      HOOD-WRIGHT                  NC     17046225949
677B6654372B29   ANTHONY      CADWELL                      CO     90013426543
677B697A191562   ROB          FOREST                       TX     90010329701
677B7319181675   TERRY        BUTLER                       MO     90013703191
677B7429561936   ELIAS        ORTIZ                        CA     90012724295
677B7818A4B588   RAYMOND      HAYNES                       OK     90005998180
677B784344B27B   VICTOR       BLOUCH                       NE     90012618434
677B8432572B43   LESLY        RODRIGUEZ                    CO     90013934325
677B892532B886   LISA         MICK                         ID     42014819253
677B9154171921   SHANNON      MANN                         CO     90010051541
677B9433172B43   CALVIN       VINCENT                      CO     33057604331
677B9514A72B27   JENNIFER     PELLEGRINI                   CO     90003115140
677B9A32991522   MIRSSA       ALVAREZ                      TX     90014710329
677BB456572B36   GLORIA       GAMBOA                       CO     90007444565
677BB676471921   JEANETTE     NORMAN                       CO     32007866764
677BB978972B43   JOSE         CARDOZA                      CO     33055689789
6781152234B27B   PATRICK      BOYLE                        NE     27058485223
67811954397B64   DORIS        HERNANDEZ                    CO     90006929543
67811A5AA91562   ARTURO       TINOCO                       TX     90010860500
678127A863B395   FRANKY       SMITH                        CO     33012197086
6781286665B241   RUSS         CALDWELL                     KY     90013928666
67812886597B64   HEATHER      QUINONEZ                     CO     90005928865
6781342AA61964   FRANCISCO    GASTELUM                     CA     90011594200
67813771372B36   JOVITA       TOVAR-AGUILAR                CO     90014537713
6781447967193B   KEVIN        PATTERSON                    CO     90007154796
678145A425B235   NICOLE       MCQUALY                      KY     90007065042
678155A9261936   SAUDY        ESTRADA                      CA     90005135092
6781598A73B324   KAYCEE       GRANT                        CO     90012319807
67815A3A981644   KEVIN        MCKENDRICK                   MO     90012060309
67816467772B27   MARIA        ORTEGA                       CO     90010994677
67816497A5B235   ASHLEY       SHECKLES                     KY     90013884970
67816669A72B36   KRISTEL      VASKE                        CO     33094836690
67817A3614B588   K SMITH      K SMITH                      OK     90014550361
6781852539134B   LONG         NGUYEN                       MO     29062765253
678186A427193B   JORGE        LEMUS                        CO     90004196042
67818A3985B235   NANCY        ESTES                        KY     90000600398
6781B41664B268   MICHAEL      CLARK                        NE     27036954166
6782116A191998   GARVIN       WILLIAMS                     NC     90011461601
6782189434B588   ROSA         HERNANDEZ                    OK     90015168943
67821A69651354   LUIS         MARES                        OH     90009690696
67823242872B43   EVANGELINA   VALENZUELA                   CO     90015202428
6782431A655977   MARY         VERMILLION                   CA     90012303106
67824448A5B241   MICHELLE     FOSTER                       KY     90006044480
67824572A5B235   MELVIN       CHILDRESS                    KY     68019515720
67824833A4B268   JENNIFER     TORGERSON                    IA     27047118330
6782484972B53B   PATRICK      KASSIDEY                     AL     90014548497
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 544 of 2350


67824A2354B27B   CORINA          VAUGHN                    NE     27022050235
67825A2934B27B   TOTIYONNA       LEWIS                     NE     90011400293
6782614915416B   TONY            NASH                      OR     47063751491
6782726115B921   JEREMIAH        GOADE                     ID     41011002611
6782777A17B46B   ADRIANA         CREADOR                   NC     90011547701
67827973372B36   DARLENE         HOLT                      CO     33059709733
67828273272B43   GERMAN          CASTRO                    CO     90013072732
6782838377B46B   JESSICA         SANZERS                   NC     90012193837
67828863972B36   TYHANNIE        GONZALES                  CO     90006998639
67828AA884B588   TAYLOR          MELTON                    OK     90009000088
6782958A384392   TODD            CHAS                      SC     19017165803
67829799A72B27   JOSE            GODDWIN                   CO     90013237990
6782B33887B761   TRACINE         DORNER                    CA     90015373388
6782B7A748166B   MARIO           SANTOS                    MO     90013767074
6782B846272B43   SUZANNE         DIESING                   CO     90012998462
6782B864881644   DARENDA         HARRIS                    MO     90005378648
6782BAA8891522   NORA            RODRIGUEZ                 TX     90014720088
6783129735416B   ADELA           GUILLEN                   OR     47083312973
67832438A91522   CECILIA         MEDRANO                   TX     75020384380
67833A85671921   CANDICE         MURPHY                    CO     90008600856
67833A8AA61936   LORI            WILLIAMS                  CA     90013460800
6783444442B269   RAQUEL          STEWART                   DC     90000974444
6783453A65B235   DEONTE          GARNER                    KY     90006755306
67834A3757B761   ROBERTA         YAMAK                     CA     90015240375
6783547655B241   EBONY           DENNIS                    KY     90015194765
67835A75A91522   DAVID RESHARD   GOUGIS                    TX     90012290750
6783657A271921   ANGEL           YARASCA                   CO     32010345702
6783752A772B27   JAMES           MARTINEZ                  CO     90013225207
67837781497B64   MAURO           FERNANDEZ-RAMIREZ         CO     90005947814
6783877468166B   NILIA           RAMOS                     MO     90007117746
678387A1A91522   MANUEL          MEDINA                    TX     75072587010
6783977AA33698   ALPHONSO        GREEN                     NC     90007567700
6783B418355977   REYNA           BRISENO                   CA     90014824183
6783B487572B36   SABINA          ANDRETURNER               CO     90004304875
6783B74364B952   MICHAEL         DEWEES                    TX     71098527436
6783B84AA91522   ANA             ENRIQUEZ                  TX     90000488400
67841541172B36   JESSICA         MADSEN                    CO     90014155411
67841614972B29   CHUCHANDRA      WILLIAMS                  CO     90014146149
6784324A781675   EMMANUEL        RAMIREZ                   MO     90004372407
6784332A381644   SHON            RUSSELL                   MO     90004673203
67843A13A91522   ELIZANDRO       VENTURA                   TX     90014720130
67843A8847193B   KEN             GODFREY                   CO     32033550884
67844133824B39   BRYAN           BARRETT                   DC     90013441338
67844283872B43   STEVE           EURIOSTE                  CO     90011182838
678443AA157595   AMY             LAM                       NM     90013953001
6784451725B241   ANIBAL          REYES                     KY     90002745172
67844872972B29   ANTONIO         HUIZAR                    CO     90013128729
67844A98872B29   MARIANNE        KASIC                     CO     90014440988
67845665772B36   JESUS           PATINO                    CO     33080776657
6784567867B46B   ISRAEL          LOPEZ                     NC     90013556786
67845A2A391522   ANGEL           CALDERON                  TX     90014720203
67845AA5591998   DESTINY         KING                      NC     90013150055
6784646A472B29   TREVOR          SCHERMERHORN              CO     90011954604
6784692A44B268   JOSE            JIMENEZ                   NE     27019029204
67847282A71921   TASHA           VILLARREAL                CO     90000492820
6784732A781644   MISHA           JORDAN                    MO     90014273207
6784794237193B   ADRAINA         DA SILVA                  CO     90008389423
6784817482B255   BRENDA          GRAHAM                    DC     90001511748
6784942934B588   JONATHAN        MARTINEZ                  OK     90013424293
6784B52155B241   BRIAN           WILLLIAMS                 KY     90004875215
6784B75A761964   ROBERT          YOKOZUNA'S                CA     46010737507
6785175787193B   DORA            DE LA CRUZ                CO     90009327578
6785177A161991   ISAAC           CONDE                     CA     46098037701
6785198585B131   PAMELA          CHRISTOPHER               AR     90008199858
67852211A55973   VANESSA         GARCIA                    CA     90012162110
6785335474B268   SVETLANA        METRIK                    NE     90002603547
67853694972B36   JEANNINE        WILLIAMS                  CO     33069576949
67853893472B27   OMAR            VELASQUEZ                 CO     90014908934
67853A98272B43   BRAYN           JIMENEZ                   CO     33020520982
6785421187193B   DAHLIA          COLEMAN                   CO     32030112118
6785468125B591   RICHARD         WROTEN                    NM     90009976812
678551A617B46B   JEREMI          NEAL                      NC     90013061061
6785758417B46B   NIKKI           SLEBO                     NC     11036935841
678575A4281644   PROMISO         DAVIS                     MO     90002985042
67857A5575B235   NATELLA         THOMAS                    KY     90011940557
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 545 of 2350


67858A35A72B36   OBERA              LANEL LITT III         CO     90013350350
6785928832B227   YINGJUN            SHU                    DC     90008262883
6785946134B588   DAMIER             PONCE                  OK     90013424613
67859616472B29   LYNN               DEBRA                  CO     90012966164
6785B196991998   TARA               SMITH                  NC     90011251969
6785B232281644   MICHAEL            MCKINZY                MO     90014702322
6785B595461964   PATRICIA           LOPEZ                  CA     90010815954
6785B724751354   LAURA              VONHOLLE               OH     90013807247
6785B77A161991   ISAAC              CONDE                  CA     46098037701
6785BA3248166B   JESSICA            DAVIS                  KS     90005290324
6785BAA8955973   LARRY              MAJIA                  CA     90013740089
6786115445B235   KEVIN              STROUD                 KY     68076461544
67862636372B26   TRACI              JARAMILLO              CO     90010526363
6786294457B46B   LOURDES VERONICA   SALAS ALFERES          NC     90013229445
67863424972B36   MARIO              LAMAS                  CO     33034684249
67863717A72B43   EMANUEL            SALAZAR                CO     90015177170
67863A59884392   ALEXIS             EDWARDS                SC     19040420598
6786441287B46B   JORGE              CUENCA                 NC     90014114128
6786591957193B   JOSH               CONWRIGHT              CO     90012919195
67865A14672B29   LINDA              QUINTANA               CO     33076940146
67865A9635B235   GABRIEL            GONZALEZ-CISNER        KY     90011580963
6786664A481644   YANIRA             ACETINO                MO     29087486404
67866953672B43   GARY               CONTRERAS              CO     33085789536
67867235972B29   RICHARD            HERNANDEZ              CO     90014612359
6786728172B941   CESAR              TOSQUI                 CA     90003512817
67867A43591562   ZAMIRA             CARBAJAL               TX     75016610435
67868A24872B27   ANGELICA           GONZALEZ               CO     33026460248
67869162472B43   KASASHA            MASON                  CO     90000951624
678698AA55B252   ANDREW             MATLOCK                KY     90008718005
6786B279781644   KALI               DAVIS                  MO     90013872797
6786B545771964   LOUISE             RAMOS                  CO     32015945457
6786B72877193B   NATACHA            MATOS                  CO     90002287287
6786B88444B588   JOSEPH             ROGERS                 OK     90014528844
678711A614B27B   DONALD             NEWLAND                NE     27055951061
67871AA6672B29   CIC                COREY                  CO     33038050066
6787241115416B   DEBRA              PERRYMAN               OR     47093424111
6787312315416B   JAMES              LYNCH                  OR     47044321231
6787374A333677   KENNETH            HALIK                  NC     90004567403
67873A91791562   STEPHANIE          ACOSTA                 NM     75030130917
6787419817B46B   JANISHA            HARRIS                 NC     90015131981
67875AA2A4B268   DARLENE            JESSEN                 NE     27043010020
6787639837B45B   ALVARO             LEMUS ORTIZ            NC     90001223983
678776A8A3168B   MARJORIE           MARQUEZ                KS     22077446080
678777A1391522   DIANA              RAMOS                  TX     90004877013
678778A3855973   SERGIO             SANCHEZ                CA     48088878038
6787827117B475   MARCELLA           GRAHAM                 NC     90010602711
6787848A361966   EDUARDO            RODRIGUEZ              CA     90012574803
6787922852B227   TAMIKA             REED                   DC     90012862285
678794A3355973   GAYLE              BABB                   CA     48044794033
67879635576B57   MICHELLE           NAVARRO                CA     46088516355
6787B25115B241   JEROMY             TAYLOR                 KY     90006202511
6787B65748166B   MARTIN             BELLO                  MO     90001406574
67881673472B36   JIMMY              MONTOYA                CO     90012936734
6788232564B588   REGINA             GRAY                   OK     90015163256
67882378672B43   ROMAN              MIRANDA                CO     33092473786
6788314564B27B   JUSTIN             LEONARD                NE     90014561456
6788317784B588   ASHLEY             SUNDE                  OK     90007721778
67883423A91562   LETICIA            SEGURA                 TX     90004844230
6788375368166B   JAMES              PARTON                 MO     90010777536
67884218A81675   MELISSA            HOPKINS                MO     90013342180
6788423A891522   JACKLYN            TOVAR                  TX     90011802308
6788439878166B   CHIMEKA            KINDRED                MO     90014403987
678846A3155977   CHARLIE            THOMPSON               CA     90012946031
6788529875416B   TINA               FERGUSON               OR     47004722987
67885549272B27   ERIK               LEE                    CO     90014155492
6788571124B588   LACY               LOVATO                 OK     90013077112
6788624A791522   FRANK              APARICIO               TX     90011802407
67886293172B43   AMY                RODRIQUEZ              CO     90011552931
6788744A591522   MARIA              HERNANDEZ              TX     90002944405
6788877777B46B   BONNIE             MCDANIEL               NC     90010287777
6788894A371964   STACY              MCCLINTIC              CO     90011139403
6788936868166B   WILLAM             MONGE ZAMORA           MO     29077233686
6788B29A572B43   YVETTE             HAYNES                 CO     90009662905
6788B2A914B268   TERRY              LESSLEY                NE     27056302091
6788B95894B27B   CARLOS             DELEON                 NE     90011149589
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 546 of 2350


6788BA79557135   DANIEL               AVALOS               VA     90013780795
67891558A85689   CHRIS                GAULDEN              NJ     90009545580
67891767872B27   MATHEW               JENKS                CO     90013897678
678917A3761936   MICHAEL              PECK                 CA     90012777037
6789227415B235   JAMES                COX                  KY     90013932741
678926A8661964   ANGEL                POUMIAN              CA     90014386086
67892792472B27   ANTHONY              MARQUEZ              CO     90014767924
67893482772B27   GERAD                JOHNSON              CO     90015364827
67893593172B29   ALVARADO             JOEL                 CO     33044355931
678948A347B46B   KEYONAH              GRIER                NC     90013388034
6789494255B241   CRISSTOPHER          WALKER               KY     90013449425
6789521544B588   RONNIE               SOLIS                OK     90006532154
6789663833369B   JAMES                MAHONEY              NC     90002066383
6789799A372B29   HILDA                PEREZ                CO     90014209903
67897A97381675   MATT                 CARY                 MO     90012060973
67897AA1255973   ALFREDO              CORONA               CA     90013530012
67898A45A7193B   JUDY                 PARKER               CO     90014160450
6789963A17193B   KELLI                POPE                 CO     90008776301
67899A2A472B36   JESSICA              GARDINER             CO     33044700204
6789B31954B588   RANDA                WISE                 OK     90007243195
6789B488671964   FOY                  SHEPPARD             CO     32034174886
6789B538A91562   KIMBERLY             MARQUEZ              TX     90014175380
6789B58164B27B   NICOLE               GREEN                NE     90014225816
6789B77A772B27   KIMBERLY             MADDUX               CO     90011747707
678B122A24B588   COREON               VIEWINS              OK     90011062202
678B145368166B   TERRI                CUSICK               MO     90006424536
678B1732471964   CORY                 BELL                 CO     90006477324
678B1A82391562   MARIO                OLIVAS               TX     75065550823
678B2682591562   ELSA                 LLOYD                TX     90013026825
678B295318166B   NICOLE               SHAW                 KS     90014609531
678B3267A72B36   WHITLEY              DELAROSA             CO     90014682670
678B332885416B   TIMOTHY              DURKIN               OR     47090733288
678B363A431423   CIERRA               MARTINEZ             MO     90015396304
678B389A784392   BRANDY               RICHARDSON           SC     19094638907
678B4591385689   FIDEL                CORTES               NJ     90003045913
678B4881872B43   BRITNEY              WIETECHA             CO     90004918818
678B4989151354   HAWA                 SALL                 OH     90011209891
678B4A3717B46B   JACOBO               GONZALEZ             NC     11062180371
678B55A4172B36   VIKTORYA             TOTH                 CO     90004055041
678B5738361964   ROBERTO              MAYTORENA            CA     90011947383
678B5978591998   BEATRIZ DEL CARMEN   TORRES               NC     90009599785
678B668327193B   SUMMER               HARRISON             CO     90014426832
678B668A79152B   HECTOR               GONZALEZ             TX     90014996807
678B686125416B   JENNIFER             SHARP                OR     90013548612
678B7283761981   MARIA                OCHOA                CA     90008442837
678B8421351351   ANGELA               DHONAU               OH     90014534213
678B8625961936   LINDA                TORRES               CA     90014946259
678B8A7775B241   DERRICK              DAUGHERTY            KY     68094830777
678B97A717193B   TERRANCE             GILMERE              CO     90012857071
678BB42795B241   JASON                BAUMANN              KY     68068314279
678BB484291562   VALENTE              LEONOS               TX     90011964842
678BB73A47193B   JOSE                 ZUGASTI              CO     90015097304
678BB963571921   HENRY                DEAS                 CO     90002119635
67911839A71964   RITA-DIANA           MARTINEZ             CO     32094288390
6791233A15416B   TAWNYA               MARTINEZ             OR     90002013301
6791241497193B   GREGORY              ROBERTS              CO     90009464149
67912758672B43   ENITA                GONZALEZ             CO     33012827586
67914842472B29   ALLEN                PRUITT               CO     90012078424
67914986A71921   ANTOSHIA             HALL-EPPS            CO     32082549860
67915111872B43   LYDIA                BALERIO              CO     33023931118
6791572236B396   PHILL                HUSSEY               NH     90011637223
67915A74A91562   JORGE                LOPEZ                TX     75086290740
6791613A991522   JOHN                 PEDREGON             TX     90014721309
6791633494B588   ANNE                 CUNNINGHAM-CINA      OK     90006533349
6791649814B27B   LANITA               WHITLOW              NE     27076054981
67916A56A72B36   SHAYANNE             LOPEZ                CO     90010430560
67917826472B27   SAMANTHA             ANDREWS              CO     33053508264
67917861197B64   KELLY                FOGG                 CO     39089148611
67918A32A8166B   PAYGO                IVR ACTIVATION       MO     90014220320
6791971A49715B   SHELIA               WILES                OR     90012447104
6791983444B588   ANGELO               LOVATO               OK     90005818344
67919943372B29   CHERYL               COURTURE             CO     33095719433
6791B153991522   IMELDA               MALDONADO            TX     90012291539
6791B481524B47   DAVID                FLORES               DC     90007094815
6791B71765B241   DOROTHY              JAGGERS              KY     90013527176
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 547 of 2350


6791B9A944B588   BELL         KEISHA                       OK     90014179094
6792133724B562   TOMAS        RAMIREZ                      OK     90014843372
679214A6871964   RAYE         CHRISTINA                    CO     32044584068
6792182557B472   APRIL        JONES                        NC     90002418255
67921A85472B87   KATHERINE    DALBEC                       CO     90008060854
6792278164B27B   LAWANDA      VALENTINE                    NE     90015137816
67922885A91562   LORENZO      PINA                         TX     90005728850
67922A62557595   MARQUESE     KEMP                         NM     90015190625
67922A79455973   RICHARD      PAIS                         CA     90013990794
6792354897193B   REYNA        SUAREZ                       CO     32017065489
67924AA7533698   ANGIE        IVEY                         NC     12058960075
6792512327B46B   MAGDALINE    MBUTHIA                      NC     90014271232
6792595415B235   LIZANDRA     BELLO                        KY     68090289541
67925A48872B29   MATT         DOWLING                      CO     33000680488
67925AAA491998   DWIGHT       JAMES                        NC     90008540004
67926393A72B43   CARLI        SMITH                        CO     90010323930
6792668835416B   JANIS        GODING                       OR     90008376883
67926A94491522   EDNA         RODRIGUEZ                    TX     90014720944
67927441A61936   ESTELA       DOMINQUEZ                    CA     90014804410
6792823455B241   TONISHA      MCREYNOLDS                   KY     90014702345
67928A8AA57595   OLGA         ABALOS                       NM     90013780800
67929364172B29   KATHY        TORRES                       CO     33050313641
6792949983B391   NAYELI       MORENO                       CO     90003464998
6792995764B268   CATALINA     RODRIGUEZ                    NE     27002489576
6792B283872B43   STEVE        EURIOSTE                     CO     90011182838
6792B46577B761   DELFINO      POZOS                        CA     90014214657
6792B546261964   MARIA        ROMERO                       CA     90012175462
6792B651881675   RONALD       BURGER                       MO     90010306518
6792B695755977   KENDRICK     STOKES                       CA     90012426957
6792B87934B588   ROBIN        LEONARD                      OK     90011698793
6793114358166B   SALOMON      GODINEZ                      MO     90005821435
6793118145B344   ANDRIAN      KALUGIN                      OR     90003331814
679315A2651354   BRODEY       HARMON                       OH     90012935026
6793181A391562   DANIEL       SAUCEDO                      TX     90010748103
679318A9761964   ALONZO       LEE                          CA     90010038097
6793351994B588   TINA         LEE                          OK     90012425199
6793351A372B29   BIOLENA      LAMAS SANTIAGO               CO     90012575103
67934429A72B27   JAIME        ORNELA                       CO     90007434290
67934532A7193B   COURTNEY     SHIPLEY                      CO     90009745320
67934AA9191527   LUIS         DEL CASTILLO                 TX     75061520091
6793523117193B   VERA         NOBLE                        CO     90004372311
6793536945B235   THOMAS       ESPINOZA                     KY     90012663694
679355A5691522   NANCY        NAVARRO                      TX     75017025056
6793683453144B   LATISHIA     BOLDEN                       MO     90012538345
6793747564B562   HOLLY        PATTERSON                    OK     90008874756
67938371972B29   JAMES        HEGGE JR                     CO     33093173719
6793854A67B46B   ERICA        GRANT                        NC     11023955406
679387A1755973   ISRAEL       SANCHEZ MORALES              CA     90011217017
6793B359161936   ANTONETTE    WILLISON                     CA     46069403591
6793B36287193B   JOHN         CREMEANS                     CO     32037193628
6793B376557595   JOE          ESTRADA                      NM     90014213765
6793B988572B29   JESUS        LOPEZ                        CO     90013289885
6793BA94491522   EDNA         RODRIGUEZ                    TX     90014720944
67941277972B27   VICTOR       ORTIZ                        CO     90002302779
67941A14761936   JONATHAN     TEC                          CA     90011860147
679422A4761936   RICARDO      FARIAS                       CA     90009422047
67942396472B36   CLAUDIA      AGUIRRE                      CO     90014953964
6794286714B588   LARRY        GREGORY                      OK     21515758671
6794352A272B27   MATTHEW      ARCHULETA                    CO     90013225202
6794368A554155   JOSE         RAMOS                        OR     90003686805
67943A43181675   RUBEN        GARCIA                       MO     29028670431
67943A85A7193B   DOTTIE       GILLIAM                      CO     90012030850
6794428A793726   CONNIE       RAINS                        OH     64590422807
679447A5381675   PHYLLIS      HARRISON                     MO     90010067053
67945738A91562   KATHYA       MARQUEZ                      TX     90015027380
67947323672B36   PIERRE       BAILEY                       CO     90012423236
6794769525B241   ERIC         SACHSE                       KY     90009666952
67947A37271964   YOLANDA      OROZCO                       CO     90011140372
67948429A61964   ALBERTICO    BERNAL                       CA     46032784290
67948597A55977   MIKE         WHITE                        CA     90010425970
6794939895B241   SABRINA      CARMAN                       KY     90014383989
6794966928166B   MARISDELIS   GONZALEZ                     MO     90003206692
67949A33661964   JANETH       SALAZAR                      CA     46047620336
6794B22A84B588   VO           LOUISE                       OK     90013512208
6794B238672B36   DONNA        RAMIREZ                      CO     90008802386
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 548 of 2350


6794B269755973   ANA          BAUTISTA                     CA     90006942697
6794B557691522   ESMERALDA    ORNELAS                      TX     90013725576
6794B5A8161964   JERRY        GIBBS                        CA     90014225081
6794B98194B27B   HYEEVM       JON                          IA     90012609819
67951261272B43   PATRICIA     MEFFORD                      CO     33043962612
6795147A571921   YOUNDRICK    BAILEY                       CO     32007044705
6795192A45416B   KYLE         CLARK                        OR     47042849204
6795214275B344   MISS LESA    MICKARAM                     OR     90006561427
67952442672B29   STEFANIE     BROWN                        CO     33046444426
67952A1177193B   OSCAR        RODRIGUEZ                    CO     90001140117
67952A92991998   DEBRA        PRIVETTE                     NC     90014730929
6795482234B588   FERMINA      RODAS                        OK     90010678223
67954A79791522   TOVAR        CARMEN                       TX     90011760797
6795573395B241   LATONYA      HERD                         KY     68006317339
67955857372B27   PATRICIA     RODRIGUEZ                    CO     90002758573
6795588A891562   ARLENE       LEVINGTON                    TX     90011998808
67956A51291998   RIKKI        SMITH                        NC     90009580512
6795749995B241   NIKEA        STONE                        KY     90008254999
6795764A391998   JENNA        WILSON                       NC     90011256403
67957813772B36   TAMERA       RAMOS                        CO     90011478137
67958446172B36   LEONEL       CERVANTES                    CO     33033034461
67958A42184392   AMELIA       WOOD                         SC     19012730421
67959621A81675   EVERETT      THORNTON                     MO     90013776210
6795B73987193B   OMAR         THORNE SR.                   CO     32053817398
6795B786455973   EDDY         JIMENEZ                      CA     90013367864
6795B928472B27   VICTORIA     MITCHELL                     CO     90013599284
6796113667B46B   JOHN         GOODWING                     NC     90012661366
6796179AA72B36   RIVERA       JOSE                         CO     33085607900
6796196267B46B   YASMIN       CARVALHO                     NC     90015219626
6796356725B344   RANDY        GREENSTEIN                   OR     44554975672
67963898A4B588   FLOR         SALDIERNA                    OK     21517008980
67963A36491522   MARISOL      CHAVIRA                      TX     90009150364
6796416AA71921   VALERIE      TUCKER                       CO     90014431600
67964271A8B196   FRANCISCA    SANCHEZ                      UT     90007972710
679646A3A55973   SANDRA       RODRIGUEZ                    CA     90013486030
67964A11672B27   RICHIE       AGNEW                        CO     90014580116
67965345572B29   TUL          BHUJEL                       CO     90014353455
6796555477193B   BLANCA       HERNANDEZ                    CO     32055615547
6796577315B235   ROBERT       STEPP                        KY     90009247731
6796612697193B   MEAGAN       SHANNON                      CO     90014161269
67966256A72B29   TRIN         LANE                         CO     90014822560
6796669615416B   ROB          KARNUTH                      OR     90013266961
679673A6791522   ANGEL        MORENO                       TX     90000233067
6796774A75416B   ANTHONY      CIOTTI                       OR     90011427407
67968A67451354   CARRIE       BELLAR                       OH     90014580674
67968AA365416B   KIMBERLY     CARRIER                      OR     90007400036
6796978157193B   CLAUDIA      NAVARRO                      CO     90012207815
6796B67158166B   DONNA        WEIR                         MO     90006766715
6796B82527193B   CARLOS       CRUZ                         CO     90014868252
6797186327B46B   GAIL         FUTCH                        NC     90012998632
6797221684B27B   SALLE        MONAY                        NE     90006902168
6797252618B168   KEVIN        YARRINGTON                   UT     90003035261
6797337364B27B   ANDRE        WHITLOCK                     NE     27047863736
6797364A855977   SEAN         SENG                         CA     90004656408
67973A3A891562   DANIEL       PAVIS                        TX     90013790308
6797422864B27B   ANTIONETTE   MONTEZ                       NE     27053392286
67974898872B27   SYLVIA       ASHLEY                       CO     90014288988
67974A2217B329   YILIAN       MEJIA                        VA     90008000221
67974A98A72B36   AMY          CORDOVA                      CO     90009200980
67977375A31422   DOMINIQUE    JOHNSON                      MO     90004623750
67977577172B29   ROBERTO      AYALA                        CO     33095125771
67977656272B36   CARLOS       TORRES                       CO     90013046562
6797834958166B   CRYSTAL      WILSON                       MO     29087843495
6797856124B588   MERY         JOHN                         OK     90013425612
6797B29AA61936   ISRAEL       LOPEZ                        CA     90007742900
6797B526255977   JAMES        MONTEALVO                    CA     90014855262
6797B693561964   JOSHUA       HUMPHREY                     CA     90014306935
6797B858871921   MARIA        DERBORT                      CO     90011398588
6797BAA155416B   TIFFIANY     ROEBUCK                      OR     90010920015
6798121784B588   CALEB        GOODWIN-SHIELDS              OK     90014772178
679817A8891522   OLGA         GALINDO                      TX     90014727088
6798219A681644   STINKPOT     WASHINGTON                   MO     90010391906
679842A485416B   LE ORVAL     DAVIS                        OR     47000692048
6798473667193B   SHERYL       KOSZALKA                     CO     32048427366
6798517127193B   SARIYA       LANGE                        CO     32045251712
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 549 of 2350


67985332A2B269   LARRY        SHARPE                       DC     90008523320
6798553914B588   MARIA        GOMEZ                        OK     90006625391
6798622223168B   SERGIO       GALVAN                       KS     90003432222
6798667222B941   TRACI        CUPPLES                      CA     90009576722
6798795335416B   RICK         WADKINS                      OR     47039299533
6798799128166B   KARLA        OCHOA                        MO     90011909912
6798799A471921   GUSTAVO      HERNANDEZ                    CO     90008009904
67987A78191522   OMAR         HERNANDEZ                    TX     75013140781
6798821515B241   ANGELA       MOUTARDIER                   KY     90014042151
6798846A33168B   AMANDA       STALL                        KS     90012624603
6798895323168B   AMANDA       STALL                        KS     22016959532
6798926295B241   CHIQUITA     HARPER                       KY     68063812629
6798B381991562   THELMA       HERNANDEZ                    TX     90000373819
6798B781497122   SETH         PRICKETT                     OR     90002877814
6798B825855977   CETANWI      VASQUEZ                      CA     90012778258
6799239A191522   ESTRADA      VERONICA                     TX     90011803901
67992A6385B53B   MARYALICE    JARAMILLO                    NM     90014450638
67992A9785416B   TABATHA      STEPHENS                     OR     47033660978
6799394754B588   TRACY        MALLOY                       OK     90013739475
67993A3A155977   JESSE        LOPEZ                        CA     90013370301
67995A4758166B   DIEGO        RODRIGUEZ                    MO     29090360475
6799662594B588   RONALD       TRIPP                        OK     90002966259
6799676283B372   JEREMY       BENNETT                      CO     90008927628
67996837172B43   BRENDA       LIZETH                       CO     90012758371
67997181A5B235   LORI         JARRARD                      KY     90011581810
6799733547193B   WALTER       ROOP                         CO     32030283354
67997563A91562   RYAN         HUNT                         TX     90011125630
6799778A371921   CARLA        PAYNE                        CO     90013247803
67997A48972B36   JESUS        ORNELAS                      CO     33006330489
67998AA5A72B36   NOEMI        MEZA                         CO     33090590050
6799949697193B   COURTNEY     CLENNEY                      CO     90014354969
6799B538791522   ANNETTE      ESCOBAR                      TX     75001555387
6799B61A872B36   RAMIRO       SOLIS                        CO     90009216108
6799B79A95B235   WILLIAM      HINES                        KY     90014147909
679B143844B588   TYNEIL       LOFTON                       OK     90013894384
679B153465B241   TOSHA        WILLIAMS                     KY     90010885346
679B1656691522   SAMANTHA     HERNANDEZ                    TX     75098326566
679B1728355973   WILLIE       DEHOWARD                     CA     90013717283
679B2917572B36   ELYSIA       MARTINEZ                     CO     33049279175
679B326564B588   BENNIE       SHAW                         OK     90006532656
679B3498124B38   SADIA        ELYAS                        VA     90003514981
679B38A1655977   ELSA         GALINDO                      CA     90007808016
679B496A57193B   ARNELL       HARRIS                       CO     32048509605
679B4A54991522   FERNANDO     VALENZUELA                   TX     90014720549
679B524137B46B   OSCAR        REYES                        NC     90011252413
679B563625416B   AMBER        STARK                        OR     90001096362
679B6551991522   ELSA         SANCHEZ                      TX     90012805519
679B67A768166B   DEANNA       BROOKE                       MO     90011187076
679B731497193B   TERRY        LOVE                         CO     90012963149
679B7663191998   LITASHA      HAYWOOD                      NC     90011636631
679B78A2555973   KIM          HAGER                        CA     90011348025
679B78A6371964   DEVOHN       VERNON                       CO     90011508063
679B862328166B   EVERETT      DENNIS                       MO     29091866232
679B8A4A972B27   DAN          XIONG                        CO     90007340409
679B9198541232   LATOYA       BELL                         PA     90012411985
679B9297A97B64   TERESA       MALTOS                       CO     39027672970
679B929A155977   ANDREW       KOUSOL                       CA     90010422901
679B931745B241   ALIL         TOWNSS                       KY     90013093174
679B9A6A791522   JEANNETTE    TOLEDO                       TX     90014720607
679BB39AA97B64   PAUL         ANTUNA                       CO     90006083900
679BB49534B588   SADE         DOTSON                       OK     90012064953
67B1169484B588   ISRAEL       LOPEZ                        OK     90014856948
67B11994785689   REBECA       OSORIO                       NJ     90003109947
67B12562685689   ANGELICA     CHAVEZ                       NJ     90014175626
67B1277A44B268   MELLISSA     EDIE                         IA     27048067704
67B131A5491998   STACEY       WALDEN                       NC     90006551054
67B13926291522   JUAN         ALVAREZ                      TX     75087009262
67B1431645416B   ELIZABETH    FUELL                        OR     90010923164
67B1441957193B   PAM          LARREAU                      CO     32090724195
67B1442545B344   ALLISON      PEREZ                        OR     90008074254
67B148A6361936   RITA         HERNANDEZ                    CA     46065748063
67B14956171921   HELEN        COLANGELO                    CO     90011499561
67B14A14391998   LINDA        ATKINS-WELLS                 NC     90014650143
67B14A64291522   MARIA        DIAZ                         TX     90008570642
67B14A89984392   DELVETON     CHESTNUT                     SC     90013370899
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 550 of 2350


67B157AA184392   TIMOTHY                  HARRISON               SC   90013817001
67B1632575B241   STEPHEN                  GRUBBS                 KY   90000843257
67B1634135416B   BRANDON                  FOWLER                 OR   90012533413
67B16381A72B36   MAYRA                    ALBALADEJO             CO   33056583810
67B16559684392   JULIA                    PEREZ                  SC   90015355596
67B166A537193B   CHRISTY                  MARTINEZ               CO   90000986053
67B16895655977   MARTHA                   ORDAZ                  CA   90010568956
67B17336372B29   TERESA                   VILLA                  CO   33052223363
67B1811564B588   PEDRO                    RIOS                   OK   90015141156
67B1813A94B268   LAWAUN                   LEXTER                 NE   27078691309
67B18298591998   RIQUERIA                 BARREIRO               NC   90014902985
67B18471981675   TONY                     COVINGTON              MO   90015614719
67B1882A831453   LUCILLE                  LEWIS                  MO   27569188208
67B18839881644   ANGELICA C               MOSS                   MO   29034908398
67B1894A555973   ISAAC                    MORENO                 CA   90013779405
67B18957497B36   JESSICA                  SMART                  CO   90015249574
67B18A1617193B   JEYSIL                   ROMAN                  CO   32052590161
67B19785172B36   AUTUMN                   PRESCOTT               CO   90012747851
67B19928A85689   JORGE                    ALONSO CRUZ            NJ   90014179280
67B19961191998   VIOLA                    WEDEMAN                NC   90001259611
67B19985171921   INTERNATIONAL BOARDING   AND PET                CO   90008989851
67B19997991522   ARMANDO                  MARRUFO                TX   75011519979
67B1B279981675   ERICA                    POLLARD                MO   90014152799
67B1B393985689   SARAH                    JHONSON                NJ   90013213939
67B1B54525B235   JAMES                    BROWN                  KY   68034575452
67B1B89128166B   KRISTIE                  YANITS                 MO   29032658912
67B21481491522   VERONICA                 RAMIREZ                TX   90014364814
67B2158A481644   MONICA                   JACQUEZ                MO   90014835804
67B21A7A385689   HAKERA                   COCHRAN                NJ   90014180703
67B22873955977   GUALBERTO                GARCIA                 CA   90002968739
67B235A459197B   CRYSTAL                  BANKS                  NC   90012775045
67B2385364B27B   NYACHAM                  NGUOT                  NE   90014738536
67B242A315416B   SCOT                     ROSE                   OR   90006282031
67B24531972B43   MILES                    KEEL                   CO   33073985319
67B2495313168B   JAMEKA                   SINGLETON              KS   22032679531
67B25131255977   MIGUEL                   CARRETO                CA   90001251312
67B2525235B235   ROBERT                   LOONEY                 KY   90013932523
67B25482161964   JENNIFER                 COLE                   CA   90007704821
67B26513A5B241   SHAWN                    NUTTER                 KY   90014415130
67B26A2634B588   MARTIN                   GARCIA                 OK   90014550263
67B271A8585689   LUIS                     CRUZ                   NJ   90013751085
67B27356481644   KRISTY                   BRUNSON                MO   90010123564
67B27379563646   STACY                    MULLIGAN               MO   90006383795
67B27A9197193B   SHERILL                  STRENGTH               CO   90010190919
67B28618751354   NICOLA                   BRUNO                  OH   90015126187
67B28693481644   CARL                     MENDEZ                 MO   90014266934
67B29125984392   ASHLEY                   RICE                   SC   90001671259
67B2951175B241   JEREMY                   FROST                  KY   90011905117
67B2965A65B235   LINDA                    MANSFIELD              KY   68052416506
67B29962172B29   MANUEL                   SANCHEZ                CO   33023219621
67B2997457B46B   ALEX                     GUERRA                 NC   90000999745
67B2B91587193B   GEMA                     FIGUEROA               CO   90000509158
67B31213991522   BEATRIZ                  ABAT                   TX   75016452139
67B312A5161964   BOBBYLYN                 CARTER                 CA   90002782051
67B31468755977   DAVID                    SEATEURN               CA   90012814687
67B3149734B268   WALTER                   CUMMINGS               NE   90009684973
67B31691672B43   EDUARDO                  VALENZUELA RODRIGUEZ   CO   90012686916
67B32493161936   GABRIELA                 PEREZ                  CA   90015064931
67B3252A198B63   MARIAN                   SUTTON                 NC   90000915201
67B3267487B46B   MARTA                    BONILLA                NC   90012736748
67B32931781644   MARIA                    SABERANES              MO   90014949317
67B32A5AA55977   EDUARDO                  TENA                   CA   90012470500
67B33373791998   JOAN                     HARGROVE               NC   17006873737
67B33591261964   VLADIMIR                 GUSKIC                 CA   90012335912
67B33A96691285   ANGELA                   POLK                   GA   14518160966
67B3475157193B   MATTHEW                  BOSLER                 CO   90012547515
67B34755372B29   QUEEN                    ABDALLA                CO   90012907553
67B3558A381675   ROGER                    GOODWIN                MO   90003745803
67B3563A161936   MARIA                    CORONEL                CA   90012096301
67B362A4881675   TERESA                   WEBB                   MO   90015112048
67B36574191522   VICTOR                   DIAZ                   TX   75024705741
67B36671881675   PATRICK                  SMITH                  KS   90015086718
67B36711385689   BENITO                   FLORES                 NJ   90013267113
67B36A2977193B   MARK                     LESKOVYANSKY           CO   32088580297
67B36A75391998   ELIAS                    BALTAZAR-NARVAEZ       NC   90014480753
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 551 of 2350


67B37347172B36   STEPHEN      WAYNE                        CO     90014043471
67B38183272B27   MAYRA        CASILLAS                     CO     90014881832
67B38648855973   ROBERT       DEATON                       CA     90013716488
67B38755171921   SALOME       BARDALES                     CO     90012897551
67B387A6991362   CATHY        ODEL                         KS     90010687069
67B38928961555   PAUL         CALL                         TN     90014679289
67B39274171921   NEICHMA      ORTIZ                        CO     32006592741
67B39293672B43   TAMMY        VIVEROS                      CO     90014652936
67B3966357193B   EFRIN        GARCIA-ALVAREZ               CO     90004106635
67B39717155977   AIOTEST1     DONOTTOUCH                   CA     90015117171
67B3B219872B43   SMITH        JEREMY                       CO     33095422198
67B3B926572B27   JESUS        BARRAZA-BUENO                CO     90012409265
67B41321472B36   DALE         FLANDERS                     CO     90010883214
67B41459784392   JULIA        RIGHT                        SC     90012854597
67B41938855983   MARGARITO    ANGELES                      CA     90004689388
67B41997572B29   CINDY        MUNOS                        CO     33009119975
67B41A24A51354   VIRGINIA     BECKER                       OH     90010420240
67B4213515416B   ROBBIE       SHRADER                      OR     90011491351
67B4329447193B   ANGELIA      BROWN                        CO     32030082944
67B4336334B588   ALLISON      CRYER                        OK     90014603633
67B43386972B43   ANNETTE      BARTLOWE                     CO     90008303869
67B4385AA72B29   ROXANNE      RODRIGUEZ                    CO     90012668500
67B43A6314B268   DON          PANKIEVICZ JR                NE     27020350631
67B44537691534   MARGARITA    HERNANDEZ                    TX     75019675376
67B45126361936   CONCETTA     BRAGGS                       CA     90013761263
67B451A888B194   BENJAMIN     RUESCH                       UT     90008871088
67B4527468166B   AUDREY       WALKER                       MO     90013922746
67B46545472B27   SIDNEY       HERNANDEZ                    CO     33000335454
67B46A26861936   YNELL        WALKER-LAWSON                CA     90012860268
67B471A888B194   BENJAMIN     RUESCH                       UT     90008871088
67B47227485689   NERON        GARCIA                       NJ     90014182274
67B47232461964   REBECCA      ORTIZ                        CA     90013892324
67B4749447193B   ALEA         SIMMONS                      CO     32016544944
67B47978361936   ABRAHAM      ALMAGUER                     CA     90013569783
67B485AA791998   EDUAR        RODRIQUEZ                    NC     90000785007
67B4885A471921   ADRIENNE     CARTER                       CO     32041688504
67B48A46891522   STEVEN       GRIEGO                       TX     90010730468
67B49819872B27   DORA         DOMINGUEZ                    CO     33067818198
67B4B323691562   VICTOR       PAYAN                        TX     75067703236
67B4B354A5416B   ELLEN        PRICE-MARIS                  OR     90001103540
67B4B39917193B   DANIEL       AYALA                        CO     32027443991
67B4B722972B29   JAVIER       VAZQUEZ                      CO     33057927229
67B51256785689   NAHUM        PEREZ                        NJ     90014182567
67B5157265B235   ANGELICA     MOORE                        KY     90013555726
67B51947872B36   VERONICA     MARTINEZ                     CO     90010929478
67B51A4534B588   ORJI         HAPPINESS                    OK     21555150453
67B5221448166B   SCOTT        EGLESTON                     MO     90011872144
67B52417591562   ALEJANDRO    CRUZ                         NM     90009784175
67B52798372B27   MARIA        SILVA VERA                   CO     33057037983
67B52845961936   MARIO        NAZA                         CA     46077848459
67B53314433698   CHERREIK     LINDSAY                      NC     12046903144
67B53458571921   ANITA        ALENZUELA                    CO     90001544585
67B53911A81644   ALYCE        MITCHELL                     MO     29014159110
67B54625961936   LINDA        TORRES                       CA     90014946259
67B54647761964   VICTOR       RABADAN                      CA     90012316477
67B55269A72B36   CRISTINA     RENTERIA                     CO     33046762690
67B552A3472B29   RICARDA      RIVERA                       CO     90003992034
67B5536657B392   JORGE        ORELLANA                     VA     81008743665
67B559A2851347   DEBRA        TRAIL                        OH     66032749028
67B5626519198B   NOE          NAVARRO M                    NC     90010082651
67B56421691522   ISELA        ATIENZO                      TX     90014084216
67B57485A5B237   ALBERTO      RABELL-SILVA                 KY     90004144850
67B57495A4B221   JERRY        SNYDER                       NE     27032914950
67B57857972B36   TAYLOR       DAVID                        CO     33034428579
67B57A2245B235   RAYMOUND     GRAVES                       KY     90013830224
67B58128781644   D            RALLS                        MO     90008281287
67B5821854B27B   CLIFF        FUSSELMAN                    IA     27087692185
67B58637671921   MICHEAL      CHRISTENSEN                  CO     90006616376
67B5879A955973   CECILIA      CAMPOS                       CA     90012527909
67B58A2977193B   MARK         LESKOVYANSKY                 CO     32088580297
67B58A53A85689   ORLANDO      PEREZ                        NJ     90013550530
67B59174171921   NICK         WEREMBLEWSKI                 CO     32078041741
67B59443372B29   ANGELISSIA   JONES                        CO     33060014433
67B59545A91562   ALFREDO      HOLGUIN                      TX     90013115450
67B5968875416B   CHRISTINA    KETCHUM                      OR     90000206887
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 552 of 2350


67B5B19865B235   BELL          TINKA                       KY     90010871986
67B6156967B46B   LUIS          HERNANDEZ                   NC     90014575696
67B62283A85689   CRICKET       WIRELESS                    NJ     90014182830
67B629AA672B43   KELSIN        BRIZUELA                    CO     33005849006
67B63136481644   ANNA          MAY                         MO     90010211364
67B63142461936   GISELLE       MONTES                      CA     90012111424
67B6314765B235   HENRY         GRADY                       KY     90005691476
67B6469395416B   GEORGE        CURTISS                     OR     90012136939
67B64A26772B36   CHARLES       POLLOCK                     CO     90014740267
67B65326185877   RICHARD       SWANSON                     CA     90005863261
67B6586577193B   ROCHELLE      TRUJILLO                    CO     90014818657
67B659A5372B36   OMAR          ALDANA                      CO     33098099053
67B6617115B235   ANGELA        MARTIN                      KY     68017221711
67B6698284B588   BAILEY        DAY                         OK     90010039828
67B67438184392   VALERIE       CRUSS                       SC     90014304381
67B6756685B531   MARK          FETTY                       NM     90007935668
67B67582981644   LORITA        DAVIS                       MO     90014835829
67B6759837193B   MICHAEL       MARTIN                      CO     32058035983
67B67969461936   MAURA         LOPEZ                       CA     90008429694
67B68233A72B29   NICOLE        JOHNSON                     CO     33010122330
67B68253591522   CHRISTOPHER   SPRUCE                      TX     90011782535
67B68668761964   MIGUEL        GUERRERO                    CA     46068866687
67B6881383168B   MISTY         YARDLEY                     KS     22051478138
67B688A424B27B   ARNOLD        WIESE                       NE     90012358042
67B69287672B36   STEVEN        GARNER                      CO     90000472876
67B699A5561936   MICHEAL       BITTICK                     CA     90004079055
67B6B177A55973   CARLOS        BARAJAS                     CA     48030991770
67B6B48954B268   HASER         MURINAR                     NE     90001904895
67B6B49A791522   EMMA          DENA                        TX     75043444907
67B6B4A8461936   CLARISSA      CIUFI                       CA     90010434084
67B71528872B36   RUTH          PRINCE                      CO     33058355288
67B71915891998   SHANION       WATSON                      NC     90012759158
67B7224117193B   MIKE          BOBIAN                      CO     90004822411
67B7227624B588   OCTAVIO       GALLEGOS                    OK     90011032762
67B72639191522   VICTOR        HERNADEZ                    TX     75054656391
67B72A1A384392   CRISTINA      MENDOZA                     SC     90009070103
67B738A9661964   CARLOS        PEREZ                       CA     90013588096
67B73936291522   MARLENE       MATA                        TX     90014699362
67B744A2981644   TRACY         ABBOTT                      MO     90009514029
67B7471767193B   BAILIE        REGUERA                     CO     90014397176
67B751A2A72B29   WILMOR        AGUILAR                     CO     90009801020
67B7552684B588   ILODIA        BETTINGER                   OK     90013545268
67B7564622B227   VANESSA       LAMPKIN                     DC     90014756462
67B7621A271964   DAVE          LEARY                       CO     32078502102
67B76223861964   JOE           WILLARDSON                  CA     90012792238
67B763A215B241   ANA           ESTRADA                     KY     68080053021
67B76435972B29   JESUS         CUEVAS                      CO     33054994359
67B78395791525   MARIA         CHAVEZ                      TX     90012103957
67B7856A161964   ARTURO        MORALES                     CA     46043295601
67B78971A7193B   AUSTIN        GRIMES                      CO     32015799710
67B79955561964   TANIA         ORTIZ                       CA     90012449555
67B7B35115B235   LATRECIA      DORSEY                      KY     90006603511
67B8136854B588   MICHAEL       GRUNDY                      OK     21515913685
67B8171818166B   PHILLIP       HENDRICKSON                 MO     90000997181
67B82176551354   MONICA        PIERCE                      OH     66019621765
67B8239A161964   ELIZABETH     MUNOZ                       CA     46084323901
67B82884297B64   MARIA         CHAVEZ                      CO     90005048842
67B83224271921   KEVIN         HALL                        CO     90013292242
67B8342547193B   SARAH         DODGE                       CO     90013954254
67B8348775B235   TABATHA       VANCE                       KY     90008974877
67B83582461964   JORGE         GARCIA                      CA     90013965824
67B835A945416B   ARMANDO       VANEGAS JUAREZ              OR     90014695094
67B84574557595   MARGY         SANCHEZ                     NM     90013885745
67B84676384392   BLANCA        NUNES                       SC     90013206763
67B85326A72B29   CATHERIN      CALDERA VELAZQUEZ           CO     90013063260
67B8532933B394   REDONNA       ALLEN-COX                   CO     90010613293
67B85642A4B27B   JASON         JIRKOVSKY                   NE     90006086420
67B85699484392   CARLTON       RIVERS                      SC     90013446994
67B85A1AA91522   MARIA         PADILLA                     TX     75024730100
67B86671972B36   JOSEPH        AREJO                       CO     90015606719
67B8738748B172   MARGARET      WINDER                      UT     90008463874
67B87495661936   LUIS          MUNOZ                       CA     90004774956
67B8756155B235   TY            MURRELL                     KY     90000135615
67B87598891998   THERESA       ALLGOOD                     NC     90013745988
67B87613A72B27   MARIA         HERNANDEZ                   CO     90004306130
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 553 of 2350


67B87AA5281644   ANGELA       TURNER                       MO     29074990052
67B8814654B588   BOBBIE       SANDERS                      OK     90013511465
67B88179572B29   SERGIO       JOHNSON                      CO     33026431795
67B88331581644   ANN          THOMPSON                     MO     90008373315
67B88553581675   GLEE         RUSH                         MO     90011315535
67B885A1991522   CARLOS       COBOS                        TX     90014145019
67B88838161964   VAZKES       RIKEY                        CA     90001078381
67B8887726193B   MARIA        HERNANDEZ                    CA     90008178772
67B88913455973   ANTHONY      BUTLER                       CA     90012859134
67B88967833692   KEMECIA      ROBINSON                     NC     90009819678
67B89182641271   JOHANNA      JONES                        PA     90003571826
67B8943A971921   ANGELICIA    NICHOLS                      CO     90013154309
67B89917255977   GEORGE       BROCK                        CA     49025869172
67B89A9887193B   SERGIO       CALDERON-SOLIS               CO     90012130988
67B8B3A1691522   JORGE        ACOSTA                       TX     90009533016
67B8B597A5B241   SALENA       LIEBER                       KY     90010115970
67B8B826A4B27B   CLINTON      WESTBROOK                    NE     90013248260
67B8B84614B588   NATHAN       VALENTINE                    OK     90014908461
67B91119691522   AIDEE        TRILLO                       TX     90001131196
67B91278591562   ELIZABETH    LOPEZ                        TX     75093472785
67B91438284392   STEVIE       EDWARDS                      SC     90000964382
67B91794472B43   RUBI         VALLE                        CO     90011977944
67B91832581675   GREGORY      FRANKLIN                     MO     90013978325
67B92116955975   ANGELICA     TORRES                       CA     90007151169
67B92412572B36   TRINA        BAILEY                       CO     90001504125
67B92441772B43   LETICIA      SORIANO                      CO     90014364417
67B9245455B241   STACY        TAYLOR                       KY     90015304545
67B9375795B235   TAYMIKA      ROYSTON                      KY     68026807579
67B938A6472B27   YOLANDA      ESTRADA                      CO     90011488064
67B93964A8166B   LAMONT       PEARSON                      MO     90013809640
67B93A19691534   MARIA        BROWN                        TX     90000970196
67B9414118166B   TEODORO      SANCHEZ                      MO     90012871411
67B9416773168B   RAMON        MONTES DE OCA                KS     22058121677
67B9518A751327   RACHEL       SCHWEITZER                   OH     90011011807
67B952A1985689   JOHN         EVANS                        NJ     90014212019
67B9584A87193B   RUSSELL      CLINE                        CO     90005378408
67B9592A563623   DONALD       KOZEN                        MO     90001989205
67B96494655977   KENESHIA     SIMON                        CA     90015354946
67B96514672B29   STASHA       FLESHMAN                     CO     90010695146
67B966A3A8B17B   ELIZABETH    MAXWELL                      UT     90012296030
67B96992991522   RACHEL       GONZALEZ                     TX     90005029929
67B969A244B27B   KINDOGBE     SOTOWOU                      NE     90007509024
67B96AA2691562   RICARDO      JIMENEZ                      TX     90010910026
67B97381185689   KEVIN        SANCHEZ                      NJ     90012883811
67B9748275B235   ANGELA       WADE                         KY     68078594827
67B97A54291998   SHANICE      CAMPBELL                     NC     90010670542
67B98372672B36   GERRY        POINTS                       CO     90014173726
67B9842927193B   CHENDRE      TAIE                         CO     90013954292
67B986A472B526   JADON        JACKSON                      AL     90015066047
67B98797A3168B   AARON        BUTCHER                      KS     90014887970
67B98987155977   ROSALINDA    SANZON                       CA     90011909871
67B99721281675   LAWRENCE     AUSTIN                       MO     90012397212
67B99744184392   TWANNISHA    DYLEY                        SC     19079127441
67B99923272B43   RUTH         GONZALES                     CO     90013229232
67B99954561964   JOHN         MCCANN 3RF                   CA     46033989545
67B9995A991522   VICTOR       SANCHEZ                      TX     90014699509
67B9B52618166B   ANGEL        SMITH                        MO     90014635261
67B9B54445B241   LINDSEY      HIGDON                       KY     90008745444
67B9B668571921   NICK         LANE                         CO     90012906685
67BB1847172B36   JASON        MILNER                       CO     90006768471
67BB1A96755977   MARIA        DIAZ                         CA     49066910967
67BB2115491998   JOSE         CRUZ                         NC     90010561154
67BB242975B235   VERONICA     MAYORGA                      KY     90013644297
67BB2763155977   ERICA        SEPULVEDA                    CA     90013497631
67BB3521772B27   SANDRA       RIVAS                        CO     90007675217
67BB35A3271921   JILL         CASPERSON                    CO     32012985032
67BB3887691522   JASHUA       SILVIA                       TX     90004418876
67BB3976672B43   ADRIE        GARCIA                       CO     90014639766
67BB3A3545B235   JUAN         ROJAS                        KY     90008170354
67BB4387355934   FRANCISCO    PEREZ                        CA     90001163873
67BB448294125B   CHASITY      DUCKETT                      PA     90008614829
67BB448A45416B   VIVEK        PARASHAR                     OR     90011324804
67BB454A297B64   CATHY        STEWART                      CO     90005025402
67BB4698972B43   ALEXANDRA    RODRIGUEZ                    CO     90012996989
67BB4715681644   ANTOINETTE   IRVIN                        MO     90005647156
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 554 of 2350


67BB523228B358   JIMMY           GARCIA                    SC     90013422322
67BB5587585689   ARACELI         RUIZ                      NJ     90007595875
67BB577165137B   SUNSHINE        PUTTEET                   OH     90012807716
67BB5936855973   CINDY           ONSUREZ                   CA     48051129368
67BB6832755977   GIOVANNI        BENAVIDAS                 CA     90015308327
67BB6A15685689   ANGEL           MOORE                     NJ     90011150156
67BB6A5124B27B   FARIS BEATRIZ   GARCIA CASTILLO           NE     90013550512
67BB7176685689   PABLO           HERNANDEZ                 NJ     90014191766
67BB7229972B36   JORDAN          CHAPMAN                   CO     90009902299
67BB7A92A51354   ERIN            CONLEY                    OH     90012960920
67BB8172991998   ISAAC           YORK                      NC     90010561729
67BB878927B46B   ANAYELI         MEZA                      NC     90002847892
67BB9245361936   ARACELI         RAMIREZ                   CA     90011942453
67BB9367591562   ANDY            JONES                     TX     90006633675
67BB978A671921   KENDALL         BROWN                     CO     90013987806
67BBB35814B268   ADAM            VASQUEZ                   NE     27039173581
67BBB79487193B   ANDRIAN         MARTINEZ                  CO     90014857948
67BBB95772B962   KATIE           SPENCER                   CA     90002189577
6811145A45416B   KEN             BRAWN                     OR     90012194504
68111535A4B27B   LAMONEE         JACKMAN                   NE     90015155350
6811167495B241   DELORES         HELM                      KY     90014746749
68111973A72B36   RYAN            WILBER                    CO     90013529730
6811237684B588   SAMANTHA        RICHARDSON                OK     90008173768
6811246135B235   GLENDA          SCOTT                     KY     68031054613
681131A824B588   MIRIAM          GOMEZ                     OK     90001261082
68113217272B43   ANGELA          MADRID                    CO     33037092172
6811397217B36B   MAMADOU         DIA                       VA     81015219721
6811476A571964   ERIN            MORSE                     CO     32080747605
681156A742B27B   OSCAR           FUENTES                   DC     90006686074
68115A8145B241   TYRON           ALLEN                     KY     90001190814
68117211A72B36   SAHRA           ABDIRAHAMAN               CO     33057222110
68117A63672B29   DESIREE         GONZALES                  CO     33033800636
68118552472B36   GARY            LAWRENCE                  CO     90000795524
6811946735B241   MARISOL         REYES                     KY     90013644673
6811B169172B26   MARK            KEEHN                     CO     33087711691
6811B758672B29   NANCY           MAYBERRY                  OK     33002117586
6812221A172B26   OBED            RODRIGUEZ O R             CO     90011242101
6812274245B241   LUCAS           DE LA CRUZ                KY     68068597424
6812323724B27B   WILLIAM         TAYLOR                    NE     90014822372
6812395994B588   FLORETHA        DAMAS                     OK     90014779599
6812477657193B   JOHN            SCHROEDER                 CO     32061207765
68124A91984392   TANYA           HOWARD                    SC     90010550919
68125456A5416B   CHASE           KEPHART                   OR     90007974560
68125A4A172B36   MANEENUCH       UTHAIWORN                 CO     33003310401
68126AA744B588   JOYCE           MIRANDA                   OK     90003150074
68127222872B29   MARIA           PACHECO                   CO     33043772228
681273AA771921   NATEKA          CONNORS                   CO     90013883007
68127431A2B27B   GABRIELA        DELCI                     DC     90015154310
6812799785416B   SCOTT           FERGUSON                  OR     90012629978
6812861A861964   FRANCELIA       MEDINA                    CA     90010936108
6812893338166B   JOHN            KOENIG                    MO     90015309333
68128A3485416B   NICOLE D        POWERS                    OR     90005050348
68128A6732B27B   MIRNA           AMAYA                     DC     90005910673
68129194A41292   CARLOS          HUDSON                    PA     90002771940
681292A1281675   PATRICIA        SMITH                     MO     29043482012
68129325672B26   MELODY          GUITIERREZ                CO     90011613256
6812B34864B27B   ELIZABETH       GILLILAND                 NE     27083413486
6812B464547936   JOSE            CAMPOS                    AR     90011134645
6812B52A15B241   DAVID           JONES                     KY     90010965201
6812B736A71942   TIMOTEO         DELIRA                    CO     90014947360
68131286A61964   FRANCIS         SIERRA                    CA     90011982860
68131392172B26   JOSH            MONTOYA                   CO     90012313921
681316A855416B   MARIAH          PAUL                      OR     90010386085
6813181A972B27   JOLEE           ADAMS                     CO     33084928109
68131AA9891562   DORA            LUCERO                    TX     75093430098
6813213477193B   DANIEL          CASTRO                    CO     32091141347
6813238765B235   STACY           LOGSDON                   KY     90006923876
6813241564B27B   RICARDO         LEON-MATA                 NE     90011094156
6813292A472B26   JOSH            SANDOVAL                  CO     90015299204
6813311954B27B   KRISTIN         LICHTENBERG               NE     90012331195
6813338164B588   SEAN            ODONNELL                  OK     21563303816
6813457634B268   HEATHER         LARSON                    NE     90010565763
6813457A761964   VANESSA         MARTINEZ                  CA     90015135707
681345A2772B43   VIDI            MARQUEZ                   CO     33086945027
6813463997193B   VONETTE         HAGEN                     CO     90014396399
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 555 of 2350


6813542393168B   JUAN         ESPINO                       KS     22001754239
6813551162B27B   TYRONE       MOORE                        DC     90012895116
6813569A571964   TERRY        WILLIAMS                     CO     90010876905
6813584A251354   MELISSA      QUICK                        OH     66077508402
6813615565B241   NADIA        ARIAS                        KY     90014761556
6813845137B46B   LACINDA      CRAWFORD                     NC     90010334513
681386A6461964   SARAH        JANE BOBNAR                  CA     90014286064
68138748872B29   VICTOR       REYES                        CO     33004267488
68138A99A71921   ZANE         MCLEAN                       CO     90014810990
681391A292B27B   CHRISTPHER   HOPER                        DC     90009411029
6813939235B241   TRENITY      ACKLIN                       KY     68018633923
6813B59312B27B   CALVIN       WILDER                       DC     90012195931
6813B836771964   DANIEL       HARRIS                       CO     90011568367
6814123A25416B   ELIA         MERCADO                      OR     90006082302
68141963A4B27B   ROYANNTA     HOLLINS                      NE     90011919630
6814268A17B46B   CEU          CUNG                         NC     11090116801
6814279694B27B   PEDRO        CASTILLO                     IA     27070327969
6814318A472B29   KARLA        RIZZON                       CO     33050411804
6814382312B253   BARBARA      NORMAN                       DC     90007508231
681447A1355975   RICHARD      PARRA                        CA     90014787013
6814562A672B29   SHANE        VALDEZ                       CO     90013046206
6814616915B241   KIMBERLY     MUCKER                       KY     90014761691
68146A8A191522   RUBEN        MARTINEZ                     TX     75004960801
68146A99655975   ROSIE        VASQUEZ                      CA     90005370996
68146AA183168B   KENESHA      COLLINS                      KS     22053300018
68146AA415B241   KIMBERLY     MUCKER                       KY     90015580041
6814717AA81675   LEONARD      CASEY                        MO     90003391700
6814836A772B29   DANIEL       FORBIS                       CO     90013503607
6814844647193B   JOSE         RAMIREZ                      CO     90013674464
6814848282B959   PATRICIA     RASHE                        CA     90008464828
6814881365B241   TISHA        OSER                         KY     90006328136
68149A9342B27B   CLARENCE     BROWN                        DC     81015610934
6814B437655975   MONIQUE      ORDUNO                       CA     90013024376
68151638372B29   BEN          SALGADO                      CO     33052216383
6815165634B27B   TABETHA      NORTH                        NE     27053536563
6815238524B588   MARIA        LOPEZ                        OK     90012613852
681528A554B588   KENN         MCSPERITT                    OK     90012638055
68152A94451354   JAMES        MCKEEHAN                     OH     90013960944
68153151372B36   LINDA        VIGIL                        CO     90004871513
6815474197193B   MICHAEL      BLACK                        CO     32005497419
6815527AA4B588   CHELSEA      HOFFMAN                      OK     90006182700
6815563517193B   KATHRYN      BONINO                       CO     32063026351
68156772372B26   MARIA        DIAZ                         CO     90013297723
6815684A48166B   JAKE         PATTERSON                    MO     90013608404
68156A52255973   ALYSA        AVITIA                       CA     48040590522
681571AA65B235   LOREAL       CLAY                         KY     90013491006
681571AA751354   ARIZA        LEBRON                       OH     90012371007
68157371572B29   MONICA       MONTOYA                      CO     90011063715
68157526972B26   DENNYSE      TEJEDA                       CO     90009115269
6815795565416B   DUSTIN       SMITH                        OR     47068339556
68158294372B36   AMY          POTTRUFF                     CO     33075942943
6815855235416B   ANILU        TORRALVA BAUTISTA            OR     47050755523
6815863675B235   ANDRE        JACKSON                      KY     90002606367
6815933A361964   ALICIA       RODRIGUEZ                    CA     46098633303
6815B22625594B   CERVELIA     ALVARADO                     CA     90004892262
6815B352672B43   MEGAN        UREN                         CO     33095643526
6815B37587193B   CECILIA      MONTELONGO                   CO     90010003758
6816127364B588   GARRET       SMITH                        OK     90007242736
68161757757B76   JEFF         HAZEN                        PA     90015587577
68161A4864B588   GARRET       SMITH                        OK     90012540486
68161A6382B27B   VERA         ALACHAN                      DC     81056850638
68162386A55973   MARIA        CEVALLOS                     CA     48076893860
68162A99655975   ROSIE        VASQUEZ                      CA     90005370996
6816366455416B   MCKENZIE     FOUNTAIN                     OR     90008646645
68163737A81644   FLORENCIO    QUEZADA                      MO     90013577370
681647A6971921   TONYA        BASFORD                      CO     90014397069
6816485195B241   DAVID        THOMPSON                     KY     90004118519
68164A37772B27   IVAN         JURADO                       CO     90005580377
68165633572B36   SERGIO       FLORES                       CO     90004196335
6816564A961936   JOSE         HERNANDEZ                    CA     46087866409
6816655477193B   BLANCA       HERNANDEZ                    CO     32055615547
68167772772B29   ROBERT       BAYERS                       CO     90013017727
6816791545416B   EUGENE       THOMPSON                     OR     90006289154
6816832542B27B   ERIK         JOHANSEN                     DC     90010653254
68168A1155416B   MARJORIE     LINN                         OR     47087360115
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 556 of 2350


68169A9673168B   ROMERO       MAGDALENO                    KS     90001680967
6816B33A82B27B   JAQUELINE    MAYO                         DC     90007633308
6816B917A72B36   ELVIA        GALVAN                       CO     33010729170
6817133A74B268   MARIA        ROJAS                        NE     27066373307
681724A397193B   JESSICA      ADKINS                       CO     90011184039
6817266124B261   SEYMONE      SMITH                        NE     90013676612
6817285998166B   KEITH        BOYD                         MO     29010058599
68172948A7B398   MIGUEL       ARMANDO                      VA     81069849480
68172A26672B29   ANGELA       JOANN MARTINEZ               CO     33043620266
6817323A691562   VICTOR       LARA                         TX     75061932306
6817384335594B   ASHLEE       TOLENTINO                    CA     90005968433
6817384A25B241   JONATHAN     ROSA                         KY     90013418402
68173A26751354   KAREN        WEBSTER                      OH     90012900267
6817439945B241   SUSAN        GROVES                       KY     68021003994
681744A4981675   LATONYA      BRYERS                       MO     90008014049
68174545472B29   WILBERT      MYATT                        CO     33007655454
6817457254B588   ROGER        JOHNSON                      OK     90015145725
6817474A27B46B   ADONALDO     BUESO                        NC     90012687402
68174837772B27   CHARLES      OLDHAM                       CO     33045018377
6817623795B241   LAYNE        TODD                         KY     68049692379
6817717617B46B   CRISTAL      KING                         NC     90000791761
6817766A12B27B   DOMINIC      ISHMELL                      DC     90014756601
6817814264B568   KISHA        THOMAS                       OK     90009271426
6817898375416B   BRANDON      MCKELLIGETT                  OR     90013449837
6817922855416B   LORI         BARNES                       OR     90009792285
6817B2A8584392   MICHAEL      HENDRICK                     SC     90011192085
6817B489255973   JOSE         ROJAS                        CA     90015174892
6817B76615B235   CODY         HIGBEE                       KY     90010737661
68181682172B29   MARIA        MENDEZ                       CO     90014986821
6818171A671964   RICHARD      APODACA                      CO     32078657106
68181757772B29   ENEREIDA     JUAREZ                       CO     90011907577
6818236582B27B   ELEANOR      CHAMBERLAIN                  DC     90015123658
6818245615B235   MICHAEL      KRON                         KY     90014324561
681824A2884392   GABRIELLE    SHAW                         SC     90014874028
68182A2A67193B   JAMES        GIBSON                       CO     90012950206
6818317A972B27   ARACELI      HERNANDEZ                    CO     33003731709
681834A1A5416B   LUIS         TANGO-TENDERO                OR     90012564010
6818456127B46B   EBONEE       JOHNSON                      NC     11003055612
68184644772B43   NORMA        SANTOS                       CO     33027636447
6818486374B588   KERRY        PORTER                       OK     90014248637
6818512947193B   JULIE        TILLMAN                      CO     90014331294
6818528624B588   MARY         JENKINS                      OK     90012302862
68185528A61936   MARCY        MOODY                        CA     46008745280
68185627A4B27B   PAULINO      MANYIEL                      IA     90006216270
6818657984B268   BRITNEY      SMITH                        NE     90008365798
681866A8972B27   SARAH        NUNEZ                        CO     33065296089
68186A5A94B588   MONICA       DUDLEY                       OK     90009310509
6818712577193B   ANTHONY      TATE                         CO     90010791257
68187849A61964   JENNIFER     KEITH                        CA     46048248490
681878A6751354   KHANAY       YANCEY                       OH     66000708067
681889A2484392   EUNICE       ESPINOZA                     SC     19084809024
68189115372B27   SIAVON       MOORE                        CO     33083411153
6818916615416B   JOSEPH       LAMIE                        OR     90013911661
68189394772B26   WANDA        MADDOX                       CO     33025303947
6818968258166B   KATTY        GONZALEZ                     MO     90002586825
6818B147671964   LISA         WAYNE                        CO     32085371476
6818B232A5416B   ARYN         FIELDS                       OR     90014612320
6818B573155973   TIFFANY      J0HNSON                      CA     48083635731
6818B61674B588   BRONDON      OLEARY                       OK     90003826167
6818B925A71921   JOSE         GUADALUPE                    CO     90012279250
6819148137B46B   BIANCA       MALDONADO                    NC     90015024813
681917A9991259   CHINELL      GREEN                        GA     90013057099
68192556A61964   JUNIOR       CEVANTES                     CA     46083105560
6819277A757123   BENJAMIN     CORDOBA                      VA     90006057707
68192856A71921   OSCAR        MOLINA                       CO     90008028560
6819343183168B   CODY         WINKLEMAN                    KS     90001324318
68194417A85939   NATHANIEL    TINCHER                      KY     90013264170
681955A794B543   RODQUIS      BELTON                       OK     90014465079
6819575618166B   CRYSTAL      WEBB                         MO     29002457561
6819644635416B   RAECHEL      SCHARF                       OR     47023604463
68196849772B29   MEGAN        AICHELMAN                    CO     90014408497
68196A5848165B   JOSEPH       GREEN                        MO     90001610584
681971A4A5B235   SHAELA       WARNER                       KY     90015171040
6819742AA7193B   WILLIAM      EDGE                         CO     32072484200
6819743A455975   ANA          CAUDILLO                     CA     90013034304
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 557 of 2350


6819834955B235   STEVEN           ADWELL                   KY     90000763495
68198368572B26   JUAN             LEOS                     CO     90013433685
68198AA475416B   PAUL             HEIMBUCH                 OR     90003830047
681997A2981675   THOMAS           FOWLER                   MO     29014837029
68199A19955975   NESTOR           GONZALEZ                 CA     90009100199
6819B92135B241   THOMAS           JENNETT                  KY     90011559213
681B1296371964   ALEX             CALDERON                 CO     90013032963
681B1486655975   ANA              CEJA                     CA     90014784866
681B2894593741   GLORIA           CREEGER                  OH     90008518945
681B343417193B   RYAN             MIDDLETON                CO     32069684341
681B4549972B36   RAFAEL           CHAVEZ                   CO     33033945499
681B461848166B   JESSE            SHADDOX                  MO     90003496184
681B4784355975   MARTIN           GONZALES                 CA     90010467843
681B47A8191998   CHRISTINE        POTTMEYER                NC     17067747081
681B4A98155973   JESUS            SUAZO                    CA     90013730981
681B6245A61964   LETICIA          GARCIA                   CA     90002372450
681B637867193B   JENNIFER         BAKER                    CO     90011123786
681B6569472B26   RENE             RIOS                     CO     33002015694
681B675A471964   RICK             HIGGINS                  CO     32007917504
681B713215B235   KAYLA            BIVENS                   KY     90009471321
681B7139472B43   SIMAO            MBALA                    CO     33009161394
681B748A271964   MACRINA          ARELLANO                 CO     90008114802
681B7546472B36   OMAR             ZUNIGA                   CO     90011455464
681B767495B241   DELORES          HELM                     KY     90014746749
681B7927584392   MARK             KELLY                    SC     90009529275
681B7AA7872B27   CAMILO           MAZUM                    CO     90009230078
681B8356171964   SILVIA           AVILA                    CO     32055943561
681B899515416B   VALERIE          WOOD                     OR     47061159951
681B9162872B43   JESUS            RIOS                     CO     90011451628
681B9191972B26   SIRMO            PETE                     CO     90011241919
681B9334671964   KATHY            GROT                     CO     32060653346
681B9864272B36   HUMBERTO         RAMIREZ                  CO     33056938642
681B98A3855973   KRYSTAL          ARRONA                   CA     90010548038
681BB137355973   SELIKA           SOLORIO                  CA     90013991373
681BB445155975   VANXAY           CHANTHA                  CA     90010334451
681BB645251354   CARLOS           GUILLEN                  OH     90010246452
681BB651971921   OMAR             URBINA                   CO     90007416519
681BBA45A5B221   ERIC             MASON                    KY     90003560450
681BBAA1572B36   IDALI            ORTIZ                    CO     33009590015
6821231492B27B   NATARSHA         WILLIAMS                 DC     81014373149
68213599372B43   DIEGO            MURO                     CO     33064095993
682139A437193B   ARWORN           HAMILTON                 CO     90014569043
68214136972B36   KEOSOMALEE       PRARK                    CO     90011471369
68214236672B26   ANDREW           MONTOYA                  CO     90011242366
6821427235B241   TIA              DOUGLAS                  KY     90014762723
6821527235B241   TIA              DOUGLAS                  KY     90014762723
682152A1255975   GREGORIO         PADILLA                  CA     90010272012
6821663878B563   AMLICAR          TUN IC                   CA     90011606387
6821766947193B   TOMMIE           ROWE71                   CO     90013966694
6821848A35B235   KIMBERLY         JOHNSON                  KY     90002824803
6821878AA5716B   FREDY            DIAZ                     VA     81069057800
6821884785B529   CHRISTINE        MORA                     NM     35094608478
68219364772B26   MYRA             GRANDE                   CO     33033553647
6821942945416B   SHEILA           RIOJAS                   OR     47098354294
6821B548755993   VICTOR           RODRIGUEZ                CA     90008795487
6821B63237193B   ADIN             ADINRAMIRE               CO     90001976323
6821B956972B26   NEREIDA          PUGA-MORFIN              CO     33013999569
6821BA35955973   BRYON            MCCAIN                   CA     90010890359
68221A79A55975   JUAN             LOPEZ                    CA     48093060790
682226A183168B   TIJUANA          HARDWELL                 KS     22078816018
6822296732B27B   CONCEPSION       DEJESUS                  DC     81056099673
6822329292B27B   LUIS ALEXANDER   RAMOS MARTINEZ           DC     90014192929
6822343183168B   CODY             WINKLEMAN                KS     90001324318
6822352A391522   SANDRA L         DOMINGEZ                 TX     75073835203
682236A527193B   RONDA            WEIMAN                   CO     90002676052
6822376765416B   CHERRY           SMITH                    OR     47014717676
68225144672B27   LUZ              SALCIDO                  CO     33054711446
68225224A71921   RANDALL          MAXWELL                  CO     90010422240
68225364172B43   JAMES            HERRERA                  CO     33066433641
682265A2751354   WENDY            BLAIR                    OH     90008645027
68227315372B26   SANDRA           SANCHEZ                  CO     33065093153
6822759722B27B   PRECIOUS         PRAILOW                  DC     90012345972
6822772237193B   WASHBURN         RICHARD CALVIN           CO     32016487223
682284A9772B29   ERNESTO          LOZANO                   CO     90015144097
68228AA7A7193B   RODGER           COLE                     CO     32069700070
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 558 of 2350


6822941195B241   MARGARET     BRODLEY                      KY     90010844119
68229555872B26   LINDSAY      LOVATO                       CO     90010485558
68229AA573168B   MICHELLE     CHAPMAN                      KS     90011780057
6822B516172B36   NINFA        GONZALEZ                     CO     33013365161
6822B969271964   TIZOC        RODRIGUEZ                    CO     90011489692
6822B97745416B   KRISTAPHER   YATES                        OR     90006589774
68231761A57124   GLADIS       ROMERO                       VA     90005587610
68231A8524B268   APRIL        GUTHRIE                      IA     27050520852
6823251A38166B   MICHEALS     SIMS                         MO     90013055103
6823275955416B   JOHN         POPE                         OR     90012457595
68233259372B29   IVAN         RODRIGUEZ                    CO     90012542593
682335A434B27B   AYELEN       QUIRINO                      NE     90012245043
6823393A291535   TERESA       DURAN                        TX     90011009302
682357A327193B   RANDY        SCHNEIDER                    CO     32046317032
6823618224B588   MYTIEN       PHAM                         OK     90012721822
6823624734B231   IRMA         MORALES                      NE     90014132473
68236954372B29   ALEJANDRO    RIVAS                        CO     90000649543
68237153A91562   RUBY         GRANADOS                     TX     90008851530
68237898972B43   AUDRA        STARKS                       CO     33090668989
68237A5858166B   MICHAEL      BROWN                        MO     29010060585
682386A577B46B   THOMAS       FOUST                        NC     90014916057
6823946617B46B   ALLISON      RIVERA                       NC     90014764661
6823B17165416B   JESSICA      OCAMPO                       OR     47026161716
6823B28435B241   MARQUITA     JAMES                        KY     90014782843
6823B76157B46B   EDWARD       DOLAN                        NC     11068727615
6823B84417193B   ED           DORADO                       CO     32000918441
68241A2777B46B   DAMIEN       BENNETT                      NC     90010450277
6824215954B588   LONNIE       PLEMMONS                     OK     90014731595
68242314A72B26   NICOLE       HILTON                       CO     33046893140
682427A467193B   TIFFANY      CHAMBERS                     CO     90015187046
6824321117193B   KIONTE       WATSON                       CO     90010892111
68243231A91562   ARASELI      GONSALES                     TX     90000992310
68243712472B36   JAMES        ROZELL                       CO     90013637124
6824455A672B43   JOSE         OLIVAS                       CO     33015545506
6824464814B588   DANIEL       TORREZ                       OK     90011436481
6824499955B235   MARIA        GUTIERREZ                    KY     90010049995
68244A3368166B   ALLEN        GUM                          MO     90005290336
68244A8A17193B   HECTOR       ARMENDARIZ                   CO     90003080801
682455A1572B36   JOSE         QUIJADA                      CO     90012235015
6824584167193B   PAULINE      CRUZ                         CO     90010278416
682465A5572B26   MARIA        SALINAS                      CO     33001035055
6824681443168B   ISMAEL       OCHOA                        KS     22017198144
6824738695416B   RACHEAL      SPIELMAN                     OR     90003043869
68247467A61936   JAVIER       ALVAREZ                      CA     46017224670
68248581272B43   MARTHA       ACEVEDO DE SIERRA            CO     33064685812
682493A9A81644   MELLISSA     SHIGGS                       MO     90014513090
6824956684B588   JOSHUA       NEUGEBAUER                   OK     90009445668
6824994838166B   RUSSELL      ROSTE                        MO     90015309483
6824B37495416B   ALLEN        MATHER                       OR     90007603749
68251345A72B27   VERONICA     TORRES                       CO     33017883450
6825158842B27B   ROMERO       FIDEL                        DC     90005875884
68251751572B29   SHANTELL     GONZALES                     CO     90014877515
68251986572B26   ANGELINA     RODRIGUEZ                    CO     90014139865
68252227472B29   SARAH        SCHEULTZ                     CO     90001522274
6825233314B27B   KRISTIN      WALTON                       NE     90012703331
68253A6795416B   SHERON       MOORE                        OR     90012780679
682545A2272B26   MARTIN       PEREZ                        CO     33020035022
6825462427193B   JEREMY       FARRIS                       CO     90015286242
6825537565B241   MERIDA       RODRIGUEZ                    KY     90014763756
682555AA361991   GERRI        CANORA                       CA     90010005003
6825591497193B   ANTHONY      LOGAN                        CO     90003849149
6825612A57B46B   MICHAEL      CARR                         NC     90002131205
682573A225416B   TINA         LANE                         OR     90012853022
6825768427193B   CHRISTA      ABEYTA                       CO     90013676842
6825775665B235   TIMOTHY      TROWBRIDGE                   KY     90013827566
6825836625B241   SHELIA       PITNEY                       KY     90014763662
6825847197193B   NATHAN       PETTIT                       CO     90001894719
6825868A45B235   MARK         DUVALL                       KY     90011406804
68258A51355975   MARYLOU      LOPEZ                        CA     90014120513
682598A134B268   MARLENE      BARNES                       IA     90008728013
6825B161491522   SILVA        ALICIA                       TX     90005521614
6825B315A5416B   LAURA        OAKES                        OR     47084223150
6825B43157193B   JOHN         GRAVES                       CO     90012884315
6825B598771921   DELLA        MOORE                        CO     90000955987
6825B635691562   LUIS         GONZALEZ                     TX     75093236356
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 559 of 2350


6825B955751354   SARRA        ZIMMERMAN                    OH     66065839557
6825BA52981644   TYRAN        HILL                         MO     90015010529
6826121A155975   MIGUEL       VILLA                        CA     48067172101
68261391672B26   AMPELIO      MEDINA-VER                   CO     90012213916
6826197325B235   NANCY        JACKSON                      KY     90001629732
68262528587B31   SALVADOR     CARRANZA                     AR     28028375285
6826257A12B27B   LOLA         MONROE                       DC     90007635701
6826342634B588   VICTORIA     BARRINGTOM                   OK     90013634263
6826342A172B36   STEVEN       GURULE JR                    CO     33054794201
6826384445B241   JAMETRIA     JACKSON                      KY     68009048444
68263945772B26   TONY         SANCHEZ                      CO     90014659457
68263A5A54B27B   REBECCA      SALCEDO                      NE     90012000505
68264986872B36   DAISY        RIVERA                       CO     90003229868
68264988A5416B   FRANCETTE    COCANOUR                     OR     90012719880
6826533584B588   MICHAEL      WINTERS                      OK     90014933358
6826548145B235   KIMBERLY     BOLLING                      KY     68009614814
68265A5594B27B   SAN          LINN                         IA     90012050559
6826671A691942   MICHELLE     STOKES                       NC     90011427106
68266916872B29   MAURICE      WILLIAMS                     CO     90014279168
68266A83861964   BRAULIO      DIAZ                         CA     46062250838
6826773A27193B   NATASHA      ORRIS                        CO     90010957302
6826778A372B36   PATRICIA     GUYTON                       CO     90007997803
68268422A72B27   NANCY        JONES                        CO     33016474220
6826888A155973   OMAR         SALINAS                      CA     48029368801
6826973495B241   NORA         CASTANEDA                    KY     90008747349
6826977787B46B   TASHA        SHAKIR                       NC     90009417778
68269A3645B235   LARON        BELL                         KY     90011000364
6826B12517193B   AMBER        TORRES                       CO     90011031251
6826B584291363   MARIA        VITE                         KS     90003315842
6826B694A55975   ROSA         MAGANA                       CA     48010746940
6826B88292B27B   PAULA        SIMMONS                      DC     90007788829
68271237A7B46B   DANIELLE     DAYS                         NC     90010932370
68271549472B27   LAMONT       RICHARD                      CO     90010405494
6827157A45416B   TRAVIS       BEASON                       OR     47088765704
68272127872B43   BUNNY        MARTINEZ                     CO     90012401278
6827381747193B   ANTHONY      BLANCO                       CO     90013698174
6827524932B27B   CHAD         ROGERS                       DC     90014982493
6827548A972B26   JASON        WILLIAMSON                   CO     90014114809
68276257572B27   JESUS        RIVERA                       CO     90008702575
68276332172B36   MELVIS       AMAYA                        CO     90008883321
68276953A7B46B   CRYSTAL      PRESLEY                      NC     11012579530
682774A6572B27   ELIZABETH    SMITH                        CO     90005514065
68277A11471964   KAZARAY      RIECKHOFF                    CO     90013050114
6827821687193B   MARY         SEROTINI                     CO     90012612168
6827856577B46B   LAQUISHA     JONES                        NC     90003915657
6827892187B46B   LESHELLE     HAILEY                       NC     90004849218
6827928A491562   MARCUS       GANNISON                     TX     75045222804
68279387A7193B   SHARON       PATTERSON                    CO     90013363870
682795A8481671   BRANDY       MCDANIEL                     MO     90011535084
68279A6185B235   CHEQUINTA    BUTLER                       KY     90013810618
6827B751372B29   ROCHELLE     ELDRIDGE                     CO     90013697513
6827B774557142   JOSE         GUTIERREZ                    DC     90008717745
6827B954497127   YESINIA      GONZALEZ                     OR     90011569544
68281669872B36   MONICA       MEJIA                        CO     90007466698
68282558A91562   ANGELITA     SILVA                        TX     90008445580
68282A82A61964   ROB          MANCILLA                     CA     90012030820
6828421A151354   JEANETTA     SHORT                        OH     90006962101
68284274A91562   JUANA        GARCIA                       TX     75062892740
6828437A155975   GUSTAVO      FLORES                       CA     90008383701
68284842A7B653   MURIEL       ROBINSON                     GA     15013238420
68285A31355973   ERICA        BANUELOS                     CA     90014330313
68286575872B26   TERRANCE     SCHAFFER                     CO     90014815758
68286785172B29   MOSTAFA      NEHAL                        CO     33009177851
6828693A34B268   MELISSA      HARDNETT                     NE     27092259303
68287353972B29   RICHARD      TRUJILLO                     CO     33029293539
6828737A75594B   GUADALUPE    MORALES                      CA     90009253707
68287843672B27   ERIQ         WILMER                       CO     90012498436
68287A6138166B   DONOVAN      WHITE                        MO     90011680613
6828885585B241   ADDIE        HELM                         KY     68022888558
6828921A755973   LINSAY       SMITH                        CA     90013342107
6828925A44B588   SHONTAI      DHANANI                      OK     90012332504
6828B725A55983   MICHELLE     COCKERHAM                    CA     90013917250
68292556372B26   NAJAR        CLAUDETTE                    CO     33059495563
6829275564B268   TAMARA       SCHWID                       NE     27042667556
6829283A67B46B   RAJAIDAH     STRICKLAND                   NC     90009398306
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 560 of 2350


68292A69172B36   NIGUSSE          WOLDEMARIAM              CO     90012730691
6829316243168B   CHRISTINA        HOWLETT                  KS     90009701624
68293644A71921   FERNANDO         BERMUDEZ                 CO     32091886440
68296148872B43   CHARLES          EZELL                    CO     90014691488
6829659947193B   ANDREA           KNOEBEL                  CO     32096895994
68296785A71921   DAVENIA          WALKER                   CO     32002717850
68297139372B26   MARIA            CABAÑAS                  CO     33070991393
68297271A71921   DAVID            BROWN                    CO     90009952710
68297794872B43   FRANCISCO        VILLA                    CO     90010497948
6829785945B235   DESIREE          GIBSON                   KY     90013118594
6829842427B46B   MYNOS            HERNANDEZ                NC     90014894242
682984A7571921   CARMAN           PANNY                    CO     90006504075
6829876234B588   ROBERT           WEST                     OK     90011937623
6829994315B235   SARAH            IRELAND                  KY     90012269431
6829B169A55973   JOVANNA          NUNEZ                    CA     90011981690
6829B6A8671964   GIOVANNA         LABARTHE                 CO     32080316086
682B1151351354   BARRY            COBB                     OH     66014331513
682B17A8472B43   AMANDA           MORIELS                  CO     90012947084
682B181114B568   LADONA           WATSON                   OK     90010578111
682B1AA165B241   RHONDA           HIGGINS                  KY     68094810016
682B2168A72B36   STEVEN           CONLEY                   CO     90010131680
682B224734B231   IRMA             MORALES                  NE     90014132473
682B2911391562   ROXANA           SANTELLANES              TX     90011099113
682B3158361964   ELIZABETH        MONTEZ                   CA     90012321583
682B384532B27B   MICHEAL          FERREL                   DC     90014078453
682B3892572B36   CHRISTINA        HERNANDEZ                CO     90008948925
682B411A25B235   MARIO            MEDINA                   KY     90009421102
682B415A372B26   TRESSA           TULIAU                   CO     33036731503
682B444214B588   MISTY            WISHON                   OK     90015164421
682B4571672B29   MONICA           GOODS                    CO     33060915716
682B5662872B36   VICENTE          MASTACHE                 CO     33074526628
682B5A39555975   JUAN             ANDRADE                  CA     90013570395
682B6445951555   MATTHEW          MCDONALD                 IA     90013764459
682B65A6372B27   JOSE             RUIZ                     CO     33046605063
682B688517193B   JOSHUA           PIERCE                   CO     90013258851
682B6918671964   TIM              WOOD                     CO     90011569186
682B6947741258   JIM              SCOTT                    PA     90010269477
682B716647B46B   ANA              GALLEGOS                 NC     90014481664
682B73A244B588   JOSHUA           SALLASKA                 OK     90012703024
682B73A8A61964   NAMCEE           GRIFFIN                  CA     90009443080
682B747767193B   MICAH            QUARLES                  CO     90005234776
682B8385272B43   DOMINIC          JOHNSTONE                CO     90013553852
682B8611251354   SANDRA           MAICHLE                  OH     90013396112
682B8879721781   KEONSHAE         LOFTON                   IL     90013088797
682B8935372B29   FRANCISCO        SERVIN                   CO     33092319353
682B8A3594B27B   KHAMIS           KHAMIS                   NE     27079070359
682B8AA7355973   ROSARIO          SANCHEZ                  CA     90005680073
682B9283351322   ROSA             MATA                     OH     90004102833
682B997845B235   WILLIAM          LUNSFORD                 KY     90013299784
682BB243371964   KACHONNE         WILLIAMS                 CO     32049262433
682BB47A355975   ALEJANDRO        GARAY                    CA     90013034703
682BB786157538   LUCAS            GRIFFITH                 NM     90012247861
68311391572B27   ERNESTO          GUTIERREZ                CO     33067953915
683121A7631495   MARY             CORRELL                  MO     27589061076
68312297A7B46B   KATANJA          HALL                     NC     90008482970
68312353272B43   TERESA           GARCIA                   CO     33009163532
68312A2825B241   ANTONIO          MARTINEZ                 KY     90006330282
6831325212B27B   SHERLESHA        FENNER                   DC     81056202521
68313258472B26   KARINA           ARREOLA                  CO     90011242584
68313691A7193B   EARON            BOLTON                   CO     90000256910
68313695A72B93   ERICKA           CASAREZ                  CO     90012926950
6831481724B588   SHAWN            ANDERSON                 OK     90008098172
68314928272B43   DREZAE           PULLMAN                  CO     90013999282
68315328872B43   THERESA          KING                     CO     90011123288
683154A6771964   ASHLEY           SANTONI                  CO     90010984067
68315993372B29   ROSENDO          HERRERA-RAMIREZ          CO     90000939933
6831695923168B   MARIA            CASTILLO                 KS     22037229592
68316993472B27   ABRAHAM ROBERT   GUZMAN                   CO     90013259934
68317285372B43   MICHAEL          PACE                     CO     90013982853
6831734A12B27B   SALAM            NICKENS-EL               DC     90009043401
68317A6658166B   STEVEN           SPRADLEY                 MO     90010150665
6831971778B186   BRIAN            GAVIN                    UT     90008187177
68319A46A4B588   MELISSA          CARRASCO                 OK     90010760460
6831B4A185B241   CHRISTY          SMITH                    KY     90014774018
6831B796771964   ANTHONY          JONES                    CO     90009147967
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 561 of 2350


6831B96286B244   STEVEN       TORRES                       AZ     90014149628
6832162325416B   LARRY        CARDIEL                      OR     90012006232
683219A1A76B71   MATHEW       SANGER                       CA     90004789010
683219AA683289   PAT          LUCAS                        TX     90012989006
68321A97491562   IRENE        GRANADO                      TX     90002480974
6832258A772B27   OCHOA        EMMANUEL                     CO     90011085807
6832277A471921   MARCO        RODRIGUEZ                    CO     32022657704
6832326167193B   CARLOS       LOPEZ                        CO     32043732616
683232A8155975   NANCY        LOPEZ                        CA     90009412081
68323341A4B588   MICHAEL      ESPARZA                      TX     90007243410
6832421497193B   GERONIMO     LOPEZ                        CO     32020202149
6832521424B27B   JENNIFER     REEDER                       NE     90009832142
6832537894B588   KAYCI        DAUGHERTY                    OK     90005563789
68326693A36167   LORETTA      NAVARRO                      TX     73589786930
68326A23A4B268   TONY         ALEXANDER                    NE     90007940230
68326A63691562   NADIA        DAVILA                       TX     90014070636
68327627197B42   SUSANA       CHAVAZ                       CO     90014476271
6832821234B27B   JASON        KIRBY                        NE     27011762123
6832B15897B46B   HISELA       DUNLAP                       NC     90014051589
6833166664B588   VIRGINA      GROVES                       OK     21597236666
68331A68A5B241   TERRA        RICHARDSON                   KY     90009790680
6833215954B27B   MICHELE      KOUDOU                       NE     27044821595
683324A2A93735   ROSELYN J    ARIAS FERNANDES              OH     90007464020
68332AA157193B   DANNY        ADAMS                        CO     90013250015
6833455757193B   FRANK        PACHECO                      CO     90013305575
68334582154B81   ANDY         CRAFT                        VA     90015515821
68334866472B27   RICARDO      PASILLAS                     CO     33084928664
683351A474B268   DABOSS       HENRY                        NE     27052681047
683351A9A2B27B   SANDRA       COLEMAN                      DC     90010011090
68335355572B27   ANGEL        RAMOS                        CO     90010803555
6833542487193B   SIERRA       SALVADOR                     CO     90015104248
68335587372B43   CHARLES      MONTOYA                      CO     90008865873
6833573274B22B   EVA          MARTINEZ                     NE     90006397327
68335A92691998   CHANELL      ELLERBEE                     NC     90005690926
6833679A351354   YESENIA      DE LUNA                      OH     90003227903
6833745947B46B   ROGELIO      ALBERTO                      NC     90014834594
6833749483168B   DAVID        MCKINNEY                     KS     90012764948
68337629A2B27B   MIESHA       LEONARD                      DC     90013526290
6833896685B235   SOSA         DIONISIO                     KY     90015219668
6833911655416B   JENIFER      PENLAND                      OR     90007001165
68339685172B26   KASHI        BARAL                        CO     33078396851
6833B377971964   ANNISHIA     MARQUEZ                      CO     90014753779
6833B51853168B   KEN          ERXLEBEN                     KS     22090875185
6833B522581644   CHANDRA      DENISE                       MO     29034705225
6833B883172B87   JAIME        MARTINEZ                     CO     90010398831
6834161975B241   CHELSEY      COYLE                        KY     90014776197
68341A13A4B588   MICHELLE     LUNN                         OK     90014140130
6834261795416B   LEAENN       LONG                         OR     90013966179
68342838A4B27B   SUSANA       RODRIGEZ                     NE     90009518380
6834323664B588   APRIL        ELLIFRITT                    OK     90004282366
6834358867B46B   NOE          HERRERA                      NC     90009785886
6834384538166B   CLAUDIA      ONATE                        MO     90012098453
683439A6A5B235   JASMINE      CARANTO                      KY     90014059060
6834445675B235   TROY         ADAMS                        KY     90011854567
6834453315B241   MATTHEW      STEPHENS                     KY     68009085331
68344597A72B29   ROBERT       SOLORIO                      CO     90009645970
6834546654B27B   ALBERTINE    KING                         NE     90012074665
6834552754B268   TYRELL       NUNN                         NE     27017275275
68346768A7193B   BRIGHT       STAR                         CO     90012307680
68347196572B29   JAMIE        CLIBURN                      CO     90003981965
68347271772B36   RENE         ROGEL AVELAR                 CO     33074092717
6834782315B235   LARRY        BINGHAM                      KY     68098688231
68348372572B43   NANCY        OKEEFE                       CO     33086063725
68349253872B36   HEATHER      QUEZADA                      CO     90013122538
6834935822B27B   ASHLEEY      LANE                         DC     90012263582
6834B21A15B235   JENNIE       WALKER                       KY     90014852101
6834B29638166B   JAIR         MELENDEZ                     MO     29015052963
6834B474541262   SAVANNA      RUSSELL                      PA     51011424745
6834B551655975   MARIA        CORTEZ                       CA     90010335516
6834B624472B26   DEVIN        ALVAREZ                      CO     90015156244
6834B69A74B27B   DONALD       DURANT                       NE     27096686907
6834B835391562   DIANA        CALAMARO                     TX     90007908353
6834BA7A172B43   KATHRYN      LOYD                         CO     33046210701
68352577A61964   LUIZ         ACOSTA                       CA     90013105770
68352587A91562   ALVARO       MARTINEZ                     TX     90011485870
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 562 of 2350


6835263232B27B   JAMAL             WALKER                  DC     90012336323
6835269434B588   TAMARA            PRIETO                  OK     90012426943
68352AA475B241   JENNIFER          DURBIN                  KY     90012950047
6835375632B27B   REYNA             DIAZ                    DC     90012367563
6835399777B46B   JUAN              ARELLANO SANCHEZ        NC     90006539977
68353A37393726   HYDRICK           HOLCOMBE                OH     90008160373
6835532382B535   TENISHA           SLACK                   AL     90008943238
6835578324B27B   DALE              STARRY                  NE     90011337832
683558A554B588   KENN              MCSPERITT               OK     90012638055
68355A27171921   BRANDI            BACHECHI                CO     32033400271
68356267A7B398   PEDRO             MAYEN                   VA     90004762670
683564A7A71921   CRAIG             COURTNEY                CO     90007844070
68357142A72B43   MICHELLE          IACOVETTA               CO     33009171420
6835731A972B27   JOHNNY            LOPEZ                   CO     33046713109
6835792987B46B   DAISY             BROOKS                  NC     90014019298
6835912247193B   OLGA              JASSO                   CO     90009021224
68359724772B49   AREFANE           ARAYA                   CO     33062207247
6835983A797B42   JUSTIN            SCHULER                 CO     90014158307
6835B971772B27   JESSICA           ESPINO                  CO     90015229717
68361672A55973   VIANEY            MORENO                  CA     48081926720
68363244972B27   SHURYL            HOLLAND                 CO     90012912449
6836336315B241   LTOSHA            WATTS                   KY     90014783631
68363A42A5B235   JOESPH            LEE                     KY     90013930420
683644A8471921   CAROLINE          URIAS                   CO     32028604084
6836515464B588   LINDA             JACKSON                 OK     90005541546
68365228972B26   XOCHIL            CANCHE                  CO     90012872289
68365554672B36   ANNA              MURPHY                  CO     33058885546
68366218572B26   RICARDO           LOPEZ                   CO     33098082185
6836636915B241   LATRICE           SPENCER                 KY     90014783691
6836669A751354   ANGELA            DUNCAN                  OH     90008646907
68366A72772B36   SHANEL            SEGURA                  CO     90014780727
683671A7A81644   VICTOR            TORRES-MURRILLO         KS     90012391070
68367629672B27   GISELA            LOPEZ                   CO     90012896296
6836772554B268   KIMBERLY          BOOTH                   NE     27085207255
68368592572B26   PAYGO             IVR ACTIVATION          CO     90013555925
6836878A355975   OLIVIA            HERNANDEZ               CA     90008607803
6836885377B46B   PEDRO             ROJAS                   NC     90012278537
68368948972B29   NANCY             MENDOZA                 CO     90013139489
6836964328166B   DALLAS            ROSE                    MO     90015516432
6836968863168B   HEATHER           PRAY                    KS     22006686886
68369749872B26   MARIA MARGARITA   VALDEZ                  CO     90012147498
6836983858166B   TRICEY            BROOKES                 KS     90003398385
68369A11571921   SERGIO            QUIJAS                  CO     90014180115
6836B369172B27   MARTIN            RIOS                    CO     90014153691
6836B491955973   MELYNDA           BASKOVISH               CA     90015114919
6836B61394B581   TERRY             LAHTI                   OK     90007596139
6836BA52171921   LISA              ANDERSON                CO     32051660521
6836BA52A5416B   JOSHUA            ROCKWELL                OR     90014790520
6837126675B235   KENDRA            SMITH                   KY     90008782667
6837137765B241   CORRY             FORD                    KY     90014783776
68371812572B26   VALERIE           CARRILLO                CO     90013388125
68372294972B36   BENJAMIN          SAENZ                   CO     90011042949
6837278255B235   STEPHEN           HINDMAN                 KY     90014567825
68372A78772B27   SANDY             HENDERSON               CO     33097070787
6837395527193B   CINDY             MORELAND                CO     90007819552
68373962A72B26   CASSANDRA         HINOSTROZA              CO     90013159620
68373A23251354   DARLENE           TUCKER                  OH     90010970232
68373A43461964   JONATHAN          ORIGEL                  CA     46025810434
6837436A17B46B   CHEMISE           LEGETTE                 NC     90009833601
68374383A5B241   DEQUITA           FRANKLIN                KY     90014783830
68374AA5361964   MARIO             PANTOJA                 CA     46048820053
6837584327193B   EDGAR             VALDERRAMA              CO     90010168432
683763A4151354   KRISTEN           WARREN                  OH     90003233041
683764AA855973   LUCINA            SALDANA                 CA     90013354008
6837764947B46B   KIAMBU            RICHARDSON              NC     90012596494
68377A48155973   KATIE             VELASQUEZ               CA     90005950481
6837929517193B   LORENZO           ARCHULETA               CO     32008152951
68379658A5B241   ROSHONDRA         MCNEAL                  KY     90011116580
6837985948166B   JERI              WATSON                  MO     90014898594
6837B37114B588   LAURA             RINCON                  OK     21580133711
6837B373A5B241   MELINDA           HARKLESS                KY     90014783730
6838154A572B27   SOLANGE           DUARTE                  CO     33032585405
68381826872B27   SOLANGE           DUARTE                  CO     90013778268
68381937A5B241   JAMI              ALCOCER                 KY     90013069370
6838289AA57538   JOSE              SALAS                   NM     35562368900
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 563 of 2350


68383367A5B235   JAMINA          MACCLEAN GONZALEZ         KY     90005073670
68383412172B29   ANASTASIA       ESPINOZA                  CO     90009554121
6838518868B54B   BASILIO         CABALLERO-MILAN           CA     90015061886
6838544AA91998   HOLLI           MCKINNIS                  NC     17092494400
6838619494B965   JOHN            SATCHER                   TX     76539641949
68386686672B43   CARMEN          MARTINEZ                  CO     90004146866
6838669845416B   DIANA           BROWN                     OR     90013966984
68386A41A4B27B   FELIPE          PADILLA                   NE     90015310410
68386A49A55973   NORA            ZAMORA                    CA     48054590490
6838757A42B27B   HENRIETTA       M TRAMMELL                VA     81056235704
68387584472B36   MIGUEL          HAYWOOD                   CO     33026375844
6838826614B27B   WILLIAM         MARTZ                     NE     27016102661
68388587A55973   MARIA           GONZALEZ                  CA     90013165870
6838896455416B   JACKSON         DAVIS                     OR     90014159645
6838978A371964   MARIA           RAMOS                     CO     90013307803
683897A224B27B   MICHAEL         COY                       NE     27059427022
6838B475271921   MICHAEL         KIPP                      CO     90014594752
6838B856A72B26   STEVEN          MARTINEAU                 CO     90003258560
6838B992472B43   MARIA           GARCIA                    CO     33072809924
6839116983B352   DARA            HOULISTON                 CO     90014051698
68391A2624B268   ALFREDO         CORONA                    NE     90009370262
6839262897B49B   MILTON          ESCALANTE                 NC     90013496289
68392A9364B588   CHRISTY         BOWIE                     OK     90014540936
68392AAA54B27B   JACOBIE         ROSS                      NE     27083800005
6839365695B375   MICHAEL         HAWRONSKY                 OR     90010316569
683937A2585689   CRUZ            GOMEZ                     NJ     90002827025
6839472A172B29   DELPHINE        MITCHELL                  CO     33098127201
68394931172B26   MARIA           RIVERA                    CO     33045289311
68395A74355973   COREY           VALASQUEZ                 CA     90013630743
6839632A65B375   SYBIL           DONLEY                    OR     90010503206
68396575772B43   ANNA            FLEMING                   CO     90011975757
6839692244B268   CLYDE           ROBBINS                   NE     27063179224
6839767582B27B   TIMOTHY         ROUNTREE                  DC     90011106758
6839948997193B   SAGE            SADOWSKI                  CO     90014094899
6839B953685835   LISA            NGUYEN                    CA     90003819536
683B1686951354   TIMOTHY         LEGGETT                   OH     90014576869
683B179A13168B   VICTOR          MORALES                   KS     22011947901
683B214967193B   AMBER           LANZA                     CO     90012371496
683B224114B27B   COURTNEY        ROSE                      NE     90015022411
683B225533168B   CLIFTON         HOWLETT                   KS     90009282553
683B2966771921   MANUEL          PORTILLO                  CO     90013289667
683B2AA8471964   JAMES           RIDDLE                    CO     90011380084
683B348535B241   STANLEY         ALMON                     KY     68005634853
683B3489A7193B   BRIAN           CHERRY                    CO     90012834890
683B357A172B43   ARMANDO         GRAJEDA                   CO     90001235701
683B3656461936   IVETTE          PINEDA                    CA     90003696564
683B3742955975   SHEYLA          RINCON                    CA     90012707429
683B454134B27B   ANNIE           ALFORD                    NE     27072925413
683B4926391562   YADIRA          MEDINA                    TX     90010759263
683B4A89A72B36   MANUEL          ROMERO                    CO     90013450890
683B5252472B26   BLANCA          FLORES                    CO     90011242524
683B5763597B64   NICOLE          FRIAS                     CO     90011387635
683B5973972B26   IGNACIO         GUTIERREZ                 CO     33059719739
683B5974871921   JAMES           MAYNARD                   CO     90012609748
683B627773168B   THOMAS          LEWIS                     KS     90012282777
683B654A15416B   SEAN            PIERCE                    OR     47028755401
683B7251791522   MATTHEW         ALMANZAR                  TX     90005522517
683B745A971964   KATHLEEN        O MALEY                   CO     32034944509
683B7465451354   JENAFER         FABER                     OH     90010894654
683B74A185B241   CHRISTY         SMITH                     KY     90014774018
683B7645877359   JENNIKA TASHA   DAVIS                     IL     90005436458
683B797A491527   ROBERT          HENSLEY                   TX     90010699704
683B8183781644   JESSICA         ROUTH                     MO     90011201837
683B82A3372B36   GUADALUPE       VENEGAS                   CO     90007602033
683B8433871964   SORA            LOPEZ                     CO     90001344338
683B853955B241   SADE            DORSEY                    KY     90013645395
683B862765B241   SADE            DORSEY                    KY     90012426276
683B892145416B   MARIA           LOPEZ ZAVALA              OR     47024079214
683B936815416B   JENNIFER        ASSINK                    OR     90014473681
683B94A185B241   CHRISTY         SMITH                     KY     90014774018
683B9652471921   ARTEMIO         ALVARADO                  CO     90013556524
683B9A34671921   JUNE            MCKENNA                   CO     90015030346
683BB395A51322   ANTHONY         BUNTIN                    KY     90001353950
683BB687551354   DANIEL          MEADOR                    OH     90009146875
683BB719672B43   LINA            LIGGINS                   CO     33068837196
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 564 of 2350


683BB7A378B355   ANNA             SILVA                    SC     90015377037
683BBA4A955975   ERICA            ESPARZA                  CA     90004150409
683BBA81171921   JOSE             TOLEDO                   CO     90013980811
68411A72992833   CAROL            GRIFFIN                  AZ     90014320729
68412647A31449   JULIE            DELAPAZ                  MO     90008646470
6841279985B235   LACIE            GLAAB                    KY     90014627998
684137AA671964   JSANAE           HOCKADAY                 CO     90013077006
6841396328166B   DARNIECE         JOHNSON                  MO     29001019632
6841415342B228   RHASHELIA        OUTING                   DC     90011531534
6841415A891562   ISRAEL           RODRIGUEZ                TX     90013391508
6841454167193B   NICHOLE          GONZALEZ                 CO     90001355416
68414A72772B36   SHANEL           SEGURA                   CO     90014780727
6841567A961964   ALEXIS           BARRERA                  CA     90014856709
68415AA473168B   SERGIO           TREVIZO                  KS     90006510047
68416263A61964   JOANNE           CASILLAS                 CA     90013172630
68416781A5B241   SHERRY           MONROE                   KY     90003397810
6841775895416B   CELESTE          THALHAMER                OR     90013377589
6841866987193B   JOSEPH           JOAS                     CO     90010876698
684187A344B588   SABRINA          GABRIEL                  OK     90014437034
684188A6472B26   EDGAR            GONZALEZ                 CO     90000428064
6841B37114B588   LAURA            RINCON                   OK     21580133711
6841B938171921   ROBBIE           GARRETT                  CO     90013959381
6842142A15416B   MISTY            DAVIS                    OR     90012564201
6842165862B27B   RITA             KERBAJ                   DC     90012336586
6842192588166B   DEYSI            MENJIVAR                 MO     90009189258
684228AA672B29   LETICIA          GUTIERREZ                CO     90012898006
68422954472B26   CASSIE           TWIGGS                   CO     90014409544
6842429834B588   TIMOTHY          KUYKENDALL               OK     90015092983
6842489177B445   PETER            BANNOR                   NC     90001828917
68426115772B43   LES              BROWNING                 CO     33064311157
6842612717193B   TONYA            MCDONALD                 CO     90006991271
68426516172B29   NINFA            GONZALEZ                 CO     33013365161
684275A735B241   REGINA           PALMER                   KY     90014785073
6842765794B27B   KATHLEEN         LETITA                   NE     90011096579
6842784A741272   JULIA            STEWART                  PA     51061808407
6842815158166B   JONATHON         SNELL                    MO     90010911515
6842819654B268   CIEARA           SELLERS                  NE     90008741965
6842844A872B36   RENE             CHAVEZ                   CO     90011094408
6842852975B241   REGINA           PALMER                   KY     90014785297
6842947595416B   SORCCIA          FORRESTER                OR     47091714759
6842B221191525   ELIZA            MURO                     TX     75077912211
6842B555671964   KEYLA            GARCIA                   CO     90014695556
6842B772655975   JORGE            CAMPOS                   CA     90014987726
6842BAA1172B26   JUANA            ROMAN-HOLGUIN            CO     33059960011
68431294472B43   DANIELLE         HIGSBY                   CO     33063082944
6843273464B27B   JOSE             HERRERA-HERNANDEZ        NE     27073137346
6843276A94B588   STEPHANI         SUNIGA                   OK     90011407609
68432911A71921   CRYSTAL          BETZ                     CO     90013649110
68432A5567B46B   MIGUEL           MEDELLIN                 NC     90013320556
6843349768B169   EVELIN           CATALAN                  UT     90012644976
6843368717B46B   SHIREE           MCCRORY                  NC     90008096871
6843396938B589   CLAUDIA          ORTIZ                    CA     90014939693
6843442634B292   COURTNEY         FROIEN                   NE     90011424263
6843453445416B   AMBER            DAVIS                    OR     47047895344
68434757A7B46B   NICOLE           NEWSOME                  NC     90007837570
6843544AA5416B   MARBELLA         VASQUEZ                  OR     90015314400
6843599484B27B   AMANDA           ROMERO                   NE     90010559948
6843971347193B   MARIA            MUNOZ-VAZQUEZ            CO     90012337134
6843971AA71964   CAROL MICHELLE   LONG                     CO     90013047100
68439888697B42   JESUS            ZAVIALA                  CO     90014058886
6843B149472B43   NICOLE           BERNAL                   CO     90014461494
6843B228A3168B   PETE             VICKONOFF                KS     90011792280
6843B693355975   SANTIAGO         CANO SEFERINO            CA     90014996933
6844112A955935   LUCIANO          MEZA                     CA     90012411209
6844118A23168B   ALAN             DANFORD                  KS     90008121802
6844134A34B268   STACY            HUDSON                   NE     27015513403
68442411A4B588   ARIEL            REEVES                   OK     90007274110
6844257734B588   QUINYIETTA       WELLS                    OK     90014525773
68442584587B31   JANICE           MATHIS                   AR     28063735845
6844351472B269   NATALYA          LEE                      DC     90012945147
68443A44851354   TERESA           BLACK                    OH     66014960448
68443A48472B36   ANGELA           KENT                     CO     33043890484
6844435697193B   TODD             HENSON                   CO     90001703569
68444639372B27   JAVIER           TORRES                   CO     90012536393
68444A4214B27B   BRENDA           LOTT                     NE     90014620421
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 565 of 2350


6844586472B27B   LAURA        SMITH                        VA     90015328647
68445A3437B46B   KOUAMI M     FIADJIGBE                    NC     11038790343
6844613844B588   DARIONTE     RENTIE                       OK     90013821384
68446314A2B27B   ANGIE        DEMPSEY                      DC     90001583140
68446688772B36   GUILLERMO    MAGANA CISNEROS              CO     33044056887
68446759272B43   TOM          MCKIMMY                      CO     33009177592
6844757945B52B   SHIRLEY      IRELAND                      NM     90002595794
6844794235B241   CHASE        WEBB                         KY     68034469423
684479A125B241   DAMIYA       TOOLEY                       KY     90015179012
6844841387193B   REBECCA      LANGNER                      CO     90013284138
68448889872B27   JUANA        HERNANDEZ                    CO     33049208898
68448A26A81644   LINDA        MARTINEZ                     MO     90010790260
6844924414B27B   RUBI         ROBLES                       NE     27010052441
684494A3672B36   FANNIE       NKHOMA                       CO     33092484036
6844975815416B   PAYGO        IVR ACTIVATION               OR     90015067581
68449A46A91562   FABIAN       FRIAS                        TX     75088690460
6845151957B46B   JOSE         MARTINEZ                     NC     90007915195
68451598A55973   ANDRES       OCHOA                        CA     90003895980
68451A21881644   DAVID        BRENT                        MO     90013240218
68451A48591562   EDITH        BARRON                       TX     90001040485
68452873972B27   ELAINE       BUI                          CO     33096638739
6845322A75416B   SASHA        ANDERSON                     OR     90012542207
68453289A4B588   GAY          VANTUYLE                     OK     90001402890
6845389955416B   PEDRO        BELLOZO                      OR     47005578995
6845426155416B   JEFFREY      HANKS                        OR     90013822615
684543A2255973   JASON        HACKLEY                      CA     90006873022
68454A27761944   V.I.P        TOWING                       CA     46030480277
68455326872B26   GINA         ALLAN                        CO     33017323268
6845578134B27B   DESTANY      MINOR                        NE     27005297813
68455A3A25B235   ANTHONY      BYRD                         KY     90012020302
6845667674B532   DYMOND       NOLAN                        OK     90011626767
68456A22A8B563   MELINA       ARZATE                       CA     90014320220
68457594272B29   YAJAIRA      CHAVIRA                      CO     90012865942
6845768647193B   GENA         WILLIAMS                     CO     90013966864
68457785172B43   MOSTAFA      NEHAL                        CO     33009177851
6845865784B588   AIMEE        TAYLOR                       OK     90014916578
68459124872B26   VICTOR       MEDINA                       CO     90015211248
6845988A671964   CHERRY       SHEPHARD                     CO     90013938806
6845B13492B959   BEATRIZ      BUENDIA                      CA     90013941349
6845BA1A584392   NERI         AGUETA                       SC     19060300105
6845BA84161964   BRIAN        COBARRUBIAS                  CA     90014980841
684618A8A4B27B   AZUCENA      VILLAGOMEZ                   NE     90014908080
6846234737B761   ROBERTO      RAMIREZ                      CA     90014233473
68463196A93762   ROBERT       MUSGROVE                     OH     90002431960
6846355A55B241   CARMEN       MANZANAREZ                   KY     90000705505
6846377A15B235   MEGAN        IGNATOW                      KY     90006197701
6846425282B27B   KIM          NELSON                       DC     90009522528
6846442254B588   OLGA         ROBLES                       OK     90002254225
68465A96772B36   ESTRELLA     SALDANA                      CO     90014240967
6846625164B27B   TIM          BOLLINGER                    NE     90013642516
6846635A355973   AMBER        RUIZ                         CA     48000573503
6846686625416B   GAIL         SHERMAN                      OR     47084258662
684675A1881245   DAMIANA      VENTURA                      IN     90015375018
684678A5572B43   BOBBY        HUMPHRIES                    CO     33071958055
6846796645B241   STEVEN       SOEDER                       KY     90014789664
6846897415B241   BRANDY       HENDERSON                    KY     90014789741
6846928748166B   PORFIRIO     ULLOA                        KS     90011782874
6846955A272B36   ZENAIDA      PEDROZA                      CO     33098405502
6847137934B27B   ESTEBAN      GUERRERO                     NE     90011973793
684713AA872B29   MONICA       CORONEL                      CO     90012543008
68471882772B36   CARLOS       REYES                        CO     90003238827
6847318394B268   MELISSA      BUXTER                       NE     27081951839
6847337934B588   TAMMY        NICHOLSON                    OK     90009813793
68473646572B43   LAURA        PANTANO                      CO     33013726465
6847369183168B   JUSTIN       HOWARD                       KS     90011796918
6847458A561936   BRENDA       LEYVA                        CA     90008775805
6847497415B241   BRANDY       HENDERSON                    KY     90014789741
684749A1555973   RICARDO      FLORES                       CA     90014329015
68474A47461964   IRENE        LOZANO                       CA     90012840474
684751A7881644   JOYA         TRICE                        MO     29010411078
68475A48657538   AXAR         REYES                        NM     90005160486
684761A833168B   NINA         WISDOM                       KS     22069901083
6847635A55B241   BRUCE        CROSBY                       KY     68007383505
68477995A8166B   CHARLOTTE    BARNES                       MO     29007069950
68477A7224B588   JOYCE        WOODS                        OK     90009170722
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 566 of 2350


68478767672B26   MICHAEL       ZEITER                      CO     90013977676
68478A51355973   ALFONSO       GARCIA                      CA     90006840513
6847939A34B268   DENISE        URQUHART                    NE     27063453903
684793A8281644   MICHAEL       BANEY                       MO     29063283082
68479656272B26   LESLIE        TORRES                      CO     90007956562
6847B213772B43   PABLO         RANGEL                      CO     33079732137
6847B79993168B   NORMA         MURRELL                     KS     22081077999
6847B854491522   RAMON         RODRIGUEZ                   TX     90009628544
6847B9A5572B36   SAMUEL        HACHMEISTER                 CO     90008709055
68481A27171921   BRANDI        BACHECHI                    CO     32033400271
68482142A81644   SEAN          MITCHELL                    MO     90012601420
684823A3172B29   ZOE           CLAIR                       CO     90012543031
6848261614B27B   LOIS          JACKSON JONES               NE     27054286161
68483612572B26   ROCCO         LAROCCA                     CO     90001576125
68483A6915B235   AL            BOWENS                      KY     68026660691
6848487847193B   RICHARD       SPENCE                      CO     90012608784
6848688947193B   ROBERT        HERNANDEZ                   CO     32060968894
6848692374B27B   FRANCISCO     VALADEZ                     NE     90012549237
68486A67272B36   BRIANA        MARTINEZ                    CO     90011920672
68487177572B36   MENDEZ        JUAN                        CO     33029991775
68487578A5B241   CAROLYN       SEELEY                      KY     68016005780
6848774695B235   JULIA         LOVE                        KY     90007797469
68487A6622B27B   ESTHER        TAKANG                      DC     90012580662
68488188172B62   CHRIS         VANWAVE                     CO     90011781881
6848822293168B   CANDICE       DAVIS                       KS     90001102229
68488594572B26   DEBRA         LORNES                      CO     90012935945
684887A637B46B   ADELFO        CHAPARRO                    NC     90011337063
6848894814B27B   JOHN          TRUESDELL                   NE     27020849481
6848B119372B26   DEBRA         KIDD                        CO     90013851193
6848B571276B69   JONATHAN      ORDONEZ                     CA     90013555712
6849123A25416B   ELIA          MERCADO                     OR     90006082302
6849186529193B   HORACIO       CHAVEZ                      NC     90011638652
68492975872B36   JULIO         TORRES                      CO     90012089758
68493444872B27   CHRISTINA     MARTINEZ                    CO     33091554448
6849384A572B43   RAENELL       HERRERA                     CO     90014808405
6849442565B235   LAUREN        RAMIREZ                     KY     90012704256
6849458587193B   BRYSON        DEWBERRY                    CO     90013065858
68494A73781644   ERNESTO       BABRBOSA                    MO     29033980737
68495132A4B268   HELEN         BURTON                      NE     90003881320
6849592382B27B   BOBBY         TABRON                      DC     90008779238
68495A2747B46B   NAASUS        OIZIRBA                     NC     90014340274
6849657675B235   DONALD        LAMBERT                     KY     90013605767
684966A7A91562   YOLANDA       ELIZONDO                    TX     75044876070
68496964A72B27   AMAYA         ESTES                       CO     90014359640
68496A61855973   FLOR          PERALTA                     CA     48043380618
6849778655416B   BRANDAE       SHANNON                     OR     47023907865
6849796278166B   CALLIE        BANKS                       MO     90011959627
684981A2272B43   JUAN          PAYAN-HERNANDEZ             NM     33062191022
68499474672B36   WALTER        ANAYA                       CO     90012484746
68499588472B29   RAYMOND       GARCIA                      CO     90013395884
68499827A81644   TERESA        TAYLOR                      MO     90012888270
68499A1895B241   ELIZABETH     WOODS                       KY     90014790189
6849B26A551354   EBONY         LEDFORD                     OH     90013482605
6849B298961936   KATHY         ROBERTS                     CA     90012002989
6849B872472B27   OLIN          CLARK                       CO     90010678724
6849B89A955973   ROBERT        DILBECK                     CA     48084208909
6849BA1725B241   JOHN          ELLIOT                      KY     90014790172
684B1389591562   ALEJANDRO     DE SANTIAGO                 TX     90013903895
684B2148272B29   JUAN MANUEL   ALVARADO                    CO     90012001482
684B398A371964   JOSHUA        MOLER                       CO     32081579803
684B433495B241   AMANDA        GOOTEE                      KY     90002063349
684B445A72B27B   ALEXIS        FORD                        DC     90014884507
684B4491381675   JOHANNY       ORTEGA RODRIGUEZ            MO     90002484913
684B4883684392   ROBERT        GRUBER                      SC     19015858836
684B5121355973   CHRISTINA     RAMIREZ                     CA     48050741213
684B5128372B29   DANTE         PAGLIASOTTI                 CO     90015091283
684B5398A2B27B   TYNICE        POWELL                      DC     90007833980
684B543925B241   TIFFANY       SIEBOILD                    KY     90014784392
684B554374B268   CYNTHIA       JEFFRIES                    NE     90010575437
684B5629A4B27B   ROBERT        DAVIS                       NE     90000216290
684B6965A97B36   ADRIAN        ANGALA                      CO     90015169650
684B793373168B   SOPHIA        THOMAS                      KS     90013699337
684B8313171964   KIMBERLEE     STEWART                     CO     32083453131
684B834A88166B   BARBARA       LYNN                        MO     29097373408
684B8758261979   DAVID         GARCIA                      CA     90012737582
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 567 of 2350


684B8996972B43   SYLVESTRE      MARTINEZ                   CO     90007869969
684B952585B53B   GABRIELA       BARRIGUETE                 NM     90012005258
684B9A6172B27B   VINCENT        CHERRY                     DC     90015180617
684BB25A355973   AMYMARIE       MARTINEZ                   CA     90014352503
684BB41885B241   CHARLES        TANDY                      KY     90014784188
684BB42954126B   MARY           CVETAN                     PA     51090914295
68511794872B43   FRANCISCO      VILLA                      CO     90010497948
6851194687193B   HENRY          WAFER                      CO     90010149468
6851225663168B   JULIANA        MONDROGON                  KS     90012372566
6851317765416B   ERUBIEL        MORENO                     OR     47015761776
685133A1484392   DIANDRA        WALKER                     SC     90004363014
6851365A172B36   MARIA          BARRAZA                    CO     90009616501
6851399A972B43   SEDRA          FREDRICK                   CO     90013249909
68514197A55973   ELIZABETH      ESPINOZA                   CA     90014951970
6851432424B588   STEPHANIE      FRANKLIN                   OK     90012883242
68514482A91562   MAYRA GRISEL   VARGAS                     TX     90011024820
68514A28872B29   SELENA         DURAN                      CO     90011460288
68514A75A72B43   CLAUDIA        GONZALEZ                   CO     33092850750
6851593A572B43   MARY           TANSEY                     CO     33068299305
68517826472B29   JOVANNA        MALDONADO                  CO     90011868264
6851841487B46B   ALEJANDRO      VIDALES                    NC     90012674148
6851859982B27B   JEANNELLE      LANE                       DC     90011175998
68519189A87B31   DWIGHT         RILEY                      AR     28089441890
6851926A85B235   CHAD           NEWBY                      KY     68074242608
6851B194872B27   DEBBIE         HARDY                      CO     33073901948
6851B441971921   CLYDE          LEHMKUHL                   CO     90005154419
6851B71885B241   ZACHARY        FITZ                       KY     90014597188
68521161772B43   ERIKA          CAMBELL                    CO     90007261617
68521963172B29   RITA           BALDIBIESA                 CO     90014069631
68522293472B26   ROBERT         COPE                       CO     33031382934
68522392A61936   ALEX           SANCHEZ                    CA     90003393920
6852239875B235   MICHAEL        LOPEZ                      KY     68002613987
68522A53881644   CHRISTINA      WILLIAMS                   MO     90006600538
6852411155416B   STEVE          INNESS                     OR     47048051115
6852474497193B   JAVIER         ESTEBAN                    CO     90009767449
68524A16355973   ROSELINE       FLORIS                     CA     90007020163
68524AA234B27B   JAHANA         GRACE                      NE     27091720023
6852532255B235   ALAN           RIVERA                     KY     90010933225
6852598797193B   ADAM           WELCH                      CO     90008559879
685273A3861964   FELICIA        ARZATE                     CA     90014723038
685275A217B46B   NATASHA        MARTIN                     NC     90013845021
6852788335B235   DIAMOND        STRINGER                   KY     68071998833
6852796A54B568   JENNIFER       VAUGHN                     OK     90011729605
68527A8252B27B   FRANKLIN       TORRES                     DC     90012950825
68527A86597B39   SANDRA         BRAVO                      CO     90012720865
68528453472B27   TANIA          HERRERA                    CO     90010864534
68528A63A71964   ANA            MARTINEZ                   CO     90004510630
68529265A5416B   DEREK          KIVETT                     OR     90012902650
6852977A45B241   CARA           JACOBS                     KY     90014787704
6852B612971964   DONALD         JANKOWSKI                  CO     90013086129
6852B86824B27B   PATRICIA       CORONADO                   NE     27002978682
6853138125416B   SABRINA        FLAGOR                     OR     90015003812
6853152585B235   TAMMIE         ORTIZ                      KY     90013265258
6853162344B268   SHARON         LEE                        NE     27082156234
68531726A5B235   PATRICIA       BASHAM                     KY     68025577260
68531A11161964   MERCEDES       MANZANO                    CA     90012140111
68531AA877193B   RODOLFO        CORONA                     CO     32036440087
6853268852B27B   PAUL           WILLIAMS                   DC     81030656885
6853291345416B   JEFFREY        SMITH                      OR     90010249134
68534392A61936   ALEX           SANCHEZ                    CA     90003393920
68534769172B36   JENNIFER       WEBB                       CO     90012757691
6853612414B588   NIKIE          MENIFEE                    OK     90003051241
6853672A27193B   NICHOLAS       TAYLOR                     CO     90012377202
68538659297B57   KIMBERLY       PONCE                      CO     39027896592
6853874364B588   WANDA          EDMUNSON                   OK     90010057436
685393A4855975   DAVID          CHAVEZ                     CA     90011253048
6853943925B235   KAYLA          FEY                        KY     68063604392
6853965494B268   SEAN W         KENNY                      NE     90003236549
6853969434B588   TAMARA         PRIETO                     OK     90012426943
68539922472B43   GENAVIE        SISNEROS                   CO     33068189224
6853B123272B27   MARIA          CARRILLO-VALENZUELA        CO     33092281232
6853B25195B241   T              SLOAN                      KY     90013512519
6853B28A455973   SAMANTHA       MOYA                       CA     90014002804
6853B527391562   ALEJANDRO      LOPEZ                      TX     90003435273
68541352372B36   RUBEN          MARQUEZ                    CO     90008993523
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 568 of 2350


68541516176B71   HAIDEE       FUNES                        CA     90000165161
6854188397193B   AUSTIN       THURSTON                     CO     90012758839
6854251527193B   JEROME       WYRWA                        CO     90001525152
68542546972B26   ARBELL       JUAREZ                       CO     90011565469
6854265494B268   SEAN W       KENNY                        NE     90003236549
68542751272B43   ANGELES      RAMIREZ                      CO     33009407512
6854333224B27B   CRISTINA     LOFTIS                       NE     27084503322
68544262372B26   YURI         MORENO                       CO     90012062623
6854469232B27B   LATANYA      JONES                        DC     90010936923
685453A6255975   JOSE         SANCHEZ                      CA     90010983062
68545432672B29   APRIL        TRIMBLE                      CO     90012834326
6854547325B241   KATRINA      MCKENZIE                     KY     90005884732
68545688A81644   STEVEN       BRINKLEY                     MO     90006406880
68545A35872481   KELLY        HEGENSTALLER                 PA     90005030358
6854612425B241   LAMONT       WALTON                       KY     68009201242
6854613AA72B27   SUSAN        SELBE                        CO     90000151300
6854664588166B   DONALD       DONATO                       MO     90014676458
68546A79155973   KRISTEN      ROBINSON                     CA     90013200791
68547196A91522   ANGELA       TREJO                        TX     90002731960
6854789225416B   JUSTIN       KITRELL                      OR     90013938922
6854864834B27B   ERIC         BAULDWIN                     NE     27000656483
68549278872B26   MEGAN        BROWN                        CO     90014742788
6854B172272B29   JENNIFER     SCHREINER                    CO     33096661722
6854B269481644   KIARIS       BROOKS                       MO     90015192694
6854B468A7193B   WALTER       BUTLER                       CO     32012744680
6854B895231476   SUSAN        BARBER                       MO     27500998952
6854B918771921   FRANCISCO    BELTRAN                      CO     90011499187
685513A3372B26   LEONELL      CEBALLOS                     CO     90014753033
6855217A261964   CINDY        SOTO                         CA     46018951702
6855297697193B   YADIRA       RICO                         CO     32061779769
68552999172B36   ZACHARY      COMPTOM                      CO     90015169991
68553315172B43   MICHELE      PAQUETTE                     CO     33021153151
6855336562B244   EOLUS        DAVID                        DC     90011363656
68553A28671921   CARLOS       FERREIRA                     CO     90008990286
68553A4972B27B   ELVINO       HENDERSON                    DC     90003800497
6855449862B27B   JORGE        JANDRES                      DC     90005514986
68554A17A72B27   VERONICA     PILLADO                      CO     90011130170
68554A7A571921   MANUEL       ALONZO JOSE                  CO     90009040705
6855522A172B27   VINCENT      TRUJILLO                     CO     90014692201
68556678272B36   TINA         NELSEN                       CO     33067966782
685574A485B53B   ISIDRO       CASTANON-RODRIGUEZ           NM     90003534048
6855752A272B29   MIZRAIN      PLIEGO                       CO     90012855202
68557721872B36   JUSTIN       PAYNE                        CO     90014867218
6855791715B241   JOYCE        DUNLAP                       KY     90002889171
68557A25A41259   TIFFANY      MONTGOMERY                   PA     51026140250
68557AA9361936   AURORA       DEMETRIO                     CA     90006680093
6855831663B34B   ERIK         LUJANO                       CO     90011233166
68558A2398166B   GORGE        MENDEZ                       MO     90009960239
6855943494B588   MARIA        CERNA                        OK     21595364349
6855B264557121   SYED         SHAH                         VA     90010062645
6855B72A251354   STEVEN       BOHANNON                     OH     90015117202
6855B92994B268   VAALELE      VILI                         NE     90004359299
6855BA41961964   CHAITANYA    WAGH                         CA     90012260419
68561144A7193B   LUZ          VALDEZ-ABOYTES               CO     90011031440
6856159918166B   LISA         WHITE                        MO     90009095991
6856182395B235   DAVID        BLUNKALL                     KY     90014998239
6856188A272B27   CARLOS       GONZALEZ                     CO     90000958802
6856249157B46B   KEITH        HANKERSON                    NC     11086044915
68562A1644B588   JAMES        REYNOLDS                     OK     21576710164
68562A3A24B268   STEVE        STASTNY                      NE     27089330302
68563252497B42   EDGAR        ALLMPYDA                     CO     90014732524
6856327932B27B   ROMAN        JACINTO                      DC     81098152793
6856419A972B26   JUANA        ARMIJO                       CO     90012511909
6856429644B268   DANA         WEBSTER                      NE     27042722964
6856437215B581   REBECCA      MESQUITA                     NM     90010243721
6856443925B241   TIFFANY      SIEBOILD                     KY     90014784392
68564744572B43   ADRIAN       YANKANA                      CO     33017517445
6856549985B241   ALBERTO      CASTILLO                     KY     90003954998
6856592A971964   JOSE         HERNANDEZ                    CO     90007439209
68565A68297B39   FELICIA      SORIA                        CO     90009480682
68566658A85953   LUIS         HERNANDEZ                    KY     90012436580
68566859972B26   EVA          PINEDA                       CO     33081668599
68567A27581644   JESSICA      BROWN                        MO     90005000275
6856833A972B26   CARLOS       PEREZ                        CO     90014193309
685683A684B588   RAFE         DEHART                       OK     90011313068
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 569 of 2350


685695A895B235   DONALD            MCGREW                  KY     90015015089
6856B19764B268   CHRISTOPHE        YEARLEY                 NE     27042721976
6856B33112B959   LARRY             WALKER                  CA     90008003311
6856B6A8991562   GUY               VROMAN                  TX     90012346089
6856B941972B27   MIKE              RODRIGUEZ               CO     33042419419
6857113634B562   TORINA            BROOKS                  OK     90004641363
68571A83781675   MICHAEL           CASTILLO                MO     90003410837
68572654A72B26   MICHELLE          ORTIZ                   CO     33068656540
685733A467B46B   LATEEFAH          RAHMAN                  NC     11084383046
68574235772B27   LINA              GARCIA                  CO     90015112357
685743A184B27B   JONELLE           KNIGHT                  NE     90011113018
6857471A35B235   SHILOH            MOUNT                   KY     90012697103
6857638125416B   SABRINA           FLAGOR                  OR     90015003812
6857681A871921   JUSTO             GONZALEZ                CO     32055478108
6857783615416B   KATHERINE         FREAS                   OR     47065298361
68578251872B49   DAVID             HERNANDEZ               CO     90010002518
68579A4A147924   TYLER             HERRINGTON              AR     90011210401
6857B259184392   AUBREY            ANDREWS                 SC     90009872591
6857B428972B36   SHERLOCK          AMBER                   CO     33081124289
6857B613571964   CECIL             NEVINS                  CO     90011576135
6857B724472B26   GILBERTO          HERNANDEZ               CO     90008437244
68581A99791525   CARMEN            RETANA                  TX     90012090997
685823A9172B26   SHEMITRA          WILLIAMS                CO     90011243091
68582A1595416B   ROBIN             CARTER                  OR     47077220159
68582A65A7B46B   JAMES             OGLESBY                 NC     90010670650
6858421A772B26   DOLORES           MUNGUIA                 CO     90014212107
6858494A671964   TONYA             LICIAGA                 CO     32003719406
6858582144B588   JENNIFER          DEAL                    OK     90009798214
68585A1695416B   MARY              HERNANDEZ               OR     90006880169
6858617317B46B   DISNEY            MEJIA                   NC     90013881731
68586392672B2B   JOSE              PREZA                   CO     90002303926
6858675165416B   ROB               RYAN                    OR     47021047516
685872A784B268   MATTHEW           KUCERA                  NE     27079442078
68587314172B36   FRANCIS           SHERWOOD                CO     33051703141
6858763557193B   SONNY             ARNOLD                  CO     90012766355
68587934372B26   GLORIA            GONZALES                CO     33062129343
6858794A671964   TONYA             LICIAGA                 CO     32003719406
68588734972B26   ANDRES            MOLINA                  CO     33040477349
6858878125B241   JOHN              WAGGNER                 KY     90009927812
6858896454B588   LATONYA           HOLLOWAY                OK     21547789645
6858B156357358   SATEEN            LOPEZ                   MO     90012271563
6858B3A684B588   RAFE              DEHART                  OK     90011313068
68591652A93771   ROBERT            WHITE                   OH     90007346520
68591A95657538   MARIBEL           MORENO                  NM     90005350956
6859223844B268   BRENDA            CULVER                  NE     27084042384
6859227A72B949   JUAN              GONZALEZ                CA     90007912707
685923AA761936   DONA              BURNS                   CA     90010573007
68593547672B43   ELI               PIERCE                  CO     90010375476
68593623772B36   JAZIMINE          NAZARRO                 CO     90011376237
6859387242B524   GLORIA            EDWARDS                 AL     90010948724
6859438A684392   JERRY             GRANT                   SC     90012343806
68594A2A54B588   CHARRON           HARDING                 OK     90013470205
68594A75791965   LILIA             RAMIREZ                 NC     90012450757
68595A9265B235   CAROL             WELTY                   KY     90002860926
68596A1867B46B   ROBERT            CUTRIGHT                NC     11018020186
6859779367193B   CHAKETHA          CADNEY                  CO     90010087936
6859862415B241   TAMMIE            MILLER                  KY     68094886241
6859978A755975   AGUSTIN           SOLANO                  CA     90013787807
68599A86491522   LEROY             SHELDON                 TX     75018350864
6859B194A5B241   SAUCEDO RAMIREZ   MA ROMUALDA             KY     90014791940
6859B57467B46B   MARIA             ESCOBAR                 NC     90014415746
6859B998A71921   FRANCESCA         MARTIN                  CO     32015319980
685B1566A81644   NICOLAS           GUTIERREZ               MO     90010255660
685B163265416B   SUMMER            GORDON                  OR     90001546326
685B1954272B27   GABI              VALDEZ                  CO     33064509542
685B237A151354   SHAKEIL           BOYD                    OH     90011083701
685B2442A4B588   MICHAEL           WEAVER                  OK     90014874420
685B2859A72B27   REBECCA           ANDRADA                 CO     90013088590
685B2913991522   CARLOS            MELENDEZ                TX     90012629139
685B292685B235   MEGAN             MORRIS                  KY     90014949268
685B3183161984   RAFAEL            CARVAJAL                CA     90004711831
685B3245872B36   BEV               NOWAK                   CO     33056052458
685B3799671921   CHRISTINE         DALY                    CO     90010657996
685B4143771964   LOURDES           PLASCENCIA              CO     90015201437
685B42A7881644   TONEA             JOHNSON                 MO     90004812078
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 570 of 2350


685B479294B27B   AIDEN            GAUGHRAN                 NE     90010357929
685B4A1985B241   PRISCILLA        FERRELL                  KY     90014790198
685B4A21572B43   LAURA            SAMPSON                  CO     33057570215
685B4A87772B27   STACY            SCHAIBLE                 CO     90013360877
685B5599372B26   SHANE            LUCERO                   CO     90012485993
685B575AA5B241   JULUAN           SMITH                    KY     90009477500
685B5842398B4B   MELINDA          JUAREZ                   NC     90002448423
685B62A537193B   LAURA            RODAS                    CO     32062542053
685B7396771921   KARINE           ROLFE HART               CO     90010163967
685B7526361964   ANTONIO          MARTINEZ                 CA     90011875263
685B7554771964   BLANCA           HERNANDEZ                CO     32055615547
685B778894B588   MILTON           JOHNSON                  OK     21517177889
685B7858751334   DONYELLE         WORKMAN                  OH     90014508587
685B8171155973   JESUS            ACUNA                    CA     90007931711
685B8193771964   ANGELA           ZITO                     CO     90013731937
685B841674B588   DAVID            CALDERON                 OK     21579854167
685B9117784392   NELSON           COTTOM                   SC     90008991177
685B924A991562   VERONICA         SAENZ                    TX     90013252409
685B938725B235   TEIMIKA          HUNT                     KY     90015073872
685B941385B235   TEIMIKA          HUNT                     KY     90015074138
685B94A994B588   DAWN             BRIGGS                   OK     90014314099
685B9577351354   QUINISHA         CARPRNTER                OH     90015015773
685B9AA897193B   MATTHEW          OWEN                     CO     90011440089
685BB61372B27B   LAKISHA          THOMAS                   DC     90011146137
685BB88A671964   CHERRY           SHEPHARD                 CO     90013938806
685BBA5AA7193B   TUCKER           SMITH                    CO     90015030500
6861189737B46B   REYNA            LUNA                     NC     90010438973
68613176572B43   HILARIE          RUARK                    CO     90012391765
68614561672B27   MICHAEL          MALONE                   CO     90014725616
68615585672B26   NORMA            SANSAVAS                 CO     90014495856
68615A6894B27B   DAVID            JOHNS                    NE     27070980689
68616635972B26   LISA             RAMIREZ                  CO     90002096359
68616816A72B43   DAVID            BOHN                     CO     90009578160
68616A12371964   JOESPH           TAYLOR                   CO     90008270123
68617424A72B43   JOSE             MONTOYA                  CO     33046044240
686177AA94B27B   JOSEPH           NEUMEISTER               NE     90005107009
6861831485B235   MISBAH           ZEHRA                    KY     90004163148
68619754972B26   HECTOR ALFONSO   CARTAGENA GALDAMEZ       CO     90010877549
6861984382B27B   JOHN             ADAMS                    DC     90013918438
6861B497671921   OLGA             LOPEZ-DELA PENA          CO     90010164976
6861B6A3A5B241   ERICA            HOWARD                   KY     90002626030
6861B884491562   GEORGINA         MURGA                    TX     90006318844
6862138557B472   TYONDRA          BASS                     NC     90006023855
68621A34291234   SUSAN            WILLIAMS                 GA     90012010342
68622137372B27   VIRGINIA         LORETO SIBIRIAN          NM     33048451373
68622394A72B43   AARON            MARES                    CO     90013883940
68623241172B36   JUAN             ORTEZ RODRIGUEZ          CO     90007622411
68623444472B43   JAMES            BOSS                     CO     90004954444
6862348297B46B   BARENDA          MAUNEY                   NC     90015024829
686234A7672B27   GABRIELLE        LATHROP                  CO     90008574076
68624779A72B36   VANESSA          MASCARENAS               CO     90014867790
6862484515B235   MARY             PETTY                    KY     68099568451
6862494354B27B   MIKE             JONES                    NE     90006909435
68624AA295416B   JAMES            NASON                    OR     47035220029
68625635A57595   URSILA           PAZ                      NM     90013946350
68625846A2B27B   CIERA            PETERSON                 DC     90013918460
686259A455B235   VERA             DOW                      KY     90001519045
6862652453168B   TRENTON          HARDER                   KS     90011805245
686266A3A55975   ROSA             GARCIA                   CA     90007296030
68628127A7B398   ANGEL            MEJIA                    VA     90006851270
68628A79972B26   FRANCISCO        ORTEGA                   CO     90004790799
6862965134B27B   DANIELLE         STROH                    NE     90006766513
68629653A71921   WALTER           GUNN                     CO     90002156530
6862B17134B268   THOMAS           WIGGINS                  NE     27088571713
6862B352271964   KARA             THOMAS                   CO     90001353522
6862B462451354   SHAUN            SMOOT                    OH     90013054624
6862B674197B57   BOBBIE           SMITHEY                  CO     90012166741
6862B697A5B235   CHERYL           BUSH                     KY     68012816970
68631633472B26   PARTIDA          RUBEN                    CO     33058876334
6863174142B27B   VICTORIA         BROWN-GRAHAM             DC     90014667414
68631A2617B46B   WILLIAM          BIRCH                    NC     90014370261
68631A28272B27   CASSIE           BRICKELL                 CO     33039310282
686321A674B27B   CALVIN           DUNN                     NE     90005281067
6863222A63168B   CARLA            BATTERSHAW               KS     22029202206
68632561A51354   ERIC             ENCARNACION              OH     90013635610
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 571 of 2350


6863347615B241   INGIA               STEWART               KY     90009294761
6863349814B27B   MEGAN               ROLLINS               IA     27015294981
6863365618166B   RANDY               WARMAN                MO     29063396561
6863367845B235   SAMANTHA            GILHAUS               KY     90013986784
6863425977B46B   YOLANDA             BROWN                 NC     90014752597
68635329472B26   ORTGEA ORTEGA O R   RUBEN                 CO     90011243294
6863546997B46B   ELLEN               RUSHING               NC     11062704699
6863568922B27B   PABLO               CRESPO                DC     90012636892
68635893772B26   MARIA               DIAZ                  CO     33091238937
68635A4A67193B   SWAYER              CORINNE               CO     32063620406
6863614297193B   DANIELA             TERIFAY               CO     90014501429
6863624215B235   RICHMOND            BOOKER                KY     68023772421
68636A69751354   CHRIS               THOMAS                OH     66016000697
68637977972B36   URIAH               BIDLACK               CO     90012089779
686383A8772B27   JESUS               VALLES                CO     90004813087
68638484872B27   JESUS               VALLES                CO     90012074848
6863B295372B36   ALYSSA              REDFERIN              CO     90013622953
6863B324571964   RODRIGO             ALVARADO              CO     32082843245
6863B81622B27B   TONYA               LUCAS                 DC     90004728162
6863B921971924   ANTHONY             OLVERA                CO     90013209219
6864227215B241   QUINTON             WOODS                 KY     90014792721
68642A94572B27   LATOYA              CHAVEZ                CO     90015330945
686434A5A5B241   RICHARD             GIVIDEN               KY     68026644050
68643A98691562   ALEXIS              CHACON                TX     90012500986
6864478337B46B   RHONDA              CALDWELL              NC     90013377833
68644A63255973   DAVID               RIVAS                 CA     90012840632
68645448A4B588   BRANDI              JONES                 OK     90011554480
686454A5A5B241   RICHARD             GIVIDEN               KY     68026644050
6864554717B46B   GUADALUPE           TRINIDAD              NC     90003265471
68646388272B26   GABRIEL             BARRERAS              CO     33035903882
6864673275B241   DAVID               HUTCHINSON JR         KY     68014337327
68648731972B43   EVON                CADMAN                CO     90010037319
6864896855B235   MICHELLE            WELLS                 KY     90013079685
68648A66972B29   ALONZO              HERRERA               CO     90011470669
6864941A755973   MARTIN              MARTINEZ              CA     90008344107
6864B19325416B   MICHAEL             PARTEE                OR     90014781932
6864B479161559   MANDEL              WARE                  KY     90013084791
6864B491A71921   THOMAS              PLOREY                CO     90014914910
6864B556172B26   TASBIR              AHMED                 CO     90011565561
6864B81597B445   VALENTIN            CORREA GUERRA         NC     90011648159
6864BA39272B29   JOSE                ROJAS                 CO     33034040392
6865177224B588   TEROGYNE            BROOKS                OK     90008817722
68651818A8B355   ANNETTE             ROBERTS               SC     90015348180
6865231914B27B   KARIN               JELEN                 IA     27018413191
6865266387193B   ISRAEL              CEBALLES              CO     32004786638
6865281A241299   MIKE                BRINKO                PA     90004648102
68652A1787B46B   SHAQUITA            MOOREHALL             NC     90015440178
6865339942B27B   DIAMOND             MITCHELL              DC     90014923994
6865373645416B   TYLER               VERGAMINI GORBY       OR     90013007364
68653A79591562   FLOR                HOLMES                TX     75027890795
6865452534B588   MARQUITTA           HOUSTON               OK     21552785253
68654A5174B588   LAQUITTA            ANDREWS               OK     90004170517
68654A8144B27B   SHARON              DINEEN                NE     90007750814
6865575113168B   DAVID               THOMPSON              KS     22094927511
68655AAA584392   JAMES               BRYANT                SC     90010640005
68656221772B36   JENNIFER            BARSI                 CO     90014092217
6865671714B588   LASHONE             HALEY                 OK     21502017171
68656975572B26   HARVEY              GUERRERO              CO     33033549755
68657366A55973   EDGAR               CISNEROS              CA     90011413660
6865767814B27B   LISA                RAYNA                 NE     90012386781
686576A5261924   APRIL               LOGGINS               CA     90010576052
68657754772B29   JOLINA              MONTOYA               CO     90009177547
6865783417B46B   JOSE                RUBIO                 NC     90010338341
686587A995B241   STEVEN              WESLEY                KY     90003047099
68658A15251555   KEDAWI              WELDESLASE            IA     90014530152
6865963A172B27   KAROLINA            QUIJADA               CO     33091996301
6865B427972B29   OSCAR               GONZALES              CO     90007924279
6865B47A691562   SMOKEY              BOY                   TX     90001484706
6865B82375B235   ANTOINE             LESLIE                KY     90014978237
6865B887671964   PAOLA               RIVERA-SANCHEZ        CO     90015108876
6865BA2A172B43   CATHERINE           ADAIR                 CO     33035050201
6866131515B235   BARBRA              TROWELL               KY     68001833151
68661662A2B27B   DANIELLE            BROCK                 DC     90012766620
68661783772B36   PHILIP              BARRY                 CO     90014997837
686623AA17B46B   REBECCA             HAINES                NC     11057283001
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 572 of 2350


68662674197B57   BOBBIE         SMITHEY                    CO     90012166741
6866279317193B   JOYCE          KRIVDA                     CO     32079417931
68662A17776B54   JUAN           CRISTOBAL                  CA     90003980177
68663568A7B445   IRIS           ARGUETA                    NC     90008795680
6866377263168B   ROBERT         SIDEBOTTOM                 KS     90011807726
6866416877B46B   ALETHIA        WILLIAMS                   NC     90015071687
68664758A91562   1599           PEREZ                      TX     75058257580
6866528835B241   JAMES          JONES                      KY     90007922883
68665358A91522   JEFF           ZIMMERLY                   TX     75082343580
6866694237B46B   PARKA          VANDERHOLTSEN              NC     90001049423
68666AA5291527   MARIA          BRISENO                    TX     90013740052
68668142A81644   DEBORAH        JOHNSON                    MO     90015311420
68668528872B43   KAROLINA       LUNA                       CO     90011345288
686685A7136B35   REYMUNDO       FELIPE                     OR     44569555071
68668677A3168B   JAMES          HORNER                     KS     90009716770
6866876497B451   MARTHA         FUENTES FLORES             NC     11066647649
6866976494B588   TRACEY         GORDON                     OK     90010937649
68669A1952B27B   VERNON         ALSTON                     DC     90013380195
6866B264591998   JOSE           RAMOS                      NC     90001262645
6866B317A5B241   TANA           WALKER                     KY     90014793170
6866B349A71921   BERNARD        WASHINGTON                 CO     90012833490
6866B949281644   VERONICA       MCKAY                      MO     90003999492
686712A4A91522   MARCIA         GONZALEZ                   TX     90001412040
68671339872B36   MICHAEL        MELTON                     CO     90015273398
686719A635133B   STEPHANIE      CARNES                     OH     90011849063
6867234372B27B   SHINIQUA       BRADY                      DC     90010263437
6867236265B241   ALICIA         PARRISH                    KY     90014793626
6867268222B27B   KAMILLA        HARDEN                     DC     90014666822
6867421547193B   ALFREDO        CEJUDO                     CO     90008572154
6867437A75B241   CONELIA        TAYLOR                     KY     90014793707
6867517147193B   CHRIS          TEASDALE                   CO     90012671714
68675239572B36   ULISES         BELTRAN                    CO     90010902395
68675AA215416B   MICHELLE       HUDSON                     OR     90013450021
6867637525B241   JESSICA        HENRY                      KY     90014793752
68676A22561936   MICHAEL        LOAIZA                     CA     90003400225
68677A83781675   DAVID          WORKMAN                    MO     90013480837
68678393A5B241   MELINA         RASGADO-JUAN               KY     90014793930
68678A8977B46B   MAHRAN         ABUDULLAH OMER             NC     11075380897
6867929A272B29   ESTARO         WHITE HORSE                CO     90014102902
6867931A92B949   ERIK           DIAZ                       CA     45060813109
6867B249972B26   STETSON        CARLSON                    CO     90007302499
6867B2AA372B29   BILLIE         PRINGLE                    CO     90012932003
6867BA87572B43   LEONARDO       MARTINEZ                   CO     90011250875
68681266A7B329   CARLOS         LOPEZ                      VA     90001432660
68681323A71921   CAULINE        ARMSTRONG                  CO     90014713230
6868185754B588   EMILY          HELTCEL                    OK     90010948575
68681A9A97B46B   JOSE LUIS      GARCIA                     NC     90012800909
68682A93172B36   TYLER          ASHLEY                     CO     90014030931
6868318425416B   RAUL           TAVARES                    OR     47055711842
6868339254B268   GERARDO        NAVARRO                    NE     27097843925
6868375A755973   JOSUE          ROBLEDO                    CA     90009997507
68683789A5B581   BERNAN         ROSS                       NM     90012347890
6868444A771921   RUIZ SANCHEZ   EDITH BERTINA              CO     90007074407
68684691A72B26   MICHELLE       HATCHET                    CO     90011486910
6868477485416B   NICOLE         FLORES                     OR     90003697748
68684929A61964   ELIZABETH      TORRES                     CA     90002499290
686856A1672B27   CRYSTAL        MARTEL                     CO     33032376016
6868643A93B725   ZACHARY        KRACMER                    WY     90015454309
6868727485B536   FABRICIO       CACERES-AYALA              NM     90007242748
6868727794B268   YVONNE         GALE                       NE     90001542779
686876A215B241   KENNETH        HUDGINS                    KY     68063836021
6868887287B46B   LECITA         MASSEY                     NC     11069888728
686888A9A51388   CHARLES        ADDEI                      OH     90007738090
6868892A991562   AARON          MENDOZA                    TX     90013349209
686893A1872B36   MARIBEL        MANRIQUEZ                  CO     90015113018
6868944585B241   CANDACE        SCOTT                      KY     90014794458
68689A67A61936   GUS            PONCE DE LEON              CA     46086550670
6868B518821625   DAVID          HARRIS                     OH     90015385188
6869176453168B   ARGELIA        ROBLES                     KS     90007217645
6869187194B268   JORDAN         HAWKINS                    NE     90008748719
686918A8251354   KATIE          FELIX                      OH     90013178082
6869284477B46B   DANIEL         YOUNG                      NC     90006628447
6869321117193B   KIONTE         WATSON                     CO     90010892111
6869393244B27B   TAMMI          EICHELDERGER               NE     27076819324
68693A4A472B43   ROSENDO        QUIROGA                    CO     33023800404
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 573 of 2350


6869465765B241   GABRIELA      GUTIERREZ-CARRASCO          KY     90013266576
68695536A91522   FERNANDO      FERNANDEZ                   TX     75002455360
6869558727B46B   ANTOINE       HUNT                        NC     90011395872
6869564954B588   DEBBIE        STARK                       OK     21507096495
68695A47161964   BEVERLY       SAENZ                       CA     46092380471
68696733372B27   PAUL          REEDY                       CO     33057247333
6869742618166B   JUSTIN        COOPER                      MO     29072824261
686983AA391562   MIGUEL        ALEJANDRO                   TX     90010523003
686987A7581644   JOELLA        BENNETT                     MO     29030937075
68698864972B26   BENNY         SANCHEZ                     CO     90000428649
686993A928166B   DANISC        MACKIU                      MO     90006633092
6869983665B235   JOHN          DAVIS                       KY     90006098366
686B1199A91522   ADALBERTO     TORRES                      TX     90002411990
686B155A55B241   CARMEN        MANZANAREZ                  KY     90000705505
686B1588271921   JAMIE         GARCIA                      CO     90013185882
686B2869772B26   ERNESTO       PENA                        CO     90014528697
686B28A864B268   JERONIMA      CUELLAR                     NE     90014938086
686B28A9871964   BRYAN         ALBRIGHT                    CO     90008278098
686B34A7681644   CHRISTINE     ROGERS                      MO     90012264076
686B3561684392   ALMA          LEON                        SC     90006385616
686B3615272B26   COREY         OSBORN                      CO     90014086152
686B3755571921   DORINDA       GOODWIN                     CO     32000047555
686B3911A2B27B   KEYANDRA      QUEEN                       VA     81056469110
686B398245416B   TOSHA         CASSIDY                     OR     47090159824
686B433417193B   MARISSA       REYES                       CO     90014893341
686B44A8191522   JUAN          ROSALES                     TX     75025374081
686B4574851354   EBONY         GOODWIN                     OH     90010385748
686B4616A91998   JUAN          CARLOS                      NC     90014696160
686B476857193B   CHRISTOPHER   HOPKIN                      CO     90014047685
686B4778371964   REVA          HALL                        CO     90013237783
686B4A77972B43   CALEB         PLYTER                      CO     90014480779
686B4A83891562   YADIRA        MUNOZ                       TX     90011820838
686B5835172B26   KATHLEEN A    WEISS                       CO     33001908351
686B589225716B   RAFAEL        ESCALANTE PALOMINO          VA     90006828922
686B6191851323   JAMES         KELLY                       OH     66075341918
686B622535B241   DESHEIKA      JOHNSON                     KY     90014792253
686B6272172B43   MARIA         HERRERA                     CO     33019062721
686B664855416B   ASHLEY        MCCARTHY                    OR     90013006485
686B72A513B347   RODRIGUEZ     GLORIA                      CO     33008472051
686B7335551354   CHANDRA       FAIRBANKS                   OH     90010003355
686B7881A55975   MARGARITA     TAPIA                       CA     90015058810
686B8A13272B26   GREAG         GARCIA                      CO     90015320132
686B959694B23B   ELIZABETH     REIDA                       NE     90009995969
686B9991484392   SHERRIE       MELLING                     SC     19076329914
686BB125551326   BYRON         MORRIS                      OH     90005591255
686BB22385B241   MICHELLE      DUNCAN                      KY     90014792238
686BB62A37193B   LANEIA        LAKE                        CO     32045226203
68711A3558166B   BRENDA        LANG                        MO     90015270355
68712837A61964   ROBERT        MINCEY                      CA     90012498370
68713A2232B27B   SELVIA        MOORE                       DC     90008960223
68713A3355B235   PANGANIKA     LASHLEY                     KY     90014500335
68713A72672B26   PERII         DESHLER                     CO     90012100726
6871416957B46B   NICOLE        DOMINGUEZ                   NC     90010671695
687149A3572B36   DAN           LOVATO                      CO     33051749035
687151A3A4B588   DAVIS         SHAWN DOUGLAS               OK     90011121030
68715314A5416B   CHRISTINE     BRENT                       OR     90013083140
6871539A572B26   LOURDERS      ALBA                        CO     90001203905
68715661A81644   JASON         MCPHERSON                   MO     90013536610
6871568A172B29   TRACY         KAST                        CO     33015156801
68716242A6155B   TIFFANY       BRITTENUM                   TN     90015372420
687164A547193B   JOE           WHITEHEAD                   CO     90014144054
68716A72172B29   THERESA       ROMERO                      CO     33000350721
68717678172B36   MERCEDES      POKORNY                     CO     90007806781
68717792A5416B   MISTY         SOLOMON                     OR     90003697920
6871797A94B588   MARISSA       WATSON                      OK     90013299709
68717A8614B588   MARISSA       WATSON                      OK     90011420861
68718126272B36   YOIRK         KIMBERLY                    CO     90008081262
6871882495B241   DIANDRA       BETTS                       KY     90010078249
6871972675B235   ALONTE        BROCK                       KY     68012597267
68719818A72B26   PACO          LEAL                        CO     33020958180
6871999282B27B   SHANELLE      HUMPHRIES                   DC     81000519928
6871B135372B36   KELLY         DUNCAN                      CO     33005741353
6871B89443168B   MARVIN        PHILLIPS                    KS     22002368944
6871B92937B46B   CRISTIAN      LAGUNAS                     NC     90010429293
6871B98A94B588   AMBER         WILCOX                      OK     90010819809
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 574 of 2350


6871BAA9A72B29   JANET        CRUZ SANTOS                  CO     90012690090
6872134A972B29   RYAN         CARBISO                      CO     90012543409
6872152A572B27   JORDAN       HITSMAN                      CO     90012345205
68722117A5B241   JONATHAN     REED                         KY     90014801170
687226AA491265   KELI         BASHAM                       GA     90011696004
6872299AA4B27B   JOSE         GONZALEZ                     NE     27053699900
68723162672B36   ANTHONY      GARCIA                       CO     90013311626
6872473A991534   MELCHOR      LORENZO                      TX     90008047309
6872491A891562   LIZBETH      MADERO                       TX     90013649108
68724AA9857135   JOHN         VASQUEZ                      VA     90013370098
68725425872B27   GRACIELA     ONTIVEROS                    CO     90001454258
6872553895B241   REGINA       GROSS                        KY     90014795389
6872638328166B   YOLANDA      DELA CRUZ                    MO     29068053832
6872664122B27B   ISHRAT       HASAN                        VA     90013276412
68727322697B42   VERONICA     GALVES SARATE                CO     90014823226
687277A3457127   JOHN         ARYEE                        VA     90001557034
6872781317B46B   CASSANDRA    BARBEE                       NC     11009658131
6872859257B45B   MARTHA       MUNOZ                        NC     11005615925
6872872844B27B   SAMANTHA     THACKER                      NE     90015257284
6872896697193B   PAM          NATHAN                       CO     32082959669
68728995572B36   ALEXANDER    SHAWN                        CO     90013739955
68729665172B29   JUAN         MARTINEZ                     CO     90014926651
6872B791171921   JANELLE      FOLLETT                      CO     32014327911
6872B93A961936   CLAUDIA      ORTIZ                        CA     46083489309
68731132A7193B   SANDRA       IBARRA                       CO     90010811320
6873131327B329   JOSE         LOPEZ                        VA     90010363132
6873342683168B   KENNETH      SOUTHWORH                    KS     90012954268
68733971772B29   YESICA       GONZALES                     CO     33087469717
6873478542B27B   FRANCHESCA   KELLY                        DC     81084967854
6873498A691562   NIKOLAS      ADDIS                        TX     90012879806
687362A215B241   KENDRA       FITZGERALD                   KY     68017252021
68736459572B43   SABINA       VALLES                       CO     90013954595
6873653948166B   ERUVEY       FRAGOSO                      MO     90001785394
68736948A5B235   JAMES        HASTY                        KY     90013539480
6873733A391562   JOANN        MUNOZ                        TX     90010593303
68737473A72B36   ROBERT       HARMANN                      CO     90007884730
6873779328166B   RYAN         MCNAY                        MO     90013817932
687386A252B27B   LANIQUE      BROWN                        DC     90002696025
68738783772B36   SHAWN        SCHMIDT                      CO     90012757837
68738A57391522   MARIA        LOPEZ                        TX     90002820573
68739658972B26   EFRAIN       ESCOBEDO ZAVALA              CO     90011906589
687397A6855975   JESUS        SOLIS                        CA     90011557068
6873989A151354   BRIAN        MCCOY                        OH     66045358901
6873B287A72B43   MANUEL       LUNA                         CO     90011342870
6873B75695B241   TED          STIVERS                      KY     90012447569
6873BAA4A7193B   LEVI         MASCARENAS                   CO     90014560040
6874114A972B29   JERAMIE      DENNIS                       CO     90013661409
68741376972B36   CHRISTINA    TRUJILLO                     CO     90006423769
687421A4491522   LIZETH       MARRUFO                      TX     75045701044
6874236A54B588   THOMASINE    GRASS                        OK     21510663605
68742733A5416B   SCOTT        STUART                       OR     47014127330
68742798172B27   SHARON       ALLEY                        CO     33037207981
68742A39961964   MIGUEL       BASALDUA                     CA     90011830399
68743688A71921   DAVID        CAN                          CO     32002976880
68744287372B43   ESGAR        REYES                        CO     90013032873
6874481717193B   MICHAEL      CLARK                        CO     90011008171
68744A8322B27B   ELBA         CABRERA                      DC     90012740832
68745871172B29   EDUARDO      GARCIA                       CO     90012938711
6874616974B52B   JAZMINE      GOINES                       OK     90011131697
68746314172B36   FRANCIS      SHERWOOD                     CO     33051703141
6874634328166B   CASHIUS      HOWELL                       MO     90010423432
6874666AA55973   ERNESTO      ALVAREZ                      CA     90015386600
6874679957B46B   MARIA        RODRIGUEZ                    NC     90009697995
6874786515B241   JUAN         GARCIA                       KY     90011128651
6874793A872B26   IRMA         ALVARADO                     CO     90013389308
68747A4A67193B   SWAYER       CORINNE                      CO     32063620406
6874815875416B   RACHEL       NORTON                       OR     90012771587
687482A5272B26   JACQUELYN    STARKS                       CO     90012752052
6874849115B241   WAYNE        DOWNS                        KY     68057784911
68749749272B36   FRANKIE      MANGISEL                     CO     33011807492
687498A9771921   TIM          GRANT                        CO     90012758097
6874999A42B27B   TYRON        MARTIN                       DC     90001629904
6874B24114B588   SONIA        PINEDA                       OK     21556672411
6874B558171921   JOY          MASIAS                       CO     32092195581
6874B74825B235   SHELBY       CAFFEE                       KY     90015227482
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 575 of 2350


6874B781655975   KEITH         PENDERGRASS                 CA     90009997816
6874BA56855973   DIAZ          SAMANTHA                    CA     48000670568
6875134195713B   LORENA        GARAY                       VA     90004463419
68751A23155973   NATALIE       GOMEZ                       CA     48095610231
6875212675416B   JENNIFER      VILLA                       OR     90014121267
6875443883168B   DEBRA         SMILEY                      KS     22036964388
6875465644B221   JENNIFER      KOZAK                       NE     90006556564
6875694494B588   SHARON        RUARK                       OK     90013579449
68756A6795416B   SHERON        MOORE                       OR     90012780679
6875758238166B   MIGUEL        ELIZALDE                    MO     90001205823
6875764372B886   RACHEL        LEATHAM                     ID     90002276437
68758662A2B27B   DANIELLE      BROCK                       DC     90012766620
687587A287193B   TANEESHIA     MARK                        CO     90001197028
6875B13727B46B   PHILLIP       THOMPSON                    NC     90012361372
6875B51992B27B   TYLASHIA      JOYNER                      DC     90012895199
6875B88467193B   MARIA         CHACON                      CO     32009228846
6876139A497B55   TORI          MAY                         CO     90007623904
6876183495416B   DANIEL        HERNANDEZ                   OR     90003698349
6876232912B27B   ERYKAH        DAVIS                       DC     90012843291
68762989672B26   GRISELDA      ESTRADA                     CO     33087719896
68763344572B36   MARCO         LOPEZ                       CO     90007453445
6876339927193B   CARLOS        ROSAS                       CO     90008573992
6876344187B46B   KIMBERLY      BROWN                       NC     90012324418
687634A343168B   CHARLETTA     DAILEY                      KS     22044494034
6876377A972B36   KENNETH       HILL                        CO     90013997709
68763932772B36   KENNETH       HILL                        CO     90014549327
6876463564B588   LUIS          TREVINO                     OK     21584096356
68765A46491562   MARTHA        OCHOA                       TX     90011300464
687663A9791552   CLARA         CASTILLO                    TX     90009433097
68766A1645416B   TRISHA        MOGSTAD                     OR     90001280164
68767A2477B46B   JAKENA        BITTLE                      NC     90006830247
6876865594B588   LEYDIANA      PICHARDO                    OK     90005436559
68769133A7B46B   LATARIS       POUGH                       NC     11069601330
687693A6A71964   MARTIN        HERNANDEZ ARVIZO            CO     90002303060
68769AA8172B26   TRACEY        HOSIER                      CO     33090730081
6876B729961964   TARRA         SMITH                       CA     46070267299
68771AA5A7193B   ERICA         SALAZAR                     CO     90006400050
687722A655B241   BRANDY        TROTTER                     KY     90014802065
68772A24731455   KRYSTAL       CRAIG                       MO     90013150247
6877393928166B   MARGARET      BANKS                       MO     90003789392
687739A474B27B   NOEMI         HERNANDEZ                   CO     27090369047
68774278772B43   ANNETTE       LOPEZ                       CO     90013502787
6877589185416B   MARY          BAXTER                      OR     90014628918
68775922772B43   JENNIFER      WALTERS                     CO     90013199227
68776177672B36   SAMUEL        HERRERA                     CO     90002291776
687766A9451354   NICKESHA      SHERAND                     OH     90012666094
68776A82161964   RAY           JJ                          CA     90010720821
68777774372B27   ANGELICA      HEALY                       CO     90007577743
68778459A8B183   JULIA         DAVIDSON                    UT     90010874590
687786A2271964   AUSTIN        LEE                         CO     90014516022
68778A77161964   ROBERT        BLOCHER                     CA     46034010771
68779139472B36   MARY          AMOATENG                    CO     90012651394
6877921A75B241   MELINDA       WILSON                      KY     90014802107
6877938A55416B   WILLIAM       FAUGHT                      OR     90012763805
6877952215B235   CHRISTIAN     GARRETT                     KY     90013225221
6877983428166B   CHRISTINA     QUEZADA                     MO     29005468342
6877995447B46B   JOSE CARLOS   CRUZ                        NC     90007059544
6877B17697193B   YOLANDA       MARS                        CO     90010811769
6877B59A555973   CHRISTY       PETTY                       CA     48084545905
6877B73644B268   MARK          LIST                        NE     90010587364
6878111694B27B   JORDAN        MURRY                       NE     90008161169
6878197A672B27   PABLO         ROSALES                     CO     90008709706
68781A2A54B588   CHARRON       HARDING                     OK     90013470205
68781AA2A61936   MARIA         CAVARRUBIAS                 CA     46035150020
68782188A71964   JORDAN        SALAZAR                     CO     90008291880
6878277692B27B   REGINA        HARGROVE                    DC     90009277769
68782A66355975   STEVE         ARMENTA                     CA     90010030663
68782AA682B27B   CARL          FOWLER                      DC     90006300068
6878321A44B588   GREGORY       SNEED                       OK     90012722104
6878322965B241   ADRIAN        YELVERTON                   KY     90014802296
6878382A67193B   ADERON        HELM                        CO     90001528206
68783941472B27   MANUEL        VEGA                        CO     90013689414
68784468972B26   MOISES        HERNANDEZ                   CO     33044364689
6878498A74B588   JACKIE        SHIPMAN                     OK     90007249807
687858A3655973   ELEANOR       RAMREZ                      CA     48080598036
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 576 of 2350


68785A1A67193B   ROBERT       LOFTIN                       CO     90014560106
6878625638166B   THELMA       CLARDY                       KS     90012762563
68786389872B29   DESEREY      LEAL                         CO     90014693898
68787816672B27   CRAIG        GEDDIS                       CO     33052348166
6878787194B268   JORDAN       HAWKINS                      NE     90008748719
687884A5772B29   LYDIA        GARCIA LOPEZ                 CO     33006914057
68788683A4B268   STEVE        BELMONT                      NE     27012396830
6878971784B27B   FRANK        VELASQUEZ                    NE     90011127178
6879158A472B26   DESIREE      MARTINEZ                     CO     90012005804
68791947A91562   ZANDRA       LUNA                         TX     90001399470
68792564972B36   DONNA        FREITAG                      CO     90013495649
6879373684B268   VANESSA      GUERERO                      NE     90012917368
6879486795B241   AARON        WALKER                       KY     90010698679
6879497A172B36   ROY          ADAMS                        CO     33096089701
6879511637B358   IDA          RANKIN                       VA     90001381163
6879521465B241   KATHY        CAPPS                        KY     90005312146
6879557615B127   TYLER        KINDER                       AR     90010145761
687958A7872B26   SHARON       C.CORDOVA                    CO     33049748078
6879637248166B   NICOLETTE    ONETH                        MO     29060853724
6879729182B27B   DEBORAH      TALLEY                       DC     81056672918
6879755628166B   NATALIE      BROOKS                       MO     90014125562
68798185A72B55   TERESA       AMAYA                        CO     90013781850
6879822A191562   DORA         GARZA                        TX     90015332201
6879853514B27B   CASSANDRA    BELL                         NE     90009925351
6879931373168B   VASHITA      ALDRIDGE                     KS     90014993137
6879936625B241   GARY         MERCER                       KY     90014803662
6879B13828B172   ROBERT       COWDER                       UT     31086101382
6879BA9A34B27B   ANGELA       CRUZ HURTADO                 NE     27084890903
687B124A897B64   ZACHARY      HUFFSMITH                    CO     90009172408
687B1541572B26   VERONICA     MCLOUD                       CO     90014825415
687B15AA772B36   JASON        SOTO                         CO     90009455007
687B1933755975   RUBEN        VILLAGOMEZ                   CA     48016269337
687B1A6AA71964   RANDY        ROYSE                        CO     90013090600
687B226A672B26   JORGE        IBARRA                       CO     33008952606
687B22A8171921   ASHLEE       YOUNG                        CO     90010252081
687B27A3872B29   IVON         MIRAMONTES                   CO     90005727038
687B3337572B26   NATALIE      SANDOVAL                     CO     90011243375
687B432968166B   TELAE        HAGGINS                      MO     90001053296
687B494437B46B   ANA          REYES MELGAR                 NC     11079489443
687B5477571921   ALEXIS       THACKER                      CO     90010274775
687B5695371924   LAUREN       HATFIELD                     CO     90010046953
687B573467193B   GUILLERMO    PINEDA                       CO     32052107346
687B6295A4B588   ROSE         HERRERA                      OK     21579202950
687B6333672B29   KAREN        BARRERA                      CO     90011963336
687B6622861964   ELVIRA       RAMIREZ                      CA     46045986228
687B685997193B   CASANDRA     ORTEGA                       CO     90012288599
687B6887372B27   TODD         FAULKNER                     CO     33067948873
687B7157772B29   SANDY        MADRID                       CO     33094451577
687B7437A71921   JULIANNE     LASLEY                       CO     90015044370
687B762393168B   BILL         MCKEE                        KS     22083056239
687B7771972B36   AUNDREA      QUINTANA                     CO     90012357719
687B7796591588   AMBER        GARCIA                       TX     90004427965
687B782324B268   ROGER        MOORE                        NE     27030848232
687B784793167B   CRAIG        BAUER                        KS     90006068479
687B7A61371964   BERNIE       DURAN                        CO     90013090613
687B7A9835B241   KRISTIN      HOEFLER                      KY     90011760983
687B8178A57142   KULDEEP      KAUR                         VA     90002041780
687B8995951354   MAYRA        RODRIGUEZ                    OH     90011579959
687B9118972B36   LILIANA      SANCHEZ                      CO     90014221189
687B933924B268   JUAN         FRANCISCO                    NE     27001843392
687B952755B241   TIM          HACK                         KY     90014795275
687B9847A55975   MARCOS       VARGAS                       CA     90011838470
687BB53768166B   SAMEER       BROWN                        MO     29050415376
687BB824671964   SALLY        SPEARS                       CO     32095748246
687BB849955973   ALYSSA       VILLARREAL                   CA     90014858499
687BB933872B43   TAIWAN       WIGGINS                      CO     90013829338
6881146644B27B   JUAN         CAMPA                        NE     90011104664
6881146825416B   BRANDY       RICHARDSON                   OR     90010764682
6881222635416B   KATIE        ANDERSON                     OR     90007622263
688136A167193B   PAMELA       SALAZAR                      CO     90015206016
688144A335B235   DAVID        SALAHSHOR                    KY     90007564033
6881459933168B   LAWANA       HUMPHEY                      KS     90008315993
68814977772B36   DAVID        CASTORENA                    CO     90013129777
68816161772B43   SHANNON      SPICER                       CO     90014711617
6881641385B235   NINA         HARRINGTON                   KY     90004124138
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 577 of 2350


6881654382B27B   ANGIE        CRAFTON                      DC     90013015438
68817A35972B43   MICHELLE     LOMBARDI                     CO     33067700359
6881874745416B   CHRIS        HOGANSEN                     OR     47095877474
68819668572B29   NICHOLE      BROWN                        CO     33086816685
6881971A976B69   SANDRA       KIENLE                       CA     90012937109
6881985724B588   DOMINIC      WILSON                       OK     21556838572
6881986795B241   AARON        WALKER                       KY     90010698679
6881B193581644   RAUL         DE LA FUENTE                 KS     29089361935
6881B25847193B   BERNARDA     HERNANDEZ                    CO     32001982584
6881B31835B241   AARON        MAUPIN                       KY     90014803183
6881B75898166B   AMANDA       MOORE                        MO     90012637589
6881B7A174B268   AGUEDA       BOCANEGRA                    NE     27063467017
6881BAA8371964   KARLA        GARCIA                       CO     32060000083
688223A6A5B235   AMBERLEY     THOMPSON                     KY     90014053060
6882252465B235   MICHAEL      BREWER                       KY     90009855246
68822776372B26   GINA         VIGIL                        CO     90013337763
68823328772B43   LAURA        CALDERON                     CO     90014603287
68823564A2B27B   MICHELLE     LAYNE                        VA     90010225640
6882372465416B   KATHY        HAMANN                       OR     47012517246
6882394424B588   MINNIE       KING                         OK     90012399442
6882429755B241   KENESHA      CHESTER                      KY     90013272975
68824824972B26   SAMUEL       VALDEZ                       CO     90014868249
6882569155B581   RICARDO      CARRILLO                     NM     90014856915
6882623492B27B   TALAYA       THOMPSON                     DC     90011412349
688265A6372B26   MARIAH       NEVARREZ                     CO     90012855063
6882698767B46B   EDWARD       NEWBERRY                     NC     90003229876
68827345924B39   KIMBERLY     WILLIS                       DC     90012953459
6882833882B27B   ADRIAN       GONZALEZ                     DC     90014793388
68828419172B36   JESSICA      ALMEIDA                      CO     90011524191
6882851188166B   SHANA        WELLS                        KS     29003265118
6882882694B268   DANA         WILKINSON                    NE     90010588269
68828A28433648   ASHLEY       PAYTON                       NC     90006870284
68829473A72B36   NATHAN       PLYM                         CO     90013844730
6882B316741292   DANA         DOPLER                       PA     90005533167
6882B36395B241   CHERMICCA    YENVERTON                    KY     90014803639
6882B41227B472   OLGA         COLIN F                      NC     90012694122
6882B479655973   SHAWNEE      MARTINEZ                     CA     90001034796
6882B9A117B46B   MARIA        NAVARRETE                    NC     90010329011
6883158564B588   KEISHA       CHATMAN                      OK     90013645856
68832741672B27   KARINA       RAMIREZ                      CO     90011047416
6883294148166B   VICKIE       MERSMAN                      MO     90012479414
68833115A8166B   OLIVIA       PEREZ                        KS     90014441150
6883341345B241   TRACY        SHEPPARD                     KY     90014804134
68833982872B36   BRETT        WEEDER                       CO     33092489828
68834139A7B46B   ELIZABETH    ALEXANDER                    NC     90014601390
6883453687193B   MAIMA        PASSAWE                      CO     90004145368
6883532115B55B   HEATHER      FULLER                       NM     35075053211
6883558817193B   CLAUDIA      ASTRADA                      CO     32092155881
68836596A51354   PAYGO        IVR ACTIVATION               OH     90014265960
68836628372B29   MARIA        DELCARMEN MORALES            CO     33074426283
68836A72555983   YOLANDA      WHITE                        CA     90000880725
6883741615B241   CHARREECE    DICKEY                       KY     90014804161
6883817AA7193B   JAMES        THOMAS                       CO     90012371700
6883841645B241   IMON         SPURLING                     KY     90014804164
68839A6577B46B   KEVIN        GANT                         NC     90013670657
68839A7355B235   KIMBERLY     TUCKER                       KY     90010170735
6883B5A3733698   STEVEN       HAIRSTON                     NC     12044965037
6883B71188166B   KENNETH      GREEN                        MO     90009677118
68841186572B36   OSCAR        ESPINOZA                     CO     33084611865
6884194A855973   ALEX         ROSAS                        CA     90014819408
6884295167193B   LAURA        GREGORY                      CO     32067909516
68842986A72B26   TONI         MELLINGER                    CO     90010979860
688439A824B588   PRECIOUS     THOMPSON                     OK     90005789082
6884429655416B   SHERRILINN   CASTENEDA                    OR     90006082965
68844A15772B26   FERNANDO     ALCANTAR                     CO     33093790157
68844A2215B241   BRITTNY      JOHNSON                      KY     90002140221
68844A44991562   JOE          JURADO                       TX     90009810449
6884568822B27B   ERIKA        ROBINSON                     DC     90013986882
6884599717193B   ALEXANDRA    GALLANT                      CO     90012659971
68846153A71921   EDWIN        JOHNSON                      CO     32093011530
6884652744B588   EDUARDO      ROJAS                        OK     21514855274
68847458672B26   FLOR         RODRIGUEZ                    CO     90012094586
6884747115416B   RICHARD      CALLAHAN                     OR     47079644711
6884764547194B   JESUS        VALLES                       CO     90003796454
6884768717B46B   SHIREE       MCCRORY                      NC     90008096871
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 578 of 2350


6884794148166B   VICKIE        MERSMAN                     MO     90012479414
688489AA18166B   TYVETTE       WASHINGTON                  MO     29023869001
6884987324B268   TONIA         SHULER                      NE     90005398732
6884B33387193B   DARIUS        PHILLIPS                    CO     90014873338
6884B52A471964   BRIAN         NEWMAN                      CO     90013105204
6884B92645B235   MICHAEL       WALLACE                     KY     90012569264
6885155A27B46B   BILLY         RMUNGO                      NC     11063695502
68852A84A8166B   BRIDGET       SUTHERLIN                   MO     29007120840
6885332625B241   MIKE          HUFF                        KY     90002273262
6885338785B162   COURTNEY      MORGAN                      AR     90005483878
6885376668166B   GREGG         GRAY                        MO     90013627666
6885417384B588   BESSIE        BOGGESS                     OK     90013081738
688547A5A71964   VIRGEN        MARCELINO-HERRERA           CO     90001847050
6885571A14B268   DENISE        BARE                        IA     27012837101
6885635873B347   BOB           DIENES                      CO     90012723587
68856999372B26   ROGER         ESPINOZA                    CO     90007419993
6885733A661988   MICHAEL       SPRADLEY                    CA     46009603306
6885744374B27B   CANDIS        SNODDY                      NE     27080114437
6885815AA81644   YAHYA         FURGAN                      MO     90011431500
68858791772B26   LUIS          ROBLES                      CO     90011877917
68859514997B57   LUIS          GOMEZ                       CO     90014905149
688597A9A5B235   ABDULLAH      JABAR                       KY     90010387090
68859A54971921   FALON         HUTCHINSON                  CO     90010420549
6885B946451374   MELANIE       SMITH                       OH     90012239464
6885BAA159132B   EDWIN         MACARIO                     KS     90009160015
68861181472B43   ARTHUR        ROMERO                      CO     90013241814
68861211A72B27   DEBRA         MARTINEZ                    CO     90008972110
68861524572B29   MARIE         FRANCES                     CO     33083245245
68861AA847193B   JAMES         RIDDLE                      CO     90011380084
68862292A7193B   JOSE          NUNEZ                       CO     32004642920
68862322A5B241   BEVERLY       JOHNSON                     KY     90004053220
6886266465B235   WILLIAM       DOLT                        KY     90004646646
68862834A51354   SUMMER        CAUDILL                     OH     90011408340
68862925472B36   VIRGINIA      DELEON                      CO     90008639254
6886319197B46B   CHRIS         ROLAND                      NC     90014101919
688633A5471964   CAROL         JOHNSON                     CO     90013233054
68863585A2B959   JANET         FIGUEROA                    CA     90012715850
68863873172B26   AQUILINA      DIAZ                        CO     90013008731
68865386A72B29   JULIAN        CHAVEZ                      CO     90014973860
68865579872B26   FREDERIC      VANZANDT                    CO     90011565798
688662A3571921   GISELLE       GRESHAM                     CO     90013452035
6886648225B241   TRAVIS        ARMSTRONG                   KY     90014804822
6886672985416B   JUAN          LOPEZ                       OR     47055717298
68867298A4B588   CHARA         MURDOCK                     OK     90013652980
68867524472B43   LARRY         MONTOYA                     CO     33034995244
68868661272B27   RANDI         BLAKESLEY                   CO     90001836612
6886946214B268   NATHAN        GODIN                       NE     90013744621
6886968375B235   NICHOLE       BISHOP                      KY     68060066837
6886999965416B   KODI          MASON                       OR     47093959996
6886B763391522   YOLANDA       LARA                        TX     75073367633
6886B8A5891562   JESUS         SANCHEZ                     TX     90009858058
6886BA79591966   MARIBEL       ARITA                       NC     90008420795
6887218527193B   LOVELL        MARTINEZ                    CO     90014521852
6887226524126B   MATTHEW       NIED                        PA     90014372652
6887262332B27B   IMANI         WALL                        DC     90010666233
6887395884B268   DULCE         CARISALES                   IA     90010589588
68874466772B29   CHRISTOPHER   HALL                        CO     90014904667
6887492A672B43   SONIA         MORENO                      CO     33018009206
688756A2261964   DAVID         ORRIS                       CA     90009576022
6887576895B235   ANNA          CRABTREE                    KY     68040277689
6887754858B155   JAMES         VANDYKE                     UT     31015275485
6887761594B588   KAMILLYA      BREATH                      OK     90013646159
68877945972B36   EDGARD        ZUNIGA                      CO     90010329459
68877A78233692   SEBASTIAN     RAMIREZ                     NC     90005840782
68877A94261964   KAYLA         CRAVEY                      CA     90012030942
68878141A5416B   CHARLES       STUWERT                     OR     90012791410
68878191172B36   KATHLEEN      RODRIGUEZ                   CO     33080271911
6887912A961964   JOSEPH        IBANEZ                      CA     46047801209
68879295497B4B   KERRY         BRIDDLE                     CO     90001232954
68879615A5416B   WADE          ASH                         OR     47087776150
6887966395B521   LEOBARDO      TORRES-ZAMBRANO             NM     90013436639
6887B112631661   SHELLEY       MCLOUD                      KS     90013951126
6887B25A791562   DANIEL        CHAVEZ                      TX     90012332507
6887B594281644   NEO           VALERIANO                   MO     90014175942
6887B78A171921   JAMIE         ROMERO                      CO     90011577801
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 579 of 2350


6887B83667193B   JUAN         MELO                         CO     32004188366
6887B986491234   LORIANN      JENKINS                      GA     90010889864
68881697672B26   HUETE        ROSALI                       CO     33011696976
6888222215B241   ASHLEY       BORAM                        KY     90004782221
688823A372B224   VALERIO      CABRERA                      DC     90007013037
6888269A172B27   CHARLES      QUIGLEY                      CO     33093006901
6888423A155975   RYAN         EVANS                        CA     90005352301
68884434372B43   LATISHA      MARIN                        CO     33009954343
6888446494B588   YOLANDA      CHAVEZ-HERNANDEZ             OK     90010474649
6888584225B241   RODNEY       BACON                        KY     90014568422
68887137272B29   CHRISTI      GARCIA                       CO     90011241372
6888715774B268   ASHLEY       SCHAAF                       NE     90012331577
6888759888166B   ODESSA       NIX                          MO     29095215988
6888835615B283   KIMBERLY     FARMER                       KY     90007813561
68888A42691522   YVETTE       LUEVANO                      TX     75029620426
68889149972B43   RANDY        PORTER                       CO     33018891499
6888969365B55B   JOSEPH       MARTINEZ                     NM     90001336936
6888B41932B27B   TYRONE       KELLEM                       DC     90012934193
6888B521851354   LADONNA      PAYNE                        OH     90014585218
6888B839A61936   HANSEN       MA                           CA     90000128390
6889155A787B31   CASSANDRA    WILLBANKS                    AR     28054745507
6889159914B268   BRIANA       BRIDGEFORD                   NE     27015175991
688915A6481644   HELEN        OBI                          KS     29066165064
68891A61971964   THOMAS       MATTHEWS                     CO     32096090619
68892586172B26   LUCAS        GARCIA                       CO     90011565861
68892A4895B235   MAURICE      DUVALL                       KY     90012900489
6889311417B46B   JIMMY        DRAKOFORD                    NC     90013081141
68893882A4B27B   KENNETH      VOUDRY                       NE     90015448820
68893A4584B588   TORI         CAMPBELL                     OK     90013190458
68894A13A4B588   DONNIE       HEILIG                       OK     90011200130
6889523525416B   JASON        LANDRY                       OR     90014382352
6889526145416B   JASON        LANDRY                       OR     90014392614
6889533658B821   FAAPIO       BAGAI                        HI     90015393365
6889546825B241   JAZZY        POWERS                       KY     90005464682
68895682172B27   RUSSELL      MOORE                        CO     90012286821
68895716A72B27   GILBERTO     LOMELI CASILLAS              CO     90001187160
68895771472B29   RAYMOND      CARR                         CO     90014917714
68896932272B27   JORGE        ORTIZ                        CO     90014369322
6889722787193B   JULIAN       ESPINOZA                     CO     90010812278
6889752775B241   JAVAE        JOHNSON                      KY     90014805277
68897A96972B43   MAX          FUEGER                       CO     33077930969
6889823A85B235   NAOMI        GRAHAM                       KY     90005412308
6889831997B46B   CRYSTAL      WILSON                       NC     90014563199
6889899957193B   TIFFANY      ROBINSON                     CO     90014609995
68898AA2172B29   ANGELICA     ORTEGA                       CO     90013840021
6889974454B588   DANA         MURRAY                       OK     21574127445
6889B145757538   LUIS         ROSALES                      NM     90004981457
6889B578891522   OSCAR        MUNOZ                        TX     75025485788
688B136497B46B   NATALIE      MADISON                      NC     90012243649
688B253AA72B29   HEIDI        SHOU                         CO     90012855300
688B257838166B   CHRIS        BERGFALK                     MO     90015585783
688B2696731455   CHRISTINA    KROUPA                       MO     90008726967
688B2A3985B241   SERRA        JOBE                         KY     68099070398
688B3232272B27   CINDY        FLORES                       CO     90013962322
688B34A797B46B   BALNCA       ESPERANZA                    NC     90014844079
688B3547472B43   LUIS         GALLEGOS                     CO     90000915474
688B368A755973   AMANDA       MATTOX                       CA     90008456807
688B3995355975   TRINADAD     BRACAMONTES                  CA     48035809953
688B4416257538   ROSA         LUGO                         NM     90005544162
688B4571155975   ANA          MEZA                         CA     90010315711
688B4653671921   ALMA         FARRIER                      CO     90014906536
688B4897361936   OSCAR        CORTEZ                       CA     46042698973
688B4945255973   EVA          ARELLANO                     CA     90010679452
688B58A2172B43   ROXANNE      MARTINEZ                     CO     90003058021
688B611975416B   RIGOBERTO    RAMIREZ                      OR     90012781197
688B6A68472B27   KEITH        WILLIAMS                     CO     33003920684
688B7576855975   MARCOS       ACEVES                       CA     90010335768
688B77A8972B36   PANCHO       OPEZ                         CO     90011867089
688B893A34B588   DELMARIE     SCOGGINGS                    OK     90011919303
688B899393168B   CATRELL      NOLEN                        KS     90011819939
688B9137472B26   LIZETH       LOERA-DEL VAL                CO     33023661374
688B9296A5B53B   DENISE       ERICKSON                     NM     90012752960
688B9575255975   JOHN         HERRERA                      CA     90006185752
688B9872691562   RALPH        WARLING                      TX     75088618726
688B9891161964   THERESA      DURAN                        CA     46043118911
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 580 of 2350


688B994997B46B   CHRISTOPPHER         WARREN               NC     90009359499
688BB352172B43   CARLOS               RODRIGUEZ            CO     90001733521
688BB662955973   BRICIA               CISNEROS             CA     48033876629
689113AA261964   HOWARD               STEWART              CA     90013263002
6891447652B975   YOLANDA              RODRIGUEZ            CA     90008794765
6891511A14B27B   ANTHONY              CARVER               NE     90013961101
68915738872B26   DALILA               AGUILAR              CO     90013977388
68916211472B29   MIGUEL               FLORES               CO     90011062114
6891643A761936   BLANCA               LAGUNA               CA     46083374307
6891783825416B   JERRY                NIELSON              OR     90013318382
68917A6227193B   RENA                 ARCHULETA            CO     32043420622
6891834764B268   CHRISTINA            SMITH                NE     90009193476
6891924794B27B   DEVON                KURMEL               NE     90012712479
6891939465B235   LATRECE              BROWN                KY     90008723946
6891959187193B   MARY                 CARNEY               CO     90009795918
6891B52887B46B   TODD                 MARSH                NC     90014855288
6891B73287B334   TESETE               ABEBE                VA     90001017328
6892151AA72B29   MARIA                ACOSTA               CO     90014825100
68922153872B27   JOSE                 RAMIREZ              CO     90011131538
68922312136B35   CORLISS              WENTWORTH            OR     44517513121
6892263157B46B   FRANKLIN             PHIFER               NC     90013266315
68922738572B29   HAKAN                SAPMAZ               CO     90014137385
6892324397193B   ISISS                FUENTES              CO     90012372439
68923367672B29   OMAR                 CORRALES             CO     33068073676
68923A3335416B   VIDAL                MARTINEZ             OR     90006770333
6892462898166B   COURTNEY             HARRIS               MO     90015246289
6892479634B27B   JOEL                 AJAYI                NE     90014377963
689247A5772B87   LORI                 FRASER               CO     33014157057
6892531A88166B   AMY                  GRANT                MO     90010793108
6892559644B27B   DEIDRA AND TIFFANY   RODZIELSKI SHESTAK   NE     90014675964
68925674A55975   ADAN                 ESPINOZA             CA     90005356740
68926551172B26   KA'TIA               TALLY                CO     33044055511
6892669374B27B   VICTOR               CORRALES             NE     90013346937
6892786475B235   MICHAEL              BURNS                KY     90013648647
6892819225B536   DINA                 ARMIJO               NM     90002231922
6892847A972B36   ANGELICA             RAYA-MARTINEZ        CO     33052094709
6892913278166B   WILLIAM              STONE                MO     90011171327
6892928A971921   DELORES              CARRERA              CO     32093792809
68929557772B27   CARLTON              MCNEELY              CO     90013805577
68929595272B43   ALMA                 MEDINA               CO     33023345952
689296A9557135   DANIEL               PADILLA              VA     90010336095
6892B14657193B   NATHANIEL            ROBINSON             CO     90011011465
6892B496171964   ELIZABETH            WEBB                 CO     90007054961
6892B772A61964   PAOLO                MORALES              CA     46043797720
6892BA29972B29   ROSA                 GALLEGOS             CO     90003990299
6893116655B241   JUAN                 ALVARADO             KY     68009801665
689311AA572B36   KENNETH              FAWCETT              CO     90012411005
68931952672B26   KENNETH              WILCOXEN             CO     33045109526
68932273A72B27   BLANCA               ORDONEZ              CO     33059062730
6893228932B27B   TEKIA                JOHNSON              DC     90014022893
6893264864B588   JASON                ADAMS                OK     90013226486
68932937572B43   MARGARITA            RODRIGUEZ            CO     90007929375
6893336487193B   GREGORY              LUPTON               CO     90015023648
68933A4922B27B   RAYCHEO              FORD                 DC     90003490492
6893482A561964   ESTEVAN              RODRIGUEZ            CA     90013628205
6893493524B27B   ASHLEY               COLLINS              NE     27039459352
6893637525B241   GREGORY              TURNER               KY     90011563752
6893664662B27B   CYNTHIA              TWITTY               DC     90014686466
68936673172B29   MARIA                RODRIGUEZ            CO     90013986731
689367A744B588   TAIWAN               HIGGS                OK     90007797074
689369A1891522   ROSA LILIA           DOMINGUEZ            TX     90002409018
68936A22A5599B   ALICIA               MITCHELL             CA     90014850220
68937A5495416B   KIM                  COMBS                OR     47090090549
6893875A281644   STACEY               CANDLEMAN            MO     90014727502
68938813372B27   CHARLES              MCCALL               CO     33074988133
689391A527193B   KIMBERLY             COLLINS              CO     90011921052
6893933A83168B   DAMON                WILLIAMS             KS     22085893308
68939757A5416B   RAYMAN               WOODRUM              OR     47084427570
6893993312B96B   DEBBIE               CORDER               CA     45095359331
6893B321651354   CHARLES              BARKER               OH     90008693216
6894164A671964   DAVID                WARDLAW              CO     32095876406
6894189837B46B   UBALDO               GARCIA               NC     90015328983
6894221345B241   MELISSA              CREASON              KY     90010272134
689429A787B13B   JEWELEANN            HASELEU              ND     90013999078
6894373AA41258   KENNETH              LONG                 PA     90001827300
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 581 of 2350


68943A26A91522   MELISSA      PEREZ                        TX     90010690260
6894419995416B   JULIE        HUYNH                        OR     47043561999
68944668472B36   JOSE         HURTADO                      CO     90009136684
689446A7272B43   MARIA        HERNANDEZ                    CO     90013096072
68944728176B69   MARIANA      RENDON                       CA     90001847281
68945554872B36   DIANA        QUINONES                     CO     90013015548
6894588344B568   MICHAEL      JOHNSON                      OK     90011548834
6894629675416B   MICHAEL      SHERMAN                      OR     90010282967
689462A414B268   RACHEL       VAIAOGA                      NE     27095802041
689462A874B27B   LASON        STAPLETON                    NE     27066872087
6894656A455973   ASHLEY       ATORD                        CA     48086295604
6894681945B55B   TAMERA       TYMCHYSHYN                   NM     90001448194
68947155272B36   KRISTOPHER   GARCIA                       CO     90015101552
68947518A3168B   RUSSELL      LOCKS                        KS     22058025180
68947A6246192B   JAMES        ROBINSON                     CA     90007690624
68948379772B36   BLAINE       VESTAL                       CO     33066063797
6894877477194B   EDWIN        GONZALEZ                     CO     90011297747
6894992977193B   SHAMIKA      WASHINGTON                   CO     90013539297
6894B22895416B   TRAVIS       MAYO                         OR     90013822289
6894B642551354   LORA         MARRERO                      OH     66077816425
689513A1955973   FAUSTO       ARZOLA                       CA     90015113019
689514A928166B   KEITH        ALLISON                      MO     90010224092
6895213965B235   TAMEKI       REMLEY                       KY     90010871396
6895282242B27B   JEWEL        SIMS                         DC     90000968224
6895294185B235   AMANDA       LEWIS                        KY     90014559418
6895342517193B   ANTHONY      ALCARAZ                      CO     90011184251
6895425845416B   RICKY        WHITTAKER                    OR     90007752584
689545A9633656   DESTINY      TOLIVER                      NC     90014125096
68954661A91562   DEBBIE       FLORES                       TX     90012846610
68954AA9361964   GONSALES     SILBIA                       CA     46093310093
6895541267193B   ABRAHAM      AVILA                        CO     32049264126
6895552325B921   DEANNA       BALCOM                       ID     90006645232
689566A5A5B241   ERIC         FERGER                       KY     90014806050
689567A962B27B   SHANNON      EDWARDS                      DC     90012367096
68956A6685416B   SAMANTHA     ASHBURN                      OR     90014650668
68956A89572B29   MARIA        SOTO                         CO     33053580895
68957A6855B241   ROBYN        SWEASY                       KY     68035940685
689595A5772B36   MICHAEL      DODGE                        CO     33055885057
6895993512B27B   JAMES        SKIPWITH                     DC     90014739351
6895B33363B352   KATHLEEN     MARIE-HALBERT                CO     33089523336
6895B44662B27B   MICHAEL      THOMAS                       DC     90014844466
6895BA7225416B   DENISE       KALATZES                     OR     90011180722
6896128837193B   GLADIS       GONZALEZ                     CO     90003732883
6896142927B46B   MICHAEL      COUSANT                      NC     11002574292
6896152324B268   SERA         HARDY                        NE     27074265232
6896261195B241   WILLISHA     MITCHELL                     KY     90014806119
68962A43197B36   JONATHAN     COPELAND                     CO     90014120431
68964245672B27   GUY MILES    PARDOE                       CO     90008332456
6896486335416B   JUSTIN       MEDERO                       OR     90015058633
68964934172B26   ERICKA       VIGIL                        CO     33085499341
6896533A391562   JOANN        MUNOZ                        TX     90010593303
6896588825416B   ANACLETO     AGUIRRE                      OR     90006648882
68965892372B36   JOSHUA       SANDOVAL                     CO     90014488923
68965A4775B375   SPENCER      HOULGATE                     OR     90009440477
6896659415416B   DEANNA       HESS                         OR     90001675941
68966974572B29   SOLEDAD      DOMINGUEZ                    CO     90014069745
68966A29472B36   CRAIGS       NICHILSON                    CO     90012810294
68966A87A71921   ERWIN        NOWICKI                      CO     90003190870
689671A914B27B   THOMAS       ROBINSON                     NE     27060841091
6896726A592836   LAURA        GONZALEZ                     AZ     90015032605
6896856312B27B   RONALD       WEST                         DC     81004255631
68968593472B26   CARA         M UNRUH                      CO     90011565934
6896923884B27B   DEANDREIA    BOGGESS                      NE     90011472388
6896961833168B   JADA         ROBERTS                      KS     90007316183
6896B613833698   ANTOINETTE   CLINKSCALES                  NC     12027126138
6896B79A97B46B   BOBBIE       DOCIER                       NC     90013377909
6897283872B27B   JAMES        PRYOR                        DC     90010818387
68973175772B36   JORGE        MORALES                      CO     33022301757
68973224372B43   JOSE         AVILA                        CO     33000572243
68973766A2B828   RANDI        BRUFF                        ID     90001247660
689745A7771964   MARTIN       JUAN                         CO     90014705077
6897482AA72B26   MARIO        LOPEZ-LUNA                   CO     90009798200
68974951872B29   DAVID        VALENZUELA                   CO     90012929518
6897542595B241   REBECCA      FARBER                       KY     90007834259
689754AA472B27   FELIPE       RODRIQUEZ                    CO     33082384004
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 582 of 2350


6897563584B588   ADRIANA       DELEON                      OK     90014306358
68976423A81644   MICHELLE      FYKE                        MO     90015094230
68976798A8166B   STEFANIE      KEMPINGER                   KS     29064787980
68976A9A391562   BLANCA        LOZANO                      TX     75030450903
689779AA271964   PAULA         TURNER                      CO     90013939002
6897818719197B   JESSICA       FLEMING                     NC     90005531871
6897821372B27B   TRICIA A      RICHARDSON                  DC     90012442137
68978351372B26   DANIEL        RAMIREZ                     CO     33010873513
68978666372B36   HANCOCK       PATRICIA                    CO     33085006663
689792AA357538   MERCEDES      MARQUEZ                     NM     90000592003
6897951585B375   ARIEL         PURKEY                      OR     90005635158
689796A8151354   ERICA         SESSLEY                     OH     66089276081
6897986185B235   DEBRA         HARRIS                      KY     90001438618
6897B47A255973   IRMA          SALDANA                     CA     90013724702
6897B56A772B36   LEONEL        VAZQUEZ                     CO     33010805607
6897B95A172B26   SHEERAE       LOMORIE                     CO     90008239501
6898149374B27B   ROGELIO       CABRERA                     IA     27051294937
6898165515B241   VICTOR        JACKEY                      KY     68014156551
6898226457193B   CLARISA       MARTINEZ                    CO     90014522645
689822A5981688   PATRICIA      SILVER                      KS     90001382059
68982A5967193B   CHRISTOPHER   CRABTREE                    CO     90011990596
6898362A472B36   EDITH         OGBONNA                     CO     33044086204
6898421113168B   ROSAURA       ORTIZ                       KS     22030612111
6898449865B235   CHESTER       CLARK                       KY     90010744986
6898452217193B   ALEX          TREVIZO                     CO     90012915221
68984A29A71964   MARY          ODOM                        CO     90013110290
68984A79255973   WILLIAM       CANNON                      CA     48083290792
689852A954B588   JARED         MORRISON                    OK     21592272095
6898565A472B29   CLAYTON       JONES                       CO     33090176504
68986238872B43   HANNAH        BAKER                       CO     90012962388
6898629157193B   DAVID         MARTINEZ                    CO     90010812915
6898632A42B27B   MS SHANIQUA   BALLARD                     DC     90009093204
6898659894B268   JOHN          KRITENBRINK                 IA     27043845989
6898695575416B   JEANINE       GOODWIN                     OR     47059779557
689875A2851354   WALTER        SOS-RAMOS                   OH     90008695028
6898776362B27B   BENJAMIN      HILGENSTOCK                 DC     90002197636
68988296372B43   KIMBERLY      BARBER                      CO     33084822963
6898838594B27B   JORGE         GOMEZ                       IA     27079173859
6898936594B27B   MAXIMILLIA    ROMERO                      NE     90000343659
689899A665B241   SHANNON       DUNBAR                      KY     90010249066
68989A1174B27B   BARBARA       ROMERO                      NE     27073450117
6898B38417B46B   DANIELLE      SWAN                        NC     90004383841
6898B796855973   FRANCES       MANDUJANO                   CA     48076907968
68991799A72B26   MARIA         OROSCO                      CO     90001297990
689922A1A91562   KARINA        MIJAREZ                     NM     75037462010
6899313735B235   TYLER         SHEPHERD                    KY     90015171373
6899316A75B241   TONY          RUMBAUGH                    KY     90014301607
689934A3A55975   CLAUDIA       FLORES                      CA     90010554030
68993912972B29   KELLEN        SCOTT                       CO     90004879129
6899461177B46B   FELICIA       MCLENDON                    NC     90010716117
68994AA5391562   ALVARO        RODRIGUEZ                   TX     75020280053
6899512413168B   JOSEFINA      REYES                       KS     90011831241
6899597344B588   ELIIRA        MARES                       OK     90011319734
68996155A72B36   MICHAEL       ANDREWS                     CO     33080701550
6899665734B22B   ABOUBAKARY    DIALLO                      NE     90012726573
6899733475416B   WILLIAM       BRUMBACK IV                 OR     90012803347
6899831A13B379   SERGIO        GREEN                       CO     33008193101
68999A7892B27B   SULMAN        ALI                         VA     90015160789
68999A7A391562   FELICIA       BALDERRAMA                  TX     90011540703
6899B199172B43   MIREYA        FERRALES                    CO     33017671991
6899B365371964   PRABHDEEP     SINGH                       CO     90006433653
6899B56998166B   AERIELL       CHRISTENSEN                 MO     90002635699
6899B598572B26   JULIO         MARIO                       CO     33015645985
6899BAA365B241   CHUCK         MEREDITH                    KY     68070450036
689B1568271921   GERALD        KNAUSS                      CO     90010465682
689B1622A71964   BLANCA        SANCHEZ                     CO     90013106220
689B181999134B   CARISSA       MEEKS                       KS     90005018199
689B1964151354   MARY A        DINGLE                      OH     90003099641
689B262634B268   GILBERTO      MENESES                     NE     27018086263
689B274224B588   KAIN          DURBIN                      OK     21564157422
689B328297B46B   KEVIN         CASTELLANO                  NC     90014292829
689B3A91A72B26   GERARDA       VELENZUELA                  CO     90011580910
689B4611471921   MARIELA       TREVIZO                     CO     90011886114
689B4A4855B235   TIERIKA       SPEARMAN                    KY     90009160485
689B5113384392   CURTIS        MAHONE                      SC     90014671133
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 583 of 2350


689B529A471964   DANIEL       HAYES                        CO     90015182904
689B5377A4B27B   JAMIE        JANSA                        NE     90011113770
689B5476181688   ALICIA       WILSON                       MO     90010284761
689B5A6834B268   BAL          RAI                          NE     90010590683
689B7128872B43   PUABLO       COLIN                        CO     90011881288
689B7336A93728   ROCK         REIB                         OH     90013903360
689B754A45B241   LINDA        YARBROUGH                    KY     90014805404
689B9262271921   JASMINE      JOHNSON                      CO     90014102622
689B9291191534   RAMIREZ      DAVID                        TX     75009292911
689B9372672B43   ISABEL       VALAZQUEZ                    CO     33036823726
689B9375855973   SALINA       GAONA                        CA     90008313758
689B9A53372B26   GREGORIO     ECHAVARRIA                   CO     90011720533
689BB963297122   TOM          HALL                         OR     90009859632
68B11168372B36   NOEMI        ACOSTA                       CO     90014521683
68B11A27691562   VERONICA     CHAVEZ                       TX     90010660276
68B11A5A657538   CATALINA     GOMEZ-CORDOVA                NM     90002180506
68B1256295416B   REBECCA      KIRSCH                       OR     90014945629
68B12811271964   ASHLEY       TRUJILLO                     CO     90010028112
68B1339A871921   OSCAR        ORNELAS                      CO     32002873908
68B1344A97B46B   MIGUEL       SALAZAR                      NC     11050554409
68B139A9591525   LUIS         GARCIA                       TX     75053129095
68B14351872B36   MARIA        SANCHEZ                      CO     90009593518
68B14437451354   DANIELLE     GUTHRIE                      OH     90013534374
68B1479A572B26   JASMIN       SETO                         CO     33088157905
68B14868572B43   DERIK        VOHL                         CO     90002228685
68B14899A71921   LENARD       GOLDMAN                      CO     32014028990
68B14978761964   EMILEE       HARRIS                       CA     46064389787
68B154A4A61964   LETICIA      LOPEZ                        CA     46062064040
68B15599655975   PHILIP       REDMON                       CA     90014745996
68B1581A271964   VIRGINIA     NAVA                         CO     90014178102
68B1589AA7B46B   SILVIA       CARBAJAL                     NC     11015928900
68B15A32772B29   JAMES        GLISSON                      CO     90013690327
68B1617663B725   VELMA        JOHNSON                      WY     90012251766
68B1628485B235   CASSAUNDRA   BASTIN                       KY     90013872848
68B16465355973   NORMA        GARCIA                       CA     90004364653
68B1647725B241   KARA         KAPPEL                       KY     90014744772
68B1699128166B   TRIVAH       SORRELLS                     MO     90007939912
68B1718178166B   TRACY        HAMPTON                      KS     90014901817
68B17698191894   JUANITA      SELLS                        OK     90012146981
68B17A1817193B   ANGIE        TRUMBULL                     CO     32039120181
68B17A7544B268   VELVET       MOSS                         NE     27014860754
68B18169781644   DANIEKA      JORDAN                       MO     90008751697
68B18261772B43   JOSE         MIRANDA                      CO     33004672617
68B18418381644   ROGER        JENNINGS                     MO     90015024183
68B18476872B29   RHONDA       HULS                         CO     33073554768
68B18599655975   PHILIP       REDMON                       CA     90014745996
68B18786755973   JOHNATHAN    VASQUEZ                      CA     48054117867
68B19752991562   VINCENT      PEREZ                        TX     90002607529
68B19954372B29   ALEJANDRO    RIVAS                        CO     90000649543
68B1B11454B27B   KRISSY       THORNBURG                    NE     27047911145
68B1B135755975   ROSA         MORANO                       CA     90008591357
68B1B81A971964   NANCY        SULLO                        CO     32052958109
68B1B849555973   FRANCISCO    ALVARADO                     CA     90004748495
68B21716351354   TIMOTHY      HENSCHEN                     OH     90009977163
68B21792871964   SHANNON      DAVINPORT                    CO     90004227928
68B22194671921   JEFFREY      DAVIS                        CO     90010951946
68B2288197B46B   ARCHANA      USHAKUMARI                   NC     90014678819
68B22951172B36   DIPESH       MAGAR                        CO     33035559511
68B22A66A61964   BERNARD      DOMNIQUE                     CA     46082720660
68B2349484B27B   MANUEL       MAYA                         NE     90012424948
68B23643755975   REYNA        GUZMAN                       CA     90008016437
68B23A7AA91562   SYLVIA       PEREZ                        NM     75005140700
68B24197471921   ROBERTO      BARGAS                       CO     90010021974
68B24A5863168B   ALICIA       VERGE                        KS     90013120586
68B25225157538   FERNANDA     JUAREZ                       NM     35561002251
68B25257455975   JAMIE        BRANNON                      CA     48010622574
68B2529A891234   MELISSA      JACKSON                      GA     90015132908
68B2549445B241   RAENA        CAMPBELL                     KY     90014744944
68B25581784392   MICHAEL      COOPER                       SC     19068675817
68B2575A772B62   WARWICK      BASHFORD                     CO     90008477507
68B257A6555993   JESUS        MARTIN                       CA     90006847065
68B25866A57143   GONZALO      SANCHEZ                      VA     90002648660
68B2592594B26B   ALAN         RIDER                        NE     90014889259
68B2597617193B   RACHEL       CARLSON                      CO     90012349761
68B2614175B241   LINDSEY      METTS                        KY     90008351417
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 584 of 2350


68B2664614B27B   BRIANNA         KLEFFMAN                  NE     90005636461
68B26647171921   JANIS           PETTIBONE                 CO     32025816471
68B26695755975   LOURDES         ALEJO                     CA     90014746957
68B2693727B46B   ANDRE           ROSS                      NC     11061899372
68B26A75A72B29   SIJIFREDO       HULGUIN                   CO     33019220750
68B27244551354   THERESA         HOUSTON                   OH     66013482445
68B2799565B241   ESQUIVEL        ALFREDO                   KY     90000759956
68B28716171921   KRISTINA        JERMAIN                   CO     90015067161
68B2874933B391   CAMERON         WOODS                     CO     33017127493
68B287A8461964   RAUL            FLORES                    CA     90014867084
68B28811557538   AIDEE           GUTIERREZ                 NM     90005118115
68B28A36872436   STEPHANIE       WALTERS                   PA     90006430368
68B29353A71964   RENE            MADSEN                    CO     90006373530
68B2939145B241   JENNIFER        CLAYTON                   KY     68069563914
68B2B146371921   JASON           BAYETTE                   CO     90012601463
68B2B35785B235   EUGENE          WHITLOCK                  KY     90013323578
68B2B676971964   APRIL           COFFLIN                   CO     90015176769
68B2B725955973   ARELY           CHAVEZ                    CA     90010457259
68B2B78135B235   EUGENE          WHITLOCK                  KY     90015587813
68B2B97657193B   SOPHIA          TERRY                     CO     90014309765
68B312A3472B26   TIM             OSBORNE                   CO     90012192034
68B3136A75416B   STURMAN         STEVEN                    OR     90012553607
68B31A7A872B43   JACQUELINE      MARTINEZ                  CO     90008820708
68B32228571964   MATTHEW         COOK                      CO     90006772285
68B32478972B27   BRITTNEY        GARRETT                   CO     90007354789
68B3248997193B   SAGE            SADOWSKI                  CO     90014094899
68B32661A55973   PAULA           AYALA                     CA     48027926610
68B3278225B235   JAQUES          JOHNSON                   KY     68086397822
68B3298AA91998   ELADIO          MARIN                     NC     90009589800
68B34234472B29   LUKE            MILO                      CO     90003702344
68B34A52755975   ALEXANDER       MONTES                    CA     48013410527
68B3513314B268   CONCHITA        TOLLES                    NE     27054321331
68B3539987B39B   JULIO           CHICAS                    VA     90000833998
68B35555A4B53B   PHILLIP         HOLLOWAY                  OK     90010745550
68B3589727193B   MARKETAMERICA   M                         CO     90012138972
68B35954861936   TERESA          FLORES                    CA     46041159548
68B35A6993168B   DONNA           SHEPARD                   KS     90001680699
68B35AA4772B43   SUSANA          VARGAS                    CO     33003350047
68B36547472B36   YOLANDA         DICKERSON                 CO     33000195474
68B36642172B43   JERALYN         WOOD                      CO     90014336421
68B36992A3B385   RAQUEL          ROBERTSON                 CO     90002709920
68B37A26472B26   JAMILA          HATCHETT                  CO     90013030264
68B37A27A2B561   CHARITA         NOBLE                     AL     90011470270
68B38243855975   ALONZO          JOHNSON                   CA     90012922438
68B3824424B27B   JOHN            OLIVER                    NE     90015382442
68B3861585416B   DEBBIE          FOX                       OR     47090356158
68B39244871964   DONNA           RAES                      CO     90008992448
68B3926A971921   REBECCA         GRIGGS                    CO     90011002609
68B39382571964   YESENIA         BARGAS RAMIREZ            CO     90013023825
68B3B24937193B   ANGELA          SMITH                     CO     32027232493
68B3B66758166B   ANISHA          THOMAS                    MO     90013196675
68B41435681678   LANQUINDA       RIKISHA                   MO     90014344356
68B41627771964   DESTINY         MINICK                    CO     90014096277
68B41964255975   MANUEL          MARTINEZ                  CA     90009449642
68B4253635B241   FLORENTIN       HERNANDEZ                 KY     68000855363
68B43266A72B26   ELENA           GARCIA                    CO     90012572660
68B43863955975   DENISE          PEREZ                     CA     90003178639
68B44151961964   BRIANA          GEARHART                  CA     90013981519
68B44587A91562   ALVARO          MARTINEZ                  TX     90011485870
68B44632551354   MARIA           JULIA MARTINEZ            OH     90013786325
68B44841A72B27   JESUS           CERVANTES                 CO     33079938410
68B44A9AA5B231   ANGELA          HAWKINS                   KY     90008450900
68B4524A655973   JIMMY           HERNANDEZ                 CA     48046762406
68B452AA15B241   MICHEAL         HOLT                      KY     68005742001
68B45866371964   MARY            SEWARD                    CO     90014688663
68B4683255B235   JACOB           WILLIAMSON                KY     90014638325
68B468A5A72B26   TBLETS          MEHRETEAB                 CO     90011958050
68B46A96491998   MARIAH          KEITH                     NC     90013330964
68B47175291562   BLANCA          ANDRADE                   TX     90008401752
68B47179572B36   JOSE            NUNEZ                     CO     90000651795
68B47254A91522   JAVIER          NEVAREZ                   TX     75088942540
68B4748877193B   CLYDE           FEATHERLY III             CO     90012264887
68B47794172B27   PAUL            MAYOTTE                   CO     33042297941
68B4782147B13B   MATTHEW         STEFFENS                  ND     90015228214
68B47867472B29   GURU            MISHRA                    CO     33093438674
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 585 of 2350


68B478A5455975   MARGRITE     RAMIREZ                      CA     90014748054
68B47937971964   MARIA        ARAGON                       CO     90013829379
68B47A9A891998   MARIA        GOMEZ                        NC     90009980908
68B4811A77B46B   QUINDELLA    SIMMONS                      NC     90012361107
68B48499A51352   COURTNEY     DOBBINS                      OH     90010044990
68B48712461964   REBECA       CARDENAS                     CA     90004877124
68B4884794B588   DEE ELLA     LEWIS                        OK     21592448479
68B48A2135B536   MATTHEW      WOLL                         NM     90008140213
68B49281684392   THYRON       BURDEN                       SC     90010892816
68B49546172B27   RENE         CHAVEZ                       CO     33051705461
68B4B398772B43   JUAN         PEREZ                        CO     90000633987
68B4BA5A37193B   ANTHONY      HUCKABEY                     CO     90012740503
68B5117844B588   SHARIKA      WELCH                        OK     90015041784
68B5128462B893   ALXSA        LANDIS                       ID     90003172846
68B5144974B268   LILI         HARRIS                       NE     27027044497
68B51596772B26   JULIA        ROJAS                        CO     33045315967
68B51612591562   LARRY        EVANS                        TX     75009586125
68B51633772B29   AZUCENA      LAZOS                        CO     33057576337
68B51684A8B137   JORGE        MARTINEZ                     UT     90010016840
68B51685A72B27   ANDY         MONTOYA JR                   CO     90011186850
68B5199128166B   TRIVAH       SORRELLS                     MO     90007939912
68B5266455B235   KIMBERLY     RAY                          KY     90010166645
68B52A8845B241   MELINDA      SMITH                        KY     68048520884
68B5351A271964   JOSHUA       CRAION                       CO     90014945102
68B53625481644   KIMBERLY     BAKER                        MO     90007666254
68B537A957193B   MEGAN        RENO                         CO     90014107095
68B538A5455975   MARGRITE     RAMIREZ                      CA     90014748054
68B538AA671921   ROBERTO      TRAVIEZO                     CO     90014378006
68B5392627193B   LIONEL       SIMPSON                      CO     90015259262
68B541A614B588   ROBERT       BURNS                        OK     90004381061
68B54272257538   SINAI        LUCIO                        NM     90007282722
68B548A8151354   ALEXANDER    DAVENPORT                    OH     90015068081
68B55477955975   MAGALI       PERALTA                      CA     90010854779
68B56162761943   JOVANY       VALLE                        CA     90009541627
68B56853391522   NANCY        LOPEZ                        TX     75057298533
68B56951751354   LEMMA        BEDADA                       OH     90013409517
68B57228672B43   VALERIE      TURCIOS                      CO     33081232286
68B57347597B28   LYNITA       THOMAS                       CO     90010613475
68B5734A972B36   LUPE         RODRIGUEZ                    CO     90013823409
68B5757335B241   DESTINY      WILSON                       KY     90014745733
68B5764692B27B   JAMES        PENN-EL                      DC     90014656469
68B57699855973   VICTORIA     BARELLA                      CA     48084166998
68B57897272B26   MICHELLE     NGUYUN                       CO     90013778972
68B5918197193B   DALE         EVERETT                      CO     32078471819
68B59818A71964   ROBERT       MCSPADDEN                    CO     32094568180
68B5B112481644   NICOLE       DELL                         MO     29041701124
68B5B121372B26   ANTWAIN      MAYES                        CO     90010891213
68B5B19584B588   ASHLEY       ROLEN                        OK     90009321958
68B5B372355973   ROBERT       DANIELS                      CA     90015573723
68B6158362B27B   CATHERIN     HAWKINS                      DC     90006455836
68B6181617193B   ESTRADA      REBECCA                      CO     90009978161
68B6227818166B   YVETTE       SAFFOLD                      MO     90013772781
68B6261914B27B   JENNIFER     BALLIN HANEY                 NE     27077816191
68B63524A4B588   SERAFIN      MARTINEZ                     OK     90008155240
68B64319261964   MICHAEL      LATHAN                       CA     46087333192
68B64443863B66   RICARDO      MENDOZA                      IL     90014824438
68B6454218166B   JENNIFER     REYNOLDS                     MO     29092655421
68B64792A8166B   ANGELINA     COHENS                       MO     29047867920
68B64A33491998   KARLA        AROUZ GARCIA                 NC     90005620334
68B651A2472B26   DAVID        LUJAN                        CO     90008231024
68B6544184B27B   GARY         JACKSON                      NE     27066464418
68B65724955975   REY          CEBALLOS                     CA     48073667249
68B65844851354   TAMMY        SMITH                        OH     90012928448
68B661A2861964   SERGIO       JUAREZ                       CA     90007791028
68B66347A72B43   STEFAN       SPEROS                       CO     90014623470
68B6687297B36B   ROBERT       EDWARD                       VA     90000438729
68B6735428166B   JEFF         INMAN                        MO     29046743542
68B67556851374   AMANDA       DALTON                       OH     90010685568
68B67751372B36   REBEKAH      RAMIREZ                      CO     90005567513
68B68584472B36   MIGUEL       HAYWOOD                      CO     33026375844
68B69118255973   MANUEL       BUSTAMENTE                   CA     90012801182
68B693A2772B26   ANTHONY      ROMERO                       CO     90014753027
68B6B33467B46B   PEDRO        HERNANDEZ                    NC     90009523346
68B6B463992844   AGUSTIN      ZEREGA                       AZ     90014454639
68B6B7AA172B29   JUANITA      ALANIS                       CO     90000267001
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 586 of 2350


68B6B84794B588   DEE ELLA         LEWIS                    OK     21592448479
68B6B92212B27B   CARETHA          PHILLIPS                 DC     90014629221
68B7112247193B   OLGA             JASSO                    CO     90009021224
68B7119A15B241   DENISE           WITT                     KY     68025861901
68B71677672B27   MISTY            RIEDESEL                 CO     33099776776
68B71A52172B29   MARISOL          ENRIQUEZ                 CO     33093460521
68B72552172B36   ANA              BERNAL HERNANDEZ         CO     33008675521
68B72726397B55   ALLEN            BURCH                    CO     90005207263
68B7277965B235   BRENDA A         HEWITT                   KY     90013107796
68B72924555975   LUZ              CARDENAS                 CA     90011179245
68B73121355973   CHRISTINA        RAMIREZ                  CA     48050741213
68B7363445594B   CLARISSA         SALAZAR                  CA     90012146344
68B73693771964   FATIMA           ESTRADA                  CO     90013966937
68B73A8322B27B   ELBA             CABRERA                  DC     90012740832
68B74511A51354   DOMINGO          MENDOZA                  OH     90010785110
68B74957291994   ANNICE           WILLIAMS                 NC     90010209572
68B75279481644   DEBORAH          DAVIS                    MO     29093412794
68B75586572B29   CAITLYNN         ANDERLE                  CO     33058025865
68B759A7691986   JAVIER           LOPEZ                    NC     90014999076
68B75A6595416B   BAYRON           BARTOLON CIFUENTES       OR     90009100659
68B76775A5416B   LEE              STAGGENBORG              OR     90013077750
68B771A5755924   DAMEKA           SCOTT                    CA     90011371057
68B77936572B29   DESIREE          COX                      CO     33084189365
68B78357472B29   ISREAL           CLAUDIO                  CO     90010373574
68B785A2672B29   MACAREA          COCASERVIN               CO     90015155026
68B78625951354   ERIN             COOK                     OH     90001446259
68B7871452B27B   KOURTNEY         HUNTER                   DC     90014807145
68B78939957538   MARIBEL          PEREZ                    NM     90004269399
68B7898843168B   DAVID            HARMON                   KS     90004169884
68B79432571921   ELDRIN           KNOX                     CO     90005034325
68B7974355B241   TAMMY            BURRELL                  KY     90013447435
68B7B142A72B29   LUCAS            CRAWLEY                  CO     90002831420
68B7B16935B235   JERRI            JENNINGS                 KY     90008881693
68B7B231772B27   ELVIRA LETICIA   AMBRIZ                   CO     90013982317
68B7B312133B78   BRANDI           HUFFMAN                  OH     90013513121
68B7B59A75416B   ZACH             BAHEN                    OR     90013935907
68B7B639691562   ELIAS            NICACIO BONILLA          TX     90003816396
68B7BA2A891998   ERICA            THOMAS                   NC     90005620208
68B8115487193B   KATHLEEN         BURNS                    CO     32025271548
68B81376141951   ALISA            WIERMAN                  OH     90014513761
68B81748271921   KATIE            MALONEY                  CO     32043557482
68B82337455975   DIEZARINA        LONERO                   CA     90012413374
68B8235365416B   DELCE            GALVAN ALEMAN            OR     90006393536
68B82599472B29   JULIANNA         SANTOS                   CO     90014525994
68B82967381644   CHANELLA         GRIFFIN                  MO     90002869673
68B83169A55975   ALBI             LEMUS                    CA     90012991690
68B838A877B46B   KELANA           CARSON                   NC     90013658087
68B8428614B588   MISAEL           GONSALES                 OK     90006072861
68B8428775B235   KIRSTIE          FIELDS                   KY     90011462877
68B8434553168B   HASSANI          MURILLO                  KS     90012893455
68B8461755B241   DOUGLAS          OSBORNE                  KY     90014746175
68B8487144B588   MISAEL           GONSALES                 OK     90014898714
68B8567492B27B   ERIC             FAULKNER                 DC     90004456749
68B86172772B36   TYLER            JENNINGS                 CO     90012181727
68B86A21171921   MELISSA          CHALI                    CO     90014830211
68B87356971964   TODD             HENSON                   CO     90001703569
68B87828472B29   MELISSA          PENA                     CO     33014528284
68B87977151354   LATOYA           TOMAS                    OH     90010169771
68B879A2472B43   DAVID C          BAILEY                   CO     33036079024
68B87A15A4B268   SHANE            BRIGGS                   NE     90002940150
68B882A975416B   GINGER           RAMIREZ                  OR     90014612097
68B88947161964   ENRIQUE          RODRIGUEZ                CA     90007849471
68B8912257193B   JOHNATHAN        DIAZ                     CO     90014501225
68B8922545B235   RAMONDO          TRAVIS                   KY     68031052254
68B8B19A251354   ROBERT           GILMOREA                 OH     90014381902
68B8B31A771964   CHERYL           PATTON                   CO     90008853107
68B8B51937B46B   LARRY            WRIGHT                   NC     90014705193
68B91438571921   ERNEST           WINGO                    CO     32053364385
68B9162827193B   PAUL             PROBYN                   CO     90014326282
68B91658791562   CRYSTAL          HERNANDEZ                TX     75087456587
68B9226662B27B   VONDA            LEWIS                    DC     81090012666
68B9242777193B   BETTY            BROWN                    CO     32001874277
68B9325814B588   LAURETTE         JOHNSON                  OK     90014692581
68B93646472B26   MARIA DE J       HERNANDEZ                CO     33071616464
68B94428355975   VICTORIA         TORRES                   CA     90014784283
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 587 of 2350


68B94498384392   MELINDA      BOUCH                        SC     19092934983
68B9482174B588   JONATHAN     PATTERSON                    OK     90007888217
68B94823581644   STEPHEN      MCCRACKEN                    MO     90007788235
68B9495625B241   JENNIFER     QUIRE                        KY     68096259562
68B949A2361964   SAMANTHA     MORALES                      CA     90000899023
68B94A78A55975   SONIA        GARAY                        CA     90014850780
68B9534347B46B   JERMAINE     TOWNSEND                     NC     11085243434
68B95695172B43   JANICE       KIRKORIAN                    CO     33097416951
68B9597545416B   NATHAN       ESA                          OR     90012239754
68B96313151354   JASON        CROMER                       OH     66057913131
68B9671145416B   STACY        WEST                         OR     90015247114
68B97486672B26   SARA         LOPEZ-TENA                   CO     90004764866
68B97A64861936   ANNA         QUINONES                     CA     90010530648
68B98115181644   ALICIA       ALVARADO                     MO     90007341151
68B98397555973   LORI         FLORES                       CA     90014223975
68B98549933698   SHALESHA     POPE                         NC     12087125499
68B9921575B241   THERESA      ROBERTSON                    KY     90012372157
68B99526884392   SHANIQUA     HAYNES                       SC     90002705268
68B99595A5B581   JEREMY       PEREA                        NM     90003535950
68B9BA3585B241   ANTHONY      HALL                         KY     90004750358
68BB1887172B43   STACEY       HOFFMAN                      CO     33006338871
68BB1943A81644   STEFANIE     JOHNSON                      MO     90010609430
68BB211765B241   MICHELLE     FARRELL                      KY     90014761176
68BB235344B588   ROBERT       GENTRY                       OK     90015273534
68BB281354B27B   FRANCISCO    HERNANDEZ                    NE     27081138135
68BB2A6A481675   BLENDA       RODRIGUEZ                    MO     90009770604
68BB337573168B   RAMON        HUERTA                       KS     90014903757
68BB343855B241   GUEVERA      GARCIA                       KY     90014744385
68BB348812B27B   ALHASAN      RASHIDA                      DC     90013004881
68BB424945B241   RHONDA       COLLINS                      KY     90002212494
68BB4351291527   MICHAEL      UNZUETA                      TX     75023403512
68BB4536572B27   JERRY        CAMACHO                      CO     33032545365
68BB4A9A151354   FREDRICK     ARIS                         OH     90011050901
68BB52A8971964   JONATHAN     NEAL                         CO     90015102089
68BB5318471964   STEPHANIE    LONGREAR                     CO     90013023184
68BB534237193B   CALVIN       JONES                        CO     90014623423
68BB553922B27B   CHIQUITA     JACKSON                      DC     81001795392
68BB5747372B36   CLINTON      DUNN                         CO     90014117473
68BB5933872B29   ANEYA        CORDOVA                      CO     90004779338
68BB6249472B26   LISA ANN     CASTENS                      CO     90013602494
68BB6A5597193B   ANA          ZAMUDIO                      CO     32017920559
68BB7361281661   BILLY        EVANS                        MO     90007473612
68BB77A195416B   CYNTHIA      LITTLE NATION                OR     47046057019
68BB77A6791562   YAHAIRA      CARDOZA                      TX     90011467067
68BB8114172B27   SCOTT        CALL                         CO     90014691141
68BB8171372B27   FRITZI       AVILA                        CO     33096861713
68BB82A8971964   JONATHAN     NEAL                         CO     90015102089
68BB843745416B   RICO         GRACIELO                     OR     47038804374
68BB9494772B26   PRINCETON    CURTAIIN                     CO     90014394947
68BB978424B588   OLIMPIA      JIMENEZ                      OK     90005847842
68BB9A85272B26   PRINCETON    CURTAIIN                     CO     90013220852
68BB9A9338166B   ZOILA        ROSALES                      MO     29015100933
68BBB463771964   RICK         OLSON                        CO     90010214637
68BBB54717193B   REBECCA      ROUSE                        CO     90012365471
68BBB64352B27B   JOHN         SAUNDERS                     DC     90014556435
68BBB858271921   FABIAN       SILVA M                      CO     90006148582
69111218572B36   KELLIN       MCELVAINE                    CO     33000712185
6911144687193B   CHALAT       PETERSON                     CO     32000944468
69111553876B49   ADELA        PASTRANA                     CA     46016895538
69111758372B43   DANIEL       OBRIEN                       CO     33083267583
6911246152B27B   JOHNNY       MORENO                       DC     90015124615
69112598A41239   EVONNE       CURENTON                     PA     90008385980
6911316A261964   TONI         BAKER                        CA     46000271602
69114291A7B451   MANUEL       ALVAREZ                      NC     90010032910
6911499A561964   CESAR        INIGUEZ                      CA     46044159905
691152A3155943   KENNETH      DOLAND                       CA     90014132031
69115A83972B26   JEREMY       SHIVES                       CO     90001290839
6911636188B19B   LOGAN        MATTSON                      UT     90005843618
6911676122B27B   JOHN         SIMTH                        VA     90013147612
69117373372B43   JESSICA      ELLIOTT                      CO     90014843733
69118613A8166B   LORRAINE     GALLAGHER                    MO     90014866130
69118785272B26   JEFFERY      COLOMBO                      CO     90007247852
6911941998166B   JAMES        MCNEAL JR                    MO     29050244199
6911B72414B22B   BEVERLY      VAUGHIN                      NE     90001097241
69121411872B26   MARIA        CASTRO                       CO     33073984118
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 588 of 2350


6912239862B89B   HEATHER      JENSEN                       ID     90009813986
6912265115416B   KYLE         RICH                         OR     47062426511
69122A63233698   JOSHUA       QUINN                        NC     12087560632
6912386974B588   CHRISTINA    JAMES                        OK     90013658697
691249A175416B   DONALD       GOERZ                        OR     90000909017
69125122A2B27B   MARIA        CERQUERA                     DC     81011781220
69125175372B29   NICOLE       MORGAN                       CO     90004401753
6912521837193B   MARIA        OSUNA                        CO     90011062183
6912534A361559   EUSEBIO      HERNANDEZ                    TN     90015443403
6912572787B472   OSCAR        GUARDADO                     NC     90002257278
69127461272B29   GLORIA       LEDESMA-GURROLA              CO     33086864612
69127A14172B26   JOSE         MONTELONGO                   CO     33026460141
69128A97472B36   ANASTASIA    HERNANDEZ                    CO     90003290974
691292A4771921   KRISTINA     KIZER                        CO     90000632047
6912991A22B248   MARGA        KEARNEY                      DC     90012009102
6912B74528166B   KEVIN        MEMBRENO                     MO     90010217452
6912B84A191562   MARINA       MUNOZ                        TX     75088478401
6912B91244B27B   JOCABETH     VILLALOBOS                   NE     90011159124
6912B913391592   ERIKA        MARTINEZ                     TX     75097559133
69131176872B43   KELLY        BIAYS                        CO     90009811768
691317A1A72B26   RAMONA       SANDOVAL                     CO     90014437010
69132178672B36   ROSALIE      BENAVIDES                    CO     33090691786
69132A41661964   ERIN         ZIEGLER                      CA     90012110416
6913339487B46B   GARRETT      DUNCAN                       NC     90015233948
6913399A276B54   JESUS        RAMIREZ                      CA     46092179902
69133A91661964   JORGE        CABADAS                      CA     90005700916
6913511567B46B   WENDY        AGUILARGUEVARA               NC     90011811156
6913646782B27B   JOSEPH       SISNEY                       DC     90010534678
6913662AA4B27B   JOSE         TORRES CARDONA               NE     90013276200
69136A8A372B26   ERNEST       NORRIS                       CO     90012710803
69138178A4B221   MIGUEL       VALENCIA                     NE     90008691780
6913822955416B   ANDRES       PERALES                      OR     90010132295
69138461272B29   GLORIA       LEDESMA-GURROLA              CO     33086864612
691394A4191562   CLAUDIA      DOMINGUEZ                    TX     75068944041
6913957414B588   BALITINE     LILLIAN                      OK     90013175741
6913B429272B29   JAVIER       RICO                         CO     90012724292
6913B528672B26   GERARDO      RODRIGUEZ                    CO     90011485286
69141188987B31   ROGER        BURTON                       AR     90014441889
6914164975B271   HENRY        GLENN                        KY     90000556497
691423A9272B36   BENJAMIN     SALZER                       CO     33020923092
6914256975416B   KAYLA        JONES                        OR     90002035697
69142A87661964   ANUAR        ANGULO                       CA     90012040876
69142A97A7193B   YOMELL       MONDRAGON-ESPINDOLA          CO     32087400970
691431A368166B   JEFF         MOSBEY                       MO     90013981036
6914372A39123B   BERNITHA     VAUGHN                       GA     90004697203
691449A4191522   JUAN         PEREZ                        TX     75044689041
69145328472B29   ROBERT       GONZALES                     CO     90014813284
691473A1855975   JOSE         FLORES                       CA     90010593018
6914779165416B   JENNIFER     BENNET                       OR     90009827916
6914963A74B27B   MARVIN       LEVELL                       IA     90015106307
69149643772B27   MALENA       ANGUIANO                     CO     33007606437
6914B21A47193B   STEPHANIE    MCCARGAR                     CO     32089072104
6914B631772B36   NATASHA      DENHAM                       CO     90001836317
691518A5A5416B   THOMAS       FIORELLI                     OR     90002168050
69151A55671921   PAULA        DALLER                       CO     32080450556
6915213844B588   KRYTAL       EASLEY                       OK     90013571384
69152A4514B588   ROBIN        LOPEZ                        OK     90013550451
69152A8815B235   NIKKI        KIPER                        KY     68072980881
6915373422B967   CONSTANTIN   CUEVAS                       CA     45028767342
69154256872B29   JOSE-ALFRE   LOPEZ-DIAZ                   CO     33096462568
6915437A451354   GERALYN      CLEARY                       OH     90010193704
69154463A4B27B   SARITA       UVALLES                      IA     90010574630
6915456377193B   TOMMIE       ROWE                         CO     90012005637
69154A76197B57   CESAR        RODRIGUEZ                    CO     90012510761
69155295972B26   ERMIDA       DE CALDERON                  CO     33024052959
69155524687B31   CHARLES      LOWRY                        AR     90002885246
691557AA555975   JOSE LUIS    SANCHEZ                      CA     90015177005
69156272972B29   ROSA         GUZMAN                       CO     90013462729
691567A8472B43   NORMA        GONZALEZ                     CO     33089937084
6915691114B588   LARRY        ZACKERY                      OK     90015119111
6915715135B235   ERICA        EDWARDS                      KY     90006041513
69157675A71921   ISREAL       GARCIA                       CO     90008756750
6915777A172B29   JUSTIN       ROBINSON                     CO     33074447701
6915811168B178   SPENCER      JUSTIN                       UT     90010051116
69158534576B49   RICHARD      GRAY                         CA     90012305345
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 589 of 2350


6915874344B27B   JOSE         TRAJO                        IA     27096527434
6915882768166B   JOURNEY      THOMAS                       MO     90014758276
6915893735416B   CESAR        FLORES MEJIA                 OR     47092539373
6915938954B27B   LUANN        LEARY                        NE     27038903895
6915B116A7B46B   DE ANDRE     JOHNSON                      NC     90010731160
6915B125A55975   JOSE         MARTINEZ                     CA     90003311250
6915B269391522   JOSE         MENDOZA                      TX     75054242693
6915B52395416B   REBEKAH      VIDAL                        OR     90013565239
6915B899791562   JAVIER       TOVAR                        NM     90013128997
6915BA5778166B   CRYSTAL      ITCHELL                      MO     90013120577
691618A777193B   SILKE        MARSHALL                     CO     90014678077
6916195784B27B   NATASHA      PALMER                       NE     90010049578
69162981A7193B   AMY          BELHUMEUR                    CO     90009069810
6916322824B27B   MARJ         HILT                         NE     27017122282
69163446376B49   FALLON       RUSING                       CA     90005804463
6916453657193B   DANIELA      RODRIGUEZ                    CO     90009005365
6916513714B27B   ANTONIA      GOMEZ                        NE     90014401371
69166216A55975   RUBEN        GARZA                        CA     90014062160
69166451A51354   JAMES        DUTTON                       OH     90008864510
6916665355B271   CHARLENE     BURD                         KY     90000556535
6916738A44B588   ALEX         CHERRY                       OK     90013323804
691679A9A72B26   JOSEPH       MOORE                        CO     33001399090
6916814AA5416B   KEILI        HAWKE                        OR     47007721400
69168A13172B29   JEFF         TABURES                      CO     90014050131
69169722176B54   JEFF         GOLDTHWAITE                  CA     90007077221
6916B495A72B29   PATRICIA     CABERA                       CO     90014664950
6916B589371921   BARBARA      SANDS                        CO     90007655893
6917115A972B43   DORA         CABRERA                      CO     90012191509
6917217798166B   ROGACIANO    VAZQUEZ                      MO     90013231779
6917252645B235   JACOB        FUQUA                        KY     90013065264
69172948572B27   ANETTE       CARLISLE                     CO     90013129485
6917317687193B   JOSHUA       BRADLY                       CO     90013151768
69173333597B64   KARI         OKONEK                       CO     90004353335
69173411976B54   JOSE         ZAMORA CRUZ                  CA     90006374119
6917353212B27B   CALVIN       TITUS                        DC     90010835321
691749A3384392   JAMES        DAWSON                       SC     19012529033
6917648367193B   LISA         LEE                          CO     90005284836
6917682A491592   DAVID        JUAREZ                       TX     75039638204
69177835872B29   DEYSI        LARA                         CO     90007388358
691778A2A72B43   LISSETTE     ESPINAL                      CO     90006938020
69178683A72B43   SERGIO       GARCIA                       CO     90011806830
6917875285B241   TAMMY        EMBRY                        KY     90006907528
6917912497193B   KRISTINA     COX                          CO     90014341249
69179426A72B43   ENIE         BROOKS                       CO     33090854260
69179914A2B27B   KHADIJAH     HIPPS                        DC     90009079140
69179A5484B27B   KYLE T       LOWERY                       NE     90011180548
6917B1A4191592   RAISA        MCINTYRE                     TX     90009071041
6917B366893735   PRINCESS     BILLINGSLEY                  OH     90011563668
6917BA16572B43   JAMES        GRAHAM                       CO     33090700165
6918134548166B   BETZY        CABILDO                      KS     90010673454
69181A4465416B   MARIA        FARNSWORTH                   OR     90011090446
6918211168B178   SPENCER      JUSTIN                       UT     90010051116
6918239A52B27B   MICHAEL      JOHNSON                      DC     81078923905
69183184176B54   FRANCISCO    FABIAN                       CA     90007091841
69184157972B43   ELLIS        WOODS                        CO     90012701579
6918439468166B   FEITH        CANON                        MO     29008923946
69184763A91562   JOHN         DOZIER                       NM     75038237630
6918589365416B   CHELSEA      RILEY                        OR     90013268936
69185923A72B27   TYLER        TREWEEKE                     CO     90012089230
69186665372B27   RICARDO      HERNANDEZ                    CO     90007086653
69187659A76B49   CAROL        KUHL                         CA     90005846590
6918814292B271   YVONNE       STRINGER                     DC     90004731429
69188213472B26   ROBERTS      TAMIKA DENISE                CO     33049852134
69188819997B64   BENTON       PETERSEN                     CO     90010108199
69188821272B36   AMBER        WILKINS                      CO     90006788212
6918922534B588   COLBY        PARKS                        OK     21564762253
6918966455416B   MCKENZIE     FOUNTAIN                     OR     90008646645
6918B145A8166B   MARTINE      ORTIZ                        MO     29052871450
6918B28947B396   FAUSTO       SANDOVAL                     VA     90008682894
6918B73862B224   WALTER       FERGUSON                     DC     90007967386
6919164485416B   MCKENNA      ROBERTSON                    OR     90011656448
691917A8881653   CECE         SUMNER                       MO     90008177088
6919228384B27B   DANIEL       GEDAMU DESSIE                NE     90005582838
69192A22455975   FILBERT      MARTINEZ                     CA     90012910224
6919331A872B43   RICHARD      BURCH                        CO     90006993108
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 590 of 2350


69194674772B29   SKOYA         CHRISTENSEN                 CO     33011366747
69194841576B49   PABLO         MORALES                     CA     90005848415
69195535A3168B   KILIE         BOWIE                       KS     90009705350
69195932672B29   REBECA        VARGAS                      CO     33082209326
69195969872B43   CONCEPCION    VERDE                       CO     33097909698
691959A8571921   ARACELI       DEL TORO                    CO     90013799085
69195AA4972B27   JUAN PABLO    LOPEZ                       CO     90009710049
6919727598166B   JAMIE         GORHAM                      MO     90012352759
69197787A51344   JUDY          WESLEY                      OH     90012387870
69198361972B29   SOMONA        COPELAND                    CO     33027763619
6919846324B27B   SARAH         HARGIS                      NE     27007604632
6919846A42B27B   MARKETIA      TINKER                      DC     90004684604
6919B73595416B   ELIJAH        MCCAY                       OR     90014957359
691B139A891592   MIREYA        GONZALEZ                    TX     90015233908
691B13A6491522   JESUS         BANDA                       TX     90011833064
691B2A9A572B29   PERFECTO      SIMENTAL                    CO     90014770905
691B343877193B   TERESA        CABRAL                      CO     90014824387
691B4387991522   SILVIA        MARQUEZ                     TX     75004783879
691B4696581675   CHRISTINA     CARPENTER                   MO     29012546965
691B478A27193B   LYNETTE       DUDLEY                      CO     90008297802
691B4A19972B29   JOSE          ANAYA                       CO     90010650199
691B52A2697B42   JOLENE        SILUS                       CO     90014062026
691B5559591592   OSCAR         LOPEZ                       TX     90015195595
691B5565A85948   JASON         BOWERS                      KY     90005675650
691B5874872B27   ELENI         SARRIS                      CO     33017838748
691B6514572B26   NICOLAS       SEANEZ                      CO     90006825145
691B6962361934   KADYN         CACERES                     CA     90012689623
691B787A64B588   MONICA        GALVAN                      OK     90010458706
691B799295416B   MICHAEL       LEE STORY                   OR     47043599929
691B8321491522   JOANNA        DEL REAL                    TX     90011833214
691B8483384392   EMUEL         GREEN                       SC     19027364833
691B8737187B31   CHARLES       HALL JR                     AR     28081127371
691B946827193B   CHRISTOPHER   SMITH                       CO     90014364682
691B997A67B46B   ANTONIO       JOHNSON                     NC     90013539706
691B9A9675416B   HEIDI         TITUS                       OR     90014900967
691BB881657549   PATRICK       HEIDE                       NM     90005578816
6921151A791522   SHARON        JACKSON                     TX     90011835107
6921156424B588   RYAN          WELLS                       OK     90014915642
6921295784B27B   NATASHA       PALMER                      NE     90010049578
6921298A38166B   KRISTA        PARTON                      MO     90013539803
69212A95672B43   JESUS         SOLIS                       CO     90003190956
69212A9A755969   HEATHER       WILLIAMS                    CA     90009520907
69213295272B27   RICE          JEROME                      CO     33009952952
6921458938166B   WAYNE         CABRA                       MO     90013965893
6921474213168B   JESSIE        PAYNE                       KS     22015407421
6921476827193B   JORGE         GONZALEZ                    CO     90013237682
6921531AA72B26   PATRICK       GODWIN                      CO     90015223100
6921539837B46B   ELDER         AGUILAR                     NC     90014693983
6921667554B241   SARAH         STRAHAN                     NE     90000576755
69217197A5B235   MARNIQUE      CARR                        KY     90003921970
69217452676B49   LEONORA       ESPARZA                     CA     90009054526
692177A344B241   ANGELIQUE     DIMARI                      NE     90000577034
6921835A25416B   CHRIS         RACE                        OR     47078063502
692189A5791525   PRISCILLA     GALINDO                     TX     90010479057
69218A2A97B46B   DEMARIOUS     NASH                        NC     90011000209
69219433772B26   KYLE          GEITZANUER                  CO     33064704337
6921954AA53B64   DESSIREE      PALMER                      CA     90015385400
6921992487193B   PATRICK       ANOSIKE                     CO     32064579248
6921B31418166B   JEMAICA       FELIX                       MO     90013683141
6921B68634B588   DIANGELO      ANDERSON                    OK     21577966863
6921B79455416B   DANIELLE      SMITH                       OR     90010977945
6922174A55B368   FELIX         SANTOS                      OR     90001367405
692221A2372B43   WILLIAM       HOFMANN                     CO     33038021023
692223AA84B27B   DARNEL        TONEY                       NE     90013883008
6922343567B472   TODNEY        FE ACHER                    NC     90011814356
692234A8391562   JUAN          MUNOZ                       TX     90008994083
69223791272B26   ROSJANI       RISWAN                      CO     90005777912
6922427498166B   KATRINA       MERRIOTT                    MO     90010702749
6922447282B27B   THOMAS        BUTTS                       DC     90010184728
69225294A71921   ARTHUR        LOPEZ                       CO     90002562940
692252A1A91592   TERESA        RUIZ                        TX     90002982010
69225812A72B43   ANTONIO       SAUCIDA                     CO     90013068120
69226591172B29   BRADFORD      BENNET                      CO     90014845911
69227241172B29   JENNY         GINSEL                      CO     33062452411
6922744297193B   D             GONZALES                    CO     32023774429
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 591 of 2350


69229245876B58   SANDRA       GARCIA                       CA     90007742458
692297A9872B27   MARIA        FUENTES                      CO     33013197098
6922B17645416B   ABIE         PERKINS                      OR     47088351764
6922B57395713B   MARIA EMMA   ERICK GONZALEZ               VA     90014925739
6922B84477B46B   SYLVESTER    RICHARDSON                   NC     90013648447
6922B96A921677   ASHLEY       HETMAN                       OH     90011239609
6922BA53984392   JOAO         SILVA                        SC     19011850539
6922BAAA491592   AMADO        LOPEZ                        TX     90014780004
6923272A48166B   AARON        GODFREY                      MO     90013947204
6923336168166B   RAYMUNDO     HERNANDEZ ZEYALA             MO     90013683616
6923368A961936   MARCO        IBARRA                       CA     46052916809
69234482972B36   MARY         LAWRENCE                     CO     33047004829
69234757672B27   ANTHONY      RODRIGUEZ                    CO     90011927576
69234A77355975   ESTEBAN      GASPAR                       CA     90003390773
6923529445B241   JORGE        SANCHEZ                      KY     90000322944
69236A8887B46B   DARINEL      MACARIO VASQUEZ              NC     90007580888
6923782334B27B   ETIENNE      AMION                        NE     90012578233
6923896373144B   ISHA         ABDIRHMAN                    MO     90011239637
69238A5515416B   CRYSTAL      BROWN                        OR     90012290551
69239547A91348   APRIL        ALLEN                        KS     90001585470
69239A5822B27B   DOMINIQUE    DUGAR                        DC     90014800582
6923BA48171921   DAVID        LOPEZ                        CO     90014900481
6924145A47193B   CAITLYN      MILLER                       CO     90015174504
692419A8961964   EVERTT       BENYARD                      CA     46003999089
6924236748166B   JOHN         JACKSON                      MO     90013683674
6924255275B243   MCKENZYE     TUCKER                       KY     90008385527
692433A4881675   JOE          TAKACH                       KS     90012083048
6924368487193B   REBECCA      VANBUSKIRK                   CO     32040916848
69243881872B29   RODRIGO      LOPEZ                        CO     90011328818
6924437A64B588   MELCHOR      PENA                         OK     90004133706
692451A5887B31   KEEMA        JONES                        AR     28000191058
6924529917193B   RONALD       RIVERA                       CO     32098872991
69245413A5B241   SERGIO       PALACIOS                     KY     90006944130
69246163A5B241   SHANNON      SMITH                        KY     90014301630
6924623215B241   SHANNON F    SMITH                        KY     90003962321
6924629395416B   RENEE        GUTIERREZ                    OR     47036002939
69246756A71921   DEBORAH      WALKER                       CO     32092037560
6924748724B588   DENISSE      CASTILLO                     OK     90009614872
6924829844B588   FRANCES      JOHNSON                      OK     21564552984
6924918A272B27   MAURICE      DAZO                         CO     33006961802
6924B63A472B27   MARYPAZ      SOLIS                        CO     33086076304
6924B8A6291522   ANTONIA      BUSTAMANTE                   TX     90011838062
6925115385416B   STEVEN       DUNN                         OR     90010611538
6925155A74B27B   BERGANE      TEWELDE                      NE     90010875507
6925174287B46B   LENORA       SHEPPARD                     NC     90013987428
6925247A355975   ROSAURA      BACA                         CA     90007014703
69252724672B27   JAVIER       RAMIREZ                      CO     33078967246
692532A647B46B   LUSHANA      JOHNSON                      NC     90014572064
69253A57655975   SYLVIA       RIVAS                        CA     90014910576
6925472384B27B   NATHAN       LYLE                         NE     27084597238
692547A3172B29   ANYCE        CHILDRESS                    CO     90012307031
69255982372B36   LORI         MCNABB                       CO     33078139823
6925598854B27B   MARIA        DIAZ                         NE     27079699885
69256671A5416B   CHAD         CARMAY                       OR     90012736710
692566A7672B36   BRYAN        SMITH                        CO     33082756076
69256847676B54   MARIA        NOVOA                        CA     90013298476
6925686273168B   DANIEL       HATFIELD                     KS     22098028627
69256911672B43   MARCO        ISCO                         CO     90015319116
692576A7572B29   JOSEFA       SANCHEZ                      CO     90013006075
6925786974B588   CHRISTINA    JAMES                        OK     90013658697
69257A97372B27   REY          ARCADIO                      CO     90012740973
6925812A691592   MARIA        ESTRADA                      TX     90014481206
6925827A27193B   LIZABETH     LAMOTHE                      CO     90004972702
6925913377193B   CONNIE       HAYES                        CO     32066211337
6925918694B588   TIMOTHY      CAIRNS                       OK     21540871869
6925B615A72B26   ANTONIO      PRICKETT                     CO     90005966150
6925B891191522   MARTHA       RAMOS                        TX     90004708911
6925B912157142   PAULA        TAMBA                        VA     90010539121
6925B9A3161936   JUAN         LUNA                         CA     46059849031
6926127394B27B   RAQUEL       DE LA CRUZ SOTO              NE     27033892739
69261712672B27   VIRGINA      BESSERT                      CO     90011457126
69262429A61964   DIANA        ZAMUDIO                      CA     90001504290
6926274265416B   STEPHANIE    LAWRENCE                     OR     90015237426
69263335172B26   MARIA        SAUCEDO                      CO     33060903351
6926462AA91522   MARISELA     GARZA                        TX     75050756200
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 592 of 2350


692646A8A87B31   MANDY          COLBURN                    AR     28001236080
6926482387B46B   RANDY          CASTLE                     NC     90015098238
6926538293168B   SYDEL          DALMASSO                   KS     22000193829
692657A8381675   CHRIS          LEE                        MO     90011707083
6926593745B271   JESSICA        HENNING                    KY     68088889374
6926651575B241   DOUG           SCURLOCK                   KY     90006945157
69266A6267193B   SASHA          BENTON                     CO     90014790626
69267936587B31   MARYA          LANGFORD                   AR     28007439365
69267999372B29   CHERYL         STOREY                     CO     33067949993
69268154472B26   ISABEL         DIAZ                       CO     33053811544
6926819232B27B   NAVA-PAREDES   HONORIO                    DC     90010751923
6926826A861936   AJA            AQUININGOC                 CA     90003222608
692695A3772B29   MAURICIO       MARTINEZ                   CO     90012085037
69269913272B27   FERNANDO       ORTIZ                      CO     33081129132
6926B222697B64   STEFANIE       GONZALEZ                   CO     39044532226
6926B41965B126   HEATH          GEORGE                     AR     90009914196
6926B86658B168   ZHICAI         CHEN                       UT     90005848665
69272124772B43   ROGELIO        MORALES                    CO     33061351247
6927215282B27B   JUAN           PEREZ                      DC     90004491528
6927226415B241   BRIAN          DEVIS                      KY     90005372641
6927275A555975   BOBBY          GUTIERREZ                  CA     90012517505
6927283724B588   MICHAEL        ERWIN                      OK     90012328372
69273414472B43   CARMEN         CARBAJAL                   CO     90007684144
692735A2191562   JOSE           MORENO                     TX     90009965021
69274421772B36   ADNAN          ABID                       CO     33016924217
69274435972B26   JESUS          CUEVAS                     CO     33054994359
69274883A61964   MICHAEL        GRAHAM                     CA     90007988830
69274977572B29   ANA B          FIGUEROA                   CO     90005749775
69275421572B29   ENRRIQUE       GONZALEZ                   CO     33047734215
6927576A755975   ALFONSO        TAPIA                      CA     90006957607
6927738AA4B588   AMBER          PYLE                       OK     90014453800
69277853372B36   TRAVIS         MERROW                     CO     90006788533
69278919A76B54   PAULO          RAMIREZ                    CA     90007199190
6927994877193B   HEATHER        WILLIAMS                   CO     90011559487
6927B568791562   DIEGO          LUJAN                      TX     75091965687
6927B798391562   SUSANA         FRANCO                     TX     90007617983
6928119387B46B   SHIMERE        BURRELL                    NC     11048901938
69281A7A155975   JESSICA        CAMPOS                     CA     90011580701
69281A96491562   LILIANA        SILVA                      NM     75046500964
6928252934B27B   JOSHUA         MOSES                      NE     90012935293
6928262A661964   MELINDA        VALENZUELA                 CA     90001656206
692832A2A8B17B   IRENE          LEMUS                      UT     90011262020
69283624472B29   GABRIELA       GUIDICE                    CO     33006216244
6928497215B235   HENRY          RODRIGUEZ                  AR     90006809721
6928524557B46B   CHRIS          BROOKS                     NC     90014972455
69285542472B43   SERGIO         TLAXCALTECO                CO     90010655424
69285936587B31   MARYA          LANGFORD                   AR     28007439365
69285A31A72B43   PATRICIA       ORTEGA                     CO     90014390310
69286343A61964   FERNANDO       SILVA                      CA     90010623430
69287A87191562   DANNY          ESCOBAR                    TX     75087630871
69287A91876B49   DOMINGO        MARTINEZ                   CA     90011590918
69288A5586155B   JOSEPH         TOTTS                      TN     90015360558
6928B896276B54   RODRIGO        MIRANDA                    CA     90006708962
6928B962861936   MAX            FRIEL                      CA     46071839628
6928B97955B229   NICHOLETTE     JOHNS-LANIER               KY     90006259795
6929141868B168   JONATHON       FOWERS                     UT     31050854186
6929147A672B27   DAVID          PENA                       CO     90012884706
6929196A172B43   CHASITY        MAESTAS                    CO     33014229601
69291AA4772B26   LILLIE         HERNANDEZ                  CO     33083530047
69293115587B31   CARLA          BESINGER                   AR     90011491155
6929451898B168   JOHN           TELFORD                    UT     90005865189
6929473A771921   YESSENIA       MONTOYA                    CO     90009947307
69295345A61964   LARK           BEARDEN                    CA     90010623450
692962A352B27B   MARCIAL        MIANGO                     VA     90012712035
69296A95A55975   DAVID          MAGANA                     CA     90014780950
6929815914B27B   CHESTER        CARTER                     NE     27008771591
69298694A3168B   OLIVIA         AGILAR                     KS     90013816940
6929B518191592   ANITA          KELLY                      TX     75003575181
6929B771191562   GILDA          SANCHEZ                    TX     90013377711
692B168623B372   SANDRA         WILLIAMS                   CO     33007096862
692B1749761964   JULISA         PEREZ                      CA     90015337497
692B18AAA72B26   TOMMY          STEWART                    CO     90010128000
692B1A55691562   MARCELO        PINON                      TX     90015310556
692B2A85991592   EDUARDO        GALLEGOS                   TX     90010790859
692B322652B82B   TIM            SITTRE                     ID     90014582265
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 593 of 2350


692B3377172B29   HERNANDEZ     VERONICA                    CO     33096433771
692B3982787B31   NATASHA       WALKER                      AR     28005559827
692B4874172B36   JONATHAN      CHADDIC                     CO     33039288741
692B4987787B31   JASON         AMICK                       AR     90000629877
692B5148791592   ANABEL        SANTOS                      TX     90010721487
692B5711955975   RIGO          GONZALEZ                    CA     90011287119
692B5845361964   MELISSA       GALLEGOS                    CA     90009888453
692B599647B472   TEMESGEN      KIFLE                       NC     90011249964
692B5A73A81653   LARRY         MCCOY                       MO     29025500730
692B614434B588   SHEUREKA      MONTGOMERY                  OK     90014351443
692B6299461559   GEORGE        DENWIDDIE                   TN     90008162994
692B643167B46B   CARMEN        MONTESINOS                  NC     90004984316
692B7122A8166B   DANIA         SANCHEZ                     MO     29073651220
692B714A497B64   DUTCH         SELF                        CO     90006801404
692B727574B27B   SOPHIA        GOMEZ                       NE     90014852757
692B814A497B64   DUTCH         SELF                        CO     90006801404
692B81A1A4B588   MARILYN       SMITH                       OK     90014811010
692B8438271921   JEROME        SHIELDS                     CO     90015104382
692B848894B588   KEVIN         WILLIAMS                    OK     90013314889
692B8734772B26   RYAN          HAMMACK                     CO     90000357347
692B8749972B43   REYNA         VALDEZ                      CO     90012087499
692B8A49881675   NICHOLAS      STEWART                     MO     29004940498
692B91A1772B26   BRENDA        CONTE                       CO     33091591017
692B9887776B49   BRIAN         CODAY                       CA     90005858877
692BB97528166B   SAUFFALH      SPRAGGINS                   MO     90013939752
69311377A7B46B   BRUCE         RASIER                      NC     90015173770
693124A5476B49   MARIA         GONZALEZ                    CA     90014294054
69312629372B27   LUISA         MANRIQUEZ                   CO     90000676293
6931399A94B27B   COLIN         LARSEN                      NE     90013839909
69314373A91562   DAGO          GONZALEZ                    TX     90012433730
69314A86391592   YANA          BURLAK                      TX     90008940863
6931543892B27B   JUAN          GONZALEZ                    DC     81005384389
6931647884B588   BRITTANY      CASS                        OK     90008644788
69316894A55975   ANA           FERNANDEZ                   CA     90014078940
69317A53272B27   ELIEZAR       BALBIN                      CO     90012850532
6931821725416B   CHRISTOPHER   DOMINGUEZ CORTEZ            OR     90012572172
6931828352B27B   JONAH         BRYANT                      VA     90013912835
6931876584B588   ROGER         BNTALLY                     OK     90007807658
69319477172B27   MANUEL        MEDINA                      CO     33072954771
6931991814B588   MONICA        PERDOMO                     OK     90007089181
6931B69914B588   CIARRA        KIMBLE                      OK     21554696991
6931B799671921   JACQUELINE    LOVE                        CO     90014817996
693213A5291592   MARCELO       GARCIA                      TX     75058343052
69321616472B27   CRAIG         MADONNA                     CO     90012476164
6932223868166B   SILVIA        JUAREZ                      MO     29053412386
6932251A54B588   FERNANDO      RESENDIZ                    OK     90013635105
693228A522B27B   ANNETTE       COSTLEY                     DC     90012428052
69322A18272B27   FERNANDO      PACHECO                     CO     33018120182
6932358738166B   BRENDA        WILLE                       MO     90001815873
69323788672B27   MICHELLE      SANDERS                     CO     90013927886
6932379A24438B   LATASHA       MCCALOP                     MD     90001227902
6932455AA7B46B   CLAUDIA       MARTINEZ                    SC     11012905500
6932662994B27B   JENNIFER      BLOCK                       NE     27030076299
69326877372B29   ERIC          RYAN                        CO     33014108773
69327561572B29   BRIAN         MANN                        CO     33005025615
6932848725416B   MOISES        HERNANDEZ                   OR     90014554872
69329642A55975   SAULO         JIMENEZ GONZALEZ            CA     90012676420
693297A687B46B   FRANKLIN      LEVERTTE                    NC     90011147068
6932B75A25137B   KRISTY        OSBORN                      OH     90008847502
6932B84858B492   ARTURO        CERVANTES                   VA     90015508485
6932B946671921   BRADLEY       MALONEY                     CO     90011339466
6933111662B27B   IRIS          FUENTES RAMIREZ             DC     90015131166
6933118458B169   TIRSO         OSORIO                      UT     90013321845
6933125644B532   TIFFANY       SHARP                       OK     90008002564
69331874A55935   PATRICIA      SOUTHARD                    CA     90011768740
69332193372B27   ORDENOZ       FRANCISCO                   CO     33013021933
6933234867B46B   JASWANT       SINGH                       NC     90013063486
6933246958166B   NICHOLAS      MACALUSO                    MO     29094454695
69332474A91562   ALEJANDRIN    GOMEZ                       TX     75038864740
693325A9742587   MOJILONG      HUSTON                      WA     90015385097
6933312497193B   SARAH         BETZER                      CO     90012931249
6933469A32B27B   ALEXEI        ELY                         VA     90006566903
69334A13276B49   REBECCA       BRASWELL                    CA     90005950132
69334AA6A71921   ELAINA        COX                         CO     90008110060
69335181A2B27B   ARNETTA       GREENE                      DC     90011021810
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 594 of 2350


693357A8171921   YISABEL        CAMARGO                    CO     32000097081
6933661245B235   LISA           GASPEP                     KY     90011076124
6933788382B27B   WILLIE         WAYMER JR                  DC     90006798838
6933898498166B   CECILIA        CLIFTON                    MO     90005539849
69339A1384B588   JAMEL          BURTON                     OK     90014830138
6933B414472B43   CARMEN         CARBAJAL                   CO     90007684144
6933B76A25B271   LAWRENCE       NANNIE                     KY     68010107602
69341598287B31   CRISTOBAL      ESPARZA                    AR     28069195982
6934173968166B   JOSEPH         RAYNOLD                    MO     29079697396
6934218244B532   EVA            ROSALES                    OK     90006261824
69342713972B43   CASHMAN        JODI                       CO     33036997139
69342A7632B27B   TOMA           ENNIS                      DC     90012030763
6934319327B46B   CHIN           RAHLAN                     NC     90013921932
69343212772B36   ANDREA         MAES                       CO     90013002127
693435AA98166B   DEBRA          FOSTER                     MO     90014385009
69345156772B43   MIGUEL ANGEL   MARTINEZ SOTO              CO     90011471567
69345767572B36   HEATHER        WALLACE                    CO     90002817675
6934644792B27B   DONNA          MARIA                      DC     90011494479
6934719125416B   KASEY          WALKER                     OR     47035771912
69347458772B29   GREGORY        RANDOLPH                   CO     90013044587
69347A14A57126   KARLA          GUARDADO                   VA     90011510140
69348A69255942   TITO           ORELLANA                   CA     90009640692
69349797872B27   ERIN           HAURY                      CO     90005477978
6934991A872B26   JUAN           MACIAS                     CO     33000909108
6934BA7795B271   CHARLES        PERRY                      KY     68097300779
69351357472B43   KATRINA        RICE                       CO     90014513574
69351A56271921   TERESA         GALEGGOS                   CO     32057250562
6935227777193B   MELISSA        GREENLEAF                  CO     32043942777
69352A12955975   SONYA          FAJARDO                    CA     90014040129
69353115A93726   ADAM           ANDREJCIO                  OH     90006801150
6935349787B46B   MICHEAL        DAVIS II                   NC     11092164978
69353677176B49   JOSE           GARCIA                     CA     46081106771
6935445A572B27   ANTHONY        GOSS                       CO     90014844505
6935463925B235   ASHLEY         MACK                       KY     90002066392
6935537A95B271   TRACY          SCOTT                      KY     90005703709
6935555698B168   JOE            FLORES                     UT     90011645569
69355691787B31   TERA           DILL                       AR     90003066917
6935576467193B   FERNANDA       GONZALEZ                   CO     90008647646
69355A39261964   SUMERE         MCLEROY                    CA     90009550392
6935658482B27B   LINWOOD L      BRYANT JR                  DC     90011795848
6935675894B582   RICHARD        JOHNSTON                   OK     90009417589
69356844572B27   MARY           GUTIERREZ                  CO     90000288445
69356878A81675   GUILLERMO      COLATO                     MO     90006818780
69357A18A91522   SILVIA         VELA                       TX     90011840180
6935855628B168   LILIA          ANGUIANO                   UT     31012105562
6935B66A32B27B   ALEEN          BROWN                      DC     90014426603
6936242445B271   MARILYN        MALONE                     KY     68010374244
693624A6171921   MALKIT         SINGH AND KINDERCK         CO     90004704061
6936254A272B29   SANDRA         RIVERA                     CO     90008705402
69363692472B36   VEN            YORK                       CO     33015246924
69364657597B64   BIBIAN         CASTILLO                   CO     90006966575
69364A32555975   JORGE          LEMUS                      CA     90014870325
69364A57291562   GAMALIEL R     RAMIREZ                    TX     90011970572
69365136272B27   JOHN           TESKE                      CO     90006831362
693651A6971921   JEREMIAH       WILLIAMS                   CO     32002431069
69365657597B64   BIBIAN         CASTILLO                   CO     90006966575
6936565775B235   ADAM           MIDDLETON                  KY     68009016577
6936568122B27B   ROSENE         KNIGHT                     DC     90011436812
693666A7991592   ELSA           ENCERRADO                  TX     90012076079
6936696547193B   LINDA          BAILEY                     CO     90011409654
69368A77555975   MELISSA        GRENFELL                   CA     90005130775
69369A2A655975   SIMON          GARCIA DE LA CRUZ          CA     90011630206
6936B61697193B   PEGGY          LOWE                       CO     32051016169
6936B957A55975   CHARITY        EMOS                       CA     90014959570
6937136A34B27B   ELI            VALENZUELA                 NE     27007313603
6937153A261964   ORTENSIA       JAUREGUI                   CA     46040615302
693716A878166B   DEBRA          GRAHAM                     MO     90001036087
69371A2398B165   BRANDON        LOVELAND                   UT     90009540239
6937243467193B   KAYLA          RIVERA                     CO     90010104346
6937261153364B   GRAHAM         GILLIS                     NC     90011736115
69372923A7193B   KAYLA          RIVERA                     CO     90013569230
6937296384B588   JOSE           QUINA                      OK     90014059638
69372A68872B27   JORDAN         SUNIGA                     CO     33053480688
69374A8825416B   BLAKE          TAYLOR                     OR     90014310882
6937645A472B43   ALEJANDRO      RASCON                     CO     90013094504
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 595 of 2350


6937658AA8166B   JORGE               ASANEL                MO     90012785800
6937666554B27B   JULIE               WILCOX                IA     90000156655
693774A552B27B   CHRISTOPHER         GARRETT               DC     90012184055
6937784347193B   ELISA               BOSLEY                CO     90002818434
6937876494B547   LEE                 LOGGINS               OK     90011727649
6937951137B46B   RUSTI               COLLINS               NC     90001905113
6937B251A91592   SILVIA              VALENZUELA            TX     75074322510
6937B36A397B36   GAVIN               BROUILLETTE           CO     90014323603
6937B425491259   KIMBERLY            MCKASKLE              GA     90010534254
6937B694461964   PERLA               CASTREJON             CA     90009896944
69381273572B43   BRANDON             JOHNSON               CO     90005932735
69381684A91592   JOHN                CABRALES              TX     75045606840
69381947772B27   LESSLIE             HEMANDEZ              CO     90007249477
6938262435416B   HOLLY               GOODRIDGE             OR     47078306243
693826A4A7193B   KENNETH             TYSON                 CO     90011136040
6938282874B27B   ANTHONY             BONACCI               NE     27079518287
6938288A55B389   JOSE                CUEVAS                OR     90008028805
6938293978166B   ROXANNE             LACEY                 MO     90012089397
6938336717B46B   LORRAINE            PATRICK               NC     90014653671
69383824A2B27B   JAMES               BROOKS                DC     90012268240
693841A7291525   ROBERTO             ARMENDARIZ            TX     75094451072
6938486315B52B   AZULIN              APODACA               NM     90012348631
69385465572B29   BETH                GAGNIER               CO     90015604655
693856A9191562   GLADIS              TORRES                NM     90011526091
6938613874B27B   NICOLE              BIELENBERG            NE     27049301387
6938632234B53B   ROSA ELODIA         TREJO                 OK     90009493223
6938642118166B   TYNIK               BENNETT               MO     90001214211
6938647A761964   WILLIAM             DUPONT                CA     90009564707
693871AA44B23B   ASHA                MOBLEY                NE     90008141004
69387693572B27   JAMIE               WARNER                CO     90013906935
693879A645416B   CLAUDIA             ALEJANDRE GONZALES    OR     47088689064
69388366772B26   ALONDRA             AQUINO-VALDEZ         CO     90004013667
6938917612B27B   MILTON              HUNTER                DC     90015301761
6938925A88B168   COLLEEN             GAGNE                 UT     31075352508
6938938A44126B   GWEN                TALKISH               PA     51045273804
6938948AA3168B   CHRISTOPHE          MAIN                  KS     90001424800
69389A22472B27   DAVID               HOFFSCHNEIDER         CO     90012800224
6938B14465416B   ANGELA              MCGINNIS              OR     47062071446
6938B3A9187B31   BANDY               STEVENS               AR     28063853091
6938B69A291562   LUISA               MACIAS                TX     90002446902
6938B95175B393   SHERRIE             WRIGHT                OR     90002449517
6938B99A25B235   ERICA               THOMAS                KY     68006139902
69391657897B64   CHAD                BREWER                CO     90006986578
6939181199193B   JOSUE               GABRIEL               NC     90001268119
69392251572B29   ROBERT              LAINE                 CO     90009042515
6939238324B588   LINA                ALVAREZ               OK     90008943832
6939412374B588   MALLORY             CHURCHWELL            OK     90014701237
6939597862B27B   WILLIAM             GARCIA                DC     90008929786
693961A158166B   SABRYNNA            CARTER                MO     90013941015
6939681725416B   CODY                NELSON                OR     90014388172
69396A75655975   LATISHSA            CARBALLO              CA     90011640756
6939718A655975   CARMEN              RIVERA                CA     90011641806
6939752927193B   STEVEN AND NIKITA   JACKSON               CO     90012405292
6939758A471921   MICHAEL             NEJTEK                CO     32086535804
6939763267B46B   JOSUE               GARCIA                NC     90013786326
69397A8628B491   NATHAN              GORE                  VT     90015110862
6939896855416B   LAURA               BLACKWELL             OR     47068499685
693989AA255975   MARIA               ALVARADO              CA     90005519002
69399445876B57   SONIA               MARTINEZ              CA     90013134458
693B1378176B49   TERRY               HENDERSON             CA     90012633781
693B266784B27B   SHEILY              BAGCZ                 NE     27007606678
693B2697972B43   ALEJANDRO           CALDERON              CO     90009546979
693B2A21172B26   CECILIA             VELASQUEZ             CO     33079520211
693B2AA7A2B27B   SELAMAWIT           ESHETE                DC     90013780070
693B3735681625   CHANDRELL           SMITH                 MO     90007827356
693B3915391522   TAI JAVAE           JEFFERS               TX     90011839153
693B393AA4B588   KARINA              RODRIGUEZ             OK     90012209300
693B3971671921   DENNIS              UGARTE                CO     90011189716
693B3A68491562   DAVIE               ROMERO                TX     75004030684
693B445A372B27   DEBRA               HALLMAN               CO     90014844503
693B4516855935   KATHY               MEINERT               CA     90004465168
693B469658166B   TANYA               LISTER                MO     90000956965
693B5112872B26   ARIANA              RODRIGUEZ             CO     33055081128
693B5A78376B49   FABIOLA             SANCHEZ               CA     90005920783
693B6775671921   JASMINE             ZHANG                 CO     90013027756
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 596 of 2350


693B6A53472B26   SANATA        DANIELS                     CO     90010610534
693B7126787B31   MONTY         WILLIAMS                    AR     28093871267
693B8285761964   IGNACIO       BURGUENO                    CA     90013552857
693B887413B725   MARIA         VIVIAN                      WY     90014398741
693B8A13961964   CINTHIA       LOPEZ                       CA     90010460139
693B941697B46B   LANGSTON      CHARLES                     NC     90009654169
693B956437193B   CARL          WEST                        CO     32017895643
693B96A137B46B   TAI           WILSON                      NC     90013966013
693B9875655975   BENITO        BERMUDEZ JR                 CA     90012878756
693BB662881675   CHRIS         JAMES                       MO     29058206628
69411A35957544   JESSICA       GUTIERREZ                   NM     90001270359
6941227634B27B   GARY          LENGYEL                     NE     90003022763
69412539A71921   GENE          WILKERSON                   CO     90014575390
6941267588166B   AARON         FRIEDRICH                   MO     29039976758
6941448865416B   VITA          FUGATE BROWNLEE             OR     47056014886
69414536572B26   JERRY         CAMACHO                     CO     33032545365
69414845A2B27B   JONATHAN      SANCHEZ                     DC     90000938450
6941533968B168   ROBERT        PATINO                      UT     90007153396
69415938497B64   STACIE        HARTFELDER                  CO     39015029384
6941612645416B   MICHAEL       WARE                        OR     90008341264
6941624AA91562   LUIS          ARAGON                      TX     90006632400
69416899672B29   FRANCISCO     ESTRADA                     CO     33000858996
6941777A35B235   TIFFANY       PRICE                       KY     90010117703
69418246172B43   VALERIE       ARANDA                      CO     90014702461
694182A414B27B   DON           COOK                        NE     90005242041
6941891788B168   JONATHAN      REYNOLDS                    UT     31063299178
6941896A987B31   MEELVIS       TORRES                      AR     90011289609
6941911243B359   STEPHEN       STONEBURNER                 CO     33045721124
69419188A5416B   RENEE         NORDLING                    OR     90008341880
6941B1A158166B   SABRYNNA      CARTER                      MO     90013941015
6941B243372B43   AIOTEST1      DONOTTOUCH                  CO     90015122433
6941B694A5B235   COSME         PEDROZA                     KY     90009796940
6941B831497B64   JAMES         KELLEY                      CO     90006998314
69422964197B64   JOANN         RUCKER                      CO     90006999641
694234A828166B   YESSI         GUERECA                     KS     90013944082
694237A8491592   YOLANDA       PINEDA                      TX     90010937084
69423991A2B27B   DUGLAS        GARCIA                      VA     90013359910
6942477AA72B27   HUMBERTO      GOMEZ                       CO     33064467700
6942561A46155B   PAYGO         IVR ACTIVATION              TN     90014016104
694256A245B271   RUDY          RODAS                       KY     90005706024
6942587A472B29   TONYA         ROWE                        CO     33092848704
69425A4274B27B   HEATHER       SMITH                       IA     27060090427
694265A817B46B   LAKENDRA      SIMS                        NC     90013005081
69426987757B76   EUALIA        ECHEVARRIA                  PA     90014749877
69426A82891562   WEIN          GUTIERREZ                   TX     75050120828
69428A35793739   TERESA        THOMAS                      OH     90012480357
6942944158166B   KELLY         JENNINGS                    MO     90012154415
694295A4772B27   BILLI         FORRESTER                   CO     90009465047
69429A7627B46B   TAKEIMA       HAYNES                      NC     90011050762
6942B22AA71921   MARIA         KOCH                        CO     32001272200
6942B369872B26   AMBER         HANCOCK                     CO     90001773698
6942B572472B43   MIRA          ZAMBRANO                    CO     90013215724
6942B84337193B   JESUS         GARCIA                      CO     90013798433
694314A7791562   GRACE         REHMEL                      TX     90012484077
69431972472B36   SILVIA        OROZCO                      CO     33066649724
6943353557B46B   JAIME         INTERIANO                   NC     90010295355
6943359344B27B   MARLYN        CUELLAR                     NE     90011675934
69434938672B26   TABITHA       TALLENT                     CO     90002729386
6943587A94B588   TEQUAH        CRAFT                       OK     21553618709
6943626155416B   JIM           BARELA                      OR     47074902615
69436756A71921   JEANETTE      POWELL                      CO     32067917560
69436982787B31   NATASHA       WALKER                      AR     28005559827
6943753128166B   MARKOS        JONES                       MO     29043135312
69438419A71921   OLGA          LOPEZ                       CO     90008114190
694392A697B46B   BRANDON       POPE                        NC     90013282069
6943B236A61964   JOANNA        MENDOZA                     CA     46096322360
6943B293791562   PINAN MORAN   SUSANA                      TX     90003542937
6943B44A141271   LEVAR         WHITLEY                     PA     90013274401
6943B47618166B   GERARDO       GALLEGOS                    MO     90012244761
6943B7A344B241   ANGELIQUE     DIMARI                      NE     90000577034
6943BA13A5B271   LISA          MITCHELL                    KY     90014260130
6943BA3A35B235   BRENDA        LANG                        KY     90009110303
69442562597B36   RAMIRO        TAVAREZ-MORENO              CO     90014545625
6944264864B588   ARTURO        PENCA                       OK     90009206486
69442A6254B27B   ERIC          FOCKEN                      IA     90012680625
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 597 of 2350


69443368872B29   FLORENCE           CARR                   CO     90014013688
69443641A7193B   DEBORAH            ECK                    CO     32013206410
694443A768B185   FUAD               ISLAMOVIC              UT     31078793076
69444A8867193B   JESUS              CISNEROS               CO     90014310886
694454A9791592   IDA                ARAUJO                 TX     90011574097
6944556154B26B   CAREY              ESPINOSA               NE     90015045615
6944564698B183   ANABEL             MEJIA                  UT     90014056469
69445A2A191522   MARISELA           MENDEZ                 TX     90009540201
694461A1385944   AARON              SCHWEINZGER            KY     90014481013
6944715812B27B   MICHELE            DEBRUHL                DC     81095771581
6944785594B588   ELIZABETH          RAMONDETTA             OK     21508378559
6944821387B46B   CHRISTOPHER        CLARK                  NC     90013282138
69448394A72B27   GISSEL             VENZOR                 CO     90004753940
69448A33591894   CHRISTIAN          NORIEGA                OK     21056830335
69449123A72B26   MADRIGAL           ROBERT                 CO     33006551230
69449516197B64   AMANDA             CASEY                  CO     90007005161
6944B1A9461936   ROSA               LOPEZ                  CA     90010721094
6944B754691562   BRENDA             CORONA                 TX     90007117546
6944B954472B43   ALFREDO            SAENZ                  CO     90011159544
69452475A4B27B   KATY               PAKENHAM               NE     90013574750
6945259217193B   KAREN              STANDEN                CO     90009005921
6945265A73168B   ANN                FOSTER                 KS     22087966507
69452883472B29   JAMIE              M CONNELL              CO     90014508834
69452A15197B64   JUSTIN             HEFNER                 CO     39020990151
6945368534B588   DORETHA            JACKSON                OK     90011066853
69453A85A7B398   REYNALDO ANTONIO   FLORES                 VA     90005690850
69456292672B36   JULISA             LASO                   CO     90007022926
6945748A271921   MACRINA            ARELLANO               CO     90008114802
694574A4191562   CLAUDIA            DOMINGUEZ              TX     75068944041
69457611297B64   JAMES              HORNE                  CO     90007006112
69457693A61964   ADAM               SPACONE                CA     46047886930
69458A6937B423   BILLY              DENTON                 SC     90011620693
6945913638166B   JALEESHA           FOSTER                 MO     90013941363
6945923847B46B   KENNETH            LITTLE                 NC     90004992384
69459821A4B588   LAMANDA            TAYLOR                 OK     90007808210
6945B12798166B   ROSE               SANTOLI                MO     90013941279
6945B25AA8B385   DAELYNN            ALVARADO               SC     90015542500
694613A3172B26   ANGEL              LOPEZ                  CO     33076103031
69461428172B27   PAULA              GONZALEZ               CO     90008024281
6946161957193B   WANDY              JEFFREY                CO     90014746195
6946197942B27B   TAMIKA             HOLLEY                 DC     90001589794
6946275147B46B   TIMOTEO            SALGADO                NC     11089007514
6946294465B235   MARICA             LAWHORN                KY     68087619446
6946299A371921   KANESHA            ALLEN                  CO     90013619903
69463741A71921   RICK               HOYT                   CO     90011157410
6946455634B27B   CARLOS             GALOE                  NE     90014155563
694645A6172B43   DONNA              SHOTWELL               CO     33072375061
694648A849132B   ANTONY             K NJENGA               KS     90000318084
69466532972B36   DAVID              WARENSKI               CO     90003295329
69467376A8166B   JACQUELINE         FRIAR                  MO     90014093760
6946739A171921   JESSICA            MARTINEZ               CO     32032663901
6946762165416B   BRENT              STECHELIN              OR     47077216216
6946767A55B283   SHANNON            MEREDITH               KY     90014656705
6946798A872B36   AGUSTINA           SALVADOR               CO     33062699808
69467A2917B46B   TOKARZ             TAMMY                  NC     11012040291
6946878754B27B   MATTHEW            BUCHANAN               NE     90012507875
6946878783B394   FANY               GARCIA                 CO     90011727878
6946882915B368   NENG               VANG                   OR     90011718291
69468986697B64   VICKY              L BUTOW                CO     90010519866
6946984838B358   REYNA              RODRIGUZ               SC     90015468483
6946B2A5572B26   HUMBERTO           HERNANDEZ              CO     33040512055
6946B482372B29   YUMI               YOO                    CO     90008624823
6946B53628166B   JOHN               BROWN                  MO     29038325362
6946B723172B36   DAVID              MORALES                CO     33008367231
6946BA77655975   GRISELDA           CASILLAS               CA     90014310776
6947127984B588   JOSE LUIS          HERRERA                OK     90012222798
6947182115416B   TODD               ALEXANDER              OR     47036818211
6947183A63B394   PATRICK            SAWYER                 CO     90001038306
694723A6171921   ARTHUR             LUMSDON                CO     32057923061
6947318A44B27B   BRADLEY            TOLLIVER               NE     27076721804
6947379787193B   KEITH              DEVIN                  CO     90011037978
6947379A82B27B   FAUSTO             AMAYA                  DC     90014877908
694742A375B235   STEVE              HARRIS                 KY     68011692037
6947449A38166B   AUNDRE             SMALL                  MO     29039964903
694752AA455975   ALMA               GARCIA                 CA     90014132004
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 598 of 2350


694755A5572B43   VIOLET       VALDEZ                       CO     90012645055
6947621424B27B   JENNIFER     REEDER                       NE     90009832142
6947626847193B   ANGEL        MONTANO                      CO     90012772684
69477144A8166B   TAYLOR       PERRILLI                     MO     90013941440
694774A9572B27   MOISES       FLORES                       CO     33069434095
694776A5A8B168   LEOBARDO     DIAZ                         UT     31062586050
6947774117B46B   MARGIE       LILES                        NC     11009257411
69477A72691562   XOCHITL      BARBOSA                      TX     75017030726
69478695472B29   CLAUDIA      RAMIREZ                      CO     90014856954
6947872A65416B   KATHLEEN     ANDREWS                      OR     47000467206
6947881A271921   CINTHIA      SUMMITT                      CO     90011158102
6947916664B588   NANCY        WADDLE                       OK     90008941666
694795A9591592   SILVIA       MORENO                       TX     75079085095
6947B467272B43   ROYCE        GIBSON                       CO     33049774672
6947B467651352   YVONNE       BROWN                        OH     66009154676
6947B48818166B   CANDICE      MCNUTT                       MO     90014814881
6947BA2715B235   ABEL         HERNANDEZ-RAMIREZ            KY     90004640271
694814A332B27B   PRANA        BELL                         DC     90001444033
6948296118166B   ALONSO       PENA                         MO     29018159611
69482A95472B43   LUIS         PEREZ                        CO     33005160954
6948312A58166B   KELLY        ESLER                        KS     29003451205
6948428158166B   MESHIA       GUNNELS                      MO     90010952815
69484838472B29   MACIAS       ALBERTO                      CO     33042238384
694849A1691522   JESSE        JIMENEZ                      TX     75025729016
69484A38161936   TIM          THOMAS                       CA     46077520381
6948529AA7193B   HOLLY        PARSONS                      CO     90012772900
694853A7955975   FELIX        HERNANDEZ                    CA     90015183079
69486184A91522   YARETZEL     RAMIREZ                      TX     90011841840
694865A9455975   SUSANA       ZAZUETA                      CA     90012295094
6948691474B588   SHE          TAYLOR                       OK     21511309147
6948728697B46B   ROSA         SANCHEZ                      NC     90012372869
694879A6961964   SERGIO       RUIZ                         CA     90014899069
69488215672B26   ABIGAEL      LOSINO                       CO     90011492156
69488376872B27   TREAU        LIPTROT                      CO     90008303768
6948887387B46B   FRANCISCO    JACOBO ALFARO                NC     11088118738
6948979584B588   AUTUMN       LECHLIDER                    OK     90010467958
6948983345416B   BLANCA       SANTIAGO                     OR     90015188334
6948997A88166B   MARQUISHA    EVANS                        MO     90011339708
6948B292761964   LORRAINE     BALLARD                      CA     46015252927
6948B51A75B32B   DEAWENDOE    ST MARTIN                    OR     90012585107
6948B563472B29   OSHKIYAH     CORIANO                      CO     90013805634
6948B936291562   AIDA         TORRES                       TX     75088869362
6949139A54B27B   BRIAN        SCHMIDT                      NE     90012703905
69492794472B43   GUADALUPE    FIGUEROA                     CO     33048977944
69492A1384B588   JAMEL        BURTON                       OK     90014830138
69495655487B31   MARIA        OZUNA                        AR     90011696554
694957A4591562   JESSICA      CORDOVA                      TX     90007707045
6949694297193B   OLIVIA       OWNBEY                       CO     90012779429
69497A4514B27B   KELLEY       SANDERS                      NE     27096530451
69497A65572B27   ADOLPHO      ARCHIBEQUE JR                CO     90010370655
6949847688166B   KALEIGH      DAVIS                        MO     90012244768
6949B244A81675   JACI         ALEXANDER                    MO     90008502440
6949B422891562   JEANETTE     JUDY                         TX     90003974228
694B1461672B29   GRICELDA     CORRAL                       CO     33043324616
694B1A78691522   NATALIE      MUNOZ                        TX     90011840786
694B1A83772B36   LEANN        NEVERDAHL                    CO     90009010837
694B3332172B36   JULIO        FLORENCIO                    CO     33025823321
694B334587193B   IAN          GONZALES                     CO     32021293458
694B345A32B244   TASHA        WILSON                       DC     90010154503
694B3523361964   ANJELICA     MARRUJO                      CA     90012865233
694B4242393771   EDWARD       PERRY                        OH     90011712423
694B4272A4B588   WHITNEY      CLAPSADDLE                   OK     90012752720
694B4875655975   BENITO       BERMUDEZ JR                  CA     90012878756
694B541557193B   AZUL         CIELO                        CO     32043514155
694B564A276B49   ROBERT       BROWN                        CA     90011666402
694B5862171921   ANGELICA     VALLEJO                      CO     90014458621
694B592815416B   ROSALIA      VASQUEZ-APARCIO              OR     90005239281
694B625392B27B   TED          BOYD                         DC     90012842539
694B6487772B29   PEDRO        RIVERA                       CO     33084604877
694B6625472B26   ALICIA       SANCHEZ                      CO     33063576254
694B6652972B27   EDWARD       GARCIA                       CO     90014916529
694B724612B271   TRACY        EICHELBERGER                 DC     81010472461
694B742525416B   JENNIFER     CHAMBERLAIN                  OR     47085344252
694B756887B46B   ELIAS        ACOSTA                       NC     11016045688
694B7635472B27   HOLLY        STECHER                      CO     90013776354
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 599 of 2350


694B7761755975   TRACY         SMITH                       CA     90014947617
694B7945472B27   STEPHANIE     WILLIAMS                    CO     90000899454
694B8811561964   GIANNA        NADERMANN                   CA     90011948115
694B9326291562   ORALES        LORENSA                     TX     90004943262
694B97A1572B27   MAURICIO      AVILA                       CO     90009887015
694B9882755983   PEDRO         SEPULVEDA                   CA     90015218827
694BB332181675   ROBBI L       MCKINZIE                    MO     29006303321
694BB593172B27   JENNIFER      BALLINGER                   CO     33088695931
694BB929A4B588   JANEA         CARTER                      OK     90011979290
6951179212B27B   MARC          WILLIAMS                    DC     90014877921
69511A48293762   ROBIN         BECK                        OH     90000980482
69512293172B27   REGINA        BROWN                       CO     90014772931
6951235394B588   CATHY         PRATHER                     OK     90015113539
6951387168166B   KENYA         SIMS                        MO     29097188716
69513984A71921   ALVARO        DELGADO                     CO     32035419840
69513A16172B43   JONATHAN      PEREZ                       CO     90010540161
69513A61171921   TYLER         MANWILLER                   CO     90011330611
69514289454B44   MICHAEL       THOMAS                      VA     90001982894
6951435467193B   ABEL          ORTIZ                       CO     32088673546
69514643297B64   HEATHER       MOUGEY                      CO     90007076432
6951498385416B   RAMOTH        RICKSON                     OR     47000709838
69514988A5B235   AUSTIN        NICHOLS                     KY     90008059880
6951568275416B   DAWN          DAVIS                       OR     90009536827
695156A427193B   JORGE         LEMUS                       CO     90004196042
695158A785B235   ANGELA        ELLIOTT                     KY     68057308078
6951621618166B   BLANCA        REYES                       MO     90013942161
69516528872B26   KIMBERLY      ROHMAN                      CO     33024085288
69517A1938166B   TYLER         BARNES                      MO     90012970193
6951816898166B   DAVID         MAINES                      MO     90013271689
6951847229189B   DIANE         GRAYSON                     OK     90007354722
6951894395416B   CARRIE        THOMAS                      OR     47024049439
6951B3A3843549   TIM           MORRISON                    UT     90012543038
6951B56175B235   URIEL         BARON                       KY     68071305617
69521124772B27   ELIAS         OLIVAS                      CO     90010881247
6952152297193B   MYRON         JACKSON                     CO     90014705229
69522523272B26   HUGO          BATRES                      CO     90005645232
6952332314B27B   JASON         DAVIS                       NE     27076473231
6952338632B27B   SAMSON        AKINYELE                    VA     90010753863
695234A4681671   AISHA         HILL                        MO     90002434046
695236A217B46B   BRIAN         WOOLARD                     NC     90013586021
6952466A861936   JOSEPH        UNGER                       CA     90010756608
69524A23555981   ANA           GONZALEZ                    CA     90006400235
6952516A391592   SILVIA        SANCHEZ                     TX     75058581603
6952533974B588   CRYSTAL       PUENTE                      OK     90007293397
69525A37972B26   SUSMA         GONZALEZ                    CO     33002110379
69526728A72B27   JESUS         ORDAZ                       CO     33011477280
69526A58A91522   TORRES        LAURA                       TX     75054010580
6952712782B27B   RICHARD       PROCTOR                     DC     90008851278
6952769485416B   LAURA         ROMINE                      OR     47010396948
6952919135B271   PAUL          HARRIS                      KY     90000561913
6952957712B27B   ANTHONY       BENJAMIN                    DC     90010245771
69529614A5416B   TAMMIE        PARSLEY                     OR     47010396140
6952B119391986   NICOLE        SMITH                       NC     90010821193
6952B714372B29   PATRICIA      SHARP                       CO     90007987143
69531836172B29   ARELI         GUZMAN                      CO     90013318361
6953437618166B   STACEY        STEWART                     MO     29007203761
69534549A7193B   SHANIQUA      PHILLIPS                    CO     32012195490
69535414A2B27B   ERLIN         MELGAR                      DC     90013104140
6953589565416B   GIOIA         NOTARO                      OR     90013708956
69535919A71921   JASON         SANCHEZ                     CO     90013199190
6953599117193B   THOMAS        PALMER                      CO     32007069911
69535A8483168B   SHERITA       BURTON                      KS     22052870848
6953769A55B235   LISA          CLARK                       KY     68022706905
69537A42771921   STEVEN        POWELL                      CO     90011330427
695381A2A5416B   TAMI          TAGLE                       OR     90008451020
6953839664B588   HARRY         WEIS                        OK     21564593966
6953896244B27B   KRISTINA      POKORNY                     IA     90007369624
6953977897B13B   JOSEPH        ANDERSON                    ND     90013407789
6953B883122925   MARITCA       DELGADO                     GA     90014588831
6954119995416B   JOSEPH        MORALES                     OR     47098411999
69541473172B43   MARCEL        GRADY                       CO     90005364731
695422A2272B26   CORINA        GARCIA                      CO     90010612022
6954287A491562   ERICK         ORTIZ                       TX     90013328704
69543194187B31   PATRICIA      WHITE                       AR     28014481941
69543A56372B26   NORA ISABEL   MARQUEZ                     CO     90006120563
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 600 of 2350


69545415A97122   SKYLER       FEVIG                        OR     90011804150
695458A564B588   KIMBERLY     BRITNER                      OK     90010088056
69546915197B64   CORY         SUFAK                        CO     90007099151
695473A445B235   ELIZABETH    POLLARD                      KY     90011093044
695475A185412B   KARLENE      MARCUS                       OR     90002785018
69547A14655924   JOSE         LARA                         CA     90009840146
6954824564B588   ANGEL        PEREZ                        OK     90014842456
6954927528166B   BOONPHET     SRISAVAT                     MO     90013942752
6954967A972B27   RICHARD      ALBORZ                       CO     90002636709
6954973527B46B   ADALBERTO    REYES                        NC     90001037352
69549A75A7193B   JARVIS       SMITH                        CO     90012780750
6954B914591562   NERY         VILLA                        TX     90012949145
69551115197B64   ESTELLE      COBB                         CO     90007101151
69551358572B27   DCHELLE      KERFORD                      CO     90013243585
6955224892B225   ASYA         CALDWELL                     DC     90010412489
69552449872B29   ROBERT       CAMERON                      CO     90007014498
6955341895B235   JERQUIL      CAMPBELL                     KY     90009024189
69553A1453168B   BRITTANI     CAPPS                        KS     22097300145
69553A6A891522   ELIZABETH    SALAS NAVARRO                TX     75042480608
6955477A35416B   RONALD       KOPE                         OR     90012627703
6955482855416B   LINDIE       NELSON                       OR     90011588285
69555A2937B46B   SHENETTA     MATTHEWS                     NC     11002380293
6955654798166B   NAYISHA      DUNCAN                       MO     90007705479
6955658187B46B   JOSE         OLIVERIO                     NC     90014355818
69556634372B27   JAIME        OLIVAS FALCON                CO     33063026343
69557163172B26   SHIRLEY      HEWITT                       CO     33054561631
69559223A87B31   LOIS         CALAMESE                     AR     28004692230
6955B233691562   BEATRIZ      MACIAS                       TX     75019162336
6955B61564B27B   MICHEAL      SPANGLER                     IA     90003056156
6955B761772B27   CECILIA      GARCIA                       CO     90014277617
6955BA7715B241   JOHN         ALLEN                        KY     68096420771
6956169675416B   DEIDRE       VILLA                        OR     90011016967
6956179787B46B   AMITY        LAFLEUR                      NC     90000207978
69562158772B26   JASON        MORRIS                       CO     90015251587
69562313272B43   LINDA        MORRIS                       CO     90012023132
69562886A55975   CHRISTINA    CUMMINGS                     CA     90014348860
69563263772B29   DOLORES      FIERRO                       CO     33013332637
69564726A61964   ENRIQUE      COTA                         CA     46084887260
69565A6684B542   MARISSA      MARSHALL                     OK     90004100668
69565A6A172B27   LOUIS        FERGUSON                     CO     90008800601
695664A477193B   DOMINIC      TAKE                         CO     90014574047
6956679A691265   PAYGO        IVRACTIVATION                GA     90011987906
69566A8372B27B   LASHAWN      FORREST                      DC     90001070837
69566A84761964   MARY         MORA                         CA     46087190847
69567585687B31   CURTIS       HINTON                       AR     28001215856
69567592272B27   JANET        PEREZ                        CO     90014125922
69568A25591894   CHRIS        HURD                         OK     21088730255
69569476872B29   NANCY        FERNANDEZ                    CO     90009094768
6956B135A4B588   GLENDA       JOHNSON                      OK     90012801350
6956B41A961964   MARITZA      TOVAR                        CA     90010784109
6956B443872B43   JONATHAN     EVERETT                      CO     90012244438
6956B496361964   EDITH        PEREZ                        CA     90008784963
6956B533655973   ELIZABETH    NAVARRETE                    CA     90009885336
6956B68937B46B   TANISHA      WARREN                       NC     90014076893
69571258872B43   ZACHARY      TIMBERLAKE                   CO     90012352588
6957136324B588   GONZALO      VALDEZ                       OK     90014073632
695714A3A61964   SOFIA        MARTINEZ                     CA     90013734030
6957262118B183   BRETT        BOULTON                      UT     31004346211
6957299445416B   WARREN R     MORRIS JR                    OR     90000939944
69573179372B43   SHERRY       OTTE                         CO     90013351793
69573287572B27   MELISSA      BRAZEK                       CO     90003532875
6957376762B27B   IRVIN        MOLINA                       VA     90014817676
695747AA772B43   IAN          MUSICK                       CO     33090677007
69574862A55973   JUAN         MARQUEZ                      CA     48015688620
695753A8491989   ADAN         RIVERA                       NC     90005053084
6957552473168B   AUDREY       BURROW                       KS     90002735247
69577674272B43   ALEJANDRO    TZUN                         CO     90011466742
695779A3261964   MELISA       MENDOZA                      CA     90015049032
6957817A35593B   JUAN         CARLOS                       CA     90013731703
6957829345B271   DANIEL       BRUEDERLE                    KY     90000562934
695785A865B235   CRYSTAL      SINDELAR                     KY     68024265086
6957945177B46B   MONICA       GARDNER                      NC     90002264517
69579596A55948   RITA         RIOS                         CA     49071725960
69579629797B64   JASON        CRANE                        CO     90007106297
6957B1A665416B   MARIA        FLORES                       OR     90008941066
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 601 of 2350


695811AA88166B   ALEDA        CARROLL                      MO     90010401008
6958192674B588   TOLLENA      STEVENSON                    OK     90012989267
6958298335B239   TROY         WILHITE                      KY     68064459833
69582AA978166B   GONZALO      AYALA                        MO     29046170097
69583727497B55   ERNEST       MORSE                        CO     90001577274
69583862572B29   VANESSA      GARCIA BUENO                 CO     90011128625
69583A28A8166B   TEA          COPPAGE                      MO     90012090280
69583A58A2B27B   KEVIN        GORDON                       DC     90011070580
6958419765593B   FELIPE       MOLINA                       CA     90007411976
6958449AA91592   THOMAS       SMITH                        TX     90011174900
6958498718166B   TIMOTHY      PURNELL                      MO     29007239871
69585518372B29   APOLONIO     PADILLA-MORALES              CO     90004925183
6958577234B27B   JOHN         DAVIS                        NE     90013757723
6958579258166B   TERRI        HUMPHREY                     MO     90015167925
69586724172B27   GALEN        BROWN                        CO     90003477241
6958679417193B   DANIEL       GELLERMAN                    CO     90007097941
6958798335B239   TROY         WILHITE                      KY     68064459833
6958798837B46B   JACOB        JONES                        NC     11097709883
6958834A572B43   DESIREE      HERRERA                      CO     90012303405
6958858437B46B   RANDALL      JAMES                        NC     90014715843
6958945564B56B   JOCELYN      PAYNE                        OK     90010674556
6959135445B235   THOMAS       WELLS                        KY     68035393544
69591A1835416B   WILLIAMS     RHODES                       OR     90014540183
69592A3475416B   SALLY        BLANKENSHIP-ZIEGLER          OR     47008930347
6959313A18166B   KATHY        WILLIAMS                     MO     29038161301
6959414547193B   DEVIN        KEYMER                       CO     90011491454
69594962A2B224   JENNIFER     COLEMAN                      DC     90002319620
69595214A22925   MARTHA       KEYS                         GA     90014612140
6959677172B27B   MIRTHA       CASTRO                       DC     90010887717
6959727467193B   KIMBERLY     SCHNEIDER                    CO     90013202746
6959823244B542   JO'NES       STEED                        OK     21554122324
6959824368166B   ROSE         BRATT                        MO     90013952436
6959968994B532   CHERIE       TUCKER                       OK     90011436899
6959B13934B27B   JULIAN       CASTILLO                     NE     27084201393
6959B274671921   KIMBERLY     SCHNEIDER                    CO     90013202746
6959B339191592   BRENDA       GONZALEZ                     TX     75078543391
6959B86AA7B46B   LAMARICK     ALEXANDER                    SC     90012658600
695B1489591522   ROBERTO      GALVADON                     TX     90001234895
695B19A128166B   DEMITHA      MADLOCK                      MO     29007199012
695B33A5761964   EIAN         MAURICE                      CA     90011523057
695B4218191522   MAYRA        REYES                        TX     90011842181
695B4A25191592   GRACIELA     ROCHA                        TX     90014640251
695B531412B824   DARA         STONE                        ID     42024353141
695B579258166B   TERRI        HUMPHREY                     MO     90015167925
695B589AA81653   PAT          BARRON                       MO     29046728900
695B5A65172B43   APRIL        PHILLIPS                     CO     90010830651
695B6134172B27   DAVID        MICKLE                       CO     33041631341
695B7285872B43   KIMBERLY     MILNER                       CO     90009252858
695B7573955975   JUAN         LEON                         CA     90014485739
695B7629561964   AIOTEST1     DONOTTOUCH                   CA     90015116295
695B779495B235   MELISSA      SNYDER                       KY     90008597949
695B814118166B   BRENDA       MARTINEZ                     KS     90014041411
695B8475A91562   CESAR        GALVAN                       TX     90014594750
695B884A13168B   BYRON        DAVIS                        KS     22042928401
695B939842B27B   MARISSA      SAUNDERS                     DC     90008543984
695B9441A4B27B   KRISTY       WEBER                        NE     90007774410
695B9774593751   CRESETA      MARTIN                       OH     90007717745
695B989AA72B27   LINA         ORJUELA                      CO     33064558900
695B995168166B   SONDRA       POPLAR                       MO     90011939516
695BB25564B588   STEVEN       APGAR                        OK     90012972556
695BB871572B27   MIKE         GOMEZ                        CO     33045198715
695BB924291894   KIMBERLY     WARDEN                       OK     21017649242
695BBA76A72B26   LOUCILLE     MCCOOK                       CO     90015250760
69611694A5593B   ROSA         MAGANA                       CA     48010746940
69611793A72B29   GINA         MAYORAL                      CO     90009807930
69611A48472B43   ANGELA       KENT                         CO     33043890484
69612843A97B64   ARMANDO      CHAVIRA                      CO     90006788430
69612A5A272B26   ROXANNE      MARTINEZ                     CO     33017780502
6961313444B588   WILLIAM      JOHNSON                      OK     90015181344
69613772A41252   CAROL        GABIG                        PA     90015167720
69613955957B76   JACOB        SAVAGE                       PA     90013289559
6961422A555975   PATRICIA     JAUREGUI                     CA     90014492205
6961445987B46B   TANIKA       INGRAM                       NC     11082834598
6961469975416B   JERAMY       BALL                         OR     90014516997
69614819172B29   KARI         SMITH                        CO     33017098191
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 602 of 2350


69614819572B26   ASHLEY       BARTHOLOMEW                  CO     33010958195
69614A23572B27   ILA MAUDE    SANCHEZ                      CO     90009750235
69614A4238166B   MARISSA      MORENO                       MO     90010840423
6961514915B271   JOHNNY       BLAZE                        KY     68001481491
6961539814B588   ANA          SUAREZ                       OK     21563963981
6961671444B27B   CHRIS        ARBUCKLE                     NE     90003127144
69616796A87B31   JAWANIKA     HILL                         AR     90011827960
696168A1151354   JOHN         FERGUSON                     OH     90010538011
69616A48861964   DANIEL       MENDEZ                       CA     90011330488
6961717798B168   DALE         R ANUSZEWSKI                 UT     90006801779
696171A8761964   GABRIELA     CAZARES                      CA     46030261087
6961727517B46B   ESTELA       RIVER                        NC     90012482751
69617A91971921   SHERILL      STRENGTH                     CO     90010190919
696186A4676B49   SARA         PEREZ                        CA     90008266046
6961875AA72B27   BRENDA       JOHNSON                      CO     90012227500
6961889685B235   ADONYA       HILL JACKSON                 KY     90014448968
69618A6185416B   CARLOS       GUDINO                       OR     90014180618
69619447272B26   OMAR         OROZCO                       CO     33087574472
696195A6791562   JOSE         GARCIA                       TX     75019035067
6961963762B824   CRYSTAL      OSBORN                       ID     42098966376
69619A29A7193B   MARY         ODOM                         CO     90013110290
6961B325772B43   ISAIH        HOUSTON                      CO     90014693257
6961B39814B588   ANA          SUAREZ                       OK     21563963981
6961B761A55975   CHRISTINA    BALDWN                       CA     90014577610
6961B8A5191522   NADIA        LOPEZ                        TX     90000418051
6961BA94572B26   ARMANDO      RIOS                         CO     33001020945
69621288A4B588   GUILLERMO    PEREZ-JIMENEZ                OK     90012752880
6962148662B27B   SEAN         BENTON                       DC     81057854866
69621986297B64   GLENDA       CURTISS                      CO     39008249862
696222A3522925   MARTHA       KEYS                         GA     90014612035
69622452172B29   MARLENE      BAILEY                       CO     90003834521
69622486287B31   SARAH        SMITH                        AR     28092684862
6962277324B27B   CELIA        GOMEZ                        NE     90015087732
6962321937193B   DAVID        FREEMAN                      CO     90011062193
6962362A95416B   AMANDA       LOKEY                        OR     90014866209
69624516597B64   DAVID        VIZCANIO                     CO     39001015165
6962452432B27B   JOHN         MCCAHILL                     DC     81004645243
696247A957193B   MEGAN        RENO                         CO     90014107095
69624831672B27   CARLOS       VELASCO                      CO     90013248316
696254A828166B   YESSI        GUERECA                      KS     90013944082
69625959472B43   GUSTAVO      ARIAS                        CO     90012119594
69625A68155973   LISA         KUCHERRY                     CA     90006290681
69627222A3146B   RHONDA       ANDERSON                     MO     27582922220
6962782992B824   KENDRA       OLDENBURG                    ID     42062438299
6962871627B46B   VALENTINA    ESCALANTE                    NC     90012067162
69629445272B27   LYNNZE       STONE                        CO     33059624452
6962B299761964   WILLIAM      TSABETSAYE                   CA     90001692997
6962B73A155973   LARRY        CRAIG                        CA     48083767301
6962B919891522   ROBERTO      LUCERO                       TX     75005059198
6963126725416B   DANIEL       KIRWAN                       OR     90014652672
69631618472B26   JIMMY        CASTANEDA                    CO     33089146184
6963235637B46B   FLORENTINO   RODRIGUEZ                    NC     11048513563
6963252114B588   WESLEY       WOODWARD                     OK     90009165211
6963335662B27B   FRANKLIN     LUCAS                        DC     90013883566
6963367537193B   RYAN         GOODALE                      CO     90013786753
6963384A193735   MARY         MOULTRY                      OH     90008298401
6963434824B588   PATRICIA     OLVERA                       OK     90013203482
69634A6397B442   CYNTHIA      BROWN                        NC     90008130639
6963652282B227   FERNANDO     FRANCISCO                    DC     90006445228
69636645972B27   SUSAN        MORRIS                       CO     90012646459
6963755927193B   HAL          CROAK II                     CO     32038375592
6963768A155975   MARIA        NAVA                         CA     48045976801
6963775855416B   JOEY         ACETI                        OR     90012257585
69637A65771921   MARCY        TOMATZIN                     CO     90012690657
69638727A2B27B   LARRY        YOUNG                        DC     90008707270
6963934554B27B   MARIA        FUENTES                      NE     90012353455
69639715A7B46B   JANI         BLACKMON                     NC     90003877150
6963B137161964   JOSE         NAVARRO                      CA     46032891371
6963B65A355975   PATRICIO     TORRES                       CA     90011726503
6963B87A791522   CONCEPCION   SALINAS                      TX     75098938707
6964137795B136   DELORES      FLOWERS                      AR     90001373779
69642885A7B46B   DARRON       COOPER                       NC     90013808850
69642A9668166B   JUAN         MUNOZ                        MO     90007950966
69643188872B27   INOCENCIO    RODRIGUEZ                    CO     90015101888
6964344475B235   ROBBIE       SUTTLES                      KY     90008594447
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 603 of 2350


69643892976B49   ADELIA        AGUILAR                     CA     90006158929
6964411632B824   RONNIE        PRADO                       ID     42005901163
6964457538B168   J             ANTONIOO DIAZ               UT     90006805753
696446A544B57B   FRED          HOLLAND                     OK     90010806054
69645A8933B359   MARIA         MEDINA                      CO     90001160893
69646511A93735   CHRIS         GRAY                        OH     90010495110
6964673785B921   JUSTIN        HALE                        OR     90012757378
6964693A47B46B   CLARA         RODRIGUEZ                   NC     90015189304
69648A3A972B27   JAMES         MARYE                       CO     33052960309
6964978A73B391   AAMANDA       PAIGE                       CO     90013837807
69649A44361964   MAYRA         RODRIGUEZ                   CA     90013190443
6964B17612B27B   MILTON        HUNTER                      DC     90015301761
6964B55A761936   BEATRIZ       VERDUGO                     CA     46084275507
6964B699291534   LUIS          ROMERO                      TX     90001546992
6964B81657194B   MELISSA       MORA                        CO     90001818165
6964B873572B29   GENE          GARCIA                      CO     33040678735
6964BA34871921   JORGE         MATA                        CO     90012690348
6965135118166B   ERICA         TURNER                      MO     90003353511
69651971A5B235   LEUNA         FORD                        KY     68003349710
6965225697193B   URIEL         CARRILLO                    CO     90007592569
69653A55861964   GERARDO       LOPEZ                       CA     90011330558
69654611572B29   CHRISTOPHER   BAUGHMAN                    CO     90013006115
69655411172B43   RUTH          VALLECILLO                  CO     33041394111
69657432A72B26   LIZ           FIGUEROA                    CO     33061744320
696594A3991562   ITZEL         LOPEZ                       TX     75096294039
6965B96465416B   BRANDY        MCCLAREN                    OR     90014759646
6965BAA937193B   ARMANDO       ALARCON                     CO     90004710093
6966197A191562   MELISSA       GORDON                      TX     90013959701
69661A1854B588   BRENDA        HANNAH                      OK     90000120185
69662571672B27   IVAN          MEN-NAVA                    CO     90005155716
69662A1252B824   BARRY         STIMPSON                    ID     90004070125
69663288972B29   JASON         PAWLOSKI                    CO     33080622889
69663618472B26   JIMMY         CASTANEDA                   CO     33089146184
6966389467193B   KEVIN         HORNBACK                    CO     90008888946
6966423745416B   JUDY          COLLIS                      OR     90010132374
69664364A5B32B   AMANDA        LYMAN                       OR     90008113640
6966569228166B   SHAWNTAE      SIMMONS                     MO     90013966922
6966585AA61964   SONIA         PINEDA                      CA     90014698500
6966661332B27B   KWASI         BERRIDGE                    DC     90013096133
69666711172B43   PATRICIA      PAREDES                     CO     90011117111
6966769492B228   LATOYA        COLBERT                     DC     90012066949
69668A24972B43   JASON         MARTINEZ                    CO     90014540249
69668A4245B53B   ALICIA        HERNANDEZ                   NM     90008160424
6966925828166B   KENNIE        NORRIS                      MO     90014702582
69669319872B43   DUSTIN        WALZ                        CO     90013993198
6966979484B588   JOSHUA        SNYDER                      OK     90010857948
69669AA775B221   SYLVIA        HUNTER                      KY     90010800077
6966B667955975   HORACIO       IBARRA                      CA     90006006679
6966B735291592   ERIKA         FRAIRE                      TX     75041477352
6966B772581675   WILLIAM       POWELL                      MO     90006877725
69671621372B43   KELLI         THOMPSON                    CO     33095716213
69672374A81675   AMANDA        FARRINGTON                  MO     90010483740
69673353A91592   RENE          CARABAJAL                   TX     90015063530
69673A5A172B43   NASSAU        FOX                         MO     33091760501
69673A99676B49   FERNANDO      CARRIZOSA                   CA     90006450996
69674546A72B27   RAMIRO        BALLESTEROS                 CO     90014885460
6967467AA61936   JESUS         SANDOVAL                    CA     46080856700
69674A26471921   ANDREA        BATES                       CO     90012290264
6967527595B375   DEBBIE        VASQUEZ                     OR     44516162759
6967541383168B   CHRISTI       NORTON                      KS     90003344138
6967552715416B   JEREMY        CURRIER                     OR     47062715271
6967579712B27B   JESUS         CHICA                       DC     90011397971
69677A6185416B   JAMES         RICE                        OR     47068100618
6967817198166B   KEVIN         THOMAS                      MO     90013251719
69678518772B27   ROBERTA       MAYES                       CO     90014855187
6967876285416B   RACHELLE      WALINE                      OR     90014317628
6967899664B588   YANIN         CONTRERAS                   OK     90007079966
6967B246A72B27   TONI          MARTIN                      CO     33026972460
6967B247972B29   ANNA          CHEN                        CO     33017752479
6967B37967193B   MITCH         LOUIS                       CO     32078503796
6967B383972B27   TONI          MARTIN                      CO     90013803839
6967B4A633168B   RANDY         ROSS                        KS     22081264063
6967B577471921   RODNEY        MESNER                      CO     32062095774
6967B617A4B27B   FREDI         RAMOS                       NE     27001826170
6967B87435B235   HUMBERTITO    HUMBERTO                    KY     90011048743
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 604 of 2350


6967BA7975416B   TONY          SOUMPHOLPHAKDY              OR     90014180797
696825A2672B29   MACAREA       COCASERVIN                  CO     90015155026
69682676172B27   PETER         NELSON                      CO     90013316761
6968279413167B   TIFFANY       OLSON                       KS     22075537941
6968317744B588   JUANITA       RIOS                        OK     90008081774
69683396997B64   FELICIA       QUINTANA                    CO     90007193969
69684375772B29   BRENDON       CODY                        CO     33081403757
6968485298166B   ASHLEY        SPENCER                     MO     29092128529
69684913672B43   NANI          CRUZ                        CO     90014759136
69685359572B27   JOHN          LEWIS                       CO     90013693595
696855A7191522   MARIA         EUGENIA NOLASCO             TX     75064915071
69685AA534B27B   ERIC          BATIE                       IA     90010490053
6968649A171921   MARIA         SMITH                       CO     90012094901
69686825872B43   ELENA         DELGADO                     CO     33010698258
696882A2191562   BRANDON       RUZBACKI                    TX     75066662021
6968969975416B   JERAMY        BALL                        OR     90014516997
69689742672B27   HERNAN        MENA                        CO     90007407426
69689A44361964   MAYRA         RODRIGUEZ                   CA     90013190443
69689A75155975   ALICIA        ZAVALA                      CA     90013230751
6968B17297B36B   JUAN          ZURITA                      VA     81083041729
6968B1A774B27B   MARIA         OCHOA                       NE     90010391077
6968B222672B27   ROBERT        RUBESNE                     CO     33086912226
6968B85A991592   MARY PAZ      MARTINEZ                    TX     90008708509
6968B8A1172B43   TOM           CASTILLO                    CO     33011858011
6968B944161964   RENEE         ACEVEDO                     CA     90004799441
69691129776B58   ROBIN         PHILLIPS                    CA     46042971297
69691337772B27   ANASTASIA     GROSH                       CO     90013153377
6969136962B27B   RAHEL         GETACHEW                    DC     90007543696
696924AAA55975   CASEY         CROSLIN                     CA     90011754000
696931A6272B27   LYNN          JEWELL                      CO     90005061062
69694178A8B168   KAY           KNOWLTON                    UT     90009351780
6969428554B588   DEMTRA        BUSH                        OK     90009372855
6969432985416B   REBECCA       MORGAN                      OR     47054033298
6969474338B185   ANDREA        BUSH                        UT     90001737433
69694838197B64   ALFREDO       ALAMOS                      CO     90009098381
69694A3215B235   ANTHONY       SANDERS                     KY     90010120321
6969522345416B   JOSH          PECK                        OR     90011892234
696956A2A72B29   CALEB         SCHNARR                     CO     90014846020
6969687797193B   AARON         MERTENS                     CO     90012018779
69696A7825B243   ANTHONY       RANDLE                      KY     90008690782
6969754978B194   ANDREW        OWEN                        UT     90001285497
69697679572B27   MARIA         FIGEROA                     CO     90010786795
696977A9791592   SANDRA        VALADEZ                     TX     90010937097
69697A49391572   CARMEN        GARDEA                      NM     90012800493
69698518172B29   ROXANNE       WILSON                      CO     33030345181
69698673172B43   MICHELLE      GUTIERREZ                   CO     90014376731
6969B34737193B   JACQUAIL      CRAIG                       CO     90013853473
696B1319555975   GUADALUPE     ALFARO                      CA     90011723195
696B164227193B   CHRISTOPHER   WINFORD                     CO     90014876422
696B164366B244   LOLA          PAUL                        AZ     90014486436
696B196315B351   DEVIN         PEXA                        OR     90009329631
696B2276872B26   RAYMOND       CHECOTS                     CO     90010612768
696B279654B588   NANCY         ORELLANO                    OK     90010467965
696B2913972B43   ELIAS         TEDLA                       CO     33040149139
696B3381491592   ERIK          VALLWS                      TX     75092393814
696B364242B27B   TAANYA        WILSON                      DC     90010006424
696B385534B27B   AMANDA        BECKER                      NE     90009688553
696B4212872B26   VERONICA      ALFARO                      CO     90015252128
696B434A771921   MARILYN       RUSSELL                     CO     90009553407
696B4419872B43   THOMAS        CHASE                       CO     90010234198
696B4A79171921   CARRIELL      WILLIAMS                    CO     32083390791
696B5991A97B64   TOMAS         AMADOR                      CO     39079979910
696B6225255975   CHEYANN       STEVENS                     CA     48074632252
696B64A1391592   ZARI KARLA    SOLIS                       TX     90014584013
696B6739493733   TIERA         WILLS                       OH     90011297394
696B7476A72B43   FELIX         RAMOS-VAZQUEZ               CO     90003604760
696B7796A72498   GARY          SCHADE                      PA     90003507960
696B7879261936   TRYNETTA      HOLLOWAY                    CA     46070618792
696B799128B168   KEISHA        MACIEL                      UT     90009199912
696B79A1A2B824   DAVID         ADAMS                       ID     90004079010
696B854822B27B   MYESHA        TAYLOR                      DC     90014655482
696B8969A91525   OFELIA        OBREGON                     TX     90014059690
6971132983168B   JAMES         BARBER                      KS     90008343298
6971151115B241   TODD          LANGSTON                    KY     90013835111
6971238187B46B   MARIA         VEJAR                       NC     90012373818
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 605 of 2350


69713818297B64   ASHLEY          CRESTIN                   CO     90000698182
69714A4344B27B   GEORGIA         SMITH                     NE     27069120434
69714A76491222   KEVIN           WELCOME                   GA     90008830764
6971574344B253   JOSE            TRAJO                     IA     27096527434
697159AA361964   FRANK           PEREZ                     CA     46066729003
69715A3335416B   VEL             MAURY                     OR     90011710333
6971631445416B   DIEGO           ARAMPULA                  OR     90014813144
69716533372B27   JASON           SANCHEZ                   CO     90010645333
69716A31491894   AMANDA          MILLARD                   OK     21065750314
69717838A55973   NOE             GARZA                     CA     48060958380
69717A6455B375   DONALD          ALTIZER                   OR     90005840645
6971861888166B   JAMES           SEAGO                     MO     90013946188
69719A4957B46B   RODNEY          ERVIN                     NC     90013760495
6971B92984B27B   LUISA           YANEZ SALDANA             NE     27091739298
6972134518166B   AMIE            WIELAND                   MO     90002713451
6972168487194B   HEATHER         FROESE                    CO     90002206848
6972221878166B   JOSE            MANCILLA                  MO     90011192187
69722281472B43   CURTIS          OBRIEN                    CO     90015112814
69722A1487B46B   DARLENE         BRADSHAW                  NC     90014780148
6972435845B241   VANESSA         WILSON                    KY     68010743584
6972455237193B   MARIA           HICKS                     CO     90010335523
69725A6864B588   QUINTON         MEEKS                     OK     90007750686
69726831A71921   ALFREDO         RODRIGUEZ                 CO     90010898310
69728239772B27   DORIZ           DE LEON                   CO     33045712397
6972B288151325   SABRINA         MCSORLEY                  OH     90002542881
6972B36122B27B   ANN             BROWN                     DC     90011433612
6972B5AA291562   MARIA           PORTILLO                  TX     90003425002
6972B84183B395   ROBERT          GUERRA                    CO     33096578418
697313A6172B27   BENJAMINE       ALVARADO                  CO     90010433061
697313A857193B   KENNETH         SIMMS                     CO     90002353085
6973229A391562   NARSIZO         MARIA                     TX     90010222903
6973245A57193B   KATE            MONDELLO                  CO     90008104505
697339A244B27B   EARL            HODTWALKER                IA     27044319024
69734A41291592   DESIRAE         ONTIVEROS                 TX     90013620412
69734A97591522   IRMA            AGUILAR                   TX     75011480975
69735214472B29   LESA            CHADWICK                  CO     33045002144
6973542756B244   DAVID           KNOBLETT                  AZ     90014124275
6973622157193B   JOIE            PADOVICH                  CO     32000072215
6973626AA72B26   SALVADOR        TORRES                    CO     33067092600
69736579A5593B   ELPIDO          GOMEZ                     CA     90014785790
6973659328166B   SHANICE         WHITE                     MO     90011125932
6973716274B268   FRANCISCO       GONZALEZ                  NE     90011721627
6973722157193B   JOIE            PADOVICH                  CO     32000072215
69738453172B43   LAURA           LOPEZ                     CO     33026104531
6973B744472B43   ELIAS           LENDRUM                   CO     90007787444
6973B91A67193B   DEREK           SAWYER                    CO     90013189106
6974119929715B   ELAINE          THORNBORROW               OR     90010121992
69741611572B27   MAURICE         PARHAM                    CO     90013316115
69741739A72B43   MARTIN          SOSA                      CO     33052367390
6974177A272B26   JOVANA          VAZQUEZ                   CO     90014557702
69741A36155975   CHRISTINA       JACOBS                    CA     90014590361
6974222157193B   JOIE            PADOVICH                  CO     32000072215
69742413672B26   ERIKA           ALVARADO-GRANADOS         CO     33051314136
697424A145416B   LEEANNA         SHREVE                    OR     47061324014
69742761A91592   FELICITAS       DEL REAL                  TX     90011167610
69742A2925B235   VICKI           JOHNSON                   KY     90008070292
6974312372B27B   TYRONE          GASKINS                   VA     81077911237
69743425A7B833   TINA            GRAY                      IL     90008874250
6974436694B588   RENE            LOPEZ                     OK     90015033669
69744A7865416B   KRISTIN         SANCHEZ                   OR     90011080786
6974534897B46B   YAIR            HERNANDEZ                 NC     90012923489
6974538467B46B   YAIR            HERNANDEZ                 NC     90010453846
697454A362B27B   JORGE           GONZALESS                 VA     90013884036
6974552A64B588   SERGIO          GARCIA                    OK     90011375206
6974556235416B   JODY            VANETTEN                  OR     90013415623
6974591975416B   JODY            VANETTEN                  OR     90013299197
697459A872B527   BOST            MILLER                    AL     90011269087
69745A2312B824   SAMUEL          CRITELL                   ID     42016230231
69745AA8391562   ENRRY           CHAVEZ                    TX     75073080083
69746112A91592   DARLENE         WAGNER                    TX     75041131120
69746453172B29   CLAUDIA         BARRERA                   CO     33034114531
697466A5855975   FAYEK           MUTHANA                   CA     90012816058
6974714995416B   HANNAH          ZABRISKIE                 OR     47094211499
6974725A977527   ROGER ANTONIO   PINTO                     NV     90006722509
6974753A291592   ARTURO          SALAS                     TX     75015415302
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 606 of 2350


697491A825416B   JESSICA      PARRETT                      OR     90012601082
6974961957193B   WANDY        JEFFREY                      CO     90014746195
6974B371387B31   ODESSA       MITCHELL                     AR     28082863713
6974B471272B43   MATT         NASH                         CO     33031084712
6974B67884B588   MISTY        WATTERSON                    OK     90013596788
6975186834B588   COLT         NICHOLSON                    OK     90012978683
69751894972B43   MATTHEW      MEDINA                       CO     90015088949
69751932172B29   BETH         DRISCOLL                     CO     90013759321
69753AAA45416B   THOMAS       ROBINSON                     OR     90013530004
69754252A5416B   JOHN         JOHNSON                      OR     90014832520
6975451512248B   RICARDO      MARTINEZ                     IL     90001075151
6975483732B89B   ERIK         ANDERSON                     ID     90013698373
69754992797B28   MATTHEW      TURNER                       CO     90005029927
69754A9AA7193B   LAURA        SMITH                        CO     90012300900
69755991876B49   VERONICA     MENDOZA                      CA     90005859918
6975688795B235   SCOTT        COLLINS                      KY     68092638879
6975691715416B   LISA         REYES                        OR     47098449171
6975721917B46B   JESSE        EUEGENE                      NC     11029972191
69758162172B26   CHRISTINA    DAVIES                       CO     33047341621
6975829138166B   TERRY        HIBBS                        MO     90003802913
6975894657B442   MARCO        CUELLAR                      NC     90010269465
69759A34372B43   GERARDO      URENDA                       CO     33069050343
6975B29995416B   SARA         HENSLEY                      OR     47010622999
6975B512672B29   STEPHAN      STEINSIEK                    CO     90012675126
6976152A72B27B   CINDY        MEJIA                        VA     81000445207
69762314572B29   JOEL         AKINS                        CO     90010153145
6976359218B358   MIGUEL       BALDERAS                     SC     90015385921
697643A952B27B   DEZETTA      HOLLAND                      DC     90011213095
6976572184B27B   KEVIN        NAUDEN                       NE     90011197218
6976745AA72B43   MARIA        GOMEZ                        CO     33064434500
6976855285416B   JOHNATHEN    BRYANT                       OR     90009785528
69768886A7B46B   JANET        HERNANDEZ                    NC     90015238860
6976894944B588   KRISTINA     JACKS                        OK     90013559494
697693A6891562   ARMANDO      MESA                         TX     90000323068
6976B468A61964   KIPPERR      BELL                         CA     46003534680
6976B49A54B588   RACHEAL      WILLIAMS                     OK     90000854905
6976B836672B29   PATRICIA     FLORES                       CO     90013038366
6976BA8624B27B   BEMMAN       WALTER                       IA     90000440862
6977223A755975   CEASAR       ANDRADE                      CA     90011782307
697723A9A72B26   ANTONIO      MIRELES                      CO     90015253090
6977264655B235   TODD         WILLIAMS                     KY     68076906465
69772745A72B43   TEARSA       SLOAN                        CO     33094307450
6977275A381675   WYSCHELLE    WALLACE                      MO     29079837503
69772A76555941   SHARALE      GALLEGOS                     CA     90013730765
6977314538166B   SHANELL      DUPREE                       MO     90015241453
697733A9A72B26   ANTONIO      MIRELES                      CO     90015253090
6977381A772B29   JENNIFER     HANSON                       CO     90004168107
69774424172B43   JAVIER       PERAZA                       CO     90012484241
697744A774B588   MARIANO      CRUZ-HERNANDEZ               OK     90013164077
6977531A272B26   ESHA         HALL                         CO     90015253102
6977556544B27B   VANESSA      MILLER                       NE     90014265654
6977572722B824   ADAM         SANCHEZ                      ID     90004097272
6977682912B27B   JODI         CLARK                        DC     90014288291
6977716258B563   MIGUEL       DOMINGUEZ                    CA     90015451625
69777442472B27   FERNANDO     ROJAS                        CO     33084214424
6977772437193B   ARIANNA      HERNANDEZ                    CO     90005937243
697786A6171921   MICHAEL      MCILVEENE                    CO     90007466061
69779318172B27   JOHN         REYNOLDS                     CO     33043433181
69779746744B79   JOHN         PAUL                         OH     90014287467
697797A1781675   DEBREA       KELLER                       MO     90011007017
6977B74A98B168   GENEVIEVE    WIRTH                        UT     31040637409
6977BA6315416B   SHARON       INGLISH                      OR     47082930631
69782453572B27   AMAR         PATEL                        CO     90009964535
6978328124B27B   BONNIE       MORRISON                     NE     27050192812
6978342935B271   THEODORE     WRIGHT                       KY     90006874293
69783457272B29   BRENDA       PAZ                          CO     33093234572
6978369215416B   JASON        WILLS                        OR     90012766921
69783A75291592   MELISSA      BLANCO                       TX     90010730752
69783AA2A61964   MARGARITA    JUAREZ                       CA     90013920020
69784282A93728   JOSHUA       CORN                         OH     90005152820
6978622464B27B   DANIEL       METHER                       IA     90013962246
697873A9A7193B   VALARIE      TAFOYA                       CO     90011063090
6978741944B27B   JULIO        GARCIA NUNEZ                 NE     90013924194
697876A494B588   KERRY        WEST                         OK     90013796049
6978783A971921   DANIELLE     CLAGETT                      CO     90007748309
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 607 of 2350


6978814474B588   LORN         MCBRIDE                      OK     90013531447
6978861617B46B   BRANDON      GRUNWALDT                    NC     90010966161
6978927732B824   DEBORAH      OBRIEN                       ID     90006002773
69789367672B27   MARINA       DE LA CRUZ                   CO     33014143676
6978974A647936   JAMES        WILLARDSON                   AR     25085957406
69789938872B43   DIANA        BUENA                        CO     33045049388
6978B664672B27   IGNACIO      GUTIERREZ                    CO     33054686646
6978BA36891562   CYNTHIA      SANCHEZ                      TX     90014780368
697914A9955975   KIMBERLY     GUIZA                        CA     90006524099
69792228A5B235   TYRONE       OLIVER                       KY     90013282280
6979234867B46B   JASWANT      SINGH                        NC     90013063486
697923A522B824   PATRICK      CURTIS                       ID     90006003052
69792A66455975   ANTONIO      RAMIREZ                      CA     48092390664
69792A92A2B27B   MARICIA      BOYCE                        MD     90002850920
69794564587B31   WENDALL      COLEMAN                      AR     90011775645
6979473694B532   ANTONIA      ESCOBAR                      OK     90001457369
69794A52297B64   ANDREW       CHAVEZ                       CO     90010790522
6979598335B235   MAYORICO     RAMIREZ                      KY     68009859833
69795A66972B26   MAX          RUSSELL                      CO     33000410669
6979646525416B   CHRISTINA    GEBHART                      OR     47092544652
6979657AA61964   MARÍA        VIRAMONTES                   CA     90012285700
6979679494B27B   PAMELA       HILL                         NE     90001687949
69796A34587B31   VAHYA        PRUNTY                       AR     90013030345
6979735257193B   VALERI       SPENCER                      CO     90013723525
6979765484B27B   GUADALUPE    VALADEZ-OCHOA                NE     90015106548
6979837934B27B   JOESPH       WOOD                         NE     90012343793
6979884477B442   DIEGO        LAMAS                        NC     90004528447
6979935538166B   RAYSHAWN     WILSON                       MO     90014133553
6979966A58B168   MIGUEL       REYNA                        UT     90013936605
69799A4677193B   ELIZABETH    WAGNERR                      CO     32059900467
6979B98514B588   KEITH        SLATTERY                     OK     90013349851
697B133224B588   RODNEY       HICKS                        OK     21517273322
697B1368372B26   SARASATY     SOEKARSO                     CO     90010613683
697B1414472B43   SELERINO     NAVA CASTRO                  CO     90012354144
697B187968166B   ALONSO       ERASMO                       KS     90006538796
697B2265391592   JULIO        OLIVAS                       TX     75098622653
697B235234B27B   ANITA        GUERRA                       NE     90015073523
697B23A1791522   EDGAR        CORDERO                      TX     75025813017
697B2441491562   GABRIEL      TREJO                        TX     90013704414
697B2684481675   KAREN        MACIAS                       MO     90011716844
697B3185271921   BILLY        THRASH                       CO     32088761852
697B3541472B26   MAYRA        SANCHEZ                      CO     33043025414
697B3566991562   JESUS        RANGEL                       TX     75096745669
697B3723661964   VICTORIA     PERALES                      CA     90005427236
697B395662B27B   DENISE       KIBLER                       DC     90008209566
697B39A665416B   IAN          JACOBSON                     OR     90013299066
697B4127A4B588   ANTHONY      ADAMS                        OK     90014701270
697B422624B27B   LANCE        DALTON                       IA     90005822262
697B4328A9196B   CHRIS        MCCRORY                      NC     90009553280
697B4689755975   DELIA        AGULIAR                      CA     90009896897
697B471855416B   ALISON       PETERSON                     OR     47068587185
697B4776272B27   MELISSA      GARRETT                      CO     33076547762
697B483594B588   JEFF         LEFEBER                      OK     21534618359
697B5151A71921   MARGARET     SULLIVAN                     CO     32087111510
697B56A7172B43   ORLANDO      PINEDA                       CO     33040506071
697B6686991592   MAYRA        OLIVAS                       TX     90010206869
697B677A176B49   ARACELI      RUVALCABA                    CA     46012577701
697B7246A91562   MARIA        MOJICA                       TX     75065112460
697B72A762B89B   GONZALO      PERCOLLA                     ID     90005142076
697B7548161936   ANDRE        ZEEHANDELAAR                 CA     46045335481
697B7844A55975   VALERIE      RAMIEREZ                     CA     48008028440
697B788294B27B   RICHARD      BENISH                       NE     90014128829
697B8266772B29   ERNESTO      OVANDO                       CO     90000442667
697B97A4371921   TRYSTIAN     BARNER                       CO     90012597043
697BB5A8491894   WILLIAM      JAIMES                       OK     21016595084
6981114364B588   ANDREW       BRIDGER                      OK     90013291436
69811697272B27   JACOB        HRDLICKA                     CO     90015496972
6981224554B588   SARAH        PIERSON                      OK     21562752455
69812748372B43   CARLOS       RODRIGUEZ                    CO     90012197483
6981295657193B   IRENE        WAGGLE                       CO     32011219565
698131A6672B43   KEVIN        NIEMI                        CO     90014641066
6981324422B23B   SABA         TEKLE                        DC     90009832442
6981358213168B   MIGUEL       ESPINO                       KS     22080245821
6981359716155B   JOSH         KIRVY                        TN     90015445971
6981361682B27B   LEENA        ALLEN                        DC     90013096168
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 608 of 2350


6981369215416B   JASON          WILLS                      OR     90012766921
6981459AA5416B   PHILIP         MAKINSON JR                OR     47034965900
6981482A197B64   CAROL          STROH                      CO     90007318201
69814A29461964   ALBERTINA      MEDINA                     CA     90010650294
6981551534B588   BRITTANY       HUFF                       OK     90009325153
6981765635416B   SARA           HOLE                       OR     90007566563
69817928572B43   ROSA           ALCARAZ                    CO     33033259285
6981842237B698   JEREMY         MOORE                      GA     90014064223
698184A8755975   FRANK          SERNA                      CA     90014634087
6981981A971921   CRISTAL        MORENO                     CO     32083258109
6981999A472B43   ANDY           SOWINSKI                   CO     90013999904
698199A9755977   MARIA          VALDEOLIVAR                CA     90001499097
6981B369193787   ROBYN          FRER                       OH     90014043691
6981B462A76B71   ALONSO         MAQUEDA                    CA     90010434620
6982189184B27B   MANUEL         PORTILLO                   NE     90001438918
69822418772B29   LYNNLEE        LOPEZ                      CO     33011004187
69824332672B26   DAIJHA         HOLLAND                    CO     90015253326
69824348372B29   WENDI          MARTINEZ                   CO     90012603483
6982457A491562   MICHAEL        LAGUNAS                    TX     75090065704
69826227A72B43   OMAR           GALINDO CASTANEDA          CO     90013282270
6982636977193B   MATTHEW        REELS                      CO     90011063697
6982662378B168   CODY           PATINO                     UT     90007006237
6982663524B588   ALEXANDER      MOORE                      OK     90009736352
6982728124B27B   BONNIE         MORRISON                   NE     27050192812
6982798677193B   CHELSEA        TOMB                       CO     32060989867
69827A69461936   MARCO          ANTONIO PINEDA             CA     90012470694
698282A1A55975   EDDIE          RAMIREZ                    CA     90006532010
6982893457B46B   JUAN           ORTIZ                      NC     11013759345
6982918A272B27   DANIEL         RUSSOM                     CO     33053681802
6982939725416B   LUIS           JOAQUIN-FERNANDEZ          OR     90011293972
6982955527B46B   SILVIA         LOPEZ                      NC     90000105552
6982B95292B27B   ROY            JORDAN                     DC     81058239529
6982BA6AA91592   JOSE           LOPEZ                      TX     75084340600
698326A9191592   LUIS           CEJA                       TX     90010826091
69833388672B26   LUIS           GAMEZ                      CO     33061903886
6983386684B588   SHALLEA        JOHNES                     OK     90003098668
69834622187B31   KALIE          HUNTZINGER                 AR     90000656221
6983549197193B   LUIS           GARCIA                     CO     90010014919
69835A1957B46B   ROBERTO        MENESES                    NC     11016860195
69836234972B29   THERESA        MUNOZ                      CO     90011092349
69837241672B29   TIFFANY        OWENS                      CO     90013402416
6983745937B46B   TANICA         WILKERSON                  NC     90013544593
6983759735416B   CHEROKEE       HEADY                      OR     90007945973
6983779594B27B   TERESA         LOPEZ                      NE     90009017959
69837A5584B522   SHAUNNA        SMALLWOOD                  OK     90007770558
6983925497193B   KIMBERLY       HAVENS                     CO     90008632549
69839962772B29   ROSALIE        GUERRA                     CO     33014889627
69839A39155975   MARBELLA       DIAZ                       CA     48095450391
6983B23624B27B   MORENA         TRINIDAD                   NE     90014742362
6983B25385B235   JULIA          WARNER                     KY     90004672538
6984124248B168   MARYFE         WESTERFIELD                UT     90007022424
69841282A55975   JUAN           ALDANO                     CA     90013022820
69842166472B26   SHANIQUA       BROWN                      CO     33055461664
69844696A8166B   JORJE          ROJAS                      MO     90013946960
69844741772B29   TISHA          L MAES                     CO     90010577417
6984584A572B26   MICHELLE       COX                        CO     90009558405
69845A1A655975   VICTOR         BERNAL                     CA     90012820106
698463A5A7B46B   MEGAN          JONES                      NC     90013383050
6984643A472B2B   ARTURO         GARCIA MOJICA              CO     90006144304
6984667A955975   ZULEMA         MARTINEZ                   CA     90014666709
69846739172B26   LUCAS          BROCKWELL                  CO     33076847391
69847A5358166B   CHARLES        JEFFERYS                   MO     29001060535
6984837324B27B   ERIC           FRANZ                      NE     27056363732
698486A1771921   ANA            MORENO                     CO     90001986017
69848979A7B46B   PATRICIA       OWENS                      NC     90013539790
698492A7172B43   JESSICA        OWENS- NECKIEN             CO     33057752071
69849992672B27   JUSTIN         CARROLL                    CO     90014399926
69849A49771921   CARMEN         WILLIAMS                   CO     90007640497
69849A7492B27B   ULANDIS        FORTE                      DC     90012130749
6984B545472B27   ADRIANA        SOTELO                     CO     33091815454
6984B8A5A91522   LORENZA        ESTRADA                    TX     75010138050
6984BA43572B29   ELIZABETH      NIX                        CO     90010650435
6985324738166B   SAMANTHA       BISHOP                     MO     90015222473
69853A1472B255   TESFAMICHAEL   DAWIT                      DC     90006230147
69853A61657544   JUAN           SANDOVAL                   NM     90013220616
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 609 of 2350


698541A1385944   AARON        SCHWEINZGER                  KY     90014481013
69854469572B27   SOE          WIN                          CO     90010904695
69854621472B29   RAMIREZ      MIREYA                       CO     90010566214
6985558147193B   SARAH        RAEL                         CO     90014695814
6985597A191562   MELISSA      GORDON                       TX     90013959701
6985611675716B   SHANTELL     GUTRICK                      VA     90008311167
6985643847193B   RANDALL      SANTONI                      CO     90014834384
6985651524B27B   LUIS         LEMUS                        NE     90005405152
6985673A42B27B   ESTELLE      CHICHESTER                   DC     90001197304
69856A2657B46B   TERESA       CHAVEZ                       NC     90012720265
6985769982B824   TERISU       NORRIS                       ID     90007996998
6985825797B46B   AL           DEAS                         NC     90011402579
69858841472B26   YADARI       MARTINEZ                     CO     33046028414
69858AA4181675   CLIFFORD     ARBEE                        MO     29048110041
6985975215B241   SHARIECE     BEASLEY                      KY     68011117521
6985B268347946   SHAWNA       MOORE                        AR     90002832683
6985B395172B55   GEORGIA      GOEHRINGER                   CO     90010343951
6985B64948B165   THERESE      BJORGE                       UT     90003926494
6985B77197B46B   TYRISHA      CLINTON                      NC     90012597719
69861A39491562   KELLY        NEVEL                        TX     90010290394
69861A9467193B   BRYAN        HUNTER                       CO     90015010946
69862627587B31   SANDRA       GLADISH                      AR     90002486275
69862A1762B27B   JAMES        MARSHALL                     DC     90012580176
6986381812B824   RITA         SOLTESZ                      ID     42021938181
69863885272B37   KASSANDRA    MOORE                        CO     90012648852
6986444218166B   SAUL         LOZANO                       MO     90012984421
6986543348166B   EDDIE        HALL                         MO     90014284334
6986565987193B   YVONNE       ARCHIBEQUE                   CO     90009356598
69865694872B26   SALVADOR     GIMENEZ                      CO     33014816948
6986574824B26B   JESUS        TREJO                        NE     90015587482
6986655A67B329   MARISELA     CRUZ                         VA     90006335506
69866A28991592   NATALIA      SOLIS                        TX     75016110289
69867167172B29   BRYAN        KERR                         CO     90011981671
6986762A691894   MARTHA       NICKELL                      OK     90007956206
69867A1917193B   KIM          MACKEY                       CO     32031270191
69868A3714B27B   RAYNETT      HEIDT                        NE     90014970371
698694A278B168   TARA         WENTLAND                     UT     90012084027
6986952715416B   ASHLEY       SHAFER                       OR     47089695271
6986962777193B   HUY P        TRAN                         CO     32040876277
6986B12877193B   JONATHAN     VAZQUEZ                      CO     90007801287
6986B17955B235   GLEN         BARNES                       KY     90009421795
6986B79614B588   DAVID        RENDON                       OK     90009957961
6986BA98681675   NANCY        BENIQUEZ-ADAMES              MO     90011720986
6986BAA978166B   GONZALO      AYALA                        MO     29046170097
698714A5191562   LENOR        OJEDA                        TX     90012254051
69871A85171921   CYNTHIA      DUNCAN                       TX     32019650851
69871A9618B355   PAYGO        IVR ACTIVATION               SC     90011620961
69872538A4B588   CHRIS        HAMMONS                      OK     90010065380
6987258755416B   AARON        HAFDAHL                      OR     47078635875
6987343945416B   FRANCISCA    DURAN                        OR     90012614394
69873795A5416B   WENGUAN      ZHANG                        OR     90013307950
6987493938166B   REBECCA      HART                         MO     90012849393
69874A3344B588   ERIN         SCHNEIDER                    OK     90014830334
6987512537B472   MARTIN       MARTINEZ                     NC     90008891253
698756A5161964   MARICELA     ALCALA                       CA     46097586051
69877356872B27   TED          ALEGRIA                      CO     33072433568
69877771A55975   LORENA       ROJAS                        CA     90006637710
6987782652B269   STEPHANIE    RILEY                        DC     90001708265
6987785484B27B   PATRICIA     CLARK                        IA     27049298548
6987978887B46B   KENNETH      UNGARO                       NC     90012437888
69879A34155973   TISHA        CARTER                       CA     48076510341
6987B522261936   AL           PEREZ                        CA     90005245222
6987B544972B27   VICTORIA     ALVARADO                     CO     33057195449
6987B65524B588   LATRICIA     MILEY                        OK     90007396552
6988133A75416B   JENNI        WALLINE                      OR     47054703307
6988234A15B235   D            FINLEY                       KY     90005363401
6988255487193B   MONIQUE      LOVELY                       CO     90004065548
698825A6A91592   YANET        TAPIA                        TX     75008235060
69882994A8B163   GABRIEL      OLIVA                        UT     90011769940
6988386A172B43   DEBBIE       ARNOLD                       CO     33080508601
6988443945416B   FRANCISCA    DURAN                        OR     90012614394
6988617285B235   VANESSA      HINRICH                      KY     90013201728
6988786334B588   MUSTAPHA     TAHIRI                       OK     90006588633
6988894158166B   KEITH        GINES                        MO     90001849415
698892A1655973   MICHAEL      RUIZ                         CA     90000552016
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 610 of 2350


69889469A91562   SUSANA        HOLGIUN                     TX     90012134690
6988979778166B   MARIA         MARES                       MO     90013947977
69889A66197126   SARAH         WILLIAMSON                  OR     90012980661
6988B423687B31   SAMMIE        ANDERSON                    AR     28097544236
6988B427484347   LATOYA        ROYSTER                     SC     90008744274
6989152242B27B   MARK          JACKSON                     DC     90012915224
698916A477B398   TASHA         TIBBS                       VA     90014696047
69892A4A84B27B   VIRGINIA      ESTRADA                     IA     90012960408
6989317187193B   JOSEPH        FRANKLIN                    CO     90010301718
6989353727193B   DAKOTA        SHAFER                      CO     90013535372
6989359A972B27   HERNANDO      BANUELOS                    CO     90010625909
6989388727B46B   TAWANA        GILL                        NC     11010948872
698939A6872B27   RICARDO       JIMENEZ                     CO     90014789068
6989422465416B   SHANNON       WHITNEY                     OR     90014012246
69894714372B43   MANUEL        TOVAR                       CO     90009427143
6989644924B27B   ABIGAIL       NEWSOME                     NE     27084814492
69897147A8166B   STEVEN        BRIGHT                      MO     29063811470
698982A9891834   FRANSCISCO    VELASQUEZ                   OK     90002402098
6989832985416B   TAREN         KUNTZ                       OR     90014813298
69898462972B27   CRYSTAL       PEREZ                       CO     90014844629
6989934324B27B   SARAH         LIGHTHART-PHILLIPS          IA     90006363432
69899A42841271   REBECCA       WEAVER                      PA     90001790428
6989B529697B42   CARLOS        AGUILAR                     CO     90014215296
6989B63152B27B   ELENA         FUENTES                     DC     90011376315
698B136995185B   CARIZMA       CARPENTER                   NY     90014423699
698B1384855975   CHRISTINA     ANDRADE                     CA     90014763848
698B1834461964   RICARDO       RICCA                       CA     90013298344
698B2241761936   CRYSTAL       HOWARD                      CA     46007802417
698B2A7154B588   MARY          ADAMS-WILLIAMS              OK     90013110715
698B315734B588   JULIE         BAKER                       OK     90013901573
698B373235416B   JENNIFER      ZIMMERMAN                   OR     90013307323
698B39A5291592   MONICA        FLORES                      TX     90010929052
698B3A33855975   ABEL          RODRIGUEZ                   CA     90011790338
698B4322172B26   SAMUEL        SISNEROS                    CO     90015253221
698B433A32B824   AMY           HALLETT                     ID     42048793303
698B4996876B58   MOISES        REYES                       CA     46069709968
698B5164791592   YOLANDA       HOLGUIN                     TX     90013641647
698B5395581675   KARLA         DE LEON                     MO     90010473955
698B5449991522   LUCY          RODRIGUEZ                   TX     90001434499
698B54A8755975   FRANK         SERNA                       CA     90014634087
698B5794572B29   EFRAIN        MENDOZA                     CO     33089237945
698B646998166B   GINA          BROWN                       MO     29007284699
698B667384B27B   NELSON        RAMOS                       NE     27073296738
698B7416672B29   DINA          SENA                        CO     90006824166
698B83A667193B   LORONA        CONLEY                      CO     32078293066
698B9281576B49   JOSE          GOMEZ                       CA     46007452815
698B931417B333   WARD          THOMAS                      VA     90013303141
698B941A74B588   EBONY         REECE                       OK     90008944107
698B946877B46B   JUAN          GONZALEZ                    NC     90007404687
698B9A38984382   WILLIAM       WILLIAMS                    SC     90003700389
698BB269472B27   CAMERON       KILLPACK                    CO     90008152694
698BB61428B191   JEAN PIERRE   HALLAKBALI                  UT     90014026142
69911112A5416B   DEVIN         COGDILL                     OR     90007781120
69911378172B26   IRENE         SERRANO                     CO     33018593781
699121A637193B   HEATHER       OTTERHOLT                   CO     32086611063
6991413A34B588   JULIE         RICHARDSON                  OK     90014681303
6991462468166B   PATRICE       JOHNSON                     MO     90011856246
69914843872B43   VICTORIA      PARRA PAVON                 CO     90006928438
69915472A72B27   JULIE         DUTCH                       CO     33007204720
69915A7877193B   FERNANDO      MACHADO                     CO     90008610787
69916268672B27   HELISABEL     FLORES                      CO     33088132686
6991683828166B   AIMIE         JONES                       MO     29060668382
69917213472B26   ROBERTS       TAMIKA DENISE               CO     33049852134
6991743A455981   CAROLINE      CERVANTEZ                   CA     48083714304
6991885A372B29   ROMEO         NICHOLSON                   CO     90011538503
699189A764B588   DENISE        TOLSON                      OK     90008889076
6991986334B588   STEPHANIE     BUTTS                       OK     21505808633
6991B487672B27   ZACHARY       ARAGON                      CO     90010904876
6991B531191894   CHAD          LAWMASTER                   OK     21006605311
6991B66824B27B   CALVIN        GOULD                       NE     27065876682
6991B845671921   LA RINDAL     STERLING                    CO     90013178456
6992154328B385   WARDEA        HICKMAN                     SC     90013865432
69922745A61964   ESPINOZA      APRIL                       CA     46017487450
6992321A472B29   MARIANO       MARTINEZ                    CO     90010662104
69923523272B26   RAUDEL        FRANCO                      CO     90010615232
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 611 of 2350


69924173372B27   RIKAE         REYNOLDS                    CO     33005791733
699249A6961964   SERGIO        RUIZ                        CA     90014899069
69925457772B43   ALEJANDRO     VALENZUELA                  CO     33070474577
6992778845416B   YELDEZ        ASMUS                       OR     90008127884
69929446972B27   ROBERT        LOEHRS JR                   CO     33091324469
6992997287B46B   PATRICIA      PALACIOS                    NC     90003019728
6992B481291562   MIRIAM        ACOSTA                      TX     90013364812
6992B781891592   BEN           MALDONADO                   TX     90010277818
6993158572B27B   CAREMCE       FAISON                      DC     90015125857
69931985672B43   JOSHUA        BURROWS                     CO     90012309856
699336A6872B29   CLAUDIO       GARCIA                      CO     90009206068
69933A57A72B26   MICHEL        PIRCE                       CO     90001590570
69934297172B26   OLGA          MUNOZ                       CO     33086972971
69934622687B31   FAMOUS        TAYLOR                      AR     90010096226
6993533552B225   LOLITA        PRENTICE                    DC     81011033355
69935A2527B493   TERRI         SANDERS                     NC     90001630252
69935A8395416B   PAYGO         IVR ACTIVATION              OR     90009540839
69935A87A8166B   SHELRINA      THOMPSON                    MO     29083520870
69936365A8166B   DENA          MUSCHIETTY                  MO     29012623650
6993653912B27B   ROBSA         MIDEKSA                     DC     90010435391
6993775287193B   ERNESTO       SANCHEZ                     CO     90009687528
69938351A4B27B   SUSAN MARIE   WITZANY                     NE     90015123510
69939196272B43   KRISTAL       GUMP                        CO     33075921962
69939458A71921   KENDRA        HAUGHTON                    CO     32039884580
6993B16578B168   THAYNE        HANSEN                      UT     90007121657
6993B514761964   LAURA         MORALES                     CA     90014875147
6994156A272B43   HOLLY         CARY                        CO     33015965602
69942633A91562   DANNY         LOZANO                      TX     75033376330
69943234972B43   CHRISTINE     BRUNO                       CO     90006912349
69943724A71921   SAVANNA       LINDSAY                     CO     90001067240
699441AA385939   GENA          TACKETT                     KY     67006861003
6994437727193B   RAMIRO        GODINEZ-DIAZ                CO     90014753772
69944518772B27   ROBERTA       MAYES                       CO     90014855187
6994525698166B   CRYSTAL       GUTIERREZ                   MO     90014622569
69945626A76B49   RONNIE        THEIL                       CA     90005526260
69947213472B26   ROBERTS       TAMIKA DENISE               CO     33049852134
69947243972B43   AMBER         LOPEZ                       CO     33080842439
6994739968439B   JENNIFER A    DIAMOND                     SC     90003453996
6994918615416B   MANDY         WARNER                      OR     90013411861
69949613A61964   JUAN          TEC                         CA     90013526130
6995122689187B   PATRICIA      GRAYSON                     OK     90013832268
699513A518166B   JOYCE         HERNANDEZ                   MO     90007633051
6995263A487B31   BRETT         DURDEN                      AR     28092786304
69952A4A47193B   BRIAN         BURRIS                      CO     90002440404
6995323A871921   DAVID         MROWCA                      CO     90015012308
6995343214B27B   RITALYIA      BEAUGARD                    NE     90013924321
699537AA491592   JESSE         DIAZ                        TX     90012437004
69953A34372B43   GERARDO       URENDA                      CO     33069050343
699543A6772B43   ARMANDO       HERNANDES                   CO     33081463067
6995447A172B29   LAURA'S       CLEANING                    CO     33062864701
6995476745416B   ASHLEY        SANCHEZ                     OR     90014137674
6995593543168B   RAYMOND       MCCOLLISTER                 KS     22022559354
6995764328166B   JOHN          FARMER                      MO     90014006432
6995897262B27B   LOTANYA       CAMPBELL                    DC     90006279726
6995919A672B43   JULIAN        MORAN                       CO     33006331906
6995B27A555975   OMAR          MAGANA                      CA     90006802705
6995B86A261936   SANG          YUN                         CA     90009588602
69961894972B43   MATTHEW       MEDINA                      CO     90015088949
69962426A2B959   JOHN          PUEBLA                      CA     90006394260
69963915A7B329   WILLIAM       DE MOURA                    VA     81006929150
69964142672B27   ADRIAN        FUENTES                     CO     90006031426
69965336A55975   ANDREA        STEELMAN                    CA     90014723360
6996578614B588   AMY           MORRIS                      OK     90010357861
69966277A72B29   DANIEL        MARQUEZ                     CO     90001662770
6996727A391592   MARTIN        PARGAS                      TX     90015082703
6996795A191562   KARLA         FRANCO                      TX     90011089501
69968117772B26   SAVANNAH      TRUJILLO                    CO     90005521177
6996913268166B   EDWARD        PERRY                       MO     90013361326
6996922154B588   PAULA         JAMES                       OK     90013432215
6996934687B46B   BRITTANY      FARRAR                      NC     90014583468
69969A29991592   ANTONIO       SESTIAGA                    NM     75014640299
699712A197B46B   RENEE         BYRD                        NC     90011082019
69971391A55973   DIANA         LOPEZ                       CA     90012043910
69971561A91522   RENE          VELAZQUEZ                   TX     90013325610
6997159554B27B   RONNIE        BADLEY JR                   NE     27088885955
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 612 of 2350


69971618572B26   MARC         MEDINA                       CO     90002326185
6997271A191534   NORMA        SALDANA                      TX     75018507101
6997284748166B   RAYMUNDO     LAZARO                       MO     90013948474
6997296797193B   MACIEL       CUEVAS                       CO     32063819679
6997339317193B   GUADENSIO    VAZQUEZ                      CO     90011073931
699733A334B588   ANDREA       PALOMO                       OK     90008943033
699733A5191562   DIANE        SOLIS                        TX     90013823051
6997347135416B   SHANNON      DAGOSTINO                    OR     47019054713
69973562472B43   BETY         TEPOLE                       CO     33023195624
6997511677193B   FREDRICK     STROUND                      CO     90013301167
6997514A94B27B   RICK         SCHU                         NE     27017641409
69976253A8166B   JAMI         STRAUCH                      MO     90009292530
6997811834B27B   TRACEY       MARSHALL                     NE     27030441183
6997829A872B43   MANUEL       FRAUSTO                      CO     90010422908
6997834518166B   SHIKELA      BARRETT                      MO     29039173451
6997851617194B   JESSICA      MASCARENAS                   CO     90001685161
69978A17391522   AGUILAR      SELINA                       TX     75023620173
69978A7A672B29   LEIAH        MURPHY                       CO     33070190706
6997B7A7672B27   STACI        AGUILAR                      CO     33083867076
6997B8A8A71921   MARLENY      ILCHY                        CO     32036488080
6998133952B824   JULIA        GRIGG                        ID     90009593395
6998182265B351   NAJEE        HICKS                        OR     90012468226
6998188215416B   LETICIA      HERNANDEZ                    OR     90014158821
69981A87271921   DILBERT      ESCOBAR                      CO     90010920872
6998263168166B   BOBBI        HERZOG                       MO     90013776316
69982A1955B235   CRAIG        VETETO                       KY     68003470195
69982A35691894   JUAN         PAZ                          OK     21052480356
69983AAA255973   JUANA        CASTILLO                     CA     48056110002
6998455845B271   AMANDA       COOPER                       KY     68092705584
69984A1955B235   CRAIG        VETETO                       KY     68003470195
699851A583B394   LAWERENCE    HAMELIN                      CO     90000761058
6998742378166B   CHARLES      BROCK                        MO     29007314237
69988A75693747   TIMOTHY      YOUNG                        OH     90012060756
69988A96691522   MYRNA        PADILLA                      TX     90005890966
6998939328B161   JESSICA      LOUIS                        UT     90002553932
69989449172B43   MESTAS       LEONA                        CO     90010054491
6998947672B27B   MARIO        BLACKETTE                    VA     90012844767
6998963A83168B   ROBERT       HEPPLER                      KS     22046966308
6999219334B27B   MICHAELA     BUSSEY                       NE     90011201933
6999317915416B   DEBBIE       HEIGHT                       OR     90008741791
69995572A71921   ERIC         LINDENMIER                   CO     32014485720
69995715587B31   PRESTON      SPENCER                      AR     28081337155
699963A9498B63   LESA         HORNE                        NC     90011313094
6999969A38165B   MOHAMMED     DAIFALLAH                    MO     90012516903
6999991373B329   ICEYFUEGO    CORP                         CO     33039439137
6999B757991894   SHARIKA      WALDON                       OK     21056877579
699B159747B46B   JORGE        TALAVERA                     NC     90015005974
699B173782B255   LAKEICIA     MORGAN                       DC     90008247378
699B244859132B   SHELLY       EDWARDS                      KS     90014044485
699B248A851388   ROBERTO      VILLATORO                    OH     90000914808
699B287164B27B   SALLY        DALE                         NE     90013628716
699B294484B27B   ANTHONY      PERALES                      IA     90010039448
699B2972A72B43   LETICIA      RIVERA                       CO     90015049720
699B3744972B43   BREYANA      HICKS                        CO     90014387449
699B496AA4B27B   BRETT        SPECK                        NE     27051899600
699B4A88755975   ELSA         ROMEREZ                      CA     90006750887
699B556858166B   ROSALIND     NKI                          MO     90000475685
699B6584191562   GUADALUPE    LOERA                        TX     90012775841
699B6658281675   TIFFANY      WEIR                         MO     90010486582
699B6A74171921   KANDICE      JOHNSON                      CO     90010860741
699B814582B824   JOSEPH       WINTERS                      ID     42047081458
699B863334B27B   BREANNA      CONKLIN                      NE     90012136333
699B8789791562   ROQUE        ORTIZ                        TX     90011097897
699B9111855975   JOSE         CHAVEZ                       CA     90009101118
699B914364B588   WILLIE       LLOYD III                    OK     21517841436
699B9848561964   AIOTEST1     DONOTTOUCH                   CA     90015128485
699BB245872B26   BYRO         CABREA                       CO     90012902458
699BB81957193B   LUIS         HERMIS PINERA                CO     90012808195
69B1123377193B   TONY         ALMANZA                      CO     90001182337
69B11496372B36   JOSE         RIVAS FERNANDEZ              CO     90011164963
69B11559791572   FERNANDO     MEDINA                       TX     90014265597
69B11674771921   ROBERTO      PEREZ                        CO     90013606747
69B11A62791562   RAFAEL       ESCARENO                     TX     90013610627
69B12538661964   LAURA S.     SCHMITT                      CA     46017745386
69B12595984392   RICHARD      WILABY                       SC     19062535959
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 613 of 2350


69B12662521677   LEIGH               NEWBY                 OH     90013976625
69B12828372436   JESSICA             CURRY JONES           PA     90003358283
69B1334168166B   LAMONT              NICHOLSON             MO     90010383416
69B13441891562   ROSA                LARA                  TX     75046294418
69B13699372B27   MARIO               PLATA                 CO     90001206993
69B1465297193B   MARCO               CALDERONARIAS         CO     90013176529
69B1478365B235   KENDRICK            FORD JR               KY     90014077836
69B14828371921   KARIN               WEAVER                CO     90013238283
69B155A4155975   ANGELO              SOTO                  CA     90012505041
69B1564185B235   LEEDRA              DICKERSON             KY     90008316418
69B1578424B588   ANTOWOINE           LAMONT                OK     90011457842
69B15875172B26   ILEANA              LOPEZ                 CO     90010608751
69B16746276B54   ROSENDO             ARROYO                CA     90013487462
69B1698327B46B   PHIMMALA            PHONSAVATH            NC     90013109832
69B17315561991   ANGELA              DEEGAN                CA     90006293155
69B17545272B26   MICHAEL             TAYLOR                CO     33052385452
69B1765117193B   TIMOTHY             HOLLIFIELD            CO     90009976511
69B1767774B588   CHELSI              HAGGARD               OK     90007806777
69B18249972B27   PHILIP              TURNER                CO     90007682499
69B19A17872B29   VICTORIA            MANDUJANO             CO     90010650178
69B1B564197B55   TRACE               VALADE                CO     90014465641
69B1B912172B29   INOSENCIO           NAVA VASQUEZ          CO     33095549121
69B1B95162B27B   VERNON              SEALS                 DC     90002479516
69B21141497121   MARISELA            GARIBAY               OR     44015911414
69B2122635B229   VICKI               ALCORN                KY     90001822263
69B21771A55975   LORENA              ROJAS                 CA     90006637710
69B2227744B588   LEON                PANNELL               OK     90011392774
69B2281748166B   DENISE              ALLEN                 MO     29049498174
69B22958961936   MARISELA            GUDINO                CA     46084519589
69B229A3676B54   LAURA               OREJEL                CA     90013489036
69B22A22A2B27B   CHRISSY             STEPHENSON            DC     90008860220
69B233A9A72B26   KELSEE              BIDWELL               CO     33089553090
69B239A7297B42   HUGO                VILLANUEVA            CO     90013959072
69B24625791592   CARLOS              SAUCEDO               TX     75097536257
69B26149851374   KEVIN               MCFERRON              OH     90013031498
69B26279491527   LINDA               FACIO                 TX     90006532794
69B2691A476B54   MARGARITA           AGUILAR               CA     90013489104
69B26982A4B27B   ADJE                BAHUN-WILSON          NE     90012529820
69B26A32191592   REBECCA RODRIGUEZ   R                     TX     90003570321
69B26A3A68B168   MISTY DAWN          KESLER                UT     90006510306
69B27245276B49   EL                  GALAN                 CA     90005622452
69B27281A7B495   TARIE               WHITE                 NC     11049142810
69B272A6955975   ANICA               RIOS                  CA     90013892069
69B27922876B54   JOSE                HERNANDEZ             CA     90013489228
69B2831595B235   THOMAS              DODSON                KY     90011073159
69B2872634B27B   LEE                 WEINACHT              NE     90010087263
69B2877165416B   EVARISTO            RUIZ                  OR     47059777716
69B29178A91562   JESUS               ADAME                 TX     90007931780
69B29694991894   BRITTANY            GOMEZ                 OK     21065276949
69B2984834B27B   KENNETH             WILLIAM               NE     27028278483
69B2B392555975   MICHAEL             MARTIN                CA     90013953925
69B2B451A93736   TEBRA               MORRISON              OH     90014234510
69B3131577B46B   ALEXIS              EPPS                  NC     90013563157
69B31657255975   YURIDIANA           LEON                  CA     90013086572
69B322A9333656   MARLENE             BURTON                NC     90013332093
69B32855391522   RACHEL              BENCOMO               TX     90005418553
69B33148872B36   ROBERT              EGLE                  CO     33077001488
69B33378461936   FROILAN             TORRES                CA     90010553784
69B3347432B27B   TANIA               RAY                   DC     90014674743
69B34169791522   ALICIA              LARA                  TX     90011831697
69B34964772B27   SARAH               VIGIL                 CO     90008099647
69B35162A55975   KIM                 SANDERSON             CA     90003231620
69B35169791522   ALICIA              LARA                  TX     90011831697
69B3522654B588   LONNIE              DIBLER                OK     90011482265
69B35869472B29   FELICIA             MARSHALL              CO     33083798694
69B363A997193B   PATRICIA            PEREZ                 CO     32019533099
69B36553872B43   DAISY               RIOS                  CO     90014075538
69B36829176B54   ANGELA              YANEZ                 CA     46015148291
69B37357972B27   LORDES              JOHNSON               CO     90012333579
69B373A4761964   RALPH               GOLD                  CA     46013033047
69B37544372B29   MAVIS               ARMIJO                CO     33081375443
69B3B576455975   ROBERTO             PEREZ                 CA     90013245764
69B3B96A181628   MICHAEL             MCDANIEL              MO     90009769601
69B3BAA9571921   MARGARET            COLE                  CO     32041780095
69B41143761961   AARON               DONALDSON             CA     90010811437
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 614 of 2350


69B41589772B43   WILLIAM      HARRIS                       CO     33086055897
69B42A3897B49B   GIRAUD       HOPE                         NC     90014510389
69B42A94585948   KYRA         CHAPPIE                      KY     90001990945
69B43126176B49   CHRISTIAN    BARAJAS                      CA     90005601261
69B43421761964   RYAN         NEWMEYER ELLING              CA     90003104217
69B4345677193B   FRANCISCO    MUNOZ                        CO     90012934567
69B43733572B26   JASAOS       MICEALA                      CO     33045287335
69B43933291986   BOUKOU       MOUECATONE                   NC     90010569332
69B4432677B378   GLORIA       PEREZ                        DC     90005663267
69B44352572B43   REBECCA      RASMUSSON                    CO     90007843525
69B4447544B588   JASMIN       CONTRERAS                    OK     90015144754
69B45681272498   JEREMY       FIEN                         PA     90007786812
69B4568515B229   JEFFREY      WOODS                        KY     90001566851
69B458A6172B36   JOSE         CORONA                       CO     90006788061
69B459A6372B43   SHERYL       GRAMMMER                     CO     90013179063
69B4711897193B   LISA         LOCKE                        CO     32070201189
69B4733555B241   JIM          MOORE                        KY     68035993355
69B47376676B54   RIGOBERTO    JUAN                         CA     46044803766
69B4738745416B   DREW         DAVIS                        OR     47059823874
69B4748A771921   IVY          BROZINA                      CO     90012974807
69B48187591522   FRANCISCO    GARCIA                       TX     90011831875
69B4824A87193B   PATRICIA     ARELLANO                     CO     90014992408
69B4834667193B   KENDRA       MOORE                        CO     90008703466
69B48735671921   CORY         ARCHULETTA                   CO     90009147356
69B4891A94B588   HAROLD       OSBURN                       OK     90015219109
69B48A2A372B26   HUGO         PINEDA                       CO     33053810203
69B4923117193B   ALEX         HERNANDEZ                    CO     90013732311
69B49743991522   ANABEL       CERVANTES                    TX     75026647439
69B49865671921   LEVERTIS     JACKSON                      CO     90009738656
69B4987A54B549   BROOKE       GRIFFITH                     OK     90010858705
69B4B373A72B26   TAMSIN       MACDONALD                    CO     33059473730
69B4B869455975   MARIA        CEBALLOS                     CA     90011278694
69B4BA93176B49   BIANCA       ARTEGA                       CA     90005600931
69B5114482B27B   LATASHA D    WILLIAMS                     DC     90003571448
69B51175A55934   RON          PEMBERTON                    CA     90010271750
69B51256261964   BEATRICE     CRUZ CARDENAS                CA     90010622562
69B51944491562   CECILIO      NUNEZ                        TX     90014299444
69B5255974B588   LYNDA        NIGHTINGALE                  OK     21516685597
69B5281A871921   JUSTO        GONZALEZ                     CO     32055478108
69B5287898166B   TIMOTHY      BUSH                         MO     90013938789
69B53137291522   FRANK        GUERRERRO                    TX     90002751372
69B5338974B588   DIANA        VAZQUEZ                      OK     90010783897
69B5368558166B   JON          WILLSEY                      MO     90014986855
69B53965793735   TOSHA        WEATHERSPOON                 OH     90008959657
69B54317571921   FABIOLA      AYALA-SOTO                   CO     90011523175
69B552A554B27B   DARIAN       SAMUEL                       NE     90011142055
69B55342972B36   SOFIA        SIERRA                       CO     33015243429
69B55A95172B43   MELANIE      LUJAN                        CO     33009310951
69B5648AA61964   ISAAC        ACUNA                        CA     90009434800
69B5687175416B   JANDEZ       STARR                        OR     47068788717
69B56AA2272B26   ALEJANDRO    GARAY                        CO     90007850022
69B57161541257   RONETTA      KING                         PA     51055101615
69B5768824B27B   HOLLY        MIDDLETON                    NE     27027526882
69B58161A7193B   STELLA       DEEDS                        CO     32044981610
69B58342A7B46B   SANDRA       GOMEZ                        NC     90007853420
69B5862A95416B   AMANDA       LOKEY                        OR     90014866209
69B58982A55975   FAVIOLA      JARAMILLO                    CA     90005419820
69B5949317B392   MUNA         AMAN                         VA     81050924931
69B59761572B27   IRENE        ODALEN                       CO     90011937615
69B59929197122   IGNACIA      VIRELAS                      OR     90010609291
69B5B38695416B   JENNIFER     SANTOS                       OR     90012503869
69B5B774497B42   MYRIAM       ARELLANO                     CO     90013967744
69B5B8A4491562   FERNANDO     MARIN                        TX     75085588044
69B6112517B46B   TUWANA       WILLIAMS                     NC     90014371251
69B61383855975   JORGE        MORENO                       CA     90012763838
69B6235383168B   MERCEDES     CRUZ-VILLAR                  KS     22065923538
69B62559155975   DONNA        JOHNSON                      CA     90013955591
69B6336A231476   NAKIA        KNIGHT                       MO     90012533602
69B6418854B27B   FRANK        TAGWERKER                    NE     27091571885
69B64553155975   STEVEN       APHAYVONG                    CA     90014025531
69B6462747193B   CORINA       CARMONA                      CO     32044386274
69B6531115713B   MUHAMMAD     HUSSAIN                      VA     90004363111
69B65515871921   MICHAELA     GRHAM                        CO     90012515158
69B65A59387B31   ROBERTO      MORENO                       AR     90010130593
69B67344272B43   KURT         THOMAS                       CO     90010683442
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 615 of 2350


69B67494472B27   CINTHIA      LUNA                         CO     90010854944
69B6759855B237   TYNESHA      BISHOP                       KY     90010765985
69B67A61897B64   MARIA        VILLARREAL                   NM     90001540618
69B6843228B385   MARQUTIA     RAY                          SC     90011654322
69B68A9A68166B   JEREMY       GARTON                       MO     90013980906
69B69151787B31   WINTFREY     CRAIN                        AR     28090431517
69B69184176B58   BRENDA       ALVAREZ                      CA     90011541841
69B69428972B27   JENNIFER     HILL                         CO     90013434289
69B69627171921   TERRY        DURHAM                       CO     32087816271
69B6977234B27B   JOHN         DAVIS                        NE     90013757723
69B69A9634B588   CLARA        GONZALEZ                     OK     90015010963
69B6BA36A8B168   LORENA       ALEJANDRE                    UT     90006510360
69B71A38872B43   EMMETT       NIELSEN                      CO     90007870388
69B71A49776B54   BRENDA       MERCADO                      CA     90006880497
69B7251527193B   JOHNNY       BRANNER                      CO     90014565152
69B733A912B893   CARLA        SOPPE                        ID     90009143091
69B7348A261964   ARIZDELSY    DIAZ                         CA     90011984802
69B73A18491893   JULIE        BANNISTER                    OK     90009160184
69B73A39638522   TUAN         CHAU                         UT     90012530396
69B7464757B46B   DEMITRICK    WILLIAMSON                   NC     90001566475
69B75A99872B26   VERONICA     DOMINGUEZ                    CO     33053810998
69B76132671921   RODRICK      WYRICK                       CO     90014771326
69B76274A7B46B   CRISTHIAN    SANCHEZ                      NC     90009002740
69B765A768166B   KAYLA        WALKER                       MO     90013405076
69B76674855975   CRYSTAL      HERRERA                      CA     90015176748
69B7688615B241   COURTNEY     BURTON                       KY     68096118861
69B771A757193B   EVANS        RENALDO                      CO     90008591075
69B7735942B27B   ROGER        BURKE                        DC     90010333594
69B78179461964   SHERITA      GREEN                        CA     90014371794
69B78433776B54   JESSICA      SANTOS                       CA     90013504337
69B7949A161936   TIFFANY      ALVAREZ                      CA     46080084901
69B7B174491894   TRISHA       THOMPSON                     OK     21015391744
69B7B391172B29   JOSE         GRANADO                      CO     90003483911
69B7B792672B43   MARIA        LEON-RONQUILLO               CO     33052807926
69B8125715416B   MAURICIO     BAZAN CHAVEZ                 OR     47043382571
69B81359171921   SHARON       MORGAN                       CO     32099633591
69B815A649184B   DELIA        DOMINGUEZ                    OK     90003355064
69B82349161964   MICHELLE     DENISE                       CA     90014023491
69B8235416199B   RICARDO      OCHOA                        CA     90012713541
69B82452976B54   MELITON      BALDERAS                     CA     90013504529
69B8251A68B168   PORFIRIO     AGUILAR                      UT     31062725106
69B8285784B588   ANIBAL       AVILA                        OK     21534028578
69B83229684392   HEATHER      SHAFER                       SC     90003232296
69B8346AA76B54   CARLOS       DELGADO                      CA     90013504600
69B8439578B168   MICHAEL      ENGLAND                      UT     90004623957
69B84472991562   JUAN         RUIZ                         TX     75038874729
69B84881681675   KERMITT      SMITH                        KS     90006788816
69B84A12193735   JASON        MCCLELLAND                   OH     90010120121
69B8539578B168   MICHAEL      ENGLAND                      UT     90004623957
69B85927291592   RAFAEL       GALLEGOS                     TX     75063049272
69B8737A25B235   FIRST        LADY                         KY     90015203702
69B88272A91522   MABEL        TAYLOR                       TX     90011832720
69B8845254B27B   RONALD       PERDUNN                      NE     90010104525
69B89243276B58   MARIA        CALDERON                     CA     90011542432
69B89424872B43   MICHELLE     HAMM                         CO     90003674248
69B89444972B27   RONALD       JENKINS                      CO     90007464449
69B8979A82B27B   ABAYNEH      WOLDE                        VA     90013907908
69B8988925416B   HEATHER      FREITAS                      OR     90010258892
69B89A99972B43   ARELLANO     WALTER                       CO     90010160999
69B8B454961964   FRANCISCO    GUERRERO                     CA     90014514549
69B8B525676B49   GABINO       MOJICA                       CA     90005655256
69B9118657193B   JUAN         ALDAVA                       CO     32000661865
69B91464572B27   MICHAEL      GROSVENOR                    CO     90012174645
69B91699361924   MARIA        SOLIS                        CA     90012036993
69B917A9655981   JANET        NAIL                         CA     90014067096
69B91874471921   JERRICK      JONES                        CO     90000438744
69B92289255975   XINOG        VANG                         CA     90003272892
69B92379972B27   PAULA        DIAZ                         CO     90012183799
69B92418471921   MARTHA       PEREZ                        CO     90012324184
69B9256535416B   LYNN         PALANIUK                     OR     47035875653
69B93277791522   DEMETRIUS    QUINTANA                     TX     90011832777
69B93356172B43   TERRY        CORDOVA                      CO     90007553561
69B9412227193B   GARRICK      TERRELL                      CO     90014401222
69B94774871921   PAT          LUGINBILL                    CO     32058567748
69B9479665B241   RHODESIA     RILEY                        KY     90007977966
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 616 of 2350


69B947A5891592   SUSIE         BRISENO                     NM     75088827058
69B94971291522   YOSIE         BAYASHI                     TX     90007369712
69B956A2455975   ALDA          RANGEL                      CA     90007776024
69B96252197B64   VICTOR        MEDRANO                     CO     90006682521
69B96291191522   NORMA         GALLARDO                    TX     90011832911
69B9668A681675   ASIA          BLUNT                       MO     90011536806
69B96945A3B335   CHRIS         YOUNG                       CO     33077789450
69B9696417B46B   MARY          FERGUSON                    SC     90014409641
69B971A4855975   JULISSA       CARRANZA                    CA     90015071048
69B97591591562   YOCELIN       PEREZ                       TX     90014875915
69B97A8475B271   JAMES         CULVER                      KY     90007370847
69B9837464B27B   CHRIS         BURNS                       NE     27030753746
69B98794191592   MARTA         ARAUJO                      TX     75026497941
69B99167491562   CARLOS        MADRIGAL                    TX     90007861674
69B99384761936   LAZARO        MARROQUIN                   CA     46059893847
69B9978A491592   EMILIA        MAGALLANES                  TX     90002927804
69B99933955975   CHRISTIAN     OROZCO                      CA     90003279339
69B99A48472B26   ANGELA        KENT                        CO     33043890484
69B9B28775416B   ANA           SOFIA                       OR     90013462877
69B9B67A75B235   COURTNEY      ONEAL                       KY     68080206707
69B9B687172B36   JUAN          LEG                         CO     90006436871
69B9B83224B588   LIZ           MOORE                       OK     21576948322
69BB113237193B   JONATHAN      DAWSON                      CO     90000371323
69BB13A645416B   KRISTINA      LEWMAN                      OR     90008193064
69BB1772193737   JAMES         HENIZE                      OH     64561937721
69BB241A54B588   GABRIEL       HERNANDEZ                   OK     90011364105
69BB294437B46B   ROSA          MARTINEZ RICO               NC     90010449443
69BB352AA3B395   DEWAYNE       GILL                        CO     90002105200
69BB3981455975   JUBENAL       GARCIA                      CA     90013529814
69BB4274476B54   YESENIA       ROJERO                      CA     90013482744
69BB4A87676B49   DOLORES       REYES                       CA     90005570876
69BB5323776B54   ROXANNE       COSTELLO                    CA     90013483237
69BB5359A61936   MARIA         LUGO ORTEGA                 CA     90006023590
69BB5923672B43   NANCY         PARTIDE CHAVEZ              CO     33051999236
69BB5A87676B49   DOLORES       REYES                       CA     90005570876
69BB631748B168   RAE           SCHROEDER                   UT     90003753174
69BB6323776B54   ROXANNE       COSTELLO                    CA     90013483237
69BB674815B235   ZELMA         PRICE                       KY     90012447481
69BB6A7A176B49   CHRISTIAN     YOUNG                       CA     90009800701
69BB7341851555   JORGE         MUNOZ                       IA     90015493418
69BB792A391352   ABDIAS        GARCIA                      KS     29086339203
69BB867A172B26   ABRAHAM       REYES                       CO     33094356701
69BB893894B588   LESLIE        LOFTON                      OK     90013479389
69BB89A3A91592   OSWALDO       ALVAREZ                     TX     90013599030
69BB9251876B49   OLIBERTHA     HERNANDEZ                   CA     90011552518
69BB941267193B   ABRAHAM       AVILA                       CO     32049264126
69BB9718A55975   SHAYANN       MAGEE                       CA     90013277180
69BB9723872B36   GABRIEL       NEWTON                      CO     90003157238
69BBB46677B698   LELA          JONES                       GA     90015234667
69BBB59442B27B   VELMA         ADBIADAYAH                  DC     90014625944
69BBB651497127   LEAH          READE                       OR     90010566514
6B111162885821   INGRID        REYES                       CA     90000891628
6B111195742335   PAYGO         IVR ACTIVATION              TN     90013211957
6B111724272B43   CHRIS         JOHNSOM                     CO     90014187242
6B11211577B46B   MICHAEL       SPEARMAN                    NC     90010641157
6B112457355941   ANTHONY       ROCHA                       CA     90014754573
6B112474572B43   MARITZA       CASILLAS                    CO     90010624745
6B1124A6551342   LASHONDA      CHILDS                      OH     66054054065
6B11256475B235   BRYAN         HEFTY                       KY     90007625647
6B1126A6A5B39B   CHRISTOPHER   GOLSAN                      OR     90000316060
6B112A35372B29   JOHN          WAKEFIELD                   CO     90009460353
6B113146655975   NATALIE       GUTIERREZ                   CA     90012311466
6B113256672B29   LYNN          REDDELL                     CO     33035422566
6B11337455B39B   SULAIMAN      ZAINEL                      OR     44552423745
6B11424942B922   CHRISTINA     SELVIDGE                    CA     90009882494
6B114437491894   AMBER         COLEY                       OK     90004204374
6B114638971976   JOHN          BACA                        CO     38016926389
6B114A5A855975   DAVID         ROBERTS                     CA     48006610508
6B114A6948166B   DERON         DREW                        MO     90014890694
6B115536972B36   CHRISTINA     ARCHAMBAULT                 CO     90008385369
6B11595A25594B   GUADALUPE     ALVARES                     CA     90011299502
6B115997872B29   CLIFFORD      VANN AYTCH                  CO     90010099978
6B116237572482   JASON         GIBBS                       PA     90007882375
6B116538A5594B   MIGUEL        MAGALLANES                  CA     90000485380
6B116688172B27   SANDRA        GARCIA                      CO     33071416881
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 617 of 2350


6B116867972482   LILLIAN         MORRIS                    PA     90012598679
6B117288285821   TYLER           AMSTRONG                  CA     90011502882
6B117354772B29   KELLY           TAYLOR                    CO     33041043547
6B117538A5594B   MIGUEL          MAGALLANES                CA     90000485380
6B1177A4833698   RAMONA          JONES                     NC     90006457048
6B117A5138B334   NEDRA           HINES                     SC     90014450513
6B118292A5B392   DIANE           LEHR                      OR     44580572920
6B11862988B133   JESSICA         GEBO                      UT     31024576298
6B11873787B46B   WALTER          HERRON                    NC     90003067378
6B118914A3168B   NATISHA         PHILLIPS                  KS     90013319140
6B11894784B588   HECTOR          MANUEL                    OK     90008039478
6B11942628B168   EZEQUIEL        AMAYA                     UT     90015064262
6B119477233692   HEAVEN          GRAVES                    NC     90004404772
6B11962985B531   DESIREE         GARCIA                    NM     90004136298
6B119739851342   PAUL            MILLER                    OH     66019717398
6B11974695B39B   MICHELLE        SUMMERS                   OR     90014877469
6B11976A38B334   TYECE           BROWN                     SC     90007957603
6B119968A54128   DIXIE           HYDE                      OR     90015219680
6B11BA51372B36   JEREMIAH        MONDRAGON                 CO     90010290513
6B12114A77B449   JERI            SIMMONS                   NC     90005071407
6B12119398B168   DAWN M          CAMPO                     UT     90015071939
6B12119AA61936   MICHELLE        DUARTE                    CA     90014031900
6B121286961979   SARA            JOHNSON                   CA     90000182869
6B12136875594B   DESI            JOREN                     CA     90012303687
6B12165525B531   ANGELA          AGUILAR                   NM     36052466552
6B121724157538   VICTOR          DURAN                     NM     90011617241
6B122132572B27   DECHELLE        BROWN                     CO     90013231325
6B122144961979   DOUGLAS         HILLIS                    CA     90013951449
6B12217675B235   JENNIFER        GAGEL                     KY     90005431767
6B122211655941   VENEDIXA        RAMIREZ                   CA     49062142116
6B12259877B334   GUADALUPE       MEJIA                     VA     90009635987
6B1228A8761964   CARLA LIZETTE   LOZANO                    CA     90013248087
6B123181472B43   EDWIN           ESPARZA                   CO     90013731814
6B12321825594B   PAUL            FIERRO                    CA     90011332182
6B123269933698   KEVIN DANE      LDER                      NC     90009572699
6B12346A754128   KATIE           FRAZIER                   OR     47067114607
6B123489261979   SHARON          SANDUSKY                  CA     46033134892
6B12348A851354   CARLOS          BALDWIN                   OH     66006824808
6B123992161964   MARCOSA         QUIROZ                    CA     46017849921
6B123A18255941   CONSUELO        GIRA                      CA     90009310182
6B124147451354   NICOLE          FRANK                     KY     90013551474
6B124315531453   BENJAMINE       SCHULER                   MO     90012823155
6B125144957538   VIRGINIA        GALLEGOS                  NM     90009791449
6B125271A91975   RUBEN           RAMOS                     NC     17071532710
6B12531845B531   SILVIA          MEMBRENO                  NM     90003593184
6B12535288166B   DEMETRIUS       WILSON                    MO     90010883528
6B125815191885   LEONARD         MARSHALL                  OK     90014588151
6B125864931453   MELENDRES       DIAZ                      MO     90014938649
6B126312233698   ALEXUS          RICHARDSON                NC     90009593122
6B12639548B169   ADRIAN          FIGUEROA                  UT     90000033954
6B126475A72B43   KOSTYANTYN      BORULKO                   CO     90014454750
6B127215A72B29   NED             MONTOYA                   CO     90013152150
6B127279172482   RANDY           SWEITZER                  PA     51093712791
6B127497172B36   LUIS            PINERA                    CO     33073794971
6B12758195416B   KRISTINA        SHIRLEY                   OR     90010445819
6B12797664B588   NICOLE          MOORE                     OK     90012409766
6B1281A6585821   DEZARAY         RANKIN                    CA     90013561065
6B128477172B43   PATRICIA        GUITIERREZ                CO     33050134771
6B12866A13168B   CARRIE          HAMMOND                   KS     22091646601
6B128762655973   EPIFANIO        SANCHEZ                   CA     90012797626
6B128884A55975   OSCAR           VARGAS                    CA     90014978840
6B12913968B168   WEMBI           LINA                      UT     90012781396
6B129162761979   ANA             ALCARAZ                   CA     90012691627
6B12917975B235   PATRICK         WEBSTER                   KY     90010861797
6B129585491592   DE LA ROSA      SANDRA                    TX     90008525854
6B12974695B39B   MICHELLE        SUMMERS                   OR     90014877469
6B12989438B133   NANCY           NELSON                    UT     90014178943
6B129979524B4B   MICHAEL         BLAND                     DC     90007999795
6B129A17384392   NUBIA           CORTES                    SC     90003230173
6B12B264672482   DIANA           MORSE                     PA     90013982646
6B12B528755975   NOE             MENDOZA-LOPEZ             CA     90010935287
6B12BA79531453   TERRY           BAUMANN                   MO     27593220795
6B12BAA1854128   GINA            STERLING                  OR     90003850018
6B131133755941   DIANA           VARGAS                    CA     90009311337
6B131154651354   KEYONTAE        JOHNSON                   OH     90011851546
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 618 of 2350


6B131556855973   BRYAN         SWEENEY                     CA     90011395568
6B131577A33698   KENNY         MOORE                       NC     90015155770
6B131751557538   BRINDA        LYDICK                      NM     90004657515
6B13192145B531   ROSA          QUINTANA                    NM     90013609214
6B13269AA8B168   ALYSSA        DIXON                       UT     90004566900
6B13277482B962   FIDENCIO      ZARAGOZA                    CA     90006417748
6B13295155416B   LAMAURE       REYNOLDS                    OR     47028179515
6B13299A25594B   MARIA         SANDOVAL                    CA     48056169902
6B133446751354   ADA           MILLER                      OH     90012884467
6B1337A618B133   JOSE          GAMA                        UT     90009577061
6B133836272B29   LUIS          CRUZ                        CO     90007788362
6B1339A928B169   CHRISTINE     GUSTIN                      UT     90007119092
6B1341A8291592   ROBERTO       ROMERO                      TX     90010381082
6B134311563646   CHRISTOPHER   BECK                        MO     90012903115
6B134384655975   JESUS         GUTIERREZ                   CA     90002943846
6B13486545B39B   PEDRO         DIAZ GUZMAN                 OR     90013058654
6B134A4178B168   DESTINY       SIMMONS                     UT     90012930417
6B134A6658B334   ASHLEE        WILLIAMS                    GA     90013680665
6B13522812B27B   CRYSTAL       KITT                        DC     90014662281
6B135283763646   ADAM          KANE                        MO     90014812837
6B1352A9655973   RIGOBERTO     MARTINEZ                    CA     90009562096
6B135392763646   ROBERT        ARECHEDERRA                 MO     90012343927
6B13548885416B   DARLA         KANE                        OR     90014084888
6B135498357538   GERALD        BECK                        NM     90000754983
6B13553698B334   HECTOR        CAMPOS                      SC     90014935369
6B135728361936   BRYAN         BAUTISTA                    CA     90002797283
6B135811263646   CHRISTINA     KENNEDY                     MO     90012458112
6B135879463646   ADAM          KANE                        MO     90013848794
6B13591945594B   LUIS          RODRIGUEZ                   CA     90014169194
6B135966272B46   ANNAKAY       BENZOR                      CO     90007849662
6B135A31191885   MARIA         JAIMES                      OK     90011930311
6B136215572B27   JOSE          TOVAR ALONSO                CO     33077382155
6B1364A2947996   LORENAS       PORTILLO                    AR     90009454029
6B136636657538   BARBARAR      CARBAJAL                    NM     90014566366
6B13684A371976   MARGARITA     GARCIA                      CO     90013488403
6B136953772482   BRITTANY      SHAW                        PA     90002619537
6B137366655941   REINA         SALDANO                     CA     90005343666
6B13752215B271   CHRISTIAN     GARRETT                     KY     90013225221
6B137566855973   ASCENCION     GARCIA                      CA     90014175668
6B137877372B27   KEVIN         WALLS                       CO     33094068773
6B13798524B588   FIONA         SHELTON                     OK     90013959852
6B138193141262   EDWARD        JOHNSON                     PA     51089771931
6B138197354128   JOHN          ETZEL                       OR     90014951973
6B138248891265   DAVID         HOLCOMBE                    GA     90011512488
6B13869582B893   GABRIEL       LOPEZ                       ID     90009466958
6B138959591362   BRENT         BETTIS                      KS     90011379595
6B138A79851354   KELLY         DAVIS                       OH     66094090798
6B139143654128   AUBREY E      MEYER                       OR     90013631436
6B13927875594B   AGUSTIN       SOSA                        CA     90012742787
6B139339191525   JO ANNE       GOMEZ                       TX     75085263391
6B1395A9271976   RYAN          SNYDER                      CO     90009335092
6B139656161964   DONNA         HERNANDEZ                   CA     90010116561
6B13B165955973   ANGEL         CRUZ                        CA     90012561659
6B13B18A255941   EVA           DE LA CRUZ                  CA     49081761802
6B13B22648166B   SHERRIE       SCOTT                       MO     90008472264
6B13B234955973   SELENIA       SAUCEDO                     CA     90013972349
6B13B47778B168   GRACI         VLAANDEREN                  UT     90011384777
6B13B574785821   ESTELA        AGUILAR                     CA     90007595747
6B13B76592B224   KELVIN        WHEELER                     DC     90001547659
6B13B78AA91894   MARTHA        LOPZE                       OK     90011667800
6B141291672482   NICHOLAS      MCGUIRE                     PA     51075592916
6B14153362B227   ROCHELLE      CURLEY                      DC     90014425336
6B141843871976   RAY           ALCON                       CO     38080328438
6B1419A1161936   ERIC          ARMENTROUT                  CA     46080849011
6B142316555975   CLARA         CISNEROS                    CA     90003923165
6B142561933698   MELVIN        ALEXANDER                   NC     90007915619
6B143283563646   CASSANDRA     YEARY                       MO     27507642835
6B14342864B27B   ASHLEY        RUDE                        NE     90012394286
6B143442461964   GLORIA        SANTIAGO                    CA     46013214424
6B143621991943   THEO          HANSARD                     NC     90006666219
6B1436A8954128   JARED         ROTH                        OR     90010646089
6B143A12861979   JORGE         GARCIA                      CA     90014960128
6B144229A4B588   CLARIXA       CRUZ                        OK     90013752290
6B14425615B271   CHANNELLE     ELLERY                      KY     90011362561
6B144289891592   JULIAN        MARQUEZ                     TX     90015132898
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 619 of 2350


6B14435615B39B   SALVADOR          PINEDA                  OR     44534573561
6B144523672B43   DANIELLE          GALLEGOS                CO     33002455236
6B144724A7B493   ALLEN             IVERSON                 NC     11083987240
6B145123433698   AMY               TYLER                   NC     90011861234
6B145762263646   TRACI             WILLIAMS                MO     90000377622
6B14633A341292   SHAWNAYA          PATTERSON               PA     90014203303
6B14644A35B531   JENNIFER          MARTINEZ                NM     90015214403
6B14677885B39B   LLOYD             JONES                   OR     90013487788
6B146867631453   LATESA            MOORE                   MO     90010478676
6B1469A9872B27   ANTHONY           DURAN                   CO     33085109098
6B146A1A461936   MARIA CHRISTINA   CARDOSO                 CA     90010210104
6B14714324B588   JENNIFER          SMYTH                   OK     90013481432
6B147825A61966   ESTEBAN           GALLARDO                CA     90011578250
6B14795788B169   PANTALEON         CANDELARIA              UT     90001329578
6B14876A633698   REWATI            MISHRA                  NC     90013127606
6B148A59863646   DAVID             RACKFELLER              MO     90015580598
6B149374831453   CALLISTUS         NWAMBA                  MO     27573003748
6B14944987B46B   VICTORIA          BROWN                   NC     90013314498
6B14962695B235   CHARLES           DRURY                   KY     90012756269
6B149AA1255973   OLIVIA            CARRILLO                CA     90015240012
6B15134188B168   ALISHA            ROGERS                  UT     90010333418
6B151361754128   ADAM              CLARK                   OR     90004213617
6B15136655594B   CUAUHTEMOC        SANCHEZ                 CA     90005683665
6B1514AA43168B   CHRISTINA         KARANJA                 KS     90013074004
6B15175A361936   JESSICA           HAMM                    CA     46019707503
6B15176298B133   VICTOR            BAHENA                  UT     90011497629
6B151882597B64   HALLDIS           KELLY                   CO     90002148825
6B152117847996   CONSUELO          MARTINEZ                AR     90011651178
6B15242A655941   SOLEDAD           TORREZ                  CA     90013924206
6B15249AA91894   JONATHON          HOLLAND                 OK     90013054900
6B1524A545B531   JOSUE             DUARTE                  NM     90012244054
6B152874155975   MARIA             MUNOZ                   CA     48008138741
6B15347732B27B   LAWRENCE          JOHNSON                 DC     90015254773
6B15352185B531   MARLENY           BAMACK-GARCIA           NM     90015175218
6B15357148B334   TY                CUYLER                  SC     90014965714
6B153913533698   SONYA             JOHNSON                 NC     90014499135
6B1541AA647996   ALEJANDRA         AVALOS                  AR     90006481006
6B154244797B64   KEVIN             RIES                    CO     90007152447
6B154848425337   CHAD              SUMNER                  WA     90015408484
6B15513527B475   JOHN              RAINER                  NC     90014691352
6B155144A72B29   COOKIE            WEAVER                  CO     33085311440
6B155188961979   MARTHA            RAMIREZ                 CA     90013951889
6B155459433698   ROMI              WHITE                   NC     90013434594
6B155596A63646   DARNELL           MOORE                   MO     90014895960
6B156386672B29   ESTHER            CABRERA                 CO     90001173866
6B1565A675594B   CRISTAL           GARCIA                  CA     90013925067
6B1568A8357538   MARINA            LARA                    NM     90011868083
6B156989885821   JERIEL            WALLER                  CA     90011949898
6B157162941229   KEVIN             WESTFALL                PA     90002301629
6B15751375594B   JOSE              RUIZ                    CA     90013925137
6B157592172482   ANNA              GLEINN                  PA     90007765921
6B15759735416B   CHEROKEE          HEADY                   OR     90007945973
6B15769A255975   YESENIA           ASTORGA                 CA     48006776902
6B157779471976   STACY             SMITH                   CO     90013367794
6B1579A167B46B   JOSE              ANTONIO                 NC     11063399016
6B1579A8272B27   NANCY JO          GONZALES                CO     33050859082
6B158196455975   SINAHI            CHAVEZ                  CA     90013631964
6B158323A4B588   RICARDO           RODARTE                 OK     90015143230
6B15858185B53B   RAFAEL            GONZALES                NM     90015585818
6B158822A5B271   CLINT             JEFFERSON               KY     90014878220
6B1588A688B133   CHRISTOPHER       POLLOCK                 UT     90006788068
6B158935291592   NORMA             GONZALES                TX     90012379352
6B15918513168B   KELLY             ODONNELL                KS     22080721851
6B15933A972B36   OJHAGI            CRUTCHER                CO     90015203309
6B15952975594B   JOSE              RUIZ                    CA     90013925297
6B159A74963646   ARES              NOLAN                   MO     90014800749
6B15B167161979   CLEMENTE          GOMEZ                   CA     90013951671
6B15B244784392   DANA              SMITH                   SC     19055832447
6B15B382455975   MARIA             ROJAS                   CA     48042783824
6B15B44885B39B   MERRI ANN         MOORE                   OR     90014164488
6B15B532751354   PAUL              HUESING                 OH     90012295327
6B16112865B39B   ALMA              ROBLES                  OR     90011441286
6B161262155975   JOHN              HANDFORD                CA     90012442621
6B161373A72B36   JOSE              MARQUEZ                 CO     33040593730
6B161566A8B168   AUJALEE           SPENCER                 UT     90012955660
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 620 of 2350


6B161593151354   IESYAH        JOHNSON                     OH     90012995931
6B16172A272482   JOSEPH        DESABETINO                  PA     51014127202
6B161A16297B64   VERONICA      ACEVIZ                      CO     90007890162
6B161AA548B133   JAMI          BENNETT                     UT     90013950054
6B16227295B392   RUBEN         GARZA                       OR     44504812729
6B16241465B271   TYRONE        PATTERSON                   KY     90013934146
6B16253995B53B   ARMELIA       CHAVEZ                      NM     35064695399
6B162559181644   MARTINELLA    COODY                       MO     29001405591
6B162599571989   HOWARD        GIBSON                      CO     32003485995
6B162667471976   ANGEL         ZALDIVAR-ORTEGA             CO     90012856674
6B16338684B588   JOSEPH        MCCULLY                     OK     90010953868
6B163463971976   BRIANNA       HOLDERNESS                  CO     90013694639
6B163656657135   GERMAN        REYES                       VA     90003416566
6B16376A833698   CAROLYN       GOODWIN                     NC     90009247608
6B16393315B531   BERTHA        MEDINA                      NM     36032039331
6B16396545B271   KENISHA       HARDEN                      KY     90011929654
6B163AA548B133   JAMI          BENNETT                     UT     90013950054
6B16425394B588   FRANCISCO     ELIAS                       OK     90008192539
6B16446A785821   JESUS         AGUILAR                     CA     90012354607
6B164661131453   JENNIFER      COLOMBO                     MO     90014946611
6B16488A472482   CHRISTOPHER   SOFALY                      PA     90003568804
6B164A25955975   MARIA         LEMUS                       CA     48017510259
6B165183A7B46B   HECTOR        SEGOVIA                     NC     90014911830
6B16526395B235   JACKSON       HALL                        KY     90014082639
6B16547A472B36   VANESSA       LENNON                      CO     33049814704
6B165727161979   ANTHONY       MONDELLO                    CA     90002627271
6B165889151354   CATRESE       JORDAN                      OH     66008768891
6B16593315B531   BERTHA        MEDINA                      NM     36032039331
6B166158891894   CHRIS         GIBEAU                      OK     90012291588
6B166497455975   ARMANDO       HERRERA                     CA     90008584974
6B16653245416B   SCOTT         BOETTCHER                   OR     90014815324
6B166982361964   ANDY          CORCOVELOS                  CA     46023119823
6B167339A72B27   STEPHANIE     KIDD                        CO     33013313390
6B167448585821   KYLE          HOLYSOP                     CA     90010454485
6B167558151354   CARL          CHARLES                     OH     66028295581
6B16764758B133   DANIEL        HERNANDEZ                   UT     31067626475
6B16765265594B   MIGUELANGE    HURTADO RIVERA              CA     90012116526
6B167775672B29   SARAH         LOTRIDGE                    CO     90012587756
6B16785484B588   MICHAEL       HAYNIE                      OK     90013858548
6B168135172B43   LUIS          GONZALEZ                    CO     90014931351
6B16837788166B   TAMIKA        PENRICE                     MO     90009733778
6B16842425B531   NATALIE       TORADO                      NM     90004054242
6B168529872B36   ALICIA        SANDOVAL                    CO     33057915298
6B169365472B27   LILIA         RODRIGUEZ                   CO     90006903654
6B16974695B39B   MICHELLE      SUMMERS                     OR     90014877469
6B169769551342   PATRICE       DAWSON                      OH     66001987695
6B16979998B334   JOSE          SIMENTAL                    SC     14533747999
6B169845131453   CHRISTOPHER   AMADOR                      MO     90002658451
6B169A3425416B   TAMARA        SMITH                       OR     90013600342
6B16B17A391894   TERRELL       JACKSON                     OK     90014711703
6B16B43924B588   CELIA         CENICEROS LERMA             OK     90014154392
6B16B489791894   TERRELL       JACKSON                     OK     90010874897
6B16B635754128   NATHAN        BROWN                       OR     47004566357
6B16B7AAA55973   NORMA         PEREZ                       CA     90014107000
6B16B92845B271   DESHAUN       BELL                        KY     90014739284
6B171116961936   SERENA        HENDERSON                   CA     90001501169
6B17135175B235   KARLA         BRIGHTWELL                  KY     90013043517
6B171386977563   LANCE         JENSEN                      NV     90000843869
6B17162422B27B   RICHARD       RICHARDSON                  DC     90012836242
6B1722AA161979   MARIA         SALAS                       CA     90013952001
6B172773672B36   MANUEL        ESTALA                      CO     33096717736
6B172851A55973   JULIO         RODRIGUEZ                   CA     90008798510
6B173128A61964   ERNEST        HERNANDEZ                   CA     90013071280
6B1732AA561979   GIZELE        LEAL                        CA     90013952005
6B173398391894   JOSHUA        MATHEWS                     OK     90015323983
6B173544463646   CHRISTINE     LEO                         MO     90013435444
6B17416A75B344   PAT           VANVOORHIS                  OR     90005121607
6B174452572B27   DELMI         ORTIZ                       CO     90000684525
6B17456A95594B   JESUS         DURANTES                    CA     90013925609
6B174655491894   SASHA         MESSERSCHMIDT               OK     90009176554
6B174819955941   BILL          FOSTER                      CA     49021558199
6B174A73772482   KIMBERLY      GARNER                      PA     51015990737
6B175122671976   BRIAN         JOHNSON                     CO     90012001226
6B175172172B36   ALEJANDRO     ACOSTA                      CO     33007111721
6B175356851354   DAVID         STEWART                     OH     90014093568
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 621 of 2350


6B1757A9472B27   ARELY          ANAYA                      CO     90014097094
6B17645A35B39B   JACOB          MCGHEE                     OR     90015314503
6B176749357538   LEE            SMITH                      NM     90005017493
6B176842355941   ADRIAN         CERDA                      CA     90014558423
6B176A57491592   NORMA IVONNE   KENERSON                   TX     90011110574
6B17714778166B   CODY           MIKE                       MO     29039891477
6B177328772B36   JOSIAH         COFFEY                     CO     90014623287
6B177354A8166B   ROSALYN        ARRINGTON                  MO     90013073540
6B177656961979   PUA            YANG                       CA     46005266569
6B17769984B588   CARLA          JAMES                      OK     90009726998
6B177A86455941   AURELIA        SANCHEZ                    CA     90002360864
6B17879868B133   JORDAN         STEVEN K                   UT     90009447986
6B178A76855975   TONI           PENNINGTON                 CA     90004620768
6B178A88A97B64   ANNA           VELASQUEZ                  CO     90004970880
6B179366155975   VANESSA        CERVANTES                  CA     90015013661
6B179382255973   JENNIFER       BREONIS                    CA     90008453822
6B17978528166B   CLARISSA       GILMORE                    MO     29073027852
6B179A5577B46B   GILDER         VASQUEZ                    NC     90006910557
6B17B226624B4B   NATHANIAL      DENEAL                     DC     90013912266
6B17B292991894   JOHN           CARTER                     OK     90013672929
6B17B789755973   PATRICIA       BLAS                       CA     48083467897
6B181219A97B64   BREE           ROMERO                     CO     90008742190
6B181264177538   MARLO          CHAMBERLAIN                NV     43063042641
6B1813A3672B43   LA FUNN        NIXON                      CO     90014823036
6B181445761979   JAMES          PERDUE                     CA     46084994457
6B1817AA15B392   AMELIA         ESPINOZA                   OR     44527857001
6B181821A5594B   DAVID          BEASLEY                    CA     90005708210
6B182243355973   LUIS           MONTES                     CA     90013282433
6B182373872B36   RYAN           BRODSKY                    CO     90013383738
6B182632272B29   ALEXANDER      HAYES                      CO     90014306322
6B18276414B588   LUBESA         ISKANDAROVA                OK     90011387641
6B182A77A71976   APRIL          BARELA                     CO     90001330770
6B1835A7257538   ANAMARIA       AGUILERA                   NM     90007075072
6B184356955973   BENITO         CEBALLOS                   CA     90013183569
6B18438276B238   KEVIN          BELL                       AZ     90014783827
6B1856A9891894   TONIA          LANDRY                     OK     90013706098
6B185867257538   THOMAS         SAUNDERS                   NM     90003818672
6B185A8985B39B   MARIA          GARCIA                     OR     90009100898
6B186383861936   PATRICIA       REAL                       CA     90009923838
6B186987191894   PATRICIA       SEWARD                     OK     90015159871
6B187159A3168B   AARON          PEARSON                    KS     90013791590
6B18725888B133   B STARR        GONZALES                   UT     90005312588
6B187295972B29   ESTRELLA       JARAMILLO                  CO     90011882959
6B1875A674B299   SARA           CZAPLEWSKI                 NE     90006645067
6B18773918166B   SPENCER        JOHNSON                    KS     90006447391
6B187793A5594B   ADRIANA        RAMIREZ                    CA     90015127930
6B18845A172B29   FLAVIO         ORTIZ                      CO     33034654501
6B18868723168B   RONALD         FLORES                     KS     90013866872
6B188797A91535   NANCY          NUNEZ                      TX     90000807970
6B188878A57538   MICHAEL        GOMEZ                      NM     90014138780
6B1889A118B133   JAMES          PEASNALL                   UT     90014599011
6B189257272482   TREVON         REED                       PA     90013692572
6B189279A71976   ELISABETH      LUCERO                     CO     90011682790
6B189295972B29   ESTRELLA       JARAMILLO                  CO     90011882959
6B189851554128   JOHNATHAN      HOPE                       OR     90010248515
6B18B321272482   DEBBIE         MCCRACKEN                  PA     90014323212
6B18B33625B235   RYAN           LEWIS                      KY     90009423362
6B18B63365B39B   BETHANY        MENA                       OR     90001846336
6B18B68734B588   MIRANDA        LEE                        OK     90010466873
6B18B69A355941   ISAMAR         VASQUEZ                    CA     90014166903
6B18B73198166B   TIERA          HUNTER                     KS     29044137319
6B18BA88555975   ADAM           SHIELDS                    CA     90006660885
6B191169161964   SOFIA          SANTIAGO                   CA     90009721691
6B1916A2555975   JULIAN         ARELLANO                   CA     90008736025
6B19173345416B   GENNI          DEMARIS                    OR     90015097334
6B19197A23168B   RICKY          WINDER                     KS     90012999702
6B191A3962B886   JANET          HARRIS                     ID     42011830396
6B19225A361979   DAN            ROY                        CA     90013952503
6B192282A5B531   SILVIA         GARCIA                     NM     90011332820
6B19235238166B   RONNIE         VAUGH                      MO     90009463523
6B19261392B27B   DERRICK        CARMICHAEL                 DC     90012456139
6B192A47391592   MIGUEL         CORRAL                     TX     90009130473
6B193342191592   MARIA          MEDINA                     TX     75092333421
6B193398357538   VERONICA       GALLEGOS                   NM     35522493983
6B193447754128   MELISSA        HOPKINS                    OR     47098234477
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 622 of 2350


6B193697191894   HEATHER      JONES                        OK     90010176971
6B19378355416B   ROBIN        ROBERTS                      OR     90013157835
6B19437788166B   TAMIKA       PENRICE                      MO     90009733778
6B19458868B133   KRYSTAL      MEENDERINK                   UT     31025475886
6B194599572B36   THELMA       HESTER                       CO     90007775995
6B194798772B29   EBONEY       BROWN                        CO     90015057987
6B1947A235B344   RANALD       KALISZWESK                   OR     44530047023
6B19544A67B46B   YOLANDA      ESPINAL                      NC     90013334406
6B19545655594B   JOHN         PADILLA                      CA     90015264565
6B19557718B133   LAVINA M     KENITZKI                     UT     90009685771
6B19566885B221   RYAN         BALL                         KY     90012286688
6B195842555973   PAUL A       MARTINEZ                     CA     90001208425
6B196179255978   JUAN         SERVIN                       CA     48002711792
6B19625115B271   CHARMAINA    JOHNSON                      KY     90003752511
6B19662848166B   ISAAC        PEREZ                        MO     90014936284
6B1968A5661979   RENE         MONTANO                      CA     90015128056
6B196A44991999   VANESSA      MOONILAL                     NC     17029500449
6B1976A2661936   JOSEBIT      MOLINA                       CA     46032026026
6B1977A115594B   ADELA        GONZALEZ                     CA     90000547011
6B197A7655B39B   JOSE         ZAMORA                       OR     44504510765
6B19847655B271   EBONY        DENNIS                       KY     90015194765
6B198551961964   MANUEL       CORONADO                     CA     90015105519
6B198632161966   GIULIANO     DIFERRETTI                   CA     46044196321
6B198728663646   SCOTT        ARNOLD                       MO     90011577286
6B199276686593   BRI          RAYDA                        TN     90015462766
6B19932A485821   BRANDON      PEROVICH                     CA     90013023204
6B19B279A71976   ELISABETH    LUCERO                       CO     90011682790
6B19B89562B27B   ROBERT       DOBSON                       DC     90006098956
6B19B98318B168   MIKEY        CID                          UT     31004369831
6B1B1691272B36   JEROLD       HAYWARD                      CO     90009136912
6B1B1846A61964   CARLOS       NORIEGA                      CA     90010708460
6B1B185927B46B   ALEX         MARTINEZ                     NC     90014728592
6B1B188385B39B   EDITH        CONTRERAS                    OR     90013738838
6B1B1923672B29   ILENE        LITTLEJOHN                   CO     90010469236
6B1B2112257538   STEPHANIE    TRUJILLO                     NM     35598671122
6B1B247A161964   THERESA      GAMEZ                        CA     46005904701
6B1B2578161979   JESSICA      GUTIERREZ                    CA     46002115781
6B1B3158172482   SHERIE       BUTKO                        PA     90013261581
6B1B3198954128   JASON        WEIS                         OR     47037371989
6B1B345A691592   LAURA        LICON                        TX     90003074506
6B1B381367B46B   JOAN         SPRINGS                      NC     11012178136
6B1B3862A76B71   JOSE         ADAME                        CA     46016978620
6B1B3A25461979   TERESA       LOPEZ                        CA     90013260254
6B1B3A8A54B291   JESSICA      COSTA                        NE     90006720805
6B1B4114455973   CHRISTOPHE   MAESTAS JR                   CA     48001161144
6B1B4247561979   EDWIN        LOPEZ                        CA     46050382475
6B1B4366455975   CAMELLA      GONSALES                     CA     90013003664
6B1B467485416B   CATHY        SANCHEZ                      OR     47030816748
6B1B4828A91894   LUZ          AGUILAR                      OK     90002678280
6B1B5278261979   YROYUKI      SANDOVAL                     CA     90015202782
6B1B532488B133   CLAUDIA      HARO                         UT     90010633248
6B1B5552561936   MARGARITA    ZAVALA                       CA     90014475525
6B1B5824A72B29   HAROLD       JACCOBS                      CO     90013988240
6B1B6446351354   JAMES        PAGGETT                      OH     90014824463
6B1B6685463646   JEFF         STEWART                      MO     90015346854
6B1B6715191592   VANESSA      RAMIREZ                      TX     75097217151
6B1B75A765B392   GALDINA      ORDUNA ALONSO                OR     44523845076
6B1B7792855941   JUVENAL      GOMEZ                        CA     90012897928
6B1B77A6955973   ANGELICA     MARTINEZ                     CA     90010967069
6B1B795265B531   KARINA       PEREZ                        NM     36062059526
6B1B7A6658B334   ASHLEE       WILLIAMS                     GA     90013680665
6B1B811958166B   TERRA        SPAULDING                    MO     90014741195
6B1B8498357538   GERALD       BECK                         NM     90000754983
6B1B8667A4B588   CAROLYN      MOULTRIE-CHEESEMAN           OK     90010686670
6B1B888A597B64   JERRI        LITTELL                      CO     90005778805
6B1B8993A81644   CASSANDRA    ROLLIE                       MO     90014799930
6B1B8A1198B133   RON          YERAGE                       UT     31005210119
6B1B8A61472B29   FRANK        CISNEROS                     CO     90012770614
6B1B8A84681644   LYNN         DEBLANCHE                    MO     90014860846
6B1B9122133698   FRARCISCO    POCNECO                      NC     90014041221
6B1B9271855973   DANIEL       CERVANTEZ                    CA     90011322718
6B1B953238B133   WHITNEY      DICKAMORE                    UT     90009705323
6B1B993633168B   DANIEL       MAXTED                       KS     22091459363
6B1B9A72371976   EUGENIA      ARZATE                       CO     90010490723
6B1B9A96255973   BRITTANY     MORI                         CA     90014780962
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 623 of 2350


6B1BB1A775416B   NICHOLAS     HUTH                         OR     90010871077
6B1BB23852B27B   DAVID        THOMAS                       DC     90009812385
6B1BB48A985821   BRAULIA      ALVAREZ                      CA     90004994809
6B1BB52A67B46B   MANUEL       HENRIQUEZ                    NC     90013785206
6B1BB7A6A85986   LAURA        MOSES                        KY     90001047060
6B1BB856181644   DOROTHY      BAILEY                       MO     90011528561
6B1BBAA419193B   CHRISTOPHE   NEWFOR                       NC     90006780041
6B211162A2B238   KEVIN        ESPINOSA                     DC     90006591620
6B21129A18B137   BONNIE       JARVIS                       UT     90009532901
6B211588485821   JAYSHA       MARTINEZ                     CA     46098555884
6B21181682B27B   XIOMARA      ZELAYA                       DC     90015178168
6B211869A72B29   STEVEN       WEIBEL                       CO     33089328690
6B211878A4B588   ANGELINE     SMITH                        OK     90013148780
6B211952841262   KEESHA       COLEMAN                      PA     90002579528
6B211998872B43   MARVIN       BLACK                        CO     90003999988
6B212198A72B29   BENJAMIN     HENSLEY                      CO     90012741980
6B212698572B29   JUANA        JUAREZ                       CO     33031596985
6B2128A8531453   THERESE      AITCH                        MO     90005878085
6B2129A275416B   STEVEN       ELLER                        OR     90012989027
6B212A93A8166B   MONIQUE      JONES                        MO     29011340930
6B213134885821   STACEY       TORPEY                       CA     90014851348
6B21339258B169   JADE         DREW                         UT     31000303925
6B21359A761979   CLARIBEL     CORZA                        CA     90000185907
6B213971385821   JULIIO       GARCIA                       CA     90014619713
6B213AA493167B   VICKIE       MALONEY                      KS     90014660049
6B214246733698   BENNETT      ALEXANDER                    NC     12064632467
6B21439715416B   AMANDA       WARD                         OR     47040613971
6B214784491863   STEPHEN      BORENS                       OK     21025437844
6B2148A9A51345   DOUGLAS      SCHAFFRAN                    OH     90012438090
6B215149191592   VALERIE      GONZALEZ                     TX     75004941491
6B21519778166B   KAYLA        BALDWIN                      MO     29045461977
6B215236472B36   ASA          JENKINS                      CO     33060812364
6B215257661979   JOSE         SANCHEZ                      CA     90015212576
6B215264185821   JOSELLE      GARALDE                      CA     90011552641
6B215415891894   DEBRA        WEEKLEY                      OK     90014074158
6B21549995416B   KAYE         DEBRA                        OR     90014884999
6B21567AA91894   DEBRA        WEEKLEY                      OK     90008886700
6B215A76561964   EFRAIN       SANCHEZ                      CA     90012350765
6B216256461979   SARA         MCCARVILLE                   CA     90013952564
6B21644648B334   NICOLE       SMITH                        SC     90010194464
6B216515572B36   SAVANNAAH    BELEARDE                     CO     90015095155
6B216549684392   JOSE         HERNANDEZ                    SC     90001325496
6B21675845594B   ESMERALDA    CASTILLO                     CA     90010497584
6B216895155973   MANUEL       CASAS                        CA     90013028951
6B21727132B27B   TENIA        ASKEW                        DC     81037382713
6B21728294B588   NANCY        HERNANDEZ                    OK     90015152829
6B217346A6155B   BOBBY        HALL                         TN     90015543460
6B217A7186192B   SONYA        GAMINO GARCIA                CA     90003740718
6B21818562B27B   AREGAO       SAWO                         DC     90015581856
6B218539557538   JOEL         SOLIS                        NM     90013335395
6B21861195B53B   LARRY        SANTILLANES                  NM     90010766119
6B21874A52B27B   AREGAO       SAWO                         DC     90012787405
6B218842A91592   JOSHUA       PADILLA                      TX     90013748420
6B21891282B949   GUADALUPE    GARZA                        CA     45050649128
6B21929365416B   JANNIFER     HALL                         OR     90008902936
6B21936864B588   ELIZABETH    VILLANUEVA                   OK     90009263686
6B2197A675B392   DANA         JARRETT                      OR     44534297067
6B219843755973   BLANCA       SIERRA                       CA     48057478437
6B21B42685B271   PEDRO        LOPEZ                        KY     90013934268
6B21B584255973   SUKHJINDER   SINGH                        CA     90004305842
6B21B62783B347   MICHAEL      KMITA                        CO     33064216278
6B21B79465B39B   TRISTAN      SWEARINGIN                   OR     44517067946
6B21BA1A84B27B   KORINNA      FORSMAN                      NE     27072510108
6B21BA41A5594B   ANDRES       CANCHOLA                     CA     90008670410
6B22182A24B588   JUNE         MAXWELL                      OK     90012798202
6B221892931453   MARLESHA     BRUCE                        MO     90014958929
6B22243625B271   JAMES        WONDER                       KY     90015194362
6B222613A61936   TERESA       MARQUECHO                    CA     46010266130
6B222644771976   ADAN         VALENTIN                     CO     90001326447
6B22317495416B   SHEILA       HAMMONS                      OR     90002281749
6B22348762B27B   LUCRICIA     PORTER                       DC     90005054876
6B223549761964   VERONICA     GUZMAN                       CA     46066755497
6B22364A897B64   YVETTE       FOTH                         CO     39090846408
6B223A32791975   TANESHA      TOMLAINSON                   NC     90008730327
6B223A84491592   ALFONSO      RODRIGUEZ                    TX     75092490844
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 624 of 2350


6B22426375416B   CESAR        CANALES                      OR     90010732637
6B22429955416B   MELISSA      STEPHENSON                   OR     90012052995
6B2248A7371976   JOSEFINA     BALDERAS                     CO     90005098073
6B224994154128   APRIL        WATTERS                      OR     47074899941
6B225233591592   DANIEL       THOMAS                       TX     90013182335
6B225A2A28B334   CARMELO      OROPAZ                       SC     90013240202
6B22627715B344   MARY         KING                         OR     44592912771
6B2268A6461936   LUIS         ENRIQUE OBESO                CA     90010548064
6B226948A2B962   AMADOR       CASTILLO                     CA     90011769480
6B22715A772B27   ANGELA       MEDINA                       CO     90014811507
6B22749895B392   DAVID        DUNHAM                       OR     44558274989
6B227629961964   AIOTEST1     DONOTTOUCH                   CA     90015116299
6B22768192B271   SHONDALE     DAY                          DC     90002206819
6B227AA6272B27   ANDREA       VALENZUELA                   CO     33096650062
6B228142187B31   BONNIE       COLEMAN                      AR     28010311421
6B228178672B27   MARIA        DURAN                        CO     33063631786
6B22827738B334   BRIAN        GRAYSON                      SC     90013982773
6B2282AA772B43   DWAINE       VANCLEAVE                    CO     90011852007
6B228551431455   TIARA        DAVIS                        MO     90007895514
6B228789A81644   JEFFREY      MCCOMBS                      MO     90012317890
6B229145A76B58   MAURICIO     MORALES                      CA     90013841450
6B229161372B27   MICHAEL      SCAFF                        CO     90013281613
6B229262251383   NANCY        RUSSELL                      OH     90000332622
6B22941675B271   PRISCILLA    DELACRUZ                     KY     90009374167
6B22944A64B27B   CASSY        BROWN                        IA     90008554406
6B22995255594B   VERONICA     DELATORRES                   CA     48040169525
6B22B329261979   JON          MARTIN                       CA     90001803292
6B22B53A161964   GILBERT      FRANQUEZ                     CA     90014915301
6B22B647551354   RACHEL       BROWN                        OH     66037046475
6B22B67A24B27B   NYANGOTO     FRANCIS                      NE     90007956702
6B22B729125236   JEANINE      JOYNER                       NC     17096807291
6B22B8A1255941   SUSANA       HERNANDEZ                    CA     90001528012
6B231167461964   RHONDA       ELLAMS                       CA     46015461674
6B23147388166B   ANTONIO      BUTLER                       MO     90013774738
6B231522455975   ROGELIO      NUNEZ                        CA     90013095224
6B23158968166B   ANTONIO      BUTLER                       MO     90015105896
6B23162645B271   JAMES        BURGRESS                     KY     90012856264
6B23198178162B   TERESA       CHRISTIE                     MO     90010449817
6B231A2A28B334   CARMELO      OROPAZ                       SC     90013240202
6B231A33147996   DEBRA        MCPHERSON                    AR     90009780331
6B231A8492B27B   SHANTIONE    TUCKSON                      DC     90004570849
6B232121572B43   CHRISTINA    CASTANEDA                    CO     90014831215
6B232215584392   ANNETTE      ROLERSON WATSON              SC     19073032155
6B232536961974   MICHAEL      MURPHY                       CA     46003995369
6B23258546196B   BULMNO       BALBUONA                     CA     46048295854
6B232948631453   AL           WARREN                       MO     90014959486
6B23345863168B   COURTNEY     PENDLETON                    KS     90010644586
6B233574255941   JUAN         VEGA                         CA     49088075742
6B23368857B46B   DONALD       HEATH                        NC     90012576885
6B233692155973   REBECCA      BELLAR                       CA     48096076921
6B233A9336193B   JOESEPH      ESTEPA                       CA     90008620933
6B23434694B27B   LAMAR        BROWN                        NE     90015113469
6B234364661964   EUGENE       HARDEY                       CA     90012253646
6B23466635B531   BELINDA      AVILA                        NM     90014516663
6B234772331453   TRISSEL      MCNEIL                       MO     90009817723
6B23492255B271   TAVARES      PRICE                        KY     68090789225
6B236323772B27   CELERINA     BANDA                        CO     33080433237
6B236341263646   ASHLEY       SMITH                        MO     90015073412
6B236656851342   SONDRA       ANDERSON                     OH     90005386568
6B236872381644   JAMIE        RANDLE                       MO     90010308723
6B236A3865B235   NATHAN       JESSUP                       KY     68027240386
6B237333472B27   ANDREA       VEGA                         CO     90012823334
6B237629991592   ALEJANDRO    MORAN                        TX     90001366299
6B237638555975   TERESA       GOMEZ                        CA     90014316385
6B237734155973   JESSICA      AGUIAR                       CA     90013137341
6B237865172B29   TERRY        BOYD                         CO     90012978651
6B23811138B169   JON          OLSON                        UT     90007771113
6B238941985821   ANGELA Y     BLANCO                       CA     90013059419
6B238A31791834   BECKY        MAY                          OK     90011640317
6B238A36971976   RYAN         BROOKS                       CO     90014780369
6B23925554B27B   TYREE        TODD                         NE     90013542555
6B239A57684392   KRISTAIN     JOHNSON                      SC     19085100576
6B23B262251383   NANCY        RUSSELL                      OH     90000332622
6B23B28283168B   JOSEPH       PIOTROWSKI                   KS     90013672828
6B23B633461961   DANIEL       HUNNEWELL                    CA     90004946334
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 625 of 2350


6B23B6A8A8B169   IMELDA       RODRIGUEZ                    UT     90003226080
6B23B912885821   IMELDA       HAYES                        CA     90013039128
6B24122813168B   JEFF         KROEGER                      KS     22004282281
6B24144325B271   MISTY        MORA                         KY     90013934432
6B241615424B4B   JOSE         MEDINA                       VA     81028836154
6B241696557538   ANTONIA      ARAIZA                       NM     35584616965
6B241755331453   JEAN         DALENCOUR                    MO     27573477553
6B24276A472B29   CARLOS       FRANCO-HERNANDEZ             CO     90013037604
6B24366A58B133   OSCAR        SANCHEZ                      UT     90011576605
6B24396843168B   JENEAL       DELIS                        KS     90009279684
6B243993333645   EUGENE       MORGAN                       NC     90009269933
6B244293461936   ANTHONY      NASH                         CA     90014022934
6B244585A8B133   WENDY        ROMANO                       UT     90015035850
6B24487954B588   TWILA        KIPP                         OK     90011348795
6B24491853B394   HORACIO      RAMIREZ                      CO     33044059185
6B244A29955975   MARIO        RENTERIA                     CA     90013990299
6B24515A73168B   PAYGO        IVR ACTIVATION               KS     90012791507
6B245193655941   PATRICIA     AVILA                        CA     90012931936
6B2452A462B27B   YOHANNES     GZIABHER                     DC     90011692046
6B245364A33698   CHRIS        WILLIAMS                     NC     90012653640
6B24558778B133   SARA         GREENWAY                     UT     90009705877
6B245589361964   VANESSA      CASTRO                       CA     90014675893
6B245646785821   KATHY        SCHINGLE                     CA     90013046467
6B245A25472B34   JACQUELINE   REYNOLDS                     CO     90001760254
6B24636185B921   JOHN         SMITH                        WA     90015543618
6B246471761936   HILARY       PARKER                       CA     90000884717
6B24666682B269   ROBERT       JOHNSON                      DC     90011036668
6B24679A45B39B   CODY         BROWN                        OR     44535127904
6B2468A6885821   COURTNEY     CAMPBELL                     CA     90013048068
6B246A23777538   JASON        DODSON                       NV     90006710237
6B246A4417B46B   DEBRA        BLAKE                        NC     11069880441
6B24749458B133   SHAYLEE      MORA                         UT     90014804945
6B247632161966   GIULIANO     DIFERRETTI                   CA     46044196321
6B247722591999   WENDY        VARGAS                       NC     90004427225
6B24789A751354   DOMINIQUE    BROOKS                       OH     90013398907
6B24794858B334   STEPHANIE    OROZCO                       SC     90007909485
6B247962351354   BRYAN        WATKINS                      OH     90014679623
6B247A23777538   JASON        DODSON                       NV     90006710237
6B2482A6955973   TAMARA       HARVELL                      CA     90006292069
6B248399861979   MORGAN       WOMACK                       CA     90007153998
6B24922675B531   JOSE LUIS    CAMARILLO TORRES             NM     36020552267
6B249354685821   KRISTOPHER   LEONE                        CA     90001893546
6B249443255973   JAMES        HARDIMAN                     CA     90008464432
6B249693471976   QUEENIE      SMITH                        CO     90002736934
6B2497AA77B46B   ROCKI        SKEETE                       NC     11043447007
6B24B9A3431453   BECCA        SWAFFORD                     MO     90000149034
6B2512A6255983   KARLA        MCDOWELL                     CA     90013822062
6B251378461964   FROILAN      TORRES                       CA     90010553784
6B251395257538   LUCERO       JUDY                         NM     90003233952
6B25174A93168B   ANGEL        LITTLEJOHN                   KS     90010957409
6B2522AA555941   VICTORIA     ROA                          CA     90012942005
6B25234974B27B   KIRK         GARDNER                      NE     90011393497
6B252388791894   JAMES        LEWIS                        OK     21035383887
6B252456655973   ADAN         RODRIGUEZ                    CA     48023484566
6B25259937B46B   LAWRENCE     FAGO                         NC     11043115993
6B25263678B168   SAMANTHA     PARNELL                      UT     90014126367
6B25266452B27B   KEITH        BURNSTEEL                    DC     81029156645
6B252672861936   ISABEL       GOMEZ                        CA     90011966728
6B252928A72482   NICOLE       LATINI                       PA     90014169280
6B253184A91894   KATY         VINES                        OK     21083421840
6B254169385821   PATRICIE     FILUSTKOVA                   CA     90014641693
6B254173A8B168   HEIDI        MOON                         UT     31085931730
6B25428418166B   LINA         REED                         MO     90000462841
6B25475315B531   LOURDES      LOPEZ                        NM     36001587531
6B254931A7B46B   CHRISTINE    DAVIS                        NC     90014569310
6B254943677538   EDUARDO      ELIAS-ESCOBAR                NV     90011209436
6B254A14284392   TODD         BROWN                        SC     19031610142
6B254A24A55973   ANNA         BELLA                        CA     48026510240
6B2551A748B168   MURPHY       MICHAEL                      UT     90013061074
6B2552A7755941   LAURA        RIOS                         CA     90012942077
6B25538A15416B   TINA         MERCURIO                     OR     90014563801
6B25555A263646   CHERYL S     WALDROP                      MO     90010105502
6B255A1A572B43   GLADYS       MORALES                      CO     33037810105
6B255A9815B39B   SARAH        BRUCE                        OR     90011730981
6B2565A164B588   MICHAEL      LAFFERTY                     OK     21591845016
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 626 of 2350


6B256649657538   SISSY            LOYA                     NM     90013646496
6B256699461979   JACOB            COTA                     CA     90010426994
6B25677445416B   TERESA           MC CABLE                 OR     90009137744
6B25694498B354   TODDRICA         SMITH                    SC     90014019449
6B257398663646   DOROTHY          HINKLE                   MO     90010113986
6B25745415B271   JASON            HACK                     KY     90013934541
6B2574AA46155B   STEPHEN          RIDDELL                  TN     90015574004
6B25777238B133   JOE              GARCIA                   UT     90013207723
6B257955761964   MIRANDA          BAUTISTA                 CA     90012039557
6B258166893128   TREVOR           YATES                    TN     90015581668
6B2581A2871976   YOLANDA          CONTRERAS                CO     90009541028
6B258226672B27   ELISEO           GUZMAN                   CO     33082622266
6B25829A95B531   J                MOHR-NELSON              NM     36076872909
6B258315772B36   LOUIS            GALLUZZI                 CO     90012123157
6B25862732B27B   CARLOS ROBERTO   MENJIVARVASQUEZ          DC     90007856273
6B25894263168B   AUDREY           LEWIS                    KS     22004499426
6B258A9512B247   SHIRLEY          THOMPSON-WRIGHT          DC     81005890951
6B25934574B27B   TYLENA           TUCKER                   NE     90015113457
6B259738291885   JAMIE            WOOD                     OK     90012827382
6B259A21A5B39B   LUVIA            ROSALES DEL CID          OR     90010290210
6B259A9A172B29   CHACK            MAYER                    CO     90007300901
6B25B1A9A61964   JESUS            PARRA                    CA     46006061090
6B25B26955B531   LUIS             VEGA VARGAS              NM     90001432695
6B25B433A72B36   ALVARO           ARROYO LOPEZ             CO     90008934330
6B25B926755973   MARIA            RUBIO                    CA     90011459267
6B25BA61191592   SUSANA           CONTRERAS                TX     75046390611
6B261353231453   NYKEESHA         BOHLEN                   MO     27570733532
6B26137782B27B   WILLIAM          WRIGHT                   DC     90015203778
6B261518291894   MORRIS           MARQUIS                  OK     90002235182
6B26154975B392   FELICIA          TAYLOR                   OR     90000355497
6B261722263646   ASHLEY           LAUTH                    MO     90015607222
6B261951772482   NICHOLAS         SHAW                     PA     51001249517
6B262265972B27   PEDRO            ORTEGA SUAREZ            CO     90013932659
6B262632991592   BLANCA           HOLGUIN                  TX     75025876329
6B26264A972482   MICHELE          KERR                     PA     51038856409
6B262775955973   DANIEL           VILLALVOZA               CA     48050047759
6B26286323168B   AMY              WIENCH                   KS     90014908632
6B26289AA81644   ANGEL            DENNIS                   MO     90008718900
6B262914A91894   BRENDA           URENA                    OK     90001449140
6B26294A151354   MEGAN            STEWART                  OH     90013839401
6B262A66763646   DANIEL           REINHARDT                MO     90013490667
6B263829191592   ALBERTO          ACOSTA                   TX     90007668291
6B2644A2A72B29   LEONEL           CABANAS                  CO     90010234020
6B264855785821   ERIK             FLORES                   CA     90013428557
6B264A31771976   FRANCES          BACA                     CO     90014730317
6B265317591894   SAMANTHA         HINKLE                   OK     90014653175
6B265324481644   AMBER            VINCENT                  MO     90011863244
6B26562732B27B   CARLOS ROBERTO   MENJIVARVASQUEZ          DC     90007856273
6B266313947821   DYQUITA          STUBBS                   GA     14015083139
6B26657745416B   POWERS           ROBIN                    OR     90004735774
6B2669A7255975   JULIA            MUSICH                   CA     90012749072
6B266A26771976   JOHN             DEHERRERA                CO     38057380267
6B267256755941   EDUARDO          HERRERA                  CA     49080972567
6B26777287B46B   NEKISHA          MARTIN                   NC     90011437728
6B267831785821   BONNIE           CORY                     CA     90013078317
6B26833A64B27B   HUMBERTO         RODRIGUEZ                IA     90000243306
6B268346171977   MARC             SMITH                    CO     90009923461
6B268412954128   JAMES            SMITH                    OR     47038144129
6B268473772482   AMY              BUMBARGER                PA     51087844737
6B268691151354   CHERYL           JACKSON                  OH     66025996911
6B26876818B133   REBECCA          LEE                      UT     90003897681
6B26879325416B   DAWN             THORNBRUGH               OR     90014837932
6B26914325B531   MICHELLE         SAIZ                     NM     90010921432
6B269235155973   LOUISE           LOPEZ                    CA     48055142351
6B26925615B392   DANIEL           TUPAYACHI                OR     44580752561
6B26956975B39B   ALEJANDRO        ALTAMIRANO               OR     90012755697
6B269A15155975   MIREYA           CEBALLOS                 CA     90002800151
6B269A44991359   GAIL             STEWART                  KS     90003600449
6B26B125191998   NATASHA          SHAW                     NC     17043791251
6B26B12942B27B   SHERMAN          JONES                    DC     81093851294
6B26B29445B235   RED              BECKHAM                  KY     90013002944
6B26B99714B27B   MARIA            RADILLA                  NE     90009879971
6B271216A5416B   VICKI L          ROGERS                   OR     47075492160
6B27126695B392   ELIN             BERRY                    OR     44580752669
6B271974A2B27B   KARLTON          HOKE                     DC     90011599740
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 627 of 2350


6B2721A1755941   STEVE        MINJARES                     CA     90014721017
6B27231A461979   BRENDA       PECOVICH                     CA     90013953104
6B272381455941   LIBBY        RIVERA                       CA     49054173814
6B272498A87B31   CHRISTINA    RONCO                        AR     28044904980
6B27263518B355   MELCIO       LOPEZ                        SC     90015376351
6B272771651354   LAVENDA      JEFFERSON                    OH     66005757716
6B27347598B334   MINDY        WHITE                        SC     90014704759
6B273673397B64   MIGUEL       GUERRERO-APOLONIO            CO     90002426733
6B27475215416B   AMANDA       BUELL                        OR     90006587521
6B274793481644   OLVIN        ORELLANA                     MO     90014997934
6B274891355973   LOURDES      CONTRERAS                    CA     48044368913
6B275237171976   DANNY        HALL                         CO     90015132371
6B275283381644   TROY         GASPERINO                    MO     90010322833
6B275347A5416B   JUDITH       CURTISS                      OR     47038903470
6B275473A61964   THOMAS       GILLON                       CA     90001404730
6B275548651354   JUANITA      STEELE                       OH     66060295486
6B2758A844B27B   ANNETTE      MACE                         IA     27080228084
6B27628A224B7B   ISSAH        AMPAWARE                     VA     90008512802
6B276388755973   MARIA        LEON                         CA     48045623887
6B276615272B43   ABEL         ASCENCIO                     CO     90013306152
6B277483363646   CRYSTAL      MONTGOMERY                   MO     90012844833
6B277761791894   FLOY         GILLIAM                      OK     90011207617
6B27779AA72482   ROBERT       ARMS                         PA     90012977900
6B2778A5831651   ALEJANDRO    SANROMAN                     KS     90015068058
6B2779A155594B   CLAUDIO      CERNA                        CA     90013039015
6B27822915B344   REINALDO     USHER                        OR     90000682291
6B278268272B43   KATHRYN      CLYMO                        CO     33013212682
6B27833723168B   CHRISTINA    CUBBAGE                      KS     90005043372
6B278752A81644   ANITA        RIOS                         MO     90011337520
6B27877A291592   CLAUDIA      MORENO                       TX     90015167702
6B27921585B235   RANDALL      COULTER                      KY     90011162158
6B27928565B531   PATRICIA     SANDOVAL                     NM     36030682856
6B2793A485B531   PHILLIP      PADILLA                      NM     90009773048
6B27946A791894   KENDRA       COBB                         OK     90010274607
6B27952735B39B   GLORIA       QUINTANILLA                  OR     44513085273
6B27993A25B271   KAMEO        OFFUTT                       KY     90014889302
6B27B25315594B   AZUCENA      NAVA                         CA     90007582531
6B27B45A75B271   BONNIE       RAGLAND                      KY     68074874507
6B27B472A8B168   GERMAINE     SMITH                        UT     31087314720
6B27B57378166B   TUCKER       ROSE                         MO     29017745737
6B27B6A917B449   AYIKOUE      BOCHOUE                      NC     11088166091
6B27B77AA71976   ARARON       PINEDA                       CO     90011687700
6B27B826281644   SHERL        KNIGHT                       MO     29072528262
6B27B91554B588   ANA          LOPEZ                        OK     90007539155
6B281289963646   TIMOTHY      THAMES                       MO     90014932899
6B281545955973   MICHAEL      TORRES                       CA     90014665459
6B281785961964   GERMAN       LOPEZ                        CA     90011927859
6B28191664B588   MAQUIETEE    CROOKS                       OK     90012409166
6B28226283B335   JIMMI        JUARES                       CO     90008442628
6B28235834B27B   MANDI        MYERS                        IA     27015013583
6B282441A55941   OLGA         TERRY                        CA     90013874410
6B28294AA47996   JULIE        EILER                        AR     25035729400
6B283291A85821   MARIS        SAGRADO                      CA     90005462910
6B283322A2B231   ADRIANNE     THOMAS                       DC     90001843220
6B283324961974   RICHARD      ALEXANDER                    CA     90012043249
6B28342625B271   JOSHUA       HAMMACK                      KY     90003794262
6B283495A91999   JANET        HARRIS                       NC     17091744950
6B283573A5B235   KENNETH      ROBERTS                      KY     90013515730
6B28448495B39B   LAKISHA      HENDERSON                    OR     90008864849
6B284565A57538   CURTIS       MORIARTY                     NM     35504785650
6B284833771976   SAMMY        RAMOS                        CO     90014678337
6B2849A6854128   SAMANTHI     WICKRAMASELCARA              OR     90014749068
6B285173855941   NASTACHIA    SALDANA                      CA     90012951738
6B285265661964   ADRIANA      RODRIGUEZ                    CA     90013892656
6B285366A72B43   OLIVER       HOLMES III                   CO     90013023660
6B28548158B334   SHANTLL      WILLIAMS                     SC     14586274815
6B285771591592   SAUL         ENCISO                       TX     90006037715
6B286119151342   JAMES        MOEHLMAN                     OH     66090301191
6B2863A5372B43   CARLOS       GRACIA                       CO     90013873053
6B286674547986   JEFFERY      BROCK                        AR     25063706745
6B286686471976   VALERIE      VALDEZ                       CO     38095646864
6B28687875594B   CARMELO      ZAPOTECO                     CA     90010508787
6B286917A8166B   JACOB        SPICER                       MO     90008919170
6B286A79A54128   AARON        WORDEN-                      OR     90006510790
6B286AA3891592   DANIEL       OLGUIN                       TX     90013400038
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 628 of 2350


6B287411A72B36   KACI             MCMILLEN                 CO     90014824110
6B28755853168B   STACY            TAMAYO                   KS     90007795585
6B287622684392   LISA             MERRITT                  SC     90004226226
6B28765155B39B   RYAN             COX                      OR     44569576515
6B28811353B35B   PAM RICHARD      CASEY OCHOA              CO     90013681135
6B288554131453   FELICIA          POPE                     MO     27507335541
6B28865155B39B   RYAN             COX                      OR     44569576515
6B288A69872B29   CHARLES THOMAS   BROWN                    CO     90012790698
6B289167657127   VERONICA         SAMBA                    VA     90006611676
6B289786655973   JOSE             SANCHEZ                  CA     90012797866
6B28B22614B27B   TORREY           WARD                     NE     27045862261
6B28B239572B29   JUSTIN           LONG                     CO     90007302395
6B29118A191894   BENJAMIN         WEST                     OK     90015211801
6B291231461964   MICHAEL          MELVIN                   CA     90014412314
6B29225374B588   ARNULFO          OLVERA                   OK     90014942537
6B29232594B588   SHAUNTORIS       BRADSHAW                 OK     90010913259
6B29234735B235   EVODIO           SERRANO                  KY     90015493473
6B292456785821   YESENIA          ROBLERO                  CA     90011614567
6B29315914B27B   LINDA            M BISHOP                 NE     90005471591
6B293362755941   JOSE             FLORES                   CA     90012953627
6B29352685B39B   NESTOR           TAPIA GARCIA             OR     44552645268
6B293586972B43   JAMES            ANDERSON                 CO     90013295869
6B2937A815B235   BROOK            CHAPMAN                  KY     90009527081
6B293874551354   WILLIAM          DOUGLAS                  OH     90014648745
6B29453715B531   ADRIANA          VELETA                   NM     36053685371
6B294A19A72B29   TESSA            VIGIL                    CO     90012170190
6B294A31125236   ANNETTE          ALBERT                   NC     17011510311
6B29526134B27B   JANICE           MOORE                    NE     90013752613
6B29537463168B   ANTIONE          BUDD                     KS     90015293746
6B295397485821   CYRIL            MANTHORPE                CA     46086963974
6B295491A7B46B   GAIL             FORD                     NC     11068874910
6B295A7128B133   JETSON           CUNNINGHAM               UT     90014740712
6B29616265B39B   COURTNEY         GLOVER                   OR     44517971626
6B296194931453   JOHN             MCRAE                    MO     90008361949
6B296395257538   LUCERO           JUDY                     NM     90003233952
6B29648784B588   ANNIE            TATE                     OK     21534434878
6B296A7578B133   YESENIA          INSUNZA YESENIA          UT     90004710757
6B297153561964   ROBERTO          GONZALEZ                 CA     46029761535
6B297336954128   MICHELLE         CAMERON                  OR     47073943369
6B29745967B449   ELLEN            LUCAS                    NC     11054374596
6B297519991592   CONCEPSION       VARELA                   TX     75009535199
6B29764A363646   MONICA           MCTIERNAN                MO     90015256403
6B297663185821   ZACHARY          SHAW                     CA     90005536631
6B297AA125B271   MARVIN           JOHNSON JR               KY     68094620012
6B2981A285416B   ZACHERY          WILLIAMS                 OR     47062011028
6B29878365599B   SHANNON          CHEZICK                  CA     90010547836
6B29882442B967   VERONICA         RIOS                     CA     90014498244
6B298912385821   ELISA            PACHECO                  CA     90002259123
6B29911185594B   ENRIQUE          CASTELLANOS              CA     90005731118
6B29916A34B588   JENNIFER         VAZQUEZ                  OK     90014371603
6B299533761979   CARLOS           ALCARAZ                  CA     90012175337
6B299611261987   LUCIANO          HERNANDEZ                CA     90010346112
6B299679955973   VIVIANA          VALDIVIA                 CA     90008586799
6B29975613168B   ARTHUR           GILL                     KS     90010957561
6B29979395B921   JASON            BECKFORD                 ID     41000417939
6B29B578672B36   JESSICA          WILSON                   CO     33021255786
6B29B8A7171976   ARLENE           SOLORIO                  CO     90014558071
6B29B933A5594B   SUSANA           GONZALES                 CA     90014699330
6B2B199295B235   CHANELL          MORRIS                   KY     68067359929
6B2B1A47761979   JASON            LARKINS                  CA     90006520477
6B2B1A81547996   MICHAEL          LEWIS                    AR     25096620815
6B2B2465981644   ALEX             CHACON                   MO     90013304659
6B2B252547B761   CAROLYN          NELSON                   CA     90015065254
6B2B25A2751342   APRIL            GUDGELL                  OH     66033215027
6B2B264277B46B   THOMAS           BELL                     NC     90014436427
6B2B26A4657538   SANDRA           CHAVEZ-MELENDEZ          NM     35596566046
6B2B2755854128   PATTI            CATE                     OR     90014937558
6B2B287A397B64   JUAN             LOMA                     CO     39072718703
6B2B2A69A5B271   JOHN PAUL        AMATO                    KY     90013780690
6B2B3126A61979   IRENE            VALENZUELA               CA     46010811260
6B2B3371272482   DEBRA            ADAMS                    PA     51042453712
6B2B3627555941   MARGARITO        MENDEZ                   CA     90005056275
6B2B383233168B   ARIAS            ELEAZER                  KS     22027378323
6B2B3965191592   VIRGINIA         HERNANDSEZ               TX     75006309651
6B2B3A2985416B   JAMIE            DAVIS                    OR     90007870298
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 629 of 2350


6B2B4781861936   RAMONA       WHITE                        CA     90014247818
6B2B4782172B43   KIMBERLY     NOE                          CO     33077347821
6B2B4A2917B449   TOKARZ       TAMMY                        NC     11012040291
6B2B5289991599   CARLOS       ARAUJO                       TX     90001002899
6B2B528A15B39B   CHARLES      MCCULLAGH                    OR     90012522801
6B2B5644854128   MCKENNA      ROBERTSON                    OR     90011656448
6B2B56A425B235   CHERYL       SPEELMAN                     KY     90001516042
6B2B6237847996   MOJO         BROADBAND                    AR     90009842378
6B2B6258861979   ELIA         DIAZ                         CA     90013952588
6B2B636828B168   DANIEL       MORRE                        UT     90002033682
6B2B658A991999   HERNAN       CRUZ FUENTES                 NC     17017985809
6B2B6A4445B39B   MIKE         SNYDER                       OR     44534050444
6B2B6A61855941   OLIVERIO     CAVERO                       CA     90010080618
6B2B7148361979   CHANTHAVY    PHIMMASAHL                   CA     46070841483
6B2B71A775416B   NICHOLAS     HUTH                         OR     90010871077
6B2B763915594B   DAVID        RIOS                         CA     90010526391
6B2B7949972B36   KOHL         DRESDEN                      CO     90013389499
6B2B8158872B29   SANDRA       PACHECO                      CO     90014941588
6B2B8281547986   ROBERT       PITTMAN                      AR     25043332815
6B2B837A68B133   KRYSTLE      NIELSEN                      UT     90013023706
6B2B8432754128   WILSON       HIDALGO                      OR     90014994327
6B2B845744B588   CLAUDIA      RODRIGUEZ                    OK     90005174574
6B2B9186351555   DENNIS       DANITY                       IA     90014051863
6B2B9228272B43   BRISA        FLORES                       CO     33017092282
6B2B9636155941   SILVIA       GALVAN                       CA     49073086361
6B2B9914A2B27B   JOSE         DIAZ                         DC     90013889140
6B2B99A1361924   JOSE         FONSECA NOGUEZ               CA     90010319013
6B2BB653972482   JOSH         ORAVETZ                      PA     90010786539
6B2BB79A687B31   ALBERTO      ARTEGA                       AR     28023507906
6B311482161964   ESTELA       BARRERA                      CA     46033384821
6B311588161936   FELIPE       VARELA                       CA     90000195881
6B311A69391999   JOSE         PARAMO                       NC     17089780693
6B31231243168B   DENISE       MILSAP                       KS     90013673124
6B31258942B27B   BENIA        MCKINNIE                     DC     90013855894
6B312775A63646   CLAIRA       JOHNSON                      MO     90014917750
6B312782A91592   CYNTHIA      AGUIRRE                      TX     75090817820
6B312795551354   MAXINE       PHILLIPS                     OH     90014587955
6B31317A672482   THOMAS       SMITH                        PA     51060041706
6B31321338B133   CHRISTINA    CHURCH                       UT     31092582133
6B313236193762   DIONNE       HOLLEY                       OH     90000932361
6B31342A45416B   MELANIE      HURD                         OR     90012534204
6B31383487B46B   KORINNE      CHRISTIE                     NC     11079448348
6B313991255941   JOSE         RAMIREZ                      CA     90014839912
6B31416675B39B   KENNETH      ROY                          OR     90015281667
6B31428454B27B   ASHLEY       OPRYSZKO                     NE     90011872845
6B31441A772B27   SPENCER      HATANDLAS                    CO     90015414107
6B314587761979   MORALES      ORGE                         CA     90013245877
6B31485125B39B   VERONICA     ROMERO                       OR     90013368512
6B3149A4171969   RUSSELL      CURNEW                       CO     90013509041
6B31525A185821   ALE          CHAVOLLA                     CA     90010922501
6B31571618B168   MATT         HARRIS                       UT     90001897161
6B315847155973   ANIBAL       GUTIERREZ                    CA     48022108471
6B3159A4931454   DAWN         BLAND                        MO     90010919049
6B315A8AA72B27   MIGUEL       BUSTOS                       CO     90010750800
6B31613A451354   GREG         MILLER                       KY     90012381304
6B316312785821   IBARRA       JUAN CARLOS                  CA     90001073127
6B3164A663B35B   RYAN         DOUGLAS                      CO     33084174066
6B31679958B168   GEORGE       WINSOR II                    UT     90002907995
6B316872A31453   ANTONIO      MCALLISTER                   MO     27594058720
6B317263272B29   HERIBERTO    ELIZONDO-MEDINA              CO     90014632632
6B317542A55973   ELIZABETH    NATIVIDAD                    CA     48085675420
6B317687891894   MELINDA      STOCKTON                     OK     90012466878
6B318286157538   FREE         KRESS                        NM     90014602861
6B318315A81644   JUSTIN       THOMPSON                     MO     90014023150
6B318571461979   LEONARDO     LEON                         CA     90010215714
6B31876A454128   BONNIE       SALMON                       OR     90011197604
6B318A62131453   BRYANT       PRICE                        MO     90011320621
6B318A7118B334   LORETTA      CAPERS                       SC     90010460711
6B319421161964   CAROLYN      SMYTH                        CA     90013284211
6B319644751342   JOHNITA      DUKES                        OH     66090166447
6B31B783A8B168   LESLIE       JUDKINS                      UT     31000707830
6B31B791563646   PAYGO        IVR ACTIVATION               MO     90012507915
6B31B9A3272B27   SHARENA      POPE                         CO     33003169032
6B31BA9764B27B   STEPHANIE    VOGE                         NE     27036820976
6B321143572B29   DOUGLAS      STOERMER                     CO     33009221435
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 630 of 2350


6B321231951352   ADOLPHUS      MCCULLOM                    OH     90013912319
6B321394A5416B   JASON         JONES                       OR     90014083940
6B321452661964   TODD          GREENWOOD                   CA     46059034526
6B321A99A5B39B   ALICIA MAY    HENDRICKSON                 OR     90013630990
6B322174471976   KATHREN       GRIGGS                      CO     90011221744
6B32218A75416B   VLADIMIR      FOX                         OR     90009501807
6B322244961964   ROBERTO       FELIX SALGADO               CA     46002812449
6B32235647B493   MIGUEL        CELI                        NC     90013743564
6B32239893B126   GEORGE        PROCTOR                     DC     90013633989
6B322413655975   THERESA       BRECKENRIDGE                CA     48014874136
6B322758772B36   EDGAR         HERNANDEZ                   CO     33008647587
6B322792161936   DANIEL        S                           CA     90015227921
6B322888285821   HAL           THACKER                     CA     90009238882
6B323334471976   BEVERLEE      FIX                         CO     90008553344
6B323819955975   CHISTOPHER    RODRIGUEZ                   CA     90013318199
6B323847631427   RAMON         WEBER                       MO     90007768476
6B32393722B962   ANDERS        ENGLAND                     CA     90005139372
6B323A17455973   ELVIA         PENALOZA                    CA     90013240174
6B32426843168B   ADAM          FOXWORTHY                   KS     90002042684
6B324322487B31   OMEGA         WOODS                       AR     28042093224
6B32442754B588   CHRISTOPHER   TIGER                       OK     90014714275
6B32457A455975   TIANA         HAWORTH                     CA     90003735704
6B324636955973   BLANCA        TORREZ                      CA     90011156369
6B324A56891592   TRACY         MARTIN                      TX     90002620568
6B32533A255941   JESSICA       FRANKLIN                    CA     49010133302
6B325372871976   ESTAVAN       RIOS                        CO     90012793728
6B32546184B588   YESICA        RODARTE                     OK     90010594618
6B325541A72B43   JANELLE       BONILLA                     CO     33093615410
6B325549172B27   WAGNER        ROASANA                     CO     90010385491
6B325633255935   ADRIANA       CONTRERAS                   CA     90012716332
6B325748A71976   JOSEPH        JIRON                       CO     90014577480
6B326184551354   ANGEL         ONEAL                       OH     90015191845
6B326375971976   ANGELICA      CORDOVA                     CO     90012793759
6B32645A755941   MARIA         UCABELLERO                  CA     90014814507
6B32672185416B   GERARD        MILLER                      OR     47019427218
6B326881955975   TAMARA        MURRAY                      CA     90004148819
6B32722225594B   CARLOS        SERRANO                     CA     90005742222
6B32723127B46B   SANDRA        GLOVER                      NC     90010312312
6B327247957538   FELIX         CHAVEZ                      NM     35597362479
6B32727155B531   DAVID         CHRISTIAN                   NM     90014132715
6B327589491894   REGINA        RUTLEDGE                    OK     90002215894
6B32781127B449   FREDDYS       UMANZOR                     NC     11039988112
6B32781982B27B   KWANISE       KELSEY                      DC     90013048198
6B327847455993   GEORGE        CONDIE                      CA     90000158474
6B327996197122   APOLINAR      ALMONTE                     OR     44556359961
6B327A2355B235   CRYSTAL       WALKER                      KY     90007600235
6B327A6835B39B   DANNY         WALKER                      OR     90011240683
6B328162255941   CHRIS         ESCOBEDO                    CA     49029771622
6B328365372B43   PERLERA       EVELIN                      CO     33036493653
6B32858743168B   CARL          GOODMAN                     KS     90014685874
6B328934672B36   RUSTIN        MELPHY                      CO     33054089346
6B329168381644   KATRINA       REITZEL                     MO     90013391683
6B32B355754128   SPENCER       BISLEY                      OR     90011223557
6B32B395561964   MISALYN       YOUNG                       CA     46010703955
6B32B538655975   STEVE         STIRLING                    CA     48067625386
6B32B671761936   NORA          RAMIREZ                     CA     46017696717
6B32B954171976   CHRIS         GILLESPIE                   CO     90014879541
6B32B958885821   TIMOTEO       FLORES GUZMAN               CA     90012309588
6B331182972B36   JOHNNY        MUNSON                      CO     90012521829
6B3312AA261979   LIVETH        SHIELDS                     CA     90012852002
6B331A67931453   PETER         ANDERSON                    MO     27587450679
6B331A8415B375   DIANE         BAHUMAID                    WA     90010270841
6B332278172B27   JESSICA       OLDHAM                      CO     33084302781
6B33266527B46B   DELMY         ZUNIGA                      NC     11063046652
6B332844755973   TAMARA        WEBB                        CA     48074088447
6B33289348B133   JEFF          MANZANARES                  UT     90011798934
6B333A59993792   RYAN          BOSTICK                     OH     64544460599
6B334291572B36   BENITO        MARTINEZ CARDENAS           CO     90011162915
6B33433A361964   RAMIRO        IBARRA                      CA     90014353303
6B3343A935B271   MICHAEL       MELTON                      KY     90014613093
6B33451245416B   GEORGE        MARTIN                      OR     90014625124
6B33478A591894   NATASHA       BELL                        OK     90014817805
6B335287371976   TONI          GONZALES                    CO     90008512873
6B33533A255941   JESSICA       FRANKLIN                    CA     49010133302
6B33574725B39B   PEDRO         MARTINEZ                    OR     44517687472
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 631 of 2350


6B33597755B271   SALOUM           CEESAY                   KY     90006589775
6B33654A661936   RICKEY           POWELL                   CA     90011315406
6B336783472B29   VICTOR           CHACON                   CO     33023077834
6B33686A557538   JOANIE           PRIETO                   NM     90012398605
6B33717A971976   LETICIA          VIGIL                    CO     90011431709
6B337349A55973   ANDREW           MOJICA                   CA     90008343490
6B33735284B588   MICHEAL          ELLER                    OK     21562393528
6B33736A324B7B   CHANEL DEBROAH   MURRAY                   DC     90009103603
6B33791A772B36   OLIVINA          GUTIERREZ                CO     90006499107
6B337986761979   STEPHANIE        DAHLSTROM                CA     90006179867
6B337A95771976   TIM              HAWAKINS                 CO     90003810957
6B338365361936   XIUSIE           GARCIA                   CA     90013463653
6B338887663646   PAYGO            IVR ACTIVATION           MO     90014428876
6B339632555941   EMMA             LOPEZ                    CA     90014786325
6B33978862B227   RUBEN            ECHEVERRIA               DC     90009627886
6B33984568B133   STEPHANIE        BOER                     UT     90006978456
6B339911461936   ALLEN            MCBETH                   CA     90012479114
6B339A96255973   BRITTANY         MORI                     CA     90014780962
6B339AA742B27B   VALYNDA          LASSITER                 DC     90009670074
6B33B34485B531   JOSE             BEJAR-SILVA              NM     90008043448
6B33B467155973   NANCY            HEINSOHN                 CA     90014994671
6B33B71565B39B   ERIC             ANDERSON                 OR     90012447156
6B33B797372B43   MOISES           SEGUNDO                  CO     90006027973
6B33B88A485821   JOSEPH ADRIAN    LUCCA                    CA     90002428804
6B341178872B36   WILLIAM          CARROLL                  CO     33022111788
6B34122A955975   JASON            BLASINGAME               CA     90013182209
6B34124928B334   SAUL             BENITEZ-ROMERO           SC     14589662492
6B3427AA555975   MICHEAL          HENSLEY                  CA     90009217005
6B342894772B43   BROOKS           KEVIN                    CO     33098708947
6B342952971976   AMY              PITZER                   CO     90013209529
6B343127772B43   WHITNEY          BRITTON                  CO     90014011277
6B34316925416B   AARON            CADAN                    OR     90010691692
6B34349954B547   RUBY             MARTIN                   OK     90014154995
6B343A5319182B   AMBER            MCDANIELS                OK     90014690531
6B34433215B351   WARNER           HOLFELD                  OR     44514413321
6B344559585821   SANDRA           LOPEZ                    CA     90014775595
6B344639555973   ERICA            SEGURA                   CA     48092616395
6B3447A234B27B   ELAVAGNON        FAGNON                   NE     90014147023
6B34529955594B   MARIA            TALINGO                  CA     90000152995
6B34541275416B   KRISTI           ELLIS                    OR     47010974127
6B34582217B46B   RAUL             QUINTO-MEDINA            NC     90005178221
6B346237972B36   JULIO            RODRIGUEZ                CO     33093972379
6B346365655973   MARTHA           FOSTER                   CA     48002073656
6B34674934B588   SHY              THOMPSON                 OK     90012457493
6B346812755941   IVAN             CEJA                     CA     90012858127
6B34681848166B   NORMA            ARAGON                   MO     90013508184
6B346832A98B63   CARLOS           GAMEZ                    NC     90014668320
6B347494A2B27B   JIMENA           LONA                     DC     90013064940
6B347721272B36   LOUIS            MALIK                    CO     33081057212
6B347815851342   WILMER           GALLAHER                 OH     66095468158
6B347A85491975   BELVLON          NICHOLSON                NC     17069770854
6B348194772B27   GILBERT          MONTOYA                  CO     90011451947
6B34826A561979   ROSA             ROBLES                   CA     90005082605
6B348463255973   FRANK            ARIAS                    CA     90013304632
6B348552931453   CARLA            GORE                     MO     90014995529
6B34868838B137   DEBBIE           GARDNER                  UT     31016256883
6B34872A961936   ARTURO           CARRASCO                 CA     90013747209
6B348924455941   JESUS            ARENAS                   CA     90003609244
6B3496A898B168   JOSHUA           AARON                    UT     90010456089
6B349761791894   FLOY             GILLIAM                  OK     90011207617
6B34978685B235   JENNIFER         SCHILLING                KY     68065657868
6B34992628B133   KIRSTIN          REED                     UT     90010769262
6B349A69461979   VIRGIL           KELLY                    CA     90001930694
6B34B48534B27B   EDUARDO          QUINTANILLA              NE     90005104853
6B34B48A572B93   DAMIAN           FERANANDEZ               CO     90000444805
6B34B566372B29   RIGOBERTO        SANTOS                   CO     90011205663
6B34B568685821   ROSIO            MANZO                    CA     90012985686
6B34B715471976   MIACHAEL         MICHAEL                  CO     38084077154
6B34BA73172B43   LUIS             GALLEGOS                 CO     90013230731
6B351323163646   EUGENE           STENBERG                 MO     90015553231
6B351552931453   CARLA            GORE                     MO     90014995529
6B351651A72B29   EAMERALDA        JIMENEZ                  CO     33047406510
6B351A7375594B   REYNA            SANCHEZ                  CA     90013970737
6B352A22161961   ABRAM            CORONA                   CA     90012440221
6B35312658B133   MIKELL           MAUGHAN                  UT     90013971265
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 632 of 2350


6B353392472482   EUGENE          LARATONDA III             PA     90012013924
6B35355552B27B   CURTIS          BRAXTON                   DC     90014335555
6B354335291894   JENEVA          MARTINEZ                  OK     90010103352
6B35449A45B531   TANIA           GUADARRAMA-CAMPOS         NM     36082754904
6B35486678B168   CALLEN          MONSON                    UT     31064598667
6B354A55754128   BONI            CLYDE                     AZ     90000840557
6B35514224B588   ANTWANYA        SHAW                      OK     90014731422
6B35547575B39B   CHAD            SMITH                     OR     90001454757
6B3554A9791592   REBECCA         BENAVIDES                 TX     75002694097
6B35559347B46B   KHEM            KATWAL                    NC     90014835934
6B35564AA3168B   JUSTIN          KESTER                    KS     90015166400
6B35573964B588   ROSA            HERNANDEZ                 OK     90011927396
6B3559A6293753   ELIZABETH       TACKETT                   OH     90008439062
6B356233493792   ARTHUR          MCCARTY                   OH     64512722334
6B3562A9185946   KONGSY          REID                      KY     90011862091
6B35633A572B36   HEATHER         BANEULOS                  CO     90014623305
6B3565A6491894   WILMAN MARVIN   VELASQUEZ                 OK     90013965064
6B356812133698   SARAH           MULLINS                   NC     90010988121
6B35734488B169   YADIRA          AGUILERA                  UT     90004433448
6B357367961979   YOLANDA         CARDOZA                   CA     46014473679
6B35759828B168   GRANT           DORNEY                    UT     31096505982
6B35759897B46B   ANNY            RAMIREZ                   NC     90014135989
6B3583A2972B27   MELISSA         GENTRY                    CO     33072873029
6B358617A91592   YANETH          GALLARDO                  TX     90004496170
6B35886984B588   RICHARD         PRYOR                     OK     90006838698
6B359552291599   MARIA           CABRERA                   TX     90003805522
6B359761855973   MARIA           AGUILERA                  CA     90013037618
6B35994445416B   CELESTE         SALAZAR                   OR     90013399444
6B35B155871976   CHRISTOPHER     SENA                      CO     90008431558
6B35B182555941   VERONICA        ALDAPA                    CA     90000861825
6B35B219872B36   GRACIELA        CELESTINO                 CO     90008912198
6B35B34845B271   RONALD          PUMPHREY                  KY     90012873484
6B35B63994B547   CHRISTOPHER     EVERETT                   OK     90008776399
6B35B649955941   JOSE            MENDOZA                   CA     90012956499
6B35B741472B29   ELVA INES       BONILLA                   CO     90011367414
6B35B743255973   LUIS            GONZALEZ                  CA     90011817432
6B35B77A672B27   SERGIO          CRUZ                      CO     33060707706
6B35B93825594B   EDDIE           CACINCO                   CA     90014689382
6B361181455941   ALYSSA          MORRIS                    CA     90013101814
6B361552931453   CARLA           GORE                      MO     90014995529
6B361A41155973   RIGOBERTO       LOZA                      CA     90000280411
6B3621A2857563   JONATHAN        CHATFIELD                 NM     35515131028
6B362219757538   SANDRA          TELLEZ                    NM     35598802197
6B362231191592   BARTOLO         CORONADO                  TX     75078582311
6B36252178B133   SHARLENE        NEWMANE                   UT     90014025217
6B36288574B27B   A               CLARY                     IA     90015088857
6B36342625416B   NICOLE          BRANDT                    OR     90012554262
6B363474172B36   CALEB           ECKENROD                  CO     33040624741
6B36351774B588   MARY            MCGUIRE                   OK     90010985177
6B36354678B133   JENNIFER        ZANDER                    UT     31006765467
6B36371255B271   RONALD          SEIDL                     KY     68044107125
6B36371424B27B   JASON           FOGELBERG                 NE     27046207142
6B3641A722B27B   LORRIE          SILVER                    DC     90011601072
6B36441725B283   JOHN            SCHNEIDER                 KY     68042384172
6B364673731453   DEKETRA         NEARING                   MO     90001906737
6B364946684392   WILHEMINA       BOYD                      SC     19020499466
6B3651AAA51354   KATHY           SILVA                     OH     90008071000
6B365341491592   SANDRA          FARIAS                    TX     75097303414
6B365552931453   CARLA           GORE                      MO     90014995529
6B36583785B271   RONISHA         GALBREATH                 KY     90010848378
6B36595A757538   DAISY           ESTRADA                   NM     90010259507
6B36613464B27B   STEPHEN         THOMPSON                  NE     27064731346
6B36645867B46B   LIDAY           HAILE                     NC     11002684586
6B366552931453   CARLA           GORE                      MO     90014995529
6B36657652B27B   ENSEEBIO        OHCAN                     DC     90010685765
6B36685417B449   TONY            DAVIS                     NC     11003208541
6B366869891592   ROXANNE         GUERRERO                  TX     90007668698
6B367111291894   DORA            ALVAREZ                   OK     90009191112
6B36713636B244   CLARK           JEANTINORD                AZ     90014311363
6B367748A31453   TIFFANY         MYERS                     MO     90003087480
6B36782152B27B   CHRISTINA       LAND                      DC     90013148215
6B3678A1181644   BAILY           REYNOLDS                  MO     90000298011
6B3679A2461964   THOMAS          JUDGE                     CA     90012849024
6B368131457538   LUIS            MOLINA                    NM     90012931314
6B368976171976   SHERRI          LIGHTFOOT                 CO     90013209761
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 633 of 2350


6B369132857538   IVAN              CARRILLO                NM     90001861328
6B369189951354   TERRANE           FAIRBANKS               OH     90004821899
6B369272447996   JAMARR            LOGAN                   AR     90011672724
6B369319872482   MIRANDA           BORELAND                PA     90013163198
6B36973A984392   MIKE              KIRKLAND                SC     19061217309
6B3697A9A71976   THOMAS            QUINTANA                CO     38084077090
6B36B261485821   CHRIS             SAPIEN                  CA     46001242614
6B36B27182B27B   JOSE              DELGADO                 DC     81001482718
6B36B37178B168   SANDERS           GARRET                  UT     90005783717
6B36B563391894   MARSHALL          VANN                    OK     21058885633
6B36B5A6155975   PATRICIA          SANCHEZ                 CA     48050115061
6B36B676872B29   GEORGE            TATUM                   CO     33078426768
6B36B77AA51354   COURTNEY          STEPP                   OH     90002727700
6B3711A2661936   MARTIN            CANLAS                  CA     90013081026
6B371347A5594B   PETRA             MATA                    CA     90013943470
6B37163954B57B   ANASTASIA         TARPLEY                 OK     90012176395
6B37164522B238   MIGUEL            LOPEZ MEJIA             DC     81002036452
6B371738691894   RON               FORESMAN                OK     90009497386
6B37182A361979   ANTHONY           POSEY                   CA     90013978203
6B371A35993128   VICTORIA          STRIPLING               TN     90015560359
6B372462561936   REYNA             REBOLLEDO               CA     90008424625
6B37249548B168   LEMOYNE           LEE                     UT     90010674954
6B372573655973   JANIE             MORENO                  CA     90012925736
6B3726A7161558   HECTOR            HERNANDEZ               TN     90010826071
6B37296A457538   MARLENE           NEVAREZ                 NM     90011459604
6B3729A6984392   JORDAN            WHITE                   SC     19000879069
6B37352A761936   RAFAEL            LAGUNAS                 CA     90007385207
6B373691951354   JOSHUA            BURTON                  OH     90015276919
6B373817791592   CAROLIN           HERNANDEZ-ESPINOZA      TX     90010988177
6B37382235594B   HUGO              DURAN                   CA     48063168223
6B373844147996   CINDY             LANGRINE                AR     90012768441
6B373871172B29   JURGEN            HOLTERS                 CO     90006858711
6B373A32763646   REBECCA           SANDBERG                MO     27508430327
6B374194A72482   DALTON            PATRICK                 PA     90014121940
6B374475255973   PABLO             RODRIGUEZ               CA     90012134752
6B374553485821   DONNIE            MAGAN                   CA     46078735534
6B3746A554B588   THOMAS            REBECCA                 OK     90008096055
6B37542995B271   VANESSA           COX                     KY     90012904299
6B3755A995416B   K LA              BOOTHMAN                OR     90013805099
6B375726851342   SAMANTHA          GRUBBS                  OH     90005517268
6B375781855935   RONNIE            THIESSEN                CA     90007617818
6B375928698B22   DECARRA           STITT                   NC     90010809286
6B37617335416B   CHRISTINA         ODOMS                   OR     90008201733
6B376189655981   EMILO             PEREZ                   CA     90008791896
6B376463597B64   CODY              KILMER                  CO     90003234635
6B37653A761936   JEFFREY           SELTZER                 CA     46086325307
6B376612572B29   FRANCES           SMITH                   CO     90013276125
6B37678A591894   NATASHA           BELL                    OK     90014817805
6B37679A85B235   ANGELA            HOOD                    KY     90010907908
6B376967585821   DJEMYRHL          TOLENTINO               CA     90011639675
6B3769A825B39B   CENOBIA           VELAZQUEZ               OR     44518569082
6B377463597B64   CODY              KILMER                  CO     90003234635
6B3778A535B531   DOMITILA          CAMPOS-VASQUEZ          NM     90015118053
6B37795A333698   GLORIA            JORDAN                  NC     90014679503
6B378775531476   LISA              WHITE                   MO     90012047755
6B378A86733698   LUVENIA           LEWIS                   NC     90014810867
6B379194572B27   KIMBERLY          ASHFORD                 CO     90010361945
6B3791A5261558   TAMEKA            MCCLAIN                 TN     90010901052
6B37934453168B   CIERRA            WHITE                   KS     90013673445
6B37948A481644   CAROLINE          BOURDLAIS               MO     29050754804
6B37964545B271   WILLIAM           POTTER                  KY     90012856454
6B379667A72B43   CHRISTOPHER       TRUJILLO                CO     90010966670
6B37988A757538   DIANA             MORENO                  NM     90011158807
6B3799A7491592   JESUS E           MORENO                  NM     75043749074
6B37B274572B29   NICOLAS           TORRES                  CO     90013372745
6B37B44A781644   CYNTHIA           SWENEHART               MO     90002064407
6B37B58A291592   CHRISTOPHER       MARTINEZ                TX     90012215802
6B37B625954128   SCOOBY            DOO                     OR     90001966259
6B37B73285B271   PAYGO             IVR ACTIVATION          KY     90013887328
6B37B819351354   CYNTHIA           HUGHES                  OH     90013418193
6B381355577538   JAZMIN            CORREA                  NV     90003793555
6B38147154B57B   FFR- 12832 LUIS   RODRIGUEZ               OK     90012674715
6B381578397B64   ADRIAN            HERNANDEZ               CO     90003235783
6B38162414B27B   ROBERT            ADAMS                   NE     27027186241
6B381823261964   FAITH             MORENO                  CA     46041288232
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 634 of 2350


6B38287597B46B   MICHELLE        BLACKMAN                  NC     11045808759
6B383779563646   MARCIANO        SORIANO                   MO     90012447795
6B38411A151354   TERRI           PETREY                    OH     66044491101
6B384199163646   LATRISHA        GREEN                     MO     90014561991
6B38488815B39B   FERNANDO        HERNANDEZ                 OR     90012668881
6B384912972B43   DARLENE         AI                        CO     33094809129
6B3849AA82B27B   KAREN           PRIVADO                   DC     90012759008
6B384A9324B588   SHANE           CALLIES                   OK     90010810932
6B385327924B4B   FIDEL           CRUZ                      VA     90012543279
6B38536A961936   JESSE           MENDOZA                   CA     90015193609
6B385544463646   CHRISTINE       LEO                       MO     90013435444
6B385587761979   MORALES         ORGE                      CA     90013245877
6B3856A3791894   SY MARIE        NEWTON                    OK     21044516037
6B38593585B531   CHRISTINA       ARCHLETA                  NM     90008009358
6B386495791535   SONIA           CARRASCO                  TX     90009624957
6B38675412B27B   LAZARRIOUS      DW                        DC     90014907541
6B386771251342   KANDA           REDDING                   OH     90010617712
6B38678455B531   JARAMILLO       FIERRO IRENE              NM     90009487845
6B386854451334   GUSTARO         REYNOSO                   OH     90010818544
6B386A17472B36   JEFFREY         GEURIN                    CO     33004500174
6B387281572B43   SOLEDAD         QUEZADA                   CO     90007062815
6B387494357538   MATTHEW         CARDON                    NM     90003864943
6B38762A172B27   VICTOR          BAKER                     CO     90013876201
6B387A91955975   GRICELDA        CASTELLON                 CA     90008650919
6B38844A633698   FELTON          CARTER                    NC     90012464406
6B388722563646   MATTHEW         GOLLIDAY                  MO     90015417225
6B388883291592   HECTOR          SANCHEZ                   TX     90007668832
6B388A82872B29   FELIPA          DELGADO                   CO     90006580828
6B389579141257   JOHN            MCMURRAY                  PA     90012095791
6B389592185821   ELLIOTT         SEPHUS                    CA     90015035921
6B38B12278B168   SHAYLYNN        RICHARD                   UT     90009091227
6B38B64485416B   MCKENNA         ROBERTSON                 OR     90011656448
6B38B678861979   JORGE           RIVAS                     CA     90011866788
6B38B755855973   RANDALL         WHITAKER                  CA     90015167558
6B38B761272482   SUZE            ANON                      PA     90012947612
6B38B98745B235   CEDRIC          SPRINGFILL                KY     90014529874
6B392155A7B46B   RASHETTA        WALKER                    NC     90003871550
6B392357331453   JESSICA         FARMER                    MO     90008363573
6B39248345416B   LESLEY          BENSON                    OR     90012554834
6B39248A455973   RYAN            VARGAS                    CA     48092814804
6B39298425B235   TEZ             SMITH                     KY     90009009842
6B392995847821   ROSHONDA        BELL                      GA     90007549958
6B392A3465B271   MARTHA          GILL                      KY     68044970346
6B392A7A45B39B   ANTONIO         GARCIA                    OR     44504580704
6B39315A472B29   ROGER           DAVIS                     CO     33038261504
6B393186287B31   JAMIE           GOTT                      AR     28089051862
6B3931A7457538   ROSALINDA       MURILLO                   NM     35532701074
6B393526A8B168   YOLANDA         WALKER                    UT     31051365260
6B393737171976   TAMERRAH        ARCHULETA                 CO     90011697371
6B393854A72482   DONALD          LEROY                     PA     90009118540
6B394179261936   LORENA          RAMIREZ                   CA     90009851792
6B394A6948166B   DERON           DREW                      MO     90014890694
6B3952A584B27B   STEPHANIE       WHEELER                   NE     90015072058
6B395389A61964   BRENDA          HERNANDEZ                 CA     46090863890
6B395688525236   KENNETH         BARNVILLE                 NC     17010656885
6B3963A432B27B   CHAKA           HUTCHINSON                DC     81037603043
6B39648A55B271   PAULISA         THOMAS-LEWIS              KY     90013934805
6B39675A88B168   CHRISPEN        EDWARDS                   UT     31006107508
6B396A3478B133   VINCENT         STEPHENS                  UT     90011510347
6B397158661964   SEAN            SCOTT                     CA     90010311586
6B39749325B344   DENNIS          HARTFORD                  OR     44560404932
6B39751714B542   PEGGY           TROTT                     OK     90014575171
6B397559863646   LUIS            PLUMA                     MO     27507895598
6B39772A68166B   CHRISTOPHER     MADDOX                    MO     90005497206
6B397772155941   VIRGIL          BROCCHINI                 CA     90009297721
6B398511961936   ERIC            DELACRUZ                  CA     90012785119
6B399688A72B43   DAVID           ROBERTS                   CO     33012126880
6B39971995B39B   SHAWN N JAMIE   NEWCOMB                   OR     90014837199
6B399769A91527   JESUS           GONZALEZ                  TX     90009337690
6B3998AA357538   TINA            GAITAN                    NM     90012088003
6B39B51987B46B   KENNETH         BROOKS                    NC     90007985198
6B39B57855B531   MARIA           MARTINEZ                  NM     90011315785
6B39B972372B43   BERTHA          FERNANDEZ                 CO     33097149723
6B39B9A635594B   MARTIN          GARCIA                    CA     90013059063
6B39BA25A85821   LARRY           SWARTS                    CA     90004680250
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 635 of 2350


6B3B172235B271   TROY            DILLEY                    KY     90013307223
6B3B1823972482   SANDY           BORLAND                   PA     51093508239
6B3B191A872B36   KEVIN           SINGLETON                 CO     90013119108
6B3B1952A61964   YONATHAN        BETECHRIVAS               CA     90010719520
6B3B264625B921   KIERIA          KRIEGER                   ID     90013796462
6B3B2948661964   ANTONIO         ORTA                      CA     90014949486
6B3B298524B588   FIONA           SHELTON                   OK     90013959852
6B3B2A12255973   EFRIN           GONZALEZ                  CA     90012980122
6B3B316AA71976   KEVIN           ROLLINS                   CO     90012751600
6B3B394185B39B   DARCY           FRISBY                    OR     90010409418
6B3B399655B271   JATOYA          LESTER                    KY     90015179965
6B3B3A2A461964   RIGOBERTO       ARROYO                    CA     46053770204
6B3B4242251354   NOEL            FITE                      OH     90015272422
6B3B4244772B43   JESSICA         THOMPSON                  CO     90013922447
6B3B4319A72482   CHRISTIAN       BAYER                     PA     51072833190
6B3B514728B194   ROBERT          PETERS                    UT     90005911472
6B3B5148A4B588   TIYTIANA        SANDERS                   OK     90013641480
6B3B53A535416B   TONY            RODRIGUEZ                 OR     47086083053
6B3B557944B588   BRANDON         HAUER                     OK     90011025794
6B3B5A86455941   AURELIA         SANCHEZ                   CA     90002360864
6B3B5A8A75594B   RUBEN           RAMIREZ                   CA     90013940807
6B3B6136561979   CRYSTAL         COLEMAN                   CA     46005101365
6B3B6814955941   JOSE            SERANO                    CA     90013078149
6B3B6A41A5594B   GERARDO         GUADARRAMA                CA     90013010410
6B3B7613261964   DOUGLAS         EVANS                     CA     90012776132
6B3B7712533698   STACEY          THOMPSON                  NC     90013217125
6B3B7848791999   ROBERTO         ARZATE CORTEZ             NC     17018088487
6B3B8651485821   CASANDRA        CRUZ                      CA     90009116514
6B3B8751755975   MARIA           GONZALEZ                  CA     90002727517
6B3B885638B133   KIMBERLY        COOPER                    UT     31047668563
6B3B9163372B29   JULIE           TRAN                      CO     90006471633
6B3B9251272482   SATOMI          FINCH                     PA     51071042512
6B3B96A6155941   ESTEBAN         REYES                     CA     49002626061
6B3B9A31791999   JUAN            MEZA GALVAN               NC     17018090317
6B3BB15195416B   GERARDO         QUIROZ                    OR     90010911519
6B3BB39768B334   ALEJANDRA       NAVA                      SC     90007753976
6B3BB44265B531   MICHELE         ROMERO                    NM     90006694426
6B3BB452A55941   LUCERO          LAZARO PEREZ              CA     90014904520
6B3BB495955973   JASON           JASON                     CA     48023744959
6B3BB65715B271   BRANDON         NELSON                    KY     90014176571
6B3BB91458B168   MYCHAL          JOSHONGEVA                UT     90003189145
6B3BBA83172B29   ALFONSO         CAMPOS                    CO     90015100831
6B411172261936   BRISA           GUTIERREZ                 CA     46021431722
6B41118175B392   MICHAEL         REYNOLDS                  OR     44504821817
6B41129257B395   JESSE           POCASANGRE                VA     90011272925
6B411293591592   CARLOS          SILVA                     TX     75041192935
6B411335472482   BRANDY          VALENTINE                 PA     90004243354
6B41158757B329   ANA             HUEZO                     VA     90009105875
6B41162155B238   MURPHY          SONG                      KY     68014446215
6B411652191894   GENARO          RAMIREZ                   OK     90005046521
6B411862A4B588   MICHAEL         TUCKER                    OK     90011108620
6B4119A7781644   KARLA           SMITH                     MO     90015339077
6B411A23172B27   SHERRY          GARDINE                   CO     33079050231
6B41257177B449   ROBERTO         MAYO                      NC     11002515717
6B412599124B6B   AARON           BARNETT                   PA     82084375991
6B412617461936   AMANDA          EDDLEMAN                  CA     90012936174
6B41271418B133   ALISHA          BENTLEY                   UT     90012857141
6B41273165B392   STEVE           BERNHARDT                 OR     44511617316
6B41296547B349   LAZARO          HERRERA                   VA     81027799654
6B412967933698   KERRI           LUCAS                     NC     90010989679
6B41342268B168   CATHY           HOSKINS                   UT     90006704226
6B41369A75594B   ROSALINDA       TORRES                    CA     90010516907
6B41371995B39B   SHAWN N JAMIE   NEWCOMB                   OR     90014837199
6B413821672B43   BRANDON         MACKAY                    CO     33060748216
6B41449754B27B   MISTY           MCKENZIE                  NE     90009314975
6B41454145B235   ELIZABETH       ABAD                      KY     90013005414
6B414656261979   KAREN           GRAY                      CA     90007086562
6B414793A5594B   ADRIANA         RAMIREZ                   CA     90015127930
6B414841951354   TIFFANY         POOLE                     OH     90014588419
6B414A27891894   TIFFANY         DECKER                    OK     90014340278
6B41519792B27B   JAZMINE         CUNNINGHAM                DC     90011601979
6B415342363646   JOHN            BOYLES                    MO     90015423423
6B416229655983   FELIPE          MARTINEZ                  CA     90011672296
6B416796672B43   MICHAEL         HUNTOON                   CO     90014337966
6B416951A61979   BRENDA          CAMIBELL                  CA     90003529510
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 636 of 2350


6B417116581644   ARETHA        TRENT                       MO     90014991165
6B41722784B531   SHERIE        THOMLINSON                  OK     90013542278
6B4174A765B39B   JOSE          MAGANA                      OR     44500464076
6B41752473168B   AUDREY        BURROW                      KS     90002735247
6B418177A5B39B   ROY           WILMOTH                     OR     90009591770
6B418263257538   ESTEVAN       GONZALEZ                    NM     35549762632
6B418322672B43   EMILIO        SALOMAN RODRIGUEZ           CO     90008893226
6B41855755B271   MELISSA       DREES                       KY     90012525575
6B41858235B531   JASMINE       CCALDERON                   NM     90009945823
6B418A34772B29   RIGOBERTO     MEDINA                      CO     90012620347
6B418A55555973   PATRICIA      DE LA CRUZ                  CA     90011410555
6B41937A77B46B   PRISCILLA     WHITE                       NC     90009643707
6B41B556972482   JASON         OTT                         PA     90010975569
6B41B5A8481644   JAMES         THOMAS                      KS     90014145084
6B41B793A5594B   ADRIANA       RAMIREZ                     CA     90015127930
6B41B82137B449   TRINA         STEELE                      NC     11002158213
6B41B854972B29   SETH          FICKAS                      CO     33070388549
6B41B866197B55   MICHAEL       LANGIANO                    CO     33016998661
6B421347A71976   ASHLEIGH      FROST                       CO     90014193470
6B42139A263646   NATALIA       VELASCO                     MO     90003833902
6B421A74881644   IJHANAI       COLLINS                     MO     90013650748
6B42228A172B29   ALYSHIA       MEDINA                      CO     90007112801
6B422324A72482   CLARESSA      HUPP                        PA     51010003240
6B422551691999   SOPHIA        PORTER                      NC     90006595516
6B42267445B531   ANA           MUNOZ                       NM     90013806744
6B42272A563646   STEPHANIE     HUSSEY                      MO     90012137205
6B422798571976   SERGIO        MORALES-ORONA               CO     38064927985
6B4231A6461979   FRANCISCO     RAMIREZ                     CA     90010271064
6B42354214B27B   BRENDA        DEVERS                      NE     27004725421
6B42367965B235   KELLY         GOODE                       KY     90014756796
6B42369999182B   ERON          KELLOGG                     OK     90012446999
6B424121A91894   JEFF          TILTON                      OK     21096631210
6B424296657538   VALERIA       MONTES                      NM     90013742966
6B42435545594B   CATALINA      REYES                       CA     90005803554
6B42436717B49B   JENNIFER      STEWART                     NC     11064443671
6B42446A455975   EUSEBIO       VASQUEZ                     CA     90015194604
6B42497A772B93   GABRIELA      AGUILERA                    CO     90010269707
6B424A9A633698   RUFINO        AGAMA                       NC     90015220906
6B425421691894   EDWARD        MONTOYA                     OK     21034544216
6B425515772B36   TAYLOR        ALISHOUSE                   CO     90010135157
6B42567545B531   EDWARD        SHISLER                     NM     36052736754
6B425A18833698   KEONA         MARSHALL                    NC     90010990188
6B42627355594B   KIMBERLY      VARGAS                      CA     90000982735
6B42669925B235   DARIEN        HICKERSON                   KY     90015286992
6B426A51272B36   AARON         GRAY                        CO     90012010512
6B427225891592   DANNY         URBINA                      TX     90013812258
6B42731A95B531   ELDER         CRUZ LOPEZ                  NM     36096133109
6B4276A3361979   HENRY         TILAPA                      CA     90014826033
6B4277A2772B36   PAULINA       HURTADO-OCAMPO              CO     33049557027
6B428284A71976   BEATRIZ       GONZALEZ                    CO     38072392840
6B428533A72B29   LUCAS         MOORE                       CO     90004785330
6B428567561964   MICHELE       MONEY                       CA     46064035675
6B42863925416B   RACHEL        WEBB-TRUJILLO               OR     90000826392
6B42866445B235   LYNDSAY       BARNES                      KY     90002726644
6B42875613168B   ARTHUR        GILL                        KS     90010957561
6B42876A15594B   VICTOR        PEREZ                       CA     90010487601
6B42887242B524   GLORIA        EDWARDS                     AL     90010948724
6B429332472482   JOAN          BAXTER                      PA     51090153324
6B429578863646   CAMERON       OWENS                       MO     90015205788
6B429744355975   DAVID         GONG                        CA     90014497443
6B42992A75594B   EDUARDO       GONZALEZ                    CA     90014169207
6B429A48455973   STEPHANIE     HOWARD                      CA     48098310484
6B42B43845B271   FRIEDA        BRADY                       KY     90010164384
6B4311A868166B   JAMES S       KING                        MO     90008491086
6B431789831453   GLENDA        BURLE                       MO     90011627898
6B431819A3168B   KIRSTIN       THOMAS                      KS     90010958190
6B43185193B359   BRIAN         LAWYER                      CO     33051638519
6B431956491894   VICTORIA      REYES                       OK     90015309564
6B431A1155B235   FELICIA       WATKINS                     KY     90014430115
6B431A9635B531   CHRISTOPHER   LUCERO                      NM     90011520963
6B43216825594B   JOSE          NERAZ                       CA     90011681682
6B432271672B43   MARIA         MEDINA                      CO     33052572716
6B432324A72482   CLARESSA      HUPP                        PA     51010003240
6B432371A61964   ELIZABETH     BARRAGAN                    CA     90013753710
6B43294925B344   MARY          DARROW                      OR     90003319492
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 637 of 2350


6B43312395B392   ANDY         PORTER                       OR     90004241239
6B433169161979   GLORIA       VALADEZ                      CA     90007441691
6B433781791592   JESUS        PENA                         TX     90014567817
6B433857191894   DENNIS       WOOD                         OK     21091298571
6B43387215B271   MEAGAN       SMITH                        KY     90007038721
6B433974261979   GLORIA       VALADEZ                      CA     90012589742
6B433991454B22   EILEEN       GRIFFIN                      VA     90011089914
6B43424228B133   RICKY        SMITH                        UT     90007492422
6B43425419184B   SIMONNE      MILLER                       OK     90007352541
6B4344A5151354   RYAN         FLACH                        OH     66006934051
6B43481AA61979   JESUS        REYES                        CA     90015128100
6B4349A5A55973   GAYLE        NORTON                       CA     90005369050
6B435185393128   TORREY       TYLER                        KY     90015351853
6B435199A5B39B   DAISEY       VALAZCO                      OR     90011261990
6B435217893762   ROGELIO      ZAMUDIO                      OH     90010182178
6B435237584392   SHIRLEY      ANCRUM                       SC     19054932375
6B43527A855975   ALMA         MADRIGAL                     CA     90001922708
6B43536155B271   DAVID        PERRY                        KY     90010403615
6B4359A332B27B   VERONICA     CROWELL                      DC     81029179033
6B436515761936   DAISY        NEGRON                       CA     90013965157
6B43699575416B   CHRIS        BAIRD                        OR     90011209957
6B437188585877   DONDREA      GARCIA                       CA     90002871885
6B4372A3172B29   MELESIO      NUNEZ                        CO     90005582031
6B4372A3372482   LACEY        BEATTIE                      PA     90011102033
6B437552351354   STACI        GROVE                        OH     90013895523
6B43768AA72B36   MARTIN       ZUNIGA                       CO     90013426800
6B437798A61936   ALEJANDRO    FELISCIAN JR                 CA     46085867980
6B4379A332B27B   VERONICA     CROWELL                      DC     81029179033
6B438351881661   ERICA        BANKS                        MO     90001053518
6B438471A4B27B   ALVARO       LEMOS                        IA     27059284710
6B4385A285B271   KRISTIE      NEWMAN                       KY     68018245028
6B438659293733   MARIE        SNIDER                       OH     64536046592
6B438735791592   JESSICA      PINON                        TX     75019117357
6B43896345416B   HALEY        LAUBE                        OR     90013849634
6B43912555416B   ALEJANDRA    MARTINEZ                     OR     47017861255
6B43938A171976   JOSEPH       MONTOYA                      CO     90014243801
6B43957365B39B   ANALILIA     ROSAS-VALENCIA               OR     90010155736
6B439581285991   BRANDON      PARTIN                       KY     90009675812
6B439745761936   MONICA       AVILA                        CA     90014827457
6B43983347B449   MARLON       SIRRON                       NC     11086508334
6B43B35195B271   ROLANDO      ALMENARE                     KY     90012873519
6B43B87A78B168   MARC         LEWIS                        UT     90010938707
6B43BA29A5416B   ROSA         GUERRA                       OR     90012180290
6B441223572B29   CAROLE       WATERMAN                     CO     90004732235
6B441313991894   MARIBEL      MURILLO                      OK     90012263139
6B441556972482   JASON        OTT                          PA     90010975569
6B44158958166B   ROSELIN      SMITH                        MO     90012135895
6B44185754B588   EMILY        HELTCEL                      OK     90010948575
6B441A22A2B243   CHRISSY      STEPHENSON                   DC     90008860220
6B441A7965B39B   JUAN         SIQUINA HERNANDEZ            OR     44564070796
6B441A84261979   MARIA        HUATO                        CA     90010200842
6B442188872B29   MATINA       ORTIZ                        CO     90012851888
6B44277358B171   CHRISTINA    CHAGAS                       UT     90012157735
6B442861877538   THEO         STEWART                      NV     90010978618
6B442893181644   SHERRY       BROWN                        MO     29001628931
6B4428A8231453   CALVESTER    PULLEM                       MO     90015028082
6B44292385B531   NICHOLAS     WAGNER                       NM     36084229238
6B443356833698   GLORIA       HOLMAN                       NC     12063543568
6B443521772482   DIANA        BLUMERAITIS                  PA     51044255217
6B44436A97B442   WILSON       HERNANDEZ                    NC     90003223609
6B444578361964   FRANIA       CERVANTES                    CA     90005585783
6B444874957538   YESSICA      GOMEZ                        NM     90008658749
6B444979481644   AGGENIA      PETTUS                       MO     90011219794
6B44559928B169   RHONDA       SMITH                        UT     90010225992
6B4456A953B359   AMY          ARELLANO                     CO     33019566095
6B445754A85821   TEMESGEN     ABRAHAM                      CA     90002947540
6B445868241265   RICHARD      KIESTER                      PA     90000718682
6B446153A33698   ARMIDA       GARCIA                       NC     90015011530
6B446258A4B27B   OLGA         CHAIDEZ                      NE     90000212580
6B44658198B168   BRITNIEANE   GUERRERO                     UT     31084305819
6B446787342335   BILLY        BRADFORD                     GA     90009187873
6B4471A457B329   IDALIA       ALFARO                       VA     90005651045
6B447283255975   TRINADAD     BRACAMONTES                  CA     48061552832
6B44745455594B   JAVIER       REYES                        CA     90005804545
6B44751565416B   GENNI        DEMARIS                      OR     90012555156
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 638 of 2350


6B44777915B344   ALFREDO          VALENCIA                 OR     44579847791
6B447A1934B588   AMANDA           DUKE                     OK     90014570193
6B448545491592   ALAMA            CHICO                    TX     90005815454
6B448711886593   JUDY             OBELIZ VALLADARES        TN     90015447118
6B448A2474B588   AGUSTIA          RAMIREZ                  OK     21552860247
6B4491A5361979   MARTHA           SILVIA                   CA     90013011053
6B44939AA86435   JOEY             PATTERSON                SC     90014543900
6B449722472B43   THOMAS           .JOJOLA                  CO     33083747224
6B44976318166B   SHERRY           PRESLEY                  MO     29037147631
6B44991593168B   OSCAR            MENDEZ                   KS     90014849159
6B44B16227B442   BRITTANY         ENOCH                    NC     90002851622
6B44B294A5B271   GEORGE           PUMPHREY SR              KY     68061152940
6B44B2A2872B29   ALEIDA           SAENZ                    CO     90012372028
6B44B348672B36   ROSENDO          REYES                    CO     33078153486
6B44B432191894   BYRON            WILLIAMS                 OK     90004624321
6B44B49A25B39B   MARYCRUZ         ALVAREZ                  OR     90002354902
6B44B597491592   GERARDA          GRAJEDA                  TX     75060205974
6B44B641661964   MIGUEL           DIAZ                     CA     90012886416
6B44B94114B588   ESPERNAZA        MORENO                   OK     90010969411
6B44BA43855941   ALEJANDRA        HERNANDEZ                CA     90013000438
6B44BAA425594B   JOSE             VASQUEZ                  CA     90011710042
6B451112391894   DAVID            KIMBROUGH                OK     90003541123
6B45152288B168   SHERRY           RAMIREZ-RUIZ             UT     31083265228
6B451535291592   NORMA            GONZALEZ                 TX     75006045352
6B451A57963646   KRISTINA         DIEDRA                   MO     90015470579
6B451A57A97B64   JEFF             BENSON                   CO     90003260570
6B451A77961936   ANIA             OLIVIER                  CA     90012680779
6B451A89351354   MANUEL           RIVERA                   OH     90013930893
6B45242835B235   RONNIE           SPADIE                   KY     90009054283
6B452621661979   XOCHITL          PEREZ                    CA     46016786216
6B45262685B235   JAMES            SUTHERLAND               KY     68024866268
6B45284525B271   COTRTNEY         SWAIN                    KY     90014728452
6B452A7295594B   JAIME            MARTINEZ                 CA     90014720729
6B453332633698   LAKEDIA          KELLAM                   NC     90011123326
6B453721A71976   ROSALIE          ARAGON                   CO     38035647210
6B45384365594B   EMMANUAL         AYON                     CA     90000448436
6B453918363646   SARAH            KYLE                     MO     90006279183
6B453A12376B84   HERMINIO         BUENAVIDEZ               CA     90006790123
6B45419143363B   ORFILIO          BENITEZ                  NC     90012521914
6B45494AA61979   FERNANDO         NAVARRO                  CA     90012139400
6B454A8A37B46B   MARIA            MENDOZA                  NC     90010250803
6B45533125594B   ALFREDO          VARABAJA                 CA     90013423312
6B455397961979   LAURA            GUERRERO                 CA     90014803979
6B455436472482   SONJA            SHIRLEY                  PA     90013074364
6B455448361936   JUANA            VERONICA DOMINGUEZ       CA     90011774483
6B455542491894   JASON            MORROW                   OK     90015375424
6B455964676B84   JUAN             MANUEL                   CA     90004079646
6B456129357538   DANA             GARCIA                   NM     90011711293
6B456175791592   MARIA            RAMIREZ                  TX     90000491757
6B45647185B235   HOLLY            HARRINGTON               KY     90008104718
6B45722515416B   JOSH             MCCLELLAN                OR     47000142251
6B4572A2761979   TIFANY           MARTIN                   CA     90004282027
6B457315631453   THERESA          SWINSON                  MO     90015053156
6B45752615B531   GUILLERMO        NUNO                     NM     36096985261
6B45756A65594B   BRENDA           LOPEZ                    CA     90000995606
6B457848A7B46B   LINDA            MELTON                   NC     11030678480
6B4578A235B271   ERIC             HAMILTON                 KY     90014818023
6B45812612B27B   RYAN             RAMOTAR                  DC     90015111261
6B458456971946   RENEE            JOHNSON                  CO     90011624569
6B458774272482   VIVECA           JONES                    PA     51023277742
6B4599A3655941   VIRGINIA         NEGRETE                  CA     49045499036
6B4599A9A5416B   ALICIA           JUAREZ                   OR     90012509090
6B45B39A933698   MICAYALA         BINNS                    NC     90012843909
6B45B58475B344   CATHERINE        CROWELL                  OR     44517855847
6B45B5A154B588   MANDY            MURRY                    OK     90014455015
6B45B6A8972B36   BEATRIZ          MARTINEZ                 CO     90009636089
6B46148392B27B   HEIDY            CHAVARRIA                VA     90001254839
6B46159485416B   SHANE            SMITH                    OR     90013325948
6B461771991894   JASON            ELLIS                    OK     90010467719
6B462229A72B27   GERALD           COWPER                   CO     90009602290
6B462553851334   MELISSA          SINGLETON                OH     90007465538
6B462561772B43   MELVIN EDUARDO   OCHOA                    CO     90004985617
6B46264195B271   DAWN             MIDDLETON                KY     90010406419
6B462A1575716B   JOSE             REYES                    VA     90008140157
6B463154357538   MARY             LEAVY                    NM     90012041543
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 639 of 2350


6B463195A61975   ERNESTO         MARTINEZ                  CA     46035341950
6B4632A1655975   THOMAS          GAHART                    CA     90012892016
6B463448A5B344   LASHONDA        ROGERS                    OR     90009664480
6B4646A7255973   LUANN           PEDRONCELLI               CA     90014886072
6B46571547B449   DARRYL          BROWN                     NC     90014147154
6B465848981644   LUZ             MARTINEZ                  KS     90007958489
6B466277591999   JOSE            SIMEON                    NC     90004502775
6B4662A168B168   JOANN           DEANDA                    UT     31071922016
6B46677A971976   NAZARIO         MEDINA                    CO     90012337709
6B46682865B271   VERONICA        TOLBERT                   KY     90012038286
6B466991971976   NAZARIO         MEDINA                    CO     90008389919
6B467159871976   WILFRED         CORDOVA                   CO     90015021598
6B467A19A63646   JOSH            LADENBERGER               MO     90014880190
6B467A75693751   TIMOTHY         YOUNG                     OH     90012060756
6B467A89351354   MANUEL          RIVERA                    OH     90013930893
6B4682A2961924   BOB             HAMMOND                   CA     90002492029
6B468342955973   TONY            MICHELL                   CA     48010433429
6B468536955941   MARTHA          ORTIZ                     CA     90013635369
6B468584172B27   JACK            PORTER                    CO     33027455841
6B468882161964   ANA             ITUARTE                   CA     90009518821
6B46911A18B169   PERLA           LOEZA                     UT     31063971101
6B469175785821   DERRICK         MCGOWIAN                  CA     90009731757
6B46922165416B   JENNIFER        JELLISON                  OR     90010842216
6B46929125594B   BIANCA          MOLINA                    CA     90011962912
6B4693AA591999   VICKIE DENELL   PARKER                    NC     90004503005
6B469493733698   MIKE            WILLIAMS                  NC     90003324937
6B469685555975   FRANKIE         SOTO                      CA     90013136855
6B46969993168B   JENNIFER        CRAWFORD                  KS     90014656999
6B469768472B29   MARISOL         DE DIOS                   CO     33032507684
6B469A4A58B133   LUIS            HERNANDEZ                 UT     31017710405
6B46B317572B43   SAUNDRA         MOORE                     CO     90011483175
6B47169198B169   THOMAS          BENNETT                   UT     31049396919
6B471A11161964   MARIBEL         GOMEZ                     CA     90010910111
6B472389355975   JOEY            RIVERA                    CA     90010323893
6B472391133698   ANGELA          HAMILTON                  NC     90014543911
6B4724AA463646   MARGUERITE      ARECHEDERRA               MO     90012344004
6B472681485821   JEWELL          CHRIS                     CA     90011796814
6B472688661936   DAVID           AGUILA                    CA     90012936886
6B4726A3391592   MARCO           CORONEL                   TX     90013876033
6B472993591285   FRANCESCA       CRAIG                     GA     90008669935
6B473389A71976   NICKOLE         SANDERS                   CO     38068583890
6B47342344B542   ROBERT          HENSON                    OK     90008354234
6B4735A995594B   MANUEL          SANCHEZ                   CA     90014225099
6B473646351342   CHRISTINA       MORGAN                    OH     90008726463
6B473795691975   ANGELA          GRIMES                    NC     90001967956
6B4741AA47B46B   CYNTHIA         MCINNIS                   NC     11095541004
6B47455A161964   CHRISTOPHER     SOTO                      CA     90014005501
6B474651554128   JESUS           ECHEVERIA DELGADO         OR     47085806515
6B474769172B43   GONZALO         RAMOS                     CO     90006677691
6B47484265416B   PATRICK         ALLEN                     OR     90010978426
6B474A68555975   PERLA           ALCARAZ                   CA     90015310685
6B475178824B7B   BERNARD         MATHEWS                   DC     90011351788
6B475244881644   KIMBERLY        HERNANDEZ                 MO     90012802448
6B475453861936   NICOLAS         DANNER                    CA     90011174538
6B47548A27B46B   KATY            FORAN                     NC     90013454802
6B475815157538   ELVIRA          WILSON                    NM     35504218151
6B4758A1272482   JESSICA         KELLY                     PA     90001918012
6B4763A195B39B   TROY            HUNTER                    OR     44562893019
6B47656A48B133   KAYLEE          FRYE                      UT     31063025604
6B47657875B235   MICHELLE        TURNER                    KY     90005465787
6B47678A78B168   ERICLEE         PETERSON                  UT     90004407807
6B47691A763646   WILAMINA        TORREZ                    MO     90013079107
6B476993792824   DANIEL          BELTRAN                   AZ     90015539937
6B476A9724B588   DENNIS          PLEETS                    OK     90013870972
6B477162172B36   MAYRA           JIMENEZ                   CO     33046751621
6B477454833698   FELIPA          TORIBIO-SOTELO            NC     12076904548
6B477651663646   PAYGO           IVR ACTIVATION            MO     90015066516
6B47814A15B531   ROSINA          TURNER                    NM     36058601401
6B478224491592   AMPARO          WOO                       TX     90013602244
6B478488961979   MICHAEL         ELIZONDO                  CA     90013954889
6B478A56155975   AMY             CHEATWOOD                 CA     90014000561
6B479564A91975   ANDREA          WILLIAMS                  NC     17071505640
6B47B234133698   YALENA          SMITH                     NC     90013392341
6B47B297285821   PHILIP          BATES                     CA     90003222972
6B47B65A572B29   CARMEN          MCKINNEY                  CO     90012906505
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 640 of 2350


6B47B74A28166B   ALFONSO       MORALES                     MO     29004257402
6B47B79788B169   GARY          ORTON                       UT     31067407978
6B481283342335   REGINALD      BROWN                       GA     90012052833
6B481365671976   SANDRA        VIGIL                       CO     90015133656
6B481481951354   DERRICK       HINES                       OH     90011214819
6B481612591999   MARIANY       SIERRA                      NC     17089726125
6B48174345B531   ANITA         ZAMORA                      NM     90013547434
6B481A59781644   LELA          CONLEY                      MO     29063590597
6B481A61391592   MARIA         DURON                       TX     75052580613
6B4824A2697B64   MELISSA       SEBRASKY                    CO     39050064026
6B482673671976   CHELBY        SANTIAGO                    CO     90012806736
6B48279988B133   JACOB         CALLOWAY                    UT     90005207998
6B48316795416B   CHERYL        RATTENBORG                  OR     90002621679
6B483247A55983   OSCAR         TORRES                      CA     90007562470
6B483482357538   ASHLEY        GOMEZ                       NM     90012714823
6B4837A5672482   JEFFREY       KACZOR                      PA     51016567056
6B483A4325B39B   HELIODORA     DELGADO                     OR     44556130432
6B483A99651354   AALIYAH       KITE                        OH     90013930996
6B48414245B235   PAUL          TUCKER                      KY     90004351424
6B4844A8761979   MICHAEL       BENHUR                      CA     90006914087
6B48466184B588   JEZREEL       LOPEZ                       OK     90001586618
6B484999655975   ALEXANDRA     MAGANA                      CA     90013189996
6B48519425B271   DEAN          ELLIS                       KY     68081451942
6B48533A281644   HEATHER       LIGHT                       MO     90012883302
6B485394387B31   RICKEY        TOWNSEND                    AR     28048093943
6B48541648166B   RAYA          FINCH                       MO     29074464164
6B485533233698   ALICIA        MCDONALD                    NC     12043465332
6B4864A8A31453   KAYLA         MOOR                        MO     90015054080
6B486519755975   TARA          MARTIN                      CA     90012055197
6B48668998166B   VALENTINO     ROLLIE                      MO     90009216899
6B486787361979   ELIJAH        SIMS                        CA     90004237873
6B486821A4B27B   JEANI         NORDSTROM                   NE     27021688210
6B486947281644   LORI          HAMILTON                    MO     29062169472
6B486A38655973   JESSICA       GUZMAN                      CA     90014950386
6B48733358B168   CHRISTOPHER   GUIDA                       UT     90004843335
6B48758213168B   SCOTT         SAINCLAIR                   KS     90009275821
6B488279955941   JORGE         AVALOS                      CA     49050772799
6B48838914B588   FABIOLA       RIOSA                       OK     90009193891
6B488632324B7B   SABRINA       HOLDEN                      DC     90012916323
6B488732961979   GERARDO       GARCIA                      CA     90010377329
6B488891272B43   ANTONIO       ALMANZA                     CO     90012918912
6B48941334B582   DENIKA        PLAYER                      OK     90012004133
6B48949A357538   RAYMOND       TRUJILLO                    NM     90012494903
6B48961344B27B   MEGAN         ROAN                        NE     90012386134
6B489647772B29   MARIA         RODRIGUEZ                   CO     90001836477
6B48983557B449   SANDRA        CATHEY                      NC     90015268355
6B48B195272482   JUDY          MOWERY                      PA     90013971952
6B48B251872B43   ALBERTO       LEON                        CO     33017992518
6B48B266291894   ABIGAIL       RUVALCABA                   OK     90011442662
6B48B3A8284392   RANDOLPH      GRANT                       SC     90011233082
6B48B5A412B27B   KEITH         MORANT                      DC     90014075041
6B491153172B29   VELIA         MEDRANO                     CO     33043991531
6B491161A81644   MICHAEL       COLLINS                     MO     90014991610
6B49128648B168   FRANK         TERKELSON                   UT     31096052864
6B49136294B542   SUBAH         HOLLINS                     OK     21518073629
6B491391491592   BARRON        ZULEMA                      TX     90005033914
6B491852154128   TONI          PLACE                       OR     47050608521
6B491A74857538   DENISE        CHACON                      NM     90011460748
6B492336591894   SANTIAGO      HANAN                       OK     90012263365
6B4925A3231453   ORA           MCKINNEY                    MO     90015155032
6B492612991552   ENRIQUE       PADILLA                     TX     90009646129
6B493232791592   RENE          HERNANDEZ                   TX     75077492327
6B49337925B39B   DOMINGO       SANCHEZ                     OR     90012543792
6B493442372B29   JANET         REID                        CO     33092954423
6B493753631453   SHAWNTEZ      THOMPSON                    MO     27567197536
6B493977185821   YENEDI        OROZCO                      CA     90015259771
6B49412285B235   KAREN         GIBSON                      KY     90014171228
6B4942A2755941   MELVIN        LIZAMA                      CA     90012982027
6B494941961979   ROSE          WASHINGTON                  CA     90007919419
6B494A56A72B27   MICHELL       BROWN                       CO     90008420560
6B49513697B46B   MICK          JEEMS                       NC     90007741369
6B495231672B36   SOM           TAMANG                      CO     90001992316
6B495237671976   GLENDA        SEARS                       CO     90012132376
6B495A8737B653   BYRON         BRASSELL                    GA     15092480873
6B495AA585B235   THOMAS        STANFORD                    KY     90014270058
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 641 of 2350


6B49611A261936   SAMUEL         HERNANDEZ                  CA     90013371102
6B496248851354   WIEDA          WILSON                     OH     90002512488
6B49671A891525   MARIA          MARTINEZ                   TX     90008327108
6B49737363168B   ELIZABETH      GRIFFITH                   KS     22083383736
6B497482555973   PEDRO          GUTIERREZ                  CA     90013714825
6B4974A4163646   JENNIFER       EVANS                      MO     27575684041
6B49753475594B   JP             VILLAGOMEZ                 CA     90013945347
6B497A22772B27   NICHELL        KEYS                       CO     90014240227
6B497A75571976   ANGELA         GONZALES                   CO     90008390755
6B4983A4461979   AMBER          JIMENEZ                    CA     90001963044
6B498847672B43   CAROLINE       TOBLIN                     CO     90015118476
6B498A33671976   TONI           HERNANDEZ                  CO     90014730336
6B498A73161961   CATALINA       REDMAN                     CA     90003040731
6B499573772B27   LAWRENCE       RICE                       CO     90012935737
6B499626361979   EDUARDO        GARCIA                     CA     46085036263
6B499924291894   WILLIAM        RECTOR                     OK     90013739242
6B49B55415B271   ANGEL          BERMUDEZ OCHOA             KY     68091125541
6B49B668A55973   JANA           LEE                        CA     90014866680
6B49B755355975   ARMANDO        CERVANTES                  CA     90013077553
6B49B787161422   DEVIN          MINER                      OH     90015387871
6B49B937624B7B   DORENE         TONY                       MD     90015519376
6B49BA94791894   ALEJANDRINA    RODRIGUEZ                  OK     90009540947
6B4B135714B27B   GILBERT        MIRENDA                    NE     27065933571
6B4B1495661936   TIM            LOPEZ                      CA     90013864956
6B4B156917B46B   BRANDI         MORRISON                   NC     90013135691
6B4B162915594B   JAZMIN         AVALOS                     CA     90011486291
6B4B2129A55975   RENEE          LOPEZ                      CA     48063571290
6B4B2337681644   HALEY          KING                       MO     90009743376
6B4B2492481645   DEBBIE         MOONEY                     MO     90007564924
6B4B2667A72B43   CHRISTOPHER    TRUJILLO                   CO     90010966670
6B4B272A65B531   ALBERTO        GARCIA                     NM     90013497206
6B4B292759715B   ALISHA         SANTOS                     OR     90007079275
6B4B29A5885821   LAURA          MUNOS                      CA     90015099058
6B4B2A55754128   BONI           CLYDE                      AZ     90000840557
6B4B3836271976   MIRANDA        MARTINEZ                   CO     90013888362
6B4B389925B392   CHERYL         TODD                       OR     44577678992
6B4B42A655B271   HEATHER        GRIFFIN                    KY     90008342065
6B4B475A25594B   FERNANDO       VARGAS                     CA     90015237502
6B4B4956672B43   HUGO           CALVA RAMIREZ              CO     90012409566
6B4B5685655941   ERIC           FOSTER                     CA     90011756856
6B4B56A1331453   AMY            WASHINGTON                 MO     90006686013
6B4B626A472B29   CHRISTINE      SAVARESE                   CO     90014112604
6B4B6339791592   MONICA         SALCIDO                    TX     75090963397
6B4B638675B531   YVETTE         RODRIGUEZ                  NM     90011043867
6B4B652A772B29   JESSICA        MARIE                      CO     90012015207
6B4B6748A71976   JOSEPH         JIRON                      CO     90014577480
6B4B6952A5B38B   ANGELA         STUDER                     OR     90010739520
6B4B696645594B   ANGELITO       ROMERO                     CA     48023579664
6B4B6A1395B39B   MARGARITO      MARTINEZ                   OR     44588080139
6B4B6A18451354   GERARDO        CORTEZ-AVILEZ              OH     66062060184
6B4B72A1963646   STEVE          PLOWMAN                    MO     90014492019
6B4B744635416B   RAECHEL        SCHARF                     OR     47023604463
6B4B7522461979   RAMIRO         PADILLA                    CA     46051095224
6B4B7949491592   YOLANDA        CARRASCO                   TX     90010369494
6B4B8363897122   RODRIGO        MARTINEZ                   OR     90010863638
6B4B956A677538   JAIME          LERMA                      NV     90006865606
6B4B9A41471976   MICHELLE       TRUJILLO                   CO     90012920414
6B4BB257147996   RANDY          CARR                       AR     25011412571
6B4BB378363646   MICHAEL        JONES                      MO     90015383783
6B4BB426255975   MELISSA        CARRANZA                   CA     90013934262
6B4BB9A6331453   SEAN           STRICKLAND                 MO     90008729063
6B4BBA77761979   JESUS          VELAZQUEZ                  CA     90010730777
6B511149A5B39B   RICHARD        KEENE                      OR     90003151490
6B511A44155941   PHILLIP        BAUM                       CA     90014760441
6B512273155975   ANTHONY        CONTRERAS                  CA     90013972731
6B512875991592   MABEL          CEDILLO                    TX     75064908759
6B512876131453   SONIA          LYTLE                      MO     90013598761
6B5128AA755983   JESS           ZAMORA                     CA     90014878007
6B513145691525   JAVIER         MALDONADO                  TX     90012051456
6B51321167B46B   CARLOS         RICHARDSON                 NC     90001902116
6B5133A995B271   LESLIE         COOLIDGE                   KY     90012003099
6B51362345B531   VICTOR         MARTINEZ                   NM     36035236234
6B513747857538   IMELDA ADELA   CARRASCO                   NM     90008667478
6B513897455941   LEONARDA       PLACIDO                    CA     49005328974
6B514612571976   JENNIFER       CORDOVA                    CO     90011926125
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 642 of 2350


6B514A1A851342   GARY               ANDERSON               OH     90005520108
6B514A55455973   JESUS              LARA- ALVAREZ          CA     90013590554
6B515446172B27   EDDER              HERNANDEZ              CO     90010314461
6B515617A72B36   RAUL               NAVA                   CO     90014856170
6B515935931453   NICHOLS            MCCLANAHAN             MO     90009529359
6B51628485594B   ARNULFO            DELCHURO               CA     90010542848
6B51691487B449   ESTHER             GONZALES               SC     11097119148
6B516AA3155973   DARREN             GARCIA                 CA     90003390031
6B51711A85B531   JOSE               PATZAN                 NM     90013631108
6B517429957B76   MARY               KEARNEY                PA     90013934299
6B51748244B27B   MARIA              LUNA                   NE     27087354824
6B51748615B392   DONOVAN            ANDERSEN               OR     90013184861
6B517487755941   ANDREA             RODRIGUEZ              CA     90012294877
6B517A47381644   JESSICA            SHARP                  MO     90009590473
6B518426161964   ARACELI            LOPEZ                  CA     46008934261
6B51853744B588   TACHINNA           CRUMPTON               OK     90015165374
6B51923365594B   MARIA              ARMAS                  CA     90014722336
6B519284A72B29   CATHRYN            SECORD                 CO     33082982840
6B51933868B168   AURA               DE PAZ                 UT     90009703386
6B519558455973   MANUEL             REYES                  CA     90013805584
6B519696761924   ROSEMARIE          JASSEN                 CA     90013866967
6B519947A4B588   JOE                BROWN                  OK     90013689470
6B51B16818B168   WILLIAM            ESCOBAR                UT     31054141681
6B51B446655973   JENINNE            RODEN                  CA     48073674466
6B51B639191592   JACKIE             MONCLOA                OK     90013536391
6B51B759561964   MANUELA CRISTINA   TORRES                 CA     90012107595
6B51B81575B235   RYAN               SELLERS                KY     90015468157
6B51BA39261979   JAIME              DIAZ                   CA     90000740392
6B521177A91592   ALEXA              PROVENCIO              TX     75097351770
6B521217961979   VIRGINIA           GUTIERREZ              CA     90015122179
6B52126448B169   OLY                FERAGEN                UT     31080722644
6B521877433698   BRENDA             WILLLIAMS              NC     90007898774
6B52268424B267   LESLIE             MELICHAR               NE     27079126842
6B5241A335B39B   LETICIA            CASTANEDA              OR     44549471033
6B524528561979   JULIAN             FLORES                 CA     90013955285
6B524661797B64   BREANNE            PORTER                 CO     90006776617
6B52469988166B   RAMIRO             MARTINEZ               MO     29018576998
6B524747857538   IMELDA ADELA       CARRASCO               NM     90008667478
6B524812761979   YULIANA            ROCHA                  CA     90015148127
6B524A1994B588   DOMINICA           ROJO                   OK     90000110199
6B525488461964   JOSE               SAUSEDO                CA     90011194884
6B525721261979   WENDY              LUCIA                  CA     90008517212
6B526324691592   LEOPOLDO           RAMIREZ                TX     90013093246
6B526372A5B271   THINH              NGUYEN                 KY     68007683720
6B52657558166B   EMOGENE            SHUTGREY               MO     29007625755
6B52675694B588   NAKIDA             CLACK                  OK     21531167569
6B52686657B46B   MARGARET           COLE                   NC     90002978665
6B526A7417B761   NOAH               OKELLY                 CA     90014100741
6B52726398B133   CARESSA            LONDON                 UT     90011872639
6B527632272B29   ISAIAS             ISLAS                  CO     90003346322
6B52785288166B   TERRYON            STRICKLAND             MO     29000918528
6B527985A77538   IVAN               AQUIL                  NV     90006929850
6B527A2A891894   ABRAHAM            REYES                  OK     90010130208
6B52843238B133   KALONA             LUNNEBERG              UT     90002364323
6B52876485594B   BEATRIZ            HERNANDEZ              CA     90012617648
6B52877238B133   JOE                GARCIA                 UT     90013207723
6B528872231453   ARIFUL             ISLAM                  MO     90015168722
6B528872872482   BRANDON            RHODES                 PA     90008038728
6B528943172B36   MARY LOU           ESPINOSA               CO     90004779431
6B529599181644   MEISHA             LANE                   MO     29089385991
6B52984345594B   JUAN               GUITERREZ              CA     90001158434
6B52984A855941   CHRISTIAN          NONATO                 CA     49043848408
6B529912172B29   SHILAH             MARTINEZ               CO     33002799121
6B529A34372B43   XITLALY            RUIZ                   CO     33067540343
6B52B249A61979   JOSE VICENTE       ROCHA                  CA     90014902490
6B52B42733167B   STEPHANIE          WALTERS                KS     90007464273
6B52B83955B271   CARLOS             GONZALEZ               KY     90011268395
6B531311563646   CHRISTOPHER        BECK                   MO     90012903115
6B531336957538   JUAN               FLORENTINO             NM     90013743369
6B531585171976   JACQUELINE         RUSSEAU                CO     38088285851
6B5315A3751354   JACKIE             FICKLIN                OH     66006965037
6B531615977538   BRITTANY           SYLVESTER              NV     90001406159
6B53192755416B   JASON              LAMBERT                OR     90011769275
6B5321A4572B36   ARTUR              TRUNOV                 CO     90013931045
6B5321A6A51354   GREGORY            LOVE                   OH     66063811060
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 643 of 2350


6B532361755975   JOSE           ORTEGA                     CA     90010813617
6B53288A285821   CRISTOBAL      BARTOLO DIEGO              CA     90012878802
6B532979457538   JOYCE          GONZALEZ                   NM     90013749794
6B533529231453   VANESA         GARCIA                     MO     90015155292
6B533672155973   KIMBERELY      SMITH                      CA     90014336721
6B5336A2891975   CRYSTLE        HORTON                     NC     90008556028
6B53394A391894   JAVON          OVERSTREET                 OK     90009459403
6B53429612B27B   DENISE         ELWOOD                     DC     90012922961
6B534458361979   DINA           RANGEL                     CA     90015054583
6B53459A561964   GAELLE         VIRIOT                     CA     90001295905
6B5345A467B46B   CHERRY         WILLIAM                    NC     11053035046
6B534682655935   TERESA         TRISTAN                    CA     90008676826
6B53471948B172   MICHEAL        COADY                      UT     90006117194
6B534778A5B531   MARIA          VILLALOBOS                 NM     36016537780
6B534832191592   JOSEPH         MCCROCKLIN                 TX     90002868321
6B534836A7B46B   KATURA         JACKSON                    NC     90014728360
6B534893A72482   CAROLE         CARRICATO                  PA     51015828930
6B53511586196B   MARIANO        RODRIGUEZ                  CA     46010451158
6B535234A47996   LYNETTE        SCHADLE                    AR     90001992340
6B535536351354   ALEXANDER      ROLSEN                     OH     90013895363
6B53578255594B   DABID          SOLORIO                    CA     90010187825
6B536116547986   MELINDA        HUTCHINS                   AR     25015931165
6B536139272B29   NELSON OMAR    PEREZ HERNANDEZ            CO     90011151392
6B536272A5B531   SEAN           WILSON                     NM     90013722720
6B536284571976   SUNNY          LYON                       CO     90011882845
6B536324691592   LEOPOLDO       RAMIREZ                    TX     90013093246
6B5365A8191894   KIEANNA        BOWLDS                     OK     90010125081
6B5366AA131453   NICOLE         RIGGS                      MO     90015156001
6B536A57955941   MARY           MARTINA                    CA     90013000579
6B5371A325B235   URIAH          WOMACK                     KY     90013961032
6B53723838B133   TONYA          SANDOVAL                   UT     90003692383
6B5382A7861979   RICHARD        PAVAGEAU                   CA     90009152078
6B53881385416B   RANDY          STEVENS                    OR     90014858138
6B538A1815B235   AARON          MAUPIN                     KY     90013700181
6B539513381644   ANNMARIE       CRAIG                      MO     90012335133
6B53967694B588   STACY          HESS                       OK     90012346769
6B53986A261936   WILI           SOLORZANO                  CA     90007488602
6B539915761979   JANINE         GALEANO                    CA     46078519157
6B53B893755941   MARIA          JUAREZ                     CA     90013798937
6B53B8A435B271   ROBERT         JUDSON                     KY     90005718043
6B541318761936   STEPHEN        JENNINGS                   CA     90011923187
6B541541761979   JUAN           OLIVARES VARGAS            CA     90013955417
6B54165115416B   KYLE           RICH                       OR     47062426511
6B541655931453   FORREST        FIELDS                     MO     90015156559
6B542147551322   KEN            MERIDIATH                  OH     90007911475
6B542222872B36   CESAR          BARRIOS                    CO     90012902228
6B542351971976   DANIELA        PLASCENCIA                 CO     90007933519
6B54254938B169   JAYMOND        ARCHULETA                  UT     90000505493
6B542568355941   ALEXIS         CARDENAS GOMEZ             CA     90013815683
6B542662231453   JENNIFER       PERREY                     MO     90015156622
6B542A2465B271   LOLA           NIXON                      KY     90012850246
6B543338761936   RICARDO        ROSAS                      CA     90010313387
6B5435A987B449   TIRMARY        GARCIA                     NC     11005415098
6B54389A672B36   LUIS           DOMINGUEZ                  CO     90007248906
6B543969881644   HERMELINDA     BARILLAS                   MO     29018199698
6B543A3AA5B392   KATRINA        WILD                       OR     44528130300
6B54412475B39B   MONICA         ZHANG                      OR     44535651247
6B544323372B43   ALEJANDRO      HERNANDEZ                  CO     33057743233
6B54489515B392   FRANCISCO      HERNANDEZ                  OR     90003158951
6B5453A7661961   ROSIE          MONTIJO                    CA     46016663076
6B54565582B27B   IESHA          THOMAS                     DC     90011026558
6B545758172B27   DEMIKA         DURAN                      CO     33088907581
6B545769684392   KATHY          NELSON                     SC     90008547696
6B545A45347821   CANDYCE        DAVIS                      GA     14015200453
6B547112855941   ELIZABETH      RUBIO                      CA     90013001128
6B54724A75594B   CESAR          AVILA                      CA     90014722407
6B54756975B235   CASSANDRA      TURNER                     KY     90013675697
6B54765428166B   SARA           GURSKI                     MO     90011446542
6B54769785B39B   HOLLIDAY       ARIZONA                    OR     90011126978
6B54815328B133   MICHELLE       MORGAN                     UT     90013481532
6B54873A45416B   KRISTY         VOLESKY                    OR     90011417304
6B548747857538   IMELDA ADELA   CARRASCO                   NM     90008667478
6B548773591894   MATRTHA        LOZANO                     OK     90010917735
6B548A17371976   GARY           RAMIREZ                    CO     90000450173
6B548A2728B133   MICHELLE       MORGAN                     UT     31009930272
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 644 of 2350


6B548A63761979   DAVID           PECK                      CA     90005090637
6B549A99291894   OSCAR           ZAMARRIPA                 OK     90008530992
6B54B2A4572B29   MIGUEL          GONZALEZ                  CO     33065392045
6B54B5A887B46B   GLORIA          SMITH                     NC     11081435088
6B54B635257538   MARIA           MARTINEZ                  NM     90001216352
6B54B6A1772B43   FELIX           PEREZ                     CO     90010776017
6B54B814871976   RITA            DELACRUZ                  CO     38049148148
6B54BA74491894   KEISHA          WOODS                     OK     90014060744
6B551249691989   ISIDRO          TREJO                     NC     90013642496
6B551A39172B29   SUNSHINE        BRANNIGAN                 CO     33041970391
6B55218944B27B   CONNIE          BUCK                      IA     27044321894
6B55253944B588   GEORGIA         FLOWERS                   OK     90012465394
6B552A68291592   OSCAR           SANTANA                   TX     90014990682
6B55324928B334   SAUL            BENITEZ-ROMERO            SC     14589662492
6B553418442335   JENNIFER        YOUNG                     GA     90014054184
6B55348345134B   ELHADRAMY       OULDSIDIMOHAMED           OH     66066504834
6B553548955975   JENNY           PECK                      CA     90011875489
6B553A96172B29   WALTER          FARLEY                    CO     90011890961
6B55413859184B   ANGELA          MCGREGOR                  OK     90007411385
6B554168876B58   JESSICA         DIAZ                      CA     90001251688
6B55421A93168B   ASHLEY          LAKIN                     KS     90010972109
6B55445A791894   CHERYL          MILLSAP                   OK     90004214507
6B554948861936   TASHIA          HOMLESS                   CA     90007779488
6B554A1178166B   SHANNON         KIREY                     MO     90014980117
6B555633191592   MARIA           DURAN                     NM     75063216331
6B555883655941   YESENIA         MONTESDEOCA               CA     90009398836
6B55647A355941   FRANCISCA       MARTINEZ                  CA     90013024703
6B556866787B31   BREANNA         HUDSON                    AR     90003338667
6B556883571976   CRYSTAL         SOSA                      CO     90014578835
6B55725A85B39B   CITY            IRUJIMAN                  OR     90011252508
6B55757A761936   ERICA           HERNANDEZ                 CA     90012675707
6B55761A361936   JANES           DOSHA                     CA     90014616103
6B557871A55941   MARY            GARCIA                    CA     90013038710
6B55788837B46B   IRENE           CRUZ                      NC     90013928883
6B55793835416B   RONALD          GILMORE                   OR     90013909383
6B557A55161964   CAROLINA        ROSALES                   CA     90014370551
6B558187772482   MINDY           NOVAK                     PA     51075711877
6B558221454174   DARREL          BARKELEW                  OR     47060142214
6B55889927B46B   CHERYL          FLEMMING                  NC     11002328992
6B55917112B27B   ANA             RAMIREZ                   DC     90007531711
6B559296784392   GUADALUPE       VARGAS                    SC     19061592967
6B55968A35B39B   HEATHER         USHER                     OR     90011026803
6B55B21754B588   MELANIE         MCCULLOCH                 OK     90008512175
6B55B775847986   PHILLIS         BOLDRA                    AR     25069297758
6B56117A781644   NEKANDRA        SCROGGINS                 MO     90001711707
6B561315A97B64   TAMMY           HUNT                      CO     39084073150
6B56146565B333   FLORA           CASTRO                    OR     90002354656
6B56147465B531   RICARDO         ORDONEZ                   NM     36087654746
6B5615A177B329   PAULA           FOWLER                    VA     90001755017
6B561616371942   RODERICK        WOODS                     CO     90011086163
6B56167A25594B   MARVIN          ARANA                     CA     90015006702
6B56176743B372   APRIL           CALBO                     CO     33046087674
6B561918772B43   RYAN            SIROIS                    CO     90013259187
6B56195685B271   LATOYA          DUNCAN                    KY     90010209568
6B56224214B27B   SANCHEZ         SAMUAL                    NE     90008972421
6B56225745594B   JULIO           ROMERO                    CA     90008142574
6B562492791592   ALMA            JIMENEZ                   TX     90012444927
6B562A58155975   ALMA            VILLARREAL                CA     48071880581
6B56383414B27B   HEATHER         SADLE                     NE     27062808341
6B563959A72B27   DENISE          NAVARRO                   CO     90004979590
6B564548481644   EBONY           ROLLINS                   MO     90014655484
6B56468668B334   VERTIA          KELLY                     SC     90009096866
6B5646A7657538   REGINA          AYAMBA                    NM     90007336076
6B56489365B271   TYA             JACKSON                   KY     90012858936
6B565637291894   JUDY            HANEN                     OK     90014616372
6B565A94372B36   LYNN            GONZALES                  CO     90012540943
6B5661A618B168   VALERIE         HAMMER                    UT     31084951061
6B5662A225B235   GAYNESHA        JOHNSON                   KY     90014552022
6B56644315B531   MARIANA         RONQUILLO                 NM     90012444431
6B567268772B36   L ANDERSON JR   HENRY                     CO     90009242687
6B567571657538   DAVID           DELGADO                   NM     90012235716
6B567863155975   JOEL            MADRIGAL                  CA     90013788631
6B567871391592   KRISTINE        CRUZ                      TX     90004138713
6B5681A8761979   TIFFANY         BUZAN                     CA     90013141087
6B568813471976   MIKE            HIGBY                     CO     90010518134
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 645 of 2350


6B56916825B392   CINDY         DITTMER                     OR     44508341682
6B56931685B531   SANTANA       ORTIZ                       NM     90012873168
6B569996472B29   MICHELE       LACY                        CO     90007929964
6B569A89561979   KREN          LOZANO                      CA     46076710895
6B56B664A5594B   GENESIS       GUERRERO                    CA     90013656640
6B56B667471976   ANGEL         ZALDIVAR-ORTEGA             CO     90012856674
6B56B799991894   ALEJANDRO     GUAJANDRO                   OK     90000897999
6B56B7A815B235   BROOK         CHAPMAN                     KY     90009527081
6B56B81A33168B   KIMBERLY      SHARTZER                    KS     90012908103
6B56B821A5B39B   JOSE          DZIB                        OR     90014428210
6B56BA54787B31   VERNITA       MCDUFFY                     AR     28045920547
6B56BA6A572B27   AMY           CLINK                       CO     33046030605
6B57126172B27B   KEVIN         WILSON                      DC     90006012617
6B572518572482   PENNY         GONZALES                    PA     51050805185
6B572931255975   MARTHA        VILORIA                     CA     90008059312
6B5729AA231476   JOY           HEWITT                      MO     90005269002
6B57368795594B   RUMUALDO      MADRIGAL                    CA     90001186879
6B573759561964   JOSE MANUEL   ANGELES                     CA     90014177595
6B573819155973   SHEENA        CASTRO                      CA     90013098191
6B57388165B531   CARMELLA      APODACA                     NM     36092488816
6B573883755941   ISABEL        REYES                       CA     90013038837
6B573A4A35B39B   ROBBERT       STAPLES                     OR     90005300403
6B573A69A2175B   CARLOS        ALATORRE                    IL     90015350690
6B57467938B133   PAUL          REICH                       UT     31074366793
6B5746AA45B39B   DAYNA         STAPLES                     OR     90012696004
6B5748A255B531   STEFANIE      ROMERO                      NM     90005618025
6B574A61855975   RUTH          OJEDA                       CA     48076400618
6B57547AA55973   EDUARDA       TREJO-ZAMARANO              CA     90010034700
6B575588891592   TERESA        BYNUM                       TX     75083675888
6B575629961964   AIOTEST1      DONOTTOUCH                  CA     90015116299
6B575949855975   FRANCISCO     RODRIGUEZ                   CA     90012569498
6B57624AA91592   PETER         BACA                        TX     75038362400
6B576492272439   JOHN          WHEELUS III                 PA     51026934922
6B576575261979   SERAFIN       ESTRADA                     CA     90013955752
6B576AAA34B588   KAREN         CHAMBERS                    OK     90014610003
6B57717444B27B   ZIN           K                           NE     90012441744
6B577176972B27   MATTHEW       COTHRAN                     CO     90007781769
6B5779A5393762   TIM           MANISHIMWE                  OH     90008069053
6B578684551342   DEIDRA        SIEMERS                     OH     90005886845
6B57891547B46B   ALICIA        GRAHAM                      NC     90013929154
6B579139933698   SHAUNTAE      MCLEAN                      NC     90007721399
6B5791A3772B36   MICHAEL       REEVERTS                    CO     90008961037
6B579585147996   MELINDA       CARVER                      AR     25000475851
6B57969A761979   STEPHANIE     PORTILLO                    CA     90013376907
6B57976244B27B   ANGELICA      MORA                        NE     90013857624
6B57B2A7947996   CHRISTINA     CROSSLAND                   AR     25033122079
6B57B551781644   CRYSTAL ANN   GOODWIN                     MO     90014655517
6B57B61142B27B   MIREYA        QUINTERO VERA               DC     90012706114
6B58165A891592   JORGE         ARMENDARIZ                  TX     90007746508
6B58172924B27B   CHRISTINA     THORNLEY                    NE     90014237292
6B582371571976   ARLENE        VASQUEZ                     CO     90011713715
6B582481157538   BECKIE        VALDEZ                      NM     90007294811
6B58282297B449   REGGIE        BOWMAN                      NC     90001698229
6B583263557538   MARIA         ALVARADO                    NM     35588992635
6B58327A95597B   CRAIG         CONTE                       CA     90008002709
6B5832A753168B   JORDYN        HYSON                       KS     90014992075
6B58331278B358   JESUS         LOZANO                      SC     90015223127
6B58336925416B   ROBERTSON     HERMUTH                     OR     47084523692
6B583942655941   FELIPE        LOPEZ                       CA     90013039426
6B584158A7B472   JOSE          SALINAS                     NC     90002731580
6B58435342B27B   OSMAN         SARCENO                     DC     90014223534
6B58442275594B   LUZ           LOPEZ                       CA     90014424227
6B584686A77537   FILOMENA      ALVEAR ALVARADO             NV     90008506860
6B584934A4B588   MADELINE      LONG                        OK     90010729340
6B5851A7655973   BIANCA        BARAJAS                     CA     90014781076
6B585643772B43   BRITTNEY      ROMERO                      CO     90010396437
6B58585124B27B   LORA          MARINELLA                   NE     27030068512
6B58585785B235   KAYLEE        HENDERSON                   KY     90005688578
6B585A18371976   MACKENZIE     MAAS                        CO     90005300183
6B586852463646   MARK          LARUE                       MO     27590908524
6B58686278B168   JENNIFER      BELL                        UT     90009218627
6B587463A91592   JOSE          RODRIGUEZ                   TX     90002574630
6B587894233698   RASHAUNDA     MCCALL                      NC     12090718942
6B587917372482   KIMBERLY      DICKEY                      PA     51057379173
6B587A9A661979   BERENICE      MARMOLEJO                   CA     46073890906
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 646 of 2350


6B58836115B235   SUNDAY       MILLER                       KY     90010233611
6B58851733168B   SANDY        SHAW                         KS     22052435173
6B58864A363646   MONICA       MCTIERNAN                    MO     90015256403
6B589218961979   ONORIA       BERNARDINO                   CA     90010542189
6B589666172B43   MARIA        AGUILAR                      CO     90012526661
6B58B164A71976   JERRY        SALINAS                      CO     90013021640
6B58B416171976   PRIEN        TANYA                        CO     90012334161
6B58B65574B588   TIMOTHY      LACY                         OK     21591636557
6B58B8A364B27B   MICHELLE     JOHNSON                      NE     90015268036
6B591457555973   SANDRA       ORTEGA                       CA     48034034575
6B591A49855975   GRACIELA     HERRERA                      CA     90008060498
6B592519791592   ROB          BAUGHN                       TX     90006065197
6B592A4588B168   ALEX         BUTTE                        UT     90005910458
6B593287855973   ESTHER       RODRIGUEZ                    CA     48093272878
6B59347548B133   TYLER        BUATTE                       UT     90007944754
6B5935A154B588   MANDY        MURRY                        OK     90014455015
6B59388928B133   CHAD         BACKUS                       UT     90014078892
6B594649547996   ANA MARIA    ROJAS                        AR     90003226495
6B594749461936   WALTER       DIAZ                         CA     90011287494
6B594757A81644   ERIBERTO     AMAYA                        MO     29065207570
6B594888533698   WILL         SMITH                        NC     90015118885
6B594898751354   CHARLENE     DUNHAM                       OH     66084748987
6B594941755973   FRANCISCO    DELGADO                      CA     90013029417
6B594953271976   MICHELLE     DURAN                        CO     90014909532
6B59496843168B   JENEAL       DELIS                        KS     90009279684
6B594A9144B27B   MITCHELL     POND                         NE     90013690914
6B594AA695B531   OSCAR        CATANO                       NM     36007860069
6B595147151354   ADRIANA      RAMIREZ                      OH     90014601471
6B59516232B248   TONI         CARPENTER                    DC     90011521623
6B595216333698   SAUL         MORALES                      NC     90013432163
6B595915661936   PATRICIA     JARAMILLO                    CA     90012479156
6B596463361964   SERGIO       RODRIGUEZ                    CA     46011404633
6B5964A825B392   ANGELA       WILLIAMS                     OR     44562674082
6B596864481644   DANIEL       ORTIZ                        KS     90014158644
6B5969A164B588   BLAIMY       BARRIOS                      OK     21530399016
6B596A2AA55975   MAYRA        FIGUEROA                     CA     90011110200
6B59784165416B   LYNIRA       WADE                         OR     90002128416
6B597A21A55941   JESSE        GARCIA                       CA     90013040210
6B598169933698   STEPHANIE    SUMMERS                      NC     12005121699
6B59844548B133   SANDY        ASTLY                        UT     31082754454
6B598578881644   EDMOND       MCNACK                       MO     90012965788
6B598588661979   LEDA         OHERA                        CA     90013955886
6B598A42872B27   DIANE        SERRANO                      CO     33033680428
6B59927855B361   MARICELA     ORNELAS                      OR     44564722785
6B59928A761936   MARICRUZ     AGUILAR                      CA     46076772807
6B59957284B54B   JAIME        FLORES                       OK     90012465728
6B599634991975   JAQUION      DAVIS                        NC     17096746349
6B59B28A25594B   GABRIELA     FELIX                        CA     90014722802
6B59B34978B194   RONI         KIRBY                        UT     90008513497
6B59B526655973   JONATHON     EARLEY                       CA     90006225266
6B59B52A772B43   BELAI        MUNOZ                        CO     33072155207
6B5B1127433698   NAKENYA      JESSUP                       NC     90010991274
6B5B129315594B   CELCO        REINA                        CA     90012762931
6B5B1461857538   RHIA         GARCIA                       NM     90011184618
6B5B159298166B   MONIQUE      WILLIAMS                     MO     90014905929
6B5B1628A55975   JOE          LOPEZ                        CA     48014166280
6B5B163735B235   ADAM         CAIN                         KY     90014916373
6B5B1649A47996   CHERRELLE    MILLER                       AR     90000516490
6B5B226895594B   JULIO        GARCIA                       CA     90010472689
6B5B324435416B   MICHELLE     KEMPTON                      OR     90005032443
6B5B348998B133   B LUE        DOMAN                        UT     31084874899
6B5B3814755973   FRANCISCO    MENDEZ                       CA     90012428147
6B5B418A785821   CHUCK        BERRY                        CA     90010301807
6B5B457755594B   SUSAN        GUZMAN                       CA     90013945775
6B5B4846891894   PENNY        PEEVYHOUSE                   OK     90013748468
6B5B485714B588   QUANSJAY     CLAYTON                      OK     90014758571
6B5B4979663646   AMELIA       HODGE                        MO     27575819796
6B5B4989981687   CURTIS       ROSA                         MO     90011409899
6B5B4A25A72B43   TRAMPAS      ROBINSON                     CO     90013130250
6B5B4A27957538   OMAR         BARRIENTOS                   NM     90009670279
6B5B4A68161979   BENJAMIN     BALLARD                      CA     90012430681
6B5B4A8115B235   DAMARCO      RAWLS                        KY     90015130811
6B5B517585B531   CARMELO      BARBERO                      NM     36006611758
6B5B543534B27B   DANIELLE     WATSON                       NE     27005354353
6B5B556185B531   MARINNA      MARTIN                       NM     90015375618
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 647 of 2350


6B5B568272B27B   BRENDA        CHEEKS                      DC     90012096827
6B5B5876197B57   BRIAN         TURBEVILLE                  CO     90012748761
6B5B5A5917B449   JEAN          GUSS                        NC     11075520591
6B5B617935B271   ZHAIRAN       HERNANDEZ                   KY     90015011793
6B5B631895B235   MILAGROS      ACON GUERRA                 KY     90004163189
6B5B7132857538   IVAN          CARRILLO                    NM     90001861328
6B5B7323A61979   LORENA        MACHADO                     CA     90008693230
6B5B733A78B169   ROBERT        RUDY                        UT     31088213307
6B5B8174172B27   MARIA         TORREZ                      CO     33081631741
6B5B821215594B   CONSUELO      MENDOZA                     CA     90014722121
6B5B825845B531   MARIBEL       CARAVEO HERNANDEZ           NM     36045672584
6B5B8687161964   MANUEL        BASABE                      CA     90014446871
6B5B8993555941   JAIME         VALDEZ                      CA     90014409935
6B5B8AA264B588   QUINCY        HOPKINS                     OK     90013450026
6B5B8AAA48B133   STACIE        SUMSION                     UT     90015270004
6B5B916825594B   JOSE          NERAZ                       CA     90011681682
6B5B9222A55941   PEDRO         RAMOS                       CA     90012982220
6B5B9381272482   LISA          GRAFT                       PA     90014463812
6B5B9681451354   STEPHANIE     FLARIDA                     OH     66077006814
6B5B9855A8B169   CHANDRA       MURDOCK                     UT     31049278550
6B5BB66672B27B   PASCACIO      BARTOLO                     VA     90015116667
6B5BBA42763646   KELLY         SCOTT                       MO     90000170427
6B61145A755941   MARIA         UCABELLERO                  CA     90014814507
6B61156464B588   MONTRELL      LASKEY                      OK     21511155646
6B611657233698   JASMINE       BOYKINS                     NC     90011066572
6B611A58172B29   GUADALUPE     GUTIERRE                    CO     33020260581
6B61232475B39B   CINDY         BERGSTROM                   OR     90005823247
6B612357733698   LACQUEENNA    CASTON                      NC     90014083577
6B612655591592   VIVIANA       ANTUNA                      TX     90011866555
6B612676555973   YOLANDA       MARTINEZ                    CA     90010646765
6B612719872B27   DANIEL        REYES                       CO     90013027198
6B612976872B36   ELIZABETH     SANDOVAL                    CO     33011269768
6B612A4815B531   GERARDO       RODRIGUEZ                   NM     36004360481
6B613297255941   PAULA         MC KINNEY                   CA     90003442972
6B613388187B31   SANDY         GARCIA                      AR     28007673881
6B61354594B588   HEATHER       MILNER                      OK     21553065459
6B6135A595416B   ELIZABETH     STORTS                      OR     47082575059
6B61365458166B   LATARA        WESLEY                      MO     29021796545
6B61384445B235   JOSE          MARTINEZ                    KY     90015328444
6B613A1278B133   JESSICA       HEATON                      UT     90006800127
6B614847861936   MARGIE        MUNOZ                       CA     90013838478
6B615163831453   MARLON        GUTHRIE                     MO     90011171638
6B615343171976   MELISSA       SANTISTEVAN                 CO     90008093431
6B615456571924   CANDACE       SMILEY                      CO     90012934565
6B615519784392   TYLER         HUFF                        SC     90006665197
6B615A39A55941   LEANNE        TREVINO                     CA     49012910390
6B616327772B36   EARL          MONTGOMERY                  CO     90009873277
6B6165A6972B43   JEFFREY       DEVON                       CO     90013485069
6B616757197B64   BARBARA       CONNOLLY                    CO     39059317571
6B616982433698   CHAMELLE      WILSON                      NC     90013809824
6B617273391894   GABRIEL       GONZALEZ                    OK     90013152733
6B617614951354   GINA          PERKINS                     OH     90000376149
6B617A81961936   ARNOLD        LIRA                        CA     46068480819
6B617A98881644   GIUSEPPA      BREWER                      MO     90013370988
6B618238155941   EDDIE         RODRIGUEZ                   CA     90006652381
6B61838434B588   CARRI         LOWERY                      OK     21507183843
6B61863842B27B   EASON         MARKESE                     VA     90004236384
6B61881117B46B   BENETTA       KINGSBERRY                  NC     11014588111
6B619184A91894   KATY          VINES                       OK     21083421840
6B619213861979   REGINALD      ROBINSON                    CA     90009152138
6B619473555941   VERONICA      GONZALEZ                    CA     90013874735
6B619626272B43   DONNA         BANUELOS                    CO     33052276262
6B619658661936   REINA         GUAJARDO                    CA     46079096586
6B61976574B27B   ANTON R       TAJCHMAN                    NE     90015137657
6B61995342B27B   RENEE         WEYANT                      VA     90013649534
6B619A6A84B588   JULIE         GALLAGHER                   OK     21598900608
6B619A96487B31   DOROTHY       MCMICHAEL                   AR     28064370964
6B61B329A63646   ANDREW        BLOLSBY                     MO     90006173290
6B61B458A4B27B   TAMMY         SANTIAGO                    NE     90015024580
6B61B68825594B   OSCAR         MENDOZA                     CA     90012116882
6B61B8A9524B4B   LAMITA        PEARSON                     DC     90011748095
6B61B991491592   SAMUEL        RODRIGUEZ                   TX     90013339914
6B61BA77361964   JUAN ANTNIO   BENITES                     CA     90013210773
6B621143672B29   CHELSEA       WILLIAMS                    CO     33007401436
6B621A25672B36   KATRINA       FLORES                      CO     33056280256
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 648 of 2350


6B622194547996   BENITA            ANDERSON                AR     90009361945
6B622225891592   DANNY             URBINA                  TX     90013812258
6B622541455983   RENE              MADRIGAL                CA     90009885414
6B622723191894   ISAAC             HAYES                   OK     21075007231
6B62283255B271   MARK              CAHILL                  KY     68022038325
6B622A19A72B36   MIRIAM            RODRIGUEZ               CO     33063750190
6B622A63A71976   LEE               TRUJILLO                CO     90013920630
6B623218661964   ROCIO             MARQUEZ                 CA     90007612186
6B623251A81644   JOSEPH            ANDREW                  MO     29044092510
6B62333915B235   ABELDO            PEREZ                   KY     90012353391
6B623363A72B29   KAREN             BECERRA-ROJAS           CO     90012823630
6B6234A6A4B27B   HELEN             VISOCKY                 NE     27007194060
6B62351445B344   ALEJANDRO         DIAZ                    OR     44582575144
6B623779A85821   GUICEL            MONTIEL                 CA     90011717790
6B624119261979   OLGA              GUERRERO                CA     46079951192
6B62428425B39B   KIMBERLY          MARTINEZ                OR     90003172842
6B624344191592   ALMA              PEREZ                   TX     75012253441
6B624A24151342   EDISON            CRESPO                  OH     66053960241
6B624A75231453   DAMON             WILLIAMS                MO     27573670752
6B62513636B244   CLARK             JEANTINORD              AZ     90014311363
6B625567961964   LORENA            LOPEZ                   CA     46007015679
6B625799491588   CLAUDIA           MEDRANO                 TX     90010547994
6B625A3685B531   STIEVERAE         BACA                    NM     90004840368
6B625A63A71976   LEE               TRUJILLO                CO     90013920630
6B62619A472B29   RAFAEL            CASTANEDA               CO     33007211904
6B62657855B531   GUSTAVO           GONZALEZ                NM     90010495785
6B62659915B39B   SARAH             TOMSETH                 OR     90014415991
6B627873385991   DANIEL            HERNANDEZ-FLOREZ        KY     90009148733
6B62836625416B   TAMATHA           NEELY                   OR     47011623662
6B62871995B39B   SHAWN N JAMIE     NEWCOMB                 OR     90014837199
6B62876155B235   STEPHEN           PETTIS                  KY     90013407615
6B62877AA72B27   ZACARIAS          MILLAN                  CO     90005397700
6B628941461964   HEIDI             GOMEZ                   CA     90007809414
6B629131561964   MIGUEL SAAVEDRA   MANZANO                 CA     90013071315
6B629142561936   KARL              JOHNSON                 CA     46086541425
6B6291A2261964   MIGUEL SAAVEDRA   MANZANO                 CA     90014501022
6B62927A555975   OMAR              MAGANA                  CA     90006802705
6B629645A5594B   ANGELINA          BEEBE                   CA     90004876450
6B62B2A8161936   ANASTASIA         CARRASCO                CA     90009322081
6B62B584191592   CAROLINA          CASAS                   TX     75027745841
6B62B598A61979   GUSTAVO           RODRIGUEZ               CA     90013245980
6B62B715555975   FERNANDO          VALDIVIA                CA     90009957155
6B62B975457538   ELIZABETH         ALATORRE                NM     90013029754
6B631282455975   DANA              LESTER                  CA     90015522824
6B631414472B43   CARMEN            CARBAJAL                CO     90007684144
6B631484A8B492   JASMINE           TYLER                   VA     90014764840
6B631781755973   ADRIANNA          CUNHA                   CA     90010137817
6B631A7257B46B   JAVIER            SALVADOR                NC     90011920725
6B63223723168B   JAYCE             HARDIE                  KS     90010472372
6B632282491999   NYASHA            NHIWATIWA               NC     90004572824
6B63281A15B271   TERESA            MCKISSICK               KY     68044028101
6B63283745B235   SHAWN             RICHARDSON              KY     68048058374
6B633125A4B588   LUTHER            GORDON                  OK     90008601250
6B633292885953   MELISSA           SEXTON                  KY     90014122928
6B633784372B36   JUDITH            BELTRAN                 CO     33093887843
6B63386AA72B43   GILBERTO          GARCIA                  CO     90007768600
6B63435695B271   LAWERENCE         SHEPARD                 KY     90012873569
6B634623872B43   RAMONA            MORALES VILLEGAS        CO     90013096238
6B635417A7B46B   JONATHAN          DAVIS                   NC     90014814170
6B6357A5A5B531   OSMAR             ZAMBRANO                NM     90014987050
6B635851961964   MELODY            HERNANDEZ               CA     90013378519
6B63622AA61936   JAMES             DICKERSON               CA     90014272200
6B636478951354   LADONNA           BELL                    OH     90011324789
6B6364A3577538   ELIZABETH         PECK                    NV     90007024035
6B636528A4B588   TONYA             SPAIN                   OK     90014195280
6B63677465594B   KARLA MARIA       LIMON                   CA     90014747746
6B637A61972B36   STEVEN            ADDISON                 CO     90012300619
6B638113A91894   JOSE              CANO                    OK     90009541130
6B638146872482   DANA              CLARK                   PA     51011141468
6B6382A2172B36   NICOLE            CAMACHO                 CO     90014092021
6B63876A771976   FELICIA           TAPIA                   CO     90012797607
6B638A8324B588   CANESHA           HARDEN                  OK     90002830832
6B63937425B235   CRYSTAL           BEARD                   KY     90010763742
6B63982325B271   ROY               GRIDER                  KY     90014818232
6B63B3A965B235   GARY              DICKMAN                 KY     90013473096
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 649 of 2350


6B63B691355947   CHRISTOPHER   DEAN                        CA     90003316913
6B642262955941   LISA          PARRISH                     CA     90013042629
6B642383872B29   PEARSON       JEREMY                      CO     90008303838
6B64239114B588   ARTURO        MANZANO AMEZQUITA           OK     90014373911
6B642626755975   SAMUEL        CARRANZA                    CA     90010816267
6B643194572B27   KIMBERLY      ASHFORD                     CO     90010361945
6B643312572451   SAIT          GURER                       PA     90013853125
6B64367315B39B   LAURA         MEJIA LOPEZ                 OR     44589886731
6B643949A55941   JOSUE         LAZARO                      CA     90002949490
6B644478251354   SHELIA        RICHEY                      OH     66007004782
6B64485647B349   PORFIRIO      HERNANDEZ                   VA     90010348564
6B64491575594B   GAUDENCIA     MARTINEZ                    CA     90009199157
6B644964172B27   SAUL          LANDEROS                    CO     90012229641
6B645381455941   LIBBY         RIVERA                      CA     49054173814
6B64546215416B   JESSICA       CAMPBELL                    OR     47040734621
6B645686871976   AARON         TRUJILLO                    CO     90011716868
6B645979981644   KIMBERLY      HUNLEY                      MO     90013089799
6B64599744B599   ADRIAN        ABREU                       OK     90012049974
6B645A41172B43   MARIA         MARTINEZ VARGAS             CO     33051540411
6B64628315B531   ADAM          CANDELARIA                  NM     90015292831
6B646314691592   MARIA         SANTIESTEBAN                TX     90014983146
6B64634618B168   ELIZABETH     RIVERA                      UT     31012283461
6B64656465416B   MINDY         YOERK                       OR     90014685646
6B6472A114B588   NICOLE        MATHIS                      OK     21554282011
6B647334872B27   FERNANDO      GARCIA                      CO     90007223348
6B64742378B133   MACKENZIE     RECHCYGL                    UT     90013204237
6B647495955941   SALVADOR      LOPEZ                       CA     90013764959
6B647686871976   AARON         TRUJILLO                    CO     90011716868
6B64788584B588   NICOLE        MATHIS                      OK     90013748858
6B647943961979   RUTH          MURILLO                     CA     90008959439
6B647A78155973   MICHAEL       ORTEGA                      CA     48028720781
6B64824A14B27B   ARMANDO       SALASAR                     NE     27081732401
6B64831168B133   BRENDA        NEFF                        UT     90007373116
6B648341157121   REYNA M.      LARA                        VA     81039523411
6B648577761979   CARLOS        ESPINOZA                    CA     46084235777
6B64913955B39B   MAYNOR        PEREZ SALAS                 OR     90012791395
6B64946725B271   MARK          BRUEDERLE                   KY     90014624672
6B649685161936   DEBORAH       HANSEN                      CA     90010876851
6B64BAA2377563   JODI          BURNS                       NV     90011130023
6B651196A7B46B   JAI           RASI                        NC     90012351960
6B651213561979   ISABEL        GONZALEZ                    CA     90000192135
6B651319A7B449   JOSE          HERNANDEZ                   NC     11092053190
6B6521A575B39B   JAIME         RODRIGEZ                    OR     90007041057
6B652528772B43   LATEEF        TARESH                      CO     90013545287
6B652543557538   HORTENCIA     ORTIZ                       NM     90014425435
6B652566572B27   LUIS          LEIVA                       CO     33084595665
6B65264445B921   TODD          WYNECOOP                    ID     41071136444
6B65286285597B   ANGELINA      PEREZ                       CA     90014478628
6B65293935B271   BUSTER        BENNETTE                    KY     90002639393
6B652A3A555941   KIMBERLEY     SAUCEDA                     CA     90009680305
6B65331945416B   ANTONIO       HERNANDEZ                   OR     90014783194
6B653423A7B479   TAKEIDRA      PHIFER                      NC     11029474230
6B65347614B253   TAMMY         GONZALEZ                    NE     90001074761
6B653637933698   NATASHA       SCALES                      NC     90013586379
6B653983185821   JEREMIAH      BRYANT                      CA     90006879831
6B653A1A45B39B   GILBERTO      PENA                        OR     90005040104
6B65445A85B235   RAYMOND       WILLOCK                     KY     90007354508
6B654852591592   JESUS         ROBRES                      TX     90011278525
6B655927551354   NATASHA       OCHOA                       OH     90002729275
6B655A4274B27B   MARIA         JIMENEZ                     NE     27085450427
6B655AAA631453   VONDA         HABSIEGER                   MO     90010100006
6B65638685B271   MUREL         LUCAS                       KY     90013403868
6B656746963646   ERIC          WAGNER                      MO     27559657469
6B656A43691592   ARTURO        GACIA                       TX     90013270436
6B65722195B531   ANITA         TRUJILLO                    NM     90014332219
6B657367384392   LUCIA         RAMIREZ                     SC     19060313673
6B65746752B27B   DARRYL        ANDERSON                    DC     81087464675
6B657612587B31   GARY          VEAL                        AR     28069606125
6B657648433698   GERALDINE     PENN                        NC     12011196484
6B657781291592   VIRGINIA      POSADA                      TX     90009827812
6B657911855973   DIANA LYNN    BERRY                       CA     90003719118
6B6581A2661979   CHRISTIAN     RODRIGUEZ                   CA     90010201026
6B65833824B27B   BRIAN         BEAUCHAMP                   NE     27057793382
6B658412697B64   QUIANA        FRESQUEZ                    CO     90013044126
6B65853AA72B27   PADRAIC       MCCOLE                      CO     33092265300
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 650 of 2350


6B65854465594B   JUAN         FLORES                       CA     90010335446
6B658731477538   BRENDA       RUIZ                         NV     90002167314
6B65892668B358   PEDRO        GUTIERREZ                    SC     90015039266
6B658A7698B169   MARTIN       GONZALEZ                     UT     31015820769
6B658A8857194B   NEVIS        EDWARDS                      CO     38065110885
6B659667251354   JEFF         HUNT                         OH     90004216672
6B65995684B27B   KRISTEN      WATSON                       IA     90013599568
6B65B136172B36   CHRISTINE    JONES                        CO     33040681361
6B65B3A877B46B   PENNY        THOMPSON                     NC     90014653087
6B65B44A371976   MALISSA      QUINTANA                     CO     90003484403
6B65B481751342   DANIELLE     HAMMOCK                      OH     90004594817
6B65B6A9584392   LASHELL      RAVENELL                     SC     90005616095
6B65B86684B588   TONI         NERO                         OK     90011108668
6B65B97595B271   KAMERON      SIMON                        KY     90014599759
6B661447593751   AMBER        HILL                         OH     90011394475
6B661749397B64   AMY          CONGER                       CO     90003327493
6B6624A5484329   CAMILO       MARTINEZ                     SC     19086694054
6B66274148166B   ALEJANDRA    GUERRERO                     MO     90012727414
6B66293554B27B   ADAR         MOHAMED                      NE     90011909355
6B662A49941229   BARRY        SPARBER                      PA     90001320499
6B663243997B64   CHRISTINA    BENAVIDEZ                    CO     90009452439
6B663317A72B43   ROSALBA      ORTEGA                       CO     90014043170
6B66391215B271   CHRESHAWN    HAMILTON                     KY     90011489121
6B664143A8B563   FLAVIO       CANALES PALMA                CA     90014011430
6B664348672B29   ADELA        RAMIREZ                      CO     33069023486
6B66444258B168   JD           DURAN                        UT     90009544425
6B664554591894   CHRISTOPHE   DENHAM                       OK     90009765545
6B664799955941   JESSICA      WHITE                        CA     90004067999
6B664995A5B531   JOSEPH       TRUJILLO                     NM     90006719950
6B664A2A98B169   DUSTY        AUNE                         UT     31019510209
6B66542634B588   MAGDALENO    PEREZ FRAIRE                 OK     90000774263
6B665681485821   JEWELL       CHRIS                        CA     90011796814
6B6656A9972B29   FRANCISCO    CASTRO                       CO     90013206099
6B665884A61979   SARAH        AVILES                       CA     90013378840
6B665A7A972B27   CARLTON      MATHEWS                      CO     90003500709
6B6662A542B27B   RENEE        POPE                         DC     90013642054
6B6666A935B395   DANETTE      COOPER                       OR     90011036093
6B667512972B43   STACIA       HAYES                        CO     33091175129
6B667681485821   JEWELL       CHRIS                        CA     90011796814
6B667931272B27   ANTHONY      CUNNINGHAM                   CO     90013709312
6B668218272B36   TIFFANY      WILLIAMS                     CO     33054362182
6B66823A571976   DANIELLA     ENCISO                       CO     90014712305
6B668295461936   JOHN         PETERSON                     CA     90014732954
6B668456A61979   CARLOS       ZURITA                       CA     90014814560
6B66855635B271   RENATA       SCOTT                        KY     90009135563
6B66869A37B449   QUINTA       DUNLAP                       NC     11024536903
6B66882497B46B   TAMMY        HINSON                       NC     90000698249
6B668A3355B531   FERNANDO     ATHIE                        NM     36071900335
6B669213A5B392   CARRIE ANN   TALIAFERRO                   OR     44593272130
6B669492931454   BRADLEY      BOWLING                      MO     27596664929
6B6694A5472B27   TIMOTHY      GORHAN                       CO     33001044054
6B669599684392   LAKEISHA     BROWN                        SC     90005585996
6B669927172B29   JORDANA      PENA                         CO     90010789271
6B66B23144B52B   TAMMY        DYER                         OK     90008632314
6B66B4A4572B27   EILEEN       PLUDE                        CO     33069674045
6B66B839281644   BERENICE     ZARCO                        MO     90015318392
6B66B841661936   A            WARD                         CA     90007228416
6B66B8A5372B36   RAYNA        ALBAUGH                      CO     90005998053
6B671228972B29   LAKIA        LESTER                       CO     33007402289
6B671639654128   DEENA        HICKEY                       OR     47069166396
6B67193344B27B   JESSICA      SAMPSON                      NE     27090119334
6B67221527B329   JESSICA      SANTIAGO                     VA     81008592152
6B672438391592   LETICIA      ARMENDARIZ                   TX     75057274383
6B672725A61936   LYNN         DELEON                       CA     90014587250
6B672894972B27   KAREN        CASTILLO                     CO     33096798949
6B672A68993753   BRANDIE      OWENS                        OH     90007870689
6B673996757121   GABRIELA D   LARA                         VA     81039529967
6B6747A4A4B27B   LATONIA      FREEMAN                      NE     90010357040
6B674835763646   JEROMIE      GOGGIN                       MO     90010718357
6B67486855594B   GUADALUPE    MARTINEZ                     CA     90013668685
6B67494557B46B   BRITTNEY     BROADDUS                     NC     90006069455
6B67513464B588   ERNESTO      VAZQUEZ                      OK     90009441346
6B675152485821   GABRIEL      ALVINES                      CA     90004911524
6B675311A31455   SAMIRA       TILIPOIC                     MO     90009263110
6B6753AA855975   OSCAR        ARREDUAN                     CA     90014113008
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 651 of 2350


6B675569A72B43   DORA         MARTINEZ                     CO     33044725690
6B675637961979   SINDHU       SADHAKA                      CA     90013956379
6B6758A2471976   TAMARA       RODRIGUEZ                    CO     90014838024
6B67629215B392   PATRICIA     ACOSTA                       OR     44558462921
6B676392672B43   IGNACIA      CARRILLO                     CO     33046993926
6B676457763646   AMANDA       JASPERING                    MO     90014094577
6B67664473B324   CECILIA      BUCKLEY                      CO     90014566447
6B676862263646   FRANCISCO    PADILLA                      MO     90015478622
6B676A1A755975   EVARISTO     RAMIREZ                      CA     90002830107
6B67714118B168   JUSTIN       WHEELER                      UT     31083411411
6B677154272B27   TIFFANY      CAMPBELL                     CO     33084841542
6B67731435B39B   ELIZABETH    BORDEAUX                     OR     90015063143
6B677576163646   NICK         KELLY                        MO     27579485761
6B67764665B39B   KIM          LUZITANO                     OR     44565066466
6B67765177B449   MELANIE      OVERCASH                     NC     11003066517
6B677682672B29   WILLIAM      COOK                         CO     90010396826
6B677847191592   BERTHA       MONJES                       TX     90013748471
6B677967A57538   JANETH       IDOLINA                      NM     90014819670
6B6779A354B588   MISTY        SMITH                        OK     90010459035
6B67835AA5B531   JESSICA      JESSICA                      NM     90014663500
6B678466472482   MICHALE      NEUSCH                       PA     90001114664
6B678AA7561936   CLAUDIA      CASANOVA                     CA     90010800075
6B679185961936   ERIC         GUZMAN                       CA     46095341859
6B67918A15594B   M GLORIA     MANDUJANO ALVAREZ            CA     90013951801
6B679384472482   TERRY        HENRY                        PA     90011923844
6B679657961964   FERNANDO     MARTINEZ                     CA     46028496579
6B67B24845B531   MARIA        GONZALES-SANDOVAL            NM     90005792484
6B67B4A2697B64   MELISSA      SEBRASKY                     CO     39050064026
6B67B73A361964   JUDITH       ALVAREZ                      CA     90012517303
6B68123235594B   OLGA         HERNANDEZ                    CA     48053132323
6B681417333698   VIOLA        GLENN                        NC     90012974173
6B681783957538   EULALIO      SANCHEZ                      NM     35502797839
6B682176461964   HERIBERTO    HERNANDEZ                    CA     90000391764
6B682453691999   SHAGUANNA    DOTSON                       NC     90002854536
6B68251458B133   CHAYSE       CANDLAND                     UT     90015105145
6B682769455975   JESSICA      GIBBS                        CA     90013457694
6B682787871976   JOHNNY       PEL                          CO     90012857878
6B68279553168B   SONYA        HILL                         KS     22045417955
6B682796255973   IRAIDA       PEREZ                        CA     48079547962
6B6828A5272B36   JASON        BOLTZ                        CO     33097298052
6B68349842B27B   TIARA        JETER                        DC     90014714984
6B683724461964   RUBI         MURILLO                      CA     90010447244
6B68387295594B   PABLO        GOMEZ                        CA     90013668729
6B683917451354   KEITH        CORDELL                      OH     90005609174
6B683AA5171976   BERNADETTE   ALGIEN                       CO     90001280051
6B6841A8331453   FREDA        DAVIS                        MO     27573911083
6B684347231453   FREDA        DAVIS                        MO     90013193472
6B684733A2B27B   MORIA        MORSE                        DC     90013747330
6B685873955941   JOSE         HUERTA                       CA     90013048739
6B685945263646   KAYLEE       CLANCY                       MO     90015509452
6B685A16A5594B   VANESSA      REYES                        CA     90012440160
6B68632877194B   VICKIE       VIALPANDO                    CO     38095843287
6B686521171976   RUBY         GRAY                         CO     38070115211
6B686929591592   MONICA       OLIVAS                       TX     90012949295
6B687268A8B169   MARIA        GUARDADO                     UT     90009572680
6B687568472B27   DIANE        MAZUROSKI                    CO     33017945684
6B687662355941   CLEMENTE     MOTO                         CA     90012116623
6B68779275416B   CHRISTINA    DAVIS                        OR     90011027927
6B68817863168B   VINCENT      ADAMS                        KS     22023671786
6B68832124B27B   RAMADA       HURST                        NE     27036653212
6B688389A8166B   ANTHONY      EDWARDS                      MO     29083843890
6B68841955594B   EDDIE        RAMIREZ                      CA     48028934195
6B688657A55975   MONICA       VILLARREAL                   CA     90005296570
6B688713655973   TWILA        DEVINE                       CA     90003677136
6B688748985821   SARAHI       SANCHEZ                      CA     90007047489
6B688856661936   RUIZZ        JUANEA                       CA     90004048566
6B68924748B169   GREGORIO     GARCIA                       UT     90008132474
6B689566397B64   LINDA        CHAVEZ                       CO     90006725663
6B68961385416B   LENIA        DONELL                       OR     47084566138
6B689785691894   EMILIANO     ALVAREZ                      OK     21076467856
6B689911755941   MARIA        BERBER                       CA     90013049117
6B68B654971976   ALISHA       HAWKINS                      CO     90002676549
6B68B698955941   JOSE         NUNEZ                        CA     90013906989
6B68B917272B29   DANIEL       JOSSUND                      CO     33009239172
6B68BA2A75416B   ANGELICA     SANTOS GALALRDO              OR     90000110207
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 652 of 2350


6B69111464B27B   AIMEE        ADDISON                      IA     27034901146
6B691187672B27   EAMONN       MILLER                       CO     90010131876
6B6914A9161979   NARIA        RUIZ                         CA     46089834091
6B69168377B449   FRED         SADLER                       NC     90003826837
6B691765451354   JON          HENRY                        OH     90003237654
6B69211255594B   LUCIA        VASQUEZ                      CA     90010541125
6B6921A138B169   DONALD       BLACKBURN                    UT     31037871013
6B6924A184B588   SARAH        ARFSTROM                     OK     90007584018
6B69338518166B   ALEX         PLUMBING                     MO     29001353851
6B69373198B168   SHYLIA       ANDERSON                     UT     90012177319
6B693735781641   JERRY        TANN                         MO     90011827357
6B693AA7561964   CLAUDIA      CASANOVA                     CA     90010800075
6B69446455B39B   DANIELLE     DEMEULLE                     OR     90010194645
6B694622591592   JORGE        TORRES                       TX     90008406225
6B69528A85B235   MARIA        ROBINSON                     KY     90014402808
6B695319391552   CLAUDIA      DE LA CRUZ                   TX     75010143193
6B69548A55B39B   RICHELLE     SPILLERS                     OR     44516654805
6B69587295594B   PABLO        GOMEZ                        CA     90013668729
6B695954A6238B   ELIZABETH    SCAFF                        AR     90010609540
6B695978461494   ALEXANDRO    GARCIA                       OH     90015399784
6B696258454128   JESSICA      MILLER                       OR     47079152584
6B69628712B27B   DACOALEON    LINEN                        DC     81075452871
6B696474972B36   BRANDON      ARENAS                       CO     90000644749
6B696889893741   MARY JO      RICHARDSON                   OH     90002008898
6B696A63972B43   AMELIA       TRUJILLO                     CO     33058010639
6B696A71691592   HILDA        GONZALEZ                     TX     75047030716
6B6976A9155973   YASKARA      SANCHEZ                      CA     90011386091
6B697754372B43   ALICIA       DE LA CRUZ                   CO     33075997543
6B697783A5B235   ANGELA       LATHERY                      KY     90002727830
6B697893A5416B   MINDY        GABBY                        OR     90012268930
6B69789465B392   ONISHA S     WILLIAMS                     OR     90003228946
6B69792582B886   TEDRA        ROSS                         ID     90006579258
6B697997651354   MARIA        PEREZ COVARRUBIAS            OH     90009529976
6B697A55555975   JOSE         PUGA ESPINOZA                CA     90011970555
6B697A6A347996   CRYSTAL      DALE                         AR     90010380603
6B698125A84392   SANDRA       DOMENICK                     SC     19040641250
6B698146981644   TREVOR       ALRED                        MO     90011231469
6B69B539485821   DAVID        FRUTOS                       CA     90003745394
6B69B57485594B   GLORIA       AREQUEJO                     CA     48054055748
6B69B71295B39B   SCOTT        MCINTOSH                     OR     90002257129
6B69B942371976   RITA         ESQUIBEL                     CO     38003839423
6B6B142275594B   LUZ          LOPEZ                        CA     90014424227
6B6B163595B531   GEOVANNI     RODRIGUEZ                    NM     90013846359
6B6B1816991894   LETICIA      BANDA                        OK     90009988169
6B6B2314485821   ELIZABETH    FELIX                        CA     90009433144
6B6B244763168B   MICHAELA     GRABY                        KS     90013674476
6B6B2683291894   AMANDA       ELDER                        OK     90011376832
6B6B2763857538   JAMIE        FLORES                       NM     90001367638
6B6B2A9A881644   KASSI        ELLIOTT                      MO     90013590908
6B6B357A957538   SARITA       RAGAZZONE                    NM     90012715709
6B6B359337B46B   CIRO         SANCHEZ                      NC     90011925933
6B6B3634285821   EMILIANO     NIEVES                       CA     46088856342
6B6B3868981644   KEVIN        WILLIS                       MO     90014308689
6B6B3A3A95594B   ANGIE        ELIZONDO                     CA     48080180309
6B6B417A18B168   EDJAMBOGA    MIRIAM                       UT     90008671701
6B6B41A675416B   JACKIE       MORRIS                       OR     90014981067
6B6B421A655973   JOSE         ROJAS                        CA     90015582106
6B6B4326791592   EDUARDO      RUIZ                         TX     90014823267
6B6B442275594B   LUZ          LOPEZ                        CA     90014424227
6B6B4763755941   SAN JUANA    ELISARRARAZ                  CA     90014317637
6B6B483A25B39B   LORENA       LOPEZ MERIDA                 OR     90012728302
6B6B53A8191592   ZULEMA       ORNELAS                      TX     90010993081
6B6B545137B46B   EDDIE        LITTLE                       NC     90014704513
6B6B549573B335   JENNIFER     PHILIPSON                    CO     90000824957
6B6B5986A5B39B   SANDY        ORTIZ                        OR     90013789860
6B6B5A8194B27B   JOAL         NISTL                        NE     90008300819
6B6B6515972B43   LAUESSA      EAGLE HORSE                  CO     90005935159
6B6B682A48166B   GARNA        ADAMS                        MO     90008578204
6B6B7347991975   ORPHEUS      GYANT                        NC     90005463479
6B6B8182372B36   MARIANNA     MARTINEZ                     CO     90012341823
6B6B8547A8B168   KIMBERLEE    CLARK                        UT     31028805470
6B6B9211761936   JULIA        ARECHAR                      CA     90012202117
6B6B9236491975   MONYKA       MCFA                         NC     17005912364
6B6B9289661964   LUSI         LOPEZ                        CA     90010822896
6B6B9729577538   IGNACIO      AYALA                        NV     90007007295
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 653 of 2350


6B6BB761424B7B   WILBERT       WHITAKER JR                 DC     90011867614
6B6BB7A583168B   JEANETTE      VILLALOBOS                  KS     90011577058
6B6BB84A861979   JAIME         LOPERENA                    CA     46098098408
6B6BB862A4B588   MICHAEL       TUCKER                      OK     90011108620
6B7116A298166B   JESSICA       COLGROVE                    MO     90014506029
6B711935891592   BERENICE      LUEVANOS                    TX     90009879358
6B7122A1497B64   FELIPE        VELASQUES                   CO     39010172014
6B7124A8A3168B   SUEMY         MENDOZA                     KS     22047354080
6B7124AA47B449   MAGALY        MIGUEL                      NC     90006084004
6B712761331453   SHANNON       REILLY                      MO     27573707613
6B713185891894   GUADALUPE     RIVERA                      OK     21069501858
6B713294461964   JASMINE       SEYMO                       CA     90014262944
6B71367373B324   JOSE          CARDENAS                    CO     90001326737
6B713976351354   CHRISTOPHER   HAMMANN                     OH     90002729763
6B714218A91894   WANDA         PARKER                      OK     21094212180
6B714264872B36   JOSE          ORENDAY                     CO     33058412648
6B714898872B27   MICHAEL       PITTS                       CO     90013768988
6B71512895B271   HEATHER       MCMILLAN                    KY     90012211289
6B715424772B29   MIGUEL        ONOFRE                      CO     33060454247
6B715788A5B271   CHASITY       KIRK                        KY     90010437880
6B71589862B27B   SAMUEL        NAPIER                      DC     81060278986
6B715924761979   IVAN          PEREZ                       CA     90012449247
6B71592645594B   JOEL          REYES                       CA     90015169264
6B715A7138B138   SHANTELL      LOPEZ                       UT     90012960713
6B71643975B531   VIVIANN       CHAVEZ                      NM     90001674397
6B71646312B27B   ERVIN         HENDERSON                   DC     90012614631
6B716534863646   KIMBERLY      FIXSAL                      MO     90015155348
6B7166A385594B   JONATHAN      GAYTAN                      CA     90005306038
6B716AA2872B29   JOSEPH        ORE                         CO     33028100028
6B71734285B271   MICHAEL L     HALL                        KY     90014123428
6B71734715B39B   ALAN ZACH     NEEPER                      OR     90014393471
6B71778755B39B   NICOLE        SCHELL                      OR     90011257875
6B71779A524B7B   SHOKRIA       RAOUFI                      VA     90007747905
6B71786A661936   JOE           JACKSON JR                  CA     90014528606
6B7178A9355975   ISAURA        PEREZ                       CA     90015018093
6B717975A72B29   CARTER        GVANTI                      CO     90000949750
6B71824278B169   SHERYL        CULSTEN                     UT     31044722427
6B718246757538   ERICA         SILVA                       NM     90014542467
6B71864A461979   ALEXIS        GUTIEREZ                    CA     90013956404
6B718888191894   CHERYL        EDWARDS                     OK     90012938881
6B718951481644   SANDRA        BALES                       MO     90012359514
6B718A46461422   DENNIS        LAMONT                      OH     90014700464
6B719387561964   LIZBETH       ACOSTA                      CA     90013753875
6B71955194B588   RONALD        WILLIAMS                    OK     90007065519
6B719A9A25B235   DANIEL        HAYSLEY                     KY     90009510902
6B71B312861979   JOHN          SMALLWOOD                   CA     90004953128
6B71B326551354   CIERA         MILLS                       OH     90013193265
6B71B776847996   CHRISTOPHER   PRUETT                      AR     90011787768
6B71B845257538   MATT          PINEAU                      NM     90013028452
6B71BA8A172B29   JESSIE        FORTH                       CO     90014910801
6B721197572B36   TRACY         KINDORF                     CO     90012341975
6B721226655975   FARANCISCO    MALTINEZ                    CA     90015242266
6B72147155B393   BEN           TRIMBO                      OR     44521534715
6B721686991592   MARIANO       ADAME                       TX     75090876869
6B72225347B46B   ISAAC         FITZSIMMONS                 NC     90014932534
6B72236243168B   ANGELA        CEBALLOS                    KS     90012873624
6B722487672B27   THOMAS        SNYDER                      CO     90014784876
6B72295555594B   JULIA         BARRERA                     CA     90004259555
6B722A36347996   ERNESTO       MARTINEZ                    AR     90011790363
6B72315382B27B   ANGELA        DAVIS                       DC     90013041538
6B72324A533698   DEWITT        THOMAS                      NC     90015492405
6B72327A455973   YESENIA       AGUILERA                    CA     48088722704
6B724183961979   ARACELI       ROMERO                      CA     90009851839
6B724221561964   AVEDDHYT      TORRES                      CA     46087052215
6B724414471976   MARIE         MARTINEZ                    CO     90013934144
6B72466934B588   ANITA         FLORES                      OK     21582096693
6B724741172B27   ARELY         GONZALEZ                    CO     90014687411
6B72495464B27B   -JALISA       RAWFORD                     NE     90012929546
6B72522465416B   KINBERLEY     LANG                        OR     47071932246
6B72529544B27B   ERIK          TREJO                       NE     27091022954
6B72546A472B43   TREVOR        SCHERMERHORN                CO     90011954604
6B7254A9357538   JASMINE       RIVERA                      NM     90012494093
6B72572318B133   SEAN          BUIST                       UT     90006837231
6B72587995594B   JESSICA       GOMEZ                       CA     90012668799
6B725919A55975   JAIME         GARZA                       CA     90001969190
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 654 of 2350


6B72595615B921   JAMES        BRUITT                       ID     90009759561
6B7263A9271976   DANICA       MYNHIER                      CO     90014763092
6B726494261979   RUBEN        ZUNIGA                       CA     90000394942
6B7266A8497B64   JAKE         EASTERBROOK                  CO     90012446084
6B7267A5672B27   MARTHA       RAMIREZ                      CO     90014377056
6B72688754B27B   LINDA        VILLAGOMEZ                   NE     27013868875
6B727147961964   CECILIA      LOZANO                       CA     90005461479
6B7271A242B253   CONTESSA     WALKER                       DC     90004301024
6B727245181644   LUIS         CALDERON                     MO     90006202451
6B727247855941   ADELTA       JOANICO                      CA     90013932478
6B727525572B36   LORI         HARLIN                       CO     33004465255
6B72756338B168   MICHELLE     OLSEN                        UT     90001875633
6B72825587B394   ESTHER       MOSCOSO                      VA     90003282558
6B72827225B235   NIGEL        MARTIN                       KY     68079742722
6B72837465594B   DONG         MEI XU                       CA     90008203746
6B728669831453   THOMSON      BARBERS                      MO     90014626698
6B72874225416B   SAMANTHA     WINK                         OR     90008207422
6B728879572B27   JASPER       NJOKU                        CO     33015588795
6B729275355973   ANA          CASTANON                     CA     90011852753
6B72962515B344   SARAH        MCKENZIE                     OR     90006206251
6B729626891527   MICHELLE     HERNANDEZ                    TX     90012426268
6B72982564B27B   BARBARA      GERMANY                      NE     90014068256
6B729981361979   JENNIFER     AQUINO                       CA     46051389813
6B72B193572B36   MARCY        ROBY                         CO     90012341935
6B72B321355973   ITVEL        GOMEZ                        CA     90015423213
6B72B55555B39B   JOSE         VIERON                       OR     44515835555
6B72B852947996   SHERRI       KELLEY                       AR     90007018529
6B7314A1972B43   GERARDO      MONTANEZ                     CO     33074644019
6B731533163646   CODY         CRAIN                        MO     90010775331
6B731585A5B235   LATASHA      BRIGHT                       KY     68076465850
6B731766961936   GABRIEL      LOPEZ                        CA     90014487669
6B731983591592   JONATHON     MARTINEZ                     TX     75042399835
6B733288957538   LUIS         GONZALEZ                     NM     90014392889
6B733981361979   JENNIFER     AQUINO                       CA     46051389813
6B73424A85594B   ADALBER      HERNANDEZ                    CA     90013952408
6B734867755975   KERRY        BETZ                         CA     48095898677
6B73525665597B   KARLA        FELIX                        CA     90014562566
6B735365751354   ROBERT       SMITH                        OH     66067143657
6B73559417B46B   STARI        HOOD                         NC     11041255941
6B735626A91592   LOUIE        MOLINA                       TX     90004256260
6B735838577538   RHONDA       TERAN                        NV     43098028385
6B7359A5671976   JEARMY       MEDINA                       CO     90012949056
6B736263A63646   KYLE         HOVIS                        MO     90015422630
6B73642A35B39B   GILBERTO     MEJIA                        OR     44555974203
6B73651215416B   EMILY        LEWIS                        OR     90010985121
6B736691755941   ISDRO        ORTIZ                        CA     90013106917
6B73683615594B   ELEAZAR      LEMUS                        CA     48087328361
6B73686565B344   NIKOLE       DRUMRIGHT                    OR     90000108656
6B736962881644   ANGELA       HOLLINESS                    MO     90014729628
6B73698A45416B   CRYSTAL      SCHMIDT                      OR     90014859804
6B737435A55973   ANGELA       ORTEGA                       CA     48074574350
6B7374AAA63646   LINDA        CENTO                        MO     27598784000
6B73751AA5B39B   MARIA        TAPIA                        OR     90012795100
6B73781488166B   TATIONA      CARTER                       MO     29014378148
6B738126891894   ELMER        NAVARRO                      OK     21021511268
6B738423455975   MARIA        GARCIA                       CA     90013064234
6B738593333698   KINGG        FAREED                       NC     90013255933
6B7388A868B168   GAIL         FORTE                        UT     31085318086
6B73899574B588   TRE          PACKER                       OK     90008769957
6B73916584B588   ROBERT       HILL                         OK     90010011658
6B7394A5771976   VERONICA     IBARRA                       CO     38038804057
6B739A19791894   YADIR        DURAN                        OK     90014130197
6B739AA813144B   VONDA        WILLIAMS-HALL                MO     90013850081
6B73B142855941   MARIA        GASCA                        CA     90014861428
6B73B173124B7B   JUAN         VILLANUEVA                   VA     90008381731
6B73B386A81644   ROBERT       LEE                          KS     90014243860
6B73B4A4191592   OSWALDO      MARTINEZ                     TX     75079274041
6B73B523361964   MONIQUE      RANDLE                       CA     46071435233
6B73B52A155975   MARIVEL      CERROS                       CA     90011895201
6B73B884263646   MICHELLE     ELLERBECK                    MO     90002418842
6B73B89A755973   CARLOS       GONZALEZ                     CA     90014998907
6B741288957538   LUIS         GONZALEZ                     NM     90014392889
6B7412A587B449   EMMANUEL     BRANNON                      NC     90013192058
6B741591661936   GLORIA       MEDINA                       CA     90007385916
6B74178128166B   ED           BROWN                        MO     90008507812
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 655 of 2350


6B74213A18166B   IBAN          RODRIGUEZ-DZIB              MO     90010471301
6B742142785953   DEENA         ROSS                        KY     90006961427
6B74223345594B   PEDRO         CRUZ                        CA     90015182334
6B742315472B27   RODRIGO       CHAVEZ                      CO     33071043154
6B74236528B168   CINTHIA       RAMIREZ                     UT     31071893652
6B742638861979   BRENDA        VILLA                       CA     90010726388
6B74278983147B   MEREDITH      LANE                        MO     90012297898
6B742A7365594B   LEONARDO      SANTANA                     CA     90011570736
6B7432A7771976   MAYRA         ANDERSON                    CO     90014602077
6B74346625594B   ROSA          ZARAGOZA                    CA     90002184662
6B743528572B29   CESAR         RODRIGUEZ                   CO     90000825285
6B743813931453   SARAH         SMITH                       MO     90000298139
6B743A5678B169   PRAJA         KATEL                       UT     90001850567
6B744295A8B169   CASEY         BROWN                       UT     31060632950
6B744534472B36   JYRON         MITCHELL                    CO     90010985344
6B74472575B344   VASQUEZ       JULIANA                     OR     90010647257
6B744A36755941   LINDA         ANDERSON                    CA     49093390367
6B745237133698   FELIX         REYES                       NC     12096812371
6B74567167B449   LUCIA         PALMA                       NC     90013606716
6B7456AA74B588   JEREMIAH      KING                        OK     90012316007
6B746382A31453   ROBERT        ARMSTEAD                    MO     27573573820
6B746A2417B46B   QUINTESSA     HARRISON                    NC     90012900241
6B747519A57538   MARIA         QUINONEZ                    NM     90012175190
6B747526771976   JOE           ANZLOVAR                    CO     90013935267
6B74752A463646   CARRIE        KIPP                        MO     90008745204
6B74778322B27B   JOSE          FUNTES                      VA     90012897832
6B747791272B23   MIKE          MULLER                      CO     90001627912
6B74785714B588   QUANSJAY      CLAYTON                     OK     90014758571
6B74786A85B531   ABIE          MONTOYA                     NM     36011158608
6B747A1598166B   COLLIS        LEE                         MO     29000940159
6B74829265594B   ROBERTA ANN   FRANCO                      CA     90013952926
6B74885A891894   TRAVIS        HYATT                       OK     90008188508
6B74942A35B39B   GILBERTO      MEJIA                       OR     44555974203
6B7498A6857538   SOPHIA        LAWSON                      NM     90009708068
6B74B25AA72B93   THOMAS        BRUNNING                    CO     90008842500
6B74B536961936   MARIBEL       SALGADO                     CA     90010935369
6B74B648461979   GABRIELA      SIFUENTES                   CA     90013956484
6B74B81A371976   JOHN          BRIGHT                      CO     90013128103
6B74BA6895B344   AURA          MONCAYO                     OR     90007100689
6B751345763646   JOHN          CASEY                       MO     90013393457
6B75151A651342   TONYA         HUTCHINSON                  OH     90005775106
6B751A12A5416B   BRADLEY       COOK                        OR     47091590120
6B752215A3168B   DEZARAE       BALLINGER                   KS     22087552150
6B75248985594B   ANTONIO       HERNANDEZ                   CA     90014804898
6B75249784B27B   TYRUS         HARRIS                      NE     90010594978
6B752521581644   TODD          CRANE                       MO     90007725215
6B752554A55973   SAMMY         BAIZA JR                    CA     48016275540
6B75267385B531   JUAN          GOMEZ TORRES                NM     90013256738
6B75318735416B   KEL           OGBURN                      OR     90002621873
6B75338A263646   ANTHONY       FROHNAUER                   MO     90014793802
6B7533A6431453   GLORIA        HAGENS                      MO     90008773064
6B753635971976   ANGELICA      MUNOZ                       CO     90014316359
6B75373937B377   ESTEBAN       CASASOLA                    VA     90001967393
6B753887872B36   MARIA         BURGOS                      CO     90007458878
6B754363A72B27   JULIO         GALLEGOS                    CO     33047193630
6B754863A8B133   ANDREW        TERRY                       UT     31010828630
6B75493623168B   SHAWN         TRACY                       KS     22011039362
6B75495A363646   DAVID         HICKS                       MO     90014809503
6B755292155975   AUBRIEY       TRUE                        CA     48077012921
6B75533A272B36   BERNADETTE    ESPINOZA                    CO     33059393302
6B755588772B43   MARILU        ORTEGA                      CO     33029465887
6B756183791863   BRET          TUCKER                      OK     90010161837
6B756215191592   MONICA        LUJAN                       TX     75039012151
6B75684784B588   NICHOLAS      BRIGGS                      OK     90010308478
6B757138155941   RENE          HERNANDEZ                   CA     90011551381
6B757249A5B235   VERONICA      LEMUS                       KY     90014992490
6B757648461979   GABRIELA      SIFUENTES                   CA     90013956484
6B757689591556   HEREDIA       MAGARITA                    TX     90007526895
6B75773295B392   SANDRA        MARTZ                       OR     90006997329
6B757A23672B27   JESSIE        MORREALE                    CO     90006720236
6B758137731453   ADAM          CAPRIGLIONE                 MO     90008381377
6B75858785B39B   PETER         MUI                         OR     44500845878
6B75869782B27B   HJK           ZSFC                        DC     90012606978
6B758A6456155B   DEON          WILLINGHAM                  TN     90015170645
6B758A92572B29   MORALES       JUANA                       CO     90009660925
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 656 of 2350


6B759393972B27   ALEKSANDER      TYLEC                     CO     33038553939
6B759656455975   GRAYLIN         PATIN                     CA     48087476564
6B75B16243168B   LISA            IROMANTU                  KS     22031541624
6B75B922651354   ISAIAH          YOUNGBLOOD                OH     90015529226
6B75BA1934B588   AMANDA          DUKE                      OK     90014570193
6B76117A32B975   TAMMY           BRIDGES                   CA     90015281703
6B761813855975   GABBY           GODOY                     CA     90005868138
6B76183333B126   SHANTE          GRADFORD                  DC     90008168333
6B761955A55941   ALEX            MANRIQUEZ                 CA     90010649550
6B762258957538   JOSE LUIS       MONCADA                   TX     35583292589
6B76228384B588   MICAH           SOLDOLSKI                 OK     90010142838
6B76228775B39B   OMELIO          PINA                      OR     90011582877
6B762358181644   SALVADOR        RAYGOZA                   KS     90002313581
6B76243968B168   SHANE           ROBBINS                   UT     90007894396
6B762672733698   TYQUAN          PINKNEY                   NC     90015466727
6B762842155941   NANCY           RIOS                      CA     90013058421
6B762AA938B133   ORIETTA         ARIAS                     UT     90006670093
6B76323575416B   HEATHER         BYRD                      OR     90009752357
6B763552191894   VALORIE         HOPKINS                   OK     90014565521
6B764168591592   PATRICIA        ROSALES                   TX     90013381685
6B765194271976   JAMIE           GURULE                    CO     90007661942
6B765499984392   JOSE            FIORES                    SC     19067214999
6B76549A355975   MARTHA          ADAME                     CA     90013104903
6B765886581644   DAVID           GUM                       MO     90013128865
6B765A7595B39B   HEATHER         PEARSON                   OR     44539300759
6B76657275B271   CORTESA         ATKINSON                  KY     90013935727
6B767476A91894   LYDIA           RICHARDS                  OK     90010274760
6B767564347996   JAMES           CASEBOLT                  AR     25077475643
6B767612831453   ERIN            JOYCE                     MO     90009806128
6B76822348B133   FERNANDO        GONZALEZ                  UT     90000702234
6B768519863646   SARAH           HARRISON                  MO     90007225198
6B768796572B29   JASMINE         GONZALES                  CO     90012937965
6B76898975B271   MARSHALL        MORRISON                  KY     90014469897
6B768A9A581644   JOSEPH          RUFINO                    MO     90011940905
6B769412791894   STEPHANIE       GILSTRAP                  OK     90014354127
6B769884761936   RAUL            PEREZ                     CA     46053348847
6B76B17192B27B   KARLON          STODY                     DC     90014611719
6B76B195397122   JODI            KING                      OR     90010711953
6B76B1A864B588   EMMANUEL        VILLATORO                 OK     90002531086
6B76B917691894   LINDA           CARPENTER                 OK     21011389176
6B7711A865416B   KIMBERLY        SKESLIEN                  OR     90014641086
6B771576757123   RICARDO         AVILA                     VA     90004845767
6B771693191592   FABIOLA         RUBIO                     TX     90013756931
6B77176A855975   MARCOS          GUDINO                    CA     90009527608
6B7717A195B39B   PATRICK         MCCORRISTIN               OR     90013267019
6B77181395B39B   ASCENCIO        FLIAS                     OR     90009888139
6B7718A7972B27   ADAM            JOHNSTON                  CO     90013448079
6B772453661979   SHENA           NALICA                    CA     90009224536
6B772722125236   KHANDICE        HESTER                    NC     90005747221
6B773174355975   JASMINE         SCOTT                     CA     90001731743
6B773487255941   MARIA           HERRERA                   CA     90013104872
6B773518A5416B   TAMMY           HUGHES                    OR     90012625180
6B7735A7124B4B   SAMUEL          NDI                       DC     90001125071
6B773663897B64   MARCO           JIMENEZ-HERNANDEZ         CO     90004266638
6B77415172B524   FITZGARELD      YOUNG                     AL     90014701517
6B77427A341295   DEAN            PIETRANGELI               PA     51018052703
6B77455748B163   JIM             WILSON                    UT     31020615574
6B77467825B39B   TEONNA          LAWRANCE                  OR     90013076782
6B77513A172B29   JASSEN          SMIGAY                    CO     33040641301
6B7753AA37B46B   WICH            RAHLAN                    NC     90015023003
6B775658633698   JOHNNETTA       AMERSON                   NC     90010096586
6B776A4158166B   DERRICK         WILSON                    MO     90015020415
6B7771A1761936   JOSE            ARAMBULA                  CA     90010201017
6B77736345B531   EDWARD          SANCHEZ                   NM     90008563634
6B777636A47996   LINDA           FREEMAN                   AR     90012166360
6B7776A765594B   THOMAS          GAINEY                    CA     90008206076
6B777988155975   MELISSA         LYON                      CA     90012709881
6B77865A861979   MARCO ANTONIO   VALENCIA                  CA     90013956508
6B77917A95416B   BECKY           GRIFFIN                   OR     90000441709
6B779524A5B531   SARAH           DIAZ                      NM     90009135240
6B779A48A8166B   SARSWATI        SHAKAL                    KS     90015020480
6B77B216731453   LONA            MOORE                     MO     90013492167
6B77B348563646   HANNAH          HAMILTON                  MO     90007793485
6B77B6A5971976   DEVIN           HETRICK                   CO     90013936059
6B77B723385991   JEREMIAH        ROSS                      KY     90009917233
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 657 of 2350


6B77B84A155975   MAGARITO     GAMBOA                       CA     90013918401
6B77B942791975   JOSEPH V     VANFOSSEN                    NC     17067809427
6B78128A98B168   TAMEZ        MARINA                       UT     90001572809
6B781536461936   DAVID        CONTIZENO                    CA     46067215364
6B781725671976   CORVET       GRIFFEN                      CO     90013937256
6B78181A42B27B   ELIJAH       KIAH                         DC     90013688104
6B78187A272482   KRISTINE     GALLAGHER                    PA     51041898702
6B781973161979   CARLOS       ROMO                         CA     90012139731
6B781A4735416B   KENNETH      HANSEN                       OR     90015040473
6B781A9A961964   ADRIANA      DIAZ                         CA     90009120909
6B782223755973   ERIC         AVERY                        CA     90014562237
6B782686455941   GLADIOLA     OSORIO                       CA     90009866864
6B782757661964   RAUL         ARMAS                        CA     90013227576
6B7827A9557538   ANGELINA     HERNANDEZ                    NM     90014157095
6B78291255B235   BRENDA       BUCKNER                      KY     90011199125
6B7832A5725236   CHRISTIE     SMITH                        NC     90005442057
6B78331485594B   DESEIREE     BUENO                        CA     90013683148
6B78337542B27B   ROSALIND     GRIMES                       DC     90007863754
6B78347174B588   NANCY        GOMEZ                        OK     21535584717
6B783621272B27   JOSE         CASILLAS                     CO     90013876212
6B78431AA72B29   JOHN         RIEB                         CO     90010423100
6B78451828B371   PORSCHA      BROWN                        SC     90011185182
6B78463675B531   ESPERANZA    ROMERO                       NM     36094526367
6B784665A81644   JOANNA       HOPKINS                      MO     90013226650
6B784852593128   TIARA        PILLOW                       TN     90014638525
6B78522AA7B46B   CHARLES      SMITH                        NC     90013012200
6B786349461979   ROZLYN       CANNON                       CA     90004393494
6B787531A5B235   JENNA        BENINGFIELD                  KY     90013845310
6B787573571976   JESUS        LOPEZ                        CO     90007195735
6B78786935B392   RAUL         MEDINAH                      OR     44508638693
6B787992A4B547   FERNANDO     HERNANDEZ                    OK     90012569920
6B787A8915B271   SHARITA      GARNETT                      KY     90007040891
6B787AA514B588   ALBERTO      ELLIS                        OK     90013450051
6B78829A62B27B   GWENDOLYN    PUGH                         DC     81051882906
6B78833AA55975   ALMA         PANTOJA                      CA     90010353300
6B788442272482   ANDREW       WISE                         PA     51000024422
6B78845685B39B   JAMES        CUDE                         OR     90000224568
6B78863A93B324   CLARK        WALKER                       CO     33080436309
6B78884155B344   BRANDON      DAVIDSON                     OR     44517918415
6B78884685B235   LARRY        WALKER                       KY     90010018468
6B78898947B449   JOHN         FUNDERBURK                   NC     11065559894
6B788A72772B43   SARAH        SWEETI                       CO     90009620727
6B789527872B27   WELCH        MARK                         CO     90012075278
6B789919A3168B   MICHELLE     SCHILL                       KS     22042599190
6B789925872B36   JOY          SURRATT                      CO     90007759258
6B789A71955941   OSIMIS       MENDEZ                       CA     90003310719
6B78B619355973   JOSE         OROZCO                       CA     90009226193
6B78B68294B267   GUY          BARTLETT                     NE     27082246829
6B78BA47933698   SALVADOR     PEREZ                        NC     90014890479
6B79121685594B   CECILIA      CASTILLO                     CA     90012522168
6B79184825B531   SARAHY       GARCIA                       NM     90012098482
6B79192A15B39B   GUADALUPE    AVILES MERLIN                OR     90007269201
6B79258322B27B   SIDA         DIRAGO                       VA     90012045832
6B792729955973   CHRIS        CASTANON                     CA     48055937299
6B79421868B169   TINA         MAWSON                       UT     31023632186
6B794547491894   LORA         SIMMONS                      OK     90009565474
6B7947AA272B36   SIERA        KENNEDY                      CO     90010677002
6B7947AAA3168B   ABRINA       FORSHEY                      KS     22091567000
6B795543355973   LIONEL       RODRIGUEZ                    CA     90013725433
6B795554A5B271   ALEXANDREA   REDD                         KY     90014615540
6B795977891894   CHRISTINE    BOWMAN                       OK     90014179778
6B79661628B171   JAMES        HARDCASTLE                   UT     90004406162
6B79674135416B   ROSANA       GRAVES                       OR     90013317413
6B7968A314B27B   SOMMER       MCQUEEN                      NE     90013408031
6B797327972B29   SHAWN        PADILLA                      CO     90009453279
6B797547761975   PETER        CANORA                       CA     90013125477
6B79891115416B   SHAYLA       SCHNEIDER                    OR     47070069111
6B79929557B442   VICTOR       VASQUEZ                      NC     90004292955
6B79934334B588   PAYGO        IVR ACTIVATION               OK     90014283433
6B79942A257538   PATRICIA     TORRES                       NM     35582884202
6B79975A27B46B   HELEN        JOPLIN                       NC     90001827502
6B79994265B271   TONYA        POWELL                       KY     68013399426
6B799957672B36   KEVIN        FLEMING                      CO     33086649576
6B79B517A91592   ROBERT       MALDONADO                    TX     90002425170
6B79B76488166B   WHITNEY      CATHY                        MO     90007017648
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 658 of 2350


6B79B799171976   CHER LI       ANG                         CO     90013077991
6B79BA78361979   ROSA          RODRIGUEZ                   CA     90011570783
6B7B1259961964   ANTHONEY      VALLES                      CA     90013642599
6B7B1716384392   RICHARD       MOODY                       SC     19064087163
6B7B1744861936   LUZ           MEDINA                      CA     90013307448
6B7B194A355935   YOLANDA       GARCIA                      CA     90004579403
6B7B1AA6A55973   ADRIAN        FIGUEROA                    CA     90014370060
6B7B24A1771976   SONDRA        POWELL                      CO     90014334017
6B7B262A84B27B   SHAWN         RATLIFF                     NE     90015426208
6B7B26AA55B39B   JOSE          VALERIO                     OR     90012676005
6B7B2985461979   ROBERT        CORMIER                     CA     90002759854
6B7B346623168B   JOSEPH        REEF                        KS     90012014662
6B7B388385594B   JUAN          MARTINEZ                    CA     90013668838
6B7B3A81A55975   JOSE A        ARMENTAIBARRA               CA     90011530810
6B7B415895B39B   JULIO CESAR   MAGANA ARRIAGA              OR     90014181589
6B7B42A7933698   LAKEENA R     FRAZIER                     NC     90014642079
6B7B453535B271   OLIVIA        COOPER                      KY     90013935353
6B7B464A461979   ALEXIS        GUTIEREZ                    CA     90013956404
6B7B469852B27B   TIERA         MOORE                       DC     90005226985
6B7B4775997B64   SARA          BRUSSTKERN                  CO     90004977759
6B7B4928972B27   KIMBER        DURAN                       CO     33074899289
6B7B556638B169   ROCKY         DEES                        UT     90004435663
6B7B5769271976   AARON         ROGERS                      CO     90006947692
6B7B5936587B31   MARYA         LANGFORD                    AR     28007439365
6B7B628935594B   LIZET         GONZALES                    CA     90014062893
6B7B63A1751354   LUIS          BORJAS                      OH     90012733017
6B7B6518972B36   DANIEL        GRAHAM                      CO     33045065189
6B7B6529671976   WENDY         RAMIREZ                     CO     38010365296
6B7B6576555973   REBECCA       LUNA                        CA     90012015765
6B7B685A654128   LUCIE         SKY                         OR     47027268506
6B7B713188B133   CRYSTAL       NEERINGS                    UT     90011671318
6B7B7173561964   GERARD        MCKISSOCK                   CA     46006911735
6B7B73A4351354   KIM           COFFMAN                     OH     90012733043
6B7B754165B235   KIMBERLY      SAMUELS                     KY     68014505416
6B7B78A347B449   TIM           BLACKWOOL                   NC     11090638034
6B7B7919761936   MARIA         VILLANUEVA                  CA     46040729197
6B7B798613168B   TANISHA       DESHAZER                    KS     22034379861
6B7B7A19A55973   DARREN        JONES                       CA     90012980190
6B7B7A7885B39B   JEFF          TANKERSLEY                  OR     90012790788
6B7B8251491592   DUSTIN        HERNANDEZ                   TX     90014622514
6B7B826487B449   THAISALA      EUBANKS                     NC     11032282648
6B7B867A891894   CODY          CRAWFORD                    OK     90005046708
6B7B8774891999   JALESA        HILL                        NC     90004597748
6B7B8928A72482   MANDEE        HARRISON                    PA     51063439280
6B7B8A19A5B271   MICKEY        PARKS                       KY     90001620190
6B7B8A8684B588   RACHELLE      GRAY                        OK     90013880868
6B7B9114561964   ELIZABETH     CASTRO                      CA     90012631145
6B7B9465476B58   SHELLY        MORENO                      CA     46079824654
6B7B9489572482   THOMAS        NEWCOME                     PA     90011854895
6B7B9634855973   KAREN         BIBEE                       CA     90009756348
6B7B9776255975   YANETT        LEMUS LIRA                  CA     90014427762
6B7BB14335B531   ASHLEY        SAENZ                       NM     90015431433
6B7BB18777B46B   LIDIA         NALDRETT                    NC     90010641877
6B7BB225761979   ARCE          LETICIA                     CA     90001882257
6B7BB473A61964   THOMAS        GILLON                      CA     90001404730
6B7BB59985B235   DARRELL       PENNINGTON                  KY     90015555998
6B7BB63788B168   CINDY         SUVATNE                     UT     31006736378
6B7BB7AA972482   MICHAEL       LONERGAN                    PA     51074667009
6B81126A94B27B   RICHARD       LEMON                       NE     27049612609
6B811524451354   CHARLES       GRAY                        OH     90011195244
6B81175684B588   TAYLOR        HAYES                       OK     90008117568
6B81178913B324   KEVIN         CALKINS                     CO     90004317891
6B811816141295   DEBBIE        GAVULIC                     PA     90014758161
6B8122A6661964   JOSE          MILLAN                      CA     46018382066
6B81232335594B   JOE           ESTRADA                     CA     48009783233
6B81247A331453   ANGEL         BAILEY                      MO     90010914703
6B812776457538   MELANIE       VARGAS                      NM     90013517764
6B81291265B39B   MARIA         DELGADO                     OR     90011739126
6B812AA6331453   ANGEL         BAILEY                      MO     90012560063
6B81313718166B   JAIMIE        MCCALE                      MO     90015021371
6B813211131453   SHARON        MILEY                       MO     90008382111
6B813613891894   AARON         THOMPSON                    OK     21026446138
6B813638255941   JESSICA       DURAN                       CA     90014786382
6B813758291592   TANIA         SANTOYO                     TX     75044367582
6B813772855975   HAZZELL       NARANJO                     CA     90010187728
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 659 of 2350


6B813A5175416B   BRION        FALLON                       OR     90009020517
6B81429112B27B   LEONARD      HARLEY                       NC     81073522911
6B814521555973   SUSIE        RUSSELL                      CA     90013715215
6B81452854B27B   CRAIG        VRANA                        IA     27033075285
6B81456744B588   JUANITA      RODRIGEZ                     OK     90012095674
6B81459A73168B   ISAIAH       TUHRO                        KS     90011215907
6B814961163646   ORDONES      EVALDO                       MO     90013679611
6B815376572B27   KELSIE       YOUNG-IBARRA                 CO     90014873765
6B815733A71976   JUAN         GARCIA                       CO     90010527330
6B8157A8781644   CYNTHIA      DYKES                        MO     90012067087
6B815857255973   ANGELITA     LOPEZ                        CA     48023218572
6B81598A561979   EVA          RODRIGUEZ                    CA     90010849805
6B8161A825B531   PETER        ALARID                       NM     90010641082
6B816675161979   ENRIQUE      ESPINOZA                     CA     90013956751
6B8167A1672B27   STEVEN       FIELDER                      CO     90014257016
6B816863A57538   VICTOR       BUSTAMANTE RAMIREZ           NM     90012938630
6B81718374127B   ASHLEY       WALL                         PA     90011231837
6B817736681671   ELLIE        BICKLEY                      MO     90005737366
6B81779275416B   CHRISTINA    DAVIS                        OR     90011027927
6B8184A5561964   FELIX        DOMINGUEZ                    CA     90005384055
6B818688372B29   ALEJANDRO    BELLO                        CO     33022476883
6B81873878B133   STEFANIE     BINGHAM                      UT     90008737387
6B818773891592   YESENIA      PENA                         TX     90013977738
6B818A74A47996   SHAWN        OWENS                        AR     90013000740
6B81928515B271   RASHUNHNA    SLOAN                        KY     68081582851
6B819321471976   CRYSTALYNN   GALLEGOS                     CO     90013103214
6B81933463168B   JULIUS       HUGHES                       KS     90014153346
6B81958417B449   CHANECKIE    BLACK                        NC     90003365841
6B81961418162B   MONIECE      LOVELACE                     MO     90011906141
6B81992545416B   DEBORAH      WHEELER                      OR     90015219254
6B81B561172B29   MIRIAM       ROCHA                        CO     90010235611
6B81B7A8951342   VIACOUNTES   BRYANT                       OH     66061307089
6B81B943A51354   RAYMOND      WALKER                       OH     66062999430
6B81B9AA17B449   VANESSA      FRONEBERGER                  NC     11015949001
6B82124914B291   KURT         SKRADIS                      NE     90010072491
6B821584281644   CANDIDO      LARA                         MO     90012995842
6B821874872B36   BARBARITA    MARRUFU                      CO     90001338748
6B822166261936   MARCO        SERANO                       CA     90011951662
6B82223523B335   JUAN         TORRES                       CO     33076302352
6B82224914B291   KURT         SKRADIS                      NE     90010072491
6B82227A555975   OMAR         MAGANA                       CA     90006802705
6B822865571976   ANDREA       GARCIA                       CO     90013938655
6B82311574B27B   JUAN         TISCARENO FLORES             IA     90000471157
6B823154686593   PAYGO        IVR ACTIVATION               TN     90014871546
6B82359695B271   CORNECIA     CRAFT                        KY     90013935969
6B82387828166B   RICHARD      VERGARA                      MO     90015278782
6B823975672482   RICHARD      WILLISON JR                  PA     90005809756
6B824439455975   RAFAEL       SALAS                        CA     90013004394
6B824618872B29   DOUGLAS      DOHMAN                       CO     90009946188
6B82473A891975   PAYGO        IVR ACTIVATION               NC     90008087308
6B825896461979   ABDIRAHMAN   SAEED                        CA     46032188964
6B825934455975   EVELYN       GITIERREZ                    CA     48006859344
6B82594823B388   DAVID        ST AMOUR                     CO     90007329482
6B825968561936   FERNANDO     VALDEZ                       CA     90007519685
6B82598598166B   ANDRE        ROBINSON                     MO     90012769859
6B826486955973   JUANA        GARCIA                       CA     48030354869
6B826737254128   CHERYL       TIEDE                        OR     47058777372
6B827184A5594B   MARIA        SOLIS                        CA     90006541840
6B827564861979   VILMA        LANDUR                       CA     90014555648
6B827677961979   MARIA        BECERRA                      CA     90013956779
6B827731131453   ALYSSA       BURG                         MO     27573597311
6B8281A955B39B   GERMAN       MACIAS                       OR     90004341095
6B828697591894   JOEIE        MUTPHY                       OK     90003296975
6B828847981644   ACHEBE       AROME                        MO     90012828479
6B82899767B46B   TASHA        LEAKE                        NC     90014789976
6B82995784B27B   ANTHONY      KREUS                        NE     90013599578
6B82B484861936   TERSA        JACKSON                      CA     90005894848
6B82B679172B43   ARTURO       LOPEZ                        CO     33069056791
6B82B95745B531   JUAN         GALDAMEZ                     NM     90012909574
6B831326693777   TOSHA        DICE                         OH     64506973266
6B831741292824   PEDRO        CORONADO                     AZ     90015507412
6B831765172B43   MAGDA        LOPEZ                        CO     33075177651
6B8317AAA72B36   JESSICA      VALENZUELA                   CO     90011967000
6B831A15957538   MICHELLE     REYES                        NM     90011220159
6B832884471976   LATONYA      GALLEGOS                     CO     90013938844
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 660 of 2350


6B832884A61979   MERARY       DOMINGUEZ                    CA     90015208840
6B832A8974B588   KAREN        CARDONA                      OK     90009540897
6B832A8A472B29   ROB          ROBERTSON                    CO     90014910804
6B833361172B93   CLIFFORD     LADWIG                       CO     90000963611
6B833518271976   CHAD         MARTEL                       CO     38098825182
6B8336A385B39B   JOANNA       HERNANDEZ                    OR     90010546038
6B83383188B168   STACI        MOSELEY                      UT     90010048318
6B833A41255973   JULIA        EDMONDS                      CA     48012730412
6B83442965597B   LYNN         BUNDY                        CA     49068644296
6B83449A755973   PATRICIA     FRATICELLI                   CA     90010774907
6B83453854B588   ROXENI       LOPEZ                        OK     21565155385
6B83453A541295   LORI         MICHAELS                     PA     90006405305
6B834546555975   PAMELA       GRIESER                      CA     90012785465
6B834A74272B36   HIWOT        LEMMA                        CO     33028260742
6B83518A471976   FRANK        ROMERO                       CO     38053731804
6B835436976B21   ELISA        ZAVALA                       CA     90007524369
6B835898755941   CANDI        SOLIS                        CA     90010348987
6B83632578B168   MELLISA      DUKE                         UT     31038433257
6B836493591599   ROMELIA      MIRANDA                      TX     90010594935
6B83651A257538   BELINDA      CORBIN                       NM     90008855102
6B836542355941   ERIC         BELTRAN                      CA     49007505423
6B836664491894   DEMARRIO     CARTER                       OK     90012996644
6B836754451342   AMBER        HOSKINS                      OH     90005697544
6B836848791592   DANIEL       WOOD                         TX     75098968487
6B836A1438166B   JANETTA      HUGHES-TAYLOR                MO     90003780143
6B836A8747B46B   MARGARITA    MENDOZA                      NC     90010450874
6B837171A5B271   BRANDIE      MURPHY                       KY     90014651710
6B83757A15B392   CANDELARIA   BRAVO                        OR     44558505701
6B837761972B36   DANNY        LEON                         CO     33080297619
6B83844384B27B   TRACEY       JONES                        NE     27057854438
6B838647731453   JOSHUA       SHOBE                        MO     27597056477
6B838651572B29   BERNADETTE   ARCHULETA                    CO     33055956515
6B83911A45594B   MARIA        HERNANDEZ                    CA     90011101104
6B83924855B235   ALEXANDER    GAMBLE                       KY     90013362485
6B83927A772B29   CHISTOPHER   DEHART-REED                  CO     90009162707
6B83931422B27B   MELVA        MERINO DE CRUZ               DC     90014893142
6B83983A572B43   JEREMY       UNKNOWN                      CO     33047968305
6B839911991592   MELISSA      LORAN                        TX     75063109119
6B839994771976   JOSH         SHORE                        CO     90013939947
6B839A5715B344   TONY         SCHULTZ                      OR     44559970571
6B83B34635B271   JASMINE      CANNON                       KY     90010733463
6B83B372771976   KRYSSA       BAKER                        CO     90002513727
6B83B452754B47   SOLOMON      CLARK                        CT     90010704527
6B83B648651352   ERICA        MOSS                         OH     66008756486
6B83B683555941   ALFREDO      BAUTISTA                     CA     90014966835
6B83B835281644   WILBURN      MANNING                      MO     90000648352
6B83B992A61936   GLENN        FORD                         CA     90013509920
6B841353A31453   TENIERA      HUBBARD                      MO     90006953530
6B84143445594B   JASMINE      VASQUEZ                      CA     90014764344
6B841536872B27   JUNE         MARTINEZ                     CO     33003045368
6B842316172B27   ASHLEY       ANNAN                        CO     90006913161
6B842336463646   SCOTTY       ADAMS                        MO     90013073364
6B842416355973   LILIA        DUARTE                       CA     48042914163
6B842765571976   ROSE         PINO                         CO     90011377655
6B84294517B632   COURTNEY     CHAMBERS                     GA     90010569451
6B843621272B27   JOSE         CASILLAS                     CO     90013876212
6B843666A61979   ANTHONY      BAUTISTA                     CA     90006826660
6B843889A55941   RON          HENDRICK                     CA     90003328890
6B843A81651354   LALISA       FASANELLA                    OH     90003430816
6B84545337B46B   ROSA         GRANADOS                     NC     90015274533
6B84566795B235   SOVANNA      KEO                          KY     90010856679
6B845682955975   CYNTHIA      RICO                         CA     90015206829
6B845768191592   ASHLEY       LUJAN                        TX     90012397681
6B84588994B27B   BRIAN        THORNTON                     NE     90003488899
6B845942371976   RITA         ESQUIBEL                     CO     38003839423
6B846316533698   SILVIA       MORAN                        NC     90012063165
6B846328781644   DORIS        EZELL                        MO     90010323287
6B84653A772B27   JAVIER       MENDEZ-ROMERO                CO     90012415307
6B846581A61964   ANA          SMITH                        CA     46061695810
6B846882871976   LAYNE        PEARCE                       CO     90001678828
6B846A97933698   ALEJANDRA    GAVIRIA                      NC     90014790979
6B847177691592   ANDRE        ACOSTA                       TX     75093151776
6B847358955975   ROGELIO      NUNEZ                        CA     90015133589
6B847837572B43   RAVIN        WYMAN                        CO     90013968375
6B8478AA25B271   AUTUMN       SARKANY                      KY     90010438002
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 661 of 2350


6B8479A3361979   KRISTIAN     BALLESTEROS                  CA     46051539033
6B8479A4297B57   ISREAL       MARES                        CO     90008599042
6B848194155941   MARIELA      HERRERA                      CA     90013141941
6B848199191894   IGNACIO      HERNANDEZ                    OK     21040761991
6B8481A9A55969   LUIS         JOHNSON CORTEZ               CA     90007741090
6B848315263646   DEBORAH      HILBERT                      MO     90014163152
6B848463154128   ANJA         REYNOLDS                     OR     47064024631
6B849436891592   JOHNNY       VARELA                       TX     90009804368
6B84982AA5B39B   CHRISTIE     SCOTT                        OR     90002568200
6B84B398493128   BROOKLYNN    MAYBERRY                     TN     90015373984
6B84B432755941   VICTORIA     CORONA                       CA     90013794327
6B84B463A63646   WILLIAM      MYLES                        MO     90014954630
6B84B67A64B27B   LURDES       CHAVES                       NE     90004516706
6B84BA5385B235   JUSTIN       MALONE                       KY     90014090538
6B84BA9A133698   RENNE        HARRIS                       NC     12058460901
6B851539155941   JOSE         MENDEZ                       CA     90010415391
6B85185225B344   DAHN         ANDERSON                     OR     90003978522
6B85185AA57538   DAVID        STALWORTH                    NM     90013558500
6B852329281644   SANDRA       WEBB                         MO     90011233292
6B8524A3161979   BERNARDO     CORIA                        CA     90006474031
6B8526A255B271   SHANFA       WORDLOW                      KY     90013936025
6B8529A575B531   MARIA        BETANZOS                     NM     36006929057
6B852A85861964   SERGIO       LOPEZ                        CA     90000260858
6B853412A5B55B   TIMOTHY      ZANNES                       NM     90004864120
6B85342712B949   WAYNE        CORDER                       CA     45094134271
6B853517A3168B   MIGUEL       ANICTO                       KS     90015035170
6B85365158B133   ESTHER       FUENTES                      UT     90008436515
6B85375955416B   JOHN         POPE                         OR     90012457595
6B853817771976   JANICE       TRUJILLO                     CO     90013048177
6B853841591894   ROGELIO      LEON                         OK     90013868415
6B85386262B27B   GRAY         STRICKLAND                   DC     90007288626
6B853A31791894   ROCKY        RICH                         OK     90011600317
6B854883124B7B   MARIE        KOERNER                      MD     90015448831
6B85494428B133   JOHN         TIMBEL                       UT     90015249442
6B85525174B555   TRINIDAD     PEREZ                        OK     90011622517
6B855585263646   DALEEN       BRANDEN                      MO     90015155852
6B855A78361979   ROSA         RODRIGUEZ                    CA     90011570783
6B856316A63646   RODOLFO DE   LUNA JR                      MO     90009513160
6B856592172482   ANNA         GLEINN                       PA     90007765921
6B857112872B36   CHRIS        BEMENT                       CO     90014861128
6B857162691592   LINDA        BARBA                        TX     90011841626
6B857464272B43   PATRICIA     LOVATO                       CO     90009644642
6B8579A8255983   MARGARITA    MORALES                      CA     90000229082
6B858347455975   MARCO        ORGA                         CA     48085263474
6B858686155941   DIANA        CORTEZ                       CA     90007136861
6B8588A555B39B   JORGE        PARRA                        OR     90005828055
6B8593AA861964   JEFFREY      PUTH                         CA     90010453008
6B85996665B531   JUAN         MORALES                      NM     90014159666
6B85B223291894   ROBERT       DIEHL                        OK     90008582232
6B85B252272B29   MARIA        MEZA                         CO     90004492522
6B85B7AA563646   SNUGGLES     COTTON                       MO     90014087005
6B85B8A434B27B   LAURA        WILLIAMS                     NE     90006358043
6B861344272482   KIMBERLY     SEBASTIAN                    PA     51030723442
6B861462572B27   ROSI         ZACEVISH                     CO     33048274625
6B861689661979   MARIO        NAVARRO                      CA     90013956896
6B861972787B31   DONIECE      HARPER                       AR     28084869727
6B861A11955941   JUAN CARLO   HERNANDEZ                    CA     49098920119
6B86252875B344   TRACI        EMERY                        OR     44544605287
6B862748951354   KIMBERLY     HUTCHESON                    OH     66089337489
6B8627A1861979   LORENA       LOPEZ                        CA     90010337018
6B862A32672B36   DANIEL       KEOGH                        CO     33039760326
6B862A3365B531   KARINA       OLIVAS                       NM     36030800336
6B862A58361931   PEDRO        LEDEZMA                      CA     46019460583
6B862A6A772B27   LUCERO       BERNICE                      CO     90004340607
6B863172872B36   KHADIGA      HANFAREY                     CO     33001071728
6B86351A15B531   LARA         CURTIS                       NM     36026205101
6B8635A8133698   MITCHELL     WALTERS                      NC     90012125081
6B863889A55941   RON          HENDRICK                     CA     90003328890
6B863AA2855973   JOEL         BAEZ                         CA     48004110028
6B864123351342   STEVEN       MEYER                        OH     90010721233
6B864159197B64   NATHANIEL    CORDOVA                      CO     90014541591
6B86453578B168   MIKE         BERRETT                      UT     90005425357
6B864569A31453   MARK         WILLIAMS                     MO     90011435690
6B864A18454128   KATRINA      DIFONZO                      OR     90007400184
6B86556595B392   FLORENTINO   RAMOS                        OR     44577345659
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 662 of 2350


6B8658A6A4B27B   JOSEFINA     LORENZO                      NE     90009018060
6B865918391894   JOYCELL      JONES                        OK     21070309183
6B865A15455978   BENITO       GOMEZ                        CA     90014170154
6B8661AA35B531   SAMANTHA     GUTIERREZ                    NM     90014741003
6B866563455975   RACIEL       CHAVEZ-DE LA CRUZ            CA     90015525634
6B86673992B238   CRYSTAL      SMITH                        DC     90003587399
6B86686795B39B   BRANDY       WHEELOCK                     OR     90015288679
6B86711445B39B   JESUS        LOPEZ                        OR     90004341144
6B867447391592   ANTONIA      ACOSTA                       TX     75020594473
6B867471557538   KARI         LEE                          NM     35547684715
6B86756597B46B   DOGOBERTO    MEJIA                        NC     90009005659
6B86824695416B   AMBER        PARKER                       OR     47037622469
6B86837575594B   RODOLFO      CARDENAS                     CA     90013683757
6B868471391592   ARMIDA       PUGA                         TX     90010014713
6B868A95124B7B   JEREMY       BUFORD                       DC     90013480951
6B869553597B64   HARVEY       MURRAY                       CO     90004225535
6B86961215B271   TONSHAY      CLARK                        KY     90014616121
6B86977A151334   ALEXA        CHAMBERS                     OH     90011177701
6B869A12391592   ADRIANA      GOMEZ                        TX     90014530123
6B86B5A8472B29   MASHBURN     HAROLD                       CO     90005585084
6B86B85948166B   SHAWN        CUNLIFFE                     MO     29002518594
6B86BAA964B542   DEIRDRE      GRANT                        OK     90014610096
6B871143872B27   DAMBER       BARAL                        CO     90010751438
6B87154A963646   TIFFANI      HEIMBACH                     MO     27558555409
6B87292A42B27B   TRAVIS       KINNEY                       DC     90013329204
6B872A59572B29   STEVE        GRANDFORD                    CO     90014970595
6B87332148B169   MICHELE      HOLLY                        UT     90006013214
6B87332A333698   SHAQUANDRA   CURRY                        NC     90011903203
6B87346865B39B   AMBER        MEYER                        OR     90010524686
6B87357A563646   AMANDA       ROLAND                       MO     90014795705
6B87387A15B271   DIAMOND      COMMODORE                    KY     90009548701
6B874424455973   JOSE         BERUNEN                      CA     90011234244
6B874612751354   DIAMOND      GILL                         OH     90013456127
6B87479575594B   LEOVARDO     NAVARRETE                    CA     90002147957
6B8747A1161979   ANTHONY      PARTIDA                      CA     90013957011
6B8747AA233698   SYDNEY       DESHAZO                      NC     90012997002
6B87549A23168B   SONJA        CRAWFORD                     KS     90014354902
6B875586751342   NATE         BOTTS                        OH     66001535867
6B875915861979   JOHN         GRANTHAM                     CA     90013159158
6B875A2857B495   MONIQUE      LYONS                        NC     90014570285
6B875A3A171976   RUBY         GRAY                         CO     38078100301
6B87617924B588   SOLEDAD      CUETO                        OK     90013461792
6B876379557538   SANDRA       VALENZUELA                   NM     90002763795
6B876398A72B43   THOMAS       VIGIL                        CO     33062303980
6B8764A695594B   SAMUEL       ZAMORA                       CA     90012384069
6B876539351354   DOROTHY      BROWN                        OH     90012155393
6B876696931587   JANICE       GRENGA                       NY     53086336969
6B8775A715594B   PATTI        CEBALLOS                     CA     90014765071
6B877668561936   ALBERINA     DEPAZ                        CA     90014676685
6B877978255973   BRIAN        HAMETT                       CA     90007209782
6B877A7684B27B   HAPYNES      ODHIAMBO                     NE     90013610768
6B87826278B133   VIONE        BASSETT                      UT     90003932627
6B878661972B29   IVETH        ANTILLON                     CO     33027566619
6B878676657538   VANESSA      ROMERO                       NM     90007416766
6B878A3A171976   DAVID        GONZALES                     CO     90008140301
6B879172576B66   MANUEL       BARHONA                      CA     46016371725
6B879263161979   IVAN         CHAVEZ                       CA     46051602631
6B879655A72B29   RICARDO      CARRANZA                     CO     90004106550
6B879A77255975   LUKE         KAMBIEK                      CA     48005970772
6B87B211491592   ELIZABETH    ESCOBEDO                     TX     75044362114
6B87B38784B599   JUAN         JIMENEZ                      OK     90000553878
6B87B84585B39B   JAQUELINE    BEGA                         OR     90013918458
6B87B856181644   DOROTHY      BAILEY                       MO     90011528561
6B87B988A51354   JACOB        HAPNER                       OH     90009679880
6B88123547B462   ROSCOE       KENDALL                      NC     11091002354
6B881333451354   GIOVANNI     STRAIN                       OH     90015203334
6B881836397B64   WALTER       CASTILLO LOPEZ               CO     90004988363
6B8822AAA4B27B   RAFAEL       ALMANZA                      NE     90013962000
6B882437291975   SHARDE       PEAS                         NC     90001614372
6B88272485594B   DIANA        ZALAZAR                      CA     90002167248
6B882948891894   RYAN         ADAIR                        OK     90012749488
6B883378933698   DONALD       ADAMS                        NC     90013853789
6B8833A485B271   ERICKA       ALEXANDER                    KY     90011273048
6B883575291999   SCOTT        RESPESS                      NC     90006925752
6B883683557538   MARISELA     GARCIA                       NM     35545046835
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 663 of 2350


6B883A1283B324   NEFTALE      LINALDI                      CO     90001940128
6B88417A971976   TASHA        REAMS                        CO     90013991709
6B884337624B7B   TIAWANA      TUCKER                       DC     81064143376
6B884776661979   GEOVANI      ARAMBULA                     CA     90000267766
6B884A61855975   RUTH         OJEDA                        CA     48076400618
6B884A9A95594B   REBECCA      GUTIERREZ                    CA     90012980909
6B88529185B39B   DEBBIE       PULLEN                       OR     90011262918
6B885395891592   PEDRO        NEVAREZ                      TX     90010693958
6B8858A2161979   STACEY       TURNER                       CA     90014358021
6B885A7517B46B   TONY         HOWARD                       NC     11000620751
6B88616563168B   RANDY        BISCONER                     KS     22028531656
6B886319372B29   JOSE         CAMARILLO                    CO     33085243193
6B886587A63646   SHANNON      YUEDE                        MO     90014795870
6B8865A7651342   KRISHNA      SAVAGE - GREEN               OH     90004605076
6B88686765B235   CARRIE       EBERLE                       KY     68004948676
6B886891571976   CHRYSTAL     BLAESS                       CO     38052618915
6B886AAA58B168   KIAN         KUPFER                       UT     31029910005
6B887158A71976   JUSTIN       VIALPANDO                    CO     90008441580
6B88752858166B   RACHEL       BARBER                       KS     29081335285
6B88754525B151   WILLIAM      CARDWELL                     AR     90012705452
6B887611472B36   SONIA        AVILA                        CO     33042996114
6B887858257538   OFELIA       CASTILLO                     NM     90011538582
6B887A55372B27   MARCO        ANDRADE                      CO     33076830553
6B888742A61979   EDDIE        SALDGO                       CA     46051607420
6B8888A644B588   ABIGAIL      RAMIREZ                      OK     90013928064
6B8896A274B588   SEAN         SALSMAN                      OK     90007586027
6B889733355941   HEATHER      MURDOCK                      CA     90004527333
6B889813584392   ISABEL       CORTEZ                       SC     19019978135
6B88B257672B43   MARK         MARX                         CO     90012352576
6B88B55342B27B   DELONTE      CAMPBELL                     DC     90015175534
6B88B5AA357538   CARL         WATERS                       NM     90012735003
6B88BAA658166B   ALAN         COLE                         MO     90012730065
6B891513351354   KRISSHON     MARTIN                       OH     66040305133
6B891513833698   ANGELICA     GALES                        NC     90005915138
6B892234397B64   ELLEN        ROTUNDO                      CO     90012712343
6B892523791592   MELISSA      MARTINEZ                     TX     90014155237
6B892539155973   ERIC         CASTEN                       CA     90014845391
6B892719191592   CLAUDIA      REYNA                        TX     90002067191
6B892998172482   TONY         MONHEY                       PA     90011579981
6B892A4555B531   JOSE         GUEVARA                      NM     90014140455
6B892A9418166B   ELIZABETH    BAHENA                       MO     90004840941
6B892AA1557B76   LOUIS        MARQUETTE                    PA     90015460015
6B893226461936   RICKIE       HILLIN                       CA     46075892264
6B89329A94B588   DONALD       NICHOLS                      OK     90009332909
6B89344168166B   RAEDONNA     CUNNINGHAM                   MO     90015034416
6B893889163646   KELSEY       MCGEE                        MO     90015558891
6B893A64691592   LISETH       LIRAMONTES                   TX     75046610646
6B894121572B43   CHRISTINA    CASTANEDA                    CO     90014831215
6B89436848166B   MAGDA        GONZALEZ                     KS     29054993684
6B89456A555975   CECILIA      MEDINA                       CA     90015025605
6B894728755941   ARLENE       GARCIA                       CA     90014407287
6B894A6A151323   ERIN         ALLEN                        OH     90008570601
6B89518615416B   KENNETH      ADAMS                        OR     47084651861
6B895514755941   RUDY         ARBALLO                      CA     90013155147
6B89559A124B47   HIWOT        KORRA                        DC     90001675901
6B89562595B235   DAYQUAWN     CARTER                       KY     90015126259
6B895669357538   ISELA        ARCHULETA                    NM     35535296693
6B89568A54B27B   YANELI       AGUILAR                      NE     90013806805
6B895986655973   OLIVIA       ROMERO                       CA     90006019866
6B895A61391999   YOLANDA      BUNN                         NC     17055190613
6B89651458166B   MICHEAL      TAYLOR                       MO     29001045145
6B896514755941   RUDY         ARBALLO                      CA     90013155147
6B896565471976   LORRIANE     MORA                         CO     90009385654
6B896914772B36   ALFRED       SANDOVAL                     CO     90008949147
6B897526555991   LEOPOLDO     HERNANDEZ                    CA     48032825265
6B897538455941   JOSE         FIERRO                       CA     90006575384
6B898689263646   ROBERT       DURBIN                       MO     27508846892
6B8987A8657538   RUBEN        MALDONADO                    NM     90013297086
6B89891645B39B   DANIELLE     BURNETT                      OR     44568069164
6B899384263646   SAM          DOWNEY                       MO     90011123842
6B899518672B43   STEPHANIE    MARTINEZ                     CO     33032965186
6B899766855942   JORGE        ROMO                         CA     90012007668
6B89995A74B27B   NICKA        WALKER                       NE     90009149507
6B89B26988B133   JOSE         NOLASEO                      UT     90008132698
6B89B44A78166B   RUBEN        PEREZ                        MO     90015034407
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 664 of 2350


6B89B59A372B29   TIFFANY           SAPP                    CO     90013185903
6B89BA3565B39B   RICO              SILVESTRE               OR     44539440356
6B8B1291697B64   JEREMY            LIPKA                   CO     90007162916
6B8B14A2671976   KAYLA             BACA                    CO     90012874026
6B8B1628272482   RYAN              OMECINSKI               PA     90005796282
6B8B2937197B64   ERICK             RODRIGUEZ               CO     90004279371
6B8B2A5655B531   DAGO              MELARA                  NM     90011400565
6B8B3111172482   MATHEW            CHRONICK                PA     51005331111
6B8B362775B531   EDWIN             GALDAMEZ                NM     90015166277
6B8B3874255973   MELINDA           BONILLA                 CA     90014488742
6B8B411485B235   CANDIS            WAGNER                  KY     68006391148
6B8B418A961979   MYLENE            MILLER                  CA     90008961809
6B8B4199333698   MELISSA           BROWN                   NC     90013921993
6B8B41A293B391   ELIZABETH         BUTTS                   CO     33091451029
6B8B474AA81644   ALYSSA            SANDERS                 MO     90014657400
6B8B528515B271   RASHUNHNA         SLOAN                   KY     68081582851
6B8B5795372B29   MARK              STONE                   CO     90010137953
6B8B5826A5594B   PATRICIA          GONZALEZ                CA     48061408260
6B8B5836A7B46B   KATURA            JACKSON                 NC     90014728360
6B8B5A7775B39B   JOEL              MARTINEZ                OR     44577040777
6B8B642662B27B   SHANE             JAMES                   DC     90007864266
6B8B64A8361936   TOBIAS            VILLAGOMEZ              CA     46018454083
6B8B653944B588   KATHY             MATHEWS                 OK     90005435394
6B8B665A88B133   JEREMY            OBRIEN                  UT     90014086508
6B8B6821151342   BRYAN             WOOD                    OH     66091108211
6B8B731A42B27B   JAMAL             TAYLOR                  DC     90014683104
6B8B7449A57538   MARIANA           HERRERA                 NM     90013744490
6B8B7454261936   LOLA              CARTER                  CA     90014904542
6B8B752A297B64   STACIE            STOCKTON                CO     90001725202
6B8B7636455941   VICTOR            TOVAR                   CA     90014786364
6B8B778188166B   MARIA             MARTINEZ                MO     90015027818
6B8B7863671976   SACHRISSA         COLE                    CO     90010528636
6B8B8333372B43   ELIZABETH         MANUEL                  CO     33084093333
6B8B8667233698   JHONNY            BARILLAS                NC     90013126672
6B8B8A21A3168B   KENDAL            JAMES                   KS     22021910210
6B8B8A55591592   CAROLA            ANDRADE                 TX     75084710555
6B8B939315416B   RONELLA K         BREWER                  OR     90000683931
6B8B9415863646   DANIEL            REID                    MO     90014464158
6B8B955715597B   ANGELINA          PEREZ                   CA     90011655571
6B8BB418555975   CHRISTINA         SOTO                    CA     48007324185
6B911178898B22   RONNIA KRISTINA   HOWARD-VANDIVER         NC     90013291788
6B91122695594B   OCTAVIO           GALLARDO                CA     90012782269
6B91131345B531   LETICIA           DELGADO GONZALES        NM     36005663134
6B911372572B43   JENNIFER          KELLY                   CO     90011123725
6B9116A478B168   TERESA            HARRISON                UT     31051846047
6B9122A3571976   ROSALINA          MAREZ                   CO     90010622035
6B912361A61936   JASON             RAGAN                   CA     90013473610
6B912487772B27   JOHN              LEWTHWAITE              CO     33016094877
6B912932747986   CARLOS            ALEGRIA                 AR     25022329327
6B9131A264B56B   FLOR              MARTINEZ                OK     90014371026
6B913328891894   SARAH             THOMPSON                OK     90014653288
6B913399291525   ANTONIO           TRANCOSO                TX     75092073992
6B913651557538   SHAUNA            RICHARDS                NM     90008326515
6B913A1A461979   MARIA CHRISTINA   CARDOSO                 CA     90010210104
6B914554A4B588   ZULEMA            GARCIA                  OK     90006145540
6B914A7515594B   JAVIER            NOYOLA                  CA     90007640751
6B9151A365B235   CHERYL            READING                 KY     90012831036
6B915363971976   LEVI              MARTINEZ                CO     38030253639
6B91631345B531   LETICIA           DELGADO GONZALES        NM     36005663134
6B916623772B43   BRANDON           WEMYSS                  CO     90015466237
6B916641455941   MARLENE           SANCHEZ                 CA     90014786414
6B916751961979   JUAN              CARRILLO                CA     90013987519
6B91717A65B235   REMONDRA          WATKINS                 KY     90013441706
6B917624255975   THERESA           LOVE                    CA     90013646242
6B917723591592   LUCILA            ESPARZA                 NM     75065067235
6B91799383B335   TERENCE           EDLOS LYLES             CO     33066119938
6B91853A55B271   LAL               CHAUHAN                 KY     90012875305
6B918728755941   ARLENE            GARCIA                  CA     90014407287
6B91876928B133   ELIAS             GREEN                   UT     31053127692
6B918784347821   SYLVIA            WILLIAMS                GA     14077777843
6B918A59761979   JOEL              CASTILLO                CA     90011970597
6B919446572B27   YARED             GRIJALVA                CO     90012784465
6B919764572B29   JORGE             SOTELO                  CO     90001097645
6B919A9675416B   BILLIE            HICKS                   OR     47045820967
6B91B224161558   STEVHN            SOTO                    TN     90015582241
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 665 of 2350


6B91B92A772B36   EVALISE      NIEVES                       CO     33064159207
6B921117851354   MOOL         MAJOR                        OH     90013931178
6B92123955B39B   FRANCISCO    VILLEGAS                     OR     90015282395
6B921286957538   GEORGINA     MARTINEZ                     NM     90014542869
6B921372381644   JAKE         MOBB                         MO     90011233723
6B921374255973   JESSICA      GOMEZ                        CA     90013353742
6B921587A63646   SHANNON      YUEDE                        MO     90014795870
6B92163A855941   APRIL        JOHNSON                      CA     90010476308
6B92181527194B   MATTHEW      FILES                        CO     38011778152
6B921984A72B29   TY           PERVIN                       CO     90007909840
6B921AA393168B   GARY         SIMPSON                      KS     22088920039
6B92216667194B   ESTRELLA     VALENZUELA                   CO     90011791666
6B92237A857538   SAVANNAH     ORDONEZ                      NM     90013353708
6B922661A71976   MELISSA      MONTOYA                      CO     90012876610
6B92272A65B235   EDWIN        MALDONADO                    KY     90001867206
6B922855961936   ALFREDO      CASTILLON                    CA     90015078559
6B923248461936   JESUS        RIVERA                       CA     90003972484
6B923388291894   WADE         MCDANIEL                     OK     21005353882
6B92417A661936   ABREEONNA    SMITH                        CA     90010801706
6B924348391894   TARRON       HURLEY                       OK     90010433483
6B924768755975   VANESSA      CAMPOS                       CA     90013967687
6B924883472B27   SUSANA       MEDINA                       CO     90008438834
6B92497547B493   ROGELIO      RUIZ                         NC     11017479754
6B92542164B588   DALAINA      WYATT                        OK     90013724216
6B925658455941   RUFINA       VILLANUEVA                   CA     90010476584
6B925A22A51352   JESSE        BALL                         OH     90015300220
6B925A42A21637   CAMILLE      JACKSON                      OH     90012190420
6B925A81A5B39B   CHRISTINA    LUCERO                       OR     90014770810
6B926164157538   ROSALBA      CASTILLO                     NM     90009521641
6B92652A355973   ANTONYO      CANO                         CA     90010755203
6B926695A61936   ROBERT       BAUCER                       CA     90008286950
6B926944833698   CARLA        SZAJLAI                      NC     90002469448
6B92717445B39B   FILIBERTO    RAYA CAZAREZ                 OR     90008161744
6B927724763646   EMANUEL      MOSLEY                       MO     90008937247
6B928243272B43   DAYSHAUN     ORTIBEZ                      CO     90008702432
6B92827A963646   TIM          SEIFFERT                     MO     90007752709
6B92837A855975   LEO          ACEVEDO                      CA     90008913708
6B92842285594B   MARIA        ESPIRITU                     CA     90011584228
6B92861155B531   FLOR         GARCIA                       NM     90013346115
6B92887745B271   ALBERTO      RODRIGUEZ                    KY     90011918774
6B928A47A33698   SHAMON       BENTON                       NC     12089050470
6B929528691894   PERRY        VERNER                       OK     90012705286
6B92975736196B   LETICIA      ORTEGA                       CA     90008997573
6B92983475416B   IRINA        RAPOPORT                     OR     90009828347
6B92B885761964   BIANCA       ACERO                        CA     90009908857
6B92B964A72B27   LAURIE       DURAN                        CO     90012889640
6B92BA6114B27B   LUIS         GALICIA                      NE     90012220611
6B92BA8145B531   APRIL        VALDEZ                       NM     90012940814
6B931259872B29   JOSEPH       MEDINA                       CO     90004732598
6B9317A8851354   HELDABARTO   PEREZ                        OH     90014087088
6B931A2A372B27   PEDRO        PACHECO                      CO     33007680203
6B931A31A5B531   SAUL         PENA                         NM     90003800310
6B932356391572   PAMELA       CANO                         TX     90013133563
6B932766581689   ANTOINETTE   SPERO                        MO     90009427665
6B932A5A75B235   DENNIS       SCHOENLAUB                   KY     68035160507
6B933355351354   MEGAN        BEASLEY                      OH     90015313553
6B93338873168B   REANNON      MILLER                       KS     90014693887
6B93354824125B   SHAWNTALE    THURMAN                      PA     90006355482
6B933724761964   KENNETH      TRIBBLE                      CA     46016787247
6B934149551354   SAAD         SIDI                         OH     66027551495
6B934265991894   JARED        PETERS                       OK     90003572659
6B934564972482   AMBER        LOEFFLER                     PA     90009915649
6B93483394B57B   BILLY        KYSER                        OK     90010028339
6B934A41491592   JOSE         MUNOZ                        TX     75037090414
6B935158172B29   SARAH        DOTTAVIO                     CO     90012041581
6B93523977B46B   ASHLEY       HALL                         NC     90013902397
6B935275663646   GREGORY      ACHE                         MO     27558192756
6B93544595594B   CINDY        JUAREZ                       CA     90013954459
6B935499961964   SONYA        GODINEZ                      CA     46058474999
6B9356A7191592   JESUS        MIRANDA                      TX     90008156071
6B935845672B43   MICHAEL      REDA                         CO     90015488456
6B93611855B39B   KEVIN        GONZALEZ                     OR     90011591185
6B93746143B335   FRANCISCO    RODRIGUEZ                    CO     90013264614
6B9375AA357538   CARL         WATERS                       NM     90012735003
6B93829475B531   RUTH         IBUADOEMENDOZA               NM     90011852947
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 666 of 2350


6B938518357538   PRISCILLA    VASQUEZ                      NM     35592745183
6B93868A65B531   ILEANA       ENRIQUEZ MARQUEZ             NM     90014106806
6B9387A3671976   MARIE        JOHNSON                      CO     90004617036
6B93881995B287   LACRETIA     MCWHORTER                    KY     90013938199
6B938A74755941   AIDEE        HERNANDEZ                    CA     90013160747
6B93928565B531   PATRICIA     SANDOVAL                     NM     36030682856
6B93933345594B   MARIA        MAYA                         CA     90014063334
6B939A8848B133   LEGEND       MONSTER                      UT     90010520884
6B93B18488166B   VICTOR       GARCIA-HERNANDEZ             MO     90009821848
6B93B735172B27   NE SHAWNA    MURPHY                       CO     33084657351
6B93B735261964   DANIEL       SMITH                        CA     46017157352
6B93B76679184B   GWENITA      LAWRENCE                     OK     90006407667
6B93B799357538   MARTINEZ     LISA                         NM     35598837993
6B93BA1A655941   ROSA         PRADO                        CA     90013160106
6B941184855975   KARL         CANNON                       CA     48012741848
6B9411A8951354   LAURA        DAVIS                        OH     90013931089
6B941573271976   GREGORY      BROWN                        CO     38048295732
6B94157465B271   KAREN        MALONE                       KY     68027945746
6B941A7625416B   RYAN         SMEDLEY                      OR     90013650762
6B941A86361964   ROHAN        GORDON                       CA     90002810863
6B942265A5B235   JIM          FARMER                       KY     90010202650
6B94279247B46B   OSCAR        RIOQUINTO                    NC     90015067924
6B94284A34B27B   DANETTE      CHASE                        NE     90015128403
6B943151151354   BRENDA       SUMNER                       KY     66039411511
6B943333772B29   SERGIO       MARQUEZ                      CO     90012513337
6B9433A5771976   DARION       VIGIL                        CO     90010533057
6B94446A372B29   LAKESHA      MCDANIEL                     CO     33057834603
6B94458745B531   ALEX         MARTINEZ                     NM     90014885874
6B944A7A472B36   FRANCIS      AGUIRRE                      CO     90011520704
6B944AA868B168   HEIDI        HADLEY                       UT     31006180086
6B94548443B394   JUAN         JACKSON                      CO     90012324844
6B9454A9561964   HEATHER      WILLIAMS                     CA     90011884095
6B945621272B27   JOSE         CASILLAS                     CO     90013876212
6B945792633698   RIGOBERTO    SANCHEZ                      NC     90013187926
6B945842A72B43   SABRINA      LUCERO                       CO     90014638420
6B945A3283168B   CORNELIUS    HARRIS                       KS     90013960328
6B94613364B27B   JEANIE       TAAKE                        NE     27045071336
6B946251351354   VERONICA     KOCH                         OH     90014602513
6B946495161979   MELISSA      RUIZ                         CA     46007974951
6B946679333659   YOSHANDA     BURNS                        NC     90013946793
6B94668495416B   EDWARD       HOOKS                        OR     90010996849
6B947448A6238B   BRUCE        MESSMER                      AZ     90011824480
6B947625355941   JESSICA      CASTILLO                     CA     90012186253
6B94778A672B43   GUILLERMO    RIVERACANO                   CO     33008267806
6B9478AA25B531   SANTOS       RODRIGUEZ                    NM     36098728002
6B94825A272B36   BRANDY       KNIGHT                       CO     90014522502
6B948592557538   VIRGINIA     CHAVEZ                       NM     90003955925
6B948639151354   WHITNEY      HARRIS                       OH     90014146391
6B9487A5672482   JEFFREY      KACZOR                       PA     51016567056
6B949468657135   ELSY         ABIGAL                       VA     90004544686
6B949623255973   ITZEL        GUTIERREZ                    CA     90014136232
6B94998552B27B   JESUS        ALVAREZ                      DC     90006799855
6B949A72631453   DEKETRA      NEARING                      MO     27547490726
6B94B15825594B   SANDRA       LOZANO                       CA     90002631582
6B94B16324B267   ANDREW       LOREMANN                     NE     90006281632
6B94B274A7B46B   SHAWNDA      DAWES                        NC     90014462740
6B94B59A25416B   MARK         AYERS                        OR     90012165902
6B94B74A15B271   CHARLES      DAVIES                       KY     68055427401
6B94BA71A8B168   JAMES        UNCK                         UT     90005670710
6B94BAA2657538   DORIAN       LARACANO                     NM     90013940026
6B94BAA4533698   CHAZLEA      BADGETT                      NC     12085130045
6B95163A233698   ROSALYN      SHELTON                      NC     90000556302
6B951643661979   SCOTT        SAMPERIO                     CA     90013246436
6B95214455B531   MARTINEZ     RAUMOND                      NM     90008161445
6B95225AA91592   MARIA        RAMOS                        TX     75013392500
6B952313851342   DWAYNE       NUTICK                       OH     66090713138
6B952559761979   MARKO        JOHNSON                      CA     90010205597
6B952591A5B39B   MARIA        GONZALEZ                     OR     90011645910
6B952662361936   SAMANTHA     MORROW                       CA     90006926623
6B95269A272B29   SARAH        KIMBLE                       CO     90014676902
6B95286265B271   RESA         KOLLE                        KY     90014818626
6B9528AA27B46B   NOE          LEYVA                        NC     90013838002
6B9529A195B921   JOSH         CAUSKINS                     WA     90015499019
6B95358895B238   CHAD         MCKENZIE                     KY     90012135889
6B953688251374   BIRTTIANIE   BERING                       OH     90008836882
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 667 of 2350


6B95396A547996   MARTHA       GRANADOS-ZUNIGA              AR     25041019605
6B95399118B133   MICHAEL      WORKMAN                      UT     90014139911
6B953A9215B235   JAMIE        ROURKE                       KY     68053180921
6B9542A8461964   MARIA        AVILA                        CA     90013822084
6B954467291588   MARIA        ESPINOZA                     TX     90011634672
6B95457435416B   VERONICA     QUEVEDO                      OR     90012635743
6B954595661979   JESSIE       BRAY                         CA     90010565956
6B95555495B392   CRISTOBUL    SANCHEZ                      OR     90003235549
6B955624361979   RICARDO      CHAVEZ                       CA     90012116243
6B955796272B43   MIKE         GOURLAY                      CO     33017947962
6B956316455975   ALICIA       SEGURA                       CA     90001663164
6B9566AA771976   SUSAN        HYNES                        CO     38018336007
6B956822472B27   ALEJANDRO    BANUELOS                     CO     90002518224
6B956824A5B235   ELLIAN       HOWARD                       KY     90005228240
6B956A35791592   ISRAEL       CARDOZA                      TX     90009810357
6B956AA5691535   PATRICIA     ROSALEZ                      TX     90013200056
6B957469161979   NEICO        VAFAIDOUST                   CA     90014014691
6B95755873168B   TRAVIS       PECK                         KS     90014245587
6B9575AA771976   MARIA        JUANES                       CO     38069315007
6B9576A828B133   MICHEAL      LEDESMA                      UT     90013356082
6B95778635B531   GABRIEL      MARTINEZ                     NM     90010177863
6B957915591999   ESMERALDA    SALGADO HERNANDEZ            NC     90010679155
6B9586AA451354   THOMAS       NICHOLS                      KY     90014186004
6B958786581644   TERRENCE     JONES                        MO     90014877865
6B95891185594B   JAVIER       RIVERA                       CA     48014579118
6B959593261936   TARA         BENDER                       CA     90014395932
6B959985761988   LUZ          KIM                          CA     90008159857
6B9599A425B39B   JESSICA      DIEHL                        OR     90013269042
6B95B151555973   CANDY        JACKSON                      CA     90013151515
6B95B37575594B   RODOLFO      CARDENAS                     CA     90013683757
6B95B474751326   FRANK        VONER JR                     OH     66000614747
6B95B669655975   PENNIE       ST CLAIR                     CA     48067376696
6B95B778861979   BRAD         DRYER                        CA     90013987788
6B961458A72B36   NAJI         ABDALKHALEQ                  CO     33087394580
6B962489A72B36   SETH         NYNTH                        CO     90011664890
6B96299278166B   MICHAEL      COLLINS                      MO     29001809927
6B963326681644   JEREMY       SEAMSTER                     MO     90002803266
6B964114361979   BENJAMIN     COLMENERO                    CA     46016491143
6B9644A8571976   ANTONIO      CASTILLO                     CO     90013944085
6B96456465B392   TAMMY        LESTER                       OR     90003235646
6B964854791894   RHONDA       FREEMAN                      OK     21006438547
6B96522225594B   PATRICIA     GONZALEZ                     CA     90001552222
6B965429555975   FIDEL        SERRANO                      CA     90008394295
6B96562A972B43   SHARI        KNIGHT                       CO     33049336209
6B96564234B588   ANTHONY      STOKES                       OK     21552426423
6B965964672B29   MARIA        TERRAZAS                     CO     33086259646
6B965A9713168B   IMELOA       AVILA                        KS     22097050971
6B96647315594B   SANTOS       SUASTEGUI                    CA     90013954731
6B966488372482   NICOLE       ROSS                         PA     51060384883
6B96652958166B   LAVONNE      STEVENSON                    MO     29082735295
6B966547691592   OSCAR        SAENZ                        TX     75060055476
6B966871955973   MIKE         YBARRA                       CA     48028388719
6B966A8185B235   MICHELLE     BURRIELL                     KY     90015130818
6B96731A857538   ESTEBAN      LOPEZ                        NM     90015073108
6B96749A45B392   YOLANDA      CEBEDO-PRADA                 OR     90003424904
6B967869463646   EDWIN        KEITH                        MO     90013418694
6B967A99A71976   JOHN         MONTANO                      CO     90013230990
6B96813495594B   DIANA        GONZALEZ                     CA     90008341349
6B96845353168B   LYNETTE      CURRNETT                     KS     22005094535
6B9684A997B46B   SHEENA       KISIAH                       NC     11003844099
6B96858725B531   JUANNA       DE LA CRUZ                   NM     90014005872
6B968784172B27   BILLIE       MARTINEZ                     CO     90014157841
6B968916561979   LIDIA        MEZA                         CA     90013159165
6B969143963646   EDGAR        KELLEY                       MO     90014881439
6B96947685B39B   WOODWARD     CHEN                         OR     90009034768
6B96B3A7972B36   ALBERTO      GONZALEZ                     CO     90006613079
6B96B425333698   SONYA        CROUCH                       NC     90007184253
6B96B43533168B   JEREMY       SHELLEY                      KS     90000284353
6B96B751457538   SAUL         LOPEZ                        NM     90008567514
6B96BA19272B29   CLAUDIA      RETA AVALOS                  CO     33091460192
6B96BA95172482   SIDNEY       PETROFF                      PA     90015040951
6B97118167B46B   JUSTIN       CASE                         NC     90011771816
6B971594372B43   JAMES        SANCHEZ                      CO     33041475943
6B97183A355973   VALERIE      PEDIGO                       CA     90009268303
6B971869861979   LUISA        LOZANO                       CA     90014188698
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 668 of 2350


6B971926633698   HORACIO        MARTINEZ                   NC     90002749266
6B97195958B133   PAYGO          IVR ACTIVATION             UT     90014109595
6B97211515B271   DAVID          THERIOT                    KY     90011531151
6B972257672B43   MARK           MARX                       CO     90012352576
6B97267922B27B   MOHAMED        MOHAMUD                    DC     90011816792
6B973161751354   SHARIFA        BROWN                      OH     90014591617
6B973338658528   RAUL VICTOR    TORRES                     NY     90015373386
6B973619391894   PATTY          REED                       OK     90007826193
6B973A6157B365   BRIGIDO        SANCHEZ                    VA     81065180615
6B97414455B39B   STEPHANIE      THINN                      OR     90011591445
6B97453125B39B   CELLILLA       DONALDE                    OR     90013085312
6B97457424B555   FRAN           PETTIES                    OK     90001735742
6B97487968B133   CONNIE         PERRY                      UT     90012628796
6B974936761964   SOCORRO        CIBRIAN                    CA     90012799367
6B97519215B531   MIQUELLA       LEYBA                      NM     90009411921
6B975654833698   JASON          BROWN                      NC     90013276548
6B975844255973   DENISE         BUSTIILOS                  CA     48093278442
6B9759A818B168   NGUYEN TRONG   DO                         UT     90009989081
6B976175663646   HELEN          JONES                      MO     90014991756
6B9764AA65B271   KAREN          CLARK                      KY     90011274006
6B976544A5416B   VALERIE        COKER                      OR     47031295440
6B976736472482   NIGEL          MARSH                      PA     90012507364
6B976824781678   ANGELA         JONES                      MO     90005928247
6B976993481644   SARAH          STEELE                     MO     90013749934
6B976A51361936   LAURA          RUIZ                       CA     46007620513
6B976A7A55594B   PAOLA          VASQUEZ                    CA     90012800705
6B97711723168B   VICTORIA       KEMP                       KS     90003361172
6B9771A5755941   TANYA          MCLAUGHLIN                 CA     90012251057
6B977691991894   ESTELA         RODRIGUEZ                  OK     90015146919
6B97858425B271   JASON          ALBERT                     KY     90003805842
6B97884585B39B   CIERRRA        DALTON                     OR     90014838458
6B979846A91894   KIM            BURNHAM                    OK     90011548460
6B979A52793754   SAMANTHA       LYNN                       OH     90013600527
6B97B347755973   IRAIZ          LOPEZ                      CA     90012843477
6B97B35498166B   CARLOS         LARA                       MO     90010883549
6B97B53125B39B   CELLILLA       DONALDE                    OR     90013085312
6B97B63638B169   JUDY           TEP                        UT     31065536363
6B982242971976   PAYGO          IVR ACTIVATION             CO     90013022429
6B982418581644   BRANDY         HINSON                     MO     90011234185
6B982481A5594B   ISRAEL         ESPINOZA                   CA     90011584810
6B98251317B46B   RICHARD        DELLINGER                  NC     11030205131
6B983297463646   JOSHUA         WILLIAMS                   MO     90012802974
6B983588A7B46B   KALIFA         CARTER                     NC     90011335880
6B9841A6147996   ISMAEL         MARTINEZ                   AR     25001401061
6B984845472B43   WAVERLY        NASLUND                    CO     90014328454
6B984858163646   DYLAND         REESE                      MO     90015478581
6B9853A1851526   SONIA          GARCIA SANDOVAL            IA     90015363018
6B98548285B531   CAROLINA       CAPORALI                   NM     36098534828
6B98566165B271   SHERRI         LINCHAN                    KY     68046256616
6B98569858B168   DAVID          FOSTER                     UT     31054276985
6B9856A8855973   HECTOR         MORENO                     CA     48058546088
6B985731172B29   SHANNON        ATKINS                     CO     33009267311
6B98649723B369   KIMBERLEY      GRAY                       CO     33035564972
6B986627657538   HOMERO         RUELAS                     NM     90002506276
6B986641761979   ARIANA         WOHI                       CA     90013076417
6B986AA8555975   BIANCA         GARCIA                     CA     90013750085
6B98728325B531   MIGUEL         GOMEZ                      NM     36002102832
6B98739A761964   ERIKA          CHAVEZ                     CA     46053833907
6B987489891592   MARIA          PONCE                      TX     90002814898
6B987877A8166B   PAUL           BARR                       MO     90010608770
6B98798448B133   EDWARD         DELBRIDGE                  UT     90014109844
6B988A6443168B   CARROLL        MILLER                     KS     22095960644
6B989218287B31   WILLIAM        DEBOARD                    AR     28086142182
6B989228372B27   SONIA          MENDOZA                    CO     90011712283
6B989318A55973   MARIO          AVILA                      CA     90014523180
6B98B121861979   GLORIA         SANCHEZ                    CA     90009461218
6B98B149372B29   JOSE           CASTILLO                   CO     90012971493
6B98B356163646   CHRIS          FREEMAN                    MO     90008603561
6B98B447491999   GEORGE         HART                       NC     90008624474
6B98B664151354   LEWIS          JACKSON                    OH     90013766641
6B98B8A1781644   SANTOS         HERNANDEZ                  MO     29002178017
6B98B98448B133   EDWARD         DELBRIDGE                  UT     90014109844
6B99145658B133   KENNETH        WOLFF                      UT     31084274565
6B991768A71976   NISSA          CASTLE                     CO     90011947680
6B991783371976   NISSA          CASTLE                     CO     90010537833
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 669 of 2350


6B991863861979   JOSE             GARCIA                   CA     90013988638
6B991918A72B43   MARTHA           MALFABON MENDOZA         CO     90004649180
6B99198448B133   EDWARD           DELBRIDGE                UT     90014109844
6B9919AA55B271   CURTS            POWERS                   KY     90013719005
6B99212815B531   FELICIA          MONTANO                  NM     36080161281
6B992241A61964   MURDO            MARAGESON                CA     46090332410
6B992271457538   BRIAN            ROMERO                   NM     35548422714
6B992365851354   JENNIFER S       COATS                    OH     90007563658
6B992399671976   IAN              ANDERSON                 CO     90012743996
6B99252A751354   PAMELA           WADDELL                  OH     90013795207
6B99261392B27B   GLENDA           SMITH                    DC     81091336139
6B99275836199B   AXMAD            XAASHI                   CA     90010567583
6B993163472B29   JEFF             IRTHUM                   CO     90011681634
6B9932A4184392   NANCY            VIRGEN                   SC     19063882041
6B99353624B27B   CHANDRA          PIERCE                   NE     90006135362
6B99412A251354   ODELIA           PEREZ                    OH     90013931202
6B994296176B21   IRMA             SOLANO                   CA     90005742961
6B9952A8991592   MARIA            MORALES                  TX     75081682089
6B99546A64B27B   ASHLEY           ERICKSON                 NE     90004374606
6B995722155941   KATHERINE        PENA                     CA     49080457221
6B99583715B271   JOANN            STOBER                   KY     68089668371
6B996523A4B588   TRINKA           JONES                    OK     90012945230
6B99654995B39B   HECTOR           ESPINOZA                 OR     90013085499
6B99677265416B   TODD             LANGDON                  OR     90015107726
6B9968A7372B29   ESTHELA          HENDRICKSON              CO     33011478073
6B99712865B531   BETHANY          ROYBAL                   NM     90013741286
6B997157681644   JENNIFER         HENNIGH                  MO     90002401576
6B99758144B27B   MARIN            PEREZ                    NE     90004285814
6B997581461979   RICHARD          DELGADILLO               CA     90012355814
6B99761865B39B   JUSTIN           ACOSTA                   OR     90009116186
6B997661187B31   PAULA            SCALLIONS                AR     28089996611
6B99781515594B   ALEJANDRA        GONZALEZ                 CA     90012618151
6B997937261979   ALMA             SALAS                    CA     90013989372
6B998127A5B375   DENISE           ZIELINSKI                OR     90008481270
6B99829615B344   ATHENA           VANARSDELL               OR     44550272961
6B998799991894   ALEJANDRO        GUAJANDRO                OK     90000897999
6B998A42557538   PATRICIA         GONZALEZ                 NM     90011540425
6B998A47551354   CRYSTAL          MORGAN                   OH     66030560475
6B999129972B43   AZUL             NAVARRO                  CO     90008301299
6B999155555975   BRANDON          SEVERNS                  CA     90002481555
6B999526A5416B   DEMETREUS        JOHNSON                  OR     90003405260
6B999617A5594B   TERESA           RIVERA                   CA     90014776170
6B999645491592   GABRIELA         ONTIVEROS                TX     75015026454
6B99B36A691881   LINDA            MANIES                   OK     90010963606
6B99B425872B36   MOSES            NABWIRE                  CO     90013564258
6B99B4A133168B   JEANETTE         DRAKE                    KS     90000694013
6B9B165394B27B   STACEY           KIMES                    NE     90011506539
6B9B1885155941   MARIA            CARDONA                  CA     49032518851
6B9B1A9655B39B   DEANNA           PELKEY                   OR     90015130965
6B9B2256191592   YAHAIRA          BECERRA                  TX     90013392561
6B9B226734B27B   CHRISTOPHER      HOGAN                    NE     90014172673
6B9B2695655973   ELVIRA           PONCE                    CA     48016776956
6B9B292449134B   CHELSEA          HALFORD                  KS     90006459244
6B9B2937891894   CHRISTINA        MIRANDA                  OK     90010129378
6B9B313725416B   SALVADOR         MARMOLEJA                OR     90015351372
6B9B331595416B   JEREMY           MILLS                    OR     47091053159
6B9B3462A3168B   GLORIA           JACKSON                  KS     22041514620
6B9B365A45B344   KAYLEE           IXCOLIN                  OR     90002906504
6B9B3878991592   SARINANAS WALL   CONSTRUCTIONS            TX     90012168789
6B9B3882861964   JUAN ALEJANDRO   RIOS                     CA     90012878828
6B9B3A99391894   CARL             BASH                     OK     90013040993
6B9B456985594B   HULBER           VILLAFANA                CA     90014805698
6B9B462515B271   KENNITH          HEATSER                  KY     90013936251
6B9B4665255973   THOMAS           TREADAWAY                CA     48061946652
6B9B4966454128   MELANIE          LACOURSIERE              OR     47005119664
6B9B531157B46B   LATONIA          BENNETT                  NC     90010643115
6B9B5692824B7B   MARIA            GOMEZ LOPEZ              DC     90007696928
6B9B5918751347   DOMINIQUE        BROOKS                   OH     90008309187
6B9B5945857538   YAIRA            MARTINEZ                 NM     90012989458
6B9B5981172B27   HEATHER          ROLLES                   CO     90003459811
6B9B664155594B   VICTOR           BARRIOS                  CA     48003486415
6B9B6642A5594B   MARK             ROMERO                   CA     90014766420
6B9B686992B27B   LEWIS            JACKSON                  DC     90015388699
6B9B6957491592   EDITH            SANCHEZ                  TX     90005109574
6B9B7358861979   ANGIE            RIOS                     CA     90014473588
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 670 of 2350


6B9B7394591535   ROSA                    IBARRA            TX     90005323945
6B9B759292B27B   SHEMIKA                 WOOD              DC     90004675929
6B9B75A217B358   YEDNEKACHE              BEYENE            VA     81052245021
6B9B7943871976   ROBERT                  GOLOB             CO     90012889438
6B9B852467B46B   IRMA                    DEJUAN            NC     90010285246
6B9B9214176B66   TOMIKO                  ARMER             CA     46031262141
6B9B9325397B64   RYAN                    LASCALA           CO     90004993253
6B9B951565B235   MEAGAN                  POLLETT           KY     90008065156
6B9B9581384392   MORGAN                  PRITCHETT         SC     19078865813
6B9B9A9747B46B   MIKE                    LARRY             NC     90010010974
6B9BB23165B235   NORMAN                  LAWSON            KY     90014712316
6B9BBA61472B29   CASANDRA                AUDI              CO     33011520614
6B9BBA8418B169   TEDRA                   MARTINEZ          UT     31034710841
6BB11292472B43   FRANCIE                 GONZALES          CO     33008842924
6BB1138588B331   DOMINIQUE               HODGE             SC     90015393858
6BB11426A61979   GERARDO                 DEL VILLAR        CA     46045804260
6BB11655761979   ADELA                   PATINO            CA     46098726557
6BB11695172B29   LAZARO                  CARDENAS          CO     33090206951
6BB11799486593   ROGER                   BYRGE             KY     90014867994
6BB1225895B344   STEVEN                  WOOD              OR     44563872589
6BB12552A5416B   DANIEL                  HOLLIDAY          OR     90014765520
6BB1263235416B   DEBORAH                 MCCOLLUM          OR     90010826323
6BB1291385B531   NORA                    PEREZ- MARTINEZ   NM     90010619138
6BB12947872B43   BETSABE                 FRIAS             CO     33083649478
6BB1296185B39B   LINDA                   GREBE             OR     90010409618
6BB12A83991592   KARLA                   ZAMORA            TX     75030190839
6BB1324A472B27   LYDIA                   RUIZ              CO     33015312404
6BB1357985B271   JOHN                    WILLIS            KY     90001145798
6BB1368635416B   JOSHUA                  HINKLE            OR     47045726863
6BB14266372B29   OSBAHR                  MINDY             CO     90001952663
6BB14952172B36   AZUCENA                 ESCOBEDO          CO     33098569521
6BB15688872B36   SHANAE                  BROWN             CO     90010706888
6BB1582418166B   ROBERT                  PORTER            MO     90014888241
6BB159A655594B   JESICA                  ANDRADE           CA     90014169065
6BB16224555975   VIRGINIA                RICO              CA     48061402245
6BB16257272482   TREVON                  REED              PA     90013692572
6BB16488533698   WYSHEAKA                WILLIAMS          NC     90012784885
6BB165A958B133   BETTY                   JONES             UT     31046145095
6BB16681751354   SHARON                  ALCORN            OH     66050306817
6BB16AA8572B43   AIDEE                   CHAVEZ            CO     90013320085
6BB16AAA78B133   KAREN                   SESSIONS          UT     90012190007
6BB17127772B36   ARACELY                 ROBLES            CO     90014531277
6BB17313851342   DWAYNE                  NUTICK            OH     66090713138
6BB17841A97B64   ROSALYN                 BROCK             CO     39067488410
6BB18213955975   ALMA                    DE LA CRUZ        CA     90005102139
6BB182A625B271   NATHAN                  DOSS              KY     90015032062
6BB1887A98166B   MARIA TERESA DE JESUS   SANCHEZ GARCIA    MO     90014928709
6BB1898825716B   EDWIN                   ARRIAZA           VA     90008139882
6BB19119784392   THOMAS                  SIDOTI            SC     19026981197
6BB1976A18B334   KIMBERLY                BOSTICK           SC     90014727601
6BB198A3855975   VANESSA                 ROSAS             CA     90012158038
6BB1996599715B   JACK                    BECKWITH          OR     90007809659
6BB19A79877538   ROSALINDA               RAWLINGS          NV     90006530798
6BB1B456855941   RAFAEL                  JUAREZ SANTIAGO   CA     90012744568
6BB1B512357538   ELIZABETH               ZUBIATE           NM     90010475123
6BB1B68615B235   ERIC                    HYDE              KY     68050566861
6BB1B856947986   REGINA                  VANOVER           AR     25025878569
6BB1B92625B531   MARCELO                 LEMUS-ALVAREZ     NM     90013429262
6BB1B95768B334   RICHARD                 ZACKERY           SC     90014049576
6BB21446955941   MICHELLE                RAMIREZ           CA     90013024469
6BB2156167B46B   LAKESHIA                DIGHTMAN          NC     90014845616
6BB2178383B372   BLAKE                   HOLLIS            CO     33006037838
6BB21925554128   ANSELMO                 CHAVEZ            OR     90015119255
6BB22156451354   MARISOL                 FLORES            OH     66006781564
6BB22225A77537   CYNTHIA                 LEGG              NV     90002862250
6BB2242755B221   TODD                    SMITH             KY     90012284275
6BB2245715B392   STEFFI                  CHAVEZ            OR     44505574571
6BB22475755973   ISRAEL                  CAMPOS            CA     48048834757
6BB2248177B45B   TEHOZOL                 NORMAN            NC     90008154817
6BB2254545B235   STARLA                  GREEN             KY     90002955454
6BB22775A55973   ISRAEL                  CAMPOS            CA     90013367750
6BB22827A31476   JALISHA                 PEGUES            MO     27517308270
6BB2287768166B   JOSE                    RAMERIZ           MO     90008518776
6BB229A6272B27   JANETH                  GOMEZ             CO     90013609062
6BB23277561936   DUSTIN                  MCCORMICK         CA     90008732775
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 671 of 2350


6BB233A9331476   CHENOA       BOYD                         MO     27516573093
6BB23411172B27   RUTH         VALLECILLO                   CO     33041394111
6BB23444476B58   YONGYUTH     PERMPOON                     CA     90007154444
6BB234A885B235   BRANDY       FOX                          KY     90010014088
6BB2354212B949   RON          COIN                         CA     45081105421
6BB235A5761979   JULIA        BELTRAN                      CA     90007095057
6BB24181855941   DAVINA       HUERTA                       CA     90012941818
6BB241A325594B   ANGEL        ARREOLA                      CA     90010491032
6BB24616491894   BENJAMIN     TODD                         OK     90014306164
6BB2476948166B   DANIEL       JONES                        MO     90011647694
6BB24968685944   WILLIAM      MURRAY                       KY     90008209686
6BB249A5161936   FATIMA       HILL                         CA     90009769051
6BB25473591975   RONNIE       DUNN                         NC     17007614735
6BB2563754B588   KATHY        KESSLER                      OK     90015336375
6BB25869251354   ALEX         OSEGUERA                     OH     90012768692
6BB264A3885821   JESUS        MONTEJO                      CA     90012324038
6BB2652695B271   JAMES        HASKINS                      KY     68041155269
6BB2653A72B27B   DANTE        HOWARD                       VA     90013545307
6BB267A6154128   SHIREE       KIMPEL                       OR     47032587061
6BB26881291894   RHONDA       DELP                         OK     21075608812
6BB26A51571976   ZITA         DOMINGUEZ                    CO     90004510515
6BB2732385B531   MARTHA       SANTOS                       NM     90010593238
6BB27564831453   ARTISHA      EDWARDS                      MO     90014925648
6BB27795655973   SUSIE        HENDRIX                      CA     90009027956
6BB27919485821   JACQUELINE   SEKELSKY                     CA     46048029194
6BB27975271976   SHELEE       LOVELL                       CO     90013199752
6BB28112785671   EVER         PEREZ                        NJ     90011631127
6BB28286381644   RONNIE       GRADY                        MO     90013142863
6BB28622672482   JENNIFER     FRAIN                        PA     90015066226
6BB28678171976   STEVE        TURNER                       CO     90013476781
6BB28886685821   MAHSA        MINAGAR                      CA     90010258866
6BB28934933698   CHARLES      SMITH                        NC     12084979349
6BB2911568B169   ALFREDO      GARCIA                       UT     90004431156
6BB29484257122   THOMAS       DEMETRO                      VA     90011204842
6BB29724872482   KELLEY       MCCOMB                       PA     90010957248
6BB29856555983   JESUS        PUGA                         CA     90000618565
6BB29956863646   MIKE         KRAZER                       MO     90013339568
6BB29A1285B271   JAMAAL       GREEN                        KY     90001220128
6BB2B213971976   JUANITO      VIGIL                        CO     90012772139
6BB2B45368B133   HEATHER      GARCIA                       UT     31060284536
6BB2B522585671   DELMAR       PEREZ                        NJ     90011575225
6BB2B649697B64   SAVANNAH     JACQUES                      CO     90013386496
6BB2B71A84B27B   SHAYLA       IRVIN                        NE     90008367108
6BB2B7A8172482   MARY         BURBIDGE                     PA     51056327081
6BB31742972B36   VADAVOI      NIKOLAI                      CO     33045387429
6BB31883A47986   SHARON       MCGUIRE                      AR     25072018830
6BB3231723168B   JOHANNA      BELCHER                      KS     22092233172
6BB32323261936   JUAN         SOTELO                       CA     90007513232
6BB3236928B168   RAMIRO       ESPINOSA                     UT     31008363692
6BB32523155941   EDWIN        RAMIREZ                      CA     90012805231
6BB3263645B235   CRYSTAL      HARDIN                       KY     90014916364
6BB33274955941   PAUBLA       MAYA                         CA     90015082749
6BB3347A841262   LATORIA      BAILEY                       PA     90010734708
6BB33488A5B392   WESLEY       BOLDT                        OR     90012084880
6BB33678655973   MARIA        ZAMORA                       CA     48098686786
6BB34327691588   NANCY        AGUILAR                      TX     90012053276
6BB3438925B271   QUAME        ALMON                        KY     90013933892
6BB3462367B761   LINDA        NAREMORE                     CA     90013986236
6BB34A1275B235   WESTLEY      THOMPSON                     KY     90014480127
6BB34A87255975   LORRAINE     BLANCAS                      CA     48056320872
6BB3528A372482   BRADY        MCNALLY                      PA     51091632803
6BB35394133698   HARRIET      LYONS                        NC     12001403941
6BB354A163168B   JOSEPH       MANYAGA                      KS     90014704016
6BB35537761936   SONIA        GARCIA                       CA     90011315377
6BB3572A361972   MARIA        HURTADO                      CA     46036317203
6BB35776251354   NATHANIEL    CLARK                        OH     90013167762
6BB35899761979   ISMAEL       MERLAN                       CA     90006158997
6BB35926621633   DANNA        JOLLY                        OH     90014179266
6BB35967691592   CLAUDIA      AGUILAR                      TX     90010619676
6BB36573261936   SHYRIL       WOODSON                      CA     90010145732
6BB3661225416B   NETAIA       WHITNEY                      OR     90014416122
6BB36637572482   ASHLEY       HEPLER                       PA     51086856375
6BB3676838B168   ROSIO        NUNES                        UT     90006267683
6BB3684368166B   NICK         BRYAN                        MO     90014888436
6BB3711935B235   ROGER        TRUITT                       KY     68048091193
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 672 of 2350


6BB37192755941   ANAMARIA         SALAZAR                  CA     90013381927
6BB37983A8B334   ASHLEY           MCCLARY                  SC     90011029830
6BB37A3A972482   PATRICIA         DEMARTINI                PA     51070710309
6BB38255A8B334   WILLIAM          WASHINGTON               SC     90015042550
6BB3869A955975   GUSTAVO          QUEZADA                  CA     90014276909
6BB38A4998166B   BJ III           WORKS                    MO     90006110499
6BB38A92661979   DONAVON          PETERSON                 CA     90013950926
6BB392A857B46B   LYNTUS           ALEXIS                   NC     90012342085
6BB39586972B43   JAMES            ANDERSON                 CO     90013295869
6BB39799455973   ELIZABETH        CHAVEZ                   CA     90005847994
6BB3984A654128   CHAD             PICKETT                  OR     90007858406
6BB3992A591592   CINDY            SADLER                   TX     90011179205
6BB39A36971976   RYAN             BROOKS                   CO     90014780369
6BB3B487931453   FALEENA          CRAPE                    MO     27558664879
6BB3B84949715B   GABRIELA         CHAVEZ                   OR     44592148494
6BB3B91788B334   EARL AND LINDA   ANDERSON                 GA     90009359178
6BB3BA73361558   SHELBY           BOONE                    TN     90015540733
6BB3BA8785416B   JOSIE            HUMPHREY                 OR     90014430878
6BB4127165B235   CARLO            MATTHEWS                 KY     90005892716
6BB41295361936   ANNEKE           SCHIEBERL                CA     46015622953
6BB41316561936   DALIA            GARCIA                   CA     90014803165
6BB4132315B271   CHARLES          DUNLAP                   KY     68095283231
6BB41681991975   KARLA            MEJIA                    NC     17049546819
6BB41771971976   JOSE             GONZALES                 CO     90003177719
6BB41826142587   BOB              CARLSON                  WA     90015488261
6BB4183118B334   STEPHANIE        OROZCO                   SC     90009158311
6BB41864431453   JEANETTE         BREW                     MO     90008858644
6BB42796272B27   NATIVIDAD        PIZANO                   CO     33084327962
6BB4347A931453   YVONNE           LANG                     MO     27516284709
6BB4348945B39B   MARIE CECILIA    HUAYAMARES               OR     90013814894
6BB43563657538   VICTOR           HERMOSILLO               NM     90015195636
6BB43A37857538   JAMIE            LEE                      NM     90011140378
6BB442A4881644   KOKEE            PETERSON                 MO     90007752048
6BB44429691572   FRANCISCO        NEGRETE                  TX     75087024296
6BB44439472B34   DANNETTE         SPRATTLER                CO     90013624394
6BB44444333698   ROMINGER         SHELTON                  NC     12072404443
6BB444A118B169   NANCY            URIBE                    UT     90009674011
6BB44592984392   ANETRIA          EVANS                    SC     19073605929
6BB4512445B235   PAMELA           FULLER                   KY     90012161244
6BB451A478166B   DENISHA          DONALD                   MO     90014921047
6BB45267831551   RUSSELL          MARSDEN                  NY     90015532678
6BB45293A55975   OFELIA           ECHEVESTE                CA     90012312930
6BB4538754B27B   SCOTT            GRIMM                    NE     90009493875
6BB45818351354   IRASENA          MATA                     OH     90014828183
6BB4591685594B   IGNACIO          OCAMPO                   CA     90014169168
6BB45A57155973   SARA             WHITE                    CA     90014540571
6BB46799763646   MATT             REID                     MO     90004677997
6BB4683435B531   MIGUEL           NUNEZ                    NM     90006618343
6BB46849372B27   ORLANDO          GUERRERO                 CO     90013598493
6BB472A8A8166B   HEATHER          ENGLISH                  MO     90001692080
6BB47366163646   MELISSA          EDWARDS                  MO     90013793661
6BB47858191975   SOPHIA           DOUGLAS                  NC     90008128581
6BB47978177538   RICARDO          SIERRA                   NV     43083489781
6BB4822918B133   CHANDRA          THORPE                   UT     90012142291
6BB48273A55941   ALEJANDRO        APOLONIO                 CA     90012892730
6BB48296891975   REGINA           STEWART                  NC     90001452968
6BB4843745416B   RICO             GRACIELO                 OR     47038804374
6BB4858758B168   RUBIO            JESUS                    UT     90005155875
6BB48764351354   BRAD             BROOKS                   OH     90004967643
6BB48893872B29   ANGELICA         BRYSON                   CO     90014128938
6BB48A29391592   JESSICA          SUASTES                  TX     90012240293
6BB48A78361964   BRANDON          BROWN                    CA     46005740783
6BB4915195B235   LISETTE          DEAN                     KY     68051081519
6BB4916252B27B   BERNARD          HICKSON                  DC     90002721625
6BB49279A85821   CARLOS           RIVERA                   CA     90015182790
6BB4959715594B   TERESA           PEREZ                    CA     90006085971
6BB49891461964   VERENICE         SANCHEZ                  CA     90014678914
6BB49A1915B344   GABRIELLA        CIOFFI-SUMMERS           OR     44561710191
6BB49A19855941   KARLA            TORRES                   CA     90012820198
6BB4B181A31453   MELISSA          WHITWORTH                MO     27517521810
6BB4B25313B39B   DESERI           ARCHULETA                CO     90011222531
6BB4B54653168B   MELANIE          OSSMAN                   KS     90003425465
6BB4B73782B27B   DOROTHY          MORGAN                   DC     90008427378
6BB4B935A55973   PATRICIA         MANCILLA                 CA     48080689350
6BB51168561936   CANDICE          LUCE                     CA     90013181685
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 673 of 2350


6BB51193597B64   ELVIRA       PORTILLO                     CO     39034731935
6BB51935881644   MACKENZY     DOUGLAS                      MO     90015159358
6BB52123A5416B   NATHEN       DOOLEY                       OR     47011371230
6BB5229148166B   JASON        ADAMS                        MO     90004932914
6BB5234694B27B   LAMAR        BROWN                        NE     90015113469
6BB5298488B168   CALVIH       FREDICKSON                   UT     90009149848
6BB529A7481644   JULIEANNA    MCGINNIS                     KS     90013089074
6BB52A6A255941   JAMIL        MOORE                        CA     90012820602
6BB53189561964   JULIO        MARTINEZ                     CA     90011951895
6BB53284133698   GAIL         MITCHELL                     NC     90003312841
6BB53338681644   CARLOS       LOPEZ                        MO     90013473386
6BB53553355975   BECKY        VANG                         CA     90004735533
6BB53747A5594B   LAURA        CABRERA                      CA     90014657470
6BB53A32172B36   JERRY        CARRERA                      CO     90013730321
6BB53A37377538   MARIELA      CASTILLO-MEZA                NV     90011140373
6BB54123954128   GUSTAVO      VELASCO                      OR     90012681239
6BB54194A72482   DALTON       PATRICK                      PA     90014121940
6BB5429228B169   AARON        CHILD                        UT     90000462922
6BB543A877B46B   PENNY        THOMPSON                     NC     90014653087
6BB545A495594B   JUAN         GARCIA                       CA     48048715049
6BB54889A72B36   TERESA       MORALES                      CO     90012468890
6BB5549184B588   GRACIE       HERNANDEZ                    OK     90012774918
6BB55744755973   FERNANDA     GUTIERREZ                    CA     90015097447
6BB56141572B43   FRANCINE     GUTIERREZ                    CO     90009421415
6BB5657155B271   DONALD       PATTON                       KY     90006125715
6BB56918481644   LUIS         ALVARADO                     MO     90013749184
6BB5737444B27B   DAVID        BARNES                       NE     90011383744
6BB57457255975   GRISEL       LOPEZ                        CA     90014944572
6BB57461561979   ARACELI      COURROLA                     CA     90008464615
6BB5765232B27B   KENNETH      HUGHS                        DC     90011376523
6BB57847891592   MARLENE      CARRASCO                     TX     75037838478
6BB57934151354   ADRIANE      BROWN                        OH     90011879341
6BB57998372B43   VANESSA      MENCHACA                     CO     90010219983
6BB585A6572B29   DEVIN        VANTREECK                    CO     33015465065
6BB58699991592   NORMA        HERNANDEZ                    TX     90012626999
6BB586A1372B36   JUANITA      CRAINE                       CO     90001496013
6BB5893A281644   DERRICKA     MCDANIEL                     MO     90012999302
6BB58979124B7B   CELECIA      ROBINSON                     DC     81016639791
6BB5923165B235   NORMAN       LAWSON                       KY     90014712316
6BB5B13535594B   ARMANDO      SANCHEZ                      CA     90012991353
6BB5B427354128   ANTHONY      TURNER                       OR     90013984273
6BB5B65187B46B   JANET        JOHNSON                      NC     90004606518
6BB5B858455973   CRYSTAL      RIVERA                       CA     90009638584
6BB5BA66641272   DAVID        BRUCE                        PA     90003630666
6BB61123672B43   ROSA         RAMOS                        CO     33071121236
6BB61229661936   OMAR         VALDEZ                       CA     90013612296
6BB61296861936   AUSTIN       CARTER                       CA     90013592968
6BB61696185821   MAYRA        FLORES                       CA     90000496961
6BB6172615416B   TACHINA      WEBER                        OR     90011527261
6BB61837855975   CASSANDRA    GONZALES                     CA     90011918378
6BB6221563168B   JERIKO       KESTER                       KS     22056512156
6BB63556A55973   JOSE         RODRIGUEZ                    CA     90012165560
6BB63865191527   ARMANDO      CORONADO                     TX     90011458651
6BB63941554128   DAVID        RUSSELL                      OR     47032209415
6BB64145A55975   MERCE        CAMARENA                     CA     48003451450
6BB6417545594B   JULIANA      LOPEZ                        CA     90014881754
6BB64772931453   JULIA        BLOUNT                       MO     90014927729
6BB64863172B29   RONA         LEDFORD                      CO     33042248631
6BB6598A697B64   IVY          ALBA                         CO     90005589806
6BB6623465594B   MISTY        MISKITS                      CA     90010462346
6BB6635365B235   LISA         BLANDFORD                    KY     90014223536
6BB66363972B27   KATHY        GRIEGO                       CO     33041103639
6BB664A5472482   DAVID        PUCKA                        PA     51081154054
6BB665A5591592   ARASELI      LLANAS                       TX     90011515055
6BB666AA451354   THOMAS       NICHOLS                      KY     90014186004
6BB66956955941   MICHAEL      HERNANDEZ                    CA     90007389569
6BB67258361964   RUDY         RODAS                        CA     46051142583
6BB67455355941   ERICK        COVARRUBIAS                  CA     90014124553
6BB67567633698   GIDEON       ADEROUNMU                    NC     90012205676
6BB6768565B39B   CIRILA       SANTOS GOMEZ                 OR     90015046856
6BB67937721633   CAROLYN      BURTEN                       OH     90014179377
6BB67A44131453   ALBERTO      QUIJADA                      MO     27578670441
6BB68174661979   HUGO         ARREOLA                      CA     90012161746
6BB685A8891975   TARNISHA     KINDRED                      NC     17040635088
6BB6866648B133   CHANTELE     BYINTON                      UT     90013716664
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 674 of 2350


6BB68844655975   TEODORO      CONEJO                       CA     90004998446
6BB68A4178B334   TIA          MILLER                       SC     90009160417
6BB68A93661936   JOHN         PICKETT                      CA     46050930936
6BB691A8372482   ALYSON       M STEPHAN                    PA     90010641083
6BB6929135594B   ALBERTO      MENDEZ                       CA     90009662913
6BB6942285B39B   WILLIAM      MARTELL                      OR     90013834228
6BB6959985B392   MIKINYA      JACKSON                      OR     90011125998
6BB6962A781644   TRISTA       HOY                          MO     90014046207
6BB6978842B238   REBECCA      BEATTY                       DC     90008357884
6BB69A84857538   ISAISH       GARCIA                       NM     90011140848
6BB6B227555973   RAUL         MENDOZA                      CA     48020292275
6BB6B454391592   JAMES        BLANCO                       TX     75011294543
6BB6B788455975   HEDILBERTO   ROBLES-CERVANTES             CA     90011227884
6BB6B956372B29   CHANDRA      SIMSON                       CO     90009669563
6BB6BA85463646   THERESA      FRANDRUP                     MO     90006870854
6BB71188961979   MARTHA       RAMIREZ                      CA     90013951889
6BB7128938B334   YULANDA      FIELDS                       SC     90014572893
6BB7177287B46B   NEKISHA      MARTIN                       NC     90011437728
6BB7191918166B   JOSH         JHONSTON                     MO     90014889191
6BB71A3A17B46B   DEVANTE      FOWLER                       NC     90013220301
6BB7253AA93128   GARY         MCGUIRE                      TN     90015515300
6BB7288A733698   JOHN         HOGAN                        NC     90002178807
6BB7298525B39B   JANET        FERGUSON                     OR     44535609852
6BB7312695416B   KYLE         EHMKE                        OR     47072691269
6BB73436961964   ELISA        ZAVALA                       CA     90007524369
6BB73562691991   JOHANA       ACOSTA                       NC     90012715626
6BB73583191588   JESUS        MARTINEZ                     TX     90010115831
6BB7379375B344   APRIL        GRESHAM                      OR     44543847937
6BB7459675B235   LAKESHA      MORRIS                       KY     90015365967
6BB7476345B531   KENNETH      SANCHEZ                      NM     90013917634
6BB7484738B133   JAIR         SUAREZ                       UT     31071508473
6BB7486388B334   TIFFANY      MILLER                       SC     14579658638
6BB74A6835B271   GREGORY      GRAHAM                       KY     90013460683
6BB75144172482   GENNARO      DILEMBO III                  PA     51086291441
6BB75912291975   HEATHER      DUPREE                       NC     90012939122
6BB76131257538   M            C                            NM     90012051312
6BB76464772B27   KEENA        WALKERSON                    CO     90013004647
6BB7651187B46B   DIANE        SMITH                        NC     90012225118
6BB76636772B29   TIMOTHY      ANDREWS                      CO     90011006367
6BB76A62951354   CYNTHIA      TINCHER                      OH     66035380629
6BB77132361979   FRIDA        VELAZQUEZ                    CA     90013951323
6BB77186855973   JAKE         PARNELL                      CA     90010741868
6BB77212454128   JAMIE        WHITE                        OR     47032692124
6BB7739165B271   JUAN         CORTEZ-MORENO                KY     90013933916
6BB77427571976   MIA          MONTOYA                      CO     90011674275
6BB77434957538   ROMAN        RAMOS                        NM     90014364349
6BB77A13A33692   SPARKLE      CLARK                        NC     90009290130
6BB7841817B46B   GIA          ATKINSON                     NC     90010464181
6BB78447754128   MELISSA      HOPKINS                      OR     47098234477
6BB7854A572B43   LYNETTA      WHITE                        CO     33071865405
6BB78678655973   GABRIELA     APARICIO                     CA     90007556786
6BB78A2884B588   REY          PRICE                        OK     90011970288
6BB7931254B588   BRANDI       WILLIAMS                     OK     90007403125
6BB79364391894   MICHAEL      BENNETT                      OK     90013163643
6BB79419693128   PAYGO        IVR ACTIVATION               TN     90015444196
6BB79512785821   ERIC         GLENN                        CA     90004365127
6BB79742A51354   PAMELA       EADES                        OH     90014587420
6BB79A2398B161   MARIA        GUTIERREZ                    UT     90000430239
6BB79A95655973   SALVADOR     MAGALLON                     CA     48014010956
6BB7B29A85B235   BRITTNEY     BOBO                         KY     90010962908
6BB7B71A65B39B   DELIA        MANDUJANO                    OR     44522317106
6BB7B75425B531   JARED        PADILLA                      NM     36028757542
6BB7BAA8757538   MYRNA        CARDOZA                      NM     90010130087
6BB81217961936   AUDENCIO     MENDEZ                       CA     46010302179
6BB8198255B531   KARINA       GALLARDO                     NM     36029889825
6BB8215998166B   DIGNA        ROSALES RIVERA               MO     90010211599
6BB82274455973   GRACE        MACE                         CA     48060322744
6BB82411672B43   MARIA        SANDOVAL                     CO     90014174116
6BB82745391894   ALGERNON     HARDIMAN                     OK     21027717453
6BB8276735B531   LEONARD      SALAZAR                      NM     36001977673
6BB8285425594B   CRISTIAN     RODRIGUEZ                    CA     90014918542
6BB82A69461979   SOCORRO      FINO                         CA     46019250694
6BB8315842B27B   DIONNE       BATTLE                       DC     90007811584
6BB83415872B43   JAMES        KISER                        CO     90012124158
6BB83737972B29   PATRICIA     POAGE                        CO     90014847379
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 675 of 2350


6BB83821931453   TAMIKA       PLUMMER                      MO     27561338219
6BB8385A385821   ROBERT       WINSLOW                      CA     90012348503
6BB8391538B133   BILL         WITCHER                      UT     31091759153
6BB8428823B394   GEOFREY      NIEDERLITZ                   CO     90009272882
6BB8438155B392   BRIAN        STEVENSON                    OR     44504063815
6BB84622891894   MICHAEL      WOOD                         OK     21072156228
6BB8469895416B   FRANK        HEMENWAY                     OR     90012036989
6BB8486545B39B   PEDRO        DIAZ GUZMAN                  OR     90013058654
6BB8493155B531   MUNEX        SOTO                         NM     90000369315
6BB8493955599B   ROSE         GONZALES                     CA     49007869395
6BB849A7963646   TRAVIS       HAND                         MO     90015039079
6BB8551A78B168   ELIZABETH    MAYA                         UT     31024385107
6BB85547772B27   ALICIA       DENEE-MULLINS                CO     90001665477
6BB856A2672B27   JASON        FIMPLE                       CO     90009726026
6BB8578765B344   ANTONIO      CORONA                       OR     90006177876
6BB8594A92B962   RENEE        BANCO                        CA     90001469409
6BB85A5AA5594B   ANGIE        PADILLA                      CA     90012000500
6BB86144961979   DOUGLAS      HILLIS                       CA     90013951449
6BB8657A88B334   PAMELA       POLITE                       SC     90014865708
6BB86632781687   JAMIE        HARRIS                       MO     90001256327
6BB86883155941   ANGELICA     CARRANZA                     CA     49036868831
6BB86A8872B269   BEATRICE     THORNTON                     DC     90005410887
6BB8733145B39B   JORGE        BERNAL                       OR     90000673314
6BB87698172B27   SALVADOR     PELAYO                       CO     33050896981
6BB8816A68166B   SUZANNE      MEARS                        KS     29091661606
6BB8842583168B   DON          KIRK                         KS     90013434258
6BB88593355975   JAMES        CORNELIUS                    CA     48083815933
6BB88729455941   ROLANDO      GONZALES                     CA     90012897294
6BB887A7361964   JAMES        HINTO                        CA     90014057073
6BB88A2918B168   TRAVIS       MCCUBBIN                     UT     90008970291
6BB8922455B235   JAHON        LINDSAY                      KY     90014712245
6BB8932488B133   CLAUDIA      HARO                         UT     90010633248
6BB893A295B271   JANET        HESTON                       KY     68030733029
6BB8965247B46B   CHINEOLE     DOZIER                       NC     90009666524
6BB89764A33698   SO           LEE                          NC     90011887640
6BB89774985821   DONNY        CASTILLO                     CA     90010797749
6BB8B29237B46B   CHIQUITA     WHITLEY                      NC     11055252923
6BB8B3A2591592   HILSE        PEREZ                        TX     90015133025
6BB8B443985821   CONNIE       RABE                         CA     90014184439
6BB8B488272B29   DONOVAN      GOLDING                      CO     90014264882
6BB8B64A972482   MICHELE      KERR                         PA     51038856409
6BB8B86545B531   NATALIE      HAMILTON                     NM     36074668654
6BB8B974A72B29   STEVIE       GUTIERREZ                    CO     90003969740
6BB8BA26872B36   PHILACIA     LADEAUX                      CO     90013550268
6BB91488587B31   MICHELLE     KELLY                        AR     28088404885
6BB91579891592   JESUS        VALENZUELA                   TX     90013515798
6BB915A144126B   ANTHONY      BARRON                       PA     51084495014
6BB916A5733698   TIMOTHY      STEVENSON                    NC     90014116057
6BB91944831551   MICHELLE     MISSOFF                      NY     90006689448
6BB91A73572B43   JASINTO      COCHEZ                       CO     90011040735
6BB92263A55941   DIEGO        LOPEZ                        CA     49072542630
6BB9243845B357   LEONEL       FAJARDO                      OR     90001984384
6BB92587691975   SARAH        BURNS                        NC     90009065876
6BB9264A833698   EDUARDO      GONZALEZ                     NC     12006386408
6BB927A962B587   TIMOTHY      KELLEY                       AL     90014997096
6BB929A9A72B43   TOBY         JACOBSON                     CO     90013199090
6BB93133261964   ISRAEL       ROSAS                        CA     90010291332
6BB93577755973   SYLVESTER    MIRANDA                      CA     48021465777
6BB9357AA4B27B   RICHARD      LARA                         NE     90007465700
6BB94127A5B531   CHARLENE     MAES                         NM     36000141270
6BB94734981644   KATHERINE    MELTON                       MO     29057287349
6BB94993A57538   STEVEN       MONDRAGON                    NM     90011779930
6BB9539394B588   HEATHER      ALLISON                      OK     21529923939
6BB9545324B543   JOSE         FUENTES                      OK     90001314532
6BB95525181644   SHARIE       GERE                         MO     90011355251
6BB95681572B43   SANDRA       LORNES                       CO     90009536815
6BB9587AA2B27B   TRACY        REED                         DC     81028398700
6BB95A92491894   JACQUELINE   HENRIQUEZ                    OK     90008520924
6BB96166372B27   JERRY        THOMPSON                     CO     33015021663
6BB9623885B271   BRITTNI      SCHULTZ                      KY     90014612388
6BB9683795416B   LESLIE       BERDUO                       OR     90015558379
6BB96A1798166B   TERRI        JO                           MO     90014890179
6BB96A98691592   FERNANDO     GUTIERREZ                    TX     90013300986
6BB97865261936   FERNANDO     CRUZ                         CA     90009888652
6BB97937A4B588   ROY          JENNINGS                     OK     90010869370
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 676 of 2350


6BB97A92133698   GLENDICE     WYNN                         NC     90013270921
6BB9811888B133   CHRISTOPHE   NICHOLSON                    UT     31090741188
6BB98164861964   CLAUDIO      MARTIN                       CA     90014751648
6BB98577331453   TANESHIA     LEATHERWOOD                  MO     90010695773
6BB9868A781644   KAITLYNNE    MAURICIO                     MO     90015136807
6BB98A1994B588   CHANDRA      MEADOWS                      OK     90014510199
6BB99161371976   KAITLYN      PADERMOS                     CO     90012781613
6BB9968AA55975   JULIAN       MARTINEZ                     CA     90013826800
6BB9B112651354   RHONDA       FAISON                       NC     90001401126
6BB9B23725B235   OLIVIA       WALKER                       KY     68034352372
6BB9B28165B344   ECHO RAE     DONOVAN                      OR     90013192816
6BB9B425157538   ANTONIO      TORRES                       KS     90012484251
6BB9B58325416B   AMANDA       FAIRBANKS                    OR     90011415832
6BB9B59414B27B   KRISTEN      ANDERSON                     NE     90012385941
6BB9B62A14B588   BRITTANY     WILLIAMS                     OK     21583896201
6BB9B786354128   FELIX        GOLDEN                       OR     90015007863
6BB9B886891999   EDGAR        FLORES                       NC     90004788868
6BB9B911272482   JEREMY       KEMP                         PA     90003499112
6BBB1531A4B27B   MIKE         KHAN                         NE     27007915310
6BBB2211355975   ESTHER       MONTEJANO                    CA     90001052113
6BBB2292372B29   TIM          SMITH                        CO     33000142923
6BBB256765B393   THOMAS       MCAULIFE                     OR     90007815676
6BBB2858461979   IRMA         SANCHEZ                      CA     90001298584
6BBB2888861964   LOUIE        MATHEWS                      CA     46047268888
6BBB313217B46B   CRYSTAL      MAYFIELD                     NC     11007461321
6BBB3134372B43   TEKLA        OLIVAN                       CO     90005681343
6BBB3358751342   RYAN         BITZER                       OH     90007263587
6BBB337634B588   CHAD         GOODSON                      OK     90011133763
6BBB35A763168B   GARY         GRIFFIN                      KS     90000835076
6BBB384545B235   JOEL         NOLAN                        KY     90010478454
6BBB38A4491894   BRIAN        QUESTON                      OK     90002678044
6BBB421A191592   FRANCISCO    RUIZ                         TX     75001062101
6BBB5561571976   GENO         STRICKLETT                   CO     90013195615
6BBB559785416B   RICARDO      COSTAFINO                    OR     47050745978
6BBB596255B39B   FARA         NOSRATI                      OR     44534729625
6BBB6463985821   LUCITA       BUENAVISTA                   CA     90014464639
6BBB6845333698   ARLEATHA     MOSER                        NC     90015118453
6BBB6851181644   CONRAD       GOUDEAU                      MO     90015278511
6BBB694975B531   NANCY        DIAZ VALENZUELA              NM     36078309497
6BBB6A68172B29   ANDRES       GONZALEZ                     CO     33057240681
6BBB7985772B43   RACHEL       ROSALES                      CO     33062109857
6BBB8483687B31   PEGGY        MEEKER                       AR     28082264836
6BBB8661572B27   MATHEW       DANISH                       CO     90011606615
6BBB947A98B133   JUDY         KELLEY                       UT     90013944709
6BBB9532971976   CRYSTAL      VALDEZ                       CO     90008435329
6BBB9844591592   JESSICA      ACKER                        TX     75021868445
6BBB9A58261979   JESSICA      CAMACHO                      CA     90013950582
6BBB9A7A761936   CHRISTOPHE   WOODRUFF                     CA     90001430707
6BBBB126271976   ALEXIA       VIGIL                        CO     90013391262
6BBBB559385821   SLACKER      INC                          CA     90014155593
6BBBB571487B31   STEPHANIE    ANDERSON                     AR     28038645714
6BBBB655561964   ROBERT       SPIEGEL                      CA     46084956555
6BBBB771231453   RICHARD      MCKINNEY                     MO     27514917712
7111134319154B   ROSA         VELEZ                        TX     90000513431
7111135A955939   LETICIA      CASTRO                       CA     90014523509
71111381A81643   MINDY        MEYER                        MO     90009163810
7111176A63B325   ELIZABETH    MOORE                        CO     90010037606
71111A42991566   GEORGE       YOUNES                       TX     90007370429
71111A86527B98   MS           MICHAELA                     KY     90012650865
71111AA4285937   MIRIAM       CAMPOS                       KY     90005310042
71112316272B98   JOE          SERNA                        CO     90008563162
7111244935B169   JAMES        PHILLIPS                     AR     90009874493
7111277119154B   PALENCIA     CHRISTOPHER                  TX     90014077711
71113755472B98   VIRIDIANA    TORRES                       CO     90014187554
7111459728B134   SERGIO       HERNANDEZ                    UT     90012685972
7111546AA2B994   ALFONSO      HERNANDEZ                    CA     90014114600
7111549338593B   ANGIE        LEE                          KY     66096584933
7111582843168B   BRITTANY     CAMPBELL                     KS     22066088284
71115A52472441   CARLIE       MINEARD                      PA     90010910524
7111623A32B271   BOB          JOHNSON                      DC     90005632303
7111682868B855   LEUALENI     TABOI                        HI     90014858286
7111685233168B   MELINDA      RODRIGUEZ                    KS     90004268523
711168AA651391   PHILIP       CHRISTOPHER                  OH     90005838006
71116A5527B661   CHERYL       DIXON                        GA     15006860552
71116A7215B59B   LICIA        LOZANO                       NM     90007070721
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 677 of 2350


71117292A72B32   DREA         FRANKLIN                     CO     90010892920
7111793928B168   JAMIE        TURNER                       UT     90013719392
7111844649154B   JEANA        JUAREZ                       TX     75090044464
7111894A641237   FRANK        BAKER                        PA     90002329406
71119285772B44   KELCY        MELARANE                     CO     90013602857
7111B145755966   KEVIN        KURTZ                        CA     90013951457
7111B32762B994   BULMARO      VALENCIA                     CA     90013983276
7111B56719154B   LIZETTE      VALENZUELA                   TX     75028995671
7111B592385937   SANDRA       BRISENO                      KY     67011165923
7111B722781643   EVELYN       PARKER                       MO     29029017227
7111B842871921   TENILE       COOPER                       CO     90010888428
71121119A72B44   JOSE         SOLIS                        CO     33066811190
7112149783168B   LORENA       FAGARDO                      KS     22063464978
711216A4A55966   LOURDES      VASQUEZ                      CA     90014156040
7112183189154B   MARCO        GALVAN                       TX     90011378318
7112221A285937   KENDRA       O NEAL                       KY     90008182102
7112276628B134   ANDREW       FRELUND                      UT     90012387662
711227AA55B59B   WAYNE        SLATER                       NM     35008387005
71122867227B98   PATRICIA     SCHNEIDER                    KY     90013798672
71123364A5B596   LUCIANO      GARCIA                       NM     90000553640
7112367565B59B   BRYAN        NIETO                        NM     90014566756
71123798A55939   MARY LOU     LOPEZ                        CA     90000167980
71123A3987B661   KHADIJAH     WARNER                       GA     90013800398
7112423363B366   LANETTE      DE SANTIAGO                  CO     90006062336
71124258572B44   SONIA        ONTIVEROS                    CO     90008632585
71124447972B29   JORGE        ROJAS                        CO     33097874479
7112468525B59B   REBECCA      RIVERA                       NM     90014566852
7112473125B336   TAMARA       RENEE                        OR     44503767312
7112492685B169   HEATHER      BURGER                       AR     23037689268
71124AA6431433   YOLANDA      DORSEY                       MO     90011210064
71126644A55966   ENRIQUE      SAMANO                       CA     90004136440
7112677748B163   NICHOLAS     VALDEZ                       UT     90015127774
7112695A371921   JOLYN        CRITES                       CO     90014849503
7112737584B257   GILDA        LOPEZ                        NE     90011713758
7112737698B168   ALMA         JIMEN                        UT     90003263769
7112747532B994   CHRIS        PUGH                         CA     90011304753
7112768888B855   CALISTA      ENGDAHL                      HI     90015446888
7112783489154B   HECTOR       GORDILLO                     TX     90000468348
71128231672B98   DANA         SAUDER                       CO     90005512316
711288A225B384   KEVIN        SHARP                        OR     44526788022
711296AA19154B   CARLOS       CASTRO                       TX     75077326001
7112B41727B477   WILMER       RIVERA                       NC     90013394172
71131159A81633   KAITLIN      GARDNER                      MO     90012561590
7113149765B596   CHRISTOPHE   PEREZ                        NM     35048964976
7113162219154B   KARLA        ARRAS                        TX     90002306221
7113232215B921   ANDY         DUNCAN                       ID     41007433221
7113275A485937   RAMOS        RODRIGUEZ                    KY     90013887504
71133326A72479   LAMONT       CLARK                        PA     90014623260
7113414617B329   JUAN         HERRERA                      VA     81005291461
711343A7541237   BOB          MILLER                       PA     90006703075
7113443A272B98   SCOTT        KNAPP                        CO     90011924302
711344A9981633   CAROLYN      JONES                        MO     90014054099
711348A6A55939   CELIA        RODRIGUEZ                    CA     90007298060
711348A8571921   TINA         DEBSON                       CO     32020598085
71135371972B29   OCTAVIO      PACO                         CO     90004033719
7113622565B59B   JAMES        MAESTAS                      NM     90011482256
7113624AA72479   WILLIAM      SCHOEMER                     PA     51013412400
7113627958B134   SHAWN        WEBB                         UT     90014932795
7113641975B384   KIMBERLY     MCGILL                       OR     44571564197
7113662198B142   ADALBERTO    LEYVA                        UT     90014906219
71137158172B32   MARY         VALLEGOS                     CO     33065471581
7113759729154B   ELIZABETH    APODACA                      TX     75082215972
7113785185B169   VERONICA     BRAVO                        AR     90014378518
7113796617B398   JOSE         MARTINEZ                     VA     90001689661
7113841A52B994   JAIME        LLAMAS                       CA     45074434105
71138A28255969   DIANELA      OCHOA                        CA     90015010282
71138A3518B134   BRYAN        ROHLFING                     UT     90012660351
71139345772B44   BRITTANY     CHAVEZ                       CO     90011473457
71139757772B98   FRANCISCO    MARIN                        CO     90014187577
71139A5325B596   WALTER       CHRISTOPHER                  NM     35010760532
7113B141272B29   CHRISTINA    KEE                          CO     90013281412
7113B15287B661   ANGELA       ANDERSON                     GA     15076081528
7113B49877B477   ALFREDO      HERNANDEZ                    NC     90015224987
7113B821A55966   ALMA         GARCIA                       CA     90011278210
71141241272B44   LUIS         CORDOBA                      CO     33001032412
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 678 of 2350


71142961727B98   OSCAR        BREWER                       KY     90010409617
7114377AA8B157   KYLE         NIELSEN                      UT     90012947700
7114395A241227   PAULETTE     BANKS                        PA     51041199502
71143A11272B29   CLAYTON      RAUCH                        CO     90012860112
7114492648B157   TELEISE      PALMER                       UT     31098979264
71144A7195B169   MELINDA      HOULE                        AR     90012200719
71145167327B98   STEPHANIE    MONCURE                      KY     90014971673
711453A375B596   RYAN         SARMIENTO                    NM     35030903037
7114576A172B98   ANA          SANTOS                       CO     90014187601
7114597789154B   JEANNIE      EDWARDS                      TX     90014039778
71145A9A672B32   LEZLY        HERNANDEZ                    CO     90010790906
7114617177B477   CRISTINA     JOSEPH                       NC     90014991717
71146179472B98   MICHELL      POLLARD                      CO     33061791794
711463A453B137   LATESHAW     JOHNSON                      DC     90012673045
71146635772B29   TRACY        MARSH                        CO     90007706357
71146A3368B189   JAMES        HILTON                       UT     31001560336
71146A63672B44   DANIEL       HASCHKE                      CO     33055300636
71147235872B29   ALFREDO      ALCANTARA                    CO     90014722358
711472A1172B29   ALEJANDRA    ALCANTARA                    CO     33030312011
7114784618B157   BRIAN        JONES                        UT     90010148461
711483A127B661   TASHA        FITZPATRICK                  GA     90014883012
711491A7155939   SELENE       AHUMADA                      CA     90008941071
711491A7757157   PILLAR       CASTILLO                     VA     90010381077
7114B265A5B384   KIMBERLY     WINDOM                       OR     90010522650
7114B276771921   PAYGO        IVR ACTIVATION               CO     90010682767
7114B758472B98   JUVENAL      ROBLES                       CO     90014187584
7115119755B169   EMILY        EDWARDS                      AR     90013301975
7115139A34B539   JOHNNY       DEAS                         OK     90008523903
7115171A65B597   RYAN         VICENTE                      NM     90011317106
7115175187B661   TILIA        BASTIDA                      GA     90006817518
7115193392B994   SARAH        DANIELS                      CA     90012249339
71151961272B29   PABLO        GARCIA URENO                 CO     90013959612
7115257775B59B   MARIA        RODRIGUEZ                    NM     35024285777
71152A6539154B   KASSANDRA    FIORE                        TX     90013930653
7115325A42B994   FIDEL        PEREZ                        CA     45074932504
71153273272B44   FLORA        ROSALES-MONREAL              CO     33090822732
7115332828B134   JUAN         BAUTISTA                     UT     90006843282
7115369765B524   RICHARD      ARAGON                       NM     35031976976
7115388655B59B   JAVIER       PLATA                        NM     35090958865
71153A12261997   PATRICIA     DUARTE                       CA     90003660122
7115465A45B59B   ELISA        DAVIS                        NM     90010516504
7115483377B661   TOLEDA       WOLFE                        GA     90003008337
71154969A33699   NIKKI        NORMAN                       NC     90010789690
71154A77355966   TATIANA      AGUINIGA                     CA     90013920773
711551A6A72B44   MARGARET     PRESTON                      CO     90013131060
7115528A184322   BLINDA       HOUSEY                       SC     14503492801
7115528A861995   PHILLIP      ROBERTS                      CA     46016382808
7115539978B163   CRISTIAN     SANTOS                       UT     90013023997
7115681623168B   MISTI        DAVIS                        KS     90014248162
7115711A98B168   CRISTIAN     VALENZUELA                   UT     31066251109
7115716428B163   TEESHA       LINDGREN                     UT     90013991642
71157971972B98   BRANDON      COUTLAKIS                    CO     90011799719
711582A5891991   KEYONNA      BETHEA                       NC     17095782058
711586A2172B29   SHANE        MCDERMOTT                    CO     90001536021
7115915875B169   ALYSSA       THOMAS                       AR     90013291587
7115921AA72B32   CHERRI       ROGINA                       CO     90011482100
71159A3969154B   ALEJANDRO    SOTO                         TX     90012870396
7115B11815B384   GILBER       ESCOBAR                      OR     44501781181
7115B227455969   ABELARDO     IZAZAGA                      CA     90001772274
7115B5A7331433   DENISE       REDD                         MO     90014985073
7115B751284322   LUIS         FERNALDO                     SC     90012407512
7115B762672B98   JONATHAN     CASIAS                       CO     90014187626
7115B956755966   ANGELICA     YANEZ                        CA     90010079567
7116156438B163   LETTICIA C   GUTIERREZ                    UT     90012425643
71162248672B29   RAUL         VALDEZ HERNANDEZ             CO     90009532486
7116227918B142   MARK         LARSON                       UT     90011342791
7116252365B59B   GALINDO      GENOVEVA                     NM     35075635236
71162624A55939   ARTURO       CABRERA                      CA     90011496240
71162762872B98   ANTONIO      VAZQUEZ                      CO     90014187628
7116299395B169   RAYMOND      MANEES                       AR     90010819939
71162A3438B168   ALEXANDRA    GOMEZ                        UT     90014270343
711634A737B477   DESIREE      JONES                        NC     90015284073
7116355854B976   ANGEL        MILLER                       TX     90006935585
7116393A871921   JOSEFINA     CABRAL                       CO     90011509308
71164AA5227B98   PAYGO        IVR ACTIVATION               KY     90014500052
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 679 of 2350


7116554268B157   GLORIA                SAPUTO              UT     90014155426
71165765472B98   FABIAN                LOPEZ               CO     90014187654
711657A448B163   REGINA                GURR                UT     31003127044
711658A288B142   SENAIT                AGUERO              UT     90014068028
71165979672B32   LILAH                 EDWARDS             CO     90013979796
71166257A85937   NUBIA                 MARTINEZ            KY     67087442570
711665A8333699   JOY                   HOOVER              NC     12068535083
7116683345B169   LA'STEVEN             WALLER              AR     90015488334
7116683A972441   LENA A                KESTER              PA     90013958309
711668A2731443   JUSTIN                COURTWAY            MO     90014828027
7116727A67B661   SHAY                  CHAMBERS            AL     90013632706
71167424A3B137   DONATIENNE SANDRINE   DOMITIEN-D          VA     90008774240
7116791128B163   JESSE                 JOLLEY              UT     90000989112
71167A18584322   STARSHEIKA            SCOTT               SC     90014950185
7116886948B168   MIRANDA               ANA                 UT     90006108694
711689A7772B98   ADRIANA               INZUNZA             CO     90012619077
71168A68281633   JONATHON              MAAG                MO     90013970682
71169A85997B39   DEBORAH               KORDELISKI          CO     90007780859
7116B536372B98   DOMINIC               MEDINA              CO     90014835363
7116B983841237   TARA                  CONKLIN             PA     90003219838
71171186372B2B   RAUL                  SANCHEZ             CO     33029751863
71171747A31482   MAREKA                HUNT                MO     90006607470
71171935A27B98   TERESA                RAUSCH              KY     90010899350
71171A65157157   VERONICA              LEMUS               VA     81083500651
7117243A65B225   SONIA                 DAVIS               KY     68042964306
71172766972B98   CLAUDIA               ZAPIEN              CO     90014187669
71173248A5B124   JAIME                 WILLIAMS            AR     90013062480
7117342539154B   IRVIN                 CERESERES           TX     90012334253
71173477A5B169   JESSICA               BOOKOUT             AR     23077314770
71173538A91993   NINA                  WARREN              NC     17007645380
71173852A31432   JEFFREY               COLLIER             MO     90010798520
711743A8772B98   DEBRA                 CRAIG               CO     33032213087
7117452528B168   BRITTANY              HEGERHORT           UT     90004215252
7117467A68593B   LISA                  TOWNSEND            KY     66043116706
7117514972B994   JOSEPH                FIGUEROA            CA     90002261497
7117634668B157   TERESA                MASON               UT     31010673466
71176767772B98   CARLOS                BONAVIDES           CO     90014187677
71177A4A141253   YOLANDA               OTT                 PA     51044120401
7117851828B168   LIDIA                 MARTINEZ            UT     90008285182
71179485172B98   CHANCE                COX                 CO     33037464851
711794A4633698   GIOVANNY              CABARCAS            NC     90013934046
71179AA8757157   CLAUDE                KIKONI              VA     81024790087
7117B499172B44   CORY                  CUMMINSS            CO     90004104991
7117B6AA131433   REGINA                JOHNSON             MO     90013656001
7117B87A557157   ANGELA                PORTILLO            VA     90005678705
7118115688B168   CAROL                 PUERTO              UT     90013481568
71181641A5B59B   JOSIAH                EVANS               NM     90011416410
71181934A41253   TIFIANY               HINTON              PA     51052259340
7118215A627B98   DOMINIQUE             TUCKER              KY     90015191506
7118222238B163   EDWIGE                BABALAKO            UT     90013172223
71182516672B32   DEBRA                 ORTIZ               CO     33098375166
7118255898B168   KRISTEN               KENITZER            UT     31063825589
71182936372B29   ROBERTO               ORNELAS             CO     90003739363
7118293638B142   RON                   PADGETT             UT     90002149363
71182962A72B44   DIEGO                 GARCIA UROZO        CO     90011589620
71183186A5B169   WILLIAM               HISSAM              AR     90014841860
711833AA555966   MIRIAM                MARTINEZ            CA     90013953005
71183479272B29   HUMBERTO              JIMENEZ ROSAS       CO     90011904792
71183AA4841237   DAXA                  PATEL               PA     90009820048
71184761872B98   RICARDO               MONDRAGON           CO     90011587618
71184911A72B44   ABRA                  MARTINEZ            CO     33043729110
7118496598B142   HENRY                 CARTER              UT     90012239659
711849AA857157   MIGUEL                FIGARO              VA     90013959008
71185269972B32   JANINA                MAEALIUAKI          CO     90009482699
7118548225B236   LARRY                 MARQUEZ             KY     90002504822
7118554948B163   BREEANN               CALLAHAN            UT     90010015494
7118577475B169   HERMDIN               DA ELIAS            AR     23023007747
7118719354B27B   BARBARA               OLSON               NE     90009951935
7118758748B142   KARI                  HAND                UT     90011705874
71187773A72B98   JOHN                  SMITH               CO     90014187730
7118821842B857   JONATHAN              LOOSLE              ID     90002902184
71188272A8B163   CAMILLA               SOIFUA              UT     90013832720
71188298A41227   DANA                  CHEDWICK            PA     90008032980
7118892217B661   SHELIKA               GASKIN              GA     90012579221
7118897A172B44   ANARELE               BASURTO             CO     90010679701
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 680 of 2350


71188A91584322   ROBERT        ALTACHO                     SC     14585530915
7118929A157157   JOSE          ROSALES                     VA     90011802901
7118963247B661   VANESSA       DAVIS                       GA     90014506324
7118966818B142   TRAVIS        WEBBER                      UT     31061836681
7118B33A531433   JAMES         PICKENS                     MO     90013943305
7118B45A391993   GLEN          FISHER                      NC     90001434503
7118B629772431   DAVID         WEIMER                      PA     90007786297
7118B663793736   SPARKLE       HAYES                       OH     90009746637
7119148385B238   MICHEAL       ANDREWS                     KY     90005114838
7119192169154B   SERGIO        VALLES                      NM     90002839216
71191AA6257157   JEHAN         MOHAMED                     VA     90014060062
7119222578B168   JAKE          GOMEZ                       UT     90011982257
7119296A472B29   EDWARD        FINLEY                      CO     90010839604
7119326AA71921   JENNIFER      PYLES                       CO     90007742600
7119373939154B   EDDIE         PACHECO                     TX     75041327393
71193A62A41967   RON           HOBBS                       OH     90012220620
71194139372B44   ADAM          LUJAN                       CO     90007511393
7119416598B134   NICK          RIDEOUT                     UT     31081591659
7119481A455969   JOSE          ROMERO                      CA     90013338104
71194841A71921   MARIA         MEDINA                      CO     32063948410
71194878372B32   PARBATI       SANYASI                     CO     90014278783
711952A533168B   ROBERT        WOODWARD                    KS     90013592053
711953A7461935   RAFEL         HERNADEZ                    CA     90010583074
711955A277B661   JACKQUELINE   WIMBERLY                    GA     90011945027
71195776A72B98   PEDRO         PALO                        CO     90014187760
71195A12541253   SUZANNE       SEIBERT                     PA     51049600125
71195A6795B59B   LINDA         CASTILLO                    NM     90011330679
7119661898B163   MICHAEL       HODGES                      UT     90008526189
71197898A85937   ROWENA        JACKSON                     KY     67094618980
71198186672B44   MERRANDA      CARDENAS                    CO     90003001866
711991A6555969   GINA          SAENZ                       CA     90007961065
71199692172B29   KARINA        CHACON-CARNERO              CO     33088296921
711999A1441237   TONY          WILSON                      PA     51087909014
71199A38241227   DENNIS        KENNEDY                     PA     90011790382
7119B131481643   TYLER         ELLIOT                      MO     90010961314
7119B518841227   CHRISTINE     COOLEY                      PA     51018465188
7119B572271921   GARY          DAVIS                       CO     90014685722
7119B832272479   GEORGE        MEGELA                      PA     51014788322
711B1361455939   RAMIRO        MADRIL                      CA     90014083614
711B1A7A485937   MARQIE        TURNER                      KY     67088140704
711B1AA1255969   FRANCES       JASSO                       CA     90014850012
711B256275B169   ADAM          WELTER                      AR     90007505627
711B264768B168   KELLY         WALKER                      UT     90009956476
711B281889154B   JUAN          CARMONA                     TX     90013148188
711B2A92172441   NORRAH        JOHNSTON                    PA     90008250921
711B3259A27B98   SYMPHONY      BRADFORD                    KY     90014082590
711B358462B994   REBA          NORIEGA                     CA     90012005846
711B361445B59B   SCOTT         STUDIER                     NM     35074846144
711B364217B347   DARLENE       STANLEY                     VA     81055346421
711B368767B661   AMANDA        MASCORRO                    GA     90013586876
711B3836771921   FRANCISCO     ROMERO                      CO     90000498367
711B389988B168   DORA          RIVAS                       UT     90004978998
711B395A28B157   MICHAEL       TISDALE                     UT     90010859502
711B4774957157   ADANECH       TESSEMA                     VA     90014977749
711B49A2372421   ALICIA        PERIPANOS                   PA     51013789023
711B4AAAA5B59B   BRIANDA       VARGAS                      NM     35012010000
711B563665B332   MARJIE        LOCKWOOD                    OR     90006636366
711B5818231433   LASHONDA      SANFORD                     MO     90011148182
711B5A84355969   KARI          ANAYA                       CA     90011930843
711B6336484322   KENNETH       JONES                       SC     90014383364
711B635A281633   JONATHAN      WELLS                       KS     29025123502
711B643158593B   RONDA         LEAKE                       KY     90013284315
711B6752772B98   LUIS          MARTINEZ                    CO     90014187527
711B6775555939   ABIMAEL       GOMEZ                       CA     90012157755
711B6876884326   JESSICA       JACKSON                     SC     90013728768
711B6971141253   ANTHONY       CODNER                      PA     90010879711
711B716635B169   ALEXIS        DENSON                      AR     90015581663
711B72A835B384   RAMON         ZOTELO                      OR     90001082083
711B783189154B   MARCO         GALVAN                      TX     90011378318
711B816183168B   JEFFREY       ROBINSON                    KS     90013471618
711B82A7131433   TOMMY         LEVERETT                    MO     90006682071
711B8533891991   JOSE          PEREZ                       NC     90006775338
711B88A2585937   CRYSTAL       RITCHIE                     KY     90005378025
711B923A25B59B   LUIS          PUENTEMORENO                NM     35087802302
711B9342851349   JONATHAN      MILLER                      OH     90015093428
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 681 of 2350


711B9398855966   JAN          MYERS                        CA     90014103988
711B9754272B98   KATIE        SOUTHWORTH                   CO     90014187542
711B9A68772B32   NASRELDIN    MOHAMED                      CO     90012080687
712112A9641253   WILLIAM      MANTZ                        PA     51008662096
7121147255B169   PAYGO        IVR ACTIVATION               AR     90013404725
7121152AA55969   ISAAC        OVIEDO                       CA     90014295200
7121194677B477   WENDY        BRODAY                       NC     90015409467
71211A6AA8593B   GUADALUPE    VARGAS-ORTEGA                OH     90013960600
71212223A33699   INA          HARPER                       NC     12042732230
71212431A8593B   PAUL         NIEHAUS                      KY     90011384310
71212599227B98   TRACEY       ACREE                        KY     90015155992
7121285579154B   JANETT       ESPINOZA                     TX     90012358557
71212A2A65133B   KAREN        THOMAS                       OH     66021820206
71212A54172421   BRANDON      CASTLE                       PA     51013490541
7121337A68B163   JOSE         SANCHEZ                      UT     90015163706
71213782172B98   GERARDO      GOMEZ                        CO     90014187821
71213875572B23   TABATHA      POSTON                       CO     90004978755
7121388245B384   ANGELA       HILL                         OR     90007178824
7121395729154B   MARIA        CASTRO                       TX     75084139572
71213962A55966   STEPHEN      ORTEZ                        CA     90011279620
71213AA8757157   CLAUDE       KIKONI                       VA     81024790087
7121431352B994   JARROD       VERDERBER                    CA     45049693135
7121437A572421   SCOTT        BLANISH                      PA     51097323705
71214AA3672B98   EFRAIN       REYES                        CO     90011750036
71215539A3B321   IRMA         JIMENEZ                      CO     33054595390
7121577973168B   CASSIE       BIPPERT                      KS     90014637797
7121626213168B   PAULA        CRAWFORD                     KS     90012252621
7121674699154B   CRUZ         CHAVEZ                       TX     75055667469
71216778A3377B   OMAR         VICTORIO                     LA     90015537780
7121734A393728   PAULA        FRANCIS                      OH     90006003403
7121739198B163   ANTONIO      RAMOS                        UT     90011843919
7121835578B168   OSCAR        CORDOVA                      UT     90013963557
7121835688B157   SHARCE       CUSTER                       UT     90007173568
7121859617B477   SHERICE      HAYWARD                      NC     90014825961
7121911A455939   MARIA        HERNANDEZ                    CA     90011101104
7121929757B661   KIERA        ALEXANDER                    GA     90013802975
7121976995B596   ARIEL        BRIONES                      NM     90011747699
71219933272B98   MONICA       ENRIQUEZ                     CO     33046199332
71219936A7B477   MARY         FIGUEROA                     NC     90006029360
7121B14752B271   LETROY       DURRETT                      DC     90001351475
7121B184371921   GLORIA       ANETONE                      CO     90007871843
7121B38218B163   ALMA         RUESGA                       UT     90014473821
7121B437191522   ACOSTA       RUBE THOMAS                  TX     75028714371
7121B78A272B98   MAAME        POKUA                        CO     90014187802
7121B84A455939   MAYLENE      GALVIZO                      CA     48014338404
7122166613B325   ROGER        WICKS                        CO     90004936661
7122178595B59B   GILBERT      SANTISTEVAN                  NM     90013497859
712218A9A8B168   JORGE        GALINDO                      UT     90013378090
71221A7557B661   DIEDRE       HARRIS                       GA     90011230755
712229A6372B44   JUAN         SALAZAR                      CO     90010319063
712231A8855966   BENJAMIN     RUIZ                         CA     90014861088
7122463617B661   JEFFREY      WASHINGTON                   GA     90014506361
71225776A84322   ALDA         GAREY                        SC     90015197760
71225823A72421   CARL         HENRY JR.                    PA     51046918230
71225A2A381643   MICHELLE     MCARTHUR                     MO     90009410203
7122626A68B168   ROBERT       BEAVER                       UT     90012672606
712262A868B168   BRENDON      GOUT                         UT     90010522086
71226767A72B44   DONNY        LESTER                       CO     33014217670
712269A5A41237   ELAINE       PATTERSON                    PA     51088669050
71226AA3672B98   EFRAIN       REYES                        CO     90011750036
71227784A72B98   ARTURO       GARCIA                       CO     90014187840
71227963972B44   RICHARD      REUTER                       CO     90013289639
712279A9457157   JOSE         RODRIGUEZ                    VA     90006829094
7122819748B163   NOEMI        RUIZ                         UT     90013841974
712289A2472B29   JEFF         PARSONS                      CO     33025659024
7122B571431433   SHARI        SMITH                        MO     90008605714
7122B77327B477   MABEL        BRIGGS                       NC     90015107732
7122B79338B157   DAX          DONOVIEL                     UT     31067257933
7123141375B596   URIEL        ANCHONDO                     NM     35046284137
71231667172B32   CHRISTINA    HERRERA                      CO     90005376671
71231739A72B44   LUCIA        DE LUNA                      CO     90015177390
71231785372B98   ANGEL        FERNANDEZ                    CO     90014187853
7123199269154B   JESSICA      EDWARDS                      TX     90008339926
7123225143168B   JASON        VANLEUVEN                    KS     90010992514
7123245197B661   LUCIANA      VELASQUEZ                    GA     90012344519
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 682 of 2350


7123299AA8B168   JINA         VIGOREN                      UT     90006349900
71233788572B98   DAMIAN       SCHMIDT                      CO     90014187885
71233939472B32   BREONNA      HARRISON                     CO     90011209394
71234838172B32   TAYLOR       SANDERSON                    CO     33098498381
7123532222B271   NATASHA      BENNETT                      DC     81095643222
7123552345B169   SHWAN        VANHOOZER                    AR     23048685234
7123567262B994   MARIA        RUBIO                        CA     90012116726
7123582375B59B   MARISSA      MONTOYA                      NM     90009198237
71235A5265B596   PEGGY        ESQUIBEL                     NM     35039620526
7123612725B384   ANTONIO      AGUILAR                      OR     90010511272
71236283372B32   BRANDY       COLE                         CO     33011752833
7123638238B163   MINDY        RECORD                       UT     31062783823
7123647A827B98   JASMINE      HOLLOWELL                    KY     90010984708
712365AA57B477   JEAN         REID                         NC     90010645005
7123688A241253   SHAWN        DELANEY                      PA     90008468802
71237293A3B366   JOHN         COLEMAN                      CO     33000542930
7123732125B169   ROBERT       HAMBUCHEN                    AR     90008123212
7123738268B134   TRAVIS       MARTINEZ                     UT     90006473826
712374A553B38B   JOSEPH       LATUCHIE                     CO     90009134055
7123754198B168   LENA         VAIELAND                     UT     31054025419
71237AAA855939   JOVANY       RODRIGUEZ                    CA     90012800008
71238131872B44   JASON        BRACKENS                     CO     90013091318
71238234A72479   SHARI        BYRON                        PA     90011482340
7123829798B142   TAMARA       MORRISON                     UT     90014712979
71238627A91993   SHAREKA      HICKS                        NC     17086116270
71238A18A33698   SELINA       TATE                         NC     90010630180
712393A739154B   JOAQUIN      DURAN                        TX     75056933073
712395A3361935   DALILA       CEDANO                       CA     90014945033
7123B24898B142   JOHNNY       SAAVEDRA                     UT     90008412489
7123B411A8B186   JULIE        PHILLIPS                     UT     31004524110
7123B41A63168B   YOLANDA      ALCALA                       KS     90012724106
7123B67167B477   SHAKAI       DAVIS                        NC     90007446716
7123B7A595B59B   ABRIL        CAMPOS                       NM     90010517059
71241126A5B169   ROBERTA      JUARES                       AR     90015221260
7124128948B134   SANDRA       VELARDE                      UT     31035612894
712417A697B661   FERDINARD    NARAVAL                      AL     90011407069
71242529172B32   MARIA        HAVIRA                       CO     90002655291
7124273A771921   YESSENIA     MONTOYA                      CO     90009947307
7124284588B168   JEREMY       SORENSEN                     UT     90013378458
7124297465B169   DEDRONE      WILSON                       AR     90015199746
71242975172B32   JASON        JOHNSON                      CO     90010759751
71243A5258B163   HOLLY        DRURY                        UT     90011430525
71244796A3B384   DAVID        MEILS                        CO     33042557960
71245542144B63   RAMON        ARIAS-CERVERA                OH     90014435421
7124555968B159   BILL         HOGUE                        UT     31012635596
71245722372B44   PENNY        WALUSIMBI                    CO     33010727223
7124573963168B   CAROL        EDWARDS                      KS     90004147396
7124588779154B   JESUS        ARMAS                        TX     75090818877
7124626357B661   HENRY        DENNIS                       GA     90015132635
7124735A541253   DECORA       ALKHAFIZ                     PA     51071363505
7124766295B59B   GABRIELA     SANCHEZ                      NM     90014836629
7124843659154B   MONICA       CRUZ                         TX     90014754365
71248618672B29   MELANIE      HEATH                        CO     90002706186
7124867663168B   ROSA         RAMIREZ                      KS     90009636766
7124925615B384   PATRICIA     FULLER                       OR     44593122561
71249379A41253   JEANETTE     MURRAY                       PA     51000233790
7124966295B59B   GABRIELA     SANCHEZ                      NM     90014836629
712498A1533698   QUANDRA      WARREN                       NC     12088968015
7124B158772B98   BERNARDO     ALADEZ                       CO     90015201587
7124B271955969   LAURA        ROBERTS                      CA     90006532719
7124B317A72B44   ALEJANDRO    GONZALEZ                     CO     90012743170
7124B429272B29   JAVIER       RICO                         CO     90012724292
7124B55A572B98   JIMENA       CABRERA                      CO     90005475505
7124B565972B32   ALICIA       TARANGO                      CO     90009185659
7125115947B477   AMANDA       PLUMMER                      NC     90008421594
71251295172B29   LARRY        BRYANT                       CO     90015142951
7125159485B169   JAMIE        TOOMBS                       AR     90014065948
71251986A72B29   ULICES       CRUZ                         CO     90012389860
7125238477B661   MICHELLE     LOWE                         GA     90013373847
7125247398B157   RONALD       PATTERSON                    UT     90010634739
71252632972B32   MARIBEL      RUEDA TELLO                  CO     90011376329
7125337868B168   DUSTY        DESPAIN                      UT     31023853786
71253A97155966   DIEGO        ANDRADE                      CA     48083200971
71254995172B98   JIMMIE       TYLER JR                     CO     33065779951
7125524298593B   ROBERT       THOMAS                       KY     90004922429
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 683 of 2350


7125655918B134   CASEY        DUMAS                        UT     31077325591
7125684648593B   BRIDGET      MCNEELY                      KY     90000668464
712581A169154B   VANESSA      DIAZ                         TX     90013771016
7125822A28B142   ALEJANDRO    OTTAVIANO                    UT     90000482202
712588A9672B98   JOAN         KOONS                        CO     33044308096
71258A77171921   PHILLIP      BLACKMON                     CO     90005620771
7125958959154B   JESUS        FLORES                       TX     75074305895
7125B14A88B157   TIMOTHY      CARDWELL                     UT     31091081408
7125B2A9191991   HELENA       HARRIS                       NC     90013242091
7125B368972B29   GLEN         EVERMAN                      CO     90013973689
7125B424A71921   DOMINIC      SALAZAR                      CO     90014154240
7125B48A655939   HOMERO       FLORES                       CA     90012674806
7125B572372441   DAVID        BREWER                       PA     90001055723
7125B5A729154B   MARIA        CAZARIN                      TX     90010955072
7125B886972B32   GUILLERMO    QUIROZ                       CO     33060818869
7126166968B159   JEFFERY      SCOTT                        UT     31014176696
71261989827B98   SHAQUONA     HART                         KY     90009599898
71261A1A33B35B   GUADALUPE    RODRIGUEZ                    CO     90002790103
71261A6945B59B   ROSALYN      HUNTER                       NM     35093050694
71263383472B44   MARCELA      ROQUE                        CO     33038943834
7126434325B596   ANTOINETTE   MORPHEW                      NM     90006703432
7126599842B271   BUNRA        THONG                        VA     81014849984
7126617392B994   ALICE        CORONA                       CA     90014891739
7126629675B169   GINO         RANGEL                       AR     90014372967
71266A28172B29   DENISE       WARREN                       CO     90010280281
7126754517B661   JUAN         GOMEZ GOMEZ                  GA     90014435451
71267811472B98   SANDRA       MONTOYA                      CO     90014188114
71267A88A5B596   ABEL         ROMERO                       NM     90008410880
7126881A955969   ANTONIO      CARDENAS-CHAVEZ              CA     90012628109
712688A7761927   KATHY        BEATON                       CA     46007628077
7126921A755939   PHILIP       MARCES                       CA     90009562107
7126943488B157   RUBEN        FRANCO                       UT     31079894348
7126946A872B98   MERCEDES     CRUZ                         CO     90009424608
71269543A91563   MIGUEL       QUIROZ                       TX     90008075430
7126968755B59B   LILLIAN      SANCHEZ                      NM     90003826875
7126B463155939   JAIME        ROQUE                        CA     48062584631
7126B5A3241237   TONYA        LOVETT                       PA     90008275032
7126B67415B169   TAMRA        BLOCK                        AR     90014066741
7126B82A39154B   JAIME        GONZALEZ                     TX     90014178203
7127132AA84322   BARBARA      NEWTON                       SC     90013353200
712717A9A7B661   ANNIE        STANLEY                      GA     15081047090
71271A53741253   TIM          FOSTER                       PA     90013830537
7127226928B142   TOMMY        MARSH                        UT     90008072692
712725A585B59B   LOUREN       SANCHEZ                      NM     90014575058
7127263895B238   TANESIA      DAVIDSON                     KY     90014906389
71272639372B44   JUAN         HINOJOS                      CO     33012056393
7127311459154B   KARINA       BANUELOS                     TX     90006071145
7127421868B163   JAMIE        OGUE                         UT     90013032186
7127563A88B134   DARLENE      MEIK                         UT     90013396308
71275A83A5B169   DAVID        WIGGINS                      AR     90013430830
7127624818B163   MILINDA      OBAYASHI                     UT     90006762481
7127694A133698   JOSE LUIS    MARTINEZ                     NC     90013539401
71276965672B29   NAUSHLA      AYERS                        CO     90012749656
7127697358B142   VIRGINIA     POTTER                       UT     90011329735
71277247472B44   ALBERT       BLOUNT                       CO     90015202474
71277428572B98   JOSE         HERNANDEZ                    CO     33082404285
712774A995B169   FRANCISCO    REYES RUIZ                   AR     90015604099
7127753A172B31   MANUEL       ZAMARRON                     CO     33087845301
71277A11241237   AMY          BRANCH                       PA     90011030112
7127827737B477   THURMON      WOLFE                        NC     11065382773
7127834A657157   DEREJE       AYNALEM                      DC     90009833406
71279233A9154B   CLAUDIA      ROSALES                      TX     90006062330
712792A948B163   JOSE         PROVEDOR                     UT     31081372094
7127939988B163   STEVE        HAGGARD                      UT     31095913998
7127B24394B241   JODI         LIEBERS                      NE     90011012439
7127B46389154B   ALBERTO      HINOJOSOS                    TX     90012484638
7127B4A4547821   ARIEL        FINNEY                       GA     90012654045
7127B511A55939   JOSE LUIS    PENA                         CA     90013845110
7127B686531443   TRACY        WINFIELD                     MO     90011296865
7127B947772B44   DUANE        READY                        CO     90013469477
7127BA17655939   JOSE LUIS    PENA                         CA     90014720176
7128137318B157   COLLETE      CORNWELL                     UT     90012713731
71281816472B98   ISIDRA       GONZALEZ                     CO     90014188164
7128225638B168   ISAAC        POULSEN                      UT     31090882563
7128238673168B   MARTIN       SHULTZ                       KS     22024093867
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 684 of 2350


7128375A572441   REBECCA            CANNON                 PA     90013687505
712838A428B142   ALBERTO            MARTINEZ               UT     90010838042
7128391933168B   BEVA               KERSTINE               KS     22091019193
7128394763168B   CAMILLA            JOHNSON                KS     90014279476
71283A68281633   JONATHON           MAAG                   MO     90013970682
71284823472B98   JACKIE             SOSA                   CO     90014188234
71284A2215B596   XOCHIHUATL         QUIROZ-COTA            NM     90008310221
71284A3175B541   JOSE Y ELIZABETH   OLIVAS                 NM     90007510317
7128513A372B38   MATTHEW            MCCONNEL               CO     90014071303
712853A7155966   ANDY               GUTIERREZ              CA     48004943071
71285462A72B98   JAMES              DURAN                  CO     33052464620
7128577A461935   SAFAA              MAROUKI                CA     90007177704
71285824172B98   ALEX               PEDRADA                CO     90014188241
712858A7941253   BRITTANY           VEHEC                  PA     90015158079
71285A44327B98   SAKIAN             BRUNSON                KY     90014500443
71285A91833698   LATOSHA            LEA                    NC     12094740918
71285A98972B29   STEVEN             BRADLEY                CO     90006660989
712864A9984322   EBONY              BROWN                  SC     90014464099
71286825272B98   TANIECE            DAVIS                  CO     90014188252
71287A61A9154B   SHEIDY             CASAS                  TX     90013280610
71288A91772441   JACKIE             REYNOLDS               PA     51051450917
71289436A5B59B   ERICA              ORTEGA                 NM     35061534360
7128952789154B   ALBERTO            CALLEJAS               TX     90014705278
7128957583B137   KARLA              MARTINEZ               DC     90011145758
7128973799154B   CARLOS             RODRIGUEZ              TX     75025387379
712898A4166171   ANDRE              FAIR                   CA     90012618041
71289A75772441   JESUS              SILVA-AVILA            PA     90012730757
7128B26839154B   ALMA               GONZALEZ               TX     90014182683
7128B344771937   LAVERNE            ARCHULETA              CO     90011553447
7128B452881633   LUIS               MERCADO                MO     29087544528
7128B614227B98   BRABESHARA         BABB                   KY     90004266142
7128B815772B98   SABRINA            SANSON                 CO     90014188157
71291185227B98   CAROLYN            WATKINS                KY     90010991852
7129137865B169   JOSH               SWAWSON                AR     90014843786
7129138238B134   JAY                GILL                   UT     90007733823
712914A7472479   MICHAEL            FANTAUZZI              PA     51094044074
71292753A2B869   FAITH              BOOTH                  ID     42079907530
7129281197B477   RICHARD            TAYLOR III             NC     11082508119
71292A71355969   JULIA              HERNANDEZ              CA     90008630713
712932A2831482   CATRICE            BROWN                  MO     27561852028
7129336418B163   SALDANA            ERNESTA                UT     31078583641
712935A352B994   CECILIA            MORALES                CA     45090225035
7129396648593B   PAUL               BRINKMAN               KY     90014769664
71293A61272441   KELLY              WILDING                PA     51008350612
7129498463162B   ASA                SNITCHLER              KS     22058419846
71295298172B21   MICHAEL            BRIENO                 CO     33036212981
7129548645B384   MELITA             BULLIT                 OR     44576074864
71295A77784343   VICTORIA           MACKEY                 SC     19054280777
7129611545B169   KAYLA              JOHNSON                AR     90011391154
712962A7776B87   WENDY              ARRIAGA                CA     90006752077
71296493372B29   DAN                HARDING                CO     33091494933
712964A732B994   ARTHUR             FERRIS JR              CA     45046524073
7129654657B477   GILBERTO           AL VAREZ               NC     90015205465
71296574A3B137   EYVONNE            THREADGILL             DC     90008035740
7129724855B59B   SILVIA             HERNANDEZ              NM     35010572485
7129769A572B98   RUDOLPH            MEDINA                 CO     90014566905
71298112672B44   ANTOINETTE         MARQUEZ                CO     90012081126
71298134872B98   CLAUDETTE          ESPINOSA               CO     90011801348
7129842687B477   SARA               PINTO                  NC     90015274268
7129847397B661   KIMBERLY           BARRETT                GA     90008594739
71298825272B98   TANIECE            DAVIS                  CO     90014188252
712995AA291924   MELISSA            FEY                    NC     90014095002
7129969915B59B   PATRICIA           DIAZ                   NM     35092386991
7129985198B163   JUAN               GUERRITEZ              UT     31088048519
7129B111471921   ANTHONY            VELAZ                  CO     90012411114
712B1A83141253   SANDRA             TURNEY                 PA     51027600831
712B235332B994   JESSE              SOLIZ                  CA     90010903533
712B2366641253   WILLIAM            CALIGUIRI              PA     90005723666
712B2394755969   SAMANTHA           CABRERA                CA     90011063947
712B2559531433   ASHLY              ALLEN                  MO     90013965595
712B3384381633   JUAN               VELAZQUES              MO     90012003843
712B341A15B59B   TARA               CERVANTES              NM     90007904101
712B3A52855966   MARIA              VALDEZ                 CA     48088820528
712B3A74472B44   DANIEL             DUGAN                  CO     90005840744
712B4A9A341253   RYAN               MOORE                  PA     51002440903
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 685 of 2350


712B518565B59B   AMERETTE     GARCIA                       NM     90013961856
712B5245972441   MICHELLE     HOPE                         PA     90013162459
712B5351255982   MICHELLE     MARTINEZ                     CA     90005673512
712B56A6371921   LIZETTE      PEREZ                        CO     32011626063
712B5745231443   JOSHUA       BAILEY                       MO     90014907452
712B5867A55966   CESAR        HERNANDEZ                    CA     90012148670
712B596648593B   PAUL         BRINKMAN                     KY     90014769664
712B62A135B596   JUAN         MARTINEZ RAMIREZ             NM     35081832013
712B6676757157   CARLOS       SEGORIA                      VA     90015106767
712B6735872B29   DIANE        GORDON                       CO     33047707358
712B6778461935   BERNAL       MARISELA                     CA     90005737784
712B7341631443   TEBYRON      GRAHAM                       MO     90015093416
712B7724931443   CASSANDRA    LOGAN                        MO     90013747249
712B7724981633   ALEA         TAYLOR                       MO     90010917249
712B7932284322   JUAN         CASTILLO                     SC     90000759322
712B79A3431433   BECCA        SWAFFORD                     MO     90000149034
712B7A19971921   JOSEPH       URBANOWICZ                   CO     90009690199
712B7A9A461993   MARK         MARTIN                       CA     90012540904
712B8139631443   ASHLEY       HOGAN                        MO     90012041396
712B8525471955   WILLIAM      SMITH                        CO     90011605254
712B8557A55969   VANESSA      TORRES                       CA     90013295570
712B8779972B98   RAY          REYNOSO                      CO     90014187799
712B9572A27B98   MARTICIA     MARSHALL                     KY     90015155720
712B9799572B44   JOEL         ROA                          CO     33049567995
712B981865B59B   RHEALYNE     NAVARRO                      NM     90010058186
712BB6A4A8B163   ANDREW       GATTEN                       UT     90014716040
71311261A5B384   DANE         TRAEDEN                      OR     44502452610
71311585172B29   RELLA        FIGUEROA                     CO     33011465851
7131195AA33699   PASCUAL      GARCIA                       NC     12072849500
71311A38155969   BRIANNA      DIAZ                         CA     90011080381
7131246875B59B   GARCIA       CHERISE                      NM     90005234687
7131269439154B   IRMA         RAMIREZ                      TX     75056056943
71313346A55939   RUBY         VILLEGAS                     CA     90014823460
7131339938B168   CONVICTED    INK TATOO                    UT     31084623993
71313833772B98   MARINA       MARTINEZ                     CO     90014188337
713139A725B596   PETE         JARAMILLO                    NM     90007909072
7131444559154B   MARTIN       FRANCO                       TX     75089574455
7131455A455982   IRMA         TERRIQUEZ                    CA     90007765504
7131482268593B   DAVID        HANSFORD                     KY     66098788226
71315445A72441   PAMALA       BURNSWORTH                   PA     51075804450
71316156372B98   JANET        PRADO                        CO     90011801563
71316815A57563   COURTNEY     SURRETT                      NM     90014108150
71316859A55939   ESTEVAN      RODRIGUEZ                    CA     48063108590
7131687929154B   JALEEN       AVILA                        TX     90012558792
7131723345B169   JODY         SHEPPARD                     AR     90009542334
713172A8672B29   MANUELA      VILLALVA                     CO     90013082086
7131763765B384   ROBERTO      ALMARAZ                      OR     90006156376
7131788A57B477   OSSADO       ANOSE                        NC     90014028805
713179A2984322   LINO         AVILA                        SC     90014159029
71317A32755969   ROSEMARY     JUAREZ                       CA     90013470327
71318156872B98   JAYLISA      CATERS                       CO     90011801568
7131841122B994   DIRK         HERNANDEZ                    CA     90012724112
7131841A572B32   BRANDI       SMITH                        CO     90010004105
71318721A8B157   HENNESSY     SAM JOE                      UT     90010577210
7131877567B661   ERENDIRA     MARTINEZ                     GA     90009707756
71318837572B98   SHERRY       BLACK                        CO     90014188375
71318919972B44   DONNA        BLEDSOE                      CO     90000989199
71318A76655969   MICHAEL      BAEZ                         CA     90008680766
7131B393572479   JON          WASKO                        PA     51064983935
7131B681372441   SAMANTHA     GILBERT                      PA     51075906813
7131B71388B168   BRITTANY     DURRANT                      UT     90014877138
7131B823533699   NOEL         ECHEVERIA                    NC     90009878235
7131B836657157   JEROME       CUMMINGS                     VA     90014338366
713212A365B59B   MARIO        HERNANDEZ                    NM     90010252036
7132141A284322   JUAN PABLO   CACIQUE                      SC     90012624102
71321482A2B994   LILLIAN      MALLORY                      CA     90012094820
713218A4771921   LORIE        JOSLIN                       CO     90009658047
7132194588B168   ELSY         BRIZUELA                     UT     90013379458
71322278972B98   MELVIN       JOHNSON                      CO     90004962789
7132238A18B134   JESSE        JESSOP                       UT     90006993801
7132259617B477   SHERICE      HAYWARD                      NC     90014825961
7132269495B169   SCOTT        HUNTER                       AR     90013926949
71323441472B32   REINA        SERNA                        CO     33004324414
7132348157B661   NATHANIEL    JACKSON                      GA     15010804815
71323489A5B537   SAUL         GARCIA                       NM     90002224890
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 686 of 2350


71323A61993736   TITUS        GUY                          OH     64588410619
7132496A727B98   PAYGO        IVR ACTIVATION               KY     90004269607
71324A94172B32   JENNIFER     KELLEY                       CO     33093100941
7132544338B157   ARISMENDI    GIA                          UT     90004224433
71325522127B98   BEVERLY      BUSH                         KY     90014725221
7132572979154B   EDWARD       LOPEZ                        TX     90001967297
71325A52455941   YURITZIA     VAZQUEZ                      CA     90010520524
71325A73557157   TARA         POTTS                        VA     81008330735
71325AAAA72B32   LUCIA        VALDEZ MARTINEZ              CO     90010990000
71326A3778B157   TROY         OSGOOD                       UT     31070510377
71327439797B39   LINDSAY      SALAZAR                      CO     39032614397
7132749148B134   AFTON        LANG                         UT     90012194914
71327886A41227   RHONDA       MOORER                       PA     51040338860
713278A618B142   VICTOR       GUZMAN                       UT     90009448061
7132838A131432   SHARITA      WALLS                        MO     27575023801
7132923898593B   JIMMY        DOWNING                      KY     90009482389
7132924A59154B   PAULA        BARREL                       TX     90012262405
7132927AA5B169   PAYGO        IVR ACTIVATION               AR     90015312700
7132938A272B98   SCHEREL      PROSKI                       CO     33018683802
7132962198B168   ADALBERTO    LEYVA                        UT     90014906219
7132962368B157   BROOKE       WARNER                       UT     90015256236
7132B36928B163   JOANN        MAYHEW                       UT     90013033692
7132B6A4193739   TACHIANA     SPINOLA                      OH     64519596041
7132B915161935   JOHN         TRIPP                        CA     90005869151
7132B965A72B98   RENE         GARCIA                       CO     33034069650
7132B968155969   VIOLETA      FLORES                       CA     90014549681
7132BA44472441   HEATHER      DALLIES                      PA     51095750444
7133119418B163   MARIA        TAPIA                        UT     90013881941
7133136155B169   SONYA        BALENTON                     AR     23035563615
7133163617B661   JEFFREY      WASHINGTON                   GA     90014506361
71331849172B98   BEATRIZ      REYNA                        CO     90014548491
71332238272B29   ADRIAN       RASCON                       CO     33004232382
7133243328B142   CHAD         CARSON                       UT     31083714332
7133252217B477   CHARLES      BUSH                         NC     90002365221
7133346A53B384   JEFFREY      REYNOLDS                     CO     90011874605
71333715A8B168   BRIAN        RATLIFF                      UT     31087537150
7133421A993739   JOSHUA       CLEAVER                      OH     90014602109
71334887872B29   BELTON WAN   CARROLL                      CO     33010698878
71335857272B98   ANDRES       NAVA                         CO     90014188572
7133596829154B   MARINA       MORENO                       TX     90012839682
71335983627B98   NATASHA      KAMINSKI                     KY     90010379836
7133662518B168   AMPARA       NUVIA                        UT     90006286251
71336732A84322   ALBERTO      LUNA                         SC     90012507320
71336852A3B343   GARY         ROBINSON                     CO     33022908520
71336857272B98   ANDRES       NAVA                         CO     90014188572
7133745A231433   KEVIN        JOHNSON                      MO     90013944502
71337466472B98   OLGA         MCADAMS                      CO     33041754664
713376A258593B   DEBRA        SEXTON                       KY     66056556025
7133775515B169   MARIA        MORALES                      AR     90000947551
71337A26857157   MARCIA       POSADAS                      VA     90014260268
71337A5938B142   MARCOS       LOPEZ                        UT     90006170593
7133874A77B661   ALBERTO      VAZQUEZ                      GA     90015167407
71338889327B98   TIAGO        MONTOYA                      KY     90004228893
7133995418B168   JESSICA      TRIPP                        UT     90013379541
71339A17572479   JENNIFER     FINK                         PA     51067840175
7133B117472421   KATHERINE    LAVERDE                      PA     51029101174
7133B12A672B32   JESSICA      KUPPENBENDER                 CO     90004071206
7134131638B157   DAISY        REYES                        UT     90007823163
71342313972B98   DAVID        GOMEZ                        CO     90012803139
71342418A55934   EVELYN       SERVEY                       CA     90001214180
71342798A72B29   MISTY        CORDOVA                      CO     90006347980
7134283835B59B   ULRICK       FLEMIG                       NM     90008298383
7134327363B822   MOHAMED      ALI                          NE     90015512736
71343512997B81   BRENDA       CUTBIRTH                     CO     90006605129
7134359555B169   DIEGO        LUIS                         AR     90014175955
71343925A72441   JAMES        PALADINO                     PA     51029739250
71343953A8B168   MELISSA      ROBINS                       UT     90006119530
71344266972B44   ANGELA       LOMBARDI                     CO     90012702669
7134427958B134   SHAWN        WEBB                         UT     90014932795
71344328672B44   ANGELA       LOMBARDI                     CO     90002763286
7134438957B661   DOMINIQUE    GIBSON                       GA     90010653895
71345323A57157   GLENDA       APARICIO                     VA     90013663230
71345357A72B29   VICTOR       RAEL III                     CO     33098023570
71345926772B32   BARBARA      JONES                        CO     90012869267
7134595928B142   JUAN         VALLADOLID                   UT     90010249592
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 687 of 2350


7134713588B157   JON           WILDE                       UT     90007681358
71347161A5B596   HELEN         CONTRERAS                   NM     90010881610
7134731648B168   ALESHA        NICHOLAS                    UT     90010383164
71347649A72B29   LETICIA       OLMOS                       CO     90013996490
71347A83931433   MICHAEL       SHELL                       MO     90014030839
7134815A88B142   MORENO        MARIA                       UT     90003481508
7134824148B163   CIRILO        GUARNEROS                   UT     90015202414
71348375172B32   LETICIA       BAHENA                      CO     33037853751
71348A56357157   ROBERT        MOORE                       DC     90002720563
71349456172B98   JOSE          FUENTES                     CO     90011924561
7134958133168B   FLORINE       OLIPHANT                    KS     22091015813
7134981A431443   DEMESHA       MOSLEY                      MO     27598168104
7134B259572B32   TROY          WHITE                       CO     90001182595
7134B315531433   MARY          GAI                         MO     90008883155
7134B9AAA71921   TANAYA        HARRIS                      CO     32050279000
7135114278B157   JESSYCA       ANDREWS                     UT     90012801427
7135121778B134   GREGORY       PRAWITT                     UT     90001622177
7135129518593B   BRENDA        WILLLIAMS                   KY     66057512951
71351898872B98   TARA          THAPA                       CO     90004238988
71352A33531433   PARIS         FOSTER                      MO     90015410335
713532A2A71921   DEBORAH       HARRIS                      CO     32085642020
71353496672B29   SAJDAH        STRAUSS                     CO     90013434966
71353683A2B994   ROMAINE       GHOSTON                     CA     90013456830
7135372428B157   EMMA          GARCIA                      UT     31049147242
7135376775B59B   MELANIE       SEGURA                      NM     35027917677
7135391258B163   BERENICE      RODRIGUEZ                   UT     31046249125
7135417958B163   BRIAN         HANSEN                      UT     90008931795
7135438A98B168   TAMMIE        HAMPTON                     UT     31083843809
713549A678B134   TABBATHA      DUVAL                       UT     90010939067
71354A14272B44   JOSE          BALDERAS                    CO     90011590142
71354A6157B661   KELADA        SOLOMON                     GA     15086340615
713555A658B168   COLTON        OWEN                        UT     90013575065
71355A6368593B   DEBBIE        BURKE                       KY     66098640636
7135671888B157   CAROLINA      FUENTES                     UT     90013627188
713571AAA33658   STEPHANIE     HILL                        NC     90012401000
7135836A77B661   TONI          GOLSON                      GA     90010373607
71358479A5B59B   STEVEN        MARQUEZ                     NM     90008204790
7135884918B142   LISA          HALL                        UT     31027038491
71358963427B98   MICHAEL       KILLEBREW                   KY     90007149634
71358A5155B169   ALLANTE       CARTER                      AR     90010910515
71358A83157157   JOSE          HERNANDEZ                   VA     90008890831
7135973777B661   D.MICHELLE    PITTS                       GA     15047287377
7135989938593B   STEFANIE      ROUSE                       KY     90012108993
7135B224833698   RAYNALDO      BURNS                       NC     90015162248
7135B419141237   MONICA        SHAH                        PA     90014144191
7135B5A7171921   JIMMY         GONZALES                    CO     90010655071
7135B657957157   JOSEPH        DURNIK                      VA     90014056579
7135B86938B134   PRIQUI        VALLE                       UT     90013788693
7136157587322B   PREPAID       CUSTOMER                    NJ     90015055758
7136166185B596   COURTNEY      FOSTER                      NM     90012736618
71361A58631443   JOHN          PARKER                      MO     90001340586
71361A8735B59B   MICHELE       JOHNSON                     NM     35042340873
7136213297B477   ERICA         MALINKEY                    NC     90002661329
71362142927B98   SHATERA       BABB                        KY     90011111429
713626A5157474   BARBARA       BANGO                       IN     90014166051
71362A43672B44   RORY          MARTINEZ                    CO     90011590436
713634A2133698   TRACEY        TURNER                      NC     90014014021
7136364463B371   ALBA          KING                        CO     33065646446
71364482272B44   JUDY          WEST                        CO     33037914822
7136456548B157   SHUN HUSSEN   MUSSE                       UT     90010785654
713646A1461964   CREED         LEE                         CA     90010246014
71365885A33698   SHEMIKA       BAKER                       NC     90010078850
713658A827B661   BRIANNA       SCHLARMAN                   GA     90013958082
71365A88927B98   ADRIAN        HIDALGO                     KY     90015020889
71365A96331482   KANEISHA      MOORE                       MO     90010610963
7136723115B169   RIKKI         HERNANDEZ                   AR     90011662311
7136736344126B   AMANDA        CAPOBIANCO                  PA     90007633634
71367873672B32   JOSE          PEREZ                       CO     90013038736
71368611572B32   AMBRIA        THOMPSON                    CO     90007896115
71368A51293739   CHRISTOPHER   THOMAS                      OH     90010400512
7136931A88B142   BRENDON       CRAPO                       UT     90013063108
713695A5841253   MARISSA       MASON                       PA     90007095058
71369888A8B163   MONTANA       ANZALONE                    UT     90014668880
71369A64357157   ZILIETTA      GOMEZ TONY                  VA     90010070643
7136B14782B271   PEDRO         AGUSTIN                     DC     90008641478
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 688 of 2350


7136B15635B596   JAVIER       RIOS                         NM     90007241563
7136B34878B168   KEITH        MITCHEALL                    UT     90014043487
7136B796A8593B   KYLE         RHEIN                        KY     90012787960
7136B7A8355939   RAUL         VALADEZ                      CA     90001017083
7136BA3175B395   CORALIE      CRAYNE                       OR     90002880317
7136BA4A48B157   PAOLA        RICO                         UT     90012150404
71371A25A27B98   NEAVLEAN     OLIVER                       KY     90013080250
71372919172B32   REI          PITTMAN                      CO     33089789191
7137322578B134   MARIA        SILVA                        UT     90003092257
7137529577B661   LUKEYA       RICHARDSON                   GA     15062882957
71375641A91522   YOLANDA      MORALES                      TX     90005196410
7137578218B157   THERESA      KOURBELAS                    UT     31043867821
71375A3149154B   OSCAR        LOPEZ                        TX     90008340314
7137617A12B994   CHRISTINA    PRYOR                        CA     45053011701
71376531A7B661   SONIA        DONALD                       GA     15012635310
713766A7272B98   KATARINA     LOBATO                       CO     90005646072
7137682298B157   DAVID        JONES                        UT     90014318229
7137687853B137   MARTIN       BRADLEY                      VA     90012848785
7137733688B142   EDGAR        CONTRERAS                    UT     90011053368
7137735A271921   GARY         DEWITT                       CO     90007353502
7137787835B596   MIRIAM       CAMPOS LOPEZ                 NM     90002878783
71378183A8B163   AMY          DONNELLY                     UT     31078481830
71378473A72B29   STEPHEN      CRAFT                        CO     33036474730
7137867385B169   BONITA       SLAPE                        AR     90013626738
7137927958B163   MIKE         JOHNSON                      UT     90014182795
71379671772B98   LUCIANO      CORTEZ                       CO     33074636717
7137992258593B   KAREN        BAKER                        KY     66079119225
71379A5A741227   HEATHER      COULEHAN                     PA     51087830507
7137B27487B477   MULANCA      KALONFI                      NC     90014702748
7137B636257157   ATHANIOS     SEVDALIS                     VA     90013176362
7137B66778B142   JENNIFER     COX                          UT     90006936677
7137B9A1455966   DESEREE      HENDON                       CA     90010609014
7138142A88B142   CARILEE      MORRILL                      UT     90013814208
71381676472B98   DENISE       THOMPSON                     CO     90011606764
71381928A55969   LAYLA        MCLEDO                       CA     90009919280
71382189172B98   FRANCISCO    SALAZAR                      CO     33012681891
71382253572B44   LINDSAY      COOPER                       CO     90015202535
71382258A72479   LINDA        RIMSEK                       PA     90000342580
7138239A455969   JORGE        MARTINEZ                     CA     48074533904
7138263599154B   KEVIN        STRINGHAM                    TX     75089206359
71382A76355966   ESPERANZA    REYES                        CA     48059770763
71383385872B98   HANNAH       SMITH                        CO     90013733858
7138354375B169   RANDY        PIERCE                       AR     90015325437
71383586272B34   JENNIE       HUNT                         CO     90000965862
713835A768B157   ALFRED       LEWIS                        UT     31072445076
71383886A5138B   JOE          KEMPER                       OH     90007868860
71384552A5B391   STANLEY      TRONG                        OR     90013845520
7138483728B142   RAYELYNN     BALLANCE                     UT     90012848372
71384A69572B44   RYAN         STRAFACE                     CO     90011590695
71385133A91548   VIVIAN       BRAVO                        TX     90010181330
7138524827B661   MASHONDRA    MITCHELL                     GA     90013042482
7138527A741253   DAWN         ATKINS                       PA     51094852707
7138535928B168   MISTY        SCOTT                        UT     90014453592
7138538842B994   ROCIO        MACIEL                       CA     90013963884
7138587128B142   LASHA        HARTSHORN                    UT     90013868712
71385A98A41237   CRYSTAL      SWARMER                      PA     90000150980
7138684255B384   AMANDA       NARTOWICZ                    OR     90011598425
7138793687B477   WAYNE        MUELLER                      NC     90014529368
71387A6887B661   KRISTINA     JORDAN                       GA     90014580688
7138957996198B   ELIZABETH    GONZALEZ                     CA     90005355799
7138B4A7955969   JESSICA      FERNANDEZ                    CA     90012854079
7138B519A8593B   CHELSEY      THURMAN                      KY     90008955190
7138B796541237   CYSTAL       BEY                          PA     90015087965
7138B945972B32   GERARDO      LOPEZ                        CO     90014629459
7138BAA227B477   ADRIAN       GONZALEZ                     NC     11025370022
7138BAA658B134   KATHERINE    HEINER                       UT     90014400065
7139122298B168   PETER        BAWYDCHAK                    UT     90011532229
7139127958B134   SHAWN        WEBB                         UT     90014932795
71391388172B98   ESTEBAN      TOLEDO                       CO     90012733881
71392231A71921   DOROTHY      MURPHY                       CO     90013742310
71392523A5B596   HECTOR       ACOSTA                       TX     35043835230
71392A18231433   JOHNE        DEEEPOO                      MO     90012260182
71393515A41227   GREGORY      SMITH                        PA     90002845150
7139375A12B29B   LITA         NIMMONS                      DC     90010367501
7139494A433699   TIMOTHY      PAYNE                        NC     12011339404
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 689 of 2350


71395391A3B343   BRENDA         HAUCK                      CO     90008833910
7139549313168B   GREGORY        WISECARVER                 KS     22055154931
71396288827B98   TANISHA        EDWARDS                    KY     90009472888
71396392A8B134   ALICIA         EMMERSON                   UT     90012633920
71396416A8B17B   TAMMY          VANVALKENBURG              UT     90012624160
71397422A84322   JESSIKA        MIDDLETON                  SC     90014724220
71397717272B98   CHRISTIAN      CRUZ                       CO     33025057172
7139777A88593B   MICHELLE       PARTON                     KY     90014917708
71397912A7B477   KHALID         LAMD                       NC     90015259120
7139791375B59B   JEROME         OWNES                      NM     90012849137
7139799818B168   ELIZABETH      COOMBS                     UT     31080249981
71397A29231433   WALTER         CRIGLER                    MO     90000150292
7139845753168B   SUSAN          HILLIARD                   KS     90015074575
71398569272B32   NORMA          SANCHEZ                    CO     33005505692
713987A145B59B   FRANCISCO      JARAMILLO                  NM     90014157014
71398A76355966   ESPERANZA      REYES                      CA     48059770763
71399A17885937   DAWN           WEBB                       KY     67060130178
71399A69572B44   RYAN           STRAFACE                   CO     90011590695
7139B1A5A61998   JESUS          LEMUS                      CA     90008471050
7139B459741253   NATHANIEL      JONES                      PA     51011324597
7139B4AA22B994   YOLAND         MENDOZA                    CA     45084914002
713B121AA72479   MARK           ALLISON                    PA     90012152100
713B1312781633   EDWARD         HARRIS                     MO     90012453127
713B1387155939   CYNTHIA        MONCADA                    CA     90013063871
713B1423397121   AMANDA         HOLBROOK                   OR     90004234233
713B1574631482   TOM            WOOLEVER                   MO     90001965746
713B1825772B98   SANTIAGO       AVILA                      CO     90014188257
713B197555B33B   TAMMIE LEIGH   BERRETH                    OR     90003659755
713B2731671921   WHITTEMORE     JAMES                      CO     32040867316
713B2732A72479   DELMAR         PRITCHETT                  PA     90012847320
713B281779154B   ANNABEL        TAYLOR                     TX     75056928177
713B2826472B98   LUIS           CANALES                    CO     90014188264
713B297548B142   KATHRYN        GRANGE                     UT     31010269754
713B2A48257127   AMADIN         BARRIOS                    VA     90003780482
713B316285B59B   LYNN           SPRAIN                     NM     35090061628
713B3452731443   ISAIAH         SMITH                      MO     90012494527
713B34A9731433   ANGIE          DURHAN                     MO     90006364097
713B385A533698   DINA           BERRY                      NC     90011258505
713B414458B168   DULCE          NAVARRO                    UT     90009441445
713B424347B661   JULIE          DOWDNEY                    GA     15032952434
713B439833148B   CHARLES        BENNER                     MO     90013573983
713B459732B236   JAMES          GLEN                       DC     90010075973
713B481875B596   ENRIQUE        CASTRO                     NM     35063158187
713B4A8155B59B   JONATHAN       ORTIZ                      NM     90014500815
713B5178972B98   MARIA          VENCES                     CO     90011801789
713B5775391993   PEDRO          GONZALES                   NC     17086827753
713B5827372B98   JAMIE          DONALD                     CO     90014188273
713B611587B477   LEONCIO        CRUZ LUNA                  NC     90007501158
713B6368872B32   ANDREW         SALAZAR                    CO     90009453688
713B653475B326   SUSAN          BERRY                      OR     90002995347
713B672735B384   JESSICA        JONES                      OR     90010527273
713B6774872B98   CHAD           WEINAND                    CO     90011797748
713B687768B142   ADOLFO         RAMIREZ                    UT     31068798776
713B723278593B   KEVIN          SIMONS                     KY     90014172327
713B736859153B   ADRIANA        LOPEZ                      TX     90010953685
713B7525941237   EDNA           JACKSON-CHAFFIN            PA     51016695259
713B7763372B44   SELINA         SANCHEZ                    CO     90000677633
713B7828472B98   DERRICK        GUZMAN                     CO     90014188284
713B799938593B   HAYLIE         CAMPBELL                   KY     90015609993
713B7A18941227   CAROLYN        WILLIAMS                   PA     90001960189
713B8113941253   MICHAEL        ANDREWS                    PA     90005141139
713B8191A8B134   RUFUS          MARTINEZ                   UT     90015091910
713B824557B661   RUDI           MORALES                    GA     90002172455
713B862548B142   STEPHANIE      CHRISTIANSON               UT     31087286254
713B8774872B98   CHAD           WEINAND                    CO     90011797748
713B8A14891952   CONSUELO       UTIOSO                     NC     90008540148
713B8A3A333699   STELLA         OAKES                      NC     90008880303
713B8A55372B98   LUIS           ENRIQUE GARCIA             CO     33098440553
713B9142893739   LYNNETTE       DAILEY                     OH     64561411428
713B966877B661   JAMES          TAYLOR                     GA     90008536687
713B9829672B98   IVAN           RIOS                       CO     90014188296
713BB59A284324   PAUL           LANGAN                     SC     14585395902
713BB59A755939   MARIA          OROZCO                     CA     90013475907
713BB816672B32   MIKE           JACKSON                    CO     90009608166
7141179549154B   DIANE          RAMIREZ                    TX     90001277954
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 690 of 2350


7141181658B142   BIANCA       MARTINEZ                     UT     90013858165
71411879A2B994   ZACHERY      WALLACE                      CA     90011838790
7141221967B477   ANTOINETTE   GRAYSON                      NC     90011052196
714126A3227B98   CORA         WILLIAMS                     KY     90011016032
71412A9348B142   MAIRA        ROBERTSON                    UT     31079150934
71413744272B29   BRANDI       TRUJILLO                     CO     90014117442
71414A22455939   ROBERT       MARTINEZ                     CA     90011830224
71414A5953168B   LILI         RUIZ                         KS     90014380595
7141566A755939   ISABEL       DIAZ                         CA     90015366607
7141583198B142   BILL         BAUMER                       UT     90009398319
71416399672B32   PAUL         BARNES                       CO     33036453996
7141741A733699   LEVITICUS    FORDHAM                      NC     12010114107
71418174372B44   ROMAN        IRIGOYEN                     CO     90013861743
714183A1441253   ASHAA        WASHINGTTON                  PA     90006493014
7141858425B596   IGNACIO      HERNANDEZ                    NM     35006745842
7141859115B169   LOIS         MOBBS                        AR     23066105911
7141955A541237   GUY          COLLINS                      PA     51079215505
7141977A972B44   ANGELICA     ARRIZON                      CO     90013367709
71419794972B98   JOSE         GUTIERREZ                    CO     33081297949
71419A24933698   RACHEL       STONER                       NC     90015010249
7141B173584322   EVA          COOPER                       SC     14585571735
7142131425593B   ROGER        WATSON                       CA     90011613142
714214AA48B142   JONATHAN     PEREZ                        UT     90012114004
7142241198B142   SERGE        KATWALUBALA                  UT     90013854119
7142242A171921   TERESA       DARDANO                      CO     90001474201
714225A893168B   TERRY        EVANS                        KS     22008355089
7142279739154B   KARLA        KELTS                        TX     90014517973
7142285357B661   YOLANDA      WILLIAMS                     GA     15095918535
7142316A172B98   EDWARD       CARPER                       CO     90015201601
7142319223168B   JONATHON     ORTIZ                        KS     90007881922
7142321878593B   CANDACE      MULLINS                      KY     66050172187
7142398714B553   KRYSTAL      GARZA                        OK     90010649871
7142418483168B   MELISSA      WAITS                        KS     90012601848
71424576572B44   CARLOS       PEREZ RAMOS                  CO     90002855765
71424789A33699   VENDREDI     SHORE                        NC     90012437890
7142496428479B   ROBERTO      SOTO                         IL     90014739642
71424A3A633698   TRAYQUAN     BETHEA                       NC     90013780306
71424A97841242   WILLIAM      LEWIS                        PA     90013660978
714253A5584322   ANNA         HOLLOSY                      SC     90013123055
7142544267B661   CHARLES      MILTON                       GA     90013464426
714254A758B163   HAYLEY       WESTON                       UT     31084234075
71425A63A55939   TERESA       LOZANO                       CA     90007720630
7142629518B168   MILLISSA     JOHNSON                      UT     31010752951
7142748488593B   MEGAN        BRIGHT                       KY     90012924848
7142817A357157   JESUS        CABRERA                      VA     90010751703
71428349672B98   MAYDA        ORTIZ                        CO     90013023496
71428891772B44   NANCY        LOPEZ                        CO     33020438917
71428A26781643   EDWARD       ICHOHO                       KS     29090240267
714291A2841237   CARLA        CRAWFORD                     PA     90014701028
71429387A71921   ROSALIA      MARTINEZ                     CO     90013733870
71429719872B44   AMANDA       GRIFFIN                      CO     90014587198
7142988832B271   OSCAR        GOMEZ                        VA     81063578883
7142B211172B98   JUAN         AVILA GONZALES               CO     33060962111
7142B446572B22   MICHAEL      VIGIL                        CO     90001404465
7143129489154B   ANDREW       FULLER                       TX     90005302948
714319A678B134   TABBATHA     DUVAL                        UT     90010939067
7143218278B134   LISA         SALISBURY                    UT     90003901827
71432737572B29   CAROL        LEATHERMAN                   CO     33051707375
7143324A77B661   QUINYONNA    RILEY                        GA     90008942407
7143362548B168   STEPHANIE    CHRISTIANSON                 UT     31087286254
714337A6972B98   BARBARA      GARCIA                       CO     90000507069
71433A26257563   JENNIFER     IBARRA                       NM     90014660262
71433A8622B994   ROSALIO      MAGANA                       CA     90013400862
7143595A68B134   VICTORIA     SANZ                         UT     90013789506
71436452927B98   RHONDA       TAYLOR                       KY     90012614529
7143651427B477   CIARRA       LOBE                         NC     90014155142
71437378172B44   JAVIER       COSTILLA                     CO     33040373781
7143772885B169   TOMEKA       FRYE                         AR     90013977288
71437A4752B994   KEONA        TYSON                        CA     90014900475
7143819338B168   BROOKE       JONES                        UT     90015161933
7143869858B186   MARCO        MORENO                       UT     90003676985
71438874A55966   ANTHONY      ESPINOZA                     CA     90009868740
7143981455B59B   EILEEN       HUBER                        NM     90007238145
7143999A827B98   COTY         THOMAS                       KY     90004119908
7143B15127B661   MELISA       MACKEY                       GA     90012151512
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 691 of 2350


7143B152671921   TINKER           WALLS                    CO     90009491526
7143B29715B596   YURIANA          OROZCO                   NM     90011482971
7143B399272B32   DEBRA            FROMAN                   CO     90013823992
7143B4A2857133   DESHANTALA       ROGERS                   VA     90012684028
7143B58AA41237   JENNAE           DOUNGAN                  PA     51077985800
7143B935A27B98   TERESA           RAUSCH                   KY     90010899350
714425A5172B44   CORTNEY          HICKS                    CO     90004105051
714426A1341237   JOHN             GOLDEN                   PA     51006326013
71442883A93739   ANTHONY          JONES                    OH     90004828830
71442A95531634   CHARITY          BENNETT                  KS     90006350955
71443289472B98   JOHN             CERECERES                CO     90011802894
7144329675B169   GINO             RANGEL                   AR     90014372967
71443558127B98   ALFRED           BELL                     KY     90007315581
71443A11172441   ANDY             ALTVATTER                PA     90013930111
714446A9755939   MAYRA            FLORES                   CA     48047816097
71444765A41237   LAMAR            MILES                    PA     51045137650
7144538185B596   PABLO            LUCERO                   NM     90004953818
71445845227B98   JIMMIE           THOMPSON                 KY     90013928452
7144677A88593B   MICHELLE         PARTON                   KY     90014917708
7144763159154B   GUZMAN           LUIS                     TX     90010056315
71448439A8B349   LUIS             VIDAL                    SC     90013954390
7144892228B142   JASE             LAVERY                   UT     90006789222
71448938A8B168   DYLAN            GARDNER                  UT     90000189380
71449381872B44   LUIS             DIAZ                     CO     90002643818
71449AA923168B   KIM              SLOVER                   KS     90007580092
7144B331357157   ERVIN            PEREZ                    VA     90014043313
7144B72A87B661   AKRAM            SHEHADEH                 GA     90013897208
7144B773672B44   TANYA            GUTIERREZ                CO     90013367736
7145122577B428   JULIE            BELMAN                   NC     11017442257
7145219853168B   AMANDA           GORDON                   KS     90002561985
71453122272B29   JESSICA          SANCHEZ                  CO     90007691222
71453129572B98   JESSICA          BEVERAGE                 CO     90014601295
7145324A591993   HUGO             RAMIREZ                  NC     90011632405
7145342889154B   MONICA           ROSALES                  TX     90010834288
7145385527B357   JASON            DOLL                     VA     81002148552
7145386518B168   KATHRYN          GOWANS                   UT     31029278651
71454482A2B994   LILLIAN          MALLORY                  CA     90012094820
7145454955B59B   EDWARD           LINSON                   NM     35001175495
71454935672B44   PRESTON          THOMAS                   CO     90005699356
7145514835B59B   ADELA            CERVANTES                NM     90000671483
7145556954B221   JESSICA          CHRISTINE                NE     90008995695
71455759372B29   ELODIA           PONCE MACIAS             CO     90013507593
71455A58533698   SHAQUILA         BREED                    NC     90003070585
71456142272B29   ALEJANDRO        CAMPOS                   CO     90013281422
7145614815B59B   ANGELICA         GONZALES                 NM     35026861481
7145616498B168   EASTON           WEST                     UT     90009091649
71457288827B98   TANISHA          EDWARDS                  KY     90009472888
714573A7572B98   LYNN             DOMINGUEZ                CO     90011803075
71457495472B29   ROSENDO          JARAMILLO                CO     33046384954
7145751185B59B   VERONICA         TOVAR                    NM     90014695118
7145762A48B134   JEREMY           SWENSON                  UT     90013416204
71457A64831443   NAJIB            NASSER                   MO     90012050648
71458377A72B98   SOCORRO          MARES                    CO     33069243770
7145867157B661   PATRICIA         COLLIER-SIMS             GA     15093626715
7145886358B168   ALEXI            COLLINGS                 UT     90007788635
714592A3857157   JENNIFER         VICKERS                  VA     90005562038
7145946225B596   ROMERO           ASHLEY                   NM     90009564622
7145B629184322   SANDRA           HOOKER                   SC     90003876291
7145B652372B32   DENISE           TRUJILLO                 CO     33078266523
7145B859131433   TYNISHA          HALE                     MO     27581868591
7146121A281633   BRENDA           LEE                      MO     29064962102
71461355172B44   ESTELA           VILLA                    CO     90000383551
7146137648B134   ALAINA           WESTLING                 UT     90012873764
7146263818B163   NORMA            PATINO                   UT     31090116381
71462AAA557157   NICKOLAS         SEARS                    VA     90012320005
7146314A38B155   CHERYL           OLIVER                   UT     31063221403
7146339A35B384   LISA             CARD                     OR     44561143903
714639A745133B   QUELAUN          MARSHALL                 OH     66008789074
714647A5384324   ANTHONY          THOMPSON                 SC     90007487053
71464A6539154B   KASSANDRA        FIORE                    TX     90013930653
7146513688B142   CECILIA          RODRIGUEZ                UT     90009541368
714653A6A72B32   MERLIN ANTONIO   SOTO                     CO     90011633060
7146575A372B29   MARY             SMITH                    CO     90011477503
7146576A171921   DEANNE           LOPEZ                    CO     32031337601
714657A8933698   KELLIE           OGLESBY                  NC     90007867089
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 692 of 2350


71465A18431433   SHAWN            CHADLER                  MO     90015470184
7146612138B134   LISA             WILEY                    UT     90000251213
71466139A33698   SANDRA           SUMNER                   NC     90000721390
7146674868B168   ESEQUIEL         LUNA                     UT     90011257486
71466A13272B32   NICHOLE          MARTINEZ                 CO     90014970132
71466A1967B477   MONIQUE          THOMPSON                 NC     90013980196
71466A7557B661   DIEDRE           HARRIS                   GA     90011230755
7146719958B134   SHYLYNN          NORDAHL                  UT     90015091995
7146746418B163   FELICIA          VASQUEZ                  UT     31007414641
71467514172B32   JONATHAN         HOLZER                   CO     90006545141
7146777327B477   MABEL            BRIGGS                   NC     90015107732
7146811AA9154B   CYNTHIA YADIRA   SILVA                    TX     90008361100
71468425627B98   CHRISTY          PATTERSON                KY     90002054256
71468439A33698   OSCAR            LOBATO                   NC     90013324390
7146872675B169   ALICIA           LEE                      AR     90014877267
71468A6A98B168   ANDREA           LUNCEFORD                UT     31016220609
714696A744B553   CAROLYN          BROWN                    OK     90009116074
71469A87931443   VIRGIL           ASHLEY                   MO     90014540879
7146B59818B168   MARVIN           POULSON                  UT     90014155981
7146B85679154B   PATRICIA         GARNICA                  TX     75042848567
7146B886272B98   STEVEN           GARCIA                   CO     90007248862
7146B96333B381   ARTHUR           LUCAS                    CO     33011649633
7146B987181633   TIMOTHY          PURNELL                  MO     29007239871
7147127268B168   RODRIGEZ         LAURA                    UT     90006352726
71471741A55939   RAYMOND          HERNANDEZ                CA     48028697410
71471985772B44   AARIYA           VALDEZ                   CO     90005379857
7147298437B661   CANDANCE         WILLIAMS                 GA     90012379843
71472A48A93739   TAMMY            POPP                     OH     90014300480
7147311468B134   GLORIA           MARTINEZ                 UT     90015151146
7147347215B386   APRIL            BLAUSER                  OR     90008984721
7147358815B384   SANTIAGO         GARCIA                   OR     44502235881
7147372168B163   CASEY            GRIFFIS                  UT     90001357216
7147381577B477   MIGUEL ANGEL     GARCIA MORALES           NC     90013518157
71473858A91863   MISTY            MILLER                   OK     90003278580
71473954A72441   HOWARD           BRUCE                    PA     90010949540
714743A7572B98   LYNN             DOMINGUEZ                CO     90011803075
71474A32741253   PABLO            HERNANDEZ                PA     90010160327
7147569968593B   THOM             BRINKMAN                 KY     66036526996
714758A5441253   TERRANCE         DORSEY                   PA     90013288054
7147615A372B32   COLUMBA          RIVERA                   CO     90001501503
71476486172B29   GUADALUPE        BARRIENTOS               CO     90012714861
7147674185B169   CHRIS            CAMBRON                  AR     90000317418
7147675AA8B134   JOSE             DE JESUS GARCIA          UT     90008277500
714771A6A55939   VERRONICA        FIGUEROA                 CA     90008091060
71477838A55966   MICHELLE         SYLVESTER                CA     90014038380
7147786247B661   AMBER            BASS                     GA     90003128624
71477A94571921   REGINA           PONDER                   CO     90004340945
7147865A333698   LATANGELA        WILSON                   NC     90008336503
7147867A781633   JENNIFER         SALINAS                  KS     90009446707
71478837A72479   KENNETH          KAPUSTA                  PA     90006328370
7147913798B157   MARIA            MCCLURE                  UT     90004091379
71479484172B44   JAVIER           FLORES                   CO     33010974841
7147972477B477   TIMOTHY          DOWNS                    NC     90015097247
7147B353721759   ASHLEY           MOORE                    IL     90015403537
7147B39755B59B   JESUS            PEREZ                    NM     35067823975
7147B512881633   ELIZABETH        NOEL CRASE               KS     90011125128
7147B63318B168   KERI             HITE                     UT     31084426331
7147B95A19154B   FRANK            AGUIRRE                  TX     75042899501
71481311A31433   CASSANDRA        SCOTT                    MO     90010363110
71481A5198B163   JESUS            GAYOSSO                  UT     90010650519
7148219625B59B   DEVIN            FRAZIER                  NM     90013901962
71482481472B29   NATHEN           WILSON                   CO     33056764814
7148335847B661   KYLE             JOHNSON                  GA     90001283584
7148348396192B   LETICIA          REYES                    CA     90013124839
71483A5318B163   CHRISTOPHER      CHEENEY                  UT     90013360531
71485AA3A55939   MARIA            FUENTES                  CA     90004000030
7148627AA3B137   MAY              ANDERSON                 DC     90009982700
7148647945B277   OLATUNJI         OLUWAJUYEMI              KY     68007154794
71487413127B98   LENNY            JEFFERS                  KY     90011424131
7148894A681633   COURTNEY         COLBERT                  MO     90007079406
71488A1385B169   BLANCA           MACIAS                   AR     90015010138
71489117972B29   ZACHARIA         CALLAWAY                 CO     90011131179
7148925558B163   TINA             NAJER                    UT     31010922555
7148B292172B98   ALEJANDRO        LABRA                    CO     33081292921
7148B32813168B   BRANDON          WILLIT                   KS     22002943281
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 693 of 2350


7148B585681643   JOSH          VANARTSDALEN                MO     29055125856
7148B5A975B384   IMELDA        MARTINEZ                    OR     44579495097
7148B813455966   IRMA          HERNANDEZ                   CA     90014398134
7148B87A191991   SOPHIA        POWELL                      NC     90005828701
7148B9A712B994   TOMI          GROSSMAN                    CA     90013299071
7148BA44955969   DESIREE       RIVAS                       CA     90012120449
7149167572B271   FELICIA       RICHARDSON                  DC     90003906757
7149225937B661   KARZARTA      PIETT                       GA     90015002593
71492895A27B98   CRYSTAL       MC DONALD                   KY     90014528950
714928A1755969   NATASHA       WILLIAMS                    CA     90011098017
71492A48A41253   ANTWANETTE    ROSS                        PA     90004700480
71492A68631433   CARL          DUNLAP                      MO     27590710686
71492A82472B32   LETICIA       MEDRANO                     CO     33002550824
7149449A67B661   GERALD        BENSON                      GA     90001804906
7149515AA55969   MARIA         GUTIERREZ                   CA     90015141500
7149564997B477   CURTIS        WILLIAMS                    NC     90009666499
71495A1A855969   NATHAN        TUPPER                      CA     90014150108
7149628AA91549   AZALIA        CAMACHO                     TX     90010132800
7149659458B163   ROXANNE       SORENSEN                    UT     90011195945
7149673A155966   JERONIMO      DIAZ                        CA     90006967301
71498168A5B596   EFRAIN        PEREZ                       NM     35082241680
7149839633168B   NATHAN        HYSON                       KS     90000193963
714991A722B295   SERENA        HILL                        VA     90001421072
71499552472B44   MISTY         GUTIERREZ                   CO     33098525524
7149972488B385   PRISCILLA     BACKMON                     SC     90015067248
71499A44327B98   SAKIAN        BRUNSON                     KY     90014500443
7149B19A281633   CYNTHIA       ARMSTRONG                   MO     90011001902
7149BAA668B134   BUDDIE        WILKERSON                   UT     31046080066
714B1619181633   MARQUAIL      BROWN                       MO     90014226191
714B1741831634   MICHAEL       MADDEN                      KS     90004407418
714B1772355966   GUILLERMO     MENDOZA                     CA     90013077723
714B238117B661   ROBIN         GREENE                      GA     90015543811
714B251888B163   EDELMIRA      RIVERA                      UT     90013035188
714B2A99541227   ANNE          BEIBER                      PA     51039540995
714B318A35B384   MICHAEL       BRILL                       OR     44515891803
714B3948881633   LAYMON        WILLIAMS                    MO     90012649488
714B4332355939   KATHLEEN      CAMQUIM                     CA     90011393323
714B551238B134   AHMED         AHMED                       UT     90012815123
714B5636241227   WILLIAM       OSBORNE                     PA     51007826362
714B5A48A93739   GARY          GOIN                        OH     90010980480
714B5A63A2B994   MAIRA         OLGUIN                      CA     45096020630
714B6244372B29   CASSANDRA     FULLER                      CO     33017622443
714B675A772B44   TROY          GRAHL                       WY     33055267507
714B685759154B   MIGUEL        QUINTANAR                   TX     90014088575
714B6A3357B661   CHRISTOPHER   OLIVE                       GA     90009490335
714B7897385931   MICHAEL       ROBERTSON                   KY     90012328973
714B8211472B29   MARCO         MELENDEZ                    CO     90000142114
714B845A98B157   RACHAEL       DYER                        UT     31032574509
714B8622391549   MARIA         RAMIREZ                     TX     90007076223
714B868425B59B   WENSELADO     MADERA-GONZALEZ             NM     90003366842
714B9128241253   GRETCHEN      MIDGLEY                     PA     51060751282
714B916A92B994   CARLOS        CHAVEZ                      CA     90009731609
714B9242293739   PATRICK       GWIN                        OH     90004902422
714B929848B163   ALBERTO       GOZALEZ                     UT     90014762984
714B9461633699   JASMINE       HENSEN                      NC     90014594616
714BB129233698   DANIELLE      SCRIVEN                     NC     90004421292
714BB155472B32   LENCH         CORDOVA                     CO     33015711554
714BB384531443   TAMARA        WALKER                      MO     90014953845
714BB699872B25   KEN           NAVARRO                     CO     90007736998
7151131828B134   ANTHONY       ERNST                       UT     90012273182
7151156275B53B   ALEXANDRA     AVILA                       NM     90013785627
71511839A72B32   VICTOR        VENZOR                      CO     33007348390
71511AA329154B   ROGELIO       PALACIOS                    TX     75077860032
715124A2255939   RAFAEL        LEON                        CA     90014814022
71512A88355966   ANDREW        MUNIZ                       CA     90013970883
7151332548593B   PATTY         BRINKLEY                    KY     90012633254
7151413825B59B   NICOLE        SANCHEZ                     NM     90013891382
7151435A88B134   TORI          SASAKI                      UT     90014273508
7151499388593B   MIKE          PUTTHOFF                    KY     90011169938
715149A9172B32   RUBEN         DELGADO-GUARDADO            CO     33047049091
71514A95855966   JOSE          ESPINOZA                    CA     90013970958
7151541427B477   BABARA        DAWKINS                     NC     90013394142
7151613923168B   ANGELA        SANDERS                     KS     22061421392
7151659A32B994   DANETTE       LARIOSA                     CA     45068145903
7151695A38B142   MONA          BOGDANSKI                   UT     90014489503
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 694 of 2350


715172A3341253   ERICA         RILEY                       PA     51064432033
715175A9231443   CHRISTOPHER   HARRIS                      MO     90008625092
71517678A8B163   YANETT        WILCOX                      UT     90013076780
71518A57855941   LATOYA        LEAVY                       CA     90010910578
71518A7347B661   ASHLEY        WILLIS                      GA     90012510734
7151963215B59B   ERIK          KRAHN                       NM     90002526321
7151B123472B98   LISA          AVALOS                      CO     90011481234
7151B268541227   JAMIE         BURKHART                    PA     90003072685
7151B447331443   GERALDINE     POLITTE                     MO     27501284473
7151B92425B596   ERNESTINE     MONTOYA                     NM     90013459242
7152167928593B   MOLLY         RIPBERGER                   KY     66016556792
7152169A255966   ANDREA        GUINN                       CA     90011286902
71521829372B32   RAWSO         DONNA                       CO     33027798293
71521A88631443   CYNTHIA       WALKER                      MO     90009900886
71522445A72441   PAMALA        BURNSWORTH                  PA     51075804450
7152275A733698   TEONI         CRITE                       NC     90013347507
7152282A35B384   THOMAS        BROCKUS JR                  OR     90010538203
71522A2429154B   CARLOS        URRUTIA                     TX     90007260242
7152329118B134   BILLY         ARCHULETA                   UT     31003502911
71523396227B98   NICKY         MINAJ                       KY     90005993962
7152386A955939   RYAN          GAULT                       CA     90000158609
7152458A472B29   ANGESET       WOLDEMICHAEL                CO     33080885804
7152469A255966   ANDREA        GUINN                       CA     90011286902
7152483827B477   KENNETH       LEOPARD                     NC     90015258382
7152493779154B   MARIA         SANCHEZ                     TX     75003459377
71524A23281633   KENNETH       MABRIE                      MO     90012380232
71525858A72B32   AURORA        PACHECO                     CO     33066038580
7152586775B59B   MATEO         VIGIL                       NM     90010518677
71525961A41237   MELISSA       COTE                        PA     51048999610
7152638418593B   MARLYN        BARNES                      KY     90014693841
71526427A72B98   ELUTERIO      CERVANTES                   CO     90014204270
7152681369154B   MARIBEL       DELGADO                     NM     90011698136
7152715145B921   MIKE          SCHLOSSER                   WA     41034661514
7152761853168B   AMBER         GLASSCOCK-BRUTTON           KS     90015166185
71527931827B98   MARTINEZ      WOODARD                     KY     90013689318
7152875437B477   ERIC          GREENE                      NC     11020307543
7152897185B169   JONATHON      BRYAN                       AR     90014849718
7152919923168B   BRIAN         YARBROUGH                   KS     22039101992
7152944728B163   ANTHONY       SPENS                       UT     90014474472
7152997798593B   TAMATHA       SMITH                       KY     66009899779
7152B851572B44   EDITH         BORREGO                     CO     33018568515
7152B934455966   JOSE          GARZA                       CA     90008779344
7152BA2578B142   WENDE         TATE                        UT     90011630257
71531221927B98   WHITNEY       HARPER                      KY     90014682219
7153149157B477   KEITH         HANKERSON                   NC     11086044915
7153171619154B   TERESA        GONZALEZ                    TX     75056907161
7153183945B59B   LORENA        ORNELAS                     NM     90009198394
71531946372B32   SANDRAA       GALEOTE                     CO     33061129463
715319A6531443   ARTHUR        ROOKS                       MO     90013099065
71531A1AA57364   ROBERT        ATKINS                      MO     90014130100
71532157872B29   LONNIE        CHESSER                     CO     90013531578
71533A5727322B   JAVIER        KIROS                       NJ     90015320572
71534167672B32   ORSI          CARRILLOS                   CO     90010271676
715342A2A55966   GUADALUPE     CEDILLO                     CA     90001262020
7153486929154B   CARLOS        MARQUEZ                     TX     90011378692
715348A6284384   SHERRY        LUFFMAN                     SC     90007098062
71534971A91991   ANGEL         HOLLOWAY                    NC     90005449710
7153497218B157   JOSAFAT       CAMACHO                     UT     90007649721
71534A5A88593B   JOHN          BAILEY                      KY     66095960508
71535272133B44   SMANTHA       BRINSON                     OH     90013732721
71535A5928B157   BRANDON       HIRSCHI                     UT     31004490592
71536413A33698   GEORGE        WILLIAMS                    NC     90014364130
7153649928B163   TAWNY         HALES                       UT     90004764992
7153787568B157   ALICIA        HERNANDEZ                   UT     90012058756
7153835A755966   OLIVEIRA      BRAZIL                      CA     90013393507
715387A9257364   CASSANDRA     ATKINS                      MO     90014157092
7153942578B157   PATRICK       KASSAHN SR                  UT     90000664257
71539659A9125B   JESSILYN      GARY                        GA     90014866590
7153B292431433   CARLOS        BASKIN                      MO     27557782924
7153B36968B163   LEANNE        BEGAY                       UT     90014653696
7153B418472B87   RYAN          EGAN                        CO     90010144184
7153B469A72B44   LORA          PRITCHETT                   CO     33099164690
7153B51915B169   PATRICIA      DUNCAN                      AR     90014755191
7153B557333698   JERMAINE      HOLLEY                      NC     12004595573
7153B835372B29   NATHAN        SCOTT                       CO     33001418353
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 695 of 2350


7153B83A771921   ANNETTE      COATS                        CO     90014298307
7154127948B134   DEBBIE       LARSEN                       UT     31038642794
7154197332B29B   CAROLYN      CLEMONS                      DC     90014499733
7154215542B994   BURT         HENRY                        CA     90004941554
7154267249376B   JOSHUA       SCOTT                        OH     90010056724
71542756972B32   JORGE        RODRIGUEZ                    CO     90011057569
7154276A655966   ERNESTO      CORDOVA                      CA     90013307606
715427A5172B44   LAILONI      SELL                         CO     90013057051
71542A31293739   KIMBERLEY    WHITE                        OH     90011120312
7154336988B163   STEVEN       CLAUSING                     UT     90006133698
7154344A871921   ALEJANDRO    SANCHEZ                      CO     90013734408
71543691972B44   LISA         MACIAS                       CO     33089116919
7154478A255966   OLIVIA       MOLINA                       CA     90013297802
7154521539154B   RAUL         CHAVIRA                      TX     75048732153
7154582A35B384   THOMAS       BROCKUS JR                   OR     90010538203
7154593988B157   CANDELARIA   REYES                        UT     31079399398
71546554A71921   SAMSON       NAHIMANA                     CO     32049855540
7154697349154B   GABRIEL      JASSO                        TX     90012639734
71546A1395B59B   BERENICE     FUENTES                      NM     90013930139
71547171A8B134   LEE          JAMIE                        UT     90008711710
7154773825B24B   KYLE         FERGUSON                     KY     90012947382
71548295972B98   NINA         HARBIN                       CO     90012952959
7154846567B661   MILES        THEX                         GA     90013144656
71548A95672B29   ROSA         MADRIL                       CO     90007580956
7154919A241227   JODY         HILVERDING                   PA     90003411902
71549352172B98   ADRINA       MARTINEZ                     CO     33054403521
71549369872B29   BRENT        OSENDORF                     CO     90011193698
715496A352B994   ALMA         GONZALEZ                     CA     90008956035
7154975A95B59B   CYNTHIA      TORRES                       NM     90007907509
71549A42184322   PEDRO        MENDOZA                      SC     14572710421
7154B74428B142   RACHELANN    MOORE                        UT     90006767442
7154B82968B163   ELEANOR      PACHECO                      UT     90014838296
7154B89916B132   AMANDA       BARBER                       MS     90015468991
7155121822B261   MARINA       ECHEVERRIA                   DC     90012242182
71552737172B32   LUCIA        GONZALES                     CO     33045127371
7155319129154B   IVAN         CASTILLO                     TX     90013611912
7155321528B134   BOB          CANAAN                       CA     90014042152
715533A348B168   MARIA        MARQUEZ                      UT     90012213034
715543AA28B163   OSWALDO      QUEZADA                      UT     90014183002
71554624A7B661   KINISKI      SELDON                       GA     90014906240
71554661572B98   LATRICIA     HERMAN                       CO     90000616615
7155479715B384   PAMELA       FEVES                        OR     44561157971
71555739A55966   RONALD       BURTON                       CA     90013367390
71555A56455939   ABUNDIO      RODRIGUEZ                    CA     90004690564
7155659242B271   TRAVIS       LILES                        DC     81073885924
7155671A657474   JOSE         IBARRA                       IN     90011247106
71556988A2B994   JORGE        CABEZAS                      CA     90015169880
71556A1269154B   PAULINE      SOSA                         TX     90010750126
7155799A95B596   JAMES        CRAIG                        NM     90011759909
71557A24433698   DEASIA       WORKMAN                      NC     90014130244
71558559672B29   MIGUEL       VILLEGAS                     CO     90005955596
715588A527B661   BERNARD      ALEXANDER                    GA     90010778052
71559435A55966   MARIA        OLIVERA                      CA     90013234350
7155982315B59B   PAULINE      MIRABAL                      NM     35046638231
71559A45372B32   ALBERT       SISNEROS                     CO     33008150453
71559A99841237   CURT         BONDE                        PA     90013230998
71559AA389154B   CARINA       REYES                        TX     90011610038
7155B37A355966   JOSE         ACEVEDO                      CA     48025613703
7155B41A851322   TERI         HARPER                       OH     90011254108
7155B741855969   DIANA        GARCIA                       CA     90014607418
7155B924271921   MARVIN       MCLEAN                       CO     90012139242
7155BAA959154B   GABRIELLA    ALARCON                      TX     90012690095
71561419972B44   MICHELLE     PIGG                         CO     90009194199
71562629572B32   BRIAN        KARSH                        CO     90007896295
71562743A9154B   AURORA       LUJAN                        TX     75088257430
7156328A272B98   SHYANNE      OLGUIN                       CO     90014942802
71563A28872B44   CHRISTOPHE   PRUETT                       CO     33081440288
7156423125B59B   ENRIQUEZ     MITZI                        NM     90004842312
7156429578593B   KATE         HARPER                       KY     90010262957
715642A8A55966   DAISY        FLORES                       CA     90014132080
7156552A872B32   SEAN         TERRY                        CO     90013095208
7156573A59194B   SHANNON      LAW                          NC     90012787305
71565A84155969   DAVID        MEADOWS                      CA     90013130841
71566768872B44   CASSANDRA    ROMERO                       CO     90004017688
71568A6A63B325   COREY        REED                         CO     33091590606
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 696 of 2350


71569312372B44   TONY          RODRIGUEZ                   CO     33091773123
71569414A8B142   STEVEN        ELLIOT                      UT     90010434140
71569525A8B168   DOUGLAS       MINER                       UT     90012095250
7156976993168B   BOBBIE        SLAWSON                     KS     90009037699
71569A84791993   MARCO         TULIO                       NC     17007320847
7156B134A55966   JASMINE       CUEVA                       CA     90013971340
7156B49A25B384   CHELSIE       NEFFENDORF                  OR     90010704902
7156B597272441   SIERRA        TOLBERT                     PA     90013855972
7156B64727B661   TYLER         HARRIS                      AL     15026586472
7156B967A51323   MIKE          POYNTER                     OH     90012799670
7156BA2275B391   OLIVA         GALVAN-ALEMAN               OR     44002340227
7157144778B157   ADRIAN        ROJAS                       UT     31088964477
715716A339154B   SONIA         VELASCO                     TX     90010166033
7157171A172B29   JESUS         AMAYA                       CO     90014287101
715718A7193739   KATHLEEN      DILLON                      OH     90013088071
7157198648B168   JEFFERY       NELSON                      UT     31031609864
7157244A172B98   ADAN          RODRIGUEZ-CERECEDA          CO     33088524401
7157258138B168   FITZSIMMONS   JAY                         UT     90011695813
7157286375B59B   JAMES         CERTAIN                     NM     90009788637
71572A41131433   JAMIE         STEPKA                      MO     90014130411
7157331152B994   SHANNON       ARISTA                      CA     90013663115
715746A848B168   GUADALUPE     HERNANDEZ GONZALEZ          UT     90012606084
7157483A355966   EMILENE       RAMIREZ                     CA     90013058303
7157489477B661   JEQANNETTA    RICE                        GA     90015088947
71574A67A27B98   DOMINION      GIVENTER                    KY     90012380670
71574A9848B157   TAUSHA        DUFFIN                      UT     31028400984
7157533A93168B   MARCUS        CHEATHAM                    KS     90014963309
7157648575B59B   EDGAR         GAYTAN                      NM     90014914857
71576886572B98   SHERRI        FISCHER                     CO     90005458865
7157719718593B   TARA          COMBS                       KY     90006551971
7157731AA5B59B   NICOLE        MARTINEZ                    NM     35080493100
7157829957B661   PINKEY        HOLLOWAY                    GA     15031492995
7157851A88B163   MARIO         URBINA                      UT     31091335108
71579249A2B271   PATRICK       PURNELL                     DC     90008082490
71579484A8B168   KRISTY        COOK                        UT     90014844840
71579631827B98   ANDREA        MATHIS                      KY     90011136318
715796A895B34B   ANNNETTE      HUNT                        OR     44579796089
7157B62648B168   NATHAN        KINSEY                      UT     31013076264
7157BA3A733698   TONY          APONSAH                     NC     90015120307
7157BA63755966   ROBERTO       LOPEZ                       CA     90013370637
71581188572B44   JESUS         ARREDONDO                   CO     90013751885
7158167935B395   GARY          BICHEL                      OR     90009216793
71581A2485B384   JACOB         WACHTEL                     OR     90010540248
7158232517B477   JOSE          CASTRO OLIVA                NC     90009243251
715823A1A84322   NIKESHA       DRAYTON GOODEN              SC     90009233010
71582A11657157   ERNESTO       BUESO                       VA     90012520116
71582A68431432   CELSA         GARCIA                      MO     27500330684
71582A6A15B596   ROMULO        BARELA                      NM     35086220601
7158344842B994   CYNTHIA       MARTINEZ                    CA     90010844484
71583842954B28   SUSAN         CALDWELL                    VA     90010558429
71583A8738B142   BRENDA        BOURGEOIS                   UT     31044150873
7158437138B163   DAVID         RAFFER                      UT     90003983713
7158483668B168   JESUS         CASTILLO                    UT     90007538366
71584A54455969   KENNETH       MATNEY                      CA     90004340544
7158635628B134   EDWARD        CHIRLEY                     UT     90013353562
71586489772B44   MARIA         GRANADOS                    CO     33097824897
7158652938B157   ACHEA         FONTAINE                    UT     90014975293
7158658A772479   AARON         GRANATO                     PA     90012555807
7158659955B59B   JOSEPH        SERNA                       NM     90014515995
7158684A431433   DAWN          BROSIUS                     MO     90013948404
715889A747B398   ANA           ERAZO                       VA     81015189074
715891A948B168   ZAKKARY       REYNOLDS                    UT     90001721094
715892AA78B157   DAPHNEY       BRYANT                      UT     31088832007
7158B183897B81   SHANNON       LONDON                      CO     90008011838
7158B35598B134   TANASHA       BOONE                       UT     90014663559
7158B42645B596   MICHELLE      BROOKS                      NM     35077914264
7158B54A28B163   JAKOTA        CURTIS                      UT     90014705402
7158B82758593B   JOHN          DEFELICE                    OH     90010998275
7158B915A72441   SCOTT         JACOBS                      PA     90013979150
7158BA36771921   TIA           YHONGQUE                    CO     90009060367
7158BA4A73168B   MARSHA        STEUBING                    KS     22084770407
71591A8635B59B   ADAWNIKA      ARMIJO                      NM     90005620863
71591AA7672B29   JENNIFER      OWENS                       CO     90013310076
7159272797B477   JUNE          MASSEY                      NC     90001667279
71593283A5B169   ROBBY         GANN                        AR     90015232830
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 697 of 2350


7159329A272441   NATHAN       CALVAGNI                     PA     90015412902
71593A81581643   CLAUDIA      FUIMAONO                     MO     90005800815
71594199872B32   MICHELLE     MORALAS                      CO     90008121998
715942AA693739   COLE         SUTTON                       OH     90013842006
7159534898B168   CLAY         BOYD                         UT     90014663489
7159535425B59B   DIANA        NAVARRO                      NM     90010603542
71595532227B98   JENNIFER     LANCASTER                    KY     90000285322
71595718672B44   SUSANA       FIERRO                       CO     90012047186
71595915672B29   LUCINA       ZAVALA                       CO     90013219156
71595A7A58B134   EBONY        PEARSON                      UT     90011320705
715966A2781643   MARK         POWELL                       MO     90004686027
7159693A757157   LESHANDA     THICKENING                   VA     81034439307
71597399A72479   BRANDON      CARSON                       PA     90008973990
715975A7627B98   GEORGE       RILEY                        KY     90014345076
715978A527B661   BERNARD      ALEXANDER                    GA     90010778052
715979A6631433   YOLANDA      NORMAN                       MO     90012609066
7159814283168B   RAYMOND      SIPULT                       KS     90015111428
71598229972B44   STEPHANIE    JIMENEZ                      CO     90013122299
7159826527B661   JULIA        COLEMAN                      GA     90002312652
71598594A33699   TECARRA      BYRD                         NC     90014575940
71598597A71921   GUMERCINDO   MENDEZ                       CO     90009165970
71598A49972B29   NOEMI        MONTERO                      CO     33086770499
7159B173855966   ROMAN        SALDANA                      CA     90013971738
7159B23645B59B   JANEA        GREVING                      NM     90011942364
7159B36893168B   DORIAN       BUCHANAN                     KS     90014703689
7159B536733699   LEVON        WILSON                       NC     90014575367
7159B78198593B   ADRIENNE     HUNDEMER                     KY     66024617819
7159B886931433   ROSHAWNDA    SUTTON                       MO     90004148869
715B125A227B98   EIESHA       WHITLOCK                     KY     90014612502
715B1264841252   DALE         MOSSBERG                     PA     90012842648
715B153485B596   VICTOR       KEETO                        NM     90013165348
715B18A242B994   CAROLINA     VILLAGOMEZ                   CA     90005158024
715B2181A72B98   JILL         LASALLE                      CO     33012101810
715B2328571921   WILLIAM      PRYGON                       CO     90012143285
715B2347693767   RICHARD      SMITH                        OH     90001203476
715B238A231433   JOSHUA       HARLEY                       MO     90014003802
715B242A57B661   SIGRID       HERNANDEZ                    GA     90014624205
715B267373168B   MARIA        PALCIOS                      KS     22009536737
715B2972255966   BRADLEY      DAVISON                      CA     90013289722
715B2A26931432   ASHLEY       MARTIN                       MO     90001450269
715B2A4138B134   CARY         DAVIS                        UT     90005260413
715B3338872B98   OMAR         GONZALEZ                     CO     90011803388
715B3659172B98   OMAR         GONZALEZ                     CO     90013166591
715B4257641237   ERIKA        EDWARDS                      PA     90014592576
715B4391557157   NAKISKA      LOBO                         VA     90012053915
715B49AAA7B477   DWAYNE       BARDEN                       NC     90014649000
715B513A472B32   CARLOTA      BUSTOS                       CO     90012071304
715B536478B142   NATALIE      TANNER                       UT     31092643647
715B5661A5B169   JOSE         CARDONA                      AR     90015136610
715B639178B168   JAMI         SELMAN                       UT     31083573917
715B6561533699   TRACY        BEARMON                      NC     90014475615
715B673AA8B134   STEVEN       ANDERSON                     UT     90012997300
715B67A148B157   JOSHUA       JAIMEZ                       UT     31066397014
715B7186955939   ROXANNE      HERNANDEZ                    CA     48052051869
715B768625B59B   JESSICA      CARRILLO                     NM     90007906862
715B7967381643   CHANELLA     GRIFFIN                      MO     90002869673
715B832415B384   SARAH        COX                          OR     90010713241
715B858167322B   KEVIN        GARDNER                      NJ     90015415816
715B8681433699   SIMONE       RENEE                        NC     90014496814
715B8AA6357531   RUTH         TARIN                        NM     90015050063
715B9244772B32   MIA          SHIELDS                      CO     33046602447
715B93A8771921   JUAN         GARCIA                       CO     32014413087
715B955A85B596   PATRICIA     LUJAN                        NM     35031195508
715B958155B169   JESUS        PITONES                      AR     90015505815
715B9598672479   MICHELLE     JOLLY                        PA     51095005986
715B9732A9184B   TERESA       VANN                         OK     90009447320
715B976965B384   ANDRES       RISCAJCHE                    OR     90010537696
715B985347B367   MARCELINO    PAZ                          VA     90004028534
715B9875A55969   INIESTRA     GUTIERREZ                    CA     90011688750
715BB58245B541   MIGUEL       VASQUEZ                      NM     35094215824
715BB777631433   JESSICA      HOLMES                       MO     27578337776
715BB813431443   THOMAS       MEYER                        MO     90015268134
715BBA93A5B522   GARY         HARTZOG                      NM     90011440930
715BBA99A41253   SARAH        MORRIS                       PA     90011190990
7161149A972421   CHARLES      BROWN                        PA     51057184909
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 698 of 2350


71612127A93739   PATTRICE     INGRM                        OH     64596061270
7161236518B142   BRIDGET      WALKER                       UT     31005533651
7161249A18B163   JAIME        DIAZ                         UT     90007284901
7161288578B134   MARVIN       SONIAT                       UT     90012568857
71613843572B44   FRANKIE      MCCLAIN                      CO     90012108435
7161387A933698   TEIRA        BULLOCK                      NC     12092638709
71613A5253B38B   LAWRENCE     ALARID                       CO     90007120525
7161454A68B142   MARVIR       POULSON                      UT     90014155406
7161478738B157   LUCIA        LEYVA CRIOLLO                UT     31053737873
7161492457B477   PAMELA       CALDWELL                     NC     90013399245
716149A622B271   BRIAN        KNIGHT                       DC     81087299062
7161518275B596   GABRIELA     CHACON-RODRIGUEZ             NM     35031001827
7161599718B157   JONELLE      KUMPIN                       UT     90012369971
71616376572B29   SHUTAE       BROWN                        CO     90007863765
716166A615B596   HUGO         GONSALES                     NM     90013836061
71617423127B98   LATANYA      MCGREGOR                     KY     90014864231
71617456972B44   CRYSTAL      DENNY                        CO     90011494569
71617A1982B994   MARIA        DEL CARMEN                   CA     45056820198
7161938589154B   MARIA        HERRERA                      TX     90004963858
7161968A272B44   JOSHUA       CHAVEZ                       CO     33007626802
7161996873B137   ELSY         AYALA                        DC     90005209687
71619983772B32   JOSEPH       BJORKLUND                    CO     90010489837
7161B274872479   FRANK        ZIEMBA                       PA     90014382748
7161B29945B169   KEVIN        SELDERS                      AR     23035742994
7161B335193767   TIFFANY      CARTER                       OH     90003503351
7162131325B59B   MARIA        ORTIZ                        NM     90010903132
71621679A31433   MIKE         RUSCH                        MO     90014316790
716219A4791991   DONALD       BWENETT                      NC     90005479047
71621A7669154B   VERONICA     ENRIQUEZ                     TX     90013740766
71622132A3168B   KAREN        MELLINGTON                   KS     90002541320
7162245969154B   OCTAVIO      QUINTANAR                    TX     75053154596
7162281945B596   ANA          FRANCO MEDINA                NM     90000558194
71623196527B98   MARIA        CHONG                        KY     90011221965
7162366377B661   PRINTISS     TEMPLE                       AL     90012686637
7162377973168B   CASSIE       BIPPERT                      KS     90014637797
71624639872B29   DEANN        VALDEZ                       CO     90009036398
71624A4A431443   BUSTA        BUSTA                        MO     90003910404
71625167A55939   DEBRA        CARDENAS                     CA     90000181670
716254A2872441   THEODORE     HALUSKA                      PA     90000674028
7162558648B168   ARMANDO      BARBOSA                      UT     31002715864
7162632258B142   GARY         GOLDING                      UT     31007313225
7162643687B477   GYPSY        STARR                        NC     11091504368
716267AA933699   COREY        DESHAZO                      NC     90006687009
716269A4791991   DONALD       BWENETT                      NC     90005479047
7162728A427B98   STEPHANIE    REYES                        KY     90011222804
7162734419154B   BARBARA      CUELLAR                      TX     75038533441
71628A42771921   STEVEN       POWELL                       CO     90011330427
7162913978B134   WYATT        HULINSKY                     UT     90014811397
71629223A55969   JEFFREY      ROBERTS                      CA     48015662230
716294A4A33699   KIMBERLY     BRADY                        NC     90010174040
7162954748B168   JEREMY       JENKINS                      UT     31094915474
71629564472B44   MELISSA      HELLER                       CO     33083135644
71629A21831684   CHERRIE      PONCIN                       KS     90002220218
7162B117155939   LORENZO      CENDEJAS                     CA     48058901171
7162B528A8593B   MELINDA      LINNEMANN                    KY     66059365280
7162B827555969   ALMA         MENDOZA                      CA     90011358275
7162B856672479   JENNIFER     JANKOWSKI                    PA     51023728566
7162B986155969   LAURA        DE SOTO GALLEGOS             CA     90012759861
7162BA5483B343   MELISSA      SAUL                         CO     90013660548
7163125635B384   YONI         MALDONADO                    OR     44508852563
71631947972B98   MIKE         CROWE                        CO     33018579479
71631A6555B59B   ADRIANNA     BERNAL                       NM     90009120655
7163273592B994   CYNTHIA      GOMES                        CA     45023797359
716328A3A41227   JEREMY       SOLOMON                      PA     90011798030
71632A49971921   DESIREA      BOWE                         CO     90005570499
71632A56672441   CHARLES      PRATT                        PA     90013390566
7163313775B596   ARTHUR       BLEA                         NM     35049741377
7163343815B169   DERRICK      CHATMAN                      AR     23096424381
7163354A272B98   SANDRA       RIVERA                       CO     90008705402
7163376978B163   PAOLA        CASTILLO                     UT     90001597697
7163453188B157   BRIANNA      GALLEGOS                     UT     90012935318
7163467272B994   TYRONE       POLK                         CA     90012886727
7163486258B157   ANGEL        MARTINEZ                     UT     90011368625
71634A43A31433   TUANTEZ      JEFFERSON                    MO     27575520430
7163555618B157   JULIE        AROLOW                       UT     90003605561
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 699 of 2350


7163566368B134   MELISSA      ZIDOR                        UT     90010896636
7163567525B169   PAULA        SPARR                        AR     90012616752
7163643229154B   JOANNA       RAMOS                        TX     90013624322
7163664937B661   JESSICA      WILLIAMS                     GA     90015146493
7163799558B163   JAMES        GAMA                         UT     90014159955
71637A17172479   ROSE         BROWN                        PA     90010380171
71638295472B98   ROSA         ACOSTA BARRAGAN              CO     90013032954
7163835938B157   SHAUN        OLSEN                        UT     90012063593
7163933A55B169   SALVADOR     JUAREZ                       AR     90011643305
7163B34975B55B   ANDREW       STEELE                       NM     90002003497
7163B47788B157   ARTEMIO      HERNANDEZ                    UT     90013664778
7163B523993739   JANE         BANKS                        OH     90000955239
7163B885A33698   ANTHONY      LANDRUM                      NC     12091668850
7163B8A4772479   LOUISE       DAVIS                        PA     90011758047
7163BA1A855969   NATHAN       TUPPER                       CA     90014150108
71641725A72B98   MANDY        JAROSZ                       CO     33067127250
7164198A97B661   KELSEY       LEWIS                        GA     90010449809
71641A3815B59B   DARRELL      TSOSIE                       NM     90004840381
7164281369154B   JOSE         WOOD                         TX     90009838136
7164328A25B169   CHARLES      JOHNSON                      AR     23016652802
71643454A72B29   HERMAN       DELATORRE                    CO     33082634540
7164348998B142   BERENICE     GONZALEZ                     UT     90002744899
71643741A72B32   MATTEW       BROWN                        CO     90014117410
7164422A381633   NATHAN       SCHNELLE                     MO     90012562203
71644A9A15B169   MEGAN        EDMON                        AR     23079570901
7164526A384322   ANTONIO      ARCOS                        SC     90015522603
7164654478B168   JOSEF        HARDESTY                     UT     90014725447
7164663A855939   JAMES        BROWN                        CA     90002466308
7164691328B163   AL           AL-BAYATI                    UT     90014729132
716469A2872B32   CHRISTINA    BOVILL                       CO     90000619028
71646A71A9154B   JORGE        TORRES                       TX     90000520710
71646A8625B59B   ESTANISLAO   CASTILLO JR                  NM     35033150862
7164769685B169   THOMAS E     DRINKWINE                    AR     90012726968
716477A7A72441   RASHELL      LUNDY                        PA     90014647070
71647A1728593B   CARLA        RITTER                       KY     90012180172
71648354672B44   HERMAN       FLOYD                        CO     33008253546
71648368A91566   ANA          MARTINEZ                     TX     75099003680
71648825572B29   EUTIMIO      SARABIA                      CO     90012188255
71649468272B98   ARMANEE      RESE                         CO     90014204682
7164B164371921   GEOF         ROBINSON                     CO     32002151643
7164B232854121   RAMONA       EDWARDS                      OR     90015292328
7164B245141227   TOM          FROHMAN JR                   PA     51000492451
7164B469584322   ERICCA       JENKINS                      GA     90011254695
7164B4A8255966   NADEEM       BAIG                         CA     90012764082
7164B572584322   ANGIE        ACAMPORA                     SC     90014615725
7164B774172B29   SWCOTT       WEAVER                       CO     33066727741
7165183A47B661   LEYIA        CORDOBA                      GA     90013658304
71652394A53B77   ERICA        MANRIQUEZ                    CA     90014973940
71652AA9A31432   DANIEL       GITT                         MO     27564440090
716534A7972441   JOHN         SMEGO                        PA     51007664079
716549A3455939   JANETTE      LEPIZ                        CA     90010789034
71654A6888B157   JOHN         HUMMELL                      UT     90015140688
71655726A81633   HELEN        JOHNSON                      MO     90009147260
716568A9172B44   BENNETTE     WATTS                        CO     33084498091
71656A8719154B   MARIO        ACOSTA                       TX     75091610871
71657163A7B477   DENIA        ZONIGA                       NC     90009871630
7165719128B157   VICTORIA     TSO MIERA                    UT     31023671912
7165743229154B   JOANNA       RAMOS                        TX     90013624322
716576A8657157   MARIA        TORRES                       VA     90014616086
716584A5A81633   FERNANDO     DE LA ROSA                   MO     90010434050
716589A7755939   HR           CARDENAS                     CA     90007399077
71658A97372B44   DAVID        CASTORENA                    CO     90012280973
7165921A184322   ELO          LEMOS                        SC     90014172101
7165938375B59B   DEANNA       PEREA                        NM     90013623837
7165943318B142   CHRISTY      KNOTT                        UT     90002174331
7165984A38B163   SHEILA       CARTER                       UT     90013078403
71659867272B29   MARIELA      MURILLO                      CO     90005318672
7165B28613168B   CLARRISSA    BRISTOW                      KS     22040642861
7165B342771921   LESLIE       SAULS III                    CO     32015663427
7165B358A3168B   CLARRISSA    BRISTOW                      KS     90013293580
7165B461372B98   JESUS        ESTRADA                      CO     33033214613
7165B939472B32   BREONNA      HARRISON                     CO     90011209394
7166112A455939   MAIRANI      OCAMPO                       CA     90001411204
7166113A541253   CARLA        HOWARD                       PA     51092321305
7166116258B157   WESTON       PONTIOUS                     UT     90014651625
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 700 of 2350


716613A3181633   MICHAEL      SILKWOOD                     MO     29003293031
7166145615B596   MARK         SIMS                         NM     90011764561
71662128A81643   AMY          ELLIS                        MO     90010991280
7166269993B137   ALI          MENDEZO                      VA     90012886999
716626A5333698   WENDY        OAKES                        NC     12072586053
7166345A65B24B   SUZETTE      TALBAT                       KY     90002444506
7166384A38B163   SHEILA       CARTER                       UT     90013078403
7166398A955969   ANTONIO      RAMOS                        CA     90011179809
71664741A91548   AMANDA       WALL                         TX     90008287410
7166575168165B   JAMES        JACK                         MO     90012877516
71665A1438B142   SARA         PENALOZA                     UT     90010730143
71665A38A31453   JAMES        SARROLL                      MO     90008060380
71665A68172B29   ROBIN        HUESKE                       CO     90008430681
71666119872B44   ROCK         VAGGE                        CO     90012691198
7166632A172B44   MICHELLE     PERRI                        CO     90007993201
716664A8157157   ESMAIL       AHMAD                        VA     90013164081
716664A9351326   KYLIE        WHITE                        OH     90014594093
71666551872B98   MARIBEL      GAMBOA                       CO     90012415518
71666862872B32   LEAH         COUNCIL                      CO     33094568628
71667921A72B32   TONI         ZAMBRANO                     CO     90013959210
716684A8255966   NADEEM       BAIG                         CA     90012764082
71668A75433698   FRANCES      ASH                          NC     12093780754
716695AA25B169   KIMBERLY     CRUMPTON                     AR     90014665002
716699A3785871   JUSTIN       BUCH                         CA     90008229037
7166B267A5B59B   BENITO       VIGIL                        NM     90014922670
7166B313461935   SANFORD      NICHOLS                      CA     90005243134
7166B944A9154B   OSCAR        SAENZ                        TX     75081249440
716712A225B59B   DONNA        SAAVEDRA                     NM     90013132022
71671933772B29   TIMOTHY      LEWAN                        CO     90015169337
716719A8255969   LIDIA        LOPEZ                        CA     48066549082
71671A4A957157   BAHARED      RANJBAR                      VA     81080160409
71672597A81633   ARRON        MURRY                        MO     29029975970
7167262478B163   AUDIE        RUSSELL                      UT     90014716247
71672A98727B98   LATASHA      RAWLINS                      KY     90008620987
716732A4933698   BRANDON      MCCOREY                      NC     90012752049
7167356662B994   MARIA        PATRONA                      CA     90012805666
716735A828593B   SEAN         WOOTON                       OH     90014225082
7167388938B142   ESTEVAN      RAMOS                        UT     90012538893
71673935A27B98   TERESA       RAUSCH                       KY     90010899350
71673A9678B134   SEAN         POWELL                       UT     31079770967
716743A1772B29   VIRGINIA     ESCAMILLA                    CO     33056043017
716746A7384322   MARK         JOHNSON                      SC     90011276073
716749A9231443   FRANCIS      MPIA                         MO     27565049092
7167572717B661   SHUNTEL      DAVIS                        GA     90014707271
71675875A31433   BRIAN        BLISS                        MO     90011148750
71676967472B93   GHOLAMREZA   JAFARIZADEH                  CO     90013039674
716771A6272441   LISA         WALKER                       PA     90004891062
71677613672B29   MELISSA      GORMAN                       CO     90003096136
71678456876B91   COLBY        HANLON                       CA     90002784568
7167879735B59B   DEIDRE       SOLOSKY                      NM     90007907973
71678A97955969   JOANNA       ALONZO                       CA     90015120979
7167993A781643   CHARLES      RODGERS                      MO     29026509307
7167B2A9941237   ALIDA        CIPRIAN                      PA     90003702099
7167B399433699   NAKANZA      BAINES                       NC     90003953994
7167B88A68B163   PRISCILIA    JOHNSON                      UT     31033608806
7167BA3918B168   CRYSTAL      BULKLEY                      UT     90011410391
7168122757B477   PETRA        CATALAN                      NC     90012802275
716814A8157157   PHILLIPS     WOLO                         VA     90010464081
71681989372B32   WAYNE        SPOEHR                       CO     90011129893
71681AA3155966   CARLOS       MAROQUIN                     CA     90014050031
7168287A25B59B   ROCHELLE     RAMIREZ                      NM     90007428702
7168298719154B   ANDRES       MELLADO                      TX     75091129871
7168335348B168   PARCELL      SHERRALYN                    UT     90010433534
7168397125B384   TAMIKA       MOTTON                       OR     90006799712
7168443827B477   BEN          CARTES                       NC     11030794382
71684583A31432   PATRICIA     HARRIS                       MO     90008855830
7168497A893739   SHASAIA      TYE                          OH     90015079708
716852A4631443   JANIE        SANDERS                      MO     90012122046
716854A1431443   NATHALEEN    CRISS                        MO     90013014014
7168568498593B   BESSEA       HUGHES                       KY     90014756849
7168573258B168   ANTHONY      SAFFORD                      UT     90014947325
716858A6884322   DAMARIS      YOELI QUINTANA               SC     14511538068
71685A94A5B596   ADRIAN       MARTINEZ                     NM     35067120940
7168622879154B   CRISTIAN     ESCOBEDO                     TX     90014972287
71686245972B98   RUYBAL       FARES                        CO     90013042459
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 701 of 2350


71686317172B44   DANA                  GARCIA              CO     90013603171
716863A6A41253   DAVID                 ALEXANDER           PA     51086823060
7168682185B59B   GEORGEANNA            MIERA               NM     90011498218
7168828759154B   JACOB                 CAMPOS              TX     90015292875
7168848A37B461   LISA                  THOMAS              SC     90006824803
7168888249154B   MICHELLE              CORTEZ              TX     90011378824
71688A32357157   JULIET                WEPEBA              VA     90014800323
71688AA283377B   CHRIS                 GREENHAW            OK     90008830028
716897A1472B98   MARIA                 DE LA TORRE         CO     33057117014
71689A72772441   KATIE                 BOYCE               PA     90008640727
7168B56588593B   CAROLYN               STROUD              KY     90012225658
7168B783527B98   JACKIE                FINCH               KY     90014667835
7168B822555969   ROSALINDA             FUENTES             CA     90014558225
7168B87A38B142   GABRIELA              MARTINEZ            UT     90013728703
7168B8A698B168   ROBIN                 COLLARD             UT     90006198069
7168B96648593B   PAUL                  BRINKMAN            KY     90014769664
7169116335B169   KENNETH               DICKERSON           AR     23017291633
7169119475B59B   MARY                  VALDEZ              NM     35023261947
71691196A31443   ELONDA                GATEWOOD            MO     90004461960
7169167957B477   ANTHONY               JENKINS             NC     90013166795
71692194A41237   CHANDRA               PRASAI              PA     90011851940
716925A693B366   ROBERT                KILLAM              CO     90013955069
7169277628B142   HEATHER               ANNE                UT     90009987762
7169341887B661   CHANTEAL              MARSHALL            GA     90013704188
7169353875B169   ANDREA                KING                AR     90014695387
7169373559154B   JUNTERINUS            STINSON             TX     90013387355
7169376618B163   DANIEL                GILL                UT     90015157661
716942A5131432   SHANNON               FLYNN               MO     27510092051
7169452A67B477   MARGARITA             MORENO PEREZ        NC     11080385206
716947A813168B   TRISH                 POLK                KS     90010307081
71695261A7B661   TRAVIS                COLE                AL     90011312610
7169623527B477   MICHAEL               ODHIAMBO            NC     11012582352
716962A9255966   ROSA                  VASQUEZ             CA     48017022092
7169688AA84322   DOMINIQUE             FRIPP               SC     90011278800
7169692687B661   TOMMY                 THORNTON            GA     15001099268
716977A129154B   YVONNE                MUNOZ               TX     75056227012
7169833665B59B   MONTOYA               RAY                 NM     90010903366
71699761A8B163   PENI                  FAAOGEA             UT     31047147610
7169994157B661   KYMBERLIANN           HIGHTOWER           GA     90015089415
7169B245172B29   KENNETH               HILL                CO     33098172451
7169B25697B661   SHATOYA               WRIGHT              GA     90011312569
7169B4AA572B98   DUSTY                 BARBEN              CO     90002374005
7169B586855969   ROBIN                 MARIS               CA     48073375868
7169B588A2B994   ROSE                  WICKLER             CA     90000965880
7169B789572B32   DEMETRIUS NATHANIEL   ADAMS               CO     90012927895
716B1628281643   ROSELIND              DAWSON              MO     90014466282
716B1751172B32   KILEN                 VENABLE             CO     90012937511
716B185485B59B   BRAUN                 ANNM                NM     90007428548
716B197353168B   ERIC                  GRISHAM             KS     90013699735
716B1AA5872B43   BEVERLY               GRANT               CO     90012630058
716B2136441237   SHANICE               ADAMS               PA     90015441364
716B214397B661   TAMMY                 MELTON              GA     15086571439
716B222A772441   ARAIYAH               BURRELL             PA     90013732207
716B2492827B98   DERRICK               SMITH               KY     90014744928
716B25A415B596   NELSON                PEREZ               NM     90005015041
716B27A388B163   ROGER                 HURST               UT     90010107038
716B3368984322   GUILLERMO             RODRIGUEZ           SC     90012293689
716B3489831443   FREDRICK              FELTON              MO     90004084898
716B3882A9154B   PRISCILLA             BOYER               TX     90011378820
716B4515655966   ASHLEY                CLINE               CA     90014615156
716B459982B271   SHAUNTA               HOLLY               DC     81060555998
716B479179154B   GEOFFREY              RODRIGUEZ           TX     90013967917
716B4915A5B169   CHANTEL               JASSO               AR     23092559150
716B4935781633   WANEDA                HILMEN              MO     90010279357
716B516653168B   GABRIEL               WATSON              KS     22094891665
716B5573772479   JEFF                  COWEN               PA     51020525737
716B59A3131443   REESE                 BOYD                MO     90010799031
716B629997B661   CARLANDER             SHUMPERT            GA     90013222999
716B73A389154B   JANETTE               MEZA                TX     90014743038
716B747888B168   GARY                  GROESBECK           UT     31012344788
716B775425B384   KARIN                 COOKE               OR     90003007542
716B775917B661   QUSHANTIA             WILLIAMS            GA     90013597591
716B833978B157   ELORIE                ROBERTS             UT     90011983397
716B851555133B   TINA                  AUSTIN              OH     90009635155
716B885485B59B   BRAUN                 ANNM                NM     90007428548
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 702 of 2350


716B8924941266   SAMUEL            BAIN                    PA     51059719249
716B8A64A57157   GARY              AVERY                   VA     90011150640
716B931325B59B   MARIA             ORTIZ                   NM     90010903132
716B964A772B44   GABRIEL           CARRASCU-RUIZ           CO     90011476407
716B9831A9154B   JESSICA           BARAJAS                 TX     90013148310
716BB379744346   LATOYA            MATTHEWS                CO     82014543797
716BB496A55969   JUENCIO           GARCIA                  CA     90005954960
716BB4A4671921   ELIZABETH         QUINATA                 CO     90007964046
716BB9A947B477   MARLENE           CAMPOS                  NC     90013929094
716BBA47693739   KRYSTAL           PORTER                  OH     90004680476
71711329872B44   MIGUEL            MORAN                   CO     90015183298
717116A1472479   RONALD            TUMAN                   PA     51029646014
7171173718B134   TAYLOR            OSTEEN                  UT     90012017371
717123A837B661   TYECHA            ERIGHT                  GA     90013973083
7171244647B477   DANIELLE YVETTE   THOMPSON                NC     90014584464
7171272442B242   REGINALD          BECKHAM                 DC     90008317244
71712A33A5B169   ALEJANDRO         RODRIGUEZ               AR     90015030330
7171369665B384   KRYSTAL           HAYNES                  OR     90010706966
71713927872B32   LILIAN            MENJIVAR                CO     90012169278
71714539472B29   AKIDA             JOHNSON                 CO     33000435394
71714752A91991   KEMA              JOHNSON                 NC     90005087520
7171481265B59B   ASHLEY            RIVERA                  NM     90014458126
71715756672B32   ALEX              PEREZ-POVEDA            CO     33012417566
71715988427B98   SHAWNETRA         DAY                     KY     90013809884
7171655945B384   ARIELLE           HUTCHISON               OR     44504785594
7171667977B329   FERNANDA          CLEMENTE                VA     81059716797
7171691347B477   QUEE              CRAWFORD                NC     90015259134
7171818A381643   STACY             BARCLAY                 MO     90005541803
71719195272B42   AARON             DOW                     CO     90013901952
717191A9241237   CHRISTRIAN        DEAN                    PA     90003721092
71719731872B32   JUAN              MATA                    CO     33006097318
7171B114631443   VANESSA           ROSALES                 MO     90012531146
7171B557972B32   JOSEPH            NERGAARD                CO     90012345579
71721747A31443   LISA              JIMENZE                 MO     27561637470
71722295A8B134   CASEY             BROWN                   UT     31060632950
71723563A72B22   BRITTANY          LOMBARDI                CO     33015145630
7172399552B994   ANDREA            BLAIR                   CA     90013069955
7172424429154B   ANA               ALVARADO                NM     75086442442
7172546A672441   CASIE             WOODS                   PA     90002584606
7172548358B142   GALLEY            DARIN                   UT     90003984835
71725666A61935   ALVIN             STRATTON                CA     90006536660
7172592743168B   SHERIKA           LAMON                   KS     22093519274
7172597A455939   JOAQUIN           VALDEZ                  CA     48077989704
7172624668593B   OSCAR             CASTRO-ENCINA           KY     66051832466
7172627898B168   FRANSISCO         RAMIREZ                 UT     90015072789
7172637229154B   ROXANNE           LOPEZ                   TX     90014503722
71726855272B98   ELIS              SEPULVEDA               CO     33049848552
7172778445B59B   PAMELA            JOHN                    NM     35036437844
7172787598593B   WILLIAM           MAY                     KY     90007538759
71727A4A27B661   RACHEL            THOMAS                  GA     90004400402
717283A4472441   TAMMY             GOODWIN                 PA     51085153044
7172873A981643   OSCAR             GONZALEZ                MO     29087167309
71728A2193B366   LUIS              VILLEDA                 CO     90012470219
7172924A172B44   RICHARD           BAEZ                    CO     90011592401
717294AA355969   MARY              LEBUS                   CA     48075084003
7172B5A8531433   RODNEY            FREEMAN                 MO     27588265085
7172B831A2B575   DEANDRE           SMOOT                   AL     90013778310
7173218665B59B   CHRISTINE         FLORES                  NM     35099021866
717326A6891991   SHAWN             MONTATUE                NC     90007086068
71732813472B44   JORGE             AVALOS                  CO     90001658134
71732A5A733699   CLUADIA           FRANCES                 NC     90014600507
7173322A681633   NICOLE            WEST                    MO     90015242206
71733618672B32   SUSANA            FLORES                  CO     90010686186
71733787772B44   ENRIQUE           OLIVAS                  CO     90013367877
7173389232B994   ANNA              HUGHES                  CA     90002618923
7173419AA71921   DAVID             WEIMER                  CO     90013791900
717342AAA8B134   RICHARD S         FELDMAN                 UT     31041262000
7173471A18B157   KEELY             JORDAN                  UT     90014407101
71734764172B98   AARON             TVERBERG                CO     90011807641
71734A52472441   CARLIE            MINEARD                 PA     90010910524
7173559838593B   ELISHA            TERRELL                 KY     90014505983
71735A7399154B   JAIME             DELGADO                 TX     90008530739
7173631878593B   JAMES             MOORE                   KY     90014153187
7173697328593B   BASS              TASHA                   KY     90007969732
717369AA69154B   EDUARDO           CHAVEZ                  TX     90012499006
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 703 of 2350


71736AA4241237   STEPHEN       BROUGH                      PA     90013960042
71737147A55966   EVA           GARCIA                      CA     90011221470
7173811765B59B   GLORIA        SIERRA                      NM     35076441176
7173813968B168   TIFFANY       BOYCE                       UT     90012261396
71739626A81633   ROSA          GONZALEZ                    MO     90006756260
71739688A72B44   MICHAEL       RENELLI                     CO     90001386880
71739AA359154B   ENRIQUE       GARCIA                      TX     90000680035
7173B29728593B   TONDA         LONG HILL                   KY     90004232972
7173B54455B596   JANET         MURRIETTA                   NM     90008125445
7173B571255966   DENISE        SANCHEZ                     CA     48093975712
7173B9A244B588   ASHLEY        RADFORD                     OK     90011059024
717412A457B661   CRUZ          ZAMORANO                    GA     90015182045
7174143695B169   CORNELIUS     COLE                        AR     90014854369
7174235935B59B   TIFFANY       TIFFANY                     NM     90008393593
717425AA381633   JUAN          TORRE                       MO     90012275003
71742737A72B44   CARLA         VENIEGAS                    CO     90013167370
7174279A555966   GREGORIO      OLIVERA                     CA     90011577905
7174287322B26B   ANDRE         JACKSON                     DC     81095728732
717434A3927B98   SANDRA        BROWN                       KY     90013534039
717437A1372B98   FELICITAS     AGUIRE                      CO     90012017013
71743A59271921   LUCY          DOMINGEZ                    CO     90012380592
71744265A7B477   KEIARMDRE     NEAL                        NC     90000382650
717444A3A84322   FAREK         SOSA                        SC     90015104030
71744A2595B591   ADAM          VASQUEZ                     NM     90014910259
7174584418B142   DOMINGO       ALTAMIRANO                  UT     31053178441
7174591698593B   CHARLES       STEERS                      KY     66016569169
71746A56733699   MELODY        CARROLL                     NC     12016340567
7174712A272B32   MIGUEL        PICAZO                      CO     33007411202
7174768457B661   VONQUESHIA    WILKERSON                   GA     90015186845
7174785828B134   ABDELRAHIM    ABDELRAHMAN                 UT     90013228582
71747864327B98   LATRICE       JOHNSON                     KY     90014548643
7174793353B343   REGINA        SOLANO                      CO     33089329335
7174796748593B   JOSE          GARCIA-VARGAS               KY     90011579674
71747A7399154B   OTILIA        QUINTANA                    TX     90014910739
7174844194128B   CHAD          CHILESKI                    PA     90006554419
71748783372B98   IDANIA        ALVAREZ                     CO     90011807833
71748A34655969   LEISLY        DELGADO                     CA     90011100346
7174912A172B98   GEIRGE        SIMMONS                     CO     33087351201
7174945A255939   MANUEL        VALDEZ                      CA     90014814502
7174999877B661   SHANNON       HENDERSON                   AL     90010329987
717499A8857143   JOSE          ABARCA                      VA     81043619088
7174B796655939   WILLIAM       DOYLE                       CA     48079957966
7174B85468593B   KAYLA         GRINDSTAFF                  KY     90014548546
7174BA2365B592   MELANIE       CEBADA                      NM     90013000236
7175177A255939   DANIEL        ESQUIVEL                    CA     90013017702
71751A1198593B   WESTON        APPLEGATE                   KY     90010660119
717521A9431433   CHARLESETTA   ATKINS                      MO     90013951094
717524AA48B142   JONATHAN      PEREZ                       UT     90012114004
71752AA287B477   LEOPOLDO      AGUILAR                     NC     90013560028
71753A14641237   MARY          LANG                        PA     90004880146
71754368A72B23   JOSUE         SILVA FLORES                CO     90009713680
71755A89133699   SHANTEL       NEWMON                      NC     12003380891
7175699787B477   MARIBEL       M BLANCAS                   NC     11083439978
71757338A41253   JAMARR        MARTIN                      PA     90015283380
7175744185B59B   BENA          PATEL                       NM     90005274418
717576A6833699   OTONIEL       CORTEZ                      NC     12016766068
71757A68272479   STEPHEN       GEOLLIHUE                   PA     90006260682
717581A777B661   TRACEY        MORRIS                      GA     90012861077
7175893A355966   AMERICA       CALDERON                    CA     90011579303
717591A9431433   CHARLESETTA   ATKINS                      MO     90013951094
7175937487B661   JOANN         JETTON                      GA     90014883748
7175954458B134   CHRISTOPHE    BUSH                        UT     31084875445
7175974959154B   JUAN          GARZA                       TX     90014427495
7175B2A5957157   WILFREDO      FERRUFINO                   VA     81017362059
7175B37478593B   VERONICA      JANSON                      KY     90013483747
7175B464272B44   RAQUEL        RIVERA                      CO     90013744642
7175B53598B168   NICOLE        ROBINSON                    UT     31047275359
71761321172B98   CATHERINE     TRUJILLO                    CO     33038883211
7176157558B134   WENDY         SHIELDS                     UT     90014455755
71761586A72B32   JAMES         BUSWELL III                 CO     33078445860
71762221372B29   JOHN          BROWN                       CO     90013132213
7176259A584322   LORENA        ROBLERO                     SC     90014755905
7176278137B661   TRE           LAWRENCE                    GA     90013287813
7176299879154B   CLAUDIA       REYES                       TX     75005589987
7176331959154B   JOSE          SOLORIO                     TX     75088883195
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 704 of 2350


71763A7788593B   SCOTT        MCDAVID                      KY     90012580778
7176457463168B   MOLLIE       MOREHOUSE                    KS     90012105746
71764583372B44   NELLIE       SALAS                        CO     90003155833
71764AA3631482   BRANCE       THOMPSON                     MO     90012110036
7176523248B163   CAMILLE      SLATER                       UT     31080572324
71765A25572B44   JAZMINE      WITHERS                      CO     90004500255
7176638277B661   VICTOR       SANTIAGO                     GA     90009103827
7176719748B157   NOEMI        RUIZ                         UT     90013841974
7176744763168B   LAURIE       DELLING                      KS     22096364476
7176758918B168   CHRISTINE    LARSON                       UT     31040035891
71767616A55939   PETE         MARTINEZ                     CA     48027936160
71767AA829376B   BRANDON      BOHANNON                     OH     90007930082
71768211372B29   JOSHUA       CHAVEZ                       CO     90011412113
7176822388B168   JOSEPH       PROWS                        UT     90009512238
71768256A72B32   STEPHEN      PISANO                       CO     33087262560
71768A32772441   PABLO        HERNANDEZ                    PA     90010160327
71769261A72B44   JESSIE       BENOIT                       CO     90011592610
717692A6284322   ALDY         LOPEZ                        SC     90015062062
7176948158B168   INGRID       DE LEON                      UT     90013394815
7176949A25B384   FLOYD        MCCLAIN                      OR     90010544902
71769A33681633   MEGAN        PEREZ                        MO     90010920336
71769AA6141227   JOSEPH       MORRONE                      PA     90011800061
7176B248A55939   ANGELA       WASHINGTON                   CA     48053572480
7176B62A78B163   JOSE         GONZALEZ                     UT     31024086207
7176B797372B98   JERRY        VODKA                        CO     90011807973
7176BA77841237   TYRONE       BROADUS                      PA     90002640778
7177132435B384   ESPINOZA     EDWEYNA                      OR     90008353243
71772A89872B29   JANET        GALVIN                       CO     33063360898
7177341918B134   KARLA        FRIAS                        UT     90011404191
71773449672B98   JOSE         LUZ                          CO     90015134496
717734A917B477   GERARDO      GOPAR                        NC     11075084091
717734AA77B661   JERMAINE     FRAZIER                      GA     90013324007
71773A83584322   DANIEL       DIAZ                         SC     14575940835
71774396572B98   JESUS        ALFARO                       CO     90005363965
7177476995B169   MATTHEW      ZIMMERMAN                    AR     90014917699
7177486487B661   LIZABETH     GOMEZ                        GA     90014828648
7177521A631433   CAMARA       BESCHEMIN                    MO     90015412106
7177536515B245   NATALIE      SMITH                        KY     90010723651
71775441572B44   JOSE JUAN    LERMA                        CO     33021024415
71776191272B32   ERIC         MERCADO                      CO     90013291912
71776561272B98   VANESSA      ROBLES                       CO     90014615612
7177674847B661   BEVERLY      WILSON                       GA     90013347484
71776871372B32   RAMON        DE LOS MONTEROS              CO     90002708713
717769A1171921   JEANNA       MENDOZA                      CO     32001469011
7177732887B661   ALEXIS       GOINES                       GA     90015193288
71777928A71921   TIFFANY      JACKSON                      CO     32036579280
71777AAA18593B   CODY         BELL                         KY     90015150001
717782AA49154B   RAMON        RODRIGUEZ                    TX     90013612004
7177848455B59B   ARMANDO      REYES                        NM     90010354845
71778542172B44   MARY         HERRERA                      CO     90008875421
717785A1457157   JEOVANNY     GARICA                       VA     90006035014
7177B46A672479   LEONARD      LARKIN                       PA     51013504606
7177B756641253   TYRONE       MORGON                       PA     90010967566
7177B898481633   REAVUS       SIMS                         MO     29085108984
7177BA91472B29   ARICA        TAYLOR                       CO     33000510914
7178151695B384   JOANNAH      KINDRED                      OR     90010545169
71781A24A85871   REBECCA      OCLASSEN                     CA     46072130240
71782265872B98   LUEVANO      MARTIN                       CO     33017552658
71782486572B29   IRIZ         SAUCEDO                      CO     90010224865
7178274569154B   MARIA        VILLABOS                     TX     75087337456
7178279638B163   JUSTIN       ANDERSON                     UT     90012667963
71782891872B32   GUSTAVO      ZARATE                       CO     90012788918
7178341678B163   JULIO        BAUTISTA                     UT     31003524167
71783524572B32   JOSE         MENA                         CO     90013095245
71783821A72441   LISA         STRINGERT                    PA     90014858210
717838A9972B29   CHRIS        MAYBURY                      CO     90011658099
71783961A3168B   DAKOTA       DEGRAFFENREID                KS     90011009610
71783A84933698   ANGELA       JONES                        NC     12041920849
7178441A872B44   TASHA        NELSON                       CO     90012504108
7178469349154B   JANETTE      GUERRERO                     TX     90000346934
7178619558593B   STEPHEN      TALBERT                      KY     90011201955
717863A235B384   JASON        GAGO                         OR     44548123023
7178699385B59B   ORLANDO      ROYAL                        NM     35012699938
7178768118B142   DANA         GRAHAM                       UT     31034286811
717876A928B157   CASSANDRA    SCHIFFMAN                    UT     90000866092
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 705 of 2350


71787762572B32   MARIA        PAYAN                        CO     90005767625
71787A12455939   ANTONIA      RODRIGUEZ                    CA     90008900124
7178826245B169   KEVIN        NEAL                         AR     90013932624
717882A2A8B134   IRENE        LEMUS                        UT     90011262020
71788638A71921   CARLOS       ROACHO                       CO     90011916380
717887A877B477   OUTHMAN      SALEH                        NC     90014387087
71788942127B98   MARVA        PATTON                       KY     90011609421
7178968A18B163   IOSEFA       TAOSOGA                      UT     90014156801
7178974A172441   SHAUN        LAVETTE                      PA     90011307401
717897A4655966   EDUARDO      ANAYA                        CA     90013847046
7178B286972B29   JOAN         GRIFFITH                     CO     33000032869
7178B868572479   CHARLES      TISOT JR                     PA     51089338685
7178BA8155B59B   JONATHAN     ORTIZ                        NM     90014500815
7179119988593B   WALTER       LARISON                      KY     66052031998
7179119A872B29   DENISE       SEGURA                       CO     33080151908
717917A3797B41   JOSE         RODRIGUEZ                    CO     90013787037
71791826672B44   SIMEGN       RETA                         CO     90013388266
7179185A172479   JONATHAN     MOON                         PA     51067688501
7179189645B169   JOHNNY       METZGER                      AR     90010998964
7179193867B477   MARCO        ANTONIO                      NC     90001999386
717919A3441237   JACK         MALONE                       PA     90014369034
71792446772B98   MEA          KAICO                        CO     33036794467
7179254A33168B   KAYLA        LEONARD                      KS     90009975403
7179259518B142   PHYLLIS      LONG                         UT     31001425951
7179296227B661   GABRIEL      TRIPP                        GA     15074169622
7179398438B163   PAUL         VANBUSKIRK                   UT     90014879843
71795387A84322   VANESSA      BURNELL                      SC     90011403870
7179581488593B   CHERI        CAUDILL                      KY     66044038148
71795A4868B134   ANDRES       GUARNEROS                    UT     90011490486
7179659978B134   TRACIE       BRANDOW                      UT     31011425997
717973A3172441   LATOYA       SEYMOUR                      PA     51073493031
7179748622B994   ROBERTO      RODRIGUEZ                    CA     90013854862
7179754A131443   LATOSHIA     WADE                         MO     27596975401
7179765629154B   NANCY        CORONA                       TX     90012066562
7179768118B142   DANA         GRAHAM                       UT     31034286811
71797911A5B522   STEVEN       MELZARD                      NM     90000189110
7179855A17B661   TAWANA       BRUMFIELD                    GA     15046585501
7179891A78B163   CYNTHIA      SMITH                        UT     90012839107
7179B159271921   HOMER        LASETER                      CO     32008451592
7179B26A43168B   LA DETRA     DEVON                        KS     90011092604
7179B41A341253   ANGEL        YARBOUGH-PRYOR               PA     51025364103
7179B741A3B351   TANYA        RICHARDSON                   CO     90009057410
717B1163855969   ANGELA       MORALES                      CA     90012731638
717B143217B477   ROMAN        SANCHEZ                      NC     90015274321
717B146417B661   KARL         HOLLIS                       GA     15052214641
717B1573661935   ESTHER       VILLARREAL                   CA     46043815736
717B1A3589154B   LANCE        LOPEZ                        TX     75056230358
717B1A4488B163   DEBBIE       GALBRAITH                    UT     31077460448
717B245569154B   JOSE         GANDARA                      TX     75063264556
717B2626831443   VINCENT      GOODE                        MO     90001496268
717B2758455939   ESMERALDA    CASTILLO                     CA     90010497584
717B27A852B994   LEO          LOPEZ                        CA     45093127085
717B2987172B32   OSCAR JR     ARELLANO                     CO     90011359871
717B299513168B   CONCEPCION   VITAL                        KS     22035999951
717B2A24131634   VINCENT      BENNETT                      KS     90008110241
717B2A33761935   CINDY        WILSON                       CA     46068660337
717B3155371921   RANDI        FREE                         CO     32088381553
717B3413A72479   PJ           SCHMACK                      PA     90015274130
717B3515893739   JAYME        WOODY                        OH     90014975158
717B3724231433   KAYLAA       TOWNSEND                     MO     90014317242
717B379785B59B   AUDRENA      VALDEZ                       NM     90007907978
717B3812657157   RONNIE       RALDA                        VA     90014208126
717B3A9A172B32   CHARLES      LAWAGA                       CO     33023360901
717B4133441237   THOMAS       RICHARDSON JR                PA     90014541334
717B4441472441   JUSTIN       POTTS                        PA     90013984414
717B4649357128   PHYLLIS      AWAP                         VA     90002476493
717B471325B395   FLETCHER     NASH                         OR     90001597132
717B4828793739   NANCY        JASPER                       OH     90014828287
717B5286555939   MANUEL       ARVIZO                       CA     90014602865
717B5424381633   MIGUELINA    LEYVA                        MO     29084914243
717B5583A31443   CIERRA       PRICE                        MO     90015185830
717B5612971921   SANDRA       MOORE                        CO     90007266129
717B576528B163   ROBERT       TROYER                       UT     90012857652
717B579177B477   JOSE         ROBLES                       NC     90010677917
717B5875133699   KAREN        SHERMER                      NC     12049288751
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 706 of 2350


717B5A25955966   DANIEL                          SHACKELFORD    CA   48064010259
717B626388B142   MARCY                           RYDER          UT   90013822638
717B633697B398   JULIO                           ARDON          VA   90002463369
717B6384281633   BRIAN                           DAMRON         MO   90013583842
717B6426633658   BEATRIZ                         ORTIZ          NC   12010174266
717B65A5884322   MARIBEL                         PEREZ          SC   90014105058
717B684549154B   JORGE                           BARRIOS        TX   75000758454
717B69AA141253   TERRY                           CROFT          PA   90015129001
717B6A33272B98   GALE                            KIRBY          CO   90002360332
717B6A64572B44   LISBETH                         RODRIGUEZ      CO   90012930645
717B7149A3168B   WILLIS                          LUIS           KS   90013571490
717B7423131443   MARYANNE                        BECNEL         MO   90011204231
717B744568B142   JUAN                            JASSO          UT   90015344456
717B7875A31433   BRIAN                           BLISS          MO   90011148750
717B844A627B98   SHARICKA                        BRAXTON        KY   90001074406
717B8566A84322   TONYA                           STANLEY        SC   90015015660
717B8588A2B994   FABIAN                          PENA           CA   45010055880
717B8625757157   ALFREDO                         DIAZ           VA   81005216257
717B8A55355969   NANGKA                          SEECHAN        CA   90012500553
717B8A86541253   DAISY                           PROCTOR        PA   51073380865
717B9287757157   SANTOS                          CENTENO        VA   90011972877
717B944778B336   MARTIN D                        CHEVALIER JR   SC   90007434477
717B9536361935   DANIEL                          YOUNGS         CA   90006535363
717B972338B163   ANTHANY                         SANTOS         UT   90013087233
717BB1A4684322   JOSE                            AGUILAR        SC   90015301046
717BB384641237   MARK                            FULMORE        PA   90014873846
717BB461884322   JASON                           HARD           SC   90014554618
7181125828B157   MICHAEL                         DOUGHERTY      UT   31058982582
7181128475B59B   ROBERT                          FREAN-LAJEN    NM   90015272847
71812326127B98   MARVIE                          POINTDEXTER    KY   90013653261
7181329A772479   REBECCA                         OLEXA          PA   90012882907
7181371A18B157   KEELY                           JORDAN         UT   90014407101
718141A2971921   ROBERT                          WILLMORE       CO   32039301029
7181438AA31433   DEJA                            MYERS          MO   90011903800
7181463237B477   DASHAIREE                       PATTERSON      NC   90012786323
71814A16554B84   YESENIA                         PINEDA         VA   90004540165
71815344A61999   CHRISTOPHER                     DONOHO         CA   90008433440
71815528A84322   ERIKA                           JAMES          SC   90012165280
7181553695B169   KIARA                           CRISWELL       AR   90013925369
7181576626195B   JUAN                            PARRA          CA   90012617662
71815A67472441   DEBORAH                         WRIGHT         PA   90007600674
7181633377B477   DAREN                           WILLIAMS       NC   11028473337
7181673A371921   ROSALINDA                       MENDEZ         CO   32014737303
7181682A241237   PAMELA                          LEE            PA   90000368202
71817284A72B44   CARREON                         LOURDES        CO   90010572840
7181732762B994   CELEST                          CASTANEDA      CA   90014933276
7181733932B994   CELEST                          CASTANEDA      CA   90013433393
71817626A5B169   JEFF                            HENSHAW        AR   23053466260
7181829668593B   STEVEN                          BANFIELD       KY   90014262966
71818A1A58B168   BRENDA                          WANLASS        UT   31090830105
7181911A17B661   DEXTER                          RENDER         GA   90002711101
718198AA781255   TREVIA                          SPALDING       KY   90011938007
7181B25158B163   JASON                           ROGERS         UT   90010802515
7181B8A554B291   ELIZET                          VILLALOBOS     NE   90002318055
7181B95222B994   MIKE                            JONES          CA   90014769522
7181B999731447   KRYSTIN                         RAMIREZ        MO   90007599997
7182148243168B   DONALD OR KATHRYN OR SUNSHINE   HOFFMAN        KS   90013374824
7182152A472479   RENA                            ALFORD         PA   51057515204
718217A8781633   CYNTHIA                         DYKES          MO   90012067087
71821972872B29   HECTOR                          AGUIRRE        CO   90010729728
7182224515B169   ZAN                             THOMAS         AR   90003352451
718231A8272B98   DEREK                           LEONARD        CO   90005881082
718234A7555966   LEOBARDO                        VIDAL          CA   90011584075
71823585972B32   RASHAD                          BROADNAX       CO   90013205859
7182359A94B541   JIMMY                           CLARK          OK   21532585909
7182387275B59B   JOSEFINA                        GONZALEZ       NM   90007908727
71823A49157157   EVER                            RODRIQUEZ      VA   81057530491
71824144A31443   YOLANDA                         FRACIER        MO   27562061440
7182485225B375   DAHN                            ANDERSON       OR   90003978522
71824A29393739   GARY                            BELL           OH   90013230293
7182542A241253   DAWN                            TAYLOR         PA   90001914202
71826531472B98   JOSEPH                          HARTMAN        CO   90014205314
71826A24557157   KEN                             SUTTON         VA   90006210245
7182865677B661   KATHY                           THOMPSON       GA   90007636567
7182927A89154B   NANCY                           HARRIS         TX   90006062708
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 707 of 2350


718318A687B661   JUSTIN       BATTLES                      GA     90013908068
71832478A71921   MARIA        RAMOS                        CO     90014814780
718325AA65B384   IAN          HEGGEN                       OR     90006945006
718329A9955939   VALERIE      LIRA                         CA     48008489099
71832A2668B168   PARKER       RANGEL                       UT     90006270266
718336A9641227   TINA         SANCHEZ                      PA     90010606096
71833789172B44   RICARDO      BRITO                        CO     33023787891
7183444A13B123   EUNIQUE      STRIPLING                    DC     81056024401
71834596A3B393   CARMEN       DECHAPARRO                   CO     33080645960
7183484463168B   MELISSA      MARTINEZ                     KS     22092008446
7183518172B994   ANGELICA     GARZA                        CA     45067071817
718363A8531443   ALLEN        WILLIS                       MO     90010653085
7183661598B157   ABDULAZIZ    BUKUR                        UT     90012926159
71836873372B44   ANGEL        FLORES                       CO     90011618733
71836A63755939   PAUL RAUL    GARCIA                       CA     90013420637
718377A718593B   AMY          LANE                         KY     66078587071
71837867872B29   DAVID        BALDWIN                      CO     90011938678
7183868A98B168   JACK         DEGRAW                       UT     90007066809
71838A3A69154B   ALEJANDRA    VILLALOBOS                   TX     90014040306
71838A43441253   THOMAS       TRASP                        PA     51065340434
7183989645B169   JOHNNY       METZGER                      AR     90010998964
7183992A193739   LARRY        CHANLER                      OH     90005739201
7183B36857737B   STEPHANIE    PATTON                       IL     20517113685
7183B455955939   CESAR        LOPEZ                        CA     90013054559
7183B474372479   JOHN         TYLER                        PA     51080484743
7183B4A5757127   DAVID        SCHINASI                     VA     81082354057
7183B51A972B98   ROBERT       GRIMM                        CO     90014205109
7183B57A57B477   EDWIN        RODRIGUEZ                    NC     90000875705
7183B73475B169   LISA         LUCAS                        AR     90014147347
7183B826584322   KASSANDRA    LOPEZ                        SC     90013108265
7183B834472B32   ALVINO       WATKINS                      CO     33068578344
7183B93755B169   LISA         LUCAS                        AR     90003039375
7184119568B157   RICK         BUTTERFIELD                  UT     31032381956
71841339676B91   LUIS         RODRIGUEZ                    CA     90010583396
718415AA18B163   KEVIN        HODKINSON                    UT     31022035001
7184165A441237   CHELSEY      PHILLIPS                     PA     90002316504
7184171AA72B44   JULIAN       ALVA                         CO     90015237100
71842135172B44   ORLANDO      MARQUEZ                      CO     33076641351
7184219797B477   FERNANDO     GOMEZ                        NC     11016761979
71842298927B98   SIERRA       BREADFORD                    KY     90007462989
7184311278B157   BENA         VALDEZ                       UT     90012361127
7184344A671921   PATRICIA     GRIMALDO                     CO     90012274406
718434A8955939   SANTIAGO     MARTINEZ                     CA     90004184089
718436A6493739   MELISSA      SHINLEVER                    OH     64590776064
71844374A55969   SHERRIL      DUNKIN                       CA     90015013740
7184511275B169   MURANDA      BATTS                        AR     90015081127
71845872172B98   PAUL         MAHONY                       CO     33072218721
7184598892B271   GODOFREDO    MAJANO                       DC     90006539889
71845A9893B336   ANGELA       FUENTES                      CO     33018410989
71846268772B98   CHINYELU     NWANKWO                      CO     90002242687
71846335272B32   VIRIDIANA    ESTRADA                      CO     90008743352
71847513972B44   SONIA        CISNEROS                     CO     90004105139
71847835A72441   MEREDITH     WILLIAMS                     PA     51011208350
7184848A761935   ALBERTO      NEGRETE                      CA     90006694807
71848A1485B384   DAWN         WILLIAMS                     OR     44588210148
7184966945B596   ESTEFANY     GONZALEZ                     NM     90003206694
7184975348593B   VIKI         ORTIZ                        KY     66003397534
7184B2A7455939   PEDRO        ROSAS                        CA     90010052074
7184B4A328B157   CORRINA      MIDKIFF                      UT     90005184032
718514A867B477   ERIC         LYNCH                        NC     90009884086
718516A848593B   DOUG         RONNEBAUN                    KY     90014066084
718517A3272B44   BRIAN        FAUBION                      CO     33061467032
7185182988B163   ELVIRA       QUINTO                       UT     90012348298
718519A8793739   TERESA       COTTINGHAM                   OH     64545069087
7185224667B477   RICKY        PERKINS                      NC     11039412466
718524A1A57157   MELISSA      JOBACK                       VA     90014724010
7185431A655939   JOSE         GARCIA                       CA     90010283106
7185433A12B994   HARLEY       MATTHEWS                     CA     90012333301
71854366A33699   LAUCIANA     MINOR                        NC     90014623660
718545A295B59B   SHEL         ARREDONDO                    NM     90003835029
7185492939154B   ALEJANDRO    GARCIA                       TX     75002699293
7185522288B134   ANGELA       FREAR                        UT     90012802228
7185583915B596   FRANCISCO    RUIZ                         NM     35012668391
718561AA431432   EVERLYNE     AMAILUK                      MO     90003051004
7185632455B24B   SHEREESE     PETERS                       KY     90013583245
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 708 of 2350


71856988972B2B   MEG                DUNLOP                 CO     33090029889
71856A4179154B   MARQUEZ-GALLEGOS   SAROB                  TX     90010800417
71856A4948B142   ALAN               FORSTER                UT     90014330494
71857514A7B477   DAWN               CAR                    NC     90008195140
7185872717B661   SHUNTEL            DAVIS                  GA     90014707271
71858A1279154B   PATRICIA           MILLARD                TX     75039290127
71858A3177B477   GREGORY            EASTON                 NC     90015090317
7185917728B134   SHANNA             KEETCH                 UT     31080121772
7185927A48B142   SANDRA I           RIGHTER                UT     31007542704
7185B143941237   SHERRY             SMITH                  PA     90015001439
7185B219655969   LORRAINE           HALL                   CA     90012982196
7185B96518B134   JESUS              MANCILLAS              UT     90004329651
7185BA96933B44   ECO                MIGUEL                 OH     90013070969
7186171845B59B   LYLE               BROWN                  NM     90013027184
7186183712B994   CARMEN             CAULDIO                CA     45014538371
71861917A41227   JASON              SMITH                  PA     51015369170
718628A3241237   DANIEL             MCCOY                  PA     90014648032
71862A2125B169   FRANK              SALVO                  AR     90015300212
71862A3175B541   JOSE Y ELIZABETH   OLIVAS                 NM     90007510317
71862A67131443   KRISTON            WINKLE                 MO     90012650671
7186344878B142   BELEN              QUIJAS                 UT     90013744487
71863542A8B163   ARIC               RUSSOM                 UT     90014475420
718636A7481633   DANIAL             HARPER                 MO     90012476074
718658A717B661   TIFFANY            HOLLIS                 GA     15066558071
7186591827B428   OLMER              AGUETA                 NC     90012389182
71865A51272B32   SUSAN              CARBONE                CO     33043850512
7186753A172B44   MANUEL             ZAMARRON               CO     33087845301
7186777185B596   RICHARD            SPRAGUE                NM     90013517718
7186789565B59B   JOHN               BARRON                 NM     90009288956
718685A815B169   RICARDO            LOPEZ                  AR     90015205081
71868726572B32   DAVID              JAMES                  CO     33090887265
718689A468B157   BRITTIN            THEMANN                UT     90007429046
7186911948593B   JILLIAN            MARCUM                 KY     66001951194
7186966AA72B32   SEAN               DAVIS                  CO     90015186600
7186B233172441   JEAN               WUTTER                 PA     51051322331
7186B295572B44   GREG               RADFORD                CO     90011592955
7186B31823168B   WILLLIAM           GIBBS                  KS     22005353182
7186B464631433   DENISE             DORSEY                 MO     90012064646
7187126383B366   MOHAMMED           RAHMAN                 CO     90013142638
7187164177B477   NIACWINJA          MROURUG                NC     90012086417
7187169752B994   FEDERICO           FERNANDEZ              CA     90013696975
71871AA815B596   JUANITA            SANTOS                 NM     35013730081
7187287A25B241   RAMON              SANFORD                KY     68064838702
71872A24771921   MICHELLE           SHELDON                CO     90013760247
718731A9171921   DAVID              LEWIS                  CO     90011981091
71873236572B29   MEGHAN             ZUCKERMAN              CO     33050342365
71873476A41237   RONALD             TARVER                 PA     51037774760
718738AA29154B   EDUARDO            MORENO                 TX     75057298002
7187577199154B   DIANA              RIVAS                  TX     90009327719
7187619259154B   LILIA              LOZOYA                 TX     75055901925
718762AA38B168   JEFFERY            GUYMON                 UT     90013902003
7187651295B59B   ANDREA             REYES-RUIZ             NM     90014695129
7187659A88B163   TODD               COSSEY                 UT     31008575908
718769A115B596   TIFFANY            TROY                   NM     90012109011
718771A852B242   COREY              ROBERSON               DC     81001751085
7187734A541253   NANCY              CASSATA                PA     51069053405
7187774227B661   KENYELL            THOMAS                 GA     90014707422
7187779825B59B   BRADLEY            WEBER                  NM     90013597982
7187782218B142   DAVID              BROADBENT              UT     31057338221
71877849372B44   CRYSTAL            RODRIGUEZ              CO     90012728493
7187814A261988   ANTHONY            CASCARANO              CA     90009891402
71878344A61999   CHRISTOPHER        DONOHO                 CA     90008433440
71878584A55969   REYNALDO           CASTILLO               CA     90010295840
71878A8A955966   ANDREA             CRUZ                   CA     90011590809
71879254A84322   JASON              BASNETT                GA     90004902540
71879277227B98   ANDREA             BELL                   KY     90014162772
7187945112B994   RYAN               VILLANUEVA             CA     90014814511
71879735972B25   PILAR              ESCAMILLA              CO     33056417359
71879A23A33699   WENDY              MORENO                 NC     12090760230
7187B196433699   ANGELA             MAYES                  NC     90011351964
7187B645472B2B   FERNANDO           SANDOVAL               CO     90006966454
7187B68A63168B   ADRIAN             CASTILLO               KS     22092366806
7187B744481633   SILVESTRE          TAGLE                  MO     90009907444
71881111327B98   MARIE              BRISON                 KY     90015141113
7188125649154B   JOB                ORNELAS                TX     90015202564
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 709 of 2350


7188135998B142   ANDREW           MAYNEZ                   UT     31059393599
71882543A61935   PAYGO            IVR ACTIVATION           CA     90006715430
7188275433168B   SHALEEKA         POTTARD                  KS     90001177543
71882A97584322   LEO              FERIOZZI                 SC     90013350975
7188347233168B   VICTORIA         GRANADOS                 KS     90014364723
71883542872B29   OCTAVIO          MOLINA                   CO     90009385428
71883855772B98   ELENA            VIGIL                    CO     90001258557
7188394A68B163   YOLANDA          BARRETO                  UT     90013089406
71883A93841253   DARLEEN          EUPSEY                   PA     90015450938
7188423493168B   DAVID            HENRY                    KS     90002162349
71884316727B98   MICHAEL          HOLLIDAY                 KY     90011713167
71884A95784322   ERIC             SANDOVAL                 SC     14560480957
71885347A9154B   PATRICIA         SERNA                    TX     75045133470
718858A3A41237   MALAYA           BROWN                    PA     51001118030
71885945972B32   GERARDO          LOPEZ                    CO     90014629459
71886919672B29   KALENA           JOECKEL                  CO     90007029196
7188693A88B134   LINDA            HANSEN                   UT     31058239308
71886A26857157   MARCIA           POSADAS                  VA     90014260268
7188846875B59B   HUMBERTO         DAVALOS                  NM     35085514687
7188873319154B   CHRISTIAN        AGUIRRE                  TX     75004487331
7188913154B583   KALIEE           HUTCHISON                OK     90008251315
7188941983B137   ISMAEL ERNESTO   ASCENCIO                 DC     90004894198
7188944459154B   ALFREDO          PANUCO                   TX     90003774445
71889A58931443   JAMES            MULLINS                  MO     27518000589
7188B25437B661   VERNA            SANFORD                  GA     90011302543
7188B481433699   CRYATAL          SANTOS                   NC     90014624814
7188B66189154B   CORAIMA          SANTOS                   TX     90011686618
7188B79A155969   DEBRA            CALVO                    CA     48069217901
7188B954472479   SHERRY           KARPIAK                  PA     51083769544
71891984A91897   STEVEN           ZINK                     OK     90009359840
71892187872B98   EDWIN            HERRERA                  CO     33022461878
718922A768593B   BARB             CREECH                   KY     90012252076
7189239535B59B   REGINA           CARBAJAL                 NM     90014473953
7189287879154B   MONICA           IANNI                    TX     90010328787
71893115292B21   VUE              LEE                      WI     90009871152
7189353417B477   MIGUEL           SEGOVIANO                NC     90012105341
718935A495B169   GABBY            SALSBURY                 AR     90013005049
7189372568B185   WADE             GOODRUM                  UT     90011057256
71893731A72B27   JAVIER           HERNANDEZ                CO     33047697310
71893929372B98   VICENTE          JAQUEZ                   CO     90011809293
71893A82372421   LACY             COCHRAN                  PA     51054550823
71894365872B98   JESUS            RODRIGUEZ                CO     33061813658
7189453175B384   VIRGINIA         VAZQUEZ                  OR     44508635317
718949A185B169   TARREH           ROSS                     AR     90001989018
7189512762B888   TISHYA           LOVING                   ID     90008591276
71895192A8B855   LINTER           HEBEO                    HI     90013841920
7189528998B134   JANEEN           GARCIA                   UT     31054012899
71895826A93739   RUSSELL          NEUMANN                  OH     90000138260
71895A51755966   RICHARD          MAGALLANES               CA     90013040517
7189641915B169   JESSICA          KEATHLEY                 AR     23055574191
7189732778B163   ROSA             PRIETO                   UT     90008033277
71897769A72B87   TREVOR           WAGNER                   CO     90012797690
71898163A72B32   ANGELINA         ORTIZ                    CO     90003811630
71898183172B32   ROSA             ESPINOZA-VASQUEZ         CO     33017021831
718983A3555966   DAVID            CRUZ                     CA     90011593035
718988A8693739   BRIGETTE         VOYLES                   OH     64551008086
718988A917B477   PETRENIA         WALKER                   NC     11010308091
71898989672B32   JOAQUIN          PEDREGON                 CO     90011359896
71898A6128B142   BRANDON          YOUNG                    UT     90012270612
71899452A8593B   CRYSTAL          SPARKS                   OH     90014854520
7189B173827B98   JAMARCUS         SPATES                   KY     90014801738
7189B34469154B   GRACIELA         VILLALOBOS               TX     90013683446
7189B49A993739   ALYSSA           WILLIAMS                 OH     90010234909
7189B63838B142   ELPIDO           MADERA                   UT     90014006383
7189B75277B661   DAVID            HALL                     GA     15092747527
7189B864A55939   RICARDO          MOSQUEDA                 CA     48078388640
7189BA4338B134   BRANDI           MOON                     UT     31083250433
718B1118A31433   KAREN            TAYLOR                   MO     90012441180
718B1246257157   ALBA LUZ         OLIVA OLIVA              VA     90015112462
718B168129154B   LIZA             DICKERSON                TX     90004826812
718B1697593739   EDWARD           GARRETT                  OH     90010176975
718B1997572B98   NOHEMI           GARCIA RAMIREZ           CO     33038129975
718B19A5341253   MICHAEL          ANISZEWSKI               PA     90012039053
718B2216255939   JOSE             GALLARDO                 CA     90010692162
718B2319231443   ERIC             ELAM                     MO     27567233192
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 710 of 2350


718B2387A84322   VANESSA      BURNELL                      SC     90011403870
718B2435772B32   TERRY        PAPADIMITRIO                 CO     33054074357
718B2593991827   ANGELLA      GURARD                       OK     90009285939
718B3237A91993   WILMER       DOMINGUEZ                    NC     90007342370
718B325448593B   NICOLE       MADARIS                      OH     66096682544
718B3945131433   JESSICA      MCCANDLESS                   MO     90009669451
718B3A86272B98   MARIA        LIM                          CO     90014520862
718B4458972B32   JESSIE       DELA CRUZ                    CO     90008164589
718B4967672B44   BRENDA       LUJAN                        CO     90009369676
718B5445A8B157   KATHY        OTT                          UT     31042124450
718B5511761935   DAVID        VANWINKLE                    CA     90006945117
718B558A88B168   PRESTIGE     AUTO DETAIL                  UT     90010185808
718B5989833699   SANDRA       CUNNINGHAM                   NC     90013709898
718B5A7549376B   KIARRA       JAMES                        OH     90012970754
718B6545672B32   MARTHA       LOPEZ                        CO     33086405456
718B6674831672   ALEEN        HORTON                       KS     90011656748
718B6833733699   WANDA        BIDDLE                       NC     12001548337
718B6956A72B98   YADIRA       VASQUEZ                      CO     33041669560
718B719118B163   B            JOHNSON                      UT     90014771911
718B7644A72B32   DAVID        LUCERO                       CO     90013756440
718B7867672479   JOSHUA       KRAUS                        PA     90013878676
718B7993855969   JOSE         GALLARDO                     CA     48085199938
718B8225672B29   JEFFREY      ROTH                         CO     90015172256
718B827265B59B   MANUEL       ARMENDARIZ JR                NM     35041822726
718B867A172B44   CLAUDIA      GOMEZ                        CO     33055276701
718B8738155939   ISMAEL       NAVARRO                      CA     90012967381
718B9165841227   JERY         COOK                         PA     90002501658
718B95A488B157   ALLEN        MARKUS                       UT     31091545048
718B969377B477   WAKEISHA     SHINE                        NC     90013146937
718B9697655966   MARIA        PASILLAS                     CA     90014046976
718B9747355939   KYLE         FOSTER                       CA     90012467473
718BB21A772B98   JAMES        POLLARD                      CO     90012772107
718BB22355B169   MARY         KLECZKA                      AR     90010152235
718BB821A72441   LISA         STRINGERT                    PA     90014858210
718BB853131433   CHRISTINA    CARTER                       MO     27517238531
718BB986731432   NATASHA      WASHINGTON                   MO     27574199867
7191127568B157   TILSON       PORTER                       UT     90007652756
719116A367B661   DESTINY      ROBERTS                      GA     90008916036
7191222823168B   JERIE        WEST                         KS     90013292282
7191272A841227   VICTORIA     BOWSER                       PA     51009347208
7191284A472479   MICHELLE     BRUMLEY                      PA     90014738404
71912925A8B163   BROCK        BROWN                        UT     31078629250
719133A569154B   ELIAZAR      ALVARADO                     TX     90011443056
7191348272B994   NORMA        MICHAEL                      CA     90012454827
7191366218B142   BONNIE       BURT                         UT     31004076621
7191379A97B358   JESUS        MARTINEZ DE JOVEL            VA     81046787909
719137AA731443   VERGIL       BESS                         MO     90015447007
719141A5472B73   PATRICK      DICKMAN                      CO     90012551054
719144A7633698   DWAYNE       HOWARD                       NC     90014814076
71914534A9154B   RYSTAL       ROSALES                      TX     90012185340
7191472787B661   ANTONIO      HERNANDEZ                    GA     90008097278
7191531722B267   SHAKITA      PERRY                        DC     90012993172
7191544588B134   CUMMINGS     BREONA SHAY                  UT     90008434458
71915848572B29   KIMBERLY     GUERRERO                     CO     90010658485
71915A2AA8B163   MIKEE        ANDERSEN                     UT     31015740200
71915A94931443   CYNTHIA      STRUDELL                     MO     90015170949
719162A597B661   SHANAY       WILLIAMSON                   AL     90011482059
71916959A33698   CHRISTINA    SMITH                        NC     90004289590
71916A72A8B134   WILLIAM      TRUJILLO                     UT     90013100720
7191746455B596   PEDRO        BELTRAN                      NM     35035504645
719187A938B157   MONICA       DELGADILLO                   UT     90010887093
71918815A5B169   PAYGO        IVR ACTIVATION               AR     90008938150
71918932A2B994   ROSA         CERVANTES                    CA     90007249320
7191952A671921   DORMINA      HEMINGWAY-MANSKE             CO     32042995206
7191953915B169   LACIE        OWENS                        AR     90013015391
7191B666255939   TRAVIS       SANDOVAL                     CA     90009376662
7191BA22791993   JAMES        SMITH                        NC     90006680227
7192115845B384   RICARDO      SANCHEZ                      OR     44568291584
7192127578B134   MYNOR        PORTILLO CARRILLO            UT     90013792757
7192138298B157   MIGUEL       CHAVEZ                       UT     90006073829
7192146753B358   KIM          OTT                          CO     33084004675
7192167118B168   GARY         POWELL                       UT     31005676711
7192211A35B596   ROSA         CHAVEZ                       NM     90005551103
719221A7976B2B   ZORAIDA      MALDONADO                    CA     90003721079
7192222799154B   JACOB        VENEGAS                      TX     90000522279
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 711 of 2350


71922471827B98   CLARK        LUCAS                        KY     90012284718
719225A428B165   AMBER        WADE                         UT     90002015042
71922981A9376B   MICHELLE     LAIN                         OH     90008689810
719229A9871921   JOEL         MALDONADO                    CO     32094149098
7192334475B384   JAMES        CONNELL                      OR     90005063447
7192396292B994   MARIE        GARCIA                       CA     90010929629
71924135672B44   REBECCA      CARTER                       CO     33083701356
7192416584B531   CHRISTOPHE   PLATT                        OK     90001681658
71924538772B32   DALE         SCHEIBER                     CO     33037815387
7192475515B169   LESLEY       MOSLEY                       AR     23034197551
71924A3117B661   CHARLES      BEEBE                        GA     90013640311
7192524375B596   COLLEEN      BURKE                        NM     90005852437
7192537AA72421   STEPHANIE    FULLER                       PA     90005773700
7192539A655969   KYLE         FLYNN                        CA     90010283906
719253AA13168B   JESSICA      WYANT                        KS     90006043001
7192572299154B   JORGE        TREJO                        TX     90014047229
7192627717B487   JESSICA      JACKINS                      NC     90014212771
71926425372B98   NANCY        VARGAS                       CO     33074474253
7192665738B157   MELINI       TUKUAFU                      UT     90012686573
719267A5A51325   TERRI        POWERS                       OH     90008817050
71926855A72B32   JULISSA      SALAZAR                      CO     90009688550
71926A37155969   NATIVIDAD    VALDEZ                       CA     90009960371
7192733618593B   RAYMOND      CRADDOCK                     KY     90013563361
7192752A931432   JUSTIN       DURLEY                       MO     90014535209
719275A4655966   YESENIA      NUNEZ                        CA     90014115046
71927666A71921   JOEY         HARROW                       CO     32088586660
7192841A472B32   DAWN         BARTOLONE                    CO     90014824104
7192868A171921   BRITTANY     CROFFUT                      CO     90013846801
7192915474B531   JOYCE        JACKSON                      OK     90009921547
71929331A93739   MILTON       LEWIS                        OH     64503713310
7192935649373B   MICHELLE     DUNBAR                       OH     90011773564
71929745A8B142   KASEY        PATTERSON                    UT     90013767450
7192B64319154B   DELICIA      GALLEGOS                     TX     90014366431
7192B77978B134   JULIA        ARELLANO                     UT     31048277797
7192B85877B661   AVERY        STEVENSON                    GA     90015198587
7192B917972B98   ABRAHAM      ZAVALA                       CO     33018619179
7193146219154B   LUIS         MOLINA                       TX     90013094621
71931A21572441   NANCY        DOBSON                       PA     51038320215
71932117A55969   JESSICA      ALDANA                       CA     90012991170
71932839172B32   JOHN         ROYBAL                       CO     90011738391
719344A5A93739   KENDRICK     BLOCK                        OH     64505504050
71934794697B81   KARRIE       ELKIN                        CO     90010407946
71934A6298B134   ANISSA       PETERSEN                     UT     90012360629
7193579A472B29   Q            LAMB                         CO     33046427904
7193644162B388   ALONZO       HARVIN                       CT     90015074416
71936683A2B994   ROMAINE      GHOSTON                      CA     90013456830
71936746927B98   BRANDON      BUCKNER                      KY     90011817469
71936895A3B321   HATTIE       CUTCLIFFE                    CO     90007228950
7193761555B59B   JULIANNA     ABEYTA                       NM     90010646155
7193771A57B661   VERONICA     JONES                        GA     90014777105
71937A37A33698   LISA         DEAN                         NC     12064730370
71937A59172B98   PERLA        CRUZ                         CO     90006690591
719383A469154B   FRANCISCO    MAURICIO                     TX     75089563046
71938413472B44   EVELYN       MIDDLETON                    CO     90011194134
719385AA161941   DANIEL       BLANKEVOORT                  CA     90011385001
7193884145B59B   DOMINIC      MARKS                        NM     90007788414
7193969232B994   SANDY        ALONZO                       CA     90015196923
719397A238B157   RICHARD      RUTLEDGE                     UT     31034427023
7193994698B163   RILEY        OVERSTREET                   UT     90013869469
71939A5A755939   MARIA        TURJILLO                     CA     90010260507
7193B318872B44   ELENA        MAYO                         CO     90011593188
7193B47788B142   TAMI         CLAYSON                      UT     31005234778
7193B68A42B271   JEROME       WAITE                        DC     90003066804
7193B845841253   JEFFREY      DAINTY                       PA     51070828458
7193B936584322   BYRON        JOHNSON                      SC     90014159365
719415AA931433   ALLEN        TATES                        MO     90013225009
7194216638593B   ANTIONETTE   HALL                         KY     90012561663
7194228819154B   DANNIEL      ACOSTA                       TX     90012262881
719423A818B163   MARE         OMOD                         UT     31080413081
71942532727B98   HARRY        WHITE                        KY     90011955327
71942A29633698   ESTEBAN      RODRIGUEZ                    NC     12048580296
7194311A172B32   JESUS        OLAVE                        CO     90010791101
71943746927B98   BRANDON      BUCKNER                      KY     90011817469
7194396257B477   DIONNA       PERRY                        NC     90006809625
7194483887B661   TONYA        CARTER                       GA     90014798388
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 712 of 2350


7194567548B142   DAVID         ANDERSON                    UT     90013496754
7194593A593739   ANDREA        VINCENT                     OH     90003099305
7194623464B257   NAM           NGUYEN                      NE     90011682346
7194638A87B477   SHAMEL        BELL                        NC     90013343808
71946481672B29   JIM           BENNETT                     CO     90009244816
71946881A57157   JAMES         ALLEN                       VA     90012908810
719469A3841227   STACIE        WILLIAMS                    PA     51069479038
71946A9169154B   GODWIN        MAYOWA                      TX     90011940916
7194753A672479   GABRIELLE     MACKO                       PA     90013225306
7194789A18B142   ALBERTO       BARRERA                     UT     90013768901
71948265533B3B   BRIANNA       ASHMAN                      OH     90013642655
719489AA955939   DIANNA        CONTRERAS                   CA     90012449009
71949223472B98   MARILEN       MULLINS                     CO     90006172234
7194982699154B   MUNOZ         MARIBEL                     TX     90014178269
7194983988B168   TEAH          RADANDT                     UT     90012768398
719499A333168B   LUIS          RODRIGUEZ                   KS     90012629033
7194B717A72B32   DIANNA        HOFARTH                     CO     90007897170
7194B799957157   MARTIN        JONES                       VA     90012857999
7195152168B134   KYLE          BALDWIN                     UT     90005005216
719518A667B477   CHRISTOPHER   DIXON                       NC     90013248066
71951A63133699   JOHNNY        FLOYD                       NC     90006830631
719522A7741237   ARKALA        GILMORE                     PA     90006152077
7195236463168B   NACHAKA       JOHNSON                     KS     90008113646
7195273288B134   TRACEY        GARRETT                     UT     90011097328
71952A4827B661   MERCEDES      ALLEN                       GA     90006310482
7195314147B661   ISAI          JIMENEZ                     GA     90013201414
719535AA191548   CARLOS        ECHEVARRIA                  TX     90008605001
719538A3184322   SAUL          CORONA                      SC     90013958031
7195429328593B   CASSANDRA     HENDERSON                   KY     90009912932
7195458918B168   CHRISTINE     LARSON                      UT     31040035891
719546A5331482   GEORGE        BUSH                        MO     90001966053
7195479458B134   AJ            NEUSCHWANDER                UT     90012747945
71956587A41237   MIA           CRUMPLER                    PA     90011055870
71956939972B32   JANET         COOKSON                     CO     90004859399
7195749262B267   IMAN          PASHA                       VA     90005194926
71957517A31443   SHAUIMA       HASHMAT                     MO     90013775170
7195768657B661   DAVID         WARD                        GA     90014296865
71957A42261935   JEREMIAS      LOPEZ                       CA     90001530422
71957AA478B163   DINA          PROVOST                     UT     90013090047
719582A1191572   DMT           WIRELESS                    TX     75033712011
71958355272B32   ERIKA         HERNANDEZ                   CO     33019183552
71958737827B98   ANTONIO       MORENO                      KY     90015167378
7195892868593B   AMANDA        JONES                       KY     90002809286
7195982A641237   VIVERO        HARNENDEZ                   PA     90015308206
7195B515A77524   MARK          LARSON                      NV     90009085150
7196148145B384   GABERIELLE    GONZALEZ                    OR     44503644814
719614AA68B164   JOSEPH        JIMENEZ                     UT     90008244006
7196166378B168   JOSE          HERNANDEZ                   UT     90013396637
71962349A33699   CURTIS        MITCHEL                     NC     90008293490
7196278A172B32   DENISE        HULL                        CO     90013977801
71962A58A2B26B   SHERON        TATE                        DC     90001050580
7196314A333699   ASHLEY        SPEASE                      NC     90014711403
71963716972B32   MARTHA        UROZA                       CO     90007897169
7196372245B384   LUCAS         PERILLO                     OR     90002937224
7196441968B163   DANIEL        PELTON                      UT     90013894196
7196444A59154B   MIRIAM        ROSALES                     TX     90015114405
7196448A191991   SAMANTHA      CHEESEMAN                   NC     17094394801
71964A96733698   WALTER        MORROW                      NC     12030280967
71965116472B44   ASHLEY        ELLIOTT                     CO     90012081164
7196532A872479   DEBRA         GRANT                       PA     90010733208
71965864327B98   LATRICE       JOHNSON                     KY     90014548643
7196595512B994   DAISY         REYES                       CA     45019939551
7196617A78B134   DAMIEN        HOFHEINS                    UT     90015261707
71966242A27B98   DARAN         RUCKS                       KY     90014092420
71966255A55969   MARIA         VILLAFANA                   CA     90004962550
71966432A55966   RAFEAL        HERNANDEZ                   CA     90012764320
7196643369154B   SHAIMA        OZABY                       TX     90014834336
71966AA375B169   ERMA          MOYA                        AR     90011220037
7196718A38593B   ASHLEY        SWAINHART                   KY     90013641803
7196766618B168   ANGIE         CARTER                      UT     31051486661
7196789615B596   KAYLA         DIXON                       NM     35031118961
7196834715B59B   MAGDA         BARASA                      NM     35094483471
7196895955B597   FRANCES       MARQUEZ                     NM     90008079595
7196964A872B32   HOLLY         YANG                        CO     90011046408
7196B637371921   MATTHEW       LOPEZ                       CO     32089006373
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 713 of 2350


7197112469154B   YANETL       ESPITIA                      TX     90013271246
7197125938593B   NICK         AUSTIN                       KY     90014092593
7197133162B994   CHARLES      BOYER                        CA     90014183316
71971676672B32   JOSUE        OLIVAS                       CO     33061566766
719717A1184322   JEFF         SAULS                        SC     14585017011
719726A8472B44   BRIANNA      SONG                         CO     90010416084
7197296635B272   STACEY       MALONEY                      KY     90013859663
71972A17472B29   RANDY        SIPE                         CO     90007680174
71972A67831433   L            WIMBLEY                      MO     90010150678
71972A73393739   RICHARD      ASHLEY                       OH     64573450733
71973248A41237   UNCLE        BUCK                         PA     90014322480
71973934772B44   JESSICA      GOTTSHALL                    CO     90014659347
71973A91A7B661   AMANDA       MASCORRO                     GA     90015290910
71974179A91588   JOEL         REYES                        TX     90013951790
71974315372B29   DAVID        MONTES-ROMERO                CO     33010683153
7197435259154B   ELIZABETH    DE LA TORRE                  TX     75002703525
719745A649373B   RONALD       ELY                          OH     90012765064
7197479812B994   JESUS        VICUNA                       CA     45096017981
71974A13661935   MARIA        GUEVARA                      CA     90006820136
71974A44327B98   SAKIAN       BRUNSON                      KY     90014500443
71975287572B98   JOAQUIN      DELGADO                      CO     90013122875
71975598672B29   ALBERT       MCFALL                       CO     90012985986
7197576A971921   ANNE         SMITH                        CO     32042357609
71975A12286523   JAMES        NELLIGAN                     TN     90015520122
7197617149154B   RACHEL       GUSMAN                       TX     90013481714
7197643573168B   TERRY        BROOM                        KS     90014934357
7197684A75B169   MASSIE       STREET                       AR     90013068407
7197689A972479   TOM          BUCKLEY                      PA     51085378909
71977953972B29   CESAR        ARIAS                        CO     90008779539
7197799668B157   SHAWN        DELA CRUZ                    UT     90014309966
71978124A9154B   MIGUEL       MARTINEZ                     TX     90008971240
7197866618B168   ANGIE        CARTER                       UT     31051486661
71978AA4484322   TAMI         PHILLIPS                     SC     90013860044
71979339972B44   MONIQUE      RILEY                        CO     90005913399
7197997898B163   DAVID        ARNO                         UT     31077229789
71979A6A172B29   DIA          ROMERO                       CO     33048010601
71979AA4272B98   OSCAR        AVILAS                       CO     90011810042
7197B16628B157   DANA         LUECKLER                     UT     90013181662
7197B216461935   LAROO        MANN                         CA     90006552164
7197B433133698   TRACY        MCINNIS                      NC     12004284331
7197B83322B994   INECIA       ABASTA                       CA     90011948332
7197B841555966   ALBINO       TRUJILLO MARTINEZ            CA     90013048415
7197B8A827B661   SANDRA       SANTIAGO                     GA     90015498082
71981337A8593B   ADRIENNE     BARRETT                      KY     90014713370
719814A4333698   CHENAL       MOORE                        NC     90000524043
719816A112B994   CHASITY      LEE                          CA     90008076011
71981975A55939   GERARDO      ALCAYA                       CA     90014099750
7198283A85B384   DAMONICA     DUBOSE                       OR     90010548308
71982A67527B98   ANN          CRUITE                       KY     90015120675
71982AA459125B   RENEE        BOYD                         GA     14517040045
71982AA5455939   JULIO        BARBOSA                      CA     90013370054
7198345468B134   DONNA        CALL                         UT     31013494546
7198383458593B   MICHAEL      SOARD                        KY     66070348345
719838A8557157   DOMONIQUE    SELLERS                      VA     90011588085
7198415218593B   ASHLEY       CLARK                        KY     90012501521
7198441919154B   MELISSA      HERNANDEZ                    TX     90008344191
71985133972B32   DARLENE      OLIVAS                       CO     33096931339
7198547518B157   REBECCA      FEDEL                        UT     31084364751
719854A6971921   MARIA        GARCIA                       CO     90007814069
7198649978B157   AILEC        ALVAREZ                      UT     90014824997
7198692755B169   MICHAEL      BROWN                        AR     23087039275
71987783A55939   LEONELA      LOVATO                       CA     48007007830
71987A68233628   TEMEKIA      GULLICK                      NC     90014050682
71988569A8B163   YANDY        MORAN                        UT     31072085690
71988831A72479   SAMUEL       DIETEMAN                     PA     90010298310
71988964A81255   LAURA        LENNON                       KY     90009769640
7198899A955969   OLGA         ESPINO                       CA     90012389909
71988A74381633   SARA         HEWITT                       MO     90010820743
7198937A841237   JACOB        PEKAROVICH                   PA     90010013708
7198998762B271   FLORENCE     WILLIAMS                     DC     90005419876
7198B372A93736   CHARLES      WALTERS                      OH     90009213720
7198BA2348B163   NATALY       LAGUNAS                      UT     90013090234
71991222772B32   SUSAN        NUNEZ                        CO     33095182227
719923A225B169   MELISSA      HOLCOMB                      AR     90011423022
71992A45141253   TEBAH        NANJI                        PA     51080860451
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 714 of 2350


71993612172B44   JAZMIN              LEZAMA-CRUZ           CO     90009496121
71994147A3168B   CHRISTY             IBARRA                KS     90011011470
7199491658B157   MATHEW              COPFER                UT     90011959165
71994A9A65B596   AVERY               KEENE                 NM     90002890906
7199574A333699   DENARD              ATKINS                NC     90014657403
7199577A372B32   MARTIN              ROSAS                 CO     33025927703
7199591875B596   ARTURO              VILLANUEVA            NM     90006609187
71996172172B32   MATTHEW             SIMMONS               CO     90012851721
71997335572B98   FERNANDO            HERNANDEZ             CO     90012613355
71997718572B32   CYTHIA              MILLER                CO     33058287185
71997991A61935   JORGE               FIGUEROA              CA     90010649910
71997A9888B142   DIEGO               FLORES                UT     90013770988
71998747A81633   GERALD              MCGOWEN               MO     90015207470
7199887428B157   TERRY               ARMBRUSTER            UT     90014768742
71998A3848599B   STACIE              MALTANER              KY     90008790384
71998AA218B142   MARIA               GALLEGOS              UT     90014490021
719992A5455969   AUSTIN              BACHTELLE             CA     48096932054
7199984229154B   ANDRE               BOONE                 TX     90010108422
7199B55A431443   DANA                BEATY                 MO     27573245504
7199B7A6A41237   TARA                MASULLO               PA     51087627060
719B1327472479   SHIRELY             WALKER                PA     90014703274
719B156658B134   MARIA               ALONSO MALDONADO      UT     90010575665
719B1579872B98   FRANK               GARCIA                CO     90012875798
719B1687185931   MAVE                NDJANGOSI             KY     90011056871
719B192828B142   MASA                FONOIMOANA            UT     90012519282
719B21A4371921   RACHEL              ENGLE                 CO     90002651043
719B268469125B   ANDREA              ALLEN                 GA     90014936846
719B2819527B98   JOHN                KEIFER                KY     90011738195
719B29A2872B32   CHRISTINA           BOVILL                CO     90000619028
719B325918B168   ERIC                MOE                   UT     90008912591
719B361838593B   MELINDA             WIGGINS-BREED         KY     90013596183
719B3663972B29   MARIA               GUEVARA               CO     33075836639
719B3823871921   JASMIN              MCCOY                 CO     90014088238
719B3886372441   SAMUEL              BOYT                  PA     90007288863
719B3932261935   SARAH               YARBOUGH              CA     90006799322
719B4185231432   RICARDO             CLAYTON               MO     90000141852
719B4521172B44   ANGELES             VERA                  CO     90002215211
719B496455B169   LANCE               MOORE                 AR     90013219645
719B4A98772B98   DORA                MIERA                 CO     90004240987
719B4AA283377B   CHRIS               GREENHAW              OK     90008830028
719B515748B163   SANDRA              CANHAM                UT     31095681574
719B5197633698   OUIDA               KING                  NC     90010171976
719B525378593B   LISA                WOHLFEIL              KY     66023922537
719B5644672B32   STEPHANIE           SOSA                  CO     90015086446
719B56A188B134   AMANDA              ANDREASEN             UT     90005796018
719B5A49757157   VICTOR              CAMPOS                VA     81036630497
719B6215A8B134   SUMMER              CLEMENTS              UT     31078882150
719B6471755969   MA                  RAYGOZ GARCIA         CA     90015104717
719B6632872B29   ALEJANDRO           MICHEL                CO     33084176328
719B674A29154B   KROP                JESSICA               TX     75045897402
719B6868A84322   REYNALYN            VEGAFRIA              SC     90000318680
719B7171857157   RONY                RIVERA                VA     81009531718
719B7198172B98   MARICELA            MARTINEZ              CO     33051651981
719B7228572B44   NICOLE              ARELLANO              CO     90006632285
719B7659A33699   GERARDO             ACEVEDO               NC     90010016590
719B7865A8593B   TRAVIS              DEHNER                KY     90011198650
719B81A4272B32   ALISON              HOSE                  CO     33037711042
719B8225284322   JUAN                GOMEZ                 SC     90013662252
719B8254255966   FRANSISCO           SALAZAR               CA     90014112542
719B8A8659154B   ANEL                ESCOBAR               TX     90006020865
719B934A95B596   MARIA               PULGARIN              NM     35066843409
719B984515593B   GILBERT             GUTIERREZ             CA     90012748451
719B9917472B98   TONANCY ELIZABETH   ANGULO                CO     90011579174
719BB229891991   FRANKIE             VALCARCEL             NC     17091722298
719BB251272B32   GEORGE              DWYER                 CO     33090182512
719BB916551349   NICHOLAS            KIRKLAND              OH     90008329165
719BBA68A9154B   EVERTH              HERMOSILLO            TX     75014530680
71B1111829154B   JAIME               SALDIVAR              NM     90010421182
71B1123428B163   ARACELI             LOPEZ                 UT     90013832342
71B11714755997   AARON               PERATT                CA     90012557147
71B1186458B385   MARQUIS             THOMAS                SC     90014208645
71B11927481255   ASHLEY              BLAYLOCK              IN     90007969274
71B11A95291572   ALLAN               GARRIDO               TX     90013500952
71B121A4331433   KIMBERLY            LATCHER               MO     90014831043
71B1233258593B   DAWN                HARRELL               KY     90002763325
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 715 of 2350


71B1237319154B   LILIANA         GONZALEZ                  TX     75088153731
71B1268A833698   CARL            BRYANT                    NC     90005576808
71B1278967B661   JERMAINE        TAYLOR                    GA     15012237896
71B12A2542B994   DAVID           JAUSS                     CA     90014400254
71B13579471921   WILLIAM         RIOS JR                   CO     90011435794
71B1359817B661   SHAKIEM         SCRIVEN                   AL     90013735981
71B1377A89154B   GUTIERREZ       JACQUELINE                TX     90013217708
71B13792471921   WILFREDO        ROMERO                    CO     90013227924
71B13954A8168B   AIDAN           VAN HOUTAN                MO     90009879540
71B13A49851341   MONIQUE         THORNTON                  OH     90012520498
71B144A5527B98   DONALD          WILKEY                    KY     90002174055
71B1453A431433   COREY           LOGAN                     MO     27565135304
71B1474977B661   SHELENA         MCHONE                    GA     90015107497
71B14874493739   KAITLYN         KISER                     OH     90008208744
71B1534448B134   ROCIO           VILLANEA                  UT     90014233444
71B15797141253   LYDIA M         REED                      PA     90012047971
71B1582688B157   ADAN            REGLADO                   UT     90013308268
71B1588467B661   ANITA           MCCLURE                   GA     15079628846
71B15A53A55966   DANIEL          PALOMINO JR               CA     90006180530
71B16271255966   FRANCINE        HERRERA                   CA     48016532712
71B16457457157   AHMED           TARAD                     VA     90012924574
71B16A89355969   CRYSTAL         RUIZ                      CA     90015020893
71B17415427B98   BENJAMIN        THACKER                   KY     90004414154
71B17457185937   ERIC            MILLER                    KY     90002154571
71B175A7233698   BEN             PARKER                    NC     90012865072
71B17797484322   RAQUEL          YOUNG                     SC     90011007974
71B17A19731673   KAREN           WONTORSKI                 KS     90007530197
71B17A6947B661   JASON           BROWN                     GA     90012400694
71B181A7872441   DARLENE         CICCONE                   PA     90003351078
71B18272784322   ELLITON         BROWN                     SC     90011352727
71B1858A62B994   TERRI           GADDESS                   CA     45095865806
71B1871918B163   TROY            HADLOCK                   UT     31090667191
71B19226741237   JOSEPH          BEDNAR                    PA     90014752267
71B1925418593B   NICHOLE         DEMORET                   KY     66017802541
71B19261555939   TANYA           RODRIGUEZ                 CA     48014032615
71B19667344344   ASHLY           NEWTON                    MD     90014626673
71B19A45391953   LESLIE          JATTA                     NC     90006240453
71B19A9A85B169   MAQUITA         GREENLAW                  AR     90015210908
71B1B118871921   FRANK           LABRIOLE                  CO     90013731188
71B1B165A72B98   EMMANUEL        ORTEGA                    CO     33081461650
71B1B62645B169   CHARLES WAYNE   QUEEN                     AR     90007466264
71B1B629893739   ROSE            SMITH                     OH     90015566298
71B1B71A727B98   ASHLEY          ALLEN                     KY     90015057107
71B1B818871921   JEREMIAH        FORAKER                   CO     90012148188
71B1BA47455939   SERGIO          LOPEZ                     CA     90008440474
71B21252731433   TAMMY           WILLIAMS                  MO     90013942527
71B2147258593B   ELIZABETH       SCHLENDER                 KY     66008734725
71B21855872B44   TIM             LIPPSTREIN                CO     90006118558
71B21A2689154B   MARIBEL         ARZAGA                    TX     90013620268
71B227A2785937   ASHLEY          REED                      KY     90015377027
71B22835881643   BILL            PITCHELL                  MO     90011188358
71B2289647B661   SHERRY          JEAN                      GA     90009788964
71B22AA995B596   SAMANTHA        NAJERA                    NM     90012530099
71B2319A88593B   LOGAN           LATOSKI                   KY     66098821908
71B2349185B59B   IVAN            LUJAN                     NM     90012604918
71B23763785937   CLARA           HERNANDEZ                 KY     90007947637
71B2394162B271   FUAD            HASSAN                    VA     81065149416
71B23A58772B32   FRANCISCO       TORRES                    CO     90013730587
71B2436742B994   RAFAEL          BAUTISTA                  CA     90012823674
71B2436758593B   KRYSTIE         BRUMLEY                   KY     90013773675
71B24574131482   CARMALETHA      MIMS                      MO     27578945741
71B2513A49154B   NATALIE         KOENIG                    TX     90005111304
71B2532569B839   STEVEN          DANYO                     NJ     90014343256
71B25462972B29   DAVID           MEDINA                    CO     90012604629
71B2554737B661   BARBARA         THROWER                   GA     90012235473
71B25725561597   KENNETH         PIERCE                    TN     90015227255
71B26171A4B251   DORARENA        SMITH                     NE     27015051710
71B2623668B163   CASSANDRA       EGBERT                    UT     90013832366
71B2638927B477   LAKTA           KRRBATRICK                NC     90007963892
71B26449297121   JACOB           HILL                      OR     90001244492
71B2652975B59B   NICHOLAS        GAVI                      NM     35069855297
71B2676518B142   SEAN            BEAN                      UT     31088467651
71B27734772B98   FELIPE          SOLANO                    CO     90014187347
71B27775941237   KIMIE           LANGLEY                   PA     51093807759
71B28219593739   LINDSAY         ALLEN                     OH     90008552195
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 716 of 2350


71B2846A272B98   MEGHAN            COBB                    CO     33032014602
71B28A71871921   DEBBIE            SPENCER                 CO     90010020718
71B29738472B98   TONY              CORDOVA                 CO     90014187384
71B29796257157   MAYCON            LAINEZ                  VA     90014937962
71B2992532B994   JESSICA           LEON                    CA     90010459253
71B29A9A38B189   THOMAS            CASEY                   UT     31082950903
71B2B17385B59B   WILLIAM           HARRISON                NM     90007881738
71B2B223555939   EDITH ALEJANDRA   PEREZ                   CA     90011422235
71B2B23668B163   CASSANDRA         EGBERT                  UT     90013832366
71B2B271255966   FRANCINE          HERRERA                 CA     48016532712
71B3129957B661   PINKEY            HOLLOWAY                GA     15031492995
71B31429333698   TIMOTHY           BARBOUR                 NC     90002694293
71B32135972479   KENNETH           GUSTAFSON               PA     90015001359
71B32784155966   ISABEL            ROBLES                  CA     90013897841
71B32AA6972B44   JAMES             MARTINEZ                CO     33012160069
71B3333AA7B661   TIANNA            FRYERSON                GA     90011023300
71B33543272B98   CATHY             MONTION                 CO     90005675432
71B3363458B163   LEON              ROSAS                   UT     31044806345
71B33669A3168B   ZELMA             GREENWOOD               KS     90013196690
71B3366A391586   LETICIA           LIZARDO                 TX     75022986603
71B3375815B225   TODD              WELLS                   KY     68012167581
71B3413589154B   MICHAELANGELO     ZAMORA                  TX     90011431358
71B34152685937   TIM               FRYE                    KY     90015031526
71B34398A7B661   JAMAR             LONG                    GA     90015203980
71B34463293739   GERARDO           VALDIVA HERNANDEZ       OH     90004814632
71B34579872B98   NATASHA           GARZA                   CO     90013315798
71B34784155966   ISABEL            ROBLES                  CA     90013897841
71B34835881643   BILL              PITCHELL                MO     90011188358
71B35114941237   KAMAU             THOMAS                  PA     90009171149
71B3517248B163   TRINA             LEE                     UT     90013021724
71B35218455939   MARIA             CORTEZ                  CA     90012972184
71B3534859154B   CARLOS            BORUNDA                 TX     90006903485
71B354A5641253   JUSTIN            KNOX                    PA     90012974056
71B35554771921   BLANCA            HERNANDEZ               CO     32055615547
71B355A648B134   JAKELINA          RODRIGUES               UT     90013065064
71B355A765B59B   DIAMOND           JARMILLO                NM     90005585076
71B35787355969   MATTHEW           VIERA                   CA     48043987873
71B35838484322   EDWIN             WARE                    SC     90011468384
71B35A81A81643   MIJAH             RIDDLESPRIGER           MO     90004310810
71B36476A31443   JACQUELINE        PIERCE                  MO     90015164760
71B36739972B98   STEPHEN           APPLE                   CO     90014187399
71B3695167B661   FINA              FINA                    GA     15093329516
71B369A5972479   WILLIAM           BROUNCE                 PA     51065679059
71B3748169154B   LULU              RODRIGUEZ               TX     75082904816
71B38974321759   DANIEL            MALAGA                  IL     90015399743
71B38984A8B134   DEANN             ORAM                    UT     31005509840
71B391A235599B   ROSEMARIE         AVILA                   CA     49074201023
71B39238784322   JOSE LUIS         VELASQUEZ               SC     90015562387
71B3939143168B   DION              GLEN                    KS     90014533914
71B393A3A33698   VEE               RUSSELL                 NC     12076083030
71B3B188A55966   VERONICA          SANDOVAL                CA     48081051880
71B3B751872B42   ESTHER            GARCIA                  CO     90006927518
71B3B899271921   ANGEL             WELKER                  CO     90010968992
71B3B8A2585937   CRYSTAL           RITCHIE                 KY     90005378025
71B41162141253   KRISTALLE         PATTERSON               PA     51015631621
71B4122488B157   MELANIE           NAJERA                  UT     90014612248
71B412A2881633   KYESHA            DILLARD                 KS     90011202028
71B41489A8B168   JAUNNA            DOWELL                  UT     90015094890
71B4194545B169   ARRON             DEVINE                  AR     90011039454
71B423A2A8B134   TIMOTHY           MURPHY                  UT     90013453020
71B4257134B553   LORRIE            BAKER                   OK     21540705713
71B4259617B477   SHERICE           HAYWARD                 NC     90014825961
71B4287699154B   GLORIA            ESTRADA                 TX     90012938769
71B4323918B163   LUIS              MATA                    UT     90013022391
71B43366572479   BECKY             MATHERS                 PA     51004183665
71B433A8581643   JUAN              HERNANDEZ               MO     90009703085
71B43517255969   ROSALBA           RAMIREZ                 CA     90008575172
71B43519341237   KIMBERLY          BOYD                    PA     90013705193
71B438A5A72B29   IRMA              GUARDADO DE OLIVA       CO     90007788050
71B43935A27B98   TERESA            RAUSCH                  KY     90010899350
71B44431333699   RUBY              MARTIN CASTELLANOS      NC     90004944313
71B44457631433   ALICIA            WILBON                  MO     90013964576
71B44474484322   CARMEN            CASTRO                  SC     90007384744
71B4462645B169   CHARLES WAYNE     QUEEN                   AR     90007466264
71B44A7A38B142   SCOTT             REINWAND                UT     31082720703
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 717 of 2350


71B4515A127B98   PAMELA            CRAWFORD                KY     90007201501
71B45286781255   LAEKTHA           WIGGINS                 KY     90011412867
71B45656155939   LAURA             CASTREJON               CA     48094466561
71B45928755966   INES              FLORES                  CA     90013949287
71B4611743B343   DAVID             SNIYDER                 CO     33001931174
71B46164857157   EDY               ORTIZ BONILLA           VA     90012501648
71B4652565B59B   DAVID             GLOVER                  NM     90013685256
71B4655A731432   MOORE             LADONNA                 MO     90000135507
71B4661457B477   SRINIVAS          MACHA                   NC     90012376145
71B46964133699   YEIDI             HERNANDEZ               NC     12061239641
71B47366A2B994   TERRA             SPINDLER                CA     45002363660
71B47384631443   KEYONNA           DALE                    MO     90012453846
71B47552A55966   MICHELLE          PEREZ                   CA     48061735520
71B4771A281633   MICHAEL           WOODWARD                MO     90014957102
71B48197572B44   NUNEZ             SAVANNA                 CO     90009261975
71B48828793739   NANCY             JASPER                  OH     90014828287
71B48A4939154B   RITA              AVILA                   TX     75074170493
71B49478584322   DIGNA             ALTOMIRANO              SC     90006224785
71B49929631443   SHAREEFAH         HILL                    MO     90015179296
71B49A11281633   LANETTE           WALKER                  MO     29001340112
71B49A63131482   REBECCA           JONES                   MO     27582620631
71B4B19418B157   LISA              MIERA                   UT     31062261941
71B4B27595B384   JOSHUA            LEWIS                   OR     44564792759
71B4B36A131443   BRENDA            POPE                    MO     90012453601
71B4B94945B169   ALEJANDRO         RODRIGUEZ               AR     90015369494
71B4B956A55966   ISABEL            GARCIA                  CA     48056659560
71B4BA43172B29   VANESSA           BATTLE                  CO     90003470431
71B4BA8338B168   BUNCE             STEVEN                  UT     90005500833
71B514A8972479   TRACI             ROCK                    PA     51052254089
71B51652427B98   JAMIE             STEWARD                 KY     90012266524
71B51744572B98   JACKIE            MARTINEZ                CO     90014187445
71B51876941227   ANGELA            WRIGHT                  PA     51025968769
71B51A2689154B   MARIBEL           ARZAGA                  TX     90013620268
71B52213A72B98   FILEMON           VILLANUEVA-PLAZOLA      CO     33095112130
71B52529272B32   CECILIA           CRUZ                    CO     90007695292
71B52816A55969   VANESSA           GUERRERO                CA     48085238160
71B52888885937   KOLT              BLAKE                   KY     90010928888
71B52A9278B134   LARRY             REYNOLDS                UT     31028660927
71B5315375B169   JOHN              TYUS                    AR     23042751537
71B53252691963   MARIANA           TREJO                   NC     90010022526
71B532A1951382   ANDREW            NEUBAUER                OH     90004302019
71B5333198B168   RICARDO           MORAGA                  UT     90010433319
71B53372681633   ANGEL             MORENO                  MO     90015263726
71B5369758B134   DENIS             WIEGMANN                UT     31077316975
71B53744772B98   ADAN              GONZALEZ                CO     90014187447
71B53939831433   BETTY             SCHNEIDER               MO     90014309398
71B5399878B157   TREVOR            BENASSI                 UT     90013509987
71B5423A584322   MARVIN            CASTRO                  SC     90013362305
71B54916772B44   RASHEENA DENISE   SCOTT                   CO     90014459167
71B54991A72479   GLORIA            ANDERSON                PA     90015179910
71B549A327B661   PAYGO             IVR ACTIVATION          GA     90014809032
71B54A12255939   ELIZABETH         ORTIZ                   CA     48028820122
71B5546783B137   JOSE              ARTEAGA                 DC     81077364678
71B5563A59154B   IVONE             VASQUEZ                 TX     90005886305
71B5584248B134   AGUSTIN           GODINEZ                 UT     90010718424
71B562A4571921   NICOLETTE         WELSH                   CO     32089742045
71B56639627B98   ANDREA            PERKINS                 KY     90000876396
71B56A28393739   MYANNIA           CARTER                  OH     90014930283
71B57187372441   JOHN              ECHEMENT                PA     90010681873
71B57416571955   SARRAH            MAESTAS                 CO     38049174165
71B5769A272475   SHARON            BOURDAGE                PA     90012056902
71B5789978B157   JEFFREY           CHARLIER                UT     90005018997
71B58322872B29   JOSE              TERAN                   CO     33003323228
71B5847797B661   CIARA             MILLER                  GA     90012184779
71B58A95871921   RUDY              HERNANDEZ               CO     90013310958
71B59254457157   ANIL              TREHAN                  VA     90000452544
71B5966448B163   PALEFAU           MICHERENA               UT     90010496644
71B596A489154B   GILBERT           GARCIA                  TX     90002466048
71B59879891993   JOSE              BALMORI                 NC     17020358798
71B5B25AA2B994   JUANA             GOMEZ                   CA     90014802500
71B5B27178593B   NATASHA           CARMICHAEL              KY     90010652717
71B5B448872479   BONNIE            OVERLY-BIAGINI          PA     51059464488
71B5B579172B35   MIRNA             HERREIA                 CO     90009795791
71B5B666591863   TIFFANY           BARTLETT                OK     21013116665
71B5B777557157   GEYSON            TABORA                  VA     90008127775
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 718 of 2350


71B5B815627B98   KENNITH               CATLETT              KY    90013308156
71B5B84A185937   BRANDON               REED                 KY    90013118401
71B5BA23731443   JATON                 MOODY                MO    90003910237
71B61198255966   CHARLES               TAYLOR               CA    90013101982
71B614A227B477   WILLIE                SMALLS               NC    90013224022
71B61666555969   ANNA                  GONZALEZ             CA    48083216665
71B617A8541227   VOLLIE                MULLINS              PA    90010587085
71B6191968B168   JONATHAN              PEARSON              UT    90012599196
71B6197285B33B   CHRISTINE             HILLMAN              OR    90004959728
71B61A49881643   NORMA                 CHINCHILLA           MO    29022210498
71B62368841237   MICHAEL               SMEDLEY              PA    51073313688
71B62391733699   KIMBERLY              LABROAD              NC    12011473917
71B6244A976B8B   WILLIAM               LARSEN               CA    90006184409
71B62619A72421   PATRICK               BROWN JR             PA    51042486190
71B62748872B98   CARLOS                GARCIA               CO    90014187488
71B62789A55969   CATHY                 LEDBETTER            CA    48047997890
71B6297985B569   RUSSEL                LUCERO               NM    90001849798
71B63372155939   BEATRIZ               ZAMORA               CA    48090173721
71B637A8541227   VOLLIE                MULLINS              PA    90010587085
71B644A528B168   MIKE                  ELWELL               UT    90007034052
71B647A9672B44   BRYCE                 CARPENTER            CO    90014467096
71B65245281643   JANET                 SUTHERLIN            MO    90010282452
71B654A2784322   ARNOLD                HERNANDEZ            SC    90009294027
71B656A895B59B   CLAYTON               MICHAEL              NM    90014716089
71B6574993168B   LEON                  JONES                KS    22047527499
71B65919272B44   ROCHONNE              MONTGOMERY           CO    90005079192
71B6617739153B   THE ACCOUNTING FIRM   OF MEIZER & MEIZER   TX    90011521773
71B6656A431443   SHERRY                COOK                 MO    90001315604
71B66978731433   ERICA                 JOHNSON              MO    90008869787
71B66996381645   SHATASHA              RIVERS               MO    90012489963
71B669A4672B98   DRYCEN                LACEY                CO    90011799046
71B66A5985B384   JARROD                OSTROM               OR    44572200598
71B67157557157   MARVIN                HERNANDEZ            VA    90010451575
71B6726243B137   PERSEBERANDA          SEGUNDO              DC    90013792624
71B67442572B32   RICARDO               BRIONES              CO    33013184425
71B67488355969   VICENTE               COVARRUBIAS          CA    90008674883
71B674A6171921   ANGELA                APUZZO               CO    32025264061
71B675A4A31443   OSCAR                 HERRERA              MO    90015485040
71B6782A755966   ANA                   CERVANTES            CA    90011368207
71B67894455969   VICENTE               COVARRUBIAS          CA    90014448944
71B681A757B661   TONY                  BROWN                GA    90003011075
71B68223933B34   MAXIMILIANO           SANCHEZ              OH    90014052239
71B68389172479   EDWARD                KAROL                PA    90014923891
71B6859945B59B   MARTIN                ARRELLIN             NM    90002075994
71B68749A72B98   JOSE                  RENTIRIA             CO    90014187490
71B68971872B29   SHARLIE KAY           BARLOW               CO    90006939718
71B68984471921   ADELMA                MARTINEZ             CO    32062909844
71B6B293172B98   GLORIA                QUINTERO             CO    90012122931
71B6B799272B32   RAPHAEL               TAPIA                CO    33078737992
71B6B97529154B   ROBERT                DAVIS                TX    90014039752
71B6BA7597B661   DOMINIQUE             JONES                GA    90005000759
71B6BA8A59154B   VICTOR                PLATA                TX    75092130805
71B71381857157   ANCELMO               MURILLO              VA    90011163818
71B7141A643424   JOSE GUADALUPE        CORTEZ HERNANDEZ     VA    90015584106
71B71555791953   EVETTE                WOODARD              NC    90009855557
71B71829977552   JOSE                  AYALA                NV    90003558299
71B71844855939   GUADALUPE             SANCHEZ              CA    90014158448
71B7197529154B   ROBERT                DAVIS                TX    90014039752
71B71991A7B477   KENDAL                CRANK                NC    11027829910
71B719A744B952   DEBRA                 HARRIS               TX    90001199074
71B7214125B169   STEPHEN               GALLEGLY             AR    90003311412
71B7251A62B271   ROBERT                STERN                DC    90002805106
71B7295725B384   CRESEN                HILL                 OR    90004839572
71B7315A771921   ANGELA                WHITE                CO    90014561507
71B73352372441   MARK A                DRUM                 PA    51037383523
71B73555355939   NORBERTO              ALEJO                CA    90015175553
71B7389668B142   LUIS                  PABLO                UT    90011418966
71B73AA7355966   JUAQUIN               FLORES               CA    90003010073
71B74472A8B168   KLINT                 MATHEWS              UT    90001404720
71B74559A5B169   TAMARA                CREER                AR    90015375590
71B7461477B661   FRANKIE               WIGGINS              GA    15015746147
71B7512995B596   MICHAEL               ARANDA               NM    35086581299
71B755A8372B22   WILLIE                FALLS                CO    90011175083
71B75A16655991   DAVID                 MARTIREZ             CA    90012600166
71B7615A193767   MARIA                 WOERL                OH    90006191501
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 719 of 2350


71B76479557157   ANNE         DIXON                        VA     90013554795
71B764A838B134   HEBER        PEREZ                        UT     90013474083
71B7663912B271   MYRNA        RIVERS                       DC     81063226391
71B76745984322   LOLOTEA      GREENE                       SC     90011177459
71B76818555939   DABBIE       VARGAS                       CA     48061108185
71B7732948B134   ALEX         M0NDRAGON                    UT     31004703294
71B77466185937   ANGELA       SPIVEY                       KY     90002704661
71B77519572B2B   MICHAEL      PAIZ                         CO     33041675195
71B77578372B32   KEVIN        ARCHULETA                    CO     90007895783
71B77586884776   PAYGO        IVR ACTIVATION               IL     90015585868
71B77856272479   ADAM         PIERCE                       PA     51075188562
71B78237881633   JOHN         LANDERS                      MO     90014512378
71B7869A433698   ERIKA        CRUZ DIAZ                    NC     90013966904
71B78712127B98   SHATERA      LEWIS                        KY     90013127121
71B78765655939   AURORA       ROBLES                       CA     90007527656
71B78A1598B168   AGUSTINA     MARTINEZ                     UT     90012690159
71B79524772B29   KELLI        ROZELL                       CO     33044995247
71B79615372B32   MARGARITO    SANCHEZ                      CO     90003176153
71B79737754B28   SHARISSE     OVERTON                      VA     90003277377
71B7999835B384   BARBARA      GASTON                       OR     44501759983
71B7B31618B134   PATRICIA     SALCEDA                      UT     90007843161
71B81253357157   NASLIN       RUIZ ALVAREZ                 VA     90011442533
71B81621861935   HENRY        ALCARAZ                      CA     90005556218
71B81724641227   DONALD       SJOEN                        PA     90012367246
71B82115572B44   DE JESUS     IGNACIO                      CO     90012791155
71B82673572421   TIFFANY      DANIELS                      PA     51066066735
71B83243457157   VIVIAN       SEGOVIA                      VA     90008172434
71B833A658B163   JOSE         TAPIA                        UT     90013023065
71B83418972B44   ANTONY       SOUZA JR                     CO     90013624189
71B8348939154B   ROLANDO      PRICE                        TX     90010954893
71B83785493739   ANDREA       ROBINSON                     OH     64541527854
71B83896A72479   COREY        WILSON                       PA     90009938960
71B8432688B163   THERIN       WUNDERLICH                   UT     90013023268
71B8466858B168   JEFFERY      HOUSEKEEPER                  UT     90013606685
71B849A2585937   MICHAEL      SMITH                        KY     90014649025
71B85627A41237   HILLARY      SIEL                         PA     90014396270
71B8564A35B59B   LIZY         SALVIDREZ                    NM     90011416403
71B85699755966   JESSICA      ALVA                         CA     90015216997
71B8571589154B   GLORIA M     GARCIA                       TX     90010107158
71B8572817B661   CHRISTOPHE   BROOKS                       GA     90009077281
71B85898172B44   JOSE         BORREGO                      CO     33021298981
71B85A39472B44   OSCAR        OSEGUERA                     CO     90014860394
71B86228A41253   BARBARA A    COHEN                        PA     51050282280
71B8681778B134   ANTHONY      HARRIS                       UT     90013128177
71B86914172B98   BARBA        NAVARRO                      CO     90011799141
71B87192284322   JIOVAANI     ARANZA                       SC     90011471922
71B8742823168B   ALYSSA       GULIFORD                     KS     90012444282
71B87633572479   ARTILEE      RANDS                        PA     51017266335
71B876A378B157   ELIAS        BLAKE                        UT     90007646037
71B87839693739   JORJE        CAMACHO                      OH     90008048396
71B8797775B59B   JUAN         CHAVEZ                       NM     90010969777
71B88772931443   LAURA        HOLMES                       MO     90015117729
71B8892A772B44   RICK         VIGIL                        CO     90014459207
71B88A55541237   JAMES        DAVIS                        PA     51082950555
71B89182933699   MONIQUE      BROADWAY                     NC     90006701829
71B89457672B98   DANIEL       FRANTI                       CO     33088304576
71B89492841237   SHANE        MODOLO                       PA     51074584928
71B8956697B661   INEZ         ROBINSON                     GA     90013795669
71B8961548B134   RANDY        MALIN                        UT     90006426154
71B8997773168B   YESENIA      MORENO                       KS     22071719777
71B8B311755969   SANDRA       ALVARADO                     CA     90005583117
71B8B32228B142   HUGO         VILLA                        UT     90012763222
71B8B948955966   SERENA       CASTRO                       CA     90013229489
71B9111943B137   ANSWER       DONT                         VA     90010401194
71B9116929154B   BRENDA       CAMARENA                     TX     75052411692
71B91247731443   PHYLLIS      THOMAS                       MO     90006742477
71B91A6317B451   JESSE        ROBINSON                     NC     11065710631
71B9216A477524   ARIEL        DIX                          NV     90001151604
71B92172185937   KAYLA-ANN    PIROZZI                      KY     90014641721
71B92199255969   DANA         HICKS                        CA     90014451992
71B93349493739   RYAN         SICKMAN                      OH     90012053494
71B93363243523   JULIE        CARLOS                       UT     31077003632
71B93484893736   JUAN         GUEVARA                      OH     90003614848
71B93549185937   FRANCHESCA   EMANUEL                      KY     67014085491
71B937A7972B32   MERWAN       ATWI                         CO     90012987079
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 720 of 2350


71B9385398B168   ZACHARY       BLACK                       UT     90014308539
71B938A5733699   VALJEAN       GRIGGS                      NC     12050998057
71B9396A28B163   SHARON        OGDEN                       UT     31006649602
71B945A1185937   TERRELL       HOWARD                      KY     90014465011
71B95374A84322   RAFAEL        CRUZ                        SC     90015603740
71B95457185937   ERIC          MILLER                      KY     90002154571
71B95A84A72441   MATT          STEVENSON                   PA     90009910840
71B96256685937   TREVOR        NEWTON                      KY     90012912566
71B96263771921   STEPHEN       DEMMERT                     CO     90010452637
71B96643257157   VICTOR        LEZAMA                      VA     81046496432
71B96898741237   PIERRE        WYNN                        PA     90003438987
71B969A9984322   ANGEL         CABRERA                     SC     14583399099
71B972A4A72B98   JACK          MENDOZA                     CO     33052022040
71B97495693746   TERRI         FRAZEE                      OH     90013564956
71B97698584322   CURTIS        PORTER                      SC     90015186985
71B97917841237   BARBARA       JAMES                       PA     51094809178
71B98246771921   JOHN          ROFF                        CO     90012992467
71B9827315B59B   ERNESTO       MEDINA                      NM     35004432731
71B98525A5B596   FRANCISCA     FONSECA-DEBATRES            NM     35030885250
71B9855AA55969   ANGELA        MOODY                       CA     90002515500
71B9872258593B   ASHLY         BOYCE                       KY     90014917225
71B987A9657157   TSIGE         DEMISSIE                    VA     90008937096
71B98A87541265   JANICE        DOMINICZAK                  PA     90012670875
71B9916A633698   PAMELA        FEASTER-ALLEN               NC     12001681606
71B99189285937   EUNICE        REYES                       KY     67017991892
71B9951A772B98   ANTHONY       NELSON                      CO     33072205107
71B9992838B163   DUSTIN        PARKIN                      UT     90009389283
71B9995357B661   DOMINGO       MORALES                     GA     90013429535
71B9999A98B168   DONALD        PASCAL                      UT     31001489909
71B999AA581643   GWEN          LANDERS                     MO     29079959005
71B9B1A9177524   STEPHANIE     QUIGLEY                     NV     43096701091
71B9B32688B163   THERIN        WUNDERLICH                  UT     90013023268
71B9B374193739   JOANN         BERWANGER                   OH     90008843741
71B9B4A118B168   KRISTINE      QUILTER                     UT     90000674011
71B9B746A85932   JEANNETTE     UWABANDI                    KY     90006097460
71B9B792541227   PAUL          KOERBER                     PA     90011607925
71B9BA62133699   COURTNEY      MCCOLLUM                    NC     90011170621
71BB1558171921   JOY           MASIAS                      CO     32092195581
71BB158218B134   FILI          FILI                        UT     90012185821
71BB1A6255B59B   ALICIA        GRIEGO                      NM     90012190625
71BB22A5272B44   JUSTIN        JAY                         CO     90009262052
71BB2634A93739   LAURA         GREGORY                     OH     90011066340
71BB3132A9154B   EDUARDO       PEREZ                       TX     90011431320
71BB33A5441237   DAVID         CALLOWAY                    PA     51068073054
71BB3448A7B661   RASHAAD       BAILEY                      GA     90015254480
71BB376728B168   ANNETTE       BEDDER                      UT     31062287672
71BB386A561597   EDMOND HAYS   HAYS                        TN     90015618605
71BB415195B169   HANNAH        LOCK                        AR     90010251519
71BB4663484322   MIYAKE        JENKINS                     SC     90011366634
71BB4673A81621   OLANEKE       WATTS                       MO     90009146730
71BB487418B157   CATHERINE     BARNES                      UT     90015048741
71BB4A14A72B29   ERNESTINE     BUTLER                      CO     90012870140
71BB5196A55966   RAMIRO        RODRIGUEZ                   CA     48004051960
71BB5994A72B44   JEREMY        TOTH                        CO     90015169940
71BB6319871921   DAVID         CREEL                       CO     32067873198
71BB65A4676B63   JOHNATHON     QUENENE                     CA     90007115046
71BB6674455966   ENRIQUE       TORRES                      CA     90014006744
71BB7391297B39   SHARON        ABUSO                       CO     90014323912
71BB78A915B596   MARIALUISA    REYES                       NM     35054198091
71BB7986A31443   JERRY         MORGAN                      MO     27565349860
71BB8133355939   HUMBERTO      LOPEZ                       CA     90013661333
71BB8239A5B399   MATTHEW       WILLIAMSON                  OR     90012672390
71BB8258471921   SAVINA        GARCIA                      CO     90014592584
71BB8284731433   THEODOSHIA    CLAIBORNE                   MO     90007622847
71BB857578B157   SINA          FAASIPA                     UT     90010735757
71BB878397B429   GABRIEL       ROMERO                      NC     90011407839
71BB8A34772B29   TABETHIAN     CARR                        CO     90009090347
71BB958988B168   AUGUSTO       SALAMANCA                   UT     90013385898
71BBB365A8593B   TAMMY         CONRADI                     KY     90015323650
71BBB59718B157   ZACHARY       EGBERT                      UT     31014185971
71BBB64185B596   MARY          GONZALES                    NM     35028746418
71BBB814285937   KATHY         RITCHIE                     KY     67082808142
71BBBA99761935   PINKY         PENULIAR                    CA     90005460997
7211173785B596   LANCE         GALLEGOS                    NM     90011057378
72111914A33698   MARY          LEGETTE                     NC     90013239140
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 721 of 2350


7211252122B895   JEN             GUEVARA                   ID     90007195212
721136A8633699   RENE            TRINIDAD                  NC     12093016086
7211429328B168   DAVID           PEAY                      UT     90012332932
721142A763B325   MARLENE         COZZIE                    CO     33098222076
7211468327B477   RACHEL          NYEBA                     NC     90012516832
7211473473168B   JOHNNIE         EVANS                     KS     22094057347
72115151A8B142   LACY            SEEGMILLER                UT     31003931510
7211669A655969   AMY             ALVAREZ                   CA     90014806906
72117226A72B98   TYLER           KIRKPATRICK               CO     33025822260
7211759A472B29   SUNNI           GREEN                     CO     90013395904
72117966A72B44   BRYNA           BURNS BERNAL              CO     90011789660
7211828A272421   JONATHAN        BOEHM                     PA     90012152802
72118447A5B398   MARIA           PATINO                    OR     90012614470
72118811A5636B   LEOBARDO        VILLEGAS                  IA     90014908110
72118914372B44   HARLEY          JOHNSON                   CO     33094109143
72119218A8B168   JOLISSA         BELCHER                   UT     90014722180
72119822A72441   DANIEL          MILLER                    PA     90014798220
7211B131A27B98   JAMES           WALSH                     KY     90013831310
7211B149672B29   LORETTA         RAMIREZ                   CO     90010151496
7211B281957157   JORGE           CAMPOS                    VA     81035502819
7211B3A3133698   JERONE          GARNER                    NC     90014453031
7212149532B895   JONATHAN        LAWSON                    ID     90009734953
72121755172B44   ESTER           JUAREZ                    CO     90006447551
72121787872B44   KATIE           GURULE                    CO     33009837878
7212216227B335   AMILCAR         RIVERA                    VA     90011311622
7212227745B169   ROBERTO         HURTADO                   AR     90013952774
721223A5A31433   KMONI           COLLARD                   MO     90014683050
72122A8365B238   C               PARKER                    KY     68016260836
72123681427B98   BRITTANY        GILFORD                   KY     90014606814
72123A73655966   ELISABET A      TERRONES                  CA     90002940736
7212416A17B477   DESMOND         DANEY                     NC     90014711601
7212439218B32B   DARRYL          MOORE                     SC     11054593921
721246A2871921   GARY            SCHMIDT                   CO     90007436028
7212485558B163   JASON           LLOYD                     UT     31005408555
721253A7393739   LAWRENCE        NEELY                     OH     90012823073
72126457672B98   DANIEL          FRANTI                    CO     33088304576
7212663315B398   SUSAN           KHLIU                     OR     90002466331
7212686A772441   JESSE           EMERY                     PA     90013328607
7212786479154B   ALFREDO         GARNICA                   TX     90010538647
7212787A333698   KALA            BELL                      NC     90014798703
72127A62484322   ROBERTO         HERNANDEZ                 SC     14598840624
7212814A68B157   CHARMONE        FORD                      UT     90013771406
7212832275B375   SHANNON         SERATT                    OR     90012263227
72128367272B44   EUGENIA         TRUJILLO                  CO     33080513672
721284A974B522   CASSANDRA       SUMMERS                   OK     90011244097
7212862248B142   MICHELLE        HARDMAN                   UT     31033676224
72128999A27B98   PAYGO           IVR ACTIVATION            KY     90004319990
72129171A72B29   SUMMER          INGERSOLL                 CO     90000131710
721294A234B263   LATIFA          ELBERGAME                 NE     90007774023
7212957625B398   AMBER           PURIFOY                   OR     90008455762
7212991532B994   MARIA           GERONIMO                  CA     90009579153
7212B771981633   SANDRA          RAMIREZ                   MO     29052917719
7212B883741237   LAVONNE         MILLER                    PA     90013188837
7213136417B477   ANTLAS          THOMPSON                  NC     11016113641
7213279922B84B   EILEEN          ROSALES                   ID     90007667992
7213281588B157   JONATHAN        VANRJA                    UT     90015118158
7213319A68B157   TYLER           ANDERSON                  UT     90004431906
7213336753B343   GINGER          GUIETTE                   CO     33023143675
72133A13284322   ALEXANDRA       CHEATHAM                  SC     90012850132
72133A74331433   TRENICE         DAVIS                     MO     27558150743
721345A9533B34   CHOC            ALFREDO                   OH     90014425095
7213511159154B   DANIEL          OLIVAS                    TX     75071361115
7213515997B661   ZIKARIOUS       FLINT                     GA     90014751599
7213619A355969   NORMAS          ROMERO                    CA     90014561903
72136226A33699   JAMES           ROBERSON                  NC     12005522260
7213635895B398   CHERYL          WRIGHT                    OR     44586153589
72136424672B44   HIZTACCIHUATL   PEREZ                     CO     90011624246
72136867A9154B   ANGEL R         PEREZ                     NM     90000698670
7213755A671921   BARBARA         PRICE                     CO     90013395506
7213771A872441   SHANNON         MERRIMAN                  PA     90012127108
7213833878B163   MEONO           ANDREW                    UT     90011513387
7213844922B994   MERCEDES        CHAVIRA                   CA     45028674492
7213855848B142   SIXTO           LOZOYA                    UT     90010395584
72138696372B44   SONIA           DURAN                     CO     90013936963
7213898A957157   SEAN            MCKENDRY                  VA     81038789809
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 722 of 2350


7213911237B661   MONET           HARRIS                    GA     90011241123
7213921432B994   JOSE            DIAZ                      CA     90014742143
7213948645B169   RODERICK        MACON                     AR     23096064864
72139853A5B398   NEHEMIAH        VAUGHAN                   OR     44511318530
7213988A471921   SUE             BLYTHE                    CO     32088288804
7213B322933699   MONTRALLA       PRESSLEY                  NC     90011383229
7214131A52B994   DEBRA LYNNE     COX                       CA     90015073105
72141A95172B44   MADELYN         JUNG                      CO     90012110951
721421A9193739   KIMBERLY        MEDLEY                    OH     64588401091
72142729772B44   VANESSA         MARTINEZ                  CO     33055447297
7214439928B142   SHALONA         GOODFELLOW                UT     90012753992
72144526A72B29   JUAN            MALDONADO TOLEDO          CO     33065385260
7214453477B661   CHARLES         ROBINSON                  GA     90000855347
7214462A541227   KRISTY          LEWIS                     PA     51059346205
7214465954B553   DANNY           WHITECOTTON               OK     90003576595
72144A3458593B   DESTINI         GERMANN                   KY     90012800345
7214547459154B   FEBE            DIAZ                      TX     75014984745
7214549A95B596   DANIELLE        RODRIGUEZ                 NM     90012324909
72145595A8B163   DAVID           WALMER                    UT     90003095950
7214575525B59B   YASMIN          ZARRASOLA                 NM     90014957552
72145A29755969   ESTEBAN         VARGAS                    CA     48095860297
72145A77472B29   SHAWN           COX                       CO     33075030774
7214659345B398   RANDY           ELL                       OR     90013655934
7214669648B163   BRANDON         KNOX                      UT     31058406964
72146A62941253   NANCY           BOMBA                     PA     90006130629
72147863A31432   FRANK           CAMPBELL                  MO     27562928630
72147A8A541253   LETITIA         WALKER                    PA     90015160805
7214842A157157   FELICIA         JACKSON                   VA     81036244201
72148458427B98   SARAH           CHOATE                    KY     90013924584
7214876A381633   SHIRLEY         JACKSON                   KS     90004647603
7214877527B661   INEZ            THETFORD                  GA     90014757752
721487A5881633   MICHELLE        GENTRY                    MO     90011917058
72148875A7B477   DELMY           HERNANDEZ                 NC     11060778750
7214948AA71921   THOMAS          B. MERCER                 CO     32094674800
721496A285B398   BRYAN           PICKRELL                  OR     90014736028
72149821827B98   SUSAN           JONES                     KY     90014818218
72149A37231443   FREDRICA        THOMPSON                  MO     90003730372
7214B368272421   JES             KAMBLI                    PA     90013923682
7214B614171921   KENTINA         SMITH                     CO     32052466141
7214B9A867B661   PAYGO           IVR ACTIVATION            GA     90014749086
7214BA4398B163   SANTANA         MARTINEZ                  UT     90010570439
72151146A27B98   WOODFOLK        AALIYAH                   KY     90013931460
7215168919154B   RICARDO         PEPI                      TX     90014026891
7215191A29154B   ADALID          CAMPOS                    TX     90010539102
721521A825B169   ANTONIO         GARCIA                    AR     90013841082
7215259A87B477   REGINALD        FLOYD                     NC     90013905908
7215284A672441   BRIAN           FOLEY                     PA     51061788406
72153591872B98   DAVID           WRIGHT                    CO     33050805918
7215363A155969   MELINDA         HARLOS                    CA     48024656301
7215368A672B32   PAUL            CARDONA                   CO     90014986806
72154188A5B169   PAYGO           IVR ACTIVATION            AR     90013841880
7215441247B477   JOMON           DOUGLAS                   NC     90012944124
72154616A93739   MARIA           WILSON                    OH     64551786160
7215571227B477   BETSY           TYLER                     NC     90011347122
72155A3A78B134   HEATHER         SORIANO                   UT     31090440307
72156347227B98   ANGELA          LAX                       KY     90013933472
72156433A7B661   KENDALL         COMINS                    GA     90014754330
72156714772B44   ESTEFANY        RODRIGUEZ                 CO     90013937147
72156822A72441   DANIEL          MILLER                    PA     90014798220
72157248A7B45B   WILLIAM         GRANT                     NC     90001442480
7215778142B84B   CATHY           ANDERSON                  ID     90012247814
7215794A58B163   CHANCE          LODDY                     UT     31081729405
7215866618B142   ANGIE           CARTER                    UT     31051486661
7215883375B596   JOSHUA          OXLEY                     NM     90014658337
7215931757B477   DEONZA          WIMBERLY                  NC     90014493175
721593A325B59B   LEANN           MARTINEZ                  NM     90014103032
7215962139154B   KIMBERLY        TALAVERA                  TX     90009656213
72159727572B98   ROSA            HERNANDEZ                 CO     90004507275
7215984295B596   JENNIFER LYNN   CHARLEY                   NM     90014658429
72159935472B32   ALFONSO         MORALES                   CO     90014119354
7215B854281633   ARIELLA         SCRIVNER                  MO     90013168542
7215BA9877B477   LYNDON          ROBERTS-YOUNG             NC     90005220987
72161267272B44   BEATRIZ         BUSTOS                    CO     90010722672
7216144568B32B   GAIL            DAVIS                     SC     90010694456
7216151445B59B   JULIO CESAR     MERAZ-TORRES              NM     90014025144
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 723 of 2350


72162419527B98   JEREMY          WHITE                     KY     90013934195
7216272A572B32   JENNIFER        MASCARENAS                CO     33052727205
7216314525B398   JOHN            THOMPSON                  OR     90014921452
7216347A572441   JEFFREY         TOMEI                     PA     90015094705
72163889327B98   TIAGO           MONTOYA                   KY     90004228893
72163A24257157   YESENIA         LEDUVINA                  VA     90000460242
7216419A355969   NORMAS          ROMERO                    CA     90014561903
7216424A75599B   CHRIS           POLIAN                    CA     90013572407
7216435148B142   JENNIFER        ARMITSTEAD                UT     90013403514
72164545A71921   ALICIA          MOLINA                    CO     90012145450
7216472A241237   DANIELLE        WEST                      PA     90015137202
7216526192B994   MAURICIO        HERNANDEZ                 CA     90014362619
7216553998593B   BEVERLY         BOTTS                     KY     90009685399
72166836472B32   CLARINDA        MELENDREZ                 CO     33076318364
72166A94331433   DEVON           HARRIS                    MO     90013030943
72167127172B44   PAMELA          WILSON                    CO     90011771271
72167283A72B32   YADIRA          SANCHEZ                   CO     33023452830
7216856385B59B   EARL OR MARIE   REDWINE                   NM     90003245638
72168AA4393739   NICHOLAS        WOODALL                   OH     90011040043
7216946948B142   LEONARDO        MARQUEZ                   UT     31098274694
72169A92A7B477   JEFFREIA        TORRENCE                  NC     90014480920
7216B13A472B32   DANYAIL         BERRY                     CO     90004951304
7216B415272B29   CARRIE          HUNTER                    CO     90015144152
72172156972B29   GREGORIO        CASAS                     CO     90011511569
72172717A41253   DENISE          ENGLISH                   PA     90013567170
7217278348B163   ADRIENNE        SYME                      UT     31091627834
7217282175B596   FRANCES         REYES                     NM     90001818217
721729A7833698   TONY            DAVIS JR                  NC     12042089078
72173A45272479   STEVE           UHAR                      PA     90010940452
7217433725B596   ERIC            CHAVEZ                    NM     35089343372
7217462443168B   CARBIA          HERSHA                    KS     90015526244
721748A2333699   MISAEL          SALINAS                   NC     12061328023
72175446772B29   JESSE           EKLUND                    CO     90012624467
7217551468593B   HENRY           BRIGGS                    KY     90008645146
7217588888B168   GRANDON         CARTER                    UT     31084698888
7217668378B168   CHRISTY         NIELSON                   UT     90008326837
72177128A84322   JAMIE           MARSILIO                  SC     90005011280
721776A255B398   JUSTIN          ENNES                     OR     90003226025
721785A439154B   ARMIDA          VALENZUELA                TX     75021125043
7217886A731432   JAMES           WATKINS                   MO     27565618607
7217895927B477   MARIA           GUTIERREZ                 NC     90012969592
72179AA3A72479   LORRAINE        BROWN                     PA     51041330030
7217B586155969   ABEL            GARCIA                    CA     90013475861
7217B947551349   SHARIFA         BROWN                     OH     90011089475
721817A6961935   SHURENE         PREMO                     CA     90006967069
72182326A7B477   GORGE           ROBLES                    NC     90015093260
721829A8571921   JULIA           WIEDNER                   CO     32060109085
72182A33333698   BRIMA           BANGURA                   NC     12016130333
72182A67A91869   KIMMIE          MILLER                    OK     90010240670
72183221772B32   SANDRA          LOPEZ                     CO     33050562217
7218455A271921   PATRICIA        DAVIS                     CO     32006245502
72184A75566255   BRITTNEY        JOHNSON                   MS     90015370755
7218538A13168B   MAKAYLA         WATTS                     KS     90009623801
721858A2431433   LAKEISHA        HUNTLEY                   MO     90014778024
72185926627B98   LISA            BELLAMY                   KY     90013949266
72185A48972B29   EVA             HOWELL                    CO     90009440489
7218621A155969   JOSE            HINOJOSA                  CA     90013222101
72187568827B98   MITCHELL        BLUE                      KY     90007325688
7218765238B164   ZULMA           GALVAN                    UT     31089166523
7218784339154B   VERONICA        ORTEGA                    TX     90013388433
72187A24155947   RONALD          MEHELIC                   CA     49000670241
72187A57657157   SANTOS          GERMAN                    VA     90010920576
7218839335B59B   JESSICA         FORD                      NM     90014623933
7218934648B142   LUIS            VERA                      UT     31004043464
7218978523146B   ATHONY          MILLS                     MO     90009407852
7218997AA41253   VANESSA         WRIGHT                    PA     90011959700
721899A7171921   JEFF            PERKINS                   CO     90015069071
7218B19A385883   JACKIE          RUBE                      CA     90010791903
7218B56385B59B   EARL OR MARIE   REDWINE                   NM     90003245638
7219148648593B   MARCELLA        EARLS                     KY     90001674864
7219158737B661   MICHELLE        ENDERS                    GA     90013815873
721924A1972B44   KATHY           LIPPINCOTT                CO     90003014019
72193245A81633   CHETARRIA       EVANS                     MO     90014302450
72193272A31443   CARL            WATSON                    MO     27508012720
72193A7378B32B   SHAUN           STANLEY                   SC     11034070737
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 724 of 2350


72194634272B29   SHAWN         RIEDEL                      CO     90014676342
7219469AA3168B   KENNETH       TAYLOR                      KS     90006956900
721955A8A72B32   MARIA         BARCENAS                    CO     90007675080
72195A14393739   DENSIL        ROMERO                      OH     90001320143
7219644293168B   BRIAN         WALKER                      KS     22057054429
72197277A8168B   WALTER        GREGORY                     MO     29005392770
7219751323377B   GAGE          ROBERTSON                   LA     90015425132
72197681427B98   BRITTANY      GILFORD                     KY     90014606814
72197784172B32   NICHOLE       BAILE                       CO     33090757841
72197848172B29   OSCAR         CHAVEZ                      CO     33030238481
721979A1261935   JASON         RUSSELL                     CA     90006969012
7219817744B588   JUANITA       RIOS                        OK     90008081774
7219875675B169   CARRIZALES    ADRIANA                     AR     90014807567
7219891A78B142   RICHELLE      STEVENSON                   UT     31066859107
7219927855B59B   AMANDA        ESQUIBEL                    NM     90005382785
72199319A71921   BRITTANY      BUTLER                      CO     90015293190
72199421772B32   DAVID         NAVA                        CO     90010954217
7219943736192B   EDGAR         DELGADILLO                  CA     90009414373
72199655A2B248   LORETTA       JONES                       DC     90001456550
7219975198B157   MARTIN        VALVERDE                    UT     90013517519
72199A5595B129   TIMOTHY       HOLLINS                     AR     90000440559
72199A74A8593B   ROBERT        MAHANEY                     KY     66077360740
7219B2A6541253   JUSTIN        GRANT                       PA     90013042065
7219B321884322   CHRISTINA     MOSHER                      SC     90001903218
7219B48743377B   LANITA        BRIGGS                      LA     90015354874
7219B493384322   CHRISTINA     MOSHER                      SC     90014624933
7219B666355991   ELIZABETH     PROVOST                     CA     90004526663
7219B82A661935   JESSICA       JIMENEZ                     CA     90006968206
7219BA2595B398   JEREMY        WALE                        OR     44571620259
7219BA28927B98   YVONNE        ENNELS                      KY     90013950289
721B1112931432   DAREN         LARSEN                      MO     27575801129
721B161A884322   CHRISTINE     FOREMAN                     SC     90014066108
721B199A827B98   COTY          THOMAS                      KY     90004119908
721B2516A33698   GENISE        TUCK                        NC     12029155160
721B256A157157   ASMAA         LACHGAR                     VA     90007585601
721B262455B398   JASON         CLARK                       OR     90008686245
721B2772955939   MAYRA         ESTRADA                     CA     90007687729
721B2A43891991   APOLINAR      HERRERA DE LA CRUZ          NC     90015030438
721B323478B168   SPENCER       WOOD                        UT     31004322347
721B3938472421   LANA          WRIGHT                      PA     90005189384
721B3A24697B22   SHAWN         STARNER                     CO     39077470246
721B3A88A27B98   DULCE         DEL ANGEL                   KY     90013780880
721B4A62386456   JEFF          LOCKABY                     SC     90014000623
721B5287655947   ERICA         ROMERO                      CA     49064642876
721B533A372479   SABRINA       JOHNSON                     PA     90000503303
721B539399154B   KURT          CARRETO                     TX     90013123939
721B54A5972B32   JOSE LUIS     MUNOZ                       CO     90004494059
721B5612161995   SAUL          MARIN                       CA     90004686121
721B5896A2B895   TRISTA        MUSSER                      ID     90014788960
721B639A872B21   CRISTOBAL     HERNANDEZ BARREDA           CO     90008913908
721B6592741237   LORRIE        BROWN                       PA     51072915927
721B6642A31432   KASI          IVY                         MO     90012666420
721B686523168B   KAYLA         SIGFRIED                    KS     90011058652
721B7425993739   GREGORY       FRIEND                      OH     90012684259
721B74A4481633   LATOYA        WILLIAMS                    MO     90013724044
721B7683255966   SANDRA        CASTRO                      CA     90012956832
721B76A7172441   NANCY         COLLER                      PA     51069806071
721B773625B59B   CHRISTINA     MENDEZ                      NM     90009447362
721B7913341247   MELISSA       EHNI                        PA     51002369133
721B819A355969   NORMAS        ROMERO                      CA     90014561903
721B8427871921   MICHAEL       ROGERS                      CO     90003794278
721B8694881633   AREIAL        GASTON                      MO     90008986948
721B881965132B   RANDALL       MCCLOUD                     OH     90008618196
721B884762B994   FELIX         VEGA                        CA     90013168476
721B8A74355939   SHERRI        MCLAFFERTY                  CA     90012200743
721B9171857157   JUAN          VASQUEZ                     VA     81065711718
721B93A6A72B32   MARIA         DE JESUS-ALBA               CO     90014773060
721B9578A8B168   RON           RODRIGUEZ                   UT     31037165780
721B9849327B98   PAYGO         IVR ACTIVATION              KY     90014808493
721BB11575B398   JOSE          SALAZAR                     OR     90014771157
721BB144172479   CINDY         WILES                       PA     90001211441
721BB36848B157   CHICHAFIADA   VANEGAS                     UT     90013813684
721BB46794B241   CHRISTINE     PINKKERTON                  NE     90010354679
721BB769A5B596   ALMA          AISPURO DE VIDACA           NM     90009417690
721BB772136182   LAURA         RIVERA                      TX     73582427721
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 725 of 2350


721BB973327B98   BRANDON        BAILEY                     KY     90013779733
7221172647B661   TOISONJA       HENDERSON                  GA     15017307264
722117A458B32B   PATRICIA       SAMUEL                     SC     11040917045
72211A33857157   WILLIAM        DIAZ                       VA     90007630338
72212393A72479   SONDRA         BORDINI                    PA     90014963930
72213188A55966   MARIO          BELLA                      CA     90012991880
722135A585B59B   JASMINE        JUNQUEIRA                  NM     90006075058
722135A7133698   SHAWN          DORSETT                    NC     90014815071
72213A9895B596   MARTINA        BACA                       NM     90006120989
7221431A37B477   JOSE           PACHECO                    NC     11086173103
72214593998B29   LEROY          BENNETT                    NC     90005305939
7221493189154B   ASHLEY         CHAVEZ                     TX     75012699318
72215317472B44   FRANCISCO      RAMIREZ - CASTILLO         CO     90013613174
7221584433B354   CHARLES        DEARBORN                   CO     33025218443
7221615265B59B   KATHERINE      WARD                       NM     35079021526
7221682349154B   MARTHA         RUIZ                       TX     90014838234
7221734A841227   QUIANA         WEST                       PA     51024753408
7221798A88B168   ALEJANDRO      DE LA TORRE                UT     31075989808
7221837227B661   CHERYL         MCQUEEN                    GA     90014763722
72219A96431433   ANDREA N       JOHNSON                    MO     90013640964
7221B137A9154B   ERNESTO        FIGUEROA                   TX     75005701370
7221B154155969   JESUS          FIERRO                     CA     90008711541
7221B22718B157   NICOLE         LARSON                     UT     90015272271
7221B315872479   SARA           VOYTOVICH                  PA     90014843158
7221B338477977   PAYGO          IVR ACTIVATION             IL     90014933384
7221B62583B384   JOEL           ROMERO                     CO     90011646258
7221B62A733B44   JUAN           REYNARD                    OH     90009446207
7221B65A181633   ANGEL          PAPALIA                    MO     90013816501
7221B795633698   TESS           BLAKENEY                   NC     12058467956
7221B982A5B169   HEATHER        WRIGHT                     AR     23025929820
7221B988772B98   TONIA          OBIRE                      CO     33038259887
7222129764B27B   ADAM           KUEBLER                    NE     90003442976
7222138415B59B   LAZARO DAVID   PEREZ LAZO                 NM     90014713841
7222145478593B   BARBARA        RILEY                      KY     66063664547
72221619A72421   VIRGINIA       MILLER                     PA     90015576190
722223A5A33698   EDWIN          MALONE                     NC     90014453050
722225A2771921   KARLA          ERIVES                     CO     90008065027
72222A72761958   CLAUDIA        ARIZA                      CA     90005620727
722237A315B596   DOMONEQUE      QUINONES                   NM     35017207031
72223A2898B142   MARIA          FAUSTO                     UT     31022780289
72224146972B44   RENEE          VIGIL                      CO     90007781469
7222419A93B394   ELIZABETH      BRUNK                      CO     33017031909
72224754827B98   JUANESHIA      REEVES                     KY     90013987548
7222553A655939   JUAN           MENDEZ                     CA     90001375306
72225542172B32   NADIENKA       FERMIN                     CO     90010545421
72225A6197B477   JAY            RIVERA                     NC     90007150619
7222646A193739   ADRIENNE       NEAL                       OH     64508224601
7222647985B229   NICHOLAS       HUDGENS                    KY     90013224798
722265A648B168   ELIZABETH      REID                       UT     31057085064
72226A69855939   CHRIS          CARRILLO                   CA     48087800698
7222733352B994   KARINA         VALDEZ                     CA     90014183335
722273A635B596   VANESSA        ANAYA                      NM     90012203063
72227A85993739   BRENDA         KLEISMIT                   OH     64573270859
72228716A72B44   JUAN           MARTINEZ                   CO     90013937160
72228727172B29   ROBERT         TRUJILLO                   CO     33006357271
7222886A133698   CARLOS         JONES                      NC     90015178601
722294A6A55939   VICTOR         ALVARADO                   CA     90004884060
7222954A18B142   NATALEE        REDHAIR                    UT     31070005401
72229924A72B32   DINA           AGUILAR                    CO     33006359240
7222B152127B98   TAIYA          ORTEGA                     KY     90005131521
7222B95199154B   DESANTIAGO     MIGUEL C                   TX     90010769519
722312A669154B   SYLVIA         RAMIREZ                    TX     75060192066
7223149547B661   HEATHER        ESTES                      GA     90014764954
722315A2133699   CARLOS         MALTEZ                     NC     90013005021
7223175A571921   DAVID          LYTLE                      CO     90010687505
7223195565B281   JEROME         PASSAFIUME JR              KY     68097879556
72232254972B44   ARJA           HAYSE                      CO     90004842549
722322A948593B   TINA           SHEPHERD                   KY     90014592094
7223234348B32B   CARNELL        PERRY                      SC     11041473434
7223264A991991   JOSE           LUIS SARABIA               NC     17010726409
722326A7681633   SARAH          WOODROME                   MO     90009346076
7223336747B661   JOVAR          RAKESTRAW                  GA     15098803674
7223347A631443   MIKE           CALYTON                    MO     90010964706
72233481A3168B   REBECCA        ARMSTEAD                   KS     22015674810
72233868A5B596   VICTORIA       MONTOYA                    NM     35088658680
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 726 of 2350


72233A24A8B142   PABLO         ALVAREZ                     UT     90015010240
72233A41872479   DANIEL        KERIN                       PA     90011690418
72234171872B29   WILLIAM       ARCE                        CO     90003711718
722341A6831443   CHRIS         BROWN                       MO     27507261068
722346A6172B32   JACOB         YOUNGER                     CO     90010736061
7223473625B59B   ELIZABETH     BARRAZA CORDOVA             NM     90013077362
72234892A33698   JAQUETTA      FLOYD                       NC     90013808920
7223499365B596   JULIEANN      TORREZ                      NM     90014659936
72235341A8B142   KELLY         WILKINSON                   UT     90014613410
7223534748593B   SHANEA        HOLLIMAN                    KY     90011123474
72235A9AA41237   BUN           KHUN                        PA     90013850900
72236775572B44   BALACHANDAR   CHANDRASEKARAN              CO     90011007755
7223717A584355   JOSEPH        EDEBURN                     SC     90001181705
72238A6A77B477   ERIC          FORD                        NC     90014060607
722398A2157157   MARIA         CAMPA                       VA     90005018021
7223B18685B169   JANNETTA      IRBY                        AR     90010941868
7223B282271921   STEPHANIE     ARELLANO                    CO     90012742822
7223B676172B44   SERGIO        ALVARADO                    CO     33079426761
7223B6A568B134   MARTHA        MURILLO                     UT     90009446056
7223B778872421   JASMINE       SCOTT                       PA     90013287788
7224128359154B   MARTHA        MERAZ                       TX     75011642835
7224179538B168   LISA          DIXON-WALKER                UT     90012227953
72241835A8B168   NANCY         HERNANDEZ                   UT     90012258350
72241A94351323   ROBIN         FORDE                       OH     90008050943
7224242597B477   HEATHER       VEGA                        NC     90014524259
7224256A872B44   MARTHA        FLORES                      CO     33040535608
7224295275B59B   DANIEL        CONTRERAS-MARQUEZ           NM     90014079527
72243529472B98   GARY          HEIRSHBERG                  CO     33072015294
72243922A33699   DELORES       WHITE                       NC     12093989220
7224393545B388   MARCEL        TRIPLET                     OR     90008689354
7224429915B398   KAREN         BREGAL                      OR     90000262991
7224481A872441   WILLIAM       MARTORELLI                  PA     90013028108
7224496262B994   SHAVON        ROACH                       CA     90006859626
7224557417B477   WADE D        BENDER JR                   NC     90001435741
7224579765B59B   BILL          ARGEANAS                    NM     35009927976
72245A65155939   JUAN          RODRIGUEZ                   CA     48047060651
72246326272B32   MICHAEL       KELLEY                      CO     90014263262
7224648399154B   VICTOR        CRUCES                      TX     75054184839
7224661767B477   OLEGARIO      MIRANA                      NC     90015016176
7224694453168B   CRAIG         SCANNAPIECO                 KS     22015199445
72246A33231433   DANA          GRANT                       MO     90015220332
7224713A172B98   JENY          LOPEZ                       CO     33076551301
72247152772B32   JAMES         MCCARTY                     CO     90007371527
722474A5A9154B   TERRI         ARIAS                       TX     75088624050
722475A2A8B157   DAVID         WHARTON                     UT     90014695020
722476A628B134   SADIA         SABIR                       UT     90014626062
7224794A591522   OLGA          REYES                       TX     75078809405
7224855235B398   FERNANDO      PORTILLO                    OR     90011165523
7224859687B661   ROBIN         BOYNTON                     GA     90014765968
7224892665B596   CHRISTINA     MARTINEZ                    NM     90013609266
72248A8972B895   MARLENA       RANGEL                      ID     90002180897
72249452172B44   SHAWN         JONES                       CO     90005414521
72249457A9154B   LIDIA         RUIZ                        TX     90011564570
722498A3172B32   DEONNA        COMBS                       CO     90014158031
7224B18A472B98   CARMEN        TRUDEL                      CO     90002061804
7224B741833699   ALEXIS        VANDERBUILT                 NC     90014817418
7224B76748B183   FEDERICO      LUNA MERCADO                UT     90006817674
7225117A131443   NIHAD         DZANIC                      MO     90008391701
7225133373B384   GREGORIO      MORALES                     CO     33087923337
7225178A631433   RACHAEL       ROY                         MO     90005857806
72251A18841237   PATRICK       JACKSON                     PA     90014350188
7225276759154B   ORA           MIRANO                      TX     90004997675
72253793A8B157   CHRISTINE     RUNNELLS                    UT     90013947930
7225387A141253   ANN MARIE     GRANT                       PA     90013128701
7225594982B994   KI            SMITH                       CA     90013939498
72256732A72B29   ALYSSA        MONTOYA                     CO     33042147320
72256775A55939   BEATRIZ       SUALES                      CA     90000907750
72257545772B98   JESUS         VIDANA                      CO     33063015457
7225811877B661   JESSICA       KHATRI                      GA     90014771187
72258374A33699   LASHELL       EDWARDS                     NC     90011433740
72258379A72B32   JANICE        WALTON                      CO     33068843790
72258536A5B398   YADIRA        MAYOR                       OR     90001665360
7225875819154B   DANIEL        NAJERA                      TX     75012907581
72258935172B44   LATARA        LEGRAND                     CO     33055499351
72259165A72B44   VELQUIN       GUEVARA                     CO     90007121650
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 727 of 2350


722593A1655966   ROSA         PEREZ                        CA     90002783016
7225965199154B   JULIE        TRISTAN                      TX     90001566519
72259A4447B661   TANJIE       MOORE                        GA     90012270444
7225B127872B29   ROBERT       SALAIZ                       CO     90006631278
7225B28A655947   MARCOS       ECHEVERRIA                   CA     49011022806
7225B97A65B169   KEVIN        SIMNITT                      AR     90014089706
7225BAA2955939   NOEMI        TADEO                        CA     90014080029
7226111A471921   DAVID        SUNDVALL                     CO     90010431104
722615A447B661   LOLA         FARMER                       GA     15048125044
7226191345B59B   LORENA       HURTADO                      NM     90014239134
72262593A51323   BARBRA       QUINN                        OH     90014745930
72262A3389154B   MIGUEL       SANCHEZ                      NM     75057070338
7226336A691855   DONNA        ARNOLD                       OK     90014003606
7226482349154B   MARTHA       RUIZ                         TX     90014838234
72264A33A41253   JOSH         MACINTOSH                    PA     90007950330
72264A5A15B596   BENJAMIN     BLANCHARD                    NM     90006410501
72265332872B29   MARIO        BUENFIL                      CO     33046673328
72265499472B44   RICARDO      VELLOZO                      CO     90007714994
72266531772B29   JOSE         AGUANTA                      CO     90012135317
7226671287B477   MANDRELL     WHITE                        NC     90001357128
72266988272B32   XITLALI      SOTELO                       CO     90008659882
7226729878B142   PAUL         KLING                        UT     31036502987
7226858525B398   BRIAN        SCRUGGS                      OR     44521005852
72268A3395B596   FERNANDO     BELMONTES                    NM     90014660339
7226933A757157   EVELYN       ESCOBAR                      VA     90014703307
7226976A65B169   CHRIS        HALE                         AR     90015307606
7226978898593B   RICHARD      LUCAS                        KY     90004937889
722697A7A72441   RASHELL      LUNDY                        PA     90014647070
72269879172B32   VERONICA     DOMINGUEZ                    CO     33056188791
7226B4A2341253   DIANE        MILLER                       PA     51003664023
7226B52A357157   ORIEL        TURCIO                       VA     90008655203
7226B884755947   RAQUEL       RODRIGUEZ                    CA     90013608847
7226B8A3172B32   DEONNA       COMBS                        CO     90014158031
72271A42681633   VICKIE       JONES                        MO     90014210426
7227243A455969   ESMERALDA    RAMOS                        CA     90008874304
72272564972B44   SANDRA       STEGMAIER                    CO     90008625649
72273316A5B596   ROBERT       RAND                         NM     90013023160
7227375398B142   MARIA        LUNA                         UT     90012997539
72273A2A955966   CHRISTINA    OLMOS                        CA     90014170209
7227416A372441   DARON        COX                          PA     90011221603
7227445149154B   PABLO        QUEZADA                      NM     90012684514
72274847972B44   IBERA        HE                           CO     90014458479
722748A6A55966   TIFFANY      BECERRIL                     CA     90011238060
72274958572B32   ROBERT       UNDERHILL                    CO     90011139585
7227566A78B168   WENDY        JOHNSON                      UT     31081426607
7227582A55B596   AARON        CHURCH                       NM     90014698205
722758A8372479   NIKKI        YARNOT                       PA     90014368083
7227593A772B44   PERLA        GONZALEZ                     CO     90014049307
72275A72533699   MASHANDA     JONES                        NC     90013080725
7227644287B661   JAMAR        THOMAS                       GA     90010594428
7227678462B994   ANDREW       FLORES                       CA     90011857846
7227699415B59B   JOSE         CASTELLON                    NM     35062829941
72277456327B98   MELISSA      TRICE                        KY     90001494563
722781A8A93739   JAIME        SPURLOCK                     OH     64540651080
7227879157B477   JUSULYN      BEMAH                        NC     11006767915
722791A8A72B32   GABRIEL      CAMPOS                       CO     90012041080
7227941195599B   ASHLEY       DELGADO                      CA     90008284119
72279516972B44   NICOLE       LINTZ                        CO     90014445169
722795A3A72B32   NICOLE       FITZMIER                     CO     90014815030
7227B19A35B596   ANDREA       NAVARRO                      NM     90008601903
7227B667233699   JHONNY       BARILLAS                     NC     90013126672
7227BA5597B477   QUONNECIA    BAKER                        NC     90005870559
72281A24A33699   SHERIEKA     COVINGTON                    NC     90013110240
72281A83555969   GODFREY      FARMER                       CA     90010310835
72282225A33699   PATRICIA     GARCIA                       NC     12015422250
7228232425B596   LISA         CASTILLO                     NM     90013023242
7228232448B168   HERIBERTO    GUITIERREZ                   UT     90013453244
7228254418B142   JAIME        ALMANZA                      UT     90007795441
72282611172B29   CINDY        ACOSTA REYES                 CO     90010916111
7228265338B157   CARMEN       TOSCANA                      UT     90011036533
7228293A141253   MICHAEL      SMITH                        PA     90013619301
72282A18A81633   CRYSTAL      KNOX                         MO     29053980180
7228314917B661   JESSIE       MAE                          GA     90014811491
72283368A5636B   ANNE         SCHULTHEIS                   IA     90014633680
7228523A972421   RANDY        WINGROVE                     PA     90007832309
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 728 of 2350


722852A7655969   MARIA              CARMILA                CA     90012622076
7228547232B994   RAFAEL             RULVACABA              CA     90009064723
72285528372B44   STACEY             ARELLANO               CO     33055495283
722856A9372B29   CARLOS             JARA ARROYO            CO     33067936093
7228591A77B661   JESSICA            PERRY                  GA     90014789107
7228665328B168   IVA                RIVEROS                UT     31042546532
722866A8872B44   DANIELLE           CRAWFORD               CO     90010516088
72286A2865B596   SALLY              MARTINEZ               NM     90014660286
72287244772B98   MARIA              SAUCEDO                CO     33062362447
72287642672B29   KISHA              BRICKENS               CO     90013336426
7228781158B134   HEATHER            EARL                   UT     90008988115
72287AA1472B32   JENNIFER           KLUNDER                CO     33032620014
7228837587B661   LASHONDA           WOODS                  GA     90014773758
7228874A48B168   SEAN               JENKINS                UT     90010037404
7228B18452B994   ANGELICA           RODRIGUEZ              CA     90012941845
7228B196733698   LYNNESE            HOUSTON                NC     90012661967
7228B567284322   STEVEN             WOODS                  SC     90013025672
7228B747472479   KIM                SALIVONCHIK            PA     51061397474
7228B78618B157   PAUL               MARTIN                 UT     90014907861
7228B85519154B   KIMBERLY           RIOS                   TX     90002058551
7228B91628B168   DESIREE            LEIVA                  UT     90007129162
7229273497B477   MICHAEL            MOORE                  NC     11043827349
72292816672B44   MARIA DEL CARMEN   GARCIA                 CO     90014108166
722929AAA81633   RICARDO            GACHUZ-MIRANDA         MO     90003509000
7229362183B343   SUMMER             EMERY                  CO     90001646218
72293686472B44   JORGE              RAMIREZ                CO     90013556864
722936A3155969   GLORIA             GUTAREO                CA     90012006031
72293A3A77B661   DONELLE            JONES                  GA     90012520307
72293A4535B596   URIEL              MORALES                NM     90014660453
722947A4455939   MIGUEL             GARCIA                 CA     90000887044
72295187172B32   ROSEMARY           CHAVEZ                 CO     90007681871
7229527519154B   ALMA               PEREZ                  TX     75011252751
7229638639154B   JOSE               DELRASSO               TX     75057193863
7229662988B32B   ANDRES             LAVIERI                SC     90012856298
72296679572B32   ISAMAR             CARDOMA                CO     90013866795
7229687A37B477   GONZALO            LOPEZ                  NC     11035988703
722971AA171921   LAURIE             RATTERREE              CO     90013231001
7229725A872441   FRANK              ROSMUS                 PA     51064602508
7229771368B157   JENNIFER           MARSH                  UT     90009627136
7229789855B596   JACOB              SANCHEZ                NM     90014848985
7229798A591991   CHRISTOPHER        HANNA                  NC     90006369805
72297A9695B398   HEATHER            MURLIN                 OR     44578300969
7229849A47B477   MIRANDA            HARGETT                NC     90011894904
722984A3157157   NELSON             RAMOS                  VA     81046494031
72298717972B44   EMILY              ROTTA                  CO     90013937179
72298A8A381633   MIKAYLA            DANIELS                MO     90008340803
72299674A71921   MARTIN             CUMEZ                  CO     90003016740
72299A29581633   AMANDA             MULDREW                MO     90014470295
7229B64AA55969   KEITH              HURST                  CA     90010156400
7229B966461597   NASHAN             JENNINGS               TN     90015279664
7229BA7A55B398   DAWN               BURNELL                OR     44578190705
7229BA82A8B168   AMANDA             NICHOLES               UT     31013350820
722B1318131433   AYLA               JENKINS                MO     90014893181
722B173713168B   LORI               GALVAN                 KS     90006797371
722B1899955966   CRYSTAL            HARRISON               CA     90014168999
722B1A1895B596   THERESA            LOPEZ                  NM     35097370189
722B1A6777B661   WHITNEY            UPSHAW                 GA     90014760677
722B2449355966   JUANA              MORALES                CA     90013114493
722B2566A31443   THERESA            BARTON                 MO     90008615660
722B2567455939   BAUTISTA           MARIO                  CA     90002435674
722B271155B169   KELLY A            ROSTAGNO               AR     90014697115
722B2A57281555   ABUNDIO            GOMEZ                  IL     90014910572
722B311387B661   DELORES            SHAVERS                GA     90014801138
722B3469A5B169   LEE                JONES                  AR     90015034690
722B371789154B   STERLING           DAVID                  TX     75068647178
722B373755B596   ISMAEL             LOPEZ                  NM     90004237375
722B3912541253   LEON               JOHNSON                PA     90014759125
722B3991581633   TERIE              FUNG                   MO     29053049915
722B4295272B29   NEFTALI            GUTIERREZ              CO     33004142952
722B444938B32B   ANTONIO            SANTIZ                 SC     90011074493
722B479A27B661   ADRIAN             KNIGHTON               GA     15070097902
722B4979655939   BASALISA           DELAISLA               CA     90013099796
722B51A597B661   CLIFFORD           MCPHERSON              GA     15081811059
722B521958B142   VICKIE             CASE                   UT     31012792195
722B534522B994   XOCHITL            BECERRA                CA     45058583452
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 729 of 2350


722B5427371921   KIMBERLY      JOHNSON                     CO     90014264273
722B57A1772B44   BRANDICA      NOWLIN                      CO     90009867017
722B6462155966   ROJELIO       MARCIAL                     CA     48028214621
722B6784155969   CIELO         HERNANDEZ                   CA     90009917841
722B699489154B   SARAI         CARBAJAL                    TX     90003929948
722B6A54A72421   JONALYNN      COLAIZZI                    PA     51025250540
722B737585B169   MATTHEW       BALENTINE                   AR     90013683758
722B7463A76B27   SHANNA        KENNINGTON                  CA     90002224630
722B7468657157   LUIS          PABLES                      VA     90013164686
722B7732655939   JUSTIN        ANDERSON                    CA     90011917326
722B7789355973   RUBEN         GONZALEZ                    CA     48011197893
722B786A133698   CARLOS        JONES                       NC     90015178601
722B79A8381654   FADILA        KACI                        MO     90004909083
722B7A3A672B44   CARIN         CLUSE                       CO     90014380306
722B8268855939   LORENZO       BANDA MAGALLANES            CA     90012442688
722B8449871921   SCOTT         LAUGER                      CO     90013694498
722B87A8A31433   ZENOBIA       URSERY                      MO     90013527080
722B9518855939   JULIO         ALVAREZ                     CA     90012405188
722B9632A8B168   TYLER         BURGESS                     UT     31007496320
722B9898631443   PAUL          GHOLSTON                    MO     90006238986
722B9932231433   JENNIFER      JOSEPH                      MO     27537189322
722B9996884322   CHRIS         ELLINGTON                   SC     90000459968
722BB46A47B661   JOSES         GARY                        AL     90011454604
722BB492941237   CONSTANCE     BOVIER                      PA     51053804929
722BB71968B168   MICHAEL       DIAZ                        UT     90003767196
722BB84A28B157   KEVIN         LEOS                        UT     90013058402
722BB988A5B169   JACKIE        WELCH                       AR     23015129880
72311721A72B32   CRISTAL       HERRERA                     CO     90001617210
7231177159154B   NORBERTO      BELMAN                      NM     75091977715
72312594572B44   ESWIN         LEMUS                       CO     90007255945
7231269177B661   VLADAMERE     THOMAS                      GA     90015026917
723126A1872B29   JIMENA        MACIAS                      CO     90012286018
72312A34527B98   LATOYA        HOLLAND                     KY     90014230345
72312A4298B168   KELLY UNGER   RICHARDS                    UT     90006280429
72313AA7841253   ADAM          CLARK                       PA     90005450078
723142A3855979   MCKENNA       WALKER                      CA     49008962038
72314459A61986   PATRIK        HANLON                      CA     90009474590
7231576A44B251   BENEDICTO     GARCIA                      NE     90000277604
7231728965B59B   MIRTA         DURAN                       NM     90008692896
72317416A7B477   CARMELA       GARCIA                      NC     90014884160
72317423A7B477   JOSHUA        BROWNLEE                    NC     90010494230
7231766A65B596   CAROL         SPENCER                     NM     35005706606
7231822518B157   ERICK         LACAYO                      UT     90014492251
72318329A81633   DIONNA        HILL                        MO     90004333290
7231841615B398   ANTHONY       PURCELL                     OR     90006524161
7231853788B168   TIMMI         KAYE                        UT     90014685378
7231866A772479   STACY         NICHOLS                     PA     90012976607
7231878848B168   JARAULD       HARGRAVES                   UT     90012727884
72318A6833168B   SUSAN         GOODALL-DENNIS              KS     90015240683
72318A82331433   TRACY         CANNON                      MO     90009740823
72318A9A884322   ROBERTO       CARBAJAL                    SC     90010720908
723194A548593B   ABOULAYE      BA                          KY     90014664054
7231992685B169   HEATHER       BURGER                      AR     23037689268
7231B46137B477   BOBBI         TRUMAN                      NC     90012894613
7231B824972B29   JESSE         GONZALES                    CO     33015168249
7232124A35B59B   RYAN          ORTON                       NM     35082182403
7232125A233B44   ISABEL        RAMOS                       OH     90015112502
7232169849154B   ROBERTO       GARCIA                      TX     90014026984
7232172774B241   ROBERT        PHILLIPS                    NE     90007447277
7232194863168B   SHARITA       STRAUGHTER                  KS     22025429486
7232198638B157   RAUL          GARCIA                      UT     90013459863
72321AA817B661   SHARONICA     DUNLAP                      GA     90014780081
7232231AA5B596   ANTHONY       SANCHEZ                     NM     90012203100
7232266698B163   WHITNEY       DUNCAN                      UT     90010306669
72322836A55939   SERGIO        REBOLLAR                    CA     90014618360
72322A28491991   CLEMENTE      MUNDO PRIETO                NC     90011700284
7232324583168B   TERESA        SPURLOCK                    KS     90013482458
7232385747B45B   ANTONIA       CASTELLON                   NC     90011578574
7232429AA2B271   DIANE         WILLIAMS                    DC     81068672900
723243A9A72479   BRANDON       HALLAM                      PA     90002133090
7232453338B163   ALEXANDREA    COOK                        UT     31006505333
7232481A197121   JINA          MAUGH                       OR     90012928101
7232494982B994   SHEENA        NOEL                        CA     90013129498
72325474472B29   HARLAN        POTTS                       CO     90012164744
7232594595B169   INETTIA       FINCH                       AR     90011719459
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 730 of 2350


7232611387B661   DELORES       SHAVERS                     GA     90014801138
7232649839154B   ONTIVEROS     THELMA MINERVA              TX     90009874983
723271A2157157   AXEL          GARCIA                      VA     81057401021
723279A9472B29   RHONDA        DAVIS                       CO     90009029094
72327A5127B477   SANDRA        MARQUEZ                     NC     90013930512
723283A2233699   RHONDA        MEZE                        NC     90013573022
72328793472B44   VANESSA       VELASQUEZ                   CO     90012337934
7232891782B271   GEORGE        SPARROW                     DC     90009059178
7232975865B169   SEBASTIAN     NEHEMIAS                    AR     90014067586
723298A2493752   FRANK         THOMSON                     OH     66089168024
7232B99767B661   MONICA        PERSON                      GA     90014779976
7232BA85984322   CHRISTOPHER   ZUKOW                       SC     90014780859
7233114917B661   JESSIE        MAE                         GA     90014811491
7233167968B134   KEVIN         ERICKSON                    UT     31039046796
7233197A17B661   ARIEL         WILLIAMS                    GA     90014789701
723319AA37B661   KIERA         HARDAWAY                    GA     90014859003
72332633A3168B   GAYE          CALHOUN                     KS     90011986330
72332722672B44   ERNESTO       VILLALOBOS                  CO     90013937226
7233377977B477   CARLOS        PARADA                      NC     90011347797
72333A58431432   SEAN          KEMPF                       MO     90001190584
72334665272B44   GEORGE        STAPELTON JR                CO     90014706652
72334A5A741237   DEBRA         JOHNSTON                    PA     90009110507
72335983772B44   JONI          HJELLE                      CO     90014079837
72335A8A355947   GABRIEL       CANTU                       CA     90003100803
723365A2655939   BRISA         DE LA MORA                  CA     90014725026
72336A18755947   ROSIE         LOPEZ                       CA     49094160187
72337A71572479   JOHN          PAINTER                     PA     90010970715
7233843838B168   LUIS          CONTRERAS                   UT     90014524383
7233873182B994   BERT          ZAMBRANO                    CA     45023837318
723394A5755939   ALBERT        CORTEZ                      CA     90009624057
72339781772B44   FLORENCIO     CASTRO                      CO     33055487817
7233B132633699   CARLOS        VALENTIN                    NC     90013491326
7233B3A7981255   E             WHITE                       KY     90015323079
7233B613241232   GLENN         FISCHER                     PA     90012986132
7233B92678B32B   JEFFREY       ERBY                        SC     90008199267
7233B928A93739   AMANDA        HAMILTON                    OH     64555739280
7234125695B596   DESHAY        ROBINSON                    NM     90011672569
7234126897B477   RACHEL        ENZAKANI                    NC     90014872689
7234155677B661   JAIME         REYES                       GA     90014575567
723417A338B168   BURGESS       LYNN JULIE                  UT     90006077033
72341A94172B44   JAMES         VOGENTHALER                 CO     33081430941
72342229172B32   JEREMIE       CARTER                      CO     33023482291
7234274A331433   KAYLA         SCHUERMAN                   MO     90011417403
72342A1895B59B   WILLIAM       MATHIS                      NM     35068470189
7234321485B375   LUAN          CAMPOS                      OR     90013522148
72343277A84322   LILIANA       HERNANDEZ                   SC     14512252770
7234351638593B   MIKE          PUTTHOFF                    KY     90003735163
72344157372B29   FLORENTINA    MATA                        CO     90013391573
7234443485B59B   KEVIN         LINDSTROM                   NM     90011034348
7234455677B661   JAIME         REYES                       GA     90014575567
7234464A393739   CLARENCE      MCLIN                       OH     64580156403
723452A728593B   SHEILA        STAMPER                     KY     90014012072
723458AA755966   DAVID         CHAVEZ                      CA     90002948007
723462A1A7B661   MAURICE       WALTON                      AL     90014782010
7234699835B596   DAVID         SALAZAR                     NM     90014669983
7234726635B59B   PEDRO         MUNIZ                       NM     90003992663
7234752478B32B   LINDA         WHITE                       SC     11028835247
72347A5835B169   LARRY         WEST                        AR     23088510583
72347A9265B398   DANIELA       ALAVEZ                      OR     90001770926
723481A9666255   JAHEEL        NORRIS                      MS     90013641096
723488A5293739   GREGORY       CAUDILL                     OH     90011048052
72348A4398593B   MARY          MOORE                       KY     66033350439
72348A99955939   SUSAN         SELF                        CA     90014780999
7234911528593B   DAWN          SOLOMON                     KY     90012321152
72349616172B44   RAUL          LUNA                        CO     90012116161
7234B28687B661   ANTONIO       MERRIT                      GA     90014802868
7234B716855969   FRANCISCO     PADILLA                     CA     90009377168
7234B722355939   JUANA         MENDEZ                      CA     48047217223
7234B82955B59B   ANNAMARIA     RAMIREZ                     NM     90013098295
7235134A231443   ALAN          FERGUSON                    MO     90001903402
7235155A671921   BARBARA       PRICE                       CO     90013395506
7235237322B994   PHYLLIS       KREBS                       CA     90004463732
72354414A55939   MIKE          LOPEZ                       CA     90014604140
7235484165B59B   RAYMUNDO      TOVAR-MALDONADO             NM     90006388416
7235488357B477   IKESHIA       WILLIAMS                    NC     90014898835
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 731 of 2350


72354A39571921   RENEE               STEVENS               CO     32043800395
72355873A5B596   JUAN                CARLOS-CHAVEZ         NM     35059618730
723565A749154B   BIANCA              SANCHEZ               TX     90013125074
72357483272B44   PRISCILA            SAMORA                CO     33085594832
72357484A71921   JESUS               VICTORINO             CO     90011874840
7235759A641237   DARRIUS             POLLARD               PA     90004325906
7235767938B157   MICHAEL             NICHOLS               UT     31078926793
7235797439154B   ELADIO              JAUREGUI              TX     90004659743
7235832433B388   ISABELLA            JARAMILLO             CO     90013793243
7235886817B661   JUDY                JOHNSON               GA     90013678681
72358A39233698   WALTER              NIBBLETT              NC     12039540392
7235921785B596   JAY                 OLSEN                 NM     90006922178
7235927A941253   SHEILA              WARNER                PA     90014712709
72359586172B44   GABRIEL             KING                  CO     90013085861
7235978718B142   CALVIN              BILLINGS              UT     31078177871
723599A8A7B661   ALAN                CANNON                GA     90009069080
7235B262172421   STACI               GAFFNEY               PA     90011392621
7235B794784322   VIVIANA             OSORIO                SC     90013257947
7235B983A5B169   JACQUELINE          WILLIAMS              AR     90012599830
7235BA13972441   JOHN                RELIC                 PA     90015350139
7236181825B596   STEVEN              ROMERO                NM     90004408182
7236244334B241   JACOB               ISRAEL                NE     90008834433
7236319A355969   NORMAS              ROMERO                CA     90014561903
7236323427B477   GILBERTO            PINO DE JESUS         NC     90013012342
7236394A591522   OLGA                REYES                 TX     75078809405
72363A24493736   JAMIE               FRIESZELL             OH     90009070244
7236452A38B168   DANIELLE            PATIENT               UT     31017955203
72364836672B98   MELCHOR             BARRON                CO     33026218366
723648A7472B44   VERONICA            AREVALO               CO     90013968074
72365329A55966   JOSEPH              JARRARD               CA     90014243290
7236559A872B32   ANNA                CRUZ                  CO     33023485908
72365A85872441   SONYA               STRATTON              PA     90015540858
72366258872B27   MARIA DEL REFUGIO   ESTRADA               CO     90011842588
72366381172B29   ELIZABETH           MONTOYA               CO     33024853811
7236667517B477   JUSEHP              RIOS ZANDATE          NC     90013286751
7236672A92B225   BRENDA              JOYCE                 DC     81024757209
7236677475B169   HERMDIN             DA ELIAS              AR     23023007747
72367165672B29   LIAM                KELLY                 CO     33001311656
7236725668B163   ANDREW              ANDERSON              UT     31002002566
723675A749154B   BIANCA              SANCHEZ               TX     90013125074
7236794883B343   MARGARITA           HERNANDEZ             CO     90013679488
72368A18984322   GUILLERMO           HENNIQUEZ             SC     14590420189
72368AAA972479   DAVID               WOJCIK                PA     51050650009
7236941118593B   MICHELLE            KITE                  KY     90013574111
7236945729154B   DONYALE             HUNT                  TX     90015034572
7236B14488593B   SEAN                NOLL                  KY     66014491448
7236B232384322   ANDREW              YOUNGBLOOD            SC     90013692323
7236B263A72B44   PATRICK             NICHOLSON             CO     33017512630
7236B31813B358   MICHAEL             CASTILLO              CO     90010193181
7236B45878B142   BRANDON             PROWS                 UT     90009134587
7236BA5975B596   JOSEANGEL           BORQUEZ-LOPEZ         NM     90010500597
7237138467B477   KENNETH             JETT                  NC     11038733846
7237188112B994   FELICIANO           REYES                 CA     90012278811
7237225338B168   JANALYN             ALDOUS                UT     31089542533
72372545A2B994   VICTOR              VILLANUEVA            CA     90001665450
72373322372B44   EDIN                ARGETA                CO     90010083223
72373754727B98   CASSANDRA           WATTS                 KY     90014237547
7237445928593B   JESSE               DEATON                KY     90012134592
7237447453168B   CURTIS              NEAL                  KS     90014524745
7237467A455966   AMANDA              GRABLE                CA     90010656704
7237559738B142   CHLOE               THOMPSON              UT     90001455973
723758A845B59B   NANCY               ESCOBEDO              NM     90013088084
72375967372B32   HASSEN              AOUAJ                 CO     90012749673
72375A23431432   JUSTIN              WILLIAMS              MO     27518730234
7237635917B477   MONIQUE             ALEXANDER             NC     11006973591
723767A352B994   JOSE                ORTIZ                 CA     90014377035
723774A118593B   HEATHER             WEBSTER               KY     66089604011
72377848757B68   KIMBERLY            MILLER                PA     90015358487
72377A36A41253   EBONY               JOHNSON               PA     90005330360
72377A62484322   ROBERTO             HERNANDEZ             SC     14598840624
72377A65A72B32   DAVID               ABNEY                 CO     90012370650
7237833487B427   STEPHANIE           ADAMS                 NC     11034243348
7237974718B157   JORGE               ECHEVERRIA            UT     31098587471
7237976993168B   BOBBIE              SLAWSON               KS     90009037699
72379841672B44   RUBEN               TRUJILLO              CO     90013308416
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 732 of 2350


7237B312684322   ASIAH        BROWN                        SC     90014693126
7237B615A2B271   JALITA       HENRY                        DC     90001796150
7237B627555966   CARRIE       RIOS                         CA     90013436275
7237B68235B169   JOHN         JONES                        AR     90011026823
7238144265B59B   MARIANA      SAENZ                        NM     35083734426
7238186267B477   ALBERT       MEWBORN JR                   NC     90013718626
72381A79272B44   MANUEL       MACIAS                       CO     33091380792
7238218287B661   KINGSLET     LEE                          GA     90000441828
7238285A45B169   KASONDRA     JONES                        AR     90014088504
72383358297B23   JOSEPH       WOOTTON                      CO     39015063582
7238345747B661   ANTHONY      TAYLOR                       GA     90014784574
7238346468B32B   ANGEL        MACKEY                       SC     90001384646
7238435138B134   DREW         HOEPPNER                     UT     31096503513
72384532972B27   WILLIS       HUDSON                       CO     90007645329
7238469767B477   CHAD         BAUR                         NC     90012916976
7238523745B59B   ANNA         BEGLEY                       NM     90008522374
723854A983B384   EDITH        OCAMPO                       CO     33059114098
7238555848B142   SIXTO        LOZOYA                       UT     90010395584
72385715A71921   CHERICE      HUGGINS                      CO     90011347150
72385A9388B157   NERY         MORALES                      UT     90012520938
72386568372B32   PAIGE        SHERIDAN                     CO     90009615683
723867A2684322   ERIC         LOZANO                       SC     90012907026
7238732718593B   TIFFANY      SANDERS                      KY     66068093271
7238795889154B   MARIA        ALBA                         TX     75061769588
72388137A71921   AVONA        KUHLMANN                     CO     90002531370
72388234A3168B   TAYLOR       WORLEY                       KS     90014832340
7238835553B822   FAISAL       HUSSAN                       NE     90013173555
72388368672B32   CHERYL       BAIN                         CO     90009573686
7238857779154B   JOSE         MAGALLON                     TX     75012835777
723886A398B168   DANIEL       DUCKETT                      UT     90005896039
72388781872B29   JULIO        CALVA                        CO     90004667818
7238B37385B357   CHRISTINE    CAMPBELL                     OR     44587083738
7238B52A48B168   MALAKAI      PALANITE                     UT     90008305204
7239115A455939   JORGE        CARRILLO                     CA     90014321504
72391319972B21   SARAH        HAWKINS                      CO     90014603199
7239144878B142   LILIA        JIMENEZ-VAZQUEZ              UT     31077924487
723914A6172B44   DAVID        MONTOYA                      CO     33081294061
72391A3595B596   TONYA        MARR                         NM     90007520359
72391A7A972B32   ISREAL       CASAS                        CO     90012730709
7239219292B869   DALAN        GOOD                         ID     90013411929
7239283875B59B   ANNIE        RAEL                         NM     90013088387
7239284397B661   ROY          HOLMAN                       GA     15078928439
7239488338B168   GABY         VASQUEZ                      UT     90012168833
7239557238B168   MARK         SOVINE                       UT     90014435723
7239618688B168   KASSIE       LARSEN                       UT     90005091868
7239627A59154B   RONNA MAY    SELIDIO                      TX     90001592705
7239628687B661   ANTONIO      MERRIT                       GA     90014802868
72396441572B32   HOLLY        HOLT                         CO     90014114415
7239683585B169   LORA         TAYLOR                       AR     90013588358
7239689A781633   NAKEISHA     CRUMP                        MO     90010908907
723968A2241227   NICHOLAS     VITAI III                    PA     90001108022
72396983A2B84B   KEN          CLARK                        ID     42079369830
72396A28671921   YOUN HA      SALES                        CO     32016770286
723977A885B59B   SHAUN        PAUL                         NM     90004957088
7239848184B566   MARIA        LOERA                        OK     90011514818
72399333572B29   DAVID        RUIZ                         CO     90003353335
7239959A981633   CANDICE      JOHNCON                      KS     90014725909
723995AA355966   RUTHIE       ANFIELD                      CA     90013355003
7239BA6557B661   JEFFERY      RICHARDSON                   GA     90014790655
723B1236825645   SADIAGO      LENGSI                       AL     90014592368
723B1738231443   RANDY        GOWEN                        MO     90010487382
723B181A593739   DARION       LEWIS                        OH     90009788105
723B23A6A8B657   MICHAEL      WILSON                       TX     90014193060
723B2618A84322   GONZALO      RODRIGUEZ                    SC     90015236180
723B2696633698   MARK         SMITH                        NC     12069616966
723B31A4357157   ANTONIO      PERDOMO                      VA     90013271043
723B4484555966   DIVINA       NAVARRETTE                   CA     48076904845
723B5233972B32   VERONICA     FLORES                       CO     33053942339
723B549A79154B   VERONICA     MORALES                      TX     90013124907
723B5A1587B474   ABOVE &      BEYOND STYLES                NC     11076180158
723B6117631433   PATRICE      WAYNE                        MO     27557461176
723B6596161597   JASMYNE      DANIELS                      KY     90013025961
723B682315593B   ALJANDRA     ACEBA                        CA     49087788231
723B7475471921   HEATHER      REBISCH                      CO     90002764754
723B77A4451544   CHARLIE      THOMPSON                     IA     90014567044
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 733 of 2350


723B7933631451   RASHANA       KINDELL                     MO     90001699336
723B7A5617B661   CANDACE       BRYANT                      GA     90015060561
723B815A18B32B   PORTIA        KISER                       NC     11047371501
723B8624355969   JOSE          HINOJOSA                    CA     90013246243
723B8653872B32   SHELLY        BUSTOS                      CO     90000626538
723B8A34257157   REYMUNDO      CORENA                      VA     90006540342
723B91A398B142   JOSH          WILKERSON                   UT     90002751039
723B9643855966   SELESTINO     GUERRA                      CA     90014186438
723B966365B398   FARA          SORENSEN                    OR     44578756636
723B967288B134   PAOLA         CERVANTES                   UT     90010036728
723B9686972B29   DEISY         LOYA                        CO     33098056869
723B9942391991   DOUGLAS       OANYA                       NC     90002329423
723B9A35972B98   JAMES         RIEMENSCHNEIDER             CO     33026580359
723BB11269154B   BERENICE      LOPEZ GARCIA                TX     90010541126
723BB642931433   KRINESE       THOMPSON                    MO     90006676429
723BB65755B596   MARIBEL       VILLAN                      NM     90014706575
723BB9A727B661   ALFREDO       PEREZ                       GA     90004979072
723BBA71A72B23   MICHAEL       NOLAND                      CO     90010730710
72411257372B32   ANGELA        DIAZ-DIAZ                   CO     90014752573
7241148917B477   SHANICA D     PAYTON                      NC     90014304891
7241167868B168   JESSE         PLATT                       UT     90011256786
724118A718B142   CHRISTOPHER   LARSON                      UT     90013508071
72411918A5B398   CODY          DYSINGER                    OR     44590509180
7241216557B661   ANTHONY       SPEIGHT                     GA     90014791655
7241224A755939   ONOFRE        LEYVA                       CA     48059592407
72412287972B32   MARGARITA     RODRIGUEZ                   CO     90006312879
72412781A8B163   TIMMOTHY      PEREA                       UT     90010577810
7241355265B169   GINNY         EL-SAYED                    AR     90014625526
72413A9A193739   AERION        ELLINGTON                   OH     90014670901
7241416AA8B157   SCOTT         ANDERSON                    UT     90012241600
7241419337B661   TYRONE        MARCELLUS                   GA     90014791933
72414824972B29   NATASSIA      RETTIG                      CO     90012178249
724148A327B477   WELLEN        FORNEY                      NC     90011348032
72414A17172B44   PAYGO         IVR ACTIVATION              CO     90014410171
72414A25533698   CONSTANCE     GARNER                      NC     90012980255
72414A51A72B98   ELIZABETH     BENSON                      CO     90013320510
7241532A672441   MAURICE       MORELAND                    PA     90004973206
724153A4A8B163   WENDY         INGERSOLL                   UT     31008843040
7241557427B661   CASSANDRA     ROLLINS                     GA     90011445742
72416232A57157   CORDELIA      DIN                         VA     90014212320
72416747A72B44   JESSE         HERNANDEZ                   CO     33052347470
7241678438593B   DAVID         WESLEY                      KY     66024617843
72416A59771921   KENT          CLARK                       CO     90012840597
7241714917B661   JESSIE        MAE                         GA     90014811491
72417161A33657   MARCUS        JONES                       NC     90008481610
7241722417B661   TAMARA        MILLER                      GA     90014792241
724175A2533699   BRITTANY      CARTER                      NC     90014725025
72417829A91981   MICHELLE      WALL                        NC     90013008290
72417A5569154B   BERENICE      TORRES                      TX     90012820556
72417A94231433   WHITNEY       WHITE                       MO     90013870942
7241834637B477   ELENA         BRUNO                       NC     11030383463
724186A848B32B   JORGE         MELENDEZ                    SC     90010056084
7241881699154B   SONIA         ALEXANDER                   TX     90014498169
72419179472B98   YADIRA        MARTINEZ                    CO     90009391794
724191A854B27B   NYAHIAL       GACH                        NE     90014701085
724193A168B134   VIKKI         HAWKE                       UT     31021753016
72419727A2B84B   SHELBY        PHILLIPS                    ID     42041607270
7241986A672B44   CAROLYN       GONZALES-SANCHEZ            CO     90000898606
7241B151433699   MISTY         GIBSON                      NC     90004261514
7242138318B157   OSCAR         OZUNA                       UT     31094443831
7242143425B169   RENITA        RENITA                      AR     90003524342
7242228A97B661   KIARA         FOSTER                      GA     90014792809
72423625672B29   NAVARRO       REYES                       CO     33071936256
724239A5972479   WILLIAM       BROUNCE                     PA     51065679059
72423A75A7B661   SHAKAKLUN     WEST                        GA     90011240750
72425147572B29   PSIDAL        LA                          CO     90015301475
7242536A257157   SONIA         GARDNER                     VA     90015063602
724253A6557157   CHIREDA       GAITHER                     VA     90014163065
724254A887B661   DARIUS        WILLIAMS                    GA     90012054088
7242564162B994   ANGEL         BENITEZ                     CA     90010746416
7242565978B134   KRIS          JEPPSON                     UT     31019506597
7242634378B168   NANCY         COONES                      UT     31051803437
7242666118B157   SANDRA        SLAYMAKER                   UT     90013926611
7242666A555969   FRANCISCO     CENDEJAS                    CA     48024806605
7242711A28B163   JARROD        SPARKS                      UT     90001681102
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 734 of 2350


7242716357B661   CHARLES         GASKIN                    GA     90001811635
7242721898B168   JON             GARDNER                   UT     90010282189
7242754849154B   STEVEN          SALDANA                   TX     90013125484
7242764165138B   LATISHA         AMISON                    OH     90008816416
7242767648593B   GRANT           HUNTER                    KY     90015136764
72427A93855939   MARIA           LOPEZ                     CA     90012300938
7242864188B32B   LINDA           WHITLOCK                  SC     90003906418
7242871288593B   LISA            ELY                       KY     90009057128
72428A4A991991   JAMES           REECE                     NC     17011160409
72428A51672479   SUMMER          SPARTE                    PA     51012350516
72428AA7272B29   JOSEPH          CORDTS                    CO     33090950072
7242929887B661   LASHONDA        JANUARY                   GA     90014792988
7242963A841253   KEVIN           BROWN                     PA     51014226308
72429A3272B271   MARC            FRANCIS                   DC     81068720327
7242B146A41227   KIMBERLY        MILLER                    PA     51048211460
7242B34812B271   KRISTAL         SPRUILL                   DC     90011343481
7242B429172B44   JEREMY          GAUNA                     CO     90001924291
7242B64419154B   PATRICIA        DELGADO DE LICON          TX     90013526441
7242B6A3655939   MIRIAN          DURAN                     CA     90012606036
7243185939154B   CARMEN          ZUNIGA                    TX     75051798593
7243196788B168   STEPHANIE       EBB                       UT     90009039678
7243246752B994   ADRIANA         CHIA                      CA     90005684675
7243261395B596   ANTONIO         SOLIS                     NM     90014616139
72432A4269154B   DANIEL          AMAYA                     TX     90012980426
72432A7A155969   GERARDO         HERNANDEZ                 CA     90013770701
72434441A8593B   BRANDON         SOWDERS                   KY     66018774410
7243466A441237   BETH            ANDERSON                  PA     51050516604
72434A7945B59B   ENRIQUE         PEREIRA                   NM     35033140794
72435168A3168B   KAYLEIGH        DAVIS                     KS     90013601680
7243522818B157   JADE            CANNON                    UT     90015192281
7243524458593B   PAMELA          BLEVINS                   KY     66001592445
724356AA191531   ABIGAIL         DELGADO                   TX     90001186001
724357A5441253   ZACKARY         SCHULER                   PA     90015167054
72437A2378B168   EDUARDO         MIRANDA                   UT     90002350237
72437A7368B157   ERIK            SILVA                     UT     90009020736
72438632672B27   ELIZABETH       SAENZ                     CO     90005486326
7243882A82B271   JAY             SMITH                     DC     90006628208
72439152A72B29   HENRY ANTONIO   ALVARADO                  CO     90010151520
72439398127B98   GEORGE          CANNON                    KY     90014243981
7243941127B661   TOMEKIA         RICHARDSON                GA     90014794112
7243B3A627B661   ANGELICA        REYES                     GA     90014793062
7243B786872B29   DONELLE         WATLEY                    CO     33036857868
7243B79488593B   BRIAN           DEATON                    KY     66051947948
7243B89999154B   OSCAR           GARCIA                    TX     90007488999
724417A938B134   SCOTT           HUNTSMAN                  UT     31005697093
72441989172B44   JAZMIN          OCON                      CO     90010029891
72441A33991863   DAVID           WEBSTER                   OK     90009710339
72441A5A33168B   PAMELA          PIPE                      KS     90014500503
7244284248B157   STEVEN          PETERSON                  UT     31048278424
724441A2231433   AARON           MOORE                     MO     90012661022
72444241A8B168   GLADYS          PICKETT                   UT     90006202410
7244455383168B   SERI            RUNYON                    KS     22015285538
7244498639154B   DORIS           QUIJANO                   TX     75020649863
72444A96872B44   ADAM            LOBBATO                   CO     90000210968
72445A92791991   JARED           WATSON                    NC     17045440927
724464A9A93739   HEATHER         SCOTT                     OH     90014004090
72447132A72441   NICOLE          ATKINSON                  PA     90013751320
72447268472B44   MULLINS         DAVID                     CO     33032102684
72447357172B44   HEATHER         DOUGLAS                   CO     33043083571
72447385A7B477   DIANN           TORRENCE                  NC     90014573850
72448534572B32   MICHELLE        PARK                      CO     33035995345
7244944645B596   BETHANI         WHITE                     NM     90011614464
7244944A73B35B   GARY            WALLER                    CO     33073004407
7244B152672B32   SHAWNA          SKIPWITH                  CO     33044751526
7244B22323168B   MARISA          DIAS                      KS     90012952232
7244B256672B32   KIMBERLY        WEIDENKELLER              CO     90012582566
7244B28A957531   ZACHARY         NAEGLE                    NM     90014602809
72451A94272B44   MICHELLE        DUBIEL                    CO     33067440942
72452135A2B271   ADAM            RAGINS                    DC     81001361350
724522A6681633   THOMAS          LOWE                      MO     90014942066
7245252138B157   HERIBERTO       GUTIERREZ                 UT     90009725213
724526AA85B59B   NANCY           SEDILLO                   NM     35041356008
7245274185B169   CHRIS           CAMBRON                   AR     90000317418
7245299A161935   TIRZO           SHABO                     CA     90007169901
72453545A72B32   STEVEN          BANZHAF                   CO     90009985450
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 735 of 2350


7245355195B59B   WAYNE        JARAMILLO                    NM     90006935519
724535A6A72B98   ARMANDO      HERRERA                      CO     90005165060
72453763272B44   ALEXX        CRIBARI                      CO     33070957632
7245449237B661   ABROQUAH     KOFI                         GA     90014794923
72455484A7B661   SECORIA      WILLIS                       GA     90014794840
7245687878B163   ADAM         MILLER                       UT     90010578787
7245731138593B   TORRIE       HOPPER                       KY     90014153113
72457484A7B661   SECORIA      WILLIS                       GA     90014794840
7245781A561935   CHRISTINA    RUBALCABA                    CA     90002218105
72457A5318593B   SAISAL       ELMAZEANI                    KY     90012280531
7245842295B596   KAREN        KARAMANIAN                   NM     35070424229
72458A47672421   COTY         FETTY                        PA     90011580476
7245911A28B163   JARROD       SPARKS                       UT     90001681102
7245949237B477   MIRANDA      SPRINGS                      NC     90013474923
7245952557B661   MICHAEL      ANDERSON                     GA     90014795255
72459759A3168B   LANETTE      WARDEN                       KS     22014807590
7245B355A33699   CYNTHIA      BETHEA                       NC     90011303550
7246154937B661   LATOYA       TEAL                         GA     90014795493
72461694572B32   LAZARO       LOPEZ                        CO     33042846945
7246189658B163   TYLER        JATERKA                      UT     90010578965
7246214168B134   CLAUDIA      DENSON                       UT     31088901416
72462845A72B29   DAVID        BURKEL                       CO     33075758450
7246289A155939   CARLOS       GARCIA                       CA     90011848901
72462924A71921   WALTER       QUEVEDO                      CO     90002419240
7246311A88B142   SANDRA       BURGESS                      UT     31085191108
7246342A48B157   CATHY        NEFF                         UT     90002314204
72463856372B29   OSCAR        FAUDOA                       CO     33014608563
7246439AA91531   MICHELLE     ZAMORA                       TX     90009293900
7246459187B661   JUAN         CEDRA                        GA     90014795918
7246477A972421   AMANDA       PARNELL                      PA     51095667709
72464943A33698   KARLA        FONVILLE                     NC     90010119430
72464A34A72B98   NANCY        GONZALEZ                     CO     33036500340
72464A89427B98   LATONYA      GULLET                       KY     90014630894
7246518AA7B477   ROSIE        PORTER                       NC     90013981800
72465341A8B168   KELLY        WILKINSON                    UT     90014613410
72465654A81633   ALICIA       BRIGGS                       MO     90013816540
72466375872B29   MARWAN       HUSSEIN                      CO     90015113758
7246646628B32B   ANTHONY      TURNER                       SC     90011104662
724665A647B477   GWENDOLYN    KENNEDY                      NC     90010275064
7246686A78B142   VLADIMIR     MUNSON                       UT     90012098607
72467331A9154B   PRISCILLA    ORTIZ                        TX     75057163310
72467611372B44   ASHLEY       MCDANIEL                     CO     90011626113
7246876A155969   PAUL         SHUMAN                       CA     90004597601
72468872772B29   IVAN         BACA                         CO     33047558727
724689A2172B32   ALFRED       RIOS                         CO     33015199021
7246923865B59B   DESTINEE     CARILLO                      NM     90010182386
7246986A133698   CARLOS       JONES                        NC     90015178601
72469A31741253   HOPE         SCHNEIDER                    PA     51067870317
72469A76271921   NORA         VILLALOBOS                   CO     90015100762
7246B56975B596   LUANNA       ZAMORA                       NM     35041535697
7246B815772B98   ANASTASHA    GRACIA                       CO     90004508157
7247175A981633   NEVAEH       REVELS                       MO     90008667509
724721A748B163   ISAAC        CHAVEZ                       UT     31037251074
72472742A41237   THOMAS       ROSS                         PA     51030577420
724729A6A5B169   AUBREY       CROCKHON                     AR     23021489060
72472A62871921   ADRIENNE     CARTER                       CO     90012840628
7247346457B477   EULALIA      HERRERA                      NC     90014524645
7247421A531453   MICHALE      MCGRUDER                     MO     90001212105
72474653A72B32   LUIS         CASTANEDA                    CO     33069866530
72474745A7B661   LAKEISHA     EUBANKS                      GA     90014777450
7247522578B168   JAKE         GOMEZ                        UT     90011982257
72475842472B29   LAURA        BLACKBRUN                    CO     90006888424
72475A43A33699   DANA         LITTLE                       NC     90011120430
7247639957B661   JEAN         BAKER                        AL     90014803995
72476477A9154B   NANCY        CABRERA                      TX     90011404770
7247684548593B   PIECE OF     ME                           KY     90015278454
7247753877B477   DELORIS      MCCRAY                       NC     90014725387
724775A9971921   ZACH         SIMS                         CO     90014065099
72479297A31443   LORENZO      BARNETT                      MO     27580492970
724795A2672B29   DANIEL       WERTZ                        CO     90011475026
7247B397A72B32   TYLER        SHOCKEY                      CO     90009593970
7247B44A627B98   SHARICKA     BRAXTON                      KY     90001074406
7247B89893168B   RONALD       DUNN                         KS     22079088989
7248121A47B661   KAIL         SMITH                        GA     15087612104
7248142195B59B   MILLER       LORI                         NM     90009084219
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 736 of 2350


72481A12841253   SHARON        JOHNSON                     PA     51049440128
72482A45533698   DOMINIQUE     DANTIZER                    NC     90012730455
7248331A52B994   DEBRA LYNNE   COX                         CA     90015073105
72483463A72479   LARISSA       LEE                         PA     90004604630
7248398638B157   RAUL          GARCIA                      UT     90013459863
72484125A72421   BARBARA       GALLO                       PA     90014831250
724841A7157157   OSCAR         SANCHEZ                     VA     81089371071
7248453777B477   HADDONNY      CARRANZA                    NC     90013485377
7248488168B157   YESICA        VIEYRA                      UT     90013778816
72485987972B29   HECTOR        VAZQUEZ                     CO     90012619879
72485A1468B168   CANDICE       WEIBELL                     UT     90009040146
72486476A81633   MICHAEL       KRZNARIC                    MO     90000274760
7248665A83B343   JASON         WALKER                      CO     33055316508
72488173272B44   AMELIA        DUCKERY                     CO     90013991732
724893A367B477   RONALD        BARNETT                     NC     90014853036
7248962A291991   DANIELLE      WARD                        NC     90003336202
7248979A957157   CLAYTON       HOPKINS                     VA     90013257909
7248B27A233699   CAPRILLI      BARBER                      NC     12005972702
7248B3A1755966   SHELLY        ROBINSON                    CA     90012893017
7248B48117B661   LILLIAN       JERNIGAN                    GA     90014804811
7248B73558B168   DANNY         LEWIS                       UT     90012567355
7248B77969154B   MICHELLE      ROJO                        TX     75097067796
7248B8A2157157   MARIA         CAMPA                       VA     90005018021
7248B9A8A71921   TIM           PETERS                      CO     90014849080
7248BA14591378   KATHRYN       VARNER                      KS     90007620145
724912A535B596   PERLA         ESPINOZA                    NM     90004412053
7249212A472B44   HEIDI         ZOOK                        CO     90013031204
7249252528B157   BRITTANY      HEGERHORT                   UT     90004215252
7249259837B661   TERONIA       EVERETT                     GA     90014805983
7249289598B142   ABRAHAM       VEGA                        UT     90010868959
72492A5863B39B   MIGUEL        ALMEIDA                     CO     33058530586
724931A655B596   HILDA         ALVARADO                    NM     90013131065
72493416372B29   CLADIA        MORENO                      CO     33089654163
72494355927B98   LATOSHA       QUARLES                     KY     90014703559
72494547372B32   CRESENCIO     RIVAS                       CO     33088265473
72494A17372B44   ROLONNA       DEVER                       CO     90003990173
7249528788B183   MARIA         SELINAS                     UT     90012492878
7249561395B169   JOVAN         COLE                        AR     90012026139
7249589658B163   TYLER         JATERKA                     UT     90010578965
724961A5772B29   NATALIE       TRUJILLO                    CO     33080011057
724967A5227B98   KIM           WRIGHT                      KY     90010167052
7249736468B134   GUADALUPE     VILLALOBO                   UT     90003553646
7249839A333699   LENEE         FAIR                        NC     90006683903
72498887972B29   EVA           LOPEZ                       CO     33071278879
7249952533B325   ALBERTO       RODRIGUEZ                   CO     33062225253
724999A7655969   MARIA         HERNANDEZ                   CA     90013499076
7249B34388B157   SEBASTIAN     BEDOLLA                     UT     31010703438
7249B38755B59B   GABRIELA      ARCHIBEQUE                  NM     35088453875
7249B42668B168   CHRISTIE      GILES                       UT     90008124266
7249B436672B32   MARTHA        IRENE                       CO     90008354366
7249B59297B661   CORNELIUS     MARTIN                      GA     90014805929
7249B613361986   CRUZ          RODRIGUEZ                   CA     90013936133
7249B877181633   FRED          HUDGINS                     MO     29001578771
7249BA22184322   SONNY         DAVIS                       SC     90002970221
724B115A333698   ELAINE        WILLIAMS                    SC     90014811503
724B123735B59B   HARRIET       SILVER                      NM     35078092373
724B1682372B29   CYNTHIA       BELL                        CO     33032616823
724B18A869154B   MARIO         FERNANDEZ                   TX     90014498086
724B1916831433   JENNIFER      COLLINS                     MO     90014899168
724B2129184343   LADONNA       MANUEL                      SC     90007931291
724B242578593B   FELECIA       BRADSHAW                    KY     90011324257
724B2569672B32   NATHAN        BUSCHMAN                    CO     90005885696
724B2895841258   KATHY         COPPLE                      PA     90011748958
724B2A83555969   GODFREY       FARMER                      CA     90010310835
724B3285733624   VICKY         VALDEZ                      NC     90013352857
724B349A761935   RAUL          RAMIREZ                     CA     90005554907
724B3621733699   BRIDGET       HETHCOAT                    NC     90014856217
724B3AA4793739   NATHAN        TURNER                      OH     90011990047
724B41A853B325   PEGGY         ELLISON                     CO     90010001085
724B42A547B477   FIFI          NZITA MALONDA               NC     90014702054
724B443A357157   DAVID         GALLO                       VA     90014774303
724B452375B596   A             LOPEZ                       NM     35039245237
724B5593141237   AARON         DUDLEY                      PA     90011855931
724B5A32181633   RONALD        COOK                        MO     90009200321
724B6335255966   RONDA         MILLER                      CA     48029013352
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 737 of 2350


724B6927581255   FERNANDO     CORTEZ                       IN     90014859275
724B7141A5B59B   JAMIE        POWERS                       NM     90006191410
724B7792572B32   MONICA       CARRILLO                     CO     90012827925
724B7A51684322   TARA         BEDNARCZYK                   SC     90010020516
724B895158B168   WELCH        BROWN                        UT     31073069515
724B939498593B   MARK         ABNER                        KY     90004743949
724B951998436B   KIMBERLEY    BOYER                        SC     90009315199
724BB147372B44   JAIME        CAMBRON                      CO     90002181473
724BB28965B596   MIRTA        DURAN                        NM     90008692896
724BB3AAA36182   RAMIRO       DELEON                       TX     73580823000
724BB8AA572B29   JEREMY       WATSON                       CO     90006648005
725113A217B477   LASHONDA     CAMPBELL                     NC     11076853021
7251238A68593B   NICHOLE      SCHWARTZ                     KY     90010743806
7251287335B169   DANNY        ELDER                        AR     90014428733
725135A135B169   ROGER        WEST                         AR     23046185013
7251376A87B661   YOLANDA      FULKERSON                    AL     90011257608
72514136A71921   LIBRADO      JERERIA                      CO     90013381360
725146A3255947   ANGEL        NOROA                        CA     90010326032
72514878A7B477   ARMINDA      TAPIA                        NC     90010138780
7251496465B59B   KIARA        TOM                          NM     90014999646
72514A1135B59B   STEPHANIE    JEFFERSON                    NM     90013090113
72515A89855966   ANA          MORALES                      CA     90000680898
72515AA2572B29   JEANETTE     HAWTHORNE                    CO     90010600025
7251619298B142   GUADALUPE    PENA                         UT     90004021929
7251756578B157   FRANCISCO    VAZQUEZ                      UT     90013355657
725175A4933B34   MARIANO      ROJAS                        OH     90014105049
72517A4739125B   ANDREW       MUTALE                       GA     90010340473
725186A5271921   JIMSON       FRANCK                       CO     32030086052
7251878487B661   SHAWANDA     BAILEY                       GA     15097957848
72518954A5B596   JENNIFER     PUENTES                      NM     35034589540
725189A453168B   BELLA        VASQUEZ                      KS     90014789045
72519163672B29   VALERIE      LOVATO                       CO     33060831636
7251973285B59B   JOVANA       VELA                         NM     90011557328
7251B183893739   RONALD       PITTS                        OH     90014851838
7251B42882B994   ESMERALDA    ORNELAS                      CA     90012664288
7251B529172B29   KARLA        STRICKLAND                   CO     33062875291
72521384772B32   PRIMAVERA    MARTINEZ                     CO     90002703847
72521999A33699   KELIA        CRUZ                         NC     90008799990
72521A2268B163   RYNE         READ                         UT     90006140226
72522431572B44   NATALIE      HAMLING                      CO     90002724315
72522568172B32   KENDRA       ESSINGTON                    CO     33086435681
7252296835B59B   JULIE        SANCHEZ                      NM     90000649683
7252315328B134   LAURA        YOUNG                        UT     90011331532
72523435A7B477   JASON        TERWILLIGER                  NC     90012834350
725234A5881633   VICTORIA     JOHNSON                      MO     90008024058
7252369853168B   COREY        WRIGHT                       KS     22059076985
725239A668B142   DAYMAN       MCKINNON                     UT     90012919066
72523A6745B596   BERNARDO     CASTRO CHAVARRIA             NM     35082550674
72523AA5972B32   JOSH         ROYBAL                       CO     33089460059
7252454822B271   CHERYL       JENKINS                      DC     81072315482
7252513358B32B   JULIAN       SANTOS                       SC     90000241335
725256A9733B34   SAMANTHA     ROJAS                        OH     90014106097
72525A37472421   RONAELE      MYERS                        PA     90014520374
7252616915B59B   MELANIE      GOENS                        NM     35051911691
72526594A8593B   EVA          TAYLOR                       KY     66074795940
7252696A981633   MARIA        MELDONADO                    MO     29070579609
72526A35233699   TEMEKA       PLEDGER                      NC     90010980352
725274A578B134   JENNIFER     TODD                         UT     31005814057
725276A997B661   TAMIKA       LANPERS                      GA     15009446099
7252783578593B   RONALD       MADRID                       KY     90010848357
725283A5172441   SAMANTHA     FRY                          PA     90015503051
725285A5861935   LIZBETH      MENDOZA                      CA     90008575058
72528649172B32   MALACHI      LASHER                       CO     90008736491
7252886AA93739   KERI         BRAMBLE                      OH     90010998600
72528A32A57157   LLOYD        RUTH                         VA     90015130320
7252937A372421   MIKE         BISTLINE                     PA     90014993703
72529A7879154B   PATRICIA     FLORES                       TX     90013770787
7252B44499154B   CHERYL       COLKER                       TX     75001634449
7252B522A7B661   DARLENE      CARTER                       GA     90014815220
7252B628772B32   TAVIS        BARNES                       CO     90012706287
7252B88A22B994   ELEANOR      GOMEZ                        CA     90013318802
7252B97AA72421   JASON        WILLIAMS                     PA     90012019700
725312A842B994   ALEXIS       BORRUEL                      CA     90012662084
7253154978593B   MELISSA      COYLE                        KY     90008865497
7253158679154B   MICHELLE     AGUIRRE                      TX     90010545867
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 738 of 2350


725319A657B477   VERNYA        MILLER                      NC     90010919065
72532A5A841237   CHRIS         SCHWOEBLE                   PA     90003190508
72533521172B44   VALERIE       CERECERES                   CO     90009775211
7253373A155966   ELIZABETH     MARTIN                      CA     90013117301
7253387589154B   CARMEN A      GARCIA                      TX     90006548758
72534744672B29   CHARLES       THEOBALD                    CO     90012777446
72535A7829154B   HUMBERTO      PONCE                       TX     90011290782
72536994972B44   BRAND         LOVE                        CO     90010029949
72538586A5B596   REGINA        LUJAN                       NM     35092545860
72538675A84322   JENNY         BAUTISTA                    SC     90013866750
7253869A972479   AMY           HASKINS                     PA     51070236909
7253922215B169   SARA          PAYNE                       AR     90014712221
72539442A84322   CARLA         AUGUSTA                     SC     90011414420
7253B427171921   ASHLEY        DIECKOW                     CO     90012854271
7253B663193739   ASHLEY        BACK                        OH     90008186631
7253BA42757157   MANUEL        DE LA CRUZ                  VA     90009870427
7254119858B168   CHRIS         GIPE                        UT     90010471985
7254253175B596   JOSE          MALDONADO                   NM     90008575317
7254256719154B   LUIS          GANDARA                     TX     90011445671
7254273398593B   SCOT          YOUNG                       KY     90013747339
7254319A941237   ERIKA         BROWN                       PA     90014041909
7254329769154B   EDGAR         DELGADO                     TX     75018542976
725433A4861935   JOSHUA        YOUNG                       CA     90007213048
72543456172B29   GEOVANNY      HERNANDEZ                   CO     90014814561
72544286472B44   OSCAR         ROMO                        CO     90015182864
7254471647B449   PAMELA        WASHINGTON                  NC     11069307164
72544762A5B596   ROBERTO       GONZALES                    NM     90005507620
72545967772B44   DIANE         WESTON                      CO     90014839677
72546129972B32   SHAWNA        BURTON                      CO     33001071299
7254621692B994   GERARDO       MARTINEZ-VASQUEZ            CA     90012082169
72546298872B29   ANGELICA      OREA CARRERA                CO     90011022988
72546A5267B661   ANDREA        VAUGHN                      GA     90005210526
7254763968B142   MARTA         TIJERINA                    UT     31046976396
72547681772B32   MICHAEL       ARNOLD                      CO     90013316817
72547842A98B3B   MYCA          POLLARD                     NC     90014698420
7254791685B596   CARLOS        RODRIGUEZ                   NM     90004409168
72547A5677B661   PIERRE        COLLIER                     GA     15077610567
72547A83893739   CASSANDRA     WITTMAN                     OH     64547910838
72547AAA133698   JERALD        BROWN JR                    NC     12002700001
7254817415B596   IVANA         STINES                      NM     35010411741
72548A2648593B   ANNETTE       PHILLIPS                    KY     90012090264
7254B319172421   PAUL          WEBB                        PA     51035743191
7254B332471921   ANASTASIA     BIGGS                       CO     90008033324
7254BA81641253   CHARISE       COOK                        PA     51086120816
72551643172B44   OMAR          EUGINO                      CO     90011626431
72551A7178B168   FRED          DESPESORIO                  UT     31097380717
72552199972B32   ULISES        BARRETO                     CO     90015191999
72552468A3168B   GINA          WILLIMSON                   KS     90012814680
72552646272B44   ABRAHAM       GUARDADO                    CO     90011626462
7255312288B163   BROOKE        FELLOWS                     UT     90010581228
72553259A55947   MARK          GREEN                       CA     49079932590
72553785A2B248   YOLANDA       MILES                       DC     90001447850
7255381628B157   KEVIN         MEJIA                       UT     90015298162
72553A59A57157   LUCERO        GARCIA                      VA     90015130590
7255446147B477   CALVIN        AUSTIN                      NC     11091294614
7255489A95B169   STEPHANIE     OWENS                       AR     90014628909
7255495845B596   VALERIE       VIGIL                       NM     35086059584
7255512978B157   DERIC         REEVES                      UT     31081691297
7255514269154B   SARAI         CHAVEZ                      TX     90013131426
7255548A855947   PIMPIN        JAMES                       CA     49089594808
7255567873B39B   SHERRY        GREER                       CO     90011506787
7255616A672479   CHRISTINA     SABO                        PA     90003711606
7255717725B596   JUAN          MUNOZ                       NM     35056731772
7255736948B168   C CLAUDIA     ORTINEZ                     UT     31014553694
7255751629154B   RICHARD LEE   GAGNON                      TX     90011775162
72557946A84322   XIOMARA       NUNEZ                       SC     90014469460
725582A275B59B   PABLO         MURILLO                     NM     35028862027
725583A6933698   KATRINA       CAPLE                       NC     90008973069
7255842A793739   PHYLLIS       LANIER                      OH     64519974207
725593A6655969   REYNA         BANDA                       CA     90013753066
7255953225B169   TRISTEN       BARR                        AR     90010435322
7255995278B142   HILDA         CALDERON                    UT     90008999527
72559A94331433   DEVON         HARRIS                      MO     90013030943
7255B259671921   ROBERT        MORRELL                     CO     90014512596
7255B3A212B994   GERARDO       MARTINEZ                    CA     90010213021
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 739 of 2350


7255B489A31443   MISS         BLACK                        MO     90011234890
7255B62758B142   NORRIS       PACKER                       UT     31091476275
7255B761681269   ROBERT       OERTHER                      KY     68078437616
7255B898555969   JESUS        SANCHEZ                      CA     90013488985
7255BA65333699   NORMA        PASILLAS                     NC     12003690653
7256182493168B   VIRGIL       LEWIS                        KS     90011108249
72561A26855969   ANGEL        SEDILLO                      CA     90014820268
72562A63A71921   ANA          MARTINEZ                     CO     90004510630
7256338A793739   MIKE         JONES                        OH     64543233807
72563847372B32   KRISTA       BOHLEN                       CO     33085638473
7256469A98B142   MIKE         MARSHALL                     UT     90014836909
7256485765B169   PATRICK      WALKER                       AR     90014238576
725649A2171921   MELISSA      LIVINGSTON                   CO     32089249021
725651A178B168   LUIS         GUTIERREZ                    UT     31092441017
72565AA437B661   THERESA      COVINGTON                    GA     90014870043
7256629A641253   ROBERT       ARNOLD                       PA     90010962906
7256647158B32B   DANA         SNYDER                       SC     90007404715
7256788A755947   SEE          THAO                         CA     90001738807
725679A829154B   JESSICA      GUERRERO                     TX     90010029082
7256922778B134   TEDROS       TSADU                        UT     90009662277
7256B21248B32B   SHARON       TRAMELL                      SC     11086192124
7257115488B157   FELIPE       BAUTISTA                     UT     90008661548
7257179159712B   SANDRA S     ORTEGA                       OR     90001877915
72571836A9373B   EVA          VALTIERRA                    OH     90013308360
72571A54572479   BRIAN        GRIFFITH                     PA     90012650545
7257265A955966   MAYRA        TATIA                        CA     90011676509
725729A847B335   OMAR         MORALES                      VA     90008839084
72572A2547B661   PATRICE      JONES                        GA     90006690254
72573237A41237   CHRISTINE    JONES                        PA     51069402370
7257328978B142   MONICA       WEBB                         UT     90005752897
7257441742B924   JAMES        VANHOOZIER                   CA     90013604174
72574517A8B157   BRADLEY      LISENBY                      UT     31060365170
7257535968B168   AMANDA       LHUNSAKER                    UT     90008053596
7257542A97B661   JACQUELINE   GRANT                        GA     15085104209
7257554468B134   CARELI       SANCHEZ                      UT     90009825446
7257576395B169   OCTAVIA      JACKSON                      AR     23059497639
72575929A5B59B   APRIL        ENCINIAS                     NM     90012529290
72575A93972B25   JESSICA      WIRTH                        CO     33004370939
7257629715B537   YURIANA      OROZCO                       NM     90011482971
7257637988593B   MARGARETE    ALLEN                        KY     66072613798
72576379A5B596   JUAN         ANDRADE-MARTINEZ             NM     90003013790
7257665A77B427   JOANN        HAILSTOCK                    NC     90011066507
7257671539154B   MIGUEL       GASCA                        TX     90013727153
7257671A78B142   LUIS         MARIN                        UT     90015107107
7257717839154B   ANGEL        GARCIA                       TX     90013131783
7257775983168B   LOUGEMMA     WRIGHT                       KS     90012777598
7257816348B32B   LAKINIA      ARMSTRONG                    NC     90013851634
72578A2569154B   JUAN         DOMINGUEZ                    TX     90013300256
72578A95657157   MATTHIAS     ARUNAH                       VA     81077100956
7257931A393739   CHRIS        GREEN                        OH     64585213103
725793A465B237   JOHN         SIMILEY                      KY     90004773046
7257969897B661   ADRIAN       JACOBS                       GA     90014876989
7257992A772B29   TANI         HILTON                       CO     90003889207
7257B267755966   CRYSTAL      OSBORNE                      CA     90014562677
7257B36152B271   ETENESH      AMAN                         DC     81065753615
7257B475333698   CHARLENE     SMITH                        NC     90014644753
7257B514455966   CRYSTAL      OSBORNE                      CA     90012005144
7257B69177B661   VLADAMERE    THOMAS                       GA     90015026917
7257B8A2241237   DEBBIE       CALDWELL                     PA     90012098022
7258113A172421   ANTHONY      WILTROUT                     PA     51072231301
725811AA571921   ROXANNE      JOHNSON                      CO     90015181005
7258132A161985   GOLDY        GUITERREZ                    CA     46097393201
72581885772B98   JESSICA      CANO                         CO     33075168857
7258214A872B32   ANTHONY      GARCIA                       CO     90015171408
72582529272B32   MARCUS       SANCHEZ                      CO     90014415292
72582A53755966   MARIA        SEPULVEDA                    CA     90010320537
72583A3133377B   TIKIERIA     GOSHEN                       LA     90015380313
72585924A55939   ROSA         CISNEROS                     CA     90014899240
7258593498B134   KIYOKO       AOKI                         UT     31001069349
72585A7A333698   LAVINIA      SCALES                       NC     90005770703
7258656665B59B   EDGAR        RAMOS                        NM     90002625666
72587611A8B134   GUSTAVO      RAMIREZ                      UT     90010436110
72588A82A33693   LUISA        PENA                         NC     90007890820
72588A9368B32B   TIARA        WILLIAMS                     NC     11039760936
7258937128B163   EVON         MONDRAGON                    UT     31038253712
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 740 of 2350


72589A4138B32B   BRITTANY            RHINEHART             SC     90005820413
7258B112971921   ELIDIA              CRISTOBAL             CO     90005131129
7258B681455939   JUANA               RENTERIA              CA     90012676814
7259168838B32B   SANDERS             FRANK                 SC     90010206883
7259168A59154B   ANGELA              ELLINGER              TX     90003946805
72591749972B32   ALEX                VISSER                CO     90012697499
7259316AA8B134   CHARLIE             GREEN                 UT     90011331600
7259329578B163   PETER               TREANOR               UT     31071872957
725938AA17B477   ANTONIO             WILLIAMS              NC     11095168001
7259413A784322   DELORES             JOHNSON               SC     90011441307
7259438A38B168   ROSEMARY            WRIGHT                UT     90014743803
72594AA887B477   ANA                 PUQUIR                NC     90007420088
7259524598B163   JACKLIN             ROSAS                 UT     90010582459
7259567555B169   VERONIKA            KRYZHANOVSKA          AR     23010776755
72595993972B44   CORINE              SINALOA               CO     90013159939
725961A1A72B29   CIRILA              VASQUEZ               CO     33077511010
7259671438B168   LILIA ANN           GONZALEZ              UT     90010457143
7259688857B661   ERICA               WAINWRIGHT            GA     90014878885
72596A79741237   LATUSHA             WILLIAMS              PA     90014620797
72597275A5B59B   TANYA               VAISA                 NM     90010582750
72598163A9186B   TONYA               HARDRIDGE             OK     90008451630
7259858678593B   ROY                 HUTCHINSON JR         KY     90011785867
7259876A872B98   EDUARDO             HERNANDEZ             CO     33073277608
7259918827B477   QUAMEKA             BENNETT               NC     11009201882
7259938227B661   KIZZY               JOHNSON               GA     15086243822
7259959348B183   EMILY               DEVEREAUX             UT     90001645934
7259B32A731433   TONERIA             FARMER                MO     90008343207
7259B96538B134   NICK                WASHBURN              UT     31093789653
725B1345976B87   DANIEL              KRAMAR                CA     90013453459
725B22A7355966   MARSHA              ANGULO                CA     90014472073
725B254158593B   LYNNE               MOORE                 KY     90014435415
725B2656871921   CHRISTAIN           CLARK                 CO     90012776568
725B27A929154B   NORMA               GONZALEZ              TX     75028897092
725B2811455939   NONE                NONE                  CA     90008368114
725B369219154B   JAMIE               CARDENAS              TX     90012526921
725B3727172441   JACKIE              DEBLASSIO             PA     51052177271
725B3728891991   CURTIS              MCNEILL               NC     90003337288
725B374718B157   JORGE               ECHEVERRIA            UT     31098587471
725B3839131443   DAWNA               OTTE                  MO     27577788391
725B391237B661   FRANCIS             FIELDS                GA     90014249123
725B4162172B32   ALVEN               GORDON                CO     33030981621
725B417419154B   IVONNE              SANCHEZ               NM     75077831741
725B4312481633   JOAN                PERKINS               MO     90013473124
725B437A472B44   JUAN                CASTORENA             CO     90014753704
725B4A5477B477   CATHERINE           MASON                 NC     90010130547
725B555689154B   ADAN                MORALES               TX     90010545568
725B5638972B32   ATANACIO            CHAVEZ                CO     90012936389
725B5773191991   ANDRE               WALTERS               NC     90005377731
725B5A36172479   MIKE                GAYDOS                PA     90014810361
725B5A85A84322   MARCIA              LAINEZ                SC     90013080850
725B627AA55969   MARIA               LARIOS                CA     48085972700
725B6738571921   ANTININA            DAVIS                 CO     32066087385
725B687197B661   TERESA              WRAY                  GA     90005898719
725B712585B596   ROXANNE             HERRERA               NM     35014981258
725B7733872B98   LESLIE              COOPER                CO     33014057338
725B7A19172479   KAYLA               WOLFE                 PA     51081080191
725B8313233698   JARRETT             DAWKINS               NC     90014863132
725B8429141253   LUCINA              AVILES REYES          PA     90002424291
725B8631272B29   KAREN               LIPPINCOTT            CO     90012236312
725B877888B32B   AMANDA              MARTIN                SC     90001877788
725B8A24572B98   KEVIN               BURRIS                CO     33075290245
725B8A53A71921   LLOYD               GAMESON II            CO     32070730530
725B913878B157   JOSE                VASQUEZ               UT     90012721387
725B9231957157   KESHAWNA            JONES                 VA     90014472319
725B9983772B44   JONI                HJELLE                CO     90014079837
725BB426733624   MARCO               LOPEZ                 NC     90011674267
725BB5A285B399   MONICA              ORTIZ                 OR     90014615028
725BB768A72421   TIFFANY             HICKENBOTTOM          PA     90012237680
72611293372B32   TAMATHA             HALL                  CO     33052272933
726113A5633699   JOYCE               JOHNSON               NC     12007313056
72611A13771921   HYSUNA AND ROBERT   JONES                 CO     90014540137
72612917172B42   DAWN                WALTER                CO     90011779171
72613231A7B661   EVE                 HOWARD                GA     90014902310
7261384117B661   COLUMBUS            WILSON                GA     90014928411
7261385315B59B   DAVID               KESLAR                NM     90008468531
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 741 of 2350


7261419A233698   KENISHA      LOGAN                        NC     12080491902
72614254A5B59B   AMANDA       CEDILLOS                     NM     35091562540
7261452638B142   VERONICA     SIFUENTES                    UT     31066865263
72614A44131433   CRYSTAL      TIMMONS                      MO     27567590441
72615649A9154B   ELVIRA       DE LA ROSA HERNANDEZ         TX     90013166490
7261633969154B   REYNA        RODRIGUEZ                    TX     75017863396
7261659698B168   DELL         DAVIS                        UT     90009675969
726168AA18B163   SHAR         LENE                         UT     90006638001
7261691568B142   KYLE         FAUSETT                      UT     90009809156
7261837345B59B   ARTURO       SANCHEZ                      NM     90010403734
72618498A72B32   JORDON       SZAKMARY                     CO     90014574980
72618683472B29   DIONNA       GIBSON                       CO     90009976834
72618813A55947   JOSE         GUTIERREZ                    CA     90006328130
7261938A73B381   LAWRENCE     JONES                        CO     90008393807
7261947833168B   TOMMY        MORGAN                       KS     22083164783
7261989355B596   JJ           RUIZ                         NM     90011678935
72619A38A7B661   ALEXUS       BROOKER                      GA     90014910380
72619A8152B271   WALTER       CUTTER                       DC     90000830815
7261B261972B32   MERLENE      IMWALLE                      CO     33055112619
7261B4A618B32B   ANGELA       RHINHART                     SC     90000324061
7261B528872B44   RUTH         PRINCE                       CO     33058355288
7261B941784322   INGRID       REYEZ                        SC     90014969417
72622662372B44   OSCAR        DOMINGUEZ                    CO     90011626623
72622A41841253   VICTORIA     KINNEY                       PA     90012500418
72623A1573168B   MAKA         VAUGHN                       KS     22076140157
72623A36441253   CASSANDRA    DOBBINS                      PA     90003240364
7262415A561984   REBECCA      NUNEZ                        CA     90012081505
7262435227B35B   JUANITA      CHEEKS                       VA     90004933522
726245A9141253   MIKEYA       SWINTON                      PA     90010245091
7262481272B994   ANTONIO      RIVERA                       CA     90012978127
726249A4A72479   JANICE       BRADLEY                      PA     90006199040
7262557A65B596   DENNIS       TAYLOR                       NM     90013015706
7262586357B477   MYRA         RANKIN                       NC     11079748635
726261AA63168B   CHAMBERS     TINA                         KS     22027711006
7262621318B157   DONNA        HOYT                         UT     90014672131
7262652247B661   HEATHER      WARD                         GA     90014905224
72626A33255939   ANNA         ZUBIA                        CA     90003070332
7262739157B477   SHATARA      DEAS                         NC     11073703915
726273A378B32B   ALEXIS       THOMAS                       SC     11047363037
726275AA25B169   KIMBERLY     CRUMPTON                     AR     90014665002
7262761517B477   KENYATT      WALKER                       NC     90014176151
7262799828B168   JASON        BROWN                        UT     31044079982
7262853A48B157   CARRIE       WORKMAN                      UT     31042595304
726285AA25B169   KIMBERLY     CRUMPTON                     AR     90014665002
72628753A72B44   ROXANNA      MCCURDY                      CO     33006337530
7262928A193739   EBONY        TUCK                         OH     64581702801
7262946335B596   JERRI        ROMERO                       NM     90009044633
7262B46918B163   MARIANA      HEREDIA                      UT     90007934691
7262B746341227   SHERRY       SHUBA                        PA     51041017463
7262B85573B384   LUIS         REYNA                        MO     90011568557
7263175378B157   RUJALE       KANYARE                      UT     90009417537
72631873972B44   MARIE        HAYHURST                     CO     90005558739
7263227849154B   ERIC         HERNANDEZ                    TX     90012672784
72632828A41237   TYRONE       CLARK                        PA     90003428280
72633187372B29   DIONTE       ROMERO                       CO     90008831873
7263412883168B   MARISSA      RAMIREZ                      KS     90015521288
72634378772B32   MARIA        AGUILAR                      CO     33075153787
7263525712B994   JOSE LUIS    GOMEZ                        CA     90003592571
72635913472B44   LARISA       LORY                         CO     90004499134
72635AA5855969   HECTOR       GUZMAN                       CA     90014860058
7263615A131433   MARCUS       JONES                        MO     90013821501
7263618278B142   REBECCA      FOX                          UT     90011001827
7263668A231443   DARRYN       STALLWORTH                   MO     90013546802
7263692328B168   EDUARDO      AGUAYO                       UT     31039219232
72636A69A41253   ERIC         CONNERS                      PA     90004370690
72637168A72441   MARK         RICCITELLI                   PA     51019071680
7263823429154B   ADRIANA      RAMIREZ                      TX     90013132342
72638546572B32   NATHAN       ALLMON                       CO     90012175465
7263863A372B44   JERICA       DROWARD                      CO     33056126303
7263872542B994   PRICILLA     BARBOZA                      CA     90013197254
7263949A372479   SHARON       TYLER                        PA     51064684903
72639629A5B59B   GABRIELA     REY                          NM     90015086290
7263986652B271   JOHN         DENNEY                       DC     81097138665
7263988955B59B   TATIANNA     COUNTEE                      NM     90013098895
72639A48172B29   MARIA        SUAREZ                       CO     33070230481
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 742 of 2350


7263B116872B44   RUTH         CAMP                         CO     90010811168
7263B541833699   TERRICA      WEAKS                        NC     90014835418
7263B848433698   ERIC         CURRIE                       NC     90012908484
7263B976272479   MARIE        KEFFER                       PA     51008789762
7263BA21831443   NIAKEA       WILLIAMS                     MO     90010880218
7263BA71A7B661   GLENDA       TAYLOR                       GA     90014910710
7264267548B32B   MARANDA      DICKERSON                    SC     90004066754
7264286998B168   LAUREANO     ARELLANO                     UT     31046058699
72642A3678593B   WANDA        REYNOLDS                     KY     90002940367
72642A44533699   ANTHONY      GARDNER                      NC     90013510445
72643218272B29   JEANNIE      RODRIGUEZ                    CO     90014772182
72643436A72B29   DIANA        GONZALEZ                     CO     90012724360
72644116472B29   SUNIL        PATEL                        CO     90006301164
7264434868B168   REED         WYCOFF                       UT     31065163486
726443A4272441   TIAYONA      HARMON                       PA     90013713042
7264459133168B   TRACEANN     LUDWIG-ADKINS                KS     22081575913
7264478667B477   ALBERTO      GONZALEZ                     SC     90007567866
7264486457B661   TRICIA       COPELAND                     GA     90011278645
7264584495B53B   SELINA       JIMENEZ                      NM     90013358449
72645849872B29   HAROLD       WILSON                       CO     90015298498
72645A51157157   JUAN         REYNA GUEL                   VA     81063730511
72646386472B21   SILLIA       JOINER                       CO     90001243864
7264665755B596   MARIBEL      VILLAN                       NM     90014706575
72646A6155B169   PHYLLIS      MONTGOMERY                   AR     23063300615
7264757245B569   MANUEL       MASCARENAS                   NM     90001825724
726484A762B994   JENNY        MEDINA                       CA     90013264076
72648A49A31433   ERICA        DARDEN                       MO     90013080490
72649A3348593B   JOAN         MEESE                        KY     90014380334
72649A4A27B661   RACHEL       THOMAS                       GA     90004400402
7264B234555966   BELEN        CARRANZA                     CA     90011612345
7264B2A938B157   PUREVBAZAR   TUGSUU                       UT     90011202093
7264B435571921   SAM          PAK                          CO     90010574355
7264B6A579154B   MONICA       CAMACHO                      TX     75089976057
7264BA37333699   RENEE        HARRIS                       NC     90014570373
726512A937B386   CAROLINA     PINEYRO                      VA     81097142093
72651597172B32   MIKE         SOLIS                        CO     33093625971
72651654272B98   NICK         FORTUNATO                    CO     33081276542
72651751A72B44   URIEL        MANZAREZ                     CO     90013937510
72651A2968B142   SAMANTHA     STUEBNER                     UT     90001460296
7265251568B163   MICK         HOGEN                        UT     90011515156
726525A1672B44   KRISTOPHER   KEYS                         CO     90006315016
726535AA52B845   LISA         ANTHONY                      ID     90007485005
726538A198B142   NANCY        BEAZEL                       UT     90014878019
7265398825B596   FABIAN       ESCALERA                     NM     90011679882
72653AA627B477   LISA         PHILLIPS                     NC     90013840062
7265412578B32B   QUEONDA      HARRIS                       SC     90010571257
72654365772B29   CARLOS       LUCERO                       CO     90013403657
72654376572B44   JENNY        FLOREZ                       CO     90012033765
7265461322B994   LINDA        LUCIO                        CA     90013476132
72654A26272479   CHRISTINE    KUHNS                        PA     51072810262
72654A35233699   TEMEKA       PLEDGER                      NC     90010980352
72654A52255969   ALYSA        AVITIA                       CA     48040590522
72654A7558B168   JESSICA      ANDERSON                     UT     90010150755
72654A8437B477   CORLISS      HARSHAW                      NC     90014810843
72654A87872441   MONICA       SMITH                        PA     51042630878
7265519137B661   KINISKI      SELDON                       GA     15095911913
72655363A72B29   CORTEZ       GARNER                       CO     90010933630
72655856A9154B   SILVIA       LOPEZ                        NM     75095148560
72655A43441237   THOMAS       TRASP                        PA     51065340434
72655AA233168B   DANIEL       LUCKEY                       KS     90002640023
7265616578B134   RAYMOND      CHILDS                       UT     31043741657
7265635785B169   KAYLA        JOHNSON                      AR     90014713578
7265669779154B   KAREN        RODRIGUEZ                    TX     90008826977
726568A4793767   TAKIEDA      SANDERS                      OH     90012288047
726573A458B163   ISRAEL       TOME                         UT     90001013045
7265798A67B477   CLAUDIA      LAYNEZ                       NC     90010249806
726579A7655969   GONZALO      SANCHEZ                      CA     48005919076
72657A69471921   DIONEL       COLMENERO                    CO     90012940694
7265855A17B477   SARAH        MARTIN                       NC     90013485501
7265887247B477   KAREEMA      WASHINGTON                   NC     90013878724
7265946752B994   ADRIANA      CHIA                         CA     90005684675
7265955442B271   PATRICIA     DORSEY                       DC     81039925544
7265964598B142   HEATHER      DALTON                       UT     31092516459
72659A76271921   NORA         VILLALOBOS                   CO     90015100762
7265B21A85B169   TESHA        MOSLEY                       AR     90014702108
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 743 of 2350


7265B311472B29   JUANA           RUIZ                      CO     90008193114
7265B64589154B   ESPARANZA       GUTIERREZ                 TX     90013926458
7265B92247B661   BRETT           WHEELER                   GA     90011279224
7265B932257157   AURORA          GUEVARA                   VA     81073039322
7265BAA3A8B163   KARNA           MANGAR                    UT     90005120030
72662A9568B32B   DAVID           MORRIS                    SC     90008740956
7266358567322B   ASHLEY          BALAAM                    NJ     90015345856
7266385845B596   TYRONE          FABER                     NM     90014698584
726638A2761935   COREY           JONES                     CA     90007298027
7266411958B157   ROSALIA         SANCHEZ                   UT     31026991195
72664141A72441   LOUANN          STRAIT                    PA     90011851410
7266419523168B   LARRY           WILLIAMS                  KS     22031581952
7266444A171921   CHARLES         EMMER                     CO     32009044401
7266475258B32B   TIERRA          COLE                      SC     11016727525
7266488772B994   BALDOMERO       DONOSO                    CA     90013168877
7266513318593B   JULIE           BROOKS                    KY     66003371331
7266526597B477   JORGE           CARO                      NC     90012992659
7266548869154B   GLORIA          SANTIBANEZ                TX     90014504886
72665851A55966   FRANCISCO       CRUZ                      CA     48000388510
72665A14755939   JAVIER          ROJAS                     CA     90013100147
7266665859154B   JAVIER          LOPEZ                     TX     75002086585
72666A18A72479   KEITH           TOROK                     PA     90013240180
726673A6557157   CHIREDA         GAITHER                   VA     90014163065
726686A565B169   KATRINA         HOPSON                    AR     90004266056
7266873A172479   ALENA M         RUPOSKY                   PA     51049227301
7266896328B142   WADE            BRAY                      UT     31060779632
72669667A5B59B   DANIELLE        DELGADO                   NM     35074836670
7266B399533699   SHAQUILA        MELTON                    NC     90014463995
7266B511272B29   TONNIKA         REED                      CO     33049425112
7267125567B661   ADONIS          DOWDELL                   GA     90011282556
726712A9972421   JUSTIN          KENRICK                   PA     51034642099
7267148397B386   HEIDY           CHAVARRIA                 VA     90001254839
7267152175B59B   RICARDO         MOLINAR                   NM     35083345217
726722A8181633   MICHAEL         BATES                     MO     90003712081
7267238448B168   DALE            WRIGHT                    UT     90013483844
7267251468B134   FANNY           BLAKE                     UT     90010215146
726728A435B169   DAISY           BOYER                     AR     90014748043
72672AA6955939   RUBY            FERRER                    CA     90009400069
7267334AA55969   ELADIO          PARRAZ                    CA     90010993400
7267378698B163   ANGELINA        JONES                     UT     90000397869
72674284372B29   JANE            WILLIAMSOM                CO     33043782843
726751A9172421   ERIC            COTTRELL                  PA     51009731091
7267552427B661   HAKEEM          ZANDERS                   GA     90015035242
7267586355B596   JUSTIN          NASHEBOO                  NM     90014698635
72678A83755966   ANDY            LIMA                      CA     90011130837
726798A358593B   LANA            LYONS                     KY     90014388035
7267B115481633   MARILYN         JOHNSON                   KS     29062511154
7267B236155966   VALERIE         CABRERA                   CA     90009012361
7267B3A5571921   LUCAS           LINNES                    CO     90012803055
7267B41918B163   LIANNA          BLACK                     UT     31007204191
7267B52428B32B   SCOTT           MATSCHERZ                 SC     11079685242
7267B77858B157   ANA MARIE       LUCERO                    UT     90009047785
7267B792872B32   OSCAR RICARDO   ALDANA DIAZ               CO     90012477928
7267B876641227   JAMES           BEATTY                    PA     90000508766
7267B915241237   MAN             PRADHAN                   PA     90015009152
7267B999684322   ROCIO           VELAZQUEZ                 SC     90012579996
72681419272B44   NIELSEN         RACHEL                    CO     90009894192
7268163A655939   JOSE            HERNANDEZ                 CA     48011066306
7268185A557157   DENNIS          PENA                      VA     81096358505
72681951A93739   ALYSON          BREWER                    OH     90008009510
7268212117B477   ELIZABETH       JUNIOUS                   NC     11097261211
7268297AA92881   JOSE            SOTO                      AZ     90014579700
72683395772B32   AURORA          MUNOZ                     CO     90014053957
7268359195B596   REINA           GARCIA                    NM     35055055919
726835A678B163   DIANNA          PUTNAM                    UT     31003765067
7268365958B349   PAYGO           IVR ACTIVATION            SC     90012256595
7268373A172479   ALENA M         RUPOSKY                   PA     51049227301
72683922772B29   NATHAN          CHASE                     CO     33029849227
72683A75455969   ABRAN           LUNA                      CA     90013240754
72684294672B32   VALENTINA       SEGOVIA                   CO     33050422946
7268439655B35B   AMY             LYNETTE-POTTHOFF-         OR     90004213965
72684498A72B29   STEVEN          ARMIJO                    CO     90010024980
7268536378B134   JACKIE          MONTANO                   UT     90010333637
72685511A72B29   MICHELLE        GREEN                     CO     90013355110
72686A43372479   MARIA           STRINGHILL                PA     90015310433
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 744 of 2350


72688924A5B59B   MONICA         CRUZ                       NM     90013099240
72688A1228B142   JULIE          MAHANA                     UT     90001640122
726891A692B994   ALEJANDRA      HERNANDEZ                  CA     90013631069
7268944345B596   MELISSA        LATOYA                     NM     90013024434
7268964398B163   TAMMY          DALLAS                     UT     90006836439
7268974277B661   BAYRON         RAMOS                      GA     15096697427
72689751A8B168   PROSPERO       LOPEZ                      UT     90001817510
7268982927B477   OSCAR          SANCHEZ                    NC     90012688292
7268B857772B44   JUNIOR         JR                         CO     33055628577
7268BA86484322   JAVIER         MEJIER                     SC     90015110864
72691268791B29   RICHARD        WHEELER                    NC     90015142687
726922A3271921   TODD           ELARIO                     CO     32006592032
7269247488B32B   AKEEM          YOUNG                      SC     90011114748
72692862472B32   JEREMY         HARDIN                     CO     90013348624
72692A26193739   DEBBIE         PROBST                     OH     64567960261
7269345745B59B   DIANA          SANCHEZ                    NM     90009654574
72693676772B32   LETICIA        ALVAREZ                    CO     90008466767
7269368269154B   CRYSTAL        MONTANEZ                   TX     90012876826
7269375433B354   PEDRO          ESTRELLA                   CO     90001997543
7269375927B428   REGINA         CROWDER                    NC     90009017592
72693929A7B477   SANDRA         AVILA                      NC     90012519290
7269399158B157   WILLIAM        FEATHERS                   UT     31045989915
72693A9375B596   HERMENEJLD     DEVORA                     NM     35038230937
7269428945B59B   ARIEL          ZAMUDIO                    NM     90011642894
72694A1493B358   JAMES          HANNA                      CO     33030620149
72694A4918B134   NILS           ANDERSON                   UT     90004700491
7269587137B661   ANTHONY        MATTHEWS                   GA     90011288713
7269592118593B   MICHELLE       CHAMBERS                   KY     90013339211
72696172372B42   ALBERT         ANNA                       CO     90007661723
726967A878593B   MARY           SPARKS                     KY     90013317087
72696941672B44   JASON          ALMASY                     CO     33093639416
7269698455B169   PAUL           LACHOWSKY                  AR     90005229845
7269726A92B271   CHANEL         MCGRIFF                    DC     90001732609
72697A31A5B169   ROBERT         WILCOX                     AR     90003580310
726981A354126B   SHAZI          RAZA                       PA     90010551035
726982A642B994   CHRISTIAN      MACIAS                     CA     90006342064
72698993A72479   DENNIS         LANG                       PA     90008379930
72698A1347B477   DAVID          PHIFER                     NC     90013780134
7269964175B169   SHYANN         SIMMONS                    AR     90014776417
72699A95191548   AGUSTIN        PORTILLO                   TX     90011920951
72699A95557157   YENSI          ESPINOL                    VA     90014720955
726B1139191991   YORDANOS       HABTEMICHAEL               NC     17057541391
726B135975B151   BELINDA        NEWTON                     AR     23007003597
726B161458593B   JEREMY         MCCULLAH                   KY     90013216145
726B182875B245   ANDREW         RAWLES                     KY     90013458287
726B1877155969   JAVIER         MARTINEZ                   CA     90004778771
726B1932241237   HASAN          GORDON                     PA     90013879322
726B2767A41237   RYAN           KAINTZ                     PA     90012527670
726B287665B59B   MARTIN         BALL                       NM     90013098766
726B3287855939   JESUS          GARCIA                     CA     90014842878
726B366835B169   FRANCISCO      CASO                       AR     90014656683
726B3A1317B661   ROBERT         IVEY JR                    GA     90014880131
726B3A68572B32   HECTOR         SEVILLA                    CO     90000430685
726B4572441237   EARL           STONE                      PA     90013315724
726B4717972421   RICHARD        MARINUCCI                  PA     51092827179
726B4774A72479   ERICA          CHUCUDDY                   PA     90008287740
726B487228B168   KENDILY        DAVIS                      UT     90010408722
726B5223A41227   PINSKI         DECKS                      PA     90007252230
726B5434272B32   BELINDA        IRANCHETA                  CO     33060964342
726B544328B142   MARIA          BARRERRA                   UT     90012754432
726B561242B994   MICHELLE       HYATT                      CA     90011446124
726B573A355966   MAYRA          MARITNEZ                   CA     90014217303
726B591448B32B   FREDY RAMIRO   VELASQUEZ LOPEZ            NC     90010529144
726B66A1141253   CAROL          BLACKWELL                  PA     90009536011
726B6954272479   JOSHUA         BRIDGE                     PA     90011529542
726B6AA9157157   JASMINE        MARSHALL                   VA     90014690091
726B758A393739   ROBERT         SMIDDY                     OH     90000215803
726B7933A81633   BRIEANNE       DAVIS                      MO     90009519330
726B831878B163   JUAN           RODRIGUEZ                  UT     90010583187
726B84A863168B   DONNA          BLACK                      KS     90004444086
726B8711684322   ISMAEL         ABILEZ                     SC     90014717116
726B886927B477   AMBER          SANYASI                    NC     90014828692
726B9773941227   BRIAN          DAVIS                      PA     51022897739
726B9A9217B477   CRYSTAL        SLADE                      NC     11002350921
726B9AA9157157   JASMINE        MARSHALL                   VA     90014690091
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 745 of 2350


726BB642284322   HEIBER       VEGA                         SC     90007566422
726BB661181633   AISHIA       OGLESVIE                     MO     29096586611
726BB88A531433   ERICA        HARRIS                       MO     90013648805
7271188685B596   ISIDRO       ARREOLA                      NM     90014698868
727119A4131432   TAMIKA       JORDAN                       MO     90010959041
7271288685B596   ISIDRO       ARREOLA                      NM     90014698868
72712943572B44   ANTHONY      CORDOVA                      CO     90014659435
72712A1328B134   JAMIE        AIKEN                        UT     31078040132
7271312728593B   PHIL         BLACK                        KY     90009531272
7271364424B27B   STACEY       SHIVERS                      NE     90013576442
7271459318B157   KOLONE       ROBERTS                      UT     90014715931
72714648972B29   JASHUA       LOPEZ                        CO     90010276489
7271488A45B596   SCOTT        RANSOM                       NM     90008588804
7271535528B142   LESLIE       ROGERS                       UT     90012023552
72715436172B29   GUERREROS    HOLGUIN MOLINA               CO     90003504361
72715516A81627   ADAM         FOSTER                       MO     90002065160
727155A8191991   RAYMUNDO     PEREZ                        NC     17057645081
7271571355B169   TANGIE       WOMACK                       AR     90014787135
72716248A2B994   KIMBERLY     CHERF                        CA     90002192480
72716779A57157   GLENDA       RIVERA                       VA     81053787790
7271729896196B   FLORENCE     WILL                         CA     90012582989
7271742752B846   LARIE        HORSLEY                      ID     90009804275
7271769298B142   PAYGO        IVR ACTIVATION               UT     90008646929
727177A6933699   BRANNDON     JOHNSON                      NC     90014197069
727178A429154B   RACHAEL      MARTINEZ                     TX     90014518042
7271795118B168   ROBERT       EMMONS                       UT     31048099511
7271827218B163   SPENCER      HOLLIDAY                     UT     31099282721
7271832A981633   STEPHANIE    WESTBROOKS                   MO     29009873209
7271884519154B   LUCIA        HAMIDAN                      TX     75079198451
7271884A38B157   JERRY        NELSON                       UT     90014488403
72719478A93739   ROBERT       LUSTER                       OH     90015164780
7271988685B596   ISIDRO       ARREOLA                      NM     90014698868
727198A8672B44   SANDRA       MUNOZ                        CO     90013968086
7271999575B169   JOE          LEE                          AR     90014789957
7271B19319154B   CLARA        BROWN                        TX     75097791931
7271B27529154B   JOEL         DE SANTIAGO                  TX     90013132752
7271BAAA457157   JOSE         TURCIOS                      VA     90014110004
7272168A655969   FEDERICO     DIAZ                         CA     90012346806
7272181968B134   NIYONZIMA    MITONZI                      UT     90010648196
7272188833168B   PAYGO        IVR ACTIVATION               KS     90007998883
7272336473B325   DONALD       TANNER                       CO     90006963647
72723493472B32   JUAN         FUENZ                        CO     90013094934
7272373AA72B32   KIM          HANDY                        CO     33029617300
72723787272B44   JONI         LOWENSTEIN                   CO     33056217872
727237A772B295   DEBBY        NAIPAUL                      DC     90001117077
7272387289154B   MICHAEL G    GOMEZ                        TX     90014498728
72724176772B29   CANDELARIA   HERNANDEZ                    CO     90011911767
72724895A5B596   ANA LAURA    VILLEZCAS                    NM     90014698950
727248A436195B   ANGELICA     RODRIGUEZ                    CA     90004468043
72724A21333699   ABIGAIL      VANGORDER                    NC     90012190213
72724A48655939   TANIA        MARQUEZ                      CA     90012150486
72725A79272B32   KEMP         II                           CO     33059860792
72726A5377B477   NAKIA        MOSLEY                       NC     90013930537
72727AA589196B   NICOLE       CARTER                       NC     90009900058
72728859A4B27B   CHERYL       HENDERSON                    NE     27091768590
72728A7642B271   ASIA         FERGUSON                     DC     90012320764
72729A74572B32   FRANCISCO    CHAVEZ                       CO     90012210745
7272B18548B134   SHALEE       WRIGHT                       UT     90011331854
7272B1A8855966   VIJAY        MAAN                         CA     90013321088
7272B427341253   ELIZABETH    AMBROZIC                     PA     51037704273
7272B5A5655966   VIJAY        MAAN                         CA     90012955056
7272B5A965B59B   NOEMI        CARDENAS                     NM     90013165096
7272B6A5831433   RALPH        BROWN                        MO     27556186058
7272B71125B596   DESTINEE     SANCHEZ                      NM     90009907112
7272B98438B164   SEAN         HYTRY                        UT     31003749843
7272B992193739   MARCIA       MITCHELL                     OH     90014679921
727313A7155969   ANDY         GUTIERREZ                    CA     48004943071
7273269769154B   HOUSTON      ESPARZA                      TX     75002086976
72732A47772B29   RICHARD      BURRISS                      CO     90011750477
7273313598B157   PAULA        YOUNG                        UT     31009361359
72733155A55939   ESTEBAN      GARCIA                       CA     90007421550
7273348A433699   JOHNNIE      THOMPSON                     NC     90014464804
7273367547B661   TENISA       HUNT                         GA     90011296754
7273368278B163   FRANCISCO    JIMENEZ                      UT     31038916827
7273414A641253   H ITSME      MORGAN                       PA     90010131406
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 746 of 2350


7273418692B271   MIKAL          FOX                        DC     81014051869
72734246A91991   JANAE          WILLIAMS                   NC     17058332460
727342A7631443   ONEESHA        EVERETT                    MO     90011112076
727344A899154B   TASHA          BERGSTRAND                 TX     90013164089
72734655A72B29   HAILEY         MARTIN                     CO     90013616550
7273484488B163   THOMAS         KRANZ                      UT     31038058448
7273534827B335   KELVIN         ZAVALA                     VA     90008473482
727353A1472479   KANDIS         CARPENTER                  PA     90003113014
727353A775B169   DENISE         SANDERS                    AR     23090303077
7273555575B59B   ALEXANDER      GRAHAM                     NM     35098445557
7273568297B661   JEANETTE       RICE                       GA     90011296829
7273628A357157   ROXANA         CASTELLON                  VA     81061482803
72736521872B44   EDGAR          PENA                       CO     90010735218
7273674743168B   BRIANNA        DISABATINO                 KS     22046317474
7273722185B596   OLGALERIA      FUENTES                    NM     90011092218
72738329772B32   ANDREA         TAYLOR                     CO     90001973297
72738612A5B169   ROXANNE        SENICEROS-SMART            AR     90001206120
7273892425B596   STEVE          FIERRO                     NM     90014699242
72738961572B29   TERIN          HANCOCK                    CO     90013879615
7273968A184373   MARIAN         CARRAWAY                   SC     19082736801
72739835272B29   MICHAEL        LOPEZ                      CO     33045498352
72739A9758B142   JOSH           HORSLEY                    UT     90005260975
7273B168472479   WENDY          KOTECKI                    PA     51010561684
7273B289672B29   SG             ROOTER                     CO     33008552896
7273B36845B169   SHARELL        MCCLURE                    AR     90014803684
7273B56A38B32B   SHERRY         CHAMBERS                   SC     90009925603
7273B6A795B596   MARIA          SANCHEZ                    NM     90007926079
7273B929A3168B   JIM            SUTTLE                     KS     90012929290
7273B98919154B   DULIA          GUILERA                    TX     75008979891
7274253488B163   JASON          DEWEGELI                   UT     31092205348
7274294345B169   BRETT          BUEHLHORN                  AR     90015099434
7274295983168B   KATHERINE      JOHNSON                    KS     22000099598
7274336728B134   NIKELLE        HUNSAKER                   UT     90006573672
7274344778B142   ANGELA         GRIGGS                     UT     31003084477
7274381469154B   JUAN           MARTINEZ                   TX     75050828146
72743991672B29   PAMELA         LANCE                      CO     90012619916
7274496615B169   GLENDA         MCKINNEY                   AR     90015099661
7274512285B169   CAMILL         CARTER                     AR     90015141228
7274574215B59B   MISTY          GARLEY                     NM     35005077421
72745A3A872479   DWAYNE         COOPER                     PA     90008390308
72746991A31433   BONITA         SCOTT                      MO     90014649910
72746A41457157   NELSON         AMAYA                      VA     90013120414
7274731A354133   JAMIE          SWALLY                     OR     90007073103
7274759297B661   ISA            BROOKS                     GA     90000945929
7274765389154B   EDUARDO        BEJARANO                   TX     75041006538
72747659272B32   SYLVIA         BELLO                      CO     33091416592
7274816A133699   KASIE          WITHERSPOON                NC     90013741601
727483A148B168   BURKLEY        LANCE                      UT     31098173014
72748546A72B44   RAENELL        PACHECO                    CO     90012215460
7274877318B134   PETER          RANCK                      UT     31064207731
7274942A785852   JENNIFER       RAMIREZ                    CA     90004264207
7274963999154B   MICHAEL        HOUSTON                    TX     90013136399
727498A9141253   BETH           KILLION                    PA     51097918091
7274998338B157   NATHAN         WILDE                      UT     90013029833
7274B292133698   KIMBERLY       MARK                       NC     90009402921
7274B2A2472B44   OLIVIA         MORENO                     CO     33017652024
7274B432641253   DNIESHA        CLEVELAND                  PA     51005414326
7274B569655966   PRISCILLA      LOPEZ                      CA     90014785696
7274B75A857157   JUANA EMILIA   CANALES                    VA     90005897508
7274BA89755966   JUAN           LOZA                       CA     90010790897
727513A1141227   MARTHA         LOPEZ                      PA     51076393011
7275154A481633   DAVID          KING                       MO     90010805404
72751A94331433   DEVON          HARRIS                     MO     90013030943
7275223A672B29   LARRY          PERRYMAN                   CO     33049562306
72752986672B32   SANDRA         REYES                      CO     90013689866
727535A533168B   RICARDO        TRIANA                     KS     90013065053
7275417A32B994   TAMMY          BRIDGES                    CA     90015281703
72754275172B32   RODOLFO        CASTROBASQUES              CO     90013262751
7275545A357127   ADAMA          CONTEH                     VA     90009214503
72755785A5B169   TIFFANY        BRYANT                     AR     90011277850
7275614A672B98   ANGEL          RODRIGUEZ                  CO     33027271406
7275681AA3B354   JAMES          BURNS                      CO     90000878100
72757358472B29   ROBERT         TRUJILLO                   CO     90000783584
72757635172B44   ADAM           KIDJOAKA                   CO     33079036351
72757785A5B169   TIFFANY        BRYANT                     AR     90011277850
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 747 of 2350


72758923A71923   KAREN        ROBINSON                     CO     32039029230
72758988172B98   ABDIKARIM    MUMIN                        CO     90002539881
72758AA6384322   JERMAIN      MEROIN                       SC     90010890063
7275941A98B32B   THERESA      FREDERICK                    SC     90001334109
72759913772B32   ICEYFUEGO    CORP                         CO     33039439137
72759A6A572B29   JUSTIN       SANCHED                      CO     90014220605
72759AAA15B169   JUAN         HERNANDEZ                    AR     90015190001
7275B376536182   CLAUDIA      GUTIERREZ                    TX     90007363765
7275B51218B168   AMY          FLIPPEN                      UT     31093555121
7275B587472B32   SUZANNE      LIEURANCE                    CO     33016885874
72761173272B44   AMELIA       DUCKERY                      CO     90013991732
7276139553B388   JOSE         MANUEL-PEREZ                 CO     33080563955
7276144932B236   LUDIGO       MHAGAMA                      DC     81072954493
7276239578593B   BOBBIE       WAYMAN                       KY     90002743957
72762643272B98   BILL         FORD                         CO     90006876432
7276295A92B994   MARIA        ROJAS                        CA     90012849509
72764732172B44   JORGE        RUIZ-LOPEZ                   CO     33046177321
7276483988B142   SUSAN        BURCHELL                     UT     31009188398
72764946A91566   GRACIELA     RAMIREZ                      TX     90012249460
72764A71376B91   VALENTIN     MORALES                      CA     90009710713
7276537692B994   MELVIN       RAYNOR                       CA     90001443769
72765783A72B29   EMILIO       COCRUE                       CO     90011147830
7276579467B477   VIRGINIA     KNIGHT                       NC     11021307946
72766422A84322   JESSIKA      MIDDLETON                    SC     90014724220
7276656A691991   JENNIFER     SHANNON                      NC     90011305606
7276692945B596   ALEJANDRA    RODRIGUEZ                    NM     90009409294
7276736A855966   LUIS         MARTINEZ                     CA     90011513608
727673A2233699   RHONDA       MEZE                         NC     90013573022
7276792258B157   TORI         AVERETT                      UT     31037289225
7276826348B142   STACY        WILSON                       UT     31090402634
7276837958B157   PEDRO        CUELLAR                      UT     90007023795
7276846977B477   LAKISHA      THOMAS                       NC     90014164697
72768984633B34   RICHARD      GIDLEY                       OH     90014229846
7276957598B168   CHANDLER     PARRY                        UT     90012475759
7276975259154B   LETICA       HILDA                        TX     90003927525
7276986895B596   ANNA         MAREZ                        NM     35037908689
72769959A84322   CRUZ         JESUS                        SC     90009949590
727699A868B163   GEETA        DHUNGEL                      UT     90010589086
7276B161372B29   LUIS         GOMEZ                        CO     33004291613
7276B487772B32   FLOR         JAQUEZ                       CO     90015364877
727713A8971921   JOHNNY       FERRELL                      CO     90010433089
72771A28572479   TIMOTHY      SHOWMAN                      PA     51077880285
72772363172B98   CHONITA      TAYLOR                       CO     33030613631
7277236A855966   LUIS         MARTINEZ                     CA     90011513608
7277237285B59B   RACHEL       HOBSON                       NM     90007733728
7277246258B134   BRITTANY     LYDAY                        UT     90004494625
72772479372B44   LEONARD      BLAIN                        CO     90013234793
72772763A55939   ISAAC        BONILLA                      CA     90012607630
72773263572B44   TASHA        BUFFORD                      CO     90008852635
7277438955136B   ALURA        PARKER                       OH     66088293895
7277463469154B   ANGEL        LOPEZ                        TX     75086676346
7277464267B661   SHAWNITA     ROBERTSON                    GA     15045866426
72774A48433699   PAULETTE     MOTEN                        NC     90012190484
72774A8438B163   ESGAR        VALLEGO                      UT     90012000843
7277551428B142   SUSANA       PAREDES                      UT     90012265142
72775735A57157   VICTORIA     OCHS                         VA     90014987350
72776A1178B168   MICHAEL      FRANTZ                       UT     31011540117
72776A46172B98   MONTANO      DIANE                        CO     33000680461
72776A58757157   ANTWAN       MCDOWELL                     VA     90009590587
7277712158B142   KIMBERLY     MATAELE                      UT     90001291215
72777291A55966   RICKEY       SANCHEZ                      CA     90006562910
7277752288B163   CHRIS        SCHOFIELD                    UT     90009845228
7277753535B59B   ASHLEY       FORT                         NM     90010335353
72777569772B98   BREANNE      STYLES                       CO     90005165697
7277764A472479   JOHN         STRATTON                     PA     90007806404
7277766968B168   DANIEL       ANDERSON                     UT     90013756696
72777AA3184322   SHANTA       BARNWELL                     SC     90013190031
7277888148B134   PATRICK      MERZ                         UT     31072668814
727788A8457157   LESLIE       CAMPBELL                     VA     90009468084
7277924A14B27B   ARMANDO      SALASAR                      NE     27081732401
7277946A472441   GARLAND      WILLS                        PA     90014864604
72779487772B98   KYA          PAW                          CO     33080594877
7277978A69154B   LUIS         ROMAN                        TX     90014927806
72779968A72441   LELAND       CANADY                       PA     90015529680
7277B731372B98   DALILA       MEDRANO                      CO     33096887313
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 748 of 2350


7277B79219154B   MAYRA        CARRASCO                     TX     90006117921
7277B913872441   RAISHAUN     JETER                        PA     51068399138
7277B951A93739   ALYSON       BREWER                       OH     90008009510
72781199A41237   KEITH        BEEGEL                       PA     51003611990
7278128A357157   ROXANA       CASTELLON                    VA     81061482803
72781849A41253   MICHAEL      BLACKWELL                    PA     51055308490
7278251218593B   DILLAN       RYDER                        KY     90013225121
7278256A971921   LUIS         HUCHIN                       CO     32016055609
7278324325B596   JOZANNA      MARQUES                      NM     35096782432
72783335A8B168   ADA          PEREZ                        UT     31006673350
7278367513168B   DENISE       FIGUEROA                     KS     90014066751
7278535498B157   REBEKAH      HEWITT                       UT     31001693549
7278567175B596   MARCUS       HILDEBRAND                   NM     90014706717
72786AA925B596   DELILAH      SCHOBEY                      NM     90012350092
727884A7157157   CLAUDIA      SALMERON                     VA     81075024071
7278964A872B98   SEGAL        STEPHEN                      CO     90007206408
7278977937B661   COLETTE      BYAS                         GA     90011457793
7278B772455939   PHILP        HERNANDEZ                    CA     90011127724
7279189248593B   KAELA        BARNES                       KY     90014018924
72792282A9154B   MARIA        GONZALEZ                     TX     75093942820
7279255315B596   ALBINO       LOPEZ                        NM     35064175531
72792715A8B168   BRIAN        RATLIFF                      UT     31087537150
72793151627B98   SIVONYA      KENDRIC                      KY     90013071516
727931A268593B   DARLENE      KERNS                        OH     66079911026
72793521A3B358   MARIA        GALLEGOS                     CO     33096805210
7279418A891254   SANIFER      GRAY                         GA     90009901808
7279532569154B   JOSEFINA     COGHILL                      TX     75070513256
72795335672B32   NANCY        MUNOZ                        CO     90002333356
727954A3972B29   BARBARA      CASIAS                       CO     33061474039
7279676693B143   EZEQUIEL     MEDRANO MEDRANO              MD     90013957669
7279677985B388   THOMAS       WILLIS                       OR     90009937798
727967A8241253   KEISHA       WILLIAMS                     PA     90007107082
7279734648B168   LUIS         VERA                         UT     31004043464
7279868A391572   VERONICA     VARGAS                       TX     75018136803
72799497872B32   DOUGLAS      MANGELS                      CO     33055234978
7279955848B168   SIXTO        LOZOYA                       UT     90010395584
7279992479154B   BERTHA       ACEBES                       TX     90000409247
7279995292B994   AMY          IMHOFF                       CA     45051279529
72799A24557157   CAROLA       FUENTES                      VA     90011900245
7279B661284322   BENITO       PALACIOS                     SC     90011966612
7279B834431432   ASHLEY       JONES                        MO     27572718344
7279B856672B29   ANTONIO      ORTIZ                        CO     33095328566
727B258115B596   EDGAR        ORTIZ                        NM     90003465811
727B2824157157   CARLOS       CASTILLO                     VA     90012918241
727B2883872B29   RAMON        RODRIGUEZ                    CO     90010828838
727B2A15172B44   JANIE        GEORGE                       CO     90007990151
727B2A5788B159   AMY          WILSON                       UT     31049330578
727B3395141227   DON          ROZAK                        PA     51049353951
727B3684284322   PEDRO        PEREZ                        SC     90009666842
727B3927131443   BERNARD      CLEMONS                      MO     27511779271
727B4246A91991   JANAE        WILLIAMS                     NC     17058332460
727B42A2893739   BRANDI       WAGNER                       OH     90008852028
727B4468755939   MARY         CERVANTES                    CA     48032114687
727B45A6A72479   JONATHAN     BAKER SR                     PA     51036955060
727B46A1141253   CAROL        BLACKWELL                    PA     90009536011
727B4936884322   ALEXIS       HOUSEY                       SC     90007549368
727B534218B157   ALBERTO      ONICA                        UT     90014423421
727B554838593B   CHRISTOPER   KILBURN                      KY     90014715483
727B5971272B29   ANDREW       CAECELLERO                   CO     90012799712
727B641718593B   RONNIE       DECATUR                      KY     90013574171
727B644755B59B   RAYMOND      GLASS                        NM     90014844475
727B65A668B163   ERICKSON     KRISTIN                      UT     90010585066
727B6639472B32   KEITH        CRON                         CO     90014986394
727B6872A31433   DORIS        HARRIS                       MO     90011148720
727B7276733628   PEREZ        ESTHER                       NC     90012222767
727B768489154B   LEONILE      CRANADOS                     TX     90010886848
727B77A1681633   MORGAN       HUMPHREY                     MO     90007977016
727B794965B59B   LUERAS       MICHAEL                      NM     35003469496
727B7A7A941253   ALEX         HIGIE                        PA     90012500709
727B83A659154B   ALEJANDRO    GUTIERREZ                    TX     90011443065
727B8751A8B168   PROSPERO     LOPEZ                        UT     90001817510
727B8857555947   EDIA         CAMARA                       CA     49096478575
727B888575B596   BRITTANY     WRIGHT                       NM     90014698857
727B8A4918B165   JUANA        DE CASA                      UT     90007070491
727B9712772B44   CARLOS       PINA                         CO     90011627127
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 749 of 2350


727B988685B596   ISIDRO        ARREOLA                     NM     90014698868
727B99A4131432   TAMIKA        JORDAN                      MO     90010959041
727B9AAAA41237   BRIAN         MCGRUBER                    PA     90013960000
727BB421857157   DINO          SAWYER JR                   VA     90014724218
727BB425131443   DARRIEL       BELL                        MO     90010844251
727BB473984322   CLAUDIA       ALVAREZ                     SC     90010454739
728112A438B157   JASMINE       CARLIN                      UT     90008642043
7281262117B661   JASSAMYN      RUSSELL                     GA     90009876211
7281274A757157   JORGE         MEJIA                       VA     90012977407
72812777972B44   JORGE         GONZALEZ                    CO     90013937779
7281321783168B   JOHNATHON     GREEN                       KS     90003402178
7281322598593B   JOE           RESING                      KY     66071942259
7281328658168B   DONNA         JEWELL                      MO     29005972865
72813474572B32   JESUS         GUZMAN                      CO     33028534745
7281349735B59B   JESUS         NAJERA                      NM     35063304973
72813A5555B596   CRYSTAL       AMAYA                       NM     90003960555
72814364A84322   AUTUMN        WISE                        SC     90003853640
7281513745B169   HEATHER       LAMSON                      AR     90012041374
7281516549154B   MARIA         MURILLO                     TX     90013741654
728157A315B59B   HERNANDEZ     UDY                         NM     90002427031
7281587A772421   KENRIC        FRANKS                      PA     51010378707
728166A498B134   MYRON         ROBERTS                     UT     31001856049
72817655A72479   MARY          NESS                        PA     90014346550
72817832A51544   DOMINIQUE     BLACKSTOCK                  IA     90013408320
72817AA569154B   MARIA         GANDARA                     TX     90007630056
728188A1155947   RODOLFO       JIMENEZ                     CA     49064308011
72818A12631432   BRANDI        SISTRUNK                    MO     27577390126
72819329A31432   ROBERT        RILEY                       MO     27564803290
72819524A57157   JOSE          MALDONADO                   DC     90011855240
7281B731555969   ISABEL        GONZALES                    CA     90014027315
7281B976584322   ERICA         ANGUIANO                    SC     90012969765
72821131A55969   JULIE         HERRERA                     CA     48063311310
7282193649154B   LUIS          ACOSTA                      TX     90015169364
72821A18857157   ARMANDO       FLORES                      VA     90012210188
7282221458593B   RODNEY        STRUNK                      KY     90012572145
72822676672B32   KENDRA        CURRY                       CO     90009996766
7282395518B142   KRISTEN       WAYNE                       UT     90003599551
7282398915B596   ROBERT        QUMYINTEWA                  NM     35009109891
728241A9A8B157   IVAN          TAYLOR                      UT     31036311090
7282431495B596   KAYLA         MORELOS                     NM     90011853149
72825343A9154B   GISELA        VALDEZ                      TX     90005543430
7282552757B477   MARIAM        BUBON                       NC     90009215275
7282568A755939   PATRICIA      VAQUEZ                      CA     90012876807
72826372572B29   FREYA         MCWILLIAMS                  CO     90009823725
72827119572B44   JUDITH        PRIMERO                     CO     33089571195
7282726A49154B   EDITH         CARDENAS                    TX     90015252604
7282776AA31433   KENYA         MORRIS                      MO     90010177600
7282861698593B   MELANIE       NOEL                        KY     66009366169
728287A1255969   SABRINA       VERGARA                     CA     90012677012
7282895AA71921   CHRISTOPHER   KINNER                      CO     90011609500
72829662A71921   SHERRI        DUCHENE                     CO     32018406620
728297A4333698   RUBEN         CABRERA                     NC     90010747043
72829A22872441   JENNIFER      PECK                        PA     51072770228
7282BA22741253   KEVIN         JACKMAN                     PA     90014030227
72831119272B32   ROBERTO       FAVELA                      CO     90004831192
728314A118593B   HEATHER       WEBSTER                     KY     66089604011
7283174255B596   CARLA         TORRES                      NM     90014707425
7283235578B157   LILIA         VILLARREAL                  UT     90015013557
7283238168B168   REBECCA       EMPEY                       UT     90007833816
7283252219154B   RIGOBERTO     LUNA MEZA                   TX     75083685221
728328A5692825   RICARDO       PEREZ                       AZ     90014378056
72833783172B32   PASTOR OMAR   CASTILLO                    CO     90009537831
72834153A9154B   LORENA        MOLINA                      TX     90001951530
72835292972B44   NIKKI         DEANGELIS                   CO     90014122929
728352A845B596   ALICIA        MONTOYA                     NM     90011682084
7283574185B169   CHRIS         CAMBRON                     AR     90000317418
7283575A784322   HASMILK       PEREZ                       SC     90014697507
7283655AA8B142   DAVID         GIBSON                      UT     90014695500
72836A29A55966   VICTOR        RIZO                        CA     90014140290
728377AA572B93   MISTI         PARKER                      CO     33048407005
72837A6A33168B   JHONNY        AVILA                       KS     22078550603
728382A885636B   DANIELLE      WILSON                      IA     90010892088
72838A6579137B   KELLY         LEWIS                       KS     90011660657
7283923A18B168   MICHELLE      EHLERS                      UT     90001822301
7283955A631433   MONICA        OWEN                        MO     90013505506
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 750 of 2350


7283B115A5B59B   MARK           RODRIGUEZ                  NM     90014201150
7283B258A72479   LINDA          RIMSEK                     PA     90000342580
7283B76148B163   VICKI          VARNER                     UT     31011027614
728413AA255969   TONYA          COX                        CA     48005403002
7284151A38593B   KYLE           ARROWOOD                   KY     90012135103
72841544A57157   MICHAEL        DONNELLY                   VA     81087515440
7284158545B596   LIZZETTE       DIAZ                       NM     35079605854
7284265238B157   SONJA          MONREAL                    UT     90001786523
7284272477B477   NATHAN         NEAL                       NC     11017147247
728432A3731433   DAVID          PHILLIPS                   MO     90003612037
7284346589154B   FLORA          VALLES                     TX     75029124658
7284356982B994   GUSTAVO        BELTRAN                    CA     90014205698
7284517A32B994   TAMMY          BRIDGES                    CA     90015281703
7284613AA8593B   THOMAS         BOWMAN                     KY     90013051300
72846944672B29   PHILLIP        STEYN                      CO     90013219446
7284778A34B583   AMANDA         HUNT                       OK     90012197803
7284858A98B32B   ROBERT         SIMS                       SC     90008445809
72848A6314B583   GABRIELLE      GODLEY                     OK     90012000631
72849717272B32   KRISTINA       SHEPARD                    CO     33039667172
7284972258B168   JUSTIN         SMITH                      UT     90011277225
7284B281472441   ANDREW         HOMICK                     PA     90009572814
7284B756A55947   TERESA         WHITAKER                   CA     90009787560
7284B817293739   WILLIAM        REDKEY                     OH     90013318172
728513A9A71921   VALARIE        TAFOYA                     CO     90011063090
7285177978B142   CHET           MCKELL                     UT     90011977797
7285181835B596   AMANDA         ORRELLYS                   NM     90014708183
72851A24341227   JAMES          HICKS JR                   PA     51087950243
7285281835B596   AMANDA         ORRELLYS                   NM     90014708183
7285292A141227   JOE            CONARD                     PA     51077439201
7285353292B994   EFRAIN         ALBARRAN                   CA     90000225329
7285415412B25B   EMIGDO         PINTO MARTINEZ             VA     90007611541
72854642A5B596   ESPERANZA      RILEY                      NM     35097596420
72854782172B32   JOSE           TORRES                     CO     90012777821
7285484263B381   DERRICK        MARTINEZ                   CO     90011028426
728549A8161986   ANWAR          ACOSTA                     CA     90011769081
7285526655B596   CINDY          RAMIREZ                    NM     90005572665
72855567A5B596   MARIA          RAMIREZ                    NM     35053185670
72855A82355939   MARIA          GALLEGOS                   CA     90014970823
72856173972B44   JAYSON         SANCHEZ                    CO     90013991739
72856487A8B142   CARLOS         GOYZUETA                   UT     90010724870
7285746348593B   IVAN           KAYSER                     KY     90011394634
7285771177B661   ASHLEE         QUIROZ-GARCES              GA     90011547117
7285772287B477   ELMER          PARADA                     NC     90015507228
7285837649154B   CRISTIAN       LOPEZ                      TX     90013133764
728586A5833699   NIYIRAH        DOUTHIT                    NC     90013056058
7285871A572421   HEATHER        WALLACE                    PA     90005307105
72859AA3871921   STEVE          TOWE                       CO     90008350038
7285B112541227   RECARDO        RAMIREZ                    PA     90006471125
7285B26478B157   OSCAR          MARTINEZ                   UT     90006812647
7285B61329154B   MANUEL         ACOSTA                     TX     75029006132
7285B79285B596   ISACC          LUJAN                      NM     90014707928
7285B9A5431433   VERONICA       BATTLE                     MO     27516809054
728614A928B157   AMBER          COFIELD                    UT     90011624092
7286197328593B   BASS           TASHA                      KY     90007969732
7286237298593B   REGINA         DOMASCHKO                  KY     90010203729
72862914A5B59B   VICTORIA       GARCIA                     NM     90010229140
72862A95771921   DENISE         NOBLE                      CO     90014780957
72863932172B32   JESUS          RODRIGUES                  CO     33052709321
72863A5812B271   MAKAI          NELL                       DC     90004700581
7286429588B163   OCTAVIO        AGUILERA                   UT     90011372958
728651A7871921   EMILY          MAFFE                      CO     90012381078
7286582948B157   JUAN           VEGA                       UT     90013028294
7286588752B994   BLANCA         MADRID                     CA     90012498875
72866335172B29   CRUZ           ALARCON                    CO     90010783351
7286636217B477   JOSE           SANTANA                    NC     90014503621
7286651339154B   JULIO          MENDEZ                     TX     75090135133
7286683145B596   LINDADOLORES   MARTINEZ                   NM     90014708314
72867A4947B477   ROBINSON       CAMACHO                    NC     90014120494
7286862235B596   ONORIA         MORALES                    NM     35024996223
72868A44155939   ANNA M         COTLAME                    CA     90006300441
7286944528B142   MIGUEL         ORTEGA                     UT     90002334452
7286B3A9933699   TIEWA          WALLACE                    NC     90012473099
7286B99A884322   FRANCISCA      PEREZ                      SC     14570419908
7287154A18B142   STEVE          WALKER                     UT     31052515401
7287163A955966   REBECCA        ROCHA                      CA     90012956309
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 751 of 2350


7287181569154B   LUIS         MORALES                      TX     90011418156
728721A798593B   BENITO       MARTINEZ                     KY     90013861079
72872656A7B477   DEQUARIUS    DAWKINS                      NC     11080196560
7287292252B994   DUSTIN       WHITE                        CA     90013869225
72873624572B29   MARGARITA    BADILLO                      CO     90001996245
72873AA152B994   MARY         ORNELAS                      CA     45000060015
7287415965138B   LARISHA      JETER                        OH     90008641596
7287422968B142   JENNIFER     BARNES                       UT     31033122296
72875132A57157   HERSELL      GOLLOPP                      VA     90012301320
7287561A855969   ASHANTI      RANSON                       CA     90005166108
72875859597B21   SARAH        FARLEY                       CO     39096778595
7287649935B596   DOMINIC      GRIEGO                       NM     35012214993
7287749755B276   JUANITA      WHITE                        KY     90013314975
7287793268B168   ARMELLE      SILVA                        UT     31024669326
7287837869154B   KAREN        CHONG                        TX     90013133786
7287896A172B98   KEVIN        QUTEN                        CO     90000629601
72878AA4833698   AMBER        TAYLOR                       NC     90013010048
7287998A155969   LEILONI      PADRON                       CA     90014079801
728799A6A5B596   TIFANY       MOORE                        NM     35093529060
7287B277241237   JEFFERY      SAMBRICK                     PA     51052332772
7287B328931432   FRANCHESKA   SANFORD                      MO     90008103289
7287B34188B32B   SANDERS      CANDAS                       NC     90014713418
7287B728657157   MAURISIO     ROJAS                        VA     90007377286
7287B84432B271   UEL          SUGG                         DC     81068878443
7287B9A6272B44   SETH         BABBLE                       CO     90013139062
7287BA6517B477   TAWANA       MOBLEY                       NC     90012520651
7287BA6A484322   CLEOFAS      GONZALEZ                     SC     14588820604
728816AA25B59B   TONY         ROLDEDO                      NM     35075396002
72881832A7B477   SHEILA       WALKER                       NC     11070138320
7288256243B358   TODD         COOPER                       CO     33008905624
7288293A272B29   DEB          FISCHER                      CO     90014379302
72883745672B29   CESAR        CASTILLO                     CO     90007987456
7288376118B157   PULETAU      VEHIKITE                     UT     90013517611
7288537A68B168   ZETH         MCNICOL                      UT     90008463706
7288633972B994   JOSE         AREVALO                      CA     90003573397
7288657959154B   VERONICA     MARQUEZ                      TX     75064635795
7288658578B32B   LYNN         BOTTOMLEY                    SC     11098925857
7288673438B157   JULENE       RAYNOR                       UT     90010337343
7288689578B142   JAMES        DEHART                       UT     90013648957
7288719787B477   RONY         SANTOS                       NC     11008091978
7288742823168B   AMBER        BROOKES                      KS     90012364282
7288758578B32B   LYNN         BOTTOMLEY                    SC     11098925857
7288774A455966   TEOFILO      GARCIA                       CA     90014367404
728878A9172B32   BETHANY      ANDREWS                      CO     90013028091
72887A87572479   JANICE       DOMINICZAK                   PA     90012670875
7288816278B163   MARCEY       HARDING                      UT     31026501627
7288821AA72441   KELLY        STABRYLA                     PA     90015592100
72888333A7B477   ROBERT       SAENZ                        NC     90012823330
72889623872B29   WESLEY       HENDRIX                      CO     33036846238
7288B656A31426   MARGARET     MOORE                        MO     90013566560
7288B6A7741237   ANGEL        BENZ                         PA     51021926077
7288B723977331   TIFFANY      DARLING                      IL     90009607239
7288B81A15139B   SHERITA      ROBY                         OH     66034458101
7288B91777B477   TONY         BRICE                        NC     11028999177
7289145355B596   NOEMI        GARCIA                       NM     90010094535
728921A8271921   MACARIO      CHAVEZ                       CO     90015101082
72892474A8B142   CARY         KAEDING                      UT     31092734740
728928A768B157   CONRADO      NAVA                         UT     90014758076
7289292328593B   NICHOLAS     SNOW                         KY     66091619232
72892A83672479   ADAM         PIERCE                       PA     90015070836
7289314257B661   LYNN         SANDERS                      GA     15069881425
728934A3457157   RITA         ROBLES                       VA     90013194034
72894127A72B98   ERIC         GARCIA                       CO     33016651270
72894687A71921   CHEYENNE     SATHRE                       CO     32040856870
728948A1772B32   AMBROJA      MEDINA                       CO     90015138017
72894A43427B98   ELVITA       DAVIS                        KY     90006510434
72894AA923168B   TIFFANY      FORD                         KS     90007980092
7289551317B661   LESLIE       JOHNSON                      GA     15093055131
7289567269154B   MINERVA      SANCHEZ                      TX     75074286726
7289665119154B   ARTURO       ESTRADA                      TX     90013136511
7289731282B994   KARLA        MORALES                      CA     90008153128
72897883472B44   ALBERTO      PARRA                        CO     90012628834
7289795178593B   TERRI        HORNSBY                      KY     90013319517
7289878335B596   ANNA         DURAN                        NM     35055557833
72898A28855969   VICTOR       AVILA                        CA     90014820288
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 752 of 2350


728994AA68B168   KATLYN       FADEN                        UT     31029924006
72899A29757157   DONYA        PRESCOTT                     VA     90014900297
72899A89341253   MARY         DININNO                      PA     90011230893
7289B2A1972B44   MIRANDA      SOLANO                       CO     90011732019
7289B689684322   BRITTANY     WARD                         SC     90014976896
7289B86948B142   MIRANDA      ANA                          UT     90006108694
7289B958A8593B   MISTI        PEARE                        KY     90015009580
7289BA55133699   GEORGIA      GIVENS                       NC     12068050551
728B1254772479   ANGIE        CRISI                        PA     90011462547
728B16A168B157   ALEX         MILLER                       UT     90015106016
728B1768572B29   ROBIN        HUMPHREYS                    CO     90009037685
728B19A6255947   TERESA       DIAZ                         CA     90011059062
728B2164271921   DARON        GEORGE                       CO     90014091642
728B2253657157   LUZ          GARCIA                       VA     90002242536
728B2894271921   TREASURE     BRITT                        CO     90014628942
728B2998333699   JALEN        BREAN PETERSON               NC     90014649983
728B2A87693739   SHAWNETTA    WHITE                        OH     90009590876
728B3232372B29   PEDRO        OROSCO                       CO     90014142323
728B329218593B   ROBERT       RODREGUEZ                    OH     66081692921
728B355547B477   CHARLED      STONE                        NC     90013485554
728B35AA157157   GABRIELA     SANTAMARIA                   VA     90013325001
728B3727172B44   ROSA         MEDINA                       CO     33069067271
728B373193364B   MISAEL       GONZALEZ                     NC     90012977319
728B37A378B157   ANTHONY      BLACK                        UT     90007987037
728B387A531433   WILLIAM      FABER                        MO     90007458705
728B3887581633   GREGORY      TURNER                       KS     29084878875
728B429328B168   DAVID        PEAY                         UT     90012332932
728B4444A33699   SHANEKA      HUNTER                       NC     90012774440
728B51AA27B661   ROSALEA      CODY                         GA     90014551002
728B587A531433   WILLIAM      FABER                        MO     90007458705
728B5A97472441   CARA         BABINEC                      PA     90010590974
728B65A819154B   MARIA        ALANIZ                       TX     90014505081
728B675958B32B   CHERYL       GRAHAM                       NC     11043847595
728B6844741253   DAVAUGHN     REAVES                       PA     90014788447
728B6A15831432   ELVIS        VALDERRAMA                   MO     90009260158
728B6A9647B661   HEATHER      WILLARK                      AL     90003910964
728B725749154B   SERGIO       ALVAREZ                      TX     90015202574
728B7539672421   JOHN         DONALDSON                    PA     90010645396
728B782675B169   CALISSA      HASTINGS                     AR     23084638267
728B7A1427B477   CHRIS        BULLARD                      NC     90014180142
728B8681172479   EDWARD       ROBERTS                      PA     90011106811
728B872559154B   ALYSSA       ATKINS                       TX     90014027255
728B918548B134   SHALEE       WRIGHT                       UT     90011331854
728B918555B596   JESUS        ESCARCEGA                    NM     90011681855
728B9743393739   SHA PARA     RICHARD                      OH     90014237433
728B975527B661   OSCAR        GREEN                        GA     15069057552
728B9A6258B32B   BRITTANY     HOWZE                        SC     90005850625
728B9A72327B98   DES          WATKINS                      KY     90010150723
728BB265772421   DAWN         DENOBILE                     PA     90015122657
729113A6A55939   LUIS         ROMO                         CA     48098023060
729122A1381255   MARY         LEWIS                        KY     90001522013
72912643372B32   CARLOS       MARTINEZ                     CO     33061426433
729127A818B157   ONIL         VELEZ                        UT     90013917081
72912A5792B271   ANGEL        TOBAR                        DC     81030030579
7291451968B32B   DONALD       GITON                        SC     11093055196
72914629372B44   TRAVIS       ROTH                         CO     33008126293
7291473A941253   VIRGINIA     OLEARY                       PA     90008197309
72914756A55966   MARY         RODRIGUEZ                    CA     90014367560
7291486975B59B   AURORA       LUJAN                        NM     90011558697
7291529558593B   JOSEPH       NORRIS                       KY     90007402955
72915894372B98   SAMUEL       QUINONEZ                     CO     90005248943
729159A858599B   TANYA        CARVER                       KY     90001179085
72915A53A31443   LARRY        SCHMIDT                      MO     90007550530
7291679A433698   JUAN         GONZALEZ                     NC     90001907904
7291737613168B   DOROTHY      HARVEY                       KS     22014083761
729185A4755966   SHANDRA      VALENCIA                     CA     48037155047
7291899775B169   CRYSTAL      COBBS                        AR     23052859977
72919643472B44   LEROY        GARCIA                       CO     33031186434
7291971397B661   TRAVIS       TARVER                       GA     90012087139
7291B38188593B   JERRY        BASTIN                       KY     90010933818
7291B7A477B477   SEAN         CARHUFF                      NC     90000657047
7292127A85B596   ARCADIO      RODRIGUEZ                    NM     90008592708
7292236635B59B   ALLAN        VALLE                        NM     90013103663
7292479A433698   SHAKALA      ONEAL                        NC     90014567904
7292488349154B   ISRAEL       ESTORGA                      TX     75002098834
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 753 of 2350


72924A95572479   MISTY        KNIGHT                       PA     51009340955
729257A9241258   LATRICE      DAVIS                        PA     90007997092
72925A86A5B59B   MANUEL       MONTOYA                      NM     90014130860
729263A3571921   MIKE         SPENCER                      CO     32031073035
7292734287B661   MICHAEL      WEBB                         GA     90011563428
729276A5A8B136   KC           SCOWN                        UT     90010526050
7292782895B59B   ALBERTO      LIZARRAGA                    NM     35009908289
7292851718593B   MONICA       BERSHIRE                     KY     90013015171
7292853348B134   MINDY        HILL                         UT     31085235334
7292883467B477   JOHN         ROYAL                        NC     90008048346
7292929555B596   JOHN         WACKERBARTH                  NM     90007472955
7292968318B163   STEVE        HOLT                         UT     31077676831
7292978A172B32   BRENDA       PEREZ                        CO     33058067801
7292B114572B98   MIGUEL       CARMONA                      CO     90002671145
7292B13388B157   EVERARDO     RODRIGUEZ                    UT     31025021338
7292B516271921   VICTORIA     CONTRERAS                    CO     90014865162
7292B519172B32   JORGE        GAMEZ                        CO     90012485191
7292BAA9671955   KATHLEEN     JOHNSON                      CO     90000330096
72931368372B29   JOSE         GONZALES                     CO     33078213683
7293138A831433   JAYME        WILLE                        MO     27586373808
72931951A84322   JAMES        WEATHERILL                   SC     90014289510
72931A18972B32   VIGIL        JOEL                         CO     33060820189
729324A893168B   BARBARA      SALUDES                      KS     90004884089
72932562172B44   SONIA        DELACRUZ                     CO     90007155621
72933522A8B168   AMANDA       ALDOUS                       UT     90014665220
72933532A4B261   ROUKYATOU    YACOUBOU                     NE     90010465320
7293399638B134   EFREN        VALDEZ                       UT     31078069963
72933A9672B227   BRANDON      MCMICKIENS                   DC     90008520967
72934A37271921   YOLANDA      OROZCO                       CO     90011140372
729358A1A33698   ANGELA       ALDRICH                      NC     12068088010
729359A415B596   KEVIN        DURANT                       NM     90014709041
7293638935B59B   VICTORIA     WRIGHT                       NM     90013103893
72936589A81633   MARQUES      BOGGS                        MO     90012945890
729366A1431433   ANTHONY      SIERER                       MO     90015016014
72936A87771921   LORENA       MARINRAMIREZ                 CO     90012240877
72937199672B22   RENEE        LEGAN FERRELL                CO     90001181996
72937295A33698   BRUCE        MILLER                       NC     90011012950
729387A755B596   JUANITA      CAVALIER                     NM     35032637075
72939956A84322   CARLOS       MORALES                      SC     90007089560
7293B233A84322   GLORIA       SARMIENTO                    SC     90012142330
7293B261A57157   WENDY        HERNANDEZ                    VA     90013942610
7293B284433698   SHANEQUIA    WRIGHT MADKINS               NC     90011012844
7293B679272B44   GERALD       BORQUEZ                      CO     90015126792
7293B789A72B32   PETER        NAING                        CO     90012837890
7293B89A555964   ISABEL       MIJANGOS                     CA     90009628905
7293BA5597B477   JATOYA       CHAMBERS                     NC     90010920559
7294123818B168   RYAN         CLOVER                       UT     31075172381
7294328498B142   MARK         CONKLIN                      UT     31041662849
72943413A9154B   JESSICA      SORIA                        TX     90013134130
72943481A72441   CANDACE      RHODES                       PA     90004014810
729435A4472B29   HERMELINDA   ALFARO DE GALINA             CO     90011865044
7294443248B163   GENE         KENT                         UT     31019984324
72944656272B32   MARCOS       SERNA                        CO     33070496562
7294494795B596   JOHNNIE      SALGADO                      NM     35088559479
7294523229132B   CYNTHIA      ELMER                        KS     29020292322
7294566418B142   MARGIE       THOMAS                       UT     90014866641
7294569A572B29   DONNA        LUNA                         CO     90012896905
7294667915B59B   OTERO        LIN                          NM     90004296791
72946816A41253   JANELL       HOWARD                       PA     90013618160
72947464A77552   REGINA       SOUTH                        NV     90001634640
7294792329154B   GABRIELA     LUJAN                        TX     75029529232
729488A7631433   PATRICIA     QUINN                        MO     27504848076
729494A983168B   TERESA       FOSTER                       KS     22068374098
7294971197B477   ROBERTO      ALVARADO                     NC     90010327119
7294975535B169   MELISSA      MCCLAIN                      AR     23015517553
7294985348B157   GINA         FIERRO                       UT     90013438534
72949A8348593B   LISA         KADLETZ                      KY     66053150834
7294B37A231432   REBECCA      OKEEFE                       MO     90010963702
7294B39A57B357   DONALD       MARR                         VA     90000183905
7294B8A3184322   SAUL         CORONA                       SC     90013958031
7294B99287B661   DARQUIS      FUDGE                        GA     90003449928
72951A61684322   ROBERTO      TOZCANO                      SC     90014060616
7295283359154B   RICHARD      MALSTORM                     TX     75013338335
72952A43372B32   SIMON        FLETCHER                     CO     90007380433
72952A9852B271   TROY         PARKER                       DC     90011020985
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 754 of 2350


7295331293168B   RUSSELL      SIEGEL                       KS     22020973129
72953464A7B661   JOSE         ESPINOZA                     GA     90007754640
7295436435B596   CINDY        CHAVEZ                       NM     90010863643
7295442A233698   JAMES        MARSHALL                     NC     90013824202
7295454157B477   MARCUS       SHINN                        NC     90011095415
72954546972B29   ERIC         PENNINGTON                   CO     90014285469
7295461648B142   LINDA        MCKENZIE                     UT     31061426164
7295515439184B   AMANDA       SHELTON                      OK     90007991543
72955A98731443   RONNETTE     ADAMS                        MO     27523540987
7295646749154B   CYNTHIA      LINCK                        TX     90004704674
729565A7972B32   BILL         YOUNG                        CO     33014555079
7295674A493739   LISA         BROWN                        OH     64535707404
729576A222B994   RALPH        GONZALES                     CA     90007806022
72957743672B98   ERIC         ROZELLE                      CO     33054277436
7295822788B32B   JUAN         RAMIREZ                      SC     11051892278
7295834269154B   MIRANDA      MARIA                        TX     90015163426
7295947545B59B   MALISA       GARCIA                       NM     90013104754
7295995298B159   ANGEL        WATCH                        UT     90011189529
72959994772B29   MICHAEL      FRAY                         CO     33054359947
7295B148857157   ANGEL        LUNA                         VA     90007151488
72961121A85843   RIGOBERTO    PEREZ                        CA     46082581210
729613A8655966   GABRIEL      HERNANDEZ                    CA     90015223086
729617A258B142   ERIN         DAVIS                        UT     90003107025
72962AA6A72421   DALE         BUNGARD                      PA     90014090060
7296325A42B994   FIDEL        PEREZ                        CA     45074932504
72963822872B29   SHERRIE      DARLING                      CO     90013708228
72963A1663B35B   MARTINE      GALLEGOS                     CO     90004730166
7296462498B163   JUANA        WELCH                        UT     90010476249
7296534128B163   ARMANDO      HERNANDEZ                    UT     90006563412
72965343A8593B   KIMBERLY     SCHARF                       KY     90015233430
7296565368593B   ROBIN        RANES                        KY     90015266536
72966125A72441   STEVE        DALEY                        PA     90008051250
72966911A5B596   JOHN         WHITAKER                     NM     90014709110
72966951A72B98   KEVEN        GOOD                         CO     90000579510
72966A7155B59B   THOMAS       TORRES                       NM     90002820715
7296713298B157   KELLEY       RUIZ                         UT     90013801329
7296732378593B   MICHAEL      ROHLING                      KY     90011953237
7296733A755939   VICTOR       ARIAS                        CA     90012213307
72968262621B42   JESUS        GARCIA                       TX     90009662626
7296833352B994   KARINA       VALDEZ                       CA     90014183335
7296899158B32B   ARSHALL      F JOHNSON                    SC     90011239915
7296914A52B994   JENNIFER     VALENTINE                    CA     90012121405
72969596372B44   SARA         BARRON                       CO     90009675963
7296B211831433   ASHLEY       HOLBROOK                     MO     90012162118
7296B42968B142   JAMES        MCGILLIS                     UT     90014584296
7296B443181687   THOMAS       UPTON                        MO     90005634431
7296B893672B44   ROSE         HANKS                        CO     90011628936
7296BA8288B157   WINDY        ERICKSEN                     UT     90013930828
7297139A471921   REQUEL       DURAN                        CO     32018913904
72971841574B7B   JENNIFER     DOUGHER                      OH     90014368415
7297193A584322   JOSE         GUERRA                       SC     90013039305
72971979A31443   DENISE       WADE                         MO     90002659790
72971A3727B477   RICKIE       DAVIS                        NC     90001680372
72971A73981651   DONNA        DAVIS                        MO     90013610739
7297255A731433   LARRY        LEWIS                        MO     90012075507
7297285898B168   LEONARDO     HERRERA                      UT     90008868589
7297292755B169   MICHAEL      BROWN                        AR     23087039275
72972A17355939   HAROLD       GAYLORD                      CA     48027570173
72972AAA272441   TONI         HOSCHAR                      PA     51072890002
72973345872B44   ROMELIA      MIJARES                      CO     33004813458
7297366119154B   EFREN        TORRES                       TX     90013136611
7297386362B994   ROXANNE      HAND                         CA     45089518636
7297393928B142   JAMIE        TURNER                       UT     90013719392
729747A6A72421   LINDA        MARR                         PA     90013637060
72974A22531433   MARQUITTA    DAVIS                        MO     90014800225
72974AA6672B44   JOSE         ESTRADA                      CO     90003060066
72975993972B44   CORINE       SINALOA                      CO     90013159939
729759A6884322   MARIA        DELROSARIO S                 SC     90013809068
7297654A771921   MARIA        SARMIENTO                    CO     32005915407
729765A9772421   MAX          MCNEILLIE                    PA     90013575097
7297666857B477   ELIA         RAMIREZ PEREZ                NC     90003376685
7297673538593B   PISTOL       DANCE                        KY     90012887353
72977375372B44   ROSA         BALLARDO                     CO     90014973753
72977896472B44   ARIEL        MARTINEZ                     CO     90011628964
7297893457B477   MARIO        CERVANTES                    SC     90011929345
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 755 of 2350


729791A7255969   AMPARO       VILLANUEVA                   CA     90009021072
7297945462B271   BOCHE        MBOCHE                       VA     90006644546
729796A5A8B136   KC           SCOWN                        UT     90010526050
7297993665B596   CAROLINA     MIRANDA                      NM     35046579366
72979AAA88B142   DANAE        BROWNE                       UT     90011950008
7297B683255966   SANDRA       CASTRO                       CA     90012956832
7297BA1585B557   GILSER       GALVEZ                       NM     90006290158
7298159488B168   PATRICIA     ANDERSON                     UT     90011285948
72981661A72B98   DURGA        RAI                          CO     33027476610
72981768272B44   NORMA        RODRIGUEZ                    NM     33031547682
72981A35633698   SCOTTIE      WILLIS                       NC     90014930356
72982423A3B39B   TONJA        PETTICREW                    CO     90001724230
72982A1419154B   JESSICA      VELARDE                      TX     75008180141
7298391165B169   SHUNIKA      MORRIS                       AR     90011639116
72983977A9154B   VALENCIA     ARMANDO                      TX     75073339770
72984111872B44   JOSE         HERNANDEZ                    CO     90010751118
729866A735B169   CARLOS       MARTINEZ                     AR     23044666073
729866A7557157   MANFREDO     LUCERO                       VA     90010716075
7298726A631621   JOHATHAN     ADKINS                       KS     90006962606
7298897519154B   KARINA       SOLORZANO                    TX     90005299751
72988AA788B168   DAVID        EDDS                         UT     90013720078
7298913378B168   NANCY        RODRIGUEZ                    UT     31006371337
7298967A941253   MARTINA      PRICE                        PA     90014506709
72989913A41253   CHANDRA      THAPA                        PA     90013839130
7298B123757157   PAOLA        FERNANDEZ                    VA     90014911237
7298B144A84322   WALTER       MONTEJO                      SC     90004991440
7298B34249376B   DAVID        BRUNSMAN                     OH     90012303424
7298B77589154B   PETER        NERIA                        TX     90009907758
7298B795831433   MARIA        FLORES                       MO     90014157958
7298B8A7972B32   KIN          NAI                          CO     90014158079
7298B928131433   DANIELLE     RENFROW                      MO     27551269281
7298B959255931   MAGDELENA    VELASCO                      CA     90010659592
7299177475B169   HERMDIN      DA ELIAS                     AR     23023007747
72992664572B32   DIANA        PENBERTON                    CO     33099026645
7299272558B157   JORGE        ROJAS                        UT     90013787255
72992779372B29   WENDY        MADERA                       CO     90010447793
7299283A141237   FRED         WEIS                         PA     90014738301
72992A3199154B   EDUARDO      BERNAL                       TX     90004000319
7299332435B59B   ANA          CANALES-BERNADAC             NM     90011863243
7299368535B53B   RAFAEL       DIAZ                         NM     90005396853
7299432358B157   ERIC         SMITH                        UT     90013903235
72994599372B32   DIEGO        MURO                         CO     33064095993
72994A3AA72441   GENE         KASPER                       PA     90010610300
72994A82684322   ASHTON       MULLINS                      SC     90011390826
7299541A955969   MONICA       ARRETONDO                    CA     90014654109
729963A1955969   IRMA         GIRON                        CA     48053993019
7299692935B596   MELANIE      DEAN                         NM     90014709293
7299697A672B44   PABLO        ROSALES                      CO     90008709706
72997338472B98   KAREN        BANKS                        CO     90008673384
72997791272B44   AIDE         ORTIZ                        CO     90013937912
7299795685B59B   FELICIA      MONDRAGON                    NM     90014309568
7299865515B596   LORRAINE     ROMERO                       NM     35078726551
7299913458B134   GLORIA       TAPIA                        UT     90008671345
7299998945B59B   MARGARITA    LEDEZMA CARAVEO              NM     35035659894
7299B3A528B142   LESLIE       CASTRELLON                   UT     90013823052
7299B475771921   MIKE         KIRK                         CO     90007144757
729B137A33168B   CARLOS       PINEDA                       KS     90011073703
729B1414131482   TABITHA      NORFLEET                     MO     90010054141
729B1634884322   GUMARO       LOPEZ                        SC     90012886348
729B167A78B168   MALDONADO    MARISELA                     UT     90005116707
729B196A433698   TYLER        DAYE                         NC     90001829604
729B1A33493739   LATOYA       STANLEY                      OH     90013540334
729B245118593B   HIRAM        MCCAULEY                     KY     66039544511
729B25A9484322   EDUARDO      MUNGUIA                      SC     14589155094
729B2835372B44   MIRNA        MENDOZA                      CO     33011578353
729B2895157157   DONNA        GILES                        VA     90012978951
729B2982872B29   JAMES        BANKER                       CO     90013449828
729B3269391586   ADRIANA      LOPEZ                        TX     90013272693
729B3553272B44   GREGORY      WILLIAMS                     CO     90014575532
729B37A755B596   JUANITA      CAVALIER                     NM     35032637075
729B4281571921   MAYUMI       PRICE                        CO     90014032815
729B4365571921   JOHN         ROMERO                       CO     90015293655
729B4397A93739   TAWANDA      RICHARDSON                   OH     90000983970
729B4761A72B98   ANA          CHAVARRIA                    CO     90006987610
729B4886441253   DAVID        FEDZEN                       PA     51015658864
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 756 of 2350


729B4897A7B477   LATORYA        MCILLWAINE                 NC     90014568970
729B495338B168   WENDY          SWINDLEHUR                 UT     90012399533
729B4AAA35B59B   JOUSHA         EVANS                      NM     35075590003
729B528245B596   MARLENE        DIAZ                       NM     90010502824
729B537A27B477   MIGUEL         VILLEDA                    NC     90012403702
729B552912B994   SANDY          LOPEZ                      CA     90013115291
729B5541A8B134   DEVIN          BAGLEY                     UT     90003845410
729B6659355969   JOSH           TAYLOR                     CA     90010996593
729B676769154B   MARIA ISABEL   DOMINGUEZ                  TX     90006607676
729B6835772479   TEKELA         CREWS                      PA     90014068357
729B7111155966   ANA            BARAJAS                    CA     48055221111
729B719A98B142   BRYAN C.       MUHLESTEIN                 UT     90012301909
729B723965B596   GWEN           GREEN                      NM     90008482396
729B7299272421   KEITH          SCHUR                      PA     90005982992
729B7513172B29   VICENTE        RAMIREZ                    CO     33034945131
729B7A65341253   JEFF           HOLTMAN                    PA     90013960653
729B8111281633   KIERRE         SHEPHERD                   MO     90011401112
729B8334A7B477   ANDREANA       BARTLETT                   NC     90012823340
729B857528B134   CLINT          PETERSEN                   UT     31048295752
729B8658872B32   ESMERALDA      LIMAS                      CO     33054716588
729B883558593B   DEZARAY        SPIVEY                     OH     90008338355
729B892468B189   ALINE          DE FREITAS                 UT     90003929246
729B9151584322   GERARDO        FERNANDEZ                  SC     90011521515
729B94A8976B8B   SAUNDRA        DAVIS                      CA     90009834089
729B96A3171921   ALEX           CORDOVA                    CO     90013836031
729B995628B142   JOSE           AMENERO                    UT     90013649562
729B9A6845B596   CHERYL         SCHECK                     NM     90009640684
72B11A2A95B596   BERNADETTE     VALDEZ                     NM     90001990209
72B11A4498B168   MAGANA         FABIAN                     UT     90008430449
72B121A128B157   WILLIAM        COHEN                      UT     90009451012
72B1246A141237   PORSCHE        ARRINGTON                  PA     51032914601
72B1269935B596   DAVID          VELASQUEZ                  NM     90010856993
72B1277A69154B   ZULEMA         CHAVEZ                     TX     90014497706
72B12835181633   TARA           LOPEZ                      MO     90014758351
72B1298A155939   CARLOS         SANCHEZ                    CA     90011349801
72B1331918B157   LORI           KERR                       UT     90010903191
72B1334898593B   AMBER          TURNER                     KY     90009843489
72B13413133698   DANIELLE       THACKER                    NC     12087434131
72B13417A61935   DAVID          KING                       CA     90002394170
72B1383418B168   NADINE         ROGERS                     UT     90014838341
72B1436625B398   VANESSA        RUSSELL                    OR     90012083662
72B143A3233698   DESMOND        BROWN                      NC     90012783032
72B1465218B134   ZOYLA          PENATE                     UT     31028236521
72B14667155969   KIMBERLY       VAUGHN                     CA     48080836671
72B1473177B661   LATOSHA        MUFF                       GA     90000457317
72B1496A841237   NICK           MCCARTHY                   PA     51057609608
72B14A65141253   ANNISE         YOUNGBLOOD                 PA     51016130651
72B1522383168B   JESSI          GUERRERO                   KS     90012332238
72B15239472441   KURT           ERTZ                       PA     90002072394
72B1555995B385   KAYA           JERABEK                    OR     90012665599
72B15A3442B895   FRANCES        ADAMS                      ID     90010840344
72B16241193739   TYELISHA       LEE                        OH     64588292411
72B16386972B29   EMMA           VILLALOBOS                 CO     33077343869
72B16451831433   CAMERON        DANIEL                     MO     27557634518
72B16669872B44   ERIKA          PALACIOS                   CO     90013936698
72B17336541253   VERNON         SALTERS                    PA     90014223365
72B17381272B44   SKYLER         GREEN                      CO     90011623812
72B17483671921   ALEX           NEAMA                      CO     32070714836
72B174A139154B   MARIA          ROBLES                     TX     90009914013
72B17965641237   JENE           POGUE                      PA     51067929656
72B18331157157   FRANCISCO      DELGADO                    VA     90000223311
72B1855825B169   ASHLEY         KIEFER                     AR     90014675582
72B18A13A72B29   MARTHA         FIERRO                     CO     90004430130
72B18A3649154B   TERRI          ARIAS                      TX     90011840364
72B1915219154B   ENDY           PEREZ                      TX     75081921521
72B1967669154B   VERONICA       AYALA                      TX     90010536766
72B1B117591586   CLAUDIA        CONTRERAS                  TX     90010371175
72B1B1A1671928   BLAKE          SHIPLEY                    CO     90013021016
72B1B361172B44   ROSAMARINA     MATA                       CO     33085513611
72B1B36657B661   NICOLE         EADY                       GA     90005443665
72B1B46A657157   CORINA         CHICAS                     VA     81022634606
72B1B4A8184322   DEANNA         DAVENPORT                  SC     14543584081
72B1B819572B32   CLAUDIA        VASQUEZ                    CO     33089368195
72B1B88A65B237   RON            SPADIE                     KY     68067408806
72B1B8A3857358   BILLY          MIKOLIZA                   MO     90013918038
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 757 of 2350


72B211A7441253   BRITTANY      COLTON                      PA     90014741074
72B2124558B168   KEVIN         WILSON                      UT     90012092455
72B21431572B32   CECIL         BILLS                       CO     90012574315
72B2155438B157   TERRIE        SANCHEZ                     UT     31055225543
72B21688271921   BRENDA        BRANDT                      CO     90014316882
72B2185A18B168   ADRIANA       MORALES                     UT     90013438501
72B21A62A7B661   NYTIA         DIXON                       GA     90014730620
72B2218287B661   JABEZ         DAVIS                       GA     90014731828
72B23633855969   WANDA         SANCHEZ                     CA     48087096338
72B238A2171921   HEATHER       HUGHES                      CO     32024838021
72B24127431433   BEVIN         PACKMAN                     MO     27582701274
72B2414977B661   LAPORCHE      WATTS                       GA     90014731497
72B24395872B98   SHELLY        STADLER                     CO     33000663958
72B243A415B169   MANUEL        PHILLIPS                    AR     90009843041
72B25331572B29   DOROTHY       EALY                        CO     33087473315
72B25616284322   LUCY          SANTOS                      SC     90012746162
72B2589232B994   EVERARDO      ABENDANO                    CA     90007498923
72B26123955969   ROSE MARY     ABRICA                      CA     48098831239
72B2625237B477   NILA          EUSEBIO                     NC     90009402523
72B2626628B157   LUANN         PRIETZEL                    UT     90011232662
72B26339781633   SARAH         NELSON                      MO     90011083397
72B2647A18B157   WHITTANY      STCLAIR                     UT     90009674701
72B2676858B142   TRENTON       BROWN                       UT     90015117685
72B26928A72479   D.M           WNEK                        PA     51039579280
72B2749128B157   SANTIAGO      VALLADARES                  UT     31035804912
72B2753818B142   TYLER         OLSEN                       UT     31080865381
72B27688655969   NATE          TATUM                       CA     90013076886
72B27A8915B59B   SARAH         STRINGER                    NM     35089570891
72B28239881633   ASHLEY        SAUNDERS                    MO     90011162398
72B2846628B32B   ANTHONY       TURNER                      SC     90011104662
72B28523572B44   JOSE          LOZANO                      CO     90015135235
72B28651A5B169   ROBERT        VAUGHN                      AR     90014446510
72B28671972B44   NATHANIEL     GRETTENBERGER               CO     90013936719
72B2925787B477   JENNY         BERNAL                      NC     90015422578
72B29484684322   MICHELLE      BING                        SC     90014134846
72B2954943B325   HECTOR        GIL MEJIA                   CO     90012735494
72B2B15415B169   JESSE         BLUE                        AR     90013941541
72B2B77158B168   LARRY         PECKINPAUGH                 UT     90014547715
72B2B841733699   ARNALDO       PALACIOS                    NC     90014108417
72B3165582B895   ARNE          PIETZ                       ID     90007296558
72B31694272B44   JAQUELINE     GUZMAN                      CO     90013936942
72B31749427B98   CHAKA         DUNN                        KY     90014817494
72B31841933699   SABRINA       HAUSER                      NC     90014258419
72B31844955966   LUIS          QUINTERO                    CA     90011618449
72B31A8A171921   HECTOR        ARMENDARIZ                  CO     90003080801
72B32193631433   ARTURO        SMITH                       MO     90012071936
72B32331531673   DOUGLAS       MAYFIELD                    KS     22012543315
72B3336A181633   GLENDA        RODRIGUEZ                   MO     90015023601
72B33457572B98   KARI          WELSH                       CO     90005164575
72B33762372B32   CHRISTINE     HAYS                        CO     33049727623
72B33856536182   MELVIN        TOLBERT                     TX     90001348565
72B338A1A2B84B   KIMBERLY      MCFADDIN                    ID     90010958010
72B33A22872441   JENNIFER      PECK                        PA     51072770228
72B33A8429154B   FRANCISCO     MELENDEZ                    TX     75076140842
72B34238741253   PAULETTE      WADE                        PA     90001172387
72B3459895B596   BERNIECE      CHAVEZ                      NM     90000845989
72B34A25741237   JOHN          FREEMAN                     PA     90013960257
72B34A63A31433   MARK          BINGESSER                   MO     90012610630
72B3525672B271   DAVID         ESCALANTE                   DC     90008822567
72B3537868B157   DUSTY         DESPAIN                     UT     31023853786
72B3559A333699   MARTIN        PENNINGTON                  NC     90013595903
72B35783163669   JILL          BRUNE                       MO     90000817831
72B358A537B661   CHANTILIQUE   JACKSON                     GA     90012188053
72B36233A7B661   GEORGE        HUGULEY                     GA     90014732330
72B36458A5B59B   SARA          PEREZ                       NM     90000764580
72B3724737B661   TAMORROW      WASHINGTON                  GA     90014732473
72B3736965B59B   NANCY         SOLIS                       NM     90010613696
72B37974255966   ANA           CASTELLANOS                 CA     90000569742
72B379A815636B   AUSTIN        STANBRO                     IA     90013969081
72B38358572421   JASON         DUNMIRE                     PA     51084493585
72B3957493168B   ROGELIO       HERRERZ                     KS     90012725749
72B39928255966   ALOUNEE       SEE                         CA     90007389282
72B3B228872B29   DIANA         ORTEGA                      CO     33062202288
72B3B3A7393739   LAWRENCE      NEELY                       OH     90012823073
72B4127477B661   MARISSA       HILL                        GA     90014732747
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 758 of 2350


72B423A5655939   DELIA              RUELAS                 CA     48098013056
72B42571572B44   MARIA              JUAN                   CO     90004855715
72B42581541253   DAVION             DONALD                 PA     51089155815
72B42612A33699   ANGELICA           HERRNANDES             NC     90013536120
72B426A839154B   ARTURO             ESPINOZA               TX     90013476083
72B4313215B596   LANCE              VIDAL                  NM     35043681321
72B43136733698   SHENA              HOLLIDAY               NC     90010011367
72B4424662B994   REBECCA C          CURRIN                 CA     90013302466
72B44417872421   ERIC               SPINNEWEBER            PA     90014174178
72B444A5881633   VICTORIA           JOHNSON                MO     90008024058
72B44519A55966   JOANNA             CASTELLANOZ            CA     90006065190
72B4452218B157   ANA                LOPEZ                  UT     31063685221
72B4452A15B59B   RUDY               LOPEZ                  NM     35064665201
72B44678755966   SALUSTIA           CASAS                  CA     90001096787
72B44795372479   DIANA              EISEL                  PA     51049847953
72B4485188B168   PAHL               BENCH                  UT     31000928518
72B44852555969   NORA               CARRASCO               CA     90014838525
72B44885372B32   JACQUELYNE         MANZANO-FLORES         CO     33099198853
72B44A35381633   KRISTEN            JONES                  MO     90010020353
72B45A4A557157   JOHN               MINICK                 VA     90006610405
72B46295172455   KAILEE             FIRESTONE              PA     90010212951
72B46733A72B98   GIOVANNA           Y POPINO               CO     90006967330
72B4761968B157   SCOTT              NEWTON                 UT     31039016196
72B47753A57157   MARIA              SANTOS                 VA     81017017530
72B4817888B32B   MAKISHA            HARRIS                 SC     90007221788
72B4866928B134   STEVEN             MCCARTY                UT     31087426692
72B48699A41237   MICHELE            KRAVETZ                PA     51087546990
72B4869AA9154B   RICHARD            GILL                   TX     75086956900
72B4882692B994   MICHAEL            WALKER                 CA     45050038269
72B49682272B44   RAUL               CHACON                 CO     90013936822
72B497A996198B   HANNAH             FREEMAN                CA     90007897099
72B4B135555947   HAIDE              VALDEZ                 CA     90013161355
72B4B475455939   KARINA             BALLESTEROS            CA     90006434754
72B4B536681633   MATTHEW            DUNN                   MO     90014675366
72B4B69239154B   ARTURO             SOLIS                  TX     90013116923
72B51141171921   BRIAN AND MARINA   LONG                   CO     90013461411
72B5156A272B44   ANTONIO            ALDAMA                 CO     90010515602
72B51796771921   IVAN               PATTON                 CO     90004007967
72B51818927B98   KRISTY             GOZA                   KY     90013608189
72B52572771921   CHAMBRE            REED                   CO     90014815727
72B52645533699   ANTOUNETTA         LEE                    NC     90011606455
72B5274A18B157   ANDRES             BARRIOS                UT     90011437401
72B52823455939   HOWARD             DOTTON                 CA     90014738234
72B52A9337B477   DEANDRE            COLLINS                NC     90013170933
72B5326928B134   GILDARDO           DIAZ                   UT     31071312692
72B5341132B994   LINELL             HOFFMANN               CA     90000634113
72B5351658B168   TERRY              MORRISON               UT     90011245165
72B5354357B661   SHARON             WESTBERRY              GA     90014705435
72B54114A91548   ALFONSO            MORENO                 TX     90004521140
72B54413A72441   LUTHER             HARRISON               PA     51097704130
72B54544851337   DAVE               BRADFORD               OH     90005845448
72B5467348B163   RAMONA A           DOUGHTY                UT     90010566734
72B5477235B596   MELISSA            MEAD                   NM     90002837723
72B5486185B183   KEVIN              CURRY                  AR     90009298618
72B55584957157   YASIRA             SANCHEZ                VA     90012885849
72B56152A55966   ANNABEL            QUIROZ                 CA     90012891520
72B5626138B168   JORGE              CUELARR                UT     90012062613
72B5643395B59B   ANTHONY            AGUIRRE                NM     90013034339
72B56437684322   JUAN               REYNA                  SC     90006384376
72B5653168B134   TRUDY              DAY                    UT     90009535316
72B56696793739   TOI                YOUNGBLOOD             OH     90012256967
72B56756672B98   GONZALO            GARCIA ZEPEDA          CO     33038257566
72B56832655947   DENISE             MARTINEZ               CA     90012848326
72B569A7A72479   SHERRY             ROSS                   PA     51009159070
72B57149371921   AMANDA             SLATER                 CO     90013401493
72B575AAA93739   MICHAEL            SMITH                  OH     90012515000
72B57668731443   KAYLA              MOORE                  MO     90001396687
72B58147172441   JUSTIN             HEWITT                 PA     90014511471
72B58247A33699   TAMMY              MORRISON               NC     12061202470
72B582A698B168   ADAM               DECKER                 UT     90013962069
72B5944695B59B   BRENDA             ORTEGA                 NM     90013034469
72B59884655966   ANTONIO            CASTRO                 CA     90012478846
72B59A15272B32   MARY               GALVIN                 CO     90014670152
72B59A26941232   CHRISTOPHER        DICKINSON              PA     90010470269
72B5B162272B29   THARAL             REED                   CO     33039281622
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 759 of 2350


72B5B241A55947   ADRIANA        SANCHEZ                    CA     90013482410
72B5B613A7B477   WILLIAM        SADLER                     NC     90015016130
72B5BA4A27B477   CLAUDIA        MARTINEZ                   NC     90012510402
72B61252381255   WILFREDO       AROCHO                     KY     90006652523
72B615AA37B661   CAKELISHA      WALTON                     GA     90014735003
72B6165A15B398   BROCK          KELLAND                    OR     90012686501
72B6224168593B   SHERI          SHARP                      KY     66050932416
72B6253783168B   PATRICK        LINDNER                    KS     90013295378
72B62692A51378   LATISHA        COLLINS                    OH     90004876920
72B62963472B29   ANGELITA       JAVALERA                   CO     33081139634
72B63467972421   MELISSA        MOORE                      PA     51082834679
72B63486A72B44   SHEENA         WEDGE                      CO     90012264860
72B634A942B895   NICHOL         CAFFERO                    ID     90014734094
72B63686372B44   MAURICIO       CHINA                      CO     90013936863
72B63871372441   RANDY          FISHER                     PA     90015188713
72B6425895B596   RAEBETH        WISE                       NM     90011232589
72B6457A27B661   CHARITY        KENDRICK                   GA     90014735702
72B6462223168B   WALTER         RAMIREZ                    KS     90014726222
72B6468145B169   KIMBERLY       SMITH                      AR     90015116814
72B64775572B32   CLAUDIA        ORTEGA                     CO     90010747755
72B64A13A9154B   JULIO          SOTO                       TX     90013370130
72B65385631433   TIARA          MCCORKLE                   MO     27590293856
72B661A4A81654   IDAMAE         MCCLEERY                   MO     29008191040
72B66467227B98   PRESTON        DURHAM                     KY     90013634672
72B6667AA7B661   SANDRA         WILLIAMS                   GA     15030846700
72B66694393739   TOMMY          KING                       OH     90011156943
72B66A7488B142   KEITH          HENRIE                     UT     31060050748
72B67684471921   VALERIE        ESCARCEGA                  CO     90005996844
72B68279191942   FATIMA         HALIM                      NC     90005402791
72B6882672B895   BAILEY         BEYMER                     ID     90012358267
72B688A7781633   ERIC           THOMPSON                   MO     90015078077
72B68A11A55939   JUAN           GUTIERREZ                  CA     48081260110
72B699A6255947   TERESA         DIAZ                       CA     90011059062
72B6B76498593B   PAUL           MCNAIR                     KY     66002347649
72B6B941831432   SARAH          STROUP                     MO     90008809418
72B6B963672B32   CARMEN         GUTIRREZ                   CO     90008289636
72B6BA4A27B477   CLAUDIA        MARTINEZ                   NC     90012510402
72B7114457B477   JAMINSON       HINTON                     NC     90012861445
72B71476341253   VELMA          GOUGHLER                   PA     90010644763
72B7163A25B398   ERNEST         FISHER                     OR     44561336302
72B71715384322   JOB            LOPEZ                      SC     90012867153
72B71827857157   MARIA          HERNANDEZ                  VA     90007058278
72B71918372441   HEATHER        WATSON                     PA     90012179183
72B7196619154B   JORGE LUIS     ACOSTA                     TX     75026009661
72B71A22172B29   RACHAEL        PERLMUTTER                 CO     33030220221
72B71A4673168B   CARTER         BRANHAM                    KS     90004770467
72B7226639154B   FERNANDO       ZAPATA                     TX     90014772663
72B72279872B44   VICTORIA       MORUA                      CO     33017772798
72B7247A48B168   KATIE          CHRISTENSEN                UT     90014154704
72B72574793739   ISAAC          WEAVER                     OH     64510255747
72B727A198B142   RICARDO        BARRERA                    UT     90001057019
72B72A62171921   PAUL           LOGAN                      CO     90012420621
72B732A8655969   DAVID          CEBALLOS                   CA     90013222086
72B73878241237   YVETTE         RHODES                     PA     51070788782
72B74184241253   DUANE T        ASHLEY                     PA     90014441842
72B74277293739   JANET M.       CADDELL                    OH     90009202772
72B751A4781633   CRIS           ANDERSON                   KS     29036441047
72B7531717B427   EMAN           BADR                       NC     90013003171
72B7546275B238   KIARA          BROWN                      KY     90002254627
72B756A6A93739   EMILY          SHOOP                      OH     90010056060
72B7574828B168   FERNANDO       DELGADO                    UT     90008727482
72B76176872B29   TAFOYA         RUTH                       CO     90007511768
72B76572793767   REBECCA        HARDING                    OH     90009805727
72B76632772B44   SONIA          RAMIREZ                    CO     90007916327
72B76693755939   LIDIA          RODRIGUEZ                  CA     90012716937
72B7694AA3168B   ALISHA         MEDINA                     KS     90015459400
72B76AA2757157   EDWIN MOISES   GARCIA                     VA     90009510027
72B771A433168B   JEANNA         SMILEY                     KS     90010161043
72B7761993B35B   MARGARITA      TAYLOR                     CO     33017096199
72B77786233699   TRACY          MORRISON                   NC     12032307862
72B77A15872B44   SUSAN          SANFORD                    CO     33017860158
72B7818488B142   DANA           SALTSMAN                   UT     90014771848
72B7854158593B   LYNNE          MOORE                      KY     90014435415
72B7888A58B353   ZETORIAN       DAVIS                      SC     90015568805
72B7892678B32B   MICHAEL        JORDAN                     SC     11081889267
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 760 of 2350


72B78A11584322   LISA         WIGAL                        SC     90013980115
72B793A9971921   PATRICIA     PEREZ                        CO     32019533099
72B79636572441   SHAD         MOOR                         PA     90014036365
72B7969239154B   ARTURO       SOLIS                        TX     90013116923
72B79918255939   LETICIA      TRUJILLO                     CA     90014179182
72B7993932B994   ANGEL        AGUILAR                      CA     90014669393
72B7B158561597   AMANI        BOGA                         TN     90004611585
72B7B16113168B   ERICA        GUSMAN                       KS     22081561611
72B7B288A8B142   ANDREW       HUBBART                      UT     90010412880
72B7B576733699   ALEXANDER    JAMES                        NC     90013775767
72B7B851484322   LATISHA      EASON                        GA     90013718514
72B7B99175B53B   CLYDE        JORGENSEN                    NM     90008499917
72B81131572B44   ELENO        CISNEROS                     CO     33020241315
72B8119118B157   PANCHITO     LUCES FLOJO                  UT     90014501911
72B8131645B59B   VIRIDIANA    ESPINO                       NM     90010313164
72B8153363168B   ALICE        LEWIS-SWAIN                  KS     22009855336
72B81714A72B32   LISA         ASHLAND                      CO     90012727140
72B8175259154B   LETICA       HILDA                        TX     90003927525
72B82194441228   MARCIA       ALFORD                       PA     51042791944
72B8223345B169   JODY         SHEPPARD                     AR     90009542334
72B8239525B59B   VICTOR       MARTINEZ                     NM     35034773952
72B82934672B29   ALMA         JIMENEZ                      CO     90012599346
72B8295948B32B   SHANTE       STARNES                      SC     90013909594
72B8312615B398   WUDE         BELEYNEN                     OR     90010661261
72B8328452B895   AUSTIN       SYPERT                       ID     90014122845
72B83437A4B588   CEASAR       DORAN                        OK     90001884370
72B83458372B44   MARIA        PEREZRODELAS                 CO     33035934583
72B83781372421   MATTHEW      GRIBBLE                      PA     51045177813
72B83A48633698   LEFORICE     WALKER                       NC     90009480486
72B84341A8593B   JORDAN       WINDELER                     KY     90008053410
72B84417772B98   EDWARD       PIMEGO                       CO     90012914177
72B8471438B168   LILIA ANN    GONZALEZ                     UT     90010457143
72B8471919154B   URIEL        VALDEZ                       TX     90013117191
72B8484352B267   JANICE       SUTTON                       DC     90011828435
72B848A3155969   JAIME        BARRAZA                      CA     90014708031
72B85224A72B44   FRANCINE     BARRAZA                      CO     90014132240
72B85379855969   MARGARET     GOODMAN                      CA     90005743798
72B8539833148B   CHARLES      BENNER                       MO     90013573983
72B854A918B189   MARIA        PRAGANA                      UT     31059214091
72B8557279154B   LAURA        GUTIERREZ                    TX     90012345727
72B85664381633   JESUS        FIERRO                       MO     29032566643
72B85784572479   JUSTIN       ROSE                         PA     90014717845
72B862A7184322   ASHLEY       AYALA                        SC     90008972071
72B86869257157   LINDA        VALLEJO                      VA     81083138692
72B86A1115B398   ANDREA       IRETON                       OR     44588700111
72B86A9898593B   EMILY        TURNER                       KY     66003370989
72B87116133699   TRISHONA     BROWN                        NC     90010011161
72B87171131426   TERRY        GERARD                       MO     90011211711
72B87616955966   MARIO        MENDOZA                      CA     90011626169
72B87989655969   STACY        BEASLEY                      CA     48063949896
72B87AA2A9154B   CORDOVA      BRENDA                       TX     90003830020
72B88642957157   JOHN         VO                           VA     90013986429
72B8874925B596   MARISELA     NAJAR                        NM     90013897492
72B8937667B477   ANITA        COLEMAN                      NC     90013363766
72B8994A955966   VIVI         PAZ                          CA     90014839409
72B8B146133698   OSEI         BONSU                        NC     90014811461
72B8B541461935   RANDY        PERKINS                      CA     90006895414
72B8B66188B134   DAYN         BREMS                        UT     90003936618
72B8BA6247B477   GISELA       MARTINEZ                     NC     90013110624
72B91316141253   WILLIAM      LUFT                         PA     90010893161
72B91A43972B32   CONSTANCE    SANDERS                      CO     33045630439
72B92267372B32   JOSE         CARRANZA                     CO     33015582673
72B92512755939   RODRIGO      URIBE                        CA     90012605127
72B92923955947   DEBORAH      VERTIGAN                     CA     90008739239
72B92A48A7B477   SHENA        MORRIS                       NC     11023950480
72B931AAA93739   KENNETH      NELSON                       OH     90009941000
72B93238A7B477   JACQULINE    JONES                        NC     90012842380
72B93277155969   JAIME        GONZALEZ                     CA     48084932771
72B93356141237   AMANDA       WIERCHOWSKI                  PA     51083963561
72B9356228B168   BRUNO        SILVA                        UT     90011245622
72B93573555966   ALEJANDRO    GUTIERREZ                    CA     90014185735
72B9363258B168   MARIA        GUZMAN                       UT     90014176325
72B937A368B157   ERIKA        MADRIGAL                     UT     90013387036
72B93969281633   CAROLYN      HALL                         KS     29004899692
72B94554757157   SIEKEI       ASIEDU                       VA     90012745547
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 761 of 2350


72B9457A172479   CHAD             BACHA                    PA     90011915701
72B9463115B59B   JOSE             MONTELONGO               NM     35016416311
72B94661941253   BERTA            NESBITT                  PA     90013606619
72B94A32455939   DIANA            TORRES                   CA     48020410324
72B94A37772421   JOHN             CLARK                    PA     90014930377
72B95285A71921   FRED             DENNISON                 CO     32039672850
72B95467631433   ELIZABETH        HAWTHORNE                MO     90012654676
72B95542A2B267   STERLETTA        BYRD                     DC     90012545420
72B9582958B168   CHRIS            FEATHERHAT               UT     90014318295
72B964A567B661   TIFFANY          DANIELS                  GA     90014744056
72B9675988B134   JON              HAYCOCK                  UT     90010647598
72B96939171921   INNES            HINES                    CO     32028379391
72B9697448B157   JACOULINE        GERARD                   UT     31012949744
72B96A38172421   CHAD             SACKETT                  PA     90002590381
72B9742118B134   RYAN             ROBBINS                  UT     90008174211
72B97497A7B477   REGINALD         FITCH                    NC     90007814970
72B9755848B142   SIXTO            LOZOYA                   UT     90010395584
72B97722172421   ASHLEY           MORGAN                   PA     90013467221
72B98158677528   HELIODORA        AGUIRRE                  NV     90008111586
72B98272136182   YADIRA           MEDRANO                  TX     73556852721
72B98469641287   RYAN             MCGREGOR                 PA     90012694696
72B98736A72421   ROXANNA          VARRIANO                 PA     51016427360
72B98777372B29   SHAWN            CORONADO                 CO     33068067773
72B98821572479   NIKKI            LENZI                    PA     90013778215
72B9885765B169   PATRICK          WALKER                   AR     90014238576
72B99347155966   VANESSA          SANCHEZ                  CA     90001083471
72B99772136182   LAURA            RIVERA                   TX     73582427721
72B9981769154B   MARGARITA        SAENZ                    TX     90010538176
72B9B123372B29   CRISTIAN         RANQEL                   CO     90004741233
72B9B792731432   DEANNA           LAWSON                   MO     90011307927
72B9B811727B98   TIFFANY          FLOWERS                  KY     90002178117
72B9B9A8455966   BYRON            DARRIGTON                CA     90014749084
72BB1215A41237   TAMIKA           ARNETT                   PA     90009032150
72BB155A441253   LINDA            WADE                     PA     51045475504
72BB1692272441   RICHARD          BECK                     PA     51092446922
72BB1724255939   SOCORRO          VILLEGAS                 CA     90011847242
72BB1756455969   ELENA            GARZA                    CA     90014607564
72BB245212B994   CHONG            THAO                     CA     90015124521
72BB267A872B98   ARIANNA          CONNOR-JONES             CO     90013006708
72BB3186555969   ALFRED           HERNANDEZ                CA     90014881865
72BB3248831432   EDWARD           BRYANT                   MO     90009182488
72BB3593672B32   DEVIN            BIGAY                    CO     90013205936
72BB3689893739   SAMUEL           WRIGHT                   OH     90013236898
72BB3732A72479   DELMAR           PRITCHETT                PA     90012847320
72BB392739154B   NELLY            FIGUEROA                 TX     75026179273
72BB4122733699   RICHARD          BROWN                    NC     90011111227
72BB431395B169   KEVIN            GRAY                     AR     90014963139
72BB4787771921   SEQUOIA          PHILLIPS                 CO     32053907877
72BB4843684322   ARMANDO          GUTIERREZ                SC     90013518436
72BB54AA672B29   TRINIDAD         GALLARDO                 CO     33046674006
72BB5651827B98   TERESSA          ROMUALDO                 KY     90013476518
72BB5686341253   ELIZABETH        RODGERS                  PA     51055236863
72BB5935A72B44   AVERY            NELSON                   CO     90014659350
72BB5966257531   NANCY            PEREZ                    NM     90010249662
72BB5A18A72479   KEITH            TOROK                    PA     90013240180
72BB6194172B98   SHERRE           DALANEY                  CO     90004511941
72BB6539384322   EVAN             SANCHEZ                  SC     90011185393
72BB6631333698   ANGELA           BEAN                     NC     90009246313
72BB66A412B994   FELICIANO        RYES                     CA     90009526041
72BB7247961927   TED              GARZA                    CA     90014972479
72BB73A8131433   TAN              WARD                     MO     90004743081
72BB76A212B895   SONIA            RODRIGUEZ                ID     90009726021
72BB8727372B44   CATHERINE        JOHNSON                  CO     90014937273
72BB9223455966   LORI             SANTILLANEZ              CA     48024892234
72BB9396633698   RHEA             JONES                    NC     90008433966
72BB9584872B29   ANGELO           STROCK                   CO     33061285848
72BBB16239154B   ENRIQUETA        GARCIA                   TX     75089951623
72BBB998427B98   SHEENA           HOLLOWELL                KY     90015079984
7311167448B168   ARIEL            INZUNZA                  UT     90008566744
7311191668B134   REYNA CRISTINA   CORONA LUGO              UT     90014999166
7311195215B347   JAMES            STEBBINS                 OR     44584819521
73111AA6955947   YOLANDA          SERNA                    CA     90006450069
7311249438B168   SHANNON          SEARLE                   UT     90005644943
7311269952B994   PAVLOVIC         MILORAD                  CA     45067926995
7311297346192B   BALDOMERO        MUNOZ                    CA     90011299734
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 762 of 2350


7311314A672421   ERIN                  WHIPKEY              PA    90009861406
7311317A68B134   BERNICE               SANCHEZ              UT    90006851706
7311345A831432   SARAH                 ANDERSON             MO    90013024508
7311383445B592   KAYLA                 LUCERO               NM    90013328344
7311428728B168   K LAURA               BRADLEY              UT    90003752872
7311434A541237   NANCY                 CASSATA              PA    51069053405
731152A997B661   PATRICIA              WILLIAMS             GA    15002792099
73115682A3168B   RAYMOND               QUEEN                KS    90000226820
7311575522B994   ADELINA               HERNANDEZ            CA    90013437552
73115999A72B29   TIFFANY               NICOLE-RODRIGUEZ     CO    90006299990
73115A97672479   JAMES                 MCGOWAN              PA    90009470976
7311624485B59B   ANTONIA               ORNELAS              NM    90009122448
7311661468B142   JASON                 HOLDAWAY             UT    90004876146
73116621372B44   DULCE                 MIER                 CO    33099506213
73117621772B87   OSCAR                 SERRANO              CO    33032626217
7311771958B164   MARYANN               ERICSON              UT    90003467195
73117A64372B44   GONZALES              LENORA               CO    33023620643
7311814A772B44   MARIA                 ZUBIA                CO    33020191407
731182A3772B29   PATROCINIA            MARTINEZ             CO    90010182037
7311864A972441   JUANITA               DYE                  PA    90014586409
731187A935B384   RAFAEL                LOPEZ                OR    44507827093
73118A3682B994   LEO                   FREGOSO              CA    45009990368
7311932438B164   CORY                  IRWIN                UT    31045713243
731194A4671947   ELIZABETH             QUINATA              CO    90007964046
7311951A791863   WAYNE                 SULLIVAN             OK    90000535107
73119832172B29   KAREN                 BURGOS               CO    90013338321
731198A2572479   GAIL                  FERRENCE             PA    90001888025
7311B356885945   CHANTAL               RUGAGAZA             KY    90005053568
7311B7A9141237   RODNEY                WHITE                PA    51077277091
73121147772B32   DINA                  THOMAS               CO    33014541477
7312115758B157   DANIEL                HANSON               UT    90014611575
7312128A59154B   CHRISTINE             GARCIA               TX    90014682805
73121537272B87   LAURAQ                DE LA TORRE          CO    90013935372
731223A485B384   ANILEYDIS             MARRERO              OR    44593513048
731232A8441237   JAMILL                STARLING             PA    51074702084
731237AA872B32   CHRISTOPHE            BURRELL              CO    33050497008
73123A11893728   BIANCA                PARKS                OH    90007360118
73124851372B44   DELAROSA              LAURA                CO    33066388513
73124A6268593B   GERARD                OUELLETTE            KY    90007010626
7312526838B134   KAREN                 COX                  UT    90008092683
73125323872B87   SANTOS                GONZALES-QUIJAS      CO    33020043238
73125814572B29   ESTELA                ERNANDEZ             CO    33045948145
7312624818B134   MILINDA               OBAYASHI             UT    90006762481
7312637289154B   ISIDRO                GAMBOA               TX    90014853728
731268A8555947   BIANCA                XIONG                CA    90009158085
7312696867B34B   ALBA                  PALENCIA             VA    90007529686
73126AA8A8B168   SEANEEN               DUKE                 UT    90015010080
7312733A95B522   FLOR                  ARCIA                NM    90005513309
7312764A972441   JUANITA               DYE                  PA    90014586409
7312836A772B32   ELOISA                GOMEZ                CO    90003583607
7312926933168B   GREG                  YOST                 KS    90010112693
731292A5A72B32   HEATHER               RADFORD              CO    90012422050
73129357272B32   SHARON                ASTICARANCI          CO    90014953572
7312953175B59B   AMBER                 GROSSETETE           NM    90012665317
73129956A5132B   SAMANTHA              CRUZ                 OH    90013539560
7312B261393739   TORIANO               WALKER               OH    90013922613
7312B76635B347   KRISTEN               MCNATT               OR    44560827663
731316A9731435   STUART                BRIDGES              MO    90015216097
7313198968B163   CHEESBINA             EZIKIAS              UT    90014669896
731319AA572B29   JUANA                 SALAZAR              CO    90008199005
73131A33672421   SUSAN                 NOSKO                PA    51084170336
7313286617B661   CHRIS                 ANDERSON             GA    15031158661
7313286A255939   JACKIE                MARTINEZ             CA    90015378602
7313299365B399   ROBERT                ASH                  OR    90001769936
73132A8418B134   TEDRA                 MARTINEZ             UT    31034710841
73133178172B44   VICTOR MANUEL         GUZMAN LEMUS         CO    90015161781
73133653572B29   DONNA                 SALAZAR              CO    90014556535
73133919A93739   HEATHER               MCNEIL               OH    64552079190
7313423289154B   THE ACCOUNTING FIRM   OF MEIZER & MEIZER   TX    90011522328
7313426933168B   GREG                  YOST                 KS    90010112693
731342A138B142   CHARITEE              AUSTIN               UT    90010312013
7313437A45B59B   GUADALUPE             BARRAZA              NM    90013893704
731349A3955939   MANUEL                RODRIGUEZ            CA    90014839039
7313531838593B   CHRISTINA             CLARK                KY    90013873183
7313534AA8B32B   BILLY                 BARE                 SC    11081673400
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 763 of 2350


7313575338593B   BRIAN         KERNS                       KY     66017327533
73135A7828B142   JOSE          RODRIGUEZ                   UT     90011610782
7313724712B271   EMERY         CAMERON                     DC     90010912471
73137695772B32   JUAN          ATECO                       CO     90009536957
73137A78631433   FLOYD         MASON                       MO     90010920786
7313854277B477   SHA TORRIA    TORIAN                      NC     11044525427
7313872A82B271   HEATHER       HAIRE                       DC     90014837208
7313881A271921   VIRGINIA      NAVA                        CO     90014178102
73138948372B44   THOMAS        MADZIAREK                   CO     90008629483
73139537272B87   LAURAQ        DE LA TORRE                 CO     90013935372
731399A8255966   LIDIA         LOPEZ                       CA     48066549082
73139A9899154B   VILLAGRANA    JOSEPH                      TX     90011070989
7313B155831432   TARYNN        JOHNSON                     MO     90012411558
7313B57478B142   JUSTIN        ANDERSON                    UT     90013765747
7313B89658B163   DAVID         FINLEY                      UT     31085428965
7314132812B271   JOHN          WILLS                       DC     90009343281
7314169848B163   ANNA          TORRES                      UT     90014656984
7314246368B163   CORTNEY       RUUD                        UT     31052794636
7314288768B142   ADAN          SOTO                        UT     90013848876
73142A26455966   HUGO          ROSALES                     CA     90007210264
731433A5684322   LACARRA       JENKINS                     SC     90014983056
7314351585B347   SANDI         LOWS                        OR     90013445158
7314399319154B   EDUARDO       VASQUEZ                     TX     75078799931
73144278772B87   RICARDO       ORTEGA                      CO     90008712787
731449A292B994   STEPHANIE     EPPSMURPHY                  CA     45071849029
73144A56A72B29   DANA          JONES                       CO     90007950560
7314519922B994   DANIEL        ARROYO                      CA     45080571992
73145A96133698   MELANIE       JAUNILLIO                   NC     90014890961
73145A9743B123   AQUILINA      CAZARES                     DC     81074050974
7314648128B142   DANE          STARTUP                     UT     31070134812
731468A2472B44   JORDAN        NAYLOR                      CO     33044758024
73146A25272B32   RHODES        DERRICK                     CO     90013070252
73147577A71921   PATRICIA      SALAZAR-GAYTAN              CO     90001215770
73147A28141253   LAMONT        JOINER                      PA     51039970281
73147A47193739   PAYGO         IVR ACTIVATION              OH     90007350471
7314857218B134   LYLE          GOODRICK                    UT     31089605721
73148AA9172479   ROBERT        LENHART                     PA     51017970091
7314B111372B32   MARIA         MCDONALD                    CO     33082331113
7314B37249154B   ROBERTO       GUERRERO                    TX     90009433724
73151669672B29   CHRISTOPHER   GOMEZ                       CO     90013056696
73151885A31432   BRITTANY      JEFFERSON                   MO     90006158850
7315226935139B   TANYA         BAKER                       OH     90010792693
7315315983377B   DYLAN         HUMBERSON                   LA     90015411598
73154261A72B87   MEAGAN        COTTER                      CO     90004192610
7315469523B358   SHERRYL       EDWARDS                     CO     33026736952
7315484AA71947   ELIAS         QUINONES                    CO     90001228400
7315524668B157   TINA          MANU                        UT     90003102466
7315561654B522   JAMIE         NEWCOMB                     OK     21577036165
7315652A941227   JESSICA       HOLLOWAY                    PA     51096785209
7315688448B163   THOMAS        MODERNO                     UT     31041718844
73156A79893739   BRYAN         FAULSTICH                   OH     64597900798
73157712A84322   ROSA          MEDINA                      SC     90012657120
7315839338B168   AMANDA        HOUSTON                     UT     90012873933
73158863872B32   CHRISTINA     VAUGHN                      CO     90007788638
73159133372B44   JOLENE        VIGIL                       CO     33009231333
731592A215B596   JOSEL         GAMBOA                      NM     35052492021
731595A9A41237   JOYA          MARSHALL                    PA     90009955090
731599A7271921   CHRIS         BENDANA                     CO     32020359072
73159A96755996   SERGIO        LOPEZ                       CA     90009610967
7315B568471947   JOSE          VALDES                      CO     90007965684
7315B69985B596   AMANDA        GREEN                       NM     90001896998
7315BA57872B29   RUBY          TAFOYA                      CO     90007950578
7315BA6A272B44   ROSA          HERNANDEZ                   CO     90004510602
7315BA8A48B168   AARON         WILLIAMS                    UT     90012790804
7315BA9315B347   BRIAN         KING                        OR     90013310931
7316154655B169   JESIC         MESCADO                     AR     23017215465
73161A33172B87   MARIA         MORA                        CO     33070190331
73162A4398593B   MARY          MOORE                       KY     66033350439
73162A83172B87   ALFONSO       CAMPOS                      CO     90015100831
73163975372B44   HEATH         COOK                        CO     33088909753
73164123A81679   YOLANDA       CUELLAR                     MO     29040671230
7316416568B168   IGNACIA       RODRIGUEZ                   UT     90015071656
731647A963168B   MATTHEW       MAUPIN                      KS     90009557096
7316492178B163   JESSICA       MOPNTOYA                    UT     90013639217
73164A62133699   COURTNEY      MCCOLLUM                    NC     90011170621
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 764 of 2350


73165441272B87   MARIE          PEREZ                      CO     90013054412
73165515A72421   CARRIE         PLICHTA                    PA     90008385150
7316565773B325   TRACY          MAZOTTI                    CO     90012726577
7316569717B477   SHANNON        YOUNG                      NC     90013836971
7316572528B163   TIFFANY        ORTIZ                      UT     90014657252
73165A82972B87   JORGE          QUINTANA                   CO     90014980829
731661A1A9154B   GILBERTO       OLIVAS                     TX     90014451010
7316777698B163   WELLS          CHELSEA                    UT     90011357769
7316829978B142   JUAN           NEVAREZ                    UT     90014992997
7316846689154B   RODOLFO        GONZALEZ                   NM     90009254668
7316896185B59B   SYLVIA         MARTINEZ                   NM     90011559618
7316913382B994   JOHNNY         MENDEZ                     CA     90013211338
731694A245B59B   RAQUEL         NAVARRO                    NM     90000844024
73169941772B44   ADAM           KING                       CO     33005379417
7316B151572B44   EMERSON        RAMIREZ                    CO     90014951515
7316B669855947   ANTHONY        CHAVEZ                     CA     49048656698
7316B772471921   SARAH          HOOVER                     CO     90014867724
7316BA35572441   MELODY         JONES                      PA     51064130355
7317141135B59B   ANGELO         ROSSI                      NM     90011254113
7317143822B994   CARITA         SIMON                      CA     90014504382
73171894672B32   MELINDA        BRAGG                      CO     90013788946
7317237595B59B   ANGELICA       GUTIERREZ                  NM     90012753759
7317314A571947   BRIGITTA       SCHUMACHER                 CO     32027381405
73173385A8B142   SHAWN          GUSTAVESON                 UT     90005003850
7317387245B384   YOLANDA        CANTY                      OR     90011348724
73173A48772441   ROXANNE        TIMULAK                    PA     90013080487
73174A98755939   MARI           CUEVAS                     CA     90013820987
73175A74A5B347   WILLIAM        JONES, JR                  OR     90014560740
73175AA385B59B   PATRICIO       ALCANTARA MIRANDA          NM     35027290038
73176143672B32   MONSERAT       REYES                      CO     90011331436
731762A975B59B   TYLER          WILLARD                    NM     90015202097
7317639632B271   KWANIA         HARDEN                     DC     90002043963
73176597972B87   DAVID          KHADEM                     CO     90012415979
731765AA172B87   ALEJANDRO      CALDORAN                   CO     33078515001
731769A4133699   LYNDSIE        JOHNSON                    NC     90012719041
731773A1884322   TOBIAS         ORUM                       SC     90014733018
73178349672B44   SALVADOR       MARTINEZ-GUITERREZ         CO     33023453496
7317839813168B   CLINT          REEVES                     KS     90010113981
7317855A65B347   LEODEGARIO     DIMAS                      OR     44577575506
731789A292B994   STEPHANIE      EPPSMURPHY                 CA     45071849029
73179246272B29   JOSHUA         CARRERAS                   CO     90005692462
7317924A672B32   NICOLE         GONZALEZ                   CO     90012952406
73179481A55966   ROSEMARY       NAVARRO                    CA     90011744810
73179842972B87   ALEX           RIVAS                      CO     90013038429
73179A6727B477   YESENIA        BAIRES                     NC     11096760672
7317B23183B137   AMANDA         WILLIAMS                   DC     81017582318
7317B297A55939   MIGUEL         MARAVILLA                  CA     48004062970
7317B72198B142   CAROLINA       ESPINOZA                   UT     90011217219
7317B74839154B   OSCAR          SANTOS                     TX     90011387483
7318135A785945   JOSEPH         SPRINGFIELD                KY     67020993507
73181A38755947   VUEMY          YANG                       CA     90013260387
73181A7A655947   MANUEL         ROCHA                      CA     49053720706
731821AA172421   MONICA         SAMULSKI                   PA     51014141001
731827A5672479   MARCY          CROW                       PA     90002847056
73183227A41227   SHAWNTA        BUCKNER                    PA     90011842270
7318359138593B   KEN            SANKER                     KY     90000295913
7318419297B661   TOWANNA        LEWIS                      AL     15087311929
7318468758B157   GAIL           CAMERON                    UT     31022956875
7318515438B142   JOSE           MENJIVAR                   UT     90007121543
731851A2197121   CINDY SELENE   OLVERAQ GARCIA             OR     90008751021
73185297572B29   JOE            BERNAL                     CO     90007062975
7318538348B168   JOSHUA         CAHOON                     UT     90014253834
73185629A2B271   ANGELA         FOSTER                     DC     90014516290
73186317272B87   JACKIE         LANE                       CO     33036913172
73187321A8B163   LEONARD        ATWOOD                     UT     31097933210
731877A6972B44   LINDA          LESLIE                     CO     90000607069
7318845159154B   MYRNA          DIAZ                       TX     90007014515
73188612672B44   MELISSA        ARCHULETA                  CO     90014816126
731887A8572B87   WHITNEY        THRASHER                   CO     90004107085
731889A662B271   JAVIS          TAYLOR                     DC     90014279066
7318926555B384   DENISE         TOMAN-CABRAL               OR     90000662655
731897A7772421   RITA           PTASZKIEWICZ               PA     90012437077
73189879A55947   MARAQUEL       BAUTISTA                   CA     49071748790
7318993A672B44   FRANCISCO      RAMIREZ                    CO     90013429306
7318B2A4231433   OCBAY          GEBREMESKEL                MO     90013962042
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 765 of 2350


7318B335184322   JESSICA          RUSHING                  SC     90014883351
7318B8A9272B44   LUCERO           BUENROSTRO               CO     90013968092
7318B964A9154B   SERGIO EDUARDO   HOLGUIN MARTINEZ         TX     90010739640
7318B99452B271   CALIXTO          ROMERO GARCIA            DC     90008379945
7319133248B17B   NICOLAS          RIOS                     UT     90007613324
7319158615593B   OMAR             HERNANDEZ                CA     49098685861
73192353372B29   ANASTASIO        GALVEZ                   CO     90007333533
731926A928B163   TELIPE           PEREZ                    UT     31051506092
73192788872B44   DIANE            ROERIG                   CO     90004107888
731928AA57B477   MAX              HIGGANS                  NC     11064398005
7319293638B134   TEOFILO          GARFIAS                  UT     31003859363
73192AA6471947   DUSTY            FERGUSON                 CO     90012610064
731933A9593739   SHANNON          STANIFER                 OH     90008163095
7319382848593B   MELISSA          LANHAM                   KY     90014468284
7319398449154B   YESENIA          ALVARADO                 TX     75006559844
73194884172B29   DENISE           CURRENT                  CO     90014868841
7319535849154B   HUGO             CAMARILLO                TX     75097643584
7319546A772B29   JOEL             FRANCO                   CO     90012604607
73195576A7B477   ROGELIO          NUNEZ                    NC     11045515760
731961A9633698   RANDI            JONES                    NC     90014351096
7319674518593B   KENNETH          MCGUIRE                  KY     90011677451
731972A8371921   STEVEN           WELMON                   CO     90011782083
7319851659154B   DENISE           JAUREGUI                 TX     90001495165
7319854A572B44   ROBERT           CALLIF                   CO     90011825405
7319854A672479   TAMMY            PIERCE                   PA     90007835406
7319862338B142   ROCIO            ROBLEDO                  UT     90013786233
731987A7372B29   QUINTIN          GARCIA JIMENEZ           CO     90013697073
731987AAA8B157   RANDAL           CANAVAN                  UT     90011217000
73198A7A193739   CHEYANNE         SMITH                    OH     64592010701
73199272772B44   CECIL            SHARP                    CO     90012872727
7319941317B661   MICHAEL          FLOYD                    AL     15091024131
73199727172B87   GORGE            HERNANDEZ                CO     90009137271
73199A31672B44   MYRON            PARSONS                  CO     90013030316
7319B4AA561972   MARCO            GONZALEZ                 CA     90008244005
7319B69888B168   CRYSTAL          ALLEN                    UT     90011616988
7319B943455947   ANDRE            SMILEY                   CA     49079969434
731B1262857157   BRENDA           GONZALEZ                 VA     90000992628
731B1554772B23   AMANDA           HELLYER                  CO     90007975547
731B1682155939   MINERVA          HERNANDEZ                CA     90008616821
731B215118B142   REX              MUHLESTEIN               UT     90013781511
731B245A22B271   SANDRA           DAVIS                    DC     90013174502
731B2A54572B32   MARVIN           WHITE                    CO     90015030545
731B3279831443   MUARICE          MIKE                     MO     27568002798
731B377A791566   MARIA            ROSAS                    TX     90001177707
731B3898772479   DIANE            HAMILTON                 PA     90009018987
731B4337655939   REYNALDO         ORTIZ                    CA     90013793376
731B4384772479   TYEASHA          SKAGGS                   PA     51000033847
731B442425B596   ISAAC            DELEON                   NM     35069474242
731B4626971947   MICHAEL          CLARK                    CO     90014266269
731B4988A72B44   DANIELLE         CASTANEDA                CO     33013729880
731B4A12481255   JOSEPH           WILLIAMS                 KY     68038470124
731B533A68B168   BRENT            VIVERS                   UT     90011613306
731B6353472479   TERRY            HOLLAND                  PA     90015073534
731B6711555966   TIFANI           DAVIS                    CA     90003227115
731B673562B271   MICHELLE         MCKENZIE                 DC     90004117356
731B7244772441   OTTO             GITTS                    PA     90014992447
731B7263955966   ROSA             RAMIREZ                  CA     90012772639
731B732535B59B   CANDICE          PEOPLE                   NM     90012383253
731B75A4A72421   MARIANNE         SWARMER                  PA     90005105040
731B7979771921   ERIC             VALSQUEZ                 CO     90014729797
731B823AA8B168   CORA             BAILEY                   UT     90015062300
731B8625884322   QUINTESSA        MCPHERSON                SC     90013596258
731B8A4892B994   FELIX            VEGA                     CA     90014910489
731B8A69241237   PATRICIA         KOWALUK                  PA     90010640692
731B8A84572B44   STU              GARY                     CO     90005250845
731B9154633698   JERMAINE         WALTLINGTON              NC     90013071546
731B946A831432   ANDREA           WHITTIER                 MO     90010884608
731BB15118B142   REX              MUHLESTEIN               UT     90013781511
731BB154272B29   MELVIN           OCHOA                    CO     90005691542
731BB173872B87   JOSEPH           PADILLA                  CO     90000371738
731BB26582B271   JARRELLE         DELONG                   DC     90009522658
731BB385272421   SCOTT            COX                      PA     51007843852
731BB59357B477   APRIL            BREVARD                  NC     11006355935
731BB92618B142   SANDRA           HURLEY                   UT     90015319261
7321112118B157   SAMANTHA ANN     ADAMS                    UT     90008091211
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 766 of 2350


7321135748B163   CHARLES      CORLETT                      UT     90011293574
7321138685B347   JOHN         PALEN                        OR     90015373868
73211A36772479   MICHAEL      FANTAUZZI                    PA     51068440367
73211A89941253   CARLISLLE    FALLON                       PA     51050720899
7321343629154B   SERGIO       ORTIZ                        TX     75008394362
7321372118B142   ORALIA       FERRON                       UT     31071007211
732138AA93B391   MARCUS       QUINTANA                     CO     33072758009
7321416A28B163   VIVIAN       HOLMES                       UT     31027021602
7321422537B477   JENNY        LYNN                         NC     90014442253
732143A8855947   MARIA        ESINOZA                      CA     49052213088
7321476329154B   BERENICE     CARLOS                       TX     75009177632
732147A6486456   NICOLAS      PICHARDO                     SC     90015397064
73214A2655B59B   JOSE         GOMEZ                        NM     90012310265
7321511437B477   OLIVER       ROBLES                       NC     90013591143
732155AA193739   JEFFERY      LONGMAN                      OH     90010665001
7321594438B163   AARON        ASSENBERG                    UT     90014419443
7321687A933698   TEIRA        BULLOCK                      NC     12092638709
732169AA631433   YVONNE       TANKSLEY                     MO     90008569006
73217531A72B87   DANIELLE     SPIETH                       CO     33001705310
732177A538593B   BRENDA       ZAPATA                       KY     66016187053
73217A2669154B   JORGE        ABURTO                       TX     90010940266
7321847A541237   FRANK        DEGENNARO                    PA     90012234705
7321859A231432   SENAD        HLILOVIC                     MO     27583605902
73218AA465B59B   NICKY        SOLANO                       NM     90006760046
73219A72272B44   RICHARD      CARRERA                      CO     90011680722
7322123588B142   KARLA        LEON                         UT     31053382358
73221629272B32   NAOMI        WEDDING                      CO     33032406292
7322169665B384   SHLONDA      WILLIAMS                     OR     90003466966
7322171365B33B   CASSANDRA    CAVE                         OR     90002617136
73221747A8B134   ZACHARY      WAYNE                        UT     90011077470
73221A99A3B35B   DORA         SILVA MENDOZA                CO     90013280990
73222189A9154B   BELINDA      BENITEZ                      TX     90008761890
7322274517B477   RHONDA       CHRISTENBURY                 NC     11068907451
73222A57655947   ALONDRA      RODRIGUEZ                    CA     90015120576
73222AA8372B87   VANESA       CORDOVA                      CO     90003890083
73223133372B87   VERONICA     LOREA                        CO     90011541333
7322341A555966   ROSA         INIGUEZ                      CA     90005084105
7322357A18B163   DERRY-LYNN   TUIA                         UT     31014995701
732238A4331432   ASHIA        MOORE                        MO     90010138043
7322418457B477   PEARLINE     BECKFORD                     NC     90014821845
73224413872B44   ALBERTO      ESCORCIA                     CO     90005484138
73224586A8B157   AMBER        FLORES                       UT     31028235860
7322539AA33698   JONATHON     WERNER                       NC     90013283900
732272A1472B29   RHONDA       PITTS                        CO     90005412014
7322757A18B163   DERRY-LYNN   TUIA                         UT     31014995701
7322762347B477   RAYMOND      FOX                          NC     11046526234
732279A4255939   FERMIN       TORRES                       CA     90009319042
73227A49A72B44   ALICIA       REYES                        CO     90010490490
7322845328B134   ROSALIE      PEDERSEN                     UT     31002624532
7322899A172441   DONNA        DONNELLY                     PA     51017539901
73228A69793739   ALEJANDRO    TAMAYAC                      OH     90015180697
7322963768593B   CASSANDRA    TRENARY                      KY     90014116376
7322966A78B32B   FELICIA      CAROTHERS                    SC     90004716607
7322975377B427   DEBORAH      WILLIAMS                     NC     90007497537
7322B552755939   ANTONIO      ZAPOTECO                     CA     90015395527
7322B59A471947   MALIK        WEBB                         CO     32098485904
7322B62165B384   KERRY        STICKLER                     OR     44507056216
7322B721871921   NADINE       ROBINSON                     CO     32088297218
7323148445B59B   JADE         SCHULTE                      NM     35017894844
73232442276B7B   ALFONSO      VASQUEZ                      CA     90009874422
73232A84355966   JOSEFINA     PEREZ                        CA     90012480843
7323312752B994   ALEX         BOADI                        CA     90008931275
73233675572B87   DENISE       GUTIERREZ                    CO     90012966755
73233919A71921   SVEN         SANTOS                       CO     90009629190
73233A53972B44   SARA         PACHECO                      CO     90012530539
7323426122B994   MARIA        HERNANDEZ                    CA     90013132612
7323517A272B44   DESIREE      PIGFORD                      CO     90011531702
7323524565B59B   RIGOBERTO    ARROYO                       NM     90007302456
73235636772B87   GUZMAN       OLUWAWEMIMO                  CO     90011266367
7323588A584322   IRIS         ORTEGA                       SC     90014758805
7323693985B347   ERICA        WEST                         OR     90008619398
7323695658593B   RABEL        LILLIAN                      KY     90007709565
73237A65171947   KEN          HOWER                        CO     32021360651
7323846128B142   HEATHER      MOLNAR                       UT     90012374612
7323866315B59B   MICHELLE     CORRAL                       NM     35081656631
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 767 of 2350


7323888395B59B   BRUCE        GURULE                       NM     90013218839
7323921487B661   LENORRIS     EVANS                        GA     90004152148
73239597772B44   NORMA        LOERA                        CO     90004925977
7323997249154B   ANDREA       SCHWEITZ                     TX     90014539724
7323B43728B134   CLINT        PERRY                        UT     90012314372
7323B638372B87   SELINA       SANCHEZ                      CO     90002296383
7323B68583168B   TAMMI        MCCAULLEY                    KS     22097976858
7323B75A68B163   CRAIG        VANZANTE                     UT     31037247506
7323B799541237   ERIC         SHEA                         PA     51088777995
7323B971672441   MATT         LOMBARDO                     PA     90011319716
7323BA62955966   CYNTHIA      CASEY                        CA     90007800629
7324151382B271   GINGER       ROYSTER                      DC     81086225138
73241A65755966   VERONICA     DIAZ                         CA     90000870657
73242542272B87   NICHOLAS     EGGERT                       CO     90013935422
7324272113168B   ARNULFO      RAMOS                        KS     90003897211
7324359312B271   CALVIN       WILDER                       DC     90012195931
73243781772B44   DIAMOND      WILLIAMS                     CO     33081297817
732453A9A61971   ANTONIO      PEREZ                        CA     46007253090
7324549745B347   JENNIFER     PICKNER                      OR     90012994974
73245789A41237   MONSOON      LEWIS                        PA     90014777890
7324737727B362   ANDREA       AYALA                        VA     90013743772
73247431372B44   GIOLBER      ASTUNAPA                     CO     90013934313
732474AA472B29   ELIZABET     SAUCEDO                      CO     90010824004
7324779AA9154B   VIANEY       SOLANO                       TX     90006177900
732482A3371921   STACIE       SKINNER                      CO     32065772033
732483A588B168   PAUL         HOLDAWAY                     UT     31063553058
7324881422B271   SHARON       GLASCOE                      DC     81011108142
7324887A38B142   SONIA        CASTILLO                     UT     90002108703
7324915768B163   STEPHANIE    TOOLSON                      UT     31098261576
73249642A72B42   JAMIE        HAYNES                       CO     90015046420
73249A61841227   DANIEL       STYSLINGER                   PA     90002010618
7324B222441237   CYNTHIA      CAVALLUCCI                   PA     51006402224
7324B326A55939   RICARDO      GORDILLO                     CA     90010153260
7324B553A5B225   TROY         MORRIS                       KY     68018405530
7324B75248B134   JESSICA      BROWNING                     UT     90012927524
73251173A93739   DIANE        COLEMAN                      OH     64520221730
7325126168B157   ROB          MICALOTAS                    UT     31070922616
73251816872B32   KERRY        LANETTE NOWE                 CO     33047708168
73251A3893168B   GUADALUPE    VALENZUELA                   KS     22083820389
73251A3895B59B   CHRIS        SUTPHIN                      NM     35078310389
7325317718B142   TRACIE       HUTCHINGS                    UT     31050811771
7325326285B59B   ADRIAN       ROMERO                       NM     90013922628
7325361465B169   JOSH         MALCOME                      AR     23098376146
7325432999154B   DOLORES      ACOSTA                       TX     90002163299
73254487A2B271   ASHLEY       COLEMAN                      DC     90011684870
7325453758B163   KENNY        BIRD                         UT     90006425375
7325468777B477   DAWN         SMITH                        NC     90013856877
7325485498B142   JOHNNY       SCHILLECI                    UT     31038028549
732548A9972B44   JULIE        ARCHULETTA                   CO     90012238099
7325517A655966   DIOSELINA    HERNANDEZ                    CA     48077931706
7325542738B168   MARIAH       ELLETT                       UT     90014334273
732557AA272441   DENNIS       STEVENS                      PA     90010347002
7325584159154B   YAHWEH       YAHWEH                       TX     90012588415
7325622A25B225   BEVERLY      RAMEY                        KY     68077192202
73256542672B29   DORA         MENDOZA MARTINEZ             CO     33001835426
73257419A8B134   DANIEL       SILVER                       UT     90012794190
7325792A18B142   KAREN        SMEDLEY                      UT     31000759201
7325811558B163   LISA         RUSHTON                      UT     90002271155
7325826A584322   HECTOR       CORRALES                     SC     90014732605
73258284A8B168   MARIA        SOLORZANO                    UT     90012382840
73258591A3B35B   JOSE LUIS    CRUZ GUEVARA                 CO     90007685910
7325877A131432   KEVANTE      BOYD                         MO     27517507701
7325881A971947   TONNIE       CHAVEZ                       CO     90010158109
73258832A71921   JOSE LUIS    SORIANO                      CO     90007838320
73259678272B87   MAYRA        VILLALOBOS                   CO     90012966782
7325B55A88B168   MISTY        TIDWELL                      UT     31083915508
7325B754472B44   WILLIAM      POUNCIL                      CO     33010787544
7325B763355939   GUADALUPE    SALDIVAR                     CA     90007237633
7325B76378B142   NATALIE      CALDER                       UT     90003217637
7325B772A72441   TIFFANY      SIMONI                       PA     90011917720
7326117986192B   AGELICA      RUIZ                         CA     90008161798
7326148217B386   TONY         HALMAN                       VA     90008474821
732621A8A72421   JAQUAYE      BROWN                        PA     90014711080
73262239A84322   SHAYNE       HUMPHREY                     SC     90013232390
7326236A731433   RACQUEL      MITCHELL                     MO     90011643607
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 768 of 2350


7326264AA8B32B   LASHANNA      ELLIOTTE                    SC     90008306400
73262839672B32   MARIANA       HERNANDEZ                   CO     33046658396
7326336619154B   IRENE         MARTINEZ                    TX     90008413661
7326353985B59B   TERESA        BROWN                       NM     90004015398
7326362A884322   LUCINA        MAYORGA                     SC     14561286208
7326374223B325   DELTA         FLEMING                     CO     90005347422
73263A74A72B44   TOM           GREEN                       CO     90010490740
7326429138B32B   MAYRA         DE LEON                     SC     11003122913
7326438837322B   PREPAID       CUSTOMER                    NJ     90015073883
7326468848B163   PATRICIA      CARPENTER                   UT     31008286884
7326499A85593B   SYBIL         WILLIAMS                    CA     90014109908
7326629348B163   TERESA        QUINONEZ                    UT     90008152934
7326656739154B   ANA           GURROLA                     TX     90005595673
73266885472B44   HETHER        UHDE                        CO     90002518854
7326697235B347   JAMES         WILSON                      OR     90012369723
7326716542B994   PEARL         MARTINEZ                    CA     45011281654
73267542A8B142   SOFIA         OCHOA                       UT     31022205420
7326757538B163   HIGINIO       OLIVER                      UT     31064845753
73267717A72B44   HARI          GAUTAM                      CO     90012257170
73267A2515B347   JASON         APLEY                       OR     44504750251
73267A6A855939   MARIA         IBARRA                      CA     90014150608
7326811A78B168   MANUEL        SANTILLAN                   UT     90012921107
7326816358B32B   OSIEL         REGALADO                    SC     90011551635
73268836372B87   TERESA        LONG                        CO     90014678363
73268A63A8593B   ROBERT        MCELFRESH                   KY     90002590630
7326911178593B   JENNIFER      LANDRUM                     KY     66015861117
73269A3A941247   HEATHER       NEBEL                       PA     51012250309
7326B52A17B661   BRITTANY      SALAZAR                     GA     15001695201
7326B62328B163   JOSE          VILLALOBOS                  UT     31015416232
7326B881272B87   DAVINA        MARTINEZ                    CO     90013968812
7326B931572B29   MARIA         DIAZ DE LEON                CO     33064879315
7327246367B661   TONYA         KNOX                        GA     15040384636
7327268452B232   MARSHA        MONTGOMERY                  DC     90012226845
73272836372B87   TERESA        LONG                        CO     90014678363
7327349195B347   THOMAS        BREZIL                      OR     90013324919
73273557A5B375   STACY         HEATH                       OR     44597265570
73273735572B29   ELEANE        RAMIREZ                     CO     90005407355
73273AA358593B   JOE           ROBINSON                    KY     90014810035
73274A68572B25   JEREMIAH      FJELLESTAD                  CO     90010840685
73275354172B29   BRANDON       HEGLAND                     CO     90009563541
73275491A72B27   GRAY          JOSHUA                      CO     90005884910
7327549467B477   SONYA         SMALL                       NC     11092994946
7327561819132B   FIDELIA       DELGADO                     KS     90001696181
7327593A872441   RACHAEL       CERTICH                     PA     90010209308
73275A7A471921   TERRY         CHAPPELL                    CO     90008010704
73276484472B87   JENNIFER      SCHIEL                      CO     33079194844
7327655892B271   CAITLYN       TAYLOR                      DC     90014335589
73276691272B32   TRACY         FOX                         CO     90013776912
73277389A33699   TASHI         CONNEY                      NC     90011323890
732774A458B134   RAFAEL        RAMIREZ                     UT     90007174045
732777AAA5B596   ANDREW        LUCERO                      NM     35056787000
7327784448B142   JEN           ANDREWS                     UT     90011038444
7327786612B994   MICHEAL       RABADAN                     CA     90014018661
73277A73472B29   MASON         LAWRENCE                    CO     90008170734
7327836653168B   CHRISTOPHER   SMITH                       KS     90002183665
7327872738B142   AARON         APPLEGATE                   UT     31083417273
73278919572B44   JEFFREY       MYERS                       CO     90006839195
732792AA331443   CHERYL        ONEAL                       MO     27561452003
7327955499154B   IRMA          ORTEGON                     TX     90002735549
73279759A8B168   NATE          PIERCE                      UT     90011617590
7327978358B134   ELOISA        BERNAL                      UT     90010437835
73279793A84322   ANGEL         SANCHEZ                     SC     90010327930
7327B52875B241   PAUL          SMITH                       KY     68094865287
7327B658131432   TASHA         BOYKINS                     MO     90013236581
7327B688371921   LAUREN        THOMAS                      CO     90006746883
7327B74695B151   PETER         GARVEY                      AR     90014337469
73281A24271921   NIKKI         ARMSTRONG                   CO     90010510242
732828A618B142   VICTOR        GUZMAN                      UT     90009448061
73283485772B44   CAMILLE       TRICHIE                     CO     90007044857
7328359A241253   JESSIE        PIAZZA                      PA     90007215902
7328467492B271   ERIC          FAULKNER                    DC     90004456749
732849A3272B87   ARTEMIO       IBARRA                      CO     33059489032
73284A84131432   KNOLAN        MARTZ                       MO     27514380841
7328567678B168   MARCIA        CHILD                       UT     31085736767
73286A68455966   ROBERT        SCHOENBACHLER               CA     48083450684
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 769 of 2350


7328738118B32B   MARK         DURHAM                       SC     11082913811
73287385A55947   GUILLERMO    ESQUEDA                      CA     49052943850
7328745A75B384   KIMBERLY     COOLIDGE                     OR     44513314507
732876A1672B29   EROKA        THURMAN                      CO     90003096016
7328833958B134   DIANA        ALVARADO                     UT     31058933395
73288634A9376B   CORY         HICKS                        OH     90009976340
7328876495B596   ELDA         GAMEZ                        NM     35038917649
7328918788B168   YELAMBAI     GONZALEZ                     UT     31095061878
7328957A98593B   JAMES        HARDEN                       KY     66089475709
732899A468B163   JASON        HAWKS                        UT     90014659046
73289A8A19154B   ROSA         RODRIQUEZ                    TX     75028430801
7328B26838B142   REBECCA      STOSICH                      UT     90008042683
7328B582A55939   KIMBERLY     GIBSON                       CA     90009805820
7328B72A272441   CHRISTOPHE   KNUTH                        PA     51096587202
7328B79A472479   EDGAR        SEGURA                       PA     90015147904
7328B879A72B29   JUAN         ASTORGA                      CO     90005478790
7328B8A479154B   ROCIO        RODRIGUEZ                    TX     90004538047
7329139557B477   ANSELMA      RANGEL                       NC     90013783955
732915AA733699   RUSSELL      SIMMONS                      NC     90013755007
73291996A41237   MICHELLE     ERNY                         PA     90013769960
7329216726192B   ELIZABETH    DIAZ                         CA     46041011672
732922A597B477   KIMESHA      SCOTT                        NC     90012842059
7329294A772421   ERICA        MORGENWECK                   PA     90012239407
7329299A89154B   ARTURO       HERNANDEZ                    TX     75068019908
732929A468B163   JASON        HAWKS                        UT     90014659046
73293196A8593B   ASHLEY       SCHARDINE                    KY     66006041960
73293487572B87   DULCE        SANTILLANO                   CO     90009994875
7329414A333699   ASHLEY       SPEASE                       NC     90014711403
73294262872B87   VICTORIA     LOPEZ                        CO     33031242628
7329446583B137   CARLA        NICHOLSON                    DC     90000574658
732945A3241237   KATELYNN     ANGEL                        PA     90014685032
73294635572B44   DAVID        MILLIGAN                     CO     33088466355
7329565185B347   BURNETTA     ZERMENO                      OR     44514456518
7329591648B142   PAUL         JENSEN                       UT     90011079164
73295931A41253   SHAWN        NGUYEN                       PA     51041279310
7329658A88B168   PRESTIGE     AUTO DETAIL                  UT     90010185808
7329663448B168   THOMAS       SPENCER                      UT     90014356344
73296794A41227   RICHARD      KIMBERLING                   PA     51041157940
73296845872B44   ERICK        MENDEZ                       CO     90003718458
73296AA2384322   JORGE        MEDINA                       SC     90013240023
7329781368593B   DAWN         SOLOMON                      KY     90009988136
73297891A93739   MELISSA      DANIEL                       OH     90012328910
7329816418593B   MICHAEL      BLAKE                        KY     90014171641
7329825A555947   BRANDT       CROSS                        CA     90013052505
7329874A431432   DESTINY      STRICKLAND                   MO     90013917404
732988A4455939   MARY         ALVAREZ                      CA     48093298044
73298A9A95B53B   MELISSA      SANCHEZ                      NM     90007420909
7329919A272441   PAULA        DELON                        PA     51096411902
7329946A572B32   SUSANA       SANCHEZ                      CO     33035494605
7329992498B168   GOVER        GUTIERREZ                    UT     31056739249
7329B27728B134   ROSA         LEYVA                        UT     90014372772
7329B277A8B157   CRISTINE     SALIK                        UT     90005142770
7329B373471947   CHRIS        AGER                         CO     90014093734
7329B73585B225   OSIRIS       OSORTO                       KY     68073527358
732B1131772441   CHRIS        ZEDAK                        PA     51038281317
732B1214255966   ALYSSA       MARTINEZ                     CA     90014452142
732B135A871921   DERRICK      GIBSON                       CO     90005233508
732B1516884322   MARIELA      OLGUIBN                      SC     14522545168
732B163287B356   GLORIA       TORRES                       VA     90001456328
732B18A3A9154B   COUNTS       ROBERT                       TX     90004118030
732B196754B551   BETHANY      ALLEN                        OK     21560249675
732B1A2368B134   LISA         DARLING                      UT     90014510236
732B2275355939   LIZZET       RODRIGUEZ                    CA     90009862753
732B231215B59B   TYREL        WILKINS                      NM     90011253121
732B23A8A6192B   FABIOLA      ROMAN                        CA     90007953080
732B242A672B29   GLORIA       GARCIA                       CO     33068184206
732B2699933699   ERICK        GONZALEZ RAMIREZ             NC     90013236999
732B2747A8B134   ZACHARY      WAYNE                        UT     90011077470
732B2924933698   IHEB         BOUYAHYA                     NC     90012399249
732B445425B596   JON          WATTERS                      NM     35096164542
732B471968B168   MICHAEL      DIAZ                         UT     90003767196
732B477317B477   NITA         HOLT                         NC     90010227731
732B479AA72B87   MARICELA     AVILA                        CO     33014227900
732B495478B134   VERONICA     VALDEZ                       UT     31022169547
732B4A1A45B334   CARLTON      FORD                         OR     90014720104
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 770 of 2350


732B5246193739   CORY         PARKER                       OH     90012142461
732B5277A8B142   ROBERTO      GOMEZ                        UT     90010712770
732B533AA5B59B   ZYUN         PALMERO                      NM     35043943300
732B5532655966   ITZEL        RODRIGUEZ                    CA     90004905326
732B5533993739   ANGELA       CRAYCRAST                    OH     90014965339
732B5582741237   CARLOS       AGUILERA                     PA     51062805827
732B5876871921   LANA         PETERSON                     CO     90010698768
732B5894372421   JOHN         RUBY                         PA     90013578943
732B6234372B44   JOSE         RODRIGUEZ                    CO     90012412343
732B625A28B142   ROBERT       REED                         UT     90010542502
732B79AA472B44   MIRNA        OVIEDO                       CO     90015169004
732B8123671947   HARRIS       TIMOTHY                      CO     90000271236
732B8273193739   AKIA         TALBOT                       OH     90012882731
732B8471155966   CELIA        CASTANEDA                    CA     90014714711
732B8689672421   KEVIN        BOLTON                       PA     90008066896
732B886A177361   ANNIE L      WILSON                       IL     20586988601
732B9238271921   JAN          TERRY                        CO     90004992382
732B9361472B32   JACQULINE    JOHNSON                      CO     33053143614
732B9483672B44   HENRY        GONZALES                     CO     90013404836
732B9529172479   LISA         LUCAS                        PA     51034075291
732B9661531433   DAMDARA      HATCHET                      MO     90014836615
732BB634472479   JAYMEE       BELTZ                        PA     90008616344
732BB75A431432   FONSHEILA    BOYD                         MO     90010607504
732BB775872421   JENNIFER     CECCONELLO                   PA     51037387758
732BB993672B93   DEBORAH      WEAVER                       CO     90002789936
732BBA4455B384   JOHN         BECTON                       OR     90004270445
73312AA6841253   RATONYA      MOOR                         PA     90009030068
73313233172B32   BENITO       GONZALEZ                     CO     33063612331
73313481A55966   STEPHANIE    VERA                         CA     90012794810
733135A2A72421   AUDRA        ODONNELL                     PA     51068675020
73313A9988B168   CHAVEZ       VILLOBALDO                   UT     90008530998
7331458268593B   MATTHEW      PREWITT                      KY     66004995826
7331466695B225   KIMBERLY     WOOTEN                       KY     90011216669
73314A7A88B142   SAUL         ALONSO                       UT     90013800708
73314AAA75B347   ANITA        SANTIAGO                     OR     90012800007
733153A718B163   GRISELDA     RODRIGUEZ                    UT     31075033071
733159A7455982   ERIK         NICKELL                      CA     48061179074
7331639AA33698   JONATHON     WERNER                       NC     90013283900
733163A8A71659   CECE         CHATMAN                      NY     90015053080
7331664538B142   CAMILLE      LEE                          UT     31078036453
733166A4971947   GUILLERMO    REZA                         CO     90012216049
73316A7A22B994   VANESSA      LAUREANO                     CA     90005840702
73317421A2B994   RANDY        VANNEST                      CA     90013644210
7331797275B596   BEN          MONTOYA                      NM     35014799727
7331965797B477   MALINDA      ANDERSON                     NC     90008536579
7331B231A8B157   EDGAR        FLORES                       UT     90000252310
7331B82195B347   DARREN       TAYLOR                       OR     44514458219
7331B85187B477   BONIFACIO    DE LEON                      NC     90008648518
7332131A68B163   ENRIQUE      CORONA                       UT     90013893106
73321624472B87   KYLE         WURM                         CO     33037066244
7332218239372B   SHERI        SNELL                        OH     90015161823
73322575A41227   AMBER        MCNEAL                       PA     90006145750
7332262577B477   ROBERTO      ROMERO                       NC     90015016257
7332273585B225   OSIRIS       OSORTO                       KY     68073527358
7332321789154B   RODOLFO      GOMEZ                        TX     75063532178
7332328A833698   TABITHA      LEE                          NC     12003432808
7332367225B938   JOSE         MARTINEZ                     WA     90015476722
733237A528B168   DAVID        HARRIS                       UT     90014367052
733237A8231433   SCHARMAINE   ROBINSON                     MO     90015187082
7332419528B168   JULIE        HENDERSON                    UT     90014841952
733251A933168B   SHANON       LOCKETT                      KS     90010551093
7332568862B271   JOSEPH       JENIFER                      MD     81001996886
7332629A15B225   ALICIA       TREJO                        KY     68025062901
7332639167B477   SUE          SAVIN                        NC     11012723916
73326A11657157   ERNESTO      BUESO                        VA     90012520116
7332782A89154B   JESUS        HERNANDEZ                    TX     90012688208
73327A7A29154B   JESUS        HERNANDEZ                    TX     90003910702
73328218A55991   FELIPE E     LOPEZ                        CA     90003182180
7332851758593B   ANTHONY      MOYNIHAN                     KY     90013755175
73328A72A93739   KANESHA      BRADLEY                      OH     64591150720
73329259172B87   ADRIAN       RODRIGUEZ                    CO     90009812591
73329752A9373B   ASHLEY       HALE                         OH     90009307520
73329A86485945   DELORIS      WATTS                        KY     67038630864
7332B2A2371921   RIKKI        SLATER                       CO     90012722023
7332B2A6355939   BERNARDINO   CASIANO                      CA     90014432063
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 771 of 2350


7332B829A41237   CARLA         LAUGHNER                    PA     51068108290
7332B889733698   MARION        JACKSON                     NC     90015248897
7332B8A357B359   ROBERT        DODD                        VA     90014478035
73331334A41237   YOSEMITE      SAM                         PA     90015133340
7333155A655939   GREG L        NORTON                      CA     48053035506
7333196415133B   TIFFANY       SCOTT                       OH     90008669641
7333377818B168   ADRIANA       SPIVA                       UT     31057117781
73333885A72B32   SILVERIO      PICOR                       CO     90011698850
73334139872B87   JENNIFER      VEITH                       CO     90000161398
7333493658B134   URIAH         PULLEY                      UT     90006609365
7333514A92B271   TYRELL        SINGLEY                     DC     90015171409
7333521528B142   JEREMY        PECK                        UT     31007782152
7333532A493739   GARY          SAVAGE                      OH     64542113204
733368A8272B29   ABNER         SANDERS                     CO     33095688082
73336953A71947   JONNI         PHILLIPS                    CO     32051619530
7333711523B35B   STERLING      MOORE                       CO     90012371152
7333771978B157   SHANNON       HAEGER                      UT     31006097197
7333788379154B   OFELIA        DOMIGUEZ                    TX     75015958837
7333789775B59B   CHRISTOPHER   SAAVEDRA                    NM     90014178977
73337A6978B134   LUZ           MARTINEZ                    UT     31001450697
73338297A71921   JERYL         ADAMS                       CO     32040922970
7333847495B596   ERVENN        ANDREW                      NM     90005594749
7333996968B142   KAY           JOHNSON                     UT     31011549696
7333998275B347   BRANDEN       HYNES                       OR     90014139827
7333B168833699   BRYAN         SMITH                       NC     90014591688
7333B552693739   CHRISTOPHE    MARTIN                      OH     90013135526
7333B5A5672B25   ANDREA        WAGNER                      CO     90015125056
7333B617272B87   DIANA         ORTIZ                       CO     90013936172
7333B966172B44   ESTEBAN       RODRIGUEZ                   CO     33030889661
7334114A733699   DONTE         PENN                        NC     90014511407
7334165915B347   SANDRA        PRICE                       OR     44501256591
73343466A72B29   ENAYJA        BROWN                       CO     90013274660
7334388195B596   LUIS          ORTEGA                      NM     90005738819
73343AAA333698   DURRELL       MATKINS                     NC     90014180003
7334529648B142   KADE          SHIRA                       UT     90013232964
7334614318B142   JOSE          ONATE                       UT     31087941431
73346296A2B271   FRANCISCO     CRUZ                        DC     90013922960
7334634955B59B   TASHA         HARRIS                      NM     90000863495
73346A43933698   KJELL         GRAHAM                      NC     90007450439
73347584572B29   JOEL          FERNQUIST                   CO     90014365845
733481A143168B   SARAH         WAGGONER                    KS     22004631014
733488A2984322   TYRON         HOLMES                      SC     14589878029
7334942A584322   JAMES         BROWN                       SC     90011304205
73349572A31432   WYLLIS        LENNON JR                   MO     27586155720
7334B52A272B44   JESUS         BENITEZ                     CO     33061085202
7334B888731433   NICOLE        SHEILDS                     MO     27546108887
7335168A157147   TIFFANY       COX                         VA     90007186801
733517AA55B347   RUKMIMI       SANYASI                     OR     90007937005
73352279572B32   VALERIE       VIGIL                       CO     90006972795
7335287538B142   ELIZABETH     MOMTERO                     UT     90011768753
73352881272B87   DAVINA        MARTINEZ                    CO     90013968812
73352A15472B44   GIDGET        MAES                        CO     90008630154
73353342A41237   ZHITAO        LIANG                       PA     90013233420
7335379458B134   MARRIA        JACKSON                     UT     90011077945
7335433958B134   DIANA         ALVARADO                    UT     31058933395
733544AA95B59B   JERIKA        SELPH                       NM     35005464009
73354761A8B168   JANELLE       RUSH                        UT     90005507610
73355283472B44   NICOLE        CALLBACK                    CO     90014752834
73355914872B32   INDERPAL      SINGH                       CO     90013849148
7335636487B477   EUGENIO       MARTINEZ                    NC     90014423648
7335686998B142   LAUREANO      ARELLANO                    UT     31046058699
7335716748B168   CANDICE       ALVARADO                    UT     90011621674
7335745957B477   SHAMEKA       BERRY                       NC     90012944595
7335797495B124   STEPHANIE     HUBBARD                     AR     90002929749
7335815128B157   KERI          MARSH                       UT     31067971512
7335838A131432   RACHEL        SHANNON                     MO     90009643801
7335941258B157   AMANDA        WHITNEY                     UT     90008074125
7335941A88B142   RAFAEL        BARREDA                     UT     31091694108
733595A392B271   SAWANDA       TONEY                       DC     90002785039
7335B494A8597B   PAMELA        LEWIS                       KY     67003864940
7335B663833699   IVY           PETERS                      NC     90012436638
73361482A2B994   LILLIAN       MALLORY                     CA     90012094820
7336175738B168   GENTRY        CHRISTIANSEN                UT     90004817573
7336193692B271   JOANN         GARNER                      DC     90014119369
73362462972B29   DAVID         MEDINA                      CO     90012604629
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 772 of 2350


733625A4755966   ROSANNE      PRIETO                       CA     90012795047
73362A37872479   GARY         DIGGS                        PA     51090190378
7336326362B271   ELISE        KAMGA                        DC     90015092636
7336348A772B32   FREDRICK     THOMPSON                     CO     90005584807
7336352AA55947   CALVIN       SAULS                        CA     90012645200
7336367A872B29   CRISTIAN     REYES                        CO     90012806708
7336381324B263   TERRELLE     MARION                       NE     90012698132
7336628968B157   ERICA        JIMENES                      UT     90005142896
7336676428593B   MANUEL       CRUZ                         KY     90013897642
7336719388B168   LILIA        IBARRA                       UT     31062381938
7336812418B32B   NATASHIA     DOUGLAS                      SC     90011591241
7336832667B661   MAYA         PALMER                       GA     15055933266
73368342A5B347   PAUL         DIETER                       OR     90014353420
7336937459712B   ERNESTO      AMBRIZ PICON                 OR     90011723745
733693A1872B29   DENISE       GREEN                        CO     33034013018
7336952589154B   NADIN/RUTH   MARTINEZ                     TX     75023225258
7336979285B384   PROSPER      HEZUMURYANO                  OR     90004147928
73369961A84355   KYLE         BRONSON                      SC     90012619610
73369AA4741253   SUSAN        GIVNER                       PA     90014190047
7336B13437B477   CECE         SLOAN                        NC     90014231343
7336BA8918B163   BRITTANY     COONS                        UT     31065100891
7337164595B59B   FELIX        RAMIREZ                      NM     90011676459
7337171495B347   CHRIS        GERMAN                       OR     90014317149
73371818A72B44   MICHAEL      VALENZUELA                   CO     90014928180
73371A7A361977   ERIKA        ALVAREZ                      CA     90008300703
7337297418B32B   KAREN        MOSS                         SC     11023399741
73373244672B29   CANDACE      PFEIFER                      CO     90009232446
7337346385B59B   SHANNON      BYERS                        NM     35085994638
7337397AA33699   DESIREE      RENDER                       NC     90007669700
73373A32231447   ANDREW       WELCH                        MO     27560500322
73373A87633699   DESIREE      RENDER                       NC     90014790876
73374544A57147   KEVIN        BARRON                       VA     90010285440
7337468184B588   BOBBY        CHAMBERS                     OK     90007666818
7337491848B163   ADAN         LOZANO                       UT     90000539184
73374A8425B55B   CYNTHIE      TOLEDO                       NM     90011680842
733751A8871921   JOSEPH       ANDERSON                     CO     32052191088
733751AA672B44   JORGE        MACIEL                       CO     90010491006
73375451191B2B   GINA         SADLER                       NC     90010654511
733754A7971947   ALFREDO      DIAZ-ORTIZ                   CO     90010754079
73375893772B29   RAUL         FLORES                       CO     33068518937
73375AA9284322   JAMES        BOGARD                       SC     90013420092
7337632877B661   FRANK        WILLIAMS                     GA     90006423287
7337712825B596   GABRIEL      MONTOYA                      NM     35090601282
73377A93372421   SALLY        SMICHNICK                    PA     51095110933
7337869747B661   DARLESHA     GOSHA                        GA     90006856974
733787A3672B87   YAJAIRA      CASTOR                       CO     90012967036
733787AAA71947   TERESA       HOBBS                        CO     90007977000
7337885A172441   DEBORAH      ROSSI                        PA     51076488501
7337921AA31684   TRAVIS       THOMPSON                     KS     90000112100
7337965818593B   JUANITA      WOODYARD                     KY     66054296581
7337968418B142   SHALYNN      HOGGAN                       UT     31067336841
73379835672B87   ERIKA        JANET GUZMAN                 CO     33088318356
7337B49722B994   VIVIANA      MENDOZA                      CA     90003164972
7337B653871947   VICTORIA     RICHARDS                     CO     90014916538
7337B696A71921   JHONNY       LOPEZ                        CO     32033476960
7337B79435593B   ANGELA       ALVAREZ                      CA     49008637943
733816A9772B29   STEVE        ROMERO                       CO     90013476097
73381A25A93739   JENNINGS     DANIELLE KAY                 OH     64560780250
73382381772B44   OSVALDO      PEREZ                        CO     90013513817
7338261178B163   TIFFANY      JACOBSON                     UT     31034556117
7338299578B157   BRETT        BARTON                       UT     90009709957
733834AA32B271   ELIDA        GARCIA                       DC     90011854003
7338391982B927   BUBBA        MCTEAR                       CA     90010559198
73383A69572441   CHRISTINE    DAVIS                        PA     90014770695
73384593672B44   SVEA         DELAPHINE                    CO     90012855936
733847A4972B87   MARY         CANCANON                     CO     90012967049
733856A557B477   CARLOS       RODRIGUEZ                    NC     90002666055
733857A1672B44   STEVEN       FIELDER                      CO     90014257016
7338582797B451   ALICIA       THOMPSON                     NC     90006948279
73386A25733699   JOAO         GONZALEZ                     NC     90014500257
733872A5A71921   KATRINA      TAYLOR                       CO     32096732050
733879A7633698   JASON        CRAIG                        NC     90011149076
7338816893367B   GAIL         NEWSOME                      NC     90007421689
7338821498593B   MARCOS       VERA                         KY     90015132149
7338881518B157   ROCIO        BUSTAMANTE                   UT     31031778151
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 773 of 2350


7338946592B227   ALVONETTE      GRIMES                     DC     81046674659
7338B14A571921   SANCHEZ        ELENA                      CO     32018581405
7338B652133698   GELASIA        BECERRA CASTRO             NC     90005506521
7338B812172B87   CHRIS          ROBINSON                   CO     33088948121
7338B826784322   MIGUEL ANGEL   AQUINO                     SC     90009848267
73391214872B29   DOMINIC        VIGIL                      CO     33077622148
73391439172B32   BRANDON        MARTINEZ                   CO     90013414391
7339216194B961   IRMA           ZAPATA-SONORA              TX     90007051619
733923A192B886   JARRET         HORN                       ID     42090013019
7339243948B168   ALEECE         NELSON                     UT     90004014394
7339252478593B   BEN            HUNDLEY                    KY     90007725247
7339255578B163   KARLA          VANEGAS                    UT     90011295557
73392AA3572B44   TYSON          MOYER                      CO     33055580035
73393938572B44   CASSANDRA      SANCHEZ                    CO     90013259385
733947A615B59B   DANIELLE       TRUJILLO                   NM     90010377061
73394948A84322   JAMES          MOODY                      SC     90012299480
7339551488B142   NADENE         JORDAN                     UT     31095175148
733965A3A72B87   YOLANDA        MARTINEZ                   CO     33096545030
73396787A2B271   GLADYS         ALSTON                     DC     90012977870
733972A989186B   FRANSCISCO     VELASQUEZ                  OK     90002402098
73397616A72B44   NANCY          CONTRERAS                  CO     90012816160
7339767722B271   MELVIN         ALSTON                     DC     90013816772
73397692A71921   JESSICA        CUEVAS                     CO     90007706920
7339772759154B   SUSANA         VILLANUEVA                 TX     75098907275
73398888572B87   LINDA          RAMIREZ                    CO     33006368885
73399815A5B59B   CHASTITY       MARTINEZ                   NM     90011838150
73399A3747B477   ZOITA          TERRAL                     NC     90013190374
73399A6348B163   MORGAN         ADEN                       UT     90014660634
7339B358672421   JOHN           DAVIS                      PA     90015093586
7339B711272421   BRENDA         CUNNINGHAM                 PA     51043777112
7339B774A72479   SAMUEL         HORNER                     PA     90013907740
7339B912633698   RICK           SMITH                      NC     90010469126
733B1249172B32   FELIPE         MEDINA                     CO     90012832491
733B134768593B   BRADLEY        VANCE                      KY     90014223476
733B1899541227   SANDI          PICKERING                  PA     90000728995
733B2232471947   CRYSTAL        DANDREA                    CO     32016382324
733B2535584322   WILLIS         THOMAS                     SC     90014805355
733B263A685843   DENNIS         TYNES                      CA     90005216306
733B2956255966   SANTA          VILLAGOMEZ                 CA     48014679562
733B2A4319154B   MARTHA         CHAPARRO                   TX     90012530431
733B318967B477   THERESA        LUCKY                      NC     11064581896
733B31A6633699   ROBERT         HARDISON                   NC     90014621066
733B325912B271   HAMZA          EL-HANNAOUI                VA     90013462591
733B3A28372B44   LYNN           WILSON                     CO     33055640283
733B432922B994   WENDY          VAUGHN                     CA     90013693292
733B4361772479   DENNIS         VACCARO                    PA     51000453617
733B4642155966   CAROLINA       MORENO                     CA     90011886421
733B4686433698   MECHELLE       BURTON                     NC     90004716864
733B4735A8B163   SHAWN          LEAVITT                    UT     31004827350
733B4929493739   KRISTA         BANKS                      OH     90011069294
733B5416372B29   ROGER          SMITH                      CO     33058144163
733B5513855939   MARIBEL        LOPEZ                      CA     48073825138
733B5541955966   SALVADOR       LLAMAS                     CA     90002355419
733B5653176B31   OLIVER         RAMIREZ                    CA     46064036531
733B57A448B142   VANESSA        HATTON                     UT     90007977044
733B5852433699   VANESSA        PRICE                      NC     90013728524
733B6467885945   JASON          GINTER                     KY     67012674678
733B669179154B   ALEJANDRA      VILLADO                    TX     90008646917
733B6715941227   COURTNEY       VAN HORN                   PA     90005157159
733B68A4172421   MICHAEL        BARSKITE                   PA     90013788041
733B725A555947   SARINA         KAISER                     CA     90014522505
733B733118B32B   TYLER          NAGLE                      SC     90009723311
733B739312B994   BERNARDO       QUEZADA                    CA     90010003931
733B7712872B44   JEFFREY        BEHR                       CO     33086307128
733B781548B157   JERRY          JACKSON                    UT     31082458154
733B7A47155947   YOLANDA        HERNANDEZ                  CA     49084350471
733B823569154B   BEVERLY        BARBER                     TX     75024252356
733B8278171921   GRETA          MCFARLIN                   CO     90011392781
733B866928B142   JADEN          BARNES                     UT     90015106692
733B8758531432   DIANN          LAMBERT                    MO     90012887585
733B9291755939   RUBEN          TORREZ                     CA     90012352917
733B9879972B87   JACQUELINE     MOON                       CO     90013968799
733B98AA284322   NATASHA        GAMBLE                     SC     90011658002
733BB45538B142   MANDY          NELSON                     UT     31072524553
733BB68A172B32   ALICIA         NIKLASON                   CO     33051456801
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 774 of 2350


733BB815991378   CALIXTO          SANDOVAL                 KS     90004988159
7341223A62B271   SEAN             MORNCE                   DC     90014822306
7341224723B381   LENEDRA          ANN                      CO     90011342472
73412579A8593B   CHARLES          GOINS                    KY     66030005790
734127A885B347   VALERIE          NELSON                   OR     90014857088
7341355144B583   ELAINE           SINGLETON                OK     90001565514
7341369272B271   SHARMAYNE        COOPER                   DC     81009086927
73414862A85945   DANIELLE         WALSH                    KY     67010668620
73415467572B87   LEROY            DAILY                    CO     33077704675
7341582A88B134   HEATHER          COLSON                   UT     90011078208
73415A7525138B   JASMINE          TUCKER                   OH     90001570752
73416499A72B44   GREGORY          RAMSEY                   CO     90013924990
73417421A8B142   MARIA            DELMAS                   UT     90014744210
73418181772B87   YOLANDA          TORRES                   CO     33081691817
73418A62755939   JOSE             GOMEZ                    CA     90015200627
7341922469154B   CARLOS           GOMEZ                    TX     75044142246
7341955997B661   ANTOINETTE       HOLLOWAY                 GA     90003005599
7341B17157B661   TARNESHA         THOMAS                   GA     90005191715
7341B2A188593B   TAMITSHA         WILLIAMS                 OH     90005302018
7341B56A255939   YESENIA          GARCIA                   CA     48015425602
7341B588571947   CHAD             KINSEY                   CO     90012075885
7341B86A72B271   FAVIAN           ANDRADES                 DC     90012268607
73421122A8B157   MATT             CHAPMAN                  UT     90006051220
73421181772B87   BALTAZAR         DE LOS SANTOS            CO     90006691817
7342154632B271   CAROLINA         GOMEZ                    DC     81016295463
7342182A531433   SABRINA          BROWN                    MO     90009718205
734235AAA8B168   VICENTE          JIMENEZ                  UT     90014375000
7342434748B168   CODIE            BROOKE                   UT     90014373474
73424793472B44   CHAZ             DOIEL                    CO     90009817934
7342586A19154B   LEROY            PACHECO                  TX     90012538601
73426322672B32   TAMMY            TINGLE                   CO     90006883226
7342652824B577   JOEY             EYLER                    OK     90011385282
7342676998B168   YESENIA          HERNANDEZ                UT     31039457699
7342733912B847   VICTOR           SOTO                     ID     90008343391
7342759A98B134   SERGIO           PRIETO                   UT     90008805909
7342799599154B   ROBERT           ZUBIA                    TX     75060769959
73429A4695B59B   ARTURO           CABRERA                  NM     90005020469
7342B144572B44   LEROY            CARRILLO                 CO     90011681445
7342B26977B477   CARLOS           HERNANDEZ                NC     90003272697
7342B674755982   GARY             OMEARA                   CA     90008056747
7342B719A5B384   CEFERINO         GONZALEZ                 OR     90013487190
7342B917255966   JESSICA          GARCIA                   CA     90004039172
7342B928472B87   JAVIER           OROCIO                   CO     33011959284
7342B98A691982   PRECIOUS         HOPKINS                  NC     90011749806
7342BA6848B157   MITCH            FLINT                    UT     90009710684
7343155672B271   BARBARA          CLEMMONS                 DC     90009785567
7343169999154B   ANGIE            DURAZO                   TX     75015476999
73431A15231433   KELLEY           MITCHELL                 MO     90008240152
7343216A255939   KASELYNN         CRUZ                     CA     90013341602
7343226A972B87   DIRK             THOMPSON                 CO     90009812609
73432A3537B386   BRYAN            CASTILLO                 VA     90011500353
7343341627B477   VIVIAN           WILLIAMS                 NC     11066594162
7343358785B59B   NICOLE           POWELL                   NM     90014305878
7343373A74B291   LATONYA          RICHARDSON ORDUNA        NE     90006257307
73433A87272B44   LORENZO          MORALEZ                  CO     90004500872
734352A395B347   STEVEN           MOLESWORTH               OR     90000652039
73435844972B29   DENNIS           BACA                     CO     90013488449
73435A76372B29   DENNIS           BACA                     CO     33085570763
734363A725B59B   MELISSA          SALINAS                  NM     35073703072
7343676628B163   DAVE             HART                     UT     90010387662
7343776337B477   WILBER           HERNANDEZ                NC     90013427633
7343816A584322   DOLONY           EAST                     SC     90008071605
7343838429154B   THOMAS           HORN                     TX     90014873842
73438389772B44   TOA              SAMATE                   CO     90013833897
7343844845B59B   ERNESTO          VAZQUEZ AVILA            NM     90000644484
734389A395B347   SYBIL            BERKLEY                  OR     90002479039
734389A588B168   MATTHEW          WARREN                   UT     90015109058
73438A5298B157   LISA             HARDMAN                  UT     90011580529
7343979A28B157   TAIKOSAMA        TUPOUMALOHI              UT     90004507902
73439A57771947   SANDOVAL         MARTINEZ                 CO     90003780577
73439A9A92B994   BRADLEY          COOK                     CA     90010780909
7343B176333699   TRANETTA         ROBERSTON                NC     90014801763
7343B474572B29   JESSICA          BETTINI                  CO     90012604745
7343B56288B168   AYLA             CHENEY                   UT     90014385628
7343B63995B384   MARIA VICTORIA   RUIZ LOPEZ               OR     90004286399
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 775 of 2350


7343B671855966   SILVIA        GOMEZ                       CA     90006906718
7343B92749154B   IVRY          CAVANESS-MORALES            TX     90006299274
7343BA6885B347   JOHN          MUREEN                      OR     90010180688
7344147788593B   CANDI         MCKINNEY                    KY     90012024778
7344321287B398   MARCIA        CONTRERAS                   VA     81016362128
73443323272B87   YVONNE        SALAS                       CO     33001293232
7344342758593B   SARHA         LEON                        OH     90004164275
7344489315B59B   PEDRO         JARAMILLO                   NM     35057168931
73444A26672421   JESSICA       THOMPSON                    PA     51041050266
73444A7A272B29   NICKALAS      CALDWELL                    CO     33053100702
73445759A8B168   NATE          PIERCE                      UT     90011617590
734459A1A72421   SHARON        CURRAN                      PA     90007979010
73445A97371921   BOBBIE        TORRES                      CO     32087700973
734462A6371947   JAMIE         LINDSEY                     CO     90012972063
73446567A33699   JARRIETT      MARTIN                      NC     90005535670
73446716A72B87   MARCIA        TAYLOR                      CO     90012967160
7344688115B59B   VALARIE       LOWERY-LABRUM               NM     35050918811
734471A782B994   TERESA        SOLIS                       CA     45079511078
7344725195B59B   LYNDA         FAZIO                       NM     35063442519
7344738255B921   LEVI          CARROLL                     ID     90004103825
7344768A651391   VANESSA       DEFFINGER                   OH     90007586806
73447A3538B157   JHOMA         NEUPANEY                    UT     90009730353
734485A132B271   AMYAH         MCCLAIN                     DC     90013045013
7344B155672479   JANICE        BABIAK                      PA     51034531556
7344B553672421   BRADLEY       RAE                         PA     90005585536
7344B564171921   JUANITA       RUIZ                        CO     90000415641
7344B57785B59B   SONYA         MARTINEZ                    NM     90010335778
7344B5A648B142   ELIZABETH     REID                        UT     31057085064
7344B613A55939   MIGUEL        MEZA                        CA     90012206130
7344B63285B596   AMANDA        TRUJILLO                    NM     35046876328
7344B85295B384   KEILANI       RICHARDS                    OR     90004668529
7344BA1127B372   EDUARDO       MARTINEZ                    VA     81057820112
7345123118B134   ELIZABETH     PINZON                      UT     31081262311
7345138255B921   LEVI          CARROLL                     ID     90004103825
73451692872B87   TAMU          SNOW                        CO     90006796928
7345171845B596   JUAN          SEDILLO                     NM     90003247184
73452273172B44   FELIX         BARRAGAN                    CO     90003272731
7345227558B142   KIMBERLI      DOXEY                       UT     31025362755
73452314572B29   JOEL          AKINS                       CO     90010153145
7345276658B157   MELANIE       FERRIN                      UT     90013067665
7345288945B59B   JOSEPH        BUCKLEY                     NM     35042648894
73452AA388B168   LUZ           HOYOS                       UT     31009330038
73453299972B44   DOMINICK      FENTON                      CO     90015102999
73453431A72B44   ISRAEL        BERTAUD                     CO     90015004310
7345344382B994   JAMES         KITTLE                      CA     90008854438
734535A539154B   MARIA         MONTES                      TX     75080105053
73454A58571921   MARIA ELENA   ALVAREZ-SANCHEZ             CO     90007710585
73454A78172B44   JEANETTE      OLIVA                       CO     33047140781
73455481A72B44   YVONNE        ENRIQUEZ                    CO     33022504810
734562A528B157   JORGE         VARGAS                      UT     90012202052
73456454A93767   CNYTHIA       PERREY                      OH     90005394540
7345677AA33699   ALPHONSO      GREEN                       NC     90007567700
7345678A82B271   SONYA         FURR                        DC     90012567808
7345717965B596   BRANDY        MOLINA                      NM     90004541796
73457274972B32   LORAINE       ORGE                        CO     33008682749
734573A6655966   SANDRA        GONZALEZ                    CA     90014483066
7345742782B994   FLOWER        LEE                         CA     90010734278
7345753515593B   LAWRENCE      NORTON                      CA     90014015351
7345819A893739   DARENE        BOLING                      OH     90003481908
734581A2371921   TRACI         CORY                        CO     90002251023
7345823363B35B   JUAN          ESPINOSA                    CO     90006122336
73458451172B29   VERONICA      MENDOZA                     CO     33072484511
73458611572B32   NICOLA        JOHNSON                     CO     90015326115
73458638A7B661   YAQUARA       MCCOY                       GA     90001026380
7345B629155939   JAZMIN        AVALOS                      CA     90011486291
7345B695433699   LATOYA        GAMBRELL                    NC     12071016954
73461144A8B134   SAIRA         FLORES                      UT     90012771440
73461889A2B994   MANUEL        MARTINEZ                    CA     90007398890
73461A4128B142   ROGER         SAUVAGEAU                   UT     90000720412
7346223A955939   MARIA         LOPEZ                       CA     48051772309
734623A888B168   SEAN          ANDERSON                    UT     90014393088
73462A71757157   CECILI        VELASQUEZ                   VA     90003170717
7346311482B271   EVON          MUSGROVE                    DC     81039771148
7346332978B142   GRANT         PETERSON                    UT     90013803297
7346415A972B32   DORA          CABRERA                     CO     90012191509
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 776 of 2350


734643A872B271   JACQUELINE    GRAY                        DC     90010513087
73464683A31433   CHERI         TAYLOR                      MO     90014836830
7346486753168B   MICHELLE      EHRLICH                     KS     22045398675
73465375272B32   SONIA         MARTINEZ                    CO     90012503752
7346594385B59B   JAIMIE        GRAJEDA                     NM     90013329438
734666A3A55966   ERIC          MELCHOR                     CA     90012796030
7346672218B163   MICKIE        LENGEL                      UT     31046947221
73466964272B29   HENRY         WAWOROENDENG                CO     33074729642
73466A2228B168   MARIA         RIZO DIAZ                   UT     31008590222
7346766758B134   CASSANDRA     GROW                        UT     90013266675
73467796272B44   ADALBERTO     SALAZAR                     CO     90014467962
73467815A8593B   RICARDO       PAREDES                     KY     90015528150
73467951172B32   CHAD          HICKS                       CO     33066319511
73467A6425B384   LYLA          CHRISTENSEN                 OR     90004340642
73467AA968B142   EULISES       ORTIZ                       UT     90009750096
734683A528B163   INGRID        FAALAVELARE                 UT     90012793052
73468A5188B134   CANDIS        STANLEY                     UT     31074420518
7346947AA5B59B   RICHARD       HERNANDEZ                   NM     35059064700
7346BA2A272B44   ELIZABETH     WALKER                      CO     33077460202
73471242172B2B   ADALBERTO     PARRA CORRAL                CO     33008352421
7347185798B163   JOSE LUIS     GOMEZ                       UT     90007128579
73473137772B87   GENA          SIMIEN                      CO     90011311377
734732A2A31432   SERRIA        SANDERS                     MO     90012292020
73473483A8B157   JAY           ANDERSEN                    UT     90005644830
73474A12772421   RODNEY        WALKER                      PA     90014460127
73476436672B44   FLOR          GUARDADO                    CO     90009554366
734769A2476B47   KEITH         BARTON                      CA     90007749024
73477495A72B29   JASIRE        CONNER                      CO     90011444950
7347764448B163   ELIZABETH     MARTINEZ                    UT     90011296444
73477796272B44   ADALBERTO     SALAZAR                     CO     90014467962
7347832A45B596   SONIA         VIDANA                      NM     35015343204
7347888412B271   LATRICE       SPENCER                     DC     90015178841
7347975175B225   FRANK         RIOS                        KY     90002617517
734799A898B134   MYRON         BENOIST                     UT     31030499089
7347B14219154B   VANESSA JAY   MORA                        TX     90012531421
7347B1A7171921   DONNA         ADRIDGE                     CO     90013651071
7347B447431432   KWANESE       BROWN                       MO     90014844474
7347B959772479   TIFFANIE      BLAIR                       PA     90013509597
734829A268B142   VINCE         CHATWIN                     UT     90011099026
7348396692B271   BRITTANY      MURRAY                      DC     81059269669
734839A1131432   TRAE          SPRATT                      MO     90013679011
73484AA9131433   BARBARA       JACKSON                     MO     27595970091
73485116A71947   LU            MONTOYA                     CO     32088211160
7348545945B596   ERIC          MARQUEZ ANCHONDO            NM     35035294594
734858A319154B   MARIA         GONZALEZ                    TX     75055118031
7348595A972B32   HINOJOSA      DESTINY                     CO     90010119509
73485977372B29   MARIA         DIAZ                        CO     33073899773
7348689958B134   EMILIO        QUINTANA                    UT     90007718995
7348756298B134   SOFIA         GIL                         UT     90015295629
734879A6272441   JENNIFER      REESE                       PA     90013889062
7348923867B477   TRACIE        WINECOFF                    NC     90014022386
7348931962B271   YONI          MARTINEZ                    DC     90002433196
7348947A772479   HALIE         DRDUL                       PA     90013564707
734895A3571947   DAVID         PEASE                       CO     90012865035
7348964357B449   JUDITH        WHITE                       NC     11062646435
7348975958B134   RUBEN         GUTIERREZ JR                UT     90011647595
7348981915B238   RAMONA        JUMPER                      KY     68077828191
7348994493168B   RODNEY        PIKE                        KS     90010559449
7348B322655966   LILLIANA      DIAS                        CA     90012203226
7348B33528B142   JAVIER        FERNANDEZ                   UT     90015323352
7348B36A45B347   MATT          CAMMON                      OR     44584833604
7348B45A157157   MARINA        VENTURA                     VA     81077194501
7348B4A9872B32   NICOLE        AYODEJI                     CO     90000824098
7348B78A78B163   FRED          STANDIFORD                  UT     31080267807
7348B888755947   JAMES         STEVEN KING JR.             CA     49000108887
734923A4363B27   VICTORIA      NICHOLSON                   IL     90012453043
7349281948B142   MANUEL        REYES                       UT     90008128194
734939A838B142   EMILY         HONE                        UT     90014839083
73493A47431432   KEVA          JAMES                       MO     90014610474
73494675A71921   KAITLIN       PROCTOR                     CO     90010986750
7349488259154B   JORGE         VARGAS                      TX     90014778825
73494A8A32B29B   SUZANNE       NACY                        VA     90011120803
7349578A69154B   ELIDE         OSORIO                      TX     75008447806
73495819A72B32   GRAVIEL       GARCIA                      CO     33009068190
7349651718B142   CLAUDIA       REYES                       UT     31067925171
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 777 of 2350


7349662A89154B   ELSA         CROYSDILL                    TX     90014106208
73496A61772479   KERRY        VANKIRK                      PA     90013720617
73497294172B44   MARIA        MURILLO                      CO     90003302941
7349734188B32B   DENNIS       MAYFIELD                     SC     11008923418
7349786682B958   JAVIER       ANGULO                       CA     90012798668
7349836768B168   BOB          MARTINEZ                     UT     90014393676
7349843562B994   CHRIS        CITIZEN                      CA     90013344356
7349997277B398   JARIN        PINEDA                       VA     90002079727
7349B352633698   CHRISTAN     GRAVES                       NC     90014173526
734B137455B347   SULAIMAN     ZAINEL                       OR     44552423745
734B1439155966   FRANKY       GONZALES                     CA     48011364391
734B1529793739   VINCENT      DIFLORA                      OH     64515305297
734B1994A2B236   SHARICA      BROWN                        DC     90002369940
734B263719712B   ISRAEL       DEL ANGEL                    OR     90009166371
734B312A68593B   BRIDGETTE    PERKINS                      KY     66087501206
734B366328B134   JUAN         CASTILLO                     UT     31067636632
734B3851551586   SERGIO       MOSQUERA                     IA     90012878515
734B423429154B   PAULINA      RUBIO                        TX     90009672342
734B454332B271   BRANDON      FIELDS                       DC     90013715433
734B4A59955941   MARCO        TOSCANO                      CA     90013030599
734B5362841237   JASON        DONNELLY                     PA     51007173628
734B5398572B87   ANGELO       PALOMINO                     CO     90013113985
734B6183272B44   MYRIAM       OCHA                         CO     33095841832
734B6515A55939   TINNA        PADILLA                      CA     90012705150
734B6A37371947   LAHOMA       MOSELEY                      CO     32074530373
734B7296A31432   MELISSA      BENNETT                      MO     90014712960
734B74A319154B   LILIANA      RAMIREZ                      TX     75033274031
734B859528B142   IRAN         MARCIAL                      UT     90015095952
734B878268B134   JASON        WOODLAND                     UT     31089707826
734B9582191563   ROBERTO      HERRERA                      TX     75017155821
734B9627372421   CARRIE       ROUPE                        PA     51098206273
734B96A8831684   BRIAN        HAINES                       KS     90004166088
734B9798355939   ROSARIO      GARCIA                       CA     90014847983
734B993472B994   KAREN        JANTZ                        CA     45027339347
734BB364271947   SCOTT        CLAY                         CO     32039653642
734BB6A1981678   DAVID        CHRISTOPHER                  MO     90004126019
734BB7A6672B87   ALBERTO      OROZCO                       CO     90012967066
735113A6741237   CHRISTINE    COLEMAN                      PA     90013323067
735118A9172B29   SHANNON      WASHINGTON                   CO     90010208091
7351221325B347   SHIVA        MARKANDEYA                   OR     90012072132
73512A31A85945   PAULA        SMITH                        KY     67057430310
7351329878B168   MICHEAL      CRISLIP                      UT     90012542987
73514962A55966   ESTELLA      RIVERA                       CA     48097899620
7351578AA72B32   GERMAN       MEZA                         CO     90011187800
7351659738B168   CHLOE        THOMPSON                     UT     90001455973
73516A85493739   ANTHONY      SCHWENDEMAN                  OH     90011120854
73516A9839154B   YAZMIN       CORDERO                      TX     90010790983
7351724A572421   JANET        LATKO                        PA     90006932405
7351817112B994   CECILIA      MARTINEZ                     CA     90013981711
7351862A18B142   JENNIFER     BOSSERMAN                    UT     31045536201
7351876687B477   KEYON        TORRENCE                     NC     11007767668
735195A9185945   MIKE         BLEVINS                      KY     67013585091
7351B519A61597   TONY         THURMAN                      TN     90015575190
7351B698333698   PARRIS       WALTERS                      NC     90012286983
7351B79743168B   VONNIE       VANDERMEER                   KS     22004467974
7351BA82884322   JOYCE        FIELDS                       SC     14574050828
7352161643B366   AMANDA       LEWIS                        CO     90001756164
7352199838B346   EMAYELY      PEREZ                        SC     90014949983
73522235272B32   JUAN         TORRES                       CO     33076302352
7352232755B59B   JENNIFER     POSTON                       NM     35091483275
73523283872B44   WALISSA      JOHN                         CO     90008712838
7352357472B994   DANHE        DANHE                        CA     90008825747
7352393815B347   NICHOLAS     HILEMAN                      OR     44574449381
7352416882B271   JERALD       ERBY                         DC     90009511688
7352431A231433   JAMES        FELTMANN                     MO     90013263102
7352436698B142   WILLIAM      ERICKSON                     UT     31068353669
7352454A99154B   EVELYN       SALAMANCA                    TX     90013225409
73524747172B44   CARMEN       HERNANDEZ                    CO     33012077471
735248A918B168   PHILIP       BOWLES                       UT     90005888091
735249A955B59B   MATHEW       MARTINEZ                     NM     90010409095
7352529815B59B   CHANTELLE    HINOJOSO                     NM     90013852981
73525332972B44   LARA         BRECHT                       CO     33063153329
7352594A29154B   ARNOLDO      GARCIA                       TX     75086739402
73525A93572B87   DAVID        MONTOYA                      CO     90014170935
73525A9752B994   BETTY        WOOD                         CA     90007610975
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 778 of 2350


7352629298593B   LINDA        BROZ                         KY     66012422929
7352631A372479   ROBERT       HOUGH                        PA     90010263103
73526747A72B44   RAUL         RODRIGUEZ                    CO     33016157470
7352687A191563   ALICIA       FOREMAN                      NM     75076308701
7352713785B347   NANI         MICHELL                      OR     90008821378
7352731447B477   SONYA        HERNANDEZ                    NC     90007733144
7352756512B994   TODD         FREEMAN                      CA     90009965651
73527565272B87   YANA         RUDOVA                       CO     90013935652
735276A325B59B   ANA          LOPEZ                        NM     90010156032
7352781469154B   JUAN         MARTINEZ                     TX     75050828146
7352789545B59B   COLLEEN      ELVIDGE                      NM     90014678954
73528426A71947   SARAH        CURTIS                       CO     90015104260
7352847738B157   GARBIELA     ZAMORANO                     UT     90009424773
73528841172B32   RAFAEL       FLORES                       CO     33049608411
7352925642B227   LUZ          PERALTA                      DC     81012782564
73529271A57157   JOSE         SARAVIA                      VA     81095652710
73529349272B21   ARELY        OLVERA                       CO     90012123492
7352977674B247   ROBERT       BARNETT                      NE     90003877767
7352986498B163   JESS         CHACON                       UT     90007578649
73529A36172479   MIKE         GAYDOS                       PA     90014810361
7352B293233698   HATTIE       GRAVES                       NC     90001472932
7352B371384322   JOSHUA       ONEAL                        SC     90014733713
735311A585B347   ANDREW       SALINAS GUERRA               OR     90011311058
73531441433B44   ENRIQUE      SICA                         OH     90015354414
7353178238B168   ASHLEY       ROWAN                        UT     90011627823
73531A4352B994   MUCIO        MARTINEZ                     CA     90013320435
7353222492B271   HELEN        RANDOLPH                     DC     81053852249
73532A34793739   ROBERT       DILLON                       OH     90014880347
735342A3372B29   LESLIE       WIGGS                        CO     90015182033
7353431898593B   KARLA        BATES                        KY     90013223189
73534385A72B32   HUGO         GARCIA                       CO     90013413850
7353455A25B38B   AURELIO      MELGAR                       OR     90003195502
7353472338B168   MARIA        MORENO                       UT     31036427233
73535941A5B384   MARTHA       SALGADO                      OR     44508309410
735364A9731443   LASHONNA     PARKER                       MO     27566874097
73536539A9154B   MARICELA     PADILLA                      TX     75053415390
73536552A72B44   IRIS         GONZALES                     CO     90003845520
7353827848B142   NOEL         COOK                         ID     31041442784
7353855135B347   FELISHA      JOHNSON                      OR     90011165513
7353858265B59B   ROBERT       ROMERO                       NM     90011955826
73538997672B29   BRANDON      GOODWIN                      CO     90013709976
7353941412B271   CHAIRA       CABRERA                      DC     90015274141
7353956735B384   SWAN         LEGGIN                       OR     90003395673
7353995685B225   SONIA        CRUZ                         KY     68029009568
7353B5A3133699   JOSEPH       DEWAYNE                      NC     90014535031
7353B71778B163   AMBER        GELINO                       UT     31082407177
7353B868171921   ALVINA       KEMPER                       CO     90008068681
7354112169154B   ESPERANZA    GUTIERREZ                    TX     75033081216
735415A4193739   HEATHER      LITTLEJOHN                   OH     64546045041
73541948972B44   GO           ROBERTS                      CO     90014099489
7354232685B347   MARC         COOKE                        OR     90014803268
73542567172B87   VELIA        PAYAN                        CO     90013935671
73542688272B44   LEILANI      PENDER                       CO     33037436882
7354297997B477   ANNIE        KIMBLE                       NC     11061149799
73542A2275B347   MARC         COOKE                        OR     90012310227
735436A554B291   HILARIO      NAJARRO                      NE     90004246055
73544184272B32   MARJORIE     DHOORE                       CO     33040261842
7354454867B661   ERICA        JONES                        GA     15083175486
7354533399154B   FRANCISCA    JACQUES                      TX     90009393339
7354581354B295   NATHAN       KRONEN                       NE     90008308135
735459A655B59B   ELIZABETH    PROA                         NM     90013469065
735462A6771921   AMANDA       RUSSO                        CO     32063362067
7354671745B59B   ANDREA       VALLEJOS                     NM     35097467174
7354694598B142   LUCIANE      BARROS                       UT     31055429459
73546991472B29   JASON        MENDENHALL                   CO     33067429914
7354736375B59B   RITO         DELGADO-SAENZ                NM     35065353637
7354752A455939   MONICA       ZARAGOZA                     CA     90005785204
7354782888B142   SUMMER       WILLIAMS                     UT     90014908288
73547891972B32   HOWARD       CAVE                         CO     33086298919
73547A1A876B54   BRAULIO      JUAREZ                       CA     46095060108
73547A42572479   LONDON       LOVATO                       PA     90014000425
73548155672B87   LUDMYLA      MARKOVICK                    CO     90011541556
73548A5188B32B   AMANDA       CARPENTER                    SC     11010000518
7354B46599154B   MARIA        URIETA                       TX     75069234659
7354BA5598B157   CHRISTINE    POWELL                       UT     90013090559
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 779 of 2350


7355122698593B   AMBER        ROGERS                       KY     90011852269
7355223365B347   JENNIFER     TILLER                       OR     90014612336
7355291274B291   AMANDA       BARNES                       NE     27012889127
7355296878B157   DIANE        FERGUSON                     UT     31033029687
7355367A18593B   TRACY        GOSNEY                       KY     90004806701
7355435812B271   BRIANA       BURLEY                       DC     90010513581
73554966A5B596   ALEXA        CASTILLO                     NM     90006449660
73554A69731433   SEAN         WARREN                       MO     90014270697
73555884A71921   AMANDA       VALDEZ                       CO     90003098840
7355588875B347   DANIEL       GREGORY                      OR     90014728887
73557A33593739   HOSEA        WOODS                        OH     64584110335
73557AA289154B   VERONICA     VALENCIA                     TX     90013190028
7355839537B43B   JINBO        LU                           NC     11059243953
735583A935B59B   NOHEMI       HERNANDEZ                    NM     90002763093
7355876262B271   CHARLES      THOMAS                       DC     81017617626
73558A88A72B29   KEN APRIL    TODD                         CO     33077200880
73559461372B44   MALISSA      HARTT                        CO     90014244613
7355961A55B55B   EVELYN       FRAYRE                       NM     90015026105
7355968A75B596   DANIEL       MICHEL                       NM     35022196807
73559A6457B661   SILVIA       ROBINSON                     GA     15040630645
7355B241672B44   SENA         ALAMI                        CO     90013862416
7355B24A472479   KERRI        MILLER-THOMAS                PA     51089822404
7355B26218B163   JUSTIN       HANSON                       UT     90012872621
7355B396171921   SADE         JENKINS                      CO     32001483961
7355B47537B35B   LUIS         ABARCA                       VA     90012094753
7355B598A9154B   JUAN         VILLA                        TX     75000065980
7355BAA9731432   KIMBERELY    MILLER                       MO     90013480097
7356177858B157   ROSA         GONZALEZ                     UT     90010697785
7356188525B59B   JOSE         PLATA ESPINOZA               NM     90007648852
7356221318B163   DONNA        HOYT                         UT     90014672131
73562371A93739   JESSICA      WHITTRIDGE                   OH     64543603710
73562641872B32   SAM          MOORMAN                      CO     33068436418
7356298887B477   RHONDA       SPRINGS                      NC     90012759888
73563585172B87   ALYAS        BUZARD                       CO     33082185851
73563A52161597   JAMES        BATTEN                       TN     90010100521
7356428565B596   BARBARA      MOLINA                       NM     35046052856
7356462222B994   ANNISSA      DELEON                       CA     90010726222
7356595717B477   MARIO        MELENDEZ                     NC     90006679571
7356599AA6192B   JAVIER       CASTANON                     CA     90015179900
73566698A72B87   JOLINE       MONTOYA                      CO     33022126980
73566845272B44   MARC         FREYETA                      CO     90009158452
73566A9545B347   EMILIO       MATHEWS                      OR     90011910954
7356779A472441   JANET        WINTERS                      PA     90012267904
73568125172B32   MIGUELL      RAMOS                        CO     90012701251
7356853759154B   MARIA        CAZARES                      TX     90014075375
735685AA48B168   NICK         LINARTE                      UT     90014205004
73569452572B32   KIMBERLY     MYATT                        CO     90008554525
7356952628B168   HOLLY        SYKES                        UT     90006615262
7356992898B134   HEATHER K    PEDERSEN                     UT     90006449289
7356B389933698   RODNEY L     KING                         NC     90015253899
7356B4A555B347   JOHN         ACTON                        OR     44554734055
7356B4A5672B29   FLOR         VILLALOBOS                   CO     90013234056
7356B52589154B   NADIN/RUTH   MARTINEZ                     TX     75023225258
7356B912A8B142   JESSICA      HERNANDEZ                    UT     90015019120
7356BA4247B661   CANDICE K    BROOKINS                     GA     15033560424
7356BA4448B168   NATALIE      PLAYER                       UT     90012090444
735712A1484322   LOGAN        BROWN                        SC     90014902014
7357147562B994   RICHARD      HUERTA                       CA     90014604756
73571598A9154B   JUAN         VILLA                        TX     75000065980
73571833272B87   SERGY        TRUNOV                       CO     90012988332
73571A1278B142   ANTHONY      CADY                         UT     90011960127
73572131372B87   DANIEL       AYALA                        CO     90013481313
7357368265B225   ANDREW       PALMER                       KY     68034526826
7357372888B142   IRENE        VARGAS                       UT     90013667288
7357372A36198B   VINCENT      BALIAN                       CA     46098237203
73573A38672B42   SHERRI       NESS                         CO     33052560386
7357413313B366   THERESA      VIGIL                        CO     33018081331
7357418889154B   JOHN         HINOJOS                      TX     90012531888
735743A8371921   LONE         TERRY                        CO     32042093083
7357481132B994   NOE          PAZ                          CA     45079028113
73574895172B87   ALICIA       CASTRO                       CO     33059108951
73575698672B44   FELICITY     OLSON                        CO     90001206986
7357586554B531   BEVERLY      OZMENT                       OK     90011328655
73576469A31432   NORMAN       ALSUP                        MO     90014584690
735764A3A5B59B   BIENVENIDO   OTERO-ORDONEZ                NM     90013074030
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 780 of 2350


73576A4698B142   LUISA              GOMEZ                  UT     90011520469
73577822A71921   ROBERT             GIROUX                 CO     32059778220
73577A8A372B29   SHARON             MAESTAS                CO     90011250803
7357825115B347   JENNIFER           HIBBERD                OR     44540222511
735784A5772B44   YVONNE             CAPORAL                CO     33091554057
7357892792B994   HAIDE              VALENCIA               CA     90014819279
73578998A9154B   LUCY               CORIA                  TX     90010739980
7357946259154B   RAMIREZ            EILEEN                 TX     90009364625
7357947133168B   MARCO              CARRILLO               KS     90010564713
7357967678B168   KAMISHA            QUAYSON                UT     90013356767
7357B165872441   CRAIG              WALKER                 PA     51015561658
7357B776372479   JILL               FULTON                 PA     51072597763
7357B841333699   BRONWYN            BOLSTON                NC     90013398413
7357B919572B44   JEFFREY            MYERS                  CO     90006839195
73581157872B87   MAEGAN             INGRAM                 CO     90012981578
7358116AA84322   MAURICIO           MORENO                 SC     90008291600
7358167228B142   KENNY              BUUS                   UT     90012846722
73581677872B32   MICHELLE           HARRIS                 CO     33023836778
73582318A5B336   SARAH              GADBERRY               OR     90015173180
73582361172B32   BRENDA             ABERNATHY              CO     90011733611
7358284987B661   DJUNA              HUFF                   GA     90009468498
73583218372B44   SONIA              SIERRA                 CO     90008992183
7358324A38B163   STEPHANIE DOREEN   BLOWERS                UT     90014672403
735832A4184343   HELEAN             MCGEE                  SC     90012842041
7358339182B271   ROBIN              BUTLER                 DC     90013493918
73583514372B29   MARIA              ESTRADA                CO     33005685143
7358392A931443   MICHAEL            BIRTON                 MO     27566969209
7358486378593B   RACHAEL            SETSER                 KY     90008938637
73584964772B32   ISELA              MENCHACA               CO     90013409647
7358516558593B   MICHELLE           BEGLEY                 KY     66066241655
7358592632B271   DAYONNA            BOWDEN                 VA     90013259263
7358599739154B   IRENE              ARMENDARIZ             TX     75038159973
73586418A55947   ULISES RENE        FLORES                 CA     90011064180
7358672A851331   MICHAEL            PRELL                  OH     66010907208
7358679853168B   WARREN             DAVIDSON               KS     90004347985
7358746238B168   JOHANA             GARCIA                 UT     90014774623
735874A648B157   LONA               SAUL                   UT     31039734064
73587567872B87   MARIA              RODRIGUEZ              CO     90013935678
7358772538B134   JOSE               RUBIO                  UT     90015117253
73587A94784322   AYLIM              CHAVIRA                SC     90013930947
7358821A67B477   SALVADOR           MARTINEZ               NC     90013492106
73588493172B87   JUAN               HERNANDEZ              CO     33056604931
7358862A65B59B   JOAN               ROMERO                 NM     35071806206
73588646872B29   HIRAM              RENTERIA               CO     33002046468
73588A67571921   KEVIN              MEEK                   CO     90013680675
7358912A741253   ASHLEY             WHITTLE                PA     90004761207
73589A6687B661   LATEASHA           CARTER                 GA     15014410668
73589A6A78B168   WILLIAM            TINCHER                UT     31093490607
7358B1A1972421   JOHNNY             WEAVERLING             PA     90013081019
7358B257855939   MARIA              JUAREZ                 CA     48081642578
7358B2A9831433   DIANE              MILES                  MO     90014372098
7358B5A8A5B59B   SEPERINA           DAWES                  NM     90013705080
7358B785555947   LUCIA              BARRIOS                CA     90013857855
7358BAA357B477   JIMENEZ            YOCELIN                NC     11065010035
735911AA855966   DAVID              LOPEZ                  CA     90010621008
735912A7A71921   ROSE               BROWN                  CO     32075792070
73592984972B44   AARON              DIVELBESS              CO     90012939849
7359329A184322   KEITH              BARBER                 SC     90014932901
73593376A72B87   MARTIN             RAZO                   CO     90015123760
7359372158B157   BONNIE             WORKMAN                UT     31091537215
73593855A55939   ELDA               LOPEZ                  CA     90014478550
7359422A185945   FRANCISCO          MENDEZ                 KY     90006742201
735942A979154B   JOSE               NAJERA                 TX     90012532097
73594424A33631   NAKKIA             SCRIVEN                NC     90002824240
735944A6971947   MARIA              GARCIA                 CO     90007814069
7359452A855966   ROBERTO            GUTIERREZ              CA     90012805208
7359533188B163   JESUS              LOPEZ                  UT     31054773318
7359549A572B44   JORGE              SILVA-ARAUJO           CO     33010644905
73595677772B32   IVONNEE            GUTIERREZ              CO     90012386777
7359789863B394   LAVERTA            MYERSON                CO     90012588986
7359799A572B44   ANA                RIVERA                 CO     90014619905
73597A23331433   JAMEL              DICKERSON              MO     90009530233
73598215A9154B   GUADALUPE          CARRILLO               TX     90012532150
73598A24472B44   ALBERT             SANDOVAL               CO     90013690244
73598A5998B157   GWEN               HUDGENS                UT     90002430599
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 781 of 2350


73598A88A72B29   KEN APRIL    TODD                         CO     33077200880
735996A8572B87   SERGIO       PARRA                        CO     90004946085
7359978487B477   JORGE        RODRIGUEZ                    NC     90014827848
735997A1772B29   ANA          RAMIREZ                      CO     33019367017
7359989185597B   CRYSTAL      SECREASE                     CA     90011178918
7359B116584322   JESSICA      CATANO                       SC     90013931165
7359B294872479   REBECCA      DANIELS                      PA     90008302948
7359B621871947   REGINA       JACOBO                       CO     32064986218
7359B64655B59B   ALAN         GARCIA                       NM     90012856465
7359B68A972B32   ALOYA        JOSE                         CO     90008796809
7359B92898B134   HEATHER K    PEDERSEN                     UT     90006449289
735B124142B271   KELLY        HARPER                       DC     90011692414
735B124475B347   KARINA       VARGAS                       OR     44560522447
735B15A2731433   BRANDON      CHRISTIAN                    MO     27517345027
735B17A232B994   CATRINA      FUENTES                      CA     45091447023
735B1A93155947   HECTOR       CORTEZ                       CA     90014350931
735B23A1884322   TOBIAS       ORUM                         SC     90014733018
735B2575455939   VERONICA     CABALLERO                    CA     48046465754
735B2628471921   JAIME        SIMEON                       CO     90012926284
735B262958B134   BRYAN        PRICE                        UT     31084486295
735B3181672B32   ALBERTO      CAMARENA                     CO     33081121816
735B3912493739   GLENDA       THURSTON                     OH     90009129124
735B399A38B157   OSCAR        SANCHEZ                      UT     90007739903
735B415A472B29   MARIA        DIAZ DE LEON                 CO     90005381504
735B461442B271   KIRBY        PERKINS                      DC     90011836144
735B4828931433   KRYSTINA     MILLS                        MO     90001868289
735B4957891521   JAVIER       ROBLES                       TX     75047479578
735B4993171921   SHANE        MELLARS                      CO     32087439931
735B526476B236   CURTIS       PRESLEY                      AZ     90014112647
735B58A1372421   AJ           DOLEKARI                     PA     90015448013
735B6269A55947   ALEJO        BARRAGAN                     CA     49082502690
735B626A372B29   MICHAEL      FARRELL                      CO     33031942603
735B6311671947   KELLY        NECOCHEA                     CO     90011043116
735B6519633624   DEBBIE       SANDERS                      NC     90014745196
735B6572641253   RAYLANE      MITCHELL                     PA     90014975726
735B682338593B   KHRIS        BRUGH                        KY     90006598233
735B6869272B32   JUAN         RODRIGUEZ                    CO     90002968692
735B6881784322   JAIME        MENDOZA                      SC     90010168817
735B6A2875B596   DIANE        LOWREY                       NM     35004070287
735B729878B168   MICHEAL      CRISLIP                      UT     90012542987
735B7531233699   EDWARD       WALKER                       NC     90011325312
735B7634141253   CONSYLVIA    SPAGNOLA                     PA     51005866341
735B7791972479   DOROTHY      SKAGGS                       PA     51028457919
735B7841172B87   COLLETT      SARAIYA                      CO     90014778411
735B794768B163   JOSE LUIS    LOPEZ                        UT     90014139476
735B812A97B477   KRYSTIN      SIMPSON                      NC     90013441209
735B817418B163   TASHA        KRANENDONK                   UT     90000611741
735B8535655939   MICHAEL      GARCIA                       CA     90015135356
735B8785341237   LANA         RANDALL                      PA     90012257853
735B946A634751   JERMAN       VALERIO                      NJ     90015044606
735B9847A7B359   YURIS        PORRAS PENA                  VA     81083318470
735B9A69A3168B   GUILLERMO    CRUZ                         KS     90010560690
735BB141855966   ROSALIE      SEARS                        CA     90012891418
735BB293631433   LAVONE       COWAN                        MO     27582092936
735BB36225B59B   BRANDY       JOJOLA                       NM     35008553622
735BB41328B32B   RAUL         VELAZQUEZ                    NC     11096624132
735BB525A55939   MARIO        SERRANO                      CA     90009935250
73611748372B29   DARREN       ALEXIS JR                    CO     90013757483
73611846A31432   CARNEIA      LEE                          MO     90011328460
7361231A372479   ROBERT       HOUGH                        PA     90010263103
7361236658B163   GALE         PETERS                       UT     90004953665
7361237618B168   ERIC         CAVALLERO                    UT     90011833761
7361254715B59B   DIANA        ROMERO                       NM     90012025471
73612857A84322   JOSUE        CASTRO                       SC     90003968570
73613845897B56   JUSTIN       ANDERSON                     CO     39057668458
7361413677B661   SHARNEL      KNUCKLES                     GA     90009741367
7361415A431432   FABRIENNE    RHODES                       MO     90015261504
7361421555138B   JACINTA      FRAZER                       OH     90008622155
73614321972B44   MANUEL       SANLUIS                      CO     90007233219
7361458765B347   HERIBERTA    JOAQUIN                      OR     90008275876
7361544452B271   LAKEISHA     BROWN                        DC     90011694445
736155A3872479   RACHEL       HINNEBUSCH                   PA     90014355038
736159A2A55947   GABRIEL      VARAJAS                      CA     90012419020
73615A8545B59B   THERESA      ITURRALDE                    NM     35089910854
7361621A684322   TINA         KMIECIK                      SC     14571022106
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 782 of 2350


736163A348B168   MARIA         MARQUEZ                     UT     90012213034
7361693A672B44   CHRIS         CORDOVA                     CO     33080179306
7361696487B661   KESHUNNA      JOHNSON                     GA     15016349648
736176A1672479   ANGELINA      JOHNSON                     PA     90008736016
73619233872B44   ALONDRA       CRUZ                        CO     90011682338
7361961568593B   DOROTHY       HOUSLEY                     KY     90015236156
736198A8157143   MARVIN        NAVARRO                     VA     81094988081
736199A5884322   ERICCA        FRIPP                       SC     90010489058
7361B51165B347   LALATTA       HERREJON                    OR     44505955116
7361B95355B59B   VALERIE       RODRIGUEZ                   NM     35015929535
7361B95992B994   JOHN          VIDAURE                     CA     45053069599
7361BA87577528   RINA          ZECENA AGUIRRE              NV     90003720875
736211A9472421   TAUNJA        WILLIAMSON                  PA     51008431094
7362147898B168   VIRGINIA      RICAPA                      UT     90014594789
73621A98493739   TIFFANY       HENSLEY                     OH     64541360984
736226A718B134   TIMELLE       GALVIN                      UT     90013096071
7362291639154B   MATHEW        GONZALES                    TX     90013149163
73622A19884322   DENOLIS       POLITE                      SC     90013960198
73622A6687B477   LANETTE       STALEY                      NC     90008520668
73623276272B29   JERRY         CISNEROS                    CO     90013092762
73624347472B44   ANTHONY       PNA                         CO     33096883474
73624994172B32   JARROD        MARRUJO                     CO     90014779941
7362618356192B   EDUARDO       DIAZ                        CA     90009431835
73626234A72B32   ALEXA         MANTAS                      CO     90015362340
736269A1A84322   AARON         GUERRERO                    SC     90014879010
7362798628B142   ARMANDO       BEDOLLA                     UT     90013829862
73627A8658B134   HAROLD        MARTINEZ                    UT     90014390865
7362818375B347   ASHLEY        SIMS                        OR     44516241837
736283A7455966   ZABY          CAMPBELL                    CA     90001003074
736293A7455966   ZABY          CAMPBELL                    CA     90001003074
7362942535B59B   RODOLFO       CAMACHO                     NM     90011634253
7362B13947B477   MONTAYVIA     SMITH                       NC     90014511394
7362B18279154B   CLAUDIA       DE LEON                     TX     90008141827
7362B288293739   ELIZABETH     NETHERTON                   OH     64526472882
7363124A555966   ERMA          TUMAMAIT                    CA     90014492405
7363127455B225   REMEY         THOMPSON                    KY     90002872745
7363132612B994   TONYA         WOOD                        CA     45052633261
736317A838B142   SIERRAH       HINOJOS                     UT     90010157083
736319AA37B661   REBECCA       COUCH                       GA     15007369003
73631AAAA71921   ELUVIA        ROMERO                      CO     90015200000
7363216A172B29   BALINDA       MARTINEZ                    CO     33072611601
7363321298B142   LADICA        THEONE                      UT     90008722129
7363342992B271   TARA          MCFADDEN                    DC     90013984299
7363386A155947   RANDY         HANNAH                      CA     49023728601
73634536572B44   JENNIFER      ALLEN                       CO     33028125365
73635774A72479   SAMUEL        HORNER                      PA     90013907740
73635798A8B134   SHANE         SHELTON                     UT     31076177980
7363588235B347   KIMBERLY      SERRANO                     OR     90007948823
7363588839154B   HUMBERTO      DE HARO                     TX     75087388883
73636414672B87   JOSE          NUNEZ                       CO     33098654146
7363654335B395   PANCHO        LOPEZ                       OR     90011785433
73636891A5B347   JEAN CARLOS   FINOL DELGADO               OR     90007948910
73637131A72B29   JESSICA       DAVIS                       CO     90005711310
7363714A384322   NATALICIO     VELAZQUEZ                   SC     90013941403
7363724A393739   LESLIE        MALONE                      OH     90003482403
736373A8972441   KIMBERLY      FLYNN                       PA     90009593089
7363773318B168   JOAQUIN       SALDIVIA                    UT     90014427331
7363895AA55966   MARTIN        MERCADO                     CA     90011789500
73638A47172441   AUTUMN        STUBBS                      PA     90013930471
7363968A58B142   ANETTE        ALLAN                       UT     90014616805
7363B257672441   SHANNON       SUHY                        PA     51094222576
7363B341585945   YULANDA       STEPHERD                    KY     90011533415
7363BA11584322   LISA          WIGAL                       SC     90013980115
7364126415B347   YIMANY        SANCHEZ                     OR     44598562641
73641942272B32   NICOLE        KING                        CO     33089839422
736419AA871947   LUCIA         FORREST                     CO     32079829008
73641A13672441   JOYCE         JACKSON                     PA     51004090136
736422A398B168   ZULEMA        CATRO                       UT     90014452039
736434A655B347   BONNIE        CALNEK                      OR     44523594065
7364451555B59B   IRMA          HERNANDEZ                   NM     90014305155
736445A6933698   ERIC          VANDERKUYL                  NC     90011325069
7364476A672479   JUSTIN        CALDWELL                    PA     51005757606
7364598628B142   ARMANDO       BEDOLLA                     UT     90013829862
7364652759154B   MICHAEL       POWELL                      TX     75079455275
73646A83372B29   LATOSHAKE     JONES                       CO     90000420833
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 783 of 2350


7364719A68B163   BARBARA        TIEDT                      UT     31004091906
7364886538B163   ENRIQUE        FLORES                     UT     90014688653
7364916927B661   MIRIAM         GORDILLO                   GA     90011851692
7364967687B477   CURTREISHA     CLARK                      NC     90011086768
7364974142B271   DENNIS         HAWKINS                    DC     90008857414
7364B28535B59B   FRANCESCA      TRANGO                     NM     35040032853
7364B362872B44   CARMEN         LAWRANCE                   CO     90013833628
7364B496755966   RAYMOND        HOLMES                     CA     90005484967
7364B643A72B29   IGINIA         RUBIO                      CO     33074816430
7364B786741227   BRIAN          CLAYTON                    PA     51028337867
7364B8A6931432   SHELBY         LAMBERT                    MO     90014528069
7364B99685B596   MANUEL         SANZ-GOMEZ                 NM     90006449968
73651487A72B87   TREIVA-MARIA   JOHNSON                    CO     90014514870
73651863172B32   BRENDA         RANDALL                    CO     90011438631
7365264698B163   TOMACITA       HERRERA                    UT     31073486469
736529A1984322   IVAN           MALDONADO                  SC     90014879019
736534A5251347   TODD           DAWSON                     OH     90001734052
7365536243B137   JAIME          MENJIVA                    VA     90001003624
7365622A48B157   DANIEL         SILVA                      UT     90009792204
7365681398B168   JERALDINE      CHILDS                     UT     90014428139
73656927A71921   HEATHER        SWOL                       CO     32017029270
7365732535B59B   JULIE          MARTINEZ                   NM     35063163253
7365732A82B35B   STEPHEN        ZENISKY                    CT     90014663208
736573A1A72B44   ALEJANDRA      GARCIA                     CO     33071933010
736573AA92B271   MARY           SCOTT                      DC     90009343009
73657441A9154B   DENISSE        ARZAGA                     TX     90012154410
736585A6A9154B   YANET          TAPIA                      TX     75008235060
7365885278B142   CLINT          WALKER                     UT     90012458527
7365913462B994   DELIA          TELLEZ                     CA     90012161346
73659593A5593B   MARIA          OROZCO                     CA     49064315930
736596A8A41237   CARI           MILLER                     PA     90015156080
7365988127B477   ERNESTO        PEREZ                      NC     90012468812
73659AA1593739   YVONNE         RUPERT                     OH     90014390015
7365B1A7372B29   ROBERT         ARMSTRONG                  CO     90001681073
7365B354271947   RAYMON         BUKOWSKI                   CO     90014413542
7365B417671947   CONNOR         LYNAM                      CO     90013044176
7365B81367B386   ANTHONY        MILLER                     VA     90001758136
7365BA9335B347   MICHELLE       ETIER                      OR     90013480933
7366147127B661   SIBERIAN       BARKER                     GA     90009874712
73661695272B83   GABRIELA       OSORIO                     CO     33084426952
7366185AA85833   MARIA          CERVANTES                  CA     90004988500
73661889972B87   LLUVIA         RANGEL                     CO     90006178899
736619AAA71921   HUGO           GONZALEZ                   CO     90007389000
73661AAA172B44   LIEUTENANT     BARNES                     CO     90010870001
7366219868B142   GARDNER        KELLY                      UT     90010271986
7366227A584322   EDDY           PRIMUS                     SC     90013952705
7366281398B168   JERALDINE      CHILDS                     UT     90014428139
73664461972B44   ANITA          LEON                       CO     90001464619
7366447952B994   JUAN           PEREZ                      CA     90012734795
7366461A172441   TYAHNA         ROSS                       PA     90015206101
73664A19884322   DENOLIS        POLITE                     SC     90013960198
73664A81A5B59B   BERTHA         BACA                       NM     90013210810
7366581259154B   SANTANA        OMAR                       TX     90010378125
7366586295B596   CYNTHIA        ROSE                       NM     35020848629
7366588998B168   TYLER          MONTAGUE                   UT     90008238899
73665A93672B44   REGINA         SMITH                      CO     90011110936
7366664868B134   ELIZABETH      BENADIK                    UT     90012706486
736667A328B134   HENRY          LUX                        UT     90012737032
736679A998B163   PATRICIA       RODRIGUEZ                  UT     90014689099
73667A22472B29   LEWIS          WALKER                     CO     33011320224
73667A38431433   DAREN          GRATTON                    MO     90013220384
73667A57972B32   MONIQUE        VIGIL                      CO     90013610579
736686A9A8B168   KIM            WELCH                      UT     31077726090
7366893A28B32B   GIOVANNI       RIVERA                     SC     90010439302
73668A35271947   ANNABELLE      ESPANOZA                   CO     32012290352
7366915115B59B   PAUL           TORRES                     NM     35034831511
7366924598B134   MIKLO          SANDOVAL                   UT     90014912459
7366967748593B   KAYLA          MULLINS                    KY     90010136774
736696A515B384   CECILY         MCROBBBIE                  OR     44583716051
7366B457172B32   ANA            SANTILLAN                  CO     33064294571
7366B624472441   DAVE           REVELANT                   PA     90012916244
7366B9A8133699   SHARON         BAISBON                    NC     90015149081
7367128855B59B   RUBEN          BUSTAMANYE                 NM     90013422885
7367138118B142   MARIA          AYALA                      UT     31050903811
73671539A71921   PAMELA         PALMER                     CO     90001585390
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 784 of 2350


7367155A38593B   TRACY         COURTNEY                    KY     90008755503
7367175477B477   SANDRA        ANDRSON                     NC     90011127547
73671948A72421   TABITHA       FREEMAN                     PA     90009109480
73672334572B29   TODD          TRUEBLOOD                   CO     90012093345
7367277459132B   MARCOT        ROBLES                      KS     90004577745
7367295589154B   JUAN MANUE    RAMIREZ                     TX     75062679558
7367312A672B44   DESIRAE       SALAZAR                     CO     90010491206
7367351A972B29   ADAM          GARCIA                      CO     33069735109
7367361A18B163   BRENT         NELSON                      UT     90011376101
7367416A972479   HOLLY         KEFFER                      PA     90013151609
7367425A655966   MORIANNA      MUNIC                       CA     48056872506
73674574872B87   EDUARDO       CASTANEDA                   CO     90013935748
7367464968B142   JANESSE       GODING                      UT     90002576496
7367469649712B   CHARLOTTE     CARRITHERS                  OR     44548976964
73674791A72B44   ROBERT        MONDRAGON                   CO     33017357910
7367544337B477   POWERFUL      EL                          NC     90012234433
7367558448B142   ROBERT        GEERTSEN                    UT     31024465844
73675A16777524   MARIA         BACKUS                      NV     90007150167
73675A6658B163   GREG          NEERINGS                    UT     90012430665
73676429A5B921   BABETTE       UNDERWOOD                   ID     41044444290
73676694272B87   BRANT         BAKER                       CO     33031266942
7367731838593B   CHRISTINA     CLARK                       KY     90013873183
7367749598B163   ANTHONY       HERNANDEZ                   UT     90009574959
73677586872B44   JORGE         MEJIA                       CO     90012275868
7367774A772B29   NICKIE        RYMER                       CO     90003577407
73677A84A8B163   MAE           CHADWICK                    UT     90011300840
7367853A48B142   SHIRLEY       ASHBY                       UT     31090565304
736785A6181298   TINA          MINTON                      KY     90012975061
7367866458B134   JOSLUA        MESSIMAN                    UT     90006186645
7367919185B596   JOSE          RIVAS-ROMAN                 NM     35065531918
7367933423168B   VINCENT       GARCIA                      KS     22064143342
7367953512B271   ANDREA        CEASAR                      DC     90014495351
73679A61372B44   ELIZABETH     GARCIA                      CO     90013000613
7367B226584322   AMBER         AUSTIN                      SC     90013772265
7367B468472479   JOSEPH        GAMBLE                      PA     51072284684
73681448872B32   IVAN          VALLEJO                     CO     90014924488
73682AA138B163   LISA          BENNETT                     UT     31072070013
7368322258B32B   CHAD          MARTENEY                    SC     90003402225
73684258A72479   LINDA         RIMSEK                      PA     90000342580
7368469367B477   CRISTINA      MIGUEL                      NC     11078426936
7368481498B163   SAUL          GUZMAN                      UT     90004118149
7368492337B398   ISRAEL        MONTANA                     VA     81002869233
73684A59441227   CAROL         PARKS                       PA     51074110594
73685323A71921   CHARNELL      COLE                        CO     90012903230
736856A675B354   JENNIFER      TRUMPS                      OR     90011676067
7368571A18B134   TERESA        NEKESI                      UT     90015277101
73686472572B29   NOHEMA        DE LA TORRE                 CO     33027644725
7368694347B477   ALEXANDER     LEMUS                       NC     90012129434
73686A6585B59B   MELANIE       CHAVEZ                      NM     35094770658
7368726A772B87   MUHAMMAD      ADUAN                       CO     90004852607
7368737955B59B   RAQUEL        RITZ                        NM     90014473795
7368761418B142   JORGE         VERGARA                     UT     31025206141
7368786329154B   FRANCES       MCCORD                      TX     90009318632
736878AA572B29   MARIA         ESTEVEZ                     CO     33091088005
7368794627B477   ANNA          BESS                        NC     90012179462
73688196972B87   MARIO EDGAR   CRUZ                        CO     90004501969
73688A3235B347   GRAY          BUSHNELL                    OR     90011990323
73689117872B44   LILY          TEFFER                      CO     90013211178
7368963994B531   MARCELLA      MORAN                       OK     90012466399
7368974835B347   ROBIN         CORRIGAN                    OR     44509647483
736899AA82B271   HAILU         METAFERIA                   DC     90013619008
7368B417671947   EMILY         ZELL                        CO     90014704176
7368BA41372421   APRIL         METZGER                     PA     90014410413
73691829A8B134   EDGAR EFREN   CAMOU GIL                   UT     90009718290
7369193A672B44   CHRIS         CORDOVA                     CO     33080179306
7369214925B354   MARIA G       RODRIGUEZ                   OR     90003491492
73693235A2B271   PAULINA       BAXTER                      DC     81087252350
736938A6772B44   MELINDA       STOCKBURGER                 CO     90014888067
73694287372B29   JULIE         MARRO                       CO     33059692873
7369476169154B   ALEXIS        RIVERA                      TX     90005217616
736954A7572421   BRIDGET       CAMAROTE                    PA     90011164075
73695579372B29   ELENA         CANO                        CO     33001465793
7369619A372441   SHAUNA        MARBURGER                   PA     51016031903
73696876872B87   SALVADOR      LOPEZ                       CO     90014678768
73696A21572479   STACY         DAVIS                       PA     51058200215
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 785 of 2350


73697122A5B596   DANIEL       SANCHEZ-ROBLES               NM     35014461220
7369733565B347   HEIDI        MARKS                        OR     90012513356
7369744A47B661   KIMBERLY     WETHERINGTON                 GA     90002484404
7369781915B557   HILLARY      JENNINGS                     NM     90011548191
73697A11972B32   JOSE         ROMAN                        CO     33089910119
7369888712B271   WAYNE        CROWE                        DC     81078788871
7369894618593B   JESSICA      BEDFORD                      KY     90013119461
73699131172B32   DURELL       WILLIAMS                     CO     90015171311
736991AA472421   HARVEY       NOEL                         PA     51017971004
736991AA78B134   JESSICA      PEARSON                      UT     90014741007
736996A9133699   KEVIN        HEATH                        NC     90012946091
73699A1675B596   WHITNEY      AARON                        NM     90006450167
7369B444372B29   KRYSTAL      DELGADO                      CO     90015124443
7369B7A3331433   ELIZABETH    ELLIS                        MO     27585207033
7369B98718B134   CAPRICE      NUTLEY                       UT     31090639871
736B131638B168   PABLO        DUARTE                       UT     90014463163
736B1373791587   MARICRUZ     CASTILLO                     TX     90014923737
736B13A959376B   JOSE         BANDA                        OH     90013793095
736B1484751378   TANESHA      ABERNATHY                    OH     90012654847
736B1727A8B163   CHHARLLI     CHEA                         UT     90003357270
736B1899A5B384   KAREN        ADAMS                        OR     90007458990
736B2129155939   BRENDA       DOMINGUEZ                    CA     90008581291
736B214912B271   TAVON        BROWN                        DC     90014581491
736B2491372421   JAMIE        LUNDELL                      PA     51035384913
736B2539733699   CRAIG        DIORIO                       NC     90001805397
736B269688B163   ELIZABETH    DIAZ                         UT     90000446968
736B2997555939   DANIEL       RIVERA                       CA     90012679975
736B311442B271   SHARON       HUDGENS                      DC     90007081144
736B3124672479   EDWARD       MICHAELS                     PA     90013531246
736B319245B347   SANTOS       CHAN                         OR     90003721924
736B3255684322   SANTO        MEDINA                       SC     90013932556
736B3824355966   RITA         VARGAS                       CA     48090968243
736B467194B221   HEATHER      BARTELS                      NE     90007486719
736B533668B142   ANGELICA     HERNANDEZ                    UT     90013353366
736B557A633698   LAURIE       MONTGOMERY                   NC     90014155706
736B564A333699   MANDY        ROBERTS                      NC     90000136403
736B5716631432   TERRELL      PEAL                         MO     90010997166
736B5742571947   RAYMOND      EL                           CO     90000527425
736B5A93A8B164   GERMAN       DE CASA                      UT     90011570930
736B6426231433   TANESHA      HOWARD                       MO     90011034262
736B6494672421   JEFFERI      WILLIAMS                     PA     51011124946
736B766413B351   RUDY         FERNANDEZ                    CO     90008126641
736B7A31171921   CESAR        AGUSTIN ZAMORA               CO     32003840311
736B9466331432   KENYA        WHITE                        MO     90013684663
736B9469272421   SHERRY       BURNSWORTH                   PA     90011084692
736B9717631432   KAYLA        WILMAS                       MO     90014887176
736B986A49154B   ADRIANA      CASTRO                       NM     90013238604
736BB368131443   STANLEY      RICHERSON                    MO     27539603681
736BB588161977   JOSE         URIAS                        CA     90009675881
736BB64448B142   NICK         PRICE                        UT     90006436444
736BB738871921   ROBERT       ARAGON                       CO     32098247388
736BB751A55966   TERRIL       HOLLOWAY                     CA     48055047510
736BB753241227   LISA         RUE                          PA     90002317532
736BB849541253   CINDY        HARTZ                        PA     51005178495
736BBA78741237   AUTUMN       BISHOP                       PA     90006240787
736BBA83931433   MICHAEL      SHELL                        MO     90014030839
7371133478593B   LACI         MEYER                        KY     66074983347
7371137748B134   TIFFANY      LLOYD                        UT     31002753774
73711A9262B271   SHADY        ZAYAT                        VA     90013630926
7371248668B134   WADE         WEBSTER                      UT     90014954866
737124A195B347   EMILIA       ALVARADO GARCIA              OR     44588484019
7371287968593B   KIM          SCHWING                      KY     90009848796
73713321572B32   ASHLEY       GARCIA                       CO     90013333215
7371395468B168   HYRUM        SKINNER                      UT     90013119546
737139A455B596   IGNACIO      SAAVERDRA                    NM     90006799045
73714155172B44   TROY         HOLDEN                       CO     33039301551
737144A963B153   RUDY         LOPEZ                        VA     90001764096
73714A35A2B271   CLARENCE     SHEPARD                      DC     90012280350
737156A598B163   JONH         SMITH                        UT     90012696059
73716132272B44   ESPERANZA    RUIZ                         CO     90013321322
737166A2672421   KIMBERLY     HUFFINE                      PA     90010196026
73716A32731684   JESSICA      PUENTES                      KS     90014550327
73716A77661597   DARIUS       HUGGINS                      TN     90015350776
7371739648593B   ROY          CHAPPELL                     KY     66037593964
73717398572B87   ANGELO       PALOMINO                     CO     90013113985
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 786 of 2350


7371769785B384   CLIFTON      SMITH                        OR     90004416978
7371792692B994   RUDY         CORONADO                     CA     90011109269
73717A81A5B59B   BERTHA       BACA                         NM     90013210810
7371842A893739   ROGER        THOMAS                       OH     90010914208
7371898423168B   SHARON       SCHABEL                      KS     22090739842
7371B249131433   JOE          SPENCER                      MO     90002522491
7371B2A1772B44   RAQUEL       PERES                        CO     33041862017
7371B646184322   DEBRA        HEYWARD                      SC     90010536461
7371B815372B87   RONALD       THOMAS                       CO     90014688153
7371B85A172441   DEBORAH      ROSSI                        PA     51076488501
7372123265B59B   DEGORY       PEOPLES                      NM     35087302326
7372284A27B477   LEOPOLDO     PONCE                        NC     11063988402
7372291A88B168   HERIBERTO    GONZALEZ                     UT     90014459108
7372322A95B59B   JOSEPH       TRUJEQUE                     NM     35028282209
7372331897B477   YESENIA      SERNA                        NC     90015143189
7372362A18B142   JENNIFER     BOSSERMAN                    UT     31045536201
7372364A255939   MARIA        NARANJO                      CA     48080256402
73724625672B87   NAVARRO      REYES                        CO     33071936256
737247A6755966   JEAN         DILLIHUT                     CA     90014567067
7372554A27B477   CHRISTINA    MCDONALD                     NC     90015105402
7372634585B375   THOMAS       WELCH                        OR     90013793458
7372649618B134   KEVIN        MARTINEZ                     UT     90014864961
7372691A88B168   HERIBERTO    GONZALEZ                     UT     90014459108
73726996472B44   LEONARDO     SALDIVAR                     CO     33034499964
7372739168B134   ANDREA       GIL                          UT     90015313916
7372756A49154B   AMBER        SEANEZ                       TX     90013915604
7372789A48B32B   KATHERINE    JONS                         SC     11010548904
7372794778B142   CHRISTIAN    BOJORQUEZ                    UT     90014839477
73728584572B87   JESSICA      CASHMORE                     CO     90013935845
73728927A84322   RAUL         RODRIGUEZ                    SC     90014199270
7372919A471921   REYDESEL     VARGAS                       CO     90015061904
7372927A85B38B   ALEX         RIVERA                       OR     90012212708
7372931815B59B   LINDA        MONTOYA                      NM     35006853181
73729A6949154B   RIVERA       ROSA                         TX     90005840694
7372B145A9154B   IVANA AIMI   GONZALEZ                     TX     75005021450
7372B43224B221   LINDSAY      FUEHRING                     NE     90001704322
7372B469472479   JACOB        DEMCHAK                      PA     51088664694
7372B653A8593B   SCOTTINA     MESSER                       KY     90014846530
7372B753691586   MICHAEL      GONZALES                     TX     90004247536
7372B878872B25   AMBER        LYNCH                        CO     90011578788
7372B972155939   NONE         NONE                         CA     90008939721
73731486A31433   STEPHANIE    HANKINS                      MO     90009354860
7373193422B26B   ROBIN        JENKINS                      DC     90010799342
73731992672B32   DONNA        HOLSTEIN                     CO     90013459926
73732798272B29   LEOBARDO     BRIONES                      CO     33007097982
7373279952B994   LARRY        CHAVEZ                       CA     45054427995
737335AA431432   KIEWAUNA     WILLIAMS                     MO     90011005004
73733798A2B271   ROBERT       BROWN                        DC     90003797980
7373386395B59B   REBECCA      RAMIREZ                      NM     90003968639
7373386A993767   PHILLIP      TRAMMEL                      OH     64588028609
73733924A41253   KINGSLEY     HOGAN                        PA     90012309240
7373394538B168   CRISOL       HERRERA                      UT     90011639453
7373425557B477   LATOYA       HART                         NC     90014842555
73734A2178B134   MARIA        DE LOURDES                   UT     31099360217
7373547A941253   TOMAS        SEDANO                       PA     51022204709
7373552528B168   BRITTANY     HEGERHORT                    UT     90004215252
7373634932B84B   RICHARD      BONDE                        ID     90014443493
7373674668B168   TANNER       MARROTT                      UT     90009127466
737367A6871921   CYNTHIA      TOWNSEND                     CO     90014467068
7373717A38B168   MARGARET     SULLIVAN                     UT     90015011703
7373789528B134   TONJALA      COOKE                        UT     90012728952
737381A5133698   RAS          SMITH                        NC     90014161051
7373829A941253   STEPHANIE    MILLER                       PA     90010802909
737383A9A72421   MARIO        CALOLUPO                     PA     90012623090
7373846A971947   BONNIE       ATKINSON                     CO     32080474609
7373872385B921   YILMA        BESHAH                       WA     90014877238
7373892A45B384   FRANSISCO    FELIX                        OR     90004419204
73738AA4271928   RON          CODY                         CO     32017220042
73739177772B87   AURDANAE     BUSH                         CO     90009181777
7373928449154B   FERNANDO     ESTRADA                      TX     90012532844
7373981138593B   SHARON       MIDKIFF                      KY     90001448113
7373B127493739   JIEMA        SHULAR                       OH     90013251274
7373B21578B168   JAYMZ        URE                          UT     90008242157
7373B27225B347   IONOA        ILON                         OR     90009852722
7373B491884322   RICHARD      BRADHAM                      SC     90006044918
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 787 of 2350


7373B67125B225   JACQUELIEN   CHAVEZ                       KY     68001106712
7374128A531433   THOMAS       DONELSON                     MO     90015492805
73741556976B47   JORGE        PAREDES                      CA     90001815569
7374158979154B   NYRA         VALLEE                       TX     75036205897
7374189758B163   REYNALDP     LANDA                        UT     90014698975
7374228A65B129   DERRICK      BEASLEY                      AR     90014562806
7374278937B477   RACHEL       MACK                         NC     90014567893
737427A5672421   CATHLEEN     WOOD                         PA     51025587056
73742944A55966   VICTORIA     LOPES                        CA     90011799440
7374346A12B994   JIMMY        BOCANEGRA                    CA     90013064601
7374365A672479   CODY         CARPENTER                    PA     90014316506
73743A6359154B   CESAR        GONZALEZ                     TX     90014240635
7374414235B384   ERIC         GRIGSBY                      OR     90007061423
7374445728B157   CORY         TUCKETT                      UT     90005144572
7374525845B225   AMANDA       MOORE                        KY     90000532584
7374548668B134   WADE         WEBSTER                      UT     90014954866
73745A4669154B   ISSAC        RODRIGUEZ                    TX     90010740466
73746A7818B168   CARLOS       LOPEZ                        UT     90014970781
737475A8272421   GEORGE       KROBELIC                     PA     90005025082
7374786388B134   WILL         HODGSON                      UT     90001088638
7374789918B163   BROOKE       FAWCETT                      UT     90014698991
73747A1747B358   MIGHTY       JAY                          VA     90011540174
73747A6918B142   DANIEL       WHETTEN                      UT     31059490691
73748778172B32   ANGEL        SIMONE                       CO     33090727781
73748AA148593B   PRISCILLA    SIMPPSON                     KY     90003860014
7374925A261985   PAUL         TIMLIN                       CA     90012962502
73749327672B87   GREGORIA     ARELLANO                     CO     90002713276
73749579572B29   JESSICA      FAZIO                        CO     33069385795
737497A155B347   JARROD       BAKER                        OR     90010627015
7374B115233698   JOE          FRAZIER                      NC     90010281152
7374B344272421   KERRIE       ANDERSON                     PA     51085573442
7374B664961998   SANDRA       MORFIN                       CA     90014166649
7374BA41A31433   PRINCESS     HERROD                       MO     90013710410
7375126338B157   KARINA       CARDENA                      UT     90010632633
7375149888B134   MAYRA        GONZALEZ                     UT     90012084988
7375171A95B225   JENNIFER     BENTLEY                      KY     68004897109
7375229342B994   DEBBIE       CHAVEZ                       CA     45083102934
7375237788B32B   ALVARO       GONZALEZ                     SC     11011743778
73752A12655966   LUCY         RAMIREZ                      CA     48017710126
737547A338593B   TERRI        GRAINGER                     KY     90004957033
73755167872B44   ADALBERTO    OLIVAS                       CO     33004411678
7375517588B157   MARK         HUGO                         UT     90010001758
7375536478B142   NATALIE      TANNER                       UT     31092643647
7375634127B477   TOMMY        MARTIN                       NC     90007463412
7375663522B271   JAY          BROADUS                      DC     90013716352
73756693772B44   VICTORIA     DECKER                       CO     90013486937
737568A338B168   CARLOS       CARINI                       UT     31090838033
7375782448B168   NATHAN       MOELLER                      UT     31032228244
7375788125B59B   CRYSTAL      ENRIQUEZ                     NM     35060328812
73757A8628B464   NATHAN       GORE                         VT     90015110862
73758169A31433   RICHARD      H MOUNCE                     MO     90012671690
73759249A93739   CAROLYN      CLOUSE                       OH     90000442490
7375931618593B   JESSICA      SARGENT                      KY     90012253161
7375B463872479   JUSTIN       HIXSON                       PA     90013414638
7375BA55A5B384   ANN          BRIMMERMAN                   OR     90005550550
7376117785B347   ROGER        CHUC                         OR     90011811778
73761992A72B87   ALEJANDRO    MARTINEZ                     CO     90015189920
7376234695B596   RICHARD      ULIBARRI                     NM     35061053469
7376254855B59B   MORIAH       SMITH                        NM     35015085485
7376281985B347   JOSE         CEJA                         OR     90015308198
73762A22771947   MATTHEW      ALLEN                        CO     32068090227
7376333A38B134   VALERIE      HIGGINBOTHAM                 UT     31066193303
73763463A8B168   TORREY       JENKINS                      UT     90014084630
7376413345B169   ANNETTE      HENDERSON                    AR     23039291334
7376445662B271   ELIZABETH    VASQUEZ                      DC     90001514566
7376487219154B   JESUS        MORALES                      TX     90012248721
737649A5672421   TONYA        JACKSON                      PA     90014739056
737655A3233699   BETTY        QUEEN                        NC     90011175032
7376576373B366   CHRISTOPHE   OKOLIE                       CO     33029637637
7376593324B539   TIFFANY      BREWER                       OK     90007529332
73766461A71921   FELIPE       MACHORRO MUNOZ               CO     90013304610
737664A4655939   LUIS         MEZA                         CA     48004694046
7376674345B347   LENNON       SMITH                        OR     90013467434
7376678539154B   MARIA        MANGUM                       TX     90013167853
7376721873168B   MICHELLE     TEAGUE                       KS     22018072187
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 788 of 2350


73767295572B32   PETRA         LAKE                        CO     33085082955
73768966572B29   HILDA         RODRIGUEZ                   CO     90000869665
7376959625B384   ROSANNA       MEEK                        OR     90004785962
7376961AA61964   NICOLE        BRENNAN                     CA     90010336100
7376963348B163   SONIA         DAVILA                      UT     31049236334
73769811A71947   DILLIAN       SANDER                      CO     90011618110
7376B215133698   BERNARD       DUCKLES                     NC     90006082151
7376B292384322   GRICELDA      GONZALEZ                    SC     90009042923
7376B433571921   RUBEN         MORENO                      CO     90011904335
7376B5A7397B22   MATTHEW       JOHNSON                     CO     90010455073
7376B657255947   CARLOS        RODRIGUEZ                   CA     49088596572
7376B666872421   PAIGE         SHOEMAKER                   PA     90012826668
7377126A83B38B   CHARMAIGNE    CLOUD                       CO     33060172608
7377134A972441   AISAN         FOSTER                      PA     90010933409
73771369372B29   MATTHEW       PAUL                        CO     90010353693
7377184718B168   JUAN          HERNANDEZ                   UT     31087568471
73772218272B87   TIFFANY       WILLIAMS                    CO     33054362182
7377224195B59B   CRYSTAL       SALAZAR                     NM     90009772419
737722AA38593B   ADAM          HARRISON                    KY     90013872003
73772366172B32   CHADWICK      SCHOLD                      CO     90009903661
73772979772B44   CHARIS        GARRETT                     CO     90012139797
73772AA3833698   SOLENCIA      GRAHAM                      NC     90010230038
7377393685B225   CORY          BOLTON                      KY     90000539368
7377434A87B35B   CHRISTOPHER   ESCOE                       VA     90006013408
73774566772B44   SIVIA         BANUELOS                    CO     90013475667
73774A4A671947   SWAYER        CORINNE                     CO     32063620406
7377514AA71947   NORMA         GUZMAN                      CO     90014471400
73775725A8B142   AMY           PETTIGREW                   UT     90010337250
7377595158B163   RICARDO       MUIRILLO PIMENT             UT     90012639515
7377621558B134   FABIOLA       TINOCO                      UT     31002362155
7377695249154B   CINDY         CRUZ                        TX     90014319524
7377738328B142   KIMBERLEE     HANSEN                      UT     31064643832
7377825A661999   MATHEW        CARRICK                     CA     46004382506
7377874788B163   GLADIS        GONZALEZ                    UT     90014707478
73778815A31433   MELISSA       HONSE                       MO     90013238150
7377927A172B44   AARON         ULIBARRI                    CO     33002052701
7377943619154B   ALFREDO       MARQUEZ                     TX     75023414361
73779483A5B59B   MIRELLA       MEZA                        NM     90015024830
737795A4655947   SALVADOR      DELGADO-TORRES              CA     90015335046
737795A6A7B661   LAPORTIA      HARRIS                      GA     15006285060
737796A3972B32   JOSE D        CLAVEL                      CO     90011556039
7377993A541237   JOHN          HANNAN                      PA     51008149305
7377B796272B87   GUADALUPE     RODRIGUEZ                   CO     90012967962
7377B826A55947   JIMMY         VALLEJO                     CA     90014768260
7377BA5838593B   CAROLE        REED-MAHONEY                KY     90013180583
7378151A472479   LAWRENCE      MARCHE                      PA     51034705104
73783166872B32   RODNEY        WILSON                      CO     33050501668
7378333858B142   CAMELLE       JONES                       UT     31063243385
73784598672B29   LAURIE        PADILLA                     CO     90009565986
73784928A93739   AMANDA        HAMILTON                    OH     64555739280
73784A49841253   BRIAN         BELCHER                     PA     90013870498
737857A148B168   CINDY         NAJARRO                     UT     90002017014
7378599638B134   ROGER         HOGGAN                      UT     90012929963
73785A2985B347   ROBERT        ANDREW                      OR     90014690298
73786469172B87   CASSANDRA     SOTO                        CO     90006104691
73787228572B29   NICOLE        WEST                        CO     33092292285
7378791A551391   LOVETTE       FREEMAN                     OH     90014959105
73787A4918B168   VILMA         CORTEZ                      UT     31005200491
73787AA5A91549   ADRIANA       ANGEL                       TX     90005110050
737884AA94B254   LUIS          TREJO                       NE     90013004009
7378938AA8593B   CHANDRA       HUFF                        KY     66093593800
73789714772B32   LUIS          VALENZUELA                  CO     90008687147
737898A1972B87   ISAIAH        JOHNSON                     CO     90012968019
73789AA3772441   EUGENIA       BOLTON                      PA     51098290037
7378B1A7741237   FRANK         WOOD                        PA     90014121077
7378B41252B248   AMRYL         PRINCE                      DC     81074154125
73791192A2B299   RICARDO       VILLARREAL                  DC     81013161920
73791598672B44   ABEL          DOMINGO-LOPEZ               CO     90007805986
7379217258B142   ALEESHA       DRAKE                       UT     90013841725
737921AA18B142   STACEY        YOUNG                       UT     90015161001
73792251972B44   ROBERT        CALDWELL                    CO     90013842519
7379258635B59B   FRANCISCO     GARCIA                      NM     90001245863
73792595272B87   ERNIE         GANDORA                     CO     90013935952
7379314458B168   DESIREE       NAU                         UT     90014851445
7379375935B28B   LEVOLIA       SMILEY                      KY     68010757593
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 789 of 2350


7379399788593B   AMANDA        HEMPHILL                    KY     90015529978
73793A3812B271   OSCAR         BAEZ                        DC     90013730381
73793A69541237   ELSPETH       VAUGHN                      PA     90014480695
73794332972B32   PERLA         GAXIOLA                     CO     90009113329
7379455585B596   KIMBERLY      EKSUND                      NM     35088085558
73794A32472B32   PERLA         GAXIOLA                     CO     90014770324
7379534219132B   KEVIN         POWER                       MO     29041323421
7379536A172B87   SUGAR         SUGAR                       CO     33041703601
7379569988B134   STEPHANIE     DONOHUE                     UT     90008946998
7379597652B994   JUAN          LOPEZ                       CA     45086009765
73795984A41237   GEORGETTE     SWISHER                     PA     51062279840
73795A67885843   JACQUELINE    NELSON                      CA     46015240678
7379737A771921   ERIKA         VALLADARES                  CO     90007603707
737987AA972B87   RODNEY        TRIPP                       CO     90003137009
73798A68281654   FORTINO       RIOS                        MO     90001070682
737995A4197121   CECILA        RIVERA                      OR     90009235041
73799629772B44   CHAD          MADRID                      CO     90012716297
7379967128B168   JACOB         ORBERG                      UT     90014466712
7379974788B163   GLADIS        GONZALEZ                    UT     90014707478
7379B125172B44   JAIME         STRICKLER                   CO     90012361251
7379B1AA355947   MARILYN       YOUNG                       CA     90013851003
7379B665A33698   CAROLETTE     CLANTON                     NC     12004796650
7379B795A93739   SELVIN        LOPEZ                       OH     64586837950
737B1577272B87   VERONICA      SALGADO                     CO     90013935772
737B1578884322   JISELA        CRUZ                        SC     90011805788
737B164177B661   SHEAD         BOOKER                      GA     15043126417
737B176A671947   MARTIN        ARAGON                      CO     90011937606
737B2244961924   RODOLFO       CARDENAS                    CA     90008062449
737B2318884322   CRECENSIO     MORALES                     SC     90007683188
737B2415441237   PHIL          MCLENNAN                    PA     90000444154
737B243448B163   JULY          MORALES                     UT     90011454344
737B256628B163   JOEY          MEMMOTT                     UT     90006495662
737B276415B225   ISOLINA       OSORTO                      KY     68073857641
737B27A8833698   JESSICA       DUNLAP                      NC     90014157088
737B3131372421   MARK          GRIFFIE                     PA     51090481313
737B336822B994   BRIANA        SLATON                      CA     90014523682
737B3483471947   JOSE CARLOS   SOLIS SOSA                  CO     90013654834
737B3623371921   ROBERT        TORRES                      CO     90012846233
737B429A38B168   BRIAN         PENDLETON                   UT     31013572903
737B4655372B29   CHRISTOPHER   FRESON                      CO     90012616553
737B4943A71921   BETHANY       CORPUZ                      CO     90012309430
737B579A79154B   MARIA         HERNANDEZ                   TX     75079467907
737B5966284322   CARLOS        MORALES                     SC     90011989662
737B5A16572B32   ALEJANDRO     CORDERO HERNANDEZ           CO     90012710165
737B5AA3755966   JASMINE       TRUJILLO                    CA     90010260037
737B6285584322   DANIEL        HERNANDEZ                   SC     90013992855
737B631435B169   ROY           JONES                       AR     23057173143
737B6465972B44   KEBRA         MILLER                      CO     90014424659
737B6695172421   STEPHEN       HICKS                       PA     51025596951
737B69A4841227   KRYSTLE       PETTINATO                   PA     51029099048
737B745163168B   JENNIFER      CATRON                      KS     22091584516
737B7538171947   COLLEEN       BJORK                       CO     90014515381
737B7548271947   KASSIOUS      LOVE                        CO     90012865482
737B8193372B87   LEMMIO        TOWNSELL                    CO     90013811933
737B8299331432   GARY          KIRCHNER                    MO     27588452993
737B8491741227   WESTLEY       ASTON                       PA     51094954917
737B857A584322   HELENA        YANEZ                       SC     90014175705
737B8A96172B44   LOURDES       GONZALEZ                    CO     33091250961
737B9513757157   JUAN          NAJERA                      VA     90006825137
737B994387B477   KEVIN         KELLY                       NC     90002909438
737B9975131433   DIANE         HARDEN                      MO     27515789751
737B9A17133698   RENETA        MCNEIL                      NC     90011900171
737BB137A31443   MARK          BUNCH                       MO     27568741370
737BB18618B142   DELYNN        HANSEN                      UT     31054511861
737BB196272441   BRUCE         SUTTON                      PA     51006201962
737BB41825B326   CARL          COFFEY                      OR     44589604182
737BB59265B938   OSCAR         GUERRA                      WA     90015375926
737BB75195B59B   LETICIA       MUNIZ                       NM     35072977519
737BBAA848593B   CONNIE        FETTERS                     KY     66001660084
7381112182B242   JAMES         MORRIS                      DC     90012611218
7381114942B271   MICHELLE      VARNER                      DC     90008631494
7381137738B142   GREG          CHURCH                      UT     90009983773
73811444A57157   MAUD          SILINDANE                   VA     90007274440
73812464772B87   ALEJANDRA     SILVA                       CO     90014904647
7381279285B59B   ANDREA        OROZCO                      NM     90009977928
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 790 of 2350


73813127A3B343   AMBER        MULLENAX                     CO     90013231270
738131A528B163   TALISHIA     WILLIAMS                     UT     90011471052
738138AA755939   BERTHA       GALVAN                       CA     90014888007
73814111A31684   SALVADOR     PUENTES                      KS     22014311110
7381411255B347   GILBERTO     LOPEZ                        OR     44516401125
73814A24871921   CARLA        GROVE                        CO     32000750248
7381569159154B   JULIO        CARRANZA                     TX     90004946915
7381576A77B48B   SHAYLA       JENKINS                      NC     90004207607
73816289A33698   HERBERT      GAINEY                       NC     90014402890
7381676A98B163   BRANDY       BUNNEL                       UT     90014707609
7381689A78593B   REBECCA      BLACKBURN                    KY     90013348907
73816A9417B661   SHEENA       INGRAM                       GA     15012400941
73816AA3355947   MARIA        KARACHA                      CA     90011540033
73817866A55947   BETTY        ESCALA                       CA     90012358660
7381792275B596   RACHEL       BACA                         NM     35096739227
73817A22241237   NANCY        EVANGELIST                   PA     90010150222
73817A27372B87   ANABOLENA    INZUNZA                      CO     90009930273
738184A8641253   MONFQUE      PAYNE                        PA     90013844086
7381969A58B134   JONATHAN     WILSON                       UT     31081236905
73819839A41237   JEANNETTE    DAWSON                       PA     90007258390
73819A43A41253   JAMES        ANGER                        PA     90012610430
7381B223171947   KALEB        ALLEN                        CO     90011312231
7381B3A937242B   DANIEL       PREMRO                       PA     90001173093
7381B52877B359   ELGAR        BOQUIN RIOS                  VA     81055615287
7381B883172B87   HERMINIO     DELGADO                      CO     33045368831
7381B995855966   GLENDA       ORTIZ                        CA     90014579958
7381BAAA772B44   PAYGO        IVR ACTIVATION               CO     90014620007
738212A238B142   JESSICA      GOURDIN                      UT     90011192023
7382149A731433   DEJA         WILLIAMS                     MO     90011644907
73822714A84322   DANIEL       MESSA                        SC     90014927140
73823197A71921   ADAM         NEWMAN                       CO     90010211970
7382322892B271   SHAKIA       LYLES                        DC     90012022289
7382327728B134   ANGELA       LITZ                         UT     90002142772
738232A495B347   MATTHEW      HASBROUCK                    OR     90011322049
7382357847B477   NAYJA        JOHNSON                      NC     90001375784
7382382A23B366   SHANTERA     SANDERS                      CO     90001128202
73823A17833698   SAMBATH      LAIM                         NC     12014210178
73824952472B32   DANNY        MEDINA                       CO     90013559524
7382497A62B271   KENNITH      ALFARO                       DC     90014259706
73824A6348593B   JOICE        HUNGWE                       KY     90006230634
73825751272B44   ANGELES      RAMIREZ                      CO     33009407512
73826579A72B87   DINA         HERNANDEZ                    CO     90000635790
7382674AA72B29   MARIA        SOTO BUENROSTRO              CO     90009797400
7382683548B134   NICOLE       KELLY                        UT     31034608354
7382694898B163   VAKE         MAAMALOA                     UT     90011359489
73826A14571921   SABRINA      BONNER                       CO     32072160145
73827558A31433   KARLA        HODGES                       MO     27515445580
7382774A341237   CARA         WINTERHALTER                 PA     51042027403
73828121A8B168   STEVE        JONES                        UT     31007871210
738281A128593B   STACEY       BROADWAY                     KY     90013981012
73828842A55966   JOSEPH       BAZE                         CA     90011808420
73829761872B87   MIKE         JONES                        CO     90008817618
7382983538B163   ANDREW       HAUFF                        UT     90014388353
7382B388172421   STEVEN       BUMBARGER                    PA     90011603881
7382B455271921   JOSH         LIFA                         CO     90014704552
7382B55A85136B   MICHAEL      DUFFEY                       OH     90001755508
7382B777155939   ALYSHA       HERNANDEZ                    CA     90014697771
7382BA4973168B   TOMMY        GAINES                       KS     22003260497
7383141682B271   ALEXIS       CHANEL                       VA     90006604168
7383169448B168   KALEINANI    IEREMIA                      UT     90004266944
73831749572B29   ALIBERDO     GREIGO                       CO     90012887495
7383176687B477   KEISHA       MCCORMICK                    NC     90011357668
7383198A672479   KAREN        MAPLE                        PA     90013959806
738319A888B134   JANET        MEIER                        UT     31085659088
738322A792B994   BAKER        AMRANI                       CA     90013762079
73832716572B32   COREY        CLIFF                        CO     90013897165
738328A812B271   MAGDALENA    FLORA                        DC     81045218081
73832A28255939   CARLOS       DEMANOS                      CA     48089790282
73833514A71921   BRITTANIE    WHELAN                       CO     32009525140
7383363997B477   LINDSAY      MORRIS                       NC     11051826399
738339A975B384   DAVID        STEPHENS                     OR     90007459097
73833A5952B994   PANG         LEE                          CA     90010740595
73834319372B32   LLUVIA       GUILLEN                      CO     90009453193
73834485A2B242   B            GLIZZY                       DC     90014014850
73834491172B32   JOSE         TEQUILIQUIHUA                CO     90013224911
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 791 of 2350


738354A588B163   LAVINA             ONEAL                  UT     90011304058
7383597328593B   BASS               TASHA                  KY     90007969732
7383656358B142   DALLAS             SOBOTKA                UT     90002125635
738366A3871921   TAWNNIE            KNOWLES-BISHOP         CO     90013866038
738368AA98B142   GARY               JORDISON               UT     90015508009
7383741618B168   CELINA             CALVILLO               UT     31073624161
73837AA9872441   JEAN               WORTHY                 PA     90014600098
73838514A8593B   GABRIEL            CHAY                   KY     66061835140
73839143A8B142   ANALIA             GALARZA                UT     31016761430
738393A1433698   PEDRO              HERNANDEZ              NC     90014163014
7383951858B157   KRISTEN            JORGISON               UT     31095495185
7383952878B168   GUILLERMO          SILVA                  UT     31091365287
7383954287B661   TERMARA            BAILEY                 GA     15048915428
7383B18678593B   JENNIFER           BRESSLER               KY     66080911867
7383B238772B32   SAVANNAH           BERNHARD               CO     90010912387
7383B43125B347   EDDIE              MCORMIN                OR     90006584312
7383B988171947   VANESSA            CHOWING                CO     90013769881
7383B99387B477   KIARA              WRIGHT                 NC     90012129938
7384114912B271   BRANDON            GREEN                  DC     90014331491
7384132A691521   SANDRA             SIDES                  TX     75052163206
73841523872B87   AMINAH             CURTIS                 CO     90013665238
7384172168593B   STEPHANIE          WALTERS                KY     90015297216
73841A4698B168   LUISA              GOMEZ                  UT     90011520469
73841A98A72441   SHELINA            WILLIAMS               PA     90010650980
7384219375B59B   JOEL               HERNANDEZ              NM     35091071937
73842583A5B347   DAVID              OROZCO                 OR     90014105830
73842593872B44   BEVERLY            ARCHULETTA             CO     33007295938
73842A9968B168   CAMIE              SHELTON                UT     90000370996
738439A8293739   LINDA              LAWSON                 OH     64553179082
73843A16155966   RODOLFO            YBARRA                 CA     90014590161
7384436373B366   THERESA            PAIGE PENNER           CO     90011853637
7384448315B347   LAZARO             LOPEZ                  OR     90012374831
73845A98741237   JENNIFER           RUMP                   PA     51019330987
73846649372B44   MEGAN              JAZO                   CO     90009656493
73846797A33699   JOSH               CARR                   NC     90001717970
73846816972B32   MATTHEW            KEYSACKER              CO     33089878169
7384682519154B   ROGER              SOTO                   TX     75028258251
73846A41872B87   SENA               LINDA MARIE            CO     33076380418
73847475A33699   SHANIKA            BAMES                  NC     90011574750
7384767567B477   LATIFA             WALKER                 NC     11038516756
73847A9968B168   CAMIE              SHELTON                UT     90000370996
73847AA1155939   ROLAND             IBARRA                 CA     90014780011
7384848A155966   LISA               MILLS                  CA     48076534801
73848749172B29   SON                NGO                    CO     33026107491
7384916447B477   QUE                THORNE                 NC     11060651644
73849329672B29   CANDICE            CORDOVA                CO     90013993296
7384956342B271   BRANDON            CLAK                   DC     90013005634
7384B313333698   JENNIFER           RHODES                 NC     90014163133
7384B347155966   RANI               BLACK                  CA     90014903471
7384B3AA88B142   DUSTIN             SMITH                  UT     31003493008
7384B46A941253   JANICE             SNIPE                  PA     90013784609
7385177515B596   LEE                ROMERO                 NM     90004547751
7385179A22B271   HERBERTH ANTONIO   MARTINEZ               DC     90012387902
73851946A41237   LAUTEN             ROBERT                 PA     90003889460
73851A41731432   ASHLEY             THOMPSON               MO     90012500417
738528A542B271   VENESSA            NEWTON                 DC     90002488054
7385385638B163   ARTURO             CERVANTES              UT     31061478563
7385458A855947   FRANK              COTA                   CA     90014705808
73854742672B32   GOLDEN             ROSEMARIE              CO     90008377426
73854A3682B271   DENISE             THOMPSON               DC     90014810368
7385545A48B157   SCOTT              COOK                   UT     31042524504
7385596879154B   CASSANDRA          DELGADO                TX     90013799687
73855A7A38B134   AMI                FITISEMANU             UT     31016930703
7385654A38B32B   WILLIAM            MC MANUS               SC     90007995403
73857A6752B994   LISA               VALENZUELA             CA     45007320675
738581A812B271   LATISHA            C CROMWELL             DC     81009121081
7385851AA31432   ANGELINA           MURRIE                 MO     90009485100
7385899215B347   LENY               TAN                    OR     44514599921
73858A8488B142   ALLISON            RAMIREZ                UT     90008580848
7385937925B347   THOMAS             HALE                   OR     44535993792
738594A8372441   JOHN               SMITH                  PA     90012054083
7385987488B346   ANNE               MILLER                 SC     90015048748
73859A57155947   SHARLA             DEVOLD                 CA     49087830571
7385B149572421   GLENN              PRESOCK                PA     90013571495
7385B37A45B59B   GUADALUPE          BARRAZA                NM     90013893704
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 792 of 2350


7385B4A4355966   BRITTANY       MARTINEZ                   CA     48069974043
7385B51A24126B   MICHAEL        CUPID                      PA     90004095102
73861213872B23   JOHN           SAINDO                     CO     90011072138
7386149745B59B   JONATHAN       ARMENDARIZ                 NM     90003984974
7386188A472479   DEANTE         WINDOM                     PA     90009878804
7386198638593B   ROBERT         CLAYPOOL                   KY     90005579863
73862826A71947   LUIGI          MISURACA                   CO     90010778260
73863282572B29   VALERIE        PADILLA                    CO     90012762825
73863919472B87   JUAN ANTONIO   MARAVILLA MARTINEZ         CO     90014179194
73863A57971947   PASSION        ROBUSKY                    CO     90008250579
73863A78297958   JULISSA        SALAZAR                    TX     74016070782
73864586A84322   ISAC           HERNANDEZ                  SC     90014605860
738647A1891382   ALISA          RICHARDSON                 KS     90011617018
7386481172B994   MARIENE        JIMENEZ                    CA     90009798117
73864A83972421   DANIELLE       BRAUNBECK                  PA     90007160839
7386569145B347   ADAM           WATTS                      OR     90013636914
73865A3437B477   STEVEN         ROBINSON                   NC     90013370343
73865A6649154B   ABEL           LOPEZ                      TX     90010740664
7386634122B994   STAN           TORRES                     CA     90013023412
7386647A755939   JOSE           TORRES                     CA     90015234707
73867A48933699   JAMILIA        BARRIGA                    NC     90014930489
7386814372B271   CARLOS         VELASQUEZ                  DC     90003231437
7386824A872441   SHELLEY        RAGER                      PA     90007962408
7386844848B134   MANUEL         AREVALO                    UT     90005014484
73868526A72B87   JESSICA        LOCKWOOD                   CO     90013665260
73869311472B87   JOHN           CERVANTES                  CO     33091203114
7386B477571947   PHILLIP        TRAINER                    CO     90011604775
7386B689772B29   JESSICA        SCHROEDER                  CO     90008026897
7386BA84A8B163   MAE            CHADWICK                   UT     90011300840
73871412472B29   RICHARD        SPRECHER                   CO     90013234124
7387187259154B   RICHARD        HARBISON                   TX     90010378725
738728AAA72B32   ELIZABETH      MOORE                      CO     33063868000
738729A918B163   CAMILLA        MATE                       UT     90014709091
73873324972B44   MARCHELLE      WILLIAMS                   CO     90011683249
7387336838B142   JENNIFER       URBINA                     UT     31066583683
73874332A7B477   SHIRLEY        HAILEY                     NC     11096893320
7387471246195B   MARIA          RAMIREZ                    CA     90012777124
7387551538B168   DEBRA          JENSEN                     UT     90014475153
73875934A55966   DENISE         MARTINEZ                   CA     90012229340
7387697528B163   KIM            SCOTT                      UT     31098979752
7387854335B225   MALIKA         KINNARD                    KY     68068675433
73878A8735B59B   MICHELE        JOHNSON                    NM     35042340873
73878AA848593B   CONNIE         FETTERS                    KY     66001660084
7387941118B168   JAIRO          JUAREZ                     UT     90013494111
7387947495B596   ERVENN         ANDREW                     NM     90005594749
738794A8355939   SANDRA         SUASTEGUE                  CA     48049814083
7387961A77B371   ERNESTO        LAGOS                      VA     90010646107
7387978A231432   CAYLA          NORMANN                    MO     90012857802
7387B31958B163   DANIELLE       MECHAM                     UT     31074353195
7387B57918B134   SERGIO         SORCIA                     UT     90007925791
7387BA86971947   GINGER         TRUJILLO                   CO     32052200869
7388116256198B   ANA            ROMO                       CA     90014331625
7388118488B142   DANA           SALTSMAN                   UT     90014771848
73881442272B32   MIGUEL         SOLAIS                     CO     90007244422
7388187789154B   ALBERTO        GERARDO                    TX     90013378778
738835A4684322   BRITTANY       STEVENSON                  SC     90014665046
73883891A55947   SARA           TAFOLLA                    CA     90011768910
7388456358B142   DALLAS         SOBOTKA                    UT     90002125635
738847A2671947   WILLIAM        HAMNER                     CO     90014317026
73884953172B32   WANDA          ARBO                       CO     33089569531
7388547888B163   JOSE           RODRIGUEZ                  UT     90009284788
73886138572B44   MISTY          MONTAGUE                   CO     90010491385
7388678618B142   BOBBIE         NEWBURY                    UT     31000647861
7388714339154B   HECTOR         LOPEZ                      TX     90006121433
7388756828593B   DYLAN          DANIEL                     KY     90013435682
73887A2977B477   MIZAEL         MORALES                    NC     90012800297
7388859522B994   ROBERT         GARRETT                    CA     45091815952
7388926868B168   LYLE           KINIKINI                   UT     90006622686
7388943615B59B   SHILOH         HUDDLESTON                 NM     90011974361
7388946623B325   JOSE           ALVIZO TORRES              CO     90007134662
7388B123571947   LUCY           MARTINEZ                   CO     90013151235
7388B424272B32   ROSA           ALDAVAZ                    CO     33050634242
7388B428272B29   KEVIN          GRAY                       CO     90014084282
7388B817441237   TARA           MCCULLY                    PA     51083128174
7388B955233698   CATRINA        BATTLE                     NC     90012509552
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 793 of 2350


7389112277B477   DEMETRIUS    BROWN                        NC     90012831227
7389118378B163   RICHARD      BOSLEY                       UT     90013141837
73891777A71921   JUSTIN       ROCK                         CO     90010707770
7389194347B398   GALILEO      VIGIL CISNEROS               VA     90000289434
73892419A72B29   ELIA         STEFFEN                      CO     33089914190
73892763A72B44   BILLY        RECENDEZ                     CO     90013337630
7389281A92B994   OLGA         DELEON                       CA     45078408109
7389313485B225   BRIAN        STONE                        KY     68048771348
7389321618B163   MAGA         AVILA                        UT     90014672161
7389344888B142   ZOE          VAN HORN                     UT     90014444488
7389448732B994   KIMBERLY     OLFSON                       CA     90010914873
7389476A791382   CATHY        MERINO                       KS     90003447607
738949A2631433   KENNETH      BRUTCHER                     MO     90006269026
73894AA5255966   DESTINY      PARRA                        CA     90003300052
738951A364B291   ROSINE       MEGUE                        NE     90013601036
7389534A672B29   ANTHONY      MARTINEZ                     CO     90006513406
738957A8272441   STACEY       SCHERFEL                     PA     90010887082
738966AA631432   RACINE       HOGUE                        MO     90011006006
73896984A8B142   MATTHEW      DRAPER                       UT     90012479840
7389753818B134   TYLER        OLSEN                        UT     31080865381
7389757A861971   MELISSA      GREER                        CA     46000995708
73897967572B44   ZACH         SPANDI                       CO     90014919675
73897A99672B87   TERESA       GUTIERREZ-ACOSTA             CO     90014470996
73898712A55966   CHRISTINA    SALGADO                      CA     90014617120
738987A4672441   NATALIE      BAKER                        PA     90000487046
73899894172B87   JESUS        GONZALEZ-DOMINGUEZ           CO     33070668941
7389B311655966   CYNTHIA      GARCIA                       CA     90010683116
7389B947793739   DONALD       WASHINGTON                   OH     64548799477
738B119218B142   ERICA        BURGESS                      UT     90013841921
738B1323233698   SHANEKA      REYNOLDS                     NC     12009443232
738B1473A72B29   JASON        ALBERT                       CO     90014424730
738B1595233699   MARTIN       CLARISSA                     NC     12058555952
738B1755293739   DIAMOND      LEE                          OH     90013817552
738B1977455966   SALVADOR     BOCANEGRO                    CA     90014579774
738B242828B163   TURNEY       KAHLERT                      UT     90004254282
738B255665B347   DR DARLENA   DAVIS                        OR     44588565566
738B2657271921   ISRAEL       FLORES                       CO     90011036572
738B274828B168   FERNANDO     DELGADO                      UT     90008727482
738B278795B59B   RICHARD      GOEHRING                     NM     90009467879
738B2A45572421   LAURA        STINSON                      PA     51094010455
738B322A95B59B   JOSEPH       TRUJEQUE                     NM     35028282209
738B3331633699   ANDREA       MARTIN                       NC     90012933316
738B3685655939   EDDIE        FONSECA                      CA     90010996856
738B3775855966   ARIANA       CRUZ                         CA     90014497758
738B4997131443   BRANDAN      MARTIN                       MO     27568339971
738B5163972B87   SEAN         LUTHER                       CO     90012981639
738B542AA72B29   LUPE         GUTTIREZ                     CO     33085274200
738B582428593B   PATRICK      WALKER                       KY     90001138242
738B5984272B44   MARCOS       DURAN                        CO     33058759842
738B616AA84322   MAURICIO     MORENO                       SC     90008291600
738B639812B994   DOROTHY      DUMM                         CA     45098633981
738B675A971921   BERT         EBELING                      CO     90015127509
738B6797241237   RODNEY       TURNER                       PA     90015337972
738B6835293739   SHANE        CHILTON                      OH     90009438352
738B692885139B   KITTY        BARRY                        OH     66076989288
738B6976772441   RACHEL       PARRISH                      PA     90002939767
738B7275541227   QUAY         NELSON                       PA     51086912755
738B7A46272B93   PAULA        KNEESHAW                     CO     33089380462
738B897668B163   CODI         BAILEY                       UT     90014699766
738B8988355966   JAMES        JR                           CA     90014579883
738B8A2168B157   DANNY        MONTOYA                      UT     90009680216
738B8A58233699   STEVEN       MOORE                        NC     90011610582
738B8A74372421   KIMBERLY     HUFFINE                      PA     90010210743
738B8A91331432   DALE         MCCLAIN                      MO     27565550913
738B94A7A31443   GLENDA       VEALAWALD                    MO     27504714070
738B967325B347   BETTIE       MENDEZ                       OR     44595526732
738B978217B477   BRIDGETTE    TURNER                       NC     90007797821
738BB199641227   SHAWNA       COLLIER                      PA     51087721996
738BB215331445   CATHAREAN    BALL                         MO     90002202153
738BB625A9154B   JOANNA       OZORIO                       TX     75095866250
738BB713472441   JASON        LEE                          PA     90006127134
738BB964872421   GABE         HARTZLER                     PA     90012449648
7391135329154B   DAVID        MARQUEZ                      TX     90004843532
739116A3A2B271   DIONTA       KING                         DC     90008646030
7391279292B994   BELEN        GOVEA                        CA     90013337929
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 794 of 2350


7391299515B347   PATRICK          BRYAN                    OR     90007439951
7391488A59154B   CHRISTOPHERSON   GOMEZLEON                TX     90014958805
73915244A84322   MARIA            AMADOR                   SC     90014772440
73916815A31433   MELISSA          HONSE                    MO     90013238150
7391691897B477   DONNELL          GARDNER                  NC     11007619189
7391875942B271   JOSE             LOZANO                   DC     90013667594
73918885272B29   ALEJANDRINA      CORAL                    CO     90009958852
73918AA3241253   SHIRLEY          WALLACE                  PA     51027470032
7391921618B163   MAGA             AVILA                    UT     90014672161
73919244A84322   MARIA            AMADOR                   SC     90014772440
73919376A5B59B   CHANCE           KATZ                     NM     35056023760
7391B41625B347   MARCELA          LOPEZ                    OR     44521974162
7391B57A671921   JOSE LUIS        VAZQUEZ                  CO     90013255706
7392129645B347   DYLAN            WILBUR                   OR     90010912964
7392162817B477   JULIO            VENTURA                  NC     90007276281
739216A3871921   TAWNNIE          KNOWLES-BISHOP           CO     90013866038
73921A7278593B   RYAN             HAMLIN                   KY     90010050727
73922229972B44   ERIK             ARAGON                   CO     90008632299
7392225638593B   RICHARD          PABST                    KY     66042922563
7392225958B142   ELIZABETH        MARTINEZ                 UT     90006232595
73923232172B44   ANTHONY          HOLCOMB                  CO     90008632321
7392469762B271   RALPH            THOMAS                   DC     90012996976
73925249972B87   LEOBARDO         BALDERAS RIVAS           CO     90005282499
739253A5872B29   DOUGLAS          SMALLCANYON              CO     90014903058
7392559A155966   GLADYS           OCAMPO                   CA     90014625901
7392567128B142   TREVOR           SMITH                    UT     90004146712
73925A1697B398   MANUEL           MACHADO                  VA     90005880169
73926186372B87   MIRIAM           HERNANDEZ                CO     90012981863
7392624655B347   LINDA            FLESHMAN                 OR     44540022465
7392712A331432   TEIM             MATHCS                   MO     90014831203
739273A725B59B   NORMA            ACEVES-ARMENDARIZ        NM     90011263072
7392771553B358   JOSE             ROBLES                   CO     90011457155
73927812372B44   AARON            MCMURRAY                 CO     90012238123
73929198A71947   DANITRA          MACKEY                   CO     90006131980
73929A94871921   FRANK            GOMEZ                    CO     90013910948
7392B229172B44   FRANSISCO        JIMENEZ                  CO     90008632291
7392BA95A91962   STARKISHA        DEANS                    NC     90008240950
7393133579154B   JOSE             LOPEZ                    TX     90013543357
7393147358B157   HERIBERTO        MORALES                  UT     90000864735
73931734A8B163   LUIS             RUBIO                    UT     90012307340
7393291A572B29   ANNA             LAMERS                   CO     90008119105
73933598472B21   FRANSISCO        VALDEZ                   CO     33047065984
7393365A441237   CHELSEY          PHILLIPS                 PA     90002316504
73933A22731443   DAVID            WALLACE                  MO     27568890227
7393499A572B44   ANA              RIVERA                   CO     90014619905
739351A789154B   EVELYN           PEREZ                    TX     75007211078
73935373472B32   MONICA           GATICA                   CO     33090943734
73935415272B44   HEIDI            HIRSCH                   CO     33015014152
7393595312B271   CHANEL           GLOVER                   DC     90013219531
73935AA9372B29   NORMA            LUNA                     CO     33006560093
73936338772B44   MARY             ANDERSON                 CO     90007233387
7393638915B347   LAURA            FOSTER                   OR     44520043891
7393658498B163   ISIDRA           MARTINEZ                 UT     90012155849
73936954672B29   KEITH            HOUCKS                   CO     33070079546
7393729318B168   KALOLAINE        MOUNGA                   UT     31072042931
739373A228B134   EDWIN            CHACON                   UT     90013803022
739377A8185945   XOCHITL          MORALES                  KY     67058177081
73937AA147B457   ALJAS            DAVIS                    NC     90009280014
739381A8855947   CYNTHIA          MONTEZ                   CA     49090411088
73938644A55939   LORENA           FRANCO                   CA     90013676440
7393B166272B32   GABRIEL          VALADEZ                  CO     90013821662
7393B22A58B168   KATALINA         CUELLA                   UT     90014482205
7393B337891254   PAYGO            IVR ACTIVATION           GA     90011213378
7393B947884322   MARCIANO         FLORENTINO               SC     90014779478
7394117668B163   DENNIS           BODINE                   UT     31069331766
7394166985B59B   FRANKI           CASTILLO                 NM     90009906698
73942523A41227   DAIS             DANA                     PA     51040165230
73943181172B87   PAMELA           OLDHAM                   CO     90014731811
7394343945B347   SUSIE            OULMAN                   OR     44509184394
73944284372B32   KAREN            THOMAS                   CO     33023902843
73945712A2B994   MARIA            GARRIDO                  CA     90013847120
73946238A72B44   CLAUDIA          HERNANDEZ                CO     90008632380
7394662758B168   NORRIS           PACKER                   UT     31091476275
7394663522B271   JAY              BROADUS                  DC     90013716352
7394746768B142   BARRY            WEBSTER                  UT     90015034676
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 795 of 2350


739478AA631433   KATHERINE    TAYLOR                       MO     90008988006
7394939288B168   AMBER        JENSEN                       UT     90008763928
7394942475B347   JESSICA      HERBERT                      OR     90000104247
73949569272B32   GEIDY        URUTIA                       CO     90012485692
7394982895B596   ALBERTO      LIZARRAGA                    NM     35009908289
7394991413B384   OSCAR        OCHOA                        CO     33043669141
7394B413572B29   MIGUEL       CENTENO                      CO     90013234135
7394B52698B142   JENNIFER     SWENSEN                      UT     90003695269
7394B78673168B   CHERYL       HUFFMAN                      KS     22016647867
7394B861671921   HASTIN       MOORE                        CO     90010908616
7394B871172479   LISA         ALTEMARE                     PA     51060308711
7394BA11184322   OVIDIO       MORALES                      SC     90003350111
7395123438B163   BONNIE       REEVES                       UT     31047972343
7395123A855966   YESENIA      CRUZ                         CA     90011822308
7395138179154B   VALENTIN     GARCIA DURAN                 TX     90012533817
73951566A33699   DIANE        MARSH                        NC     12043155660
7395164A295183   LYNETTE      BARRERA                      AZ     90014956402
739525A6355947   ISRAEL       VASQUEZ                      CA     90015335063
7395267445B347   AMBER        CHRISTENSON                  OR     90010596744
7395285897B495   GEORGIA      GRESHAM                      NC     90004118589
7395299787B477   ANTHONY      FULWILEY                     NC     11059249978
73952AA6641253   AUSTIN       LAMARK                       PA     90014060066
73953234672B32   KATHERING    HOGAN                        CO     33004372346
7395325732B994   FRANK        OCHOA                        CA     90014582573
73953683572B44   MICHAEL      VALENZUELA                   CO     90012656835
7395445548B134   MICHAEL      CORNWELL                     UT     90013524554
7395446155B225   CANDICE      WALKER                       KY     90000734615
7395446615B347   KRISTINA     VOSMIK                       OR     90009324661
73954794A31468   ZEMENDER     DAVIS                        MO     90001107940
7395554915B225   PENNY        WETHERBY                     KY     68058255491
7395618228B163   CORY         MILLER                       UT     90013531822
73956682272B87   YANET        RODRIGUEZ                    CO     90000946822
7395738712B271   TANESHEA     GOGGANS                      DC     90011703871
7395837A741253   GIUSEPPE     RUSSO                        PA     51003673707
73958697A9154B   JAIME        CANAVA                       TX     75078146970
73958972A72B87   OLGA         RODRIGUEZ                    CO     33018249720
73958A56955947   RODOLFO      DUARTE                       CA     90011540569
7395913623168B   REYNALDA     BERNARDINO                   KS     22034351362
7395B173155947   MARIA        RUIZ                         CA     49041031731
7395B229655966   LUIS         GUTIERREZ                    CA     48049982296
7395B411884322   JOSE P       VASQUEZ VARELA               SC     90014794118
7395B498672B87   NICHOLE      ALBRIGHT                     CO     90003584986
7395B7AA431432   JACOB        CLARK                        MO     90013087004
7395B999A3168B   MICHELLE     NORTON                       KS     22005419990
739612A7241253   CARLA        BIANCO                       PA     90015152072
73961829A26223   JOEY         COVELLI                      WI     90015388290
73961A5A83168B   KENNETH      SAYLES                       KS     90010580508
73961A8139154B   ADRIANA      GONZALES                     TX     75084250813
739623A3955931   CARLOS       AVIRA VALLE                  CA     90013363039
7396247298B168   JULIO        MENDOZA                      UT     90014484729
7396272622B271   ALLORY       JOHNSON                      DC     90009737262
73962923672B32   NANCY        PARTIDE CHAVEZ               CO     33051999236
73962A44185945   GUADALUPE    VERA                         KY     67058000441
73963122972B44   BOBBY        LEYBA                        CO     90009471229
73963246672B29   ERIN         OBRIEN                       CO     90013602466
7396346635B596   CRISTINA     SANCHEZ                      NM     35007454663
7396353AA76B71   LUIS         OCEGUERA                     CA     90003305300
7396467735B59B   FRED         LIPPI                        NM     90013776773
7396468962B271   SYLVIA       PHILLIPS                     DC     81034396896
7396468A35B347   HEATHER      USHER                        OR     90011026803
73964A79672B87   RAY          MILLER                       CO     90013230796
7396547998B168   REBECCA      ALBISTON                     UT     90014484799
73965987A41253   JOVAN        HARRIS                       PA     90010339870
7396613748593B   JOSE         ESTRADA                      KY     90015561374
739669A588B163   JAMES        BAKER                        UT     31031939058
739672A9A8B142   DAVID        CASALASPRO                   UT     31016732090
73968153A84322   EMMANUEL     ADAME                        SC     90014941530
73968458A7B477   SILVESTRE    JIMENEZ                      NC     90012894580
7396846475B354   JENNIFER     GRAHAM                       OR     90012014647
7396851578593B   REBECCA      MORRIS                       KY     90014415157
7396883982B994   EFRAIN       VARGAS                       CA     90013638398
7396886A59154B   STEVEN       KUEHN                        TX     75017628605
7396934598B157   DARLA        GALDEAN                      UT     31028213459
7396936688593B   LETITIA      LOVELACE                     KY     90010633668
7396958785B384   CHARLES      JAYNE                        OR     90004435878
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 796 of 2350


73969715472B44   JOSHUA          ARROYO                    CO     90011317154
7396994782B271   DWAYNE          MURRAY                    DC     90015339478
7396B126172421   LISA            MUTTER                    PA     90013931261
7396B258741237   TAMEKA          MORGAN                    PA     90014872587
7396B2A329184B   CHAMIKKA        SLOAN                     OK     90010482032
7396B38179154B   VALENTIN        GARCIA DURAN              TX     90012533817
73971247272B44   STEVE           MANCHEGO                  CO     90008632472
7397144878B168   LILIA           JIMENEZ-VAZQUEZ           UT     31077924487
7397248928B163   MATT            OLSON                     UT     90015304892
73973599A5B384   ANDREA          MEARS                     OR     90004435990
739738A6272B44   ANGEL           MALDONADO                 CO     90004108062
73973A1688B163   SHARON          ROBERTS                   UT     90012130168
73973A74671947   VENESSANNA      ITUGBU                    CO     32081780746
7397482327B477   DENNISE         HINOJOSA                  NC     90010318232
739753AA772B32   SILVIA          ORTEGA                    CO     90012223007
7397585497B477   TRABARIS        HARELL                    NC     90013408549
73977967772B32   DANIELA         VILLAREAL                 CO     90014359677
7397824848593B   HUMBERTO        MORALES                   KY     66006882484
7397841525B384   RANDY           VELOZ                     OR     90007464152
7397855197B661   KELVIN          DEMOND                    GA     15034455519
739788A2371947   BRIAN           SMITH                     CO     32044208023
73978AA8472441   THOMAS          STEPNICK                  PA     90014240084
7397996582B271   THOMAS          STROMAN                   DC     90014649658
7397B36365B59B   MATTHEW         SANCHEZ                   NM     35035073636
7397B47A871921   CYNTHIA         PORTER                    CO     90012474708
7397B895572B23   NATIVIDAD       ITURBE                    CO     33050928955
7397B929271947   PATRICK         TAYLOR                    CO     90014759292
7397BA94255966   MARIA           HARO                      CA     48002660942
7398162358593B   DAN             NAGLE                     KY     90012756235
739816A159372B   ASHLEIGH        SMITH                     OH     90008476015
7398171175B59B   ROBERT          MOONEY                    NM     90002367117
739817A7A55966   DAWN            WARDELL                   CA     90014627070
7398193895B347   TIMOTHY         HERRING                   OR     44580339389
7398194438B163   RUBEN           ZARCO                     UT     90014709443
7398219439154B   JAZMIN          BENITEZ                   TX     90014831943
7398223685B596   TI'ANNA         QUINONES                  NM     35001912368
7398272237B477   KATHERINE       CRADDUCK                  NC     90000417223
7398333288B134   HEATHER         SAXTON                    UT     90005913328
73983361A31433   TIFFANY         TATE                      MO     90011503610
7398354A672B44   IVETTE          DUARTE                    CO     33094635406
7398374515B59B   REBECCA         ORTIZ                     NM     90014557451
73983912772B29   AUGUSTINE       VILLALOBOS                CO     33079489127
73984A18672B32   TIMOTHY         RUYBAL                    CO     33010290186
73984A46A9154B   FABIAN          FRIAS                     TX     75088690460
7398512469154B   TANY            CASTORENA                 TX     90012481246
7398534845B938   MARCO ANTONIO   MORALES                   WA     90015453484
7398557365B347   ANALILIA        ROSAS-VALENCIA            OR     90010155736
739857A3A55966   MARIA           SANCHEZ                   CA     90011827030
7398595238B163   RAY             SUMMERS                   UT     31015929523
7398595448B163   ANA             TORRES                    UT     90011359544
7398595945B59B   ANGELES         ROJAS                     NM     90012369594
73985A9698B168   MARISOL         VALDEZ                    UT     90007020969
73986179A55966   ERNESTO         CHAIREZ                   CA     90013311790
7398618188593B   STEVEN          JERAULD                   KY     90006881818
7398624688B134   STEPHANIE       BENNETT                   UT     90015002468
73986647672B32   RIQUA           DELAROSA                  CO     90010266476
7398688322B994   LUIS            BARAJAS                   CA     90013688832
7398697698B163   JORDAN          PHILLIPS                  UT     90014709769
7398719A13168B   SARAH           BILLINGS                  KS     90010581901
7398754A18B32B   PAULINE         BREWER                    SC     90008315401
73987A66184322   GLADIS          MARTINEZ                  SC     14534520661
7398886A88B142   CHRISTA         MILLER                    UT     90012448608
73989951A8B163   SHALYNN         MENDONCA                  UT     90014709510
73989A6A171947   NICHOLAS        MOORE                     CO     90012300601
7398B674155966   BLANCA          SANCHEZ                   CA     90011826741
7399144655B386   MELISHA         MERCIER                   OR     90004654465
739916AA272B2B   IGNACIO         GARCIA                    CO     33071756002
73991A3658B142   RACHEL          JACKSON                   UT     90007880365
73991AA878B168   PEDRO           HABLADO BARAJAS           UT     90014810087
7399216447B477   LAKISHA         WORTHY                    NC     90004421644
7399234867B477   JASWANT         SINGH                     NC     90013063486
7399235748B134   CINDY           BARNES                    UT     90012663574
7399283A28B163   RICCI           ALEXANDER                 UT     90014738302
7399285A58593B   JAMES           POWELL                    KY     66042438505
73993247172B87   ITZEL           MUNOZ                     CO     90010462471
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 797 of 2350


739938A7933699   LAURA        PALACIOS                     NC     90015118079
739942A2172B32   FELICE       HICKS                        CO     90014942021
7399458348B134   ROY          DRODDY                       UT     31057555834
739946A578B134   PWI          ROY DRODDY                   UT     90014806057
73994A64851347   RONDI        SANDER                       OH     66067430648
7399531A372479   ROBERT       HOUGH                        PA     90010263103
73995616A93739   JAVIER       HERNANDEZ                    OH     90008146160
7399585458B163   KRSTY        NUNN                         UT     90014098545
73995A79272B98   KAREN        MORENO                       CO     90009420792
7399797573B35B   NORINE       FONSECA                      CO     33064109757
73997A87471947   MARIA        ALONZO                       CO     32036050874
73999253472B44   DAE-JON      MCQUEEN                      CO     90008632534
739992A9584322   ADELITA      HERNANDEZ                    SC     90015012095
73999572172B32   KRISTINA     KLEIN                        CO     33025035721
7399959528B357   FRANK        DAVIS                        SC     90014185952
73999636472B29   MERCADIES    LOPEZ                        CO     33049646364
739996A928B134   CASSANDRA    SCHIFFMAN                    UT     90000866092
73999813472B44   CYNTHIA      EDELEN                       CO     90013578134
7399B59745B238   KAREN        DRAKE                        KY     68071995974
7399B921172B87   NOEL         LOPEZ                        CO     33036869211
7399B98152B271   TAMARA       CHIN                         DC     81010849815
739B1242855966   DAVID        ARZDIA                       CA     90013792428
739B1363984322   MARCED       CASTRO                       SC     90014743639
739B1519685945   JOSHUA       MILLER                       KY     67057845196
739B2827355939   EDGAR        CASTELLANOS                  CA     90013028273
739B2877172B87   ALETHEA      EDRI                         CO     90007888771
739B2A11955947   JUAN CARLO   HERNANDEZ                    CA     49098920119
739B2AA5172B32   BARBARA      ABELENDA                     CO     33090850051
739B323157B477   DIVINA       BAUTISTA                     NC     90012172315
739B3333472B32   ANDREA       VEGA                         CO     90012823334
739B3367672B2B   BRITTNY      ALAHMAD                      CO     90008523676
739B3672271921   KATHLEEN     EASTMAN                      CO     90007746722
739B4462A72B29   STEVE        BILLER                       CO     90014154620
739B4493171921   KENNETH      BURNETT                      CO     32047074931
739B493169154B   JOSE         TORRES                       TX     90005779316
739B4A1697B398   MANUEL       MACHADO                      VA     90005880169
739B5287172B87   MATHEW       FLOOD                        CO     33031292871
739B541798B134   MAGGIE       MCDOWELL                     UT     31005114179
739B549735B59B   MARVIS       ANDERSON                     NM     90014804973
739B572415B347   EMI          SOGA                         OR     90010627241
739B573685B225   RITA         RODGRIQUEZ                   KY     68085457368
739B6142984322   KATHRYN      HOFFMANN                     SC     90013891429
739B63A5172421   CORRIE       CREWS                        PA     51091263051
739B6837772B83   SUSANA       RIVERA                       CO     90012518377
739B693518B134   SUZET        KOO                          UT     90004169351
739B7376931433   ASHLEY       FYCNOR                       MO     90015113769
739B741138B142   SHELBIE      BLISS                        UT     90009324113
739B741A741237   KAREN        MORRIS                       PA     51045654107
739B771952B271   BIJON        DAVIS                        DC     90015267195
739B779A155966   DEBRA        CALVO                        CA     48069217901
739B7992484322   LO           TAYLOR                       SC     90014759924
739B7AAA45B596   COLLEAN      FOLEY                        NM     35089450004
739B82A198B134   JAY PITONE   REUPENA                      UT     90012922019
739B8441772421   RYAN         ABRAHAM                      PA     51031594417
739B8449233698   LAYILA       LOPEZ                        NC     90014174492
739B856A472B32   DAVID        CAMENETTI                    CO     33053925604
739B86AAA5B596   EMMA         CARILDA-SUAREZ               NM     35088146000
739B8A1942B271   CHARLES      REED                         DC     90006440194
739B9533471947   KELLY        SOBE                         CO     90005565334
739B96A5272B87   SHANEL       RUIZ                         CO     90007316052
739B9845331433   KIM          HALL                         MO     27557958453
739BB13A38B32B   PAYGO        IVR ACTIVATION               SC     90004461303
739BB15615B522   STACEY       HERNANDEZ                    NM     90012271561
739BB338884322   NOE          SILVE                        SC     90014743388
739BB392291885   TILLIE       HENDERSON                    OK     21092643922
739BB797193739   TENISHA      WARE                         OH     64549517971
739BB84218B163   TRISHA       MARTIN                       UT     90012708421
739BB89185B596   SUZANNE      SAIZ                         NM     35051378918
73B11524A55966   MONICA       PARTON                       CA     90014835240
73B11638472B32   LINO         CASILLAS                     CO     33078516384
73B11663833699   IVY          PETERS                       NC     90012436638
73B11823572B87   DESSIRE      IBARRA                       CO     90014678235
73B11A7278593B   RYAN         HAMLIN                       KY     90010050727
73B12397271947   RAYMUNDO     CORDOBA                      CO     90012073972
73B12829872B44   KRISTEN      CALVALIERI                   CO     90011898298
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 798 of 2350


73B12983372B29   ADRIANA            AVILA                  CO     90012359833
73B12A24293739   AURORA             VAZQUEZ                OH     64573500242
73B13533372B87   ROMAN              FLORES L               CO     90013935333
73B135A737B477   SHAMAR             COOPER                 NC     11085415073
73B13743A41253   DEANNE             CASTILLO               PA     90000937430
73B1442928B134   MARVIN             MARTINEZ               UT     90012314292
73B14469472B32   TOMMY              HARRIS                 CO     33074674694
73B1472342B271   GARI               YOUNG                  DC     90010507234
73B14744784322   LANDON             HORNE                  SC     90010287447
73B15159272B29   AZALIA             CERVANTES              CO     33010021592
73B15624A5B384   DA                 LOVE                   OR     44541606240
73B1566542B994   ANDRIAN            ALNES                  CA     45005646654
73B157A4771947   RICARDO            TREVIZO                CO     90012787047
73B15878633698   LINDA              BOBO                   NC     90014538786
73B15A5668B157   LAWANDA            SEARLE                 UT     31024880566
73B16496671921   KACY               BAKER                  CO     90013984966
73B1782A657147   ALCADIO            BANOS-DIAZ             VA     81097338206
73B17928A55966   MARCOS             LOPEZ                  CA     90005039280
73B1792975B59B   ANTONIO            PRIETO                 NM     35039369297
73B17A2368B32B   NICOLE             CABRERA                SC     90001460236
73B1843598B163   ZARAH              TRUJILLO               UT     90013424359
73B18516755966   DINA               HURTADO                CA     90014095167
73B1878155B169   LYTINA             HOLMES                 AR     23071757815
73B1932A161994   DAVID              REYES                  CA     90010423201
73B1957285B347   MARINA             BLANCO                 OR     90011695728
73B19764693728   JALISSA            SEALS                  OH     90009407646
73B197A9655939   PEDRO              HERRERA                CA     90006967096
73B1B187591979   JULIO              DE CID                 NC     90013171875
73B1B36759154B   CYNTHIA            CHAPARRO               TX     75012463675
73B1B66528B134   SHERRY             VALDEZ                 UT     31091356652
73B1B742886433   ANDREW             BARBHAM                SC     90014267428
73B21239141253   MISSY              KING                   PA     51087872391
73B21574272B32   TANYA JACQUELINE   WHITLOCK               CO     90014615742
73B21716672479   TAMEKA             SHAWN                  PA     90012627166
73B2172385B59B   JAMES              HARRINGTON             NM     90012037238
73B21A58A84322   CRISTOBAL          ZAVALA                 SC     90014770580
73B2216A57B661   ERRICK             MACK                   GA     15091061605
73B2268A531433   CHASE              HARDIN                 MO     90010376805
73B2285432B236   TYVON              CRAWFORD               DC     90008088543
73B22A7545B347   TRISH              STEVENS                OR     90002300754
73B231AAA8B142   JAMES              PUGH                   UT     90013771000
73B23279372B87   LATAUSHA           WASH                   CO     90013302793
73B2376A58B157   TYLER              STANDIFIRD             UT     90003547605
73B23A2432B271   MARGARET           JONES                  DC     90001080243
73B2412528B142   CAMMIE             BROWN                  UT     90008661252
73B241A3671921   ANNAH              HENDRA                 CO     90014291036
73B24293A3B343   JOHN               COLEMAN                CO     33000542930
73B2434788B168   JAMIE              PACE                   UT     31076573478
73B2437A12B994   DOLORES            DURAN                  CA     90015143701
73B251AAA8B142   JAMES              PUGH                   UT     90013771000
73B25949A91993   DARRYL             TOLIVER                NC     90001419490
73B2596A241253   REGGIE             MANESS                 PA     51027339602
73B26117572B44   JOHN               GIBSON                 CO     90000521175
73B2628678B142   MAUREEN            ALLAN                  UT     31089702867
73B26311557157   GUSTAVO            GUSTAVO                VA     81006183115
73B26325A7B477   ERICA              MENJIVAR               NC     90013393250
73B2636965B59B   MARICRUZ           HERNANDEZ              NM     35055193696
73B2673953B381   RON                DROEL                  CO     90013277395
73B2676A18B163   JOEL               GUERRERO               UT     31054747601
73B2681795B384   GAYLENE            BREILAND               OR     90010328179
73B2733492B271   PAUL               WALKER                 DC     90014713349
73B27423291572   DOLORES            HUANTE                 TX     90012984232
73B27513572421   ROBERT             WORKMASTER             PA     51083625135
73B27592972B87   SYLVESTER          GRANT                  CO     90010265929
73B27A2445B347   SARAH              LARSEN                 OR     90014140244
73B29158A71947   BRENDA             HANES                  CO     90013651580
73B291A6331433   MARKETA            BOWEN                  MO     90008351063
73B29451A91945   GLADIS             CHACON                 NC     17091454510
73B29A89555966   GEMA               ALONZO                 CA     90013010895
73B29AA6671921   JASON              LEWIS                  CO     90013710066
73B2B1A762B271   JERIA              CARTER                 DC     81096671076
73B2B57545B225   EMMA               CIPRIAN                KY     90014955754
73B2B648755947   LETICIA            MUNOZ                  CA     90011376487
73B2B762672B44   JESUS              RAMIREZ                CO     90002697626
73B2B91A49154B   MARISOL            GUTIERREZ              TX     75064109104
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 799 of 2350


73B2B92A371947   PEDRO         SANTIAGO                    CO     90000379203
73B315A8171947   AARON         DOUGLASS                    CO     90014945081
73B31A3325B395   CASEY         COLE                        OR     90014650332
73B322A759184B   AGUILAR       JOSE                        OK     90006172075
73B32599931433   CONCTANCE     JACKSON                     MO     90004225999
73B3267675B347   RON           CHANDLER                    OR     90004396767
73B32971155947   JOSH          MAYER                       CA     90011889711
73B3314A48B168   CHRISTOPHER   MATHENY                     UT     90015311404
73B33153271947   MARTIN        MARRUFO                     CO     32004421532
73B33262A57157   LEONEL        PARADA                      VA     81095852620
73B33288A72B32   ADAM          ELY                         CO     90009902880
73B3357887B477   MARCUS        JORDAN                      NC     90014755788
73B33694133699   CHRIS         SALLEY                      NC     90015286941
73B3391A493739   KHOREE        HANCOCK                     OH     90004559104
73B33925477573   JAMES         CRAWSHAW                    NV     90011179254
73B33941831432   KENNY         BANKHEAD                    MO     90014649418
73B3423837B477   SHABRIA       KELLY                       NC     90014552383
73B34596A55939   CEYDA         AL MONTE                    CA     48051975960
73B3467388B168   JORDIN        CHRISTENSEN                 UT     90013116738
73B35244172441   MIKE          HEADLEY                     PA     51080432441
73B3541217B477   SHAREKA       PATTERSON                   NC     90014564121
73B3559558B163   NINFA         PRICE                       UT     90009185955
73B3578439154B   DEISSY        TREJO                       TX     90004317843
73B3592445B59B   JOSE          RODRIGUEZ                   NM     90010839244
73B36152233699   ROLANDA       RUSH                        NC     90002641522
73B3659558B163   NINFA         PRICE                       UT     90009185955
73B36747772B32   JOHN          MUNOZ                       CO     90011647477
73B36A9567B427   FREDRICK      STALEY                      NC     90013400956
73B3764838B134   PAMELA        BECKSTEAD                   UT     31097006483
73B37652441237   KIMBERLY      JONES                       PA     90013966524
73B3791A88593B   PHILLIP       LANE                        KY     90013479108
73B38137341237   RICO          MONTGOMERY                  PA     90014711373
73B3821285B281   LARRY         CASSADY                     KY     68085322128
73B38583172421   RHONDA        GUEVARA                     PA     51074065831
73B3866A384322   AARON         PINEDA                      SC     90011566603
73B3914653168B   JOE           MALDONADO                   KS     90013461465
73B39327772B44   KATHERINE     HAZEL                       CO     90001543277
73B39871A7B662   EDELMIRA      HERRERA                     GA     90012228710
73B3987288B142   JANETTE       STEVENSON                   UT     31048208728
73B3995738593B   JEAN          CALLOWAY                    KY     66034989573
73B39A54A8B168   RAFAEL        BECERRA                     UT     90014310540
73B3B1A4431433   SHAYLA        CRAWFORD                    MO     90002431044
73B3B46885B59B   RAMON         TRUJILLO                    NM     90012354688
73B3B748855939   JOSHUA        CRUZ                        CA     90014367488
73B3BA36172479   MIKE          GAYDOS                      PA     90014810361
73B3BA6427B477   SILVERIO      CASTRO                      NC     90002650642
73B4122378168B   MICHAEL       DUMAS                       MO     90004252237
73B41318841227   CHRISTOPHE    BELL                        PA     90011163188
73B41475172B87   YOLANDA       HERRERA                     CO     90011284751
73B414AA95138B   COREY         LEADMON                     OH     90004594009
73B4161A38B163   CRISTINA      CHRISTENSEN                 UT     90014646103
73B41A6A47B477   TERRY         CAMPBELL                    NC     90010980604
73B41A99941253   JOSH          ROTHOVE                     PA     90007530999
73B42143171921   TRIVONA       MCCLURE                     CO     32073221431
73B4218898B134   JANET         HERNANDEZ                   UT     90006131889
73B425A3A84322   ROBERTO       OROZCO                      SC     90011625030
73B4313945B347   JOHN          LYON                        OR     44580291394
73B43661531433   DAMDARA       HATCHET                     MO     90014836615
73B43687671947   STEPHANIE     BETTS                       CO     90009006876
73B445A615B59B   ABEL          ORDONEZ                     NM     90014585061
73B44832A72B87   CHERIE        SAFFORD                     CO     33078778320
73B44979A41237   NETTE         SOWELL                      PA     90008799790
73B45319831432   KIARRA        FRANKLIN                    MO     90013023198
73B4541A672B29   LUDMILA       ROMERO                      CO     33047434106
73B45613A72B87   ORLANDO       FORSYTHE                    CO     90012966130
73B4562A672479   SHANNON       FORSYTHE                    PA     90012446206
73B4579A355966   SOPHIA        CRUZ                        CA     90006157903
73B45957884369   SAMUEL        SIMMONS                     SC     90004619578
73B4611877322B   PREPAID       CUSTOMER                    NJ     90014841187
73B4645A755947   ALICE         DIAZ                        CA     49003034507
73B46475257147   JESSICA       ESPARZA                     VA     90008474752
73B464A8833699   KENYA         BROWN                       NC     12001044088
73B4654239154B   VERONICA      ALVAREZ                     TX     90008465423
73B46756272479   KIMBERLEE     TELEGRAPHIS                 PA     90002757562
73B46A27771921   MARK          CANETE                      CO     90013690277
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 800 of 2350


73B47848584322   NESTOR       AGUILAR                      SC     90011628485
73B47A5122B994   MARIA        TAPIA                        CA     45013110512
73B4825848B142   MARIA        HERNANDEZ                    UT     90013492584
73B48417133699   PATRICIA     PALMER                       NC     90014104171
73B48873141287   MICHELLA     COSTIC                       PA     90001448731
73B48894955947   ALEXANDER    IBARRA                       CA     90012268949
73B49173672B32   JUANA        MOSQUEDA-GONZALEZ            CO     90013041736
73B4958475B59B   CHARLINE     LOPEZ ACOSTA                 NM     35074695847
73B4974285B347   VICKY        ESLINGER                     OR     90002957428
73B49763991361   ANA          MENDIOLA                     KS     90013107639
73B497A9172441   JAMES        ORLOWSKI                     PA     90003927091
73B49845A51544   ASHCEON      KLINE                        IA     90013888450
73B4B182484322   MARJORE      ALTACHO                      SC     90011881824
73B4B37A471947   RYLAN        WHITE                        CO     90013823704
73B4B4A225B596   LISA         HOENIGKE                     NM     90003254022
73B4B686372441   JAVAD        LINDSAY                      PA     90013856863
73B5128A441237   AERON        KALBAUGH                     PA     90013972804
73B5141128B163   ESTILITHA    WILSON                       UT     90010804112
73B5145618B168   SHAILYN      WATKINS                      UT     31027844561
73B5152A372B32   JAMIL        MATHIS                       CO     90007975203
73B51AA5955947   SHAWN        TOPPING                      CA     49003750059
73B52176731432   JOANNE       EIKERMANN                    MO     90005341767
73B52349521621   LUIS         PEDRO                        OH     90014353495
73B52769493739   HENRY        BENNETT                      OH     90015307694
73B53241A84322   CYNTHIA      MASIS                        SC     14584682410
73B53729A72B87   OROZCO       FATIMA                       CO     90008957290
73B54348572421   EMPRI        KINNEY                       PA     90011303485
73B55135A2B271   ANNETTA      GWALTNEY                     DC     90004151350
73B55186A61941   CLAUDIA      UGARTE                       CA     90000391860
73B5586275B334   LARRY        WEST                         OR     90011108627
73B5592379154B   BRIANA       ORONA                        TX     90012529237
73B55947955966   ABEE         ALVAREZ                      CA     90014409479
73B5598615B596   JESSICA      PEREZ                        NM     35056809861
73B56627A5B347   SANDRA       STAPLES                      OR     44564476270
73B56827372B32   NICOLE       VIGIL                        CO     33063028273
73B56848584322   NESTOR       AGUILAR                      SC     90011628485
73B56A9448B163   RICHARD      JENSEN                       UT     31014950944
73B5718498B142   INGLES       TINA                         UT     90009231849
73B5752967B477   MAURICIO     GRIMALDI                     NC     11009285296
73B5755815B59B   JANETH       FERNANDEZ                    NM     90010335581
73B5781795B384   GAYLENE      BREILAND                     OR     90010328179
73B57834331432   NICHOLAS     ZAPPA                        MO     90013288343
73B58161731432   DANIEL       SMOTHERS                     MO     90014121617
73B5823215B392   DAVID        RYGH                         OR     44528282321
73B582A6393739   JULIE        FOLLETTE                     OH     90004882063
73B58318371921   ROSEMBERG    PEREZ                        CO     90009043183
73B5873875B384   THOMAS       HUGES                        OR     90010737387
73B5878A271947   LYNETTE      DUDLEY                       CO     90008297802
73B58962472B44   STORMY       PACHECO                      CO     33034929624
73B59327572B87   KENDRA       DETTY                        CO     90012973275
73B59958371947   MATT         BENKO                        CO     32000069583
73B5B132871921   CHRISTIE     LEONARD                      CO     90003441328
73B5B135372B44   KELLY        DUNCAN                       CO     33005741353
73B5B15545B347   LINDA        SMITH                        OR     44514351554
73B5B31A333699   DEVARUS      ARCHIA                       NC     90012933103
73B5B458991254   ZACK         LOWE                         GA     90014084589
73B5B743272479   JOHN         MCCORMICK                    PA     90000317432
73B6115355B347   ELIZABETH    HIRATA                       OR     90014571535
73B6154818B32B   TONI         BROWN                        SC     11021015481
73B61648431433   BILLY        WEST                         MO     90006116484
73B617AA872B32   CHRISTOPHE   BURRELL                      CO     33050497008
73B61A23484322   GUADALUPE    DE LA O                      SC     90014160234
73B61A9A157157   LINDSEY      DAHL                         VA     81016680901
73B62835544344   AYREN        MURRAY                       MD     82089898355
73B62855293739   QUIONA       SEWELL                       OH     90008478552
73B62A5365B59B   RIGOBERTO    IBUADO                       NM     90010060536
73B6316878B157   CORY         CARRIER                      UT     31096431687
73B6334A672B87   OCTAVIA      NORMAN                       CO     90010413406
73B63673355939   CRISTINA     LUNA                         CA     48029326733
73B6386935B59B   ANGELO       FIERRO                       NM     90012778693
73B6391499154B   MARIE        FLORES                       TX     90012529149
73B63A98971921   BRANDY       LANGE                        CO     90013080989
73B6419685B225   ANNA         COOK                         KY     90000791968
73B64231961971   AGUIRRE      SAMANTHA                     CA     46025492319
73B6426118593B   EMMA         JUSTICE                      KY     90006452611
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 801 of 2350


73B6433A39154B   EDGAR           RODRIGUEZ                 TX     90013203303
73B64466331435   KENYA           WHITE                     MO     90013684663
73B6454775B347   JOSE            CASTANO                   OR     90002745477
73B64744655939   AMBER           AGUIRRE                   CA     90008887446
73B6493687B661   KISA            TARVER                    AL     90001109368
73B64A7918B168   TERRY           LACRUE                    UT     31002180791
73B65295733698   TIMOTHY WAYNE   PURDUE                    NC     90009992957
73B6588678B32B   JOY             EWING                     SC     11046128867
73B663A2171921   BRITTANY        WELCH                     CO     32000963021
73B666A4241237   JESSE           FISCHER                   PA     51076226042
73B669AAA72B25   SARA            CARDOVA                   CO     90014939000
73B6731985B59B   DAN             MOORE                     NM     90012603198
73B67459A8B157   AGUSTIN         MATA                      UT     90007874590
73B67593441227   CONROY          GRIFFIE                   PA     51087435934
73B67755572B32   MARI            LOPEZ                     CO     90009197555
73B6853496184B   TINA            WILMINGTON                IL     90014235349
73B6885138593B   BRENDA          ROSS                      KY     66014018513
73B68A76171928   RONTAE          JONES                     CO     90013220761
73B6927AA8593B   BUTCH           STANFIELD                 KY     90007942700
73B694A7472B87   JOSE            JIMENEZ                   CO     90009084074
73B6958715B596   VERONICA        CASTLEBERRY               NM     90004915871
73B69795891827   KELLY A         MCCURLEY                  OK     90010987958
73B69834555936   JUAN            VELASQUEZ                 CA     90009798345
73B699A7255966   LARISSA         RENTERIA                  CA     90014419072
73B6B141941253   VANCE           ALLEN                     PA     90014521419
73B6B874793739   ROBERT          ELLIOTT                   OH     90002278747
73B6B97652B994   VALENTINE       MATHANGANI                CA     90013979765
73B7137675B59B   JOSEPH          GONZALES                  NM     90008163767
73B71449431433   CANDICE         BELGER                    MO     90013224494
73B71597741237   LACRECIA        SUMMERVILLE               PA     51015245977
73B71734671947   GUILLERMO       PINEDA                    CO     32052107346
73B71748872B87   KENNETH         RYAN                      CO     33088567488
73B71A3A181255   LATOSHA         ALLEN                     KY     90001920301
73B71A74471921   JACKIE          TALLEY                    CO     32082330744
73B7214942B271   SAMUEL          THOMAS                    DC     90015081494
73B7249A72B994   ASHELY          TAYLOR                    CA     90007364907
73B7261A272479   ROBERT          KENDALL                   PA     90011906102
73B72675333698   MATHEW          CAGLE                     NC     90009556753
73B72998455939   VIVIANA         MARTINEZ                  CA     90009239984
73B72A28972B32   LASHEA          EILAND                    CO     90012640289
73B72A66831432   ISAAC           MONROE                    MO     90013780668
73B731A287B477   JONATHAN        MORALES                   NC     11085211028
73B7327364B553   ALFREDO         CABRALES                  OK     90003022736
73B7385722B29B   ERLINDA         MARQUINA                  DC     90008698572
73B73869993739   LAWANDA         WATKINS                   OH     64519948699
73B73963255939   SYLIVIA         AYALA                     CA     48055189632
73B73A61257157   ILIR            BOCI                      VA     81068870612
73B74199A8593B   DEREK           POSEY                     KY     66053981990
73B74391772B29   FERD            CHAVEZ                    CO     90008013917
73B74458A2B994   MICAELA         ESTRELLA                  CA     45007834580
73B74953555966   GERARDO         INIGUEZ                   CA     90013209535
73B75132372479   HEATHER         MOCK                      PA     90008501323
73B756AAA55939   CAMILO          RODRIGUEZ                 CA     90015176000
73B75781941227   TERRI           GILPEN                    PA     51013967819
73B7647768B168   BRANDON         CANDELARIO                UT     90012664776
73B76966A71947   DESTRY          MARTIN                    CO     32086109660
73B77657684322   MARIA           REYNOSO                   SC     14590716576
73B78555672B29   MARISSA         BLAKE                     CO     90001185556
73B78A1815B59B   DARRYL          SCHMIDLIN                 NM     90005300181
73B791A7541227   RYAN            HECKER                    PA     90012051075
73B79264672B44   RONALD          MCARTHY                   CO     90011422646
73B79311171947   DAVID           BOWEN                     CO     90007963111
73B799A458B157   ANDY            ALLEN                     UT     31003529045
73B79A12481255   JOSEPH          WILLIAMS                  KY     68038470124
73B7B27785B347   RICHARD         BAKER                     OR     90010432778
73B7B575272B29   PARICIA         SALCEDO                   CO     33088345752
73B7B854671921   BETHANY         ZUBEK                     CO     90013128546
73B8146148B134   MARK            MORENO                    UT     90005864614
73B81827272B87   PAUL            TRUJILLO                  CO     90014678272
73B81954493739   CHRISSY         HATFIELD                  OH     90014599544
73B82286A31432   SHEMARCEL       ROBERTSON                 MO     90009722860
73B82487261984   MICHELLE        TAYLOR                    CA     46014424872
73B82494233B34   SAMANTHA        ROJAS                     OH     90015044942
73B8266285B347   DAVID           ALLEN                     OR     90002586628
73B82666472B44   MELISSA         MARIE-MILLER              CO     90006076664
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 802 of 2350


73B82A26284322   RUDOLPH      SIMMONS                      SC     90012400262
73B83182172B87   MELVIN       SCOTT                        CO     33087791821
73B833A5A72B29   ISRAEL       NORIEGA                      CO     33062633050
73B83714455947   ISMAEL       FLORES                       CA     90014137144
73B837A318B134   BRIDGETT     BLATNICK                     UT     90013227031
73B84434272479   ERIN         HESSE                        PA     51084234342
73B8446198B163   ANTHONY      MENDEZ                       UT     31089034619
73B84959172B32   CHARLES      MCCANDLESS                   CO     33028589591
73B87611272B87   YADIRA       PONCE                        CO     90009876112
73B8832A884322   EMILY        WILLIAMS                     SC     90006983208
73B88337A8B142   RAIN         RIGBY                        UT     90002553370
73B88412872421   KYLE         BUCHKO                       PA     90010654128
73B88665471921   RAYMOND      ARCHULETA                    CO     90014286654
73B88716A4B976   TIFFANY      PFLIEGER                     TX     90014237160
73B88A1275B59B   BERNADETTE   MARQUEZ                      NM     90011300127
73B88A3998B142   CYNTHIA      RIGBY                        UT     31027370399
73B88A8258B168   ARNULFO      ESPARZA                      UT     90006620825
73B88AA6641253   WILLIAM      RUMP                         PA     51087750066
73B8948215B229   KENNETH      MCKAY                        KY     68091784821
73B897AA172B32   TIM          GOWDA                        CO     90012747001
73B89AA635B384   ADRIANA      MACIAS                       OR     44556470063
73B8B89145B347   MELANIE      HICKS                        OR     90006108914
73B9116442B994   CHRISTINA    ALVARADO                     CA     90013131644
73B91278271947   CAROL        DYKHOFF                      CO     90012442782
73B9298A893739   TANIA        TENEZACA                     OH     90014909808
73B93132757157   ABNER        CABRERA                      VA     90001011327
73B9338A75B59B   DOMINGUEZ    GONZALO                      NM     35005603807
73B9383A531443   CALEB        JOHNSON                      MO     90001038305
73B93934793739   FAITH        DARR                         OH     90010419347
73B93955755939   ANGELA       ANIAG                        CA     90013759557
73B94349A31432   TANARRAH     MOSBY                        MO     27567573490
73B94428A7B398   CAROLINA     FERRERAS                     VA     90000264280
73B9451A77B661   VALERIE      FLEMMINGS                    GA     90007895107
73B9474538B163   BARBARA      MAGALLANES                   UT     90014657453
73B94767657157   JOSE         MONTOYA                      VA     90004327676
73B9492487B477   FREDY        VILLALVA                     NC     90011189248
73B94AA8271921   JONATHAN     FITZGERALD                   CO     90012190082
73B951AA18B142   STACEY       YOUNG                        UT     90015161001
73B95777972421   JOHN         COLON                        PA     51055527779
73B96133641227   JAMES        AMENDOLA                     PA     51068491336
73B963A3772B87   JAZMIN       SEGURA                       CO     90010413037
73B965A6831433   JALAL        EASTERLING                   MO     90012995068
73B9671548593B   BRANDI       BENNETT                      KY     90013457154
73B96997572441   CYNTHIA      CONNER                       PA     90001669975
73B9715118B142   REX          MUHLESTEIN                   UT     90013781511
73B97329A72B87   SALEMY       FLORES                       CO     33015313290
73B97A21A55966   LUCY         FIERRO                       CA     90014420210
73B97A9135B59B   ANDREA       JARAMILLO                    NM     90010820913
73B9876AA8B168   JOANNA       HOLT                         UT     90002527600
73B99172191521   WENDY        DENNIS                       TX     90014051721
73B9957A272B44   JESUS        RIVAS                        CO     33047795702
73B99686772B29   TONI         GONZALES                     CO     90003046867
73B99913631432   VERONICA     LOW                          MO     27563549136
73B9B164272B87   QIUANNA      MINGO                        CO     90002931642
73B9B362793739   ANDREA       HALL                         OH     64563843627
73B9B862A8B134   AURA         GUTIERREZ                    UT     90012538620
73B9BA12433698   CANDIDO      LEYVA                        NC     90010950124
73BB222145B59B   LEEANNE      PANKEY                       NM     90009272214
73BB255225B596   LEONEL       CABRAL                       NM     35056955522
73BB2564371921   MICHELLE     GOWER                        CO     90008565643
73BB259268B163   ERIC         ROSANBALM                    UT     31084235926
73BB3696272B32   LYNNETTE M   POWELL                       CO     90008246962
73BB375A284322   MARICELA     ESPINO                       SC     14509037502
73BB3784255939   EMILY        FERNANDEZ                    CA     90006887842
73BB3A37171947   MICHELLE     BRYANT                       CO     90010560371
73BB415199132B   SHARON       ANAYA                        KS     29040751519
73BB468718593B   ERIC         CROUT                        KY     66017326871
73BB47A4963635   JULIE        SMOCK                        MO     27588567049
73BB4968755947   ASUNCION     REYES                        CA     90011909687
73BB4A47541227   MARTY        RYAN                         PA     51085620475
73BB5259272B44   LETICIA      RIVERO                       CO     33055672592
73BB5469185945   ANNETTE      REID                         KY     67020054691
73BB54A7555947   KATHY        BOURBON                      CA     90004094075
73BB5628A55966   GERALDINE    MEJIA                        CA     90011726280
73BB5758672441   DOMINA       MOYE                         PA     51030907586
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 803 of 2350


73BB65A468B134   RUSSELL      THORNWALL                    UT     90013015046
73BB6963784322   SUMMER       JENKINS                      SC     90014639637
73BB734225B347   GINA         EASTER                       OR     44587953422
73BB7418671947   ANTONIO      RUEDA                        CO     90015224186
73BB744645B59B   DIANA        HERNANDEZ                    NM     35043434464
73BB7453471921   DERRICK      BOSCH                        CO     90014744534
73BB761949154B   SASHA        RODRIGUEZ                    TX     75075086194
73BB76A7751378   COREY        TINSLEY                      OH     90004046077
73BB818465B225   ALICE        PEYTON                       KY     90002991846
73BB8517471921   OMAR         TOVAR-LUCIO                  CO     90014255174
73BB8736655939   JANICE       STEWART                      CA     90014367366
73BB8841272B87   JAMES        FAMBER                       CO     90014988412
73BB9978385945   STACEY       WILSON                       KY     67013009783
73BBB145733699   JUANA        HERNANDEZ                    NC     12095911457
73BBB47178B168   WALTER       RUALES                       UT     90014434717
73BBB676193739   CHEYENNE     JONES                        OH     90014816761
73BBB78A75B596   MARIA        GONZALEZ                     NM     35080517807
74111A79972B29   DAVID        REEVES                       CO     90009850799
7411245A88B142   MOSES        GOMEZ                        UT     90010774508
74112592172B91   AARON        TORRES                       CO     90011195921
741136A852B994   DANIEL       SMITH                        CA     90013496085
74115777827B98   LAURIE       WHARTON                      KY     90009427778
7411673A231443   ROZETTA      WILLIAMS                     MO     90013937302
7411691483168B   BYRON        REDD                         KS     90014009148
74116A35993726   STACY        CRISWELL                     OH     90010170359
741176A548B168   ARELY        SANDOVAL                     UT     90009196054
7411791198B142   KYLE         PIEP                         UT     90008119119
741181A1A72B91   CIRILA       VASQUEZ                      CO     33077511010
74118231172B98   LUIS         AGUIRRE                      CO     33069052311
7411839273168B   TIMOTHY      SPANGLER                     KS     22022043927
7411876A55B59B   ALVARO       GARCIA                       NM     90014147605
7411955A271921   PATRICIA     DAVIS                        CO     32006245502
7411B614551323   BRIAN        BRANDENBURG                  OH     90014466145
7411B762155939   VIVIANA      RIZO                         CA     90011427621
7411BA4A472B29   ROSENDO      QUIROGA                      CO     33023800404
74121734A7B495   DARLENE      ARDREY                       NC     90014807340
74121A12993726   WENDY        OLIVER                       OH     90015210129
74121A18841237   JOHN         DELL                         PA     51089330188
7412365528B163   THOMAS       HUNTER                       UT     90013356552
74123785272B29   JUDE         KONRAD                       CO     90011417852
7412458553168B   AMBER        COOPER                       KS     90003245855
7412474539154B   MAYRA        RENTERIA                     TX     90009197453
74124973372B44   ASMA         MENNANA                      CO     90002489733
7412522187B477   KEVIN        HILTY                        NC     11084782218
74125381A72B44   DIANA        FUENTES                      CO     90010583810
7412548258593B   ASHLEY       HALL                         KY     90011104825
7412554939154B   ROMAN        PENA                         TX     90012405493
7412623A155939   JORGE        CASIAS                       CA     48069992301
74126A7938B163   JEFFERY      AVERETT                      UT     90015250793
7412722162B994   ELYSE        GITTENS                      CA     90013972216
7412749198B142   RONELLE      ROSEN                        UT     31090434919
7412783998B163   DONALD       ANDERSON                     UT     31028828399
7412815462B994   ZIMA         COUSIOLLAS                   CA     90013751546
74128397172B37   ROBERTO      GARCIA                       CO     33058763971
7412871758B163   VIRGEN       DEL TORO                     UT     90011437175
7412886695B59B   ELISA        ANDAZOLA                     NM     90010288669
74129781672B32   BARBARA      TRIMBLE                      CO     33090957816
7412B236A72479   DAVID        WOZNIAK                      PA     90014032360
7412B24723168B   JUDY         ELLIOT                       KS     90012612472
7412B6A155B225   AC           SNAPP                        KY     90005366015
7412B997272B29   ROSA         PEREZ                        CO     33095719972
7413162179154B   MANUEL       MARES                        TX     90004186217
741316A935B59B   STEVEN       DUTCHER                      NM     35020156093
7413189933B342   FRANK        RODRIGUEZ                    CO     33029838993
74131A6A98593B   TIFFANY      MUHR                         KY     66017700609
74131AA955B384   ALEXIS       HAMILTON                     OR     90003030095
74132433972B44   JUSTINO      GAMA GOMEZ                   CO     90007854339
7413293A98B168   MICHAEL      MACFARLANE                   UT     90010589309
74132AA719154B   ARACELI      JARAMILLO                    TX     90003180071
7413315847B426   COLLEEN      MURRAY                       NC     90013251584
741332AA172B44   ANTHONY      MENDOZA                      CO     33057692001
74133414672B87   JOSEPHINE    ARCHULETA                    CO     33046014146
74133833A8B157   JORGE        GUERRERO                     UT     90013638330
74134561872B87   MARISOL      CORTEZ                       CO     90007435618
74135135572B37   BREENYN      GEYPENS                      CO     90013781355
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 804 of 2350


741352A4431433   DAPHNE             BROWN                  MO     90006242044
7413545238B168   KAIKA              DROLLINGER             UT     31098134523
7413677A893739   MELENDEZ           WARENNITA              OH     90004967708
74136A6358B157   BOBBY              LETTMAN                UT     90012920635
74137822A8593B   REBECCA L.         SCHILL                 KY     66091438220
74138565A3B35B   PATTY              PFINSTEN               CO     90006475650
7413863A733698   JAMES              TILLMAN                NC     90014726307
7413936478B163   COLLIN             STRICKLAND             UT     90014623647
74139761376B27   URIEL              MALDONADO              CA     90003317613
7413982618B142   TRACY              WILLIAMS               UT     90001238261
7413B15148B134   JOSE               CARMONA                UT     90010081514
7413B283172B37   ARIANNA            TRUJILLO               CO     90012762831
7413B34179125B   DEBBIE             CURTIS                 GA     14592033417
7413B43245B59B   MIRNA              CARAVEO-CONTRERAS      NM     90012704324
7413B56A65B225   JESSICA            HUNTER                 KY     68049005606
7413B592A31432   ED                 VELASQUEZ              MO     90009235920
7413B846541253   KELLIN             SWAIN                  PA     51014958465
7413BAA1172B37   CHOMPHET           LY                     CO     90010350011
741412A252B994   SUE                OIEN                   CA     90003432025
74141577472B44   STEPHANIE          FRANSUA                CO     90014775774
7414176148B163   AYMEE              RACE                   UT     31021957614
74144131772B29   JEREMIAH           CHILDS                 CO     90008811317
74144228472B44   CARMEN             PALOMARES              CO     90010332284
74144394997B21   JESSICA            TAPHORN                CO     90013203949
7414523AA55939   OMAR               GARCIA                 CA     90013502300
7414531678B134   AUBRIE             SLOAN                  UT     90009513167
7414545418593B   RUTH               GARNETT                KY     66022294541
7414572355B384   CRYSTAL            STRIETZEL              OR     90006457235
74145759572B37   SAMANTHA           PENNINGTON             CO     33005007595
741457A3757147   STEPHANIE          LEMUS-ORTIZ            VA     90008777037
7414632A493726   ANNE               KING                   OH     64509013204
7414711A355939   ARTURO             RODRIGUEZ              CA     90010871103
7414725327B477   RUBEN              PATINO MARTINEZ        NC     90014592532
7414843268593B   TRAVIS             ARNOLD                 KY     90014474326
7414891A372B37   ALEXIS             SPITZNOGLE             CO     90001919103
7414892848B142   CARRIE             CLYDE                  UT     90000959284
7414971698B142   ZACH               FOWLER                 UT     90015597169
741498AA83168B   JUQUEE             GREEN                  KS     90012828008
74149A77A5B59B   GENEVA             CHAVEZ                 NM     90015120770
7414B194593726   SHELBY             SCHMITTEL              OH     64572481945
7414B497172B29   TINA               LUCERO                 CO     90012234971
7414B534481643   EDWARD             WRIGHT                 MO     90006645344
7415242729154B   JUANA              CAZARES                TX     90013804272
7415252A13168B   ROBERT             GRUBE                  KS     90000665201
7415271A172B32   JOSE               BRENAL                 CO     90011687101
74152832872B44   PATRICIA           PALACIO                CO     33068798328
74152A4648B163   MARGARITA          RODRIGUEZ              UT     90007470464
74152AA9333698   MEONICA            MCINNIS                NC     90011230093
741533A775B59B   JUANITA            RODRIGUEZ              NM     35097253077
7415564945B225   KRISSI             PIPPON                 KY     90015446494
7415673767B477   SHIRLEY            ALEXANDER              NC     90011317376
7415689359154B   RICARDO            RIVERA                 TX     90014118935
74156A33A31432   TEAONA             GARRETT                MO     90014770330
74156A6668B134   DOMINIQUE          LETULI                 UT     90012600666
7415728897737B   SAVANNAH           GREEN                  IL     90015462889
7415729588593B   CHRISTOPHER        LAUDICK                KY     90012862958
7415796562B994   SONIA              HERNANDEZ              CA     90011749656
741585A8393739   KARLA              GARFIAS-CHAVEZ         OH     90014565083
7415874299154B   TRANS FRONT        INC                    TX     90013707429
74158A5145B59B   MICHAEL            SENA                   NM     90011140514
7415978619154B   GUILLERMO          LOZANO                 TX     75075717861
7415B25A28B134   ALEJANDRA          ACOSTA                 UT     90011382502
7415B44458B163   FERMIN             RAMIREZ                UT     31058214445
7415B499872B32   MARISOL MARTINEZ   RAMOS                  CO     90011964998
7416121268593B   KIMBERLY           HOFFMAN                KY     90009162126
7416131295B55B   RICARDO            OJEDA                  NM     90007023129
741615A2133698   JAMES              WILSON                 NC     90002445021
7416174A55B384   JEREMY             WHARFF                 OR     90001387405
74161A3988B157   DAVID              THOMAS                 UT     90000630398
74162AA2A8B163   ERIC               WOOD                   UT     31089180020
7416367993168B   TROY               DECKER                 KS     90014136799
7416377778B142   JESSICA            HARO                   UT     31053977777
7416382A431432   CINDY              AYRES                  MO     90008768204
7416426547B477   MISAEL             REYES                  NC     11042512654
7416436883B136   ANTHONY            COCHRAN                DC     90001173688
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 805 of 2350


741644A1471948   BENJAMIN          KING                    CO     32012424014
741653A9572B87   TINA              TRUJILLO                CO     33067843095
7416555825B59B   JAIME             CARDENAS                NM     90011665582
7416592AA5B332   ALONZO            DAPYER                  OR     90012729200
74165AA5193739   JUAN              DANIEL                  OH     90011450051
741662A155B225   JEFF              HARLEY                  KY     68061712015
74166438772B31   LAURA             CASFRUITA               CO     90003424387
741669A863168B   DAVETTE           ADAIR                   KS     90010439086
74167227836B97   APRIL             MOORE                   OR     90006762278
7416732A127B98   BRANDIE           HOOVER                  KY     90007053201
7416768765B225   MARIA             HERNANDEZ               KY     90013736876
74167828372B29   MICHAEL           GUILFORD                CO     33067848283
741679A915B59B   MARY              PACHECO                 NM     90000479091
74167A2143168B   SHELENA           TREZVANT                KS     90002680214
74167A6848593B   JASON             SIMS                    KY     66007210684
7416844328B142   JANELLE           COX                     UT     90008954432
741686A2872B44   CLAUDE            BURG                    CO     90014826028
74169488172B32   CHRISTOPHER       GALLEGOS                CO     90014134881
74169A9692B994   ZACHARCY          HOLDER                  CA     45016010969
7416B2A5331433   ESTHER            BREFFORD                MO     90014702053
7416B31848593B   RONALD            THOMPSON                KY     90015203184
7416B33268B163   BRANDI            ARNOLDUS                UT     31007063326
7416B498672B32   CHRISTIAN         MACHADO                 CO     90013004986
7416B611872B37   CARLOS            FUENMAYOR               CO     33057616118
7416B96417B477   SHANIRA           STROMAN                 NC     90015129641
7417121535B59B   BARBARA           QUEZADA                 NM     35016302153
74171587872B29   NICOLAS           BERNAL                  CO     90008795878
7417162A472B37   LUIS              ARRELLANO               CO     33087266204
74171793972B87   HENOCH            PLAYAS-PONCIANO         CO     90014497939
741722A2772B87   JOSEPH            ROMERO                  CO     90012632027
741728A469154B   BONILLA           MARTA                   TX     90005408046
74172A43393747   ANNA              HARRIS                  OH     90004780433
741733A892B994   JUAN              SOTO                    CA     90013663089
74173521A9154B   FRANCISCA         CORRALEJO               TX     90014625210
74175675872B29   MICHELLE          FORTE                   CO     90007976758
74175758772B32   RONALD            CATHCART                CO     33076387587
7417575A271921   DON               DURRANCE                CO     90013647502
7417592A281643   LISA              FULTE                   MO     29046669202
74176912A9154B   ERIKA             ROMERO                  TX     90010729120
7417732727B477   TERESA            PASTULA                 NC     90008063272
74177458172B37   VIRGINA           LANGE                   CO     90015334581
7417755945B384   BENJAMEN          JELDERKS                OR     90010675594
74177871A7B477   OSCAR             QUINTANILLA             NC     90014948710
74178216772B44   JORGE             MEJIA                   CO     90001142167
7417836A131443   JUZZTON           HILL                    MO     90014313601
7417839A42B271   MAURICE           KINARD                  DC     81014153904
74179372A31443   JONATHAN          POWELL                  MO     90014703720
7417B41775B59B   JASON             ROMERO                  NM     90003164177
7417B987472B44   GENESIS           RIVAS                   CO     90012809874
7417BA9947B454   TIFFANY           PEGUES                  NC     90010000994
7418156458B163   LETICIA           MARTINEZ                UT     90007605645
74181929A72B25   RAYMONE           BYRD                    CO     90001709290
74181997672B44   ROMAN             MILLER                  CO     90012809976
74182358972B37   KHARISSA          MOORE                   CO     90005963589
741824A3731432   RENA              SIMMONS                 MO     27569174037
7418252965B541   JOE               TRUJILLO                NM     90014525296
74182597272B32   NATALIE JILL      CISNEROS                CO     90011085972
741829A977B477   DAVID             CARLOS                  NC     90015499097
74182A21172B44   BART              GOLDING                 CO     33057690211
74182A92872B87   REFUGIO           ZAVALO                  CO     33064830928
7418321718593B   HENRY             STULL                   KY     90014612171
7418337998B157   JESSICA           CATROW                  UT     90014713799
74183476672B32   MARIA             HEREDIA                 CO     33010454766
74184479172B87   WATTERS           STANLEY                 CO     90013894791
74185452772B32   TIMMATHY          MILLER                  CO     90014224527
74185775872B22   OLIVIA            CASTILLO                CO     90009517758
74185849872B32   TIMMATHY          MILLER                  CO     90013038498
741861A9855939   MARI DE LOURDES   CEDENO                  CA     90010611098
7418648665B59B   RASHID            PORTEE                  NM     90012014866
74186512A93726   TIMOTHY           GOSS                    OH     90014485120
74186957A85945   HENRY             HAMBERG                 KY     67063129570
741877A8971921   CHRISTOPHER       KENDALL                 CO     90009157089
74187A3388B157   CLEO              TAGGART                 UT     90007570338
7418987465B225   TYRONE            JONES                   KY     90015138746
7418B355572B32   AMANDA            ATTFIELD                CO     90013273555
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 806 of 2350


7418B63167B46B   TRACIE       RANKIN                       NC     90011686316
7418B83A25B395   CARO         CREMONIA                     OR     90006728302
7418B881955939   LETICIA      SALAZAR                      CA     90001758819
7418B9A5A8B142   ROBERTO      SERRANO                      UT     31091399050
74191154272B32   LYNN         SCHURR                       CO     33070671542
7419211138B157   JON          OLSON                        UT     90007771113
7419232279154B   BRIDGET      BELLE                        TX     90009193227
7419232783168B   ERIKA        MORALES                      KS     90007323278
7419249A58593B   TERRY        HURST                        KY     66045224905
7419267627B477   ARACELY      RIVERA                       NC     90009096762
7419311A872B32   JOSHUA       ADAMS                        CO     33006441108
7419356685B225   KRISTAL      MONTOYA                      KY     90007305668
7419375382B994   SIMRAT       GHAI                         CA     90012547538
7419385345B59B   JOSE         SOLIS                        NM     35036848534
74193A12661967   JOHN         JOHNSON                      CA     90008620126
7419416558B168   KEVIN        TIDWELL                      UT     90011761655
7419433318B142   VICKI        ASH                          UT     31048563331
74194462A93739   ALLISON      CANTRELL                     OH     90014704620
7419553A855939   ALICIA       GOMEZ                        CA     48079015308
7419599A472479   SHANAE       BISH                         PA     51006429904
74195AA5272B44   WILLIAM      NEWTON                       CO     90012810052
7419616558B168   KEVIN        TIDWELL                      UT     90011761655
74196471772B44   CAIN         KELMAN                       CO     90013674717
74196746272B32   FRANCINE     CARDONA                      CO     33014447462
74196857527B98   CHAMICA      DAVIS                        KY     90010588575
74197132872B87   HECTOR       SANTANA                      CO     90012481328
74197A42572B29   SHANE        MCFARLAND                    CO     90009180425
74198211972B32   RUBY         MUSSO                        CO     33039492119
7419916399154B   JOSE         BARBOSA                      TX     90006981639
741994A5572B44   MAURA        JAUREGUI                     CO     33078074055
7419955238B157   TIFANI       JENSEN                       UT     90000545523
7419964888B168   TORI         CARTER                       UT     31061436488
741996A7771921   ALMA         SANCHEZ                      CO     90013646077
7419B88667B477   CHERIE       FERRANTELLO                  SC     11094628866
7419BA53185945   GENARO       MORALES                      KY     67014490531
7419BA82893726   REGINA       CLAY                         OH     64538630828
741B1189172B29   FRANCISCO    SALAZAR                      CO     33012681891
741B2A4267B477   NELSON       QUINTEROS                    NC     90014750426
741B2AA1872B87   DONALYA      FARROW                       CO     90012780018
741B3129A72479   BRITTANEY    ALLEN                        PA     90002911290
741B3488A8B142   CADE         PRICE                        UT     90013434880
741B382395B279   ROBERT       DUVALL                       KY     90000488239
741B3956393726   MANUEL       BUCIO                        OH     90013929563
741B3A53233699   MONICA       WILKINS                      NC     12008460532
741B448898B163   CIBO         GWANKO                       UT     90014484889
741B45A678B142   DIANNA       PUTNAM                       UT     31003765067
741B4964993726   JORDAN       BEVERLY                      OH     90000179649
741B5125272441   LORA         LEICHLITER                   PA     90007821252
741B5441271921   ELICIA       PEREZ                        CO     90003594412
741B5484A72441   LORA         LEICHLITER                   PA     90014694840
741B58A275B384   KATHERINE    JONES                        OR     90013458027
741B6382471921   CESIA        VALDOVINOS                   CO     90006743824
741B6542131443   DEBOROAH     WILLIAMS                     MO     27560815421
741B692239154B   LUIS         PEREZ                        TX     90010559223
741B75A9A8B157   BRUCE        MURDOCK                      UT     90004325090
741B7635971948   KENNETH      HALSEY                       CO     32081906359
741B779488B142   CHRISTY      GILLIS                       UT     90002207948
741B7A15955939   ANTONIO      BRAVO                        CA     90009480159
741B7AA8472B87   COLEENE      WANSER                       CO     90011300084
741B8248A41237   LONNIE       JOHNSON                      PA     51028382480
741B829A872B37   STEPHEN      MOUNT JOY                    CO     90014742908
741B8322172B87   MICHEAL      CLIFTON                      CO     33076163221
741B84A588593B   DUSTIN       DILLION                      KY     90013774058
741B8525972421   KELLY        FENNELL                      PA     51039225259
741B8537133698   REGINALD     MEANS SR                     NC     12034675371
741B8929172B44   FERNANDO     MARTINEZ                     CO     33077869291
741B922887B477   FELICIA      GRANT                        NC     11028992288
741B9438972B32   DONALD       WECKMAN                      CO     90001584389
741B954768B163   RICARDO      PARTIDA                      UT     31087665476
741B9786285945   GABRIEL      BETANCOURT                   KY     90012117862
741BB459172B44   MARIA        CARREON                      CO     33000834591
741BB983541227   RONNESHA     LEWIS                        PA     51093539835
74211385A72B37   ALEXA        CORONA                       CO     90011643850
7421147428593B   PABLO        MORALES                      KY     90013774742
74212172472B37   KIMBERLY     PATERSON                     CO     90013801724
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 807 of 2350


742128A472B994   SARAH        GARRET                       CA     90013318047
7421332519154B   JUDITH J     PORTILLO                     TX     90013983251
74213688872B87   SANTOS       MAY                          CO     33071906888
74213A4415B59B   ANGELA       RAMIREZ                      NM     35058610441
74213A46472B44   LUIS         OLIVAS                       CO     90014880464
74213A88572B32   JOLYNN       BARTOLONI                    CO     33005130885
74214194A9712B   SIMON        MARTINEZ                     OR     90008931940
74214AA5455939   RICHARD      ALVARADO                     CA     48023000054
74215319372B25   GUADALUPE    PEREZ                        CO     90001143193
74215498A55939   CARMELA      FLORES                       CA     90014894980
74216126672B44   NINFA        MORENO                       CO     33017671266
742163A6A2B994   ANGELINA     WRIGHT                       CA     45075993060
742164A545B174   DANYEILL     DONAHUE                      AR     90012854054
74216526A93726   TONI         SHIVERDECKER                 OH     90014855260
7421751398B163   ROXANNE      CLAYTON                      UT     31010705139
74217A94972B37   MELONY       GALVAN                       CO     90014900949
7421841145B59B   MIREYA       VALAZQUEZ                    NM     90012444114
74218613272B29   DANA         PADRON                       CO     90013536132
7421923242B994   LETICIA      ARAMBULA                     CA     45043272324
742198A2672441   ANTHONY      SMITH                        PA     90010118026
7421B18899154B   ENRIQUEZ     NICOLE                       TX     90010561889
7421B365672B44   CYNTHIA      OWENS                        CO     90011033656
7421B59973168B   DOMONICA     FINCH                        KS     90011465997
7421B847272B87   DOUGLAS      THOMAS                       CO     90013918472
7421BA26955991   JOHN         SAAVEDRA                     CA     90001760269
742216A6A71921   DEIDRE       HICKEY                       CO     90014616060
74221878672B44   HELENA       DEHERRERA                    CO     90011378786
74222795772B44   JASON        MCCORMICK                    CO     90007467957
74222933972B29   NATHAN       HARRIS                       CO     33032059339
7422334898B142   CLAY         BOYD                         UT     90014663489
7422351518B134   BRIANNA      GALICIA                      UT     90009805151
7422365198593B   BENJAMIN     THOMAS                       KY     66008376519
742238A4133698   LINDSAY      WARREN                       NC     90015188041
7422434175B59B   ELIZABETH    BARNEY                       NM     35092983417
7422492A855934   YULIYA       KULCHITSKIY                  CA     90000469208
74225127172B44   ELIZABETH    HALL                         CO     33019431271
7422644A372B87   WILLIAM      KELLY                        CO     33096884403
742264A925B375   ROSA         ZEPETA                       OR     90003674092
7422741215B279   TROY         COLON                        KY     90001564121
7422771328B134   HOUSTON      NEFF                         UT     90014667132
74228199172B37   MIREYA       FERRALES                     CO     33017671991
74228438A31433   PAYGO        IVR ACTIVATION               MO     90013404380
7422875946198B   CATHERINE    SIMMONDS                     CA     46077007594
74229665772B44   JOHN         BEAULIEU                     CO     33032696657
7422B452A5B59B   JESSICA      LOPEZ                        NM     90014734520
7422B63753168B   TERRELL      WILLIAMSON                   KS     22078516375
7422BAA689154B   DANIEL       MARTINEZ                     TX     90000870068
7423133748B163   EDWARDS      HODGES JR                    UT     90013423374
7423221869154B   CRYSTAL      PAYAN                        TX     90014092186
7423281148B142   JASON        ADAMS                        UT     31097498114
7423398A55B225   MARIA        RODRIGUEZ                    KY     90014359805
742343A5541253   THERESA      BYRNE                        PA     51005583055
74234412A61924   ENRIQUE      LOPEZ                        CA     90014944120
7423442A641227   BREELA       DORSEY                       PA     90010454206
7423468765B225   MARIA        HERNANDEZ                    KY     90013736876
74234974A72B44   ERNEST       SMITH                        CO     90010959740
742353A475B225   CRYSTAL      BREWER                       KY     90014883047
7423543863168B   JUAN         FLORES                       KS     22096234386
74235465672B32   DIEGO        MARTIN                       CO     90010934656
7423694A28B163   SAUL         EPIFANIO                     UT     90010459402
74237545172B37   LOYD         DAGGS                        CO     33009435451
7423766A993726   JOSEPH       SARVELLO                     OH     64540086609
7423822857B477   DAVON        SMITH                        NC     90015322285
7423841728B134   MAKENNA      SNYDER                       UT     90014354172
7423949517B427   BLANCKA      MERIDA                       NC     90010744951
7423973A972B29   RYAN         OLSON                        CO     90013017309
74239999A72B37   HAROLD       ALLEN                        CO     90008489990
7423B14595B225   JUSTIN       NELSON                       KY     90010151459
7423B3A483168B   ATLENE       GARY                         KS     90000883048
7423B895585945   ALICIA       CARSON                       KY     90007758955
742415AA171921   TINA         FRANCESHI                    CO     32088365001
74241A3465B225   MARY         COOK                         KY     68072840346
7424242899154B   ROBERT       LEON                         TX     75006604289
74242836872B37   RON          MAUER                        CO     90005218368
74242A19351349   BRYANT       BEESLEY                      OH     90004240193
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 808 of 2350


74242A42A31443   KENDRA       HAMPTON                      MO     90004380420
74242A78193739   SANDRA       FLORES-NOLASCO               OH     64584030781
74242A92572B87   MORALES      JUANA                        CO     90009660925
74242AA2455939   AMALIA       AVILA                        CA     48078500024
74243348472B37   JENNIFER     REA                          CO     90004713484
7424353987B392   ELIZABETH    TADESSE                      VA     90001365398
74243786A31432   BYUNGHEE     PARK                         MO     90007687860
74243A98731443   RONNETTE     ADAMS                        MO     27523540987
74244197872B44   CARLOS       QUEZADA                      CO     33086171978
7424436445B59B   LUPE         VILLA                        NM     90005723644
7424542899154B   ROBERT       LEON                         TX     75006604289
7424579655B225   ERNESTO      CAMPERO                      KY     68092057965
7424731345597B   SERGIO       GRAJEDA                      CA     90009633134
74247722472B32   ALVARO       ZAMORA                       CO     90004467224
742479A1541237   CARLOS       HAWTHORNE                    PA     51037129015
74247AA2A71921   ROBERT       OTTO                         CO     90007290020
742483A2A93739   JENNIFER     HARRIS                       OH     90013023020
74248433672B44   LAURA        MONTES                       CO     90008364336
7424844562B994   JOSE         SANCHEZ                      CA     45081244456
7424847A631443   SEAN         BIELICKE                     MO     27525134706
7424884288B134   LORIE        SMITH                        UT     31067428428
74248872A93739   CHRISTINE    BURGETT                      OH     64539188720
7424895738593B   JEAN         CALLOWAY                     KY     66034989573
74249114A72B29   LAURA        BARRAN                       CO     90001651140
74249189A9154B   SANDRA       TORRES                       TX     90013301890
74249568A33699   JEREMY       SWAIM                        NC     12013195680
74249A12741253   BRYON        JEMISON                      PA     90014450127
7424B28115B225   STEPHANIE    HUNTER                       KY     68029162811
7424B656993739   JENNIFER     HARRON                       OH     90014846569
7424B7A6172B37   MICKEY       ARGUELLO                     CO     90014427061
74251262A7B477   JORGE        CASTILLO                     NC     90015402620
74251479772B44   LESLIE       RODRIGUEZ                    CO     90007654797
7425186739154B   LEONEL       ARMENDARIZ                   NM     75080348673
7425223719154B   RITA         LOPEZ                        TX     90012392371
7425243858B168   MICHAEL      FREDRICKSON                  UT     31006444385
74252911A55939   CLAUDIA      MUNOZ                        CA     90013639110
74253156472B32   SERGIO       QUINONEZ                     CO     90011491564
7425338298B134   BRENT        TAYLOR                       UT     31090553829
7425422145B59B   ANDRES       FLORES                       NM     35016442214
74254252172B87   JEREMIAH     COLLIER                      CO     90008742521
7425484A472421   NICHOLE      HAYNES                       PA     90015058404
74255423A55939   SABINO       MOLINA                       CA     90007354230
7425567429154B   VERONICA     VEGA                         TX     90014336742
74256368972B32   RICHARD      MARION                       CO     33025543689
7425683947B477   CHERYL       CLEMMONS                     NC     90013478394
74256991172B37   ROBIN        RANSOM                       CO     90008149911
74256A25A8B163   ANTONIO      ALVAREZ                      UT     90008530250
7425773645B384   SARAH        LLEWELLYN                    OR     90002967364
7425773AA3168B   FRANSICO     RIOS                         KS     90013167300
74257A3A172479   CARLA        RUNFOLA                      PA     51029660301
74257A5A65B225   SEAN         COLYER                       KY     90014120506
74258497672B37   JEREMY       ABEYTA                       CO     90001684976
7425898968B142   CAMERON      WINGET                       UT     90012719896
74258A6757B477   KEVIN RYAN   GREEN                        NC     90007750675
7425958998B134   ALICIA       CHACON                       UT     90015585899
742596A6171921   ENOCH        ORGE                         CO     90012586061
7425988788593B   TIM          JONES                        KY     90005178878
7425B13975B59B   LARRIE       GURULE                       NM     35038191397
7425B24348B163   ADDISON      WHITFIELD                    UT     90012542434
7425B27294B293   LEENA        PUMEL                        NE     90009872729
7425B52799154B   DUSTIN       MILAM                        TX     90004175279
7425B74857B477   MARSHALL     ONEAL                        NC     11037157485
7425B979555939   RAMIRO       TELLES                       CA     90008179795
7425B979972B29   VALENTIN     LUJAN                        CO     90012869799
74261296872B87   ESTRELLITA   URBINA                       CO     33076162968
7426181AA41237   SHANIECE     JENNINGS                     PA     51012248100
7426186A533698   HOLLY        MCCOY                        NC     90011468605
74262A2638B142   RUBEN        CONTRERAS                    UT     90014770263
74263239A72421   RICK         CIRELLI                      PA     90013742390
7426399697B477   CLIFTON      COREGS                       NC     90001089969
74263A2615B225   RITA         CRAIG                        KY     68075610261
74263A6282B227   TAMMIE       FELDER-HERRING               DC     81016720628
7426458298B163   DONJUAN      JESUS                        UT     90014485829
742648A8455939   ISAAC        OSORNIO                      CA     48034738084
74264A9A972421   TRACY        THOMAS                       PA     90013900909
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 809 of 2350


7426587455B384   JEFFERY      WOODWARD                     OR     90004878745
742671A672B271   MICHAEL      NEAL                         DC     90002791067
74268718972B37   ABRAHAM      CUEVAS                       CO     90014527189
7426951843B325   KIMBERLY     CROY                         CO     33039365184
7426B21869154B   CRYSTAL      PAYAN                        TX     90014092186
7426B26895B225   BRANDON      WALTERS                      KY     90013062689
7426B275972B32   TIFFANY      WOODS                        CO     90014652759
7426B836893739   NICOLE       SNOUFFER                     OH     64580818368
7426B934855939   VIOLETA      CHAVEZ                       CA     90015449348
7426B9A2272479   DAMIAN       WILLIAMS                     PA     90006009022
7427233288B163   HEATHER      SAXTON                       UT     90005913328
74272761572B32   CHRISTINA    DURAN                        CO     90013457615
7427378635B225   CHRISTY      LANGE                        KY     90013817863
7427489615B225   GABRIEL      FERNANDE                     KY     68033428961
7427529415B124   ALICIA       MARTINEZ                     AR     90011882941
7427533288B163   HEATHER      SAXTON                       UT     90005913328
742754A3572B29   JANAE        JACKSON                      CO     90011154035
742757A6572B44   XAVIER       ALVARADO                     CO     90013027065
7427645A29154B   ANA          ESQUIBEL                     TX     75093574502
7427691598B157   SIMON        ANAP                         UT     90013349159
742769A4231433   BERNADETTE   SMITH                        MO     90007209042
7427744345B28B   MATTHEW T    HUBER                        KY     90008594434
7427746658593B   MICHAEL      MCGILL                       KY     90014414665
742775A588B157   REBECCA      GALLEGOS                     UT     90009845058
74277871A31432   ANTONIO      WHITESIDE                    MO     90009328710
7427866747B477   RICKY        MCNIER                       NC     11091586674
74278731872B29   JACQUELINE   BOUGERE                      CO     33041037318
7427935788B142   RACHAEL      LAYNE                        UT     90011373578
7427967157B477   NATALIE      JENNINGS                     NC     90013016715
7427971444B267   BRITTENI     BRUNSON                      NE     27035387144
74279A71772479   JOHN         SACIK                        PA     90002950717
7427B254541237   SUSAN        SHARER                       PA     90014832545
7427B288793726   GARNETT      NEUKIRCHNER                  OH     90013962887
7427B597672B32   BOBBIE       WOOD                         CO     90011085976
7427B96A231432   PRESTON      GRAVES                       MO     90014799602
7427BA21391572   MARGARITA    CHAPA                        TX     90007720213
7428117A172B37   AMBER        BOWERS                       CO     90014971701
74281A54536B97   LACIE        CLARK                        OR     90013350545
7428241578B168   BRITTNEY     WARREN                       UT     90009464157
7428246828B163   KALPANA      BHATTARAI                    UT     90014924682
74282A37A8B157   CAMACHO      ALFREDO                      UT     31078150370
74284245472B29   ANGEL        BRAVO                        CO     33004542454
74284428A9154B   MARIA        MARTINEZ                     TX     75089014280
7428453518B142   DAVID        OLSEN                        UT     90014005351
7428616A672479   KATHLEEN     LUTES                        PA     90013471606
74286871372B29   ALEJANDRA    OCHOA                        CO     90002238713
7428732A58593B   CLAYTON      HOUSTON                      KY     66091073205
74287696172B87   RACHEL       BROWN                        CO     33015346961
7428819229154B   RICARDO      BECERRA MEZA                 TX     90014261922
74289123672B87   NICHOLAS     PAVLOVICH                    CO     90011961236
7428B386985945   KATRINA      ELLEGOOD                     KY     90005603869
7428B615A8593B   DARREL       STRUNK                       KY     90015506150
7428B675791892   ARILE        SILVA                        OK     90012626757
7428B753431432   CAQWEENA     SEALS                        MO     90004887534
7428B7A423168B   LUIS         OSUNA                        KS     90014547042
7428BA85993726   GEORGE       MARTIN                       OH     90010050859
7429138113168B   EDUARDO      BRAVO                        KS     90010353811
74292991A31433   BONITA       SCOTT                        MO     90014649910
7429299225B59B   MONICA       SANTOS                       NM     90014849922
7429328336195B   GUILLERMO    CANTUN - REYNA               CA     90006392833
7429356648B349   ISIAH        JAMES                        SC     90014105664
7429358718B163   LACYNTHIA    SPEAN                        UT     90014485871
7429381663B343   MARGE        RAPHAEL                      CO     33067328166
7429439417B477   ELISE        GORDON                       NC     11095443941
7429546278B142   SHERRI       FOWLER                       UT     90012784627
7429558718B163   LACYNTHIA    SPEAN                        UT     90014485871
7429644458B142   MANDY        SMITH                        UT     90012834445
7429695687B477   ROMANUA      JONES                        NC     11047959568
74296A51772B44   CELIA        FRAUSTO                      CO     90014000517
7429724618B168   LUIS         CERRITENO                    UT     90011152461
74297A19972B44   CHRISTINE    JACKSON                      CO     33093880199
74297A48A5B59B   DAMON        CADENA                       NM     90008210480
7429847399154B   AURORA       FLORES                       TX     75025994739
74298994772B87   KIMBERLY     WARREN                       CO     90014369947
7429922738B134   SARAHE       HUGHES                       UT     90012902273
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 810 of 2350


74299233A72B29   LEONELA       RODRIGUEZ                   CO     90012452330
7429972282B994   NICOLAS       FERNANDEZ                   CA     90014317228
7429B352772421   SHINAI        HUMPHREY                    PA     90011133527
7429B3A7172B32   MARISOL       ALVAREZ                     CO     90013823071
7429B59599154B   OSCAR         RIVERA                      TX     90012405959
7429B659631449   EZEQUIEL      BOLANOS                     MO     90004036596
7429B692755939   BRITTNEY      APPLING                     CA     48075946927
7429B712A72B32   SARA          ROSALES                     CO     90009797120
7429B75A831432   TSHEKA        SMITH                       MO     27558977508
7429B84168B157   MARIO         ARCHULETA                   UT     90010068416
7429B993A72B87   MARK          ARAGON                      CO     90002229930
742B14A788B142   CHARLES       WOTEN                       UT     90012434078
742B163718B163   DAMIAN        FERNANDEZ                   UT     90008646371
742B1882485945   KRISTIN       HELENBURG                   KY     67091658824
742B245819154B   CRISTIAN      AGUILAR                     TX     75052074581
742B2544972B29   BENJAMIN      GARCIA                      CO     33009775449
742B2633255939   JUVENAL       MENDOZA                     CA     90012996332
742B3275984355   MELVIN        HOLLIDAY                    SC     90013632759
742B3523731433   SHERYL        FOSTER                      MO     90012605237
742B389468B134   ANGELA        DOMINGUEZ                   UT     90002038946
742B3917A71921   YEEYAO        TAN                         CO     90009079170
742B397648B163   GABRIELLE     HEFFINGTON                  UT     90013689764
742B415265B225   MICHAEL       CASE                        KY     90015391526
742B4468A33643   TOMMY         BALDWIN                     NC     90013254680
742B47A6272B37   MARIA         PALACIO                     CO     90014427062
742B4958A71921   BRENDA        GALLEY                      CO     90010959580
742B513968B142   AMBER         CHIPMAN                     UT     31089531396
742B54A5293726   HANNAH        BREISCH                     OH     90000714052
742B554125B384   PEDRO         AGUILAR                     OR     44539005412
742B5549672B32   MAXIMILIANO   AVILA                       CO     90012895496
742B5797772B29   ALLISON       MARTINEZ                    CO     90012257977
742B6247672B29   CINDY         WOODMAN                     CO     33050682476
742B62A8231433   ISSAC         HARDWRICT                   MO     90013822082
742B6328372B44   ELISHA        ALCON                       CO     90015063283
742B66A8672479   JAMI          COOPER                      PA     90000826086
742B6AA5633698   ADRIAN        HIDALGO                     NC     90012790056
742B7246571921   LISA          KELSO                       CO     90014542465
742B74AA741253   KELLY         GRANT                       PA     90014614007
742B77A6872B29   BRIDGET       CHAPLIN                     CO     90002867068
742B8124672B87   CHRISTINE     PEREZ                       CO     90009181246
742B8675155939   ALVARO        VASQUEZ                     CA     90014696751
742B8964631433   DORCAS        REDD                        MO     27521189646
742B8A6355B59B   LAURA         GUTIERREZ                   NM     90011140635
742B9492162636   AMADOR        CONCHAS                     CA     90014784921
742B984375B225   JASON         BRUNER                      KY     68095068437
742B994A88B163   ANTONIO       HERNANDEZ                   UT     90010039408
742BB11A372B32   SEAN          MICHEAL-SUTLIFF             CO     33075441103
742BB84655B245   DANA          HOUSE                       KY     90009638465
742BB995355939   ISAAC         TIJERINA                    CA     90013529953
742BBA98872B44   GRACIELA      GONZALES                    CO     90002340988
7431136859154B   JOSE L        DOMINGUEZ                   TX     90013923685
743117A6472B44   MATTHEW       GOERTZ                      CO     33074107064
74311A35293726   TABATHA       BREWER                      OH     64553610352
74312374172B29   JUAN          AYALA GRIMALDO              CO     90014603741
7431256215B326   CAROLINA      DILLON                      OR     90010335621
74312A14131443   CEDRIC        BOYD                        MO     90010950141
74312A36A8B134   HAILE         HADDAS GEBREABZGI           UT     90013680360
74313439172B32   ELIZABETH     DIXON-MYERS                 CO     33084244391
7431486453168B   ARELIO        GONZALEZ                    KS     90013898645
7431515818B142   TROY          GERBER                      UT     90012171581
74315456972B29   H MARGARET    MULVIHILL                   CO     90010724569
743155A965B59B   HERRERA       REBECCA                     NM     35078515096
7431562A293739   MARY          CARTER                      OH     90014986202
7431613587B477   YESSENIA      RODRIGUEZ                   NC     90003991358
7431647318B157   BRANDON       BLACKSTOCK                  UT     90009744731
74316A6A98593B   TIFFANY       MUHR                        KY     66017700609
74316A81272479   DONALD        WIEDERSTEIN                 PA     51098590812
7431724A172B29   GINA          JENKS                       CO     90014112401
7431734395B591   NORMAN        QUIGGLE                     NM     90012613439
7431791565B225   ITZEL         GONZZALEZ                   KY     90012709156
74318177772B87   FRANCISCO     TABULLO                     CO     33041011777
7431929A433698   DERRICK       SILER JR                    NC     90008412904
7431934178593B   RAVEN         PANGALLO                    KY     90013393417
7431959173168B   DEBORAH       KOGER                       KS     90012905917
74319A8568B157   VALERIE       GEORGE                      UT     90002690856
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 811 of 2350


7431B112A8B142   DANA               CISTERNA               UT     31053211120
7431B141872B87   DORCAS             HERNANDEZ              CO     90012481418
7431B58718B163   LACYNTHIA          SPEAN                  UT     90014485871
7431B646372B29   HAIDY              CHAVEZ                 CO     33095266463
7431B721A72479   WILLIAM            PALMER                 PA     51033067210
7431B88335B59B   LUIS               LOPEZ                  NM     90011238833
7431BA29472B44   CRAIGS             NICHILSON              CO     90012810294
7432221178B142   AMANDA             BENNION                UT     31052602117
7432262178B163   DEBRA              ISBELL                 UT     90008586217
7432286316193B   LILIA              POMPA                  CA     90011808631
743228A955B59B   SUSAN              BARRETT                NM     90015168095
743231A2461951   CESAR              RODRIGUEZ-ORTEGA       CA     90011661024
7432329215B225   RUFINO             CRUZ BELLI             KY     90014952921
74323293A93739   RACHELLE           CANTRELL               OH     64538382930
7432351AA9154B   MIGUEL             ACOSTA                 TX     90009985100
74323681672B29   MICHAEL            DYE                    CO     90007226816
7432434A98B157   ANDREW             ENGLISH                UT     90013803409
74324A4A671948   SWAYER             CORINNE                CO     32063620406
74324A9612B271   YOUNG              MORRIS                 DC     90004730961
74325A9688B134   JED                R SKEEN                UT     90011870968
74326123A8B142   YADIRA             ANGEL                  UT     90014251230
74326151972B87   DENIS LEONEL       VACA GARCIA            CO     90012481519
7432615742B994   JUSTIN             JOHNSON-HASH           CA     90010181574
74327253972B44   MICHAEL            CRAWFORD               CO     90002532539
743286AA18593B   MACHELLE           MILES                  KY     90007976001
74328A33172B37   BENNY              SILVA                  CO     33098530331
74328A8929154B   ERICA              ROOK                   TX     90008090892
7432934998593B   WILLIAM            GROSS                  KY     66009973499
74329A1365B225   IDA                TAYLOR                 KY     90013990136
7432B18718B157   PAULIN             PARRY                  UT     90013421871
7432B4A4472479   RENEE              ALLEN                  PA     90012444044
7432B6A5131433   MARK               MEDCALF                MO     90013596051
7432B757772B44   MIKEY              GOMEZ                  CO     33077707577
74331116572B29   CESAR              RAMOS                  CO     90014911165
7433112539154B   JUDITH             MACIAS                 TX     75050301253
743311AA18B134   JULIA              JORDAN                 UT     90000911001
743315A9772421   MAX                MCNEILLIE              PA     90013575097
7433223749154B   MARK               SAVEDRA                TX     90008722374
743323A9731432   PAYGO              IVR ACTIVATION         MO     90013633097
7433287A25B59B   ILSIA              ROBLES                 NM     90010398702
7433348457737B   JASON              SLAUGHTER              IL     90015384845
7433355148B157   JERRY              BRADY                  UT     31020705514
7433366298B163   REBECCA            MORI                   UT     31048336629
74333A51933698   ROBIN              RILEY                  NC     90007940519
74334383A8B163   FLORA              BECKSTROM              UT     31054533830
7433449658B142   JORGE              SANCHEZ                UT     31029474965
74334973372B87   JOSE LUIS          SAENZ                  CO     33071899733
74335512672B37   WANITA             ARCHAMBAULT            CO     90014445126
743358A448B163   JESSIE             CORDOVA                UT     90013068044
743368A6493739   CLAUDE             THOMASON               OH     90010318064
7433697258B142   KEVAN              JAKEMAN                UT     31046609725
74336A55255931   JANET              SANTOS                 CA     90011410552
743374A299154B   LINDA              JASSO                  TX     90013574029
7433766AA2B994   IGNACIO            ROBLES                 CA     90012076600
74338692172B32   WALTER             SEEGRIST               CO     33007396921
74338A21431433   TAMECA             WALKER                 MO     90011340214
7433911A58B157   ALISHA             BUTTERFIELD            UT     90012361105
743393A738B134   JEREMY             NORDAHL                UT     90015083073
74339489772B29   ARIEL              ARMIJO                 CO     90007654897
7433962818B163   ALICIA             RESENDIZ               UT     90014486281
7433966578B157   RENEE              LAGRANT                UT     90014856657
7433966665B59B   ALFONSO            CABLE                  NM     35005066666
74339A94671948   KAREN              ZAYAS                  CO     90004580946
7433B367A72479   CHRISTOPHER        KELLEY                 PA     90013723670
7433B6A668B163   GUSTAVO DE JESUS   CASTRO                 UT     90014486066
74341382627B98   MEREDITH           SETTLES                KY     90012363826
7434152233168B   DAVID              MARES                  KS     22059615223
7434173572B271   TEUM               WOLDU                  DC     90000337357
74342516472B44   ZANE               KELLY                  CO     90011045164
74342A7A172B29   DAVID              HERNANDEZ              CO     90012980701
74342A83172479   CURTIS             BRADLEY                PA     51041410831
7434314A172421   CHRISTOPHE         CAHN                   PA     90012721401
74343535676B54   JESSE              LERLEU                 OR     90008965356
74343615127B98   ALYSHA             RODRIGUEZ              KY     90007226151
743436A622B994   VANESSA            DIXON                  CA     45092206062
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 812 of 2350


7434384A78B134   ANGELA       SPENCER                      UT     90008018407
743439A175599B   RICHARD      RESENDEZ                     CA     49008659017
74344AA9372B87   PAMELA       JONES                        CO     33075110093
74345751A72421   CHANEL       PRESCOTT                     PA     51007547510
74346539772B32   AMY          GREGG                        CO     90012825397
74346A19472B44   PEDRO        BENITES                      CO     90012810194
7434714632B26B   ARNITA       JACKSON                      DC     81072811463
7434772188B142   LILIAN       CERVENTTE                    UT     90009047218
74347998472B29   NICOLETTE    SHIELDS                      CO     90012969984
74347A18841237   MICHAEL      WILLIAMS                     PA     51001350188
74347A94671948   KAREN        ZAYAS                        CO     90004580946
7434845448B142   HERSCHEL     HALL                         UT     90012414544
7434957659154B   CLOTILDE     NEVAREZ                      TX     75028435765
7434996118B157   JESSICA      HANEY                        UT     31061689611
74349A34893726   JULIE        TYLER                        OH     90013630348
74349A58181643   CHRISTINA    WEIGEL                       MO     29024460581
7434B573472B37   DOMINIQUE    WILSON                       CO     90014585734
7434B652636B97   GERMAN       VILLALOBOS                   OR     90008876526
7434BA1619154B   ANGEL        MARTINEZ                     TX     90010990161
74352834A72421   CURTIS       VAN HORN                     PA     90014158340
7435331723168B   REBECCA      WELLS                        KS     22092453172
74353738672B44   KEVIN        ARCHULETA                    CO     90002017386
7435378949154B   THOMAS       WEST                         TX     90006667894
74353A7415593B   CHARLES      PARRISH                      CA     49096520741
743543A868B134   EUGENE       GARCIA                       UT     90010803086
7435443985B225   MELISSA      MILOS                        KY     90003714398
74355233172B32   JESSE        LOPEZ                        CO     33059302331
7435569193377B   CHRIS        DARBONNE                     LA     90009386919
7435613AA41253   AMY          DAVIS                        PA     90010051300
74356898A72B32   CARLOS       SUAREZ                       CO     90012748980
74357A37572479   NICOLE       SMITH                        PA     90008640375
743582A7972B87   NOLBERTO     LOPEZ                        CO     33025282079
7435875695B59B   ROBERTO      HERNANDEZ                    NM     90011587569
74358A19972B44   ANGELINA     WILLIAMS                     CO     90012810199
7435932374B583   SHARON       AKRAM                        OK     90000503237
7435973778B134   ROSALIE      ASAY                         UT     31092577377
7435981923168B   MEAGAN       BLACKWELL                    KS     90012358192
7435B133493739   JEFFREY      WASHABAUGH                   OH     64550341334
7435B175A93728   DERRICKA     ALLEN                        OH     90009671750
7435B567A93728   TONY         ARNOLD                       OH     90012905670
7435B9A6472B83   COLTER       CONLEY                       CO     90010319064
7435BAA488B142   FRANSICO     MANCILLA                     UT     31091250048
74361226A93739   WILLIAM      BRUNNER                      OH     64554942260
743615A5641227   SHAMINA      DOW                          PA     51095115056
743622A2141253   MARY         FREEMAN                      PA     90011082021
74363488172B87   LISA         LOPEZ                        CO     33042684881
743636A3971921   SHAWNNA      EMILIO                       CO     32011736039
743641A4A33B34   MATTHEW      HINES                        OH     90013931040
743642AA67B477   TEKIA        JORDAN                       NC     90014172006
7436494159154B   CARLOS       PACIENCIA                    TX     90011399415
74365A1258B168   JANNA        FORD                         UT     31006530125
7436615955B225   CHRISAULA    RUCKER                       KY     90012711595
74366348472B29   ALYSIA       ROBERTS                      CO     33011483484
743663A8172B44   CECILIA      HERRERA                      CO     33055593081
7436674773168B   PERRY        ROBINSON                     KS     90013197477
7436693A62B994   EMILY        SCHWARTZ                     CA     90002709306
74366A7A25B331   THORSEN      APRIL                        OR     90010090702
7436742313168B   JASUN        BAKER                        KS     90002334231
743683A8593726   BILL         HAVENAR                      OH     64570863085
743686A7841237   MICHELLE     KAISER                       PA     90004326078
7436971268B349   SUAVE        BUSSEY                       SC     90014417126
7436976938B163   JENNIFER     CROWELL                      UT     31094487693
74369A2644B541   BRUCE        FOX                          OK     21579530264
7436B149272B29   LATISHA      BURMINGHAM                   CO     33001711492
7436B1A488B163   WILLIAN      MOGUEZ                       UT     90013091048
7436B98A372441   TIFFANY      PIEPERZYK                    PA     90007919803
7436BA24572B37   JENNIFER     CAREY                        CO     33087730245
7436BA93672B87   NOBERTO      MEDINA                       CO     90008310936
7437111672B271   CHARLES      WARNER                       DC     90000161167
743713A6A31432   JONATHAN     COPLIN                       MO     90015173060
7437182858B157   HOLLY        ANDERSON                     UT     90012838285
7437261648B163   CAMELIA      MCCOARD                      UT     90013166164
7437288A233698   WILLIE       HARRIS                       NC     90014278802
743729A7198B29   TRUDY        STATON                       NC     90005199071
74372A4217B477   EDWIN        REYNOLDS                     NC     90012670421
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 813 of 2350


74372A5A871948   RICHARD      APODACA                      CO     32029920508
74373152A8B157   JERALD       BILL                         UT     90007571520
7437346445B59B   ROSE         SANCHEZ                      NM     90012654644
74373658A72B87   FAUSTO       SANDOVAL                     CO     33031346580
74374168972B32   MICHAEL      GONZALES                     CO     90007241689
74374A8618B134   SHANE        WARD                         UT     31015260861
7437537545B59B   ANA          RAMIREZ-LORIOS               NM     90005513754
7437544857B477   DAVID        ARDREY                       NC     90007944485
74376183A5B225   STEPHEN      CALVERT                      KY     90013541830
743764A2986B85   JOSEPH       STOWE                        CT     90015164029
74376A3347B477   CASSANDRA    MCPHERSON                    NC     90003670334
74377295A8B157   BARB         LARSON                       UT     31013802950
7437733368B17B   MAXIMO       AGUILAR HERNANDEZ            UT     90006473336
74377926A33698   DEYANIRA     ROSALDO                      NC     90010809260
743788A2A72B29   RAMSEY       JAY                          CO     90012768020
7437947A131433   MARTINA      MOSBY                        MO     27512314701
7437B695272B87   JAQUELINE    HERNANDEZ                    CO     90012056952
7437B875172479   LINDA        GIRIMONTE                    PA     51092458751
7438173745B557   CHARLES      ORTIZ                        NM     90014097374
743826A1772B29   AMANDA       MCGUIRE                      CO     90004916017
74382985272B44   TAMIKO       RAWLINS                      CO     90006049852
74382A18941237   JANETTE      SEWELL                       PA     90006600189
74382A61572B87   DOROLES      LOPEZ                        CO     90011300615
74382A7928B142   STEVE        MORALES                      UT     90010590792
7438326787B477   ADRIAN       WILLIAMS                     NC     11030452678
7438418468B142   KATY         LIRA                         UT     90012881846
7438443848B157   LYNN         CANNON                       UT     31067754384
743844A232B271   GERALD       JEROME                       DC     90007144023
74384AA698B134   MERINA       MULIPOLA                     UT     90014200069
74385342272B37   KIMBERLY     KULA                         CO     90010523422
74385373A8B142   MONICA       RODRIGUEZ                    UT     90014513730
7438564A48B168   COURTNEY     ROGERS                       UT     90004686404
7438634A47B477   STEFANIE     TOWLES                       NC     90012283404
7438641229154B   PAUL         MUNOZ                        TX     90014034122
74386441172B44   DAVID        DEBUS                        CO     33054404411
743864A845B225   MARK         GAINS                        KY     90015584084
74386A29331432   PATRICK      JETT                         MO     90003340293
7438713A672B29   MARIA        BUSTAMANTE                   CO     90007161306
7438788648B134   TUUTAU       MALIA                        UT     31039548864
7438814A972B32   JACKIE       BENTLEY                      CO     33036571409
74388214872B44   JORGE        ARAIZA                       CO     90014792148
74388A97272B29   RYAN         STROM                        CO     90012380972
7438937548B163   MONIQUE      SEARLE                       UT     90010393754
74389653A8593B   SCOTTINA     MESSER                       KY     90014846530
74389A3A94782B   JOHN         MCMILLAN                     GA     90008920309
7438B419133698   SANDRA       CREAGER                      NC     12035714191
7438B434972B44   DEREK        CLIFTON                      CO     33054404349
7439163918B134   JOSE         CHAVEZ                       UT     90008456391
74391885472B32   OSCAR        CASTELLANOS                  CO     33052028854
74391895472B87   JUNE         GALLEGOS                     CO     33059958954
7439189A541253   SHARI        MASTERS                      PA     51041308905
7439258539154B   JOSE         LEYVA                        TX     75059045853
7439265995B241   PRESSURE     WASHING                      KY     90004696599
743927A5172B44   RONALD       DELFINO                      CO     90014607051
7439428912B994   ANGELICA     ALMARAZ                      CA     90012492891
7439451453168B   WILLIAM      JAVIER                       KS     90011995145
743947AA53168B   LYNN         STEWART                      KS     90013687005
7439482889154B   CHAYANNE     ARGUELLES                    TX     90013408288
74394973172B37   SAUL         FLORES                       CO     90002019731
74394A61833624   RODNEY       ORTIZ                        NC     90011680618
74394AA1593726   YVONNE       RUPERT                       OH     90014390015
7439537168593B   JOHN         SIMPSON                      KY     90011923716
7439545128B134   SEAN         PICKELL                      UT     90013854512
743957A964B267   KENT         GLASFORD                     NE     90011687096
74395A2A15B384   SHELBI       PONCE                        OR     44509240201
74396818372B87   CURTIS       JENSON                       CO     33031348183
7439772385B59B   THOMAS       CAVALIER                     NM     35041457238
74397A8AA9373B   LACEY        CAMBELLL                     OH     90009230800
7439825148B163   ROBERT       MATSON                       UT     90015202514
7439835727B658   TREASURE     HEMPHILL                     GA     90013733572
7439866975B59B   DARRELL      CHEE                         NM     90013856697
74398A43355936   ROCIO        SANDOVAL                     CA     90010820433
74399559472B44   ROBIN        FURBAY                       CO     90013485594
7439B168941253   ANTHONY      VANMERSBERGEN                PA     90012881689
7439B17398B163   ANGELO       CHAVEZ                       UT     90014491739
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 814 of 2350


7439B237741237   SHAWN        TAYLOR                       PA     51090662377
7439B246A72441   BRIAN        ROTHERT                      PA     51045972460
7439B792672479   JOHN         MANGES                       PA     51060617926
743B159A772B29   JESUS        PELCASTRE                    CO     33053505907
743B1A6858B134   GORDON       HENDRIKX                     UT     90015270685
743B2269272B98   ALBERTO      TEHUINTLE-TEPOLE             CO     90012082692
743B235812B869   ALISON       CROW                         ID     90001763581
743B2497A7B477   REGINALD     FITCH                        NC     90007814970
743B265A29154B   DIANA        RUIZ                         TX     90013196502
743B2864541227   TRACEY       POLLARD                      PA     90000388645
743B37A8491935   ROSAYNE      MORALES                      NC     90012457084
743B3854A71948   EMILIANO     ARELLANO                     CO     32073188540
743B4517A93726   DANIEL       SHOEMAKER                    OH     90014485170
743B4A39341237   RONALD       WOS                          PA     51045070393
743B551A92B994   LENA         KAJI                         CA     90014385109
743B5736772B44   TJ           AMAZING PUNK                 CO     33000757367
743B6393872B87   LUZ          GODOY                        CO     90011583938
743B6894261971   MONICA       HIMENEZ                      CA     46028308942
743B7267841227   ROBERT       SCHAFER                      PA     90002422678
743B762A491566   LINDA        GARCIA                       TX     90011906204
743B7686672B32   JOSE         AGUIRRE                      CO     90011946866
743B7952872B87   JOSE         HERNANDEZ                    CO     33077469528
743B7999A33B32   ANGEL        PEREZ                        OH     90015029990
743B813AA8B134   BRIGHAM      RUIZ                         UT     90013811300
743B819249154B   JOSE         COVARRUBIAS                  TX     90014261924
743B834278593B   ASHLEIGH     EDWARDS                      KY     90014503427
743B8545672B44   ANDREA       CASTILLO                     CO     33092665456
743B8822472421   JENNIFER     HARTMAN                      PA     51082178224
743B8A37A7B477   RENE         SMOUTHERON                   NC     90014460370
743B923878B134   RUBEN        VIGIL                        UT     90014802387
743B9276231443   JAMES        HOLSTEIN                     MO     90000272762
743B9292385932   MICHAEL      DAVIS                        KY     90011872923
743B951658B157   JENNIFER     FYNBO                        UT     31027125165
743B9816381643   CHERYL       BROWN                        KS     90015108163
743B997898B168   ALEJANDRA    ARRISCORRETA                 UT     90005889789
743B9AA5972B37   SUSY         DALA CRUZ                    CO     90001870059
743BB413241237   KURT         ALEXANDER                    PA     51055834132
743BB419272B87   GRACE        DEBOW                        CO     33029894192
743BB71734B27B   PAMELA       EHRHART                      NE     27086437173
743BB717361922   DANIELLE     SMITH                        CA     90002807173
743BB956593726   CIERRA       DAYS                         OH     64540209565
7441149358B168   KERI         TREVINO                      UT     31092824935
74411A1A993726   JASON        PIERCE                       OH     90010020109
74411A49641237   SHAQUAIL     SHEROD                       PA     90015260496
7441265342B994   FLOR         GONZALEZ                     CA     90012076534
7441412918B134   CYNTHIA      CABRERA                      UT     90001891291
74414187972B29   RON          BURGUNDY                     CO     90014431879
744142A985B225   TERRA        ONAN                         KY     68043612098
7441465848B142   STEVEN       BARBER                       UT     90012756584
7441533A441237   CHERYL       WALLACE                      PA     90005613304
7441535918593B   NADENE       PADEN                        KY     90014703591
7441556A455939   ADIAN        TELLEZ                       CA     48091415604
7441611518B163   JULIE        AREZA                        UT     31010721151
7441698A893726   ANTHONY      OWENS                        OH     90013419808
74416A51472479   DIANE        LAMB                         PA     90013850514
7441839463168B   ALLYSA       MAHOMLES                     KS     90006423946
744189A1371948   TRAVIS       STILES                       CO     32072889013
744192A4A93739   HOLLY        NOBLE                        OH     64570832040
74419653372B87   MWAVITA      KAINAMULA                    CO     90013066533
7441972435B225   DEMARUS      MARSHALL                     KY     90012257243
7441972828B142   ROBERTO      GUTIERREZ                    UT     90010447282
7441999262B271   ADRIEN       CAUDRELIER                   DC     81088899926
7441B171A61971   JACKIE       WELLS                        CA     46000971710
7441B17758593B   DEBORAH      EASYBUCK                     KY     90012381775
7441B34275B357   BRYNN        BLACK                        OR     44512773427
7441B4A3A72B44   SALLY        GUTIERREZ                    CO     90014474030
7441B611A9712B   CASANETTA    NELSON                       OR     90008976110
7441BA19472B44   PEDRO        BENITES                      CO     90012810194
74421299A31433   MARLENE      CORNELL                      MO     90005852990
7442158A993739   JUAN PABLO   CACIQUE                      OH     90009455809
7442161A172B44   SEAN         MCENIRY                      CO     90012056101
7442186267B487   ALBERT       KAIZOU                       NC     11067948626
74421A59372479   WESLEY       BARRETT                      PA     90013610593
7442221948B142   MARGARITA    MELECIO                      UT     31090342194
7442244318B168   ELIZABETH    CARRICK                      UT     90011774431
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 815 of 2350


74422A5627B477   JOSE         ESTRELLA                     NC     90006540562
74422A7815B384   DIANE        WILLINGHAM                   OR     44534750781
7442488918593B   DARRIN       BECKER                       KY     66097308891
7442545848B157   MAHALA       PAKALANI                     UT     90010244584
7442583887B477   OMAR         ANDRES                       NC     90012318388
74425859A8B168   JANNEAL      LYMAN                        UT     90003628590
7442634395597B   ALEJANDRO    RAMIREZ                      CA     90007293439
744264A6171948   SHAWNDEL     SIEVERT                      CO     32073324061
74427383A72B37   BIANCA       AGUILAR TAPIA                CO     33023093830
7442791898B157   AMY          HUNTSMAN                     UT     90013139189
744283A3A72421   JACOB        DIPERNA                      PA     90006023030
7442865768B163   MARIA        CASH                         UT     90014496576
74428A1553168B   STEPHANIE    MORTON                       KS     90011890155
7442BA4852B271   DETRICK      BRANISON                     DC     90004450485
7442BA64472B87   CARLOS       TOSTADO                      CO     90011610644
7443189137B477   MICHAEL      LONON                        NC     11090308913
74432271998B3B   JOEL         MARTINEZ                     NC     90006092719
74432699972B32   STEPHANI     BALTAZAR                     CO     33066686999
74432821A2B994   JOHHNY       RESENDEZ                     CA     45036708210
7443313718B163   RANDY        JOHNSON                      UT     31024451371
744337A615B53B   JULIE C      ZECCA                        NM     35037887061
7443472A372B32   JYSLANE      CAMPA                        CO     90012737203
74434786A93726   YVONNE       STRINGER                     OH     90012717860
74434867772B87   MATTHEW      ORTIZ                        CO     90010378677
7443492898B134   HEATHER K    PEDERSEN                     UT     90006449289
74435653672B37   DIEGO        VERMILYE                     CO     90014856536
74435679172B87   SAMNANG      KEO                          CO     33097566791
7443613A184322   JOSE         DANILO                       SC     14522161301
7443644848B168   BRIAN        HUGHES                       UT     90002944484
7443648255B59B   ANDRE        ESCOBEDO                     NM     90014564825
744378A8A72B87   APRIL        BANCALE                      CO     33079758080
74437A79372B31   JORGE        TORRES                       CO     90010500793
74438729A71921   TRINA        LARUE                        CO     90006347290
74438A77185945   JESSICA      WHITE                        KY     90010710771
74439343A72421   MARY         DAVIS                        PA     51037833430
7443976498593B   PAUL         MCNAIR                       KY     66002347649
74439A65585945   DIONA        ROBINSON                     KY     67067610655
7443B32738B157   SANDERS      DEVERA                       UT     90011983273
7443B342455939   JAVIER       PARAMO                       CA     48089843424
7443B942A33698   ASHEKA       CLARK                        NC     90004089420
74441969A8B142   DARIN        ELLISON                      UT     90013349690
74442181A8593B   ANNA         NICHOLSON                    KY     90009551810
744432A668B163   ARMANDO      GOMEZ                        UT     90014492066
7444418683168B   DEBORAH      COLLINS                      KS     90000791868
74444A7379154B   PATRICIA     WHITE                        TX     90014900737
74445A3443168B   DON          WEIR                         KS     90001890344
7444618238B168   YVONNE       STEWART                      UT     31007031823
74446728772B37   ALFONSO      CALDERA                      CO     90014427287
74446986572B29   ANGELINA     RODRIGUEZ                    CO     90014139865
74446A79431432   SHONDA       HERNDERSON                   MO     90000770794
74446AAA25B24B   JOSHUA       MOODY                        KY     68089130002
744471A2855939   VICTOR       RODRIGUEZ                    CA     90014921028
74447494372B37   MILTON       CABRERA                      CO     90005614943
7444817257B477   MARTHA       VALLE                        NC     90008781725
74448A34661971   FEDERICO     TORRES                       CA     46001170346
74448A49741253   EVONNE       HUNTER                       PA     90001970497
7444942AA7B477   PAMELA       GREENE                       NC     11037894200
74449A49741237   EVONNE       HUNTER                       PA     90001970497
7444B225A3168B   JORGE        ROMERO                       KS     90010832250
7444B36618B142   LEE W        FAIRBOURN                    UT     90014683661
7444B47644B961   AMY          CULPEPPER                    TX     90007874764
7444B712372479   NICOLE       CUSMANO                      PA     90006587123
7444B969941237   DONNA        SZALLAR                      PA     51063479699
7444BA9632B994   FRANK        BERNS                        CA     90010700963
74451154372B29   MANUEL       IBARRA-RODRIGUEZ             CO     33042381543
7445156988B163   DIANA        PATOULI                      UT     90013075698
744521A3144368   JAWAN        SMITH                        MD     90014801031
7445236769154B   ESCOBEDO     MARIO                        TX     90004183676
74452A79431432   SHONDA       HERNDERSON                   MO     90000770794
74453552472B37   STEPHAINE    SHALOM                       CO     33057625524
744539A3533699   TYESHIA      MCCULLOUGH                   NC     12008729035
74454649972B37   MIGUEL       ANGEL                        CO     90004496499
74454979872B32   ROBERT       BARKER                       CO     33096719798
744551A7642537   SELINA       MARTINEZ                     WA     90015361076
7445535318B168   LUIS         FLORES                       UT     90009083531
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 816 of 2350


744553AA572B37   LALO          VASQUEZ                     CO     90009093005
744563A528593B   AARON         FRICKER                     KY     90015283052
7445653979154B   JOSHIO        FLORES                      TX     90012415397
7445659935B336   TERRY         BUTLER                      OR     44572745993
74457517A7B477   KEVIN         STOVER                      NC     90011065170
7445789318B122   BECKY         GOLLY                       UT     31010608931
74458215372B44   AYRN          HAYES                       CO     90010332153
7445868468B157   GILBERTO      RONDON                      UT     90010836846
74458853672B29   BRYAN         BONNER                      CO     33019918536
74458A87772B37   MELISSA       GENTRY                      CO     33006050877
74459294A8B163   ANN M KOONS   KAREN KINSEY                UT     90014712940
74459A5325B59B   WALTER        CHRISTOPHER                 NM     35010760532
7445B213355939   MARTH         LOPEZ                       CA     90012332133
7445B7A958B168   VERONICA      CORREA                      UT     90003457095
74461A48733698   ANITA         JAMISON                     NC     90014910487
744622A8536B97   MARIE         BILL                        OR     90003602085
7446232562B994   STEPHEN       CASTRO                      CA     90012043256
744636A395B225   TAYLOR        CALVERT                     KY     90013826039
744639A567B477   JIPSY         MALDONADO                   NC     11077069056
74463AA365B225   HEATHER       FOWLER                      KY     90011530036
744641A3872B87   DESIREE       HERNANDEZ                   CO     90002101038
7446436669154B   MIRNA         RODRIGUEZ                   TX     75047963666
744647A668593B   NATALIE       FERGUSON                    KY     66044707066
7446531383168B   ELIZA         GUNTER                      KS     22070253138
7446544618B134   JULIA         FOX                         UT     31012274461
744658A1431453   COURTNEY      BRADLEY                     MO     90013228014
7446648158B142   NILSON        BARETTA                     UT     90010344815
7446679325B225   KELLY         RAISOR                      KY     68014307932
74466A6983168B   JARED         MASSEY                      KS     90010570698
744672A2A72B37   JAIME         MEDINA                      CO     90013522020
74467387A72B32   MARGARITO     NUNEZ DE LA CRUZ            CO     90010263870
744683A152B994   ANGEL         RAMIREZ                     CA     90007913015
7446852A857147   ROCIO         LUNA                        VA     90007125208
7446914768B142   FALLON        COLLINGS                    UT     31071661476
744699A1972B32   IGNACIO       AYALA ACOSTA                CO     33069709019
74469A7473168B   MARY          WHISNANT                    KS     90002320747
7446B54A18B142   NATALEE       REDHAIR                     UT     31070005401
7446B726593726   MARY          LAWWILL                     OH     90011207265
7446B91228B134   LUKE          BAKER                       UT     90015429122
7446BA32472479   FAITH         FRENDEN                     PA     90014800324
7446BAAA693739   GREG          DELONG                      OH     64523820006
7447159228593B   CAMELIA       EVANS                       KY     90013385922
74472388272B37   MAGALLY       CRUZ                        CO     33041613882
7447247219154B   JUAN          DE LA ROSA                  TX     90014154721
744734A2531432   MARCUS        HOLLOWAY                    MO     90013904025
7447374925B225   MYRANDA       GORDON                      KY     90015017492
74473866A93726   BELINDA       HORTON                      OH     90000178660
7447431418B134   SHELLEY       YOUNG                       UT     90013873141
7447432158593B   REBECCA       FIELDS                      KY     90014563215
7447435688B142   ERIKA         SALDIVIA                    UT     90006213568
7447518948B157   JON           BATY                        UT     90013151894
7447548838B142   MARTY         MORRILL                     UT     90001534883
7447549525B225   JERICA        ARMSTRONG                   KY     90015104952
7447576977B477   MARIBEL       RAMIREZ                     NC     90013947697
74475828972B44   MONICA        ROBLES                      CO     33092198289
74476AA658B134   MARISSA       CHAVEZ                      UT     90014880065
7447732638593B   ANTHONY       BUTTS                       KY     90012863263
7447761418593B   ALISHA        ASHCRAFT                    KY     90012836141
74477653A71948   RICHARSON     CHARLENE                    CO     32022036530
744789A5A55939   MELISSA       CANTU                       CA     90014929050
74479452272B37   SHAMA         MAHMOOD                     CO     90007434522
7447945AA5B168   REGINA        HILL                        AR     90004464500
7447956A88B163   JASON         ANDERSON                    UT     90010895608
7447963A872479   MICHAEL       KARLOWSKY                   PA     90004386308
7447981842B994   LIDIA         CHAVEZ                      CA     90012588184
7447B468771948   DOLORES       CISNEROS                    CO     32099524687
7447B586172B32   SHERRY L      MEDINA                      CO     33097665861
7447BA4415B225   BARBARA       MEECE                       KY     68017870441
744817A7372B44   MANUEL        GUTIERREZ                   CO     90001217073
7448199795B326   TIFFANY       ALLEN                       OR     90015199979
7448243428B163   VINCENT       WILLIAM                     UT     90012954342
74483A4A872B44   MIRANDA       MARTINEZ                    CO     90012810408
744846A3A31443   KANDI         BARNES                      MO     90008096030
74484AA5A77356   EULAHLEH      WILLIAMS                    IL     20590340050
7448541315B225   CHANNON       CAREY                       KY     90005594131
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 817 of 2350


7448584A45B59B   MICHELE       RIGHTLEY                    NM     35008908404
7448634823168B   GLENN         FOGELMAN                    KS     22005643482
744865A882B994   LEONEL        SANCHEZ                     CA     45092545088
7448772798B186   TODD          CHRISTENSEN                 UT     90013817279
7448787722B869   ROBERT        SALINAS                     ID     90008528772
7448795AA55939   GRISELDA      HERNANDEZ                   CA     90013209500
744879A198B157   JEZIMIEL      AVALOS                      UT     90013639019
7448859149154B   SABRINA       VARGAS-ORTIZ                TX     75068645914
74489789133B44   LOGAN         LARRICK                     OH     90014287891
74489875472B87   ANDRE         BLACK                       CO     90010378754
7448995545B272   CATHERINE     SHANNON                     KY     90003239554
7448B452193739   SHELDON       STELLE                      OH     64591924521
7448B736472B87   SAMUEL        PERAZA                      CO     90013277364
7448B85687B477   JAVIER        CRUZ                        NC     90013928568
74491321A72B29   YANET         VAZQUEZ-SERRANO             CO     33081003210
74491992172B37   NICOLE        DICKINSON                   CO     90009409921
7449369137B477   JESSICA       CHAVEZ                      NC     90014896913
7449383A772B29   MARK          CLEMENTS                    CO     90012148307
74494528172B32   DANIEL        SMITH                       CO     90013345281
7449484A685945   TOMMY         LEWIS                       KY     90008328406
7449524A672B32   TIFFANY       HICKS                       CO     90014752406
7449526A671921   JOSHUA        ROBINSON                    CO     90014372606
74495334772B29   ANDREW        THOMAS MCCOY                CO     33039773347
7449576A793726   NANCY         WALKER                      OH     90013497607
7449637915B17B   KENDRA        REED                        AR     90015123791
74497233872B37   JAKE          ROMERO                      CO     90015212338
7449739A272B32   THELMA        CASTILLO                    CO     90014943902
7449785A78593B   HAZEL         TURNER                      KY     66015088507
74497A91272B87   ABEL          ORTIZ GARCIA                CO     90011300912
74499489372B37   RAMON         ROJO                        CO     90011644893
7449956562B994   OLIVIA        TAPIZ                       CA     90012355656
74499A42572B29   SHANE         MCFARLAND                   CO     90009180425
74499A51572479   JENNIFER      SINES                       PA     90014570515
7449BA67531443   TERRELL       GREEN                       MO     90013040675
744B1249541253   MICHAEL       SULEY                       PA     51037892495
744B178A272B37   TANYEL        GONZALES                    CO     90015167802
744B1998A31443   JE HANNE      HENDERSON                   MO     27511449980
744B222A28B163   ESI           FANGU                       UT     90010052202
744B235475B225   LATASHA       WHITE                       KY     90015103547
744B236727B477   NOEL JAVIER   JIMENEZ                     NC     90012793672
744B238159154B   LUIS          PEREZ                       TX     75046723815
744B265A38B163   PRISSILLA     RIPPEE                      UT     90014496503
744B2755431443   TRACEY        STAMMER                     MO     27523577554
744B281A541227   PORTIA        HAWTHORNE                   PA     90006528105
744B284193168B   ANNETTE       WITHROW                     KS     90011068419
744B3113731443   LISA          GILBERT                     MO     27575801137
744B3153593726   ROBERT        COLLIER                     OH     90013591535
744B3181A31433   MELISSA       WHITWORTH                   MO     27517521810
744B3392871921   MOSES         GILDER                      CO     90009043928
744B3554572B44   IZAK          WHITING                     CO     90013875545
744B3968541237   KEIANA        GRAY                        PA     90007969685
744B396879154B   SALVADOR      MENESES                     TX     90013529687
744B4324A72441   JAYACE        WILLIAMS                    PA     90009573240
744B4653871921   BRANDON       WARD                        CO     32006016538
744B4665355939   DAISY         NUNEZ                       CA     90013156653
744B5139372B87   ADAM          LUJAN                       CO     90007511393
744B519298B142   GUADALUPE     PENA                        UT     90004021929
744B5412872421   CATHERINE     SCHNEIDER                   PA     51016304128
744B5478472B29   RYAN          BACA                        CO     90012354784
744B55A415B59B   MARIA         DE LOS ANGELES              NM     90013825041
744B5867755939   MARTIN        GALLEGOS                    CA     48040608677
744B5997771921   FRANCISCO     ARMENDARIZ                  CO     90014079977
744B6398933645   TONIA         WOMACK                      NC     12083543989
744B6452A72B87   ANDRES        ZAZUETA                     CO     90013074520
744B648589154B   MARIA         STICKLER                    TX     90013364858
744B676328B163   DANIEL        FINLAY                      UT     90000917632
744B696875B225   MARCUS        BATTON                      KY     90010659687
744B7688272B87   MIRACLE       ARAGON                      CO     33036186882
744B8467831427   PATRICK       GILMORE                     MO     90012334678
744B877A972421   AMANDA        PARNELL                     PA     51095667709
744B8954172B32   MAYRA         GARCIA                      CO     33079339541
744B8989657147   MALCOM        SLAUGHT                     VA     90009089896
744B8A74A61971   DEENAH        MOORE                       CA     46001160740
744B8AA4641237   JOSEPH        PAUL                        PA     51032930046
744BB185472B29   DOROTHY       MARTINEZ                    CO     90012901854
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 818 of 2350


744BB29517322B   TANISHA                   HARRIS             NJ   90014882951
744BB756772441   JASON                     FENNELL            PA   51076237567
7451135873168B   SARAH                     MITCHELL           KS   90002703587
745115A4631453   DAVID                     GOTTSCHALK         MO   90004245046
7451215275B55B   APRIL                     HERRERA            NM   90011961527
74512262A3168B   SANDRA                    MORENO             KS   90003862620
7451228A793739   KEVIN                     PETERSON           OH   64589312807
7451267195B59B   WAYNE                     NAHA               NM   90009156719
74512725372B29   MARK                      MUNIZ              CO   33025497253
74512A2215B225   CARLOS                    GARCIA             KY   68089530221
7451312A572B32   CLAIR                     BUCK               CO   33018771205
745135A4893726   ANDREA                    WIGGINS            OH   90014385048
74514157A8B157   JOHNATHAN                 CHADWICK           UT   90014361570
7451447248593B   DANISHA                   MOSLEY             KY   90011924724
7451459A733698   TURQUEOISE                JACKSON            NC   90011225907
7451465A972B44   JASMINE                   GOODRICH           CO   90007316509
74514755672B32   HEATHER                   FERGUSON-HURTS     CO   33078967556
74515614472B29   JESSICA                   LOPEZ              CO   90006306144
74516131272B44   AMANDA                    MARTENEZ           CO   90005751312
7451653663168B   JOSHUA                    MCDANIEL           KS   22007475366
74516821172B87   TIMOTHY                   CORDOVA            CO   90004898211
7451684212B994   EDDIE                     HARRIS             CA   45098918421
74516A8A333698   EULAR                     CRAWFORD           NC   12003830803
7451717855B225   ANGELA                    MCKINLEY           KY   90013601785
7451727899154B   GABRIELA                  HERNANDEZ          TX   90010572789
745174A3A72479   THOMAS                    MARINKOVICH        PA   90015124030
745175A7572B87   CANDY                     MANNING            CO   33088395075
74517622972B32   SANDRA                    LOPEZ              CO   33003586229
7451797A272B29   BECKY                     ARAGON             CO   90013129702
745181A3531443   VANJA                     KOTUR              MO   90004011035
7451835635B59B   TIFANNY                   HALL               NM   90014583563
74518476972B87   MARGARET MARY GUADALUPE   FIGUEROA           CO   90012854769
7451851848B168   BRYAN                     MARTIN             UT   31053875184
74518A5998B157   THOMAS                    MARTIN             UT   31032940599
74518A97385833   WES                       HAMILTON           CA   46039980973
745197AA172B37   ABELINO                   GARCIA             CO   33025997001
7451B48112B271   MICHAEL                   AGBONTALE OKENEH   VA   81067804811
7451B562641253   JOHN                      MURRAY             PA   51017785626
7451B584433698   KWAME                     CANNON             NC   12092515844
7451BA52A72B32   MATEO                     TRUJILLO           CO   90015310520
7452177A941237   SONDA                     PATTERSON          PA   90013987709
7452213118B163   JOSELINA                  HAFOKA             UT   90007241311
7452261397B477   MICHAEL                   SMITH              NC   90003386139
74523A46972B44   ANGELICA                  VALDEZ             CO   90012810469
74524485A93726   NOEMI                     JIMENEZ            OH   90003634850
7452448838B134   KEARA                     CHERINET           UT   90010024883
745246A5271948   BRENTT                    DZURIK             CO   32054746052
7452573184B291   NICHOLAS                  KOCK               NE   90002877318
745257A2872B32   JASON                     GLICK              CO   33069567028
745259A8671948   JANE                      RAMEY              CO   32059129086
74526459A86523   SHELBY                    REYNOLDS           TN   90013294590
74526474472B29   ROSENDO                   SALAZAR            CO   90015274744
74526516A8B168   WILLIAM                   MARTINEZ           UT   90013485160
745269A9241253   IRIS                      SESAY              PA   51051309092
74528668572B32   NICHOLE                   BROWN              CO   33086816685
7452877678B134   KINDOLF                   NAASZ              UT   90004267767
74529291772B37   ELIZABETH                 SILVA              CO   90014742917
7452983719154B   MORLOCK                   JENNY LEE          TX   90006048371
74529A63772421   HARRY                     DOLENCE            PA   90004730637
7452B119436B97   ALEX                      PINEDA DAVILA      OR   90009461194
7452B281585945   MANUEL                    DAVIS              KY   90007962815
7452B458672B37   NICOLE                    GUTIERREZ          CO   90012644586
7452B514231443   CRYSTAL                   KRAFT              MO   27504905142
7452B74125B225   ANTHONY                   MADDOX             KY   90013477412
7452B871171921   MICHELLE                  B WHISLER          CO   90015128711
7452B963872B32   MANUEL                    OROZCO             CO   33072639638
7452B9A2831432   DARLENE                   MERRIWEATHER       MO   90013479028
74531111A55939   EFRAIN                    TORRES             CA   48014521110
74531355772B87   KIMBERLY                  SCADDEN            CO   33054773557
74531853472B87   LORENA                    GORDON             CO   33000448534
74531A7A972B37   ALY                       TORRES             CO   90014730709
74532391172B37   JAKE                      ORIZ               CO   90010523911
7453253A672B29   AMANDA                    ZOSCHKE            CO   90007655306
745327A566198B   CARLOS                    MARTINEZ           CA   90013867056
7453353848B134   TRISHA                    WINN               UT   90014295384
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 819 of 2350


745337A4327B98   DIONNE         WILLS                      KY     90005997043
745337A5885945   KENDRA         SLAUGHTER                  KY     90011597058
74533822572B44   JUNE           LINK                       CO     90002958225
7453393938B168   ERNESTINA      SOTO                       UT     90011779393
74534775572B87   JANETH         GALDAMEZ                   CO     33005957755
74535178A8B134   GREGORY        GRIFFITH                   UT     90014061780
745361A3A8B157   MARK           ALDRIDGE                   UT     90015081030
7453654977B386   HUGO           VACA                       VA     90011195497
74537113672B32   CHRIS          DIXON                      CO     90013831136
7453712A48B134   STEVEN         CALDWELL                   UT     31074311204
7453825449154B   ANABEL         JAQUEZ                     TX     75071122544
7453833978B134   RAYMOND        SILVAS                     UT     90010783397
745383A538B142   PHIL           AUSTIN                     UT     90014703053
7453B11A951382   LASONIA        BARBER                     OH     90001461109
7453B69698B157   TERRA          MILLS                      UT     31085126969
7453B72838B168   NATALIA        GREENE                     UT     90010397283
7453B825371921   MARGUERITA     HARP                       CO     32027658253
74541319572B32   NATASHA        NESS                       CO     90011193195
7454168583168B   TAMMI          MCCAULLEY                  KS     22097976858
74541818372B37   FRANCISCO      ROBLES                     CO     33007818183
7454214128B142   KIMBERLY       BENTLEY                    UT     90012171412
7454233638593B   MARGIE         NUNN                       KY     66059923363
7454257A97B477   ANJEL          DABLADO                    NC     11096205709
745429A4457127   MARIA          CALLES                     VA     90001339044
74542A28472B44   VANISHA        ESPINOZA                   CO     90014100284
74543167872B87   DANIEL         BONGI                      CO     90013831678
7454412378B134   NATHAN         MICKELSEN                  UT     31095841237
7454443548593B   ERIC           BLACK                      KY     66092204354
745448A168B142   HUGO           FLORES                     UT     90014438016
74545198A4B588   TERRY          DYE                        OK     21501201980
7454542427B661   MARITZENIA     VARGAS                     GA     90000654242
74545456172B44   MIGUEL         COMANCHO                   CO     33097294561
7454581438B163   MELLISSA ANN   SANDOVAL                   UT     90012028143
74545877272B2B   JERE           PROCOPIO                   CO     90011518772
7454588A48B142   DANNY          GRAFF                      UT     31034818804
7454675787B477   TEODULA        TREJO TREJO                NC     11077987578
7454721747B477   DAPHNE         JONES                      NC     90009782174
7454788478B134   JENNIFER       BALLAINE                   UT     90007728847
74547A94631433   KAVONNA        SMITH                      MO     27580350946
74548711A9154B   ALEJANDRA      ESCOBAR                    TX     75017827110
745488A8672B37   ANDREA         HERNANDEZ                  CO     33079898086
74548A8288B142   NOOK           KEOPITHOUNE                UT     90014830828
74549214372B37   DYLAN          STARNES                    CO     90008202143
7454936A55B59B   GREGORY        ROMERO                     NM     90001573605
7454B192671921   ERIN           EDMONSON                   CO     90010431926
7454B547493739   WILLIAMS       ANTONIO                    OH     90011005474
74551116A31432   MATHEW         PARTAIN                    MO     90014891160
74551174A72B37   KARLA          CHAVIRA                    CO     90005521740
745514A7972B32   KALYN          PETER                      CO     33086884079
7455161838B134   AGUSTIN        HERNANDEZ                  UT     90013006183
74551A45997121   JUDITH         ARIAS                      OR     90012420459
7455298683168B   KALEB          SHOCK                      KS     90014449868
74552A34833699   RICOLA         PETTUS                     NC     12011560348
7455349125B225   BRETT          BOGENS                     KY     90003854912
7455415314B291   CECILIO        LOREDON                    NE     90013441531
7455458398B349   NICK           GUNN                       SC     90014545839
74554892672B87   JOHN           MEYER                      CO     90014698926
7455499655B225   PATRICIA       GONSALEZ                   KY     90012729965
7455575767B477   ALFRED         GARDNER                    NC     90011917576
7455639868B134   TONY           HELDMEN                    UT     31088983986
7455647225B225   JOHNA          GOMEZ                      KY     90015214722
74557284472B32   CHARLES        LEWIS JR                   CO     90010222844
7455736618B142   LEE W          FAIRBOURN                  UT     90014683661
7455751595B59B   JOANN          BROWN                      NM     35066365159
745575A882B994   LEONEL         SANCHEZ                    CA     45092545088
7455767AA8B142   NICHOLE        BRADLEY                    UT     90012746700
74558513872B44   JOHN           CHRISTOPHER                CO     90008365138
7455855A431433   DANA           BEATY                      MO     27573245504
7455911A62B994   JENNY          CASTILLO                   CA     90007931106
7455955695B225   RODNEY         JACKSON                    KY     90013145569
7455956348B168   JENKINS        CHAD                       UT     90014815634
745596A253168B   SHAWN          SHINN                      KS     90007776025
745599A6771921   TROY           SCHMIDT                    CO     90013679067
7455B81968B134   LILIAN         HERNANDEZ                  UT     31023058196
7455B88A372421   TARYN          NICHOLSON                  PA     90010308803
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 820 of 2350


7456249198B142   RONELLE         ROSEN                     UT     31090434919
74562768272B87   OGUNSAKIN       MARY                      CO     33033717682
74563166472B87   CONSTANCE       HARRIS-HOLLOWAY           CO     90012481664
745631AA855939   DORIS           TAFT                      CA     90014641008
7456337495B225   MARTHA          YOCUM                     KY     90013363749
74563452572B32   JANICE          BRISNEHAN                 CO     90001194525
74563539572B29   EMELLY          ARCHULETA                 CO     90004795395
745635A1472B37   JOSE            CHAVEZ                    CO     90011645014
7456364679154B   SERGIIO         MALDONADO                 TX     90010616467
74563954172B37   ALEJANDRO       BUSTOS                    CO     33060349541
745653A8131432   ANDRE           CHAMPMAN                  MO     90012553081
745653AA341237   TIFFANY         JONES                     PA     51083793003
745655A3172B37   RAYMON JOSEPH   ESQUIBEL                  CO     90011645031
7456595335B59B   GILBETO         MENDZA                    NM     90014889533
74566373A8B142   MONICA          RODRIGUEZ                 UT     90014513730
74566532172B44   SLAVADOR        VEGA-CUECUE               CO     90013925321
74566A5435B59B   ADRIANA         ACOSTA                    NM     35011960543
745676A455B225   JENNIFER        BOSTIC                    KY     90013146045
74567A92A3168B   JOVITA          LERMA                     KS     90010360920
74568152A72B29   LUCIA           DE LOS SANTOS             CO     90006191520
7456824715B354   KIMBERLY        TURLEY                    OR     90012292471
74568483A8B142   BRANDON         CURTIS                    UT     31017394830
7456988628B134   HEATHER         LAWRENCE                  UT     90014118862
74569A14272B87   JOSE            PEREZ                     CO     33063500142
7456B54463B358   JESUS           HERNANDEZ                 CO     33013585446
7456B571155939   JORGE           CASCO                     CA     48042435711
7456B572233698   CATINA          BATTLE                    NC     90010295722
7456B625261459   ELLEN           REEF                      OH     90014636252
7456B88918B163   MELINDA         VERGARA                   UT     31047928891
7456B975131432   DIANE           HARDEN                    MO     27515789751
7456BA53541237   CIERRA          BRYANT                    PA     90015260535
7456BA91991869   DAWN            FORD                      OK     90002140919
745713A743B38B   FELIX           CORCHADO                  CO     90002323074
7457182554B221   DANIELLE        SMITH                     NE     90010278255
7457269145B59B   FERNANDO        CORDOVA                   NM     90013906914
74573275372B44   RASHAUNDA       AMERSON                   CO     90009932753
745733A6A55939   LUIS            ROMO                      CA     48098023060
7457439578B134   DANIEL          MANDOR                    UT     90012213957
7457481338B142   TERRIE          CORNIA                    UT     90012518133
74574999172B37   JADE            DOWELL                    CO     90014789991
7457565628B134   JOSEPH          MAURIELLO                 UT     90013706562
74575A1288B134   WALTER          SMITH                     UT     90014540128
745769A1561978   HUGO            URIBE                     CA     46026279015
7457742355B59B   ROBERTO         BARELA                    NM     90013154235
74577942772B87   JASON           BLUMER                    CO     90013039427
74577A4958B163   ANGELA          ALLRED                    UT     31072120495
74577A59341237   GABRIELLA       KIPANGA                   PA     90012080593
74578176272B87   TIFFANY         BURNS                     CO     90013991762
74578242A31433   KELLY           BROWNLEE                  MO     90014742420
74578543872B29   TRINA           MYRES                     CO     90013045438
7457881A47B477   LEONARDO        RAMERZ                    NC     90006068104
74579514872B37   CATALINA        DOMINGUES                 CO     90014445148
7457B3A9971921   ROBERTO E       LOPEZ                     CO     32097873099
7457B76A793726   NANCY           WALKER                    OH     90013497607
7458152A491522   VANDA           VIGIL                     TX     90007825204
7458158353B135   VIVIAN          ERBY                      DC     90008625835
7458186A572B87   ALLYSON         SCHERMERHORN              CO     90014988605
74581A34372B37   BRITTANY        SOBIESKI                  CO     90012630343
7458249A172B37   ALICIA          MARTINEZ                  CO     90000894901
74583282872B44   GRACIELA        ACOSTA                    CO     33051242828
7458373338B142   TIMOTHY         DEWBERRY                  UT     90010797333
7458379A733698   BYRON           FREEMAN                   NC     90003017907
7458417583168B   CAROL           KIRKWOOD                  KS     90006191758
745846A9431432   TRACY           BARNETT                   MO     90013606094
7458524435B225   CHRISTAL        WOOLUMS                   KY     90013762443
7458547588B163   FRANCES         PRIDGEN                   UT     90012594758
74585A1258593B   SHERRY          PRATHER                   KY     90013340125
7458648457B477   MALI            NABINTU                   NC     90007984845
74586652A71921   DAVID           ORR                       CO     90013016520
7458666135B225   LEE ANN         SHARP                     KY     90014626613
7458693137B477   BRIAN           HAMRICK                   NC     90014359313
74586A33A3168B   STEVEN          HEADLEY                   KS     90012010330
7458768298B142   BRANDON         HASKINS                   UT     90012766829
74587A16872B32   JESSIE          STOVER                    CO     33059060168
74587A1A372B87   JONATHAN        PERKINS                   CO     90014920103
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 821 of 2350


74587A2515B59B   LUIS A        OROZCO                      NM     90011940251
7458825998B163   SHAWN         CHRISTENSEN                 UT     90008662599
7458881A385945   WILL          JONES                       KY     90011598103
7458942AA8B134   TANYA         STILES                      UT     90012874200
745894A3433698   REGINA        ALICHE                      NC     90012254034
745899A688B157   MERRY         SESSIONS                    UT     90008879068
7458B311972B44   IMELDA        VASQUEZ                     CO     33019803119
7458B58893162B   FANY          DORANTES                    KS     90013005889
74591481572B87   APOLMAR       VALDES                      CO     90003134815
7459169A472B29   ANA           MORALES                     CO     33021756904
74591A32231433   WILLIAM       HURST                       MO     27568190322
74592378572B32   DAVID         VALDEZ                      CO     90010193785
74593192272B87   JESUS         DIAZ                        CO     90012871922
745936A455B225   JENNIFER      BOSTIC                      KY     90013146045
74593852272B29   HERMINIA      LUNA                        CO     33025728522
74593854A8B142   WADE          MILLER                      UT     90005008540
745944A6A72B37   ALFREDO       CALVA                       CO     90010524060
74594557A85945   TIMOTHY       LAWS                        KY     67012955570
74595127772B37   CARLA         HERNANDEZ                   CO     90012301277
7459578247B426   NIDIAN        REYES                       NC     90009027824
745971A1141237   SHAYLYNN      EVERTETTE                   PA     90010881011
7459723758B168   SHANNON       UNGRICHT                    UT     90010972375
7459733528593B   RHONDA        YORK                        KY     66010063352
7459772955B225   DERICK        SCOTT                       KY     90014857295
74598285A8B142   CHRISTIAN     COLLINS                     UT     90013422850
7459873598B163   RYAN          GRAVES                      UT     31081127359
74598871A72B29   CHRISTIAN     BERNAL                      CO     90012248710
7459B68298B157   SALDIVAR      JOHN                        UT     31027986829
7459B773772B37   RUTH          SNYDER                      CO     33000877737
7459B8A1A2B227   LADORSA       WARREN                      DC     90011278010
7459BA14193739   ELLIOTTE      GUNN                        OH     90013550141
745B1789772B44   JORGE         MARTINEZ                    CO     33034457897
745B235535B59B   LAURA         DUARTE VELEZ                NM     90000213553
745B2373972B37   OCTAVIO       PEREZ                       CO     90010523739
745B258893162B   FANY          DORANTES                    KS     90013005889
745B2A5A92B271   ANNETTE       ALEXANDER                   DC     90010550509
745B314A772B32   NORMA         SIMIANO                     CO     33071691407
745B3157672B44   ESTEBAN       BALENSIANO                  CO     33012191576
745B3239341237   RAY           CAMPBELL                    PA     90010682393
745B3637191586   TORRES        JULIO                       TX     90010896371
745B3658772421   WILLIAM       METHEWS                     PA     51061476587
745B3854433698   MIKE          EDWARDS                     NC     90011398544
745B397A83168B   ELENA         TURNER                      KS     22014249708
745B435968B142   AMANDA        LHUNSAKER                   UT     90008053596
745B4942755939   CHRISTOPHER   ALANIZ                      CA     90013219427
745B496225B225   MATT          TURNER                      KY     90014849622
745B5589871948   BRANDON       TURRENTINE                  CO     90006965898
745B5922561997   ARMANDO       ESTRADA                     CA     90014999225
745B6227171921   VERONICA      LOAIZA                      CO     90005522271
745B6259371921   BRYAN         LOVE                        CO     90011132593
745B6718755939   MARIA         GARCIA                      CA     90012917187
745B6868572B32   MARTHA        ELENA PRIETO                CO     33082088685
745B694858B157   GRADY         GRIFFEN                     UT     90009549485
745B6A3555B59B   ANA           SAENZ                       NM     90014550355
745B7192885B49   JUAN          MARTINEZ                    FL     90015361928
745B7616771921   THOMAS        DEFRATES                    CO     90012896167
745B768A831432   PAUL          APAN                        MO     90008406808
745B776A793726   NANCY         WALKER                      OH     90013497607
745B8267231432   FRANK         AULTMAN                     MO     90006022672
745B838A65B225   VALERIO       GUTTERREZ                   KY     68062843806
745B886A79154B   LUIS          VILLALVA                    TX     75069318607
745B8884A72B44   JOHN          TYRA                        CO     90011378840
745B89A9971921   SUSAN         PAYNE                       CO     32095089099
745B9489A72B87   MARIA         HERNANDEZ                   CO     90006824890
745B9525A31443   CHANISE       WELLS                       MO     90004405250
745B9658455939   ADAN          PACHECO                     CA     90006846584
745B9A83172479   JAMES         ROBERTS                     PA     90014480831
745BB117685945   COURTNEY      LEAR                        KY     90011291176
745BB358972B37   KHARISSA      MOORE                       CO     90005963589
745BB466941237   REBECCA       DAVIS                       PA     90013454669
746116AA831433   ANDREA        BATES                       MO     90014466008
7461184A92B236   DELMY         FUENTES                     DC     90004708409
746124A1472B44   NIEVES ADAN   MORALES                     CO     90015034014
746126A3133699   KAYLA         HARRISON                    NC     12092106031
7461346668B142   KALAN         OLIVAS                      UT     90014574666
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 822 of 2350


7461364A872B87   ANA          MARBAN                       CO     90009836408
7461438389154B   MARIA G      CASTILLO MARTINEZ            TX     90013333838
746145AAA93726   DEVIN        COLLINS                      OH     90008515000
74614635A55939   MANUEL       OROVCO                       CA     90010256350
74614973A41237   DHADI        RAM CHHETRI                  PA     90011719730
74614A17131433   TRANADA      FINLEY                       MO     27563760171
7461515A333699   HAROLD       SMITH                        NC     90011421503
7461547148B134   INGRID       BARRERA                      UT     90012994714
7461582925B225   JORDAN       MASON                        KY     68080878292
7461611415B384   KEITH        MCCOY                        OR     90003951141
74616395A93739   NICOLE       MILLER                       OH     90014883950
7461642A972B44   MARGARET     MIERA                        CO     33097914209
74616852372B87   ERIC         ARAGON                       CO     90011558523
7461749835B375   CINDY        NORBERG                      OR     90012174983
7461782365B225   CARA         RODGERS                      KY     90013148236
74618668172B37   ESPERANZA    CASTRO_VEGA                  CO     33094156681
746186A8531443   GREGORY      SANCHEZ                      MO     90008886085
7461871527B477   YEINA        WALLACE                      NC     11014817152
74618935272B87   DAVID        FERNANDEZ                    CO     90012809352
7461897819154B   THOMAS       STRALEY                      TX     90000639781
74618A41891522   DAWN         RATHBUN                      TX     90014300418
746193A1285945   WANNNA       MOCK                         KY     90007833012
74619538472B44   TAIS         JUNCOS ROBLES                CO     90013925384
7461B48849154B   KIMBERLY     LOPEZ                        TX     90004724884
74621236872B32   JESUS        CASTANEDA                    CO     90012352368
746213A9A31432   RALPH        OLIVER                       MO     90012553090
74622A25872B29   JAIME        MENDOZA HERNANDEZ            CO     33087060258
74623228A8B134   STEPHANIE    BLEAZARD                     UT     90015282280
7462372128B157   SITAU        LOA                          UT     90014417212
7462379775B59B   MORAIJI      MCKAIN                       NM     90014667977
746237A9772421   MICHAEL      O'CONNOR                     PA     51087577097
74623931A93739   LAVERN       HUDSON                       OH     90013479310
7462398878B142   ALEJANDRO    SANTONA                      UT     90015379887
74623A36241253   ROBERT       MARLIN                       PA     90011000362
7462435718B163   SEVAO        SUA                          UT     90015263571
7462593958593B   KRIS         BROWN                        KY     90014799395
7462686667B477   GIN          KAP                          NC     90013428666
7462778785139B   JERRY        MARCUM                       OH     66000617878
74628146272B87   ROSENDO      RODRIGUEZ                    CO     33009941462
7462839688B163   FRANCISCO    JUAREZ                       UT     90012543968
74628959272B29   DAVID        RAMIREZ                      CO     33046559592
7462966638B142   AMBER        HANSEN                       UT     90015516663
7462978A941253   MELISSA      REGAN                        PA     90014837809
7462B36A372B29   SANJUANA     SOTO                         CO     33006583603
7462B64A872B87   ANA          MARBAN                       CO     90009836408
7463132178B168   SHASTA       BISHOP                       UT     31066473217
7463145A651331   PAT          GAYNOR                       OH     90011734506
7463157A861971   MELISSA      GREER                        CA     46000995708
74632243572B44   ELISHA       BALLARD                      CO     90013192435
7463228A871921   CLUDIA       REYES-SANCHEZ                CO     90008592808
74632598A61922   SANTIAGO     VILABOY                      CA     90010115980
7463262195B59B   NICHOLAS     CORDOVA                      NM     90012686219
74632A51293739   CARLOS       MARTINEZ                     OH     90001140512
74635589172B87   JAMES        ROMERO                       CO     33076765891
7463598918593B   BRITTANY     HAUGHT                       KY     90010859891
7463629469154B   SARAHI       TORRES                       TX     90010822946
7463648487B477   MICHELLE     HOPE                         NC     90007984848
7463665978B157   KRIS         JEPPSON                      UT     31019506597
7463716978B168   KEVIN        CAMPBELL                     UT     31081821697
7463743212B84B   ANDRW        SEDWICK                      ID     42017624321
7463811A838522   BRITTANY     ANGELL                       UT     90011891108
7463867228B134   ANTONIO      SOLO                         UT     90004006722
7463877A972B32   BRANDON      SENA                         CO     33069487709
74639229197B39   MARIO        HERNANDEZ                    CO     39066742291
74639474A8B142   CARY         KAEDING                      UT     31092734740
746397A2757474   DANYEL       NELSON                       IN     90007227027
7463B32572B994   AMBAR        RODRIGUEZ                    CA     90012503257
74641286A77397   OMARI        GLETTEN                      KY     68096692860
7464131255B59B   THERESA      FERNANDEZ                    NM     35081173125
746413A1457147   GELSIS       GUEVARA                      VA     90000863014
7464178278B142   JULIETA      SALAS                        UT     90014347827
74641AAA772B44   ANTHONY      RICH                         CO     33079610007
746426A5A91549   BEJARANO     JOSE LUIS                    TX     75094496050
74642A34893726   JULIE        TYLER                        OH     90013630348
74642A3748B134   ARACELI      CORTEZ                       UT     90014670374
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 823 of 2350


7464354598B157   SUSANA              GARCIA                UT     90010625459
7464388488B134   TONYA               MARTIN                UT     90012478848
7464484212B994   EDDIE               HARRIS                CA     45098918421
74645166672B87   BRITTNEY            ORR                   CO     90013841666
746452A4433698   MORTRICIA           CARTER                NC     90011312044
7464538829154B   MARIA ESTHER        VALDEZ                TX     90009223882
7464549882B994   THOMAS              MILLS                 CA     90011134988
74645674A31443   JEFFREY             WAGGONER              MO     90013626740
7464623525B225   KIMBERLY            BALDWIN               KY     90005152352
7464729998B351   KEVIN               MORTON                SC     90002122999
746473A678B163   ABEL                GODINEZ               UT     90004303067
746473A733B38B   APRIL               BENEKE                CO     33095263073
746475A618B189   N KATIE             ROSE                  UT     31087505061
7464766668593B   PAUL                TRIANCE               OH     90009726666
7464768A833698   CARL                BRYANT                NC     90005576808
74648462A71921   VIRGINIA            MCNAMARA              CO     90015084620
74648A3948B163   JAMIE               BAGNELL               UT     90014740394
74649776A31433   BRIDGETT            SCOTT                 MO     90014837760
7464B18A25B225   CODY                KERR                  KY     90013651802
7464B699941237   KAREN               GOLD                  PA     51035106999
7464B783472B32   BRANDON             OGDEN                 CO     90013587834
7464B98388593B   ANGELA              HERNANDEZ             KY     90015349838
74651A2395B225   GINA                DABNEY                KY     68088150239
7465223265B59B   GONZALES-BALSINDE   ALBERTO DANIELO       NM     90008182326
7465354248B142   CLAUDIA             GOSAIN                UT     31084005424
74654234A2B994   DYLAN               VICTOR                CA     45003382340
7465613189154B   MARIA ELENA         PENA                  TX     90013301318
74656643272B29   RAQUEL              LAMPH                 CO     90014726432
746571A2772B87   JERONIMO            PASILLAS              CO     33000701027
746572AA68B134   RUBEN               SANTANA               UT     90010062006
7465758589154B   DELGADILLO          RENE                  TX     90010575858
7465779387B477   SHYREE              GLASPER               NC     90011177938
746579A6972B32   KOHL                DRESDEN               CO     90014729069
74657AA5271921   STELLA              FLORES                CO     90012790052
7465956325B384   AKEMI               KANEGAE               OR     44509605632
7465976695B225   DANNY               PROCTOR               KY     90006887669
74659A9899154B   JORGE               REYES                 TX     90014480989
7465B44328B142   JANELLE             COX                   UT     90008954432
7465B4AA293739   BRANDIE             TIPTON                OH     90002554002
7465B758351378   SHANNON             WILLIS                OH     90000837583
7465B8A4133698   LINDSAY             WARREN                NC     90015188041
7466117725B28B   TREMICE             RALSTON               KY     90002741772
74661477572B87   BRIAN               JOHNSON               CO     90013084775
7466165155B225   EVELYN              RENTERIA              KY     90013156515
746631AA972B32   JAMEASE             MOSLEY                CO     90012741009
7466337768593B   MICHAEL             BUTTS                 KY     90010303776
74664538A72B37   BRITTNI             ALEXANDER             CO     90011035380
74664A93455939   AMY                 PRADO                 CA     90011890934
7466538938B134   JAMES               WADLEY                UT     31003793893
74666AA1A93726   KIM                 BROWN                 OH     90014800010
7466711345B55B   LUIS                REYES                 NM     90009511134
7466815478B163   PHILIP              MONTOYA               UT     31094921547
7466B349971948   SATIVA              PATTERSON             CO     90013853499
7466B4A7A7B477   KIDISITI            HAILU                 NC     90013644070
7466B6A3141237   WENDY               NOTTINGHAM            PA     90000896031
7466BA6A28B168   JEFF                ROWLEY                UT     31065190602
7467111A772B32   IMELDA              AVALOS                CO     33044011107
74671855372B29   DANIEL              ALLAN                 CO     90003608553
7467219895B59B   MASAWIESTE          STEPH                 NM     35083761989
7467246A572B87   JEFFREY             REYNOLDS              CO     90011874605
74672585A72B29   CHARLES             LOPEZ                 CO     90014775850
7467287878B142   LUNA                ANGELICA              UT     90007288787
7467292727B358   SAIDU               SESAY                 VA     81010669272
74673161976B49   JORGE               TORRES                CA     90001291619
74673692572B87   CORY                MICKALIGER            CO     33094856925
7467398543168B   PURNELL             THOMAS                KS     90013439854
746744A848B134   JOSE                ESPINOZA              UT     90014754084
746748A4133698   LINDSAY             WARREN                NC     90015188041
7467578AA31432   CARLA               KELLEY                MO     90013987800
7467658414B261   CHRISTINE           TUTTLE                NE     26075365841
74676645572B87   CELIA               SANCHEZ               CO     90010306455
7467671275B225   ANTONIO             GOMEZ                 KY     68079007127
7467713618B163   CHRISTOPHE          LADD                  UT     31001861361
746773A518B157   ABOLIAS             RIZO                  UT     90000533051
746776A4793726   LORI                SCHMIDT               OH     90012466047
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 824 of 2350


74677714572B32   SANDOVAL            SANTIAGO              CO     90012787145
7467784819154B   IVONNE              MEDINA                TX     90012168481
74677A36133699   WILLIAM             SMITH                 NC     12026150361
746787A248B163   APOLLONIA           LAMBERTUS             UT     90010227024
74678A72741227   RENITA              JACKSON               PA     51095360727
74679A12A71921   PAUL                BURNS                 CO     90012840120
7467B13485B225   BRIAN               STONE                 KY     68048771348
7467B254772479   RAVEN               RANDALL               PA     90013352547
7467BA4746195B   AGUSTIN             RODRIGUEZ             CA     90011970474
7467BA7AA71921   MARQUITA            SANDERS               CO     90010940700
74681328A72479   DEBRA               MERASHOFF             PA     90006073280
74681542472B44   JANET               TELLER                CO     90013925424
7468166849154B   LETICIA             GOMEZ                 TX     90008376684
7468182988B163   CHRISTIE            SOMMERS               UT     90014498298
74681A6558593B   GARY                UHL                   KY     90013280655
7468247253146B   ELIZABETH           LARUE                 MO     90012354725
74682648872B32   INGRID              SAUREZ                CO     33090186488
74682A55A41237   DAVID               KAMINSKY              PA     51002210550
74684824A8B168   SIONE               TONGA                 UT     90005408240
74684A51772479   ZACK                PAINTER               PA     90013850517
7468523618593B   RYAN                FRENCH                KY     90003132361
7468614788B142   PATRIK              PETERSON              UT     31027081478
7468628138B163   MATTHEW             VALDEZ                UT     31090642813
74687482572B21   CLAYTON             TAYLOR                CO     33035804825
74687897772B37   AMY                 KENDALL               CO     33030728977
74688446A8B168   ADRIENNE            OPENSHAW              UT     90010124460
74688796A72478   GARY                SCHADE                PA     90003507960
74689615772B37   TELAYA              ZUBIA                 CO     90007856157
7468963A491549   RAFAEL              VEGA                  TX     90009006304
74689A9347B477   MERSADEES           BENBOW                NC     90014760934
7468B587133698   RAQUEAL             LOGAN                 NC     90012995871
7468B6A769154B   MARIA               BAEZA                 TX     90010576076
7468B84819154B   IVONNE              MEDINA                TX     90012168481
7468B8A8872B37   INDRA               RAI                   CO     90013358088
746913AA472B87   GREGORY             HORN                  CO     90012763004
7469213AA41253   AMY                 DAVIS                 PA     90010051300
74692281A71921   JOLENE              BOWERS                CO     90001192810
7469252819154B   LUIS                REYES                 TX     90009785281
746936AA58B163   TORIE               JENSEN                UT     31056906005
7469382A98B142   KURT                MOYER                 UT     31086318209
7469578638436B   KAMAL               PATEL                 SC     90004427863
7469615555B225   OWENS WOODWORKING   OWENS                 KY     90013951555
7469664849154B   BENITO              CANO                  TX     90010576484
74697189A31672   DIANA               SIMS                  KS     90012531890
746971A3A57147   ANGILA              STANLEY               VA     90005811030
74697A39A33B34   PEDRO               FARIAS                OH     90014770390
7469836648B134   HEM                 KHAPANGI MONGAR       UT     90014003664
74698452372B37   BNETT               LEIVINSER             CO     90000444523
746986A4341237   RAYMOND             SESKEY                PA     90012246043
74698A4618B168   MICHAEL             PATTERSON             UT     31035470461
7469933799154B   ILEAN               MOLINA                TX     75009743379
74699471372B37   KATIE               FOSHEE                CO     90013254713
7469982515B59B   TAMRA               GIBSON                NM     90000248251
746998A3631433   KYLE                JOHNSON               MO     90013328036
74699944A8B163   TRISTANY            COX                   UT     90014879440
746B139379154B   GLORIA              SOTO                  TX     90008283937
746B169218B168   CESAR               FLORES                UT     90004386921
746B1847272441   HEATHER             CALER                 PA     51076418472
746B1A58441253   REGINA              JORDAN                PA     51074620584
746B2129272B32   BRITTANY            BOBO                  CO     90014641292
746B236987B477   DEVIN               RAMKISSOON            NC     90014603698
746B2389231433   RICHARD             TAYLOR                MO     90011103892
746B289395B384   RAFAEL              GARCIA                OR     90002868939
746B399A972B37   JAZMINE             CAMARILLO             CO     33059609909
746B3A32472B32   SADRA               LIMAS                 CO     33040940324
746B427733168B   DIIONTAE            JAMES                 KS     22094042773
746B46A2572B44   VICTOR              VALDEZ                CO     90011846025
746B492968168B   NICOLE              DUENSING              MO     90005699296
746B52A659154B   PAT                 MEZA                  TX     90003692065
746B67A3872B87   JORGE JAVIER        FELIX RODRIGUEZ       CO     90012887038
746B686935B59B   ALBA                OLGA                  NM     90014958693
746B6A8928B142   WESLEY              GREENBERG             UT     90014470892
746B7389231433   DELLA               HOLLOWAY              MO     27593023892
746B7643793739   DONALD              NISCHWITZ             OH     90013916437
746B7647A57147   JACQUELINE          SHELTON               VA     81010926470
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 825 of 2350


746B7772885945   KIERRA         JOSEPH                     KY     90010577728
746B829769154B   CHRISTOPHER    CASTILLO                   TX     90013552976
746B8468931433   BRANDON        BROWN                      MO     90013884689
746B8A2335B395   WENDY          SANCHEZ                    OR     90007990233
746B913245B59B   REY            DESIR                      NM     90013241324
746B93A9672421   KIMBERLY       SMITH                      PA     51055573096
746B9A25372B37   NATHANIEL      HOSKIE                     CO     90006080253
746B9A8523168B   VICKII         DELGADO                    KS     22071090852
746BB577172B29   NICHOLAS       BAYER                      CO     33079495771
746BB78328593B   DJUANA         ELLIS                      KY     90003987832
746BB84177B477   DILVER         PEREIRA                    NC     90011478417
74711812772B44   ANTONIA        RAMOS                      CO     90008668127
747124A8241237   PATRICE        LEARY                      PA     90014454082
747125A3993739   LETEICE        JONES                      OH     90014715039
7471293168B163   JUAN           TRUJILLO                   UT     90004259316
747138A7631443   MARY           SOLOMON                    MO     90014208076
74713A16572B44   ERIC           LOPEZ                      CO     90010870165
74714758A72479   NEIL           CHAMBERS                   PA     51050207580
74714782772B44   SHAKAILA       PROULX                     CO     90013427827
74715746A8B134   PEDRO          GAECIA                     UT     90014887460
747167A4972B87   JAYNE          CAMP                       CO     90014177049
747173A457B477   SUANY          FUNES                      NC     90012503045
74717424A93739   ELI            BISHOP                     OH     64563274240
747183A3731433   PATRICE        WILLIAMS                   MO     27558343037
7471861A33B354   MIRIAM         TRILLO                     CO     33015876103
74718822A8B142   KATIE          LOPEZ                      UT     90001318220
747188A6972421   RYAN           TRESATTI                   PA     90013098069
7471B696591521   REINALDO       SIAS                       TX     90013756965
7471B849931433   WHITNEE        SPIGHT                     MO     90014228499
7472157655B384   MAURICE        FRANCE                     OR     44577585765
74721664972B87   TANYA          ELKERTON                   CO     33090826649
74721819672B32   ROBIN          CHAVEZ                     CO     33023568196
74721848A55939   JOHN           GOMEZ                      CA     48017318480
7472288A58B134   KEY            SANTIO                     UT     90006378805
74722A15641253   ASHLEY         WILSON                     PA     51050410156
74723169172B44   CHRISTOPHER    WAUGH                      CO     90010301691
747233A248B157   VINCE          RODRIGUEZ                  UT     90013073024
7472457359154B   JOSE           FUENTES                    TX     90004975735
74724657872B29   JOSH MICHAEL   QUINTANA                   CO     90012906578
7472597398B163   ALEJANDRA      MENDOSA                    UT     90004039739
7472612495B225   PHILIP         BOYER                      KY     90014311249
74726136972B32   RYAN           HOFFSCHNEIDER              CO     90012731369
74726282372B37   KEVIN          DONOHUE                    CO     33089532823
74726492272B44   FELIPE         REYES                      NM     90011374922
74726682527B98   BRIANNA        WILLIAMS                   KY     90012886825
74726A1438593B   ISAHA          DEAN                       KY     90012660143
747276A1741237   JEMIAH         BOOHER                     PA     51052976017
7472778638436B   KAMAL          PATEL                      SC     90004427863
7472784A171921   MIKE           HAVELND                    CO     32081658401
747298A538593B   KRISTIE        JEWELL                     KY     90012128053
7472993975B225   CHAZ           TURNER                     KY     90014069397
74729A52272B44   TED            SIERRA                     CO     33045950522
74729A53931433   JALEEL         WILSON                     MO     90013760539
7472B45552B829   BRANDON        SMITH                      ID     90012634555
7472B8A948B168   ANTONIO        AVILA                      UT     31017468094
74731377A72B31   SOCORRO        MARES                      CO     33069243770
7473177A631432   DEBORAH        MOORE                      MO     90010737706
747327A415B326   DONALD         FOSEN                      OR     44500577041
747327A555B281   ROMICA         THOMAS                     KY     90001677055
74732A45941227   JOSEPH N       MONTEMURRO                 PA     51083340459
7473317565B384   STACEY         BARKER                     OR     90005681756
747335A142B895   JACKIE         DOWNEN                     ID     90012655014
74733A6AA72B29   STEPHANIE      CONTRURAS                  CO     90008360600
7473467153168B   LINDA          BATY                       KS     22073476715
7473496858593B   TORI           DYER                       KY     66002039685
74734A62431433   DERRICK        MCDANIEL                   MO     90012950624
74735266A8B157   JAKE           BERGSTROM                  UT     31097082660
7473539262B994   STEPHANIE      BERRYMAN                   CA     90014423926
74735969A72B32   NEFTALY        AMECA                      CO     90014469690
74735A6845B225   COREY          ADAMS                      KY     90012850684
74736577A8B134   MONICA         REYNOLDS                   UT     31033225770
7473692375B225   STEVEN         ARNOLD                     KY     90012319237
74737359A33698   UNETTA         MARSHUN                    NC     90013723590
7473763225B59B   JUAN           SANCHEZ                    NM     90009546322
74737816172B87   PAULA          COLEMAN                    CO     33051528161
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 826 of 2350


74737889A9154B   CESAR        BERNAL                       TX     75005878890
74738577572B44   PATRICIA     FLANAGAN                     CO     90008365775
7473871A92B927   KIMBERLY     BUETO                        CA     45064707109
7473885A89154B   ELVA         RAMIREZ                      TX     90014298508
74739328172B29   CHARLES      DOTTSON                      CO     90010373281
7473971A92B927   KIMBERLY     BUETO                        CA     45064707109
7473B37A341237   WILLIAM      MANKER                       PA     51007053703
7473B545972B37   MARIA        RAMIREZ                      CO     90011645459
7473B794193726   STEPHANIE    TIPTON                       OH     90013497941
7474124A92B994   HENRY        PEREZ                        CA     90013462409
7474158A472B44   NICOLE       ANDERSON                     CO     90008365804
7474221928B157   BERNARDINA   MARQUEZ                      UT     31001102192
7474229133168B   MICHELLE     REGISTER                     KS     90013982913
7474229278B142   CORY         CAMPBELL                     UT     90013752927
7474257A531443   VERNELL      WALKER                       MO     27512275705
74742647A5B59B   SHIRLEY      MIRAMONTES                   NM     90010056470
7474272578B142   CORY         CAMPBELL                     UT     90014557257
74742788672B29   WENDY        MERLOS-BARRERA               CO     33095617886
7474319175B59B   SANDRA       BRINK                        NM     35055351917
7474329A391572   REBECA       CALVILLO                     TX     90013102903
74743438572B21   MATTHEW      MACHETTA                     CO     90003204385
747434A3A8B168   BRUNDAGE     MELISA                       UT     90007934030
7474362548593B   DANIEL       SCHILPF                      KY     66084206254
7474423A68B142   JASON        SHERMAN                      UT     90012872306
747454A633168B   RANDY        ROSS                         KS     22081264063
7474597839154B   JOHN         BALL                         TX     75058399783
74746273A5B225   SHAWN        SHOAF                        KY     90014152730
74746897572B29   DEBORAH      MAUNAKEA                     CO     90011408975
74747A6198B168   JUAN         TENORIO                      UT     90005020619
7474812525B225   BRANDON      STIVERS                      KY     90012801252
74748451A72B32   ALEX         LOPEZ                        CO     90013334510
74748836A9154B   CYNTHIA      FLORES                       TX     90012738360
74748A83491852   BERNICE      NEWELL                       OK     90014810834
74749793972B37   KENNETH      CRUZ                         CO     33060347939
7474981818B142   GERALDIN     SCHERZINGER                  UT     31010968181
7474B38A78B163   DEBORAH      MEDINA                       UT     90014493807
7474B44618B157   LAURA        SOTO                         UT     90014054461
7474B974485945   BROOKS       RYAN                         KY     90001859744
7475147242B869   ROY          SMITH                        ID     90001294724
747517A973168B   HOWARD       RICHARDSON                   KS     22000827097
74751889572B29   JORGE        COBIAN                       CO     33014838895
7475198755B225   EMMA         HARDIN                       KY     90011249875
7475221A39154B   MARIA        MARTINEZ                     TX     75098672103
74752A4128B168   OSCAR        GOMEZ                        UT     31039630412
7475494397B321   JOSE         QUINANTILLA                  VA     90013319439
74754A87972B29   SALVADOR     PROPEZA                      CO     90009280879
747551A6133698   KIMBERLY     BURKLEY                      NC     12001111061
74755443972B44   JOSE L       VAZQUEZ                      CO     33075664439
747556A425B59B   CRYSTAL      DUQUETTE                     NM     35092896042
74755898772B32   STACEY       FINKEN                       CO     33089518987
74755A69A7B487   LUHPINIA     DIGSBY                       NC     90001660690
7475674612B994   AGUSTIN      MORENP                       CA     45088067461
7475715A772B44   AARON        DEMARE                       CO     33084121507
747571A3A8B168   TRAVIS       ZABRISKIE                    UT     90010591030
7475826A571921   CARI         MATTHEWS                     CO     90010382605
7475878789154B   ROMELIA      FRANCO                       TX     75091567878
7475934828593B   ERICKA       CHESTER                      KY     90009653482
7475938289154B   OSCAR        ANDRADE                      TX     90012873828
747598A468B157   TAMMY        DALLAS                       UT     90000398046
74759A6A341253   HELENE       PRINCE                       PA     51054570603
7475B61552B241   LATRICE      PERRY                        DC     90007956155
7475BA51941237   MELISSA      HUFFMAN                      PA     51077860519
74761451472B37   MATTHEWS     TYLER                        CO     90010524514
74761911A31443   SIERRA       PAYNE                        MO     90011149110
74761942772B44   ADALBERTO    GUADARRAMA                   CO     33005529427
7476386448B142   JORDAN       LEWIS                        UT     90007988644
747645A1393739   TERRY        HILL                         OH     90015245013
7476488327B477   SHAWN        WILLIAMS                     NC     90013118832
74765358772B37   SERENITY     SALIS                        CO     33089533587
7476565125B557   JOAN         BLASDEL                      MO     29098296512
74765A43972B32   YANELI       CONTRERAS                    CO     90004220439
74766553A7B477   ANA          SILVA                        NC     11010525530
7476729885B59B   BETTY        MONROE                       NM     90012072988
7476746835B225   KEYSHIA      PATTERSON                    KY     90013414683
74768569A72B44   SEAN         MILLER                       CO     90013675690
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 827 of 2350


7476924895B541   MATTHEW          ORTEGA                   NM     90013292489
7476937A131443   PAULA            DAVIS                    MO     90012843701
7476944137B477   LEON             WALKER                   NC     90013394413
7476953298593B   STEVE            ROUNDS                   KY     66051805329
74769A63772B37   LAURA            PALMER                   CO     33014420637
7476B683472421   JAMES            BELL                     PA     90002126834
7476B851A8B163   BRANDY           HERNANDEZ                UT     90014518510
7477135392B994   JAMAL            TURNER                   CA     90000903539
7477147365B59B   TSO              VIRGINIA                 NM     90001874736
7477158315B225   BARBARA          MOYER                    KY     90014455831
747715A8677524   LOUIS            SUNIER                   NV     90012495086
7477162528B168   LAUREL           TORO                     UT     31095236252
74771AA1A41237   PAYNE            ROBERT                   PA     90013860010
74772158A93739   LAQUAHNDA        GLANTON                  OH     90012291580
7477221632B271   DAWAYNE          SMITH                    DC     90007142163
74772271672B37   MICHAEL          SMITH                    CO     90008202716
74772578572B35   JOSHUA           MILLER                   CO     90013535785
74772864872B35   JOSHUA           MILLER                   CO     90014378648
7477426235B225   PATRICK          SCHUSTZ                  KY     90014922623
7477463A47B477   XAVIER           CREDLE                   NC     90007826304
7477465228B142   CARRELLE         TOPHAM                   UT     90011346522
74774A6378B157   AUSTIN           LUCAS                    UT     90014340637
74774AA5793726   SAMANTHA         RAAB                     OH     90014800057
7477517A88B157   THINNAKHON       PHENGPASTUT              UT     90000311708
74775A19193726   BRENDA           BLACKMAN                 OH     90010160191
7477619638B157   MARITZA          MORALEZ                  UT     90014611963
74776358772B32   ACUNA            VERONICA                 CO     90013303587
7477644555B59B   GUILLERMIN       VENEGAS                  NM     35079304455
74776713A8B142   KENNETH          HASKELL                  UT     90006467130
7477672379154B   MIGUEL           RAMOS                    TX     90010577237
74776935872B32   ACUNA            VERONICA                 CO     90010659358
7477713418B134   SIERRA           HEALY                    UT     90012391341
747771A278B163   RONALD           LOFFLIN                  UT     31080041027
7477779682B994   AUSTIN           CARLSON                  CA     90013047968
747781A115B241   MARY             MCDONALD                 KY     90009471011
74778261872B37   GARY             RIMBERT                  CO     33079312618
7477848A481643   CAROLINE         BOURDLAIS                MO     29050754804
7477878478593B   CLIFFORD         HUDSON                   KY     66077267847
7477884153168B   STEPHENIE        RAY                      KS     90014058415
7477944933B125   ELVIDA           LOPEZ                    VA     90014264493
7477968189154B   DAVID            BRELAND                  TX     90013196818
7477978515B225   VIRGINIA         JACKSON                  KY     90013447851
7477B492493726   DORTHEA          MILLER                   OH     90015254924
7477B518872B44   VERONICA         RIVERA                   CO     90014885188
7477B74579154B   LUZ              SALDANA                  TX     90010577457
7478168189154B   DAVID            BRELAND                  TX     90013196818
74781892672B87   JOHN             MEYER                    CO     90014698926
7478217168B163   HOLLY            SORENSEN                 UT     90013131716
7478231862B994   TAMMY            CALDWELL                 CA     90005313186
74783128272B87   MARISELA         SANTIAN                  CO     90012801282
7478352638593B   RICHARD          LANDRUM                  KY     90003805263
7478452357B477   DILCIA           POLANCE                  NC     90003765235
74785644972B87   TONJA            SWEET                    CO     90009576449
7478582238B142   KEVIN            CANTREL                  UT     31000578223
7478594A25B225   ALICE            GABLE                    KY     90015049402
747872A258B142   LAURA            CHURCH                   UT     31079742025
74788851A3168B   JASMINE          SWEETEN                  KS     22009668510
7478919237B477   LAWRENCE         EADDY                    NC     90014851923
74789A76185835   ELRICH           SANDING                  CA     90002930761
7478B246241227   MELISSA          KIGER                    PA     51072982462
7478B32358B157   MICHAEL          HERRERA                  UT     90009943235
7478B44A372B32   ROCIO            MONTOYA                  CO     90012794403
7478B63128B142   SHARI            VALETI                   UT     90002156312
7478B63958B157   ELIZABETH        CHAPPLELL                UT     90014836395
7478BA22A71921   CALOS            ORDONEZ                  CO     32074960220
7479133713168B   JERRY            WILLIAMSON               KS     22098073371
74792144372B44   MAGALY           NAJERA                   CO     90013321443
7479243A34B531   MITCHELL WAYNE   NIBLET                   OK     90007254303
74792943372B87   DONAVAN          GARCIA                   CO     90014449433
74792A55372B44   BEATRICE         PADILLA                  CO     90015150553
7479334A15B225   GRETCHEN         SNYDER                   KY     68001833401
74793475772B29   ERIC             EGGERT                   CO     33039474757
7479375318B134   ALFONSO          COLLACO                  UT     90013317531
7479443158B134   ANGELA           BROWN                    UT     90012294315
7479448118B134   BROWN            MARIE                    UT     90009404811
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 828 of 2350


747946A112B994   CHASITY      LEE                          CA     90008076011
7479572912B994   YOLANDA      RUIZ                         CA     45075057291
74796647872B29   SIGRID       ARVIDSON                     CO     90009576478
7479675825B541   MARCOS       LUNA                         NM     35006777582
74796938272B44   JARAMILLO    SONIA                        CO     33005719382
7479696762B994   RITA         HUITRONPIMENTEL              CA     90014199676
74797291472B87   MARIA        GARZA                        CO     33062372914
74797737824B41   LAKEICIA     MORGAN                       DC     90008247378
74797946A86523   KEVIN        STEVENS                      TN     90009979460
7479881229154B   JESSICA      HERNANDEZ                    TX     90011068122
7479923428593B   KIMBERLY     TROXELL                      KY     90011112342
74799969872B44   ARMIDA       CEJUDO                       CO     90014839698
74799A13972B87   ZORAYDA      DOMINGUEZ                    CO     90012780139
74799A85571948   CHRIS        ROWELL                       CO     90005350855
7479B19848B134   BEVERLY      VALENCIA                     UT     90014351984
7479B19A977524   JOSE         FERRER                       NV     90006161909
7479B41445B225   DANIEL       BERBER                       KY     68072784144
7479B416141253   ROBERT       DECARIO                      PA     90013844161
7479B76469154B   HECTOR       CASTRO                       TX     90014247646
7479B76AA93739   KAREN        PETERS                       OH     64527187600
7479B84932B994   JOSE         AYALA                        CA     90009868493
7479B86828B163   JORDAN       DONIO                        UT     90014528682
747B194753B354   DIANE        MUNOZ                        CO     90002219475
747B1A5AA72421   HARLIE       ALLISON                      PA     90013290500
747B2295271921   BRITTANY     VELEZ                        CO     90010532952
747B232A58B163   ANA          CASTANEDA                    UT     31090253205
747B246A69154B   SERGIO       MAGALLANEZ                   TX     90004184606
747B2A49171948   DERELLE      LEWIS                        CO     90004600491
747B3231171921   IRESHA       BEAN                         CO     32059682311
747B3474391548   DINA         CASTRO                       TX     75090014743
747B34A6172B87   MARIA        PEREZ                        CO     90013934061
747B378638436B   KAMAL        PATEL                        SC     90004427863
747B3861993726   KATHY        KREITZER                     OH     64562338619
747B3A71531433   VANESSA      SHORT                        MO     90004940715
747B4222157147   DAVID        SPATES                       VA     90003082221
747B4431A72441   ROY          RODGERS                      PA     90005734310
747B4521333624   KEVIN        ENZLOW                       NC     90011625213
747B4A46671921   JAYSON       REED                         CO     32054070466
747B5294A71921   JIMENEZ      LOVE                         CO     32016612940
747B5948572B87   ADELA        BERNAL                       CO     90013209485
747B61A2A5B59B   CESAR        TORREZ                       NM     90012061020
747B643388B142   GREG         MOORE                        UT     90013424338
747B69A178B134   LEILANI      TAUELANGI                    UT     31093239017
747B7446891572   ANGIE        CUELLAR                      TX     90012824468
747B7472141237   CHERYL       POINDEXTER                   PA     51091534721
747B8531172B44   CLARA        VALDEZ                       CO     90014945311
747B888428593B   BILL         RISCH                        KY     90001068842
747B88A1241253   MARIAN       STYEN                        PA     90014838012
747B9562872479   ANGELA       RUFF                         PA     51028025628
747B957827B477   ANTOINETTE   DIXON                        NC     90015015782
747B962149154B   ROSA         GOMEZ                        TX     75027186214
747BB2A148B134   MONICA       GARCIA                       UT     90013852014
747BB318872479   SANDRA       MCGURK                       PA     51055853188
747BB41AA31443   CHANTE       BANKS                        MO     27586954100
747BB44428B142   STEFFANI     NELSON                       UT     31053334442
747BB522A8B134   MONICA       GARCIA                       UT     90007635220
747BB71A95B225   JENNIFER     BENTLEY                      KY     68004897109
74811169A85945   MONICA       MEZA                         KY     90010591690
74811292872B87   BRANDON      FLETCHALL                    CO     90014922928
7481237A131443   TRANEI       MOODY                        MO     90014493701
7481278A833699   CHELSEA      BEDDARD                      NC     12004097808
74813385272B44   ROBERT       ZIRKELBACH                   CO     33089273852
7481381244B538   JAMES        MCNEELEY                     OK     90009798124
74813A23855939   MODESTO      LOPEZ                        CA     90013250238
74813A73931443   BLANCA       DE LA TORRE                  MO     90010690739
74814485A72B44   DEAJEON      ARMSTRONG                    CO     90013934850
7481564A931443   EBONI        WILLIAMS                     MO     90015056409
7481574645B225   RENEE        BERRY                        KY     90012437464
7481666788B163   TREVIN       HASSON                       UT     90012726678
748167A3872B44   EPPERSON     ANGELINA                     CO     90010627038
748167A8393739   KELLY        KRYMOW                       OH     64557597083
748174A4572455   GUY          KLAUS                        PA     90011394045
748181AA893739   CAROL        HERRING                      OH     90013361008
7481828487B477   UNKNOWN      NAME                         NC     90010682848
7481851AA9137B   TRAVIS       RULE                         MO     90007745100
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 829 of 2350


7481858848B134   ROBERT       CLIFFORD                     UT     90011055884
7481862A241253   SHARISSE     WARREN                       PA     51044966202
7481889528B134   RUDY         DE LA PENA                   UT     90012948952
748189A6672479   ROBERT       GUISER                       PA     90013769066
74818A48272B87   STELLA       BEARD                        CO     90011990482
7481921A272441   ROXANNE      KAMINSKY                     PA     51027902102
74819476572B44   JOSE         GUTIERREZ                    CO     33083104765
74819537372B32   JAIME        CHAVEZ                       CO     33041345373
74819823172B37   JUAN         RAYMUNDO                     CO     90013358231
748199A1A72421   CHARLES      MULLOOLY                     PA     90006499010
7481B32185B225   RONALD       TINSLEY                      KY     90014883218
7481B557272B87   LULA         BRANDY                       CO     90010805572
7481B615371921   STEPHANIE    VAN NESS                     CO     90000826153
7482158A172479   JENNFIER     MEGELA                       PA     51093875801
74821A81293765   HEATHER      LEAR                         OH     90008550812
7482218388593B   CYNTHIA      LEWIS                        KY     66082651838
7482219415B225   LARRY        RODGERS                      KY     68006621941
74822A78972B87   THERESA      MONTOYA                      CO     33047080789
7482347A572441   REBECCA      SIEBERT                      PA     90006014705
748239AA357147   LAURA        LEON                         VA     90005539003
748244A5233698   DEVONTE      ALSTON                       NC     90012254052
74824A85976B7B   MARISA       NOVOA                        CA     46015080859
748256A598B163   WAYNE        KING                         UT     31043826059
7482577688B142   AMILKAR      SOTO                         UT     31040047768
74825A3555B384   JESUS        SANTOSP                      OR     44577010355
7482675318B134   ALFONSO      COLLACO                      UT     90013317531
7482765335B225   CAROL        GIBSON                       KY     90013536533
748277A8741237   BRYAN        BLAKE                        PA     90014717087
7482792A185945   JENIFER      DUH                          KY     90009369201
7482815595B225   MARIA        RIVERA                       KY     90012091559
7482897128593B   MARK         BREADON                      KY     90014019712
74828A16A8593B   JOE          BREADON                      KY     90003520160
7482913A572B98   MAYRA        CORONADO                     CO     90010011305
74829321A71921   DOLORES      DURAN                        CO     32088453210
748293A388B157   RICARDO      ALVARADO                     UT     90015323038
7482956288B134   ADRIAN       HICKS                        UT     31060205628
7482966946198B   CARRIE       MIHALKANIN                   CA     90009886694
748296A4931443   STEVEN       BECK                         MO     90009606049
7482B12612B994   MARCELLA     MARTINEZ                     CA     90010711261
7482B615272B44   ANA          CARRILLO                     CO     33055926152
7482B755672B29   JOSE         TORRES                       CO     90013227556
7482B822672B37   KIMBERLY     LOFTIN                       CO     90009388226
74832243672B87   ACCOUNT1     ACCOUNT2                     CO     90014952436
7483325558593B   KEITH        WAGNER                       KY     90015232555
74833377472B32   JORGE        C RAMIREZ                    CO     90012833774
7483429568B142   VLADIMIR     MUNSON                       UT     90015562956
7483443617B347   ALVARADO     MORALES                      VA     90009984361
7483461869154B   JAZZE        SANCHEZ                      TX     90006626186
7483528138B157   LESA         WILIAMS                      UT     90011052813
7483562877B477   ANGEL        RAMIREZ                      NC     90005876287
7483573159154B   DAVID        ODELL                        TX     75080767315
748358A6461966   JULIA        BLAND                        CA     46077328064
74836A56741237   ROSALYN      COPELAND                     PA     90014480567
748373A2185945   BRIAN        JUAREZ                       KY     90011603021
7483764418B157   MEGAN        DEWALT                       UT     90014836441
7483769158B142   ALECIA       ACUNA                        UT     31008196915
748386A4972B37   MARIA        LOPEZ                        CO     90013786049
74839538A55964   TERESA       JIMENEZ                      CA     49005545380
7483983637B477   SANTIAGO     PEREYRA                      NC     11021928363
7483B1A289154B   AIDA         CASTILLO                     TX     90006541028
7483B286881643   DAZSHA       GRAVES                       MO     90013812868
7483B398585945   MARTIN       POYNTER                      KY     90004063985
7483B4A8955939   ROSA         PULIVA                       CA     90011154089
7484128A247938   JOSHUA       BALLARD                      AR     25097712802
7484146158B134   BEN          VIGIL                        UT     90014494615
7484279482B994   SANTIAGO     SOLORIO                      CA     90013057948
748429A4172B44   RUTHANN      FOLKS                        CO     90013969041
7484319A576B49   SARA         PEREZ                        CA     90009591905
74843523A3B371   MARCIE       FRAHM                        CO     90007455230
7484421729154B   VERONICA     GALVAN                       TX     75079972172
7484433A68B142   BRENT        VIVERS                       UT     90011613306
7484443763168B   CHUCK        FLETCHER                     KS     22066264376
7484532947B477   JONATHAN     HERDERSON                    NC     11012253294
7484537365597B   PAUL         BARRIOS                      CA     48076193736
74845639A72479   DEBBIE       WILKINSON                    PA     51048786390
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 830 of 2350


74845664172B29   ANNAETTE          ARCHULETA               CO     90012816641
74845761572B44   MARIA GUADALUPE   MUNOZ                   CO     90013297615
7484597779154B   LORENA            RODRIGUEZ               TX     90010729777
74845A68A3168B   GENEVA            HUSK                    KS     90013170680
74847531172B44   CLARA             VALDEZ                  CO     90014945311
7484866818B163   ALEXANDER         MONTILLA                UT     90015026681
74848843A93739   DOMINIQUE         KELLAM                  OH     64559258430
7484B587677351   NICOLE            WILLIAMS                IL     90010575876
7484B6A8533699   CARLOS            BULL                    NC     90014806085
7485133218593B   KENDRA            SMITH                   KY     66098123321
748522A258B157   LAURA             CLARK                   UT     90013812025
748528A715B225   RON               TRAYNOR                 KY     90013598071
7485327A38B157   DON               HATCH                   UT     90013982703
748532A8993726   LAKEISHA          GARRETT                 OH     90013652089
74853A7AA31432   ERNESTO           GUERRA                  MO     90006120700
7485449859154B   DANNY             WOLF                    TX     90004184985
74854A37772B44   JAMES             LYNCH                   CO     33095500377
7485543785B225   ARCELLIUS         PALMER                  KY     90014964378
74856151A71921   MARGARET          SULLIVAN                CO     32087111510
7485617375B384   RUSSELL           SUMMERLIN               OR     90003791737
7485618128B134   AIMEE             CARR                    UT     31002261812
74856315A72421   TIFFANY           DANIELS                 PA     90014333150
74856751172B29   TERRY             MEEKS                   CO     33075947511
7485799A872B32   FRANK             BERKE                   CO     90012069908
74857A4A872441   A TREVENA         LORIE                   PA     51029220408
7485811A193726   CHESTAUN          FOWLER                  OH     64564651101
7485816257B477   NATHANIEL         CHANDLER                NC     90014351625
7485848158B142   NILSON            BARETTA                 UT     90010344815
7485858245B225   DORIS             THOMAS                  KY     90014705824
74858935A31433   VICTORIA          WHITE                   MO     90007619350
7485933788B157   DAVID             COUCHMAN                UT     31081633378
74859596172B44   ACEVEDO           LISANDRA                CO     90007945961
74859953A33698   JRUC              ANDRONG                 NC     90012609530
7485B26388B134   SHAUNELL          HARRIS                  UT     90010902638
7485B537872B32   JOSE              POOT                    CO     90013825378
7485B8AA733698   TERESA            WALLINGTON              NC     90014868007
7485B984355939   MARIA             ARREGUIN                CA     90014389843
7485B98448B134   SHAKER            AL-DIKHIL               UT     90013149844
7486156628B163   JONNY             CHRISTENSEN             UT     31041505662
7486231A85B225   CHAK              SIVANTHA                KY     90014573108
7486249A472B37   KEVIN             SATTERFIELD             CO     90010524904
74862923472B29   ALEJANDRA         HERNANDEZ               CO     33099409234
7486296418B163   MARK              PAY                     UT     90001519641
74862A9A32B994   LYDIA             VELASCO                 CA     90011950903
7486479619154B   ERIC              WILSEY                  TX     75059137961
7486523725B591   JEFFREY           LOVATO                  NM     90011842372
7486626A84B291   JAMES             GOULD                   NE     90003252608
7486659535B59B   JENNIFER          MAESTAS                 NM     35077035953
7486758838B142   MELISSA           CURTIS                  UT     31084905883
74868131A8B142   MATTHEW           WARREN                  UT     90014251310
74868266272B44   JOSE              ALVARADO                CO     90009422662
7486834A293739   ANDREA            REEVES                  OH     90013923402
7486888188593B   MISAEL            MARTINEZ                KY     90015348818
74869776772B37   SEAN              SANDOVAL                CO     33044657767
7486994AA2B271   JAY               WILLIAMS                VA     81032609400
748699A3831433   SAMUEL            GREVER                  MO     90015129038
7486B167191521   ERVIN             ZUBIA                   TX     90012921671
7486B6A8372421   LISA              GIORDANO                PA     90014176083
7486BA7A286433   EMMET             KELLEY                  SC     90015520702
7487145138B134   TRACI             HARPER                  UT     90000694513
7487238A641237   SHAIONTAI         GRIGGS                  PA     90015303806
7487248637B477   MYRA              CHAMBERS                NC     90013204863
74872911772B87   MARIA             SANCHEZ                 CO     90008589117
7487314A172B32   ROBERTA           TURNEY                  CO     33054211401
7487331768B163   RYAN              NEUENSCHANDER           UT     90014573176
7487333678B157   RACHEL            GALLACHER               UT     31098393367
7487348878B142   ANDRES            MALDONADO               UT     31091314887
7487363488B134   PEDRO             ALVARADO ESPINOSA       UT     90014486348
74873A1548593B   LAWRENCE          KEEGAN                  KY     66093670154
74873AA1793726   SANDRA            BIR                     OH     90012920017
7487447A972421   ALYSSIA           OSLOSKY                 PA     90014374709
74874748A7B495   MALJORCA          GAY                     NC     90001707480
74876322372B44   EMILY             PEDROZA                 CO     33076993223
7487692519154B   ELIZABETH         NUNEZ                   TX     90010579251
7487713422B271   LISA              ADELAKUN                DC     90001421342
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 831 of 2350


7487784218B163   TRISHA       MARTIN                       UT     90012708421
7487796879154B   SALVADOR     MENESES                      TX     90013529687
7487858839154B   IDALIA P     GONZALEZ SAENZ               TX     90010235883
74878A8255B59B   ROSA         BRIONES                      NM     90014400825
7487987A131433   ANGELINE     STACY                        MO     27518178701
7487988A431432   DEANDREA     OWENS                        MO     90011408804
74879A45641253   LEE          CLUCK                        PA     51078270456
74879A7968B168   EMILIIO      JOSE                         UT     90005700796
7487B655933698   LAURA        CASTRO                       NC     12012046559
7487B7A2741237   ROBIN        BENJAMIN                     PA     51006637027
7487BA67172B87   JONATHAN     SANCHEZ                      CO     33077720671
7488147562B994   RICHARD      HUERTA                       CA     90014604756
74881A74755939   ANGELETTE    WHITE                        CA     90009470747
7488247268B142   BRYAN        CARTER                       UT     90012754726
74882A3577B357   CLAUDIA      SENIOR                       VA     81023600357
7488394688B142   TRACEY       RASMUSSEN                    UT     90015609468
74884417872B87   ADRIANA      HERRERA                      CO     90013754178
74884776172B37   FRANCISCO    CALDERON                     CO     33050447761
74884A61972B44   OFELA        VILLAUBA                     CO     90010960619
74885415A2B35B   CORY         NIXON                        CT     90014384150
748864A822B994   ROCSANA      REBTERIA                     CA     90012084082
74886885A57147   ERICK        JUAREZ                       VA     90005618850
74889314772B29   VALERIA      HERNANDEZ                    CO     33010943147
748893A3772441   MATT         NICHOL                       PA     51000393037
7488946938B134   TALISHIA     WILLIAMS                     UT     90014854693
74889973772B44   SOPHIA       LOZA                         CO     90009899737
7488B264372441   EUGENE       DINELLO                      PA     51073742643
7488B594893726   DARIUS       JORDAN                       OH     90014465948
7489134555B59B   GUSTAVO      ZARRAGA                      NM     35092113455
748913A317B477   PHILLIP      ZUHL                         NC     90011163031
74891575872B44   KRISTI       ROBLES                       CO     33012375758
7489158A493739   ASHLEY       LOPER                        OH     64519585804
7489171358B142   TYSON        GALLY                        UT     90007097135
7489253652B271   NYCE         EVERETT                      VA     81009535365
7489292947322B   LUIS         ELAIS                        NJ     90014469294
74893659A4B291   LINDA        CHILCOTT                     NE     90001776590
74893A1765B238   ASHLEY       NEIGHBORS                    KY     90009190176
74894277A55939   NONE         NONE                         CA     90008692770
74894559372B37   ANDREW       SIPES                        CO     90011645593
7489471143168B   MEGAN        BUROUGHS                     KS     90013687114
7489481A172B32   MOORE        TAMIKA                       CO     90011338101
74895A3AA93739   KEVINA       KINNEY                       OH     90003760300
74896629872B29   SELESTE      SOLIS                        CO     33042246298
748967A7172B44   BRANDY       ANN HINSKTON                 CO     90012817071
74897484272B29   CRISTIAN     PEREZ                        CO     90013094842
748977A2893739   DORINDA      SMITH                        OH     90013267028
7489812A78B157   KERRIE       MAYHEW                       UT     90013461207
748981A467B477   MIGUEL       GONZALEZ                     NC     90001441046
74898367233B32   SANDRA       CERVANTES CUEVAS             OH     90013963672
7489945995B59B   DIANA        SOLIS                        NM     90013644599
7489B18938B157   REBACA       GRANADA                      UT     90014961893
7489B7A8872B44   EVANGELINA   SANTILLANES                  CO     90012817088
7489B821972421   BRANDON      KRAMER                       PA     90006328219
748B155615B55B   HUMBERTO     ARREGOITIA                   NM     90005615561
748B2188631432   ASHLEY       WIMBLEY                      MO     90011461886
748B2361172421   RICHARD      GUSTASHAW                    PA     51000773611
748B2425272B32   ROSALBA      HERNANDEZ                    CO     33040514252
748B2624641237   ROSELLE      LEVINGSTON                   PA     51048226246
748B2A59372479   WESLEY       BARRETT                      PA     90013610593
748B3276333698   STACY        FORSTER                      NC     90009042763
748B3465155957   AMBROCIO     SANTOS                       CA     90007594651
748B387512B994   LALANA       WALSH                        CA     45093648751
748B3982272421   CINDY        YEAGER                       PA     51034609822
748B4271172B37   CONRAD       HOFFMAN                      CO     90014242711
748B4478172B44   TIERRA       GILBREATH                    CO     90013414781
748B4496772B44   NICOLE       MARIN                        CO     90013674967
748B4568231432   CORNELL      ALEXANDER                    MO     90014575682
748B4877A31432   CORNELL      ALEXANDER                    MO     90013768770
748B4AAA59154B   GUADALUPE    GOMEZ                        TX     75077470005
748B519A141237   LISA         LEDONNE                      PA     51066441901
748B5471155939   NAOMI        RODRIGUEZ                    CA     90013084711
748B554767B477   JAVIER       REYES                        NC     90010625476
748B55AAA8B142   ALENA        SAMORA                       UT     90013425000
748B583112B994   KIMBERLY     KEYWORTH                     CA     45086728311
748B6161A7B477   MCARTHUR     BOLTON                       NC     90014041610
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 832 of 2350


748B61A4333698   MARIA        RABADAN                      NC     90010581043
748B651735B59B   ALICIA       CASTILLO                     NM     90015175173
748B72A3472B29   JUAN         ALVAREZ                      CO     90009162034
748B731478B163   DOMINIC      MOURDOCK                     UT     90014573147
748B742698B163   KRISTIE      NUNEVILLER                   UT     90013254269
748B7599131443   SHANTAVIA    LANCESTER                    MO     90013565991
748B767A58B168   VALDOVINOS   ROGELIO                      UT     90003216705
748B7917993739   ROCIO        TAPIA                        OH     90012479179
748B7A22A71928   CALOS        ORDONEZ                      CO     32074960220
748B8494772B87   LANCE        WHITING                      CO     90013084947
748B9112131432   JESSE        WATSON                       MO     90015171121
748B913279154B   YOLANDA      GAYTAN                       TX     90014851327
748B9332255939   MINERVA      CEDENO                       CA     90009093322
748B973A53168B   ANGELA       STAFFORD                     KS     90014247305
748BB25845B225   AMANDA       MOORE                        KY     90000532584
748BB653272B87   MATTHEW      MORSE                        CO     90013066532
748BB69263B366   NICKOLAS     TERRY                        CO     33008436926
7491195A49154B   LUIS         MARTINEZ                     TX     90015179504
74911A68272479   STEPHEN      GEOLLIHUE                    PA     90006260682
74911AA178B157   SEAN         HANSEN                       UT     31008860017
7491211735B59B   KAREN        MARTINEZ                     NM     35052711173
7491247225B59B   STEPHANIE    CHAVEZ                       NM     90013344722
749126A6557147   HECTOR       CANDIA                       VA     81007376065
7491335768593B   ANGELA       WINKLE                       KY     90013883576
749133A8271921   MATHEW       HAMMER                       CO     90007423082
74913A12531443   KEISHA       BARNES                       MO     27569270125
7491441A32B994   VICTORIA     AGUILAR                      CA     90012454103
7491499899154B   RICHARD      CAMARGO                      TX     90013109989
7491518A131433   DANIELLE     PATTON                       MO     90010821801
7491591885B225   AMBER        BOTKINS                      KY     90014699188
7491622465B225   CANDIS       MARSHALL                     KY     90011332246
7491672838B142   OSCAR        ZAMBRANO                     UT     90012527283
74916777A7B372   SUSAN        CROUTHAMEL                   VA     90007717770
7491743A855939   JENNY        MATA                         CA     90012964308
7491748382B994   B            L                            CA     90008354838
7491787A131433   ANGELINE     STACY                        MO     27518178701
74917A5443168B   LILIAN       SALGUERO                     KS     90002770544
749187A248B163   APOLLONIA    LAMBERTUS                    UT     90010227024
7491982AA8B163   TONI         DAVIS                        UT     31096938200
74919A8468593B   SHANE        MOORE                        KY     90013720846
7491B7A837B477   FIDEL        CANTU                        NC     90015327083
7492183874B976   JANET        CHANELLER                    TX     90001078387
749218A595B225   KARI         YOUNT                        KY     90014708059
74921A14177528   JORGE        MARQUEZ                      NV     90006580141
7492243535B238   KARLA        THOMPSON                     KY     68051574353
74922654A61971   JAIME        ROMAN                        CA     46014886540
74922A27272B87   ANGELA       HILL                         CO     90014840272
74922A38A8B168   WILBERG      BART                         UT     90005740380
74922A77433628   WALLISA      THOMAS                       NC     90011670774
749234A1471921   ROBERT       ESTES                        CO     90014744014
74923A1337B477   SANCHEZ      IRWIN                        NC     90009530133
7492411163B333   MELAKU       HAILEGIORGIS                 CO     33056581116
7492427138B134   RAQUEL       SEPULVEDA                    UT     90010902713
749246A158593B   MURIEL       CRAIL                        KY     66036636015
749246A8131432   ANTIONE      BARBER                       MO     27543996081
74924985A2B994   MANUEL       LOPEZ                        CA     90000859850
749256A9741253   KAYLA        PEAKE                        PA     90010966097
74925A48655939   TANIA        MARQUEZ                      CA     90012150486
74925A8A355939   LUIS         SUALES                       CA     90004980803
7492614533168B   ERIKA        MARROQUIN                    KS     90003621453
74926469772B44   BRANDON      MOYA                         CO     90014564697
749275A563168B   JAMES        CHENEY                       KS     90015085056
7492766625B59B   ADA          TORRES                       NM     90013856662
74927759972B87   KIM          TAYLOR-COBLE                 CO     90004077599
749277A888B163   JOVANI       LOPEZ                        UT     90011287088
74927A45672B32   MICAELA      ADAMO                        CO     90011400456
7492913A52B994   BRENDA       MOUA                         CA     90003521305
7492941A38B163   SHELLY       PINNICK                      UT     31002064103
74929815272B87   WILLIAM      TORO                         CO     90013008152
7492B561761922   ANA KARINA   ASCENCIO                     CA     90011445617
7492B58455B59B   KEITH        MCGAVOCK                     NM     90009655845
7492B77675B384   ALLISON      CHEW                         OR     44507877767
7492B83422B994   IVAN         GARCIA                       CA     90009888342
7493189657B477   WILLIAM      ROBINSON                     NC     11000538965
7493194A48593B   JOHN         WIHEBRINK                    KY     66051899404
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 833 of 2350


7493266AA8B142   JAMES           CORY                      UT     90009426600
74932792172B87   SILVIA          AVALOS                    CO     33075987921
7493328448593B   CHURSTIN        OSTAVITZ                  KY     90014982844
7493385398B142   ZACHARY         BLACK                     UT     90014308539
7493422128B157   ALAN            QUEZADA                   UT     90009542212
7493453595B59B   CANNONE         DIANE                     NM     90006995359
74934675472B37   FREDY           ZAPATA                    CO     90004256754
7493469A772B32   PETER           DOUGLAS                   CO     33024356907
7493476A697121   AMANDA          CLAYTON                   OR     90012437606
74935A4A65B59B   ZACHARY         MARTIN                    NM     90013210406
7493631298B157   GABBIE          FORD                      UT     90004953129
7493654767B477   KRYSTAL         JONES                     NC     11014555476
7493694385B59B   JAIMIE          GRAJEDA                   NM     90013329438
7493713263168B   CHRIS           EVAN                      KS     90013931326
7493713A58B163   MARIA           CANCINO                   UT     90011541305
74937355672B29   ROBERT          HEINZMAN                  CO     90009223556
74937743A5B225   ADRAIN          ROBINSON                  KY     90014717430
74937962772B37   AMBER           LACY                      CO     90009999627
74937A1655B59B   ALYSSIA         SEDILLO                   NM     35009920165
74938A3768B157   ANEXI           RIVAS                     UT     90013310376
74939729A8B163   EMMA            DEGIULIO                  UT     90012257290
74939819A5B225   STEVE           RUSCH                     KY     90015308190
7493B96955B597   GEORGE          DE-LACRUZ                 NM     90006369695
7494197837B477   PATRICIA        THOMPSON                  NC     90013699783
7494368518B142   TYSON           BARNES                    UT     31058246851
74943937972B32   ALDO            LOPEZ                     CO     33065459379
749439AA472479   NANCY           KOSLOSKY                  PA     51084559004
74944486572B44   MARIA           SARABIA                   CO     90013934865
749448A855B225   CHRISTOPHER     BLAKE                     KY     90014728085
74944A26193739   ROBERT          CRONAN                    OH     64586700261
74944A74831433   MICHAEL         HART                      MO     90005910748
7494592A555939   PALOMA          MIRAMONTES                CA     90013779205
74946336A5B59B   ALFREDO         MENDOZA                   NM     90014653360
7494649157B477   ROSELYN         MOLLAY                    NC     11000784915
74946951872B29   DESIREE         DEVOIL                    CO     90009099518
74947129A8B157   RICHARD         HOPKINS                   UT     90007491290
749479A7A31433   TAMIKA          HAIR                      MO     90009549070
74947A1A572421   GARY            FALLECKER                 PA     51095650105
7494817145B225   ELIZABETH       GOMEZ                     KY     90012441714
7494841A272B29   DENNIS          PUMMEL                    CO     90011154102
74948A3748B163   ALYSE           SNYDER                    UT     90009180374
74948A76972479   AMY             LEAVOR                    PA     51006030769
74948A97593728   JEFFERY         MORDOCK                   OH     90010730975
7494924223168B   SAVATH          MITH                      KS     22098642422
749494A3A72B87   JAIME ENRIQUE   ALMARAZ                   CO     90012504030
7494958395B354   KRISTI          HOLLINGER                 OR     44581255839
749495A8471921   SHANNON         MURPHY                    CO     32070035084
7494B24369125B   SHEILA          BROWN                     GA     90012692436
7494B298A72B87   BLANCA          GARCIA                    CO     90003042980
7494B32448B157   ISIDRO          MENDOZA                   UT     90015443244
7494BAA1436B97   JOSE            MARTINEZ                  WA     90015460014
749513A8A31432   MARINA          WALTER                    MO     90013803080
74951734A72B37   ROSA            CLOUSE                    CO     90015097340
7495248529154B   GLORIA          SALAS                     TX     75036634852
7495252A45B59B   CARMEN          FUENTES                   NM     90014745204
7495371868B163   ELIZABETH       MARTINEZ                  UT     90011287186
7495424969154B   LUIS            SCRAGG                    TX     75018432496
749547AA38B142   CHRIS           MORRIS                    UT     31098437003
7495481A65B225   NATHAN          RIVERA                    KY     90014778106
74954A65386433   FRANCISCO       GINES-ORTEGA              SC     90015180653
749557A2672B32   DEBRA           MAESTAF                   CO     90010007026
74955AA299154B   JAVIER          FLORES                    TX     75018250029
7495655118B163   ROBERT          BUCKLEY                   UT     90000965511
7495667765B384   LISA            LYTSELL                   OR     90006756776
749571A2272B87   SPENCER         SMITH                     CO     90014751022
7495722335B59B   MARLIN          QUINONES                  NM     90013862233
7495722437B477   WILLIAM         JOHNSON                   NC     90005882243
74957325472B42   JOSE            JERNANDEZ                 CO     90012563254
7495752258593B   VALESKA         LUCKETT                   KY     66038555225
74957833672B87   SPENCER         SMITH                     CO     90011938336
74957A4128B168   OSCAR           GOMEZ                     UT     31039630412
74958993672B44   ALFREDO         GONZALEZ                  CO     90002959936
74958A61861958   RAMON           TENA                      CA     46042280618
74959983472B87   AMANDA          POWELL                    CO     33070289834
7495BA15472B44   AMY             ENGE                      CO     90010440154
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 834 of 2350


7496167718B142   GABRIELA          CURIEL                  UT     90003946771
7496218628B168   JESSE             PETERSON                UT     90005841862
74962347472B37   WANDA             GREGG                   CO     90013243474
7496243785B225   ARCELLIUS         PALMER                  KY     90014964378
74962922A72B87   SALVADOR          MEDINA                  CO     90011559220
7496315647B477   DANIEL MCLEOD     CULP                    NC     90002291564
7496333419154B   JORGE             VAZQUEZ                 TX     90010743341
74963643972B29   KAREN             KELLY                   CO     33032646439
7496389225B225   ERICA             IBARRA                  KY     68039158922
74963897A93739   XITALIA           CHAVEZ                  OH     90000948970
74964322A7B49B   WALTER            KISIAH                  NC     90006723220
74964A2877B477   CALUDIA           HERNANDEZ               NC     90014880287
74964A46672B37   LUCAS             FARNUM                  CO     90014550466
74964A5255B225   ROBERT            MILLER                  KY     90014790525
74964A93872B87   GLADYS            ELLERBE                 CO     33046170938
7496512298B163   MARIA             HERNANDEZ               UT     90015151229
7496574885B59B   ANNA              MERINO                  NM     90013377488
749658A4461985   PATRICK           MILLER                  CA     90012388044
7496632738B157   SANDERS           DEVERA                  UT     90011983273
7496649519154B   SAMUEL            MUNOZ                   TX     75084184951
74966A3195B225   CHAD              CATIN                   KY     90008170319
74966A8618B163   ESCOLASTIC        ALBO                    UT     31076830861
74967195572B44   NORMA             OLGUIN                  CO     33006841955
7496738AA97122   SANTOS            ROBLES                  OR     90012463800
74967A5255B225   ROBERT            MILLER                  KY     90014790525
7496867543B366   JOSE GAMIEL       GONZALES SALAS          CO     90013846754
74969536A31443   RUFUS             SHANNON                 MO     27569175360
7496B66958B157   MCLAWS            SEAN                    UT     31084396695
7496B868931432   DE'BORAH          WATSON                  MO     27566238689
74971272372B37   MICHELLE          MUNIZ                   CO     90014242723
7497149655138B   MOHAMAD           IQBAL                   OH     90013954965
74971725A5B225   LAURA             HOWARD                  KY     90008637250
74971777A9154B   LICON             ESTERR                  TX     90010497770
749718A4941237   RICK              MEADOWS                 PA     90004218049
7497261A641237   SHANNON           RAOMOUS                 PA     90003656106
74972731972B37   MARIA             CHAVEZ                  CO     33028497319
7497281212B994   ALEXANDER         VANG                    CA     45026128121
7497283187B477   BRIDGETTE         BILLINGS                NC     11055768318
7497285345B225   ALTAGRACIA        PACLECO                 KY     68093668534
74972976872B44   DAVID             LUBBERS                 CO     90010019768
7497312328B142   LEXI              ROSS                    UT     31060661232
74973167A8B163   JUAN              GREGORIO APAEZ          UT     90011541670
74973728A31443   SCOTTY            ADAMS                   MO     27587507280
74973A3A671921   DIEDRE            PICKET                  CO     32018570306
7497434829154B   LAURA             VEGA                    TX     90001843482
74974A36772B29   MARISOL           CAMPUSANO               CO     90011470367
7497511858B163   MARCO             LOPEZ                   UT     31093111185
749751AA29154B   VALLE-HERNANDEZ   AZUCENA                 TX     90010581002
749753A9A81644   THERESA           COUCH                   MO     29080493090
74975486772B44   DEWAYNE           CURTIS                  CO     90013934867
74975727372B44   ALBERT            WEST                    CO     90012817273
7497586A931433   DORA              WILLIAMS                MO     90011048609
74975935A31443   VICTORIA          WHITE                   MO     90007619350
7497673159154B   RAUL              LOPEZ                   TX     75090047315
749777AA331453   MYKEL             THOMAS                  MO     90008037003
7497792178B157   JESSICA           MOPNTOYA                UT     90013639217
7497893315B225   NADIA             BANTA                   KY     68036139331
74979376972B44   TONI              KLOCKER                 CO     33055673769
7497961545B521   PAUL              FEKETE                  NM     35004866154
7497982685B59B   DURAN             PATRICK                 NM     90012198268
74979955172B37   CRYSTAL           MONTOYO                 CO     33045769551
749799A4A71948   TASHA             MADRID                  CO     90005859040
74979A2832B994   KELLY             TINOCO                  CA     90012950283
7497B25918B163   SERGIO            GONSALEZ                UT     90008982591
7497B328441253   STEVE             LOBO                    PA     90014713284
7497BA84193726   MIGUEL            DOMINGUEZ               OH     90006090841
74981627A71921   RYAN              DEFFENBAUGH             CO     90010276270
74981A4235B59B   APRIL             ROYBAL                  NM     90013210423
74982177272B29   STACEY            WILSON                  CO     90003711772
7498228429154B   ANGELA            PENA                    TX     90013532842
749823A6A81643   IESDRAS           PEREZ                   MO     90011833060
7498349659154B   ABEL              BARRIOS                 TX     90001824965
74983559A72B44   DAN               WISTRAND                CO     90010235590
749846A4A31432   DEMETRIUS         MCAFEE                  MO     27509686040
74984778A8B157   STARLA            FITZGERALD              UT     90007577780
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 835 of 2350


74984A75172B37   HORTENCIA     RAMIREZ                     CO     90008930751
74985363A72B37   CORTEZ        GARNER                      CO     90010933630
7498541A671921   DANIEL        RICCI                       CO     90006874106
7498571923168B   LYDIA         BAEZ                        KS     90014547192
74985A97333698   CLARICE       BROWN                       NC     12056630973
7498645985B384   ROSHAN        ARMSTRACHAN                 OR     44584524598
74987288372B29   DAVID         BROWNING                    CO     90012442883
7498745A893739   RODERICK      DIXON                       OH     90007014508
74988335672B29   KEBA          HARRIS                      CO     90013353356
7498911AA72479   DAWN          FLEMING                     PA     51098371100
7498979325B225   KELLY         RAISOR                      KY     68014307932
74989794572B29   GERARDO       GRANILLO                    CO     90007107945
7499173625B59B   DAVID         SOLIS                       NM     90003857362
749923A2471921   FRANSISCO     MARTINEZ                    CO     90013113024
74992783672B29   PRISCILLA     HERRERA                     CO     90008057836
7499336955B225   JOSEPH        GAINES                      KY     90014913695
749933A488B134   NOHEMY        DUENAS                      UT     90000923048
7499436955B225   JOSEPH        GAINES                      KY     90014913695
7499452878B142   GUILLERMO     SILVA                       UT     31091365287
7499456954B221   JESSICA       CHRISTINE                   NE     90008995695
7499476378593B   AMIE          ROBERTS                     KY     66009697637
7499534178B134   JERMEY        KNUDSEN                     UT     90014833417
74995A7A172479   ERIKA         SKRAITZ                     PA     51036090701
7499698692B274   CHERI N       DE LOS SANTOS               VA     81084609869
7499792A95B59B   SERGIO        VILLEGAS PEDROSA            NM     35058229209
74998A1917B477   SCOTT         MCGEACHY                    NC     90014500191
74998A37872441   KIERSTYN      MINK                        PA     90004390378
749998A649154B   CRISTIN       HILLS                       TX     75048558064
7499B32849154B   MARISOL       MUNOZ                       TX     90012153284
7499BA26772B44   KARLA         VARGAS                      CO     90014100267
749B1226672B29   DANIEL        ARRIAGA                     CO     90014822266
749B1A87A71921   SHAYLENE      NOMBRANO                    CO     90014400870
749B223937B477   SHELL         SMITH                       NC     90008922393
749B23A495B59B   ANNA          SEDILLO                     NM     90012543049
749B2762A97122   EUGENE        LEPAGE                      OR     90010257620
749B3187A9154B   LAURA         YEVERINO                    TX     90015101870
749B3256972B44   GUADELUPE     MELERO                      CO     90013152569
749B3A68133699   FRED          SMALLEY                     NC     12029260681
749B517889154B   OTTO          SANDOVAL                    TX     90014801788
749B5211455939   LUIS MANUEL   GOMEZ                       CA     90010672114
749B522465B225   CANDIS        MARSHALL                    KY     90011332246
749B525515B384   ROBIN         REYNOLDS                    OR     90006032551
749B567285B272   DENISE        WALLS                       KY     90010716728
749B6164572B37   PHILLIP       DILOSA                      CO     33054811645
749B6795533699   ROLAND        PERDUE                      NC     12009447955
749B715892B829   KIMBERLY      MCFADDIN                    ID     90012121589
749B7242741253   DEBRA         AUER                        PA     51017882427
749B747495B225   KATHLEEN      GUNTER                      KY     90009944749
749B7891755939   MARY          VASQUEZ                     CA     48004138917
749B7A2AA8B134   TAYLOR        HALL                        UT     90013140200
749B8121372B44   DANIEL        RODEWALD                    CO     33074071213
749B885947B477   MARIA         ROSE                        NC     90013928594
749B8955531433   STANLEY       DUNN                        MO     90015499555
749B9521772479   JAMIE         EARLYWINE                   PA     90015155217
749B981868B157   KIMBERLY      JOHNS                       UT     90011658186
749B9845793726   ADAM          BARQUON                     OH     90015378457
749B9A66231433   BRANDY        MILLER                      MO     27558260662
749B9A9114B583   JERRIE        TENAQUER                    OK     90008440911
749BB278A55939   JAVIER        GARCIA                      CA     90013922780
749BB354572B32   DYANNE        RUBI-AGUIRRE                CO     33005473545
749BB536172B29   ANNA          RIVERA                      CO     33024475361
749BB81349154B   MANUEL J      PARDA                       TX     75040918134
749BB97358B142   VIRGINIA      POTTER                      UT     90011329735
74B1181318B163   SHELLEY       FLITTON                     UT     90015208131
74B12363555939   LIZBETH       HURTADO                     CA     90013623635
74B125AAA72479   DIANA L.      FRANTZ                      PA     90004735000
74B1289538B142   JAKE          WYATT                       UT     90013688953
74B1413A561971   AMOR          CASTRO                      CA     46000921305
74B14819172B87   JESUS         SANCHEZ                     CO     90010378191
74B14889672B87   DENISE        SEJA                        CO     90014698896
74B1497635B225   EDY           RAMOS                       KY     90010859763
74B149A3972B44   ESTELA        PICAZO-CRUZ                 CO     90014109039
74B15374972B44   JORGE LUIS    ARANDA IBARRA               CO     90013193749
74B15925131443   LATOYA        JOHNSON                     MO     90011109251
74B16489831432   ANDRE         RUSH                        MO     90014454898
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 836 of 2350


74B16582471921   ALBERT       BACA                         CO     90012815824
74B1659283168B   EVELYN       BROWN                        KS     22040375928
74B17167772B44   SAMANTHA     GRECO                        CO     90003471677
74B1734677B825   MARK         ROBINSON                     IL     20538743467
74B17567772B37   FRANCISCO    ROCHA                        CO     33037735677
74B17922671921   EDITH        ESTRADA-MORALES              CO     90012799226
74B1836A571921   TREVOR       STICE                        CO     90005593605
74B1882135B375   ATANACIO     AVELLANEDA                   OR     90010938213
74B1888A172B29   OSEAR        TUREIOS                      CO     33067608801
74B19721577524   JESUS        GUERRERO-CHAVEZ              NV     90009607215
74B1B67A741237   SAMANTHA     LANG                         PA     90012506707
74B1B99158593B   SALLY        HUFFMAN                      KY     66026489915
74B1B99A755939   JUANITA      MARTINEZ                     CA     48033079907
74B2125125B59B   AHVIAHN      WELLS                        NM     90009942512
74B21384257147   FAISEL       ANWAR                        VA     90006893842
74B2163A893739   ALEJANDRO    MENDOZA                      OH     90012436308
74B21A91972B29   SHARNA       FLORES                       CO     33047360919
74B2215AA61971   PATRICIA     CISNEROS                     CA     46000921500
74B22213A8B157   MARY         COWDELL                      UT     90011922130
74B2229957B477   EDGARDO      PINEDA                       NC     90003462995
74B22382A41227   RUTH         GIBBONS                      PA     90001623820
74B22854993739   DERIK        HAROLD                       OH     90008658549
74B2287595136B   TRACY        GIBSON                       OH     90007788759
74B2326458B168   DAVID        BARON                        UT     90001012645
74B2389474B267   COURTNEY     WILLIAMS                     NE     90002088947
74B2415159154B   JUAN         ORTIZ                        NM     75079621515
74B24581693726   GREG         SEXTON                       AL     90000175816
74B2495585B59B   MARTY        VIGIL                        NM     90011099558
74B24A95772B44   ERNEST       MORILLO                      CO     90013920957
74B24A98872479   AMANDA       DLUGOPOLSKI                  PA     51073690988
74B256A9672B44   NATALIE      GALEANA                      CO     90012806096
74B25788941227   LT JASON     ANDRIA                       PA     51006297889
74B25A1215B59B   JOSEPH       CORPREW                      NM     90014550121
74B25A53872479   AUBREY       STANDARD                     PA     90013390538
74B25AA2372B87   PATRICK      HANLON PRINZ                 CO     90011300023
74B263A1272B37   FRAUSTO      GABRIELLE                    CO     90011643012
74B26891872B29   LISA         IVERSON                      CO     90012168918
74B2718372B994   JOSE         REYES                        CA     90015281837
74B2729998B157   AHMED        HUSSEIN                      UT     90013042999
74B272A4593726   TANYA        SHOCK                        OH     90014192045
74B27776772B87   ERIC         WAINWRIGHT                   CO     90014607767
74B27994172B29   JARROD       MARRUJO                      CO     90014779941
74B2931A872B37   ERIC         LEWIS                        CO     90015323108
74B29476972B29   DERK         ELMY                         CO     33089474769
74B2B58354B231   DEE          BLACKBURN                    NE     90008795835
74B2B59465B59B   MARTY        COTINOLA                     NM     35012155946
74B2BA58831432   MICHELLE     WILLIAMS                     MO     90015160588
74B3112118B142   RAMON        MORALES                      UT     31016141211
74B31373A55939   FRANCISCO    VEGA                         CA     90003503730
74B318AA372B87   APRIL        ROTH                         CO     90010378003
74B3243758B163   MICHAEL      MARTIN                       UT     90014254375
74B3273815135B   ELIZABETH    JAMES                        OH     90007637381
74B33246571921   LISA         KELSO                        CO     90014542465
74B3429A75B59B   EULALIA      GUZMAN MARTINEZ              NM     35049682907
74B344A289154B   ANA          ANCHONDO                     TX     90013434028
74B34862791549   OSCAR IVAN   GARCIA                       TX     90011628627
74B34A28591827   JUSTIN       CALDWELL                     OK     21048870285
74B35488357147   ERICK        RODRIGUEZ                    VA     90006824883
74B35892872441   FAITH        NORMAN                       PA     90013888928
74B35A8A893739   MISTY S      BRANCH                       OH     90010560808
74B36457872441   ROBIN        RUBENSTEIN                   PA     90006024578
74B36593472B32   GREGORY      HIBBARD                      CO     90010165934
74B36715181643   JOSE         MARTINEZ                     MO     29013807151
74B36753372B29   JANET        HERRERA                      CO     90001227533
74B36796A8B168   LIZZY        SORENSEN                     UT     90009907960
74B37585A72441   KIMBERLY     KLEBER                       PA     51004305850
74B37616A8593B   JUAN         DELGADO                      KY     66095166160
74B3762A72B994   ARMANDO      SAENZ                        CA     45042596207
74B37648657147   JORGE        MEJIA                        VA     90011006486
74B38412A61975   VIVIANA      CARDENAS ROMO                CA     90013414120
74B38574581643   ANGELA       BEASLEY                      MO     90002905745
74B3872198B134   ALYSSIA      LANE                         UT     90010897219
74B387A3357147   BLANCA       AREVALO                      VA     90006717033
74B3925315B59B   BRIAN        SUAZO                        NM     35037642531
74B39435A31432   BRYTANY      WOODS                        MO     90011334350
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 837 of 2350


74B39662631672   SHEILA       LE                           KS     90009386626
74B3975698B163   MARK         FISCHER                      UT     90011537569
74B39763631443   LISA         KLUND                        MO     27585957636
74B3B28178593B   RODOLFO      SANTOS                       KY     90015562817
74B3B42188B168   CAMPBELL     CODY                         UT     90011744218
74B3B61642B26B   ADDIS        SAHILU                       DC     81066026164
74B3B823841253   VINCENT      HARRIS                       PA     90013928238
74B3BA54A5B225   KAYLA        TAYLOR                       KY     90013390540
74B41274A41253   AMANDA       NIMETH                       PA     90011302740
74B4146188B346   AURELIO      TORRES                       SC     90015494618
74B4147289154B   LOYSET       VIART                        TX     90014344728
74B41A3347B477   CASSANDRA    MCPHERSON                    NC     90003670334
74B42196393726   DEREK        MEFFORD                      OH     90013231963
74B42468972B44   BRANDON      WILLIAMS                     CO     90009944689
74B4339A17B477   JAMES        AUSTIN                       NC     90009413901
74B43648A8B163   BRENT        LEACH                        UT     90013356480
74B44832872B44   LUIS         MUNGUIA                      CO     33067658328
74B4539198B163   ANTONIO      RAMOS                        UT     90011843919
74B45597172421   JENNIFER     BALDWIN                      PA     90012625971
74B4621735B59B   KIMBERLY     BLEA                         NM     90013652173
74B46295172B87   WENDY        RODRIGUEZ                    CO     33072192951
74B463AA89154B   MARTHA       CORONA                       TX     90011583008
74B4647768B157   MARCOS       HERNANDEZ                    UT     90014104776
74B47164841253   NORMA        SMITH                        PA     90012881648
74B47761155939   JOSE         LOPEZ                        CA     90013377611
74B4817357B477   MISAEL       CRUZ                         NC     90015301735
74B4824318B142   JENNIFER     KITCHEN                      UT     31067592431
74B48584685945   TYRONDA      MOBERLY                      KY     67048385846
74B48815772B29   SANDY        STEVESON                     CO     33026298157
74B48A2795B59B   KARLA        CASTANEDA                    NM     90011140279
74B4921A941253   BRITTNEY     WADE                         PA     90013362109
74B494A289154B   ANA          ANCHONDO                     TX     90013434028
74B4981585B225   ANDREW       SALOIS                       KY     90012138158
74B4B469A85945   WILMER       GUZMAN                       KY     90011584690
74B4B81463168B   RONTAYSHA    COX                          KS     90015278146
74B4B8A5A72B32   LILIANA      VALLES                       CO     33011868050
74B4B99743168B   CHETOYA      JOHNSON                      KS     90013119974
74B5118538B157   JOSE         RODRIGUEZ                    UT     90014441853
74B513A1141253   MARTHA       LOPEZ                        PA     51076393011
74B52268257147   LIDIA        AVILA                        VA     90006902682
74B52277472B32   JODI         MARTINEZ                     CO     90011522774
74B5242295B59B   AMANDA       DAPSON                       NM     90002204229
74B52615733698   ANDREA       OVIEDO                       NC     90013466157
74B52747472B32   JARED        HINDMAN                      CO     90014627474
74B5374819154B   TED          SAIZ                         TX     90012887481
74B5375278B142   SHANNON      DRAPER                       UT     90013567527
74B53A42231432   JOSHUA       SMITH                        MO     90013170422
74B54112272B87   ALISON       BARRETT                      CO     33041011122
74B54138551349   LACHELLE     JONES                        OH     90006331385
74B5416A385945   JUDY         ETHINGTON                    KY     90007661603
74B5435585B59B   VIRGEN       SILVEIRA                     NM     90015013558
74B5437AA72479   LUANN        KELLER                       PA     90003003700
74B54463333698   SHIRLEY      CARRINGTON                   NC     90013014633
74B54784255939   ANGELINA     BEDOLLA                      CA     90011497842
74B5534A831443   FELICIA      KIMMINS                      MO     90004683408
74B5535823168B   SHABONT      WASHINGTON                   KS     90015143582
74B5581975B384   ELIZABETH    CAMPBELL                     OR     90012468197
74B5589295B59B   SOPHIE       TORRES                       NM     35023568929
74B55A3368B134   JOSE         ROBLEDO                      UT     90011630336
74B56845A33698   KATHY        RICHARDS                     NC     90007978450
74B56A24831433   ELAINEE      HANNAH                       MO     90013760248
74B5749A833698   DESIREE      HALL                         NC     90013064908
74B578A4133698   LINDSAY      WARREN                       NC     90015188041
74B58341372B44   MARIA        RIVAS                        CO     90011443413
74B58619A33628   RUTH         HOPKINS                      NC     90010666190
74B5864718B157   JOSEPH       BUHLER                       UT     31037376471
74B59269627B98   CLIFFORD     BEAULIEU                     KY     90009422696
74B59476831433   CHRISTINE    FEHRMAN                      MO     90011924768
74B5B838A9154B   ANTHONY      POBLANO                      TX     90006608380
74B5B85772B994   KEVIN        MURRAY                       CA     90013448577
74B5BA12472B83   CRUZ         FLORES                       CO     90012110124
74B61317472B37   GARCIA       ANTONIO                      CO     90006443174
74B61464172479   ROBIN        DUPREE                       PA     51085314641
74B621A1641253   GABRRIEL     PAGE                         PA     90014761016
74B62457672B44   ELIZABETH    HERNANDEZ                    CO     90013674576
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 838 of 2350


74B62559A36B97   ANGELICA       RAMIRES                    OR     44539765590
74B62891633698   CHARLENE       CHEEK                      NC     90014848916
74B6338958B163   KELLY          MOLYNEUX                   UT     90013633895
74B6339418B134   CAROLYN        RICHARDSON                 UT     31009773941
74B64327433628   JOYCE          SAUNDERS                   NC     90011463274
74B64784A9154B   RUTH           MEDINA                     TX     75079627840
74B6511A172421   MARY           GUYNN                      PA     51028061101
74B65131241253   AMBIK          PSUYEL                     PA     90012701312
74B6562478B163   MARQUELLE      RIGBY                      UT     90005506247
74B65658485953   OLIVIA         JUAREZ                     KY     90000656584
74B6615228B157   BRUNO          CAVALCANTI                 UT     31052921522
74B6658A45B59B   MARTHA         VILLANUEVA                 NM     90000665804
74B6674AA33698   ALEXIS         PURVIS                     NC     90011147400
74B6685898593B   MITCHELL       SLAVEN                     KY     90013658589
74B66A3945B225   DERREL         KING                       KY     68006330394
74B67255672B44   LAMBERTO       ESCALERA                   CO     33096382556
74B67281172479   ASHLEY         ZIEMBA                     PA     90014382811
74B67378571921   ART            GONZALES                   CO     90005793785
74B6752618B163   CASSEL         TAYLOR                     UT     90005145261
74B67737633699   KEJASHIA       CREASY                     NC     90014597376
74B677A5641237   SEAN           TURNER                     PA     51048007056
74B6782338593B   KHRIS          BRUGH                      KY     90006598233
74B67853772441   VIRGINIA       GORDON                     PA     51092838537
74B67917431443   MIGUEL         GARACIA                    MO     90012789174
74B6823A841237   CJHARLES       BARNES                     PA     90001342308
74B6825AA2B271   KIMBERLY       AGYEMANG                   VA     90003322500
74B6842448593B   REBECCA        CRANK                      KY     90013274244
74B6847A141227   MYRON          COOK                       PA     51041094701
74B6B63A85B225   ZAC            TURNER                     KY     90014906308
74B6B66A38B134   TYLER          MCGRATH                    UT     31082376603
74B6B723472421   LESLIE         VORNBROCK                  PA     90013897234
74B6B81473B394   MANSOUR MIKE   MOHSENI                    CO     90011698147
74B6BA32661982   HILDA          ALVARADO                   CA     90000390326
74B71186472B32   JIMMY          ALVARADO                   CO     90009651864
74B71551255939   NESTOR         RUIZ                       CA     90012315512
74B71657872B44   ARTA           SAFAVI                     CO     90014386578
74B71839772479   GUY            ALBERO                     PA     51079848397
74B7198158B157   AKE            FAAMASINO                  UT     90010119815
74B72185271921   BILLY          THRASH                     CO     32088761852
74B72696681643   RANESHIA       FORD                       MO     90012976966
74B7313485B225   BRIAN          STONE                      KY     68048771348
74B7379952B994   LARRY          CHAVEZ                     CA     45054427995
74B73A6845B225   LAMONIA        STONE                      KY     68066770684
74B74163333698   DEBORAH        CREDLE                     NC     12079121633
74B743A1272479   LISA           SUTTS                      PA     90011093012
74B747A6527B98   KIERA          JACKSON                    KY     90006997065
74B75984333699   DENAAL         HASKINS                    NC     90004869843
74B76173631433   STEVIE         WINSTON                    MO     90013491736
74B7618653168B   KARLA          WHETSTINE                  KS     22004451865
74B76374855939   GONZALO        GARCIA                     CA     90007573748
74B76643872441   JOYCE          GOLDEN                     PA     51088106438
74B76781571921   JAMES          GARCIA                     CO     90004027815
74B76781981643   RHONDA L       SHOEMAKER                  MO     90003257819
74B76799572B37   GE             THAO                       CO     90013327995
74B76846372479   SHERI          CYR                        PA     90005878463
74B7742419712B   SACANNA        RUSH                       OR     90004214241
74B7751738B142   LUISA          DEL CARPIO                 UT     31071635173
74B77727885945   WALEED         TAHA                       KY     90011587278
74B78194A93739   GLORIA         NICHOLS                    OH     90013681940
74B7885AA55939   NANCY          ANTUNEZ                    CA     90014838500
74B79392A93726   SHIMIKA        DUERSON                    OH     90007733920
74B7953468B189   SHEILA         BOYCE                      UT     31043385346
74B79846771921   MIGUEL         CARRERA                    CO     90008928467
74B79888333699   TIMOTHY        STEVENSON                  NC     12011688883
74B7B4A1472B44   NIEVES ADAN    MORALES                    CO     90015034014
74B81324472B37   MICHELE        PEPITONE                   CO     90011643244
74B8186AA72B29   ISABEL         SCHRANZ                    CO     90009658600
74B8257975B384   LORRI          ERICKSON                   OR     90002485797
74B829A6872479   KIMBERLY       MILLER                     PA     90001609068
74B8328965B384   DORES          BRAVO                      OR     44522472896
74B8386563168B   BRADLEY        PILAND                     KS     90014298656
74B84183472B37   KATINA         BOAHEN                     CO     90013381834
74B84456972B32   STEPHANIE      ANDRE                      CO     90014824569
74B8448197B477   CHERYL         FRASER                     NC     90009284819
74B84825333698   TAHEEM         HUMPHREY                   NC     90009988253
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 839 of 2350


74B84895493726   JACK         ADKINS                       OH     64594238954
74B85139271921   LEROY        MAESTAS                      CO     90009501392
74B8514338B142   MIGUEL       BANUELOS                     UT     90012471433
74B8535138B134   JENNIFER     DALLOF                       UT     90005113513
74B8551268B163   KATIE        LORTON                       UT     90014565126
74B85537172479   JOSHUA       PECK                         PA     90010285371
74B86298297B22   SHARI        LYNCH                        CO     90004942982
74B862A3A41227   ANDREW       DICARLO                      PA     51086072030
74B8644519154B   BRENDA       RODARTE                      TX     75005834451
74B86641872B42   MARIA        GONZALEZ                     CO     90013346418
74B866A675B395   WILLIAM      SOLANO                       OR     90013486067
74B86794985979   ANGELA       REEVES                       KY     90000787949
74B86A3933B358   PABLO        MEDINA-PEDRAZA               CO     90012080393
74B87128991378   DAVID        RHODES                       KS     29094561289
74B87294572441   MATT         GOULD                        PA     51011602945
74B87369972479   GEORGE       DAVID                        PA     51008063699
74B87471755939   JOSE         MONTES                       CA     90014894717
74B87A9A871921   ROBERTO      MONTOYA                      CO     90000620908
74B88383955939   MARIELA      BUSTOS                       CA     48073443839
74B88734876B54   CLEMENTINO   CARRILLO                     CA     90007417348
74B88738771948   EVA          RAMIREZ                      CO     32080927387
74B88967472421   MARC         KATZ                         PA     90007449674
74B88983741253   DANIELLE     HALL                         PA     51007799837
74B889AAA8593B   GARY         INABNIT                      KY     90012209000
74B88A33572B44   JAVIER       DORADO                       CO     90014250335
74B89246733698   CHANISHA     BURNEY                       NC     90014602467
74B8931AA31433   CHELSEY      JOHNSON                      MO     90013963100
74B89692771921   RUDY         TRUJILLIO                    CO     90010646927
74B89722172479   LAUREN       REVETTA                      PA     90014057221
74B8978329154B   CECILIA      DEL REAL                     TX     75016807832
74B8978988593B   SCOTT        DOELLMAN                     KY     90013507898
74B89A17855939   INDALIA      TORRES                       CA     90008660178
74B8B57433B371   RICK         SCHNEIDER                    CO     90000255743
74B8B594933624   ARNOLDO      MARTINEZ                     NC     90011505949
74B8B7A8785945   VICTORIA     PRICE                        KY     90005317087
74B91196193739   CHELSEY      HERZOG                       OH     64538461961
74B91292433698   ANGELA       MCKINNEY                     NC     90010292924
74B91294572441   MATT         GOULD                        PA     51011602945
74B91522961951   ILIANA       ARANDA                       CA     90002945229
74B91A7485B225   ESPERANZA    DUBON                        KY     90008250748
74B92699971921   AARON        CHRISTIANSEN                 CO     32079956999
74B9272329154B   MYRIAM       MENDEZ                       TX     75091147232
74B9275568B163   MARK         SEARS                        UT     90014457556
74B9279A95B541   STEWART      CASTON                       NM     35030367909
74B92846A72B29   RAFAEL       CERVANTES                    CO     33080588460
74B9287158B157   GILBERT      CASTORENA                    UT     90014398715
74B92963193739   DOUG         DAVIS                        OH     64522909631
74B9335668B142   TAMAREE      STODDARD                     UT     31039663566
74B93757572441   DANIEL       JOHNSTON                     PA     51053707575
74B93914993726   DEBORA       BANKS                        OH     90014779149
74B9451568B134   ALLY         MAYNES                       UT     90010295156
74B94A92872B87   MEGAN        LEWIS                        CO     33065860928
74B95842731443   SWEETASIA    THOMPSON                     MO     90013818427
74B9586738B163   BRITTNEY     MAGANA                       UT     90013998673
74B9628132B994   PEDRO        PULIDO-UDAVE                 CA     90014022813
74B9664A95B225   THOMAS       HAMMONS                      KY     90007236409
74B96752771948   JASON        MARSHALL                     CO     32088057527
74B96A34372441   ANDREW       SANSOTTA                     PA     51005330343
74B96A52681643   LASHUNDA     THOMAS                       MO     29088870526
74B9725122B994   ANTONIO      ZONOLA                       CA     90004152512
74B972AA493726   JIVANO       MCNAIR                       OH     90012302004
74B98637141253   RICHARD      GERE                         PA     90013696371
74B98AA7772B44   PAUL         EHRNSCHWENDER                CO     90011690077
74B99529772B87   JACQUELINE   ROCHA                        CO     90004125297
74B9B366893739   TODD         GUELTIG                      OH     64578563668
74B9B43268593B   TRAVIS       ARNOLD                       KY     90014474326
74B9B711331433   BRYAN        SHEER                        MO     90014907113
74B9BA2A62B994   EDGAR C      CARDENAS SR                  CA     90008240206
74BB1182541253   WILLIAM      MCCANN                       PA     90014691825
74BB1472941237   BARBARA      GARNER                       PA     51054714729
74BB147695B225   BRENDA       WALKER                       KY     90015194769
74BB1741731433   FELICIA      ROWE                         MO     90007987417
74BB198898B142   IMELDA       QUINTERO                     UT     90011489889
74BB2117585945   PAYGO        IVR ACTIVATION               KY     90011271175
74BB21A699154B   GRACIELA     MIRELES                      TX     90004351069
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 840 of 2350


74BB2937672B44   RENAE            JOHNSON                  CO     90014869376
74BB33A7131433   NIKKI            NAJBART                  MO     90011873071
74BB3621472B32   LARRY            LINDSTROM                CO     90015456214
74BB375A472B44   JUSTIN           PATTERSON                CO     33089257504
74BB388618B134   ROBERT           KING                     UT     90014118861
74BB399923168B   EBONY            POLITE                   KS     22057459992
74BB3A65341253   JOHN             HOLGUIN                  PA     90013870653
74BB4161255939   CHARLES          SULLIVAN                 CA     90004891612
74BB428A372479   AMY              ROSE                     PA     51096782803
74BB442213168B   ALVIN L          HUBBARD                  KS     22048394221
74BB4776831443   SIERRA           MARTINEZ                 MO     27574437768
74BB4948A41227   JOHN             PHILLIPS                 PA     51048829480
74BB5265572B29   MIREYA           MALDONADO                CO     90009622655
74BB527A88B157   JACK             TIMMONS                  UT     90014032708
74BB541868B142   LYNDA            QUINTANA                 UT     31089064186
74BB5458285945   CORIN            JONES                    KY     90003964582
74BB5832172B32   BREANNA          SEATON                   CO     90012488321
74BB588588B163   ANDREE           DAMIAN                   UT     90012648858
74BB647918B157   LEONEL           DE LA CRUZ               UT     31078044791
74BB6548472B87   HEATHER          DOBSON                   CO     90003735484
74BB6694141237   PAINTER          MATTHEW                  PA     51060296941
74BB67A829154B   JORAE            MURRILLO                 TX     75092147082
74BB6891571921   MIGEL            RUIZ                     CO     32064628915
74BB7226885945   WILLIAM          WEBB                     KY     90005312268
74BB7546872B32   MARIA            GRANADOS                 CO     90009025468
74BB77A338B168   JAVIER HIDEKEL   LOPEZ FLORES             UT     90004597033
74BB8348A41237   ALONSO           REY                      PA     51033253480
74BB835475B225   LATASHA          WHITE                    KY     90015103547
74BB9494972B32   CHEYANNE         GURULE                   CO     90009934949
74BB9742841227   KAREN            ROBERTS                  PA     51061167428
7511148A372B29   SHARON           WASHINGTON               CO     90014664803
7511214388B142   JOHN             COOOPER                  UT     90001691438
7511246998593B   TINA             WALLACE                  KY     90012394699
7511264845B59B   OCTAVIO          ZAZUETA                  NM     90013306484
75112A83157157   HELWAN           MOHAMED                  VA     90013130831
75113195A55947   TORIBIO          GUZMAN                   CA     49083581950
7511391968B142   JONATHAN         PEARSON                  UT     90012599196
7511412217B477   JUANA            RAMIREZ                  NC     11025111221
75114388772B44   DEWAYNE          GRIFFEY                  CO     90014753887
75114439A57474   DANILO           NAJAR                    IN     90015554390
7511455358593B   CHRISTAN         DYSERT                   KY     90012625535
75114A8A191361   JAMES            COLSTON                  KS     90014610801
75115115172B44   PATRICIA         TAYLOR                   CO     90007751151
7511665988B163   BRIANA           LEFEVRE                  UT     90008436598
75116AA1672421   SHARON           HELMAN                   PA     90000550016
75118174872B44   SHANEA           DULIN                    CO     90014491748
751187A349154B   JESUS            H ANDUJO                 TX     75017617034
75118A8253B399   HAYLEY           GRIFFEN                  CO     33036180825
7511911A493739   TAMEKA           JONES                    OH     90013401104
75119822872B37   NICOLE           ALVARADO                 CO     90013688228
75119A96331443   DIABOLIQUE       GREEN                    MO     90013750963
7511B16358B168   MIRANDA          LYNN                     UT     90003351635
7512136398B157   NIKOLOASE        MANN                     UT     90011773639
7512175347B477   KEMBA            RICHARD                  NC     90010977534
75122481372B87   CHASE STEVE      ELIES                    CO     90015214813
7512249678B163   PAMELA           CURTIS                   UT     90015174967
751228A2972B37   JOEL             BENSOUSSAN               CO     90013498029
75122A7A69154B   LAURA            MORALES                  TX     90014370706
75123181272B29   GUADALUPE        CASTRO                   CO     33046541812
7512344277B396   NICKI            ALEMAN                   VA     90001804427
75123489572B34   LESLIE           PEREZ                    CO     90011234895
751237A737B477   MELQUIN          TURCIO                   NC     90011557073
751243A7441227   DANIEL           OLSON                    PA     90013013074
75124792972B44   OFELIA           ESCOBAR                  CO     90013157929
75124878572B37   WILBERTH         AY-HAU                   CO     90011578785
751258A528B163   ARMIN            MARTINEZ                 UT     90013338052
7512599A572B37   VICTOR           BARRAZA                  CO     90011719905
75126558672B87   JUANITA          WILLOUGHBY               CO     90003815586
751267A743168B   ANTHONY          SMITH                    KS     90005017074
7512714357B477   CRITIAN          ABALOS                   NC     90014171435
75127763672B32   ANGELA           BROWNE                   CO     90013387636
75127A57A8B142   ANGELA           HANSEN                   UT     90002780570
75129135372B87   NOELLE           SCHAFER                  CO     90011671353
7512916382B271   DJUANA           DICKENS                  DC     90009601638
7512941518B142   WAYNE            WOLFE                    UT     31080564151
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 841 of 2350


7512965AA55939   ERMILA       GALLARDO                     CA     90008976500
7512B56418B163   PAYGO        IVR ACTIVATION               UT     90013885641
7512B992191885   LILIANA      ALVARADO                     OK     90009989921
751311AA18B168   STACEY       YOUNG                        UT     90015161001
7513134A672B29   LORENA       HERNANDEZ                    CO     90012553406
75131435A3168B   MARVIN       MILLARD                      KS     90008904350
75131A1A88B168   RAENI        AARON                        UT     90011160108
7513226348B168   STACY        WILSON                       UT     31090402634
75132A9598B163   ELISHA       VILLAGRANA                   UT     90012940959
75133299172B44   ROSA         BUSTOS                       CO     33057952991
7513424668B134   TINA         MANU                         UT     90003102466
7513439A39154B   FERNANDO     YANEZ                        TX     90008653903
7513461458B142   KINYON       COLE                         UT     90010206145
7513474752B994   WINTER       PAULSON                      CA     90014287475
7513484A79154B   FERNANDO     YANEZ                        TX     75095558407
75134947672B44   CHRIS        WILSON                       CO     90014589476
75135663272B29   MICHEAL      COLE                         CO     90010366632
75135667572B44   CHERELLE     GOMEZ                        CO     90010546675
75135A5689154B   AMANADA      RODRIGUEZ                    TX     90002700568
7513618A855939   OMAR         JUAREZ                       CA     90013791808
7513636A972B87   KENDRA       YOUNG                        CO     90015053609
7513683574B588   AARON        MOREHEAD                     OK     90009418357
75136A45A85945   ALLI         STEWART                      KY     90009650450
751372A639154B   JAZIM        RODRIGUEZ                    TX     90010922063
7513794AA2B271   SHANICE      JOHNSON                      DC     90005639400
7513797A78B131   DEREK        HENDRICKS                    UT     31026029707
75138579A55939   HECTOR       PRADO                        CA     48082165790
75138585A7B477   PHILLIP      BLACKWELDER                  NC     90009755850
75138A56A5B59B   NORBERTA     MORFA                        NM     35002610560
75139563472B29   ERIC         ALLEMAN                      CO     90007885634
751398A2755939   RENTERIA     ARTEMIA                      CA     48014128027
7513992398B163   LEXIE        BRYNER                       UT     31002109239
75139A6722B271   WARREN       BOYD                         DC     81065030672
7513B2A767B661   TRAVAUHNTA   GARDNER                      GA     15073922076
7513B4A8571921   JOSE         CHAVEZ                       CO     32062424085
7513B693331432   ANGELA       WILLIAMS                     MO     90014596933
7513B816131432   ANGELA       SHEGOG                       MO     90009938161
7513B93428B134   ROBYN        HANCEY                       UT     90012899342
7514115789154B   DELIA        RODRIGUEZ                    TX     90004191578
7514126587B477   LATAVIA      WILLIAMS                     NC     90012282658
75141491172B27   CHARLES E    MILLSAPS                     CO     33071384911
7514156215B59B   MARK         ATENCIO                      NM     90013485621
75141A18172B37   RONDAL       MOORE                        CO     33014730181
7514211698B168   DENISE       MARTINEZ                     UT     31087951169
751421A519154B   ELVA         LOZOYA                       TX     75053671051
75143251572B37   RACHEL       NEVARES                      CO     33093112515
75143562272B44   YESENIA      MARES                        CO     33070315622
75143837A9154B   JESUS        RODRIGUEZ                    TX     90010438370
7514414418B142   HEIDI        WILDER                       UT     90006671441
75144678A72421   QUINN        VERHEYEN                     PA     51048766780
7514536355B134   JOSE         TODON                        AR     23012233635
75145576A2B229   BRANDON      JONES                        DC     90000245760
75146274772B58   BEVERLY      DOLLAN                       CO     90013052747
75146522A8B163   JAMES        ARMANI                       UT     90013905220
7514655828593B   ISAIAH       LITTLE                       KY     90013925582
75146794A5B59B   ALAN         TORRES                       NM     35026127940
7514715697B388   KEFELEGNE    ASHINE                       VA     90001401569
7514718287B477   LATOYA       WOLFE                        NC     90013721828
7514796197B477   CARLOS       ARQUETA                      NC     90013969619
75147A5138B134   NESTOR       DAMIAN                       UT     90014100513
75148187A8B157   COLBY        GARRETT                      UT     90005451870
7514833715B59B   LIONEL       ARVISO                       NM     90013923371
75149A8478B157   JOHN         JOOSTEN                      UT     90013520847
7514B511193739   OSCAR        VILLALVA                     OH     90014865111
7514B837572B37   RAVIN        WYMAN                        CO     90013968375
7514B954261981   REONNA       GEORGE                       CA     46056679542
75152135172B44   TRE          MONROE                       CO     90013141351
751521A8855939   KORINNA      VASQUEZ                      CA     90013961088
75152617272B87   NATASHA      KARGES                       CO     90005856172
751527A3972B37   TERRI        BUSTRAW                      CO     90014707039
75153193A81633   AMBER        D BETTIS                     MO     90011451930
75153258972B32   BEVERLY      RISLEY                       CO     90010642589
75153A6A88593B   MIKE         BISHOP                       KY     90002690608
75154636172B29   LORI         BARTON                       CO     33089016361
7515484529154B   ANTONIO      MONTOYA                      TX     90010438452
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 842 of 2350


75154A67531433   SHANTAE       STEVENS                     MO     90002440675
7515536A272B87   EMILY         JOHNSON                     CO     33055013602
7515554269154B   GISSELL       CARRERA                     TX     90014205426
7515632618593B   REBECCA       YOUNG                       KY     66089953261
75157154A5B384   JAVIER        GARCIA                      OR     90005021540
7515719A572B87   ANDREA        TURNER                      CO     33010401905
7515847742B994   MIKE          SMITH                       CA     45031434774
7515851A48B163   MINDY         JENKINS                     UT     31075165104
75158A85172421   LOIS          STAUFFER                    PA     51000920851
751594A578B168   RODIRIGO      VILLANUEVA                  UT     90014314057
7515987A481633   AMANDA        PORTER                      MO     90006098704
7515B255485945   GEORGE        PLUNKETT                    KY     67089852554
7515B53633168B   MELODY        TREJO                       KS     22022145363
7515BA15272479   JENNY         RUNCO                       PA     90014250152
7516286278B163   JERRY         OMAN                        UT     90010038627
75163581472B44   MARCO         DOMINGUEZ                   CO     90010825814
75163AA5881633   ROBERT        WALCOTT                     MO     29098450058
751643A4455982   IEESHA        GONZALEZ                    CA     90011823044
7516457818B157   ASHLEE        BARNES                      UT     90011455781
7516485A755928   VICTOR        ALBISTUR                    CA     90010028507
75164887472B32   ROBERT        HILL                        CO     90015178874
751656A3551337   STEVEN        RICE                        OH     90015166035
7516676888B163   MARCOS        RAMOS                       UT     90012227688
7516689867B477   MAGGIE        CLARK                       NC     90005978986
75166916572B44   JORDAN        LOVATO                      CO     90011069165
7516783958B134   NICOLE        OWENS                       UT     90014438395
75168486972B32   ZULMA         RIVAS                       CO     90014224869
751688A9385945   AJ            ROMO                        KY     90009858093
751698AAA3168B   VIRGINIA      SHERRILL                    KS     22082958000
7516B14A172B44   WILLIAM       CARBONE                     CO     90013141401
7516B649593739   MILTON        BUCKINGHAM                  OH     64507256495
7516B768A9154B   ALEJANDRO     CARDENAS                    TX     90012877680
7516B823672B44   MARIAM        GUMA                        CO     90004848236
7516B949741237   LAFAWN        HARRIS                      PA     90014739497
7516BA6918B134   TERRY         ORTON                       UT     31056290691
7517119368B163   HORTENCIA     FLORES                      UT     90010601936
75172211172B29   JUAN          AVILA GONZALES              CO     33060962111
75172912A3168B   CHRISTOPHER   CAILLOUET                   KS     90012909120
7517321A471921   ANDY          MARCO                       CO     90001892104
7517341647B661   APRIL         BARDGE                      GA     90004764164
7517355A85B59B   PATRICIA      LUJAN                       NM     35031195508
751736A2541237   JOYCE         DETTLINGER                  PA     51085556025
7517424762B994   ERICA         DURAN                       CA     90013982476
7517452A233698   BRANBON       LONG                        NC     90009855202
7517525718B163   BRYAN         MESTERHEIDE                 UT     90013842571
75175259872B87   CARLA         BLACKMOND                   CO     90004012598
7517544745136B   LOIS          RHODES                      OH     90011714474
7517558568B157   DAOUDA        COMPAORE                    UT     31070345856
7517572672B994   TEODORA       RANGEL                      CA     90008697267
75175A2628B168   GLADIS        ONTIVEROS                   UT     90012690262
75176488872B32   ALAN          GREGORY                     CO     33043764888
7517652A19154B   BERTHA        SANCHEZ                     TX     90014215201
7517681398B142   LEE ANN       MOSS                        UT     90010988139
7517691248B134   VICTOR        SHANTI                      UT     31081169124
75177346972B87   MARIA         BIRCH                       CO     33014593469
751775A7972421   NICOLE        KEMERER                     PA     90013315079
75177A5A971921   ARANESHA      SMITH                       CO     90014850509
75177A76A51331   GARY          GREGORY                     OH     66095920760
7517814AA8B163   FELIPE        DZIB                        UT     90012991400
7517936385B245   LAURA         LOGAN                       KY     90013963638
7517994A172B32   TERESO        GALLEGOS HERRADA            CO     33061269401
75179AA5355947   NORA          REYES                       CA     90010650053
7517B116372B29   CHRISTINA     DELAGADO                    CO     90011111163
7517B138791586   GLORIA        ROCHA                       TX     75083141387
7517B475872B98   GERARDO       GARCIA                      CO     90001164758
7517BA79471921   RAFAEL        SANABRIA                    CO     32074980794
7517BA96181633   LARRY         SOMMERVI                    MO     90012700961
751812A8131433   ASHLEY        TAYLOR                      MO     90014992081
7518237868B168   DUSTY         DESPAIN                     UT     31023853786
75182385572B37   JOMARIE       GARCIA                      CO     90008053855
7518269633168B   ROSE MARY     KRAUTER                     KS     22046366963
7518271378B157   KATIE         MARTIN                      UT     90012067137
75182AA3272B32   JACKLYN       SIOLVA                      CO     90012350032
751831A5841237   MAUNJALEIC    HOWARD                      PA     90013551058
751832A3A8B168   DANIEL        STEPHENSON                  UT     90014672030
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 843 of 2350


75184437772B29   MUSTAFA             BIHI                  CO     90010084377
7518449A433698   OSORIO              ANA                   NC     12048264904
7518496872B994   JENNIFER            AVILA                 CA     90006059687
75184A7273168B   LORETTA             MEANS                 KS     90013740727
7518544A972B44   KRIS                HANCOCK               CO     33036044409
75185676A72B87   FERNANDO            ROSILLO               CO     90011896760
75185A2618B134   SHERRIE             CRUZ                  UT     31038880261
75185A4425B59B   MARVIN              MARTINEZ              NM     90006080442
7518769578B163   LESLEY              JOLLEY                UT     90004626957
7518778618593B   FRANCIS             ARMAH                 KY     66092597861
751878A4572479   GERALD              LAYHUE                PA     51076668045
751882A4833698   KIMBERLY            MANNS                 NC     90014022048
7518865A872421   KIMBERLY            JOHNSON               PA     90011786508
75188846572B37   IVAN                HERNANDEZ             CO     90012158465
7518916928B163   DONALD              BROWN                 UT     90007401692
75189322772B29   GUILLERMINA         ALAMOS                CO     90012323227
7518966798593B   THOMAS              BAUER                 OH     90010836679
7518981478B168   TYLER               WEBB                  UT     31020338147
7518983933B387   JOHN                CHESNEY               CO     90009388393
75189A99972479   CHRIS               STOUT                 PA     90009510999
7518B351251368   LUNARD              BUCKNER               OH     90010743512
7518B362271921   SERENA              TEMPLETON             CO     90003453622
7518B911231432   ETHEL               SIMMONS               MO     90006409112
7518B938172B87   REECE               WIGGINS               CO     90010919381
7519137945B59B   EDDY                DELGADO               NM     90002913794
75191AA3472B87   VICKI               REEVES                CO     33026550034
75192549672B37   QUANISE DIASHONNE   SEALS                 CO     90008745496
751927A6672B87   MARIA               ORTIZ CASTILLO        CO     33035857066
7519441198B142   HOLLY               MITCHELL              UT     31097714119
7519472295593B   ERIKA               SIERRA                CA     90014967229
7519517A58B163   JORGE               RODRIGUEZ             UT     90013641705
7519552749154B   RAUL                MATA                  TX     90013255274
75195538972B58   MICHAEL             ESQUIBEL              CO     90013905389
7519557143168B   JAMIE               BENTZ                 KS     90005755714
7519649128B134   J                   FLORES                UT     90004204912
75198687872B37   RONNIE              VIGIL                 CO     33000046878
7519912628B134   PAOLA               HERNANDEZ             UT     90011051262
7519935A83B384   CARLOS              BLANDIN               CO     90012703508
75199391172B44   MARIA LUZ           MORENO                CO     33071523911
751996A4641237   SHIRLEY             WILSON                PA     90014616046
7519B218733698   BRIANA              GREEN                 NC     90014932187
7519B92418B168   JOSEPH              BARNEY                UT     90014699241
751B1622255939   AMPARO              RENTERIA              CA     90014836222
751B1697972479   RANDY               SCHWAB                PA     90010506979
751B16A2872B37   RANDY               BARNES                CO     90009706028
751B273755593B   ARCADIO             NUNEZ                 CA     90015127375
751B2A74931432   PRECIOUS            JONES                 MO     90005330749
751B337382B994   ANTHONY             INGRAM                CA     45066463738
751B351978B157   CASSANDRA           MENDOZA               UT     90014215197
751B3536431433   MARY                GRAY                  MO     90005015364
751B3549672B37   QUANISE DIASHONNE   SEALS                 CO     90008745496
751B4165772441   BRIAN               HUBERT                PA     51046831657
751B4241872479   CLIFFORD            CRUSAN                PA     90015032418
751B455168B142   JOSHUA              JOHANSEN              UT     90012515516
751B4724A31443   JENNIFER            BAKER                 MO     90006297240
751B479879154B   OSCAR               GUTIERREZ             TX     90008747987
751B484818B134   TAMARA              MATTYS                UT     31032888481
751B4927772B37   HECTOR              PEREZ                 CO     33052439277
751B4A21531433   SHERITA             EVERETTS              MO     90013960215
751B54A2333698   KIMBERLY            BOOSE                 NC     90012324023
751B5847257157   JOSE                MAJANO                VA     81056758472
751B6598955939   SANDRA              ESPINO                CA     90014625989
751B7129861941   SAMUEL              LOPEZ                 CA     46053411298
751B7138791586   GLORIA              ROCHA                 TX     75083141387
751B7282493739   SHALIKA             MACK                  OH     64582562824
751B7322655947   LEO                 GONZALEZ              CA     90010373226
751B7353433698   SHANNON             PERMAR                NC     90012853534
751B7431555966   ALMA                MORFIN                CA     90006544315
751B7627781255   ROBIN               ARNOLD                IN     68010276277
751B764A62B994   WHITHEY             LAYMON                CA     90014886406
751B768218B142   TRACY               LAWS                  UT     31039936821
751B79A8686523   JOSE                RODRIGUEZ             TN     90015449086
751B7A3A29154B   JESSICA             CALDERON              TX     75028260302
751B7A9188B168   PETERSON            VERTUS                UT     90000960918
751B866238B134   JESSE               KAVOUKAS              UT     31042036623
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 844 of 2350


751B8663272B29   MICHEAL      COLE                         CO     90010366632
751B868368593B   BRAD         WHITE                        KY     90004986836
751B8981931432   LORRETTA     TROTTER                      MO     90011069819
751B919A672B44   VICTORIO     GONZALES                     CO     90006591906
751B951699154B   JOSH         AGUILERA                     TX     75084775169
751BB42562B994   STARLA       KIMBROUGH                    CA     90015184256
751BB84739154B   ARTURO       QUINTANILLA                  TX     90003488473
751BBA81893739   CHRISTINA    GRAY                         OH     64570550818
75212267772B37   AARON        MARTIN                       CO     90010402677
7521228658B134   DAISY        SALAZAR                      UT     90013962865
752122A1341227   LASHAYNA     KENDRICK                     PA     51005522013
75212A96251391   STACIE       FLANARY                      OH     90000790962
7521312367B477   CHARMAL      DEBOSE                       NC     90012731236
7521324328593B   VICKIE       MARTIN                       OH     90003502432
7521331A472479   DAVID        YOUNG                        PA     90010543104
75213A5918B134   SHANE        SPRAGUE                      UT     90015140591
75214582A5B331   JAVIER       LOARCA                       OR     90003585820
752151A635B59B   IRMA         VAZQUEZ                      NM     90015121063
7521588287B477   JOHN         CLAXTON                      NC     11053388828
75215919A8B157   CHRIS        TIMOMTHY                     UT     90010659190
7521624353168B   SHEREESE     WHITFIELD                    KS     22005532435
7521662A972B29   LOURDES      RIVERA                       CO     90005376209
75216896672B87   RICK         GARCIA                       CO     90008568966
75216A8868B134   DINA         JIMENEZ                      UT     90010490886
75217121572B44   TASHARRA     ROLLAND                      CO     90007901215
7521729A861935   WENDY        RODRIGUEZ                    CA     46099272908
75217383372B87   CHARLES      COOPER                       CO     90015053833
752174A2693739   TERRY        WALTERS                      OH     64554634026
7521772A633699   HONGMEI      ZHOU                         NC     90008937206
75218152272B37   LUCIA        OPORTO                       CO     33079531522
7521819A38B142   MELISSA      HARTVIGSEN                   UT     31009071903
7521822A672B32   RYAN         BURKLOW                      CO     90013642206
752185A8631433   ANDRE        MADISON                      MO     90003125086
75218A4A957157   BAHARED      RANJBAR                      VA     81080160409
75219142572B32   COURTNEY     S BAIR                       CO     90010791425
75219353A72479   SHERRI       WATKINS                      PA     51072723530
7521972623168B   THOMAS       FREDIN                       KS     22013867262
7521979587B477   NATHANIEL    SCOTT                        NC     90014827958
7521998275B59B   EDUARDO      LOPEZ                        NM     90010849827
7521B342572B44   SERGIO       CHAVEZ                       CO     33092913425
7521BA15472B87   IVONNE       TRUJILLO                     CO     90011660154
7521BA5675B59B   MIREYA       MOLINA                       NM     90014850567
7522122899154B   RAFAEL       FLORES                       TX     90014412289
7522124518593B   ASHLEY       MILLER                       KY     90003102451
75221629A41237   CYRIL        GITTENS                      PA     90012946290
75221959972B29   ROCHELE      HOPKINS                      CO     90015509599
752219A1272B44   ISIDRO       CISNEROS                     CO     33009819012
75222214172B29   SARAH        KENDERES                     CO     90007332141
7522286A755928   BEN          RIVERA                       CA     49096408607
752229A3233699   ZEBULAN      RAINES                       NC     12070229032
7522371338B155   DANIELLE     DOWNS                        UT     31000587133
75224952A41237   MICHAEL      RADWANSKI                    PA     51078689520
752255A8172479   GARRET       ZIMMERMAN                    PA     90000655081
7522629A68593B   PATRICIA     SCUDDER                      KY     90014862906
7522667158B157   MARTIN       SALAYANDIA                   UT     90006736715
7522713585B59B   ANUAR        MADRID                       NM     90010621358
7522748748B168   MORELIA      GUTIERREZ                    UT     90010224874
7522773929154B   SIXTO        NAVARRETTE                   TX     90013357392
7522774A772B29   NICKIE       RYMER                        CO     90003577407
7522814A872B37   SILVIA       HERNANDEZ-AGUIRRE            CO     33095491408
75228957772B44   JONATHAN     JAUREGUI                     CO     90014589577
75228A5422B994   ROMAINE      GHOSTON                      CA     90005090542
7522B286741253   JERRY        BLACK                        PA     90009502867
7522B34A672B44   JERMEY       HALSTEAD                     CO     90013933406
7522B56A955947   RAMON        SANDOVAL                     CA     90009925609
75231152272B32   CONSUELO     VILLAGRANA                   CO     33040441522
7523126338B157   JOSE         PALZA                        UT     90015302633
7523152A33168B   SASHA        COOK                         KS     90007655203
7523217592B994   JUANITA      COMPIAN                      CA     90013781759
7523236687B428   JERMAINE     LINDSAY                      NC     90011023668
7523273738B157   LINDSEY      GREENE                       UT     90014987373
75233163472B37   LAWRENCE     LAMONT                       CO     90002551634
75233659A8B163   JAKE         DEFA                         UT     90011016590
7523431957B825   VANESSA      WIGGINS                      NC     90013883195
75234484972B32   JACOB        GARRETT                      CO     90013744849
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 845 of 2350


752344A288B142   LORRAINE        HO CHING                  UT     90012624028
7523459365B59B   FRANSISCO       FUENTES                   NM     90014035936
7523499638B163   AHAMACH         BIEL                      UT     90012629963
7523526A25B591   AMADOR          PRIETO                    NM     35087652602
752356AA481633   THOMAS          BETTIS                    MO     90010856004
75235A4A68599B   VICKEY          WOOD                      KY     90001540406
7523641565B59B   TERRI           HARRISON                  NM     90013044156
752372A5572B58   JEANETT         ROCHA                     CO     90008122055
752376A5344346   JORDAN          DREW                      MD     90015486053
7523773257B477   KEYATTA         SMALLS                    NC     90013407325
7523773532B271   AMY             MARTIN                    DC     90003327353
752387A8641253   EBONY DAWN      DAVIS                     PA     90012657086
75239161272B44   MARGARITO       QUESADA                   CO     90015141612
7523977858B157   CALVIN          GREGERSEN                 UT     90012337785
7523B255572B44   ALEXANDER       JONES                     CO     90008362555
7523B258A81633   PEDRO           GARCIA                    MO     90006922580
7523B676957157   ILSY            ANDRADE                   VA     81096086769
75241115A93739   CECILIA         NJIE                      OH     90011411150
7524146148B168   IGNACIO         MANJARREZ                 UT     31011114614
7524393718B142   JORGE           ACOSTA                    UT     90015109371
75243A19972B37   CHRISTINE       JACKSON                   CO     33093880199
75244A1543168B   WILLIE          OWENS                     KS     22010480154
7524566A53168B   MARIO           WILLIAMS                  KS     90002856605
75245928672B37   MARGARITA       SOSA                      CO     90011579286
75245A4A641237   RICHARD         GIECEK                    PA     51012030406
752462A1281679   KADI            KELLEY                    MO     90005002012
7524647399154B   ANTHONY         GAYTAN                    TX     75044844739
7524748168B168   TRACIE          TUCKER                    UT     90012714816
752476A7A9154B   GRACIELA        VALENCIANA                TX     75053896070
75247977572B44   ASIA            GARCIA                    CO     90008839775
75247A45A85945   NOE             RAMOS                     KY     90007500450
75247A79A72B44   MARIA SOCORRO   HUERTA MARQUEZ            CO     90014850790
7524826A39154B   ANGEL           ALEMAN                    TX     90013172603
7524862758B142   NORRIS          PACKER                    UT     31091476275
75248872A8B168   CRISTOBAL       SALINAS                   UT     31075528720
752489A7151347   JAZZMA          WILLIAMS                  OH     66017289071
7524975A472B37   AURORA          MORALES                   CO     90013057504
7524986A35B384   DENISE          LOPEZ                     OR     44555878603
75249A37972441   GEORGE          WHARTON JR                PA     51082550379
7524B123533683   TERI            LITTLEJOHN                NC     12030661235
7524B594971921   ALEX            SCHNEPP                   CO     32023025949
7524B779A41237   LISA            SMITH                     PA     51027317790
7525166A172B32   LUIS            FERNANDEZ                 CO     33093576601
752521AA872B87   OMAR            JAQUEZ                    CO     33009031008
75252731A93739   DANIEL          TURNER                    OH     90014277310
7525273952B271   SANDRA          HENRIQUEZ                 DC     90003327395
7525276338B142   LETA            KULA                      UT     90013747633
75252989A7B477   TAMIA           HAYES                     NC     90013579890
75252A7969154B   AURORA          PINEDA                    TX     75057620796
7525335678B157   MARIO           CABALLERO                 UT     90007683567
752539A3A31443   KELSY           RUNYON                    MO     90008689030
7525485559154B   JUAN            MELENDEZ                  TX     90010438555
75255185872B87   ANGEL           ESTRADA                   CO     90010491858
7525522595B384   BRAD            HAFLEY                    OR     90002632259
75255645A8B142   ALBRIE          PAHL                      UT     90010686450
75255A97572B32   JUAN            ESTRADA                   CO     90009550975
7525648225139B   PRESLEY         RIDOUT                    OH     90002244822
7525652468B134   MARIO           MENDOZA                   UT     31083965246
7525791599154B   SHANISHA        EVANS                     TX     90014389159
7525793773168B   JUAN            LEDEZMA                   KS     90014979377
75258493472B44   JUAN            FUENZ                     CO     90013094934
75258521A9154B   RICARDO         EREZ                      TX     90014215210
75258588872B29   CASILLAS        ARMENDARIZ                CO     90012275888
75258748A85945   ISIDRO          MORENO                    KY     90008587480
7525914213168B   BLANCA          SOLIS                     KS     90014451421
7525928375B59B   JOLANTA         DACKIEWICZ                NM     90009512837
752592A4355947   GILDARDO        VARGAS                    CA     90010692043
75259641372B29   ROBERTA         GONZALES                  CO     90010926413
75259848172B32   FERNANDO        MARQUEZ                   CO     33084478481
752599A1693739   LORA            SHIRA                     OH     90011499016
752599A8581633   JOSEPH          MOORE                     MO     90004099085
7525B3AA172B87   JAVIER          LOERA                     CO     33094243001
75261258172B32   PEDRO           GONZALES                  CO     90014242581
7526146548B168   SARAH           FACKRELL                  UT     31039504654
7526253588B163   FERNANDO        LAGUNAS                   UT     90008945358
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 846 of 2350


7526338A393739   OBREY        JACKSON                      OH     64514143803
752635A9571921   SANTOS       GOMEZ-VASQUEZ                CO     90014175095
7526362878B185   OSCAR        CABALLERO                    UT     90002586287
7526373862B994   KENNETH      TYLER                        CA     90013997386
7526379819154B   HORONDO      QUINONES-ALAMO               TX     90010987981
75263981A3852B   BRYSON       HEAP                         UT     90014709810
7526458AA57157   WILMER       GOAD                         VA     90013265800
75265A72372B32   ROBERT       HENKES                       CO     33041750723
752664A6772B44   EUGENE       COBB                         CO     33056214067
75267482272B44   JAIME        MELENDEZ                     CO     90012444822
7526752127B477   WILLIAM      COLES                        NC     11052585212
752675A615B169   REGGIE       CLEMONS                      AR     90001215061
7526778875B384   PAUL         SOWARDS                      OR     90001977887
75268853772B32   SUNNY        MATT                         CO     90006368537
7526931798B134   RICKY        SNOW                         UT     31066143179
7526933627B477   JUSTIN       MILLER                       NC     90010693362
75271138472B32   ALEXANDREA   MCCOY                        CO     90014781384
752716AA58593B   JOSE         TREJO                        KY     90011766005
75272AA233168B   LESLIE       MCDANIEL                     KS     22069250023
752736AA972B29   KENYA        BARTHELEMY                   CO     90007886009
752742A9A7B477   JORGE        CAMPOS                       NC     90010452090
752749A6A85945   RAMIRO       RODRIGUEZ                    KY     90006749060
752754A4754133   JEREMIAH     RUTLEDGE                     OR     90010784047
7527585178B142   MELINDA      LEWIS                        UT     31031978517
7527624598B163   DARREN       LLOYD                        UT     90014162459
75276434833B34   IGNACIO      CUEVAS                       OH     90014384348
752764A3872B87   LAUREN       HEDGE                        CO     90015054038
7527654518B168   BRANDI       MOORE                        UT     31001875451
7527655128B142   LESLI        MARTINEZ                     UT     31086485512
752772A1871921   CHRISTINA    MESSINA                      CO     32046612018
75277993A55947   JOHNNY       SANDERS                      CA     90011159930
7527859549154B   ARMANDO      GONZALEZ                     TX     90013405954
7527879AA31432   HORTENSE     GIBBS                        MO     27552197900
75279511A33698   ZONCIRETH    CRAIG                        NC     90002125110
7527955A75B59B   JOANNA       SPARKS                       NM     90004755507
75279A84A72479   TINA         BAKER                        PA     51065190840
7527B328472B37   CARLOS       GONZALEZ                     CO     90012193284
7527B691A7B477   GERMAN       GARCIA                       NC     90013596910
7527B839231432   WANAKEE      BROWN                        MO     90011648392
75281199772B44   ISABELLA     LACOVICH                     CO     90013141997
7528246A58B134   RAFAEL       SANCHEZ                      UT     31061344605
752835A2893736   HEATHER      CLARK                        OH     90011765028
752859A888B134   JANET        MEIER                        UT     31085659088
75285A3417B477   ZONOBIA      WHITE                        NC     11075840341
7528684457B428   SHANTANYA    SMITH                        NC     90000648445
752869A7493739   TAMMY        HAYDEN                       OH     90013599074
7528741618B134   SHAUNA       BLUNDELL                     UT     31093724161
7528763339154B   MARIBEL      VASQUEZ                      TX     90004916333
7528795113168B   JESSICA      ROSE                         KS     90015089511
75287A14272479   VANESSA      DAVIS                        PA     51015130142
75288573A9154B   OMAR         INIGUEZ                      TX     90008705730
7528873798B168   ROBERT       TUCKER                       UT     31014277379
75289222772B44   CARL         CUNNINGHAM                   CO     33005722227
752892A7633624   TIMOTEO      LOREDO                       NC     90012542076
7528986439154B   LILIA        GONZALEZ                     TX     90013548643
75289A88A71921   ANGELA       EGGENBERGER                  CO     90005490880
7528B29968B157   DOROTHY      ALLEN                        UT     31096932996
7528B512A8B163   SHAWN        MCDERMOTT                    UT     31022575120
75291198A72B44   LIRA         CRISTY                       CO     90010901980
7529127228B134   ESTEBAN      AGUILAR                      UT     90010052722
75291988A72421   MATTHEW      LAPOSKY                      PA     51029889880
75292AA979154B   PERLA        ALVARADO                     TX     75012530097
75293466272B87   DANIELLE     LOPEZ                        CO     33016494662
75293599A41253   MEGAN        MAZZOTTA                     PA     90013505990
7529381138B142   SAM          STEELE                       UT     31086178113
752938A9672B37   RIMA         HALABY                       CO     90012148096
752946A5561599   ROSO         TREFO                        TN     90015046055
75294A32672B87   ANA          MOLINA                       CO     33031520326
7529532A761597   FRANCISCO    MENDOZA                      TN     90015333207
7529573365B384   MIGUEL       DURAN                        OR     44511037336
75295A95A72B29   RYAN         SCHMIDT                      CO     33066170950
75296143A72475   SAMUEL       WRIGHT                       PA     90013151430
7529633488B157   ZANDRA       RAMIREZ                      UT     90007133348
7529676746198B   ERICK        CARDENAS                     CA     90010257674
7529679265B59B   JESUS        GUTIERRES                    NM     90014407926
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 847 of 2350


7529686378B134   TONY         MARTIN                       UT     90000998637
7529716928B163   DONALD       BROWN                        UT     90007401692
7529747786193B   JONATHAN     GUARNEROS                    CA     90001774778
75298173A54151   ROSLYN       HAYNES                       OR     47090821730
75298288A91572   MIREYA       MARTINEZ                     TX     90006632880
7529831282B248   SHERRELL     INGRAM                       DC     90001393128
7529983778B168   ANA          RAMIREZ                      UT     90014688377
75299958572B29   HEATHER      WOOD                         CO     33092489585
75299A83655941   ALEX         AYALA                        CA     90004680836
7529B46555B59B   DENISE       CASTILLO                     NM     90009484655
7529B814A31433   UVETTE       MORELAND                     MO     90012788140
7529B875955947   ERICKA       GAINES                       CA     90005848759
7529B9A829154B   JESSICA      GUERRERO                     TX     90010029082
752B1374A72B29   LUIS         BARRON                       CO     90008403740
752B148A172441   TRISHA       HASHMAN                      PA     51009984801
752B171298B159   CACEY        WILSON                       UT     31083277129
752B3238372B29   GUADALUPE    VALENCIAZE                   CO     90007232383
752B327448B185   LAURA        JOHNSON                      UT     90010282744
752B334415B59B   MONICA       LOPEZ                        NM     35013263441
752B3433672B87   ROBERT       HOPKINS                      CO     33091084336
752B3476A8B157   GARY         CHESTANG                     UT     90012864760
752B3822771921   NICO         PETROCELLI                   CO     90011818227
752B3968855947   LUZ          ESPINOZA                     CA     49016649688
752B3A7687B661   ERIC         NEWMAN                       GA     90004900768
752B3A82533B34   FHAI         LYNN                         OH     90014620825
752B4213331433   PAULA        IVORY                        MO     90011202133
752B42A4541253   KEITH        SMITH                        PA     90012752045
752B432A25B245   JERRY        WATSON                       KY     90001333202
752B4379A72B87   SALENA       COMPOS                       CO     90013693790
752B4427731432   EUNICE       BUSH                         MO     27566144277
752B4446855966   KIMBERLY     VAUGHN                       CA     90010174468
752B44A3785945   JONATHAN     MARKS                        KY     67010404037
752B489478B142   TODD         WHITE                        UT     90014298947
752B5128172B87   RICO         BROADWAY                     CO     33070521281
752B526928593B   RODNEY       ISBELL                       KY     90001622692
752B544198B134   MICHAEL      OSTRANDER                    UT     90010714419
752B641248B163   BADAUKA      DIEGO                        UT     31089884124
752B6852531443   RACHELLE     MOSS                         MO     90010388525
752B7567341227   DERRICK      VIRE                         PA     51060305673
752B7856672B44   ALICIA       BLAKE                        CO     90002028566
752B798438B134   CONNIE       ROBERTSON                    UT     31023739843
752B7AA5555947   GABBY        LARA                         CA     90010850055
752B8356493739   SHEELA       ANGEL                        OH     90014743564
752B8378871921   ELAINE       BLAKE                        CO     90001203788
752B8A32741237   DARCELL      CLECKLEY                     PA     90011310327
752B974AA8593B   CHARLEY      SAYLOR                       KY     66090697400
752BBA12172B37   FRANCES      GARCIA                       CO     90012140121
752BBA55441227   TIFFANY      CRABLE                       PA     90012250554
75311187A8B157   COLBY        GARRETT                      UT     90005451870
753111A3541253   ANGELA       FORD                         PA     51076281035
7531131549184B   CLAUDIA      PEREZ                        OK     90013183154
753113A148B163   ROBERT       MOLL                         UT     90008143014
7531158458593B   KASI         KEATING                      KY     90012825845
75311735672B44   DANIEL       LOPEZ                        CO     90010547356
7531177A85B59B   JESSICA      LUCERO                       NM     90014747708
7531246768B168   GAMEZ        ORLANDO                      UT     90005854676
7531316773168B   RAMON        MONTES DE OCA                KS     22058121677
7531357597B662   ARLETTE      AVERY                        GA     90011935759
7531392418B168   JOSEPH       BARNEY                       UT     90014699241
7531397A65B238   DARRELL      POWELL                       KY     90013789706
75313A42672B29   SHANTELL     BENEGAS                      CO     33011810426
7531517A572B44   LEONARDO     RINCON                       CO     90013261705
75315A23155947   RENAY        RODARTE                      CA     90012660231
753166A1455947   MICHAELL     PULIDO                       CA     90007466014
75317336A5B384   PHILIP       DINAPOLI                     OR     90000193360
7531792488B168   AMBER        BEUTLER                      UT     90014699248
75318883372B29   ZIONDA       PHILLIPS                     CO     33044048833
753188A8655939   ROBERTO      SANCHEZ                      CA     90001828086
7531894A772479   CRYSTAL      WOOFTER                      PA     90012559407
75318962672B32   JOHNNY       WOODS                        CO     33096669626
7531919884B27B   PEDRO        CUA-ITZITE                   NE     90011601988
75319698772B32   ROCIO        MUNDO                        CO     33089356987
7531977218B142   TIFFANY      HOLLEY                       UT     90008357721
75319A1928B163   ROSANNE      RASMUSSEN                    UT     90003060192
75319A45555939   JUAN         ELIZARRARAZ                  CA     90000650455
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 848 of 2350


75319A46A51361   MELISSA         MILLIGAN                  OH     66035000460
7531B537381633   ANOTHY          GREEN                     MO     90007225373
7532111A455939   MARIA           HERNANDEZ                 CA     90011101104
7532166A851544   LYNETTE         GUY                       IA     90014806608
7532317A48B168   RAMON           VILLAJAS                  UT     90012921704
75323415972B87   JONATHON        PLASENCIA                 CO     90015054159
7532342649154B   RUBY            ROBBINS                   TX     90010254264
7532356643168B   JANEL           HARRIS                    KS     22094755664
7532392A755947   DAVID           LAMATTINA                 CA     90011179207
753239A3A5593B   DAMIEN          HISER                     CA     90014409030
75324634A61964   FADI            KHUDHUR                   CA     90012036340
7532465649196B   ROBERT          YANEZ                     NC     90003436564
7532551768B168   DANIEL          SORENSON                  UT     31015075176
7532567278B168   YONATHAN        GARCIA                    UT     90004166727
7532576733168B   MIGUEL          SANCHEZ                   KS     22041597673
75325A6618593B   JOHNNY          CHURCH                    OH     66050990661
7532643A372B87   ROCENDO         MENDIOLA-ACOSTA           CO     33082544303
753269A128B168   ANGELA          FULLEN                    UT     90015229012
7532714522B271   MEYMUNA         KELIL                     DC     90001841452
7532723555B59B   JOANA           AGUIRRE                   NM     90014902355
7532742A357157   PEDRO           MEDRANO                   VA     81040594203
753278A5233698   RATSMY          HANEBOUTTA                NC     90009638052
75327A62A41253   TARA            MOORE                     PA     90014750620
75327A97881645   CASANDRA        CHUKES                    MO     90008240978
7532818A131433   MARK            STEPHENS                  MO     27574711801
7532819275139B   DEBBIE          DESS                      OH     90007111927
75328A4288B163   RYAN            SEALY                     UT     31007470428
75329876972B29   DICKY           WAWOROENDENG              CO     33001268769
7532991147B477   SHERRY          HARLEY                    NC     11050609114
75329A6838B168   ALEX            VELASCO                   UT     31082210683
7532B243355939   JOEL            BECERRA                   CA     90012612433
7532B67988593B   JASON           ALLEN                     KY     90015136798
7532B73638B157   GLENN           KASSAHN                   UT     90001047363
7532B8A622B994   MANUEL          HERNANDEZ                 CA     45039168062
753321AA455939   LYNZIE          TORRES                    CA     48034841004
75333461872B22   GUILLERMO       RODRIGUEZ                 CO     33014904618
7533411248B157   MYRA            CERNA                     UT     90005731124
7533454775B384   TERRY           ZEARING                   OR     44510195477
75334558A55939   AMELIA          RODRIGUES                 CA     48026045580
7533475A172479   PATRICIA        LANDRIN                   PA     51037237501
75334981A8B168   BRYSON          HEAP                      UT     90014709810
7533574A28B157   ROSIE           MEDINA                    UT     90008317402
75335812A72B32   LORI            HOLMBERG                  CO     90001978120
75335A16272441   PHILLIP         PASTINE                   PA     51069690162
7533631AA21961   JUAN            PONCE                     IN     90003513100
7533646555B59B   VICTORIA        OCON                      NM     35036574655
75336871472B44   LUCAS           ARTHUR                    CO     90014638714
75336963372B44   ARTHUR          LUCAS                     CO     33011649633
75337831272B29   SAMANTHA        SCANLAN                   CO     90007778312
753379A5155939   SILVIA          GARCIA                    CA     90002279051
7533836818593B   SIMONSON        CHRISTOPHER               KY     66039163681
7533842A241237   DEONNA          HICKS                     PA     51044144202
75338794A7B477   CRISSILA        VIWES                     NC     90014647940
7533911918B168   EDNA            ROMERO                    UT     31010661191
75339241972B29   DANIEL          BURCIAGA                  CO     90014842419
75339283472B32   CLAUDIA         DOMINQUEZ                 CO     90006662834
7533956367B477   JANIKA          GRAY                      NC     11009175636
7533962A531433   KAMILAH         ARTHUR                    MO     90011196205
75339874172B37   JOHN            DUNCAN                    CO     90000238741
7533B34518B142   MARK            MANTHEI                   UT     90004933451
7533B56343147B   DEBRA           ARNOLD                    MO     27508445634
7533B65262B257   ROBIN           WILLIAMS                  DC     90011896526
7533B69268B168   AUSTIN          HERMANSEN                 UT     90012656926
7533B97979154B   ERICKA          ARREOLA                   TX     90008749797
75341851672B44   ALEXANDRIA      NIETO                     CO     90011408516
753418A439376B   RUBY            STEWART                   OH     90012368043
75341A4A25B59B   NIDIA           MARQUEZ                   NM     35065430402
75342275772B44   THERESA         GONZALES                  CO     90004722757
7534237269154B   RUBEN           CANO                      TX     90011333726
7534239A355947   CARLOINA        GARNECA                   CA     90006763903
75342876A72B37   JASON           COUGHLIN                  CO     33019138760
75342A79A72B44   MARIA SOCORRO   HUERTA MARQUEZ            CO     90014850790
75343521A8593B   RODNEY          LEON                      KY     90004345210
7534367815B59B   AZUCENA         PETRIE                    NM     90006526781
753436A3281645   JOSEFINA        ROMAN                     KS     29071646032
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 849 of 2350


7534488398B168   ADAM         TUALA                        UT     90012828839
7534538A641237   TAI          JONES                        PA     90010533806
753455A535B384   SHASTA       KREISMAN                     OR     90005255053
7534597788B163   SHAWNA       DOMINGO                      UT     90014959778
75346249472B29   PHILLIP      WEST                         CO     33098172494
7534652A37B661   STEPHANIE    SHANKS                       GA     15014565203
7534739557B477   LUTISHIA     EVANS                        NC     90013003955
75347A12981645   MARIA        PINO-DOMINGUEZ               MO     90012320129
7534822738B168   JAVIER       LOPEZ                        UT     90010112273
75348A44481645   NEWMAN       MCFARLAND                    MO     90014240444
7534945425B384   MELISSA S    KING                         OR     44574924542
7534B22835B384   JUANA        LARA LARA                    OR     90002632283
7534B5A9981645   RUTH         SALAS                        MO     90014475099
7534B72A993739   TAMISHA      WALLACE                      OH     64583327209
75351486372B32   CHRISTOPHE   FLEISCHER                    CO     33069754863
75351643372B29   MONICA       ALCANTAR                     CO     90009806433
7535189689154B   SAULO        NINO                         TX     75015278968
75351A38955947   MARGARITA    ZEPEDA                       CA     90012330389
7535218468B168   KATY         LIRA                         UT     90012881846
75352643672B37   CELIA        BANUELOS                     CO     90007646436
75353228A72B37   LINDA        ROMERO                       CO     90011662280
75354779172B37   DENICIO      DOGUE                        CO     90014037791
753548A998B163   THOMAS       VANCE                        UT     90009998099
7535498A772B83   CONA         COMMUNICATIONS               CO     90009279807
753571AA69154B   RAUL         VIVAR                        TX     90008521006
75357215172B32   GUADALUPE    BURGOSS                      CO     33012512151
75357251472B32   ISABEL       LOPEZ                        CO     90013622514
7535787A557157   ANGELA       PORTILLO                     VA     90005678705
753585AAA72B87   NICHOLE      JAGER                        CO     90015215000
7535922127B661   BEVERLY      GRIER                        GA     90001002212
75359276172B32   JESUS        TORRES                       CO     90014052761
7535983A52B271   SANTIAGO     HERNANDEZ OTERO              DC     90004448305
7535994A281645   MIGUEL       ALTAMIRANO                   MO     90013479402
75359A93972B32   ROXANA       LOPEZ                        CO     90011430939
7535B27A872B32   MIKE         ANAYA                        CO     33088242708
7535B34857B661   BRYAN        RICHARDSON                   GA     90002453485
7536126338B157   JOSE         PALZA                        UT     90015302633
753612A2893739   KIMBERLY     TACKETT                      OH     90008942028
753615A923168B   VERROD       HARRIS                       KS     90007125092
75362281A8B157   MARI         BRACAMONTES                  UT     31052972810
7536228339376B   LAMAR        CRAVER                       OH     90013082833
7536268A641237   KENNETH      BROWNFIELD                   PA     51068856806
75362738A8B163   AMANDA       BRINKKERHOFF                 UT     31008737380
7536299238B142   SHAREE       CORDNER                      UT     90008499923
75363163572B44   MARIA        ORTIZ                        CO     90015141635
75363246172B44   LAURA        BARGAS                       CO     90013142461
7536456A255947   JOEL         GOMEZ                        CA     90012185602
753649AAA57157   ROQUE        PORTILLO                     VA     90010599000
7536523369154B   JUAN         TRUJILLO                     TX     90004192336
7536564742B994   WILLIAM      LEWIS                        CA     90015016474
7536568A57B368   DANNY        BARRALAGA                    VA     90013706805
75365A1548B845   REYMONDO     GONZALES                     HI     90013800154
7536621368B168   CASSIE       NIELSON                      UT     90006512136
7536652715B59B   ALFREDO      RAMIREZ                      NM     90006195271
7536661398B157   HAYDEN       HATHAWAY                     UT     90014646139
75366744672B44   LUIS         RAMOS                        CO     90010547446
7536893235B59B   CARRILLO     VALERIE                      NM     90010129323
75368A35433698   JENICE       WATSON                       NC     12055180354
7536961628B168   ANGEL        ERICKSON                     UT     90015206162
7536986362B994   DAVID        JONES                        CA     90011158636
7536B577572B44   DEMECRIUS    PARHAM                       CO     90010965775
7536B634155964   ELISA        BARAJAS                      CA     49004146341
7536B7A7493739   CALEB        CYPHERS                      OH     90011007074
7536B825172479   BRANDON      DEZARDO                      PA     90015098251
7536B98712B994   MARTHA       ARMAS                        CA     45081649871
7536BA21791993   ANA          VELASQUEZ                    NC     90012100217
75371556672B44   SONIA        PAYAN                        CO     90014995566
75371A64331433   MELINDA      CRUZEN                       MO     27514760643
75371A78441227   MARTIN       NOVAK                        PA     90010190784
753722AA981643   DEAN         MOULDER                      MO     90000612009
75372918172B29   OLGA         AMAYA                        CO     33095149181
75373132172B37   MARGARET     ASAMOAH                      CO     90008671321
7537327448B168   LAURA        JOHNSON                      UT     90010282744
753732A319154B   RYAN         HERRERA                      NM     90014422031
7537431253168B   TERRY        ROSS                         KS     90014783125
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 850 of 2350


7537456833168B   EDUARDO        PACHECO                    KS     22011545683
753745A6A8593B   LISA           SAWYER                     KY     90015095060
7537527226195B   CARLOS         QUEZADA                    CA     90010092722
753752A1A72B87   SARON          TEKA                       CO     90011672010
7537559729154B   ESTELLA        LUJAN                      TX     90014215972
75375A85172B32   YOLANDA        VALIENTE                   CO     33033770851
75376215272B44   MICHAEL        THOMAS                     CO     90010842152
753764A6772B44   CESAR OMAR     OCON MARTINEZ              CO     90014784067
75376512A31433   AMILCAR        AJANEL                     MO     90006665120
7537697788B163   SHAWNA         DOMINGO                    UT     90014959778
75376A8A255939   YESENIA        MORALES                    CA     90007630802
75377415A7B661   ARTHUR         BROWN                      GA     90000414150
7537748785B59B   PATRICK        GIFFORD                    NM     90013274878
75377495272B29   SHANA          PACE                       CO     90002464952
753784AAA5B55B   ANGELICA       TRUJILLO                   NM     90002964000
7537935364B27B   CRYSTAL        GONZALEZ                   NE     90013203536
7537941218B168   MORGAN         ALLEN                      UT     90012874121
7537981737B661   ANESHIA        JOHNSON                    GA     15069658173
7537B23889154B   RAUL           PENALOZA                   TX     90014412388
7537B69278B142   DIANA          WEBER                      UT     31083196927
7537B888793739   ATRICE         BROCK                      OH     90010738887
7538121665136B   MALCOLM        WILLIAMS                   OH     90009622166
7538177535B522   FRANCINE       LUCERO                     NM     90003757753
75382958472B37   FELICIA        NELSON                     CO     33010119584
7538354A555947   ROBERT         ANDERSON                   CA     49096885405
7538371494B572   ALELY          OCHOA                      OK     90010597149
7538394624B572   MIGUEL         TOVAR                      OK     90013689462
75383A25457157   EDUARD         HERNANDEZ                  VA     90013380254
7538416323168B   LINDSEY        ELLISS                     KS     22078181632
75385246272B44   RAFAEL         FIGUEROA                   CO     90013142462
7538561A772B87   ALEJANDRO      PEREZ                      CO     33014596107
7538618A68B134   JOSE           CANCINO                    UT     31041911806
753867A8271921   MICHAEL        CANNYON                    CO     90015107082
7538727178B157   SHERRY         DRAPER                     UT     90013702717
75387552272B29   TONY           NWANETO                    CO     90007205522
7538765A171921   NEVITA         FRANCIS                    CO     32091826501
75387928872B44   MANUEL         PERDOMO                    CO     33037549288
75388532472B44   SPENCER        STERLING                   CO     90011485324
7538864263B366   JASON          LAPENNA                    CO     33065786426
753887A269154B   JOE            MATA                       TX     90004887026
7538884668B134   JERI           ALLEN                      UT     90002798466
75388A51672B32   MARIE          GALLEGOS                   CO     90012520516
7538914658593B   JAMES          SHORT                      KY     90013701465
7538914A941227   REID           BROMWELL                   PA     51044821409
7538979218B168   JESUS          HERNANDEZ                  UT     31084627921
7538B336757157   ADILIO         JIMENEZ                    VA     90004683367
7538B65688B134   ERIC           HYMES                      UT     90007526568
7538B68AA5B384   JON            HENDRICKS                  OR     44576116800
7538B878A8B168   LUIS           MENDEZ                     UT     90015198780
7538B9A5A5B59B   NICHOLAS       MAXWELL                    NM     90010889050
7539172658593B   MELISSA        JOHNSON                    KY     90012597265
753917A778B157   SANDRO         DIAZ                       UT     90014927077
7539189A28B168   ELDON          TALLEY                     UT     31061678902
75391A2489154B   HERNANDEZ      MAYELA                     TX     90008750248
7539298738B134   PHILLIP        KIOA                       UT     31087949873
75393251672B37   TIFFANY        CHAVEZ                     CO     33008052516
7539333A454121   RAYMON         BOLDETT                    OR     90014283304
7539371777B477   MARIA          INIGUEZ                    NC     90014507177
7539392745B384   JOSEPH         BASS                       OR     44526569274
75393A59172421   GEORGE         FOGLE                      PA     51077800591
75394117A31433   SHARON         JENNINGS                   MO     90005841170
7539419A372B29   ERIS           ANDERSON                   CO     90012831903
7539522A672B87   JESUS MANUEL   PEREA                      CO     90005652206
7539548A372B91   JOSEFINA       MUNOZ                      CO     90010414803
753954A182B994   ARACELY        ROMO                       CA     45003424018
75395A5248B168   SANDI          BOLEY                      UT     90008160524
7539645A872B44   BETH           POLICHIO                   CO     90013924508
753973A3155947   TERI           JOHNSON                    CA     49080053031
7539784537B477   JIM            LUKE                       NC     11004828453
75397A94A9154B   MIGUEL         CASTRO                     TX     75071540940
7539833A47B477   SEDAR          MART                       NC     90008683304
753983A978B142   BILLIE         BRADLEY                    UT     90012933097
75398732A7B477   CHRISTOPHER    FREEMAN                    NC     90015197320
7539898888B157   EMERITA        SANTOS                     UT     31057279888
7539921939154B   AY VOY         TOWING                     TX     90015162193
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 851 of 2350


7539934618B142   ANTONIO             MENDIENTA             UT     90012303461
7539942417B661   CEINDY              ROBINSON              GA     15089114241
7539961AA81645   TYMISHA             WILLIAMS              MO     29044026100
7539B152872441   JOSH                MCPHERSON             PA     90006151528
7539B163872B32   JOEY                AGUILAR               CO     90010791638
7539B31657B477   JUAN                RAMIEREZ              NC     90013923165
7539B69537B661   LITA                MCMILLIAN             GA     15052306953
7539B83168B142   ANDREW              SMITH                 UT     31079068316
753B1543881645   SHANNON             STUVILLE              MO     90011295438
753B186138B168   MICHAEL             OPFAR                 UT     90011218613
753B2169172421   RANDY               STEVENS               PA     51019351691
753B2368831433   KIMBERLY            NEIL                  MO     90014363688
753B2379655947   JULIO CESAR         LOPEZ FAJARDO         CA     90015143796
753B255848B168   SIXTO               LOZOYA                UT     90010395584
753B283495B59B   STARLA              BIA                   NM     90014458349
753B3342572B44   ILARIO              FLORES-ORTIZ          CO     90013933425
753B3344241253   PATRICK             CHOMBA                PA     90010413442
753B3637A71921   TIFFANY             HENRY                 CO     32004146370
753B371A331433   BRIANA              WASHINGTON            MO     90013997103
753B37A3A5B59B   MARCOS              LEGARDA               NM     90013397030
753B392358B134   BOUNMY              BOUNTHISANE           UT     90011129235
753B3943672B37   JOSE A              MARTINEZ              CO     90011579436
753B4A6468593B   NORMA               PALACIOS              KY     66044860646
753B5137172B44   JOSE                HERNADEZ              CO     33041751371
753B5293685945   AMY                 ANTRIM                KY     67088692936
753B538942B994   ASHLEY              MARTNEZ               CA     90010943894
753B598548B142   ALICE               RAY                   UT     90001149854
753B666289154B   ARTURO              RAMIREZ               TX     90011396628
753B722688593B   KILEY               SANDERS               KY     90014152268
753B7334572B29   ISMAEL              MUNOZ                 CO     33076843345
753B7431A72441   ROY                 RODGERS               PA     90005734310
753B751158B168   DAVID               AMATA                 UT     90008975115
753B7587255939   JAIME               DEAN                  CA     90015395872
753B768837B477   JESSE               WACKER                NC     90010986883
753B819AA55939   MARIA               MATEO                 CA     90014781900
753B827892B994   BLANCA              SUAREZ                CA     45048012789
753B8481655947   JONATHAN            OSORIO                CA     90005184816
753B8497133699   TRACY               PRATT                 NC     90009074971
753B879217B661   RONALD              BASS                  GA     15003537921
753B879758B142   JESTEN              WADE                  UT     90011437975
753BB394233698   LATOYA              ELLIOTT               NC     90013933942
753BB61663168B   MICHAEL             OLIVER                KS     22046166166
753BB735A33699   PATRICIA            CARTER                NC     90004007350
753BB924641227   KIMBERLY            WINER                 PA     51087529246
75411246172B44   LAURA               BARGAS                CO     90013142461
75411397472B32   RACHEL              QUINTANA              CO     90004723974
7541144776B72B   DAVID               HARTSOCK              NY     90015614477
7541191A981633   TIFFANY             WILLIAMS              MO     29070389109
7541281438B157   MELLISSA ANN        SANDOVAL              UT     90012028143
7541471617B477   FAHEEM              SALAAM                NC     11096197161
75414981772B37   ANTHONEY            ROMERO                CO     90011579817
7541524A49154B   ENRIQUE             CHAVEZ                TX     90004192404
7541534125B59B   ADRIANNA            SAIZ                  NM     90013833412
7541598777B477   ALFRED              WRIGHTON              NC     11004759877
7541662269154B   JEN                 URBAN                 TX     75080246226
7541663518B168   NALANI              HOLT                  UT     31080936351
7541666678B134   LUIS                PEREZ                 UT     90007526667
7541696738B157   TOM                 GREENE                UT     90011339673
754176A3672B37   NELSON              EKMAN                 CO     90013246036
7541842895B385   AUBRE               WILLIAMS              OR     90011454289
7541856392B271   LAVETTA             BARNES                DC     90012115639
7541895392B271   LAVETTA             BARNES                DC     90010119539
75418A26481645   JOSE                RALES                 MO     90002610264
75418A7768B168   JUAN                TORRES-TORRES         UT     90014720776
754192A687B477   MARIA               CARBAJAL LOPEZ        NC     90014822068
75419362772B37   ANA                 BORJA                 CO     90014973627
75419619A55939   MARIAN              RODRIGUEZ             CA     90009596190
7541B23465B375   JONATHAN AND MOON   OWENS-YODTHAISONG     OR     90009912346
7541B37288B168   BOYD                DAVIS                 UT     90011123728
7541B46238B168   JONATHAN            PEARSON               UT     90011224623
7541B463472479   MEGAN               EVANS                 PA     51094024634
7541B85215B384   CARLA               NEWMAN                OR     90000498521
7541B932171921   SHAWN               TRUJILLO              CO     90012509321
7542223A39154B   MICHAEL             LLANOS                TX     90014622303
754223A9541253   BRITTANY            JACKSON               PA     90015353095
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 852 of 2350


7542274658B157   JOSE         CANSTANEDA                   UT     90006147465
75423448872B87   GLENN        KAMAMURA                     CO     90015054488
754234A8831432   TROY         SUTHERLAND                   MO     90009364088
7542357648593B   AMY          COOPER                       KY     90011175764
7542399A32B994   ENRIGUE      COVARRUBIAS                  CA     90012439903
7542446238B168   JONATHAN     PEARSON                      UT     90011224623
75424A7788B168   DALLIN       OZANCIN                      UT     90014720778
75424A83741273   FISHER       DESTINI                      PA     90005840837
75425A7567B477   CHERYL       WHITE                        NC     11053090756
7542667A18B157   TERESA       MCGRAIN                      UT     90009746701
7542668598B142   DONNA        DECISTO PENA                 UT     90002126859
75427A3A531432   ADAM         NOE                          MO     90011650305
7542889713168B   DOMINIQUE    ROSS                         KS     22026518971
75428A22472B44   TANYA        DURAN                        CO     90009120224
75429161A71921   SETH         SUTTON                       CO     32038501610
7542944A476B68   WIL          NANEZ                        CA     46016994404
754298A4833698   MELANIE      PEOPLES                      NC     90013968048
75429918772B29   MATTHEW      SUSURAS                      CO     90008229187
7542B63A68B134   JEREMY       WARDLE                       UT     90007356306
75431191372B44   ISSA         SAMAKE                       CO     90010631913
7543172473168B   ANISHA       RICHARD                      KS     90012727247
75431949572B29   THAY         PAW                          CO     90001989495
7543211998B168   CATALINA     MERINO                       UT     90014721199
75432378872B87   CORY         WILLIAMSEN                   CO     90002123788
7543313868B168   VICTOR       VILLAFAN-AGUILAR             UT     90014721386
754334A268B142   CARMA        WILLIAMS                     UT     31086224026
7543372898B163   JODY         ROWLETT                      UT     31066677289
7543387228593B   DENNY        BAILEY                       KY     90011658722
75433991A31443   CHARLOTTE    PRICE                        MO     90002659910
75433A26A72B32   DIANE        MCELVEEN                     CO     33094650260
75433A75471921   KELSI        MRUPHY                       CO     90012050754
75433A97331433   CHRISTA      SHATUSKY                     MO     27511860973
75434246172B44   LAURA        BARGAS                       CO     90013142461
75434671772B42   JOSE JUAN    MENDOZA                      CO     90001346717
75434684A31433   PAUL         DUNLAP                       MO     27532336840
75435A9828B168   LOVELY       WOOD                         UT     90011680982
7543657155B59B   JESUS        LECHUGA                      NM     90014265715
7543666A53168B   MARIO        WILLIAMS                     KS     90002856605
75436987A72B44   MIGUEL       ORTEGA                       CO     33071159870
7543751A855947   GRISELDA     RODRIGUEZ                    CA     49089585108
7543777848B163   SAMANTHA     BUCHANAN                     UT     90014867784
7543815218B157   MARIA        GARCIA                       UT     90013731521
75438574A41297   LISA         COLL                         PA     90005975740
7543964659154B   JAQUELINE    URQUIDI                      TX     90014216465
75439683A93739   SHAWNTA      LOCKLIN                      OH     90011596830
7543981858B157   STEVEN       MCGUIRE                      UT     90004898185
7543B4A7172B87   JAVIER       FLORES                       CO     33052544071
7543B533633624   TINA         DALTON                       NC     90003205336
7543B86352B638   RENAULT      BEAN                         WA     90011038635
7543BA43571921   PAMELA       SMITH                        CO     90009350435
7544115258B142   MARIA        TESCHNER                     UT     90007741525
75441251A55947   HEIDI        HERRERA                      CA     90014642510
7544147418593B   JUNETTA      WELTZER                      KY     66048914741
754419A6272479   SHIRLEY      GRAY                         PA     51002299062
7544222A581643   KEVIN        MOORE                        MO     29033462205
75442456A9154B   ROBERT       DESMA                        TX     90010024560
754425A165B326   JASON        NAIMAN                       OR     44513225016
7544338938B157   ANA          MARSENARO                    UT     90010403893
75444463398B29   DANIELLE     BIALY                        NC     90004134633
75444565A72479   PAMELA       BAXTER                       PA     51072695650
75444638272B29   VICENTE      ALFARO                       CO     33036326382
75444926A5B375   DELIA        VEGA                         OR     90008959260
75444A27A8B168   JOSE         NAJARRO                      UT     31090500270
75444A76A81645   SHARI        PEREW                        MO     90014800760
75447449672B44   MARIA        GAYTAN                       CO     33070254496
75447A6629154B   MATTHEW      NOE                          TX     90002160662
75448675A72B44   DANAE        PHIPPS                       CO     90001596750
754496A4872B37   DONNA        PETTIT                       CO     90013246048
7544978348B134   ADRIENNE     SYME                         UT     31091627834
7544B58A97B477   MUSWAMBA     MBIYA                        NC     11058345809
7544B665472421   DON          KOHLMEYER                    PA     51033046654
7545112816193B   ROMAN        TORRES                       CA     90004531281
7545166569154B   JOSE         ORTIZ                        TX     90014216656
7545224A491521   SELENE       SOLIS                        TX     90011822404
754526A6272B37   SUZANNE      PENA                         CO     90013246062
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 853 of 2350


7545283668B134   ACR           BENNETT                     UT     31081628366
75452854972B44   ISAIAS        CHAN                        CO     33022308549
7545297243168B   CHEYENNE      BROWN                       KS     90014769724
7545298368B157   AMBER         BAMBRICK                    UT     31090249836
75452A5895B59B   LETICIA       DELGADO                     NM     35050200589
75454636272B44   ANABEL        OLIVAS FLORES               CO     90010826362
7545495A172B37   SEQUOA        RENKIN                      CO     90005879501
75454A92472479   DESMOND       JONES                       PA     90014760924
75455A89793739   WES           MCCOY                       OH     90014560897
7545621A87B477   ANTOINE       JONES                       NC     90010452108
75456342572B44   ILARIO        FLORES-ORTIZ                CO     90013933425
7545717487B477   OSCAR         PEREZ                       NC     90012181748
7545732A172B87   TAMARA        LUCERO                      CO     33021343201
7545745A78B157   CINDY         PHONSAVADDY                 UT     90013444507
7545759998B157   ROBERT        REED                        UT     90005075999
75457A11351368   LATOYA        MCKENZIE                    OH     90010600113
75457A39472421   ELIZABETH     BONELLI                     PA     90009350394
75457A97461964   KATHRYN       HART                        CA     90008110974
7545853148B163   EDELCHE       REED                        UT     90012735314
7545886295B357   DANIEL        BOATRIGHT                   OR     90006908629
7545911998B168   PALOMAR       JAIME                       UT     90008741199
7545922958B136   LESLIE        CASTRILLO                   UT     90009792295
7545958195B384   MOKIHANA      SABANG                      OR     44547595819
7545B598691857   TIFFANY       OHLEY                       OK     90010535986
7545B831372B29   JANIE         BREACKENRIDGE               CO     90002878313
75461222972B32   GILBERT       GORDON                      CO     33001422229
754615A9A93739   JASON         MCKELVEY                    OH     64512265090
75461979572B37   SUZANNE       OATES                       CO     33046189795
7546211538B142   JOE           COMPTON                     UT     90013641153
7546219A372441   SHAUNA        MARBURGER                   PA     51016031903
7546286935B59B   JIMMY         MOLINA                      NM     90010038693
75462894972B44   MICHAEL       LASKO                       CO     33031128949
7546291839154B   PERLA         MARTINEZ                    TX     75085539183
75463442A55947   ANGEL         HERNANDEZ                   CA     90015234420
7546368A47B661   LARESE        HUGLEY                      GA     15023166804
75463AA569154B   LUPE          CARDENAS                    TX     90003720056
7546422A872B37   JOSE          DELGADE VEGA                CO     33064712208
7546495785B59B   CHARLES       ZAMORA                      NM     90011469578
7546523135B384   RENAN         YAH-MES                     OR     44567252313
7546525958B168   TOBBY         BAILEY                      UT     90005212595
75465474872B37   AVILIO NOEL   SALAZAR MARTINEZ            CO     90012874748
7546656A757157   VIRGINIA      SALMERON                    VA     90002205607
75466A61872B87   JOSE          CORTEZ                      CO     33017120618
7546752358B157   ASHLEE        RACE                        UT     31049775235
7546758A541227   FRANCES       DOMINGUEZ                   PA     90001615805
7546886495B59B   JOHNNY        AMEZCUA                     NM     90010068649
7546B265972B44   DARYL         HOWARD JR                   CO     90013142659
7546B58985B59B   SAUL          DOMINGUEZ                   NM     90013485898
7546B631571921   MIKE          WOODEN                      CO     90014146315
754712A5976B49   EULALIA       SANTACRUZ                   CA     90002492059
75471362572B37   SANDRA        RAMIREZ                     CO     90009713625
7547251A193739   DAVION        DAVIES                      OH     90009525101
75472589272B29   MICHELLE      DENNISON                    CO     33047335892
7547273258B168   BARBARA       SHIELDS                     UT     90001077325
7547281828B168   HOLLY         APOSHIAN                    UT     90006968182
75473355672B87   CRISTINA      VIDALES                     CO     33077613556
7547342327B477   SHEREE        STEELE                      NC     90012864232
7547376A48593B   SHELLEY       LIPSCOMB                    KY     90013927604
75474756872B44   CHRIS         BAILEY                      CO     33056337568
75474A4A472B37   KIMBERLY      GONZALEZ                    CO     90011720404
7547533618B168   SCOTTIE       QUINTANA                    UT     31070703361
7547544458593B   WILLIAM       SALLEE                      KY     90005574445
7547618598593B   JERRY         HOPPER                      KY     66017661859
7547628A355947   VANESSA       SANCHEZ                     CA     49014602803
75476898A93739   ANTWANN       OVERSTREET                  OH     90009188980
7547751A631433   KIMEISHA      BROWN                       MO     90012155106
7547866957B477   MARTHA        ROSALES                     NC     90014086695
7547938495B241   LARRY         WILLIAMS                    KY     68088903849
7547B337381643   VANESSA       THOMAS                      MO     90008383373
7547B36122B281   HILDA         FUENTES                     DC     90012633612
7547B512581633   CYNTHIA       BRIGGS                      KS     29007915125
7547B685972B37   JORGE         FARIAS                      CO     90005426859
75481373572B44   TAMAYO MAR    MARIA                       CO     33063683735
75481495A33626   FERMIN        GALLEGOS                    NC     90015594950
75481733A72B29   SHANTELE      ANDERSON                    CO     90013467330
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 854 of 2350


75482241A8B168   GLADYS       PICKETT                      UT     90006202410
7548286457B477   TRAY         CRAWFORD                     NC     90008518645
75483215672B32   NATHAN       LOPEZ                        CO     90014232156
75483469372B37   JENNIE       BETANCOURT                   CO     33041634693
754836A478B168   ISABEL       NARCISO                      UT     31094256047
75483A65655939   CRECENCIO    ZAPOTECO                     CA     90013730656
75484A35855964   MARIO        CABRERA                      CA     90009030358
7548566328593B   ELIJAH       GAY                          KY     90012766632
7548655668B134   PAYGO        IVR ACTIVATION               UT     90011795566
7548675118B168   MARIA        LOPEZ                        UT     31054397511
75488593772B44   CRYSTAL      RUTZ                         CO     90013175937
75488A7449154B   ELIAS        AGUIRRE                      TX     90015150744
7548917A931433   JASON        HUGHES                       MO     27506981709
754896A2881643   CHRISTYN     DYE                          MO     90009836028
7548993399154B   IRMA         ARANDA                       TX     90011069339
75489965472B29   GABRIEL      GONZALEZ                     CO     33060529654
7548B134472421   LISA         NELMS                        PA     90006271344
7548B196455966   CINDY        WHITLOCK                     CA     48047221964
7548B4A3131443   ESSIE        REED                         IL     90003264031
7548BA75572B37   JESUS        TONCHE                       CO     90012780755
7549145918593B   STEPHEN      GRIFFITH                     KY     90013004591
7549149893B423   SAMUEL       NUNEZ                        WV     90015494989
7549183715B59B   ANNALENA     NEIDERMAN                    NM     90014868371
75491855672B44   KAYE         WELL-WARE                    CO     90012888556
75492296272B87   OLGA         SANCHEZ                      CO     33013092962
75492356986B85   PAMELA       WESTON                       CT     90014623569
7549259A93168B   TAMMY        DUCOING                      KS     90014665909
75492662A31433   WILLIAM      PIERCE                       MO     90007666620
75492886172B29   ARRON        GODEAUX                      CO     33097008861
7549297997B477   KELLY        LENNON                       NC     90011069799
75493817672B29   BRUCE        FLOOD                        CO     90013528176
75493A2A981633   WILLIAM      WOODRUFF                     MO     29001720209
75493A8A772B87   NESTOR       GARCIA                       CO     90004510807
7549469528B168   KYLER        HONE                         UT     90006046952
7549494A661981   CHERYL       STEWART                      CA     90010319406
754952A6A71921   JOSE         VALDEZ                       CO     90013482060
754953A369154B   GERARDO      LUJAN                        TX     90014243036
75496167A72B32   SANTIAGO     CARRILLO                     CO     33067181670
75496367A72479   ANNA         TIERCE                       PA     90010933670
7549662438B168   BURKLEY      LANCE                        UT     90011226243
75496662A31433   WILLIAM      PIERCE                       MO     90007666620
7549669A855947   ADELINA      FRUTOZ                       CA     49066846908
75497859A72B44   FERNANDO     MONTES                       CO     90006318590
754978A338B142   CARLOS       CARINI                       UT     31090838033
754983A8893739   CHERIE       BUCHANON                     OH     90014303088
75498474A8B142   CARY         KAEDING                      UT     31092734740
7549916A58B168   RYAN         SIRE                         UT     90014791605
7549974A741237   DANNY        WILLIAM                      PA     51003157407
7549B17282B994   DANA         FOX                          CA     90011951728
7549B658172B29   JUAN         GONZALEZ                     CO     90004896581
7549BA9769154B   GUADALUPE    MORENO                       TX     90013640976
754B184A155939   JORGE        SAMANIEGO                    CA     90013858401
754B1A27172441   JOEL         RODGERS                      PA     51016960271
754B1A41941237   TANNER       SHAWL                        PA     90014430419
754B2481972B44   JAZMIN       CAMARENA                     CO     33091584819
754B255145B183   SHARNETTRA   JENKINS                      AR     90015075514
754B261969154B   RAFAEL       RUIZ                         TX     90014216196
754B26A2872B87   CAROLYN      DRAPELA                      CO     90006236028
754B315AA5B571   TALMADGE     COFFEY                       NM     35012831500
754B329168B134   CARL         LLOYD                        UT     31043272916
754B3791A57157   FARAHDOKHT   GHOFRANI                     VA     90014477910
754B381968B168   AMANDA       ELLIOTT                      UT     90011698196
754B3876155947   ANTHONY      MONTANO                      CA     49016058761
754B4534655966   JOHN         MENCHACA                     CA     90005525346
754B459998B163   CLAUDIA      SANCHEZ                      UT     31000825999
754B4691655939   LORRANIE     RIVERA                       CA     90003086916
754B537288B168   BOYD         DAVIS                        UT     90011123728
754B5386141253   JAMIE        GIFFIN                       PA     51089423861
754B57AA372B37   GERARDO      REYES                        CO     33076567003
754B5883531432   GORDON       ARNOLD                       MO     27540788835
754B6175A8B157   KEN          HUSBANDS                     UT     90002341750
754B683817B661   ETHEL        HAYES                        GA     90004448381
754B767A871921   LISA         HOLMAN                       CO     90014086708
754B785188B142   PAHL         BENCH                        UT     31000928518
754B8438572B37   SHERRI       FISCHER                      CO     90013024385
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 855 of 2350


754B8455541227   NICKOLE       FORD                        PA     51007034555
754B9597A2B248   ANTOINETTE    JOHNSON                     DC     81095155970
754BB127871921   ANGEL         VALLES                      CO     32047151278
754BB4A668B142   JENNY         BRAILSFORD                  UT     31097794066
7551138A59154B   VICTORIA      NWOBIKE                     TX     90009523805
755114A2357474   PAYGO         IVR ACTIVATION              IN     90008244023
7551229189154B   ROCIO         GONZALEZ                    TX     75056152918
75512733A8B157   KAMI          ROMRELL                     UT     31029777330
75512A3AA72479   GENE          KASPER                      PA     90010610300
75513331872B44   EARL          THOMAS                      CO     90004213318
75513391172B37   DEREK         MCCOY                       CO     90011663911
75513A99872B32   EMILIANO      ZAPATA                      CO     90012520998
75514833A5B384   CEDRIC        BURTON                      OR     44587178330
7551497938B163   JOSE          VARGAS                      UT     90002209793
755152AAA85945   CARLA         MITCHELL                    KY     67019232000
75515366A33698   MARY ANN      RICHMOND                    NC     90008553660
7551548315B59B   MARY          CHAVEZ                      NM     35034564831
7551553196198B   MICHELE       M STRESS                    CA     90003415319
75515564472B29   FRANCISCO     LOZANO                      CO     90012205644
755169A392B994   LIZETTE       TORRES                      CA     90000979039
7551733A95B59B   DREW          BENAVIDEZ                   NM     35091453309
7551766958593B   TAMRA         GOINS                       KY     90013166695
75517A69655939   JAMIE         BETHEL                      CA     48091630696
7551823565B169   EVELYN        MOORE                       AR     23009122356
7551823918B168   TIM           DROWN                       UT     31046202391
75518476A31433   SHANELL       DAY                         MO     90013774760
75518967A5B541   NICHOLAS      AMIRANTE                    NM     90008639670
75518A43893739   AMBER         STAMPER                     OH     90013680438
7551911418593B   JOHN          HOLT                        KY     90007161141
75519534172B87   EZEQUIEL      CHE                         CO     33096455341
7552131AA81633   TERRI         WALLACE                     MO     29024123100
755214A7A51326   DAVID         GIBBS                       OH     90011684070
75521757A4B539   JUSTINA       CARBAJAL                    OK     90010047570
75521A38172B37   LETICIA       VALADEZ                     CO     90011580381
7552229868B168   AUSTIN        JOHNSON                     UT     31006002986
7552351A733699   KATOSHIA      GREEN                       NC     12011005107
755236A4431443   FELICIA       RICHARDSON                  MO     27509456044
7552378278B142   JULIETA       SALAS                       UT     90014347827
7552399A65B384   JALDI         ZEYINEA                     OR     44576119906
75523A38871921   MANUEL        RAMOS                       CO     32005460388
755249A4472B44   CLAUDIA       RAMIREZ                     CO     33006559044
7552569187B386   ELLEN         MORGENSTERN                 VA     90001456918
755257A4372479   AMY           MIKITA                      PA     90014817043
75525A67A7B428   EDGARDO       POLO                        NC     90000460670
7552624A68593B   SUMMER        STEELMAN                    KY     90014152406
75526AA4285945   MARIA         CARBAJAL                    KY     90007480042
75527827772B29   JAMES         CHAVEZ                      CO     90011378277
755279A498B163   DAVID         BROWN                       UT     90014449049
7552815458B142   CURTIS        HEAPS                       UT     90004761545
75529595672B29   MYRON         GALBREATH                   CO     90012625956
75529A82A31432   SHA           DIYALI                      MO     90010700820
7552B1A377B477   CARLEIA       OWENS                       NC     11096751037
7552B439663666   CHRISTOPHER   WHEAT                       MO     90007484396
7552B5A6981633   JANLISA       MAGRUDER                    MO     90000765069
7552B99193B358   DONNA         KEENE                       CO     90006889919
7552BA4425B59B   MARVIN        MARTINEZ                    NM     90006080442
75531428A2B994   TONY          AVINA                       CA     90014444280
75531829372B44   CORY          JOHNSON                     CO     90013158293
75531A18172B37   ALMA          GARCIA                      CO     33086940181
7553223A941237   SUSAN         POLLICK                     PA     51069872309
7553254315B59B   LISA          MARTINEZ                    NM     35043095431
75532673272B29   CLEOTILDE     HERRERA                     CO     90009316732
75533582472B87   FLORES        HERNANDEZ                   CO     90004945824
7553366498B157   JOHN          ERICSON                     UT     90006356649
75533A84572479   SHANNON       LEMLEY                      PA     51056180845
75534664672B87   OSCAR         SOTO GARCIA                 CO     90009776646
7553483932B994   AMANDA        ELAM                        CA     90008158393
75534A69172B29   AMBER         SAGE                        CO     90015100691
75534A87242537   KIT           BROWN                       WA     90015440872
7553534215B53B   CHRISTIAN     GAUCIN                      NM     90001143421
755353A5181633   MICHAEL       MACIAS                      KS     29000943051
75535465272B87   EDITH         RAMIREZ                     CO     90015054652
755356A6572B37   HECTOR        DELUNA                      CO     90013246065
7553667A98B157   NOE           LOPEZ                       UT     90013226709
755367A833168B   JANE          BURRIS                      KS     22087217083
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 856 of 2350


75537197A31433   RAMON           SANCHEZ-MORALES           MO     90015261970
7553729845B59B   BARBARA         LEZA                      NM     35063092984
7553777119154B   GARCIA          RRUBEN                    TX     75088507711
7553883899154B   PATRICK         SILVIA                    TX     90000768389
75538873972B29   NICOLE          SMITH                     CO     33090458739
7553924AA9154B   MYRNA           MUNOZ                     TX     90004192400
75539395272B83   NOAH            HARRISON                  CO     90011263952
7553B113385945   RAUL            GARCIA                    KY     90012091133
7553B12738B134   LEESA           KRATZER                   UT     90013981273
7553B161431433   SABRINA         KNUDSEN                   MO     90012011614
7553B6A3271921   MIREYA          MARTINEZ                  CO     32071236032
75541164572B44   SALVADOR        RAMIREZ PEREZ             CO     33009821645
75542334A8B168   CHAD            SETTLE                    UT     90007063340
755426A375B59B   SARA            FLORES                    NM     90011206037
7554297868B163   MARIANE         NTAWURUSIGINYUMA          UT     31061049786
7554328A955939   JESUS           SALGADO                   CA     48098712809
75543A39A61998   WILLIAM         MORAN                     CA     46095800390
755441A618B134   LUIS            ESPINOZA                  UT     31071591061
75544425372B29   NICOLE          GETZ                      CO     90011224253
7554448A372B87   MONICA          MUNOZ                     CO     90005174803
7554473388B163   PATRICIA        MEIRA                     UT     90013927338
7554525722B361   LISBETH         GILSOTO                   CT     90013962572
7554525A631433   FALETHIA        HAWTHORNE                 MO     90014452506
7554568A79154B   JOHN            SANDOVAL                  TX     90012176807
7554597A572B44   NOE             ORELLANA                  CO     90014589705
7554659A272B44   MICHAEL         PENA                      CO     90013295902
75546868376B91   LEAH            GRACE                     CA     90014818683
75546916A72479   SHERRY          GILLOCK                   PA     90014819160
75546AA7A5B59B   GWEN            FIELDS                    NM     35089190070
7554748A755947   LUPE            VIDAL                     CA     90002734807
75548356A9154B   NANCY           ALVARADO                  TX     90007043560
7554897A57B477   PRISCILA        MUNOZ                     NC     90014499705
75549298172B44   IRENE           ROMERO                    CO     90013142981
755492A4472479   MICHELLE        ROWE                      PA     90015012044
7554961838593B   MELINDA         WIGGINS-BREED             KY     90013596183
7554978AA8B157   MARIA           MENES                     UT     90014607800
7554B19A672B29   VICTORIO        GONZALES                  CO     90006591906
7554B54718B168   JORGE           CALVILLO                  UT     90014735471
7555114A585945   ENRIQUE         ORTEGA                    KY     67059271405
7555131948593B   RICHMOND        EDWARDS                   KY     90000233194
75551486472B44   DANIEL          JONES                     CO     90008454864
7555176297B661   JAMES           WHITE                     GA     90000857629
755518A3672B29   CHERI           HALL                      CO     90010168036
75551A34633698   HANNIBAL        WILLIAMS                  NC     90014360346
75552A9598B163   ELISHA          VILLAGRANA                UT     90012940959
75552AA138B163   LISA            BENNETT                   UT     31072070013
75553286472B29   LUZ VARGAS      XAVIER CASILLAS           CO     90014822864
7555499998B168   KRISTEN         JENSEN                    UT     31076359999
7555499A172B29   CHARLES         WHITE                     CO     33083069901
7555537158B168   GRACE           BERNARDEZ                 UT     90010173715
75556359A8B163   SHARON          PRESTON                   UT     31007983590
755563A2572B44   AHMZO           RAHMAN                    CO     90013143025
75556A16891549   LORRAINE        MONTIEL                   TX     90004270168
755573A8A81645   ALISON          WHITE                     MO     90011133080
75558477272B37   SARAH           SIDERS                    CO     90012874772
75558532A55947   RUFINO FLORES   CRUZ                      CA     90006185320
75559529272B87   LUCINA          VALENZUELA                CO     33063615292
7555B19917B483   COURTNEY        LIDDIC                    NC     90005231991
7555B266572B87   BRITTNEY        PIERCE                    CO     90011672665
7555B2AA661958   ARIADNA         TORREBLANCA               CA     90011922006
7555B681255939   MARIA           ESPINOZA                  CA     90010606812
7555B781671921   MARQUITIS       CROSS                     CO     90012057816
7556164178B168   ADOLFO          MADRIGAL                  UT     90014736417
75561A53572B37   NICK            HEARTMAN                  CO     90011580535
75562A4655B384   FIDEL           CIFUENTES                 OR     44513570465
755632A572B242   DONNA           PATRICK                   DC     90004132057
7556338998B157   MARTIN          FRANCO                    UT     90012903899
7556374398593B   SCOTT           BEACH                     KY     90014767439
75563A61631443   KEVIN           TATE                      MO     90010390616
7556412782B994   BENSON          ANDREWS                   CA     90013561278
7556481A293736   DONALD          TERRILL                   OH     90001048102
75564A49661597   TOM             LINDSTROM                 TN     90015380496
75565222A51349   EVELYN          BEASLEY                   OH     90013582220
75565764172B37   DAWN            MILAN                     CO     90007047641
7556621667B661   TYWAUN          MCLEAN                    GA     15046332166
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 857 of 2350


75566253A33699   CHERRYL         GILLIAM                   NC     12075492530
7556637A231433   JESSICA         WINZE                     MO     90014803702
75566753A72B29   REBECA          VARGAS                    CO     33047347530
7556721675593B   JULIO           ALVARADO                  CA     90009422167
7556818818B142   LOMAX           JOLENE                    UT     90011111881
75569A43772B44   MEDRANO         VERONICA                  CO     33016360437
75569A9AA72B29   HERSHAL         JOHNSON                   CO     90004040900
7556B326885945   GEAN            STANSELL                  KY     67069443268
7556B772272B37   RICKIE          SHARP                     CO     90011417722
7556BA4598B168   CHAD            SHIRMER                   UT     90012690459
7557126478B168   DAVID           WALKER                    UT     31085932647
755713A7272B44   SHAWNA          MYERLY                    CO     90013143072
7557182157B477   JULIUS          GOMILLION                 NC     90014358215
7557196413B382   BRENT           EDWARDS                   CO     33054809641
7557219A681645   KAREN           SCHLOSSER                 MO     90013531906
75572281A8B163   TALLE           JUHLIN                    UT     31084412810
7557257283B358   PAUL            LIVENGOOD                 CO     33098395728
75572639A8B157   SOCORRO         SUASTE                    UT     31061896390
755732A1333698   MARY            TURNER-PETERS             NC     90011922013
7557346115B384   ERIKA           CONTRERAS                 OR     44578964611
7557417AA36123   LAURA           MESA                      TX     90011111700
7557419518B168   ADENIO          DE DEUS                   UT     90014391951
75574277772B37   MARIA           BUTTER                    CO     90012952777
755743A127738B   MIGUEL          CASTANEDA                 IL     90010623012
75574973A81643   MICHAEL         VANDERPOOL                MO     90009669730
75574AA7631432   LAVAR           GARNER                    MO     90010970076
7557518614B553   CESAR           CEBELLO                   OK     90010831861
7557595927B477   JACINTO         ESPINOZA                  NC     90013459592
7557656925B384   ADANECH         TSEHAYE                   OR     90012815692
7557662743168B   DAWN            KOERNER                   KS     90015166274
75576A62A72B29   ROCHELLE A      GALLEGOS                  CO     33057840620
75577857672B32   VANESSA         LOPEZ                     CO     33087378576
75577A79A72B44   MARIA SOCORRO   HUERTA MARQUEZ            CO     90014850790
75577A81172B29   MANUELA         CONTRERAS                 CO     33059450811
75578131A93739   MICHELLE        WINSTON                   OH     64507341310
7557862178B134   PAULETTTE       HANSEN                    UT     31083836217
7557887A472B44   DAVID           ADAMS                     CO     90015168704
75579297672B44   OLGA            PORTILLO                  CO     33097292976
7557942299373B   MALISSA         NEAL                      OH     90001524229
755799A1172479   DENISE          POOLE                     PA     90003879011
7557B126155939   LETTY           ARCIGA                    CA     90011161261
7557B49A272B29   DARBY           DIGIACOMO                 CO     33096944902
755813A3357157   DILMA           JOSEFINA ANDREZ           VA     81088073033
75581616A55939   PETE            MARTINEZ                  CA     48027936160
7558194978B163   VERONICA        RODRIGUEZ                 UT     90015099497
7558234568B163   NICK            GOSDIS                    UT     31032353456
7558267539154B   ANGIE           SANCHEZ                   TX     90012596753
7558277A781645   ANDREW          COLLIER                   MO     90013347707
7558357988599B   LATASHA         OSBORNE                   KY     90002865798
7558554248B142   CLAUDIA         GOSAIN                    UT     31084005424
75585A1AA85945   NORMA           BONILLA                   KY     90006890100
7558659337B661   ANNIE           JOHNSON                   GA     15051555933
75586A7869154B   JOSE            GONZALEZ                  TX     90011580786
7558734125B59B   ADRIANNA        SAIZ                      NM     90013833412
755887A4141253   WILLIAM         WYLIE                     PA     51094987041
7558884529154B   ANTONIO         MONTOYA                   TX     90010438452
75589774A41253   REGINA          OWEN                      PA     51058847740
7558985355B59B   LLUVIA          CASTILLO                  NM     90014238535
7558B557555939   VIVIANA         SOTO                      CA     90014565575
7558B87AA8B134   PAMELA          RAMSEY                    UT     90013768700
7558B954385945   ELIJAH          HARKLESS                  KY     90006889543
7558B982293767   GWENDOLYN       RISDEN                    OH     90009059822
75591115872B44   MAYRA           BUSTAMANTE                CO     90006751158
75591263A55947   ROSEANA         VILLALVAZO                CA     90010892630
75591481472B37   ALLISON         WENHOLZ                   CO     90006054814
75591631A71921   ERIC            MONDELLO                  CO     90005196310
7559232A572B44   ARMONDO         CAMPAS                    CO     90013143205
7559234373168B   ANDREA          BALLARD                   KS     90013933437
7559368952B271   SHARYN          BLACK                     DC     81001136895
755937A6181645   TERRI           OHRAZDA                   MO     90008387061
7559395178B163   AARON           WALLACK                   UT     90014339517
75593A6A871921   SCOTT           COLLETTTE                 CO     90014770608
75595133972B29   LAUREN          BERRY                     CO     90011511339
7559564522B271   MIGUEL          LOPEZ MEJIA               DC     81002036452
7559621A672479   WILLIAM         WELLINGTON                PA     51091602106
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 858 of 2350


75597166972B44   JENNI        MARTINEZ                     CO     90015141669
7559768168B168   SERGIO       VALENCIA                     UT     90008516816
7559776359154B   ALBERTO      SAUCEDO                      TX     90010397635
75597A11533698   OUSSEYNOU    DIENG                        NC     90014570115
755982A785B59B   AMBER        SANTINI                      NM     90012232078
755983A5272441   ERIC         YOPE                         PA     51007913052
7559849818B157   NATALY       VASQUEZ                      UT     90013664981
755988A528B163   SHERYL       CATES                        UT     31003318052
75598A5368B134   MARIA        BENITEZ                      UT     90012070536
75599179A7B661   AQUELLAH     MCKINNEY                     GA     15083811790
75599185472B32   DAVID        CERCEDA                      CO     33047881854
75599221627B98   JALICA       QUARLES                      KY     90009532216
7559943118B168   BRYCE        SELEEY                       UT     31069344311
7559B29718B168   HECTOR       BELTRAN                      UT     31014842971
7559B73398B157   TAMI         KOEPNICK                     UT     90007607339
755B1352157157   YANIRA       MONICO                       VA     81093303521
755B138198593B   JOSHUA       POTTER                       KY     90012463819
755B145683168B   JAVONNA      SMILEY                       KS     22011864568
755B2285A8B163   ADAM         SMITH                        UT     90003352850
755B236468B134   GUADALUPE    VILLALOBO                    UT     90003553646
755B236678B163   ADAM         SMITH                        UT     90015333667
755B249748B157   ROSA         ROSALES                      UT     90011384974
755B2941331433   RASHON L     GRANT                        MO     90015059413
755B323654B291   MICHELLE     PALERMO-HARRIS               NE     27021692365
755B3572472B44   NICHOLAS     PENNINGTON                   CO     90014945724
755B395365B384   HECTOR       VILLANUEVA                   OR     90006719536
755B39A392B994   LIZETTE      TORRES                       CA     90000979039
755B424933168B   AMANDA       COMBS                        KS     90000822493
755B4281572B44   SELEMANI     FERUZI                       CO     90013142815
755B4383A72B29   ANABEL       HERNANDEZ                    CO     90012913830
755B4832493739   KAYLEB       KEARNEY                      OH     90010908324
755B4A7A68B134   MARIA        MORADO                       UT     90015140706
755B548439154B   ALBERTA      TERRAZAS                     TX     90007114843
755B59AA572B32   JUANA        SALAZAR                      CO     90008199005
755B6367381633   DELICIA      SHANAE                       MO     90006093673
755B643A62B994   ELMO         ALTMIRANO                    CA     90010424306
755B655268593B   JOHN         SALIERNO                     KY     66086285526
755B6A12A5B59B   JUDY         GONZALES                     NM     90009620120
755B6A36572B32   JOSE         SANCHEZ                      CO     33031660365
755B734568B157   NICK         GOSDIS                       UT     31032353456
755B7423893767   CARLA        PORTER                       OH     64514084238
755B7545741253   CODY         PERRINE                      PA     90001985457
755B763398B142   PAYGO        IVR ACTIVATION               UT     90012696339
755B81A1A71921   SCOTT        BURCHETT                     CO     32041421010
755B833189154B   ANAHI        GONZALEZ                     TX     90013113318
755B845195B59B   RONETTE      MEYER                        NM     35089114519
755B848A497122   JEANEEN      MONTGOMERY                   OR     44507614804
755B877648593B   MALLORY      PERRY                        KY     90015147764
755B918AA91924   GILLIAN      SINGLETON                    NC     90012261800
755B9786472B32   COLLIN       DUNN                         CO     90014997864
755B97A319154B   REYES        URBINA                       TX     90014217031
755B9A2A355947   APRIL        BAILEY                       CA     90010970203
755B9A62A31433   ANTHONY      RANDLE                       MO     27579060620
755B9A64772B44   SHANNON      SMITH                        CO     33069640647
755BB11A98B157   MATTHEW      STONE                        UT     90013641109
755BB249572B37   TANEWA       ASTORGA                      CO     90009502495
755BB34752B994   GLORIA       HERNANDEZ                    CA     45056663475
755BB49818B157   MATTHEW      STONE                        UT     90014154981
755BB893A72479   JESSE        CASSIDY                      PA     90012128930
75611A6A871921   SCOTT        COLLETTTE                    CO     90014770608
7561254718B845   ANDRES       YACAP                        HI     90014745471
7561276297B661   JAMES        WHITE                        GA     90000857629
7561292414B221   JAMES        BOELTS                       NE     90005699241
75612936972B37   AUGUIATINE   MARTINEZ                     CO     90014579369
7561331A472421   PRESTON      ROBINSON                     PA     90013213104
7561378893B391   SHERRY       MOORE                        CO     33086327889
75614329A85945   ALEX         ALVAREZ                      KY     67093903290
7561434898593B   AMBER        TURNER                       KY     90009843489
7561546598B168   EMILEE       HIATT                        UT     90013324659
75615695172B87   ADELINA      HERNANDEZ                    CO     90015556951
7561642685B59B   ROSA         POBLETE-ALVARADO             NM     90009914268
75616A73181645   ERICA        JONES                        MO     29030660731
7561772195B59B   JENEE        CASTILLO                     NM     90001267219
75617847A81633   CALLIE       SINGELL                      MO     90000878470
7561834945B386   ELIZABETH    THOMAS                       OR     90007883494
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 859 of 2350


75618652672B32   JEFF         SELSAM                       CO     90001286526
756193A2284326   TYRONE       WILLIAMS                     SC     90011463022
7561B77A58B163   SHOSHAUNA    BIBLE                        UT     90006817705
7561B893755966   ADRIANNA     ALVARADO                     CA     48079608937
7562186845B59B   REBECCA      JOHNSON                      NM     90004328684
75622A52931432   KRIS         KREMMER                      MO     90010850529
7562422447B477   REBECCA      STRONG                       NC     90013182244
7562426965B59B   TROY         GRIMES                       NM     35088902696
7562438632B225   ALONZA       EVANS                        DC     90004703863
7562456618B157   ALBERTO      PEREZ                        UT     31091405661
756245A118B168   JAN          HARDING                      UT     31027095011
7562461214B291   RAYMOND      GOURLEY                      NE     90006306121
7562483299154B   DIANA        MARTINEZ                     TX     90013238329
7562522228B163   ASHA         BUN                          UT     90000542222
7562529218593B   KATHLEEN     LAWLESS                      KY     90013052921
7562538212B994   MATHEW       VENEGAS                      CA     90001613821
7562564A972B37   VICTOR       VARGAS                       CO     33006826409
7562621642B271   ROSLYN       FAUNTLEROY                   DC     90012312164
7562622668B163   RICHARD      CONNER                       UT     31083802266
75626263872B44   JOE          TOBAR                        CO     90013752638
75626466572B87   MARTHA       GOMEZ                        CO     90001114665
75626A9558B168   PORFIRIO     GONZAZLEZ                    UT     90011960955
7562755A52B271   MICHAEL      HOSTON                       DC     81086945505
756277A8881633   DAJUAN       CASON                        MO     29034387088
75627A73972B87   ROGELIO      VEGA                         CO     90010840739
7562836619154B   WILLIAM      ZAMBRANO                     TX     75095173661
75629193772B32   TIM          JENKINS                      CO     90010791937
7562931AA81645   RACHEL       BRUNING                      MO     90013213100
75629376A5B59B   SANTANA      NEW                          NM     90014563760
7562B31128B168   JAIME        RUIZ                         UT     90010283112
7562B869781645   TARA         CASADY                       MO     90009548697
7562B915571921   MONICA       MARANVILLE                   CO     32089419155
7562BA37572B37   LOUNIECE     SANFILIPPO                   CO     90004180375
7563141795B59B   PATRICK      SILVA                        NM     35096954179
7563164199154B   MEDRA        FAUDOA                       TX     90014276419
75631678A4B949   CHARLES      LYONS                        TX     71072516780
756326A6472B27   SHONNNELL    MUHAMMAD                     CO     33093646064
7563275538B168   LORETTA      CLARK                        UT     90010067553
75632796A33699   STEVEN       HENTZ                        NC     12020857960
7563341198B142   SERGE        KATWALUBALA                  UT     90013854119
7563382228593B   VIRGINIA     SCHWAB                       KY     66037268222
7563384578B163   JAMES        HUA                          UT     90013008457
75633A56A55947   ALEA         FLORES                       CA     90015380560
7563433715B59B   BEATRIS      MEDINA LOPEZ                 NM     35034673371
75634764172B37   OMAR         GARCIA                       CO     33046547641
75634A52931432   KRIS         KREMMER                      MO     90010850529
75635164A72441   PAUL         MILLER                       PA     51033711640
7563571157B483   SHEILA       GUERRIER                     NC     11009817115
756373A812B994   JUAN         TORRES                       CA     90014473081
75638A43431432   VIRGIL       MURPHY                       MO     27566490434
7563946A48B168   BRANDON      HARRIS                       UT     90002324604
7563994412B271   ANSUMANA     SONGOWA                      DC     81001169441
75639A23491827   STACIE       HIRSCH                       OK     90009240234
7563B249172479   KRISTOPHER   MILLER                       PA     51065992491
7563B85A972B44   STACIE       BARLOW                       CO     90013188509
7563B97742B994   GABBY        PIZANO                       CA     90007689774
7563BA7A972B87   SUSAN        WHITE                        CO     33040760709
7564135AA31433   DEREK        BROWN                        MO     27576733500
7564242128B134   ROLANDO      CALDERON                     UT     31092264212
75642993872B37   R.J.         VALDEZ                       CO     33065749938
75643473A72B37   MARGARITA    MARQUEZ                      CO     33035994730
756436A9685945   RALPH        THOMPSON JR.                 KY     67086546096
75643AAA133624   MATTHEW      AYERS                        NC     90012540001
7564421A433698   CAROLYN      MATTHEWS                     NC     90014482104
7564428615B537   ANGELICA     HERRERA                      NM     90009162861
75644962372B44   MONICA       FORD                         CO     33054679623
756449A4381633   ZO           CABRON                       MO     90011119043
7564535568593B   ERIK         SHERRILL                     KY     90013633556
75645528272B87   BENJAMIN     GARCIA                       CO     90015215282
7564573498B157   SUSAN        CHRISTENSEN                  UT     31040077349
756461A7471921   CHRISTINA    MCCONNELL                    CO     90013411074
75646331272B44   KIMBERLY     CISNEROS                     CO     90013143312
7564732279154B   JORGE        LUJAN                        TX     75041513227
7564767767B658   JUDY         JOHNSON                      GA     90006036776
75647851A8B142   RON          SEXTON                       UT     90002298510
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 860 of 2350


75648615A93739   KRIS         STARGELL                     OH     90014796150
7564923515B59B   ROBERT       GUITERREZ                    NM     90010902351
7564B362685945   SHANTA       RUDD                         KY     67077473626
7564B795472B44   PEDRO        BAUTISTA                     CO     33082377954
7564BA43431432   VIRGIL       MURPHY                       MO     27566490434
7564BA45342382   CHAD         GILLEY                       GA     90002310453
75651692A71921   JESSICA      CUEVAS                       CO     90007706920
7565225117B455   JOSE         AGUILA                       NC     90001692511
756523A4472B37   MIKE         LOPEZ                        CO     90010733044
7565256928B163   THOMAS       PRIEST                       UT     90008835692
75652797A55947   KATIE        0BRIEN                       CA     90009587970
756528AA493739   FREDDIE      FIELDS                       OH     90014308004
75652A6488B134   SHANE        PATRICK                      UT     90012210648
756535A2272B87   SHANNON      LOPEZ                        CO     90011445022
75653695872B37   JUAN         GUZMAN                       CO     90013416958
75653A1317737B   JOSEPH       PALCSYNSKI                   IL     90009610131
756547A1131432   REGINA       WILLIAMS                     MO     90007327011
7565543548B134   TROY         BAKER                        UT     90011864354
7565581829184B   RICHARD      WILLIAMS                     OK     90013918182
75656155472B87   VIDAURRI     KRISTIE                      CO     33040051554
75656447372B29   PETE         LOVATO                       CO     90009494473
7565658628B163   OLIVIA       BATALLA                      UT     90007405862
75657148672B32   PAULINE      HERRERA                      CO     33055901486
75657153A93739   DAWN         MEYER                        OH     64579511530
756573A7272B44   SHAWNA       MYERLY                       CO     90013143072
756576A752B994   VANNESSA     SOLIS                        CA     90005796075
756583A938B157   MICHAEL      HOFFMAN                      UT     90013703093
7565866AA5B384   BRIAN        GLENN                        OR     90006756600
756593A5172B29   JORGE        GONZALEZ                     CO     33090193051
7565953438B163   DULCIA       MARTINEZ                     UT     31075425343
7565B27713B358   GABRIEL      DORADO                       CO     90006302771
756611A5855939   TAIS         GARCIA                       CA     90002791058
756611A8955947   DIANA        MARTINEZ                     CA     90010481089
75661318472B87   BERNARDINO   LOZANO                       CO     33084633184
7566169548B168   PETER        COSTANZO                     UT     90003006954
7566177339154B   JAQUELINE    URUETA                       TX     90002727733
7566193977B661   ANTWAN       GARDIN                       GA     15078929397
75661A73572B29   VERA         MEDINA                       CO     90009190735
75662219A72479   SANDOR       BEREGI                       PA     51039432190
7566228698B163   DANIEL       BARNUM                       UT     90009032869
7566229259154B   MARIA        REYES                        TX     75065812925
7566264512B994   JOSEFINA     GARCIA                       CA     90012846451
75662875A8B157   JESSE        TRUJILLO                     UT     90011068750
75662993872B32   COSBY        ROBERT                       CO     90010799938
75662A69766143   DOUG         JONES                        CA     90014310697
7566324A38593B   FLORENCE     LANDRUM                      KY     90010972403
7566391558B168   SAMUEL       GUTIERREZ                    UT     90009629155
75664167472B37   JOSE         HERNANDEZ LOPEZ              CO     33030361674
75664511A51337   DANIELLE     PARTRIDGE                    OH     90007905110
7566493932B994   ANGEL        AGUILAR                      CA     90014669393
7566517744B553   STEPHANIE    HYATT                        OK     90004361774
7566547A393739   ALVINA       THOMPSON                     OH     90010394703
7566558248B163   DAVW         PETRONI                      UT     90012155824
756688A938B168   THERESA      LOPEZ                        UT     90014518093
7566892664B562   CHRIS        SNELL                        OK     90008069266
75668A1454126B   ALYSSA       SAULA                        PA     90009950145
75669A43A8B168   JUAN         CARRILLO                     UT     31090020430
7566B217355939   ARNOLD       HERNANDEZ                    CA     90011212173
7566B21AA72B29   RUBEN        SMOOTS                       CO     90012412100
7566B341431432   ASHLEY       WOELFEL                      MO     27590073414
7566B46888B347   EBREO        ROSALES                      SC     90015104688
7566B4A7641253   SHONQUIA     HOCKETT                      PA     90009954076
7566B528457157   VERONICA     HUNT                         VA     90001635284
7566B533541253   DANIEL       PAINTER                      PA     90013365335
7566B98A255947   TANYA        URREA                        CA     49026489802
756711A1355939   VERONICA     CASTANEDA                    CA     90014431013
7567123422B84B   FRACES       APACHECO                     ID     90007062342
75671266872B87   ELAINE       POHLMAN                      CO     90007032668
75671374272B37   MIGUEL       MONTERO                      CO     33014993742
7567145A533699   DOMINGA      PELAGIO                      NC     12064794505
7567174178B168   GABY         GIULIANA                     UT     90002527417
7567241A893739   ANDERSON     PAMELA                       OH     90003324108
7567255433168B   SUSANA       ORONA                        KS     22059875543
756727A578593B   SAMANTHA     MCCANE                       KY     90000577057
75672A5937B477   ERIC         NEAL                         NC     90014410593
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 861 of 2350


7567322498B142   SHAWNELLE       ASTON                     UT     90010452249
75673A9428593B   KATHY           YOUNG                     KY     66009580942
75674266872B87   ELAINE          POHLMAN                   CO     90007032668
756743A7541227   TELISA          SANDLING                  PA     90006333075
75674A16771921   CYNTHIA         RYAL                      CO     90013960167
7567568928B142   NATHAN          LECHLER                   UT     90014216892
7567691558B168   SAMUEL          GUTIERREZ                 UT     90009629155
756774A5831443   JOHN            CRAWFORD                  MO     90010024058
7567772868B168   GENTREY         BECKSTEAD                 UT     31016697286
7567776A155939   VICTOR          PEREZ                     CA     90010487601
75677A24833698   OREAL           SELLERS                   NC     90008620248
75678173A9184B   KARENA          RICHARDSON                OK     90001091730
75678711A72B44   EVER            VILLORDO                  CO     33025747110
756788AA155939   JULIANA         LOPEZ                     CA     90008028001
75679753A4B291   JOSE            MIRANDA                   NE     90007917530
75679A9558B134   ALEX            RIVERA                    UT     31065300955
7567B21929154B   BRENDA          IBARRA                    TX     90009492192
7567B2A468B134   JOLISHA         BRANCH                    UT     31080842046
7567B484372B87   ALMAHIDA        NEVAREZ                   CO     33074574843
7567B49A38593B   TOM             TRELANY                   KY     90014254903
7567B611A72B44   ESMEROLDA       MELENDREZ                 CO     33058796110
7567B878241253   JAPHIA          SMITH                     PA     90013358782
7567B8A2451544   AUJENAE         MOORE                     IA     90012038024
7568147927B477   REINA           PADILLA                   NC     90011274792
75681548472B87   JOSE            GOMEZ                     CO     33002295484
7568162A472B29   DIANA           BUSTAMANTE                CO     33052516204
7568172428B163   EMMA            GARCIA                    UT     31049147242
7568179698B168   CRYSTAL         GUTTIEREZ                 UT     90014747969
7568187538B157   JENNIFER        BINDLEY                   UT     90010008753
7568262448593B   AMY             PEART                     KY     90004006244
75682843572B44   CRYSTAL         LOPEZ                     CO     90013788435
7568288919154B   ADOLFO          ANDUJO                    TX     90010438891
75682A78771921   FERNANDO        MACHADO                   CO     90008610787
7568388827B477   GEORGINA        AVILA                     NC     90012498882
75683A7A12B994   JOSE            VARGAS                    CA     45000690701
75683AA4141237   CRYSTAL         ROBERTS                   PA     51034320041
7568466A955939   ALEJANDRO       ESPANA                    CA     90011456609
75684686A5B59B   CLARISSA        ROBINSON                  NM     90013886860
75684A51391267   LEOLA           WATERS                    GA     90012700513
75684A9848B157   ANDRES          AGUILERA                  UT     90004910984
75686333772B87   GREGORIO        MORALES                   CO     33087923337
75686A54A72421   JONALYNN        COLAIZZI                  PA     51025250540
7568782588B134   JONATHAN        MILLS                     UT     90008458258
7568932928B142   KENNETH         TIPPETTS                  UT     90010673292
7568999448B157   APRIL           RAINEY                    UT     90003649944
7568B244431432   AMANDA          DICKERSON                 MO     90011652444
7568B258372B32   DENISE          YANEZ                     CO     90013672583
7568B564572479   RHONDA          SMITH                     PA     90004765645
7568B76175B59B   SANTIAGO        CHAVEZ                    NM     90014467617
7568BA6138B157   CHRISTINE       WATSON                    UT     90012560613
75691179272B32   BEATRIZ         SANCHEZ                   CO     33076071792
756911A493168B   TERESA          WORTON                    KS     90011681049
75691286A41227   BOBBY           DENNIS                    PA     51005462860
75691451A5B59B   PEDRO           MUNOZ                     NM     90011404510
7569162148B157   RANDAL          GARY ALBEE                UT     90013916214
75691925A9154B   HUMBERTO        NAVARRO                   TX     90014329250
75692681A33628   JOE             LUTHER                    NC     90010176810
7569293A77B45B   JANESHA         STINSON                   NC     90005339307
756932A8172B29   ERIQ            GAUNA                     CO     90009112081
7569341568B134   FRANCISCO       NIEVES                    UT     90012804156
7569443388B168   JUAN CARLOS     HERNANDEZ                 UT     90011484338
75694879172B87   ENEDINA         SOTELO                    CO     33095248791
75694A4735B53B   LESLIE          FAY                       NM     90007440473
75695A19733698   ARIANNA         WILSON                    NC     90014650197
75695A97361964   VIVIANA EDITH   CARDENAS ROMO             CA     90013160973
7569643A655991   MICHAEL         CORBITT                   CA     49095624306
75697417A72B87   RAQUEL          POOL                      CO     90015214170
7569768927B661   FARMONTA        BROWN                     GA     15080366892
7569785A651325   G               PRESENTS LLC              OH     90014788506
756981A9A8B163   CHANCE          VIGNETTO                  UT     90013321090
75698AA952B249   KAREN           FRANKS                    VA     90009010095
75699155472B32   THOMAS          THORNBURG                 CO     90012521554
756998A833168B   SONYA           PEREZ                     KS     90012728083
7569B39778B142   CHRISTOPHER     CLARK                     UT     90008553977
7569B492972B29   CARA            FUNK                      CO     90014144929
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 862 of 2350


7569B61853B38B   PATRICIA      MICHAEL                     CO     33047016185
7569B777741227   JEANNINA      TORRES                      PA     51076947777
7569B973831443   KRISTEN       KISH                        MO     90011089738
756B1625185945   JUAN          VILLAFUERTE                 KY     90011936251
756B1832972B32   JESSE         PSYCHO                      CO     90009398329
756B2257555947   AUSTIN        HOLLIDAY                    CA     90013062575
756B2991172B32   JOHN          RUPP                        CO     33062749911
756B3124581645   SHYLA         WILLIAMS                    MO     29022791245
756B3A4685B384   KELLY         SHERBAHN                    OR     44521180468
756B4423831433   LIBRA         FORTUNE                     MO     90013884238
756B468217B427   LAURA INES    SANCHEZ                     NC     90012646821
756B4816641237   KELLY         DAVIS                       PA     90012838166
756B5216672421   BRANDI        GEORGE                      PA     51008492166
756B562768B157   ALEX          WILLIAMS                    UT     31044446276
756B5AA758B168   SHANTEL       BERNAL                      UT     90009190075
756B663225B59B   GRACIELA      PALMA                       NM     35028826322
756B669268B168   NICK          SINGER                      UT     90014736926
756B6822A7B477   SHEENA        RATLIFF                     NC     90010988220
756B684A531432   TONJA         MANIGO                      MO     27566268405
756B7558741227   PALITTI       TERRANCE                    PA     51083335587
756B766755B59B   IRA           FUNMAKER                    NM     90014716675
756B8147685945   SYDNI         SPILLMAN                    KY     67008731476
756B86A847B477   SEATEAL       HERNANDEZ                   NC     90000896084
756B8784733698   JAMES         ROGEL                       NC     90014897847
756B887443B358   TAMMY         WALLER                      CO     90011348744
756B897117B661   CARLISS       BROWN                       GA     15062939711
756B9395455947   RONALD        SOARES                      CA     90015123954
756B951928B142   NANCY         ACOSTA                      UT     90008385192
756B968338593B   ANTHONY       EDWARD                      KY     90001716833
756B976297B661   JAMES         WHITE                       GA     90000857629
756B9A92127B98   FELICIA       BUSH                        KY     90007760921
756BB597A71921   BRIAN         MATHIS                      CO     90011175970
756BB85538B142   PAM           PETTINGILL                  UT     31069898553
756BB938433624   GRACIANO      ESPINOZA FERIA              NC     90012559384
756BB9A6655939   NORMA         SANCHEZ                     CA     90011169066
756BBA7722B994   MARIA         VALENCIA                    CA     90014070772
75711562572B87   BREANNA       HUDSON                      CO     90005275625
7571157516193B   MARCO         A AMAYA                     CA     90009525751
7571191918593B   KIMBERLY K    ALLEN                       KY     90000239191
75711A1589154B   CRISTINA      RODRIGUEZ                   TX     90010410158
7571211A78B142   MANUEL        SANTILLAN                   UT     90012921107
75712312A72B87   CRYSTAL       MCDONALD                    CO     33052633120
75712AA999154B   ISSAC         ORTEGA JR                   TX     75005060099
7571388772B271   THERESA       BATCHELOR                   DC     90006618877
7571472A172B42   MARCUS        DELACRUZ                    CO     90004107201
75714752772B91   SHARON        COX                         CO     90001417527
7571536388B163   KATHY         LARSEN                      UT     90014213638
7571546352B994   JULIE         COOKSEY                     CA     90009664635
75715969672B37   MARIA         GONZALEZ                    CO     33083809696
7571634218593B   JOHN          BOWMAN                      KY     90011953421
75716996372B87   RENAN         SIWA                        CO     33012099963
75716A12331443   PARIS         WILLIAMS                    MO     27524540123
75716A42185945   DANIELLE      CHAPMAN                     KY     67011630421
75716A45772B44   ROBERTO       RODRIGUEZ                   CO     90010200457
7571715989125B   KATRINA       SCOTT                       GA     90014731598
7571747868B168   DEISY         CORONA                      UT     90011354786
757174A3872B29   ELIZABETH     SAILAS                      CO     90004494038
7571826938B142   BREANNA       DAVIS                       UT     31048502693
75718832772B37   JANELLE       JENLINS                     CO     90002758327
75718898572B32   SHANNON       AMBROSIUS                   CO     90011478985
75719414972B29   JASON         PACHECO                     CO     90015474149
7571B259855966   MONALISA      RODRIGUEZ                   CA     48073072598
7571B31918B142   SANDY         LEA                         UT     31044653191
7571B514655939   MANUEL        RIOS                        CA     90008985146
7572144A78B134   DARROL        BRINGHURST                  UT     90014984407
7572148972B961   GUILLERMINA   AVALOS                      CA     90012714897
7572176715B597   SYLVIA        CHAPMAN                     NM     35070177671
75722818A7B477   JOSE          ALVAREZ                     NC     90013618180
7572285758B157   DEBRA         AMAZON                      UT     90012338575
7572318A155947   MARIA         NAVARRO                     CA     49060501801
7572326338B157   JOSE          PALZA                       UT     90015302633
7572337768593B   KEVIN         BLACKBURN                   KY     90015423776
75723A1A972B87   ALISSA        SAUER                       CO     33065980109
75724633372B29   KEVIN         BRYAN                       CO     90004896333
7572531A841273   JUSTIN        FLAHERTY                    PA     90001273108
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 863 of 2350


7572568812B994   MICHAEL           ROMINE                  CA     45036346881
75725714172B44   SALINA            GONZALES                CO     90012167141
75726217A41253   TITAN             KIMBO                   PA     90015332170
7572629855B59B   CHRISTOPHER       RODARTE                 NM     90013172985
7572643578B157   RUSTY AND MARLA   HANSEN                  UT     90012424357
757266A518B157   BRENDA            ROBINSON                UT     90013356051
7572795718B163   CECLIA            MARTHA CASTILLO         UT     90008159571
75727974872B87   DESI              FRESQUEZ                CO     33052309748
75727986A9154B   VIRDIANA          ZAPATA                  TX     90012589860
7572895928B142   TAMARA A          KEYSER                  UT     90012779592
7572994A531443   SYLVIA            SCALS                   MO     90000509405
75729A12481645   ADRINA            PUENTES                 MO     90014880124
75729A52931432   KRIS              KREMMER                 MO     90010850529
7572B56A272B29   HOLLY             CARY                    CO     33015965602
7572B617833698   YARET             GUTIERREZ               NC     90012856178
7573172113B343   COURTNEY          HALL                    CO     33055227211
75731A41231684   BRITTANY          ROYSE                   KS     90006400412
7573249A48B142   NICOLE            LUCAS                   UT     90012144904
7573268175B59B   RENE              CARBAJAL                NM     90002996817
757326A8333699   ASHLEY            WHITE                   NC     90014506083
7573293949154B   JUAN              AGUILERA                TX     90011449394
7573333585B384   LUIS              PEREZ                   OR     90005513358
75733571A41253   NAVEED            CHOWDHRY                PA     90003205710
7573488212B271   ARMOND            JONES                   DC     90006258821
75735696472B32   ANABEL            VILLA                   CO     90014046964
7573658A28B157   ANTONIO           TRIGOS                  UT     90007035802
75736A42433698   ALEISHA           WHITSETT                NC     12056480424
75737375572B44   CHRISTIAN         EMILIANO                CO     90013143755
75737736672B34   TINA              CUTTER                  CO     90002147366
7573786992B994   KATHLEEN          TODD                    CA     90002938699
75738245A3168B   VALERIE           WASHINGTON              KS     22048892450
7573883848B142   JUNG              CH0                     UT     90011998384
7573921827B477   TASHENA           GLOVER                  NC     90014822182
7573964125B59B   ALMA              RAMOS-RODRIGUEZ         NM     90012306412
75739886572B34   SILVIA            ORTIZ                   CO     90012788865
75739A5A92B994   MARIANA           CONTRERAS               CA     90014660509
7573B29A98B142   IVIE              KENDALL                 UT     90009122909
7573B419172441   ADRIENNE          WEATHERS                PA     90011224191
7573B582472B87   JOSE              RODRIGUEZ               CO     90015215824
7573B583772B32   WILLIAM           MCCULLOUGH              CO     90013905837
7573B837393739   WILLIAM           RICHARDSON              OH     64523218373
7573B924271921   JUAN              HARTT                   CO     90013599242
7574168149154B   PETRA             AVILA                   TX     75089686814
75741723472B29   JOSE              SANCHEZ                 CO     33034567234
75741998472B37   JONATHAN          SILVA                   CO     90014919984
7574233978B157   RAYMOND           SILVAS                  UT     90010783397
757436A5372479   RUTH              DAVENPORT               PA     51050446053
7574473AA9154B   JOEL              HERNANDEZ               TX     90004917300
75744A11585945   ROBYN             BURDINE                 KY     67020840115
7574562338B157   ASHLEY            COOK                    UT     90010046233
7574581A641253   RUTH              DANIELS                 PA     51018348106
75745AA8833698   ROSLAND           STINSON JR              NC     90011980088
7574649129154B   MARIA             PAREDES                 TX     90011414912
75746A12881643   FELICIA           WILLIAMS                MO     90012320128
7574837628B142   TAMMIE            YOUNG                   UT     90014373762
7574868312B994   MARCELINO         VILLANUEVA              CA     90012306831
75749128A71921   AUTO              SERVICE                 CO     32039131280
75749162772B44   RYAN              SMITH                   CO     90013671627
75749513A33698   CHENIQUA          ALSBROOKS               NC     90014815130
75749548172B32   FRANCISCO         BARRAGAN                CO     90015025481
7574974429154B   JULIA             DIEGUEZ                 TX     90012307442
7574983A54B263   PATRICK           KREBBS                  NE     90012888305
7574984995B59B   DELIA             MARTINEZ                NM     35087638499
7574B248372B44   VERONICA          HERNANDEZ               CO     33022352483
7574B786655939   GUADALUPE         RIOS                    CA     90007057866
7574B83A12B994   STEPHANIE         RAMIREZ                 CA     45008878301
7574B92288B134   ALMA              GONZALEZ                UT     90010499228
75751525872B29   LANETTE           SOTELO                  CO     33067695258
75751591172B87   MARSHA            ROYBAL                  CO     90015215911
7575177968593B   WALTER            POLANCO                 KY     90013377796
757522A858B163   MICHAEL           HARRIS                  UT     90003362085
75752A8618B134   SHANE             WARD                    UT     31015260861
7575317189154B   LETICIA           GAYTAN                  TX     90012201718
7575535258B134   JOSE              RODRIGUEZ               UT     31028623525
75755624472B87   KYLE              WURM                    CO     33037066244
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 864 of 2350


757563A8972B58   LORENA           BANUELOS                 CO     90012483089
7575646348B168   ASHLEY           GILES                    UT     90014774634
7575675299154B   MARIA            ISAIS                    TX     90011427529
7575793767B477   DEREK            CODY                     NC     11010589376
75758631A71921   ERIC             MONDELLO                 CO     90005196310
75758636872B37   LORETTA          OLGUIN                   CO     33007356368
75758A1367B477   THERESA          PATRICK                  NC     90012310136
75758A5A58B168   C RYAN           SCOTT                    UT     31019280505
7575926142B994   ROBERT           CAMPBELL                 CA     90013072614
7575948968B168   ROXANA           BOYER                    UT     90014774896
75759A52931432   KRIS             KREMMER                  MO     90010850529
7575B58755B17B   LAQUAKISHA       CIDWELL                  AR     90015375875
7575B731441253   KATHLEEN         BROTHERS                 PA     90009507314
7575B7A348B163   COURTNEY MEGAN   CANO                     UT     90010247034
7576142768B142   KIM              BECK                     UT     90009054276
7576184347B477   SHERYL           MASSEY                   NC     11091908434
7576292225B59B   CELOTILDE        FERNANDEZ                NM     35035309222
7576346218B134   CARLOS           DEL CARMEN               UT     90008434621
757637A3955947   JUANA            GAMEZ                    CA     90011947039
7576411246192B   ANTHONY          BRYANT                   CA     90000111124
757647A3657157   OSCAR            GODOY                    VA     90003477036
757649A1557129   KAMARA           ISATA                    VA     90010919015
75765186172B42   DONNA            ABRAM                    CO     33054581861
75765567272B32   XOCHITLT         RAMIREZ                  CO     90007035672
7576643A59154B   SUKY             GUERRERO                 TX     90008474305
7576657815B384   MARIA            MARTINEZ                 OR     44513825781
7576673798B168   ROBERT           TUCKER                   UT     31014277379
7576684335B59B   DANIEL           PEREA                    NM     90012998433
75766919572B37   JEFFREY          MYERS                    CO     90006839195
75766AA658B157   MARISSA          CHAVEZ                   UT     90014880065
7576711588B163   MICHAEL LARGO    PRISCILLA MAURICIO       UT     90013321158
7576978A372B87   MONDAY           GBIU                     CO     90008727803
757697A4333698   ALPHONSINE       MUKANOHELI               NC     90013537043
757698A9131433   MARVIN           BROOKS                   MO     90001268091
7576995468B163   DEVON            ESTES                    UT     90015099546
7576B15197B477   LUIS             MERCADO SUAREZ           NC     90014941519
7576B28773168B   LUCRETIA         POSEY                    KS     90012332877
7576B513372B37   LENNIE           STROCK                   CO     90014615133
7576B667971921   MYLES            CRUZ                     CO     90011876679
7577195848B142   KRISTIN          DRUMMOND                 UT     90010739584
757722AA18B157   LESLEY           BARRERA                  UT     90012722001
7577268155B59B   ANGEL            MARTINEZ                 NM     90009276815
75772A7A38B142   SCOTT            REINWAND                 UT     31082720703
7577311228B168   CHRISTOPHER      LEO                      UT     90008571122
757731A265B59B   GUADALUPE        MONARES                  NM     35088071026
75773216A55939   EDGAR            GARCIA                   CA     90011882160
75773584A71921   VICTORIA         CALDERON                 CO     90013215840
7577421977B661   CAROLYN          JOHNSON                  GA     90009472197
75774A76672B27   JAMIE            IVARSON                  CO     90001410766
75775895A72479   KRISTIN          ALTMAN                   PA     51017308950
7577616488B168   ROXANNE          TAUFER                   UT     31086351648
7577622793B191   CHRISTOPHER      PHILLIPS                 DC     90013442279
7577638443168B   MARSHALL         LYKINS                   KS     90012823844
7577663719154B   FLORES           JUSTINE                  TX     90008516371
7577714148B142   JAIME            HERNANDEZ                UT     90014381414
7577754839154B   CYNTHIA          CADILLO                  TX     90003445483
757776A9172B37   MARISELA         HERNANDEZ                CO     90011726091
7577794798B168   DONNA            GURULE                   UT     31007099479
75778173872B44   JOSE             DERAS                    CO     90015141738
757785A2A5B59B   CESAR            CORDOVA                  NM     35029755020
7577868118B163   CLAUDIA          FERNANDEZ                UT     90011246811
7577916748593B   JOSHUA           WIDENER                  KY     90010341674
75779178372B98   PEDRO            REYES-ESTRADA            CO     33089411783
75779217A41237   SANDY            VALENTINE                PA     51086622170
75779266472B29   MELVIN           MARBLE                   CO     33053702664
757794A716198B   ANDRAY           COREY                    CA     90015124071
7577B453A7B477   JODY             CHARLES                  NC     11075014530
757811A8931443   SHANEKA          YATES                    MO     90011091089
75781592772B32   LAURA            GREELEY                  CO     90010875927
75782273672B44   JR               CARRANZA                 CO     90002642736
7578263A19154B   PATRICIA         ORTIZ                    TX     75024056301
757826A973363B   ANGELA           TAYLOR                   NC     90008546097
75782866A5B59B   SAYRA            MARTINEZ                 NM     90006578660
7578391A38593B   ALAN             KILPATRICK               KY     90004309103
7578395228B163   EVERETT          EICHBAUER                UT     90014339522
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 865 of 2350


75783A9135B59B   CESAR ANGULO    GUTIERREZ                 NM     90011360913
7578487733168B   JESUS           SILVA                     KS     90014838773
75784A52931432   KRIS            KREMMER                   MO     90010850529
7578544A18B142   SARAH           TAYLOR                    UT     31005934401
757859A299154B   DANIELLE        RAMIREZ                   TX     90007079029
7578644A78B134   DARROL          BRINGHURST                UT     90014984407
7578667625B384   JASON           ARNOTE                    OR     90007346762
75786942972B37   ANGELA          SANCHEZ                   CO     90014579429
75787125A2B242   SEAN            HAGLER                    DC     90011481250
7578725647B477   KURTIS          ROSS                      NC     11009392564
7578815647B428   TAMARA          BRIGHT                    NC     90013951564
7578856A18B163   PEDRO           MORALES                   UT     31096315601
75788624472B87   KYLE            WURM                      CO     33037066244
7578984515B59B   TERESA          GARCIA                    NM     35067988451
757899A9372B32   SHAUNDRA        VALDEZ                    CO     33032659093
7578B13A581645   ALBERTO         DELGADO                   MO     90014911305
7578B23578B163   ELI             ANTILLON                  UT     90011382357
7578B73358593B   COURTNEY        INGRAM                    KY     90014597335
7578B795355939   ISIDRO          CARDENAS                  CA     90014217953
7578B929433698   LATOIA          THOMAS                    NC     90010999294
7578BAA8657157   YOVANY          COREAS                    VA     81068430086
75791121972B37   RAMON           MUNETON                   CO     33049081219
75791A66431432   CAROL           ACKERMAN                  MO     90010850664
75792943372B37   JOSE DE JESUS   SANCHEZ                   CO     90014579433
75792A26231433   ANGLA           SIMON                     MO     90015170262
7579336337B477   ESPERANZA       CIFUENTES                 NC     90006793633
75793695972B37   ADAM            ORTIZ                     CO     90009866959
757936A5181633   KELLY           WARD                      MO     29001686051
7579371455B59B   TRINA           GACHUPIN                  NM     90013397145
7579383722B249   NATALIE         HAWKINS                   DC     90008308372
75794A66431432   CAROL           ACKERMAN                  MO     90010850664
757951A9672B37   MARIA           ESTRADA                   CO     33035381096
7579576628B157   RANDALL         HEINER                    UT     90013937662
75795819A72B37   ANDREW          ESPINOZA                  CO     90014698190
7579619727322B   GILBERTO        JORGE                     NJ     90015191972
7579681348593B   CHARLES         CENTERS                   KY     90013958134
75796A9135B59B   CESAR ANGULO    GUTIERREZ                 NM     90011360913
75797879572B44   JOSUE           FERNANDEZ                 CO     90013988795
7579842428B142   PAOLA           SANTIZO                   UT     31092824242
757986A6272B37   SUZANNE         PENA                      CO     90013246062
7579943448593B   VICTOR          CISUEROS                  KY     90011414344
7579984582B994   GILBERT         FRANCO                    CA     90011868458
757B125217B477   SHATARRA        CHAMBERS                  NC     11087712521
757B142238B163   JORGE           AGUADO                    UT     31033824223
757B17AA131432   PATRICIA        RICHARD                   MO     90003257001
757B1928972B37   KTONNA          COLLINS                   CO     90014579289
757B1A55A8B142   BRENT           PETERSON                  UT     31087320550
757B2165A55947   CARLOS          LOPEZ                     CA     90011311650
757B2427971921   WHITNEY         BEHRENS                   CO     32038504279
757B2659533698   NAOMI           HILL                      NC     90009086595
757B26AA272455   RONNIE          BRINKMAN                  PA     90011366002
757B2A61385945   ALLISHA         GREY                      KY     90010390613
757B3161644344   SHAVOMA         BRYANT                    MD     90014101616
757B32AA672B44   BRIAN           OLDS                      CO     90003902006
757B3A39272B37   SANDRA          MEDRANO                   CO     33009700392
757B4166772479   JANNA           LATU                      PA     90014131667
757B4286772B32   JENNIFER        VOTE                      CO     90009242867
757B456717B661   CAROLYN         DAVIS                     GA     90000425671
757B486815B59B   MAURO           MOTERRUBIO                NM     35098838681
757B4A35972B87   GERRIT          DERUITER                  CO     33009680359
757B5124131433   MICHAEL         BALL                      MO     90010381241
757B523788B142   FAWNA           TUNSTALL                  UT     31069362378
757B5238672479   BRIAN           PORTER                    PA     90005412386
757B5534331465   KEITH           MOORE                     MO     90012425343
757B5561372B87   GEORGIA         ZAMORA                    CO     90015215613
757B5742655991   YVETTE          BECK                      CA     90012547426
757B5958741237   KIMBERLY        STEPIEN                   PA     51042429587
757B596AA42322   TRINA           FORESTER                  GA     90014259600
757B5AA3157157   CASSANDRA       DEAN                      VA     81048780031
757B623328B142   MARY            LITTLEFOOT                UT     90013552332
757B647AA72B44   SAMUEL          CHICO                     CO     90011784700
757B7279A3168B   MICHAEL         LEWIS                     KS     90013172790
757B8127691548   JUAN            PASILLAS                  TX     75022461276
757B821A161922   MARIA           LOPEZ                     CA     90002922101
757B823158B157   ALISHA          ARCHIBALD                 UT     90014842315
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 866 of 2350


757B8257431458   TABITHA      SOLOMON                      MO     90011062574
757B8772981697   CHONA        ALFORD                       MO     90012257729
757B8A2218B168   DOUG         MASSEY                       UT     31067180221
757B9561941253   JOHN         HARAHUS                      PA     90014175619
757B9711755947   MARIA        PEREZ                        CA     90012027117
757B978179154B   IVAN         CASTANEDA                    TX     90010397817
757B997168B168   RUBY         FICKLIN                      UT     90011859716
757BB112A93739   NORVAJEA     HALLER-PENROD                OH     90014941120
757BB282472479   JOSHUA       TRAFINCHICK                  PA     51065262824
757BB52835B238   TIMOTHY      BURNS                        KY     68025795283
757BB61328593B   DEBRA        BYRD                         KY     90009096132
757BB782471921   OMAR         VALTIERRA                    CO     90013897824
757BBA2AA8B134   TAYLOR       HALL                         UT     90013140200
757BBA39472B29   LISA         JOHNSON                      CO     90006760394
7581162895B59B   ROBERTO      REYES RIVERA                 NM     90015296289
75811A22431432   DENISE       BLACK                        MO     90011130224
7581281695B59B   ROBERT       VILLA                        NM     35090838169
75812A47685945   JORGE        BARGAS                       KY     90011700476
75812A89491852   FREDIA       DUVALL                       OK     90005960894
75813388572B44   VIRGINIA     ALLEN                        CO     90013143885
7581342742B271   EBONY        POWELL                       DC     90000174274
7581344A241237   GENARO       PRIETO                       PA     90013904402
758143A292B994   MAGDALENA    FREGOSO                      CA     45084943029
7581534658B142   VICTOR       GONZALEZ                     UT     90000963465
75815727372B32   REUBEN       MARTINEZ                     CO     90014877273
75815779A71921   KYLAN        VANCE                        CO     90015287790
758158A3855939   CESSAR       YANEZ                        CA     90012708038
75815A48672441   ELENOR       RATLIFF                      PA     51045260486
7581616A47B477   TARA         TRACHTENBERG                 NC     90013511604
7581692288B163   BANESA       AYALA                        UT     90002129228
75817281A8B134   TALLE        JUHLIN                       UT     31084412810
7581769838B142   ELEA         HERRERA                      UT     31044736983
7581949915B59B   JONATHAN     RIVERA                       NM     90010054991
75819A37871921   CATHERINE    ROWLAND                      CO     90009760378
7581B295A72B44   MARITA       RODAS                        CO     90013912950
75821736972B29   JERRY        LAWLEY                       CO     33063197369
7582244757B477   FERNANDO     RODRIGUEZ                    NC     90011964475
7582249638593B   ROBERT       JACOBS                       KY     90009044963
7582298645B59B   KARISA       TRUJILLO                     NM     90015309864
75822A6282B271   MIKE         PATRICK                      VA     90007140628
75822A9219154B   GUILLERMO    CERECERES                    NM     90004150921
75823363572B44   NICOLE       GALLEGOS                     CO     33027983635
75823369A2B994   ROSANNA      GOMEZ                        CA     45089433690
7582338A955947   LETICIA      VEGA                         CA     49092373809
7582346837B477   JOSH         KING                         NC     90013004683
7582391873168B   GINA         JAY                          KS     90014839187
75823A23755939   ANTONIO      HERNANDEZ                    CA     90015100237
75823A9A18593B   WALTER       BANACA                       KY     90003160901
7582435338B142   DON          HIILL                        UT     90000833533
7582478675B59B   ENEDINA      MADRID-DE-CANO               NM     35043097867
7582527418593B   REBECCA      BURNEY                       KY     90010382741
758259A1A9154B   SONIA        RAMIREZ                      NM     75079629010
7582617A372B44   AURELO       MUNOZ                        CO     90012941703
7582669265B245   CONTESSEA    SPEAKS                       KY     68040296926
75827778A41237   RODGER       KNIGHT                       PA     90006467780
7582818A293739   JOSH         POLSLEY                      OH     90008071802
7582831728B168   BRITTANY     NUTTALL                      UT     31006033172
7582878478593B   STEVEN       LEWIS                        KY     90011397847
7582911849154B   BALDERAS     ADRIANA JASMIN               TX     90005441184
7582918773168B   PAMELA       QUINTANAR                    KS     22075251877
7582B318672B37   JOSE         DIMAS-GONSALEZ               CO     90015163186
7582B749533698   ANGEL        WILSON                       NC     90004837495
7582BA21872B87   ALEXANDRA    STOLTZ                       CO     90005800218
7583117459154B   DAVID A      LUCERO JR                    NM     75050161745
7583126328B168   MARIA        VIVEROS                      UT     31029942632
7583152877B359   ELGAR        BOQUIN RIOS                  VA     81055615287
75832A31931433   JO SHLIENE   GARDNER                      MO     90007670319
7583315478B163   SHAG         FOX                          UT     90013321547
75833161472B29   JESSICA      VALLEGOS                     CO     90013711614
75833267A57157   VICKY        SOLAIS                       VA     90005832670
7583341A671921   KRISTEN      TRUJILLO                     CO     32073044106
7583348A92B994   FAUSTINO     AYALA                        CA     90006984809
7583359469154B   JESUS        BEN                          TX     90004595946
7583369A85B59B   ABRAHAM      PEINA                        NM     90011376908
75833933172B44   RAQUEL       ST AUBIN                     CO     90009249331
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 867 of 2350


75834665672B37   ALIH           AGUDA                      CO     90014966656
75835421372B37   RAMIRO         DOMINGUEZ                  CO     33082634213
75835557372B87   ANAHI          PACHECO                    CO     90010575573
7583643575B59B   CHRISTOPHER    DAVENPORT                  NM     90011194357
75836652672B29   MARIBEL        GARCIA                     CO     90010496526
7583729AA72B29   MONICA         SAMORO                     CO     90012892900
7583814677B477   RETERA         HOWELL                     NC     90014171467
75838556672B44   SONIA          PAYAN                      CO     90014995566
7583857815B384   MARIA          MARTINEZ                   OR     44513825781
7583874A972B32   EDWARD         DRUMHELLER                 CO     90015317409
75838846A72B22   VICKIE         SALINAS                    CO     90006928460
7583888445B336   MANUEL         DIAZ DE LA PENA            OR     90014078844
7583941318B134   RICARDO        LOPEZ                      UT     90007814131
7583964445B921   TODD           WYNECOOP                   ID     41071136444
7583B187671921   CHRISTOPHER    MCDANIEL                   CO     90005131876
7583B336161597   SANTIAGO       CAYETANO                   TN     90015333361
7583B52AA76B8B   JEVON          JOSLYN                     CA     46010235200
7583B591372B87   DANIEL         GARCIA                     CO     90015325913
7583B77A78B168   SARAH          WARCUP                     UT     90010647707
7583B845A9154B   EDUARDO        PEDROZA                    TX     90011938450
7583BA74172B32   CLAUDIA        HENDERSON                  CO     90007900741
75841198172B87   NANCY          VERA-ARREDONDO             CO     90011961981
7584159778B157   BLANCA         PARAMO                     UT     31060785977
75841641672B87   ZERESENAY      SHFARE                     CO     90015216416
7584196478B346   LUIS           VIDAL                      SC     90014259647
7584221688B163   MANUEL         SIMETAL                    UT     90012922168
7584263737B477   RING           JAMES                      NC     11045146373
75843552972B44   DEBRA          KIRK                       CO     90007165529
75843A28555947   ANTONIO        BAUTISTA                   CA     90013400285
75844735372B44   MARK           LOVATO                     CO     90011187353
758449A739154B   MANUEL         OBREGON                    TX     90010439073
75845445272B37   LYNNZE         STONE                      CO     33059624452
75845455172B32   CHRISTOPHE     KINNEY                     CO     33091934551
7584547869154B   ALEXANDRA      HALLO DE WOLFFE            TX     90012494786
758456A6672B32   SARAH          JENKINS                    CO     90015466066
7584583869154B   ALEXANDRA      CORTEZ                     TX     90012448386
75845A83741237   DANNA          JAMISON                    PA     90000500837
75846648172B37   ROBIN          PARKER                     CO     33019466481
7584674A372B32   YOCELIN        LUCIO                      CO     33086637403
7584697298B168   ABRAHAM        BOEKWEG                    UT     90012589729
758469A3A71921   BRANDON        OWENS                      CO     90006409030
7584723A133698   APRIL          THOMPSON                   NC     90011132301
7584821A82B668   NICKOLAS       LIGHTELL                   WA     90009812108
75848619872B29   ANDREA         VELASQUEZ                  CO     33079546198
7584886A78593B   JERRY          HOSKINS                    KY     90002368607
7584895855B384   JAMES          CUNNINGHAM                 OR     44555929585
7584B19888B157   DENNY          MOORE                      UT     31092731988
7584B264333698   PHYLLIS        SIMS                       NC     90006492643
7584B71995B59B   IVAN           NEWMAN                     NM     35090547199
7584B82259154B   RIVERA         JORGE                      TX     90012998225
7584B992193739   GWENDOLYN      WARREN                     OH     64574699921
7585148928B134   JOLENE         LATIMER                    UT     90013484892
758522A6733699   MARIA          NOYOLA                     NC     12057212067
7585264668B163   LISA           MOKATE                     UT     31034806466
7585313AA8B163   RACHEL         KUNDA                      UT     90014731300
7585348A57B477   JOSE           REYES                      NC     11014964805
758538A3533698   YVONNE         GOGGANS                    NC     90012028035
75853A4478593B   ANGELA         FAHLBUSH                   KY     66039640447
75854612A41237   ARANDA         CAMPBELL                   PA     90014766120
7585496239154B   LUIS           ROMERO                     TX     75080559623
7585544748B134   WALTER         MONCADA                    UT     31067224474
7585618269154B   MANNY N MARY   AGUILAR                    TX     90010431826
75856659A72B32   ZZ             GQ                         CO     90014716590
75856A15172B44   MICHELLE       PITTS                      CO     33046050151
75857528972B32   TRAVIS         HARRIS                     CO     90012585289
758577A338B142   BURGESS        LYNN JULIE                 UT     90006077033
7585829848B134   ALBERTO        GOZALEZ                    UT     90014762984
75858369A93739   ASHLEY         BOWEN                      OH     90014463690
75859A7258B142   CHRISTIAN      ROBISON-HANCHETT           UT     90012400725
7585B534781627   HARLYN         YEARGIN                    MO     29006135347
7585B55568B134   TIM            SMIT                       UT     90008965556
7585B652333698   JOHN           JACKSON                    NC     90013156523
7585B835172B32   KYLE           BORTHICK                   CO     33042698351
7586134418B168   MELISSA        DULLE                      UT     31011503441
7586214438B157   ROBERT         MADSEN                     UT     31083481443
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 868 of 2350


7586286822B994   MARIO        CHAVEZ                       CA     90011418682
75863151472B32   VERONICA     ARELLANO                     CO     33013271514
75863453172B87   NANCY        NUNEZ                        CO     33014874531
7586349237B477   SAUL         CARRERA                      NC     90010234923
75863937A72B44   JOHN V       NGUYEN                       CO     90011479370
75864948A7B477   CRYSTAL      MARTIN                       NC     90014089480
75865182472B32   JORGE        CHACON                       CO     90013961824
758651AA693739   KIMBERLY     FAULKNER                     OH     90013041006
7586521693168B   JONATHAN     DENSMORE                     KS     90013742169
758652A249154B   MICHELLE     VASQUEZ                      TX     75030832024
75865477172B29   MANUEL       MEDINA                       CO     33072954771
7586639688B134   SANDRA       DURAN                        UT     90010173968
758663A6181645   EDITH        ORTEGA                       MO     90012743061
7586662538593B   KEVIN        ADMS                         KY     90008936253
7586738479154B   SOCORRO      SERRATO                      TX     90008753847
75867487A8B168   MIKE         BOWE                         UT     90014764870
758674A5372B87   TRACY        GRIEGO                       CO     90011674053
758677A867B477   ALEYDA       HENRIQUEZ                    NC     90002027086
75868263872B37   NICHOLAUS    WILKINS                      CO     90015202638
7586839125B59B   CHRISTIAN    CASTILLO                     NM     35078823912
75868654372B87   MARRUFO      CHAVEZ                       CO     90015216543
75869194372B32   CASEY        COTTRELL                     CO     90012521943
7586923728B142   MARIHETA     MALDONADO                    UT     90012112372
758693A9281633   DANISC       MACKIU                       MO     90006633092
758696A3855928   RAY          THACKER                      CA     49013966038
7586984A35B375   BRENDA       FLINT                        OR     90012588403
75869A25941237   SHARON       SOHN                         PA     51096580259
75869AA2241227   DAVID        NIKLAS                       PA     51013810022
7586B191372B32   ANDREA       MEDRANO                      CO     90012521913
7586B2A4A7B477   JEAN         MILLER                       NC     11003062040
7586B451541237   CICLEY       LANCASTER                    PA     51008894515
7586B71728B19B   PABLO        HERNANDEZ                    UT     31041737172
7586BA3568B142   JACOB        DAVIS                        UT     90013650356
758715AA28B163   JESSICA      WOLF                         UT     31014395002
758716A265B59B   GERARDO      LIMAS                        NM     90007426026
7587191769154B   ADOLFO       ANDOLJO                      TX     90010439176
75872448972B87   JUANCARLOS   SALVADOR                     CO     33001944489
75873115872B37   JEREMIE      HARRIS                       CO     90007231158
75873676572B44   MERON        GLORER                       CO     33088746765
75873AAA393739   CINDY        TIGG                         OH     64572980003
7587462212B994   MARIA        GARIA                        CA     45017646221
7587492A872479   TERRI        MATLOCK                      PA     51051079208
7587518A531433   PORCHE       LASHLEY                      MO     90012411805
75875363472B32   CHRIS        PEREZ                        CO     90011333634
7587548A272B87   JORGE        GONZALEZ                     CO     33083084802
75875654772B37   ANTOINETTE   MADERA                       CO     33041286547
7587569798593B   PHYLLIS      PERKINSON                    KY     90013606979
758757A8272B32   ROSA         CANALES                      CO     90014477082
75876A42691566   EDUARDO      RAMIREZ                      TX     90002240426
7587747989154B   FRANCES      VELASCO                      TX     90007284798
7587824328B134   MICHAEL      SAMMANN                      UT     90014482432
75878383172B37   YAMILI       QUEZADA-SOTELO               CO     90013603831
7587854962B271   MODESTO      KING                         DC     90001565496
75878561A7322B   JOSEFA       PONCE                        NJ     90013105610
75878751972B29   YVONNE       GONZALES                     CO     90002337519
75879A5215B59B   SANDRA       SERVANTEZ                    NM     90013840521
7587B487A8B168   MIKE         BOWE                         UT     90014764870
7587B573872B37   AMANDA       MARTINEZ                     CO     90013415738
7587B93848B134   PATTI        GARCIA                       UT     90014979384
7587B97457B477   TILLMAN      NATE                         NC     11097309745
75881376A8B168   PEREZ        MARIAM                       UT     90010613760
7588144A672B44   MICHAEL      CORP                         CO     90005904406
7588186618B163   DARREL       SALGE                        UT     90007488661
7588222818597B   DANIEL       SMELLING                     KY     67016712281
758822A2172B44   NATHANIEL    WORSTELL                     CO     90014492021
75882834172B37   RED          CORTEZ                       CO     90014088341
75883385727B98   SHITIKA      FIELDS                       KY     90009483857
7588341428B134   TREVOR       KNAAK                        UT     90010724142
7588379178B142   DANIEL       ASKELSON                     UT     90007787917
7588419899154B   JOSEPH       FIGUEROA                     NM     75071101989
7588458957B227   OTHO         BOBBINS                      OK     40573175895
7588487753168B   ELOZIRA      CALHOUN                      KS     90012778775
758849A782B84B   GEORGE       JIMENEZ                      ID     90014709078
75884A6667B661   CHRISTINA    WOOD                         GA     90000580666
7588558718B142   MILES        KENISON                      UT     90010275871
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 869 of 2350


75885A1525B59B   NICK         ABEYTA                       NM     90001550152
7588651965133B   CHRISTINA    SUTTON                       OH     90011815196
7588723175138B   DOREEN       BOOKER                       OH     66037232317
75887934572B87   JUAN         PAIZ                         CO     33074389345
7588929788593B   WALTER       AJIATAZ                      KY     90014342978
758898A818B163   ARMANDO      HERNANDEZ                    UT     90015208081
7588997A18B168   SUZANNE      ASAY                         UT     31079449701
75889A7A472B87   DENISE       PRUIETT-WILLIAMS             CO     33012790704
7588B418151323   DONALD       WACHTER                      OH     90001364181
7588B441572B37   YADI         MEDRANO                      CO     33045244415
7588B49378B157   TONYA        DRUCE                        UT     90013914937
7589232943168B   BRITTANY     DUNN                         KS     90012733294
758926A829154B   VALERIE      IRIGOYEN                     TX     90012146082
758928A1372B44   YAZMIN       PALMA                        CO     90014478013
7589295497B359   CESAR        AGUILAR                      VA     81064469549
758929A5531432   SHENISE      WILKENS                      MO     90009589055
758942A3472B32   CIRO         GARCIA                       CO     90012522034
7589488A672B44   JORGE        OLIVAS                       CO     90013988806
7589553725B59B   JUAN         ELIAS-NAVARRETE              NM     90011885372
7589627A857474   KATRINA      SANDERS                      IN     90015562708
7589642439154B   LILIA        CASILLAS                     TX     90014244243
75896691372B37   MICHAEL      APOLO                        CO     90009776913
758972A852B26B   LAKISHA      SCOTT                        DC     90008522085
758982A6293739   AUDREY       NICHOLS                      OH     90008072062
75898474472B44   MARIA        CARSON                       CO     90008084744
75899424233B44   SHAWNA       WILLIAMS                     OH     90015364242
7589972A171921   DANIELLE     PURSLEY                      CO     90014927201
75899881672B44   TYE          BELANGER                     CO     90013988816
75899A16681645   WANDA        SKAGGS                       MO     29010090166
7589B77548B157   MIGUEL       LOPEZ JUAREZ                 UT     90015247754
758B1636555947   SABER        ROWAID                       CA     90014696365
758B2661472B37   SHEILAH      LOWE                         CO     33080116614
758B2699A81633   BARRINGTON   COLLEY                       MO     29001686990
758B272848B163   JODIE        NELSON                       UT     31038487284
758B283938B134   HECTOR       LOPEZ                        UT     90013898393
758B311855B59B   ARMANDO      MARIN                        NM     35012811185
758B3159A72B32   EVENCIO      CARRETO                      CO     90002671590
758B3183A8B163   PERCY        DAMIAN                       UT     90014431830
758B368A63168B   DAISY        DOMINGUEZ                    KS     90011786806
758B3859572B29   FRANCISCO    DE LOERA                     CO     90000208595
758B4187393739   JOSE         RODRIGUEZ                    OH     90004801873
758B4636955939   ELIZAFAN     FARIAZ                       CA     90013296369
758B6149641237   BARBARA      MADJERICH                    PA     90013071496
758B621538593B   DAVID        ROBERTS                      KY     66032592153
758B679A98B134   NANCY        LEON                         UT     31060487909
758B8123881645   LARRY        CROUSE                       MO     90013071238
758B8459833699   KEVIN        TAYLOR                       NC     90013414598
758B8825572B29   DAVID        BLAND                        CO     90003208255
758B8A49833698   JAQUITA      JHONSAN                      NC     90014750498
758B8A9948B163   PERYE        JOSE                         UT     31058260994
758B925147B477   MARICE       MOORE                        NC     90015112514
758B9258272B44   DAVID        SIMENTAL                     CO     33096092582
758B926338B157   JOSE         PALZA                        UT     90015302633
758B9692941227   ROBIN        HARBAUGH                     PA     51077856929
758BB391155939   MELECIO      LOPEZ                        CA     90014583911
758BB639193739   JOAN         WELCH                        OH     64502076391
7591124877B477   STEPHANIE    WRIGHT                       NC     11011612487
7591151215B921   AMIE         GENTRY                       ID     41015765121
7591166987B661   ANGEL        MORALES                      GA     15090086698
7591211488B157   JULIO        FLORES                       UT     31083951148
759122A4472B32   RENE         REMEDIOS                     CO     90012522044
75913724472B83   JERA         SIMPLEMAN                    CO     90013367244
75913A5315B59B   LUCAS        NELSON                       NM     90013740531
75914227A76B87   NYAMBURA     KIIYURU                      CA     90014322270
75914A7859154B   MARIA        GAYTAN                       TX     75004770785
7591656432B977   SAMANTHA     JOHNSTON                     CA     45000245643
75916996872B37   DON          TITUS                        CO     33086559968
759177A782B242   CIARA        SMITH                        DC     90015107078
75917A38172B37   LETICIA      VALADEZ                      CO     90011580381
75917AAA285945   JONATHAN     STEWART                      KY     67065700002
759183AA655947   KATRINA      SELVOG                       CA     90008053006
75918658772B29   MICHAEL      GALLEGOS                     CO     90013026587
7591936325B384   CECILIA      VALDIVIA                     OR     90004213632
7591948A172B32   CARLOS       CANO                         CO     33016464801
75919851A72479   KIM          MOUNTAIN                     PA     51040618510
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 870 of 2350


7591B19A38B168   MELISSA        HARTVIGSEN                 UT     31009071903
7591B494433698   ANTONI         GUZMAN                     NC     90013064944
7591B576931433   ALVERA         DAY                        MO     27588245769
7592118269154B   MANNY N MARY   AGUILAR                    TX     90010431826
7592141A32B994   VICTORIA       AGUILAR                    CA     90012454103
7592194953168B   MARCELLA       GALVAN                     KS     90014839495
75921961A8B157   PATRICA        LEE                        UT     90012339610
75921A1285B59B   MATIANA        VAZQUEZ-VEGA               NM     90012150128
7592229682B994   SANDRA         BARAJAS                    CA     45050172968
7592284187B652   SERINA         HARRIS                     GA     15016358418
75923AA218B134   ALEX           DONET                      UT     90002790021
75924896472B87   LEANNA         HITCHINS                   CO     33067328964
75924A99476B2B   NATHAN         VILLADO                    CA     90011300994
7592521398B134   ALISHA         VAUGHAN                    UT     90011572139
75925785272B29   MAIQUEL        ARANA                      CO     90009557852
7592631435B541   JESSICA        SANCHEZ                    NM     90003573143
7592752468B163   MARIO          MENDOZA                    UT     31083965246
75928171A5B384   YESSICA        TORRES                     OR     90006291710
759281A7A8B142   MONTANA        OLANDER                    UT     90015191070
7592834A172421   MANDY          NEIDIGH                    PA     90000993401
759289A6231432   JOEL           PICHOCINSK                 MO     90008049062
75928A21233698   THEODORE       ALEXANDER                  NC     90011250212
7592925813143B   ROSALIND       CRAWLEY                    MO     90001312581
75929628A71921   MARK           MILLER                     CO     32090896280
75929A7A82B271   CARL           CREWS                      DC     90000270708
7592B38A881633   ARNOLD         PORTER JR                  MO     29094193808
7592B956231443   SHAKECHA       SHAW                       MO     90012309562
759311A818B168   IMNA           AVILA                      UT     90004081081
75931375672B29   DOLORES        MARTINEZ                   CO     33008523756
7593168548B163   KYLIE          SAUNDERS                   UT     90014526854
7593265768B163   MARIA          CASH                       UT     90014496576
75932918572B29   JORGE          GONZALEZ                   CO     33044389185
7593351359154B   FELICIA        SODIPE                     TX     75006125135
759338A6433698   JOHN           DOE                        NC     90013968064
75933A18572421   CHRISTOPHER    KESSLER                    PA     90007370185
7593495348B134   WESLEY         MAHONEY                    UT     90013199534
75935714872B44   BERNADETTE     RUBIO                      CO     90009487148
75935886A71921   DAVID          MEJIA                      CO     90014168860
7593643637B477   JEREMY         ISLES                      NC     90013544363
7593651955B59B   JASMINE        WOODS                      NM     90013155195
7593691A472B37   MAX            OCAMPO                     CO     90011179104
7593696845B59B   RIGOBERTO      NAVARRO-DIAZ               NM     35080269684
75936A51872B87   RICHARD        THOMPSON                   CO     90013280518
75937387A55966   MICHELLE       SOEIRO                     CA     90006493870
7593744168B157   RINA           MARTINEZ                   UT     90008564416
7593745185B571   CURTIS         CRAWFORD                   NM     90009174518
759375A5172B44   GORDON         HOLMAN                     CO     33089795051
75937AA138B163   LISA           BENNETT                    UT     31072070013
7593859949154B   JOSE           HERRERA                    TX     90013275994
7593862198B168   ADALBERTO      LEYVA                      UT     90014906219
75939294A5B24B   WILLIAM        MCHUGH                     KY     90002212940
75939598A55939   TEOFILO        GONZALES                   CA     90015445980
75939A62A9712B   ANDREA         WEBB                       OR     90001330620
7593B438581643   PAMELA         THOMAS                     MO     90004624385
7593B535257474   VICTOR         VASQUEZ                    IN     90010055352
7593BAA1872448   JEFFREY        KYLES-EDGE                 PA     90014360018
7594123318593B   JOHN           TAYLOR                     KY     66098832331
75941898572B87   JOSIE          SCHEEL                     CO     33068568985
75942336972B44   TRACY          ELDRIDGE                   CO     33058413369
7594282A55B384   ANFISA         RICHARDSON                 OR     44568818205
7594296433168B   TYRESE         WOODS                      KS     90013419643
75943A61271923   MARION         DAVIS                      CO     90010890612
75943A8118B168   CAMERON        ELLIOTT                    UT     90014800811
759448A668B142   JAIME          STEDMAN                    UT     90004788066
7594491118B142   JAYNETTE       DODDS                      UT     31005119111
7594536A98B168   JOSE           GARCIA                     UT     90014803609
7594541599154B   LUIS           MARTINEZ                   TX     90011334159
75945465A3168B   BLANCA         LOPEZ                      KS     90011694650
75946361A8593B   JACOB          LLOYD                      KY     90013053610
7594719455B384   MIGUELL        INTERIAN                   OR     44568941945
75948182A93739   ARCHIE         GARDNER                    OH     90013791820
7594879369154B   WILLIAM        MARTINEZ                   TX     90007567936
75948A35172B44   DEBRA          MORTON                     CO     33056020351
7594914898B142   SHAUNTEL       POULSEN                    UT     90003451489
7594937328B168   DEBBIE         SIMONS                     UT     90012403732
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 871 of 2350


75949389972B29   AMMANUEL       TELA                       CO     90014593899
7594965358B163   CISALEE        PEARCE                     UT     90013016535
7594B479171921   TASHA          ADDIS                      CO     90011154791
7594B526272B37   JASON          GARCIA                     CO     33064855262
7594B737771921   NICHOLAS       WOOD                       CO     90012177377
7594B79389154B   BENITA         OCHOA                      TX     75080497938
7594B993481645   PHOENIX        DYCHE                      MO     90013289934
7595145A99154B   RAMON          COSSIO                     TX     90014244509
759518A528B163   ARMIN          MARTINEZ                   UT     90013338052
7595256648B157   VICTOR         TAPIA                      UT     90005395664
7595336113168B   ALEJANDRA      HERNANDEZ                  KS     90004093611
7595336A98B168   JOSE           GARCIA                     UT     90014803609
759536AA872B37   MELVIN         DARNELL                    CO     90014836008
7595399238B157   JOHN           COLE                       UT     31093739923
75953A66972B37   MELVIN         DARNELL                    CO     90010500669
7595455547B428   JUAN CARLOS    MARTINEZ                   NC     90012345554
75954797672B87   JAMIE          GUADIAN                    CO     90011437976
75955184A9184B   KATY           VINES                      OK     21083421840
7595537628B142   TAMMIE         YOUNG                      UT     90014373762
759556AA971921   STEVE          EALEY                      CO     32076956009
75956438372B83   CHELSEY        NIELSEN                    CO     90015194383
75956835972B87   SAMANTHA       VAUGHN                     CO     33089518359
75957175A33698   CHRISTAL       HORTON                     NC     12076201750
7595717972B994   ANGELA         COUNTS                     CA     90009301797
7595718887B477   ABELARMINO     LOPEZ                      NC     90013511888
75957359572B29   PATRICK        BROSCH                     CO     90008853595
7595765937B335   FELIPE         GUZMAN                     VA     90012126593
75957842A8B142   MANUEL         LOPEZ                      UT     31087678420
75957A16181255   TARA           THOMAS                     KY     90012370161
759582A779154B   OSCAR          ESPARZA                    TX     90009882077
7595834618B142   STEVEN         DEEMS                      UT     90014093461
75958A34772B44   RIGOBERTO      MEDINA                     CO     90012620347
75958AA4755947   SUMMER         SALAZAR                    CA     90012850047
75959315A41237   RUSSELL        LIGHTY                     PA     90014963150
7595963125B384   MALESHA        JARREU                     OR     44578746312
7595971A171921   FRANCISCO      MARTINEZ                   CO     32000297101
75959A22341237   RUSSELL        LIGHTY                     PA     51062290223
7595B159981643   TAIJA          CHANDLER                   MO     29088741599
7595B214941253   STEVEN         BINION                     PA     90013412149
7595B74388B142   CINDY          HUTCHINGS                  UT     31044527438
7596127828B142   CELSO          GUTIEREZ                   UT     90008052782
75961479A33698   AARONA         CRAIG                      NC     90011134790
75962368572B87   MATTHEW        LIRA                       CO     33028113685
75963259A8B163   JUAN           FONSECA                    UT     90013242590
7596414AA81633   STEVEN         MARCILLE                   MO     90004221400
7596418565B522   ERIC           PETERSON                   NM     35055871856
75964737772B32   SANTOS         CRUZ                       CO     33000247377
75964953572B37   LETICIA        GASPAR JUAREZ              CO     33007319535
7596644527B661   ANTONETTE      POWELL                     GA     15090514452
75968932372B29   TIRSO          CARRILLO                   CO     90012679323
75968A86193739   TRACY          RIVERA                     OH     90012160861
759695A6593739   JEFFERY        KOOSER                     OH     64546535065
75969867872B44   RAMIRO         SOTO                       CO     90013158678
75969A82141227   NICOLE         LENART                     PA     51080540821
7596B79548B163   AMY            ROBINSON                   UT     90014697954
7596BA24931443   THOMAS         RENE                       MO     90009810249
7597129558B134   ARLINE         BUTTERFIELD                UT     31084312955
7597215868B142   FABIOLA        GAJARDO                    UT     90001761586
75972423A5B59B   MARICA         CORDOVA                    NM     90012194230
75972672772B32   ISABELITA      DELEON                     CO     90010156727
75972A6435B59B   NORMANDA       GALLEGOS                   NM     90013840643
7597321A171921   WESLEY         RUSSELL                    CO     90015452101
7597322748B183   SHARON         SPENCER                    UT     90013262274
759732A387B477   LINDA          MCLEAN                     NC     11001472038
759733A475B59B   CHRIS          LISTER                     NM     35040663047
7597353132B271   MELINDA        WARNER                     DC     90008355313
7597353332B84B   LISA           DEVENEY                    ID     90009225333
7597394498B183   SHARON         SPENCER                    UT     90004699449
7597451215B921   AMIE           GENTRY                     ID     41015765121
75974676572B87   HORTENCIA      GARCIA                     CO     90015216765
7597489139154B   FRANCISCO      CHAVIRA                    TX     90010788913
7597522A281643   MARK           SLOAN                      MO     90001322202
75975429272B87   DON BENJAMIN   LIMONES                    CO     90014634292
7597651458B142   SONIA          MORALE                     UT     90015115145
7597675322B994   JACOBO         SALASAR                    CA     45014457532
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 872 of 2350


75976849272B37   JOSE         ONTIVEROS                    CO     90009268492
75977214A31433   KEMAL        NAKICEVIC                    MO     90015332140
75977358672B87   VERONICA     DEJOIE                       CO     33044273586
7597778428593B   ALBA         AGUILAR                      KY     90013377842
7597785A331443   KRYSTAL      GLEASON                      MO     90011188503
75977A24872B37   JEREMY       AYERS                        CO     90013160248
7597823627B477   TERRIE       CURETON                      NC     11098652362
75979647A3168B   JESSICA      GOMEZ                        KS     90011696470
75979656572B29   SAMATHA      VAN KIRK                     CO     90009806565
75979A77672B44   CHRISTINE    EWING                        CO     90015150776
7597B518A55966   JUAN         GONZALEZ                     CA     48036295180
7598139635B384   CARLOS       ZECUA                        OR     44505863963
7598177498B163   BRENT        BEARDALL                     UT     90003607749
7598213A12B361   MICHAEL      DAVIS                        CT     90015131301
75982217A72B29   ANGELA       LUCERO                       CO     90013082170
75982289A8B32B   COREY        BARBER                       SC     90009712890
7598265A38B163   VERNON       JACKSON                      UT     90013056503
7598268277B477   SILVIA       MENDOZA                      NC     90013756827
75982A4168B134   SAMANTHA     BRYANT                       UT     90015180416
75983311797B21   DEBORAH      BASSETT                      CO     39090553117
7598352388B163   MATTHEW      CURTIS                       UT     31009305238
7598382185B384   TONI         HANSBROUGH                   OR     44511678218
75984451A81255   SHAWNTA      TYSON                        KY     68001754510
75984477972B37   SYLVIA       CAGE                         CO     33094414779
7598466A641237   NEKISHA      MYERS                        PA     90002986606
7598499327B477   JOSHUA       BEACHAM                      NC     90010989932
75984A5342B994   LAURIE       VALENZUELA                   CA     90010780534
759856A5155947   CHARISSE     DOLIDA                       CA     90007406051
7598583518B163   ROBERT       HINOJOSH                     UT     90012698351
7598669365B38B   SIGRID       LEONARD                      OR     90001586936
7598773A32B994   CHRIS        HELMS                        CA     90010797303
75987759572B29   RHIANNON     PERRYMAN                     CO     90012147595
75988134A55939   YVETTE       MORENO                       CA     90012931340
7598847248B157   APRIL        HIMES                        UT     90004284724
7598915828B134   MAYRA        ESCOBAR                      UT     90015141582
7598941528B136   KIRL         CARLING                      UT     90001994152
7598948258B142   JON          HIGGINS                      UT     31093534825
7598986358B157   JOHN         BLACKWELL                    UT     90013408635
7598993698B163   MARICELA     AGUIRRE                      UT     90012169369
7598B63488593B   CLISTON      JOHNSON                      KY     90013736348
7598B84335B59B   DANIEL       PEREA                        NM     90012998433
7598B98495B59B   JULIE        MITCHELL                     NM     90012979849
7598BA27861995   GALE         GORMAN                       CA     90006140278
7599168973B388   MAUREEN      WEISS                        CO     90003056897
7599267658B17B   ELIAS        WEINGARTEN                   UT     90006846765
75992889A72B32   JENNIFER     YOUNG                        CO     90015178890
75992A1158B163   ELIAS        ROMO                         UT     90008410115
75992AA585B59B   ARMIJO       DAVID                        NM     90003660058
75993AA6993728   TIFFANIE     TROTMAN                      OH     64542090069
75994A7447B477   KISURA       CLARK                        NC     90007900744
759951A6555939   JOSUE        ALBA                         CA     49090821065
7599542638593B   JENNIFER     LANDRUM                      OH     66060614263
75995A8969154B   MARI         RAMIREZ                      TX     75069350896
75996262572B87   JESSICA      COONTS                       CO     90010492625
759971A569154B   MELISSA      RAMIREZ                      TX     90009171056
75997885572B37   MANUELA      MARTINEZ SIMENTAL            CO     90011508855
75998395972B32   ALEX         MARTINEZ                     CO     33006313959
75998A6263168B   YADONICE     MARSHALL                     KS     90013460626
75998AAA297121   JOSE         MARTINEZ REYES               OR     90007830002
7599962A472B44   ELIZABETH    EITEL                        CO     90011416204
7599997678B142   DIANA        HOLDERTESS                   UT     90007039767
7599999198593B   GARY         MORGAN                       KY     66041959919
7599B56A781645   ROSE         ROBINETTE                    MO     90014935607
7599B84215B597   CHRIS        ALARID                       NM     35098168421
7599B87A172B87   MITCHELL     WILLIAM                      CO     33058768701
759B133398B157   GABRIELLA    MIJARES                      UT     90014783339
759B1348731433   KELLY        HUIGHE                       MO     27562873487
759B175A38B163   ELENIT       BAZAN                        UT     31034317503
759B183639154B   JOSE         VILLARREAL                   TX     75080568363
759B2113455939   CLAUDIA      RIVERA                       CA     90011841134
759B2157157157   EVER         RODRIGUEZ                    VA     90014431571
759B2529772B32   GENT         PORTER                       CO     33012985297
759B26AA472B32   GENT         PORTER                       CO     90014606004
759B283658B168   BOLIVAR      REYES                        UT     90009478365
759B2A41741227   LAWRENCE     LINGARD                      PA     90002590417
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 873 of 2350


759B2A49157157   EVER         RODRIQUEZ                    VA     81057530491
759B2A88672421   DAVID        PETRO                        PA     51087760886
759B324718B163   HUGO         NOLASCO                      UT     90013892471
759B3462672B32   MICK         POWERS                       CO     33008314626
759B3572772B44   MARIA        ALCARAZ                      CO     33071395727
759B3691881633   ALBERTO      RODRIGUEZ                    MO     90012476918
759B3791641237   LORRAINE     DIMARTINI                    PA     90012717916
759B3876871921   MANUEL       CABRILLO                     CO     90007928768
759B4278972B44   JUGBEH       DOE-SMITH                    CO     90009712789
759B4713641253   FAITH        COLES                        PA     51085537136
759B4781893739   THERESA      SCOTT                        OH     64521567818
759B485458593B   MERRY        RUSS                         KY     90014868545
759B574448B142   BELTRAN      KIMBERLY                     UT     90003697444
759B6254781645   YVETTA       NEAL                         MO     29000712547
759B643838B163   LUIS         CONTRERAS                    UT     90014524383
759B6529233698   LASHAWN      DAWKINS                      NC     12005505292
759B657698B168   JULIAN       MOLINA                       UT     90014365769
759B7316181645   KAMAL        HATCHER                      MO     90012743161
759B758A833699   CAROLYN      ROGERS                       NC     12091625808
759B765768B163   MARIA        CASH                         UT     90014496576
759B773527B477   CHER         SHAFFER                      NC     90014767352
759B784A131443   MALIN        KATHLEEN                     MO     90001448401
759B818715B384   SUSAN        LONG                         OR     44576691871
759B9459657474   DEIDRE       GRAY                         IN     90015464596
759BB257172441   EBONY        CARTER                       PA     51035732571
759BB2A2672B32   MIKE         JONES                        CO     90013622026
759BB367A8593B   LAURA        ALTMAN                       KY     66039963670
759BB88789154B   JOSE         RANGEL                       TX     75080568878
759BBA5368B134   ANDREA       HEDLEY                       UT     31091580536
75B111A1433698   ANA          NOLASCO                      NC     90009851014
75B113A493168B   DANIELLA     HERNANDEZ                    KS     90011663049
75B11458272421   TODD         ANDERSON                     PA     90011094582
75B11A39793739   TIFFANY      BOYD                         OH     90011350397
75B11A81357157   GULNAZ       HASSAN                       VA     90011990813
75B12271172B87   JUDITH       WALDEN                       CO     33076012711
75B128A255B59B   BRIDGETTE    MALDONADO                    NM     90014818025
75B12A87A72B32   MARISELA     AGUIRRE                      CO     90013930870
75B13121972B29   DUSTIN       CLUBB                        CO     90012881219
75B13164A81645   PLATINUM     PRO GROUP                    MO     29008221640
75B13356555947   RALPH        RIVERA                       CA     49080023565
75B13488231433   HERSCHEL     TURNER                       MO     27558234882
75B138A9341253   AMANDA       SMITH                        PA     90010718093
75B14271A72B29   JOMAN        MERUR                        CO     90012822710
75B14369A55947   BRANDY       RIVERA                       CA     49036233690
75B1443488B157   CHERRISH     SIMPSON                      UT     90009224348
75B14888872421   JOSEPH       WILLIAMS                     PA     51075788888
75B14AA817B477   NELSON       VASQUEZ                      NC     11087490081
75B1516488B157   ROSALIO      PEREZ                        UT     90014431648
75B1517A861922   IRENE        CASTRO                       CA     90006521708
75B1551489154B   ANTHONY      BASS                         TX     90010955148
75B16333A2B994   CARMELO      ROSAS                        CA     90010753330
75B16743472479   APRIL        JOHNSON                      PA     90014207434
75B16925241237   MIKE         JAMES                        PA     90014359252
75B17533257157   FATIMA       ESPINOZA                     VA     90010395332
75B17815441253   TRACEYLYNN   ALCANTERA                    PA     51044538154
75B17848731433   MICHAEL      BUTLER                       MO     90015088487
75B178A2772B37   DENISE       KIDDER                       CO     90004228027
75B18214693739   ROB          DEBOARD                      OH     90015152146
75B1868467B477   DANA         WALKER                       NC     90013596846
75B18774972479   ALICE        HORRELL                      PA     90014207749
75B1893765B59B   HERMINIA     BETELLA                      NM     35082039376
75B19361372B44   TERESA       OBANNON                      CO     90011353613
75B19528A8B163   SUSIE        BENCOMO                      UT     90002665280
75B19A26681645   WILLIAM      MILLER                       MO     90013280266
75B1B465341253   JONNIE D     STANTON                      PA     51091874653
75B1B56A272B44   DAVID        GRAY                         CO     33009815602
75B1BA7892B994   LUCIO        SANCHEZ                      CA     90014160789
75B21167281645   HAROLD       TRABUE                       MO     90006531672
75B21396185945   KAITLIN      YOUNG                        KY     67008703961
75B21456472479   CARLA        MEGELA                       PA     51075344564
75B21874172B93   SONIA        SOGLIA                       CO     90005948741
75B21952757157   TINA         JONES                        VA     90010599527
75B21A48155947   JOSE         GUZMAN                       CA     90014790481
75B2223478B142   CLINT        MARTIN                       UT     31033442347
75B223A6272441   CHRIS        JONES                        PA     90002873062
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 874 of 2350


75B22797481633   PABLO        MEDINA                       MO     90009197974
75B2286455B59B   JOHN         MONTANO                      NM     90015198645
75B23356641253   MICHELLE     COLE                         PA     51015663566
75B233A1472B87   ERICK        MONTES                       CO     90015053014
75B24179972B29   ERWIN        CANAS                        CO     90010721799
75B2444448593B   TIFFANY      HEATH                        KY     90010984444
75B2541358B168   WILLARD      SAMUEL                       UT     90005674135
75B2642A741253   WALTER       STEVENS                      PA     51074944207
75B26949672B32   TOMAS        ORTEGA                       CO     90012519496
75B272A545B59B   MONICA       PEREA                        NM     90013832054
75B27593272B29   JOSE         CASILLAS                     CO     33071675932
75B27758A8B163   COURTNEY     KEMP                         UT     90013737580
75B27884555947   RAY          CASTANEDA                    CA     90012418845
75B2837169154B   JESUS        NAVA                         TX     90000783716
75B28879533698   NAVI         HERNANDEZ                    NC     90012978795
75B2921828B168   VICTORIA     ANN                          UT     90004382182
75B29751755947   DAVID        DAVIS                        CA     49079957517
75B29994472B44   DANIEL       MASCARENAS                   CO     33086069944
75B2B397455947   PETZ         BARBARA                      CA     90001413974
75B2B59422B271   GEORGE       GOODEN                       DC     81000705942
75B2B64498B168   RYAN         ROBERTS                      UT     90008456449
75B2B942472B44   DESTINY      HERRERA                      CO     90014589424
75B2B972A41253   MISTY        YOUNG                        PA     90014109720
75B3182358B157   CHRIS        DEL RIO                      UT     31087388235
75B3213148B163   MCKENZIE     MIDDLETON                    UT     90012991314
75B32442493739   ANDREW       LOCKHART                     OH     90010934424
75B3282495B33B   OTISHA       GULLEY                       OR     90009578249
75B32844961964   DARIUS       JAEGER                       CA     46092978449
75B3341765B59B   ZAIMY        POZO-DIAZ                    NM     35084454176
75B33A62955939   ANA          ESPARZA                      CA     90012680629
75B3412568B168   LEONARDO     SEGURA                       UT     31015171256
75B3446A88B134   JOANN        MEITLER                      UT     31001214608
75B34485331443   TONI         JONES                        MO     27564064853
75B34495A81645   MISHEL       RODAS                        KS     90009204950
75B34656A8B163   JONQUILL     GARCIA                       UT     90014396560
75B3466977B477   TONY         SIMPSON                      NC     11003666697
75B3493479154B   SARA         ESCAJEDA                     TX     90009959347
75B35182272B37   ELIU         VILLAGRANA                   CO     90009881822
75B3629A77B477   KENNETH      NEWBY                        NC     90012262907
75B36696331443   TIFFANY      STENNIS                      MO     90011076963
75B3682A39154B   SOPHIA       ROMAN                        TX     90007228203
75B36945757474   LUZ          MORAZA                       IN     90015399457
75B36A2A23168B   MICHAEL      JACKSON                      KS     90000220202
75B37491A31433   CARLOS       JIMENEZ                      MO     27541794910
75B3788668B157   MARION       KUNC                         UT     31038118866
75B38287372479   JESSICA      GRAFT                        PA     90012492873
75B38481A57157   MARIO        ANTONIO                      VA     90005424810
75B38887971921   JASON        BRADFORD                     CO     90007848879
75B39226A8B142   WESTON       SMITH                        UT     31058772260
75B39331372B29   ARTURO       ALVAREZ                      CO     33020473313
75B39958655947   ASHLEY       LOPEZ                        CA     90015239586
75B39972472479   GEORGE       WINTERS                      PA     51014929724
75B3B593481637   ANDRE        HARDIN                       MO     29062905934
75B3BA81572B87   NATHAN       MONDRAGON                    CO     90011670815
75B41144772B29   MANUEL       TOLEDO                       CO     90013051447
75B41327431624   KIMBERLY     ROBINSON                     KS     22045613274
75B41336155947   CHRISTIAN    LEWIS                        CA     90014543361
75B4155A755939   EDITH        GONZALEZ                     CA     90014715507
75B41587472B44   JAMIE        YEITER                       CO     33002385874
75B42356A57157   KEVIN        MISKELL                      VA     90005703560
75B42382771921   SHANNON      CARR                         CO     90015313827
75B4255938B157   EDDIE        MARTINEZ                     UT     90014375593
75B42562171921   LOUIE        AVILA                        CO     32028395621
75B4272A741237   MONTRESA     HOLDEN                       PA     51007157207
75B432A8A93739   KYLE         LEISENRING                   OH     64595252080
75B4369738B157   CLIFFORD     MOORE                        UT     90015016973
75B4377365B587   REBECCA      VARELA                       NM     35064467736
75B43A23272B37   EDGAR        CHAN                         CO     90009540232
75B43A58271921   DOMINIQUE    GARCIA                       CO     90012070582
75B4433485B332   MARCIE       DEARING                      OR     90005363348
75B4446987B45B   MANUEL       MARTINEZ                     NC     90001944698
75B44598672479   MICHELLE     JOLLY                        PA     51095005986
75B44664872441   CORY         GORDON                       PA     90002946648
75B446A7931433   RENNE        JAMISON                      MO     90013506079
75B44754272B87   HENRY        MARTINEZ                     CO     90011117542
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 875 of 2350


75B44755841227   BENJAMIN         SIROKY                   PA     51032997558
75B447A6A3B358   KIRSTEN          LITTLE                   CO     90002907060
75B44A75772B37   MOHAMED          BENSRIETI                CO     33060030757
75B4633619154B   MAYRA            DELGADO                  TX     90011333361
75B46A45172441   BONNIE           FRANKENSTEIN             PA     51004890451
75B46A8933168B   ERNESTO          PEREZ                    KS     90001070893
75B47151141227   JERRY            SIMMONS                  PA     51053451511
75B4741515B59B   EMMANUEL         CHAVARRIA                NM     90008124151
75B47432457157   ISMAIL           HAJI-MUMIN               VA     90014004324
75B48244A8B134   JOHN             BALL                     UT     90001012440
75B48263572B44   JESUS            VILLANUEVA               AR     90013752635
75B48581A5B59B   ANGEL            JARAMILLO                NM     90013955810
75B48A19972B44   ROBERTA          AGUILAR                  CO     90012910199
75B49314341237   KEITH            EDWARDS                  PA     90014953143
75B4B18998593B   BARBARA          GALLAGHER                KY     90004321899
75B4B483157157   CARLOS ARMANDO   AVILES                   VA     90007644831
75B4B671A8B157   FABIOLA          PACHECO                  UT     90015166710
75B4BA2795B384   RUAN             NICHOLS                  OR     44567500279
75B51286472479   MICHELE          MACKEY                   PA     51033432864
75B5147682B994   RAFAEL           RIOS-OCARRIO             CA     90013644768
75B51675A72B29   SERGIO           ROCHA                    CO     90012536750
75B52241A9154B   DIANA            PEREZ                    TX     90011152410
75B52275772B32   PABLO            GOMEZ                    CO     90014632757
75B52356841237   JOSEPH           GUTIERREZ                PA     90010353568
75B52889355939   LORETTA          GILLIES                  CA     48013008893
75B52A13355966   KRISTINE NOEL    HELSABECK                CA     90003380133
75B52A25741253   SUMBWANYAM       KANGWANDA                PA     51052000257
75B531AA28B134   MARK             DEMILLE                  UT     90013451002
75B5368A58B142   LINDSAY          THOMPSON                 UT     90010496805
75B53856A85945   RICHARD          OVERSTREET               KY     90008708560
75B54153341253   LONDON           EBERHART                 PA     90014141533
75B54283A72B44   MIKE             WATTERS                  CO     33014872830
75B54336733698   ROD              PRATT                    NC     90006363367
75B54581857157   MARIA            ANDINO                   VA     81040185818
75B54589A3B325   MICHAEL          TROYER                   CO     33084825890
75B546A9755939   MAYRA            FLORES                   CA     48047816097
75B54854972421   MICHELLE         DOYLE                    PA     51042008549
75B54889172B37   BARBARA          JOHNSON                  CO     33062708891
75B5499115B59B   LUZ              HERNANDEZ                NM     35058089911
75B55123672B44   DAVID M          AGUILAR                  CO     33069091236
75B5546288B168   BOBBY            JOHNSON                  UT     90012214628
75B55473555939   ZULEMA           PENA                     CA     90013444735
75B55635372B37   HERMAN           RAMIREZ                  CO     90007946353
75B55A71855947   MICHEAL          GREEN                    CA     90011430718
75B55A7442B84B   JOURDAN          DELBRIDGE                ID     90013380744
75B56257272B29   HELIO            GONZALEZ                 CO     33050992572
75B5685A355947   JESSICA          HERNANDEZ                CA     90008618503
75B56941A5B34B   MIRELA           NELSON                   OR     44577299410
75B5721638B168   MARIA            CRUZ                     UT     90006722163
75B57261972B87   GUADALUPE        MUNOZ                    CO     90015052619
75B5727777B477   CAROLYN          JETER                    NC     90012632777
75B57355972B44   KITTY            WINSTON                  CO     90007973559
75B57633272B32   RAMON            BACAHUI                  CO     33023866332
75B57668955947   IGNACIO          VILLALOBOS               CA     90012146689
75B58256997171   ERIN             HOFFMAN                  OR     90013462569
75B58811372B37   RUBY             COTA                     CO     90001858113
75B58854972421   MICHELLE         DOYLE                    PA     51042008549
75B58863A3168B   DADI             BROWN                    KS     22032418630
75B58992857157   ALEJANDRO        BRITO                    VA     90013969928
75B5957819154B   MARTIN           BERNALDEZ                TX     90008975781
75B59933651337   BETTY            JONES                    OH     90001639336
75B5B148493739   TREY             WOODARD                  OH     90013061484
75B5B1A4241253   ANDY             BURRIANEK                PA     90010411042
75B5B498372B87   CAROLYNN         LAVOATO                  CO     90004994983
75B5B552333699   TESHA            THACKER                  NC     12085385523
75B5B564655947   TONY             SIMPSON                  CA     49032655646
75B62379172B44   LINDA            CARDONA                  CO     33082123791
75B62555472B32   CLAUDIA          DOMINGUEZ-SIMENTAL       CO     90013905554
75B63266385945   MICHELLE         BRYANT                   KY     90011892663
75B63281281645   PAYGO            IVR ACTIVATION           MO     90012712812
75B63673325144   JANESHA          JOHNSON                  AL     90013846733
75B63A43172B29   MICAELA          ROSALES                  CO     90010040431
75B6412647B661   SHAREESE         ROBINSON                 GA     90005111264
75B64292A9154B   LILI             FLORES                   TX     90013072920
75B64359787B26   FREDRICK         HAWKINS                  AR     90013653597
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 876 of 2350


75B6455188B142   CLIFFORD         PRATHER                  UT     90005965518
75B6482112B24B   SHAYLA           THOMAS                   DC     81010638211
75B64883972B32   JOSEPHINE        ESCARAY                  CO     90009868839
75B65512472B44   RITA             MARTINEZ                 CO     33056245124
75B6563818B142   WHITNEY          WINEGAR                  UT     31006306381
75B65749381645   JOSEFINA         VARGAS                   MO     90013607493
75B66544A8593B   AMANDA           BAILEY                   KY     90013065440
75B668A848B159   SHAUN            CLARK                    UT     31030648084
75B66A13A7B477   JEFFERY          BOLES                    NC     11005750130
75B67657731432   ADAM             JONES                    MO     27585886577
75B6778898B163   CARAH            YOUNG YUEN               UT     90014307889
75B67812181645   NICOLE           BEDFORD                  MO     90013208121
75B67A92A8B168   KRISTIN MAKALE   FRAZIER                  UT     90014730920
75B6865227B334   GERARDO          ABAUNZA                  VA     81015996522
75B69284557474   PAYGO            IVR ACTIVATION           IN     90015132845
75B69515955939   JASMINE          RANGEL                   CA     90013265159
75B69646641237   CHARICE          GAINES                   PA     90015206466
75B69861A55939   MONICA           AVILA                    CA     90011078610
75B698A838B157   MANUEL           RECORD                   UT     90012398083
75B69984841237   ERIC             COOK                     PA     90015229848
75B6B383131432   JANAY            JONES                    MO     90014663831
75B6B38722B994   VIVIAN           THOMPSON                 CA     90014693872
75B6BA4243168B   DAN              WORD                     KS     90012400424
75B71275A3168B   ANABEL           NAVA                     KS     90000262750
75B713AA924B41   TYREEK           HALL                     DC     90001653009
75B716A8757474   INOCENCIO        SAUCEDO                  IN     90015536087
75B72711733698   DANIEL           PEREZ                    NC     90013787117
75B73289357157   WENDY            DUENAS                   VA     90014182893
75B733A5857157   WENDY            DUENAS                   VA     90014183058
75B73562A55947   MICHELE          ECHEVERRIA               CA     90000185620
75B737A4741227   ERIN             AITON                    PA     51073537047
75B73A92755939   STACI            CHAPMAN                  CA     48092030927
75B7416135B59B   ANABETH          DELCANTO                 NM     90013911613
75B74437433699   JERRY            ALLEN                    NC     90004264374
75B74876772421   MICHELE          MAGLICCO                 PA     90000548767
75B74932955939   ART              LOPEZ                    CA     48088459329
75B74951755991   SIVILAY          SANANIKONE               CA     90007329517
75B74A7288B168   RUELAS           SILVIA                   UT     90010210728
75B75152271928   BARBARA M        GRAHAM                   CO     90008211522
75B75462433657   JAMIE            WASHINSTON               NC     90014714624
75B75612981633   SEAN             BARGER                   MO     90007736129
75B75818761922   ALICIA           BURKE                    CA     90005708187
75B75A74641237   MARY             GROOMES                  PA     51083640746
75B7616A341237   KIMBERLY         SMITH                    PA     90004181603
75B76439233698   ROSE             MELTON                   NC     12073664392
75B76462891832   FRANCISCO        GALLARDO                 OK     90011044628
75B772A5A5B59B   MARGARITA        ANGUIAN                  NM     90007742050
75B7766785B384   JOSHUA           MEYER                    OR     90013286678
75B77916441253   MICHAEL          SWEENEY                  PA     51043519164
75B77A85571921   CHRIS            ROWELL                   CO     90005350855
75B7835718B157   KELSEY           BOWERS                   UT     90013183571
75B7862475B59B   LINA             RAMOS                    NM     35080126247
75B7876255B921   RICKY            HEESH                    ID     41069467625
75B795A817B661   JASMINE          JACKSON                  GA     15096395081
75B7B265793739   CHERIE           BUCHANON                 OH     90011082657
75B7B4A2A31432   ROBIN            HIBURN                   MO     27566104020
75B7B741833645   ALEXIS           VANDERBUILT              NC     90014817418
75B81397141253   DAVID            GRAY                     PA     90000683971
75B82163972B44   MARIA            MENDOZA                  CO     33055441639
75B82315A72479   TIFFANY          DANIELS                  PA     90014333150
75B8236A585945   CARLOS           GONZALEZ                 KY     90007533605
75B82673572479   TIFFANY          DANIELS                  PA     51066066735
75B8276297B367   DAVID            VENTURA                  VA     90006857629
75B82AA1472B37   MICHELLE         MARTINEZ                 CO     33060380014
75B83A25341227   ETHEL            BULLOCK                  PA     51029090253
75B8414275593B   JENNIFER         XIONG                    CA     90002431427
75B84339A72B32   CHRIS            MONGER                   CO     33063563390
75B84462857157   LISSETT          BLANDON                  VA     90013124628
75B845AA38B163   STEPHANIE        SIMSON                   UT     90011015003
75B8525998593B   ADAM             SCALES                   KY     90012302599
75B8661597B661   EMMANUEL         OTTIBOATENG              GA     90000396159
75B86889572441   JOAN             BRUNNER                  PA     51020148895
75B8731733B38B   ARTHUR           BAXTER                   CO     33005093173
75B88275372B37   MARCELINO        REYES                    CO     90011912753
75B8834822B994   JOSED            AGUILAR                  CA     90014083482
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 877 of 2350


75B88359787B26   FREDRICK      HAWKINS                     AR     90013653597
75B88474781643   VIRGINIA      HINTON C                    MO     29050254747
75B8894A872B29   IMELDA        ESCAMILLA                   CO     33049789408
75B89271872B44   DAVID         GUERRERO                    CO     90005032718
75B89339733698   LATISHA       GANT                        NC     90010513397
75B89593A85945   SUSAN         PUCKETT                     KY     90009515930
75B8987568B142   ANDREW        JENSEN                      UT     90014958756
75B8B1A3641237   DENNIS        BEEMAN                      PA     90009971036
75B8B2A5872B44   JUAN          CARLOS                      CO     90015222058
75B8B49637B46B   PAULRICK      LITTLE                      NC     90006354963
75B8B56259186B   TERRY         DEESER                      OK     90013635625
75B8B864372441   JOCELYN       CRAKER                      PA     90006258643
75B8B895272B37   AMELEWORK     ZEINA                       CO     90013298952
75B8B897785945   ELIJAH        TEVIS                       KY     67009438977
75B9122A17B477   FELIPE        CANO                        NC     90013722201
75B9128A461597   KALIYAH       ALLEN                       TN     90015512804
75B91497372B44   REYNALDO      FERNANDEZ                   CO     90003884973
75B91748A7B495   MALJORCA      GAY                         NC     90001707480
75B918A7172B32   HELIODORO     CALDERA                     CO     90014578071
75B91975433698   KING          WONDA                       NC     12040619754
75B92661641227   VICTORIA      COCHRAN                     PA     51086596616
75B92869572B44   FESAL         TUBA                        CO     90015168695
75B92A2525B59B   ANTHONY       LUCERO                      NM     90014920252
75B93126933698   DARREN        CLARK                       NC     90011091269
75B93534572B29   PATRICIA      GARCIA                      CO     33091735345
75B93849271921   RACHEAL       JACKSON                     CO     90009728492
75B9385955B59B   FELIPE        CARABAJAL                   NM     90010888595
75B93994272421   TED           BALDWIN                     PA     51073919942
75B94253A31433   AMANDA        WARREN                      MO     90015232530
75B943A178B142   JOSHUA        BUTTS                       UT     90014473017
75B9467649132B   PAULA         COMMODORE                   KS     90015126764
75B94892433699   TAMMIE        SHEFF                       NC     90001218924
75B94A5318B157   CHRISTOPHER   CHEENEY                     UT     90013360531
75B9528A272B32   LUCILA        DIAZ                        CO     90014632802
75B955AA955947   TEDDY         CATANO                      CA     90006255009
75B9664487B477   MARY          CLEVELAND                   NC     90014166448
75B96771981643   SANDRA        RAMIREZ                     MO     29052917719
75B96973172B29   MARIO         VELASQUEZ                   CO     90010799731
75B971A2772B37   LUZ           GARCIA                      CO     33002761027
75B97283155939   SANTIAGO      IBARRA                      CA     48009232831
75B97418454121   KEVIN         BURNETT                     OR     90014004184
75B976A8972B44   DANNA         MOLLEDA                     CO     90006846089
75B97845493736   GERARDO       RODRIGUEZ                   OH     90009448454
75B98395357474   STEVE         STATLER                     IN     90015443953
75B98428641237   JEAN          SEVERE                      PA     90012644286
75B98A37157129   MARIBEL       FUNES HERNANDEZ             VA     90010590371
75B98A39893739   CHRISTY       GENGLER                     OH     90009940398
75B99121681645   SCOTT         FARRELL                     MO     90004771216
75B99135561465   RANDY         CROSTON                     OH     90015461355
75B9917A48B142   RAMON         VILLAJAS                    UT     90012921704
75B99667686443   SOPHIA        WEATON                      SC     90014586676
75B9969A355939   FERNANDO      VAZQUEZ                     CA     90013706903
75B996A3885945   ANN           WALLACE                     KY     90009516038
75B9B26549154B   CAROL         RAMIREZ                     TX     90008002654
75B9B4A9133698   MARIA         HERNANDEZ                   NC     12014724091
75B9B939172479   APRIL         HEADY                       PA     90011649391
75BB1174293739   SHATON        DIXON                       OH     90014701742
75BB1276741237   ROBERT        MCKEE                       PA     51083462767
75BB139A131432   SHAYNA        PARKER                      MO     27544673901
75BB1976341227   PHIL          BLAIR                       PA     90012359763
75BB1A17241227   JENNIFER      GALLICK                     PA     90000860172
75BB239637B477   KENYA         WILLIAMS                    NC     11063483963
75BB2611857157   LUIS          CRUZ                        VA     90013966118
75BB26A1255966   GUADALUPE     CISNEROS                    CA     90007046012
75BB31A972B271   TANIA         BOND                        DC     81093681097
75BB3344531433   SADE          SIMS                        MO     90014803445
75BB4582272B44   PAYGO         IVR ACTIVATION              CO     90004665822
75BB4643633698   DOUGLAS       WALKER                      NC     12072146436
75BB466A772479   STACY         NICHOLS                     PA     90012976607
75BB4A79471921   RAFAEL        SANABRIA                    CO     32074980794
75BB5559472B44   GONZALEZ      GUADALUPE                   CO     33078265594
75BB5984461935   CLAUDIA       PENA                        CA     90008669844
75BB7529581645   BOBBY         TAYLOR                      MO     90012975295
75BB7725572B32   JOHN          ALDACO                      TX     33008967255
75BB7761272B29   BHIMA         ADHIKARI                    CO     33065427612
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 878 of 2350


75BB8159641227   ISAAC          RODRIGUEZ                  PA     90002541596
75BB8184255939   JHANCARLO      RODRIGUEZ                  CA     90011911842
75BB8A1938B157   OTTO R         SCHEELJE                   UT     90010240193
75BB8A37572B87   SAM            PEREZ                      CO     33046240375
75BB9136457474   JOLI           ERB                        IN     90015461364
75BB944A89154B   ERNESTO        TORRES                     TX     75016324408
75BB9463272B87   SIMON          AYALA                      CO     90012494632
75BBB3A623168B   ELIZABETH      PARKER                     KS     90014173062
75BBB432431443   OZZIE E        BURGESS JR                 MO     27516464324
75BBB545841237   VONDA          MCCREE                     PA     51031965458
75BBB5A6857474   CESAR          GONZALEZ                   IN     90015555068
75BBB728672B37   SCOTT          STOPHER                    CO     90014817286
75BBB95369154B   JV             CONSTRUCTION               TX     90003329536
7611167738B134   MOLLY          ELTING                     UT     31084666773
7611174535B571   HEIDI          HAGENLOH                   NM     90009627453
7611189A78B157   AYANGE         MENCHA                     UT     90003088907
76111A1518B134   ERICKA         FONSECA                    UT     90012340151
7611236A372B87   ZOE            ROGERS                     CO     90014543603
76113673772B22   JOSEPH         SHAW                       CO     90014686737
761136A8493739   JAMES          LONG                       OH     90001896084
76114384472B29   ABRAHAM        AGUILAR                    CO     33092553844
7611455A672B32   ENJOLI         GARCIA                     CO     90010245506
76115647772B29   LUIS           HERNNADEZ                  CO     90014146477
7611617553B137   WATTY          FRAZIER                    DC     90014851755
76116715672B44   CYNTHIA        ORNELAS                    CO     33095847156
7611749968593B   KATHLEEN       STOWERS                    KY     66040564996
76118177A72479   LAURA          BURGESS                    PA     90003021770
76118A48441237   CINDY          TRIMNAL                    PA     90014970484
76118AA8941253   TANIA          MOSLEY                     PA     90013010089
7611944293168B   SHEILA         HELMS                      KS     90008854429
76119684472B37   LUDIVINA       SANCHEZ                    CO     33031136844
7611B1A4181633   ELBERT         BRADLEY                    MO     90003621041
7611B389941227   LUCIENNE       BELFIGLIO                  PA     90002113899
7611B457A8B134   SENEY          TOSCANO                    UT     90003674570
7611B643A3B137   RENE           VASQUEZ                    VA     90007856430
7611B671672B29   ENRIQUE        SOSA                       CO     33056576716
7612116189154B   MARK ELLIOTT   ELLIOTT                    TX     90012081618
7612121218B134   MARIO          MORALES                    UT     90010132121
7612126A572B44   MARIA          AGUAYO                     CO     33035332605
7612132654B548   PAMALA         JACKSON                    OK     90011783265
7612243A172B87   YOLANDA        ESTRADA                    CO     33072784301
761226A3431432   DESTANEE       EARVIN                     MO     90009856034
76123397772B22   DAISY          PERRY                      CO     33045633977
76123669A72B32   AMANDA         BORDWELL                   CO     90013176690
7612369495B59B   LUCERO         CHAVEZ                     NM     90012986949
761238A3893739   MICHELLE       ADDUCI                     OH     64592408038
7612432838593B   MACK           JOHNSON JR                 KY     90013013283
761243AA731432   SHANE          BRILEY                     MO     90013173007
761246A7A9154B   JESUS          HERNANDEZ                  TX     90006786070
76124A82272B87   SHERRY         MOSS                       CO     33092740822
7612523A18B142   MICHELLE       EHLERS                     UT     90001822301
76125A69255939   TITO           ORELLANA                   CA     90009640692
7612686912B994   MIGUEL         ANDRADE                    CA     90014858691
76126A43572B22   MARISSA        RILEY                      CO     90012890435
76127434372B37   VICTORIA       RAIGOSA                    CO     33063964343
7612794A641253   JOSHUA         WALTERS                    PA     51083259406
76127A49591993   MERCY          NDAMBIRI                   NC     17084220495
7612825138B168   SHANDA         ROBINSON                   UT     90006592513
76128293972B29   LARRY          RANSON                     CO     90013552939
76128478472B37   YOLANDA        VAQUERA                    CO     33055624784
7612855618B163   JULIE          AROLOW                     UT     90003605561
7612861342B26B   SHERKURA       WOOD                       DC     90014356134
76129A47A72B22   LUIS           GONZALES                   CO     90012890470
7612B17837B477   SCOTTIE        KELLY                      NC     90012301783
7612B294455939   RUBI           APRESA                     CA     90012772944
7612B421A7B386   WILBER OMAR    RIVAS                      VA     90004824210
7612B68727B477   JOSE OSCAR     VASQUEZ                    NC     90014846872
7612BA53633698   ROBERT         CARRINGTON                 NC     12087800536
76131797A71921   JOANN          MARTINEZ                   CO     90008337970
76131846872B44   RICO           RODELLO                    CO     90014708468
7613228513168B   CHRYSTAL       CURTIS                     KS     90012442851
76132316772B87   MARTIN         WHALEN                     CO     33008773167
7613249915B59B   EVER           NEVAREZ ROJO               NM     90005564991
7613253734B27B   EMEFA          QUASHIE                    NE     90005515373
76132A49793739   TISHA          DAVIS                      OH     90007350497
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 879 of 2350


76133396A9154B   LUIS              ESPINOZA                TX     90014183960
76133699A55966   JASAE             SEE                     CA     90007406990
76133A39972B44   EVANGELINA        BECERRA                 CO     90000980399
76135A18A72479   KEITH             TOROK                   PA     90013240180
76136463472B87   MICHELLE          AGUILAR                 CO     90005394634
7613649915B59B   EVER              NEVAREZ ROJO            NM     90005564991
7613659278B168   MATTHEW           MOWER                   UT     90008265927
7613669328B157   GABRIELA          BASTIDAS                UT     31002476932
76137517672B29   NATASHA           MEEKS                   CO     90004655176
76137A2475B384   ENRIQUE           CHAVEZ                  OR     90003960247
76137A8533B137   RICHARD           RAYFORD                 DC     90014440853
7613814A58B142   JARVIS            DANNY                   UT     90012021405
7613828A47B477   MELINDA           CARTER                  NC     90014802804
76138444272B87   MIGUEL            HERRERA                 CO     33041184442
761387A388B157   ASHLEE            COOK                    UT     90007847038
7613882488B163   RENA              VAAIFETU RIPLEY         UT     90015028248
76139158597B39   LINDA             BUTLER                  CO     39054571585
76139246472B27   NIDIA             SAUCEDO                 CO     90011842464
76139539A7B477   AYSIN             JANAY                   NC     11003905390
7613B184941237   BONNIE            HOPKINS                 PA     51082591849
7613B285951355   LESLIE            YOUNG                   OH     66017522859
7613B41965B331   ORALIA            MARIN                   OR     90011484196
761413A2772B37   GREGORIO          VEGA                    CO     33020193027
76142625972B22   MANZANARES        GLORIA                  CO     33012286259
76142632172B87   JESSICA           GARCIA                  CO     90013066321
7614266579154B   GUADALUPE         MEDRANO                 TX     90014536657
7614359388B142   DANIEL            WRIGHT                  UT     90014865938
76143663972B37   MARIA             GUEVARA                 CO     33075836639
76143773972B29   GISELLE           GOMEZ                   CO     90015307739
76143786A72B29   GISELLE           GOMEZ                   CO     90011417860
76143A68831432   MARY              BORNEY                  MO     90012060688
7614411267B358   ROSA              MARTINEZ                VA     81024561126
761441A4351355   HARRY             PEREZ                   OH     90010831043
7614481986192B   MARIA             MIRANDA                 CA     90008198198
7614587148B157   AMIDY             EDWARDS                 UT     90014618714
76145A8799154B   MIANO             OJEDA                   TX     90010780879
7614649578B163   JULIE             HOGUE                   UT     31006174957
7614662A78B142   JUANA             TRUJILLO                UT     90014176207
76146793A8B134   CHRISTINE         RUNNELLS                UT     90013947930
7614694753168B   TYLER             ROBINSON                KS     22009719475
761476A1755966   JENNIFER          HERNANDEZ               CA     90014776017
7614771418B134   DIRK              SMITH                   UT     31091937141
761478A7155947   LYNDA             ROMIAS                  CA     90011958071
76147A61693739   KILEELA           WORTHAM                 OH     90014650616
76148411872B87   JESSICA           LOPEZ                   CO     90009914118
76148A26872B44   PHILACIA          LADEAUX                 CO     90013550268
7614945428593B   MELISSA           MURRAY                  KY     90012424542
761495A2172B44   INCISUNI          ALVAREZ                 CO     90012785021
7614978A95B59B   FLORELLA          GAMIO                   NM     90012747809
7614B159255947   YARRA             TORRES                  CA     90013101592
7614B512651355   ALICIA            GILBERT                 OH     90004165126
7614B738A85945   FELICIA           ADAMS                   KY     90011187380
7614B84147B477   KAREN D           GILES                   NC     90009658414
7614B91819154B   JOSFINA           AGIUILAR                TX     90007839181
7614B96A541253   MIKE              GALOVICH                PA     51064179605
76151A43A72B87   ANGELINA          DAVILA                  CO     33093070430
76151AA8872B32   GUSTAVO           RAMIREZ                 CO     90010830088
7615232685593B   LYNN              MOORE                   CA     90013753268
76152579A8B385   ANTHONY           WEATHERS                SC     90015375790
761527A7A72B87   SMITH             HEATHER                 CO     33000897070
76152871A93739   TYLER             ENEIX                   OH     90004378710
76152A54972B32   PRISCILLA OLVIA   TRISTAN                 CO     90012500549
76152A88131433   CLIFFORD          MAY                     MO     27553820881
761532AA372B87   SHERRI            DOMINECK                CO     90003882003
7615357795B375   WENDY L.          HILL                    OR     90011415779
7615361A78B142   LACARO            DE JESUS                UT     31035766107
7615384298B163   MARCELA           BONTRAGER               UT     31039028429
7615398AA71921   JOLENE            VASQUEZ                 CO     90012319800
76154545672B87   ARMANDO           ORTIZ                   CO     33086735456
7615484739154B   TOMMY             QUINTANA                TX     90013358473
76155395172B32   EZMERALDA         LUJAN                   CO     90008743951
76155493A71921   MANUEL            CORDOVA                 CO     90013814930
76155819A9154B   VIVIANA           VEGA                    TX     90003068190
761558A3971921   SHANNON           GIBSON                  CO     90015328039
761569AA172B87   HENRY             SANDOVAL                CO     33018319001
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 880 of 2350


76157A57741227   JEROME       JORDANSINGLETO               PA     51017540577
761582A618B134   GABRIELLA    LOVELL                       UT     90012392061
76158733472B44   TASHA        DEHERRERA                    CO     90005757334
76158873272B29   OCTAVIO      VALENCIA                     CO     90004778732
7615889A655939   ROSANA       NUNEZ                        CA     90015058906
76159527572B32   LOUISA       MANESS                       CO     33027075275
7615B169855966   MARTIN       MOROLES                      CA     90007931698
7615B195631432   YOLANDA      NORWOOD                      MO     27573621956
7615B442941227   LAURA        BALLARD                      PA     51020594429
7615B555372B44   JESS         VALDEZ                       CO     33032585553
7615B863772479   JEREMY       THEAKSTON                    PA     90014068637
76161434272B37   GERARDO      RAMOS`                       CO     33062694342
761618A628B134   ELIZABETH    MARTINEZ                     UT     90010458062
761624A778B157   DEAN         ALLEN                        UT     90013284077
76162523A72B44   RENEE        LASHELL GAY                  CO     90012005230
76163466A71921   CHAD         ANTHONY                      CO     32092624660
76163728A72479   JESSICA      BITTINGER                    PA     90014847280
76163A96651355   LATISHA      GLARDON                      OH     66031100966
76163AA857B477   MIRIAMS      MENDOZA                      NC     90000320085
7616421898593B   KRISTINA     GROGER                       KY     90014702189
7616472585B59B   ALEJANDRO    MOLINA                       NM     90002277258
7616526218B142   JEFFREY      CHIDESTER                    UT     31094532621
761654A745593B   ANDRES       MORALES                      CA     90013894074
7616598728B168   BARBARA      SA                           UT     90011709872
761662AA972B44   CECILIA      SERRANO                      CO     33074772009
7616646244B588   OMKAR        SINGH                        OK     90008124624
76166A37A8B142   MAGAN        ROOKE                        UT     31035080370
7616716A672455   KATHLEEN     LUTES                        PA     90013471606
76167526172B22   DESIREE      WATKINS                      CO     90013535261
76167923A7B477   ROSALBA      MARTINEZ                     NC     90004559230
7616815788B142   DALLAS       DRAPER                       UT     90013601578
76168227A8593B   KARA         CRONON                       KY     90012332270
76168584772B37   ABEL         RICALDY                      CO     90004015847
7616877549154B   MA ISABEL    ARROYO                       TX     75084937754
76168A8A272B29   TERRY        WINKLER                      CO     90003470802
761691A4281633   ELIZABETH    SIEVERS                      MO     90012011042
7616921228B163   RODOLFO      MENDOZA                      UT     90003982122
76169398272B22   JULIAN       JOHNSON                      CO     90001183982
7616953298593B   STEVE        ROUNDS                       KY     66051805329
76169677A55947   JACOB        HIGUERA                      CA     49029496770
76169A1A85B59B   JONATHAN     NULL                         NM     90015050108
7616B835941253   CARMAN       RAY                          PA     51010818359
7616BA18A72479   KEITH        TOROK                        PA     90013240180
7616BA32472B44   JENNY        MCGUIRE                      CO     90003690324
7616BA56472B22   ISABEL       REAVES                       CO     90012890564
7616BA5A257133   JANET        MONTIEL                      VA     90009880502
76171117472B37   CARLOS       MALDONADO                    CO     90014671174
7617137139154B   ARTURO       MALDONADO                    TX     90013173713
76171424172B44   ROGER        GURRERO                      CO     90013034241
7617161738B142   GARY         SWAIN                        UT     31073886173
76171A25831432   LATONYA      WILLIAMS                     MO     90015270258
76173812872B37   JOSE         GOMEZ                        CO     33089808128
7617383539154B   BRENDA       LARA                         TX     75073348353
76174248272B44   JUSTUS       RODRIGUEZ                    CO     90013072482
761743AA85B59B   DEBORAH      LOPEZ                        NM     90011973008
76174A6A755966   SOLEM        MARTINEZ                     CA     90002250607
76175116772B32   JOSE         CARANZA                      CO     33095311167
7617543977B477   RAMIRO       GANZALEZ                     NC     11011424397
7617579958B157   BLAKE        BOREN                        UT     31007897995
76175A58472B87   LETITCIA     DELARIVA                     CO     90008170584
7617628349154B   MANUELA      GONZALEZ                     TX     90001662834
7617633157B477   CLOVER       SMITH                        NC     90012973315
7617718232B248   SHARON       ADAMS                        DC     90003141823
7617733349154B   DANIEL       GONZALEZ                     TX     90008453334
76177544372B37   SALLY        MEDINA                       CO     90013555443
761777A938B163   DONALD       RICHARDSON                   UT     90015047093
7617793A371928   KYE          SMITH                        CO     90013469303
7617798432B994   AMANDA       GOFF                         CA     90002429843
76177A13251355   KAITLYN      MARSH                        OH     90014500132
76177A64391993   SAMANTHA     PERRY                        NC     17007230643
7617869259154B   GERARDO      ARANDA                       NM     75024576925
76178A1237B477   BARBARA      PETERSON                     NC     11001670123
76178A7868593B   RICK         GUIDUGLI                     KY     90007200786
76179537172B44   ANDREW       DUKE                         CO     33056395371
76179A27272B22   GABRIEL      MAJOR                        CO     90013520272
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 881 of 2350


7617B119941253   AMY              TAMBURRO                 PA     90013571199
7617BA95291993   TAQIYYAH         FALLS                    NC     90011110952
76181867272B44   PAULA            ARCHULETA                CO     90014658672
76181AA348B168   DANIEL           FRANKII                  UT     90003860034
7618264869154B   LILIANA          CANALES                  TX     75030026486
7618345113168B   JOHN             RYAN II                  KS     22057024511
76183867A7B477   FREDA LAVERNE    TYSON WILLIAMS           NC     90007448670
7618387A52B242   SHONTE           PERRY                    VA     90007878705
76183A62851355   MINDY            ROBERTS                  OH     90011940628
7618578795B59B   CHRISTINA        MORA                     NM     90012037879
7618583998B134   REFUND           EXPRESS                  UT     90013948399
7618642948593B   ERICA            WAGNER                   KY     90010534294
7618665AA72479   DYLAN            FROST                    PA     90005586500
761869A8772B44   JAVIER           HUMILNAR                 CO     33007479087
76186A3A351355   ISIDRO           DELGADO                  OH     90010370303
76186A4547B662   LAMONICA         WILLIAMS                 GA     90014380454
7618718298B134   ANEL             ARROYAVEZ                UT     31065831829
76187A87772479   BERNARD          WILKERSON                PA     51030940877
76188358972B87   REINA            CAYLOR                   CO     33090903589
7618867858B163   MARTIN EUGENIA   KEMP                     UT     90013116785
7618885618B157   MARVIN           ACKMAN                   UT     90015098561
7618942912B994   MICKEY           HALL                     CA     90002854291
7618979215B59B   JOSE             MARTINEZ                 NM     90011437921
7618B22438B168   JEFF             CLAYTON                  UT     90000402243
7618B434A41253   WILLIAM          BEKAR                    PA     51008224340
7618B72898B142   ETHAN            CARTER                   UT     90003527289
7618B92A45B59B   DESIREE          BALDONANDO               NM     90015179204
7618B92A47B477   CELESTE          MAXWELL                  NC     90013839204
7618BA26472B32   HIEDI            STUMP                    CO     90014730264
7618BA2AA55966   STEPHANIE        BROWN                    CA     90014790200
7619129698B142   ELAINE           WOODMAN                  UT     90014292969
7619147697B477   SHARA            MORRISON                 NC     90014874769
76191679572B87   MISTY            REED                     CO     90012316795
7619231358B168   AUBREY           HARRIS                   UT     90000403135
76192519172B29   SERENA           PEREZ                    CO     90000795191
7619253A691993   DENZEL           DAWSON                   NC     90005305306
76192A26A72B44   SHANNON          KICHLER                  CO     33073850260
76192A41493739   TIFFANY          WINGARD                  OH     64582780414
76193898A55947   JOSEPH           ROMERO                   CA     49085228980
76193A6A151355   ANTHONY          DENNIS                   OH     66058770601
761944AA851355   DIEGO            GALINDEZ                 OH     90010744008
7619455488B157   TAMARA           ZAMORA                   UT     90013055548
7619485778B134   JOHN             SMITH                    UT     90013948577
76195294A72B22   ALICIA           MCCARTY                  CO     90010532940
76195A5A28B163   STACY            FRITZ                    UT     90004800502
7619628277B477   CRYSTAL          BONNER                   NC     90013712827
7619658752B994   NOMEI            ROMERO                   CA     90013705875
7619714229154B   JOHN             DORADO                   TX     75047441422
7619785778B134   JOHN             SMITH                    UT     90013948577
76197919A55966   ANDREW           WILLIAMS                 CA     90010939190
76197993472B87   VERONIKE         WIGHT                    CO     90013199934
7619848A65B59B   DIANE            MCMAHAN                  NM     35004414806
7619921519154B   MONICA           LUJAN                    TX     75039012151
7619929629154B   CARINA           SEPULVEDA                TX     90011072962
7619B193571921   KENISHA          SMITH                    CO     90015121935
7619B357572479   PAYGO            IVR ACTIVATION           PA     90004773575
7619BA7A88B142   GUADALUPE        MACIEL                   UT     31097580708
761B118348B163   JESSE            CRAWFORD                 UT     90015021834
761B1733572B37   ANDRES           SANCHEZ                  CO     90014927335
761B1744372B29   ADRIAN           NARON                    CO     90014897443
761B1921355966   ADRIANA          GUTIRREZ                 CA     48070059213
761B1964A8B134   BEATRIZ          GOMEZ                    UT     90015309640
761B2255351355   TYROAN           KENT                     OH     90001932553
761B2369572B29   TERRENIS         KELLEY                   CO     33042183695
761B2563655939   JUSTIN           GARCIA                   CA     90012775636
761B354159154B   LAURA            GARCIA                   TX     75080995415
761B3696555966   RAFAEL           AYALA                    CA     90005756965
761B3844593739   MARK             CHATTMAN SR              OH     64555298445
761B394A75B59B   LORRAINE         MADRID                   NM     90014909407
761B4696555966   RAFAEL           AYALA                    CA     90005756965
761B5138255982   HECTOR           FELIX                    CA     90012421382
761B553262B994   JOANNA           MIRAMONTES               CA     45072125326
761B57AA293739   PAYGO            IVR ACTIVATION           OH     90003817002
761B6318281633   THAD             DENZER                   MO     29069633182
761B6467141237   VINCENT          COFINI                   PA     51007294671
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 882 of 2350


761B7466A55966   WILLIAM      SPINHARNEY                   CA     90007604660
761B783A55B326   HEATHER      ANDERSON                     OR     44598478305
761B7A11241237   WARDELL      COLEMAN                      PA     90002980112
761B7A67131432   KRISTON      WINKLE                       MO     90012650671
761B859845B331   DIANNE       LOPATIN                      OR     90008885984
761B877188B134   CHRISTIAN    VILLA MOLINA                 UT     90013947718
761B899148B168   ERIKA        AVILA                        UT     90013379914
761B9375541237   MONICA       WEBB                         PA     51079923755
761B999972B994   SUSANA       CHAVEZ                       CA     90014139997
761B9A5218B134   LAURA        THORN                        UT     31031120521
761BB39898B142   RAN          SHIRE                        UT     90007363989
761BB79A82B994   MARIA        SAINZ BUENROSTRO             CA     90012877908
7621163779154B   SASHA        KELLER                       TX     90011196377
76212123872B37   MANUEL       CARREON                      CO     33041011238
76212146A9154B   JESUS        VILLANUEVA                   TX     90012111460
76212623A72B44   GARY         WILBANKS                     CO     90013046230
7621334929154B   CARLA        MUNOZ                        TX     75053703492
76214223972B37   RONNIE       RODRIGUEZ                    CO     90011582239
7621437139154B   ARTURO       MALDONADO                    TX     90013173713
7621481228B142   KELLYRAE     SMITH                        UT     90006138122
7621567678593B   KENNY        CRASE                        KY     90014916767
762166A6A71921   CHARLES      EBERHART                     CO     90012916060
76216952A8B163   EMMA         GAYOSO                       UT     31083369520
7621735757B477   ISAIAS       ABILA                        NC     11041493575
7621774788B157   GLADIS       GONZALEZ                     UT     90014707478
7621775698B134   JANET        KOHLER                       UT     90009897569
7621785A572B87   JEFFREY      GARCIA                       CO     90013008505
762179AAA72B37   NELLY        SALAS                        CO     33017929000
7621863A48B142   ELISSA       DAVIDSON                     UT     90014436304
76218919372B32   NICOLE       LANIEL                       CO     90006019193
7621895A755947   MOCHAE       SPEARS                       CA     90010319507
7621984A93B325   ELFIDIO      SOTELO                       CO     33030958409
76219A2766198B   DEBBIE       BASABE                       CA     46012750276
7621B687571921   ELIZABETH    PARRISH                      CO     90014446875
7621B714672B22   GONZALES     LUIS                         CO     33046477146
7621B773741253   DONALD       FISH                         PA     90007187737
7621B835593739   CAMELIA      WILLIAMS                     OH     64562348355
7621B869A5B59B   JASON        VANAUKEN                     NM     90013948690
7621BA8A455966   BRANDI       LACY                         CA     90014790804
7622124A13168B   NORMA        COMBS                        KS     22098212401
76221539572B37   JOSE         RUEDA                        CO     90011675395
76221962172B44   ROB          SEGURA                       CO     90011629621
762225A1A91993   MICHELE      HARRIS                       NC     90009375010
7622292158B134   JAMES        WELLS                        UT     90013949215
7622332128B142   WAYNE        HERGENREDER                  UT     31025803212
76224359372B44   SOFIA        ANGELES                      CO     90013033593
7622472498B157   MARTHA       VILLALOBOS                   UT     90015287249
76224853A8B142   CHEYANNE     WILLSON                      UT     90014958530
76224987772B29   WILLIAM      KELLY                        CO     33061379877
76224A4872B994   JERAMY       CASTRO                       CA     90014530487
7622531358B168   AUBREY       HARRIS                       UT     90000403135
76225A1228B134   JULIE        MAHANA                       UT     90001640122
7622655437B347   FRANK        OFORI-DARKWA                 VA     81094175543
76226672A55966   VIANEY       MORENO                       CA     48081926720
7622723738B168   JOSE         ESPINOSA                     UT     31060762373
7622878AA9154B   VIRGINA      LOPEZ                        TX     75081387800
76228A28772B44   JUAN         PEREZ                        CO     33087600287
7622929228593B   JORDAN       RUSCHMAN                     KY     90014712922
76229454272B44   LANAI        HOWELL                       CO     90014774542
76229A74272B22   GABRIEL      SOLORSANO                    CO     90012890742
7622B167851355   STEVEN       COOK                         OH     90013751678
7622B335791993   LAKEISHA     TABORN                       NC     17069773357
7622B755372B29   OSCAR        SOLIS                        CO     90014837553
7623131458B163   ANTONIO      MORALES                      UT     90015043145
76231816672B22   MELODY       LUDWIG                       CO     90009468166
7623182417B477   DEANNA       BENSON                       NC     90005288241
76231897972B44   REE          LOUIZ                        CO     90014868979
76231A5448599B   PAMELA       EPPS                         KY     90004100544
76232578572B32   GRISELDA     JAQUES                       CO     90012445785
7623261162B994   FERNANDO     CHAVEZ                       CA     90008476116
7623267A772479   CRIS         MARTIN                       PA     90014836707
7623287658593B   PAYGO        IVR ACTIVATION               KY     90015068765
76233633A71921   GERARDO      RESENDIZ                     CO     32089646330
7623464A471921   NIEL         REID                         CO     90002846404
7623465417B477   ROBIN        CRAWFORD                     NC     90001516541
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 883 of 2350


76235668972B87   MONTE WILLIAM   MASON JR                  CO     90013056689
76235734272B29   NICOLLE         WITTRIG                   CO     90007057342
762359A3681633   STEPHANIE       WHITE                     KS     90015109036
7623634895B591   JOHN            HENDERSON                 NM     35544583489
76237811872B32   ANTHONY         ROSA                      CO     90012838118
7623784A272B37   ERIKA           IBARRA                    CO     33055628402
7623798758B142   ERIC            LOPEZ                     UT     90014419875
76238311A77599   VICENTE         DE LA CRUZ- BECERRA       NV     90013613110
762391A487B477   PIERRE          TERRY                     NC     90012461048
762394A8291993   LUCILA          LOPEZ                     NC     90011114082
7623975985B59B   GRISELDA        VALDIVIEZO                NM     90009467598
76239A82A72479   JOSEPH          MINGRINO                  PA     51096510820
7623B298A71921   TERESA          HERNANDEZ                 CO     90012202980
7623B63457B477   TEIKO           CHAMBERS                  NC     90014866345
7623B82A472B22   EDGAR           MENDOZA                   CO     90010298204
7623B987A72B87   JUAN            PENA                      CO     90014839870
7624141593B137   TINNELL         GARRISON                  DC     90001774159
7624267818593B   JARUSHIA        DAMERON                   KY     90004696781
76243273972B32   EDGAR           GOMEZ LOPEZ               CO     33058122739
762445A658B157   DAYANARA        LOYA                      UT     31058355065
76244863972B87   JOSE            HERNANDEZ                 CO     33013198639
76245767A9154B   JOSUE           RODRIGUEZ                 TX     75085117670
7624599618B168   RICHARDSON      JOSH                      UT     90009859961
7624763A666181   LEONARDO        RAYNADA                   CA     90014486306
7624776348B142   JAYME           MECHAM                    UT     31070487634
7624947652B994   YOLANDA         RODRIGUEZ                 CA     90008794765
7624957467B477   MARIA           ESCOBAR                   NC     90014415746
7624972498B157   MARTHA          VILLALOBOS                UT     90015287249
7624B275361946   LOIS            JONES                     CA     90010882753
7624B394691572   KARINA          MARTINEZ                  TX     90010343946
76251219172B29   SANTIAGO        PATINO                    CO     90004832191
7625152367B477   LAVOROIS        LUKE                      NC     90010355236
7625234519154B   LUTHER          BINFORD                   TX     90005303451
76252A41455939   ANGELA          PADILLA                   CA     90009860414
76253573472B29   SANDRA          PARIS                     CO     33006285734
76253856272B87   DESIRAE         HUERENA                   CO     33079598562
7625387A781687   NOEL            LUNCEFORD                 MO     90002298707
76254162772B29   IVETTE          FLORES                    CO     90010181627
7625422149154B   JOSEPH          DE LA TORRES              TX     90012372214
76254234372B87   VANESSA         RAMOS                     CO     90003882343
7625484A972B22   PABLO           ROMERO                    CO     90012898409
76254A82A72479   JOSEPH          MINGRINO                  PA     51096510820
7625522A37B477   LEVITICUS       BRIDGES                   NC     11055082203
76255432872B29   GENA            AYALA                     CO     33040794328
7625562498B163   BRIAN           ROBERTS                   UT     90004746249
7625577695B279   BRADLEY         CASH                      KY     90001807769
7625618A57B428   CARLOS          SHINHOSTER                NC     90012221805
7625625339154B   MAGDALENA       IGLESIAS                  TX     75072642533
7625739A42B994   DANIEL          CASAS                     CA     90005803904
7625761A172B22   SEAN            MCENIRY                   CO     90012056101
7625773AA55947   CATALINA        CERVANTES                 CA     49089247300
7625779238B142   HUMBERTO        ORTIZ                     UT     90013607923
7625795538B142   JOHNNY          LITSTER                   UT     90010269553
7625821A272B44   ARMANDO         GARCIA                    CO     90013152102
7625872148B163   SHAE            RACKER                    UT     90001317214
7625889849154B   ROBERTO         VILLALOBOS                TX     90001928984
76259158772B22   ROGER           HULL                      CO     90009291587
76259769672B37   VERONICA        MAZIAZ                    CO     33091087696
7625978A56195B   VERONICA        GALARZA                   CA     46006347805
76259AA812B994   JAMES           HUDSON                    CA     45062180081
7625B12A24B27B   DANIEL          KAVAN                     NE     27089351202
7625B199661981   JOSE            GONZALES                  CO     90015071996
7625B35738B163   SHAHIS          KHAN                      UT     90013023573
7625B94A931433   PATRICIA        SUMMERS                   MO     90003549409
76261355272B22   CLEOTILDE       NAJARA                    CO     90014383552
762614A1131463   MICHELLE        JOHNSON                   MO     90010484011
76262A1348B134   WENDY           BARNEY                    UT     31054850134
7626359A871921   MARIA           RODRIQUEZ                 CO     90011465908
762636A8772B37   SPURGON         ANTHONY                   CO     90006946087
76264888972B22   TYLER           EVANS                     CO     90011138889
76265198A8B168   BECKY           PARRISH                   UT     31024921980
76265767772B44   LAWRENCE        CHAVEZ                    CO     90013427677
762662AA772B22   KYLE            BELL                      CO     90014702007
762673A3372B29   DORALEE         FERONA                    CO     90013813033
76268382172B44   GEORGE          WITTNER                   CO     90009793821
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 884 of 2350


7626839885B59B   PAULA             MARQUEZ                 NM     90014073988
7626845779154B   HECTOR            MARTINEZ                NM     90014184577
762686A788B168   CRAIG             BRADY                   UT     90010316078
7626B24478B142   JERON             PARRY                   UT     90011552447
7626B335872B37   MATTHEW           TWIST                   CO     90013613358
7626B73929154B   JACQUELINE        NAJERA                  TX     90012887392
762714A2591323   GWENDOLYN         CORNWELL                KS     90013584025
7627164379154B   VALERIE           RENOVATO                TX     90004266437
7627276817B477   JOSE              BARRON                  NC     90013307681
762736AA78B134   JOVITA            NAVARRETE               UT     31094316007
76274423A51355   SHAWNTINA         ISOME                   OH     90001664230
76274A46672B29   CHRISTPHER        BAKER                   CO     90000620466
76274AA8331443   JACKIE            MAYFIELD                MO     90001690083
76275766A51355   CHRISTY           PATE                    OH     66053067660
7627592699154B   MANUEL            DURAN                   TX     90009789269
76275AA192B994   ALICIA            AVINA                   CA     90008030019
7627628215B384   CONNIE            DREADIN                 OR     90002272821
76276A45151368   KYAUNA            HAFFORD                 OH     90007470451
7627845997B477   ELDER             CUBAS                   NC     90012094599
76278552472B22   JAVIER            FRAUSTO                 CO     90010915524
7627876428593B   MYNOR             CORTEZ                  KY     90012637642
762794AAA9154B   GABY              PONCE                   TX     90007054000
76279647A55966   EUGENIO           SILVA                   CA     90014796470
7627B319A5B59B   JAMES             WORTHY                  NM     35093003190
7628168A872B37   JAMES             HAZA                    CO     90007916808
76281AA5141253   CARL              DOSS                    PA     51013910051
762824A9172479   DENNIS            KELLER                  PA     90000544091
762831A9871921   AMBER             LUCERO                  CO     32057161098
762835A8A72B29   JAIME             ENRIQUEZ                CO     90013035080
76283766A51355   CHRISTY           PATE                    OH     66053067660
7628417158B163   MARIA             MORALES                 UT     90015231715
7628443288B142   HONH              TRENKAMP                UT     90014424328
76284891172B22   PATRICIA          LAGUARDIA               CO     33096608911
76285188272B32   CHARLES           CASSAR                  CO     90013931882
76285696672B29   JERRY             FUENTES                 CO     90013216966
7628599A39154B   MARK              FLORES                  TX     90010299903
76285A3A88B142   JUREMA            DA FONSECA              UT     31067190308
76285A6A18593B   JODELL            KEITZ                   KY     90014680601
76285A73551355   DAVID             BOLEY                   OH     90014580735
7628687A19154B   ALICIA            FOREMAN                 NM     75076308701
7628698138B134   MARCELA           BARKER                  UT     90013099813
7628712318B134   SHERIE            BELL                    UT     31060841231
762876A4A31432   NATASHA           REESE                   MO     90014176040
762881A4A7B477   MARGARITA         HOEMTA                  NC     90012871040
76288617372B29   BRENDA            MEDINA-RAMIREZ          CO     90008956173
762894A167735B   DEBBIAN           WYNTER                  IL     90012394016
76289578972B22   SANTITOS          BANUELOS                CO     90007805789
7628975537B477   KWINIA            TILLMAN                 NC     11012577553
7628B2A5A93739   DANNY             RILEY                   OH     90011892050
7628B487172B87   BENJAMIN          HERRERA                 CO     33084484871
7628B941181633   ANESE             LOTTIE                  MO     90014739411
7628BA1428593B   AMY               ROGG                    KY     90011430142
7628BA43155966   EVA               CANTU                   CA     90003890431
762911A288B142   WESTON            MARSH                   UT     90010021028
76291441A91993   DESTINY           ENOCH                   NC     90008434410
7629258322B994   JOSE              ANDRADE                 CA     90012805832
762927A817B477   SAMANTHA          MAHONEY                 NC     11000467081
7629281618B157   MARIO             BENITEZ                 UT     31041958161
76292877472B87   CAROL             SWEET                   CO     90006358774
76293471A9154B   MILAGROS          PINTOR                  TX     90014184710
762939A393B343   ERNETS            GONZALES                CO     33089009039
7629428972B271   MIRIAM            BENITEZ-MOLINA          DC     90006202897
762944A4355939   MELISSA           GARCIA                  CA     90009014043
7629533A972B29   REBECCA           RALSTON                 CO     90012413309
7629554447B477   SANDY             SPENCER                 NC     90009985444
76295669672B87   CHRISTOPHER       GOMEZ                   CO     90013056696
7629595128B134   DENNIS            ING                     UT     90013949512
7629611A88B163   BRANT             HARSH                   UT     90011801108
76296799A91993   JOSE              SANCHEZ HERRERA         NC     90011127990
762967A268B157   REBECCA           GREENSTREET             UT     90013347026
7629697258B134   SILVINO ESTEVAN   SEDAS RODRIGUEZ         UT     90013949725
76296981A61951   MARISA            CONTRERAS               CA     90012929810
76297444A31432   DONNELLA          FUTRELL                 MO     90010384440
7629799687B477   ROSA              GUEVARA                 NC     11041799968
7629899697B477   ANDRES            RAMIREZ                 NC     90012179969
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 885 of 2350


76299223272B37   JOSE             BERNARDO CORCHADO        CO     90010542232
7629978788B142   MARTIN           HERNADEZ                 UT     90000457878
7629B26778B157   MARK             JOHNSON                  UT     31014452677
7629B716351349   SAM              HOGAN                    OH     90013237163
7629B765455966   DOMINIQUE        SALAZAR                  CA     90014807654
7629B87A351355   SUSAN            RUHSTALLER               OH     90015138703
7629B98495B59B   JULIE            MITCHELL                 NM     90012979849
7629BA35455947   JESSIE           BARR                     CA     90013380354
762B1636A72B32   ELVIA            PINO                     CO     33021206360
762B176388B157   DIANA            ROJO                     UT     31040197638
762B1785776B68   ARTEMIO          CRUZ                     CA     90008367857
762B2529471921   ANGELA           PACHUCA                  CO     90013815294
762B2563672B29   JOLENE           MARTINEZ                 CO     90014155636
762B321519154B   MONICA           LUJAN                    TX     75039012151
762B3584941237   DEWANDA          BANKS                    PA     51034835849
762B3799455939   ELIZABETH        CHAVEZ                   CA     90005847994
762B426788B168   TINA             LECHLER                  UT     90014542678
762B4613572B29   ANTHONY          CHOY                     CO     90007956135
762B48A518B163   SHAWN            SMITH                    UT     90014578051
762B5341A8B134   GANITO           PINA                     UT     90006123410
762B5589172B87   JENNY            BARGER                   CO     33006175891
762B5684A55966   JUAN             ORTEGA                   CA     90014786840
762B614AA31432   ANTHONY          ANDERSON                 MO     90011571400
762B6571133698   MAX              LITTLE JR                NC     12010895711
762B65A5172B44   GEORGE           VALENZUELA               CO     33076895051
762B673857B477   LETICIA          CARDONA                  NC     11093607385
762B675138B134   SHARON           OLSON                    UT     90001287513
762B7175171921   WILLIAM          GREEN                    CO     90013421751
762B7612672B44   GUERRERO         ERMILA                   CO     33059896126
762B7926472B32   GUSTAVO          HERNANDEZ                CO     33055209264
762B8647A33641   TINISHA          CLINTON                  NC     90013986470
762B8856151586   DIANA            MOCK                     IA     90015468561
762B9329961576   CONRADO          NAVARRO                  TN     90014783299
762B9487A5B38B   MAPENZI          TEMBO                    OR     90008584870
762B9553751337   AARON            SAMMY                    OH     66006165537
762B98A2A61984   CESAR            LOPEZ                    CA     90009008020
762BB4AA18B142   LELAND           JOHNSON                  UT     31072534001
7631151A64B263   DIANE L          TREANTOS                 NE     90006965106
7631185634B548   DANA             ANDERSON                 OK     90011168563
7631236968B157   KRISTA           PETERSEN                 UT     90013623696
76312446A8B163   MECHELLE         ANDERSEN                 UT     90004024460
7631289A972B87   MARTHA           ZAPATA                   CO     90012668909
7631326318B142   BRENT            WALDROP                  UT     90012442631
7631333273B354   ANGELINA         LINCON                   CO     90009093327
7631347419154B   LUIES            GONZALEZ                 TX     90014184741
7631372A72B994   CASANDRA         MARAVILLA                CA     45008657207
76314153972B32   ERMA             BANUELOS                 CO     33059391539
76314198876B7B   ORYAN            DOYLE                    CA     90000931988
7631468A631443   ORLANDO          WRIGHT                   MO     90003476806
7631473217B495   IVA              FOSTER                   NC     90012357321
76314787772B29   ERIK             FERNANDEZ                CO     90008057877
7631479358B157   ELSABET          ARDADI                   UT     90013967935
76314A18881633   LAMESHA          ROSS                     MO     29001740188
76315313A41237   LOUIS            WHITE                    PA     51091993130
76315873572B87   JENNIFER         MARTINEZ                 CO     90014578735
76317A55741237   SHAKERA          WORLDS                   PA     90015070557
7631862379154B   JACKIE           VASQUEZ                  TX     90011026237
76318853A8B142   CHEYANNE         WILLSON                  UT     90014958530
76318918772B22   RAFAEL           VAZQUEZ                  CO     90000299187
7631937A171921   WAYNE            CRAVEN                   CO     32019543701
7631B212871921   BRIANA           MARQUEZ                  CO     90011152128
7631B296141237   KATIE            SILVIO                   PA     51034112961
7631B44595B522   ELIZABETH        SAN MARTIN               NM     90010684459
7631B621886436   MICHELE          WELLS                    SC     90014236218
7631B6A3493739   YONGCAN          CAO                      OH     90013936034
7632111468593B   JIHONG           JONES                    KY     90007861146
7632131AA72B87   RICARDO          LEYVA                    CO     90009963100
76321529A7B477   MADLON           JARRETTE                 NC     90012175290
76321A3265B59B   JOSE             ARRELLIN                 NM     35084930326
76321AA739154B   SYLVIA           VILLANUEVA               TX     75031440073
76322237A5133B   BOBBI            EVANS                    OH     66006572370
76322283772B32   CHRISTINE        FUENTEZ                  CO     90015142837
763227A685B59B   KENNETH          MORGAN                   NM     90013307068
76323692172B44   ROSA ALEJANDRA   MARTINEZ-MONTELOGO       CO     90007906921
7632423458B168   LACY             WILSON                   UT     90012792345
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 886 of 2350


7632458A472B32   DANIEL              ARITA                 CO     33045505804
76324968572B22   RASHAWN             WILLIAMS              CO     33066739685
76324A9935B521   BENNY               LUCERO                NM     90014830993
7632514177B477   ANTWAN              ALEXANDER             NC     90013611417
7632515A272479   DARRIN              COLEMAN               PA     90014491502
7632545A98B157   RACHAEL             DYER                  UT     31032574509
7632572348B168   SHAWN               SMITH                 UT     90006337234
76326616872B87   RODNEY              REID                  CO     90011616168
76326673472B32   ADRIAN              GONZALEZ              CO     90012046734
76326A74393739   BILLY               PAUL JR               OH     64503250743
7632738738B163   TERRY               SNAP                  UT     31088383873
7632786198B142   MICHEAL             RUSSELL               UT     90014348619
76327872A55947   RON                 SILVA                 CA     49096938720
7632887A955939   LORENA              MORFIN                CA     90013968709
76328975A8B134   RACHEAL             POOL                  UT     90013949750
7632898A555966   SOPHIA              TAPIA                 CA     90014839805
76328A46393669   FFR 22107 CHARLES   CLEVELAND             OK     90011280463
7632912819154B   ANNA                HERNANDEZ             TX     90008691281
76329741A51355   BELINDA             WARREN                OH     90014337410
7632B332881633   LADANITY            TIMMORS               MO     90012913328
7632B622572B22   JAMES               SALAS                 CO     90000326225
7632B7A3572B44   JUAN                SANTANA               CO     33030237035
7632B94637B477   ELVIN               CORBERA               NC     90012999463
7632BA3A131443   JOSH                GREEN                 MO     27545230301
76331122A7B477   JOHN                SAMPLE                NC     90012871220
7633229117B495   ASHLEY              STEVENSON             NC     90005452911
7633246A541253   BRANDON             JONES                 PA     90013134605
7633279937B477   LESLY               RAMIREZ               NC     90010687993
76332A76A8593B   MIGDALIA            ORTIZ                 KY     66014600760
7633334927B477   KESSELLY            ZIAMA                 NC     90014003492
7633413A672B87   ELIZABETH           KENNEDY               CO     33056331306
763341A9A55947   LUIS                JOHNSON CORTEZ        CA     90007741090
7633422537B477   CORNELIUS           DORCH                 NC     11043172253
763342A3941253   DONNA               SMITH                 PA     90011322039
763343A3355982   GUILLERMO           AYALA                 CA     90010373033
7633455165B375   ROBERT              BATES                 OR     90011665516
7633653128593B   KIMBERLY            WOLFE                 KY     66071725312
76336578A72B37   JIMMY               HERNANDEZ             CO     33015735780
76336672A55939   VIANEY              MORENO                CA     48081926720
7633667385B59B   CARL                SANCHEZ               NM     90012636738
7633737688B142   STEPHEN             STEWART               UT     31018803768
7633738A672B44   RICHARD             LITZSINGER            CO     90013033806
7633755A141237   JEWELL              LEDBETTER             PA     51061705501
76337918772B22   RAFAEL              VAZQUEZ               CO     90000299187
76337924A55966   MARIA               DORAME                CA     90006969240
7633797A251355   MELANIE             MCLAIN                OH     90008049702
763379A1255939   JAIME               GIL                   CA     48019329012
763384A199154B   EVA                 DE LA CRUZ            TX     90013574019
76339215272B44   JORGE               PICAZO                CO     90006902152
7633979534B987   NELADONNA           JACOBS                TX     90012647953
7633B33318B134   VALENE              PEYTON                UT     31090023331
7633BA3577B477   OCTAVIS             SEABROOKS             NC     90010370357
7633BA6A18593B   JODELL              KEITZ                 KY     90014680601
76341499A8B168   LINDA               HOPPE                 UT     31014934990
76341942A31433   CANDICE             BOSHOP                MO     90003549420
76341A7568B134   STEPHEN             RUTTENBUR             UT     90010850756
76341AA4955966   EVA                 ROJAS                 CA     90014840049
763426A3872B37   MACIA               CHRISTIAN             CO     90011676038
7634273698B134   SHELLY              WILLIAMS              UT     90009767369
7634284478B157   FABIAN              MALDONADO             UT     90012748447
7634289999154B   MARTHA              CARAVEO               TX     90008158999
76343414A8B157   AUBREE              BAUGH                 UT     90013354140
76343657972B29   JASON               BUTLER                CO     90007766579
7634414418B163   SHANNON             DUFFIN                UT     31086731441
76344661272B87   ELISEO              GONZALES              CO     90013276612
7634487A255966   ALEJANDRO           FIGUEROA              CA     90004868702
7634552A455947   ROGER               PECH                  CA     90013785204
76345594272B32   JESSICA             DIXON                 CO     90011405942
7634563948B157   JANEY               YOUNG                 UT     90014356394
7634566A555966   FRANCISCO           CENDEJAS              CA     48024806605
76346854A71921   EMILIANO            ARELLANO              CO     32073188540
76346949A5597B   ERADIO              BERMUDEZ              CA     90013629490
76346991972B44   GREGORY             MARTINEZ              CO     33066499919
76347519A41237   BETHANIE            KIRSCH                PA     90013195190
7634754A855939   MARICELA            PEREZ                 CA     48074585408
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 887 of 2350


7634757A67B396   NAMHOON                KIM                VA     90013605706
7634864168B134   ROCIO                  CARDENAS           UT     31059746416
7634879282B994   GABRIELA               PULIDO             CA     90015127928
76349A4668B157   JOSE                   ROLANDO            UT     90009080466
7634B195493739   DAVID                  GILMORE            OH     90014631954
7634B648941253   TERENCE                PARKER             PA     90009146489
7634B772572B87   MANUEL                 GARCIA             CO     33012907725
7634BA54655966   ARMANDO                REYNOSO            CA     90014820546
7635112A78B134   JONATHAN               PASCALE            UT     90014731207
7635153289154B   FRANSISCO              YSAGUIRRE          TX     90009565328
7635192A972B44   CARLOS                 MARTINEZ           CO     90014699209
76352165672B44   ALEJANDRA              REYES              CO     90013031656
7635254A461964   PAUL                   LANCE              CA     90013665404
7635272199154B   LOUREDEZ               ZOTELO             TX     90003367219
76352A4872B994   WILLIAM                TRAMMELL           CA     90010860487
763531A798B163   MARIA                  PARRA              UT     90007681079
7635321A291993   CASSIE                 CAMPBELL           NC     90009052102
76353221A41237   DALLAS                 BOBNES             PA     90014842210
7635369245597B   LYNNAE                 POTTER             CA     48064256924
76353967876B49   BLANCA                 HUERTA             CA     90013389678
763539A378B168   JOSHUA                 ALLRED             UT     31042589037
76353A11272B87   TONNI                  MORRIS             CO     33040740112
76353A64251355   ROBERT                 WEBB               OH     90012700642
7635424A48B142   MARCELO                GIURLANI           UT     31041602404
763542A8971921   JONATHAN               NEAL               CO     90015102089
7635525A98593B   STEVE                  BRANN              KY     90014082509
76355333A2B271   JULY                   PEREZ              DC     90000853330
7635596348B157   KRISTINA               MCKAY              UT     90014309634
76356329872B22   ROGER                  KORRELL            CO     33000403298
7635687155B59B   MARIA                  CAMERENA           NM     35070378715
7635739729154B   MARGARITA              MARTINEZ           TX     90014203972
763574A7472479   MICHAEL                FANTAUZZI          PA     51094044074
7635797258B134   SILVINO ESTEVAN        SEDAS RODRIGUEZ    UT     90013949725
76359291972B87   LIDIA                  MARTINEZ           CO     33043292919
763593A8A8B163   KENNADENE              HUFF               UT     90011803080
7635955748B157   NORMA                  LEYVA              UT     90009185574
7635B46863B366   JOSE                   ALVARADO           CO     90011084686
7635B49518B157   SKYLER                 HERRERA            UT     90012824951
7635B622572B29   MELISSA                SOLANO             CO     33065096225
7635B983A72B21   YEWDIEL                GRIJALVA           CO     33074199830
7635B984A91855   SUSAN                  NELSON             OK     90006449840
7636133228B163   NICOLAS                SOTO               UT     90011803322
7636162165B59B   BERTHA                 ARENIVAR BERTHA    NM     90014366216
76361A6A88B157   SIONE                  HEIMULI            UT     90008960608
76362297172B37   LOPEZ                  MARIA              CO     90009112971
7636237A341237   CASEY                  VAN                PA     90004993703
7636266A555966   FRANCISCO              CENDEJAS           CA     48024806605
76363A8468593B   EDWARD                 HORNSBY            KY     90012110846
7636522825B59B   FREDI                  ORTIZ              NM     90003752282
76365619872B22   CINDY                  MEJIA              CO     90014826198
763664A1172B37   MIGUEL                 BARRON             CO     90004894011
76366A31172B29   DEMITRIUS              ROBERTS            CO     33031360311
76366A93561922   DORA                   TORRES             CA     46045460935
76367454A81633   SARAH                  TURNER             MO     90015134540
7636789848B845   EPEN                   EAZ                HI     90015468984
76367924472B22   MICHAEL                CASTILLO           CO     90014849244
76367952572B32   KEITH                  WOODY              CO     33042659525
76367AA1951355   BRYAN                  MCABEE             OH     66031960019
76367AA452B994   JOSEPH                 WHALEN             CA     90015140045
763685AA29154B   MAYRA                  BELTRAN            TX     90014185002
76368A55772B22   BLU                    MEDINA             CO     90013060557
76369134572B87   OSCAR                  MADRID             CO     90013371345
7636923475B388   CHRISTOPHER ANDERSON   ABIGAIL ANDERSON   OR     90007062347
76369482A3B137   BETTY                  YOUNG              MD     90009674820
7636952478B157   COREENA                JONES              UT     31070295247
763695A119154B   MARCO                  JIMENEZ            TX     90014185011
76369728772B44   ALAN                   YOUNG              CO     33059307287
76369A38A72B32   GINA                   ORTEGA             CO     90010430380
7636B16818B157   MATT                   MADREGAL           UT     90013721681
7636B543672B22   RICARDO                SALASZ             CO     90009605436
76371578172B44   ROSS                   QUINTANA           CO     90010465781
76371A51672B87   DELORES                BANKS              CO     33094330516
763725A928B157   RAYMOND                BYRNE              UT     90013865092
763728A368B157   JOEL                   CHRISTIANSEN       UT     90012478036
7637326269373B   DENISE                 KING               OH     90011462626
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 888 of 2350


7637348678B134   SANDRA       BUTLAR                       UT     31041424867
76373663872B87   REBECCA      CHRISTENSEN                  CO     90014156638
76373768A8B163   LUIS         GUILLERMO                    UT     90013947680
76373782772B44   MARY JANE    CASTRO-MAESTAS               CO     33080307827
7637423AA55939   OMAR         GARCIA                       CA     90013502300
7637441A341237   ERIC         ROBERTS                      PA     90010184103
7637555838B142   TANA         GRONEMAN                     UT     31077215583
76375728772B44   ALAN         YOUNG                        CO     33059307287
76376257672B22   MARINA       LUCERO                       CO     33004722576
7637657788B142   NATASHA      BERLIM                       UT     90015175778
7637726829154B   MIGUEL       SANCHEZ                      NM     90014412682
7637855815B59B   CYNTHIA      ESCALANTE                    NM     90011325581
76378651A33698   ZANETTA      SMITH                        NC     12069696510
76378991672B32   APRIL        MCCARTNEY                    CO     33012729916
76378998A71921   FRANCESCA    MARTIN                       CO     32015319980
7637921577B477   SAMUEL       CORTEZ                       NC     90012342157
7637927A95B124   KATRA        SIMS                         AR     90015232709
7637937A341237   CASEY        VAN                          PA     90004993703
76379447172B87   DANNETTE     FLORES                       CO     33008954471
7637959985B59B   SARAH        MONTANO                      NM     90014495998
7637B721972B42   ADRIAN       REYES                        CO     90011467219
7637B825855947   JOSE         ALVAREZ                      CA     49079158258
7637B925571921   TAYLOR       HALL                         CO     90010689255
7637BA2538B134   ERIC         CARLSTON                     UT     90010470253
76381663672B27   WILLIAM      SPENCER                      CO     90003476636
76381699172B87   KRISTINE     ANNHIGGINS                   CO     90000566991
7638187188B157   CAMMIE       NEWMAN                       UT     90014618718
7638199837B477   MARIA        GUILLEN                      NC     90010009983
76382289A9154B   DIANA        DE LA ROSA                   TX     90012262890
76383143A51355   LACRESA      THOMPSON                     OH     90005241430
76383968A72B22   JESUS        MARTINEZ                     CO     90005509680
763841A8751355   NATASHA      LEAR                         OH     90013961087
7638422545B384   MARIO        ARELLANO                     OR     90004102254
76384411472B32   COLLEEN      KELLYWOOD                    CO     33045044114
76385694A72B44   UVALDO       VARGAS                       CO     33018096940
7638737528B163   MARTIN       BOBO                         UT     90011803752
7638812548B157   ELIZABETH    CAMBRON                      UT     90011061254
7638862278B163   DANILO       SANCHEZ                      UT     90009936227
7638891838B142   JONATHAN     BRIMHALL                     UT     90003649183
7638B188272B87   ANTHONY      JAMES                        CO     33093651882
7638B422855991   NELSON       VENEGAS                      CA     90006114228
7638B513655966   LINDA        GEORGE                       CA     90008425136
7638B87188B157   CAMMIE       NEWMAN                       UT     90014618718
7638BA4A371921   MELINDA      PRICE                        CO     90012110403
7639148879154B   ADELA        VAN RUITEN                   TX     90003034887
7639178AA8B163   SEAN         GILBERT                      UT     90013297800
7639181228B142   KELLYRAE     SMITH                        UT     90006138122
7639278A78B163   FRED         STANDIFORD                   UT     31080267807
76392A2418B168   DALE         BROWN                        UT     31009770241
76392A84455939   CAROLINA     PUENTES                      CA     90012170844
7639333223B137   MANUEL       DE JESUS                     DC     90014883322
7639369A231433   NATOSHA      DODD                         MO     90007046902
76394528572B32   ANTONIO      ZAMORA MARTINEZ              CO     33000575285
7639466888B168   KELLY        SCOTT                        UT     31013256688
7639521748B134   RHONDA       MCCLEERY                     UT     31014422174
7639536858593B   SOL          VILLANUEVA                   KY     66039573685
76395878A31427   HARRY        TUTHILL                      MO     90012968780
76395A49231432   ASIA         QUINN                        MO     90011240492
7639735A431432   GARY         MILLER                       MO     90013653504
7639746997B483   CARLOS       GARCIA                       NC     11000124699
763974A4351355   JOHN         PARKER                       OH     90008864043
76397617872B37   MARIA        ROJAS                        CO     90013206178
76397726A8B178   JAMES        ADAMS                        UT     31086717260
76397A19555966   GEORGINA     BANALES                      CA     90014870195
7639831388B134   CELERINO     GARCIA                       UT     31032793138
7639851699154B   MARK         NAVARRO                      TX     90014185169
76398722172B87   SANDRA       LAREDS                       CO     33030567221
76398A27555966   LUCILA       AGULERA                      CA     90014870275
76398A48941237   WILLIAM      NAU                          PA     90014650489
76399259172B87   ARLENE       LOW                          CO     33098482591
76399324672B29   STEPHANIE    PIERRE                       CO     90003493246
76399694A51355   ALAINA       MILLS                        OH     90014636940
7639979447B477   VERONICA     MACK                         NC     90010997944
7639B339572479   CECIL        GROW                         PA     90013233395
7639B666293739   SAVANNAH     JOHNSON                      OH     90009456662
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 889 of 2350


763B1324971921   MELISSA              THOMPSON             CO     90013823249
763B1463872479   JUSTIN               HIXSON               PA     90013414638
763B186A38B163   SHANE                POGUE                UT     31091228603
763B1A44231432   JENNELL AND ISAIAH   JOHNSON              MO     90014100442
763B24A268B168   CARMA                WILLIAMS             UT     31086224026
763B27A898B157   GARRICK              MURDOCK              UT     90007067089
763B2853172B32   HAYDEE               NERI                 CO     33024938531
763B328917B358   KAMISHA              LITTLEJOHN           VA     90012622891
763B3373872B44   MIKE                 WILLIAMS             CO     90013033738
763B347AA41253   MICHAEL              ADAMS                PA     51018464700
763B3913A41227   PATRICIA             RILEY                PA     51074479130
763B398A29154B   CLAUDIA              GONZALES             TX     75081389802
763B43A6572B44   MARCO                NULT                 CO     90002033065
763B444382B994   KAELIN               DAVISON              CA     90014364438
763B482388593B   CINDY                GOSNEY               KY     90012578238
763B4A18455947   SARAH                MCNEALY              CA     90013850184
763B575228B157   JESUS                VALENZUELA           UT     31075167522
763B588545B59B   DIANNA               KALISCH              NM     90008208854
763B6A88A55939   MARIA                SANCHEZ              CA     90007990880
763B761763B358   GRACIELA             ALVARES ROSALES      CO     90011986176
763B7898A55947   JOSEPH               ROMERO               CA     49085228980
763B8196991993   CARLOS               GRANDE               NC     17031221969
763B8292841253   ROBERT               REESE                PA     90007112928
763B86A7772B87   MIZAEL               MARTINEZ             CO     90011616077
763B913858B157   JORGE                PAZ                  UT     90014011385
763B9275493739   CHRISTIANE           CODJIA               OH     90015032754
763B933A772B87   MALLORY              KING                 CO     90005893307
763B9875951355   KIMBERLY             POWELL               OH     90014858759
763B989A272B29   JAROSLAV             REZAC                CO     33002148902
763B9A3617B449   ALAN                 GUZMAN               NC     90010730361
763B9A9248B163   MARIA                CONTRERAS            UT     31040020924
763B9A9924B565   CHARMON              THOMPSON             OK     90010510992
763BB16795B384   LUIS                 RODRIGUEZ            OR     90004101679
763BB184872B32   BRIANA               WEST                 CO     90014561848
763BB38A141237   JOHN                 OGLESBY              PA     51007163801
763BB594251349   USMAN                SINE                 OH     90008665942
763BB62A69154B   CESAR                ESPARZA              TX     90010386206
763BB67A755947   VIRGIE               MOBLEY               CA     90015486707
763BB74913B137   CELIA                PINEDA               VA     90012187491
763BB915872B87   KAREN                ONYEALI              CO     33058279158
7641178A193739   TRACEY               HILL                 OH     64572317801
7641197432B869   RONALD               ZUBER                ID     90008059743
76411A6915B59B   NICK                 BACA                 NM     35007540691
76411A93161984   DAVID                LONTEEN              CA     90014570931
76412569172B37   LUCY                 LOERA                CO     33076955691
76412821972B87   KIM                  MARTINEZ             CO     90014658219
76412A28671921   BRIAN                WOODRUFF             CO     32007970286
76412A75255936   JOHNNY               YOUNG                CA     90010790752
76413183672B87   KACIE                MORRIS               CO     33089331836
764139A1755947   DOMINGO              QUINTANILLA          CA     90011459017
76413A14893739   JOSEPH               CHAPMAN              OH     90010730148
76413A1A39154B   KAYLA                VASQUEZ              TX     90013990103
7641422815139B   CHRISTINA            CHARLES              OH     90012452281
7641423823B321   MELISSA              SIMON                CO     90004772382
764142A3941253   DONNA                SMITH                PA     90011322039
7641456429154B   DANNY                MC DANIEL            TX     75080735642
76414951272B44   VALERIA              VARELA               CO     90013039512
76414A79672B37   MICHAEL              PICO                 CO     90013030796
764158A7451355   ADRIENNE             HENN                 OH     66020348074
76416111A51355   KEENAN               DEAN                 OH     66011031110
764164A8A72B87   JESUS                BARAJAS              CO     33078184080
764165A6A41267   ROCHELLE             NAVALANCE            PA     90001565060
76416AA762B994   LINDA                SANCHEZ              CA     90013050076
76417717424B37   ALEXANDER            YEBOAH               VA     81064087174
76417724272B44   VICENTE              MADRIGAL             CO     90013227242
76417A7798B157   SINEM                KAYA                 UT     90013520779
7641819552B844   CYNTHIA              TRIPLET              ID     42031971955
764185AA633699   ANGELICA             TREJO                NC     90005615006
76418685972B31   AUTUMN               MILLER               CO     90010926859
76419132272B22   HOLLIE ANN           SAINZ                CO     90012891322
7641933A241227   JASON                HUNTER               PA     51092093302
7641B28AA51391   GARY                 SMITH                OH     90010202800
7641B671761973   NORA                 RAMIREZ              CA     46017696717
7641B73218B163   KATRINA              LEATHAM              UT     31036737321
7641B86458B157   MARGARITO            GUI GUI DELA CRUZ    UT     90015018645
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 890 of 2350


7642122838593B   MATT             PENICK                   KY     90001762283
7642128118B168   JACOB            HOUSER                   UT     31094062811
7642178949154B   ROBERTO          BARRIENTOS               TX     90011257894
76422279A72B37   ACUNA            JUAN                     CO     90011582790
76422416772B44   ELIZABETH        BERGMAN                  CO     90013034167
7642251448B157   CATHERINE        BARNES                   UT     90010665144
76422599172B22   SARA             LESTER                   CO     90011235991
76423465672B37   MICHAEL          GLYNN                    CO     90006294656
76423471172B44   CHERI            VIGIL                    CO     90011524711
7642357368B142   CASTRO           IVAN                     UT     90014155736
76423732A71921   GUADALUPE        ACOSTA                   CO     32054607320
7642441A23148B   FLOYD            COLVERT                  MO     90014354102
76424471172B44   CHERI            VIGIL                    CO     90011524711
764246A7351355   VELVET           DAVIDSON                 OH     90013026073
76424A52291993   CARLOS           DANIEL                   NC     90011470522
76425132272B22   HOLLIE ANN       SAINZ                    CO     90012891322
7642524877B483   DEVIN            CHASTAIN                 NC     90010702487
76425499872B37   CHRIS            COLE                     CO     90014774998
76425551A55947   MERCEDES         WHITE                    CA     90013865510
76425787972B87   TYRONE           MILLS                    CO     33016157879
7642579358B157   ELSABET          ARDADI                   UT     90013967935
76426132472B22   WAYNE            HOUSTON                  CO     90012891324
7642662AA8B142   EDGARDO          PIANTINI                 UT     31057496200
76426678972B32   SHANE            LANT                     CO     90013466789
7642668438B134   LUIS             TORRES                   UT     90011036843
7642813688B142   CECILIA          RODRIGUEZ                UT     90009541368
764285A3155947   JOSE             SANCHEZ                  CA     90012615031
76429122972B32   SANJUANZ         GUZMAN                   CO     90006831229
76429445272B87   LYNNZE           STONE                    CO     33059624452
76429623372B32   SAN JUANA        GUZMAN                   CO     90012826233
76429932272B32   SANJUANA         GUZMAN                   CO     90014899322
7642999327B477   THYAIS           BLAKE                    NC     90008439932
76429A94772B37   FRANCES          HERRERA                  CO     90011820947
7642B463A51349   NICHOLAS         WIGGINS                  OH     66009954630
7642B59A655947   JEANETTE         NEWCHURCH                CA     90011075906
7642B649371921   CHRISTINE        GREEN                    CO     90010126493
7642B72918B157   APRIL            GORDON                   UT     31025197291
7642B831541253   DAVID            LUJETIC                  PA     90012518315
7642B86325139B   SAMANTHA         PAULEY                   OH     66032728632
7642B877472B87   CAROL            SWEET                    CO     90006358774
7642B99493B137   RENEE            SANDIDGE                 DC     90012229949
7643191765B59B   DAVID            STROUD                   NM     90010009176
7643263857B429   ELIZABETH        PITKIN                   NC     11072286385
76432667672B87   ROMAN            RAMIREZ                  CO     90002306676
764329A2555947   MERCEDES         MORALES                  CA     49091239025
764334A5551544   IRANIA           CORDOVA                  IA     90015114055
7643372832B994   DANIEL           GOMEZ                    CA     90015157283
7643374359154B   ILEANA           CEBALLOS                 TX     75030987435
76433761672B22   JUAN             ESTRADA                  CO     90009547616
764337A667B477   ERIKA            JOHNSON                  NC     90011747066
76434333872B37   JESSICA          GUTIERREZ                CO     90007253338
76435818772B87   JEREMY           BEVIRT                   CO     90007228187
7643591979154B   JOSE             ESPARZA                  TX     90012929197
76435A11155939   MARIA            PASILLAS                 CA     90012970111
7643611AA8B134   JESENIA          ROJAS                    UT     90013951100
76436194672B22   ZENAIDA          ALVAREZ                  CO     90004841946
76436279372B44   MARIA            RUEDAS                   CO     90006092793
7643639812B994   DOROTHY          DUMM                     CA     45098633981
76436982872B29   TAYLOR           WEGRZYN                  CO     90012969828
7643765385B59B   MICHAEL          GALLEGOS                 NM     90007496538
7643778A431432   EDWARD           BENDER                   MO     90010367804
7643814729154B   LILIANA          MORALES                  TX     90009181472
7643834A755947   KIARA            JOHNSON                  CA     49080753407
76438443472B37   KURT             APPLEHANS                CO     90006274434
76439115472B44   URSULA           ARAGON                   CO     90007041154
764397A3872479   ALICIA           BOYCE                    PA     90008497038
7643981819154B   ERCILIA          VILLANUEVA               TX     75029458181
7643996988B142   JAVIER RICARDO   URBINA                   UT     90003529698
76439A53A55939   DANIEL           PALOMINO JR              CA     90006180530
76439A79772B44   RUTH             ARAGON-ANGEL             CO     90012630797
7643B186161986   MARIA            DAVILA                   CA     46022861861
7643B76855B59B   ROBERT           BEGAY                    NM     90014167685
7643B938291993   ISREAL           ROSAS                    NC     90006709382
7644236515B238   LUCILLE          WILLIAMS                 KY     90013433651
76442928172B87   JOSEPH           VIGIL                    CO     33029859281
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 891 of 2350


7644347255B59B   JESSE          GARCIA                     NM     90011094725
764438A8A31443   MARY           MCAVIN                     MO     27518258080
76444683A55939   REBECCA LYNN   HARTMAN                    CA     90009016830
76445649372B87   BRITTANY       PROSSER                    CO     90014826493
7644568389154B   MARISOL        CHAVEZ                     NM     75063346838
76446527672B29   GREG           FULLER                     CO     33037915276
7644681355B59B   JORGE          ESCOBEDO-ALONSO            NM     90013518135
76447165872B22   UNKNOWN        JOANIE ARMENDAREZ          CO     33036981658
7644742325593B   ENRIQUE        RODRIGUEZ                  CA     90008364232
7644748377B477   DANITA         COUSART                    NC     90014014837
7644774A581633   ISMAEL         CERVANTES                  MO     90001777405
76448941A5B395   JASON          HAMANN                     OR     90001759410
76448A79972B37   OSCAR          DOMINGUEZ                  CO     90013030799
7644991A38593B   ALAN           KILPATRICK                 KY     90004309103
76449A52A72B37   OSVALDO        RUBIO                      CO     33061430520
7644B26448B163   DWIGHT         BROWN                      UT     90003982644
7644B37688B134   REBECCA        CLARK                      UT     90013543768
7644B64369154B   IVAN           RAMOS                      TX     75086696436
7644B67469137B   PETER          TEZON                      MO     29015566746
7644B6A112B994   CHASITY        LEE                        CA     90008076011
7644B761372B29   HEATHER        HELLER                     CO     33053447613
7644B941833699   SCOTT          HANBACK                    NC     12040799418
7644BA7A58B134   JAMES          MWJAZE                     UT     90010170705
76451571A91572   ROCIO          RODRIGUEZ                  TX     75090005710
76451637772B44   ERICK          VALENZUELA                 CO     90013966377
7645183197B477   BEATRIZ        VELASCO                    NC     90012308319
76451943572B87   NELSON         ORTIZ                      CO     90012479435
76451A4A58B134   CITALIC        VARGAS                     UT     90010360405
7645253888B142   JOSE           RIVAS                      UT     90012425388
76452563672B29   ERIC           MIGUEL LUIS                CO     90013815636
7645288615B384   HARVEY         RIVERA                     OR     90007058861
7645325917B477   JOSE           ORTEGA                     NC     90011392591
76453636772B29   ISRAEL         FLORES                     CO     33076106367
76454311A9154B   EVA            GARCIA                     TX     90014963110
76455128772B37   ADELA          RIVERA                     CO     90007131287
7645535137B477   BRYAN          JOHNSON                    NC     90010973513
7645586388B157   MARVIN         ACKMAN                     UT     90015098638
7645588369154B   NAYELI         SALAZAR                    TX     90011128836
764566A1891572   CATALINA       MARTINEZ                   TX     90002336018
76456753A5B59B   ALEJANDRA      ORONA                      NM     90012927530
7645682A98B142   KURT           MOYER                      UT     31086318209
76456A77251355   KERRI          CARROLL                    OH     90014690772
76457134897B22   DAVID          DELLATTO                   CO     39017461348
764574A8572B32   KEVIN          COOPER                     CO     33044584085
76457945572B29   CESAR          LORENZO                    CO     90015179455
76457A2A441227   SHAWN          JACKSON                    PA     90005890204
7645857255B384   MARCUS         PELLETIER                  OR     44541315725
764587A9872B87   ANNETTE        VIGIL                      CO     90005077098
7645B44755B597   MARTINA        MONTOYA                    NM     90003694475
7645B953651355   MELANIE        WOODS                      OH     66003379536
764616A6251355   LOUSIE         BREWER                     OH     90012266062
76461818472B29   JOSE           ADINO                      CO     90013328184
76461865172B44   EDRA           JOJOLA                     CO     33087128651
76461957872B32   MARIA          OLGUIN                     CO     33074359578
7646239AA8B142   DALLIN         CURRY                      UT     90013623900
7646299438B155   PERRY          CARDWELL                   UT     90011809943
7646338798B134   TAMMY          GUDMUNDSON                 UT     31012523879
7646358455B59B   VICTOR         HOAK                       NM     35081285845
76463A41141237   FANTAISHA      EDWARDS                    PA     90013140411
76464115172B32   LORENA         MEDRANO                    CO     90013191151
76464136672B22   LARRY          ESTEN                      CO     90012891366
76465132A41253   MAUDE          JACKSON                    PA     90001901320
7646587724123B   CHRISTOPHER    NOEL                       PA     90013288772
764658A548B134   AMBER          REED                       UT     31035458054
76465A63A31432   THOMAS         BEDWELL                    MO     90011980630
76465A7AA5B59B   CHRISTOPHER    HERNANDEZ                  NM     90013820700
76465AA1981633   DOMINIQUE      RAY                        MO     90014340019
7646614828B163   JAMES          STEMBRIDGE                 UT     31039771482
76466676A81633   ROBERTO        ACOSTO                     KS     90014916760
76466A8599154B   EDUARDO        GALLEGOS                   TX     90010790859
76467141172B22   OMAR           SIERRA                     CO     90012891411
76467247A71921   JOSE           MENDOZA DURAN              CO     90013832470
76467876A51355   TIFFANEE       DUERR                      OH     90010478760
76467A18572B29   JOSE           CASILLAS                   CO     90015100185
76468159372B87   DEREK          KEEL                       CO     90008531593
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 892 of 2350


76468371872B21   YVETTE          ESTRELLA                  CO     90010583718
76468575772B32   RAIMOND         TRUJILLO                  CO     90013435757
764689A6955939   GLORIA          LOPEZ                     CA     48081229069
76469114A5B331   RACHELLE        STRANGE                   OR     90007781140
7646928A25B384   JENNIFER        FERGUSON                  OR     90004102802
7646B32378B134   M               G                         UT     90010053237
7646B697372B32   ANGELICA        RAMIREZ                   CO     33011636973
7646B998A72B44   ISMAEL          QUINIONES                 CO     33079169980
76471575172B44   CLIFFORD        KEAR                      CO     33077995751
76472673A72B37   JOE             MAESTAS                   CO     33035826730
76472A9A431432   CHRISTINA       WILHITE                   MO     90012060904
7647396788B134   WILLIAM         WALTER                    UT     90013129678
7647488A18B168   DIANA           BOYTER                    UT     31001188801
76477143572B22   JOCELYN         BARAJAS                   CO     90012891435
7647748935B38B   JENNIFER        THOMAS                    OR     90011074893
7647751638B168   NATALIE         MORGAN                    UT     90011725163
7647843593B137   GERSON          SERRANO                   DC     90013194359
7647849545B59B   MATTHEW         CORDOVA                   NM     35063134954
76478676272B32   INDRA           MAGAR                     CO     33006886762
7647885197B477   WALTER          GONZALES                  NC     90010888519
764789AA48B142   KYLIE           MAY                       UT     90010939004
7647935938B134   SHAUN           OLSEN                     UT     90012063593
76479485672B44   MICHAEL         WALKER                    CO     33070994856
7647997635B59B   RICCI           VINCENT                   NM     35005529763
7647B542972B37   MARIA           DIAZ                      CO     33081965429
7647B897555939   JOSE LEUTERIO   JUAREZ                    CA     90013788975
7647B89818B163   GREG            MARTIN                    UT     31080168981
7647B971855939   GERARDO         ACEVEDO                   CA     90014079718
76481327472B87   MATTHEW         MARTINEZ                  CO     90012503274
764827A5555939   HUMBERTO        ECHAURY                   CA     90014447055
7648319958B163   MATT            RIDDLE                    UT     31097531995
76483267572B29   JULIO           PAZ                       CO     90013402675
7648397A655939   ROGELIO         GALVAN                    CA     90009119706
76484143572B22   JOCELYN         BARAJAS                   CO     90012891435
7648448389154B   HECTOR          ROSALES                   TX     90012134838
764847A395B596   MANUEL          MASCARENAS                NM     90008517039
76485122A72479   THOMAS          NEWMAN                    PA     90013711220
764854A8655947   JESUS           RODRIGUEZ                 CA     90009414086
7648573A231432   ROZETTA         WILLIAMS                  MO     90013937302
76485A9868B163   JESIKA          MOORE                     UT     90011810986
76486299672B87   CRISTINA        ALMANZA                   CO     90010502996
76486536772B44   LINDA           SCHILLINGER               CO     90010815367
7648676A697B22   LUCUS           FELKER                    CO     39015867606
764872A4531443   DAVID           BROWN                     MO     27579942045
764872A599376B   FAITH           SHARP                     OH     90012532059
76487725672B44   MEREJILDO       CONCHAS                   CO     33045657256
7648853978B134   NEBIYAT         AREGAY                    UT     90015025397
7648856A172479   SHANNELLE       SCMUCK                    PA     51052745601
76488879A72B37   JEFFERY         ROSENGARTEN               CO     33000268790
7648895135B395   MARIA           HERNANDEZ                 OR     90012829513
76488A44472B29   BRIAN           CROOKS                    CO     90014990444
7648B46488593B   DUSTIN          MOORE                     KY     90012734648
7648B614761988   GEORGINA        ROMERO                    CA     90012816147
7648B884855947   TRISTINA        GOAD                      CA     90010778848
7648B918772B87   MARIA           MARTINEZ                  CO     90000499187
76491722872B22   ADRIANA         DUENAS-RIVERA             CO     90007977228
76492884A7B344   SOLANGE         CASTILLO                  VA     90003338840
76492A36772B44   GRISELDA        SEGUNDO                   CO     90012910367
764931A3761985   VALERIE         RABALAIS                  CA     46004691037
7649354585B384   MARIA           MILLER                    OR     44542125458
7649376A431432   LAVONIA         JONHSON                   MO     90006767604
7649445584126B   DONNA           BROWN                     PA     51070234558
764954A7272B32   LEEANDER        WALKER                    CO     90011114072
7649561249154B   BEATRIZ         VILLALOBOS-LOPEZ          TX     90014136124
7649593AA91993   TARRYN          GRAVES                    NC     90011149300
764966AA49186B   DAVID           BARNETT                   OK     90006926004
76496982272B44   ROBERT          KNOX                      CO     33096599822
7649872399154B   ERIKA           MARTINEZ                  TX     90007137239
76499238872B37   KEVIN           WALCOTT                   CO     90003222388
7649B134655966   JORGE           MELENDEZ                  CA     90014891346
7649B13858B157   JORGE           PAZ                       UT     90014011385
764B1264355939   JORGE           RODRIGUEZT                CA     90010622643
764B171588B142   AJA             REDD                      UT     90003697158
764B172A686456   LUISA           BERNAL                    SC     90015457206
764B1764272B22   MEREDITH        DEHERRERA                 CO     33054687642
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 893 of 2350


764B181128593B   JESSICA      TATE                         KY     90013418112
764B1827755939   BEATRIZ      LEDEZMA                      CA     90012918277
764B1914541237   MEGAN        WERNER                       PA     51092569145
764B247988B157   SHANE        BROWN                        UT     90010024798
764B2847772B32   ZULEMA       ARROYO                       CO     33092678477
764B3125772B22   WENDY        BUTLER                       CO     90012891257
764B3212741227   KERRI        VANGELDER                    PA     51048992127
764B3859A8B157   AMANDA       NIELSON                      UT     31065088590
764B437825B59B   MELANIE      SANCHEZ                      NM     90010853782
764B4581A9154B   ARMANDO      ENRIQUEZ                     TX     75089945810
764B4641772B37   MICHAEL      TAPPAN                       CO     90004016417
764B481948B142   PATRICIA     VELASCO                      UT     31067998194
764B4923281633   AMAPOLA      GARCIA                       KS     90015319232
764B514197B477   PERLA        TREJO                        NC     11063711419
764B5817491586   FERNANDA     ANDAVERDE                    TX     90011568174
764B5A54155966   JUSTIN       MILLS                        CA     90014870541
764B6174972B44   RACHEL       GESIN                        CO     90015051749
764B632355B59B   LORI         LELUGAS                      NM     90001693235
764B6A25555966   SANDOVAL     JOSE                         CA     48016840255
764B792989154B   JEANETTE     LLORENS                      TX     75012409298
764B7A86272B22   MICHAEAL     CHAPMAN                      CO     33008300862
764B7A88781633   TIMOTHY      FOSTER                       MO     29057800887
764B863839154B   CLAUDIA      HERNANDEZ                    TX     90012906383
764B8693481633   MARIELA      SEGURA                       MO     29054336934
764B87A4793739   JAMES        JEFFRIES                     OH     90013937047
764B886185B59B   APRIL        HERRERA                      NM     90010988618
764B89A3681633   STEPHANIE    WHITE                        KS     90015109036
764B916745B37B   BRANDON      BUCKLEY                      OR     90011751674
764B9411455939   ALEJANDRO    HERNANDEZ                    CA     48006434114
764B963718B142   ASHLEY       ANDERSON                     UT     90008876371
764B9736431432   LORIA        SIMMS                        MO     27574777364
764B9933593739   JAMIE        BRENNER                      OH     90012539335
764BB123781633   LESTER       SANCHEZ HERNANDEZ            MO     90012271237
764BB325351355   KEYANA       BROWN                        OH     90012863253
764BB673A72B37   ALAN         PINUELAS                     CO     90012306730
7651148287B477   JAVIER       CASTILLO                     NC     11042424828
76511828772B32   EDUARDO      FLORIES                      CO     33051808287
7651238468B163   MICHEL       CHAVEZ                       UT     31075073846
7651257138B157   DYLAN        DEMILLE                      UT     90015035713
765131A328B134   LONNIE       JOHNSON                      UT     90011111032
7651349118B168   LUIS         VAZQUEZ                      UT     31092224911
7651436418B134   EMMA         HALSTEAD                     UT     90013413641
76514661272B87   ELISEO       GONZALES                     CO     90013276612
76515A29172B87   IRIS         CASTILLO                     CO     90013250291
76516A33655939   NICHOLES     BRADLEY                      CA     48043020336
76516A73441253   KIERRA       ALLEN                        PA     90002710734
76517129A72479   HOLLY        WELCH                        PA     51011951290
7651898AA2B994   HEATHER      FERNANDEZ                    CA     45072419800
7651983542B994   KAO          XIONG                        CA     90013058354
7651B74329154B   GLORIA       SAPIEN                       TX     90006137432
76521687A72B87   JOVANNI      BONILLA                      CO     90011616870
7652173745B59B   DOMINIC      LLAMAS                       NM     35000037374
76522A57531432   ARNOLD       CRUTCHFIELD                  MO     27581020575
7652353118B163   RAY          JOHNSON                      UT     31075265311
765235A8572B37   FELIPE       GONZALEZ                     CO     90009865085
7652367589154B   ALFREDO      BARRIOS                      TX     90014186758
76523677772B29   KELLIE       MARTINEZ                     CO     90007736777
765238AA341253   JANE         FRASER                       PA     90005118003
765242A1251378   EVERETT      SMITH                        OH     90008992012
765246AA89154B   MONIQUE      CHAVEZ                       TX     90014186008
7652498118593B   AARON        WILBERS                      KY     90009169811
7652597437B477   CANDICE      FUNDERBURK                   NC     90014209743
76526411672B22   JERIKA       ROMERO                       CO     90011304116
76526641472B29   GINA         ARAGON                       CO     33050286414
7652689338B134   RUSSELL      STEADMAN                     UT     90014918933
7652741A472B22   JENNIFER     BEIZA                        CO     90001184104
76527A71872B32   JUAN         TORREZ                       CO     33075750718
76527AA119154B   DIANA        CRUZ                         TX     90013950011
7652834348B168   TARIK        QUAYSON                      UT     90013753434
76528811772B32   ANGEL        LOPEZ                        CO     90009578117
76529796A8593B   KATHERYN     LARISON                      KY     90010797960
7652994A272B37   JUSTIN       SANTANA                      CO     90014179402
76529A8438B157   EDIN         KASUMOVIC                    UT     90008350843
7652B148455966   VERONICA     BENAVENTE                    CA     90014921484
7652B232593739   BRYAN        PARTIN                       OH     90012952325
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 894 of 2350


7652B23672B994   CLAUDIA      GARCIA                       CA     90011452367
7652B691481633   VERIONICA    SCROGGINS                    MO     29027416914
7653112539154B   JESUS        PENA                         TX     90007181253
7653191A68B157   DHAN         BASTOLA                      UT     90015019106
7653197489154B   MERCEDEZ     CHAVEZ                       TX     90003489748
7653289238B157   ANTONIA      ARIAS                        UT     90011468923
7653316529154B   JAMES        GORBETT                      TX     75011681652
76533447472B44   MARCIAL      MUNOZ                        CO     90013034474
76533623872B44   MELISSA      ABREGO                       CO     90013046238
7653458313B137   GARRETT      HOWARD                       DC     81055085831
76534847572B22   GABRIEL      GONZALEZ                     CO     90012898475
76534A92131432   JACINTA      LEWIS                        MO     90013490921
7653534A272B44   PATRICIA     RAMIREZ                      CO     33046533402
76535A62193739   RENITA       MAYS                         OH     90005400621
7653621958B134   ANNAMARIE    YAZZIE                       UT     90013952195
7653696619154B   YERALDIN     PERLA                        TX     90010229661
76536A25672B29   EDUARDO      ROSALES ALDERETE             CO     90003310256
7653723768B168   SHAWN        HAVILI                       UT     90001242376
76537319672B44   MARIA        PIEDRA                       CO     33006373196
765377A8A93739   CARMEN       GOODEN                       OH     64525527080
76537952172B32   DAVID        KEARNS                       CO     33068969521
76538437A91993   DONESE       HOPSON                       NC     90006874370
765389A4755966   YOLANDA      OLIVERA                      CA     90014929047
7653959628B134   JULLIANA     MENDOZA                      UT     90013155962
7653B23189154B   MARTIN       APODACA                      TX     90012752318
7653B368141253   MICHELLE     LINSENBIGLER                 PA     51092663681
7653B89745B59B   TEAKA        VANVERTH                     NM     90015118974
7654118478B142   KYLE         ANDERSON                     UT     90013631847
7654168953B371   GLORIA       CHAVEZ                       CO     90009116895
765416A9755939   MAYRA        FLORES                       CA     48047816097
7654195517B45B   MOISES       MEJIA                        NC     90013659551
7654197A772B87   STEPHANIE    DURAN                        CO     90015149707
76541A54372B44   SIDNEY       GOSNELL                      CO     90015120543
76542247A41227   SAM          PERHACH                      PA     51081542470
7654227A28B142   BRANDON      MCNAIR                       UT     90012032702
7654285527B357   JASON        DOLL                         VA     81002148552
76542A17172B37   RENEE        DUARTE                       CO     90012080171
76542A86172B87   RUBEN        CANDELARIO                   CO     90012230861
7654322764B563   DELIECE      WALKER                       OK     90008622276
7654332A631433   DANIELLE     JACKSON                      MO     27573273206
765436A6372B37   ED           SANTOS                       CO     90014936063
7654371A641237   ANTHONY      DEPANTE                      PA     51073087106
7654378822B994   ERIK         PINEDA                       CA     90013427882
7654379238B134   KHIN         HTWEI                        UT     90012457923
7654421778593B   JEFF         AREHART                      KY     66082012177
7654521657B477   JAEQUELINE   LSATHSRS                     NC     90000322165
76545636772B29   ISRAEL       FLORES                       CO     33076106367
765457AA472B37   MAXINE       PAPES                        CO     90013847004
76546184872B32   BRIANA       WEST                         CO     90014561848
76546A87872B37   JAMES        REYNOLDS                     CO     90013030878
7654731517B477   VERMON       HUNTER                       NC     11090423151
765481A2931432   BENJAMIN     GILBERT                      MO     90013321029
7654858998B134   SHELLEY      WILLIAMS                     UT     31086135899
76549222872B29   JAIME        GARCIA                       CO     90013932228
7654937745B59B   MERCEDES     MOREJON                      NM     35048393774
7654963759184B   SACORA       PONCIL                       OK     90004836375
7654987798B168   GLENN        LOGSDON                      UT     90004068779
76549A67372B44   NANCY        PESCADOR                     CO     33052970673
7654B114171921   ELVA         BAUTISTA                     CO     32050331141
7654B36423168B   JOANN        SHOPE                        KS     90010243642
7654B643472B32   JESSICA      OLIVAS                       CO     90008596434
7654B651455939   ADRIAN       MENDEZ                       CA     90010356514
7654B748131432   JERMOND      MCGARY                       MO     90012867481
76551435A93739   PAMELA       HARRINGTON                   OH     90001134350
76551456972B44   KATHERINE    ZAMORA                       CO     90013034569
7655172318B189   MARIA        BERNAL                       UT     31017427231
76551924A55966   MARIA        DORAME                       CA     90006969240
76552457472B44   JAVIER       PEREZ                        CO     90013034574
76552689A72B87   JAIME        CASTRO                       CO     90012316890
7655272318B189   MARIA        BERNAL                       UT     31017427231
76553326A72B44   LIZBETH      LOREDO                       CO     33054253260
76553AA9A5B59B   VALERIE      ARCHIBEQUE                   NM     90014920090
7655446168B163   FERNANDO     HERNANDEZ                    UT     31090084616
7655448748B134   ESTEBAN A    GONZALEZ                     UT     90009664874
7655455387737B   DANA         SIMMONS                      IL     20516705538
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 895 of 2350


7655496A88599B   CHRISTINA     MOORE                       KY     90011259608
765554AA993739   CRAIG         GRENIER                     OH     90014634009
7655551113B35B   THOMAS        SMITH                       CO     33015575111
76555568A72B22   MIGUEL        GUZMAN                      CO     90006175680
76555714A8B134   BENJAMIN      WILWERDING                  UT     90005197140
7655595368B163   PHILOMENE     SINGINGAYO                  UT     90013019536
765559AA98B157   JUSTIN        SCOTT                       UT     90006129009
765567A378B168   AZUCENA       LOPEZ                       UT     31095547037
76556896972B87   KENDRA        CARDINAL                    CO     90003138969
76556998A71921   FRANCESCA     MARTIN                      CO     32015319980
7655772458B168   APRIL         ESPINOZA                    UT     31002127245
7655779118B163   ALEXANDER     VINCENT                     UT     90001847911
76558599472B87   MARCO         LOPEZ                       CO     33028805994
7655889A32B994   RUSSELL       RYAN                        CA     90014078903
76558A36871921   PALOMA        ROMERO                      CO     90013840368
76559118A3168B   REGINA        EDWARDS                     KS     90001691180
76559457472B44   JAVIER        PEREZ                       CO     90013034574
76559913272B22   CARLOS        NAVARRETE                   CO     90010609132
76559A12531432   CHARLEIE      VANCE                       MO     90014800125
7655B13729154B   WENDY         MARTINEZ                    TX     90003951372
7655B13AA31433   FLORANCE      ESTELL                      MO     27558741300
7655B17A98B157   MALAKAI       MATANTI                     UT     90013351709
7655B494672B29   JAQUELINE     PONCE                       CO     90010694946
7655B784A81633   BR            WILEY                       KS     90008227840
7655BA75972B44   VERONICA      KOONTZ                      CO     33047180759
7655BA99771921   JOHN          CEARLEY                     CO     32072880997
7656195568B142   CARLOS        UGALDE                      UT     90014969556
76562497A81633   NATALY        VELASQUEZ                   MO     90007114970
7656253422B271   DEE           JAY                         DC     81079195342
76562A2618B168   SAM           BURNINGHAM                  UT     90002190261
7656323838593B   ANDREW        TREVINO                     KY     90014442383
7656338428B134   BREE          JEPPSON                     UT     90013413842
76564324872B32   FRANK T       MWAGELE FLORENCE            CO     33090653248
7656439485B59B   BRONSON       STARK                       NM     90010543948
7656567A98B134   CAROL         CRANFILL                    UT     31073866709
7656597538B142   SAM           KEEKE                       UT     90010269753
7656656558B163   DAVID         GARCIA                      UT     31087245655
7656665548B157   NELSON        MARTINEZ                    UT     90005206554
7656728A372B44   ANDY          RODRIGUEZ                   CO     90015132803
7656761379154B   ROBERTO       LUNA                        TX     90014546137
76567A3238B157   JAMIE         FORD                        UT     90010460323
76567A9848B134   MERSADI       PROVOST                     UT     90011930984
76568118A71921   CAROL         DUNCAN                      CO     90015121180
7656895A18B142   BRYAN         ANDERSON                    UT     31015019501
7656958738B163   JAIRO         PINEDA                      UT     90015175873
7656978A972B32   DARIA         GARCIA                      CO     90002367809
7656B4A8655947   JESUS         RODRIGUEZ                   CA     90009414086
7656B828A72B87   ANN           LINDEY                      CO     90011858280
76571A3268B157   EME           LEAUSA                      UT     90014860326
7657292315B384   RANDY         STEVENS                     OR     44515469231
76573166672B22   BRITTNEY      ORR                         CO     90013841666
7657324349154B   ERNEST        RAMIREZ                     TX     75002692434
76573289A5B59B   PHILOMINA     PAIJEBO                     NM     90010462890
765733A1472479   KRISTEN       NATALI                      PA     90010363014
7657367183B384   BRIAN         ROBINSON                    CO     90010296718
7657395AA72B22   BRITTNEY      ORR                         CO     90011139500
7657434428B157   JOSHUA        SUNG                        UT     90012953442
7657519A941237   CALEB         HENDRICK                    PA     90012781909
7657545753168B   SUSAN         HILLIARD                    KS     90015074575
7657558485B59B   FRANCINE      LOPEZ                       NM     90014585848
76575725A72B37   ERICK         MARTINEZ                    CO     33012277250
76575765A91572   GUSTAVO       GUTIERREZ                   TX     90009877650
7657626658B163   OLIVIA NENE   RODRIGUEZ                   UT     90011812665
7657685A472B22   TITAN         RITENOUR                    CO     90012488504
7657733923168B   TALI          SMITH                       KS     22024143392
7657736A68B358   DEVIANNAH     PERKINS                     SC     90011093606
76577675272B32   JULIO         HERRERA                     CO     90012046752
7657771495B59B   ERIC          ROSALES                     NM     90011057149
76577A75555947   MICHAEL       ORNELAS                     CA     49074920755
76578A33372B32   JACOB         PACHECO                     CO     33064080333
76578A4777B477   CARLOS        ARISTONDO                   NC     11086250477
7657B19145B59B   REISS         JUANICO                     NM     90000581914
7657B369672B87   NANCY         QUIJADA                     CO     90012263696
7657B554181633   MICHAEL       WOODWARD                    MO     90014025541
7657B986772479   JAMIE         FERRARI                     PA     90014599867
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 896 of 2350


7658111173B393   BERTHA       GARCIA                       CO     33065621117
7658116A372B22   CLARE        FLORES                       CO     90012891603
765813A548593B   COURTNEY     LUDWICK                      KY     90011103054
76581635572B32   AURORA       RODRIGUEZ                    CO     90012806355
76581AA7A91993   BERTHAL      ETTSON                       NC     90010060070
7658229675B59B   LAWRENCE     GREEN                        NM     90013922967
7658288178593B   DENA         UBREY                        KY     90006758817
7658293932B994   ANGEL        AGUILAR                      CA     90014669393
765833A1A71921   LATONYA      DOUGLAS                      CO     90014153010
765834A9372B22   NICHOLE      PEREZ                        CO     33018224093
7658459A272B32   ASHIIYA      JONES                        CO     90012705902
7658497239154B   GABRIEL      ANDUJO                       TX     90011969723
7658498688B142   BALTAZAR     PEREZ                        UT     90013969868
76584A3A755947   RICK         NUNEZ                        CA     90008870307
76584A6982B994   ENRIQUE      ZURITA                       CA     90003290698
7658516A372B22   CLARE        FLORES                       CO     90012891603
7658522258B163   MARCELA      LUNA                         UT     90013072225
7658555A28B157   DEMACIO      NATAEL                       UT     90012445502
7658569527B477   JONIESE      WILLIAMS                     NC     11050746952
765857A3372479   ALESA        DAGUE                        PA     51085967033
7658583845B384   RICHARD      BARRY                        OR     90006508384
7658617628B163   WESLEY       ENGLISH                      UT     31039761762
7658699918B142   MICHAELA     KAMMERMAN                    UT     90010519991
76586A2945B59B   SHELLYANN    BACA                         NM     90010510294
76587A58181633   CHRISTINA    WEIGEL                       MO     29024460581
7658813338B168   NICHOLE      MCCALLISTER                  UT     90014021333
7658841633168B   LINDSEY      CRUSINBERY                   KS     90003404163
7658856888B168   NICHOLE      MCCALLISTER                  UT     90009775688
7658889238B157   ANTONIA      ARIAS                        UT     90011468923
7658994648B168   KEVIN        HARPER                       UT     90002989464
7658B344693739   DONIKKA      LUSTER                       OH     64564703446
7658B786355939   YADIRA       GAMEROS                      CA     90013937863
7658BA8249154B   MARISELA     ROWE                         TX     90003090824
765911A4572B37   CATY         SIFUENTES                    CO     33038691045
765913A4655947   STEVEN       XIONG                        CA     49083743046
765913AA68B163   SHAMILA      CHAND                        UT     90011813006
765915A3172B29   CRYSTAL      MORALES                      CO     90001825031
76591A64A72B22   DAVID        LERMA                        CO     90013790640
76592311972B22   NUNO LOPEZ   MARTA                        CO     33025293119
7659244128B157   TRAVIS       WARNER                       UT     90013074412
76593A36A55939   MARTHA       SANTOS                       CA     90003600360
76594459472B44   FRANCISCO    BURCIAGA HOLGUIN             CO     90013034594
7659482588B163   RAMON        SANCHEZ                      UT     90013298258
7659549A58593B   SHERRY       TILLINGHAST                  KY     66052404905
7659577588B168   RANDI        SPIKER                       UT     90011727758
76595A96291993   SNT          ADMINISTRATION               NC     90002230962
76596212872B29   SHANNON      CHARLOT                      CO     33087042128
7659643118B168   CHRISTINE    ALLEMAN                      UT     90000644311
76596715572B87   CAROL        SPINK                        CO     33096087155
7659682588B163   RAMON        SANCHEZ                      UT     90013298258
76596862472B22   FRANCISCO    JAVIER                       CO     90012898624
76596A1455B59B   LUIS         RIVAS                        NM     90014920145
7659717A78B157   REBECA       MENDOZA                      UT     90015161707
76597444A72479   SHAWNA       EVERETT                      PA     90011884440
76597459872B44   KLAW         MEH                          CO     90013034598
765977A1472B29   ANTOINO      SOLIS-GUERRA                 CO     90004527014
7659896618B142   CAROL        RAWLINGS                     UT     31016129661
76598A12472479   CONNIE       ROSSETTI                     PA     90014710124
76599A29433698   MIRNA        ROMAN                        NC     90008400294
7659B852172B22   CURTIS       HJELLE                       CO     90012898521
765B118478B142   KYLE         ANDERSON                     UT     90013631847
765B127967B477   REGINALD     ANDERSON                     NC     11096592796
765B1677772B29   KELLIE       MARTINEZ                     CO     90007736777
765B1AA912B994   JUAN         OROZCO                       CA     90012910091
765B2114172B87   VERNON       HILL                         CO     33008281141
765B2149681633   NICOLE       RICK                         MO     90012961496
765B2271251378   JACKIE       HAMILTON                     OH     90005252712
765B2721A72B37   VALERIE      SASSE                        CO     90012307210
765B2A9348B142   MICHAEL      TROUTMAN                     UT     31005780934
765B323428B134   SPENCER      MCDOUGAL                     UT     31048432342
765B3486872B87   SABRINA      FLEMING                      CO     90013484868
765B4172355966   PRICILIANO   PLACENCIA                    CA     90014891723
765B4214531433   KEVA         CLAGGETTE                    MO     27546652145
765B4477172479   REBECCA      COMER                        PA     51077264771
765B4673572B32   WADE         SCHAEFER                     CO     90012046735
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 897 of 2350


765B4974871921   JAMES         MAYNARD                     CO     90012609748
765B55A5372B31   SARA          CHANCE                      CO     90015025053
765B5A4798B134   KARLA         GARCIA                      UT     90010360479
765B627468B168   COLTON        CASE                        UT     90008382746
765B6399755947   NICK          GARCIA                      CA     90012433997
765B6491972479   NICOLE        SALVINO                     PA     90012434919
765B6AA648B163   LAURELIN      CLARK                       UT     31084510064
765B7175971921   JAMI          WRIGHT                      CO     90014651759
765B7186355966   LUIS          PORRAS                      CA     90014891863
765B7535572B32   TROY          TORRES                      CO     33091665355
765B766972B994   MARCI         HUGGINS                     CA     90014856697
765B8186355966   LUIS          PORRAS                      CA     90014891863
765B868998B157   CHRIS         IDOWU                       UT     31094426899
765B88A723B35B   MATTIE        STEMPER                     CO     90013208072
765B9296293739   BOGGS         JACQUELINE R                OH     90005702962
765B9414A72B22   JAMES         GIROUX                      CO     90015284140
765B954278B168   LAVI          UASIKE                      UT     90011725427
765B9672772B87   DAMARIS       LOPEZ-RAMOS                 CO     90013056727
765B986413168B   RODNEY        PIKE                        KS     22023788641
765B996618B157   SHELLIE       BARTON                      UT     90015129661
765BB34118B353   MISAEL        BAUTISTA                    SC     90015313411
765BB423672B22   VICTOR        AYALA                       CO     90012754236
765BB828A55947   TANYA         ORTIZ                       CA     49083188280
765BB898641253   MATTHEW       PAWLAK                      PA     90012518986
7661112A893739   FRANCIS       MAJACK                      OH     90014501208
76611831372B22   ANDEW         ALEXANDER                   CO     90011658313
76611A67355947   ANA           ANDRADE                     CA     90012180673
76612674A91993   AUDY          JASMIN RODRIGUEZ            NC     90012726740
7661276328B134   DANIEL        FINLAY                      UT     90000917632
7661397735B59B   AJ            HOUSTON                     NM     90014979773
7661426238B134   CAMILO        MEDINA                      UT     90014522623
766145AA95B384   KRISTALYNN    BISHOP                      OR     90004105009
76615167472B32   DAVID         HERNANDEZ                   CO     33014711674
7661535562B994   STARR         STEPHENS                    CA     90011343556
7661563429139B   MARIA         HOWARD                      KS     90002596342
76615718A55947   JESSE         CERVANTEZ                   CA     90009447180
76615755572B44   SAUL          VALQUIER ARGUMANIZ          CO     90011307555
76615973472B44   FRANCISCO     NEVAREZ                     CO     90014699734
7661635562B994   STARR         STEPHENS                    CA     90011343556
7661637124B263   JULIE         MCGUIRE                     NE     90011633712
7661689249154B   YASMIN        TORRES                      TX     75081158924
76616973472B44   FRANCISCO     NEVAREZ                     CO     90014699734
76617334897B39   SAVANNAH      KLINGENBERG                 CO     90008253348
7661753255B541   MOSES         LONDER                      NM     90008185325
76617A84585995   RACHEL        HEGER                       KY     90008550845
76618456972B44   KATHERINE     ZAMORA                      CO     90013034569
766187A8293739   COURTNEY      WILLIAMS                    OH     90010917082
766187A9A7B477   JESSENIA      CHINCHILLA                  NC     90011327090
76618838572B22   TOMAS         DELUNA                      CO     90010298385
76618A7398B163   JORDAN        GALE                        UT     90004980739
76619589172B44   JAMES         ROMERO                      CO     33076765891
76619874472B87   MIGUEL        BRUNO                       CO     33016288744
7661B332933699   TWILLA JEAN   GREER                       NC     90007603329
7661B41A691933   ROBIN         MARENCO                     NC     90013004106
7661B554181633   MICHAEL       WOODWARD                    MO     90014025541
7661B78879154B   MONIQUE       LARA                        TX     90015207887
76621159672B29   LOURDES       GARCIA                      CO     33016831596
7662133728B157   ARMANDO       SEGUIS TAVARES NETO         UT     90011903372
7662142225B59B   SERGIO        MACHADO                     NM     90014334222
7662228312B994   JACKIE        MELANDER                    CA     90002602831
76622587272B22   AMBER         BRAND                       CO     33014345872
76622937A72B32   DAVE          JOHNSON                     CO     33009629370
76623248272B29   TERRY         SOLIS                       CO     90007642482
7662354595B59B   MARCUS        MONTOYA                     NM     90012235459
76624122572B87   MELISSA       ADAMS                       CO     90012091225
7662416A372B22   CLARE         FLORES                      CO     90012891603
766242A6481633   SHEILA        CROWELL                     MO     90001882064
7662433A88B134   MARCY         JUDSON                      UT     90006103308
76624368A72B32   NANCY         MAEFINES                    CO     33095473680
76624583372B44   ANNA          QUIJADA                     CO     90013065833
7662515877B477   ANTHONY       WILLIAMS                    NC     90013611587
76625353672B37   CHRISTIAN     ROBLES                      CO     90011583536
766259A837B477   EBONY         BALKUM                      NC     90010269083
76627483A41227   SHARICE       SMITH                       PA     90001734830
766277A363B358   MISAEL        ANGELES                     CO     90014337036
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 898 of 2350


7662811A89154B   KARLA         ALEJANDRE                   TX     90013721108
7662869233B354   BRENDA        LUND                        CO     90013056923
76628998372B37   ROYELIO       GARCIA                      CO     90008449983
7662928158B134   DOUGLAS       WANGSGARD                   UT     90013952815
76629469772B44   TERESA        SOSA                        CO     90013034697
76629599A72479   MELINA        BARTOLOZZI                  PA     90006705990
7662B421593739   MICHELE       FRITZ                       OH     90003224215
7662B434891975   DAWN          WHEELER                     NC     90003704348
7662B83835B59B   ANALAURA      RODRIGUEZ-CHAO              NM     35001498383
7662B8A3184336   TIFFANY       SUMMERS                     SC     19086418031
76631451872B44   RYAN          SUMNERS                     CO     90012004518
76631466572B22   JAMIE         LEAVITT                     CO     90013314665
7663217A28593B   CASSIE        KING                        KY     90011081702
7663246978B134   ANGELINA      ANGOL                       UT     90011664697
766325A9A9154B   BARBARA       GUZMAN                      TX     90012255090
76632634472B44   HOLLY         VINCENT                     CO     90015196344
76633616A33698   THOMAS        HOWARD                      NC     12085966160
766336A855B59B   MICHAEL       CHAVEZ                      NM     35078646085
76634466272B29   ANGEL         SAENZ SANCHEZ               CO     33059344662
766345AA58593B   JOSH          KAISER                      KY     90013375005
7663511A89154B   KARLA         ALEJANDRE                   TX     90013721108
7663536938593B   CHRISTOPHER   FORD                        KY     90008403693
76635A59541253   JUSTIN        LAURIA                      PA     51045780595
7663675AA8593B   LOUIS         SPEARS                      KY     90007677500
76636779672B22   MITTCHELL     ROLEY                       CO     90009577796
76637733872B32   BARBARA       ROCHA                       CO     33015857338
76637A94491993   MARLENE       DRUMMOND                    NC     17087830944
76637A96A33698   KIMBERLY      LESTER                      NC     90013620960
766383A7A72B22   MARCOS        GUZMAN-GUERRA               CO     90013363070
7663862119154B   ENRIQUEZ      HILDA                       TX     90009236211
766391A1A72B44   EDWIN         GARCIA                      CO     33096031010
7663951348B142   TIMOTHY       SCHOUTEN                    UT     90014425134
76639699A5B59B   MARIA         NAVARRO                     NM     90000986990
7663972A155947   JOZETTE       CARRILLO                    CA     90012607201
76639767672B29   ISMELDA       LUNA                        CO     90013227676
7663976A972B37   ISABEL        PEREZ                       CO     33084047609
76639A59855939   YVETTE        SAINZ                       CA     90008700598
7663B346872B32   CHRISTOPHER   MCCLURE                     CO     90009533468
7663B41145B59B   VALERIE       OROPEZA                     NM     90014334114
7663B64488593B   JENNIFER      GRAY                        KY     90014246448
7663B797193739   TENISHA       WARE                        OH     64549517971
7663B81A391993   KENYETTA      WRIGHT                      NC     90012718103
7663B86A971921   NOE ALAN      RASCON COTA                 CO     90015318609
7664133335B59B   TINA          DEBARY                      NM     35001443333
7664151119154B   TOMMY         DURAN                       TX     90010435111
7664152A47B477   NICOLE        BEATTIE                     NC     90004805204
766421A618B142   HOLLY         MCMAHON                     UT     31060731061
7664226777B477   MARICELA      VAZQUEZ CARTEZ              NC     90011162677
76643A67A31432   MICHAEL       HUDSON                      MO     90014100670
76644477972B44   PAUL          KUSLER                      CO     90013034779
7664479AA41227   VEMA          SMITH                       PA     51078907900
76645935772B87   GREGORY       GILES                       CO     90012909357
76645978472B22   MARIA         RODRIGUEZ                   CO     33093729784
76646228272B87   JORGE         GUTIERREZ                   CO     90013882282
76646834672B32   PATRICK       SCRIVANO                    CO     90009318346
76646A41141227   DOMENICO      PASQUARELLI JR              PA     90002900411
76647291872B87   ELISETH       FIGUEROA                    CO     33099042918
7664863899154B   ALMA          SANDOVAL                    TX     90014186389
76648A5942B994   BENJAMIN      FULLER                      CA     90013640594
76649A5838593B   CAROLE        REED-MAHONEY                KY     90013180583
7664B197831443   FRANK         RICHARDSON                  MO     27569981978
7664B1A8A5B59B   HENRY         CHAVEZ                      NM     90013971080
7664B662372B22   BRENDA        AVILA                       CO     33097836623
7664BA59A8B134   BRITT         WRIGHT                      UT     90012270590
7664BA8532B994   BRIANNA       BUTLER                      CA     90014450853
76651392272B37   FELIPE DE     ESPARZA                     CO     33095033922
766514A7551355   RICARDO       DIAZ MONROY                 OH     90015134075
7665156A35B384   KATHY         CARTER                      OR     90004105603
7665174212B994   JUAN          PERALES                     CA     90014087421
76652318572B44   MARIA         DE LA CRUZ                  CO     90010833185
7665256A35B384   KATHY         CARTER                      OR     90004105603
76652774872B37   ENRIQUE       MENDOZA                     CO     90014957748
76652A1888B134   FLORENTINO    GASPAR                      UT     31064850188
7665339498B157   JONATHAN      NUNEZ                       UT     90013363949
766539A7933698   ANGELA        PAYNE                       NC     90013889079
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 899 of 2350


7665463672B994   DESTINY       FAGUNDES                    CA     90002996367
766547A498B163   BROCK         SMITH                       UT     90015177049
7665518319154B   JOSE          RIOS                        TX     90001891831
7665536115B59B   CHRISTOPHE    GARCIA                      NM     90001103611
76655632572B29   ROSA          SABALSA                     CO     90015146325
7665589818B163   DARCY         TOAFE                       UT     90002458981
76655928A55966   JERRY         LITTLE                      CA     90000309280
76656178472B32   YOLANDA       EXQUIVEL                    CO     33064291784
76656297672B22   FELICIA       ENGLISH                     CO     33095782976
76656791272B37   ANNA          PINON CHACON                CO     33056587912
76656872A91993   EMMA          TORRENTON                   NC     90009468720
766576A5391993   ANALILIAN     ARMASO                      NC     90008806053
7665798264B263   DANIEL K      GULICK                      NE     90006609826
76658332172B87   ELISA         MUNOZ-OLIVAS                CO     90005893321
766587A2291993   WALTER        CHAVARIA                    NC     90006997022
766588A9972B37   ADRIAN        MARQUEZ                     CO     90014718099
76659454A81633   TARON         CARSON                      MO     90013884540
76659868972B37   RICHARD       REYES                       CO     90013358689
7665B787655939   RUBY          QUILANTAN                   CA     90012937876
7665B849672B27   BETHANY       ROBINS                      CO     90008358496
7666121578B142   JAYMZ         URE                         UT     90008242157
76662495772B22   LEROY         DEFFEBAUGH                  CO     90001524957
76662859372B29   YESENIA       REYES                       CO     90013438593
76662A7A55B59B   LILIA         VALENZUELA                  NM     35066040705
766634AA872479   GREGORY       GLASER                      PA     51062074008
76663663372B29   CAMEROM       GREEN                       CO     90005536633
7666366575B375   KYLARA        BOOTH                       OR     90002096657
76664415772B44   DORA          AMBOURN                     CO     90009184157
76664569A7B477   MAJOR         WIFE                        NC     90012855690
76664716472B87   MIKE          CAGLEY                      CO     33033817164
76664981A31432   LATONYA       CLARK                       MO     90013939810
76664A4178593B   LINDA         MAY                         KY     90012060417
76665422672B37   RUBEN         CABRERA                     CO     90001944226
7666543482B29B   DAVID         WITHERSPOON                 DC     90007884348
7666615AA71921   LASHAUNA      JONES                       CO     32013811500
7666696A272B22   PEDRO         BINTEZ                      CO     90011139602
76666A11291993   LORLAINA      J FUNDERBURK                NC     90007000112
7666738A272B22   JOANNA        SANTORA                     CO     90008913802
7666794A872479   CHAD          WALKER                      PA     90015149408
76668517172B35   RYAN          OLIVE                       CO     90009235171
766686A9981633   DUSTIN        DOLE                        MO     90013546099
7666883817B477   JERRY         GIRAUD                      NC     11012818381
76668878472B29   DICK          MARTINEZ                    CO     90013688784
76668A3897B477   RUDY AGUILA   LOPEZ                       NC     90014710389
7666924898B142   JOHNNY        SAAVEDRA                    UT     90008412489
7666971738B163   ALFONSO       ANDRADE DIAZ                UT     90015177173
7666991363168B   WILLIAM       MITCHELL                    KS     22004799136
76669A58555966   CINDY         VASQUEZ                     CA     90014980585
7666B345972B29   GONZALO       FREDOSO                     CO     90013983459
7666B67388B157   NOELIA        AVILA                       UT     31039286738
7666B747372B44   MARICELA      VILLEGAS                    CO     33097007473
7666BA8532B994   BRIANNA       BUTLER                      CA     90014450853
76671381872B37   JESSICA       QUEZADA                     CO     90014803818
76671A93872B22   VERONICA      HERNANDEZ                   CO     33093880938
766722A1A9154B   MAGGIE        SANCHEZ                     TX     75096072010
7667278228593B   DIANE         MULLINS                     KY     66043587822
7667289515B241   MONESA        WOODS                       KY     68062638951
76673129A72479   HOLLY         WELCH                       PA     51011951290
76673378672B22   MARIA         CONTRERAS                   CO     90006433786
7667373978593B   TABATHA       KENDRICK                    KY     90013477397
76674277A72B38   ALICIA        DONALD LUCERO               CO     90011502770
76674821272B29   FATIMA        ALDABA                      CO     90001858212
766754AA872479   GREGORY       GLASER                      PA     51062074008
766756A8831443   CHARLES       SIMMONS                     MO     27591356088
7667571A772B29   ELIZABETH     TOLEDO                      CO     90006757107
76675984A41237   GEORGETTE     SWISHER                     PA     51062279840
76675A7218593B   STANLEY       YOUNG                       KY     66038130721
7667627A68B134   LINNAEA       MENDOZA                     UT     90008622706
76676A17555939   SAUL          GUZMAN                      CA     90006120175
76677A7188B163   MARISSA       CONTRERAS                   UT     90012820718
766782A7731432   MARVIN        COCHRAN                     MO     90014932077
766783A9791563   NEFTALY       LOYA                        TX     90014973097
76678813572B32   CHRIS         DROBNICK                    CO     33051508135
7667982642B271   KEOSHA        BUTLER                      DC     81018388264
7667B3A9772B29   ARMANDO       GARCIA                      CO     90010833097
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 900 of 2350


7667B44225B59B   ANDREA           CARDENAS                 NM     90014694422
7667B466851378   NIESHA           BRAY                     OH     90009854668
7667B54948B157   BREEANN          CALLAHAN                 UT     90010015494
7667B677441237   EILEEN           HAMPTON                  PA     51009436774
7668153288B134   CRAIG            HIGGINS                  UT     90011025328
76681957572B44   GREG             MILLER                   CO     90013039575
766821A288B134   WESTON           MARSH                    UT     90010021028
766827A3771921   SHAWN            WEST                     CO     90010467037
76682A88455966   CECILIA          DAY                      CA     90014980884
76683498572B37   DAWNELL          HALL                     CO     90012914985
7668376995B59B   ELIZABETH        QUEZADA                  NM     35088927699
7668389198B168   CHARA            MESSICK                  UT     90012398919
76683891A72479   DENNIS           WALLS                    PA     90014028910
76683939372B87   DESIRAY          GRADY                    CO     90012909393
7668466A69154B   ADRIAN           GARCIA                   TX     90014186606
76684A97355966   BLANCA           HUATO                    CA     90014980973
76684AA2931433   RALPH            BANKS                    MO     27559020029
76685229A8B163   MISTY            ALIRES                   UT     31048952290
7668545125B384   LONNIE           FISHER                   OR     44580734512
76685799872B29   ILDEFONSO        GAMBOA                   CO     90009977998
7668581332B994   RUTH             REYES                    CA     90014908133
76686219872B37   BRIZA            MARTINEZ                 CO     90014762198
766866A685B384   REBECCA          TUSHNER                  OR     90004106068
76687477A33643   MELISSA          CARABALLO                NC     18011394770
76687AA7471921   TRENT            LUEDERS                  CO     90012960074
7668837853B358   JASON            SAILAS                   CO     90001033785
7668848612B994   VIRGINIA         RODRIGUEZ                CA     90015144861
766884A7793767   ANGELA           OWENS                    OH     90007824077
7668889365B59B   KYLEE            JARAMILLO                NM     90013668936
76689234A8B134   CHRIS            BOHEN                    UT     90015202340
76689474A98B3B   BRITTANY         HARDY                    NC     90011304740
7668B33495B59B   ROCKY            GARCIA                   NM     90012913349
7668B55838B157   CARMEN           PADILLA                  UT     90012775583
7669157A85B59B   OLGA             ALVAREZ                  NM     90011665708
7669191A98B134   KIMBERLY         ANN JEANROY              UT     90010439109
7669195687B477   ROBBIE           CALDWELL                 NC     90012949568
76693255A72B32   FAVIOLA          CENDEJAS                 CO     90013682550
76693354572B37   MARISELA BUSHA   LORENZO SANCHEZ          CO     90013243545
76693738A8B168   MARIA            RODRIGUEZ                UT     31049417380
7669418278B134   ADILENE          VIZCAINO                 UT     90012891827
76694334572B87   BILL             GOODRICH                 CO     90012373345
7669438398B168   CODY             WATTERS                  UT     90008393839
7669482A671921   CLEMENCIA        VORGAS                   CO     32094448206
7669546A381633   REBECCA          GREATHOUSE               MO     90004934603
76695A5982B994   ALAN             GILBERT                  CA     45031480598
76695AA8A8B168   MICHAEL          JUVENAL                  UT     90002850080
76696549172B32   WAGNER           ROASANA                  CO     90010385491
7669695588593B   PAMELA           SYDNOR                   KY     90008529558
76696AA6831432   JAMIE            MATHERS                  MO     90013940068
7669755922B994   DARLENE          CHAPPELL                 CA     90005845592
766975AA95B59B   JEFF             BARELA                   NM     90003755009
7669784A893739   RAUSHANAH        SHEFFIELD                OH     90014848408
7669789628B163   VERONICA         HAYES                    UT     90002838962
7669797A161938   TALOWAH          SPENCER                  CA     90005099701
7669924199154B   GUADALUPE        SALAS                    TX     90006682419
7669953265B59B   FELICIANO        BARRIENTOS               NM     35034095326
76699763372B29   ANTHONY          VIGIL                    CO     90008767633
7669984562B994   JOSE             GARIBAY                  CA     90013808456
766998A158B157   WENDY            TURNER                   UT     31091058015
7669B477A33643   MELISSA          CARABALLO                NC     18011394770
7669B4A4631432   BETH             WAMPLER                  MO     27575454046
7669B58AA71921   JAMILL           PACHECO                  CO     32068395800
7669B91118B142   JOSEPH           CRANDALL                 UT     31000959111
7669BA78581633   WESLEY           GUILLIAMS                MO     29001930785
766B1649572B22   RHONDA           RICHARDS                 CO     90009636495
766B1651A33698   CHRISTINA        MILLER                   NC     90007066510
766B168A755966   NATHAN           MCCOY                    CA     90014966807
766B1818872B29   APOLINAR         ISLAS                    CO     33096238188
766B22A4155966   JUAN             ZURITA                   CA     90013462041
766B2376271921   NOE              ALEMAN                   CO     90013833762
766B2976672479   GREG             MAST                     PA     90010449766
766B362858B157   STEWART          SASSER                   UT     90015166285
766B3A41693739   ANITA            ATWATER                  OH     64583410416
766B4122A8B157   FRANCISCA        MIRANDA                  UT     90007851220
766B4454272B44   LANAI            HOWELL                   CO     90014774542
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 901 of 2350


766B4A3A872B87   LUIS          FLORES                      CO     90009960308
766B4A4988B134   DELFINA       MORFIN                      UT     90012390498
766B5472155939   GEORGE        ADRIAN BERNAL               CA     90015314721
766B5619A91993   DULCE         MARIA                       NC     17033346190
766B5789A72479   JOHN          KEFFER                      PA     51087677890
766B5879272B44   EDUARDO       RESENDIZ                    CO     33077338792
766B6825581633   GUILLERMO     ANDRADE                     KS     90008038255
766B7649572B44   NIIA          GUERRERO                    CO     90004106495
766B7999272B29   FLORENTINO    ANTILLAN-TREMILLO           CO     90012959992
766B79A362B242   BRENDA        STEPPE                      VA     90006149036
766B8268272B32   GRACIELA      NAVARRETE-YANEZ             CO     33055252682
766B8424455939   HECTOR        LUQUIN                      CA     90013794244
766B862A39154B   ANTHONY       QUINTANA                    TX     90014186203
766B8761291993   CHERYL        BOUDREAUX                   NC     17072637612
766B912627B477   JONICA        BULLOCK                     NC     90013551262
766B9158733B44   MIGUEL        BERNAL                      OH     90014101587
766B928658B163   KARALEE       BENNETT                     UT     31040632865
766B9439972B32   BILLY         PETERSON                    CO     33051184399
766B96A4472B37   CAMPELL       JEANETTE                    CO     33029286044
766B9745171921   RAECHEL       LOVE                        CO     90012177451
766B9A69855947   JORGE         GALICIA                     CA     90002070698
766BB436772479   CATHERINE     MCKENNA                     PA     90014804367
766BB492172B29   JAVIER        LOPEZ                       CO     33080094921
766BB61749154B   SERGIO        ORDONEZ                     TX     90014186174
766BB792441253   SHARON        JOHMSON                     PA     90009877924
766BB93298B142   CHRISTOPHER   HUFF                        UT     90015109329
76711132972B37   CHERYL        MCKEE                       CO     33066411329
7671212759154B   JORGE         MARQUEZ                     TX     90000151275
76712465872B87   CARLA         HERNANDEZ                   CO     90013294658
7671248718B157   GLORIA        BEGAY                       UT     90013784871
7671272525B59B   MARIA         ROMAN                       NM     90013987252
7671322688B142   ABRAM         TRISTAN                     UT     31063742268
7671368645B384   CHERYLN       LAMPTON                     OR     44515896864
76713799572B37   JOEL          ROA                         CO     33049567995
76715124A91993   ROBERT        HELMS JR                    NC     90011231240
76715279772B44   JOVETA        MASTELLER                   CO     90013672797
7671542928B134   MARVIN        MARTINEZ                    UT     90012314292
767159A2844344   DESIREE       YOUNG-ROBINSON              MD     90003299028
76716547672B29   GILBERT       ALMANZA                     CO     90013365476
767167A2672B22   EDDIE         REYNA                       CO     33007607026
76718252472B87   STEPHANIE     MARTINEZ                    CO     33040782524
7671883469154B   MARTHA        ARAGON                      TX     90010988346
7671913A99154B   DEBORAH       PADILLA                     TX     75010411309
7671B129955966   ANA           BARRETO                     CA     90011591299
7671B2A338B163   VANESSA       PAREDES                     UT     90014452033
7671B358972B44   SHERLEY       RANGEL                      CO     90013443589
7671B721872479   KIZZY         BROWN                       PA     90013897218
7671B7A868B163   VANESSA       PAREDES                     UT     90013507086
7671B847272B22   RHONDA        MULLANE                     CO     33087238472
7671B89468B163   VANESSA       PAREDES                     UT     90011818946
7672113112B994   VERONICA      MELGOZA                     CA     90003071311
7672137688B134   DANIEL        POOLE                       UT     90013953768
76721A43451355   LARON         MACK                        OH     90014520434
76723173372B44   JUAN          AGUILERA                    CO     90011631733
76723418372B32   LUCIA         SELL                        CO     90013804183
7672362A555947   CYNTHIA       WATKINS                     CA     90002016205
7672367969154B   PATRICIA      DELGADO DE LICON            TX     90014186796
76723997A71921   SHANITA       GALLOWAY                    CO     90014789970
76723A15A9712B   EMYLEE        GLIDDEN                     OR     90008560150
7672453A37B477   ALLIEU        KANU                        NC     90004635303
76724596472B29   SALINA        MITCHELL                    CO     90012165964
767246A2676B8B   KENNETH       AMBROCIO                    CA     90005906026
7672523415B59B   LIDIA         DOMINGUEZ                   NM     35065212341
76725991872B21   MARQUITA C    BRISTER                     CO     90000999918
76726A51272479   GINA          TOMAN                       PA     90011280512
76726A8A171921   KIERA         STILES                      CO     90013840801
7672736818593B   SIMONSON      CHRISTOPHER                 KY     66039163681
7672737688B134   DANIEL        POOLE                       UT     90013953768
76727A5A372B44   MARIA         CASTILLO                    CO     90008840503
767292AA581633   BILLY         OWENS                       MO     90013362005
7672945368B168   ANDY          HICKS                       UT     90013494536
7672982185B59B   GEORGEANNA    MIERA                       NM     90011498218
76729A6918B157   TERRY         ORTON                       UT     31056290691
7672B248472B44   DEANGELA      NEAL                        CO     90010002484
7672B55167B477   SHANNEEKA     DAWKINS                     NC     90009755516
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 902 of 2350


7672B964171921   JASON            DANNER                   CO     90008159641
7672B98278B159   CARLTON          CANDILORA                UT     90002339827
7672B99238B142   SHAREE           CORDNER                  UT     90008499923
7673166795B384   PAULA            MCCARTIN                 OR     90004106679
76731743A72B37   AMANDA           PRICE                    CO     90008107430
7673222437B477   EULOGIA          LUNA                     NC     90013922243
7673239398B163   TARA             ANDERSON                 UT     90013623939
7673355468593B   ERIK             NIEDERKORN               KY     90007195546
7673374467B477   JOHN             HERNANDEZ                NC     90006517446
76733978572B44   TERRY            LISTER                   CO     90008979785
76734392A2B994   GEORGE           DONNELL                  CA     90013073920
76734494598B3B   ALEXUS           GALLISHAN                NC     90007774945
76735261A8B134   HEATHER          LASER                    UT     31043062610
7673546785B28B   STEPHANIE        ELZY                     KY     90011194678
7673562588B168   DONALD           SANDERS                  UT     90015316258
76735748A31432   MAURISE          SIMMONS                  MO     90012307480
7673595A47B477   IRIS             GRAHAM                   NC     11008249504
7673619662B994   HEATHER          CROUCH                   CA     90011641966
7673756418B157   ROBERTO          RODRIGUEZ                UT     90012645641
76738318A31433   MARKEITA         JORDAN                   MO     90004423180
76738479A55966   ANADELA          LARIOS                   CA     90014994790
767387A519154B   GABRIELA         HIPOLITO                 TX     90014187051
76738819572B29   KIM              NICHOLS                  CO     90004788195
76739375276B49   ESMERALDA        URIOSTEAUL               CA     90001673752
7673973A18B163   KELLY            SARTORI                  UT     31083467301
7673997A872B87   ZAIRA            MENDOZA                  CO     90013659708
7673B22A955939   JOSE             PEREZ                    CA     90014902209
7673B59A655947   JEANETTE         NEWCHURCH                CA     90011075906
7673B933872B37   LILANA           GARCIA                   CO     90004969338
7673BA48331432   SHARITA          WEAVER                   MO     90013940483
7673BAA282B994   KARLA            REYES                    CA     90014730028
7674125A172B32   HEATHER          ROOT                     CO     90009112501
76741A7248B163   AMY LYNN         KENT                     UT     31053700724
76742375276B49   ESMERALDA        URIOSTEAUL               CA     90001673752
76742951672B29   TERRY            BURKE LINDEMAN           CO     33082399516
767429A179154B   LUCRECIA         PONCE                    TX     90007999017
7674314648B134   KHATIR           ABDALLA                  UT     90014741464
76743234A41237   KIM              OMALLEY                  PA     90009622340
7674387469154B   RANDY            HERBERT                  TX     90015168746
76743A56172B37   RAY              VELAZ                    CO     33003590561
7674439862B844   HEATHER          JENSEN                   ID     90009813986
7674459738B157   IVAN             HERNANDEZ                UT     90012015973
7674465A772B44   RYAN             LUCAS                    CO     90004106507
7674511918B142   TRAVIS           HUFF                     UT     90013341191
7674519A48B134   BRANDI           BECKSTEAD                UT     90012891904
767453A3754133   BARBARA          SNYDER                   OR     90011853037
7674621989154B   FREDDY           SMITH                    TX     75074472198
76746A26391548   EDITH            URENO                    NM     90013070263
7674711879154B   SANDY            LIRA                     TX     90009181187
7674742517B477   CHINELLE         SIMMONS                  NC     90015204251
7674762A531432   NICQUITIA        JOHNSON                  MO     90014306205
767477A1972B37   JUAN FRANCISCO   MENJIVAR                 CO     90013847019
76748465972B44   KEBRA            MILLER                   CO     90014424659
76748526272B37   SERAFIN          TAPIA                    CO     33094895262
7674928672B994   MONICA           SAMANO                   CA     90002252867
7674B66939154B   ERICA            FRANCO                   TX     75081406693
7674B74A55B384   FELIX            SANTOS                   OR     90001367405
7675113869154B   VICTOR           GUTIERREZ                TX     90010151386
7675234745B59B   PATSY            JONES                    NM     35019973474
76752398572B22   BEN              VALDEZ                   CO     90013483985
767524A7472B87   WILFREDO         LOPEZ                    CO     90012814074
76753241472B32   RB               SIMMONS                  CO     90014192414
76753A7A372B87   LINDSEY          JEANNE                   CO     90007180703
767541A9172B87   ERIKA            RODARTE                  CO     90013931091
7675427698B134   ASHLEY           VASQUEZ                  UT     90009122769
7675473429154B   ELVA             AGUILAR                  TX     90014187342
7675495578B142   BARBARA          LINAN                    UT     90014329557
767549A468B163   JUAN             MERCADO                  UT     90013299046
76754A4279154B   DANIEL           NEVAREZ                  TX     90011190427
7675565AA91993   RASHARD          NORMAN                   NC     90001776500
7675634964B27B   ALBERTO          FLORES CARAPIA           NE     90013893496
76756483A72B22   LINDA            ALLEN                    CO     90005114830
7675654678B134   TIFFANY          KING                     UT     90013255467
76756694A31433   ETHEL            HAMM                     MO     90010086940
7675694A861924   WALTER           MONTENEGRO               CA     46005739408
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 903 of 2350


76756A1A48B157   BRYSON          ANDERSON                  UT     90014960104
767571AAA8B353   SHANTE          HATTEN                    SC     90013861000
767576A9981633   DUSTIN          DOLE                      MO     90013546099
76757A8162B994   SALVADOR        GARCIA                    CA     90004710816
76758696672B32   KRISTIE         LEE                       CO     33091066966
7675938215B59B   MAIRA           GARCIA ONTIVERAS          NM     90008723821
7675958818B134   SUSAN           TURNER                    UT     90002855881
76759612A5B384   ABRAHAM         ATWOOD                    OR     44534176120
76759A71931432   ASHLEY          BRYANT                    MO     90013940719
7675B115771921   ALFONZO         ORTIZ                     CO     90013841157
7675B512755966   ROBERTO         VILLA                     CA     90014995127
767612A189154B   ISAIAS          CUMMINGS                  TX     90007892018
76761A12855966   WESLEY          KNOX                      CA     90007120128
767621A6991566   FEDERICO        DIEGO                     TX     90012211069
7676237A351355   KATHERINE       RIVAS                     OH     90013923703
7676281A272B37   FRANCISCOJ      ARROYO ORTIZ              CO     33035128102
76763133A93739   JACOB           HILL                      OH     90012541330
767636AA472B29   ISMAEL          LUJAN                     CO     33036306004
7676397228B163   CRYSTAL         GUTIERREZ                 UT     31045629722
76765282A7B49B   TROKON          TAYBIOR                   NC     90013932820
767653A4172B29   SANDRA          FELIX                     CO     33015473041
76766478A71921   ERIC            WEIDNER                   CO     90002914780
76766574972B32   VANESSA         EDWARDS                   CO     90012885749
76766617A41237   STEPHANIE       VIELE                     PA     51092436170
76768A4938B134   JEFFREY         LEE                       UT     31023190493
767694AA18B163   JUAN            HERRERA                   UT     31085764001
7676B21349154B   ANTHONY         BELIS                     TX     90014382134
7676B42A58B134   ANA             ROBLES                    UT     90013954205
7676B53A855939   MANUEL          VENTURA                   CA     48009985308
7677119958593B   JENNIFER        HALEY                     KY     90012961995
7677291358B163   RAUL            MORENO-PICHARDO           UT     90002839135
767732AA28B163   BRANDON         NORTH                     UT     90011822002
7677332813B35B   CARMELA         HUTTO-KIRBY               CO     33029483281
76773489A8B134   MARINA          SANDALL                   UT     90013954890
767735A4581633   VLADIMIR        ALEYE MOLINA              MO     90014035045
76773A6258B183   REBECCA         SHEPHERD                  UT     31095260625
76774634672B87   ABRAHAM         KALAT                     CO     90013326346
76774A2A93168B   JAMIE           GERRISH                   KS     90001800209
76774A6AA72B22   ROBERT          SHELDON                   CO     90001810600
7677545338B142   BERNARD         JOHNSEN                   UT     90011204533
7677571A372B44   ELIZABETH       GUTIEREZ                  CO     33070997103
76775763172B32   SEGYO           LAMAS                     CO     33051757631
76777167972B29   ZAIDA           ORTIZ-RODRIGUEZ           CO     33083251679
7677722898B163   YESENIA         MARTINEZ                  UT     90015222289
7677724425B59B   AMANDA          WASETA                    NM     35064392442
767774A828B131   JAY             BINGHAM                   UT     90014264082
7677783775B399   IVAN            PAXTON                    OR     90014958377
767778A132B994   JOSE ABELARDO   GONZALEZ                  CA     90013078013
767779A748B157   NICOLE          CHAVEZ                    UT     90002019074
76778299372B44   MAX             MARTINEZ                  CO     33077652993
76778649472B27   NANCY           GONZALEZ                  CO     33002196494
7677877312B271   KIM             JORDAN                    DC     90011027731
76778987A51355   DAWN            SAMS                      OH     66051989870
76778A9628B134   JULIE           GOMEZ                     UT     90015220962
7677916192B844   CHRISTOPHER     JOHANSON                  ID     90011261619
7677966928B157   ELENA           SANTHEZ                   UT     90013646692
7677B36A372B22   JOSE            HERNANDEZ                 CO     90011993603
7677B69835B59B   CRYSTAL         ARMIJO                    NM     90012936983
7677B74A88B142   VICTORIA        SENKO                     UT     90011127408
7677B86675B384   DEC             HARRIS                    OR     44541038667
7677BA61172B32   VERONICA        MEDINA                    CO     90013730611
76781532A5B59B   MELISSA         LUCERO                    NM     35082255320
7678211918B142   TRAVIS          HUFF                      UT     90013341191
7678217198B134   ANGEL           ALVAREZ                   UT     90013321719
76782818A2B994   JAMIE           MAURER                    CA     90013078180
7678319698B157   SKYLER          JENSEN                    UT     90015271969
76783A96172B37   PEGGY           ANN NOFFSINGER            CO     90002210961
7678442935B277   THOMAS          TOLES JR                  KY     68054434293
7678511824B539   NANCY           BARBOSA                   OK     90008431182
76785A15951355   SADE            WALKER                    OH     90014500159
76786273972B32   EDGAR           GOMEZ LOPEZ               CO     33058122739
76786953872B37   GREGORY         MOORE                     CO     90009079538
767882AA272B87   2               SWEET                     CO     90001322002
7678892999154B   SERGIO          ARMENDARIS                TX     90010799299
76788A76A55941   JANELE          VALDEZ                    CA     90012540760
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 904 of 2350


7678981698B157   JUAN CARLOS   ROJAS                       UT     90012168169
76789A14372B37   CRISTOPHER    HUJHES                      CO     90012790143
76789A56255939   EDGAR         ESTRADA                     CA     90012240562
7678B13A972B87   DEIANIRA      GARCIA-REYES                CO     90011931309
7678B51A38B142   TERIE         HUETTER                     UT     31095575103
7678B939391941   SHAWNDA       DOWELL                      NC     90013649393
76791289872B32   LIZVET        OLIVAS                      CO     90014712898
76791424172B37   ANTONIO       ENRIQUEZ                    CO     33023994241
7679241223B325   THERESA A     THORN                       CO     33039444122
7679284A58B157   RAUL          VARGAS                      UT     90012768405
7679292482B994   BRITTANY      CARDOZA                     CA     90007849248
7679355269154B   MARK          DRAKE                       TX     90014675526
7679395698B163   JUAN          SABTALLAN                   UT     31019889569
76794467A72B29   KAREN         FJELD                       CO     90014174670
7679497918B168   JOHN          ORTON                       UT     31006149791
76795195672B22   ABEL          ORTEGA                      CO     90012891956
767951AAA41237   MELISSA       SAITTA                      PA     90013081000
7679521955B571   KARA          TENORIO                     NM     90011682195
76795365572B22   MONICA        KNOX                        CO     90011993655
76795446A9154B   LAURA         AGUILAR                     TX     90014114460
7679549769154B   LAURA         AGUILERA                    TX     90007584976
7679574A68593B   JESSICA       ALFORD                      OH     90006767406
76795868572B44   ADIANA        FAUDOA                      CO     90014708685
76795A3A555947   VERONICA      LOPEZ                       CA     90002540305
76796791A72B22   JERRY         EMAN                        CO     90013147910
7679731782B994   BONNIE        HOGGATT                     CA     90013083178
76797A82397122   TASHIA        BORIA                       OR     90011300823
7679824A872B87   CHRISTINE     QUINONEZ                    CO     90013462408
767983AA555947   SERGIO        PEREZ                       CA     49044173005
76799434772B44   JOSHUA        FLORES                      CO     33002054347
7679961338B142   LOGAN         HARDING                     UT     90015176133
76799AA3A72479   LORRAINE      BROWN                       PA     51041330030
7679B2A7A72B22   LORENA        VIDAL                       CO     90011782070
7679B753261941   MARCO         REYES                       CA     46089387532
767B17AA99152B   ALEJANDRO     MONTIEL                     NM     90009687009
767B279728B157   DUANE         LAJUAN                      UT     90014587972
767B293497B477   KAREN         KAMARA                      NC     90008539349
767B4179A72B22   NOE           MADRIGAL                    CO     90012891790
767B431782B994   BONNIE        HOGGATT                     CA     90013083178
767B435668B134   BOONE         RODGERS                     UT     90010853566
767B4416272B87   ROYBAL        LOURIE                      CO     33082204162
767B4455372B37   JOSE          CORIA                       CO     33077854553
767B4633291969   ALEJANDRA     RUIZ                        NC     90007916332
767B5436971921   AMBER         SCHNEIDER                   CO     90012154369
767B5966972B37   LUKE          HERRING                     CO     90011849669
767B5A34A61927   DEVIN         DAWSON                      CA     90010810340
767B5A9338B163   MARIA         HERNANDEZ                   UT     31074530933
767B5A99531443   KELLY         KANKOLENSKI                 MO     27567640995
767B7127772B29   LUIS          RDRIGZ                      CO     90011191277
767B7413255947   ANDRE         VARGAS                      CA     90009634132
767B7644672B22   CHARLENE      RABY                        CO     90006446446
767B7A18171921   TERRY         JACKSON                     CO     32080340181
767B8814941253   JOHANNA       GONZALEZ                    PA     90011218149
767B8A27172B87   JESUS         CORDERO                     CO     33099640271
767B9612241253   SONTE         GREIR                       PA     90011366122
768115A1472B87   JESUS         TORRES                      CO     90012155014
7681196477B477   ALLISON       SMITH                       NC     11068059647
7681196558B142   WILLIAM       INGRIM                      UT     90004719655
7681247968B134   MARTH         URIBE                       UT     90013954796
76812769872B32   TAMARA        VIGRASS                     CO     90012927698
76812A1A88B142   RAENI         AARON                       UT     90011160108
76812A59141253   HOSEA         BRASSELL                    PA     90014700591
7681487388593B   JUAN          MARTINEZ                    KY     90011928738
76815522A72B44   JESUS         VEGA                        CO     90013035220
76815633A72B29   ARIANA        OWEN                        CO     33015706330
76815771A9154B   ELIA          CASAS                       TX     90014187710
7681598745B59B   BILLIE        STONE                       NM     90005899874
76816641A8B168   TAMARA        DIDAS                       UT     90004886410
76816958272B44   DEANNE        GEORG                       CO     90009079582
76816A5A68B157   GEORGE        OLSON                       UT     31092930506
76817441872B37   TAMMY         GUERRA                      CO     33021414418
7681745317B477   CHRISTIANA    GONO                        NC     11077994531
7681754A372479   CHRIS         PAUL                        PA     90013575403
7681755638B168   LANE          WAYNE                       UT     90011735563
76817A52772B87   NOHELIA       MEDRANO                     CO     33029740527
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 905 of 2350


7681848A23B358   BRIAN                     SENDLER         CO     33096444802
76819A12972479   BENJAMIN                  LESCZYNSKI      PA     90014600129
7681B111751355   TIQUISHA                  WILLIAMS        OH     90005911117
7681B41753168B   JOANNA                    FOUNTAIN        KS     90001974175
7681B86698B134   LATRISHA                  CASSELBURY      UT     90013258669
76821245672B44   LA SHAAN                  CAPUCHIO        CO     90015012456
76821261172B87   ALICIA                    CERVANTEZ       CO     33074682611
7682136262B994   JESSIE                    ANDERSON        CA     90013443626
76821A76755939   JESUS                     RAMIREZ         CA     90012240767
76822595954B9B   CARROLL                   BLAIR           VA     90011355959
768234A4172B32   JANEE                     ROBINSON        CO     33027994041
76823523772B44   STEPHANIE                 DENNIS          CO     90013035237
7682383317B372   MARIA                     CHAVARRIA       VA     90005678331
76823A98931432   MASSIFENY                 SOURARE         MO     90009320989
7682425378593B   ANDREA                    IHA             KY     90013772537
7682438345B384   JOSEPH                    MILLER          OR     90007553834
76824A1196B236   JAMES                     CALLAWAY        CO     90010900119
76825428772B32   AHMED                     SIDDIG          CO     33053764287
7682556172B994   JOSE                      ARROYO          CA     90013085617
7682564A355947   ELISA                     SENESAMRANE     CA     90003276403
7682613268593B   TIM                       WOLFE           KY     90006471326
7682668A372479   RYAN                      JANKOWSKI       PA     90005376803
768278A5241253   STEPHANIE                 HAGOOD          PA     90013958052
76828137672B87   RICKY                     REDD            CO     90011881376
7682871888B168   EMILY                     THOMSON         UT     31001147188
76828A8368B157   DARLA                     WHITE           UT     90011610836
76828AA7293739   ISACC                     GUTIERREZ       OH     90014640072
76829192972B37   MARIA                     SANCHEZ         CO     90005201929
7682B276751355   HUGO                      CANO            OH     90014942767
7682B469555939   GUILLERMO                 VASQUEZ         CA     90015104695
7683122835B59B   AURELIO                   GARCIA          NM     35066182283
76832199772B37   ALEX                      HERRERA         CO     33034471997
7683284655B384   JORGE                     MARQUEZ         OR     44553648465
76832948A5B59B   JOANN                     ORTEGA          NM     35013229480
7683359229154B   RUTH                      HERNANDEZ       TX     90009105922
76833776A55947   GILBERT                   VILLARREAL      CA     49080677760
7683378959154B   NOREIGA DE LA             CRUZ            TX     90014187895
76833889A71921   KIRK                      WILLIAMS        CO     90006258890
76833A44172B37   DAVID                     FROST           CO     33071080441
7683423828B163   DONALD                    GRECO           UT     90015222382
76834965A81633   ERIN                      GALLAMORE       MO     29057799650
768352A3277599   REDA                      FOLTZ           NV     90007522032
7683574A972B37   ADRIANA                   MOORE           CO     90015107409
7683585A955966   PETRA                     MARTINEZ        CA     90015028509
76836127472B44   JESSICA                   FORCE           CO     33010131274
7683676255B59B   MICHAEL                   BUSTAMANTE      NM     90013267625
7683738819154B   ALVARO CARILLO VERONICA   MALDONADO       TX     90007973881
76838986372B32   COURTNEY                  DARBY           CO     90008359863
76838A9989154B   RAYMUNDO                  HERNANDEZ       TX     75017140998
7683922898B163   YESENIA                   MARTINEZ        UT     90015222289
7683B486751355   ANDREW                    WAINSCOTT       OH     90012224867
7683B544A8B134   BRANDIE                   DANGERFIELD     UT     90012655440
7683B91728B353   ARTURO                    BURGOS          SC     90015319172
76841529472B44   ROBERTO                   PEREZ           CO     90013035294
7684178357B477   SAVANNAH                  FORSYTH         NC     90012267835
7684232478B157   DONNA                     BENTLEY         UT     90005283247
7684246A172B87   MARIA                     DOLORES         CO     90013084601
7684254598B163   ANTHONY                   MORA            UT     90013425459
7684334592B994   VANESSA                   GUERRERO        CA     90010663459
7684468658B142   CLAIRE                    ALMEIDA         UT     90012696865
7684471838B134   BONNIE                    BASS            UT     90013057183
7684497A855966   BERTHA                    CASTANEDA       CA     90011789708
7684524728B163   SYANNE                    JONES           UT     31012502472
768456A8972B37   SARAH                     NUNEZ           CO     33065296089
7684597A855966   BERTHA                    CASTANEDA       CA     90011789708
7684649A47B477   PRINCESS                  WHITE           NC     90014424904
7684653235599B   GUADALUPE                 OJEDA           CA     90007655323
7684696175B59B   ANGIE                     CELIS           NM     35004869617
76846A8AA72B32   KATHLEEN                  BENTLEY         CO     33082440800
7684757778B157   ISABEL                    LEON            UT     31070165777
768475A2861958   JOEL                      ANGUIANO        CA     90009895028
76847737172B22   THOMAS                    FARMER          CO     33088437371
76848221A72479   BRANDON                   MURPHY          PA     90002852210
7684824588B142   DAVID                     GRANT           UT     90007372458
76848738372B32   EDUARDO                   LOPEZ JR.       CO     33019747383
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 906 of 2350


7684885335B35B   DAN             FARNSWORTH                OR     44521558533
76849181172B22   DORICE IDARIE   HOLLANDS                  CO     90014761811
768495A713B343   MARIA           JARAMILLO                 CO     33052425071
76849953572B29   JUAN VARGAS     CRUZ                      CO     90013599535
76849A84172B32   ARNOL           SANDOVAL                  CO     90003600841
7685221A831432   ALLISON         HUMPHREY                  MO     90014802108
7685241719154B   LORENZO         SOLEDAD                   TX     90014204171
7685244928B163   ANA             SORIA                     UT     90013094492
7685245187B495   TIFFANY         MITCHELL                  NC     90008464518
7685395718B134   CECLIA          MARTHA CASTILLO           UT     90008159571
7685476439154B   HERNANDEZ       ALEJANDRA                 TX     90012287643
7685561648B134   BRANDY          PIKE                      UT     31037016164
76855649A8593B   JAVIER          GARCIA                    KY     90012986490
76855933A8B157   EDUARDO         VAIZ                      UT     90015099330
7685629888593B   RICHARD         THEOBALD                  KY     66019852988
768564A9786B85   PEDRO           SOLIS                     CT     90013944097
76857344A91993   ESTAR           BRAVO                     NC     90007253440
768573A7141253   GABRIELLE       ROBERTS                   PA     90001793071
76857463A7B477   NATHAN          HARRISON                  NC     11008694630
768575AAA8B134   MELISSA         MANZANO                   UT     90014695000
7685874515B124   STEVEN          YOUNG                     AR     23087367451
76858938772B32   VIRGINA         LANGE                     CO     90015329387
76858A11681255   J               K                         KY     90006900116
76858A1898B157   LYNAE           BURKE                     UT     90012850189
76858A94541237   SEAN            MUNDY                     PA     51006210945
76859489A8B134   MARINA          SANDALL                   UT     90013954890
76859724A72B32   JEWELEEN        MCCLINTECK                CO     33000677240
7685986AA5B59B   JOHN            WILSON                    NM     35036248600
76859A88372B29   REANNA          GARCIA                    CO     90012910883
7685B21A831432   ALLISON         HUMPHREY                  MO     90014802108
7686118555B59B   HERCTOR         VALDEZ                    NM     35075731855
7686142118593B   NIKKI           MAHONEY                   KY     66063334211
7686215568B157   ROGER           JOHNSON                   UT     90004591556
7686277978593B   JENNIFER        RICHARDSON                KY     90012147797
7686289577B477   CLAUDIA         FLORES                    NC     90010568957
7686295677B477   SACARU          GIVENS                    NC     90012949567
76863213772B29   MARIA           RIVAS                     CO     33000222137
7686415A355939   SIRENA          PAREDEZ                   CA     90012301503
768642A6841253   MICHAEL         MCCUNE                    PA     90013922068
7686447718B134   BRYANA          BENAVIDEZ                 UT     90014454771
7686526829154B   MIGUEL          SANCHEZ                   NM     90014412682
76865436372B22   GERRY           COOPER                    CO     90014564363
7686647A655939   JAIME           RAMALES                   CA     90015134706
76866485A71921   ROBERT          KELSO                     CO     90014244850
76866854A71921   ROBERT          KELSO                     CO     90011128540
7686777573168B   GLENN           SCHWABE                   KS     22098237757
76867894572B32   ANDY            LEHMANN                   CO     90009438945
76867952772B37   ALYSSA          BERCK                     CO     90008019527
768681A7772B37   EVON            CADMAN                    CO     90013991077
768683A8A55966   PABLO           MARTINEZ                  CA     90015043080
76868A44A5B384   ROCKY           HOPPER                    OR     44515870440
76868AA3272B22   ANA             QUINTANILLA               CO     90011140032
7686935776198B   ERIC            BETTS                     CA     90012753577
7686B173372479   TERRY           STEWART                   PA     90009371733
7686B25268B163   GERMAINE        SIMPSON                   UT     90015222526
7686BA9279154B   ALEJANDRA       MOLINA                    TX     75053250927
7687142198B142   ROBERT          FAIRCLOTH                 UT     90010544219
7687158248B168   ROBERTO         PENA                      UT     31073165824
7687179169154B   JAEL            GARCIA                    TX     75044297916
76871875172B22   TONY            FRESQUEZ                  CO     33000898751
7687195753B38B   CONNOR          REED                      CO     33088689575
76871A23172B37   MARGUERITE      THOMAS                    CO     33017150231
76874186472B32   AGUSTIN         ROSALES                   CO     90011131864
7687427328B142   BRAD            PACE                      UT     90014742732
76874591A93739   KELSI           DECKER                    OH     90011035910
76874A43993739   DIONNA          SMITH                     OH     90014640439
7687516648B163   MICHAEL         CARDONA                   UT     90015311664
76875771A55939   JENNIFER        JAIME                     CA     48004437710
7687581277B477   CHRIS           TINDAL                    NC     90013398127
7687585367B477   JONQUEELA       CHAMBERS                  NC     90000998536
76876A7988B134   MARSHALL        BROWN                     UT     31036610798
768776A528B157   ARTHUR          VALDEZ                    UT     90011256052
7687771618B163   GENE            NELSON                    UT     31037917161
76877875A81633   JOSE            ORIHUELA                  MO     29003408750
7687825A18B168   JOHN            BAKER                     UT     31059232501
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 907 of 2350


7687872A455947   TONG         VANG                         CA     90014867204
76878938A9154B   MONICA       GALLARDO                     TX     90008979380
76878A6145B59B   PAUL         BACA                         NM     90005990614
7687942347B477   WHITHING     HAROLD                       NC     11046364234
76879425A41237   RICHARD      RODRIGUEZ                    PA     90001324250
76879461172B37   KHAMPHEUAN   CHANTHAPHOM                  CO     33087214611
7687975298B134   RENIE        IRELAND                      UT     31003007529
76879A21751347   YALONDA      MOORE                        OH     90000720217
76879A32972479   DONNA        GAITO                        PA     90011620329
7687B184472B32   AFRICA       GEBREGHIABHER                CO     90013961844
7687B21718593B   HENRY        STULL                        KY     90014612171
7687B256272B22   STEVEN       EINSPAHR                     CO     33025292562
7687B25848B142   KERRY        WILOOMFILD                   UT     90012222584
7687B961441253   DIAMOND      MARLET                       PA     90012559614
7688133A971921   CURTIS       HENRY                        CO     90009013309
768817A2531443   KEVIN        LEE                          MO     90004097025
7688194878B168   JEANNIE      YEITER                       UT     31088309487
7688242178B134   DEBRA        TAYLOR                       UT     90014584217
7688265A28B163   JESSIE       WOODSON                      UT     90013156502
76882A17555956   BENJAMIN     SALARIO                      CA     49069520175
76883699872B29   CHARLEIGH    MAESTAS                      CO     90013556998
7688377628B353   AUSTIN       PACHECO                      SC     90015327762
76883865A8593B   DORATHY      EDWARDS                      KY     90015018650
76883913972B29   MICHAEL      MARTIN                       CO     90010259139
7688391815B59B   ERICA        WINDISH                      NM     35081269181
76883A95672B87   HENDRICKS    JASON                        CO     90000890956
7688534429154B   JAVIER       PEREZ                        TX     90012613442
76885382A93739   DOUGLAS      GASTIGER                     OH     90002443820
7688551958B163   BIANCA       RUIZ                         UT     90011155195
76885781172B87   CHRISTOPHE   KOTH                         CO     33082867811
76885A2848B168   TY           CHRISTENSEN                  UT     90003380284
76886133372B32   JACOB        BRUINTGES                    CO     33021531333
76886177A41253   AAROM        TATE                         PA     90014841770
76886683272B22   RONNIE       ALARID                       CO     90013236832
76886991A8B163   RICHARD      DONOHUE                      UT     90012449910
7688734457B477   NATASHA      BRYANT                       NC     90011113445
76887AA7751355   OSVALDO      XOCUA                        OH     90008870077
768881A3641241   JENNIFER     MIXTER                       PA     90002381036
7688B189672B37   MARTA        LUGAN                        CO     90013841896
7688B19A48B134   BRANDI       BECKSTEAD                    UT     90012891904
7688B385381633   CRYSTAL      VILLALBA                     KS     90014603853
7688BA22681633   JAVIER       FERRER                       MO     90012370226
768914A5472B44   TIMOTHY      GORHAN                       CO     33001044054
768919A434B562   SHNEDIA      EVANS                        OK     90003249043
76892A17772B29   JUSTINA      VELEZ                        CO     33086910177
7689312529152B   KATHLEEN     MYERS                        TX     90007651252
76893521A71921   JOY          DOAK                         CO     90014665210
768938A519154B   ROBERTO      BELMONT                      NM     75081208051
76894326572B22   FRAN         BOYD                         CO     90010263265
76894724A8B163   HORTENCIA    RAMIREZ HERNANDEZ            UT     31066977240
76894872972B37   RICKY        GONZALES JR                  CO     90012098729
7689522668593B   SHAWN        GLUTZ                        KY     90010292266
7689536257B477   LAURA        SEWELL                       NC     11031743625
768958A4581633   DAVID        CARLOS                       MO     90003218045
768958A9341253   AMANDA       SMITH                        PA     90010718093
76895A35855921   MARIO        CABRERA                      CA     90009030358
76896314A72B29   MIKE         WOLF                         CO     33014793140
768963A2172B37   DAVID        REYES                        CO     33079923021
7689658629154B   ROSA         ALVARADO                     TX     75043165862
768965A3A8B134   JAIME        CARTER                       UT     90013955030
7689676795B384   MITCHELL     REEVES                       OR     90013477679
76897562272B37   ROGER        BEEMER                       CO     33081945622
7689798A92B994   MARIECRUZ    TREVINO                      CA     90005599809
7689848A651355   NIA          DOUGLAS                      OH     66037414806
768984A1655966   SAM          BERMUDEZ                     CA     90015044016
76899357772B22   OLIVIO       DURAN                        CO     33091743577
76899726872B37   MAGALY       ANIMA                        CO     90015167268
768999A7655947   ANNA         ARRIZON                      CA     90012459076
7689B27837B483   ANABL        ARNA                         NC     90013962783
7689B61289154B   ANTONIO      CHAVEZ                       TX     75033176128
7689B94395B59B   JESUS        SANCHEZ                      NM     90009569439
7689B958172B44   JUAN         MORENO                       CO     90013039581
768B1173A72B37   LAUREN       TREJO                        CO     90014671730
768B155312B994   MELISSA      LUNA                         CA     90013165531
768B164A472479   JOHN         STRATTON                     PA     90007806404
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 908 of 2350


768B1696472B87   SANDRA           AISPURO                  CO     90010026964
768B2358355947   ROSA             BELLO                    CA     90006593583
768B2365772B44   EDWARD           JONES                    CO     33018863657
768B2525872B32   JEFFREY          LACKEY                   CO     90014675258
768B2564181633   LASHAWN          EWING                    MO     90014865641
768B325AA55939   MAYRA            ENRIQUEZ                 CA     90006782500
768B339878B142   LUCRECIA         ACUNA                    UT     90006723987
768B3681633699   LETRICE          STEPHENS                 NC     90005836816
768B3814693739   JENNIFER         SISSOM                   OH     90009318146
768B4259355939   MIGUEL           RAMIREZ                  CA     90011332593
768B4269672B29   SYLVIA           GREEN                    CO     33012082696
768B44A4272B87   MARK             VAUGHN                   CO     90007454042
768B472778B168   DAVID            SANCHEZ                  UT     31094247277
768B4765341253   RAMOND           NELSON                   PA     90000677653
768B4A33581633   NICOLE           LOMAX                    MO     90014900335
768B536218593B   FRANCES          RISTER                   KY     90014433621
768B597198B134   SARAH            VANDERVEUR               UT     90015479719
768B599719154B   DIANA            CISNEROS                 TX     75047229971
768B5AAAA72B37   STEVEN           MEYER                    CO     33005970000
768B6198455939   MAGDALENA        RODRIGUEZ                CA     48036331984
768B623A371921   TREVON           FLOWERS                  CO     90010382303
768B647698B134   VERONICA         SALDIVAR                 UT     90009064769
768B6695491522   BISHOP           ROCIO                    TX     90000946954
768B68AA272B37   ABRAM            JIMENEZ                  CO     90012698002
768B6945A55966   MONICA           ROSAS                    CA     48072759450
768B7117672B37   LORENA           PAREDES                  CO     33019161176
768B7248941253   FLORENCE         POGANY                   PA     51082372489
768B7419972479   WILLIAM          ASHBAUGH                 PA     90005294199
768B7535571921   MAJEEDA          MURPHY                   CO     32068305355
768B778538B168   ARTURO           ROMERO                   UT     31068857853
768B7835972B32   KEATS WIMBERLY   BRAZELL                  CO     90014408359
768B791A966181   SAMANTHA         LOPEZ                    CA     90012469109
768B827198593B   MARETTA          OTTER                    KY     90014152719
768B935318B142   MEGAN            LEWIS                    UT     90008123531
768B9397733698   ANGELINA         LIRA                     NC     90014743977
768B9447772B37   JESSICA          LOSHBAUGH                CO     33067244477
768B978182B994   CARLOS           ESTRADA                  CA     45045087818
768B9829A72B44   ROBERTO          BELMONTES                CO     90002898290
768BB197A8B142   ROJAS            MARIA                    UT     31027751970
768BB229291993   LATANYA          LANGSTON                 NC     17011312292
768BBA1439154B   ROSA ISELA       CAMPOS                   TX     75041980143
769119A578B142   MICHAEL          PARA                     UT     90015119057
76911A29572B29   MARIA            HERNANDEZ                CO     90010630295
7691233298B157   MARIA            ROMERO                   UT     90011653329
769123A443168B   UGO              DISASI                   KS     22006753044
76912568872B37   SARAH            PADILLA                  CO     90015025688
7691332535B59B   NATHAN           FORBUSH                  NM     90014773253
76913753A5B59B   ALEJANDRA        ORONA                    NM     90012927530
76913912372B87   JUAN             PACHECO                  CO     33010609123
76914213772B22   TAKIYAH          SHUMPERT                 CO     90012892137
7691424723168B   SANDRA           POLAND                   KS     22005962472
76914277A81633   WALTER           GREGORY                  MO     29005392770
7691489555B59B   CATHLEEN         WARD                     NM     35054458955
7691497638B134   REBECCA          FRANCO                   UT     90009079763
76915563872B87   ANTONIO          SANDOVAL                 CO     90013285638
76915629172B37   YESSENIA         ALARCON                  CO     90010336291
769167A7171921   GUSTAUVO         TORRES                   CO     32037087071
7691721528B142   STACIE           SMITH                    UT     31067202152
76917A24241237   DAVID            PROTHEROE                PA     90014470242
7691821569372B   DYLAN            CAPPER                   OH     90009092156
769184A167B473   CAYETANO         CRUZ                     NC     90010614016
7691869968B168   CHRIS            MORTENSEN                UT     31069096996
76918748A8B134   TROY             MALLINSON                UT     90014957480
76919297872B29   SANDY            OCAMPO                   CO     90006082978
76919455772B87   ALONZO           ALCON                    CO     90010504557
7691B238972B37   CHRISTINE        RUSSELL                  CO     33043542389
7691B453155939   YESENIA          ALVARADO                 CA     90011004531
7691B674672B29   LUZ              LOPEZ                    CO     33080666746
76921585672B37   HUGO             ESTRADA                  CO     90000535856
76921645972B29   SUK              RAI                      CO     90012066459
76921843A31432   GARY             WILLIAMS                 MO     90014968430
76921A2318B134   MARCELA          PINONES                  UT     31018110231
76921A4A58593B   JOANN            BARNARD                  KY     90013390405
7692317A58593B   GERARDO          HERNANDEZ                KY     66087891705
7692324A291993   DAVID            MALONE                   NC     90010472402
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 909 of 2350


7692328378B142   STEPHEN      ABBOTT                       UT     90014022837
76923432672B22   ANGELA       GALLEGOES                    CO     90011354326
76923A96472B87   BILL         DENNEY                       CO     33014110964
7692417A972B29   TRINH        NGUYEN                       CO     90011161709
76924695A41237   CHRISTINA    DETACE                       PA     90008536950
7692521298593B   LAURA        KYLE                         KY     66037742129
769254A3572B44   JORGE        GONZALES                     CO     33093494035
7692592639154B   YADIRA       MEDINA                       TX     90010759263
76925A97772B37   ROBERTO      BANUELOS                     CO     90014910977
7692616929154B   ROSARIO      HERNANDEZ                    TX     90008551692
76926549772B22   MANUELA      GALLEGOS                     CO     33068765497
76926625272B44   ELENA        CASTILLO                     CO     90015196252
7692691295B59B   BRIANNA      SANCHEZ                      NM     35097639129
76926943372B32   SHELBY       STOTT                        CO     90012259433
769276A288B168   OSVALDO      GARCIA                       UT     90010436028
76927911272B37   JENNIFER     LUCERO                       CO     33065399112
76928211772B44   ANITA        RODRIGUEZ                    CO     90013152117
7692847789154B   YATLAI       MUNOZ                        TX     75081214778
76928794672B87   THOMAS       DOYLE                        CO     90008607946
7692926A571921   SAMUEL       GROENEVELD                   CO     90013352605
769292A535B59B   JAMES        GOMEZ                        NM     35096092053
76929734A7B477   SARAH        BOULER                       NC     90002017340
7692B157372B87   MARIA        MOLINA                       CO     33089471573
7692B545684329   DOROTHY      BLACKBURN                    SC     90004865456
7692B57298B142   ANGELIKA     CAMPBELL                     UT     90006745729
7692B71612B271   ZINA         MOORE                        DC     90013747161
7692BA2742B271   ZINA         MOORE                        DC     90003340274
7692BA6A88593B   MIKE         BISHOP                       KY     90002690608
7693133316198B   OMAR         ALTAMIRANO                   CA     46094683331
7693137598B168   KATHERINE    BAXTER                       UT     90004503759
7693318278B142   HEATHER      RAE CONDIE                   UT     31018191827
76933584972B22   AVENDANO     MARTINA                      CO     33075805849
7693451358B163   PATTY        MARTINEZ                     UT     31081235135
7693526375B59B   KRISTIN      POWDRELL                     NM     90013302637
7693594214B295   RAFAEL       AGUILAR                      NE     27007479421
7693637548B157   TOURE        HARRIS                       UT     90007243754
7693667265B384   FRANK        REED                         OR     90012866726
76936765272B37   LUIS         CARDONA                      CO     33055647652
7693752268593B   LAURA        CUNNINGHAM                   KY     90007145226
769378A668B142   JILL         KETLER                       UT     31004798066
7693799243B366   ARMANDO      IBARRA                       CO     33052269924
76938541572B98   RYANNE       WALKER                       CO     90010995415
769387AA271921   MICHELLE     GARCIA                       CO     90010557002
7693882768B134   MELISSA      WALRED                       UT     90012978276
7693942893168B   BETTY        LUNA                         KS     90005954289
76939464172B22   JORGE        DIAZ                         CO     90014114641
7693967689154B   MARTHA       ENRIQUEZ                     TX     90008806768
76939A7288B142   GUADALUPE    NUNEZ                        UT     90009960728
76939A72A93739   TRACIE       HARRIS                       OH     64591370720
7693B41827B461   DELIA        PORTILLO                     NC     90002364182
7693B616441237   PAYGO        IVR ACTIVATION               PA     90008546164
7694118452B994   ANGELICA     RODRIGUEZ                    CA     90012941845
7694173973168B   HINDU        BAKARI                       KS     22019667397
76941A29672B37   TERESA       NEIBAUR                      CO     33001810296
7694215969154B   BEATRIZ      ESPINOSA                     TX     90012951596
76942391472B29   RACHEL       SMITH                        CO     90013873914
7694252458B134   BRUCE        REUTNER                      UT     90013955245
7694261A472B37   JUAN         ESPARSA                      CO     90012616104
7694321433168B   SEDRICK      RUFFIN                       KS     90009942143
76944491872B32   JOSE LUIS    RUBIO                        CO     90011864918
76944661598B3B   ISAIAS       NARVAEZ                      NC     90001966615
76945199972B37   LYNN         SCHAD                        CO     33005831999
7694553978B134   NEBIYAT      AREGAY                       UT     90015025397
76945A57455966   ASHLEY       OREGON                       CA     90008130574
76946539472B29   COREY        BELLERIVE                    CO     90010915394
76946899A72B93   DIANA        YRINEO                       CO     33005538990
7694721673B325   CRYSTAL      DURAN                        CO     90006662167
76947334372B32   MARIA        BADILLO                      CO     90004253343
769476AA772B29   DAVID        STANKIEWICZ                  CO     90002756007
7694832525B392   JOANA        GUILLEN                      OR     90008533252
76948719872B87   SERGIO       ESCOBAR                      CO     90001207198
7694923A38B142   JOSE         PAVON                        UT     90011492303
7694953478B134   JOHN         DESTEFANO                    UT     90013955347
7694954167B477   LARICSSA     ALEXANDER                    NC     90008455416
7694973A841237   ELOISE       FAYE                         PA     51029727308
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 910 of 2350


7694B181672B91   DYNETTE        PRAZMA                     CO     90014631816
7694B24312B994   JAQUELINE      DAVIS                      CA     45093122431
7694B856481633   KAYLEE         REEDER                     MO     90001498564
7694B919A93771   LISA           TATE                       OH     90012559190
7694B921A72B87   LUCIO          MARTINEZ                   CO     90008459210
7694BAA528B157   THERESA        MYERS                      UT     31001930052
769513AA172B32   SERENA         ARCHULETA                  CO     33061643001
76951A3A741237   JASMINE        DANIELSS                   PA     90006920307
76952525872B32   JEFFREY        LACKEY                     CO     90014675258
76953564572B44   MORISSA        SACKETT                    CO     90013525645
7695356528593B   ALICIA         PHILLIPS                   KY     90014065652
76954223A72B37   SUSAN          VALDEZ                     CO     90009032230
7695441A771921   LILI           AGUILA                     CO     32069414107
76954976A8B134   STEPHANIE      HUGGINS                    UT     90015519760
769549A4255947   DIAZ           RAMIREZ                    CA     90012859042
7695515549154B   ADRIAN         DOMINGUEZ                  TX     90012111554
7695569618B134   CHRISTIAN      SARSENO                    UT     90014426961
76955A7A581633   DONNESHA       CARTER                     MO     29045930705
76957A33572B87   MIRIAM         ARAGON                     CO     33057930335
7695839168B134   KATHERINE      ALLRED                     UT     90010983916
769583A5491549   RUTH           JAQUEZ                     TX     75011083054
76958465172B44   EDUARDO        CABALLERO                  CO     33058914651
76958752772B87   BRENDA         WILLIAMS                   CO     90008727527
76959148272B32   VICTOR         ARAGON                     CO     90012781482
76959264A55947   MARIO          CABRERA                    CA     90014812640
7695955528B134   VICTORIA       SANCHEZ                    UT     90013955552
7695979488B163   JESSIE         BENEFIELD                  UT     90011827948
7695B414691993   EBONY          JACKSON                    NC     90011244146
7695B62618B157   HELGALEE       BUMGARNER                  UT     90008806261
7695B761A3B381   AUDON          ESTRADA                    CO     90010757610
7695B77A372B87   CATALINA       HERRERA                    CO     90014707703
7695B7A865B59B   ANNETTE        GOMEZ                      NM     90014517086
7695B95678B142   LUPE           CAMBRAY                    UT     31006929567
76961158172B37   SARAH          DOTTAVIO                   CO     90012041581
7696156668B134   PRETORIA       MOUNGA                     UT     90013955666
7696169848B142   PATRICK        SNEDECOR                   UT     31086246984
7696171968593B   CLARISSA       CLEMENT                    KY     66019447196
76961A27A8B168   JOSE           NAJARRO                    UT     31090500270
7696237A372B22   LORENA         MORALES                    CO     90010283703
7696241943168B   MONIQUE        ALLEY                      KS     22092434194
7696288A793736   JOSEPH         TIMMONS                    OH     90007678807
7696322382B994   JORDAN         XAYAVONG                   CA     90011882238
7696356649154B   RENE           MARQUEZ                    TX     90012485664
7696445658B142   EVELIA         TORRES                     UT     31048964565
7696477AA72B22   SERGIO         HERNANDEZ                  CO     90007977700
76964881A72B22   MARIA          ANTONIA- ARROYO            CO     90015178810
76965113372B37   JUAN ANTONIA   DIAZ                       CO     90013621133
7696547339373B   ANGELA         ADKINS                     OH     90015114733
76965663872B87   REBECCA        CHRISTENSEN                CO     90014156638
76965A6849154B   BELEN          GAMBOA                     TX     90011190684
76966688972B37   LAZARO         SALGADO                    CO     90010256889
76966A28241237   NICOLE         WASSON                     PA     90009960282
7696719AA71921   LEONARD        VON BERNDT                 CO     90008641900
76967828172B44   CHELSEA        GROVE                      CO     33089418281
76967A11655947   MARY           LEE                        CA     90011460116
769682A8272B29   HAYDEE         ARIANA                     CO     90014232082
7696847925597B   CLIFFORD       LOVEJOY                    CA     90014904792
7696912A141227   CATE           SCARSELLI                  PA     51043381201
769694A7631471   TAMEKA         ANDERSON                   MO     90011844076
769699A3141253   EBONY          DORSEY                     PA     51070449031
7696B19AA71921   LEONARD        VON BERNDT                 CO     90008641900
7696B2A875B59B   MICHAEL        TRUJILLO                   NM     90014182087
7696B32698B134   CYNTHIA        GROSSAINT                  UT     31054603269
7696B429581633   MARIAH         EUGENIO                    MO     90012984295
7696B874872B22   DEVANTE        BIRDSONG                   CO     90012898748
7696B884772B44   SHANA          DE BOTH                    CO     90014708847
7697112298B134   MARIA          HERNANDEZ                  UT     90015151229
769711A9A4B539   CLAUIDA        TREJO                      OK     90011701090
76972325872B87   FRANCIS        DOIEL                      CO     90003883258
769724A147B477   MELINDA        SANDERS                    NC     90011084014
7697268A833698   FELECIA        INGRAM                     NC     90012816808
7697313755B59B   ANNA           TORRES                     NM     90010111375
7697346587B477   ASHLEY         MONTOYA                    NC     90014814658
7697361112B994   WALTER D       LOCKE                      CA     90007346111
7697466128B157   ISRAEL         PEREZ                      UT     90011256612
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 911 of 2350


7697525457B321   BARRETT          CAIN                     VA     90010822545
7697528A572B29   AMADO            CARBAJAL                 CO     90011332805
7697552298B163   MELISSA          ESTRADA                  UT     31096315229
76976452A81633   BRITTINI         HUDSON                   MO     90010964520
76976655A72479   MARY             NESS                     PA     90014346550
76976843772B32   FEDERICO         SANDOVAL                 CO     33041788437
76977A81972B22   JOHN             HRDLICKA                 CO     33021790819
7697832258B163   TAMARA           NEWPORT                  UT     31033893225
7697941828B163   SERGIO           QUINTERO                 UT     90009844182
76979691272B32   FIDENCIO         COVARRUBIAS              CO     33060706912
7697974467B477   JOHN             HERNANDEZ                NC     90006517446
7697B42762B994   PANFILO          JUSTO                    CA     90013104276
7697B894672B87   ROBERT           UECKER                   CO     33074358946
7698129828B142   TIMOTE           MOALA                    UT     90012182982
7698167687B477   STACI            CHANEY                   NC     90014176768
7698255575B59B   FRANCESCA        LOPEZ                    NM     90014835557
7698268628B163   SAMANTHA         MARTINEZ                 UT     90013366862
7698297958B134   TERRANCE TYRIE   JOHNSON                  UT     90011149795
7698299519154B   MUNIZ            YARISDY                  NM     90010229951
7698459A98B134   SERGIO           PRIETO                   UT     90008805909
7698486A281633   BRIAN            MARTIN                   MO     90012978602
76984925872B44   CHRISTINA        BOLES                    CO     90010139258
76985718572B32   CYTHIA           MILLER                   CO     33058287185
7698664A73B325   VICTOR           REYES                    CO     90010316407
7698684718B353   THOMAS           RUFF                     SC     90015458471
76987AA515B597   VICTORIA         A WOOD                   NM     90006410051
76988242772B22   JOSE             GUTIERREZ                CO     33093792427
76988853172B37   ISABEL           VALLEJO                  CO     33054958531
7698887A731432   BOB              YOUNG                    MO     90012518707
7698B29A49154B   NAOMI            ALMAGUER                 TX     90011152904
7698B39352B994   SAM              ESQUEDA                  CA     90001963935
7698B432981633   MICHAEL          CARDENAS                 MO     90000444329
7698B612731432   KIMBERLY         ALEXANDER                MO     90001396127
769911A448B134   CIERA            THOMPSON                 UT     90015091044
7699294914B548   KIMBERLY         SRAMEK                   OK     90007789491
76992A1949154B   VELIA            ARTALEJO                 TX     75004430194
76992A91A93739   CIERRA           EUBANKS                  OH     90013610910
7699316698B168   K                MONSON                   UT     90011741669
7699324264B949   DANNY            MEVILS                   TX     71095982426
76993454991B29   ALEXIS           SIDBURY                  NC     90015464549
7699384648B134   RYAN             NOBLE                    UT     90013778464
76993A93172B22   RODOLFO          ALVARADO DIAZ            CO     33034580931
7699531125B384   AURA             ESPERANZA                OR     44563733112
7699585A18B353   STETSON          SHELTON                  SC     90015328501
76995A82872B29   MONICA           GOMEZ                    CO     90005890828
76996222572B44   MICHELLE         DURAN                    CO     33080162225
76996244A81633   JACI             ALEXANDER                MO     90008502440
7699658717B477   J.CARMEN         AGUILAR                  NC     11087805871
7699693639154B   NESTOR           RAMIREZ                  TX     90001619363
76997192372B37   KEEGAN           NAGEL                    CO     90013321923
769975A6472B22   JOEL             TORRES                   CO     90012905064
76997A4268B142   FRANCISCO        MORALES                  UT     90015140426
769983A9555939   ZULEMA           MENDEZ                   CA     90014713095
76998AA938593B   SARAH            SMITH                    KY     90010950093
7699B113593746   CHRISTIAN        SAVAGE                   OH     90000511135
7699B191A31432   JOSEPH           HOUSE                    MO     90002331910
7699B32865B59B   DANIEL           CARBAJAL                 NM     90002393286
7699B741193739   JULIE            BRUCE                    OH     64500387411
7699B947172B29   CIERA            ELLINGSWORTH             CO     33086709471
769B1475772B44   SANDRA           VEGA                     CO     33054094757
769B2281355939   HIGINIO          HERNANDEZ                CA     90005612813
769B25A842B271   NICOLE           PRICE                    DC     90001595084
769B3472451355   KAITLIN          WARE                     OH     90005134724
769B4562333698   HATTIE           MCLEAN                   NC     90008275623
769B45A549154B   HECTOR           GONZALEZ                 TX     90011315054
769B4612955939   JUAN             LOPEZ                    CA     90012986129
769B4625472B22   SASHA            MAULDIN                  CO     90010216254
769B5445A55939   DALIA            BUENO                    CA     90009354450
769B5598872B87   DIANNE           MIRANDA                  CO     90012015988
769B56A8772479   NANCY            MCKEEN                   PA     51046336087
769B5851A72B22   JEAN PAUL        NINZIZ                   CO     33069618510
769B5955971921   ERIKKA           HARVEY                   CO     90014579559
769B67A7155966   FELICITAS        GUTIERREZ                CA     90015047071
769B6839A72B44   ESMERALDA        FELIX                    CO     90009868390
769B711355B59B   ANDREW           VALVERDE                 NM     35023251135
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 912 of 2350


769B731218B157   HEATHER       BOYER                       UT     31067913121
769B744563B354   JULIANN       RABIDEAU                    CO     90005214456
769B7572872B44   ABRAHAM       REYES                       CO     90015175728
769B78A772B994   ANTHONY       SOUZA                       CA     90012988077
769B7A73372B87   LISA          ACREE                       CO     90009510733
769B8255672B44   ANA           REYES                       CO     33076502556
769B856A18B142   DENISE        FERGUSON                    UT     90006265601
769B85A5772B29   JESSE         VEGA                        CO     33007585057
769B86A5A93739   MIKE          MIKE                        OH     90011036050
769B8783472B37   LAURA         GARCIA                      CO     90004107834
769B8AA9241227   KEITH         LAWRENCE                    PA     51087240092
769B912827B477   CASSYANN      LUKE                        NC     90014651282
769B9132472B44   ELIDA         HERNANDEZ                   CO     90007331324
769B913587B477   ALLISON       DANLEY                      NC     90014741358
769B927A951355   CARRIE        WILLIAMS                    OH     90010982709
769B9313172B29   TAMMY         KATANA                      CO     33014223131
769B9444171921   KYLE          MATA-HOSTETLER              CO     90012934441
769B985283168B   LEXI          CHRISTY                     KS     90009728528
769BB69148B163   SHAWN         TRIM                        UT     90000526914
76B11197572B29   SARAH         FETYKO                      CO     33081071975
76B111A6355966   JOHNNY        VASQUEZ                     CA     90011831063
76B11329A72B87   SALEMY        FLORES                      CO     33015313290
76B117A6951337   JACQUELINE    WILLIAMS                    OH     66034387069
76B1229668593B   NESTER        AGUILAR                     KY     90012212966
76B1235985B59B   MICHAEL       FRIIS                       NM     35025243598
76B12635472B37   SHERRY        TRUJILLLO                   CO     90009326354
76B12AA3741237   CHARLES       BADAMO                      PA     90008480037
76B12AA8672B22   ERIC          SPURGEON                    CO     90012890086
76B13172131432   TREVON        MOORE                       MO     90014121721
76B1319168B168   ANA CECILIA   LANDAVERDE                  UT     90007651916
76B13218531443   KEN           DUDLEY                      MO     27569672185
76B13397455939   ESPERANZA     LOPEZ                       CA     48074263974
76B13664472B29   SANDRA        DEHERRERA                   CO     33078646644
76B13969193739   OMAR          VARISE                      OH     90010389691
76B149A2A8B134   BETTIE        RAMEY                       UT     31080089020
76B149A9A55936   ARACELI       ESCALERA                    CA     49041039090
76B1513732B994   ANA           NAVA                        CA     90010151373
76B1569388B134   LEE           GREENHALGH                  UT     90010936938
76B15722663649   JOHNNIE       CARTER                      MO     90014867226
76B15762231432   DESTINY       BOYD                        MO     90013377622
76B15825A9154B   LOURDES       SAENZ                       TX     75042688250
76B15876372B44   JOSE          MARTINEZ-QUEZADA            CO     90012548763
76B163A2271921   CHARLENE      BROZINA                     CO     32023203022
76B16451855966   JOEL          HYATT                       CA     90014774518
76B1684A79154B   SUGEY         DEL RIO                     TX     90013358407
76B1688118B134   CRAIG         VOIGT                       UT     90004708811
76B16A63A3B137   EDUARDO       CARBONELL                   DC     90014330630
76B17152355939   RANDY         GARZA                       CA     90014231523
76B1741172B994   STEVEN        LEGG                        CA     90014424117
76B17985855941   PHILIP MIKE   BUSHELE                     CA     90006409858
76B17A2738593B   HEATHER       SANDLIN                     KY     90014560273
76B18248931433   KENYA         CARTWRIGHT                  MO     27558962489
76B1838A455966   JESUS         SANCHEZ                     CA     90014753804
76B1884519154B   CONSUELO      SANCHEZ                     TX     75073788451
76B19146372B32   CHERIE        MCNEAL                      CO     90012741463
76B19541972B29   KRISTI        BIANCO                      CO     90011025419
76B19582A71921   LOUIS         ISREAL                      CO     90012975820
76B196A5441253   LEE           STOUDEMIRE                  PA     51048986054
76B196A7955939   LARRY         MARQUEZ                     CA     48043766079
76B19A78A93739   CASEY         TOWNSEND                    OH     64510400780
76B1B93AA55947   ARIANA        CARDONA                     CA     49032169300
76B1B944655966   LETICIA       RUIZ                        CA     90014749446
76B1B967484359   TRE           AUSTIN                      SC     90007839674
76B2127759154B   CARLOS        REYES                       TX     90011152775
76B2245152B994   DYLAN         VANG                        CA     90013414515
76B2277728B142   GREGORIO      SANTAYO                     UT     90012197772
76B22859741237   SHANELL       HOWARD                      PA     90012788597
76B229A1A3B137   ERIC          PITMAN                      NC     81097529010
76B23769A5B326   ANNE          FOSEN                       OR     90000977690
76B23A1198B163   KIMBERLEE     SCOTT                       UT     90015020119
76B23A49172479   MICHELLE      BILSKY                      PA     90012180491
76B24247261922   MELISSA       SKLENA                      CA     90010692472
76B24345191548   MARTHA        PACHECO                     TX     75010983451
76B24412555982   MARIA         SANCHEZ                     CA     48096504125
76B24641372B22   LUCIO         BANUELOS                    CO     33068336413
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 913 of 2350


76B2464A85B59B   ROCK          VAL                         NM     35038646408
76B24945555939   ROGELIO       HUERTA                      CA     90004919455
76B24975A9712B   PETER         PAULINO                     OR     90011769750
76B25848271921   BECKY         SMITH                       CO     90000618482
76B25968A4B261   JARSO         SENGBE                      NE     90013409680
76B26935A55966   SHANNON       STORY                       CA     90007599350
76B27442171921   BILL          SWANGO                      CO     90012354421
76B27A5259154B   DULCE         MARQUE                      TX     90003740525
76B27A66972B32   PETER         SULLIVAN                    CO     90012010669
76B28135141253   TODD          CHANGOWAY                   PA     90012511351
76B28136651355   BRIDGETTE     RIDGEWAY                    OH     66076941366
76B2855378593B   PAYGO         IVR ACTIVATION              KY     90015195537
76B2875797B477   JULIO         DORIA                       NC     90011917579
76B28911672B44   ALISHA        RIVARD                      CO     90014699116
76B28A23155939   FRANSISCO     RIVERA                      CA     90011240231
76B2971728B142   EMANUEL       LOPEZ                       UT     90014877172
76B29856157531   SANDRA        LARGO                       NM     90014608561
76B29858872B22   SARA          PACHECO                     CO     90009898588
76B2B137972B44   KATY          ROBINSON                    CO     90015091379
76B2B356941237   BOBBY         LOGSDON                     PA     90011303569
76B2B3A549154B   LILIANA       SANCHEZ                     TX     90014183054
76B2B757A93739   DONALD        HICKS                       OH     64525787570
76B2B968A33698   AYESHA        DAVIS                       NC     12023679680
76B31238841237   HARRY         MCCULLOUGH                  PA     90014812388
76B31A14931443   BEVERLY       FORREST                     MO     90005660149
76B31AA347B427   GLORIA        RESENDEZ                    NC     90014110034
76B3223A733698   TRAVIS        WATERS                      NC     12003992307
76B32241972421   JIM           WAGNER                      PA     51032392419
76B3236218B142   BOBBIE        STALEY                      UT     31037733621
76B32447872B44   ALEX          PALMER                      CO     90013304478
76B3264858B134   SEPA          SEHWENKE                    UT     90011886485
76B3289A772B22   SAYLA         JOHNSON                     CO     90013278907
76B32A9912B994   JUSTINE       HOLMES                      CA     90005010991
76B33174572B29   FRANCISCO     PELAYO-VAZQUEZ              CO     90013561745
76B33467393739   JUANITA       BOGLE                       OH     90009314673
76B33476341253   THOMAS        BAXTER                      PA     51085384763
76B33A32151355   SHEILA        BARGER                      OH     66029880321
76B34244133699   LATAYIA       RICE                        NC     90009452441
76B34519972B32   MARCELA       MUNOZ                       CO     90011195199
76B34572772B44   MARTINEZ      SHARIE                      CO     33030385727
76B3467448B157   SCOTT         RANDALL                     UT     90008646744
76B348A768B163   CHRISTOPHER   STOLWORTHY                  UT     90011798076
76B35358A8593B   BRYAN         BEAL                        KY     66011163580
76B35434872B32   JENNIFER      ROYBAL                      CO     90002544348
76B36159A72B37   FELIPE        DONATO                      CO     33064441590
76B3641785B16B   DAVID         JONES                       AR     90006144178
76B3731189154B   REUBEN        REBOLLO                     TX     90001523118
76B37333291522   SOCORRO       VAZQUEZ                     TX     90013253332
76B3748A172B37   IGNACIO       ROSAS                       CO     33073124801
76B37831955966   SONYA         NIETO                       CA     48008048319
76B3791227B477   WANDA         HOWIE                       NC     90004089122
76B38A13631432   TENIERA       HUBBARD                     MO     27507080136
76B3932138593B   BRITTANEY     BUCKNER                     KY     90015213213
76B3943399154B   JAVIER        BEJARNO                     TX     75009554339
76B39486972B29   KAREN         ARREDONDO                   CO     90012914869
76B3B19919154B   MARTIN        PICHARDO                    TX     90004031991
76B3B652341253   AMY           HUFFMAN                     PA     90014296523
76B3BAA4755939   ANAHI         TAFOYA                      CA     90014600047
76B4125789154B   ANGELICA      HERNANDEZ                   TX     90007842578
76B41342872B29   BRIAN         HERZOG                      CO     90012293428
76B413A4891993   WILHESMAN     VIEIRA                      NC     90008333048
76B42756641237   LAVALLE       ALFORD                      PA     90010167566
76B42767631672   ANTHONY       KLIMA                       KS     22083697676
76B42797151355   RANDY         BARRETT                     OH     66007947971
76B4285929154B   HORTENCIA     CHAVEZ                      TX     75030978592
76B42979A72B22   BERNADETTE    RICO                        CO     90008149790
76B43A57133698   FONDA         DAWKINS                     NC     90000810571
76B44787955966   REYNALDO      GONZALEZ                    CA     48032037879
76B44821672B32   DESIREE       CEBALLES                    CO     90014878216
76B4525418B168   GARCIA        SHEILA                      UT     90003132541
76B4537559154B   JENNIFER      SANCHEZ                     TX     90014203755
76B45782572B22   SHAHN         EGGEN                       CO     90001337825
76B46178991993   KAMALI        BOSPIC                      NC     90010151789
76B4637989154B   MARIA         MONDRAGON                   TX     90014203798
76B46412793739   MIKE          SCHOLZ                      OH     90003814127
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 914 of 2350


76B46834381633   ESSENCE      WILLIAMS                     MO     90008488343
76B46A7729154B   LIZETTE      GARAY                        TX     90010780772
76B47124971921   JACQUELINE   JOHNSON                      CO     32002801249
76B4731698B163   GALDINA      PADILLA                      UT     90007963169
76B47445A31432   JACKIE       STEVENSON                    MO     90014024450
76B47456333698   LUPE         RIVERA                       NC     90011624563
76B47489355966   JAIME        ROWLETT                      CA     90014754893
76B475A4272B37   GLENN        EHLERT                       CO     90014775042
76B47689172B32   WYDELL       BROWN                        CO     90013756891
76B47A2559154B   PERLA        ANDERSON                     TX     90011750255
76B4821A655966   MARIA        MARTINEZ                     CA     48070882106
76B4829457B427   FELIPE       SANTIAGO                     NC     90001482945
76B48446572B37   KATHLINA     CRANE                        CO     90006694465
76B48681371921   ADAM         HENNESSY                     CO     90012506813
76B49111131432   JALESSA      JONES                        MO     90008971111
76B49563751355   LEILA        MOBLEY                       OH     66058205637
76B4962A38B134   QUERENA      RODRIGUEZ                    UT     31033136203
76B49891841237   WINTER       EPPS                         PA     51074758918
76B49939372B87   ALICIA       SOTO CRUZ                    CO     90012819393
76B49A21472479   NYCOL        DAVIS                        PA     90008930214
76B49A87793739   JUAN         GIBSON                       OH     90014630877
76B4B82A957152   LAWRENCE     I JONES                      VA     90002918209
76B4BA7578B163   BRANDON      ROGERS                       UT     90015020757
76B4BA91663657   JAMES        STRUCKMAN                    MO     27577610916
76B5136778B142   MARIA        CHAVEZ                       UT     90015013677
76B51474A9154B   ESTHER       REYES                        TX     90014344740
76B5159118B142   JOSE         MARROQUIN                    UT     90014175911
76B53219772B37   JENNIFER     HILL                         CO     90002732197
76B5348A25B384   JOSE         CASTILLEJOS                  OR     44512034802
76B53615541237   JASMINE      WILLIAMS                     PA     90014626155
76B5384889154B   VERONICA     ESPARZA                      TX     75015498488
76B53A29A55966   DAVID        ALVAREZ                      CA     90005130290
76B54159972B22   EDNA         LOVE                         CO     33093321599
76B54549755966   JAIME        GONZALEZ                     CA     48098265497
76B54598193747   QUE-SHAON    PAYNE                        OH     90010665981
76B55365A93739   MASON        WYATT                        OH     90013073650
76B55442272B22   MAURICIO     SANCHEZ                      CO     33086564422
76B55794772B29   JUNIOR       AUILA                        CO     33033397947
76B559A7772479   MARIE        CHRISTINIS                   PA     90012179077
76B55A69272B29   BENANCIO     GONZALES                     CO     90014360692
76B55AA2133698   RAZAQ        FOLARIN                      NC     12036520021
76B5619368B157   SONIA        CEJA-SOLIS                   UT     31014371936
76B563A4581255   RACHEL       OLVERA                       KY     68008713045
76B563A8172B87   ALBERTO      ROSALES                      CO     33058263081
76B5651397B477   CARMEN       INGA                         NC     90008435139
76B56824772B37   MARIBEL      CISNEROS                     CO     90014048247
76B5689565B59B   DEVIN        JARAMILLO                    NM     90014278956
76B56989451355   KARLA        HOWELL                       OH     90012849894
76B5711663B325   KARA         DICKENS                      CO     33081231166
76B5744368B134   SEPIUTA      GORD                         UT     90006984436
76B57484131432   JUANITA      LEWIS                        MO     90013494841
76B57869172B87   ADRIAN       ORTIZ                        CO     33077788691
76B579A9143522   CHELSEA      KERR                         UT     90009569091
76B5835778B163   ISIDRO       MALDONADO                    UT     90006463577
76B58383972B22   HEATHER      FREEMAN                      CO     33005913839
76B58534672B87   JUANA        SICAIROS                     CO     90011615346
76B58664455966   LUIS         AVILA                        CA     90009176644
76B5936834B241   SHAWN        BARBER                       NE     90007683683
76B5B35615B395   STACY        WOITACH                      OR     44509573561
76B5BAA399154B   PATRICIA     RAMIREZ                      TX     90014900039
76B6151917B358   AHOLIBAMA    VELASQUEZ                    VA     90001885191
76B61664372B37   LEA KIM      DURAN                        CO     90013066643
76B61692855947   OLGA         SILVA                        CA     49098586928
76B6196A891361   MIRIAM       RAMIREZ                      KS     90010039608
76B6227218B142   ALEJANDRA    LINARES                      UT     90013592721
76B62359993739   TIFANIE      GRAY                         OH     90011393599
76B63139855939   PETRA        GONZALEZ                     CA     90013991398
76B63157972B37   YVETTE       CALDERON                     CO     33094271579
76B633A9872B44   LEZDETH      MUNOZ                        CO     90013033098
76B6355778B168   STEVEN       CHRISTINSEN                  UT     90008265577
76B63658A4B221   ALAN         SMITH                        NE     26094566580
76B6368578B157   MOISES       SALAS                        UT     31098566857
76B63737672479   RICK         CRAMER                       PA     51012817376
76B638A1831432   NICOLAS      SELLERS                      MO     90008388018
76B6391273B321   CHRISTINA    NELSON                       CO     33087699127
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 915 of 2350


76B639A2172B29   INDIRA         STRONG                     CO     33090339021
76B63A74461941   JAVIER         TORRES                     CA     90008650744
76B64188472B87   MONICA         BONILLA                    CO     90006521884
76B64515472B22   ANITRIEA       MCCOY                      CO     90012625154
76B6455489154B   GEORGINA       SALAS                      TX     90012525548
76B652A2A3168B   DELMA          HEAD                       KS     22043162020
76B65328355939   RENE A         VENTURA                    CA     90002233283
76B65411391823   PAULA          CRABAUGH                   OK     21017634113
76B65A17572B22   MANUEL         MORALES                    CO     90012890175
76B6652729154B   JESUS          ARENAS                     TX     90014925272
76B66557871921   KATY           LEVAD                      CO     32001055578
76B66613855939   CUBERTO        RAMIREZ                    CA     90014266138
76B67716272B87   JOSE           DIAZ                       CO     90008457162
76B67815831432   DAVID          TURNER                     MO     90014968158
76B67A3A58593B   DONNA          PETERS                     KY     90005310305
76B68152393739   REBA           BARRETT                    OH     90010521523
76B69279971921   WESLEY         RUSSELL                    CO     90015372799
76B69397172B37   SALVADOR       CHAVEZ                     CO     33068463971
76B69616681633   JUDIE          SIMMONS                    MO     90010136166
76B6974768B134   SPENCER        SMITH                      UT     90013947476
76B69964231432   ANTONIO        MAYS                       MO     90013229642
76B6B1A945B921   R              BERG                       ID     90001031094
76B6B411781633   CHRIS          TRACY                      MO     90004264117
76B6B872471921   JORGE          DELEON                     CO     90003728724
76B71271293739   AMBER          MCBRIDE                    OH     90014652712
76B71443172B32   DAVE           TRUJILLO                   CO     33042154431
76B71677841237   MAKAYLA        DERRICK                    PA     90013976778
76B71774891548   MYRIAM         FERNANDEZ                  TX     90008777748
76B7221264B588   DAYNEICE       WATSON                     OK     90013962126
76B72488555966   MISTY          LOPEZ                      CA     90014864885
76B72523872B22   JARUN          LAWS                       CO     33054585238
76B7272A572B44   HEIDI          SHARPNACK                  CO     90011717205
76B73142241267   MARTA          DESANDO                    PA     90012531422
76B73938272B87   JARAMILLO      SONIA                      CO     33005719382
76B73A6639154B   TERESA         RIVERA                     TX     75005730663
76B74455155966   GUADALUPE      HORTA                      CA     90014764551
76B74924972B22   JONATHAN       HILLARD                    CO     90015089249
76B75998872B37   LUCAS          HERNANDEZ CARDOZA          CO     90012349988
76B759A248B157   AUSTIN         WILLIAMS                   UT     31017819024
76B76839A93739   LAUREN         OURS                       OH     90014638390
76B77337771921   NALLELY        OROS                       CO     90004503377
76B7788AA55966   JOHN           SOTO                       CA     90011838800
76B7853375B59B   RONNIE         PURCELLA                   NM     90014315337
76B78569655966   PRISCILLA      LOPEZ                      CA     90014785696
76B789A492B994   GELESIO        CONSALAZ                   CA     45026939049
76B79919872B37   BRENDA         CHAVEZ                     CO     33013089198
76B79A36651355   SEBRINA        LEE                        OH     90013070366
76B79A3882B271   PAMULA         DAWKINS                    DC     90009270388
76B7B37388B142   CINDY          EVANS                      UT     90013623738
76B81361981633   OLDEN          FOSTER JR                  MO     29008353619
76B81526972B87   DAVASHUNIQUE   MOSLEY                     CO     90012145269
76B81626831432   VINCENT        GOODE                      MO     90001496268
76B81835972B37   DEJONAY        CORDOVA                    CO     90004628359
76B819A2491361   TAMMY          HANKINS                    KS     90012389024
76B82136651355   BRIDGETTE      RIDGEWAY                   OH     66076941366
76B8215AA8B163   PAULA          CARDENAZ                   UT     90011791500
76B82367672B37   PAYGO          IVR ACTIVATION             CO     90014123676
76B82A65272B32   JULIE          WARNER                     CO     90011180652
76B83252272B87   CRISTHIAN      GONZALEZ                   CO     90014832522
76B8326132B994   PICK           UP                         CA     90004032613
76B83515955947   GEORGINA       NAVARRO                    CA     49005725159
76B83589172B32   TYLER          SELL                       CO     90013015891
76B83645A5B245   LAKISCHA       LONG                       KY     68017696450
76B8366253B351   MARK J         KLOPFENSTEIN               CO     33047186625
76B83A6A493786   CURTIS         GLASS                      OH     90014360604
76B84273A55939   RODOLFO        HERRERA                    CA     90012232730
76B8434989154B   ALMA           CASAS                      TX     90014183498
76B852A188B134   CHARLES        OBRIEN                     UT     90013112018
76B85629872441   AMARI          HAYES                      PA     51076116298
76B85662272479   BOBBI          MONACK                     PA     90014846622
76B8576268593B   ALICIA         PRATHER                    KY     90012597626
76B858A768B163   CHRISTOPHER    STOLWORTHY                 UT     90011798076
76B858A8A55939   SHEILA         APODACA                    CA     90010878080
76B8615687B477   FELIX          LOPEZ                      NC     11056881568
76B8736369154B   RUDY           GALLEGOS                   TX     90014183636
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 916 of 2350


76B874AA68B157   JOSEPH       JIMENEZ                      UT     90008244006
76B875A4393739   RAYCHEL      JONES                        OH     90013935043
76B8848A72B994   CINDY        CISNEROS                     CA     90015314807
76B88515955947   GEORGINA     NAVARRO                      CA     49005725159
76B8899832B994   CINDY        CISNEROS                     CA     90013049983
76B89344472B44   JOSELINE     TOVAR                        CO     90015463444
76B8945A22B994   NANCY        ERB                          CA     90012794502
76B8958748B168   KARI         HAND                         UT     90011705874
76B8968A55B59B   JASMINE      THOMAS                       NM     90014576805
76B89AA7A72B44   FRANCISCO    TOVAR                        CO     33038170070
76B8B891572479   JESSICA      HAINES                       PA     51007218915
76B91569655966   PRISCILLA    LOPEZ                        CA     90014785696
76B9177818B168   VICTOR       GARCIA                       UT     31095607781
76B92263472B32   JAIME        LARA                         CO     90012762634
76B93121451355   TERRI        GORDON                       OH     66075391214
76B933A4A7B477   IAISHA       SELBY                        NC     90014983040
76B9397512B994   GEORGE       RICO                         CA     90013789751
76B93A24155966   OLGA         RAZO                         CA     90011840241
76B94164672479   KRISS        GRALEWSKI                    PA     51047471646
76B94494A41237   CHILUFYA     MULUMBA                      PA     51083724940
76B9495368B157   HASSVIT      TORRES                       UT     31066099536
76B9496A89154B   IVAN         CISNEROS                     TX     90014049608
76B95699472B37   A            FISHER                       CO     33012436994
76B95743341253   ELIZABETH    LEWIS                        PA     90009737433
76B959A9131443   GLORIA       KATES                        MO     27571599091
76B95A34672B22   LESLIE       VELASQUEZ                    CO     90012890346
76B96168A8593B   HAZEL        PERKINS                      KY     66095691680
76B96192831433   SAMANTHA     WARREN                       MO     27593531928
76B9619468B168   JESSE        ALVEY                        UT     90002751946
76B9619A672B44   VICTORIO     GONZALES                     CO     90006591906
76B963A454B551   STEPHANIE    HOEHNER                      OK     90008733045
76B96722333698   COREY        GRAVES                       NC     12075317223
76B97236672B44   SHANNON      ORTH                         CO     90012302366
76B9754639154B   DEANNA       DIAZ DE LEON                 TX     90004265463
76B97584772B37   ABEL         RICALDY                      CO     90004015847
76B9792975B59B   RENAUD       RAMIREZ-CANO                 NM     35088699297
76B98573171921   WASHAKIE     WAVOKA                       CO     32043135731
76B99168241253   CHRISTOPER   CARTER                       PA     90012511682
76B992A277B45B   MERCEDES     MORALES                      NC     90013122027
76B992A8A5B59B   LUZ          HERRERA                      NM     90001522080
76B9945832B994   FRANCES      LLANES                       CA     90012574583
76B9B19A633698   COURTNEY     HEATH                        NC     90012491906
76B9B291A33698   TAMMY        HEATH                        NC     90010222910
76B9B44417B347   DOMINGA      UYPAN                        VA     81033214441
76B9B736A8B163   EDWIN        LEHAULI                      UT     31010687360
76B9B79358B157   ELSABET      ARDADI                       UT     90013967935
76B9BA53293739   RODNEY       LEMASTER                     OH     90013130532
76BB13A1572B37   DESIRRE      BABB                         CO     33073123015
76BB1854655947   HOPE         THIESSEN                     CA     49048518546
76BB1892372B32   JOSHUA       SANDOVAL                     CO     90014488923
76BB2631241237   EVERARDO     HERNANDEZ ROJAS              PA     90010266312
76BB2A45955947   TINA         CHIODO                       CA     90000370459
76BB327288B142   JOSE         SOLTERO                      UT     90013892728
76BB374592B248   DANIEL       TOWNS                        DC     90001047459
76BB3A7479154B   ANDREA       DE LA PENA                   TX     90010780747
76BB4349531432   TAMARA       COLE                         MO     90005273495
76BB5112372B87   GREZAIDA     UBINAS                       CO     90011621123
76BB59A168B168   IAN          BYRNES                       UT     90007409016
76BB6198641253   VANCE A      JESSICA                      PA     51051791986
76BB6265193739   TAMECA       EDWARDS                      OH     64595422651
76BB6944655966   LETICIA      RUIZ                         CA     90014749446
76BB6A13572B22   HUMBERTO     ARMENDARR                    CO     90012890135
76BB7287981633   BILLY        NIMROD                       MO     90009562879
76BB7A75541227   RICH         PALUMBO                      PA     90012050755
76BB876538593B   JOEL         PRINCE                       KY     90013027653
76BB8944655966   LETICIA      RUIZ                         CA     90014749446
76BB9677431443   WENDELL      HERRON                       MO     27518576774
76BB9A77251355   KERRI        CARROLL                      OH     90014690772
76BBB662841253   TEK          TAMANG                       PA     90013386628
7711125A831449   SELENA       WHITE                        MO     90011912508
77112385772B32   TRACEY       TOTTEN                       CO     33098063857
77112579A72B27   DONNA        DUNCAN                       CO     90007005790
7711477642B857   FTTG         CONTRACTING                  ID     42082757764
77114911A71921   MICHELLED    NIETO                        CO     90001969110
77115114A91588   EFRAINA      SORIANO                      TX     90012981140
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 917 of 2350


7711532268B134   ADREANA      CARRION                      UT     90009843226
7711561628B142   ANGEL        ERICKSON                     UT     90015206162
77115779472B32   SHALAMAR     BOBIAN                       CO     90013627794
77116425372B87   JENNIFER A   GUEVARA                      CO     90010554253
77116454A5B384   EDUVIJIS     ESTRADA                      OR     90003244540
7711792548B142   ELIZABETH    VALENCIANO                   UT     90012549254
77118223A72B87   LUZ          VALENCIANA - RANGEL          CO     90009422230
7711845875B37B   JOHN         CONDRON                      OR     44586524587
7711957218B157   LYLE         GOODRICK                     UT     31089605721
77119795172B22   CHARLES      VARGUS                       CO     90010227951
7711B18695B37B   VLADIMIR     BUCIO GARCIA                 OR     90014531869
7711B347531432   CANDACE      MEYER                        MO     90009803475
7711B651871921   WALTER       PAYTON                       CO     32009026518
7712132798B157   FERNANDO     PEREZ                        UT     90014283279
771219A3A91863   SHENELLE     FLOWERS                      OK     90014889030
7712216638B142   JESUS        ACOSTA                       UT     90005651663
7712279975B557   MANUEL       MELARA                       NM     90011077997
77122A78697B45   JESUS        MORALES                      CO     90007020786
77123A56581633   DONNELL      CARTER                       MO     90001610565
7712412687B477   JESSICA      SCOTT                        NC     90013841268
771241A6172B87   NICOLE       BETTALE                      CO     90013161061
7712424668B134   TINA         MANU                         UT     90003102466
7712428A98B163   TAMEZ        MARINA                       UT     90001572809
7712457A431443   NAPLEAN      WILLIAMS                     MO     27580105704
77125363197B45   BUTTERFLY    WHITE                        CO     33039443631
7712553948B142   KRIS         MCKELL                       UT     31014095394
77125834272B44   MONICA       STEVENS                      CO     90010558342
77125879A5B59B   NANCY        RODRIGUEZ                    NM     90010038790
77126118272B2B   DUSTEN       FRITCHELL                    CO     33054611182
77126593272B32   ESSENCE      SWAIN                        CO     90006075932
771268A9A72B44   JHON         HERRERA                      CO     33097288090
77126A6315B228   BELINDA      DALTON                       KY     68008140631
7712795323B366   DUANE        HIGGINS                      CO     90003129532
77127AA5763669   SHARON       FLANIGAN                     MO     90001680057
7712875718B157   SCOTT        SCHMIDT                      UT     90013827571
7712877248B134   JOHN         WALLACE                      UT     90010637724
77128985A71921   LEWIS        GABY                         CO     32032699850
771289A767B48B   STEPHANIE    DANCY                        NC     90003589076
7712977177B477   DEANDRE      GANDY                        NC     90012987717
7712B14A72B26B   CRYSTAL      SAUNDERS                     DC     90001281407
7712B358155947   SHELLY       CLINTON                      CA     90013983581
7712B628772B22   AMETHYST     WILLIAMS                     CO     90013096287
7712BA11193739   MARK         GOONAN                       OH     64574660111
77131563172B32   PATRICK      LUCERO                       CO     90010685631
771319A5181633   SALVADOR     RAMOS                        MO     90004969051
77132888A72B34   KELLY        PITTS                        CO     90001958880
77132943797B45   VIELMAN      BLANCO                       CO     33012529437
7713384398B168   LAURA        WALKER                       UT     31024198439
77133A84293739   LAUREN       PIGMAN                       OH     90005540842
77134241972B29   WILLIAM      MARSHALL                     CO     33091292419
7713446A571921   KAY          MARTIN                       CO     90005204605
771344A1872B87   SHARALYN     ERICKSON                     CO     33052354018
7713493A45B388   JOSEPH       KEEGAN                       OR     90010089304
7713514438B168   NATALIE      ZAMORA                       UT     90010211443
77135158A93739   LISA         KLOTZBACH                    OH     90001211580
7713557687B477   LAREKA       NICHOLS                      NC     90010965768
77135654872B32   MIKAYLA      SANTANA                      CO     90007296548
771358A767B477   TONIA        COLLINS                      NC     90014018076
77135A7998B157   BRENNAN      LESOLLEN                     UT     90015280799
77136696972B29   JOVAY        WADE                         CO     33025776969
7713681325B354   LORENZO      LOPEZ GARCIA                 OR     90012608132
7713681868B157   AMBER        GALLEGOS                     UT     90002348186
77137669872B22   JUANA        LOPEZ                        CO     33042046698
7713878138B142   CODY         EVANS                        UT     90015107813
77139994A93739   KIMBERLY     THOMAS                       OH     90013719940
7713B86457B477   YVONNE       CROSBY                       NC     11002448645
7713BA65555969   ROXANNE      CORDOVA                      CA     90009990655
7713BAA7991588   BLANCA       PASILLAS                     TX     75086190079
7714143955132B   TONYA        SNIDER                       OH     66068304395
7714164243B325   KEUM HYE     JEON                         CO     90013956424
77141933572B32   VERONICA     RUIZ                         CO     33067059335
77141942172B22   NICHOLOS     STODDARD                     CO     90011969421
7714226898B168   SHELLY       HALES                        UT     31012912689
771435A6372B37   MARHA        DEPAUL                       CO     90004865063
7714416925B37B   ANITA        SANTIAN                      OR     90010741692
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 918 of 2350


771441AAA8B142   ROSA         VEGA                         UT     90009591000
7714423465B59B   JUAN         BARRAZA HERNANDEZ            NM     90002802346
7714431A831432   MARSHA       GROSS                        MO     90013683108
7714479412B271   SHANNON      JOHNSON                      DC     90011387941
77144A27171921   BRANDI       BACHECHI                     CO     32033400271
77144A2A255969   VICTOR       MAGANA                       CA     90012790202
77145836A5B37B   MARIAH       BENJAMIN                     OR     44555638360
7714594425B384   JOSH         SHALLEY                      OR     44595629442
77146173372B32   SAUL         FLORES                       CO     33056741733
77146355897B45   ROSA         VILLA                        CO     90010153558
7714781498B157   DARLA        HERLITZ                      UT     31011358149
77147A5A62B271   KRIS         FISHER                       DC     90014690506
77148159A72B22   QUONDALE     LOFTON                       CO     90013661590
77148894A31443   RORY         NORMAN                       MO     90013218940
77149178A97B45   ALFREDO      CALDERON                     CO     90010171780
77149A96841253   KEA          CLANCY                       PA     51091980968
7714B519331433   BLAIR        THOMAS                       MO     90011095193
7715175515B384   MICHAEL      CAPPOEN                      OR     44595637551
7715285AA8B163   ALLEN        BALDONALDO                   UT     90011618500
7715293988B168   MARIA        HERRERA                      UT     90011659398
77152A86572B22   ANNA         SERRANO                      CO     90003360865
7715311794B572   CARMELL      REED                         OK     90008981179
77153229A72B22   JOSE         SANCHEZ                      CO     90011282290
771534A973B388   WILLIAM      LEWIS                        CO     90010204097
7715355938593B   HEATHER      VASSER                       KY     90000325593
7715378968B351   TOMAS        WALKER                       SC     11072617896
7715462468B134   JULIE        PHILLIS                      UT     90014286246
77154A1532B271   TASHA        CHAMBERS                     DC     90004700153
77154A5195B59B   JOEL         ROMO                         NM     35006730519
77155A53191B25   STEPHANIE    BOND                         NC     90014750531
7715629568593B   JAEMICHAEL   GOODWIN                      KY     90014402956
77156A26841237   TIMOTHY      FIRANSKI                     PA     51052610268
77156AA9372B29   DONALD       STEVENS                      CO     33055010093
7715762388B157   RANELLE      WALLACE                      UT     90013846238
7715776597B477   COURTNEY     PATTERSON                    NC     90013587659
77157941A41237   CARL         CACERE                       PA     90013849410
771579A962B271   CARLOS       POWELL                       VA     81095819096
7715877888B142   ROBERTO      VALENCIA                     UT     90012977788
7715B25612B994   VICTORIA     SECRET                       CA     90014932561
7715B44797B477   AMY          CLICKNER                     NC     90010984479
7715BA99631433   MARISSA      VOELKERDING                  MO     90007740996
77161115297B45   JAIME        GALLEGOS                     CO     90004011152
7716161118593B   JOHN         GILLISPIE                    KY     90014276111
77161963672B22   MARK         PADILLA                      CO     33041859636
7716274178593B   JOSHUA       BAKER                        KY     90014537417
77162842172B37   FRANK        SEMANS                       CO     90000868421
7716285727B477   TYONNA       NEAL                         NC     90011308572
7716423283B343   JOE          PROVO                        CO     90004352328
77164512272B44   DANNY        MARTINEZ                     CO     33009595122
77164AA5991588   LAMBERTO     ACOSTA                       TX     75092700059
7716554328B168   WHITNEY      ANDERSON                     UT     90012245432
77165845172B29   MARIES       JOSE                         CO     33089838451
77166118A72B87   VICTORIA     FERNANDEZ                    CO     90013161180
7716626762B857   CORALEE      HELLICKSON                   ID     90010582676
77166362A71921   MARKUS       CARTER                       CO     90014853620
7716655AA72B32   MALACHI      MARTINEZ                     CO     90010125500
771665A1272B37   ERIC         VALDINN                      CO     90004995012
7716667738B142   JENNIFER     ZAMORA                       UT     31067436773
7716747743B362   JOSH         HUFFMAN                      CO     33091664774
77167574A5B37B   RICHARD      POLIN                        OR     90005005740
77167A22631443   PAYGO        IVR ACTIVATION               MO     90015410226
77167A6A441237   ARLENE       MAYWOOD                      PA     51013360604
77168379497B45   STEPHANIE    NEWMAN                       CO     90013383794
7716851347B449   RASHAD       HUNT                         NC     90000575134
7716877A841237   JESUS        VENALONZO                    PA     51004607708
77168A2698B134   OSCAR        SANDOVAL                     UT     31059510269
7716976A141227   MICHAEL      DOWDEN                       PA     51032167601
7716981A131433   SHELIA       PATTON HARRIS                MO     27559138101
77169A42991588   ROXANNE      BANUELOS                     TX     75044410429
7716B1A688593B   ANGELA       COOPER                       KY     90013051068
7716B554255969   ORASIO       SOTO                         CA     90013425542
7716B676797B45   FRANCISCO    ARELLANO                     CO     90012786767
7716B845A71921   BOBBY        ARCHIBEQUE                   CO     90014228450
7716B98888B142   RICHARD      OBRIEN                       UT     31006659888
77171263A8B163   JEWEL        FRAZIER                      UT     31002902630
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 919 of 2350


7717153675B161   STACEY              SMITH                 AR     90007055367
7717157738593B   LEONARD             WARFORD               KY     90009095773
77172251A5B348   KRISTINA            SMITH                 OR     90000512510
7717261A95B384   GREG                WANGLER               OR     90003246109
7717274992B994   PAUL                SABINE                CA     45045957499
77172A4498B142   JENNIFER            NOGUERA               UT     90007420449
77173491672B32   KYLE                BURKLEY               CO     90009114916
77174192172B29   ERIC                SARAVVIN              CO     33017501921
77174A21172B87   MERLINI             SIERA                 CO     90014170211
77174A81A2B248   MAURICE             BERRY                 DC     90001760810
7717545723B354   ANGELINA            ALMANZA               CO     33091064572
7717553928B168   DIANA               ROSSER                UT     31018285392
77175A19272B32   KIMBERLY            YAMAGIWA              CO     90013580192
77176AA285B375   AL                  HUGHES                OR     44573200028
771771A585B59B   JAVIER              JACQUEZ               NM     35004921058
7717769A872B32   ALFONSO             MENDEZ-GONZALEZ       CO     90009506908
7717792577735B   GLORIA              EDWARDS               IL     90012589257
7717959AA72B29   DANIEL              GREG                  CO     90004255900
7717B355331433   ERIKA               MARTINEZ              MO     90014903553
7717B3A3141237   JAMEE               CONNORS               PA     90006903031
7717B654A72B32   ANDREW              MOSSAD                CO     90010936540
7717B91742B994   CARLOS              GUZMAN                CA     90008159174
7718244A18B142   MELISSA             TAPIA                 UT     90009334401
77183159A72B37   ADRIANA             FLORES                CO     33061351590
77183A24A31443   SCHYLER             HARRELL               MO     90014800240
7718484238B142   ANGELICA            DIAZ                  UT     90012868423
771851A4172B29   MILTON              RIVERA                CO     90014511041
7718526345B59B   EVAN                WHITE                 NM     90014872634
7718547368B168   FRANCISCA           AMBRIZ                UT     31056204736
77185A5A593739   KARA                PETRAKOS              OH     90011540505
77186A5298B134   ZACHARY             MCKEOWN               UT     90013780529
7718845315B37B   NICOLE              CRAIG                 OR     44534004531
7718868727B477   BREYAUNA            KRIDER                NC     90013586872
77188924A72B37   DAVID               THOUTT                CO     33004959240
77188A23131433   DAWN                JENNINGS              MO     90014910231
77188A38524B54   MARGARET            BATTLE                DC     90013320385
771893A9131443   REGINA              BRIGHT                MO     90011253091
77189932372B32   LUZ                 LOYA                  CO     33089799323
77189A2618B142   SAM                 BURNINGHAM            UT     90002190261
77189A8548B168   JESUS               ZAVARCE               UT     31003850854
7718B421993767   BOYB                MULLINS               OH     90009144219
7718B441294925   LUIS                ROMERO                CA     90014334412
7718B498455947   LESLIE              LOYA                  CA     90012964984
7718B856191588   SONIA               AMIAN                 TX     75065568561
7718B96A53168B   AMY                 DELGADO               KS     22043689605
7718BA3A772B87   BRYAN               MOWER                 CO     90014170307
7719121262B994   CODY                SILVA                 CA     90009792126
7719123767B477   MONET               WALLACE               NC     11008322376
7719153985B59B   TEENA               CAMPOS                NM     90012455398
77191731372B22   PHILLIP             YOUNG                 CO     90005827313
771917A2972B87   CRIETINA            RANGEL                CO     33080527029
77191964172B42   SAUL                LANDEROS              CO     90012229641
7719247628B157   SHANE               HARDY                 UT     90014924762
771928A2972B87   MIGUEL              CASTRO                CO     90015098029
77192A4A272B87   MIGUEL              CASTRO RODRIGUEZ      CO     90014170402
77192A9612B271   ANTONIO             JACKSON               DC     81012800961
7719316828B168   AMANDO              LULA                  UT     31056021682
771937A758B142   JAIR                MEJIA                 UT     90013877075
7719383845B37B   TRACY               GRACIA                OR     90009918384
7719536362B271   STEPHANIE           TAYLOR                DC     90007713636
7719567398B131   ISABEL              DURAN                 UT     90013576739
77195A94272B87   SAUL                DIAZ                  CO     33077600942
7719629A855969   ANGEL               MOONEY                CA     48013642908
77197158472B44   FLORENCE            MARTINEZ              CO     33055481584
771971A7571921   JOHN                WILLIAMS              CO     90007321075
7719736883B136   ANTHONY             COCHRAN               DC     90001173688
77197915172B29   ENRIQUE             ELIZALDEZ             CO     33086669151
7719815355B37B   ANDREW RAY KENETH   FEIGHTNER             OR     90010131535
77198197172B37   JAIME               FLORES                CO     90010601971
7719854575B37B   JUAN                OROZCO                OR     90014445457
77198823572B22   SUZANNE             THORPE                CO     90014798235
77199367272B44   DAVID LEE           WILLIAMS              CO     33032213672
771994A9831433   TRACY               BASS                  MO     90012664098
77199635972B22   JEREMY              PEREA                 CO     90002126359
7719B226241253   JANE                MCNEIL                PA     90013502262
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 920 of 2350


7719B37138B142   JASLEE       HORE                         UT     90007263713
7719B79A572B37   CRYSTAL      PEREZ                        CO     33035037905
771B157147B477   CHERYL       BAXTER                       NC     11074755714
771B171328B168   MARGUERITE   PRINCE                       UT     90004787132
771B2261272B32   JOHN         SMITH                        CO     90012012612
771B2381591588   FRANCIS      CORONADO                     TX     90013083815
771B2458297B45   ALLAN        THOMPSON                     CO     90014884582
771B261245B59B   JORGE        AVILA-ACUNA                  NM     90009606124
771B2641255969   ERIK         POTTER                       CA     90009766412
771B376538593B   CARISA       BALL                         KY     66042797653
771B3798255947   BLANCA       VELASQUEZ                    CA     90015127982
771B396A772B22   JOSE         VALLEJO                      CO     90012999607
771B4125997B45   JAMIE        WOOD                         CO     33038051259
771B432438593B   JENNY        SANDERS                      KY     90013703243
771B4A79A3168B   KAREN        DAVIS                        KS     22089970790
771B5341533657   NICOLE       DEARMON                      NC     90012433415
771B568A472B87   ROSE         CARTER                       CO     33000126804
771B5747997B34   JESSICA      FLORES                       CO     90001217479
771B579A82B994   MARIA        SAINZ BUENROSTRO             CA     90012877908
771B5999131443   TAMARAH      ROBERTS                      MO     27575159991
771B5A6968B157   LEWIS        YENNA                        UT     90011900696
771B637598B168   KATHERINE    BAXTER                       UT     90004503759
771B6531455947   KHLOEUNG     YOU                          CA     49036215314
771B6817433698   DAVID        MILLS                        NC     90013148174
771B691215B59B   TIFFANY      SANCHEZ                      NM     90009549121
771B6921381633   BETH         MARSH                        MO     90002219213
771B6972555969   MARIA        NAVARRETE                    CA     90002669725
771B6A7558B157   JULIE        CUELLAR                      UT     31091760755
771B713588B157   CARTER       WENDIE                       UT     31099021358
771B746967B393   JEROME       MOORE                        VA     81050864696
771B775215B59B   JOSEPH       MONTOYA                      NM     35062017521
771B811868593B   BARBARA      ELLIOTT                      KY     90012861186
771B86A3172B22   DESI         BACA                         CO     90009946031
771B8AA3172B32   JOSHUA       FLORES                       CO     90013280031
771B9146741237   CHARLOTTE    MCBRIDE                      PA     51041161467
771B927268B168   SETH         ROBERTSON                    UT     90010732726
771B934928B157   STACEY       SKINNER                      UT     31016673492
771B9395255947   ANGELITA     GONZALES                     CA     49065653952
771B958A272B87   DESIREE      HOLMAN                       CO     90003745802
771B977425B59B   LARISA       SMITH                        NM     90013037742
771B982275B37B   SHERYL       WENTWORTH                    OR     44545528227
771BB125172B32   EVA          PASILLAS                     CO     33014861251
771BB27A531443   DANA         DEER                         MO     90003432705
771BB488841253   CHARLES      PONDS                        PA     90013384888
771BB652A8B142   PHIL         LAFEEN                       UT     31090196520
771BBAAA98B157   JEREMY       CUELLAR                      UT     90010620009
7721199953168B   SARA         REECE                        KS     22005539995
77211A11372B22   KELLER       STACY                        CO     33020440113
7721243158B163   ANGELA       BROWN                        UT     90012294315
7721252295B37B   DAN          SULLIVAN                     OR     90012345229
77212A19631443   VANESSA      TAUBKEN                      MO     90014180196
77212A6A672B87   GARY         GRAY                         CO     90014170606
77213243572B44   CHRIS        ROLLERSON                    CO     90000872435
7721329A855969   ANGEL        MOONEY                       CA     48013642908
772132A1933698   CASSANDRA    PATRICK                      NC     90005372019
7721398245B59B   KERRY        O'NEAL                       NM     35004969824
7721436588B142   MARK         DAVENPORT                    UT     31026253658
77214A8A38B163   OSCAR        MEDINA                       UT     31094890803
772152A2672B29   OFELIA       CHAVEZ                       CO     33016662026
7721588A384327   RONALD       TODD                         SC     90009258803
77215A23631443   BEVERLY      ROBERTS                      MO     90014180236
77215A7A68B157   MARIA        MORADO                       UT     90015140706
7721651168B168   TRACY        BOUNDS                       UT     90015055116
7721667185B384   JEFF         HEEMBROCK                    OR     44595676718
7721685528B163   JUSTIN       GOODRICH                     UT     90008828552
77217771A55969   MARIA        FIGUEROA                     CA     90014837710
7721798942B994   LAURA        HIGAREDA                     CA     90005729894
772183A9131443   REGINA       BRIGHT                       MO     90011253091
7721842655B37B   TIMOTHY      FLORES                       OR     90002594265
77218A6A672B87   GARY         GRAY                         CO     90014170606
77219694672B32   OLGA         NOVITSKY                     CO     33049086946
77219A62A8B163   ADRIANA      CISNEROS                     UT     90014720620
7721B264A5B384   MEGHAN       ROE                          OR     44595672640
7721B43158B163   ANGELA       BROWN                        UT     90012294315
7721B691881633   ALBERTO      RODRIGUEZ                    MO     90012476918
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 921 of 2350


772212A1941237   JASON            CHANEY                   PA     90015132019
7722261947B477   RALPH            BOUNDS III               NC     11047956194
7722336362B271   STEPHANIE        TAYLOR                   DC     90007713636
7722348688B877   DENDRE           GRIFFIN                  HI     90015344868
772236AA33B358   JOSE             VALENCIA BATISTA         CO     90013386003
77224486772B29   PALENCIA         EVELYN                   CO     90012164867
77225576872B37   QUEENISHA        SMITH                    CO     90012015768
77225677572B32   KINDRA           PRIDDY                   CO     90010706775
772259A128B163   YOUSETT          MALESPIN                 UT     90011539012
77225A37731433   DERON            DELANEY                  MO     90014910377
7722613318B168   JANEENA          WHITMAN                  UT     31039801331
7722662A77B477   RENETTA          JOYNER                   NC     90010466207
77226736A71921   TONY             BANISTER                 CO     90000837360
7722691825B37B   CHARLES          CANO-HARRIS              OR     90009919182
77226937A8B142   TINA             SNOW                     UT     90010359370
77226A66572B29   DESIREE          TAFOYA                   CO     33085880665
77227182A2B994   GASPAR           AVILA PONCE              CA     90012981820
77227365172B29   ROSCO            SPRINKLE                 CO     90006633651
7722755398593B   WILLIAM          WELLS                    KY     90011185539
7722833A841253   ROBERT           MANDEL                   PA     90015193308
77228A62A8B163   ADRIANA          CISNEROS                 UT     90014720620
77228A77741237   DAVID            BOGGUS                   PA     90013740777
77229533172B44   FRANCESCA        GONZALES                 CO     33080755331
772299A3772B29   ANGELA           CLIFFORD                 CO     33028299037
77229A3638B142   LIBBY            CHRISTENSEN              UT     90007210363
7722B156672B37   CHRIS            WARDLOW                  CO     33037401566
7722B599181621   GODWIN           OMOREGIE                 MO     90010735991
7722B7A218B157   GREGORY          MCWHORTER                UT     31085117021
7722BA61472B87   IVETTE           REYES                    CO     90014170614
7723158A872B22   NAROSHAY         AUSLER III               CO     90008495808
77231A62A8B163   ADRIANA          CISNEROS                 UT     90014720620
77232735397B45   LORENA           MURO                     CO     90002487353
7723273A841237   JOSEPH           KOSS                     PA     90005877308
7723285192B994   JANNETH          MARTINEZ                 CA     90010028519
772335A795B37B   MARIA            FLORES                   OR     44507705079
77233763872B87   KAELA            ARAGON                   CO     90009387638
77233A12625256   SHAQUANIA        JOHNSON                  NC     90007240126
7723512128593B   ANDREW           WINTERS                  OH     66082091212
772356A445B55B   ISIDRO           SARIBIQUE                NM     90001246044
77235A62A8B163   ADRIANA          CISNEROS                 UT     90014720620
77236845A41237   JOE              BLAKE                    PA     90010978450
7723694217B477   HEATHER          GONTER                   NC     11041949421
77236A38931432   SHARON           TATE HILLS               MO     90014090389
77237899572B37   RICARDO          REA                      CO     90010458995
7723794A12B271   WILLIAM          ANDERSON                 DC     90010939401
77237A25593786   JOSE FRANCISCO   MOJEDA                   OH     90010160255
77238A34741237   NICOLE           TEPALMA                  PA     90011750347
77238A62A8B163   ADRIANA          CISNEROS                 UT     90014720620
77239161A71921   ASHELY           PUETZ                    CO     90000281610
77239A66A8B163   STEPHAN          RAMSEYER                 UT     90014720660
77239A9712B994   MELYSSA          HINTZ                    CA     90002960971
7723B33465B37B   HOA              LUU                      OR     90003403346
7723BA2AA5B59B   ROBERT           VALENZUELA               NM     90006130200
7723BA3832B994   MARGARITA        GONZALEZ                 CA     90012950383
77241476A55947   LEONARD          GARCIA ALCARAZ           CA     49050504760
7724235A62B994   NANCY            XIONG                    CA     90014893506
7724336A241237   SHAWNDAA         BOWEERS                  PA     90012833602
7724344295B59B   RAHEL            TEFERI                   NM     90013804429
77243673572B37   DAVID            FELICIANO                CO     90005316735
77243864372B29   LUIS             MURO                     CO     90010448643
772439A3272B23   NICOLETTE        PONZIO                   CO     90012339032
77243A16A8B134   TAMARA           BARKDULL                 UT     90009740160
77243AA8A8B157   ALIPATE          TAPATOUTAI               UT     90007530080
77244147972B87   ADRIANA          LOPEZ                    CO     90013161479
7724436478B163   PAIGE            ROLLINS                  UT     31017943647
77244374A55947   MICHAEL          MASHBURN                 CA     49080163740
772444A6131432   PATRICIA         RICHARD                  MO     90005914061
7724457348B157   ALLEN            BRROKSQ                  UT     90013195734
7724512238B157   MARISELA         RODRIGUEZ                UT     31013591223
7724572A58593B   ROB              HOUSTON                  KY     90008427205
77245A27171921   BRANDI           BACHECHI                 CO     32033400271
77246364172B22   EFRAIN           DE LA TORRE              CO     33058573641
7724642232B229   DAMOND           LITTLE                   DC     90004424223
7724667118B163   DANIEL           DECARVALHO               UT     90013746711
77246A9622B271   RAVYN            COATES                   DC     90012880962
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 922 of 2350


772471A3A8B168   JENNIFER     HUNTER                       UT     90013481030
7724755AA8B168   JENNIFER     HUNTER                       UT     90008365500
77247A75131432   ROBBIE       HILL                         MO     90001690751
7724878A59137B   BRIAN        JONSCHER                     KS     29018177805
77248A4547B477   DAVID        FOSTER                       NC     90012450454
7724978558B134   MELANY       REYES                        UT     90012917855
7724B45148B157   ROSSA        RAMOS                        UT     90008044514
7724B818354121   SHERRI       MONAHAN                      OR     90015028183
7724B91195B59B   ARANGO       BRIGIDA                      NM     90008869119
7725137158B168   CARY         WOODFIELD                    UT     90014933715
772513A2441253   KENNETH      RING                         PA     90012473024
77251419572B44   LORENA       SILVA                        CO     33037834195
7725155A772B87   SHAUN        LAWRENCE                     CO     90013195507
772515A6141237   VIVIAN       BEY                          PA     51006735061
77251A8558B163   BRAIN        NELSON                       UT     31089680855
7725233458B142   JAVIER       PALLARES                     UT     90001793345
772523A1472B29   DAVID        CALIXTO                      CO     90015173014
7725354198593B   DEAN         RODEWALD                     KY     90009795419
7725354348B168   CESAR        GONZALEZ                     UT     90001645434
77254117A91588   MONICA       MARTINEZ                     TX     90013711170
77254545A8B163   ANDREW       CROWTHER                     UT     90013125450
77254685A41253   JOSEPH       RUPPRECHT                    PA     51054416850
7725546142B248   ROSA         TATE                         DC     81023334614
772559A4493739   JASMIN       PURNELL                      OH     90013629044
77255A5437B477   CARLOS       CASTRO                       NC     90012220543
77256253A33698   FELIPE       GUTIERRES                    NC     90013922530
77256593A81633   SOPHIA       POWELL                       MO     90012835930
772569A2772B29   JOSE         DIAZ                         CO     90001479027
772577A8355966   FRANSISCO    LOPEZ                        CA     90008367083
77257984297B45   ALISSON      MEJIA ALFARO                 CO     90014989842
7725912418B163   JOSH         BADLEY                       UT     90014721241
7725913498593B   LAURA        GRAHAM                       KY     90007961349
772599A9172B22   JOSIE        TOLENTO                      CO     90012269091
77259A29572B87   ARMANDO      GONZALEZ                     CO     33002600295
77259A69872B44   SELVIN       BATE SOLARES                 CO     33078880698
7725B291191588   GUADALUPE    HERRERA                      TX     75005502911
7725B388972B87   CHAPOI       PATY                         CO     33043373889
7725B478255947   JERONIMO     AYALA                        CA     90012664782
7726124422B271   LEON         ANTHONY                      DC     81095652442
7726137665B387   DARWIN       DEWAR                        OR     90003563766
772613A7541253   LASHAWN      SMITH                        PA     90005693075
7726193A971921   BRITTANY     BORDELON                     CO     90010059309
77262353A55947   DOUTY        NICKOLAS                     CA     90005173530
772624A2131443   MARIA        PINTOR                       MO     27562224021
77262534472B87   JUAN         ANTONIO                      CO     90007175344
77262A24A31443   SCHYLER      HARRELL                      MO     90014800240
7726314178B186   TRAVIS       FARRER                       UT     90002201417
7726396592B847   AMANDA       MARTINEZ                     ID     90012189659
77264214872B22   BRITTANY     BATTENBURG                   CO     90014702148
7726427188B163   BROOKE       MAYS                         UT     31028792718
772645A3672B29   NAOMI        ANELOSKI                     CO     90013635036
7726468A941253   VERONICA     ANDERSON                     PA     51093916809
77264734A72B87   MARIA        RAMOS                        CO     90005397340
772648A5931443   LEANN        KEISIER                      MO     27569948059
77264A23331432   BETTY        GILL                         MO     90014680233
7726518A68B168   JESS         MANLEY                       UT     31015551806
772651A4797122   MARIANELA    ISEMANN                      OR     90000901047
77265534A77343   YAHKEEM      YZRAYI                       IL     90015385340
7726575138B163   CHERYL       BOWEN                        UT     31097087513
77265A69397B45   EUSEBIO      CASILLAS                     CO     33061850693
77266256A41253   JARROD       ZONA                         PA     90006192560
7726675578B157   MICHAEL      LUCERO                       UT     90003007557
7726676538B168   GARY         DEBOLT                       UT     90015127653
7726685A45B59B   MARTINEZ     MARY                         NM     35077848504
77267A41772479   CORDERO      GARCIA                       PA     51042680417
77268164572B22   MARCOS       AMANZA                       CO     90012091645
7726824165B37B   KEENAM       LOPEZ                        OR     90011442416
77268A67261985   VERONICA     SALGADO                      CA     90012470672
7726937A671921   SILVIA       GREGORY                      CO     90006603706
77269784A91588   DANIEL       TORRES                       TX     90001967840
7726998A68B168   SANTIAGO     RODARTE                      UT     90014919806
77269A53A8B157   NARY         VALDEZ                       UT     90007620530
77269AA2972B29   ANGELA       HAWKINS                      CO     33051830029
7726B33358B142   MARIA        SIMMONS                      UT     90014333335
7726B655955947   SERGIO       AYALA                        CA     90006076559
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 923 of 2350


7726B713555973   STAN         HARRISON                     CA     48008287135
7726B753291588   JOSE         VASQUEZ                      TX     75015707532
7726B947972B32   ROBERT       KENNEDY                      CO     90012829479
7727126A884329   TRACEY       KRAMER                       SC     90006232608
7727161682B271   DEANDRE      DEMPSEY                      DC     90005576168
7727221378B157   DIANA        BLATNICK                     UT     31050512137
77272A2398B168   MARIA        GUTIERREZ                    UT     90000430239
772743A828B168   AMBER        LOZANO                       UT     90015133082
77274699972B87   LAUREN       AGUIRRE                      CO     90010046999
7727512688593B   MATTHEW      BROCK                        KY     90010401268
7727522288B134   ANGELA       FREAR                        UT     90012802228
77275236472B87   JUSTIN       TRUJILLO                     CO     33054882364
77275419A7B457   GERSON       AGUILAR                      NC     90014744190
7727563368B157   SAMANTHA     SMITH                        UT     90010886336
77275978A41227   MICHELE      RICHARD                      PA     90005779780
7727629118B168   BRENDA       CASPER                       UT     90003042911
7727634A272B44   VERONICA     DELGADO                      CO     33044143402
77276814972B22   IVONNE       SILVA                        CO     33013158149
772771A7597B45   GUADALUPE    LOPEZ                        CO     90006901075
77278494772B32   MARIA        CASTROVEGA                   CO     90012954947
7727927527B477   FRANCO       SAUL                         NC     90012562752
772793A5A91588   LAURA        MARTINEZ                     TX     90011823050
7727943A155947   GEORGE       HERNANDEZ                    CA     90012604301
7727B35A45B591   SILVIA       BURCIAGA                     NM     90007713504
7727B61773168B   TIFFANY      HARMON                       KS     22082416177
7727B648661951   REBECA       ALBARRAN                     CA     90014156486
7727B822A72B22   CHRISTINA    BEWLEY                       CO     33060978220
77281489597B45   LAQUANDA     ELLISON                      CO     90012694895
7728169A72B271   HENOK        TIRUNEH                      DC     90011126907
7728214A272B87   STEPHINE     ZAPATA                       CO     90000701402
7728257372B271   ANTHONY      PATRICK                      DC     81027075737
77283176472B29   CAREATHERS   NARVIA                       CO     90008921764
7728319135B334   JASON        DE PAZ                       OR     44584101913
77283477172B87   PATRICIA     GUITIERREZ                   CO     33050134771
77283A1A32B994   DAOVY        MANGMORADETH                 CA     90002610103
77283A2967B477   LORETTA      RUSSEL                       NC     90014570296
7728443738B168   JAIDAN       ANDERSON                     UT     90015134373
7728551A98593B   TAMRA        HOLDER                       KY     90013285109
7728554834B263   JAMIE        KURTZER                      NE     90014385483
7728562A831433   KENDRA       ST.JAMES                     MO     27580736208
77285A56A72B29   VICTORIA     MESSAOUDI                    CO     90011110560
77285A7A88B157   GUADALUPE    GONZALEZ                     UT     90013370708
7728632788593B   VERONICA     TAPIA                        KY     90014463278
7728689387B477   MICHELLE     REED                         NC     90012008938
7728726533B14B   EDWIN        ROMERO                       VA     90000352653
7728743555B59B   LINDA        DEVERS                       NM     35059144355
7728756A18B142   DENISE       FERGUSON                     UT     90006265601
7728772385B37B   APRIL        THORSEN                      OR     90010107238
77287996A72B44   FLOYD        PRIDE                        CO     33065359960
77287999472B87   LAURA        LOPEZ                        CO     90011559994
77288174272B29   BENJAMINE    SEANZ                        CO     90011821742
7728894988593B   MICHAEL      JACKSON                      KY     66057969498
7728933188B142   ISIDORO      VALDOVINOS                   UT     31097513318
7728B238A6B924   DARLENE      BYRD                         NJ     90000142380
7728B24628B157   JILL         PALMER                       UT     31049162462
7728B817155947   ALEJANDRO    RIVAS                        CA     49082758171
7729227733168B   CRAIG        DOWNEY                       KS     22044452773
772925A6833698   MICHAEL      SELLERS                      NC     90011125068
77292797A55969   MAINGER      JACKSON                      CA     90014407970
77292A35941237   CRYSTAL      SEWELL                       PA     51000010359
77293179397B45   SARAH        COOMES                       CO     90001371793
7729351235B124   RUBY         BOOTH                        AR     90007755123
77293853372B32   ANGELICA     MENDOZA                      CO     33085758533
7729436A172B32   CLAUDIA      URBINA                       CO     90011163601
7729477565B37B   JOHNNY       MACIAS DELGADO               OR     90015317756
7729522978B168   ALBERT       RECIO                        UT     90009352297
77295243A71921   ANDREA       BENNETT                      CO     32082832430
7729529A972B87   DANIELLE     SOFFA                        CO     90010392909
77295464197B45   ALEJANDRO    GALLEGOS                     CO     33004484641
7729566348B163   XOTCHILT     RAMOS                        UT     31054206634
77295778972B22   MELISSA      AMARAL                       CO     90005667789
7729666348B163   XOTCHILT     RAMOS                        UT     31054206634
77297167272B22   NICOLE       FLOREZ                       CO     90012801672
7729913728B168   DANA         MARTINEZ                     UT     90015141372
77299138872B87   GENRY        FLORES                       CO     33077601388
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 924 of 2350


7729928395B37B   JOSE MANUEL   CHU CARRILLO                OR     90014162839
7729933188B142   ISIDORO       VALDOVINOS                  UT     31097513318
77299A17872B32   RAYMOND       APARICIO                    CO     33090470178
7729B481155969   STEPHANIE     SALAZAR                     CA     48076684811
7729B7A892B271   WANESHA       LEWIS                       DC     90011207089
7729B894A31443   HANNA         JONES                       MO     27596758940
7729BAA688B163   SARAH         PIERCE                      UT     90002840068
772B1279872475   JASON         NUTTER                      PA     51071492798
772B1792A72B32   PERCY         HOWARD                      CO     90012087920
772B2358472B37   BARRAULEO     CHAVARREA                   CO     33067423584
772B2763491588   COTY          MESSER                      TX     90012127634
772B279567B477   RENEE         FIELDS                      NC     11003087956
772B2967272B29   KRISTIN       KINKAID                     CO     33044149672
772B32A3A41253   CARL          LINDSAY                     PA     90015172030
772B3488172B87   MANDI         DAVIS                       CO     33051154881
772B4175555947   JESS          GONZALES                    CA     90014321755
772B4216A8B157   BARBE         JUSTIN                      UT     90006352160
772B436263168B   GORDON        SNYDER                      KS     22069033626
772B4384393728   DENNIS        MURRAY                      OH     90007973843
772B4A68491588   CESAR         MARTA                       TX     75000020684
772B55A2385945   KAITE         MBAYA                       KY     67017685023
772B6321841253   ERNEST        DANIELS                     PA     90013773218
772B6638931433   STEVIE        WINSTON                     MO     27578556389
772B6651572B32   LINDA         LIMON                       UT     31036376515
772B695597B477   LADINE        LOUALLEN                    NC     90001519559
772B6A17A31443   RACHEL        SHANNON                     MO     90014180170
772B7153631433   LORI          JONES                       MO     27546681536
772B746327B477   PATRICIA      PERRY                       NC     90002894632
772B794158593B   ELIZABETH     CHIPMAN                     KY     90009089415
772B7AA368B134   PABLO         OSEGUERA                    UT     31048020036
772B828444B27B   JULIE         LEONARD                     NE     90014632844
772B8359672B32   CARLOS        RODRIGUEZ                   CO     90011163596
772B9255672B22   TAMONICA      THOMAS                      CO     90013422556
772B958395B37B   SUSANA        TORRES                      OR     90005145839
772B9918744344   KENARD        THOMAS                      MD     90015469187
772B9AA1171921   ARNOLDO       NUNGARAY                    CO     32064330011
772BB66A655969   MARIA         ALDAZ                       CA     48019706606
772BB93988B168   MARIA         HERRERA                     UT     90011659398
77311923172B87   LEE           MADRID                      CO     90013999231
773119AA493739   LINDA         HAMAN                       OH     90013509004
7731243883B358   MARCO         GARCIA                      CO     90001714388
77312545672B32   HUBBERT       BRIANNE                     CO     90013565456
773127A5197B45   SMITH         KAREN                       CO     90007547051
77314128972B87   DAVID         CANTONWINE                  CO     33017811289
77314524572B37   AMARIS        CRUZ                        CO     90011395245
7731459688B168   LUCIA         HULLINGER                   UT     90011665968
773153A7431443   DAROLL        SIMMONS                     MO     90000593074
7731556982B994   GUSTAVO       BELTRAN                     CA     90014205698
7731591245B522   DAVID         JENKINS                     NM     90008039124
7731627785B59B   DOMINICK      SEPULVEDA                   NM     90014502778
7731656538B134   JARED         OSTLER                      UT     90007485653
773167A118593B   BLANCA        MORENO                      KY     90005877011
7731722A52B994   CHRIS         ZURILGEN                    CA     45042892205
773174AA972479   RONALD        CHESTER                     PA     90000704009
7731767118B163   JANISE        HOWARD                      UT     31068166711
773177A288593B   ROCKY         SCOGGINS                    KY     90015107028
773177A928B142   MICHELE       MCGOWAN                     UT     90001637092
77317859272B87   CORRINE       BEHNE                       CO     33079058592
7731977A672B29   DULCE         MATA                        CO     90013437706
7731B65943B366   LEROY         BARNES III                  CO     33084166594
7731B69282B994   MAYRA         CARRANZEL                   CA     90008396928
7731BA37672B87   RICHARD       NYGREN                      CO     90014180376
7732126227B477   SCOTT         HOOPER                      NC     90013282622
7732148945B37B   JUAN          CRUZ SIQUINA                OR     90010904894
7732156862B271   OMAR          CASTELLANOS                 VA     90004805686
7732191968B168   RAFAEL        LIRA                        UT     90010349196
7732213A797B45   JESSICA       PACHECO                     CO     90010811307
7732218628B163   MOHAME        AMIN                        UT     90014721862
773224A1172B32   DONNA         LACEY                       CO     33045144011
773225A8A72B22   GABRIELA      BASTIDA                     CO     90002265080
7732282618B142   TRACY         WILLIAMS                    UT     90001238261
77322A8992B271   LEROY         A BARNABY                   DC     90014620899
7732321417B477   LAWRENCE      DA SILVA HUSBY              NC     11078752141
77323243A3168B   RONNIE        VERMILLION                  KS     22000592430
77323275A72479   GEORGE        KYLE                        PA     51046372750
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 925 of 2350


7732328968B163   KATIE        WILSEY                       UT     90014732896
7732427648B163   KARINA       LUNA                         UT     90011502764
7732454438B168   VICOTRIA     COBARRUBIAS                  UT     90005735443
77324A47381633   PAUL         ANDES                        MO     90015030473
7732519848B163   ANGEL        SALAZAR                      UT     90014721984
7732568962B271   JHONNY       CASTRO                       DC     90008496896
7732694283B387   SEAN         TORRES                       CO     90011459428
7732716635B59B   ANTHONY      CRAWFORD                     NM     90014441663
7732742948B142   AMPARAN      DAMARIS                      UT     90001334294
7732758732B225   LATARE       WHITAKER                     DC     90009495873
7732783472B271   THOMAASHA    HUUNTER                      DC     90007978347
7732812613168B   JOSE         CHAPARRO                     KS     90004401261
773284A618B142   SAYSHA       LEANY                        UT     90003974061
77328661872B22   ERICK        TURCIO                       CO     90000926618
7732889428B157   TONA         CHARLEY                      UT     90012098942
773293A5681633   HUBERT       SLIGER                       MO     90009423056
773294A255B37B   RONALD       STEWART                      OR     90015174025
7732988817B477   MONICA       CRAIG                        NC     11052018881
7732B17768B163   JAZMIN       PHELPS                       UT     90014721776
7732B323431432   CHRIS        DAMPIER                      MO     90014423234
7732B34848B168   ALMA         AGUAYO                       UT     90012963484
7732B563772B32   JESSICA      TREVIZO                      CO     90006555637
773314A417B47B   REINA        LAUREANO LARA                NC     90012454041
7733227878B168   ZACHARY      CHATWIN                      UT     90000332787
7733282395B59B   GERMAIN      THORNTON                     NM     35079728239
77332A16781633   TOMMIE       STEVENS                      MO     90012390167
7733399AA72B37   ROSA MARIA   PEREZ                        CO     90012479900
77334138472B32   GERALD       HOSIER                       CO     90012881384
77334A1933168B   CONNIE       BROOKS                       KS     22050820193
77334A24241227   DANIEL       SCHWARTZ                     PA     90013830242
7733515662B994   DEBBIE       GIVENS                       CA     90014141566
7733545A831439   KIARA        TIMES                        MO     90007724508
7733546768B134   NICOLE       CRESPIN                      UT     90004364676
773359A3A97126   SANTOS       ORTEGA                       OR     90007329030
77335A83A8B134   NICOLE       RIDLEY                       UT     90013110830
773361A833168B   ROSE         MOORE                        KS     90006081083
77336A26391548   EDITH        URENO                        NM     90013070263
7733778675B921   LINDA        KING                         ID     41048547867
7733823A797B45   DORA         ROBERTS                      CO     33079512307
7733853A47B398   ERIKA        VARGAS                       VA     90012605304
77338A9968B134   DANIEL       SCHLYTER                     UT     90013860996
7733954668B168   CHRISTINA    GIBSON                       UT     90009765466
773395A9531443   JEREMY       DENSON                       MO     90011255095
7733B425672B32   RONALD       SMITH                        CO     90015154256
7733B68275B59B   CHANTEL      SERNA                        NM     35087396827
7733B82A393739   JOSHUA       FROWEIN                      OH     64532338203
7733B997371921   LOURDES      HERRERA                      CO     90012089973
7733BA73471921   MARISELA     ESCARSEGA                    CO     90014060734
7734111A172479   NICOLE       DIXON                        PA     51017511101
77341318572B37   MATT         LAURITSEN                    CO     90011243185
7734132897B477   FERNANDO     RUIZ                         NC     90012883289
77341819372B22   JUAN         PEREZ                        CO     90014918193
7734284195B59B   KAYLA        GRUBB                        NM     90014338419
7734287355B59B   KATE         ARNOLD                       NM     35070458735
7734287828B134   DAVE         RAMBO                        UT     31069128782
77342A23872B29   CESAR        ACOSTA                       CO     90012110238
773432A248B163   SILAO        MALAGA                       UT     90014722024
77343425172B32   MICHAEL      JONES                        CO     90004804251
7734355438B157   CHELSIE      BOLDING                      UT     31048485543
77343929A72B22   KEVIN        FOREST                       CO     33090499290
7734428115B59B   STEVEN       VELASQUEZ                    NM     90014712811
77344A1268B168   GAYLE        WAYCASY                      UT     90010300126
773452A248B163   SILAO        MALAGA                       UT     90014722024
773452A3241237   SHAYRONN     MOORE                        PA     90014852032
77345813772B44   VINCENT      MUNDY                        CO     33089168137
773461A6172B32   KIM          VO                           CO     90009981061
7734629A491588   JOSEFINA     GUTIERREZ                    TX     75041492904
7734644358B142   SHELLY       CAMARA                       UT     90005994435
7734661898B142   TIERNEY      RUIZ                         UT     90014916189
773466AA697B45   JESUS        REYES                        CO     33067636006
7734738252B994   KATHY        LIGHTFOOT                    CA     45054863825
77347811372B87   RUBY         COTA                         CO     90001858113
7734781A255969   JONATHON     PORCHIA                      CA     90012458102
77348482572B29   CLAYTON      TAYLOR                       CO     33035804825
77349792997B45   MOCERRAT     SOSA                         CO     90010507929
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 926 of 2350


7734B215172B22   SONIA        ROQUE                        CO     90014532151
7734B4A758593B   STEPHANIE    CRAIL                        KY     90013824075
7734B533881633   JESSE        LEE                          MO     29060015338
7734B5A7572B32   CANDY        MANNING                      CO     33088395075
7734B829A72B37   ROBERTO      BELMONTES                    CO     90002898290
7735169942B271   JAMIE        OBRIEN                       DC     90009496994
7735184778B157   VERON        DEAN                         UT     90012498477
7735269148B168   JACKIE       PROWS                        UT     90005026914
77352A6122B271   ALBA         FLORES                       DC     90012700612
7735329A18B163   GAYLE        STEEG                        UT     90014732901
77353565372B44   LUCERO       DAWN                         CO     33089445653
77354216272B22   NICHOLAS     CUNNINGHAM-CHARON            CO     90011882162
7735473A472B32   CYNTHIA      DORAME                       CO     33051517304
7735547888B142   GERARDO      CASTRO                       UT     90011604788
7735632A95B37B   SAMUEL       OLSON                        OR     90010833209
773563A9177552   MARIANNE     DAVIS                        NV     90004093091
7735796825B281   PATRICIA     SAUNDERS                     KY     90001419682
7735832128593B   GINA         KENNEDY                      KY     66050813212
77358A15172B44   JOEL         VILLA                        CO     33052990151
77358A8A58B163   TATYANA      GOMEZ                        UT     90014400805
7735913A797B45   JESSICA      PACHECO                      CO     90010811307
7735928268B163   TYANNA       MIXON                        UT     90014742826
7735934883B351   STEPHEN      SAVICZ                       CO     33035453488
773598A3231433   ASHLEY       HOGAN                        MO     90011098032
7735B821472B29   ARMANDO      GONZALEZ                     CO     33008648214
7735B951393739   AMANDA       REEDY                        OH     90014739513
7736118458B163   TIRSO        OSORIO                       UT     90013321845
77361256A72B37   JOSE URIEL   LOZANO                       CO     90010602560
7736153A941237   PAUL         PAULIK                       PA     51023295309
773626A3955969   EDUARDO      ESPARZA                      CA     90013636039
7736274AA55947   FRANCISCA    VALDEZ                       CA     49087577400
77362879A8B134   KRISTY       MILLER                       UT     90014158790
7736343A331443   ZACHARY      HEDGES                       MO     90014184303
773636A9572B29   GREGORY      JENNINGS                     CO     90010186095
77363A86A9372B   VERNON       WHITT                        OH     90014780860
77363A9968593B   DAIA         BAKER                        KY     90013670996
773651A4855947   AIMEE        FEDERICO                     CA     49010401048
77365437972B22   REFUGIO      GUEVARA                      CO     90014624379
773657A748B142   ADRIANA      DEGONZALEZ                   UT     90012477074
7736622148B163   CHAUNCEY     KYLE                         UT     90008722214
7736629A272B32   MARISA       FOLEY                        CO     90008732902
77366598A93739   MICHAEL      BRANDDABUR                   OH     90015205980
7736796382B242   ESAU         BANGURA                      DC     81085379638
77368257672B32   LAWRENCE     OLDHAM                       CO     90011922576
7736944A941233   JOSEPH       PUCCIO                       PA     90007114409
7736B19112B994   NELSON       BETTENCOURT                  CA     90014261911
7736B36118B168   LARRY        COOK                         UT     31087393611
7736B3A7772B29   ALONSO       LOYA                         CO     90010583077
7736B435472B22   ISSAC        MARTINEZ                     CO     90006814354
7736B56312B994   NELSON       BETTENCOURT                  CA     90013375631
7736B56313168B   DARLENE      NEAL                         KS     90012835631
7736B5A3131433   IVAN         MARSHALL                     MO     90012665031
7736B746172479   LOLA         DUNCAN                       PA     51098637461
7736B797281633   LUIS         RIVERA                       MO     90004237972
7736B83698B134   NATASCHA     BARR                         UT     90015108369
7736BA8A77B393   BLAS         MOLINA                       VA     90002850807
77371A9177B477   SHARIKA      ROBINSON                     SC     90013370917
773725A975B37B   WILLIAM      REED                         OR     90003205097
77372774272B32   ALYSSA       HUTCHINGS                    CO     90006987742
7737285218593B   BRIAN        WILLIAMS                     KY     90010998521
7737362AA55947   BOGAR        GUERRERO                     CA     49050126200
773742A995B59B   CATHERINE    BRANNAN                      NM     35032612099
7737464A672479   MELONY       COOK                         PA     51042446406
7737532678B168   DAISY        PALOMAR                      UT     90009093267
7737648A73168B   TIFFANY      LAWRENCE                     KS     90007414807
7737654555B59B   MIKE         LOVATO                       NM     90013405455
77376732772B44   CHAD         VIGRASS                      CO     90002707327
77378126772B44   ZENAIDA      ROBLES ROMERO                CO     33082781267
77379A7477B35B   ALICIA       FUENZALIDA                   VA     81028840747
7737B192557124   CARMENZA     ALVAREZ                      VA     90000141925
7737B411472479   DEBRA        BATTLE                       PA     51088814114
7737B43A431433   KRISTINA     MOON                         MO     27558754304
7737B544491588   HUGO         JARAMILLO                    TX     90001615444
7737BA4947B477   DAVON        BARNES                       NC     11060870494
7738126344B588   SHAWN        MCALISTER                    OK     21589092634
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 927 of 2350


7738143A331443   ZACHARY       HEDGES                      MO     90014184303
7738146A32B229   ATISHA        SAMPSON                     DC     90000664603
77381544397B45   MAVIS         ARMIJO                      CO     33081375443
7738169595B59B   ABIEL         VAZQUES                     NM     35074806959
77381753872B32   PORTER        DIANA ESHAY                 CO     33057357538
77381A7342B271   MARTIN        ROSENSWIPE                  DC     90012480734
7738353448B157   MONICA        TARR                        UT     90000935344
77383544397B45   MAVIS         ARMIJO                      CO     33081375443
77383878A31443   LINDA         OAKLEY                      KS     27546658780
7738395398562B   MANOLO        RAMIREZ                     NJ     90011289539
773844A7972B22   RAYMON        MAAS                        CO     90013604079
7738487A78B134   SHERICE       PARCELL                     UT     90009818707
7738498985B59B   ANTHONY       ZAMORA                      NM     35081649898
77385A71872B87   ISAAC         LOERA                       CO     90014180718
773864AA95B37B   KENNETH       COLLINGSWORTH               OR     90000454009
7738698333168B   ARENA         RAYMUNDO                    KS     90007959833
77386A83771921   SARAH         SPERBER                     CO     90013070837
77387444197B45   NIANE         REAVIS                      CO     33022844441
7738775413B325   LEONARD       RUCKER                      CO     90000347541
77387A7832B994   SAMUEL        CAHOW                       CA     90014150783
77388146297B45   ANOTHONY      BENSON                      CO     90012851462
7738888A272B29   MISTY         ONE                         CO     90014898802
773888A417622B   S             MURPHY                      GA     90001668041
773888A7A8B163   JACK          FONCANNON                   UT     31080868070
7738911198593B   TANIKA        ELKINS                      KY     90014901119
7738911518B134   BELLOSO       SANTOS                      UT     90013781151
7738939618B168   MADISON       WHITE                       UT     31014093961
7738B373231432   GINA          VOGEL                       MO     27525533732
7738B397531432   CASEY         CRUMP                       IL     90015393975
7738B477A31661   GRACIELA      DIAZ-MARTINEZ               KS     90010644770
7738B54A831443   JADA          MOORE                       MO     27534865408
7738B81248B163   JONATHAN      GARCIA                      UT     90012588124
7738B83395B37B   JOSHUA        BROTEN                      OR     90010138339
7738B971631433   CHARLEY       DARRAGH                     MO     90015489716
77392A92A8593B   AMANDA        PERKINS                     KY     90009340920
77393165272B22   DAVID         CHRISTOPHERS                CO     90013861652
77393214A91588   DIEGO         LECHUGA                     TX     90003812140
7739334168B855   JUBILEE       ALCONCEL-TOBOSA             HI     90014773416
77393A23755969   VIVIAN        DOMINGUEZ                   CA     90011370237
773941A9931432   MONEEKA       JOHNSON                     MO     90011131099
7739489518593B   ANTHONY       PENLEY                      KY     90013848951
77394A49A72B32   CHARLOTTE     REYNOLDS                    CO     90010870490
773951A5171921   QERINA        QUINTANA                    CO     32005211051
7739567438B163   ROBERTO       GOMEZ                       UT     90013336743
77395737A93739   RYAN          STEINWEY                    OH     90008407370
773965A4931443   LAKISA        WILLIAMS                    MO     90009245049
7739673828B168   SPENCER       CHRISTENSEN                 UT     90006847382
773967A5133698   DAVID         SMITH                       NC     90015017051
7739694528436B   MAURICE       ALSTON                      SC     90013959452
7739719537B477   KRYSTIENA     GALASHAW                    NC     90013551953
773973AA872B22   MAN           CING                        CO     90010133008
7739765618B142   KEVIN         CARTER                      UT     90007486561
7739766385593B   AIDE          PINEDA                      CA     90014616638
77398299372B87   DORENA        DAVIS                       CO     90010392993
7739889988B134   JOSHUA        COCHRAN                     UT     31032598998
77399117497B45   CHELLEY       AKINS                       CO     33083731174
7739925475B276   STEVEN        RITTER                      KY     90007312547
77399373972B32   DARLA         WALLS                       CO     90014103739
7739957465B384   JOSE          BARAHONA                    OR     44509235746
7739998358B168   ELAINE        JIMENEZ                     UT     31036219835
77399A11281633   ARCHAEL       BODEN                       MO     90013370112
77399A84772B87   CHRISTOPHER   SCURLOCK                    CO     90014180847
7739B245497B45   ADRIAN        TORRES                      CO     90012442454
7739B448171921   FELISIA       BROWN                       CO     32026834481
7739B992991566   RACHEL        GONZALEZ                    TX     90005029929
7739BA98291588   LOURDES       VILLA                       TX     90002270982
773B1438341253   CHRISTA       VON HOFEN                   PA     51094024383
773B145A571921   THERESA       AGUILAR                     CO     90010004505
773B155938B142   EDUARDO       GARCIA                      UT     90013245593
773B1677555947   LINNET        BENITEZ                     CA     49036246775
773B2565731433   TINA          GREY                        MO     90015515657
773B26A628B163   JENNY         MONTOYA                     UT     90013356062
773B2866871921   SUZANNA       PHILLIPS                    CO     90002098668
773B294A933698   LORE          HUDSON                      NC     12040339409
773B357958593B   CARMEN        STROUDE                     KY     90002495795
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 928 of 2350


773B373295B59B   HERNANDEZ     JOSHUA                      NM     90012977329
773B4174431432   TERINE        LAMB                        MO     90014831744
773B42A1831443   BRIAN         WASHINGTON                  MO     90015302018
773B4675397B45   SITLALI       DE ANDA                     CO     33095956753
773B488A68B142   HOPE          MCCUMBER                    UT     31000808806
773B4A93572B22   JEANNE        MONDRUS                     CO     90013450935
773B5113655947   JUAN ANGEL    ZAMORANO NAVARRO            CA     90012981136
773B5869781633   VERONICA      SULLIVAN                    MO     29081788697
773B5AA4231443   HAROLD        DYSON                       MO     90012930042
773B6329341227   ROSEANN       LUBAWSKI                    PA     51084643293
773B6392155947   TIA           YANG                        CA     49090823921
773B6739972B29   FARTUUN       ELMI                        CO     90012847399
773B7659755969   JOSEFINA      GARCIA                      CA     90012416597
773B8131557132   ELMER         ROSALES                     VA     90008131315
773B8148571921   ZACHARY       WILLIAMS                    CO     90013961485
773B82A818B163   CHAD          MILES                       UT     31099342081
773B837355B37B   LESLIE        MORSE                       OR     90003403735
773B849367B359   MARIA         REYES                       VA     90011664936
773B934A291588   JOSHUA        ANDRADE                     TX     90001723402
773B9418171921   CORY          HARVISON                    CO     90015174181
773B9429297B45   MARICELLA     CASTILLO                    CO     90014054292
773B9722255947   ASHLEY        ZACHEARY                    CA     49080167222
773BB293555969   JOSE          VALENCIA                    CA     90002192935
773BB458972B22   MIRIAM        LOPEZ                       CO     90013234589
773BB629431432   MARIA         JONES                       MO     27543466294
773BB797A72B87   LAKITA        WILLIAMS                    CO     90014857970
77411552A5B37B   ANDRES        RODAS                       OR     90014385520
7741161355B59B   FRANCINE      PUENTES                     NM     35043976135
7741172A75183B   COURTNEY      MASTRODOMENICO              NY     90009387207
7741184515B37B   LEMUS         DE RODAS                    OR     90013218451
77411A84731443   COMPLICATED   WILLIAMS                    MO     90012250847
774125A275B384   ALEXANDER     PEREZ                       OR     44595855027
77412757A2B229   MSS VALERIE   TOLER                       DC     90008887570
7741285188B142   PAHL          BENCH                       UT     31000928518
7741388AA31432   LISA          WARREN                      MO     90015408800
774138A1872B32   TAHIRAH       FOSTER                      CO     33098618018
77413969A93739   DEWANNA       KELLY                       OH     90010209690
77413A18631433   FAYE          JOYNER                      MO     90003300186
77413A55597B45   ANTHONY       PUERINI                     CO     90012040555
77414745272B87   JOSE          ESPARZA                     CO     90014527452
7741489A381633   ROLANDO       MIVAMONTES                  KS     90010858903
77415674A5B37B   JENNIFER      CURRY                       OR     90012296740
77415732372B44   MANUEL        GONZALES                    CO     33017557323
7741593675B37B   KAREN         STARRY                      OR     44562179367
7741616622B271   DANIEL        MCGLINCHEY                  DC     90013891662
774168A7441253   RAYME         WALTHOUR                    PA     90003588074
7741746113168B   HAZEL         YAHYA                       KS     22067224611
7741751195B557   LUIS          ANGUIANO                    NM     90005655119
77417684A91588   JACQUELINE    VALDEZ                      TX     90013436840
77417811897B45   CHARLES       COOPER                      CO     33094118118
7741812985B384   ROGER         GIGGEY                      OR     44516691298
77418896897B45   KELSEY        DEMARCO                     CO     90005018968
7741971425B37B   MELISSA       SHUTER                      OR     90005227142
77419743772B37   ALEX          GALLEGOS                    CO     33009637437
7741B83278B157   MATEO         ZUNIGA                      UT     90012268327
7742144678B168   FELIP         GABRIEL                     UT     90008474467
7742147375B384   MARIA         HERNANDEZ                   OR     90010754737
7742244678B168   FELIP         GABRIEL                     UT     90008474467
7742264375B37B   LYNN          CHOLAK                      OR     90000776437
774231A975B24B   KRISHTEN      KAISER                      KY     90007161097
7742395455B37B   HEATHER       ROUNDS                      OR     90011469545
7742446A681633   ELIZA         BARR                        MO     29067714606
774244A285B59B   SEAN          WALDRON                     NM     90015194028
7742452785B325   RACHELE       RICE                        OR     44543775278
7742464183168B   AARON         BURGESS                     KS     90002426418
7742482A631433   JANESSA       CORPUZ                      MO     90002698206
7742512578B163   VICENTE       LORENZO                     UT     90003171257
7742544678B168   FELIP         GABRIEL                     UT     90008474467
77425568248B3B   JERMAINE      MCCARTY                     CA     90001825682
77425A5AA93739   ANGELA        PETERSEN                    OH     64596100500
77426194A9376B   GLORIA        NICHOLS                     OH     90013681940
7742653792B583   LATONYA       SPARKS                      AL     90014895379
7742678228B163   GWYNETH       WARREN                      UT     90005207822
77427353472B22   JORDAN        BRACIL                      CO     90011553534
7742756A472B37   DAVID         CAMENETTI                   CO     33053925604
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 929 of 2350


77427747A93739   MELVA                 HART                OH     64554077470
7742798A155957   ANGELA                FLORES              CA     48090549801
77427A7A484346   GARACIELA             GALLEGOS            SC     90015470704
77428156772B87   TIARA                 APATE               CO     90008031567
774284A922B271   KIRK                  JOHNSON             VA     90014174092
7742912798B134   CIARA                 ADAMS               UT     90013781279
7742924A472B37   LYDIA                 RUIZ                CO     33015312404
77429312372B32   JUAN                  MARQUEZ             CO     90013963123
7742947297B477   NADINE                CARTER              NC     11062924729
7742B272772B22   LORETTA               CORDOVA             CO     33012542727
7742B426331433   SHANNA                STEVENSON           MO     90015324263
7742B58535B59B   CARLA                 TENA                NM     35049435853
7742B71317B477   LURELLA               HARVELL             NC     11045237131
7742BA61297B45   IVAN                  ESTEVEZ             CO     90010900612
77431492272B44   CARMEN                GONZALEZ            CO     90010214922
7743255558B157   TERESA                JOHNSON             UT     90013495555
7743272555B59B   MANUEL                BELTRAN             NM     90006077255
7743343622B271   NEON                  JONES               DC     90015304362
7743381558B168   KYLE                  APENCER             UT     31062158155
77433A5715B334   RANDY                 SMITH               OR     90010440571
7743435A98B142   PINO                  LEON                UT     31004623509
77434655A8B134   CARLOTTA              ZUNHEA              UT     90012626550
7743467762B869   ROGER                 MCGOUGH             ID     90013946776
7743525A441253   ZRON                  POWELL              PA     90014992504
774352A8455947   JENNIFER              GOOSMAN             CA     90012972084
77435323572B29   DOUG                  RAYBURN             CO     90011563235
7743566698B142   MENDOZER              JAMES               UT     90007506669
77435A5668B157   JENNIFER              OMANEBRIMPONG       UT     31018730566
7743786A93B325   CHRISTINA             TURNER              CO     90004748609
77438432872B87   MARCELO               OLVERA              CO     33080774328
7743847975B522   RHONDA                LEPISTO             NM     90002224797
774384A8872B22   FREDDYY               RUIZ                CO     90013604088
77438A1149372B   JESSI                 HOTTENSTEIN         OH     90010050114
77439454A72B22   DEBORAH               BRIONES             CO     33033964540
774398AAA2B271   MARTHA                ALVAREZ             DC     90011368000
7743B432A55969   RAMOS                 GARCIA              CA     90014904320
7743B554372B87   TINA                  PERELLO             CO     90012875543
7743B731631443   KATELYN AND CHARLES   WITT PAYNE          MO     90014187316
7744133878B163   SUNSHINE              ALDANA              UT     90014733387
7744161A741237   ASHLEE                BATEMON             PA     51015116107
77442593A2B994   LUPE                  MACIEL              CA     90013235930
774425A482B271   ROSEMARY              JONES               DC     90013345048
7744263A95B59B   VIRGINIA              QUEZADA             NM     90008806309
77443395A8B168   APRIL                 MELLOR              UT     31043153950
774435A3697B45   LAURA                 GAMERO              CO     90011375036
77443A5777B477   CINETHA               THOMAS              NC     90015170577
7744413855B37B   MICHAEL               TILLMAN             OR     90012061385
7744433878B163   SUNSHINE              ALDANA              UT     90014733387
77444547472B37   LUIS                  GALLEGOS            CO     90000915474
7744456978593B   ROBERT                REYNOLDS            KY     90013025697
7744533878B163   SUNSHINE              ALDANA              UT     90014733387
77445746772B32   STARR                 GRAHAM              CO     33057397467
7744632448B168   KATIE                 MITCHELL            UT     90001083244
7744633878B163   SUNSHINE              ALDANA              UT     90014733387
774467A2231443   DARYL                 DODD                MO     90011257022
7744742365B59B   VICTOR                ORTIZ               NM     90014294236
774474A1A2B242   TIFFANEE              HODGE               DC     90010264010
7744771335B59B   ADAM                  GURULE              NM     90012787133
77447789972B37   KIRK                  BERRY               CO     33088097899
7744796688B134   CRISTINA              ALCANTAR            UT     90015139668
774479A2872B87   JORGE                 ESCAMILLA           CO     90012439028
7744811288B157   VICTORIA              ADAMS               UT     90008931128
77448A68771921   SOCORRO               SOTO                CO     90008630687
77449673597B45   CHARLOTTE             WALTON              CO     90011326735
77449783A55941   EFRAIN                MARTINEZ            CA     49076637830
7744985438B163   LINDA                 GALLEGOS            UT     31049978543
774498A3231432   SHAMIKA               MCGEE               MO     90012928032
7744B11A133698   STEPHANIE             TUTT                NC     90013471101
7744B33878B163   SUNSHINE              ALDANA              UT     90014733387
7744B98925B37B   LIPSIA LUCERO         ORTIZ-ALBOR         OR     90014109892
7745182A831443   LUCILLE               LEWIS               MO     27569188208
77452216272B32   MARGARITA             OCHOA               CO     33069702162
77453153897B45   TY                    COX                 CO     90012751538
77453242A33698   STEPHANIE             MCDONALD-BURCH      NC     90002132420
7745351375B59B   PERCILLA              KARTY               NM     90014425137
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 930 of 2350


774536A4755969   FELIPE       CARLOS                       CA     90007756047
7745383287B477   CRISTINO     MOLAN                        NC     90010318328
77453A24655969   GENEVA       CARLOS                       CA     90007780246
7745449A691588   JESSICA      HUERTA                       GA     75087744906
7745518695B37B   VLADIMIR     BUCIO GARCIA                 OR     90014531869
774553A3872B37   CREOLA       DANIELS                      CO     90010893038
77455493197B45   ABIGAIL      RAZO                         CO     33097964931
7745555468B134   MELISSA      BRINKERHOFF                  UT     31083815546
7745613188593B   ALICIA       ALLEN                        KY     90012101318
7745617A58B163   KARLEE       LEWIS                        UT     90013121705
77456341772B29   YOLANDA      LEE                          CO     33037433417
7745675228B142   ALLY         TRIPP                        UT     90015217522
7745748768593B   MARK         BRANNAN                      KY     90014864876
77457812497B45   LAMISIA      JOHNSON                      CO     90004268124
774579A895B59B   GRACE        LUCERO                       NM     90004369089
77458A57A72B29   CARLOS       LUNA                         CO     90011110570
7745913129125B   ANGEAL       GRANT                        GA     90001411312
77459228472B32   CHALORA      BODY                         CO     33008002284
7745923228B142   CINDY        LYNN                         UT     90012862322
77459761472B32   RODOLFO      AGUILAR                      CO     90015037614
7745976A755969   RUBEN        TORRES                       CA     90011397607
7745979413168B   JENNIFER     CHEEVER                      KS     22017627941
7745985248B157   BONIFACIO    YUNUN                        UT     31094468524
77459986A91586   KELLY        DUCKETT                      TX     90008859860
7745B566372B22   MISAEL       CRUZ                         CO     90010235663
7745B752731433   DANNY        CURRY                        MO     90015337527
7745B76595B59B   MARGERET     LUGO                         NM     35069147659
7746187557B477   ANTONIA      MEDINA                       NC     90014008755
7746227284B231   BRITTANY     TRINIDAD                     NE     90000322728
77462573172B32   JORGE        BERNAL                       CO     33037625731
77462761872B87   THOMAS       TARRANT                      CO     90005397618
7746299A131443   MONICA       MCGRATH                      MO     90013059901
774637A3872B32   CHARMS       GUERRERO                     CO     90014847038
774638A7731443   NURA         HAYES                        MO     90013198077
7746397768B163   MOLIPO       UTAI                         UT     90007279776
774646AAA72B32   BILLY        HOLMES                       CO     33061536000
774648A6797B45   MIGUEL       GUTIERREZ                    CO     33087718067
77464A36951331   KATELYNN     WATSON                       OH     90012900369
7746534A12B994   FRANCISCO    CRUZ                         CA     90002813401
77466316797B66   JIM          TUNNICLIFF                   CO     90000583167
7746662485B384   VICENTE      ALVAREZ                      OR     90003256248
77466A85A55947   LUNA         LETICIA                      CA     90009800850
77466AA148B168   RUBEN        CORONA                       UT     90015220014
774683AA181633   CEASER       ACOSTA                       MO     90012663001
77468546A2B994   MARISSA      BRAZIL                       CA     90014925460
7746863A272B29   PHILLIP      SELKINN                      CO     90010176302
7746931618B157   PATRICIA     SALCEDA                      UT     90007843161
77469425572B22   FELINA       MONTEZ                       CO     33047124255
7746944168B163   RINA         MARTINEZ                     UT     90008564416
77469513A8B142   AIMEE        ASHTON                       UT     90008255130
7746987982B271   ALEX         MARSH                        DC     90009768798
7746B316A41237   CHRISTINA    JACKSON                      PA     51046023160
7747179698B168   KIMBERLY     VERA                         UT     90011837969
77472962297B45   OSCAR        GRIJALVA                     CO     90011589622
774731A4355969   CHRISTINE    ARIAS                        CA     90012801043
77473584A8B134   POUONO       LOMIGO                       UT     90015015840
77473754772B37   MIGUEL       ESPINOZA                     CO     90010547547
7747388378B157   BRANDON      KENWORTHY                    UT     90015138837
774738A1493739   TERRANCE     HUGHLEY                      OH     90008108014
774743A6172B37   LUIS         MARTINEZ                     CO     90010603061
7747457148B168   AMY          HEAP                         UT     31010335714
77474742797B45   SUSAN        CROOKS                       CO     90014997427
77474AA615B59B   DAWN         LUCERO                       NM     90013130061
77475258472B22   ANA          ONTIVEROS                    CO     90012402584
77475297972B2B   CRYSTALLE    OVERSTREET                   CO     90011552979
774758A618B168   VICTOR       GUZMAN                       UT     90009448061
774759AA255969   AMANDA       PALMER                       CA     48065859002
77475A85941253   TOM          MOORE                        PA     90014350859
7747614A58B142   JARVIS       DANNY                        UT     90012021405
77477298572B32   JOSE         MONCADA                      CO     90014012985
77477AA3151322   JOELLE       ARMSTEAD                     OH     90013550031
77478658272B22   MARIA        BERCERRA                     CO     90010346582
7747922A355969   SHANICE      WILLIAMS                     CA     90014522203
7747938757B477   MAYBELLINE   RAMOS                        NC     90009033875
77479945A72B29   J CRUZ       DIAZ VAZQUEZ                 CO     33090019450
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 931 of 2350


77479AA763B387   NOLAN          WELLS                      CO     90012580076
7747B186755947   NORMA          CORTEZ                     CA     90002161867
7747B3A238B134   KRISCINDA      MACKINNCY                  UT     90009633023
7747B76678593B   CHRISTINA      SCHERDER                   KY     90007767667
7747B829672B37   JULIE          DRURY                      CO     90004248296
7747B988171921   JULIE          SINGER                     CO     90013189881
7747B99585B384   JULIE          HANSON                     OR     90003259958
77481A7535B384   LIDIA          GAYTAN-WITRON              OR     90003260753
77482231872B44   LETICIA        VARGAS                     CO     33092022318
7748281528B163   KERRI          MEINBURG                   UT     90014768152
7748289645B59B   ROGER          LORD                       NM     90012828964
774831A1193739   DELORES        DUNSON                     OH     90011181011
7748357918B134   EMILY          GALLEGOS                   UT     90007505791
7748358A48B168   CHRISTIE       MORGAN                     UT     90006385804
77483611672B44   JOSE           ROSARIO-GAMBOA             CO     33090566116
7748378115B37B   MICHAEL        WENLUND                    OR     90008797811
77483A3968B142   EDDIE          ERCANBRACK                 UT     31034490396
77484161772B87   SABRINA        FERNANDEZ                  CO     90014181617
77484697472B22   ANTHONY        WOOD                       CO     90006266974
77484A68571921   GONZALO        BRITO-FLORES               CO     90007480685
7748562865B59B   MANUEL         CASTILLO                   NM     90014866286
7748596898B168   FEDERICO       ESPINOZA                   UT     31077279689
77486163A72B87   JACOB          SCHROEDER                  CO     90014181630
7748629A141227   DONNIE         HOPCHAK                    PA     51044802901
77486552A7B351   JOSE           CHAVEZ                     VA     90002555520
774867A9431432   TRENITA        CROSS                      MO     90001107094
77486A72272B44   CHRISTIAN      GAMEZ                      CO     90011530722
77486A86481633   THELMA         CLARDY                     MO     90013050864
77487A38561941   RICHARD        DAVIS                      CA     46072360385
7748818712B994   JUANA          ONTIVEROS                  CA     90014061871
77488468A72B87   SERGIO         MERAZ                      CO     33012394680
7748883777B359   KIM            MOORE                      VA     90011668377
7748977712B994   ROSIE          MILLER                     CA     90015167771
7748B15878B157   RAUL ALFERDO   RAMOS CHAVEZ               UT     90012781587
7748B172A91588   ROSIE          ROCHEL                     TX     90009771720
7748B57365B59B   CHASTITY       NUTTALL                    NM     90002095736
7748B75A43168B   JOSE           GARCIA                     KS     90008017504
77491711172B32   ROBERT         THOMPSON                   CO     33064937111
7749192385B59B   ASHELEY        DUNBAR                     NM     90014649238
7749211952B271   JUANITA        BROWN                      DC     90013151195
77492212A72B87   ARTURO         VASQUEZ                    CO     90013822120
77492348972B32   FRANCISCO      ESPINOZA                   CO     90012683489
7749274748B168   HERRERA        ANTHONY                    UT     90010647474
77493392772B87   ALMA           CORRAL                     CO     33044843927
77494126472B87   TOBY           RODRIGUEZ                  CO     33046091264
7749479788B134   ALISSIA        NEADERHISER                UT     90007507978
7749494A75B37B   TJHOET         LIM                        OR     90013969407
77494978972B29   RICHARD        CHOVAN                     CO     90012329789
77494A46191588   ALEJANDRA      OLADE                      TX     90008870461
7749522A28B157   KALISA         REBECCA                    UT     31089992202
7749525268B163   BOVHEN         BOVANGA                    UT     90012272526
77495414297B45   MONIQUE        EVANS                      CO     90013574142
7749563978B142   ADALI          GUIOTIERRES                UT     90013906397
7749566A531433   ANDREA         PASHOS                     MO     90012586605
774958A7572B22   BOBBY LYNN     SANDOVAL                   CO     90012058075
77496524672B32   ALEJANDRO      FERNANDEZ                  CO     90003715246
774969AA631433   CHANELL        MASON                      MO     90007749006
77496AA1241237   CORA           BRANDON                    PA     90014740012
77497195372B87   LAURA          DAMIANO                    CO     33001541953
7749722A87B477   KEVIN          LOVELACE                   NC     11040862208
7749741918B142   KAREN          ORIZAGA                    UT     90014414191
7749774828B168   FERNANDO       DELGADO                    UT     90008727482
77497A62331432   JOI-ZHANE      GRUHUM                     MO     90013890623
77498458172B32   CHIQUITA       DRAKE                      CO     90014154581
774984A8655947   JERRY          SCHREINER                  CA     90009364086
7749865513168B   WILLIAM        JERNIGAN                   KS     22012856551
7749884A572B29   MICHAEL        JARAMILLO                  CO     90013598405
7749951698B163   SCOTT          MERRIAM                    UT     90014735169
7749991948B157   DAVID          CHRISTENSEN                UT     90013169194
7749B166172B87   PRUDENCIO      SARAVIA                    CO     90014181661
7749B849831432   DARRYN         BROWN                      MO     90014908498
774B1516541237   MADHAV         KOIRALA                    PA     90008285165
774B1672791993   CATALINA       VARGAS                     NC     90013586727
774B1752531432   DAVID          TOMPSETT                   MO     90013817525
774B244738B163   NEAL           CARROL                     UT     90013414473
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 932 of 2350


774B2531A2B271   DONOVAN           REDDICK                 DC     90010325310
774B284497B461   REBECCA           ADAIR                   NC     90014148449
774B2A59972B44   CYNTHIA           ESPARZA                 CO     90010850599
774B343698B163   JARROD            JOHNSON                 UT     90011624369
774B3742272B87   ELIJAS            SALAS                   CO     90011237422
774B3A2385B59B   MICHELLE          GUTIERREZ               NM     35006610238
774B3A86572B22   ANNA              SERRANO                 CO     90003360865
774B4612771921   KAYLA             INNESS                  CO     90014176127
774B471288593B   LISA              ELY                     KY     90009057128
774B4716272B87   TIKA              NEPAL                   CO     90014247162
774B4969731433   SHERMIKA          WARD                    MO     90013879697
774B5115433698   TERRENCE          STEVENS                 NC     90011191154
774B512685B37B   PEDRO             ESCALANTE FRANCO        OR     90011931268
774B553172B994   CARLOTA           FUENTES SOLORIO         CA     45019895317
774B592A22B271   TYREKE            FARMER                  DC     90009029202
774B621625139B   CHERYL            RILEY                   OH     90008472162
774B6436291588   ERICKA            ORTEGA                  TX     90014814362
774B6A54971921   FALON             HUTCHINSON              CO     90010420549
774B7A2995B37B   KELLY             RAWLINGS                OR     44569530299
774B7A54A41227   CHERYLL           KELLY                   PA     51085440540
774B8497A7B477   REGINALD          FITCH                   NC     90007814970
774B8871641253   PAULA             KALB                    PA     90012618716
774B8951991932   PETRA             HERNANDEZ AGUILAR       NC     90006799519
774B895A372B32   ALEJANDRO         MARTINEZ                CO     90008429503
774B9227531433   KAVEN             DAVIS                   MO     90012852275
774B944238B134   AUDREY            MAJORS                  UT     90011834423
774B947625B37B   WILLIAM           WEATHERLY               OR     90003804762
774B9997697B45   OMAR              PARCHAGA                CO     90012489976
774BB22388593B   CLIFFORD          KINNETT                 KY     66024022238
774BB632772B87   CONCEPCION        NIXON                   CO     90012336327
7751227A372B29   OLIVIA ALFANANA   MAXWELL                 CO     90013062703
77513147372B29   SEAN              ROSS                    CO     90012651473
7751321458B163   ROBERT            GATES                   UT     90008962145
77513AAA586433   TRAVIS            HILLEY                  SC     90015120005
7751432635B59B   ANGELA            ORTIZ                   NM     90012643263
775146A122B271   VASHAWN           MCILWAIN                DC     90001916012
775146A4A41237   BRITTANY          FARRO                   PA     90011596040
775151AA72B271   JOSSELINE         TORRES                  DC     90009811007
7751535568B134   SHANNON           EGAN                    UT     31093413556
77515875172B22   SERENITY          VALDEZ                  CO     33064898751
77515A16172B22   SERGIO            MUNOZ                   CO     90013260161
7751641695B37B   CARLOS            DIAZ                    OR     44549464169
77516548A72B87   DON               KU                      CO     90006825480
77516592A5B59B   MARY              STOREY                  NM     90007415920
77517898772B32   CLIFFORD          LOTT                    CO     90012038987
775179A3991395   MIKE              AUTEN                   KS     90011029039
77518186472B87   PATRICIA          GONZALEZ                CO     90011601864
775187A4593739   KAYLA             SWANEY                  OH     90005897045
77519344697B45   CONNIE            BASDEN                  CO     90012573446
775194A6872B44   SAMMIE            FALLON                  CO     90004574068
7751959148B142   CHRISTIAN         BJORN                   UT     90007055914
7751B56885B59B   FERMIN            MORAN                   NM     90002665688
7751B5A345138B   STEVEN F          STUHLBARG               OH     90008775034
77521451872B22   MICHELLE          AMENKU                  CO     33074264518
77521998272B29   JOSE              SEGOVIA                 CO     33055669982
7752211427B477   JOSE              REYES                   NC     90014911142
7752271314B588   NEYRA             ALVARADO                OK     90011017131
77522888472B87   JESUS             TRUJILLO                CO     33095988884
7752293353B395   KELLY             OCONNOR                 CO     90004049335
77522A95691588   LETICIA           SALGADO                 NM     75004460956
77523166972B32   TORI              PINKNEY                 CO     90013331669
77523888272B22   AMANDA            MAESTAS                 CO     33053248882
77524343A51341   JACOB             SUST                    OH     90011143430
77524929A91588   JOE               SOTO                    TX     75054599290
77524AA968593B   BETH              SANKER                  KY     90000710096
7752534A55B37B   NATACHA           BUSHUK LARA             OR     90014393405
7752562A691588   ALEJANDRA         SOTO                    TX     90009056206
7752624A172B44   TAMMY             WILSON                  CO     90007442401
77526A44131453   LAWRENCE          LONG                    MO     90006770441
77527396A5B59B   LETICIA           GALLEGOS                NM     90013323960
77528149A91823   DAVID             CAUTHRON                OK     90008851490
775285A355B59B   PAMELA            GOLOB                   NM     35006835035
77528A44241253   SABRINA           FRISON                  PA     90004880442
7752917622B236   DWAUN             PAYNE                   DC     90008831762
7752944948593B   EDNA              GAMBREL                 KY     90015374494
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 933 of 2350


7752964915B37B   JASON        WILLIAMS                     OR     44562656491
77529985A5B384   MIGUEL       CARRERA SALAMAN              OR     44595959850
7752B67458593B   TABITHA      WOOLDRIDGE                   KY     90003786745
7752B866872B32   SEVARA       RAKHIMOVA                    CO     90006638668
77531514872B87   SCOTT        WELK                         CO     33045765148
775325A8651325   CATRINA      MILLS                        OH     90008105086
775336A6672B44   PATRICIO     ARELLANO                     CO     33000256066
7753394878B168   JEANNIE      YEITER                       UT     31088309487
77533A1695B59B   HERK         RODRIGUEZ                    NM     35066330169
77533A9A341253   KRISTA       LIPNICKY                     PA     51075660903
7753483A257133   JOSE         SORTO                        VA     90008998302
77535252A7B477   WILLIAM      YOUNG                        NC     11081072520
775354A678B142   LAURA        VALENZUELA                   UT     31009204067
7753554672B994   JOEL         ORTEGA                       CA     90011665467
77535A48772B37   YOLANDA      ROMERO                       CO     90002840487
7753731398B142   JOSE LUIS    ORNELAS RODRIGUEZ            UT     90011903139
7753762768B168   ANDRES       HERNANDEZ                    UT     31030166276
775376A198B134   RUFINO       VEGA HERNANDEZ               UT     90013786019
775379AA991588   JUAN         GUERRERO                     TX     90013019009
77537A9777B477   CARL         BLACK                        NC     90001460977
7753839675B37B   BRIE         WELCH                        OR     90013083967
77539468A55969   DUSTIN       WHITE                        CA     48096814680
7753959268B163   AJ           STEVENS                      UT     90014735926
7753B395255969   ADAN         PIÑEDA                       CA     48004563952
7753B593272B32   ESSENCE      SWAIN                        CO     90006075932
7753B673A7B477   TONISHA      POLK                         NC     90014216730
7753B697593739   MARIA        GONZALIS                     OH     90011546975
77541183372B87   ROBERTA      VILLALOBOS                   CO     90014181833
7754182157B477   HIDEKY       SARMIENTO                    NC     90005078215
77541A3A693739   SCOTT        ELLIOTT                      OH     64595090306
77541A69872B32   BRIANNA      SILMON                       CO     33064600698
77542355897B45   ROSA         VILLA                        CO     90010153558
77542439A2B236   ALFREDA      MCCRARY                      DC     90002254390
77542461772B22   ADELA        ROMAN                        CO     90013234617
775425A6A72B32   CHRIS        SILVA                        CO     90015225060
7754263197B477   EDWIN        ELLIOTT                      NC     11053346319
7754267315B37B   LAURA        MEJIA LOPEZ                  OR     44589886731
77543281A31432   MARK         WILKINS                      MO     90013222810
7754344643168B   CHARLES      EMLER                        KS     90003314464
77543626972B32   MARIA        RIVERA                       CO     90011646269
7754368188593B   JONATHAN     RIGGS                        KY     90014506818
77543869A71921   JOANNE       LLAMAS                       CO     90006688690
7754466818B142   DANILO       MERIDA                       UT     31062206681
7754524747B477   SHONA        KING                         NC     90011622474
77545697972B44   TOMAS        MORALES                      CO     33070366979
7754632475B537   JAVIER       NAJERA                       NM     90012503247
77546531172B22   JOSE         LOZANO                       CO     33043435311
7754653268B157   ROB          LAMBORS                      UT     31002075326
77547591A72B22   NORMA        RODRUIGUEZ                   CO     90006505910
775479A662B847   PERRI        HANSON                       ID     90008309066
77548975A5B37B   ERIK         CLARK                        OR     90011469750
77549147572B87   JUAN         CARLOS                       CO     33084851475
7754935117B49B   JANCE        MOSLEY                       NC     90004793511
7754947778B163   MARTY        LEWIS                        UT     90012734777
775498A9555947   ISABEL       NUNEZ                        CA     90003628095
7754991995B37B   JOSE         PALMENO                      OR     90011869199
7754B12338B157   EVA          BAKER                        UT     90008931233
7754B1AA755969   HUMBERTO     ROMERO                       CA     90012421007
7754B336241253   SANDRA       WALKER                       PA     51007143362
7754B6A178B168   ROBERT       BURT-COSBY                   UT     90015216017
7754B825541237   MARK         MCCROMMON                    PA     90012298255
77551363272B44   GIM          BLALOCK                      CO     33098533632
77551674572B22   YOLANDA      MAGALLANES                   CO     90010626745
7755182488B142   JOSELUIS     SIDA                         UT     90015218248
7755213615B17B   SHANNON      PARKER                       AR     90012001361
7755213928B168   JOHN         HASSON                       UT     90012011392
77553593272B32   ESSENCE      SWAIN                        CO     90006075932
77553A49531432   PHIL         PORTWOOD                     MO     27512380495
77555192472B87   ARIANA       FRUTO                        CO     90014181924
7755543413168B   LONNY        SATTERFIELD                  KS     22006624341
77555911A5B59B   ALLEN        SMITH                        NM     90014509110
77556155A81633   JAMES        PERRY                        MO     90014391550
77556317172B22   JUVINNI      BU ASSAF                     CO     90008963171
7755646548593B   MARC         MCCARTY                      KY     90009864654
7755676892B994   MARIA        MORENO DE ARANDA             CA     90013297689
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 934 of 2350


7755725338B157   VERNON          WAITE                     UT     31043712533
7755777A472B87   WILLIAM         CAMPOS                    CO     33045717704
77557A58931433   CHRISTY         HALL                      MO     27544030589
7755823165B59B   LEEZUL          OGALDEZ                   NM     90013062316
7755831338B134   JULIE           ORENO                     UT     90009163133
7755875A68B168   ULISES          HERRERA                   UT     90007597506
77558912172B29   INOSENCIO       NAVA VASQUEZ              CO     33095549121
7755986575B59B   DAWN            MONTOYA                   NM     35015148657
7755B22A18B168   JOSE            FARIAS                    UT     90007792201
7755B245472B87   ANA TERESA      LOPEZ                     CO     90014002454
7755B67557B477   MARINO          CEPEDA                    NC     90014446755
7755B865131443   ASIA            KINCADE                   MO     90011258651
7755BAA5691924   KEVIN           MINTER                    NC     90012130056
77561292A97B45   JESUS           MEDINA                    CO     90014252920
7756155485B37B   BERNARDO        TRUJILLO                  OR     90002325548
7756179412B271   SHANNON         JOHNSON                   DC     90011387941
7756193653B363   MONICA          RUIZ                      CO     33084409365
7756195938B163   GERALD          ROBINSON                  UT     90014759593
7756212575139B   BRIAN           JOHNSON                   OH     90014791257
7756277885139B   BRIAN           JOHNSON                   OH     66025517788
7756343217B477   JOSUE           HERNANDEZ                 NC     11065064321
77563779A31432   JASON           BASSETT                   MO     90012047790
7756391A233698   KELLY           ALLEN                     NC     90012169102
775639A9141253   JAMES           CHRISOPHER                PA     51078819091
77563A42472B87   LYNETTE         BALDWIN                   CO     33074500424
7756464A631433   ELIZAH          DICKHERBER                MO     90015536406
77565187972B44   VALERIYA        GORBACHEVA                CO     90011111879
7756521A355969   LETICIA         REYNOSO                   CA     90002112103
7756737A381633   DEBRA A.        SANDERS                   KS     29034063703
7756767215B59B   KASSY           DEAN                      NM     35065256721
77567793972B22   EDWARD          HELTON                    CO     90015167939
7756855818B168   JACQUES         BEHRINGER                 UT     31046085581
7756879427B477   KEITH           BREWER                    NC     90014787942
7756897478B134   VERONICA        ESPINOZA                  UT     31058069747
77568A44633698   LYNNETTE        HENRY                     NC     12020050446
77568A51A91588   ALEJANDRA       FLORES                    TX     90003830510
775691A865B37B   DANIELLE        LYONS                     OR     44570281086
775692A2972B87   OLGA            CASTANEDA                 CO     90014182029
7756B1A2A72B87   PAT             BACA                      CO     33033341020
7756B732451325   JESSICA         MEYER                     OH     90000537324
7757123A65B597   RANDY           LLOYD                     NM     90013202306
7757137498B163   HEATH           CARVER                    UT     90005383749
77571439872B37   DANIEL          RHINE                     CO     33068314398
7757175932B271   KATRINA         MIDDLETON                 DC     90014077593
77572277972B29   MARCELA         CRUZ                      CO     33040102779
775725A627B423   ANGELA          COOPER                    NC     11053585062
775732A2755969   CHRISTINE       CHER                      CA     90008342027
77573487672B44   ALBERT          GALLARDO                  CO     33098534876
7757382918B142   VALDO           DAPAA                     UT     90014888291
77574414772B32   BOBBI           PAGE                      CO     90015104147
77574AA958B142   JASMYNE         JENKINS                   UT     31075410095
7757549A933698   KEYONNA         HAYWOOD                   NC     90012414909
7757599468B163   BEVERLY         DAWN                      UT     90000579946
7757653A391588   DOLORES         AGUIRRE                   TX     90003925303
7757672898593B   JANE            PLAVSIC                   KY     66084177289
7757675418B157   OSCAR           MORALES                   UT     31084557541
7757715528B168   LUZ ELENA       GARCIA                    UT     90002851552
7757761435B59B   AMBER           REEVES                    NM     90007416143
7757783472B994   ALYSSA NICOLE   GONZALES                  CA     90013298347
7757787278B134   LEIGH           LONG                      UT     31045208727
7757792A691963   MONICA          ROBINSON                  NC     90004459206
77577963272B87   CARLOS          SALAZAR                   CO     33093869632
77577A25872B22   JOHNNY          SIFUENTES JR              CO     33051280258
77578374772B32   AYESHA          SCHMITT                   CO     90005913747
7757854588593B   MARIA           RODRGUEZ                  KY     90015285458
77578A51355969   GABRIEL         VALLE                     CA     48077160513
7757B584255969   OSCAR           GONZALEZ                  CA     90012435842
7758126A572B29   DOMINIC         SOLORIO                   CO     90009532605
775828A4771921   LORIE           JOSLIN                    CO     90009658047
775828A985B37B   LAURENCE        CORRIA                    OR     90003658098
7758378633B39B   BRIAN           LEIDEL                    CO     90011557863
7758414615B37B   JASON           COTNER                    OR     44593731461
7758427568B32B   MICHAEL         AGURS                     SC     90014952756
77584A5148B142   ROSE            HUTCHINGS                 UT     90015460514
77585587972B29   FERNANDO        PONCE                     CO     33005465879
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 935 of 2350


7758571A371921   RACHEL       WHITE                        CO     32078817103
7758586935B37B   SANDRA       PASCUAL                      OR     44576268693
775858A5985B68   ALFREDO      DIAZ                         FL     90015438059
77586121A8B168   STEVE        JONES                        UT     31007871210
775864A9781633   DONAVICK     BLOUNT                       MO     90012864097
7758698A555969   EILEEN       BRIGGS                       CA     90012559805
775872A815B37B   VERONICA     RAMIREZ                      OR     90011932081
775879A9A72B87   JESUS        MASIAS                       CO     33006329090
77588388872B44   GEORGINA     LUNA                         CO     90005213888
77588451872B22   MICHELLE     AMENKU                       CO     33074264518
7758887495B384   HEATHER      BILYEU                       OR     44596018749
77588A97441253   KAREN        REAVES                       PA     51029830974
77589666672B44   SHAWNA       HERNANDEZ                    CO     33045416666
7758977813B395   CHARLEE      MICHAEL                      CO     33098877781
77589792A91588   TIANNA       HERRERA                      TX     75088517920
7758B165472B29   SANTIAGO     CABRERA                      CO     90013241654
7758B19772B271   JOYCE        THOMAS                       DC     90014821977
7758B31228B163   STEVE R      BOUGHNER                     UT     90000893122
775912A118B163   FRANCIS      FOLI                         UT     90012712011
775915A4455947   SHEILA       JONES                        CA     90012365044
775938A6A31443   ANGELA       MCMENAMY                     MO     90013128060
775942A9772B87   TRACIE       TORRES                       CO     90014182097
775943A5155947   HERLINDA     AGUILAR                      CA     49009333051
7759472462B994   ADRIAN       MARTINES                     CA     90012607246
77595159997B45   GONZALO      CARDENAS                     CO     90013051599
77595728672B44   MICHAEL      DUGGAN                       CO     90004107286
7759672318B163   RICHARD      HARRIS                       UT     31078757231
775971A7872B87   JESUS        RAZO                         CO     90014181078
7759818435B37B   JAMAR        HOLBRET                      OR     90010191843
77598256A72B87   REGINA       COLLIER                      CO     90009792560
7759871A391588   JUANITA      NARANJO                      TX     75089507103
7759876177B477   DIANE        WALKER                       NC     90013517617
7759892745B59B   STEPHANIE    CRUZ                         NM     35098829274
77599192A33698   KEOSHA       ROBINSON                     NC     90013711920
77599541172B22   JENNIFER     MCCORD                       CO     33067935411
7759955955B59B   MAXIMINO     CABRERA                      NM     35063045595
775999A7272B29   ARNOLD       MAESTINS                     CO     90008329072
7759B36238B157   JESSICA      GELINO                       UT     90014303623
7759B778372475   MEGAN        WRIGHT                       PA     90014317783
7759B88157B477   DONTE        MCCLAM                       NC     90012838815
7759B934841237   THERESA      DETHOMAS                     PA     51088659348
7759BA52897B34   JENNA        MURPHY                       CO     90008210528
775B1239591588   DIANA        JASSO                        TX     75027042395
775B12A832B271   PAYGO        IVR ACTIVATION               DC     90012182083
775B1463881633   JENNIFER     LANGNER                      MO     90008944638
775B1623971921   ANICETO      MONTOYA                      CO     32077566239
775B1743A51349   DOYLE        SMITH                        OH     66016927430
775B1788631443   BETTY        THOMPSON                     MO     90014197886
775B186128593B   RALPH        MEYER                        KY     66022708612
775B215715B37B   COURTNEY     NELSON                       OR     90014361571
775B2253871921   MATTHEW      COPELAND                     CO     32074312538
775B2285155969   ANGELICA     CORTEZ                       CA     48084012851
775B2647A8B134   JOSE         MOYA                         UT     31081206470
775B441718B157   KATHY        DEANS                        UT     31016344171
775B452558B163   CORY         BERTELSEN                    UT     90014735255
775B4762431432   ANDREA       GULLY                        MO     90013237624
775B5155771921   JODY         SARINAS                      CO     90010241557
775B537188593B   JAMES        KRIPP                        KY     90012423718
775B5795341273   MATT         SMITH                        PA     90014847953
775B5884272B32   DUSTIN       HAMILTON                     CO     33010238842
775B5964A55969   ASHLEY       KIRKLIN                      CA     90014849640
775B6547A33699   KENDRA       STANLEY                      NC     12084085470
775B713782B271   MISAEL       FRANCIA                      DC     90000881378
775B7325172B44   KELLY        NIEMEYER                     CO     33059603251
775B7351472B32   GERARDO      GAMBOA                       CO     90013383514
775B7393841253   JOSEPH       WAGNER                       PA     51012623938
775B73A1255947   NORMA        MARTINEZ                     CA     90013843012
775B7786671921   JANIE        VIGIL                        CO     90013267866
775B7AA213168B   JENNIFER     LOCKETT                      KS     90012000021
775BB454631443   LISA         THOMAS                       MO     27500254546
775BB77AA72B87   ZACARIAS     MILLAN                       CO     90005397700
775BB795372479   DIANA        EISEL                        PA     51049847953
776111A388B157   HANSEN       SHAE                         UT     90009681038
7761196698B157   SHANE        HANSEN                       UT     90014629669
776119A7891588   ANDRES       BECERRA                      TX     75040299078
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 936 of 2350


7761288558B134   LOUISA       ROBINSON                     UT     90010268855
77612A1165B59B   IRMA         LUNA                         NM     90009160116
77612A6952B227   WAYNGER      JONES                        DC     81038110695
77614281A31432   MARK         WILKINS                      MO     90013222810
77614329372B32   DANIEL       HILL                         CO     90010823293
77615395A8B142   APRIL        MELLOR                       UT     31043153950
7761577A672B29   DULCE        MATA                         CO     90013437706
7761637A17737B   GERALD       MUHAMMAD                     IL     20598073701
7761696655B384   DOROTHY      MINK                         OR     44596039665
7761736765B387   MICHAEL      STOUTENBURG                  OR     90004563676
77617461872B87   BRENDA       VERHOEFF                     CO     90001174618
77618A96131432   JARKEIS      FANTORY                      MO     27596560961
7761915585B37B   JASON        BOEHME                       OR     90003041558
776195A638B134   MONICA       GUTIERREZ                    UT     90014105063
776198A5633698   PARIS        PRATT                        NC     90015608056
77619A34372B32   DANIELLE     WILSON                       CO     90014700343
7761B145141253   CAITLIN      GILBERT                      PA     90012581451
7761B194A93739   CHYANNE      WISE                         OH     90014081940
7761B1A5491572   RUY          PIZANA                       TX     90003641054
7761B239455947   DENISE       MARIANO                      CA     49017882394
7761B564491588   DAVE         PARKS                        TX     75072235644
77622A94341253   PHILLIPE     PETITE JR                    PA     90013530943
77623A12772479   LEEANN       OLIVER                       PA     90001200127
7762428835B59B   ARACELY      ENRIQUEZ                     NM     35084032883
7762438638B142   MANUEL       MENDEZ                       UT     31083413863
77624394372B87   ELIZABETH    ALVARADO                     CO     33061633943
7762473565B37B   MARIA        AMEZQUITA                    OR     44513177356
77625393472B22   JEFFREY      BLASSINGAME                  CO     33025863934
7762545922B271   DARREN       CARR                         DC     90014734592
77626114A8B855   LATISHA      SARAGOSA                     HI     90015471140
7762666677B477   DELSA        WILLIAMS                     NC     90013206667
776271A867B477   LACHELLE     MITCHELL                     NC     11053861086
7762755A68B163   JERYY        CARTER                       UT     90013075506
7762783782B994   JANETH       CHAVEZ                       CA     90012918378
77628278A72B98   JOSE         JENNER                       CO     33042992780
7762861284B539   JENNIFER     RUTH                         OK     90011126128
77628899772B87   CATHERINE    PLATT                        CO     33053558997
77628A65791588   VICENTE      OLIVAS                       NM     90000330657
7762967118B163   JANISE       HOWARD                       UT     31068166711
7762B13978B163   SHAWN        GRIFFIN                      UT     90012051397
7762B33435B37B   SONYA        CASTELLANO                   OR     90006403343
7762B9A3191588   JOELL        ANGUIANO                     TX     90011859031
7762BA27772B22   ROCIO        ROSALES                      CO     90001380277
7763121385B37B   KRISTY       NAJDEK                       OR     44565912138
77631512272B29   ALICIA       SANCHEZ                      CO     90011085122
77631A1A491588   JESUS        HOLMES                       TX     75042320104
77631A92771921   BEN          SNEED JR                     CO     32010680927
7763243658B142   ELIJAH       OZUNA                        UT     90013934365
776329A2193739   CRYSTAL      BENNETT                      OH     90009589021
77632A33233698   TRICIA       HOLNES                       NC     90007130332
77632A4A693739   DIANNA       WILSON                       OH     64579390406
77633247A71921   SHARON       CLEMENTS                     CO     90004802470
77633433472B29   JOSE         ESPINAL                      CO     90012294334
7763382518B348   KAYLA        STARNES                      SC     90006758251
77633AA917B477   ALEX         THOMAS                       NC     11051440091
77634A38497B45   JENNY        ESTRADA                      CO     33032200384
776353A528B142   LESLIE       CASTRELLON                   UT     90013823052
7763557AA33699   FIJON        CAMBELL                      NC     90006485700
77636688A41253   NICOLE       TAYLOR                       PA     51074416880
776375A8672B87   BRANDT       REPPOND                      CO     90002835086
7763786868B157   JOHN         RICE                         UT     31087848686
776379A1A5B37B   ARTHUR       GOLDSBERRY                   OR     44576359010
7763813448593B   MICHAEL      SOARD                        KY     90005361344
7763862535B354   DEON         MATTES                       OR     90010196253
77638723472B29   JOAL         WOODCOCK                     CO     90012807234
77639691354B9B   PABLO        SOLIS                        VA     90010676913
7763974482B994   LISA         OLIVAREZ                     CA     45012057448
77639A79797B45   BERNADETTE   LUEVANO                      CO     90012710797
77639AA918593B   ADAM         GERWIN                       KY     90012750091
7763B341193767   ERIKA        WARD                         OH     64501953411
7763B9A7A2B26B   EDITH        MENJIVAR                     DC     90015309070
776413A3891588   FRANKLIN     GUZMAN                       TX     90003113038
7764268348B163   MONTY        SALCIDO                      UT     90014736834
7764389A891588   KIMBERLY     PINA                         TX     90009468908
77643A97861459   AVANTE       BROWN                        OH     90014360978
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 937 of 2350


776441A1A72B87   GRISEL        MARQUEZ                     CO     90001931010
776446A4872B87   RACHEL        VAZQUEZ                     CO     90011236048
776449A4931443   DEWANDA       HIGHTOWERS                  MO     90015329049
77645328233B95   CHRISTOPHER   BOONE                       OH     90012223282
7764533958B157   DIANA         ALVARADO                    UT     31058933395
7764566245B59B   EUSEBIA       ENRIQUEZ-AGUILAR            NM     35037956624
7764592A22B271   SHANELLE      BARNES                      DC     90009969202
7764612828B157   EUGENE        MARTINEZ                    UT     90010691282
7764655A231443   CHERYL S      WALDROP                     MO     90010105502
77646594872B44   JIMMY         MAES                        CO     33010175948
77646898372B32   SAMANTHA      MARTEL                      CO     33084618983
7764725858B142   ALBERTO       SIERRA                      UT     31002282585
776473A6657531   JUAN          OLIVARES                    NM     90009923066
7764755A872B37   KEVIN         FLOYD                       CO     90004995508
77648264372B87   LEAH          GARCIA                      CO     90014182643
7764879A171921   JAMES         MCMURTYRY                   CO     32098477901
7764882348B163   KELLY         L CLARK                     UT     90011858234
77649367172B87   CHRISTOPHE    KIMBLE                      CO     33001543671
77649817372B29   MANUEL        CONTRERAS                   CO     33054608173
77649912272B37   SALVADOR      AMEZCUA                     CO     33087929122
7764B4A9531433   CASEY         WEEKLY                      MO     90013804095
7764B57A731443   KEVIN         DEBRECHT                    MO     90015505707
7764B729197B45   JAVIER        AGUAS                       CO     33085917291
7764B81A35136B   KRYSTAL       HAUSSLER                    OH     90011278103
7765129A841253   SIMONE        JAMES                       PA     90010932908
7765255228B168   ARGRIPINA     GUERRERO                    UT     31011355522
7765273A881633   STEPHEN       WHITFIELD                   MO     29091457308
776529A174B221   SHERYL        GOEBEL                      NE     90009689017
77652A8368593B   MATTHEW       MOSES                       KY     90008580836
7765317A572B22   SCOTT         MYER                        CO     33091161705
7765362228B168   SABRINA       VANESSA                     UT     90012786222
77653A2615B59B   MAYRA         SOUCHET                     NM     90006240261
7765443A88B163   CANDELARIO    SANCHEZ                     UT     31098254308
7765452132B271   DARNITA       MATTHEWS                    DC     90013725213
77654A68A5B59B   TAMARA        JARAMILLO                   NM     35008490680
77655478A8B163   ORLANDO       PADILLA FRAGOSO             UT     90008874780
7765647488B157   PHILLIP       BARBER                      UT     90013374748
7765657482B271   SYLEISHIA     PEARSON                     DC     90014475748
7765662A572B87   ALEXA         RODRIGUEZ                   CO     33057356205
776567A1372479   DEBRA         ABBOTT                      PA     51040097013
7765767278593B   GINGER        ELLIS                       KY     90013236727
77658323372B87   ALMA          RODRIGUEZ                   CO     90014573233
7765868958B163   CARLOS        SILVA                       UT     90014736895
7765894952B994   CONNIE        GOMEZ                       CA     90014579495
77659198A91588   SERGIO        PEDROZA                     TX     90014451980
7765946458B134   TARA          ROWETON                     UT     90011464645
77659533172B29   BRIGIDA       JUAREZ                      CO     33015775331
7765954248B142   DANIEL        THOMSON                     UT     90013935424
7765971415B37B   TARALEE       KIMOKEO                     OR     44562577141
77659A79255947   LISA          LEE                         CA     90013710792
7765B395155969   JULISSA       CHAVEZ                      CA     48015953951
7765B439772B29   JULIE         PARKER                      CO     33037114397
7765B59348B157   MAYRA         PANTOJA                     UT     90010425934
7765B874672B37   DONNA         SHULMAN                     CO     33019858746
7765B99658B157   BETTY         BOUEYA                      UT     90012819965
7766128192B271   BRYAN         SAUNDIS                     DC     90014302819
77661519272B29   HUMBERTO      SERVANTES                   CO     33091865192
7766178458B142   JIMMY         AVILA                       UT     31079827845
7766233165B59B   VERONICA      SALAZAR                     NM     35093603316
7766239757B427   SUE           KORENSTEIN                  NC     11007383975
7766245658593B   STEVEN        PRESTON                     KY     90011304565
7766252488B189   MICHAEL       BRADLEY                     UT     90006175248
77662564472B22   ANGI          LYTLE                       CO     90012845644
7766265128B157   SENECA        KAY                         UT     90014856512
77662A9A461967   MARICELA      GOMEZ                       CA     90000890904
776631A258B157   JOLYN         DAY                         UT     31006771025
77663628272B29   RODNEY        REIFSCHNEIDER               CO     90001786282
7766436A331435   TERRELL       NICHOLSON                   MO     90012723603
7766471438B168   LILIA ANN     GONZALEZ                    UT     90010457143
7766511358B157   RAUL          MONTERO                     UT     31039671135
77665197972B31   MAURILIO      REYNOSO                     CO     90002281979
776652A1881633   JEFF          RIGHT                       MO     90009702018
7766593248B168   LAURA         JONES                       UT     31085299324
77666A5978B157   RACHEL        NEILL                       UT     90013540597
77667718972B22   ARTURO        CORRALEJO                   CO     90013557189
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 938 of 2350


77667943A71921   BETHANY         CORPUZ                    CO     90012309430
7766819A541253   LESLIE          MICHELS                   PA     90013501905
77668233572B37   ELLEN           FEARS                     CO     33048412335
7766835218B157   JACOB GREEN     FROST                     UT     90014163521
77668A23472B87   SONIA           CASTRO                    CO     33010770234
7766913925B59B   BRENT           CORDOVA                   NM     90004161392
77669A66191588   POLO            AVILA                     TX     90011600661
7766B238155969   MARTHA          MOTA                      CA     90013752381
7766B383355947   KEN             ROBERTS                   CA     49096933833
7766B986541237   BRANDI          GILBERT                   PA     90015289865
7766BA97A72B29   PEDRO           CUARTAS                   CO     33014820970
7767111355B37B   JENNIFER        GRAHAM                    OR     90007911135
77671169176B71   NANIE           LACA                      CA     46092021691
7767127A672B37   JACOB           JACKSON                   CO     90008602706
776717A8441237   DENNIS          PRICE                     PA     51090647084
77673246A55969   YOLANDA         MUNOZ                     CA     90012882460
7767531187B449   ERICA C         SANDERS                   NC     11009443118
7767547628B157   SHANE           HARDY                     UT     90014924762
7767616163168B   KARLEEN         JAUREGUI                  KS     22092871616
77676382172B87   NATASHA         RUGLEY                    CO     90011513821
7767767938593B   CHRISTINA       BROWN                     KY     66002736793
7767784322B994   CRYSTAL         GILLIAM                   CA     45011058432
7767821554B221   GINA            CHRISTENSEN               NE     90010982155
7767845228593B   EDNA            GAMBREL                   KY     90015374522
77678817A55969   ERNIE           GARZA                     CA     90014408170
7767884A891588   LAURA           BANDA                     TX     90013748408
7767944835B37B   DANIEL          GUIDOUX                   OR     90012094483
77679679A5B37B   ALISHA JENAIS   MUNOZ CRUZ                OR     90012176790
7767B174655947   MIGUEL          PACHECO                   CA     90013111746
7767B1A9572B44   JERRY           FOSTER                    CO     90010561095
7767B84498B157   MAYA            RUSHTON                   UT     90013298449
7767BA15A5B37B   DAVID           MELTON                    OR     44573860150
7768136155B59B   CRISTY          HUNT                      NM     90015173615
7768164452B847   JULIANNA        ARCHULETA                 ID     90013656445
77681A33572B87   RODRIGUEZ A R   ARIANEL                   CO     90011560335
7768255717B477   VOLEATA         FOXE                      NC     11006615571
7768314638B163   TAMMY           BALDWIN                   UT     31091331463
77683252A5B37B   ADRIAN          ROSE                      OR     90014842520
7768332A48B192   KIMBERLY        VONNIEDERHAUSER           UT     90012143204
776835A468593B   SHERRY A        SMITH                     KY     90006685046
7768364A68B157   JUSTIN          WEBB                      UT     31029776406
7768418745B37B   SCOTT           JOHNSTON                  OR     90012101874
7768499A497122   AMIR            SADOOLI                   OR     90000579904
7768512358B134   ZOUIA           CERRITOS                  UT     31009141235
77685943A2B229   MARIA           RODRIGUEZ                 DC     90012149430
77685A1318B168   AMANDA          PURCELL                   UT     90015250131
7768655344B583   JENNIFER        AKERS                     OK     90008065534
7768672472B994   OSHAE           CARMENEAL                 CA     90001057247
77687373872B44   LUCIO           CABRERA                   CO     90000773738
77687381272B32   SKYLER          GREEN                     CO     90011623812
77687552572B29   MARK            BRYANT                    CO     90011415525
7768759A897B45   HANNAH          TIKAL                     CO     90014945908
77687799872B87   GRISELDA        BEJARANO                  CO     90000507998
7768797413168B   JESSICA         ANDERSON                  KS     22075929741
7768811885B59B   CORINA          MARQUEZ                   NM     90002071188
7768841A972B32   QUANTE          JAMERSON                  CO     90012134109
7768961698B142   HUGO            VILLA-CORTES              UT     90013936169
776897A568B163   MARIEL          VELEZ                     UT     90014737056
7768B496181633   OLIVIA          WINGATE                   MO     29030894961
7768B548355969   ANTONIO         GOJARA                    CA     90014205483
7768B63A441237   CHARLES         BLACKSHEAR                PA     90013236304
7768B819491979   LUCERO          PONCE                     NC     90011738194
77691124772B32   SHANIECE        OWENS                     CO     33086711247
7769181628B163   MARCELINO       RUEDA                     UT     90009098162
7769237A38593B   RON             WATSON                    KY     66078553703
7769373728B163   SHELBY          COLE                      UT     90014947372
77694368772B32   JOSEPHINE       GALLEGOS                  CO     90006043687
7769552A95B37B   IBETH           MARTINEZ                  OR     90014305209
77695559A8B134   JASON           REEVE                     UT     31009655590
7769561A481633   MICHAEL         SMALL                     MO     90010686104
7769577412B994   RODRIGO         LOPEZ                     CA     90012567741
776958A7172B87   HOLLY           WALKER                    CO     90009108071
77697566972B32   GENITO          LEON GARCIA               CO     90010915669
776977A315B37B   JORGE           PEREZ                     OR     44555717031
776982A9872B32   DIANE           RAMIREZ                   CO     90003692098
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 939 of 2350


776984A7491588   JEFFREY        WEAVER                     TX     75036824074
7769864368B136   ANNA           WALKER                     UT     90003956436
77698645372B44   OLIVIA         BOZA                       CO     90009966453
7769869A78B142   RICHARD        GARDNER                    UT     90013936907
77698A53171921   LINDA          KOHN                       CO     90010270531
7769937238B157   DANIEL         ROMNEY                     UT     90011123723
776993A6191588   ANA            HERRERA                    TX     75096153061
7769955765B357   REBECKA        ORITZ                      OR     90012585576
7769966818593B   JASON          KATTERSON                  KY     66063046681
77699784576B63   GUADALUPE      CERVANTES                  CA     90006417845
7769B136572B32   LORA           CLARCK                     CO     33005931365
7769B673A8B168   GRISELDDA      ZAVALA                     UT     90010386730
776B1457A93739   DAVID          JOHNSON                    OH     90015194570
776B25A4833698   SYLVILA        MOORE                      NC     90014545048
776B2767297B45   CARLOS         RODRIGUES                  CO     90008167672
776B2AA1955969   LUIS           PEREZ                      CA     90013570019
776B3352872B44   JAEQUE         SOMERS                     CO     33086223528
776B366A481633   ELIZABETH      BEEMAN                     MO     90011476604
776B37A3831443   SHANTELL       DAVIS                      MO     90008057038
776B3924172B32   MARIBEL        ROBLES                     CO     33073199241
776B4236872B87   ELIGIO         GARCIA                     CO     33079882368
776B4339386454   JORDAN         MARS                       SC     90015233393
776B613A281633   ANGIE          ZUBER                      MO     90012961302
776B647A372B2B   SUBHASH        GANGAR                     CO     90010864703
776B666215B37B   NARAYAN        GURUNG                     OR     44556546621
776B6797131433   CHARLES        KING                       MO     90004397971
776B6848572B32   KELLY          FOURTHUNDERS               CO     33025198485
776B7134672479   TAMMY          GRIFFIS                    PA     51010591346
776B7263772B37   JILLIAN        REID                       CO     33097412637
776B7297272B29   AL             MARTINEZ                   CO     90014592972
776B74A3255947   COURTNEY       WARD                       CA     90013474032
776B7894781633   JESSICA        BINNEY                     MO     90007578947
776B9146333698   YALONA         BATTLE                     NC     90014301463
776B923598B142   JOSE ROBERTO   DOMINGUEZ SANCHEZ          UT     90014042359
776B9239455947   DENISE         MARIANO                    CA     49017882394
776B9352A76B71   JAIR           MORALES                    CA     90008533520
776B938358B142   CORBIN         THORNTON                   UT     90013933835
776B9851371921   HEATHER        GRINDLE                    CO     90013128513
776BB74A793739   LYDIA          MYERS                      OH     64557487407
7771113968B157   JAMES          CALDWELL                   UT     31027721396
777111A185B59B   MARTHA         LOPEZ                      NM     35042901018
777111A9672B87   MARIA          ESTRADA                    CO     33035381096
7771157178B855   BRANDON        TAFEA                      HI     90011595717
7771214638B163   TAMMY          BALDWIN                    UT     31091331463
7771283A772B32   MARK           CLEMENTS                   CO     90012148307
77712A25A31673   SCOTT          MATTHEWS                   KS     90015090250
7771313628593B   JESSICA        WALKER                     KY     90014711362
7771321922B994   MARIA          PULIDO                     CA     90006292192
77714223172B44   SILVIA         ORDONEZ                    CO     33097472231
77714366772B29   SENCHAL        MONTOYA JAMAL              CO     90008473667
7771472398B163   JOSE           ROSAS                      UT     90014737239
77714742A55969   HOLLY          RODRIGUEZ                  CA     48081717420
77714829572B58   KURTIS         HALLMAN                    CO     90008168295
7771598642B271   ESSENCE        GIBSON                     DC     90002729864
7771598815B37B   DAWN           LEZAMA                     OR     44515169881
77716136972B32   ALEJANDRO      CASTRO                     CO     90006721369
777161A8933698   PENNY          SMITH                      NC     12059971089
77716A13372B29   DALENE         CLEGG                      CO     33011830133
77717175A81678   AMBER C        DUNCAN                     MO     90007781750
777174A6872B29   JOSE           GAMBOA                     CO     90011374068
7771855378B134   PAUL           JOHNSON                    UT     90014155537
7771861565B384   JUDITH         LUNA                       OR     44596136156
7771919A68B163   LATISHA        MONTOYA                    UT     90012511906
7771931A88B168   JUAN           ARELLANO                   UT     31040993108
77719336972B21   ANGEL CALVA    MOLINA                     CO     90011333369
77719387772B22   AARON          KUEHN                      CO     90014663877
7771948667B477   ALFREDO        LOPEZ                      NC     90012394866
7771954735B59B   LYNNETTE       ESSEX                      NM     90013695473
7771B188972B22   MELANIE        GEIST                      CO     33039341889
7771B886341237   LARRY          COOPER                     PA     90014358863
7771B91658B163   TRIPP          ROBERT                     UT     90011629165
7771B952431443   STEPHEN        REYNOLDS                   MO     90012469524
7772164A131673   ANGEL          MOYA                       KS     90010466401
77721A77A5B384   DOLORES        RAYMUNDO GUTIERREZ         OR     90003270770
77721A9688B134   GISLEINE       PAULINO                    UT     90014760968
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 940 of 2350


7772231598B168   JAMES          NIELSON                    UT     90015253159
77722534A71921   KARLA          RAMAOS                     CO     90010625340
77722613772B37   HAILEY         LEIGH                      CO     90010606137
7772388A993739   LORENA         MENDENHALL                 OH     90011878809
77724436A2B271   AARON          HERNANDEZ                  DC     90011974360
77725117972B22   WILMER         ANDRADE                    CO     90014211179
77725391672B87   FRED           JARAMILLO                  CO     33097573916
777261A5A31443   JEFF           POPE                       MO     90011261050
7772662A831433   JOHN           KING                       MO     90008246208
77728556972B87   EVA            TORRES                     CO     90014895569
7772888438B163   CECILIO        VILEGAS                    UT     90012788843
7772893528593B   FELIPE         CHEY                       KY     90013289352
77728A3625B59B   MICHAEL        SHELTON                    NM     90010470362
77728A3A472B22   HECTOR         VELOZ LUEVANO              CO     90007310304
77729A53491932   JOSE           AYALA                      NC     90008050534
7772B442793739   CYNTHIA        GIBSON                     OH     64583024427
7772B972272479   RACHEL         HECKMAN                    PA     90005669722
7773114638B163   TAMMY          BALDWIN                    UT     31091331463
7773128942B29B   THERESA        HINES                      DC     90010232894
7773216558593B   MICHELLE       BEGLEY                     KY     66066241655
77733346772B37   DANIELLE       HARRIS                     CO     90010893467
7773341414B541   YOLANDA        PORTER                     OK     21507004141
777339A9633698   MARSHA         ELLIS                      NC     90012689096
7773425975B59B   LAURA          GAUR                       NM     90003702597
777343A185B384   TEODULO        LOPEZ                      OR     90000893018
77734467172B87   TIFFANY        ROSE                       CO     33095334671
77735116372B22   JEROME         WALLACE                    CO     90013841163
77735272972B87   LYDIA          GUTIERREZ                  CO     90014182729
77735799672B87   ERICKA         GARCIA                     CO     90015207996
777361A6371921   JERRY          TERBOSS                    CO     32084221063
7773627738B142   MARIA          LAZARO                     UT     90012152773
7773641768593B   JOHN           KREHER                     KY     90014924176
7773652A957599   CRYSTAL        ARAGON                     NM     35516985209
7773655725B37B   ERICK          BARTEN                     OR     90010985572
7773732A55B59B   TRACY          TRACY                      NM     90013053205
7773736538B142   JUSTIN         ZUFELT                     UT     31097973653
77737814A31443   STELLA         JONES                      MO     90011088140
77737A4AA5B37B   STEPHANIE      GRADY                      OR     44571890400
7773873288B163   EXON           OLIVA                      UT     90014737328
7773878185B37B   RAVEN          SMITH                      OR     90002077818
7773897838B157   SAAD           SHYAA                      UT     90014789783
77738A5895B596   LETICIA        DELGADO                    NM     35050200589
77738A6117B477   MARCELA        SANTANA                    NC     90013870611
77739A4635B59B   MARTHA         SAIZ                       NM     35083950463
77739A92384337   TREVOR         BRYANT                     SC     90009760923
7773B22258B134   MARCELA        LUNA                       UT     90013072225
7773B393271921   DAWN           HERMANCE                   CO     32009753932
7773B581891588   ALMA           LUIS                       TX     75044225818
7773B582571921   ZACHARY        MARTINEZ                   CO     90013015825
7773B7AA393739   ROBERT         BEAKLER                    OH     90012097003
7773B94919373B   PAMELA         JONES                      OH     90014499491
7773BA91855969   ADRIAN         LARIOS                     CA     48035130918
77741318272B22   CARLA          MUNOZ                      CO     90012563182
7774173288B163   EXON           OLIVA                      UT     90014737328
7774187512B994   LALANA         WALSH                      CA     45093648751
77741A2572B271   GLEN           RHODES                     DC     90014680257
7774214638B163   TAMMY          BALDWIN                    UT     31091331463
7774321655132B   MICHELLE       BARKER                     OH     90015202165
7774382268B157   YULIANA        ABARCA                     UT     90015228226
7774394A155969   LUIS           MEJIA                      CA     48075339401
77743A3395B384   CODY           HADDIX                     OR     90003530339
77744259572B37   SANDRA         MONTES                     CO     90001712595
7774429998B351   KEVIN          MORTON                     SC     90002122999
7774514A15B541   MELISSA        BERRY                      NM     90008061401
77745647A85835   MICHAEL        TERRELL                    CA     90010116470
7774567458B168   DALLAS         SILCOX                     UT     31056826745
7774624668B134   TINA           MANU                       UT     90003102466
7774626525B37B   JOSHUA         FOWLE                      OR     90013292652
777464A5972B87   CECILIA        VARELA                     CO     90014184059
777464A665B37B   BRITTANIE      FIELDS                     OR     90014614066
7774654368B157   MICHAEL        BURRIS                     UT     90015105436
7774669748B142   JAQUELINA      GOODRICH                   UT     31034666974
7774711712B994   HEATHER        COUNTS                     CA     90014591171
7774733948B163   JAMES EDWARD   GAU                        UT     90014743394
77747579A8B134   URIEL          LUCERO                     UT     90007285790
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 941 of 2350


7774792575B37B   OLIVER        KENYON                      OR     90015269257
77747A42991588   GUADALUPE     VILLALPANDO                 TX     75008990429
777492A3472B29   JUAN          ALVAREZ                     CO     90009162034
7774948288B163   WENDI         HEATH                       UT     90012504828
7774B217441253   WILLIE        PRIMAR                      PA     51091182174
7774B273872B22   GLENDA        DAWSON                      CO     90013022738
7774B421355969   NOHEMI        HERNANDEZ                   CA     90009164213
7774B444991588   LAURA         RODRIGUEZ                   TX     90008644449
7774B87688B163   JUAN CARLOS   PEREZ-VELAZQUEZ             UT     90007868768
7774B96338B142   CLAYTON       CHRISTENSEN                 UT     90013849633
7775192348593B   SCOTT         SPENCE                      KY     90012369234
7775235AA72B22   JOSE          JAHEN                       CO     33002983500
777524A6271921   BELINDA       MATEO                       CO     90002074062
77752523A31443   PORSHA        CHILLER                     MO     90014335230
77752545A81633   WILLIAMS      LEE                         MO     90014815450
777528A6793739   ROBERT        DEETER                      OH     90011138067
77753964A72B2B   CAMPBELL      DARRELL                     CO     33078019640
77754179972B29   MICHAEL       REED                        CO     33086151799
7775434948B134   MISTY         MULKEY                      UT     31056473494
77754A3342B84B   KLEONE K      ASCHENBRENNER               ID     42016260334
77754A38393739   SALEETA       NABORS                      OH     64589860383
7775641A185996   ARNOLA        EDWARDS                     KY     90001344101
7775659662B271   CARLISA       PEARSON                     DC     90001395966
77757655472B32   JOHN          FREDRICK                    CO     33037726554
7775782215B37B   CARLOS        VILLASENOR ALVAREZ          OR     90011328221
7775791A472B29   GELPIS        FUENTES                     CO     90014199104
7775926347B477   WILLIAM       RACKLEY                     NC     90001242634
77759575A8B168   JOSE          ALVARADO                    UT     90012615750
7775B165771921   ANTHONY       MERRICK                     CO     90012011657
7775B76A855969   JOSE          TIRADO                      CA     90014027608
7775B912141237   VALERIE       LAUTIERO                    PA     51083809121
77761A2338B168   LIDIA         VIEYRA                      UT     90008710233
77761A58772B58   NICOLE        MONTOYA                     CO     90006090587
7776212735B125   MARY          LUMMER                      AR     90011621273
77762636572B87   RAFAELA       REYES                       CO     90009216365
77762645272B37   MARISELA      SOTO                        CO     90010606452
77762A69993739   DION          BARNETTE                    OH     90012280699
7776395A193739   ALIKAI        HOWARD                      OH     64590119501
77763A9A79372B   STACY         DANIELS                     OH     90006080907
777642A225B59B   LUIS          TARANGO                     NM     90015312022
77764349672B32   SALVADOR      MARTINEZ-GUITERREZ          CO     33023453496
7776439AA31433   BRUCE         FRANKLIN                    MO     90008603900
7776444798B134   IGNACIO       VEGA                        UT     90003194479
777646AA15B37B   REESE         WILSON                      OR     44514856001
777648A328593B   GABRIELLE     BOWMAN                      KY     90012228032
7776572168B168   CARLOS        TORRES                      UT     90001787216
77765816872B98   KERRY         LANETTE NOWE                CO     33047708168
7776669728593B   MELLISA       COVERT                      KY     90013916972
77766831372B87   MARIA         AMENDAREZ                   CO     90005398313
777668A8541237   DONALD        STEPP                       PA     90009398085
77767134672B37   KIM           FENN                        CO     33015261346
7776728968B168   TIFFANY       WEEKS                       UT     31019012896
7776742198B157   JEREMY        BAIN                        UT     31074914219
7776784785B37B   LEIDUVINA     ALVARADO                    OR     44572268478
777684A542B224   BARBARA       CHARLES                     VA     90007144054
77768511972B29   OTHELIA       DWEH                        CO     90013225119
77768578172B32   VICTOR        VERGEL                      CO     33064205781
7776943398B157   MARTHA        LONG                        UT     90009044339
7776B22A18B157   SAVANNA       TAYLOR                      UT     90014542201
7776B38A59373B   JON           BARTH                       OH     64562153805
7776B468172B37   RHUWAN        RAI                         CO     90010764681
7776B6A742B994   CHRISTOPHER   HARVEY                      CA     90014596074
7776B717672B27   YNES          BARRALES ORTEGA             CO     90013947176
7776B887772B32   HELEN         ASFAW                       CO     33053968877
77771185A72B44   ANITRA DAWN   AGNEW                       CO     90010561850
7777144377B428   RACHEL        DAVIS                       NC     11080894437
7777329A672B87   ABRIL         RAMIREZ                     CO     90014182906
7777329A957531   LYNN          YOUNGBLOOD                  NM     90014532909
77773688A8B168   JUAN          FLORES                      UT     90010386880
7777394967B477   SEAN          HERRING                     NC     11085349496
77773A3A18B142   JOSE          GUTIERREZ                   UT     90013940301
7777412445B59B   FRANCISCO     GONZALEZ                    NM     35091291244
7777546978B134   ANNE          SCHMIDT                     UT     31039284697
77775A5268593B   MARQIE        TALLEY                      KY     66047810526
77776174A91588   GABRIEL       SOLANO                      TX     90007821740
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 942 of 2350


777792A318B168   HEATHER      THOMPSON                     UT     31017452031
7777951158593B   ANNETTE      ULM                          KY     90013315115
77779683A72421   DAN          OGDEN                        PA     51011156830
77779A4338B163   SIERRA       PIERSON                      UT     90013000433
77779A7A541237   TERRY        BAKER                        PA     90011850705
7777B13859374B   DAVID        SHARP                        OH     90010881385
7777B38197B477   DAREEN       COMMUINCATION                NC     90013933819
7777B938472B22   EMILY        CARBORNE                     CO     33090399384
7778143397B428   TANESHIA     BRICE                        NC     90013784339
77781547772B37   JENESIS      SALAZAR                      CO     90004595477
7778187318B168   ANTHONY      FARLEY                       UT     31008878731
7778197425B59B   MARGARITA    CRUZ                         NM     90000639742
7778232648B157   ARMANDO      NORBERTO                     UT     90014653264
7778232A28B142   PRISCILA     NOAKES                       UT     90011833202
77782A83172B87   JOSHUA       PAULY                        CO     33053260831
77783533272B22   ALISHA       HUFF                         CO     90012185332
77783822A72B32   CHRISTINA    BEWLEY                       CO     33060978220
77783A5455B59B   GILBERT      LOPEZ                        NM     90013280545
7778469225B59B   REBECA       DOXON                        NM     90015076922
7778583566B166   PASCUAL      BALTAZAR                     MS     90014478356
77786298772B87   BERNARD      HOUSE                        CO     90014182987
777864A7672B58   GABRIELLE    LATHROP                      CO     90008574076
7778679192B271   OMAR         ROJAS                        VA     90015267919
777869A528B142   NIDIA        JIMENEZ                      UT     31005019052
77786AA3355947   CHRIS        ALVARADO                     CA     90013000033
7778725318B142   JILL         KARNER                       UT     90002472531
77787385572B22   GATRELL      COLLEEN                      CO     90011283855
77787573A31443   CRYSTAL      KRAFT                        MO     90011995730
7778758227B477   SALAH        NUBANI                       NC     90013935822
7778824A881633   IRIS         DAVIS                        MO     90014002408
7778874878B157   NOAH         AFU                          UT     90014237487
77789577172B44   JENARO       PALOMINO                     CO     33064385771
77789AA828593B   STEPHEN      KERN                         KY     90002290082
7778B83378B142   JUSTIN       HAMILTON                     UT     90004838337
7779171358B168   TYSON        GALLY                        UT     90007097135
7779256A58B134   CANDY        JACKSON                      UT     90014065605
77792A56271921   NIKKI        ERKER                        CO     90002180562
77793421A8B163   JASON        FERIANTE                     UT     90010024210
7779474818B136   WEBB         JAMES                        UT     90010017481
777955AA772B87   JOSE         CARRERA                      CO     33074315007
77795953A71921   MICHAEL      FOREMAN                      CO     90012659530
777963A7A72B32   ALEJANDRO    FLORES                       CO     90013103070
7779643457B477   RALISHA      JOEL                         NC     90014384345
7779768868B168   FERNANDO     SEGURA                       UT     31095136886
77797A75331443   ANTHONY      WEST                         MO     90013410753
7779843372B994   BECKY        MARQUEZ                      CA     90006684337
77798483572B22   FRANCO       RASCON                       CO     33077444835
77798A24372479   JANET        KELLER                       PA     51064760243
7779999193168B   REBA         HINES                        KS     22003789919
7779B464371921   LATOIYA      JACKSON                      CO     90011104643
7779B67552B271   WILLIAM      FITZGERALD                   DC     90006306755
7779B831761975   STEPHEN      HERNANDEZ                    CA     46066068317
7779BA47555947   DEANNA       LONDON                       CA     49080200475
777B1366772B37   ANABEL       RIOS-VARGAS                  CO     33015373667
777B13A2672479   ALISHA       MOORE                        PA     90014853026
777B19AA48593B   PAGIE        WATERS                       KY     90010509004
777B292998593B   JASON        COBB                         KY     90011409299
777B2A28A72B22   JUANA        MENDOZA                      CO     33026330280
777B3265472B87   MARIBETH     BATT                         CO     90014182654
777B3422272B32   ZANAYA       GARRET                       CO     90008164222
777B3439533698   DARIUS       PRICE                        NC     12090734395
777B3766172B37   MANUEL       CALDERON                     CO     90011567661
777B3844631443   CADIS        GALLOWAY                     MO     90014758446
777B4635A55947   RICARDO      MOJICA                       CA     90007496350
777B471A824B44   ROLLINS      BEY                          DC     90011137108
777B497A531433   STEVEN       JONES                        MO     90012669705
777B4A97955969   CORINA       JARAMILLO                    CA     48007960979
777B531333168B   VICTORIA     LESLIE                       KS     22010403133
777B563978B142   ADALI        GUIOTIERRES                  UT     90013906397
777B569745B384   ANISA        HARRY                        OR     90013176974
777B571588B134   DORCAS       OBONYO                       UT     90007507158
777B621A191827   ANGELA       MELROSE                      OK     90011852101
777B6431491588   MONICA       MACCARDLE                    TX     75053334314
777B6578372B29   FRANSISCA    GARCIA                       CO     90014885783
777B663978B142   ADALI        GUIOTIERRES                  UT     90013906397
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 943 of 2350


777B6648181633   EARL         HOWARD                       MO     90010686481
777B6786433698   JOSHUA       OLLIS                        NC     90015377864
777B699352B994   ROSARIO      LOZANO                       CA     90012569935
777B7619A91588   TANYA        LECHUGA                      TX     90007616190
777B7A6658B142   MARITZA      MORENO                       UT     90007950665
777B813848B142   MARIA        RODRIGUEZ                    UT     90001651384
777B8229941253   CAROL        BOYLES                       PA     90013192299
777B834528B168   DAVID        SARNES                       UT     90011333452
777B856A131432   RODNEY       STRAYHORN                    MO     90010975601
777B9149371921   LEAH         ANDERSON                     CO     90011431493
777B9187A72B32   DIANE        ATENCIO                      CO     90011791870
777B9447431443   CIARA        MACON                        MO     90005364474
777B947248B163   APRIL        HIMES                        UT     90004284724
777B958A881633   DENISE       COOPER                       MO     90007835808
777BB3A7971921   ATHZIRI      MENDOZA                      CO     32057483079
777BB475191844   SCOTT        HARGIS                       OK     21091984751
777BB63978B142   ADALI        GUIOTIERRES                  UT     90013906397
777BB84222B994   SILIVA       TABARDILLO                   CA     90008658422
7781315A155996   RODOLFO      TINOCO                       CA     90002641501
778135A938B134   BRITTNEY     BURNINGHAM                   UT     31084685093
77813846A2B994   ANDRE        HOOPER                       CA     90014618460
778138A798B191   OLIVER       ROMERO                       UT     90010698079
7781395732B271   RAMON        BUNCH                        DC     90013799573
7781486A772B87   ILIANA       MEJIA                        CO     90011238607
7781611A98B168   JULIE        COURT                        UT     31030801109
7781631548B142   GREGORY      LONGTREE                     UT     90002473154
7781692982B994   KIONIA       SANDERS                      CA     90014619298
77816A98972B32   KAREN        PEREZ                        CO     33015540989
7781715944B254   BOB          NAPRAVNIK                    NE     27086841594
77817495A31443   BRISTER      GRIGSBY                      MO     90015304950
7781765465B37B   CARLOS       ROSAS                        OR     90013906546
778176A8593739   LESLIE       RALSTON                      OH     90014986085
7781772568B142   WADE         GOODRUM                      UT     90011057256
7781914648B142   VALMIR       FREITAS                      UT     90013941464
77819167A8B134   NIKKI        ATWELL                       UT     90008511670
778194A6672B22   RYAN         PHILLIPS                     CO     90011284066
77819A68155947   STACY        FRANCKA                      CA     49029690681
7781B2A288599B   MICHAEL      BAUMAN                       KY     90011512028
7781B351171921   AMPARA       DIAZ                         CO     90014343511
7781B936731433   PATRICIA     CLINE                        MO     90014759367
77821282A41237   ROBIN        WILSON                       PA     90011442820
77821688272B44   KATHLEEN     JAMES                        CO     90014476882
77821A29776B71   BEATRIZ      LOPEZ                        CA     90006670297
77821A7A672B44   KATHLEEN     LITTLE                       CO     90011330706
7782215548B157   WIN          TUN                          UT     90009571554
77822222772B22   EDWARD       NICOLAS                      CO     90014532227
7782254A68593B   AMBER        TOWNSEND                     KY     90011075406
77822669A3168B   KENNETH      COLEMAN                      KS     22066216690
7782311318593B   LISA         ATWOOD                       KY     66090081131
7782371237B477   JOSE         CASTRO                       NC     90002567123
77824276A7B34B   ZAHRA        ABDULLE                      VA     81014862760
77824774A72B29   MARY         SALAZAR                      CO     90013437740
7782481A772B29   JENNIFER     HANSON                       CO     90004168107
77824892572B32   ISAI         SALVADOR                     CO     90007398925
77824A81331443   JERONISHA    PARKER                       MO     90015490813
7782525988B157   JAYCEE       CARTER                       UT     31085212598
77825816A55969   VANESSA      GUERRERO                     CA     48085238160
7782637A98B168   CODY         DAYLEY                       UT     90008983709
77826839672B22   ROBERT       YSALAS                       CO     90013298396
77826A61572B22   DOROLES      LOPEZ                        CO     90011300615
77827323472B87   THANYA       ZAVALA                       CO     90014183234
7782772A68B142   CHAD         BLACK                        UT     90013627206
7782794AA55969   CARMEN       AVINA                        CA     90012449400
7782829A372B87   CHAD         RICE                         CO     33049642903
77828A61772B29   STAR         RIVERA                       CO     90013880617
778291A8572B37   SANDRA       CRUZ                         CO     33025931085
7782B18938B134   JULIE        HATFILED                     UT     90013781893
7782B26762B857   CORALEE      HELLICKSON                   ID     90010582676
7782B43313168B   MELANIE      R HERMAN                     KS     22033514331
7782B437A8B163   JAMIE        BURNSIDE                     UT     90014744370
7782B534281633   BREANNE      MARSHALL                     MO     90011435342
7782B686272B87   UNIQUIAL     SMOTH                        CO     90014716862
77831832372B22   RAMONA       BLANKENSHIP                  CO     90007748323
77831957272B87   SHAWN        DEGRASSA                     CO     90008879572
77831A2172B271   TRENITA      THOMPSON                     DC     90011660217
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 944 of 2350


778321A318B142   LESSLY       CASSIANO                     UT     31015641031
7783273385B384   JOSEPH       COUNCILL                     OR     90003277338
7783311255599B   ERIKA        ZUNIGA                       CA     49094951125
77833214A7B477   KATHRYN L    ZURAWSKI                     NC     90006442140
77833334372B32   JOAQUIN      SANCHEZ                      CO     33060683343
77833716A72B44   MARGARITA    GARCIA                       CO     33056357160
77833A91771921   KASANDRA     PANTLIN                      CO     90012970917
7783448515B37B   ISAAC        ALVAREZ                      OR     90002254851
7783465395B373   BRIAN DEAN   SCHMIDT                      OR     90005966539
7783629935B354   EDUARDO      GUIJOSA                      OR     90014182993
77837141A41237   DE           DE                           PA     90014751410
7783743158B168   RYAN         BALLARD                      UT     31077324315
7783743A98B163   SPENCER      HARMON                       UT     90012954309
77837593472B44   KC           DAVIS                        CO     90008395934
77838235A8B134   VERONICA     RUIZ                         UT     90012612350
7783977935B37B   HUMBERTO     ROSAS RAMOS                  OR     90011397793
778397A8172B32   PILAR        FLORES                       CO     90003637081
7783986855B228   ALONUA       TYLER                        KY     90002688685
77839A44331453   LAWREN       LONG                         MO     90006770443
7783B552191588   JANETH       TOVAR                        TX     90014385521
7783B56345B59B   MONICA       MARTINEZ                     NM     90012315634
7783B892A5B384   ANA          GONZALEZ                     OR     90005318920
7784149265B37B   LUCAS        KNIGHT                       OR     90014524926
7784162A171921   ALAN         WILLIAMSON                   CO     90005776201
7784213862B271   NATALIE      THOMPSON                     DC     90014531386
77842326A72B87   OLINA        MYLES                        CO     90014183260
7784241838B157   FRED         ULUAKIOLA                    UT     31036544183
778425A6641253   SHALAUN      DAVIS                        PA     90014865066
77842951772B37   KRYSTLENE    CUMMINGS                     CO     90007189517
77842A65A5B37B   PABLO        SEBASTIAN                    OR     90006580650
7784375A95B37B   GILDARDO     VELAZQUEZ                    OR     90013437509
7784428567B461   KANESHA      TATE                         NC     90014962856
7784444858B163   ARMANDO      RASCON                       UT     90013624485
778445A418B142   DELORIS      CLEGG                        UT     31029715041
7784476A79373B   RICHARD      REYNOLDS                     OH     64505407607
7784524968B168   DARCY        PIERCE                       UT     90011922496
77845375372B29   RITA         VIGIL                        CO     33051833753
778455A5555947   DELIA        POSADA                       CA     90014785055
77845A3642B271   LOUIS        CRUMP                        DC     81000280364
7784626462B271   MARTA        LEON POLO                    DC     90003662646
7784676358B163   STEPHANIE    SAMORA                       UT     31083647635
7784684248B134   AGUSTIN      GODINEZ                      UT     90010718424
7784687775B37B   RUFINA       RODRIGUEZ                    OR     44579308777
7784752A971921   TERRILL      PAUL                         CO     90004175209
7784771328B142   MARGUERITE   PRINCE                       UT     90004787132
7784774A691588   JESU         ARBALLO                      TX     75048847406
77847894672B22   CESAR        GARCIA-AGUIRRE               CO     33061548946
7784854788B134   MONICA       VISSER                       UT     90004045478
7784871A241237   ROBIN        MECKLING                     PA     51064647102
7784889638B142   STACEY       ATKINS                       UT     31031238963
778488A7681633   RYAN         CLARK                        MO     90007788076
7784961137B477   TABATHA      COLE                         NC     90002266113
77849A12671921   DEBRA        MEDINA                       CO     90015120126
7784B25198B142   LUIS         REYES                        UT     90013942519
7784B65432B994   MARIA        SANTANA                      CA     90012786543
7784B857772B87   BETHSI       URIBE                        CO     33034718577
7784B962431433   MONICA       PORTER                       MO     90014089624
77851138A2B994   LEESA        BARAJAS                      CA     90004721380
7785128A372B37   GERMAN       MALDONADO HERNANDEZ          CO     33035082803
7785152A272B29   ASHLEY       PEDIGO                       CO     33085855202
7785155478B163   JUANA        ROJAS                        UT     90014715547
77852487572B29   BEVOLIN      ROBINSON                     CO     33049844875
7785338A455969   EDUARDO      LEDESMA                      CA     90013593804
7785364995B384   JULIA        MARTINEZ                     OR     90006526499
7785369868B157   JEFFREY      SWEETSER                     UT     90010686986
7785399865B37B   HOSVIT       ESCOBAR                      OR     44563189986
77854178272B37   RAYMUNDO     MARTINEZ                     CO     33096131782
77854191472B87   JODY         SMITH                        CO     33029301914
7785432268593B   BRAD         SHACKLEFORD                  KY     90014453226
7785467992B271   DAMEON       YATES                        DC     90012376799
77854796372B29   JAKE         RICKER                       CO     90011417963
77854A8592B84B   KAROLYN      HAWS                         ID     90015060859
7785532228B142   TOBEY        SMITH                        UT     90013943222
7785589185597B   CRYSTAL      SECREASE                     CA     90011178918
778558A7681633   RYAN         CLARK                        MO     90007788076
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 945 of 2350


7785632712B29B   BRANDON       SMITH                       DC     90014943271
7785634375B384   TIFFANY       MOLESWORTH                  OR     44596233437
7785635A855947   ELI           ONTIVEROS                   CA     90014373508
7785773AA71921   GERALDINE     SCIPIONE                    CO     32072567300
77857A1598B142   AGUSTINA      MARTINEZ                    UT     90012690159
7785884A741227   TONY          HALE                        PA     51010968407
77858A3395B281   BRUCE         FOWLER                      KY     68044770339
77858A7AA31433   HEATHER       STOLLE                      MO     90007820700
77859188872B87   KIMBER        AXTELL                      CO     90007131888
77859A94155947   TISHA         BRADEN                      CA     49023530941
77859A97631443   VANESSA       PULLIAM                     MO     90012520976
7785B15838B142   RAMIREZ       OSCAR                       UT     31021011583
7785B26982B271   MARION        BERNADETTE                  DC     90007992698
7785B58AA72B44   PATRICIA      GARCIA                      CO     33061055800
7785B68398B157   BERNARD       VOLPE                       UT     90010686839
7785B73A772B22   THERESA       CHILELLI                    CO     33060047307
7785B86762B271   MARION        COLE                        DC     90014538676
7786118745B384   CORINA        ESCALONA                    OR     90007031874
7786167298B134   SAMANTA       ILDA                        UT     90004096729
7786176277B477   JOHN          BROWN                       NC     11051437627
778618A3455947   CECILIA       ARMENTA                     CA     90015128034
77861A89A81633   GINA          VINYARD                     MO     29085550890
7786216548B163   JARED         CARSON                      UT     90012021654
7786217A181633   TIFFANY       YELTON                      MO     29006871701
77862487172B29   CHRISTOPHE    GILBERT                     CO     33095784871
77862934A5B375   JON           MURRAY                      OR     44593229340
7786428618593B   PAUL          RIGGS                       KY     90014422861
7786474415B37B   MASON         GENSMAN                     OR     44573377441
7786484728B142   JOSHUA        SARMENTO                    UT     90004128472
77864A22A31443   ERICA         PHILLIPS                    MO     90010840220
7786567A141227   RICKEY        SOLOMON                     PA     90000576701
7786573867B42B   LISBEYDA      RECENDIZ                    NC     90008777386
77865799A33698   JAMMIE        CLYBURN                     NC     12047627990
7786619668B134   ISAAC         MATEO RODRIGUEZ             UT     90013781966
778661A5355947   STANLEY RAE   SPOORS                      CA     90014791053
77866581772B37   MARIA         ORTIZ                       CO     90004995817
778666A1271921   JOE           ENGLISH                     CO     90007206012
778666A2555969   JACKIE        ENGEL                       CA     48096936025
7786698355B59B   VANESSA       GARCIA                      NM     90012919835
77867A72255947   RAMON         NUNEZ                       CA     90003330722
7786827245B37B   MARIA TERE    CERNA CORONA                OR     44517852724
778682A7591588   DANIEL        GUILLEN                     TX     90008642075
77868328272B29   LILY          DAILEY                      CO     90014823282
77868664272B29   BRUCE         ALLEE                       CO     90011686642
7786929813168B   ESPERANZA     QUEZADA                     KS     22006652981
7786957218593B   JEANNINE      LEBLANC                     KY     66046105721
7786B3AAA91588   RAFAEL        BORRUEL                     TX     75057273000
7786B65385B59B   LORENZO       ORTEGA                      NM     90012366538
7786B736A81633   LEON          BAGLEY                      MO     90015137360
7786B84918B168   LISA          HALL                        UT     31027038491
77871351572B87   GUMERCINDO    ENRIQUEZ                    CO     90010393515
7787141695B37B   LUIS          RUIZ ROMERO                 OR     90001514169
7787195788B142   CHRISTOPHE    BURTON                      UT     31040019578
77872287672B87   DAVID         CABRAL                      CO     33057252876
7787273565B597   DONALD        SANCHEZ                     NM     90013397356
77872765A33698   DEYANIRA      MARTINEZ                    NC     12065107650
7787284528B157   MARY          MARTINEZ                    UT     90008018452
77873156A71921   AMANDA        FAY                         CO     90014811560
7787379914126B   TERRELLE      LEWIS                       PA     90006247991
7787383968593B   TROY          FORD                        KY     90011588396
7787387697B477   DEANDRE       BELL                        NC     90013978769
778739A4893739   SHATARA       SPENCER                     OH     90011139048
77873A2877B477   HUGO          QUINONEZ                    NC     11007570287
77875298572B29   ERIK          GRISSOM                     CO     33067382985
778756A1641237   JERRY         JONES                       PA     90015186016
7787616542B994   PEARL         MARTINEZ                    CA     45011281654
77876253372B29   EVENSON       KIMBERELY                   CO     90007782533
77876313772B32   LAURA         RATCLIFF                    CO     90012623137
7787712112B84B   JON           CHRISTENSEN                 ID     42004781211
778774A1171921   GABRIELLA     PARADA                      CO     32003674011
77877755972B87   ERNESTO       HERNANDEZ                   CO     33050027559
77878832A5B384   MELVIN        BIRGANS                     OR     90007358320
77879499572B22   TOMMY         HOUSE                       CO     90013534995
7787952A95B37B   IBETH         MARTINEZ                    OR     90014305209
77879A38531433   TEBYRRON      GRAHAM                      MO     90006640385
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 946 of 2350


7787B117455984   PAMELA        CROWSON                     CA     90002761174
7787B349372B32   RICHARD       THIERY                      CO     90009663493
7787B515655969   ASHLEY        CLINE                       CA     90014615156
7787B73858B142   HEATHER       JANSEN                      UT     90014867385
7787B799141253   MATT          STRAWN                      PA     51027237991
7787B816571921   JOHN          ROFF                        CO     32010858165
7787B9A9872B29   HUMBERTO      GUTIERREZ                   CO     33091809098
7787BA1785B59B   MERICIS       GONZALES                    NM     90011950178
7788135975B59B   GLORIA        CAMERON                     NM     90012723597
7788147585B395   LISA          STORY                       OR     90001234758
77881682272B29   MARIA         BANKHEAD                    CO     90009946822
77881783572B87   CARMEN        ROMERO                      CO     33045147835
7788219668B134   ISAAC         MATEO RODRIGUEZ             UT     90013781966
7788245A691588   FRANK         ROACHO                      TX     90013774506
7788255255B59B   STEVAN        ARANDA                      NM     90005105525
77882897472B44   CLARITA       ARCHULETA                   CO     33090088974
77883713A55997   LAWRENCE      DAVIS                       CA     90002487130
77883732772B44   REYIDRIZ      LOZOYA                      CO     90004107327
778838A228436B   NED           WORKMAN                     SC     19074198022
7788393848B163   JAMEN         COLBY                       UT     90009099384
7788483232B994   MICHAEL       RANGEO                      CA     90014638323
77884A78741227   JENNIFER      STALEY                      PA     90010520787
778851A7A8B163   SLADANA       FERATOVIC                   UT     90015291070
77885349A72B58   TERRELL       CLARK                       CO     33092413490
7788635518B157   GLENN         JOHNSON                     UT     31005673551
77886524997B45   KRISTINA      RETANA                      CO     90000665249
7788667A272B87   VICENTE       ROBLES                      CO     90008526702
77887327572B44   ALEXANDER     MESKE                       CO     33091303275
7788768788B142   TAYSHA        MACE                        UT     90014916878
7788771A98B142   BEAU          CARTER                      UT     90013947109
77888468472B22   ALEJANDRINA   ROJAS                       CO     90013234684
7788887A481633   B             KITCHEN                     MO     90010898704
7788B329341237   ROSEANN       LUBAWSKI                    PA     51084643293
7788B422593739   AGUILAR       MAURICIO                    OH     90008124225
7788B64475B37B   DEBRA         JACOBS                      OR     44506836447
7788B69A45B384   MARIO         RODRIGUES                   OR     44596266904
7788B735372B87   ALBERTO       RODRIGUEZ                   CO     33076177353
77891239272B87   LUCAS         GLEDHILL                    CO     90009552392
7789167178B134   LEE           JUSTIN                      UT     90009466717
7789173194B563   JULIA         URDIALES                    OK     90014817319
778918A3572B32   GAIL          CISNEROS                    CO     33024498035
77891913972B22   FLORA         OCHOA                       CO     33043239139
7789214A58B142   JARVIS        DANNY                       UT     90012021405
7789215AA2B994   JOHN          PRICHARD                    CA     45018461500
77892226A8B163   GUDELIO       GONZALEZ                    UT     90005472260
77892343A72B87   ROBERTO       MENDEZ                      CO     90014183430
77892698A72B29   DORRIS        ORTIZ                       CO     90014036980
77893255A72B32   REGINA        HILL                        CO     33089612550
77893258A31433   ETHEL         ROWELL                      MO     27558822580
77893623372B22   SAN JUANA     GUZMAN                      CO     90012826233
7789433A941227   THERESA       WILLIAMS                    PA     51043673309
7789437372B271   TAKIA         PENAMAN                     DC     90006933737
77894837372B44   DAISY         GUZMAN                      CO     90000568373
7789627378B142   CARLOS        LOPEZ                       UT     31085952737
7789637838B134   TONI          PELCASTRE                   UT     31058873783
7789642923168B   MARISELA      RETIZ                       KS     22011574292
77896878472B22   IGNACIO       SALAS                       CO     33000658784
77898155A8B134   GOPI          KATEL                       UT     90010241550
7789818287B477   LATOYA        WOLFE                       NC     90013721828
778983A8972455   TAMI          LITTLE                      PA     90013193089
7789842538B168   DAIGON        ANDERSON                    UT     90007724253
778989A8A72B83   ADAN          PENA                        CO     90009649080
7789916A771921   DARION        RICKETTS                    CO     90009031607
7789933745B384   KARIY         EMMETT                      OR     90005033374
77899866772B29   JESSICA       BARRON                      CO     33017508667
7789997A255947   ERIK          VANG                        CA     90013899702
7789B657672B37   ANGELICA      PILLADO FLORES              CO     33028716576
7789B698841253   ESTELLA       CEPEK                       PA     51044726988
7789B717331432   LANDON        LOCHLAN                     MO     90012397173
7789B79698B168   KIMBERLY      VERA                        UT     90011837969
778B1226631432   ALICIA        ARNETT                      MO     90005912266
778B1396972B22   DOMINIC       FIELD                       CO     90013893969
778B144562B242   SHAWNTA       HAGANS                      DC     90012694456
778B1587372B32   JUSTIN        BREWER                      CO     90002675873
778B17A4155947   ADRIANA       GALLEGOS                    CA     90008027041
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 947 of 2350


778B22AA472B44   DONALD       SCHENKEIR                    CO     90010562004
778B27A2971921   KENNY        STEWART                      CO     32090377029
778B2932291588   ANGELICA     PEREZ                        NM     90006449322
778B3A22933699   CESAR        MORGAN LIBORIO               NC     12001720229
778B3A6192B271   YOVANI       SANCHEZ                      DC     90013240619
778B475A172B22   JEFFERY      WOLFE                        CO     33097167501
778B55A758B163   JOSE         DOMINGUEZ-CALDE              UT     90013245075
778B5621433698   JIMESSE      LAWRENCE                     NC     90011206214
778B5826555947   LUIS         TREJO                        CA     90014578265
778B591378B657   EMERALD      MENDEZ                       TX     90014269137
778B5A7A572B22   BRENDA       FULTON                       CO     33089270705
778B6158A8B142   TODD         MORRISS                      UT     31061241580
778B6245891588   KIMBERLEY    BEIMDIEK                     TX     75005392458
778B6556455969   JANET        HICKS                        CA     90007085564
778B691313168B   NANCY        BERNARD                      KS     22029269131
778B694128B134   KATHRYN      MCMULLIN                     UT     31050419412
778B7438972B22   PAYGO        IVR ACTIVATION               CO     90010904389
778B7A1928B142   SCOTT        STEVENS                      UT     90010220192
778B7A47455969   JOSE         GALLO                        CA     90005580474
778B8214655969   PATRICIA     BANDA                        CA     48000472146
778B8251231443   LORETHA      MARSHALL                     MO     90014812512
778B89A9871921   CHELSEA      RAPPLEYEA                    CO     90007589098
778B9132581679   ANGELA       COOK                         MO     29006681325
778B9847572B44   ANNABELE     NUNEZ                        CO     33010178475
778B9963A8B163   IAN          EYRE                         UT     31091239630
778BB25218B163   RANDY        DAVIS                        UT     31066822521
778BB4A2691588   JOHN         SILVA                        TX     75010934026
778BB538393739   MERANDA      CAMPBELL                     OH     90014545383
779114A7791577   BEATRIZ      GARCIA                       TX     90012534077
7791213978B168   HYRUM        LAUNDIS                      UT     90001981397
7791266552B994   RICHARD      CORREIA                      CA     90010836655
7791269275B59B   MADONNA      MUNIZ                        NM     90009096927
7791298A991588   LUIS         SEPULVEDA                    TX     90013989809
7791382572B574   MICHAEL      NDUNGU                       AL     90015368257
77913A41872B22   SONIA        RODRIGUEZ                    CO     90014650418
7791451A68B163   DAVID        LOPEZ                        UT     31003895106
7791516938593B   J            JUDD                         KY     90009841693
7791536977B477   MERIDA       MERIDA                       NC     90008193697
77916869A2B994   GUILLERMO    MORENO                       CA     90011718690
7791746548B142   SARAH        FACKRELL                     UT     31039504654
77917671A91588   DARCY        SANCHEZ                      TX     90015296710
77917849872B22   ISMAEL       SOLIS                        CO     90013308498
7791814945B59B   RICHARD      ESPINOZA                     NM     90013501494
7791854168B142   BLANCA       BATRAS                       UT     31025725416
77918573A71921   SEVASTIAN    LANDARERDE                   CO     90014385730
77918597672B29   JESUS        MELENDEZ                     CO     33006495976
77918A5A22B994   VANESSA      RANGEL                       CA     90014640502
7791922737B487   ONEIDA       HERNANDEZ                    NC     90003672273
77919296272B32   MICHAEL      MORRIS                       CO     90011562962
7791932A541237   MATTHEW      WHITTINGTON                  PA     90012723205
7791973118B134   ASHLEY       ANDUS                        UT     31009527311
7791B277533632   RUBI         COMPEAN                      NC     90000862775
7791B43145B37B   HANNAH       EVANS                        OR     90012594314
7791B65937B477   DIEGO        BUSTAMANTE                   NC     90003976593
7791B877272B29   KIM          JOHNSON DAIS                 CO     33017508772
7792141868B142   KENNETH      TREMAYNE                     UT     90011774186
7792264A555969   MIGUEL       CORONA                       CA     48091726405
7792273858B142   HEATHER      JANSEN                       UT     90014867385
77922A2525B37B   DEANNA       GRAHAM                       OR     44586460252
7792315218B157   MARGARET     DODDS                        UT     90015091521
7792341A191588   ROGER        ANGERSTEIN                   TX     75085434101
7792397835B384   SISHU        FESSEHA                      OR     44517209783
7792439558B163   KAYLEIGH     BREWER                       UT     90007263955
7792461953B343   JANELLE      CONTRERAZ                    CO     33073636195
77924944A41253   SILVIA       ALEXANDER                    PA     51056109440
77924962272B44   KYLE         TAYLOR                       CO     33002679622
77924A53872B87   AYLIN        ALVARADO                     CO     90011560538
77924AA828593B   STEPHEN      KERN                         KY     90002290082
77925383172B22   MONICA       DOW                          CO     90012363831
7792581925B37B   MARIA        HERNANDEZ AVALOS             OR     44524408192
7792629685B229   DAVID        PASCUAL                      KY     90011712968
7792665A372B44   LUVIA        REYES                        CO     90010876503
77927522A72B87   ISRAEL       ACUNA                        CO     90011845220
77927A58272B32   CRYSTAL      GIRON                        CO     33015160582
7792821678B157   VICENTE      REAL                         UT     90001852167
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 948 of 2350


779291A867B477   ROSA         AGUILAR                      NC     90006551086
77929442172B37   JOSE         OCTAVO                       CO     90009634421
77929633A55969   LEONARDO     VARELA                       CA     90014426330
77929AA918B134   BUDD         TRUDI                        UT     31017090091
7792B232772B44   NANCY        MADRID                       CO     33091232327
7792B33688593B   STEVEN       BROWN                        KY     66053183368
7792B33882B271   ALFONSO      MORENO                       DC     90001983388
7792B48133B358   ELVA         BLANCO                       CO     90013714813
7792B953185954   JOSH         PAFF                         KY     66098769531
7792BA58255947   DAISY        REYES                        CA     90008420582
77931312172B37   DIANNA       MARQUEZ                      CO     33049923121
77931676472B42   FRANCISCO    DAMIAN                       CO     90011486764
77932148672B23   SHANTWISHA   JOHNSON                      CO     90004381486
7793249152B271   SABIS        ADAMS                        DC     90015304915
779328AA133698   KEITH        CRAVEN                       NC     90009738001
7793341332B271   TAMETRIS     MORRIS                       DC     90015074133
7793358758B163   ELVIS        NGONGA                       UT     90014745875
779342A462B994   ABRAHAM      BARAJAS                      CA     90014642046
779345A7291588   ALLYSON      BURROLA                      TX     90014655072
77934AA658B157   PETER        CHEW                         UT     90013250065
77935296472B32   JOSE A       FLORES                       CO     90010952964
7793561678B142   SCOTT B      FOERSTER                     UT     90010326167
7793657968B142   KADIE        PYLE                         UT     90001835796
7793666468B134   ALICIA       PALACIOS                     UT     90014286646
7793669255B37B   SANDRA       ZUNIGA                       OR     44511036925
7793686218B168   TAMMY        JORGENSEN                    UT     31071058621
7793699215B37B   ENRIQUE      CHACON                       OR     90010989921
7793721922B994   MARIA        PULIDO                       CA     90006292192
7793767838B163   CHERYL       ALLAN                        UT     31087026783
779379A4A72479   JANICE       BRADLEY                      PA     90006199040
77938A58884363   GEORGE       DEETS                        SC     19017990588
77938A95191588   LUCIA        VENZOR                       TX     75097440951
779393A1155936   DAVID        BRUMIT                       CA     90008513011
7793941A88B163   LIU          TANIELA                      UT     90015324108
77939A5142B271   JEFFREY      WATTS                        DC     81079270514
7793B117572479   DENISE       GRAY                         PA     51056291175
7793B216433698   ANITA        JOSEPH                       NC     90009812164
7793B26198B168   STACY        IESE                         UT     31006482619
7793B529485833   MARIE        BROCKWAY                     CA     90013235294
7793B799A71921   STEPHEN      GILBERT                      CO     32043727990
7793BA4592B271   CECIL        BROWN                        DC     90014830459
779411A4531433   ISSAC        RICE                         MO     90013351045
7794186178B163   GABRIEL      VALLADARES                   UT     90004298617
7794318838B168   MICHELLE     HYDE                         UT     31030981883
77943365772B87   SEAN         OHARE                        CO     90014183657
7794359438B163   JOSE         HERNANDEZ                    UT     90014745943
7794367733B358   NICKLAOS     DAMARELOS                    CO     33083486773
7794394798B134   KARLA        POSADAS                      UT     90012229479
77943A98872B44   ANGELICA     CASTILLO                     CO     33071150988
779442AA376B49   TERESA       FAVIAN                       CA     90008692003
7794489878B157   LETICIA      VASQUEZ                      UT     90014818987
7794497A172479   KATHY        REGULA                       PA     51022119701
77944A7768B163   BIDIT        JUL                          NE     90004910776
77944AA7631433   MONA         MORAN                        MO     90005180076
7794561728B157   ALLISON      HANDLEY                      UT     31040076172
77945A79622463   VICENTE      HERNANDEZ                    IL     90014530796
7794643888593B   CHRIS        WAMSLEY                      KY     90002494388
77946529872B29   DANIEL       DEARMIN                      CO     90012475298
7794654AA3168B   TROY         MOORE                        KS     22079015400
77946692572B37   LIZBETH      MALPICA                      CO     33015376925
7794744328B142   JANELLE      COX                          UT     90008954432
7794761A92B271   DOUGLAS      CARTER                       DC     90002836109
779478AA98B168   YADIRA       VICUNA                       UT     90011698009
77949161A72479   JEFF         FISHER                       PA     90001921610
779493A8672B29   ANGEL        ABELINO                      CO     33092163086
779494A418B168   TONY         NEWBREAST                    UT     31014454041
77949758A41237   ANTIONETTE   SAUNDERS                     PA     90013957580
7794B132641253   ALAINA       IWANEJKL                     PA     90008801326
7794B321555947   TERESA       HERNANDEZ                    CA     90008453215
7794B763A41227   LEAH         HENSHAWE                     PA     51037177630
7794B99832B271   ZELALEM      GIRMA                        DC     90012079983
7794BA36872B29   ADOLFINA     WATERS                       CO     90013510368
7795127953168B   DONITA       SCOTT                        KS     22063202795
7795185A571921   VERONICA     ALVEREZ                      CO     90013028505
77952114572B22   SAVANA       KETTLEHUT                    CO     90014771145
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 949 of 2350


77952183A72B44   JULIETTE     BELMONT                      CO     90010851830
7795365335B37B   SEFANA       DYCK                         OR     44533836533
77953739A72B44   CONSEPCION   CHAIREZ                      CO     33066537390
779538A548B168   BOYD         COOK                         UT     90011698054
77953949A55969   RENE         LUNA-SOSA                    CA     48096149490
77954251772B87   SENOVIO      MORONES                      CO     33090612517
77954296472B32   JOSE A       FLORES                       CO     90010952964
7795484567B477   CHRIS        LAMBERT                      NC     90014258456
77954A74641253   LATEEYA      KIRKLAND                     PA     90012450746
77954A8648B134   CHRISTOPHE   VIEHWEGER                    UT     31002090864
7795636A672B87   JOHN         THOMPSON                     CO     90010393606
7795672A672B44   IVAN         ESCARLEGA-PALOMARES          CO     90011527206
77956A1525B59B   NICK         ABEYTA                       NM     90001550152
779582A6241253   SEE          MICHAEL                      PA     90013502062
7795889248593B   DEREK        THOMAS                       KY     90007898924
77959436A8B163   NEAN         HAWE                         UT     90014524360
7795981A181633   JASON        TAPLY                        KS     90015078101
77959A3278B142   CESAR        TAPIA                        UT     90013950327
7795B31AA31433   MARANA       WYLY                         MO     90002973100
7795B66945B281   RUSSELL      NATION                       KY     68000926694
7795B745A72B44   DORA         MUNOZ-HERNANDEZ              CO     90010767450
7796117577B495   YOLANDA      JAKSON                       NC     90011381757
7796117A372B22   DANIELLE     KNAPP                        CO     90010091703
77961411A8B171   KIM          DAVIS                        UT     90002214110
77961495572B29   ABRAHAM      CHAN                         CO     90006964955
77961963A97B34   VICTORIA     LUJAN                        CO     90007659630
77961A4488B168   JASON        PRETE                        UT     90008730448
77962116897B45   BRIGIDA      SALINAS                      CO     33059471168
77962156A91588   JOSIE        JIMENEZ                      TX     90008451560
77962215472B87   PHOUA        YANG                         CO     33029722154
779625A3155969   CARMEN       SALDANA                      CA     90006965031
77963386772B87   UMA          MALISCH                      CO     33043143867
7796458A32B271   ROBER        RAMOS                        DC     90007995803
77964819572B87   ASHLEY       TRAVIS                       CO     33047218195
77965A3715B59B   SPIRIT       GAINES                       NM     35052710371
7796618488B157   LAURNA       BALFOUR                      UT     90009651848
7796653528B168   BELTRAN      CLAUDIA                      UT     31017315352
7796659A931443   GARY         JOHNSON                      MO     27560225909
7796665768B134   LACEY        MALONE                       UT     90013386576
77967121A5B37B   PRESTON      LEETE                        OR     90014711210
779684A5855969   FRANCISCO    RAMOS                        CA     90008964058
7796B66945B281   RUSSELL      NATION                       KY     68000926694
7796B969171921   ANTHONY      LILEY                        CO     90013809691
7797127A444344   DOGG         COOLLAHAN                    MD     90015552704
7797157A793739   CHARLES      YOAKUM                       OH     64547015707
7797217658B142   BLAS         GARCIA                       UT     90013951765
779723A718B142   JODY         WERNIG                       UT     90011193071
77972459972B87   LEE          ALEXANDER                    CO     33005944599
77972A4878B163   ROSALBA      ALVAREZ                      UT     90010810487
7797319888B142   TIRAE        SCOTT                        UT     90013951988
77973258A41237   MARY         HOBBS                        PA     51009482580
77973399572B44   SCOTT        NIELSEN                      CO     33010703995
77973972872B22   MARYANN      PADILLA                      CO     90012999728
7797452478B157   HUMBERTO     TORRES                       AZ     90014495247
77974791172B32   MIGUEL       BAIRES                       CO     90012417911
77974877624B37   CORY         WILKINS                      VA     81059118776
7797533628B134   JONATHAN     TIRADO                       UT     90014473362
7797584855B59B   SUSANA       DOMINGUEZ PALACIOS           NM     35042058485
77976446372B22   CASSIE       MEDINA                       CO     90011284463
7797657A793739   CHARLES      YOAKUM                       OH     64547015707
7797672567B477   DARNELL      BENJAMIN                     NC     11047647256
7797738218B142   ALEXIS       HERNANDEZ                    UT     31006233821
779778A958B163   RYAN         HAYWARD                      UT     90002168095
77978468272B32   CECILIA      GARCIA                       CO     90006444682
7797862788B154   CARSON       JUDY                         UT     31029756278
7797882248B163   CHERIE       CROWDER                      UT     31099218224
7797956748B163   LAURA        ACOSTA                       UT     90014305674
7797B22A672B37   MARIANA      GARCIA                       CO     33068352206
7797B338A2B271   SABRINA      JORDAN                       DC     90012473380
7797B884581633   PASCAL       BARACLE                      KS     90015268845
7797BA87231433   SHONTAY      LEWIS                        MO     90013590872
7798142533377B   CRAIG        SCOTT                        LA     90015374253
77981A14772B87   LIZA         PRICE                        CO     90010730147
77982416272B32   JAVIER       VELASQUEZ MENDOZA            CO     90013014162
7798259A871921   RICHARD      HEMMINGER                    CO     90014125908
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 950 of 2350


779827A5455969   GUADALUPE     CARRASCO                    CA     48033287054
77983774A91924   ROGELIO       MALDONADO                   NC     90012587740
779837A8693739   LATOSHA       HALIBURTON                  OH     90001477086
77985117497B39   BRANDY        COOK                        CO     90009671174
77985332A7B477   DIANA         ORTEGA                      NC     90014863320
779859A6A72B87   ARMANDO       GARCIA                      CO     90011239060
77985A45881633   PAT           MCCARTNEY                   MO     90003940458
77987178A71921   FELIPE        MARCIAL                     CO     32021471780
7798765948B134   NATE          HILL                        UT     90014636594
7798774A655969   JEREMY        SMITH                       CA     90015167406
77987982A5B59B   MICHELE       FLORES                      NM     90012069820
7798845A133698   CHRISTINA     SEGUIN                      NC     90010784501
77989292A8B157   JUAN          DEL CID                     UT     31089332920
7798941332B271   TAMETRIS      MORRIS                      DC     90015074133
7798986515B24B   MAHOGANY      BRYANT                      KY     90002918651
7798B15918B163   FERNANDO      PEREZ                       UT     90012431591
7798B168393739   NAQUANA       ROGERS                      OH     90013661683
7798B914431433   NUQKUMA       KUSHMA                      MO     90011309144
7799127AA8B157   BLANCA        MENDOZA                     UT     90007372700
7799142A271921   MARILYN       DOMINGO                     CO     90004224202
77991472772B22   DONOVIN       PADILLA                     CO     90013234727
77991586872B29   ALISHIA       TAYLOR                      CO     90011405868
7799163A355947   JEANETTE      NEWCHURCH                   CA     90011076303
7799172392B271   KAREEMA       BADAWI                      DC     90014067239
77991773A93739   PATRICIA      WILSON                      OH     90014647730
7799254285B38B   CLARENCE      MALLETT                     OR     90012145428
7799312298B134   MARIA         HERNANDEZ                   UT     90015151229
77993881172B87   MICHELLE      MILLIGAN                    CO     33062298811
779941A7A55947   RICHARD       DUNBAR                      CA     90011091070
7799515755B59B   JOLIE         SIMMONS                     NM     90014531575
7799582AA55969   MIKE          HUGHES                      CA     90000598200
7799673768B163   SASHA         ANTONIO                     UT     90014747376
77997136572B44   SHAYLYN       GLAHA                       CO     90011031365
7799732735B59B   LUIS          SAENZ                       NM     90010753273
7799743398B157   MARTHA        LONG                        UT     90009044339
7799746445B384   VALDEMAR      VAZQUEZ                     OR     90003284644
77997A6382B994   ANGELINA      VARGAS                      CA     45093220638
7799848488593B   MEGAN         BRIGHT                      KY     90012924848
77998659472B22   ELIZABETH     GARCIA                      CO     33097306594
7799882213168B   TONIA         HAMMER                      KS     22048278221
779993AA381633   ALISA         FREEBERG                    MO     29032133003
77999A28491588   MARIA         OLIVAS                      TX     90008010284
77999A51755947   ANGEL         MELENDEZ                    CA     90012590517
7799B356531433   JOHN          STOVERINK                   MO     90011973565
7799B4A8931432   VIVIAN        COLLINS                     MO     90007174089
7799B736472B29   SUE           ESPARZA                     CO     33028267364
7799B87425B59B   MARLENE       VALDEZ                      NM     90013478742
7799B997755969   DARIO         ESPINOZA                    CA     90006389977
779B141247B477   SHAQUEL       ELLISON                     NC     11027414124
779B1415A5B28B   BOBBY         JACKSON                     KY     68056854150
779B1558385954   ELVIE         MINIARD                     KY     90013995583
779B157755B354   VANESSA       OLDFIELD                    OR     90012935775
779B177748B168   ANDRES        JAIMES                      UT     31062607774
779B2672571921   TAIDE         YVONNE                      CO     90001516725
779B27A7A5B522   TANARAE       ROMERO                      NM     35096827070
779B319368B163   HORTENCIA     FLORES                      UT     90010601936
779B3215655947   JESSE         BARAJAS                     CA     49069622156
779B3226591588   ARLENE        LIRA                        TX     90011322265
779B3272433698   ALVIN         SMITH                       NC     90013142724
779B345473168B   ANN MARIE     KNUTSON                     KS     22004254547
779B3779993739   TONY          KISER                       OH     64589067799
779B3866871921   SUZANNA       PHILLIPS                    CO     90002098668
779B4229A7B477   ADOLFINA      VALENCIA                    NC     90007962290
779B4353A72B87   VICTOR RENE   SALGADO                     CO     90014183530
779B4639233631   MARYBEL       STOUT                       NC     90008626392
779B484678B157   JARED         GREBB                       UT     90012858467
779B4922866171   JERRY         MATHES                      CA     90014069228
779B4A46272B22   JESSICA       ALBO                        CO     90005800462
779B5242972B87   CAMILO        AMADOR-BARRON               CO     33078442429
779B5259372B37   JUSTIN        SOKLIN                      CO     90010712593
779B5357171921   TERRELL       TAYLOR                      CO     90009643571
779B5613281633   CELILIA       CRAWFORD                    MO     90006726132
779B596975B326   DENISE        CORSETTI                    OR     90011209697
779B5AA687B477   SUSAN         BROWN                       NC     90014440068
779B6533791588   JESUS         BARRAGAN                    TX     90005435337
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 951 of 2350


779B6588672B29   JACKELINE     MANCILLA                    CO     33086545886
779B6653181633   KENDRA        DAVIS                       MO     90015156531
779B684982B994   ROBIN         ALEXANDER                   CA     45017598498
779B685188B168   PAHL          BENCH                       UT     31000928518
779B729A372B87   CHAD          RICE                        CO     33049642903
779B742A572B22   ROSS          LASKOWSKI                   CO     90000674205
779B754A18B142   STEVE         WALKER                      UT     31052515401
779B7775241253   ROSE          JONES                       PA     90014267752
779B7A2A871921   LAURIE        HOCHMUTH                    CO     90012160208
779B7A99931432   MATE          PITTS                       MO     90011550999
779B8429591588   RUTH          FUENTES                     TX     75011574295
779B852145B59B   ESTRELLA      CARDENAS                    NM     90014725214
779B8815172B22   CHRISTOPHER   CLONTZ                      CO     90012058151
779B941922B271   LILIANA       SANTOS                      VA     90012364192
779B952A971921   TERRILL       PAUL                        CO     90004175209
779B95A3A72B22   ANNA          MUNOZ                       CO     33094485030
779B9889181633   GUSTAVO       MONTOYA                     MO     29057358891
779B9899172B37   ROBER         ROBINSON                    CO     90007168991
779B9A3648B142   IDONA         LAMY                        UT     90013960364
779BB25218593B   SHAWN         FLYNN                       KY     90015032521
77B1124A75B59B   MARIA         GRIEGO-ESPINOSA             NM     35051632407
77B11286372B87   JACOB         GINN                        CO     90014752863
77B11294971921   ADRIANA       MUNGUIA                     CO     32018212949
77B11434272B29   DANIEL R      GOMEZ                       CO     90013004342
77B11457355969   SHARRA        GILLILAND                   CA     90014614573
77B11736731443   ROBERT        BRINKMANN                   MO     90012577367
77B11996797B45   JANET         QUIGLEY                     CO     90011849967
77B12348941253   TRACY         PRINCETON                   PA     90012283489
77B1243875B59B   CASAN         CONISLIO                    NM     90012334387
77B13648131432   FELICIA       BENSON                      MO     27506926481
77B13858351368   TRINETTA      HEATH                       OH     90003878583
77B14447133698   DENETRA       STATON                      NC     90010894471
77B14656872B22   FISHER        DARLING                     CO     90010346568
77B15324255947   RYAN          WHITE                       CA     90014203242
77B15616472B44   LYNN          DEBRA                       CO     90012966164
77B15871761988   FERNANDO      HERNANDEZ                   CA     90012048717
77B16186872B44   JORGE         NORIEGA                     CO     90011111868
77B164A2333698   LEONARD       WILLIAMS                    NC     90014844023
77B16677471921   VIRGINIA      BALTIER                     CO     32011226774
77B16843872479   RACHEL        JASZEMSKI                   PA     90005148438
77B1688645B384   BAO           KHOAI                       OR     90004998864
77B16988272B87   ANTONIA       RAMIREZ DEGOMEZ             CO     90014179882
77B1717A455969   MATTHEW       GARCIA                      CA     90013741704
77B17836A55947   MARISELA      CHAIDEZ                     CA     90012878360
77B18161533645   DANIELLE      LAUGHLIN                    NC     90014391615
77B18221781633   ALBERTA       PEARSON                     MO     29050882217
77B1834312B994   GUADALUPE     HERRERA                     CA     90013063431
77B183A9133698   MAXIMINO      LOPEZ                       NC     90015443091
77B18447931432   CIARA         HOLMAN                      MO     90003144479
77B18495841227   AARON         CHRISTOPHER                 PA     90001884958
77B18617972B22   MICAELA       GARCIA                      CO     33022906179
77B1865795B238   MICHAEL       ROSS                        KY     68018186579
77B19284241237   JALEESA       KING                        PA     90002042842
77B1933918593B   TIMOTHY       LANDERS                     KY     66031553391
77B19412171921   CHRISTINE     GONZALES                    CO     90005904121
77B19A79485871   BRUCE         BENNETT                     CA     90010060794
77B2134435B59B   GLORIA        LUJAN                       NM     90004723443
77B2134568B157   NICK          GOSDIS                      UT     31032353456
77B2163578B142   SANDRA        FLORES                      UT     90006046357
77B21651A41253   REMONDO       WILLIAMS                    PA     51099536510
77B21755791225   WILLIE        COLCLOUGH                   GA     90010737557
77B2245A88B134   KAREN         THOMPSON                    UT     31062044508
77B23672541253   JANET         HOOD                        PA     51064296725
77B23874431443   ROSALIND      JOHNSON                     MO     90014168744
77B24253271921   ELIAS         CHILEL                      CO     90011162532
77B2468778B134   VERONICA      RAMIREZ                     UT     90008356877
77B248A6991588   OLAYA         CALANCHE                    TX     90013698069
77B249A337B477   EFRAIN        GARCIA                      NC     90010329033
77B25499297B45   ODONTUYA      DAVAASAMBUU                 CO     90010054992
77B25524272B44   JESSICA       PEREZ                       CO     33028255242
77B25972272479   RACHEL        HECKMAN                     PA     90005669722
77B25A5166198B   MICHAEL       KADIE                       CA     46025060516
77B26756A55947   JESUS         SOTO                        CA     49069507560
77B26776155969   TOMASA        ARIAS                       CA     48085117761
77B2689648B134   JAMES         PEREA                       UT     31027278964
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 952 of 2350


77B26A81841237   JAHMAHL      ADAMS                        PA     90011200818
77B27836972B22   JOSE         MEDRANO                      CO     33016008369
77B27891872B37   PATRICK      SHIRE                        CO     90000418918
77B27A32531432   TANYA        MARKOWSKI                    MO     27593140325
77B27A35471921   SARA         BIEBER                       CO     90014830354
77B282A415B59B   ALAN         RICHARDSON                   NM     90005232041
77B28334172B87   HERMINIA     BACA                         CO     90008403341
77B28642797B45   STEVEN       KAGE                         CO     90014856427
77B2885895B384   MISTY        DOTY                         OR     90005918589
77B28AAA531443   DEANNA       JOHNSON                      MO     90013070005
77B2911898B168   JEFF         KINSEL                       UT     90008611189
77B29199697B45   RENEE        LEGAN FERRELL                CO     90001181996
77B2933632B994   EVERARDO     PEREZ                        CA     45052733363
77B2942694B548   MATILDE      VASQUEZ                      OK     90009974269
77B29A43755969   ANTHONY      HUGHES                       CA     90003060437
77B2B1A4172B22   ROB          TOLVO                        CO     90015121041
77B2B399141237   BRANDY       DOTSON                       PA     51051453991
77B2B973172B87   TERRY        BOONE                        CO     33086289731
77B3126212B271   JULIE        TUCKER                       DC     90014552621
77B312A3181633   STEVE        MILLER                       MO     90006882031
77B316A278B168   MIRNA        MIRANDA                      UT     31013626027
77B31943A3B358   EDWIN        LARA                         CO     90005729430
77B31959872B22   VICKIE       ZARICHNY                     CO     90012999598
77B31974591588   SOCORRO      MONARREZ                     TX     75054379745
77B32274671921   KIMBERLY     SCHNEIDER                    CO     90013202746
77B32578372B29   FRANSISCA    GARCIA                       CO     90014885783
77B3281585B384   ROBERT       JACOBS                       OR     44597148158
77B3313988B168   CESAR        MENDEZ                       UT     90015021398
77B3319929139B   LORENA       SANCHEZ                      KS     90011961992
77B33351431432   CHASITY      BLOCKER                      MO     90013013514
77B333A795B37B   FRANCISCO    RUIZ-CISNEROS                OR     90015173079
77B3348648B134   ALISHA       GALVAN                       UT     90008974864
77B33645955969   JESSIE       MAYORGA                      CA     90014956459
77B33867A8B163   JUANA        MONTIEL                      UT     90014718670
77B3438628B582   ISIDREO      ESPINONA                     CA     90015523862
77B3441575B59B   ADOLFO       CASTILLO                     NM     35011944157
77B35174A72B32   PENNY        STOUT                        CO     90011891740
77B3539342B271   MARQUIS      BUCHANAN                     DC     90014723934
77B35421671921   DAVID        JENNINGS                     CO     90012624216
77B35684631443   JOHN         NEEDHAM                      MO     27598296846
77B35939172479   CYNTHIA      CLENDENEN                    PA     90009499391
77B35A1425B354   ELISEO       TOLEDO LOPEZ                 OR     44580400142
77B36212155947   JENNIE       MOYA                         CA     90005732121
77B365A6755969   CATALINA     NIETO                        CA     48007965067
77B36672541253   JANET        HOOD                         PA     51064296725
77B36688197B45   ADAM         BLACK                        CO     90013536881
77B36792931433   MICHELLE     ROBINSON                     MO     90007387929
77B36822872B37   R D REPAIR   R D REPAIR                   CO     33017898228
77B36AA647B477   JUHONEY      LOPEZ                        NC     90010180064
77B3714348B168   MIRIAN       BETANZOS                     UT     90015021434
77B3826813168B   DAVID        HYMER                        KS     22042222681
77B38414A7B477   SHADATIA     WARD                         NC     90003954140
77B38574172B29   EUSTOLIA     HERNANDEZ                    CO     90014255741
77B38725672B87   MEREJILDO    CONCHAS                      CO     33045657256
77B3874698B142   STACEY       DOUGLAS                      UT     90009657469
77B3874925B384   ALICIA       RIOS                         OR     44572697492
77B397A9855969   TIA          NIX                          CA     90001367098
77B3999738B163   JIMMY        RIVERO                       UT     31076709973
77B3B343141227   TIA          STERLING                     PA     90003933431
77B3B546372B29   ELISHA       ABEYTA                       CO     90012105463
77B41253391566   LISA         PEDREGON                     TX     90008872533
77B412AA972B37   KIMBERLEY    JOHNSON                      CO     90010712009
77B41341855947   GUADALUPE    HERNANDEZ                    CA     90013403418
77B4198A155969   VERONICA     CASTILLO                     CA     90011409801
77B41A27291588   ALEJANDRO    RODRIGUEZ                    TX     90012500272
77B4224145B395   EUNICE       GALEANA                      OR     90006472414
77B4233A872B44   SARINANA     ARMANDO                      CO     33079723308
77B424A1A72B37   WILLIAM      BAKER                        CO     90002164010
77B4264288B157   GERARDO      RANGEL                       UT     90012666428
77B43116741253   SYLVIA       NOLEN                        PA     51028971167
77B4427485B37B   JORGE        ORANTES                      OR     90014992748
77B44984297B45   ALISSON      MEJIA ALFARO                 CO     90014989842
77B449A2772B29   MARTHA       MENDOZA                      CO     33085799027
77B45325861964   GREG         YONTZ                        CA     90008113258
77B4546127B354   DANILO       RAMIREZ                      VA     90009194612
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 953 of 2350


77B4547AA8B163   KATHY         FURSE                       UT     31079794700
77B45579281633   RODNEY        SMITH                       MO     90013315792
77B45648441237   NIKKI         BERGGREN                    PA     51075856484
77B457A845B59B   PAYGO         IVR ACTIVATION              NM     90012977084
77B4598A672B29   AARON         HODGE                       CO     90013879806
77B4624778B142   JENNIFER      REECE                       UT     90015082477
77B4645AA5B384   DIANA         GARCIA                      OR     90006924500
77B4656155B326   IRENE         VILLA                       OR     90012275615
77B46612472B32   OMOWUNMI      KOLA-KEHINDE                CO     33096966124
77B46A78593739   MICHAEL       IZOR                        OH     64551420785
77B4732582B271   KEVIN         HINKLE                      DC     90012133258
77B4759A855947   TANYA         ROBINSON                    CA     90014565908
77B47774671921   JEMIMA        OYAKOYI                     CO     90011487746
77B47847593767   LATISHA       CALDWELL                    OH     90010618475
77B47858A71921   JEMIMA        OYAKOYI                     CO     90013178580
77B48352131433   JAMIE         HERBERT                     MO     27557893521
77B48742531433   LINDA         HAYES                       MO     90013957425
77B4885355B37B   JORGE         LOPEZ                       OR     90013508535
77B49299272B87   JOANA         GEORGESCU                   CO     33088492992
77B492A755B386   CYD           GANN                        OR     90001102075
77B49894433B44   JOSE          SENDO                       OH     90015068944
77B49A82472B32   MARTINA       ESTRADA                     CO     33046980824
77B4B343972B32   REBECCA       MUNIZ                       CO     33001993439
77B4B38135B59B   BERNABE       TORRES                      NM     90013213813
77B4B625A54121   STEVEN        SIMPSON                     OR     90014806250
77B4B63342B271   DIANA         JOHNSON                     DC     81095806334
77B4B75A741253   JUDITH        PARKIN                      PA     51066717507
77B4B775131432   APRIL         COLEMAN                     MO     27575157751
77B4B878A5B384   STEVE         NELSON                      OR     90004998780
77B51125261988   JOY           LAWRENCE                    CA     90012821252
77B51136371921   STEPHEN       RHOADES                     CO     90007581363
77B5161867B477   ROQUE         CORTES                      NC     90009246186
77B51817372B37   ISIDRO        TAPIA                       CO     33095838173
77B51A2968B142   STEVE         GUSTAFSON                   UT     90007260296
77B52142172B22   ANA           AGUILAR                     CO     90013611421
77B52216231432   JASMINE       MCCOWAN                     MO     90013232162
77B52547772B32   JESSIE        GOMEZ                       CO     90010125477
77B529AA88B163   ABDULAMAJID   ALI                         UT     90014719008
77B53382172B87   NATASHA       RUGLEY                      CO     90011513821
77B5354A18B142   NATALEE       REDHAIR                     UT     31070005401
77B53591393739   WENDELL       FORD                        OH     90009855913
77B53811672B22   HUGO          LEON                        CO     33058878116
77B5395287B477   DELTRIC       GLOVER                      NC     90014089528
77B5415832B271   ANTONIO       ARMELLE                     DC     81095811583
77B55214A72B29   LUPE          GONZALES                    CO     90005652140
77B55374231432   SHERMAN       MERRIWETHER                 MO     27575163742
77B55887972B32   DAVID         CRAINE                      CO     90012448879
77B55947972B32   ROBERT        KENNEDY                     CO     90012829479
77B5646528B163   KYLIE         JEFFS                       UT     90015284652
77B5696A372B87   GUILLERMO     OROZCO                      CO     90011559603
77B56A5A672B29   DANIEL        MORENO                      CO     33011020506
77B57291872B23   RYAN          LE BARON                    CO     90012002918
77B578A2155969   TANIA         VASQUEZ                     CA     48041178021
77B58161955947   CARLOS        ANDRADE                     CA     90004331619
77B58479531432   JASON         HARPER                      MO     90007374795
77B58532581633   MONIQUE       ROSS                        MO     29043785325
77B58845955947   FLORENTINA    ALFONSO CHAVEZ              CA     90012218459
77B589A916196B   MARK          FEOLI                       CA     46014849091
77B5945A281633   MANUEL        GARZONA                     KS     29002014502
77B59829172B37   MARISELA      RODRIGUEZ                   CO     33085118291
77B5B199984327   CHERYL        BENNETT                     SC     90008081999
77B6134275B596   MONICA        TELLEZ                      NM     90009023427
77B61392A71921   RHONDA        GRIFFIN                     CO     32090833920
77B6147952B994   SHERRIE       ROW                         CA     90014004795
77B61624972B29   MICHELLE      VALDEZ                      CO     90001366249
77B6182A172B37   JUAN          GALVAN                      CO     90011718201
77B61922872B87   SCOTT         DOWNEY                      CO     90005819228
77B6192378B163   EDGAR         MEDINA                      UT     90014719237
77B6276158B134   MARK          BATEMAN                     UT     31083677615
77B6279A45B373   GEORGIANA     WARNER                      OR     90004707904
77B62995772B87   JAIME         NUNEZ                       CO     90014169957
77B62A78772B22   SANDY         HENDERSON                   CO     33097070787
77B63995772B87   JAIME         NUNEZ                       CO     90014169957
77B6433925B241   EARL          JETTER                      KY     90003933392
77B6444A491588   SERGIO        FRANCO                      TX     75081664404
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 954 of 2350


77B64873A76B4B   GRACE         MIRANDA                     CA     90010348730
77B64A32651349   CYNTHIA       BROWN                       OH     90013820326
77B651A7A55947   CANDELARIO    PEREZ                       CA     49002791070
77B65385A8B142   SHAWN         GUSTAVESON                  UT     90005003850
77B6543227B428   PORCIA        DOUGLAS                     NC     90000954322
77B65579391588   JONATHAN      SALINAS                     TX     90013485793
77B65668A31432   QUINCY        LEWIS                       MO     27506676680
77B6573325593B   LEANDRA       MOLINA                      CA     90010227332
77B657A5A71921   VIRGEN        MARCELINO-HERRERA           CO     90001847050
77B65A45A72B29   BEV           JAROSEZ                     CO     90009010450
77B6696A771921   HUBERT        WILEY                       CO     32032759607
77B66A23131433   DAWN          JENNINGS                    MO     90014910231
77B66A86181633   SHANTAE       SMITH                       MO     29011420861
77B6726518B157   MICHELE       HEUSER                      UT     31090732651
77B67337A91588   CECILIA       MIRANDA                     TX     75092563370
77B67493272B32   SAY           MEH                         CO     90011474932
77B6752367B477   EBERTH        CAPOTE                      NC     11005695236
77B677A7831432   ADREAUN       GRIFFIN                     MO     90012797078
77B67976172B87   CRUZ          CHACON-MONTES               CO     33020259761
77B67A38133698   MIRANDA       SANCHEZ                     NC     12048150381
77B67A86541237   CREE          CARTER                      PA     51034870865
77B6874AA4B27B   LUIS          MARTINEZ                    NE     90010927400
77B68A8A672B87   DANIEL        TAYLOR                      CO     90013160806
77B6947952B994   SHERRIE       ROW                         CA     90014004795
77B698A948B157   SHELLEY KAY   O BRIEN                     UT     90013518094
77B6992A78B134   JEFF          WADSWORTH                   UT     90013529207
77B69A14831443   MERILYN       JACKSON                     MO     90014170148
77B69A6198B163   JOHN          HEINLEIN                    UT     90006500619
77B6B232672B44   GABRIELA      RODRIGUEZ                   CO     33021192326
77B6B479672B37   PEARL         HERRERA                     CO     33012304796
77B6B58888593B   LARENCE       KLOPFER                     KY     90015125888
77B6B5AA993739   KRISTINA      SMITH                       OH     64540635009
77B6B912397B45   ASHLEY        FOULK                       CO     90005159123
77B71133831432   AMBER         MITCHELL                    MO     90013251338
77B71223972B29   YVONE         GONZALEZ                    CO     90010672239
77B71369172B37   PAULA         ROBINSON                    CO     33089713691
77B71476341227   TRACEY        CARSWELL                    PA     51054754763
77B71489493739   MISTI         ROWLAND                     OH     64512544894
77B7149125B229   DANNY         NAPPER                      KY     90011344912
77B7158948B168   TONI          MARTIN                      UT     90015035894
77B7174A78B134   SERENA        RIDGWAY                     UT     90010677407
77B7217578B163   MELISSA       MENDOZA                     UT     31024401757
77B7279A831432   CIARA         DUKES                       MO     90013817908
77B7374128593B   BRIAN         LIGHTNER                    KY     66091057412
77B73A14831443   MERILYN       JACKSON                     MO     90014170148
77B7455A855947   JUANCARLOS    VALDEZ                      CA     90008365508
77B7458955B55B   ROSALBA       IBARRA                      NM     90012695895
77B74896272B87   COLLEEN       SALGADO                     CO     33017808962
77B75195771921   ROBERT        MARTINEZ                    CO     90009401957
77B75443431433   NICHOLE       BASEMORE                    MO     90013294434
77B7571998B157   VICTOR        LIMA                        UT     31037977199
77B75A97141253   KIRK          GONZALES                    PA     90012710971
77B76223655921   LUCILA        REYES                       CA     90009172236
77B76548571921   MARY          JOHNSON                     CO     90010625485
77B76948272B29   CRYSTAL       ROWE                        CO     33028529482
77B76992572B87   TRACY         LYNCH                       CO     90014169925
77B769A5231433   TEKASHEENA    DICK                        MO     27503739052
77B76A6117B477   CRYSTAL       CORRELL                     NC     11013210611
77B7747268B142   BRYAN         CARTER                      UT     90012754726
77B7786668B134   SALVADOR      MARTINEZ                    UT     90010928666
77B78652391588   ANTONIA       RAMIREZ                     TX     75053086523
77B78A32531432   TANYA         MARKOWSKI                   MO     27593140325
77B79222333698   NICK          ABUKHALAF                   NC     12063242223
77B7977385B37B   BIN           YANG                        OR     44533697738
77B7B152541253   DONALD        MILLER                      PA     90015211525
77B7B417172B37   ASHLEIGH      HOFFSCHNEIDER               CO     33031824171
77B7B462471921   WALTER        BENSON                      CO     90011404624
77B81111155969   MELINDA       LAVIOS                      CA     90009411111
77B81139281633   DIANE         HOPSON                      MO     29022441392
77B81199163669   THOMAS        SIMMONS                     MO     27500881991
77B81348A5B37B   MARCELINO     PINEDA                      OR     90008113480
77B81468171921   JOSE          SANCHEZ                     CO     90011164681
77B82219691588   JOSE          GONZALEZ                    TX     90002692196
77B82281397B45   JANETTE       TRUJILLO                    CO     90010972813
77B8242A771921   JASMINE       WARD                        CO     90015604207
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 955 of 2350


77B82734572B44   ADAN               VILLA                  CO     33072827345
77B82A35231443   CHRIS              NDJUNGU                MO     90014170352
77B83288281633   ASCENSION          ALEJANDRE              MO     90007762882
77B83523255982   GUADALUPE          BRISENO                CA     90005785232
77B83679855969   LUIS               POLANCO                CA     90002466798
77B83825931443   PAYGO              IVR ACTIVATION         MO     90013458259
77B83A56341237   TRACI              JOHNSON                PA     90011850563
77B83AAA872B87   ADAN               CORONA                 CO     90014170008
77B8422675B59B   LATICIA            CHAVEZ                 NM     90013272267
77B8422775133B   GREGORY            GILBERT                OH     66000272277
77B84352331443   SHAWNETTE          PACK                   MO     27594823523
77B8447343B35B   RODRIGUEZ          FERNANDO               CO     90010334734
77B8448918B163   TILLIE             BARNES                 UT     31088944891
77B84926A8B157   CANDICE            DEVARGAS               UT     90012929260
77B85493933698   RAMIRO             RODRIGUEZ              NC     90001324939
77B8593648B168   JESUS              VALLADOLID             UT     31074819364
77B8596712B271   RALPH              BENNETT                VA     90013569671
77B85982555969   JESSICA            WALLACE                CA     90014319825
77B85AA8A72B29   ATHALEE            JONES                  CO     90013960080
77B86465141253   MARIA              BAKER                  PA     51083714651
77B8656278B163   GLADIS             HERNANDEZ              UT     31013135627
77B86686655969   CARRIE             VILLAREAL              CA     48047166866
77B87316372B22   JERRY              SCHMIDT                CO     90011553163
77B87335872B87   EDGAR              ZUBIA                  CO     90014593358
77B88142881633   TAMMY              MARTENS                MO     90009571428
77B88229693739   CINDE              HOARD                  OH     90011662296
77B88234A91588   ANTONIA            MORRISON               TX     90009722340
77B88493972479   GARY               GRIMES                 PA     90006334939
77B88539471923   KRISTIAN           SWINT                  CO     90003475394
77B8858138B163   TRACY              BAXTER                 UT     31094675813
77B88655372B44   KAYLA              CHAVEZ                 CO     90012416553
77B88846631443   MARY               SHEROD                 MO     90008908466
77B8885765B384   DONNA              GETZ                   OR     44595588576
77B88963471921   MARTHA             MUEHL                  CO     32015809634
77B8924A38B163   STEPHANIE DOREEN   BLOWERS                UT     90014672403
77B8952612B271   QUENTIN            BLACKMON               DC     90012915261
77B8966543168B   CLINT              TERRILL                KS     22090236654
77B8B886893767   MICHAEL            FARRAR                 OH     90006348868
77B914A798B142   CASEY              JOE                    UT     90006634079
77B9165878B168   JESSICA            LINDSEY                UT     90011656587
77B9187525B384   GRISELDA           BOLANOS ROCHA          OR     90010688752
77B91A76172B32   TIMOTHY            ZACHMAN                CO     33067600761
77B92229685629   CECILIO            LOPEZ                  NJ     85032232296
77B9324262B994   LAURIE             BRYANT                 CA     90013182426
77B93243255969   FERNANDO           VILLA                  CA     90003122432
77B93262786434   BOBBY              HORNE                  SC     90010312627
77B933A6372441   MELANIE            MODROVICH              PA     51010373063
77B9393712B271   KENNETH            AGNEW                  DC     90009329371
77B94523572B32   DR FRANKIE         LOUDDER                CO     33057065235
77B94675291588   JULIAN             RODRIGUEZ              TX     75080036752
77B9479A48B142   ANNETTE            MELDRUM                UT     31069767904
77B94814757123   DORA               CHAVEZ                 VA     90006558147
77B95243641237   PAT                PRUDEN                 PA     90012072436
77B95556451391   TERRANCE           SCHOOLER               OH     90011855564
77B95557272B87   ALICIA             CHIHUAHUA              CO     90013325572
77B95712661927   ANGELICA           JARDESTEN              CA     46028517126
77B95877181633   DAVID              WEST                   MO     90012628771
77B96849131433   RUSS               FORBES                 MO     90015158491
77B96919A72B87   JESUS              LOPEZ                  CO     90003029190
77B9712868B157   DERRICK            JONES                  UT     90009571286
77B973A1472B32   DAVID              MAHAN                  CO     33081423014
77B97586172B37   RICARDO            OLMOS                  CO     90010115861
77B97783631443   PATRICK            PERSON                 MO     90014177836
77B98466172B29   JESUS              Z                      CO     90012864661
77B98519972B32   FRANKIE            MEDINA                 CO     90013665199
77B9855698599B   KATIE              MCCOMAS                KY     66009855569
77B98754672B22   ISMAEL             RODRIGUEZ              CO     33004237546
77B98944597B45   OSCAR              SOTO                   CO     90012319445
77B99189472B87   ERNEST             GURULE                 CO     90013371894
77B9923475B37B   BREEANNA           JOHNSON                OR     44532702347
77B997A1A93739   MIMI               COX                    OH     64591477010
77B99A3258B168   JOSHUA             THOMPSON               UT     90008090325
77B9B15438B168   JOSE               MENJIVAR               UT     90007121543
77B9B24988B157   ELISA              LUCERO                 UT     90014902498
77B9B295193739   JOHNNY             HICKS                  OH     90011132951
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 956 of 2350


77B9B3A478B142   CHRISTOPHER   MCCLOSKEY                   UT     90014423047
77B9B4A6A5B37B   ASHLIE        MONTGOMERY                  OR     90011584060
77B9B531872B2B   JAMES         DOUGLAS                     CO     90010015318
77B9B584472B87   DONNA         RUBIL                       CO     33002705844
77B9B89452B994   CESAR         MOLINA                      CA     90008058945
77B9B958872B32   NOE           VASQUEZ                     CO     90014789588
77B9BA5733168B   MARIA         GUEREQUE                    KS     90012210573
77B9BAA438B134   ANA           LOBATO                      UT     90013150043
77BB1126697B45   SIMMS         MYRON                       CO     90010741266
77BB12A4831443   LANEE         MERRIDITH                   MO     90013152048
77BB1444241237   ALBERT        OLSAKOVSKY                  PA     51006284442
77BB1838172B87   ALVARO        BARAZA                      CO     33042378381
77BB1A95855947   ROXANNE       RODRIGUEZ                   CA     90006040958
77BB2265472B22   SHAUNTE       LUNA                        CO     33089662654
77BB2647341237   MARK          HANN                        PA     90011086473
77BB277188B163   BETTY         HOPKINS                     UT     90007507718
77BB3429697B45   SUZI          GREENFIELD                  CO     33076644296
77BB3A6128B163   HARDING       ANALCO                      UT     31093870612
77BB443787B477   CLAUDIA       ARREOLA                     NC     90014284378
77BB44A619137B   JOHN          LOYD                        KS     90014524061
77BB457985B279   JEFFERY       ATHERTON                    KY     90009275798
77BB4A75A41237   SHRENA        WILLIMS                     PA     90015280750
77BB521578B168   JAYMZ         URE                         UT     90008242157
77BB541748B157   AHAMED        MOHAMMED                    UT     90013624174
77BB5432372B32   JANELLE       PERRI                       CO     90014884323
77BB5488197B45   NORMAN        FAIROW                      CO     90003344881
77BB552568B157   HERNANDEZ     EDMUNDO                     UT     31073405256
77BB573238B134   AMY           TINGEY                      UT     31012447323
77BB5773A7B477   KELLY         EDDINGS                     NC     90010727730
77BB668758B142   MERCEDES      CHRISTIANS                  UT     90009186875
77BB6831441237   DAVE          VATES                       PA     90015308314
77BB7831372B22   REYNOSO       SANDRA                      CO     33024558313
77BB7869797B45   SUSANA        GUERRERO                    CO     90015508697
77BB78A168B134   HAMZA         FOFANAH                     UT     90013028016
77BB815A193739   DAVIDDA       KNIGHT                      OH     64589701501
77BB8263455969   BERNARDO      TREJO                       CA     90012392634
77BB8288241253   ELIZABETH     YEAGER                      PA     90008192882
77BB836218593B   FRANCES       RISTER                      KY     90014433621
77BB8754455947   LISETTE       GARCIA                      CA     90012477544
77BB9367A72421   KIRK          YOUNG                       PA     51051813670
77BBB211755966   CLAUDIA       MENDOZA                     CA     90012352117
77BBB3A4972B44   NINFA         SOSA                        CO     90005443049
77BBB577872B22   ROSAMARIA     GARCIA                      CO     33047865778
77BBB792972479   WILLIAM       HEIDE                       PA     90004887929
77BBB86253162B   VERONICA      DIXON                       KS     90000958625
77BBBA56372B87   HECTOR        GUTIERREZ                   CO     90013160563
78112248472B37   ALEJANDRO     LUVANO                      CO     90012892484
7811256688B168   DAVID         SANDOVAL                    UT     90006475668
7811316589154B   CLAUDIA       ACOSTA CHAVEZ               TX     75008301658
78114A32891266   VANESSA       RIVERA                      GA     90007870328
7811574648B157   VALENTINA     ALCANTAR                    UT     90014467464
78115818A8B163   KIMBERLY      PROKOPIS                    UT     90002938180
78115A5262B994   MARIA         ESPINOZA                    CA     90010950526
7811668298B163   JOHN          JONNSON                     UT     90012736829
78116A5262B994   MARIA         ESPINOZA                    CA     90010950526
7811743218B134   EZEKIEL       NGOR                        UT     90014854321
781177A759154B   VERO          DIAZ                        TX     90004407075
7811781175B59B   HOPE          MARTINEZ                    NM     35065158117
78117AA9671921   CINTHIA       ORTEGA                      CO     90003460096
7811875882B994   JOEY          BARRIS                      CA     90014707588
78118938672B44   ALBINO        VALDES VILLALOBOS           CO     33035839386
781189A368B157   MARIA         GARCIA                      UT     31036089036
7811B411333645   GERALD        GORDON                      NC     90004494113
7811B44AA72B29   JOHN          MCCOVY                      CO     90010754400
7811B586972B32   YASMINE       HERRERA                     CO     90013185869
78121289A5B557   REMBER        MANCIA                      NM     90014772890
7812146854B551   MICHELLE      HARMON                      OK     90007644685
781215A9391588   EN            LI                          TX     90013225093
78122293972B22   CARMEN        RAMIREZ                     CO     33041972939
781223A6972B32   JULIE         ARCHULETTA                  CO     33073953069
78122568A8B163   RICHARD       CLIFTON                     UT     90014945680
78122991A61922   ZACHARY       ORSTROM                     CA     90004189910
781232A1976B6B   YENNY         AVENDUNO                    CA     90003522019
7812332A331432   LINDSAY       LOHAGEN                     MO     90011593203
78123664772B37   T             CARMONA                     CO     33044326647
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 957 of 2350


78123A65233698   EXCLUSIVE    PRODUCTIONS                  NC     12057380652
781243A8572B87   NORMA        GUERRERO                     CO     33077743085
781244A247B477   EMILIANO     CARDONA                      NC     90015184024
7812494918B142   ROBIN        DUBOIS                       UT     31098149491
7812537432B994   FIDENCIO     FREGOSO                      CA     90011643743
78125A91933698   DEVON        MCINNIS                      NC     90010590919
78125A99731433   NICOLE       SUTTON                       MO     90014260997
78126425272B29   KEITH        KRANZ                        CO     33031604252
7812677718593B   DANIELLE     CUMMINS                      KY     90014717771
78126A35855969   JOEL         MARTINEZ                     CA     48069860358
7812712625B343   LARRY        TRENT                        OR     90014211262
7812783A976B6B   PATRYCE      TUCKER                       CA     90011608309
7812877718593B   DANIELLE     CUMMINS                      KY     90014717771
7812B199855939   BERNARDINO   CASIANO                      CA     90015361998
7812B523472B32   LUIS         QUIJADA                      CO     90005015234
7812B89519154B   MONICA       TOVAR                        NM     90006258951
7812BA63672B37   YANET        MATA RIVERA                  CO     90013090636
78131199172B87   FERNANDO     RODRIGUEZ                    CO     33057301991
7813168A372479   RYAN         JANKOWSKI                    PA     90005376803
78131AA6855947   MARIA        OTACO                        CA     49013930068
78132251776B6B   RIVERA       ALEJANDRO                    CA     90003722517
781322AA441237   SHARRON      BONNER                       PA     90011112004
7813235978B163   GWEN         KETTERER                     UT     31090063597
7813293A45B395   CHRISTY      SALAZAR                      OR     90001279304
7813316475B59B   RAYMOND      RUIZ                         NM     90000801647
7813335837B477   NORA         MORATAYA CRUZ                NC     90008163583
78133973576B6B   LOURA        CORTEZ                       CA     90013329735
78134265472B87   SHAUNTE      LUNA                         CO     33089662654
781344A168B157   GAUTHIER     NTIMAMOSI                    UT     90012654016
78134A84951355   PAMELA       BOATWRIGHT                   OH     66025090849
7813516748B134   LEEANZA      CAMPBELL                     UT     90013811674
781357A6272B37   MARIA        GARCIA                       CO     33030407062
7813582323168B   SHERRI       ROACH                        KS     22007568232
781364A518B163   ALVARO       PLAZOLA                      UT     90014994051
7813655515B343   ADRIANA      MENDOZA                      OR     90010275551
78136721372B29   KARMADEE     SILVA                        CO     90012357213
7813676558B134   ROBERT       MAXWELL                      UT     31002297655
781373A1776B6B   JORGE        GARCIA                       CA     90013753017
781374A485B343   BARRY        ROTHENBUCHER                 OR     90012054048
78137772A71921   DEBRA        PIXSER                       CO     32094717720
78137935A51348   DOMINIQUE    RICHARD                      OH     90014569350
78137A5528B163   JOELLE       SNYDER                       UT     31097760552
78138A26772B22   JEREMIAH     GALVIN                       CO     90008990267
7813912A972B29   ITZEL        ZAVALA                       CO     90015311209
7813919749154B   AILED        TORRES                       TX     90012761974
7813972168593B   PAMELA S     HOFFMAN                      KY     66040177216
7813B459555969   SAMUEL       MANDUFFIE                    CA     90012364595
7813B764A31432   FATAMA       WALLS                        MO     90014717640
78141355472B87   FRANK        GIARRAPUTO                   CO     33048013554
7814166885B343   COLBY        CURTIS                       OR     44542666688
7814177155599B   RAMON        BAEZ                         CA     90014117715
78142613972B44   BELEN        VASQUEZ                      CO     90001656139
78142652A81633   JAMES        COOK                         MO     90004226520
7814271328B157   HOUSTON      NEFF                         UT     90014667132
781435A139154B   ALEJANDRA    MARRERO                      TX     90011115013
781435A548B142   DONNA        GONZALEZ                     UT     90014875054
7814362759154B   YESENIA      GARCIA                       TX     75013166275
7814364675B384   GUILLERMO    ZAVALA                       OR     90004876467
7814428965B343   JOHNATHAN    ANDERSON                     OR     44598232896
7814445347B392   MEKDES       WASSIHUN                     VA     90003214534
7814512958593B   TIFFANY      RUMB                         KY     90009431295
78145276272B87   JOSEFINA     ORTEGA                       CO     90000342762
7814537748B155   CLEA         FEIGHT                       UT     90003693774
7814588A572479   SHEILA       WALSH                        PA     90007478805
78145984672B29   BLANCA       NUNEZ                        CO     33082919846
78145AA3181633   LATRECIA     KAYNE                        KS     90015570031
7814617985B35B   RYAN         GONZALEZ                     OR     90001711798
78146531A84322   BONNIE       HEDETNIEMI                   SC     90004835310
7814681995B59B   NICOLAS      HENLEY                       NM     90014118199
7814691532B224   MARQUITA     COOK                         DC     90001219153
7814772168593B   PAMELA S     HOFFMAN                      KY     66040177216
7814772353168B   FERANDA      GALLEGOS                     KS     90012237235
7814882119154B   PETRINA      WILLIAMS                     TX     90009048211
7814897145B343   HALEY        RIFE                         OR     90010719714
7814936178593B   RAYMOND      KOWOLONEK                    KY     66063413617
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 958 of 2350


781495A1533698   ATRILLA      CHAPMAN                      NC     90010955015
781499AA955939   AGUSTIN      GALVAN                       CA     48001029009
78149AA9731432   BRANDON      CHENG                        MO     27584260097
7814B31645B59B   VIRIDIANA    ESPINO                       NM     90010313164
7814B365593739   CLARENCE     VELA                         OH     64535723655
7814BA41676B6B   ROXANNE      ESPARZA                      CA     90002680416
78151379272B87   JOSHUA       RYCKMAN                      CO     90011783792
7815143778B134   SCOTT        HOLMAN                       UT     31094724377
78151A8943B387   PINEDA       TERESO                       CO     33037360894
781525A139154B   ALEJANDRA    MARRERO                      TX     90011115013
7815269729154B   LOURDES      GONZALEZ                     TX     90001796972
78152A36172B37   ANNE         RICHARDSON                   CO     33089300361
7815485AA5B32B   CLAUDIA      SOLANO ESTRADA               OR     90010938500
7815596615B384   MAJIC        STRONG                       OR     44581309661
78155A62785945   ROLAND       VILSAMA                      KY     90010550627
781561AA176B6B   JESSE        CRUZ                         CA     90013091001
781562A5872479   RICH         FUNDY                        PA     51082652058
7815666515B32B   JOSHUA       PARLETTE                     OR     90009186651
781568A782B994   JOANNA       MARTINEZ                     CA     90014718078
7815761185B343   KELSEY       GREEN                        OR     90011396118
7815785A57B477   TRAVIS       TORRENCE                     NC     90005958505
781578A782B994   JOANNA       MARTINEZ                     CA     90014718078
781579A3841253   VICTOR       REA BOTELLO                  PA     90011639038
78158129376B6B   ROSAELIA     SANCHEZ                      CA     90007641293
781583A9391588   ALBERTO      FLORES                       TX     75050943093
781593A669154B   OMAR         CARDOSO                      TX     90013733066
7815957739154B   LORENA       QUESADA                      TX     90002375773
781599A2844346   DESIREE      YOUNG-ROBINSON               MD     90003299028
7815B219A81633   AUTUM        NEVILLE                      MO     29061842190
7815B634131432   KALA         MARSHALL                     MO     90014266341
78161443572B87   YARED        YISHAK                       CO     90014904435
7816187478B134   SELAAFU      TAUTEOLI                     UT     90005698747
78161898772B37   CHAD         HANES                        CO     33079468987
781618A782B994   JOANNA       MARTINEZ                     CA     90014718078
781622A3A5B384   DANIELLE     BAILEY                       OR     90003982030
78162444172B87   ELIZABETH    MEDINA                       CO     90014904441
7816255857B477   JOE          PIETRAS                      NC     90005215585
7816262118B142   BRETT        BOULTON                      UT     31004346211
78163669572B22   RACHEL       BADLEY                       CO     90001756695
781636A6441237   AMIE         THOMAS                       PA     90011006064
781636A985B384   ELDORA       HAYES                        OR     44584276098
78163996276B6B   MELISSA      MONTEFORTE                   CA     90012199962
78164444172B87   ELIZABETH    MEDINA                       CO     90014904441
781644A7355969   BRANDON      MONROY                       CA     90014034073
7816451248B134   RACIEL       MONTOYA                      UT     90012835124
78164856A5B59B   DANIELLE     PADILLA                      NM     90013158560
78164A28772B37   CRYSTAL      GLADWELL                     CO     90012910287
7816515A591572   KARLA        HERRERA                      TX     75033641505
78165742672B29   JONATHAN     YOUNGER                      CO     90012847426
7816593375B384   TRYSTEN      REIGARD                      OR     90007029337
78165A28772B37   CRYSTAL      GLADWELL                     CO     90012910287
7816682592B994   IMELDA       AGUILAR                      CA     90014718259
7816698A13363B   RHONDA       BURNETTE                     NC     90002939801
78167187172B32   YANA         KIM                          CO     90009121871
78167699A8B134   TRACY        CLARK                        UT     90012416990
7816775A284322   MARICELA     ESPINO                       SC     14509037502
781678A2591522   JOSE         ZAMORA                       TX     90008508025
7816813585B384   NICHOLAS     BURCH                        OR     90011221358
78168597A72B22   SUBIA        SALVADOR                     CO     33094965970
7816869528B157   ERIN         HANCOOK                      UT     90000126952
7816871A655969   EDWARD       CORDEIRO JR                  CA     48089397106
7816965189154B   ANGEL        RAMOS                        TX     90009006518
78169688A33698   JERRY        HARRELSON                    NC     90013866880
7816B442855969   KEVIN        GRIFFIN                      CA     90009084428
7816B4A575B32B   OLGA         RODRIGUEZ                    OR     90003284057
7816B4AA79154B   BRENDA       ROCHA                        TX     90009994007
7816BA98972B22   STEVEN       BRADLEY                      CO     90006660989
78171491772B22   JASON        GATZ                         CO     90013584917
78171665676B6B   ISABEL       JARAMILLO                    CA     90014716656
7817172748B185   MATT         BOYACK                       UT     90011697274
7817231179154B   DARLEEN      HERNANDEZ                    TX     75089083117
7817283168B142   ANDREW       SMITH                        UT     31079068316
78173512A72B22   APRIL        HAILPERN                     CO     90015145120
78173695176B6B   LETICIA      PONCE                        CA     90006146951
7817373585B59B   APRIL        FRAIRE                       NM     90013487358
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 959 of 2350


7817436A493739   LANCE        KENNEDY                      OH     90015123604
7817457868B163   SARITA       DEJOLIE                      UT     90013765786
78174873A8B142   ARACELI      ONTIVEROS                    UT     90014518730
7817529185B343   LOUISE       CAMPOSANTO                   OR     90013192918
781759A6441227   ERIC         JACKSON                      PA     90010829064
78176562A7B477   LEONARD      FERGUSON                     NC     90003795620
78176873A8B142   ARACELI      ONTIVEROS                    UT     90014518730
7817768858593B   FRANSISCO    TERAZA                       KY     90009706885
781783A3757133   ZOILA        QUINTANILLA                  VA     90001303037
7817846A43168B   MELISSA      GUTIERREZ                    KS     22049334604
7817873A172479   JOHN         BENNATI                      PA     51030457301
78178A16371921   JOSEPH       BITTLESTON                   CO     90012300163
78178A83176B6B   PABLO        ALMARAZ                      CA     90013880831
7817917972B994   ANGELA       COUNTS                       CA     90009301797
78179278287B26   KARLA        BRITTEN                      AR     90008882782
7817943778B168   NORMA        GUILLEN                      UT     90005894377
78179873A8B142   ARACELI      ONTIVEROS                    UT     90014518730
78179988A72B22   CHELSEA      FAIOLA                       CO     90012479880
7817B462A33633   GERALD       MCCOY                        NC     90004454620
7817B484231433   MARY         CURTISS                      MO     90010224842
7817B519191588   RUBEN        RODRIGUEZ                    TX     90002315191
7817B599672B87   ALVARO       SILERIO                      CO     33076595996
7817B846781633   WILLIAM      LONG                         MO     90011428467
7817B86849154B   ISMAEL       RESENDIZ                     TX     90014528684
7817BA26531433   CARDELL      LUSS                         MO     90014560265
7817BA76872B32   ALICIA       GASPAR                       CO     90013060768
7818217972B994   ANGELA       COUNTS                       CA     90009301797
7818228A755947   ANTONIO      ORTIZ JR                     CA     49051462807
7818244A351355   MICHELLE     KRANZMAYR                    OH     90014534403
7818276138B155   EMILEE       CLUFF                        UT     90014227613
7818296477B477   ALLISON      SMITH                        NC     11068059647
781831AA58B134   LONDON       POPE                         UT     90007741005
78183446A98B2B   ALVARO       GARCIA                       NC     90008964460
7818374743168B   BRIANNA      DISABATINO                   KS     22046317474
78183958472B32   GARRY        MINNIEFIELD                  CO     90011069584
78183969772B37   FRANK        VARGAS                       CO     90014879697
7818421952B994   JOHNNY       HUERTA                       CA     90014732195
7818436628B168   CONTRERAS    ERIKA                        UT     31078153662
78184873A8B142   ARACELI      ONTIVEROS                    UT     90014518730
7818499572B857   JEFFEREY     ADAMS                        ID     90010479957
78184AAA37B477   CANDECE      ROSEBOROUGH                  NC     90008600003
7818538738B157   GRANT        WHITNEY                      UT     90014203873
7818554A172B37   MERCEDES     DOMINGUEZ                    CO     90005565401
78185A59351348   STANLEY      JOHNSON                      OH     90012980593
781868A2272455   RUTH         KEFFER                       PA     51049578022
7818821952B994   JOHNNY       HUERTA                       CA     90014732195
78188442597B21   ROBERT       WHITE                        CO     90001824425
78188793572B87   EMANUEL      LOPEZ                        CO     33091557935
78188851476B49   JOSE         BACA                         CA     90014818514
78188934872B32   BOANERGES    MORAN                        CO     33008329348
7818912973168B   CRYSTAL      CARR                         KS     22010291297
78189194376B6B   ISRAEL       MARTINEZ                     CA     90012621943
78189195772B37   GINA         KEEN                         CO     90010051957
7818954AA72B44   CHRISTINA    TALMADGE                     CO     33067435400
7818B17972B994   ANGELA       COUNTS                       CA     90009301797
7818B19419154B   GLORIA       NAVARRO                      TX     90012761941
7818B383841227   KELEKA       SNIPE                        PA     90004123838
7818B59258B163   ASHLEEE      DODGE                        UT     90009995925
7818B727372B32   MICHAEL      GUTIERREZ                    CO     90013537273
7818B787391588   CRYSTAL      LUDDEN                       TX     90014317873
7818B87423B325   JOHN         ARCURI                       CO     90002308742
7819112878B142   FATIMA       MORENO                       UT     31047081287
78191AA3991588   JOSE         ALVAREZ                      TX     90013750039
7819241972B994   EDITH        JIMENEZ                      CA     90014754197
781925A555B59B   RITA         REYNAGA                      NM     35003495055
78192915A2B994   MARISELA     MORALES                      CA     45017049150
7819433A981633   PATRICK      FALES                        MO     90008373309
78194819A55947   SOCORRO      HERNANDEZ                    CA     90010028190
781951A182B994   ALDO         ROBLEDO                      CA     90014721018
7819547418593B   JOSHUA       JACOBS                       KY     90007554741
781955A2231443   PATRICK      MILO                         MO     90006165022
78195764A31432   FATAMA       WALLS                        MO     90014717640
78196553A5B343   RONALD       GRIFFIN                      OR     90014855530
7819669759154B   EVANGELINA   VALDEZ                       TX     90013956975
7819771744B267   LYNN         DAUGHERTY                    NE     27001457174
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 960 of 2350


7819773754B539   BRIAN          FAULKS                     OK     90014527375
7819779225B343   JUAN           ROMERO                     OR     90001337922
781977A245B59B   SHIRLEY        BALDONADO                  NM     90009937024
78197845A7B35B   IMELDA         GOMEZ                      VA     90002858450
78197996276B6B   MELISSA        MONTEFORTE                 CA     90012199962
78197A44655939   XIMENA         VARGAS                     CA     90011270446
7819834218593B   DIANA          CLEMONS                    KY     66089273421
7819834747B477   KARLA          LIZAMA DUARTE              NC     90013403474
7819837A33B35B   LORENA         MORALES                    CO     90010283703
78198536972B87   KORRIN         SHAFER                     CO     90006155369
78198576A5B343   RONALD         ABERNATHY                  OR     90002485760
78198958676B6B   CHRISTOPHE     FLANAGAN                   CA     46006559586
7819922658B163   MISTE          VANIEPEREN                 UT     90005952265
781996A6271921   MELISSA        BALENT                     CO     32021766062
7819B63748B157   DAVID J        MARSH                      UT     90002796374
7819B652472B44   JORGE          DE LACRUZ                  CO     33025496524
7819B842A55969   FRANK          MARQUEZ                    CA     90011238420
7819B915A2B994   MARISELA       MORALES                    CA     45017049150
781B1356776B6B   EDY            PONCE                      CA     90014093567
781B141215B17B   TERIA          HARRIS                     AR     90012694121
781B1436272B37   PAT            REHOR                      CO     33076724362
781B14AA493739   RICKY          KEITH                      OH     90013154004
781B1748A7B42B   INGRID         ESCOBAR                    NC     90003827480
781B1883881633   CARLY          WOODS                      MO     29006658838
781B2386231432   LAWANDA        WORTHAM                    MO     90014793862
781B2634471921   YESENIA        CORIA                      CO     90004136344
781B274A155969   JUAN           MARQUEZ                    CA     48068127401
781B2A89A86436   CHRISTOPHER    MITCHELL                   SC     90015070890
781B316A176B6B   MONALISA       RODRIGUEZ                  CA     90012851601
781B356AA33699   SHARON         ALBRIGHT                   NC     12059805600
781B3747355969   ANDREA         QUINTERO                   CA     90014587473
781B4374241253   JEAN           GROGAN                     PA     51019963742
781B4566266171   YAJAHIRA       FARIAS                     CA     90012085662
781B468A372479   RYAN           JANKOWSKI                  PA     90005376803
781B4737A55969   MICHAEL        LUJAN                      CA     90013217370
781B474133168B   SHAWN          LOWE                       KS     90009997413
781B518955B343   GINA           BELLEMARE GOULD            OR     44575051895
781B5254555969   MASHELLE       RHODES                     CA     90011292545
781B5411331432   DAVID          PATTERSON                  MO     90014624113
781B553149154B   JAVIER         CAMACHO                    TX     75022455314
781B5659271921   CHASITY        MARTINEZ                   CO     32005106592
781B5A6692B994   ABRAHAM        CABALLERO                  CA     90012350669
781B6163972B32   SHAWN          GLOVER                     CO     90002741639
781B64A465B343   JEFFERY        LOREN                      OR     90009874046
781B684388B157   HORMAN         RUSS                       UT     31073618438
781B7467A51355   SHAWN          FARRIS                     OH     90010734670
781B7598672B37   BROOKE         BALDERRAMA                 CO     90003195986
781B768A972B32   ALOYA          JOSE                       CO     90008796809
781B7977772421   KENNETH        PEOPLES JR                 PA     51007129777
781B8283676B6B   CARINA         CORZA                      CA     90013112836
781B8532391588   GUADALUPE      CARRILLO                   TX     90003815323
781B886A751348   DIMITRA        FREEMAN                    OH     90003458607
781B9253455945   ELENA          HERNANDEZ                  CA     90000152534
781B9417691588   CYNTHIA        TORRES                     TX     90013704176
781B952A38B142   DANIELLE       PATIENT                    UT     31017955203
781B993549154B   MARIA          GARCIA                     TX     90014099354
781BB375372479   BENJAMIN       BRADSHAW                   PA     90001213753
781BB394171921   JUAN           HERNANDEZ                  CO     90013813941
781BB423772B87   GABRIEL        ROMERO                     CO     90014904237
781BB469A91549   JOSE           GRAU                       TX     90008624690
781BB665172B22   ENEDINA        LONGORIA                   CO     33021256651
782117A2193739   VALERIE        GIBSON                     OH     90013587021
7821183775B59B   GLORIA         NEVAREZ                    NM     90004508377
78212A15651348   CHARLES        CORNETT                    OH     90004370156
78212A75455939   CRISTINA       REYNOSA                    CA     48000340754
78213176A91588   JOSE ANTONIO   PAREDO                     TX     90013931760
7821363747B428   FRANCINA       BOWMAN                     NC     11011446374
7821369A32B994   PAKOU          MCGRANAHAN                 CA     90011706903
7821433A18593B   DOMINIQUE      HUERTA                     KY     90014733301
7821459342B225   DALLAS         COLEMAN                    DC     90010355934
78215123572B44   FRANCISCA      HERRERA                    CO     33015581235
7821544648B157   CATALINA       VILLAGRANA                 UT     90004014464
782156A6355939   LINDA          MAGGARD                    CA     90014076063
7821591755B59B   DIANE          SANCHEZ                    NM     90011229175
7821625A851348   JEREMY         LACEY                      OH     90009602508
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 961 of 2350


78216433276B6B   IGNACIO      JIMENEZ                      CA     90014324332
78217343A5B59B   UNIQUE       ATENCIO                      NM     90012073430
7821738358B157   JAMES        PFEIFFER                     UT     90014043835
78217694897B29   TODD         OBERG                        CO     90007666948
7821798638593B   ROBERT       CLAYPOOL                     KY     90005579863
78217A51755969   EVA          GUERRERO                     CA     90015070517
782184A2172B87   JUSTIN       SESSIONS                     CO     33055014021
7821874648593B   PHILIP       DEMARA                       KY     90015037464
78218892772B22   ARNULFO      AGUILAR                      CO     90012918927
7821926515B343   SARA         DURAN                        OR     90011332651
78219A9748B142   TAMARA A     KEYSER                       UT     90008760974
7821B271555947   CHEE         HER                          CA     49025812715
7821B286272B44   RAUL         DURON                        CO     90000512862
7821B67925B343   MOLLY        LAMMERDING                   OR     90014356792
7821B85245B59B   JONATHAN     RUMMEL                       NM     35094498524
7822156A65B343   FERMIN       RUIZ                         OR     90012055606
782215A567B386   SONI         GRANADOS                     VA     90000275056
782217AA991588   RAMON        VASQUEZ                      TX     90014157009
782218A5976B6B   CARLOS       MOLDANADO                    CA     46064688059
782224A9872B87   VALENTIN     GUERRERO                     CO     33017514098
782225A2A7B477   PASTORA      ROMERO                       NC     90012215020
7822272A555939   JAVIER       NAVARRO                      CA     90013377205
7822291148B163   PATRICIO     LOPEZ                        UT     90012359114
7822473A531432   QUATRESA     WALKER                       MO     90013297305
7822474A28B163   FELIX        SANDOVAL                     UT     90009377402
7822483A171921   RICHARD      ALLEN                        CO     32035998301
78224A48833699   TRAVIS       WATSON                       NC     12039570488
78224A59193739   MARILYN      BENTLEY                      OH     90013410591
782252A9155939   JOSEMANUEL   GUIDO                        CA     48075792091
7822541A841253   ISAAC        KING                         PA     90014604108
78225444172B87   ELIZABETH    MEDINA                       CO     90014904441
7822554A481633   EMMA         LINDSEY                      MO     90014835404
7822583419154B   CARLOS       GONZALEZ                     TX     75081478341
78226251A72B37   PATRICIA     PATRICIA                     CO     90010092510
78226721A9154B   LESLIE       GOMEZ                        TX     90014167210
7822672292B994   ALMA         PRECIADO                     CA     45050897229
7822738553B388   JASON        VOGEL                        CO     33073983855
78227A37172B87   MARIA        REYES                        CO     33089450371
7822822928B134   BRAXTON      SAINSBURY                    UT     90013352292
7822863418593B   TAMMY        SMITH                        KY     66014346341
78228718A72B32   RONI         TRAN                         CO     90013727180
782288A9855939   JOE          MARTINEZ                     CA     48064788098
78228985A55969   JOSE         ZEPEDA                       CA     90015019850
78228A19793739   FLORENCE     OWENS                        OH     90010880197
78229792876B6B   JUDY         JORDAN                       CA     90014877928
7822998142B994   CRESNCIO     PACHECO                      CA     90006559814
78229A75776B6B   MANDUJANO    FELIPE                       CA     90012600757
7822B183131433   ANGELA       GOODRICH                     MO     27573711831
7822B37A35B343   PAULA        NINO CIPRIANO                OR     90007113703
7822B3A3757133   ZOILA        QUINTANILLA                  VA     90001303037
7822B631472B22   MARIA        COOPER                       CO     90012886314
7823227557B477   CHARLENE     PHIFER                       NC     90012862755
7823247562B994   RICHARD      HUERTA                       CA     90014604756
7823255497B477   TERESA       WATKINS                      NC     11050415549
78233415172B32   MARIAH       PHILLIPS                     CO     90011864151
7823376797B477   RASHIDA      MOORE                        NC     90006947679
782337A4293739   MICHELLE     SIMMONS                      OH     64594417042
78234452176B91   MARIELA      PORTILLO                     CA     90013054521
782349A278B163   ANGIE        JACSON                       UT     90008839027
782353A152B994   TIFFANY      FRANKLIN                     CA     90014723015
7823588259154B   EVANGELINA   RODARTE                      TX     90014528825
782362A5472B37   MIKE         BECKMAN                      CO     90009342054
78236729472B22   MARIA        RODRIGUEZ                    CO     33045007294
7823687242B994   CARLOS       LOPEZ                        CA     45020478724
782368A6372B29   BOBBIE       HENDERSON                    CO     33017288063
78237844572B22   LINDA        CASTIGLIONE                  CO     90002518445
78237873A8B142   ARACELI      ONTIVEROS                    UT     90014518730
78237A26772B29   VERONICA     LEDESMA                      CO     90010920267
78237A7A841253   DEBRA        GILLECE                      PA     90013930708
78238547A51348   ANTWONE      KELLEY                       OH     90011175470
78238797572B29   MELISSA      FLANAGAN                     CO     90013027975
7823925595B384   DAWN         TAMERIUS                     OR     90013732559
7823939A151586   GAIL         EATON                        IA     90014273901
7823B172772B32   VERONICA     SENA                         CO     90007881727
7823B281172B37   RAYMON       EDWARD                       CO     90012892811
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 962 of 2350


7823B57618B168   LAURA         CAMPBELL                    UT     31063595761
782413A578B163   BRYAN         SYMONETTE                   UT     90008103057
7824152138B134   HERIBERTO     GUTIERREZ                   UT     90009725213
78241731376B6B   TERESA        OSORIO                      CA     90013117313
7824193225B375   DAVID         OLSAV                       OR     44543179322
78241A3878B142   SETH          HARDING                     UT     31065100387
7824211A171921   LISA          WEINER                      CO     32082711101
7824314423B354   AMY           MINOR                       CO     90012571442
7824348713168B   JAMES         OGLESBY                     KS     90013944871
7824372462B994   MORGAN        PISARCIK                    CA     90014737246
7824374A781633   T             LONG                        MO     29007887407
78243A46972B29   JESSICA       CARTER                      CO     33065520469
78243A52376B6B   BRIGITTE      VINCI                       CA     46075950523
782442A3A8B142   DANIEL        STEPHENSON                  UT     90014672030
78244473A72B29   AMADO         ROBLERO                     CO     33042734730
782449A2831433   EMMA          CHAMBWA                     MO     90013319028
78244A27193728   ANTONIO       BENTON                      OH     90001240271
7824523899152B   RANDY         SILVA                       TX     90008712389
782452A4376B27   GILDARDO      VARGAS                      CA     90010692043
78245712672B29   PAULINA       ALVARADO                    CO     90004107126
7824572485B59B   YVETTE        BOURGUET                    NM     90010247248
7824646517B398   DOMINGO       CARRANZA                    VA     90004694651
78246728272B32   SABRINA       SHEEHAN                     CO     90009527282
7824724195B384   BRYAN         PERALTA                     OR     90003692419
7824793637B477   ANA           SANCHEZ                     NC     90013539363
7824893275B343   KERISHA       SMITH                       OR     44521449327
78249A41A31432   SHERRY        YOUNG                       MO     90013420410
7824B1A278B163   TERESA        HERNANDEZ                   UT     31074331027
7824B258A8B157   DANIEL        ESPARZA                     UT     90015172580
7824B498971921   SABINE        JOHNSON                     CO     90012184989
7824B78625B281   ELIPIDA       CHAVEZ                      KY     90001777862
7824BA44A97B29   CHRIS         GAUMAN                      CO     90000900440
782515A1455969   JEFF          SMITH                       CA     90008795014
78251735472B37   ALYSON        SELIN                       CO     90005757354
7825174175B343   MOISES        CRUZ                        OR     44510337417
7825228143B355   JANETTE       SAENZ                       CO     33077842814
78252733A98B2B   JUAN          AGUSTINIANO                 NC     90007727330
78252792A81633   RICK          ORCUTT                      MO     90011607920
78253234A8593B   PAMELA        WADDLE                      KY     90014742340
7825334A672B22   TIFFANY       BAESSLER                    CO     33097893406
7825341175B53B   STACY         ROANHORSE                   NM     90008274117
78253459172B87   LORETO        VASQUEZ                     CO     90014904591
7825346755B343   JAMES         TIPPENS JR                  OR     90007704675
7825367828B142   SCOTT         JACOBSON                    UT     31059136782
78254675672B22   LAUREN        BRYANT                      CO     90006456756
78255349A76B6B   BECKY         QUIROZ                      CA     90000603490
7825588259154B   EVANGELINA    RODARTE                     TX     90014528825
7825617A871921   STEPHANIE     ATCHLEY                     CO     32085531708
7825621A454B2B   ISRAEL        MUJINGA                     VA     90010752104
7825629348B163   ENRIQUE       TORRES                      UT     90012122934
7825633163168B   KIMBERLY      GOERZEN                     KS     22005603316
78257872A8B142   CRISTOBAL     SALINAS                     UT     31075528720
78257985376B6B   CONSTANTINO   VENEGAS                     CA     90013329853
7825853A17B477   HECTOR        WALTER                      NC     90015315301
782594AA47B477   MAGALY        MIGUEL                      NC     90006084004
78259815972B37   PRICILLA      SANCHEZ                     CO     90014558159
78259AA8A93739   ANDREA        CRAPYOU                     OH     64574840080
7825B412251355   LORAYDIA      GREEN                       OH     90014724122
7825B84515B32B   JOSE          ZEPEDA                      OR     90001278451
7826133749154B   DENNIS        RAMIREZ                     TX     90007573374
782614A115B384   MONIQUE       RASMUSSEN                   OR     44504464011
78261714A72B37   VALERIE       HENDERSON                   CO     33074757140
78261785533B34   ERNESDO       GUTIERREZ                   OH     90014077855
7826183715B343   PATRICIA      HAYNIE                      OR     90015098371
78261A2628B142   ANTONIO       AGUILAR                     UT     90011300262
78261A7A68B157   JACK          ALLEN                       UT     90012760706
7826221848B142   AMBER         MORRISON                    UT     90010682184
78262333176B6B   REY           MEJIA                       CA     46053233331
78262A1538593B   KAY           HILL                        KY     66026390153
78262A4462B994   BETTY         PRECIOUS                    CA     90004580446
7826357718B157   JANET         JONES                       UT     31016695771
78264142A41237   SHOSHANA      BLOCK                       PA     90014691420
7826422A15B384   RICARDO       PEREZ                       OR     44519892201
7826545457B477   VANTEENA      POLK                        NC     90004094545
782654A5991588   RICARDO       MARTINEZ                    TX     90013984059
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 963 of 2350


782655A1872B44   LORETTA          SMITH-OWENS              CO     33045695018
7826564AA55939   IXTZEL           GARCIA                   CA     90013506400
7826595A49154B   RAFAELA          TORRIJOS                 TX     90007159504
78266766A91577   YVONNE           CERRILLO                 TX     90012667660
78266814A31433   STELLA           JONES                    MO     90011088140
7826685223168B   CHRISTINA        JONES                    KS     22026338522
7826736948B142   C CLAUDIA        ORTINEZ                  UT     31014553694
7826743558B163   HISUEL           LOPEZ                    UT     90010184355
7826866A155969   VICTORIA         VELONZA                  CA     90011226601
78269343A9154B   DIANA            ROMERO                   TX     90010363430
78269378272B37   LIL              SOSO                     CO     33079613782
7826963A65B343   MARIA            ARREOLA                  OR     90011176306
78269A1918B163   LUKE             GATRELL                  UT     90010060191
78269A91472B29   TRACY            DELGADO                  CO     90013780914
7826B124941253   CINDY            DONAHUE                  PA     90000761249
7826B672181633   JOEL             PARRISH                  MO     90009956721
7826B891872B37   MARTINA          MONTIEL                  CO     90002668918
7827252525B32B   BRITTNEY         ROGERS                   OR     90004105252
782742A4672479   MOSES            JONES                    PA     51077452046
7827467A48B163   SATISH           SUTHAR                   UT     90013676704
78274785A8B157   ELENA            ROYBAL                   UT     90009667850
78274849A5B59B   JUDITH           PACHECO                  NM     35005418490
78274885172B37   RAUL             EZA                      CO     90012928851
782754A7476B6B   BELIA            ARIZAGA                  CA     90015214074
7827557298B134   JOSEFINA         MAGANA                   UT     90010725729
7827576533B358   MANUEL           ZAPATA                   CO     90013217653
782757A4772B32   YVONNE           BOBO                     CO     33062857047
78275852872B44   ALAN             COSTA                    CO     33065938528
7827585A855939   VIVIANA          VACA                     CA     90012918508
78276523A72479   SHARON           WICOBRODA                PA     51080365230
7827675935B384   PEDRO            AMARO                    OR     90004467593
78276858A72B44   JASPER           HAMMOND                  CO     90001898580
78276A5A341257   AMBER            ALEXANDER                PA     90008470503
7827767959154B   EMMA             LUNA                     TX     75082316795
78277A27833698   WESLEY           SMITH                    NC     12001790278
7827844467B661   JUSTIN           VICKERS                  GA     90006604446
78278978472B37   LEILANI          LUCERO                   CO     33013109784
78278AA1A91588   DANIEL           QUEZADA                  TX     75058760010
782796A2881633   CHRISTYN         DYE                      MO     90009836028
7827B9A9371921   MERSEAN          DAVIS                    CO     90015279093
7828156315B343   KARINA           RICCA                    OR     44582665631
78281673272B32   MANUEL           AYALA                    CO     90011276732
78282A26955991   JOHN             SAAVEDRA                 CA     90001760269
78282A56855939   DIAZ             SAMANTHA                 CA     48000670568
78282A59351348   STANLEY          JOHNSON                  OH     90012980593
782832A2171921   DAVID            HENDRICKSON              CO     90014192021
7828335397B477   TERESA           GRAJALES                 NC     90013373539
7828352A851544   DAWIT            MUSA                     IA     90012045208
7828387595B343   LUIS             SOMERA                   OR     90003338759
78284453A5B343   JESSICA          SPENCER                  OR     44504804530
7828458A872B32   NICHOLAS         ROBINSON                 CO     90011025808
7828478A28B157   JOSE             ISREAL VILLAGRANA        UT     90008997802
7828553172B994   PATRICA          MORALES                  CA     90005005317
7828564188B163   STEPHEN          BOHEN                    UT     90012886418
7828612A871921   KIM              BOSICK                   CO     90007441208
7828639648B157   BARRETT          BEAU                     UT     90010333964
78286A33A31432   TEAONA           GARRETT                  MO     90014770330
78286A35824B43   VERONICA         MCQUEEN                  MD     90013470358
78286A97A51355   JUANITA          BROWN                    OH     90012830970
7828745615B59B   DELILAH          JAMON                    NM     35064874561
7828796818B168   YOSELIM          FUENTES                  UT     31064859681
782883A7672B22   AHMAD            EZZAT                    CO     90013793076
78288481A81633   ZACHARY          GOODMAN                  MO     90010464810
78289116572B22   OSCAR            ORTEGA SANCHEZ           CO     33018071165
78289138A91588   RACHEL           HUENNEKE                 TX     90012901380
7828931467B477   ASHLEY           WITHERSPOON              NC     90010243146
7828B54A155939   DUANE            BITTNER                  CA     48087015401
7828B6A7A72B87   MARIA CRISTINA   AVALOS                   CO     90006406070
78291184472B22   CARLOS           CARBAJAL                 CO     90003861844
782912A153168B   SANDRA           BURRIS                   KS     90009502015
7829137737B477   SARAHIA          HOLLIDAY                 NC     90010813773
78291A13255982   DOUGLAS          LUPERCIO                 OR     90003580132
78292248472B87   NICOLE           SALAZAR                  CO     33093202484
78292461A51355   HENRY            BRIGHT                   OH     66067344610
78292839A51355   DENISE           BRANDENBURG              OH     90013018390
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 964 of 2350


782933A7172B37   ALYSIA       TRUJILLO                     CO     90012893071
7829364388B142   DYLAN        DEAN                         UT     90012306438
78294346A72B32   MONTALVO     DAVID                        CO     90011363460
7829447627B477   RAUL         GUITIERREZ                   NC     90000254762
7829448A65B399   ROSA         MORALES                      OR     90005394806
7829499595B59B   JUAN         MONTOYA                      NM     35004149959
782951A1372B32   ENRIQUE      GOMEZ                        CO     90002321013
782952A5872B29   RASHAD       PARKS                        CO     90015132058
7829558995B59B   ANA          JURADO                       NM     90001335899
7829581948B168   MANUEL       REYES                        UT     90008128194
782959A6372B29   RYAN         ARINELLO                     CO     90013429063
7829724A172B44   MANUEL       ALMADER                      CO     33071522401
7829738A893739   SUSAN        FISHER                       OH     90013153808
7829797548B134   MARTIN       AVILA                        UT     31058489754
7829817AA93739   ABBY         MORTON                       OH     64516341700
78298786272B22   MARCIAL      BARRON                       CO     90006177862
7829893568B142   SALVADOR     HERNANDEZ                    UT     90011299356
78298982A5B343   RICARDO      PUERTO MARTINEZ              OR     90013759820
78299587272B22   SHAWN        LOVEALL                      CO     90002125872
782997A8781633   KESHA        GORDON                       MO     90015577087
78299A58272B83   JUSTIN       HOWARD                       CO     90012390582
7829B64A131432   JENNIFER     HOLLOWAY                     MO     90011136401
7829BA59272479   JASON        MUTSCHLER                    PA     51001730592
782B156355B331   RACHEL       EISFELD                      OR     90010945635
782B16A288B142   KYLE         ALLEMAN                      UT     90012706028
782B16A6251355   LOUSIE       BREWER                       OH     90012266062
782B1856331432   CAMRON       RHODES                       MO     90004988563
782B1A6493168B   SARA         QUINTANA                     KS     90008440649
782B253812B994   TISHA        JENKINS                      CA     45070755381
782B2547731432   LASA         STOKES                       MO     90011285477
782B264825593B   DANELLE      ESCOTO                       CA     49011676482
782B3314672B22   FABIAN       MORA                         CO     33007423146
782B336935B384   ROSE         SMYTH                        OR     44582343693
782B35A898B134   LINDA        DEHOYOS                      UT     90004175089
782B3645298B2B   MARCELO      RODRIQUEZ                    NC     90014396452
782B38A938B142   THERESA      LOPEZ                        UT     90014518093
782B3A72691588   CRISTAL      GARCIA                       TX     90006120726
782B4171555939   GLORIA       REYES                        CA     48008301715
782B434829154B   SERVELLON    DE LA ROSA                   TX     90009033482
782B466195B59B   KRIS         JANOW                        NM     90012656619
782B47A3731432   KIMBERLY     MATTHEWS                     MO     27584257037
782B521652B994   JESUS        SILVA                        CA     45026102165
782B5281781633   SHAWN        LOTHAMER                     MO     29091262817
782B5615A72B87   JIMMY        PICCOLO                      CO     90015206150
782B5A17672B32   QUIRINA      FELIX                        CO     90009560176
782B6199541237   DONNA        JACKSON                      PA     90011101995
782B627715B343   JENNIFER     CRAIN                        OR     44550522771
782B648A172479   CAROL        LOWTHER                      PA     51040674801
782B669729154B   LOURDES      GONZALEZ                     TX     90001796972
782B6783872B29   ANDREW       BURKE                        CO     33034677838
782B7448951355   ARIEL        ORTIZ                        OH     90009604489
782B882175B384   RACHEL       HOSTETLER                    OR     90004028217
782B88A938B142   THERESA      LOPEZ                        UT     90014518093
782B899658B157   HECTOR       ACOSTA                       UT     90013329965
782B994A55B59B   MARLENE      ARTINEZ                      NM     90013789405
782BB7A1572479   KENIKA       THOMPSON                     PA     51080227015
78311A5688593B   ERIC         ISAACS                       KY     90014780568
78312819A55939   AGUSTINE     PEREA                        CA     48009298190
7831294615B343   SALVADOR     VERDUZCO                     OR     90011919461
78312A54455969   ELVA         TRUJILLO                     CA     48009230544
783136A388B168   FRANCISCO    MARTINEZ                     UT     31063386038
7831388128B163   GINA         TYLER                        UT     90013748812
78313A4378B134   KELLI        TALL                         UT     90013580437
78313AA998B157   AMMON        FACKRELL                     UT     90012980099
78314652A2B994   SARAH        ENGLAND                      CA     90014766520
78314A18155947   ASHLEY       BUFFORD                      CA     90014390181
7831567AA93739   CHAD         THARP                        OH     64520726700
783157A5A8B163   NORMAN       JEFFREY                      UT     90013687050
78315A62571921   TENEIKA      DISMUKE                      CO     90007090625
7831612A493739   KALON        STAGNER                      OH     90013611204
78316298A55947   GUADALUPE    GUERRERO                     CA     90011942980
7831647518B134   MISTY        PARKS                        UT     90012874751
7831652442B994   JAVIER       ALVAREZ                      CA     90014775244
7831656979154B   JOSE         LOPEZ                        TX     90011115697
7831721139154B   RUBEN        MONTES                       TX     90007232113
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 965 of 2350


78317A8A471921   GILBERT        ESQUIBEL                   CO     90012310804
78318263476B6B   LUCY           GOMEZ                      CA     90014572634
78318534A55947   CINDY          MARTINEZ                   CA     49030935340
7831898719154B   CAROL          ANDERSON                   TX     75085219871
78319A35541237   MINDY          MCADAMS                    PA     90013510355
7831B25347B477   WAHTIKA        DROYTEN                    NC     90014272534
7831B271341253   SHANELL        NESBITT                    PA     90010162713
7831B488172B87   MARIA          CABALLERO                  CO     90014904881
7831B92A261958   MARCO          SEAMANDURAS                CA     90009989202
7832218A87B661   AKAVIA         JOHNSON                    GA     15000201808
783224AA171921   KIM            MCKEON                     CO     90007934001
78322522972B22   LINDA          MUILENBURG                 CO     33063145229
78322982972B29   NEGUSSIE       ABRAHAM                    CO     33054149829
78323282172B29   ANNETTE        HALL                       CO     33093912821
7832373118B134   GORDON         GRAY                       UT     90014287311
7832521832B847   GUADALUPE      PEREZ                      ID     90010592183
7832531713B355   LETICIA        GONZALES                   CO     90006233171
7832539957B477   WILLIAM        JOHNSON                    NC     90012233995
7832544617B46B   MARIA          HURTADO                    NC     11035994461
783255A665B384   CARMEN         NAGY                       OR     44588485066
7832561864B572   MICAH          BAKER                      OK     90014516186
7832573968B142   SHELEM         COLA                       UT     90012707396
78325A9688B157   GISLEINE       PAULINO                    UT     90014760968
7832636642B994   SILBESTRE      GAETA                      CA     90014753664
78326659176B6B   ANDREA         LOPEZ                      CA     90015306591
7832682329154B   ALEJANDRO      DE LA PENA                 TX     75072708232
78326A46A8B157   SILIGA         LEGA                       UT     90013090460
78327153A8B142   PERLA          RUIZ                       UT     31053931530
7832816A241237   JENNA          HILINSKI                   PA     51020031602
78328A35872B22   KELLY          HEMELSTRAND                CO     90004830358
7832956378165B   CRAIG MYKAEL   JASPERSEN                  MO     90007025637
783295A874B563   REYNA          VALDEZ                     OK     90010825087
78329729772B32   EDWARD         CHARLES                    CO     33048487297
7832979325B59B   MICHELLE       GRIESMEYER                 NM     35028867932
7832992175B343   LINDA          NASH                       OR     44551499217
78329987A8B142   GREG           WALTER                     UT     90000219870
7832B42A941237   MARY ANN       LUKETIC                    PA     90013544209
7832B4A7591588   CLAUDIA        MENDOZA                    TX     90013984075
7832B785251355   ALEX           HILLDEBRAND                OH     90014627852
7832B82878B142   MIQUELA        BRECK                      UT     90011568287
783311AA67B477   SILVIA         MARTINEZ                   NC     11074451006
78331726476B6B   MAYRA          GARCIA                     CA     90001547264
7833258835B343   MARIA          VARGAS                     OR     44539325883
783326A3141227   WENDY          NOTTINGHAM                 PA     90000896031
78333129A7322B   LOURDES        REYES                      NJ     90014181290
7833388A841253   BILLY          WILLIAMS                   PA     51032068808
783339A1755969   RONALD         CLARK                      CA     48098579017
78333A8968B142   LUKE           ANDERTON                   UT     90002270896
78333AA325B59B   TAMARA         FANT                       NM     35025880032
7833445895B343   CANDICE        LOVELESS                   OR     90014714589
7833449A18B157   JAIME          DIAZ                       UT     90007284901
783347A5855947   ALMA           SIERRA                     CA     90002557058
7833578522B994   LISA           ROMERO                     CA     45007207852
78336389572B22   MAURICIO       LOVATO                     CO     33043223895
7833658A18B142   RAFAEL         EIZAGA                     UT     90007705801
7833698539154B   FRANCISCO      FLORES                     TX     75074319853
78336A96871921   KATE           MITCHELL                   CO     32089930968
7833753288B157   CRAIG          HIGGINS                    UT     90011025328
7833756979154B   JOSE           LOPEZ                      TX     90011115697
78337A4578B134   LATROI         NEWBINS                    UT     90013660457
783384A212B994   PATRICIA       REYES                      CA     90001244021
7833873755B343   ERICK          RHOMBERG                   OR     90010807375
78338994272B29   LENA           NEWTON                     CO     33014609942
78339398172B22   TAOJIA         CHEN                       CO     90011253981
78339413372B29   MARIA          MEJIA                      CO     90009864133
78339436272B32   AUDRA          BIRDSONG                   CO     33089974362
7833B152A55969   AMANDA         BISBEE                     CA     90005161520
7833B271341253   SHANELL        NESBITT                    PA     90010162713
7833B465172B37   MARY           SMITH                      CO     90002094651
7833BA77793739   LACHAUNNA      TOLLIVER                   OH     90009810777
7834119A576B6B   LIONESHA       FRAZER                     CA     90013351905
7834258465B59B   DONENE         SEELBACH                   NM     35068965846
7834424483B387   MICHAEL        KOHNSTAMM                  CO     33015552448
78344368772B37   JOSEPHINE      GALLEGOS                   CO     90006043687
78344886772B29   VICTORIA       VIGIL                      CO     90014508867
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 966 of 2350


7834499995B59B   ANGELITA     SALAS                        NM     35003499999
78345139572B37   ELIZABETH    ROQUE                        CO     90013841395
7834521945B59B   LYDIA        BEGAY                        NM     90013752194
7834532A58593B   JOSEPHAT     MAILOS                       KY     90014763205
783453A943B366   E            ABBOTT                       CO     33022473094
7834553A58B163   JORGE        FLORES                       UT     31083185305
7834586849154B   LOANA        KIM LE                       TX     90011918684
78345A63941253   RACHEL       MAGNONE                      PA     51058050639
7834625A655947   GEOFF        GREEN                        CA     90010002506
7834655A65B32B   CRISTINA     RAMOS                        OR     44591495506
7834687819154B   VANESSA      RIVAS                        TX     90013328781
7834752165B343   ANNA         NELSON                       OR     90013325216
7834768399154B   JAVIER       ESPINOZA                     TX     90009376839
7834791188B163   OMAR         AWIL                         UT     90012149118
78347A47672B87   RANDEL       RILEY                        CO     90014920476
7834818A871921   JOHNATHAN    GOOD                         CO     90011991808
7834852392B994   VANESSA      MORALES                      CA     90014785239
7834897678B142   DIANA        HOLDERTESS                   UT     90007039767
78349119672B32   LAWRENCE     HERNANDEZ                    CO     90013521196
7834971749154B   KARLA        CORREA                       TX     90010677174
78349827A81633   CARRIE       CERVANTES                    MO     90006498270
783498A1651348   SECUNDINO    VILLANUEVA                   OH     90011858016
7834B1A5871921   ZACK         PETERSEN                     CO     90005531058
7834B235672B29   ANDREA       JAQUEZ                       CO     90013062356
7834B2A2472B22   LOUIS        SMITH                        CO     90011072024
7834B355872B29   MARYBEL      GARCIA                       CO     33027073558
7834B734172B37   ENRIQUETA    BUSTOS                       CO     33079167341
7834B735566142   BRANDON      WHEELER                      CA     90015087355
7834B931355969   KATHERINE    REYNOSO                      CA     90012599313
7834B962691588   ELIZABETH    RAMIREZ                      TX     75058269626
7835122A336B59   RAMONA       CAMPOS                       OR     90014912203
78351548336B59   RAMONA       CAMPOS                       OR     90010735483
78351665772B87   NATALIA      VASQUEZ                      CO     90006666657
7835272418B168   TRACY        MORRISON                     UT     31062677241
78352A11341227   ROBERT       MCCREARY                     PA     51062190113
78352A46A31433   LATASHA      OVERTURF                     MO     90006690460
78353252672B29   MEGAN        MCCLENNY                     CO     90012722526
78353493272B32   LISA         DAVIS                        CO     90012274932
7835359982B994   ADRIAN       HERNANDEZ                    CA     90014785998
783538A528B163   SHERYL       CATES                        UT     31003318052
78353A3169154B   RAUL         SANDOVAL                     TX     90010070316
78353A48885945   JOE          KELLY                        KY     90002160488
783551A528B163   SUSIE        THOMAS                       UT     90013241052
7835549A793739   CHARLES      MARONEY                      OH     64564174907
783555A7231433   KIMBERLY     STRAUB                       IL     90014935072
7835662199154B   BRISSA       SALAS                        TX     90008646219
78356A8877B477   JASMIN       PARREA                       NC     90009490887
7835779479154B   NORMA        MARTINEZ                     TX     90012447947
78357842A5B384   ALEXANDREA   OLSEN                        OR     44519458420
78357975A72B32   CARTER       GVANTI                       CO     90000949750
7835925648B134   GEORGE       WINGIST                      UT     31085232564
78359294872B29   RENAE        PARRA                        CO     33098792948
7835953678B157   LEONARDO     QUINONEZ                     UT     90012775367
7835B113193739   JOHN         MILLINER                     OH     90013411131
7835B365555969   TAMI         ARAGON                       CA     90008823655
7835B5A3285945   DESIREE      WHITE                        KY     90005865032
7835B652933698   CARRIE       JAMES                        NC     90011746529
7835B697672B87   ADRIANA      MEDINA                       CO     33078326976
7835B7A2731432   CASEY        HARPER                       MO     90011597027
7835B7A988B157   SHANE        STEVENS                      UT     90010167098
7835BA54955947   SERGIO       CASTILLO                     CA     90013240549
78361154A85945   DUISHA       TALBERT                      KY     90002161540
7836122A333698   ANTOINETTE   WASHINGTON                   NC     90004382203
78361439472B37   SOFIA        MORALES                      CO     90002864394
78361599A9186B   BART         FORD                         OK     90001305990
7836176538B142   OSUNA        GONZALEZ                     UT     90014527653
78361A16855939   DEANNA       ANDERSON                     CA     90009200168
78361A9A176B6B   ROSARIO      AGUILAR                      CA     46017830901
7836234818B163   LORI         NICHOLS                      UT     31071413481
783624A6471921   ALISA        POULTON                      CO     32050434064
783627A2A41253   RUDY         NESBITT                      PA     51020617020
7836293789154B   MARIANO      MALAGON                      TX     90014149378
7836295AA33699   PASCUAL      GARCIA                       NC     12072849500
7836299649184B   MISTY        ACEVEDO                      OK     90008999964
783634A6A55947   DAVID        GUTIERREZ                    CA     90013894060
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 967 of 2350


7836382477B477   ERIC         BEMBURY                      NC     90013658247
78363A66393739   APRIL        MOORE                        OH     64524070663
7836471A376B6B   JESSICA      GOMEZ                        CA     90013447103
78365537972B32   MONIQUE      PRANTE                       CO     33095505379
7836558148B142   MARCUS       SVEDIN                       UT     90007835814
783655A328B134   DANIEL       BARNHURST                    UT     90011305032
783657A6872479   DONALD       COOPER                       PA     90008567068
78365985676B6B   MIGUEL       CASTILLO                     CA     46062909856
78366274472B22   LETICIA      SANTANA                      CO     33092742744
7836634675B59B   JOSETTE      GOMEZ                        NM     90008893467
7836964162B994   CARLOS       CHAVEZ                       CA     90014786416
78369946A72B29   MARIA        DEMEDRANO                    CO     90000989460
78369A87A76B6B   DILLON       WISDOM                       CA     90011150870
7836B3A2572B37   WILLIAM      OTERO                        CO     90008513025
7836B642851348   KAREN        BANKS                        OH     90006056428
7836B8A6751355   MARK         PONDER                       OH     90013378067
7836BA32A7B477   PIANDRA      DAVIS                        NC     90007620320
7836BA67172B87   RAMIRO       RODRIGUEZ                    CO     90009150671
7837137A655939   NORMA        RAMIREZ                      CA     90013983706
78372465A8B134   NANCY        FLORES                       UT     31065764650
78373132A31433   INEZ         COLLINS                      MO     90012741320
7837382869154B   CRISTIAN     CARDENAS                     TX     90014048286
78374187572B87   JENNIFER     SWIMMER                      CO     90009021875
7837482865B343   MIKE         PRISTAVEC                    OR     90009878286
78375138A91588   RACHEL       HUENNEKE                     TX     90012901380
78375645A91588   DONNA        ALEVAREZ                     TX     90008996450
78375761272B22   ROSE         JOSEPHINE TRUJILLO           CO     33053537612
7837577A255939   JESUS        HERNANDEZ                    CA     90005367702
78375A24572B37   KEVIN        BURRIS                       CO     33075290245
7837691A893739   ELIZABETH    TOBIN                        OH     64511879108
7837722345B59B   STEVE        GURULE                       NM     90013822234
78377454872B32   MYRNA        VALLEJO                      CO     33017394548
78377726A93739   NATHAN       GRIDLEY                      OH     64557007260
78377A35455969   ALEJANDRO    PEREZ                        CA     48032970354
7837824A171921   HERMELINDA   LOPEZ                        CO     90010622401
7837879A35593B   DOMICIANA    BENEJAS                      CA     90012017903
7837896648593B   CHERYL       STILL                        KY     90008199664
7837B53558B157   MANUEL       BARBOSA                      UT     90014595355
7838118418B142   RAMIRO       ROMERO                       UT     90014561841
783812A458B163   MARCOS       PINA                         UT     31064072045
783812A5A41237   JUDI         CUTRUZZULA                   PA     51073562050
78381346272B37   LATISHA      FORBES                       CO     90012893462
7838176A925144   MARGETT      ADAMS                        AL     90009257609
78381A75476B6B   MAGALY       GUTIERREZ                    CA     46023130754
78381A78A8593B   KEITH        VIARS                        KY     90014780780
78382A1783B126   TOM          FORD                         DC     90000510178
7838319919154B   IRVIN        PEREZ                        TX     75064351991
7838325222B236   DEON         COLEG                        DC     90009192522
78383324272B37   TULUTULU     TEOFILO                      CO     90012373242
78383542272B32   WILFREDO     GUERRA-SARCENO               CO     33000835422
7838381528B163   CATHY        WARDLE                       UT     90011098152
78384964A72479   KATHY        KELEMEN                      PA     51068229640
78384A6A15B245   SHELIA       THOMPSON                     KY     90010630601
78384AA6791588   JESUS        GONZALEZ                     TX     90013720067
7838567452B994   SELMA        JORDAN                       CA     90014786745
7838613618593B   MICHELLE     THOMAS                       KY     90014861361
7838669775B59B   ISABEL       ALVARADO                     NM     90014726977
78386773172B32   FLORENTINO   RODRIGUEZ                    CO     33004217731
7838736328593B   DANA         BEDEL                        KY     66000443632
7838795378B163   ERMELINDA    RAMIREZ                      UT     90015219537
7838876A15B343   SALVADOR     VERDUZCO                     OR     44591487601
78389337A72B22   MARGARITA    TORRES                       CO     90013363370
7838945129154B   LUIS         HERNANDEZ                    TX     90013064512
78389515772B37   JUAN         ORTEGA                       CO     90005755157
7838994A931432   DAVID        CLYMER                       MO     90006809409
78389AA2455939   AMALIA       AVILA                        CA     48078500024
78389AA4154B28   KARLA        J ORTIZ                      VA     81013760041
7838B17468B163   KENDY        KLOSS                        UT     90006701746
7838B77688B142   AMILKAR      SOTO                         UT     31040047768
7838B78A841237   ROBERT       JOHNSON                      PA     90011007808
7838B794A31433   STARLETA     SCOTT                        MO     90014747940
7838B956131432   TERESA       MOORE                        MO     90014779561
7838BA61A8B157   MARIA        ROMERO                       UT     90013760610
7838BA66393739   APRIL        MOORE                        OH     64524070663
7839187289154B   CLAUDIA      GUERRERO                     TX     90013968728
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 968 of 2350


78392283A91588   JORGE             GOZALEZ                 TX     90014022830
7839235A472B37   CASEY             CUSHING                 CO     33082383504
7839274317B477   ANGEL             RUIZ RAMIREZ            NC     11048597431
7839284249154B   JOE               ATAYDE                  TX     90010668424
7839388428593B   GRETCHEN          TURNER                  KY     66036128842
78394873672B87   CHRIS             WOODLAND                CO     33094848736
78394A2298B163   DARREN            GORNEY                  UT     90014030229
78394A4A455969   SONIA             MENDES                  CA     48053630404
78394A9172B994   LAUREN            HERNANDEZ               CA     90005870917
78395724A51391   RIKKI             WHITAKER                OH     90004817240
78395A35955947   CALVIN            LEE                     CA     90014130359
78395A39181633   ERIN              EGLESTON                MO     90014900391
7839722A455969   KAO FONG          SAELEE                  CA     90013542204
78397348672B37   ADELA             RAMIREZ                 CO     33069023486
7839754138B157   CHIQUIS           GOMEZ                   UT     90001035413
7839822555B59B   TANYA             RODRIGUEZ               NM     35082742255
7839824189154B   THOMAS            BREITLING               TX     90014782418
7839852638593B   RICHARD           LANDRUM                 KY     90003805263
78398A2959154B   ELIZABETH         FLOREZ                  NM     90011360295
783991A8A7B477   LAKECHIC          HEARN                   NC     90013391080
7839935332B274   JERENE            AUSTIN                  DC     90011863533
78399469A55946   CONSUELO          GUTIERREZ               CA     90013694690
7839959A29154B   ISRAEL            ROJO                    TX     90004885902
7839984643168B   IRIS              SEBASTIAN               KS     22011608464
78399A44972B37   GEORGE            ORTIZ                   CO     90012910449
7839B573481633   MIKEWELL          WRIGHT                  MO     29048535734
783B1681655969   ALEJANDRO         GARCIA                  CA     90012736816
783B1792872B29   EDGAR             LERMA                   CO     90011477928
783B188299154B   SONIA             OLSON                   TX     90013968829
783B196558B163   ROBERT            SPIARS                  UT     90010089655
783B2183941253   VICTORIA          MCGINNIS                PA     90014131839
783B2185476B6B   JULIA             GARCIA                  CA     90013761854
783B275A78B157   CODY              VANS                    UT     90000127507
783B2992731482   BELANCIA          BROWN                   MO     90012329927
783B3548231432   ALISHA            BECHER                  MO     90007785482
783B3714141253   RAJA              WASEEM                  PA     90012247141
783B4285876B6B   ROBIN             SWEARINGEN              CA     90013932858
783B447917B461   MICHELLE          BYRD                    NC     90013354791
783B4514672B29   ANTHONY           DAVIS                   CO     90005365146
783B4562455947   JAMES             KILGORE                 CA     90009215624
783B4579841237   KELLI             KEANE                   PA     51048245798
783B462812B994   DEYANA            LARA                    CA     90014766281
783B4943231432   DANIEL            DIXON                   MO     90011289432
783B5134771921   DANIEL            CASTRO                  CO     32091141347
783B5558A41237   TIM               LEDDY                   PA     90010285580
783B5864755947   BRENDA            HAMILTON                CA     49022428647
783B5A7A39154B   YAZMINE           VERA                    TX     90011130703
783B64A8A91586   BRETT             HEIMER                  TX     75039084080
783B6516A2B994   DANIELLE          SANTOYA                 CA     45013415160
783B6788576B6B   MICHAEL           CRUZ                    CA     90014427885
783B6892772B22   ARNULFO           AGUILAR                 CO     90012918927
783B69A6755969   DINA              SANTOYO                 CA     90002569067
783B6A5318B561   GRANT             PARENT                  CA     90015160531
783B7216855947   MONICA            RIOSACUNA               CA     90012652168
783B7385371921   ALICE             SCHWARTZ                CO     90009663853
783B774739154B   MARTHA            VILLALOBOS              TX     75081397473
783B7787431432   KETRA             FUTRELL                 MO     90013087874
783B7825772479   HETTY             GREENAWALT              PA     90006148257
783B82A7872479   CRYSTAL           NUTTALL                 PA     51002332078
783B863737B477   KISPA             GIBSON                  NC     90014756373
783B86A5271921   ANGELICO          MONTOYA                 CO     90011876052
783B9453291588   LUCIANO           RODRIGUEZ               TX     75012374532
783BBA12A51544   ALISHA            BRADFORD                IA     90014510120
784113A6555947   MARIA DELCARMEN   HERNANDEZ               CA     90007143065
7841147628B157   SHANE             HARDY                   UT     90014924762
7841235267B359   YESHITILLA        GIZHAW                  VA     81054233526
7841242113168B   RACHEL            LUCAS                   KS     90009554211
78412685972B29   ARMANDO           OROZCO                  CO     33075816859
78412AA9951348   DANIEL P          WEAVER                  OH     90014460099
78413544472B35   MARTINEZ          GABRIELA                CO     90010415444
78413A36772B37   GRISELDA          SEGUNDO                 CO     90012910367
78413A76372B22   MERCEDES          GONZALEZ                CO     33074270763
7841439935B59B   NICOLE            BLOOM                   NM     90001473993
784143A6472B29   TAMMY             IJAMES                  CO     33052613064
7841448A855934   JUANA             PEREZ                   CA     49038424808
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 969 of 2350


7841461A172B32   JOSE            LORTA                     CO     33001336101
78414661172B22   IRLANDA         HERNANDEZ                 CO     90001826611
78414844A55969   VALERIE         RAMIEREZ                  CA     48008028440
7841526799154B   SLYVIA          SAENZ                     TX     90013082679
7841532AA2B994   URIEL           FAURRIETA                 CA     90010313200
7841577778B157   BRITANTY        VIGEL                     UT     90012347777
7841632319154B   CAESAR          ACOSTA                    NM     75032413231
784164A9976B6B   DELFINA         MOTA                      CA     90013114099
784167A1472B32   K               STRESS                    CO     90013217014
7841752A161997   BETTE           JOHNSON                   CA     46025895201
7841772519154B   MARIBEL         GONZALEZ                  TX     75007357251
78417A45251348   JOSE            ORTIZ                     OH     90001790452
78417A7845B59B   CASSIE          HERNANDEZ                 NM     35031590784
7841834A48B134   SONIA           ALVARADO                  UT     31008033404
78418453A5B343   JESSICA         SPENCER                   OR     44504804530
78418636372B37   TRACI           JARAMILLO                 CO     90010526363
78418734133B32   DAVID           RILEY                     OH     90013757341
78418985172B29   ALEX            MCDANIEL                  CO     33089959851
784189A6355947   SANDRA          CERVANTES                 CA     90012789063
7841918465B375   WESLEY          PECK                      OR     90001021846
78419A41572B37   GULLEY          KHADIJAH                  CO     90012910415
78419A7558B157   LUZ             NUNEZ                     UT     31071660755
7841B133591549   MARIA           GARZA                     TX     90006831335
7841BA53A33698   SHAKEIA         WILBURN                   NC     90011750530
78421536572B87   JERRY           CAMACHO                   CO     33032545365
78421A39893739   CHRISTY         GENGLER                   OH     90009940398
7842232815133B   NIKOLE          WHITENER                  OH     66015803281
78422849172B87   JEFFERY         HENDERSON                 CO     90002538491
7842292A69154B   ESPERANZA       IBARRA                    TX     75094909206
78423464A8B157   LOMAX           SHAUNA                    UT     90012054640
7842355A12B994   AMANDA          WILLIAMS                  CA     90014795501
7842369249154B   GRISELDA        ROSAS                     NM     75081766924
78424448A91588   ANGIE           LOPEZ                     TX     90014574480
78425199772B29   DORIAN DANIEL   AGUIRRE                   CO     90011141997
78425282372B22   JUAN            DE LIRA                   CO     33047932823
7842563489154B   PRISCILLA       HOLGUIN                   TX     90011116348
7842569135B59B   MIRIAM          SOLIS                     NM     35055126913
7842576959152B   YESENIA         TORRES                    TX     90011327695
7842595A18B168   BRYAN           ANDERSON                  UT     31015019501
78427224672B32   KENNETH         BERNAL                    CO     90010852246
78427234757B67   BRIAN           VILLANEUVA                PA     90013812347
784272A3372B37   ALEXANDREA      ROMERO                    CO     90013622033
7842762A18B142   SKYLUR          URE                       UT     90014566201
78427A5698B134   CHRISTINE       GILLETT                   UT     90004060569
7842838335B59B   NAOMI           MULLER                    NM     90014413833
7842854838B157   PELON           PERES                     UT     90005795483
78428812972B32   MICHAEL         PETTERSSON                CO     33070178129
7842887815B343   ROBERT          CROSS                     OR     90008868781
78428A83693739   SHELLY          HALE                      OH     90005130836
7842996739154B   ASHLEY          TREJO                     TX     90014629673
78429A66A5B343   ANA             ESTRADA                   OR     90006460660
7842B389A8593B   MATTHEW         VIEYRA                    KY     90014783890
7842B45975B326   TAYLOR          ROBSON                    OR     90008964597
7842BA26941237   SHARMEL         WASHINGTON                PA     90013080269
78431443A55969   MIGUEL          MALDONADO                 CA     48062224430
7843182145B32B   CHRISTOPHER     WESTCOTT                  OR     90009288214
7843242318B18B   CLARISA         CALL                      UT     31073564231
7843259A82B994   VALERIE         HOPAIS                    CA     90014795908
7843265517B359   GLEN            VIERK                     DC     90010356551
7843344428B142   STEFFANI        NELSON                    UT     31053334442
7843359A82B994   VALERIE         HOPAIS                    CA     90014795908
78433834A51355   TIANT           CARTER                    OH     66076848340
78433AA648593B   MIGUEL          MEDINA                    KY     90013670064
784341A9733698   KATASHA         HARRIS                    NC     90002911097
78434555A41253   BRICE           THOMAS                    PA     90014665550
78434A47651348   FRANCINE        WEIL                      OH     66006170476
7843519182B994   ABEL            BANDA                     CA     45053751918
78435191876B6B   PASCUAL         LOPEZ                     CA     90013351918
78435361172B32   NICOLE          TOWNSEND                  CO     90011363611
7843591375B384   ADRIAN          ROSALES                   OR     90013219137
78436161A55939   NAOMI           HERNANDEZ                 CA     90014811610
7843691A92B994   NICOLAS         BUSTOS                    CA     90014689109
784377A9A31433   DENISE          DEMENT                    MO     27587977090
78437A5182B994   JOHN            HUBERTY                   CA     90014820518
784387A8951348   BALAJI          NATARAJAN                 OH     90010327089
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 970 of 2350


78439434472B87   ERNESTO           OCHOA-GUERRA            CO     33054414344
784395A3491588   ABRAHAM           P                       TX     90009725034
78439756272B32   EVA               RECKTENWALD             CO     33025367562
7843B66AA55969   PEDRO             CONTRERAS               CA     48006316600
7843B72615B343   DWAYNE            PATTON                  OR     90013497261
7843B845455947   VICTOR            FELAN                   CA     90015418454
78441321A76B6B   JUAN GABRIEL      ALVAREZ                 CA     90013363210
7844173A78B134   ADENA             SLIVERS                 UT     90005817307
78441A98955969   SUBRENA           MURILLO                 CA     90004460989
7844214558B142   ANNY              LINARES                 UT     31046011455
784426A8957531   OLGA              RANTAR                  NM     90015026089
7844287952B261   LENA              THOMPSON                DC     90011058795
7844294469196B   LYCRETIA          D DAVIS                 NC     17008269446
78442AA282B994   KARLA             REYES                   CA     90014730028
7844353218B163   KYLE              STINSON                 UT     90006635321
78443AA282B994   KARLA             REYES                   CA     90014730028
78444646472B29   STEVE             MARQUEZ                 CO     90002226464
7844472135B59B   KRISTINA          CHEE                    NM     35015027213
78444A36351355   ADAM              MCLEISH                 OH     90007150363
78445156772B22   MEGAN             COLMAN                  CO     33001201567
7844543288593B   ELIZA             STAMPER                 KY     90014784328
78445625272B32   ELENA             CASTILLO                CO     90015196252
784456AA772479   TAMMY             HANEY                   PA     51002906007
7844578395B59B   B                 BENCOMO                 NM     90001987839
7844584568B157   TIMOTHY           TIBBETS                 UT     90006308456
78445A52941237   ALITA             GRANDISON               PA     90012730529
7844652858B157   NICOLE            HANSEN                  UT     90014585285
7844666A255969   GRACIE            NUNUEZ                  CA     90002406602
784466AA772479   TAMMY             HANEY                   PA     51002906007
78446A6A576B6B   ALEJANDRO         BENITIZ GOMEZ           CA     46091290605
784472A119154B   SALVADOR          CARRERA                 TX     75074152011
784472A9931432   TIFFANY           MACLIN                  MO     27550192099
78447677872B22   THERESA           PETERKIEWICZ            CO     90008016778
7844815655B343   MELANIE           DORMAN                  OR     44550161565
78448254572B87   GADILL            AVALOS                  CO     90002882545
7844876A561958   ELIZABETH         CUEVAS                  CA     90010217605
7844888587B477   LUCY              TEAH                    NC     90013618858
78448A81A9154B   DELIA             MENDEZ                  TX     90013950810
784492A9931432   TIFFANY           MACLIN                  MO     27550192099
78449467672B37   SARA              OLSON                   CO     33055784676
7844982A933699   ANGELA            CLARK                   NC     90014138209
78449938876B6B   DAVID             ALTHAGE                 CA     46052939388
7844996232B847   MIREYA            ESPEJO BARRIGA          ID     90004379623
7844B73A65B537   MADELOURDES       CASTILLO-ARMENTA        NM     90012607306
7844B835772474   GEORGE            BECK                    PA     90012078357
7844BAA282B994   KARLA             REYES                   CA     90014730028
784511A3A31432   WINEA             DOYLE                   MO     90011291030
784514A948B157   PATRICK           GARCIA                  UT     90007354094
784519A3372B22   ANDIE ALEXANDRA   ZAMORA                  CO     90014149033
784527A5172B37   BLANCA            MEDRANO                 CO     33038037051
78453167372B22   ALEJANDRO         HERNANDEZ               CO     90011251673
78453A72A85945   RICHELLE          CLAY                    KY     90005950720
7845421195B59B   ALBERT            BARELA                  NM     35005072119
7845482265B32B   MARCO ANTONIO     VELAZQUEZ               OR     90004108226
78454987672B37   DARLINE           HARDEN                  CO     90008929876
784552A4941237   HANS              BERKMAN                 PA     90013852049
78455474676B6B   BLANCA            AVILA                   CA     90012754746
78455A52191588   LILIANA           JIMENEZ                 TX     90014900521
784561A7A41253   JIMENE            HALLIGAN                PA     90007991070
78456562172B42   CATHY             TRAN                    CO     33043675621
7845688615B59B   JAMES             LENTE                   NM     35027828861
7845689499154B   SONIA             VILLAREAL               TX     90013968949
7845737232B961   DAVID             HORN                    CA     90012373723
78457897572B87   DEBORAH           MAUNAKEA                CO     90011408975
78457A72A85945   RICHELLE          CLAY                    KY     90005950720
7845812A181633   CAROLYN           FLEMING                 MO     90014661201
784582A6231432   KENYA             CARTWRIGHT              MO     27579742062
7845848688B163   NAZIA             DHEDHY                  UT     90014764868
784585A7972B87   AMANDA            LOPEZ                   CO     90000485079
7845884389154B   MARK              HETTENHOUSER            TX     90000868438
78458A9A38B157   CARESSA           ALLEN                   UT     90013760903
7845B284455969   VANESSA           CANTO                   CA     48009242844
7845B372751355   DARREN            STACEY                  OH     66076653727
78461997872B29   BOBBI             RAEL                    CO     90002009978
78461A39693739   CHARLENE          HAWKINS                 OH     64570420396
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 971 of 2350


78463533172B32   PHYLLIS           MC SHAN                 CO     33074165331
7846357A161951   ALENA             DUANE                   CA     90001715701
78463812476B6B   EMILY             WRIGHT                  CA     90013448124
7846398878B168   HERNANDEZ         VANESA                  UT     90003169887
78463A37441253   AYLANNA           KING                    PA     90010380374
7846428AA72B44   ANGELES           MACHORRA                CO     33061252800
78464521472B87   GIBSON            KELLY                   CO     90006935214
78464928472B32   HECTOR            HERNANDEZ               CO     90003609284
784653A3372B32   ENRIQUE           RODRIGUEZ               CO     90012453033
78465637997B21   DEBORAH           KILBURN                 CO     90007796379
7846574222B994   CYNTHIA           HOWARD                  CA     45043367422
78465A33572B87   MIRIAM            ARAGON                  CO     33057930335
78465AAA99154B   MARIA             SOTO                    NM     90000540009
78466411876B6B   CECILIA           NOBERON                 CA     46048374118
784672A6272B22   MARY              MAY                     CO     33017112062
7846764355B59B   MARIA             WILLIS                  NM     35048976435
78467867A61967   VATTANA           CHRONG                  CA     90004348670
78468168A72B87   ANGELINA          CARRILLO                CO     33081801680
784686A9193739   LINDA             DALTON                  OH     64560446091
7846892288B142   RACHELLE          WHITTAKER               UT     90014579228
78468A41851348   DANA              ANKNEY                  OH     90012310418
784692A745B343   MARY              GUZMAN                  OR     90006692074
7846953378B168   IAN               BAYLESS                 UT     90001905337
7846B135741253   ROBERT            ROSS JR                 PA     51058431357
7846B365293728   TESSA             SKEENS                  OH     90009963652
7846B61929154B   JAQUELINE         CONTRERAS               TX     90013286192
7846B845951348   JOSH              MANNS                   OH     90014868459
78471145572B22   HANNAH            STUART                  CO     90012751455
78472257576B6B   JESSE             CALDERON                CA     90011062575
7847285A272B87   ALMA              RIVERA                  CO     33037318502
7847298795B343   EDDIE             BENAVIDES               OR     90012469879
78473AA8272B87   JOLENE ERMINIA    MAES                    CO     90008060082
784741AA473233   GRETNA            WILKINSON               NJ     90014941004
7847424563168B   DORPHAN           CARTER                  KS     22007472456
7847538675B59B   ADRIANNA          SANTILLANES             NM     90006683867
7847566839154B   DANNY             HERNANDEZ               TX     90011116683
7847568275B343   MARCIA            ARVIN                   OR     90003506827
78475A5A172B37   CURTIS            MARTINEZ                CO     90012910501
78476236A7B477   TIFFANY           CHANCE                  NC     90014872360
78476496376B6B   DUANE             WALSH                   CA     90012084963
78476872A72B22   LAURA             LUCERO                  CO     90008278720
78477231772B22   COLLEEN           CLARK                   CO     90015102317
7847758115B343   AMARISSA          MORALES                 OR     90014785811
784777A1A55969   ANTHONY           RIOS                    CA     48088867010
784779A3A72B44   MATTHEW           FRANCIS                 CO     33015329030
784784A9251355   RAYMONA           FELDER                  OH     90011564092
7847855917B477   DEBORAH           HARRISON                NC     11035815591
78478788876B6B   MINERVA           PERALTA                 CA     90014427888
7847913815B343   HEATHER           GASCA                   OR     90011961381
784794A1741227   DONALD            VILSACK                 PA     51089404017
7847955155B32B   SHEILA            HURLEY                  OR     44534745515
78479A9149154B   ARACELI           HERNANDEZ               TX     90000530914
78479AA8272B87   JOLENE ERMINIA    MAES                    CO     90008060082
7847B24328B157   MICHAEL           SAMMANN                 UT     90014482432
784811A6355947   BENAI             TAYLOR                  CA     90010391063
78481487A8B142   MIKE              BOWE                    UT     90014764870
784814A788B163   ISABEL            MOLINA-AVELLA           UT     31085104078
784821A9391588   PEDROZA           RENE                    TX     90014131093
7848241178B163   MARIA             PHAM                    UT     31087734117
7848268528B142   BROCK             WILSON                  UT     90012286852
78482A85241253   KEVIN             GARTH                   PA     90007940852
7848323725B59B   CYNTHIA           ROMERO                  NM     90013822372
7848337A655939   NORMA             RAMIREZ                 CA     90013983706
7848415997B35B   JOSE              CRUZ                    VA     90007471599
78484417272B22   NANCY             MENDEZ                  CO     90013504172
78484A4338B134   CHRIS             HATHAWAY                UT     90014770433
78484A59633698   GUSSIE            CURRY                   NC     90009870596
78484A64841237   DIANE             COOK                    PA     51091280648
78485434A33698   SHELIA            DAYE                    NC     90010204340
784859A7476B6B   JEFFREY ROGER     JOHNSON                 CA     90013269074
78485A98951355   CHRISTOPHER       WORKS                   OH     90007660989
78486615A9154B   CHRISTIAN BRYAN   BUENO                   TX     90007096150
78486A55372B37   CHERRELLE         CANDELARIA              CO     90012910553
7848711A785945   CARMEN            ADAMS                   KY     90013741107
7848791A291975   SUSANA            ADAMS                   NC     90014659102
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 972 of 2350


78487A54455969   KENNETH       MATNEY                      CA     90004340544
7848879A951348   AMANDA        DILLON                      OH     90015317909
7848889652B994   DIEGO         PEREZ                       CA     45063188965
7848896755B343   SHANNAN       BAILEY                      OR     90013509675
78488A21661973   LETICIA       MENDEZ                      CA     90007910216
78489883A5B343   JESUS         GUTIERREZ PONCE             OR     90013488830
78489933A72B44   RAMIRO        MELENDEZ                    CO     90005399330
7848B23967B477   KRISTIN       JONES                       NC     90011082396
7848B272A8B142   JOHN          HUEY                        UT     90009972720
7848B457791588   VICENTE       GARCIA                      TX     75021874577
7848B517A71921   DARLA         PARTIDA                     CO     90009515170
7848BA75472B27   FREDA         CARLOCK                     CO     90011800754
78491111672B22   YAN           JIANG                       CO     90010231116
7849116558593B   MICHELLE      BEGLEY                      KY     66066241655
7849138994B539   VANESSA       RAMOS                       OK     90010123899
78491414172B29   ULISES LARA   LARA                        CO     90002584141
7849161A14B254   PETER         CIHUNKA                     NE     90008006101
78491AA735B59B   ALBERTO       LOPEZ                       NM     90013790073
784923A9891588   LETICIA       FISHER                      NM     75055973098
78492499376B6B   RILEY         HOOVER                      CA     90014074993
78492977A9154B   VALENCIA      ARMANDO                     TX     75073339770
7849378548B159   JYLENE        BURTON                      UT     31066157854
7849379538B157   ALONDRA       DIAS                        UT     90002607953
7849416558593B   MICHELLE      BEGLEY                      KY     66066241655
78494534672B37   VANESSA       MARTINEZ                    CO     33052145346
7849514445B59B   ANGELICA      RIVAS CHAVEZ                NM     90014391444
7849551AA72B32   MARIA         ACOSTA                      CO     90014825100
78495656A55939   JAIRO         MANZO                       CA     90011056560
784964A5372B22   TRACY         GRIEGO                      CO     90011674053
78496656972B83   DANIEL        DANIEL                      CO     90010196569
78496A33572B87   MIRIAM        ARAGON                      CO     33057930335
78496A33972B37   VIOLA M       MARTINEZ                    CO     90014160339
78496A35993739   STACY         CRISWELL                    OH     90010170359
78497469672B37   ROCHELLE      WASHINGTON                  CO     90012814696
7849793129712B   CARMEN        BROWN                       OR     90009049312
78497A32393728   DREWMAR       THREATS                     OH     90011290323
7849848458593B   KELLY         TIPPITT                     KY     90014794845
7849877288B163   ERIKA         CLEMENTES                   UT     90014557728
7849889613B395   LINDA         PARENT                      CO     90007738961
7849895559154B   RAFAEL        ANDAZOLA                    TX     90014179555
7849938A28593B   MICHAEL       JAMES                       KY     66075503802
78499A21A31432   CHRIS         BAKER                       MO     90014020210
7849B232271921   MISS          TEIASFHA                    CO     90009082322
7849B26478B163   ANGEL         VALDEZ                      UT     31075882647
7849B441972B87   CARLOS JUAN   SANTANA                     CO     90011634419
7849B517391588   RUBY          MERAZ                       TX     90012525173
7849B845293739   MARCY         MCGEE                       OH     90002978452
784B1426972B22   ASHLEY        GARCIA                      CO     90006444269
784B143A18B142   VELAINA       SHERWIN                     UT     31070874301
784B149715B343   RICHARD       NELSON                      OR     90013564971
784B1589931432   SHANON        ARTEAU                      MO     90013095899
784B2238955969   RIGO          PORRAS                      CA     90011252389
784B2373971921   MARIA         MUNOZ                       CO     90000813739
784B2382A91588   LORENA        REYES                       TX     90006993820
784B2682131433   CHIQUITA      CLAUDE                      MO     27566656821
784B288A22B994   JACKIE        MARTINEZ                    CA     45014378802
784B295618B157   SALAZAR       ENRIQUE                     UT     31014139561
784B3668472B32   VICTORIA      CASTILLO                    CO     33025356684
784B3A2835B59B   MELISSA       GUTIERREZ                   NM     35088840283
784B3A3688B168   EMMA          CORAL                       UT     90007490368
784B3A5A272B29   MARIA         CASTRO                      CO     90013980502
784B4342593739   JOHN          SHEPHARD                    OH     90011223425
784B517A181633   JOSEPH        GIBSON                      MO     90001031701
784B5189455969   SAUL          GONZALEZ                    CA     90009901894
784B628268593B   MICHAEL       REDMAN                      KY     90014782826
784B629757B477   JULIO         GARCIA                      NC     90015272975
784B648735B336   HEATHER       PATTON                      OR     90006734873
784B6762793739   JEREMY        WEBER                       OH     90008617627
784B6848172B22   CANDELSRIA    DAVILA                      CO     90011438481
784B6A16361597   SHERYL        SMITH                       TN     90015420163
784B6A64672B87   COLYN         LIST                        CO     90014920646
784B711A872B44   NANCY         FLORES                      CO     33004931108
784B7572541253   ERIC          KIMAK                       PA     90005725725
784B7633271921   MICHAEL       HAAS                        CO     90008596332
784B7636231433   STACIE        ADAMS                       MO     90012156362
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 973 of 2350


784B77A2672B37   BEATRIZ           CASTANEDA               CO     90007177026
784B7862293739   BRADLEY           IZETTA                  OH     64553438622
784B8258197122   MIKE              SCOTT                   OR     90011432581
784B872245B384   CHRISTINA         STAPLES                 OR     44588787224
784B875418B134   ANTHONY           REYNOLDS                UT     31059577541
784B9334141252   BRANDI            CARTER                  PA     90002963341
784B967AA5B59B   SUSANA            ALANIZ                  NM     90010466700
784B96A9A72B37   RICARDO           RAMIREZ                 CO     33090136090
784B9951631443   TANISHA           LESHAE                  MO     90003129516
784BB181855969   ELIZABETH ELLEN   TROYE                   CA     90013241818
784BB38A555939   ANTONIA           HERNANDEZ               CA     48061573805
7851159568593B   KRISTINA          WEBSTER                 KY     90011275956
785119A5772B87   ANGELA            GONZALES                CO     90010439057
78511A37844346   KRISTI            BALL                    MD     90015580378
78511AA658B134   MARISSA           CHAVEZ                  UT     90014880065
7851215857B473   CHRISTINA         KIRK                    NC     90000981585
78512291A8B157   PAW               BU                      UT     90015212910
7851294A272B44   BARRON            LAURA                   CO     90005399402
78512956A8B168   ANOTONIO          BAUTISTA                UT     31046529560
7851295A48593B   SUZANNE           BAUTE                   KY     90013959504
78513299172B32   TONY              AMES                    CO     90012672991
785139A9A55969   CANDELARIA        CALDERON                CA     48008729090
7851496A931443   ASHLEY            LOMAX                   MO     27598869609
78514A94591966   RICHARD           PARKER                  NC     90011030945
78514AA2455939   AMALIA            AVILA                   CA     48078500024
7851547A841237   BAYLON            SLOAN                   PA     51027884708
7851578947B477   KOKITA            BNSTOL                  NC     90003547894
785164A545B597   IRENE             SAENZ                   NM     90008294054
78516694A41227   LAURIE            WORKMAN                 PA     90013406940
78517542572B32   ISIDORE           CHAVEZ                  CO     90007895425
7851827A75B59B   CHARLENE          ROMERO                  NM     35005462707
7851853878B163   ELIA              SOTO                    UT     90013525387
78518963576B6B   JOSEPH            ONTIVEROS               CA     90010839635
7851925232B994   SELINA            RODRIGUEZ               CA     90010092523
785192A827B477   HILARION          HERNANDEZ LOPEZ         NC     90012172082
78519654676B6B   EMMELINE          NIEVERA                 CA     90015236546
78519768A81633   LARWENC           WALKER                  MO     90013917680
78519A52955996   ANTONIO           VALENZUELA              CA     90008270529
7851B219A41253   DIANE             DREXLER                 PA     51072862190
7851B57A855969   VERONICA          SANTACRUZ               CA     90011775708
7851B61738B157   WOOD              THOMAS                  UT     90010016173
7852123AA31475   ANTIONE           SHEPARD                 MO     90001032300
78521668472B22   VICTORIA          CASTILLO                CO     33025356684
7852256478593B   ELISHA            ADAMS                   KY     66054235647
7852267325B343   BETTIE            MENDEZ                  OR     44595526732
78522A84955939   VICTOR            ORTIZ                   CA     90014510849
78523418A76B31   JOSE              AGUAS GARCIA            CA     90007874180
78523943372B22   CHRYSTAL          HOPSON                  CO     90007359433
785241A7584322   KARSTEN           HOUSEY                  SC     90006481075
7852575418B134   ANTHONY           TOVAR                   UT     31028837541
7852588948B142   CODY              PACE                    UT     90014588894
7852594135B384   MARIA             FRANCISCO               OR     90004979413
78525A73257126   MIGUEL            ALVARENGA               VA     90005900732
785268A9855939   ROSA              SANDOVAL                CA     90008918098
7852718998593B   BONNIE            WILLIAMS                KY     90003471899
785271A678B142   SARAH             HOGUE                   UT     31000351067
78527269772B29   DEANNA            ESTRADA                 CO     33052192697
7852811268B134   PAULINE           HERRERA                 UT     31044661126
78528193172B32   ERICA             WILLIAMS                CO     33024151931
78528516272B87   JUANA             DORANTES                CO     33096455162
78529753872B87   SHERRY            GARIBAY                 CO     90009957538
78529953772B87   DESIRAE           PRESTON                 CO     90010529537
7852B169551355   RHONDA            SHEPHERD                OH     90014581695
7852B31188593B   EDILBERTO         POBLETE                 KY     66029883118
7852B447972B87   RONALD            WATKINS                 CO     90011634479
7852B89A831432   JASMINE           LAMPLEY                 MO     90014638908
7852BA7A641253   TASHA             WIETRZYKOWSKI           PA     90011800706
7852BA96372B87   HAWI              ELMI                    CO     90014920963
785314A668B142   JENNY             BRAILSFORD              UT     31097794066
7853167255B59B   CARLOS            BACA                    NM     90011216725
7853195A48B157   EUGENE            DYSON                   UT     90014409504
7853214A555969   VERONICA          NUNEZ                   CA     90013311405
785322A8141237   RAYNE             CRAWLEY                 PA     51032492081
78532332572B29   KRISTY            HERNANDEZ               CO     90007203325
785341A6672B87   BRIONNA           JEFFERSON               CO     90014921066
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 974 of 2350


785341A699154B   NOEMI          ARMAS                      TX     75092161069
78534871976B6B   SANTOS         GOMEZ                      CA     46023058719
78534A95155939   KAREN          PACHECO                    CA     90010280951
78535226A8B163   BERTHA         OCAMPO                     UT     31087452260
78535671A8593B   BRANDY         HUFF                       KY     66075556710
78535741A5B32B   ELIZABETH      GONZALES                   OR     90004417410
785359A7372B29   GERARDO        MARTINEZ                   CO     33086619073
7853625A83168B   THOMAS         JARBOE                     KS     22030752508
7853714295B59B   JOSEFINA       CAMBEROS                   NM     90012411429
7853741153168B   CLIFTON        LONG                       KS     22078214115
78537859A55939   JOSE           CRUZ                       CA     90013748590
78537913472B22   MIKE           SMITH                      CO     33000839134
7853859615B59B   ALCON          HOPE                       NM     35000555961
7853878525B343   VICTOR         TALACON                    OR     44598837852
7853885278B168   KAREN          DRUMMONDO                  UT     90003938527
78538A6345B384   NICOLE         GUTIERREZ                  OR     44559050634
78538A67772B32   ADRIANNE       DELLABIANCA                CO     33025000677
78538A76731433   VALLERIE       SHELL                      MO     90013750767
7853915A89154B   ARTURO         MARTINEZ                   TX     90013171508
78539258872B37   YENE           LERMA-CHAPARRO             CO     33068122588
7853932427B477   LORAINE        FOSTER                     NC     90012863242
785396AA871921   CESAR          MAURICIO                   CO     90014266008
78539A43955969   LILIANA        NUNEZ                      CA     90012780439
7853B632172B87   MARIO          MARTINEZ RODRIGUEZ         CO     33056806321
7853B651633698   JUMART         KELUBIA                    NC     12011456516
7853BA4149712B   ZAHAR          KULGAV                     OR     90006130414
785417A918B157   SHELDON        WARREN                     UT     90011887091
7854241518B157   KELLY          JESSICA                    UT     31090504151
78542634876B6B   JAVIER         RIOS                       CA     90014366348
78542786A81633   CELESTRAL      WARD                       MO     29001477860
78542A18431433   MAGGIE         DELTON                     MO     90010850184
7854366259152B   ALLAN          HAGEMASTER                 TX     90010546625
78544A28771921   CASSANDRA      MILLER                     CO     32007990287
78545947572B37   GABRIEL        ARRIETA                    CO     90014849475
78545A5358593B   DERRICK        TURNER                     KY     90014800535
785465A9772B29   PAM            APPLEGATE                  CO     90005635097
78546963A76B6B   REYNA          BELTRAN                    CA     90013319630
78546A4399154B   ARANGO         JUAN JOSE                  TX     90004410439
78546A68991942   DARWIN         MORA                       NC     90002440689
78547624A91548   VICTOR         GONZALES                   TX     90005376240
78547685672B22   ANTONIO        MORALES                    CO     90015126856
7854794829154B   MARCOS         RIOS                       TX     75051539482
7854868269154B   MELISSA        SANCHEZ                    TX     90014566826
78548951972B22   KARNA          MAGAR                      CO     90011379519
78548A15831433   APRIL          DAVIS                      MO     90003060158
7854947758B134   KENARAE        HICKS                      UT     90012494775
78549866776B6B   WASHINTON      MARZELLA                   CA     90015318667
78551118672B87   MIRIAM         ELIZONDO                   CO     90014921186
7855125825B59B   KENLY          SMITH                      NM     35078672582
7855139A633684   DARYL          HOLLIDAY                   NC     90000953906
7855157AA72B32   CRYSTAL        DOUGLAS                    CO     90005845700
7855172A38B134   MICAELA        ROSAS BENITEZ              UT     90011367203
7855286792B994   RAFAEL         GUIZAR                     CA     90010438679
7855298548B163   DANA           COMBS                      UT     31072249854
785529A3272B37   JOSE ANTONIO   VALENZUELA                 CO     90011869032
785529A8541237   RON            WASHINGTON                 PA     90011009085
7855318615B59B   MELINDA        CARRILLO                   NM     90008801861
78553536972B22   EDEN           HOLGUIN                    CO     33089645369
78553749A5B373   ABRAHAM        VELASQUEZ                  OR     90010517490
78553884A31433   VINCENTA       LYSTON                     MO     90012928840
78554A2AA8B163   CRINOLYNN      BOWEN                      UT     90010020200
7855566535B343   COURTNEY       BAILEY                     OR     90006646653
78555782A8B163   JARET          KADLEC                     UT     90005877820
78556751672B37   JUSTIN         ANDERSON                   CO     33065447516
7855734735B388   MATT           CRAIG                      OR     90008573473
78557496A55947   MARCELA        BERBER                     CA     90013364960
78557A3225B921   LEN            PICARD                     WA     90003310322
78558125A71921   AUGUSTINE      YANRUW                     CO     90001101250
78558396972B37   JOSEPH         DANIEL                     CO     90014633969
78559757172B29   DIANE          BRUNER                     CO     90012797571
78559893A2B994   ADRIAN         HERNANDEZ                  CA     90010398930
78559954472B32   HILLARY        CLARK                      CO     90009849544
78559A7722B994   ANTONIO        HERNANDEZ                  CA     90014850772
78559A95141227   ANGELITA       NAVARRO                    PA     51045010951
7855B1AA172479   ASHLEY         BALASCHAK                  PA     51015831001
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 975 of 2350


7855B22832B994   ARCELIA         VELASCO                   CA     90011492283
7855B493472B32   ESTANISLAO      RICALDE                   CO     90004974934
7855B513A7B661   CL              SIMPSON                   GA     90007505130
7855B717571921   SHANNON         FRANCA                    CO     32012437175
7855BA62772B87   NELDA           HAMBLEN                   CO     90009130627
7856129412B994   FELIPE          FLORES                    CA     45006212941
785617A8991588   CHRISTOPER      NORIEGA                   TX     75089117089
7856212522B994   VICTOR          VILLANUEVA                CA     90014891252
7856244438B157   JERICA          FRITZ                     UT     90014344443
7856263219154B   KARINA          FLORES                    TX     90013286321
78563186472B29   PATRICIA        GONZALEZ                  CO     90011601864
7856322682B994   HUMBERTO        BORGES                    CA     90014882268
78563A2117737B   UNTRYN          JOHNSON                   IL     90015100211
7856422682B994   HUMBERTO        BORGES                    CA     90014882268
78564635472B32   DAN             SALAZAR                   CO     33026856354
78564969572B22   MONTIEL         LOPEZ EULALIO             CO     90014279695
7856498475B32B   JOSHUA          ELLS                      OR     90004429847
78564A2845B59B   GERARD          CARRILLO                  NM     35091590284
7856591A172B37   LIDIA           PATLANE                   CO     33065449101
785659A5A41237   TENILLE         HILL                      PA     90011009050
78565A59351348   STANLEY         JOHNSON                   OH     90012980593
78566533772B29   JAEL            ALARCON                   CO     90012155337
7856697369154B   ESTEBAN         CASTRO                    TX     90009189736
78567139672B29   DORIS           AMADOR                    CO     90013481396
785673A7181637   JESSICA         HERNANDEZ                 MO     29079873071
78567536672B32   JUDITH          LARA                      CO     90012435366
785676A3331443   HEATHER         WHITE                     MO     90002696033
78568177A72479   GINA            BURNETT                   PA     90006431770
785682A2772B29   WYLIE           MCGATH                    CO     90009232027
78568454772B32   MATHEW          HUNTER                    CO     90007484547
78568475A7B477   HECTOR          SOLIS                     NC     11055444750
7856888165B59B   PAYGO           IVR ACTIVATION            NM     90011548816
7856923328B134   ELIZABETH       RODRIGUEZ                 UT     90005702332
78569317976B6B   DALLAS TRUMAN   BERG                      CA     90014773179
78569877972B44   ALFREDO         ORTIZ                     CO     33053508779
7856B218472B29   DAVID           VIGIL                     CO     90014832184
7856B28218B855   NOWEL           LUCAS                     HI     90015062821
7857135399154B   RANDI           ACOSTA                    TX     90012083539
7857139753168B   RON             SHAW                      KS     22004823975
78572213A3B395   MELODY          HARRIS                    CO     90010422130
78572232372B32   DANIEL          BAHATA                    CO     90010852323
7857248528B163   MARK            LONES                     UT     90002714852
78572784A8B134   STEPHANIE       BOWNIE                    UT     90014727840
78572795876B6B   BRIAN           SMITH                     CA     46071537958
7857319898593B   SHARLYNN        LUKAS                     KY     66088121989
785735A5272B22   DEREK           PETTIJOHN                 CO     90013065052
785742A6672B22   ROBERTO         ALVAREZ P                 CO     33045942066
78574382A72B29   SHAUN           HENDERSON                 CO     90012093820
7857489A872B32   JOSEFINA        RODRIGUEZ                 CO     33088628908
78575854A71921   NAHSHON         CISNEROS                  CO     90010368540
785762A1872B37   JACK            ROBERTS                   CO     90013052018
7857688315B277   TOMMY           JONES                     KY     68092318831
78576936372B44   8933            STOCKMYER                 CO     90000399363
78576AA855B59B   RUBEN           ORTIZ                     NM     35084420085
7857723629154B   MIRIAM          HEREDIA                   NM     90006052362
78577437572B29   PEDRO TORRES    INFANTE                   CO     90010184375
785776A5672B32   ERICA           ARMIJO                    CO     90003876056
7857787A781633   JACY            RIST                      MO     29025638707
78578366472B32   DYLON           MCATEE                    CO     90015233664
7857887745B59B   SONJA           MULL                      NM     90007658774
785789A258B855   ERMIN           SONNY                     HI     90014859025
785789AA372B37   TONI            LUJAN                     CO     33049119003
7857961545B59B   SIOBHAN         THOMPSON                  NM     90013536154
78579799A5B384   LILIANA         BARRERA                   OR     44567487990
7857983A78B142   SUZY            BERRY                     UT     31010688307
7857B428272B29   PENNY           GILLIS                    CO     90008644282
7857B51968B134   ALEX            LAMBROSE                  UT     90014705196
7857B63342B267   ANA ELIZABETH   LOPEZ                     DC     90004806334
7857B885551348   MARCOS          VELISICAS                 OH     90015388855
78581721A5B32B   JOSE            MEJIA RAMIREZ             OR     44513697210
7858178358B157   BRIAN           KETRON                    UT     90014907835
78581A78A51355   SELENA          KLAPHAKE                  KY     90013740780
7858223A591254   KATHERYN        MORNINGSTAR               GA     90015002305
7858234822B994   JOSED           AGUILAR                   CA     90014083482
785828A4555969   SIMONA          HUERTA                    CA     90003418045
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 976 of 2350


7858334822B994   JOSED              AGUILAR                CA     90014083482
785833A7955939   ABANGELINA         FLOREZ                 CA     90010823079
7858378575B343   CHESTER            BAKER                  OR     44552667857
7858422698593B   AMBER              ROGERS                 KY     90011852269
7858471298B163   ALEJANDRO          SERRANO                UT     90005457129
7858522A871921   MONIQUE            MADDOX                 CO     90012182208
7858541175B53B   STACY              ROANHORSE              NM     90008274117
7858566638B163   ERIC               NAKAMURA               UT     90005516663
78586555A8593B   DORIS              RODRIGUEZ              KY     90014805550
7858667943168B   SHANEQUA           EGGLESTON              KS     90006146794
78587A22872B37   MARIA              RUIZ GONZALEZ          CO     33027850228
785882A4A76B6B   ELIZABETH          CASSELMAN              CA     90010282040
7858866219154B   ELIZABETH          RAMIREZ                TX     75084266621
785886A523362B   KAMEEKA            BROWN                  NC     90010296052
7858885A872B44   MAIRA              DIAS                   CO     33095678508
78588A7787B477   NALAJA             FRANCIS                NC     90014710778
78589264A72B29   ANA                CASTELLANOS            CO     90006532640
7858B375176B6B   STEVE              ROBERTS                CA     46082033751
7858B659272B22   ISABEL             WILLIAMSON             CO     33039026592
7858B96925B343   KAREN              MCKESSON               OR     90005379692
7858B985272B87   KENDELL            BROOKE BARR            CO     90011839852
7858BA2378B163   KIM                LYLE                   UT     90008110237
7859116A576B6B   NORMA              MARTINEZ               CA     90008311605
78591615172B37   ANGELICA           GALINDO                CO     90004466151
7859241828B163   SERGIO             QUINTERO               UT     90009844182
7859258288B157   VAL                BRAITHWAITE            UT     90013775828
78592A1818B163   CAMILLE            APPAWORA               UT     90012510181
7859334735B343   LUCIO              BAUTISTA               OR     90015443473
7859338A455939   REYNA              LUPIAN                 CA     90012243804
78593434272B37   KAYLA              DENNIS                 CO     90014454342
7859358A591577   JESUS              DOMINGUEZ              TX     90012735805
78593A45872B37   JAMES              FINLAYSON              CO     90010390458
78594666A51355   ANGELA             COLEMAN                OH     90013046660
7859469775B59B   ALISSA             GOODWIN                NM     90011216977
7859487A55B59B   JUSTIN             HALL                   NM     90008638705
7859523887B477   ZAWNG              LING                   NC     90013692388
7859531338B142   SALVADOR           GONZALEZ               UT     90006253133
78595332576B6B   ERIC               CAMACHO                CA     90012743325
7859535648B134   ANGELA             HAMILTON               UT     90008043564
7859535A993739   RAYMOND            HAWLEY                 OH     90002173509
78596AA3255969   MARIA              TAFOLLA                CA     48039990032
7859722218B134   MANUEL             TAPIA                  UT     90013972221
78597563272B87   WILLIAMS           KEYYNNA                CO     33054265632
78597984A76B6B   PEDRO              RAMIREZ                CA     90001469840
78597993A8B142   TRISH              ZUNIGA                 UT     90014589930
7859897498B142   MONTESINOS-PARRA   ROQUE                  UT     90008179749
78598A8359154B   SERGIO             FLORES                 TX     90012280835
78599A88A8593B   DAVID              COLLETT                KY     90013330880
7859B266831432   PRINCESS           RESIBOR                MO     90012162668
7859B28197B477   TAMISHA            DRYE                   NC     90014502819
7859B36A251349   SHENISA            THOMAS                 OH     90008673602
7859BA8359154B   SERGIO             FLORES                 TX     90012280835
785B128672B994   MONICA             SAMANO                 CA     90002252867
785B134415B384   GIOVANY            YAC                    OR     90002753441
785B141919154B   MANUEL             AMADOR                 TX     90013254191
785B14AA25B343   JOSE               RAZO ARELLANO          OR     44504554002
785B1785151355   ROBERT             HAYDEN                 OH     66018447851
785B179838B163   TYLER              JOHN ROBINSON          UT     90011227983
785B1878755969   RUSSELL            POLES                  CA     48068828787
785B1961931432   YASHICA            STEWART                MO     90012009619
785B1A7A151355   BARBARA            HAYDEN                 OH     66009480701
785B239858593B   LINDA              MILLER                 KY     90014793985
785B2969151355   MARY               MACONE                 OH     90013749691
785B321728B142   ARELLANO           ERIKA                  UT     90009272172
785B35A2572B37   MEGAN              GROSSMAN-BASSETT       CO     33033895025
785B387925B59B   ANA                RIVERA                 NM     35058228792
785B3A6178593B   JASON              BRUENER                KY     90014610617
785B4478993739   DARRELL            GERICKE                OH     90007134789
785B4717571921   SHANNON            FRANCA                 CO     32012437175
785B5178251355   DONNA              HAVERLAND              OH     66040301782
785B5724371921   LINFORD            SENYO                  CO     90011327243
785B5991872B37   GLORIA             MELENDEZ               CO     90014339918
785B5A12A41227   NATHAN             MATSCHINER             PA     51045030120
785B6114151348   SOHNA              TOURE                  OH     66067821141
785B637375B59B   STAN               BENAVIDEZ              NM     90012073737
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 977 of 2350


785B6521376B6B   PETER              WANJIRA                CA     90003585213
785B65A1333698   TANYA              WASHINGTON             NC     90008505013
785B66A247B48B   GLORIA             CAMPBELL WHATLEY       NC     11008226024
785B6853172B37   MARK               PEARSON                CO     33092548531
785B7317772B37   JESUS              ZONIA                  CO     90013913177
785B734248593B   SIR                CHAMES                 KY     90011253424
785B752AA5B161   LEANNA             MCNEELY                AR     90010495200
785B7854A71921   NAHSHON            CISNEROS               CO     90010368540
785B787144B25B   JAY                LINDSAY                NE     90006218714
785B7A72A85945   RICHELLE           CLAY                   KY     90005950720
785B8145644344   PEDRO              TORRES                 MD     90014371456
785B8212872B29   ADAM               PINEAU                 CO     33076622128
785B886463168B   PATRICIA           STEBBINS               KS     22042868646
785B89A8455939   ROSA               MOJARRO                CA     90014099084
785B8AA5155947   MARIA              SUAREZ                 CA     49007580051
785B9119655969   DANIELLE           SANCHEZ                CA     48079111196
785B912A372B37   DONALD             KEYS                   CO     90012791203
785B916677B661   LAKEETA            HARRIS                 GA     90010751667
785B924157B477   JARTAVOUS          GAITHER                NC     90012552415
785BB284381697   NIKOLE             HENSON                 MO     90010532843
785BB35A65B343   JERRY              BUCKNER                OR     90014243506
785BB38888593B   MAGNUM             FEJERAN                KY     90014793888
785BB945A55969   ELIZABETH          HAYNES                 CA     48068119450
7861126488B134   LAURIE             SMITH                  UT     90015172648
786118A8755969   JOSE               PALAMAREZ              CA     48027178087
7861197A191588   VICTOR             HERRERA                TX     90013429701
78612574476B6B   SANTOS             DE LA TORRE            CA     90012885744
78612694A8593B   CORRINE            PENROD                 KY     90011936940
786128A2951355   TONYA              PAYNE                  OH     66047888029
7861296513B14B   GENARO             BARILLAS               DC     81022259651
78612A32A9154B   NELLY              ORTIZ                  TX     90011530320
7861318892B994   COURTNEY           JESKE                  CA     90014911889
7861326748B168   ROBERT             REID                   UT     90014042674
7861354195B343   AMANDA             FULLER                 OR     90009565419
7861372238B157   LILIANA            ALARCON                UT     90015107223
78613A91272B22   YADIRA             CARDENAS ORTIZ         CO     90013830912
78614211A8B142   LUIS               CAETANO                UT     31065802110
7861495A78B163   DIANA              LOYA                   UT     31061729507
78615768772B29   JOSHUA             CROOK                  CO     90014207687
78616A84172B37   JOSE JUAN          DEVORA                 CO     90012910841
7861718892B994   COURTNEY           JESKE                  CA     90014911889
7861758549154B   DE LA ROSA         SANDRA                 TX     90008525854
78618179276B6B   STANLEY            DUNN                   CA     90013021792
78618298272B27   KATARINA           MCMINN                 CO     90013252982
78618715672B37   HECTOR             LOZANO                 CO     90006607156
7861886295B32B   ZACHARY-DAVID      OLDHAM                 OR     90004468629
78619867A9154B   ANGEL R            PEREZ                  NM     90000698670
7861B25AA8593B   ANGELA             CUMMINGS               KY     90007832500
7861B344A2B29B   KENDRA             COPELAND               DC     90011443440
7861B37825B59B   LESTER             BROWN                  NM     90002823782
7862136459154B   TONY               LEVARIO                TX     75090353645
78621427772B22   EDGAR              PACHECO                CO     90013504277
78621789A8B142   ALFONSO            CAMACHO                UT     90014607890
7862183817B477   KATHERINE ROXANA   RAMIREZ ZELAYZ         NC     90011268381
78621862272B87   JEANNI             HERNANDEZ              CO     90014938622
786218A7572B44   ESTEFANY           D                      CO     90014188075
7862246A831433   ANDREA             WHITTIER               MO     90010884608
7862258148B163   ALFREDO            GARCIA                 UT     90005195814
78622647872B22   DEANELLE           OFFERMAN               CO     90003346478
7862317825B32B   RAY                DOYLE                  OR     44523461782
78623995672B32   ANGELICA           OLVERA                 CO     90013349956
7862455549154B   JENNIFER           DIAZ                   TX     90015215554
786246A9841237   DEBORAH A          VISCONTI               PA     90006736098
7862523668B157   COURTNEY           ROBERTS                UT     90015012366
7862524A781633   EMMANUEL           RAMIREZ                MO     90004372407
7862571259154B   RAFAEL             SILVA-CALDERON         TX     90013157125
78625A87772B37   SABRINA            LUJAN                  CO     90012910877
78626141A91588   ALEJANDRA          EZQUVEL                TX     75038541410
7862626892B994   CARELLY            BUENAS                 CA     90014912689
7862753749154B   JOSE               PAIZ                   TX     90014945374
78627576572B37   SHALITA            GREEN                  CO     33051305765
7862774485B343   MARTHA             DOMINQUEZ              OR     90003637448
7862812858B142   CORY               KIRK                   UT     31046891285
7862835A18B163   ZAHRA              ALI                    UT     90013833501
7862894669154B   SABRINA            BELTRAN                TX     90013969466
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 978 of 2350


78628A94991548   ADRIANA       SOTO                        TX     90000610949
78629225772B44   JOSE          GONZALEZ                    CO     33043872257
7862954475B343   JUAN          CARLOS                      OR     90013975447
7862987985B384   KEIONA        OWENS                       OR     90001458798
7862B973551586   RAUL          CAMARENA                    IA     90014949735
7862B9A1376B6B   GENARO        HERNANDEZ                   CA     46092139013
78631332A55969   JULIO         ARREOLA                     CA     90001683320
78631356272B32   YESSICA       HENRIQUEZ                   CO     90013073562
786314A4591588   ELIDA         MUNOZ                       TX     90012824045
78631913A2B994   PAUL          MENA                        CA     90008159130
7863241828B163   SERGIO        QUINTERO                    UT     90009844182
786332A627B386   SANTOS        PEREZ                       VA     90002562062
78633313172B29   TAMERA        ROSSI                       CO     33004303131
7863338415B384   ARRON         JOHNSON                     OR     90003923841
78633423172B37   ROSA          GERMES                      CO     90012174231
7863369A755969   DIANA         HERNANDEZ                   CA     90011236907
7863399359154B   CRISTINA      DORADO                      TX     90007549935
78634117A5B32B   MARK          BLAYLOCK                    OR     44534741170
786341A268B142   KAREN         MACIOROSKI                  UT     90015211026
7863433A271921   ANTONIO       CALLOWAY                    CO     90014363302
7863464395B59B   STEPHANIE     MONTOYA                     NM     35046116439
7863575475B59B   DOREEN        BIRD                        NM     90007907547
78635861176B6B   FERNANDO      OLVERA                      CA     90011118611
78635A73755969   SONYA         JONES                       CA     48005470737
78635A91572B37   MIGUEL        GANDARA                     CO     90012910915
786361AAA9154B   ARMANDO       GONZALEZ                    TX     90008301000
7863732699154B   JUAN          GUEVARA                     TX     75090493269
7863744A872B87   ILDEFONSO     MONTES                      CO     33088994408
7863789A25B384   DAVID         MASSMAN                     OR     44519628902
78637A4848B163   KALEB         JOHNSON                     UT     90014860484
7863946558B134   TROY          ANDERSON                    UT     90014044655
7863969A755969   DIANA         HERNANDEZ                   CA     90011236907
78639735472B37   MARIA         GARAMILLO                   CO     90009607354
78639755572B32   MICHAEL       RODRIGUEZ                   CO     90010527555
7863B211141237   SCOTT         KUNKEL                      PA     51088922111
7863B51A531432   TIM           DOWNS                       MO     90015035105
7863B917172B32   LIZETTE       GONZALEZ                    CO     90012649171
78641461A33699   DEWANN        STURDIVANT                  NC     12002744610
7864184858593B   ASHLEY        KLETTE                      OH     90014868485
7864198295597B   CHRISTOPHER   MARSHALL                    CA     90004159829
78642249A72B22   YVETTE        VELASQUEZ                   CO     90015212490
7864267239154B   JASPER        OZUNA                       TX     90014566723
78642A5515B373   LAURA         BALLARD                     OR     90014980551
7864325678B163   DJ            BAILEY                      UT     90006722567
7864388649154B   YVONNE        CASTANEDA                   TX     75081588864
78644175A5B384   LORI          WINKLER                     OR     44519631750
786441AA472B29   AUDREY        GARCIA                      CO     90013581004
78644411672B32   ROSS          CORRENTI                    CO     33038674116
7864463A872479   MICHAEL       KARLOWSKY                   PA     90004386308
78644884772B22   MICHAEL       ENGEL                       CO     90009788847
786448A369154B   MOISES        RIVERA                      TX     90011688036
78644928172B44   JOSE          ESCOBAR                     CO     33088359281
78644A16A5B343   LARRY         TRENT                       OR     44542060160
78644A26291588   JAQUEZ        MIRIAM                      TX     75014050262
78645893472B29   TAMESHA       JOHNSON                     CO     90008118934
78646846221B79   DAVID         WISE                        OK     21500858462
78646877372B87   SAMUEL        FISHER                      CO     90014938773
7864699A497122   AMIR          SADOOLI                     OR     90000579904
78646A92772B37   TENESHA       MINGO                       CO     90012910927
7864715879154B   JORGE         ORDAZ                       TX     75049021587
7864717398B142   DAVID         ADAMS                       UT     90006631739
78647334672B87   ERASMO        MARTINEZ                    CO     90005283346
7864763989154B   GUSTAVO       ORTA                        TX     90013286398
7864776A79154B   CASSIDY       LOISELLE                    TX     90011117607
78648614972B37   FERMIN        GARCIA                      CO     90000446149
78649213972B22   BERTHA        HERNANDEZ                   CO     90005492139
7864925425B343   THEODORE      BARR                        OR     90004822542
7864973378593B   DANNY         JOHNSON                     KY     90013227337
78649A88941253   ZACHARY       BUGGEY                      PA     90013630889
7864B572A8B163   JARED         WEISS                       UT     90013345720
7864B82718593B   SARAH         PAYNTER                     KY     90014868271
7864B847651355   PAUL          BROZ                        OH     90014268476
7865139488593B   CHRISTOPH     ROTHFUSS                    KY     90001003948
7865176A79154B   CASSIDY       LOISELLE                    TX     90011117607
78652115672B29   GERALDINE     GUERRA                      CO     33065541156
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 979 of 2350


7865221529152B   GLORIA            OLIVAS                  TX     90011132152
7865279369154B   WILLIAM           MARTINEZ                TX     90007567936
78652962172B44   BOB               LOWREY                  CO     33096679621
78652A87376B6B   ANTHONY           PAPER                   CA     90008930873
7865359635B59B   LORIE             GUTIERREZ               NM     90005265963
786539A248B157   GUALBERTO         CEN                     UT     90014419024
7865531118B134   AIMEE             RADMALL                 UT     31002423111
7865596739154B   JOAQUIN           MENDIOLA                TX     90013969673
7865664373168B   DONNA MARIE       JONES                   KS     90010186437
78656A56A8B142   FEDERICO          MOSSO                   UT     90009890560
7865911618B134   TIA               LEANNE                  UT     90012481161
7865B15838B168   RAMIREZ           OSCAR                   UT     31021011583
7865B242855969   DAVID             ARZDIA                  CA     90013792428
7865B539191266   LAPORTIA          TURNER                  GA     90008285391
7865B941A72B32   MARIANNE          SMITH                   CO     90001119410
78661347A91588   PATRICIA          SERNA                   TX     75045133470
78661458A72B22   CASTRO            OLIVA                   CO     33012334580
7866148358B142   SKYLER            CHESNUT                 UT     90010644835
7866151117B477   ELUVIA            JUARES                  NC     11035825111
7866153A172B37   CELESTINE         ZOMA                    CO     33082345301
7866194125B343   ROSABLA           EZQUEDA                 OR     90013849412
7866215A79154B   REBECCA           RUVALCABA               TX     90010301507
786629A3A8593B   AUSTEN            RINK                    KY     90014869030
78663415272B32   RANDY             ALARID                  CO     33036694152
7866341648593B   ALOMA             TAYLOR                  KY     90014874164
78663875872B87   DANIELA           DELGADO                 CO     90014938758
7866388515B28B   BILLIE            ROBINSON                KY     68051608851
7866396838B142   BRANDON           SANTIZO                 UT     90014619683
7866427473B384   BEVERLY           DOLLAN                  CO     90013052747
7866466758B157   ANI               VAHANYAN                UT     90010826675
786646A719154B   DESHAWN           SMITH                   TX     90014606071
7866498A58B142   JUAN              ANGEL                   UT     90014619805
7866588838B142   JENNIFER          TUTTLE                  UT     90008488883
786662A7472B22   CARMEN            BANDA-CONEJO            CO     33005962074
7866673268593B   CHRIS             HUERTA                  KY     90014887326
78666828372B32   PAULA             SHADE                   CO     90013778283
78667218472B29   DAVID             VIGIL                   CO     90014832184
7866744878B142   BELEN             QUIJAS                  UT     90013744487
7866747547B477   CARMEN            VEGA                    NC     90014044754
7866777429154B   MARIO             ALVAREZ                 TX     75001917742
78667968A72B29   ADUAARO           GARCIA                  CO     90013719680
78667A1478B134   JASON             CASH                    UT     90013890147
78668592572B29   MARIA             SANDOVAL DUARTE         CO     33078245925
78669A25455969   TERESA            FERNANDEZ               CA     48061810254
7866B596776B6B   HECTOR            MENDOZA                 CA     90003055967
7866B598341237   HEATHER           OMANHE                  PA     51072745983
7866B62828593B   ANGELA            WOODWARD                KY     66058806282
7866B63965B32B   MARIA MA AMPARO   MANDUJANO               OR     90003466396
7866BA8565B343   KIMBERLY          NICHOLSON               OR     44579720856
78671139672B32   YADIRA            GONZALEZ                CO     90013311396
7867155318B142   ELBA              JACO                    UT     31035045531
78671651272B37   JENNY             TAFOYA                  CO     33079126512
7867168A67B477   MARIE             BROWN                   NC     11033776806
7867233A472B32   MARIE             YELLOWHAWK              CO     90009443304
78672441172B22   JOANNA            AHEARN                  CO     33031084411
78672545A72B29   RAFAEL            RAY GOMEZ               CO     90001875450
786725A1272B87   ELIZABETH         ALVARADO                CO     33060525012
78672975572B22   JOANNA            AHEARN                  CO     90014429755
78672999A72B44   AMY               IVARSON                 CO     33010959990
78673342972B37   XAVIER            METCALF                 CO     90010083429
7867337895B59B   RAMIREZ           LORENZO                 NM     35068963789
7867338218593B   TIM               CALDWELL                KY     66045613821
7867341472B994   GUEVARA           DIAZ                    CA     90000554147
78674276872B37   KIRSTIN           KAHLER                  CO     90014242768
78674465672B37   NATALY            LOPEZ                   CO     33045324656
786749A6755947   ROBERT            PENA                    CA     90012829067
78675592972B87   GREGORIO          GOMEZ                   CO     33069965929
78676784872B29   NORVAL            DAVENPORT               CO     33081767848
78676A44185945   GUADALUPE         VERA                    KY     67058000441
78677777176B6B   MARTHA            RODRIGUEZ               CA     90011197771
78677811972B32   JOSH              GURGENS                 CO     33021358119
78677812672B87   ANDREW            CROSS                   CO     33055608126
7867838633168B   KRIS              PEARSON                 KS     22016463863
78678432672B87   ELENA             CARMONA                 CO     90005914326
7867872659154B   DAILA             SALINAS                 TX     90014957265
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 980 of 2350


786787AAA8B134   ANDREA LEE     STEELE                     UT     90011747000
7867937765B59B   VITOR          LHORCA                     NM     90013243776
78679412876B6B   EBER           CARRRILLO                  CA     90012744128
7867955378B163   DOUGLAS        WAMSLEY                    UT     90006195537
7867B16925B384   GABRIEL        VASQUEZ                    OR     44575971692
7867B595672B22   EVER           HERNANDEZ                  CO     33088325956
7867B74A38B142   BURKE          MILLS                      UT     90007897403
7867B76A491963   MIGUEL ANGEL   SARAVIA                    NC     90005047604
7868132545B279   JOHN           JACKSON                    KY     68015813254
7868197659154B   DIEGO          ROJO                       TX     90000799765
7868232A972B32   ROBERT         PRICE                      CO     90006703209
78682347A91588   PATRICIA       SERNA                      TX     75045133470
78683246A8B163   ALFREDO        MENESES                    UT     90014972460
78683337472B22   ROGER          GALLEGOS                   CO     90014713374
786835A968B157   ROBERT         KOELLIKER                  UT     90002135096
7868398A35B59B   KARINA         DOMINGUEZ                  NM     90005159803
78683A58A5B343   SHERI          JONES                      OR     44575290580
7868411169154B   ALBERT         TERRAZAS                   TX     90002691116
7868456317B477   MELVIN         YOUNG                      NC     11081895631
78684688972B87   LAZARO         SALGADO                    CO     90010256889
78684A44272B29   JACQUELINE     STITT                      CO     90014800442
7868519A993739   TERESA         RAMSEY                     OH     90012411909
7868557887B477   TRINA          LONG                       NC     90010705788
7868613769152B   ROSEMARRY      RUBIO                      TX     90013811376
7868667533168B   PAULA          TREADWELL                  KS     22025956753
7868697344B553   HELECIA        DICKENS                    OK     90001759734
78687372872B22   MICHELLE       REGAN                      CO     90010773728
7868775948B163   TOM            KRYSSBEK                   UT     90011247594
7868778A48B134   CINDY          TIMOTHY                    UT     90009637804
7868821AA41253   QUENTACE       TODD                       PA     51070222100
78688767272B87   INES           VARGAS                     CO     33034157672
7868919838593B   PAULA          HAMMOND                    KY     90014141983
78689888797B39   TRINIDAD       MODESTO                    CO     90005368887
7868B34A35B343   JOSE           GUZMAN                     OR     44526453403
7868B455731433   MICHELLE       KENT                       MO     27588294557
7868B59285B343   LISA           CARLTON                    OR     90013955928
7868B5A595B395   TOMMY          CASTORENA                  OR     44597855059
7868B654472B29   ANNE           JENKINS                    CO     33068096544
786912A2255939   JOSE           VELASCO                    CA     90010422022
7869145A172B37   FREDY          PERLERA                    CO     33014004501
78692212A7B477   BRITTANY       HENDERSON                  NC     90013772120
786922A4798B3B   RUBEN          ALVARADO                   NC     90007732047
78692925A31443   JOSIE          GILMORE                    MO     27578309250
7869362757B477   WALTER         HINES                      NC     90013066275
7869385A772B37   ALEJANDRA      HERNANDEZ                  CO     33016068507
78693A91461922   MIGUEL         HERNANDEZ                  CA     46014070914
786941A1272B37   ESTELA         LINARES                    CO     90012911012
78695A22351325   TYRONE         LAMPKIN                    OH     66091970223
78695A2A88B142   LAUREN         MCDANIEL                   UT     90004000208
78696911272B29   KAIDO          TILK                       CO     33091869112
7869699868B157   GUSTAVO        CALDERON                   UT     90015279986
786985A148593B   KEISHA         WRIGHT                     KY     90014875014
7869864235B59B   NYLE           LOMBARDEUX                 NM     90007156423
786987A272B994   VELANCIO       LOPEZ                      CA     90010837027
78699247572B37   GABRIELA       JIMENEZ                    CO     90013792475
7869979982B994   ROCIO          RAMIREZ                    CA     90010517998
7869993318B142   JOSE           VALENZUELA                 UT     90014619331
7869995778B168   JESSICA        HUDGINS                    UT     31054829577
7869B25A48B163   FAM            RAMTIN                     UT     90013852504
7869B44338B157   ADAM           LOBER                      UT     90010834433
7869B855741237   CHRISTINA      MOSS                       PA     90010238557
7869B94A251355   STEFANOS       LORTOS                     OH     90013799402
786B1183131432   GARRETH        YOUNG                      MO     90012801831
786B1651381633   MIKE           VILLARREAL                 MO     90002846513
786B1858933699   MINNAY         EDUCATION                  NC     12083598589
786B1A69451355   JAMES          ALLEN                      OH     90014460694
786B261785B59B   FRED           MONTOYA                    CO     90002186178
786B266585B384   NORMAN         MC DUFFEE                  OR     44519606658
786B33A3172B37   NANCY          GARCIA                     CO     90014133031
786B3451751355   LARRY          MORGAN                     OH     90013824517
786B367842B278   STEPHANIE      SAVOY                      DC     90004336784
786B383268B157   MICHAEL        MENSAH                     UT     90014758326
786B4573772B32   BLANCA         NEVAREZ                    CO     33070185737
786B465855B32B   CRYSTAL        CHAPPELLE                  OR     90004436585
786B493A533698   SHERRIKA       BROLL                      NC     90011649305
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 981 of 2350


786B4975771921   LEONARD       SMITH                       CO     90013119757
786B51AAA9154B   ARMANDO       GONZALEZ                    TX     90008301000
786B5287851378   MEGAN         RIES                        OH     90011852878
786B65A5572B87   RAUL          VALLEJO                     CO     33092405055
786B7458141237   MARK          DAVIS                       PA     51013444581
786B7955651348   NELLIE        LEWIS                       OH     90006889556
786B8567A55939   OSIEL         LAYUN                       CA     90010725670
786B868A38593B   MICHELLE      JONES                       KY     90014806803
786B8936341233   DARLA         CALFO                       PA     51018179363
786B8AA3993739   BARBIE        FARRIS                      OH     90013600039
786B9542781633   RONALD        SMITH                       MO     29015575427
786BB26275B59B   BONIFACIO     HERNANDEZ                   NM     35096632627
786BB416472B37   ROSALIA       ARROYO                      CO     90004724164
786BB449272B22   SOCORRO       MOLINA                      CO     33041494492
786BBA35A5B343   DANIEL        LANG                        OR     90013650350
7871167338B157   ADRIAN        AGUILAR VALENZUELA          UT     90012746733
7871168157B661   TIFFANY       JONES                       GA     15006766815
7871187649154B   JAMES         ALDERETE                    TX     75006498764
7871238728B157   KENNETH       FORTUNE                     UT     31001303872
78712449272B44   SKYELLER      LEONARD                     CO     90003164492
787126A378B142   SHELLIE       VINCENT                     UT     90009846037
78712A7832B994   ADAM          FLORES                      CA     45017760783
78713283A76B6B   HUGO          PEREZ                       CA     90008712830
7871345158599B   CHRIS         ISAACS                      KY     90010914515
787134AA755969   LETICIA       VEGA                        CA     90012124007
7871392A591563   BRISA         CERVANTES                   TX     90011379205
78713983276B6B   BRENDA        ROMANO                      CA     90014869832
78714368872B22   JOSE          SOTO                        CO     33000713688
78714A4898593B   CAMARGO       EDUARDO                     KY     90010010489
78714A95681633   BRIAN         CARSON                      KS     90009380956
7871546889154B   MARINA        CUEBAS                      TX     75007084688
787161A2793739   JENE          ELDER                       OH     90013421027
7871645A77B477   TIFFANY       WILLIAMS                    NC     90010074507
7871753737B477   EULALIO       HERNANDEZ                   NC     90002655373
78717571372B29   REGGIE        OWENS                       CO     90010925713
7871782A591588   MARIBEL       VALENZUELA                  TX     90009018205
7871794895B343   VICTOR        ELIAS                       OR     90008099489
7871845975B59B   SAMANTHA      TAPIA                       NM     90008704597
7871877678593B   HEATHER       RALEIGH                     KY     66092237767
7871879325B343   ROSALINDA     LEMUS                       OR     90000907932
78719929A55931   CHRISTOPHER   CASTILLO                    CA     90013679290
7871B177551348   ROCHELLE      BROWN                       OH     90013661775
7871B336755939   MIGUEL        IBARRA                      CA     90015363367
7871B556731443   TYNTARICA     WHITE                       MO     90005265567
7871B745451355   PAYGO         IVR ACTIVATION              OH     90013037454
7871B921A9154B   IRMA          GURROLA                     TX     90014959210
7872116635B343   ROLANDO       MARTINEZ                    OR     44545281663
7872165888B157   ERMA          MELVILLE                    UT     90009576588
7872234AA8B134   JARAULD       HARGRAVES                   UT     90014813400
787223A6551355   ORLANDO       MENDOZA                     OH     66088243065
7872255A191521   THOMAS S      TARANGO                     TX     90002195501
787225A5793739   JAMES         CALHOUN                     OH     90008775057
787228A9991588   JESSICA       MARTINEZ                    TX     90011098099
7872311A141237   TAMEKA        HARBER                      PA     90014031101
7872327275B59B   CHRIS         VASQUEZ                     NM     35004182727
787233A5372B29   GERARDO       SANCHEZ                     CO     33089033053
78724234172B37   JESSE         TREJO                       CO     33065472341
7872447775B343   DAMON         WHLEY                       OR     90015334777
7872454225B245   WENDY         WALLACE                     KY     90012745422
787246A7393739   MICHELLE      SMITH                       OH     90014576073
7872477A68593B   MICHAEL       ROLAND                      KY     90003827706
78724A6322B994   TIFFANY       MUNIZ                       CA     90010520632
78725369872B29   HUMBERTO      MORENO                      CO     90013973698
7872592A27B477   FALECIA       ROULHAC                     NC     90013889202
78726619376B27   STELLA        MYERS                       CA     90008586193
78726719A5B569   REYES         SALGADO                     NM     36091247190
78727653A71921   RICHARSON     CHARLENE                    CO     32022036530
7872768418B157   ALBERTINA     LEE                         UT     90010826841
78727925772B32   YESENIA       ARDON SEGURA                CO     33070179257
78728522A72B22   CECILIA       LOPEZ                       CO     90013105220
7872913848B142   MARIA         RODRIGUEZ                   UT     90001651384
7872953938B157   JASON         BUTTS                       UT     90009135393
7872987758593B   KELLU         WILLIAMSON                  KY     90009218775
7872B65455B384   TRISHA        RILEY                       OR     44506306545
7872B73698593B   CHRISTINA     FORTNER                     KY     90014877369
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 982 of 2350


7873136568593B   SYDNI           KINEBREW                  KY     90004233656
787315A4693739   KATISHA M       POSTELL                   OH     90005495046
787321A4751355   GLADYS          MULATO                    OH     90012221047
7873222148B134   JENNIFER        LEHMAN                    UT     90008082214
7873259393B35B   ANGELICA        MONTOYA                   CO     90011755939
7873298629154B   GERMAN          SANDOVAL                  TX     90013969862
787329A7572B32   ANGEL           RAMIREZ                   CO     33007399075
78733AA4141227   NANCY           NOYOLA                    PA     51093390041
78734613976B87   DAVID           LOLKEMA                   CA     90010016139
787346AAA7B477   MARVIN          ROSADO                    NC     90008596000
78734756A72B22   BLAKE           GUERA                     CO     33002997560
787347A9491924   CYNTHIA         WILLIAMS                  NC     90003537094
7873555195B59B   DORA            BALTAZAR                  NM     90005395519
78735A48131432   KEVIN           PARKER                    MO     90004540481
7873615553168B   BRYEA           SIMMONDS                  KS     90009761555
787363A7193739   ISOLA           JONES                     OH     90013413071
7873669139154B   MARIA           CALDERON                  TX     90014566913
78737576A5B343   RONALD          ABERNATHY                 OR     90002485760
7873789A955939   JAVIER          BARBOZA                   CA     90013218909
7873797288B163   DULCE           CHANDLER                  UT     90002059728
7873811288B168   ALEXANDER       FARNSWORTH                UT     90006491128
7873847795B59B   JOHN            ZAMORA                    NM     90013964779
78738A8A93168B   SHAWNTELL       COOPER                    KS     22061970809
7873984649154B   MARIA           DURAN                     TX     75015008464
7873986A572B37   ARACELI         MACIAS- ARELLANO          CO     33090198605
787399A488B142   JOE             BURGDORFF                 UT     90013019048
7873B39A193739   LYNNEA          VAUGHT                    OH     90011563901
7873B52698B142   JENNIFER        SWENSEN                   UT     90003695269
7873B742791588   PRISCILLA       OROZCO                    TX     90012767427
7874122A433699   BENITO          LIBORIO                   NC     90006792204
7874151768B168   DANIEL          SORENSON                  UT     31015075176
7874212258593B   TROY            WILDER                    KY     90014871225
7874265525B388   RICHARD         JACKSON                   OR     90001326552
78742694272B37   JAIME           MCCARRICK                 CO     90008316942
7874279447B477   VERONICA        MACK                      NC     90010997944
78743714872B37   LUIS            TORRES                    CO     90013967148
787443A8685833   RISHAT          SAYFULLIN                 CA     46047113086
78744834A91588   OSCAR           MARTINEZ                  TX     90010408340
7874621718593B   HENRY           STULL                     KY     90014612171
78746489A76B6B   DAVID           VENTURA                   CA     90000444890
7874654718B168   KAREN           LAWRENCE                  UT     31043795471
787466A218B157   ANNA BELL       CASTRO REYES              UT     31092526021
7874699259154B   MARIA           ORTIZ                     TX     90013969925
78746A44172B44   MIRNA           GALAVIZ                   CO     33017510441
78746A87A5B59B   SARAH           DAVIS                     NM     35097550870
787471A7572B87   JOEY            EWING                     CO     33074561075
7874826628B163   LUANN           PRIETZEL                  UT     90011232662
7874868997B477   LENDLE          WHITE                     NC     90015266899
7874878A772B22   JANEICE         NEIMAN                    CO     90003927807
7874888A571921   JANIE           SMITH                     CO     32087718805
787491A4681633   JAMIE           DUPREE                    MO     90008971046
7874981178593B   HOLLY           BARRETT                   KY     90014888117
7874988398B163   WENDY           MADISON                   UT     31095708839
78749AA327B477   JANET           CAPELAND                  NC     90011000032
7874B226871921   JAMES           KELLEY                    CO     32035192268
7874B47935B32B   KYLE            SMITH                     OR     90014784793
7874B74458B163   LISA            BROWN                     UT     31010677445
7874B821772B87   HECTOR          GONZALEZ                  CO     90012738217
7875191628B142   ALAN Y FELIPE   VELAS                     UT     90012699162
78751916A93739   ISABEL          HERRA                     OH     90014999160
78751932A2B857   GABRIEL         MARTINEZ                  ID     90008449320
78751A32272B87   MIRIAM          PEREZ                     CO     33060120322
78752114772B37   JOSE            SANTOS                    CO     90012911147
7875215A48B134   GARRETT         STOKER                    UT     90012481504
7875235723168B   MARIA           GAMEZ                     KS     90009503572
7875281178593B   HOLLY           BARRETT                   KY     90014888117
7875281598B142   DALE            OLSEN                     UT     90011588159
78753115372B37   NORMA           MEZA-SOSA                 CO     90012911153
78753683676B6B   MARGARITO       GOMEZ                     CA     46073666836
78753692472B87   NOHEMI          HERRERA                   CO     33087876924
78753A2588B163   SARAH           BURNS                     UT     31063980258
7875468768B134   JEREMY          LONGHURST                 UT     31046646876
7875485327B477   CEDRIC          HOWARD                    NC     90013718532
78754A57193739   WAYNE           PINKINS                   OH     64554800571
78754A93A7B477   ADA             HERNANDEZ                 NC     11008770930
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 983 of 2350


787554A9972B22   AMY           BROWN                       CO     90014424099
78756A7A38B163   TERA          TELLER                      UT     90012690703
78756AA9841253   MACKENZIE     GRAY                        PA     90013590098
787571A3772B37   CHARLENE      REED                        CO     90011281037
7875735168B142   MELADIE       LINAM                       UT     90014633516
787582A3372B37   ALEXANDREA    ROMERO                      CO     90013622033
7875847A272B22   MAYRA         TLAXCALTECO                 CO     33079814702
78758728772B32   LOUIS         SAUCEDO L S JR              CO     90011147287
7875915325B93B   DONNA         TOLBERT                     WA     90015451532
78759567A76B6B   RACHELE       KING                        CA     46087105670
7875B63A131432   ERIC          BRENDEL                     MO     90001986301
7875B655A8B157   NELSON        BELTRAN                     UT     31027616550
7875B72893168B   RAVEN         ESTRADA                     KS     22013097289
7875B774255969   ROBERT        ZUNIGA                      CA     90015127742
7875B81178593B   HOLLY         BARRETT                     KY     90014888117
7875B943885975   TERRY         YOUNTS                      KY     90006629438
78761238A7B477   ISARENE       STEVENSON                   NC     90014502380
7876135168B142   MELADIE       LINAM                       UT     90014633516
78762814472B32   KEITH         COHEN                       CO     90012788144
7876294678593B   BRANDON       HUMPHREY                    KY     90014889467
78762AA1372B37   CHAVEZ        EDITH                       CO     33081050013
78763175872B37   ADAM          FORD                        CO     90002051758
7876322887B477   ANDRES        CIERRA                      NC     90014592288
787638A1455947   FRANCISCO     PEREZ                       CA     49014008014
787641AA85B373   RAFAEL        TEJEDA                      OR     90010771008
7876548AA71921   THOMAS        B. MERCER                   CO     32094674800
787654A172B994   JEANIE        MONTOYA                     CA     90010524017
7876554A976B6B   MICHELLE      PIKE                        CA     46082635409
7876594678593B   BRANDON       HUMPHREY                    KY     90014889467
78765AA4172B87   VANESA        CHAVEZ                      CO     33012690041
7876633957B477   EBONIE        MOODY                       NC     90007053395
7876636538B142   JUSTIN        ZUFELT                      UT     31097973653
78766412472B87   YANIRA        GUARDADO                    CO     33084364124
78766A1215B59B   MARGRERATE    PIERRE                      NM     35089290121
78766A6225B384   JARIAH        WHITACRE                    OR     44524550622
78766A9818B163   DAISY         CARDENAS GONZALEZ           UT     90014440981
78767279A55969   LORI          WALTON                      CA     90007662790
7876763A18B163   MUNGUIA       SANCHEZ                     UT     31013036301
78767743A41237   DEANNE        CASTILLO                    PA     90000937430
7876798878593B   GARRETT       WANDER                      KY     90014889887
7876854138B134   KORI          MINER                       UT     90014105413
78768723A3168B   TAMMY         EBARB                       KS     90005297230
787688A595B59B   LISA          BACA                        NM     35060148059
78769376772B32   JOSIAH        LEHMAN                      CO     90014453767
7876956898B134   MICHELLE      KAMMERMAN                   UT     31093045689
7876973A672B32   DESI          ALARID                      CO     90009047306
7876B115672B37   ANA           MOJICA                      CO     90012911156
7876B29388593B   GARY          TUCKER                      KY     66027862938
7876B3A7193739   ISOLA         JONES                       OH     90013413071
7876B565151355   MARSHAL       MCGHEE                      OH     90015155651
7876BA8A35B343   KATIE         OAKS                        OR     90012600803
7877159338B163   KASSANDRA     HERRERA                     UT     90013915933
7877168728B142   EDWARD        GERMAN                      UT     90001846872
787717A1476B6B   LEOBARDO      HERNANDEZ                   CA     46009307014
78771812A72B37   JANE          TARANGO                     CO     90004498120
7877241848B142   ANTONIO       SHELL                       UT     90012804184
7877285A455969   MARLENE       RUBALCAVA                   CA     90015108504
78772A78272B87   LUIS          RAMOS                       CO     33009130782
78772A94255939   PASCUAL       ARIAS                       CA     90002860942
7877376275B59B   LIZETH        RIVAS                       NM     90014727627
7877376548B163   RICO          CASILLA                     UT     90012827654
78774393772B29   RAUL          ESTRELLA                    CO     33069913937
7877445532B248   IRMA          MERINO URIOSO               DC     90003094553
78774579A8593B   ALLYSON       MATTHEWS                    KY     66066335790
787747A9A8B168   LORI          WILLIAMS                    UT     31029177090
78775195872B22   ALEXSAUNDRA   MARTINEZ                    CO     90002241958
7877552A272B87   AMY           MORALES                     CO     33012855202
78775925A55969   VENUS         MENA                        CA     90014869250
7877667A69154B   PRISCILLA     DEL VALLE                   TX     90013526706
787769A3893739   ROSEANN       BAILEY                      OH     64554789038
78776A93555969   MARIBEL       RAMIREZ                     CA     90011240935
78777667672B32   CHRISTIAN     BOTULI                      CO     90013576676
78778113972B37   ROBERTO       CORDOVA                     CO     90011281139
7877828815B59B   DENNIS        ROYBAL                      NM     90014032881
78778977A72B22   EDGAR         QUINANES                    CO     33001849770
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 984 of 2350


78779821772B22   VANESSA      LOVATO                       CO     90009908217
78779867A9154B   ANGEL R      PEREZ                        NM     90000698670
78779998572B37   MARIE        BUSHMAN                      CO     33040749985
7877B12495B32B   MCKAYLA      SHEIDRAKE                    OR     90009461249
7877B189641237   KRISTA       GLOVER                       PA     90014651896
7877B316993765   DUSTIN       BAILEY                       OH     90009623169
7877B912651348   JOEL         VELEZ                        OH     90015229126
7877BA6967B477   ANTHONY      BACOTE                       NC     90014960696
787814A7261927   WALEED       ISSA                         CA     90011634072
7878159892B994   ROSARIO      TORRES                       CA     45040795989
78781737472B29   MARK         GREEANWAKLT                  CO     90003067374
7878222A533699   TAMOTHY      HACKETT                      NC     12055982205
7878243222B227   REINA        ARIAS                        DC     90011414322
7878435A655947   LA RYAN      MORALES                      CA     90012043506
7878524525B59B   BEATRICE     WILLIAMS                     NM     90014652452
78785866376B6B   TAMARA       SMITH                        CA     46005918663
78785A18431433   MAGGIE       DELTON                       MO     90010850184
787875A1641253   LISA         SMITH                        PA     90009995016
7878792368B157   LEE          CRUZ                         UT     90009919236
78788377A8B163   MICHAEL      YATES                        UT     90004963770
78788695A5B59B   RIBIN        REYES                        NM     90013366950
78788A41141237   LATOSHA      HATTEN                       PA     51041840411
787891A3772B37   CHARLENE     REED                         CO     90011281037
78789248A93739   LARECHEIA    JACKSON                      OH     64524112480
7878B16A98B157   TRACIE       MADDOCKS                     UT     31069311609
7878B26988B142   STEVEN       ZABOROWSKI                   UT     31015142698
7878B339431443   CHARLES      JOHNSON                      MO     27514933394
7878BA91A3B354   GERARDA      VELENZUELA                   CO     90011580910
78791356772B32   GORDAN       CROSS                        CO     90013073567
7879169195B384   TERESA       RAMOS                        OR     90000826919
78792288A91531   JIMMY        IBARRA                       TX     90009422880
7879239A472B37   YAA          BOAKYA                       CO     90010363904
7879285A172B87   TAMMIE       YOUNGBLOOD                   CO     90001428501
78792A83855947   SCOTT        CLARK                        CA     49042530838
78793632672B22   YURI         SAENZ                        CO     90012886326
787936A3655939   MARIBEL      ZARATE                       CA     90010376036
78793976672B87   KATHLEEN     ENGLER                       CO     90007209766
78793991776B6B   STEVEN       ZAVALA                       CA     46032789917
78794266772B29   KIMPHONE     PHANTHAVONGSA                CO     33096722667
78794A17972B27   ANTHONY      BEREAL                       CO     90001660179
78795341572B87   JUAN         GARIBAY-CAMPOS               CO     33054843415
787961A125B59B   JUANITA      BENAVIDEZ                    NM     35051691012
7879643223B392   ROSALIE      HERNANDEZ                    CO     90004114322
787965A116193B   ELIA         TEJEDA                       CA     90007665011
78797144A55939   JUAN         CORTEZ                       CA     90013631440
7879743A172B29   AMY          MCCOY                        CO     33040994301
78797646472B32   MICHAEL      QUEEN                        CO     90013716464
7879798A131432   QUANESHA     PRETE                        MO     90015019801
787983A2651348   JASON        MESSER                       KY     90008043026
78798A5425B59B   LEEANGELO    VALENCIA                     NM     90012410542
78798A9558593B   MELISSA      PARTIN                       KY     66084930955
78799757172B29   SILVIA       CHAVEZ-VERDUGO               CO     33025587571
7879996749154B   HAROLD       HARPER                       TX     90012979674
7879B39767B358   MAURICIO     DIAZ                         VA     90006373976
7879B456441253   TRACY        MOON                         PA     51042104564
7879BA6A88B134   SIONE        HEIMULI                      UT     90008960608
787B1429A5B343   STACEY       LAY                          OR     90015234290
787B15A758B877   DRUCILLA     BURROWS                      HI     90013855075
787B193318B142   JOSE         VALENZUELA                   UT     90014619331
787B199119196B   MARQUIS      SHAW                         NC     90003709911
787B1A1548B163   KRISTAL      VELARDE                      UT     90009510154
787B235353168B   TANECA       OWENS                        KS     90011293535
787B242615B59B   ANTONIO      APONTE                       NM     90013934261
787B28A345B384   DAVID        YOURSTON                     OR     44519688034
787B3515A9154B   POLICARPIO   DE LA ROSA                   TX     90012275150
787B3696593739   TIFFANY      SINGLETON                    OH     90011226965
787B4458155947   COURTNEY     HUNTER                       CA     90014504581
787B47A9855969   TIA          NIX                          CA     90001367098
787B4837991588   TANYA        COVINGTON                    TX     90013738379
787B5A95972B32   STEPHANIE    INGRAHAM                     CO     90013110959
787B6351741237   RIECHELLE    GRIFFITH                     PA     90013553517
787B6584555947   TEODORO      PIZANO                       CA     90012685845
787B6789533698   LINDA        KONG                         NC     90008807895
787B6A88A5B35B   ERIKA        CHAVEZ                       OR     90001850880
787B7257455969   COURTNEY     LEYVAS                       CA     90012282574
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 985 of 2350


787B749175B59B   JOSE         RODRIGUEZ                    NM     90014714917
787B8467631432   ELIZABETH    HAWTHORNE                    MO     90012654676
787B848A371921   KIMBERLY     PETERSON                     CO     90014704803
787B8889181633   LUVENIA      JONES                        MO     29016478891
787B8938A55947   NICOLE       WILLIAMS                     CA     90011429380
787B91A5741253   DONNA        LEE WILLKOMM                 PA     90009331057
787B9991286456   JAMES        EVANS                        SC     90015379912
787B99A7372B37   AARON        FECHT                        CO     90001899073
787B9AAA79154B   FRANCISCO    SOTO                         TX     75031570007
787BB127141253   VINCENT      KERNECKIS                    PA     90001581271
787BB739A8B157   GLEN         HENSLEY                      UT     90013577390
787BB942491588   MARIA        SAINAS                       TX     75079349424
78811A68555947   JENNIFER     DOBRINEN                     CA     90012430685
7881267945B343   DEAN         WEST JR                      OR     90013696794
78812A42531433   ALICIA       WILSON                       MO     90014880425
788133A8841227   RONALD       GOINGS                       PA     90008163088
7881361548B134   KASIE        JONES                        UT     90012956154
7881376775B343   MARIA        FABIOLA                      OR     90003207677
7881466AA31433   DAPHNE       STALLINGS                    MO     90009706600
788149A6755939   ELEANORE     JACQUEZ                      CA     90003519067
78814A62A8B163   NANCY        TORES                        UT     31095800620
7881568235B59B   YOLANDA      PARKER                       NM     90009046823
7881616A69154B   IRIS         CUEVAS                       TX     90007241606
78816392472B32   BECK         JAMES                        CO     90014173924
78816422672B29   YOVANI       FUENTES                      CO     90014434226
78816A32633699   CHRISTINA    MILLER                       NC     12005400326
78816A55731433   SARA         CAMPBELL                     MO     90014880557
78817414472B87   JESUS        RUEDA                        CO     90005714144
7881784235B384   TIFFANY      WHEAT                        OR     90011718423
788181A7551348   JACKIE       CARDWELL                     OH     66008821075
7881832795B343   KIMBERLY     WILLIAMS                     OR     90014543279
7881833435B59B   TENEA        YANEZ                        NM     90013283343
78818A1AA6198B   LESLIE       BABANTO                      CA     90009610100
78819AAA872B32   LILLIAN      SOTO                         CO     33071940008
7881B11393B366   AYDA         NIKITOVICH                   CO     90004021139
7881B281A8B157   TALLE        JUHLIN                       UT     31084412810
7881B54AA72479   CORY         DAVIS                        PA     51074435400
7881B559A9154B   JENIFFER     ARELLANO                     TX     75081625590
7882116A12B994   CHARISMA     TELLES                       CA     45089941601
78821372A76B6B   CAMACHO      RICHARD                      CA     90012963720
7882148245B343   RAMIREZ      COCEPCION                    OR     90009574824
7882163168B134   BRAD         WARNER                       UT     90010926316
78821668A51355   LARRY        O NEAL                       OH     90005086680
7882185618B142   J JESUS      BARRAZA                      UT     31071908561
7882188965B59B   ABELARDO     MUNOZ                        NM     90010648896
78821A5765B343   THOMAS       MARKEL                       OR     90013240576
78821A9414B588   BO           CARTER                       OK     90011660941
78822923772B87   GLENN        PULLER                       CO     90014939237
7882335788B142   RACHAEL      LAYNE                        UT     90011373578
78823361172B22   LEVI         MARTINEZ                     CO     90004903611
7882366A755939   GUADALUPE    FRANCO                       CA     90014376607
78823923772B87   GLENN        PULLER                       CO     90014939237
788244A6551355   LASHONDA     CHILDS                       OH     66054054065
78824539A72B32   ANGEL        PEREZ                        CO     90015115390
78824A23272B87   MARY         MCKENNA                      CO     90010530232
788254A4171921   BERNARDO     NOLAZCO                      CO     32005304041
7882639A691588   JOSE         DAVILA                       TX     90005853906
78826563A72B32   RACHEL       NUNEZ                        CO     33065065630
78826923772B87   GLENN        PULLER                       CO     90014939237
7882694695B59B   CARALYN      BARTON                       NM     90015259469
7882727192B994   RACHELLE     ABRIL                        CA     90007512719
78827936A71921   WENDY        WALSH                        CO     90013249360
78827A34251348   CHRISTA      BRYANT                       OH     90013030342
78828113176B6B   JOEL         GONZALES RABAGO              CA     90000841131
78828175772B44   ARYSSA       GUZMAN                       CO     90005421757
7882823438B163   SUSAN        SHULT                        UT     90015012343
7882873498B163   SUSAN        CHRISTENSEN                  UT     31040077349
78828A7A172B37   JASON        AVSTIN                       CO     33090850701
788292A5297B39   ADAM         ABUSA                        CO     90012232052
7882968369154B   ESPERANZA    HERNANDEZ                    TX     90006336836
788298AA95B384   DUSTIN       BOGGS                        OR     44519778009
78829A16171921   KIMBERLY     DRISCOLL                     CO     90001060161
7882B1A2493739   CAROL        PLANTZ                       OH     90012981024
7882B354755969   PATRICIA     KASDORF                      CA     48002543547
7882B722A81633   WILLIAM      DUNHAM                       MO     29017187220
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 986 of 2350


7882B99148B657   RAMIRO       GRIMALDO                     TX     90014709914
78831398A72B37   OMAR         GONZALEZ-SALAS               CO     33079123980
788317A9476B6B   ALICIA       LOPEZ                        CA     90013117094
78831A4855B343   AMY          FOSTER                       OR     90005270485
78832315576B6B   SUGEY        CALITTO                      CA     90001303155
7883254365B32B   NOLAND       RIDINGS                      OR     90008365436
78833716572B22   VANESSA      MALDONADO                    CO     90009927165
7883444825B343   GERMAN       AMEZCUA                      OR     90003174482
7883462A551348   BERNARDINO   GONZALEZ                     OH     66050746205
7883471697B477   NICOLE       CATHCART                     NC     90013897169
7883478495B343   DARRIN       FOIX-JONES                   OR     90010387849
7883482469154B   ALMA         OLIVAS                       TX     75033548246
7883599598B142   EMILY        LAMB                         UT     90009049959
78835A3A25B343   GEORGE       MUNOZ                        OR     90002630302
7883747269154B   JUAN         SALGADO                      TX     90015034726
7883754945B392   ELMER        US-ZAPATA                    OR     90005335494
7883795485B343   ALEX         MORRIS                       OR     90014819548
78837A17551355   TRACY        HARRISON                     OH     66000890175
7883854165B384   ANDREW       MICHAELS                     OR     90012065416
7883871928B168   DEBRA        HATHAWAY                     UT     31093467192
788389A5855969   GRACIA       MEJIA                        CA     90012729058
78839543472B87   KIMBERLY     BARBERKEIFFER                CO     33041045434
7883959A75B384   BROOKE       OBRIEN                       OR     44588035907
78839812372B29   SUSIE        FUENTES                      CO     33026648123
7883B24A551355   ANTONIO      FLORES-GAYTAN                OH     90009712405
7883B3A578B157   MACARIO      MENA                         UT     90015363057
7883B674561924   MARIA        CAMARENA                     CA     90014006745
7883B7A578B134   ASHLEY       WARNER                       UT     31051417057
7884118A82B994   GUILLERMO    JURADO                       CA     90010531808
7884144A27B477   JUAN         HIDALGO                      NC     90002364402
7884145A29154B   ANA          ESQUIBEL                     TX     75093574502
7884146A472B44   MICHELLE     NICHOLS                      CO     33059694604
78842117472B37   JOSEPH       SLENSKER                     CO     90012911174
78842335672B44   ERASMO       VENZOR                       CO     90006013356
78842578A4B254   RANDY        PATTERSON                    NE     90006165780
788425A568B168   LISA         LEWIS                        UT     90006105056
7884289A851348   CHRIS        VAN                          OH     66090378908
788431A385B59B   LISA         RAMONE                       NM     90013831038
78843293472B37   LAURA        MARIN                        CO     90006982934
788432A2985975   JADEN        ZERHUSEN                     KY     90008252029
78843578A4B254   RANDY        PATTERSON                    NE     90006165780
78843711A31443   LESLIE       BROWN                        MO     27590997110
7884379A45B384   ERIN         STITES                       OR     44511897904
78843A49531433   KRISTINE     YOUELL                       MO     90015060495
78844459A51348   MANDI        PEAK                         OH     90003964590
78844A6395B343   BRANDON      SANDERS                      OR     90011640639
788454A1A5B59B   ANTHONY      GARDUNO                      NM     35025294010
78845813A7B477   ZULY         RODRIGUEZ                    NC     90009598130
78845A32A72B37   FABIOLA      CITAL                        CO     90010440320
7884617819154B   REBECCA      MALDONADO                    TX     75076941781
788461AA251355   PAULETTA     PRICE                        OH     90011051002
78846473A55969   GARZA        THOMAS                       CA     90000754730
7884664327B477   AMBER        PERCIFAL                     NC     90000426432
788468A7181633   HONEY        ROUNDTREE                    MO     29072958071
7884884A98593B   AMANDA       ALLEN                        KY     90009708409
7884B222872B87   MARIA        PACHECO                      CO     33043772228
7884BA87855947   JOSEANY      ARIAGA                       CA     90010280878
78852268A76B6B   PEDRO        GUTIERREZ                    CA     46042872680
78853981A51355   TAMEKHA      COLLINS                      OH     90013319810
78854246472B32   MARIA        MAGDALENA AGUILAR            CO     90011002464
78854524272B22   LESSIE       BR                           CO     90013065242
78854959172B44   SCOTT        ALLEN                        CO     90011489591
78855A53191572   ABEL         GARCIA                       TX     75011000531
788562A8831433   WILLIAM      RAINBOLT JR                  MO     90012402088
7885631A68B157   KEVIN        MORAM                        UT     90013933106
78856565872B44   AUDENA       ARMENDARIZ                   CO     90009225658
7885668485B59B   EDUARDO      SILVERIO                     NM     90013366848
788567A147B477   TYRONE       WALLACE                      NC     90013127014
78856A1269154B   REGINA       PASILLAS                     TX     75072590126
78857246A91588   MARIA        MOJICA                       TX     75065112460
78857335472B37   DAVID        REYNOLDS                     CO     90014753354
78857422472B29   ROBERT       GALLEGOS                     CO     33055414224
78857AA7851348   STEVEN       HURST                        OH     90013410078
788593A1655939   LUIS         VIVEROS                      CA     90008483016
78859455172B29   KELLY        BURDICK                      CO     33012564551
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 987 of 2350


7885B757172B29   MANUEL              LUCERO                CO     33012557571
78862639A93739   BRIAN               CULPEPPER             OH     90009126390
78862669276B6B   MICHELLE            BAIRD                 CA     90014826692
78862842272B22   MICHELLE            DENISE STELPFLUG      CO     90014278422
7886289477B43B   GLENDA              GUTIERREZ             NC     90008198947
788628A2141237   WILLIAM             ALTON                 PA     90013688021
788629A7A7B477   JOHNATHAN           TALLENT               NC     90000259070
78862A31472B22   MICHELLE            STELPFLUG             CO     33008280314
78862A4A272B37   DENISE              TORREZ                CO     90000590402
78863A51672B87   BILL                MCCAINN               CO     33095800516
78863A52791588   KARLA               ARMENDARIS            TX     90009780527
78864673A81633   OLANEKE             WATTS                 MO     90009146730
7886483748B142   JUAN                GARCIA                UT     90014088374
78864AA2931432   YONNA               CARTER                MO     90015020029
78865515257B67   CHRISTAINA          CASTROL               PA     90015405152
78865796A55947   AARONS              AUTOMOTIVE            CA     49073947960
788663A2381633   JESUS               GUTIERREZ             MO     90008323023
78867119772B37   CHRISTOPHER RANDY   DURAN                 CO     90012911197
7886742955599B   MARIA               CAMPOS                CA     90012694295
7886778698B134   DWAYNE              DANIELS               UT     31020027869
7886798AA7B359   MARCOS              REYES                 VA     90006449800
78868274172B32   ANTONETTE           EVANGELISTA           CO     90005032741
7886895916193B   ALEXIS              MARTINEZ              CA     46067719591
7886956715B343   JEREMY              FLAUCHER              OR     90011565671
78869664A72B29   ROYATTA             JONES                 CO     90000756640
7886B1A8181633   SHAUNA              WYNN                  MO     29092091081
7886B217733699   TABIA               LUNDY                 NC     90004092177
7886B252631432   CHRISTINA           MATTHEWS              MO     90015132526
7886B9AAA72B87   SARA                CARDOVA               CO     90014939000
7886BA18431433   MAGGIE              DELTON                MO     90010850184
78871A95A72B22   KRYSTAL             RYAN                  CO     33049930950
7887222217B477   JAMES               DAVIS                 NC     90009732221
78872328472B87   KINDRA              BARLOW                CO     33008963284
78872978772B32   OSCAR               SERRANO               CO     33058189787
78872A73751355   CHRISTOPHER         YKELAP                OH     90015590737
78873142372B44   CHRISTINA           ROCA                  CO     33081961423
78873524372B22   MICHAEL             DIGIACOMO             CO     90004985243
78873A4817B477   LILLIAN             BARRETT               NC     90014620481
78874598172B29   MARTHA              CASTRO                CO     33071615981
7887526184B281   TOUSSAINT           BARRETT               NE     90003472618
7887562958B168   CHRISTOPHER         ELLIOT                UT     90004286295
78876843472B44   ESTEFANIA           CHAVEZ                CO     33096688434
7887751A191588   FRANK               CANALES               TX     75095345101
78877914976B6B   HOUSE               CLEANING              CA     90013249149
78877A3842B994   HECTOR              GRANADOS              CA     90015050384
78878A59272B87   ULISES              CRESPO                CO     33059300592
7887B32128B134   GARY                REYNOLDS              UT     90013363212
7887B35179154B   GINNY               NAVAR                 TX     90010413517
7887B516371921   JAYSON              TANNER                CO     90012365163
7887B57A65B32B   COLLIN              COX                   OR     90003005706
7887B593A72B37   RICK                WIEDMAN               CO     33001045930
7887B877281633   JOYCE               MANNING               MO     90006968772
7887BA24876B6B   SONIA               MARQUEZ               CA     90004180248
7887BAA4951348   STEPHANIE           ABNER                 OH     90011200049
7888193578B163   VICTOR              WILLIAMS              UT     90012149357
7888194485B343   RAYMOND             WINN                  OR     90010899448
78882265872B32   ELIZABETH           STUTZ                 CO     90010852658
78882646972B32   ALEXIS              LOPEZ                 CO     90013716469
7888276328B157   MARIA               MARTINEZ              UT     31092497632
788834A9972B22   AMY                 BROWN                 CO     90014424099
788836A7971921   BRANDON             LAZZARY               CO     90014876079
7888376518B142   SEAN                BEAN                  UT     31088467651
78883A59A81633   ARMANDO             FERNANDEZ             MO     90014950590
78884521872B29   ERASTO              CABANOS               CO     90012895218
7888572A88B134   SHARRON B           FOWLER                UT     31008317208
78885933572B87   GUADALUPE           SANCHEZ               CO     90014939335
78885A71172B22   RICHARD             BOROUGH               CO     33039970711
7888614253168B   SHANNON             CARTER                KS     22011671425
7888638975B343   JOSE                LOPEZ                 OR     44512963897
78886831272B37   YESSICA             TRUJILLO              CO     33089438312
7888699117B477   TIFFANY             DAVIS                 NC     90002799911
7888714238B157   JASMINE             WHEELER               UT     90014901423
7888715568B134   TOMAS               HERNANDEZ             UT     90012001556
788871A385B59B   LISA                RAMONE                NM     90013831038
7888735A891588   JAIME               TREJO                 TX     75033753508
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 988 of 2350


7888757388593B   DEBORAH      PFERRMAN                     KY     90014935738
7888811135B59B   CRYSTAL      WILLIAMS                     NM     90012991113
7888813918B142   RONA         HILL                         UT     31007611391
78888A8A62B274   JACQUE       CURTIS                       DC     81000270806
7888927738593B   MITCHELL     STALLONS                     KY     66052802773
7888939558B142   GILBERTO     GARCIA                       UT     90010083955
788894A182B994   ARACELY      ROMO                         CA     45003424018
78889615A8B163   ROSS         ATWOOD                       UT     31080136150
788896A467B477   ROSHANDA     GARMON                       NC     90015326046
7888B57775B59B   MARIA        RODRIGUEZ                    NM     35024285777
7888B714331433   RHEA         LIBERTY                      MO     90010657143
7888B799481633   PAUL         HEIRONIMUS                   MO     90015047994
788913A8255947   JACK         PASQUALE                     CA     49096963082
7889176915B343   OSCAR        GUZMAN                       OR     90010807691
7889213118B163   AUSTIN       RIZE                         UT     90012271311
7889213AA5B59B   GEORGE       SCHMID                       NM     90013831300
788923A4255947   LIDIA        DE LA ROSA                   CA     90001103042
7889289115B343   DOUGLAS J    BRISTOW                      OR     90015198911
78892928572B22   ADRIAN       ANDRADE                      CO     90011609285
78892AAA85B343   EVELIA       RESENDEZ                     OR     90015220008
78893362776B6B   VANESSA      ROJAS                        CA     90014573627
7889358A38B168   TONJA        DAY                          UT     90012995803
7889486835B59B   WILLIAM      MARTINEZ                     NM     90011218683
788949AA37B371   DILWAR       HUSSAIN                      VA     90004609003
788962A178B134   MONICA       SPIVA                        UT     90013872017
788962A358B134   MONICA       SPIVA                        UT     90009472035
78896827A71921   HEATHER      ROJO                         CO     90015118270
7889694998593B   JOHN         WEHRMAN                      KY     66072829499
78898117472B37   JOSEPH       SLENSKER                     CO     90012911174
78898167A55939   DEBRA        CARDENAS                     CA     90000181670
78898355A31433   DEREK        WEAVER                       MO     90013333550
78898453A5B343   JESSICA      SPENCER                      OR     44504804530
7889882713168B   SAUDIA       FINLEY                       KS     90009668271
7889894959154B   KARLA        MARTINEZ                     TX     90013379495
78899431976B6B   ALENEFER     JAIMES                       CA     90008334319
788996A125B59B   LUKE         GARCIA                       NM     90012846012
78899937672B37   LYNETTE      RIVERS                       CO     33010219376
7889B55515B343   ADRIANA      MENDOZA                      OR     90010275551
788B1661A9154B   WUENDY       GUEVARA                      TX     75029276610
788B2297593739   SHALONDA     THOMAS                       OH     90011532975
788B234198B163   MARISSA      QUINTANA                     UT     90011233419
788B2A7963168B   RHONDA       NEWTON                       KS     22093760796
788B326A791586   IMELDA       QUINTANA                     TX     90011642607
788B3778255969   YOLANDA      HERNANDEZ                    CA     90013047782
788B3784772B32   FIDEL        CASILLAS                     CO     90004907847
788B37A6672479   MARTHA       GIRIMONTE                    PA     90013167066
788B3A64141237   DENISE       BROWN                        PA     51011180641
788B4467831432   CATHY        TAYLOR                       MO     90009444678
788B4567555981   SHERRY       WATSON                       CA     48008585675
788B4858381633   ANA DE LOS   SANTOS                       MO     90012298583
788B48A1955969   ANTHONY      REQUEJO                      CA     90014558019
788B5269472B37   ESTEBAN      RODRIGUEZ                    CO     33053162694
788B5554776B6B   OMAR         DONOE                        CA     90008265547
788B61A8855969   BENJAMIN     RUIZ                         CA     90014861088
788B6642172B22   STEPHANIE    OSTER                        CO     33002496421
788B6711777585   MATHEW       BOOKER                       NV     90011817117
788B6951691588   N            CASTANEDA                    TX     90011239516
788B765745B384   PATRICK      CASTELLANO                   OR     44519766574
788B779158B163   SIRINITY     FROMM                        UT     31038537915
788B7891A9154B   MARINA       MENDOZA                      TX     75079098910
788B789A593739   NICOLE       ADKINS                       OH     90008618905
788B8286651348   HANNAH       BUNCH                        OH     90012432866
788B834943B358   TONYA        BRADSHAW                     CO     90009453494
788B839588B142   KELCI        WINWARD                      UT     90014643958
788B8622255939   AMPARO       RENTERIA                     CA     90014836222
788B9111276B6B   BYRON        LOW                          CA     90013211112
788B9585955939   JAIME        JIMENEZ                      CA     48009405859
788B987883168B   KEVIN        BOCK                         KS     90009258788
788B989685B343   MANUEL       ALCANTAR                     OR     90007988968
788BB351172B32   MELISSA      SANCHEZ                      CO     90013083511
788BB73325B59B   CASSANDRA    AVITIA                       NM     90013047332
788BB863155969   EVELYN       ESTRADA                      CA     48074358631
788BB978672B87   TRAVIS       SIPES                        CO     90011909786
788BBA5137B477   ALBERT       CAROSLIN                     NC     90012220513
789113A1672B37   ANALITA      DIBENEDETTO                  CO     90013743016
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 989 of 2350


7891187429154B   MIGUEL       ALONSO                       TX     90014048742
7891198A991588   MONICA       GAMBOA                       TX     75046149809
78911A1168593B   DEANNA       COYLE                        KY     66041020116
7891218788B134   CHRISTY      RUSSALL                      UT     90005091878
7891227357B477   ASHUNDA      SINGLETON                    NC     90013092735
789123A5491563   RUTH         JAQUEZ                       TX     75011083054
78912792972B87   LAWRENCE     DENAVA                       CO     90008737929
7891297869154B   JASMIN       MENDOZA                      TX     90013959786
78912A24971921   QUINCY       BROWN                        CO     90006350249
7891317648B168   BIANCA       LEGORRETA                    UT     31020591764
789134A2172B37   LORENA       GUITIERREZ                   CO     33015014021
78913637676B6B   SANDOVAL     JORGE                        CA     90004866376
78913A3519154B   IRMA         GARCIA                       TX     90013970351
78913A98A8B134   BRUCE        ROBERTSON                    UT     90010360980
78915596872B22   ARMANDO      BOTELLO                      CO     33089215968
78915793176B6B   JOSEPHINE    DOMINGUEZ                    CA     90013397931
78916499276B6B   CLEOTILDE    RAMON                        CA     90015324992
78916539A41237   JEFF         TIMCO                        PA     51007145390
78916612A55947   MARK         MARTINEZ                     CA     49041016120
7891672A672B29   TIM ANNETT   QUINN                        CO     90015027206
78916828472B22   HUGO         ROMEO LOPEZ ALVARADO         CO     90011478284
78917128A72B37   AUSTIN       AINI                         CO     90012911280
7891713A633698   LATORA       RICHARDSON                   NC     90011781306
7891736659154B   ISMAEL       CARRENO                      TX     90006463665
78917739A55969   YOLANDA      CUEVAS                       CA     48049537390
7891789325B343   CERVANDO     ARROYO                       OR     44517248932
7891898A355939   GAEL ANGEL   PEREZ                        CA     90014069803
7891941A231432   AMANDA       ROBERTSON                    MO     90015044102
7891948668B157   WADE         WEBSTER                      UT     90014954866
78919718672B32   YOHANNS      GANZAY                       CO     90013727186
7891982835B59B   GRICELDA     ORNELAS                      NM     90014888283
7891B2A4391588   GEORGE       BROOKS                       NM     75074112043
7891B482831433   KEVIN        PHELPS                       MO     90007604828
7891B64572B26B   RENEE        BRANDY                       DC     90001426457
7891B766791588   LISBETH      RESENDIZ                     TX     90015117667
7891BA3758593B   TOMMY        YEAGER                       KY     66082700375
7892115868B157   CAROLINA     REYNOSO                      UT     31032921586
7892162A972B87   RAYMOND      TRUJILLO                     CO     90011586209
789216A419154B   ODETTE       BRYANT                       NM     75005296041
78922336972B29   BRANDON      MILLIGAN                     CO     90005883369
78922428972B44   NANCY        WAINWRIGHT                   CO     33002084289
78922866872B37   PATRICIA     GAYTAN                       CO     90001278668
7892297985B343   JUAN         CONTRERAS                    OR     90000389798
7892329118B142   WILBERTO     CASTRO                       UT     90012502911
7892439327B477   HELENA       BYNUM                        NC     90013163932
789248A7493739   JARHANA      MARTIN                       OH     90004088074
78925792876B6B   JUDY         JORDAN                       CA     90014877928
7892634498B134   JAYSON       JANSEN                       UT     90012663449
78926865972B32   ALFREDO      MADRIZ                       CO     33015998659
7892795297B477   JESSICA      MASTERS                      NC     90014299529
78928133576B6B   PEDRO        MARTINEZ                     CA     90012281335
78928321972B29   CRISTIAN     MARQUEZ                      CO     90014943219
78928553472B87   LILIANA      PEREZ RICO                   CO     33089105534
7892884127B477   EUNICE       PEGUESE                      NC     90005178412
7892944682B274   MICHAEL      BOSTIC                       DC     81082544468
78929AA2931432   YONNA        CARTER                       MO     90015020029
7892B37188B168   PERCY        MEDINA                       UT     31056413718
7892B767A76B6B   LUIS         RIOS                         CA     46065437670
7892B96648599B   PAUL         BRINKMAN                     KY     90014769664
78932281372B37   MICHELLA     ZEILISKO                     CO     90013852813
7893229425B245   CHRISTY      MCCLURE                      KY     68045232942
7893389A65B59B   CATALINA     VEGA                         NM     35095948906
78933A67251355   TRAVIS S     AVERY                        OH     90013980672
789346A7171921   BOBBIE       SCHULLER                     CO     32051366071
78934898672B37   GUSTAVO      MUNOZ                        CO     33078088986
78934AA168B168   HAROLD       ASAY                         UT     31061930016
7893539A672B29   GRISELDA     CARDONA                      CO     33071473906
78936122A72B87   SHEVILA      JOSEPH                       CO     90013141220
78936817972B44   ALEJANDRO    LOBO                         CO     33036798179
7893689997B477   HOSKINS      LATOYA                       NC     11066558999
7893755965136B   KRYSTAL      HATTEN                       OH     90004845596
78938182772B37   LEAH         SERWADDA                     CO     90011491827
78938939372B44   VICTOR       GARDEA                       CO     33064719393
7893B33243363B   ISRAEL       PEREZ                        NC     90014243324
7893B456551355   JENNIFER     CORNWALL                     OH     66016544565
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 990 of 2350


7893B4A5355939   SERGIO       VIEYRA                       CA     90007104053
7893B572972B32   JOSSELYNN    SANCHEZ                      CO     33080345729
7893B83A551348   NAKWITA      FERGUSON                     OH     66052918305
7893B89745B32B   WARISO       KOSHE                        OR     44509018974
7893BA39572B37   JOSE         GUERRERO                     CO     33010430395
78941161472B37   JO           MARTIN                       CO     90011281614
7894127A555969   JOSE         NUNEZ                        CA     90012962705
78941462472B32   BESSI        SANCHEZ                      CO     90007484624
789416A928B134   MARK         FLOWERS                      UT     90008666092
7894186672B994   DOROTHY      LYONS                        CA     90015458667
7894195655B176   MARY         GRAY                         AR     23004019565
7894232579154B   LUZ ELENA    PALACIOS                     TX     75087903257
78942A9713B358   LUIS         GUTIERREZ                    CO     33071410971
7894322545B343   CHRISTIAN    WERT                         OR     90014182254
789433A2176B6B   JACK         BLOUNT                       CA     90003003021
78943486A72B22   CARLOS       ROSSI                        CO     90004804860
7894385A69154B   ARTURO       ESPINOZA                     TX     75087168506
7894424988B185   CORY         PALMER                       UT     90004422498
789446A4433698   TIA          FERGUSON                     NC     90011786044
7894485278593B   TANYA        OSBOURN                      KY     66065308527
78944A4485B385   MARIO        ALDACO                       OR     90009180448
789455A9361973   VANESSA      SALAS                        CA     90006015093
789459A1772B32   DENISE       TARIN                        CO     90013379017
78946981176B6B   NONATO       ROSAS                        CA     90007399811
78947546976B6B   MYERES       JOHN                         CA     90007805469
7894758555B384   SOSHA        DIRKS                        OR     90000485855
78947985572B32   DENNIS       BLANKENSHIP                  CO     90013839855
789484A572B994   SANDRA       RICE                         CA     90008574057
78948657776B8B   ISMAEL       MALDONADO                    CA     90005846577
7894923A47B477   HENRY        ANDERSON                     NC     90003452304
78949384476B6B   OWEN         BENJAMIN CAMILO              CA     90001423844
7894B277471921   RUBEN        ORTIZ                        CO     32053272774
7894B282191588   CYNTHIA      CASTRO                       TX     90012742821
7894B632372B87   ELTON        BONNIE                       CO     33071926323
7894B63575B59B   VICTORIA     GARCIA                       NM     90001116357
7894B731491932   ZARIA        MONDRAGON                    NC     90009307314
7894B884372B29   SHANE        DANIELS                      CO     33006498843
7894B9A1872B22   EUSEO        CHAPARRO                     CO     90013049018
7895113A955969   FELIPE       REYES                        CA     48054561309
78951311372B37   LOPEZ        DAVID                        CO     33065483113
7895162A431433   JESSICA      MCLAUREN                     MO     90010226204
78951A5138593B   AMANDA       HENDERSON                    KY     90009600513
7895237AA4B539   TONYA        ELLIS                        OK     90011053700
7895278799154B   ISAAC        TALAMANTES                   NM     90011117879
78952816672B29   MELODY       LUDWIG                       CO     90009468166
7895292816193B   IVR          1639112                      CA     90007549281
78953549572B44   JUAN         LOPEZ                        CO     90002075495
78953867772B32   SUSANA       PACHECO-PIZARRO              CO     33006138677
7895389758B157   LAURA        BRONSON                      UT     90007908975
7895391225B59B   YURIDIA      MENDEZ-VALDIVIEZO            NM     90011219122
78954128572B44   HENDERSON    ABRAM                        CO     90011351285
7895418948B163   JACQUELINE   PAUTA                        UT     90010781894
78954A89972B22   LESLY        ARAGONEZ                     CO     90012480899
78955328772B22   JOSE         BRICENO                      CO     33008143287
7895533918593B   TIMOTHY      LANDERS                      KY     66031553391
78955A37493739   SALLY        FRYMAN                       OH     90014070374
78956129272B37   ASHLY        BEVILACQUA                   CO     90012911292
7895614985B59B   ANTHONY      LOVATO                       NM     35053441498
789563A3186456   EDGUIN       ALBARADO                     SC     90013863031
78956831172B32   BELINDA      JARAMILLO                    CO     33043258311
78956AA1772B44   SUSAN        COLLIN                       CO     33082710017
7895724628B142   GARY         ANDERSON                     UT     90014842462
7895745559186B   DAVID J      PALMER                       OK     90002244555
789575AA655969   VINOD        PRASAD                       CA     48089175006
78957633272B22   RAMON        BACAHUI                      CO     33023866332
78957A76872B32   ALICIA       GASPAR                       CO     90013060768
789581A6381633   NELLY        CORDERO                      MO     90008891063
7895823588B142   KARLA        LEON                         UT     31053382358
78958348A51355   BRITTNEY     JOHNSON                      OH     90013393480
7895877A754B2B   WALTER       SCOTT JR                     VA     90003377707
78958AA7955969   JUANITA      MENDOZA                      CA     48029030079
7895938692B994   STACY        CHINSAMI                     CA     90010913869
78959AA3955969   JASON        ALCORN                       CA     90003950039
7895B22687B477   TEJAL        ANDERSON                     NC     90011022268
7895B366772B29   OUMAR        QUATTARA                     CO     33097943667
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 991 of 2350


7895B575755969   NALLELY         ROBLES                    CA     90014565757
7895BA8922B574   TERRY           BARHAM                    AL     90015450892
78961A11441237   SHAWN           WELLONS                   PA     90011010114
78961A34172B32   LAURA           STONE                     CO     90012680341
78962237672B37   MARYAM          RAWESH                    CO     90006682376
789626A655B59B   CHRISTIE        BYRD                      NM     90012736065
7896285198B157   SINGARAJAH      THIRAVIYARAJAH            UT     90009938519
78963282872B32   ANGELINA        SANTACRUZ                 CO     33071672828
7896338975B343   JOSE            LOPEZ                     OR     44512963897
7896386A48593B   LONNIE          WILKENSON                 KY     90015178604
78963A46451355   MICHELLE        STAMPER                   OH     90014480464
7896434888B134   VINCENT         ARROLLO                   UT     90009613488
78964578972B22   BROOKE          ROGERS                    CO     90013045789
78965A69955939   GABRIELA        MENDOZA                   CA     48097210699
7896616595B32B   DEANNA          BEZAK                     OR     44530931659
7896683442B994   DIANA           ORTIZ                     CA     90010548344
7896698337B477   ARKIA           BAKER                     NC     90010879833
7896743A35B343   JUANITA         LANDEROS                  OR     90012734303
78967611672B37   JOSE            ROSARIO-GAMBOA            CO     33090566116
789686A1441253   KALEENA         SMART                     PA     51084686014
789693A2941237   MICHAEL         BARNES                    PA     51037423029
78969753476B6B   CRYSTAL         PELHAM                    CA     46066897534
78969A63A8B168   DIEGO           BENITEZ                   UT     90001330630
7896B11755B238   ROBIN           BROWN                     KY     90008141175
7896B23A35B343   JUDY            DURAN                     OR     44520022303
7896B513661927   EHSAN           MUSTAFIA                  CA     90011445136
78971246A9154B   LORENZO         DIAZ                      TX     90004412460
78971A53672B37   JANETE          RANGEL                    CO     33055790536
7897226513168B   SHANE           SIZEMORE                  KS     22051322651
7897245775B59B   ELVIA           OROZCO                    NM     90014804577
7897324535B343   JASON           RALSTON                   OR     90013302453
78973394672B37   DANGIA          ENGLAND                   CO     90013013946
7897367637B477   JAVIER          GARCIA                    NC     90013886763
78973A4679154B   JUNIOR          TRONCOSO                  TX     90013970467
78974585A72B22   BARBARA         COOPER                    CO     90011255850
78975681872B21   SAMMYE          DANIELS                   CO     90010226818
78975841A91588   WTF             WELDINGS                  TX     90005888410
7897598139154B   IGNACIO         RODRIGUEZ                 TX     90014629813
78976534A41237   BIANCA          LUVIER                    PA     90009575340
7897659A431433   SAMATHA         BATTLE                    MO     90013215904
78976A31572B87   FRANCISCO       REYES                     CO     33073720315
7897729A18B134   DON             RILEY                     UT     90007552901
78978A3A89154B   CECILIA         FLORES                    TX     75076680308
78979674772B29   MARY            PINO                      CO     33064816747
7897B193172B44   KALI            RODGERS                   CO     33032491931
7897B786A9154B   OSCAR           ESTRADA                   TX     90007027860
78981311472B22   JUANA           RUIZ                      CO     90008193114
789816A352B994   ALMA            GONZALEZ                  CA     90008956035
78983396472B32   FLOR MARIA      RONDAN                    CO     33014133964
7898458119154B   ALONSO          GARCIA                    TX     90010375811
789845A1871921   RICHARD         MORFITT                   CO     90014115018
78984682A5B343   JOSUA           QUIGLEY                   OR     90011076820
78984A8A851348   ELIJAH          CARRION                   OH     90009830808
7898632472B994   MARTHA          LEE                       CA     90012003247
7898639555B384   LARAME          LUMLEY                    OR     44559133955
7898852A48B134   RUBEN           DE LEON                   UT     90005635204
7898963697B42B   JAVIER          RODRIGUEZ                 NC     90012396369
78989A41876B6B   JOSE            PEREZ                     CA     90013320418
7898B762691588   LILLIANA        GONZALEZ                  TX     90011967626
7898BA7A271921   ANTOINETTE      GARCIS                    CO     90010180702
78991754672B87   ISMAEL          RODRIGUEZ                 CO     33004237546
789917A438B134   PAUL            DARLINGTON                UT     31026297043
789918AA18B142   BRADLEY         EWELL                     UT     90014658001
78992535176B6B   BLANCA ESTELA   GAONA                     CA     90014475351
789932AA155939   SULEMA          HERNANDEZ                 CA     90010462001
7899353748B157   JOSE            ALONSO                    UT     90014845374
78993634772B37   CARLOS          ESCOBAR                   CO     90013036347
789937A8572B29   PORFIRIO        SAUCEDO                   CO     90008517085
7899385278B142   CLINT           WALKER                    UT     90012458527
7899419465B59B   CYNTHIA         SLEVIN                    NM     90013831946
789944A5A72B37   WILDER          RAMIREZ                   CO     90000174050
78994886476B6B   ENRIQUE         LOPEZ                     CA     90014478864
789948A3891935   MAINOR          POZADA                    NC     90008768038
78994A2395B343   CLAYTON         EPPS                      OR     44504940239
78995429A41227   LISA            P JOHNSON                 PA     51047754290
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 992 of 2350


789959A878B163   TIM           FENTON                      UT     31010689087
78996279A9154B   ANNA          MONTES                      TX     75088492790
7899632633168B   MELISSA       ORTIZ                       KS     22006823263
78996A59176B6B   ELIZABETH     RAMIREZ                     CA     46035880591
78996A9685B32B   ERICKA        ARREOLA                     OR     90005540968
789972A5255939   LESLIE        GONZALEZ                    CA     90013232052
7899758799154B   JOSH          MATEL                       TX     90008915879
789976A9755939   MAYRA         FLORES                      CA     48047816097
7899825235B32B   AIMEE         HOFFNER                     OR     90007102523
7899829768B134   JOHN          PRITCHETT                   UT     90011992976
7899831A52B994   DEBRA LYNNE   COX                         CA     90015073105
7899867738B157   ERLINDA       CASILLAS                    UT     90014426773
7899957588B163   MAUNG         THAN                        UT     90011235758
7899966678B142   KEARNS        ASHLEI                      UT     90007906667
789998A5872B22   ERIK          MARTINEZ                    CO     90009698058
7899991987B477   KASEY         ATWOOD                      NC     90011199198
7899B74448B142   BELTRAN       KIMBERLY                    UT     90003697444
7899B963793739   NATASHA       SMITH                       OH     90011959637
789B1479155947   JOSE          ALEJA                       CA     90012324791
789B165225B59B   JOHN          ARMIJO                      NM     35026336522
789B1718772B29   JOSEPH        CHACON                      CO     33030427187
789B211A171921   LISA          WEINER                      CO     32082711101
789B216A861999   SUSANNA       KAELIN                      CA     90007711608
789B2462155947   RONAL         PINEDA                      CA     90013014621
789B27A7791932   NIYA          JONES                       NC     90007817077
789B2A37772B22   IVAN          JURADO                      CO     90005580377
789B316675B343   IGNACIO       LLAMAS                      OR     90005931667
789B3187455947   STEVE         SHARP                       CA     90008161874
789B364538B163   ANDREW        FACKRELL                    UT     31097986453
789B428A331432   JEANNE        CHILTON                     MO     27570402803
789B443388593B   HALEY         VERST                       KY     90012624338
789B453178B163   MIRIAM        LANGARICA                   UT     90009715317
789B469165B59B   GABRIELA      ARREOLA-RUIZ                NM     90014666916
789B4691772B32   DANELLA       SANCHEZ                     CO     90012826917
789B5352431432   TIFFANY       THOMAS                      IL     90015403524
789B5611A55939   SAMUEL        CARRILLO                    CA     90009626110
789B577525B343   ROSA          LOPEZ                       OR     90015127752
789B58A7A51355   SUMMER        SESSUMS                     OH     66084888070
789B59A4381654   ZO            CABRON                      MO     90011119043
789B6125341237   MIKE          O LEARY                     PA     90009921253
789B612A571921   RAMON         RABON                       CO     90002611205
789B6172731433   MICHAEL       STALLINS                    MO     90008961727
789B6292A41227   JAKE          BRONDER                     PA     90005592920
789B6627472B22   LORENA        ROMERO                      CO     33005966274
789B7231672B29   NAMIK         MUHAREMOVIC                 CO     33081232316
789B7487676B6B   DAUGHERTY     MICHAEL                     CA     90001444876
789B7A74855947   RANDE         RAUMAKER                    CA     49062720748
789B81A4872B87   ASHLEY        DELUHERY                    CO     33054841048
789B857293B355   ELISABETH     BELTRAN                     CO     90010315729
789B8666372455   DEATTA        DEAN                        PA     90001676663
789B8A47555947   CORY          SULLIVAN                    CA     90006050475
789B9311372B37   RODNEY        WALLER                      CO     33077263113
789B94A4771921   ALEX          EXUM                        CO     90011484047
789B968199154B   LUIS          ROSARIO                     TX     90009616819
789B9743731432   SHARON        JONES                       MO     90014687437
789BB158872B87   SANDRA        PACHECO                     CO     90014941588
789BB246491588   DANY          MORALES                     TX     90004732464
789BB494171921   LEQUINE       ARNOLD                      CO     90007014941
789BB97778B168   RODOLFO       RIOS                        UT     31000139777
78B1113342B994   ELOISA        LUCERO                      CA     90014911334
78B11464371921   LATOIYA       JACKSON                     CO     90011104643
78B11478651348   JENNI         SNYDER                      OH     90008484786
78B1162199154B   JUAN          MEZA                        TX     75024306219
78B11633A55947   MONIQUE       GONZALEZ                    CA     90011406330
78B1219955B59B   JARED ALAN    SHARP                       NM     90014601995
78B12219991588   JONATHAN      HAYNES                      NC     75046952199
78B13336441237   MIKE          DEAN                        PA     51096823364
78B13499391855   LISA          ODEN                        OK     90007634993
78B1419825B343   JAMIE         POH                         OR     44543681982
78B14316A71921   KAREN         HERNANDEZ                   CO     32022223160
78B14481972B2B   CARLOS        VARELA-VILESCAS             CO     90013404819
78B14499391855   LISA          ODEN                        OK     90007634993
78B14883155939   BEN           ZAMUDIO                     CA     90009258831
78B14999972B87   TIFFANY       SPEARS                      CO     90014919999
78B15538672B32   ANTONIO       ALBARRAN                    CO     90010985386
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 993 of 2350


78B1555318B142   MOISES          SAN JUAN                  UT     90014495531
78B1557268593B   KODY            AMMER-OLDING              KY     90014695726
78B157A4233698   ANGELA          ANDERSON                  NC     90008357042
78B15A18772B22   SENYO           ZIGAH                     CO     90013770187
78B15A98772B44   DORA            MIERA                     CO     90004240987
78B16254A81633   MICHELLE        HOUSER                    MO     90004982540
78B16637572B87   JOSE            CRUZ                      CO     90014376375
78B1665188B157   JIAN YU         LI                        UT     90010196518
78B16654A8B142   ANGELINA        DICKMAN                   UT     90014496540
78B1669647B477   ROBIN           JENNINGS                  NC     11060986964
78B16889872B37   CHRIS           HAWORTH                   CO     90014858898
78B17211A8B134   ROBIN           STEELE                    UT     90000152110
78B172A5255947   CARLOS          BLANCO                    CA     49076002052
78B17469A91549   JOSE            GRAU                      TX     90008624690
78B17671281633   BRENDA          SANCHEZ                   MO     90014816712
78B1778755B59B   KYLE            FISHER                    NM     90010077875
78B177A4A8B142   JESSICA         RICH                      UT     90014497040
78B17866572B87   BRIAN           SCOTT                     CO     90001918665
78B17A8836192B   CHARLIE         CHAVEZ                    CA     90014850883
78B17AA9551348   RASHIDAH        WASHINGTON                OH     90010750095
78B18287176B6B   JOSEPH          MCKIBBEN                  CA     90014652871
78B18366751355   FLORI           MUDIMBI                   OH     90008403667
78B18669676B6B   LAZARO          AGUAYO                    CA     90008046696
78B1889225B387   CHRISTINA       SIGMAN-DAVENPORT          OR     90009738922
78B1974538593B   KEVIN           COLE                      OH     90009937453
78B19865755947   NICK            COZZONE                   CA     90003228657
78B19993A72B29   MARINO          PONCE                     CO     33064649930
78B19996291368   MARCO           SALVAZAR                  KS     90009879962
78B19A4A691563   DIANE           ALVAREZ                   NM     90007690406
78B1B35528593B   ELBERTA         MELTON                    KY     66052663552
78B1B3A5472B22   GLEN            MILLER                    CO     90011253054
78B1B44AA72B29   JOHN            MCCOVY                    CO     90010754400
78B1B572384322   KEMEI           OATES                     SC     90015035723
78B1B773891588   RAFAEL          JIMENEZ                   TX     75046467738
78B1B843255969   ROSE            RENTERIA                  CA     90008828432
78B1B893472B22   OMAR            VELASQUEZ                 CO     90014908934
78B211A8872B29   JOSE            BRAVO                     CO     33081291088
78B21435741237   KYLE            EDWARDS                   PA     90013544357
78B2144635B373   ALBERTO         CAMACHO                   OR     44515364463
78B2151219154B   MARIA           FELIX                     TX     75088245121
78B21556751355   RENEE           POWELL                    OH     90015205567
78B21643141253   JOELLEN         ALBERTS                   PA     51008556431
78B21664A72B37   ALONDRA         BARRON                    CO     33014236640
78B2172318593B   JASON           FULTZ                     KY     90014697231
78B22389572B87   LEO             PAIK                      CO     90014903895
78B23389572B87   LEO             PAIK                      CO     90014903895
78B23442561976   GERMAN          DEL RIO SALAZAR           CA     46067934425
78B23682672B22   VINCENT         RODRIGUEZ                 CO     90012616826
78B23883154121   JAVIER          RAMIREZ                   OR     90013358831
78B2392A972479   JANICE          MEEHAN                    PA     90005369209
78B24389572B87   LEO             PAIK                      CO     90014903895
78B2452138B134   OCTAVIO         ALVAREZ                   UT     31039055213
78B2472318593B   JASON           FULTZ                     KY     90014697231
78B247A4672B87   BRANDON         YOUNG                     CO     90003737046
78B24A91A55969   MARYBEL         DAVALOS                   CA     48017350910
78B2569498593B   TONY            PORCHIA                   KY     66014776949
78B262A6851322   BONFACE         ABUONJI                   OH     90011322068
78B26344272B29   RUDYARD         SCHWED                    CO     33089103442
78B26657351329   FRANKLIN        MERRITT                   OH     90011826573
78B26788741253   CHRISTOPHE      KORING                    PA     90004677887
78B26A15941237   SEAN            QUINLAN                   PA     90013510159
78B27412A8B134   JAREDB          BLATNICK                  UT     31059084120
78B27476341227   ASAAD           ALLEN                     PA     90000674763
78B27581891588   SUSANA          BLANCO                    TX     90014665818
78B2766455B596   NICHOLAS        MCBRIDE                   NM     90014686645
78B27A7417B43B   OCTAVIO         ROMERO                    NC     90006370741
78B281A815B384   ANTHONY         WHITCOMB                  OR     44503231081
78B28241593739   AMBER           RILEY                     OH     90010632415
78B2834648B142   LUIS            VERA                      UT     31004043464
78B28489472B37   JENNIFER ROSE   ELVERUM                   CO     90013374894
78B284A727B477   BLAMO           DUEH                      NC     90013374072
78B29394872B87   KRER            SER                       CO     90014903948
78B29A4769154B   ANTONIO         NUNGARY                   TX     90011090476
78B2B386798B3B   NAHUN           VASQUEZ                   NC     90010453867
78B2B3A7455939   FRANCISCO       VAZQUEZ                   CA     90010653074
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 994 of 2350


78B2B985572B29   CRUZ         REYES                        CO     33015459855
78B2BAA7476B6B   DIEGO        JUAREZ JUAN                  CA     90013090074
78B3111958B168   CARLOS       VALDEZ                       UT     31083101195
78B31699655947   TONY         GALLEGOS                     CA     90002556996
78B31796141253   PAUL         MATTHEWS                     PA     90011637961
78B31883472B37   MARCELINO    ORTIZ                        CO     33083348834
78B32511151355   WAYNE        WOODLEE                      OH     66068305111
78B33182A51355   LISA         DRESDEN                      OH     90013971820
78B3374368B855   ANGELICA     MONTEALEGRE                  HI     90015167436
78B3383285B32B   ANALI        GONZALEZ                     OR     44546528328
78B3423485B343   DAVID        ROHNINH                      OR     90012052348
78B3442265B32B   ANTONY       ABALOS                       OR     90009084226
78B34441755939   RONALD       MOORE                        CA     90001104417
78B34734172B37   BRENDA       MAGANA                       CO     33068197341
78B34819691522   ANA          LIRA                         TX     90012598196
78B34851341237   SYLVESTER    WILKERSON                    PA     51058878513
78B35279484336   TAKEYA       RICHARDSON                   SC     90011452794
78B3529A32B994   TERESA       VILLASENOR                   CA     90010932903
78B3576228593B   TRE          COX                          KY     90014697622
78B3585648B134   BRANDON      SCHNEIDER                    UT     31084798564
78B3588953168B   MINDY        GASAWAY                      KS     90009518895
78B359A198B142   NICOLE       JOHNSON                      UT     31077189019
78B36782133698   DENISE       NELSON                       NC     12041897821
78B37317376B6B   EVARISTO     GARCIA                       CA     90014543173
78B3747888B163   JENNIFER     ANDERSEN                     UT     90013084788
78B38636A31432   CARLDON      TROTTER                      MO     90011186360
78B39313A9154B   MARIA        LOZANO                       TX     90012173130
78B3965925B384   HILARY       GRAFF                        OR     44519256592
78B39696241237   URIEL        THOMPSON                     PA     90014866962
78B3B598276B6B   SHERRY       CLARK                        CA     90013105982
78B3B6A115B32B   ELVIRA       FLORES                       OR     90006536011
78B3B76A493739   KRISTINA     STANSELL                     OH     90013697604
78B3B9A1A2B994   JUAN         PERALES                      CA     90014679010
78B41337871921   OSCAR        COBOS                        CO     90012823378
78B41454472B32   DAVID        PIERCE                       CO     90012014544
78B42116455939   NORBERTO     BECERRA                      CA     90005211164
78B42333572B37   BRANDON      SAIS                         CO     90012463335
78B4234848B157   ENRIQUE      JIMENEZ                      UT     90013753484
78B42572541253   ERIC         KIMAK                        PA     90005725725
78B426A278B142   MIRNA        MIRANDA                      UT     31013626027
78B42726193739   GABRIELLE    STROUD                       OH     64512777261
78B42921372B37   SAUL         VILLALOBOS                   CO     90011279213
78B43172371921   THOMAS       SCHNERDER                    CO     90012901723
78B4342A393739   AALIYAH      WOODARD                      OH     90012704203
78B43873872B22   ANAVEL       BLANCO                       CO     90013188738
78B44144572B22   ERIKA        MONTES                       CO     33070231445
78B4414667B477   FERNANDO     GALICIA                      NC     90012051466
78B44373241253   LANA         SMITHBOWER                   PA     51073383732
78B443A4A51348   PAM          SMITH                        OH     90003553040
78B4456A25B343   RYAN         WEIPPERT                     OR     90013535602
78B4486648593B   DANIELLE     TALLON                       KY     90005498664
78B4488675B343   FELIPE       PEREZ                        OR     90014898867
78B44945A61973   ADAM         CAPPELLO                     CA     90007829450
78B45152891588   CLAUDIA G    AMADOR                       TX     90014771528
78B45786A33698   BRYAN        BELL                         NC     90011727860
78B45A42191368   ERIKA        BARRON                       KS     90011540421
78B4613342B994   ELOISA       LUCERO                       CA     90014911334
78B46822741237   BRITTNEY     MEAD                         PA     90011338227
78B469A745B32B   DESARI       FLORES                       OR     90003879074
78B46A1433B355   ADAM G       BONILLA                      CO     90006670143
78B47319871921   JEANET       RICHARDSON                   CO     90014753198
78B47633572B87   SOUTHERN     ASIALENE                     CO     90008536335
78B48255544346   MONICA       CROMWELL                     MD     90015562555
78B484A6A72B87   LINDA        LOYA                         CO     90014904060
78B48A53131433   NICHOLAS     IAVARONE                     MO     27560840531
78B4B32418B157   MARTHA       BECERRA                      UT     31087033241
78B4B386A72B35   JESUS        ALONSO                       CO     90010413860
78B4B823171921   ANAYELI      AGUILAR                      CO     32014928231
78B4B934876B6B   FEDOR        SUMRIN                       CA     46091289348
78B4BA54A5B592   MICHELLE     TRUJILLO                     NM     90002590540
78B51458855939   MARIA        LOPEZ                        CA     90011404588
78B51871A8B142   ALBERT       PURSER                       UT     31087158710
78B52144176B6B   LAUREN       PANTALEON                    CA     46033091441
78B52226A5B59B   JOHNSON      DEVONNA                      NM     90006242260
78B5226A272B32   AMIN         KAZAK                        CO     90001402602
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 995 of 2350


78B52412661984   WALDINA                  CLAROS              CA   46022424126
78B5291738B157   TAMI                     REDMOND             UT   31043979173
78B5295418B142   REBECCA                  ROCQUE              UT   31084409541
78B5321368B142   ROCIO                    HERNADEZ            UT   90003562136
78B5338468593B   MELISSA                  OWANS               KY   90006333846
78B5346819154B   ANA                      GUZMAN              TX   75087874681
78B5351655B32B   DAVID                    SMITH               OR   90009305165
78B5385A671921   ELENA                    TARANGO             CO   32064698506
78B54226681633   FRENZA                   JACKSON             MO   90013542266
78B54563872B22   JOSE                     RIMIREZ             CO   90008015638
78B54744531466   BRENDA                   FORD                MO   90007507445
78B55235A76B6B   ADRIANA CRYCTAL          SALCEDO             CA   90014132350
78B55329491588   MARTIN                   LOZOYA              TX   90010123294
78B55531272B37   EMANUEL                  CASTANEDA           CO   90012215312
78B5561558593B   BRITTANY                 ROBBINS             KY   90014706155
78B55836381633   LAVONDA                  JOHNSON             MO   90013708363
78B5645AA8B163   OSCAR                    VELASQUEZ           UT   90013434500
78B56576733698   CLAUDINE                 COHEN               NC   90004185767
78B56621A8593B   JOHN                     HARDIN              KY   90014706210
78B57572171921   ULISES                   PASTRANA            CO   90008665721
78B57932255947   NICOLE                   CORRAL              CA   90015179322
78B57975372B32   JON                      BILLINGSLEY         CO   90013609753
78B58163376B68   MARIA                    SAN HERMAN          CA   90010321633
78B5819918B341   CHARLES                  BARBER              SC   11074591991
78B58311872B29   REGINALD                 BATTLES             CO   90014813118
78B5918985B343   AMANDA                   FLOREA              OR   90012431898
78B5932418593B   MARLENE                  GARCIA              KY   66000863241
78B5936548B157   CESAR                    MORENO              UT   90013753654
78B593AA484322   SANDRA                   WASHINGTON          SC   14501203004
78B5941358B168   HELEN                    RAMIREZ             UT   31086854135
78B5B2A8151355   NAKESA                   MENZISE             OH   66053632081
78B5B345631432   ALLEN                    PLATT               MO   90012983456
78B5B52775B59B   BRIANNA                  GUTIERREZ           NM   90013905277
78B5B965372B87   PATRICIA                 STEVENS             CO   90013169653
78B5BA14693728   KASCY                    BRYAN               OH   90007060146
78B61119341253   LORILEE                  HARMS               PA   51088981193
78B6151278593B   DOUGLAS                  BUCKLEY             KY   90014715127
78B61513A72B29   MARYAM                   NOWKHANDAN          CO   90013015130
78B61A1A181633   GREGORY                  HUTTON              MO   90014410101
78B62194955939   AARON                    CERVANTES           CA   90015111949
78B625A7831673   JOYCE                    HAMM                KS   90004705078
78B63128172B29   KYLE                     ALLAN SELLERS       CO   33082281281
78B63565A8B163   MONROY                   WILFRIDO            UT   90013695650
78B63853955969   JUAN                     HERNANDEZ           CA   90013058539
78B6396A772B22   TORRES                   JOSE                CO   90010619607
78B63A8547B477   JAMES                    MCCRARY             NC   90003450854
78B64A39376B6B   STEPHANIE                MORALES             CA   90013090393
78B65119A72B32   CHUDA                    GAUTAM              CO   90012111190
78B65154141253   CONNIE                   LUCAS               PA   51014621541
78B65615471921   DAVID                    ENOS                CO   32097256154
78B66176871921   TONYA                    BEYER               CO   90015611768
78B66595A81633   SYLVIA                   MUNIZ               MO   90014465950
78B66659291377   FINA                     SILLEY              KS   90011746592
78B66697684322   KOBI                     WASHINGTON          SC   90006596976
78B66919881633   DUSTIN                   QUACKENBUSH         MO   90011499198
78B66998433B26   MARY                     JONES               OH   90014189984
78B677A638B157   FELICIA                  BURNETT             UT   90002697063
78B6783479154B   ROSA                     DIAZ                TX   90013968347
78B68115A5B59B   JESSICA                  CHERINO             NM   90009731150
78B68255791588   ISSAC                    GOLDEN              TX   90014542557
78B6825968B134   WILLIAM                  CHAMBERS            UT   90012422596
78B6866A872B22   NICOLE                   SILVA               CO   90012226608
78B6882A372B29   PAMELA                   SCHAEFFER           CO   33040988203
78B688A3855947   ELBA                     BELTRAN             CA   90015138038
78B68A11A71921   KYLE                     NELSON              CO   90011490110
78B68A23A41227   KARA                     SBARAGLIA           PA   51005810230
78B69271972B22   SUSAN                    MURILLO             CO   90012352719
78B69335672B32   BERNARD                  NUBINE              CO   90014603356
78B6937848B142   ANTHONY RUSSELL DARIAN   WILCOX CARTWRIGHT   UT   90014503784
78B69471672B29   KARRIE                   RING                CO   33031604716
78B699A8461432   GARY                     LYONS               OH   90014699084
78B6B149772B29   CAMELIA                  RIVERA              CO   33012891497
78B6B59558B157   MARIA                    GONZALEZ            UT   90007895955
78B6B64558B168   TRAVIS                   MAR                 UT   90004126455
78B6BA92772B87   MORIZIO                  MENDOZA             CO   90014430927
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 996 of 2350


78B7131498B157   MARGARITO     PADILLA                     UT     90011993149
78B71516341253   JEFFREY       EATON                       PA     51007095163
78B7174526192B   ANTONIO       LOPEZ                       CA     90014587452
78B71886A5138B   JOE           KEMPER                      OH     90007868860
78B71A5452B847   RODOLFO       RODRIGUEZ                   ID     90006300545
78B72211772B37   MORGAYNE      WAKEFIELD                   CO     90001592117
78B7226198B134   SERGIO        ALVAREZ                     UT     90014382619
78B7293435B343   MARIA         MIRANDA CHAVEZ              OR     44508559343
78B73114855969   CHRISTINA     L GARCIA                    CA     90011231148
78B7322382B994   JORDAN        XAYAVONG                    CA     90011882238
78B73659844346   DESTINY       MCKISSET                    MD     90015606598
78B7383918B163   ESTEBAN       DORANTES VALENTE            UT     90013798391
78B7411772B994   EDWARDS       REESE                       CA     90005101177
78B74176872B32   ZUKY          AGUILAR                     CO     90001871768
78B74348971921   DUANE         MORLAND                     CO     90002983489
78B74A91791588   GABRIELA      ALVARADO                    TX     90013270917
78B7537518B134   ANDREW        JONES                       UT     31041763751
78B75526291588   ARLENE        MCKINNEY                    TX     90008585262
78B76A5A676B6B   JACQUELYN     JOHNSON                     CA     90012920506
78B76A6AA31433   DAVID         COTNER                      MO     90006680600
78B7716675B569   ANITA         BLYTHE                      NM     90013891667
78B7746819154B   ANA           GUZMAN                      TX     75087874681
78B7767615B59B   GLENN         BLAKE                       NM     90011546761
78B779A8655939   JULIEANN      VALDEZ                      CA     48013289086
78B77A28A72B32   LONNA         GWINN                       CO     90015150280
78B785A4341227   SELINA        BUNKLEY                     PA     51095125043
78B7884628B157   BLANDON       EDGAR                       UT     31026898462
78B78965A8B142   CARI          RICHARDS                    UT     90008099650
78B792A617B477   TULASHI       MAINALI                     NC     11075592061
78B793A9172B87   SOCRATES      PEREZ                       CO     33096663091
78B79694A41253   KELLY         CAIN-JACKSON                PA     90013096940
78B79747676B6B   CATALINA      LOPEZ                       CA     90015157476
78B7998685B343   AMBER         THATCHER                    OR     44504589868
78B7999628B157   GENNI         SCHNEIDER                   UT     90013449962
78B79A3A871921   MARTIN        RAMIEZ                      CO     32066250308
78B7B55798B134   PASCUAL       GOMEZ                       UT     90009015579
78B7B786772B87   JULIA         JENSEN                      CO     90013887867
78B7B82595B343   CHRISTOPHER   WATSON                      OR     90012728259
78B7B925151348   JEAN          TOADVINE                    OH     66006029251
78B7BA92155969   JARED         VALENZUELA                  CA     90012480921
78B7BA9935B596   DEANNA        HERRERA                     NM     90006060993
78B81275855939   DAVID         GARCIA                      CA     90010642758
78B81388472B87   SANDRA        PENA                        CO     33089543884
78B81465372B37   VILMA         CORDON                      CO     90013924653
78B81655972B29   RUTH          MARQUEZ                     CO     90013606559
78B82828372B32   PAULA         SHADE                       CO     90013778283
78B82891A81633   RHONDA        NOLEN                       MO     90003898910
78B82A8772B994   DEE           CHACON                      CA     90000280877
78B832A7972B32   NOLBERTO      LOPEZ                       CO     33025282079
78B834A279154B   LUIS          MANCILLA                    TX     75041364027
78B83A9A431432   ALONZO        GALLOWAY                    MO     90015130904
78B848A2855947   BERTHA A      MADRIGALDEMARIN             CA     90013938028
78B84A8329154B   MARTIN        ARVIZU                      TX     90008710832
78B8529A772421   ASHLEY        SHAULIS                     PA     51016412907
78B8563255B343   GREGORY       GERARD                      OR     90012046325
78B85737591588   MARY          BARRAZA                     TX     90010177375
78B86348491588   GLORIA        GANDARA                     TX     75050943484
78B86A71172B22   RICHARD       BOROUGH                     CO     33039970711
78B87583272B29   ANNETE        LONG                        CO     33075075832
78B88369441237   WILBERT       BROWN                       PA     90009573694
78B88631472B22   MARIA         COOPER                      CO     90012886314
78B896AA533699   CAITLIN       THIEBAUD                    NC     12049486005
78B897A5655947   NADIE         TRUJILLO                    CA     90011387056
78B897AA341227   WENDY         PATTERSON                   PA     51098767003
78B89A3935B59B   LAWRENCE      SANDOVAL                    NM     90006860393
78B8B311885995   L. ANNIKA     SMITH                       KY     66094973118
78B8B35A572479   J             BATTISTONE                  PA     51081633505
78B8B69898B134   NICHOLAS      EVERILL                     UT     90009656989
78B8B732472B22   SERGIO        PENA                        CO     90014437324
78B8B873671921   KIMMY         CALHOUN                     CO     90015238736
78B8B8A948B178   ANTONIO       AVILA                       UT     31017468094
78B8B92168B142   SANDRA        GARRIDO                     UT     31087189216
78B8B97A95B384   DANIEL        WARD                        OR     90000219709
78B8B99269154B   CYNTHIA       RASCON                      TX     90011359926
78B9114163168B   HOLLY         DAVIS                       KS     90009501416
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 997 of 2350


78B91819A71921   JOSE              VELOZ                   CO     32084668190
78B91828331433   MELITA            ROBINSON                MO     90011418283
78B9187698B163   JUAN              CHILEE                  UT     31006018769
78B91A12672B22   NATASHA           MORENO SANCHEZ          CO     90012980126
78B922A4955947   ESTEVEN           PINEDA                  CA     90008502049
78B92426972B37   FREDY             LOPEZ HERRERA           CO     90013794269
78B92594491588   VICTORIA          VALENCIA                TX     90010625944
78B925A2151325   CLAYMON           WOMACK                  OH     66095435021
78B92711A72B32   PULIDO            SERGIO                  CO     90008407110
78B9272332B994   LENA              COE                     CA     90010487233
78B933A948B142   TEENA             ALLMAN                  UT     31035543094
78B93443481633   ADELINE           KAVANAGH                MO     29063664434
78B93692155969   JUANITA           LUNA                    CA     90013046921
78B93918455939   ASHLEY            CAMARILLO               CA     90004049184
78B93969272B32   JIMMIE            WILSON                  CO     90006809692
78B93A8A25B59B   YVETTE            GONZALES                NM     90013710802
78B9431157B477   SHATAINE          ADAMS                   NC     90010183115
78B94398172B37   POLLY             BOND                    CO     33063813981
78B9439925B343   KARLINA           BARNES                  OR     44511783992
78B94427841286   DIANNE            STEINER                 PA     90014804278
78B94461441253   ONEACA            BONIFATE                PA     90013544614
78B94597691588   JENNIFER          CORRALES                TX     90011575976
78B94665631432   ANDREW            RONZELEN                MO     27514686656
78B94728641227   EBONY             JACKSON                 PA     90010887286
78B94871576B6B   DIMAS             JIMENEZ                 CA     46096858715
78B94AA1A8593B   MELVIN            SWEENEY                 KY     66087640010
78B9523823168B   KELLI             GRIFFIN                 KS     22019452382
78B95483241237   SHAYTELL          MICKISSICK              PA     90011004832
78B9548699154B   JOANNA            CORONADO                TX     90011114869
78B95843541253   LAWRENCE          YANTZ                   PA     90011638435
78B95942131432   DALE              HAYES                   MO     90014059421
78B95A65755969   JUAN              RAFAEL                  CA     90000650657
78B96565871921   KRISTIN           RODRIGUEZ               CO     90011355658
78B96828172B37   LORARAINE         LOYA                    CO     90006978281
78B97355872B37   ROVZE             RYAN                    CO     90011473558
78B97373172B44   JOHN              HOLDSWORTH              CO     33084513731
78B97519891588   VICTORIA          RAMIREZ                 TX     90003395198
78B9758885B59B   DANIEL            OLIVAS                  NM     90010695888
78B9779A79154B   MARTIN            CHAVEZ                  TX     90014887907
78B97A53931432   VICTORIA          MARCHBANKS              MO     27586530539
78B983AA693739   JENNIFER          HICKMAN                 OH     90008363006
78B98A47291566   ALEJANDRA         MARTINEZ                TX     90011330472
78B9926145B59B   ROSHELLE          LOPEZ                   NM     90014082614
78B994A3955939   VASILIA           SOSA                    CA     90011134039
78B99533A2B257   BERNAND           ARNOLDI                 VA     90008085330
78B9B41537B47B   AMY               RAMONA                  NC     90000144153
78BB138488B142   MATIAS            FARIAS                  UT     90011973848
78BB183235B59B   JODY              WILCOX                  NM     90014918323
78BB212569154B   CATHY             DIAZ                    TX     90008971256
78BB21A4851355   SARA              KAIN                    OH     90006691048
78BB266468B163   SABITH            DELVALLE                UT     90009216646
78BB297A131432   PRINCESS GREEN    ALLRED                  MO     90002869701
78BB3227184322   MARIAH            SCHRODER                SC     90015012271
78BB351A58B134   SHANNON           OSTLER                  UT     90010725105
78BB3771751348   LAKENYIA          JACKSON                 OH     66011377717
78BB3865472B22   JENKINS           CHUPPRIE                CO     90011468654
78BB3923676B6B   BAKER             NEIL                    CA     46014279236
78BB3A9588B134   JENNIFER          COOMER                  UT     90010330958
78BB4463372B87   JEFFERY           SCHULZE                 CO     33044814633
78BB447468593B   VINCENT           CRUPPER                 KY     90014694746
78BB465355B59B   RAUL              MADRID                  NM     35002766535
78BB46A318B157   CASSANDRA         BIA                     UT     90014606031
78BB4911284322   VERONICA          HERNANDEZ               SC     90015019112
78BB528883168B   NICANORA          ROCHA                   KS     22085772888
78BB5293181633   MURIEL            GASTON                  MO     90013132931
78BB543578B163   RUSTY AND MARLA   HANSEN                  UT     90012424357
78BB5496733699   JOHN              DEEY                    NC     12074704967
78BB5527872B44   JAMES             JAMES                   CO     90004755278
78BB578215B343   HEATHER           FERGUSON                OR     90014977821
78BB5942472B22   SHAJUAN           MATTHEWS                CO     90011379424
78BB5956A55969   KEAKO             PACE                    CA     48097119560
78BB5A77891827   KEVIN             REED                    OK     90013170778
78BB6244A93739   BRYANT            ZELLER                  OH     90006802440
78BB6331241227   KRISTIE           DEVLIN-MCCONNELL        PA     90006153312
78BB6487A72479   JENNIFER          SMITH-MOLDOVAN          PA     51011704870
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 998 of 2350


78BB6792A72B29   MIREYA       MONCADA                      CO     90011477920
78BB6985391566   FRANCISCO    FLORES                       TX     75074319853
78BB6988A72B22   CHELSEA      FAIOLA                       CO     90012479880
78BB7259991588   LAURA        SOTO                         TX     90004752599
78BB7668676B6B   CLAUDIA      SILVA                        CA     90010236686
78BB7831255969   JESSICA      SANDOVAL                     CA     90012348312
78BB829A58593B   TROY         MILES                        OH     66035892905
78BB8432A93739   MISTY        HALE                         OH     90007204320
78BB899877B347   MARILYN      MORRIS                       VA     90013369987
78BB8A65993739   PRESTON      ATKINS                       OH     90013930659
78BB8A83291588   CINTHIA      CRUZ                         TX     75051510832
78BB92AA372B29   ANDREA       WOOLFOLK                     CO     90013732003
78BB955528593B   JENNIFER     CRANK                        KY     90014695552
78BB9A4AA41237   DAREISHA     EACKLES                      PA     51045240400
78BBB62A18B142   JENNIFER     BOSSERMAN                    UT     31045536201
78BBB82AA55969   MIKE         HUGHES                       CA     90000598200
78BBB939785887   MIKE         TRACY                        CA     90001379397
791118A143367B   JOETTA       MILLER                       NC     90008138014
7911198643168B   ROBERT       JANSSEN                      KS     22098329864
79111A3955B385   SIMON N      KUUST                        OR     44540580395
79112A4A35B59B   SAUL         VASQUEZ                      NM     35060520403
79115A5668B168   SHINADE      SLEASE                       UT     90007660566
7911612198B168   STORMI       CAMPBELL                     UT     90011991219
79116288A33698   BLAKELY      ROBINSON                     NC     90008612880
79116A58A5B385   SHERI        JONES                        OR     44575290580
79117A47951355   BILL         CHARLES                      OH     66019150479
791193A3155969   BRIAN        MINNIS                       CA     48074363031
7911B942881633   COLLETTE     BEARD                        MO     90012889428
7911BA59191521   CARLOS       FERNANDEZ                    TX     75030420591
7912147795B59B   JOHN         ZAMORA                       NM     90013964779
79121A57572B32   ERNESTINA    DUARTE                       CO     33025560575
7912238665B59B   TINA         CHAVARILLO                   NM     90006653866
791227A1A71921   RICARDO      CABALLERO                    CO     32095837010
79123A63655969   MICHAEL      BARRIENTOS                   CA     90013450636
79124672672B29   LORI         CLAYTON                      CO     90003516726
7912585195B59B   DAVID        LAW                          NM     90013908519
7912586258593B   ROBERT       STROH                        KY     90012598625
7912679669154B   LIZETH       MENDOZA                      TX     90011557966
7912759A372B44   MICHAEL      OZAWALD                      CO     90008295903
791275A1341253   SAMUEL       KLAGES                       PA     90012035013
7912832275B385   KEAR         SUSAN                        OR     90014393227
79128A6698B134   NATHAN       VANDERSPEK                   UT     90012340669
7912943A372B32   BRENDA       MIRANDA-SURA                 CO     90005484303
7912959A361967   LAURA        ROBLES                       CA     90009915903
7912986A38B142   ADRIAN       VELASQUEZ                    UT     90014818603
7912B11949154B   MARIA        ZACARIAS                     TX     75081711194
7912B666672B32   EDGAR PAUL   MENA                         CO     90012986666
79131A4995B59B   ANNDRA       VIGIL                        NM     35093140499
79132237772B21   OLIVIA       ESTEP                        CO     90004742377
79132344872B32   GARY         VICKERY                      CO     90005333448
79132A21372B29   MARIA        AMAYA                        CO     33095230213
791337A343B343   DSN          VANDERPOOL                   CO     90006837034
79134A76A5597B   ALBA         TIRADO                       CA     90014650760
7913538727B477   TIARA        MASSEY                       NC     90014813872
791356A4255939   RICHARD      FLORES                       CA     90012736042
7913586969154B   JESUS        PRIETO                       TX     75091238696
791368A214128B   CODY         TRANGLE                      PA     90007068021
7913758699154B   JAVIER       PEDROZA                      TX     90002275869
79138A1638B168   MARIA        CRUZ                         UT     31017620163
79138A27361967   LUIS         ZAVALA                       CA     90009840273
79138A5A83B325   DEBORA       ASHFORD SMITH                CO     33019630508
79139695A55947   MARIA        MARQUEZ                      CA     49023906950
79139724772B32   YESENIA      RODRIGUEZ                    CO     90013397247
7913986185138B   SUSANN       VAUGHN                       OH     66050698618
791399A7172B29   YADHIRA      SMITH                        CO     90014909071
79139A4618B134   MICHAEL      PATTERSON                    UT     31035470461
7913B531141253   KENNETH      UMSTEAD                      PA     51098435311
7913B58699154B   JAVIER       PEDROZA                      TX     90002275869
7913B9A928B157   TRAVIS       CHING                        UT     90009479092
79141685A55947   JUAN         LOPEZ                        CA     90010226850
7914196A67B477   ROBERT       WHITE                        NC     90013739606
79141A77972B29   IGNACIO      MORALES                      CO     33089960779
7914288945B385   NATHAN       HOPKINS                      OR     90012788894
791431A678B168   SARAH        HOGUE                        UT     31000351067
7914369AA71921   CASSANDRA    MARSHALL                     CO     90007406900
    Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 999 of 2350


79143A16681633   ASHLEY       BANKS                        MO     90013690166
7914412477B477   RICHARD      BUTTS                        NC     90009701247
7914551598B168   JACQUE       RASMUSSEN                    UT     90005315159
791462A195B385   STEPHANIE    ISACCSON                     OR     44533362019
7914713318B142   CESER        MORENO                       UT     90009831331
7914713382B249   HAROLD       HARRIS                       DC     90001671338
79147597A81633   YANET        RODRIGUEZ                    MO     90009545970
79147A5232B29B   DAISY        ROBINSON                     DC     90014670523
7914881315B59B   BOBBIJO      FRESNEDA                     NM     35004228131
791489A1751355   RANDALL      MILLER                       OH     90014799017
79149A94155939   JOSE         GUTIERREZ                    CA     90015020941
7914B33295B38B   CARMELA      NUNEZ                        OR     90014193329
7914B6A382B267   ASSLAN       SULAIMAN                     VA     90005126038
7914B979697123   REBECCA      ROBERTSON                    OR     90002459796
7914BA49572B29   KENNETH      CARDINAL                     CO     90006860495
79151346572B32   SABRINA      HERNANDEZ                    CO     90014243465
7915143445B59B   ALENJANDRO   MARTINEZ                     NM     90006484344
79151683572B29   JHYANNA      JAMISON                      CO     90013376835
7915222A951355   LEE          WATKINS                      OH     90007992209
79152945572B29   CESAR        LORENZO                      CO     90015179455
7915326735B385   EVANGELINA   HERNANDEZ                    OR     90006722673
791533AA991588   REYNALDO     REYES                        TX     90004433009
79153572A72B44   TWYLA        TRUJILLO                     CO     90007155720
7915495173B394   BRANDI       MORTON                       CO     90008039517
7915497385B385   SARAH        NEUPERT                      OR     90012079738
79154AA9455947   NATALIE      ARIAS                        CA     90014620094
79155883A84337   FRANCISCO    HERNANDEZ                    SC     90011878830
7915591A65B59B   RICHARD      THOMPSON                     NM     90014729106
79155A7667B477   DARLINE      GASPARD                      NC     11035530766
7915636933B358   JACQUELINE   BARNETT                      CO     90002353693
7915674633B35B   JOSEPH       WILLIAMS                     CO     90009287463
7915716638B157   ERIN         AUSTENCE                     UT     31078891663
7915756648B855   MOLLY        MCGOVERN                     HI     90013325664
79159337972B29   SOLARES      MARTIN                       CO     90010813379
79159687A3B392   PAULA        BAME                         CO     90008486870
79159A52441237   JAMES        CLARK                        PA     90010340524
79159A71681633   AMANDA       CRABTREE                     MO     90008890716
7916141968B142   ARACELI      SANCHEZ                      UT     31089434196
7916222818597B   DANIEL       SMELLING                     KY     67016712281
79162534372B32   SIDDHARTHA   BARAL                        CO     90010265343
79162839A8B163   GLADYS       POINTDEXTER                  UT     31072148390
79163769A31443   V            JEFFERSON                    MO     90010887690
79165457372B29   MARIO        CHAVEZ                       CO     90001274573
7916597579154B   TELEZ        LORENZ                       TX     90010329757
7916671488B142   CYNTHIA      BITENCOURT-BEAN              UT     90010107148
7916766A433698   YOLANDA      MOORE                        NC     12026416604
7916863439154B   MARY         GUILLEN                      TX     90006726343
7916893215B59B   SILVIA       CORONADO                     NM     35041259321
79169A72571921   LEAHCIM      RESNOG                       CO     90011050725
7916B199271921   SHATIMA      WALKER                       CO     32074701992
791717A6291588   JOB          MENDEZ                       TX     90004317062
79171A96191548   GLORIA       CANO                         TX     75021500961
7917297495B385   RAQUEL       MORALES                      OR     90009119749
7917341825B385   JOE          RODRIGUEZ                    OR     90014114182
791736A5391588   CARMEN       GAYTAN                       TX     90013016053
79173743872B32   CRYSTAL      GARCIA                       CO     90013337438
7917392A231443   JONATHAN     YOUNG                        MO     27557809202
79174222972B29   ROBBIN       OTEY                         CO     90010472229
7917426712B262   TAMIKA       HAMPTON                      DC     81000032671
79175581A4B548   CHRISTINA    DAVIS                        OK     90010635810
791776A9155947   DEBRA        LEE                          CA     49011676091
79178161A72B32   LORENA       HERNANDEZ                    CO     33009141610
79178344A21676   KALINA       JOHNSON                      OH     90015353440
7917853A65B331   KELLY        WACHSMUTH                    OR     44509055306
79178663991B29   NOAH         BROCK                        NC     90015496639
79178949A72B29   AMAZING      COLORADO                     CO     33055789490
7917911A572B29   ELIZABETH    MARTINEZ                     CO     33073531105
7917923318B163   HEIDI        WOODRIDGE                    UT     31007032331
79179563A57531   JOSE         GOMEZ                        NM     90015415630
7917B336793739   MICHAEL      GEISEL                       OH     90012053367
7917B386A51348   TIM          HONEYCUTT                    OH     66058453860
7917B3AAA71921   VIRIGINIA    HERNANDEZ                    CO     90013893000
7917B513181633   CASEY        RUFF                         MO     90003135131
7917B553255969   IRMA         CABALLERO                    CA     90014785532
7917B55429154B   LUIS         ORTEGA                       TX     75005425542
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1000 of 2350


7917B71488B142   CYNTHIA       BITENCOURT-BEAN             UT     90010107148
791819A287B477   WILL          SMITH                       SC     90013619028
7918211695B385   CESAR         TRONCO                      OR     44597631169
7918226388B142   MARCY         RYDER                       UT     90013822638
7918235412B994   STEVE         HAYES                       CA     45065763541
79182787A9154B   DANIEL        MARQUEZ                     TX     90008387870
79183A81141237   LORRAINE      HONEYCHUCK                  PA     90003730811
79184221A7B477   JENNIFER      GREEN                       NC     90013872210
7918427A28B157   STEVE         BAUM                        UT     90011132702
79185A92172B44   JOHN          ROMERO                      CO     33076690921
791865A895B59B   ALEXANDRIA    GORE                        NM     35019925089
7918791A833698   KATHERINE     MILLER                      NC     90007929108
79187A3818B142   JOSE          HERNANDEZ                   UT     90014850381
79187A93791588   GEORGE        COLOMO                      TX     90007930937
791888A548B134   ADAM          GIBSON                      UT     90012548054
7918923343168B   DOMINIQUE     ELIS                        KS     22078452334
79189653772B29   MARIO         DELAGARZA                   CO     90014406537
791896A615B385   MARIA         COMPUCANO                   OR     90014046061
7918B84415B385   MICHELLE      CARRILLO                    OR     90013698441
7919141A191925   TIAONNA       BROWN                       NC     90010694101
7919228AA72B32   JOSE MANUEL   ARELLANO                    CO     90001212800
7919232478B163   DONNA         BENTLEY                     UT     90005283247
7919245418B134   DANIEL        WAYMAN                      UT     90005154541
7919272A68B142   MIGUEL        CRUZ                        UT     90000917206
7919318A131432   MARK          STEPHENS                    MO     27574711801
7919336638B131   JULIE         STEVENSON                   UT     90006483663
7919337A18B168   TANYA         BAHR                        UT     31085333701
7919435615B59B   VICKI         COUPLAND                    NM     35092003561
7919474A351348   DAVID         HUNTER                      OH     90005147403
7919517455B385   LEAH          BLUM                        OR     90011451745
79195334572B29   ISMAEL        MUNOZ                       CO     33076843345
79195499A33698   LILLIETH      MOBLEY                      NC     90014734990
7919587828B163   ASHLEY        FARMER                      UT     90002888782
791968A5141253   BARBARA       ROBERTS                     PA     90010418051
79197172872B44   CAROLINA      TADEO                       CO     90003011728
79197A18431443   MAGGIE        DELTON                      MO     90010850184
791987A6455969   GUADALUPE     SORIA                       CA     90013217064
7919897198B157   VAUGHN        ALLEN                       UT     31087879719
7919915AA8B157   CHERYL        RASMUSSEN                   UT     90008631500
7919B19A38B142   MELISSA       HARTVIGSEN                  UT     31009071903
7919B259861967   SALVATORE     DIMORA                      CA     90012922598
7919B988991588   FAVELA        SANDRA S                    TX     90001929889
791B172835B385   LUDIVINA      VILLANUEVA                  OR     90010387283
791B2227431433   LAKISHA       BUTLER                      MO     27516662274
791B41A7493767   RANDY         WESTLUND                    OH     90011601074
791B4A7857B477   LAMARIA       SMITH                       NC     90013930785
791B5289355947   SABINA        AGUILAR                     CA     90012772893
791B6876A41286   CAROLE        COLOGNE                     PA     51042008760
791B726728B168   WAIHANA       ELTON                       UT     90004072672
791B7715655939   LYNNSEY       DEL SID                     CA     90011117156
791B8227431433   LAKISHA       BUTLER                      MO     27516662274
791B87A1272B29   BRANDON       SMITH                       CO     90013967012
791B884988B163   RAUL          GARCIA                      UT     90013548498
791B9153A55947   PHILLIP       GARCIA                      CA     90014631530
791B9468755969   RUBEN         GONZALES                    CA     90012504687
791B996898B142   FEDERICO      ESPINOZA                    UT     31077279689
791BB23768B157   AURELIA       DIAZ                        UT     31089862376
791BB689A91588   JOE           HERNANDEZ                   TX     90014076890
791BB6A7A8B142   JOSE          SUAREZ                      UT     90010196070
7921152575B385   LARRY         PRATT                       OR     90010055257
79211A91A77524   JESUS         RAMIREZ                     NV     90002180910
79211AAA85B385   EVELIA        RESENDEZ                    OR     90015220008
79212962172B32   TONI          KENNEDY                     CO     33056369621
79212A2765B385   JAMES         BURK                        OR     90012640276
79213A7928B168   STEVE         MORALES                     UT     90010590792
7921469A371921   JUSTIN        SALDO                       CO     90014906903
79214999A55939   EDWARD        AROUFO                      CA     90013259990
79214A45772B44   JOSE          AVELES                      CO     33088630457
79215829572B44   GINA M        CRAVEN                      CO     33079818295
7921614A58B168   JARVIS        DANNY                       UT     90012021405
7921652A255939   EDELMIRA      ZEPEDA                      CA     90013235202
7921669AA8B168   JARVIS        DANNY                       UT     90012026900
792184A8355947   ANGELA        GONZALEZ                    CA     90014634083
7921884A251355   EMILY         REIDY                       OH     90006588402
79218958A61967   DELIA         MENDOZA                     CA     90002189580
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1001 of 2350


7921995A533B44   ANTONIO      MORAHES                      OH     90013829505
79219A6A441253   HOWARD       PERDUE                       PA     90013450604
7921B552A55947   HERIBETO     ZUNIGA                       CA     90011865520
7921B83249154B   ISAAC        AVILA                        TX     90008388324
7921B86A37B33B   BLOSSOM      ELLICOTT                     VA     82011468603
7921B936254174   DAVID        PHILIPS                      OR     90006359362
79222582272B44   ELLEN        STEPHENS                     CO     90006265822
7922284668B157   ROBERT       SHAY                         UT     90009408466
79223A94155939   JOSE         GUTIERREZ                    CA     90015020941
79224458A8B163   KOROUS       SCOT                         UT     31002984580
7922457719154B   CYNTHIA      BERUMEN                      TX     90009285771
792247A965B59B   WALTER       WORBIS                       NM     90014867096
7922497765B59B   MARTHA       GRAJEDA                      NM     90014889776
79225954A33698   LITISHA      BARBER                       NC     90014769540
79225A59691586   HECTOR       FUENTES                      TX     90013840596
79226277A3168B   JESSICA      NICKEL                       KS     22012162770
79228667A72B32   ROBERT       WIEDEMAN                     CO     90013596670
79229A19472B32   MARTIN       PLUMLEY                      CO     33084320194
7922B551955939   ALMA         ALVAREZ                      CA     90013045519
7922BA3455B241   STEFAN       SEGER                        KY     68020950345
79231186672B29   REBECCA      STAGGS                       CO     33080071866
7923161A38B163   TINA M       JENKINS                      UT     90009946103
792321A697B477   PAULETTA     BRANDON                      NC     90006781069
7923227378B134   DANIEL       MARTINEZ                     UT     90013372737
7923239AA41237   LINDA        ROSS                         PA     90011323900
792334A2677524   MARCELA      MORALES                      NV     90007304026
7923363595B59B   INGRID       ARCE                         NM     90004826359
79233869172B32   MARIBEL      HERNANDEZ                    CO     90010678691
79233A37441237   AYLANNA      KING                         PA     90010380374
792345A9781633   DAVID        CAMPUZANO                    KS     90014175097
792351A1161967   CAROLE       PELLETIAIRE                  CA     46026541011
7923564A881627   NICHOLAS     FORD                         MO     90005026408
79235A12641237   TANYA        EWING                        PA     90015220126
79235A79371921   VERONICA     HERNANDEZ                    CO     90011970793
792368A1A8B168   OMAR         PERALTA                      UT     90001828010
79237837133B44   LUIS         MORALES                      OH     90015428371
79237A16A31439   ANTHONY      JONES                        MO     90010460160
79238583872B29   LOREN        TRIJJILO                     CO     90011165838
7923881199154B   ALFREDO      ESTRADA                      TX     90011078119
79239751172B29   GERARDO      VASQUEZ                      CO     33079077511
7924222A17B473   JEROME       COGGINS                      NC     90008302201
79242852972B29   VIVIAN       RODRIGUEZ                    CO     33002128529
79242A76251355   MACKENZIE    HORVATH                      OH     90014830762
792436A5241237   MATHEW       RUSSO                        PA     90013316052
79244A48A41237   TARA         POLK                         PA     90003050480
7924555796192B   BRIANNE      GARCIA                       CA     90012065579
79245952A51348   CURT         LIPPHARDT                    OH     90006169520
7924634A941253   KRISTY       STEVENS                      PA     51069243409
792472A395B359   MARIA        ADRIADNA                     OR     90010542039
79247A8A431443   DESMOND      STRAIN                       MO     90011430804
79248A6725B281   NOLBERTO     AGUILAR                      KY     90011700672
79248A86A72B29   BLANCA       BATAZ                        CO     33069460860
7924911333B35B   LESLIE       CHRISTENSEN                  CO     33018461133
7924B282141246   WILLIAM      ABBOTT                       PA     51006152821
7924B67218B142   AGUSTIN      CHAVEZ                       UT     90007196721
79251277A3168B   JESSICA      NICKEL                       KS     22012162770
79251376572B29   ROGELIO      TLAXCALTECO                  CO     90000133765
792515A6371921   KATHERINE    LINDSEY                      CO     90012625063
79251A27981827   GLADYS       GONZALEZ                     WA     90015390279
7925291A141237   DENISE       STIEGEL                      PA     90004839101
79253273872B29   ELI          SHORTT                       CO     90014482738
792534A678B142   LAURA        VALENZUELA                   UT     31009204067
79255382172B29   VERONICA     GUTIERREZ                    CO     33093863821
7925554775B59B   JORGE        CUEVAS-RIOS                  NM     35058815477
7925628867B34B   JUAN         ESPINOZA                     VA     90010472886
7925778549372B   AMY          ANDONOV                      OH     90012257854
792577A9472B44   ELIER        CARRASCO                     CO     33043707094
792581A4777524   HART         STEWART                      NV     90004421047
7925B139641253   CHERYL       WILLIAMS                     PA     90001891396
7925B6A2561967   MARLEE       BLAND                        CA     90012846025
7925B71A18B168   WILSON       MARISSA                      UT     90010597101
7925B963881633   RANDALL      SPIERS                       MO     90008099638
7925B983255939   GUMARO       CASTANEDA                    CA     90010789832
7926122A68B168   SUZAN        MCEWAN                       UT     31092472206
7926129255B59B   DEMETRIO     ANDRADI                      NM     90007412925
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1002 of 2350


7926152A141237   THOMAS         CEPEK                      PA     51023275201
792615A299154B   JOSE           ALONSO                     TX     90006985029
7926239647B477   PRECIOUS       GRIMES                     NC     90010723964
7926256A661967   VILAYPHONE     SOUKPASEUTH                CA     90009625606
7926264245B59B   VINCENT        LEVATO                     NM     90013356424
7926277213168B   RESHAWNA       WILLIAMS                   KS     22089507721
79262A6A981633   MEGHAN         TAYLOR                     MO     29091530609
7926366AA55939   MARIA          HERNANDEZ                  CA     90008486600
7926379238B142   HUMBERTO       ORTIZ                      UT     90013607923
79264499172B32   ANJELICA       PACHECO                    CO     90010784991
7926484143B358   SHARON         MCLAY                      CO     33059498414
79264A35255969   PABLO          GONZALEZ                   CA     90006560352
79264A63A41237   DARLA          HARDY                      PA     90001310630
79264A7A19154B   JOANN          VALENZUELA                 TX     75046190701
79264A8525B59B   SOCORRO        NUNEZ                      NM     35097860852
7926521A25B59B   THOMAS         GRIER                      NM     90014772102
7926567218B142   AGUSTIN        CHAVEZ                     UT     90007196721
79266644272B32   JESUS          SANCHEZ MEZA               CO     90003346442
7926725255B59B   RORY           YAZZIE                     NM     90014332525
7926755A272B32   ZENAIDA        PEDROZA                    CO     33098405502
79267A38661967   SANTOS         ARROYO                     CA     90002220386
79267A63855947   RAMON          BENAVIDES                  CA     90014740638
7926845379154B   ARNOLD         FAUTANU                    TX     75012584537
7926B2A7633698   CLEMENTE       NUNEZ                      NC     90015152076
7926BA66372B32   JAMES          CARMICHAEL                 CO     90014740663
7927154163B358   KATHY          CAVER                      CO     33079615416
79271A2A755939   JUAN           LOPEZ                      CA     90008930207
79271A9235B385   ADRIANA        ORNELAS                    OR     44502260923
7927223A18B142   TIMARIE        BAXTER                     UT     31076232301
79272788A31433   JOHN           WISHOM                     MO     90005617880
79273398A77585   RAYMOND        COLLINS                    NV     90014643980
79273776172B32   SOFIA          RODRIGUEZ                  CO     33040417761
79273898A8B137   ENRIQUE        TAPIA                      UT     31060358980
79273A9215B59B   CHRISTINE      SEPULVEDA                  NM     35043170921
79274A68A61967   ROSA           SANTOS TORRES              CA     90012380680
7927539588B168   AGUSTIN        RUELAS                     UT     90013093958
7927551A377585   ANGEL          IBARRA                     NV     90008415103
7927587368B157   TODD           LAWRENCE                   UT     90014108736
7927648A531482   EVIN ADELSON   HERNANDEZ ROBLES           MO     90013884805
7927737796B995   CELENA         BASTIAN                    NJ     90012973779
79277886972B29   TASHA          ORTEGA                     CO     90014348869
7927895498B142   TOMA           SILVA                      UT     31060129549
7927B683625144   SAMUEL         TURBERVILLE                AL     90011906836
7927BA66255947   RICHARD        BECERRA                    CA     90014740662
7928195498B142   TOMA           SILVA                      UT     31060129549
792822A138B163   RAELYNN        ROSS                       UT     31087212013
7928247795B385   TRAVIS         NELSON                     OR     90014204779
79282798A93739   B              WILLIAMS                   OH     64547787980
792838A4771921   KHENYETTA      FELTON                     CO     90014348047
7928451369154B   SILVIA         URRUTIA                    TX     90010415136
7928475A35B59B   RAYMUNDO       PACHECO                    NM     90013057503
7928492135B385   RAYMOND        NELSON                     OR     90007359213
79285297A7B477   KATANJA        HALL                       NC     90008482970
7928553678B157   NADIR          BANNAGA                    UT     90010115367
7928582475B597   ELIZABETH      CASTILLO                   NM     90011418247
79285AA6A72B29   ELENA          BURCIAGA                   CO     90005950060
7928622416198B   MARSHALL       HINOJOSA                   CA     90006542241
7928628645B245   LINDA          RANSOME                    KY     68086412864
7928657A631443   JORDAN         BRIDGES                    MO     90011125706
7928724275B59B   JOE            ARMIJO                     NM     35031722427
7928754747B477   EBONY          LIVINGSTONE                NC     90012835474
792878A1A3B394   WALTER         CHAMBERLAIN                CO     90012378010
7928811A641253   RICHARD        MARTIN                     PA     51007251106
79288479972B29   ANASTACIO      MARTINEZ                   CO     90012894799
7928928833B325   CHRIS          CLARKE                     CO     90000882883
792899AA455969   LUCERO         GONZALES                   CA     90012519004
7928B182A61967   JIMMY          BURNS                      CA     46093511820
7928B242451355   JOEL           CORTEZ TORRES              OH     90012302424
7928B24485B59B   ANTONIA        ORNELAS                    NM     90009122448
7929168265B59B   BECKY          GARCIA                     NM     90012886826
79294248172B44   DOREN          BARRON                     CO     90010412481
792946A2A41253   ALLEN          ALLEN                      PA     90014016020
7929471438B142   MARIA          RUIZ                       UT     90013097143
7929481428B168   BRANDON        TANNER                     UT     90010608142
7929549744B539   LISA           ELZEY                      OK     90004864974
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1003 of 2350


7929668294B539   ERISHA         JEFFERSON                  OK     90011546829
79298673272B32   BARBRA         HILL                       CO     90015096732
79298779172B29   MAILOR         MENDOZA                    CO     33065457791
79298891772B44   SHELLY         MILLER                     CO     33084638917
79298A6A441237   SONIA          SUMMERS                    PA     51041450604
7929914749373B   MARIE          KENDRICK                   OH     90007791474
792991A7797B34   BRENDA         BARKER                     CO     90013551077
79299588372B44   MICHAEL        BARNHART                   CO     33006085883
7929B2A655B385   JEROME         SPENCER JR                 OR     90012872065
7929B443A51348   JESSICA        DEATHERAE                  OH     90013934430
7929B5A6391588   JOSHUA DEREK   ORTEGA                     TX     90014405063
792B1163255939   YVETTE         MORENO                     CA     90015071632
792B1731655947   ASHLEY         LOPEZ                      CA     90003367316
792B2141141237   JASON          UNICK                      PA     90012051411
792B2422341253   PATRICIA       TOOKS                      PA     51075534223
792B244788B157   ALECIA         ALLRED                     UT     90002834478
792B2865A84322   ISMAEL         BAUTISTA                   SC     14571538650
792B3192772B29   LAUVENCY       JOSEPH                     CO     90013071927
792B346A872B83   BETSY          TORRES                     CO     90010254608
792B454A671921   JOHN           HASS                       CO     90008155406
792B5195171921   BLANCA         PARRA                      CO     90008451951
792B6212A9154B   JUAN           CORRAL                     TX     75077322120
792B669986B995   TONY           STARKS                     NJ     90006256998
792B6716555969   JOANN          ESTRELLA                   CA     48005867165
792B6A2258B163   SHANNA         SCHAKEL                    UT     31094760225
792B7397571921   OMER           GARCIA                     CO     90010763975
792B767515B59B   JUAN           RAMIREZ                    NM     35044046751
792B781628B168   LUIS           CALDERON                   UT     31043508162
792B8398A91588   PETER          VASQUEZ                    TX     75094033980
792B8912155939   ENEDINA        PENA                       CA     90008929121
792B8918361967   JONNIE         TORRES                     CA     90012449183
792B8933A55936   GLORIA         PINA                       CA     90013219330
792B8A6898B134   CHRISTOPHER    POGUE                      UT     90013910689
792B8AA885B385   SHANNON        BALDONI                    OR     90010030088
792B9275781633   CHANEL         CAMPBELL                   MO     90008242757
792B9398691588   CALWIN         LIKIAKSA                   TX     75084673986
792B9428441253   CYNTHIA        JONES                      PA     51021424284
792BB111155969   MELINDA        LAVIOS                     CA     90009411111
792BB3A3161967   JEZREEL        CASTILLO                   CA     90009983031
792BB427981633   MARKETA        THOMAS                     MO     90010774279
792BB488755939   SABY           GALAVIZ                    CA     90001504887
792BB62AA31443   CARNELL        KENDRICK                   MO     90010046200
792BB919184346   MELINDA        CABRERA                    SC     90015169191
792BB93A572B44   TONY           GONZALES                   CO     90010399305
79311439A33698   ROBERT         TAYLOR                     NC     90010804390
79312147772B29   JAY            GARCIA                     CO     33077821477
79312938297B21   SALVADOR       GONZALEZ                   CO     90008479382
7931294465B59B   LUIS           MELGAR                     NM     35093829446
7931334779154B   JESUS          MONSIVAIS                  NM     75061823477
79313926872B32   PAULINA        COOK                       CO     90014119268
7931426348B142   JOSEFINA       MEJIA                      UT     90014902634
7931467735B385   ABRAHAM        CUEVAS                     OR     90014156773
79314A4668B142   JOEL           TODD                       UT     90014880466
7931687A261967   FELICITOS      HERNADEZ                   CA     90010388702
7931694735157B   MISTY          CARICO                     IA     90014629473
7931799277B477   PABLO          OCHO                       NC     90006189927
793179A1A55969   DEBBY          MCCASLAND                  CA     48058219010
7931842442B84B   MICHAEL        MONTGOMERY                 ID     90011624244
79318457A51348   TERESA         DEAN                       OH     90013934570
7931B767841253   TIFFANY        VALENTINE                  PA     90012077678
7932156A22B229   PAUL           KEMELL                     DC     90005975602
79321A21133698   KAREN          MILLER                     NC     90014780211
79321A93A91588   ANDREA         CRUZ                       TX     75014840930
7932214595B385   JACK           WAGNER                     OR     90015211459
7932256A18B142   DENISE         FERGUSON                   UT     90006265601
79322A36733698   LATOYA         FOWLER                     NC     90014780367
793237A5455939   MARIA          VARGAS                     CA     48034977054
79324462476B71   ALBERTO        COBIAN                     CA     90005994624
79325352A41227   RENEE          DORSEY                     PA     90009463520
79325417372B29   JACOB          KESLER                     CO     90010954173
79325462476B71   ALBERTO        COBIAN                     CA     90005994624
7932561425B385   CHRISTIAN      WERT                       OR     44590056142
7932588168B134   CHARITY        PARKER                     UT     90014628816
79326424572B44   NANCY          GONZALES                   CO     33096194245
79327A86691588   JOHNNY A       TREJO                      TX     75049900866
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1004 of 2350


7932836875B245   TIFFANY      HOLDER                       KY     90009673687
7932866879154B   ARELIY       BLANCA                       TX     90002536687
793289A4A8B163   NOSHAH       ALI                          UT     31013349040
79328A14A5B59B   MARTIN       SIERRA                       NM     35055410140
79328A5685B385   ANA          ESTRADA                      OR     90011140568
7932913579154B   JESUS        TORRES                       TX     75045321357
7932993A972B32   SANTOS       ORTIZ                        CO     33056929309
79329A4628B142   DAVID        ESTRADA                      UT     90014310462
7932B194451348   JUANISHA     GIBSON                       OH     90002771944
7932B654141227   MARTIN       BELVA                        PA     90006946541
79331A11A53B23   CIRO         GUTIERREZ                    CA     90009100110
79331A4628B142   DAVID        ESTRADA                      UT     90014310462
79333239A72B29   STACIE       BARLOW                       CO     90012022390
793333A7155947   ISAAC        LOPEZ                        CA     90012353071
7933358A98B163   DEMETRIO     MARTINEZ                     UT     31052935809
79333A1617B477   BELLE        BENTON                       NC     90011620161
79334192A55969   TIANA        HODGES                       CA     90014431920
79334A21861967   MARILYN      PEREZ                        CA     46017810218
7933537495B938   JUAN         MIJIA                        WA     90015443749
79335392172B58   SHARON       MCELYA                       CO     90014413921
79335829A55947   ROCIO        MARRUFO                      CA     49035918290
79336A3418B874   JOSE         MEJIA                        HI     90015320341
79337124A81633   JOSE         MENJIVAR                     MO     29086871240
7933733438B134   JOSE         GARCIA                       UT     90002533343
7933786118B168   SHANDA       DISTEFANO                    UT     31056398611
7933895A961967   SILVIA       ARMENTA                      CA     90012749509
7933B54297B477   JACQUETA     CROWDER                      NC     90010805429
7933B87955B385   OSCAR        HERNANDEZ                    OR     90012878795
7933B983A9154B   MARIA        TORRES                       TX     75060539830
7934149467B477   VIVIAN       WALKER                       NC     90013534946
7934149A75B59B   WOODY        HARWELL                      NM     90012964907
79341717A8B134   JEANETTE     GILES                        UT     31091597170
79342241A72B32   ADRIAN       VALDIVIAN                    CO     33048492410
7934321A68B134   JUAN         CASAREZ                      UT     90011352106
7934328648B157   DAVID        IRVINE                       UT     90008722864
79343864872B32   JONATHAN     RAMIREZ                      CO     33024078648
79343966172B44   ALFONSO      NUNEZ                        CO     33036319661
7934422947B477   JENNIFER     GREEN                        NC     90013872294
793453A942B994   ANTHONY      TORRES                       CA     90006543094
7934578788B157   ERIC         HANSEN                       UT     31012937878
7934624A172B44   ISABEL       MEJIA                        CO     90001432401
793462A5631432   ROCHELLE     BLACK                        MO     27531012056
793463A9951348   FLORENCE     DAVIS                        OH     90012053099
7934678935B59B   KATHERINE    MARQUEZ                      NM     35007607893
79347336A61975   EDILBERTO    RAMIREZ                      CA     90001043360
7934748212B256   CARMILLE     BILLARD-TIBBS                DC     90005174821
79348251572B29   NADIA        RUIZ                         CO     90015012515
79348746A41253   GARY         LAMBRIA                      PA     90014137460
79348A1A59154B   YADIRA       GALINDO                      TX     75047270105
7934921A481633   ROY          GIBSON                       MO     90015442104
79349A61772B32   BRIDGE E     POTTER                       CO     90011200617
7934B591A8B163   HAYDEN       LOSSER                       UT     90008605910
7934B61423168B   LUCAS        THOMPSON                     KS     90006726142
7934B957891524   JAVIER       ROBLES                       TX     75047479578
7934BA2A891588   FRANCISCO    GARCIA                       TX     75012090208
79351121A5B385   ERIK         MCCANNA                      OR     44597181210
7935176645B354   HECTOR       CUPA MORENO                  OR     90010207664
7935182A28B134   SYLVIA       HARROWER                     UT     90011008202
7935297123B358   JOSE         EOPOLDO TERRAZAS             CO     90011859712
7935319A941237   DEAN         FLOWERS                      PA     51013721909
7935369618B142   ANDREW       SMITH                        UT     31092366961
7935436A633698   ELLIOTT      DARDEN                       NC     90014783606
79355486172B29   VALERIE      SKIBA                        CO     90008684861
7935569225B385   ERIC         SCOGGAN                      OR     44573446922
7935645128B163   JACOB        RIDDLE                       UT     90012794512
79357A1465B385   ARDIE        COX                          OR     90014210146
79357AA7133698   TANIA        WRIGHT                       NC     90014790071
7935886158B157   TESSYA       LUND                         UT     31044038615
7935896115B385   DIEGO        CRUZ ALCANTARA               OR     44592739611
79359218A4B263   SHANNON      STELLA                       NE     90010592180
7936164955139B   JAVIER       RUBIO                        OH     66005576495
7936196945B385   SHEENA       SOSA                         OR     90015149694
793639A6341237   TAWANNA      JAMES                        PA     90013719063
7936485A56195B   KIMBERLY     DAMBROSIA                    CA     90005408505
7936494165B374   CHRIS        DENNIS                       OR     90001899416
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1005 of 2350


79364A7598B142   VERONICA     VAZQUEZ                      UT     90014880759
79365692172B29   ANGELICA     SONORA                       CO     33057776921
79366128272B29   ISHANTA      TOLBERT                      CO     90014231282
79366323872B32   SANTOS       GONZALES-QUIJAS              CO     33020043238
7936644495B385   LUIS         BUSTOS-DOMINGUEZ             OR     90008834449
7936757974B265   DAPRISHA     LOTT                         NE     90014655797
79367712972B44   REBEKAH      OH                           CO     33074657129
793684A593B387   KIMBERLY     PEABODY                      CO     33002284059
79368845172B32   PRISILA      MORALES                      CO     90001868451
7936915A133698   JOSE         OJEDA                        NC     90003751501
793692A895B28B   JESUS        PELICO                       KY     68050882089
7936B23A191588   LEEROY       LAROSE                       TX     75029302301
7936B38765B326   KEN LEI      OTA                          OR     90011013876
7936B84A972B32   ELFIDIO      SOTELO                       CO     33030958409
7936BA17433698   LAMETRICE    COUSAR                       NC     90014790174
79371354653B23   ALVARO       GONZALEZ                     CA     90011963546
79371A36972B29   ERIK         DEORANTES                    CO     90014970369
7937286793168B   BOB          GREEN                        KS     22005168679
7937319815B327   MARGARITA    GARCIA                       OR     90011941981
7937378238B157   JOSE         BELLO                        UT     31048857823
79373A3245B59B   EHVEDYAH     YISRAEL                      NM     90003450324
79373A4A355947   JAMES        BRUNE                        CA     90013000403
7937417548B157   JOHN         RAY                          UT     31013921754
79374217572B44   MARY         CHAVEZ                       CO     90008432175
7937476AA61922   CARLOS       HERNANDEZ                    CA     90011877600
7937483523363B   ALFREDO      GOMEZ                        NC     90014098352
7937494845B59B   JEFFEREY     KLINGBEIL                    NM     35044289484
79375582172B29   VARERIE      HERRERA                      CO     33021835821
79375777797B56   ATHENA       MARRUJO                      CO     90012627777
7937613578B157   VALERIE      SIMONSEN                     UT     31057181357
7937627648B134   KARINA       LUNA                         UT     90011502764
79376329A55947   JESSE        VALENZUELA                   CA     90012583290
7937689455B385   NORMA        MARTINEZ                     OR     90006578945
7937713165B597   BENITO       VIGIL                        NM     90014901316
79377383272B85   SERGIO       DELGADO                      CO     90002823832
7937783349154B   EILEEN       RUIZ                         TX     90011078334
7937826728B142   WAIHANA      ELTON                        UT     90004072672
7937926728B142   WAIHANA      ELTON                        UT     90004072672
7937B4A1672B44   SONIA        ALCORTA                      CO     33059524016
7937B673861967   ESMERALDA    IBARRA                       CA     90006736738
79381416972B44   NICHOLE      HOUR                         CO     33032974169
79381A42155969   MIKE         GONZALES                     CA     48089740421
7938226388B142   MARCY        RYDER                        UT     90013822638
7938296A355969   MARIA        HERNANDEZ                    CA     48074379603
7938323275B59B   ROBERT       PRESSNALL                    NM     90007932327
7938333429154B   ROSA         SALINAS                      TX     75077663342
793837A6672B44   MANUELA      GARCIA                       CO     90009287066
7938383117B477   ANA          DE PLANA                     NC     11095938311
79383A73491588   ELENA        SANTALLANES                  TX     90008590734
7938469555B59B   ALEXSANDRA   MONTOYA                      NM     90006976955
7938489A655969   PATRICIA     MOSS                         CA     48008858906
79384A47561967   RAY          DYER                         CA     90012160475
7938566649154B   JORGE        MORALES                      TX     75028546664
7938566659154B   VANESSA      MOLINA                       TX     75071386665
79385A24133698   JOHN         HUNTER                       NC     90014790241
79385A94377524   CASCIE       HENDERSON                    NV     90000530943
793869A8991588   ESTEBAN      COPADO                       TX     90013249089
7938717A15B59B   ERICK        LANEY                        NM     90011221701
7938751285B59B   TERESITA     QUINTANA                     NM     35069975128
7938841A533698   ANGELA       THORPE                       NC     90013864105
79388A53A72B29   KENTA        MCGAWGHY                     CO     33042400530
7938918985B385   AMANDA       FLOREA                       OR     90012431898
793895AA68B142   ANDRES       CORDOBA                      UT     90010225006
7938B361691578   ESDENIA      ARZATE                       TX     90005873616
7938B42769374B   STAYCY       FISSEL                       OH     90009654276
7938B45A77B477   ELIZABETH    MELGAR                       NC     90008884507
7938B638A81633   MAURICIO     PEREZ                        MO     90009546380
7938B75118B142   MARIA        LOPEZ                        UT     31054397511
7938B829831432   ANGELA       JONES                        MO     90001058298
7938BAA4633698   TALISHA      RAY                          NC     90014050046
793915AA68B142   ANDRES       CORDOBA                      UT     90010225006
79391A5A933698   MERANDA      WALTLINGTON                  NC     90014790509
7939232A15B385   MARIA        GOMEZ                        OR     44587403201
7939235527B477   BLAKE        GREENE                       NC     90014313552
79392A97841246   GEORGE       PERRIS                       PA     51091140978
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1006 of 2350


7939375148B142   MARIA        CLAUSON                      UT     90011077514
7939424328B168   JULIE        SIZEMORE                     UT     90001992432
79394426A81633   MARIA        TORRES                       MO     29075014260
793947A4A2B895   ROGER        GAMBINO                      ID     90015217040
7939539A471921   REQUEL       DURAN                        CO     32018913904
79396437A91392   ALMA         CALDERA                      KS     29065834370
7939646A231433   ZANNIA       MCDANIEL                     MO     27549764602
79396955A81633   LANEATTA     LEWIS                        MO     29002229550
7939775588B134   JAIME        GREGORIO                     UT     90012097558
793992A793B35B   INA          WEBB                         CO     90014122079
7939956825B59B   BEVERLY      PIRO                         NM     90004455682
793997A798B168   JAMIE        SPRING                       UT     31077597079
79399878A5B385   MICHAEL      FULLER                       OR     90013628780
79399A57A31432   MICHAEL      MADDALONE                    MO     27583290570
7939B29A78B134   CHRISANDRA   JENSEN                       UT     90014442907
7939B311955969   GABRIEL      GONZALEZ                     CA     90010013119
7939BA95641253   NICOLE       ROMERO                       PA     51031600956
793B2A73851348   ERICA        SANKS                        OH     90005180738
793B3291555997   TOM          ALLRAD                       CA     90009792915
793B393A971921   JAMES        PERKINS                      CO     90012559309
793B415175B385   RHONDA       POPE                         OR     44543261517
793B41A7855939   GUSTAVO      VASQUEZ                      CA     90013861078
793B4425455941   RUBISELA     HINOJOS                      CA     90008844254
793B4661131433   SCOTT        GISH                         MO     27509176611
793B4989455947   FRANCISCO    CONDO                        CA     90008729894
793B5275472B32   JORGE        ROQUE                        CO     90012332754
793B528915597B   DEBBIE       BORGES                       CA     90008982891
793B542739154B   PATRICIA     ZAMORA                       TX     90013744273
793B5A42955969   SARA         AVILA                        CA     48037610429
793B615838B168   RAMIREZ      OSCAR                        UT     31021011583
793B658634B548   KRISTIE      ONWONA                       OK     90011055863
793B65A717B477   CANDICE      BIVENS                       NC     90013315071
793B6656233698   DAUNE        GIST                         NC     12005536562
793B6A7A341273   ANTHONY      HOPPE JR                     PA     90013300703
793B736218B142   BOBBIE       STALEY                       UT     31037733621
793B785257B477   JOSEPH       LITTLE                       NC     90013998525
793B78A747B477   CARMEN       LITTLE                       NC     90014548074
793B9635261967   ERIC         HERNANDEZ                    CA     90011776352
793B968117B477   MELISSA      BULLARD                      NC     11049726811
793B9A87391588   CRISTINA     OCHOA                        TX     90011930873
793BB8AA95B591   GREG         DUNLAP                       NM     90007488009
793BB9A3141246   ROBERT       FACCENDA                     PA     51008229031
793BBAA918B142   JUANA        CRUZ                         UT     90014880091
79411467A41246   MICHELLE     CHRISTNER                    PA     51034554670
794118AA893739   SUSAN        HEGGAN                       OH     64566258008
7941289748B168   BRIAN        MOULTON                      UT     90005818974
7941373378B163   KYLE         STEVENS                      UT     31054057337
79415A9985B385   LORENA       CHAVEZ                       OR     44507240998
7941654248B142   CLAUDIA      GOSAIN                       UT     31084005424
794166A5655947   ARGENTINA    CUETO                        CA     90011666056
794177A5431458   RATTLER      ROXANNE                      MO     90001357054
79417991A31443   STORMY       RAMSEY                       MO     27518159910
794179AA141253   LATANYA      ODOM                         PA     51006049001
7941851775B59B   JULIO        CENICEROS                    NM     90010435177
79419658A8B163   ANDREW       WARNER                       UT     31013896580
79419669372B32   DANIEL       WILLIAMS                     CO     90015206693
794197A2955947   GURVIR       SODI                         CA     90006477029
7941B85419154B   ANA          GUTIERREZ                    TX     90011078541
7941B99A172B32   ROSARIO      JUAREZ                       CO     33095729901
794211A7455939   SARAY        CORNEJO                      CA     90007401074
794219A6271921   SUNQUITA     DAVIS                        CO     90012799062
79421A8399154B   ELIZABETH    BARRAZA                      TX     75043550839
794226A515B59B   GAYLE        TORRES                       NM     35012076051
79422A14A31432   MARTINAZE    INGRAM                       MO     27583700140
79422A1A941237   NATALIE      HUTCHINSEN                   PA     90002290109
7942324798B134   OMAR         AL NOMAN                     UT     90013272479
794236A3551348   JENNIFER     MAPP                         OH     66052476035
7942377658B168   MARIANA      KARREN                       UT     90014457765
794248A3355969   PAMELA       MENDENHALL                   CA     90002968033
7942497A281633   LAURA        BIRKES                       MO     90006349702
7942547488B17B   PAUL         LEFEVRE                      UT     90013864748
79425513872B29   SIMON        MUSOKE                       CO     33012705138
7942561A155947   EMA          CONTRERAS                    CA     49091776101
79425A94287B89   SHARON       BRITT                        AR     28043890942
794261AA991531   MELISSA      AVITIA                       TX     90013021009
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1007 of 2350


794266AA355969   LILLIE               REED                  CA    90012916003
7942829A48B134   BRANDON              ANDERSON              UT    90011502904
794283A338B168   JAKE                 HUNTER                UT    31015623033
79429172A55947   JESSICA              HESSMAN               CA    49076711720
7942924518B134   BAHAEDDINE MAHAMAD   MANSOUR               UT    90009702451
7942994135B385   SCOTT                LENABERG              OR    90010499413
7942995A541253   JOHNNY               MULLEN                PA    90010879505
7942B42828B134   JENNIFER             BECKSTRAND            UT    90011654282
7942B93695B385   SOLOMON              BECERRA               OR    90014659369
7943223438B168   TREVA                VAILE                 UT    90000252343
7943321A65B385   JANET                TAYLOR                OR    90013032106
79433A1A961967   ALEXUS               TORRES                CA    90008140109
79434882972B29   MAUREEN              DAUGHERTY             CO    90015118829
794359A225B59B   MARCUS               ZUBIA                 NM    90008449022
794365A477B477   JASMINE              RIVERA                NC    90010465047
7943674A372B32   FAISAL               DIRMANYAH             CO    90013787403
794372A978B134   JARED                KRAUS                 UT    90014512097
7943738698B157   JOHN                 DUMAS                 UT    90008633869
7943791615B59B   LESLIE               CRATTY                NM    90002109161
794392A618B134   THIRAVIYARAJAH       SINGARAJAH            UT    90010062061
79439A71671921   MAYTA                PORTER                CO    90014800716
7943B438371921   HOLLY O              VAILPANDO             CO    90014934383
7943BA37472B29   ERWIN                GONZALEZ              CO    90013930374
794412A925B59B   VALERIE              GOMEZ                 NM    90011222092
79441398172B32   NADIA                CERVANTES             CO    33008663981
7944213498B134   NORMA                GONZALEZ              UT    31084241349
7944222A241253   WILLIAM              SMITH                 PA    51039082202
79442634A93739   LAURA                GREGORY               OH    90011066340
7944292828B134   KAREN                VARGAS                UT    90010579282
7944447787B477   JAMES                LUCKEY                NC    90001244778
79444827672B44   JUAN                 DUQUE LEYUA           CO    90006318276
7944525984B594   LETISHA              WASHINGTON            OK    90014042598
7944557595B59B   APOSTOLIC            ASSEMBLY              NM    90011895759
7944587A761967   GARCIA               INES                  CA    90001408707
794468A8371955   LINDA                BILLUPS               CO    90012438083
7944748115B59B   VALERIE              GOMEZ                 NM    90012454811
79447888772B42   TETE                 TEAGBO                CO    33085008887
7944828368B168   RONICA               SIDWELL               UT    31059962836
79448451A8B163   JOHN                 TRUJILLO              UT    90006374510
79448988372B32   RENEE                CRUZ                  CO    33044549883
7944982877B477   LOUIS                MADISSON              NC    90011198287
79449845A71921   MARY                 JONES                 CO    90014008450
7944B16937B47B   ALEX                 SYLVIA                NC    90005171693
7944B727241237   PHILIP               MEYER                 PA    51007777272
79451241672B29   HARVEY               GUERRA                CO    90006822416
79451AA9991588   PEDRO                ROMERO                TX    90013660099
7945291558B186   SONJA                MORAN                 UT    90014699155
7945371898B142   PATRICK              RICHARDSON            UT    31070267189
79453763A41246   DOMINIQUE A          REED                  PA    90002147630
7945387475B59B   STEPH                PAZ                   NM    35060048747
79453A67491588   FRANK                TONCHE                TX    90014560674
7945417518B163   MISTY                SLADE                 UT    90008791751
7945547A161975   WILLIAM              ALONE                 CA    46088974701
7945694528B122   VERNEY               QUIROZ                UT    90008469452
79457117A91588   MONICA               MARTINEZ              TX    90013711170
7945826348B142   STACY                WILSON                UT    31090402634
79458357572B93   ADRIAN               NEVAREZ               CO    90000223575
79458725A31443   BONITA               HOWARD                MO    27594787250
7945879A591588   VERONICA             VALADEZ               TX    90010287905
79458A8525B59B   SOCORRO              NUNEZ                 NM    35097860852
7945963888B134   PIA                  MARTINEZ              UT    90008746388
7945981327B477   DANIEL               CARREON               NC    11018168132
7945991282B994   MATTHEW              MANN                  CA    45090189128
7945B311A77599   VICENTE              DE LA CRUZ- BECERRA   NV    90013613110
7945B419261967   ROSALBA              SALINAS               CA    90001344192
794617A6761967   MIGUEL A             ACOSTA                CA    90014827067
79461896A55969   NOE                  CASTRO                CA    90014838960
794627A758B142   JOSE                 RUELAS                UT    90006357075
7946287A855947   ANDRES               CAMARENA              CA    90012858708
7946385A271921   CHRIS                PERKINS               CO    90014008502
7946442297B477   MISTY                ANTHONY               NC    90013984229
7946466A591588   JOSE                 ESPELETA              TX    75001456605
79464A6828B168   MARY                 VANCE                 UT    31078100682
7946541AA8B142   MARIA                PIZANO                UT    90014904100
794659A2155939   CLAUDIA              RAMIREZ               CA    48000779021
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1008 of 2350


794667A325B59B   VICTORIA     OTERO                        NM     90015097032
79466A12641237   TANYA        EWING                        PA     90015220126
79466AA2755969   ALLAN        DUHAYLONSOD                  CA     90014820027
79467154872B32   SANDRA       CLEMONS                      CO     33068321548
794677A919154B   BLANCA       CASTILLO                     TX     75038907091
7946B17898B163   ALLISON      BIRCH                        UT     31035091789
7946B42842B994   SHARLOETT    GOMEZ                        CA     90006294284
7946B616355939   MAYRA        VASQUEZ                      CA     90012426163
7946B711641246   JUDY         OSTRONIC                     PA     90001067116
79471135472B32   JEREMY       JURADO                       CO     33023361354
7947384945B385   SARAH        THOMPSON                     OR     90008868494
79473A41251355   GILBERT      DERRISOJR                    OH     90008830412
7947457A56B166   DANIEL       GODEREZ                      MS     90015445705
79474757A51348   NICK         BLAKE                        OH     90011977570
7947553925B385   DESTINY      CASON                        OR     90013965392
7947799938B142   MERIDA       GUILLEN                      UT     31001289993
7947899997B477   TAMIKA       SMYTHE                       NC     90014609999
7947911385B385   JOHNNIE      JACKSON                      OR     44529311138
79479272172B32   VANDEL       THRASHER                     CO     33042442721
7947985A172B29   VIANEY       CORTEZ GOMEZ                 CO     33097028501
794798A5455969   THOMAS       RODRIGUEZ                    CA     90013358054
79479A5A68B134   MOHAMMAD     KABA                         UT     90011610506
7947B21598B855   TANYA        WONG                         HI     90014752159
7947B227572B32   ROBERT       WOOD                         CO     33039492275
7947B2A8455969   LUCIO        MARTINEZ                     CA     90000252084
7947B317A72B44   ILDA         FERNANDEZ                    CO     90004483170
7947B31958B157   DANIELLE     MECHAM                       UT     31074353195
7947B85449154B   JOE          SILVA                        TX     90009998544
7947BA62833B3B   JONTAE       JORDAN                       OH     90014270628
79481161A55947   ROXANNE      PINEADA                      CA     90012431610
7948131A141237   MARGARET     HART                         PA     51096933101
79481A1268B142   JACKI        HANSEN                       UT     31005410126
794843A3455939   RAYMOND      MARTINEZ                     CA     90011473034
7948441688B134   MIKE         PELLEU                       UT     31000894168
7948442678B142   ACO          ALVARO                       UT     90005154267
7948497793B358   JUAN         AVILA                        CO     90004589779
79484AA7A55939   MIGUEL       RODRIGUEZ                    CA     48066270070
79485236272B32   MIGUEL       MONTENEGRO                   CO     90014052362
79485814972B29   VICTOR       ALDRETE                      CO     33070698149
79485A1968B134   FAUSTINO     MENDOZA                      UT     31068310196
7948638994B531   ASHLEY       HOWARD                       OK     90012453899
7948653175B59B   AMBER        GROSSETETE                   NM     90012665317
7948666A371921   ART          DRESSING                     CO     90013056603
7948679447B477   HECTOR       GUARDADO                     NC     90010177944
79487884A51348   RAFAEL       ZAMORA                       OH     90014798840
7948834498B157   JULIO        ORTEGA                       UT     31044153449
7948841258B168   NICHOLAS     TERRY                        UT     90011844125
7948844417B477   MICHAEL      BROWN                        NC     11058664441
79489A7188B134   SASA         HAMILTON                     UT     90009170718
7948B2A1355939   PATRICIA     GONZALEZ                     CA     90013642013
7948B546851355   JULIAN       BRYANT                       OH     90010745468
7948B88163146B   TAMMY        HUNT                         MO     90015178816
79491716672B29   TERESA       LUCAS                        CO     33094087166
79491A1438B163   MARK         PIKOSZ                       UT     31020050143
7949266A49154B   SANDRA       VELEZ                        TX     75077746604
7949294469184B   ALECIA       GAINES                       OK     90001289446
79492A32961967   ABRAHAM      GARCIA                       CA     90009710329
7949457865B59B   LEONOR       LUCERO                       NM     90014835786
7949513248B135   AMIRA        CORREA                       UT     90011491324
7949515715B385   FELISA       CEJA                         OR     44537211571
79496983172B32   MARCELO      OCTAVO                       CO     33076189831
794979A462B994   ALICIA       LEAGUE                       CA     45080229046
79498131A81651   KEVIN        COOKSEY                      MO     29009391310
7949816A191588   ALEX         PADILLA                      TX     90005081601
794987A618B168   ANGELES      SANCHEZ                      UT     31010747061
7949933A333698   BRIAN        MITCHELL                     NC     90014803303
79499795A8B157   FRANK        CHAVEZ                       UT     31031917950
7949B19A472B32   LEROY        CHAVEZ                       CO     33088641904
7949B3A8A8B134   ALISON       LADNIER                      UT     90011503080
7949B55118B134   AMANDA       HATFIELD                     UT     90013535511
7949B68465B59B   WILLIAM      SCANTLIN                     NM     90011576846
7949B895972B44   CARLOS       GUSTAMANTE                   CO     90003528959
7949BA53761967   APRIL        HETH                         CA     90009080537
794B174AA2B994   MONICA       AVALOS                       CA     45008067400
794B2118855947   SUSAN        HERNANDEZ                    CA     90006341188
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1009 of 2350


794B2118A33698   JALEESA        COLE                       NC     90014791180
794B23AA68B168   DAVID          DORANTES                   UT     90009133006
794B2A8518B163   JORDAN         MINER                      UT     31033610851
794B339A151355   JOEL           ALLENWORTH                 OH     66058753901
794B3695541246   MATH           RID                        PA     90002046955
794B3824941253   MORRIS         JORDAN                     PA     51076648249
794B3921772B32   BRIAN S        HALLADA                    CO     90012179217
794B3964191588   JOSE           OGAZ                       TX     75094219641
794B449179154B   PERLA          TORRES                     TX     90008454917
794B465498B163   ROSA           SALAZAR                    UT     31062386549
794B529328B134   UELESE         APELU                      UT     90014442932
794B5614172B29   STEPHEN        MOSELEY                    CO     33084196141
794B5747841237   SHELBY         JONES                      PA     90011927478
794B631417B477   BRUCE          GARMON JR                  NC     90009913141
794B632318B163   HECTOR         CORTEZ                     UT     31051103231
794B653918B134   CASSIDY        BEST                       UT     90010475391
794B7141733698   DEMIEN         SUTTON                     NC     90014791417
794B715258B142   ALEJANDRA      VIEIRA                     UT     31084311525
794B7777872B32   FRANCISCO      AGUILAR                    CO     33079687778
794B7979593741   JARED          STOUT                      OH     90001439795
794B7A6985B59B   CHRIS          HIRANI                     NM     90009160698
794B84A3177524   MIGUEL         ATREAGA                    NV     90005524031
794B8533871921   MARIO          GERONIMO                   CO     32016195338
794B8549951347   MARLON         STYLES                     OH     90013355499
794B876114B27B   RITHA          MORO                       NE     90009107611
794B87A2593739   DURR           BOBBY                      OH     64540247025
794B912748B142   CODY           PARKER                     UT     90014911274
794B9312655939   OSIEL          LAYUN                      CA     90012593126
794B934958B134   RACHEL         FOX-MCINTOSH               UT     31065733495
794B9A86572B29   DENNIS         PALMER                     CO     90012700865
794B9A9638B142   DAVID          WILLIAMS                   UT     90014890963
794BB426991588   ELIZABETH      VERA                       TX     90011304269
794BB56758B874   MELANIE        TAMAKI                     HI     90013965675
794BB614355969   CHRISTINA      VALDEZ                     CA     90013946143
794BB622951355   JAMES          SULLIVAN                   OH     90008936229
794BBA3A34128B   TAMARA         GRIFFIN                    PA     90001380303
7951218438B134   PECK           CHARMAINE L                UT     90009381843
7951325618B142   BECKY          YOUNG                      UT     90014912561
7951336857B398   GERMAN         AREAS                      VA     90000773685
7951343548B142   SANDR          RODRIGUEZ                  UT     90010994354
7951425618B142   BECKY          YOUNG                      UT     90014912561
79514495372B32   ROSARIO        PEREZ                      CO     90013104953
795144A9751355   OLGER          MENDOZA                    OH     90010794097
7951453795B596   ELOY           JACQUEZ                    NM     90007645379
795146A965B385   MARIA          FLOREZ                     OR     90013476096
79515558672B32   CASSANDRA      BELTRAN                    CO     90012085586
7951647717B477   HOMERO         BENITEZ                    NC     11035004771
7951655715B59B   NORA           NEVAREZ                    NM     35064135571
795171A6963662   NATHANIEL      LENORD                     MO     90008231069
7951748655B265   JOSE           FRANDIN                    KY     90013594865
79518739372B32   CLAUDIA        GASTELUM                   CO     90012827393
7951887165B59B   NICOLE         JOHNSON                    NM     90013268716
79518A63855969   JASMINE        GARCIA                     CA     48015370638
79519258A55939   CELIA          JIMENEZ                    CA     90010802580
795199A8533698   JEFFREY        ANU                        NC     12068899085
79519A66741253   JESSE          MILANAK                    PA     51061850667
7951B677672B42   AYMAN          KHALEFA                    CO     33061276776
7951B823372B32   LUCY           VASQUEZ                    CO     33042178233
7951BA58191959   CHINITA        PARKER                     NC     90009490581
7951BA9A941237   LISA           NEGRON                     PA     51080680909
79521594672B29   AUSTREBERTHA   GONZALEZ AVILA             CO     90007605946
79521A48131443   MARIA          BOLDEN                     MO     27547670481
7952217785B59B   ESTHER         TOLEDO                     NM     35036641778
7952218A461967   CARMEN         OSTORGA                    CA     90008251804
79522938A8B142   ASHLEY         LOSEE                      UT     90014919380
79523562172B29   JUDITH         HERNANDEZ                  CO     33067895621
7952377785B385   ESTEBAN        AGUIRRE                    OR     90013317778
79524A19381633   RODRIGO        HUERTA                     KS     90014980193
7952571278B134   TIFFANY        HEFFERNON                  UT     90012667127
79525831372B32   WILLIAM        NELSON                     CO     90004538313
7952635A831432   SHALONDA       PETTIGREW                  MO     90006333508
7952657555B59B   ANDRES         LIRA                       NM     35037525755
7952696165B385   JENNY          RILEY                      OR     90013379616
7952819357B49B   ANTONIO        HOLLIS                     NC     90002771935
7952899997B477   TAMIKA         SMYTHE                     NC     90014609999
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1010 of 2350


79529586A51355   WOLLETTA      BENT                        OH     66029715860
7952B16272B994   SERGIO        BECORRA                     CA     45089481627
7952B449755947   BENNY         ORNELAS                     CA     90014644497
7953215275B59B   APRIL         HERRERA                     NM     90011961527
79532381A41237   JOSHUA        GOODWIN                     PA     90008303810
7953288768B142   ADAN          SOTO                        UT     90013848876
7953383228B142   BOBBIE        BANKS                       UT     31087678322
79533A56781679   ANTHONY       GONZALEZ                    MO     29007950567
79533AA2955981   JUAN          SALAZAR                     CA     90013950029
7953415349154B   KRISTINA      IBANEZ                      TX     90007901534
7953454695B385   TERRELL       TUEL                        OR     90014435469
79535424572B32   LEANN         NAJERA                      CO     90010934245
7953554A491588   MANNY         ALVAREZ                     TX     75043495404
79535663472B32   PRISCILLA     BARROS                      CO     90011876634
7953571555B59B   BROOKE        MARTINEZ                    NM     90014467155
79535A6377B477   SHAVON        THOMPSON                    NC     90009310637
7953672AA51355   FREDDIE       ROBINSON                    OH     90006257200
7953793925B385   CINNAMON      SLATER                      OR     90011279392
79538A94841253   GARRETT       FLOTTA                      PA     90011630948
79538A9553168B   DAVID         ROETS                       KS     22062740955
79539175272B44   KAILI         BUNN                        CO     90010091752
79539438A91588   RUDY          BERTOLLI                    TX     90012424380
79539A22555939   MARLINA       MARTINEZ                    CA     90012560225
7953B57735B59B   MONIQUE       APODACA                     NM     90006025773
7953B637381633   DONNA         ELLIS                       MO     90011076373
7953B932972B29   YOLANDA       DEENWEED                    CO     90011069329
7953B951351355   ROBERT        HAMPTON                     OH     90009529513
795415A5333698   HAYWARD       PEAK                        NC     12014375053
79541A52541237   JAMES         PURVIS                      PA     51054190525
7954438919154B   KRYSTAL       VASQUEZ                     TX     75012143891
7954438967B477   JOSE          MAJIN                       NC     90014813896
79544817433B34   CANDELROTIA   PEREZ-MENDOZA               OH     90014418174
79544A94155939   JOSE          GUTIERREZ                   CA     90015020941
79544AA9672B29   AUGUSTION     DOMINGUEZ                   CO     90013410096
7954523A451348   SALLY         PARTIN                      OH     90004082304
7954572293168B   JOHN          TROTTER                     KS     22077717229
7954618595B385   CODY          BOULET                      OR     90014971859
795462A3755947   ELISEO        LOZA                        CA     90007742037
79546356A61967   GONZALO       ORTIZ                       CA     90013913560
79546639172B29   HOWARD        CATES                       CO     33074046391
7954677418B163   TAMEISA       NICOLE                      UT     90006157741
79546852272B44   WILLIE        LONG                        CO     90002448522
79547283872B29   GABRIELA      QUINTERO                    CO     90013442838
795475A315B59B   LIZ           ARANDA                      NM     35068235031
7954917A731443   CELESTE       GARCIA                      MO     90008801707
7954951843363B   BALFRE        NOYOLA                      NC     90013755184
7954B223955969   LILIANA       OSORIO                      CA     90012522239
7954B531955939   NELLIE        TORRES                      CA     90013235319
7954B58245B385   JESSIE        MARTIN                      OR     90008365824
79551161672B29   JOSIAH        BERRY                       CO     90007271616
79552926672B29   PATRICK       JUDISH                      CO     90012619266
7955349568B855   DAYLEEN       SILLEM                      HI     90014034956
79553616972B32   JACQUELYN     LAWRENCE                    CO     33035786169
7955389328B134   MICHELLE      CONNELLEY                   UT     31088448932
7955466A655969   JUAN          CALDERON                    CA     48032926606
795551A9851348   ROBERT        MARTIN II                   OH     66090071098
7955657719154B   RAYMUNDO      AGUIRRE                     TX     75067655771
7955669A272B29   SARAH         KIMBLE                      CO     90014676902
79556A3425B59B   WILLITO       OROSCO                      NM     90011030342
79557A4925B59B   REYNALDO      MACIAS                      NM     90013470492
79558111672B44   RUTH          AGBO                        CO     33020581116
7955872A68B142   MIGUEL        CRUZ                        UT     90000917206
7955878372B994   LONNIE        WEEKS                       CA     90001417837
7955949948B163   JULIAN        MOTA                        UT     90001594994
7955973558B142   CINTHIA       ACENDANO                    UT     90015127355
795597A5841246   ERIC          SAROKON                     PA     51001847058
79559A31586B41   MICHELLE      KATZ                        CT     90009050315
7955B522191588   YVETTE        DIMAS                       TX     90011885221
7955B851591863   BETSY         MCCORD                      OK     21016878515
7955B881393739   CHERYL        SALES                       OH     90009058813
7955B99678B142   MARCIO        JIMENEZ                     UT     90014919967
7955BA12661927   JOHN          JOHNSON                     CA     90008620126
7956176437B477   NELLIE        DUBIEL                      NC     90011857643
795621A4541253   JANEL         CVENGROS                    PA     90011321045
7956228228B157   ISSAC         VARELA                      UT     90009282822
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1011 of 2350


79562A56541237   GREGG        GROVER                       PA     90003670565
79563818572B44   GLORIA       REES                         CO     33061428185
79563964472B32   KRISTY       WOODS                        CO     90015559644
7956421778B186   LAURIE       LEE                          UT     31089762177
7956443515B59B   JOSOLANE     AVILA                        NM     90015134351
79564A31172B29   JEANANN      JONES                        CO     33012750311
79564A4598B142   RODNEY       WARD                         UT     90014920459
795651A728593B   MONICA       WILSON                       KY     90013751072
795651AA73168B   TWYLA        MARSH                        KS     90009411007
79565391472B44   ANDREA       APODACA                      CO     33073643914
7956634958B142   RACHEL       FOX-MCINTOSH                 UT     31065733495
7956731A355939   EDGAR        VARGAS                       CA     90003993103
795676AA99154B   JOSE         VELASQUEZ                    TX     75091406009
7956837838B134   ANTONIO      RIVERA                       UT     90014023783
79568837A81633   ALLYSSIA     HESTER                       MO     90013478370
79568A48755947   DOMINIQUE    OMOS                         CA     49012320487
7956927935B59B   GABINO       VILLA                        NM     90009122793
7956961278B855   ANASTASHA    NAU                          HI     90014426127
7956B13A78B157   KAM          HOWARD                       UT     90003121307
7956B21825B385   SIOBHAN      CUDDIHY                      OR     90004102182
7956B432A61967   ARENDA       WILSON                       CA     90007904320
7956B75738B134   MARIA        FUENTES                      UT     90008747573
7956B786971921   KELCEY       RIDPATH                      CO     90010137869
7956B831372B44   TERESA       SISEMORE                     CO     90008648313
7957144A841253   MARK         FALKNER                      PA     90011944408
7957175A772B29   GLORIBEL     CASCO                        CO     33087037507
79571896A55969   NOE          CASTRO                       CA     90014838960
79571A4635B59B   JENNIFER     WONG                         NM     35019780463
79572267372B44   MICHELLE     CAMERON                      CO     33001412673
79572385772B29   KATRINA      JAMES                        CO     33041263857
795724A8655947   VICTOR       LOPEZ                        CA     49079894086
7957273715B335   MIREYA       SANDOVAL                     OR     90003087371
795728A8981633   TERENCE      MCGINNIS                     MO     90010078089
79573285A55939   CECILIA      SANCHEZ                      CA     90010802850
79573593A55947   MARIA        OROZCO                       CA     49064315930
7957416655B59B   JUAN         QUESADA                      NM     35048261665
7957437928B163   MAYRA        GONZALEZ                     UT     31032723792
7957449888B163   MAYRA        GONZALEZ                     UT     90012084988
7957453347B477   SHIRLEY      EASTERLING                   NC     11008475334
7957486619154B   JIMMIE       COPELAND                     TX     90013528661
79574A21771921   BOBBI        KULBISKI                     CO     90013920217
79575363572B32   JUAN         LUNA                         CO     90005293635
7957643A17B487   LUZ          GARCIA-MARKS                 NC     11003284301
795765A5633698   PIFFANY      THORNTON                     NC     90014905056
7957739197737B   TYRONE       NORMAN                       IL     90015423919
7957767195B59B   WAYNE        NAHA                         NM     90009156719
79577A77191322   AIDED        MONROY                       KS     90007030771
79578592A8B134   ANTONIO      JUAREZ                       UT     90015025920
7957869955B59B   ELIZABETH    LYON-PINO                    NM     90011576995
79578A5337B483   SYLVESTER    GRAY                         NC     90005030533
79579333A55969   SHIRLEY      HIXSON                       CA     48083983330
795798A8A81633   ROSA         ARREDONDO                    MO     90014878080
7957B788572B29   GUS          ROMERO                       CO     33089667885
7957B797A72B32   EDUARDO      CASTELLANOS                  CO     90007057970
7957BA11872B44   MARIE        SCHILTZ                      CO     90005250118
79581A62972B29   ROBERT       DAKE                         CO     90015290629
7958222A97B477   KIMBERLY     FUNCHES                      NC     90014082209
79582447872B32   MAILORN      SMITH JR                     CO     90014004478
7958286498B163   DEMBA        CAMARA                       UT     31065368649
795829AA861977   CLAUDIA      RUIZ                         CA     90010979008
79583471A57147   GLADYS       MARTINEZ                     VA     90007594710
79584166772B44   BRENDA       BARNES                       CO     33021471667
7958458325B346   ANGELICA     WILLIAMS                     OR     90010035832
7958473437B477   KIARA        SAUNDERS                     NC     90014597343
79585357A55969   LUIS         GOMEZ                        CA     90006333570
79585985A7B329   CONNIE       BRADUR                       VA     90007869850
79585A7453B123   TWANDA       BANNISTER                    DC     90007350745
795863A1831443   TONY         PASS                         MO     27509613018
7958652A571921   OSCAR        ZENDEJAS VELAZQUEZ           CO     32024935205
7958694A13B392   STEPHANIE    NICELY                       CO     90006839401
79588169472B44   ABELARDO     RODRIGUEZ                    CO     33059811694
7958843145B385   ANTHONY      PENA                         OR     90006724314
795894A9472477   SIMONE       TYSON                        PA     90010024094
79589943272B44   WHITNEY      PETERSON                     CO     90006249432
7958B217755969   ANDREA       BARRERA                      CA     90010392177
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1012 of 2350


7958B37165B59B   HUGO         GUTIERREZ-FLORES             NM     90014123716
7958B427251355   ADIJA        QUALLS-PALMER                OH     90009734272
7958B981355969   ANDREA       MARTINEZ                     CA     90014729813
795916A312B994   PATRICK      MUDGET                       CA     45077776031
7959219A833698   DWIGHT       DAVIS                        NC     12035071908
795923A6755939   CINDY        MCQUEEN                      CA     90012943067
79592A19172B32   FEDERICO     MENDOZA                      CO     90000790191
7959352878B142   GUILLERMO    SILVA                        UT     31091365287
79594A97961967   JOHN         VASQUEZ                      CA     90010490979
79596812A72B44   GEORGE       GAGNON                       CO     90010758120
7959796165B385   JENNY        RILEY                        OR     90013379616
79597A11672B29   DENISE       DEHERRERA                    CO     90009750116
7959899997B477   TAMIKA       SMYTHE                       NC     90014609999
7959937A75599B   STEPHANIE    NOMBRANO                     CA     49018713707
7959958A271921   DEBRA        FALES                        CO     90010765802
79599659472B32   BRANDAN      SHADDEN                      CO     90006676594
7959B67178B142   ALEXANDER    PREZA                        UT     90014926717
7959B71555B59B   BROOKE       MARTINEZ                     NM     90014467155
7959B7A9433698   KENDRA       BOWES                        NC     90014927094
795B127238B157   SAMUEL       LINDSEY                      UT     90010362723
795B132A18B142   RAMIRO       VILLALPANDO                  UT     90014173201
795B1729291549   MYRIAM       MIRANDA                      TX     90008817292
795B1851271921   CASSIE       GRAY                         CO     90014598512
795B199772B248   KEVIN        JACKSON                      DC     90004559977
795B2281A8B134   TALLE        JUHLIN                       UT     31084412810
795B2286541229   RYAN         WEBS                         PA     90008882865
795B237A15B386   TAMARA       SCOTT                        OR     90013023701
795B25A228B168   BRYAN        BRAILSFORD                   UT     90004075022
795B289A561967   MARIO        RODRIGUEZ                    CA     90012938905
795B317789154B   SUSANNE      HUGHES                       TX     75081851778
795B3878693739   JARED        BALDWIN                      OH     90011828786
795B3951472B29   SAMANTHA     NEWTON                       CO     90014789514
795B397518B134   FATHYYA      GONMA                        UT     90013519751
795B445945B59B   SHARON       LOPEZ                        NM     35060184594
795B458275B385   KELLY        STARK                        OR     90006775827
795B4842A2B227   CHANTELL     DINKINS                      DC     90005248420
795B4921891588   DANIEL       BURKE                        TX     75094439218
795B5893855969   ANDREA       DE LA CRUZ                   CA     48082138938
795B592228B134   NAR          BHATTARAI                    UT     31094659222
795B622858B142   DANE         SLIFER                       UT     90008102285
795B623A25B59B   JOSE         HAMPSTEN                     NM     90011222302
795B6289491588   ENRIQUE      DELAROSA                     TX     75032002894
795B6419772B44   MARGARITA    ESTRELLA                     CO     90011774197
795B6592193728   BYRON        PETTY                        OH     64533785921
795B661315B385   GUADALUPE    GARCIA                       OR     90014166131
795B6772161967   REID         NICHOLS                      CA     90001267721
795B6958471921   DESIRE       JOHNSON                      CO     90014899584
795B711635B385   MARIA        MORALES                      OR     90013761163
795B7379372B32   MARIA        ESPINOZA                     CO     90011593793
795B7684771921   TYRONE       NELSON                       CO     90013906847
795B85A918B142   DIANA        OLSEN                        UT     31006195091
795B9157A5B385   HILARY       ROSE                         OR     90012011570
795B9312972B32   JANELL       KENNEDY                      CO     90007333129
795B9724977599   OMER         ROJAS                        NV     43073217249
795BB233241253   LORILEE      HARMS                        PA     90013862332
795BB452491588   MARIA        BOTELLO                      TX     75088244524
795BB494861967   SARAH        MARTINEZ                     CA     90003884948
7961225615B59B   DORA         BORUNDA                      NM     35040382561
7961243475B385   JAMES        HAMILTON                     OR     90015004347
796125A6A41237   MELISSA      JACOBS                       PA     51002025060
79612867A91524   JACKIE       COONS                        TX     90007798670
79612935A51348   JAMIE        JAMISON                      OH     66006619350
796138A425B59B   PATRICIA     ROCHA                        NM     90002818042
7961421A481633   EDDIE        MARTHURIN                    MO     90001962104
79615A1115B385   MALYSSA      REED                         OR     90012390111
7961613A557128   FREDI        HERNANDEZ                    VA     90003791305
7961614284B245   SHANTAY      FLEMMING                     NE     90001691428
7961745528B168   CINTHIA      SILVEIRA                     UT     31040184552
79617853A91588   GLORIA       FLORES                       TX     75012748530
79617929A91939   JANE         CANALES                      NC     90003539290
79617976172B83   ANATOLIY     PUSTOVOYT                    CO     33085269761
7961813688B163   ANNETTE      MARTINEZ                     UT     31052641368
7961823A872B29   ANA          SILVA                        CO     90010772308
7961872A341237   ANDREA       JOHNSON                      PA     90015517203
7961879A55B385   NICHOLAS     SMITHEY                      OR     90013777905
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1013 of 2350


79618A72741246   IESHA          AKRIE                      PA     51069880727
7961914179154B   JESSICA        JURADO                     TX     75040291417
7961971432B994   CELCILIA       VILLANUEVA                 CA     90001737143
7961B31689154B   VANESSA        SALAZAR                    TX     90007043168
7961B396441237   LAMONT         KELLEY                     PA     90013493964
7961B423371921   BENJAMIN       ORELLANA                   CO     90013934233
79621525497B23   GABRIEL        AGUILERA                   CO     90011045254
79621842372B44   KATRINA        ROMERO                     CO     90011638423
796234A495B59B   SONYAMARIA     MARTINEZ                   NM     35019244049
796238A9A72B32   JHON           HERRERA                    CO     33097288090
7962466638B157   LUZ MARIA      ESTRADA                    UT     90009906663
7962532658B134   SELVIN         ORTEZ                      UT     90014773265
7962669373168B   FELISHA        WALLACE                    KS     22083656937
79626A92391B46   MONTAIRS       FLETCHER                   NC     90010880923
7962718867B428   BERNARD        THOMAS                     NC     90011411886
79627379A31443   SHAWNTAY       VAUGHN                     MO     90011293790
7962751738B168   BUNKER         DARRELL                    UT     90004995173
79627A93151355   GAYLE          GAMBLE                     OH     90015390931
7962847167B483   MARIA          RAMIREZ                    NC     90002124716
7962859213147B   JUAN           MORENO                     MO     90013885921
7962944669154B   GILBERTO       PAYAN                      TX     90006594466
7962983388B157   PENNY          GALLO                      UT     31083608338
7962B43568B168   BONNIE         DUVALL                     UT     31049524356
796312AA297122   JOSE           VEGA RAMIREZ               OR     90010042002
7963159639154B   MARGARITA      HERNANDEZ                  TX     75084695963
79633A92233698   ALEASE         WOODLEY                    NC     12088730922
79634A79A41253   THOMAS         EBKEN                      PA     51059840790
79634AAA841237   LESLIE         COLLIER                    PA     51062410008
7963539617B477   SARAH          HILL                       NC     90008313961
79635535A55939   JORGE          CASTANEDA                  CA     90013695350
796362A5455939   OLIVIA         VARELA                     CA     90014882054
7963754695B385   TERRELL        TUEL                       OR     90014435469
796379A417B477   RUTHINA        TAYLER                     NC     90011319041
79638462472B32   CARLOS         GARCIA                     CO     90008994624
79638A3568B168   BRIAN          REHLING                    UT     31061390356
79638A9A641265   ALICIA         YOUNG                      PA     51028010906
79638AA9955969   DANIEL         ACEVEDO                    CA     90014850099
7963946398B142   EPELI          COCKER                     UT     90014934639
7963B132941253   GINGER         KILROY                     PA     51085411329
7963B23428B159   KONI           ADAMS                      UT     90010282342
7963B714351348   CHERYL         BARNETT                    OH     66041757143
7964131585B59B   ANTOINETTE     GARCIA                     NM     35099423158
7964335867B43B   TOIA           WARREN                     NC     90010623586
7964419A355939   PEDRO          HERNANDEZ                  CA     90007561903
79644537A2B994   MICAH ANDREW   REMAGE                     CA     90005145370
7964551565B59B   FRANCISCO      CHAVEZ                     NM     35041275156
79646627A61967   BONNIE         THOMPSON                   CA     90014286270
79646681A33698   QUENTON        BODDIE                     NC     90014936810
79646757272B44   DILLON         BARNES                     CO     90012007572
7964677398B134   BOWERS         JAIMEE                     UT     90014957739
796473A1A72B44   MELISSA        ANDERSON                   CO     90013883010
79647447176B71   MARY           CANO                       CA     90009754471
7964763925B324   DIANA          NIEVES                     OR     90001896392
7964772437B477   HERMA          VASQUEZ                    NC     90014177243
7964812122B994   VERONICA       MORALEZ                    CA     45044631212
7964852375B59B   MARIA          TORRES                     NM     90005865237
79648A53555939   MODESTA        HERNANDEZ                  CA     90015090535
796491A1A55939   LEONICIO       POLANCO                    CA     90012911010
79649866A55939   JESUS          GARCIA                     CA     90015098660
7964996568B134   KEVIN          SWENSEN                    UT     90010079656
79649A7385B59B   DANIEL         BLAUW                      NM     90002110738
7964B464493739   THOMAS         ERISMAN                    OH     64514284644
7964B78218B163   THERESA        KOURBELAS                  UT     31043867821
7965184765B59B   BASCIANO       DINO                       NM     35074578476
7965218538B183   LEIDY          SOTO                       UT     90002801853
7965292387B477   TRACY          TAYL0R                     NC     11055759238
7965428A87B477   LUIS           MARTINEZ                   NC     90009612808
7965524555B385   ROBERT         MEDEIROS                   OR     90014802455
7965574737B477   RYAN           WILLIS                     NC     90014597473
7965586165B59B   APRYLL         STEPHENS                   NM     35017798616
79655A9278B185   MATT           BENSON                     UT     90012190927
7965635A451348   SILO           PINACHO                    OH     90014103504
79656392372B29   ANTHONY        TOBAR                      CO     90010203923
7965751715B972   KYLE           MARTIN                     WA     90015415171
7965874637B45B   JUAN           BENITEZ                    NC     90008997463
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1014 of 2350


7965944529154B   EDUARDO      ORNELAS                      TX     90006594452
7965954777B477   ADRIAN       TYSON                        NC     90014725477
7965B13A881633   TRENA        FUQUA                        MO     90009661308
7965B2A9651355   KATHY        SARTORIOUS                   OH     90008952096
7965B817854133   SABA         KASAHUN                      OR     90009248178
796612A7855969   BANTA        SINGH                        CA     90014432078
7966189A972B44   MARI SOL     GUITIERREZ                   CO     90001878909
7966291167B434   DANIEL       ALMENDAREZ                   NC     90014999116
79662A74572B29   CYNTHIA      WILLIAMS                     CO     33064290745
7966357927B477   ERIKA        ALVAREZ                      NC     90007305792
796649A737B426   LESLIE       ORR                          NC     90009779073
79664A87472B44   CHARLES      BLANCHARD JR                 CO     33017510874
7966669225B385   TERESA       SANTIAGO                     OR     44500886922
79666866A81633   JASON        DEETS                        MO     90001948660
796678A1551355   CATHERINE    BATCHLER                     OH     66017178015
79667991572B44   BRADLEY      BOLLERUD                     CO     90008309915
79668288472B29   LATRECE      BROOKS                       CO     90009702884
796682A955B59B   EMMANUEL     QUINONES                     NM     90014092095
79668948A71921   JUANA        DE LA CRUZ-ARTEAGA           CO     32076019480
7966B852255947   APRIL        JOHNSON                      CA     49076008522
7967136758B157   SCOTT        FULLMER                      UT     90007883675
7967144285B541   KAREN        EDMUNDSON                    NM     90011824428
7967244618B134   CECAR        VEGA                         UT     90015114461
7967363558B142   BRETT        CHORNIAK                     UT     90010996355
7967429AA51348   CAMILLA      BUSH                         OH     90010882900
7967479475B131   CAMERON      MCGEE                        AR     90013797947
7967513A87B477   TSEGNI       FESHAZION                    NC     90013561308
7967634A35B59B   JAVIER       LOPEZ                        NM     90011223403
7967644665B385   TIMOTHY      EDWARDS                      OR     90013604466
7967731535B59B   ANGELICA     RAMIREZ                      NM     90011223153
7967736623362B   SHEILA       JACKSON                      NC     90012623662
796775A1372B29   BARBARA      WILLIAMS                     CO     90013465013
7967791388B157   SANDRA       BARAJAS                      UT     90014169138
79677A86772B32   JERRY        ORTEGA                       CO     33072460867
796794A7672B44   BRENDA       GUZMAN                       CO     33073354076
79679759A8B134   CODY         FRANZEN                      UT     90012097590
7967B341891588   RICARDO      HERNANDEZ                    TX     90014093418
7967BA11181633   KIMBER       ARNOLD                       MO     29092120111
7968182AA21759   KOREY        KRUGER                       IL     90009488200
7968199139154B   ADRIANA      MATURINO                     TX     90009049913
7968233318B142   MICHAEL      JENSEN                       UT     90014973331
79682A62891588   RUBEN        GUTIERREZ                    TX     90007070628
79682A8687B477   ESTEBAN      GARCIA                       NC     90013860868
7968348A472B44   ROBERT       KROL                         CO     33018254804
7968359A931443   GARY         JOHNSON                      MO     27560225909
796835A5591588   PATTY        RAMOS                        TX     75035485055
79683AA5972B32   DAMAUR       BIRCH                        CO     33052430059
79684646272B44   PAUL         SWEANGEN                     CO     33094766462
796848A2555947   NOEL         ANDRADE                      CA     90010428025
79684A93861967   KARLA        LOPEZ                        CA     46026780938
7968552812B994   STEVEN       SALGE                        CA     45061675281
7968643897B658   SAMARA       SMITH                        GA     15098734389
7968679628593B   HOLLY        RAINES                       KY     90012247962
79686927472B32   JOSE         VALLEJO                      CO     33068499274
7968786245B59B   MARIA        ISELA VILLEZCAS              NM     35077768624
79688A13355969   SILAS        GONZALES                     CA     90014820133
7968933329154B   YOLANDA      RODRIGUEZ                    TX     90003273332
796897A5885945   JASMINE      WARREN                       KY     90014687058
79689A17272B29   BURGANDY     STROUSE                      CO     90007040172
7968B2A245B59B   LESEAN       LUCERO                       NM     90012712024
7969192935B59B   SHELLY       YESH                         NM     90012259293
79691A4A555969   MISTY        FENSTERMAKER                 CA     48035940405
7969269455B38B   KIMBERLY     RUFF                         OR     90007196945
79693747A51348   LATASHA      TAYLOR                       OH     66056517470
79693871872B44   WYATT        ANDREW                       CO     90011638718
79694189998B29   SONYA        COLLINS                      NC     90008251899
79694272872B29   HASSAN       LATIF                        CO     90008462728
79695338872B32   ROSALYN      LEWIS                        CO     90014833388
7969548227B477   ZAKEIA       BLAKELY                      NC     90015174822
796958A3981633   SHERIEE      LIVINGSTON                   KS     90011078039
79696432A7B477   ELENA        PICENO                       NC     11063734320
7969677918B163   ELSIE        CATTEN                       UT     31036377791
79697446572B32   JOYCE        YOUNG                        CO     90015144465
7969773789154B   VERONICA     MUNOZ                        TX     75011857378
79698A8A951355   GARY         STEURER                      OH     90014830809
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1015 of 2350


7969912655B59B   MONICA             SANCHEZ                NM     90006831265
7969912A12B927   ROBERTO            GUTIERREZ              CA     90009611201
7969B552593772   MICHAEL            HOFFMAN                OH     90015495525
7969B989251348   GARCIA             BELIS                  OH     90014469892
796B123193168B   ALONSO             BORJON                 KS     22004772319
796B1425751348   STEVE              ROSE                   OH     66065144257
796B1A62231443   EASTER             LOVE                   MO     27574080622
796B242678B142   ACO                ALVARO                 UT     90005154267
796B276635B385   LORI               MILES                  OR     44537227663
796B2917855969   YVETTE             ALVAREZ                CA     90010939178
796B3715991588   LAURA              CHAPARRO               TX     75094507159
796B3A31777524   LONA               FULLER                 NV     43090110317
796B511695B385   CESAR              TRONCO                 OR     44597631169
796B536A455969   ALMA               SPURLOCK               CA     90010893604
796B5514455969   MARCOS             SOUSA                  CA     90013235144
796B55A7933624   NANCY              LORN                   NC     90010515079
796B5A39271921   KIM                SCHWERDTFEGER          CO     32049700392
796B5A56855947   JAVIER             ROCHA                  CA     90004050568
796B5A86241237   TEODORO            MARTINEZ               PA     90013640862
796B619A833698   DWIGHT             DAVIS                  NC     12035071908
796B6834551328   DION               JACKESON               OH     90001068345
796B715859198B   DAVID              SALGUERO               NC     90009701585
796B729395B59B   RYAN               WAKEFIELD              NM     90013712939
796B8136661967   HECTOR             GOMEZ                  CA     90012201366
796B8279141253   HOPE               SULLIVAN               PA     51082322791
796B8528291588   CARLOS             ENRIQUEZ               TX     90011885282
796B879445B385   CORY               FREEMAN                OR     90013577944
796B886778B157   RAUL               PEREZ GONZALEZ         UT     90011208677
796B8A99941237   JANELLE            JACKSON                PA     51049230999
796B9444491588   JUAREZ             JOSHUA                 NM     90011304444
796B995A18B142   BRYAN              ANDERSON               UT     31015019501
796BB51A333698   JASMINE            LEGRAND                NC     90011575103
796BB76418B157   ANUAR              MARTINEZ               UT     90011197641
79712737472B29   OLGA               GUARDADO               CO     90000667374
7971277A93B351   PAUL               OWENS                  CO     33047437709
79712A6458B134   BRYAN              THOMSON                UT     90012540645
7971384A161967   JEFF               NICO                   CA     90010268401
7971394412B295   STEVEN             FOSTER                 DC     81055539441
7971436928B134   LEARNED            RICHARD                UT     31017383692
7971627A855969   FILOMON            PALOMERA               CA     90013042708
79716359A7B477   MARISOL            IBARRA                 NC     90010983590
79716653A41237   TERRIN             BAILEY                 PA     90010856530
7971674152B574   ELIZABETH          RODRIGUEZ              AL     90014117415
7971687175B59B   JESSICA            ARVIZO                 NM     90003188717
79716899A5B385   MARK               LONG                   OR     90011568990
79718661172B29   GLORIA             BRADFORD               CO     90014846611
7971887485B38B   LORRINA            NOEL                   OR     90010648748
797191A6272B98   BLANCA             JURADO                 CO     90000761062
7971951293168B   RUSSELL            TENEYCK                KS     22097705129
7971984132B994   MIGUEL             AGUILAR                CA     45073358413
7971B1A5871921   ANJA               CLARK                  CO     90008601058
7971B2A4772B29   JOSE               GUADIAN                CO     90014322047
7971B62367B477   TOCCURA            CHISHOLM               NC     90014116236
79721353A55969   JUDY               ALCANTAR               CA     90012573530
79722195172B32   ERIC               SCHNATHORST            CO     33060641951
7972278768B142   JESSICA            CIFUENTES              UT     90014937876
7972348235B385   PAOLA              ACOSTA                 OR     90014694823
797234A625B522   CAROLINA           FRANCO                 NM     90002744062
7972355848B142   SIXTO              LOZOYA                 UT     90010395584
79723661A93739   TISHE              NELSON                 OH     90010216610
79723711772B32   LUPE               RODRIGUEZ              CO     90014727117
79723A77A8B134   MARIA DEL CARMEN   SANCHEZ                UT     90011970770
7972553818B189   JAMES              WHITAKER               UT     90013155381
79725776672B32   STEVE              BUSCIETTA              CO     33008887766
7972711248B163   JASON              MURRAY                 UT     31026251124
7972811248B163   JASON              MURRAY                 UT     31026251124
79728673272B32   SHAYLA             MANNING                CO     90014076732
7972872A241253   BRIAN              CONLEY                 PA     90013687202
7972B2A4755947   MADISON            MANGRUM                CA     90012782047
7972B351547873   MARY               LYONS                  GA     90002133515
7972B669371921   JAL                EASLEY                 CO     90001826693
79731A1538B157   WENDY              NELSON                 UT     31058920153
7973212657B477   ANTONIO            AJAMEL                 NC     90012161265
7973238865B59B   MARIA              LUCERO                 NM     35052073886
7973246A651348   RHONDA             ROBINSON               OH     66076134606
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1016 of 2350


79733172A51355   ALBARO       ESPINOZA                     OH     90015321720
7973354177B477   RONY         ALAS                         NC     90006035417
797338A6A55969   KARRI        MERRITE                      CA     90011798060
79733996772B44   MARIA        GONZALEZ                     CO     90007099967
79734416A61967   HAYDEE       VAZQUEZ                      CA     90012564160
7973444585B59B   MELANIE      GARDEA                       NM     35054554458
79734A88A55939   MARIA        SANCHEZ                      CA     90007990880
7973511A961967   JOSE         MARINEZ                      CA     46080181109
79735573972B32   ARNULFO      SALAS                        CO     90013585739
79735918A72B44   BRENDA       MASKREY                      CO     33059799180
79736451A8B134   PATRICA      LOPEZ                        UT     90015114510
7973676A472B29   LUIS         CHAVEZ                       CO     90011517604
79737A75372B44   PEDRO        OLIVAS                       CO     33073420753
7973969237B477   LESLY        JOSEPH                       NC     90012146923
79739A54961967   PHILLIP      GANT                         CA     90014530549
79739A8967B49B   KIMBERLY     GREGORY                      NC     90001470896
7973B63AA55947   JOE          ROMERO                       CA     90014646300
7973B71738B134   LUIS         LAGUNAS                      UT     90013577173
7973B896772B93   ADOLFO       VALDES-NAVARRETTE            CO     33000648967
79741525272B29   TRAVIS       TRAWINSKI                    CO     90012925252
79741534172B32   LISA         AULT                         CO     90005095341
7974166288B142   CAMILLE      JULKUNEN                     UT     90005426628
79741696A51348   BEN          PILCO                        OH     90014486960
7974219988599B   VICTORIA     PARTIN                       KY     66011351998
7974266838B142   MOSIAH       SUAREZ                       UT     90012716683
79743A6922B295   DASHAWN      MATTHEWS                     DC     90012490692
797456A8A41237   BRENT        HILL                         PA     90013876080
79746752772B23   YANEXA       GUZMAN                       CO     90011817527
79748821572B21   CAMILLA      ROSS                         CO     90005368215
7974886132B278   AKOYA        TERRELL                      DC     90005438613
7974888748B168   STACY        BELSHAW                      UT     31066428874
79749227272B32   GABRIEL      BUSTILLOS                    CO     33041902272
7974966118B168   BRAD         DANGER                       UT     90004076611
7974B21499154B   ROSA         SALINAS                      TX     75012922149
7974B23A172B44   LAWRENCE     GALLEGOS                     CO     33019972301
7974B522A7B477   JUSTIN       CORVIN                       NC     11084665220
7974B667441253   JOSE         ORTIZ                        PA     90014356674
7974B83535B385   ROSANELY     RAMIREZ                      OR     90014178353
7974B946155969   CRYSTAL      ARRIAGA                      CA     90011109461
7975112748B142   CODY         PARKER                       UT     90014911274
79751372672B29   GLORIA       DELACRUZ                     CO     90013873726
79752276672B94   EMILY        HULL                         CO     90009082766
7975234118B142   MIGUEL       ROSALES                      UT     90014993411
7975242998B157   SANDRA       SLAYMAKER                    UT     31092504299
7975256217B477   PABLO        CLARO                        NC     11004435621
79752898A51348   JASON        SCHREIEBER                   OH     90013968980
79753344A51355   SAROEUN      TOUCH                        OH     90004113440
7975443675B59B   DIANE        LUJAN                        NM     90005154367
7975516338B134   JASON        RICHMAN                      UT     31039711633
7975572128B163   TRAVIS       MCGREW                       UT     90014747212
79755A75571921   SANDRA       RUACHO                       CO     32000810755
79757674A72B29   RAQUEL       MUNOZ                        CO     33057366740
79757A59555947   DEON         WALKER                       CA     49007920595
7975888485B557   MARIA        HERNANDEZ QUINONEZ           NM     90000658848
7975991479154B   ANN          MARTINEZ                     TX     90009119147
7975991855B375   ADAM         BUEHLER                      OR     90009679185
7975993997B49B   PHELISHA     BURKES                       NC     90013979399
7975B377155969   ALBERT       DOMINGUEZ                    CA     48032373771
7975B421676B87   MARIA        PEREZ                        CA     90007454216
7975B771A55939   ALMA         TABON                        CA     90011527710
7976149628B142   ERIC         FUENTES                      UT     90014944962
7976284387B477   TAWANYA      PATTON                       NC     11051788438
79762A5A88B142   SUSAN        OSTLER                       UT     90008570508
797631A6641237   RADHA        DHITAL                       PA     90013491066
79763537A8B136   GUY          ANDRUS                       UT     31006805370
79763A22655939   JENNY        RUIZ                         CA     90014420226
797644A1A61967   ZURI         RODRIGUEZ                    CA     90008124010
797649AA751355   SIBBLE       BROWN                        OH     90013399007
79765272772B32   ESPARZA      ELIA                         CO     90009922727
79765336572B29   BRYCE        TOLBERT                      CO     33026563365
7976614858B189   STORMY       CARLISLE                     UT     90002461485
7976955975B385   JOSALYN      ROSALES                      OR     90004745597
7976B339455947   ANTHONY      STANDRIDGE                   CA     49036263394
7976B35323367B   TIMOTHY      MCMURRAY                     NC     90006383532
7976B36A88B163   SUSAN        WARDEN                       UT     31015413608
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1017 of 2350


7976B393941253   CHRISTOPHE     EMEIGH                     PA     51078463939
7976B3A2655969   MARIA          CUEVAS                     CA     90012803026
7976B815755939   AMPELIA        YANEZ                      CA     90014708157
7976BA51293739   CARLOS         MARTINEZ                   OH     90001140512
79772A4895B385   VINCENT        ELLIS                      OR     90013650489
79772A8442B994   RITO           ALVARRO                    CA     90003490844
7977324A551355   ANTONIO        FLORES-GAYTAN              OH     90009712405
797732A7691588   ARMANDO        MACIAS                     TX     75037622076
7977399A557132   JOSE LUIS      RIVERA                     VA     90011389905
7977469288B168   MARIA          CRUZ                       UT     90006926928
7977552145B385   MIRIAH         ETHEREDGE-CLARK            OR     90015415214
7977617667B477   TAMARA         DEAS                       NC     11076841766
7977779A131443   H DEVE.        GROUP                      MO     27572667901
7977936965B59B   JEROME         MORRIS                     NM     90014013696
7977964536193B   MARGARITA      SALDANA                    CA     90012296453
7977B156555947   JUAN           VALENZUELA                 CA     90001881565
7977B384481633   RACHEL         LEWIS                      MO     90012933844
7977B4A7971921   WILLIAM        SHANKS                     CO     90012194079
7977BA4895B385   VINCENT        ELLIS                      OR     90013650489
7978169557B477   KEYAWNA        ARROTO                     NC     90014836955
79782435A61967   JUSTIN         BROWN                      CA     90011534350
7978311453168B   PAM            HARBOUR                    KS     22094291145
79783734172B29   DON            GRHAM                      CO     90003747341
797843AA772B32   ARTURO         GOMEZ                      CO     90009763007
7978483315B59B   JOSE           RIOS                       NM     35034478331
79784A78891588   JESSICA        VILLA                      TX     90014800788
7978545995B571   DIANA          SOLIS                      NM     90013644599
79786129272B29   AIDA           ANGEL                      CO     33060201292
7978645A251348   WANDA          MCCOY                      OH     90013324502
7978721AA8B163   SAYDI          RAMBAL                     UT     31094992100
7978732348B157   MONIQUE        CORNISH                    UT     31094583234
797884A9572B32   ROSA           FLORES                     CO     90011604095
79788A7518B157   NATIVIDAD      DE LA LUZ                  UT     31030000751
7978932498B142   CYNTHIA        PHILLIPSEN                 UT     90000133249
79789614A61967   ANDREW GERAD   MC DONARLD                 CA     90014196140
7978971935B59B   KEITH          ANDREWS                    NM     35076947193
7978B2AA241237   DAVID          ALBRIGHT                   PA     51043602002
7978B416971921   DANIEL         DEUTSCH                    CO     32049154169
7979148775B385   NICOLE         STURN                      OR     90008984877
7979187A872B29   KARRIE         MCKAY                      CO     90011958708
7979194459154B   OMAR           MOLINAR                    TX     90011079445
79791A64655947   STELLA         RODRIGUEZ                  CA     49087100646
7979275A961967   FA             LIMA                       CA     46024617509
79792A9622B829   ROBERT         MEYERS                     ID     90007670962
79793995A5B59B   ERICKA         JAQUES                     NM     90008479950
79793A4AA7B477   DARREN         TREADWELL                  NC     90003590400
797944A1A61924   YOLANDA        ARROYO                     CA     90010184010
7979642678B142   ACO            ALVARO                     UT     90005154267
797975A5491588   LAURA          PEREZ                      NM     90002305054
797982A6591588   LAURA          REZA                       TX     90014302065
797993A9355947   ELSA           SANCHEZ                    CA     90009123093
79799A12671921   KIMBERLY       BURCH                      CO     32044780126
7979B661741246   JOHN           BEGANDY                    PA     90006496617
7979B921777524   ALICE          WILLET                     NV     43004119217
7979BA6A68B353   TYLISHA        STEPHENS                   SC     90015040606
797B116757B477   MARIA          RIVERA                     NC     90010731675
797B1227571921   SUMMER         PULLIAM                    CO     90012232275
797B1343355969   KIMBERLY       COX                        CA     90013993433
797B188225B385   SETH           FOLTZ                      OR     90009938822
797B228A193739   CANDIE         TUDOR                      OH     90003232801
797B244649154B   RAMON          CASTILLO                   TX     75081904464
797B275382B994   JESSICA        DIAZ                       CA     90001237538
797B318488B163   READ           TAINTOR                    UT     31014611848
797B332A58B874   SANCHEZ        BARRIOS                    HI     90015413205
797B4266272B32   ROSA           DIRCIO                     CO     90011572662
797B4385761967   LISA           ROSENE                     CA     90005773857
797B6337772B44   JUAN           CERVANTES                  CO     33015563377
797B6773655939   MARIE          VARGAS                     CA     90012727736
797B6A77241253   PATRICIA       HANNEL                     PA     90000620772
797B7152155969   SONIA          JIMENEZ CARMONA            CA     90013741521
797B72A5393739   PILLIP         TAYLOR                     OH     90008972053
797B7742931443   JEFFREY        JOHNSON                    MO     27573307429
797B7A74155947   ANGELINA       YBARRA                     CA     90012910741
797B876A62B994   MARIA          RAMIREZ                    CA     90010817606
797B951978B134   CASSANDRA      MENDOZA                    UT     90014215197
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1018 of 2350


797B9794841237   ALICE M       PANARO                      PA     51021567948
797BB566961967   FERNANDO      MACHADO                     CA     90011595669
797BB88598B134   EMILY         ROSE                        UT     31028528859
797BB97927B477   AYESHA H      GOINES                      NC     90010189792
797BBA38755947   VUEMY         YANG                        CA     90013260387
79811116A81633   SCRAPIO       GUERRERO                    MO     90014971160
79812283972B32   MATTHEW       BAIN                        CO     33095182839
7981273279154B   BETY          LARA                        TX     75015867327
7981287858B134   RENEE         JOHNSON                     UT     31055348785
79813148A72B32   ELLEN         CERVANTES                   CO     90006811480
79813A21A61967   GAIL          GATES                       CA     90013290210
79815A3555B327   CORNELIO      SERRANO CERRITOS            OR     90009300355
79815A87155969   MIGUEL        SEGARS                      CA     90013060871
7981637533168B   OSCAR         ARTURIO                     KS     90009703753
7981673258B142   ANTHONY       SAFFORD                     UT     90014947325
7981941225B59B   ANNA          BOLIVAR                     NM     90011224122
7981B596333698   BONITA        TAYLOR                      NC     90014605963
7981B611771921   COREY         KINNARD                     CO     90013936117
7982152A58B134   FEDERICO      OCHOA                       UT     90012405205
79821939672B32   DANICA        GAUTHIER                    CO     90008329396
79821A7A372B44   STEPHANIE     LOCHHEAD                    CO     33014280703
79821A8345B53B   DORIAN        SANCHEZ                     NM     90013370834
7982447343B391   MIGUEL        CASTILLO                    CO     33064224734
7982484A484364   DARLENE       PERPRUNER                   SC     90012098404
79824A31681633   EDILBERTO     AMAYA                       MO     90009350316
79824A5217B495   FELICIA       MORRIS                      NC     11076160521
7982565A59154B   JORGE         PAYAN                       TX     90009946505
7982597788B134   JORDAN        MARTIN                      UT     90013519778
7982714A541246   JUANITA       HORNE                       PA     51005791405
798273AA841237   MARK          JHON                        PA     90013963008
7982791A155969   SUMMER        GARCIA                      CA     90013099101
7982882428599B   PATRICK       WALKER                      KY     90001138242
798293AA65B597   SHANNON       HERRERA                     NM     90000993006
7982943685B59B   SONYA         HERNANDEZ                   NM     90011224368
7982B547161988   BEATRIZ       SOLORZANO                   CA     90014685471
7982B971151355   MELISSA       WALDEN                      OH     90013509711
7983145A891265   CHRUS         HARRIS                      GA     90001064508
7983173A655969   JONATHAN      DOMINGUEZ                   CA     90013947306
7983186A955939   RYAN          GAULT                       CA     90000158609
79831A75172B44   ALEJANDRA     RAMIREZA                    CO     33058540751
79831A98772B29   TECKLA        SWEETWINE                   CO     90010050987
798325A9855939   BERTHA        LUJANO                      CA     48011975098
79832A78561967   SOFIA         ROJAS                       CA     46069540785
79833244A93739   BRANDI        MILLINER                    OH     64513312440
7983368735B385   HABTEMARIAM   KIDANE                      OR     90013656873
7983528532B372   LEONEL        AGUIRRE                     CT     90014282853
7983581A251355   MAYANGO       KOLLIE                      OH     90013718102
7983625977B477   ASHLEY        CONNELLY                    NC     90014052597
798363A9A55969   LIDIA         VERDUGO                     CA     90013963090
7983664718B142   AARON         EMORY                       UT     31079086471
79836A42191588   PAT           ROJAS                       TX     75046620421
79837527A8B163   MARLON        ALVAREZ                     UT     90009425270
79837563A51348   STEVE         HARRIS                      OH     90012765630
7983763788B134   CARLOS        SOLIS                       UT     90010476378
7983768735B385   HABTEMARIAM   KIDANE                      OR     90013656873
7983886367B477   CYNTHIA       BROOKS                      NC     11086398636
7983915619154B   ALBINA        VILLA                       TX     75043391561
79839A7A871921   JULIUS        GILCHRIST                   CO     90013220708
7983B481355939   NIDYA         LOPEZ                       CA     90012064813
7983B62348B134   STEVE         WIGHTMAN                    UT     90015006234
798413A5972B32   KATHLEEN      HICKS                       CO     90015303059
798414A1991254   AIMY          BITZER                      GA     90013494019
7984197A791588   FRANCISCO     LOPEZ                       TX     90008959707
79842A88841237   ROBERT        COCHRAN                     PA     90009370888
7984324335B391   AHMED         KHAWALDA                    OR     90013902433
79843435A51348   STACY         CALDWELL                    OH     90002764350
798448A948B134   NOHEMI        CHAVELAS                    UT     90010888094
7984535855B59B   JORGE         BELTRAN                     NM     35092733585
79846158172B44   MARIA         GARIBALDO MEDINA            CO     33059631581
7984635459154B   ROCIO         MARTINEZ                    TX     90010833545
79846A6492B994   JASON         GUERTIN                     CA     90002790649
7984744998B142   HARTLEY       BAILEY                      UT     90009194499
7984853835B59B   FRANKIE       GARCIA                      NM     35062365383
79849182397B49   CARMEN        VICENCIA                    CO     90013811823
7984B85A19139B   BRETT         ASHNER                      KS     90013758501
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1019 of 2350


7984B919957147   JAMES        HENDERSON                    VA     90012429199
7984B94468B134   MATEI        MAKA                         UT     90013129446
7985298534B548   KIM          WHITE                        OK     90008229853
79852A21351355   EDDIE        SHERMAN                      OH     66094690213
7985356A97B477   GLIVIA       WILLIAMS                     NC     90003895609
79853A4A49154B   JESUS        SANTIAGO                     TX     75011870404
7985466AA5B388   ALDO         RODRIGUEZ                    OR     90001406600
79855122172B29   JAMES        TAIT                         CO     90013881221
7985528935B541   MANUEL       ROMERO                       NM     90011322893
7985572A37B477   ALTHEA       CARTER                       NC     11001447203
79855A3278B134   VANESSA      CATLETT                      UT     90009320327
79856382A5B59B   PANOS        KASSIMATIS                   NM     90009703820
798563AA67B477   JAMES        MANNING                      NC     90013803006
798566A198B163   CINDY        BARRIENTOS                   UT     90006786019
7985737838B134   ANTONIO      RIVERA                       UT     90014023783
7985797588B168   DIANA        RAMIREZ                      UT     31069539758
7985833828B134   TANIA        ELDER                        UT     90008753382
7985879A55B385   NICHOLAS     SMITHEY                      OR     90013777905
79858A78251348   RONEL        BALES                        OH     90007000782
7985957969154B   CARMEN       GARCIA                       TX     90008705796
7985B229541253   EDWARD       REILLY                       PA     90014702295
7985B732481633   FERMIN       PEREZ                        MO     90015017324
7985B82A355939   MIKEY        RAMOS                        CA     90013788203
7985BA3798B157   FRANCISCO    MONROY                       UT     90010700379
79861237A51348   PEDRO        ALONCO                       OH     90014422370
79861593372B29   JEFFERY      BERLIN                       CO     33079165933
798616A3255947   ANGEL        NOROA                        CA     90010326032
79861A9559154B   SUSANA       HORNER                       TX     90004190955
798623A1771921   ERIC         WILLIAMS                     CO     32086433017
79862A68191588   ANDRE        MOORE                        TX     90012660681
7986372A941246   JASON        GENTILE                      PA     51088517209
79865441A55969   CARMELITA    RODRIGUEZ                    CA     48011414410
798655A8572B44   ANTONIO      MONTOYA                      CO     33068005085
798659A555B385   OLIVIA       AGUERO                       OR     90015199055
79865A38591572   MARCO        ARANA                        TX     90000400385
7986629457B477   INELISE      ESCALERA                     NC     90011082945
79866A8AA55947   LETICIA      SANTILLANO                   CA     90008750800
7986769268B134   STEVEN       BROWER                       UT     31090356926
79868549172B32   MARGARITA    CALDERON                     CO     33087385491
79869745972B44   ANA          PEREZ                        CO     33076577459
7986B389691586   TOMAS        PUBIO                        TX     90006053896
7986B512155939   YOLANDA      RIVERA                       CA     90010505121
7986B845571921   VANESSA      FREEMAN                      CO     90001508455
7986BA26272B29   CARLOS       SANCHEZ                      CO     33054510262
79872574A55947   RODNEY       JONES                        CA     90014655740
7987267358B134   ANNA         SESSIONS                     UT     90014156735
7987325938B142   BRITNEY      BIRD                         UT     90007262593
7987353227B39B   OSVIN        ESCOBAR                      VA     90014685322
79873A7A871921   JULIUS       GILCHRIST                    CO     90013220708
7987418865183B   ERIC         DANGELO                      NY     90015481886
7987432AA72B44   RICHARD      ZARCO                        CO     90003773200
79874383A41253   SHEENAE      SCOTT                        PA     90013553830
7987544825B385   GERMAN       AMEZCUA                      OR     90003174482
798754A2541246   VALERIE      RAMAGE                       PA     51063124025
7987644848B142   BRIAN        HUGHES                       UT     90002944484
7987735425B359   HERMAN       OWENS                        OR     90010563542
7987785648B163   JULIO        AMADOR                       UT     31055348564
7987793A572B32   MARY         TANSEY                       CO     33068299305
7987825848B134   JOHN         COOK                         UT     31032852584
79879586972B44   CRIS         CHRISTENSEN                  CO     33094735869
7987989455138B   AUTUMN       MERRITT                      OH     90008238945
79879A23333698   ANA          GREEN                        NC     90010370233
7987B32737B477   MARY         SPRAYBERRY                   NC     90014413273
7987B3A8551348   TAMMY        MERCER                       OH     90009833085
7987B83178B157   HEATHER      OTTO                         UT     31055198317
7988231A941483   DANIEL       ROMERO                       WI     90015483109
7988332A15B385   MARIA        GOMEZ                        OR     44587403201
79883564A72475   HEATHER      HILES                        PA     90012765640
79884521472B29   JACK         GONZALES                     CO     90014845214
798848AA571921   GRACIELA     NAVARRO-CISNEROS             CO     90013938005
79884998772B44   ADOLFO       MARTINEZ ENRIQUEZ            CO     33058969987
7988512A355931   RICARDO      CAMARILLO                    CA     90011701203
7988516748B157   JAUN         CABRERRA                     UT     90008651674
7988566188B142   KELLY        HUFF                         UT     31029426618
79886373472B32   LENA         HOAG                         CO     90010983734
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1020 of 2350


798869A8381633   TIMOTHY      BLACK                        MO     90011149083
79887874A33651   ERNIE        SUMMERS                      NC     90001548740
79888889A55969   JUAN         VEGA                         CA     90013198890
79888A73181633   CHANEL       CAMPBELL                     MO     90011080731
7988B226951355   COLLEEN      ELLIOTT                      OH     90015112269
7988B454933698   TIWANA       WILLIAMSON                   NC     90005154549
7988B47A172B32   STEFANIE     FAUST                        CO     33048044701
7988BA9128B134   YASMIN       RODRIGUEZ                    UT     90014780912
7989253A95B59B   GUADALUPE    GALINDO                      NM     35022955309
7989315278B168   JILL         LLOYD                        UT     31054861527
79893A1A99154B   EDUARDO      HERNANDEZ                    TX     75095870109
7989426415B359   CAROL        COCHRAN                      OR     44567952641
798944AA35B541   JEREMY       SANDOVAL                     NM     90001644003
79894575A41237   SHEENA       STENHOUSE                    PA     90014855750
7989482928B134   TERESA       POULSON                      UT     31077298292
79895559972B32   LAURA        FRANKLIN                     CO     90012635599
798959A9733624   JACQUELINE   CAMPBELL                     NC     90011519097
79895A28947956   SHASTA       FRANK                        AR     90014240289
798975A8855969   JOHN         VALDEZ                       CA     48045765088
7989881428B142   ANA          MORENO                       UT     90011958142
7989926218B142   JEFFREY      CHIDESTER                    UT     31094532621
798996A7533624   SHELIA       SHAW                         NC     90010666075
798999A8331466   LACHANDA     PARKER                       MO     90001079083
79899A8A78B168   STACEY       WOODS                        UT     31070750807
798B1379361958   VALERIE      AYALA                        CA     46094563793
798B1841891588   MARIA        RODRIGUEZ                    TX     90009478418
798B1976A51355   ERLINDO      MANZANAREZ                   OH     90007819760
798B1A15955939   ANTONIO      BRAVO                        CA     90009480159
798B2859791588   DIANA        HINOJO                       TX     75067778597
798B29A698B157   RICARDO      RODRIGUEZ                    UT     31013519069
798B3392655939   ELVA         RAMIREZ                      CA     90006653926
798B4116541237   MICHAEL      BRUSH                        PA     90013701165
798B4499272B42   TANYA        PICKETT                      CO     90006174992
798B4725241237   DARRELL      JOHNSON                      PA     90015517252
798B4957451355   TODD         MARCK                        OH     90010239574
798B5485A71921   MARTHA       GARDEA DEOZUNA               CO     32066014850
798B562425B522   POLLY        LEDMAN                       NM     35006796242
798B6144751348   TIFFANY      DAVIS                        OH     90010641447
798B6152355969   BRISA        FLORES                       CA     48002221523
798B6333661967   GERARDO      BERSALONA                    CA     90002653336
798B762348B142   DEBORAH      STEED                        UT     90010346234
798B847485B59B   JUSTIN       OVERTON                      NM     90007934748
798B8729472B44   JEANETTE     WHATLEY                      CO     33091687294
798B8A76A81633   SHARI        PEREW                        MO     90014800760
798B9171384363   HUBERTA      RODRIGUEZ                    SC     90012731713
798BB2A992B257   ZAHRAH       REYAD                        DC     90011592099
798BB411291924   TAMIKA       PERRY                        NC     90004844112
7991195AA55969   DELIA        LOPEZ                        CA     90013129500
7991425948B142   ANGELICA     ESTRADA                      UT     31083842594
79915A5348B142   REBECCA      SPADER                       UT     90009670534
79916485A71921   ROBERT       KELSO                        CO     90014244850
79916854A71921   ROBERT       KELSO                        CO     90011128540
7991754A98B134   SARAH        URIEL                        UT     90008765409
7991972728B168   MANUEL       ALMEYDA                      UT     90004077272
79919A21477343   BRUNO        ADAMS                        IL     90013580214
7991B22A672B98   STEPHANIE    HERNANDEZ                    CO     90013452206
7991B398491922   JOEL         SOLIS                        NC     90007243984
7991BA58755947   ISMAEL       CRUZ                         CA     90009410587
79921867A54133   ASHLEY       RILES                        OR     90014488670
7992248569154B   SYBIL        MIJAREZ                      TX     75023574856
7992249A17B477   DEREK        MATINS                       NC     90012644901
7992427469154B   MARIA        GOODE                        TX     90009122746
7992499828B142   STACY        MAE                          UT     90003749982
79924A14651355   REGINA       RUEHLMAN                     OH     90013300146
79924A87155969   DEANNA       NAVE                         CA     90010530871
7992582638B157   DONNA        WYSINGER                     UT     31091558263
7992676A48593B   ANNA         MARCUM                       KY     90005917604
7992741A461967   RASHIDA      KIDD                         CA     46025284104
7992941178B163   BLAKE        MIJANGOS                     UT     90012274117
799298A3472B29   VASQUEZ      MAYRA                        CO     33029958034
7992B36575B59B   BRENDA       BERNAL                       NM     90013713657
7992B7A4255947   LAURA        HER                          CA     90012547042
7992B89615B385   ALFREDO      ROJAS                        OR     44546908961
79931232372B42   DANIEL       BAHATA                       CO     90010852323
799319A287B477   WILL         SMITH                        SC     90013619028
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1021 of 2350


7993249935B59B   DARLA        GABALDON                     NM     90011224993
799328AA291849   FERNANDO     WEBSTER                      OK     90012388002
799334A228B157   MARIE        HICKEN                       UT     90010654022
7993359678B391   JOHN         BAUGHMAN                     SC     90011915967
7993479999154B   VERONICA     HERNANDEZ                    TX     75053257999
79934933772B32   LECIA        LA'CHELLE                    CO     33025939337
799349A855B281   ROBERT       ONEIL                        KY     90001799085
799354A7451348   DARLENE      TUCKER                       OH     90014404074
7993561358B134   JOHN         KOVALENKO                    UT     90010476135
79936282172B29   KISA         BROWN                        CO     90011052821
7993817A43B384   RUBEN        ALCANTAR                     CO     90005091704
79938619A55939   MARIAN       RODRIGUEZ                    CA     90009596190
799387A549154B   CARLOS       CAMARILLO                    TX     90006697054
799392A2A8B189   IRENE        LEMUS                        UT     90011262020
799393A7971921   THOMAS       AMER                         CO     90007733079
79939923A7B477   BOBBY        CURRIE                       NC     11051459230
79939A2228B142   MARIA        RIZO DIAZ                    UT     31008590222
7993B33A37B477   CHRISTINE    MCGURK                       NC     11055773303
7993B358533698   JERRY        MCCLEAVE                     NC     12071663585
799411A563B38B   AMBER        TORRES                       CO     90011041056
7994167987B477   KADESHA      HUNTER                       NC     90014466798
7994173718B168   ANA          GUAYO                        UT     90004077371
799425A377B662   NOE          HERNANDEZ                    GA     90015415037
79942667772B29   JAMES        ARCHULETA                    CO     90014836677
79943734A55939   ANA          LUA                          CA     90011077340
7994399319154B   GISELA       MURILLO                      TX     90011079931
79944A65A8B134   AUBRIELL     TAFT                         UT     90010790650
79944A67633698   BRITTANY     MAXWELL                      NC     90010890676
79948719A51355   RICKY        JACKSON                      OH     90008067190
79948975572B32   RAYMOND      DURAN                        CO     90015559755
79948A4937B477   MOISES       MENJIVAR                     NC     90003240493
7994914717B477   MAYNOR       LOPEZ                        NC     90007011471
79949492A55939   PRISCILLA    HERRERA                      CA     90014474920
7994B69A72B829   SARAH        EVANS                        ID     90003796907
7994B982A8B168   SHAUNA       BISHOP                       UT     90005599820
7995127788B142   ELENA        ALAND                        UT     90014442778
7995173855B59B   JARED        CHAVEZ                       NM     90014817385
7995173988B136   ANTHONY      JOHNSON                      UT     31097717398
79951A32161941   LUIS         GASPAR                       CA     46089280321
79952252472B29   TASHIARA     DICKERSON                    CO     90015112524
79953149872B32   RACHEL       HODGE                        CO     90012611498
7995415599154B   ROBERTO      MAYMI                        TX     90003281559
7995434915B385   PENNY        JAEGER                       OR     90013923491
7995452147B372   MARIALENA    ORTIZ SALVATIERRA            VA     81062345214
7995488587B477   LUCY         TEAH                         NC     90013618858
79955A45941237   AMBER        ATKINS                       PA     51012070459
79956A1165B541   GAIL         PASCOE                       NM     90014850116
79956A2698B134   OSCAR        SANDOVAL                     UT     31059510269
7995772578B157   MARIO        MONTOYA                      UT     31005627257
7995925848B134   JOHN         COOK                         UT     31032852584
79959359A72B29   RANDY        CONNER                       CO     33035593590
79959815572B32   SANDRA       MARES                        CO     90001978155
79961258172B44   JESUS        GONZALEZ                     CO     90010082581
7996161158B142   ANNA THIA    WILLIAMSON                   UT     90003056115
7996233318B142   MICHAEL      JENSEN                       UT     90014973331
7996268218B168   TRACY        LAWS                         UT     31039936821
7996278A572B29   DESTINY      FERNANDEZ                    CO     33009497805
79963587172B29   EDGAR        LINARES                      CO     90005295871
7996426328B142   JESSICA      LANDON                       UT     90012222632
7996465975B59B   MARIO        MOLINA                       NM     90013156597
7996686468B134   SHANE        SIMPSON                      UT     90013218646
7996934188B157   RAFAEL       FLORES                       UT     90010363418
7996934568B142   JOSE         CRUZ                         UT     90015003456
7996975745B385   JENNIFER     SHULER                       OR     90009237574
79969A4579154B   CHRISTINE    SANCHEZ                      TX     90004040457
79969AA343147B   RENEE        JOHNSON                      MO     90013210034
7996B336661967   JEAN         MITEAU CHARLES               CA     90015323366
7996B72918B142   CALLI        MIKESELL                     UT     31022347291
79972286172B44   SILVIA       ROJAS                        CO     33040602861
7997235398B157   NATALIE      MASCARO                      UT     90008933539
799725A668B134   ERICKSON     KRISTIN                      UT     90010585066
79973775A33698   ALICIA       ALSTON                       NC     90007887750
7997389248B142   NANCY        MOURE                        UT     31085578924
79973A6A891588   ANGELIA      ARELLANO                     TX     90000650608
79973A85A72B32   MICHAEL      PINKETT                      CO     33049320850
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1022 of 2350


79974562172B29   JUDITH        HERNANDEZ                   CO     33067895621
7997596182B994   DINA          LEAGUE                      CA     45018289618
79975A14572B29   MONIQUE       TUGGLE                      CO     90011040145
79977271172B32   JOSE          NIETO                       CO     90011392711
7997848A781633   NATALIE       HOWE                        MO     90015024807
7997872567B49B   TERESA        TILLMAN MARSHALL            NC     90001077256
79978A98655939   EUSTREBERTO   GONZALEZ                    CA     90015090986
7997B392672B29   IGNACIA       CARRILLO                    CO     33046993926
7997B3A3333624   LEE           THOMAS                      NC     90010863033
7997B5A3293739   CONITA        FLOYD                       OH     64543045032
7998139A172B29   JOSE LUIS     DELGADILLO                  CO     33035053901
79981497A4B562   SHEENA        HENDRICKS                   OK     90001604970
7998171858B157   BRITTANY      BLACKBURN                   UT     31082957185
79982A77991869   AKIA          WAGONER                     OK     90000540779
799834A878B142   STEPHANIE     UNTHANK                     UT     90015004087
7998417789154B   JESUS         PORTILLO                    TX     75089761778
79984541A5B59B   YVETTE        SANCHEZ                     NM     90007935410
79984854A55969   MERCY         DIAZ                        CA     90013748540
7998558A47B477   DOUG          JONES                       NC     90011475804
799865A5172B32   OFELIA        TREVIZO                     CO     33084775051
7998718388B157   MICHELLE      MARTIN                      UT     90009141838
799873A8651348   CHRISTY       ROLLYSON                    OH     90001903086
7998855512B994   ALEXANDER     SUMMERVILLE                 CA     90013045551
7998863515B385   KELLY         MALLON                      OR     90000296351
7998869A62B895   DENETTA       NEGRETTE                    ID     90014936906
79988792972B29   KATHREEN      GRAY                        CO     90007267929
79988815372B44   ANAVEL        DOMINGUEZ                   UT     90002038153
7998897159154B   NOEMI         BARRIENTOS                  TX     90011129715
79988A8A88593B   TAMMY         JULIAN                      KY     90004160808
7998962A741253   LYNDSAY       SPARBANIE                   PA     90014906207
7998983A37B477   CASEY         CALACI                      NC     90014648303
7999134A872B32   JAMES         MENDEZ                      CO     90014833408
79991747A5B385   MATTHEW       STROBEN                     OR     44513287470
79991A3525B375   JAMIE         SERVIN GAONA                OR     90012640352
7999228767B477   TRACEY        HOPSON                      NC     90013012876
799934A269154B   MIRKAZORAYA   AGUILAR                     TX     90011094026
799938A8441237   CHARLIE       WARR                        PA     51000058084
7999477A561967   DOMINICA      JONES                       CA     46078807705
799951A2551355   KIMBERLY      BELLOMO                     OH     90002141025
79995AA239154B   ERIC          RIOS                        TX     90009050023
79996A44741237   CHRIS         ANKES                       PA     90015220447
799981A7955939   SAYDA         PEREZ                       CA     90001871079
799994A4872B44   CORNELIO      ARREDONDO                   CO     33028284048
799994A7955939   MA ELIUTH     DELGADO-LLUVIANO            CA     48002154079
79999764A51355   JACOB         MELFORD                     OH     90011937640
7999B139951355   ELMOCTAR      LEMINE                      KY     66041931399
7999B4A3A5B59B   BIENVENIDO    OTERO-ORDONEZ               NM     90013074030
7999B618172B32   ANA           MIJAREZ                     CO     90011316181
7999B82418B142   TAMARA        HERNANDEZ                   UT     31003708241
7999BAA897B657   CHRISTOPHER   BOYD                        GA     90011500089
799B1335255969   RONDA         MILLER                      CA     48029013352
799B139145B597   BRYAN         LLOYD                       NM     90006553914
799B1445386436   NICHOLAS      HEINRICH                    SC     90014094453
799B2397971921   JACK          STRELEC                     CO     32004903979
799B2675251348   NAPULEUN      CRAWFORD                    OH     90007236752
799B2787131443   MARK          LEE SR.                     MO     27572647871
799B282917B428   EUFRACIO      RAMOS                       NC     11008928291
799B292143168B   JENNIFER      DEMENT                      KS     90002069214
799B348988B142   SHANE         OLSEN                       UT     90014994898
799B349875B59B   CONSUELO      LEO                         NM     90008434987
799B355618B134   VEATRIZ       ALEQUIN                     UT     31085945561
799B363128B168   SHARI         VALETI                      UT     90002156312
799B36A729154B   CHERAI        STEVENS                     TX     75039816072
799B3914861967   RICARDO       VIDES                       CA     90014419148
799B394125B276   ANDRE         BROWN                       KY     90012869412
799B3A3252B242   CORNICHIA     KRIDER                      DC     90007430325
799B4253871921   TANJA         MOULTIE                     CO     32013202538
799B43A1155939   LUCERO        MENDOZA                     CA     90009633011
799B4716155947   BELINDA       GONZALES                    CA     49046427161
799B4A5427B495   ANNETTE       DAVIS                       NC     90001120542
799B511768B168   FRANCISCO     PADILLA                     UT     90010631176
799B5147961935   CHARLES       MCCARRELL                   CA     90014721479
799B541135B385   NANCY         MARTINEZ                    OR     90013834113
799B548988B142   SHANE         OLSEN                       UT     90014994898
799B5939571921   ELIZABETH     LOPEZ                       CO     90008809395
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1023 of 2350


799B6A24355939   PATTY          RINCO                      CA     48097310243
799B7195A81633   MARCUS         DRIZZLE                    MO     90011091950
799B7324A72B32   MONICA         FRESQUEZ                   CO     90014943240
799B748988B142   SHANE          OLSEN                      UT     90014994898
799B771468B163   MELINDA        FLEENOR                    UT     90004097146
799B96A276193B   MARCO          LOPEZ                      CA     90004826027
799B9738291578   JAIME          VASQUEZ                    TX     90001707382
799B9754477524   BERNICE        KAINA                      NV     90008517544
799BB135433675   KATOSHA        POINDEXTER                 NC     90011391354
799BB965191855   DEBRA          TATE                       OK     90004239651
799BBA77671921   PERTRESSIA     REDDICK                    CO     90013220776
79B11823461967   LUIS           RODRIGUEZ                  CA     46089328234
79B11A69A81633   KEVIN          YOUNG                      MO     90011060690
79B12138551348   RAYMOND        ROBERTS                    OH     90013481385
79B1224395B385   ALEJO          CRUZ                       OR     90015312439
79B1242888B142   HARLEY         ADAMSON                    UT     90010954288
79B12548555939   SALVADOR       QUIROZ                     CA     90009515485
79B12747155966   LEO            TREVINO                    CA     48025337471
79B12891831432   AMANDA         KEEVEN                     MO     90010798918
79B1333188B142   ISIDORO        VALDOVINOS                 UT     31097513318
79B1386A85B279   CLARA MARIE    FRANKLIN                   KY     90009338608
79B1432335B385   CHARLES        NORRIS                     OR     90013463233
79B14571691578   JORGE          HINOJOSA                   TX     90014005716
79B14938341483   TRINA          PHILLIPS                   WI     90013699383
79B15315572B32   DANIEL DAVID   CHAVEZ                     CO     90013673155
79B154A1772B29   ALBERTO        OVALLE                     CO     90010574017
79B15659186B41   JULIE          HARVILLE                   CT     90011696591
79B15829A55939   TIFFANY        WARD                       CA     90014468290
79B171AA771921   MARINA         MCKEY                      CO     90001891007
79B1756848B163   CHAMPAYNE      TOOMBS                     UT     90003815684
79B17967661967   EVONY          FRAZIER                    CA     46066439676
79B18657171921   ERIESON        CHAVEZ                     CO     90003106571
79B18AA6451348   SHERRI         LEWIS                      OH     66037470064
79B19151755939   SONIA          SEGEURA                    CA     90012771517
79B19681631443   MARCEL         HARRIS                     MO     90013486816
79B19723672B29   CYNTHIA        FIORAVANTI                 CO     90008757236
79B1B429172B44   BRENDA         CLARKE                     CO     33050684291
79B1B886341253   DANIEL         HODAK                      PA     90015178863
79B1BA7918B142   STACY          TURPIN                     UT     90008040791
79B2181528B142   ZACKERY        TOLENTINO                  UT     90014808152
79B21892181633   KING           TUCK                       MO     90009348921
79B22157A72B29   ANGEL          MEJIA MANTAR               CO     90001481570
79B22377281633   DAVID          HEMBRECHT                  MO     29098523772
79B2284587B477   BRENDA         HERRERA                    SC     90012938458
79B2323458B157   TIFFANY        ALLEN                      UT     31007702345
79B23A7A531433   JOHN           BROCKEL                    MO     27513560705
79B24395233624   MICHAEL        KELLY                      NC     90010763952
79B24939A9154B   HECTOR         CERA                       TX     75038899390
79B25474555939   JESUS          AMEZCUA                    CA     48060064745
79B26588A8B168   PATRICIA       LOPEZ                      UT     90012915880
79B26A1A355969   PHILLIP        PEREZ                      CA     90009710103
79B27235272B32   JUAN           TORRES                     CO     33076302352
79B27459961967   MICHAEL        ROGERS                     CA     90012864599
79B27646177524   SANTURINO      GUTIERREZ-SANCHEZ          NV     43082856461
79B27716A61964   CODY           HARSTAD                    CA     90011377160
79B27783833698   TAMARA         JONES                      NC     12001787838
79B27A26172B29   SANTANA        LEBLANC                    CO     90014630261
79B28558551348   ASHLEY         MORMAN                     OH     90010255585
79B2864355B59B   JESSICA        STOUT                      NM     90015126435
79B2966468B134   SABITH         DELVALLE                   UT     90009216646
79B2988A261986   ARACELI        GARCIA                     CA     46088168802
79B2B553531443   RASHONDRIA     JAMES                      MO     90001965535
79B2B564677524   CHRISTOPHER    ROBERTSON                  NV     90005845646
79B2B717255947   ESTEVAN        OCHOA                      CA     90008697172
79B2B933A55939   SUSANA         GONZALES                   CA     90014699330
79B3187729154B   EMMA           HITA                       TX     90004188772
79B32283541253   ERICKA         COASTON                    PA     90014862835
79B3259815B592   ALYSSA         MILLION                    NM     90006725981
79B3269265B938   JUAN           PEREZ                      WA     90015366926
79B32735A61922   ALMA           VITELA                     CA     90010567350
79B32949855947   ANA            SENN                       CA     90014619498
79B32A58861967   EDGAR          CASTRELLON                 CA     90009210588
79B32A6748B142   TROY           MCEWAN                     UT     31029650674
79B32A83172B29   CANDICE        ZACH                       CO     33070580831
79B32A98991588   CATHERINE      BOCCUTO                    TX     90013710989
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1024 of 2350


79B3332393B336   DONALD        GALLEGOS                    CO     90007263239
79B33592672B44   GUADALUPE     ALMENDAREZ                  CO     33075505926
79B346A3171921   ALEX          CORDOVA                     CO     90013836031
79B34949855947   ANA           SENN                        CA     90014619498
79B34AA618B134   LUZ           PINEDA                      UT     90014880061
79B35517A8B874   M AND M       DANIS                       HI     90012175170
79B3573665B28B   VODRIA        GRAVES                      KY     90008587366
79B3619A48B163   GENE          BAILEY                      UT     90012971904
79B361A4241246   JAIMEE        HOFFMAN                     PA     90005511042
79B36591172B42   BRENDA        THOMAS                      CO     90001685911
79B36729655969   CHRIS         SALAZAR                     CA     90012727296
79B3678A161991   JOSE          HERNANDEZ                   CA     46000287801
79B36A56A55947   SARA          GUTIERREZ                   CA     49048800560
79B3727485B569   FABRICIO      CACERES-AYALA               NM     90007242748
79B37278541253   VINCENT       BONIDIE                     PA     51012672785
79B37536672B32   TODD          NEWSOME                     CO     33089255366
79B37586393739   DARNELL       JACKSON                     OH     90001135863
79B3774369154B   GEORGINA      MORALES                     TX     90011077436
79B37A55791588   CLAUDIA       LOPEZ                       TX     75064760557
79B38949855947   ANA           SENN                        CA     90014619498
79B38A72855939   ANTONIO       FLORES                      CA     90012160728
79B39561581633   LOU           MEREDITH                    MO     90014665615
79B3986A761967   VALLE         CELEDONIO                   CA     46026448607
79B39943754149   OLIVER        BLEVINS                     OR     90007219437
79B3B1A8491588   JORGE         ROBLES                      TX     90014021084
79B3B884271921   CANDICE       DELEON                      CO     90013678842
79B41434591588   ANDREA        CHAPARRO                    TX     90009344345
79B41454331433   RICKY         EMILY                       MO     90014774543
79B41921955947   KAREN         FLOYD                       CA     49000689219
79B42126572B29   RODNEY        YOUNG                       CO     33053731265
79B4239359154B   OSCAR         ALBERTO                     TX     75082503935
79B43225555969   BRENDA        CABRERA                     CA     90013992255
79B4359462B994   THOMAS        HOLTE                       CA     45086075946
79B43871741246   DANIELLE      BOWIE                       PA     90003948717
79B43A11461967   FRANCISCO     HERRERA                     CA     90009990114
79B45498255969   MELISSA       QUIROZ                      CA     90011204982
79B4554317B477   TAMMY         MILTER                      NC     90014545431
79B46375255939   ELIZABETH     JIMENEZ                     CA     90008933752
79B46542941253   CHARLENE      HUMBERT                     PA     90010285429
79B46936651348   MINDY         JODREY                      OH     90014559366
79B47432471921   AARON         MENZA                       CO     32099044324
79B47827691588   ARLENE        RIVERA                      TX     90012248276
79B4795312B895   JUAN CARLOS   FLORES                      ID     90011999531
79B47A65A61967   STACEY        ALBERTSON                   CA     90010770650
79B47A76251355   MACKENZIE     HORVATH                     OH     90014830762
79B482AA555939   ROBERTO       VARGAS DIAZ                 CA     90015222005
79B48584371921   MARCELLA      LEYBA                       CO     32057555843
79B48611291588   YVONNE        NOWELL                      TX     75047296112
79B4913489154B   EUNICE        CHICO                       TX     75053841348
79B49316241237   WILLIAM       HEASLEY                     PA     90011083162
79B49681941253   BRANDY        MARKS                       PA     90000386819
79B4B12343168B   ANGEL         AARTEMIO MEJIA LOPEZ        KS     22047461234
79B4B866955947   TERESA        MORALES BOURBON             CA     49069078669
79B53118171921   SHARON        VANN                        CO     32041341181
79B53158657127   NANA          ANA                         VA     90010721586
79B53188393772   JOSH          PARISH                      OH     90008781883
79B535A1171921   GABRIELLE     COLLINS                     CO     90011415011
79B5468898B168   CHRISTOPHER   ZUBECK                      UT     90002796889
79B54945551348   DOMINIQUE     LANAY                       OH     90006509455
79B54A12455939   CHARLIE       NEAL                        CA     90012980124
79B55158441227   LOUISE        ATKINS                      PA     51039871584
79B55163841253   JEAN          KIMBALL                     PA     51045631638
79B5589375138B   WANDA         FRIEND                      OH     90008038937
79B55A5A171921   LUCAS         SIKES                       CO     90013230501
79B5671A761967   INEZ          AYALA                       CA     90014987107
79B5739118B168   MOEUN         JEONG                       UT     90011813911
79B5777158325B   JEFFREY       SOSTAND                     TX     71094377715
79B5793988B142   MARIA         HERRERA                     UT     90011659398
79B57A45355969   MICHAEL       CASTRO                      CA     90014170453
79B58499A33698   LILLIETH      MOBLEY                      NC     90014734990
79B58687971921   RAYMOND       LEDFORD                     CO     90012256879
79B59226A7B477   WANDA         MCPHERSON                   NC     11008742260
79B59418355969   JOSE T        ARRIAZA GRANADOS            CA     90014564183
79B5952315B59B   WALTER        CURLISS                     NM     35044025231
79B5993988B142   MARIA         HERRERA                     UT     90011659398
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1025 of 2350


79B599A2791588   CARLOS           QUEREQUE                 TX     90014619027
79B5B131191578   RUBEN            GONZALEZ                 TX     90001061311
79B5B166561967   MARIA            VEGA                     CA     90014091665
79B5B518171921   ISAAC            HEPBURN                  CO     32091715181
79B5B536A72B44   SUSAN            MCKEON                   CO     33038055360
79B5B627241246   PETER            THOMPSON                 PA     51048486272
79B5B867755939   MARTIN           GALLEGOS                 CA     48040608677
79B61499941237   KRISTIN          MAYBERRY                 PA     90010264999
79B61A4138436B   SHARON           LARA                     SC     19088380413
79B62473355997   BERTHA           ARTEAGA                  CA     90012324733
79B624A7651348   APRIL            CLAY                     OH     90013934076
79B6261A251355   AMIA             VAUGHIN                  OH     66015246102
79B63518772B32   MARISSA          BOSS                     CO     90012695187
79B63557551348   MONICA           RICHARDS                 OH     66080615575
79B6374657B477   VINAY            ARALI                    NC     90010467465
79B63784491566   MARTHA           RODRIGUEZ                TX     90005397844
79B6398425B59B   BRENDA MARISOL   MACIAS CAMPOS            NM     90013259842
79B65222251348   ARTURO           PAREFES                  OH     90012672222
79B65673772B29   ANNIKA           LANNING                  CO     90011666737
79B65874161967   BRENDA           LOPEZ                    CA     90002708741
79B6689115B385   DOUGLAS J        BRISTOW                  OR     90015198911
79B67178733698   DANNY            CARMON                   NC     90009701787
79B6752792B84B   MICHAEL          LOSE                     ID     42098665279
79B67724472B29   KENNETH          PADILLA                  CO     90014147244
79B6793988B142   MARIA            HERRERA                  UT     90011659398
79B67A3798B134   JOSE             SEGURA                   UT     90000220379
79B68312933698   JACQUELINE       BLACKWELL                NC     90014763129
79B68357A72B44   BLANCA           GUTIERREZ                CO     90008893570
79B68621361967   BRIAN            PARKER                   CA     46044156213
79B6873A68B157   BIJOU            LEMBA                    UT     90009547306
79B68966793767   ANNA             HILL                     OH     90013139667
79B6919818B134   MIQUEL           FOX                      UT     90008651981
79B69694655947   OSVALDO          REYES                    CA     49030526946
79B6B11627B42B   LUCIA            FUERTE                   NC     90008891162
79B6B21895B59B   DON              HARRIS                   NM     35084722189
79B6B351181633   BRENDA           RIFF                     MO     90013883511
79B6B685691588   DELARCO          ELECTRONICS              TX     75022046856
79B6B83568B134   PATRICK          MONREAL                  UT     90012508356
79B6B97219154B   TARAZON          DENISSE                  TX     90005409721
79B6BAA227B477   ARMANDO          RAMIREZ                  NC     90013930022
79B7119397B477   MICHAEL          RUSSELL                  NC     90011441939
79B71653155953   BETTY            WALTON                   CA     90015306531
79B71746231443   DONNA            CRAIG                    MO     90005107462
79B732A4A55947   CESAR            MALFAVON                 CA     90012662040
79B7355454B961   BIANCA           ROBERTSON                TX     90012235545
79B73629172B44   ROSA             ESCOBAR                  CO     33021836291
79B7394858B874   BRANDON          TAFEA                    HI     90015099485
79B74119841237   LISA             PAYNE                    PA     51006511198
79B7421358B163   MARIA            COOK                     UT     31066152135
79B74266661967   REBECCA          SCAWTHORN                CA     90010282666
79B7469845B385   SHANNON          BOSTON                   OR     44586316984
79B7546349154B   DORA             MIRANDA                  TX     75097584634
79B77534861967   JESUS            SANCHEZ                  CA     90009825348
79B7788645B385   STEPHEN          CAIN                     OR     90014048864
79B78546131432   ROBERT           STUMBORG                 MO     27564985461
79B7873A87B477   MARTHA           CHAVEZ TREJO             NC     90009907308
79B78961981633   JIMI             ISBELL                   MO     90009129619
79B79246241237   AUDREYS          SNEADSS                  PA     90006722462
79B7934597B477   NICHOLAS         CANNON                   NC     90013813459
79B79669972B32   VIRGINIA         BALDWIN                  CO     90012916699
79B7B592877343   LEONARD          MILLS                    IL     90015445928
79B7B64735B183   CLINTON          ROGERS                   AR     90005046473
79B7B668191588   MARIA            ACUNA                    TX     90009656681
79B7B981155947   VICTOR           CABRENA                  CA     90012809811
79B82542984343   JOSHUA           WILKINSON                SC     90012535429
79B8267945B385   DEAN             WEST JR                  OR     90013696794
79B82712155939   LAMPA            MATUSALEM                CA     48097567121
79B83161431433   MCINNIS          CATHLENE                 MO     27502081614
79B83678555939   LUIS ALBERTO     RODRIGUEZ                CA     90013806785
79B83746A7B357   JULIE            LUCAS                    VA     90007467460
79B8391A272B44   DESIREE          MARTINEZ                 CO     90010399102
79B84119841237   LISA             PAYNE                    PA     51006511198
79B84362151396   KRIS             GARDNER                  OH     90005373621
79B84436A91588   JULIA            CHAVEZ                   TX     90004704360
79B84524355947   MATTHEW          COLE                     CA     49079875243
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1026 of 2350


79B84AA348B157   JENNIFER     BUTTARS                      UT     31077100034
79B8543547B477   RENEE        GLEATON                      NC     90011154354
79B86135A41227   KRISTEN      ALLEN                        PA     90006891350
79B8621268B157   LETICIA      FUENTES                      UT     31050452126
79B86431571964   CRYSTAL      HORTON                       CO     38049534315
79B86476933698   KIVA         WINFREE                      NC     90011014769
79B866A1461967   SARAI        CITAL                        CA     90008426014
79B86978855947   JOSE         MANZO                        CA     90014619788
79B86A7268B142   TRACEY       RASMUSSEN                    UT     31095670726
79B87146741253   KESHIA       HATTEN                       PA     90009841467
79B87997871921   DEANNA       FOTI                         CO     32045499978
79B88518841237   THOMAS       KOSLOSKY                     PA     90013875188
79B89368972B29   ANDREW       SANDOMIRE                    CO     33012623689
79B8983A461967   NICHOLAS     DRAKE                        CA     90013888304
79B8B597533699   JOY          CAESAR                       NC     12070005975
79B8B657A55939   SYLVIA       ESTRADA                      CA     48045486570
79B8B684855969   MIKE         HAMLIN                       CA     48097156848
79B8BA92561967   OFELIA       SECADA                       CA     90008130925
79B91A32455947   DIANA        ROMERO                       CA     90008950324
79B91A86731432   WILLIAM      CLAYTON                      MO     90004990867
79B926A6751348   TIM          FUGATE                       OH     90001086067
79B9297418B142   KARINA       ALCARAZ                      UT     90014829741
79B9332398B134   AMBER        COX                          UT     90011473239
79B93A7A661927   BAHEZ        RASHEED                      CA     90012230706
79B94911293739   ENRIQUE      MARTINEZ                     OH     90011809112
79B95289A41253   DOLORES      ALLEN                        PA     90013382890
79B9541A151348   SCOTT        BRYANT                       OH     90013934101
79B95443733698   ROBERT       TAYLOR                       NC     90010804437
79B9624955B596   FINESSE      GRANT                        NM     35093002495
79B9735A861967   JUAN         ACOSTA                       CA     90001343508
79B97667131443   STANLEY      JOHNSON                      MO     27576696671
79B97671271921   JODY         DAILY                        CO     32012086712
79B977A9855939   CAROLINA     GUTIERREZ                    CA     48068607098
79B97957241237   MICA         HUMPHREY                     PA     90006059572
79B98235851355   ROB          WOLS                         OH     90015452358
79B9B138891588   KAREN L.     DAVIS                        TX     90009001388
79BB1A86772B29   SCOTT        HOLLISTER                    CO     33006010867
79BB2273972B29   JOSHUA       MARQUEZ                      CO     90013982739
79BB237273B35B   KIM          REUTER                       CO     90012023727
79BB247515B385   MICHAEL      DINAN                        OR     44511324751
79BB274A29154B   FELICA       WILLIAMS                     TX     90011077402
79BB3216741253   KATHLEEN     TIMLIN                       PA     90010962167
79BB325575B59B   SIGIFREDO    JIMENEZ                      NM     90012142557
79BB3445131433   JOHN         PARKER                       MO     27529374451
79BB3578155939   JUAN         MARTINEZ                     CA     90012545781
79BB3A2395B385   CLAYTON      EPPS                         OR     44504940239
79BB45A878B142   MICHELE      WOZAB                        UT     90015235087
79BB489A78B134   SAREK        PURNS                        UT     90010978907
79BB5359A51348   GRACIE       DUNCAN                       OH     90004313590
79BB6121131433   NAKISHA      VINCENT                      MO     27505751211
79BB64A597B477   CARLOS       PEREZ                        SC     11051874059
79BB7272641253   CRYSTAL      DAVIS                        PA     51092632726
79BB7992891588   RAY          QUINOZ                       TX     90010739928
79BB8147241227   ANGELEET     NELSON                       PA     51041321472
79BB8155655969   SANCHEZ      ARTURO                       CA     48034501556
79BB8448998B2B   PARIS        WELCH                        NC     90000884489
79BB9435872B29   ENRIQUE      BARBOSA                      CO     90015184358
79BB99A8A41237   LAURA        WOESTER                      PA     90013759080
79BBB25A65B59B   MELANIE      SILVA                        NM     90012642506
79BBB34658B157   DAN          SEVERSON                     UT     31006343465
79BBB766441253   MEET         SHAH                         PA     90012117664
79BBB974A55953   BROOKE       ROSE                         CA     90008219740
7B111766133699   EBONY        DAVIS                        NC     90013757661
7B112132372479   BELINDA      YAGER                        PA     90006701323
7B112392172B32   TINA         BOTHUM                       CO     33050323921
7B113391593736   DANIELLE     ROWLAND                      OH     64553453915
7B11374652B994   CHRISTINA    LOPEZ                        CA     45051907465
7B11381165B59B   AMANDA       DIAZ                         NM     90014888116
7B1138A523B325   TAMARA       MCCARTY                      CO     33062878052
7B113A54957157   GBLBELTO     FLORES                       VA     90015370549
7B114493584322   VICTOR       ROJAS                        SC     90007674935
7B114495261935   DALTON       OGDEN                        CA     90011754952
7B114591197B23   LAURA        DMYTRENKO                    CO     90003645911
7B114932841227   DEBORAH R    WILLIAMS                     PA     51085269328
7B114979872B44   GLENN        FRANK                        CO     90012349798
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1027 of 2350


7B114A91A61964   AMANDA       HATFIELD                     CA     90014780910
7B115395872441   MATTHEW      LAMPICH                      PA     51046533958
7B115535927B98   JUWAN        MYLES                        KY     90012015359
7B115A97372479   HOWARD       QUIGLEY JR.                  PA     51049250973
7B11624744B572   MELISSA      MORGAN                       OK     90014252474
7B11642A99154B   JAVIER       MENDEZ                       TX     90014804209
7B116599A72479   DAN          RETTINGER                    PA     90010735990
7B11675565B59B   STEPHEBN     GOSLOW                       NM     35080407556
7B1167AA672441   KRISTINA     JOHNSON                      PA     90010937006
7B11694A472441   KRISTINA     JOHNSON                      PA     90014599404
7B117192272B29   MIKE         MANZANERAS                   CO     90012091922
7B11743525B59B   ELOY         ABEYTA                       NM     35071054352
7B117469833B32   GABRIEL      GUTIERREZ                    OH     90014254698
7B117672255947   ALEJANDRO    GARCIA                       CA     49033996722
7B11778522B271   BERNABE      SANTO                        DC     90008327852
7B117813A51348   SUMMER       COLWELL                      OH     90012498130
7B117955755931   TOM          ESTRADA                      CA     90014819557
7B1179A438593B   SANDRA       MYERS                        KY     90015149043
7B11813698B157   ALICIA       BURGOS                       UT     90015071369
7B118274277977   SALVADOR     AVILA                        IL     90015542742
7B118444993736   VERNA        YOUNG                        OH     90012954449
7B11845A257157   JESSICA      FARLEY                       VA     90009804502
7B118A5128B157   JESSICA      SIERRA                       UT     90013070512
7B11911967B449   DEWY         LANDAVERDE                   NC     90008891196
7B1191A4131432   JUDY         RAGSDALE                     MO     27585821041
7B11921258B142   AMY          MARLER                       UT     90013932125
7B11925A657157   HEIDI        GONZALEZ                     VA     90012152506
7B119328984322   ASHLEY       RAMOS                        SC     90011513289
7B11B963157157   NAULO        FUENTES                      VA     90013119631
7B121258884322   WALTER       ROBERTSON                    SC     90013552588
7B121258A9154B   VALERIA      HERNADEZ                     TX     90013142580
7B121598241227   CHARLES      HINERMAN                     PA     51070115982
7B121723197B97   MARIA        RODRIGUEZ                    CO     90011117231
7B12183A681633   MARQUESHA    MOORE                        MO     90002068306
7B122374157556   ALEJANDRA    PARRA                        NM     90009243741
7B1223A348B134   JUAN         FUENTES                      UT     90013553034
7B12255513168B   ENOIS        SCROGGINS                    KS     22065565551
7B12263A18B163   JOSE         BOOX                         UT     31012996301
7B12293A35B59B   DANIEL       OLIVAS                       NM     35065019303
7B123249933699   RAKEMA       WILLIAMSON                   NC     90015092499
7B123447A57556   MARIA        MALDONADO                    NM     90014614470
7B123921741237   STEPHEN      MONGIOVI                     PA     90008399217
7B123991A27B98   DEMARIUS     CAGER                        KY     90015369910
7B124152A41227   LAWRENCE     SCHELL                       PA     90001441520
7B124187481643   MARIA        MORALES                      MO     90011201874
7B12483838B163   RICHARD      CHRISTIANSEN                 UT     31086358383
7B1258A7881633   TAMIRA       OVIEDO                       MO     90013118078
7B12594884128B   KIMBERLY     MORGAN                       PA     90000209488
7B12642585B169   DARRYL       HAYNES                       AR     23091914258
7B126484272B44   LEONARDO     VALENCIA                     CO     90014214842
7B12694AA8B157   JEANNIE      PARSONS                      UT     90012589400
7B126A3353162B   EMILY        KINDEL                       KS     90004460335
7B126A87972B32   MIN          AH                           CO     90014800879
7B127151A81633   WAYNE        BRIGGS                       MO     29001601510
7B127287A72B93   SONIA        OLESKEVICH                   CO     90005692870
7B12756775B59B   BRIANLEE     WEBB                         NM     90012585677
7B127667133699   STEPHANIE    COLEMAN                      NC     12094686671
7B127767147874   CARL         LEBLANC                      GA     90001517671
7B127899472441   MARK         CRIDER                       PA     51048858994
7B12837A881633   JOSH         HAYNES                       MO     90015273708
7B128818255966   ELDON        PACE                         CA     90013008182
7B12897A955931   PHETSAMONE   PHIMMASONE                   CA     90014819709
7B1294A3257157   JOSE         ALVAREZ                      VA     90014884032
7B129628181643   JASON        GRAHAM                       MO     90009706281
7B129864757563   MARIA        RAMIREZ                      NM     90014408647
7B129A85A31432   INES         REYES                        MO     90012730850
7B12B16948B163   STEPHANIE    STIREMAN                     UT     31080071694
7B12B32A333681   BRENDA       ANDERSON                     NC     90001993203
7B12B431851348   ALEXANDER    DIAZ                         OH     90011134318
7B12B911381643   ISAI         ANAVISCA                     KS     90007169113
7B131499677524   ANDREW       SNYDER                       NV     43016324996
7B1314A9A71921   LINDA        BRUNNER                      CO     90013624090
7B13181848593B   DEREK        TURNER                       KY     90008428184
7B131849A57157   JONATHAN     HERNANDEZ                    VA     90014078490
7B131A46357556   MEDRANO      VIRGINIA                     NM     90005190463
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1028 of 2350


7B13213AA5B384   JUSTIN         REYNOLDS                   OR     90014901300
7B132269272B98   VICTOR         CRUZ                       CO     33088862692
7B132A6175B59B   DESIREE        FLORES                     NM     35089690617
7B133316181643   KATEIA         GOULDEN                    MO     29056703161
7B13398A672479   KAREN          MAPLE                      PA     90013959806
7B134679377524   BRIAN          BUCK                       NV     90010376793
7B13469942B271   BRITTANY       JONES                      DC     90007386994
7B13478687B661   CLARA          TOLBERT                    GA     15086737868
7B13484A13168B   BRITTANY       HALL                       KS     90007518401
7B13556349154B   JOSUE          ANCHONDO                   TX     75008135634
7B1355A245B596   DIANE          SANCHEZ                    NM     35013625024
7B1355A628B163   ROBIN          BADCA                      UT     90013125062
7B135714127B98   JEANON         CHAMBERS                   KY     90008837141
7B1358A6993736   ROBIN          JOHNSON                    OH     90013908069
7B13617A271921   TARA           STEWART                    CO     90010151702
7B1361A655B596   MELISSA        BUDDE                      NM     35075181065
7B13636558593B   WESLEY         KIRALY                     KY     90011843655
7B136374855931   DAJA MONIQUE   HAMPTON                    CA     90013543748
7B13643A572B29   THURMAN        PHILLIPS                   CO     90006514305
7B136835757157   HECTOR         FERRERA                    VA     81075568357
7B137226A33698   ROSTELL        TOOLE                      NC     90014152260
7B1372A9772B32   RALPH          ESPINOZA II                CO     33050872097
7B137578593726   JAMES          PORTER                     OH     64595045785
7B137858455966   BRIANA         MARTINEZ                   CA     90013008584
7B1378A1955966   RAUL           CHAVEZ                     CA     90011248019
7B1379A892B271   CALVIN         DICKENS                    DC     90014849089
7B13829A255947   MARIO          MENDOZA                    CA     49004372902
7B138498255982   MELISSA        QUIROZ                     CA     90011204982
7B138566171923   SHANE          KOCH                       CO     90007475661
7B138AA812B994   JAMES          HUDSON                     CA     45062180081
7B139272855947   RAMIRO         LEDESMA                    CA     90011432728
7B139A76A8593B   MIGDALIA       ORTIZ                      KY     66014600760
7B139A7755B59B   JOSE           GUILLERMO                  NM     35019380775
7B13B149955931   JULIAN         CAMRILLO                   CA     90009371499
7B13B18817B446   JENNIFER       BOWDEN                     NC     11001911881
7B13B23828B163   DAN            CREAMER                    UT     90000332382
7B13B433141237   KENNYATTA      HERROTT                    PA     90012594331
7B13B445A31433   GEORGE         HENDERSON                  MO     27502484450
7B13B486972479   PAUL           TOMCANIN                   PA     51059644869
7B13B514293726   TONYA          BODDIE                     OH     64509235142
7B13B742551348   KHALEEL        RUFAI                      OH     90012817425
7B13BA9845B169   STACY          MALCUM                     AR     90000170984
7B141669661935   TAHIRA         MENDOZA                    CA     90011756696
7B141825555966   JORGE          PADILLA                    CA     90013808255
7B142125655947   GILBERTO       GONZALEZ                   CA     49015341256
7B142173831432   ROBERTA        DANG                       MO     90014971738
7B142242A72B44   LIZET          MENDOZA                    CO     33062452420
7B142314572421   HEATHER        FULTON                     PA     90012453145
7B142346891991   ALDA           NELLYY MARTINEZ TORRES     NC     90006053468
7B142481372B29   KIERIA         MCCLAIN                    CO     90012254813
7B142522157556   BERTHA         HERNANDEZ                  NM     90010635221
7B142523855931   JAMES          JACKSON                    CA     49084615238
7B142615591321   MARIA          OLACEO                     KS     90005036155
7B14277819154B   SANCHEZ        ISAC                       TX     90009127781
7B142786951355   BRIAN          BUSCH                      OH     90005577869
7B142917333698   DEREK          BEAN                       NC     90013849173
7B142987433699   DAGOVERTO      HERNANDEZ                  NC     12053459874
7B143177855947   FABIAN OLIVA   VAZQUEZ                    CA     90002821778
7B143451772441   DEVON          NELSON                     PA     51027894517
7B143771172421   JOHN           RITENOUR                   PA     51034857711
7B143858A5B356   LEONARD        COOK III                   OR     44582128580
7B14392522B994   ANA            NAVA                       CA     90013999252
7B143961461935   HEIDI          ARENTZ                     CA     90004469614
7B144848993739   EBONEE         BYAS                       OH     90015188489
7B14512A691563   IRMA           MEDINA DE VALDEZ           TX     90009981206
7B1453A8A5B59B   ROBERT         OCONNER                    NM     90014743080
7B14562548B168   STEPHANIE      CHRISTIANSON               UT     31087286254
7B145765A33699   CYNTHIA        SIMMONS                    NC     12008447650
7B145892341227   KPEWMOO        WAH                        PA     90013558923
7B146178472441   PAYGO          IVR ACTIVATION             PA     90014871784
7B14647642B271   KATHERINE      JOHNSON                    DC     90004694764
7B1466A375133B   JOHNNEL        SMITH                      OH     90008056037
7B146868933698   TAMMY          MEDLEY                     NC     12090398689
7B146A38593726   MONICA         TALKINGTON                 OH     64544220385
7B146A85757157   CASSANDRA      WILSON                     VA     90007500857
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1029 of 2350


7B146A97391586   JESSICA          OJEDA                    TX     90000890973
7B147485931432   TAYELIN          ARNOLD                   MO     90014574859
7B1476A714B572   CHRIS            HUFF                     OK     90008596071
7B147942755966   LAURO            RAMIREZ                  CA     90009629427
7B147A6978B157   JHOSELIN         MEZA                     UT     90011280697
7B148129391252   PAYGO            IVR ACTIVATION           GA     90009341293
7B148473693736   SAMANTHA         SPARKS                   OH     90013874736
7B14874938B142   ALICIA           RAWLINS                  UT     31091057493
7B14885AA91991   ARLETO           STEWART                  NC     90010258500
7B148967441227   GREGORY          CIESLEWICZ               PA     51044119674
7B149162472B29   DANNIELL         DICKENS                  CO     90009121624
7B149797A41253   MARY             CREELY                   PA     51090937970
7B149A42672B32   JUANA            PEREZ                    CO     33010890426
7B14B26628B134   LUANN            PRIETZEL                 UT     90011232662
7B14B396257157   KEVIN            MARQUEZ                  VA     90015153962
7B14B55314B572   JESUS            DELOERA                  OK     90011525531
7B15117792B994   LUIS             DIAZ                     CA     90006511779
7B15132465B237   CHARLES          BALLARD                  KY     68049093246
7B151536441253   STERLING         FREEMAN                  PA     90013595364
7B1515AA672B44   RUDY             SCHEEL                   CO     90014215006
7B15166165B169   LERIN            ZAVALA                   AR     90011856616
7B152678861935   AIDE             LUQUEN                   CA     90004196788
7B152744255966   JEFF             GOTT                     CA     90008767442
7B15278A78593B   DAVID            TIEMEYER                 KY     90012097807
7B152791955947   OSCAR            SANDOVAL                 CA     90014187919
7B15321668B163   MARK             SHAMPTON                 UT     90014672166
7B153364484322   ADAM             CARFIELD                 SC     14594383644
7B15354A155931   TABITHA          BREWER                   CA     90013555401
7B153827741253   MARCUS           NEAL                     PA     90014638277
7B15426A972B29   JAMES            BACCA                    CO     90009662609
7B154531A81643   CHERYL           LOVE                     MO     29064425310
7B154878255966   ROSA             CASTANEDA                CA     90013008782
7B154A15272B29   ELIA             CASTRO DE LA CRUZ        CO     90009640152
7B154A46357556   MEDRANO          VIRGINIA                 NM     90005190463
7B154AA479154B   SANDRA MARCELA   PEREZ                    TX     90013460047
7B155286A8B163   MIGUEL           MAYA                     UT     90008442860
7B155437A72441   SANDRA           MCCURDY                  PA     90013094370
7B155567941227   ANTON            LOTT                     PA     90014755679
7B156243857556   DIANA            WILSON                   NM     90011612438
7B156627472479   STEPHANIE        WILSON                   PA     51062886274
7B15664978B168   SIERRA           PERLA                    UT     90010276497
7B15672842B994   ELISEO           QUIROZ                   CA     90000237284
7B156999772441   JENNIFER         SAWYER                   PA     90009909997
7B15716584B531   CHRISTOPHE       PLATT                    OK     90001681658
7B15755235B59B   MARIE            ORTIZ                    NM     90010185523
7B157653655931   CINDY            GUERRERO                 CA     90011046536
7B158114441237   HAJI             MUZHIMU                  PA     90013051144
7B15868A557563   JOSE             MANUEL                   NM     90015026805
7B1587A335B169   JOAN             BURNLEY                  AR     23055997033
7B158991A57157   WILL             K.                       VA     81032069910
7B159194172B32   LOUIS            WIGGINS                  CO     90009631941
7B159226831432   TARTISQUES       WEST                     MO     90013332268
7B15954257B477   QUADARRIUS       HOLT                     NC     90012825425
7B15B61392B271   GLENDA           SMITH                    DC     81091336139
7B15B699272421   BRUCE            DOWELL                   PA     51090446992
7B161111993736   KATHERINE        HUNT                     OH     64567611119
7B161153441237   VERNELL          MOORE                    PA     51035991534
7B16166A672B29   THERESA          CARPENTER                CO     33057066606
7B16168325B356   RAFAELA          HUERTA CASTRO            OR     44513346832
7B16173943168B   RAQUEL           VILLESCAS                KS     90013297394
7B161774843424   MARCO ANTONIO    MERCADO                  VA     90015507748
7B161962872441   WESTLEY          MINEARD                  PA     90013539628
7B161979557556   AIDE             REYES                    NM     90013789795
7B162377772B32   GEORGE           LANG                     CO     90014983777
7B162423A9154B   ROSA             CASTRO                   TX     90014144230
7B1625A857B477   ROBERT           DUNLAP SANDERS           NC     11032595085
7B162743651348   GEORGE           BRIDGES                  OH     90012727436
7B162747172441   JESSICA          IZZO                     PA     90005697471
7B162784A8B163   JOSEPH           FALBO                    UT     90014617840
7B162814472B29   EDUARDO          APARICIO                 CO     90011518144
7B1628A7355966   NANCY            RHODES                   CA     90008948073
7B162A47433626   JUAN             MARTINEZ                 NC     90015480474
7B1631AA53B345   YOUA             THAO                     CO     33052011005
7B16384265B169   JUANITA          WHITFIELD                AR     90011888426
7B163943681643   ROSARIO          HERNANDEZ                MO     29056709436
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1030 of 2350


7B164326655931   LOUISE J     GONZALEZ                     CA     90002863266
7B164498393726   FARIDA       SHAKHMANOV                   OH     64510374983
7B164544572B32   JEREMY       WILLIAMS                     CO     90015065445
7B164694977524   MARIA        SALAZOR                      NV     43016016949
7B165528A8B168   SUSIE        BENCOMO                      UT     90002665280
7B165536933698   MICA         CLARK                        NC     90005305369
7B165653655931   CINDY        GUERRERO                     CA     90011046536
7B165685872441   ADAM         GALLETTA                     PA     90012916858
7B165A19855947   RAYMOND      CARBAJAL                     CA     90005740198
7B166183291252   MECHELLE     WILLIAMS                     GA     90008891832
7B166453761935   ROSA         TORRES                       CA     90007594537
7B166545A8B163   ANDREW       CROWTHER                     UT     90013125450
7B166695233698   KAMIA        FAULKS                       NC     12085146952
7B167373991991   CARLOS       ZALDANA                      NC     90011263739
7B167378A61935   JESUS        ELIZALDE                     CA     90004493780
7B167473931432   TAKIYAH      TRICE                        MO     27564264739
7B16749815B59B   NERI         QUEVEDO-GUTIRREZ             NM     35045244981
7B167523A72B29   LUCAS        GAWRYL                       CO     33030625230
7B16775178B134   JACK         EVANS                        UT     90012767517
7B168592A8B134   CORY         NIPPER                       UT     31023645920
7B16884648B168   CARLOS       AMADOR                       UT     31057568464
7B1688A9531432   COLLEEN      CLIFFORD                     MO     90014808095
7B1689AA18B845   MERLY        KALLY                        HI     90015429001
7B169193427B98   SEAN         SNYDER                       KY     90007471934
7B16932765B356   MARISSA      LARCOM                       OR     90010853276
7B169349161935   GABRIEL      CORTEZ                       CA     46067503491
7B16957478B168   JUSTIN       ANDERSON                     UT     90013765747
7B169712A41237   NUNURAI      BARRETT                      PA     90009397120
7B16B164A5B356   ERIKA        DIAZ                         OR     44585541640
7B16B27672B994   AVA          TARR                         CA     90004262767
7B16B3A1357157   JOSEPH       ARTHUR                       VA     90011463013
7B16B786493736   ELIJAH       RINEHART                     OH     90005527864
7B16B927531432   DANA         JONES                        MO     90005219275
7B16B96168593B   LAVONNA      SNOW                         KY     66096129616
7B171174371921   JUSTIN       LOUZON                       CO     32087321743
7B17133315B59B   BELKYS       PADRON-MENENDEZ              NM     35017393331
7B17145629154B   JESUS        MONJARAS                     TX     90011694562
7B171637A8B142   JOEL         BARRON                       UT     90014066370
7B171642155966   VERONICA     KATES                        CA     90013126421
7B171812872B44   JORGE        BANDA                        CO     33035658128
7B172671372421   ALEX         STULL                        PA     90006716713
7B172815255966   DANIEL       GUTIERREZ                    CA     48069608152
7B17285447B661   NASTAUSHIA   MITCHELL                     GA     90005008544
7B17296279154B   CYNTHIA      LOPEZ                        TX     90012839627
7B172AA669153B   JOSUE        ALVAREZ                      TX     90011470066
7B173155841227   ALICHIA      JOHNSON                      PA     51017891558
7B1734A2A5597B   SCARLETT     GOMEZ                        CA     49026064020
7B173A4AA93739   MAHOUGNON    ZINSOU                       OH     90006240400
7B174165877524   LYNNETTE     THOMPSON                     NV     90013651658
7B1741A665B384   MARY         RUBIO                        OR     44590741066
7B174267A72479   ROBIN        WATKINS                      PA     51070472670
7B174324993752   SHON         NICHOLAS                     OH     90001063249
7B174457731432   ERIC         SEYMORE JR                   MO     90014114577
7B17449A48B157   ADRIAN       FLORENTINO                   UT     90015004904
7B174521381633   TAKESHA      GORDON                       MO     90014535213
7B174792955947   RODRIGUEZ    JORGE                        CA     49080067929
7B174838941253   CAROL        MCNEICE                      PA     51083828389
7B174865472B29   JOSEPH       ZANT                         CO     90012298654
7B17488A18B168   DIANA        BOYTER                       UT     31001188801
7B174A6AA71921   MALACHI      HENDERSON                    CO     90011320600
7B175335527B98   TONYA        ARMITAGE                     KY     90014263355
7B175964A31432   RUBY         BRADLEY                      MO     90014069640
7B17614A377524   RAYMUNDO     REYES- ZAMBURANO             NV     43016021403
7B17615A88B168   JASON        JUDY                         UT     31014821508
7B176413951355   HAWAZ        TSIGHE                       OH     90008284139
7B17645377B661   MICHAEL      MADDOX                       GA     90005674537
7B1764A8872B44   ABEL         RIOS                         CO     33064084088
7B17651A27B451   JULIETTE     CHAMBERS                     NC     90013265102
7B176526841227   SUMMER       WROBLEWSKI                   PA     90015255268
7B176542A2B994   NANCY        XIONG                        CA     90011215420
7B176575A93723   STEVE        ADAMS                        OH     90006815750
7B176581141237   TERRY        PEGUES                       PA     51047895811
7B176641884322   CONCEPCION   GUERRERO                     SC     90009076418
7B17668189154B   MONICA       VILLELAS                     TX     90014796818
7B17734178B168   CASE         CHRISTOPHER                  UT     90009413417
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1031 of 2350


7B177599681255   BIG             BOY                       KY     90003345996
7B1778A1A8B142   OMAR            PERALTA                   UT     90001828010
7B1778A4457157   ROLAND          HASKINS                   VA     81014508044
7B1778AA293726   BRANLEY         FEMUELS                   OH     64513348002
7B177A58755966   SHARON          HOOVER                    CA     90013180587
7B178218841227   ALICIA          TOVAH                     PA     90012152188
7B178341772479   MARYBETH        SECLETER                  PA     51043623417
7B178542A2B994   NANCY           XIONG                     CA     90011215420
7B178871181633   NIKKIA          NELSON                    MO     29000618711
7B178AA3A51348   JASON           ROBINSSON                 OH     90015300030
7B179158357157   RONNETTE        CARLTON                   VA     90010491583
7B179428572B29   FRANCISCO       TORRES                    CO     90007764285
7B179622372B44   ZENAIDO         LLAMAS                    CO     33086296223
7B179896172421   SONDRA          DUGAN                     PA     51091808961
7B179A82A84322   ALEXIS          OGILVIE                   SC     90013130820
7B17B235A71921   CLIFF           FARRIS                    CO     32052922350
7B17B29418593B   NANCY L         JUMP                      KY     90011172941
7B17B45A933698   SILVESTRE       CAMACHO-CASIQUE           NC     12057254509
7B17B667193739   TRACEY          HACKER                    OH     64553106671
7B181179666255   CHINA           POOL                      MS     90007711796
7B18121957B661   NIRVANA         PAGAN                     GA     90006722195
7B18122272B994   STEPHENIE       BACIGALUPI                CA     90012982227
7B1813A6172421   LORETTA         GRIMM                     PA     90014743061
7B181622493739   JOHN            DILLON                    OH     90014836224
7B181782A55947   PATRICIA        REYES                     CA     90008807820
7B181964131432   LAKRISHA        MOZEE                     MO     90009749641
7B181982193739   JOHN            DILLON                    OH     90010919821
7B182213631432   KONTRELL        HARRINGTON                MO     90010102136
7B182217557157   TARA            RUSSELL                   VA     90010292175
7B182218A55997   FELIPE E        LOPEZ                     CA     90003182180
7B18225218B157   ROBERT HAYNIE   TIFFANY HAYNIE            UT     90014472521
7B182274455966   LANISE          HERNANDEZ                 CA     90013022744
7B18229185B59B   DONNA           ARAGON                    NM     90012722918
7B182667933699   CRYSTAL         CRAVEN                    NC     90012946679
7B182744772B32   STEPHEN         HOLMES                    CO     90008657447
7B182967477585   DAVID           MENA                      NV     90013139674
7B18322725B59B   IVAN            PAXTON                    NM     35089312272
7B183245193739   JOSH            WEAVER                    OH     90013352451
7B183247A7B477   ROSALIA         SOLANO                    NC     11005152470
7B18327A68B165   LINNAEA         MENDOZA                   UT     90008622706
7B18353A78593B   ANGELA          MARKS                     KY     66032065307
7B183724A41253   RICHARD         BARON                     PA     90012627240
7B1837A5431432   ELLSI           SANCHEZ                   MO     90011507054
7B183926755931   JENNIFER        YSLAS                     CA     90007089267
7B184166293739   JILL            TURNER                    OH     90003681662
7B184184572441   WILLIAM         NEUGEBAUER                PA     51009431845
7B184246671921   EDWARD          MIHAILESCU                CO     90014692466
7B184326157157   ARIS            MINERO                    VA     81042883261
7B184764461935   JEANNETTE       DOMINGUEZ                 CA     90004497644
7B184A75397121   MARIA           GARCIA                    OR     90009020753
7B1851A198B157   MAGDALENA       DEJASUS                   UT     90007021019
7B185285657157   KHARA           STRUDER                   VA     90014662856
7B185476A72B29   ALEJANDRO       ARCE                      CO     90010824760
7B1854A6372B32   JESUS           ESPINOZA                  CO     33062944063
7B18557883168B   KAYLA           THOMAS                    KS     90013555788
7B1856A7941237   RUNA            LESTER                    PA     90001056079
7B185811571921   CHIRS           RUDNICK                   CO     32098308115
7B185844527B98   DANIEL          VOIGHT                    KY     90012028445
7B185973393736   NICHOLAS        BARNEY                    OH     90011209733
7B185A4718B142   KATHRINE        RAMIREZ                   UT     31053420471
7B186268355931   AMBER           HULSEY                    CA     90009092683
7B18628328B168   JEFF            ROWLEY                    UT     90012712832
7B18691A371921   DAWN            WIESNER                   CO     90007799103
7B18719795B356   MEREDITH        VAN ETEEN                 OR     44591751979
7B187255761976   JOSE            LIMON                     CA     90001192557
7B18736174B572   STEPHANIE       WILSON                    OK     90014253617
7B18777478B163   CHRYSTAL        TRUJILLO                  UT     90014627747
7B1877A7733699   BRITTANY        SALINAS                   NC     90005327077
7B187A97857556   KAREN           DECKER                    NM     90012180978
7B188176955931   GORGE           TINOCO                    CA     49053551769
7B189198355947   CASSANDRA       NORMAN                    CA     90013521983
7B189455257157   JANCIM          NADIM                     VA     90011674552
7B189526461935   HALEY           FERGUSON                  CA     90011765264
7B189732457556   JOHN            DOE                       NM     90011427324
7B18B248631432   COURTNEY        ISADORE                   MO     90012432486
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1032 of 2350


7B18B352741483   RAQUEL          RAMIREZ                   WI     90003663527
7B18B353A5B356   KARLA           ALVAREZ                   OR     44555673530
7B18B731471921   CHRISTIE        ARAMBULO                  CO     90014727314
7B18B847884322   SABRINA         MANOA                     SC     90013618478
7B18BA24972421   DEBBIE          MORGAN                    PA     51052990249
7B191121491252   YOLANDA         FERNANDEZ                 GA     90009131214
7B19113915B59B   JUAN            ARZOLA                    NM     35042821391
7B191358655966   FAYETH          LIPPS                     CA     48069643586
7B19143A593741   GARY            BRUNER                    OH     90007214305
7B191A18733699   DACIA           PALMER                    NC     12074310187
7B191A48872441   BRIDGET         TYLER                     PA     90012540488
7B191A74841237   ELLA            SMITH                     PA     51004310748
7B192161672441   ROBERT          SOLTIS                    PA     51069181616
7B192978455931   YARELI          FLORES                    CA     90014819784
7B19331557322B   DANIELLE        GARDNER                   NJ     90012283155
7B193413355947   SUZANA          GARCIA                    CA     90005064133
7B19362A855931   MIGUEL          GANGA                     CA     90013546208
7B193741833698   TERRELL         WILLIAMS                  NC     90014847418
7B194225491941   TRACY           PRICE                     NC     17097332254
7B19454975B169   DEBRA K         OLIVER                    AR     90006185497
7B19463338B142   MARVIN          POULSON                   UT     90014156333
7B19485642B994   JONATHON        VALDEZ                    CA     90005768564
7B194911771921   STEPHANIE       CAMPBELL                  CO     90010779117
7B194985855966   KENNETH         LOCKWOOD                  CA     90013009858
7B194A45693728   DAVID           PLUNKET                   OH     64585740456
7B19525135B59B   ALINA           MEZA                      NM     90008742513
7B195425333699   PLEASANT        HUNTER                    NC     90014234253
7B19565185B384   RONDA           WARD                      OR     44594416518
7B1956A5A5B596   JEFF            BRAY                      NM     35056906050
7B195916941253   JAVIER          PEREZ CARRANCO            PA     90013579169
7B196496781643   CHARLENE        SHARPE                    MO     90000504967
7B196576755947   RUBEN           GARCIA                    CA     90014185767
7B196618333699   LAKESHA         PERRY                     NC     90010196183
7B1966A2872B44   CAROLYN         DRAPELA                   CO     90006236028
7B1968A4141253   KENDALL         GRIFFITH                  PA     51029868041
7B196963533699   JAQUAE          PERKINS                   NC     90013289635
7B196969A4B572   ANTINET         PATTON                    OK     90008599690
7B19698838B168   DANIEL          TERRONES                  UT     90010649883
7B196A2968B157   HEATHER         WOOD                      UT     31084460296
7B197349A72441   KARA            PSOMAS                    PA     51091203490
7B19816A22B271   BRITTANY        SMITH                     DC     90006651602
7B19897A131432   JAMMIE          CORNELL                   MO     27564259701
7B198993955966   JOSE            OSORIA                    CA     90013009939
7B199167272B32   MIRSAD          TELALBASIC                CO     33022881672
7B199215372421   BRIANNA         SENSENICH                 PA     51042852153
7B199653841237   CHELSEY         FALLECKER                 PA     90002796538
7B19B817331432   PEARLIE         LOWERY                    MO     90002308173
7B19B835872441   TINA            OWENS                     PA     90002928358
7B19B89325B59B   CIERA           CHAVEZ                    NM     90011108932
7B19B97A572B29   DANIEL          MCPHERSON                 CO     90015129705
7B19BA17842322   SHAWNICE        COLEMAN                   GA     90010610178
7B1B1136941227   JEREMY DANIEL   SCHIFF                    PA     90009591369
7B1B125668B134   ANDREW          ANDERSON                  UT     31002002566
7B1B1316893726   SHELLIE         MARKSBERRY                OH     64580733168
7B1B164449154B   OSCAR           SILVA                     TX     90014796444
7B1B1676755966   SHANNON         JONES                     CA     90012116767
7B1B174388B157   CINDY           HUTCHINGS                 UT     31044527438
7B1B1A42761976   MARIO           ASEVEDO                   CA     90009610427
7B1B2298172B44   RICARDA         HARRISON                  CO     33008012981
7B1B2385172B42   EUGENE          COOK                      CO     90010663851
7B1B285179154B   AGUSTIN         GONZALES                  TX     75056158517
7B1B2992955966   BARAK           TUGGLE                    CA     90013769929
7B1B3258A57157   KIMBERLY        YERMAK                    VA     90010472580
7B1B345278B168   GLORIA          GONZALES                  UT     31089744527
7B1B3522172B32   ROBERT          MILLER                    CO     33017955221
7B1B3561481697   JOSE            CORTEZ                    MO     29084695614
7B1B3829733698   DINISHA         KIERSTEAD                 NC     90014448297
7B1B4157193739   SCOTT           MANTIA                    OH     90003101571
7B1B449982B869   SERENA          SANTOS                    ID     90001094998
7B1B52A653168B   CRYSTAL         MILBACH                   KS     90009402065
7B1B5853193736   KEN             ARENTON                   OH     90010938531
7B1B6636572441   SHAD            MOOR                      PA     90014036365
7B1B671173168B   BILLI           REDELBERGER               KS     90013357117
7B1B71A9372B44   JOSE            MARRUFO-IBANEZ            CO     90000541093
7B1B7369572441   CONSTANCE       BLACK                     PA     51053633695
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1033 of 2350


7B1B793677B477   WILLIE         BENJAMIN                   NC     11046019367
7B1B8269872421   FRANK          ADAMS                      PA     90012032698
7B1B869642B994   EDIE           POMBO                      CA     90013906964
7B1B8881472B44   MEWSSA         HANHERSON                  CO     90010228814
7B1B899AA5B347   ERIC R         LYNGHEIM                   OR     90002419900
7B1B8A7A98B142   BILLY          BISHOP                     UT     31071650709
7B1B9122457157   JESUS          MOLINA                     VA     90004681224
7B1B923318B136   TRUDY          DEPRIEST                   UT     90010482331
7B1B963518B142   JAMES          HAMMON                     UT     31014726351
7B1B9A87333698   ANTHONY        STAMEY                     NC     90014620873
7B1BB35345B356   JUAN           PACHECO                    OR     44512923534
7B1BB845A57556   ISELA          GUZMAN                     NM     90011518450
7B1BB857933699   TEGBA          HUNTER                     NC     12004848579
7B1BB8A3993736   PRECIOUS       SMITH                      OH     90015018039
7B1BBAA558B142   MARIA ELENA    SILVA                      UT     90004030055
7B21135319154B   RAFAEL         SANCHEZ                    TX     75093703531
7B2116A9841237   OMARR          KING                       PA     90010856098
7B21185AA91991   ARLETO         STEWART                    NC     90010258500
7B212486755931   CATHERINE      MEZA                       CA     49008494867
7B212743255947   MICHAEL        GONZALEZ                   CA     90015007432
7B21296128B163   ROBERTO        DURAN                      UT     90013949612
7B212A9A55B384   LORAINE        JONES                      OR     44518780905
7B213173993739   JESSICA        BOWLIN                     OH     90015211739
7B213355441253   SHAYNELL       JACKSON-EDWARDS            PA     90014003554
7B213A19955966   LUIS           PLASENCIA                  CA     90013010199
7B2141A6272B29   DARIN          DURWES                     CO     90012521062
7B214358772421   JENNIFER       BEKHIT                     PA     90014763587
7B214474572B32   BRANDI         GALVAN                     CO     33042894745
7B214592131443   ROBINSON       KELLY                      MO     27508525921
7B214729655931   DANIEL         GODINEZ                    CA     90013547296
7B214828761935   MICHAEL        LATTMAN                    CA     90011768287
7B21487A176B87   ANIL           SINGH                      CA     46082768701
7B215324355966   ERAIN          VARGAS                     CA     90011253243
7B21557A391991   QUETZALCOAT    LOPEZ-BAUTISTA             NC     90011265703
7B21563228B163   PAM            PANDO                      UT     90012006322
7B21565645B169   JESSE          HALE                       AR     90003736564
7B21565815B596   ARMENDARIZ     LILIA                      NM     35056906581
7B215711A33698   MELISSA        TATE                       NC     90006487110
7B21628168B163   FRANCISCO      PRECIADO                   UT     90006162816
7B216496641237   DAWNISE        WASHINGTON                 PA     90012824966
7B216863257556   CARLA          FARRELL                    NM     90014698632
7B217234493739   ASAAD          HUSSAIN                    OH     90005232344
7B217291572479   BRIAN          ROSSINI                    PA     90013982915
7B217436257157   JOHN           BAYLISS                    VA     90015184362
7B217A84A5B59B   CLARISSA       GRIEGO                     NM     35049460840
7B218238293736   TAMMY          VAUGHAN                    OH     90012382382
7B218312785883   DAVID          GRAMLING                   CA     46086453127
7B218385151348   RAY            WHITTAKER                  OH     90012573851
7B21882239154B   MARIO          HERNANDEZ                  TX     75005978223
7B21916828B163   JOSE           CARILLO                    UT     90015091682
7B21917AA55966   BRANDON        WIEDEMAN                   CA     90013991700
7B219253241253   KEN            AZZARELLO                  PA     51006362532
7B219611551348   MANUEL         PINON                      OH     90013946115
7B219634641227   VANESSA        FULLARD                    PA     51092576346
7B21995279154B   ELIZABETH      MEDINA                     TX     90005929527
7B219A32172B29   JERRY          CARRERA                    CO     90013730321
7B21B179855966   LUIS           SERANO                     CA     48095491798
7B21B4A4A8B142   JOSEPH         DIXON                      UT     31038634040
7B21B912143424   JUAN ANTONIO   VALORA SANCHEZ             VA     90015569121
7B22117AA31432   PAIGE          MUNION                     MO     90004451700
7B221288293736   LAURIE         SHOOK                      OH     90010282882
7B22132339154B   NORMA          CARDENAS                   TX     90005213233
7B22147225B59B   OMAR           ROJO-ESTRADA               NM     35086154722
7B2214A3561935   DUSTIN         IVY                        CA     90004504035
7B222113781643   CLAUDIA        GUERRA                     MO     90006951137
7B22241535B59B   EDITH          ROMO                       NM     35065464153
7B22242A255947   KIMBERLY       COLE                       CA     49066034202
7B22271299154B   ESTHER         ULLOA                      TX     90014797129
7B22299418B189   RAELYNN        TATMAN                     UT     90001149941
7B222A2638593B   JIMMY          HARGRAVES                  KY     90013440263
7B222A3638B142   PRIAMO         ALBADO                     UT     90012180363
7B223778A55931   BRANDON        MCMILLIN                   CA     90013547780
7B223812791549   MARISELA       FLORES                     TX     90011628127
7B223A5A94B572   SHATERRIA      CALHOUN                    OK     90008840509
7B22428A155966   CANDY          CORDOVA                    CA     48061082801
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1034 of 2350


7B22436637B477   EBONY        CHAMBERS                     NC     11091393663
7B224545472B29   AARON        FRANKLIN                     CO     33014725454
7B22476A231432   KAREN        CUNNINGHAM                   MO     90014247602
7B224853131432   KAREN        CUNNINGHAM                   MO     90014268531
7B224997655947   JOSE         ARRUDA                       CA     90014839976
7B225437131432   LOREN        POLLVOGT                     MO     27507234371
7B2257A879154B   JOSE M       TERAN                        TX     90014797087
7B225827155947   ANGELO       GONOS                        CA     90012588271
7B225978455931   YARELI       FLORES                       CA     90014819784
7B225A28193736   NATASHA      HUTCHERSON                   OH     90011210281
7B22639A393739   TINA         NEWCOMER                     OH     64512143903
7B226A2A133699   JAVIER       DELGADO                      NC     12022390201
7B22742119154B   SANDRA       LOPEZ                        TX     75087924211
7B227778A55931   BRANDON      MCMILLIN                     CA     90013547780
7B2278A9A4B577   DARNELL      KING                         OK     90011458090
7B227A17851348   BOBBIE       HAMPTON                      OH     66006250178
7B2286A448B157   JAY          BLACK                        UT     90011306044
7B228794727B98   TIMOTHY      WEST                         KY     90014907947
7B22882338B347   JASMINE      SIMS                         SC     90015118233
7B228A1188B163   VANESSA      SERNA                        UT     90011490118
7B228A13993739   LAKOJAH      JOHNON                       OH     90015220139
7B229A17384322   CARRIE       LEE                          SC     90010980173
7B229A85972441   JANIE        VALENTINE                    PA     90013930859
7B229AAA18B157   MARK         STABLES                      UT     31047410001
7B22B11932B994   JESECA       GARCIA                       CA     90011221193
7B22B268825332   NANCY        RASMUSSEN                    WA     90014302688
7B22B496677977   OLGA         LEON                         IL     90015374966
7B22B622241237   NEDRA        DAVIS-USLU                   PA     90000276222
7B22B6A988593B   TRACY        WARE                         KY     90012146098
7B22B73295B384   DANIEL       ONUSKANICH                   OR     90001057329
7B22B74857B477   ROSINDA      URUINA                       NC     90004377485
7B231A69A41237   KAYLA        HULL                         PA     90012850690
7B2321A3872B29   MARTIN       RIVERA                       CO     90004051038
7B23225492B994   BRANDON      MENDEZ                       CA     90014062549
7B23234178B168   CASE         CHRISTOPHER                  UT     90009413417
7B23239578B134   MELISSA      HANCEY                       UT     90014933957
7B2324A3693726   ASHLEY       ONEY                         OH     90011774036
7B232716861922   EDUARDO      LEVER                        CA     90011707168
7B23314A95B59B   JOLYNE       LUJAN                        NM     90007251409
7B23318438B157   JAMI         SCHARMAN                     UT     90013881843
7B23327268B168   SETH         ROBERTSON                    UT     90010732726
7B23331328593B   RASHID       COVINGTON                    KY     90015573132
7B23371299154B   ESTHER       ULLOA                        TX     90014797129
7B23449A755928   JENA         PIERCE                       CA     49078444907
7B23466962B271   STEPHANIE    SIMMONS                      DC     90010866696
7B23468845B59B   MARGARITA    BANDA                        NM     35009896884
7B23471299154B   ESTHER       ULLOA                        TX     90014797129
7B23531477B477   SANTOMARIO   TABILLA                      NC     90011893147
7B235957761935   MARK         EED                          CA     90011769577
7B236242893736   JANIECE      DYER                         OH     90014282428
7B2362A598B163   JUANITA      TALAS                        UT     90008502059
7B236334593726   KELLY        HARDY                        OH     90004603345
7B2363A4972421   REBECCA      GRIMES                       PA     51013723049
7B236469472479   JACOB        DEMCHAK                      PA     51088664694
7B23671299154B   ESTHER       ULLOA                        TX     90014797129
7B236A47291991   MARIA        MENDOZA                      NC     90006120472
7B23744128B134   TRAVIS       WARNER                       UT     90013074412
7B237559471921   ROBERT       PEARSALL                     CO     32087305594
7B237673355931   YURIDIA      LEON                         CA     90014946733
7B237686593739   ERIC         WILLIAMS                     OH     90010916865
7B237889784322   ALEX         SOLARES                      SC     90014708897
7B237899141227   DANIERA      DAVIS                        PA     90000938991
7B237A2638593B   JIMMY        HARGRAVES                    KY     90013440263
7B23837938B157   TIM          ROBINSON                     UT     90009593793
7B238544A55966   CHRISTINE    BENEVEDES                    CA     90001715440
7B238712961935   CONSUELO     CANSINO                      CA     90012897129
7B23871299154B   ESTHER       ULLOA                        TX     90014797129
7B23881A841253   TOMMY        STIEFEL                      PA     90004888108
7B238846572B29   JORGE        DELATORRE                    CO     90014758465
7B23889A191939   SUMUNA       MWIMBA                       NC     17035728901
7B239218457157   KAREN        O'CONNER                     VA     90010292184
7B23922812B256   NAKETA       WOODSON                      DC     90001442281
7B239238257157   ELIAS        FIGARO                       VA     90012832382
7B239448141237   NICHOLE      ARCHULETA                    PA     90015124481
7B23949798B163   ERIC         WILKINSON                    UT     90010974979
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1035 of 2350


7B23B35968B168   DEYOUNG      SMART MOBILE                 UT     90013913596
7B23B64888B168   DEYOUNG      SMARTMOBILE2                 UT     90014006488
7B23B79679154B   ANAMARIA     LOPEZ                        TX     75012967967
7B241635272421   PATRICIA     BURKETTE                     PA     90013256352
7B241A94355966   TERESITA     RANGEL                       CA     90004300943
7B242252233698   TRACI        CORPENING                    NC     90013272522
7B24234A14B572   MICHAEL      LORING                       OK     90008553401
7B242854693736   CHAD         BOOMERSHINE                  OH     90011498546
7B243141272441   MELESSIE     WHITTINGTON                  PA     51062761412
7B243222A72421   RAYMOND J    BURCHAM                      PA     90010812220
7B243557257157   ABDIRASHID   BULAALE                      VA     90014815572
7B243723955966   MICHELLE     RAMIREZ                      CA     90012947239
7B243885584322   HERNANDEZ    MANUEL                       SC     90011188855
7B244391233698   DANIELLE     CLANTON                      NC     90015243912
7B2443AA78B163   ANTONIA      MARTINEZ                     UT     90013133007
7B244A39172B32   COREY        SCHAFFER                     CO     33067350391
7B245198271921   MARIO        LOPEZ                        CO     90011441982
7B2454A9584322   YOLANDA      VEGA                         SC     14551584095
7B245541172B32   CONRAD       WESTERMAN                    CO     33047195411
7B245984555931   CHARLENE     CASTRO                       CA     90014819845
7B245AA7693726   CRYSTAL      MCKIBBEN                     OH     90014650076
7B24689999154B   OSCAR        GARCIA                       TX     90007488999
7B247156871921   MINNIE       RIVERA                       CO     90011921568
7B247197A55931   ADOLFO       BECERRA                      CA     90012941970
7B24727AA55966   MARIA        LARIOS                       CA     48085972700
7B24736925B59B   DEBORA       LUNA                         NM     90009053692
7B247427141227   CHARVETTE    ANDERSON                     PA     51081934271
7B2478A5893736   TED          TERRELL                      OH     90008808058
7B247A39172441   REBECCA      EMERICK                      PA     51021910391
7B2482A838B168   TIFFANI      SMITH                        UT     90014372083
7B248326A8B136   MERCEDEZ     RIQUEZ                       UT     90006113260
7B248882455966   ANA          HERNANDEZ                    CA     90008558824
7B248A72341253   TIFFANY      DICKSON                      PA     90015160723
7B249422161935   VAZQUEZ      SILVESTRE                    CA     90004974221
7B24948998B163   B LUE        DOMAN                        UT     31084874899
7B249519641227   CHRISTINE    PRIL                         PA     90012915196
7B249535672479   JOYCE        BRECKENRIDGE                 PA     90007955356
7B249559A4B572   APRIL        JONES                        OK     90010315590
7B249A58241253   CLARENCE     GLEN SR                      PA     90011890582
7B24B289293739   ELADIO       JIMENEZ                      OH     90015372892
7B24B311472B29   MARIA        DE LEON                      CO     90007263114
7B24B71369154B   CARMEN       SHERWOOD                     TX     90014797136
7B24B95225B59B   RIC          WHITE                        NM     35040059522
7B251417333699   VIOLA        GLENN                        NC     90012974173
7B251655857157   VICTOR       DELEON                       VA     90000446558
7B252137651348   MELANIE      POWELL                       OH     90005581376
7B252338272B32   PETE         MARQUEZ                      CO     90012883382
7B252413184322   NEDREA       LINEN                        SC     90014934131
7B25243314B572   JERRYLYN     HARRIS                       OK     90012254331
7B25249398B157   JONATHAN     GARCIA                       UT     90014834939
7B25265798B163   JAMES        ALVALLE                      UT     31060116579
7B25327AA55966   MARIA        LARIOS                       CA     48085972700
7B25334A633698   BROOKE       ENOCH                        NC     90012943406
7B2533A1493736   SALLY A      HILL                         OH     64539413014
7B25374A751348   AMY          LACINAK                      OH     90013257407
7B253834872B44   DOLORES      RODRIGUEZ-MONGE              CO     90002078348
7B253997672441   ALEX         DROGOWSKI                    PA     90012519976
7B253A8215B59B   JOYCE        QUINTANA                     NM     35038560821
7B254276257157   MARY         MISKELL                      VA     90012152762
7B254485A72479   AMBER        HOLZER                       PA     90011824850
7B254555141227   DENNIS       FATH                         PA     90013825551
7B254645441253   PAMELA       CRAIL                        PA     90006676454
7B254653251348   ROBERT       VIOX                         OH     90013946532
7B25471348593B   TOM          DELANEY                      OH     66018027134
7B255335527B98   TONYA        ARMITAGE                     KY     90014263355
7B25533565B59B   JULIO        BORGE-BORGE                  NM     90013083356
7B255545972421   DYLAN        WENDELL                      PA     90014805459
7B255799391991   COY          LISK                         NC     90008487993
7B25584A672B29   MARICELA     CORONADO                     CO     33013118406
7B2558A584B572   DONIE        ALCORN                       OK     90014648058
7B25646418B163   OMAR         GONZALEZ                     UT     90014154641
7B25727328B163   STEVE        WIRTHLIN                     UT     90013312732
7B257575A77528   LAURA        PEREZ                        NV     90005195750
7B25772247B477   GUILLERMO    HERNANDEZ                    NC     90001007224
7B257724A5B356   LAVONDA      JOHNSON                      OR     90003697240
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1036 of 2350


7B2577A149154B   LETICIA      ENRIQUEZ                     TX     90013097014
7B257A41972441   ADAM         CARTER                       PA     90014630419
7B257A51A84359   VERIETHIA    SIMMONS                      SC     90010250510
7B25829698B134   TYLER        SALAZAR                      UT     90012762969
7B2582A4993736   JAMES        GILMORE                      OH     90009562049
7B2582A9593739   REGINA       HAWKINS                      OH     90013462095
7B258564857157   KOFI         ARKU                         VA     90001795648
7B258984555931   CHARLENE     CASTRO                       CA     90014819845
7B25911122B271   WILLIAM      FLEET                        DC     81063391112
7B259513741253   JACQUELINE   HENDERSON                    PA     90002695137
7B259664833698   AUNDRIA      HALL                         NC     90015066648
7B25971818B157   GLENDA       GONZALEZ                     UT     90013167181
7B259971972441   NIKKI        ROZMAN                       PA     90001449719
7B259A3465B59B   ROSCO        GARCIA                       NM     90002410346
7B25B1A664B572   DONOVAN      DARST                        OK     90013811066
7B25B467272421   TIMOTHY      MILLER                       PA     90014804672
7B25B482181255   KRISTYN      STINSON                      KY     90012634821
7B25B59195B356   NOE          GARCIA                       OR     90008795919
7B25B845841237   BENITA       TURNER                       PA     90004768458
7B25B878761935   NICOLE       PRAIRIE CHICKEN              CA     90004508787
7B25B937572B44   ANDRES       RODELA                       CO     90000309375
7B25BA3757B661   AUNDRIA      RENA                         GA     90005710375
7B26114472B994   KAE FO       SAETERN                      CA     90001481447
7B26119848B157   GENA         MONTOYA                      UT     90013881984
7B26121158B168   JOHN         KING                         UT     90013812115
7B2618A5691991   CLARA        LOVELESS                     NC     90006138056
7B261A86555966   BRITTANY     GONZALEZ                     CA     90013010865
7B262187233698   JOSE         HERNANDEZ                    NC     90013961872
7B262338533698   DENISE       HENDERSON                    NC     90014883385
7B262575241237   MERRILL      HOLT                         PA     90000715752
7B263125855966   DANNY        VALENCIA                     CA     90010001258
7B26332438B163   CORY         IRWIN                        UT     31045713243
7B26448A73168B   TIFFANY      LAWRENCE                     KS     90007414807
7B264498141253   JANICE       KIDD                         PA     51009044981
7B264A8A741253   KAREEM       CAVENDER                     PA     90015260807
7B265189281697   JASON        SCOTT                        MO     29016921892
7B265336555964   DESIREE      LOYA                         CA     90006713365
7B26557434B572   ANTHONY      ATCHISON                     OK     90010315743
7B265599A8B163   COLBY        ADAMS                        UT     90014965990
7B2655A712B994   ERNEST       KOTA                         CA     90011515071
7B26579359154B   LIZBETH      DELACRUZ                     TX     75036807935
7B265953791939   JAYLA        MAULTSBY                     NC     90004259537
7B265AA5272B32   FILOMENA     SANCHEZ-HERNANDEZ            CO     33018380052
7B26656978B157   JULIO        ZAVALETA                     UT     31084905697
7B266A2A85599B   JOHN         MOREN                        CA     90005860208
7B2671A788B134   SWM          CHALK                        UT     90013921078
7B267A64451348   THERESA      HUGHES                       OH     66062530644
7B267A88381643   SHANNON      FOSBERG                      MO     29063760883
7B267AA685B356   ALEXANDRIA   GONZALEZ                     OR     90010270068
7B268176455947   ARACELI      YBARRA                       CA     90014531764
7B268516581633   SHELANDA     ROBINSON                     MO     90014635165
7B268683893726   TESSA        MOODY                        OH     64584956838
7B268899672441   TIA          LOPEZ                        PA     51005938996
7B26898228593B   FLORENCE     LANDRUM                      KY     66031529822
7B268A5A661935   TERESA       MATA                         CA     90004510506
7B26918198593B   SHERRIE      HARRIS                       KY     90014921819
7B2697A9572421   RIC          FETTY                        PA     90014807095
7B26987513B354   TONY         FRESQUEZ                     CO     33000898751
7B26989882B994   LEANN        ATTON                        CA     90009418988
7B26B211772441   NOLA         WALKER                       PA     51042552117
7B26B228231432   PATRICIA     REECE                        MO     90009582282
7B26B27A472B44   EFREN        RAMIREZ                      CO     33061072704
7B26B9A9655931   RUBEN        NUNEZ                        CA     90011619096
7B271116881643   SUGAR        ANDERSON                     MO     90001511168
7B271463333698   KATHERINE    GRIMES                       NC     90011164633
7B271625972B29   ANGELICA     VASQUEZ                      CO     90013576259
7B27224238593B   CHEYENNE     FLENER                       KY     90012842423
7B2727A9572421   RIC          FETTY                        PA     90014807095
7B2733A1493736   SALLY A      HILL                         OH     64539413014
7B2733A417B487   TANDRALA     HOOD                         NC     90011033041
7B27343388B134   GLORIA       GARCIA                       UT     90008914338
7B2736A584B572   JOHN         MAYFIELD                     OK     90009826058
7B273859884322   ADA          PEREZ                        SC     90013148598
7B27458928B157   VALERIE      ROCKWELL                     UT     90011955892
7B274678881643   SOFIA        MARIN                        MO     90006966788
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1037 of 2350


7B27476A772441   CHARLES        GODART                     PA     51006477607
7B2747A835B59B   WENDY          ACOSTA                     NM     35029687083
7B275196784322   SANDRA         MARTINEZ                   SC     90011101967
7B275618193736   ROBERT         YATES                      OH     64586746181
7B275838931443   WENDELL        COLE                       MO     90013108389
7B275857933699   TEGBA          HUNTER                     NC     12004848579
7B27613438B163   MINDY          STUART                     UT     90009561343
7B276192572B44   DAVON          HOLMES                     CO     90008711925
7B27621122B271   BANORA         BROOKS                     DC     90008582112
7B27636838B157   MIGUEL         NUNEZ                      UT     31081093683
7B27674418B134   VALENZUELA     RUBEN                      UT     31096937441
7B27699862B994   ADILENE        CARDENAS                   CA     90013939986
7B276A4AA7B461   MICHAEL        GUARINO                    NC     11091590400
7B276A7965B59B   CHIANA         JOHNSON                    NM     90012070796
7B2771A1777524   ANGELA         SCROGGINS                  NV     43008571017
7B277694441227   JOHN           ROBERTS                    PA     51003586944
7B27791232B994   STERLING       WALLACE                    CA     90011229123
7B278146733699   DECIRETH       MIRANDA                    NC     12069261467
7B278151181633   MEAGAN         BOYLE                      MO     29052351511
7B2783A749154B   MELISSA        SALAZAR                    TX     90010673074
7B2785A3A55966   JESSICA        CHAVEZ                     CA     90011255030
7B2795A5655966   ISABEL         SANCHES                    CA     90011255056
7B2795A815B384   TASIA          LAPLACE                    OR     44533925081
7B2796A622B994   EDUARDO        RUBALCABA                  CA     90013276062
7B279716591578   ALEX           GUERRERO                   TX     90014417165
7B27971888B134   EMMA           PEREZ                      UT     90012977188
7B2797A7531432   ADAM           RHODES                     MO     90015167075
7B27981935B59B   NATALIA        CHACON                     NM     35084468193
7B279977357157   CECELIA        PAYNE                      VA     90007149773
7B27B34467B477   SEBASTIAN      ADAMS                      NC     90010433446
7B27B74218B163   ROGELIO        SALAZAR                    UT     90012237421
7B27B816261976   MARIA TERESA   SANCHEZ                    CA     90008448162
7B27BA64855947   TRAVONNE       WINGFIELD                  CA     90011210648
7B28136AA93739   GERALD         BLACK JR                   OH     64595923600
7B281499841253   RICHARD        FLICK                      PA     90013464998
7B28181327B661   HAROLD         WEAVER                     GA     15090358132
7B282141A51348   STANLEY        HATFIELD                   OH     90014301410
7B282536555966   ROSA           AYALA                      CA     48067965365
7B28291312B994   ANGELA         TALAMANTEZ                 CA     90011229131
7B282998977524   DANIEL         WARD                       NV     90011329989
7B282A14927B98   MARIO          WADELL                     KY     90014470149
7B28324747B477   EDITH          MARQUEZ                    NC     90010832474
7B283366A5B59B   JESUS          CHAVEZ                     NM     90013593660
7B28342518B163   RICHARD        EASTON                     UT     31078574251
7B283546272B32   STEPHEN        DEARBORN                   CO     33008905462
7B2835A824B562   K              RONNI                      OK     21513815082
7B284383177977   TRENELL        JERNIGAN                   IL     90015553831
7B28453A872441   DEREK          TEMPLE                     PA     51055925308
7B2845A8433B98   SANTOS         PARIS                      OH     90015215084
7B28471A827B98   LESLIE         JOHNSON                    KY     90010967108
7B284953333699   RAFAEL         WILSON                     NC     90010569533
7B28514315B356   DANCY          VARGAS                     OR     44585731431
7B2851A4291839   ELIZABETH      BOLINGER                   OK     21092571042
7B285283872B29   ELIZABETH      KUEHNEL                    CO     33050692838
7B285449955966   VICTOR         BORDA                      CA     48069874499
7B285463172441   KELLY          COLLINS                    PA     90014634631
7B28555698593B   MARTHA         DOTSON                     KY     66085805569
7B285A28272441   PRISILLA       SHELDON                    PA     90014720282
7B286297272B32   MATTHEW        CAW                        CO     90012352972
7B2863A8597B37   MARGRET        WANSER                     CO     90005903085
7B28643659154B   JOSE           DUARTE                     TX     90012194365
7B286541433699   CHEREE         RICHARD                    NC     90013225414
7B286644177524   KARLA          PAREDES                    NV     90003426441
7B2866A6972479   TARA           LAIDLEY                    PA     90002706069
7B28671838B134   REBECCA        HEDDEN                     UT     31004467183
7B286847227B98   DEBBIE         DAY                        KY     90012848472
7B2869A969154B   JOSE           DUARTE                     TX     75052339096
7B287834672B32   ISMAEL         HINOJOS                    CO     90010668346
7B287A41A55947   MELISSA        MARTINEZ                   CA     90013200410
7B287A44157157   OCTAVIA        PORTER                     VA     81061420441
7B288597641227   SUZIE          BROWNLEE                   PA     90011935976
7B28889A18B163   THERESA        BERNADETEE                 UT     31063278901
7B288A6148593B   DANIEL         GEBB                       KY     90014700614
7B288A97372479   HOWARD         QUIGLEY JR.                PA     51049250973
7B28915435B59B   AMANDA         ARCHULETA                  NM     90014761543
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1038 of 2350


7B28944168B163   RINA         MARTINEZ                     UT     90008564416
7B28997995B591   DANIEL       GAILLOUR                     NM     35069969799
7B289A83491267   LEOARDO      JIMENEZ                      GA     90012470834
7B28B11318B163   MARBELLA     HERNANDEZ                    UT     90013651131
7B28B184191939   DENISE       EASON                        NC     17004191841
7B28B1A794B572   DERYCK       STIDHAM                      OK     90014311079
7B28B227A41237   JOHN         BOWERS                       PA     51047512270
7B28B42395B59B   ALPHONSO     MARTIN                       NM     90013444239
7B28B55A291849   JULIE        SORRELS                      OK     90013065502
7B291175371921   ALEXANDRA    STREBEL                      CO     90009801753
7B291221441237   LEVERETT     DIGGS                        PA     90010152214
7B29152135B596   PRISCILLA    LOPEZ                        NM     35030805213
7B29162A457556   SYLVIA       RODRIGUEZ                    NM     90009716204
7B291674772B32   MARY         PINO                         CO     33064816747
7B2919A4727B98   MARLA        BOYD                         KY     90012789047
7B29215488B163   FELIPE       BAUTISTA                     UT     90008661548
7B2931A8193739   STEPHEN      ENGLE                        OH     90011961081
7B293378A72B29   RHONDA       GUERRERO                     CO     33056033780
7B293A17172479   ROSE         BROWN                        PA     90010380171
7B29412268B134   JANAE        ORLOWSKI                     UT     90011491226
7B294574172479   DAVE         MAYLANDRO                    PA     51043725741
7B294961833698   MELVIN       WILLIAMS                     NC     90012999618
7B294987257157   TUMJID       HASAN JAMAL                  VA     90010299872
7B294A19572B44   ELIZABETH    ARAGON                       CO     90006810195
7B29544238B163   MARIBEL      MEDINA                       UT     90013134423
7B295611551348   MANUEL       PINON                        OH     90013946115
7B29581695B59B   JOSHUA       GURULE                       NM     90011188169
7B295AA1184322   MIGUEL       RUIZ                         SC     90013400011
7B29655182B994   ADRIAN       CATUIZA                      CA     90013925518
7B29716778B157   RICHARD      VICARDS                      UT     90009481677
7B297559572B32   DIMETREASE   BLACKWELL                    CO     33069595595
7B297886772B44   CHARLES      KIRYA                        CO     90011538867
7B299235693739   STANLY       LITTEL                       OH     90015332356
7B29929A78B157   CHRISANDRA   JENSEN                       UT     90014442907
7B299517433698   GERALD       CRAWFORD                     NC     90012825174
7B299535241237   ELIZABETH    WATSON                       PA     90012555352
7B299539751348   TONI         OTT                          OH     90011135397
7B29964848B168   SHAREE       JEX                          UT     90004706484
7B299869141237   EDWARD       KEATING                      PA     90014848691
7B29B334927B98   FELICIA      LOVING                       KY     90014333349
7B29B58295B59B   STEPHANI     ANDABLO                      NM     90014715829
7B29BA5843168B   CHARLES      JONES                        KS     90009010584
7B2B116712B299   JOSE         RIVERA                       DC     81089841671
7B2B15A4661997   MONICA       RAMIREZ                      CA     90014825046
7B2B1951271924   ANGELA       RICHARDS                     CO     90010919512
7B2B2161133698   JOHN         CUMMINGS                     NC     12063191611
7B2B218A18B168   BRUCE        TERRY                        UT     31084111801
7B2B221A59154B   DANIEL       SANTACRUZ                    TX     75091062105
7B2B295115B596   NAOMI        MARTINEZ                     NM     35068999511
7B2B2951572B32   MARCIA       EUDABE                       CO     90001719515
7B2B312158B163   KIMBERLY     MATAELE                      UT     90001291215
7B2B3218593739   MARTIN       CAWLEY                       OH     90010592185
7B2B3227841253   DUSTIN       OLIVIER                      PA     90014702278
7B2B3232257531   TIFFANY      VILLAGRAN                    NM     90014192322
7B2B3451371921   CHAD         STERMITZ                     CO     32017744513
7B2B345598B157   VERONICA     OBERG                        UT     90012474559
7B2B3A4785B59B   BENJAMIN     KING                         NM     90012310478
7B2B4229A41227   CHARMAINE    TURNER                       PA     90009592290
7B2B434A55B59B   JAMES        POWELL                       NM     90009083405
7B2B43A6172421   LORETTA      GRIMM                        PA     90014743061
7B2B4649A8593B   BRIAN        HOSS                         KY     66084166490
7B2B5277441253   AMANDA       PISOR                        PA     51097942774
7B2B5669793726   DIAMOND      SERUGGS                      OH     90013366697
7B2B581783168B   ROBERT       SUTTON                       KS     90008838178
7B2B5953827B98   JALEESHA     POINDEXTER                   KY     90015409538
7B2B5971291991   BRENDA       EVANS                        NC     17047419712
7B2B6329A93739   BILLY        WARMAN                       OH     90013073290
7B2B6471527B98   DARLENE      QUARLES                      KY     90009504715
7B2B6548372B44   MICHEAL      CARROL                       CO     90014215483
7B2B666278B134   GARRY        CURTIS                       UT     90014636627
7B2B6673A8B142   KALEE        PERIDES                      UT     31023206730
7B2B7524872441   JERRY        CARDONA                      PA     90012175248
7B2B7548372B44   MICHEAL      CARROL                       CO     90014215483
7B2B772988B157   BRIANNE      AVILES                       UT     31095707298
7B2B7969771921   REED         MASON                        CO     90005079697
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1039 of 2350


7B2B826765B59B   MICHAEL      TULINO                       NM     35025102676
7B2B8548693726   LISA         MOORE                        OH     64584355486
7B2B85A8857556   BRANDON      HARVEY                       NM     90009495088
7B2B864162B994   ANGEL        BENITEZ                      CA     90010746416
7B2B8A18755966   JON          CHURCH                       CA     90013010187
7B2B91A554B553   RODOLFO      RODRIGUEZ                    OK     90001101055
7B2B9222181255   CHRISTINA    PATTERSON                    KY     68007652221
7B2B9261493739   TAYLO        VALORI                       OH     90012652614
7B2B9358772421   JENNIFER     BEKHIT                       PA     90014763587
7B2B9393241227   DONALD       KING                         PA     90008763932
7B2B93A6136182   RICHARD      ALLEN                        TX     73513163061
7B2B9423A9154B   ROSA         CASTRO                       TX     90014144230
7B2B9552261975   BELINDA      GOBBLE                       CA     90005895522
7B2B975A88B168   JOSE         MONTALVO                     UT     90001297508
7B2B977925B596   ROGELIO      HAROS                        NM     90014007792
7B2B9A19955966   LUIS         PLASENCIA                    CA     90013010199
7B2B9A85472B44   BRANDT       PLESSINGER                   CO     33094520854
7B2BB338671921   ALPHONSO     GARZA                        CO     90012853386
7B2BB82418B168   DUSTY        WILLIAMS                     UT     90014918241
7B311712255931   JOHN         TUCKER                       CA     90007077122
7B3117A3331432   AVION        CARSON                       MO     90011397033
7B3118AA393726   MELINDA      JOHNSON                      OH     64575178003
7B311951A72B29   MARTIN       REYES                        CO     90011889510
7B3119A2841237   ZIPPORAH     BALDRIDGE                    PA     51078239028
7B312587491959   SHAKEY       REAMS                        NC     90004275874
7B312774861995   FAYE         HOLLIE                       CA     90000827748
7B312A5558B142   LEIGH        HANSON                       UT     31010540555
7B312AAA772B44   NICOLE       CORDLE                       CO     90011220007
7B313334855966   LEO          PIKE                         CA     90013023348
7B313417772B32   FILIBERTO    CERVANTES                    CO     90013554177
7B31344678B142   FELIP        GABRIEL                      UT     90008474467
7B31375689154B   OMAR         CHAVIRA                      TX     75077867568
7B31433587B477   MELODY       GOMEZ                        NC     90007163358
7B314743751348   MOHAMED      YEHDHIH                      OH     90004707437
7B31573427B477   TAWANA       HOLMES                       NC     90005657342
7B315A71772479   JOHN         SACIK                        PA     90002950717
7B315AA652B994   KAREN        PEDRAZA                      CA     90013940065
7B316119541227   CATHERINE    MITCHELL                     PA     51076691195
7B316373657556   MARIA        FLORES                       NM     90012073736
7B316812872B44   JORGE        BANDA                        CO     33035658128
7B31681915B596   AMELIA       ROBLES                       NM     35091258191
7B316AAA772B44   NICOLE       CORDLE                       CO     90011220007
7B31719A13168B   DON          CALDWELL                     KS     22006121901
7B31731A472423   PRESTON      ROBINSON                     PA     90013213104
7B31763815B169   DONALD       BEENE                        AR     23027706381
7B31795118B157   JUAN         ESTRADA                      UT     90006359511
7B31796A351348   BRANDON      ANDERSON                     OH     66053729603
7B317A41372479   OLEDA        MIKELS                       PA     51039320413
7B31871675B59B   JENNIFER     SCHAFER                      NM     35035677167
7B3189A3327B98   MARCO        HERNANDEZ                    KY     90014909033
7B319212993739   STEPHAN      HAMMOCK                      OH     90013462129
7B319261954149   ANA          HERRERA-ORTIZ                OR     90011332619
7B319335527B98   TONYA        ARMITAGE                     KY     90014263355
7B31934575B59B   MICHELE      RICHARDSON                   NM     35018153457
7B3193A7681633   ORICHARD     CHARLESTON                   MO     29006553076
7B319796372421   JAMES        NEWTON                       PA     90014887963
7B319A67A4B572   AMANDA       CLAY                         OK     90006700670
7B31B34975B356   DANIELLE     SOC LOPEZ                    OR     44505103497
7B31B423672441   MICKIE       PARKIN                       PA     90014164236
7B31B439151348   VICTORIA     THOMAS                       OH     90014874391
7B31B5A6661935   ROBERT       IVY                          CA     90004525066
7B31B777957556   JESUS        MAJALCA                      NM     90009987779
7B31B8A7193726   PRINCE       MONTGOMERY                   OH     90001908071
7B31BA13441227   AUDREY       WERNER                       PA     90013890134
7B321247781643   CATHERINE    AQUINO                       MO     90004262477
7B32134128B142   HASSAN       ALARADI                      UT     90013983412
7B32152AA31443   GARY         MULLIGAN                     MO     27582315200
7B321535661935   MOISES       HIDALGO                      CA     90011785356
7B321631155966   LEE          GREEN                        CA     48071416311
7B321796372421   JAMES        NEWTON                       PA     90014887963
7B32191578B157   WOLFRED      KANONGATAA                   UT     90014639157
7B321A4292B994   JOSE         VALLES                       CA     90013940429
7B322262272B29   JAIME        STALTER                      CO     33027802622
7B32238A172B32   SARAHI       MARTINEZ                     CO     33039133801
7B322437631433   TOOTIE       SMITH                        MO     27555434376
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1040 of 2350


7B322988291252   ALEJANDRO    LOPEZ                        GA     90006619882
7B323429771921   JOSE         OSCAR                        CO     90014114297
7B32343819154B   TERESA       SALAZAR                      TX     90014804381
7B323458261985   JOSE         MARISCAL                     CA     46017154582
7B323537793726   COURTNEY     WOOTEN                       OH     90004605377
7B32364833168B   IVAN         PENA                         KS     90008996483
7B323A48A72441   ANGELA       POPE                         PA     90011280480
7B324583A5B169   DOMINIE      SMITH                        AR     90006055830
7B324865355931   OSWALDO      ZARATE                       CA     90011118653
7B3252A462B271   MICHELLE     RILEY                        DC     90013012046
7B325347233698   SYLVESTER    HUGHES                       NC     90013383472
7B325796372421   JAMES        NEWTON                       PA     90014887963
7B325844633699   BRUNO        HERNANDEZ                    NC     90000148446
7B32589778B168   MICHAEL      DRAPER                       UT     31096808977
7B32599872B994   NANCY        ROMERO                       CA     90000149987
7B326291A8B157   SAMANTHA     HOWELL                       UT     90013042910
7B326616672479   JOHN         PAINTER JR                   PA     90012376166
7B326A23972B44   BETH         BRUMER                       CO     90000800239
7B32739619154B   MORALES      MIRIAM                       TX     90012953961
7B327495184322   JENNIFER     JOSEY                        SC     90013874951
7B327789957549   EDITH        VALDEZ                       NM     90015067899
7B327856793736   JOHN         EICHELBERGER                 OH     90008378567
7B32853318B168   TINA         ESPANA                       UT     90007095331
7B32952517B477   MARIA        GUTIERREZ                    NC     90014745251
7B329731855947   WALTER       FONSECA                      CA     90004437318
7B32979415B384   TAILEE       MATHIS                       OR     90006327941
7B329854A8B163   JAMES        VALENTINE                    UT     31012758540
7B329A51372479   LISA         ZUMBRO                       PA     51089520513
7B32B362651544   YAKAWOLO     SAH                          IA     90013343626
7B32B479393739   JOVON        LOWE                         OH     90013064793
7B32B86295B356   MILTON       EIDSON                       OR     44577028629
7B32B884372B29   DIANE        LINDSAY                      CO     33062348843
7B32BA16461935   GRETT        VALLDARS                     CA     90003770164
7B33147434B572   SHANA        WATTS                        OK     90014334743
7B331539A72479   ADRIAN       HERNANDEZ                    PA     90014745390
7B33232268B134   COURTNEY     REOPELLE                     UT     90013283226
7B332AAA95B59B   ONESIMO      FAJARDO                      NM     90014180009
7B33359668B142   DALE         PETERSON                     UT     31002155966
7B3337A5755931   MAI          CHANG                        CA     90014947057
7B33429348B163   AMANDA       PETERSEN                     UT     90014732934
7B334358655966   SELINA       VELASCO                      CA     90013023586
7B33438A661972   JAIME        VALDEZ                       CA     90014113806
7B33452825B59B   JESSICA      DURAN                        NM     90013865282
7B334829493736   RENEE        HICKS                        OH     64541738294
7B334A99736123   CHRISTINA    MOLINA                       TX     90003690997
7B3352A7572B29   JASON        LUCERO                       CO     90013882075
7B3363A227B477   ANGELA       STEVENSON                    NC     11043213022
7B336527391572   OZIEL        DE LA CERDA                  TX     75059535273
7B336651431432   APRIL        INGRAM                       MO     27547666514
7B33665392B994   MATHEW       SHIPLEY                      CA     90015216539
7B33676A441237   AMBER        NEPHERPON                    PA     90007697604
7B336793355947   RUBEN        GARZA                        CA     90013367933
7B336949431443   KAREN        GRAHAM                       MO     90004519494
7B336A53572421   JAMIE        SHIELDS                      PA     51068510535
7B337477493726   LEEVON       LEE                          OH     90013484774
7B337797355947   JOSE         SILVERTRE                    CA     49093947973
7B338495884322   IVELISSE     ROSA                         SC     90014404958
7B33867698B157   LUIS         ESCOBAR                      UT     90011986769
7B338869891991   JALIL        NIXON                        NC     90011268698
7B33889985B59B   DAISHA       MARTINEZ                     NM     35086888998
7B339257736182   TAQUANA      HOUSTON                      TX     90004902577
7B339319891587   LEE          SOLIS                        TX     90000143198
7B339359272B32   APRIL        PAW                          CO     33016143592
7B33B255372B32   BENNIE       VALDEZ                       CO     33035652553
7B33B61195B59B   DEANE        DOUG                         NM     35095516119
7B33B627993736   BRITTANY     MITCHELL                     OH     90014466279
7B33B67A338522   TREVOR       HENDRICKSON                  UT     90008126703
7B33B96375B596   BRIAN        MICHAEL                      NM     90003289637
7B33BA88541253   DARREN       MOORE                        PA     51014300885
7B341359693736   NATE         DANKWORTH                    OH     64571593596
7B34167127B335   CARLOS       ESCALANTE                    VA     81064966712
7B34168188593B   JONATHAN     RIGGS                        KY     90014506818
7B341863A2B994   INDERBIR     KAUR                         CA     90008338630
7B341869891991   JALIL        NIXON                        NC     90011268698
7B341A9A181643   NANCY        BROWNLEE                     MO     90010410901
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1041 of 2350


7B3422A3531432   BREANNA       HILL                        MO     90013072035
7B342711555931   VICTOR        VAZQUES                     CA     90014947115
7B342A3994B572   SHERRIE       JONSON                      OK     90014320399
7B343449471921   AL            LESTER                      CO     32079834494
7B34358A761927   SAMARA        AFARAM                      CA     90006095807
7B343684581633   ALISHA        HILL                        MO     90010646845
7B343A63384322   SHERRELL      FRAZIER                     SC     90014580633
7B344183157556   RUDY          UZETA                       NM     90011551831
7B344351661935   JOSUE         GARCIA                      CA     90011793516
7B34459768B134   RUTH          PERLA                       UT     90001545976
7B344718941253   JAMES         PARNELL                     PA     90014187189
7B345193193739   PAM           WALKER                      OH     64574641931
7B34541128B168   JEREMY        CHIDESTER                   UT     90011984112
7B34581899154B   ELIZABETH     RODDIGUEZ                   TX     75010848189
7B345925A57556   ANNETTE       WAINMAN                     NM     90012249250
7B345AA6341237   GWEN          HOLMES                      PA     90014800063
7B34612625B384   ROGELIO       TORRES                      OR     90009101262
7B34674A291563   VERONICA      VILLELA                     TX     75043507402
7B346836181633   WALLACE       TINDALL                     MO     29001278361
7B34725815B356   LUIS          SANCHEZ                     OR     90001202581
7B347454272B44   LANAI         HOWELL                      CO     90014774542
7B34778977B661   QUARTEZ       STEVENSON                   GA     90013417897
7B34791228B142   MAYRA         VALDIVA                     UT     90012629122
7B347A51733698   ERICA         JACKSON                     NC     90011090517
7B347AA7341237   CARI          BURNS                       PA     90013120073
7B348724A31432   MAURISSA      PARTLOW                     MO     90001447240
7B349176833698   ANTHONY       SIMMONS                     NC     90014261768
7B349445555966   ALEXIS        BARRIOS                     CA     90015264455
7B349935155947   CESAR         DURAN                       CA     49007609351
7B349A46A5B59B   MARIO         VALENZUELA                  NM     90006760460
7B349A96671921   MICHAEL       GOURLEY                     CO     32094900966
7B34B448657556   GUSTAVO       VALENZUELA                  NM     90010064486
7B34BA27172441   JOEL          RODGERS                     PA     51016960271
7B351134693726   ANGEL         BARLOW                      OH     90011781346
7B351377331432   CHARLES       MINNER                      MO     90013523773
7B35167948B157   JAMES         IVIE                        UT     90015586794
7B35175A372441   TAMARA        PUGH                        PA     90013947503
7B351962172B44   JESSICA       MALEKI                      CO     90005139621
7B352723857556   JERRY         THOMAS                      NM     90010087238
7B352771781633   MYRANDA       GILMORE                     MO     90011307717
7B3527A215B384   DAVID         JIMINEZ                     OR     44501307021
7B352867172B29   BRENDA        MORRISON                    CO     33066868671
7B35294A572441   JERRY         BALLENTINE                  PA     51042449405
7B35312A84B572   NAKOMA        HAWORTH                     OK     90014071208
7B35325258B134   TANGI         LAPALE                      UT     31002922525
7B353289471921   STEPHANIE     KLEEMANN                    CO     32052602894
7B3539A815B59B   FRNCISCO      SIAS-MARQUEZ                NM     35091679081
7B353A42661935   LASHAWNDA     SMITH                       CA     90009000426
7B35413432B994   EVELIA        MONTERO                     CA     90013941343
7B35428958B142   GRACE         KIRBY                       UT     90011752895
7B354869141237   EDWARD        KEATING                     PA     90014848691
7B35514683B35B   DANIEL        VALENZUELA                  CO     90010591468
7B355398984329   ARUTHER       BOYD                        SC     90009103989
7B355887672441   MIKE          RIZNO                       PA     90013948876
7B355A1A88B19B   TERAH         MACHEGO                     UT     90007800108
7B355A3A927B98   DOROTHY       BABB                        KY     90005220309
7B35625A72B271   DEON          TAYLOR                      DC     90003802507
7B3566A6A5B356   CHRISTOPHER   GOLSAN                      OR     90000316060
7B356A27671921   GARLAND       PEARCE                      CO     90012940276
7B356A65927B98   CASSIE        COWELL                      KY     90014500659
7B35732A25593B   ROSALINDA     PEREZ                       CA     90008143202
7B35775525B399   HENRI         MANDEKOR                    OR     44590967552
7B3577A1851348   KEVIN         HILSON                      OH     90003797018
7B358826957157   RUDY          GUTIERREZ                   VA     90015048269
7B358956733698   TENAE         LOVE                        NC     90010909567
7B358978291991   JOSE          LOPEZ                       NC     90004389782
7B358A1728B157   MAGGIE        PALMER                      UT     90014730172
7B359561A8B142   SHANE         CAMPBELL                    UT     31098815610
7B359621784322   JESUS         MANSANARES                  SC     90011106217
7B35988945B356   MARISOL       RIVAS                       OR     90009958894
7B359A46872421   AMIR          BEY                         PA     90010720468
7B359A86731443   WILLIAM       CLAYTON                     MO     90004990867
7B35B364131432   CELESTE       ALLEN                       MO     90014603641
7B35BA2788B134   CAREN         FINLEY                      UT     31032660278
7B35BA7899154B   ENID          MORENO                      TX     90000650789
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1042 of 2350


7B361341A81643   BRANDY            HUNTER                  MO     90004333410
7B361352772479   DIANA             GRIMPLIN                PA     90002823527
7B361383572441   JAMIE             BERKOVIC                PA     90000333835
7B36148582B249   DAVID             MORENO                  DC     81048944858
7B361516884322   MARIELA           OLGUIBN                 SC     14522545168
7B361533327B98   TARA              JOHNSON                 KY     90012065333
7B36167915B169   CHELSEA           PEARSON                 AR     90002826791
7B36187445B356   COLE              SASHKIN                 OR     90008798744
7B362363472B29   DINO              DOMINGUEZ               CO     90006263634
7B36252A461935   RENE              NGIYULU                 CA     90011795204
7B362548655966   GUSTAVO           QUEZADA                 CA     48073945486
7B362796993726   KIMBERLY          MASSIE                  OH     90007157969
7B362A81255966   KEVIN             DAVILA                  CA     90014160812
7B362AA8A4B572   SHARON            HOPKINS                 OK     90012690080
7B364196A31432   VALESKA           NANCE                   MO     27564061960
7B36428618B186   KARINA            MENDEZ                  UT     90008022861
7B364323872B29   VIRGINIA          MIR                     CO     90007973238
7B36442158B163   MARRY             BANDERMAN               UT     90015344215
7B36452A151322   CHRISTINA         LIGHTFOOT               OH     66089215201
7B36494295B59B   NADINE            ALBERT                  NM     90013259429
7B364962877524   KATRINA           ESPARZA                 NV     90003679628
7B364983557157   CORINA            CRUZ                    VA     90008119835
7B364A5A391939   DAISHA            GIBBSON                 NC     90004260503
7B36531965B596   GAYLENE           GONZALEZ                NM     90004223196
7B36577218562B   MELISSA           ALVARVDO                NJ     90011327721
7B36599365B59B   HENRY             ROMERO                  NM     35084629936
7B365A87157556   MICHAEL           MILO                    NM     90010310871
7B365A94A55966   BETO              ESPINOZA                CA     90013180940
7B366119355966   REBEL             GALAZ                   CA     48084281193
7B36635445B59B   LYDIA             HENDERSON               NM     90009083544
7B36655815B384   SILVIA            RAMIREZ                 OR     44512325581
7B366714172441   JESSICA           EVANS                   PA     51086947141
7B366772672B32   TOMAS             CORAL                   CO     90010747726
7B36724258593B   PAULA             SCOTT                   KY     66083092425
7B367923327B98   MAULO             ROBLES                  KY     90015019233
7B367AAA59154B   MIGUEL            MARTINEZ                TX     75010840005
7B36833A272441   SONYA             STRATTON                PA     90001803302
7B368441891252   LOUESA            FERRIS                  GA     90006954418
7B3685A7284322   VIRGILIO          GUARDIO                 SC     14505175072
7B36862795B356   JOSE              SATEY                   OR     44518546279
7B3686A2541253   ANGEL             CASTAPHENY              PA     51036556025
7B3692A275B59B   PABLO             MURILLO                 NM     35028862027
7B36957699189B   AMY               BORG                    OK     90000765769
7B369595A33698   AUNDREA RAYMOND   NEWKIRK                 NC     90012085950
7B369597931432   TAYLOR            MAYERS                  MO     90014945979
7B369682A55966   ADOLFO            MENDOZA                 CA     90011126820
7B369A21572441   NANCY             DOBSON                  PA     51038320215
7B36B235281633   JAMES             BUSH                    MO     90014872352
7B36B58138B142   TYLER             MANN                    UT     90005695813
7B36B5AA361935   RAED              KAROOMA                 CA     90011795003
7B36B91395B356   RAMON             CASTILLO                OR     90007319139
7B371519593739   MELVINA           HALL                    OH     90001395195
7B37163725B356   MELLISA           DAVENPORT               OR     90006726372
7B371A78731432   BRITTANY          SHELTON                 MO     90011850787
7B372483572B32   FRANCO            RASCON                  CO     33077444835
7B372786881633   STEPHEN           WATTS                   MO     90013627868
7B372845355966   VALDEZ            ROBERTA                 CA     48019888453
7B37284A331443   TREY              DAVIS                   MO     90004888403
7B372AA222B994   HUGO              MONTEZ                  CA     90004780022
7B373279433698   OLGA              VICENTE                 NC     90013262794
7B37329753B388   BYRON             MURPHY                  CO     90012062975
7B373611855966   SANDY             MADRIGAL                CA     48035466118
7B373916851348   VERONICA          ALBAVERA                OH     66071479168
7B373A39393736   LAMAR             MAYE                    OH     90007320393
7B374131972B44   SHALE             NORRIS                  CO     90012991319
7B37429625B59B   JOCLIN            NICASIO                 NM     35057152962
7B374351731432   WILLIAM           HARRIS                  MO     90014643517
7B374559572B32   BRANDON           BROWN                   CO     90013155595
7B374573241237   DUSTIN            HANCOCK                 PA     90009105732
7B375118881633   TRACY             GRAVES                  MO     90012461188
7B37574A755966   TIM               CARRASCO                CA     48063647407
7B375871841273   MATHEW            WARHART                 PA     90015068718
7B375896231433   DERRICK           WRIGHT                  MO     90005298962
7B375A4168593B   DANIEL C          CETRULO                 KY     90012700416
7B3761A9572B29   MARIA             VERA                    CO     90008691095
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1043 of 2350


7B376268725321   JARED        CLOWES                       WA     90015392687
7B3764A697B661   KELVIN       BRUNSTON                     GA     15011744069
7B37666817B477   TERRY        CLATTERBUCK                  NC     11000966681
7B37677718B163   KASI         BURBANK                      UT     90012067771
7B3769A2155947   JOSE         CARRILLO                     CA     49005049021
7B377355927B98   LATOSHA      QUARLES                      KY     90014703559
7B377448972441   RICHARD      GINTHER                      PA     51052494489
7B377A2A65B169   PATRICK      CREDIT                       AR     90004720206
7B37811637B398   JESSICA      BARNETT                      VA     90013331163
7B378131771921   KAREN        VONRITTER                    CO     32090211317
7B378222A5B356   HEIDI        DEBELLIS                     OR     44546352220
7B378381A72B32   MARIA        PADILLA                      CO     33094943810
7B37839417B398   JESSICA      BARNETT                      VA     81015393941
7B3783A9655979   NIRA         LUJAN                        CA     90006343096
7B37848528B142   LORALYN      BURTON                       UT     31075884852
7B37861672B994   CHARLES      IGOU                         CA     90013206167
7B378665641253   MICHAEL      BERADELLI                    PA     90002136656
7B37875825B596   JESSICA      MORES                        NM     35056917582
7B378A36555947   MIRNA        GARCIA                       CA     90010030365
7B3793A3561465   ASHLEY       SCHORKHUBER                  OH     90014223035
7B37947A472421   ROBERT       KOWNACKI                     PA     51066864704
7B379494A2B271   RAYSHAWNA    THOMAS                       DC     90010534940
7B379697741253   NATHANIEL    WATSON                       PA     51024346977
7B379A21272B32   STEVE        VANDERBURGH                  CO     90013820212
7B37B329327B98   BETTY        ELLIS                        KY     90014513293
7B37B34522B994   XOCHITL      BECERRA                      CA     45058583452
7B381355927B98   LATOSHA      QUARLES                      KY     90014703559
7B381433A72B29   MAYTEE       RODRIGUEZ                    CO     90014714330
7B38146769154B   LILIANA      NORIS                        TX     90010954676
7B381538171921   COLLEEN      BJORK                        CO     90014515381
7B38154635B356   JOHN         GRIFFITHS                    OR     90008365463
7B3816A6472B32   SUNYOUNG     YU                           CO     33095046064
7B382231881633   KEON         HARDIN                       MO     90013812318
7B38225695B59B   AMANDA       RODRIQUEZ                    NM     90005812569
7B38247988B134   SHANE        BROWN                        UT     90010024798
7B38288188B134   LOSANA       KAUFUSI                      UT     90010608818
7B38312AA5133B   CHARKQUINT   JOHNSON                      OH     90001051200
7B383431672B29   NOE          MACIAS                       CO     90000934316
7B3835A5772B32   FRANCISCO    RUELAS                       CO     90003675057
7B383632A55931   PRINESS      JACOB                        CA     90013556320
7B3836A4151348   JACQUELINE   DUBOSE                       OH     66005716041
7B383729555966   CRISTINA     HERNANDEZ                    CA     48008587295
7B383763A41253   RODNEY       EUWER III                    PA     90007627630
7B3838A698B163   DELMY        MONGE                        UT     31090638069
7B383929793739   MARK         BUTTS                        OH     90014299297
7B383A42A5B384   ROBERT       CRONEN                       OR     44596560420
7B38413688B134   MARIA        RIOS                         UT     90012211368
7B384466472441   CLINT        COOL JR.                     PA     51080964664
7B38473A355966   MAYRA        MARITNEZ                     CA     90014217303
7B385112972B32   SOUTHWEST    STONE                        CO     90014751129
7B385814655966   JUAN         MARTINEZ                     CA     90008658146
7B38589372B271   MARCIA       BROWN                        DC     90010688937
7B38599179154B   OSWALDO      MONTALVO                     TX     90011159917
7B386362191297   VALARIE      EDWARDS                      GA     90015123621
7B38669125B53B   VIRGINIA     GALLEGOS                     NM     90009516912
7B386766A41237   LATICA       HENDERSON                    PA     90013587660
7B387317233628   CYNTHIA      RUSSELL                      NC     90007763172
7B387349977524   JESSE        GARCIA                       NV     90011623499
7B387519872B29   JACKSON      DANA                         CO     33034115198
7B387641A72B32   MELINDA      PERSON                       CO     90009386410
7B387A83571921   VERONICA     ESCARCEGA                    CO     90014240835
7B38843388B134   GLORIA       GARCIA                       UT     90008914338
7B38874235B392   REBEKAH      DYKHORST                     OR     90011217423
7B388A27593726   ALICIA       HASTY                        OH     64547430275
7B388A57972441   LILLIAN      WOODS                        PA     90013130579
7B388A63361935   PAUL         LUMRY                        CA     90011800633
7B38925483168B   KARA         HORKAVY                      KS     90013832548
7B389321681633   LEOBARDO     ORTIZ ZAPATA                 MO     90011033216
7B389352751355   LESLEY       SIMPSON                      OH     66067293527
7B3893AA141253   GEORGE       CROUSE                       PA     51016273001
7B389AA3A51348   JASON        ROBINSSON                    OH     90015300030
7B38B214A93739   MELINDA      MINER                        OH     90014152140
7B38B84138B168   TESLA        HERNANDEZ                    UT     90009198413
7B38B858A4B572   TAMMY        SNIPES                       OK     90007298580
7B38B866241227   KHALIL       ROBINSON JR                  PA     90015158662
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1044 of 2350


7B38BAA2884322   JESUS           AVILA                     SC     90008000028
7B391241493726   LARISHA         SPEAR                     OH     90011782414
7B391259172B29   BRUCE           ILLER                     CO     90013922591
7B39126A431463   JESSICA         ETIM                      MO     90005352604
7B391351341237   MILLER          LYNNANNE                  PA     51072503513
7B39176A572479   THERESA         BAYNES                    PA     51012147605
7B39277628B168   HEATHER         ANNE                      UT     90009987762
7B39279828593B   DANA            RICHARDSON                KY     90008467982
7B39312A691563   IRMA            MEDINA DE VALDEZ          TX     90009981206
7B393132255947   JOSEPH          MARTINEZ                  CA     49045021322
7B393232A4B572   SANDY           CARPENTER                 OK     90014322320
7B393426936182   JESUS           RAMIREZ                   TX     90005144269
7B393511761935   DAVID           VANWINKLE                 CA     90006945117
7B39377635B59B   MICHELLE        CHAVEZ                    NM     90001147763
7B39384245593B   JAIME           AVINA                     CA     90011838424
7B393A42681633   ARTASHA         LOONEY                    MO     90014880426
7B394716841227   PATRICK         SINGHOSE                  PA     51018327168
7B394749A3168B   MICHELLE        WILSON                    KS     90006097490
7B394856972B29   PATRICIA        KEYS                      CO     33004898569
7B394A75A93736   MARIO           CHIPAHUA                  OH     90015060750
7B395148981643   AMY             DAVIS                     MO     90013631489
7B395672355931   DANIEL          EDWIN                     CA     90013556723
7B39569858B134   MARCO           MORENO                    UT     90003676985
7B395835271954   JACQUELINE      ESCALANTE                 CO     90011668352
7B395866241227   EDWARD          WALKER                    PA     90012208662
7B395A7653168B   JAMIE           WHITFIELD                 KS     22089750765
7B396151293726   BRIAN           WORLEY                    OH     90000881512
7B39637145B59B   ERNESTO         MEDINA                    NM     90010713714
7B39641677322B   DONTEA          LEWIS                     NJ     90014914167
7B396424872479   HENRI           DEVIGNE                   PA     90013074248
7B39666745593B   NORMA           GARCIA                    CA     49056596674
7B396A59586538   JORGE           GONZALAS                  TN     90012620595
7B397365772421   KIMBERLY        SHUMAR                    PA     51091323657
7B397446441233   CINNAMON        COLES                     PA     90003514464
7B397672355931   DANIEL          EDWIN                     CA     90013556723
7B3976A6451328   DEMETRA         CARR                      OH     90006726064
7B39781535B245   KATHRYN         CAMERON                   KY     90011308153
7B397AA169154B   ROSAURA         GARCIA DE FIGUEROA        TX     90011160016
7B398164557157   CAROLINE        MCDOWELL                  VA     90003411645
7B3981A3672B32   MARIA           BLANCO RODRIGUEZ          CO     90009681036
7B398349433698   PAMELA          WHISENHUNT                NC     90011443494
7B398668377977   CARL            SAPES                     IL     90015406683
7B398694155931   ROXANNE         GARCIA                    CA     49090266941
7B39883A691939   FRANCES         VINSON                    NC     17035578306
7B39886315B384   JANA            MCDONALD                  OR     90003838631
7B399132857157   DIEGO           LOPEZ                     VA     90015461328
7B399294A72441   MATT            CREES                     PA     90005632940
7B39953A351348   BALELE          BAMOUNI                   OH     90011825303
7B399946872421   CHRISTINA       JONES                     PA     90004889468
7B399967472B93   GHOLAMREZA      JAFARIZADEH               CO     90013039674
7B39B23498B142   MARITSA         CISNEROS                  UT     31081892349
7B39B37AA55966   JOSE            RAMIREZ                   CA     90015163700
7B39B395A4B522   ASIANNA         FRANKLIN                  OK     90011463950
7B39B4A6455966   ANTHONY         POGGIONE                  CA     90013024064
7B39B73118B163   ASHLEY          ANDUS                     UT     31009527311
7B3B114A38B163   JAZMIN          LAZARO                    UT     90011651403
7B3B1158A72B44   GUADALUPE       AYALA                     CO     33087701580
7B3B1364172B29   FRANSISCO       GUTIERREZ                 CO     33001423641
7B3B1735157157   GLADIS CELINA   HERRERA                   VA     90003047351
7B3B19A5272479   MALORI          HOAK                      PA     90005039052
7B3B2148841227   ERNEST          VADEN                     PA     90008371488
7B3B22A1333698   TRAVIS          ROBINSON                  NC     12069152013
7B3B2953772441   STEVE           RIEGLE                    PA     90009089537
7B3B2987A8B168   RUBEN           DELGADO                   UT     90011079870
7B3B31A6555966   ROSENDO         VERA                      CA     90013011065
7B3B3254971921   REGINA          WEST                      CO     32087292549
7B3B337263168B   ALLAN           MURDOCK                   KS     90013683726
7B3B3436951348   MERRILL         DURHAM                    OH     90002704369
7B3B3534391252   ARTHUR          CUYLER                    SC     90006945343
7B3B3734661972   ARTURO          VALLEJO                   CA     90003847346
7B3B4272255931   VANESSA         FLORES                    CA     90013552722
7B3B4282541253   NYESHA          NEAL                      PA     90011082825
7B3B42AA571921   LAPASSION       MARSHALL                  CO     90011912005
7B3B455168B168   JOSHUA          JOHANSEN                  UT     90012515516
7B3B45AA54B572   GERALD          COLEMAN                   OK     90015215005
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1045 of 2350


7B3B5277591991   GRACE         INIAFERRI                   NC     17064382775
7B3B557397B477   CLAUDE        NIATI                       NC     11093455739
7B3B587258B157   JULIE         MAIR                        UT     90004548725
7B3B594587B335   JOSE          MARVIN FLORES               VA     81003429458
7B3B61A6772479   HARRY         DUNLAP                      PA     90014621067
7B3B622957B477   RICHARD       MC CALL                     NC     90009492295
7B3B6625393736   CASEY         FULTZ                       OH     90012966253
7B3B6626633698   KENDRA        DOWDELL                     NC     90008776266
7B3B685815B356   AMBER         BRYAN                       OR     90003868581
7B3B696927B477   ALEXUS        ADAMS                       NC     90015139692
7B3B6A8848B168   BOWDY         CLYDE                       UT     90014150884
7B3B7112855966   DONNA         CONTRERAS                   CA     90013011128
7B3B824112B994   CELESTE       VEGA                        CA     90013062411
7B3B8292172B29   SILVIA        RANGEL                      CO     33065662921
7B3B8986384322   SARA          DEASON                      SC     90012759863
7B3B912748B168   RACHELL       PICKERELL                   UT     90013651274
7B3B9272255931   VANESSA       FLORES                      CA     90013552722
7B3B941728B163   SIONE         FONUA                       UT     90010344172
7B3B9545272B44   MICHAEL       TAYLOR                      CO     33052385452
7B3B975817B359   ROSALVA       VERGARA                     VA     90001787581
7B3B98A645B59B   CHRISTOPHER   CASTILLO                    NM     90011068064
7B3BB23A255966   LUZ           BRISENO                     CA     90003062302
7B3BB9A588B157   AUBREY        JEWART                      UT     31028769058
7B3BBAA3457556   DANIEL        RIVERA                      NM     90011930034
7B41115769154B   CARMEN        AGUIRRE                     TX     90007871576
7B411211481633   FLORENTINO    DIAZ                        MO     90010652114
7B411378872B44   JOSE          ESQUIVEL                    CO     90009193788
7B4113A3372479   JOSEPH        WILIUSZIS                   PA     90008743033
7B411443561951   STACY         WHITE                       CA     90007874435
7B411589427B98   KRISTIN       DUDLEY                      KY     90012635894
7B41189434B572   ROSA          HERNANDEZ                   OK     90015168943
7B412146A27B98   WOODFOLK      AALIYAH                     KY     90013931460
7B412318733698   SHIRLEY       SADLER                      NC     90012843187
7B412591893736   MILLIE        BILLS                       OH     90001025918
7B4125A8957157   MARIAMA       ADAMS                       VA     81077695089
7B413346993736   KATRINA       MILLINER                    OH     90011393469
7B41339896198B   HELEN         GARCIA                      CA     46006373989
7B413597184322   TIANNA        CLEVELAND                   SC     90011335971
7B41367348B157   BLAS          MOCTEZUMA MAYO              UT     31034276734
7B41376A581633   AARON         SAGARA                      MO     90005337605
7B413872255947   DWAYNE        POWELL                      CA     49098728722
7B413A86172B44   DEBORAH       ACIO                        CO     90011750861
7B41412112B84B   JON           CHRISTENSEN                 ID     42004781211
7B41412748B163   SANTOS        SHARON                      UT     31079961274
7B414542A3162B   DEANNE        EARWOOD                     KS     90010405420
7B414615572441   ROLAND        SCHAD                       PA     90011616155
7B41515A427B98   JORDAN        LLOYD                       KY     90001201504
7B41532895B386   JUAN          PASTELIN                    OR     90001653289
7B41561358593B   ERIC          STAPLETON                   KY     66054816135
7B41585A541253   PATRICA       MCCLUNG                     PA     51092458505
7B41648968B142   JULIE         JACKSON                     UT     90003944896
7B41659A172B44   KENNETH       HEERSCHAP                   CO     33054945901
7B416A22155966   MIGUEL        RIVEROS                     CA     90008690221
7B416A43493736   CHASITY       DUGAN                       OH     90001880434
7B417112631432   BECKY         BUTLER                      MO     90011311126
7B4173AA172B32   NAKIEMA       HOWARD                      CO     90010953001
7B417627531443   DUSTIN        BRABEC                      MO     27508356275
7B417A95155947   CRISTINA      GARZON                      CA     49077150951
7B41827372B271   TANIKA        WILLIAMS                    DC     90008332737
7B418583991939   ANGEL         SMITH                       NC     17035595839
7B418738855931   JOSE          MARIN                       CA     49039497388
7B419349571921   ROSALINDA     LOPEZ                       CO     90003023495
7B41B1A7491827   GAYLA         JORDAN                      OK     90007931074
7B41B485144386   BRETT         COTE                        DC     90003904851
7B41B63318B168   KERI          HITE                        UT     31084426331
7B41B675993736   BRIGETTE      HASTY                       OH     64570936759
7B421234251348   CHRISTEL      LACINAK                     OH     90008722342
7B421247741227   KEITH         HEFFERNAN                   PA     51043452477
7B42152A461935   CHRISTEL      PATTERSON                   CA     90004575204
7B421744291993   GWENDOLYN     SMITH                       NC     17068987442
7B421789931432   ROLAND        DAVIS                       MO     90015107899
7B422156372B29   LACIE         ALSTROM                     CO     90012111563
7B42217A271921   TARA          STEWART                     CO     90010151702
7B42223335B277   KRYSTAL       WILLIAMSON                  KY     68035902333
7B422251527B98   DEMETRIUS     CRITTENDON                  KY     90014902515
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1046 of 2350


7B42243427B477   ROBIN        MORGAN                       NC     90007184342
7B42245888B157   MICHAEL      TYNE                         UT     90008334588
7B42276338B163   TERRANCE     KNIGHT                       UT     90010097633
7B422826351348   YOLONDA      JOHNSON                      OH     90008488263
7B422937384322   STEVEN       MCNULTY                      SC     90014569373
7B422A1A927B98   REGINA       EDWARDS                      KY     90014180109
7B422A62893736   CHARLES      LAKES                        OH     90015140628
7B423289977524   JORELL       HUNT                         NV     90007522899
7B4232A258B168   LAURA        CHURCH                       UT     31079742025
7B42351298B134   RAMON        CURIEL                       UT     90015115129
7B42379927B477   WILLIAM      STEWART                      NC     90013167992
7B423AA318593B   DANIEL       OHLHART                      KY     90011200031
7B42421A272441   ROXANNE      KAMINSKY                     PA     51027902102
7B424767757157   KASSAHUN     SHENKUTE                     VA     90002837677
7B42498982B994   JOSEPH       MICHAEL                      CA     90013969898
7B425542355947   VANESSA      AUDELO                       CA     90014205423
7B42569A14B572   MONICA       VEGA LOPEZ                   OK     90014366901
7B426241127B98   ANGELA       WILSON                       KY     90014182411
7B427146491252   ASHLEY       ROSS                         GA     90011231464
7B4275A4691252   ASHLEY       ROSS                         GA     90010415046
7B427A2718B157   KIM          TYLER                        UT     31031800271
7B4282A9372479   KEVIN        BROWN                        PA     51069822093
7B428492151355   STEVE        MABE                         OH     90007994921
7B42851119154B   FAVELA       ERNESTO                      TX     75077875111
7B42861672B994   CHARLES      IGOU                         CA     90013206167
7B428795672441   CINDY        BOBROWSKI                    PA     90014177956
7B429119A41237   SHAWNTALE    THURMAN                      PA     90013531190
7B42915178593B   SAMANTHA     LAWSON                       KY     66030721517
7B429299255931   SOURITH      THENBOUAPHA                  CA     90009232992
7B429374572479   DEREK        POWELL                       PA     90014073745
7B42971964B572   REJEANA      EAVES                        OK     90014367196
7B429766191939   YAHIL        VASQUEZ                      NC     17087247661
7B4297A5293736   ADAM         MADISON                      OH     90009577052
7B4297A7761935   RAEMN        ATEESHA                      CA     90011807077
7B429932357157   DAWN         BROOKS                       VA     90012419323
7B429AA825B169   LISA         DICKERSON                    AR     23037900082
7B42B126A41253   DAVID        WILLIAMS                     PA     90013271260
7B42B256491991   JASMINE      JENNING                      NC     90009772564
7B42B396357556   VICTOR       RAMIREZ                      NM     90011983963
7B42B62274B572   VENICE       JONES                        OK     90008616227
7B431326A57556   CRISTY       VASQUEZ                      NM     90010903260
7B431426993736   GRICELDA     LOPEZ                        OH     90015114269
7B431916972441   JOHN         GASKINS                      PA     90014179169
7B431A15941227   NICOLE       ROBINSON                     PA     90013670159
7B431A57A72B44   RAYMOND      ARCHULETA                    CO     90006100570
7B431A7973B39B   ESCOBER      MIGUEL                       CO     90010010797
7B43326158B163   AMBER        GALBRAITH                    UT     31039752615
7B433318672B44   DIEGO        CRUZ                         CO     90009753186
7B43353135B356   KRISTINA     GUTIERREZ                    OR     90006505313
7B43362419154B   MARIBEL      ZAMORA                       TX     90009606241
7B4338A6A81643   EPISE        TAYLOR                       MO     90008438060
7B433952472441   JOSEPH       GASKINS                      PA     90014179524
7B433A83A93739   PIERRE       BOUD                         OH     90007010830
7B43413987B477   TRYONN       NEELY                        SC     90011531398
7B4348AA455931   JAMES        BLAJOS                       CA     90013558004
7B434934877524   ELVIRA       SILVA                        NV     90012509348
7B434972757157   STEPHANIE    GRANT                        VA     90011909727
7B434A47781633   KHRISTINA    MEDLEY                       MO     29066320477
7B435535455947   MARIA        VETANCOURT                   CA     90014205354
7B43573A472B29   CARMEN       CRUZ                         CO     90010387304
7B435781A91939   OSVALDO      PIZARRO                      NC     90004907810
7B4357A7355931   LOURDES      ROMERO                       CA     49084827073
7B435A5827B477   NICHOLAS     ROBINSON                     NC     90013700582
7B436311984322   KINDRA       WILLIAMS                     SC     90014853119
7B436471381255   MATTHEW      TOOGOOD                      KY     90011894713
7B4364A668B168   JENNY        BRAILSFORD                   UT     31097794066
7B436A51372479   LISA         ZUMBRO                       PA     51089520513
7B437281A93739   VIRGINIA     MCWATERS                     OH     64503382810
7B4373A1755947   FRANCISCO    RUIZ                         CA     90005873017
7B43779A58B168   AGUILAR      LATANYA                      UT     90008897905
7B43785A991548   MARY PAZ     MARTINEZ                     TX     90008708509
7B437894991991   LYNDY        HARDEN                       NC     90009608949
7B437896761922   MERCEDES     GOMEZ                        CA     46063318967
7B4378AA55B59B   JOSEPH       LUJAN                        NM     35021138005
7B437914457157   PEDRO        LOPEZ                        VA     81005959144
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1047 of 2350


7B437A24455931   RICHARD       GONZALES                    CA     90014820244
7B437A4467B477   IGNACIO       HERNANDEZ                   NC     90013850446
7B438273284322   CARLOS        ALQUICIRA                   SC     90010372732
7B438364277524   FRANK         ACQUAH                      NV     90000103642
7B43849577B477   LAURA         CEASAR                      NC     90013394957
7B4384A6393736   NAKESHA       GAINEY                      OH     90011214063
7B438543755947   JOHN          CROWN                       CA     90014205437
7B438665933698   LETIA         HOOVER                      NC     90013466659
7B438814A72441   LORIE         MEEHAN                      PA     90014188140
7B439142951348   DELILAH       BALLARD                     OH     90012891429
7B43922178593B   IEAHA         WELLS                       OH     90010482217
7B439253172B32   KELLI         MORRISSEY                   CO     90009612531
7B4393A6657157   RUTH          SIMS                        VA     90013323066
7B439432293739   ALEXANDRIA    DALTON                      OH     90014394322
7B439451772B32   KELLI         MORRISSEY                   CO     90013204517
7B439537A31432   HERMAN        BAILEY                      MO     27544735370
7B4399A4655966   RICHARD       MACIAS                      CA     90011259046
7B43B2AA184322   REYNA         HURIAS                      SC     14533052001
7B43B41128B142   JEREMY        CHIDESTER                   UT     90011984112
7B43B58A372441   MARISSA       HUNT                        PA     90009215803
7B43B62419154B   MARIBEL       ZAMORA                      TX     90009606241
7B43B658193739   BRADLEY       WEBB                        OH     64560266581
7B43B846441253   RICHARD       JONES                       PA     90010998464
7B441583861997   ELEANOR       OLIVAS                      CA     90009015838
7B4415A875B59B   PORFIRIO      MONTOYA                     NM     35019775087
7B441883381643   CAROL         HICKS                       KS     29035458833
7B441925A93736   SHAWN         BLAUSER                     OH     90007029250
7B442353971921   SANDRA        VIGIL                       CO     90009093539
7B442528891991   BREND         MCCABE                      NC     17083495288
7B4438A6A4B572   IEISHA        HARVEY                      OK     90008618060
7B443937372479   CARLOS        DAVIS                       PA     90013139373
7B443A95833698   CARISA        WIGGINS                     NC     90001960958
7B444125841253   TANIQUE       JOHNSON                     PA     90004571258
7B444255A8B168   KEN           BEATTY                      UT     90014012550
7B44428828593B   ROBERT        ADAMS                       KY     90012932882
7B444749A36182   DAISY         GALVAN                      TX     90008097490
7B444A2899154B   JOE           ESTRADA                     TX     90011160289
7B445187572479   EVAN          HENRY                       PA     90013001875
7B445414455947   CELESTINO     SAAVEDRA                    CA     90008534144
7B44548648593B   MARCELLA      EARLS                       KY     90001674864
7B445791472479   EVAN          HENRY                       PA     90013767914
7B445913941265   MARY          WOOLARD                     PA     90010019139
7B44626A771921   LISA          PRESTON                     CO     90014702607
7B44644A186433   JOSHUA        ALLEN                       SC     90013304401
7B446584327B98   SONYA         POINDEXTER                  KY     90009655843
7B44666644B572   VIOLETA       HERNANDEZ                   OK     90009266664
7B44675463168B   JOSHUA        HALL                        KS     90012837546
7B446838657157   MELVIN        TEMAJ                       VA     90014738386
7B446984855966   VERONICA      MENDOZA                     CA     90010739848
7B447195A31432   DEATRA        RICHARDSON                  MO     90006101950
7B44728334B577   ONEIL         WHITE                       OK     90008002833
7B447448272B35   TONYA         HEINTZ                      CO     90010024482
7B44751448B163   ROSELLA       DELACRUZ                    UT     90013935144
7B447529841227   DANIKA        GADSDEN                     PA     90010465298
7B44753A651328   NIESHA        COOPER                      OH     90000975306
7B447667551348   LISA          WRIGHT                      OH     90011136675
7B448327927B98   MARK          BRADSHAW                    KY     90013813279
7B44833AA7B487   JAMES         SPEED                       NC     90004573300
7B448739557157   LUIS ALONSO   AMAYA AYALA                 VA     90011987395
7B448843255931   MELECIO       PINEDA                      CA     90013558432
7B448A59531432   JOHN          COLOMBO                     MO     90010290595
7B449147A31432   ANGEL         HOLMES                      MO     90014911470
7B449748133624   BRITNEY       MCNEAIR                     NC     90012367481
7B449785A91566   LEON NOEL     FONSECA                     TX     75013077850
7B44979A193726   BRITTANY      PRATHER                     OH     64543807901
7B449927657157   DAVID         VICKERS                     VA     90005789276
7B449A2884B254   STEPHEN J     FERRIS                      NE     27096450288
7B44B169171921   CARLOTTA      JAMES                       CO     90014991691
7B44B278251348   PAUL          STEEL                       OH     66010012782
7B44B465127B98   CHYNA         JOHNSON                     KY     90006974651
7B44B61452B994   EMERY         HORTON                      CA     90013946145
7B44B6A988B134   NICHOLAS      TRAHAN                      UT     90013936098
7B44B862993726   KRISTOFOR     POPHAM                      OH     64587738629
7B451267541237   NICHOLE       REID                        PA     90009642675
7B45151448B163   ROSELLA       DELACRUZ                    UT     90013935144
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1048 of 2350


7B451598455966   CARLOS           PEREZ                    CA     48006505984
7B451774555931   SERGIO           OCHOA                    CA     49081197745
7B451822891991   RENE             GAMEZ                    NC     90009718228
7B4519A763168B   RICKIE           SMITH                    KS     22091709076
7B451A37441237   NICHOLE          REID                     PA     90013140374
7B451A57481633   SHAKETHIA        PATTERSON                MO     90004100574
7B4523A5981633   MARISELA         RODRIGUEZ                MO     90010833059
7B452555241253   ROBERTA          SIMONI                   PA     90015135552
7B452562455947   VICTOR           SALINAS                  CA     90014205624
7B452958855931   ANTHONY          FRISBYKILLBREW           CA     90010679588
7B452971641237   JUAN             VALDOVINO                PA     90015129716
7B45319AA5B356   GABRIEL          ASUQUO                   OR     44512781900
7B45373A555931   THERESA          JERMAN                   CA     90014947305
7B45381A957157   DANIEL           GROVES                   VA     90012158109
7B45388A441227   SAM              TIERNO                   PA     90011178804
7B454112927B98   MYRA             SIMPSON                  KY     90015051129
7B45449314B553   CARA             LEVARIO                  OK     90015174931
7B45455A19154B   RODRIGUEZ CANO   GIL                      TX     90014815501
7B45467765B356   ANNE             TERY                     OR     44511576776
7B454944731661   JESSE            WISE                     KS     22087759447
7B454A86372B44   ANTHONY          DOLIF                    CO     33076390863
7B455113627B98   KORTENY          MOSLEY                   KY     90013281136
7B45515A781633   DARIUS           SANDERS                  MO     90013291507
7B455186255947   MARK             GONZALEZ                 CA     90015121862
7B455328693736   JEWELL           SPURGEON                 OH     64589553286
7B45582859712B   KESHIA           TAYLOR                   OR     90012878285
7B455A28241253   SEAN             FINE                     PA     90014770282
7B45661512B271   PECOLIA          MWASALWIBA               DC     81082236151
7B45673258B134   YAMIL            ARZABA                   UT     31015687325
7B457276551348   VANESSA          SCOTT                    OH     90013292765
7B457546A57556   CORINA           MARTINEZ                 NM     90011245460
7B457832972441   EUGENE           SANO JR.                 PA     51068308329
7B457A59972421   CHARLES          MORRISON                 PA     90001590599
7B457A69841253   CHEYANNE         BRONZELL                 PA     90013360698
7B45818A57322B   OSCAR            PACHECO                  NJ     90014851805
7B45827428B142   CESAR            CALDERON                 UT     90007662742
7B458365133699   MARY             SHEFFIELD                NC     90012783651
7B45843918593B   JEREMY           MARTIN                   KY     90014234391
7B458673251348   CAROLYN          MONTGOMERY               OH     90002156732
7B458761681255   ROBERT           OERTHER                  KY     68078437616
7B458835855966   RAYMOND          FIERRO                   CA     90002728358
7B459673441253   ROLONDA          OAKES                    PA     90010646734
7B45973348B157   JOSHUA           BROUGH                   UT     31069417334
7B459A83972421   DANIELLE         BRAUNBECK                PA     90007160839
7B45B17388B142   DEBORAH          JENKINS                  UT     31017711738
7B45B19885132B   ANITA            WRIGHT                   OH     90012391988
7B45B249172B29   EDGAR            RODRIGUEZ                CO     90014832491
7B45B3A9584322   JORGE            ALVAREZ                  SC     90011173095
7B46144378B157   SABRINA          GRITTON                  UT     90014614437
7B461445A5B59B   SCOTT            HERALD                   NM     35005594450
7B461869993726   LAWANDA          WATKINS                  OH     64519948699
7B46198A841227   DONNA            WILSON                   PA     51080779808
7B4619A118B142   JOSH             CLEVELAND                UT     90005649011
7B462127876B87   JOSE ALFREDO     FLORES BELLO             CA     90008811278
7B462169355966   MELISSA          RAMIREZ                  CA     48094301693
7B462538A72479   CYNDI            CROW                     PA     51032655380
7B46275A572B32   NATALIE          CAPEL                    CO     90014627505
7B46282248B134   TRACY            SCHROEDER                UT     90007798224
7B462994A2B994   LILIA            VEGA                     CA     90014159940
7B46327A44B553   JESSICA          PAXTON                   OK     21573902704
7B463342372B32   BRENDA           CAMPUZANO                CO     90011723423
7B46393384B572   BENITA           TORRES                   OK     90008619338
7B46399395B399   JESSICA          BROWN                    OR     44534589939
7B46448265B279   JESSICA          ROBINSON                 KY     90010344826
7B4647AA38B168   MARYOURY         VALENZUELA               UT     31052607003
7B464A49877524   STANLEY          GUTIERREZ-AREVALO        NV     43016620498
7B465359A9154B   JOEL             MONTELONGO               TX     75091073590
7B465A23155966   NATALIE          GOMEZ                    CA     48095610231
7B4665A7455966   ERIKA            HERNANDEZ                CA     90015135074
7B466623351348   DANIELLE         GEORGE                   OH     90008996233
7B46678A355966   GABRIELLE        CASTRO                   CA     90015097803
7B46693468B163   DELOS            LARSEN                   UT     31043489346
7B46717939154B   ANTHONY          GALLEGOS                 TX     90014781793
7B467351584322   JORGE            MACIAS                   SC     90013963515
7B46744375B59B   APRIL            CHAVEZ                   NM     35007184437
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1049 of 2350


7B46779662B994   ELVIERA      LOPEZ                        CA     90011247966
7B467A63293726   RODNEY       WHITT                        OH     90000520632
7B467A66127B98   LASHEONA     REYES                        KY     90014780661
7B468398257556   ISABEL       BEJARANO                     NM     90010723982
7B468617841237   DAVID        ROCKACY                      PA     51066366178
7B46888818B157   ERINN        HARDIN                       UT     90012198881
7B469344172B29   MARIA        MEJIA                        CO     33037963441
7B46991828593B   ELIN         ESPINOZA                     KY     90010209182
7B469958241253   FAYE         ROSS                         PA     90011339582
7B469A15284322   MARBELLA     TORRES                       SC     90012000152
7B46B184181633   JAFET        CARRASCO                     MO     90014421841
7B46B463191991   RONAL        ACOSTA RODRIGUEZ             NC     90006494631
7B46B598A57157   HELMUTH      CALDERON ANTEZANA            VA     90012915980
7B46B5A1A93726   SAMANTHA     TIPTON                       OH     64541285010
7B46B5A4381633   SUSAN        SCHINER                      MO     90010275043
7B46B87263168B   BRANDY       TIPPETTS                     KS     90005088726
7B46BA48A8B142   GREGOIRE     PAUL                         UT     31002600480
7B46BA6AA8B163   LATISHA      MONTOYA                      UT     90008090600
7B472228381643   SAMANTHA     GONZALES                     MO     90007002283
7B47226A472B32   CHRISTINE    SAVARESE                     CO     90014112604
7B47241168B142   MARIA        HERNANDEZ                    UT     90013854116
7B472971993736   JESHONDA     CARROLL                      OH     90006499719
7B47384889154B   JOSE         YZAGUIRRE                    TX     75007398488
7B473929355966   MORIAH       THOMPSON                     CA     90013049293
7B474253984322   STEPHANIE    SCOTT                        SC     90014562539
7B474358757157   MAFANIKIYO   YASABA                       VA     90014933587
7B47453984B588   CYNTHIA      LOVE                         OK     90008555398
7B474621172441   LEEANN       CERMAK                       PA     51025786211
7B474856591549   CONTRACTOR   GOLDEN EAGLE                 TX     75062248565
7B475216693728   DONALD R     CLARK                        OH     64581202166
7B47529778B134   JOSE         MENDEZ                       UT     31017392977
7B475549184322   JOHNNY       DELOACH                      SC     90014525491
7B4756A7233698   BLONDELLE    RYAN                         NC     90001806072
7B4756A8855966   ROSEMARY     SAUCEDO                      CA     90007846088
7B475A92A8B163   SKYLER       LOTT                         UT     90015120920
7B4764A315B59B   DAVID        SALAZAR                      NM     35095194031
7B4764A878B168   MANISH       PATEL                        UT     90000694087
7B476657751328   TIFFANY      CLANCY                       OH     90008756577
7B47693718B163   DERRICK      NIELSON                      UT     90013269371
7B47719A172B44   LIZBETH      CALDERA                      CO     90011551901
7B47732A847874   KIMIKO       HARVEY                       GA     90008053208
7B47758938B134   LUCIA        RODRIGUEZ                    UT     31096945893
7B477679791572   EDNA         AGUIRRE                      TX     75001476797
7B47775822B271   HECTOR       BENITEZ                      DC     81083837582
7B47812748B163   SANTOS       SHARON                       UT     31079961274
7B47815784B572   ALYSSA       BLESSING                     OK     90014401578
7B478217391939   MARIA        GUZMAN                       NC     17035742173
7B478255493736   JOSEPH       HARTFELDER                   OH     90001842554
7B478355861935   ROSSYFER     CARMONA                      CA     90011813558
7B478452251331   SUSAN        NUTLEY                       OH     90007264522
7B47868488B134   AUSTIN       ANSELL                       UT     90014856848
7B478948A81633   MANUEL       AGUIRIANO                    KS     90014559480
7B478A9838B163   JONATHON     HERNANDEZ                    UT     90013690983
7B479188657157   ERIKA        MARROQUIN                    VA     81012451886
7B479247677524   KASHAE       FELIX                        NV     90001082476
7B47925215B59B   ANDY         GARAY                        NM     90005692521
7B479262972B29   LINDA        ORTIZ                        CO     33054782629
7B479941772B93   SHAWNESE     IRVING                       CO     90001779417
7B47B2AA641253   DENA         STEELE                       PA     51070082006
7B47B33478B157   ROBBIE       ROBINSON                     UT     90004313347
7B47B86118B163   MATT         PARKS                        UT     31029098611
7B47B86A893739   MICHAEL      GRINES                       OH     90015448608
7B47BA21272B32   STEVE        VANDERBURGH                  CO     90013820212
7B48111498B168   LEZLEE       GREEN                        UT     90010611149
7B481337271921   CARISSA      MARQUEZ                      CO     32012613372
7B481475355966   SOMPHONE     PHOUMY                       CA     90013034753
7B482422A5B356   JEANA        EMERSON                      OR     90004104220
7B482972484322   ARACELI      PEREZ-ORDUNA                 SC     14541069724
7B48343A955966   JOSE         IBARRA                       CA     90013034309
7B483616571921   MERCEDEZ     MURRILLO                     CO     90009296165
7B483836331432   RYAN         BREMERKAMP                   MO     90014388363
7B483897961597   MEGAN        MITCHELL                     TN     90015518979
7B483A3A277524   ELIZABETH    TORRESIA                     NV     43016630302
7B483A8677B661   DARLENE      SCOTT                        GA     15037040867
7B484297761922   JACOB        GALLARDO                     CA     90008502977
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1050 of 2350


7B484546555947   JAVIER       GIRON                        CA     90012115465
7B484683155931   JACQUELYN    BATEMAN                      CA     49076596831
7B484861831432   RICARDO      CARDENAS-RIVERA              MO     90014848618
7B485219471921   ERIK         HERTOG                       CO     90001212194
7B485555493739   RYAN         CANTRELL                     OH     90009365554
7B485629293736   CHRIS        SWEEZY                       OH     90012766292
7B48597659152B   RAQUEL       LUNA                         TX     90010789765
7B486343541227   SHANTEL      HAMMOND                      PA     90013093435
7B48652584B531   BRANDI       EZQUIVEL                     OK     90012865258
7B48678637B477   BRITTNEY     SIMMONS                      NC     90012897863
7B48681239152B   PAMELA       GONZALEZ                     TX     90010718123
7B486877427B98   JAYLA        HILL                         KY     90010688774
7B48691147B661   TASHA        CLEMONS                      GA     90005849114
7B487A51355966   NOE          MEDEL                        CA     90005570513
7B487A6659184B   JANE         WHITECROW                    OK     90000700665
7B48844A92B994   ALIONSO      AVILA                        CA     45094134409
7B48849A85B59B   DARRYL       GEORGE                       NM     90014554908
7B488853493736   WENDELL      AKERS                        OH     64526948534
7B48929168B157   SHANNON      ALBERTSON                    UT     90008792916
7B489293271921   LIBORIA      MENDOZA                      CO     32019282932
7B489388372441   KAREN        OWENS                        PA     90014663883
7B48955949154B   LINETTE      RODRIGUEZ                    TX     90014815594
7B48961617B477   DAVRONIA     WHITE-SCARBROUGH             NC     11084316161
7B48974548593B   BRANDON      BRISTOW                      KY     90013067454
7B489777557157   WILFREDO     LOZANO                       VA     90005897775
7B489A5365B59B   DIANNE       TENORIO                      NM     90007590536
7B48B28439154B   ARMIDA       TRUJILLO                     TX     90009472843
7B48B75322B994   PAULINE      BROWN                        CA     45037097532
7B48B775227B98   KEENAN       WILLOUGHBY                   KY     90013227752
7B48B932333699   ROVIA        HALL                         NC     12029959323
7B491134351331   VICTORIA     HALL                         OH     90012041343
7B49123198B168   CONNIE       CARTER                       UT     90008752319
7B49127A172B44   ALICIA       ESPINO                       CO     90005452701
7B49147A571921   JANET        MARTINEZ                     CO     90001724705
7B491684357157   ADALBERTO    MEJIA                        VA     90001736843
7B491A28241253   SEAN         FINE                         PA     90014770282
7B491A6322B941   TIFFANY      MUNIZ                        CA     90010520632
7B492215755966   MARISSA      RUIZ                         CA     90015232157
7B492341551348   ASIA         HARKNESS                     OH     90013033415
7B492651372B29   CALLEA       BENNETT                      CO     33095126513
7B49284382B994   WILLIAMS     CARDENAS                     CA     45069998438
7B49299758B163   BEAR         REYBURN                      UT     31032319975
7B492A33957556   TONI         SAIZ                         NM     90011660339
7B49324287B477   PAIGE        HANSBROUGH                   NC     11028872428
7B493541857157   ELIZABETH    RIOS                         VA     90013985418
7B493659172441   TAMMY        PLETZ                        PA     51042746591
7B493733751348   NICHOLS      ALLEN                        OH     90011807337
7B49375A52B271   MIREYA       MUNOZ-KING                   DC     81092377505
7B4937A7772B44   GABRIELA     NUNEZ                        CO     90014217077
7B49395162B857   TOMMY        HOWARD                       ID     90004699516
7B494413572441   KAREN        OWENS                        PA     90014664135
7B494425855947   EMELITA      WEBBER                       CA     49098234258
7B49463428593B   KIM          KLEIER                       KY     90010456342
7B494689851348   ASHLEY       MCKENRICK                    OH     90013946898
7B494A34181633   RA'LANDA     MARTIN                       MO     90014590341
7B495463533698   LAVON        COLVIN                       NC     90013164635
7B495537572479   JUSTINA      MINNIE                       PA     51076395375
7B495A2323B394   MARY         MCKENNA                      CO     90010530232
7B496228A33698   SHAKIMA      CHRISTOPHER                  NC     90007812280
7B49637457B661   CURTIS       JACKSON                      GA     15026683745
7B496415955966   DEBORAH      QUALLS                       CA     48033314159
7B49675378B163   RUJALE       KANYARE                      UT     90009417537
7B496984951348   DIONDRA      JONES                        OH     66075189849
7B497358851348   RASHAD       BONHAM                       OH     90013033588
7B497479181633   GEREGORIO    DAMIAN                       MO     90000134791
7B4983A548B168   KARLA        MAHANGA                      UT     90012863054
7B498419571921   CANDACE      ARMIJO                       CO     90004994195
7B49862275B59B   RANGEL       JOSE                         NM     90008016227
7B498787677524   KAREN L      NEAL                         NV     43016757876
7B498853572421   RICHARD      SHIDEL                       PA     51009448535
7B498A1313168B   PAMELA       HARMON                       KS     90005690131
7B498A29955931   ERIKA        BARRAGAN                     CA     90014820299
7B498A45672441   JESSICA      YOUNG                        PA     51093660456
7B49929A29154B   JUSTINE      CARDENAS                     TX     90014272902
7B499371971921   SHANNON      GAUDIOSO                     CO     90003953719
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1051 of 2350


7B49955385B55B   LAURA        STANCELL                     NM     35085685538
7B499A11A93736   TAMELIA      DECKER                       OH     64540350110
7B499A5727B49B   MARLENE      KNOWELS                      NC     11003270572
7B499A99541253   CHARLES      ZOWACKI                      PA     90013300995
7B49B29A841253   LIBA         GOLDWASSER                   PA     90013042908
7B49B341551348   ASIA         HARKNESS                     OH     90013033415
7B49B46339152B   ALEX         ORTIZ                        TX     90010724633
7B49B495672441   DAINA        THORTON                      PA     90008644956
7B49B535773267   LEODEGARIO   MARTINEZ                     NJ     90014385357
7B49B83479154B   MELISSA      MARQUEZ                      TX     75015368347
7B49B919184322   MARIBEL      SANTANA                      SC     90011929191
7B4B1293271921   LIBORIA      MENDOZA                      CO     32019282932
7B4B1746557563   JUAN         REYES                        NM     90014217465
7B4B1828755931   ANTHONY      LOWE                         CA     90004628287
7B4B2173355931   CHUE         THAO                         CA     90014881733
7B4B2354371921   JOESPH       MARICHAL                     CO     90014053543
7B4B317A75B596   MANUEL       OLIVAS                       NM     90000511707
7B4B353359154B   RICARDO      PRADO                        TX     90014805335
7B4B4311A57556   SERGIO       MAJALCA                      NM     90012963110
7B4B482A884322   BENITO       ABARCA                       SC     90011988208
7B4B48A2672B44   SOLEY        MARTINEZ                     CO     90009488026
7B4B5359391252   DOMINGO      LOPEZ                        GA     90010413593
7B4B54A3777524   TINA         SIDLES                       NV     43019534037
7B4B5766A5B59B   OSCAR        MENDOZA                      NM     35035487660
7B4B578537B335   POLIO        CRUZ                         VA     90005987853
7B4B59AA641253   TYLER        GRAFF                        PA     90007619006
7B4B6369477977   JESSICA      ARREDONDO                    IL     90015363694
7B4B646548B168   HERIBERTO    NAVA-MUNOZ                   UT     90014384654
7B4B6565272479   DONOVAN      PICCOLO                      PA     90000875652
7B4B6665631432   AARON        VAN                          MO     90015166656
7B4B725895B55B   RAEBETH      WISE                         NM     90011232589
7B4B7276351348   RAYMOND      THOMPSON                     OH     90013032763
7B4B72A379154B   OMAR         INIGUEZ                      TX     90013622037
7B4B732268B134   COURTNEY     REOPELLE                     UT     90013283226
7B4B7554155931   MARTINA      GOMEZ                        CA     90007105541
7B4B75A7672B29   ISAIAH       VIDALES                      CO     33059515076
7B4B7743A63657   LINDA        REUTER                       MO     27558197430
7B4B7766191939   MAURICE      SMITH                        NC     17078227661
7B4B7795155947   ALIZEYAH     LOPEZ                        CA     90012747951
7B4B7A52255966   ALVARO       ACEVEDO                      CA     90008980522
7B4B8699977524   BRYAN        GERARDO                      NV     43079386999
7B4B878288B349   MARIA        VELAZQUEZ                    SC     90015097828
7B4B8865671921   SHAWN        BENNIGSDORF                  CO     90004318656
7B4B92A8193739   AMBER        MULLENNIX                    OH     64503662081
7B4B9485144386   BRETT        COTE                         DC     90003904851
7B4B958938B134   LUCIA        RODRIGUEZ                    UT     31096945893
7B4B99A9855966   CASSIE       ROCHE                        CA     90014879098
7B4B9A99651348   SHERYL       ROBERTSON                    OH     90012890996
7B4BB176372421   CHRISTY      REDDING                      PA     51091071763
7B4BB1AA533698   BOBBY        TURBEVILLE                   NC     12045621005
7B4BB495793726   SHADARA      JENNINGS                     OH     64583334957
7B4BB54968B142   ALEJANDRO    SOLANO                       UT     90013385496
7B51122578B163   GERARDO      GARCIA                       UT     90004452257
7B511565655966   ALFREDO      CAMPOS                       CA     90001885656
7B512181A7B477   STEVEN       HEARNE                       NC     90014151810
7B51219998B142   TREVOR       NELSON                       UT     90015131999
7B512333161935   ANTHONY      MAZZONE                      CA     90009763331
7B512432A33631   CIERRA       TATE                         NC     90005204320
7B51247658B142   GARRET       RAWLINGS                     UT     90014404765
7B513491484322   BERNANDINO   CERVANTES                    SC     14562534914
7B513719772B32   ISRAEL       HERNANDEZ                    CO     33062017197
7B513783193759   BRIAN        ESCH                         OH     90010707831
7B513891672441   MARK         HAPP                         PA     90013378916
7B51419A691869   ALICIA       MILLION                      OK     90011311906
7B51439998B134   BRAD         PHELPS                       UT     90010623999
7B514446555931   MONICA       CARDENAS                     CA     90002854465
7B514451433699   EARNEST      CAMERON                      NC     90015164514
7B51458758B168   PAYGO        IVR ACTIVATION               UT     90014485875
7B514626331433   HAUNANI      RICHARDSON                   MO     90013226263
7B51479A757157   RUTILIO      RIVERA                       VA     90006797907
7B515464A51348   WILLIAM      MIMES                        OH     90014434640
7B515824755947   TOMMY        WORKS                        CA     90013368247
7B515899A84322   CRYSTAL      SHIANSKY                     SC     90012608990
7B5158A772B994   ANTHONY      SOUZA                        CA     90012988077
7B51651617B661   ERROL        CARTER                       GA     15008315161
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1052 of 2350


7B516591A93736   KRISTEN        RICHIE                     OH     90013305910
7B516681993739   KEVIN          PEETS                      OH     90013606819
7B516919171921   CLIFFORD       SANDOVAL                   CO     32020039191
7B51695518B142   KRISTEN        WAYNE                      UT     90003599551
7B51698692B24B   CHERI N        DE LOS SANTOS              VA     81084609869
7B516A99891926   JONATHAN       CLEMENT                    NC     90001620998
7B517211472B32   SANDRA         FRANCO                     CO     33000082114
7B51767A593736   LINDA          HELMICK                    OH     64551476705
7B517A1542B994   JEREMY         JACOBO                     CA     90012800154
7B51814A355931   AARON          GONZALEZ                   CA     90013561403
7B518397572479   TAMMY          COLBERT                    PA     51035033975
7B51888435B59B   JENNIFER       CANDELARIA                 NM     90009628843
7B518887455947   MAI            THOR                       CA     90008358874
7B518A1A68B142   NECIA          TANNER                     UT     90013740106
7B51928A272B32   MANIZHEH       NAJAV                      CO     90014082802
7B519575172B29   COREY          WEINBERGER                 CO     33019225751
7B519598377524   HANNAH         MAIER                      NV     90011625983
7B51B116672B29   JEFFREY        CHAMBERLIN                 CO     33095181166
7B51B385A57157   CARMEN         MORAN                      VA     90013563850
7B51B41886193B   JENNY          BUTLER                     CA     46057564188
7B51B53AA93739   TAMARA         SPURGEON                   OH     90010145300
7B51B8A939154B   LAURA          TOVAR                      TX     90014168093
7B5215A4833699   LISA           WILLIAMS                   NC     12096895048
7B521631772479   MELISSA        DULEY                      PA     51021316317
7B52225358B163   FRED           FALEPAPALANGI              UT     31086272535
7B522951951348   NICOLE         MCVAY                      OH     66077499519
7B522AA295B59B   BRIAN          GUTIERREZ                  NM     90011550029
7B52346838B157   LINDSEY        FENSTERMAKER               UT     90007324683
7B52439428B157   NICOLLE        DINEHART                   UT     90013313942
7B52445415B59B   BRAULIO        HERNANDEZ                  NM     90014694541
7B5244AA593736   KEVIN          SANDSTROM                  OH     64539034005
7B524722757157   SELESTE        BRIZUELA                   VA     90012167227
7B524772272479   DANIELLE       JANKOWSKI                  PA     90004607722
7B524A32655931   JESSICA        HERSHBERGER                CA     90014820326
7B52537A771921   ERIKA          VALLADARES                 CO     90007603707
7B525583251348   NANCY          RODRIGUEZ                  OH     66051895832
7B52565664B291   KOKO           DAVIS                      NE     90005526566
7B525996372441   KAILA          STEWART                    PA     90014739963
7B52613154B572   CHELSEA        APPLETON                   OK     90011131315
7B5261A135B59B   ANNA           MALDONADO                  NM     90012321013
7B526289851328   LATRENA        WELLS                      OH     66000732898
7B526451955966   JAQUELINE      GUTIERREZ                  CA     90013034519
7B526649655947   MARY           VELAZQUEZ                  CA     90009606496
7B5266A2597B39   JORGE          GUZMAN                     CO     39068166025
7B52712118B163   SAMANTHA ANN   ADAMS                      UT     90008091211
7B527361831432   DAVID          JONES                      MO     27514543618
7B52744442B994   MARIE          BOYER                      CA     45050094444
7B528123361935   PAMELA         STEELE                     CA     46066761233
7B52815A131433   NEQUITA        YOUNG                      MO     90001861501
7B528245155947   PEDRO          GUEVARA                    CA     49098712451
7B52848A372479   LUELLA         LINT                       PA     90006244803
7B528629371921   GARY           FERGUSON                   CO     32092966293
7B528648533699   APRIL          MILLER                     NC     90012576485
7B528911141227   KIMBERLY       HART                       PA     90009009111
7B528A65251348   TRENTTA        PEELMAN                    OH     66005100652
7B529122A33699   DEVITA         FOSTER                     NC     90014841220
7B52964668B134   ZURY           LASMANTECO                 UT     90013936466
7B52989718B168   JASON          BULLOCK                    UT     90005218971
7B5299A6891991   MARTHA         ORTIZ                      NC     90008019068
7B52B32A157157   ARTURO         VITELA                     VA     90013633201
7B52B367657556   FERNANDO       ORTIZ                      NM     90011793676
7B52B58A391252   MURRAY         TROUP                      GA     90010485803
7B52BAA7A57157   ARTURO         VITELA                     VA     81095750070
7B531132672421   RONALD         HUFFINE                    PA     90010591326
7B531463251348   TANYA          JENKINS                    OH     66056954632
7B53148A17B477   BRITNEY        SMITH                      NC     90014334801
7B53152754B572   GUADALUPE      RODRIGUEZ                  OK     90008625275
7B531884541253   KAYLA          WITAS                      PA     90012238845
7B531933A55947   RICHARD        WEY                        CA     90010269330
7B532213555966   IRMA           SALDANA                    CA     90014432135
7B532296941237   KRISTINA       DOUGLAS                    PA     51023872969
7B53231A58B142   THOMAS         ZOLLINGER                  UT     90010333105
7B53233918B163   MARY           PALMER                     UT     90013173391
7B532A36961935   MOISES         MALDONADO                  CA     90010920369
7B5331A387B477   CHRISTOPHER    LAMB                       NC     90014041038
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1053 of 2350


7B533582927B98   PAYGO           IVR ACTIVATION            KY     90014475829
7B533847993736   ASHLEY          DAVIS                     OH     90012778479
7B533A2168B134   JAYDEN          GREEN                     UT     90010520216
7B534446555947   MONICA          CARDENAS                  CA     90002854465
7B53486669154B   OCTAVIO         BORREGO                   TX     90008488666
7B53489527B477   GWENDOLYN       CROWDER                   NC     11091918952
7B534A84193739   APRIL           LEWIS                     OH     90009340841
7B535475355966   SOMPHONE        PHOUMY                    CA     90013034753
7B535618281633   MICHELLE        HESTAND                   MO     29009906182
7B5359A1984322   SACURA          MEDLOCK                   SC     90015179019
7B536292872B44   BRANDON         FLETCHALL                 CO     90014922928
7B536366772441   CHRISTEN        WAUGAMAN                  PA     90014743667
7B5364A5527B98   DONALD          WILKEY                    KY     90002174055
7B536694793736   KEITH           PATTERSON                 OH     64583786947
7B537495857157   WILLIAM         CORADO                    VA     90010914958
7B537529A84322   TERRELL         STAPLE                    SC     90015185290
7B53755754B572   DENISE          RAMEIREZ                  OK     90008625575
7B53772659154B   ANTONIO         BARRAGAN                  TX     90014807265
7B537972541253   CHRISTIANA      KALAWAY                   PA     90011339725
7B53858857B477   ALEJANDRA       ARAGON                    NC     11049235885
7B538822A5B59B   ESTELA          BOJORQUEZ                 NM     90011188220
7B538837193739   THOMAS          BARRES                    OH     90003588371
7B53923258593B   CYNDIE          SHOEMAKER                 KY     90005962325
7B539448491549   CRYSTAL         SPRUCE                    TX     90012584484
7B539623A41253   VIVIAN          MORRISON                  PA     90000306230
7B539781671921   SANTOS          LOPEZ                     CO     90013537816
7B5397A1461935   MARRY           TCHOP                     CA     90004617014
7B539974155966   VICTOR          NUNEZ                     CA     90015169741
7B539A7117B477   KAREN           CHAVEZ                    NC     90012450711
7B53B176355931   JORGE           VARGAS-RUIZ               CA     90013561763
7B53B387A8B142   DARIO           VERA                      UT     31097873870
7B54139688B134   BARRY           BRIGHAM                   UT     90012473968
7B541513727B98   RUSSELL         BUZZARD                   KY     90013825137
7B541863657157   JOHNNY          PISFIL                    VA     81059668636
7B541A3968B168   KYLER           WILLIAMSON                UT     90012170396
7B542126272479   ERICA           ROWE                      PA     90005001262
7B542128772B44   DAWN            KENNEDY                   CO     90009861287
7B542519A5B384   BRANDI          THOMAS                    OR     90005805190
7B542598993736   HARRY           MCBRIDE JR                OH     64582105989
7B5425A4A27B98   QUINTIESHA      BROWN                     KY     90012295040
7B54273629154B   GERALDYNE       GONZALEZ                  NM     90014807362
7B542744372B44   JUAN            CASTILLO                  CO     90014217443
7B54277128593B   PATRICIA        BIRKHEAD                  KY     90014907712
7B542773931432   JESSICA         WRIGHT                    MO     90004117739
7B542828151348   JOSEPH ANDREW   BITTNER                   OH     90009568281
7B54324A877552   MARIA           SOLIS                     NV     90012522408
7B54373629154B   GERALDYNE       GONZALEZ                  NM     90014807362
7B543A48691522   EVA             SHATTUCK                  TX     90011210486
7B543A56555947   JARED           ABLES                     CA     49055770565
7B544923171921   CHUL            PAK                       CO     90012859231
7B544A51755966   EVA             GUERRERO                  CA     90015070517
7B54521867B477   TERRY           MILLER                    NC     90013712186
7B545318955947   ESTELA          GARCIA                    CA     90007213189
7B545541181643   FAIWAL          HOFF                      MO     90006315411
7B54564788B142   MANDY           HUNTINGTON                UT     90000236478
7B54574635B596   ESTRELLA        CHAVEZ                    NM     90010667463
7B545811933699   MELODY          COUTHEN                   NC     12010408119
7B545A96784322   CARLOS          DOMINGUEZ                 SC     14507980967
7B546673131432   TERESA          CAPPELLO                  MO     90012336731
7B54689A772B44   AIMEE           TORRES                    CO     90003258907
7B5469A3677524   MAIRA           DANELL                    NV     90008729036
7B546A48272B29   DANIELLE        SKILES                    CO     33090460482
7B546A5918B134   TAMICE          ALVARADO                  UT     90011190591
7B5472A8155931   ROSA            VENTURA-REMIGIO           CA     90013562081
7B54735984B572   THOMAS          HERNDON                   OK     90003133598
7B547396572B29   JESUS           ALFARO                    CO     90005363965
7B547635872B32   GABRIEL         FLORES                    CO     90000656358
7B547833641237   KIMIAO          SAKAI                     PA     90010848336
7B54817A972421   AMANDA          NEWILL                    PA     90007991709
7B548426381255   TOI             PLAYA                     KY     68097054263
7B54873215B384   FILBERTO        ALVARADO                  OR     44575647321
7B54891288B163   ALEJANDRA       GARCIA                    UT     31091519128
7B549288A51348   TONYA           MOORE                     OH     90013292880
7B549465877524   HECTOR          GALAVIZ-RODRIGUEZ         NV     90009194658
7B549598241227   ALPHONSO        BONNER                    PA     51023065982
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1054 of 2350


7B549712572B44   JESSICA           CRANSON                 CO     33042147125
7B54B149572B29   NAOMI             ORTEGON                 CO     90002771495
7B54B5A1A55982   MANUEL            GARZA                   CA     90001735010
7B54B731A9154B   CLAUDIA           MERCADO                 TX     90014807310
7B54B777833698   LANELL            MOORE                   NC     12088397778
7B54B815A93736   JACOB             JUSTICE                 OH     90011608150
7B54B871381643   NORMAN            SMITH                   KS     90007038713
7B54B887A84322   SARAH             DIAZ                    SC     90013928870
7B54B974827B98   AMINAH            EYIOWUAWI               KY     90014099748
7B54BA79291224   DOMINIQUE         HUGHES                  GA     90006060792
7B55123857B477   ASHANTI           PLEASANTS               NC     90012812385
7B551498577524   ANTHONY           AMPARAN                 NV     90003264985
7B55168538B134   HARVEY            BENTON                  UT     90014856853
7B551992784322   GABRIELLE         BASNETT                 SC     90013139927
7B55215A29154B   JESSE             ROBLES                  TX     75037371502
7B552237527B98   KENITRA           JONES                   KY     90015232375
7B552461151348   JUAN              BERNARDO                OH     90015274611
7B55252A38B142   DANIELLE          PATIENT                 UT     31017955203
7B552A4117B477   URHONDA           PHILLIPS                NC     90013190411
7B5532A7872B44   TAMBRIA           O'BRIEN                 CO     33083832078
7B553349251348   JENNIFER          SCHLICHTER              OH     90007563492
7B553798572441   HILBERT           ROYAL                   PA     51037347985
7B5539A1633698   SELENA            JESSIE                  NC     12061979016
7B55439178B142   JAMI              SELMAN                  UT     31083573917
7B55491587B477   CHIQUITA          STEWART                 NC     90006889158
7B5551A838B168   FRANCISCO         LANDEROS                UT     90014981083
7B5552A8155931   ROSA              VENTURA-REMIGIO         CA     90013562081
7B555484627B98   KAREN             FRANCO                  KY     90014564846
7B55572279154B   IRMA              MORENO                  TX     90010937227
7B555866777524   MIGUEL            VELAZQUEZ               NV     43016698667
7B555966155966   FRANCISCO         RAMOS                   CA     90013049661
7B556126A4B572   LEOTIS            RICHEY                  OK     90014901260
7B556366A7B477   VANCE             HALL                    NC     11090283660
7B556765491991   REBECA            GASPAR                  NC     90009387654
7B556A42955947   TANIA             PEREZ                   CA     90010030429
7B557567171921   CECILIA           LOGOYA                  CO     32059245671
7B557665A8B168   JOSE              SANDOVAL                UT     90015176650
7B557699355931   GLORIA            GUTIERREZ               CA     49045316993
7B557732A77524   KIMBERLEE         HENSON                  NV     90003917320
7B557A2535B356   JOHN              WINNER                  OR     90002060253
7B557A96631433   NICK              BROYLES                 MO     27570270966
7B558158327B98   PARDEAO           MONTEAL                 KY     90015411583
7B55849375B596   JESSE             DELGADO                 NM     35056924937
7B558669147899   MOISES            PEREZ                   GA     90015106691
7B558686477524   ELIZABETH         TORRESIA                NV     43016706864
7B558713191252   SELINDA           WILSON                  GA     90013257131
7B558A35955931   LISSETH           AVENA                   CA     90014820359
7B55919828B134   JOSE              COVARRUBIAS             UT     90015311982
7B55942679154B   DANIEL            DAVILA                  TX     90011734267
7B559579657157   CARLOS            BARRERA                 VA     81064185796
7B55984288B163   STEVEN            BRUNYER                 UT     31083848428
7B559913851348   JESSICA           HESTER                  OH     90009439138
7B55998A572B29   JIMMY             DAVIS                   CO     90008579805
7B559A36655931   JUAN              GONZALEZ RICO           CA     90014820366
7B559A72172B32   AMY               COX                     CO     90014330721
7B55B49828B134   CORY              RIGGS                   UT     31001814982
7B55B63775B59B   JUAN              OROZCO                  NM     35095506377
7B55B771684322   BYRON             MERO                    SC     90013627716
7B55B852372B29   VERNA             VICKS                   CO     33050528523
7B561142161935   MARIA ELENA       DAMIAN                  CA     90011541421
7B5611A9372B44   JOSEFINA          ROCHA                   CO     33055201093
7B561434584322   WILFREDO          ZAVALA                  SC     90004234345
7B561877172421   TROY              OTRADOVEC               PA     51073268771
7B56192234B572   MARIO             LUERA                   OK     90014419223
7B56194459154B   ERIKA             RUBIO                   TX     75051659445
7B561A36131432   STACIE            ENOCH                   MO     90008940361
7B562247971921   JON               MIANK                   CO     90011862479
7B56224878593B   KATHERINE         DEAN                    KY     90015162487
7B562249571923   KIP               KOEHLER                 CO     90003182495
7B56239178B142   JAMI              SELMAN                  UT     31083573917
7B5624A635B59B   APRIL             DIMAPILIS               NM     90007224063
7B562575A5B169   ASHLEY            TERRY                   AR     23027835750
7B562981272421   KATHLEEN          MAHANEY                 PA     51036849812
7B56352A77B661   KIMBERLY          BALDWIN                 GA     15016485207
7B563662A84322   MARIA ANTONIETA   BOBADILLA               SC     90005366620
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1055 of 2350


7B563927981633   AVA          HIDER                        MO     29008509279
7B563A37655931   JANET        HASTINGS                     CA     90014820376
7B564138671921   DANNY        MENHEL                       CO     90013681386
7B564196981633   CIERRA       HARRIS                       MO     90011391969
7B56438635B59B   MIGUEL       NEVAREZ                      NM     90000353863
7B56442849154B   EDUARDO      ORNELAS                      TX     75094564284
7B564832872B44   CHRISTINA    BROMAN                       CO     33043988328
7B565249172441   CURTIS       MOORE                        PA     90014762491
7B56529748593B   RICHARD      FISCHER                      OH     90001522974
7B565372455966   RIGOBERTO    DE LA CRUZ                   CA     48097573724
7B566161991939   KEDIJA       ABDU                         NC     90011771619
7B566635251348   SYRETHA      BROWN                        OH     66073806352
7B56674758B163   JANEL        KIRKLAND                     UT     31086447475
7B566754891252   CRYSTAL      REYNOLDS                     GA     90010487548
7B56678889154B   CESAR        GONZALEZ                     TX     90014807888
7B566945133698   ATIHAH       NORRIS                       NC     90013929451
7B567471872B32   ABUBAKARR    BANGURA                      CO     90010204718
7B567689527B98   BLANCA       GONZALEZ                     KY     90014876895
7B5676A833168B   BEVERLY      COLLINS                      KS     90013156083
7B568174471921   REBECCA      MAREK                        CO     90012991744
7B568384376B31   DIANA        AYALA MONTIEL                CA     90001713843
7B568538372479   RALPH        KAERCHER                     PA     90005545383
7B56893A18B157   JORDAN       VIGIL                        UT     90013349301
7B568977293739   JUAN         FORD                         OH     90012179772
7B569357391354   AARON        MEGGERS                      KS     90013933573
7B5698A9676B27   ARTEMIO      RODRIGUEZ                    CA     90010548096
7B56B4A145B356   HECTOR       RIOS                         OR     90006514014
7B56B668A5B276   EUGENE       ARCHIA                       KY     90013596680
7B56BA31827B98   VALARIO      BURTON                       KY     90015270318
7B571559741237   JACOB        JOHNSON                      PA     90013455597
7B571589141237   KATIE        RILEY                        PA     90015265891
7B571631993726   ELIECER      FAJARDO                      OH     90006616319
7B571A1719154B   MIGUEL       DEL PINO                     TX     75039680171
7B57348AA55947   FRANCISCO    LOPEZ                        CA     90015134800
7B57374A29154B   MARIA        CORTEZ                       TX     75004777402
7B57436458B163   CHARITY      BLOCK                        UT     90013173645
7B57454A772441   PAUL         DUDASH                       PA     90014795407
7B57459482672B   MARCUS       WALKER                       NC     90012385948
7B57499A19154B   KATHRYN      PEREZ                        TX     75048419901
7B575133855966   ROSEMARY     DELATORRE                    CA     48035041338
7B57534729154B   ANGEL        PIZARRO                      TX     90011183472
7B575431A51376   DENISE       BROOKS                       OH     90008614310
7B57554498B163   BRIANA       MARTINEZ                     UT     90013275449
7B57554A772441   PAUL         DUDASH                       PA     90014795407
7B5756A9261561   ERICKA       DENSON                       TN     90012966092
7B575739741227   VICTOR       CALHOUN                      PA     90014647397
7B57631279154B   DOUG         CONWAY                       TX     90010413127
7B576871A5B596   KATHY        THOMAS                       NM     35002958710
7B577242727B98   SHANIKA      MIMMS                        KY     90010912427
7B577569A91991   LATOYA       MOORE                        NC     90011565690
7B577A8A172B32   OLIVIA       PORTILLO                     CO     33094150801
7B57862A72B994   ARMANDO      SAENZ                        CA     45042596207
7B578A33A5B596   ANDRIA       RODRIGUEZ                    NM     35030570330
7B57946782B267   NEBIAT       GEBREHANNES                  DC     90004604678
7B57948428B163   REBECCA      SOMMER                       UT     90011374842
7B579584851348   JANICE       FORRESTER                    OH     66035635848
7B579653A72B32   DAVID        GILLESPIE                    CO     90015206530
7B579A89693726   JEAN         SMITH                        OH     64587320896
7B57B3A3872B29   RAMIREZ      LUIS                         CO     90007263038
7B57B439327B98   CHRISTIANA   MOORE                        KY     90014554393
7B57B871A5B596   KATHY        THOMAS                       NM     35002958710
7B581183941227   DAVID        BARTOSH                      PA     51006381839
7B581199141237   NICOLE       MARNICH                      PA     90005951991
7B581873491939   MAURICE      ROBERSON                     NC     90004348734
7B582541533698   THERESA      GREGORY                      NC     90013985415
7B5831A1A33699   REGINA       MCMANUS                      NC     12084821010
7B583442893736   SHONDA       RITCHIE                      OH     90008924428
7B583562884322   THAMASINA    GREEN                        SC     90007335628
7B58357618B142   VERONICA     MARTINEZ                     UT     90000195761
7B583642555931   SHENG        VUE                          CA     90012446425
7B583A43472B44   JAMIE        TRUJILLO                     CO     33040600434
7B584123272421   PAUL         CHALMERS                     PA     90002231232
7B584337A3B38B   JOHANNA      COLE                         CO     90000963370
7B58456949154B   NORMA        AMARO                        TX     90014815694
7B584618281633   MICHELLE     HESTAND                      MO     29009906182
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1056 of 2350


7B585611A72B44   ESMEROLDA    MELENDREZ                    CO     33058796110
7B585613871921   SERGIO       VASQUEZ                      CO     90008036138
7B585811272479   STACIE       BALF                         PA     90010478112
7B585859855966   BRISEIDA     HERNANDEZ                    CA     90013158598
7B58683463168B   ARRON        NORTH                        KS     22062898346
7B586969627B98   JILL         STARKEY                      KY     90012259696
7B586A12284322   MICHAEL      RODNEY                       SC     90015100122
7B587493A27B98   KATHY        CAPMETT                      KY     90014274930
7B5878AA941253   MARIA        MCDANIEL-PHELPS              PA     51048828009
7B587944A72B44   REYMUNDO     RAMIRES                      CO     90015169440
7B58797978B348   DENISE       TAYLOR                       SC     11034819797
7B58844AA41237   WIL          EDWARD                       PA     90013314400
7B58858448B163   FREDY        GONZALEZ                     UT     90007135844
7B588789951348   ODESSA       DIXON                        OH     90013277899
7B58884349154B   BREANA       SMITH                        TX     90000498434
7B589211541237   NICOLE       REVTAI                       PA     90000492115
7B589266481633   DIANA        CARVIN                       KS     90009762664
7B589912791939   SHAHEEN      DAY                          NC     17069909127
7B589931877977   LUIZ         ROBLES                       IL     90015499318
7B589938A8B142   DYLAN        GARDNER                      UT     90000189380
7B58B145271921   MICHAEL      CARR                         CO     90014061452
7B58B21238B134   ROSA         DE CORTES                    UT     90009792123
7B58B435355947   ILIANA       MIRANDA                      CA     49015364353
7B58B579651391   AMANDA       MESSER                       OH     90009855796
7B58B767341253   EDWARD       SOUTHERN JR                  PA     90006097673
7B59129798B142   TAMARA       MORRISON                     UT     90014712979
7B591313561935   RUBEN        MARCIAL                      CA     90011833135
7B59133328B142   TERESA       MCCALLISTER                  UT     90007563332
7B591595255966   J-MICHELE    GURROLA                      CA     90014595952
7B59176745B59B   JOELLA       BROTMAN                      NM     90012367674
7B591968A33699   EVELYN       BECOAT                       NC     12081809680
7B592395A5B59B   MICHELLE     DUNAJA                       NM     90014333950
7B592496355966   STEVE        MCWILLIAMS                   CA     90013524963
7B592579681633   LISA         BASS                         MO     29001295796
7B59278937B473   TIMOTHY      COHEN                        NC     11014207893
7B592831493739   DAVID        GARNER                       OH     90015538314
7B59313A52B994   BRENDA       MOUA                         CA     90003521305
7B593365551348   MARY         MCKEE                        OH     90013073655
7B593389661935   DAVID        MARCELENO                    CA     90011833896
7B59352578B168   PATRICIA     ZBYROWSKI                    UT     90001865257
7B593778472B32   DAVID        EDGELL                       CO     90014707784
7B593A6A15B59B   LYNN         DIMAS                        NM     90012310601
7B593A76336182   JACLYNN      CASTILLO                     TX     90010290763
7B593A79533699   MATTHEW      ACHNATE                      NC     12082770795
7B593A97281633   LEVERNARE    THOMAS                       MO     29019250972
7B594225172B44   NICOLE       MILLARD                      CO     33056872251
7B594636155966   BALDOMERO    GARCIA                       CA     90007476361
7B59477724B572   NATASHA      BROADOUS                     OK     90008857772
7B594952527B98   CARLOS       HOPPER                       KY     90011209525
7B5953A4257157   ELVA         ALFARO                       VA     81045683042
7B59552695B343   VITALINA     AGUILAR                      OR     90003665269
7B595897155947   SOKHOM       IM                           CA     49037148971
7B596347A8B168   TYLER        ROWLEY                       UT     90012263470
7B596642151348   JENYAHA      GRIFFIN                      OH     90011176421
7B596964941227   JEREMY       KIM                          PA     90013959649
7B596974993767   SAKINAH      ALI                          OH     90012469749
7B59717A32B994   TONY         XIONG                        CA     90010131703
7B59725AA5597B   VICTORIA     RAMIREZ                      CA     90014192500
7B597456793736   OROZCO       ALEJANDRA                    OH     90011354567
7B59766884B572   ANTHONEY     LOZANO                       OK     90014426688
7B597716772441   SARA         AMMANN                       PA     51049047167
7B597729A55947   LUIS         PORRAS                       CA     90006727290
7B598119772479   TERRY        HUWEART                      PA     90014911197
7B59812299154B   DAYNA        MACIAS                       TX     90011161229
7B598326477524   DEBORAH      PENHALE                      NV     90012323264
7B598A28971921   DENISE       MARTINEZ                     CO     90014770289
7B599312541253   JESSICA      RITCHIE                      PA     90012093125
7B599392272B29   FELIPE DE    ESPARZA                      CO     33095033922
7B599A1548B157   LEE          CUPPLES                      UT     90013740154
7B59B184A84322   VERIA        SMITH                        SC     90014931840
7B59B1A2491991   NABRICA      REAVES                       NC     90009281024
7B59B362151348   ANGELA       LAY                          OH     90013073621
7B59B684455931   TERRY        ORTEGA                       CA     90003696844
7B59B68558B134   JORDAN       JONES                        UT     90013936855
7B59B767A55966   SARA         VERISSIMO                    CA     48088367670
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1057 of 2350


7B59B845933698   JAMES        HILL                         NC     90010308459
7B5B1176872B32   CESAR        GONZALEZ                     CO     90014481768
7B5B15A4451348   JOSHUA       LIGGETT                      OH     90014615044
7B5B19A6272441   JENNIFER     REESE                        PA     90013889062
7B5B1A4168593B   DANIEL C     CETRULO                      KY     90012700416
7B5B2262233698   SAMANTHA     WRIGHT                       NC     90014172622
7B5B2298A72B32   REXANNE      WRIGHT                       CO     90008082980
7B5B2334357157   JAMIE        AGUILAR                      VA     90014713343
7B5B269A641237   SHARON       WRIGHT                       PA     51008066906
7B5B297954B572   LUIS         SALAZAR                      OK     90009469795
7B5B31A7A81633   WARREN       JONES                        MO     29091111070
7B5B32A6941253   WESLEY       WOODS                        PA     51068792069
7B5B364A68B157   VICTORIA     OLSON                        UT     90015106406
7B5B3668293739   JODI         DICKERSON                    OH     64573506682
7B5B3862141227   JUSTIN       PRICE                        PA     90013288621
7B5B4A39241237   JOHN         MULLEN                       PA     51018540392
7B5B5179772479   AMANDA       JOINTER                      PA     51022281797
7B5B544A92B994   ALIONSO      AVILA                        CA     45094134409
7B5B557A333699   MIKE         HANNAH                       NC     90010735703
7B5B5615A97B81   KIM          DEVLIN                       CO     90013586150
7B5B584A74B572   JAIME        GONZALEZ                     OK     90014408407
7B5B58A448B134   TROY         DANIEL                       UT     90010168044
7B5B5951393739   AMANDA       REEDY                        OH     90014739513
7B5B5A37855966   LETICIA      GARAY                        CA     90014640378
7B5B5A93355947   LOURDES      HERNANDEZ                    CA     49006410933
7B5B6167341237   MATTHEW      DURRANT                      PA     90002041673
7B5B626692B994   TOWY         JACKSON                      CA     90015242669
7B5B6651171921   TIMOTHY      HOLLIFIELD                   CO     90009976511
7B5B6A22A57157   DOMO         WALKER                       VA     90013290220
7B5B7261171921   LUIS         REZA-HOLGUIN                 CO     32011072611
7B5B7441157157   ISMAIL       ISSE                         VA     90014954411
7B5B745A831432   DALE         DAVIS                        MO     90014834508
7B5B74A248B134   JUSTIN       MCOMIE                       UT     90013054024
7B5B769534B572   BRIAN        HIGGINS                      OK     21511616953
7B5B7875472B29   GILBERT      PERNANDEZ                    CO     90002768754
7B5B788298B157   JORGE        PADILLA                      UT     90009018829
7B5B8357257556   MARISOL      DE LA PAZ                    NM     90011763572
7B5B8556171921   HEATHER      BUNN                         CO     32097505561
7B5B8655857157   VICTOR       DELEON                       VA     90000446558
7B5B8A79991939   NATALIE      BAILES                       NC     90001710799
7B5B912585B356   JULIAN       HERNANDEZ                    OR     90007431258
7B5B9412341237   HAROLD       DURRETT                      PA     90002424123
7B5BB199627B98   ASHLEY       BABB                         KY     90011131996
7B5BB268655966   ISABEL       MEZA                         CA     90002892686
7B5BB38A75B356   RAY          JACKSON                      OR     90008813807
7B5BB39639154B   GUADALUPE    DELGADO                      TX     75058503963
7B5BB629155964   FERANCISCO   CAMACHO                      CA     90003366291
7B5BB821931432   TAMIKA       PLUMMER                      MO     27561338219
7B5BBA51733698   ERICA        JACKSON                      NC     90011090517
7B61111498B142   LEZLEE       GREEN                        UT     90010611149
7B61154A47B477   LYNTTE       PETERSON                     NC     90004965404
7B612185933698   RITA         MCGLAWN                      NC     90006361859
7B61231A972479   JOHN         SYPLYWCHAK                   PA     90011463109
7B612462293726   LISA         VINCENT                      OH     90007014622
7B612A7663B372   RAYMUNDO     ALVAREZ                      CO     33095900766
7B613132A51355   GREG         ADAMS                        OH     66012331320
7B613238193739   SARAH        BROWN                        OH     90007882381
7B61394547B477   KENDAL       SUMMERS                      NC     90014739454
7B613A78A91549   ROBERTO      ENRIQUEZ                     TX     75050010780
7B614211871924   SAMUEL       SUTLIFF                      CO     90011132118
7B61459A15B384   LAURA        HUTCHINS                     OR     44559345901
7B6145A8A27B98   TAMMY        HENDERSON                    KY     90014565080
7B61465738B157   CONSTANTIN   CUARA                        UT     31049386573
7B614662777524   MARGARITA    RIVERA-LOPEZ                 NV     90010036627
7B615181933699   ARTANZIA     THOMPSON                     NC     90009991819
7B61534858B168   OSCAR        TAPIA                        UT     90013803485
7B615884172B44   SHAUN        ROSSITER                     CO     90013218841
7B615942131432   NATHAN       SIMMS                        MO     90009479421
7B61632432B271   ANTHONY      JOHNSON                      DC     81038313243
7B616492181633   TERESA       GALINDO                      MO     90007404921
7B616678A72421   QUINN        VERHEYEN                     PA     51048766780
7B61798349154B   JOSE         GUERRERO                     TX     90003839834
7B618248484322   WILLIE       STANFIELD                    SC     14553442484
7B618438655991   RENEE        GONZALES                     CA     49004684386
7B61856215B392   CAROLINA     DILLON                       OR     90010335621
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1058 of 2350


7B61863919154B   JESUS        AGUILERA                     TX     90014786391
7B61869844B572   MIKAL        AUSTIN                       OK     90014426984
7B61915938B157   CODY         KINDER                       UT     31006761593
7B61932922B271   CHIOMA       NWADIGO                      DC     90013253292
7B6193A348B142   MARIA        MARQUEZ                      UT     90012213034
7B619484133684   DAMIAN       DEASE                        NC     90007784841
7B619516836182   GLORIA       SALAZAR                      TX     73520175168
7B61958459154B   LIZET        PORTILLO                     TX     90014815845
7B619931291939   DILCIA       ARITA                        NC     17034919312
7B61B56638B134   ADELA        PEREZ                        UT     90001615663
7B61B644855931   BONFILIO     ORTIZ                        CA     90013566448
7B61B81835B59B   ASHLEY       CATES                        NM     35091498183
7B61B943372B44   ALIS         CONTRERAS                    CO     90011539433
7B621131571921   MYRNA        ONEILL                       CO     90014001315
7B621439A8B168   BRIAN        HANK                         UT     90012654390
7B622598A72B29   SHANTIANA    SHORTS                       CO     33055945980
7B622652941227   LISA         TALBOT                       PA     90010126529
7B622777A9154B   IVETTE       PORTILLO                     TX     75056607770
7B622937272B44   BARBARA      VIRGIL                       CO     90011539372
7B62358719154B   GABRIEL      SAENZ                        TX     90014815871
7B623678972B29   BHIM         RAI                          CO     90009826789
7B624289872B44   GERMAN       VILLANUEVA                   CO     90001802898
7B624376157157   MARTA        SALMERON                     VA     81060563761
7B624423141237   CYNTHIA      WHITE                        PA     51016484231
7B62447A284363   MARTHENIA    WARD                         SC     90011544702
7B624529551348   CHRISTINA    BOULDIN                      OH     90014855295
7B624585372B29   KURT         MCATEE                       CO     90002745853
7B62461242B994   ELISEO       DENIZ                        CA     45090856124
7B6246A5A72441   DONOVAN      JEETER                       PA     90008556050
7B624945133698   ATIHAH       NORRIS                       NC     90013929451
7B624A51555931   LONG JOHN    COCK                         CA     90014820515
7B624A9868B163   LILIA        FLORES                       UT     90015120986
7B625345181633   JEANNEL      WILLIAMS                     MO     90014863451
7B625447955966   FRANCISCO    BALTAZAR                     CA     90014904479
7B62572354B572   ANGELICA     RODRIGUEZ DE SOLIS           OK     90014427235
7B625925557157   JOSE         CASTRO                       VA     90012279255
7B626357772B29   JUAN         LOPEZ GOMEZ                  CO     90007463577
7B626993A93736   MARIANNE     EDWARDS                      OH     90005079930
7B626A9A193739   HENRY        FERNADEZ                     OH     90012220901
7B627181A7B477   STEVEN       HEARNE                       NC     90014151810
7B627446851348   ANTWON       LATTIMORE                    OH     90014874468
7B62758218B142   RAY          CARLSON                      UT     31069455821
7B627873141237   MICHELLA     COSTIC                       PA     90001448731
7B628727491823   MAKAYLA      GRAMES                       OK     90010687274
7B628831872441   DAVID        CHILDS SR.                   PA     90011038318
7B628935541237   AARIKA       WILKERSON                    PA     90013079355
7B62899719154B   CLAUDIA      NAVARRO                      TX     90009089971
7B628AA738B163   JOSELINE     RAMIREZ                      UT     90013260073
7B629597493739   ROBERT       WELCH                        OH     90007405974
7B629671751348   KIMBERLY     NORMAN                       OH     90014136717
7B629754941227   ROBERTA      PAXON                        PA     90013637549
7B62992492B232   MICHAEL      DOUGLAS                      DC     81045769249
7B62B581541237   JAILYNN      WILLIAMS                     PA     90000565815
7B631259372B29   LUISE        SANCHEZ                      CO     33091222593
7B63146A731432   DEMETRIA     WHITE                        MO     90015034607
7B6315A6591252   DONNA M      SCOTT                        GA     90007015065
7B63172138B134   AMEE         PREECE                       UT     90013937213
7B631726372479   ROBERT       ARMSTRONG                    PA     90015157263
7B631A37584322   DONTAY       GILLYARD                     SC     90010980375
7B63225A255966   NANCY        ROBERTS                      CA     48024802502
7B63242264B572   KERI         BRANSTETTER                  OK     90002224226
7B632449151349   TAMEIKA      HOWARD                       OH     90008124491
7B632551736182   JORGE        ESCOBEDO                     TX     90003705517
7B632822455931   SARAH        TRAVIS                       CA     90013568224
7B632896A5B596   ZACH         MONTOYA                      NM     90004938960
7B6332A188593B   TAMITSHA     WILLIAMS                     OH     90005302018
7B633446772479   HEATHER      HALL                         PA     51029544467
7B63361A155931   MICHELE      ROTHWELL                     CA     49013436101
7B633646461988   BECKY        KING                         CA     46009006464
7B634393171921   ALEJANDRO    LOMELIN                      CO     32039313931
7B634425355931   JODY         TILLEY                       CA     49092614253
7B63444718593B   FRANKIE      GARCIA                       KY     90012394471
7B63572392B229   SHAQUANDA    DAY                          DC     90010687239
7B63572A741227   LAWRENCE     MADISON                      PA     90009607207
7B6357A294B572   JANIS        LONEMAN                      OK     90013017029
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1059 of 2350


7B63748883B387   KIMBERLY     P                            CO     90005114888
7B63794A85B596   VINCENT      GARCIA                       NM     35056929408
7B637997141241   ERIC         GRUBBS                       PA     51077369971
7B637A11655966   CAMPOS       ANGELICA                     CA     48097410116
7B637A49A81633   DAVID        BROWN                        MO     90013350490
7B638336841253   DONNA        DARDEN                       PA     51037083368
7B6385A9355966   ARIEL        SANCHEZ                      CA     90005145093
7B63868219154B   ARACELI      MARTINEZ                     TX     75095796821
7B63875138B163   SHARON       OLSON                        UT     90001287513
7B6395A3672B35   NAOMI        ANELOSKI                     CO     90013635036
7B6396A5955931   DANIEL       MELTON                       CA     49000266059
7B63B123281633   TERI         GLASS                        MO     90002381232
7B63B56648B134   DANIEL       LEMUS                        UT     90000285664
7B63B638361935   YOLANDA      MALDONADO                    CA     90005196383
7B63B91A284322   AGOSTIN      TORRRES                      SC     90003469102
7B63BA53A41253   CAROL        DUTKOVIC                     PA     51007610530
7B641167972B29   MARIA        SALAS                        CO     90014171679
7B6418A2771921   MARYLUE      MCCOMBS                      CO     32087248027
7B642138755947   EPIFANIA     LOPEZ GRACIDA                CA     90012171387
7B64221645B59B   JANET        KRAMER                       NM     90010862164
7B642759572441   KATHLEEN     LEPPLA                       PA     51076647595
7B643621991991   JAMES        BAILEY                       NC     90011276219
7B644173591832   MARTIN       FRANCISCO                    OK     90010521735
7B644176871921   JOSHUA       BRADLY                       CO     90013151768
7B644183231451   WYKITA       LOCKHART                     MO     90001161832
7B64427968B134   DICK         GOMEZ                        UT     31037542796
7B64457A67B396   NAMHOON      KIM                          VA     90013605706
7B644598971921   JOSHUA       BRADLY                       NC     90001195989
7B644754772B44   MISTY        LUCERO                       CO     90013947547
7B644A3427B477   JAMES        JEFFERSON                    NC     11008070342
7B644A67141237   DANIEL       HEINLEIN                     PA     90012690671
7B64521115B59B   CHRISTINA    BOOS                         NM     35087482111
7B645347255931   LOUIS        CHAVARRIA                    CA     90011063472
7B64536398B157   JENNIFER     BLATNICK                     UT     31050823639
7B645383355966   MICHELLE     HUNTER                       CA     90012903833
7B64553768B163   THOMAS       OLSEN                        UT     31006175376
7B645587657157   GIA          COATES                       VA     81014355876
7B645596541253   TINA         FEATHERMAN                   PA     90010935965
7B645749572B44   GIANNINA     NINALAYA                     CO     33086707495
7B645A97833699   TOIYA        JAMES                        NC     12043920978
7B646316427B98   SANDRA       ESCOBAR MENDEZ               KY     90014373164
7B64654A541253   HARLAN       TOBE                         PA     51092265405
7B64657595B596   SELIA        PAYNE                        NM     35030615759
7B64677442B994   HOLLY        REYNOLDS                     CA     45038327744
7B6467A6181633   BENIGNA      SERRANO                      MO     90000877061
7B64684675B59B   MICHELLE     MINGURA                      NM     35029018467
7B647454672B44   GERARDO      ALVARADO                     CO     90004284546
7B6477A5336182   PAIGE        ODOM                         TX     90004357053
7B647A91931432   MICHAEL      KING                         MO     27555620919
7B64842728B142   ANDREW       MARTIN                       UT     90012374272
7B648692971921   IRMA         WEDGLE                       CO     90004776929
7B64885815B356   AMBER        BRYAN                        OR     90003868581
7B64962158B134   BRANDY       ANDERTON                     UT     31095356215
7B649717977524   BLANCA       DE LEON                      NV     43016837179
7B649813772B38   JONATHAN     TRINIDAD                     CO     90013818137
7B649922472B32   RICHARD      ROGERS                       CO     33074999224
7B64B75758B157   SUSAN        VENZOR                       UT     31002317575
7B64B856A71921   ERIC         LITTLE                       CO     32060018560
7B651395481633   CARRIE       WILLIAMS                     MO     90012243954
7B65159697B477   AARON        GRAY                         NC     90012925969
7B651894255966   JOSEPH       RAMIREZ                      CA     90013058942
7B652758751355   DEANA        WILLIAMS                     OH     90003787587
7B652996331661   ASHLEY       COUNTRYMAN                   KS     90008809963
7B653943755931   KARINA       CISNEROS                     CA     90013569437
7B65396745B169   ARTIE        LOVELACE                     AR     23060609674
7B654256891993   TONY         JENKINS                      NC     90005772568
7B65448364B572   CORY         MULLINS                      OK     90011114836
7B654663A72B44   CASSANDRA    LETCHER                      CO     33038636630
7B65479715B279   JERRY        BARTLETT                     KY     90010457971
7B654837493739   ZYATRICE     FROST                        OH     90013928374
7B65562113168B   LOWELL       TOOTHMAN II                  KS     90010146211
7B655792451348   JENNIFER     DOUGLAS                      OH     90013947924
7B655A84893726   DENNIS       MARSHALL                     OH     64583590848
7B65627218593B   JOSE LUIS    MEJIA SOLIS                  KY     90015462721
7B65627749154B   BLANCA       CAMPOS                       TX     90011732774
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1060 of 2350


7B656314671921   LINDA             STERLING                CO     90012023146
7B65655A88B163   COREY             CHIDO                   UT     90013245508
7B657384272479   TERANCE           ARMSTRONG               PA     90001843842
7B65748528593B   BRAD              HEINE                   KY     90004134852
7B657646961922   RAFAEL            CORIA                   CA     90012326469
7B657A56A51348   AMY               HARDING VAN DY          OH     90015260560
7B658124741237   JAYVON            KINDS                   PA     51001861247
7B658184A84322   VERIA             SMITH                   SC     90014931840
7B65821548B142   SMITH             STEVE                   UT     90008592154
7B65841299154B   MARIA             SANCHEZ                 TX     75075514129
7B658751A57157   IRVIN             RONGKILLO               VA     90011387510
7B6591A3472B29   SHAKAILA          PROULX                  CO     90012811034
7B659829691939   CHRISTOPHE        SANSOM                  NC     90001148296
7B65989264B541   DANIEL            PENA                    OK     90004528926
7B659A3A393736   THOMAS            MOORE                   OH     64593520303
7B659AA1441227   TIA               SAFRAN                  PA     90011200014
7B65B298761935   SOONALOTE         BOLEY                   CA     90011842987
7B65B397793726   JOSEPH            CONNER                  OH     90011793977
7B65B46A891993   ISMAEL            OCAMPO                  NC     90005734608
7B65B547172B32   MARK              SHUGART                 CO     90011365471
7B65B627172479   NICOLE            KNAPPER                 PA     51094796271
7B65B641A8B168   JOYCE             ROLLINS                 UT     90008396410
7B65B64A251391   JOHN              RUHE                    OH     90013936402
7B65B933272441   LAURA             ROBBINS                 PA     51031369332
7B65B9A1872B32   EVELIA            ESPEJO                  CO     90002299018
7B65BA71251348   SHARON            HEDGES                  OH     66089630712
7B661575291252   GODRIN            NOMERO                  GA     90011845752
7B661774855931   CHRISTOPHER       STEMPIEN                CA     90013167748
7B662511A93739   CAROLYN           HUNTER                  OH     64530375110
7B662579751348   KEITH             BENFORD                 OH     90014865797
7B662723127B98   ASHLEY            PHILLIPS                KY     90014417231
7B662918272B29   RAYNELLE          PISANO                  CO     90009069182
7B6629A6627B98   JOE               SCHMITT                 KY     90012399066
7B663237672441   JOANN             FIKE                    PA     51056072376
7B663282527B98   TAJA              BUTLER                  KY     90011172825
7B663358893739   WILLIAM           PHILLIPS JR             OH     64597653588
7B664151A81633   WAYNE             BRIGGS                  MO     29001601510
7B664314572421   HEATHER           FULTON                  PA     90012453145
7B6643AA47B477   MELIDA BRICELDA   RAMOS DIAS              NC     90013433004
7B66532922B271   JOSE              HERRERA                 DC     90011483292
7B665342572B29   JEFF              MONTE                   CO     33077963425
7B665359A57157   MARGARITA         GALEANO                 VA     81045023590
7B66555AA41237   ESTRELITA         TAYLOR                  PA     51026525500
7B665A62155931   MELISSA           JAMES                   CA     90014820621
7B66665935B59B   HORTON            JOHN                    NM     90012596593
7B666666A55966   CINDY             MARTINEZ                CA     90012496660
7B66685247B428   EFREN             CALZADA FIERROS         NC     90010458524
7B66686418B168   MATTHEW           SALIBY                  UT     90013268641
7B666968484322   GEOFF             MCLSAAC                 SC     14500349684
7B666A87241253   JESUS             GARCIA                  PA     90014940872
7B667293572B32   BOBBY             LIPPER                  CO     90002712935
7B667936372B44   BRADD             WICKERT                 CO     33077189363
7B667989A2B844   WALTER            QUIROS                  ID     90009539890
7B66815412B271   PHILLIP           JOHN                    DC     90008301541
7B668877455966   MAYRA             CHAVEZ                  CA     48053198774
7B66914A18B142   LINDA             POWELL                  UT     31002841401
7B669A1563168B   DEBBIE            FARR                    KS     90013030156
7B66B414155966   MANUEL            JUAREZ                  CA     90011264141
7B66B47948B157   SHANE             RUTHRUFF                UT     90007504794
7B66B68A272B29   MAYRA             MARROQUIN               CO     33002366802
7B66B7A418B134   JOSUE             CERVANTES               UT     90013937041
7B671153193765   WILLIAM W         MORGAN                  OH     64508061531
7B671169241237   ROBIN             PHILLIPS                PA     51037981692
7B67171675B596   PAMELA            VANDERHOEK              NM     35057727167
7B67276449154B   CATHERINE         MARTINEZ                TX     90004897644
7B672768872479   CLAUDIA           LAUFFER                 PA     51082107688
7B672827161991   CELIA             RAMIREZ                 CA     46063348271
7B673153777524   CARLOS            GAYTAN                  NV     90003271537
7B673227141227   JORJA             PERL                    PA     51088322271
7B67335664B572   DEE ANN           NANCE                   OK     90008633566
7B673394A8B163   JOSE MAURICIO     AVILEZ                  UT     90014353940
7B67343119154B   MARICELA          MARTINEZ                TX     75093804311
7B67372383364B   CHARLENE          AQUINI                  NC     90012567238
7B67391A555947   PAYLOR            LINGO                   CA     90013159105
7B674274471921   JONATHAN          MENDEZ                  CO     90000692744
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1061 of 2350


7B67435893B351   OKSANA        ZARETSKA                    CO     90012573589
7B674422372B32   JEFFERY       GORDILLO                    CO     90000224223
7B6745A9555966   ANGELA        HERNANDEZ                   CA     48012285095
7B674788784322   KARLA         HERNADEZ                    SC     90013957887
7B674966231432   SETH          DANE                        MO     27564149662
7B674A28541253   MICHELLE      STARDIVANT                  PA     90012390285
7B67533A372479   SABRINA       JOHNSON                     PA     90000503303
7B675383793736   ELAINE        HUNTER                      OH     90012713837
7B675584877524   LEOVIGILDA    BETANCOURT                  NV     43072915848
7B67581438B142   VAL           MAUGHAN                     UT     90010208143
7B676462A8B163   ASHLEY        FRAMPTON                    UT     90015234620
7B6767A4333698   RUBEN         CABRERA                     NC     90010747043
7B676AA5255947   ARMONDO       LOPEZ                       CA     90012300052
7B677A41693739   ATHELYN       SEALS-PERSON                OH     64504150416
7B677A8674124B   JENNIFER      KOLCZYNSKI                  PA     90012200867
7B67828568B157   ALFRED        KAHN                        UT     90012862856
7B678425455966   JOSEPH        STEVENS                     CA     90000354254
7B6785A7181633   LENEAH        SOLOMON                     MO     90013455071
7B67864A251348   JOHN          PERRY                       OH     66052866402
7B67872A78B157   JORGE         PEREZ                       UT     90015257207
7B678A8674124B   JENNIFER      KOLCZYNSKI                  PA     90012200867
7B6791A5593736   BROCK         POLLY                       OH     90010361055
7B679362A8593B   CELIA         PEARSON                     KY     66055523620
7B67941227B357   BRITTANY      THRASHER                    VA     90004564122
7B679547651348   NAKYA         CURY                        OH     90005185476
7B67B21A52B994   NANCY         VANG                        CA     90013242105
7B67B41845B59B   LAURA ELENA   CERVANTES FELIX             NM     90005454184
7B67B56887B477   ALBA          NIEVES                      NC     11034855688
7B67B628772441   JUSTIN        DONNELY                     PA     90011206287
7B67B679561935   JAHAZIEL      DAVILA                      CA     90005196795
7B67B792451348   JENNIFER      DOUGLAS                     OH     90013947924
7B67B814A9154B   CHARISSE      HOLLIS                      TX     75046378140
7B67B85298B163   MICHEAL       STANLEY                     UT     31098798529
7B67B869955966   AMBER         RAYO                        CA     90013638699
7B67B8A2384322   FRANCISCO     VEREMUNDO                   SC     90014728023
7B681299A7B661   TRACIE        MOORE                       GA     15049442990
7B681596455947   FRANCES       GUERREVO                    CA     90009465964
7B681927981643   GLORIA        MCCARTHY                    MO     90008709279
7B681974155966   VICTOR        NUNEZ                       CA     90015169741
7B68221178B134   MARY          YOUNG                       UT     90015242117
7B682427851348   JANICE        FISHER                      OH     66009834278
7B68261675B384   PATRICK       GIBBS                       OR     44526616167
7B682843755947   AUBREY        MCFALL                      CA     90012448437
7B682969572441   JUANITA       PRICE                       PA     51098259695
7B682975655966   ARTURO        MARISCAL                    CA     48001809756
7B68326838B163   KAREN         COX                         UT     90008092683
7B68358568B163   BRENT         KIMBALL                     UT     90014935856
7B683A21533699   ROBERT        ERVIN                       NC     90013290215
7B684673957157   PAUL          DAVIS                       DC     90013596739
7B6852AA193736   EBONY         SCANDRICK                   OH     64508472001
7B68583825B356   VICTOR        MARTINEZ                    OR     90007368382
7B686649A61935   GONZALES      JOSAPH                      CA     90001736490
7B68667118B142   JENNIFER      BIBLE                       UT     31031926711
7B687142A57157   LORENA        CRUZ                        VA     81084791420
7B687A63361935   MELODY        PRUDEN                      CA     90004680633
7B68813359154B   SERGIO        MARTINEZ                    TX     90010001335
7B68825819154B   ROSA          BUSTILLOS                   TX     90013572581
7B68836684B573   LINDA         CARTER                      OK     21561693668
7B68846544B572   SHAWN         ALEXANDER                   OK     90013894654
7B688716291991   DAWUD         BEY                         NC     90013407162
7B688919171921   HENRIK        SMITH                       CO     90008589191
7B68925819154B   ROSA          BUSTILLOS                   TX     90013572581
7B68931565B392   LINDSAY       HENDRICKSON                 OR     90011293156
7B689366171921   TAUNYA        STITES                      CO     90001653661
7B68962318B163   JESUS         PANIAWUA                    UT     90013246231
7B6896A7141227   JAUWANDA      CLARK                       PA     51053666071
7B68983A531433   MUSTAFA       PASSAWE                     MO     27530648305
7B689853141253   ANTHONY       CARLES                      PA     90012308531
7B689855581633   AMANDA        FOSTER                      MO     90014288555
7B68B141793736   BRITTANI      FORD                        OH     90015011417
7B68B341533699   NICOLE        DEARMON                     NC     90012433415
7B68B584151348   ANTHONY       COOPER                      OH     66055135841
7B68B734491991   LATRICE       LYONS                       NC     90011277344
7B68B979755947   KHIN          LOUNG                       CA     90012889797
7B69129518B142   MILLISSA      JOHNSON                     UT     31010752951
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1062 of 2350


7B691796533699   CHRISTELL          AGAMA                  NC     90008537965
7B691881341237   CHRISTINE          CARVAJAL               PA     90013608813
7B691A26384322   SAMANTHA           SAVORY                 SC     90013960263
7B69243A272441   BETTY              GOTELL                 PA     90004564302
7B69278987B428   CHARLES            ANTONUCCI              NC     90012437898
7B692A1278B134   ROBERT             WILSON                 UT     90014600127
7B693834A71921   ALEXIS             SANTIAGO               CO     90008808340
7B69393488B163   ZACHERY            TOLMAN                 UT     90013479348
7B69395579154B   ANGEL              ARRATIA                TX     75040499557
7B694371233B98   GABRIEL            PEREZ ALVAREZ          OH     90014943712
7B694586A5B169   TYLER              HOGGARD                AR     90006105860
7B694A2A98B168   CINTHIA            RODRIGUEZ              UT     90015150209
7B6952A3971921   PRESILLA           ROSARIO                CO     90013792039
7B695456571937   CANDACE            SMILEY                 CO     90012934565
7B69563938B163   ROSALBA            MACIAS                 UT     90013246393
7B69594A48B168   SARA LEE           BATES                  UT     90005249404
7B69596968B157   JUSTIN             MORILL                 UT     31013169696
7B695A18733699   DACIA              PALMER                 NC     12074310187
7B695A7A541253   JOHN               LEANDRE                PA     90012360705
7B696127541237   ANGELINA           SCHMITT                PA     90012501275
7B696215455947   JACQUE             MAGANA                 CA     49068222154
7B696392155931   TIA                YANG                   CA     49090823921
7B69672138B168   ROBERT             LUCKAU                 UT     90010267213
7B6967A7971921   DESHAUNA           DRUMMOND               CO     90013097079
7B696932555966   MARIBEL            GOMEZ                  CA     90013899325
7B6972A5457157   TEKLU              DADI                   VA     90014922054
7B69747568B134   JUAN               GARCIA                 UT     31092254756
7B6975A7773233   FRANSICA           HERRERA                NJ     90013975077
7B697856772B44   JORGE              CORTES                 CO     90003688567
7B698361755931   YESENIA            REA                    CA     49065413617
7B698438333698   TRAVON             GARRETT                NC     90008914383
7B69858685B356   ROBERT             HORN                   OR     44515015868
7B69873AA72479   AMY                DAVIS                  PA     90007947300
7B698A14A9154B   JOSUE              FAVELA                 TX     90003840140
7B698A46155966   JUAN               RAMIREZ DIAZ           CA     48005730461
7B698AA318B163   MILDRED            HOLLIDAY               UT     31003540031
7B699222433698   MARIA DEL CARMEN   JQUEZ ROMAN            NC     90014282224
7B699394393736   KIMBERLY           MOSS                   OH     64527723943
7B699921872B32   SANDRA             LOPEZ-PADILLA          CO     90010269218
7B69997742B271   JAMES              GARNER                 DC     90012559774
7B69B662A71921   CHARLES            BURKETT                CO     32094796620
7B69B69384B572   JENNIFER           JOHNSON                OK     21516126938
7B69B8A2A72B32   GUADALUPE          VALADARES              CO     90013058020
7B69BA9698B157   TRAVIS             SCHNEIDER              UT     90015130969
7B6B15A3A93736   DENISE             BURNS                  OH     90009935030
7B6B1634993728   CRYSTAL            LAUGHMAN               OH     64514476349
7B6B1797555947   DANIEL             RONELL                 CA     49093107975
7B6B193A184322   ADELALDA           HERNANDEZ              SC     14588209301
7B6B2327993736   RIDGE              HIGGINS                OH     90012723279
7B6B267524B572   JAMAL              FRENCH                 OK     90014426752
7B6B2A43A55931   JOE                SALANANCA              CA     90014820430
7B6B3189131432   DONETTA            ROGERS                 MO     90000911891
7B6B3539572B44   RANAE              COLERICK-NOLAN         CO     33016245395
7B6B357539154B   TINIKA JENEA       CARTER                 TX     90014815753
7B6B367268B168   KENDRICK           HOLMAN                 UT     31051176726
7B6B395114B221   KATHRYN            BUNN                   NE     90011549511
7B6B4293533699   SHERILL            MEANS                  NC     90012862935
7B6B4394961964   BELINDA            EBERMAN                CA     90000543949
7B6B4562891932   TRACEY             FYE                    NC     90012535628
7B6B4959531637   KOREY              ABBOTT                 KS     90013659595
7B6B557699154B   TRINIDAD           CARRIZALES             TX     90014815769
7B6B599918B134   GINA               ROWBAL                 UT     31066349991
7B6B5A32372B29   SOPHIE             CARTER                 CO     90010240323
7B6B6446A72B29   EDGAR              PEREIRA                CO     33095574460
7B6B6769672B44   CHAD               MCMILLIAN              CO     90011227696
7B6B6924557157   JOSE               REQUENO                VA     81046169245
7B6B7891A72479   DENNIS             WALLS                  PA     90014028910
7B6B7A67457157   BRIAN              BRUNS                  VA     90003710674
7B6B7A95741253   ISRAEL             GONZALEZ               PA     90015070957
7B6B8114172441   BRETT              HENLEY                 PA     90011111141
7B6B8114493736   SEAN               PEYTON                 OH     90008991144
7B6B8553572479   ANDREA             SZABO                  PA     51055995535
7B6B896672B994   TINA               BIZZACK                CA     90008599667
7B6B8997A71921   SHANITA            GALLOWAY               CO     90014789970
7B6B8A55855947   EMILY              HERRERA                CA     90013200558
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1063 of 2350


7B6B915468593B   AMBER            RUNION                   KY     90005401546
7B6B937262B271   ROSALINA         MORENO                   DC     81012643726
7B6B9426157157   MAGDA            MARTINEZ                 VA     90012074261
7B6B953925B596   DANIEL           PEREA                    NM     35051965392
7B6B9622177524   GINA             FLETCHER                 NV     43016786221
7B6B997448B142   JAMES            NIELSEN                  UT     31037539744
7B6B9975784346   RICHARD          CONRAD                   SC     90012199757
7B6BB37A93168B   PAYGO            IVR ACTIVATION           KS     90004483709
7B6BB3A1284322   FILIBERTO        HERNANDEZ                SC     90012273012
7B6BB595233699   CURTISHA MCCOY   YOUNG                    NC     90014445952
7B6BB83879154B   CARLOS           FIERRO                   TX     90004368387
7B711242991827   KANDACE          DOBSON                   OK     90002982429
7B711282A31433   GEORE            RHODES                   MO     27557842820
7B711483984322   MARIA            RAUDA                    SC     90015284839
7B711819A91991   MARLENE          PINEDA                   NC     90008428190
7B7118A875B384   ANDREA           GELLATLY                 OR     90005098087
7B71196855B59B   ALBERTO          CRUZ                     NM     90014899685
7B71241133168B   MELESIO          CAMPOS                   KS     90008464113
7B712799972479   MELISSA          MCADOO                   PA     51054477999
7B712A15293726   CATHY            CASTLE                   OH     90010050152
7B712A1548B157   LEE              CUPPLES                  UT     90013740154
7B71366885B326   BRANDLY          HALL                     OR     90007536688
7B71382892B271   JOAN             JOHNSON                  DC     90004498289
7B713872372B44   CRISTOBAL        CHAVEZ                   CO     90014218723
7B713A66355931   RAYLA            WILLIAMS                 CA     90014820663
7B714247272441   RYAN             BEATRICE                 PA     90006632472
7B71436332B271   SCARLET          GARCIA                   VA     81044003633
7B71444896196B   LINDA L          HENRY                    CA     90012334489
7B71452858B157   NICOLE           HANSEN                   UT     90014585285
7B71457278B163   ROLANDO          ROJAS                    UT     90010245727
7B71463459154B   ALEJANDRA        CASTRO                   TX     90008476345
7B71474A45B356   CAROLINA         GETZ                     OR     90008977404
7B71522A68B157   THEODORE         BUTCHER                  UT     31014902206
7B715469531427   CAROL            BECKER                   MO     90003004695
7B71553788B163   RONALD           MCGUIRE                  UT     90000985378
7B715572331443   CYNTHIA          JOHNSON                  MO     27557555723
7B71579513168B   MARIA            ALCALA                   KS     90013207951
7B715829751348   EVE              MAYES                    OH     90013948297
7B716241A8593B   MARTHA           BREWER                   KY     90011122410
7B71629848B157   MARK             BROWN                    UT     90014462984
7B71638989154B   ISELA            RODRIGUEZ                TX     75055463898
7B71638A75B384   ADAM             GONZALEZ                 OR     90001433807
7B71639598B163   MIKEY            G-MONEY                  UT     90010733959
7B716684433698   YALONDA          BETHEA                   NC     90011066844
7B716867841237   JANINE           FIASCO                   PA     90014128678
7B717131A3B39B   DOUG             ODENBACH                 CO     33000461310
7B717286755966   LINDA            KURTZ                    CA     90013842867
7B71733349154B   SONIA A          LUNA                     TX     75009483334
7B71734A48B163   LESLIE           NIELSON                  UT     90013553404
7B717389977524   TASHIA           HENNICK                  NV     90003273899
7B717395331432   DEE              GREEN                    MO     90007823953
7B718481784322   SHANNON          FOUCH                    SC     90014694817
7B718823381633   MARCIA           ELCYZYN                  KS     90014808233
7B7194A952B994   OCTAVIO          VALENCIA                 CA     90008994095
7B71975A35B59B   KATREI           ESQUIBEL                 NM     90013867503
7B71B391551348   BETHANY          COLE                     OH     90014713915
7B71B493851348   BING             SPARKS                   KY     90013074938
7B71BA62A5B59B   JOE              BACA                     NM     90014490620
7B721299472B29   JUAN             HERNANDEZ LOPEZ          CO     90012772994
7B72273978B134   PALMER           ONTAYA                   UT     90013937397
7B722766351544   EMILY            ACOSTA                   IA     90015297663
7B72341A233698   CURRANDA         WILLIAMS                 NC     90013914102
7B723749755966   ENCARNACIO       VALENZUELA               CA     48075017497
7B723771781633   MYRANDA          GILMORE                  MO     90011307717
7B724149972B44   JONATHAN         NADEAU                   CO     90012541499
7B72426677B477   ANGELA           JORDAN                   NC     90009212667
7B72445748B142   JERRY            HOUSEKEEPER              UT     31089554574
7B724513951348   REBECCA          SEXTON                   OH     66021135139
7B724626484324   BISMARCK         LARA                     SC     90008436264
7B72471924B572   AYANNA           TYE                      OK     90014727192
7B724978327B98   ROY              HARDY                    KY     90011339783
7B724A47772B32   GERSON           ORTEGAAAA                CO     33062760477
7B72532A98B163   FRANCISCO        PEREZ                    UT     90008093209
7B725587A8B157   ROBYN            HANCEY                   UT     90010655870
7B726494941227   WVONNE           AVERY                    PA     90009674949
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1064 of 2350


7B726796191252   JAMES                  BRYANT             GA     90007027961
7B726992472B29   LISA                   TRUJILLO           CO     90005579924
7B727418161995   THOMAS                 GONZALES           CA     46009324181
7B72777248B168   IRIS                   IMAGANADE-PIMENT   UT     90004707724
7B727A26691586   JORGE                  ABURTO             TX     90010940266
7B72828748B157   JEREMIAH               CARLSON            UT     31001042874
7B7282A1993736   BRENDA                 CATON              OH     90012982019
7B72863938B142   ALECIA                 PULLEY             UT     31031826393
7B72878277B477   ALEXIS                 JACKSON            NC     90012847827
7B7288A1772B32   WONDA                  GIBSON             CO     90004868017
7B729221872441   MARIBETH               FORREST            PA     90011052218
7B729589627B98   PATRICIA               GORDON             KY     90013825896
7B729835572B44   DAVID                  SUAZO              CO     90010408355
7B729A37941253   YVONNE                 LEWIS              PA     51061420379
7B72B33258B168   DANIEL                 STUPRICH           UT     31067453325
7B72B441857157   MANUEL                 DELCID             VA     81007424418
7B72B51925B356   TINA                   GLUSTER            OR     44517425192
7B72B61218B142   ANGELA                 WEIS               UT     90012256121
7B72B63147B477   GUILLERMO              TABOADA            NC     90007536314
7B72B921593726   LATOYA                 CANTRELL           OH     90010219215
7B73167754B572   MEGAN                  KAUP               OK     90014466775
7B73174612B994   AGUSTIN                MORENP             CA     45088067461
7B732742555947   PAULA                  MARTINEZ           CA     90010547425
7B7328A8531432   UN YOUNG               RYU                MO     90007668085
7B733322141265   ANGELA                 VAUGHN             PA     90001183221
7B733439933699   SHANTARA               TERRY              NC     90012774399
7B7335A2985871   GUADALUPE              LOMELI             CA     90004815029
7B73469845B356   THERESA                MALONEY            OR     90008876984
7B73471558B134   DAVID                  HOWARTH            UT     31002657155
7B734863993736   MICHAEL                JEFFERSON          OH     64511138639
7B735517177524   FILIMON                CASTILLO           NV     43011015171
7B735547593736   JUSTIN                 MCKINNNON          OH     90012745475
7B7356A278B157   CHRISTOPHER            WALLS              UT     90014036027
7B73592649154B   JAIME                  HERRERA            TX     90011549264
7B735A5138593B   JULIA                  WYATT              KY     66073410513
7B735A69172B32   RAMON                  LOPEZ              CO     90014740691
7B736353433698   JERMAINE               WALKER             NC     90013383534
7B7364A1672421   MARISSA                HEADLEE            PA     90005374016
7B736568455966   ANA                    GONZALEZ           CA     90010725684
7B736685991522   SHANNON                KEBSCHULL          TX     75036166859
7B736899193739   RUEDA                  SALOMON            OH     90012118991
7B736AA774B572   MICHAEL                WEBB               OK     90008640077
7B73736434B572   KAYCEE                 WARREN             OK     90014813643
7B737364555931   MARIBEL                GONZALEZ           CA     90010283645
7B737437555947   ANGELA                 GALLOWAY           CA     90009954375
7B737866955991   CHIA                   YANG               CA     90006528669
7B7378A4391993   CHARLES                WALKER             NC     17045108043
7B738123336182   ANA                    RANKIN             TX     73565591233
7B73815118B163   MATTHEW                AAMODT             UT     31089541511
7B738983627B98   NATASHA                KAMINSKI           KY     90010379836
7B73899AA5B59B   ROSITA                 MOYA-HERRERA       NM     35040159900
7B739623472B32   LACEDRIC               STEPHENSON         CO     90011106234
7B739631271921   LANCE                  TEAL               CO     32087346312
7B739878357157   RENE                   GRANDE             VA     90010788783
7B73B17875B59B   YALUANY                CHAN               NM     90013291787
7B73B45248B163   AMBER                  BREWER             UT     31077464524
7B73B792627B98   DEMARIO                WADDELL            KY     90015477926
7B73BA8A572B44   JEREMIAH               ESPINOZA           CO     33077660805
7B741366172B29   JON R                  NEIMAN             CO     90014153661
7B74198A757364   AMANDA                 JONES              MO     90014559807
7B74251A25B384   KEISHA                 EPPS               OR     44526965102
7B742766693736   CHRISTOPHER            HOWARD             OH     90008387666
7B742961581633   LOUIS                  WRIGHT             MO     90003299615
7B742999655997   JOSE                   BRAVO              CA     90009719996
7B743368A9154B   MICHAEL                GORDON             TX     90008413680
7B74346658B157   CHARLES                DIXON              UT     31098064665
7B74375695B59B   HELEN                  PADILLA            NM     35085657569
7B743776972B32   LONIA                  KERSEY             UT     90012687769
7B743871391991   MICHAEL                SMITH              NC     90011278713
7B744464A72B44   GABRIELA               ZAMORA             CO     90009194640
7B74458258593B   MARY                   LAYMAN             KY     90015265825
7B74514618B134   WAQAS                  JAVED              UT     90002251461
7B74526838B157   ALAWEIA OMER MAHAMED   ARBAB              UT     90012402683
7B7454A7772441   CODY                   SOLERTO            PA     90008624077
7B745724655966   MELHANEY               CORNIL             CA     90008557246
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1065 of 2350


7B745959A61995   CHRISTHIAN   MACHADO                      CA     90010489590
7B745A9A34B572   TELOR        HARPER                       OK     90009780903
7B746271372421   JESSICA      QUINN                        PA     51096982713
7B74639A38B142   ALBERTO      CASTRO                       UT     31095563903
7B746556593739   SARANSH      NANDAKUMAR                   OH     90004775565
7B74658934B572   JUANITA      WILLIAMS                     OK     90011115893
7B746743A31432   TAMMIE       DAVIS                        MO     90013787430
7B746833431443   TANISHA      WILSON                       MO     90006338334
7B746893455966   DANIELLE     RUMSEY                       CA     90013068934
7B746A36777528   JOSE         BARRIOS-CASTILLO             NV     43082430367
7B747332991252   LISA         BIERLE                       GA     90011753329
7B74758934B572   JUANITA      WILLIAMS                     OK     90011115893
7B747589631432   VANESSILLA   HENDERSON                    MO     27557295896
7B747855641237   ERICKA       WILLIAMS                     PA     90011128556
7B74788447B477   SANTOS       CARDONA                      NC     11064248844
7B74821492B994   RON          CROCKETT                     CA     90013222149
7B748539355931   ANGELITA     HOPPER                       CA     90014795393
7B749A6885B591   BRITTANY     GONZALES                     NM     90011160688
7B749A9AA93739   LUZ          CONYERS                      OH     90001500900
7B74B4A1441227   ASHLEY       BROWN                        PA     90013804014
7B74B97AA9154B   NANCY        SARMIENTO                    TX     90012829700
7B74BAA4A84322   DANIEL       MOCTEZUMA                    SC     90009090040
7B751797291939   ESTER        GONZALEZ                     NC     90006117972
7B751A51371921   JOHANNA      PEARSON                      CO     32021950513
7B751A6574B572   MISTY        WEATHERFORD                  OK     90007060657
7B752124291993   FALICIA      SHEFFIELD                    NC     90005821242
7B752587241253   JAMES        ALBANESE                     PA     90012945872
7B752597A72B32   ROBERT       SOLORIO                      CO     90009645970
7B75297AA9154B   NANCY        SARMIENTO                    TX     90012829700
7B7529A3672B44   BRIAN        DELVE                        CO     90014219036
7B753143541227   DEBBIE       MCGAFFIN                     PA     90015111435
7B753732955931   DANIEL       MARTINEZ                     CA     90014827329
7B754127727B98   MICHAEL      FIGUEIREDO                   KY     90014781277
7B75454522B994   JOU          YANG                         CA     90013295452
7B7546A2351348   DAKOTA       FINNEY                       OH     90013526023
7B755815155966   SONIA        HERNANDEZ                    CA     90013078151
7B755A28731432   COREY        CROWDER                      MO     90001890287
7B755A54851348   ALAINA       DUPREE                       OH     90006710548
7B755A98771921   SCOTT        BUMGARNER                    CO     32016000987
7B756172755947   RAUL         COVARRUBIA                   CA     90002891727
7B756295A7244B   LISA         MCCLOSKEY                    PA     90013872950
7B756363293736   MONICA       MACK                         OH     90014263632
7B75641195599B   ASHLEY       DELGADO                      CA     90008284119
7B756523441237   TYLER        YOUNG                        PA     90015105234
7B756583A91991   GEORGE       ORTIZ                        NC     90011155830
7B75693733168B   GARY         NAIL                         KS     22065689373
7B757152A31634   TERESA       LOERA                        KS     22003731520
7B757541172B32   JESUS        RODRIGUEZ                    CO     33073885411
7B757812872B29   CHARLOTTE    DAIBO                        CO     33017508128
7B758126931432   KENNETH      NALLS                        MO     90007681269
7B75847348B168   KERRY        KERN                         UT     90004154734
7B758526655947   TIFFANY      GEE                          CA     90012655266
7B7591A2651348   KELLY        KLUSE                        OH     90011151026
7B75922A791939   RONALD       RAGLAND                      NC     90013832207
7B759382172441   JULIE        TAORMINA                     PA     51098063821
7B759927A5B356   ANA LUCIA    ZUNIGA MARIN                 OR     90000609270
7B75998852B994   ADAM         GOEBEL                       CA     90015249885
7B75B569891991   THERESA      WILKES                       NC     90011495698
7B75B694684322   THAMASINA    GREEN                        SC     90013236946
7B75BA92972B32   JOSUE        ORITZ                        CO     90013170929
7B76153175B59B   LILIANA      GONZALEZ                     NM     90014825317
7B761614431432   TIJUANA      ALLEN                        MO     90009516144
7B761959A9154B   TINA         GREGORY                      TX     90005239590
7B761A22827B98   DONNIS       MARQUEZ                      TN     90015480228
7B76254522B994   JOU          YANG                         CA     90013295452
7B762593957157   GULNAZ       HASSAN                       VA     90013985939
7B76268348B163   CARLOS       CANAS                        UT     90013256834
7B7629A618B157   JARED        MOYES                        UT     90011839061
7B763138571921   BELEN        CHAVEZ                       CO     32030371385
7B763231A3168B   CHRIS        JEWETT                       KS     22018632310
7B763368351348   CHARLES      GUTWILLER                    OH     90004273683
7B76347272B271   BRIONA       SIMPSON                      DC     81054674727
7B76347482B994   THONGDENG    DOUANGBOUPHA                 CA     90012994748
7B7641A7491827   GAYLA        JORDAN                       OK     90007931074
7B76421238B134   ROSA         DE CORTES                    UT     90009792123
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1066 of 2350


7B764384891991   PATRICIA       DYAL                       NC     90011313848
7B764442A8593B   LAKENYA        MITCHELL                   KY     90005764420
7B7646A552B271   MARCUS         JACKSON                    DC     90011396055
7B764718472B29   SHAUNTA        TAYLOR                     CO     33065667184
7B76497962B994   TERRIE         BILLY                      CA     90013039796
7B765221433699   KWAMIQUE       ROLLINS                    NC     90012592214
7B765317171921   RANDOLPH       ASAKI                      CO     32061563171
7B76547765B596   JULIE          HODGE                      NM     90003294776
7B765486A51348   LAURA          BROOK                      OH     90014434860
7B76572114B572   TYLER          PRIVETT                    OK     90014467211
7B76592A85B356   MICHAEL        WEBER                      OR     90008979208
7B766453A72B44   TEAONNA        CALDWELL                   CO     90010774530
7B766937693739   CHRISTY        MALOON                     OH     64570629376
7B767183981255   JAMES          SHUCK                      KY     90009921839
7B767271151348   TERRI          HAMPTON                    OH     66036872711
7B767354793736   KIMBERLY       BURNS                      OH     90012753547
7B767377881633   CATHI          REYNOLDS                   MO     29058443778
7B76747525B53B   LUIS           TRUJILLO                   NM     90012084752
7B767762181597   YVONNE         DIXON                      IL     90014477621
7B76785618B168   J JESUS        BARRAZA                    UT     31071908561
7B767A3928B142   MIGUEL         VEGA                       UT     31085910392
7B767A95455931   BABY           SILVA                      CA     90014820954
7B768376341237   SAMANTHA       WITHEROW                   PA     51096493763
7B768457555966   SANDRA         ORTEGA                     CA     48034034575
7B76862338B157   CHRISTIE       MCDOWELL                   UT     31075406233
7B768883A5B59B   DEBIE LOUSE    MARLER                     NM     90007798830
7B768918271921   ELIZABETH      SALAIS-CATARINO            CO     90010019182
7B769242781633   RHONDA         ADAMS                      KS     29015552427
7B769347191939   MALISSA        VANDERVEER                 NC     90006913471
7B769449472421   ELIZABETH      HARABAUGH                  PA     51007334494
7B769762A72B44   ERNESTO        ESTRADA                    CO     90009137620
7B769792855947   MARGARITA      PACHECO                    CA     90010227928
7B7698A1355966   JORGE          RUIZ                       CA     90011268013
7B769939193736   TINA           SNOWDEN                    OH     90003669391
7B76B15867B335   EMELINA        CAMPOS                     VA     90011041586
7B76B296672B32   TANYA          PRESTA                     CO     33078732966
7B76B312A33699   ADAN           SALINAS-CARRILLO           NC     90008643120
7B76B47A655966   DIANA          REYES                      CA     90008124706
7B76B632381643   LATRESA        WILSON                     MO     90009706323
7B76B767571921   GUSTAVO        CRUZ                       CO     90012217675
7B771246227B98   THOMAS         COTY                       KY     90004812462
7B77128118B168   JACOB          HOUSER                     UT     31094062811
7B77129A98B142   KEVIN          KEMPLE                     UT     90010172909
7B771613931433   MONIQUE        CLAIR                      MO     27507956139
7B771821893739   CRAIG          MAYNARD                    OH     64521068218
7B771A7A733699   JOHN           MALLOY                     NC     90014500707
7B77234A48B134   SONIA          ALVARADO                   UT     31008033404
7B772737293739   BANZ-AH-MAKE   HUR-DANCE                  OH     90010047372
7B77275AA9154B   ELMER          BARRIOS                    TX     90014817500
7B773297A8B171   SUMMER         ROBERTS                    UT     90005722970
7B773A8562B994   FERMIN         MUNOZ VALDEZ               CA     90013090856
7B774128141237   KELLIE         MASON                      PA     51091451281
7B77441578B142   BRITTNEY       WARREN                     UT     90009464157
7B774441481643   TAYLEY         MOORE                      MO     90007044414
7B77475219154B   ALEXANDER      MARTINEZ                   TX     90014817521
7B77476162B994   BRIONA         HODGE                      CA     90013227616
7B7747A4977524   JOSE           HERRERA                    NV     90011177049
7B774981731432   SARAH          SCALES                     MO     27587029817
7B77498228593B   FLORENCE       LANDRUM                    KY     66031529822
7B774A74957157   JOEL           MEJIA                      VA     90000380749
7B77515818B134   KAILEE         HALL                       UT     31015791581
7B77539378593B   DAWN M         WRIGHT                     KY     66044053937
7B7753A224B572   ZERO           LOPEZ                      OK     90008643022
7B775471872B32   ABUBAKARR      BANGURA                    CO     90010204718
7B775497A55931   ZARATE         ELIZABETH                  CA     90002084970
7B775751555941   SHEILA         HUDGENS                    CA     90006907515
7B775961771921   CRYSTAL        FABIANO                    CO     90012799617
7B776113851348   GASPAR         GARCIA                     OH     90011151138
7B7761A275B59B   EJ             CHAVEZ                     NM     90014161027
7B77669657B477   MARIO          MEEKS                      NC     11033946965
7B776917293736   CARNETTA       POUNDS                     OH     90003119172
7B776967431432   KARINA         ROSAS                      MO     90013169674
7B77717178B134   JOSEFINA       GARCIA                     UT     90013581717
7B77719275139B   DEBBIE         DESS                       OH     90007111927
7B777574172479   JEFFREY        EVANS                      PA     51014955741
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1067 of 2350


7B77819918B163   TARNIA               AMA                  UT     90004401991
7B778321272B44   ALEJANDRO            REYES                CO     90014233212
7B7783A3671924   CATHERINE            COLLINS              CO     90010993036
7B77893795B596   MIRANDA              BACA                 NM     35011159379
7B778A21241237   TOYNA                JOHNSON              PA     90011870212
7B779117241483   LOUIS                CORREA               WI     90015571172
7B7791A9891924   AMANDA               ALSTON               NC     90011491098
7B779235A33698   VICKIE               MOMAN                NC     12084472350
7B779238457157   MICHAEL              RAMIREZ              VA     90014552384
7B779467172B32   GENESTA              HUMPHREY             CO     90012624671
7B7794A528B134   MADISEN              AVERETT              UT     90006424052
7B779851197121   MARIA                GONZALEZ             OR     90008268511
7B779892357563   ALMA                 VENZOR               NM     90014178923
7B77B442155966   MARIA                SANCHEZ              CA     90014184421
7B77B595433699   IVAANA               COLON                NC     90013195954
7B77B657277977   LUIS                 ARIOLA               IL     90015416572
7B77B742A9154B   ALFREDO              FEDERICO             TX     90014817420
7B77B986A72479   LAVONNE              POPE                 PA     51068209860
7B781115191991   NATACHA JEAN NOUIS   DACEUS               NC     90009991151
7B78123327B48B   CAROLYN              MASON                NC     90007662332
7B78141815B245   AARON                EUBANK               KY     90003664181
7B781697931432   CALEB                WEATHERS             MO     90012056979
7B781761A41253   KEITH                WILLIAMS             PA     90000517610
7B782177972B32   JUAN                 CASTANEDA            CO     90012031779
7B78229AA84322   ALICIA               LESTER               SC     90013902900
7B78252584B572   REBECCA              SIMON                OK     90010345258
7B78279578B157   LANELL               TANNER               UT     31084097957
7B783148372B44   RENEE                GRIFFIN              CO     90000241483
7B7835A738B134   JONATHON             MADRIGAL             UT     90014885073
7B783663281697   GABY                 OLALDE               MO     29004196632
7B78375919154B   CHRIS                MEADE                TX     90014817591
7B78378782B994   HORTENCIA            CASTELLON            CA     90012597878
7B783899461985   LINA                 LOPEZ                CA     90009878994
7B784388151348   JASON                SUTTLES              OH     90010293881
7B784626655947   EZULA                AVILA                CA     49005956266
7B784684527B98   TIFFANI              GREENE               KY     90013306845
7B784727255931   DELIA                BUENROSTO            CA     90013577272
7B784823A9154B   GABRIEL              NUNEZ                TX     90014818230
7B784851197121   MARIA                GONZALEZ             OR     90008268511
7B785193641289   SHIRLEY              HALSEL               PA     90013601936
7B785581857157   MARIA                ANDINO               VA     81040185818
7B78575958B134   SHELDON              KINSEL               UT     90013937595
7B78646A52B994   APRIL                WALKER               CA     45032254605
7B786827933699   SHANE                COLON                NC     90012308279
7B7873A8155966   GABRIELLA            LOPEZ                CA     90014773081
7B787694A4124B   ADAM                 GREENLY              PA     90014296940
7B787899233B98   ROSARIO              HERNANDEZ            OH     90015178992
7B78799A572B32   HARRY                WILLIAMS             CO     33011199905
7B788655972441   KAILYN               BORING               PA     90011426559
7B788841191566   RICARDO              RODRIGUEZ            TX     75077988411
7B7893A412B271   MARTIN               GARCIA               DC     90010763041
7B789633372479   DREW                 MATTHEWS             PA     51076166333
7B78996638B168   JORDAN               SMITH                UT     90003019663
7B78B26327B477   YOR                  H                    NC     90011982632
7B78B394355947   MAI                  YANG                 CA     90014763943
7B78B518981633   MARIO                CORADO               MO     29038315189
7B78B5A223168B   HAMAL                JACKSON              KS     90007685022
7B78BA98493726   TIFFANY              HENSLEY              OH     64541360984
7B791173355931   CHUE                 THAO                 CA     90014881733
7B791542531443   HENRY                REESE                MO     27599125425
7B792168941227   SANDRA               YONKOVITZ            PA     90013871689
7B792176951348   ASHLEY               COLLINS              OH     90007271769
7B792239557157   KADIATU              SESAY                VA     90010352395
7B79254848B168   CANDACE              GARCIA               UT     90006215484
7B79283A555947   ALFONSO              MACIAS MERCADO       CA     90001358305
7B792948971921   JAMIE                NOTHSTINE            CO     90010839489
7B792975541237   TONYA                PRATER               PA     90012959755
7B792A32761935   JANICA MARIE         SIMMONS              CA     90014330327
7B793186472B44   LORI                 MYERS                CO     33091661864
7B793324A7B367   EDISON               ABRIL                VA     90005743240
7B793497A41253   DEBORAH              PUSATERI             PA     51066944970
7B79349915B59B   EVER                 NEVAREZ ROJO         NM     90005564991
7B793537291586   STACI                PRADO                TX     90012875372
7B793746327B98   LESLIE               BARTHLOW             KY     90014567463
7B79388A957157   VERONIA              PRUITT               VA     90010998809
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1068 of 2350


7B793A8312B994   MARISA       PRADO                        CA     45048650831
7B794442954151   ROGER        SAVAGE                       OR     90009664429
7B794A34872479   ANDREW       CAMPBELL                     PA     90011470348
7B794A72233698   SANANTONIO   WILKINS                      NC     90011510722
7B79548354B572   THOMAS       PRICE                        OK     90014474835
7B795615A57157   SVETLANA     WELLS                        VA     90012996150
7B79587A89154B   RAUL         CAREON                       TX     75086188708
7B795933831432   ERIC         WALKER                       MO     90014819338
7B796344A57563   COMET        GARCIA                       NM     90015293440
7B79644798B157   IGNACIO      VEGA                         UT     90003194479
7B796626A41253   JESSICA      YOUNGE                       PA     90014416260
7B79733514B572   ESTEBAN      CABELLO                      OK     90011533351
7B797534291993   JAMELLE      WILKERSON                    NC     90005845342
7B79762928B134   WENDY        MASSEY                       UT     31048896292
7B79763954B572   DEZARAE      MCKENZIE                     OK     90011116395
7B79771935B357   DAVID        ANDERSON                     OR     90002177193
7B797A67172B32   RAMIRO       RODRIGUEZ                    CO     90009150671
7B798162157157   RANDY        DAVIS                        VA     81019751621
7B79822A651348   LUZ          GARCIA                       OH     90006322206
7B79829798B168   TAMARA       MORRISON                     UT     90014712979
7B798334184322   ANA          GARCIA                       SC     90013893341
7B798612672479   VALERIE      PHILLIPS                     PA     51012966126
7B79871A161941   ALBERTO      SANCHEZ                      CA     46029367101
7B799128A71921   MANUEL       FERRAEZ                      CO     32002761280
7B79928918B157   JUANA        REYNA                        UT     90009472891
7B799294393728   CRYSTAL      PATTERSON                    OH     90011622943
7B7993A879154B   MINERVA      JAUREGUI                     TX     75062323087
7B799537872441   MICKEY       GOEHRING                     PA     51066295378
7B799A96784329   CARLOS       DOMINGUEZ                    SC     14507980967
7B79B311A7B477   MARIA        GRIER                        NC     11086793110
7B79B38564B959   TARSHEIKA    BROWN                        TX     90013203856
7B79B391551348   BETHANY      COLE                         OH     90014713915
7B79B742261998   ANDREA       AUSDERAN                     CA     90004757422
7B7B1283291939   STEVE        SHULER                       NC     90004262832
7B7B1311A9154B   DOMINIC      ACOSTA                       TX     90014863110
7B7B13A1371921   HEATHER      BRAIN                        CO     32059403013
7B7B17A284B572   NYTINA       HAGGINS                      OK     90012487028
7B7B186A78B168   SARAH        JOLLEY                       UT     90014158607
7B7B187A872B29   SHERRY       UPTON                        CO     33008218708
7B7B1968484322   GEOFF        MCLSAAC                      SC     14500349684
7B7B19A894B572   NYTINA       HAGGINS                      OK     90015109089
7B7B1A8968B142   MARTIN       ANAGONEZ                     UT     90014150896
7B7B2265455931   JEREMY       GARZA                        CA     90013572654
7B7B22A1A72421   AMY          WEIGHTMAN                    PA     51003712010
7B7B2431381643   NICOLE       STALLER                      MO     90004754313
7B7B2492633699   KIRA         HOWELL                       NC     90012884926
7B7B251A841253   HEATHER      MORROW                       PA     51048295108
7B7B26A695B59B   ANDREA       HOOGENBOOM                   NM     90011366069
7B7B2883993726   TERRENZE     YOUNG                        OH     64538898839
7B7B2A6963168B   LYNN         HILL                         KS     22003250696
7B7B374A593726   DOUGLAS      JUSTICE                      OH     90005537405
7B7B3759431433   SHAWN        LESINSKI                     MO     27502497594
7B7B481669154B   GERARDO      ARROYO                       TX     90002618166
7B7B4898A8B142   ENRIQUE      TAPIA                        UT     31060358980
7B7B4A19693726   RHONDA       CHANCELLOR                   OH     64532820196
7B7B527888B163   ADAM         BAX                          UT     90015172788
7B7B56A9931432   SHARON       LOTZ                         MO     90011366099
7B7B5913857157   GUILLERMIN   AVILES                       VA     81051799138
7B7B689668B168   LUIS         PABLO                        UT     90011418966
7B7B6981955947   OMAR         ALI                          CA     90015169819
7B7B718935B248   CHARLIE      RAISOR                       KY     68015711893
7B7B739868B134   MAX          LEFEVRE                      UT     90013983986
7B7B743128B163   MICHAEL      SADLER                       UT     90012534312
7B7B7576A55947   EDWIN        ESCALANTE                    CA     90014785760
7B7B7A7A661967   ROSALIA      LOCOCO                       CA     90008490706
7B7B812648B163   DAVID        ARCHULETA                    UT     90011181264
7B7B8761427B98   ANA          ESCOBEDO                     KY     90013317614
7B7B933A941227   LEETTA       SABATELLO                    PA     90011953309
7B7B938128B142   DOUGLAS      LAZENBY                      UT     90010243812
7B7B947568B163   JUAN         GARCIA                       UT     31092254756
7B7B9638172B29   DULCE        HERNANDEZ                    CO     33040176381
7B7B9818251348   SAMUEL       MARTINEZ                     OH     90013948182
7B7B9A1378B142   STEVEN       COOPER                       UT     90014020137
7B7B9A71831433   CANDANCE     HICKS                        MO     90005300718
7B7BB3A1993726   STEVE        BARTON                       OH     90014963019
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1069 of 2350


7B7BB539A55947   EVA LUZ       CAZARES GASTELUM            CA     90014215390
7B7BB83A281621   SAMANTHA      SCHANUTH                    MO     90010958302
7B7BB86923B377   ROBERT        DENISON                     CO     90011658692
7B811214693726   ANTHONY       TREVINO                     OH     64541362146
7B811319177524   MARGARITA     IBARRA                      NV     90006543191
7B81134A476B27   ANTONIO       CORTEZ                      CA     90006313404
7B81148352B271   TENIKA        BARNETT                     DC     90011494835
7B81181A48B163   SHARILYN      ROMERO                      UT     31057588104
7B81189822B994   SANDRA        COCHRANE                    CA     90008898982
7B811A25351348   JUSTIN        FUHRMAN                     OH     90014990253
7B812215841253   DIANA         RESTANO                     PA     51003012158
7B812678A91991   BRUCE         JENKINS                     NC     90010506780
7B81281717B477   RASHONDA      WILLIAMS                    NC     90011308171
7B8129A612B271   VINCENT       JOHNSON                     DC     90006249061
7B8131A5931443   PATRICK       MCKAY                       MO     27590371059
7B813327927B98   ROZETA        ROBINSON                    KY     90009293279
7B81361438B163   CHER          KEMP                        UT     90013276143
7B813653355947   GUSTAVO       LARA                        CA     90014216533
7B813676A8B134   JULIE         ULRICH                      UT     90008676760
7B81381593168B   ADOLF         LOMELY                      KS     90014998159
7B814138455966   GLORIA        PAZ                         CA     90002921384
7B814338872B44   ADRIAN        MENDOZA                     CO     90014233388
7B81469445B596   FRANCISCO     CRUZ                        NM     35088066944
7B814912A57157   KELWYN        KAKKAR                      VA     90008019120
7B81511A18B163   BENJAMIN      AGUILAR                     UT     31007791101
7B81539617B477   SHATINA       HOUSTON                     NC     90010063961
7B81552758B163   VIVIAN        IKE                         UT     90013935275
7B81572A68B168   MIGUEL        CRUZ                        UT     90000917206
7B81588835B59B   NADINE        COFFELT                     NM     90015108883
7B815A19693736   JENNIFER      LYKINS                      OH     90014760196
7B816563451368   CHEIKH        CHERIF                      KY     66004655634
7B81711A58B168   AMY           TOPHAM                      UT     31088441105
7B817211455966   IRENE         LARA                        CA     90004342114
7B81769258B168   AMY           TOPHAM                      UT     90014036925
7B81772338B163   ANTHANY       SANTOS                      UT     90013087233
7B817852676B91   MARGARETE     PRATT                       CA     90007068526
7B81836644B572   CINDY         CHAVEZ                      OK     90012003664
7B818623455966   SHARON        GONZALEZ                    CA     90009036234
7B81911A39154B   CYNTHIA       MONTOYA                     TX     75096311103
7B8192A7672441   JONATHAN      PLUM                        PA     90002002076
7B819741581633   DARLA         IRVIN                       MO     90015097415
7B81B59262B994   ERIC          COVARRUBIAS                 CA     90013585926
7B81B676533699   NOEL          ECHEVARRIA                  NC     90013586765
7B81B833831432   SHANNON       HAYES                       MO     90012718338
7B81B945A57157   GONZALO       MENDOZA                     VA     81087879450
7B81BA3338B134   KRISTA        DAY                         UT     90014380333
7B81BA72241253   ALICHIA       JOHNSON                     PA     90007620722
7B821181827B98   PENNY         DAY                         KY     90014581818
7B821572893739   TACI          BRANDON                     OH     90011125728
7B82164389372B   FRANK         BALTIMORE                   OH     90013356438
7B82165158B142   RYAN          DELAHUERTA                  UT     31021946515
7B8216AA193736   SHARON        BARTON                      OH     90003036001
7B822617A9154B   YANETH        GALLARDO                    TX     90004496170
7B822738641227   GARY          NEIL                        PA     90009987386
7B822821355931   JEAN-CLAUDE   SAMONTE                     CA     90013578213
7B82291248593B   HOLLI         RAY                         KY     66098439124
7B822913972B32   STACIE        MORALES                     CO     33085059139
7B822A32184322   TINY          GILYARD                     SC     90013630321
7B82311232B994   GLORIA        VILLEGAS                    CA     90003621123
7B823133293739   CLEMENT       NDUWAYO                     OH     64574411332
7B823165541227   DANIELLE      MILLER                      PA     90013531655
7B823323333698   ANTHONY       HARRIS                      NC     90013653233
7B82369A681643   KISHA         CURTIS                      MO     29001136906
7B82374725B356   PEDRO         MARTINEZ                    OR     44517687472
7B82382445B384   DAYANA        MARCIAL IGNACIO             OR     90010188244
7B823913151348   ELIZABETH     BEBOUT                      OH     66081159131
7B82424AA9154B   LUIS          ARAGON                      TX     90006632400
7B824612A57157   GLORIA        DIAZ                        VA     90007476120
7B824AA6A72421   AMY           WIEDL                       PA     90005270060
7B825239993739   CARLOS        SANTOS                      OH     90013542399
7B825417227B98   SCOTT         STEWARD                     KY     90013014172
7B825565751348   JUDY          GILLIG                      OH     90013075657
7B82595A372B44   WONDER        BREAD                       CO     33056929503
7B826124655996   JOSEPH        KNOY                        CA     90011331246
7B826345372421   VALORIE       LOGESKY                     PA     90001993453
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1070 of 2350


7B826381393736   KATHRYN      FINLEY                       OH     90013643813
7B826436972B29   CHRISTINA    PHILLIPS                     CO     90008374369
7B82651844B572   SHERRY       CREEK                        OK     90008645184
7B82699425B59B   ADRIAN       GALLEGOS                     NM     35010229942
7B82715257B477   STEPHEN      GALLOWAY                     NC     90014621525
7B827351157157   GILBERTO     MONGE                        VA     81003893511
7B82752438B157   JESSI        CHRISTENSEN                  UT     90007775243
7B82756AA51348   JEFF         WINKONE                      OH     90015415600
7B827977A8593B   JOSHUA       LLOYD                        KY     66002159770
7B827999A93739   DAWN         JONES                        OH     90014609990
7B828168377565   KARLA        ESCOBAR                      NV     90011391683
7B828261593726   DEJAUN       HARRIS                       OH     64512182615
7B828281372B32   JULIE        LIPPARD                      CO     33023122813
7B8282A5227B98   MARGO        BELLARD                      KY     90013032052
7B828875493736   SCOTT        DANIELS                      OH     90013608754
7B828937384322   STEVEN       MCNULTY                      SC     90014569373
7B829153572B29   MATT         MOST                         CO     90015491535
7B829221533698   FELICIA      HAYES                        NC     90013622215
7B829471361935   DAVID        ARANDA                       CA     90010544713
7B82957A23168B   JESSICA      VARGAS                       KS     90013405702
7B829584A51348   YOLANDA      FERRIS                       OH     90013075840
7B829791741237   WINTER       SNOW                         PA     90012647917
7B82998628B142   KEVIN        CHRISTENSEN                  UT     31017759862
7B829989755966   LAQUESTE     TIMMONS                      CA     90011269897
7B829A97227B98   LILIA        TAYLOR                       KY     90014570972
7B82B339881633   JAMES        COLE                         MO     90012073398
7B82B48A231443   MARIKA       JONES                        MO     90011074802
7B82B49678B157   STARSHEMIA   BROWN                        UT     90012164967
7B82B59A37B477   JESUS        BARRERA VASQUEZ              NC     11091275903
7B82B662A55947   MONICA       GONZALEZ                     CA     90014216620
7B82B991255966   BRENDA       PANUCO                       CA     90008429912
7B82BA9783168B   ROSA         GUERRERO                     KS     90009480978
7B83139679154B   MARIA        HERNANDEZ                    NM     90003353967
7B831421581255   MC CLAIN     PREWITT                      KY     90014314215
7B831959372B44   MARCELLA     MEDINA                       CO     90011539593
7B83211765B596   ROSA         VALDEZ-ECOBER                NM     35087961176
7B832552141483   CHIQUITA     SMITH                        WI     23547755521
7B83266A89154B   ANA          DEBORA                       TX     90007956608
7B832929A4B572   TOM          LABRY                        OK     90014479290
7B833151627B98   TIARA        FUQ UA                       KY     90013021516
7B833223236182   GENARO       GARCIA                       TX     73511832232
7B833239672441   DIANNE       BURNWORTH                    PA     90014172396
7B83393242B271   CHANEL       HOWARD                       DC     90008339324
7B8345AA48B142   EDWARD       ALLAM                        UT     90014075004
7B834A3A172B29   ANN          COMPIAN-MORALES              CO     33095760301
7B8351A818B168   LUIS         MERCADO                      UT     31068741081
7B835456A41253   TIFFANEE     SMITH                        PA     51040384560
7B835586572B44   MARIA        CHAVARRIA                    CO     33014805865
7B83565A62B295   FLORA        HARRIS                       DC     90008356506
7B8357A392B994   ESTELA       ROMERO                       CA     90013007039
7B836276855931   GUILLERMO    LEON                         CA     90014352768
7B83659A22B886   RONNIE       CYR                          ID     42066785902
7B83679A12B994   WES          GUYETTE                      CA     90013057901
7B83685129154B   JESUS        PEREZ                        TX     90000298512
7B836A7642B271   ASIA         FERGUSON                     DC     90012320764
7B83715148B157   BRENDA       BERNADINO                    UT     90015111514
7B837289957157   NAYYAR       FAROOY                       VA     90003722899
7B837451684322   ALEXANDRIA   MILLER                       SC     90012454516
7B837A4485B59B   MARICELA     CALZADILLAS                  NM     90012280448
7B838435A8B168   ANA          RAMOS                        UT     90010574350
7B83926628B134   CHAILLE      PARRY                        UT     31005732662
7B839324755966   EEPINE       SEE                          CA     90008953247
7B839369A84322   TAHNEE       PALMER                       SC     90011503690
7B83955638B142   RONALD       TRIMBLE                      UT     90011195563
7B839A83641227   OBED         MARTINEZ                     PA     90012070836
7B83B11625B245   TITUS        PHILLIPS                     KY     90001461162
7B83B22312B271   TYWAUNE      HARRIS                       VA     90011082231
7B83B47AA41237   CLARA        HAWKINS                      PA     90015464700
7B83B66973362B   LATRESE      ALEXANDER                    NC     12068546697
7B83B873A91252   M. CHINITA   FRIT-BRACKINGTON             GA     14575198730
7B83BAA7757157   LUCRECIA     CABRRERA                     VA     90010160077
7B841147593736   DAWN         CHASE                        OH     64554591475
7B84133A672B44   CARMELA      PICON                        CO     33062643306
7B84142848B142   DONI         PYLE                         UT     31083124284
7B84155687322B   CONNIE       SESSOMS                      NJ     90014755568
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1071 of 2350


7B841717255966   PATRICIA     SALAZAR                      CA     90008287172
7B84186225B384   MCKAYLA      LEAVITT                      OR     90004918622
7B84214488593B   CHARLES      PETERSON                     KY     90001971448
7B842215177524   ANGELA       HANSEN                       NV     90011642151
7B84236958B163   MICHELLE     WAGSTAFF                     UT     31023263695
7B842731171921   WAYNE        BUCHANAN                     CO     90013817311
7B84291358593B   CHARLES      PETERSON                     KY     66089809135
7B84315A593747   WALTER       BROWN JR                     OH     90005101505
7B843312381637   ELIZABETH    MENDOZA                      KS     90000673123
7B843992784322   GABRIELLE    BASNETT                      SC     90013139927
7B843A23A91991   RONALD       TAYLOR                       NC     90011570230
7B844128355966   MATTHEW      TILLERY                      CA     90013361283
7B844173971921   EMOREIA      CARTER                       CO     90013111739
7B84431A18B168   JOLANA       GONZALAZ                     UT     90011993101
7B844344971921   YESENIA      CRUZ                         CO     90015093449
7B84443257B477   ROBIN        COOPER                       NC     90011144325
7B84443A957157   YESENIA      CASTRO                       VA     90010824309
7B844892672B29   SOSSITY      PERKINS                      CO     33010628926
7B84517AA4B572   HEATHER      FAIRLESS                     OK     90014481700
7B84563788B134   ROBERT       HOLT                         UT     31035196378
7B845A3358B142   LISA         HARPER                       UT     90014960335
7B845A34884322   MONICA       MARTINEZ                     SC     90013380348
7B845A58A55966   EMILIO       ALVAREZ                      CA     90013090580
7B8462A7351348   ASHLEY       CLARK                        OH     90013682073
7B84632A827B98   JYALN        BANKS                        KY     90014573208
7B84644658B134   AMBER        ALVILLAR                     UT     90010624465
7B846472481633   BERNICE      ALVERSON                     MO     90000714724
7B846689741237   BRUCE        BANKS                        PA     90009696897
7B846876631432   ELIZABETH    ADAMS                        MO     90012208766
7B84718828B163   DENNIS       STREETER                     UT     31051211882
7B84785727B477   RACHELLE     MATTHEWS                     NC     90013478572
7B847A83472421   JENNIFER     HAASE                        PA     90007090834
7B848113272B42   KYLE         PURCELL                      CO     90003411132
7B848158333699   IRVIN        MIRANDA                      NC     90009571583
7B84817518B163   MISTY        SLADE                        UT     90008791751
7B848432491993   JOSE         GONZALEZ                     NC     17023734324
7B8487A258B157   CHRIS        FORBUSH                      UT     31065097025
7B84899A18B168   IVY          NIELSON                      UT     31095549901
7B84911628B142   JULIO        RUIZ                         UT     31031271162
7B84931295B93B   MARCOS       RIOS                         WA     90015513129
7B849683655966   REBECCA      FRAUSTO                      CA     90013096836
7B849947A72B29   NEHEMIAS     MEJIA                        CO     33019299470
7B849983493736   DARNITA      HARVEY                       OH     64547569834
7B84B17178B134   JOSEFINA     GARCIA                       UT     90013581717
7B84B195591252   DONSHAY      BROWN                        GA     90007041955
7B84B36872B994   BILL         COSBY                        CA     90013243687
7B84B94458B163   FRANCISCO    DIAZ                         UT     31051519445
7B84BA1148B168   JAYDE        ALTEMEIER                    UT     90011070114
7B84BA87A71921   ERWIN        NOWICKI                      CO     90003190870
7B851326857157   PHILIPS      WOLO                         VA     90014373268
7B8513A6541237   ALEESHA      ELLIS                        PA     51074723065
7B852368427B98   CAMERON      PEOPLES                      KY     90015513684
7B852467584322   EVANGELINA   OCOA                         SC     90012014675
7B852646593736   EARL         FRAZIER                      OH     90012526465
7B852A17891991   JIEZELLE     WINSTEAD                     NC     90011280178
7B853956272B29   RICARDO      SANCHEZ                      CO     90011889562
7B853957393739   ROBERT       KENNETH                      OH     90011899573
7B854353341227   KIM          SMITH                        PA     90002213533
7B854365855947   KASSANDRA    HARMAN                       CA     90011183658
7B85466728B157   ASHLEY       SMITH                        UT     90012596672
7B854725355947   JENNIFER     BARRON                       CA     90014217253
7B8547A7531433   ADAM         RHODES                       MO     90015167075
7B854851351341   HEATHER      DAVIS                        OH     90005998513
7B85513613168B   KARIRE       ZANINKA                      KS     90013841361
7B85528777322B   PATRICIO     FUENTES                      NJ     90012432877
7B85529A672421   MIKE         YANNACCI                     PA     90004642906
7B8554A1433698   SYLVIA       WINSTON                      NC     90008794014
7B85558988B168   AUGUSTO      SALAMANCA                    UT     90013385898
7B856352827B98   JESSE        BROWN                        KY     90014803528
7B856848533698   TALMA        OLDHAM                       NC     12022458485
7B856872A9154B   LORENA       MARQUEZ                      TX     75079568720
7B856917855947   MICHAEL      PARKER                       CA     49052169178
7B857348372B29   BARRY        HAY                          CO     33040473483
7B857521993736   DANIEL       ROSS                         OH     90012955219
7B857A97355966   PATRICIA     SALMERON                     CA     90011270973
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1072 of 2350


7B85818424B553   KEVIN        HUGHES                       OK     90009871842
7B858938593736   CHELSEA      WRIGHT                       OH     90008389385
7B859298681633   SIERRE       MITCHELL                     MO     90001052986
7B8592AA87B321   LEONOR       AMBROSE                      VA     81089002008
7B859436657157   MELVIN       MEJIA                        VA     81083914366
7B859698172421   BARRY        BYZON                        PA     51065256981
7B85981279154B   ANAYELI      QUINONEZ                     TX     90014038127
7B859A7124B553   DAVID        COOK                         OK     90003790712
7B85B273584322   JOSE         CALDERON                     SC     90009302735
7B85B58965B59B   STEVEN       CARTER                       NM     35076275896
7B85B617755966   VERONICA     VIDANA                       CA     90000846177
7B85BA4A655947   MAURA        ARCE                         CA     90013880406
7B861227731432   SAINT        WIRELESS                     MO     90015372277
7B861516672479   KATHY        TUDEK                        PA     90013285166
7B861554533699   RICARDO      DELAROSA                     NC     90014875545
7B862141157157   JOSE         CORTEZ                       VA     81025171411
7B862199333699   MELISSA      BROWN                        NC     90013921993
7B8623A578B163   BRYAN        SYMONETTE                    UT     90008103057
7B86318848B163   JUSTIN       ANDERSON                     UT     90010701884
7B86319179154B   CARMEN       CASTANEON                    TX     90013221917
7B863226A5B356   ROBERT       REUSSER                      OR     90006922260
7B8632A6955947   PAMELA       MALBREW                      CA     90015122069
7B863417772B29   FILIBERTO    CERVANTES                    CO     90013554177
7B863812372B44   JOSE         RODRIGUEZ                    CO     90015028123
7B86429165B356   DEANNA       COEN                         OR     90002412916
7B864575931432   MARY         BACA                         MO     90013985759
7B86514958B168   JOSH         BELL                         UT     31005711495
7B865A42541227   ANTHONY      FAIELLO                      PA     51091350425
7B866478493739   MICHAEL      JORDAN                       OH     64558274784
7B866566A7B477   KENYA        SANDERS                      NC     90014655660
7B867317172441   STEVE        SCOTT                        PA     51022523171
7B8674A1A81644   ASHLEIGH     CRAVEN                       MO     90013954010
7B86773645B356   SARAH        LLEWELLYN                    OR     90002967364
7B86782235B596   LUIS CARLO   GUILLEN-LOZANO               NM     35068818223
7B867A86477524   MARISELA     JUAREZ                       NV     43009150864
7B868112255931   MARIO        HERRERA                      CA     90014851122
7B86844833168B   JEREMEY      ROBERTSON                    KS     90006114483
7B86865A98593B   JOSE         RAMONDO                      KY     90012496509
7B8686A5884322   RUTH         FAJARDO                      SC     90010846058
7B868736A72421   ROXANNA      VARRIANO                     PA     51016427360
7B86881AA9154B   JESUS        MARTINEZ                     TX     90014818100
7B868A59155931   ROY          DUKE                         CA     90014870591
7B86924773168B   OLEGARIO     MERAZ                        KS     22070932477
7B86924825B59B   SHERRY       NELSON                       NM     90007752482
7B86973877B477   DAVID        HIX                          NC     90010457387
7B869742993739   KYLE         COOPER                       OH     90012167429
7B869839636182   MARTIN       HERRERA                      TX     73566008396
7B86B185484322   JOSE         AGUILAR                      SC     90010221854
7B86B19874B572   RIDA         FORD                         OK     90008881987
7B86B527633698   SHAKETHA     BARNARD                      NC     90008835276
7B86B832A9153B   LUIS         HERNANDEZ                    TX     75066628320
7B871112255931   MARIO        HERRERA                      CA     90014851122
7B871562377524   ROBERTA      BYRD                         NV     90014065623
7B871736A5132B   MAKIBA       BROWN                        OH     90013237360
7B8718A3255931   SIA          LEE                          CA     90004088032
7B871915836182   VERONICA     TREJO                        TX     90005649158
7B87211678B168   MICHAEL      SWAFFORD                     UT     31043921167
7B872126986433   HYLAND       GRESHAM                      SC     90013401269
7B872153372B44   BELLANILI    ESCOBAR                      CO     90005391533
7B87266358593B   ELVIN        VELASQUEZ                    KY     90009846635
7B872991551348   TARA         KHATIWADA                    OH     90013959915
7B873138757157   MACARIO      AREUETA                      VA     90014751387
7B87319398B168   KOLBY        BARNETT                      UT     90003541939
7B87346A693736   LYNDELL      JONES                        OH     90009154606
7B873756A72B32   MONICA       WAITE                        CO     90014727560
7B873843333698   RON          JARRELL                      NC     12003918433
7B873856172479   THOMAS       TIPPINS JR                   PA     51050118561
7B873A8568B168   RODRIGO      IZQUIERDO                    UT     90014400856
7B87415A491991   FELIX        DE LA CRUZ                   NC     17014511504
7B87419A68B142   MARICIA      SAFEEK                       UT     90014501906
7B87422474B572   REGINO       VASQUEZ                      OK     90014172247
7B874233172441   RAYMOND      BARKER                       PA     51011122331
7B874239393736   JESSICA      BELCHER                      OH     64572692393
7B87442859154B   JESSICA      WENDORFF                     TX     90004214285
7B87447368B168   FRANCISCA    AMBRIZ                       UT     31056204736
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1073 of 2350


7B874676927B98   AMBER              REEVES                 KY     90014576769
7B87487228B134   JONATHAN           KRUEGER                UT     90011918722
7B874875491941   TORIKA             MOORE                  NC     90010048754
7B8748A9541237   DEBRA              MOLINARI               PA     90013028095
7B87521853168B   JESUS              MENDEZ                 KS     90002622185
7B8753A3733699   CLAY               BRYAN                  NC     90014883037
7B875781A77524   TRAVIS             LYBARGER               NV     43016377810
7B876122172421   HEATHER            WARD                   PA     51067571221
7B876756455966   ELENA              GARZA                  CA     90014607564
7B877217951348   APRIEL             PARRISH                OH     90011152179
7B87743A55B174   LISA               STOTT                  AR     90013474305
7B877481A33698   MARTHA             RUBIO                  NC     90012224810
7B8774A6141237   PHARAOH            GONDER                 PA     90012834061
7B8774A768593B   JOSH               GOINS                  KY     90014724076
7B877631771921   DORA               KING                   CO     90011936317
7B877852972479   DARLENE            WINGFIELD              PA     51093538529
7B877965A31432   ANNITRYA           DAVIS                  MO     90012269650
7B87819398B142   KOLBY              BARNETT                UT     90003541939
7B878342572441   JODESSA            KIRKLAND               PA     51072083425
7B87842395B59B   RUSTY              WOOD                   NM     90008204239
7B878581421759   BRAD               HOOKS                  IL     90011095814
7B878751727B98   EBONY              BUSSELL                KY     90013467517
7B87884395B125   MARSHA             MCKINLEY               AR     90009798439
7B878878772B29   JOHN               CURRY                  CO     33051228787
7B878955655947   TXIA               XIONG                  CA     90006119556
7B878A83641253   BARBARA            ASKERNEESE             PA     90001230836
7B879511933699   JAMIKA             PEAKE                  NC     90013595119
7B879516884322   MARIELA            OLGUIBN                SC     14522545168
7B879822581633   TAMMY              PETERS                 MO     29090908225
7B879974827B98   AMINAH             EYIOWUAWI              KY     90014099748
7B879A46493736   RANDALL            STRONG                 OH     64595790464
7B87B76A28B142   KJERSTIE           RUSSELL                UT     90014357602
7B87B772791531   LILI               CAMACHO                TX     75044677727
7B87B938593736   CHELSEA            WRIGHT                 OH     90008389385
7B87B978155931   DIANA              CUEVAS                 CA     90014959781
7B8821A623168B   YESENIA            ARELLANO               KS     90011951062
7B88256395B59B   CECILIA            SALAS-GONZALEZ         NM     90013045639
7B882686255966   DANIEL             RUVALCABA              CA     90013096862
7B882AA4657157   HAIDER             AL SHUJGIRI            VA     90012080046
7B88313A89154B   YOHANNA            BECERRA                TX     75047201308
7B88324364B553   BECKY              HENDERSON              OK     90014472436
7B883457493767   TYRA               BONNER                 OH     90013374574
7B88427985B356   MELANIE-DANIELLE   OLIVARES               OR     90006532798
7B8842A792B994   ELYSE              GITTENS                CA     90013972079
7B884581233699   CHRISTIN           EVANS                  NC     90013685812
7B88512AA55931   DAVID              RAMOS                  CA     90014851200
7B8852A3855947   OMAR               GARCIA                 CA     49070522038
7B885335172479   BELINDA            MILLIGAN               PA     51063153351
7B885351693739   RUSSELL            MINGER                 OH     64578373516
7B885498A71921   JOSEPH             EYGABROAD              CO     90010154980
7B88585815B169   ADAM               ERBACH                 AR     23015878581
7B8859A895B596   GRACE              LUCERO                 NM     90004369089
7B885AA5172B44   MICHAEL            COLDMAN                CO     90001030051
7B88628873168B   TOU                VANG                   KS     90013012887
7B88665158B168   CURTIS             MAUPIN                 UT     90009906515
7B886738472479   TOBY A             WEIMER                 PA     90012277384
7B886841741227   JOSEPH             MRZLACK                PA     51091228417
7B88723368B168   SEAN               FERNANDEZ              UT     31048032336
7B887891727B98   JOHN               MATLOCK                KY     90010208917
7B88789A22B271   MATTHEW            MACK                   DC     90011508902
7B887A19993736   DAVID              WEST                   OH     64559200199
7B887A69333698   PAULETTE           ADAMS                  NC     12036210693
7B888157472B44   BRENDA             GONSALEZ               CO     90011221574
7B888682A71921   JAIME              RODRIGEZ               CO     32013156820
7B88879288B157   MARIA              SALAS LUNA             UT     90013207928
7B88888448B157   THOMAS             MODERNO                UT     31041718844
7B889177641237   ELOUISE            CARTER                 PA     90000851776
7B889589972B44   LARRY              OSBORNE                CO     90006375899
7B88965494B993   LAYLA              SALVAREZZA             TX     90014436549
7B889A91333698   DELPHIA            JACKSON                NC     90002050913
7B88B47813168B   DAVID              LESLIE                 KS     22073514781
7B88B879181633   CARL               METZ                   MO     90008758791
7B88B96885B384   SAUL               CHAIREZ                OR     90003929688
7B891132391548   ELIZABETH          NUNEZ                  TX     90009451323
7B89134298B134   VICTORINA          HERNANDEZ              UT     90012743429
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1074 of 2350


7B891544172B44   CRISSY       BABB                         CO     33009815441
7B89162825B151   LISA         JOHNSON                      AR     23081586282
7B891747231432   CORY         WILLIAM                      MO     90015237472
7B891859177524   PATRICIA     MONTES                       NV     90010378591
7B892366171921   TAUNYA       STITES                       CO     90001653661
7B89241659154B   CARLOS       VARGAS                       TX     90011184165
7B89247667B477   JERRY        KERNS                        NC     90014834766
7B892589631433   VANESSILLA   HENDERSON                    MO     27557295896
7B8926A4693726   CARONICA     LOYD                         OH     90011806046
7B892758657157   GAMIL        MOSLEH                       VA     90013017586
7B89278245B59B   SIERRA       DELEON                       NM     90011947824
7B892846827B98   LENATHAN     GEE                          KY     90014938468
7B8932A6481633   SHEILA       CROWELL                      MO     90001882064
7B893537371921   ISIDRO       GONZALEZ                     CO     90014965373
7B893589984322   SALVADOR     HERNANDEZ                    SC     90009445899
7B89364362B994   SOTERO       GONZALEZ                     CA     90010336436
7B89372895B596   ROBERT       TORRES                       NM     35077677289
7B893A31293739   CHRISSHAE    DIGGS                        OH     90014160312
7B89476648B134   ANA          SOTO                         UT     90002527664
7B89495665B59B   AMY          SERRANO                      NM     35088629566
7B89497A541253   THEODORE     BROADUS                      PA     90005149705
7B895211291993   KYM          MOSLEY                       NC     90011082112
7B89539954B572   CAMERUN      SAMUELS                      OK     90014483995
7B895482341227   SULEMAN      CHAPMAN                      PA     90010344823
7B895486255966   KAYLA        HAMILTON                     CA     48002564862
7B89569358B168   AMANDA       CASPER                       UT     90014686935
7B8957A6355931   FABIOLA      MOZQUEDA                     CA     90014967063
7B895A3375B921   DARREN       GREER                        WA     90012510337
7B89624878593B   KATHERINE    DEAN                         KY     90015162487
7B89653882B29B   REYELLE      TOLSON                       DC     90008335388
7B89677579154B   JOE          VALLES                       TX     90014627757
7B897329141227   HARI         KAFLE                        PA     90004003291
7B89737619154B   JOSE         IBARRA                       TX     75080253761
7B89789568B134   MEGAN        BELLAMY                      UT     90015318956
7B897942555966   AUDRA        JAURIGUI                     CA     90001319425
7B897AA975B596   DEBRA        MCMAHAN                      NM     90002070097
7B89836A58593B   MEGAN        RAY                          KY     90011103605
7B898744231432   IESHA        BARNETT                      MO     90010907442
7B8988AA257157   JOSE         ARGUETA                      VA     90003168002
7B898951A72441   SHEILA       SMITH                        PA     51050419510
7B898A2A976B87   MINERVA      RAMIREZ                      CA     90004630209
7B899134333698   ARMANDO      AVERY                        NC     90013721343
7B89915934B572   FAWN         BAINTER                      OK     90008651593
7B899337A81633   ERICA        SIGALA                       KS     90013273370
7B89941423168B   DANIEL       MCPHERSON                    KS     22077354142
7B89973935B59B   NICOLETTE    RHODES                       NM     35000427393
7B89989A472479   JONATHAN     KRAVETS                      PA     51053178904
7B899955991572   ENRIQUE      FLORES                       TX     90011839559
7B899995231432   BEAUTY       TINYAN                       MO     90013769952
7B89B61A68B168   MARTIN       TINOCO                       UT     90013826106
7B89B93949154B   IVANA        ROCHA                        TX     90003529394
7B89B95579154B   MESTA        PATTY                        TX     90011549557
7B8B118648B142   ANA          REYES                        UT     90011901864
7B8B1768333698   TIERRA       SMITH                        NC     12033317683
7B8B1916884322   CAMO         LOPEZ                        SC     90013929168
7B8B1937591939   ARTURO       ALVAREZ                      NC     17075459375
7B8B1A56993739   RAY          WILLIAMS                     OH     90011480569
7B8B239757B477   BARUTI       BAZENGA                      NC     11018133975
7B8B291AA91252   DWAYNE       BEAMON                       GA     90012609100
7B8B3414991991   MARITHE      KANDE                        NC     90009284149
7B8B399529153B   EMILY        OLIVAS                       TX     90008359952
7B8B4199541227   NONA         PULLEN                       PA     51056411995
7B8B4364255966   MARIA        ATAIDE                       CA     90014443642
7B8B464A531432   ASHANTI      MULLENS                      MO     90013936405
7B8B472195B59B   EDELINA      MANDONADO                    NM     35078757219
7B8B481863B325   ERIC         GRIMM                        CO     90008748186
7B8B492A272479   JASON        REDDINGER                    PA     90007839202
7B8B4972372B44   BARBARA      MYERS                        CO     90002839723
7B8B5191991991   ERICK        RODRIGUEZ                    NC     90007031919
7B8B5657731443   ADAM         JONES                        MO     27585886577
7B8B5672472479   RASHEEM      BLAKEY                       PA     90012626724
7B8B5737957157   JAIME        MARTINEZ                     VA     81020097379
7B8B614398B163   ASHLEY       MCVAY                        UT     90013931439
7B8B6214A55947   YANETH       RAMIREZ                      CA     90012772140
7B8B6469472B32   BILLIE       HAYNES                       CO     90015084694
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1075 of 2350


7B8B6723771921   RICHARD         NUTTALL                   CO     90007607237
7B8B692A772441   REBECCA         REDMOND                   PA     51090779207
7B8B7183393736   DAVID           POTTER                    OH     64527351833
7B8B7683655966   REBECCA         FRAUSTO                   CA     90013096836
7B8B7712931432   LINDIE          REYNOLDS                  MO     90015237129
7B8B7721641253   DAWNAROW        SIMMONS                   PA     90009587216
7B8B7975372B44   HEATH           COOK                      CO     33088909753
7B8B8238457157   MICHAEL         RAMIREZ                   VA     90014552384
7B8B844A172B32   FERMIN          HERNANDEZ                 CO     33016204401
7B8B8554941237   NANCY           JOHNSTON                  PA     51084685549
7B8B858A88B163   PEDRO           MARTINEZ                  UT     90002145808
7B8B85A6327B98   DONNA           DANIEL                    KY     90011715063
7B8B876578B134   ROBERT          PUIG                      UT     90013937657
7B8B8855655931   ENRIQUE         VEGA                      CA     49001698556
7B8B886279154B   JORGE           SANTOYO                   TX     75085928627
7B8B9152872441   JOSH            MCPHERSON                 PA     90006151528
7B8B91A2191939   DANIEL          TANNER                    NC     17001751021
7B8B9273372B44   JENNY           CORRAL LOYAL              CO     90006992733
7B8B962658B157   MICHAEL         HAVENS                    UT     90000526265
7B8B987A42B271   BINTA           DIENE                     DC     90008338704
7B8BB417193739   MICHELLE        COLEMAN                   OH     64578554171
7B8BB53168B163   ANDREW          GROUGAN                   UT     90011375316
7B8BB551241237   JEFFREY         THOMAS                    PA     90012935512
7B8BB647991993   NATELL          GREEN                     NC     17060816479
7B8BB773471921   AIMEE           GONZALES                  CO     32046777734
7B8BB85652B994   BERTHA MACIEL   TORRES                    CA     90013008565
7B8BB896372441   DAVE            LENTZ                     PA     51008408963
7B8BB8A6277524   LUCILA          CARDENAS                  NV     90011798062
7B91142928B168   BROOKE          ORFANIDIS                 UT     90012694292
7B911529172479   LISA            LUCAS                     PA     51034075291
7B91162588593B   WILLIAM         BARRETT                   KY     66027956258
7B911AA835B384   LIANA           GOMEZ                     OR     44516020083
7B912449277524   DAVID           NELSON                    NV     90011644492
7B912653472B32   SCOTT           PESSEL                    CO     33029326534
7B9128A8554133   JUSTIN          ANDERSON                  OR     90012398085
7B9129A9472B29   MARISELA        VILLARREAL                CO     33054839094
7B913512893736   ANGELA          ELLIS                     OH     90004385128
7B91371473B358   MIGUEL          FUENTES                   CO     90002067147
7B913761657157   SHIMA           AZADTAZANGI               VA     81043827616
7B913891155947   RENE            LEDESMA                   CA     90009018911
7B914286672B29   WESLEY          NICHOLSON                 CO     90011952866
7B91467378593B   CHARLES         RHODES                    KY     90009636737
7B915279A2B891   MWAJUMA         JOLIE                     ID     90011962790
7B91536A58593B   MEGAN           RAY                       KY     90011103605
7B915744184322   DIANA           BOCCELLA                  SC     14595537441
7B915788391321   EVA             BETTE                     KS     90003287883
7B91591AA8B168   RANDY           BERGMAN                   UT     31001469100
7B91599382B271   MYNOR           VASQUES                   VA     90011039938
7B916494333699   JEFFREY         NELSON                    NC     90013094943
7B916621193736   BRADLEY         DOWNEY                    OH     64566866211
7B916726A55966   BEATRIZ         OLGUIN                    CA     90013097260
7B916779351348   JAMES           MEIGS                     OH     90005907793
7B916814781633   DARRYL          LAYTHAM                   MO     90013118147
7B91693762B994   PAYGO           IVR ACTIVATION            CA     90014929376
7B91718AA5B59B   RAFAEL          BUSTILLOS                 NM     90010821800
7B917691333699   CHARMAINE       MUHAMMAD                  NC     90014546913
7B917695897B23   ABEL            MERCADO                   CO     90011416958
7B917825A8B134   CHRIS           ONEAL                     UT     90013938250
7B91794A38B142   JENNICA         TREVORT                   UT     90012189403
7B9182A2255931   DANIEL          AMEY                      CA     90014972022
7B918697441237   MARY ANN        WALKER                    PA     51045966974
7B9192A9251347   GARY            BLANKENSHIP               OH     90011982092
7B91951548593B   CONSTANCE       MCAFEE                    KY     90014535154
7B91B37868B168   DUSTY           DESPAIN                   UT     31023853786
7B91B622593736   APRIL           ORR                       OH     90013386225
7B91B796533698   PEDRO           JUAREZ-GALVEZ             NC     90015397965
7B91B96289154B   GENARA          ALQUISIRA                 TX     90002289628
7B921113227B98   SEAN            JONES                     KY     90013231132
7B921142177524   HUGO            MURGUIA                   NV     43017201421
7B92125414B572   LUCAS           ODOM                      OK     90008652541
7B9213A472B994   DEBORAH         DAUTRUCH                  CA     45008043047
7B921758941227   NICOLE          RESTIRERI                 PA     90011537589
7B921946272441   LATONYA         COOPER                    PA     51045719462
7B92199493B372   BLAKE           STINE                     CO     90002639949
7B922218972B44   JESUS           GARCIA                    CO     33053692189
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1076 of 2350


7B922421A91588   LUIS         CORRAL                       TX     90008934210
7B9226A163168B   DARLENE      SINGLETON                    KS     90012286016
7B922A29641253   LAURYN       MOCKRIDGE                    PA     90012760296
7B922A76781633   SANDRA       CAMPOS                       MO     90005630767
7B923557581633   TAMU         WHITLEY                      MO     29013295575
7B92387379154B   JULIO        LUMBRERAS                    TX     90014818737
7B9238A1372479   DAVID        ANDRAKO                      PA     51014258013
7B923A3742B994   DELMAR       MARSH                        CA     90013990374
7B92415199154B   STEPHANIE    CORTAZAR                     TX     90008721519
7B9241A623168B   YESENIA      ARELLANO                     KS     90011951062
7B92456417B477   KEVIN        SAMAGAIO                     NC     90010665641
7B924667233699   SALOMON      GARCIA                       NC     12087546672
7B924677593736   DAWN         ASHLEY                       OH     90009876775
7B9248A113168B   JERICHO      KOCSIS                       KS     90014238011
7B924929672B29   JOHN         GREGORY                      CO     33065859296
7B924A8A672B32   WAYNE        DOWST                        CO     33090570806
7B925377A72421   JESSICA      RAE                          PA     51006773770
7B92537958B163   JIMMY        DANIELS                      UT     90014273795
7B92547AA81534   GUADALUPE    MARTINEZ                     IL     90014764700
7B925612672441   SHANELL      HENRY                        PA     51083466126
7B92572945B169   RAQUEL       DYKES                        AR     23091137294
7B92573A677524   TANYA        GULLATT                      NV     43017207306
7B925919827B98   PAYGO        IVR ACTIVATION               KY     90014939198
7B926137141253   ROCHELLE     STEPHENSON                   PA     90007621371
7B926452A81633   BRITTINI     HUDSON                       MO     90010964520
7B92647442B271   ALFREDA      TATE                         NC     81012214744
7B926726372479   SEAN         OBRIEN                       PA     51033237263
7B92675A34B572   LATISHA      GLOVER                       OK     90011117503
7B92687449154B   LORENZO      GOMEZ                        TX     90014818744
7B927219855947   IRMA         RAMIREZ                      CA     90012972198
7B92724A672B32   TRINO        MARTINEZ                     CO     33021062406
7B92757A572B44   IVAN         GUERRERO                     CO     33086695705
7B92759233168B   MARCELLA     HANSEN                       KS     90012025923
7B929176271921   DIAS         BRANDON                      CO     90011321762
7B929AA1633698   PORCHE       WATERS                       NC     90009330016
7B92B86359154B   CRYSTAL      RANGEL                       TX     90014818635
7B9311A3851348   NICHOLAS     SANTIAGO                     OH     66035121038
7B93126575B59B   ANA          HERNANDEZ                    NM     90008882657
7B931295191549   ANGELICA     MARTINEZ                     TX     90012872951
7B931314727B98   TERESA       TRAUGHBER                    KY     90011453147
7B93161353168B   RONALD       GOENS                        KS     90009396135
7B931A3388B157   TRACI        ALDERMAN                     UT     31009510338
7B93218878B157   CARNIA       AVALOS                       UT     90015331887
7B93271A533699   ANGELICA     TREJOP                       NC     90012397105
7B932731577524   MICHELE      DOMITER                      NV     43059597315
7B93274175B596   JULIO        ORTIZ                        NM     35058297417
7B932911271921   JUAN         RODRIGUEZ                    CO     90014309112
7B933231893726   RYAN         DYER                         OH     90012072318
7B93326618B163   JAMI         WHARTON                      UT     90009042661
7B933427872441   STEFANIE     SHAKESPEARE                  PA     90004344278
7B933475177524   LUNA         JACINTO                      NV     90011644751
7B9337A293168B   TAGEN        BRYANT                       KS     90008547029
7B9339A9893726   RYAN         DYER                         OH     90011009098
7B9341A3872B93   STEVE        LAPOINTE                     CO     33070121038
7B934747757157   JUAN         FLORES                       VA     90012507477
7B93497429154B   DINORAH      SOTO-MORALES                 TX     90011549742
7B934A37A84322   DETRA        GREEN                        SC     90014570370
7B935563493739   JACK         SKEANS                       OH     90012055634
7B935722272421   KHRISTINE    KUNKLE                       PA     90013837222
7B935897A55966   DELIA        SANTIAGO                     CA     48016988970
7B93644528B163   TENNILLE     STEVENSON                    UT     90012794452
7B93689728B134   ZACHARY      MOORE                        UT     90013938972
7B9372A2893739   KIMBERLY     TACKETT                      OH     90008942028
7B937529551348   CHRISTINA    BOULDIN                      OH     90014855295
7B93775A94B572   BRITTANY     HENSLEY                      OK     90011117509
7B93783118593B   JEFF         BECHTOL                      KY     66099408311
7B937941351348   CORNELIUS    LEWIS                        OH     90013949413
7B937A88455977   MONALISSA    TORRES                       CA     90013840884
7B93832937B473   KAMAL        HALAWANI                     NC     90010763293
7B938351972421   ERICK        SHAPIOLA                     PA     90002993519
7B938419372B29   MARIA        ORTEGA                       CO     33001134193
7B938546777343   LIZMARY      RODRIGUEZ                    IL     90015595467
7B93855967B477   CHIQUITA     MCCRORY                      NC     90008595596
7B938A6433B39B   MARIO        MENDEZ                       CO     90013510643
7B938A6728B163   MERCEDES     HALSANA                      UT     90014730672
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1077 of 2350


7B93937168593B   JOHN                     SIMPSON           KY    90011923716
7B939717484322   RONNIE                   OSGOOD            SC    90013587174
7B93998A38B157   CHELESE                  PICKERING         UT    31014449803
7B93B31612B994   LISA                     COLEMAN           CA    90011283161
7B93B514727B98   SHELIA                   GREEN             KY    90014195147
7B93B533133699   GREGORIA                 MEDINA            NC    90012055331
7B93B868533698   HASON                    ALFORD            NC    90009548685
7B941224A51348   SMANTHA JOAN ELIZABETH   CHEEK             OH    90013682240
7B9415A488593B   ANTHONY                  WAGNER            KY    90014125048
7B941A75133698   KIRSHAWN                 BOWE              NC    12077630751
7B942536993726   DAWN                     BROWN             OH    64560715369
7B943487A57157   MARY                     ALLEN             VA    90006644870
7B94363AA61941   ROBERTO                  CURIEL            CA    46074136300
7B94385173168B   MINDY                    BOSLEY            KS    90014638517
7B94392A955966   JONATHAN                 BROWN             CA    90011729209
7B94443628B142   TAWNYA                   ATKISSON          UT    31003544362
7B944A63A31432   MARK                     BINGESSER         MO    90012610630
7B9453A1A7B48B   ROBIN                    WILLIAMS          NC    90013583010
7B9455A184B572   YVONNE                   HOLLOWAYLOCKE     OK    90010255018
7B9457A7841237   STEPHEN                  NEAL              PA    90012127078
7B945A66672B44   ROSA                     MORALES           CO    90000800666
7B94616788B142   BRYCE                    DODGE             UT    90013591678
7B946515A8B168   BEN                      UNGUREN           UT    31087045150
7B946531681633   SYLVIA                   SERRATO           MO    29058525316
7B946994172479   TAMMY                    DAVIS             PA    51074689941
7B946A8235B384   DAVID                    KIDD              OR    90002070823
7B94763A991991   CALVIN                   MONDELE           NC    90013936309
7B947A77951348   ANGELA                   BIERMAN           OH    90012540779
7B9483A6772B29   ELIZABETH                GALLEGOS          CO    90012883067
7B94849358B142   JOSHUA                   ALLEN-PARRY       UT    90010434935
7B948543A8B168   KAT                      GUERNSEY          UT    90013065430
7B948795A93736   DEANGELO                 BYRD              OH    64502757950
7B948812555931   SAENGKAEW                PHOMPONG          CA    90013588125
7B94916464B572   JULIE                    PARKER            OK    21527831646
7B949317491991   APRIL                    TAYLOR            NC    90013223174
7B94945615B169   MIMI                     LELAND            AR    23089504561
7B949764A5B356   ALEX                     KUZMIN            OR    90000597640
7B94B286A72B32   CURTIS                   ALDRIDGE          CO    33019372860
7B94B385A57157   CARMEN                   MORAN             VA    90013563850
7B94B636733699   CRYSTAL                  LANGFORD          NC    12016816367
7B95134762B994   LUIS                     VILLAFAN          CA    90003813476
7B9513A3572B44   ARTURO                   SANCHEZ CAMACHO   CO    90000543035
7B95166A884322   RINA                     ESCOBER           SC    90013796608
7B95167A69154B   JORGE                    GUAJARDO          TX    75041186706
7B951835771921   AMANDA                   MEYER             CO    90012788357
7B951A75451348   JESSICA                  THATCHER          OH    90013060754
7B95217A581633   GLENDA                   HOWERTON          MO    90014711705
7B952726141253   DAVID                    KUKULKA           PA    90014077261
7B95274598B134   TRACEY                   WOOTTON           UT    31040617459
7B953317231432   JANINE                   MASSEY            MO    27598773172
7B953492981643   CHAUNTAE                 SMITH             MO    90011114929
7B953572672B83   MONA                     SABRE             CO    33080395726
7B953691171921   JOSE                     GODINEZ           CO    32062746911
7B954229691991   JORGE                    CARMONA           NC    90011282296
7B954247755947   MARISOL                  GOMEZ             CA    90013562477
7B954452755966   CLAUDIA                  GONZALEZ          CA    90014054527
7B954582893739   LARONDA                  SIMON             OH    90013555828
7B95469758B157   MATTHEW                  ASHBY             UT    90008126975
7B954758357157   NOHEMY                   RIVERA            VA    90001157583
7B954884372441   DARRYL                   HARDY             PA    51032678843
7B955128371921   JESUS                    SANCHEZ           CO    90014651283
7B95523998593B   DAVID                    CHAMBERLIN        KY    90012862399
7B955513293736   RACHELLE                 JACKSON           OH    90014835132
7B955784881633   RONALD                   HUGUNIN JR        MO    90014857848
7B956512A27B98   MICHAEL                  MERRITT           KY    90013285120
7B95687858B142   MANUEL                   VEGA              UT    90015198785
7B956936781633   CLEMON                   BRASS             MO    90008299367
7B957171591566   BENJAMIN                 SEND              TX    75071721715
7B95718A871921   HOLLY                    RUSSELL           CO    90013241808
7B9576A395B59B   SANDRA                   COLONGA           NM    90012226039
7B95793A577524   KEVIN                    BARNES            NV    90000309305
7B958359841227   BIG                      BOII              PA    90014913598
7B95864319154B   ELIZABETH                CASTRO            TX    75077906431
7B959171672479   MARY                     FISTER-KINNEY     PA    90010051716
7B959615557157   CARLOS                   RAUDA             VA    90003176155
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1078 of 2350


7B959AA5A57157   EDGAR          LOPEZ                      VA     90012430050
7B95B546487B26   TINA           SLACK                      AR     90011575464
7B95B67A69154B   JORGE          GUAJARDO                   TX     75041186706
7B95B819A5B375   ELSA           LEWIS                      OR     90011868190
7B96115AA2B994   JOHN           PRICHARD                   CA     45018461500
7B96118639154B   MAYRA          HERNANDEZ                  TX     75088321863
7B96211687B477   EARTHA         CUNNINGHAM                 NC     90006881168
7B96222284782B   CHARLOTTE      PERKINS                    GA     90003832228
7B962259672421   BRIAN          CRIVELLA                   PA     90009282596
7B96244A976B8B   WILLIAM        LARSEN                     CA     90006184409
7B962548572479   KARA           PRENTICE                   PA     90012255485
7B962593193739   THOMAS         SAMANTHA                   OH     64533625931
7B96274124B572   STEPHEN        MASKERINES                 OK     90015017412
7B962833784322   DANIEL         VEGA                       SC     90012758337
7B962897961971   ROSE           MONTANO                    CA     90011428979
7B962988433699   NORTON         BARNHILL                   NC     90011409884
7B962A2A772441   EDWARD         SCHINKE JR                 PA     51073260207
7B963152741253   ASHLEY         HOXVOWKE                   PA     90015011527
7B963196A72441   JAMES          KOHL                       PA     51002791960
7B963344357531   JOHNNA         LANCE                      NM     90014143443
7B9633A3872B44   SOCORRO        AGUILAR                    CO     33010973038
7B96357442B271   RONALD         FERREIRA                   DC     90005545744
7B963796A55931   CARL           DREW                       CA     90002027960
7B963827A8593B   MELISSA        PEYTON                     OH     90015478270
7B964267255947   GOERGE         HUERTA                     CA     90015202672
7B964394872441   BRANDON        ARCHER                     PA     90011113948
7B964957727B98   RICHARD        RASCOE                     KY     90013289577
7B964A57136182   ERIKA          MAHAN                      TX     90006200571
7B96531655B384   JACQUE         DOMINGEZ                   OR     90003863165
7B965363471921   LUCIA          GORDILLO                   CO     32064543634
7B96541914B572   TRACY          DUNFORD MCCALL             OK     90012004191
7B965448A27B98   ANGELA         MATLOCK                    KY     90010894480
7B9656A1933699   LOVELLE        CUFFEE                     NC     90007816019
7B9656A688B157   AURELIO        GALATA                     UT     90014036068
7B96585349154B   IRIS           TRUJILLO                   TX     90014968534
7B965928572B29   ALYSSA         JUONI                      CO     90010289285
7B965A42381633   CRYSTAL        PORTER                     MO     90012000423
7B966165372B29   LINDSEY        LARREAU                    CO     90015491653
7B966489A55947   ELENA          MECEDA                     CA     49007864890
7B96689289154B   RON            MURPHY                     TX     90014818928
7B96741528B142   DANNIELLE      HUFF                       UT     90009954152
7B96771889154B   ANGEL          AMADOR                     TX     75006437188
7B967866157133   BERHANE        BERAKI                     VA     90000918661
7B9679A578B163   KEVIN          RHODES                     UT     90006589057
7B968337151348   WAYNE          ONEAL JR                   OH     66005883371
7B968586527B98   AMANDA         HANCOCK                    KY     90015065865
7B968727A4B572   MIGUEL         VASQUEZ                    OK     90008657270
7B969394872441   BRANDON        ARCHER                     PA     90011113948
7B9694A468B134   RAQUEL         ESPINOZA                   UT     90013984046
7B969827272421   DAWN           SOPHER                     PA     90008208272
7B96991A155966   SUMMER         GARCIA                     CA     90013099101
7B96B3A798593B   TABATHA        NICHOLS                    KY     90010893079
7B96B427A81255   CRYSTAL        BRANDON                    KY     90007374270
7B96B863927B98   JENNIFER       HARRIS                     KY     90013288639
7B97132928B163   LUIS ALBERTO   NAMUCHE                    UT     90012213292
7B971376891991   MYRON          RICHARD                    NC     90010873768
7B97151A65B356   KATY           TORRES                     OR     90009065106
7B97158987B335   OMEDLIN        SARCENO                    VA     90000635898
7B97159685B59B   MELISSA        ROSA                       NM     90003595968
7B97188517B477   KAREN          PINEDA                     NC     90014558851
7B97214A857157   MARIA          ALCAZAR                    VA     90005711408
7B972259172B32   ELVIRA         BONILLA-VIDALES            CO     33028132591
7B972739672479   ENRIQUE        RENDON                     PA     90010417396
7B972799341253   MICHELLE       MAGYAR                     PA     51091577993
7B972AA318B163   MILDRED        HOLLIDAY                   UT     31003540031
7B97359918B163   PEDRO          FLORES                     UT     90008105991
7B973639457157   JULIO          DIAZ                       VA     90011966394
7B973643684322   CLAUDIA        FLORES                     SC     90006796436
7B973887A7B477   SONYA          MORGAN                     NC     90013478870
7B973952451348   WALTER J       DIEHL                      OH     90013949524
7B973A47781633   ALEX           WATTSON                    KS     90000140477
7B97421345B384   CYNTHIA        JORDAN                     OR     90005232134
7B97422762B271   JHENY          POWELL                     VA     81063192276
7B97432148593B   CHAN           LING                       KY     90011513214
7B974371791991   AALLYSON       THORPE                     NC     90006863717
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1079 of 2350


7B974381576B87   MARIA             AGUILAR                 CA     90001053815
7B974585A41237   ANN               KRESS                   PA     90011195850
7B97465965138B   MICHAEL           WYMER                   OH     66012726596
7B97474188593B   JOSHUA            SCULLY                  KY     90014767418
7B97487A15B59B   HECTOR            LOPEZ                   NM     90013158701
7B9749A128B134   OBOLA             A LERO                  UT     90013939012
7B975621357157   ALEXIS            HOOD                    DC     90014816213
7B975777693736   KATRINA           CARTWRIGHT              OH     90015107776
7B975819255947   ROCIO             CHAVEZ DE AVALOS        CA     90008558192
7B975A5A391939   ALEXUS            ALEXANDER               NC     90003150503
7B976242A5B169   BRANDON           ROSS                    AR     90002152420
7B976584191252   EUGENIE           CHARLES                 GA     90005255841
7B976927A5B356   ANA LUCIA         ZUNIGA MARIN            OR     90000609270
7B977126393736   LESLIE            SIMPSON                 OH     90010541263
7B97718527B477   MARIA DEL PILAR   BARRERA PONCE           NC     90014151852
7B977726991939   SANTOS            MACHADO                 NC     17067947269
7B977927A77524   AMY               DELACRUZ                NV     90003299270
7B978492184322   EVAN              SANCHEZ                 SC     90014464921
7B978A72236182   PATSY             MARTINEZ                TX     90010580722
7B978A78693739   STEPHANIE         HARRISON                OH     90008880786
7B979291193726   INDIA             TAYLOR                  OH     90006382911
7B979546355947   WYMAN             JOLLIFF                 CA     90014525463
7B979797971921   JOSEPH            MAZZA                   CO     32009167979
7B97991482B271   CHERISH           JOHNSON                 DC     90013689148
7B97B24A472421   SUMMER            FORSYTHE                PA     90000592404
7B97B386141253   PATRICIA          HOWARD                  PA     51009923861
7B97B469A91991   DANETTE           LOCKETT                 NC     90010234690
7B97B73978B157   ALVA              AMADOR-OLVERA           UT     90011437397
7B97B981772B32   FERNANDO          GARCIA                  CO     90013759817
7B97BAA8686435   RUPERTO           TREJO                   SC     90015350086
7B981215484322   OLGA              MARTHA HERNANDEZ        SC     14536132154
7B98145397B398   JAIME             ROBINSON                DC     81072784539
7B981548181633   TOMMIE            BELKE                   MO     29061385481
7B9818A9977524   JOSE              MORENO-RIVERA           NV     90010138099
7B981946855931   SANDRA            RUELAS                  CA     90013389468
7B98246199154B   LETICIA           PRECIADO                TX     75063774619
7B982659A31432   JENNIFER          MAECHLING               MO     27554626590
7B982866693739   ANGEL             POWELL                  OH     64548448666
7B9832A9793736   DYMOND            THOMAS                  OH     90012612097
7B983345A51348   RONALD            SEBASTIAN               OH     66038183450
7B983A89255931   OLA               YARBROUGH               CA     90014860892
7B983AA3291586   ROGELIO           PALACIOS                TX     75077860032
7B98424119154B   ANTONIO           MACIAS                  TX     90014822411
7B984344441253   GUALBERTO         CARHUASLLA              PA     90006013444
7B984983731432   SYLVESTER         HUFFMAN                 MO     27557619837
7B98544785B596   VIRGINIA          MONTOYA                 NM     35020914478
7B985547755947   RAQUEL            HERNANDEZ               CA     90003635477
7B986124684322   LAURA             JEAN SALARZAR           SC     90011981246
7B986554191572   JAIME             ALVIDREZ                TX     90004995541
7B98677A84B572   MARILYN           ISOM                    OK     90014487708
7B986AA348593B   KIMBERLY          BRAVARD                 KY     90007130034
7B987198333699   CLORETTE          CAMPBELL                NC     90005881983
7B9873AA671935   JOHNATHON         MCMULLEN                CO     90008343006
7B98741A633698   ROBERT            BROWN                   NC     90010194106
7B987483571921   SAMANTHA          EVERS                   CO     90000164835
7B98782A98B168   KATHLEEN          ATWATER                 UT     90010778209
7B9879AAA72479   ANGLEA            KENT                    PA     90003789000
7B987A59355966   ALEJANDRO         AVALOS                  CA     90013100593
7B987A8A17B477   ROOSEVELT         BROOKS                  NC     90015330801
7B988167872B29   MORGAN            DELATORE                CO     90014931678
7B98821999154B   MARY              JOHNSON                 TX     90006962199
7B988298A72B32   MARCELLA          CARDOLA                 CO     33036632980
7B988433281643   DANTE             CARRELL                 MO     29075454332
7B988521857157   MARITZA           PEREZ                   VA     90010415218
7B9885A1893739   JAZMINE           GLENN                   OH     90013395018
7B989229A8B157   MISTY             ALIRES                  UT     31048952290
7B989443693726   LARONN            FLORENCE                OH     90009884436
7B989466172479   CHRISTOPHER       MANDERINO               PA     90003454661
7B989527357157   MORAL             MOREL                   VA     90003795273
7B989579293739   ROY               BLANTON JR              OH     64589865792
7B98991178B142   JOSH              MARCHBANKS              UT     90015209117
7B98B47258593B   ELIZABETH         SCHLENDER               KY     66008734725
7B98B881772B29   JOSE              CADENA                  CO     90010638817
7B98B997655947   JOSE              ARRUDA                  CA     90014839976
7B98BAA5693736   KATHY             PYLES                   OH     90012940056
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1080 of 2350


7B99112924B572   RAELEIGH     MADEWELL                     OK     90008001292
7B991682472B44   DARLENE      GONZALEZ                     CO     33000096824
7B9919A688593B   DAVID        TURNER                       KY     90005069068
7B99222528B163   ETIMONI      LATU                         UT     90011342252
7B99253695B384   YELENA       VYGOVSKAYA                   OR     90001435369
7B99268188B157   NATE         ADAMSON                      UT     90011306818
7B9927A1472B44   LORENZO      LUCIO                        CO     90006887014
7B992951471921   JOETTA       MARTINEZ                     CO     90011089514
7B993262427B98   JOESEPH      CHESTNUT                     KY     90011412624
7B993955451348   ASHLEY       ALCORN                       OH     66064199554
7B99424878593B   KATHERINE    DEAN                         KY     90015162487
7B99437835B169   JERRY        CARTER                       AR     23051293783
7B994391551348   BETHANY      COLE                         OH     90014713915
7B994653841253   SHARON       ZAPF                         PA     51076716538
7B994682772421   TARRAH       CIARIMBOLI                   PA     51078676827
7B9947A9A8B142   LORI         WILLIAMS                     UT     31029177090
7B994861841227   BERNADETTE   HASCH                        PA     51019208618
7B995124427B98   NICOLE       WILSON                       KY     90014971244
7B995713493739   SHAWN        MULVANEY                     OH     64535647134
7B995866155947   CASEY        ROS                          CA     49000318661
7B99596584B572   MARQ         BURTON                       OK     90008659658
7B995966551348   MARIAH       WILLIAMS                     OH     90013949665
7B996312451348   LESLIE       WEBB                         OH     90013303124
7B996434371921   ROBERT       SULLIVAN                     CO     32035124343
7B99644872B994   BEN          CLARK                        CA     45055244487
7B996493531432   CHERYL       LEE                          MO     90012774935
7B996534372B44   JOE          BELTRAN                      CO     90012645343
7B9966A163168B   DARLENE      SINGLETON                    KS     90012286016
7B99677A44B572   TOSHIBA      DAVIS                        OK     90011117704
7B996918841253   JOSHUA       SILLIMAN                     PA     90013579188
7B99698322B24B   JANICE       GORE                         DC     90009039832
7B997324331447   CHAKIRA      WILLIAMS                     MO     90000943243
7B998168155931   HARONERE     ARREOLA                      CA     90013591681
7B998366172B29   JON R        NEIMAN                       CO     90014153661
7B998435231432   KIRRA        PENTON                       MO     90007824352
7B99847A781633   TIFFANY      SMITH                        MO     29024504707
7B998843684322   ARMANDO      GUTIERREZ                    SC     90013518436
7B99899A633698   FNU          BYEH                         NC     90013489906
7B998A2698B157   MATERN       FRED ARTHUR                  UT     90003730269
7B999284293736   TINA         WALTERS                      OH     90010362842
7B999319827B98   STACY        SHOLAR                       KY     90015183198
7B999953641253   KEISHA       HARRISON                     PA     90014069536
7B999983651348   ANNETTE      DRISKELL                     OH     90013949836
7B99B411855947   JANEL        GONZALEZ                     CA     49055164118
7B99B452672479   PAM          CARSON                       PA     90005944526
7B99B4A644B945   EMILIO       VALDEZ                       TX     90011914064
7B99B58A927B98   SHEMMON      WILLIAM                      KY     90006065809
7B99B971871921   REBECCA      RAY                          CO     90014309718
7B9B1464551348   JAILE        ROARK                        OH     90014044645
7B9B1733193736   DEAN         BROWN                        OH     64509347331
7B9B185173168B   MINDY        BOSLEY                       KS     90014638517
7B9B217A455966   JAYME        TRUJILLO                     CA     90013091704
7B9B226AA8B157   JALLOW       SUKAINATOU                   UT     31011692600
7B9B2574541237   MICHAEL      DARPINO                      PA     51092275745
7B9B29A8A8B134   YALICCAA     LOPEZ                        UT     90015319080
7B9B2A74471921   MICHAEL      LOPEZ                        CO     32005460744
7B9B32A792B994   ELYSE        GITTENS                      CA     90013972079
7B9B32A8155947   PAPO         AYALA                        CA     90015122081
7B9B339883168B   HOLLY        ELMORE                       KS     90014823988
7B9B3452591252   TONY         HOLMES                       GA     90011764525
7B9B382893168B   KIMBERLY     TOWLES                       KS     22055548289
7B9B3842543424   TOMAS        RAMIREZ                      VA     90015508425
7B9B384A17B477   CLYDE        AUSTON                       NC     90011048401
7B9B3862333698   STEVEN       MUNDY                        NC     90014648623
7B9B392289154B   TONY         WILLOUGHBY                   TX     75005169228
7B9B398482B994   NECOLE       KING                         CA     90014879848
7B9B3AA7255947   KENNETH      STOGNER                      CA     90012890072
7B9B478624B572   ELIAS        ROJAS                        OK     90014157862
7B9B5334381633   MICHAELA     DANA                         MO     90014313343
7B9B5362472B29   JESSE        RAY KASER                    CO     90010223624
7B9B5446472B32   TOMAS        RESENDIZ                     CO     90000224464
7B9B545158B157   DESTINY      BOGUE                        UT     90010434515
7B9B5483855966   ERIK         RAMIREZ                      CA     90013854838
7B9B5674972441   TRINA        DIXON                        PA     51032686749
7B9B5842341237   BILL         PRESLY                       PA     90013958423
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1081 of 2350


7B9B59A7691252   TRELL        TAYLOR                       SC     90002719076
7B9B624585B59B   RAUL         ALVAREZ                      NM     35066282458
7B9B6527661597   BRANDON      DUNCAN                       TN     90015425276
7B9B6729672B29   MARICELA     RODRIGUEZ                    CO     90001197296
7B9B673744B572   JENNIFER     THORNBURG                    OK     90011117374
7B9B6786272B32   FRANCISCO    CARDENAS                     CO     90015307862
7B9B6A2A951348   NIKKI        MAYES                        OH     90013960209
7B9B7422241253   ANTHONY      RECONDITIONG BY APB          PA     51095284222
7B9B7456884322   FRANCISCO    MENDOZA                      SC     90013894568
7B9B747AA81643   BRANDAN      BRUNNER                      MO     90009944700
7B9B74A6593739   BRITTNY      FUGATE                       OH     90013304065
7B9B78A9871921   KEVIN        PRICE                        CO     90007748098
7B9B78AA571935   TONY         AGUILAR                      CO     32065628005
7B9B7A25272441   AMBER        POLUJAN                      PA     51043650252
7B9B8293933698   TERRI        MCCRAY                       NC     12044422939
7B9B839689154B   TRINA        CENISEROS                    TX     90010413968
7B9B8533741227   CHELSEA      TURNER                       PA     90007915337
7B9B8585257157   OLIVIA       NLORA                        VA     90009695852
7B9B85A135B281   RODGER       WATERS                       KY     90012405013
7B9B8763855947   LUIS         ALTAMERANO                   CA     90012177638
7B9B87A5284322   GERMAN       MORALES                      SC     90015307052
7B9B8851993736   JOSE         ENRIQUEZ                     OH     90009578519
7B9B9419393739   YOR          KUOL                         OH     90009994193
7B9B978624B572   ELIAS        ROJAS                        OK     90014157862
7B9BB138757157   MACARIO      AREUETA                      VA     90014751387
7B9BB175672B23   TYLER        COLE                         CO     90009101756
7B9BB522893739   DAVID        COOK                         OH     90007435228
7BB11239772479   LAKISHA      DIGGS                        PA     90009592397
7BB11284193726   RICHARD      CLAYTON                      OH     64560202841
7BB1158358593B   CHRIS        MITCHELL                     KY     90010695835
7BB115A9255931   MANUEL       OCHOA                        CA     90011835092
7BB1216842B271   CONDELA      HARRISON                     DC     90003211684
7BB126A3671921   DANIEL       SANTOS                       CO     90003466036
7BB12768457157   PEDRO        DOMINGUEZ                    VA     90015307684
7BB1333883168B   EBA          GRIFFIN                      KS     90000813388
7BB13359972421   DOMINIC      BERNIE                       PA     90014083599
7BB1387559154B   PERLA        ALCALA                       TX     90011158755
7BB13923333699   PAT          BROWN-HICKMAN                NC     12090029233
7BB13A9A88B168   JOSH         ROBISON                      UT     90008810908
7BB14169472441   HEATHER      JOHNSTON                     PA     90002371694
7BB1422985B169   DOREEN       MWAKABUNGU                   AR     90015162298
7BB1441328593B   CHARLES      LOOTENS                      KY     90011994132
7BB1445885B596   GREG         GIBSN                        NM     90003284588
7BB1465822B271   WOSSEN       TESSEMA                      DC     81018336582
7BB15184271921   CASSANDRA    HOWARD                       CO     90014651842
7BB1531415B59B   MARIA        HENDERSON                    NM     90013803141
7BB157A6672479   MARTHA       GIRIMONTE                    PA     90013167066
7BB159AA857157   MIGUEL       FIGARO                       VA     90013959008
7BB16141A55947   SYLVIA       JUAREZ                       CA     90013731410
7BB1642A633447   STEPHEN      PROCTOR                      AL     90007274206
7BB16531471921   MARIA        CASTANEDA                    CO     32092425314
7BB16677641227   HEATHER      MOFFITT                      PA     51028106776
7BB16A1868B163   KENDRA       WILSON                       UT     90013890186
7BB17167993739   AMBER        WILLIAMS                     OH     90013151679
7BB17261872B32   GARY         RIMBERT                      CO     33079312618
7BB1731867B427   TAMARA       PARKER                       NC     90002473186
7BB17593593736   CHAD         GOFFE                        OH     64598275935
7BB17964172B44   MARIA        MARTIN                       CO     90006359641
7BB17A3A741227   ANGELIQUE    SAUNDERS                     PA     51017800307
7BB192A518B163   KATHLEEN     JOHNSON                      UT     90000332051
7BB196A4155966   JOANNA       MARTINEZ                     CA     90013266041
7BB19779771921   OLIVIA       CONTRAERAS                   CO     90009607797
7BB1978929154B   LETICIA      GODINEZ                      TX     90006967892
7BB19941733698   WILLIAM      BUTTS                        NC     90014369417
7BB19A1732B994   ALICIA       SILVA                        CA     90011140173
7BB1B188784322   TERONE       DELANEY                      SC     90014241887
7BB1B39A755966   CAMILA       GUSMAN                       CA     48093883907
7BB1B4AA45B53B   JACLYN       FORT                         NM     90014634004
7BB1B84132B271   MARTHA       RODRIGUEZ                    DC     81027968413
7BB1BA14341227   JOSEPH       KRANNACKER                   PA     90013080143
7BB2158879154B   JUANA        MELENDEZ                     TX     90014795887
7BB21791A57157   ARMULFO      BENITEZ                      VA     81072217910
7BB21984691991   MARIO        MUNOZ                        NC     90011699846
7BB21A29172479   NORMAN       BROWN                        PA     90015130291
7BB21A9547B477   MARK         ROSEBORO                     NC     90005310954
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1082 of 2350


7BB2215362B236   WEEZY        MAC                          DC     90009111536
7BB22597955966   PAYGO        IVR ACTIVATION               CA     90013235979
7BB22963393739   ABBEY        EYLER                        OH     64544009633
7BB23123941227   AMANDA       AUER                         PA     90013981239
7BB23189255947   LAURENCIO    RAMIREZ                      CA     90014381892
7BB23239872B44   ELSIA        RUIZ                         CO     90013062398
7BB2328749154B   NICHOLAS     HERNANDEZ                    TX     90009632874
7BB2333218B163   LEANDRA      BEGAY                        UT     90011053321
7BB2336498B163   CHERIE       MONTANO                      UT     90013123649
7BB2347822B271   WILLIAM      BRAXTON                      DC     90010834782
7BB23532727B98   HARRY        WHITE                        KY     90011955327
7BB23717284322   WILLIZ       MAIRENA                      SC     14576667172
7BB23A9485B59B   MARY         CARLSON                      NM     35018740948
7BB24384255947   PAM          THROOP                       CA     90013743842
7BB2439A14B572   SHIVON       SOLOMON                      OK     90007893901
7BB24572172B44   SANDRA       CORZO                        CO     90014205721
7BB2465427B477   REGINALD     DAIL                         NC     11028006542
7BB2473637B661   ERNESTINE    DAVIS                        GA     15042787363
7BB24A29A51348   RICHARD      WAGERS                       OH     66098500290
7BB25132472B44   KYLE         JOHNSON                      CO     33018231324
7BB25424781643   NATRELLE     MERRILL                      MO     90014624247
7BB25714127B98   JEANON       CHAMBERS                     KY     90008837141
7BB25944955947   RICARDO      SOLANO                       CA     49099219449
7BB26698984322   OSCAR        FIGUEROA                     SC     90011266989
7BB26AA785B356   ADRIANA      LOPEZ                        OR     44552490078
7BB27652427B98   JAMIE        STEWARD                      KY     90012266524
7BB27865333B98   CARLOS       SOLIS                        OH     90010508653
7BB2835582B994   BLANCA       TORRES                       CA     90006023558
7BB28452881633   VET          MCDONALD                     MO     90010554528
7BB2859664B572   PERSEPHONE   HARKINS                      OK     90011095966
7BB28617331432   JESSICA      CHERRY                       MO     27503546173
7BB28697355947   LUPE         RAMOS                        CA     90014186973
7BB287A7457556   MARY         WEBER                        NM     90015177074
7BB28898572B32   JOSIE        SCHEEL                       CO     33068568985
7BB2936498B163   CHERIE       MONTANO                      UT     90013123649
7BB29578555947   JUSTIN       PRIEST                       CA     49094665785
7BB29782455966   HUGO         ANALCO                       CA     90001337824
7BB29847857556   ERICA        RAMIREZ                      NM     90009088478
7BB29858693726   WES          GUSEMAN                      OH     64536358586
7BB2995338B168   JEREMY       PAINTER                      UT     90007809533
7BB29967527B98   KRISTY       WHITE                        KY     90013929675
7BB2B15A751348   TAMIKA       COOPER                       OH     90014711507
7BB2B33A855931   ALFREDO      CASTRO                       CA     90006663308
7BB2B775833698   CHRIS        LEWIS                        NC     90001697758
7BB313A1A84322   NIKESHA      DRAYTON GOODEN               SC     90009233010
7BB3151619154B   SIMON        SOTO                         TX     75083565161
7BB3174A861935   LAUREN       HALCON                       CA     90005567408
7BB326A594B572   DOUGLAS      RODGERS                      OK     90011096059
7BB3291785B356   TAUSALA      LAPLANTE                     OR     44585199178
7BB32A86A72B32   RIGOBERTO    CATANO-AVITIA                CO     90014800860
7BB33249955947   NACY         LUNA                         CA     90011922499
7BB3398618593B   APRIL        BONNER                       KY     66053499861
7BB33A82231435   DIEARRRA     BRADFORD                     MO     90013880822
7BB33AAA251355   MARY         ELGEN                        OH     90006350002
7BB33AAA571921   KELLY        GARCIA                       CO     32053530005
7BB34459272441   JOHN         WUTTER                       PA     90010954592
7BB34464157556   SCOTT        EDWARD                       NM     90013964641
7BB344A2A72421   MATTHEW      PACACHA                      PA     51068154020
7BB34575451348   PAULA        FAUST                        OH     90011715754
7BB3459329154B   LIDIA        MENDOZA                      TX     90014795932
7BB3465A78B157   TILLAM       AGABE KOSHI                  UT     90014856507
7BB347AA22B29B   AJAE         PORTER                       DC     90008547002
7BB34864693726   ERIC         MILLER                       OH     90000448646
7BB3568978B134   SKYLER       MCCONNOUGH                   UT     90015496897
7BB3578819153B   MARTIN       MALDONADO                    TX     75019177881
7BB35887855966   BRENDA       LOPEZ                        CA     90013208878
7BB365A658B875   ANDRE        PIERMAN                      HI     90015335065
7BB37133441227   SYLVESTER    TAYLOR                       PA     90012441334
7BB3715A281633   HERMINE      CURLEY                       MO     90003131502
7BB37248891991   DIEGO        MORENO                       NC     90000322488
7BB3731A433698   CHANCORIA    SCOTT                        NC     12079433104
7BB37329A91323   GUSTAVO      ALVARADO                     KS     90013603290
7BB37387261935   JOSE         CHAPA                        CA     90009823872
7BB3755728B157   KYLE         WEST                         UT     90015365572
7BB37687A33699   ALVARO       SALINAS                      NC     90013256870
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1083 of 2350


7BB3785349154B   MAYRA        MATA                         TX     90012748534
7BB37885555966   NORMA        GUTIERREZ                    CA     90006148855
7BB37A5128B157   JESSICA      SIERRA                       UT     90013070512
7BB37A92893739   THOMAS       COLEMAN                      OH     64568180928
7BB3819679154B   VERONICA     JACOBO                       TX     75084561967
7BB38328966181   LEO          REYNAGA                      CA     90015323289
7BB3838573B325   KENDRA       ALLEN                        CO     90009223857
7BB38459472421   LISA         REDISH                       PA     51063574594
7BB38617A5B384   MITCHELL     PHILIP                       OR     90004946170
7BB38726593736   MARY         LAWWILL                      OH     90011207265
7BB387A132B271   WALTER       RUFFIN                       DC     81005707013
7BB3892A157556   ABBY         HARVEY                       NM     90013829201
7BB3894412B295   STEVEN       FOSTER                       DC     81055539441
7BB39569755931   ELVA         CHAIDEZ                      CA     49074255697
7BB39613391991   EDDIE        RUFFIN                       NC     90009266133
7BB398A2A57556   MARIA        AU                           NM     90010088020
7BB39934657157   VICTOR       URRUTIA                      VA     90014499346
7BB3B368872B44   LUIS         ZUNIGA                       CO     90010413688
7BB3B69344B572   SARAH        MORGAN                       OK     90008586934
7BB3B716193739   FRANCINA     CARR                         OH     90005907161
7BB3B72A772441   PRIANNE      KRAMER                       PA     90015177207
7BB3B745A41483   JOHN         STEVENSON                    WI     90015557450
7BB3B846272479   JAMES        BURGOS                       PA     51001428462
7BB3BA78233699   SEBASTIAN    RAMIREZ                      NC     90005840782
7BB41745655966   WILLIAM      BRYSON                       CA     90012967456
7BB41832884322   ALTHEIA      BUSH                         SC     90013628328
7BB41894427B98   MEAGAN       BURKHALTER                   KY     90012838944
7BB41994657556   BRENDA       MUNOZ                        NM     90010779946
7BB42396672441   MARY         ROSSI                        PA     51027133966
7BB42472A57157   JOSE         RAMOS                        VA     81089374720
7BB42A1748B168   CHELSI       BROWNE                       UT     31009250174
7BB4332354B553   JORGE        ALVAREZ                      OK     90009483235
7BB4372368B157   ELIZABETH    HALL                         UT     90015327236
7BB43793781643   AMBER        VESTAL                       MO     90011747937
7BB4385248B157   BONIFACIO    YUNUN                        UT     31094468524
7BB44132957157   ASHONTI      RISE                         VA     90005621329
7BB44349333699   NAYM         CASTILLO                     NC     90014813493
7BB4441A572B29   BRANDI       SMITH                        CO     90010004105
7BB4473A491991   ROBERT       MURILLO                      NC     90010507304
7BB44817877524   JOSE         JIMENEZ FLORES               NV     43083718178
7BB44916541253   JANELLE      BOBER                        PA     51051529165
7BB4551225B331   DYLAN        THATCHER                     OR     44563055122
7BB455A3871921   WALTER       WESOLOWSKI                   CO     90011965038
7BB4575A972479   SHAWN        DELANI                       PA     90003977509
7BB4588629154B   CRISTINA     GUZMAN                       TX     90011158862
7BB458A617B477   ANTWONT      KANIPE                       NC     90014568061
7BB46221A57556   MONIQUE      MENDOZA                      NM     90014862210
7BB46285872B29   OMAR         FRAIRE                       CO     33094102858
7BB46357472479   BRIAN        PORTER                       PA     90013003574
7BB46A86141237   JAMES        DALEY                        PA     90010650861
7BB4762275B59B   RANGEL       JOSE                         NM     90008016227
7BB477A867B477   CONSUELO     PEREZ                        NC     90014757086
7BB47942572441   MICHAEL      FREY                         PA     51014439425
7BB4845672B255   VAUGHN       PERRY                        DC     90000924567
7BB48791384322   PAYGO        IVRACTIVATION                SC     90011867913
7BB48A45877524   ROBERTO      CASTILLO                     NV     90003230458
7BB49118177977   HECTOR       ALVAREZ                      IL     90015371181
7BB4974A793739   LYDIA        MYERS                        OH     64557487407
7BB49872184363   LILLIAN W    HEHN                         SC     90000418721
7BB49977191939   EDITH        MONTOYA                      NC     17000869771
7BB49A9A233698   MARY         PATTON                       NC     12088100902
7BB4B152981633   SHANA        WILLIAMS                     MO     90004121529
7BB4B64745B596   VIRGINIA     VELAZQUEZ                    NM     90003446474
7BB4B813A57556   MONIQUE      MUNOZ                        NM     90014788130
7BB4B985372479   BILLIE       TYREE                        PA     51054299853
7BB51593291932   MIKE         WILSON                       NC     90013045932
7BB5191188B134   TRENT        TINGEY                       UT     31085659118
7BB519A4372441   GARY         WASHINGTON                   PA     51044499043
7BB51A23161935   TARMARA      REED                         CA     90013190231
7BB52232941253   STACY        BEST                         PA     51087112329
7BB52271A5B53B   EDGAR        BARRANCOBENCOMO              NM     90008152710
7BB5249988593B   ABBY         MEECE                        KY     90009044998
7BB52697472421   DANA         FISSELLA                     PA     90014666974
7BB52992957157   ANA          UMANAA                       VA     90013959929
7BB52A2367B477   TASHA        KING                         NC     90014520236
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1084 of 2350


7BB52A5648B163   RODOLFO         ALONSO                    UT     90013690564
7BB53197772441   HEATHER         JOHNSON                   PA     51032261977
7BB53221793736   KEITH           JAMES                     OH     90009992217
7BB53239641253   MIKE            HARPER                    PA     90014602396
7BB53813984322   SHAWN           HOUSTON                   SC     14550118139
7BB53844A72B29   TAYGEN          GERRARD                   UT     90013448440
7BB5456528593B   ABIGAIL         LAFOLLETTE                KY     90015265652
7BB54632951348   PRESENTA        BRENTAN                   OH     90013946329
7BB54754141237   BRADLEY         TROUP                     PA     90005747541
7BB54913533699   RANDY           MCCRAY                    NC     12005259135
7BB55A18772421   SHAUN           DAVIS                     PA     90002530187
7BB56433455947   DEREK           YBARRA                    CA     90007904334
7BB56866141253   TARA            BARKER                    PA     51096028661
7BB569AA791566   BRIAN           WEISEL                    TX     90011019007
7BB5717914B572   JOHNNYSANTINO   HALL                      OK     90015151791
7BB57254655966   MICHELLE        BENAVIDES                 CA     48043672546
7BB57682172B32   CURTIS          PATTON                    CO     33098816821
7BB57783731433   MARY            WADLE                     MO     27562027837
7BB57839331443   KIESHA          GENTRY                    MO     27586628393
7BB579A729184B   CHRISTIN        AKERS                     OK     21085829072
7BB57A94541265   SEAN            MUNDY                     PA     51006210945
7BB58446277524   ROSARIO         GONZALEZ                  NV     43016154462
7BB58492441253   MARVA           RANDALL                   PA     51011004924
7BB58839351348   RYAN            HYNES                     OH     90014018393
7BB58947493739   DANIEL          RYNELL                    OH     90013209474
7BB59422231432   SHEENA          BRYSON                    MO     90003924222
7BB59536651348   JOSEPH          JAMES                     OH     90007515366
7BB5983988B142   TEAH            RADANDT                   UT     90012768398
7BB5B144141237   MICHELE         CROWLEY                   PA     90012461441
7BB5B485771921   HERBERT         HAZARD                    CO     90014964857
7BB61228A72B32   GINA            SKENDZEL                  CO     33090992280
7BB61376771921   CLAUDE          MARTINEZ                  CO     32081133767
7BB6138385B281   RONNIE          WISDOM                    KY     90008403838
7BB61483533698   ROLANDO         MARTINEZ                  NC     90012744835
7BB62249631433   DENA            WOLFF                     MO     90004462496
7BB623A445B596   ANGEL           CHAMBERS                  NM     90009373044
7BB624A459154B   ALBERT          PADILLA                   TX     90001484045
7BB627A6161935   JACKIE          NEUMAN                    CA     46026787061
7BB6356489154B   JAIME           DOMINGUEZ                 TX     75072535648
7BB636AA172479   AMBER           PORTERFIELD               PA     90007946001
7BB63875593739   ANGEL           CHRISTMON                 OH     90006008755
7BB63A4138B168   MARIA           BERNAL                    UT     90014310413
7BB6455997B477   LASHATAYA       WNGHT                     NC     11062945599
7BB64627691991   PATRICIA        LOVE                      NC     90007306276
7BB64653251348   ROBERT          VIOX                      OH     90013946532
7BB64667257157   MARIA           MARTINEZ                  VA     90008716672
7BB6483A28B142   DAVID           SORIA                     UT     90012628302
7BB6531868B157   DEVIN           EVRILL                    UT     90007773186
7BB6562169154B   NICOLE          STCYR                     TX     90014796216
7BB66143855947   PERLA           CARRILLO                  CA     90012981438
7BB66614131443   VICKIE          WIDEMAN                   MO     27583326141
7BB6662759154B   MARIA           PARRA                     TX     90014796275
7BB66669491252   KEVIN           NIX                       GA     90010386694
7BB666A357B661   JESSICA         BEASLEY                   GA     15048956035
7BB6738473168B   CICELY          WALKER                    KS     90012903847
7BB676A2455931   JAIME           CHAVEZ                    CA     90012406024
7BB6772212B994   REBECCA         RIOUX                     CA     45045287221
7BB67735A33699   YAKISHA         WILLIAMS                  NC     90014267350
7BB67841481643   GABY            LOPEZ                     MO     90011748414
7BB68521557157   MICHAEL         GONZALEZ                  VA     90013845215
7BB6862759154B   MARIA           PARRA                     TX     90014796275
7BB68652951348   STEPHANIE       BOWER                     OH     90010466529
7BB68868155931   FRANCISCO       ALEMAN                    CA     90010918681
7BB69398571921   LISA            TAFOYA                    CO     32019403985
7BB69413393736   CRAIG           HOLT                      OH     90012874133
7BB6973A455947   ANJELICA        LOPEZ                     CA     90014187304
7BB69814672B29   OSCAR           VASQUES                   CO     33079688146
7BB6981828B168   HOLLY           APOSHIAN                  UT     90006968182
7BB69A86527B98   MS              MICHAELA                  KY     90012650865
7BB6B34378B163   CHELSEA L       GREUBER                   UT     31021103437
7BB7172413168B   ALAN            RICHEY                    KS     22059247241
7BB71773884322   GISELA          AVENDANO                  SC     90014917738
7BB71A12157556   JESSICA         CARRILLO                  NM     90010620121
7BB72581457157   SEAN            JONES                     VA     81083065814
7BB726A978B163   JEREMY          ACOSTA                    UT     90007456097
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1085 of 2350


7BB72A73381633   JANETH         ROMERO                     MO     29027970733
7BB73342691531   PAEZ           YESENIA                    TX     90004743426
7BB7363A89154B   SERGIO         IBAVE                      TX     90014796308
7BB7382973168B   CHRISTOPHER    COTTON                     KS     90003358297
7BB7412264B572   ANGELIA        MUNOZ                      OK     90014901226
7BB7415628593B   STEPHEN        COMPTON                    KY     90004321562
7BB74574531432   GREG           BELL                       MO     90006725745
7BB74695561951   MARY           LORENZANA                  CA     90012246955
7BB74845127B98   DELISHA        PAYNE                      KY     90014868451
7BB74A23155931   TASIA          THOMAS                     CA     90013540231
7BB75625641237   ROBIN          BERFIELD                   PA     51044916256
7BB756A5777524   DANIEL         ENGELBERT                  NV     43016246057
7BB7597987B477   ANGEL          SANTOS                     NC     90010209798
7BB76328851348   NANCY          KORNEGAY                   KY     90013943288
7BB76411891939   NAKISHY        CORDON                     NC     90008664118
7BB7643A377524   MARIA          SALGADO                    NV     90010004303
7BB7644718B163   CHANTEL        HARTLERODE                 UT     90013124471
7BB764A5A72B29   GERARDO        MIJAREZ                    CO     33053694050
7BB76799555966   CHRIS          HUERTA                     CA     90012967995
7BB76944155947   JOSE           ROJAS                      CA     90012889441
7BB77A63451348   KEVIN          BASSETT                    OH     90008940634
7BB78133A5B53B   JOSE           RAMIREZ-DELOERA            NM     90009131330
7BB78175872B39   SARAH          MCLEOD                     CO     90001571758
7BB78352784322   ANA            RAMIREZ                    SC     90009073527
7BB783A678B134   ROBERTO        VILLANIUEVA                UT     31090303067
7BB78498393736   MALINA         ROBERTS                    OH     64580284983
7BB78739255947   FELIX          LOPEZ VILLANUEVA           CA     90014187392
7BB78739731433   KEVIN          KURTZ                      MO     27501737397
7BB79151131443   MICHAEL        HAHN                       MO     90008501511
7BB7937985B59B   ANTHONY        LUGONES                    NM     90010983798
7BB79545172B44   DIEGO          SANDAVAL                   CO     90006405451
7BB79553977524   SHAUN          BISSETT                    NV     90008635539
7BB7963529154B   CRISTIAN       ALVARADO                   NM     90014796352
7BB79635431432   LINDA          FONDREN                    MO     90014286354
7BB7994A38B142   JENNICA        TREVORT                    UT     90012189403
7BB79A14771921   JEFF           MUNOZ                      CO     90013740147
7BB7B511991587   FRANCISCO      REYES                      TX     90008205119
7BB7B543172B32   VICTORIA       MENDEZ                     CO     90014245431
7BB7B669772B44   MARIA          RODRIGUEZ GUARDADO         CO     33046916697
7BB7B83253168B   OMAR           MORALES                    KS     22094458325
7BB81278793739   ALEX           NAPIER                     OH     90010952787
7BB81287855966   SUZY           FUNK                       CA     90010702878
7BB81629641227   ELIZABETH      MALONE                     PA     90011056296
7BB82127572B29   SCOTT          THOMAS                     CO     90013521275
7BB8245844B572   RIANA          DALEY                      OK     90008794584
7BB82547461935   JASON          STEWART                    CA     90011745474
7BB82793991378   MATTHEW        KELSEY                     KS     90010827939
7BB82814972B32   JENNIFER       LUCERO                     CO     33045258149
7BB82924A8B163   NELSEN DAVID   CONTRERAS                  UT     90014859240
7BB8374958B157   JOSH           SHAFER                     UT     90010627495
7BB83839351348   RYAN           HYNES                      OH     90014018393
7BB83877884322   MANUEL         GARCIA                     SC     90012028778
7BB83A75955966   BILLY          BRACKETT                   CA     90013000759
7BB83A87172479   MILTON         KOBALY                     PA     90009380871
7BB84188A41237   DANIELL        FRANKLINS                  PA     90006611880
7BB8418A827B98   BRIAN          MOSCH                      KY     90006971808
7BB841AA957556   YVONNE         MADRID                     NM     90009191009
7BB84232672B34   JUAN           ALFREDO                    CO     90013502326
7BB8463769154B   YAJAIRA        ALFEREZ                    TX     90014796376
7BB84838791991   MELISSA        DYLE                       NC     90003048387
7BB84A79993736   DAVID          BULMER                     OH     64578300799
7BB85292572421   ALBERT         CARSON II                  PA     51084522925
7BB8533138593B   JASON          CHAPMAN                    KY     66065763313
7BB854A2291252   CHARLES        DAVIS                      GA     90006914022
7BB8553517B477   TONIA          STRADFORD                  NC     90012045351
7BB8592A833698   I AM NOW       INC                        NC     90001469208
7BB85A2A35B59B   JONATHAN       PADILLA                    NM     90010790203
7BB87332855947   HELEN          MEDINA                     CA     49079903328
7BB8737A87B688   LINDA          JACKSON                    GA     15081623708
7BB8752638593B   RICHARD        LANDRUM                    KY     90003805263
7BB8763435B169   RICKY          HAVENS                     AR     90011786343
7BB87778A33699   JERESA         HOLLAND                    NC     90014967780
7BB88183551348   ANGELA         CHARLESTON                 OH     90012551835
7BB8853A555947   ROGER          DUNBAR                     CA     90003185305
7BB88628633698   BROOKE         LOCKHEAR                   NC     90011106286
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1086 of 2350


7BB88639831433   WILLIAM        DESPAGNI                   MO     90000656398
7BB8884342B994   MARCOS         MERELES                    CA     90011118434
7BB89218655966   GUSTAVO        SANCHEZ                    CA     48069322186
7BB89234727B98   ANNJEANETTER   WHARTON                    KY     90010972347
7BB89447931433   ANN            WELLINGTON                 MO     90015344479
7BB8973668B168   KENNY          ANDERSON                   UT     90012067366
7BB897A498B134   LIZ            JONAS                      UT     90007397049
7BB8B27327B661   RONALD         MCCONNEHEAD                GA     15058052732
7BB8B368457563   EVA            MOLINA                     NM     90011843684
7BB8B5A8241227   EDWARD         MARSHALL                   PA     51012655082
7BB91327893739   CRYSTAL        WELCH                      OH     90014893278
7BB9151A572B29   CYNTHIA        VENTURA-LIPPERT            CO     33003285105
7BB91663251348   GINGER         MCINTYRE                   OH     90002106632
7BB9174A22B271   JOSE           SANCHEZ                    DC     90010017402
7BB9192552B994   ANITA          CARRILLO                   CA     45058349255
7BB91978A5B384   DANIEL         RICE                       OR     44500309780
7BB9197A18593B   BARBARA        FITZWATER                  KY     66093929701
7BB91985281643   TRISHA         DUNHAM                     MO     90007499852
7BB92447291266   JON            MATHIS                     GA     90011614472
7BB92611155966   LIZMARI        AVILA                      CA     90014836111
7BB9315388B168   ELISA          GIMBATTI                   UT     31098801538
7BB93186A55931   COREY          BIRKLE                     CA     90013541860
7BB932AA727B98   KRISTINE       GEORGE                     KY     90015472007
7BB93499272B44   CAILIN         DUNKIN                     CO     90009064992
7BB9367352B994   JUAN           GARCIA                     CA     90012276735
7BB93837657556   GLORIA         OROZCO                     NM     90011328376
7BB93853972B32   KENNETH        TURNER                     CO     90011718539
7BB9399418B134   ELANE          ARCHULETA                  UT     31098249941
7BB94592286433   ROSA           JOHNSON                    SC     90014115922
7BB94826372441   ANTHONY        DEMATTEIS                  PA     90009178263
7BB9532895B386   JUAN           PASTELIN                   OR     90001653289
7BB95387733B98   CARLOS         SOLIES                     OH     90014423877
7BB95419793739   GALE           CARTER                     OH     90012524197
7BB95522457556   MANUEL         LOPEZ-GONZALEZ             NM     90015375224
7BB95949A55931   XIONG          XIONG                      CA     90014819490
7BB95A1714B548   AARON          FORTUNE                    OK     90011250171
7BB95A81272421   MICHAEL        FIRESTONE                  PA     90009430812
7BB9617444B572   ALMAZ          WAKEYO                     OK     90014251744
7BB9645285B59B   CHRISTOPHER    LITTELL                    NM     90011514528
7BB96686872B32   ROMAN          HERNANDEZ                  CO     33022936868
7BB96746655966   PEDRO          SALGADO                    CA     90002857466
7BB96924757556   KEVIN          PATTERSON                  NM     90009019247
7BB97184772B32   GUILLERMO      NUNEZ-ALVAREZ              CO     90014051847
7BB97367471921   CLAUDIA        GARCIA                     CO     90012743674
7BB9745A533699   DOMINGA        PELAGIO                    NC     12064794505
7BB9747979154B   ESTELA         MEDRANO                    TX     90001334797
7BB97A94131432   YOLANDA        FOWLER                     MO     27564160941
7BB9849423168B   KIRA           CORTEVILLE                 KS     22004064942
7BB9853338B142   JESUS          VIEYRA                     UT     31019865333
7BB98557543424   MIGUEL         DOMINGUEZ RAMIREZ          VA     90015595575
7BB98896533698   MYRISSA        SWAIN                      NC     90013828965
7BB98936841253   SHANNON        BASTIAN                    PA     90014829368
7BB98981955947   ROWDY          RUSCONI                    CA     90005089819
7BB993AA957157   EVA            VASQUEZ GARCIA             VA     81029133009
7BB99674672B32   MARIA          RAMOS                      CO     90012866746
7BB99779855966   LAISA          VASQUEZ                    CA     90011247798
7BB99947A5B53B   CORRINE        BANDERA                    NM     35083099470
7BB9B228251348   NIKOLE         TAYLOR                     OH     90014422282
7BB9B28A981643   VANESSA        HATCHETT                   MO     90008252809
7BB9B472591252   GEORGIA        WELLS                      GA     90011274725
7BB9B47538B163   WANDA          BACA                       UT     90013124753
7BB9B4A5231433   JOE            HENDON                     MO     90003204052
7BB9BA64536182   MYRIAM         HERNANDEZ                  TX     90006250645
7BB9BA88881633   STEPHEN        RANDOLPH                   MO     90012540888
7BBB1364157157   BRYON          HAWBECKER                  VA     81083063641
7BBB1556141237   MARSHA         JOHNSTON                   PA     51075035561
7BBB1663172B29   JUSTIN         KONECNY                    CO     33075876631
7BBB174149154B   JENNIFER       SAMUDIO                    TX     90014227414
7BBB177992B225   EDWINA         LLOYD                      DC     90002157799
7BBB353A78593B   ANGELA         MARKS                      KY     66032065307
7BBB35A7172441   ENRI           GOOSBY                     PA     90014495071
7BBB4118381633   ROBIN          STAUFFER                   MO     90014461183
7BBB41AA58593B   CHRIS          HARRIS                     KY     90012141005
7BBB4848A55947   ERMA           GREEN                      CA     90010068480
7BBB4A58693736   BEVERLY        HICKLIN                    OH     64586730586
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1087 of 2350


7BBB4A89A71921   STEPHEN              SPEER                CO     32088780890
7BBB5373A51348   DERRICK              DAVIS                OH     90014773730
7BBB5524931432   JESSICKA             HAYNES               MO     90013985249
7BBB555A931433   STEPHEN              HAYDEN               MO     90012145509
7BBB5617672B32   RAMON                CABRALES             CO     90013296176
7BBB5786341227   NICOLE               ROEHIG               PA     51084547863
7BBB5922357556   CECILIA              LOZANO               NM     90010949223
7BBB6267757157   TATIANA              PEREDO               VA     90013172677
7BBB646987B477   EDUARDO              AYALA                NC     11060624698
7BBB6646772421   BRANDON              STICCA               PA     90005346467
7BBB673545B59B   MADELINE             MENDOZA              NM     90014917354
7BBB687128B142   ADAM                 DURBOROW             UT     90015308712
7BBB6947755931   ENRIQUE              BECERRA              CA     90014939477
7BBB7244A2B994   JOAQUIN DE LA PAZ-   ALVAREZ              CA     90014642440
7BBB7523372441   DAVID                BOSH                 PA     90001635233
7BBB7832672B44   PAMELA               GRANGER              CO     90002078326
7BBB8716751378   CARMEN               ROSEMOND             OH     90005047167
7BBB8861772B44   MANDI                BALL                 CO     90014838617
7BBB9221172441   DONNA                ADAMS                PA     51095942211
7BBBB249131443   KIMBERLY             HAMILTON             MO     27574692491
7BBBB332591531   MARIA                DE JESUS RUIZ        TX     90009253325
7BBBB7A8933698   NEHEMIAH             GOWENS               NC     12027587089
7BBBBA3344B254   MONA                 MCGUIRE              NE     90012690334
811114A9784336   CHRISTOPHER          PUFFER               SC     90009294097
8111152119154B   GOMEZ                SAMUEL               TX     90010395211
81111631A8B163   ALAN                 ANDRADE              UT     90013096310
8111226959712B   DAVID M              TAFFOLLA             OR     90005572695
8111234574B22B   CECILIA              RIGGS                NE     27052133457
8111236885B32B   TERESA               ALBA-VELAZQUEZ       OR     90013463688
8111246A151362   MARLA                BARNETT              OH     66026994601
81113764A71977   ROBERT               SAMORA               CO     90011917640
8111425315B125   LAWANNA              FLOWERS              AR     90008192531
8111527AA9154B   LUZ                  GALAVIZ              TX     90000842700
811155A1A33698   GUADALUPE            GARCIA-SALAZER       NC     90010655010
81115757197B38   ANTONIO              RODRIGUEZ            CO     90012397571
811165A6A47822   VAN                  LAMAR                GA     90011975060
81116647872B33   ROBERT               RHATIGAN             CO     90013176478
811178A7793771   BRITTANY             SMITH                OH     90013478077
81117924972B62   MYRON                MIDDLETON            CO     33037079249
811179A928B154   SARA                 SHALLENBERGER        UT     31072549092
81117A1935B24B   DERRICK              BOMAR                KY     90008580193
8111832913B337   KATHRYN              WILLIAMS             CO     33089053291
8111849869154B   MIKE                 HARTNETT             TX     90014554986
811184A524B22B   BLENDIA              ELLINGTON            NE     27000004052
81118845A77537   JORGE                ORTIZ                NV     90008268450
8111893528B168   JAYSON               PICKERING            UT     31080449352
81118A6818B163   ADRIANA              HERNANDEZ            UT     90014850681
81119253972B44   ANTOINETTE           SANCHEZ              CO     90001722539
81119928876B65   VANESSA              LUGO                 CA     90007579288
8111B1A715B145   JOE                  STRONG               AR     23077331071
8111B27345B32B   MELODY               WALDO                OR     44561082734
8111B2A5572B62   BILL                 MARTINEZ             CO     90011322055
8111B32AA97133   DANIELA              RAMIREZ              OR     90014823200
8111B42755B581   FRANKLIN             WALLACE              NM     90013124275
8111B474291837   ROBIN                WHITE EAGLE          OK     90013944742
8111B78712B271   SONIA                JOYNER               VA     81000467871
8111B933151531   AMY                  LAKABUNG             IA     90014169331
8112166A272B28   ERIK                 MICHAUD              CO     90012206602
8112173319154B   JESSICA              VARGAS               TX     90011207331
81121866197B38   KRISTIE              SEDERSTROM           CO     90011218661
8112197979154B   DOLORES              TOVAR                TX     90014779797
81122439376B97   ROXANA               RIVERA               CA     90013624393
811225A955B145   TRAVIS               HOGAN                AR     90010015095
81122726476B97   ANA                  RIVERA               CA     90010257264
811227AAA91532   FRANCISCO            MELENDEZ             TX     75014527000
8112282385B183   ROGET                BROWN                AR     90014638238
811228A248B168   CAROLINE             COVINGTON            UT     31026538024
81122927A72B33   MARIA                HERRERA              CO     90011109270
8112356A393771   SYLVIA               LEACH                OH     90012835603
81123A1A271977   MISTY                BENSON               CO     90012600102
81124141772B44   RONALD               CHONGO               CO     90011601417
8112422285B24B   MAKELA               FREEMAN              KY     68063552228
81124377A5B145   ZACH                 MAXWELL              AR     90012943770
811244AA347822   TAMELAH              SCOTT                GA     90014614003
81125962A97138   IRMA                 CORNEJO              OR     90000929620
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1088 of 2350


81125A31277537   JUANA        MARTINEZ                     NV     90010410312
81125A48357122   JULIO        REYES                        VA     90000570483
81125A6695B24B   HAIME        HERNANDES                    KY     90011570669
81126714A8B168   ENRIQUE      PADILLA                      UT     90001997140
81126895372B29   BILL         HUOVINEN                     CO     33046028953
8112693519154B   MARIBEL      SALAZAR                      TX     90012929351
81126991372B33   JESSIE       HALL                         CO     90012009913
81126A18984325   CYNTHIA      HOLDEN                       SC     90006410189
81126A66591975   JASON        POOLE                        NC     90010280665
8112731425B921   ROBERT       COSTELLO                     WA     90015413142
81127A93784325   HERALEN      MALDONADO                    SC     90006410937
81128377A5B145   ZACH         MAXWELL                      AR     90012943770
81128438997B3B   THOMAS       MC CANN                      CO     90004524389
81128569672B33   ANTONIO      GUERRERO                     CO     33085765696
81128574A5B581   FITZERROL    ROSE                         NM     90010795740
81129139176B97   MARYELA      MORALES CARRASCO             CA     46034461391
81129165A91837   BRIAN        RICE                         OK     90012451650
81129361A33698   ANDREA       BUCKMON                      NC     90013353610
81129727A97B38   SAVANNA      REED                         CO     90011407270
8112B2A794B22B   BRADLEY      JONES                        NE     90014172079
8112B596972432   LANCE        STUMPF                       PA     51080555969
8112B859172B29   FILADELFO    MENJIVAR                     CO     33077508591
811315A5972B44   PATRICIA     NAVARRO                      CO     90014995059
8113182758B168   ALFREDO      GUTIERREZ                    UT     90010308275
8113193A176B97   STEVE        CAPORALE                     CA     90000659301
81132349A76B97   BECKY        QUIROZ                       CA     90000603490
81132438672B62   STACEY       GALKA                        CO     33041474386
81132A83172B44   ALFONSO      CAMPOS                       CO     90015100831
8113354635B145   TORI         PRESCOTT                     AR     90013595463
8113381A161928   SALVADOR     GUZMAN                       CA     90010428101
8113429198B166   YOLANDA      CARRILLO                     UT     90001192919
8113442845B145   ASHLYN       WOODS                        AR     90014444284
8113471834B22B   JESSICA      ROSE                         NE     27025147183
8113517245B24B   ERNESTO      PAEZ                         KY     90007441724
811352A5585856   LORETA       SUE                          CA     90014502055
8113555318B163   DARIO        RAMOS                        UT     90012815531
811361A2971977   SHANAE       ADAME                        CO     90008851029
8113666195B32B   TASHA        MEYER                        OR     90010486619
81136761A97B3B   BRIAN        TORTORELLA                   CO     39070257610
8113678A98B168   AMANNDA      THOMASS                      UT     31029497809
8113818897192B   CAROLINA     FLORES                       CO     32074521889
81138527A5B32B   GRACE        WATKINS                      OR     90014505270
811389A8641275   NICHOLAS     MCKINNEY                     PA     51046559086
8113992578B154   VILIAMI      TUITAVAKE                    UT     31041979257
8113B27A591837   EBONY        PEARSON                      OK     90014922705
8113B663455945   LAURA        HOLLAND                      CA     90013866634
8113B77AA72B44   ADAM         YOUNGER                      CO     90001387700
8113B941397B3B   ALAN         GRAJEDA                      CO     39019349413
8114159A257142   JORGE        GUTIERREZ                    VA     90011315902
81141759572B44   MORALES      CATALINA                     CO     90009977595
8114186375B24B   DERRICKA     BOOTH                        KY     90012998637
8114212448B154   OSCAR        MAGADAN                      UT     90012581244
81142A6985B591   ELISA        GONZALES                     NM     90004070698
8114343769154B   MARTHA       RODRIGUEZ                    TX     90010004376
8114365735B183   WILLIAM      TAYLOR                       AR     90014146573
8114431918B164   TYLER        CARWIN                       UT     31059853191
8114435289154B   CECILIA      RENOVA                       TX     75014433528
811445A285B581   WICKER       LILLIAN                      NM     90014445028
8114465A341262   LAWANDA      SCOTT                        PA     51007066503
81144A23955945   ERICA        ESCAMILLA                    CA     49045060239
81144A56491525   JAIME        CRUZ                         TX     90003310564
81144AAA591242   HEATHER      COLLINS                      GA     90002070005
8114511515B183   STACY        WILKINS                      AR     90011071151
81145157A8B163   JOHNATHAN    CHADWICK                     UT     90014361570
8114549535B581   MARIA        MORALES                      NM     90009564953
8114553148B154   MARIO        RUIZ                         UT     90015205314
8114553927B349   JAIME        AREVALO                      VA     81085985392
8114557959154B   ROSARIO      GONZALEZ                     TX     75074905795
8114558A476B97   ANGELICA     SANTIAGO                     CA     90015305804
8114564715B24B   HOLLY        RAHN-WARD                    KY     90000866471
8114595345B139   MARCIA       CARRUTH                      AR     90005789534
81145A38593771   SHERRON      STEWART                      OH     90003770385
81146159876B97   JOSE         BLANCAS                      CA     90014961598
8114635399154B   ALEXANDER    ANCHONDO                     TX     90010483539
8114683255B338   NICK         DORRITY                      OR     44550008325
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1089 of 2350


81147181176B97   FREDDY               MENDOZA              CA     46095791811
8114749515B24B   BRITNEY              DUNCAN               KY     90015284951
8114786AA87B71   DEBRA                HENRY                AR     23094748600
8114788A497B3B   ADRIAN               TELLEZ               CO     90015408804
8114789169154B   NANCY                ALARCON              TX     75041948916
81147A52772B31   PHILLIP              HICKS                CO     90006940527
81147AA3185856   JOSE                 VARGAS               CA     46083860031
8114912899154B   MATHEW               CHAVIRA              TX     90006761289
81149357597B3B   DEBRA                MARCELENO            CO     39022483575
81149528624B49   MAURICIO             LOPEZ                VA     81063365286
811495A595B338   JAMES                FLOWERS              OR     44543045059
811497A5572B44   BRIDGETT             NELSON               CO     33010547055
81149824A9712B   VICTOR               GONSALEZ             OR     90013898240
81149888772B33   AMY                  ERICKSON             CO     33076428887
8114991A191975   EVA                  MARTIN               NC     90013329101
8114B24A647822   SHARONDA             MILLER               GA     90002362406
8114B59A257142   JORGE                GUTIERREZ            VA     90011315902
8114B819191975   LADISLAS             KABONDE              NC     90013038191
8115136865B338   CHELSEA              BROWN                OR     90002733686
811516A9941275   JOHN                 HRABOLOWSKI          PA     51097476099
81151AA9871977   DERIC                ANDREW BESTON        CO     90010140098
8115245A88B168   KAREN                THOMPSON             UT     31062044508
811527A5491979   JASMINE              DICKENS              NC     90014767054
81153187A72B29   DIANE                ATENCIO              CO     90011791870
811534A5255945   JOSE LUIS            ABARCA               CA     90014324052
8115362329712B   HARRY                MCFADDEN             OR     44061156232
8115468882B389   CARLOS               OLIVA                CT     90014556888
81154897272B33   MICHELLE             NGUYUN               CO     90013778972
811549A2371977   NANCY                HERNANDEZ            CO     38096479023
8115514A976B97   BILL                 AVALOS               CA     90013781409
8115552655B145   MELISSA              JACKSON              AR     90013465265
811558A265B581   MICHEAL              MURPHY               NM     35014388026
81155A46393671   FFR 22107 CHARLES    CLEVELAND            OK     90011280463
81157329572B29   RANDY                WILLIAMS             CO     33092633295
8115742A691975   GABERIEL             SHARPE               NC     90005394206
811574A2797B3B   DELPHINIA            MIRELEZ              CO     39001304027
8115766959712B   SANCHEZ              CARMEN               OR     90006726695
81157745672B33   ANGEL                HENDERSON            CO     33041877456
8115826415B24B   ERIC                 SCHULAR              KY     90000242641
811584A618B154   ALINI                TAUFOOU              UT     31080194061
8115853A776B97   JOSE                 LUNA                 CA     90012085307
81158A57593771   ANDRE                HAWKINS              OH     64588730575
81158A61A72B62   RUBEN                CASTANEDA            CO     33092960610
81159389172B29   EVELIO               ESCOBAR CANEZA       CO     33097383891
81159414597B38   CINDY                HOLGUIN              CO     90010564145
8115942935B183   TONYA                MORRISON             AR     90014704293
8115B1A9A85936   LEONARD              EPPS                 KY     90010491090
8115B366691242   PATRICIA             OLIVER               GA     90011663666
8115B73758B154   GERARDO              AGUILAR              UT     31070817375
8115B986791868   SARA AND CHRISTIAN   CONNER               OK     90012559867
8116146158B163   CHRISTINA            BROWN                UT     90010274615
81161511A72432   BRANDI               BYERS                PA     90013225110
8116158975B145   DAVID                GOMEZ                AR     90013085897
811617A9191969   SAMMIE               TURRENTINE           NC     90012577091
8116219362B967   JULIO                JASSO                CA     90008051936
811624A2497138   ROSARIO              GOMEZ                OR     90003014024
8116293699712B   ASHLEE               STROMBERG            OR     90013459369
8116294868B163   TISHA                WHITE                UT     90006269486
81162A38672432   MELINDA              CLINE                PA     51084040386
81163571A72B33   NICOLE               GUTIERREZ            CO     33095525710
8116442878B154   LENLEE               VAKAPUNA             UT     90013724287
81164875497B3B   CODY                 CISNEROZ             CO     90013458754
81164A39785856   LINDA                CARSON               CA     46015230397
81164A98571977   JEAN                 VALDEZ               CO     90011300985
81165263A72B44   SAMUEL               WHELAN               CO     33057162630
8116571A471977   JONATHON             FORD                 CO     90010547104
81166256276B65   ANDREA               HERNANDEZ            CA     90005902562
811669A1897B3B   SALVADOR             VERDIN               CO     39059739018
81166A61771977   CAROL                FULTON               CO     90012310617
81166AA565B93B   OSCAR                CHAVEZ               WA     90015440056
8116715A89154B   JOSE                 CAMPOS               NM     90001251508
81167166872B62   LISA                 BLUFORD              CO     33023221668
8116719765B145   CHERYL               JACKSON-GOLDEN       AR     90010201976
81167391597B3B   KALA                 MCCULLY              CO     90012923915
811682A8A91242   ERIC                 RECHLIN              GA     90009712080
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1090 of 2350


81168972954B23   CONNOR       MATHERLY                     VA     90014409729
81168A6818B163   ADRIANA      HERNANDEZ                    UT     90014850681
8116927778B168   JESSICA      LUND                         UT     90012032777
81169324972B62   ALYSHAH      YOUNG                        CO     90015263249
81169436776B97   MONICA       ALVA                         CA     90015144367
8116951745B32B   SHANTHI      HOLLAND                      OR     44519885174
8116B119A5B24B   TERESA       TURNER                       KY     68062371190
81171385397B97   JEFF         BLANDIN                      CO     90008743853
8117165595B183   WILLMER      GUTIERREZ HERNANDEZ          AR     90015616559
81171677997B3B   JOSE         CASTRO                       CO     90012136779
8117213325B183   KENDRA       WILLIAMS                     AR     90011071332
81172325772B62   VICTORIA     MESSAOUDI                    CO     90013283257
81172A48185856   SHANNON      FRANCIS                      CA     90015270481
81172A6939154B   VANESSA      CORTEZ                       TX     75016050693
81173169A72B33   TIFFANY      MUSIC                        CO     33080261690
8117325488B163   KEYLA        CELIS                        UT     90014782548
811732A7A9154B   MARTHA       MOLINA                       TX     90008452070
81173689972B27   KIM          RAMIREZ                      CO     90004036899
81173751A5B145   BELINDA      DOBBINS                      AR     23074877510
8117396315B183   PAMELA       TYLER                        AR     23017989631
8117445439154B   BERTHA       MORENO                       TX     75073324543
81174816572B44   JUSTIN       FREELAND                     CO     33018198165
8117518718B154   SHEREE       JOHNSON                      UT     90013521871
8117519545B145   SAMANTHA     PHILLIPS                     AR     90014411954
81176219597B3B   JUAN         JAQUEZ                       CO     90007762195
8117658A372432   KIM          BARLOW                       PA     90011945803
81177A24A72B33   JOE          JOHNSON                      CO     90003050240
811781A4597B98   ROSARIO      VARGAS                       CO     90012061045
8117842435B581   LANTHIA      GILLESPIE                    NM     35015234243
8117846855B32B   MICHELLE     ALEXANDER                    OR     90014204685
8117941A685856   MARIA        CANO                         CA     90012994106
8117942557192B   JOHN         ROLLER                       CO     32041624255
81179A33241262   WHITE        HEATTHER                     PA     90006820332
8117B199651338   ADERO        CAMPBELL                     OH     90014151996
8117B558272B29   JOHN         HEWITT                       CO     90015125582
8117B728172B44   LAURA        CASTRO                       CO     90013097281
8117B72A95B145   BIATRICE     URQUILLA                     AR     90009657209
8117B784A9154B   ENRIQUE      TREJO                        TX     90015377840
8117B85A572B62   MANUELA      MENDOZA                      CO     33007118505
8118278169712B   ALVARO       BARAJAS                      OR     90013327816
811827A555137B   LYNNICE      NORTH                        OH     90006247055
8118295A29154B   GUILLERMIN   CASILLAS                     TX     90000959502
81182A29755945   TYRONE       JONES                        CA     90013000297
81183339172B29   YULISA       SOLANO                       CO     90014113391
81183664776B65   ROSENDO      LUCERO                       CA     46080566647
8118465735B183   WILLIAM      TAYLOR                       AR     90014146573
8118491698B163   SHELISE      MARTINEZ                     UT     31027089169
8118522A676B97   RAYMUNDO     TORRES                       CA     90001642206
81185261A77537   NATHANIEL    WILLIAMS                     NV     90014692610
81185276A8B154   LORENA       BARTON                       UT     90009592760
8118561A147897   AVAN         WALKER                       GA     90014546101
81185A8135599B   ASHLEY       GOMEZ                        CA     90006830813
8118639734B22B   LAURA        HOAGLAND                     NE     27007113973
8118645A79712B   SARRA        PADUA                        OR     90010484507
81186814297B38   DETRA        ELIZALDE                     CO     39086448142
81186A59A5B24B   ERIKA        LENNON                       KY     90014760590
81187523272B33   DOMINICK     VALDEZ                       CO     33089435232
811877A3255945   ANTONIO      BARRIGA BELTRAN              CA     90013627032
81188138A5B24B   SHAWNA       VAUGHN                       KY     90014271380
811881A915B145   RUTHERFORD   MERRYMAN                     AR     90010951091
81188313372B33   MAURICIO     CRISOSTOMO                   CO     90013363133
81188344872B62   MIRIAM       PEREZ                        CO     33017803448
81188648872B44   FATHY        BASOLA                       CO     90012116488
8118927444B967   KAREN        CASTANON                     TX     90004372744
811894A239154B   DONNA        LUKACINSKY                   TX     90014524023
81189AA4484333   TAMI         PHILLIPS                     SC     90013860044
8118B59648B168   MARY         BLATNICK                     UT     90010915964
8118B753A7192B   NATHAN       JOHNSON                      CO     32041627530
8118B922361994   ALICIA       MEZA                         CA     90008729223
81191A49855945   CARMEN       RIVERA                       CA     90008590498
81191A58576B45   MARIA        HERNANDEZ                    CA     90014170585
81192285897B38   CINDEE       CANO                         CO     90010772858
8119312A533698   TANIKA       LEE                          NC     12092131205
8119361AA76B97   BERTHA       OROZCO                       CA     90014856100
81193A7259712B   DAVID        MOORE                        OR     90010490725
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1091 of 2350


8119444A39712B   JAVIER       MONTES                       OR     44064434403
8119456A29154B   YVONNE       BAQUERA                      TX     90013955602
811946A7976B97   KYLE         BROWN                        CA     90014686079
8119581869712B   ALEJANDRO    BRAVO                        OR     90007808186
8119629785B338   TYJWANIA     MERCIER                      OR     90008252978
8119699445B24B   SHAWN        CHAMBERLAIN                  KY     90014879944
81196A72A8B168   JENELLE      CASAREZ                      UT     31055110720
8119731235B24B   CYNTHIA      HEIL                         KY     90006173123
8119737618B168   OSCAR        CARDOSO                      UT     90013933761
811985A1447897   DEMETRIA     HORNE                        GA     90013295014
81198A6822B271   TINA M       MOULTRIE                     VA     90005300682
8119911378B163   AARON        RODRIGUEZ                    UT     90010231137
8119958A35B271   ROBERT       TURVEY                       KY     90011325803
81199674772B33   GLORIA       HERNANDEZ                    CO     90008826747
8119978655B32B   KARA         CHURCH                       OR     90014577865
811997A6197133   RODOLFO      MENDOZA                      OR     90014547061
81199A21A9712B   DANIEL       HEDGES                       OR     44014360210
8119B15545B183   RAE          ROBINSON                     AR     90011071554
8119B251991975   ANTHONY      VELEZ                        NC     90005072519
8119B267191242   CHRISTINA    ARNOLD                       GA     90012562671
8119B862497138   ROBERTO      BANEY-MATEOS                 OR     90011028624
811B126298B168   JARED        HOOD                         UT     90014062629
811B12A2272B62   DARRYL       OWENS                        CO     90011322022
811B14A885B24B   BRANDY       FOX                          KY     90010014088
811B1785641275   LORI         DEAN                         PA     51040797856
811B1872957128   ISIDRO       MARCIA                       VA     81033138729
811B2227884325   NIKITA       OSBORNE                      SC     90006282278
811B2516333698   VINCENT      JOHNSON                      NC     90013545163
811B2532141262   AMBER        MENKE                        PA     90014605321
811B2565791979   WILMA        SUTTEN                       NC     17080615657
811B2623971977   LINDA        MENDOZA                      CO     38086686239
811B2637A9154B   JEANETTE     STEINEBACH                   TX     75099796370
811B2663691242   BEN          SCHWARTFIGURE                GA     90013086636
811B271735B145   KEVIN        BELL                         AR     90004417173
811B274125B388   MAYRA        AROCHE                       OR     44517777412
811B2835691969   JAMES        FLORENCE                     NC     90004338356
811B2987291837   ROSAIRO      LOPEZ                        OK     90010319872
811B316A657127   CARLOS       GARCIA                       DC     90011771606
811B3175547897   RACHANNA     EVANS                        GA     90012141755
811B3425397121   DAN          DRYDEN                       OR     90008964253
811B355528B168   VICTORIA     SANCHEZ                      UT     90013955552
811B3841772432   HARDY        HASE                         PA     90003818417
811B392A631437   TERON        FOUCHE                       MO     90002749206
811B399389154B   ERIC         PATRICK                      TX     90012909938
811B3AA1185936   EMBAMBI      LUKONGA                      KY     90014570011
811B4346851362   CONNELL      MOLLY O                      OH     90005183468
811B4746697133   JUAN         SANCHEZ                      OR     90012597466
811B476979712B   MARIA        JIMENEZ                      OR     90008677697
811B4836772B62   JOSUE        CORRAL                       CO     90014898367
811B484255B32B   ADRIANA      ANDERSON                     OR     90004048425
811B4A4A15B581   ATRELLE      GRAY                         NM     35059570401
811B5422661978   ELEASA       MARKS                        CA     90003634226
811B5771433698   MARGARET     AKINJOGUNLA                  NC     90005497714
811B6193872B33   EDUARDO      AVINA                        CO     33057331938
811B626A561928   PASCUAL      CRISTOBAL                    CA     46056292605
811B6367247897   JESSICA      ALEXANDER                    GA     90013273672
811B6387791979   KATHERINE    BECKWITH                     NC     17054073877
811B7252124B43   ROSA         FLORES                       VA     90007472521
811B774125B145   LARRY        HAMPTON                      AR     90009247412
811B838283B386   THOMAS       QUINN                        CO     33016713828
811B8493976B97   VANESSA      HERNANDEZ                    CA     90015334939
811B8521391837   HEATHER      BURT                         OK     90013945213
811B8547572432   TAMMY        ANDERSON                     PA     51052455475
811B8721485936   ALBERTO      CUMINGHON                    KY     90014757214
811B8953597133   CECELIA      PADGETT                      OR     90014819535
811B8A46741275   LINDA        HEFFLER                      PA     90009450467
811B9139491837   LISA         DIXON                        OK     21046641394
811B9436191979   ESTUARDO     MIRANDA                      NC     17012294361
811B9622541275   DAVID        DEL DUCA                     PA     90013036225
811BB23465B153   VICTOR       SMITH                        AR     90005022346
811BB44125B24B   BRIDGETTE    HENDERSON                    KY     68002344412
811BB668872432   JASON        LOCKOSKI                     PA     51074916688
811BBA16591242   JOHN         ALDERMAN                     GA     90014160165
811BBAA4693771   PAMELA       COGGIN                       OH     90014090046
812111A6241262   LINDA        KUDRAV                       PA     51050941062
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1092 of 2350


8121148219154B   LAURA        ORTIZ                        TX     90000794821
81211AA4472B99   DENISE       STAFFORD                     CO     90014020044
81212119A91979   CHRISTIAN    ROSS                         NC     17094931190
8121215695B32B   HEIDI        REHDER                       OR     44527411569
8121269325B145   MELISSA      MURDOCK                      AR     90012276932
81212A69A91837   KARLA        GALLOWAY                     OK     90005690690
8121318817192B   MAIRIN       DUNSHEE                      CO     32041671881
8121352A65753B   TESSIO       REA                          NM     90013835206
81213739772B44   SERGIO       GOMEZ                        CO     90014377397
8121383629154B   MERCEDES     TREJO                        TX     75059888362
81214148397B3B   VINCENT      A MEDINA                     CO     90010721483
8121431859712B   SHAWN        GREER                        OR     90009503185
8121449376194B   MARK         D.WIGHTMAN                   CA     46078844937
8121474755B24B   GEORGE       THOMPSON                     KY     90014427475
81214862297B3B   KRISTINA     PETERSON                     CO     90011838622
8121514A45B183   ASHTON       DANIELS                      AR     90015031404
81215277A9712B   MARLEE       NORRIS                       OR     90009752770
81215A64193771   MADDISON     ABSTON                       OH     64516270641
812163A8A93771   JANICE       GREENLEE                     OH     64523033080
8121695494B22B   BRANDON      GRANT                        NE     27065819549
8121735288B168   MEGHAN       BLACK                        UT     90009373528
8121752715B153   JOLIANE      ALSTON                       AR     23051605271
81218916176B82   ANDREA       MATUTE                       CA     90012499161
81218918A97B3B   SALLY        MARTIN                       CO     90000199180
81219724A97138   KALISTUS     MACKLEEN                     OR     90009847240
81219794197B38   RAMON        POMPA                        CO     39067097941
812197A4833698   SHERI        WALKER                       NC     90009327048
8121B269A51362   NATALIE      SHEPPARD                     OH     66094672690
8121B284497B3B   AARON        OWEN                         CO     90014512844
8121B69615B161   LINDA J      BEALER                       AR     23094496961
8121B92958B163   CARLOS       SANCHEZ                      UT     31052629295
8121BA6375B371   ADELA        AVILA CONTRERAS              OR     90010710637
81221158A76B97   JOSE         MORALES                      CA     46086721580
81221425572B29   FELINA       MONTEZ                       CO     33047124255
8122221257B448   BRUCE        WEEKLY                       NC     11003272125
812222A6A72B44   CHRIS        ROBINSON                     CO     33048342060
812224A3372B29   HUMBERTO     SALAZAR                      CO     33098714033
8122261994B22B   KATHERYN     LAFFERTY                     IA     27021216199
81222A3459154B   MONIQUE      VARGAS                       TX     90002730345
8122333778B168   MATTHEW      SLATTER                      UT     90012703377
81223674472B44   STEVEN       HIX                          CO     90006416744
812238A8572B62   GEORGE       MONTELANO                    CO     90009668085
8122519782B271   CRISTOBAL    SILVA-CORTES                 DC     81017441978
81225A18247822   ROBERT       BATCHELOR                    GA     90012460182
81225A18A93771   TAMMI        GRANT                        OH     64582010180
8122622A28B168   ESI          FANGU                        UT     90010052202
81227441572B29   BRANDY       RAMIREZ                      CO     33099394415
81227449A72B33   PAMELA       MONTOYA                      CO     33046364490
8122758779185B   EVALYN       SISNEY                       OK     21065655877
81227634A84325   AGENIA       HABERSHAM                    SC     90006786340
8122784558B163   MATTHEW      GOAD                         UT     90012148455
812279A1772B62   KATHRYN      BOHMONT                      CO     90014299017
8122814A18B168   WILLIAM      BUBEL                        UT     31019201401
812288A1993771   ROBIN        LAZARO                       OH     90013618019
81228978572B33   SILVIA       CRUZ AGUILAR                 CO     90008309785
81229334476B65   ANGEL        SANTIAGO VELASCO             CA     46015873344
8122937615B183   KILA         BROWN                        AR     23094113761
8122953974B22B   DANA         TRAWICKI                     IA     90015185397
8122962455B145   CHRISTINA    KENNEDY                      AR     90013346245
8122964135B183   KIOMI        JOHNSON                      AR     90015466413
8122B28548B163   JAMES        BEAUCHAINE                   UT     31005852854
8122B37724B22B   MARIA        GAMACHE                      NE     90011313772
8122B461293771   CHRIS        TUCKER                       OH     90014324612
8122B558A8B154   JESUS        MONTES                       UT     90006355580
8122B594771977   VIRGINIA     MEDINA                       CO     90005265947
8122B94A297B3B   BENJAMIN     QUINTERO                     CO     90015449402
8123126218B154   SHAWN        BROWN                        UT     90014502621
8123157A691837   IRMA         FIGUEROA                     OK     90013945706
812317AA48B163   LEANN        RISER                        UT     31089657004
8123285685B32B   JOSH         BAIN                         OR     44568748568
81232952A47897   PAMELA       HILL                         GA     14071749520
8123324935B183   CAROLYN      BROOKER                      AR     23015102493
8123325722B28B   RAFEAL       HOLSTON                      DC     90006842572
8123346352342B   DAVID        BROWN                        OH     90009684635
8123358544B22B   NICHOLAS     PAONESSA                     NE     27086415854
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1093 of 2350


81233A2655B338   BREANNA       PIPGRAS                     OR     90014370265
8123412655B24B   PAMELA        DAVIS                       KY     68002021265
81234454797B21   RUTH          BARBER                      CO     39085654547
8123448679712B   JASON         MILLER                      OR     90013494867
81234A4868B131   MELISSA       FARNSWORTH                  UT     90006140486
812354A2955945   JOEL          ALDRETE                     CA     90013384029
81235AA818B168   REYNA         RIZO                        UT     90000200081
81236A4265B535   SASHA         HARPER                      NM     90012260426
81236A9515B568   LORE          CASAUS                      NM     35011430951
81237199197B3B   GUDELIA       GUERREROAPOLONIO            CO     39050321991
8123763A872B33   JAMES         CRONOBLE                    CO     90013066308
8123797595B24B   ALEXIS        SANTANA                     KY     90014769759
8123823798B163   ANDREW        ELLISOR                     UT     90000292379
8123825165B145   EDWARD        BLUEFORD                    AR     90011002516
81238415972B29   JASMINE       AGUILAR                     CO     90012454159
8123855655B32B   TREVOR        SMITH                       OR     90011715565
8123921136B191   KALLAI        THOMPSON                    MS     90014592113
81239444A72B29   TISHA         JOHNSON                     CO     33063394440
8123964698B154   TOMACITA      HERRERA                     UT     31073486469
8123B236193771   DIONNE        HOLLEY                      OH     90000932361
8123B721191525   DAVID         PARADIS                     TX     90006837211
8123B937676B65   MARYAH        HARWOOD                     CA     46003199376
8123BA58776B97   CESAR         MATIAS                      CA     90013570587
8124149223B354   PATRICIA      BECKER                      CO     90000624922
8124159A497B3B   EMILY         STEBNITZ                    CO     39086345904
812416A7741275   ANGEL         BENZ                        PA     51021926077
8124173435B581   CESAR         RODARTE                     NM     35030597343
81241851672B62   ASHA          RAI                         CO     90009888516
81242AA6172B44   BRITTANY      LOPEZ                       CO     90003800061
81243683397B38   ALYSSA        HENDRICK                    CO     90013646833
8124382654B967   HOSIE         DAVID                       TX     76578848265
81243893A91837   LAWANA        WALKER                      OK     21068068930
81243A49181666   VINCENT       GARRETT                     MO     29008260491
81244191376B65   MARISSA       MANGAYA                     CA     46081501913
8124425A351362   MARLENE       BRANDENBURG                 OH     90014232503
81244312997B3B   ALICE         JONES                       CO     90007453129
81244651372B62   RICHARD       SMITH                       CO     90015096513
8124471A99185B   RICKY         BALLARD                     OK     21029517109
81244A6A833698   MANUEL        VALDEZ                      NC     90015180608
81245188776B97   ANA           ZAMORA                      CA     46018551887
8124593455B24B   CORENA        LACY                        KY     90000429345
8124665385B32B   NATALIYA      MAZURENKO                   OR     90002356538
812467A9872432   HAROLD        LOAR                        PA     51084947098
812468A595B145   SHERRY        MCRAY                       AR     90014788059
81246A51297121   EMIGDIA       HERNANDEZ                   OR     90013970512
8124712928B163   DAMIAN        ADAMS                       UT     90011971292
81247312A5B183   PAMELA        DAVIS                       AR     90008423120
81247599A9154B   ANA           OLIVAS                      TX     90007455990
812478A955B581   ROBERT        WRIGHT                      NM     90001098095
8124848AA5B581   BIBIANA       SEGOVIA                     NM     90011414800
8124884A15B145   BRITT         KERSH                       AR     90011348401
8124B142597121   PAOLA         JARAMILLO-MORALES           OR     90009261425
8124B32982B28B   TIFFANY       BARNES                      DC     90008763298
8124B745572432   ERIC          HIGGS                       PA     90015107455
8124B92A84B22B   BRANDY        GERREN                      NE     27026399208
8124BA8645B32B   HOANG         THOMPSON                    OR     90010090864
81251AA9577537   CARLOS        GONZALEZ                    NV     90013760095
8125278515B338   MAELEEN       TUPUA                       OR     90001977851
81252A2195B24B   LAKEISHA      SMITH                       KY     68034910219
81252A9A191242   PAYGO         IVR ACTIVATION              GA     90014210901
81252AA4A91975   EDGAR         SANTANA                     NC     90012980040
81253919676B97   KORRINA       VILLALOBOS                  CA     90013269196
81253A88A5B183   MYIKA         YOUNG                       AR     90014770880
812544AA393771   MICHELLE      DEWBERRY                    OH     90011454003
8125457875B32B   MELISSA       FRONK                       OR     90011715787
8125471188B168   BERNICIA      BENNETT                     UT     90000907118
8125476A55B581   CALGARY       MAEZ                        NM     90014107605
8125518498B163   MEGAN         HASKINS                     UT     31096431849
8125558327B48B   LUIS          UBALDO                      NC     11059575832
81255829397B38   ROSALINDA     RODRIGUEZ                   CO     90010178293
81255834597B3B   ADAM          WARD                        CO     90015138345
81255A65397133   MA TRINIDAD   TORRES RAMIREZ              OR     90013580653
81257345A51362   GORGE         ESKOBADO                    OH     90011983450
8125747A276B97   MARIA         HERNANDEZ                   CA     90002884702
81257534676B65   IVETTE        GURROLA                     CA     90007245346
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1094 of 2350


81257657A47822   YOLANDA       STUBBS                      GA     90009536570
8125844A161978   IVAN          PLATE                       CA     90000944401
8125845A672B44   JENNIFER      REED                        CO     90013714506
81258551976B65   PAULA         HERNDEZ                     CA     90011005519
812585A4572B62   ELIZABETH     KOCH                        CO     33049655045
81258851897B38   JOSEPHINE     YBARRA                      CO     39096848518
81259342772B44   DIANE         LEDESMA                     CO     90012443427
81259565A47897   TAMESHA       BALTHROP                    GA     90014885650
81259916697B3B   COLLIN        KLAUSNER                    CO     90013459166
81259A37691242   TRACY         FORDHAM                     GA     14587490376
81259A82672B33   ELSA          JOHNSTON                    CO     33059170826
8125B315597121   SHELLY        KAHLES                      OR     90010133155
8125B35A45B24B   LATISHA       RHODES                      KY     90010883504
8125B67565B183   ESWIN         MOTTA                       AR     23081846756
8125B813177537   JUNE          MILLIGAN                    NV     43026408131
8126132985B145   CAROLYN       HILL                        AR     90010253298
81261885497B3B   MELISSA       HOLTSCLAW                   CO     39089488854
812619A518B163   ANDREA        KAHN                        UT     90006209051
81261A34251365   CHRISTA       BRYANT                      OH     90013030342
8126273877B851   VERONICA      REYES                       IL     90012437387
81262815497B38   CARRIE        SCHREINER                   CO     39037418154
81262A34397121   JANET         HUNT                        OR     44034500343
8126325A85B153   ELIZABETH     SMALL                       AR     90007262508
81263677772B44   GONZALEZ      GONZALO                     CO     33083896777
812636A5A91975   FRADIQUE      CRUZ                        NC     17077776050
8126377478B162   STEVEN        MCKINNEY                    UT     90007947747
81263A8A69712B   AMY           MAJORS                      OR     44030580806
8126439175B145   JENNIFER      KEMP                        AR     23015133917
81264529572B44   CARLA         VENIEGAS                    CO     90014025295
81264636A47822   KATHERINE     CHAMBLISS                   GA     90013296360
8126599A691975   KENTON        MYERS                       NC     90010829906
81265A96585936   COLTON        ROBINSON                    KY     90009670965
8126623134B22B   MICHAEL       HENDERSON                   NE     90014502313
8126756A38B154   ALEX          TAYLOR                      UT     90013065603
8126773818B154   MURPHY        STEVE                       UT     90009517381
8126794535B24B   DELORIS       BRAXTON                     KY     90014889453
81268436A41275   THEO          BUTLER                      PA     90012984360
8126871815B183   DANNY         THOMPSON                    AR     23090167181
8126871A691242   ALBERTO       FLORES                      GA     14500707106
81268745672B29   JUAN          VALLE MACIEL                CO     33005907456
81268A28233698   RAHONDA       BARNES                      NC     90014930282
81268A3AA51362   TAYLOR        RUSSELL                     OH     90014810300
81268A54A8B163   DANIEL        VASQUEZ                     UT     31027090540
8126943939712B   RICKY         FAIRCLOTH JR                OR     90013634393
812696A569154B   JOHNNY        FLORES                      TX     90012856056
8126974695B139   SHERRLYN      JUAREZ                      AR     23088067469
8126B687155945   OLGA          LOZANO                      CA     49086586871
8127141159154B   MARIO         GONZALEZ                    TX     90012294115
81271431A51362   ANTONIO       BROWN                       OH     66067384310
81271A41861928   JOSE          AGULIAR                     CA     46005710418
81272536A72B62   JIM           MILLARD                     CO     33008345360
8127391148B145   JUAN MANUEL   GOMEZ OLMEDO                UT     90009759114
8127561815B581   VANITA        GREEN                       NM     35003566181
81275A64372B44   ELTON         ROSALES                     CO     33042910643
81275A8256198B   EDWARD        ZAYZAY                      CA     90007890825
8127615795B183   RIGOBERTO     MONTIEL                     AR     23077261579
81276416872B62   MICHELLE      PASILLAS                    CO     33042124168
812766A9472B29   WILLIAM       HIX                         CO     90010966094
8127676A191975   DAYSHAWN      BECTON                      NC     90013207601
8127694792B228   EMOGENE       MCNEILL                     DC     90012349479
8127738395B139   IESHA         PACE                        AR     23019973839
812783A3372B44   RETA          MCDANIEL                    CO     33011023033
81278511872B33   MARIO         PORTUCHIGO                  CO     90000465118
81278764A85856   AMBER         KLEIN                       CA     90012037640
8127881445B338   JIM           JONES                       OR     90005138144
8127949A885936   CHABLIS       MURRAY                      KY     90015204908
81279874A93771   HERBERT       HOLMES                      OH     90005748740
8127B347A97133   AMBERLEE      ROGERSON                    OR     90014613470
8127B883572432   JODY          MCMANUS                     PA     90004148835
8127BA74A55945   JOSHUA        WARD                        CA     90011410740
8127BA77791242   THOMAS        SCOTT                       GA     90010880777
8127BA92A8B154   ZACHARY       PAULEY                      UT     90015310920
8128177A89154B   GUTIERREZ     JACQUELINE                  TX     90013217708
812819AA797138   SHEILA        WAFER                       OR     44012039007
81281AA7A5B153   BELITHA       COUNTS                      AR     23040200070
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1095 of 2350


81282356576B65   ELIZABETH    LOPEZ                        CA     46084753565
8128255A65B183   ALLEN        ANDERSON                     AR     90012885506
812826A8972B44   DANNA        MOLLEDA                      CO     90006846089
81282A69155945   SHANNON      WILLIAMS                     CA     90014790691
8128315765B35B   ISMAEL       ARROYO                       OR     90008741576
81283618A91242   DYMANE       ROYAL                        GA     90014166180
8128388774B22B   SHANE        OKNEWSKI                     NE     27098798877
8128399899712B   AMBER        ROBERTSON                    OR     90006579989
8128399A172B29   LARRY        MILLER                       CO     90009999901
81283A36931449   SARA         SABATINO                     MO     27594410369
81283A66451362   KATHLEEN     COMBS                        OH     66008710664
81283A9975B24B   CAITLIN      ROBGERS                      KY     90012330997
8128462914B22B   JANET        VANDEVENTER                  NE     27090766291
8128485A792884   MICAH        PALS                         AZ     90015498507
81284AA4693771   PAMELA       COGGIN                       OH     90014090046
81284AA6297B38   DELLA        MARTINEZ                     CO     90014740062
81285394A72B29   BETTY        DILLEY                       CO     90014273940
812854A3A72B93   APRIL        WALLACE                      CO     90011254030
81285945176B65   CARMEN       VERA                         CA     46072709451
81285AA6447822   YOLANDA      SANPEFUR                     GA     90003000064
8128629A291975   KATRINA      DEBNAM                       NC     90011082902
812873A9391837   MICHEAL      DAVISON                      OK     90010143093
8128742A38B168   ALEX         VILLARREAL                   UT     90014424203
8128765A871977   ELIZABETH    HALL                         CO     90014336508
8128843399154B   VICTOR       REY                          TX     75007164339
8128886415B24B   JEFFERY      ROBERTS                      KY     90014728641
8128959115B153   D            MARTIN                       AR     23075365911
8128966395B183   BRIANNA      JOHNSON                      AR     90014866639
8128B112491979   PAMELA       WHITLEY                      NC     90014991124
8128B2A7676B97   JANA         MCGRAW                       CA     90011322076
8128B319671977   N            ANDERSON                     CO     38060173196
8128B773797B3B   MIGUEL       GALVAN                       CO     90009987737
8128B847776B97   MARUBIN      MIJARES                      CA     90015228477
8129139115B32B   JEFF         HOWARD                       OR     90000303911
81291829176B97   CHRISTIAN    MENDOZA                      CA     90014598291
81291A4979712B   KORTNEE      STEPHENS                     OR     90014320497
81291A88497121   DERIKK       K STAPLETON                  OR     90012530884
8129212854B22B   FERNANDO     SUASTE                       NE     90012591285
81292527376B97   JESSICA      MIGUEL                       CA     90009655273
8129276152B246   REGINA       HUTCHINSON                   DC     90004227615
81292844A91837   THOMAS       AYERS                        OK     90010178440
81292A25197133   DANLYA       HART                         OR     90014210251
81292A7A75B145   SHARON       LUTON                        AR     23028090707
81293989572B44   MELISSA      SHEARER                      CO     33030349895
8129399AA5B24B   AIMEE        MAYS                         KY     90015219900
8129478655B32B   KARA         CHURCH                       OR     90014577865
81295AA3872B44   BRIAN        BEAN                         CO     33018200038
8129667A391242   DANIEL       EDENFIELD                    GA     90014166703
81296A7A75B145   SHARON       LUTON                        AR     23028090707
81297242397B3B   ARGELIA      TARANGO                      CO     39070182423
8129726488B163   KARLA        HERNANDEZ                    UT     90013752648
812975A2397133   RUBEN        DELGADO                      OR     90002365023
81297684A91528   LUIS         PEREA                        TX     90009876840
81297825A41275   SCOTT        MCVICKER                     PA     51006578250
8129812189154B   TERESA       FACIO                        TX     90011071218
8129834A793771   ANCIONETTE   BROWN                        OH     90011713407
8129896934B22B   COLLEEN      WALLACH                      NE     27045529693
81298A8A491975   YALANDA      DAUGHERTY                    NC     90013640804
8129937825B32B   LIANDA       HOLT                         OR     44526053782
8129944A731469   JOSEPH       MYERS                        MO     90012524407
81299557976B97   HECTOR       VALDEZ                       CA     90015095579
81299628172B62   VLADIMIR     ESPARZA                      CO     90012916281
81299A6638B154   DESIREE      JEWETT                       UT     31034820663
8129B34345B183   SHAKENNA     WILLIAMS                     AR     90012213434
8129B35349154B   AVELINA      GARCIA VIGIL                 TX     90013723534
8129B384A72B33   JOSEPH       BAVENDER                     CO     33084573840
812B114927192B   DYTANIA      ROBINSON                     CO     32065821492
812B1217397B3B   SYLVIA       STORIE                       CO     90013922173
812B1318576B65   FLORENTINO   SANTIAGO                     CA     46045643185
812B1626872432   JAMES        JACKSON JR                   PA     51006856268
812B173A791525   VICTOR       CAMARGO                      TX     75016927307
812B175A997138   KEVIN        MAWHINNEY                    OR     44013907509
812B185475B183   SHELLY       SIMPSON                      AR     90011178547
812B1A93891979   CARLOS       MONTECILLO                   NC     90006900938
812B241A59154B   PERLA        LACAYO                       TX     90012294105
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1096 of 2350


812B247135B24B   MATTHEW      TOOGOOD                      KY     90011894713
812B34A2197B38   FRANCISCO    GONZALEZ                     CO     90008944021
812B3551651362   SHAWNDEEN    LEVINS                       OH     90013065516
812B426A29154B   DESIREE      GARCIA                       TX     90014302602
812B44AA77192B   AARON        MAW                          CO     32041674007
812B4553891837   NIKKI        ROCKER                       OK     90013945538
812B4648491975   JORDAN       WINSTON                      NC     90010656484
812B499435B32B   LETICIA      HERNANDEZ RAMIREZ            OR     44568999943
812B4A34491979   ASHLEY       TEMPLE                       NC     90015160344
812B4A9622B28B   JOSEPH       MARBURY                      DC     90009250962
812B5178572B29   FRANCISCO    CASTILLO                     CO     90003521785
812B5257371964   DALE         HUGHES                       CO     38002612573
812B5293791979   JONATHAN     SALES                        NC     90014132937
812B52A9772B44   RALPH        ESPINOZA II                  CO     33050872097
812B5431155945   ANGELINA     DUARTENUNEZ                  CA     49075224311
812B548989712B   DANAE        PANGBURN                     OR     90011554898
812B586A891975   JEFFREY      COLE                         NC     90004208608
812B5A1A472B62   PEDRO        GUTIERREZ                    CO     33027520104
812B6139672B44   RUBEN        MENDOZA                      CO     33005631396
812B613A25B32B   TAYLOR       ROBSON                       OR     90015121302
812B618845B24B   TASHA        GADDIE                       KY     90000261884
812B6829485936   DESTINY      RITCHIE                      KY     90012628294
812B6A67297133   EMITERIO     MOLINA CARRANZA              OR     90013150672
812B723645B581   JANEA        GREVING                      NM     90011942364
812B743A691525   LAURA        MUNOZ ACOSTA                 TX     75090994306
812B7444391242   WARREN       MUTCHRESON                   GA     90014914443
812B7817377537   HANK         JOHNSON                      NV     43075078173
812B7927971977   MARK         APODACA                      CO     90015199279
812B8233551382   PAMELA       BROWN                        OH     90009492335
812B8247197B3B   DANIEL       DAVID                        CO     90010952471
812B85A228B163   ALFREDO      CASTRO                       UT     90014355022
812B8851A91979   CASSIE       STRATON                      NC     90014138510
812B8A4A76197B   MAURICIA     ESTRADA                      CA     90010040407
812B9159876B97   JOSE         BLANCAS                      CA     90014961598
812B9298693771   DENISE       GREGORY                      OH     90014702986
812B936258B168   DANNA        CHRISTENSEN                  UT     31021473625
812B9397697B3B   AMANDA       GLESMANN                     CO     90012653976
812BB378A93771   WENDELL      GLOVER                       OH     64525073780
812BB563972432   BROOKS       JOHNSON                      PA     90005495639
812BB569472B44   RED          FREEMAN                      CO     33059475694
812BB615281672   CAREN        BOLLING                      MO     29001326152
812BB944591979   STEPHANIE    LESLIE                       NC     90004069445
812BBA6628B168   BRIDTER      BAIRD                        UT     90014310662
8131137A531697   ISAIAS       GRACIANO - MARTINEZ          KS     90006593705
81311519A72B44   GERARDO      DORADO                       CO     90012065190
8131157615B24B   INDIA        WEDSTER                      KY     90014715761
8131396577B44B   SHAAKIRA     GILL                         NC     90014129657
8131398648B154   JESUS        GARIBAY                      UT     90010779864
8131425918437B   GINNY        BROWDER                      SC     90009462591
81314735597B3B   SARAH        ZARATE                       CO     90012797355
813159A3231433   DEHZEL       DICKSON                      MO     90006509032
813162AA39154B   ESTHER       IBARRA                       TX     75032132003
8131639AA8B154   RAMIRO       GARCIA                       UT     90014813900
8131667A197138   NORMA        GUZMAN                       OR     44068946701
8131714719154B   LUZ          RIVERA                       TX     90009471471
81317392A8B168   OLIVER       QUENARD                      UT     31090193920
81317526297B38   ELIZABETH    MELENDES                     CO     90000455262
8131812A685856   LUIS         MENDOZA                      CA     90014271206
8131827797B445   STEVEN       EVANGELIST                   NC     11084792779
8131863A885856   AIOTEST1     DONOTTOUCH                   CA     90015116308
81318759472B62   CATHEYN      COBOS                        CO     90009267594
81319792A93771   STEVEN       BEASLEY                      OH     90014827920
8131B454297B38   JESSICA      SCHNEIDER                    CO     90011544542
8131BA6818B163   ADRIANA      HERNANDEZ                    UT     90014850681
8132136A272B33   STEPHANIE    WHITE                        CO     90012383602
813214A4371977   BENJAMIN     RAYGOZA                      CO     90004304043
81321A4789712B   MARY         CARR                         OR     90009720478
81322A4789154B   JAIME        AV ILA                       TX     90003750478
81323836697B38   CHRISTOPHE   RAMOS                        CO     39050178366
81323A68497138   CHERIE       MULLINS                      OR     90012240684
8132439712B271   JOSE         ALFARO                       DC     81038903971
81324621197B3B   STEVEN       CORDOVA                      CO     39060016211
81324A35577537   GUADALUPE    FLORES                       NV     43077010355
81324A75383246   LETICIA      CABRERA                      NC     71016470753
81325A91397B3B   JAMIE        ESTERGUARD                   CO     39015900913
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1097 of 2350


8132612868B163   DERRICK               JONES               UT     90009571286
8132648579154B   RAMIREZ               KEILA               TX     90012604857
81326A1678B188   BECKY                 SOLIS               UT     90003380167
81326A34172B62   ROGER                 BUZARD              CO     33000980341
813272A6372B29   LUIS                  RODRIGUEZ           CO     90012652063
81327384672B44   JOSE                  PENA VALDEZ         CO     90013513846
813273A346194B   GONZALEZ              MARICELA            CA     46052543034
8132784324B255   GWENDOLYN AND ROGER   JONES               NE     90011178432
81328436672B33   RICARDO               ARREOLA             CO     90001294366
8132844662B257   DESIREE               BYGRAVE             DC     90004684466
8132857244B22B   SHARON                HAWKINS             NE     27030465724
8132868A85B183   BRIANNE               MORRIS              AR     90001826808
8132887225B32B   RICHARD               HOVERKAMP           OR     44591968722
81328A46797B38   INEZ                  LAJPOP              CO     90013850467
813293A8497138   AMBER                 WEED                OR     90010233084
81329662797B38   RYAN                  NEUENBERGER         CO     90010756627
81329897572B33   DEBORAH               MAUNAKEA            CO     90011408975
81329A71551362   REBECCA               VONRISSEN           OH     90014240715
8132B21824B22B   SARAH                 HILLMAN             NE     27086492182
8132B539772432   CHRIS                 ZENNER              PA     51007085397
8132B637797133   XOCHIL                MARTINEZ            OR     90012116377
81331A9495B32B   DEVIN                 ROBETRS             OR     90001010949
8133213A491837   DEBRA                 RODRIGUEZ           OK     90014701304
81332378672B33   ROMAN                 MIRANDA             CO     33092473786
8133251912B271   CHARLES               WILLIAMS            DC     81098085191
81332945A72B27   DAVID                 RAMIREZ             CO     90012809450
813329A9197133   GERARDO               LOPEZ MARTINEZ      OR     90013789091
8133322935B24B   MICHAEL               MILLS               KY     90011072293
813332A7A4B967   JANICE                KELLY               TX     76587512070
8133344A597B3B   ASHLEY                HIGINBOTHAM         CO     90008924405
81334172972B33   ROSALINDA             LOPEZ               CO     33003151729
81334819597B38   JOEL                  RAMIRES             CO     39082918195
8133499A147897   SHAMEAKE              SLAUGHTER           GA     14017259901
813351A4491975   DESIRE                BASS                NC     90015201044
8133631125B183   LAQUISHA              HILL                AR     23069363112
8133631149712B   TESSA                 SPENCER             OR     90012333114
8133641792B956   JORDAN                STANLEY             CA     45096514179
8133644A493771   CHAROLETT             SEARLES             OH     64561934404
813364A1A5B24B   DORIS                 DILLON              KY     68068084010
813365A589154B   CLAUDIA               AGUIANO             TX     90012875058
813366A724B524   DON                   MCCELHANEY          OK     21549966072
8133688A876B97   ANDREA MICHELLE       MONTANEZ            CA     90012938808
81337255972B33   KATHY                 SYMALLA             CO     33007572559
813384A934B967   ANNE                  DRUMMOND            TX     76542594093
8133859665B183   LAUREN                LEWIS               AR     90015005966
81339178A47822   SAMANTHA              LANGFORD            GA     14091011780
8133934128B136   AMY                   WAUGAMAN            UT     90010953412
81339A22493771   MELISSA               MCCONNELL           OH     90004700224
8133B254457132   MARTHA                SAMAYOA             VA     90014362544
8133B883147822   PATRICK               HOWARD              GA     90014258831
81341366A97B38   CANDY                 GONZALEZ            CO     39064203660
8134193184B22B   CINDY                 PICKENS             NE     90005379318
8134238148B154   DALE                  STANLEY             UT     31087683814
8134238875B581   VICTORIA              PAULOS              NM     90011413887
8134239738B168   DANI                  FANCHER             UT     90015033973
81342496A61978   LOUISE                HANSEN              CA     90000224960
81342926A76B97   ESTEBAN               SOTO                CA     90011059260
81342A83A51362   DEBORAH               ERICSON             OH     90014240830
81342A91472B44   TRACY                 DELGADO             CO     90013780914
81343194197B38   JILL                  LOPEZ               CO     39052621941
81343854572B44   CHERISH               HEINRICHS           CO     90003918545
8134389A841262   SHANNEN               KOHLMEYER           PA     90002538908
81344147172B33   AMPARITO              MONTECINO           CO     33017841471
81345431876B97   ALEJANDRA             MIRAMAR             CA     90014104318
8134547A655945   LEE                   VANG                CA     90007764706
81346482A57531   CODY                  BONDS               NM     90015374820
8134655AA71977   LONNIE                MARKUS              CO     38035515500
81346562476B65   MARIA                 VILLANUEVA          CA     90010315624
8134658348B192   JONI L                GOODMAN             UT     31015515834
813465A918B168   JOSE                  BORBON              UT     90013045091
8134713415B24B   JESSICA               WIGHT               KY     68081711341
81347773197B38   RUDY                  LUJAN               CO     39081187731
81347A83A51362   DEBORAH               ERICSON             OH     90014240830
81348A8689154B   HECTOR                RODRIGUEZ           TX     90009030868
8134927155B32B   ROBERT                KEATING             OR     90014542715
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1098 of 2350


81349846A72B29   AMY          HERN                         CO     90005598460
813499A6577537   TINA         SMITH                        NV     43050069065
81349A1AA7B248   SHANEA       ACEBAL                       UT     90010210100
8134B112351362   NATALIE      BAINUM                       OH     90011641123
8134B36A497133   BRANDON      WELLOCK                      OR     90008873604
8134B439197138   RACHEL       LAMBRIGHT                    OR     90012814391
8134BA83A51362   DEBORAH      ERICSON                      OH     90014240830
8135142215B183   CURTIS       PANGLE                       AR     23055334221
8135194789154B   MIGUEL       CRUZ-LARA                    TX     90012689478
81351965376B97   JUANA        MEDINA                       CA     90014889653
81352132A85936   TERESA       CRUZ                         KY     90010111320
8135258488B163   ROMERO       LAWRENCE                     UT     90012295848
8135264978B154   TYLER        FEATHERSTONE                 UT     90012876497
8135273A797133   ANABELLA     CORTEZ                       OR     90012687307
81353213972B33   BERTHA       HERNANDEZ                    CO     90005492139
8135333885B32B   ALFREDO      MARQUEZ                      OR     90010593388
81353455776B97   NANCY        RANNEY                       CA     46010474557
8135397A897133   TRINITY      MACIAS                       OR     90014449708
8135415388B163   CODY         WARR                         UT     90010081538
8135415785B32B   TONYA        WALLACE                      OR     44509611578
81354781972B62   ISAAC        RAMON                        CO     90013707819
8135478A191525   GUATAVO      SALINAS                      TX     90003957801
81354A6258B154   NABOR        MARTINEZ                     UT     90006320625
8135522AA4B967   STEVE        CARTER                       TX     76567912200
81355387A72B62   RONALD       MARTIN                       CO     90013403870
813553A958B154   SHANE        KING                         UT     90007753095
8135547274B22B   VILMA        LORENA                       NE     90009844727
8135559175B581   CHRISTINA    NELSON                       NM     35043675917
81355797A76B97   DOMINIQUE    FARD                         CA     46046217970
81355A93441275   RAYMOND      LECH                         PA     51037550934
813562A5571977   JOEL         LUNA                         CO     90015482055
8135669894B22B   CURTIS       DE VOOGHT                    IA     90013236989
8135682245B581   KEVIN        SELLERS                      NM     35087248224
81357314572B44   FISHER       WAYNE                        CO     33039063145
81357681A61928   ADRIAN       MEDINA                       CA     90005176810
8135785755B24B   TAMARA       WALKER                       KY     90009068575
81357A3A36194B   BILLY        DAUCTHER                     CA     90009600303
81357A6118B163   TIALA        TUPOLE                       UT     90014880611
81358313597B38   ANGELINA     GUEVARA                      CO     90013773135
8135851235B32B   MISTY        DUNCAN                       OR     90013495123
81358716576B97   JULIETA      ENRIQUEZ                     CA     90010817165
8135885185B24B   BRYAN        MORRIS                       KY     68002518518
81358A5239712B   JEREMY       CARTER                       OR     44047680523
8135916A997121   LUZ MARIA    CASTANO                      OR     90009131609
81359839872B33   JOSHUA       MCMILLAN                     CO     90014158398
81359A78731655   KHAMKHONG    KHAMVILAIVONG                KS     22062120787
8135B421884325   MARCELINO    MORALES                      SC     90011714218
8135B48A75B32B   EDDIE        RAMIREZ                      OR     90013744807
8135B496576B97   MINA         SANDOVAL                     CA     46005374965
8135B611255945   NOE          FLORES                       CA     90012826112
8135BA8A651362   BREYANA      BAINES                       OH     90010660806
8136131A172B33   ELIZABETH    PANKEY                       CO     33094523101
8136141459154B   JOSE         GARCIA                       TX     90014864145
8136211469712B   MEGAN        GENTHNER                     OR     44069491146
8136257A272B29   JESUS        RIVAS                        CO     33047795702
81363232872B44   MIKA         GILBERT                      CO     90011602328
81363A93972B62   FELICIA      HERNANDEZ                    CO     33058410939
8136449849712B   ADILENE      MALDONADO LANDA              OR     90013564984
813645A6391242   FREDDIE      JAMES                        GA     90011675063
8136547459712B   JAMES        GRAY                         OR     90010004745
81365819A97B3B   RODRIGO      BERUMEN-MAYORGA              CO     39091378190
8136586475B24B   MICHAEL      FREDERICK                    KY     90007898647
8136599A872B44   SERGIO       HERNANDEZ                    CO     33017989908
81366869772B44   VENDETTA     FERGUSON                     CO     33005408697
81366A3628B154   LUIS         TREJO                        UT     90006410362
81366A74691837   AMYULLE      REED                         OK     90009490746
813672A7997121   LETICIA      SMOTHERMAN                   OR     90011872079
8136787749154B   DIANA        SANCHEZ                      NM     90013948774
81367A5555B153   TAMIKA       WESTON                       AR     23087510555
81367A5A591242   KEANNA       CLARK                        GA     90014810505
8136877A597121   JOSE         BERMUDEZ                     OR     44077597705
8136882145B581   LORELLA      MIERA                        NM     35018218214
81369314476B97   SONIA        CALL                         CA     46016893144
8136957845B24B   DANNY        CLYMER                       KY     90014715784
8136B298291975   MARKUS       LLOYD                        NC     90014572982
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1099 of 2350


8136B699855945   RODOLFO         TORRES                    CA     90014156998
8136B755272B33   JAQUELINE       FLORES                    CO     90011877552
8136B963772B44   SANDRA          DELANEY                   CO     33076849637
8137133A65B24B   CHIP            BARKER                    KY     68042443306
8137138218B163   TIFFANI         LALOR                     UT     90014993821
81371967272B44   ALONSO          OCHOA                     CO     90015039672
81371A84472B44   JAMES           VAUGHN                    CO     90012790844
8137278938B168   DIANNE          FRENCH                    UT     90003377893
81372A2A15597B   LEONA           DENNISTON                 CA     49095670201
813733A9672B62   JANINE          BROWNE                    CO     90014713096
81373623A41262   KESHA           PRATT                     PA     90014626230
8137381A754B53   CAROLINA        MAITHA                    VA     90010658107
8137411375B183   BRITTANY        GALLON                    AR     90011511137
81374655A41262   THOMAS          SOMMERS                   PA     51014586550
8137486569154B   GUADALUPE       RUIZ                      TX     75086178656
8137487745B386   MARIELA         DELGADO-MOLINA            OR     90007588774
8137515A976B97   GUILLERMO       GALAN                     CA     46078831509
81375248A5B183   MICHAEL         MORIARTY                  AR     90002812480
813753A3161928   JEAN            GAY                       CA     90010223031
81375524272B44   JESSICA         TENORIO                   CO     90014135242
81375AA135B24B   STEPHEN         DINGUS                    KY     68066330013
8137672815B921   STEPHANIE       GARCIA                    ID     41089597281
8137672A885856   ERIC            TAJANLANGIT               CA     90010067208
81376A95A9373B   MIKE            GULDICE                   OH     90008200950
8137722A58B163   BOBBY           RIDGWAY                   UT     90013892205
8137837959154B   ANDRES          DURAN                     TX     90014853795
81378962572B44   ISAIAS          NAVA                      CO     90013899625
8137898224B22B   AMY             KISER                     NE     90009509822
8137926892B981   JOHN            NEWKIRK                   CA     90012012689
81379281A31445   PACHELLE        CHATMAN                   MO     90006442810
81379887A41266   MATTHEW         WILSON                    PA     90009778870
8137991138B145   ROBERT          ZANONE                    UT     90004039113
8137B346991975   CECILLI         GREEN                     NC     90012133469
8137B381497133   ROBERTO         CORTEZ                    OR     90013963814
8137B625891242   BOBBY           AWTREY                    GA     90015136258
8137B65468B154   RILEY           LATIMER                   UT     90013536546
8137B998197121   CLARKE          SCRUGGS                   OR     90013259981
8137BA2A571977   JOHN            MAESTAS                   CO     38080260205
8137BA7348B163   SAM             NORRISON                  UT     90015190734
8138151A25B183   MITTIE          MOODY                     AR     90009175102
81381764A72432   LINDSEY         CHRIST                    PA     90013107640
81382A75191242   SHAWANA         PINKSTON                  GA     90013400751
81383445272B44   JUANA           ROMERO                    CO     90012334452
8138391955B581   DARLENE         BARR                      NM     35007059195
81383A25247822   KIMBERLY        DESHAZIER                 GA     14094100252
8138419288B154   VALERIE         NORTH                     UT     90004651928
81384593A77537   NANCY           TEDDER                    NV     90003505930
81384967697B3B   KELLY           VASQUEZ                   CO     90010909676
81385311497B3B   LYNNE           MILLER                    CO     90007203114
813853A485B183   GLINDA          JOHNSON                   AR     90011073048
81385659676B97   TIFFANIE        PONSELL                   CA     90013096596
8138586168B168   PERLA           LOPEZ                     UT     90005188616
81386A4519154B   CESAR           LOPEZ                     TX     75028590451
81386A7198B168   MIRANDA         COHO                      UT     90013270719
8138817915B581   YVETTE          ABEYTA                    NM     90013811791
81389189297B38   KAYLA           CASARES                   CO     90013411892
8138918A897B38   ERICA           CASARES                   CO     90004431808
8138966218B18B   RAQUEL          MARTINEZ                  UT     90009816621
813899A4385936   JANE            ELSHAWA                   KY     90013989043
81389A8759154B   ALBERTO         LOPEZ                     TX     90006100875
8138B213A97121   MARTHA          RAMOS                     OR     44078522130
8138B337491837   CLARENCE        WARD                      OK     90006813374
8138B482872B62   STACY LATRICE   VIRGUES                   CO     90011034828
8138B54419712B   MARIA           RIVAS                     OR     90012095441
8138BAA1885936   GONZALO         AVILA-CATALAN             KY     90015080018
8139161A53B391   CLARE           WOLLENHAUPT               CO     33032596105
813917A425B32B   RICKY           ONAMAUR                   OR     90014367042
81391A43A5B24B   CHRISTIN        CARISLE                   KY     90011150430
81391A75972B44   MIRIAM          FIERRO                    CO     33018390759
8139236999154B   JAZMIN          CORRAL                    TX     75087573699
81392972A71977   DIRK            CRAWFORD                  CO     38005559720
8139323A571977   DANIELLA        ENCISO                    CO     90014712305
8139335844B22B   RADIA           TAGOURI                   NE     90011463584
8139357325B24B   JENNIFER        ELLIOT                    KY     90002625732
81394412776B97   PETER           INGRAM                    CA     90001894127
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1100 of 2350


8139475967192B   SERGIO                GOMEZ               CO     32060747596
8139483445B183   JENIFER               FORREST             AR     23017958344
81394998472B44   JENGLE                SCHMITT             CO     90013159984
81394A19271977   JEREMY                EDEN                CO     90012780192
81394A74172B62   JAVIER                COSTILLA            CO     90009970741
81395812A55945   ELSIE                 PANIAGUA            CA     90012728120
81396128572B29   MARILYN               BELTER              CO     90009411285
8139633572B28B   KAREN                 REYES               VA     90005583357
8139633989154B   ROBERTO MARKS         GARCIA TORRES       TX     90009093398
8139656946194B   LES                   BLAIR               CA     46012115694
81396713797B38   ELIZABETH             ESPINO              CO     90011397137
813969A4997133   HEATHER               WILSON              OR     90011089049
813969A5455945   JOSE                  HERNANDEZ           CA     49052169054
8139738518B154   APRIL                 RIVERA              UT     31025313851
813973A9791242   DEMETRIE              HALL                GA     90013703097
813977AA477537   JEREMY                MANIBOG             NV     43090617004
8139796275B24B   ADAM                  DONACOR             KY     90013629627
813982A759712B   CHRISTINA             SPRY                OR     90001542075
81398612172B29   MONETTE               ROBERTS             CO     33095636121
81398A6785B183   LESTER                NOWDEN              AR     90013750678
81398AA5885936   MIRELLA               VILLANUEVA          KY     90013880058
81399233697B3B   RUBEN                 SEQUEROS            CO     90013312336
813999A7824B38   TELMA                 VILLATORO           DC     81012069078
81399AA7572B44   VERONICA              RIVERDA DE ISLAS    CO     33057030075
8139B22815B139   KATHERINE             SATTERFIELD         AR     90010202281
8139B37A872B29   MARA                  LINGAD              CO     90014833708
8139B729585856   JUANA                 GOMEZ               CA     90006417295
8139B875347897   SCHALONDRA            BARBOUR             GA     90014648753
813B13A3771977   KENDRA                MARTINEZ            CO     38013173037
813B1792A85936   GAYLIA                DONALDSON           KY     67064147920
813B1948955945   BACON                 DAVID-BRIAN         CA     49082559489
813B238172B271   SHANNON               BAXTER              DC     90001273817
813B2658A5B338   TURC                  PAVEL               OR     90008056580
813B273534B577   TAMRA                 BYERLY              OK     90011537353
813B299A19185B   TIFFANY               BROWN               OK     21056839901
813B3514497B38   MARIA                 TORRES              CO     39010375144
813B3643571977   ISAIAH                SALAS               CO     38090376435
813B3671797133   NEONA                 CHASTAIN            OR     90013376717
813B3676785936   KATHY                 HENSON              KY     90014056767
813B3745647822   AKILAH                FULLER              GA     90014267456
813B3852397121   VICTORIA              CLARK               OR     90014348523
813B3863476B97   KELLEN                SHELTON             CA     90005858634
813B424482B86B   HECTOR                MENDEZ              ID     90001692448
813B427A472B44   AGUSTIN               QUINTANA            CO     90000272704
813B466A75B581   OSCAR                 VALDEZ              NM     90014996607
813B4A95772B29   MARIO                 PEREZ               CO     33065960957
813B514719712B   JAIME                 GARIBAY             OR     90008991471
813B515388B163   CODY                  WARR                UT     90010081538
813B5433485936   ANGEL                 PUCKETT             KY     90014704334
813B5578141262   BRIA                  MITCHELL            PA     90008575781
813B565A691525   TONY                  VENTUR              TX     90006706506
813B5937872B62   ROBERT                WILLIAMS            CO     90015199378
813B656A471977   RAUL                  CARRILLO            CO     90012915604
813B676239712B   ZENARIN KANYN SERAK   PETROSS             OR     90014307623
813B6856497138   DANIELLA              STOKES              OR     90006108564
813B6941455945   JOHN                  PICKERING           CA     90011989414
813B8235141262   CYNTHIA               MCMONAGLE           PA     51091272351
813B82AA377537   DAVID                 CHARETTE            NV     90014612003
813B8452672B29   RODOLFO               SANTOS CHAVEZ       CO     33063734526
813B85AA59185B   ANGELA                THACKER             OK     21051345005
813B892578B154   VILIAMI               TUITAVAKE           UT     31041979257
813B8A49491837   JOSE                  ENRIQUEZ            OK     21091060494
813B9585893771   BRIAN                 PETERSON            OH     90000905858
813B966A75B581   OSCAR                 VALDEZ              NM     90014996607
813B9749A33698   CHRISTOPHER           TAYLOR              NC     90013527490
813B9A23A9154B   ELIZABETH             SALAZAR             TX     90009510230
813BB172491979   CRYSTAL               JETT                NC     90014821724
813BB883572B29   DOLORES               O'CONNOR            CO     33084508835
8141157424B555   FRAN                  PETTIES             OK     90001735742
8141188649712B   SANDRA                GONZALES            OR     44097398864
8141221585B32B   LANA                  OSMAM               OR     90002492158
81412243A97B3B   JENEVA                SMITH               CO     90013182430
8141225739712B   ASHLEY                SCHLECHT            OR     44075692573
81412498872B44   CHARLES               HENSLEY             CO     90013234988
8141277A797121   THOMAS                IVEY                OR     90012207707
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1101 of 2350


81412A79572B62   JOSE             ACOSTA                   CO     90013240795
814131A889154B   JACQUELINE       BURCH                    TX     90012431088
8141328745B338   ERICA            WASCO                    OR     90010922874
8141336948B154   CANDICE          MOSER                    UT     90008163694
81414695772B44   ANTONIO          HERRERA                  CO     33015426957
814149A795B145   EDGAR            TEOFILO                  AR     90009869079
81414A7915B24B   VIOLET           NOEL                     KY     90014350791
814153A9A97B38   TYLER            BURNS                    CO     90011113090
8141644798B154   IGNACIO          VEGA                     UT     90003194479
8141648482B28B   SANA             AHMED                    VA     90008744848
81416486272B62   ENIN             BLAN                     CO     90011034862
814165A1876B97   AMADEO           SANTIAGO                 CA     46058775018
8141777258B154   SANTANA ELAINE   MARTINEZ                 UT     90014177725
814183A2872B44   SANDRA           MENDIVIL                 CO     90011513028
81418646976B65   GELACIO          AGUILAR LOZANO           CA     46056376469
8141869A197121   JAVIER           SANTOS SANTOS            OR     90012646901
8141884288B154   LORIE            SMITH                    UT     31067428428
8141978A14B555   GLEN             VILLINES                 OK     90012507801
814197A395B581   PAUL             JOE-NIETO                NM     35086487039
81419858576B97   DAVID            QUINTANA                 CA     90012098585
81419A37191979   RACHELLE         DENNIS                   NC     17024360371
81419A52897B38   KRIS             KANTEN                   CO     39084460528
8141B329991837   SANDRA           ALVAREZ                  OK     21058513299
8141B363841275   STEVEN           HABOVICK                 PA     90014813638
8141B95184B22B   ANGELES          FLORES                   NE     90014259518
8142115448B163   PEGGY            CASTANEDA                UT     90014321544
81421186572B62   GERARDO          MARTINEZ                 CO     90012551865
81421262772B62   DANIEL           ABUNDIO                  CO     90014812627
814217A9497138   JESSICA          BRYANT                   OR     90011127094
81421A5954B556   SHANNON          JHONSON                  OK     90002200595
8142232399712B   KASEY            EATHERTON                OR     90009753239
814223A8191979   OLEY             JOBE                     NC     17047433081
81422425972B62   COX              NICHOLAS                 CO     90014414259
8142289758B168   ISAURA           SANCHEZ                  UT     90009458975
8142297A371936   SHANNON          DUNCAN                   CO     90011329703
81422A53572B62   NICHOLAS         COX                      CO     90009130535
8142362A361928   SARAI            RUBIO                    CA     46031966203
8142387A85B24B   DAVID            MATHERLY                 KY     90014728708
8142468658B154   ELIZABETH        GONZALES                 UT     90007216865
814246A4872B62   RACHEL           VAZQUEZ                  CO     90011236048
814248A7551341   KELLY            HARRIS                   OH     90005588075
81424A42472B29   ANTONIO          MADRID                   CO     33000580424
81425525472B29   JONATHAN         BEARD                    CO     90014855254
8142555114B22B   BABATUNDE        JUBILEE                  NE     90005855511
8142557955B139   APRIL            GULLEDGE                 AR     90007765795
81425A74341262   ADREA            SIMPSON                  PA     90007750743
8142663A947822   BRUCE            SOLOMON                  GA     90011306309
81427196A5B145   MICHELLE         TACKETT                  AR     23049831960
8142832A147822   TIFFANY          BELCHER                  GA     14081513201
81428721A72B62   ANGEL            MELENDEZ                 CO     33090677210
8142938215B24B   TONYA            BRODERICK                KY     68084193821
81429392997B3B   PATRICIA         DAVIES                   CO     39094243929
8142962715B32B   STEPHEN          HOLTHE                   OR     44553086271
81429963A51372   PATRICIA         MCMAHON                  OH     90001619630
8142B259247897   ADRIANNA         BEST                     GA     90014872592
8142B638A8B18B   PAULA            HUNI                     UT     90007526380
8142B8A5291979   DEEDEE           JACKSON                  NC     90002798052
8142B999972B44   RAYMUNDO         BOCANEGRA JR             CO     33024229999
8143228518B168   JZ               PONCE                    UT     90012412851
8143243458B154   DAVID            GUNDRY                   UT     90001454345
8143266495B581   NICOLE           ANDLER                   NM     35081986649
814331A4972B33   CRYSTLE          TOWNE                    CO     90004051049
8143342219154B   MONICA           DE LEON                  TX     75046054221
8143345A25B153   SHALANYA         GRIGSBY                  AR     23080254502
8143415448B163   PEGGY            CASTANEDA                UT     90014321544
814341A8955945   MARCO            JARA                     CA     90014501089
81434898172B62   SANDRA           JOHNSON                  CO     33050068981
8143497958B168   PAUL             WYASLETT                 UT     90009389795
81434A25A71977   BEATRICE         VILLEGAS                 CO     38084130250
81434A42247822   JANICE           MARTIN                   GA     90013750422
81435249697B3B   STEFFINE         TURNER                   CO     90007762496
81435683476B97   MCKENZI          JUREZ                    CA     90015096834
8143583758B154   GLORIA           GREENE                   UT     31074468375
8143671735B581   JUAN             QUESADA                  NM     90000537173
8143681828B154   AMANDA           VILLESCAS                UT     90012868182
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1102 of 2350


8143691565B183   CRYSTAL                SPRUILL            AR     90006679156
8143691A98B163   ESTHER                 MARTINEZ           UT     90012989109
8143768395B32B   ALISON                 BELLAIR            OR     90013966839
814386A7591242   ROBERT                 PILGER             GA     90004266075
8143877A997133   ADRIANA                SOLIS              OR     90010417709
81439464797B3B   ALLISON                SALAZAR            CO     90013314647
81439A4289712B   CARMEN                 MANZO              OR     90010130428
8143B457797121   MARIA                  MUNGUIA PEREZ      OR     44017804577
81441248472B33   RAQUEL                 MUÃ±OZ             CO     33001352484
81441666A5B183   QUINTINA               MACK               AR     90009176660
814416AA993771   DENNIS                 MASTERS            OH     64571566009
81441821872B44   CHAUNCEY AND LATICIA   RIVERS             CO     90015098218
8144218748B168   ANGELA                 GALLEGOS           UT     90013831874
81442449A85856   ADRIAN                 CUEVAS             CA     46018104490
8144284428B163   TANNY                  JOHNSON            UT     90014068442
81443173A72B62   JONATHAN               BELTRAN            CO     90003781730
8144359725B183   FREDERICK              DISCKERSON         AR     90006635972
814437A7651362   MICHELLE               GREIWE             OH     90011997076
81443A25791979   CAROL                  GOMEZ              NC     90014160257
8144441135B581   MARY                   VILLESCAS          NM     90011104113
8144442215B338   KAREN                  KISTLER            OR     90005254221
81444573A9154B   ARACELI                MENDOZA            TX     90009115730
81444862A9712B   MARY                   BROWNE             OR     90013768620
814449AA361928   ANDREW                 HAMILTON           CA     46082709003
81445328797B3B   LAURA                  CALDERON           CO     90014603287
814454A875B581   IDALI                  ALVAREZ            NM     90015014087
8144595415B338   ADEN                   OMARSHARIF         OR     90012909541
814459A8647897   ABIGAIL                DAWSON             GA     90013659086
8144611359154B   LUZ                    FAVELA             TX     75090071135
8144619A276B97   MATHEW                 LOVSTROM           CA     90012481902
8144638895B32B   MARIA                  YINUG              OR     90014393889
8144665A477537   TERRIE                 IERULLI            NV     43009436504
8144758A297138   AMANDA                 STUDEBAKER         OR     44008445802
8144762348B168   ALMA                   GARCIA             UT     90013826234
8144777975B581   TAFOYA                 DEBORAHH           NM     35032407797
8144815A15B32B   SABRINA                SENEY              OR     90002701501
8144828A791242   ERIC                   GLOVER LL          GA     90014182807
81449369A97133   DEVAN                  HOFFMEISTER        OR     90014833690
81449557A76B97   ROBERT                 PITSKER            CA     90010115570
814495A4877537   MICHELE                MIRANDA            NV     43073905048
81449833776B97   MARTIN                 MORA               CA     90013988337
81449A82172B29   PAUL                   JAMIESON           CO     90008970821
8144B227691354   LUZ                    ARRONIZ            KS     29025772276
8144B6A769712B   GAIL                   MESSINA            OR     90000846076
8144B77A597138   DEDEE                  SHELLEMBARGER      OR     44037837705
8144B928585856   MIKE                   HARRIS             CA     90010439285
8144BA15497B3B   YOLANDA                PINON              CO     90012270154
8144BA18172B28   MICHAEL                LAMB               CO     90009570181
8145182115B32B   ROGER                  LEDOUX             OR     44589228211
8145221A597121   JEANIA                 GENTZLER           OR     90009322105
814528A6A8B168   CHRISTOPHER            SALISBURY          UT     90011828060
81453266572B62   ALEJANDRA              TORRES             CO     90013512665
8145335388B154   RYAN                   VANOS              UT     90001413538
81453572897B3B   MICHELLE               HOOD               CO     39084545728
8145412A95B183   DEVONTA                HOPKINS            AR     90014541209
8145429A847822   REBEKAH                ROBINSON           GA     90014442908
814545A7291975   FRANCISCO              PINACHO            NC     90009405072
81455285272B44   ISIS                   TEHUTI             CO     90005742852
81455531697B38   AGUSTINA               MASCARENAS         CO     90009075316
8145561719154B   MICHAEL                LAFLEUR            TX     90001696171
81455836172B29   TRACIE                 RONE               CO     90014288361
8145598574B27B   PAULA                  ERLEWINE           NE     27030039857
814561A9493771   JUANA                  SOTO               OH     64572561094
8145647844B967   ZACHARY                VILTZ              TX     76514904784
81456712976B97   WILLIAM                WOLMART            CA     46085347129
8145673275B145   MARIO                  SANDOVAL           AR     90011777327
8145688519154B   ISIDRIO                VALDIVIA           TX     90014058851
81456886576B65   JOSEPH                 BEGLEY             CA     90008108865
8145728A191525   BRYAN                  ARANDA             TX     90005892801
8145868A893771   BILLIE                 BRANCH             OH     90012696808
8145892A772B44   ELIASAR                LOPEZ              CO     90007799207
8145983818B163   KARLA                  JUAREZ             UT     31097508381
8145B261472B29   RUDY                   BRIZUELA           CO     90002782614
8145B65A147822   LISA                   HARRIS             GA     90011306501
8145B678691837   ANGELA                 LEDDY              OK     21004146786
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1103 of 2350


81461113197B38   JOSEPH           REED                     CO     90008811131
81461397A91242   ROBERT           BRANCH                   GA     90014183970
81462A33776B65   CARA             ACCOSTA                  CA     46084640337
81462A6795B153   MARY JANE        GARNER                   AR     90005390679
81463182472B29   SYLVIA           MICKLE                   CO     90009731824
8146421952342B   TRUDY            GRIMMETT                 OH     90010122195
8146447A972B44   ANGELICA         RAYA-MARTINEZ            CO     33052094709
81465334472B29   JOSE             VASQUEZ MONROY           CO     90013103344
8146545175B24B   LANISHA          WEBSTER                  KY     90013484517
8146548749712B   AMPARO           MENDOZA                  OR     44088864874
8146549168B154   BRITTANY         ECHEVERRIA               UT     90013764916
814661A3A72B33   LORENZO          TAPIA                    CO     33050941030
8146672798B163   ANTHONY          XAIZ                     UT     90014467279
8146672985B24B   ANTHONY          FLOWERS                  KY     90015297298
81467147897B3B   MARCUS           BENJAMIN                 CO     90010181478
81467232A9154B   ADRAHAM          GOMEZ                    TX     90013962320
814673A455B581   AURELIANO        PEDREGON                 NM     35012203045
8146778435B568   EDWARD           VILLANUEVA               NM     90011867843
814678A4597133   VERONICA         LOPEZ ZAMORA             OR     90013898045
8146811A197121   LOUIS            RICKS                    OR     90009541101
814684A297B349   JOEL             ALVARADO                 VA     81004814029
814684A875B581   IDALI            ALVAREZ                  NM     90015014087
81468835A5B532   YVONNE           MARTINEZ                 NM     90007908350
81468A2374B967   KAREN            THOMAS                   TX     76570320237
81469329176B97   RODOLFO          DE LA ROSA               CA     90014833291
81469376376B97   KATHLEEN         MORALES                  CA     90012023763
81469498A9154B   JENNIFER         CARDENAS                 TX     90006944980
81469743A5B153   JIM              BULFONE                  AR     23066247430
81469A1A491975   CONSTANTINO      CANSECO CRUZ             NC     90013800104
8146B133591979   WENDEL           RAMIREZ                  NC     90014161335
8146B25565B32B   ENRIQUE          AYALA ESCOBEDO           OR     90001012556
8146B2A2393771   MARK             ELLIS                    OH     64572892023
8146B77668B168   SHELBY           GARRETT                  UT     90011987766
8146B9A195B145   MARY             CHAVIRA                  AR     23092209019
81471793572B44   IVONNE           ROMOS                    CO     33041307935
8147189898B168   LESLIE           PIKE                     UT     90010918989
81471A64633698   MICHAEL          DAVIS                    NC     90006350646
8147214445B183   MEAGAN           WOODS                    AR     90013101444
814722A2772B29   MARIA            ACOSTA                   CO     90012832027
8147262194B22B   RUSS             MYRICK                   NE     27037516219
8147329A172432   KILEY            LOVELL                   PA     90000862901
8147358A631433   CHRISTINA        WOOLF                    MO     27566065806
8147382715B32B   MICHAEL          SABOE                    OR     44564788271
8147425699154B   ALEXANDER        ALVAREZ                  TX     90010972569
814744A875B581   IDALI            ALVAREZ                  NM     90015014087
8147526A272B44   WARREN           CIRWITHIAN               CO     90011602602
814754A875B581   IDALI            ALVAREZ                  NM     90015014087
8147613A64129B   ELMER            POWELL                   PA     90001351306
81476452A4B22B   NIKOLE           MYNSTER                  NE     27088874520
81476533A61928   MARTIN           PONCE                    CA     46040235330
81477193A91975   CRYSTAL          PERRY                    NC     90014651930
81477695A5B24B   NATIVIDAD        CRUZ GARCIA              KY     90012086950
81477A25972B62   JOSE             GERMAN                   CO     90012510259
81478318972B44   SALVADOR         CHAVEZ                   CO     90011513189
8147853A772432   KAYLA            HARPS                    PA     90006015307
814785A7791242   COURTNEY         BELLO                    UT     14584205077
814785A9271977   HEIDI            GRAY                     CO     38033245092
8147869444B967   JILL             ROBINSON                 TX     90003656944
8147924679154B   FRANCIS          OLEERA                   TX     90011502467
8147933769185B   JACQUELINE       WILLIAMS                 OK     21045073376
814795A2685856   PERLA            LOPEZ                    CA     90015325026
81479A14297B3B   CRAIG            KEETON                   CO     90014450142
8147B152697B38   DAVID            VARELA                   CO     90002431526
8147B439285924   AARON            HAGGARD                  KY     90014494392
8147B719A72B44   MARIA            CORTEZ                   CO     33041827190
8148116469154B   ANGEL            PEREZ                    TX     90009791646
81481A29661437   CAIN             PEREZ                    OH     90015310296
81481A31985936   SHELBY           FIELDS                   KY     90008500319
8148223629712B   JUAN CARLOS      CALDERON                 OR     90014492362
8148251518B135   CLAUDIA          TACHIQUIN                UT     31041145151
81482A1A461928   JOSE MANUEL      GUERRERO                 CA     90010490104
81483415972B44   CAROLINA         REYES                    CO     90011614159
8148359A276B97   SERGIO           GUZMAN                   CA     90010225902
81483611A97138   FLOR ELIZABETH   ANGEL                    OR     90010166110
8148392A772B62   MYRA             ALMANZA                  CO     90012349207
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1104 of 2350


814841A289712B   RUTH         HERNANDEZ ROJAS              OR     90013091028
8148492278B829   KATOA        LOUSA                        HI     90014279227
81484A92985936   RICARDO      SANDEZ                       KY     67012350929
8148535819154B   JULIA        ALVAREZ                      TX     75069053581
8148549A29185B   AUDAR        SCHRIMSHER                   OK     21058184902
814854A1355945   MAYRA        ESPINOZA                     CA     49085814013
8148558449185B   ADRIAN       GASTELUM                     OK     90014785844
81485587172B21   MATTIE       TIPTON                       CO     33057945871
8148572A893771   CHAD         KENNEDY                      OH     64573807208
8148632A772B33   CARLOS       DURAN                        CO     90011053207
8148676A441262   VENESSA      FULLER                       PA     90014627604
8148683557B349   LISANDO      VIGIL                        VA     90007808355
81486853A91242   BRIDGETT     ROGERS                       GA     90014628530
81486936924B52   BARBARA      TERRELL                      DC     90007479369
814869A7176B65   OSCAR        MARTINEZ                     CA     46064119071
81486A5295B581   JESSICA      JILLSON                      NM     35002650529
8148732AA97133   DANIELA      RAMIREZ                      OR     90014823200
8148747A99154B   TINA         MC MINN                      TX     75087574709
8148755148B168   JERRY        BRADY                        UT     31020705514
814875A3585856   JAMES        HUGGINS                      CA     90013745035
81488156972B62   ERENESTO     EBARRA                       CO     90014531569
8148834959712B   ISAUL        MALDONADO                    OR     90013653495
81489121876B65   JERALYNN     HASKETT                      CA     90011541218
81489329A8B168   ELSA         ABDELRAHIM                   UT     90015003290
814893A3A9712B   REBEKAH      STALHEIM                     OR     90012193030
81489A2168B163   SAM          HYDE                         UT     31008080216
8148B18318B168   TANYA        BABIKERALI                   UT     90011981831
8148B29395B153   MELISSA      ADAMS                        AR     23071242939
8148B34A291837   ATIF         KHAN                         OK     90012193402
8148B599647897   ASHLEY       STANLEY                      GA     90013315996
8148B749A72432   GAUINO       ANDRES                       PA     90013447490
8148B7AA372B33   JUAN         TREJO                        CO     33095527003
8148B92289154B   AITEE        ZETINA                       TX     90013159228
8148B982297121   MATTHEW      WEST                         OR     90009349822
8148BA89771977   JUSTIN       COSBY                        CO     90014520897
81491417697B3B   THOMAS       TARPEY                       CO     90012934176
81491562A51362   DARRYL       SEBASTIAN                    OH     66068715620
814915A6A8B163   IRIS         VASQUEZ                      UT     90013665060
81491722A5B139   LASHONDA     GORDON                       AR     23030967220
8149188A941275   STEFFANI     HUNDIAK                      PA     90010228809
81491A6168B163   JARET        BRYAN                        UT     90014490616
81492124572B44   ABRAHAM      HERRERA                      CO     33090541245
81492459A71977   FRANK        ORTEGA                       CO     90007764590
814925A2A93771   STEPHANIE    WOODS                        OH     64532745020
814926A115B581   FANY         MARTINEZ                     NM     90006656011
81492749997B3B   LOU          WAKEFIELD                    CO     39050777499
8149285979194B   CHERYL       FULLER                       NC     90013248597
8149359162B28B   GAIL         AKERS                        DC     90008745916
8149419788B163   BARBARA      STALLONE                     UT     31097841978
8149424448B168   JODY         BECKMAN                      UT     90009702444
81494512776B97   CIRILO       MENDOZA                      CA     46041265127
81494658A97B3B   ADRIANA      VARGAS                       CO     90011506580
8149496624B22B   GARRY        ODDO                         NE     27045609662
8149517868B168   LEE ANN      PUERTO                       UT     31079351786
814951A2997B38   MARIA        GONZALES                     CO     90003641029
8149529595B32B   MASHUHURI    MFUNDISHI                    OR     90001012959
814956A5697138   EVELIN       GANZALEZ SANDOVAL            OR     44047386056
81495863A97B3B   ANDRES       PELICO                       CO     39028188630
8149589728B154   SILVIA       QUINTO                       UT     90010618972
8149612478B168   KATHY        SMITH                        UT     90000201247
81496AA4197B3B   JUSTINE      BARRERA                      CO     90012370041
8149724428B154   GERSON       ALCANTARA                    UT     90013412442
814977AA572B44   MISTI        PARKER                       CO     33048407005
81498241A91979   STEPHANIE    BEST                         NC     90014162410
8149852AA5B153   LOURDES      VILLEGAS                     AR     23029835200
8149859138B168   DANIELA      NAVA                         UT     31019815913
81498A73976B97   NORA         PACHECO                      CA     90012620739
81499318376B97   JOSE         TORES                        CA     46005403183
81499339472B29   SHARON       SUNDERLAND                   CO     90010183394
8149943455B581   ESTRELLA     HERNANDEZ                    NM     90015014345
8149B225897138   CRYSTAL      MARTINEZ                     OR     44090592258
8149B241A91979   STEPHANIE    BEST                         NC     90014162410
8149B262672B44   BRANDON      PATILLO                      CO     90011602626
8149B328772B29   LAURA        CALDERON                     CO     90014603287
8149B425897121   ASHLEY       JEAN ROENIG                  OR     90009524258
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1105 of 2350


8149B813A8B154   KEVIN          HOVEY                      UT     90011108130
8149B82219712B   REBECCA        VERGARA                    OR     90013328221
8149B826161957   ALVERTIS       PAYNE                      CA     46097158261
814B1274791837   JANELL         JOHNSON                    OK     90009512747
814B1346941229   JEREMY         PUCKETT                    PA     51067753469
814B1378551362   BRIAN          KIRCHGESSNER               OH     66073763785
814B1A5298B168   JEFFREY        HAWKINS                    UT     90012370529
814B2157293771   HEATHER        SMITH                      OH     64578371572
814B21A5397B38   LEONARD        MARTINEZ                   CO     90013041053
814B271AA8B168   REYNA          CRUZ                       UT     90012947100
814B283925B338   MATT           GARDNER                    OR     44573418392
814B2995471977   KATHLEEN       SHISLER                    CO     90014949954
814B2A3A797133   JOEL           MONTES MONROY              OR     90011930307
814B2A64976B97   MIGUEL ANGEL   RODRIGUEZ                  CA     90011330649
814B3446597B3B   PAT LEE        FRENCH                     CO     39046244465
814B3644785856   JAMES          MENDONES                   CA     90001886447
814B386988B154   DAVID          COLEMAN                    UT     31067718698
814B41A2272B62   JESSE          TAYLOR                     CO     33050411022
814B482895B32B   SHAELYNN       CENTER                     OR     90010128289
814B5282677537   MANUEL         PEREZ-SANCHEZ              NV     90008312826
814B5355A5B32B   TRISHA         RIEO                       OR     90011323550
814B5576976B97   ESTELA         AGUILAR                    CA     46009975769
814B5599647897   ASHLEY         STANLEY                    GA     90013315996
814B6257677537   MAYTELL        MUNOZ                      NV     90003902576
814B626288B163   JULIE          SOLIS                      UT     90008292628
814B6338591837   C.L.           PARKER                     OK     21040383385
814B66A4572B29   JOE            DELATORRE                  CO     33073266045
814B6969297133   ERIN           SCHARFF                    OR     90011089692
814B7463797B3B   BARBARA A      MORGAN                     CO     39017164637
814B7684971977   JESSICA        TRINNICH                   CO     90014736849
814B7816A72B44   DAVID          BOHN                       CO     90009578160
814B797A75B24B   MICHAEL        HALL                       KY     90012229707
814B7A93991242   JOSE           MEJIA                      GA     14528040939
814B8316972432   ANTONIO        DAVIS                      PA     90014603169
814B8372A51362   SALLIE         BAKER                      OH     66063793720
814B83A5A5B32B   WILLINA        THOMPSON                   OR     90006923050
814B854857192B   MARY           JOHNSON                    CO     90010625485
814B86A9391979   WILKIN         POWELL                     NC     90010206093
814B8A77776B65   NIMPHA         CAMPBELL                   CA     46056400777
814B9186372432   ALBERT         CELIO                      PA     90012661863
814B9418491837   OLGA           COWLEY                     OK     90005274184
814B9478597B38   DELORES        VELASQUEZ                  CO     39092964785
814B9648785936   AMBER          HOLLON                     KY     90010956487
814B9747797133   PAUL           SUTHERLAND                 OR     90009837477
814B9986A8598B   FELIX          WAGERS                     KY     67051599860
814B9A6A285856   LUDWIG         WEIMANN                    CA     46010680602
814BB622391525   DANNY          SONG                       TX     90003316223
814BB724A84328   EMMA           PERRY                      SC     90010717240
814BB9A8372B44   SARAH          GAILEY                     CO     90011779083
814BBA34591975   FAITHE         THOMAS                     NC     17089110345
81511998776B97   SILVIA         PONCE                      CA     90005029987
81512313572B29   ROBERTO        FLORES                     CO     90003583135
8151243A747897   BOBBIE W       REESE                      GA     90010994307
8151294735B93B   JOSE           RIOS                       WA     90013679473
8151298365B183   CHANDRA        MARSHALL                   AR     90015339836
81514526272B29   JASON          GARCIA                     CO     33064855262
815147A1777537   LISA           NORRIS                     NV     90013297017
81514823A91837   BRIAN          BOYLES                     OK     21030028230
81515428A97121   EUGENE         VIBBARD                    OR     90013214280
8151565AA61928   GLADYS         ASTORGA                    CA     46009276500
81516674572B33   GERMAN         JURADO                     CO     33058076745
8151677425B183   KIMBERLY       BLANKTON                   AR     23053717742
81516988972B29   DALE           MESTAS                     CO     90008119889
81517125697B38   MYRNA          CARRILLO                   CO     90014781256
8151791195B581   ANGELINE       SOLIS                      NM     90013299119
8151793244B967   MARY           BEAN                       TX     76589339324
8151796A14B27B   CHRISTINA      ZAZUETA                    NE     27091149601
8151857199154B   ADRIAN         CAZARES                    TX     75000965719
81518752772B99   SHARON         COX                        CO     90001417527
8151913214B57B   DIRK           LEMON                      OK     90013971321
8151949348B168   WILLIAM        KOKOHU                     UT     90015094934
815195A4A24B47   BENITA         MARMOLEJOS                 DC     90009295040
815195A7A41275   DAMIEN         SHAVERS                    PA     90001075070
815196A9991947   NYREE          THOMAS                     NC     90013596099
8151988815B183   STEVIE         ESTES                      AR     23092708881
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1106 of 2350


8151B3A265B24B   SHAWN        PATTERSON                    KY     90002953026
8151B72328B154   DAVE         RIGGS                        UT     90007787232
8152161689154B   NORMA        AMADOR                       TX     90007166168
8152167629712B   DERICK       HACHIPAN                     OR     90011006762
81522231A8B168   EDGAR        FLORES                       UT     90000252310
8152244A29154B   BLANCA       CHAPARRO                     TX     90015204402
81522454797B3B   ALONSO       MARTINEZ                     CO     90013924547
8152258687192B   ITALY        DUFFY                        CO     32042535868
815228A9941262   HEATHER      ROWE                         PA     90014628099
81522A87251362   CHERIE       MAYS                         OH     66008390872
81522A8A997138   SHENIA       DANIELSON                    OR     90009740809
815231A1472B29   TIFFANY      SCOTT                        CO     90008971014
8152321424B22B   JENNIFER     REEDER                       NE     90009832142
81523745497B3B   MEGAN        NOVAK                        CO     90012037454
81523851897B38   JOSEPHINE    YBARRA                       CO     39096848518
8152396A35B591   RALPH        SILVA                        NM     90001419603
81523A38747897   STACEY       MACON                        GA     90012500387
81524267697B3B   STACY        ALCORN                       CO     90006742676
8152432698B168   CYNTHIA      GROSSAINT                    UT     31054603269
815246A469154B   CHRIS        HOLGUIN                      TX     90010396046
815248A3497138   TAMARA       BRUCE                        OR     90009898034
81524A85591979   WAYNE        WILLIAMS                     NC     17002500855
8152529A397138   VIRGINIA     CORTEZ                       OR     90014382903
81525386A5B375   RABBIN       SIMON LAZO                   OR     90003363860
8152547A972B44   ALBERT       GUTIERREZ                    CO     90008734709
81525597272B62   CARLOS H     ROLDAN                       CO     90011235972
81525A8819712B   NICHOLAS     WALKER                       OR     90011730881
8152627918B163   MARTINEZ     SHANNON                      UT     31027722791
8152662A38B154   QUERENA      RODRIGUEZ                    UT     31033136203
81526787A85962   DAVID        JONES                        KY     66097547870
81526967A93771   ANGEL        DRAKE                        OH     90011239670
81526A2314B22B   LAVAUGHN     WILLIAMS                     NE     27066160231
81526A45331433   GENESIS      BERRY                        MO     27534670453
81526A94872B29   JOSEPH       GOMEZ                        CO     90012500948
81526A9A85B153   SHAWNTA      HILL                         AR     23065340908
815281A3391837   ANEATRAHE    RAMSEY                       OK     90013751033
8152836675B32B   GERALD       SERACCO                      OR     90015133667
8152843572B28B   JEAN         CARLOS                       DC     90011734357
8152894A58B163   RICKY        MIDKIRK                      UT     90012589405
815291A9A85936   LEONARD      EPPS                         KY     90010491090
8152B465885936   NICOLE       STUCKEY                      KY     90011254658
8152B741831242   DASHEENA     MILLER                       IL     90011437418
8152B95A372B62   ALEJANDRO    MARTINEZ                     CO     90008429503
8152B9A5871977   JULIAN       SANDOVAL                     CO     90000909058
81531552A76B97   ANA          DEMESA                       CA     90013625520
81531A12472432   CRYSTAL      BRUCE                        PA     90014740124
8153215A59712B   NATALIE      NESBITT                      OR     90014551505
8153248725B32B   CAROLINA     JIMENEZ                      OR     90007824872
81532A45172432   THOMAS       DUNCAN                       PA     90005220451
815336AA357128   ANGELA       CRESPO                       VA     90011246003
8153389285B24B   GRONISHA     CAMPBELL                     KY     90014858928
8153417384B22B   KIMERLY      LEGON                        NE     90006831738
81534791976B97   UVALDO       DE LA TORRE                  CA     46017827919
8153489938B163   JESSICA      JONES                        UT     31083558993
81535249572B62   DESPINA      ANDRIANAKOS                  CO     33021622495
8153584A241275   CHIRON       MATHIS                       PA     51052028402
81535856297B3B   DILLON       KAISER                       CO     39064718562
8153587445B32B   PW           BOOKKEE PING                 OR     90011718744
8153649322B956   MARK         WERRET                       CA     90013354932
815366A7697138   GAIL         MESSINA                      OR     90000846076
81537554A72432   SEASON       ACEL                         PA     90013505540
8153761AA72B29   RODOLFO      GALLEGOS                     CO     33073266100
81537A25397138   JULILA       GEARHEARD                    OR     90007830253
815383A145B32B   ANDREW       WALKER                       OR     90013393014
8153862278B829   DAMIAN       MACULAM                      HI     90010326227
8153931685B528   ARTHUR       CRESPIN                      NM     90011483168
8153966A48B163   TRIANA       MCHUGH                       UT     90010976604
81539673A91528   ANTONIO      GARCIA                       TX     90005446730
8153982618B168   RUSSELL      STODDARD                     UT     31027898261
8153B288933698   YOLANDA      ROGERS                       NC     90013252889
8153B439972B62   JUAN         ROMAN                        CO     33011094399
8153B53A58B154   NORA         AMEZCUA                      UT     31065915305
8153B86A851349   BRANDON      CANADY                       OH     90014248608
8153B91498B168   CHRISTIAN    HULL                         UT     90011939149
815411A3897138   BONNIE       DIMINNS                      OR     90003801038
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1107 of 2350


8154133198B168   SHEILA             MUNRO                  UT     90006023319
8154152A876B65   CHRIS              DAVIS                  CA     90009005208
8154197125B32B   TAMIKA             MOTTON                 OR     90006799712
81541A7815B581   DOMINIC            MEDINA                 NM     90015020781
81542776A85936   JACK               WRIGHT                 KY     90013147760
8154288496196B   MARIA DEL CARMEN   PENA                   CA     90011948849
81542AAA591528   NANCY              VILLALOBOS             TX     90011750005
81543829A8B168   EDGAR EFREN        CAMOU GIL              UT     90009718290
81543899372B44   ANGELICA           CASTRO                 CO     33089478993
81543A25991979   BLANCHE            ROYALL                 NC     90010170259
81543A74191837   ARTHUR             HALL                   OK     90011960741
8154473747192B   MUHIRE             CRISTIAN               CO     32077327374
81544A33593771   EMMA               NOLASCO                OH     90013640335
81544A59185936   MICHELLE           WASHINGTON             KY     90005990591
81544A78A31433   KYLE               HUMPREY                MO     27545640780
8154578A69712B   RODRIGO            DELGADO                OR     44085007806
8154621395B183   LATRICE            SUMMONS                AR     23023672139
81546377276B97   NANCY              RANNY                  CA     90014983772
81546417A77537   JAIRO              REYES                  NV     90010314170
81547159197B38   NATHANIEL          CORDOVA                CO     90014541591
81548483376B97   WILFREDO           CORREA                 CA     90013664833
8154881A197B3B   REENE              JONES                  CO     39080858101
81549281172B44   TYLER              HARDEN                 CO     90011602811
8154931225B581   JOHNNY             CAPPELLI               NM     90014843122
8154B624655945   VATO               LOPEZ                  CA     90011886246
8154B691472B29   ARTURO             ZAMORA                 CO     90011866914
8154B922A97133   JEREMIAH           QUICK                  OR     90013129220
8154BA15625164   JEANETTE           JEBBIA                 AL     90013950156
81551313972B29   AMANDA             SAVOLAINEN             CO     90013393139
81551558176B97   RAFAEL             ABARCA                 CA     90013625581
8155191A191975   EVA                MARTIN                 NC     90013329101
81551973772B29   SOPHIA             SAIZ                   CO     90014329737
81551A7625B24B   SHAWN              SHEPHERD               KY     90013590762
8155253158B163   GILBERT            VALDEZ                 UT     90013785315
8155262AA72B62   CINDY              MUNGUIA                CO     33096406200
81552896276B97   PATRICIA           GARCIA                 CA     90014338962
8155329525B183   JENNIFER           MILLER                 AR     90013482952
8155339118B154   ROBERT             DRUCE                  UT     31007703911
815534A6677537   BRENDA             HERNANDEZ              NV     90008344066
815534AA461928   VERONICA           FLORES                 CA     90001384004
81554149572B62   EMILIO             GONZLES                CO     90015091495
81554369772B29   OLIVIA             MARTINEZ               CO     33033093697
81554395676B97   STEVEN             MONCRIEF               CA     46078163956
81554658497B3B   CARRISSA           WESTPAHL               CO     90013596584
81554A35197133   MARIBEL            HERRERA                OR     90010460351
8155535569712B   MELISSA            QUESADA                OR     44054073556
8155537154B22B   MARELY             ZUNIGA                 NE     90014423715
8155539AA91242   JANICE             DAVIS                  GA     90007963900
8155591298B154   JUAN               CANCHOLA               UT     90011429129
8155613433B364   BRIAN              HEFFERNAN              CO     90005031343
815564A1A33698   LATOYA             SPINKS                 NC     90011084010
8155679A585856   BEATRICE           LARIOS                 CA     90013977905
8155716368B154   ROYANN             SNOW                   UT     31081231636
8155726A433698   ALEXANDRIA         HILL                   NC     90008012604
815575A834B22B   SARAH              MANGUM                 NE     27054155083
81557AA5172B29   EULOGIO            SOTO                   CO     90009250051
8155811A88B163   BRANT              HARSH                  UT     90011801108
8155866735B581   APRIL              RIVERA                 NM     35066486673
8155917194B967   AARON              DOTSON                 TX     90003161719
815595A799712B   PENNY              ALLEN                  OR     90010095079
8155968A891979   JUANA              SILVERIO               NC     90014166808
8155995855B153   HOLMES             BROADWAY               AR     90008429585
81559A9385B24B   CHRISTOPHER        JONES                  KY     90013930938
8155B114971977   JOSE               NARANJO                CO     38035971149
8155B222797B3B   CHELSEA            LEONOWICZ              CO     90014892227
8155B528872432   MICHAEL            DUBLIN                 PA     90001555288
8155B614585936   ZAINA              EMEDI                  KY     90011766145
8155B817472432   JESSICA            CARDILLO               PA     90013378174
8155B954A4B22B   PELEMA             HULL                   NE     90014869540
8156171879154B   MANUEL             PORTILLO               TX     90002827187
815617A798B167   ANTHONY            BRAVO                  UT     90008037079
81561822372B44   ROSALIA            MARTINEZ               CO     33071698223
8156186875B183   LUIS               BARRAGAN               AR     90015498687
81561A65872B33   FRANCISCO          GONZALEZ               CO     90015080658
8156219465B338   OLGA               SMITH                  OR     44539621946
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1108 of 2350


815627A7691979   TESFAY       WEREDE                       NC     90014167076
815635A4593771   NICOLE       TAYLOR                       OH     90008315045
8156365595B581   MARIA        ORTIZ                        NM     90008926559
8156383268B168   MICHAEL      MENSAH                       UT     90014758326
815646AA891979   JOEL         JONES                        NC     90015166008
81564A89593137   KATHRYN      MUSSELWHITE                  TN     90015430895
8156529A35B24B   DERRICK      WEEDMAN                      KY     90015012903
81566182A47822   FABIAN       GRAY                         GA     90012891820
8156653595B338   KEIMY        TENRY                        OR     44567555359
815667AA485856   ANDREA       SILVA                        CA     90010267004
81566A86197B3B   GREGORY      HAAG                         CO     90010850861
815678A3671977   PAULINE      TRUJILLO                     CO     38071908036
81568527A72B44   JOSE         RAMIREZ                      CO     33064835270
81568564697B3B   JEFFREY      KESSMAN                      CO     39050255646
81568A32561928   BILLY        HAZE                         CA     90011810325
8156918615B32B   KONSTANCE    KAFALIAS                     OR     44506631861
815695A319712B   MARIA        TERESA RIVERA VALLEJ         OR     44040335031
81569779A97138   SUZETTE      HOLLIMAN                     OR     90013997790
81569995972B44   BRANDON      SMITH                        CO     90015159959
8156B616391979   BRANDON      JUDD                         NC     17071336163
8156B64685B139   ASHNTIA      CLARK                        AR     23079936468
8156B7A279154B   JOHN         HAEL                         TX     90013847027
8156BA87693771   NOLAN        COUCH                        OH     90014270876
81571926A47897   TAVAYA       FORESHAW                     GA     90012679260
81572255A97138   DENNIS       PEIK                         OR     90007672550
8157235A972432   MARSHA       HEYMAN                       PA     51015483509
81572636A77537   KELLI        HICKEY-                      NV     90007086360
81572661272B62   TONY         PADILLA                      CO     90013576612
8157313355B581   CLAUDIA      CHACON                       NM     90015021335
8157314A591242   JEROME       WHITE                        GA     14591311405
8157329369712B   EDDIE        DUANE SCHLIP                 OR     90011722936
81573685A72B44   KENDRA       HITCHCOCK                    CO     33079626850
81574112A93771   MICHAEL      PUCKETT                      OH     90014241120
8157414515B581   ANGELA       MARTINEZ                     NM     35068541451
8157437785B581   ANGELA       MARTINEZ                     NM     35083853778
81574627497B38   DELFINO      HERNANDEZ                    CO     90014816274
815746A9A55945   BEATRICE     FLEENOR                      CA     90010996090
815748A1497138   BENJAMIN     SCULL                        OR     44031888014
81575259872B33   DONTE        NAPUE                        CO     90012882598
81575A7395B183   ALISON       BITER                        AR     90009180739
8157611385B32B   JOHNNIE      JACKSON                      OR     44529311138
8157618268B168   ANDREA       WOOLF                        UT     31082011826
81576195272B44   ALEXIS       BUTLER                       CO     33037851952
815775A3647897   CARL         DUDLEY JR.                   GA     14045935036
8157833A58B163   ARMANDO      RIOS                         UT     90015163305
8157875855B581   MICHAEL      SHAPPARD                     NM     35095487585
8157956725B145   CHRISTOPHE   HUNTER                       AR     90000465672
8157962A48B163   BRYANT       SHEPHERD                     UT     90014816204
8157969775B32B   BARAK        GRIFFIN                      OR     90015026977
8157972824B57B   JUAN         GARCIA                       OK     90007967282
8157974718B168   FALLON       RASMUSSEN                    UT     90013627471
81579999A8B168   FALLON       RASMUSSEN                    UT     90010279990
81579A91341262   JOSEPH       MERCURIO                     PA     90008700913
8157B257976B97   CYNTHIA      RAMIREZ                      CA     46050962579
8157B953172B33   WANDA        ARBO                         CO     33089569531
8158124598B154   JACKLIN      ROSAS                        UT     90010582459
8158272448B163   LORI         WHITE                        UT     90003067244
81582963876B97   JOSE         ROMERO                       CA     46048609638
81582A1915B581   PEDROPETE    MARTINEZ                     NM     35016350191
81583446874B7B   KIRSTEN      MOON                         OH     90015254468
81583487372B29   KENNETH      SWAIM                        CO     90013224873
815834A1A5B32B   SILVIA       LATONI                       OR     44512084010
8158361532B28B   SHAREESE     BARNES                       DC     90006866153
8158389743B345   BERNICE      SANCHEZ                      CO     90012158974
8158418A15B581   EMILY        MAREZ                        NM     90015021801
81584439497B3B   ROSA         MARTINEZ                     CO     39074484394
81584488A2B964   ROBERTO      MUNOZ                        CA     90013724880
8158482488B154   CAMIE        RAINES                       UT     90013728248
8158538878B154   DUSTY        ROLLINS                      UT     90013773887
81585423872B44   ORALIA       HEIFER                       CO     90004624238
815863A3393771   BRIAN        STAFFORD                     OH     90005733033
81586594272B33   JESICA       SOLIS                        CO     90004135942
815865A3497B3B   CRYSTAL      BARRETT                      CO     90010955034
81586852772B44   JUAN         ROCHA                        CO     90010418527
81586931A8B163   RUTH         PALACIOS                     UT     90013219310
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1109 of 2350


81588242397B3B   JOHN           HILL                       CO     39058652423
8158857155B153   TEAIRRA        BLANCHARD                  AR     90012015715
81588791297B38   WENDY          ALPS                       CO     39090487912
8158896468B154   JEAN           WATERS                     UT     31065389646
81588A49585936   RODNEY         STIDHAM                    KY     90012530495
8158949785B32B   TYLER          JONES                      OR     90004134978
815897A664B967   RITCHATTE      EDWARDS                    TX     76571787066
8158989385B32B   DAWN           JONES                      OR     90014668938
81589963797B38   DANIEL         RODRIGUEZ                  CO     39054569637
8158B26549154B   MARIA          ESPARZA                    TX     90014092654
8158B2A4A8B168   SPRUILL        SWAILS                     UT     90015172040
8158B651841275   JANET          KAREL                      PA     51040526518
8158B784691837   EVANGELINA     RUIZ                       OK     90012407846
8158B888841262   TONI           GORDON                     PA     90014628888
81591484A72B62   GLENNA         JENNINGS                   CO     33041254840
81591852A7192B   STONE          EDWARD ERIC                CO     90013788520
8159186958B168   ROSS           MCGRAIN                    UT     90007768695
81591A88641262   JENNIFER       SCHWEITZER                 PA     90013140886
81591AA764B967   MARIA          DEL TORO                   TX     90007630076
8159272829154B   MIGUEL         SOLIS                      TX     90001877282
81592A3875B183   CHRISTIAN      BELLO ADUNAS               AR     90014160387
81592A9615B581   MAURINE        GEARHEART                  NM     35017190961
81593386272B44   PAT            GIKURI                     CO     90012743862
81595118A9154B   TERESA         JUAREZ                     TX     90011611180
815951A5297121   BARBARA        CARTER                     OR     44008721052
815951A825B32B   ERIC           ELLIOT                     OR     90013751082
81595886697B3B   NATHAN         MCNEAL                     CO     39031738866
81596224197B38   JUDY           BERK                       CO     90012992241
81596839172B44   PATTY          CARRETO                    CO     33034338391
81596A9315B183   BRANDY         PENNINGTON                 AR     90014160931
8159715A591837   ASHLEY         BURKS                      OK     21015461505
8159758415B581   ALDO           MORIEL                     NM     90015035841
815976A6151577   ROBERTO        CORREA                     IA     90014756061
8159775A141272   MARTA          ALFARO                     PA     90005897501
81597A4A371977   TRENT          HERNANDEZ                  CO     90013290403
81597A82241272   MARTA          ALFARO                     PA     90011940822
81597A96472B62   EDGAR          DURAN                      CO     90012430964
81598137754B23   YOSELIN        MORALES                    VA     90014871377
81598635172B44   JAVIER         MARTINEZ                   CO     90015176351
81598717872B62   JESSICA        NISBYTH                    CO     90010137178
815987A225B591   SEAN           DOUGLAS                    NM     90008727022
81598958A97B3B   LUIS           CALDERON                   CO     90004529580
81598A64376B97   PEDRO          RODRIGUEZ                  CA     90004750643
8159931759712B   MARISELA       ZAMORA                     OR     44089193175
8159B113197133   SARAH          TROUTMAN                   OR     90013661131
8159B43AA5B581   ALANNA         OWENS                      NM     90006104300
8159B81A285936   CINDY          ALLEN                      KY     90006838102
8159BA41791242   KAYLA          MITCHELL                   GA     90014630417
815B1141497138   MARISELA       GARIBAY                    OR     44015911414
815B1512185856   JUAN           PEREZ                      CA     90014445121
815B1615177537   BRIAN          PARKS                      NV     90013616151
815B16A7893771   KENNY          COMBS                      OH     64553786078
815B214279154B   CRUZ           BAGUES                     TX     75092091427
815B226658B163   KRAIG          ASHTON                     UT     90008232665
815B2667797138   ANTONIO        DE LA ROSA RIOS            OR     90009596677
815B2691851362   DEREK          BERRY                      OH     90006646918
815B3131641275   MICHELLE       CARTER                     PA     51037671316
815B3233A9712B   TERESO         LOPEZ                      OR     90014992330
815B3251997B3B   DENISE         JENSEN                     CO     90014152519
815B3426285936   GARY           BARR                       KY     90014944262
815B3429A85856   MARTIN         CRUZ                       CA     90013434290
815B3463171977   LORI ANN       BAILEY                     CO     90014154631
815B3695772432   PAYGO          IVR ACTIVATION             PA     90011536957
815B3799191242   JAMMIE         POLLEY                     GA     90014187991
815B37A6597138   CRYSTAL DAWN   FREEMAN                    OR     90009907065
815B3A34897B3B   CHRISTIAN      HERNENDEZ                  CO     90012740348
815B3A37871977   TRAVIS         PRATER                     CO     90010770378
815B4164591837   TINEESHA       LOVE                       OK     90011411645
815B422419712B   JUNG SUN       PARK                       OR     90011912241
815B4321772B62   LLUVIA         BENCOMO                    CO     90012373217
815B4345776B97   EFREN          VILLAFANA                  CA     90010083457
815B451228B154   MARK           PILLOW                     UT     31064675122
815B4934672B27   JESSICA        MILLER                     CO     90009739346
815B4AA2791525   ALEXANDER      LAGUNA                     TX     90007900027
815B5224197121   KACEE          SINMS                      OR     90010532241
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1110 of 2350


815B5552A76B97   ANA                 DEMESA                CA     90013625520
815B5577A5B183   SHIRLEY             LYONS                 AR     23088585770
815B5879672B29   RICHARD             RANGEL                CO     90009128796
815B596918B163   OLGA                MIRAMONTES            UT     90006369691
815B6318777537   ANTHONY             HENRY                 NV     90014193187
815B6375471977   ASHLEY              WASHINTON             CO     90013153754
815B7334885856   JULIAN              SALDANA               CA     90001353348
815B756715B145   BRENNA              REEVES                AR     90001265671
815B766A85B32B   SUSAN               MILLER                OR     90013906608
815B7968891979   NICK                ZACNY                 NC     90003909688
815B8446491979   VALERIE             TISDALE               NC     17090884464
815B857892B271   ANGEL               LEWIS                 DC     90001275789
815B866259154B   ALEJANDRA           GUERRERO              TX     90012306625
815B873625B32B   TYLER               CLITON                OR     44591367362
815B914988B154   JEAN                ROUSE                 UT     90014381498
815B945575B378   CRAIG               DALAFE                OR     44508174557
815B9862277537   DEBRA               WILSON                NV     90012338622
815B9931455945   JOSE                ZARAGOZA              CA     90013899314
815B9932572B44   TRACY               JARAMILLO             CO     33018349325
815B9A65497138   TENEIKA MERISSA     BROWN                 OR     90009740654
815B9AA385B32B   DAGOBERTO DELFINO   LOPEZ                 OR     90014850038
815BB448A5B183   QUERIDA             KELLEY                AR     90014444480
815BB485391979   CAMEDRA             BROWN                 NC     90014124853
815BB54A761928   SAL                 CURCIO                CA     46036245407
815BB67555B153   KAYLA               HALL                  AR     90005506755
815BB762747897   LAVELA              SIMMONS               GA     90009417627
815BB91918B168   CORY                PETERSON              UT     31093809191
815BBA1233B361   ROBYN               BENEDETTI             CO     90012970123
815BBA37871977   TRAVIS              PRATER                CO     90010770378
815BBA9776B932   MIDA                GONZALEZ              NJ     90013970977
8161115475B581   KARLETTES           LARGO                 NM     90002531547
8161174A572B33   ROBIN               HITTIE                CO     90012487405
81611A35491979   ISAURA              REYES                 NC     90014180354
816121A5841275   PHILLIP             WHITE                 PA     90011861058
8161282957B425   WILFREDO            CORDOVA               NC     90010898295
816129AA797138   SAVANNAH            JOHNSON               OR     90009669007
816133A174B967   LOIS                HARDY                 TX     76571723017
8161376A572B62   JAMES               RAMSEY                CO     33086797605
81613982172B44   DANIELLE            QUINONEZ-CARRILLO     CO     90007439821
81614457997B38   WILLIAM             MORLEY                CO     39082944579
81614655A71977   JENNIFER            LOPEZ                 CO     38014776550
81614A5A69154B   ERIKA               HERNANDEZ             TX     90012910506
81615149A97133   ROSS BRANDON        ERNST                 OR     90015011490
8161518455B24B   ANTHONY             STEWART               KY     90015131845
81615321597B3B   AMANDA              PONDER                CO     90013203215
8161556128B154   ADRIAN AND JESSI    HILL                  UT     90015105612
8161564A25B581   LEAH                TURNBULL              NM     90015036402
8161581622B271   TONYA               LUCAS                 DC     90004728162
8161634814B967   TAMMY               WASHINGTON            TX     76550863481
8161664A25B581   LEAH                TURNBULL              NM     90015036402
81616761A41275   LORI                PARKER                PA     51085837610
8161743884B54B   CLAUIDA             MORRISON              OK     90009134388
8161816515B183   MARY                MACK-PETERSON         AR     23089281651
8161947A285936   LARRY               FRAHER                KY     67016014702
81619A78393771   GWIGA               ANDREW                OH     90012560783
8161B627A77537   URIEL               PINA                  NV     43090176270
8161B921A25151   HOLLEY              BOYKIN                AL     90013989210
8161BA31276B97   JOAQUIN             FUENTES               CA     90012080312
81621165672B29   ROY                 PRESS                 CO     90012331656
8162197529154B   LIZETTE             LUNA                  TX     75042029752
81621AA4672B33   LEZAVETTA           SHORTS                CO     33098820046
8162214919154B   JOSE                VILLANUEVA            TX     75048161491
81623278372B44   RANDR               LITTLE                CO     90011972783
816238A6197121   JERROD              SCHALK                OR     90012588061
81623A1612B28B   BARRY               CHAPPELL              DC     90006870161
81624483272B44   HELEN               ATKINSON              CO     33087434832
8162558A65B139   JAMES               COLLIER               AR     23002475806
81625857A93771   KAYLA               DECKER                OH     90012538570
81625A8A65B32B   ANTHONY             VINCENT               OR     90006410806
81626189872B44   MA DEL ROCIO        OCAMPO                CO     90013081898
816265A8385856   EMILY               JACKSON               CA     46078725083
8162678219123B   SAMANTHA            ELLISON               GA     90011027821
8162711885B183   ISABEL              ORTIZ                 AR     90013381188
8162782A35B32B   GUADALUPE           GONON                 OR     90014688203
81627A82747822   OCTAVIA             THOMAS                GA     90009870827
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1111 of 2350


81628621A72432   KELLY           PORTCH                    PA     51017886210
81628AA169193B   KEVIN           THAXTON                   NC     90013640016
8162977297192B   ZACH            SMITH                     CO     32015657729
8162994A45B24B   LINDA           EDMONDS                   KY     90003019404
81629967A91979   ASIYA           IBRAHIM                   NC     90011519670
8162B183797B38   MAYRA           CRUZ                      CO     39015861837
8162B517197133   MARTHA          BANNICK                   OR     90011515171
8162B67555B153   KAYLA           HALL                      AR     90005506755
8162B91735B24B   RUSSELL         WEAKLEY                   KY     68002609173
8162BA25855945   CRAIG           CLEIM                     CA     90006290258
8163133A193771   RONIKA          GREEN                     OH     64541083301
8163186838B154   LEROY           TIMOTHY                   UT     31009998683
8163253578B154   ELEAZAR         CALDERON                  UT     90008395357
81632544172B62   VENITA          PETTEWAY                  CO     33092965441
8163293819154B   YVETTE          OCHOA                     TX     75077739381
81633141172B29   JOSEPH          CHARLES                   CO     90002011411
81633177472B44   MAURICE         ENGELBY                   CO     90010421774
8163347AA72B33   DARLENE         HERONEMA                  CO     90011414700
8163362194B22B   RUSS            MYRICK                    NE     27037516219
816342A3555945   OSCAR           BARBA                     CA     90014482035
8163454A19154B   ARTURO          RAMOS SAUCEDO             TX     90013775401
81634A4A133698   ANDREA          LEWIS                     NC     90015050401
8163515865B183   ALEXANDRA       COX                       AR     90014161586
8163535865B581   GUSTAVO         ALDERETE                  NM     90011403586
8163556A972B33   FELICIA         GARZA                     CO     90013985609
8163572378B168   ROSSMAN         JAMI                      UT     31011037237
8163577968B163   PABLO           ISLAS                     UT     90014467796
81636A26772432   RANDOLPH        MOTON                     PA     90014790267
81636AA469154B   JUAN            SOLANO                    TX     75025120046
8163728899712B   NICOLE          GOLDSPINK                 OR     90007332889
816379A444B22B   JUANITA         PEREZ                     NE     27075689044
816379A6591975   KIERRA          WILLIAMS                  NC     90012909065
8163894A59154B   CLARIBEL        RODRIGUEZ                 TX     90008019405
81639546197B38   RAUL            HERRERA                   CO     90014075461
81639837A9712B   ALLIO           BLONDI                    OR     90012608370
816399A4731433   KELLEE          BAKER                     MO     90006859047
8163B144693771   CHRISTINE       DIMITRIOU                 OH     64594691446
8163B426872B33   DAMIAN          WITASCHEK                 CO     90013494268
8163B46544B22B   SHONNA          SCHRAMM                   NE     90010914654
8163B651672B93   KERRIE          BOWEN                     CO     33091066516
8163B679A47897   QUINTONNIA      HAMPTON                   GA     90012126790
8163B75115B145   EBONY           MORGAN                    AR     90000857511
8163B847597133   CHRIS           SHEPARD                   OR     90008408475
8163B931471977   CINDY           VALENZUELA                CO     38091049314
8163BA25397138   JULILA          GEARHEARD                 OR     90007830253
8164126A38B163   BARBARA         TWITTY                    UT     90014002603
8164127A297B38   MARK            TURKIEWICZ                CO     90014832702
8164135535B183   AUDRA           NORTH                     AR     23036653553
8164135A28B154   TONYA           DRUCE                     UT     90014623502
81642281274B7B   BRIAN           CLARK                     OH     90014072812
8164284A15B338   SALVADOR        BELLMONTE                 OR     90002838401
8164361A62B956   JOE             ESPARZA                   CA     90010946106
81643657A47822   YOLANDA         STUBBS                    GA     90009536570
8164372918B163   MARLET          HERNANDEZ                 UT     90013537291
8164438A45B581   GUSTAVO         HIDALGO                   NM     35090183804
816443A5A9712B   ALISA           CONRAD                    OR     90007743050
8164498128B154   MARC            BLACKBURN                 UT     90013909812
81644A4215B139   B JEAN          JACKSON                   AR     23075140421
81644AA525B338   MIKE            HUSTED                    OR     90003580052
8164538A172B62   ESTAPHEN        HUMILDAD                  CO     90007193801
8164583A49154B   DAVID EDUARDO   YUDICO                    TX     90013208304
8164623A991837   RAUL            RODRIGUEZ                 OK     90013392309
8164672679712B   NICHOLE         GUNN                      OR     90014497267
8164728418B163   TAYLOR          NEWELL                    UT     90001812841
8164741A985856   JADEN           ROSS                      CA     46048024109
8164768314B22B   JAMES           GOMEZ                     NE     90012096831
816477A4333698   TRACY           CLARK                     NC     90010137043
81647A32247897   HEATHER         DANIELS                   GA     90010850322
81648162972B44   MARCIA          MCCLOUD                   CO     90012801629
8164832785B183   MICHAEL         LILLY                     AR     23002163278
81648552854B53   JUAN            VALDEZ                    VA     90010435528
816491A746194B   OLIVA           BAZA                      CA     46079961074
816492A2885936   DIANE           MAYNARD                   KY     90015012028
8164962589196B   ANTWAIN         JONES                     NC     90009956258
81649663172B44   BRIAN           GRIFFTH                   CO     33089606631
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1112 of 2350


8164B15217B499   DAVID            OBER                     NC     11068011521
8164B257491837   AUGUSTUS         DOYEL                    OK     90013002574
8164B38995B581   MELANIE          GUZMAN                   NM     90010643899
8164B82669712B   HEIDEI           WITNIK                   OR     90013328266
8164BA22491979   YOMO             WEAVER                   NC     17017640224
81651148172B62   BERENICE         ROJO                     CO     90004501481
8165136729712B   BRYANT           GARCIA                   OR     90014773672
81652558997B38   JARED            MCCAIN                   CO     90014445589
8165327543B359   PRISCILIAN       ANAYA                    CO     90002102754
81653297A91979   ASHLEY           WRIGHT                   NC     90014182970
8165346A797138   ANGELA           VENERIO                  OR     90009244607
8165377A597B3B   ABEL             PEREZ                    CO     39005527705
81653AAAA76B97   PATRICIA         ANDRADE                  CA     46075270000
8165416895593B   ANTONIO          SOSA                     CA     90008811689
8165496A893771   JAMAR            SANDERS                  OH     90010789608
81654A13797133   ANTONIO          TORRES                   OR     90015200137
81654A5515B24B   VERNON           DOUGLAS JR               KY     68027780551
81655315676B97   MIRIAM           HERNANDEZ                CA     46095793156
81655358472B33   EVENSON          BRIAN                    CO     33059433584
81655392A51362   RAYCHEL          KEMPER                   OH     66097303920
81655886172B44   MAGDALENA        PORTILLO-CABRERA         CO     90014848861
81655A76285856   CRISTOBAD        MENDEZ                   CA     46084240762
81656711A5B183   RICKY            STEWART                  AR     23054977110
81656A92977537   TANIA            LEON-FLORES              NV     90012400929
816575A669154B   IGNACIO          MENDOZA                  NM     75035215066
8165761118B163   JOY              BYARD                    UT     90005886111
81657711976B97   ANGELICA         VERA                     CA     90014947119
8165782719712B   LUCLYN           AMO                      OR     90010558271
81657862472B44   RYAN             HERSEL                   CO     90010418624
81657968A72B44   ALMA             MUNOZ                    CO     90009399680
81658A9689154B   ZAIDA            PARRA                    TX     90009030968
81659118776B65   LUCIA            BRIONES                  CA     90014251187
8165949AA8B192   JEANNINE         WIRTH                    UT     90010844900
816599A4772432   ROSCO            ENGLE                    PA     51006329047
81659AA9151362   JAIME            SCISCO                   OH     66085810091
8165B992685856   ELVIA            RUIZ                     CA     90005609926
816611A235B581   JUSTIN           MACK                     NM     90015041023
8166145A472B29   SANDRA           MARTINEZ                 CO     33057354504
81661997397B3B   BRITTANY         PALMIER                  CO     90013769973
8166241A19712B   NADIA            HARALSON                 OR     90014334101
8166269A472B29   SINNETT          MARTHA                   CO     33096156904
8166284519154B   DIBIA            VILLALOBOS               TX     90013208451
8166296968B168   LORI             HUGO                     UT     90007039696
81662A38A91525   RAQUEL           ALAN                     TX     90003960380
81663185297B3B   FRANCIS          CUTTY                    CO     39031821852
81663244172B62   AIOTEST1         DONOTTOUCH               CO     90015122441
8166364635B183   SHANNON          HOUSTON                  AR     90007726463
8166392945B32B   HELENE           WALKER                   OR     44564789294
8166429645B338   STEPHEN          RAPP                     OR     44542912964
8166432185B183   TAMMIE           SMITH                    AR     90014163218
8166432382B28B   ANTIONETTE       COLEY                    DC     90011133238
816644A8972B29   MALLELY          MEZA                     CO     90006674089
816646A6185856   JOSEPH           GEBHARD                  CA     90012976061
816654AA172B29   CATRINA          GONZALEZ                 CO     33036394001
816656AA585936   AJAY             JONES                    KY     90005086005
8166613215B183   KEELEY           EGGERS                   AR     23091891321
8166646235B32B   TEENA            CODDINGTON               OR     90001014623
81666573472B44   CHRISTOPHE       WEBER                    CO     33068205734
816669A9772B29   IRMA             CASAS                    CO     90013189097
81666A78497121   NELIDA           AGUIRRE GUTIERREZ        OR     44082340784
81667443876B97   JAY              LAPID                    CA     46051474438
81667787172B44   MEBRAT           FREMICHALE               CO     90013357871
816679A565B24B   YAVELIS          ABALLE                   KY     90001869056
81668152372B37   LORICA CHERRIE   HRUBES                   CO     90011211523
81668513A91975   JAMILA           ANDRADE                  NC     90014175130
8166877A947822   PAYGO            IVR ACTIVATION           GA     90014257709
8166891515B139   ERICA            BIGGERS                  AR     90014289151
8166919718B168   RICHARD          PETERSON                 UT     90015201971
8166971829154B   IRENE            RUBIO                    TX     90011157182
8166B35364B22B   SARAH            WEGMAN                   IA     90005373536
8166B3A8533698   COURTNEY         GUDDY                    NC     12073533085
8166B56689154B   GABRIELA         CELIS                    TX     90005425668
8167122A591837   SERGIO           CABELLO                  OK     90011002205
8167135A391975   APRIL            MGON                     NC     90014653503
81671A2A297B38   RIGO             BAUTISTA                 CO     90010000202
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1113 of 2350


8167233A45B32B   BRETTA       SWENSSON                     OR     44539883304
8167315475B581   KARLETTES    LARGO                        NM     90002531547
8167327198B168   BLAKE        MONSEN                       UT     90014062719
81673798872B44   CASSANDRA    ULIBARRI                     CO     90012857988
81673A9395B139   ASHLEY       DANIELS                      AR     90014040939
816754A3291837   DEANZA       MIMS                         OK     90010694032
816756A5893771   JAVIER       UZHCA                        OH     90013026058
81675745872B62   JOSE LUIS    VEGA HERNANDEZ               CO     33000027458
816759A558B168   MANUEL       MORALES                      UT     90010689055
8167629A876B97   GUSTAVO      ROBLES                       CA     90011852908
8167657A141275   TANNER       BOWEN                        PA     90013745701
81676957997B38   DAVID        MEZA                         CO     39051619579
8167697A297133   MELISSA      ERLANDSON                    OR     90011939702
81677499172B62   THAI ROBBY   XIONG                        CO     90015024991
8167753755B139   MICHAEL      RITCHEY                      AR     90009745375
81677667276B97   PEDRO        RAMIREZ                      CA     46073406672
816776A4597B51   EVANGELINA   RODRIGUEZ                    CO     90014936045
816791A738B168   CASSIE       TALBOT                       UT     31060391073
816795A732B265   DEANNA       ANDERSON                     DC     90008335073
8167964A15B581   MYRA         LEGARDA                      NM     90010536401
8167B12A633698   WILD         CHILD                        NC     90009551206
8167B163772B62   VICTORIA     FERNANDEZ                    CO     33095381637
8167B345841275   JAMES        MCPHERSON                    PA     51086103458
8167B789151362   SHEYANNE     CRANK                        OH     90007987891
8167B869785856   ANTHONY      WAINAINA                     CA     90014078697
8167B977385936   JULIE        CORNETT                      KY     90008359773
81681353572B29   LAWRENCE     BALILI                       CO     90012913535
816819A3547897   DIANE        DUGGER                       GA     90005189035
81682AA8172432   GABRIEL      PADILLA                      PA     90011690081
8168312265594B   JAMES        MCDOWELL                     CA     90014791226
8168318239154B   GRACIELA     AGUILAR                      TX     90003351823
8168323279154B   JESSICA      LARA                         TX     90014382327
8168357A772B29   ANDREA       GARTRELL                     CO     33026325707
81683594197B51   NOE          MEDINA                       CO     90008435941
81683A74847822   CHERYL       BRYANT                       GA     90008470748
81683A9A176B97   ROSARIO      AGUILAR                      CA     46017830901
8168475535B24B   DOMINIQUE    FRIERSON                     KY     90011577553
81684958372B29   ESMERALDA    ROMERO                       CO     33008729583
8168542145B32B   MELISSAS     DECHON                       OR     90006114214
8168599435B24B   SHAWANN      DOUGLAS                      KY     90013629943
8168619658B168   ALEX         WILLIAMS                     UT     90010341965
8168639AA91837   KIMBERLEY    RICHARD                      OK     21093423900
81686476597B3B   MICHELLE     MEJIAS                       CO     90014664765
8168664A385936   ROSE         KEYES                        KY     90014176403
81687126172B44   MAIRA        CAROLINA                     CO     90009461261
81687695176B65   ANTONIO      ORTIZ                        CA     90003736951
816877A288B168   DYLAN        DESSNER                      UT     90002687028
81687A47172B29   BECKY        RAMBO                        CO     33078650471
8168817424B296   LAMAR        WEBSTER                      NE     90010641742
81688174672B27   ESTEBAN      REYES                        CO     33041751746
81688194572B27   ANABELL      FLORES                       CO     39012171945
8168988A991525   GIOVANNA     ALLEN                        TX     75011538809
8168B112677537   RACHAEL      CROSS                        NV     90013111126
8168B31278B163   ROBERT       MIMS                         UT     31017453127
8168B443147822   VERLIRA      BROOKS                       GA     90005864431
8168B49675B139   NEREA        BASILIO                      AR     23082344967
8168B673285936   MYIA         LYVERS                       KY     90014236732
8168B896897121   CLAUDIA      GONZALEZ                     OR     90004098968
8168B973A97133   ANGELICA     MORALES                      OR     90009629730
8168B989272B33   BARBARA      GLASPER                      CO     90014559892
8168BA97172B44   REINA        ARDON                        CO     33015430971
81691241297B3B   SHELLY       FERRARA                      CO     90014072412
816914A3797B38   ALMA         LOZANO                       CO     90014504037
8169249348B168   WILLIAM      KOKOHU                       UT     90015094934
8169364A15B581   MYRA         LEGARDA                      NM     90010536401
81693A48776B65   ANTHONY      ENRIQUEZ                     CA     46018120487
816942AA693771   COLE         SUTTON                       OH     90013842006
8169448A155945   ARMEN        MKHITARYAN                   CA     90013384801
8169454A255945   ARMEN        MKHITARYAN                   CA     90004885402
816949A5776B65   ANTONIO      LOPEZ                        CA     46098559057
8169539645B183   KATRINA      HUNTER                       AR     90014163964
81695553872B62   JOSE         GONZALES                     CO     90012095538
81695A29797B3B   STEVEN       SCHRADER                     CO     90012710297
81695A35947822   CHARLETTE    GAIL                         GA     14012390359
81695A68172B33   MAYRA        MARTINEZ-HERNANDEZ           CO     33010380681
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1114 of 2350


81695A8A691944   TERESA       COSS                         NC     90010530806
81696352372B44   BRITTANY     GONZALEZ                     CO     90011603523
81696622A5B921   ESPERANSA    TREVINO                      WA     90008386220
8169681A572B62   RIGOBERTO    SINECIO                      CO     33081428105
81697742797B3B   JOEL         GOMEZ                        CO     39084287427
81698471497B3B   ELVIA        GARCIA CHAVEZ                CO     39039904714
8169864145B581   JOAQUIN      TREJO                        NM     35085766414
816987A322B271   DAYSI        MARTINEZ-TRINIDAD            DC     90003357032
81698872672B29   DAVE         NOSKER                       CO     90004658726
81698A13833698   JQNATAN      MILLER                       NC     12005690138
816993A227B445   TAMMY        SIERRA                       NC     90012993022
8169948755B183   PRATANYA     GVEEN                        AR     90014164875
816994A254B22B   RAGINA       LEMANTON                     IA     90007454025
81699918A76B65   SETH         MCCOY                        CA     90009989180
8169B34459154B   OSCAR        DE LA RIVA                   TX     90012613445
8169B431593771   GIBERTO      BENITEZ                      OH     90013924315
8169B732991979   MARLENNE     DIONICIO                     NC     90014187329
8169B845597121   CHAVARRIA    FAVIO                        OR     90002448455
816B1866185856   VIRGINIA     DOMINGUEZ                    CA     90012398661
816B211445B271   BRENDA S     REECE                        KY     90009631144
816B218932B996   ANTONIO      SANCHEZ                      CA     90007611893
816B2269161928   JUAN         BANALES                      CA     90010492691
816B2537297B3B   JEREMY       WRIGHT                       CO     39091675372
816B2A3925B145   CHARLES      TAYLOR                       AR     90009170392
816B3273972B44   JOEL         ASUNCION                     CO     90014742739
816B374A97B688   SHERRI       BRYANT                       GA     90004347409
816B3926772B44   VIVIAN       CARDINES                     CO     90013009267
816B3A2425B24B   CHRISTY      ALEXANDER                    KY     90008040242
816B3A51233698   ROBERTO      CASTILLO                     NC     12090150512
816B4148691242   BEVERLY      BERRY                        GA     14570631486
816B4254177537   DENISE       PENA                         NV     90014472541
816B436355B921   ANGEL        STEPHENSON                   ID     41046543635
816B4372671977   CELINA       CHAVEZ                       CO     90010403726
816B4435541262   KISHA        DUKE                         PA     90015104355
816B44A3972B44   MICHAEL      WHEELHOUSE                   CO     90008424039
816B474225B581   RUTH         EMANUEL                      NM     90010537422
816B48A5997B3B   CAMILLE      KLINE                        CO     39028768059
816B4959551347   JIMMY        HARRELL                      OH     90012469595
816B4998291979   RACHEL       MARSHEL                      NC     90014179982
816B5236A8B168   ALYSIA       GALLEGOS                     UT     90011222360
816B55AA771977   MARIA        JUANES                       CO     38069315007
816B61A985B581   ZANDRO       CABILTES                     NM     90013581098
816B687644B22B   MARIA        MEDINA                       IA     90012758764
816B731154B577   LANELL       COLEMAN                      OK     90006993115
816B7325741275   LANIKA       PAOLUCCI                     PA     90009723257
816B7421A97121   STORMI       KNIGHTS                      OR     44041634210
816B798928B168   NATALIE      MEADOWS                      UT     31006689892
816B8A4885B327   TAMMY        RHODES                       OR     90007780488
816B9312872B44   JUANA        MENDOZA                      CO     33011363128
816B963699712B   KELLY        ALLEN                        OR     90014496369
816BB119897B38   MICHAEL      LOPEZ                        CO     90011511198
816BB695191975   JOSHUA       PEARSON                      NC     90012046951
816BBA21347897   DANIELLE     SULLIVAN                     GA     90002460213
817113A6791975   YVONNE       HOLMES                       NC     90013283067
8171179A89154B   OTILIO       SALDIVAR                     TX     90012447908
81711926A47897   TAVAYA       FORESHAW                     GA     90012679260
8171192A876B65   MARIO        GONZALES                     CA     46051419208
81711A13891834   KAY          ROGERS                       OK     90009350138
81711A14885936   PETER        MCKENNA                      KY     90012040148
81711A22891979   ISHAWN       SHOULDERS                    NC     90009750228
8171232565B145   EMILY        LAWHON                       AR     90005443256
8171236A58B154   CHASE        LIGGETT                      UT     90014173605
8171267A585936   SANDRA       BARRIOS GARCIA               KY     90014956705
8171275815B581   MAGGIE       FREEMAN                      NM     35043977581
8171373598B168   ANDERSON     JORDAN                       UT     90013697359
8171445A25B24B   STACY        TURNER                       KY     90002644502
8171553155B24B   AMEIR        KASHAN                       KY     90012395315
817162AA591242   KIMBERLY     CISCO                        GA     90009672005
81716A32341262   SHARRYL      CHRISTIAN                    PA     90014640323
8171763A533698   SHIRLEY      ROBINSON                     NC     12060716305
81717653597B3B   JENNY        BOVEE                        CO     90015146535
8171834765B32B   EDITH        GILLETTE                     OR     90011723476
8171854314B22B   VERONICA     JONES                        NE     27086145431
81718A9175B32B   MARIA        MEDRANO                      OR     44551300917
8171917AA9154B   YANET        LUNA                         TX     75075901700
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1115 of 2350


8171921362B28B   TAMEKA       PRINCE                       DC     90009862136
8171953885B183   CALVIN       REDDICK                      AR     90014165388
817195A5647822   KIMBERLY     BROADUS                      GA     90009985056
817199A4972B62   GUSTAVO      MEZE                         CO     90001939049
8171B144293771   MICHELLE     FELLERS                      OH     90013111442
8171B1A494B967   EBONI        ROSS                         TX     76589021049
8171B35A67B359   ELISA        VALDEZ                       VA     90005473506
8171B52419712B   REBECCA      WATKINS                      OR     90014015241
8171B72729154B   ELISA        HERNANDEZ                    TX     90010627272
8171BA27747897   ROCAEL       PEREZ                        GA     90004970277
81721183472B62   JASSMINE     GARCIA                       CO     90009161834
8172122515B153   ADRIANNE     CARVER                       AR     90007822251
81721A18285856   SOLEDA       ESTRADA                      CA     46054800182
81722541297B3B   TINA         TYLER                        CO     90010065412
817229A2172B29   GREGORY      SCOTT                        CO     33084629021
8172358164B577   IRENE        KESLER                       OK     90008025816
8172372175B24B   ROBERT       BOMER                        KY     90003017217
81723A9275B581   ANNA         CHAVEZ                       NM     35013050927
81724214972B29   SHERRY       MONTOYA                      CO     90006612149
81724788A72B44   FREDERICK    GONZALEZ LEGARDA             CO     90013357880
817256A4385936   ERICKA       DAVIS                        KY     90013876043
81725847172B44   VICKIE       WARE                         CO     90013048471
81725AA139154B   BONNIE       MARTINEZ                     TX     75065360013
8172662A951362   ANTHONY      ROSE                         OH     90004336209
817269A5947897   STARLETT     RUTHERFORD                   GA     90011319059
81726A55697133   JAMIE        ROSENGHAL                    OR     90000890556
817277A5272B33   DROOPY       WALLZ                        CO     90012987052
81727A38424B38   RODOLFO      FUENTES                      VA     90012980384
81728174797B38   SHANNON      CRESS                        CO     39022581747
8172833A95B32B   MARTIN       VENTURA                      OR     90002533309
81728392372B62   RUBEN        SANTAMARIA                   CO     90014153923
8172887668B154   JOSHUA       MADISON                      UT     90013728766
81729178A9712B   ROBERTO      DE JESUS                     OR     90002901780
8172927AA91242   VAUGHN       SMITH                        GA     90011312700
8172929464B556   BRIANNA      ROBBINS                      OK     90009332946
8172958425B32B   BRIANNA      BECK                         OR     90013405842
817296A8772B29   CYNTHIA      OSUALA                       CO     33038746087
8172985266B397   JEREMY D     LAPOINTE                     NH     90013418526
8172B13745B581   ADRIANA      ESTRADA                      NM     35094231374
8172B3A5393137   KAYLA        HUNT                         TN     90014893053
8172B574176B97   AMANDA       ANDERSON                     CA     46033575741
8172B665772B62   CECILIA      RASCON                       CO     90011016657
81731656A91979   MONIQUE      SMITH                        NC     90010936560
8173187115B581   ALBERT       CHAVEZ                       NM     35009988711
81731949276B97   JASMIN       TERRAZAS                     CA     90009749492
8173236694B967   RAFEAL       AVALOS                       TX     90003843669
81732781197B3B   SCOTT        COOPER                       CO     90008567811
8173327975B24B   AYESHA       THOMAS                       KY     90010732797
8173347A18B168   PATRICE      TSCHABITZER                  UT     31065224701
8173387152B271   STERLING     THORNTON                     DC     81071598715
81734517A8B151   MITCHELL     LINDSAY                      UT     90012415170
817349A1A5B183   VICTORIA     BRYANT                       AR     90013319010
817349A3872B33   SILVANDO     SERRANO                      CO     33093409038
81734A83897121   MARIA        ORNELAS                      OR     90004100838
81735677397B3B   JOSEPH       GUERRERO                     CO     90008546773
8173587152B271   STERLING     THORNTON                     DC     81071598715
81735945A93137   NATALIA      PETERSON                     TN     90015459450
8173596945B32B   DANA         PORTIN                       OR     44539149694
81736313572B29   ROBERTO      FLORES                       CO     90003583135
81736A6438B163   ERMILO       AYALA                        UT     31088670643
8173711A197121   LOUIS        RICKS                        OR     90009541101
817378A8572B33   ANTONIO      ROSALES                      CO     90010678085
8173826A272B44   JENNIFER     MANN                         CO     90013152602
8173B195672B44   ROBERT       MESTAS                       CO     33076551956
8173B6A2A5B183   EBONY        BOWERS                       AR     90013366020
8173B81A997133   MICHAEL      HAYS                         OR     90009908109
8173B979293771   STEPHANIE    GOINGS                       OH     64578779792
8174119849712B   ISRAEL       CHAVEZ                       OR     44000301984
81741595397B3B   RA MA        TOH KLAR                     CO     39021405953
8174161A333698   TAMEKA       COLY                         NC     90009326103
8174189782B271   IVAN         HANKINS                      DC     81000638978
81742535297B38   GUILLERMO    ASTORGA                      CO     39094575352
81742553172B44   STEPHANIE    KRAUSE                       CO     33093025531
81743A31197B3B   TONYA        BENNETT                      CO     39017430311
8174479498B163   TRACY        CRANOR                       UT     90010977949
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1116 of 2350


817447A1972B44   PATRICIA         CHACON                   CO     90013067019
81744A7615B183   JEROME           WALLACE                  AR     23054550761
81745135A5B32B   GUY              GOURNEAU                 OR     90006051350
8174552A25B139   NATASHIA         COLLINS                  AR     23024085202
8174568529712B   DAMON            WILLIAMS                 OR     90011916852
8174593569154B   EVELYN           LIRA                     TX     90011129356
81746132A85936   NATASHA          WARFIELD                 KY     90010501320
81746A89951598   JOSE             SAUREZ                   IA     90013810899
8174714485B32B   RACHEL           FIVECOATS                OR     90013751448
8174727815B162   BRUNO            SHOWERS                  AR     90012662781
8174736A872B62   ESTELA           DIAZ                     CO     33013863608
8174766695B183   VONNE            WILSON                   AR     90015616669
8174779345B581   MIGUEL           SEDILLO                  NM     35039987934
81747813A41275   JUDY             STEPHENSON               PA     90015148130
81747911397B3B   ROBERTO          JIMENEZ                  CO     90007749113
81748177A77537   ALEJANDRA        ROBLES                   NV     90013831770
8174822A291837   CHARLES          EASKY                    OK     90000192202
8174872752B28B   DIONNE           LEWIS                    DC     90011737275
81748757997B38   RHON             ASH                      CO     90013037579
81748A42747822   FAYE             DUDLEY                   GA     90005160427
8174926A972B33   JOSE             LOPEZ                    CO     90003632609
817495A9A8B168   BRUCE            MURDOCK                  UT     90004325090
81749765A72B44   NICKOLEUS JOSE   BROZE                    CO     90013787650
81749A33697138   SUSAN            STEWART                  OR     90015060336
8174B257533698   KRISTA           MADISON                  NC     90011102575
8174B345497133   CESAR            BARAJAS                  OR     44079773454
8174B458185856   LANALEI          WISE                     CA     90013214581
8174B5A8197121   BRIAN            HALL                     OR     90012795081
8174B69A385936   MARTIN           NIELSON                  KY     90001786903
8174B719A72B44   GRANET           HUTTON                   CO     90009947190
8174BA86176B65   JOSE             REYES                    CA     46090980861
8175122645B145   BRANDON          CUBIT                    AR     90003792264
817517A9172B62   JOSE             RODRIGUEZ                CO     90012017091
81751815472B33   DEVONTAE         WYATT                    CO     90013138154
8175274718B168   FALLON           RASMUSSEN                UT     90013627471
8175328A197138   JOSE             PADILLA                  OR     90013292801
81753695172B29   LAZARO           CARDENAS                 CO     33090206951
81754181872B33   MARY             VARGAS                   CO     33052701818
81754749A97B38   URSULA           GONZALES                 CO     90014517490
8175481125B183   MARCADES         FLORES                   AR     90014448112
81755446472B33   ROGELIO          ORENDAY                  CO     33066554464
81755529276B65   LINDA            ORTIZ                    CA     90011135292
8175563655B183   JON              ANDREWS                  AR     90014166365
817556A198B154   CINDY            BARRIENTOS               UT     90006786019
8175572885B24B   KENNETH          DURHAM SR.               KY     68041377288
81755A24251362   JOSH             MADDEN                   OH     90014250242
8175614468B154   RAMON            PADILLA                  UT     31062851446
81756635A93771   JULIE            DENTON                   OH     64534196350
81756A78576B97   MARIA            HOERTELANO               CA     46053750785
8175738838B168   VICTORIA         RAMIREZ GRAJEDA          UT     90012053883
81757619172B62   MARIA            AIVILLALVA               CO     90005236191
81757642772B62   CLAUDIA          MONCADA GARCIA           CO     33053476427
81757825A8B163   ANNIE            CLARKE                   UT     90011948250
81757A4A14B967   JOHANNA          ANDERSON                 TX     76522320401
81757A54197B3B   JUSTIN           POPHAM                   CO     90012370541
817581A1576B97   INOCENCIO        ESTRADA                  CA     90014951015
8175867498B154   MAYRA            MONTANEZ                 UT     90010426749
8175925489154B   JESSICA          BARAJAS                  TX     90012952548
81759564597B3B   KERRI            SCHWARZ                  CO     90008205645
81759635A93771   JULIE            DENTON                   OH     64534196350
81759697A72B29   ALMA             GOMEZ                    CO     33034746970
817597A768B154   TROY             DUNN                     UT     90003247076
8175981A45B24B   AMY              JACKSON                  KY     90004148104
8175B29A972B23   ABDON            UC                       CO     90014772909
8175B73712B28B   LARRY            CLAY                     DC     90011737371
8176113A172B33   DEVRON           BRIGGS                   CO     90014701301
81761336876B97   SHERRI           MCCARTHY                 CA     46030103368
81761A63772497   HARRY            DOLENCE                  PA     90004730637
8176215365B183   STACY            DAIN                     AR     90013031536
81762517A76B97   SAMI             TOGANAS                  CA     90003135170
8176271884B22B   BRIAN            POOL                     NE     27015527188
81762813972B33   VERONICA         CHAVARRIA                CO     33037448139
81762A42797121   EULOGIO          SOTO ROJAS               OR     90013190427
81763297672B62   EDWARD           BROWN                    CO     90014582976
81763422972B33   GLENN            LOVELL                   CO     33037364229
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1117 of 2350


817634A3547822   SHERREKA         OLIVER                   GA     90011884035
8176389228B163   NAR              RAI                      UT     31001128922
8176451229154B   NELSON           SUAREZ                   TX     90002805122
8176475A197B3B   MELANIE          HALLS                    CO     90015437501
8176478916362B   BRUCE            ZAUF                     MO     27597997891
81764A82572B29   CRYSTAL          LEE                      CO     33045310825
81765582A9712B   JULIA            MENDOZA                  OR     44041785820
8176565355B183   EULANDA          RICHARD                  AR     90011076535
8176571A68B168   BEN              HUFF                     UT     90013867106
8176577438B163   CHRISTOPHER      AIONO                    UT     90010977743
8176593A19154B   JOHN             PRATT                    TX     75064389301
81766692672B33   JOE              CARMARENA                CO     90012876926
81766699A5B139   DAISY            SORG                     AR     23063616990
8176681455B581   KEVIN            ORDISH                   NM     90009778145
81766A72797B3B   PHILLIP          CRUZ                     CO     90001850727
8176717762B28B   SHAMEKA          L ROBINSON               DC     90003431776
81767449972B29   DUSTIN           RIFFLE                   CO     90014824499
817674A2872B62   VERA             ARREDONDO                CO     90012814028
8176896A14B22B   BRANDY           GATSON                   NE     27098999601
8176977A747897   BARBARA          JONES                    GA     90004467707
81769A3395B139   TAMARA           ROGERS                   AR     23071490339
8176B223355945   REBECCA          ALVAREZ                  CA     90013642233
8176B264997121   JOHN             ZIMMER                   OR     44062942649
8176B42935B183   TONYA            MORRISON                 AR     90014704293
8176B83949154B   ALBERTO          SALOME                   NM     75032408394
8177123274B22B   ADRIAN           GRAHAM                   NE     90011122327
8177132762B28B   BENON            ENZI                     DC     90012503276
817713AA476B65   JAIME            RAMIREZ                  CA     90011643004
8177146A972B62   MARISOL          SANCHEZ                  CO     90009354609
8177152AA85936   JEFFEREY         WIREMAN                  KY     90006825200
81772161A41275   JEFFREY          DZIKOWSKI                PA     51082591610
81772A88591975   EARL             MCLAUGHLIN               NC     90009010885
817732A3271977   DONNNA           MARTEL                   CO     38043692032
8177339115594B   MARIA            PEREZ                    CA     90004153911
81773565972B62   RICHARD          RODRIGUEZ                CO     90014885659
817735A5572B44   MARIA            SALINAS                  CO     33001035055
8177443146194B   ESPERANZA        REYNA                    CA     46091674314
81774985872B29   GERARDO          CARRILLO                 CO     33090659858
8177523129154B   CARLOS           CHAPARRO                 NM     90015172312
8177562255B338   REBECCA          BLOOM                    OR     90001186225
81775784972B44   JAIME            URUETA                   CO     90012097849
81776525A5B24B   ROBERT           DUNN                     KY     90014025250
81776A6769712B   GRISELDA         CORRO                    OR     90013590676
81777797876B97   LORENZA          VIELMA                   CA     90005627978
8177793133167B   DAVID            BARLOW                   KS     90010449313
8177836875B139   LISA             BENSON                   AR     23045823687
81778548272B44   PAULINIA         HERNANDEZ                CO     33009025482
817786AA771977   SUSAN            HYNES                    CO     38018336007
817786AA977537   DAWN             SHAY                     NV     90005916009
817788AA497133   FIEDOCIA         IVANOV                   OR     44088318004
81778931197B3B   JAMIE            VETTER                   CO     90014089311
8177929725B581   EVANGELINA       MORALES                  NM     90015042972
8177941A55B24B   MARGARET         COCHRAN                  KY     68046174105
817796A9477537   MARIO            DELA ROSA MORGADO        NV     43042706094
81779987676B65   JOSEPH           IZZORELLI                CA     90000929876
8177B264891975   DAVID            DE LA ROSA               NC     90012632648
8177B269591837   JORDAN-MELISSA   HENDERSON                OK     90010332695
8177B84225B24B   THELMA           CRUZ                     KY     90000678422
8177B962A91525   BEATRIZ          CONTRERAS                TX     75015939620
8178245484B556   BEVERLY          SWAIN                    OK     90010484548
81782687172B29   CARLOS           ESCOBEDO                 CO     90002606871
8178271A897133   JENNIFER         MILLER                   OR     90013907108
81782926476B97   JUAN             ABAME                    CA     46023489264
8178355768B154   VICTORIA         SOTO                     UT     90011815576
8178386A871977   MELINDA          MCPHERSON                CO     90013838608
81783941797B38   CESAR            CAUDILLO                 CO     90013169417
817841A5491986   LINDA            CESPEDES                 NC     90010461054
8178493849712B   CERVANTES        ALEJANDRA                OR     90001789384
81784A1745B24B   KELLY            MULLINS                  KY     90013690174
81784A2648B168   KRISTEN          NIELSEN                  UT     31006070264
81784A34877537   HORACIO          MEDINA                   NV     90012240348
8178559A497133   RAUL             CACHO                    OR     90007255904
81786331572B44   DANIEL           BETTIN                   CO     90015133315
81786612272B29   MARK             MADRILL                  CO     90010966122
81787236876B97   ANTHONY          CAMPBELL                 CA     90011032368
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1118 of 2350


8178728A98B167   DAWN         WELLMAN                      UT     90010382809
8178733585B32B   KARIN        KEITA                        OR     44509903358
817874AA497B38   JOANN        HICKMAN                      CO     39092974004
8178824215B24B   WILIAM       WOODARD                      KY     68051532421
8178841328B163   BONNIE       GEURTS                       UT     31050904132
8178843854B22B   OSCAR        IVAN ESPINOZA                IA     90015074385
8178875275B183   SHAWNA       MILLER                       AR     90014167527
8178892953365B   ZENETTA      JACKSON                      NC     17080269295
8178913964B22B   JETT         LANOHA                       NE     27063571396
8178B145472451   ANITA        SHOEMAKER                    PA     90012701454
8178B568991975   CARMEN       RAND                         NC     90013875689
8178B963697B3B   WILLIAM      RIDDLE                       CO     90011939636
81791545A8B154   ROGUER       OCANO                        UT     31026225450
8179177A391979   MARIA        CAMACHO                      NC     90011597703
81791A8395B24B   SIERRA       ALEXANDER                    KY     90008350839
8179263918B154   TYLER        HITCHCOCK                    UT     90014066391
81792854572B44   HILARIA      DELGADO                      CO     33062648545
81793626276B97   TRIXY        MOLANO                       CA     46046506262
81793A87685936   DIANA        HERNANDEZ                    KY     90013360876
81793A9352B956   JANICE       MILLER                       CA     90010440935
81794315A91837   MARK         PIGMAN                       OK     90015323150
8179462A972B44   AURORA       LOPEZ                        CO     90004966209
8179488589154B   GLADIOLA     RODRIGUEZ                    TX     90011178858
81794A41A5B24B   CRYSTAL      RAINEY                       KY     90012110410
81794A57441275   SHELVIA      GILMORE                      PA     90000920574
81794A6328B154   MAYRA        PELAYO                       UT     90014370632
81795657172B44   NATALIE      RIVERA                       CO     33012366571
81795883676B97   THOMAS       JANTZ                        CA     90013988836
8179698839154B   FRANCISCO    SANCHEZ                      TX     90012889883
81797593476B65   JULIA        CASTILLO                     CA     90012495934
8179833655B183   ADDIE        WALKER                       AR     23005103365
81798542972B44   IVAN         MERAZ                        CO     90014445429
8179856A772B62   DRIYN        LAPENN                       CO     90011035607
81798784697B38   AYRTON       ELDICH                       CO     90012807846
8179976235B32B   MIRANDA      DAVIS                        OR     90014987623
81799795272B62   OSCAR        HOLGUIN                      CO     90012857952
81799A46497133   LUZ          PALACIOS                     OR     90013940464
81799A8399154B   JANET        TAGUPA                       TX     75082060839
81799A96572B29   REBECCA      RIVERA                       CO     33072810965
8179B254472432   JESSICA      NEWMAN                       PA     90014652544
8179B721972B62   WENDY        MESSNER                      CO     33040957219
8179B74A297133   MIKE         SLATE                        OR     90007437402
8179B79482B28B   DEMETRIA     HAZELTON                     DC     90013417948
8179B796151362   DAILYN       WALKER                       OH     66052457961
817B113448B154   HAKEEM       KHAN                         UT     90012751344
817B1234A55945   ALEX         RAMIREZ                      CA     90009382340
817B12A5691837   SHARON       BRUMFIELD                    OK     90013962056
817B1378197B3B   BRAYAN       ACEVIZ                       CO     90010943781
817B177698B163   LONIA        KERSEY                       UT     90012687769
817B182698B154   KEIALOHA     FEAO                         UT     90007788269
817B1853241275   DASHAWNA     JONES                        PA     90015118532
817B22A588B168   YARET        AVALOS                       UT     31088612058
817B2353197121   LEWIE        LOVE                         OR     90008493531
817B242215B32B   EVELIA       ALFONSO-HERNANDEZ            OR     90000434221
817B255198B154   DOLORES      RODRIGUEZ                    UT     90007755519
817B282185B581   ENELIA       MORALES                      NM     90010538218
817B286769154B   MARCELA      ACOSTA                       TX     90008228676
817B3145197B38   ERIK         GARCIA                       CO     90011001451
817B383758B163   MATT         ALLEN                        UT     90012908375
817B3A86176B65   JOSE         REYES                        CA     46090980861
817B4371785856   MELANIE      DO                           CA     46051473717
817B442899154B   ZENAIDA      LOPEZ                        TX     90013284289
817B4554876B97   BILLIE       COULTER                      CA     90015345548
817B48A6551531   PERDO        GOMEZ                        IA     90014188065
817B5261A7B499   SONYA        HENEGAN                      NC     90009932610
817B528555B183   CHERYL       RAYNOR                       AR     23094702855
817B5391172B62   JAIME        CHAIRES                      CO     90012493911
817B546A985856   MARGARITO    RUBACABA                     CA     46086904609
817B59A7676B97   CHARLENE     MYRICK                       CA     90012929076
817B5A4168B163   ANTONIO      COBOS                        UT     31028960416
817B5A78141275   JHONN        CAROLAAN                     PA     90014740781
817B6139497138   ORLANDO      VALLES CRUZ                  OR     90014541394
817B61A2421679   CHRISTINE    MURRY                        OH     90015401024
817B6266791837   RICARDO      MEDRANO                      OK     90000622667
817B6339497B3B   JUAN         TEJADA                       CO     39065273394
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1119 of 2350


817B63A488B163   NOHEMY             DUENAS                 UT     90000923048
817B6411197133   JACOBO             ESPINOZA               OR     44090504111
817B646558B154   TOMAS              PINE                   UT     90012454655
817B6822193771   ALVIRLEEN          SCOTT                  OH     64517078221
817B6A72A9712B   KITTA              DELA CRUZ              OR     90008130720
817B6A78772B44   PAOLA              CANDELARIO             CO     90006860787
817B7711761928   CASSIDY            HELTON                 CA     90005197117
817B776335B581   RUBEN              DOMINGUEZ              NM     35087207633
817B81A9497121   MARGARITA          ROJAS                  OR     44041031094
817B8312147822   ROSHONDA           CHATMAN                GA     90011663121
817B853259154B   DORIANN VICTORIA   ARNOLD                 TX     90012455325
817B874169712B   HEATHER            JONES                  OR     90014497416
817B8A12A8B154   HEATHER            MANN                   UT     90015200120
817B9677751362   AMBER              OWENS                  OH     90005686777
817B987439712B   AMANDA             MITCHELL               OR     90013258743
817B98A2176B97   DAVID              ARNAL                  CA     46049988021
817B993535B338   SANDRA             ALVAREZ                OR     44542949353
817B9A2A997B3B   DAVID              ORTEGA                 CO     90013690209
817BB263276B65   KIRTUS             GIBBONS                CA     90007302632
817BB2A775B24B   JAMES              SHARP                  KY     90013552077
817BB627772432   TRAVIS             CAIN                   PA     90013456277
81811A16776B65   EUGENIO            SILVESTRE              CA     46017600167
8181218484B556   CATHERINE          RIGSBY                 OK     90008861848
8181284635B183   PAYGO              IVR ACTIVATION         AR     90014168463
81812A46197121   ANGELICA           CAMACHO                OR     44056960461
8181338945B153   ROLLANDA           TELLIS                 AR     23036133894
818139A278B16B   MARIA              RAMIREZ                UT     90013569027
8181446343B347   JOHN               COUTURE                CO     90003864634
8181533218B163   LEANDRA            BEGAY                  UT     90011053321
818157A7585936   TERRI              LEONARD                KY     90013777075
81815832997B38   MICHELLE           SANCHEZ                CO     90012268329
81815A22A9154B   RODRIGUEZ          KAREN                  TX     90010480220
81815A62972B44   JAZIEL             MORENO                 CO     90012430629
81816411A93771   CAYSE              WILLIAMS               OH     90012624110
8181669239712B   CRYSTAL            WILLIS                 OR     90014566923
81816736576B97   JUAN               RAMOS                  CA     90008877365
8181743A947897   AISHA              DURHAM                 GA     90014714309
81817528572B44   MEAGAN             HOLLEY                 CO     90005565285
8181765839712B   JAVIER             POSADAS                OR     90003756583
81817A11A93771   TAMELIA            DECKER                 OH     64540350110
81818244376B97   RICK               VANTONGEREN            CA     46048302443
818186A814B22B   LASHAWN            MARCOS                 NE     90014546081
8181876A993137   JONATHON           WATKINS                KY     90007147609
8181882945B153   KENDRAILLA         KELLY                  AR     90006698294
81818A83233698   TREY               CRANDELL               NC     90011120832
81818A9418B163   RICK               FOX                    UT     90012180941
8181914175B32B   BRIAN              LEMING                 OR     90015121417
81819288172B62   FELIPE             PINEDO                 CO     33009112881
8181947475B32B   BRADY              LAWS                   OR     90011724747
81819578A91979   PASTRA             HIGHSMITH              NC     90015155780
8181962645B183   EVERARDO           ITURBIDE               AR     90013886264
81819788772B29   NICK               ORTIZ                  CO     90002047887
8181B2A794B22B   BRADLEY            JONES                  NE     90014172079
8181B396397B3B   SERGIO             MERCADO                CO     90010193963
8181B47A95B32B   JOE                PESCI                  OR     90011724709
8181B84414B22B   ALANNA             WATSON                 NE     90006378441
8181B9A8897B38   JAQUELINE          CARRILLO               CO     90012749088
8181BA81193771   FRANCIS            ORTMAN                 OH     90008370811
8182136629154B   CESAR              FRANCO                 TX     90013793662
8182151A641272   CAROLYN            DENISE HAMPTON         PA     90007765106
81821A44A55945   GULLERMO           CASTILLO               CA     90012040440
818227A149377B   KAREN              RITTENHOUSE            OH     64574237014
81824195672B44   ROBERT             MESTAS                 CO     33076551956
8182435215B183   ALEXIS             NELSON                 AR     23081903521
8182435695B32B   STEPHEN            BREAUX                 OR     90014003569
81824816297B3B   MICHAEL            SAUCIER                CO     90012588162
81825384672B44   JOSE               PENA VALDEZ            CO     90013513846
81825478797B38   VALERIE            LOYA                   CO     90012264787
8182583345B24B   THOMAS             DURBIN                 KY     68094578334
81825A47291558   TERESA             NAJERA                 TX     90012890472
81826155A47822   JONTAVIA           FORD                   GA     90013211550
818263A549154B   RUTH               JAQUEZ                 TX     75011083054
8182657254B22B   MISAEL             MARTINEZ-MEJIA         NE     90013505725
818269A7347831   JAVEN              HARDEN                 GA     90009569073
81826A45697B3B   MARIA              GARCIA                 CO     90005520456
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1120 of 2350


8182773A193771   FISHER        ANO                         OH     90008627301
81827745A41262   KEISHA        JETTER                      PA     90009667450
818277A185B24B   JILL          KESSINGER                   KY     90013227018
8182835365B183   JOYCELYN      JAMES                       AR     90014483536
81828A72472B33   MARLA         STRICK                      CO     90010820724
8182921147B424   ROBERTO       SANTOS                      NC     90004592114
8182929439154B   ADRIAN        MADRID                      TX     90014842943
818293A948B163   SITIVENI      FONUA                       UT     90014333094
81829576272B29   JEREMY        STEVENS                     CO     90012245762
8182965485B331   MAURICIA      DAY                         OR     90000766548
8182975265B183   CHRISTIAN     MCCULLOUGH                  AR     90013457526
81829969872B44   DONAVAN       GARCIA                      CO     90001869698
8182B433291837   VANESSA       STEVENSON                   OK     90013954332
8182B546891979   MARIA ELENA   TRINIDAD                    NC     90009345468
8182B629485936   MONIQUE       HAWK                        KY     67016936294
8182B76A98B168   MAURA         GOMEZ                       UT     90012767609
8182BA19141275   MARCIA        MITCHELL                    PA     90014360191
81831A65677537   MONIKA        HUGHEN                      NV     90004090656
81831A7988B168   MARSHALL      BROWN                       UT     31036610798
818324A489712B   JOSEFINA      ALMONTE                     OR     90011294048
8183274365B32B   RICHARD       FRONATT                     OR     90009267436
81832A81A8B154   ANDRES        REYNOSO                     UT     90012910810
8183345589154B   VIRGINIA      VILLANUEVA                  TX     90014514558
8183423125B338   ROSA          CASTANEDA RIVERA            OR     44516722312
818347A8597133   YAKOV         PARFIRI TORAN               OR     90012157085
81834A43447897   NICKIE        SIMMONS                     GA     90014830434
81834A58391242   KIEWANDRA     HEYWARD                     GA     90013140583
81835416872B33   LATACHA       ROGERS                      CO     33062664168
81835612272B29   MARK          MADRILL                     CO     90010966122
81835752A91975   SHALETIA      MCARTHUR                    NC     90014407520
818363A8877537   RAYNA         BELWOOD                     NV     90012143088
81836447A72B44   MARIA         HERRERA                     CO     33071724470
8183733AA76B65   JOSE          GONZALEZ                    CA     46054563300
8183748239712B   JOHN          IBAMBASI                    OR     44012114823
818374A955B24B   KELLY         BURTON                      KY     90009914095
81837961A5B581   FABIOLA       PADILLA                     NM     90010539610
818381A4671977   JOSE          ALBARADO                    CO     90004271046
81838284197B38   KRISTINA      MEZA                        CO     90014742841
8183855A25B183   MARIE         MAGBY                       AR     90011945502
818392A7672B33   IDALI         HINOJOS                     CO     90012352076
8183931A68B163   KEVIN         MORAM                       UT     90013933106
818395A314B53B   DARRYL        LESLIE                      OK     90008565031
8183B262572B44   JESUS         ALVARADO                    CO     90012272625
8183B53272B271   CHRIS         ROBINSON                    DC     90013935327
8183B58768B168   RON           BRIJS                       UT     90013905876
8183B618177537   JEROME        RICHARDSON                  NV     90013326181
8183B658172B62   MELISSA       REYNOLDS                    CO     33066906581
8184157A976B97   SERGIO        SOLIS                       CA     90010945709
8184179A997133   ELIZABETH     HOLMGEN                     OR     44089247909
81841844A5135B   RONALD        POWELL                      OH     66095098440
8184195939712B   GABRIEL       AMBRIZ                      OR     90012369593
81841A59271977   ANA           VAIDEZ                      CO     38097560592
81842516172B62   JOSE          CAAMAL                      CO     33026085161
81842762297B38   GEORGIY       SVETLENKO                   CO     90008537622
818429A3991837   RICARDO       JONES                       OK     90013949039
8184318675B183   DEANDREA      WILLIAMS                    AR     90010211867
8184328212B28B   VAUGNDELL     HATTON                      DC     90008082821
8184352385B24B   TANEEA        COOPER                      KY     68005155238
8184418255B24B   ROLANDO       FUNDORA JAU                 KY     90012951825
8184419853B391   ELIZABETH     NARANJO                     CO     90003271985
81844449A76B97   VAIU          ALE                         CA     90014844490
818447A785B32B   TANYA         EAKIN                       OR     90013907078
81845A59172B62   MARTHA        JUAREZ                      CO     33013320591
8184621375B32B   SYLVIA        LOGAN                       OR     44591482137
8184639A372B33   JOAQUIN       SANCHEZ                     CO     90013303903
8184652328B168   YVETTE        VEZINA                      UT     90011465232
8184759A391837   ARUNN         BARNETT                     OK     90006675903
8184763A891837   ERNESTO       VIVEROS                     OK     21058326308
8184824A14B22B   LAURA         BOLLINGER                   NE     27075122401
8184832A255945   NORA          CASTRO                      CA     49022843202
8184832A733698   DEBRA         YATES                       NC     90000383207
81848A44A97B3B   KELLY         SHILEIKIS                   CO     39034160440
8184938484B22B   ANGELA        PREROST                     NE     27084233848
8184954279154B   JENNIFER      STIDHAM                     TX     90008265427
8184989898B168   LESLIE        PIKE                        UT     90010918989
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1121 of 2350


81849AA3233698   MARY         JANE                         NC     12008820032
8184B18A291837   JULIO        ARIAS                        OK     90011501802
8184B216885924   ORLIN        BAIRES                       KY     90012642168
8184B282436121   ROXANNA      SANCHEZ                      TX     90004772824
8184B31679154B   JULIO        MARIN                        TX     90014983167
8184B423833698   BONNITA      WOLFE                        NC     12089824238
8184B525176B97   ELISE        MIKEL                        CA     90003885251
8184B5A7972B33   PAMELA G     BANTA                        CO     33017975079
8185148462B964   ARACELI      DIAZ                         CA     90008004846
81851644A5B24B   GLO          ALVAREZ                      KY     90015146440
81851993172B33   KILA         CAMERON                      CO     33014109931
81852727A47897   VERONICA     KEMP                         GA     90003497270
8185275658B154   OLGA         REDON                        UT     31006507565
81853334472B29   JOSE         VASQUEZ MONROY               CO     90013103344
818536A9597B38   KRISTINA     SANCHEZ                      CO     90010146095
8185378135B32B   MISAEL       ORTIZ                        OR     90002337813
8185383298B163   RUIZ         RAFAEL                       UT     90008328329
8185392A772B33   VAL MARIE    ROBLES                       CO     33085069207
81853A6A272B62   JASMINE      STEVENS                      CO     90012680602
8185484429712B   HERMINA      DELGADO                      OR     90000658442
818549A2672B33   SHEY         SMITH                        CO     90013029026
81855581572B29   EUSEBIO      MENDOZA                      CO     90014885815
81855A26897B3B   BRANDI M     STEPHENS                     CO     90002950268
81855A42193771   KENNETH      WOMACKS                      OH     64515940421
81856161372B33   LATONYA      DAVIS                        CO     33063231613
81856612A41262   CHRISTINE    NOLTE                        PA     90012996120
81856635A5B139   JAMINE       HARRIS                       AR     23012476350
81856727576B97   AMBER        BURD                         CA     46094547275
81856856A8B154   JODI         WARDROP                      UT     90013168560
81856A34491979   ASHLEY       TEMPLE                       NC     90015160344
81857275272B62   ELIZABETH    ZAMORA                       CO     33053682752
8185774445B139   ATTOYA       WILLIAMSON                   AR     90005877444
818579A8147897   SHATARA      SANDIFER                     GA     90014729081
81858195197B3B   ADRIAN       LUCERO                       CO     90014211951
8185874485B183   DAVID        HUGGINS                      AR     90014667448
81858981A97121   PAUL         CONKLIN                      OR     90014839810
81859349A55928   SOUA         XIONG                        CA     90007063490
8185979479154B   NORMA        MARTINEZ                     TX     90012447947
8185B457A97133   DALE         WARD                         OR     90012554570
8185B648991525   DIANA        VILLALOBOS                   TX     75070286489
8185B6A5697B38   WESLEY       MCELWAIN                     CO     39092276056
8185B747A93771   CATHERINE    BARNETT                      OH     90009537470
8185B79338B154   BRITTANY     JOHNSON                      UT     31006697933
8186142728B163   ANNA         BECK                         UT     31081424272
81861513A9712B   REINA        NIETO                        OR     44084585130
81861A17993771   AIMEE        GIBSON                       OH     90012730179
8186228824B531   SHAQUITA     TAPLIN                       OK     90010992882
81862462A91242   RENE         DE LA CRUZ                   SC     90014664620
81863186A33698   TAMELA       COVINGTON                    NC     12036101860
81863283898B22   JOSE         MARTINEZ                     NC     90011562838
818635A555B581   LEANN        SANCHEZ                      NM     90005305055
81863966172B29   HILDA        ANZUREZ-TEJEDA               CO     33082319661
81864321172B29   BLANCA       ACEVES                       CO     33077833211
818646A9185936   MISTY        BRANSON                      KY     90013486091
81864969A97121   TYLER        JAMES MACKEY                 OR     44088579690
81864A5734127B   CARA         THORHAUER                    PA     90003700573
8186536149712B   LILIA        DIAZ                         OR     90014803614
8186538975B183   MIGUEL       RODRIGUEZ-PALMA              AR     90014993897
81865A67997138   ISMAEL       ARIZMENDI                    OR     90014640679
8186649644B967   ZANOBIA      MALLORY                      TX     90002304964
8186718395B338   KNISHNEEL    LAL                          OR     90004521839
81867322372B44   JOSE         AEVNANDEZ                    CO     33076553223
818674A629154B   LUIS         MENDIA                       TX     75087584062
8186763465B24B   DEBRA        TAULBEE                      KY     90014986346
81867867A72432   ROBERT       WALKER                       PA     51030098670
81867A6685B183   KIM          KIGHT                        AR     23083990668
8186891645B24B   SHAUN        WATTS                        KY     90005639164
8186914515B32B   JACQUELINE   DUNBAR                       OR     44523361451
818691A8997133   CARLOTA      MEDINA                       OR     90011281089
81869267A93771   VARONNA      RAMEY                        OH     90014782670
81869542397B3B   NATALIE      WHITMAN                      CO     90009595423
8186B49A35B24B   MARTIN       DELGADO NAJERA               KY     90015314903
8186B71A897133   JENNIFER     MILLER                       OR     90013907108
8186BA45193771   EDWARD       LEIFFER                      OH     90000430451
818711A1A72B62   KAREN        ZAMORA                       CO     33035361010
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1122 of 2350


818711A2176B97   GUAMEDALID     HERNANDEZ                  CA     90002821021
8187127A35B32B   ROBIN          PIGG                       OR     90012022703
8187128489154B   ALFONSO        GARCIA                     TX     90013942848
81871684972B44   MARIZOL        IRIZARRY                   CO     90008696849
818717A8457531   LORENA         AINSWORTH                  NM     90014227084
818719A1A47822   AMY            ROWLAND                    GA     90012629010
8187231158B168   JACQUELINE     VALDEZ                     UT     90012083115
8187284545B581   ARTURO         ALARCON                    NM     90004268454
8187399445B338   KAMRAN         REZAEL SADOL               OR     44522419944
81873A31791979   JUAN           MEZA GALVAN                NC     17018090317
818744AA985936   JEANNA         WALLACE                    KY     90012604009
8187467A872B33   CASSIE         WAGNER                     CO     33013396708
81874958A5B24B   OLIVIA         MAISON                     KY     90009509580
8187587A177537   DANIEL RAMOS   GALVAN                     NV     90014758701
818762A9A91525   JULIO          ARAIZA                     TX     75067382090
8187695629154B   DAISY          ZAPIEN                     TX     75033809562
818769A8547822   CELECIA        JONES                      GA     90014029085
8187719A847822   WESLEY         MULLINS                    GA     90014711908
8187769239712B   CRYSTAL        WILLIS                     OR     90014566923
8187826846194B   ERIKA          ALONSO                     CA     46079452684
8187837128B17B   AMIE           STANGER                    UT     90001563712
81878651A8B168   LINDSAY        MEYER                      UT     31060666510
81878717776B65   ANDRES         AGUIRRE                    CA     90010377177
8187929985B24B   JESSICA        MARSHEE                    KY     90012762998
818797A3A97133   MAKSIM         FRANKO                     OR     90014937030
818798AA747897   SHUNDA         PATRICK                    GA     90015018007
818799A1A47822   AMY            ROWLAND                    GA     90012629010
81879A18293771   TAMISHA        HOLLOWAY                   OH     90001400182
8187B28A272432   BOB            SQUIRES                    PA     90007982802
8187B346997B3B   BRITTAWNYA     CHANNEL                    CO     90014403469
8187B485171977   DESTINY        ROBERTS                    CO     90013964851
8187B88832B243   IRVING         BRADY                      DC     90005738883
8187B923677537   ROMAN          BURNS                      NV     43023799236
8187B95459154B   MARIA          MORRILL                    TX     75047849545
81881211772B29   JASON          HARVEY                     CO     33057382117
8188133478B163   ROBBIE         ROBINSON                   UT     90004313347
81881433A9154B   VANESSA        TALAMANTES                 TX     90013874330
81881548197B3B   MARIA          SALAZAR-HUERTA             CO     39008385481
8188163689712B   MATHEW         LOUSICH                    OR     90013616368
81881A77872B62   BLANCA         CALDERON                   CO     90013930778
8188228554B555   DWAYNE         HARBERT                    OK     90008802855
8188229A293771   SHEA           DUNN                       OH     90012122902
8188241999712B   MICHAEL        MERKLEY VINCENT            OR     90012264199
81882489272B44   SHANIYA        FORD                       CO     90014364892
818829A548B168   JEFF           SONNTAG                    UT     31063739054
8188381A172B29   EDWIN          FLORES                     CO     33029508101
818842A3476B97   JOSE MIGUEL    DIAZ                       CA     90014502034
81884432772B33   ELEAZER        HORTON                     CO     90005854327
8188453125B581   ADRIANA        PAREDES                    NM     90002515312
8188528245B183   NATASHIA       MAYS                       AR     23064742824
8188577A747822   BARBARA        JONES                      GA     90004467707
81885993A61928   SANTIAGO       CERVANTES                  CA     90011539930
8188624449154B   YAZMIN         TRIPP                      TX     90014932444
81886673A33698   OCTAVIA        MCKIEVER                   NC     12006396730
81887397572B44   EMIR           CASTRO                     CO     90008433975
8188763715B183   DAVID          JOHNSON                    AR     23004606371
81887A68172B62   SERGIO         RODARTE                    CO     33097880681
8188825569375B   JENNIFER       DAVIS                      OH     64509352556
81888923A97133   SHERRY         HAMM                       OR     90000249230
81888A7568B163   JOAO           BOAS                       UT     90003760756
81888AA669154B   ALFREDO        LUEVANO                    TX     90011190066
81889296872B44   ALBERTO        QUINONEZ                   CO     90008252968
818896A914B22B   NATE           GRIMES                     NE     90014546091
8188997A82B236   ABEBA          BERHE                      DC     90009539708
81889A15A72432   TINA           WILLHOFT                   PA     51083730150
8188B267172B33   LORETTA        GARCIA                     CO     33041332671
8188B379791979   ANGEL          GONZALEZ                   NC     90015003797
8188B49365B24B   STACY          BURNS                      KY     90013484936
8188B818A5B32B   BRANDY         WOLGAMOT                   OR     90014548180
81891162A9194B   STARLEANA      HOLLEY                     NC     90012261620
8189123969154B   CHRISTEEN      MACIAS                     TX     75016972396
8189178179154B   EVELYN         HERNANDEZ                  NM     90015037817
818922A8191558   FRANCISCO      MENDOZA JR                 TX     75050232081
81892488497B3B   TANIA          MOOTRY                     CO     90012584884
81892648A5B24B   MATTHEW        MCKNIGHT                   KY     68015976480
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1123 of 2350


81893277372B29   CARMEN       RUIZ                         CO     33051612773
81894569A8B163   JESSICA      GARCIA                       UT     90013925690
81895912872B33   MATTHEW      COWDEN                       CO     90010039128
81896221472B33   MALIK        SAPP                         CO     90009182214
81896326597B3B   BERTHA       BONIFACIO                    CO     39066693265
8189634A555945   CHEE         THAO                         CA     90014843405
818972AA372B33   ANDREA       WOOLFOLK                     CO     90013732003
81897558676B97   GILBERTO     CALVILLO                     CA     90002435586
81897751572B33   DIEGO        ESCAMILLA                    CO     90010357515
8189884135B32B   SHAMARA      BUNTON                       OR     44565188413
81898A75285856   JUAN         BENAVIDES                    CA     90006380752
81898A9638B154   APRIL        SHARPLES                     UT     90010940963
81898AA829154B   MARCO        VELASQUEZ                    TX     75092460082
818995A6A97138   CAROLYN      TAPIA ZUNIGA                 OR     90012025060
8189B668A41275   MIKE         WOOD                         PA     90012576680
8189B66A59154B   CELINA       ARELLANO                     TX     90015256605
8189BA32A72B44   FABIOLA      CITAL                        CO     90010440320
8189BA3658B168   HILTON       HARRIS                       UT     31070430365
818B119755B183   JOHN         PETTIS                       AR     90014231975
818B1232172B44   MIGUEL       ERNESTO RIVERA               CO     33010982321
818B2462947897   KEEDAR       OSBORNE                      GA     90006124629
818B2616873229   KIARA        WHITE                        NJ     90014186168
818B2628391975   HUGO         JONATHAN DURAN               NC     90012606283
818B3564385856   ANDY         MARQUEZ                      CA     90012935643
818B364A736155   ANGELA       OLIVA                        TX     90014006407
818B36A469154B   JESSICA      CANDIA                       TX     90011906046
818B4118785936   LAUREN       ST ARNEAULT                  KY     90008411187
818B4147297B3B   FRANKIE      SISNEROS                     CO     90012251472
818B4186877537   JAMES        BETTIS                       NV     43070831868
818B4194A72B44   SANDRA       MASON                        CO     33064811940
818B425838B163   BONITA       JACOBS                       UT     31007502583
818B426595B32B   DEANNA       KING                         OR     44558912659
818B4472491979   PATRICIA     JORDAN                       NC     17001594724
818B5162191979   TAHALA       COUNCIL                      NC     90010881621
818B522868B168   JONATHAN     INGMAN                       UT     90014522286
818B541648B154   GARRET       TEE                          UT     90007924164
818B545A797B3B   MARIANA      TRUJILLO                     CO     90008344507
818B568552B956   ROSA         PUEBLA                       CA     90001576855
818B5691997138   NATHAN       MCLAIN                       OR     90012846919
818B589835B139   MONICA       RAGLIN                       AR     90012198983
818B5922797133   MICHAEL      CLINKENBEARD                 OR     90014859227
818B6959197B3B   GEORGE       MCKECHNIE                    CO     39025289591
818B718745B338   JAMES        WAGGONER                     OR     90001661874
818B731134B22B   WINTER       HARDMAN                      NE     90001733113
818B751A35B24B   KIARA        TENNYSON                     KY     90013725103
818B754A376B97   KODI         JOY                          CA     90012135403
818B759A591979   ALEXANDER    KINYARA                      NC     17024925905
818B7664A97121   KORA         MCCRAE                       OR     90011686640
818B8266772432   JAMES        SEAMAN                       PA     90014692667
818B856655B581   PEGGY        TAFFOYA                      NM     90010365665
818B8734185856   JANINE       WAGNER                       CA     46018897341
818B89A714B527   MARIA        HERNANDEZ                    OK     90004049071
818B916634B22B   MARTIN       HERNANDEZ                    NE     90012441663
818B933395B183   KIMBERLY     MORROW                       AR     90015013339
818B9412691975   CONCEPCION   MERRITT                      NC     17083294126
818B941815B32B   LANYA        RODGERS                      OR     90005094181
818B945368B168   VICTOR       GANDARILLA                   UT     90013814536
818B95A3451362   VANESSA      KAYLOR                       OH     90012125034
818B9647876B97   FABRICIO     GALAN                        CA     90014016478
818B9721391879   CECILIA      GOMEZ                        OK     21085897213
818B9843641262   ALEXANDER    KARMANOV                     PA     90014648436
818BB22129282B   ISAIAH R.    TUCKER                       AZ     90013952212
818BB455361928   EVERETT      MOTEN                        CA     90008184553
818BB73799154B   CARLOS       RODRIGUEZ                    TX     75025387379
818BB762985936   BRANDON      BISHOP                       KY     90012377629
818BB88755B24B   AMANDA       FRANK                        KY     90009658875
81911223A51362   DESTINY      JONES                        OH     90014252230
8191143535B183   MATTHEN      EMERSON                      AR     90008564353
8191147A872B44   AIDE         URBINA                       CO     90010634708
8191163888B154   MATLIDA      MOJICA                       UT     90013866388
81911958997B38   CELSO        RAMIREZ                      CO     90012419589
81912176A76B65   OSCAR        TORRES                       CA     90012451760
81912565172B99   SONIA        SANDOVAL                     CO     90012015651
819126A1397138   MONICA       MORENO ESQUIVEL              OR     44030566013
8191283225B32B   ABAD         FLORENTINO                   OR     44585028322
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1124 of 2350


81912AA1371977   KERENSA      DE HERRERA                   CO     90011070013
81913232A51362   KENDRA       HOLDEEN                      OH     90005202320
81913288A5B139   PORFIRIO     CANALES                      AR     23088442880
8191331858B163   ISMAEL       MUNOZ                        UT     90014333185
81913336572B44   LOURDES      RIVERA                       CO     90004013365
8191335A89712B   SHANOA       HAMMONS-WILLIAMS             OR     90012953508
81913455372B62   APOLINAR     TRUJILLO                     CO     33050104553
81913685197B38   JOSE         CASTRO                       CO     39080546851
8191391379154B   QUANIQUE     MULLEN                       TX     90013379137
819141A7651362   BRADLEY      ALLEN                        OH     66067451076
81914266476B97   HECTOR       PEREZ                        CA     90006952664
81914517A97B3B   AMBER        ZUBIA                        CO     90009935170
8191461355B32B   MARY         GIAMMANACO                   OR     44509996135
8191465A491975   MISAEL       ROBLERO RAMIRES              NC     90014656504
81914716672B62   BABY         LOVE                         CO     33099237166
8191515575B32B   VELIA        VAUGHN                       OR     90009021557
8191581865B32B   SHANDA       KIMBER                       OR     90010418186
8191619A691975   EPHARIR      SMITH                        NC     90012141906
8191626559154B   YESENIA      GARCIA                       TX     90014032655
81916862A61968   NICOLE       AGUIAR                       CA     90003638620
81916987A91525   YOLANDA      ALVIDREZ                     TX     90003329870
81917131397B38   SANTOSDO     VELASQUEZ                    CO     90013801313
81917346376B97   KATY         ARTERBURN                    CA     46025053463
8191762428B168   TEVITA       TAULANGA                     UT     90012846242
8191785265B581   SHERYL       CALZADA                      NM     90009118526
81917A96631433   CARRIE       SCHUHWERK                    MO     27512910966
8191817A651372   KELLY        VOGT                         OH     90005921706
8191858925B32B   SUSANA       HERNANDEZ                    OR     90009875892
81918884172B33   FLORES       DARRELL                      CO     33080128841
8191957AA47897   TERRI        ROGERS                       GA     90013695700
8191971A161928   CLIFF        EDMOND                       CA     46005807101
81919924672B33   NICHOLAS     MEKINNEY                     CO     90009919246
8191B21484129B   SHERRI       JONES                        PA     90009642148
8191B25985B183   KIMBERLY     MONTGOMERY                   AR     90009462598
8191B697476B97   MALCOLM      BRATTON                      CA     90015106974
8191B71A65599B   ANAMARI      CABALLERO                    CA     90003977106
8191B98945B581   JODIE        LUCERO                       NM     90010539894
81921371A91837   DESTINEE     FRANKS                       OK     90014103710
819215AA191979   RAMON        MANZANARES                   NC     17089975001
8192165528B163   SAMANTHA     BROOKS                       UT     90015446552
81921A44161928   DELENISHA    LYNCH                        CA     46067370441
81921A55A5B581   HENRY        VIGIL                        NM     90009040550
8192213985B183   ALMA         DENNIS                       AR     23096601398
819225A728B163   WILLIAM      WILCOX                       UT     31098315072
8192288569712B   TRAVIS       REOPELLE                     OR     90011618856
8192325739712B   ASHLEY       SCHLECHT                     OR     44075692573
8192338838B168   VICTORIA     RAMIREZ GRAJEDA              UT     90012053883
8192512865B32B   MELISSA      ARRIOLA                      OR     90009121286
8192529133B359   ALBERTO      GONZALEZ                     CO     33083812913
819257A9741275   LAUREN       KNIGHT                       PA     90011477097
81925853A91837   FRANCES      HONEYCUTT                    OK     90014778530
8192587829154B   FELIX        PAULIN                       TX     75089368782
819269A296194B   CHANDRE      DAVIDSON                     CA     46071609029
8192734759154B   JENNIFER     MUNOZ                        TX     90006183475
81927376A72B33   FIDEL        CORTES                       CO     33093393760
81927739A72432   SHENA        HOESLER                      PA     51098567390
819278A959712B   BLANCA       PACHECO                      OR     90001258095
81927A72885936   JOSH         DAVENPORT                    KY     90015130728
81927A77855945   CHRISTINE    GOMEZ                        CA     49091300778
8192836419712B   ALESHA       FORSYTHE                     OR     90013903641
8192839489712B   SHELBY       FOSTER                       OR     90011763948
8192857675B24B   TARA         HUNT                         KY     90009345767
819286A8576B65   LANCE        GUDDEE                       CA     90003586085
81929248A41262   LONNIE       JOHNSON                      PA     51028382480
81929369A97138   KATHY        PERRY                        OR     90011393690
81929554A72432   SEASON       ACEL                         PA     90013505540
81929937376B97   DAVID        RAMALES                      CA     90012829373
8192993915B139   TIMOTHY      SHAVERS                      AR     90007429391
81929A59724B27   SHAWNA       ELLIOTT                      DC     90012310597
8192B271791242   CHRISTY      MONTGOMERY                   GA     90013932717
8192B313A72B44   CLAUDIA      LOPEZ                        CO     90013653130
8192B397A4B22B   GABRIELLE    MILLER                       IA     90004633970
8192B92A298B31   NINA         JOHNSON                      NC     90014649202
8192B998861557   SAMANTHA     ROBINSON                     TN     90015429988
81931383472B62   KEN          SLUSHER                      CO     90007813834
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1125 of 2350


81931533A91837   SANDER       TOBAR                        OK     90009955330
8193173495B139   JULIUS       JAMES                        AR     23018017349
81931752897B38   LUPE         MUNOZ                        CO     90004107528
81931A5658B154   MARIO        HERNANDEZ                    UT     90010790565
81932261972B44   GONZALO      FREGOSO                      CO     33085922619
8193233995B581   SAHRAYA      DICKIE                       NM     90015053399
81932377876B97   THOMAS       FRONING                      CA     90012263778
81932469197B3B   LAURA        KING                         CO     39004564691
81933222972B62   JUNE         GARDNER                      CO     90004992229
8193344645B532   BETHANI      WHITE                        NM     90011614464
819338A164B967   JOSE         AGUILAR                      TX     76566878016
81934631A47897   DEVONA       MERRIWEATHER                 GA     90014846310
81934767697B3B   LAURA        MARTINEZ                     CO     90012787676
8193486A997B38   RITO         DIAZ                         CO     90006488609
81934921872B29   FELIPE       COLLAZO                      CO     33043749218
81934925597B38   CHRISTINA    ROBBS                        CO     90013459255
81935156997B38   MARIA        LOPEZ                        CO     39069991569
8193516515B338   STEVEN       ABSHERE                      OR     44516741651
81935313572B29   ROBERTO      FLORES                       CO     90003583135
819357A4772B44   VICTOR       RODRIGUEZ                    CO     90014517047
8193637748B154   TAMMY        MODDERMAN                    UT     90014173774
81936643A72432   STANLEY      GIBSON                       PA     90013986430
81936732272B29   PATRICIA     PACHECO                      CO     33071437322
81936A43985936   JESSICA      ELMORE                       KY     90011580439
819374A4976B97   MARTEL       DUBOSE                       CA     46037154049
81937583A61463   EUGENE       JOHNSON                      OH     90010535830
81937AA7672B62   NOLAN        WELLS                        CO     90012580076
81938388597B3B   DOUG         KILE                         CO     90010093885
8193867742B28B   YANIRA       SIBRIAN                      DC     90006886774
81938873A72B33   ROBERT       LANG                         CO     90010368730
8193887A58B154   CALSIE       DEMERY                       UT     31097838705
81939384672B29   CHRIS        PASQUALE                     CO     33067813846
819399A3872B62   BRITTANY     BRACKETT                     CO     90003719038
8193B251991979   ANTHONY      VELEZ                        NC     90005072519
8193B87635B24B   ANETHIA      LAFAYE                       KY     90014728763
81941568876B97   ROSALINA     PENA                         CA     90010915688
81941744172B44   ISAIAS       OSUNA                        CO     33015927441
819418A7372B62   JUSTIN       WRIGHT                       CO     90012628073
81942178297B3B   KATHY        KOMLOSKI                     CO     39034751782
8194222518B168   JOSEPH       WINGER                       UT     31021632251
81942A34877537   HORACIO      MEDINA                       NV     90012240348
8194322734B22B   JERRY        ANTHIS                       NE     90000792273
819435A1A85936   JENNIFER     FRANKLIN                     KY     67024195010
8194371348B163   WILLIAM      ATKIN                        UT     90006987134
8194397A972B62   AMANDA       BROOKS                       CO     90007659709
81943A8129154B   JORGE        CORDOVA                      TX     90002840812
819442A248B168   MICHAEL      SANCHEZ                      UT     31093752024
8194491535B24B   BRIAN        ALLEN                        KY     90014859153
8194497655B183   DOMINIQUE    HESTER                       AR     90003219765
819453A1397B3B   PAIGE        GAAL                         CO     90004833013
81945465472B29   SERGIO       ATENCIO                      CO     90007424654
8194557559712B   AMY          BOWEN                        OR     90001635755
819459A2393771   ALEXIS       BOGAN                        OH     90013349023
81947195A97121   JOSE         MORQUECO                     OR     44012081950
81947299A51349   STEPHEN      MERGNER                      OH     90012362990
81947322A47897   CHATAVIA     CALLAWAY                     GA     90010883220
8194733524B22B   TERESA       GEORGE                       NE     90010123352
8194744129154B   HUGO         ARAMBULA                     NM     90015204412
81947614497B3B   BRYAN        MAGLIETTA                    CO     90007946144
8194867A976B97   KATHERINE    LARSEN                       CA     90001476709
81948945597B3B   APRIL        CARDER                       CO     90012029455
81948A1834B22B   TANYA        PINTADO                      NE     90013810183
81948A4645B32B   SEAN         EASTMAN                      OR     90001590464
81949321272B44   ELAINE       SMILEY                       CO     90013593212
81949445372B29   JON          CARLSON                      CO     33027764453
819497A8797B3B   MARIA        ANTILLON                     CO     39017137087
819498A2976B65   MARTHA       BALENCIA                     CA     46054408029
8194B138197138   RODOLFO      CARCAMO                      OR     90008661381
8194B231247822   DONTA        THORPE                       GA     90007442312
8194B52A18B154   ANGELINA     VALDEZ                       UT     90014665201
8194B843397B3B   LAURIE       TORGERSON                    CO     39068348433
8194B988A91975   JEREMIAH     OMACHE                       NC     17087019880
8195141415B338   COLLEN       SCHWAGER                     OR     44543154141
8195176875B32B   LACIE        CLARCKSON                    OR     90014627687
8195186A39712B   JOEL         CORIA                        OR     44082808603
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1126 of 2350


8195196348B168   ANNA         ALVAREZ                      UT     90010789634
81951A65A41281   KEITH        SHORT                        PA     90010500650
81951A7765B183   ANDRES       MARTINEZ                     AR     90014180776
8195211AA47897   AN TWAUN     SMITH                        GA     90007501100
8195222489154B   ROSE         CASAS                        TX     90011152248
8195255A997133   STEPHEN      OVCHINNIKOV                  OR     90013225509
81952A82193127   PAYGO        IVR ACTIVATION               TN     90012150821
8195351348B168   MICHELLE     REEVES                       UT     90010065134
8195367189712B   ROSE         AUTUMN                       OR     90009266718
8195397A191979   ARIEL        SANDERS                      NC     17060359701
8195421499154B   RIZA         PESANTE                      TX     90006202149
81954462872B62   NANCY        LOPEZ                        CO     33000554628
8195479A297B38   JOSHUA       SEEFELDT                     CO     90015327902
81954A1257B278   ANA          AVINA                        NM     40556930125
81955654676B65   FIDELINA     ORTEGA                       CA     90008666546
81955875672B62   CRISTIAN     MENA                         CO     90012138756
819559A6171977   ANDREA       ORTEGA                       CO     38037219061
8195676A155945   JAMES        HAMPTON                      CA     49022507601
81956A14647822   ANDRE        SMITH                        GA     90013880146
819576A6176B97   SAMUEL       CANSECO                      CA     90009006061
81958251997B3B   DENISE       JENSEN                       CO     90014152519
8195837655B581   ALMA         ROCHA                        NM     90015013765
81958A68385856   MELISSA      ATKINSON                     CA     46007960683
81958A9165B183   LUISA        RODRIGUEZ                    AR     90014180916
8195B165A72B62   HOSHI        CORONA                       CO     90007571650
8195B21548B163   VERENISE     SIGALA                       UT     90013522154
8195B689871977   JAYSON       FOURTNER                     CO     38063416898
8195B769191979   WILLIAM      ROELAND                      NC     17085727691
8195B942733698   RUTH         MEANS                        NC     90007599427
8195B95389712B   JAMES        RAMOS                        OR     90014849538
8195B97958B154   ERICK        LUGO                         UT     31016409795
8196112524B967   ADRIAN       MASOH                        TX     76592871252
81961151A8B163   RUSLAN       CARR                         UT     90013281510
8196134215B24B   DAVID        PUYEAR                       KY     68002833421
8196144125B581   VANESSA      BUSTILLOS                    NM     90003714412
8196145A361981   ENRIQUE      RODRIGUEZ                    CA     90007384503
81961657176B65   ALFREDO      FELIX                        CA     90013416571
819616A5191837   RON          PERRY                        OK     21016256051
819619A1147897   JOHN         HANSFORD                     GA     90013929011
8196215A241275   DOROTHY      TALMONTI                     PA     51032741502
81962342176B97   DORIS        QUINENE                      CA     90011743421
8196244168B154   JAMES        SPINOZA                      UT     90012174416
81962459572B33   DANIEL       GAMBLE                       CO     33020044595
81962A2A933698   TAYLOR       HEATH                        NC     90009740209
81962A39472B29   ABBY         SANCHEZ                      CO     90013730394
81963764372B62   MARSHALL     CLAY                         CO     90011507643
81963A5548B154   MARLON       MARTINEZ                     UT     90000340554
81963A9165B183   LUISA        RODRIGUEZ                    AR     90014180916
81963A95476B65   SILVESTRE    SALVADOR                     CA     90002680954
81964719472B62   EDITH        MUKANDI                      CO     33063977194
8196478115B581   PATRICIA1    BAYLON                       NM     35076107811
8196481A15B139   KARL         BROWN                        AR     23042048101
8196554895B581   K            ORTIZ                        NM     35087135489
8196577955B183   BOBBIE       RUDLEY                       AR     90011077795
8196751A191979   JESUS        JUAREZ                       NC     17098505101
81968519A8B136   ISABEL       GALINDO                      UT     90009565190
8196881A75B24B   SHIRLEY      RUSSELL                      KY     90009718107
8196886739712B   CORRINE      ADDISON                      OR     90002948673
8196956167123B   MICHAEL      WHEELDON                     IA     90012815616
81969A9A997B3B   JOANNA       SMITH                        CO     39043080909
8196B547431433   TAMEKA       ECHOLES                      MO     90007265474
8196BA77872B62   BLANCA       CALDERON                     CO     90013930778
819712A2347897   ASIA         TAYLOR                       GA     90006212023
8197133A351362   WILLIAM      WOODS                        OH     66076363303
819713A3985936   LAUGANA      BEATTY                       KY     90014783039
81971518A5B24B   DAVID        WILSON                       KY     90010665180
81971681A97133   IRMA         PALADIN                      OR     90001646810
8197178585B32B   MATHEW       KLOCK                        OR     44591747858
81971945676B97   PAUL         ROJAS                        CA     90000629456
8197263775B24B   HARCOYA      RICHARDS                     KY     90014576377
8197272365B139   REGINA       MILLER                       AR     90000767236
81972791A51362   ALBERTO      RAZO                         OH     90014257910
81972932772B29   ANNASTACIA   HARDEE                       CO     90011879327
81972A55971977   TROY         BEAUCHAMP                    CO     38066580559
8197349747192B   PATRICIA     SMITH                        CO     32047294974
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1127 of 2350


8197358693B172   SADIE        TONIC                        DC     81026815869
8197367A293771   ROBERT       SCHMIDT                      OH     90011996702
81973957672B44   ELENA        AGUIRRE                      CO     90008779576
8197449747192B   PATRICIA     SMITH                        CO     32047294974
81974A9A447897   SHENIQUA     TAYLOR                       GA     90011120904
8197531838B154   CRAWFORD     FARAH                        UT     90011073183
81975595272B62   NADINE       KAVINSKY                     CO     90011035952
81975748A97B3B   TROY         BRYAN                        CO     39085727480
81975A26972B62   GENIVA       PITTMAN                      CO     90005750269
81975A9A95B581   DEZRAY       DUNN                         NM     90011050909
8197615855B581   MIGUEL       APODOCA                      NM     35072911585
8197645289712B   BORBONIO     ERNESTO                      OR     90010404528
81977276676B65   SHAREE       MATHESON                     CA     90001992766
8197731949712B   MARCELINA    MATA                         OR     90001663194
8197738878B154   DUSTY        ROLLINS                      UT     90013773887
819774A3493771   SIERRA       OSBORNE                      OH     90007594034
81977644A41275   DOUGLAS      EARLY                        PA     51037346440
8197766A933698   YAEL         CASTRO                       NC     90003286609
8197794938B163   KIMBERLI     ALLRED                       UT     90003539493
81977A89647822   VERNISA      JONES                        GA     90012960896
81978A17576B97   KRISTEN      YOUNG                        CA     90013840175
81979A25872B29   CLASSIE      ANTWINE                      CO     33084630258
8197B529597B38   SHERI        COLTON                       CO     90012935295
8197B57A772432   NELSON       KLETZI                       PA     90013505707
8197B846651366   RENI         GRAY                         OH     90014908466
8197BA27191532   ELENA        IBARRA                       TX     75042600271
8197BA6668B168   DOMINIQUE    LETULI                       UT     90012600666
81981134776B97   CARMELO      SALAZAR                      CA     90010091347
819814AA772432   JONATHAN     CLARK                        PA     90010984007
81982151676B65   TIMOTEO      JULCAN                       CA     90000451516
81982212172B29   LISA         VANALLER                     CO     33012722121
8198314A624B83   AIDOO        BRAXTON                      DC     90002711406
81983269172B62   ISSIC        VIGIL                        CO     90014812691
81983443A76B97   AURELIO      VALDEZ                       CA     46067634430
81983A2279712B   OLIVA        GALVAN-ALEMAN                OR     44002340227
8198414688B154   RAMIK        MERAZ                        UT     31010001468
819841A4897133   MARIA        OROBIO                       OR     90010021048
81984A4678B163   JUSTIN       JOYNER                       UT     90014850467
81985616876B97   YURI         GUZMAN                       CA     90014646168
81985A29297B3B   ERNEST       CONDE                        CO     90012270292
8198623329154B   CASSANDRA    MARTINEZ                     TX     90006402332
81986255472B33   MARVENUS     MAEZ                         CO     33016822554
819863A578B154   BRYAN        SYMONETTE                    UT     90008103057
8198642A893771   THOMAS       BRUBAKER                     OH     90015164208
8198651A28B163   VENESSA      OVERMAN                      UT     31011585102
819879A669154B   EDUARDO      JIMENEZ                      TX     90014549066
81988293A41275   EARL         YATES                        PA     90013522930
8198848A52B28B   LATASHA      CLIPPER                      DC     90007704805
8198865729377B   AMANDA       ELIOTT                       OH     90005506572
81988728176B97   ELIZABETH    SPERA                        CA     46059127281
8198B135372B87   KELLY        GARINGER                     CO     33095201353
8198B91679154B   SANDRA       ARREOLA                      TX     75013239167
819913A938B163   ARMANDO      GARCIA                       UT     31060963093
81991529A9154B   IRAZEMA      NIETO                        TX     90012575290
819915A6972B44   JOSE         ANGEL                        CO     90011615069
8199185525B24B   JAMIE        JONES                        KY     90012368552
8199197A12B28B   DAVID        ROSS                         DC     90006889701
81991A57A97B38   AMAGIA       SCOTT                        CO     90015130570
8199214168B155   ESTELLA      BISHOP                       UT     31021281416
81992314472B29   MARTICE      MOSBY                        CO     90015183144
819927AA144327   JOE          FUQUA                        MD     90008017001
81992931A85936   JOHN         TOUCHSTONE                   KY     90013739310
81992AAA471977   PATRICIA     VALDEZ                       CO     90009820004
81993371572B44   ANDRE        MAURICE LYONS                CO     90008513715
8199345A361981   ENRIQUE      RODRIGUEZ                    CA     90007384503
8199378295B32B   ELIZABETH    SHIELDS                      OR     90014837829
8199388668B154   GUAUDENCIA   PADILLA                      UT     31088588866
81993948897B3B   COLTEN       KING                         CO     39062769488
81993A67477537   JOSE         CASTILLO                     NV     90008390674
8199412A19712B   SUSANA       MORALES CARDENAS             OR     44085271201
819947A7777537   JUAN         HERNANDEZ                    NV     90014527077
81994857A97138   JOSE         SEGURA                       OR     90006428570
81994933697B38   HOLLY        MCKNIGHT                     CO     39090339336
81994A51591894   ALLISON      JONES                        OK     90006040515
81994A59A97133   RAFAEL       HERNANDEZ                    OR     90013860590
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1128 of 2350


8199561118B168   TYLER         BAIRD                       UT     90014436111
8199567484B967   DONALD        JACKSON                     TX     76583316748
81995815A5B581   CHASTITY      MARTINEZ                    NM     90011838150
8199616625B24B   ERIC          RENEER                      KY     90015211662
8199624662B28B   DELVON        STRONG                      DC     90004442466
81996386772B44   SALVADOR      FELIPE                      CO     90002653867
81996439A9137B   BENJAMIN      SCHMALZ                     KS     90013774390
8199644AA55945   KATHERINE     ANSIEL                      CA     49005534400
81996616A91837   MARGARET      BOUJAOUDE                   OK     90010766160
8199667279154B   ILIANA        ANCHONDO                    TX     75007816727
8199685A191242   EVELYN        WASHINGTON                  GA     90014678501
81997348A4B22B   TIMOTHY       MCFARLAND                   NE     90013223480
81997413397B3B   ELIZABETH     MARTINEZ                    CO     39079804133
8199756A471977   RAUL          CARRILLO                    CO     90012915604
8199779A297B38   JOSHUA        SEEFELDT                    CO     90015327902
81997883A5B581   DEBIE LOUSE   MARLER                      NM     90007798830
8199835728B168   TREVOR        WINSETT                     UT     90014203572
81998685297B3B   AMOREENA      WALKER                      CO     39090946852
8199895A15B183   NATALIE       DUCKERY                     AR     23065339501
819993A449154B   EDMOND        CIRIZA                      TX     90013883044
81999623172B29   BORIS         COCHAJIL                    CO     33091746231
81999759A8B163   WES           WILDE                       UT     31053117590
819999A765B32B   GARY          BOSSARD                     WA     90001129076
8199B264172B44   JOSEFINA      DOMINGUEZ                   CO     33000422641
8199B886497B38   DUSTIN        GETTMAN                     CO     39058898864
8199B989872B33   BRENDA        STEWART                     CO     33065709898
819B1173772B29   ARTURO        ARRIETA                     CO     90013211737
819B1335691872   JIMMY         DIXON                       OK     90010673356
819B135519154B   BERTHA        AGUILAR                     TX     90010593551
819B1358677537   YOUNG         PARK                        NV     43031903586
819B1443976B97   CLEMENTE      CORTES                      CA     90013124439
819B1654997B3B   DEREK         SMITH                       CO     39077206549
819B1766997133   JUAN          MIRAMONTES                  OR     44091667669
819B1844872B62   ANGEL         DURAN                       CO     33087898448
819B1873591975   SERGIO        SANCHEZ                     NC     90013258735
819B192395B32B   GABRIELA      CARRILLOS                   OR     44586149239
819B21AA277537   MARIA         ALCARADO                    NV     43014801002
819B229344B22B   KAREN         JACKSON                     NE     27060422934
819B2452897121   SHAINA        PARNELL                     OR     90014994528
819B2655791837   COSHANNA      ROBERTSON                   OK     90011166557
819B29AA58B154   CIANN         MODDERMAN                   UT     90012599005
819B3183793771   NACHELL       JOHNSON                     OH     90010201837
819B362783167B   SHANE         ZIMMERMAN                   KS     90001386278
819B37A8285936   KELSI         FOSSON                      KY     90009347082
819B3811151362   DANNY         PELCHA                      OH     90012098111
819B3959747897   JENNIFER      HAWKINS                     GA     14085039597
819B3A12261928   ENEIDA        DE AQUINO                   CA     90010510122
819B429762B28B   KNNEDEY       KISS                        DC     90010522976
819B46A8A72432   LESLIE        COOK                        PA     51083836080
819B486435B183   MARIN         LOPEZ                       AR     23079048643
819B4A73297121   BERTHA        BRAMBILA-RAMOS              OR     90001420732
819B548815B581   MARIA         SANCHEZ                     NM     35040384881
819B54A9191975   JOEL          SERAPIO                     NC     90006184091
819B5583155945   MARIA         ARAUJO                      CA     90014175831
819B5939741275   MARVA         CARTER                      PA     90007769397
819B599915594B   BRADLEY       JAURIQUE                    CA     90010799991
819B5A1685B32B   BERNARDO      ROJAS                       OR     90014550168
819B62A1391525   MELISSA       MARIN                       TX     75090852013
819B6419547897   ERROL         KNIGHT                      GA     90014874195
819B6982576B65   IYARI         MENDOZA                     CA     46062439825
819B753275B24B   KATHERINE     HAWTHORNE                   KY     90014025327
819B7563493771   JACK          SKEANS                      OH     90012055634
819B763A88B168   MERLYN        CARTER                      UT     90008776308
819B768A14B22B   MARIA         BARRERA                     NE     90015116801
819B772219184B   TERESA        BASQUEZ                     OK     90012147221
819B848A84B527   SHAMESHA      LAWRENCE                    OK     90010404808
819B893555B581   MIGUEL        GOMEZ-ESPANA                NM     90005299355
819B8A31651362   CARIBBEAN     WILSON                      OH     90013020316
819B9132661928   LUIS          OVIEDO                      CA     46020131326
819B92A1785856   DURLAN        RIVERA                      CA     46003882017
819B9591297121   JOSE EFRAIN   DE LEON                     OR     90014975912
819B978935136B   BRANDEN       WILCUY                      OH     90014057893
819B9851197121   EFRAIN        DE LEON                     OR     90014378511
819B9A23A9712B   DERREL        URBAN                       OR     90010520230
819BB35458B168   VANIAH        DOYLE                       UT     31073473545
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1129 of 2350


819BB38683B374   JOHN          DOOLEY                      CO     33012533868
819BB643651362   MARK          RINER                       OH     90012246436
819BB697797133   ADAN          SILVA AGUILAR               OR     90015196977
819BBA98A76B97   ALFRED        DARNELL GRIMMETT            CA     46046900980
81B11244997121   AZUCENA       GARZA                       OR     90009562449
81B115A819712B   BRIAN         HALL                        OR     90012795081
81B11741897138   MARGARET      FORSBERG                    OR     44037427418
81B11798997B3B   VANESSA       RHINE                       CO     90013627989
81B1183AA77537   ALEJANDRA     SOTO                        NV     90010168300
81B11A23672B33   CARSON        ROY                         CO     90001330236
81B11AAAA91975   JASMIN        JOHNSON                     NC     90011430000
81B12115372B62   SIAVON        MOORE                       CO     33083411153
81B1223415B338   MANUEL        JESUS                       OR     44518202341
81B12263297133   TROY          JEFFERS                     OR     90014722632
81B12511A47897   CHRISTY       CURRY                       GA     90007545110
81B1256648B154   RACHELLE      RIVAS                       UT     90002055664
81B1265572B271   JUNE          MARSHALL                    VA     81014416557
81B12829172B33   MARISOL       PILON                       CO     33071608291
81B12A75947897   BRIANA        STEPHENS                    GA     90010210759
81B1328359154B   ANGELES       MUNOS                       TX     75094692835
81B13482191837   DARLA         KIDMAN                      OK     90013944821
81B1366945B24B   OCTAVIUS      HOLMAN                      KY     68014546694
81B13718591979   JUAN          SILVA                       NC     17050847185
81B14143691975   RODOLFO       CASTILLO                    NC     17016121436
81B1428885B145   ANDRES        DOMINGUEZ                   AR     90013932888
81B1438A597B38   REBECCA       BRANNAN                     CO     90015233805
81B14393655945   EFREN         ESPINOZA                    CA     49030243936
81B14472997138   DEANN         BAKER                       OR     90009174729
81B1466998B154   GUSTAVO       GUTIERREZ                   UT     90013156699
81B14713785936   SHARON        PERKINS                     KY     67098577137
81B14A67172432   MELANIE       DICKMAN                     PA     51061770671
81B1516A947897   ANTOINETTE    FLORES                      GA     90010111609
81B152A4893771   BRADD         JONES                       OH     64510822048
81B1541483B391   BETTY         SEARS                       CO     90012564148
81B15A5413B39B   JAMES         CLARK                       CO     90006110541
81B1638135B183   LEO           JACKSON                     AR     90013373813
81B16397476B65   CYRIL         MANTHORPE                   CA     46086963974
81B163A4A97121   PAYGO         IVR ACTIVATION              OR     90011623040
81B16694593771   JOHN          ALLEN                       OH     90012576945
81B1681AA97138   ANTHONY       BAILEY                      OR     90004858100
81B16894947822   DEBRISHUA     CHATMAN                     GA     90011878949
81B16937497133   EMMA          MIRANDA-CAMARILLO           OR     90000399374
81B17442A91837   LASHAWN       GANT                        OK     90014134420
81B17547551362   LAURI         RAMIREZ                     OH     66005635475
81B17773A5B183   GLORIA        HAYES                       AR     23008187730
81B17A2225B581   HILDA         AGUIRRE                     NM     90006390222
81B18157991242   KRISTEN       FERRELL                     GA     90012611579
81B18715191525   CHRISTINA     MOLINA                      TX     90009127151
81B18A96484325   SHARON        GRAHAM                      SC     90013540964
81B192A7997B3B   SARA          WARREN                      CO     39094152079
81B19956291837   ALICIA        OCHOA                       OK     90008169562
81B1B162591242   BRENDEN       HODGES                      GA     90013601625
81B1B38485B581   FAKHRI        ABED                        NM     35025223848
81B1B718685856   GEORGINA      FLORES                      CA     90002977186
81B1BA38772B33   ROBYN         OPDAHL                      CO     90013420387
81B2133992B271   CLAUDIA       PORTILLO                    DC     90000633399
81B219A5372B62   RODNEY        MAGDALENO                   CO     33087569053
81B21A8A147822   CHANCEIL      DILLARD                     GA     14002700801
81B22219772B62   MARIGRAT      WAGIKU                      CO     90007492197
81B22494991837   CONSUELO      AVALOS                      OK     90013944949
81B2292299154B   KARLA         MIER                        TX     75032469229
81B23639991979   ROY ANTHONY   KING                        NC     90014086399
81B24282997138   JOSIAH        KIENHOLZ                    OR     90007882829
81B244A5285936   HELENA        PENN                        KY     90014704052
81B246A2593137   SHAUNTELL     BERNARD                     TN     90005806025
81B24916297121   CARLOS        GRANT                       OR     90013209162
81B25619831242   SCHRONA       REED                        NC     90006956198
81B2583548B163   NICOLE        KELLY                       UT     31034608354
81B25912391837   MIA           MCGEE                       OK     90005209123
81B26169661928   JASON         FORD                        CA     46001301696
81B26177276B97   JUAN          ORTIZ                       CA     90012661772
81B2628A885936   BRANDALYNN    DAVIS                       KY     90014762808
81B262A5691979   NIXZALI       SALCEDO                     NC     90013822056
81B26938A41262   FELICIA       SOLOMON                     PA     90014589380
81B2695825B145   JORGE         GOMEZ                       AR     90015559582
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1130 of 2350


81B27141384325   MELANIE            OQUINN                 SC     14518011413
81B27225785936   SAMUEL             FISHER                 KY     90014302257
81B2743A197121   MIGUEL             BERNAL                 OR     44050824301
81B2754577192B   KYLE               LAMM                   CO     32068075457
81B2784265B183   ANDREW             KELLEY                 AR     90014728426
81B27877197B38   CATHY              HERNANDEZ              CO     39081188771
81B27A3365B145   LAUREN             HARPER                 AR     90011370336
81B27A45776B65   AIDE               PEREZ                  CA     46063650457
81B2828485B145   LASONYIA           HIGGS                  AR     23032802848
81B28673397133   RYAN               PROUTY                 OR     90006986733
81B28692691975   ISAIAH             MCFARLAND              NC     90010106926
81B294A3A97B3B   MELISSA            HURD                   CO     90015074030
81B29577872B27   ROSAMARIA          GARCIA                 CO     33047865778
81B2958655B183   MARVIN             NELSON                 AR     90014745865
81B2961255B581   FONDA              MONTOYA                NM     90003846125
81B29818677537   BRENDA             JACINTO                NV     90010018186
81B2987586194B   LISA               GARCIA                 CA     46015318758
81B29A8273B386   STACEY             DECARLO                CO     90011250827
81B2B16225B581   JUDE               AUSTIN                 NM     35000371622
81B2B212172432   JENNIFER           CARPENTER              PA     51026052121
81B2B5A4341262   KANDICE            GERMANY                PA     51037105043
81B2B928672B44   ED                 ALMENDRAS              CO     33066189286
81B2BA15841262   HOLLY              WOODSON                PA     90013670158
81B31159947822   JACINTIA           DESHAZIER              GA     90015211599
81B3136748B163   LEE                WALKENHORST            UT     31092593674
81B31524393723   SHIRLEY            DUNSON                 OH     90009335243
81B31583947822   DARRELL            SMITH                  GA     90001765839
81B31592151362   CHERI              WARE                   OH     90007385921
81B3174AA8B168   JHONY              MENDEZ                 UT     90010147400
81B31811685856   CLAUDIO            CASTRO                 CA     46013028116
81B31831872488   DAVID              CHILDS SR.             PA     90011038318
81B31A3A193771   JEFF               HELTON                 OH     90002850301
81B32261672B62   JANET              PINKNEY                CO     90007262616
81B32648297B38   JOSE               RUIZ                   CO     90003056482
81B328A7585936   EDGAR              GAUCIN                 KY     90014728075
81B32914841275   TIFFANY            GRALITZER              PA     90007859148
81B32976197B3B   BRETT              STIEFKEN               CO     39025599761
81B33296972B62   MARK A             GABZDYL                CO     90012402969
81B335AA891837   ANNETTE            WAGNER                 OK     90013945008
81B336A7272B29   CLAUDIA            IBARRA                 CO     33001466072
81B3393765B183   REGINA             SMITH                  AR     23093269376
81B33A99491242   GREGORY            THOMAS                 GA     90006970994
81B34119877537   SERGIO             MORENO-ARREDONDO       NV     90010761198
81B3415188B168   KALYN              SAWYER                 UT     90003471518
81B3456494B22B   TAYLOR             DEVON JAMES            NE     90015145649
81B3466438B154   HELEN              GAMBILL                UT     90005136643
81B346A7597121   MATTHEW            THEELER                OR     44097256075
81B34A44447822   WILLIAM            PIKE                   GA     90015110444
81B353A8A72B44   ARTURO             ALVAREZ                CO     90012743080
81B3549A697B3B   PRESLEY            HASSMAN                CO     90012634906
81B35538493771   TEQUIA             MILES                  OH     90011065384
81B3558259154B   CATHY MARIE        CATHY                  TX     90011375825
81B3574545B338   SHAUNA             YOUNG                  OR     44564917454
81B3594A25B145   WILLIAM            CONRAD                 AR     90010239402
81B359A443B374   PINE               MIKE                   CO     33018889044
81B35A8A85B581   ANDREA             GRADO                  NM     35023420808
81B36179797138   TAMMY              ARONSON                OR     44069081797
81B36196472B33   MERCEDES           QUINONES               CO     90013081964
81B3649575B145   ALLISON IVY        RENFRO                 AR     90011524957
81B366A4481639   STEVEN             WELLS                  MO     90013866044
81B36791891975   JACQUELINE         FENNER                 NC     17041207918
81B3689678B168   NATHAN KINGSBURY   ALYSSA KINGSBURY       UT     90014548967
81B368A4A72432   DAYNA              KELLEY                 PA     90005768040
81B37156561951   LEONARD            LERMA                  CA     90012581565
81B37815861992   DAMIAN             ZARAGOZA               CA     90009288158
81B37937972B62   LUZ                RASCON                 CO     33092959379
81B37AA764B578   ROBERT             MARSH                  OK     90001460076
81B383A3272B29   ANTHONY            CAPRA                  CO     90014963032
81B387A779154B   ELIAS              RIVERA                 TX     90005597077
81B39218272B29   JEANNIE            RODRIGUEZ              CO     90014772182
81B39469191242   TIERRA             THACKER                GA     90014624691
81B39948457143   FARRUKH            MEHMOOD                VA     90012989484
81B39A59371977   BOAINE             BICKELHAUPT            CO     90015430593
81B39AA764B578   ROBERT             MARSH                  OK     90001460076
81B3B129741275   CLARENCE           NASH III               PA     51006991297
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1131 of 2350


81B3B364371977   MICKELSON         ROBIN                   CO     38006863643
81B3B66945B32B   MICHAEL           SEITZ                   OR     44591186694
81B3B754991837   LACY              KYSAR                   OK     90002777549
81B4133AA4B22B   HOWARD            BIGHAM                  NE     27048283300
81B423A4676B65   TODD              COBLE                   CA     90011033046
81B42566997B38   MARIAH            AGUILAR                 CO     90014815669
81B42A7A397B38   ADRIAN            GARCIA                  CO     39030910703
81B4343A531433   EDDIE             SIMMS                   MO     90010804305
81B4362115B183   ISELA             VITE                    AR     23066536211
81B4363A977537   MIKEL             COAST                   NV     90011606309
81B43822472B44   VERA              VENEGAS                 CO     90011118224
81B43934147822   KETTISHA          DRAKES                  GA     90013899341
81B43943351362   SMITH             SMITH                   OH     66074969433
81B44124447822   REGINALD          PITTS                   GA     90005801244
81B44666341232   LISA              WILLIAMS                PA     90015086663
81B44A3A351362   ISIDRO            DELGADO                 OH     90010370303
81B4578235B32B   HECTOR            ALEMAN                  OR     90010347823
81B45996541262   AREN              MADISON                 PA     90014589965
81B46239733698   TANICA            POOLE                   NC     12047132397
81B46852172B29   DANTE             CARTWRIGHT              CO     33082898521
81B46A5958B163   MELISSA           MONTOYA                 UT     90010230595
81B4731384B967   JAMONE            CARR                    TX     76506133138
81B47518176B65   GUILLERMO         PENA                    CA     46089165181
81B47597641275   CHERI             SALMOND                 PA     51091175976
81B47665672B29   BRIAN             MCCARTHY                CO     90014136656
81B48175972B33   MAUREEN           AEVERMAN                CO     90003671759
81B48568485936   LATOSHA           WALKER                  KY     90006795684
81B48646941275   ROBERT            KOLESAR                 PA     90012756469
81B4867A55B24B   SANDRA            HORAN                   KY     90014226705
81B4893A172432   JESSE             BOEHME                  PA     51054969301
81B48A87272432   CARL              RIGHTWEISER             PA     90013360872
81B49151172432   EDITH             SANDOVAL                PA     90015551511
81B49976685936   KENETH            STRANK                  KY     67088489766
81B49A42741262   CRYSTAL           SHIELDS                 PA     90002090427
81B4B16158B168   MARLINE           PRICE                   UT     31083411615
81B4B285372432   JUDITH            PETTERSON               PA     90012842853
81B4B54395132B   VINCENT           GEORGE                  OH     66017005439
81B4B96198B163   JUAN              MEZA                    UT     90010959619
81B5152175B581   RICARDO           MOLINAR                 NM     35083345217
81B51611876B65   MARICELA          FLORES                  CA     90015156118
81B5165A18B163   MARVIN AND MARY   TAYLOR                  UT     90009706501
81B5186469712B   KEVIN             ABRAHAM                 OR     90006748646
81B519A915B145   JUDIE             DANIELS                 AR     23079919091
81B52223A51362   MICAELA           ORTIZ                   OH     90002692230
81B5289A172432   JAMI              SPINA                   PA     90006088901
81B5297985B145   ALBERT            GARDEA                  AR     90011839798
81B53345A4B967   THOMAS            REAGAN                  TX     76555433450
81B53497A8B168   GINA              ARMSTRONG               UT     90012474970
81B53498A72B44   STEVEN            ARMIJO                  CO     90010024980
81B53664976B65   SERGIO            GOMEZ                   CA     90009376649
81B53847285856   AIOTEST1          DONOTTOUCH              CA     90015128472
81B539A3677537   KENNETH           LANE                    NV     90015179036
81B54175591837   PATRICK           THOMAS                  OK     90014521755
81B54252972B44   MICHAEL           SCOTT                   CO     90012122529
81B543A6557142   RICHARD           KING                    VA     90011383065
81B54594697121   DIANE             HERNANDEZ               OR     90010525946
81B54AA6184325   OSIEL             NUNEZ                   SC     90006120061
81B5557218B163   LYLE              GOODRICK                UT     31089605721
81B56156472B62   JOEL              JUAREZ                  CO     33049691564
81B56337951362   TRAVIS            POPE                    OH     90001153379
81B56531991979   ANGELA            CARRINGTON              NC     90014155319
81B56644993137   AUTUMN            WATERS                  TN     90015606449
81B56825333698   CHYNNA            WITHERS                 NC     90015318253
81B56911141262   LARRY             JOHNSON                 PA     90010859111
81B5711329154B   DONALD            LAMENDOLA               TX     90009731132
81B57234A91975   NEAL              GIORDANO                NC     90003902340
81B5751A68B17B   ANTONIO           CASTELLANOS             UT     31016705106
81B58322293771   BRIANA            HODGE                   OH     64582463222
81B5853789712B   KEN               JARVIS                  OR     90012905378
81B5858935B24B   GLORIA            GILKEY                  KY     90003015893
81B58632197121   MARCELA           GARCIA                  OR     90008176321
81B5874A68B163   SEAN              BROWN                   UT     90000287406
81B59294297138   MICHAELA          PETERS                  OR     90001722942
81B592A8977537   JOSHUA            TILLIER                 NV     90013502089
81B59337385936   MARGARITA         FLORES                  KY     90007313373
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1132 of 2350


81B59A6818B163   ADRIANA      HERNANDEZ                    UT     90014850681
81B5B282171977   MATTHEW      QUINTANA                     CO     90010752821
81B5B531A5B183   ERIC         DOBBINS                      AR     90007545310
81B5B566276B65   CESAR        LOPEZ LOPEZ                  CA     46078655662
81B5B95745B24B   BRANDY       DUNLAP                       KY     90011009574
81B5BA18884325   WILLIAM      ROBISTON                     GA     90014100188
81B5BA84A3B381   CHARLES      AUGE                         CO     90011430840
81B61128697121   MARIA        GALINO TORRES                OR     90001251286
81B61593451362   TERESA       FIGGS                        OH     66035795934
81B6181848B163   KELLY        BLACK                        UT     90011948184
81B62344A9154B   MARGARITA    MURRAY                       TX     90013793440
81B627A2A91523   ELIZABETH    AYON                         TX     90007217020
81B62943491242   RAYMOND      CRUMPTON                     GA     90012769434
81B6295625B145   MICAH        KELLEBREW                    AR     90014719562
81B63338991975   ALEXANDER    ALALOS                       NC     90004613389
81B63516185856   EMA          MEJIA                        CA     90007155161
81B6358A89712B   DELIA        OCHOA                        OR     44095815808
81B63646A93771   MICHAEL      FISCHER                      OH     64591946460
81B63679561928   JUAN         ROMERO                       CA     46002446795
81B6373A772B33   ROSA         HUERTA                       CO     33015387307
81B63813697133   JILL         HEININGE                     OR     90014278136
81B64123572B44   RICHARD      REYES                        CO     90011601235
81B64431755945   CHRIS        MARTINEZ                     CA     49058574317
81B644A7957142   MELVIN       LEMUS                        VA     90011054079
81B645A4197B3B   HUGO         ROMERO                       CO     39046235041
81B64755697133   CHARLEEN     KELLER                       OR     44504497556
81B65494676B65   DANIEL       CUEVAS                       CA     46032484946
81B65881791837   MARIA        SIMENTAL                     OK     90000318817
81B6593AA72B44   NIDIA        PACHECO                      CO     90013639300
81B66179572B33   FAUSTINA     ADZO                         CO     33083531795
81B66724433698   ROSE         RUDD                         NC     12069267244
81B66A59897138   TABYTHA      MERKWAN                      OR     90014020598
81B6723954B972   KIM          LOCKWOOD                     TX     90009622395
81B672A6584325   JANNIE       BUSH                         SC     90011812065
81B6856919712B   BARTON       HOGELAND                     OR     90014505691
81B685A9193783   TYONDRA      CAMERON                      OH     64545965091
81B68A11233698   ANGELA       BARNS                        NC     90014740112
81B691A295B14B   ANGELA       ROARK                        AR     90015011029
81B6B2A4272432   KARLA        HARPS                        PA     90009262042
81B6B422297121   DANIEL       LOPES                        OR     90011624222
81B6B797791975   TONDRA       WILLIAMS                     NC     17060717977
81B6B7A4455945   ISRAEL       GARCIA                       CA     90000657044
81B6BA61261928   LUIS         SANCHEZ                      CA     46061450612
81B71211876B65   MARIZELA     ZERMENO                      CA     90009902118
81B71263897121   VANESSA      GARCIA BEIZA                 OR     90012942638
81B71347585936   COZETTE      CUMMINS                      KY     90014883475
81B716A3497133   MERGARITA    CRUZ                         OR     90004196034
81B7198325B338   CANDI        CHIPP                        OR     44542489832
81B72246941275   ANDREI       PACK                         PA     90014152469
81B7246A94B967   ANGELA       BENAVIDS                     TX     90004904609
81B7281A35B24B   JEREMY       WOOLDRIGE                    KY     90003598103
81B72899876B97   JACKIE       LOPEZ                        CA     90015338998
81B7294A572B62   THOMAS       MORRISSEY                    CO     90012439405
81B72A32893771   RONNIE       PENNINGTON                   OH     64537850328
81B7341816194B   DARRYL       JOHNSON                      CA     46017534181
81B7411817192B   SHARON       VANN                         CO     32041341181
81B742A1233698   THERESA      HENDERSON                    NC     12045572012
81B74746385856   ALAST        AHMADI                       CA     90003777463
81B74829677537   JOSE         NUNEZ                        NV     43084188296
81B75159177537   CHRISTINA    CLEMENTS                     NV     90012601591
81B7535325B32B   TA SUE       WIN                          OR     90015133532
81B7555966194B   MERARY       ROMAN                        CA     46060395596
81B75759841262   CARLA        PROSPERI                     PA     90008927598
81B75996133738   KELVIN       KING                         LA     90004609961
81B759A678B168   REBECCA      GATRELL                      UT     90008819067
81B75A69A97B38   FERNANDO     MEZA                         CO     39041770690
81B76261A72B44   BRENDA       CALDERON                     CO     90015112610
81B76343A9154B   IRMA         TORRES                       TX     75044273430
81B765A6172B62   CHRISTOPHE   C TORREZ                     CO     90001335061
81B76735161928   LOLA         VERDUGO                      CA     46034037351
81B7686A381683   JOHN         KESSLER                      MO     90013628603
81B7691669712B   JACOB GENE   SHORT                        OR     90012219166
81B77526A91837   SARA         VITNOLA                      OK     90014035260
81B7753A772B62   DAVID        ESTRELLA                     CO     90014205307
81B77558172B29   TRACY        SCHAUS                       CO     33038405581
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1133 of 2350


81B77775147822   KEITH           BRADLEY                   GA     90006497751
81B77792961922   YVONNE          BETANCOURT                CA     90004907929
81B77931A91922   CARLOS BENITO   JUAREZ GARCIA             NC     90008019310
81B789A7997B3B   DANELLE         BOTTKE                    CO     39017079079
81B78A73185962   KRISTINA        CRIM                      KY     90011340731
81B7915835B32B   RICHARD         STILL                     OR     44546881583
81B7926838B163   ANGEL           STUCKMAN                  UT     90014002683
81B79544747897   JUSTIN          CLYDE                     GA     90007295447
81B79592497133   MASHELLE        GILLIAM                   OR     90001015924
81B79859151362   PAULA           FAUST                     OH     66005498591
81B79A88872B44   JAKE            SAIDY                     CO     90014880888
81B79A9182B28B   ROSI            LOPEZ                     DC     90006830918
81B79A9498B168   CEASAR          ASTORGA                   UT     90007690949
81B7B152891525   ARCY            SANTIBANEZ                TX     75084951528
81B7B199A97B38   AMANDA          MATA                      CO     39059661990
81B7B44A984325   VANESSA         BURRISON                  SC     90011824409
81B7B853777537   MARILOU         NIPAY                     NV     90013038537
81B8121A285856   ANNA A          GAGLIARDI                 CA     90014042102
81B81264591242   REGINA          MILLS                     GA     90009922645
81B816A1191963   CODELL          JONES                     NC     90011436011
81B81722172432   BRYAN           HARRIS                    PA     51007667221
81B81826197121   MARIA           CARRILLO                  OR     44012858261
81B8184A185936   BRANDON         REED                      KY     90013118401
81B82648741275   BRANDON         ROBINSON                  PA     51030786487
81B8323244B555   JO'NES          STEED                     OK     21554122324
81B8337259154B   JOSE            VASQUEZ                   TX     90008203725
81B8348894B22B   CHARLES         WEEKS                     NE     27041754889
81B8379128B154   TANNER          EASTMAN                   UT     90013227912
81B83A1635B338   CONRAD          PIERSON                   OR     44580940163
81B83A37685856   SHANNON         FRANCIS                   CA     90015270376
81B841A735B183   JOHN            JOHNSON                   AR     90009161073
81B8447838B154   JEREMY          NELSON                    UT     90011524783
81B84682197138   JERRY           JOYA                      OR     90005286821
81B84888771977   MICHAEL         QUINTANA                  CO     90009598887
81B8492799712B   JULIAN          DUARTE                    OR     90015099279
81B8568699712B   CLARENCE        SIDES                     OR     90014826869
81B85817A72432   KELLEY          SHANNON                   PA     51098888170
81B8592746194B   TORRES          INGRID                    CA     90012429274
81B85933371977   TAMMIE          SETSER                    CO     90001849333
81B8616249154B   ENRIQUE         GAVIDIA                   TX     90014431624
81B8635638B154   KELLSA          AFTON                     UT     90013883563
81B87396571977   JOSEPH          SANZ JONES                CO     90015203965
81B87433185856   BREANNA         RAMIREZ                   CA     90014444331
81B8743A48B168   JEFF            NELSON                    UT     31005844304
81B8775745B183   BEN             TALLEY                    AR     90010037574
81B87759872B62   RAMIREZ         MARIBEL                   CO     33081897598
81B87786261928   JORGE           REYES SANJUAN             CA     46045807862
81B878A4647897   MAURICE         ADAMS                     GA     14039078046
81B87A8A851362   LARRY           GREGORY                   OH     90011990808
81B87A93972B44   YESENIA         DE LA CRUZ                CO     90013800939
81B88181176B65   FREDDY          MENDOZA                   CA     46095791811
81B88343372B29   LONY            JEFFERSON                 CO     90012913433
81B884A934B22B   ROXAN           NAZARUK                   NE     27053854093
81B8853699712B   TYRONE          MICRAE                    OR     90011855369
81B88912855945   SHANICE         S FRAUDE                  CA     90001769128
81B8898675B145   BERNICE         BEDFORD                   AR     23017049867
81B89295A47897   CHARLES         IVEY                      GA     14006892950
81B89578772B44   BRITTNY         TRUJILLO                  CO     90003405787
81B8963345B338   DONNA           DRAKE                     OR     90004016334
81B89689855945   DOMINICA        MORENO                    CA     49000996898
81B8B19765B145   CHERYL          JACKSON-GOLDEN            AR     90010201976
81B8B438891975   ASHLEY          RICHARDSON                NC     90013984388
81B8B457847897   TRACY           REEVES                    GA     90013924578
81B8B62A68B168   BRANDY          GARDNER                   UT     90012476206
81B91128947822   LASHONDA        HOLLINGSHED               GA     90013541289
81B9149A233698   ALESHIA         DONNELL                   NC     90010774902
81B9156198B154   UAROTA          GODINET                   UT     90011355619
81B91872991975   MELONIE         SURLES                    NC     90011428729
81B918A9791975   WENDY           ROJAS                     NC     90011568097
81B91912476B65   IVAN            SOUKENKA                  CA     90004359124
81B9191268B163   JACQULYN        RACHELLE                  UT     90003639126
81B9197979154B   DOLORES         TOVAR                     TX     90014779797
81B92224472B33   MARIANA         CEALLOS GUADARRAMA        CO     90000922244
81B92391461988   KELLIE          CAIN                      CA     90009293914
81B92565333698   ADRIENNE        BETHEA                    NC     90013845653
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1134 of 2350


81B92643872432   RANDA          PATTERSON                  PA     51086926438
81B92771847897   KRISTAN        MCCARTHY                   GA     14032787718
81B92A1AA72B49   VIRGINIA       EDITONE                    CO     90013590100
81B9332A798B34   JAMORY         ALI                        NC     90013573207
81B93392493771   ARTEMIO        CASTILLO                   OH     64556783924
81B93618285856   JULIANNA       CASSIDY                    CA     46023116182
81B93826597B38   EDNA           TROUTMAN                   CO     39019718265
81B9416A391975   DUSTIN         DUTROW                     NC     90009701603
81B94255197B38   KENDRA         CULLISON                   CO     39050422551
81B94622491979   RUTH           OGORO                      NC     90014096224
81B94817677537   RICARDO        ELIAS                      NV     90014428176
81B94989197B3B   LOUISE         ESPINOSA                   CO     90010709891
81B95278185655   JOESPH         LOPEZ                      NJ     85043362781
81B95384797133   NIVARDO        CABRERA                    OR     90011843847
81B9594A84B538   LESLIE         GOZA                       OK     21555559408
81B95951172432   WILLIAM        BLACK                      PA     51057889511
81B96153833698   TRACE          WATERS                     NC     90014711538
81B9658A693771   JESSE          KAUFMANN                   OH     90013625806
81B9694A15B32B   COLETTE        LEHMAN                     OR     44591219401
81B9694A84B538   LESLIE         GOZA                       OK     21555559408
81B9734162B252   DON            WILSON                     DC     90006493416
81B97753872B44   ROGOBERTO      VIVEROS-BACA               CO     90012617538
81B9776435B183   KIMARA         LEWIS                      AR     90014927643
81B9799676194B   DOMINGA        MEJLA                      CA     46015319967
81B97AA6476B97   AARON          PETERSON                   CA     90010090064
81B9817595B338   JENNIFER       KABOYO                     OR     44573401759
81B98363747897   MEKO           LAWERY                     GA     90001213637
81B9846355B145   JOYCE          LEWIS                      AR     90013214635
81B98581641275   JASMINE        MILLER                     PA     51094075816
81B98588597121   APRIL          AVERETTE                   OR     90002885885
81B98985984325   PERRY          PRICE                      SC     90006279859
81B98A79941262   AMANDA         DIETERLE                   PA     51034130799
81B99284691975   JADRIEN        WOODS                      NC     90011522846
81B99351597121   SHASTA         ELLINGTON                  OR     90005293515
81B99489276B97   JUSTIN         LEONARD                    CA     90015334892
81B99724297138   ISAR           RAMIREZ                    OR     90009527242
81B9B3A765B153   BETTY          NUTT                       AR     90006483076
81B9B43A972B62   ANGEL          HERNANDEZ                  CO     90011034309
81B9B52A641262   GEORGE         LONG                       PA     90014605206
81B9B68A297B3B   EDWARD         COOK                       CO     39071346802
81BB1114497133   ANDREA         CSAVAJDA                   OR     44003631144
81BB1329547822   PAYGO          IVR ACTIVATION             GA     90009573295
81BB156A372B62   MARIA          VALDEZ                     CO     33015105603
81BB16AA672432   ROBERT         PHILIPS                    PA     90012196006
81BB1825947897   TOMEKA         RIDLEY                     GA     90013138259
81BB211A391837   JESSICA        HERNANDEZ                  OK     90014531103
81BB212315B581   KAYLEE         GIESLER                    NM     90014671231
81BB2291891532   ROCIO          GONZALEZ                   TX     75056152918
81BB2A1A861934   PATRICIA       TORREZ                     CA     90014850108
81BB2A27572B44   LAUREL         HUGHES                     CO     33018200275
81BB2A34772B27   GERARDO        RAMOS                      CO     90007790347
81BB3345372B62   MONICA         JAQUEZ                     CO     90007813453
81BB362188B154   TANEISHA       JOHNSON                    UT     90012066218
81BB4446591242   FLORENCE       ELLISON                    GA     90012854465
81BB4674591837   GERMAN         OCHOA                      OK     90015146745
81BB4682585856   RUBEN          MALDONADO                  CA     46085606825
81BB468878B163   VINCENT        SADLER                     UT     90011606887
81BB4852684325   RAVEN          JOHNSON                    SC     90011768526
81BB5344476B97   SANTOS         MARTINEZ                   CA     90001963444
81BB5479997B38   DUSTIN         HARRISON                   CO     39025274799
81BB5711297133   LUIS ALVERTO   PINEDA                     OR     90013427112
81BB6123955945   KA             VUE VANG                   CA     90012961239
81BB613A397188   JOSEPH         BARKER                     OR     90012201303
81BB615126194B   YUDITH         ORDAZ                      CA     46017511512
81BB6423871977   JOHNNY         ARAGON                     CO     90014974238
81BB645878B168   RICK           OLSEN                      UT     90014874587
81BB6521247822   SHANICE        CURRY                      GA     90014955212
81BB671745B581   MARTHA         PARSONS                    NM     90014947174
81BB6843885856   DELIA          SERVIN                     CA     46012958438
81BB693989712B   TIA            OWEN                       OR     90012339398
81BB7236691975   AKELE          CANNADY                    NC     90000912366
81BB73A7885856   GABRIEL        RIVERA-AYALA               CA     90012333078
81BB77A5797133   RYAN           MORRIS                     OR     90014417057
81BB7976891242   STEPHANIE      JONES                      GA     14581729768
81BB8145951362   MARIA          MARTINEZ                   OH     66069731459
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1135 of 2350


81BB8459897B38   ELSA          DOMINGUEZ                   CO     90008114598
81BB8693A93137   DECOREY       JACKSON                     TN     90015376930
81BB8718A76B97   ERIK          MICHAELS                    CA     90013017180
81BB8934541262   TINA          LANG                        PA     90014589345
81BB8943691242   KATHERINE     WELLS                       GA     90000669436
81BB8995172B33   MARTHA        VELAZQUEZ                   CO     33003219951
81BB8A85A8B154   DILLON        MCCAULEY                    UT     90013850850
81BB8A99572B29   HECTOR        FLORES GARCIA               CO     33069430995
81BB9163993771   JAMIE         CRABLE                      OH     64597041639
81BB932259154B   PHILLIP       MARIN                       TX     90012363225
81BB9492572B29   JAMES         PENDEGRASS                  CO     90010314925
81BB9498A41262   KIM           PRYOR                       PA     51034114980
81BB9A5335B32B   RAQUEL        RAMIREZ MULATO              OR     90013750533
81BBB111891975   SHAWANDA      DEW                         NC     90008601118
81BBB32142B271   SABRINA       DEVINE                      DC     90014023214
81BBB33A797133   FRANCISCO     JUAREZ                      OR     90011063307
81BBB364572432   JOHN          DINGLE                      PA     90012913645
81BBB475972B33   CHRISTOPHER   TILLMAN                     CO     90013094759
81BBB89A14B22B   HEATHER       HOBERG                      NE     27019858901
81BBB942772B44   ADALBERTO     GUADARRAMA                  CO     33005529427
8211125889154B   ANDRES        IGLESIAS                    TX     90012172588
82111813797B3B   MARIA         CONTRERAS                   CO     90013888137
82111A1335B581   CRISTAL       JARAMILLO                   NM     35021730133
8211252244B22B   DANIEL        GARCIA                      NE     90011085224
8211274199154B   NORMA         RODRIGUEZ                   TX     90013367419
8211278A941275   JENNIFER      NGUGI                       PA     90013287809
8211313863B184   KATHLEEN      BLOCKER                     DC     90005171386
8211318AA5593B   DIANA         SOLIS                       CA     90004701800
82113965497B3B   GABRIELA      FLORES                      CO     39042699654
8211461A491979   LATOYA        DAVIS                       NC     17052266104
821148A3951362   ZELWYN        ROBINSON                    OH     90014178039
82114945A72B33   JAMILYA       KENNRDY                     CO     90007539450
821152A1491558   MICHAEL       CALLAGHAN                   TX     90007482014
82115359976B97   ALEJANDRA     NARANJO                     CA     90012083599
82115618176B68   IRIS          MENDEZ                      CA     90014846181
82116596A72496   TED           LANGA                       PA     90014655960
82116A15876B65   CAROLINA      ROSAS                       CA     90013910158
82116A77791242   THOMAS        SCOTT                       GA     90010880777
8211712316194B   CUAUTEMOC     CORONEL                     CA     90010891231
8211722A972B33   ARTURO        GUZMAN                      CO     90007842209
8211745127192B   JOEL          GOUDY                       CO     90004464512
8211748666194B   CUAUTEMOC     CORONEL                     CA     90014564866
8211785615B581   ANGELA        MARTINEZ                    NM     90008018561
82117A6532B271   REYNA         YAP                         DC     90007700653
82118473776B68   JAMES         BEATTY                      CA     90014494737
82118A73676B65   AMPARO        ESPINOZA                    CA     90014360736
8211913A56194B   JESUS         MEJIA CASTRO                CA     90010431305
821199A615B139   L             CROSS                       AR     23024709061
82119A43676B68   JEFFREY       COLE                        CA     90014400436
82119A6AA72432   BRENDA        TESSARO                     PA     51007880600
8211B246A76B65   MARK          VALADEZ                     CA     90004512460
8211B28475B153   BRIANNA       FOREMAN                     AR     90015172847
8211B74396194B   EMILIA        HERNANDEZ                   CA     90008387439
82121245197B68   AIOTEST1      DONOTUSE                    CO     90015122451
8212185134B22B   IRMA          NUNEZ                       NE     27013078513
82121A79472B44   CRISTINA      PECINA                      CO     90004680794
8212211335B142   CHRIS         O DONAHUE                   AR     90000121133
82122347476B68   GRISELDA      APOLONIO                    CA     90012393474
82122398276B65   ADRIAN        FLORES                      CA     90014193982
8212264654B524   JANICE        KELLEY                      OK     90010376465
8212292369154B   INES          SOSA                        TX     75065029236
8212333117B491   KAREN         SHERRILL                    NC     90002483311
82123621772B62   MARIA         BUSTOS                      CO     90015306217
8212365423B358   JANN          SCOTT                       CO     33074096542
82123789172B29   DAN           SPARKS                      CO     33054527891
82123A3675B153   RODNEY        LAMBERT                     AR     90013980367
8212439A18B154   VICKY         STAKER                      UT     31086503901
8212564144B22B   VALENTINE     RED                         NE     27081936414
82126221A5B326   CHRIS         KLETTKE                     OR     90001852210
821263A138B163   AMBER         HAMBLIN                     UT     90005583013
82126527172B33   DIAZ-ORUZA    MAURICIA                    CO     90009905271
8212687635B183   SANDRA        MCCULLOUGH                  AR     90009498763
8212695A285936   KENNETH       WEEKLY                      KY     90012169502
82126A7AA5B591   LAWRENCE      MONTOYA                     NM     90005440700
8212715495B581   RUBEN         LOPEZ                       NM     90014451549
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1136 of 2350


82127461A97B68   LUIS             CARO                     CO     90003004610
82127977976B65   NICKOLAS         LYON                     CA     90012829779
82127A36272B44   ELVA             MATEO DIAZ               CO     90012800362
821287A863B175   GEORGE           JOHNSON                  DC     90012547086
82128963A76B68   IRVING           VILCHIS                  CA     90013019630
8212932A561928   MARIA            PULIDO                   CA     90011293205
8212948635B24B   TASHIANA         MCKINLEY                 KY     90014464863
82129883472B44   ALBERTO          PARRA                    CO     90012628834
8212B754972B33   HECTOR ALFONSO   CARTAGENA GALDAMEZ       CO     90010877549
8212B7A975B183   RANDOLPH         MORGAN                   AR     90012787097
8212B8A2697B68   KAREN            ROOT                     CO     33005298026
82131236A76B97   DESTINY          MITCHUM                  CA     90015062360
8213172715B183   JASMINE          CAMP                     AR     90009497271
82131945972B44   SCOTT            MCKINLEY                 CO     90001349459
8213231155B581   MARIA            OBREGON                  NM     90008303115
8213241775B24B   ALEHISA          CORLEY                   KY     90014724177
82132474376B97   ESTHER           MORENO                   CA     90008454743
821324A8772432   KENZAR           DAY                      PA     51075844087
8213274579154B   KARLA            ALVAREZ                  TX     90014987457
8213283416199B   JOSEPH           BACA                     CA     46099198341
821328A429154B   LORRAINE         DURAN                    TX     90010428042
82133347597B38   MICHELLE         JIMENEZ                  CO     39042523475
82133869672B29   KELLY            GALINDO                  CO     33022618696
8213437918B168   EASTHOPE         NIKKI RAYLYNN            UT     90006263791
82134423476B68   JOHN             LOPEZ                    CA     90004924234
82134A66785856   TONY             THOMASON                 CA     46009140667
82135617A77537   LIDIA            NOGUERA                  NV     90015016170
821363A5484325   RACHAEL          DUPONT                   SC     90011543054
8213655932B271   ANTONIO          JENKINS                  DC     90012655593
82136784A91525   ROLANDO          MUNDO                    TX     90005987840
82136856A72B33   ADRIANNA         GUTIERREZ                CO     90014458560
82136963372B29   ARTHUR           LUCAS                    CO     33011649633
8213696982B981   MAXIMINO         TORRES                   CA     90015019698
82136A66785856   TONY             THOMASON                 CA     46009140667
82136A74A8B163   TROY             BOREN                    UT     90012990740
8213796A75B581   VICTORIA         ESPINOZA                 NM     90009939607
82137A3A341262   ROBERT           KEREKES                  PA     51017060303
82137A8A65B326   PENNY            JAMES                    OR     90011210806
821382AA677537   JANET            BRAWNER                  NV     90008242006
82138345176B68   CHRISTOPHER      SANCHEZ                  CA     90010353451
82139221172B62   IVONNE           ROMERO                   CO     33051252211
82139251372B29   TYRON            HICKS                    CO     90013602513
8213966A797B38   FRANCISCO        GARCIA                   CO     90014976607
82139686172B44   MARTHA           BRINLOW                  CO     33081936861
82139763197B3B   HUMBERTO         SALAZAR                  CO     90012487631
8213B568876B68   KACEY            ROBERTS                  CA     90013695688
8213B765461928   JAMES            COLE                     CA     46040317654
8213B9A9381677   DANIEL           SALAMANCA GONZALEZ       MO     90015179093
8214123217192B   NOELLE           FLORA                    CO     32047592321
82141653397B3B   MELISSA          LUJAN                    CO     90008266533
8214168776194B   ROBERT           GONZALES                 CA     90002506877
8214223A172B44   DANNY            LONG                     CO     33005232301
82142245197B68   AIOTEST1         DONOTUSE                 CO     90015122451
8214261115B24B   TIERA            RATES                    KY     68009846111
8214271677192B   DALIA            TAVARREZ                 CO     32071927167
8214288179154B   HORTENCIA        ORDONEZ                  NM     75032778817
8214365465B153   DWYLAN           CAROCE                   AR     90013626546
82143657876B97   SERGIO           MURILLO                  CA     46059326578
82143A15576B68   NORBERTO         AGUILAR                  CA     90014920155
82144381876B65   JUAN             GASPAR                   CA     90015253818
8214449A95B581   DANIELLE         RODRIGUEZ                NM     90012324909
82144587972B62   BRET             BAKER                    CO     90002585879
8214479A591975   DANIEL           WOLF                     NC     90011967905
82144835176B68   ADRIANA          GARDNO                   CA     46058208351
82145168597B38   YOLANDA          RAMIREZ                  CO     90000391685
8214574415B139   STEVEN           HOWELL                   AR     90006717441
8214581525B153   SHAHEED          BLAKELY                  AR     90014598152
82146627176B68   ROCIO            REYES                    CA     90001446271
82146796A4B22B   SHAWN            STUART                   NE     27031397960
82147816376B65   MARIA            GUERRERO                 CA     46004588163
821479A5497B38   ELIZABETH        DYER                     CO     90009659054
821481A2A91837   LACEY            STEVENS                  OK     90007331020
82148391A5B183   SABRINA          GOODWIN                  AR     23072953910
82148543797B68   ELIZABETH        ARIAS                    CO     90011225437
82149193A81627   KAYLIN           DUNKIN                   MO     29067961930
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1137 of 2350


821493AA691979   RAMON             VIZCAYA                 NC     90012093006
82149689676B68   ALISA             SILVERSTEIN             CA     90012776896
821496A2681677   TIFFANY           GALLATIN                MO     90011706026
8214978335B326   CHARMAGNE         KLOEPPING               OR     44595797833
821498A7691837   PEDRO             LOPEZ                   OK     21066758076
82149A89476B97   JESSICA ANTONIA   HUERTA                  CA     90012720894
8214B186976B68   DONNA             HOWE                    CA     90014301869
8214B2A7572432   NIKKI             LILLEY                  PA     90009222075
8214B322472496   GEORGE            TALBOT                  PA     90009823224
8214B56A391979   AMANDA            BELCHER                 NC     90007595603
8214B652A5B24B   ALEXNADER         STANHOPE                KY     90015146520
8214B68386194B   AUBREY            BOARD                   CA     46067446838
8214B889376B65   LUIS MANUEL       BARRAGAN                CA     90011308893
8214B918336164   FELIX             SILGERO                 TX     90014159183
8215166348B163   XOTCHILT          RAMOS                   UT     31054206634
8215183A48B154   JESSICA           TUCKER                  UT     90015028304
8215198665B153   ALMA              GIBBS                   AR     90012799866
82151A6765B139   CLIFTON           CROWNOVER               AR     90012450676
82152121276B65   DULCE             REYES                   CA     46031141212
82152123A93771   CHRISTA           DENNIS                  OH     64547891230
82152186172B62   MARIO             SANDOVAL CASILDO        CO     33029581861
8215269916194B   PATTY             BAUTISTA                CA     46030576991
821526A4A61556   GLORIA            BYAS                    TN     90015376040
82153925897B38   SAMUEL            CRESPIN                 CO     39052479258
8215428239154B   CLAUDIA           ROMERO                  TX     90010432823
82154968A71977   RANDY             RICE                    CO     38050619680
8215515685B326   YOLINDITA         ANDRE                   OR     90013611568
821551A538B154   IVAN              SANCHEZ                 UT     90013801053
8215582349154B   JOHAN             BARAY                   TX     90011118234
82155965397B68   CORNELIA          GUTIERREZ               CO     33003079653
82155A15791975   MARY              VELEZ                   NC     90010830157
82156548497B68   HEATHER           DOBSON                  CO     90003735484
82156613672B62   ALEXANDER         BENAVIDEZ               CO     90013796136
8215664825B24B   LAURA             KLATZ                   KY     90008926482
82156A23A5B326   MARCO             MORALES                 OR     90011540230
82157754A81677   MEGAN             LILLY                   MO     90011887540
82157931976B68   CRISTINA          HERNANDEZ               CA     46086839319
82158459972B33   RICK              HOWELL                  CO     90013314599
821586AA697B68   JESUS             REYES                   CO     33067636006
82158759A6194B   ALAN              ORTIZ                   CA     90007337590
82158A2938B163   JOSE              ALCANTAR                UT     31092170293
8215942966194B   ERIKA             VILLARREAL              CA     90014834296
82159944672B29   ANN               MARLIN                  CO     33095709446
82159A72172B44   ALONZO            EZPINOZA                CO     90013370721
8215B27785B523   VINCENT           ALDERSON                NM     90010662778
8215B45AA4B22B   TIFFANY           MACE                    IA     90009094500
8215B524997B38   CAROL             SERNA                   CO     39033175249
8215B586476B65   FRANSISCO         CHAVEZ                  CA     90014165864
8216112195B153   KERRY             HARRINGTON              AR     90014651219
8216118848B163   JUSTIN            ANDERSON                UT     90010701884
82161521897B3B   OLGA              LOPEZ                   CO     39001815218
8216286358B154   OMAR              EDGAR                   UT     90010368635
82163124A33698   TARA              HUSSEY                  NC     12012651240
82163243372B44   REYNA             PEREZ                   CO     90013352433
8216358724B22B   SARA              MILLER                  NE     27028985872
82163937A51334   REBECCA           LEIST                   OH     90012979370
82163A86241262   DANJA             RAE                     PA     90000210862
8216466818B168   TRINA LEE         CHARLESWORTH            UT     90011236681
82164A5666197B   MARK              MEDINA                  CA     90010470566
82164AA8961928   VIERA             ALMA                    CA     90000430089
82165287376B68   ADRIANA           MALDONADO               CA     46084742873
8216591165B24B   ALLISON           BOWMAN                  KY     68091629116
8216592A691979   MILTON            MORALES                 NC     90013799206
8216597295B326   SERGIO            SUAREZ VASQUEZ          OR     90013229729
82165A44797B3B   JAMES             OLMEDA                  CO     90012710447
82165A5998B168   BRENT             PETERSEN                UT     31069860599
8216626AA76B97   MARIA             ARELLANO                CA     90011132600
8216638335B153   TOWANIA           OLLISON                 AR     23084943833
8216684A89154B   MELISSA           GAMBOA                  TX     75020298408
82166876376B68   VERENISI          JACKSON                 CA     46079458763
8216721349154B   CHRISTIAN         MENDOZA                 TX     75039212134
8216758A397B3B   TRICIA            PANNELL                 CO     39032665803
8216771447B491   DINO              MILLER                  NC     11000867144
8216791136194B   UYEN              NGUYEN                  CA     90013639113
8216841515B24B   CHARLES           HENDERSON               KY     90011914151
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1138 of 2350


82168775A72B62   ALISHE       WHITWORTH                    CO     90005547750
8216887A291532   MARCO        CAMACHO                      TX     90014518702
8216888725B326   LAURA        BUTLER                       OR     44527508872
82168A62372B44   PAM          HOUGHLAND                    CO     33014080623
82169335A81627   KATELYN      HELMS                        MO     90013923350
8216954A872B44   BRANDON      LEE                          CO     90012295408
8216956978B154   JULIO        ZAVALETA                     UT     31084905697
82169781372B33   EDWARD       MEHALICK                     CO     90013127813
82169826772B62   ELEANORA     ANDERSON                     CO     90014488267
821698A285B581   MARIA        PEREZ                        NM     90012378028
82169A83651362   JESSICA      BAILEY                       OH     66002900836
8216B525141237   BRENDA       LOVING                       PA     51001755251
8216B54A141275   DON          LOHR                         PA     51004655401
8216B68626194B   YOLANDA      BURNS                        CA     46007696862
8216B94165B338   JODI         CANHAM                       OR     90009369416
8216B987397B3B   HEATHER      COLE                         CO     90010979873
8217112745B139   DANA         PEARSON                      AR     23017011274
821711A6885936   EBONI        BAILEY                       KY     90014561068
8217147558B163   MIRNA        ZAVALA                       UT     90013804755
821714A1772B29   VICTOR       MARTINEZ                     CO     90012114017
821716A8285623   NEUTEMBER    HERNANDEZ                    NJ     90010706082
8217254AA9154B   CHAVIRA      RUBEN LARA                   TX     90004755400
82173115176B97   KENNIS       OZIER                        CA     90014301151
821739A2676B65   MARIA        BALDERAS                     CA     90004129026
82173A63297138   LAURA        DIAZ DOMINGUEZ               OR     90006620632
8217413A691354   AMILCAR      GARCIA AGUSTIN               KS     90011511306
82174334676B65   STASSIA      MARSHBURN                    CA     90012513346
8217517358B154   KELLY        HEMINGWAY                    UT     31020381735
82176132976B97   ELIZABETH    HERNANDEZ                    CA     90007851329
8217728AA81677   MICHAEL      SPAULDING                    MO     29088772800
8217757515B24B   CATINA       COLE                         KY     90010205751
82177833A2B23B   ELMAN        ESTRADA                      VA     90007508330
82177A14491837   TREENA       KAY                          OK     90010240144
82177A3394B22B   TRACY        SCOBEE                       NE     90002540339
8217815A57B491   SANDRA       WALKER                       NC     11007141505
8217819A177537   BRIAN        SALOMON                      NV     90006031901
82178842472B62   DAVID        MONTOYA                      CO     90015058424
8217952466194B   YOLANDA      VASQUEZ                      CA     90008425246
8217998735B183   YUNIOR       BEDERLI                      AR     90011439873
8217B225785936   JESSICA      HATFIELD                     KY     67016622257
8217B794A91979   LINDA        PERRY                        NC     90000637940
8217B79A377537   EDWARD       JURASIN                      NV     90014437903
8217B849381677   LADONNA      HENDERSON                    MO     90010148493
8217B98A172432   DEBBIE       COOKSEY                      PA     90013989801
8217B996376B65   ALYSSA       MAGEE                        CA     90012829963
8218115A272B62   TOBY         HARTMAN                      CO     90010801502
82181313597B38   ANGELINA     GUEVARA                      CO     90013773135
82181356372B29   MARIBEL      ORTIZ                        CO     90013173563
82181455972B33   QANIA        RYAN                         CO     33085524559
8218215755B326   AMY          ROISE                        OR     90013611575
8218237429154B   ROGER        AVILA                        TX     90014163742
821823A8585936   ELISHA       WADE                         KY     90014443085
8218334A672B33   SHANE        SKINNER                      CO     33016793406
821833A2A97B3B   ANDREW       EHRLICH                      CO     90012753020
82183698776B68   MARIO        LAURIANO                     CA     90007776987
82183A55A5B326   JOSH         WHITE                        OR     90012930550
82183A9A297138   KELLIE       KOHLMAN                      OR     90015520902
82184311997B38   LUIS         AGUILERA                     CO     90013083119
8218485754B52B   EMILY        HELTCEL                      OK     90010948575
8218537665B183   TARRIN       GEORGE                       AR     90013773766
8218567488B154   GABRIELLE    BEU                          UT     90008066748
8218574A151362   SHANA        HAMBRICK                     OH     90011857401
8218584235B581   BEATRIZ      FRAIRE                       NM     90006938423
8218597469154B   EVELYN       MARTINEZ                     TX     90004889746
8218683999154B   SARAY        GUERRRO                      TX     75073188399
8218716A281627   VICTORIA     BEINGESSNER                  MO     90009681602
8218761778B159   MARK         MCCAIN                       UT     31084386177
8218783A293771   MARLO        ABLING                       OH     90006078302
8218787745B581   JAVIER       RODRIGUEZ                    NM     90014158774
82187899176B65   SALOMON      GARCIA                       CA     90014858991
8218798925B183   CARMEN       HOWARD                       AR     23086279892
82188572A41275   TAREN        KELLER                       PA     51086365720
82188A1914B967   CYNTHIA      DAW                          TX     76572750191
8218941A92B271   ARNICE       WILLIS                       DC     90012014109
8218975489154B   ROSEMARY     YZQUIERDA                    TX     90014177548
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1139 of 2350


82189924172B33   LINDA        MARTIN                       CO     33097879241
82189A33372B33   MONIKA       BENJAMIN                     CO     90011830333
82189A87797138   JUSTIN       PHILLIPS                     OR     90014550877
8218B42A241275   KELSEY       GRAY                         PA     90012944202
8218B4A6772B62   DIANA        OSORNIO                      CO     90013434067
8218B571972B44   DAVID        HALL-ANDREWS                 CO     33035095719
8218B64186194B   ORLANDO      RINCON                       CA     46078646418
8218B839376B65   JUAM         FUENTES                      CA     90003158393
8218BA2365B183   KATHRYN      ALLISON                      AR     90010810236
8218BAA5697B3B   NATHAN       GOOLSBY                      CO     39017750056
82191445672B44   PHILLIP      SANDAVAL                     CO     90015034456
82191939876B97   JONATHAN     SANCHEZ                      CA     90014359398
82192745A9154B   EDUARDO      ORTIZ                        TX     90013367450
8219313728B163   LISA         JENSEN                       UT     31011221372
82193253176B68   KNORNFIELD   JENNIFER                     CA     90012852531
82193623972B44   LARRAINE     HINOJOS                      CO     90013346239
82193653172B62   ASSEFA       HIFERAW                      CO     33074236531
82193A99441262   WILLIAM      SWARTZWELDER III             PA     51086460994
82194131A85936   QUINTIN      WALLACE                      KY     90014531310
8219426455B24B   BARBARA      LOGSDON                      KY     90014042645
8219428555B183   CARLOS       SANDOVAL                     AR     90014712855
82194374972B44   HALBERT      CHRYSILLIS                   CO     90010613749
8219456A772B33   WILLIAM      RAMIREZ                      CO     33007635607
82194A69777537   ALVARO       GARCIA                       NV     43095100697
8219543A597B68   WINSTON      REID                         CO     90013254305
82195896997B3B   TRINITY      RAMOS                        CO     90012478969
82195914976B65   ABELARDO     MORALES                      CA     90014819149
82195A39A76B68   LUIS         ZAMUDO                       CA     90013650390
82196635A81627   GLEN         FANNIN                       MO     29093456350
8219727436194B   EDITH        LEON                         CA     46013842743
82197392A76B97   ERIC         WALTERS                      CA     90004743920
8219791118B168   GWENDOLYN    DAVIS                        UT     31041309111
8219869735B326   MATTHEW      PAULUS                       OR     90013846973
821989A595B326   ANGELA       PULPS                        OR     90015419059
8219948414B22B   MATTHEW      CARTER                       NE     27071564841
8219981229154B   FRANK        BOTELLO                      TX     90000238122
821999A695B581   ELFARISSE    ELHASSANIA                   NM     90008759069
8219B28AA81677   MICHAEL      SPAULDING                    MO     29088772800
8219B583841262   ERICA        LEWIS                        PA     90008085838
8219B58814B22B   JEFF         BUCKWALTER                   NE     90012085881
8219B627476B68   MARY         LIMPIN                       CA     90014826274
8219B7A6897138   SARAH        COOK                         OR     90015187068
8219B8A774B22B   PATRICIA     RENTERIA-AVALOS              NE     27089738077
8219BA39372432   APRIL        LASH                         PA     51033070393
8219BA75393771   DANIELLE     WATSON                       OH     90012490753
821B1169461928   JESUS        FAJARDO                      CA     90014061694
821B127153B391   ANGELA M     VALENTINE                    CO     33041692715
821B1384941275   MICHAEL      OSHEA JR                     PA     51000073849
821B146769154B   MARISOL      GUTIERREZ                    TX     90012324676
821B1AA595B139   SHANDRILL    THOMAS                       AR     23047860059
821B2611672B29   DENEKA       MAESTAS                      CO     90015036116
821B2685451362   RICHARD      LEWIS                        OH     66038656854
821B2985393772   JEWELL       ARNOLD                       OH     90008649853
821B2A5A69154B   JOSEFINA     VALLEJO                      TX     90005790506
821B3148276B65   RACHEL       YOUNG                        CA     90009301482
821B3265285936   RICKESHA     BERRY                        KY     90014262652
821B3882693771   TAMMY        POWERS                       OH     90015158826
821B4325772B44   GRISELDA     RIOS                         CO     33049693257
821B437855B153   GREGORY      WILLIAMS                     AR     90009763785
821B447467B467   KEONA        THOMAS                       NC     90007734746
821B449616199B   ADRIEN       KING                         CA     46029274961
821B4835341275   ERIC         FRISCO                       PA     90014898353
821B4892285936   MARIA        RODRIGUEZ                    KY     67020408922
821B4923A47822   ANGELA       TINSLEY                      GA     90013019230
821B4A57977537   FABIOLA      MUNOZ                        NV     43012830579
821B5228633471   LEILA        ALLEN                        AL     90014622286
821B5416672B44   ANDREW       GILLETTE                     CO     90013354166
821B5459A31451   BIANCA       JACKSON                      MO     90008884590
821B5737576B97   REINA        MIRANDA                      CA     90012127375
821B5766872432   ASHLEY       BURK                         PA     90014737668
821B5923472432   PAMELA J     DENNY                        PA     90014609234
821B63A9833698   FRANCINA     MAJETT                       NC     12004973098
821B692565B581   MARIA        GARCIA                       NM     90012519256
821B6A26272B62   KEIF         MCCONNELL                    CO     90013240262
821B7377372B62   PEGGY        SALAZAR                      CO     90011483773
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1140 of 2350


821B7883247822   DERRICK          RUTLAND                  GA     90015128832
821B7892976B68   REYNALDO         CERVANTES                CA     90013038929
821B8256772496   SAMANTHA         ANDERSON                 PA     51050872567
821B8262472496   SCOTT            WESTON                   PA     90013922624
821B826735B326   FLORENCIO        MORA CORONA              OR     44509982673
821B838668B168   BRANDY           WENDORF                  UT     90014403866
821B8545372432   ELIZABETH        KLAUS                    PA     90014835453
821B8569972496   BRITTNEY         DARBY                    PA     90011455699
821B865AA91975   ISAAC            GUTIERREZ                NC     90008716500
821B8777572432   CHRIS            DEWALT                   PA     90014867775
821B8828384325   YA-NEISHA        MURRAY                   SC     90004788283
821B8964397B38   CRUZ             PALACIO                  CO     39011239643
821B9214372B33   ANDI             SORRELS                  CO     90010912143
821B923A561928   GERALD           SHRADER                  CA     46072642305
821B924AA47822   JOSH             SAMPLES                  GA     90015142400
821B9849993137   PAYGO            IVR ACTIVATION           TN     90015228499
821B9A4A872B62   MADDIE           SCHULZ                   CO     90015380408
821B9A55372B44   BEATRICE         PADILLA                  CO     90015150553
821BB175681627   HOLLY            STARK                    MO     90013811756
821BB22A271977   REGINALD         BAKER                    CO     90009122202
821BB476372B62   DAVID            GREGORY                  CO     90007934763
821BB69AA8B16B   STACEY           LARSEN                   UT     90015086900
8221153AA61971   JOSEPH           ARMSTRONG                CA     90013395300
822116A5172B44   LESLIE MICHEAL   WHITE                    CO     90010346051
822117A8785936   RODRIGO          RAMIREZ                  KY     90009407087
822119A2651362   ELIZABETH        NAPIER                   OH     90014179026
82212751A5B338   CASSONDRA        EVANS                    OR     44543257510
8221299126194B   RUBEN            FLOURNOY                 CA     46075539912
8221325215B183   BERNITA          CARRUTH                  AR     90014582521
82213521597B38   ANNA             CORTES-BELMUDES          CO     90002685215
822137A9497138   RONDA            BORCHERS                 OR     90011797094
82213A22541262   NICOLE           MANSO                    PA     90006520225
82213A4348B135   KYLIE            JENKS                    UT     31006400434
8221422789154B   JUAN             MALDONADO                TX     90008172278
82214287276B65   BEATRIZ          PEREZ                    CA     90013922872
822144A965B183   REGGIE           WASHINTON                AR     90011374096
82214A7866194B   JESUS            ORTIGOZA                 CA     90011910786
82214AA815B183   ERMA             PETERSON                 AR     23008870081
82215296697B3B   FRED             TEESDALE                 CO     90013522966
8221554A571977   JOSE             HERRERA                  CO     38080455405
82215626972B33   CHRIS            DUCHESNE                 CO     90001966269
8221563A885856   AIOTEST1         DONOTTOUCH               CA     90015116308
8221639439154B   JESSICA          DIAZ                     TX     90014163943
82216AA3233698   MARY             JANE                     NC     12008820032
8221745A78B154   FILIBERTO        ECHEBERRIA               UT     90005534507
822183A449154B   EDMOND           CIRIZA                   TX     90013883044
8221842866194B   GUADALUPE        ANTUNEZ                  CA     46086154286
8221866158B154   REBECCA          DELORES                  UT     90011436615
82218997372B29   GILDARDO         ANGULO                   CO     33015339973
822197A9551362   TOBIE A          ALLEN                    OH     90012777095
82219816176B65   MAURICIO         LEON                     CA     90015128161
8221B413872432   KRYSTAL          CYPHERS                  PA     90005674138
8221B612A9154B   ALEJANDRA        BARRAZA                  TX     75017456120
8221B772876B68   ALEJANDRA        ROCHA                    CA     90011287728
8221B96615B338   RITA             COLTON                   OR     44543589661
822216A965B24B   JAMIE            GARBROUGH                KY     90015256096
8222226165B581   WESLEY           TERRANCE                 NM     90014522616
82222458A33655   GEMIA            LONG                     NC     90010434580
82222716176B68   BRIAN            MALLOY                   CA     46091807161
82222954797B68   BRANDON          CAMPANELLA               CO     90011499547
8222376148B163   ANA              TORRES                   UT     90014697614
8222449A933698   KEYONNA          HAYWOOD                  NC     90012414909
822244A2861928   YULISSA          VAZQUEZ                  CA     90011294028
8222477486194B   RAYSHAWNDA       MYERS                    CA     90011467748
8222526758B154   RAUL             CALVA                    UT     31010292675
82225434A91975   ANA MARIA        CRUZ FLORES              NC     90011694340
82225934276B65   JUAN             RIVERA                   CA     90014839342
8222627913B388   TOM              SMATHERS                 CO     33023212791
8222677994B578   CHRISTY          ANDERSON                 OK     21569467799
8222719689154B   JAMES            CAMPBELL                 TX     90000421968
8222768988B163   ELIDA            VAZQUEZ                  UT     31036056898
82227727A4B967   CHARLOTTA        GROGAN                   TX     76591357270
82227811472B62   DAVID            HILL                     CO     90013038114
8222816265B326   KRISTEN          PEREZ                    OR     90010391626
82228196A71977   SHARI            HERNANDEZ                CO     90014521960
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1141 of 2350


822282A575B581   GIO               BUSTAMANTE              NM     90013912057
8222874739154B   MARTHA            VILLALOBOS              TX     75081397473
822289A2297B38   GRISEL            GUERRERO                CO     90011349022
82229193A76B68   ANGEL             VAZQUEZ                 CA     90009651930
822295A5591525   ADRIAN            RAMIREZ                 TX     90006795055
8222968A671977   BENJAMIN          BIZZEL                  CO     38044716806
8222971398B168   CHARLES           GRIERSOW                UT     90013017139
82229859497B97   BERNARDO MOLINA   REY                     CO     90014768594
82229AA755B24B   KELLY             SHERRARD                KY     68053690075
8222B135577537   SUSANA            SALINAS                 NV     90000101355
8222B36385B24B   CHRISTOPHE        MATTINGLY               KY     90009733638
8222B734172B29   ANTHONY           APODACA                 CO     33013147341
8222B935797138   WENDEY            MARCUM                  OR     90012269357
8222B95158B163   CAROL             JORDAN                  UT     31013099515
8222BA1928B168   BILL              POORE                   UT     31084100192
8222BA3A193771   BILLY             MYERS                   OH     90007550301
8223114195B326   MARIANA           MALDONADO               OR     90013971419
82231749276B68   SAUL              SEGOVIA                 CA     90006607492
8223214585B139   TONYA             SUMMONS                 AR     23084941458
8223222295B183   ERNEISA           DAVIS                   AR     90012332229
8223474695B326   MICHELLE          SUMMERS                 OR     90014877469
82234A29733698   CATHANIE          MEDINA                  NC     90013360297
822354A358B163   BRADLEY           TAYLOR                  UT     90013304035
82235574176B97   AMANDA            ANDERSON                CA     46033575741
8223563A472B62   ANTONIO           RODRIGUEZ               CO     90013336304
8223577619154B   OSCAR             O KELLEY                TX     90010347761
82236142572B44   HEBODIO           CARPRIO                 CO     90013371425
822362AA28B163   ALEX              JENSEN                  UT     31001012002
822363A6385936   KATHLEEN          CLAIBORNE               KY     67016983063
822368A8A71977   MARCEL            BAILEY                  CO     90013058080
82237585A41275   TERESA            DAVIS                   PA     90005805850
82237843797B68   ANAI              LOPEZ                   CO     90014148437
8223825685B326   MARIA             BEJARANO                OR     90003232568
82238518997B38   JOSE              LOPEZ BELMONTES         CO     90013995189
82238527A5B581   JILL              STEPHENS                NM     90014775270
82238A57681677   JESSICA           EDMAN                   MO     90011670576
82239348672B44   EFRAIN            RIOS RODRIGUEZ          CO     90012503486
82239743A71977   MARIA             RAMOZ                   CO     90008787430
82239A5935B153   AMY               WHITMIRE                OK     90014200593
8223B182147897   SHARMEKA          KENDRICK                GA     14061141821
8223B2A1A33698   ERNEST            MCCORKLE                NC     90015082010
8223B499876B97   JESUS             ZERMENO                 CA     46006914998
8223B763872432   ROBERT            FITCH                   PA     90014267638
8223BA8A55B24B   NIKKI             MURPHY                  KY     68048880805
8224118A485936   LAWRENTE          OLINGER                 KY     90015191804
82241351172B62   MARTIN            SANCHEZ                 CO     90005563511
82241A74197B38   DANIEL            HANSING                 CO     90015030741
8224223AA91979   CINDY             BULLOCK                 NC     17097972300
8224224A297B68   ALEJANDRA         SANDOVAL                CO     90013482402
82242744676B97   FERNANDO          AGRAZ                   CA     90013837446
82242978A81627   ESMERALDA         ORTEGA                  MO     90004399780
8224376656194B   JESSICA           SMITH                   CA     90009507665
8224394A393771   LATOYA            FORNEY                  OH     64573109403
82244136A91979   JEANETTE          HECK                    NC     90010621360
82244966872B44   MARIO             GUTIERREZ               CO     90011779668
8224513715B326   DORIS             CALDERON                OR     90013661371
82245378A5B183   TEVIN             YOUNG                   AR     90013253780
8224589A69154B   LESLIE            DIAZ                    TX     90007498906
8224598738B154   PHILLIP           KIOA                    UT     31087949873
822462A4A5B153   CRISTINO          PEREZ                   AR     90014392040
82246878772B44   RODOLFO           DOMINGUEZ               CO     90012938787
82247921A72B33   SHARI             PRITCHARD               CO     33049419210
82249499A85936   ANGELA            DOYLE                   KY     90013404990
8224B167272B33   JOHN              MALONEY                 CO     33059691672
8224B416797138   JEANETTE          CARLSON                 OR     44063104167
8224B55818B168   GRACE             ORTEGA                  UT     31078735581
8224B731772B29   ASHLEY            SCOTT                   CO     90000577317
82251168597B3B   DEBORAH           PFLIPSEN                CO     39043661685
82251726172B44   OSVALDO           GOMEZ                   CO     90014467261
8225198465B326   DAMON             HUGHES                  OR     90012349846
82251A36A97B38   ELIZABETH         RAMOS                   CO     39047100360
8225251A55B246   NITA              GOLDSMITH               KY     90010985105
8225269A797B68   DEBORAH           GONZALEZ                CO     33066286907
8225279A897138   ILDA LORENA       CERVANTES ALEJANDRA     OR     90007477908
82252924A51363   GENARRO           LOCKETT                 OH     90004769240
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1142 of 2350


82252934276B65   JUAN         RIVERA                       CA     90014839342
82253357672B29   MARISELA     RUIZ                         CO     90011893576
82253419772B33   ERIC         MARIN                        CO     90011304197
8225342A65B338   THESSA       BATCHELOR                    OR     44543264206
82253A8895B326   ALYSSA       BRYANT                       OR     90010460889
8225436662B271   SANDRA       RODRIGUEZ                    MD     81005013666
8225448AA72B62   ALLEGRA      GONZALES                     CO     90012834800
8225479785B581   AUDRENA      VALDEZ                       NM     90007907978
82254961972B44   AGUILLARD    GUIDOA                       CO     33020159619
82256272A72B29   ELIAS        ROMERO                       CO     33080782720
822562A6277537   JINKEE       RIMON                        NV     90015212062
82256366A72496   PATRICK      HAYDEN                       PA     90013003660
82256776976B68   EFRANIN      ARREDONDO MARTINEZ           CA     90013967769
82256A83976B97   DONNA        VAZQUEZ                      CA     90012030839
8225892A991975   OLGA LIDIA   MURRILLO PEREZ               NC     90013339209
8225895968B163   TONY         MOULTON                      UT     90011159596
82259575272B44   KARLA        HERNANDEZ-RODRIUGEZ          CO     33015125752
8225971939154B   EVER         TORRES                       TX     90013307193
8225988815B326   MARIA        AYALA                        OR     90013798881
8225B191881627   STEFANIE     RUSSELL                      MO     90014111918
8225B374A76B65   ANA          RAMIREZ                      CA     90013813740
8225B4A2A85936   BILL         THOMPSON                     KY     67005414020
8225B593291979   NORMA        DIAZ                         NC     90012125932
8225B83A591979   CHRISTINE    BLOUNT                       NC     90015168305
8225B844297138   HERMINA      DELGADO                      OR     90000658442
8225B889671977   MARISOL      STEWART                      CO     90010928896
8226137678B163   ELTON        JASARA                       UT     90009413767
82261624197B38   ANGIE        WURSTER                      CO     39012956241
82262272472B62   CHRISTPHER   ROMANO                       CO     90007632724
82262299176B97   NICK         ROSCOE                       CA     46018282991
8226251582B256   ANDRE        HEATLEY                      DC     90012925158
8226292398B163   NATALIE      NOBLE                        UT     31019809239
822634AA571977   AMBROSIA     MONTOYA                      CO     90013974005
822636A455B24B   LAIKEN       TERRY                        KY     90015166045
82263A75297B68   HERNANDEZ    LUIS                         CO     90000970752
8226418A36196B   ALONSO       MENDEZ                       CA     90012601803
82264337A97138   CRISTINA     CHAVEZ                       OR     90014823370
82264555272B44   MANTAR       PEDRO                        CO     90012295552
8226456A677537   BRITTANIE    BARTLEY                      NV     90011005606
822646A1641262   TYKE         CIORRA                       PA     90005086016
82264A94676B65   ANA          RESENDIZ                     CA     90007620946
8226532A476B68   RON          THORPE                       CA     90008933204
82265387972B44   ALEXANDER    CARCAMO                      CO     90014123879
8226612475B24B   CRYSTAL      PEDRO                        KY     90014431247
822662A1472B44   JOSHUA       GILDEN                       CO     90011972014
82266AA8672432   JODY         MILLER                       PA     90005660086
822671A3881677   BRINDA       KRIEGER                      MO     90013701038
8226763999154B   ARACELY      PASILLAS                     TX     90011376399
82267652A6194B   MARIO        CERVANTES SERRANO            CA     90013066520
82267691A72B44   JOSEPH       MILNES                       CO     90011456910
82267723A97B3B   MARIA        VALDEZ                       CO     90003867230
8226837768B163   CHRISTIAN    FERNANDEZ                    UT     31017993776
8226878A676B68   TAE          KIM                          CA     90014337806
82268A93285856   TERRY        TAKAHASHI                    CA     46042970932
82268AA875B581   VERONICA     HERNANDEZ                    NM     90012520087
82269157297B3B   DOMNIQUE     MCKEE                        CO     90007361572
8226915A972496   NATASHA      LAW                          PA     90011511509
82269753A41262   RACHAEL      ERMAKOV                      PA     90012547530
8226B312991837   SONDRA       CHERRY                       OK     90015003129
8226B631391525   MARISELA     GUTIERREZ                    TX     90005866313
8226B842A72B44   JASON        BURGER                       CO     33095078420
8226B858497138   DAVID        THEX                         OR     44027718584
8226B897A8B154   WESLEY       DEMPSEY                      UT     90006278970
8226BA11551362   JUSTIN       RUTHERFORD                   OH     90015090115
8226BA57972B33   DANIELLE     MARTINEZ                     CO     90010740579
82271339A91525   SANDRA       BELMONTE                     TX     75003773390
822714A685B338   KIM          MANN                         OR     90006514068
822717A8A8B168   JAMES        DAVIS                        UT     90006587080
82271A98A72432   VALERIE      JONES                        PA     90002710980
8227414935B581   CARMEN       VILLALBA RAMIREZ             NM     35062141493
82274517A5B125   ANNA         KYLE                         AR     23068455170
8227465A961928   LONI         MICHELE                      CA     90014536509
82274869372B44   GABRIELA     PACHECO                      CO     90014108693
822752A576194B   ADELA        ORTEGA                       CA     90012052057
822753A7A5B392   THALIA       RAMIREZ                      OR     90009733070
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1143 of 2350


82275A66241262   BARRY          WOODRUFF                   PA     51036860662
82276218A47822   SANOVIA        CONEY                      GA     90014622180
8227689495B581   CELIA          FRIAS                      NM     35098488949
822773A7372B29   KHALID         ADKINS                     CO     90012663073
8227776425B153   KATHY          SCHRADER                   AR     90006887642
82277836A97B3B   DAVID          DEMPSKY                    CO     90012868360
82277A61484325   MARINA         TRUJILLO                   SC     90005180614
82277AA2477537   GORDON         STEEVE                     NV     90014340024
82278386372B29   SUZANA         ARMIJO                     CO     90008453863
8227849525B326   PABLO          SALINAS                    OR     44553744952
82278893297B38   MONICA         OLIVA                      CO     39094438932
82278A21851362   CHRISTINE      ROBERTS                    OH     90014180218
822798A5871977   ABBY           DOMINGUEZ                  CO     90009388058
82279A45641262   DAVID          DEMBROWSKI JR              PA     90015230456
8227B189A6B398   LESLY          LETOURNEAN                 NH     90013881890
8227B198672B44   LUCIO          SANTIAGO                   CO     90006281986
8227B276651362   TAMARA         PUGH                       OH     66074102766
8227B49A15B326   AURORA         MALDONADO                  OR     90005564901
8227B613133698   TODD           BROWN                      NC     90008786131
8227B638A91979   ELEIA G        ROSALES                    NC     90012056380
8228137675B24B   BERNIE         MAC                        KY     90015343767
8228143A197138   MIGUEL         BERNAL                     OR     44050824301
82281638372B44   MATT           MOLDON                     CO     90012616383
82281688976B97   MICHELLE       LUNCH                      CA     90012786889
8228198797B339   RITA           CHICAS                     VA     90009459879
8228225699154B   ALEXANDER      ALVAREZ                    TX     90010972569
82282515A6194B   PAULA          MEIER                      CA     90011025150
8228266255B24B   AISHA          RHODES                     KY     68022606625
82282838197B38   ALFREDO        ALAMOS                     CO     90009098381
82282948672B62   RAY            MORALES                    CO     33007039486
82283349172B29   JOSE           GALVAN                     CO     90012483491
8228377AA72B33   ZACARIAS       MILLAN                     CO     90005397700
82283991A77537   TAIMALIETANE   PEO                        NV     90014409910
82283A7513B351   HORTENCIA      RAMIREZ                    CO     90008930751
822855A5661928   ROBERT         CLAY                       CA     90011295056
82285712976B97   LAURA          ESPINOZA                   CA     90002027129
8228599A751347   JENNIFER       BRAY                       OH     90002379907
82286113872B62   VICTOR         SALCEDO                    CO     90008241138
8228628585B326   SHWANDA        PIERRE                     OR     44545872858
8228661A38B17B   TINA M         JENKINS                    UT     90009946103
82286623476B65   MANUEL         CEDILLO                    CA     46073596234
822872A1676B65   DARLENE        RIVAS                      CA     90004712016
82287628672B33   PEREZ          SANTOS                     CO     90001876286
82287897376B97   ANTONIO        ARANGO                     CA     46079728973
8228792944B22B   SCOTT          NEWELL                     IA     27018469294
8228814679154B   ROBERT         WERNER                     TX     75060041467
8228818954B22B   ANGEL          CONTRERAS                  NE     90004291895
822894A7197B38   HUNTER         BUFFINGTON                 CO     39079184071
82289549397B68   KENAN          GREGG                      CO     90002145493
82289643972B44   NICOLE         FARROW                     CO     90009926439
822897A415B139   LASHONDA       WILSON                     AR     90006407041
822899A5157126   MARCO          RUSSO                      VA     90014009051
8228B1A395B183   DONNIE         BAILEY                     AR     90013721039
8228B354671977   ESPERANZA      GARCIA                     CO     38042283546
8228B434A41262   EBONE          GUNN                       PA     90011304340
8228B522372B62   DECHEE         PARKER                     CO     33031585223
8228B778172B29   HARRY          MELLON                     CO     90002747781
8228B95874B22B   GILBERTO       REYES                      NE     90013329587
8228B959931489   DOUGLAS        BOUCK                      MO     90013879599
8228B9A975B921   SAMUEL         FORDAHL                    ID     90011649097
82291366776B68   HAROLD         WILLIAMS                   CA     90004123667
822915A4A72B33   TERESA         GONZALEZ TRINIDAD          CO     33030325040
8229164878B154   EVA            MARTINEZ                   UT     90013756487
82292119472B44   JENNY          NGAN                       CO     90013771194
82292339A77537   NICOLE         MARIE DAY                  NV     43094743390
82292911772B33   SAMUEL         HENRY JR                   CO     33054089117
82292A89691975   DANIELLE       GIRARD                     NC     90008910896
8229348189154B   JAVIER         NINO                       TX     75029304818
82293713A91837   PAUL           CHITTUM                    OK     90014197130
82293A16372496   PAYGO          IVR ACTIVATION             PA     90013830163
8229442138B163   MICHELLE       LADALE                     UT     90011354213
82294477A7192B   MARY           MEDINA                     CO     32049134770
822945A1677537   GUADALUPE      ENRIQUEZ                   NV     90007715016
82294A55372B44   BEATRICE       PADILLA                    CO     90015150553
8229539256194B   STEVEN         HOLLINGSWORTH              CA     90015113925
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1144 of 2350


82295595672B29   MICHAEL          BYRNE                    CO     33097785956
8229613A39154B   GABRIEL          BAEZ                     TX     90011181303
82296944897B68   EDGAR            GARCIA                   CO     90013949448
82297128472B44   ANGEL            OROZCO                   CO     90013771284
82297937A81627   SHARICE          WILLIAMS                 MO     90012919370
82298137797B38   LISA             GRANADOS                 CO     90010131377
8229864436194B   CORETTA          BUCKLEY                  CA     90001156443
82298654A91975   SERETHA          HAYWOOD                  NC     90012876540
82298887872B29   MARIA            BURGOS                   CO     90007458878
82299441A5B183   WILLIAM          CLINTON                  AR     90014964410
8229952813B358   ALEXANDER        KESLER                   CO     33004705281
82299546572B62   JANENE           GARCIA                   CO     90005025465
82299976676B65   SANTOS           HERNANDEZ                CA     90012519766
8229B255A71977   TIFFANY          SMITH                    CO     90002542550
8229B258172432   HOLLY            HARTER                   PA     90008132581
8229B43129154B   SARAH            HAMMONDS                 TX     90014164312
8229B4A4772432   HOLLY            HARTER                   PA     90013614047
8229B77415B581   TANYA            VIGIL                    NM     90009747741
8229B818847822   RANDY            LEWIS                    GA     90014638188
8229BA96285936   MARK             GLAZE                    KY     90014580962
822B1111297B3B   DOMINIC          CORDOVA                  CO     90013981112
822B1578776B97   JORGE            CAZAREZ                  CA     90012865787
822B1695861928   RENE             AVILEZ                   CA     90003406958
822B1733491975   IRIS             RODRIGUEZ                NC     90014507334
822B19A8672B44   ORLANDO          ANGLADA                  CO     33096989086
822B237739154B   CARLOS ARMANDO   SAUCEDO                  TX     90014163773
822B2627476B68   MARY             LIMPIN                   CA     90014826274
822B2663772432   WILEY            PHILLIPS                 PA     90010776637
822B286A133698   ANGELA           CRAWFORD                 NC     90004948601
822B2A55191837   JAKE             ADAMS                    OK     90013540551
822B322789154B   JUAN             MALDONADO                TX     90008172278
822B3315A44348   RICHARD          BROWN                    MD     90007033150
822B3319972496   CHRISTINE        CAHALL                   PA     51029773199
822B362148B168   JOSHUA           WEBB                     UT     90010376214
822B396275B183   SHANNON          DUMAS                    AR     90009809627
822B4557372B62   EULIZER          RAMOS                    CO     33068225573
822B4842791979   KEITH            WILLIAMS                 NC     90000638427
822B496618B154   SHELLIE          BARTON                   UT     90015129661
822B4977351362   BRANDY           MOTZ                     OH     90014769773
822B4A36597B68   ROSEMARY         SLIVKA                   CO     90001300365
822B5186497B68   JIMMY            ALVARADO                 CO     90009651864
822B5189981627   KILA             JACKSON                  MO     90014151899
822B5233351362   MARY             UPSHAW                   OH     90011692333
822B545A777537   GEORGINA         CASTRO                   NV     43011144507
822B5551472B29   MARTHA           VASQUEZ                  CO     90013055514
822B557A44B967   JOSHUA           DOURESSEAU               TX     76508405704
822B5AA1A5B24B   CRAIG            SMITH                    KY     90010710010
822B6117981627   KISHA            HINSON                   KS     90013221179
822B6217A72432   ERIC             COOKSEY                  PA     90013992170
822B622784B22B   MARIA            GUADALUPE                NE     90010582278
822B647294B22B   WILLIAM          SUTTON                   NE     90011214729
822B6497572B44   RICHARD          SANCHEZ                  CO     90000314975
822B6849941262   LEON             JONES                    PA     90014008499
822B7198197B3B   LINO             GUERRERO                 CO     39058411981
822B723888B163   MARCOS           ESPINOZA                 UT     90015202388
822B7334347822   EDNA             COLEY                    GA     14089813343
822B7345A8B154   REBECCA          COLLEEN                  UT     90011003450
822B7392397B38   MONICA           GONZALES                 CO     90013183923
822B7416176B65   LAURA            DIAZ                     CA     46007954161
822B751148B163   THOMAS           BOYD                     UT     90012615114
822B7597997138   REBECCA          VANTINE                  OR     90008885979
822B7688872B44   KEMBERLY         TAYLOR                   CO     33085526888
822B7897176B68   OMAR             ALCALA                   CA     46037628971
822B791888B163   THOMAS           BOYD                     UT     90013769188
822B8212872B33   CHRISTINE        SUPPES                   CO     90000282128
822B8238391975   TRENSET          ROSE                     NC     90014852383
822B8453897B38   JESSIE           AGUILAR                  CO     90014834538
822B859385B326   KAYLA            RUECKERT                 OR     90014645938
822B863739154B   MARIA            CARDOZA                  TX     75072896373
822B8A45676B68   CRYSTAL          GONZALEZ                 CA     90013740456
822B9164872496   DIANE            MCFEATHERS               PA     51090771648
822B93A614B22B   CARLOS           SUM BATRES               NE     90012183061
822B95A165B183   CYNTHIA          LOVETT                   AR     23071465016
822B9624A47822   ARMESTRESS       REESE                    GA     90007996240
822B9721A5B921   AUSTIN           EANLY                    WA     90015567210
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1145 of 2350


822B9789A72B62   LESLIE        VELAZQUEZ-HERNANDEZ         CO     90008947890
822B9923472432   PAMELA J      DENNY                       PA     90014609234
822B996A972B33   MICHAEL       DEARBORN                    CO     90007539609
822B9AA6676B68   JERRY         LUCERO                      CA     90002080066
822BBA4A376B97   JOSHUA        RHODES                      CA     46024090403
822BBA68791837   STEPHANIE     ROBERSON                    OK     21028390687
82311217744B22   DANIEL        EVANS                       OH     90014592177
82312427A33698   MARTIN        KHAMALA                     NC     12075304270
823125A3693771   TAMARA        YOUNG                       OH     90014885036
82312753797B3B   DEBORAH L     BURDICK                     CO     90011477537
8231288915B326   WENDY         SCHOBER                     OR     90003048891
82312A33781627   MARY          CAVANUGH                    MO     90014700337
8231326214B583   WILLAIM       RICKET                      OK     90011512621
82313515A72432   RENAY         CATLIN                      PA     51046585150
82313A41785936   BRYANT        STIVERS                     KY     67002470417
82314155576B65   SANDRA        RINCON                      CA     90008161555
82314216772B29   CRYSTAL       DURAN                       CO     90006662167
8231442922B256   ROBERTO       RAMIREZ                     DC     90000234292
82315257976B68   LINDA         WREN                        CA     90011052579
82316854297B38   LAURA         HERNANDEZ                   CO     90013218542
8231713719154B   EARLE         BENAVIDES                   TX     75074071371
82317689572B62   ALEJANDRA     ZAPATA                      CO     90015136895
82317963697B38   RAINA         MARCELLANO                  CO     90004539636
8231831A971977   CHRISTOPHER   SIMPSON                     CO     90014173109
8231931138B154   DYLAN         GOELZ                       UT     90008963113
8231935A961928   ALANNA        SAENZ                       CA     90011503509
8231B411672B33   JERIKA        ROMERO                      CO     90011304116
8231B65718B154   MICHAEL       LAMBROSE                    UT     90008066571
8231B66685B581   LAURA         HERRERA                     NM     35098866668
82321129372B44   JESUS         ACEVEDO                     CO     90013771293
823211A528B163   SUSIE         THOMAS                      UT     90013241052
8232143729154B   JOSE          PEREZ                       NM     90014164372
8232153445B139   ELIZABETH     PINA                        AR     90005135344
8232164448B154   CHALISE       PRICE                       UT     31004536444
82321676A85936   MIKE          SHAMIEH                     KY     90014856760
8232212418B154   JEWEL         STORER                      UT     90002201241
823223A2591975   FARHAN        MOHAMND                     NC     90012383025
8232243A876B97   MAYA          MARTIN                      CA     46004244308
8232256A65B153   RICHARD       DUDSON                      AR     90015055606
8232282828B163   KENNON        LEE                         UT     90013358282
82322854A31621   TONYA         OQUINN                      KS     22083128540
82323292497B3B   LEIGH         CURTIS                      CO     39079442924
8232355963B335   DAVID         ADAMSON                     CO     90008665596
823239A889154B   ARTURO        GONZALEZ                    NM     90009559088
823239AA171977   KEVIN         TRUJILLO                    CO     90013119001
823244A4291837   GAYLE         DEVEREAUX                   OK     90010634042
82324649376B65   MARIANA       SOLIS                       CA     90014196493
8232485889154B   EMILIE        HERNANDEZ                   TX     90011118588
823249A7472B62   JULIO         TIS CARENO                  CO     90009399074
82324A9A471977   CHRISTOPHER   CLEMENTS                    CO     90010640904
823253A229123B   MYRTIS        BRAXTON                     GA     90012363022
82325A81A97B68   ERIC          BRIONES                     CO     90014880810
8232622A272B62   KYRA          TAYLOR                      CO     90014292202
82326819476B68   ISABELLA      LAIUN                       CA     46032048194
82326A32272496   DAVID         RONALD                      PA     90014770322
8232725725B326   GORDON        GEORGE                      OR     44578672572
82327554A4B22B   LISA          LANPHEAR                    IA     90011215540
823284A1997B38   LAUREN        AIELLO                      CO     39065504019
82328534572B33   ALLYSON       SCOTT                       CO     90014045345
8232863A651362   CHRISTEN      RATLIFF                     OH     66023986306
823288A618B154   CHRIS         COXX                        UT     90006228061
82329191A8B154   JUGO          ALBARADO                    UT     90008401910
823297A1A76B68   BRETT         DOYLE                       CA     90013297010
823298A6533698   TERRI         BERKS-MCCORKLE              NC     90010878065
8232992AA8B163   SHANE         PARRAMORE                   UT     90012829200
823299A9381677   DANIEL        SALAMANCA GONZALEZ          MO     90015179093
8232B159641275   ALBERTA       AYERS                       PA     51083911596
8232B217A72B62   MARIQUA       YOUNG                       CO     90014292170
8232B22764B22B   MEGAN         DOWNES                      NE     90012172276
8232B87A577537   JOSE          RODARTE-FLORES              NV     90012668705
8233184585B338   RAFAEL        GALVAN GARCIA               OR     44515308458
82331A88861921   ANTONIA       ESTRADA                     CA     90014140888
8233243719154B   JOSE          ROMERO                      TX     75067444371
8233293745B153   KAYLA         BANKS                       AR     90014669374
8233384A497B68   ISIAH         VIGIL                       CO     33088578404
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1146 of 2350


823338AAA97B3B   MARTIN       SALAYANDIA-NORMAN            CO     90012128000
823339A1572432   LAUREN       LARIMER                      PA     90011519015
82333A82551531   JOSEPH       GREEN                        IA     90014520825
82334247A77537   JESSICA      HERRERA-TENA                 NV     90011572470
8233444A29154B   EVA          FLORES                       TX     90014164402
8233492A97732B   FREDERICK    WASHINGTON                   IL     90012939209
82335121376B68   CATHERINE    D'ANGELO                     CA     46067931213
8233519868B154   STEPHANIE    DAVIS                        UT     90014021986
8233535A15B153   SKYE         SAPPER                       AR     90014713501
823355A335B24B   JUSTIN       CLARK                        KY     90010865033
82335765A47897   KIM          PALAT                        GA     14093047650
82335A2A672B44   JESSICA      PANUCO                       CO     33078240206
82336423372B62   MARIO        GUTIERREZ                    CO     33007024233
82336649176B68   REYNEL       SALGADO                      CA     90010456491
82336712A85856   RICCARDO     BELTRAMO                     CA     90015187120
8233788815B326   JANISHA      FORD                         OR     90014658881
82338548172B44   VALENTINO    GONZALES                     CO     90011285481
8233915645B24B   RICKY        COX                          KY     90014961564
82339646476B97   RICHARD      CARTAR                       CA     90012316464
82339731372B44   PHILLIP      YOUNG                        CO     90005827313
823398A7351362   LAURA        RAMIREZ                      OH     90011538073
8233B39489154B   JOSE         CABRAL                       TX     75049723948
8234112285B183   ANDREA       RAIGANS                      AR     90009951228
823411A9977537   TALANOA      PANUVE                       NV     90014231099
8234299755B24B   JUNE         MASON                        KY     90014679975
82342A51891979   ASELA        MORALES LUCAS                NC     90014810518
82342A5615B338   KEVIN        BROWN                        OR     44550970561
8234344359154B   JOSE         GONZALEZ                     TX     90014164435
8234354435B326   BERTHA       ARELLANO                     OR     44541615443
8234359245B183   EDGAR        VILLAFUERTE                  AR     90014355924
82344393472B44   ALLEN        RISTEA                       CO     90014123934
82344669576B65   MARIO        ALEJANDRE                    CA     90013786695
8234468495B326   RYAN         DEATHERAGE                   OR     90015246849
8234487694B22B   BRANDI       SMITH                        NE     90006698769
82344A37197B38   HEATHER      LOWELL                       CO     90003150371
8234545699154B   SAM          VAQUEZ                       TX     90008474569
8234676712B271   LOMINA       BALAWA                       DC     90000327671
8234679A972B29   YESENIA      ENRIQUEZ                     CO     90012847909
82346A28776B68   NICASIO      SOSMENA                      CA     90014550287
82346A34A8B163   ROSA         REYES                        UT     31098900340
82347271997B56   ANDREW       WISEMAN                      CO     90014232719
82347295997B3B   SANTIAGO     COREAS PERDOMO               CO     90014172959
8234734842B253   DONTAE       WEEKLY                       DC     90004793484
8234776378B168   NATALIE      CALDER                       UT     90003217637
8234818596194B   MONICA       LOPEZ                        CA     90010641859
823487A1133698   GINA         BREWER                       NC     90007467011
8234892525B183   EVA          PRADO                        AR     23067679252
82349253572B33   CHARLIE      HOWARD                       CO     90012362535
8234975845B581   ROZIDA       CALABAZA                     NM     90013867584
82349791297B3B   WENDY        ALPS                         CO     39090487912
82349A18576B97   RAMONA       DUBLEY                       CA     90003830185
82349A94251598   MUJO         JUSIC                        IA     90014260942
8234B2A7A2B271   SARAH        BROADY                       DC     81022802070
8234BA59793771   PAUL         TURVENE                      OH     90013960597
8235116212B271   TIANA        WILLIAMS                     DC     90003041621
8235136928B163   RAUL         BUSTAMANTE                   UT     90013393692
823513A412B256   NICOLE       SHELTON                      DC     81014263041
82351734372B44   ERIK         TORRES                       CO     90014467343
82351937672B62   GUILLERMO    DOMINGUEZ                    CO     90000799376
8235242A676B65   JUAN         GOMEZ                        CA     90014904206
8235247165B19B   JENNIFER     TORRADO                      AR     90011134716
8235284289154B   FRANCIZCO    LOZANO                       TX     90007428428
82354111297B3B   DOMINIC      CORDOVA                      CO     90013981112
823551A679154B   NATALIE      GUTIERREZ                    TX     90012691067
82355489772B29   MARIA        GRANADOS                     CO     33097824897
8235563A741275   STEPHANIE    HILLIARD                     PA     51093356307
8235595A285936   KENNETH      WEEKLY                       KY     90012169502
82355A6A997B3B   JULIO        SANCHEZ                      CO     39052140609
823561A4872B33   YVONNE       ITURRALDE                    CO     90012421048
823564A5891837   YVONNE       GILKEY                       OK     90002744058
82356583472B29   ESHY         LOVE                         CO     90015025834
823566AA671977   EMILY        HILL                         CO     90014726006
8235699334B933   LISA         RANDOLPH                     TX     90012719933
82356A83472B44   BILL         HAAG                         CO     90013230834
82356AA5276B65   PATRICK      VALENZUELA                   CA     90013110052
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1147 of 2350


823572A7361928   CAPPIE       BROOKS                       CA     90010392073
82357972772B44   JESSICA      GUERRERO                     CO     33011859727
82357A78181627   BENITO       MORALES                      MO     29052230781
8235814295B153   DONNA        CHAMBERS                     MO     90011071429
8235855834B967   ENRIQUE      LOVERA                       TX     76593775583
8235B468871977   KELLI        WILLIAMS                     CO     38083084688
8235B49725B326   LETICIA      AMADOR                       OR     44522424972
8235B51125B326   BRANDALYN    MYRICK                       OR     90014835112
8235B574471956   GABRIEL      RIVERA                       CO     90010355744
8235B734172432   HENRY        LACKS                        PA     90013047341
8235B75A247897   JORDANA      MOSS                         GA     90010947502
8235B796A5B581   PABLO        LUEVANO                      NM     90010197960
8235B89185B326   PAYGO        IVR ACTIVATION               OR     90014658918
82361471797B68   ROSA         LOPEZ                        CO     90001934717
8236153A631449   VERONICA     MATOS QUINONES               MO     90011735306
82361555A72432   OCEAN        ORSKY                        PA     90014465550
82361618772B29   BRENDA       AVILA                        CO     90010236187
82361A26872B44   EMILIO       MORALES ZAVALA               CO     90013200268
82361A96A72B33   JENNIFER     CURTIS                       CO     33029650960
82362262A97138   AURALIA      TORREZ                       OR     90013062620
8236227638B154   WILLIAM      COOK                         UT     90002282763
8236261A45B24B   MARIA        RODRIGUEZ-CALDERON           KY     90013866104
8236291832B256   VICTOR       ESCOBAR                      DC     90000239183
8236321456194B   ARTURO       BARAJAS                      CA     90010102145
82363328876B97   MIGUEL       DELA CRUZ                    CA     46015063288
8236436AA41262   GENA         WELLS                        PA     90010183600
82364811976B97   PERLA        PEREZ                        CA     90007938119
82364A15976B68   JENNIFER     CHINDLUND                    CA     46024890159
82365165453B82   SYLEIE       ABREGO                       CA     90014651654
8236519868B154   STEPHANIE    DAVIS                        UT     90014021986
82365337A72B29   SCALABRINI   JOE                          CO     33088733370
8236641615B183   ROY          RICHARD                      AR     23011904161
8236748654B561   JEFF         DRAUGHON                     OK     90013574865
82367691A72B44   MIN          KA                           CO     90013506910
8236784215B24B   YOLANDA      LOGAN                        KY     90007528421
8236847A772B29   MARIA        GARICA                       CO     33080254707
82368739197B38   RYAN         DEAN                         CO     39090847391
82369159376B97   PETRA        ALVARADO                     CA     90012991593
82369163576B68   NAZARIO      GIRON                        CA     46002181635
8236926885B581   JAIME        CERVANTES                    NM     90013602688
82369346776B65   SORAYA       SANCHEZ                      CA     90010763467
8236938655597B   EVA          POOLE                        CA     49009073865
82369816297B38   PATRICIA     GARZA                        CO     39030538162
8236B24336194B   AARON        NOWLAN                       CA     90011872433
8236B36235B24B   CHERYL       JAGGERS                      KY     90007643623
8236B61286194B   MARIA        MOSQUEDA                     CA     90013406128
8236B849597B68   HIDALIA      SALINAS                      CO     90013268495
82371133297B38   MARIA        VASQUEZ                      CO     90002291332
82371693A81677   DARRELL      WENDLETON                    MO     90013086930
82371841972B29   DANNY        GARZA                        CO     90011308419
82372451272B44   KENT         WILLIAMS                     CO     90002874512
82372AA6872B29   MOISES       TORRES                       CO     33017070068
82373121772B44   DELILIAH     MARTINEZ                     CO     90014771217
8237316A872B44   REBECCA      TODHUNTER                    CO     90014801608
823731A8297B68   MARIA        GARCIA                       CO     33020611082
8237323428B163   ARACELI      LOPEZ                        UT     90013832342
82373336A77537   JUAN         DIAZ                         NV     90005613360
82373511597B38   JOE          ESPINOZA                     CO     90013395115
8237386415B183   BRENDA       NASH                         AR     90013878641
8237389A247822   MONCELLA     MOORE                        GA     90015338902
82374518372B29   JOEL         GARCIA                       CO     90010695183
823748A8491837   LINDSEY      HINTON                       OK     90014038084
823749A9876B97   JAMINE       SMITH                        CA     90011109098
8237511A75B183   SONYA        WOMACK                       AR     23005831107
8237524138B154   LINDA        RIDDLE                       UT     31054102413
82375259776B68   HENRY        DANIEL ZAMORA                CA     46059502597
8237615A693137   CHARLENE     ALVES                        TN     90015001506
82376338497B38   DAVID        GARCIA                       CO     90008893384
8237639164B556   ASHLEY       JACKSON                      OK     90011633916
82376727872B33   JOAQUIN      FRANCO                       CO     90012337278
8237683395B326   ERIC         PLEGER                       OR     44517798339
823768A483B335   DAN          TUBBESING                    CO     90010968048
82377442176B68   ERIC         GONZALES                     CA     46006394421
82377745797B3B   RITA         HERMOSILLO                   CO     39060847457
82377AA715B24B   PATRICK      WEBSTER                      KY     90014830071
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1148 of 2350


823784A3797138   TANZY         HOLLINGSWORTH               OR     44040614037
8237891A597B3B   DESIRAEH      HOWELL                      CO     39049649105
8237932A65B24B   ORAYODA       LLORENTE                    KY     90014553206
8237935679154B   GILBERT       MENDOZA                     TX     75025873567
8237948535B24B   STANLEY       ALMON                       KY     68005634853
82379528472B29   PRICILLA      CHEESEBORO                  CO     33042265284
8237988923B359   AIRPARK       VILLAGE                     CO     33017538892
8237B255697B3B   EDITH         CONTRERAS                   CO     90012122556
8237B49A993771   DAVID         FRAZIER                     OH     64506084909
8237B638A41262   JOHN          GRIFFIN                     PA     51025776380
8238124585B183   ANDRE         AMOS                        AR     90000652458
82381362276B65   DENISE A      MCTIZIC                     CA     90003703622
8238181575599B   KATHY         WEISMAN                     CA     90001638157
8238194A847822   EMMA          JOHNSON                     GA     90011529408
82381951176B68   LAWRENCE      KESSLIN                     CA     90014589511
82382766A8B163   JENNIFER      FREDRICKSON                 UT     90013097660
823828A9861928   JESSICA       GILLETTE                    CA     90005508098
8238296A69154B   EDUARDO       MIRANDA                     TX     75085909606
823831A8177537   TONI          RAMOS                       NV     43013081081
8238323278B154   EARL          CLINE                       UT     90000882327
8238356748B166   ALVARO        MARTINEZ                    UT     90001345674
8238369A476B65   CHRISTOPHER   LEON                        CA     90013646904
8238399672B271   CASSANDRA     FEWELL                      DC     90005689967
82383A48181627   MERCED        SERRATO                     MO     90013550481
8238424616199B   JUAN          COVARRUBIAS                 CA     46006942461
82384294997B3B   ELIZABETH     SALAZAR                     CO     90008772949
82384358472B44   ROBERT        TRUJILLO                    CO     90000783584
82384819876B65   GREGORY       SCHNIEIDER                  CA     90012888198
8238486178B163   GABRIEL       VALLADARES                  UT     90004298617
82384A1A35B153   RICHARD       G GINDER                    AR     90010070103
8238546249154B   ROSA          SOLIS                       TX     90014164624
82385965376B97   JUANA         MEDINA                      CA     90014889653
82386232597B3B   DIANE         TROJAHN                     CO     90013042325
82386297A81627   CHRISTOPHER   CHONG                       MO     90012952970
8238685645B153   SHAHEED       BLAKELY                     AR     90014598564
82387524676B68   GUIDO         CORTE                       CA     90013005246
8238777597B339   KAREN         DELGADO                     VA     90013297759
82388327997B38   SHANIAH       COOKLIN                     CO     90013093279
82388568672B44   BREANN        HENNIG                      CO     90012295686
82389678772B62   GREGORIO      LOPEZ                       CO     33020216787
8238B11439154B   BLANCA        VILLA                       TX     75044051143
8238B3A749154B   ILIANA        HOLGUIN                     TX     90008423074
8238B54788B154   MONICA        VISSER                      UT     90004045478
8238B86585B153   RENE          HIDALGO                     AR     90012998658
8239136797B339   XIOMARA       GONZALEZ                    VA     90013693679
8239165A68B154   MARIA         MIRANDA                     UT     31022406506
82391929172B29   RICARDO       ALVARENGA                   CO     33005769291
8239213115B581   JOESPH        VASQUEZ                     NM     90014401311
8239214645B153   LARRY         JOHNSON                     AR     90012761464
823921A365B183   JIMMIE        BURGESS                     AR     90013931036
8239253A272432   DENISE        WESTER                      PA     90008055302
82392549397B3B   MARIANA       MARTA                       CO     90012135493
82392A56A9154B   YESENIA       OCHOA                       TX     90013160560
8239311A361928   LIDIA         SAMANO                      CA     90014851103
8239327935B24B   ROBERT        HENSLEY                     KY     90014152793
82393514A5B326   CRYSTAL       PURIFOY                     OR     90003535140
8239578255B139   ORA           OLIVER                      AR     23056737825
82396292972B62   MICHAEL       PARKER                      CO     33063982929
823967A825B153   RUSSELL       GRAY                        AR     23010827082
823968A6184325   MARGARITA     TEXTLE                      SC     14594648061
8239694A751577   KARA          KRUSE                       IA     90013239407
82396A4318B154   TONDRA        DURAN                       UT     31006650431
8239722529154B   JOHANNA       MENDOZA                     TX     90015162252
8239783765B581   CESAR         HERNANDEZ                   NM     90008678376
82397A35276B97   JASMINE       GONZALEZ                    CA     90013600352
8239826765B183   LASHANNON     ABRAHAM                     AR     23077232676
8239838855B581   JOSEPH        LUERAS                      NM     90010293885
8239839475B581   SILVIA        GONZALES                    NM     90005773947
82398479976B68   SETH          REPKE                       CA     46040504799
82398A2A291242   SHAQUITA      LEE                         GA     90011050202
8239936A241275   SHAWNDAA      BOWEERS                     PA     90012833602
8239943A372B29   BRANDON       CORTEZ                      CO     90014934303
82399531697B38   AGUSTINA      MASCARENAS                  CO     90009075316
82399A4125B24B   SHERYL        HOLLINGSWORTH               KY     90013890412
8239B184585856   SAMANTHA      PERRY                       CA     90011131845
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1149 of 2350


8239B185A51362   LESLEY        SMITH                       OH     90014181850
8239B24A85B338   DESIREE       MASSEY                      OR     90011942408
8239B258185936   BENITA        DAWSON                      KY     90013892581
8239B295233698   JOY           PINNIX                      NC     90005342952
8239B33569154B   JUAN          HERNANDEZ                   TX     90014313356
8239B92734B22B   SHAWN         MAHER                       NE     27078119273
8239B988161928   HYO JIN       SON                         CA     46000129881
823B1238172432   DENNIS        ALEXY                       PA     90004552381
823B1441797B38   JESSICA       WILLIAMS                    CO     90009344417
823B1448A33698   BRYAN         NELSON                      NC     12012404480
823B16A938B154   MATTHEW       BUTTERFIELD                 UT     90014146093
823B1A51851362   GERARDO       RODRIGUEZ                   OH     90014180518
823B1A8655B24B   WILLIAM       BROWN                       KY     90014930865
823B2245197B68   AIOTEST1      DONOTUSE                    CO     90015122451
823B243A872496   TYRA R        MASON                       PA     90008544308
823B248A572B62   RICHARD       WINTHERS                    CO     33060504805
823B2671872B29   KIA           GRIFFIN                     CO     90014726718
823B2694681677   PAYGO         IVR ACTIVATION              MO     90006086946
823B3245197B68   AIOTEST1      DONOTUSE                    CO     90015122451
823B324915B581   ISRAEL        GRANILLO                    NM     90009662491
823B3717A41262   JEREMY        KALBAUGH                    PA     90015097170
823B393165B326   CLARISSA      TILLER                      OR     90013189316
823B4656193771   JOSEPH        NGOH                        OH     64587496561
823B488168B163   CHARITY       PARKER                      UT     90014628816
823B488865B581   IRENE         MENDOZA                     NM     90010958886
823B4A36885936   DOMINIQUE     ANDREW                      KY     90012670368
823B5293561928   SONYA         CRUZ                        CA     90009042935
823B5388581677   ANGELA        NICHOLS                     MO     90012573885
823B5511191975   BRANDY        MCINTYRE                    NC     90007335111
823B55A9691525   AARON         RODARTE                     TX     75052565096
823B566672B256   NAKIA         BROOKS                      DC     90000236667
823B5696272B29   FELISE        HENDERSON                   CO     33063336962
823B61A1661928   AMANDA        HOBER                       CA     90014721016
823B7373691979   TONY          GRAY                        NC     17025373736
823B758A985856   BILLY         HARRIS                      CA     90013055809
823B7591897B68   ANDREW        WISEMAN                     CO     90014325918
823B7765672432   DARCIE        WORK                        PA     51026427656
823B7833885936   LESLIE        CHAMBERS                    KY     67031288338
823B7995672B44   ANGELICA      OLVERA                      CO     90013349956
823B7A9567B464   JESSICA       JORDAN                      NC     90015440956
823B823115B326   MARIA         ARCIGA                      OR     44516592311
823B8496951362   ANGELA        CLIFTON                     OH     90011084969
823B929A55B326   SHANNON       KISBEY                      OR     90001672905
823B9653276B65   MARIA         ROJAS                       CA     90010726532
823B9728651362   WILL          NELSON                      OH     90009507286
823B9A18291975   LETITIA       BYNUM                       NC     90008400182
823B9A37A5B581   SARAH         RUDOLPH                     NM     90014850370
823B9A86976B65   DANIELLE      DENNIS                      CA     90010490869
823BB9A5851362   DACIEN        LEWIS                       OH     90015379058
823BBA55772432   STEPHANIE     RICHTER                     PA     90008870557
8241111975B326   PR            PRO                         OR     44517201197
8241193562B965   MARIA         NUNEZ                       CA     90007489356
824123A864B22B   DANIELLE      KYLE                        NE     90013343086
8241292849154B   DOLORES       OCHOA                       TX     90005169284
8241299A691837   JACQUELINE    MOFFETT                     OK     21072039906
8241374423B388   MICHELE       ALLYN                       CO     90001787442
82414492172B62   JAVIER        LOPEZ                       CO     33080094921
82414631A81627   LUCIANO       GARCIA                      MO     90013306310
8241467444B22B   DARIO         MENDOZA                     NE     27015676744
824147A6761928   MIGUEL A      ACOSTA                      CA     90014827067
824148A325B153   SUSAN         COOK                        AR     23042478032
8241538A597B38   REBECCA       BRANNAN                     CO     90015233805
82415591972B62   AILEEN        TREVIZO                     CO     90014555919
8241584555B183   CHRISTOPHER   DEDMAN                      AR     90009588455
8241585915B581   ARACELI       TORRES-CHAVEZ               NM     35057168591
8241641925B24B   WHITNEY       SIMSON                      KY     90014724192
82416747897B38   DARCE         KOZISEK                     CO     39087047478
82416A53451362   EBONY         GATES                       OH     90012830534
8241744216194B   ORLANDO       SAQUIN                      CA     46083374421
82418127672B44   ESHELMAN      KYLE                        CO     33026401276
8241846A15B581   JESUS         DOMINGUEZ                   NM     90003804601
82418A27172B33   ROSALINDA     GOMEZ                       CO     90009630271
824192A2772432   JODEE         MITCHELL                    PA     90011462027
824195A159154B   AMY           BABCOCK                     TX     90014165015
82419AAA572B33   CHRISTOPHER   MICELI                      CO     90012820005
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1150 of 2350


8241B399A97138   LEANNA          SMITH                     OR     90012463990
8241B712361928   ANTONIO         FRANCO                    CA     46037367123
8241B745585856   MARC            MERCER                    CA     46057807455
8241BA74177537   MICHAEL         SMITH                     NV     43087380741
8242142623B389   SETH            CHAPMAN                   CO     33001164262
82422336372B29   KESHAWNAH       TAYLOR                    CO     90006833363
8242236238B154   CLARASUSAN      MOREY II                  UT     31005563623
82422A7365B326   NOE             CAMARGO                   OR     90014660736
824231A7891975   ANDREA          GAYE CHAMP                NC     17056171078
8242464654B524   JANICE          KELLEY                    OK     90010376465
8242476569154B   DARLEEN         RODRIGUEZ                 TX     90014177656
82424963697B38   RAINA           MARCELLANO                CO     90004539636
824249A525B581   JULISA          VILLA                     NM     90010959052
8242535378B154   ROSEMARY        SIMS                      UT     90011383537
82425374372B33   AMANDA          MONTES                    CO     90005953743
8242542A56194B   ROBERTO         SUAREZ                    CA     90000224205
82425742A76B65   PORFIRIO        PEREZ                     CA     90013517420
82426311A81677   DONALD          ADAMSON                   MO     90012093110
82426437172B62   REBECCA         WEST                      CO     33096934371
8242659235B581   DEBBIE          LUCERO                    NM     35074815923
82426673676B65   DONNA           DANIEL                    CA     90011946736
8242672A261928   SCOTT           MCGONAGLE                 CA     90013397202
8242716535B24B   APRIL           REID                      KY     68068441653
824271A7171977   ROSALIE         MARTINEZ                  CO     90003071071
82427475A6194B   ISELA           CONTRERAS                 CA     90013744750
82427A4A885936   YOLANDA         MCCREE                    KY     90014700408
82428726397B68   LUIS            AGUILERA                  CO     90014187263
82428A81633698   KRISTIE         RICE                      NC     90013490816
82428A89A91837   JANETTE         BIRMINGHAM                OK     90014700890
8242911A361928   LIDIA           SAMANO                    CA     90014851103
82429546997B3B   MICHAEL         MARTINEZ                  CO     90014865469
8242B569972B44   WHONE           JOHNSON                   CO     90012295699
8242BA78677537   JERRY           WOOD                      NV     43095210786
8243113252B271   ISAIAH          BROOKS                    VA     90000881325
824312A5691975   ANGEL           RIVIERA                   NC     17072552056
82431785A72B29   EMILY           SPECTOR                   CO     90014157850
8243192A776B65   ERIKA           EUSEBIO                   CA     90011949207
82431A38741275   ERNEST          THOMAS                    PA     51077540387
82432178172B62   VICTOR MANUEL   GUZMAN LEMUS              CO     90015161781
8243298664B22B   SUSANA          MENJIVAR                  IA     90011319866
82433479A97138   VIRGINIA        FALCON                    OR     90002984790
8243363265B581   SHAWN           WILLIAMS                  NM     35055966326
82433A3A272B44   AUSTIN          RALPH                     CO     33081940302
82433A47A5B338   OLVERA          KAREN                     OR     90009650470
8243443935B24B   DARNELL         WORKMAN                   KY     90013154393
82434653A81677   TEDDY           BURNETT                   MO     90014516530
824346A1185856   LULU            ALFARO                    CA     90007296011
824348AA872B62   MARIE           FORBES                    CO     90009578008
82434A2185B271   RAYMOND         BONCZKOWSKI               KY     90012850218
82434A5395B581   SHAUN           CALABAZA                  NM     90014200539
8243535A597B3B   JAIME           MEZA                      CO     39063653505
82435466676B51   ANGELA          MILLER                    CA     90008644666
8243573347247B   CHRIS           COCHRAN                   PA     51076817334
8243588175B581   OSCAR           LIRA                      NM     90002368817
82435A11872B62   KIM             NELSON                    CO     90009350118
8243617672B271   ANA             CASTRO                    DC     90000881767
8243667349154B   GABRIELA        CHAVEZ                    TX     75064896734
82436726397B68   LUIS            AGUILERA                  CO     90014187263
82436A8845B24B   MELINDA         SMITH                     KY     68048520884
8243796376194B   MARY            GLOVER                    CA     90000859637
82438164A72496   EDWIN           MONHEY                    PA     90012191640
82438423297B3B   JOSHUA          REYNOLDS                  CO     39090454232
8243897938B154   ELIZABETH       GURULE                    UT     90011059793
82438A35493771   SIERRA          BERGHHOEFER               OH     90008700354
8243917672B271   ANA             CASTRO                    DC     90000881767
82439239372B29   ALONSO          BEJARANO                  CO     33053182393
82439543997B38   JACOB           MONTGOMERY                CO     90014835439
824395A629154B   SAMANTHA        BAILON                    TX     90014165062
82439733A33698   ESPERRANZA      VINCENT                   NC     90008577330
82439753897B3B   SUZANNE         SINCLAIR                  CO     39086907538
8243991628B154   TODD            WILDE                     UT     31042559162
8243B164A72496   EDWIN           MONHEY                    PA     90012191640
8243B165472B29   RYAN            DURNAN                    CO     90003631654
8243B55825B581   FLOR            MEDINA                    NM     35068865582
8243B5A7185936   SOLANGE         BANGULWA                  KY     90010145071
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1151 of 2350


8243B76528B168   BRENDA            BYRD                    UT     90002997652
8243B77148B166   LETICIA           CASTANON                UT     31085667714
8243BA8A671977   ATHEL             BLUE BIRD               CO     90010700806
8243BAA886194B   FRANCISCO         MATIAS PABLO            CA     90014180088
82441582272B28   SILCOTT           JACKIE                  CO     90011015822
82441679597B21   TERESA            CONTRERAS               CO     90010876795
8244175535B24B   LUCIA             NELLY                   KY     90005667553
82441793976B97   MARIA             ZAMORA                  CA     90003467939
82441938297B3B   PABLO             QUIROZ                  CO     90013559382
8244198665B153   ALMA              GIBBS                   AR     90012799866
82441A57847822   JESSICA           DUPREE                  GA     90014960578
8244219919154B   MARIA             SANDOVAL                TX     75083091991
82442318A91837   DEBBERA           SHINN                   OK     21092233180
82442A3415B326   MARIA             GARCIA                  OR     90012150341
8244357199154B   ADRIAN            CAZARES                 TX     75000965719
8244395955B581   HIEDI             BRYAND                  NM     35071579595
82443A81A97B68   ERIC              BRIONES                 CO     90014880810
8244428A972496   JENNIFER          GATTO                   PA     51062522809
8244446728B168   ELIZABETH         EVANS                   UT     31060644672
824444A269154B   DIANA ALEJANDRA   CASTRO                  TX     90009124026
8244451585B183   LARRY             HICKS                   AR     90010285158
8244519985B24B   NICOLE            WILLIAMS                KY     90013021998
8244533726194B   FEDERICO          MORENO                  CA     90012303372
82445689972B29   CARLOS            ROSALES                 CO     90002316899
8244583614B967   NICHOLE           JOHNSON                 TX     76501688361
82446198976B97   SHANEL            JONES                   CA     90006051989
82446646172B33   DOUGLAS           MCCAIN                  CO     33094856461
8244678545B581   CARMELITA         MASON                   NM     35074837854
824468A9772B62   TYWON LAVELLE     ANDERSON                CO     90012098097
8244699A147897   SHAMEAKE          SLAUGHTER               GA     14017259901
82447343172B44   MARISA            SALINAS                 CO     90008953431
82447428998B2B   STEPHANIE         BROWN                   NC     90011894289
82447A9515B153   JOHNNY            SCOTT                   AR     90001340951
8244822145B183   COREY             BEAUGARD                AR     23085252214
824485A749154B   JESUS             CRUZ                    TX     90014165074
8244867938B154   ZACHERY           COVER                   UT     31096086793
824486A9A76B65   CYNTHIA           EVANS                   CA     46010226090
82448856344B22   CHERYL            PERKINS                 OH     90013928563
82448A26261928   DEBRA             PRUITT                  CA     90000340262
82449467A97B38   CHRISTIAN         KENYON                  CO     90014624670
82449A61447822   BERNICE           HOWARD                  GA     90014640614
8244B35A597B38   JAIME             MEZA                    CO     39063653505
8244B459276B65   NATALIE           CUENCA                  CA     46080774592
8244B585376B68   BRENDA            SANCHEZ                 CA     90009185853
8244B75495B229   SHEREE            HOLT                    KY     90007947549
824514AA481677   EUNJOLIE          WILLIAMS                MO     90014654004
8245162188B168   LINDSEY           STIREMAN                UT     90010376218
824516A6776B97   PATRICIA          WATERMAN                CA     46015416067
82451741372B29   BRITTNEY          STANTON                 CO     90010277413
8245179978B163   FLASHED           PHONE                   UT     90011217997
82451A4375B326   JENNIFER          SCHEER                  OR     90012150437
82451AA5247822   TANGALIA          SHOATS                  GA     90007560052
8245212628B154   KEVIN             LOUGHRIN                UT     90008341262
82452619872B33   DONNA             READ                    CO     90012416198
82452A2A95B183   BRANDY            SHORTER                 AR     90011180209
8245397A972B29   JOSE              DIAZ                    CO     90013839709
82453A8795B153   NYEISHA           ELLIOTT                 AR     23056230879
82454157A41275   JENNIFER          GREENWALT               PA     90014801570
82454469297B38   RODOLFO           MEDINA-VALDEZ           CO     39058864692
82454A61376B68   ALVARADO          ROSALVA                 CA     46041040613
8245522587737B   BERNADINE         WILLIAMS                IL     90007672258
82455543A72B44   LORIE             THEOBALD                CO     33070725430
82456561872B29   KAREN             MUNOZ                   CO     33067555618
824566A9876B68   AMY               LAMBETH                 CA     90014466098
8245686552B236   DOMINIQUE         MBACHIE                 DC     90001438655
8245727A251362   CURTIS            CARPENTER               OH     90013962702
82458268172B33   COLLEEN           MACDONALD               CO     33050722681
824582A2197138   TONY              BOKMEJ                  OR     90013392021
82458792A77537   RITA              SEVIER                  NV     43044897920
824588A855B24B   CHRIS             JONES                   KY     90003618085
8245894165597B   ANTONIO           RODRIGUEZ               CA     90014699416
82459279A8B155   KENT              BARLOW                  UT     90000782790
8245942A58B163   FRANCISCO         VILLANUEVA              UT     90012954205
8245974175B326   LATISHA           CAESAR                  OR     90013067417
8245978335B24B   KEN               TINSLEY                 KY     90009077833
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1152 of 2350


8245B343176B68   MARIA             REYES                   CA     90013503431
8245B385497B97   MICHELE           HARTMAN                 CO     90012533854
8245B414672B62   MARIA             RODRIGUEZ               CO     90001484146
8245B455472B33   MARNIE            TERHARK                 CO     90007844554
8245B46918B168   MARIANA           HEREDIA                 UT     90007934691
8245B75712B271   TALESHA           FOWLER                  DC     90010797571
8245B7A6A72B33   SUE               HAMADA                  CO     90015087060
8245B886381677   BRENDA            MARTINEZ                KS     90015088863
8245B942991979   FRANCISCO ANGEL   GONZALEZ                NC     90007989429
8245BA7487192B   CHRISTINE         ARGUELLO                CO     32049200748
8245BA75A47822   PATRICIA          RUMPH                   GA     90014640750
8246127AA76B68   TRIXY             MOLANO                  CA     90014502700
82461788497B3B   JOSE              JARAMILLO               CO     90014687884
824618AAA2B256   MARTHA            ALVAREZ                 DC     90011368000
82461A13781677   ROBERT            MARTIN                  MO     90014760137
82462158697B68   YURI              ESTRADA                 CO     33072201586
82462311772B62   RODOLFO           GONZALEZ                CO     33004563117
8246261895B581   ROBERT            WILLIS                  NM     90007526189
824628A575B581   CARLOS            LOPEZ                   NM     90004178057
82462945772B29   KENNETH           KOEPPEN                 CO     33041619457
824632A385B24B   DEBORAH           BASHAM                  KY     68092372038
82463397A81627   GARY              SNOW                    MO     90015343970
8246343869154B   LORENA            LUJAN                   TX     90008414386
8246349735B326   ROVIN             SOLANO                  OR     90014954973
8246351272B271   CHRISTIANA        JONES                   DC     90001995127
82463A31997B38   DANIEL            ROJAS                   CO     39040550319
82463AA3841262   DONNELL           LAY                     PA     90007350038
82464415A5B24B   CHERRIE           WEBB                    KY     90004984150
824653A9172B44   STEVE             SIMMONS                 CO     33077703091
8246574126194B   MEGAN             KETTMANN                CA     90001997412
8246636929154B   NELLELY           RODRIGUEZ               TX     75093913692
82466A9696194B   E DANTE           GRAZ                    CA     90012680969
82467333A81627   SHONTERRIA        COLBERT                 MO     90012953330
82467429A76B68   YANET             GONZALEZ                CA     90013304290
82467552797B38   CHARLENE          GIGGY                   CO     39086575527
82467698572B29   MARISSA           ESPINOZA                CO     90005076985
82467736576B97   SINTIA            VELASCO                 CA     90013927365
8246782295B153   JULIUS            MCINTONSH               AR     90013928229
8246785595B153   BRANDI            TERRY                   AR     90012398559
824683AA751362   CRYSTAL           LOVETTE                 OH     90014183007
824684A848B168   DEVIN             TRUJILO                 UT     31088814084
82468549376B68   MARGARITO         DE LA O                 CA     46067485493
82469533572B33   MELVIN            MOORE                   CO     90014155335
8246983276194B   WENDY             RIVERA                  CA     46027708327
8246999459154B   ESTER             HERRERA                 TX     90003719945
8246B452272B33   CRYSTAL           WESTLUND                CO     90008294522
8246B677141272   RONA              GREEN                   PA     90013836771
8246B754581677   BRANDON           VAUGHN                  MO     90014867545
8246B889961928   SANDEE            CHARFAUROS              CA     46040778899
82471119872B62   BEATRIZ           HERNANDEZ               CO     90004001198
82471478A91975   TIFFANY           MCKINNIE                NC     17025844780
8247188825B153   CATHLEEN          STOYLE                  AR     23061458882
8247227375B326   DARCY LYNN        GILMORE                 OR     44590152737
8247266688B163   ISAAC             GARDNER                 UT     31045276668
82472A76151323   GRISELDA          BAUTISTA                OH     90001480761
8247321845B183   MARIA             ROBLEDO                 AR     90010082184
8247322775B581   ROBIN             CANDELARIA              NM     90013412277
82473365A93771   LESLIE            SHORT                   OH     90005073650
82473412A77537   JOHN              DOEHRING                NV     90007194120
82473586572B33   WILLIAM           SHERMAN                 CO     33001445865
82473613472B44   PATRICIA          GUZMAN                  CO     90001816134
8247397938B154   ELIZABETH         GURULE                  UT     90011059793
82473A74161928   VANESSA           VERA                    CA     90013100741
8247436235B326   ROBERT            FESSENDEN               OR     90013893623
8247447919154B   ERICKA            PENA                    TX     90012854791
82474865A72B44   UBALDO            MIGUEL                  CO     90001728650
82475353172B29   EFLIS             MICKY                   CO     90012903531
8247581295B581   AYMARA            NIEVES                  NM     90003198129
8247595995B153   LOVEITTIA         WILSON                  AR     90014509599
82476175376B65   TIMOTHY           DOLAN                   CA     90010511753
824761A584B22B   JALISA            NESBIT                  NE     90013371058
8247621A597138   JEANIA            GENTZLER                OR     90009322105
824766A5A77537   AMBER             BURROUGHS               NV     43098766050
8247675A591525   GLORIA            SALCIDO                 TX     75009387505
8247696889152B   SANDRA            NAVA                    TX     90011209688
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1153 of 2350


82476A96597199   DEANNA           PELKEY                   OR     90015130965
82477152A97B68   ERIC             GUERIN                   CO     90014221520
824773A2541262   STEPHANIE        JAMES                    PA     90009583025
82477741A9154B   KARINA           ROMERO                   TX     90011667410
82477888A97B38   JILL ANN         MANN                     CO     90002368880
82477AA885B326   ADELE            CRAMER                   OR     90012250088
824781A5891525   JULIAN           FLORES                   TX     75091071058
8247821269154B   JOHN             MARTINEZ                 TX     75004792126
8247834145B153   RICK             JOHNSON                  AR     90014303414
82478523576B68   CAMMI            ARMES                    CA     90015225235
8247867988B163   TINA ANN         BASS                     UT     90014576798
8247889415B26B   VALOY            HERNANDEZ                KY     68094018941
824788A937B389   BRIAN            MEREDITH                 VA     90014648093
82478AA4497B3B   LUIS             ROBINSON                 CO     39091560044
82479245197B68   AIOTEST1         DONOTUSE                 CO     90015122451
8247936585B581   GUSTAVO          RAMIREZ                  NM     90011153658
8247944866194B   GLORIA           GANDARILLA               CA     46012464486
82479569172B62   BRITNEY          BEDFORD                  CO     90008635691
82479A46581627   BILLY            RILEY                    MO     90005690465
8247B198593771   THOMAS           DANIELS III              OH     64571391985
8247BA6A785856   BILL             TINDALL                  CA     46079030607
8247BA8865B24B   SAMANTHA         HENSLEY                  KY     90014810886
8248122A291979   ERIC             NZAU                     NC     90014932202
82481691176B97   CRISTIAN         RIVERA                   CA     90010936911
824817A766194B   NANCY            CASTILLO                 CA     90015167076
82482A56641262   PABLO            CASTILLO                 PA     90015230566
82482A9235B183   TAURIAN          MACKEY                   AR     90007000923
82483384972B62   JENNY            FLORES                   CO     33064233849
82483786772B29   ANGELA           MASINELLI                CO     33095007867
82483886972B62   JENNY            FLORES                   CO     90013528869
8248412265B183   SYLVIA           MURCIA                   AR     90014971226
8248474149154B   GILBERTO         GUERRA                   TX     75089307414
8248482375B153   QUEENA           JOHNSON                  AR     90014278237
8248485A481677   KATY             JACKSON                  MO     90010288504
8248516365B326   GORGONO          CARRANZA                 OR     90010461636
82485544A9154B   ARTURO           BAEZ                     TX     90014165440
82486311A81677   DONALD           ADAMSON                  MO     90012093110
824868A754B967   TONYA            RICHARD                  TX     76524728075
8248748A872B33   SUSANA           RAMIREZ                  CO     33058644808
82487927A8B154   CHAD             JACKSON                  UT     90011689270
82488235872B62   LAUREN DARLENE   CORDOVA                  CO     90013352358
82488482197B38   MARTINA          SOLIS                    CO     90012504821
8248863A35B338   LUIS             ORTIZ ARTEAGA            OR     44567426303
82488926A2B271   QIRDRA           BURTON                   DC     90005139260
82489597A91979   JONATHAN         MEJIA                    NC     90014845970
824897AA281627   ROBIN            NEGRETE                  MO     90012397002
8248B366272B62   MALIKAH          STOKER                   CO     90013533662
8248B4A9981677   TALEAH           STEVENSON                KS     90011824099
8248B715572B44   GARY             LAPENNA                  CO     90009697155
8248B728485856   ALBERTO          BAEZ                     CA     90009967284
82491453872B33   JACQUELINE       MIERA                    CO     90007804538
8249149289154B   EDGAR            MARES                    TX     90005144928
8249214266B871   MAURA            LOPEZ                    WI     90015371426
82492347997B3B   BRIANNA          BELL                     CO     90010763479
8249348649154B   SOLEDA           GARCIA                   TX     90014274864
82494327772B44   SERINA           SANCHEZ                  CO     33025883277
8249475A271977   SAM              HERNANDEZ                CO     38067507502
8249518138B154   ANGELICA         BATON                    UT     90012901813
8249544A776B97   BARBARA          REEVES                   CA     90007154407
8249548216194B   MIGUEL           RIVERA                   CA     90001104821
82496236372B29   ALEX             GUERRA                   CO     33086302363
82496524A97138   ALEJANDRA        CERVANTES                OR     90011685240
82496A82161928   ELENA            MARIN                    CA     46059340821
82497122776B65   ROSA             OROZCO                   CA     90012891227
824972A546194B   WAYNE            SASSER                   CA     90010842054
8249749539154B   MARIANA          GANDARA                  TX     75002334953
8249755538B154   DIANA            SCHULTZ                  UT     90010765553
8249789A247822   MONCELLA         MOORE                    GA     90015338902
8249793295B326   TIMOTHY          DREYER                   OR     90008749329
82498398476B65   MOISES           LOPEZ                    CA     90010773984
8249848A55B326   RITA             VILLARREAL               OR     90013744805
8249865AA72B44   HENRY            CAMPOS                   CO     33091216500
824986A1285856   JONGHUN          PARK                     CA     90012696012
82498A43861971   CEYDA            BOLAT                    CA     90010020438
8249925468B154   RHONDA           KARAS                    UT     90010952546
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1154 of 2350


824999A4697B38   DAVID        BERNSTEIN                    CO     90009949046
82499A4625B24B   JEREMY       HOLLAND                      KY     68040580462
8249B231897B38   NEREIDO      CONTRERAS                    CO     90011912318
8249B6A1161928   LULU         ALFARO                       CA     90007296011
8249B873772B62   DOMINICK     DOBBS                        CO     90015218737
8249B914571977   SUSANNE      LINDSAY                      CO     38061799145
824B112A941275   CHARLES      WOLFORD JR                   PA     51046871209
824B118A75B338   ROSALBA      BRAMBILA                     OR     90014291807
824B143AA6194B   KURT         KNUDSEN                      CA     46048384300
824B1444897B3B   ADRIANA      SOTO                         CO     90015184448
824B1488651362   JESSICA      COOK                         OH     90008064886
824B1672881627   JOHN         MITCHELL                     MO     29068206728
824B168A641262   JAMMIE       GRIMES                       PA     51027626806
824B18A9347897   BRENDA       BISHOP                       GA     14072648093
824B1917876B68   ALEJANDRA    GOMEZ                        CA     90008459178
824B192918B163   MIRIAM       MENDONZA                     UT     90014399291
824B1999872B29   ISAIAS       CRUZ                         CO     90007299998
824B2177976B68   NOEMI        JOVE                         CA     46084501779
824B21A8433698   DAPHNIE      LEGETTE                      NC     90013431084
824B2584381627   PHILLIP      GEORGE                       MO     90014635843
824B2676291979   MARSHELL     MCMILLAN                     NC     90011336762
824B3131291837   FRANK        FREEMAN                      OK     21025041312
824B3584644337   LANITA       PARKER                       MD     90012565846
824B3713A91837   PAUL         CHITTUM                      OK     90014197130
824B3849597B68   HIDALIA      SALINAS                      CO     90013268495
824B396655B581   ERIC         PIETRYGA                     NM     90004649665
824B3985393763   TONI         NELSON                       OH     90001169853
824B4716472B44   MARTINE      AMBROSE                      CO     33060987164
824B477A697B68   CINDY        FLORES                       CO     90010277706
824B4858461928   DEBORAH      ENGELHARDT                   CA     90009778584
824B5429A76B68   YANET        GONZALEZ                     CA     90013304290
824B5566A85936   DULCE        LOPEZ                        KY     90015165660
824B5A21A5B581   MATHEW       VARGAS                       NM     90006810210
824B6482672B33   ALIS         SS                           CO     33030344826
824B6618672B62   MELANIE      HEATH                        CO     90002706186
824B6938791837   CURTIS       VOSS                         OK     90012839387
824B695115B183   CHRISTOPHE   ESTRADA                      AR     23003809511
824B695855B581   NATALIE      ARENIBAS                     NM     90014409585
824B7256985623   JULIE        LOPEZ                        NJ     90008342569
824B756344B22B   LEAUNA       AVANT                        NE     27067585634
824B7888872432   MICHELLE     MOORE                        PA     90012888888
824B7893A97138   COREY        RECORD                       OR     90013148930
824B8396472B29   EL PARAISO   EVENT CENTER                 CO     90015113964
824B8635485936   RAYMONT      WALKER                       KY     90010046354
824B9233484325   CHELSEA      ANDERSON                     SC     90010282334
824BB82A141262   DAMITRA      PENNY                        PA     51009488201
824BB897597B3B   CRYSTAL      CALDWELL                     CO     39025448975
824BBA26747897   JAMELA       SMITH                        GA     90009490267
8251117A161928   ROBERT       JANPOL                       CA     90009301701
82511629876B65   MELISSA      STARNES                      CA     90010526298
82511A77747822   JOSEPH       STEWART                      GA     90013130777
825124A3261928   JERRY        PRADD                        CA     46043674032
825126A6891525   GILBERT      SILVAS                       TX     90001366068
8251291135B532   TAMANI       ORTIZ                        NM     90014109113
8251325135B153   SASHA        REED                         AR     90012242513
825136A735B523   DEBRA        ROMERO                       NM     90001546073
825137A2591975   MEISHA       BRIGGS                       NC     90013307025
82513964776B68   ERASMO       OLIVARES                     CA     90013629647
8251412235B183   MARY         FERRELL                      AR     23069211223
8251421245B24B   PHILLIP      STITES                       KY     90011082124
8251423544B22B   DIAZ         HECTOR                       NE     27040262354
8251536548B163   CESAR        MORENO                       UT     90013753654
8251573A62B249   LAWERENCY    BOONE                        DC     90000947306
8251583A976B65   ROBERT       HOFFMAN                      CA     46018208309
82515856276B97   TERRIE       SIMS                         CA     46013058562
8251628A191979   IMELDA       CRUZ                         NC     17020642801
825179A425B153   SHAHEED      BLAKELY                      AR     90014599042
82517A62491975   JULIO        COREAS                       NC     90009290624
82518111A97138   DOLORES      ESPINDOLA                    OR     90011901110
8251823368B168   MANU         ALEKI                        UT     31070162336
8251855219154B   CHRIS        GALVEZ                       TX     90014165521
8251885AA91979   GERMAN       BOBADILLA                    NC     90009558500
82519667A6194B   GREGOIRE     JEAN LOUIS                   CA     90006016670
82519723A76B65   LUCIA        GADINO                       CA     90008687230
8251976879154B   JAIME        VAZQUEZ                      TX     90014177687
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1155 of 2350


8251981575599B   KATHY        WEISMAN                      CA     90001638157
82519A8A391837   JAMES        TODD                         OK     90014570803
8251B39A372B29   MICHAEL      PHILLIPS                     CO     33090483903
8251B471971977   DAVID        GARCIAL-BELARDE              CO     90011314719
8251B957897B38   ANNETTE      BENAVIDEZ                    CO     90012659578
8251B984A8B168   DEANN        ORAM                         UT     31005509840
82521615672B29   DANNY        LOPEZ                        CO     90013596156
825218A9591979   MAGDELINE    CARROLL                      NC     90012498095
82521A32381627   MAYRA        ESCOBAR                      MO     90013980323
8252224A771977   CHRISTINA    BIK                          CO     90014912407
8252247765B24B   ANDREW       FROST                        KY     90013274776
825226A8A81677   CESAREO      RAMIREZ                      MO     90013116080
82522816472B44   HERNANDEZ    JOSE                         CO     90004978164
82522871772B62   SALLEY       REBECCA                      CO     90008288717
82522A67893771   REBECCA      WATKINS                      OH     90014560678
8252322195B183   MELISSA      BERNAL                       AR     90014982219
82523848672B62   CHRISTINA    HAGAN                        CO     90003478486
82524411176B68   VICTOR       RAMIREZ                      CA     46010724111
8252454465B153   SARA         SENA                         AR     90002275446
8252585888B163   VISESIO      SUA                          UT     90011218588
8252591A35B153   HEATHER      PHILLIPS                     AR     23039129103
82525A99884325   STEPHANIE    ROOKER                       SC     90011130998
825265A7397B68   MARIA        CORNELIO                     CO     33000705073
8252682845B24B   CRYSTAL      STRATTON                     KY     90013258284
82526A6965B153   STACEY       BEESON                       AR     90012180696
82527178A72496   DAVID        MALOVICH                     PA     90011641780
8252784644B22B   NANCY        MOYA                         NE     90001168464
82528228A71977   MANDY        LEYBA                        CO     90012882280
8252826195593B   JACQUELIN    MEDINA                       CA     48003692619
8252834468B154   TIRHAS       HDISH                        UT     90012703446
82528485576B97   DAEQUAN      GRAHM                        CA     90015064855
8252856939154B   JOHAN        PABLO                        TX     90014165693
82528791172B62   REYNA        PALOMINO                     CO     33042157911
825287A375B326   CURTIS       ROBINSON                     OR     90014857037
82529AA9A61928   ANGELES      LOPEZ                        CA     90011300090
8252B12716194B   DELIA        VILLA                        CA     90002771271
8252B1A8A47822   GINELL       ADAMS                        GA     90002121080
8252B564876B68   EMIR         MOJICA                       CA     90008525648
8252B73355B581   KAREN        SALAS                        NM     35004237335
8252B859741262   BRIAN        JACKSON                      PA     90000318597
8252B866A72B29   FAUSTITO     FLORES-SOLIS                 CO     90011188660
8252BA6317B386   RALPH        TANKS                        VA     81041490631
82531183876B68   KILE         DORMAN                       CA     90014361838
8253155A997B38   LOGAN        STORK                        CO     90015535509
825315A795B183   KATRENA      FINLEY                       AR     90001975079
8253168344B22B   STACY        DONISON                      NE     27080346834
8253184795B326   KRISTINE     CURTICE                      OR     44554028479
8253196A871977   RICHARD      DUVALL                       CO     90008299608
8253257329154B   DAISY        TEPEZANO                     TX     90014165732
82532858876B68   ALBERT       PERTRICK                     CA     90013298588
825329A3591837   HOLLEE       WHITEHEAD                    OK     90012649035
825332A1572B62   EMILY        HILL                         CO     90010802015
8253337425B183   DENISE       PARKER                       AR     90014693742
82533754597B3B   MORGAN       CHAVEZ                       CO     90012877545
8253434656194B   LYNNE        MCCARTHY                     CA     46047913465
8253448875B338   DEMBA        KANDJI                       OR     44575074887
8253479A791975   RICARDO      DIAZ                         NC     90011497907
82534969A9154B   MARIA        MARTINEZ                     TX     90010629690
8253514A39154B   MARIA        ESCOBEDO                     TX     90000651403
82535499A97138   MIGUEL       CAMARENA                     OR     90007824990
8253554468B18B   ERIBERTO     MADRID                       UT     31015025446
825357A6A72B33   SUE          HAMADA                       CO     90015087060
82535A79981627   LETICIA A    SCOTT                        MO     90015050799
8253632799154B   DORIAN       CONTRERAS                    TX     90002883279
82536654572B8B   EDITH        LOPEZ                        CO     90008026545
8253671345B139   PENNY        SPIKES                       AR     23012457134
8253672275B581   RUBY         MCEACHERN                    NM     35011797227
82536A41772B44   KELLIE       ROTH                         CO     90004330417
8253757965B581   MICHEAL      JOHNSON                      NM     90014495796
825377A7697B3B   JUSTIN       QUINN                        CO     39056577076
82537954872B33   ELENA        PASILLAS                     CO     90013399548
825381A6697B38   HERIBERTO    SANTOS                       CO     90013981066
825383A6672B62   CYNTHIA      STAHL                        CO     33085013066
82538481297B38   ALEX         PIZARRO                      CO     90015394812
8253864A15B581   LORRIE       LUCERO                       NM     90002856401
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1156 of 2350


82538846272B29   ED           STOUDT                       CO     90011308462
825389A3A5B183   MARGARITA    GARCIA                       AR     90012909030
8253939546194B   BLANCA       ORTIZ                        CA     90003773954
82539657172B33   MARIO        TORRES                       CO     90011896571
82539731A5B581   BILLY        CHAVEZ                       NM     90004887310
8253979A891837   JOHN         ERVIN                        OK     21018017908
825397A7591837   TRISTAN      OWENS                        OK     90013647075
82539867372B44   SELINA       OCANA                        CO     90005738673
8253B132793771   TASHANNA     KELLY                        OH     90012831327
8253B219791979   DANIEL       ARMANDO DE LA VEGA           NC     90014282197
8253B372391837   DAYSI        SANDOVALL                    OK     90000223723
8253B41198B163   COREY        THOMPSON                     UT     31002004119
8253B491577537   JUAN         MARTINEZ                     NV     90003374915
8253B54A18B168   MONICA       HOOD                         UT     90004615401
8253B654733698   DOLORES      SHILLINGLAW                  NC     90011536547
8253BA62A61928   PATRICIA     JIMENEZ                      CA     90014590620
8254121769154B   GERARDO      SALCIDO                      TX     75031832176
8254153925B24B   MOHAMED      DIABATE                      KY     90013305392
82542237A97138   JOSE         ADRIAN BRAVO CRUZ            OR     44067722370
82542471A97B3B   ROBIN        LABARBERA                    CO     39085274710
82542781A76B68   MARTIN       GORDILLO CRUZ                CA     46005677810
82542962A5B24B   AMANDA       HUGGAND KISS                 KY     90006009620
82543591976B68   ABEL         HERNANDEZ                    CA     46009785919
8254388285B183   JACQUELYNE   TUCKER                       AR     23020988828
82544394A97138   ERIC         SANCHEZ                      OR     44070993940
8254485338B154   MIGUEL       BURQUEZ                      UT     31063308533
8254493384B22B   TAJUAN       PHIPPS                       NE     90014109338
8254514A39154B   MARIA        ESCOBEDO                     TX     90000651403
82545452876B68   DAVID        PEREZ                        CA     90015464528
82545674376B45   DENNIS       PIERCE                       CA     90011806743
8254616749154B   IVAN         CENICEROS                    TX     90012981674
825463AA472496   BOBBIE       BROWN                        PA     90013993004
82546614372B33   TROY         HENDERSON                    CO     33014896143
825467A4372B29   WILLIAM      VEGA                         CO     90008037043
82547145972B44   ROSA         BERUMEN-LUNA                 CO     90012931459
82547429772B33   TYKESHA      SIMONS                       CO     90009234297
82547539772B29   JOANNA       LINARES                      CO     33035355397
82547612572B33   TYKESHA      SIMONS                       CO     90013906125
8254765A261928   GLINDA       ERBACHER                     CA     90002006502
82548527A72B44   JOSE         RAMIREZ                      CO     33064835270
8254853942B246   AISHA        GRIFFIN                      DC     90011805394
82548A94397B38   DARLENE      MARTINEZ                     CO     90014490943
82549726497B38   ANDRAY       VIALPONDO                    CO     90001127264
82549A46381627   NAIROBI      BANKS                        MO     29055010463
8254B26285B326   MARIA        ROGRIGUEZ                    OR     90000952628
8254B541A77537   ROCIO        DIAZ-OCHOA                   NV     43043915410
8254B947241275   ROSE         BAUR                         PA     51035379472
8255168115B153   ROBERT       BOLTON                       AR     23003836811
82551A4695B183   PRISCILLA    HARPER                       AR     90014110469
8255242782B271   LYNDON       HARRISON                     DC     90004094278
82552428A9154B   MARIA        MARTINEZ                     TX     75089014280
82552512997B38   WILLIAM      RODRIGUEZ                    CO     39095065129
82553773597B3B   NAOMI        CHAVEZ                       CO     39080567735
8255419266194B   FADUMO       MUSE                         CA     90013901926
82554782197B3B   CASEY        MAROHL                       CO     39045987821
82555286976B68   RAFAEL       ABARCA                       CA     90007772869
8255561995B24B   JOSH         GIBBONS                      KY     90015166199
8255573567B339   KELLY ANN    NEVERSON                     VA     90006317356
82555A3732B271   ALTHEA       WILLIAMS                     DC     90006990373
82556133672B33   MICHELLE     LEWIS                        CO     33026851336
8255619546194B   LIDIA        LOPEZ                        CA     90010891954
825562A8151362   ONIKA        DAVIS                        OH     66045512081
825563A8484325   DAVIDA       WILLIAMS                     SC     90011213084
8255658529154B   PRISCILLA    ACEVEDO                      TX     90014165852
82556A35533698   LAQUAN       ROBERTS                      NC     90013070355
82556A5374B22B   PATRICIA     FALBO                        NM     27078150537
82556A74491837   CAREY        RAMSBY                       OK     90009300744
82557146176B65   CATALINA     GARCIA                       CA     46004821461
8255756A39154B   MARIA        GUADALUPE RIOS               TX     90001305603
82557652872B29   SONYA        HAYES                        CO     90004856528
82557716A91242   JARON        MULLINS                      GA     90011187160
82557747372B33   JESSICA      VILLEGAS-LOPEZ               CO     33067297473
8255778685B326   ARACELI      MARQUEZ                      OR     44512197868
82557A5218B154   LAURA        THORN                        UT     31031120521
825585A3191979   KETURAH      TATE                         NC     90006435031
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1157 of 2350


8255875658B163   ALI              JAMILI                   UT     90014067565
82558865297B38   SUSETTE          RENDON                   CO     90013058652
825593A9891979   DIOCELINA        PELAEZ                   NC     17016873098
8255942A341262   MITSU            ANTOLIK                  PA     90007104203
825595A925B183   HILDA            TORRES                   AR     90001755092
8255997964B22B   ANDREW           HULTBERG                 NE     90015299796
8255B186261928   MANUEL           BAEZ                     CA     90013631862
8255B31A376B65   CESAR            RAMIREZ                  CA     90013923103
8255BA29671977   THOMAS           VILLANUEVA               CO     90013820296
825618A3A8B154   TAMARA           SMITH                    UT     31001888030
82561A8726194B   MARTHA           RUBIO                    CA     90012740872
8256289475B24B   CATHY            YOUNG-BRIGGS             KY     90014118947
82562AA7785936   BRENDA           GARCIA                   KY     90014830077
825634A3176B97   SEAN             MURPHY                   CA     90011324031
8256351865B581   BERMUDEZ         SHANTEL                  NM     90003805186
8256366364B22B   EMILY            OLSON                    NE     90012096636
82563688372B33   PARKS            KELLY                    CO     90010266883
825636A975B153   STEPHEN          ARTHUR                   AR     90013986097
82563843A47897   TAKISHA          GAMBLE                   GA     90012508430
8256385588B163   DIANA            BAYLES                   UT     90014838558
82563A66172B62   LORENA           TRUJILLO                 CO     33062500661
82564362276B65   DENISE A         MCTIZIC                  CA     90003703622
82564641472B62   ROCELIA          CHACON                   CO     90011946414
82565152A97B68   ERIC             GUERIN                   CO     90014221520
8256535229154B   SOCORRO          LOPEZ                    TX     90012433522
825653A8372B44   CHRIS            MULLINS                  CO     90013243083
8256583A941275   GEORGIA          REILLY                   PA     51042718309
82566197872B62   ERNEST           EVENS                    CO     90010801978
82567259A4B22B   JUAN             MONTANO                  NE     90013542590
8256756349154B   JENNIFER         VALERO                   TX     90002295634
8256757898B154   MARY             PETERSEN                 UT     90010765789
82567916A76B45   OMAR             QUIROZ                   CA     90009799160
82568664972B62   VALERIA          SALAZAR                  CO     90011966649
8256883975B581   JOE              ANAYA                    NM     90012988397
8256926A485856   JESSE            LARAMORE                 CA     90013632604
8256989765B581   GEORGE           CHAVEZ                   NM     35045098976
82569951A91837   TAYLOR           WORTH                    OK     90015159510
8256B469191975   WILLIAM VERNON   THOMAS                   NC     90010654691
8256B64486194B   SALBADOR         MURATALLA                CA     90013406448
8256B733276B97   CESAR            DOMINGUEZ                CA     46096337332
8256B813897B38   JENNIFER         MILLNER                  CO     90003418138
825711A2177537   HANNAH           FLYNN                    NV     90011611021
82571951876B68   MARIA            ALVARADO                 CA     90001299518
825721A5293771   JOSH             ONEAL                    OH     90011901052
8257242655B183   LATORIA          FREEMAN                  AR     90002384265
82572434476B97   ARNOLD           BURGOS                   CA     46009144344
825724A5891979   SHARON           BARKSDALE                NC     90000954058
82572631A91525   GABRIELA         TORRES                   TX     75091096310
8257274A497B3B   IVY              DONALDSON                CO     39096697404
82572781476B68   MARK             MEDCI                    CA     90013077814
8257331A571977   PAYGO            IVR ACTIVATION           CO     90011913105
82573469397B3B   GEORGINA         JIMINEZ                  CO     90011304693
8257367489154B   NORA             PENA                     NM     90000726748
8257373A561928   STEFANIE         RAMIREZ                  CA     90012307305
8257415AA72496   RICHARD          ZAPP                     PA     90013941500
82574463476B68   JESSE            VELASCO                  CA     90012884634
82574741276B65   ROSIE            GOMEZ                    CA     46018307412
8257489485B581   YESIKA           MENDEZ                   NM     90015108948
825753A5871977   KAREN            HICKS                    CO     90006503058
82576245197B68   AIOTEST1         DONOTUSE                 CO     90015122451
82576A29797138   VALENTIN         DE LEON                  OR     44048120297
82577245897B68   AIOTEST1         DONOTTOUCH               CO     90015122458
825774A625B24B   EDUARDO          MILANES                  KY     90014954062
8257768535B581   BRISA            ONTIVEROS-VELOZ          NM     35012046853
82578569197B38   ESPERENZA        MALTOS-DELGADO           CO     39011385691
82578573A5B183   BILLIE           SMICH                    AR     90014975730
82579245897B68   AIOTEST1         DONOTTOUCH               CO     90015122458
82579AAAA41262   LISA             DEJESUS                  PA     51016650000
8257B22A75B326   GORDON           SQUIRES                  OR     90004102207
8257B314976B65   REYNALDO         MENDOZA                  CA     90012893149
8257B34345B183   SHAKENNA         WILLIAMS                 AR     90012213434
8257B665291979   KEVIN            DANIELS                  NC     90015256652
8257B694A4B22B   HOOVER           FRANK                    IA     27013746940
8257B812197B38   JENNIE           MEDALENO                 CO     90009488121
8257BA85185936   MATT             SMITH                    KY     67041570851
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1158 of 2350


8258123928B168   HEATHER          DAWN                     UT     90009772392
82581245897B68   AIOTEST1         DONOTTOUCH               CO     90015122458
8258125115B581   HECTOR           VARELAAGUILAR            NM     35065652511
8258153A651362   LEE              FRANZ                    OH     90014185306
82581734176B65   JOSE             OLIVARES                 CA     46014887341
8258254A19154B   ARMANDO          ESQUIVEL                 TX     90013415401
82582824372B29   MACARIO          TORRES                   CO     33006358243
82582A82793771   EDITH            DANIEL                   OH     90014040827
82584741A4B22B   JEFF             PATE                     NE     90011217410
8258519AA61928   ENRIQUE          HERNANDEZ                CA     90010331900
8258525A86194B   ANA              ERHRAT                   CA     90005412508
8258548475B581   NICOLE           MARTINEZ                 NM     90014644847
8258576544B22B   DANA             PENNING                  NE     27001457654
8258579328B154   LEO              BALDERRAMA               UT     90006597932
825859A665B24B   JEAN             ST CLAIR                 KY     90014299066
8258641689154B   CARDONA          JESSICA                  TX     90011284168
8258646189154B   JOSE             GERMAN                   TX     90011484618
82586499A72B62   JESUS            ACOSTA                   CO     90013104990
8258657365B326   ANALILIA         ROSAS-VALENCIA           OR     90010155736
8258665A48B168   CHRISTOPHER      KEENER                   UT     90011546504
825866A2833698   TYEISHA          CROWELL                  NC     90001536028
8258687515B326   KEAGAN LINDSAY   QUIRING-KOEHN            OR     90013778751
82587343A81627   ALLEN            MOUNTAIN                 MO     90012953430
8258769916194B   ALFONSO          ASCEVES                  CA     90003886991
82587733572B33   BEN              BOOKMAN                  CO     33052687335
82588245897B68   AIOTEST1         DONOTTOUCH               CO     90015122458
8258834176194B   CINTHYA          PENALOZA                 CA     90014123417
825886A7171977   JENNIFER         ADKINS                   CO     38015846071
82589245897B68   AIOTEST1         DONOTTOUCH               CO     90015122458
825893AA585936   BLAKE            SCOTT                    KY     90013853005
8258995446194B   JOSE             HERNANDEZ                CA     90000659544
8258B17539154B   BRENDA           ORTIZ                    TX     75016801753
8258B51965B183   SHERRY           ADROW                    AR     90013795196
8258B637472B33   OLVERA           ADRIAN                   CO     33032096374
8258B63A897B38   SARA             RIPPETH                  CO     90004076308
8258B732A41237   ASHLEY           CRAVENER                 PA     90009477320
8258B842497138   NORA             ARCE                     OR     90012058424
8259219155B24B   CORTEZ           HALL                     KY     90015171915
82592245897B68   AIOTEST1         DONOTTOUCH               CO     90015122458
82592278A41275   SHAWN            KIEFER                   PA     51007322780
82592294976B65   LUIS             LOPEZ MARTINEZ           CA     46008522949
825927A2172B33   MAGALU           ENGWANDA                 CO     33087907021
82592A99441262   WILLIAM          SWARTZWELDER III         PA     51086460994
8259335869154B   JOSE             RASCON                   TX     90009483586
8259347A38B163   SCOTT            DUBBELMAN                UT     31016814703
8259372345B338   BRITTANY         GRATREAK                 OR     44517557234
82593752A91979   SHALETIA         MCARTHUR                 NC     90014407520
82594199697B38   VANESSA          SAINZ                    CO     39011361996
8259431558B163   DANIEL           POLLOCK                  UT     90008073155
82594638A41262   GEORGE           BROWN JR                 PA     51091896380
82594695772B44   ANNA             HALLORAN-FANTI           CO     90011226957
82594714276B97   EMMA             JIMENEZ                  CA     90001327142
82594A24891837   SARAH            NOE                      OK     21009930248
8259512A45B153   LEONEL           GARCIA                   AR     90012231204
8259527674B22B   BRYAN            ANDRYSIK                 NE     90013392767
82595A42176B97   DEISY            AVILA                    CA     46087610421
8259611454B22B   SHIRLEY          GARCIA                   NE     27043681145
82596329776B65   BRENDA           ZOQUIAPA                 CA     90012893297
8259662339154B   SAUL             REYES                    TX     90014166233
82596692897B38   SUSANA           SERVIN                   CO     90011286928
82596794276B97   CLUADIA          CUEVAS                   CA     90003737942
8259744278B154   EUDELIA          HERNANDEZ                UT     90014914427
8259799518B163   MIKE             KIRKHAM                  UT     31073719951
82598534272B44   IZEL             SALAS                    CO     90009485342
8259899385B535   STEPHANIE        JAMES                    NM     90010589938
82598A38372B62   ARMANDO          FRANCIA                  CO     90002400383
82598A81961928   GUSTAVO          RODRIGUEZ                CA     46090830819
8259959A55B326   ERIKA            ROJAS                    OR     90012825905
825995AA297138   DAWN             WINTERSTEIN              OR     90012155002
82599691A4B22B   CHARLEE          WILSON                   NE     90013216910
8259B261972496   SHAYNE           PLAISTED                 PA     90014842619
8259B446172B44   JAVIER           ESCOBEDO ACOSTA          CO     33011184461
8259B4A3976B68   HOLLY            ANDERSON                 CA     90014974039
8259B51625B581   ERICK            SANCHEZ                  NM     35097335162
8259B65918B168   SHAUN            SIMPSON                  UT     31098186591
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1159 of 2350


8259B894A93783   NECHELLE     HEFFIN                       OH     90012498940
825B1587972B29   BRET         BAKER                        CO     90002585879
825B1835633698   JESSICA      WILLIAMS                     NC     90014758356
825B196A82B881   AUSTIN       WESTERBERG                   ID     90010079608
825B2337276B97   JORGE        FUENTES                      CA     90005543372
825B248145B24B   CANDACE      EDDIE                        KY     68091384814
825B263868B163   BERLINDA     THOMAS                       UT     90013446386
825B2848172432   JOHN         SVITEK                       PA     51004118481
825B32A8191837   CASSANDRA    GLOVER                       OK     90003022081
825B3767476B97   SILVIA       RAMIREZ                      CA     46049447674
825B396A15B581   ADRIAN       MIRAMONTES                   NM     90014049601
825B3A48291975   MARIANNE     MCCLURE                      NC     90012700482
825B4147976B68   ALBA         MERCEDES                     CA     90013381479
825B4224541262   THOMAS       LEARN                        PA     90010522245
825B448179154B   JESSE        GUTIERREZ                    TX     90011134817
825B4616161928   SHERMAN      YARBOROUGH                   CA     90014606161
825B4786647822   TRACY        BOOKER                       GA     90009277866
825B4795371956   EZEKIAL      TORRES                       CO     90001987953
825B49AA77192B   BULMARO      GONZALEZ                     CO     32064169007
825B4A2475B581   GONZALO      GONZALEZ                     NM     90012910247
825B534215B153   JOHNNY       CALVIN                       AR     90005513421
825B55A9672B62   JOSE         DIAZ                         CO     90011005096
825B6141397B3B   MELVIN       LOPEZ LOPEZ                  CO     90013311413
825B6739872496   ANDREW       POINDEXTER                   PA     90013997398
825B6887585936   ANTHONY      MORTON                       KY     90000688875
825B6941872B29   JORGE        MARTINEZ                     CO     90015089418
825B7236485936   ROSARIO      AYALA                        KY     67016882364
825B7656277537   COULTER      RAYMOND                      NV     90000696562
825B788A276B65   MILA         RODRIGUEZ                    CA     90011718802
825B7A2258B131   GABRIELA     MENDOZA                      UT     31095900225
825B7A3A185856   ROLANDO      TIMBOL                       CA     46039300301
825B7A45A47897   DOROTHY      DAVIS                        GA     90011120450
825B83A7572B29   LATOYA       BEARD                        CO     90013673075
825B86AA87B359   MARILYN      STARK                        VA     90005526008
825B8A32A93765   JESSICA      WRIGHT                       OH     64583800320
825B8A5689154B   TRACY        MARTIN                       TX     90002620568
825B9194391975   MARIA        MEZA                         NC     90007411943
825B946334B556   SAMUEL       COVINGTON                    OK     90008894633
825B9776281627   FRANCISCO    GUZMAN                       MO     90013037762
825B9811672B62   MATT         SIMS                         CO     90008698116
825B981898B166   RICHARD      MILEWSKI                     UT     31008128189
825B985585B326   CHANDRA      KNEPPER                      OR     44576258558
825BB798776B68   SUSANNA      ELHERT                       CA     90001867987
825BB88935B24B   JERJUANA     MERIWETHER                   KY     68000418893
825BBA96A81677   T            CLARE                        KS     29045730960
8261121A347897   MARANDA      BROWN                        GA     90001142103
8261125A48B163   FAM          RAMTIN                       UT     90013852504
82611286976B68   RAFAEL       ABARCA                       CA     90007772869
8261144619154B   LIZ          SERVIN                       TX     90006904461
8261163A75B326   MARK         HAMMOND                      OR     90011826307
8261216539154B   MYRNA        PAGES                        TX     90009171653
826121A9541262   PATRICIA     CROSS                        PA     90007071095
8261234395B183   PAMELA       PRICE-HAWKINS                AR     90013703439
82612799A6194B   CLAUDIA      ACEVES                       CA     90010427990
82613574276B97   EDUARDO      RODRIGUEZ                    CA     90009945742
8261361165B581   JUAN         HERNANDEZ                    NM     35012186116
8261364159154B   ROMANA       GALLARDO                     TX     90014166415
8261365265B153   DARRYL       WALZ                         AR     90005386526
8261375A172B33   CARLOS       PACHECO                      CO     90012107501
82614592897B3B   GABRIELA     FLORES ROSALES               CO     39064785928
8261476416194B   EMANUEL      CORTEZ-ROBLES                CA     90013857641
82614A92461928   JOSEPH       OBEZO                        CA     90014590924
82615175972B44   DAVID        GONZALEZ                     CO     90013611759
8261523A571977   NATHANAEL    HANKS                        CO     90011892305
82615246197B68   AIOTEST1     DONOTTOUCH                   CO     90015122461
82615429976B68   MARIA        VARGAS                       CA     46054374299
8261549A933698   KEYONNA      HAYWOOD                      NC     90012414909
82615511297B3B   ELIANA       LEENERTS                     CO     39067675112
82616246197B68   AIOTEST1     DONOTTOUCH                   CO     90015122461
8261684A685936   TIMOTHY      BRACK                        KY     90007358406
82616931276B97   STEVEN       PARVIN                       CA     90011159312
82616A59461936   DENNIS       VANDERGRIFF                  CA     90005160594
82617244172B29   AIOTEST1     DONOTTOUCH                   CO     90015122441
8261739AA5B581   LAURA        GRAJEDA                      NM     90014123900
8261815138B163   RIO          LOSELI                       UT     90009391513
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1160 of 2350


82618246197B68   AIOTEST1     DONOTTOUCH                   CO     90015122461
8261897A485936   MELANIE      PIERCE                       KY     90014219704
82618A21797B3B   MARQUETTE    RUMFELT                      CO     90010070217
82619246197B68   AIOTEST1     DONOTTOUCH                   CO     90015122461
8261946555B183   DARNELL      BROWN                        AR     90014874655
82619564376B97   MARIA        MORGAN                       CA     90011325643
826198AA972B62   KERI         CARLSEN                      CO     90007648009
82619A49576B65   ROSENDO      LOPEZ                        CA     90011630495
8261B248997138   MAURILIO     VENTURA FLORES               OR     90012042489
8261B6A9597B38   JOHN         RUEDY                        CO     90003866095
8261B766891975   ABBY         LAMONICA                     NC     90002087668
8261B77188B163   KAMRON       HALL                         UT     31017677718
8261BA12176B68   JOEL         ANASTACIO                    CA     46001840121
82621246597B68   AIOTEST1     DONOTTOUCH                   CO     90015122465
82621394A71977   ASIA         KELLY                        CO     90012683940
8262143248B163   AVA          HENRY                        UT     90001184324
8262164169154B   BLANCA       BERNAL DE MARQUEZ            TX     90014166416
8262178314B22B   JESSICA      KOHL                         NE     90011217831
82621998297B38   STEPHEN      CRABTREE                     CO     90000419982
82621A1535B24B   DARYL        HUFFMAN                      KY     90009810153
82621A89961936   GREG         FLOREY                       CA     90007400899
82622246597B68   AIOTEST1     DONOTTOUCH                   CO     90015122465
8262241A491975   SANDRA       BOWSER                       NC     90013924104
8262247115B183   SHALKIA      DOSS                         AR     90013134711
82623133A97138   SUSAN        WARKENTIN                    OR     90009791330
8262364395B581   STEPHANIE    MONTOYA                      NM     35046116439
82623743172B62   BOBBI        VALENZUELA                   CO     33087397431
82623788172B29   KARL         PFOHL                        CO     33094577881
82623815576B97   CELEDONIA    GREGORIO                     CA     46045158155
8262422198B154   MILIKA       TUUNGAA                      UT     90012872219
8262428798B163   LEPOLO       NIMO                         UT     90000592879
82624896A71977   VALERIE      SALAZAR                      CO     90008058960
82625399776B68   PAULA        RAMOS                        CA     90013573997
82625441A7B491   SOMONA       JOHNSON                      NC     90011194410
82625492997B3B   MARIA        GASCA                        CO     90014814929
8262571345B139   PENNY        SPIKES                       AR     23012457134
8262579A12B23B   BONITA       BALWIN                       DC     90004407901
8262581257242B   PAUL         LAWRENCE                     PA     51014948125
8262623AA51362   LUCIUS       HILL                         OH     66016342300
8262667893B386   EBRAHIM      ALIZADEH                     CO     33096346789
82626A68181677   ALVA         BEASLEY                      KS     29037550681
8262755A497B38   S            DALE                         CO     90002875504
82627583576B65   YANIN        ALFARO                       CA     46000565835
8262764499154B   MARGARITA    DE LA CRUZ                   TX     90014166449
8262783445B581   ISRAEL       WEBB                         NM     90013138344
826281AA372B62   JAMES        SIX                          CO     33037461003
826282A6576B65   EMILIO       VILLICANA                    CA     90011632065
82628A23984336   KATIE        REYNOLDS                     SC     90006700239
8262916A685856   JESUS        PABLO                        CA     90013031606
8262919163852B   ROSA         PEREZZ                       UT     90011961916
82629246597B68   AIOTEST1     DONOTTOUCH                   CO     90015122465
8262974A55B153   LOMAR        CONWAY                       AR     90009557405
82629766A72432   JOSEPH       KNISELY                      PA     90006347660
82629825272B29   DENE         ROMERO                       CO     33086998252
82629853672B33   MAKAH        BERNICE                      CO     90006718536
8262B436197B3B   MICHAEL      TAYLOR                       CO     39081794361
8262B5A7197138   SARA         WILLIAMS                     OR     44015405071
8262B898371977   WAYNE        SANDOVAL                     CO     90014768983
8262BA38291979   AMY-MARIA    ALEXANDER                    NC     90014690382
82631246597B68   AIOTEST1     DONOTTOUCH                   CO     90015122465
8263199966194B   JOSLYN       TAYLOR                       CA     46071929996
826322A2247822   SHAKEVIA     BILLUE                       GA     90014182022
8263231468B154   GRACIELA     MARTINEZ                     UT     90010343146
8263235395B139   KIMBERLY     AVERY                        AR     90008863539
82632598672B29   ALBERT       MCFALL                       CO     90012985986
8263286946B871   CAROLYN      TURNER                       WI     90015518694
82633246597B68   AIOTEST1     DONOTTOUCH                   CO     90015122465
82633341A72B62   ROSALBA      MORALES                      CO     33067863410
8263347298B163   CECILIA      BARRERTO                     UT     90013624729
82633818472B44   JOHN         CONRAD                       CO     90012448184
82633835A5B532   YVONNE       MARTINEZ                     NM     90007908350
82633A71981677   JESSIE       RIVERS                       MO     90013550719
8263457766194B   HUGO         ORGANES                      CA     90014845776
82634642476B65   CHELSEA      HIGUERA                      CA     90002906424
826349A7791323   ERNESTINE    WHITMILL                     MO     29087169077
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1161 of 2350


82635483797B3B   MEREDITH     LEATHERS                     CO     90013614837
8263559714B22B   AKOI         MAYN                         NE     90012465971
826355A425B183   JODY         LUCHINSINGER                 AR     90013065042
8263693359154B   DORA         TAPIA                        TX     90015109335
82636993776B65   GLORIA       LUNA SANCHEZ                 CA     90013039937
82636993976B68   MICHELLE     MONTGOMERY                   CA     90013459939
82636A36A47822   JARODNNY     STUBS                        GA     90014670360
8263717262B256   ELLIIOT      NEELSON                      DC     90004411726
8263764689154B   PERLA        VILLAREAL                    TX     90014166468
82637771572B44   ALEX         LOPEZ                        CO     90000887715
82637A54661928   ROSARIO      RAMIREZ                      CA     90003810546
82638166372B44   RICARDO      CAMPOS                       CO     33063211663
82638246597B68   AIOTEST1     DONOTTOUCH                   CO     90015122465
8263887A997B38   LARISA       GRIMALDO                     CO     39008118709
82638A1478B154   KAVATAKUA    MALU                         UT     90014260147
8263958532B256   WALELIGN     YERKO                        DC     90005115853
826397AA65B183   ASHLEY       CAMPBELL                     AR     90012937006
82639857972B74   TAYLOR       DAVID                        CO     33034428579
82639872172B62   WILLIAM      CHENGELIS                    CO     33011748721
8263B2A9297138   SHANNON      MOON                         OR     44062312092
8263B42778B168   THOMAS       MIDDLETON                    UT     31093964277
8263B683591837   SHANDRA      LANGLEY                      OK     90012786835
8263B815881677   NATALIE      PETERS                       MO     90014688158
8264119145B342   JOSE LUIS    VILLASENOR                   OR     90004281914
8264125859154B   KRISTEN      RODRIQUEZ                    TX     90014602585
826412A1385936   ISSAC        QUIROZ                       KY     90013752013
8264146A972B29   ILLETA       MARSHALL                     CO     90006154609
82641735372B29   ILLETA       MARSHALL                     CO     90011077353
8264198168B166   AMANDA       GREENHALGH                   UT     90000419816
8264253938B168   JOSHUA       WHITTON                      UT     90012245393
82642943972B33   PLOEUNG      THOCK                        CO     90012669439
82642AA9297138   VINCE        FOUTS                        OR     90004320092
82643A72A85936   RICHELLE     CLAY                         KY     90005950720
82644246897B68   AIOTEST1     DONOTTOUCH                   CO     90015122468
8264468258B163   JESSE        ANDERSON                     UT     90014616825
82644958472B44   MATTHEW      BILLINGS                     CO     33017439584
8264559A15B581   CRISTOBAL    CASTILLO                     NM     90000695901
8264597954B22B   PATRICK      GIBBONS                      NE     90011529795
82646245272B33   RAQUEL       HERNANDEZ                    CO     90006822452
826462A5784325   STEPHANIE    JACINTO                      SC     90010172057
8264637526194B   ANDREA       HARRELL                      CA     90013513752
8264712185B581   CYNTHIA      BROYLES                      NM     35076851218
82647246897B68   AIOTEST1     DONOTTOUCH                   CO     90015122468
8264732398B168   BRITTENY     HERNANDEZ                    UT     90011273239
8264739485B153   FRANCES      HUTCH                        AR     90012053948
8264788914B22B   BETTY        WILLIAMS                     NE     27083208891
8264825425B326   JULIA        SHANNON                      OR     44562762542
8264948685B139   LATRINA      LEWIS                        AR     23019714868
82649661372B29   JUSTIN       COPELAND                     CO     90001796613
826497A2397138   JOHN         PFINGSTEN                    OR     90010897023
826498A856194B   MELINA       PINO                         CA     46075808085
82649A77572B44   ROGELIO      NAVARRETE                    CO     33030030775
8264B158997138   BRENDA       MEYER                        OR     44079561589
8264B189481677   ISAC         GRAVES                       MO     90015041894
8264B19185B241   NICOLE       BONNER                       KY     90009871918
8264B1A8593771   MARTIN       WILSON                       OH     64587741085
8264B774572496   PAUL D       BAIR                         PA     90011727745
8264B77785B153   TARAH        JOHNSTON                     AR     90009077778
82651246897B68   AIOTEST1     DONOTTOUCH                   CO     90015122468
82651493276B68   ROSALBA      LOBATO                       CA     46073484932
8265154648B154   BRYAN        NIELSEN                      UT     90011765464
8265172428B163   JAMIE        PRESCOTT                     UT     90015167242
82652316172B33   ANGEITA      SEPEDA                       CO     90015143161
8265235415B581   JOSE         GUSTAVO                      NM     35007633541
8265247645B24B   JOHNATHON    OWEN                         KY     90014074764
8265266895B326   CLEO         GRIER                        OR     90009376689
8265276694B22B   AURELIA      DEAN                         NE     90012397669
82653246897B68   AIOTEST1     DONOTTOUCH                   CO     90015122468
82653444A91837   ANDREW       BOYKIN                       OK     90012814440
82654246897B68   AIOTEST1     DONOTTOUCH                   CO     90015122468
826547A3581627   PATRICIA     STEVENS                      MO     29072267035
826548A5A41262   JEREMY       ANDERSON                     PA     90012538050
82654A43891975   JAMES        MOORE                        NC     90014700438
82655543A72B62   LORIE        THEOBALD                     CO     33070725430
8265554875B326   NORMA        LOPEZ                        OR     90010475487
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1162 of 2350


8265592A571977   AMELIA       GARCIA                       CO     38084229205
8265617A25B326   TERESA       PIERCE                       OR     90014011702
82656246897B68   AIOTEST1     DONOTTOUCH                   CO     90015122468
82656436776B68   KETRIC       DAVIS                        CA     90014994367
8265676728B168   TINIBETH     CHAVEZ                       UT     31000367672
82657247397B68   AIOTEST1     DONOTTOUCH                   CO     90015122473
82658557A76B65   JOSE         CORTEZ                       CA     90015135570
826594A7281627   EULUS        MCCLAIN                      MO     90015204072
8265B2A7781677   TARA         XILOJ                        MO     90009472077
8265B3AA276B65   VICTOR       MORAN                        CA     90012943002
8265B53738B163   SHELBY       LUCERO                       UT     31092995373
8265B577391975   LAURA        ESTRADA                      NC     90006685773
8265B5A7397B68   MARIA        CORNELIO                     CO     33000705073
8265B65949154B   JESUS        BAUTISTA                     TX     90014166594
8265B78155B183   ERICKA       CLINKSCALE                   AR     23030197815
8265B937961971   BRENDA       ALVAREZ GARCIA               CA     90010959379
8265BAAA472B33   NANCY        LOPEZ                        CO     90013800004
82661247397B68   AIOTEST1     DONOTTOUCH                   CO     90015122473
8266154516194B   MARIE        SANTANA                      CA     90011025451
8266158625B153   AMBER        KIMBROUGH                    AR     90010965862
8266169838B154   FRED         PEACOCK                      UT     90012586983
8266189265B24B   JOESEPH      BRASFIELD                    KY     68002758926
82661917A72B44   CRISTAL      CORONADO                     CO     90014179170
82662122172B29   FRANCISCO    LANDEROS                     CO     33058621221
826621AA398B34   DARIO        PACHECO                      NC     90012741003
82662317972B62   ERENICE      GONZALEZ                     CO     90008003179
82662441976B68   ADELA        CARBATAL                     CA     46057594419
82662A1858B154   ALEX         ELVIRA                       UT     90013230185
82663247397B68   AIOTEST1     DONOTTOUCH                   CO     90015122473
826632A838B154   ARGELIA      SERRANO                      UT     31084952083
8266379432B86B   KEITH        MAHANA                       ID     90009237943
82663A66777537   GARCIA       MANUEL                       NV     43040900667
8266495614B22B   REED         JOYCEALON                    NE     27036399561
82664978872B44   LUCIANO      MAYORGA                      CO     33015579788
82664A25551362   MARTINA      ROOS                         OH     90008420255
82665158272B62   JOSE         CARDENAS                     CO     90007181582
8266535395B581   BASILISA     RAMIREZ-MIJARES              NM     90013923539
8266536399154B   NICHOLAS     LOPEZ                        NM     75009213639
82665934372B44   GINA         ORTEGA                       CO     33027519343
82665A37A5B581   SARAH        RUDOLPH                      NM     90014850370
82666443476B65   YENINE C     OROZCO                       CA     90013834434
82666536972B29   KIRTLAND     MAX                          CO     33000305369
8266653784B967   HORACIO      CEVALLOS                     TX     90004595378
8266677219154B   BARBARA      SALAS                        TX     75043617721
8266685215B24B   BREONNA      ZINNINGER                    KY     90013618521
826673A1A61928   MAK          LEVEELL                      CA     46038883010
82667878472B29   DENISE       BLUE                         CO     33074908784
82668213576B97   OMAR         MARTINEZ                     CA     46050262135
826689A2471977   ANNETTE      TRUJILLO                     CO     90013949024
82669639276B97   GLORIA       MORRIS                       CA     90012486392
8266989AA7192B   DAVID        DOWNS                        CO     32011128900
8266B247397B68   AIOTEST1     DONOTTOUCH                   CO     90015122473
8266B613497138   TOSHA        BALDWIN                      OR     90013246134
8266B94865B326   LETICIA      MARTINEZ                     OR     90015239486
8266BAA6276B68   FERNANDO     VELASCO                      CA     90015380062
826712A2785936   NIKITTA      HUTCHINSON                   KY     90010422027
8267136718B154   CHELSE       DRAPER                       UT     90014053671
82671411576B97   STEVE        MAIER                        CA     90002304115
8267153729154B   STACI        PRADO                        TX     90012875372
82671A7A797B68   JUAN         SANCHEZ                      CO     33004640707
82672171A93771   DENNIS       WITTEN                       OH     90015321710
8267222AA6194B   JAVIER       SANTANA                      CA     90007262200
82672247397B68   AIOTEST1     DONOTTOUCH                   CO     90015122473
82672287497B38   RAMON        ZAMBRANO                     CO     90012812874
826723A568B163   TRINI        BAILEY                       UT     90011403056
8267277778B163   ESTEFANY     ALZAGA                       UT     90014527777
82672A9AA93771   TIARA        HALL                         OH     90014580900
82673526A9125B   SATIN        ROSS                         GA     90007785260
826737A8141262   DENNIS       MCCLAIN                      PA     51014507081
82674942397B3B   CRYSTAL      FEIT                         CO     90014649423
82674A63291979   JANDY        CLEMMONS                     NC     90013900632
82674AA8847897   KEMESHIA     MITCHELL                     GA     14027950088
8267557445B153   LEE          DUNCAN                       AR     90015105744
82675652A71964   OLGA         AZBES                        CO     90009906520
826756A7597B38   JENESSA      ROSENBACH                    CO     90013976075
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1163 of 2350


82675A69576B68   ALLAN        HIGGINS                      CA     90012740695
82675A88176B97   IRVING       ROSALES                      CA     46046420881
8267612995B326   ALICIA       MONTES                       OR     90006221299
8267664264B967   VILLEDA      ORTEGA                       TX     90005166426
8267678A951362   DENNIS       BALLINGER                    OH     90014207809
8267715468B154   LORI         ADY                          UT     31093431546
82677662376B68   DAVID W      DENMARK                      CA     90010276623
8267786825B581   ARTHUR       MARTINEZ                     NM     90015098682
82677934276B65   JUAN         RIVERA                       CA     90014839342
82677A74441275   QUTI         BROADUS                      PA     90011120744
82678247397B68   AIOTEST1     DONOTTOUCH                   CO     90015122473
82678514172B44   KELLY        CLINE                        CO     33015805141
82679235A97138   JAIME        OLEMON                       OR     90013322350
8267971585593B   MARYLOU      RIVERA                       CA     48093507158
8267B145172432   ROBBIE       HARBAUGH                     PA     90013941451
8267B638476B68   BROOKS       LORENZO                      CA     90012126384
8267B742433698   ALLEN        MCCRAY                       NC     12082197424
8267B84A347825   MARQUITA     MARTIN-JONES                 GA     90002468403
8267B852847897   AMBA         BAXTER                       GA     90009248528
8267B86825B581   ARTHUR       MARTINEZ                     NM     90015098682
8267BA52897B68   HECTOR       MARTINEZ                     CO     90013970528
8268134368B168   NICHOLE      HAKANSON                     UT     31016513436
826815A5791979   TIZTEW       KASSAHUN                     NC     90013435057
8268184265B581   OLGA         CORONEL                      NM     35090908426
8268269A35B581   OMAR         CANALES                      NM     90001896903
82682AAA833698   ASHLEY       FARRAR                       NC     90014090008
8268397465B183   SHANA        BROWN                        AR     90015219746
82683AA5761994   SONIA        ORTIZ                        CA     90007610057
82684159776B68   TYLER        PATE                         CA     90012301597
826841A475B24B   WAYNE        STOUT                        KY     90013561047
826842A616194B   AURORA       BELTRAN                      CA     90013722061
8268434432B981   MISTY        GAGE                         CA     90008093443
8268442A271977   JULIE        BROUSSARD                    CO     90008734202
8268468869154B   ENRIQUE      CHAVIRRA                     TX     90014166886
826847A285B153   GABRIEL      LUNA                         AR     23074137028
8268488552B271   IKEA         PRICE-BAY                    DC     90002008855
826848A6A4B57B   ERASMO       AGUSTIN MONROY               OK     90010958060
8268517847192B   DEZSA        HALASIKUN                    CO     32074911784
8268684815B326   SUSANA       MENDOZA                      OR     90010648481
82687466A5B139   FREDDIE      LEE                          AR     23025784660
82687634176B68   HAYDEE       ZAVALZA                      CA     90014076341
8268769468B163   KINNON       HATCH                        UT     90014956946
826876A2997B68   KRYSTAL      SHOPTEESE                    CO     90007896029
8268786762B256   PHILLIP      BLAKE                        DC     90000258676
82688248197B68   AIOTEST1     DONOTTOUCH                   CO     90015122481
8268858525B581   YOLANDA      RODARTE                      NM     90013575852
82688A33197B38   RAMON        GUTIERREZ                    CO     39014220331
8268B127781677   CHERICE      DREW                         MO     90013961277
8268B2A675B24B   DONTANE      NEAL                         KY     90014552067
8268B43A747822   BONNIE       HARRIS                       GA     90009664307
8268B44293B371   ALMA         GABRIELA SANCHEZ             CO     33071284429
8268B78564B27B   PETER        GILL                         NE     27042627856
8268BA76641262   WILLIAM      BLAKELY                      PA     90013120766
82691248197B68   AIOTEST1     DONOTTOUCH                   CO     90015122481
8269149625B24B   AYRES        SAMUELS                      KY     68027544962
826915A2676B68   APOLINAR     NERI                         CA     90015335026
826916A1291837   AMY          POINDEXTER                   OK     90012336012
82691746576B97   ELIAS        RIVERA                       CA     90010937465
8269356857B359   JOHNNY       DUENAS                       VA     90009385685
82693729A5B183   CHARLES      WILLIAMSON                   AR     90012767290
82693963A41275   DAVID        GONZALES                     PA     90015139630
82694248197B68   AIOTEST1     DONOTTOUCH                   CO     90015122481
82694595272B62   ALMA         MEDINA                       CO     33023345952
82695248197B68   AIOTEST1     DONOTTOUCH                   CO     90015122481
82695282576B65   KARINA       ARELLANO                     CA     90006812825
82695522372B33   RODNEY       SWIFT                        CO     33059595223
82696121572B29   SELENA       ALVEAR                       CO     90011001215
82696126A61928   CECILA       CASTRO                       CA     90011511260
82696248197B68   AIOTEST1     DONOTTOUCH                   CO     90015122481
82696355972B44   JOSE         PALMA-MADRID                 CO     90010833559
8269679AA4B22B   CONSTANCE    SHELLY                       NE     90014347900
8269712995B326   ALICIA       MONTES                       OR     90006221299
8269742A172B44   EVELYN       ARCHULETA                    CO     90004434201
8269834615B581   MICHELLE     GRIEGO                       NM     90014123461
8269898A62B271   MARIO        RICHARDSON                   DC     90005679806
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1164 of 2350


82699794A72B29   IVONNE       HERNANDEZ                    CO     33085657940
8269B197A81677   REBECCA      VOORHEES                     MO     90008001970
8269B248197B68   AIOTEST1     DONOTTOUCH                   CO     90015122481
8269B394872496   ANGELINA     CARSON                       PA     51062803948
8269B4A6661928   ROSA         FLORES                       CA     90013814066
826B1615272432   JAMES        CHANEY                       PA     90013636152
826B1733585856   RODOLFO      SAWI                         CA     46010587335
826B1949297B38   CORINA       MADRID                       CO     39021239492
826B2321497B3B   JENNIFER     MURPHY                       CO     90013693214
826B2362181677   CHAD         CROUCH                       MO     90014703621
826B2417872496   BRADEN       YARTZ                        PA     90010034178
826B2616585856   JAMIN        GOMEZ                        CA     90002986165
826B263699154B   GABRIELA     SHIMSHOCK                    TX     90014166369
826B322615599B   GERARDO      ESTRELLA-BRAVO               CA     49037852261
826B3246197B68   AIOTEST1     DONOTTOUCH                   CO     90015122461
826B33AA585936   CINCERE      WEBB                         KY     90015153005
826B3414247822   TERESA       DAVIS                        GA     14081624142
826B3587A51362   BONNIE       DAUGHERTY                    OH     90014185870
826B3728161928   ESTELLA      CAMOU                        CA     90006947281
826B3762797B38   KAREN        GARLAND                      CO     39001357627
826B3AA275B153   ROBERT       MITCHELLL                    AR     90010100027
826B4197381627   KAREN        JOHNSON                      MO     90014151973
826B4376177537   PAUL         GEAUDREAU                    NV     43051613761
826B44A2372496   DAMON        THIEL                        PA     90014814023
826B463719154B   TOMAS        GAYTAN                       TX     90014166371
826B4859972B62   ROBERT       ANDERSON                     CO     33021038599
826B494816194B   LAURA        WHITE                        CA     90014159481
826B5235A72B62   CORINA       LOZANO                       CO     90008502350
826B5539A72B44   ANGEL        PEREZ                        CO     90015115390
826B5663461935   ANDRE        LOTT                         CA     90009096634
826B6697176B68   STEVE        ALANZO                       CA     46081886971
826B77A4191979   GABRIELA     MENDOZA VILLA                NC     90011457041
826B789485B581   YESIKA       MENDEZ                       NM     90015108948
826B8246197B68   AIOTEST1     DONOTTOUCH                   CO     90015122461
826B8314591837   CARLA        SKORA                        OK     21074703145
826B8325A7B333   FEKERTE      SHIFERAW                     VA     90006543250
826B8381172432   AARON        DATES                        PA     51077903811
826B841553B38B   CHAMROEN     DUL                          CO     90012174155
826B84A285B125   ANTHONY      HOWARD                       AR     90000614028
826B8A92461928   JOSEPH       OBEZO                        CA     90014590924
826B9532947822   LATOSHA      CLEMENTS                     GA     90006985329
826B9589476B97   BRANDON      PEREZ                        CA     90012695894
826B9857A72B62   JUANA        SALAZAR-CABRERA              CO     33091548570
826B9AAA381677   LUIS         SAAVEDRA                     MO     29030710003
826BB276276B97   ELIZABETH    SANCHEZ                      CA     90010282762
826BB48A191242   WILLIAM      STOKES                       GA     14570454801
826BB816672B33   CRAIG        GEDDIS                       CO     33052348166
826BB8A5591975   ARTURO       EZEQUIEL                     NC     90013668055
826BB945A85936   EDGAR        GARCIA                       KY     90013609450
826BBA32371977   JEANETTE     VIALPANDO                    CO     90004020323
8271112A561928   SALVADOR     MORENO                       CA     90014591205
82711329772B33   LAVERT       MORRIS                       CO     90011753297
82711737A91242   WILLIE       ALLEN                        GA     90009947370
8271182215B153   TARA         ROGERS                       AR     90013838221
8271212AA97B68   GLORIA       FERNANDEZ                    CO     90015151200
8271219748B162   BRANDON      CRANDELL                     UT     90009471974
827121A375B24B   NOEL         DRAPER                       KY     90007471037
827121A4497B38   IGNACIO      CASIAS                       CO     90000841044
82712729472B99   AMBER        BEASLEY                      CO     90001037294
827128A8761928   MARTIN       DIAZ                         CA     90013498087
82712A86877537   MARGARITA    SALDANA-MENA                 NV     90012290868
827131A5A41262   VICKIE       WHANGER                      PA     90012391050
8271323A56194B   JONAH        DENNIS                       CA     90010292305
8271331169154B   BRISSA       GARCIA                       TX     90014733116
827137A2A41275   GREG         HOWARD                       PA     90010857020
82714651133B26   CLEMENTE     GUTIERREZ                    OH     90014376511
82714822297B38   JAIME        MUNOZ                        CO     90009108222
8271496A385936   ALISHA       GAMBLE                       KY     90013599603
8271513965B326   ROBERT       STROMER                      OR     90014671396
82715449A91868   SHERRIE      HAMILTON                     OK     90013904490
827158A116194B   DAVID        NEWNAM                       CA     90013838011
82716154A47822   VALERIE      RICHARDSON                   GA     14046951540
8271634125B153   JONATHAN     LOVING                       AR     90014873412
82716692776B65   SHAMROCK     DANIELS                      CA     90013776927
82716A76291242   NICOLE       SMALL                        GA     90010190762
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1165 of 2350


827171A3A72B62   TABITHA         BAKER                     CO     33011221030
82717712476B65   MILTAN          HUDGENS                   CA     90012897124
82717831697B3B   TERRANCE        WASHINGTON                CO     90002348316
82717A37991979   MARQUIS         WILFONG                   NC     90004970379
82718236172B29   KEVIN           BOND                      CO     33014822361
82718338654B4B   JULIO           HERNANDEZ                 VA     90001123386
827183A3776B65   TATIANA         LOPEZ                     CA     90013963037
8271869159154B   ESPERANZA       ZACARIAS                  TX     90010676915
82718A27A8B163   CARLOS          VALENZUELE                UT     90011960270
82719461972B44   ANITA           LEON                      CO     90001464619
827196A9397B38   STEVEN          MEIER                     CO     90003926093
8271975265B581   DANIELLE        GUILLEN                   NM     35072297526
8271993AA91975   CHRISTOPHER     ROBINSON                  NC     90005069300
8271B364476B65   JAMES           GARETT                    CA     90010543644
82721319776B97   JULIA           PADILLA                   CA     90013493197
8272168279154B   AUDIEL          PALACIOS                  TX     90012516827
82721946A97B38   TRISTAN         BENAVIDES                 CO     90013879460
82721A96741262   MYRTLE          WALKER                    PA     90013920967
82721AA3A72B62   SHARON          DORCKIS                   CO     90013060030
8272265765B153   JACKIE          ANGEL                     AR     90011516576
82722987176B65   LIBORIO         RAMOS                     CA     46064709871
8272318218B163   MARCUS          BURNSIDE                  UT     90014781821
8272342425B581   ALEX            BOND                      NM     35003544242
827234A455594B   JOE             PEARSON                   CA     90011794045
82723631572B62   ALFREDO         UDINO                     CO     33029916315
82723696597B68   RIGOBERTO       VALLES                    CO     33072416965
8272396665B326   ALEX            HAINES                    OR     90013459666
8272492319154B   PATRICIA        TERRAZAS                  TX     75004899231
82724A4A86194B   ALEJANDRA       FERNANDEZ                 CA     46035380408
82724A4A872496   STEVE           STANFORD                  PA     51068830408
8272528594B967   RHODA           BOYD                      TX     76500832859
8272536454B561   WALLACE         MOYE                      OK     90012933645
82726234A91525   MARIBEL         JURADO                    TX     90005872340
8272652A85B382   GLEN            BUFTON                    OR     90006235208
8272692375B153   CARRIE          WYRE                      AR     23081179237
82726A44685936   ROSHONDA        CLARK                     KY     67022340446
8272731356194B   SEAN            IRVING                    CA     46028103135
827273A2247822   STACY           JONES                     GA     14034683022
82727671972B44   LETICIA         SUSANO                    CO     33074786719
8272788355B153   LILIANA         GRANA                     AR     23089768835
8272828A397B3B   ANGELICA        CRUZ                      CO     39003082803
82728354A4126B   BRIAN           FREEMAN                   PA     51062713540
8272847445B153   VIVIAN          DENDY                     AR     90014844744
82728817A47822   LATIFAH         CLARK                     GA     90014708170
82728842397B68   CESAR           RAMOS                     CO     90002168423
82728945272B29   JANEL           MONTOYA                   CO     33038129452
8272928463163B   THOMAS          BLOOM                     KS     90010902846
8272998925B24B   DONNA HUGH      MCKENZIE                  KY     68049289892
8272B28228B168   ISSAC           VARELA                    UT     90009282822
8272B611872B62   JULIO           SOLAR                     CO     33073596118
82731249197B38   CELINA          MALTOS                    CO     39044042491
8273159748B168   ERIC            CHAVEZ                    UT     90010015974
8273173A491525   ROSA            HERRERA M                 TX     90003207304
82732863697B3B   MAGGIE          HENDERSON                 CO     90009488636
8273289495B581   PATRICK JR      SAIS                      NM     90014858949
82733189997B68   MARK            MULLALLY                  CO     33083341899
82733759497B3B   JESUS           VELASQUEZ                 CO     90000467594
82733846772B33   RAQUEL          HERRERA                   CO     90013598467
8273438A55B183   JUSTIN          SINKEY                    AR     23001263805
827343A6191975   SAMAIAH         PERAZA                    NC     90012783061
827349A3747822   WHITNEY         INGRAM                    GA     90014709037
8273632662B271   KEMILY          STANCIL                   DC     81083993266
82736848176B65   PAMELA          PAUL                      CA     90010548481
82736948276B68   NORMA           HERNANDEZ                 CA     90010329482
82736A9459154B   ROSA            BOSQUEZ                   TX     90011310945
827373A278B154   MERANDA         GREENHALGH                UT     90013513027
82737A15376B68   DIANA           ORTIZ                     CA     90014900153
82738856276B65   DANIELA         HERNANDEZ                 CA     90010548562
82738963A76B68   IRVING          VILCHIS                   CA     90013019630
8273896535B326   IRMA            SERRANO                   OR     90002209653
82738A45172432   THOMAS          DUNCAN                    PA     90005220451
82739328197B38   MICHELLE        ORNELAS                   CO     39034923281
82739813A9154B   CHRIS ALBERTO   GARAY                     TX     90012178130
82739A2A35B183   LESLEY          WILLBANKS                 AR     90011050203
82739A71581677   DELMY           AYALA                     MO     90012140715
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1166 of 2350


8273B1AA971977   ADRIENNE        TAKASH                    CO     90015211009
8273B761697B38   VICTOR          HENRIQUC-PINEDA           CO     90000137616
8274131957192B   DENA            HODER                     CO     32056623195
82741A67A5B326   JOHN            TORCK                     OR     90000510670
82742548276B68   ALBERT          BLAKE                     CA     90013105482
827427A589154B   EVELYN          PORTILLO                  TX     90014167058
82742977176B65   MARIA           SOTO                      CA     90014839771
82742A7445597B   SABINO          ROCHA MORALES             CA     90007780744
82742A99285936   BRIGITTE        POWELL                    KY     67016720992
82743529297B68   KELVIN DANIEL   LOPEZ                     CO     90010275292
82743A6822B256   TINA M          MOULTRIE                  VA     90005300682
8274412AA61963   PATRICIA        OTANEZ                    CA     90008821200
8274445252B981   DAWN            LUGO                      CA     90012214525
827448AA747822   KAWANDA         JACKSON                   GA     90014718007
827452A8591979   KIMBERLY        ELLIS                     NC     90005332085
82745643672B29   MARICELA        SOTELOO                   CO     90009166436
82745921372B44   FRANCISCA       BARRON                    CO     90002429213
82746351376B68   ALBERTO         HERNANDEZ                 CA     90013733513
8274677744B22B   WILLIAM         HADDAD                    NE     90009957774
8274699365B326   JOEL            WARREN                    OR     90002209936
8274753345B581   LOREN           GALAVIZ                   NM     90003025334
82748138A61928   ELISABETH       BINDER                    CA     90011301380
8274923522B271   TRACY           HOLMAN                    DC     90004352352
82749266A9154B   MARTHA          ANAYA                     TX     90015082660
8274B196276B68   MARIA           DELGADO                   CA     46046081962
8274B28817192B   PAULINE         GUZMAN                    CO     32056622881
8274B49A191523   ROSA            MAESE                     TX     90008634901
8274B97558B154   LORA            THOMPSON                  UT     90011929755
82751571A6194B   DAVID           VASQUEZ                   CA     90008525710
82751698A61928   CHRISTIAN       HURTADO                   CA     90014816980
8275184415B24B   CRYSTAL         HOME                      KY     90013998441
8275195782B256   NAVITIE         BEAL                      DC     90014519578
82751A9769154B   VIRGINIA        CARDENAS                  TX     75013010976
82752286397B68   JUAN GARCIA     PEREZ                     CO     90013272863
8275247615B24B   ISRAEL          AGUIRRE                   KY     68054994761
827524A725B326   SARAH           SPICER                    OR     90012454072
82752684172B33   SHAWN           RIVERA                    CO     90011206841
8275275A99154B   RODOLFO C       ARANDA                    TX     75069437509
8275298A477537   GREGORY         KACMAR                    NV     90009879804
82753A39685856   SHARON          CLARK                     CA     90012940396
827542A3376B97   DARWIN          BULLOCK                   CA     46090912033
82754535672B21   TAMMY           HERRERA                   CO     90001245356
82754596A97138   DAISY           BERLIN                    OR     90013045960
827545A5881677   BARBARA         CRUTCHFIELD               MO     90014665058
82754837A5B581   LEONCIO         SHARPPE                   NM     90013918370
827548A5972B44   ARELI           VELASCO                   CO     90013548059
82754AA2947822   CHRISTINA       HAMPTON                   GA     90014720029
82755896976B65   CARLOS          SANTOS                    CA     46018698969
82755A2235B326   LORENZA         MENDOZA                   OR     44538610223
8275612389154B   ERIC            JIMENEZ                   TX     90012921238
8275628A191979   IMELDA          CRUZ                      NC     17020642801
8275654A772B33   CRISTAL         MIRELES                   CO     90011305407
8275676165B568   MIREYA          REYES                     NM     90010597616
8275678192B956   ENRIQUE         GOMEZ                     CA     90012157819
827574A158B163   JASON           VILLARREAL                UT     90013834015
82757728976B65   LIZBETH         PADILLA                   CA     90012967289
827579A6772B44   EDER            VALDEZ                    CO     90007999067
8275863259154B   ARACELI         RODIGUEZ                  TX     90014196325
8275912915B24B   JAMES           FRANCIS                   KY     90006731291
8275946517B635   KRISTA          KIMBLE                    GA     90010354651
8275B26215B921   SHERRI          LAMB                      WA     90015372621
8275B4A1472432   LYNN            HAMMER                    PA     51034274014
8275B545176B45   EDUARDO         AGUILAR                   CA     90005905451
8275B998472B44   DESIREE         STANGE                    CO     90008329984
82761354572B44   DARLENE         ROMERO                    CO     33030803545
827614A3A61983   SOFIA           MARTINEZ                  CA     90013734030
82761661297B3B   GABERIELLA      SANCHEZ                   CO     90009996612
82762191876B68   PASCUAL         LOPEZ                     CA     90013351918
82762327A72B33   JULIUS          JACKSON                   CO     90013013270
8276331719154B   APRIL           DIAZ                      TX     90012413171
8276348615B581   FATIMA          ORNELAS                   NM     35046814861
82763786A61928   SIJILFREDO      RIOS                      CA     90009507860
82763882472B29   TABITHA         WISDOM                    CO     33096668824
82763A12576B97   NATE            SMALL                     CA     46036470125
8276433A791869   AMBER           PIERCE                    OK     90012013307
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1167 of 2350


82764414772B44   SYEDA         AHMED                       CO     90008834147
827646A8181677   WILLIAM       MITCHELL                    MO     90014726081
8276512642168B   BRANDON       WILSON                      OH     90014581264
82765261A71977   JEREMY        BRAY                        CO     90012322610
82765266376B97   NANCY         ESTRELLA                    CA     90010922663
82766111A71977   LORAINE       MARTINEZ                    CO     90010011110
82766119A5B153   ANA           MURPHY                      AR     90014601190
827664A7176B68   BRADLEY       KELSO                       CA     46046444071
8276699A54B261   JUDITH        STIEFEL                     NE     90007359905
82767293A97138   MARY          BENAVIDEZ                   OR     44050112930
8276777A476B65   SUSAN         LEE                         CA     90011027704
82767938A77537   ANGELA        BENSON                      NV     43097729380
8276839A872B29   ADRIAN        FLORES                      CO     90012093908
82768526A47822   QUONSHAUNDA   FOSTER                      GA     90014745260
8276923285B326   JUAN          HERNANDEZ                   OR     90011542328
8276928895B153   JASMINE       WATSON                      AR     90011012889
8276967375B153   JASMINE       WATSON                      AR     90012826737
82769934A81627   RONI          SIMMINS                     MO     90008499340
8276B227597B38   NICHOLAS      TRUJILLO                    CO     39007272275
8276B282191525   VICTOR        SAENZ                       TX     75051392821
8276B482A85936   ANGELA        GAINES                      KY     90010204820
8276B584A5B581   JOANNA        SABAQUE                     NM     90011155840
8276B744861928   MARCHE        WILLIS                      CA     90011467448
8276B7A8472B33   NORMA         GONZALEZ                    CO     33089937084
8276B931371977   LARRY         ROMERO                      CO     90011309313
8276B973481677   PANYA         LEWIS                       MO     90011679734
8277134A891975   WENDY         LOPEZ                       NC     90015293408
8277159536194B   JOHANA        DURAN                       CA     46012665953
82771788876B65   LUIS          RUIZ                        CA     46006397888
82771971876B68   SALOMON       LOPEZ                       CA     46068689718
82771A2838B154   JUAN          RODRIGUEZ                   OR     31018020283
8277211A35B24B   TABITHA       CLYBURE                     KY     90014301103
8277219325B326   PERFECTO      CAB PACAB                   OR     90005011932
8277239914B22B   MARLA         FERNANDEZ                   NE     27094073991
827724A6A2B86B   LUPITA        TAMEZ                       ID     90010154060
827725A8547822   TOYA          BLACK                       GA     90009845085
8277273635B581   CESAR         RODRIGUEZ                   NM     90012887363
8277392218B154   CAROLINE      NAU                         UT     90012959221
82773A1A476B97   EMMA          GUZMAN CARILLO              CA     90008190104
82774557872B44   RICARDO       CALLEJA                     CO     90013655578
8277494A97192B   SANTIAGO      BACENAS                     CO     32021159409
8277497885B338   LIBERTY       ADAMS                       OR     44517749788
8277546966194B   BRIAN         CLEERE                      CA     90007034696
82775862176B68   SERGIO        FLOREZ                      CA     90012948621
82775A6A891975   EVA           CHEER                       NC     90002970608
82776317172B29   RICARDO       SANTOS                      CO     90009063171
8277669A131449   MELONIE       POWELL                      MO     90008306901
8277671A597121   LIZBET        GARCIA                      OR     44004127105
82776828A91975   TAWANYA       SMITH                       NC     90014318280
827769A9961467   APRIL         WARD                        OH     90015159099
82776A59985936   BOBBIE        WESTFALL                    KY     90002570599
82776AAAA31651   CHRISTOPHER   GARDINIER                   KS     90009170000
827772A6841251   HEATHER       MELLINGER                   PA     90008242068
8277767349154B   CESAR         DUARTE                      NM     90015006734
8277793959154B   MARCELA       TELLEZ                      TX     75046129395
82777A19172432   TAWANA        FIELDS                      PA     90007010191
82777A9A95B581   BILLY         ROYBAL                      NM     90011960909
82778115972B33   JOSE          RIZO                        CO     90010911159
8277881192B271   JOHN          HANCOCK                     DC     90012358119
82778837A5B581   LEONCIO       SHARPPE                     NM     90013918370
82778A36297B68   PASCACIO      TORRES                      CO     90009280362
82778AAA972B44   LORI          MONTALBANO                  CO     90009840009
8277924A95B183   ARKTAVIUS     CARTER                      AR     23043612409
8277B225281671   SHANNON       NOVAK                       MO     29020132252
8277B634172496   ROYAL         FINCH                       PA     90010056341
8277B776472496   AUTUMN        MARTIN                      PA     90014667764
8277B7A515B326   MARIA         MANCERA                     OR     44501667051
8277B847285856   AIOTEST1      DONOTTOUCH                  CA     90015128472
8277B934297138   ARMANDO       LAMAS                       OR     90010619342
8277B9A665B24B   JEAN          ST CLAIR                    KY     90014299066
82781258776B68   LILIANA       GARNICA                     CA     90010442587
8278139728B154   DEBRA         DAVIES                      UT     90014013972
8278235A791979   SHOLANDA      WILLIAMS                    NC     17025813507
82783132172B62   ISAAC         MONTES-RESENDIZ             CO     90013351321
82783183A72B29   JASMIN        DOTSON                      CO     90006951830
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1168 of 2350


8278339915B153   AMY             LEHNHERR                  AR     90014683991
82783526872B44   MAGDALENA       OCAMPO JIMENEZ            CO     33081655268
82783936A85936   MICHELLE        INGRAM                    KY     90012519360
8278478845B183   KEITH           WIGGINS                   AR     23037887884
82784A2195B24B   LAWRENCE        RATCLIFFE                 KY     68015840219
82784A58176B97   RAMON           MUNOZ                     CA     46041000581
8278536444B265   JESSICA         HATCHER                   NE     27075453644
8278567A376B97   GILDARDO        BASURTO                   CA     46002376703
82785A62191525   RUBEN           RODRIGUEZ                 TX     75062520621
82786221A72432   ELANIA          RUSSO                     PA     90014312210
827862A887B467   SAMUEL          RIVAS                     NC     90004292088
82786623597B68   PAYGO           IVR ACTIVATION            CO     90011786235
8278663786194B   RASARIO         SARAY RITO                CA     46097236378
8278681398B163   IREANE          GARCIA                    UT     90010348139
8278685425B153   RHELONDA        TELLIS                    AR     90014178542
82787A35333B33   MARLENE         GATES                     OH     90010620353
82787A59191979   SILVIA          JIMENEZ                   NC     90015080591
82788738472B62   JAMES           GOMEZ                     CO     90011037384
82788A88791975   CARLOS          MONTALVO                  NC     17062520887
82788A9369154B   GEORGE          LONGMIRE                  TX     90012730936
8278932365B581   MANUEL          CANO                      NM     90014973236
82789594272B44   VELASQUEZ       GABRIEL                   CO     90011225942
8278997815B326   DONALD          GRENIA                    OR     44571049781
82789AA846194B   CAROL           PADDIT                    CA     90013260084
8278B733A72B33   MICHAEL         ACQUFREDDA                CO     90012167330
8278B773897138   PJ              JOHNSON                   OR     44058267738
8278B82A572B29   CARMEN          JIE-A-FA                  CO     90008208205
8278B853177537   WILLIAM         BARRINGER                 NV     43087668531
82791118872B29   PETE            WEBSTER                   CO     33099091188
827912A2971977   MARIAH          LOVETO                    CO     90010382029
827913A4181627   LEWIS           SMITH                     MO     90012903041
8279143A647897   AUNGELIQUE      HILL                      GA     90004644306
82791548276B68   ALBERT          BLAKE                     CA     90013105482
82791A2A685936   KRISTEN         ANDRADE                   KY     90005730206
8279239475B581   SILVIA          GONZALES                  NM     90005773947
82792524A4B967   LAKEISHA        MARSHALL                  TX     90005195240
8279254655B183   SHEILA          THOMPSON                  AR     90011955465
82792675976B97   TOMMIE          BELTON                    CA     90014936759
82792A62761951   KEN             SHILLING                  CA     90001780627
827931A5A5B183   KIWANA          HODGES                    AR     90014061050
8279337975B183   KIWANA          HODGES                    AR     90013783797
8279345678B163   MARIELA         PELETAY                   UT     90012084567
8279348964B967   ROGELIO         HERNANDEZ                 TX     90004654896
8279359A191979   DOROTHY         FRANKE                    NC     17000515901
827943A1941275   DAVID           BROWN                     PA     90013873019
82794742A61928   MARY            GRANT                     CA     90005437420
82794752672B44   ALEJANDRO       JESSE                     CO     90011227526
82794826497B38   STEVIE          WONDERS                   CO     90015468264
82794965397B68   CORNELIA        GUTIERREZ                 CO     33003079653
82795765776B97   CRUZ MARTINEZ   CARLOS                    CA     90004707657
82795A2A29154B   JUAN            TORRES                    TX     75070320202
8279613265B581   ANJELICA        RUBIO                     NM     90014341326
82797266597B68   EVA             MARES                     CO     90007472665
82797697A77537   KATIE           JOHNSON                   NV     43012916970
8279787646194B   SAMUEL PAUL     LAVALLE                   CA     90015058764
82797A78981677   SUSAN           LUCAS                     MO     90014020789
82797AA945B183   MARCUS          CURENTON                  AR     90007060094
82798286276B68   AUSTIN          CAYWOOD                   CA     46013962862
82798A8A85B326   RICHARD         PALMER                    OR     90007640808
8279B439A97138   TANA            GREGORY                   OR     90015004390
827B1615876B68   KAYLA           P                         CA     90014956158
827B178314B22B   JESSICA         KOHL                      NE     90011217831
827B215A58B154   DANIEL          AXTELL                    UT     90010721505
827B222198B154   MILIKA          TUUNGAA                   UT     90012872219
827B225A65B153   NORMA           CANALES-VILLATORO         AR     90010082506
827B311A15B581   ELIA            VILLA                     NM     35017781101
827B3428684325   JOEY            BRABHAM                   SC     90013164286
827B3963377537   JUANA           IBARRA CERVANTES          NV     90009119633
827B3A53A8B163   ALICIA          MILLER                    UT     90011220530
827B411194B967   SYNETRA         SAM                       TX     76540151119
827B412995B326   ALICIA          MONTES                    OR     90006221299
827B4729A72432   DANYELE         GLASS                     PA     51025287290
827B476A391837   HEROD           BOYD                      OK     21095927603
827B4779472B62   KIM             FISHER                    CO     90014087794
827B4A7AA33698   TERITA          MATTHEWS                  NC     90012190700
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1169 of 2350


827B5229872432   SHAWN             MCLAUGHLIN              PA     90015152298
827B5245597138   XENIA             CARONE                  OR     90011872455
827B526925B399   JENNIFER          CLOUTIER                OR     44571602692
827B558A98B163   JUSTIN            ANDERSON                UT     90015205809
827B6473972B62   MYA               DELAROSA                CO     90014694739
827B64A6547822   CHAQUITA          JOHNSON                 GA     90014704065
827B6A56497B68   DOUGLAS           MCKIERNAN               CO     90015140564
827B74A6547822   CHAQUITA          JOHNSON                 GA     90014704065
827B758A15B338   RICHARD           LORD                    OH     44543605801
827B7842A72B44   BRENDA            LOPEZ                   CO     90010588420
827B7861A91975   ASHANEE           JENNINGS                NC     90012428610
827B8426571977   DARRELL           GOODWIN                 CO     90014854265
827B8491776B65   ANA MARIA         ESCON                   CA     46069524917
827B8553241275   BERNARD           SMITH                   PA     51022035532
827B865A847822   SHAMEIKA          GARRIS                  GA     90014716508
827B927A551362   ANDREA            CAMPBELL                OH     66005952705
827B9338576B97   TERESA            MAULTRA                 CA     90000323385
827B9484276B65   CHRISTINA         LANCIEROS               CA     46043974842
827B9A4388B154   REX               GRIFFITHS               UT     31045870438
827B9AA4647822   TTONYA            HERRING                 GA     90013540046
827BB131A85936   QUINTIN           WALLACE                 KY     90014531310
827BB526797B3B   JOSE              JUAREZ                  CO     90013175267
827BB562197B3B   OLIVIA            E LESTER                CO     90011435621
827BB562976B65   ARTURO            LEYVA                   CA     90015135629
827BB636176B65   ROBERT            YOUNG                   CA     90015156361
827BB867A72B99   STEVE             JOHNSON                 CO     90009908670
827BB9A9372B44   LUIS              VERA                    CO     33031629093
8281115748B163   SANDRA            CANHAM                  UT     31095681574
8281135185B183   JERRI             BROWN                   AR     23097263518
8281148818B154   ROBERT            GARNER                  UT     31038634881
8281184A781677   AISHAH            SILAS                   MO     90014788407
82811874872B29   JORGE             GARDEA                  CO     33054398748
82812239772B44   JOSEPH            REEFE                   CO     90001872397
8281246785B24B   KEISHA            BREED                   KY     68054034678
82813A24971977   RAMONA            GONZALES                CO     90012340249
82813A27791265   WALTER            THOMAS                  GA     14570630277
82813A52547822   KIMBERLY          DAWSOM                  GA     90014730525
8281418888B163   CSABA             KAT                     UT     90012041888
8281432825B153   PETER             RAZATOS                 AR     23085243282
8281448565B183   ALONZO            MONTGOMERY              AR     90012434856
8281525465B24B   JAKEISHA          GUIN                    KY     90012582546
8281549314B22B   HEATHER           JENSEN                  NE     27007524931
82815725176B45   MARIA             BRAVO                   CA     90005017251
828166A9A66134   VERONICA          PEREZ                   CA     90014186090
82817148A72B44   ARIANA            VIANEY                  CO     90007571480
8281773A76194B   LINDA             BRIONES                 CA     90012617307
8281778965B581   CHRISTOPHER       YAZZA                   NM     90012527896
8281791A55B24B   JEREMY            STAR                    KY     90001629105
82817923A72B29   JESSICA           MENA                    CO     90009099230
82817A98481627   SELAH             MOSBY                   MO     90010880984
828182A6891979   YANCY             FLORES BERMUDEZ         NC     17076972068
8281843A171977   DARICE            PORTER                  CO     90014704301
82818443A91837   DAN               MURRILL                 OK     90011924430
82818731772B33   DEBRA             FREEMAN                 CO     33017817317
82819184576B68   LEOVY STEPHANIE   GUZMAN                  CA     90012991845
8281955619154B   ALBERT            MADRID                  NM     75007765561
8281966576194B   ANTHONY           RAMSEY                  CA     90013476657
8281B122691837   CHRISTY           CARTWRIGHT              OK     90012051226
8281B551781683   ANN               KENNEDY                 MO     90011015517
8281B584176B65   MARTIN            LOBATOS                 CA     90006275841
8281B72895599B   VERE              PILIPENKO               CA     90009947289
8281B827893771   STANLEY           GREENE                  OH     90013678278
8281B886772B62   VICTORIA          VIGIL                   CO     90014508867
8282116A997B3B   ABBEY             WILSON                  CO     90006761609
82821284697B3B   HAYDEE            CHAPARRO                CO     90004832846
828213A4576B97   DEBORAH           DEHAVEN                 CA     90012403045
82821668476B68   RHOMEL            DERPO                   CA     90005656684
8282171685B153   ANGELICA          VELAZQEZ                AR     23054807168
82822354376B65   GABRIEL           QUIROZ                  CA     90015183543
828224A4497138   NANCY             AREVALO                 OR     90009844044
828228AAA93771   BONNIEL           MCDERMOTT               OH     90000968000
82822A54181691   MARY F            SLEIGHEL                MO     29044950541
8282311238B163   BRIAN             NEILSON                 UT     90009011123
82823182672B44   CESAR             NUNEZ                   CO     90012971826
8282336A25B183   TASHA             WINSTON                 AR     90000533602
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1170 of 2350


8282347265B326   ISREAL           NIETO                    OR     90004794726
8282355A18B154   TAUMAOESENETOA   GALEAI                   UT     90014075501
8282362199154B   VICTOR           WALLACE                  TX     90011136219
82823A12591897   RACHEL           MOTON                    OK     90012360125
82823A62A5B581   LARRY            ESPINOSA                 NM     90010960620
82824489772B62   CHERI            MEDINA                   CO     90002794897
82824776776B65   IZIAH KIMO LEE   COMERFORD                CA     90014937767
8282493A272432   KWEILIN          BECKNER                  PA     90013929302
82824AA2972B33   CATHERINE        ANN OGRADY               CO     33003970029
82825246A6194B   WILLIE           THOMSON                  CA     90010892460
8282543A171977   DARICE           PORTER                   CO     90014704301
8282546A877537   TRAVIS           BLACKWELL                NV     90011104608
8282573438B163   ARTHUR           SYMONETTE                UT     90014617343
8282579A572496   DUSTIN           FIECHUK                  PA     90014777905
8282599A85B581   MAGALY           TORRES                   NM     35050499908
8282614535B139   MAURICE          HUDSON                   AR     23078581453
8282647298B163   CECILIA          BARRERTO                 UT     90013624729
8282655A25B338   LARRY            SOFICH                   OR     44528055502
8282673199154B   TONY             MARTINEZ                 TX     90014167319
82826A58297138   EFRAIN           JIMENEZ                  OR     90014760582
82827342197B38   RUTH             COX                      CO     39004763421
8282749AA71977   TROY             ARAGON                   CO     90010154900
82828249197B38   CELINA           MALTOS                   CO     39044042491
8282856A133698   BRYANT           JONES                    NC     90013755601
82828748A76B65   JOSE             GUSTAVO DE PAZ           CA     90009287480
8282973A993771   DONITA           MEYER                    OH     90013427309
8282991A972B62   IRENE            DOMINGUEZ                CO     90008009109
8282B2A2197138   TONY             BOKMEJ                   OR     90013392021
8282B91129154B   OSCAR            DAVILA                   TX     75090139112
8282BA72371977   EUGENIA          ARZATE                   CO     90010490723
8283114468B168   ANDREA           MEADE                    UT     31005531446
82831192972B33   RUPERTO          BURGOS                   CO     90013931929
828312A2A76B68   MARIA            CISNEROS                 CA     46013592020
82832443676B68   MARTHA           REBOLLAR                 CA     90012194436
82832A52572432   SANDRA           EMERICK                  PA     90003200525
82833543A72B44   GRUDNIEWSK       DOUGLAS                  CO     90001695430
828342A1481677   DANICA           CHALMERS                 MO     29033362014
82834422776B68   FAVIAN           PRECIADO                 CA     90011324227
8283455A18B154   TAUMAOESENETOA   GALEAI                   UT     90014075501
8283534432B981   MISTY            GAGE                     CA     90008093443
828354A2541262   LATASHIA         JACKSON                  PA     90014384025
82835552797B38   CHARLENE         GIGGY                    CO     39086575527
828357A7381627   JOSE             CAMACHO                  MO     90012017073
8283645189154B   JOHN             WILLIAMS                 TX     75092814518
82836483476B68   LUISA            PERTELLE                 CA     90015274834
8283732AA97B3B   STACEY           SCHAEFFER                CO     90013393200
8283768258B154   SALVADOR         VALDEZ                   UT     90001616825
828376A414B22B   MARIE            MOYERS                   NE     27066806041
8283852745B153   ANGELINA         WATSON                   AR     90012345274
8283948435B183   JOYCE            QUARLES                  AR     90014874843
8283B211376B68   JASMINE          SMITH                    CA     90012662113
8283B345171977   JOLEEN           LAGUNAS                  CO     90010543451
8283B52918B168   LORI             JUDSON                   UT     31019015291
8283B599491837   WANDA L          DISHAROON                OK     90009935994
8283BA23785856   JOEL             MENDOZA                  CA     90014420237
8283BA98851362   BRANDON          WESLEY                   OH     90006120988
8284132978B136   GRANT            PETERSON                 UT     90013803297
82841427272B62   LARRY            DAVIS                    CO     90013764272
82841A19124B83   LATARSHA         JENKINS                  DC     90014470191
82841A71297B3B   JOSE             SALGADO-NUNEZ            CO     39018190712
82841A7685B335   DEBRA            ELIZONDO                 OR     90013830768
8284222359154B   RICARDO          GARCIA                   TX     75087922235
8284224868B154   DUSTIN           TAFOYA                   UT     90011472486
82842985A76B45   FISEHA           NEGASH                   CA     90011259850
828432AAA76B97   STEINNUN         TRUESDALE                CA     90000332000
8284343738B163   PAMELA           MCSHANE                  UT     90007074373
82843631972B44   GARY             LARSON                   CO     33081066319
82843759A97B3B   SAMUEL           DELEON                   CO     90015307590
82843898776B68   RUBEN            MARTINEZ                 CA     90013388987
8284389A697B3B   FRANCES          DELA CRUZ                CO     39009758906
82843A22147822   RACIO            THOMPKINS                GA     90014750221
8284439254B22B   GERARDO          NAVARRO                  NE     27097843925
82844518197B3B   FRANK            PINEDA                   CO     90005205181
82844824776B97   JULIE            RALPH                    CA     90011358247
82844A23891532   ROGELIO          RUVALCABA                TX     75000210238
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1171 of 2350


828453A3A81627   STEPHANIE    FISCHER                      MO     90004043030
8284568368163B   DAVID        HARVEY                       MO     90000416836
828462A1785856   DURLAN       RIVERA                       CA     46003882017
8284666646194B   TERESA       ABUYEN                       CA     46061186664
8284774489154B   KAROL        DIAZ                         TX     90014167448
8284813215B139   FRED         THREET                       AR     23002581321
8284815748B163   SANDRA       CANHAM                       UT     31095681574
8284854A991979   JOSUE        AMPARAN                      NC     90012545409
82848715172B44   LUZ          URBINA                       CO     33067637151
82849297672B29   NANCY        LAMB                         CO     90013112976
82849318A81677   AARON        MARTINEZ                     MO     90014813180
8284976544B22B   DANA         PENNING                      NE     27001457654
8284996795B326   DANNY        MARTIN                       OR     44551579679
82849A9395B24B   ROBIN        BUTLER                       KY     90014620939
8284B362391975   KARLA        ARREDONDO                    NC     90013493623
8284B379477537   THOMAS       WILSON                       NV     90012503794
8285115655B24B   NANCY        ROGERS                       KY     68075311565
8285128AA61928   ERENDIRA     REYES                        CA     90009622800
82851526697B38   JOE          CASTILLO                     CO     90014135266
82851A11897138   JAMES        NELSEN                       OR     44089650118
8285232474B22B   YUCABETH     NYABURI                      NE     90013933247
8285233895B581   FERNANDO     HERNANDEZ                    NM     90000963389
82852983A97B38   WESLEY       MAYES                        CO     90001729830
82853312876B97   REGINALDO    JUETA                        CA     46021133128
82853494A77537   JESSICA      CASTES                       NV     90012564940
82853842376B68   VIRIDIANA    GALINDO                      CA     90005758423
82853A92233698   BONITA       WALSTON                      NC     12093410922
8285458985B326   JUANA        ESPINOZA RODRIGUEZ           OR     90006005898
82854837576B97   YESSICA      QUINONES                     CA     90009208375
82854A14947822   JAKERIA      PITTS                        GA     90009440149
8285532865B581   STEPHANIE    LEWIS                        NM     35058773286
82855A76281677   SHARON       DUNMORE                      MO     90011770762
82855A76581677   SHARON       DUNMORE                      MO     90000850765
8285616A191837   VIRGINIA     WHITE                        OK     21009731601
82857749353B82   FRED         RUGGIERO                     CA     90014227493
82857A6725B24B   CRYSTAL      BURKS                        KY     90012090672
8285817418B154   TASHA        KRANENDONK                   UT     90000611741
8285885215B581   EZEKIEL      GONZALES                     NM     90012528521
8285891A333698   CURTIS       SUMMERS                      NC     90010869103
828589A675B153   JALISA       SCOTT                        AR     90010109067
82859314372B44   DONELA       POWELL                       CO     90009393143
82859382672B44   BILLIE       GILLISPIE                    CO     90014843826
8285997645B921   JAMES        CHANEY                       WA     90005109764
82859A21481677   NATHAN       SIEDLYK                      MO     90014030214
8285B14674B22B   COLTER       RIPTON                       NE     27066291467
8285B21195B581   GLORIA       ALARCON                      NM     35016152119
8285B62936194B   ANDREW       SHAFFER                      CA     90011476293
8285B63A333698   CHESTON      WALKER                       NC     90014886303
8285BA97597138   BRANDON      RICHARDS                     OR     44097640975
82861113576B65   LEE          RIVERA                       CA     90010581135
82861219576B65   LEE          RIVERA                       CA     90014972195
8286198135B183   DARESHA      FREEMAN                      AR     90012719813
82861A4345B326   MARIA        CRUZ                         OR     90002260434
8286271359154B   PORFIRIO     MORALES-BUNKER               TX     75046707135
8286276995B24B   ERICA        TERRY                        KY     90012627699
8286286315B581   JUAN         CHAVEZ                       NM     90013918631
82862968472B33   AUTUMN       MILLER                       CO     90012929684
82862A32572B44   CRISTIAN     SOLIS                        CO     33038050325
8286358685B581   LARRY        GARCIA                       NM     90011155868
8286365A485936   ERIKA        FISCHER                      KY     90005446504
8286382918B163   DORCAS       MUNOS                        UT     90014858291
828639A395B326   CHRIS        HOLLAMON                     OR     90010669039
828641A6A2B253   TUNDE        OYEKOLA                      DC     81041091060
828643A2A76B97   MARIELA      BATISTA                      CA     90011813020
82864551897B38   JANET        RINCON                       CO     39018045518
82864842572B44   ROSA         LOPEZ                        CO     90012338425
8286513A691975   JESUS        GUEL                         NC     90014751306
8286531396194B   FERNANDO     OCHOA                        CA     90012553139
82865511997B38   PATRICIA     GREENLEE                     CO     39047495119
828655A3897138   MARIA        ERAZO                        OR     44053965038
8286587418B154   CATHERINE    BARNES                       UT     90015048741
82865A2135B24B   BECKY        WILSON                       KY     90001600213
82865A2357B339   TONYA        SULLIVAN                     VA     90007750235
82865A63172B62   PAUL         GESE                         CO     90012580631
82866177576B65   CYNTHIA      DAVIS                        CA     90014401775
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1172 of 2350


8286628575B139   CLARISSA          GAINES                  AR     23074312857
82866356997B3B   ALEXIA            GARCIA                  CO     90014823569
82866472963B87   KEVIN             STEARNS                 IL     90005834729
82866A61276B68   KEVIN             JOHNSON                 CA     46070140612
82867189872B29   NORMA             ROMAN                   CO     33094401898
8286721A49154B   ALBERTO           CASTILLO                TX     75044432104
8286724AA72432   MELANIE           RIGGANS                 PA     90012692400
8286744398B163   TAMMIE            CHRISTENSEN             UT     31089764439
82867493A76B68   ROBERT            RICHDALE                CA     90008884930
828674A3241275   ROBERT            LABROSSE                PA     51095094032
8286795A772496   DAVID             MARTINKOVICH            PA     90008869507
828679A9381677   DANIEL            SALAMANCA GONZALEZ      MO     90015179093
8286816414B967   DELEASHA          CRAWFORD                TX     76596511641
82868A81651362   FLOYD             ADAMS                   OH     90002010816
82869A7A84B22B   DAKOTA            MYERS                   IA     90010270708
82869A83376B65   DAVID             JUAREZ                  CA     90010730833
8286B429797B38   DONNIE            HUFF                    CO     39029054297
8286B456572B44   MARIA             GUTIERREZ               CO     90012734565
8286B47245B139   JOSE              PENA-PONCE              AR     90000854724
8286B537781627   EVELYN            MITCHELL                MO     90005015377
8286B6A6691837   PASCUAL           BRISENO                 OK     90007636066
8286B957133698   ETERNITY-SADE     DENISE WILIAMS          NC     90015159571
8286BA48841275   BILL              HORNING                 PA     90012900488
8287117168B163   IAN               CLARKE                  UT     90011421716
8287133589154B   DEVYN             MORALES                 TX     90012953358
8287169885B581   CECILIA           MANRIQUEZ               NM     90008796988
82872165772B33   BENJAMIN          BARRIOS                 CO     33010351657
82872459A72B62   MARIA             GALAVIZ                 CO     90006074590
82872464476B65   ROSA              ARREDONDO               CA     90013024644
82872538797B38   MAYRA             LEON                    CO     90013135387
828727A445B326   VELINA            CASTRO                  OR     44545567044
82872855A97138   MARIA             SEELIG                  OR     90007948550
8287327A772B62   ELTRECE           CALDERON                CO     33021262707
82873768772B44   MICHAEL           PHILIPPI                CO     90014467687
82873789497B68   YOLANDA           CARRILLO                CO     33025047894
828741A715B522   CELIA             ROCHA ALVAREZ           NM     90010841071
82874361872B29   BRIANNA           MONTOYA                 CO     33085323618
8287483385B581   RABORCH           PACHECO                 NM     90006248338
8287485465B153   PAYGO             IVR ACTIVATION          AR     90012718546
82874A19985856   MATT              KASE                    CA     90006790199
8287574758B163   JANEL             KIRKLAND                UT     31086447475
828764A989154B   LILIA             REZA                    TX     90010314098
8287653392B256   CHARLES           MOODY                   DC     90005305339
828765AA297138   DAWN              WINTERSTEIN             OR     90012155002
828766A5873276   CARRIE            MEMPCEY                 NJ     90015506058
8287675A681677   PAULA             VIEIRA                  MO     90014617506
8287789254B22B   LISA              NICE                    IA     27070828925
82878881176B65   ARTURO            MORALES                 CA     46070978811
828792A6785856   ANGEL             CABRERA                 CA     90003892067
828794A7172B29   JEFFREY           WATSON                  CO     33059994071
8287B129497B38   FELIPE PATRICIO   CALDERON                CO     90010131294
8287B213A47897   SUMENTER          HIGHTOWER               GA     90003932130
8287B385676B65   JUANITA           MORALES                 CA     90014763856
8287B387876B97   DAVID             GARCIA                  CA     46079583878
8287B639A61928   FLOYD             MORROW                  CA     90014606390
8287BA75171977   HEIDI             HADLEY                  CO     38091870751
828812A1572B44   BRANDI            FELIX                   CO     90009472015
82882378476B97   ISRAEL            GARCIA                  CA     46014913784
8288275365B581   PATRICIA          CERVANTES               NM     35096337536
8288275746194B   HERIBERTO         ROMERO                  CA     46031977574
82883612176B97   SELENE            LOPEZ                   CA     46059606121
82883AA314B22B   CHARLOTTE         MICHALSKI               NE     90011230031
8288431935B921   JESSICA           BLOXHAM                 ID     90008443193
82884415797B3B   ARACELI           LOPEZ                   CO     39001484157
82885316172B62   JULIE             VARELA                  CO     33098223161
8288539329154B   MELISSA           FLORES                  TX     90013583932
8288548A88B163   HEATHER           DINGMAN                 UT     31058684808
8288563AA41275   TIMOTHY           ROBINSON                PA     51076186300
82886196197B38   TONYA             GOLDING                 CO     39044911961
8288674932B256   JORGE             HERNANDEZ               VA     90005717493
8288698655B24B   SOMIN             LEE                     KY     90007949865
82886A22841262   CHASTITY          EVERETT                 PA     90015130228
8288717995B183   VERA              BROWN                   AR     23095281799
82887261772B29   LUIS              ESCORZA                 CO     33053342617
828877A2391837   MERISA            MUNIZ                   OK     21061597023
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1173 of 2350


82887A32397B68   MARITZA         CRUZ                      CO     33049640323
82888572497B38   ANNA            CHAVEZ                    CO     90014935724
8288911432168B   BELINDA         MOORE                     OH     90014591143
82889136372B29   GABRIEL         RIVERA                    CO     90013121363
82889168797B3B   JAMES           LANGDON                   CO     90012451687
82889245A2B271   RYNIKA          JONES                     DC     81011552450
828892A675B24B   DONTANE         NEAL                      KY     90014552067
82889468576B65   JUAN CARLOS     GOMEZ                     CA     90013024685
8288982A55B581   GLADYS          RODRIGUEZ                 NM     35005168205
8288B13385B255   DAVID           ZIPPER                    KY     68099571338
8288B87594B22B   ARACELE         BAHENA                    NE     27034608759
8288B949676B65   LUIS            ANTONIO                   CA     90007039496
8288B98965B153   DENISE          BURNELL                   AR     90005029896
82891673476B97   PAULA           EVERIST                   CA     90012846734
828917A8185936   XOCHITL         MORALES                   KY     67058177081
82891A4776194B   ERIKA           PORFIRIO                  CA     90013130477
8289225645B326   GEORGE          DERBY                     OR     90011552564
8289256A385856   JORGE           TORRES                    CA     90012495603
82892A3A547822   RIDGE           JOHNSON                   GA     90014740305
82892A94691975   OLIVIA          LYNCH                     NC     17044250946
8289311525B24B   TAMEIKA         PETTY                     KY     90007761152
82893293797B3B   ELENA           SERGEEVNA NEDOBUKH        CO     90012022937
8289371655B326   MICHAEL         TICEN                     OR     90014677165
8289376389154B   ANGELICA        GOME                      TX     90014167638
8289384672B271   FLOR DE         MARIA CASTILLO            DC     90002408467
8289399A29154B   OSCAR           CARRILLO                  TX     90012289902
8289431A185962   BRANDON         TEETERS                   KY     66016653101
8289481638B163   SERGIO          ROCHA                     UT     31037268163
82894AA9A5B153   LAURA           CAVANAUGH                 AR     90005140090
8289545A285936   JOSE            ALDANA                    KY     90013724502
82895686797B3B   CRUZ            SEGURA                    CO     90010806867
8289573A85B338   RACHEL          HANSON                    OR     90005307308
8289581995B183   ROY             POWELL                    AR     90014228199
82895917976B97   RICARDO         VILLEGAS                  CA     90013789179
82895AA5785856   MARTIN          REYES                     CA     46064330057
828963A7197138   JULIO           FUENTES                   OR     90013733071
82896719476B97   MENDEZ          FABIOLA                   CA     90002267194
82896A97685936   TEMEKA          LESHALLE                  KY     90014710976
828971AA397B38   KATELIN         BEARD                     CO     90009991003
8289722596194B   IRMA            MACIEL                    CA     90010122259
8289752AA51362   FELIX           PINACHO                   OH     66000735200
8289826834B22B   THOMAS          ANSON                     IA     90014762683
8289914468B168   RAMON           PADILLA                   UT     31062851446
8289B196591242   DIANE           WASHINGTON                GA     14568031965
8289B778672496   JAN             GEYER                     PA     51072077786
8289B839197B3B   CHRISTOPHER     ROSENBAUM                 CO     90013478391
8289BA7566194B   NOAH            POSADA                    CA     90003180756
828B1196591242   SEBRINA         CALDWELL                  GA     14586951965
828B1349685856   VERONICA        OROZCO                    CA     46017903496
828B13A9691837   BRANDON         HARLEY                    OK     90001793096
828B1938772B44   ANGELICA        CUEVA                     CO     90013789387
828B19A8147822   SHATARA         SANDIFER                  GA     90014729081
828B2281247822   LAWANDA         HARPER                    GA     90013002812
828B22A4271977   MONA            ROMERO                    CO     90005902042
828B3317976B68   DALLAS TRUMAN   BERG                      CA     90014773179
828B3775972B29   LES             VANVALKENBURG             CO     33027647759
828B4162241262   HECTOR          ACOSTA                    PA     90013591622
828B4172176B65   DOUG            KIRCHER                   CA     90003171721
828B4181476B68   OSCAR           DOMINGO                   CA     90000131814
828B4295391975   ONESIMA         BENITEZ AGUILAR           NC     17042552953
828B444A39154B   DIANE           JOHNSON                   TX     75065664403
828B4558672496   SCOTT           WINRADER                  PA     90013455586
828B469824B22B   JOSE            TORRES                    NE     27042756982
828B4915676B97   ELIZABETH       REYES                     CA     90008909156
828B492A547822   VICKIE          THOMAS                    GA     90014729205
828B5559141275   PATTI           MILLETARY                 PA     51077965591
828B563A941262   STEFAN          AIR                       PA     90008066309
828B5885661928   MONICA          PEREZ                     CA     46028698856
828B628AA91975   EDEN            DURAN                     NC     90014842800
828B631A591979   NACOLE          BULLOCK                   NC     90014853105
828B6543691525   DINA            OZETA                     TX     75082825436
828B71A2851362   BARBRA          HOPKINS                   OH     90002591028
828B7495991975   ANA             PINEDA                    NC     17056674959
828B7824285936   SUSAN           AVERY                     KY     90015548242
828B7A4878B154   ROSALBA         ALVAREZ                   UT     90010810487
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1174 of 2350


828B8186972496   AMY SUE         WILLIAMS                  PA     90012591869
828B8473681627   JONATHAN        HERDLISKA                 MO     90014964736
828B8493491979   LORI            POWE                      NC     90014134934
828B878814B22B   KALY            ANTHONY                   IA     90002637881
828B8923972B44   SAMUEL          SENA                      CO     90007999239
828B8998272B99   WILIBALDO       RIOS                      CO     90013899982
828B8AA6372B62   MATTILDA        HILL                      CO     90015130063
828B931A476B65   KARINA L        RUBIO MARTINEZ            CA     90006253104
828B9461851362   QUENTIN         KILBURN                   OH     90014204618
828B975919154B   MARIA           SOSA DE PARRA             TX     90014837591
828B9842791837   JESUS           MEJIA                     OK     90009258427
828B9951176B97   DANIEL          PIERCE                    CA     90007909511
828B99A2298B2B   PAMELA          ROBERTS                   NC     90007669022
828B99A435B581   NAKWISHA        WHITE                     NM     35089549043
828BB445772B44   ANITA           SMITH                     CO     90015034457
828BB59629154B   ERICA           VARGAS                    TX     75088245962
828BB682997138   WILLIAM         PHILLIPS                  OR     44075126829
828BB69165B183   JAIME           ZARATE                    AR     90012236916
828BB71413B366   OLIVIA          BEALL                     CO     90007937141
828BBA5A44B55B   NIKIA           PATTERSON                 OK     90015250504
828BBA76733698   VARNELL         GUY                       NC     90010720767
8291119868B163   JONATHAN        LEAVITT                   UT     31034231986
8291126425B581   ERICK           VARELA                    NM     35009802642
82911561A85856   KEVIN           ROBINSON                  CA     46050385610
82912597A72B44   MARCO           ESTRADA                   CO     90004105970
82912623172B23   ADOLPHUS        UGEH                      CO     33005856231
829126AA35B139   CURTIS          BROWN                     AR     90012596003
82913215297B38   RICARDO         RICO                      CO     90012162152
8291351A476B97   SUSANNA         AARON                     CA     90008405104
82913A22147822   RACIO           THOMPKINS                 GA     90014750221
829141A1176B68   JAN             PHILLIPS                  CA     46049711011
82914486572B62   JASON           BIADO                     CO     90004344865
8291495A85B183   MICHELLE        BRASON                    AR     90014019508
82914971397B68   SHAWN           STARKEY                   CO     90010589713
8291527A95B139   LUIS            GONZALEZ                  AR     90014392709
82915333597B38   COLTON          INGRAM                    CO     90008863335
829153AA547822   MEGIN           SMITH                     GA     90014743005
82915682A91975   NESHAY          ROBINSON                  NC     17091176820
8291583856194B   JOSE            MEDINA                    CA     90012778385
82915968A85856   ROBERT          HEYENGA                   CA     90005379680
829168A4A91979   VIRGNIA         HERNANDEZ                 NC     17006298040
829169A6981677   ANTHONY         NELSON III                MO     29068209069
82916A38272B44   BRENDA          HEATH                     CO     90009590382
829173AA547822   MEGIN           SMITH                     GA     90014743005
82917587597B3B   SHANNON         MARINE                    CO     39010825875
82918169797B38   ANTONIO         GONZALEZ                  CO     39003431697
8291827415B153   LATOYA          ALEXANDER                 AR     90011112741
82918496976B65   PAUL W          BROOKS                    CA     90010584969
829184A7A91525   ZULEMA          MELCHOR                   TX     75029324070
8291924284B22B   NELL            MONTGOMERY                NE     27031592428
8291925AA71977   AMBER           MARTINEZ                  CO     90012462500
8291953A377537   ERIC            MELZO                     NV     90012495303
8291B39559154B   VICTOR MANUEL   RODRIGUEZ                 TX     90008053955
8291B437A33698   DOMONIQUE       TINNIX                    NC     90012394370
8291B452441262   TAVIOUS         FRANKLIN                  PA     90011304524
8291B78245B581   DOMINIC         TOLEDO                    NM     90012537824
8291B7A5841262   ERIC            SAROKON                   PA     51001847058
8292118A64B22B   JAMES           SHARP                     NE     90014901806
82921222272B29   DANIEL          FISHER                    CO     90001672222
8292134615B183   LASHAUNDRA      TYLER                     AR     90010813461
8292149A347822   OCTAEVIA        SMITH                     GA     90014744903
8292223A571977   NATHANAEL       HANKS                     CO     90011892305
8292264A172B44   FRANCYNE        ESCALANTE                 CO     33085136401
829226A3793771   TWEET           TWEET                     OH     90010746037
8292276654B967   ALEXXUS         RIDEAUX                   TX     90007497665
82922832672B44   JEIDI           ORTEGA                    CO     33000218326
8292284A672432   TERESA          GARRETT                   PA     90001368406
82922977272B62   TYLER           HARR                      CO     90009409772
829239A2697B38   MARCUS          ALVAREZ                   CO     39054589026
82923A59141262   ROBERT          FULTON                    PA     90011180591
82924356276B65   AUREA           IVANEZ                    CA     46016513562
8292471A881627   BRITTANIE       WATSON                    MO     90012877108
8292479AA71956   FRANK           LOPEZ                     CO     38093497900
8292511528B154   MIGUEL          SAAVEDRA                  UT     90003991152
82925162997B38   ESRAIS          RIVERA                    CO     90013981629
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1175 of 2350


82925932A5B183   TOYA          TURNER                      AR     90013689320
82925A68997B38   JENNIFER      SHEETZ                      CO     90014050689
82925A97997138   CHRISTOPER    MARTIN                      OR     90015520979
829261A1776B65   WADE          FERGUSON                    CA     90012891017
8292721A881677   MARIO         CONLEY                      MO     90015162108
829274AA872B44   HILLARY       BERNAL                      CO     90006914008
82927872A9154B   LORENA        MARQUEZ                     TX     75079568720
82927919A91975   SHERRI        RICHARDSON                  NC     90010339190
8292798715B183   LANORA        BRYANT                      AR     90015319871
82927A8A376B68   KIMBRLEY      CURRY                       CA     90014190803
8292825A372432   MARK          MCEWEN                      PA     90004362503
8292831A141275   TAYVON        JENKINS                     PA     90013213101
829286A4172B29   MIGUEL        CARES                       CO     33097186041
8292952518B168   VICTOR        CASTRO                      UT     90010025251
8292B429633698   CHANIKA       NOEL                        NC     90014814296
8292B673197138   SHAE          STEDWELL                    OR     90009196731
8292B72818B163   BONIFACIO     HILARIO                     UT     31071397281
8292B75A797B3B   JESSE         KING                        CO     90014147507
8293112625B326   EVARISTO      PEREZ                       OR     90006521262
8293131985B581   MOLINA        JESUS                       NM     35083023198
8293222654B22B   ADJOKO        YACINTHUS                   NE     27066322265
8293225178B154   RACHEL        WINGER                      UT     90010122517
82933178372B33   PEDRO         REYES-ESTRADA               CO     33089411783
829337A5576B68   NORMA         RAMOS                       CA     90009937055
8293469256196B   CAROLINA      LOPEZ                       CA     90009636925
829357A5A76B97   RUBEN         LUNA                        CA     90012947050
8293581789154B   ALMA          ALVARADO                    TX     90013228178
8293624773B347   OXANA         TSOKALO                     CO     90007902477
829362AA65B139   TIFFANY       CLEVIDENCE                  AR     90005242006
82937153597B38   MAT           REICHEL                     CO     90013321535
8293724498B163   LINDSAY       JIMENEZ                     UT     90013702449
8293794A472B28   REBECCA       CAUDILL                     CO     90009389404
829379A295B153   ELVIN         DULOON                      AR     90014759029
82937A81A97B68   ERIC          BRIONES                     CO     90014880810
82938271672B29   SARAH         DILLON                      CO     33095422716
8293855A681627   JORGE         HERNANDEZ                   MO     90013045506
8293876745B183   MARTESHA      KELLY                       AR     90015117674
82938927A7B471   CHAKELIA      BURRIS                      NC     90014859270
82939227597B3B   DANIEL        DUPREE                      CO     39006132275
8293949317192B   BILL          CARROLL                     CO     32057344931
8293962A197138   SOCORRO       ALDACO                      OR     90011386201
829398A9676B65   THERESA       FILIPY                      CA     90014238096
8293B255993771   JENNIFER      HOSKINS                     OH     64572112559
8293B31855B326   KELLY         FISHER                      OR     90010323185
8293B345641275   ANDREW        KRAKOVSKY                   PA     51073253456
8293B345776B97   THEODORE      SCHATTENBERG                CA     90013533457
8293B39489154B   JOSE          CABRAL                      TX     75049723948
8293B416577537   ALEXA         AQUINO-LARA                 NV     90014484165
8293B597147822   TAMMY         GOOLSBY                     GA     90014745971
8293B5A2361928   CHRISTOPHER   MOORE                       CA     90011905023
8293B821A85936   LASHEA        JACKSON                     KY     67076318210
8293B853985856   CENOVIA       LLAMAS                      CA     46089168539
82941623A71977   ALICIA        FLORES                      CO     90013326230
82941668676B65   LANA          DANIELS                     CA     90007206686
82941815A91975   HARDRICK      MAYS                        NC     17038938150
8294198438B163   PAUL          VANBUSKIRK                  UT     90014879843
82941A4AA85856   SHANNAH       JOHNSON                     CA     90011360400
82941A57281627   ASHLEY        PETR                        MO     29069370572
82942131472B44   JULES         OLIVA                       CO     33022721314
8294219792B956   TA QOUIYA     WHITE                       CA     90012571979
82942587A71977   DAWN          SMITH                       CO     90010835870
8294322267B635   KENNETH       OLIVER                      GA     90003452226
82943A55491975   SKIES         GRAY                        NC     90010220554
82943AA519154B   MARIA         CHAVEZ                      TX     75063750051
8294427585B153   PATRICIA      BROWN                       AR     90013112758
8294552195B326   JARED         HOLMGREN                    OR     44535565219
82946296972B44   MIRNA         BAEZA                       CO     33043382969
82946854297B3B   ANNA          SATTLER                     CO     90012808542
82946973776B97   CURTIS        ATKINS                      CA     90015039737
82947619197B68   CARMEN        ALBERTO                     CO     33085226191
8294774A972B44   JAMES         JOHNSON                     CO     90011457409
8294792674B22B   JIMMY         LAURITSEN                   NE     90012929267
82948667876B68   GUADALUPE     GONSALEZ                    CA     90014096678
8294879114B22B   ERIN          MULCAHY                     NE     90004337911
8294928A28B168   JACOB         ROBERTS                     UT     90010862802
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1176 of 2350


82949477972B29   CAMERON       WASHBURN                    CO     90007614779
8294986495B24B   RONALD        COLEMAN                     KY     90011108649
82949A74985936   BRIANA        EDMONDS                     KY     90013350749
8294B126261928   XIOMARA       GAMEZ                       CA     90014161262
8294B24675B581   BRENDA        PINON                       NM     90014782467
8294B779584325   RENEASHA      WRIGHT                      SC     90005577795
8294B845176B97   CARMEN        LOPEZ                       CA     90012868451
8295159286194B   REYNA         RODEA                       CA     90013865928
8295197532B271   PATIENCE      PRITCHETT                   DC     90002749753
82951AA8391975   ANTOLIN       HERNANDEZ                   NC     90015030083
82954188297B3B   SHELLY        GRAY                        CO     39060511882
8295437565B338   JANENDAR      RAM                         OR     44516073756
8295489534B967   GAIL          HAMILTON                    TX     76555228953
82954AA434B22B   DORA          ERAZO                       NE     90012360043
8295599159154B   VINCE         MARTINEZ                    TX     90000929915
82956151897B38   DANIEL        FUENTES                     CO     39043051518
8295671A27B82B   VERONICA      SOTO                        IL     20583427102
82956816276B97   DANIEL        CALVILLO                    CA     46095498162
829568A2A72B29   CHARLES       BROWN                       CO     90009878020
829569A4A5B24B   SHANNON       CORELY                      KY     68029549040
82956A1A176B65   FILIBERTO     GASPAR                      CA     90013040101
82956A2919154B   NATALIE       CAMACHO                     TX     90011320291
829571A178B154   DARREN        JOHNSON                     UT     90010361017
829572A2571977   AUDRA         MARTINEZ                    CO     90009342025
82957355772B33   ANN           BURTON                      CO     90014923557
82957544897B38   GERARDO       HERNANDEZ                   CO     90012155448
8295758928B168   VALERIE       ROCKWELL                    UT     90011955892
82957A13276B65   FILIBERTO     GASPAR                      CA     90013040132
82957A6A35B326   GENNE         REILLY                      OR     44573380603
82958596276B65   SALOMON       VARGAS                      CA     46069925962
8295917925B338   ETZEL         ESPINOZA                    OR     90010271792
8295984668B163   JERI          ALLEN                       UT     90002798466
82959987976B68   ARACELY       RUIZ                        CA     90013039879
82959A29272B33   PATRICK       DEWIT                       CO     90014800292
8295B475247822   KESHAWN       MEADOSS                     GA     90014584752
8295B665291975   KEVIN         DANIELS                     NC     90015256652
8296168A797138   SANDRA        SANCHEZ                     OR     44078646807
82961A6464B967   LYNN          ROWELL                      TX     76597230646
82961A7316194B   MARINO        MORALES                     CA     46039420731
8296241558B168   CARRIE        BIRD                        UT     90006384155
82962417372B29   FIDEL         RODRIGUEZ                   CO     90015144173
8296247529154B   DE LA ROSA    LUZ                         NM     90007874752
82962582876B65   ANTONIO       GONZALEZ                    CA     90015135828
82962774A5B153   BRANDY        HAMILTON                    AR     90001417740
82962A15772B44   MARIA         CASTILLO                    CO     90009220157
82963A75491837   CHRISTOPHER   HENRY                       OK     90013540754
8296486825B581   ARTHUR        MARTINEZ                    NM     90015098682
8296515715B326   ELIZABETH     DELEON GUERRERO             OR     44562101571
82965655172B33   BARBARA       MCADAMS                     CO     33090516551
829658A2A9154B   BRENDA        SARINANA                    TX     90014168020
8296652A897138   HEATHER       AKIN                        OR     44065415208
8296653566194B   JESSE         LERLEU                      OR     90008965356
8296653A377537   ERIC          MELZO                       NV     90012495303
829665A415B153   ROBYN         MOORE                       AR     90007775041
8296797885B153   MIGUEL        MENDIETA                    AR     90014759788
82967A2A476B65   RUBY          NAVA                        CA     90013040204
82968143672B29   YVETTE        NOBLE                       CO     33033211436
82969478A5B183   KEISHA        LIGHTFOOT                   AR     90014854780
8296B23784B967   MARCA         CABERRA                     TX     90005322378
8296B575485936   DANA          KEYS                        KY     90011985754
8296B87A197B38   SERGIO        MARTINEZ                    CO     90013058701
8297173849154B   JUNIOR        SOTO                        TX     90011377384
8297199945B581   ISAAC         ARELLANO                    NM     90014309994
82971A62A5B581   LARRY         ESPINOSA                    NM     90010960620
8297217785B24B   JOHN          YARBROUGH                   KY     90014501778
82972656372B44   MARY          RAMIREZ                     CO     33001196563
82972679A72B62   CHRISTOPHER   PEARMAN                     CO     90009986790
82972863197B68   CLOUDIA A     ECLZKE                      CO     33071588631
829729A9661928   MANUEL        GARCIA                      CA     90013489096
82972A58491975   JANA          HART                        NC     90006290584
82973119A5B153   CLARENCE      FRANKLIN                    AR     90010541190
8297328414B22B   BETHANY       TETZLAFF                    NE     90012212841
8297389465B326   GLEN          NIIRANEN                    OR     90014698946
8297426275B24B   ANGELA        PARSONS                     KY     90014592627
8297441A172B44   TIKA          WALKER                      CO     90006984101
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1177 of 2350


8297553645B581   FILIBERTO        PEREZ                    NM     90009705364
82975AA385B326   JAMES            TOUCHSTONE               OR     44585680038
82976352A33698   LESLIE           BARNETT                  NC     12017183520
8297636A272432   BRUCE            SMITH                    PA     90013443602
8297658395B338   SUSANA           TORRES                   OR     90005145839
8297744A491979   DIANNA           MORRIS                   NC     17025884404
82977773872B44   TAE              BROCK                    CO     90009657738
82977793897B38   DEBORAK          SANBORN                  CO     90000637938
829778A369154B   MIGUEL           MENA                     TX     90014168036
82977A7685B153   THOMAS           HASE                     AR     90012260768
82978352572B44   REBECCA          RASMUSSON                CO     90007843525
8297838167B248   DENNY            DELANEY                  AZ     40516163816
8297872295B183   JOHN             JACKSON                  AR     23014197229
82978879A72B29   SHELLY           MARTINEZ                 CO     33051658790
8297917A997138   TAMARRA          HUERTA                   OR     90011691709
8297941425B153   FEDETTE          JOHNSON                  AR     90003764142
8297958118B154   JULIE            ARAGON                   UT     31082965811
8297B145693771   EDISON           CASTILLO                 OH     90012591456
8297B213576B68   OMAR             MARTINEZ                 CA     46050262135
8297B52A276B65   MONICA           GARCIA                   CA     90013045202
8297B655685856   BEATRIZ          CEDILLO                  CA     46046286556
8297B76379154B   MARIA            REYES                    TX     90014927637
8297B881A5B183   TAMMY            RIDEOUT                  AR     90007838810
8297B975181677   CHEVY            CAPRICE                  MO     29007099751
8297B99626194B   ROBERT           SANCHEZ                  CA     90002879962
82981126472B62   VIRIDIANA        DELVAL                   CO     90014191264
8298138798B164   LAZARO           CATANO                   UT     90005253879
8298174989154B   ZAKEL            HOBBS                    TX     90011137498
82981AA485B183   SANDRA           DURHAM                   AR     23065180048
82982127597B3B   JOEY             VERSMAN                  CO     90004491275
82982172276B65   SILVIA           CASILLAS                 CA     90013981722
8298245865B326   JOSEF            MUYR                     OR     44508274586
82983291A91962   CARILLO VICTOR   MANUEL                   NC     90007922910
82983847A9154B   SAUL             SOLIS                    TX     75017448470
8298458939154B   MEJIA            AMBER                    TX     90002575893
8298575A476B97   NANCY            SALINAS                  CA     90013257504
82986319172B33   ERIC             FONTES                   CO     90013013191
82987366476B65   ANDREA           JACKSON                  CA     90009223664
829874A4291525   ANGIE            ROCHA                    TX     90013804042
82987613A6194B   TERESA           MARQUECHO                CA     46010266130
829878A939154B   LAURA            TOVAR                    TX     90014168093
82987A81651362   FLOYD            ADAMS                    OH     90002010816
82988465A91975   YASBELY          HERNANDEZ                NC     90014974650
8298855155B326   ROSENDO          DE LA SANCHA             OR     90004025515
82988576576B65   GUADALUPE        AGUILAR                  CA     46046565765
8298872854B22B   JESSY            CORDERO                  NE     90013547285
82988793472B29   CHAZ             DOIEL                    CO     90009817934
82989538A91525   NOHEMI           VIDANIA                  TX     75091295380
8298954AA77537   EDWARD           WRUBEL                   NV     90009975400
8298B276997B38   JOSEPH           GOMEZ                    CO     39017222769
8298B44315B183   KRISTINA         MARTINEZ                 AR     90003634431
8298B74738B163   BEVERLY          BURTON                   UT     90014977473
8298B855A81627   BETTY            FRANKLIN                 MO     90012858550
8298BA77985936   PATRICE          BAYEBA                   KY     67099600779
8298BA83271977   JON              MARKERT                  CO     90000690832
8299177945B183   FRESH            DEWAYNE                  AR     90011377794
8299188125B153   ARIYANA          SETTLES                  AR     23016298812
8299192989154B   RAUL             MEDRANO                  TX     90006579298
8299271455B581   TRINA            GACHUPIN                 NM     90013397145
8299288179154B   HORTENCIA        ORDONEZ                  NM     75032778817
8299346616B871   MARTIN           MORANCHEL                WI     90015414661
8299491396194B   MARTIN           IBARRA                   CA     46008789139
82994A41185936   KAREN            THOMAS                   KY     90003580411
829957A348B163   WILL             KOELLIKER                UT     90013267034
8299593518B163   SUZET            KOO                      UT     90004169351
82995A2445B183   ATILANA          ARJONA                   AR     23090770244
829966AA441262   KENNETH          LIPPOLD                  PA     90014046004
82996827476B68   ALEX             SANCHEZ                  CA     46039678274
8299715428B154   ELLEN            DIXON                    UT     31059221542
829971A3276B97   DAVID            BERNSTEIN                CA     90014541032
829976A1491894   RONALD           WHITNEY                  OK     90012926014
82997931A3163B   GERARDO          BEROMEN                  KS     90004099310
8299831668B154   BRANDON          TAFOYA                   UT     90011473166
829983AA491837   BRANDY           SIEBERT                  OK     21001573004
8299847A533698   SHAKIRAT         FOLARIN                  NC     12059464705
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1178 of 2350


82999362A72496   PAMELA       ISENBERG                     PA     51066593620
8299974AA9154B   LAURA        OLIVAS                       TX     75070177400
82999A4A676B68   BRENDA       JAIME                        CA     90007490406
8299B529676B65   GILBERTO     LOPEZ                        CA     90001885296
8299B77A88B154   ERBY         MIDY                         UT     90013977708
8299B89745B581   CESAR        OROZCO LUGP                  NM     90014158974
8299B991797138   REBECCA      MORSE                        OR     44082309917
829B1219547822   NICHOLAS     EASLEY                       GA     90014742195
829B1644A81677   AMPARO       GOMEZ                        MO     90001126440
829B1719293771   JOSHUO       HAYES                        OH     90011077192
829B184A572B62   KIMBERLY     CRAGG                        CO     33096038405
829B2712397B38   MONICA       HERNANDEZ                    CO     90012867123
829B2AA438B168   RYAN         CLAYPOOL                     UT     90002830043
829B328A15B183   SHIRLEY      STEWART                      AR     23013302801
829B367158B154   SUNIA        PUPUA                        UT     90014056715
829B3A48472432   MARISSA      CARRELL                      PA     51032080484
829B4161A97B38   ANGELICA     RIVAS                        CO     90014481610
829B41A1885936   JASON        FRALEY                       KY     90012741018
829B4455733698   GRACE        CRUM                         NC     90011374557
829B4484276B65   ANDREA       ROQUERO                      CA     90013024842
829B4859997B3B   JOCELYN      GONZALEZ                     CO     90015198599
829B4917197138   HENRY        PIEPER                       OR     44015989171
829B4A7295B326   FLORIBERTO   RAMIREZ CORTEZ               OR     44554680729
829B4A8315B326   JENNIFER     RICH                         OR     90012930831
829B532969154B   SELENE       VALENZUELA                   TX     90012363296
829B5775497B3B   DORA         VEGA                         CO     39037807754
829B6142141275   GERALD       PARKER                       PA     51029901421
829B6691884333   DAYANITA     EASTERDAY                    SC     14509466918
829B6A4175B24B   BERNARDO     GOODE                        KY     90003280417
829B7343847897   KARRY        BOWENS                       GA     90003573438
829B7517276B65   ERICA        CARDONA                      CA     90013035172
829B7578885856   DEREK        TIPPS                        CA     90000345788
829B7647876B97   FABRICIO     GALAN                        CA     90014016478
829B7717851362   MONICA       BLACKWELL                    OH     66097527178
829B8296485856   JOSE         ORTEGA                       CA     90010442964
829B8554685936   ERNESTO      LOPEZ                        KY     90014195546
829B8585A81677   SHON         LEWIS                        MO     90014465850
829B859A25B24B   SARA         WALLACE                      KY     90008605902
829B8847572B29   JORGE        SOTO-CHAVEZ                  CO     90012088475
829B88A2133698   TINA         NGUYEN                       NC     90004328021
829B9535133698   ADEDEJI      OLAWALE                      NC     90014405351
829B9675593771   GREGORY      PAXTON                       OH     90004846755
829B97A3391975   ALICIA       TURNER                       NC     17050217033
829BB119177537   KRISTOFFER   SCOTT                        NV     90010171191
829BB19A16194B   ENRIQUE      VILLALBA                     CA     90013221901
829BB53774B967   ANDRE'       GUILLORY                     TX     90005305377
829BB59243B347   DONNA        VEYETTE                      CO     90011135924
829BB77A79154B   ANGELES      KOMIYAMA                     TX     90014167707
829BB78225B581   ROBERT       LOZANO                       NM     35045447822
829BB82415B326   CLEMENTE     MALDONADO                    OR     90010758241
829BB918236121   CATHERINE    LUNA                         TX     90006869182
82B1111AA76B65   CHARLES      DONALDSON                    CA     90001321100
82B117AA991242   NAKIA        WITTER                       GA     90010287009
82B12432171977   SHADOW       SMITH                        CO     90002034321
82B1263128B168   AMANDA       MACE                         UT     90004646312
82B12934885936   PAYGO        IVR ACTIVATION               KY     90015379348
82B12951857133   ERNESTO      CABRERA                      VA     90011949518
82B13989991837   JESSICA      MANNINO                      OK     90013819899
82B13A2A272B29   JANESA       DARNELL                      CO     90003830202
82B14213697138   JUAN         MEZA LUNA                    OR     44042442136
82B1422184B581   ABIGAIL      KIMES                        OK     90005012218
82B14317A5B581   GALA         PARSONS                      NM     90005903170
82B14536591242   NANETTE      STROBER                      SC     90009715365
82B14682261928   ERIC         BRAZILL                      CA     46007646822
82B1475A88B145   ROBERT       MOLLER                       UT     31084887508
82B14A47971924   AMANDA       HASENACK                     CO     90001960479
82B1535A533698   JAMES        WATERS                       NC     90012943505
82B15373677537   MIGUEL       ARANGO                       NV     90013043736
82B1622668B163   DOUG         ALLRED                       UT     31057772266
82B163A8297138   KRISTIN      LEHMAN                       OR     90014283082
82B1672798B154   KRISTI       STEWART                      UT     90010467279
82B16831184325   JOSE         JIMENEZ                      SC     14570848311
82B16A9975B326   HAYLE        COPELAND                     OR     90014970997
82B17441497B3B   KENNETH      MCIVER                       CO     90013094414
82B17576272B62   FERNANDO     BUSTOS                       CO     90013005762
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1179 of 2350


82B1849128B163   JAQUELINE       MARTINEZ                  UT     90015304912
82B1856755B338   MERYL           HOVERKAMP                 OR     44543185675
82B186A3672B33   NIGUEL          VIGIL                     CO     90014186036
82B19131191893   JAMES           LEZCANO                   OK     21016001311
82B19327776B65   MARIA           MEJIA                     CA     90013303277
82B19351161928   MARGARITO       LIZARRAGA                 CA     90010703511
82B19655697B38   CARLOS          MARTINEZ                  CO     39059476556
82B19835691242   MARIA           FUENTES                   GA     90011398356
82B19A79672B62   JILL            WHITEHEAD                 CO     33047280796
82B1B137297B68   JOAQUIN         VILLA CASTILLO            CO     33020861372
82B1B142481627   OLGA            GALAVIZ-VALDIVIA          KS     90007911424
82B1B318772496   AIMEE           KELLY                     PA     90011073187
82B1B57933B391   RYAN            SINGEL                    CO     90003025793
82B1B689A4B22B   SHAYLAI         BROWN                     NE     90014556890
82B1B782172B62   KIMBERLY        NOE                       CO     33077347821
82B1B95915B535   JOSHUA          SAVEDRA                   NM     90011929591
82B212A259154B   JUDITH          RAMIREZ                   TX     90014162025
82B21891781627   RAYMOND         ANDERSON                  MO     29005148917
82B22182391979   DAYSHA          MITCHELL                  NC     90010931823
82B221A2485856   ANTONIO         BANTUM                    CA     90007571024
82B2236419154B   MARISELA        HERNANDEZ                 TX     90008053641
82B22A45671977   JANET           CARTER                    CO     38016650456
82B23692872B62   MARTIN          RODRIGUEZ                 CO     33087846928
82B24286572B29   UBALDO          MORALES                   CO     33065732865
82B246AA172432   MARIKO          MARSHMAN                  PA     51008176001
82B2489145B326   JILLIAN         GARRETT                   OR     90006028914
82B249A4172B44   RUTHANN         FOLKS                     CO     90013969041
82B25784497B3B   KATREINA        AUMILLER                  CO     90006767844
82B25982293772   KYNDA           SNIDER                    OH     66094919822
82B25A75776B68   MANDUJANO       FELIPE                    CA     90012600757
82B26265151362   DEBORAH         NAGEL                     OH     66000622651
82B2698A15B24B   CARL            CARPENTER                 KY     90013929801
82B2699329154B   MACIAS          ARNULFO                   TX     90000759932
82B26A66372496   JOSHUA          DUNKLE                    PA     90013620663
82B271A965B139   CHESTER         BROWNING                  AR     23092591096
82B2725215B24B   CONTESSAN       KING                      KY     90013812521
82B2741639154B   DOLORES         JIMISON                   TX     90013794163
82B2742699194B   SELVIN          FLORES                    NC     90011534269
82B27456872B44   NINA            CARTER                    CO     90012724568
82B27845847822   LEIANELSE       KITCHENS                  GA     14093408458
82B27A89241247   CYNTHIA         BATES                     PA     51039310892
82B2851455B326   DON             WILSON                    OR     44544675145
82B2868914B22B   MARIA           ORNELAS                   NE     27034706891
82B2877738B154   JOSETTE         MORRIS                    UT     31007547773
82B29753A76B65   EDGAR           BUENO                     CA     46009147530
82B2B178172B44   YARA            CHACON                    CO     33009721781
82B2B263772B29   ARACELI         GAMBOA VENEGAS            CO     33063912637
82B2B38752B252   TOYA            MATTHEWS                  DC     81014503875
82B2B44315B153   JOSEPH          BURTON                    AR     23041434431
82B2B995851362   TIANNA          ROBINSON                  OH     66002929958
82B31172A97B3B   BRADLEY         JUDKINS                   CO     90012171720
82B31268385936   CELIA           RUBIO                     KY     90010782683
82B317A3751362   TAMARA          KIRTLEY                   OH     90014177037
82B32317284325   MELLISSA        CARMICHAEL                SC     90011113172
82B32374797B38   KEVIN           HAMMER                    CO     39048803747
82B32489971977   HEATHER         VANBUSKIRK                CO     90014824899
82B32549841272   TERRA           BRUCE                     PA     90008575498
82B3281565B183   JERRELL ISAAC   THOMAS                    AR     90012018156
82B33117897138   ANDREW          KIZZIAH                   OR     90014381178
82B33447991837   CHRISTOPHER     MORENO                    OK     90011364479
82B3349346194B   CARINA          CASTRO                    CA     90006054934
82B33748947822   ONTWAUN         BLUE II                   GA     90012967489
82B34311484325   AMBER           BEST                      SC     90014853114
82B34444271977   DANIEL          MILLER II                 CO     38083784442
82B34648161928   KAREN           UGALDE                    CA     90012836481
82B34964572B33   YVONNE          TAFOYA                    CO     33011839645
82B35211876B97   LEROY           JOINER                    CA     90013172118
82B356A795B581   ROBERTA         MONTANO                   NM     90006906079
82B35759841262   RONALD          HERMAN                    PA     90012527598
82B3581565B183   JERRELL ISAAC   THOMAS                    AR     90012018156
82B35A81372B33   LISA            KUMPF                     CO     33030250813
82B3614635B139   SHAWN           RAMSAROOP                 AR     23047881463
82B36772276B65   MINA            BARAJAS                   CA     46012677722
82B3719A15B581   AMANDA          MONTOYA                   NM     90011091901
82B3722775B594   ANABEL          GONZALES                  NM     35081832277
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1180 of 2350


82B3739528B163   JAY           ROSA                        UT     90011353952
82B37662572B29   CHARLIE       MEDINA                      CO     90009036625
82B37789A33698   DAVID         ALSTON                      NC     90014897890
82B37A24691837   ALLEN         DOBEY                       OK     90014800246
82B37A3215B153   BOBBY         WINTERS                     AR     90003110321
82B387A9484325   MYRIAM        PEREZ                       SC     90007647094
82B38854372B29   CORINE        MILLS                       CO     33027778543
82B3889A172B44   MICHELLE      PEREZ                       CO     33060788901
82B38999776B68   JESUS         AGRAZ                       CA     90013649997
82B39782391979   CODDY         HALE                        NC     90012697823
82B39975476B68   BASHAM        SHELTON LEE                 CA     90015069754
82B399AA797B3B   COURTNEY      JOHNSON                     CO     39032369007
82B3B53A181677   NATASHA       ORENDER                     MO     90013565301
82B3B575772B33   RAIMOND       TRUJILLO                    CO     90013435757
82B3B64798B154   AYALA         MONTANEZ                    UT     90014166479
82B3B88A797138   SHIRLEY       HEADY                       OR     44077558807
82B3BA2415B24B   ERICA         MOORE                       KY     90006330241
82B3BA93333698   JUSTIN        CHERRY                      NC     90010770933
82B4131785B581   AGNES         OROZCO                      NM     90012563178
82B41629A85936   MONIQUE       STEWART                     KY     67066316290
82B41637497B68   PASCUAL       ROJAS                       CO     90011586374
82B41664951362   JOEL          CHANDLER                    OH     66025456649
82B41989991837   JESSICA       MANNINO                     OK     90013819899
82B42122177537   MARGARITA     PARRA                       NV     43029391221
82B42427A5B24B   AMBER         SETTLES                     KY     90012114270
82B4269A571977   GERALD        TUCKER                      CO     90003376905
82B42764172B33   ELIZABET      MORALES                     CO     33061847641
82B42964672B29   TAEJAH        YOUNG                       CO     33056329646
82B4299825B139   ASHLEY        HICKS                       AR     23006559982
82B4325A99154B   TRACY         HERNANDEZ                   TX     90014162509
82B4362A95B326   LUIS          ORNELAS CEJA                OR     44590536209
82B43981172B33   DAVID         FLORES                      CO     33044429811
82B44334151336   SHERRY        GARCIA                      OH     90015153341
82B44371972B62   JOSE          JUAREZ                      CO     90011333719
82B44725376B68   PRISCILLA     HEID                        CA     90012367253
82B44726477537   JUAN          AVILES                      NV     90012907264
82B4566755B326   SOLEDAD       ROMERO                      OR     90010996675
82B45766884325   JOSE ARTURO   XOCHIHUA                    SC     90014847668
82B45A7685B581   PAMELA        GRIEGO                      NM     90010470768
82B4624789154B   LUIS          TAMEZ                       TX     75029472478
82B46499797B3B   NADINE        LEE                         CO     90013714997
82B46715772B33   DRE           REED                        CO     33055887157
82B4692415B581   SUSIE         MAEZ                        NM     35015359241
82B46A39185868   MARIA         THOMAS                      CA     46005280391
82B4747A151362   PAYGO         IVR ACTIVATION              OH     90011824701
82B474AA171977   ANGELICA      PEREZ                       CO     90013974001
82B47559476B68   KARINA        ANGUIANO                    CA     46065835594
82B4777168B154   ANGELIQUE     GASPAR                      UT     90014897716
82B481A9641275   LISA          IRWIN                       PA     51093991096
82B484A9377537   JULIA         RAMIREZ                     NV     90006464093
82B4857114B27B   KARINA        MALDONADO                   NE     27057655711
82B48A4725B24B   BRITNI        CONN                        KY     68060280472
82B4952685B581   GLORIA        ROTICH                      NM     35054775268
82B4966418B154   JOEL          ROBERTS                     UT     31058066641
82B49A41591525   MARIA         DERENTERIA ROCHA            TX     90003200415
82B4B184893771   LAVETA        GOODWIN INGRAM              OH     90011001848
82B4B716776B68   CYNTHIA       CALLEJO                     CA     90014717167
82B4B99734B22B   FREDDY        EDSON                       NE     90014949973
82B4B9AA85B326   ANGEL         SANCHEZ                     OR     90011539008
82B4BA12672B33   MICHELLE      MORALES                     CO     90010740126
82B4BA55372B44   BEATRICE      PADILLA                     CO     90015150553
82B5113A991863   TOM           BARBOUR                     OK     21051171309
82B51159A5B183   LAURAN        JACOBS                      AR     90015271590
82B5125179154B   CRYSTAL       CHAVEZ                      TX     90014162517
82B51382372B33   STEVE         VEASMAN                     CO     90014203823
82B5148A781677   YOLANDA       BARRETO                     MO     29023534807
82B51556447822   PHILLIP       OGLETREE                    GA     90000815564
82B51627151362   DEE           SHIVNER                     OH     66092526271
82B51637572B29   JOHN          CORDOVA                     CO     90003946375
82B5167818B168   SOLIS         CORNELIO                    UT     31021146781
82B5173115B24B   ROBERT        WINN                        KY     68056747311
82B51759772B62   AMBER         CANADAY                     CO     90013217597
82B5186528B154   GEORGE        TAYLOR                      UT     31088788652
82B52193577537   MELISSA       HOFFMANN                    NV     90014941935
82B52849972432   ROBERT        AUSTIN                      PA     90013878499
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1181 of 2350


82B52896672B33   BRIAN          SMITH                      CO     90014448966
82B5296A972B62   RACHEAL        SANCHEZ                    CO     33004359609
82B53268272B33   BRIGETTE       ESPINOZA                   CO     33039932682
82B53474581677   ALI            BYRD                       MO     90013114745
82B5425579154B   FLOR           GARCIA                     TX     90014162557
82B54291472B33   ROBERT         ZIMMERMAN                  CO     33050042914
82B54382471977   ALICE          VIGIL                      CO     90014143824
82B54556A44B22   JUAN           PEADLLA                    OH     90015045560
82B545A8891975   WELDON         MIAL                       NC     90011395088
82B5489438B168   WEST           LARSEN                     UT     31007298943
82B54A1A241275   LATRESE        JAMES                      PA     90013440102
82B55329251362   ASFEW KASHUN   BETHLEHEM KASSA            OH     90004303292
82B55376884325   DETRAN         POLITE                     SC     90014853768
82B5545815B532   ESTRELLA       FLORES                     NM     90008114581
82B55461985936   ROLANDO        ESCOBAR                    KY     90004984619
82B55475A72496   AMANDA         GEORGE                     PA     90007924750
82B55667776B65   ROSA           CARR                       CA     46007716677
82B55668372432   AARON          BISH                       PA     90000386683
82B5585AA91975   ARLETO         STEWART                    NC     90010258500
82B55965A5B396   KAREN          BROKKEN                    OR     90006309650
82B55A25871977   BRIONNE        HOSKINS                    CO     38087840258
82B56169A81627   RAVEN          CHAMBLISS                  MO     90003121690
82B56195676B68   FELIX          ROJAS                      CA     90013851956
82B56341591975   DENISE         MERKERSON                  NC     90010783415
82B563A978B154   BRANDON        MCMURRIAN                  UT     90006783097
82B564AAA72B64   JOHN           BUSSE                      CO     90011174000
82B56535591837   KEVIN          RIDRIGUEZ                  OK     90012475355
82B56576577537   ERIBERTO       BARRERA                    NV     43094595765
82B57269785856   OSCAR          JUAREZ                     CA     90002922697
82B57347885936   GLENDOLA       LEWIS                      KY     67050613478
82B57972597B68   FAVIOLA        LECHUGA                    CO     33017779725
82B58274871977   DARRION        HATCHETT                   CO     90013002748
82B59538355931   MARIA          BLANCO                     CA     90010105383
82B5955678B168   SHABIR         BAHER                      UT     90002125567
82B5963A172432   YVETTE         BROWN                      PA     51024006301
82B5963A885856   AIOTEST1       DONOTTOUCH                 CA     90015116308
82B5B323972496   MARC           IARRAPINO                  PA     90011243239
82B5B741181627   STEPHANIE      RENFROW                    MO     29077277411
82B5B742541262   MARK           WELSCH                     PA     90013587425
82B5B858A5B153   ELI            BURTON                     AR     90010088580
82B5BA83697B38   MANUEL         MENDEZ                     CO     90011410836
82B6143A19154B   LOOBANA        SEPULVEDA                  TX     90013234301
82B61467181627   DORIS          WALKER                     MO     90014674671
82B6148435B183   JOYCE          QUARLES                    AR     90014874843
82B61798361928   AMBER          HARRIS                     CA     46018137983
82B62294547822   KAYLA          TAYLOR                     GA     90009572945
82B62347885936   GLENDOLA       LEWIS                      KY     67050613478
82B63189671977   IRIS           GALLEGOS                   CO     90011871896
82B6322399154B   ADRIAN         MELENDEZ                   TX     90006392239
82B63492451362   TILDEN         PONDER                     OH     90011824924
82B63554176B97   ADRIANA        RIVERA                     CA     90010315541
82B63692A97138   SHANELLE       HARRIS                     OR     90014876920
82B63717761928   FERNANDO       PADILLA                    CA     46044167177
82B63955A85856   EVA            COBIAN                     CA     90007539550
82B643A4791523   DANIELLE       DIAZ                       TX     90011113047
82B64627485936   CARLA SUE      CRAIG                      KY     90013976274
82B64685A4126B   MICHAEL        TENNEY                     PA     90005856850
82B6469159154B   ESPERANZA      ZACARIAS                   TX     90010676915
82B65211257122   CYATI          MARIA                      VA     90008122112
82B6545915B139   SHANEKA        ANDERSON                   AR     90006314591
82B65A69691975   BRITTANY       WILLIAMS                   NC     90008400696
82B6611A772B29   TURNER         RAMSEY                     CO     90010291107
82B6662296194B   ERICK          RIOS                       CA     90014436229
82B66764472B8B   STYANATIVE     CLOTHING                   NM     90007547644
82B6685382B256   BARBARA        THOMPSON                   DC     81092308538
82B668A6533698   TERRI          BERKS-MCCORKLE             NC     90010878065
82B6697718B154   BERT           CLARK                      UT     31009949771
82B67151676B97   TIMOTEO        JULCAN                     CA     90000451516
82B67242776B68   VAIERIN        GONZALEZ PEREZ             CA     90002092427
82B6889996194B   JUANA          BAHENA                     CA     46078018999
82B68A71197138   ROBERT         WILLIAMS                   OR     90014790711
82B69416171977   SANDRA         NIVAL                      CO     90007824161
82B69643485856   MIM            NLN                        CA     46054206434
82B6981112B271   PHYLLIS        LEWIS                      DC     90005138111
82B6B14A241262   ROBERT         MANNING                    PA     90010721402
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1182 of 2350


82B6B195891242   GINGER          CANNON                    GA     14589071958
82B6B279A72432   ZHIERE          PATMON                    PA     90009672790
82B6B583A85936   EDMUND          PIERCE                    KY     90013915830
82B6B614941275   SHARICE         BLEDSOE                   PA     90015206149
82B6B855941275   BRIAN           FLEMING                   PA     90003758559
82B6BA3A891975   GLORIA          WILLIAMS                  NC     90014250308
82B6BA42172B33   ROSA            BLANCO                    CO     33044820421
82B71179371977   CAROL           JONES                     CO     38024231793
82B71263572B44   JOHNY           WOODSON                   CO     90008902635
82B71685781677   ADRIANA         SEWARD                    MO     29003356857
82B72283A81627   LENESHA         STALLINGS                 MO     90014832830
82B7277A471977   JUAN            SANCHEZ                   CO     38008067704
82B7284625B24B   BRIITANY        SAMUEL                    KY     90013858462
82B728A429154B   LORRAINE        DURAN                     TX     90010428042
82B72916972B44   SHELTON         FREEMAN                   CO     90012839169
82B72977697B3B   CHRISTINA       VASQUEZ                   CO     90007359776
82B7299372B956   VANESSA         CARRERA                   CA     90013509937
82B73355A97B68   VERONICA        GALINDO                   CO     33045703550
82B73A19571977   LIZA            SOLIS                     CO     90004050195
82B7481519154B   GUILLERMO       ALCALA                    TX     75065068151
82B7495238B163   RAY             SUMMERS                   UT     31015929523
82B7558A45B921   JOSH            BRACCIO                   WA     90015545804
82B75637497B68   PASCUAL         ROJAS                     CO     90011586374
82B7563A393771   VICTOR          PARKER                    OH     64581566303
82B757A3961928   KAMERON         WASHINGTON                CA     90012117039
82B757A4272B62   RICK            WYATT                     CO     90012637042
82B75895376B65   ANGEL           HERNANDEZ                 CA     90014438953
82B75928397138   CHRISTINA       SIGMAN                    OR     90009739283
82B76819397138   DALLAN          MAGUIRE                   OR     90013278193
82B76858291975   YANXIA          KU                        NC     90012318582
82B7699919712B   SAMANTHA        HOLLAND                   OR     90011779991
82B7739154B22B   MYTINA          DIMA                      NE     90014583915
82B7741649154B   TANIA           BUSTAMANTE                TX     90011154164
82B777AA26B871   MAGGIE          COX                       WI     90014347002
82B779A256194B   MARIA           RIVERA                    CA     46084559025
82B782A219154B   LUZ             DOMINGUEZ                 TX     90009772021
82B7846485B24B   KENNETH         SLKORSKI                  KY     68049344648
82B78552A5B326   KONSTANTIN      HOLDERMANN                OR     90010395520
82B78637597B68   JOSE            CRUZ                      CO     90014376375
82B786AA671977   EMILY           HILL                      CO     90014726006
82B78885691979   MICHAEL         CORBETT                   NC     90008878856
82B7919395B24B   FILA            CORNELIUS                 KY     90013961939
82B79227893771   CHRISTIE        SMITH                     OH     90011222278
82B7938515B183   CURTIS          HOLLOWAY #F               AR     90015073851
82B79697291837   IRENE           AMADAR                    OK     90007066972
82B79789897B3B   ANGELA          KENKEL                    CO     39059717898
82B79982885936   NATASHIA        CARTER                    KY     67059089828
82B79A49691975   DAPHNE          TURNER                    NC     17086630496
82B7B13A376B97   HECTOR          RAMOS                     CA     90010461303
82B7B755497B68   ANALEE          LUNA                      CO     90010177554
82B7BA48191837   BOBBY           WHITE                     OK     21025170481
82B7BA55372B44   BEATRICE        PADILLA                   CO     90015150553
82B8124798B154   WENDY           ELLIOTT                   UT     31010472479
82B8136A547822   GREGORY         JONES                     GA     90006973605
82B8232447192B   RENEE           VALVERDE                  CO     32047553244
82B8243315B338   CAROLYNE        MCKAY                     OR     44517424331
82B82687997138   LORENA          GARIBAY                   OR     90011256879
82B8269929154B   NORMA LORENA    ROSALES                   TX     90014786992
82B82826A5B581   KATHERINE       SHINE                     NM     90004668260
82B83231A85936   MICHAEL         ABRAHAM                   KY     90015512310
82B8356679152B   JESSEE          BAUTISTA                  TX     90010315667
82B8367316194B   DAWN            PHILIPS                   CA     46074866731
82B83692641262   JACK            HORNE                     PA     51004906926
82B836A839154B   ARTURO          ESPINOZA                  TX     90013476083
82B83915A54122   MATTHEW         WILLIAMS                  OR     90001119150
82B83945161928   GUSTAVO         SILVA                     CA     46050789451
82B83A95647822   TEQUASHONJULA   GARDNER                   GA     90012250956
82B8416A176B68   MONALISA        RODRIGUEZ                 CA     90012851601
82B84344376B65   INGRID          DEMORAES                  CA     90008893443
82B84375393771   ALLISON         ANDERSON                  OH     90015463753
82B843A2272B29   TIFFANY         NAGEL                     CO     90010003022
82B8463A45B139   BERDIA          JONES                     AR     23090716304
82B84652281677   JENNIFER        REED                      MO     90013596522
82B84727685856   RICKEY          PALACIOS                  CA     90009507276
82B84728391979   FRANCISCO       RODRIQUEZ                 NC     90012867283
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1183 of 2350


82B84A66397B38   DONNY            GOMEZ                    CO     39025640663
82B85286776B68   ELIAS            MARTINEZ                 CA     90002192867
82B85346997B3B   TIMOTHY          WALKER                   CO     90014523469
82B85459451362   MARISOL          GUTIERREZ                OH     90011124594
82B855A5A33698   LATANYA          MOSS                     NC     90010365050
82B85659281627   LAST             HOWELL                   MO     90013466592
82B85685672496   BRANDY           LANE                     PA     90011936856
82B85724A41262   ASHLEY           KERNAN                   PA     51059687240
82B861A5747897   TAWANDA          BRISCOE                  GA     90012371057
82B86274A97B3B   GUSTAVO          LOPEZ ROMERO             CO     39002842740
82B8648A985856   WILLIAM          HORST                    CA     90010144809
82B8663379154B   MARGIE           LOPEZ                    TX     90011376337
82B86857976B65   VANESSA          ARRAZOLA                 CA     46027848579
82B87129371977   JASON            PORTER                   CO     90012311293
82B8743A247822   JARMEKA          VINSON                   GA     90010454302
82B87489897B68   ALBERTO          RAMIREZ                  CO     33008974898
82B8749654B53B   TAMMY            WRIGHT                   OK     90014414965
82B87947991837   ELI              ANDERSON                 OK     90012389479
82B88127A5B581   CHERYL           MARTINEZ                 NM     35013411270
82B88146891979   MARIA            ANGELICA                 NC     17015251468
82B88367397B3B   WILDER           PEREZ                    CO     90013013673
82B8838965B153   KAYLE            ARRIAGA                  AR     90013903896
82B8852A897B38   CHUCK            OROSCO                   CO     39080045208
82B88645297B68   ABBEY            CARR                     CO     90015496452
82B8874456194B   XAVIERA          CALDWELL                 CA     90013777445
82B8954618B168   CELESTE          REA                      UT     31000905461
82B8B26165B326   ANGELA           PALMA                    OR     90014642616
82B8B29A99154B   RIGOBERTO        GARCIA                   TX     90014162909
82B8B4A5A5B24B   RICHARD          GIVIDEN                  KY     68026644050
82B8B569171977   ANITA            MAYORAL                  CO     38091825691
82B8B646172432   ROBERT           BIRCH                    PA     90012816461
82B8B71516194B   JOSE             MONTIEL                  CA     46035147151
82B8B9A278B168   ANGIE            JACSON                   UT     90008839027
82B8BA72491975   ARTURO ARMANDO   BARAHONA                 NC     90014580724
82B91239172432   ALENA            MATHIEU                  PA     90012572391
82B9131592B956   JUAN             ARELLANO                 CA     90012103159
82B9147A398B31   CINETTA          STEVENSON                NC     90010974703
82B9151325B183   ROBBY            BRADBERRY                AR     23072005132
82B9174948B168   BONNIE           VINCENT                  UT     31090817494
82B92296441262   LOUIS            SCHOEN                   PA     90002422964
82B92372A72B44   NGA              PRIM                     CO     90012633720
82B92535171977   MARIA            SCHLEGEL                 CO     90011085351
82B9275259154B   GABRIELA         APODACA                  TX     90014177525
82B92796A72B33   HUGO             SANCHEZ                  CO     90006787960
82B92848776B65   CRISTIN          NICOLAS                  CA     90014808487
82B92A33A8B163   RULAND           TEVAGA                   UT     90011140330
82B92A8455B183   DELORIS          WILLIAMS                 AR     90015170845
82B93152847822   TAKETTA          SWEET                    GA     90007811528
82B931A2497B3B   CHRIS            LINGHAM                  CO     39053201024
82B93482497138   RAMIREZ          COCEPCION                OR     90009574824
82B9358A777537   APRIL            PELLETIER                NV     90011025807
82B93992881627   BALTAZAR         CAMACHO-SARABIO          MO     90000159928
82B93A97372B29   RITA             DURAN                    CO     33071670973
82B9412A447897   ZELL             DANIELS                  GA     14006401204
82B94159176B97   MICHELLE         WILLIAMS                 CA     46068541591
82B94751A4B22B   SCOTT            SCHINCKE                 NE     90014727510
82B95322172B29   ESTELA           HERNANDEZ                CO     33049123221
82B9542215B326   EVE              CHAPMAN                  OR     90014644221
82B95517772B44   LEONARDO         LOZANO                   CO     90014595177
82B95545572496   TERRI            CHARPENTIER              PA     51054875455
82B95597897B68   RANDY            FISCHER                  CO     90012145978
82B95653491939   ANTONIO          MERINO JOSE              NC     90007736534
82B95748A47897   SABRINA          ROBINSON                 GA     14038887480
82B95A5A172B33   KENNETH          ROMERO                   CO     33014100501
82B95A6277737B   GENITA           MOORE                    IL     90009970627
82B95AA889154B   MARIA            URBIETA                  TX     90014870088
82B96177997138   ANDREA           WARD                     OR     90007061779
82B9621985B326   GEORGIA          SIREWOP                  OR     90013872198
82B96578597B38   MARIA            MARTINEZ                 CO     90013655785
82B96A44941262   CHRISTINA        HUGHES                   PA     51007020449
82B9726495B24B   BRITTANY         ELLIS                    KY     90011362649
82B9744344B967   MARTHA           ROSALES                  TX     90002694434
82B97457A7B496   BRANDON          ARNOLD                   NC     11092074570
82B97575A84325   KEA              DENNEN                   SC     14517125750
82B97944876B68   JOSHUA           ROSS                     CA     90002959448
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1184 of 2350


82B97A75972B44   JULIAN           FLORES                   CO     90000300759
82B98169A91975   BRENDA           ALMASRI                  NC     90008391690
82B98261772496   JOHN             MAIRE                    PA     90014982617
82B98369791525   BARRAZA          STEVEN                   TX     90005863697
82B9845155B139   CHRISTAL         STAGGER                  AR     23080134515
82B986A9497B68   ORLANDO          CISNEROS                 CO     90015616094
82B98937391837   SASHA            WILSON                   OK     90012009373
82B98A2A197B38   ANJANETTE        MARTINEZ                 CO     90010950201
82B99362961924   EBONY            JOHNSON                  CA     90012043629
82B99473291525   IRMA             VALENZUELA               TX     90007724732
82B99561372B29   JAMES            NICKEL                   CO     90014465613
82B9959A876B97   ALEJANDRO        MALDONADO                CA     90002235908
82B99A75261928   JONATHAN         CASTILLO                 CA     46053130752
82B9B3A539154B   ALBERTO          CASILLAS                 TX     90014163053
82B9B487977537   RENEE            MATHIESEN                NV     90013894879
82B9B531972B44   ANGELINA         SLAUGHTER                CO     33098465319
82BB1195533698   CAMELIA          ANDERSON                 NC     12091941955
82BB1546A84325   SHAMIEK          JILES                    SC     90014785460
82BB164238B154   JONATHAN         LUTTRELL                 UT     31087266423
82BB2112791837   DAVID            NAPIER                   OK     90008471127
82BB2241A5B139   P                WILLIAMS                 AR     23073822410
82BB2421493771   THOMAS           MOUSER                   OH     64576834214
82BB2546A84325   SHAMIEK          JILES                    SC     90014785460
82BB3174876B68   MARK             WHEATON                  CA     90015011748
82BB323AA97B3B   ALEX             VENTURA                  CO     90011382300
82BB3322972B44   BLAKE            BIGGER                   CO     33001613229
82BB3437972496   KAREN            AGUILAR                  PA     90015204379
82BB377698B154   PATRICIA         TROSPER                  UT     31054237769
82BB3973997B68   CRISTOBAL        GALVEZ                   CO     90013239739
82BB3A25891979   QUSHONDA         BEST                     NC     90012960258
82BB4182572496   MICHAEL          HODGE                    PA     90014711825
82BB432A272B29   MARLENE          ROMERO                   CO     33032133202
82BB43A9741275   ARIANA           ADKINS                   PA     90012283097
82BB4474572B44   CRYSTAL          JARAMILLO                CO     90000314745
82BB4793481677   TATE             CHEREECE                 KS     90014917934
82BB483269154B   ELVA A           COMPEAN                  TX     75013978326
82BB4926597138   CHARLES EUGENE   HAMLTON CRUZ             OR     90013409265
82BB5169461928   JESUS            FAJARDO                  CA     90014061694
82BB5574471977   REGINA           WILTON                   CO     90012535744
82BB5778393771   TAMEIKA          JONES                    OH     90013287783
82BB5857985936   ALVIN            JONES                    KY     90013188579
82BB6443A91837   DAN              MURRILL                  OK     90011924430
82BB668965B581   SONIA            SALDANA                  NM     90013906896
82BB686975B183   CHRISTY          KING                     AR     23055988697
82BB7611A47822   SHEILA           ROSS                     GA     14018026110
82BB7A93893771   MICHELLE         PERRY                    OH     64592520938
82BB817A477537   GERRY            FOSTER                   NV     90001411704
82BB827178B163   SONIA            PALOMINO                 UT     90009892717
82BB882115B338   KUNKEL           THOMAS                   OR     44574908211
82BB894925B229   JERMEY           THOMPSON                 KY     90008129492
82BB8983A73294   GABRIELA         CORETS                   NJ     90014969830
82BB9122272496   MELISSA          JOHNSON                  PA     90002311222
82BB9813891979   ARLANDA          CRUMEL                   NC     90009358138
82BBB318772496   AIMEE            KELLY                    PA     90011073187
82BBB327177537   CHRISTINA        DICKINSON                NV     43013213271
82BBB997771977   BRENDA           OLETSKI                  CO     90006399977
82BBBA69A93771   RACHEL           LUERS                    OH     90001200690
83111A97572432   FRANKLIN         TUSTIN                   PA     90005470975
8311234878B168   NORA             BAEZA                    UT     90014803487
8311252145B24B   RICHARD          MONTANA                  KY     90011685214
8311291395B125   WANDA            THOMAS                   AR     23078319139
83113597772B62   JESSICA          ROSEMARIE                CO     33089015977
83113827676B97   EVANDER          GUILLORY                 CA     90013588276
8311397798B168   MICHAEL          HIRTZEL                  UT     90014229779
83113A75A76B65   OLIVIA           TOVAR                    CA     90008620750
8311436634B558   HEATHER          SERVAIS                  OK     90014583663
8311449172B256   DAVID            JOHNSON                  DC     90005094917
831145A2876B65   PEDRO            GUTIERREZ                CA     46034375028
8311464695B581   LEYDIS           DOUGLAS                  NM     90010976469
83114655797B3B   ROBERT           WATSON                   CO     90011386557
83114AA3355945   MARY             NEMESIO                  CA     90012620033
83115636A47822   KATHERINE        CHAMBLISS                GA     90013296360
8311584AA91979   VILMA            REMI                     NC     90013118400
83116255A72B33   ENRIQUE          RODRIGUEZ                CO     90013172550
8311655792B981   MARIA            RODRIGUEZ                CA     90011755579
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1185 of 2350


8311689A691975   ANTONIO            HERRON                 NC     90014778906
83117522372B33   BRANDI             HILL                   CO     90013255223
831175A4755945   FRANK              MALDONADO              CA     90012985047
831176A542B965   DOLORES            GARCIA                 CA     90000826054
831178A2977537   VICTOR             GUERRA                 NV     90007148029
8311799218B154   JAMES              JOHNSON                UT     31007699921
831179A995B183   MARIO              TABARES                AR     90008699099
83118199976B65   JOE                FLORES                 CA     90002341999
83118446A71938   DELANTE            GILLIS                 CO     90010104460
8311959494B22B   ALBERT             BROWN                  NE     90012785949
8311997875B183   WILLICIA           TIDWELL                AR     90012679787
83119A1135B326   JEREMY             GIBSON                 OR     90003660113
8311B147A91975   JOSHUA             STETSON                NC     90012041470
8311B863A91975   TRACIE             SARTOR                 NC     90014588630
8311B86459154B   MANUEL             BAEZA                  TX     75075808645
8311B893276B97   ALEXANDER          DUNN                   CA     90014138932
8312126415B326   JASON              SOUSA                  OR     90013422641
83121441272B29   MARISOL            ACEVEDO                CO     90006204412
8312184734B22B   LARONDA            WASHINGTON             NE     27095058473
83121978976B65   NATALIE            ARTEAGA                CA     90014629789
83122485272B62   JESUS              HERRERA                CO     90012214852
83122A96997B3B   FRANCISCO JAVIER   MARTINEZ               CO     90007330969
8312361718B154   JEANNINE           RANSON                 UT     31018786171
831245A5571938   BARTOLA            ZAMORA PEREZ           CO     90003985055
8312466135B581   ANDREA             CHAVEZ                 NM     35093086613
83124856897B3B   ROCHELLE           CORMIER                CO     39048308568
83124936697B38   NARYOLI            CORTEZ                 CO     90011029366
83125647A41275   LEON               KHYLER                 PA     90014046470
8312579856194B   MARTIN             GUERRA                 CA     90013937985
83125A11976B97   STEFAN             KINSON                 CA     90007550119
8312616A471977   JAMES              CASTILLO               CO     90010831604
831268A6751341   NATASHA            MACK-HILLARD           OH     90014768067
83126A43772B29   JOSE               HERNANDEZ              CO     33048790437
8312766A697138   CINDY              DAVISON                OR     44007566606
831276A5691979   HENRY              FLORES                 NC     90014086056
83128248372B33   PRESCILLA          ARGUELLO               CO     33044732483
8312863229154B   ADRIANA            RENTERIA               TX     75032806322
83128689472B31   JOSHUA             SCHNEIDER              CO     90002266894
8312B19315B139   DERRICK            MCKINNEY               AR     23095421931
8312B52A772B33   STEPHANIE          WALLACE                CO     90002435207
83131252697B38   JOHN               KILEY                  CO     90001842526
83131637672B23   SAMUEL             FLORES                 CO     33032686376
8313184965B581   JOHNNY             BACA                   NM     90010388496
8313377355B183   ADRIAN             HUDSON                 AR     90014337735
8313457628B151   STEVE              PERSCLS                UT     90004435762
8313496234B22B   OMAR               HERNANDEZ-BOLANOS      NE     90012419623
8313524586194B   YULANI             NUNEZ                  CA     90007682458
8313586419154B   ALBERTO            PONCE                  TX     90014168641
8313588A551362   ANGELINA           SOLIS                  OH     90001478805
83135A14376B97   BELLA              GLADDEN                CA     90007810143
83135A2A197138   VERONICA           AMADOR MEZA            OR     90007870201
8313639AA5B326   THERESA            REYNOLDS               OR     90012263900
831374A575B581   APRIL              PENA                   NM     90013134057
8313815A161928   QUENTIN            JACKSON                CA     90010731501
8313822528B168   NOREIDA            GARZA                  UT     90013442252
83138612A9154B   GILBERTO           HERNANDEZ              TX     90013406120
83138A4568B154   LEONARD            TRUJILLO               UT     90014790456
8313966A591837   DANIEL             WASHINGTON             OK     90014496605
831397A6341275   ROBERT             GIBBONS                PA     90011957063
8313984815B581   MANUEL             ROBLES                 NM     90012728481
8313986419154B   ALBERTO            PONCE                  TX     90014168641
8313B498691975   AMY                BULLOCK                NC     90012784986
8313B662A5B24B   BREANA             SMITH                  KY     90014286620
8313B67117B349   SANTOS             SOLIS                  VA     81023606711
83141439772B29   MARTIN             DELGADO                CO     90007554397
8314149775B24B   REBECCA            KURTZ                  KY     90015094977
83141697476B97   MALCOLM            BRATTON                CA     90015106974
8314211585B326   TYSON              FAGEN                  OR     90013221158
831421A289154B   ENRIGUES           JESUS                  TX     75023651028
8314255185B581   LINDA              HART                   NM     35000605518
831425A7261928   DARON              NIGHTINGALE            CA     90014355072
83142A26791979   LUIS               RAMOS                  NC     90012520267
83142A3A88B829   JOHN               YAP                    HI     90014290308
8314317A58B154   JORGE              RODRIGUEZ              UT     90013641705
83143563972B33   JUAN MANUEL        RODRIGUEZ VAZQUEZ      CO     90013105639
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1186 of 2350


831439A588B168   JAMES             BAKER                   UT     31031939058
83144122A91837   CARL              BURRIDGE                OK     90011741220
83144491A9154B   MATILDE           SILVA                   TX     75037614910
831447A1751362   PAMELA            PRATER                  OH     90014307017
8314527249154B   VILMA             MACIAS                  TX     90010172724
8314555898B163   FRANCIA           DELGADO                 UT     90005165589
8314557196194B   MARTIN            ORTIZ                   CA     90013925719
83145A47697B38   NATHANIEL         COLE                    CO     90005360476
83146729997B38   MERYLEEN          ARABE                   CO     90011197299
83146A84151341   JAMIE             NICKELL                 OH     66062260841
83147173A76B97   PUZZY             BISHOP                  CA     90013351730
8314793995B326   SENG              TURNG                   OR     90007749399
8314875AA81687   COURTNEY          AURICH                  MO     90001377500
8314884985B24B   CHARLENA          GOLDSBERRY              KY     68089178498
83148A37872B62   ROBERT            GREENO                  CO     33003010378
83148A45597B38   KRISTIN           MARCOVE                 CO     90012990455
8314968115B326   KATHLEENE         FERCKING                OR     90006646811
83149759976B65   PATRICIA          ESTRADA                 CA     90012727599
8314B332197138   GARRET            LARSON                  OR     44086053321
8314B34355B24B   SUE               EADS                    KY     68044113435
8314B86689154B   JOSE              GUTIERREZ               TX     90014168668
8314B88A384333   GABRIEL           SANCHEZ                 SC     90007898803
8314BA68A97B3B   JASMINE           GILLETT                 CO     90013480680
8315117556194B   AGNES             BROOKS                  CA     46025621755
8315143299154B   CYNTHIA           VASQUEZ                 TX     90010794329
83151532A91975   TYRON             DILLINGHAM              NC     90010695320
83151587476B97   AMY               CROWL                   CA     90009245874
83151714272B33   DALLAS            COLLIE                  CO     33017827142
8315184745B183   KENNEDY           STELL                   AR     90013908474
8315214125B581   WILLIAM           PEDIGO                  NM     35044531412
83152246A72451   CHRISTA           DRINKWATER              PA     90001212460
831522A9624B49   JEAN              BROOKS                  DC     90008152096
8315244129154B   HUGO              ARAMBULA                NM     90015204412
83152751972B29   LAURATTE          MONDRAGON               CO     90014027519
83153621472B33   JOSEPH            CHAVEZ                  CO     90012236214
8315392795B24B   TAMESHA           BURNS                   KY     90012719279
8315457642B256   MARTIN            NERI-CASARRUBIAS        DC     90000295764
83154944672B29   THOMAS            TUCKER                  CO     90011889446
8315494754B22B   JESICA            PARK                    NE     90010469475
83155377897B3B   WENDY             JAYNE                   CO     90015513778
8315554A151341   PAPA              NDIAYE                  OH     66032425401
83155792976B65   JUAN              PEREZ                   CA     90012617929
8315581522B271   PAULA             COLEMAN-EL              DC     90003598152
83155A3A151362   DANITZA           NARVAEZ                 OH     66025130301
8315729499154B   PATRICIA          CARRASCO                TX     90004292949
83157625272B62   ELENA             CASTILLO                CO     90015196252
831576A3493771   MICHEAL           STONE                   OH     90014136034
831577A714B22B   AMBER             LUCILLE                 NE     90006717071
8315862A841262   TOMICA            GORE                    PA     90014836208
8315949546194B   ALMA              MOTA                    CA     90012814954
831597AAA72B33   LUZ               LEYVA                   CO     90010007000
8315B13298B154   RUBEN             BOTELLO                 UT     90012871329
8315B243671938   SEAN              VERANO                  CO     90010952436
8315B244251341   EBONY             PORTER                  OH     90009622442
8315B633A97138   SABRENA           BUEHNER                 OR     90015296330
8315B65495B24B   EARLENA           WARFIELD                KY     90010746549
8315B833193771   ERIC              MASSIE                  OH     64529398331
8315B839133446   MILDRED           BONNER                  AL     90001588391
8315B876472B29   ANGELO            ORTIZ                   CO     90012248764
8315B93155B183   MIRIAM            MARQUEZ                 AR     90002679315
8315B984A41275   NANCY             STUCK                   PA     90013779840
8315B986491975   FRANK             CHRISP                  NC     17093189864
8315BA8276B871   MCKAYLA           WOLF                    WI     90015410827
8316119729154B   ALEJANDRA         MUNOZ                   TX     90009441972
8316167548B131   SARAH             WOOD                    UT     31006376754
83161852A76B97   FERNANDO          BARRAZA                 CA     46072658520
83161A79472B33   MIGUEL            RAMIREZ                 CO     90013910794
8316264A497138   REINA ELIZABETH   NIETO                   OR     90014716404
83162758172B29   DEMIKA            DURAN                   CO     33088907581
83162AA6176B97   NICHOLAS          FROST                   CA     46018760061
831634A3461928   JIM               BLAZQUEZ                CA     90014804034
8316377718B168   KASI              BURBANK                 UT     90012067771
83163842A97138   LUIS              DAVILA LOPEZ            OR     44073118420
8316393778B169   JEREMY            ROYLANCE                UT     31092629377
8316396275B183   SHANNON           DUMAS                   AR     90009809627
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1187 of 2350


83164323A72496   TISHA              TRUMP                  PA     51084653230
83164371176B97   JORGE              VALENTIN               CA     46050193711
83164A49397B38   CHEYENNE           MEDINA                 CO     90013790493
8316623372B256   CURTIS             BONITA                 DC     81096022337
83166496A71977   MYIDA              MARTINEZ               CO     90011724960
8316721968B16B   ADEN               LOPEZ                  UT     90013732196
831672A6191979   LINDA              COLLINS                NC     90009262061
8316749775B24B   REBECCA            KURTZ                  KY     90015094977
83167638472B29   GEOVANNY           GARCIA                 CO     90015146384
8316787194125B   TOM                JONES                  PA     90004218719
831682A5591837   DAMEISHA           SCOTT                  OK     90011742055
83168A38771938   CHANTLEL           TRUDEAU                CO     90013590387
83169155A5B183   KHALID             JONES                  AR     90013481550
8316946995B326   SOCORRO            AMARO ROMAN            OR     44583354699
8316B5A595B139   KATRINA            PERRY                  AR     90004265059
8316B819A5B24B   CHARLES            HALLMAN                KY     68010628190
83171146376B65   SALVADOR           RAMOS                  CA     90012621463
83171A3145B24B   KEVIN              STINSON                KY     90004080314
83171A7A655945   DIANA JACQUELINE   CORONADO               CA     90014240706
8317231A972B33   CONNIE             DUNGEN                 CO     33012003109
83172489472B29   URIEL              OROZCO SANCHEZ         CO     90013044894
831725A1A9137B   TIMMASHA           CLANTON                KS     90007185010
8317289928B168   PELENATO           TAULA                  UT     90013758992
8317294A461936   CHRIS              WHITLOCK               CA     90010479404
8317295395B581   ANA                PUENTES                NM     90013159539
83172AAA271977   PATRICIA           FLOREZ                 CO     90012660002
8317311A15B326   BRENNA             JENSEN                 OR     90014831101
8317322839154B   EVA MARIE          ORTIZ                  TX     90014502283
831734A9497B3B   NICOLE             ARAGON                 CO     39076254094
831736A376194B   JULIO              OCAMPO                 CA     90013926037
8317392A855945   LUPE               RODRIGUEZ              CA     90012759208
83174111A71977   LORAINE            MARTINEZ               CO     90010011110
83174559172B62   ENRIQUE            JIMENEZ                CO     33022325591
8317471818596B   CASSANDRA          MCCARTY                KY     90002487181
83175A56472B98   YEHIMI             VELEZ FLORES           CO     90005170564
83176229676B65   IBETH              NAVA REYES             CA     90008662296
8317637325B183   SHAVEELA           JORDAN                 AR     90014863732
8317677582B956   LARRY              TURNER                 CA     90007967758
83176858A71938   JOSHUA             GADWAY                 CO     90012578580
83176861572B29   TERESA             GONZLAEZ               CO     90010408615
83176896772B33   ELOY               SAAVEDRA               CO     90012428967
83176A56955945   RODOLFO            DUARTE                 CA     90011540569
8317719A651362   JEAN               HOPKINS                OH     90014161906
83177432776B97   HUMBERTO           MONDRAGON              CA     90012214327
83177712872B62   ELSA               GUERRERO               CO     33005537128
8317787946194B   JOHNNY             BULLOCK                CA     90015318794
831782A1547822   IRIS               WILLIS                 GA     90014162015
83178818276B65   JAVIER             SOLORIO                CA     46056738182
831792AA951362   KYLE               BREFELD                KY     90014162009
8317962396194B   ANTONIO            JOSE                   CA     90013926239
83179A11351341   TRISHA             HAAR                   OH     90013550113
8317B544197138   MARIA              RIVAS                  OR     90012095441
8317B791533698   BERTHA             THOMAS                 NC     90015187915
8317BA5575B139   RUTH               PANGLE                 AR     23049630557
8317BA8345B326   ROB                SOLLER                 OR     44572170834
83181224776B97   ROBERT             AIKINS                 CA     46029522247
83181693A91869   KIM                ATWELL                 OK     21033486930
8318249365B326   FELIX              LOPEZ                  OR     90014204936
8318316A141275   LAURA              HAYWOOD                PA     90003591601
8318396A285936   SHAWNTRINA         HAWKINS                KY     90003569602
83183AA9741262   KHLOE              FINNEY                 PA     90013140097
8318414A591975   MICHAEL            CALDWELL               NC     90011171405
8318421739154B   CARLOS             ORTIZ                  TX     90008802173
831846A9A41275   ALESCHIA           WATKINS                PA     90014886090
83184A31A47897   BRIAN              THORNTON               GA     90014480310
83184A64997138   EUSEBIA            BARRON                 OR     90009990649
831862A1193771   SHELBY             GEORGE                 OH     90012222011
83186668672B33   JACKLYNN           MADRID                 CO     90015616686
83187147A72B29   MICAH              BIROM                  CO     90014811470
8318785A277537   OMAR               CHAVEZ                 NV     43047038502
83188131A71938   ASHANTA            LOVETT                 CO     90004431310
8318851582B271   KEBEDE             ZEGIRGES               DC     90015015158
83189A18376B97   ELOISA             SANGERMAN              CA     46094470183
83189A99576B65   SANDRA             GOMEZ                  CA     46000570995
8318B145533698   DARIUS             HARPER                 NC     90013931455
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1188 of 2350


8318B25695B326   ROEENA          GALVIN                    OR     90014602569
8318B824176B97   GONZALO         CRUZ                      CA     46074328241
8318BA32891979   TRINA           JONES                     NC     90015610328
8319174515B326   CARLOS          TREJO                     OR     44531927451
8319175818B168   ANA             TELLEZ                    UT     90014467581
83191A39191979   ALMA            TELIS                     NC     90008100391
83192868376B97   LEAH            GRACE                     CA     90014818683
83192A6846194B   JENNIE          AYERSMAN                  CA     90002830684
83193446A61928   REBECA          GUTIERREZ                 CA     90014754460
83194275172B33   SHEILA          LANG                      CO     33063912751
83194381597B3B   ERICA           MEDINA                    CO     39080883815
8319456524B967   ABRAHAM         AJOPOP                    TX     76502765652
83194977176B65   MARIA           SOTO                      CA     90014839771
8319521735B24B   HECTOR          ROCHA                     KY     90013912173
8319531199154B   ABIGAIL         FRAUSTO                   TX     75089893119
831953A1391979   TYJAH           DIXON                     NC     90012683013
831953AA991837   BRIAN           ELKINS                    OK     90011743009
8319577995B568   VALENTINA       SALAZAR                   NM     90009347799
83195858197B38   ANDROMADA       DIAZ                      CO     90007548581
8319596A88B159   MISTILYN        ROSENBAUM                 UT     90003659608
83195A8782B256   BERKLEY         HOUGH                     DC     90005160878
83196A5555B183   MICHAEL         MCDANIEL                  AR     90012840555
831972AA951362   KYLE            BREFELD                   KY     90014162009
83197469A76B65   ASHLEIGH        HELLER                    CA     90013474690
83197584572B62   ANGELA          FITCH                     CO     90007655845
83197A97671933   MARIA           ROMERO                    CO     90010540976
83198621172B33   ABRAM           ZITZU                     CO     90013336211
831992AA341262   ANGELA          DOURLAIN                  PA     90010942003
8319B33213B39B   MELVIS          AMAYA                     CO     90008883321
8319B357376B97   OSCAR           CASAREZ                   CA     90013923573
8319B75AA97138   LORI            JENNE                     OR     44071617500
8319B88379154B   LUIS FERNANDO   ALFARO                    TX     90014168837
831B117A65B183   LYNDA           FRIERSON                  AR     90014331706
831B1221891979   ARTURO          FLORES                    NC     90003002218
831B1291A33698   TAMMY           HEATH                     NC     90010222910
831B2726855945   ANTONIO         LOPEZ                     CA     90011877268
831B275789154B   MARIA           ALMEIDA                   TX     90011197578
831B323715B183   MAIDRIAN        HAMMOND                   AR     90005522371
831B3A4849154B   IVONNE          MARTINEZ                  TX     90007400484
831B4181772B33   MARY            BURGHY                    CO     90010781817
831B4537A41275   PHILLIP         STRICKLAND                PA     51053965370
831B476A997B3B   NICK            OSBORNE                   CO     39035147609
831B477355B183   ADRIAN          HUDSON                    AR     90014337735
831B5442147897   MARCO           SIMMONS                   GA     90013544421
831B5741971938   MORGAN          WILL                      CO     90010637419
831B57A2533698   BRITNEY         WHITE                     NC     90005047025
831B62A9771977   PAMELA          SANCHEZ                   CO     90009762097
831B63A8585962   KATE            FRANIC                    KY     90008473085
831B6779291975   SAFARAH         CHAMPION                  NC     90010687792
831B6997532551   BRANDON         GIBBS                     TX     90015099975
831B6A34376B97   EDWARD          ORTIZ                     CA     46018260343
831B747455B326   MARIA           BARAJAS                   OR     90013934745
831B7684A71938   KAELA           DAVIS                     CO     90013946840
831B815125B183   GRAY            WILLIAM                   AR     23024091512
831B8233277537   TARA            MACKEY                    NV     90014502332
831B8352355945   ALFRED          DUBOIS                    CA     90002083523
831B872A141275   COLEMAN         MCCOWN                    PA     90007877201
831B9229A8B168   MISTY           ALIRES                    UT     31048952290
831B9394271938   KEONTE          WEST                      CO     90013103942
831B9582771977   EDELMIRO        GARZA                     CO     90009895827
831B9A3255B24B   LEE             PORTER                    KY     90005290325
831BB58334B22B   KIMBERLY        LARSON                    NE     90009205833
831BB861955971   JENNIFER        LITTLETON                 CA     90002028619
8321126895B581   YVONNE          GINA                      NM     90006422689
8321182188B145   MICHELLE        LUTZ                      UT     90001298218
8321196444B22B   KIHLISHA        RICHARD                   NE     90008349644
832122A3685936   AUTUMMN         YEARY                     KY     67018022036
8321282696194B   NAWLAYYHA       FOREVERYOURS              CA     90013938269
83213331472B62   BARBARA         TAYON                     CO     33041623314
83213A4A376B97   JOSHUA          RHODES                    CA     46024090403
83214181297B3B   JAMES           ARON                      CO     39037071812
83214326A51341   RICARDO         BARTOLON                  OH     90001323260
8321463969154B   ELIAS           NICACIO BONILLA           TX     90003816396
8321465A44B22B   MAUREEN         SAFARIK                   IA     27058356504
8321526768B154   LUIS            QUINTERO                  UT     31098402676
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1189 of 2350


8321541915B326   TRAVIS       GILLILAND                    OR     90012324191
83215997A47822   WILCHESHA    ROBERTS                      GA     90009959970
8321623465B183   ALLEAN       SCALES                       AR     23051862346
83216478A97B38   HUGO         VAZQUEZ-OLIVAS               CO     39004564780
8321653A997138   MICAH        TOBIN                        OR     90014855309
8321669415B326   JOHN         KLOPP                        OR     44542856941
83217269372B29   EVA          GARCIA                       CO     33089912693
83217432A72B33   IVY          VALDEZ                       CO     90005734320
8321745235B326   PAUL         POTENZIERI                   OR     90014334523
83218273A72B33   JOHN         GUARDADO                     CO     90012762730
832186A8147822   LAKITA       JONES                        GA     90014166081
8321891178B163   HEATHER      GRANT                        UT     31074119117
8321972625B326   STEPHANIE    BLAIR                        OR     44510097262
832197A335B183   LATOSHA      HAMILTON                     AR     23003137033
83221262176B97   DEBORAH      LA DUKE                      CA     46013112621
832212A285B24B   MEGHAN       JOHNSON                      KY     68072232028
83221391872B33   VINCENT      LOTT                         CO     33092133918
8322191666194B   RAMIRO       DAVALOS                      CA     90012899166
83221A43955945   JESSE        LEMONS                       CA     90010700439
83222563297B38   LULUPIE      MUNOZ                        CO     90014945632
83222A1195B24B   ALISHIA      PAYNE                        KY     68082380119
8322316A661983   MARGI        ENO                          CA     90010471606
83223A82131469   NATASHA      BELL                         MO     27554740821
8322463585B581   ELOY         VELETA                       NM     35090076358
832246A1272B33   YESHI        GEBREMARIAM                  CO     33075036012
8322531224B22B   CARTON       JONES                        NE     27058353122
83225488376B97   JOSE         CALVILLO                     CA     46040624883
832264A575B183   ROSEMARY     VAN                          AR     23060374057
83226839797B38   NICOLE       SHACKLEY                     CO     39091768397
8322747285B24B   KENNETH      RICHARDS                     KY     90010964728
8322822415B183   ANGEL        WILLIAMS                     AR     90009042241
83228274172B29   MARIA        TRONCOSO                     CO     33035562741
8322944299154B   FLOR         MONTANEZ                     TX     75066454429
8322B15849154B   MARIBEL      AGUILERA                     TX     90010491584
8322B191497B3B   SABASTIAN    CASTILLO                     CO     90014521914
8322B5A9691979   IVONE        KOREANO                      NC     90010145096
8322B691397138   SHERI        STUART                       OR     44050436913
8322B6A8147822   LAKITA       JONES                        GA     90014166081
8322B7A512B86B   JASON        FITZ-ROY                     ID     90001197051
8322B83525135B   DEBRA        GRAU                         OH     90001828352
8322B874372432   TAILUR       JONES                        PA     90013778743
8322B918672496   AUSTIN       NAGEOTTE                     PA     90001679186
8323141735B24B   LARRY        MONTEGOMRY                   KY     90011684173
83231816672B29   CARLA        CORDOVA                      CO     90001798166
83231A79197B38   EMILIANO     ORTIZ                        CO     90009090791
8323237728B168   NISSA        SAWATIS                      UT     31047513772
83232696A5B326   CALEB        TERRANCE                     OR     90013716960
83233113172B62   ANTONIA      ARCOS                        CO     33065471131
832339A2191979   ANTHONY      TABORN                       NC     17024799021
83234921372B29   JOE          SNEAD                        CO     33084659213
83234A4A877537   ALEJANDRA    MARQUEZ                      NV     90015140408
832352A675B183   BRITTANY     DAVIS                        AR     90007872067
8323533875B24B   RICHARD      PREWITT                      KY     90014923387
83235813897B38   JENNIFER     MILLNER                      CO     90003418138
83235991876B65   RODRIGO      VALDEZ                       CA     90014709918
83235A55447822   LAKEISHA     WILLIAMS                     GA     90005630554
8323647A891979   SHAKIERA     PRINTE                       NC     90010504708
8323667A572B33   FELICIANO    LINARGES                     CO     33097966705
8323771178B154   RYAN         BROWN                        UT     31092327117
83238318A85856   DAV ID       SANTAMARIA                   CA     46015263180
8323913588B154   ROXANNE      FLORES                       UT     90014431358
83239725A4B22B   JOSHUA       PRUETT                       IA     90001877250
832398A8861943   MARIA        SANTA CRUZ                   CA     90004848088
83239A7A191547   LAURA        SOTELO                       TX     90015080701
8323B22768B168   ALISSA       BLAKE                        UT     90013752276
8323B36A272B62   TONICA       SHANTA                       CO     90012133602
8323B756451341   JOSHUA       YOUNG                        OH     66093197564
8323BA72597138   DAVID        MOORE                        OR     90010490725
8324114855B24B   RYAN         TRAVIS                       KY     90015441485
83241832A72B29   RODNEY       HUNT                         CO     33085738320
83242474897B3B   AMANDA       MARQUEZ                      CO     90014874748
8324293486194B   ANNABEL      CORONA                       CA     90012929348
83242A88641262   JENNIFER     SCHWEITZER                   PA     90013140886
8324462A173294   MARICELA     FLORES                       NJ     90013976201
83244AA9583288   JAMIE        CALVERY                      MO     71075850095
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1190 of 2350


8324661555B183   MARCO        PATRICIO                     AR     90011986155
8324697A347897   BENITA       WALKER                       GA     90007049703
8324699334B22B   CORINE       SAWADOGO                     NE     90014949933
8324739498B154   PABLO        DACOSTA                      UT     90013183949
83247842A51341   FAYE         DEARDURFF                    OH     90004228420
8324877168B168   LOGAN        HALL                         UT     90014467716
8324B118A4B22B   JAMES        VIRGILITO                    NE     90011121180
8324B19418B163   LISA         MIERA                        UT     31062261941
8324B1AA871938   BEN          GARCIA                       CO     32014611008
8324B546285936   TERRY        BRUNER                       KY     67080215462
8324B741147822   RAYMONE      SOLOMON                      GA     90014167411
8325153728B168   RANDY        BUTTS                        UT     90006095372
83252459897B38   ELSA         DOMINGUEZ                    CO     90008114598
8325267A84B22B   MARCELINO    BARAJAS                      NE     90007236708
83252A46891837   NINA         MCLAURIN                     OK     90014120468
832533A8377537   JENNIFER     DAANE                        NV     90007223083
8325359575B326   MAYRA        ARREOLA                      OR     90014565957
83253AA8A97138   SHELLIE      BOWEY                        OR     90006420080
83255466372B62   KHAING       TUN                          CO     90000194663
8325563825B139   JENNIFER     OWENS                        AR     90000556382
83255A3A891242   ANITRA       BROADIE                      GA     90012550308
83256221A41262   GARY         BRAY                         PA     51044292210
83256236A71933   JASMINE      PIERSON                      CO     90008812360
832571A1691837   JENNIFER     IBARRA                       OK     90005161016
83257513A5B326   ANGELA       PAINTER                      OR     90013385130
83257584572B33   DAVID        TILLOTSON                    CO     90001735845
83257A34597B38   TAMMY        GEORGE                       CO     90008470345
83258119A3143B   ALTAMILYA    CLAY                         MO     90008641190
8325957476194B   JONATHAN     GARCIA                       CA     90014415747
8325995965B581   MARIA        GARCIA                       NM     90010229596
8325B251A97B38   SAMUEL       DURAN                        CO     90009122510
8325B456172B29   LEE          REH                          CO     90015274561
8325B86875B326   RAYMOND      GONZALEZ                     OR     90013198687
8326266A78B168   LAURA        MOOSMAN                      UT     31070016607
83262876233B33   DESIRE       WATKINS                      OH     90014768762
832631A954B967   KAMEKA       SMALL                        TX     76548681095
832632A6576B97   TIFFANY      SOTELO                       CA     46049212065
83263696A8B154   NATALIE      ELLISON                      UT     90007796960
832637A7661928   MICHEL       LABADY                       CA     90004157076
8326417978B163   JENNIFER     ROGERS                       UT     31000341797
8326429AA97B38   ESGAR        MATA                         CO     90013922900
8326495762B389   SANTOS       CARRILLO                     CT     90014119576
83264A32972432   DANIELLE     WILLIAMS                     PA     90013470329
8326554A472432   PAYGO        IVR ACTIVATION               PA     90014995404
83265835272B33   DALLAS       DENNIS                       CO     33042518352
8326591178B163   JENNIFER     LANE                         UT     31087259117
8326593319154B   ERIKA        DE LEON                      TX     90014789331
832669A1676B97   BONIFACIO    LOPEZ                        CA     90014839016
83266A57571938   NICOLE       KLEIN                        CO     90014600575
83266AAA276B97   MARTY        MARTINEZ                     CA     90014820002
83267173397B3B   JOSE         LOPEZ                        CO     90015101733
8326728518B189   KAMILL       CORRY                        UT     31008442851
83267794376B97   ESMERALDA    MENDOZA                      CA     90013037943
83268131A93771   MICHELLE     WINSTON                      OH     64507341310
8326817A15B581   YOLANDA      REYES                        NM     35017701701
8326857994B221   KOUKA        OUEDRAOGO                    NE     90009695799
8326873229154B   LUISA        MONTELONGO                   TX     75021257322
8326875896194B   RON          WEBER                        CA     46032157589
8326951435B183   LATASHIA     PEARSON                      AR     23085645143
8326978565B139   STERLING     DIXON                        AR     90004497856
83269932572B33   CAMISHA      SMITH                        CO     33029869325
83269A5625B24B   JAMES        RENEER                       KY     68081540562
83269A82551362   HECTOR       MONJARAS                     OH     90014230825
83269A93341262   DONNA        WADDLE                       PA     51023690933
8326B194797B38   DALIA        GARCIA                       CO     90006341947
8326B246191975   BILL         LAWTON                       NC     90013752461
8326B855172B62   IRAN         BEJARANO                     CO     90009838551
8327171369154B   SHERYL       MOTTER                       TX     75074377136
83271925372B29   GRACIELA     GARCIA                       CO     33063799253
83272121A91837   JEFF         TILTON                       OK     21096631210
83272337A4B22B   WILLIAM      JONES                        NE     90008923370
8327336149154B   ARMANDO      BETANCOURT                   TX     75087703614
83273587272B62   BELIN        YAVUZ-EDMOND                 CO     90013105872
8327372A191979   PRISCILLA    SANCHEZ                      NC     90008497201
8327429884B22B   APRIL        GEORGE                       NE     27074432988
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1191 of 2350


8327441396194B   THOMAS       WILLAREDT                    CA     46035224139
8327482436194B   MIGUEL       POCE                         CA     46005048243
8327497A78B154   LUIS         CASTRO                       UT     90014359707
83274A25891979   JESSICA      TORRES                       NC     90013680258
83275113A41262   TAMESHEA     GODFREY                      PA     51074381130
8327549A25B24B   TARYNN       BUNDY                        KY     90004804902
832764A815593B   CHERYL       MESA                         CA     90008434081
83276524776B97   ANGELICA     MAGALLANES                   CA     90007595247
8327711949154B   ERICA        OCHOA                        TX     90014201194
8327789AA91837   MEAGAN       GIBBS                        OK     90011878900
832779A9A9154B   JOSE         HERRERA                      TX     90014169090
83277A2236194B   TRICIA       ARAGON                       CA     46015800223
832781A8A91837   SHERRY       MORROW                       OK     90012791080
83278485576B65   LILLY        CHANEY                       CA     90001704855
832785A1351341   KAREN        BRUNK                        OH     90009325013
832785A9397B38   DAVID        CONOVER                      CO     90000385093
83278AAA58B168   JOSHUA       ANDRADE                      UT     90015130005
83279846497B38   JOVANI       VALDEZ                       CO     90013018464
8327997918B168   JULIE        HUNT                         UT     90014229791
83279A9869154B   JANETT       VARGAS                       TX     75010400986
8327B623971977   CHRISTINA    HERNANDEZ                    CO     90007916239
8328173575B581   ADRIN        DIAZ-SILVA                   NM     35004027357
83282195276B97   JOSE         RENDON                       CA     90015131952
83282446872B62   BILLIE       ALKIRE                       CO     33039574468
83282666A41262   BARBARA      BECKHAM                      PA     51077526660
8328285144B22B   ABLLIE       MCCOY                        NE     90008978514
83282853497B3B   JOSEPH       SMITH                        CO     90011088534
8328345699154B   ANA          FIEROS                       TX     90002814569
83283775A72432   PETER        PASCHUCK                     PA     90010477750
8328384424125B   ALESHIA      BURKHART                     PA     90013998442
83284A23993771   EVRON        COLHOUN                      OH     90013270239
8328564A591975   ANA          MUNOZ                        NC     90007926405
8328612578B154   VICENTE      LORENZO                      UT     90003171257
83287321272B33   CECILIA      BACA                         CO     90013853212
83287A33A76B65   EMMA         MARTINEZ                     CA     90008680330
83287AA8961928   SANDRA       BRADSHAW                     CA     90010140089
8328853A18B168   TY           COLYAS                       UT     31075645301
832886A8841275   JAMARR       MARTIN                       PA     90014566088
83288997972B62   SONYA        MADRID                       CO     90014629979
83289183A5B581   INA          APACHE                       NM     90015041830
832895A3272432   KEVIN        NIXON                        PA     51072205032
83289667876B97   BRUCE        WINBURN                      CA     90013826678
8328967142B256   MERCY        AKAMIRO                      DC     90004866714
83289831A6194B   KURT         ROIZ                         CA     90007748310
83289938972B62   BRIAN        BOGGES                       CO     90004959389
8328B246572B62   BRIAN        SCHIELLZ                     CO     90011182465
8328B27A485856   MICHAEL      STANFORD                     CA     90010302704
8328B316176B65   SAMUEL       MIREDES                      CA     90013233161
8328B438541275   ERIC         ST.CLAIR                     PA     90014334385
8328BA34297B38   ANTHONY      GRIEGO                       CO     90012360342
8328BA6259154B   REBECA       ORTEGA                       TX     75040660625
8329129688B154   AMBERLY      MOSER                        UT     90001272968
83291384797B38   ANTHONY      MAES                         CO     90013023847
83292164A76B65   JOSEPH       RAMIREZ                      CA     90009601640
8329275275B24B   CHAD         MILBURN                      KY     90015117527
8329315735B139   JESUS        ZAVALA                       AR     90010651573
8329383935B183   ANA          VEGA                         AR     23032428393
83293A92476B97   HEIDI        RUSSELL                      CA     90014000924
8329541A291975   CHUKWUEMEK   UKPAI                        NC     17053864102
83295AAA86194B   HERIBERTO    BELTRAN                      CA     90003060008
8329647818B154   MICHAEL      MONDRAGON                    UT     31070534781
832971A7377537   SERGIO       LOPEZ                        NV     90011511073
8329753A661928   JOSE         GUTIERREZ                    CA     90011175306
832977A2472432   KATHY        BLOSE                        PA     51013977024
83297A2A341275   MICHELANDE   ST CYR                       PA     90008150203
83298382A5B183   ROBERT       SUMMERS                      AR     23086883820
83298496797B3B   NORMA        SEPEDA                       CO     90003974967
83298A88A97138   ERIKA        CHAVEZ                       OR     90001850880
83299A56433698   BOBBIE       GROGAN                       NC     90010350564
8329B375833698   STEPHON      LEIGH                        NC     90013933758
8329B412991975   EVA          PARAMO                       NC     17066894129
8329B484961928   JOSE         MENDEZ                       CO     90014904849
8329BA4215B183   CASSONDREA   LIVINGSTON                   AR     90013360421
8329BA72551341   APRIL        FRAZIER                      OH     90010710725
832B1343A33698   MARLITA      RANDOLPH                     NC     12085233430
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1192 of 2350


832B168588B154   CORNELIA     WARNER                       UT     90003026858
832B1797841262   ANDREW       NIBBS                        PA     90013647978
832B18A5391979   LYNWOOD      GRIMES                       NC     17074268053
832B216A841275   KIRK         JOHNSON                      PA     90014571608
832B23A5397B38   JASON        KNOBLOCH                     CO     90014153053
832B248955B326   TOHNYA       BRANDENBURG                  OR     90003264895
832B2791A33661   RAYMONDS     BURNS                        NC     90006127910
832B2866591837   AMBER        CRABTREE                     OK     90001438665
832B2939951341   ASHLEE       BURDINE                      OH     90013069399
832B3314197B38   DAYANA       BAUTISTA                     CO     90013793141
832B386844B22B   TRAVIS       AHL                          NE     90012628684
832B3935A8B136   CRISTIN      CLUFF                        UT     31014269350
832B3955991975   RHMS         CONSTRUCTION                 NC     90012299559
832B39A2655945   JOSE         GUTIERREZ                    CA     90007199026
832B3A3795B183   DEBRA        MALLOY-GILLIAM               AR     23074960379
832B418599132B   JONATHAN     WALKER                       KS     90001041859
832B4323171938   DELILAH      COLON                        CO     90011353231
832B439435B243   ERVIN        ADKINS                       KY     90001333943
832B4595A76B97   MICHAEL      GUIFFREDO                    CA     46010965950
832B4675191837   SHARNE       BOYD                         OK     90011746751
832B483979154B   LELAH        CASTILLO                     TX     90012638397
832B512615B24B   ASHLEY       CURTH                        KY     68071021261
832B51A7297B3B   JOSE         GOMEZ                        CO     90014751072
832B534778B154   LUCERO       TORRES                       UT     31073683477
832B54A3671977   DAVID        MELONAS                      CO     38065764036
832B5714576B97   NOE          ESTRADA                      CA     90011877145
832B5AA6751341   SONYA        MCCULLER                     OH     90012380067
832B6447697B38   HUMBERTO     PINEDA-VARGAS                CO     39091074476
832B664698B154   JOSE         ROJAS                        UT     90012696469
832B675478B168   GABRIELA     MISTIK                       UT     90012527547
832B724455B183   ALICIA       ROHM                         AR     90012592445
832B731554B22B   TRENTON      GLEASON                      NE     90014813155
832B7685161928   LEONOR       GARCIA                       CA     90012666851
832B7696A4B967   KYTHIA       DAVIS                        TX     90013456960
832B792768B163   DOUGLAS      BINGHAM                      UT     31005079276
832B8289597B38   MICHEAL      LLAMAS                       CO     90014222895
832B8337291837   K-LORA       MORRIS                       OK     90014573372
832BB452897138   BORBONIO     ERNESTO                      OR     90010404528
832BB569672B33   TOBY         PADILLA                      CO     33072955696
832BB656191975   BELAN        BAUTISTA                     NC     90013756561
832BB769251347   TONI         FOLSON                       OH     90009857692
832BB842576B97   DAVID        JOHNSON                      CA     90014838425
8331114355B581   JENNESSA     GARCIA                       NM     90013141435
8331174745B24B   AUSTIN       CLINT                        KY     90012947474
83312528872B33   NAM          LIBBY                        CO     33090645288
8331261376B963   JESUS        BAUTISTA                     NJ     90015416137
8331289534B524   DOMINIQUE    NAYAGA                       OK     90004008953
8331311514B22B   CHUCK        HACKSHAW                     NE     27064111151
8331375925B24B   ELVINA       FITZGERALD                   KY     68004367592
8331398396194B   DANIEL       CRUZ                         CA     90011859839
83313A8466194B   GOODFREY     THOMPSON                     CA     90012470846
8331423295B326   JOSEPH       CHAVEZ                       OR     44508362329
833148A9272B62   ARYN         OCONNOR                      CO     90012908092
8331497A397B38   MICHAEL      MARTINEZ                     CO     90013039703
833156A1471938   FREDDY       MARTIEZ                      CO     32078076014
833158AA551341   ANNIE        CARTER                       OH     90007898005
833161A7372B62   LUZ          DELGADO                      CO     33088361073
8331659677B36B   MEHRDAD      ADEEL SOLTANI                VA     81015645967
83317933272B33   OTTO         LARSON                       CO     33080769332
8331794146194B   GLORIA       RIVERA                       CA     90013939414
83317AA3272B62   JACKLYN      SIOLVA                       CO     90012350032
8331817598B168   MICHELLE     EGGERTSEN                    UT     31098911759
8331891995B24B   STACEY       RALEY                        KY     90010109199
83319113298B42   COLETTE      TOWNSEND-CHAMBERS            NC     90010951132
8331946A197B3B   LEE          HERRERA- SCANNAPIECO         CO     90013694601
8331949994B22B   LORI         GOUKER                       IA     90013194999
8331B59135B139   ALEJANDRA    BELTRAN                      AR     23069585913
8331B814672B33   OSCAR        VASQUES                      CO     33079688146
8331BA75547822   CAROL        MCDAIEL                      GA     90014180755
83321298797B38   MARYJANE     TOVAR                        CO     90000272987
8332244A977537   CATHRON      PAST                         NV     43090054409
8332331765B581   JAVIER       GUERRERO                     NM     35096703176
8332397A397B38   MICHAEL      MARTINEZ                     CO     90013039703
833241A1A61924   IRMA         FRANCO                       CA     90009731010
8332497A397B38   MICHAEL      MARTINEZ                     CO     90013039703
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1193 of 2350


8332518317B362   IRINA        GHAZNAWI                     VA     81094921831
83325335272B29   DESIREE      DAVIDSON                     CO     33012623352
83326441A6194B   STEVEN       JOHNSON                      CA     90013424410
83326594576B97   MARCOS       MIGUEL                       CA     90010925945
833268A2397B3B   MIGUEL       ESTRADA                      CO     90013518023
83326915872B62   BRANDY       SCARBERRY                    CO     90012919158
8332714858B163   SAMANTHA     RIVERA                       UT     90004241485
833278A5797138   GREGORIA     BARRANCA                     OR     90010048057
83327AA785B24B   DOMINIQUE    PENDLETON                    KY     90013580078
8332822485B326   MARIA        GARDUNO                      OR     90000642248
8332827258B168   LOURDES      CANO                         UT     31002272725
8332861A84B22B   ERICA        WELNIAK                      NE     27071636108
8332882422B256   JESSICA      SNEAD                        VA     90004858242
8332897176194B   ERIC         MIZRAHI                      CA     90013939717
8332B142372B62   ERNESTO      HERNANDEZ                    CO     90013321423
8332B77939154B   BRIANDA      LUNA                         TX     90013937793
8333176368B168   SHEREE       MADDOCK                      UT     90014467636
83331957A33698   JANE         CLARA                        NC     12044709570
8333214858B163   SAMANTHA     RIVERA                       UT     90004241485
83332434A5B581   JERRY        LOPEZ                        NM     35032444340
833326A1A61928   JERRY        NEALY                        CA     46079036010
833327A3555945   ELISEO       LOZA                         CA     90011127035
833329A6576B65   ERIK         ANDRADE                      CA     90012729065
83332A61147822   TOMARA       WILLIAMS                     GA     90015050611
83333489276B97   KELLIE       JACKSON                      CA     90007014892
833337A1471938   NOEMI        VILLASENOR                   CO     32055737014
8333421385B326   KRISTY       NAJDEK                       OR     44565912138
83334A48291979   THERESA      KUMBO                        NC     90011590482
8333523285B326   ROBERT       HARDY                        OR     90010802328
8333577168B168   LOGAN        HALL                         UT     90014467716
83335A57691837   HEBERTO      FLORES                       OK     90011750576
833364AA633691   JASMINE      LEWIS                        NC     90005184006
833367A675B183   GABRIEL      BLUE                         AR     90002487067
83337A16785856   ANDREW       MOSER                        CA     46020330167
83337A7A651531   MARIA        RODRIGUEZ                    IA     90015150706
83337A88151362   KEITH        SPALDING                     OH     66045960881
8333842575B183   DARRELL      MIXON                        AR     23064834257
8333847795B24B   NATASHA      ALMON                        KY     90012864779
8333849656B82B   DAISY        ORTIZ                        WI     90008664965
833384A4772B29   ZACHARY      CLAYTON                      CO     90013654047
8333855185B581   LINDA        HART                         NM     35000605518
83338766497B38   AMERICA      ARREOLA                      CO     90009057664
833388A4197B3B   VERONICA     APARICIO                     CO     39052408041
83339545997B3B   DORA         FLORES                       CO     90002695459
8333955539154B   HECTOR       RAMOS                        TX     75052975553
8333984164B22B   TYRONE       DELANEY                      NE     90008618416
83339889576B97   ELIJAH       WHEELER                      CA     90010278895
8333B281447822   LARONDA      MCCRARY                      GA     90014182814
8333B519276B97   ANA RUBI     ANGUIANO CASTILLO            CA     90014115192
8333B969871938   ELDER        DELGADO                      CO     32015689698
833412A5776B65   CRAIG        COBLE                        CA     90014002057
83341885A71977   VICKI        SEGURA                       CO     90001198850
83341A75547822   CANDACE      CONNER                       GA     90013140755
83341AA2891979   JUSTINE      WILLIAMS                     NC     90015520028
83342214A72432   MARK         ROMANO                       PA     90005842140
83342498A76B65   MARIA        MOLINERO                     CA     46062544980
833439A4472B62   CLAUDIA      RAMIREZ                      CO     33006559044
8334455495B326   BRIANNA      SUTTON                       OR     90012315549
8334469188B168   GLENDY       REYES                        UT     90014536918
8334469A372B62   JOHN         AMANOR                       CO     90014256903
8334483789154B   MARIO        MORENO                       TX     90010488378
833449AA55B24B   MARTISA      ROGERS                       KY     90012309005
83344A88771977   ERIC         ERNEST                       CO     90009670887
833451A242B271   RICKY        THORNTON                     DC     90012201024
8334543A541262   CLETIS       BIBEY                        PA     90013144305
833457A1772B29   ANA          RAMIREZ                      CO     33019367017
83345916A4125B   GINA         ZIEMBA                       PA     90009609160
83346676A97B3B   KIM          RHODEN                       CO     39005676760
83347981872B29   ARTRITA      SNYDER                       CO     33038549818
83348164676B65   TIM          HAMIET                       CA     90014371646
83348298172B33   DAWN         SUPPI                        CO     33027212981
8334852A197B38   CLAUDIA      GUERRERO                     CO     39021075201
83348A4568B18B   EVA          HENRY                        UT     90002490456
833492AA177537   YURITH       PALAFOX                      NV     43043632001
83349361172B33   DOUG         MCDONALD                     CO     33050413611
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1194 of 2350


8334967A493771   TEDDIE            SKINNER                 OH     64556496704
83349A3649154B   EDUARDO           MEJIA                   TX     90014180364
83349A5555B183   MICHAEL           MCDANIEL                AR     90012840555
8334B287671924   MELISSA           LORENZO                 CO     90011182876
8334B29A151341   PAULETTE          ROBBINS                 OH     66041062901
8334B321747897   ZONDRA            LOCKETT                 GA     90013943217
8334B383547822   SHENIKA           GLOVER                  GA     90014183835
8334BA5465B581   FAITH             PADILLA                 NM     35054870546
8334BA6A176B97   MANUEL            REYES                   CA     90008670601
83351A39272B62   ALHUMAIDI         FAHAD                   CO     90010060392
83351AA6941275   ANNA              SNYDER                  PA     90012050069
833524A578B168   HOLLY             ASHBY                   UT     90005724057
8335272978B154   RAYMOND           JORDAN                  UT     90013757297
83352859397B38   CARMEN            LOPEZ                   CO     90009498593
83352A4195B581   MARIO             RIOS                    NM     35059350419
83353378476B65   VICTOR            ANDRADE                 CA     90011183784
8335347979154B   RAFAEL            RODRIGUEZ               TX     90014814797
8335399A78B168   ELI               BURKE                   UT     31094989907
83354574A97B3B   DELIA             HERRERA- AYALA          CO     90015285740
83354592172B29   NIKKEA            SETTLES                 CO     90014015921
833549A265B326   CATILINA          GONZALEZ                OR     90011599026
8335632274B967   ROCHELLE          PATTON                  TX     90013163227
83356A17677537   SILVIA            MORALES-CHAVEZ          NV     90015150176
83356A1A34B967   ROCHELLE          PATTON                  TX     76503130103
83357481172B62   CHRIS             HARNANDEZ               CO     90013744811
8335799716194B   JOSUE             ORTIZ                   CA     90013939971
83357AA285B581   ALICIA MARTINEZ   NICHOLAS ROMERO         NM     90013160028
8335851218B169   JOUETTE           ARNS                    UT     31017695121
83358656A93771   BRITTANY          HUFFMAN                 OH     90014446560
83359153272B62   MICHAEL           LOPEZ                   CO     90013761532
8335B11AA51362   ERIC              MEYER                   OH     66053251100
8335B179551341   ANGLE             LAWRENCE                OH     90013651795
8335B219591975   SHAQUIA VALISA    GLOVER                  NC     90013602195
8335B416472B33   PEGGY             SANDOVAL                CO     90007224164
8335B41767B464   JENNIFER          ODONOHUE                NC     90014084176
8335B66588B163   PETER             LITSTER                 UT     31067066658
8335B781871977   JESSICA           GONZALEZ                CO     90014347818
8335B7A4947897   MOHOMERORLE       COLBERT                 GA     90009917049
8335B854876B69   LUZ               CORTEZ                  CA     90009888548
8335B94979154B   TOMAS             CADENAS                 NM     90014169497
8335B972131445   DOMINIQUE         AVANT                   MO     90012469721
83361215597B3B   MAGGIE            LUNDER                  CO     90005342155
8336155A45B183   FELECIA           STEVENSON               AR     90014545504
83361726A5B24B   PATRICIA          BASHAM                  KY     68025577260
83362676A5B24B   ANNA              BAUMGARTNER             KY     90015076760
83362815A9154B   JOHN              EDWARDS                 TX     75078188150
8336353116194B   CECILIO           SANCHEZ                 CA     46042345311
83364215472B29   LAUREN            WILLIAMS                CO     90013292154
8336455564B954   BILLY             JOHNSON                 TX     90000855556
8336476559154B   SONIA             MEZA                    TX     75093917655
833647A4855945   ANGELINA          RAMIREZ                 CA     49001427048
8336523945135B   EMILY             HALL                    OH     66012132394
8336549A893771   LATONYA           JONES                   OH     64575164908
8336577395B581   NATASHA           SANCHEZ                 NM     90014837739
83366584776B65   JOEL              PEREZ                   CA     90008655847
8336787918B151   ANN               KIRCH                   UT     31007538791
833685A664B967   CASSANDRA         GREEN                   TX     76542395066
8336913485B581   YESENIA           MENDOZA                 NM     90014811348
83369522876B65   EPIFANIO          LUCAS                   CA     90012135228
8336B161597B38   ANGELINA          HERNANDEZ               CO     90013221615
8336B18475132B   MICHIA            HODGE                   OH     90012881847
8336B284676B97   JOSUE             SANCHEZ                 CA     90009122846
8336B69959154B   FRANK             PAEZ                    TX     90012646995
833712A7193771   JAMIE             CAMMON                  OH     64589212071
8337188A371938   RICARDO           IGUADO                  CO     90013378803
8337248A333698   CAMILO            SALINAS-FLORES          NC     90013934803
83372519297B38   BRENDA            AGUILERA                CO     90013115192
83372595172B33   TEDDY             PUENTE                  CO     90007215951
83372754776B97   OLGA              OCAMPO                  CA     90012307547
8337281779154B   GABRIELA          RODRIGUEZ               TX     90015128177
83373A35641262   ROBERT            CLARTY                  PA     51021410356
8337492147B339   JOSE              RUBIO                   VA     90013459214
833752A5891979   KEYONNA           BETHEA                  NC     17095782058
8337537245B326   SHELLEY LYNN      SHAW                    OR     90014743724
8337539892B252   FRANCIS           ALEMAN                  DC     90010813989
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1195 of 2350


83375554497B38   MARIA           RODRIGUEZ                 CO     90013115544
83375881672B33   KEANAN          TURMENNE                  CO     90015458816
83375A37A9154B   NICHOLAS        HERTEL                    TX     90014180370
83375AA6161928   JOSE            MARTINEZ                  CA     46045070061
8337654915B139   TRESA           RAGAN                     AR     23041755491
83376677397B38   JOSEPH          GUERRERO                  CO     90008546773
833767A5547822   DEBORAH         STEWART                   GA     90001567055
8337683885B326   HEATHER         THURBER                   OR     90005518388
8337761495B581   TIFFANY         PADILLA                   NM     90001296149
8337769648B154   BRANDON         KNOX                      UT     31058406964
8337826A56194B   OMAR            EDUARDO                   CA     90011342605
8337839894B22B   SHAWN           HEYD                      NE     90008973989
833796A1685936   CARLOS          VIZCAINO                  KY     90000796016
8337973254B22B   SHANNON         LIGON                     NE     27020357325
8337988467B386   ZELALEM         BESHAH                    VA     81035058846
8337B25825B326   TIMOTHY         MCLAUGHLIN                OR     90013142582
8337B359672B29   SHINELLE        BROOKS                    CO     33087713596
8337B366477537   COREY           TUNNEY                    NV     90014613664
8337B3A452B956   JERRY           BERRY                     CA     90010993045
8337B414641262   STEPHEN         CLARK JR                  PA     51051944146
8337B81515B24B   JAMES           CONNOR                    KY     68025468151
8337B833291979   SHAKEYA         HOWELL                    NC     90015438332
8337B948551341   EBONY           SMITH                     OH     90012569485
8337B989761928   YARUMI NAYELI   GUZMAN                    CA     90002299897
8337BA78991976   THANINA         KULES                     NC     90008300789
83381419A5B183   KENNEDY         GOODEN                    AR     90014894190
83382378A76B65   BARBARA         HERNANDEZ                 CA     46057223780
83382591776B97   CARINA          BERDADINO                 CA     90010875917
83382592472B29   TREVOR          SMITH                     CO     33040825924
8338295978B168   LETY            GUILLEN                   UT     31095479597
8338297158B192   KAREN           DELLINGER                 UT     90006159715
83382A1115B326   DAN             GLEASON                   OR     90010940111
83383163576B97   NOBERTO         PANTELLON                 CA     90009391635
83383A7517242B   RICHARD         BROWNFIELD                PA     90001660751
8338447135B183   ROSE            BROOKS                    AR     23001504713
833844A8A47822   TAMMY           TAYLOR                    GA     14042604080
8338492876194B   OLAUDAH         DUMAS                     CA     46040529287
8338494644B22B   EBONY           MCCRAY                    NE     90013659464
833855A638B154   FOXAYNNE        OSEA                      UT     90006985063
8338563A35B326   LUIS            ORTIZ ARTEAGA             OR     44567426303
83385A3A86194B   RAMON           CANEDO                    CA     90014080308
8338654755753B   TESSIO          REA                       NM     90013785475
8338725485B183   MANDY           PALTON                    AR     90013472548
83388175897B38   MARICELA        PEREZ                     CO     90014781758
8338848128B138   LLOYD           PETERSON                  UT     90005724812
833885A565B326   FRANKLIN        CHARBONEAU                OR     44542065056
8338884AA51341   EDUARDO         SANCHEZ                   OH     90014378400
8338942635B24B   CINDY           DENZIK                    KY     90013724263
8338983989154B   ALBERTO         ORNELAS                   TX     90014538398
8338B37A671938   MIKE            MILAN                     CO     90007383706
8338B556A93771   PAULA           DAUGHERTY                 OH     64566375560
8338B656397B3B   ANGELICA        RIVERA                    CO     90012526563
8338B912777537   ITZEL           LOZANO                    NV     90011909127
8338BA39941262   JOSHUA          CRAIG                     PA     90009120399
8338BAA338B154   LAURIE          COVERT                    UT     90014120033
8339126AA97B3B   VANESSA         SHERN                     CO     90010352600
83391719772B29   RAFAEL          RAMIREZ                   CO     90012827197
833917A975B326   PAULA           PIECH                     OR     90015297097
83391A2395B24B   BRANDON         ROBERTSON                 KY     90011310239
8339214839154B   ROSA ISELA      ESPINO ARREOLA            TX     75085181483
83392261572B33   CARRIE          SNYDER                    CO     90013172615
8339238588B154   ORLANDO         MAGANA                    UT     90013323858
83392A94691975   MONA            CARTER                    NC     90012510946
8339313A19185B   STEPHANIE       RODDEN                    OK     21068051301
83393441A6194B   STEVEN          JOHNSON                   CA     90013424410
83393517397B3B   BRENDA          CHILEL RAMIREZ            CO     90013115173
833935AA32B271   MICHAEL         PERRY                     DC     81012135003
8339395239154B   OMAR            HINOJOSA                  TX     90014169523
83393A66877537   SARENA          STRELOW                   NV     43027480668
833943A2697B38   OMAR            CORONA                    CO     90010473026
833948A2161928   SOL             ALVARES                   CA     46045978021
83394919572B29   JOSEFINA DEL    CARMEN                    CO     90004929195
83395153997B38   JAIME           MUNOZ                     CO     90011471539
8339549475B139   LARONCE         BURKS                     AR     23049384947
833956A3941262   MARY            FLAHERTY                  PA     51084646039
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1196 of 2350


83395A6398B168   AMBER             RODRIGUEZ               UT     90008510639
83396579A76B65   HERMINIA          HERNANDEZ               CA     90006285790
83396A71672B29   KIMBERLY          RHOADES                 CO     90011370716
83397196672B8B   RICARDO           MARTINEZ                CO     90012661966
83397214576B65   HERMINIA          BIANCO                  CA     46021292145
83397A76272B62   EMILIA            RECINOS                 CO     33007100762
8339835945B183   KIMBERLY          MORROW                  AR     90014533594
8339863925B139   ERICA             RICHARDSON              AR     23010416392
83398A28172B62   STEPHANIE         ALEGRIA                 CO     90008270281
83399669976B97   CURTIS            ALEXANDER               CA     90012896699
83399754197B38   TRIPP             FREEMAN                 CO     90013307541
83399A95947822   AKERIA            JACKSON                 GA     90002010959
8339B239447897   NADIA             ANDREWS                 GA     90013132394
8339B411171977   PAUL              ODELL                   CO     90010674111
8339B77656194B   MANUEL            MESA                    CA     46092417765
833B1439A76B97   SAMANTHA          FIERO                   CA     90012414390
833B1523A5B326   JENNIFER          RABELLIZSA              OR     90011325230
833B1963461928   RICARDO           ASEVADO                 CA     90013909634
833B19A6397138   TRACY             HECK                    OR     44058799063
833B1A68A4B22B   RAQUEL            SERRANO                 NE     27043170680
833B1A95471938   CORY              ROLFE                   CO     90014360954
833B2167647897   BREEZE            TAYLOR                  GA     14096861676
833B2492972B62   BENJAMIN          MORENO                  CO     33044964929
833B2532897B38   KATHLEEN          SANDERSON               CO     39083825328
833B2746355945   CHRISTINA         ATREAGA                 CA     90010627463
833B286886194B   XAVIER            MORALES                 CA     46059918688
833B3331193771   KIMBERLY          FOSTER                  OH     64587063311
833B33A5741262   EDWARD            SPROWLS                 PA     90014303057
833B34A3833698   SHERICA           ECHOLS                  NC     90013934038
833B3962733698   CAMILO            VASQUEZ                 NC     90010429627
833B3A16376B97   BRUNO             TORRES                  CA     90012890163
833B4173957133   JOSE              RAMIRES                 VA     90010051739
833B4364647897   SHANETTA          JONES                   GA     90009853646
833B4421293771   JAMES             CULLEN                  OH     64530634212
833B443915B581   ANGEL             TREJO                   NM     35033144391
833B4483991837   ANGELA            BEEBE                   OK     21097444839
833B4A12A51341   IRVIN             COOK                    OH     90013490120
833B512989185B   CHARITY           WURM                    OK     21048501298
833B568795B183   CHRISTINA         JONES                   AR     90015086879
833B5A38893771   ROBERT            STROZIER                OH     90002340388
833B5A59691879   AMANDA            BROWN                   OK     90011890596
833B621247B36B   FARHAD            SOLTANI                 VA     81020592124
833B622994B22B   JESSICA           PETERSON                NE     27013402299
833B6234872B33   MANETTA           ROSALES                 CO     90007062348
833B6319972B29   VALERIE           ANTOINE                 CO     33064673199
833B643136194B   CHARLES           RYAN                    CA     46027264313
833B6AA285B581   ALICIA MARTINEZ   NICHOLAS ROMERO         NM     90013160028
833B718915B24B   RHONDA            GRANT                   KY     68092081891
833B757249154B   ROSEMARY          PORRAS                  NM     75040005724
833B75A668B168   RUTH              MINNIS                  UT     31086465066
833B75A714B22B   RENE              BELLAND                 NE     27072005071
833B832675B183   JIMMY             WILLIAMS                AR     23043993267
833B8436447897   MICHAEL           FORD                    GA     90013384364
833B9218A4B22B   YURIDIA           CHAVEZ                  NE     90014942180
833B932565B24B   TAMIKA            ROBERTSON               KY     68073323256
833B9A4746194B   ZAKIYYAH          SALEEM                  CA     46089400474
833B9A6199154B   VERONICA          ESTEVEZ                 TX     90012600619
833BB184777537   CHARLES           BELL                    NV     90015161847
833BB191251341   MELISSA           HANKINS                 OH     90011611912
833BB781391837   JAMES             HARBOUR                 OK     90014497813
8341125A961928   ERIN              TILLIS                  CA     90008102509
8341145859154B   ALMA              REYNOSO                 TX     90011424585
8341232378B168   M                 G                       UT     90010053237
8341248258B163   TIMOTHY           RUESGA                  UT     90006794825
83412A8736194B   SILVIA            EVARISTO                CA     90010850873
834131A689154B   TOMAS             DURAN                   TX     90010521068
8341543215B183   FAITH             SCOTT                   AR     23043964321
8341544115B581   ARIEL             BAYO                    NM     35008014411
83416138A72B29   MANUEL            REYES                   CO     90008011380
83416147476B65   ROSALINA          RANGEL                  CA     90015191474
8341629895B581   DANNY             FOUNTAINE               NM     90013142989
834176A8977537   MELESIO           LOPEZ                   NV     43096366089
834178A789154B   CYNTHIA           CAMACHO                 TX     90000158078
83418961A6194B   KEILA YANNIRA     TORRES                  CA     90009089610
8341938396194B   JOSE              MOYA                    CA     90000643839
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1197 of 2350


8341954295B183   MELESA       LOTT                         AR     90011185429
83419927172B33   GILBERTO     RIVAS                        CO     33085759271
8341B67995B24B   MARNIQUE     CARR                         KY     90010756799
8341B786151362   JAMIE        WADDELL                      OH     90014307861
8341BA95A51341   SHANNON      SCHIMMEL                     OH     66035480950
8342162644B22B   JONATHAN     MCCRAY                       NE     90009736264
8342211A58B154   ALISHA       BUTTERFIELD                  UT     90012361105
8342212AA93771   ROBERT       HAWKINS                      OH     90015521200
8342261A89125B   TONIA        HURST                        GA     90001146108
83422827376B65   PATRICIA     DUKES                        CA     90012838273
8342287A85B326   MARTHA       CASTILLO                     OR     44502258708
83422A93997138   EUTIMIO      PEREZ                        OR     44015650939
8342312236194B   TONY         STARKS                       CA     90012471223
83423A87597B38   LASHAY       NANEZ                        CO     39091850875
8342437326194B   LILIA        SANCHEZ                      CA     46029763732
8342448572B94B   DAVID        VALENCIA                     CA     90001494857
83424A57747897   DEBORAH      KYLES                        GA     90011110577
8342519365B326   EVELIA       MORALES SANCHEZ              OR     90009021936
83425461172B33   ANGELO       LOPEZ                        CO     90011954611
83425A22572B62   JEREMIA      VALDEZ                       CO     90012350225
83426374572B33   RICHARD      NICHOLS                      CO     90013503745
834269A7276B65   BRENDA       ESPINOZA                     CA     90014629072
8342766569154B   JAVIER       HERNANDEZ                    TX     90005516656
8342772277B339   SELESTE      BRIZUELA                     VA     90012167227
83428A1555B277   MARY         SHELTON                      KY     68005150155
8342991844B58B   ELIZABETH    SMITH                        OK     90009679184
8342B129976B97   ROBERTA      MONTIEL                      CA     90014891299
8342B711A33698   MELISSA      TATE                         NC     90006487110
8342B749555997   MICHAEL      ROBESON                      CA     90013057495
8342B821841275   CESAR        OROZCO                       PA     90014968218
8342B962A9154B   ELOY         HERRERA                      TX     90014169620
8343144355152B   LOURDES      MACIAS                       IA     90015324435
8343179A171938   CHRISTINA    GRIFFIN                      CO     90007067901
83431A96976B97   MARCELA      MARTINEZ                     CA     90014530969
83431AA135B24B   LACRETIA     BARBEE                       KY     68024730013
83432334372B33   MARIA        ALONSO                       CO     90008883343
834328A7476B65   ROSA         GONZALEZ GASPAR              CA     90014938074
8343317776194B   TEYON        JOHNSON                      CA     46025741777
83433248297B3B   ADRIANA      HERNANDEZ                    CO     39072462482
83433933A5B24B   SHANIKA      GRUNDY                       KY     68074459330
83435633976B65   PABLO        BONILLA                      CA     90003256339
83435A24A9154B   JORGE        RODRIGUEZ                    TX     75060480240
8343636A372B62   ASHLEY       MARTINEZ                     CO     90013593603
834367A3971938   MARK         ARAGON                       CO     90000137039
8343693575132B   TAMATHA      HOSKINS                      OH     90009309357
834372A645B581   AMBER        SMITH                        NM     90013732064
834372A9391975   LAURINE      NSAMBA                       NC     90014682093
8343761849154B   MARTHA       OLIVAS                       TX     90012656184
8343768467B464   SAFONYA      BANKS                        NC     90004646846
834376AA471938   JOSHUA       WINKER                       CO     90012926004
83438359897B38   YADIRA       MARTINEZ                     CO     90013923598
8343877918B163   ELSIE        CATTEN                       UT     31036377791
8343898725B581   PAUL         OLEARY                       NM     90013339872
83438A12591975   OSCAR        MORALES                      NC     17046060125
8343935986194B   MARINO       PRADO                        CA     90012743598
8343B41A572B33   VINCENZA     LICATA                       CO     33049144105
8343B436547822   ANNIE        JOSEY                        GA     14057694365
8343B481671977   GILBERT      MONTOYA                      CO     38005314816
8343B523797B38   REINA        INIGUEZ                      CO     90009295237
8343B576633698   JAMAELA      GREEN                        NC     90013935766
8343B724291558   MISTY        HUGHEY                       TX     90010607242
8344221664125B   DEAN         DZIAMINSKI                   PA     90010222166
83444171A9154B   JESSIE       HUERTA                       TX     90011211710
8344425695B326   ROEENA       GALVIN                       OR     90014602569
8344519578B168   KATRINA      SWANGER                      UT     31041971957
8344561625B24B   PATRICIA     CHAPMAN                      KY     90013506162
83446171A9154B   JESSIE       HUERTA                       TX     90011211710
8344694438B154   RUBEN        ZARCO                        UT     90014709443
83446A7A66194B   JOVANNY      GUTIERREZ                    CA     90013940706
8344777312B256   LINDA        PHOTHONG                     VA     90005167731
83447882676B65   UHALDO       OROZCO                       CA     90004918826
8344817A476B97   FRANCINE     MORENO                       CA     90014721704
83448271476B97   SALVADOR     ESPINOZA                     CA     90011192714
83448274572B62   LUZ MARIA    DE-MIRANDA                   CO     33042292745
8344865629154B   RUBEN        MEZA                         TX     90013056562
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1198 of 2350


83448A6835B24B   GREGORY       GRAHAM                      KY     90013460683
83448A6A485856   EUGENIA       REYES                       CA     90012440604
834491A2A91837   GLENDA        MCKINNEY                    OK     90014841020
8344923278B163   EARL          CLINE                       UT     90000882327
83449292597B38   BERNADETT     GUTIERREZ                   CO     90003722925
83449814972B29   LEVI          ANDREWS                     CO     33021478149
83449875172B33   ELIZABETH     MARTINEZ                    CO     90012088751
83449A6466194B   LINDA         WRIGHT                      CA     90000770646
8344B11888B168   CHRISTOPHE    NICHOLSON                   UT     31090741188
8344B339451362   MARCO         PEREZ                       OH     90014163394
8344B431672B29   MANUEL        RODRIGUEZ                   CO     90010224316
8344B75948B154   TIM           MCALLYM                     UT     31075157594
8344B974797138   RYAN          WILLIAMS                    OR     90011029747
834512A355B326   ALLY          OREDI                       OR     90012982035
83451313397B38   ALEJANDRA     AYON                        CO     90012033133
8345142A997138   KEY           ARROYO                      OR     90014704209
834515A1572B29   SANTANA       ABEYTA                      CO     90003225015
83451679176B97   ALEX          ANAYA                       CA     90003456791
834517A615B24B   TYNEESHIA     THOMAS                      KY     90014757061
8345218355B139   CHANDRIKA     DENNIS                      AR     23010241835
834523A6476B97   PEDRO         ESCAMILLA                   CA     90012103064
83452463197B38   JULIAN        BAILON                      CO     39075504631
8345266A672B62   CHRISTOPHER   RAINS                       CO     90014156606
8345293944B22B   MELVIN        BUCKLEY                     NE     90013079394
83453186A51598   VERONICA      FLORES                      IA     90014591860
834538A3A91979   THERESA       GREEN                       NC     17082868030
83453977776B65   TANIA         HERRERA                     CA     90013389777
83454A34591979   FAITHE        THOMAS                      NC     17089110345
8345515149154B   NANCY         MONTALVO                    TX     90006031514
834555A7397B38   MATTHEW       JOHNSON                     CO     90010455073
8345572AA47897   DARRELL       BUNN                        GA     90002127200
83455781497B38   PEDRO         AVALOS                      CO     39017497814
83456285A5B326   GABRIOL       GONZOLEZ                    OR     90005782850
8345645865B24B   BIJAY         GURUNG                      KY     90013984586
83456784897B38   REBECCA       URIBE                       CO     90013157848
8345769448B168   RICARDO       MUNIZ                       UT     31090616944
8345777264B999   JEREMY        JONES                       TX     90011317726
83457876A97138   SELENA        QUINTANILLA                 OR     90011118760
8345919614B22B   HARLEY        KARNISH                     NE     27086901961
8345922A372B29   LUCINDA       BRUNGARDT                   CO     90013292203
8345B219371977   DANIEL        MASCARENAS                  CO     90011222193
8345B3A6476B97   PEDRO         ESCAMILLA                   CA     90012103064
8345B432591837   DMARRI        MONDAY                      OK     90011754325
8345B58518B154   BEATRIZ       ARELLANO                    UT     90015015851
8345B94562B256   RODERICK      YOUNG                       DC     90000319456
8345B9A7972B29   DIANA         ARMENDARIZ                  CO     33083979079
8346172519154B   MARIBEL       GONZALEZ                    TX     75007357251
834621A4A85936   JULIA         WARNER                      KY     67020421040
83462574A72B62   EDGAR         MARTINEZ                    CO     90014815740
834626A116194B   FELICITA      MAISONAVE                   CA     46042816011
83462781497B38   PEDRO         AVALOS                      CO     39017497814
83463192872B62   CINTHIA       CASTILLIO                   CO     90013521928
8346328798B163   LEPOLO        NIMO                        UT     90000592879
83463344A51362   GISSELL       REYES LECLERC               OH     90014163440
83463463197B38   JULIAN        BAILON                      CO     39075504631
83463684576B97   ROMEO         LOPEZ                       CA     90013696845
834649A2276B97   RAUL          REYES                       CA     46098119022
83465195A3B363   SHERRY        EHRMAN                      CO     33015521950
83465387772B33   MAHANAIM      MONTALVO                    CO     90013073877
8346589678B154   ABEL          SERRANO                     UT     31077258967
8346674515B326   CARLOS        TREJO                       OR     44531927451
834668A155B24B   TED           KOPF                        KY     90015178015
83466A27471977   ROSALIE       HERNANDEZ                   CO     38095720274
83467398372B29   TYLYN         JOHNSON                     CO     90012603983
83467563197B38   MAYELA        MARTINEZ                    CO     39035605631
83467616A51362   GAGE          HOUSE                       OH     90013096160
8346794734B22B   JESSIANA      WARD                        NE     90012869473
83468151A72496   STEPHANIE     FORSYTHE                    PA     51010231510
834685A968B163   MARIA         DIAZ-GRAY                   UT     31015425096
8346954472B981   CANDACE       ESTEPP                      CA     90007875447
8346B691141249   LAQUAYE       SLOAN                       PA     90004616911
8346B74A397B3B   CASEY         MANKE                       CO     90013037403
83471167276B65   PERFECT       ENGELBERGER                 CA     90014051672
83471996A76B65   PERFECT       ENGELBERGER                 CA     90000709960
8347231665B183   KARRISSA      NEWBY                       AR     90012273166
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1199 of 2350


834723A345B581   ALEJANDRO     SOLANO                      NM     35006543034
8347241A291837   JONHATAN      SILVA                       OK     90014574102
8347289475B326   BENJAMIN      CRUZ                        OR     90011978947
8347299829154B   DENISE        RAMIREZ                     TX     90012379982
83472A58547822   LISA          PRATER                      GA     90012380585
834731A2991975   KATRINA       HARRIS                      NC     90000181029
8347382634B22B   ASRYIA        REECE                       NE     90015088263
83473A8872B256   EDGAR         ESCOBAR                     DC     90000320887
83474119376B97   GEMMA         LUCAS                       CA     90012801193
83474372497B38   JAIME         MUNOZ                       CO     90000453724
834748AA88B168   JODIANN       TUCKER                      UT     31079988008
8347554A15B24B   JOSH          LEONARD                     KY     90013595401
8347622345B183   ROSALBA       TORRES                      AR     90013622234
83476236A51341   ERIKA         WARD                        OH     90011532360
83476713197B3B   ANGELA        DAVID                       CO     39088917131
8347712856194B   RICK          CASTALALO                   CA     90013941285
8347734249154B   FERNANDO      IBARRA                      TX     90010583424
83477767797B38   VICTOR        HERNANDEZ                   CO     90014817677
8347794A676B97   CLIFFORD      PULLOM                      CA     90012789406
83477A95997B94   JOSE JESUS    GALINDO                     CO     90013830959
83478162597B38   LAURIE        HERNANDEZ                   CO     90013221625
83478852576B45   LUIS          CARRASO                     CA     90011458525
834788A986194B   JOSE LUIS     SANTOSS                     CA     46037548098
83478A54A8B168   LYLE          NEWMAN                      UT     90014950540
83479588A41275   BRUCE         ELIAS                       PA     90006775880
834798A5593771   MARK          WILLIAMS                    OH     90015198055
8347B378271977   SHARON        PATTERSON                   CO     38067293782
8347B484A5B326   JEREMY        GORDON                      OR     90014854840
8347B554572B29   IZAK          WHITING                     CO     90013875545
8347B97A39154B   EDUARDO       HERRERA                     TX     90014169703
83481275172B29   HERIBERTO     FLORES                      CO     90014582751
83481688276B65   ROSELIA       VARGAS                      CA     46073346882
8348176A497138   CHRISTINA     SMITH                       OR     90011127604
834819A1377537   ALFREDO       URBINA                      NV     43094479013
8348214755B326   MELINA        LOPEZ                       OR     90014491475
83482A4725B326   IDEL MOKTAR   MOHAMED                     OR     90014540472
83483272297B3B   JAMIE         VETTER                      CO     90015562722
8348377555593B   LYNDA         SNIDER                      CA     90011707755
834837A1672B33   RICHARD       JOHN                        CO     33093567016
834841A8298B29   JOSHUA        CLANTON                     NC     90013501082
834842A4247897   RICKY         JOHNSON                     GA     90011112042
83484381497B38   TALISHA       MARTINEZ                    CO     90011533814
8348473A78B159   DIANA         CLARK                       UT     90005397307
83484926A72B62   MARIA         BELTRAN                     CO     33038209260
8348495785B581   ASHLEY        TOLEDO                      NM     90015119578
83485583497B38   JUSTIN        LEICHT                      CO     90007895834
83485596272B33   JAVIER        BERUMEN                     CO     33064725962
83485622376B97   JORGE         OROPEZA                     CA     90014486223
83486326A5B581   RAYMOND       CHAVEZ                      NM     90004853260
83486477297B38   ARTURO        BUGARIN                     CO     90015184772
834866AA172B62   ZACHERIA      WOOD                        CO     90007656001
83486A38672B29   GABRIELA      ROSALES                     CO     90004510386
834872AA276B65   KAREN         SANCHEZ                     CA     46097872002
8348752A541262   COREY         STAUDT                      PA     90014955205
8348767656194B   LAVON         ENGRAM                      CA     46083316765
83488162597B38   LAURIE        HERNANDEZ                   CO     90013221625
834886A173B358   ASHKHEN       MKRTCHYAN                   CO     90001726017
83489352172B62   ALFREDO       DELACRUZ                    CO     90005543521
8348957A18B154   DERRY-LYNN    TUIA                        UT     31014995701
8348B13515B183   DUSTIN        HENDERSON                   AR     90010441351
8348B311A5B24B   FRANKLIN      PAGAN                       KY     90009633110
8348B358791523   ERIKA         MARTINEZ                    TX     90011283587
8348B851471938   ZACH          TAFOYA                      CO     90008188514
8348B939472B29   JOHN          HOISTION                    CO     90014799394
83491A44691975   OSCAR         CORONADO                    NC     90005830446
8349324259154B   BERTHA        LOPEZ                       TX     90013512425
834935A685B183   SHARON        DISMUKE                     AR     90015095068
83493688272B29   JESSICA       BLANKENSHIP                 CO     90002786882
83493726A93771   NATHAN        GRIDLEY                     OH     64557007260
834939A945B326   HAMED         JABERI                      OR     90013379094
83493A42497B38   MARIA         ESQUIVEL                    CO     39063410424
8349414456194B   ALEXANDER     COX                         CA     90013941445
8349516496194B   SCOTT         MOBLEY                      CA     90013941649
8349586AA97B3B   MATT          CAPALBO                     CO     90013928600
83496146276B65   NAOMI         GARICA                      CA     90013211462
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1200 of 2350


8349623A28B191   MIGUEL       ARRAGAN                      UT     90012262302
8349713466194B   FRANK        VALENZUELA                   CA     90012471346
83497161597B38   ANGELINA     HERNANDEZ                    CO     90013221615
83498121A97B98   CARLOS       CHAVEZ                       CO     39011031210
8349817355B581   ANGELA       JOJOLA                       NM     35000201735
83498186297B38   ABNEY        VICENTE                      CO     90013221862
8349852635B24B   JACKI        CASTLEMAN                    KY     68014745263
834991A298B154   MACKENZIE    MCLAUGHLIN                   UT     31015431029
8349929715B183   DUAN         SAMUELS                      AR     23075142971
834994AA276B97   THOMAS       ANDERSON                     CA     90012184002
83499524A72B29   HUGO         CASTANON                     CO     90011165240
8349B296891979   JONATHAN     HARRIS                       NC     90013392968
8349B38AA8B163   BRANDO       FLYNN                        UT     90002593800
834B15A8972B29   ESTHER       CARDENAS                     CO     33036095089
834B168A491837   JAMES        WOOD                         OK     90004456804
834B182458B168   MIRA         RICHARDSON                   UT     90012248245
834B2129572B33   HERNANDEZ    MARGIE                       CO     33043911295
834B2719747897   ERNEST       LEVERIDEG                    GA     90014127197
834B28AA572B33   MIRNA        HEREDIA                      CO     33012158005
834B3463572B62   CRISOFORO    MARCOS                       CO     33038264635
834B3585872B29   WILBUR       SCHMIDT                      CO     90012915858
834B366189154B   PEDRO        MORALES                      TX     75012636618
834B514A971977   LISA         BENAVIDEZ                    CO     38067321409
834B539548B168   JOHN         HANSEN                       UT     90012683954
834B5862291979   NORA         MESA                         NC     90013918622
834B636145B581   VALERI       CHAVEZ                       NM     90014873614
834B637394B22B   DOMINICK     MARINIELLO                   NE     27035483739
834B65A2571938   WOL HO       CARSON                       CO     90010765025
834B6696772B62   AIMEE        GARCIA                       CO     90015096967
834B6A13797938   CRYSTALIA    HUTCHSON                     TX     71051270137
834B6A63671938   MARIO        AULDRIDGE                    CO     90010090636
834B6A98772B62   FERNANDO     PEDROSA                      CO     90013220987
834B722335B326   RUDY         MORALES                      OR     90011292233
834B7324351362   TYLER        LEEDS                        OH     90014163243
834B737125B24B   JUSTIN       DRURY                        KY     90013323712
834B7575851362   CYNTHIA      DAVIS                        OH     90009485758
834B7A84597B38   TIM          HIGHFIELD                    CO     39042730845
834B8396972B62   CHERYL       VAN VALKENBURG               CO     33018573969
834B847359154B   JOSE         RUIZ                         TX     90012964735
834B8554772B33   MICHELLE     MILASH                       CO     33030565547
834B8674855945   KENNY        GERAD                        CA     90012076748
834B8728597B3B   WALTER       BAKER                        CO     90012127285
834B8869451362   FELIERTY     GRIGOSBY                     OH     90000918694
834B898165B183   GERMAN       GONZALEZ                     AR     90003459816
834B9251391979   KRISTIE      RICHARDSON                   NC     90015032513
834B9288A8B154   CORINNE      SULLIVAN                     UT     31004732880
834B941634B22B   REBECCA      RIDGE                        NE     90006224163
834B9833672B29   SANDY        ROSALES                      CO     33031878336
834B984934B22B   ALMA         ROMERO                       NE     90012598493
834BB76A12B256   DARLENE      PARKS                        DC     90000317601
834BBA12241275   RASHEEDA     VANSTORY                     PA     51094860122
834BBA35141262   DANYELL      MOORE                        PA     90014210351
8351134146194B   PATRICIA     OLEA                         CA     90008183414
83511383A51531   ZARIATOU     GADO                         IA     90014243830
83512A31561928   AMY          GENEGALING                   CA     90011280315
8351322784B53B   MARCY        HART                         OK     90008182278
8351376665B581   DANIEL       CARBAJAL                     NM     90011367666
83514526297B38   ELIZABETH    MELENDES                     CO     90000455262
83515354A97B38   MICHELLE     FAIRLEY                      CO     90013233540
835155A5297B3B   MICHAEL      SANTANA                      CO     90011855052
8351582325B331   HOLLY        ROHR                         OR     90008668232
835162A8291992   MIRANDA      BAILEY                       NC     90000982082
8351723A78B154   MARIO        LODATO                       UT     90007062307
83519139176B97   MARITZA      HERNANDEZ                    CA     46005691391
8351926182B981   RAEANN       TRUJILLO                     CA     90012392618
8351981A15B183   BRUCE        MONROE                       AR     90014568101
8351B413771977   WENDY        CORTEZ                       CO     90013494137
8351B45256194B   NABOR        TREJO                        CA     90003454525
8351B725955945   CHAUNTREAS   WALKER                       CA     49012797259
83521478576B65   JESSICA      RAMIREZ                      CA     90014754785
8352178644B22B   TINA         SCHOVILLE                    NE     90010947864
83521A8789154B   TERESA       ARAGONEZ                     TX     90013000878
8352215119154B   LUISA        OLVERA                       TX     90010491511
835222A2676B97   ISAIAS       CARRILLO                     CA     46044362026
83522436272B29   GARY         LILLY                        CO     90007464362
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1201 of 2350


83522481A97B38   MAYRANI           REGALADO                CO     90013234810
83522AA275B326   JOHN              WEINER                  OR     90014110027
8352321685B183   ROBERT            RIVEIRA                 AR     90014842168
83523492197B38   KEVIN             FAIRLEY                 CO     90013234921
835242A3991975   ANTASIA           WILLIAMS-HENRY          NC     90014602039
83524537576B97   MEMO              MORENO                  CA     90015475375
83525235A71977   HAROLD            EUBANKS                 CO     90014022350
83525A17191975   BETTINA           BARATTA                 NC     17002630171
8352629148B154   PATRICIA          CHILD                   UT     31087222914
835264A5772B29   SANTOS            ALVARADO                CO     33015494057
83526A74A5B183   VICKI             VERRY                   AR     90013460740
83527178A91242   BRIAN             CURBY                   GA     14588411780
8352738269154B   RICARDO           VALLE                   TX     90013073826
83527677372B29   MANDY             MARTINEZ                CO     90014636773
83527785472B62   LORNA             EDMONDS                 CO     90013337854
8352848A161928   GLORIA            GONZALEZ                CA     46006134801
83528493572B29   NICHOLAS          CASTILLO                CO     90014324935
8352856775B581   CHRISTINE         GEMOETS                 NM     90014785677
8352884A551341   OMAR              CAMARGO                 OH     90014448405
8352917215B326   JENNIFER          MOODY                   OR     90011551721
8352944349154B   JESSICA           REYNA                   TX     75046844434
8352973565B326   PABLO             GARCIA                  OR     90014497356
83529888A97B38   JILL ANN          MANN                    CO     90002368880
8352B334397B38   JOSE              PINON                   CO     39025293343
8352B97664B22B   RUBY              THOMAS                  NE     90012419766
83531528A91975   JENNIFER          THOMAS                  NC     90014135280
835323A448B168   ALEXIS            MAESTAS                 UT     90008863044
835324A1972B29   JUANA             RUBIO                   CO     90010114019
8353251379154B   MIGUEL            RAUL ACOSTA             TX     90012955137
835338A275B326   TIFFANY           NELSON                  OR     90006368027
83534782A9154B   JOSE              VILLA                   TX     90004907820
83534812A97138   MARTHA CATALINA   ZEPEDA DE LA TORRE      OR     90009178120
83535182A51362   STEFANIE          DAVIS                   OH     90012511820
8353578729154B   FREDDIE           PADILLA                 TX     75054887872
8353648128B163   TERRON            HORTON                  UT     90010254812
83537279A97B38   NORMAN            MARTINEZ                CO     39043942790
83538319997B3B   KAREN             SEKAVAK                 CO     90005993199
83538A5A99154B   ANTHONY           ARELLANO                TX     90014170509
83539231897B38   STEVE             OSBORN                  CO     90015042318
83539378572B33   PAUL              MARTINEZ                CO     90007383785
83539999A72432   FRANCIS           MOORE JR                PA     51083559990
8353B448291837   JENNIFER          FIZER                   OK     90007964482
8353B487A3B34B   HEATHER           CARLSON                 CO     90012004870
8353B54418B168   JAIME             ALMANZA                 UT     90007795441
83541196672B33   MANGLI            DARJEE                  CO     90009061966
8354136835B326   BRICELDA          LOPEZ MARIN             OR     90013143683
83541529172B29   DARRELLINE        AISHMAN                 CO     33098565291
83541A21A6194B   TINA              PAGE                    CA     90013160210
8354214935B326   ZAYRA             FERRER                  OR     90012331493
83542438476B65   OSCAR FELIX       HERNANDEZ               CA     90011514384
8354299A372B62   BOMINISA          MADZA                   CO     90013779903
83542A45172432   SYBIL             QUEEN                   PA     51090780451
83542A58197138   MARCO ANTONIO     GUIJOSA                 OR     90014160581
83543487A71938   JUAN              NUNES                   CO     90011384870
8354364274B22B   ROBERT            MORRIS                  NE     90013176427
83543769A8B154   AMANDA            NELSON                  UT     90013137690
8354434735B326   LUKE              LESPERANCE              OR     90014573473
8354535645B183   MAYA              MAYA                    AR     90012683564
835454A6147897   BARBIE            EVANS-BROWN             GA     90012634061
8354555A891837   JEANETT           LOPEZ                   OK     90014575508
83545A29372B62   RAUL              HERNANDEZ               CO     90012350293
83545A78385856   SCHOULEE          CONES                   CA     90013380783
83546764172B62   OMAR              GARCIA                  CO     33046547641
83547982697B3B   VICKY             MASTERS                 CO     39009969826
83547A36172B62   AMY               NICOLL                  CO     33022780361
8354824976B932   GAMALIEL          MORALES                 NJ     90007472497
8354841714B967   NORMA             AVALOS                  TX     76511024171
8354841A957128   ADRIAN            PEREZ                   VA     90007694109
83548422576B65   LEONARD           YANTZ                   CA     46015834225
83548424672B29   EVERISTO          GUTIERREZ               CO     90014674246
83548663572B33   NIEVES            MORENO                  CO     90012606635
83548859A33698   LISA              GREEN                   NC     90013938590
83548A3A955945   GUADALUPE         GARCIA                  CA     90010270309
83549239A6197B   MARIA             FLORES                  CA     90002752390
8354932398B167   ABRAM             KENTER                  UT     90001713239
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1202 of 2350


8354945235B326   PAUL          POTENZIERI                  OR     90014334523
835499A635B326   JOSE          ORTIZ                       OR     90008449063
8354B17A75B326   MARCELA       MORALES HERNANDEZ           OR     90014491707
8354B41488B136   WAIN          SOPER                       UT     90002554148
8354B42858B344   LATAMARA      MCCLEOD                     SC     90011624285
8354B732561928   BRANDON       MCCALESTER                  CA     90014827325
8354B753776B97   KAYLA         CHRISTENSON                 CA     90012607537
8354B796197138   JUSTIN        PHILIPPS                    OR     90011357961
8355133118B168   KINA          FANGUPO                     UT     31084873311
83551A2A96194B   BLANCA        CARRASCO                    CA     90014890209
83551A38671938   ELIA          TORRES                      CO     90008190386
8355224AA3B34B   JONATHAN      HOLT                        CO     90012492400
83552493472B62   JUAN          FUENZ                       CO     90013094934
8355256456194B   KELLY         COLE                        CA     90013615645
835526A1493776   ROSE          TURNER                      OH     90011686014
8355271578B154   FRANCISCO     ENCISO                      UT     90010247157
83552852972B33   ERICA         LYLE                        CO     90014138529
83552A6679154B   ANTONIO       JARAMILLO                   TX     90014170667
83553475A9154B   JOSE          PEREYRA                     TX     90012454750
835535A1A44B25   PATRICK       FLANAGAN                    OH     90015075010
83553A9AA6194B   MICHAEL       CLARCK                      CA     90013130900
83554226676B97   ANDREZ        GOMEZ                       CA     46030252266
8355452389185B   ALFREDO       MORALES                     OK     21049615238
83554536372B29   RICHARD       MATYJA                      CO     90011675363
83554A2815B24B   DANIELLE      BEARD                       KY     90012530281
8355522945B24B   TRACEY        BROCK                       KY     90014142294
835557A573B38B   SUZANNA       KELLY                       CO     33054247057
835558A328B168   GERRIE        RICHARDSON                  UT     90014468032
8355636838B154   MICHAEL       PADDEN                      UT     90013073683
83556693A9154B   RAUL          ACOSTA                      TX     90008526930
83556A38671938   ELIA          TORRES                      CO     90008190386
8355729275B581   AMBER         VALERIO ROMERO              NM     35011812927
83557477276B65   ADRIANA       ESPINOZA                    CA     90013074772
8355778A89154B   JESUS         RAMIREZ                     TX     90009407808
8355782498B168   FRANKLIN      ACEITUNO                    UT     90012288249
8355786426194B   MANUELA       GARCIA                      CA     90006728642
83557A26572B29   JOE           FERRILL                     CO     90003270265
83558424197B3B   MIGUEL        SOTO                        CO     90000884241
83558467576B65   ADAM          RAMIREZ                     CA     90012484675
835584A6591979   MICHAEL       BLAKE                       NC     90012814065
8355861A397138   MALLORI       JOHNSON-TODD                OR     90013376103
8355869448B168   RICARDO       MUNIZ                       UT     31090616944
83558786772B33   JENNY LINN    MUNOZ                       CO     33097617867
83558A4A685936   MISTY         NEWBY                       KY     67074270406
8355912454B933   JENNIFER      OOTEN                       TX     90011491245
8355936254B22B   JESSICA       ALEXANDER                   NE     90001813625
83559941197B38   EDWIN         URBINA                      CO     90003739411
8355B386197B38   JOSE          PEREZ                       CO     39003583861
8355B433691837   MISTY         VALENZUELA                  OK     90012444336
8355B77155B183   BENJAMIN      FRANKLIN                    AR     90010227715
8356114175B326   AMBER         MADDEAUX                    OR     44525821417
8356145346194B   ERIN RODGER   MCCHESNLEY                  CA     90014454534
83561492A4B22B   WANETTA       RICHARDS                    NE     27073034920
8356186A172B62   JACKIE        TUGGLE                      CO     90004238601
83562183997B3B   PERAL         QUINTANA                    CO     90010431839
8356237495B183   KEISHA        ANDREWS                     AR     90015383749
835628A328B168   GERRIE        RICHARDSON                  UT     90014468032
835639A2733698   KEEMA         ROSE                        NC     90015069027
83563A16451334   NICHOLAS      PETROCELLI                  OH     90012710164
83565218A72B29   VERONICA      SANCHEZ                     CO     90013292180
83565229297B38   CARRIE        RODNEY                      CO     39030342292
835659A7461928   JERRY         POLK                        CA     90013509074
83566AA7125151   GEORGE        LOPEZ                       AL     90009680071
83567167A71938   KEVIN         MCKINNEY                    CO     90013361670
83567424A33698   TELLY         HORTON                      NC     12005824240
8356763A693771   LACHELLE      PHILPOT                     OH     90007906306
83567A23641275   DIANA         HILL                        PA     90013930236
83567A4418B168   ANDREW        HOLLOWAY                    UT     90012610441
83568452372B29   DANTE         EDWARDS                     CO     90012014523
83568A7A481683   ALISHA        GIPSON                      MO     29089460704
8356955665B24B   MYRANDA       L BEIGHEY                   KY     90014875566
835695A5572B98   MARIA         SALINAS                     CO     33001035055
83569844872B29   TRAPPER       WALKER                      CO     90006018448
8356B17615B326   JESSICA       KNUDSEN                     OR     90014491761
8356B3A983B335   KATIE         POKOL                       CO     33075783098
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1203 of 2350


8356B567871977   PATRICIA         GOMEZ                    CO     90011165678
8356B567A76B65   CHARLES          TAYLOR                   CA     90013425670
8356B87A747822   SHAREKA          SMITH                    GA     90001768707
8356B8A937B389   BRIAN            MEREDITH                 VA     90014648093
83571684A77537   LUCIO DE JESUS   UNES                     NV     90006246840
83571A67161928   ALEJANDRO        FRIAZ                    CA     46046590671
83572362676B97   JESSICA          GONZALEZ                 CA     46064573626
83572646197B3B   BALBINO          OQUELI                   CO     39005646461
835728A3A76B65   MICHAEL          BOLZ                     CA     90010848030
83573A18793771   KEVIN            WEAVER                   OH     64590490187
83574197A33698   MAE              STARKES                  NC     12075151970
8357454616194B   LIZBET           ZAMOA                    CA     90007675461
83574617376B65   NOE              RAMOS PARRA              CA     90012876173
83574AA658B168   MARISSA          CHAVEZ                   UT     90014880065
83575435297B3B   NANCY            MCMURRAY                 CO     90002214352
83575436276B97   MARIA            MEDINA                   CA     90002094362
83575838472B29   RON              RAMIREZ                  CO     33085308384
83577288576B65   BRIANNA          DEGUZMAN                 CA     90011142885
83577635497B38   TERESA           JAQUES                   CO     90009986354
8357775259154B   GABRIELA         APODACA                  TX     90014177525
83577A64891975   PEDRO            RAMOS                    NC     90013550648
835785A3A4B22B   ANGELO           MASSEY                   NE     27078535030
83578A3455B581   CONCEPCION       ALVARADO                 NM     90013280345
83578A87761928   CESAR            DE ALBA                  CA     90013010877
83578A97897B3B   ALYSSA           COLLINS                  CO     39067120978
8357926936194B   ERICA            ARGREGADO                CA     90013942693
83579398472B29   NASARIO          SANTOS                   CO     90012733984
8357B243272B29   LEE              LUCERO                   CO     33088832432
8357B353247822   CLARENCE         DAVIS                    GA     14082883532
8357B3A8572432   AMBER            RODGERS                  PA     90013963085
8357B823584336   JOSEPH           BRABHAM                  SC     90010788235
8357B874476B97   SAMUEL           RAMOS                    CA     90015318744
8357B896676B65   RICARDO          SORIA                    CA     90006058966
83581162A41262   SHANE            SIGMUND                  PA     90005331620
8358127464B22B   SHELLY           WOODS                    IA     90015352746
83581382897B3B   DESIREE          JIMENEZ                  CO     90014563828
83581969572B33   CHRISTA          FINK                     CO     90013229695
835822A4791976   MIRNA            LIZEHT                   NC     90010372047
835822A876194B   MARKUS           CANNON                   CA     90013942087
83582368897B38   FIDELINO         GUOX                     CO     90013943688
83582661A76B97   MARTINA          NIETO                    CA     90011346610
83582689272B33   SCOT             OLIVER                   CO     33025256892
83583367472B29   LISA             NEMMERS                  CO     33012703674
8358355478B168   DEE DEE          BECKS                    UT     31092965547
8358374115B183   KIETH ALLEN      KING                     AR     90015517411
83583A3186194B   JANETTE          GUZMAN                   CA     46000720318
83583A4A391975   TEUM             HASSEN                   NC     90012700403
8358415A971938   JOSEPH           TESH                     CO     90013901509
83584265A91979   MARIELA          GONZALEZ                 NC     90014892650
8358439852B256   JORGE            SALINAS                  VA     90004873985
8358494929154B   ANDREA           MARIE                    TX     90009649492
8358541558B154   JESSICA          OWETON                   UT     90013044155
83585444A76B97   RAMIRO           VARGAS                   CA     90013614440
8358567A297B3B   NELSON           RIDDLE                   CO     90008116702
83585A3A971977   ANGELIC          BACA                     CO     90000970309
8358675A572432   JUSTIN           BUTERA                   PA     51006817505
83586871797B3B   DEVINITI         GRAHAM-CARRILLO          CO     90012998717
83586A87876B97   JULIA            JAIME                    CA     90014850878
83586A93691837   EMILETHA         MOORE                    OK     21064430936
8358797545B183   PAYGO            IVR ACTIVATION           AR     90008479754
835879A354B22B   BRIAN            MEEHAN                   IA     90001679035
83587A33633698   MIGUEL           ROCHA                    NC     12070640336
83588158376B65   LIDIA            HERRERA                  CA     46026611583
8358826A39154B   ANDREA           CISNEROS                 NM     90014372603
83589A8619154B   JOCELINE         BUSTILLOS                TX     90014180861
8358B24AA76B65   GLADYZ           SANCHEZ                  CA     90006412400
8358B735591975   AMANDA           SHANNON                  NC     90014867355
8358B748393771   DENICE           FAVORS                   OH     64589497483
8358B771991975   SHIQUITA         TAYLOR                   NC     90010967719
8358BA4534B22B   GLENNEICE        JOHNSON                  NE     90005320453
8358BA9185B24B   DONNA            GREEN                    KY     90008880918
83591524A61928   ALEXIS           BRAVE                    CA     46092415240
8359167345B326   TRACI            BAILEY                   OR     90011626734
83592294372B29   TARA             DHIMAL                   CO     90013062943
8359247755B139   EDWARD           GAINES                   AR     90014574775
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1204 of 2350


83592589A71977   DAVID          WYCKROFF                   CO     90008785890
83592A7A397B38   ADRIAN         GARCIA                     CO     39030910703
83593354A9154B   JOSE           BERNAL                     TX     90012673540
8359342A747897   RODERICK       COMBS                      GA     90012784207
83593435A5B326   JAVIER         TREJO                      OR     90002774350
83593A44697138   MIGUEL ANGEL   TELLEZ SOSA                OR     90004410446
835941A6771938   K              JONES                      CO     90009441067
8359443189154B   FRANCISCA      MARLIN                     TX     90005214318
8359443A651341   DANIELLE       LONG                       OH     90011204306
83594729776B65   ALEJANDRA      SOLORIO                    CA     90008697297
8359499195B24B   CHRIS          FOLEY                      KY     90014459919
8359515449154B   JOSEFA         ORTIZ                      TX     75041221544
835951AA547897   LAQUITTA       SANDERS                    GA     90009361005
83595439172B33   MARI LU        ERICKSON                   CO     90013954391
83595827997B38   TEODORA        SAUCEDA                    CO     90013948279
83595928197B3B   MELISSA        PEREA                      CO     90015249281
83595A97791837   STACEY         RIVETT                     OK     90002700977
8359611939154B   MICHELE        COWAN                      TX     90005251193
8359683A591979   TERRI          HAMMOND                    NC     90006858305
8359691495B581   SHADY          EREIFEJ                    NM     90001879149
83596A5AA4B22B   TIMM           BADGETT                    NE     90002280500
8359765529154B   ESTERA         GUTIERREZ                  TX     90002856552
8359779843B421   CHARLES        FRYMAN                     OH     90014307984
8359781A471938   JENNIFER       MARSH                      CO     90008198104
83598218476B97   THOMAS         CRUZ                       CA     90000822184
8359824566194B   JACQUELIN      VERDIEU                    CA     90013942456
83598294372B62   SUSANA M       ZAMARRON                   CO     33090232943
8359919374B22B   SHANNON        ASHFORD                    NE     90000311937
83599362A72B33   VALENTINA      SANTILLANES                CO     90010793620
83599667A5B326   JOSE           MOTA CERVANTES             OR     90013886670
8359988326194B   ERIKA          SKOG                       CA     90012828832
83599A2425B183   MARILYN        BAILEY                     AR     23075230242
8359B316771938   JOSE           GONZALEZ                   CO     90013913167
8359B443A55945   RACHEL         ZAMARRIPA                  CA     90013624430
8359B821751362   DANA           CUMMINS                    OH     90014848217
835B1296633698   GLENN          FORD                       NC     90013342966
835B166925B326   MARYANNE       MONCIVAIS                  OR     44556206692
835B1744151362   INEZ           BROWN                      OH     66061317441
835B1A88297138   MARIA          IBARRA                     OR     44025040882
835B2326371938   KENDRA         BARGE                      CO     90013893263
835B2351133698   UNKNOWN        UNKNOWN                    NC     12001703511
835B2484772B33   AMANDA         MEDINA                     CO     90014274847
835B252453B39B   DONNA          WEAVER                     CO     90012265245
835B2527741262   ALBERT         POLLICK                    PA     90013155277
835B281855B581   SONIA          LOPEZ-PEREZ                NM     35093268185
835B2952651362   BRIAN          MEADS                      OH     90009559526
835B3139472B29   ERIN           OLEKSIUK                   CO     90005541394
835B3145297B38   SILVIA         CHAVEZ                     CO     90013121452
835B3234591837   LATWANA        GREEN                      OK     90008182345
835B328A641262   RAFAEL         GARCIA                     PA     90009192806
835B332185B24B   JERRY          KING                       KY     90013963218
835B381828B168   ALICIA         TAFOYA                     UT     31051358182
835B3848355945   JEFFREY        SIPES                      CA     49055188483
835B4279872B62   ETHELLA        MYERS                      CO     33069312798
835B4462491394   PAMELA         PORTER                     KS     90001124624
835B4469776B97   ANTOINETTE     GOMEZ                      CA     90013064697
835B4624241281   CHRISTY        STEPANICK                  PA     51077816242
835B4719347897   DAVID          DOWDEN                     GA     90013977193
835B533868B168   CHASE          CAMPBELL                   UT     90011023386
835B53A2497138   NEVO           CHUKWUEBUKA                OR     90000693024
835B54A1191975   SHAQUAWNA      BOYD                       NC     90013064011
835B5A15571938   CHIKOSI        LATEEF                     CO     90012410155
835B6737697138   TIMOTHY        SMALLEY                    OR     90012727376
835B6866572B33   SHRAYN         CAMPBELL                   CO     90011678665
835B6A42651341   RHONDA         BOWLES                     OH     66016240426
835B744A75B581   ANA            CONTRERAS                  NM     35033974407
835B757719154B   RICARDO        GARCIA                     TX     75078425771
835B7748872B33   MARY           SIMMONS                    CO     90013197488
835B7954A47822   JANICE         HILL                       GA     14095939540
835B796172B271   WALTER         AMAYA                      DC     90011409617
835B936892B956   MARTA          SARAVIA                    CA     90007933689
835B9373551362   GRICELDA       MATIAS                     OH     90014163735
835B9536291837   PAM            DELAO                      OK     21029685362
835B9633797B38   ANGELITA       RODRIGUEZ                  CO     39061546337
835BB266191837   BRETT          TERRY                      OK     90012412661
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1205 of 2350


835BB315776B65   CHRISTIAN     CESPEDES                    CA     90013613157
835BB53865B326   DEA           TOWNER                      OR     90004755386
835BB597572B62   STEPHANIE     REA                         CO     90011195975
835BB723971938   ARTHUR        TRIMBLE                     CO     32003837239
835BB828247822   JERRY         BILLUE                      GA     90010898282
835BB95236194B   MELISSA       DELGADO                     CA     46083019523
835BBA32772B99   DONNY         HEISLER                     CO     33063750327
835BBA88771977   ERIC          ERNEST                      CO     90009670887
8361146165B183   KAREN         LOUSE                       AR     90015204616
836117A6297B3B   CANDELARIA    HOLGUIN                     CO     90013737062
83612263972B62   MCGYVER       NEAM                        CO     90011132639
8361232318B154   MICHAEL       ORULLIAN                    UT     31088793231
836123AA371938   JASON         SACHINGER                   CO     90014583003
8361268A355945   JUVENTINA     VENEGAS                     CA     90012706803
836128A3497138   PATRICIA      MADSEN                      OR     90014528034
83613627676B65   DAVID         CASTILLO                    CA     90004176276
83614249872B29   HUNTER        MARTINEZ                    CO     90007212498
836142A2657531   DANIELA       GONZALEZ                    NM     90013522026
83614337772B29   DANIEL        GARRISON                    CO     90014413377
836143AA797138   TIFFANY       SPRY                        OR     44093203007
8361452289154B   LUZ           AGUIRRE                     TX     90012955228
8361481465B581   RODNEY        GREENE                      NM     90013558146
83614A45441275   JENNIFER      KIMBERLY                    PA     90013860454
836153A7972432   DEBBIE        SPANGLER                    PA     51078193079
83615587272B62   BELIN         YAVUZ-EDMOND                CO     90013105872
8361578616194B   ANGELA        RESENDIZ                    CA     90010597861
83615948997B3B   LAURA         MCGRATH                     CO     39064959489
836166A2576B97   ALEXANDRA     SEPULVEDA                   CA     90011166025
8361747165597B   ROBERT        PENA                        CA     90011694716
83617668972B3B   GISELLE       GUTIERREZ                   CO     33081636689
836191A3A9154B   CRISTINA      ZAMORA                      NM     90014181030
83619249997B38   NOEL          TRUJILLO                    CO     90013952499
8361936866194B   KENNETH       JOHNSON                     CA     90013623686
8361954825B24B   CORA          FORD                        KY     90011335482
8361B258784347   SHAWN         SHORT                       SC     19074682587
8361B25A851341   BARBARA       MCDADE                      OH     90014152508
8361B284897B3B   LOREN         BALLARD                     CO     39076342848
8361B488272B29   FANTA         DOUMBIA                     CO     90012464882
8361B591951341   JERRY         HICKS                       OH     66073625919
8361B5A6676B65   SAMANTHA      HUGHES                      CA     90014135066
8361B783455945   CHERYL        JONES                       CA     90002557834
8361B975393127   ALISHA        MCCOLLOUGH                  KY     90014719753
83621371872B29   PAYGO         IVR ACTIVATION              CO     90014283718
8362217A272B62   DESIREE       PIGFORD                     CO     90011531702
83622454472B29   MIGUEL        OLIVAN                      CO     33042424544
836239A485B326   VICTOR        ALFARO                      OR     90011629048
8362411268B154   RANDY         BAKER                       UT     31079081126
836241A679154B   ROSA          VILLAFUERTE                 TX     90014181067
8362528194B22B   CARLOS        LARA-GONZALEZ               NE     90013782819
8362535A476B97   ANIBAL        VALENCIA                    CA     90005773504
836253A1197138   ROBYN ADELE   PEARCE                      OR     90007373011
8362543435B326   MELISSA       FOSTER                      OR     44516914343
83626152197B3B   TAMARA        STANDEN                     CO     39094891521
83626436A5B326   JELENA        DONEY                       OR     44516914360
8362667625594B   TONG          VUE                         CA     90003736762
83626A74A41262   KARUNA        GURUNG                      PA     90010210740
83626A87191975   RUFINO        PEREZ                       NC     90015170871
836271A2193771   JAMES         BLYTHE                      OH     64511861021
83627231897B38   STEVE         OSBORN                      CO     90015042318
83627685A47822   CRYSTAL       MAYS                        GA     90006336850
83627A26771938   BERNADETTE    GOMEZ                       CO     32080440267
836283AA997B3B   CYNTHIA       NOVOTNY                     CO     90011423009
83628A2528B847   JOHN          ASI                         HI     90014170252
836296A2A76B97   ARNOLD        BURGOS                      CA     90010196020
83629A72672B29   AARON         HARMON                      CO     33094600726
8362B1A679154B   ROSA          VILLAFUERTE                 TX     90014181067
8362B4A894B532   JEFFREY       JENKINS, I                  OK     90013254089
8362B6A846194B   CAROLINA      LOPEZ                       CA     90005526084
8362B754861928   MARIO         GONZALEZ                    CA     90007417548
8362B964A47897   KERCYNTHIA    BURLEY                      GA     90008219640
83631124A76B97   CARLOS        MILLAN                      CA     90014441240
8363112859154B   ARTURO        HUIZAR                      NM     90014181285
8363122666194B   MARIA E.      BOWERS                      CA     90010462266
83631A8A576B97   AVION         WILBORN                     CA     90013010805
83632A55472B99   SELAMAWIT     TEMELISO                    CO     90014360554
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1206 of 2350


83633A7745B134   LATONYA            BOYD                   AR     23050000774
8363432525B581   CHRISTINA          TELLES                 NM     90010993252
83635223A71977   GARY               GARCIA                 CO     90010002230
8363547315B326   FRANCISCO          VELASQUEZ SERVIN       OR     90013744731
836355A555B24B   ALICIA             MOLINA GARCIA          KY     90011545055
836358A6741232   KELLY              WORSHAM                PA     90015328067
836359A1591975   OSMAYDA            GARCIA M               NC     90012189015
836362AA95B326   NICK               COOPER                 OR     90014252009
83636333776B65   SOTO               FRANK                  CA     46041263337
8363633A991979   DEBRA              DEBRO                  NC     17079003309
8363651A255945   CHENG              YANG                   CA     90014875102
83636875872B29   DAVID              SCHMADER               CO     90005098758
83636A95772496   ROBERTA            PTASZKIEWICZ           PA     51056870957
8363735372B256   ANGELA             BROOKS                 DC     90000333537
83637734272B62   MONICA             OROSCO                 CO     33058847342
83637A76333698   CATHERINE          SMITH                  NC     12082610763
83638237472B29   DAIA               MENDOZA                CO     90008642374
836384A865B342   RAFAEL             MOSQUEDA               OR     90009874086
8363861549154B   ROSA               RODRIGUEZ              TX     90004296154
8363866A65B24B   KIM                TYLER                  KY     90014726606
836386A5341262   CHRISTINE          BLALOCK                PA     90003506053
83638824597B38   CHEWY              MALDONADO              CO     90007868245
8363915A15B326   TERRY              A                      OR     90014731501
83639181A9154B   ANA                GONZALEZ               TX     90001401810
8363977288B154   CESAR              OJEDA                  UT     90015207728
8363987634B967   DEKISHA            SPEARMAN               TX     76587908763
83639A9185B24B   DONNA              GREEN                  KY     90008880918
83639A99672B62   ANNIE              WATTS                  CO     90013220996
8363B158A76B97   JOSE               MORALES                CA     46086721580
8363B634176B65   GONZALO            MENDEZ                 CA     90011766341
8364116269154B   MIGUEL             OCHOA ZUNIGA           TX     90012331626
8364118A672B62   PATRICIA           SANDOVAL LAUDEL        CO     90012621806
8364174A397B3B   CASEY              MANKE                  CO     90013037403
8364188418B168   RODNEY             GADDIS                 UT     31098658841
83641A4966194B   CAROL              PINEDA                 CA     90012840496
83642116872B62   RYAN               FONTENOT               CO     90012081168
8364241568B163   ANA                PAYANO                 UT     90010224156
8364245299154B   ALBERTO            CALLEJAS               TX     90014704529
8364296945B326   NORMA              SANCHEZ                OR     90011629694
83642A72677537   ERIK               NOGUERA                NV     43026090726
83643675572B33   DANIEL             GONZALES               CO     90012886755
836441A3971977   CHRISTINA          ARMENTA                CO     90013901039
83644443A61936   NADIA              MIKHAEL                CA     46039874430
836444A779154B   TERESA             BALTAZAR               TX     75072524077
8364471828B168   MINDY              HATT                   UT     31070897182
836452A1372B62   JOSE               MARTINEZ               CO     33092952013
8364544A571938   ANNETTA            ANDREWS                CO     90011354405
8364554982B256   DANIEL             HAWKINS                DC     90000335498
8364638823B351   GABRIEL            BARRERAS               CO     33035903882
836466A365B368   MATTHEW            ROSE                   OR     90007886036
8364741685B326   LILIA              VALENCIA REYES         OR     90010474168
8364843295B581   BRISSA             AVILA-OLIVAS           NM     90013784329
836484A668B135   DONNA              WEBB                   UT     90006664066
8364868A747822   JANESA             BROWN                  GA     90014726807
83649393A72B62   JANA               BROWN                  CO     90009503930
8364B165397138   CHRISTINA          KELLEY                 OR     90011261653
8364B41AA71938   HOWARD             SMITH                  CO     90012814100
8364B649477537   TIFFANY            ROWE-CULTEE            NV     90011436494
8364B785151341   ROBERT             HAYDEN                 OH     66018447851
8365176A776B97   MARICRUZ           MORALES                CA     90014937607
8365237635B581   ROSLYN             RODRIGUEZ              NM     90010363763
8365281A691837   LEMUS              GERARDO                OK     90014578106
8365358239154B   JOSE               CHAVIRA                TX     90012025823
8365383214129B   MARCO              CARBONE                PA     51017288321
83653A22633698   IDALIA             ANDO                   NC     90014940226
83654185872B62   LUIS               SOLANO                 CO     33079181858
8365458745B568   LUCINA             ARANDA                 NM     90001825874
8365499648B168   WENDI              CLEGG                  UT     90012009964
83654AA886194B   DENISE             BLANTON                CA     46009430088
836551A4733698   JOSE               GRANADOS               NC     90013941047
83655456A97138   EAVRISTO           URIBE                  OR     90008074560
83655575372B29   VALENTIN           SANCHEZ                CO     33087885753
8365574824B22B   JOSE Y GUADALUPE   SANCHEZ                NE     90014377482
8365575297B485   ASHLEY             HARDRICK               NC     90005797529
8365594595B24B   ANISLEIDYS         MARRERO                KY     90015239459
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1207 of 2350


8365615A79154B   DIANA        CASTILLO                     TX     90014181507
8365625415B24B   NATASHA      JACKSON                      KY     90012242541
83656258672B29   ALAN         GARCIA                       CO     33012752586
8365638273B38B   CECIL        CARTER                       CO     33052663827
83656574472B33   CARMEN       KIRBY                        CO     90008955744
8365673AA76B65   MARGAHRITA   BARAZA                       CA     90014157300
8365674485B581   VIOLETA      NUNEZ                        NM     35071877448
836572A7771977   MAYRA        ANDERSON                     CO     90014602077
836584A9891979   BARBARA      CAMPBELL                     NC     90015274098
83658875576B65   PEDRO        PACHECO                      CA     90012648755
836588A8161994   VINCE        CONTRERAS                    CA     90010018081
836597A2785936   BILL         ST LAWRENCE                  KY     67092517027
8365B76696194B   ADRIANA      PEREZ                        CA     90013017669
8365B877274B7B   JESSICA      JORDAN                       OH     90013758772
83662919A72B29   MARLON       SMITH                        CO     90014829190
83662A17851341   MARGARITO    RIVAS                        OH     66030770178
8366355AA97138   CHARLES      PIERCE                       OR     90014875500
83663876A72B62   CHON         FLORES NAVARRO               CO     90000488760
83663912776B97   FRANCISCO    PALMA                        CA     90005549127
83664124A76B97   CARLOS       MILLAN                       CA     90014441240
83664194176B65   CHRIS        DWYER                        CA     90013651941
83664936997B3B   HOLLY        JACOBY                       CO     39073069369
83664A96A5B581   MIGUEL       PADILLA                      NM     90011380960
8366519A733698   JESSICA      WOMACK                       NC     90013941907
8366526945B183   MELINDA      ANDREWS                      AR     90014052694
8366572665B24B   NICHOLE      DERROUGH                     KY     90014117266
8366593A471938   DAVID        MACURI                       CO     32000529304
83666159376B97   PETRA        ALVARADO                     CA     90012991593
83666719272B62   JOSH         NUNEZ                        CO     33086137192
8366688828B168   MARCO        VALENCIA ORZCO               UT     31028508882
83668279A97B38   NORMAN       MARTINEZ                     CO     39043942790
836682A4A76B65   LESLEY       SALINAS                      CA     46014042040
8366875718B168   PEREZ        IRMA                         UT     31000397571
83668A1A141262   SHAWNA       GREEN                        PA     90014910101
83669188476B97   IRENE        CRUZ                         CA     90014321884
8366926418B163   LISA         ANDERSON                     UT     31071952641
8366974A14B22B   SHAUNTAE     STARKS                       NE     27057177401
8366983399154B   ALEJANDRA    NAVARRO                      TX     90006098339
8366B1A996194B   ANTONIO      VILLA                        CA     90011181099
8366B21395B326   ANDREW       VENABLE                      OR     90014492139
8366B227855945   ALEJANDRO    ANZALDO                      CA     90010322278
8366B769597B3B   BILLY        WILLIAMS                     CO     39080087695
8367167A55B24B   DONALD       KNOX                         KY     90014436705
8367184565B326   ABEL         HERNANDEZ                    OR     90015208456
83671928676B65   EVA          TINOCO                       CA     90001229286
83672131A93771   MICHELLE     WINSTON                      OH     64507341310
836722AA872B27   VICTOR       SAUCEDO                      CO     90012742008
83672822A76B65   KIM          ALBINO                       CA     90006978220
8367296695B183   NICHOLAS     LALICATA                     AR     23076569669
8367363915B326   NANI         NEVES                        OR     44548326391
83673751676B97   ADRIAN       ABARCA                       CA     90014017516
8367382865B183   DANIELLE     ADAMS                        AR     90013218286
8367477A876B97   ERICKA       MALDONADO                    CA     90011877708
8367515645B24B   HERTOR       MARTINEZ                     KY     90013361564
836751A899154B   SIRENA       DOMINGUEZ                    TX     90005011089
8367526838B168   ANGEL        STUCKMAN                     UT     90014002683
8367588979154B   LUIS         URIBE                        TX     90013048897
836763A4971977   TAMI         MATA                         CO     90008983049
83676457976B97   MONET        KEYES                        CA     90002144579
836764AA971938   DIEGO        CASTRO                       CO     90013864009
8367734659376B   ZURID        HARDWICK                     OH     90008373465
8367742156194B   JESSE        SOLIS                        CA     90013474215
8367767A56194B   JESSE        SOLIS                        CA     90003466705
83677698A77537   KRISTINE     IVANICH                      NV     43024296980
83677946A33471   FELICIA      BOWICK                       AL     90014639460
83677969972B62   MICHAEL      PETERSON                     CO     90004089699
836779A2451362   JASEMINE     HENLEY                       OH     90011669024
836783A4977537   SHAWN        DEEN                         NV     90000513049
83678457697B38   GLADIS       COLLINS                      CO     90011654576
83678523A76B97   JOHNNY       SANCHEZ                      CA     90014325230
8367885245B581   JOVITA       AGUILAR                      NM     35001508524
83678A14772B62   ROSA         MARTINEZ                     CO     33000100147
8367922A772432   AMANDA       SHUBA                        PA     51068962207
83679A19271977   JENNY        PONTES                       CO     90006570192
8367B228455945   MATT         CROWSON                      CA     90012982284
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1208 of 2350


8367B231972432   KENYADA          HINES                    PA     90013942319
8367B9A7772B29   ROSA             GOMEZ                    CO     33007219077
83681A1885B24B   SHERNEQUA        JOHNSON                  KY     90011310188
83681A92172B33   JERRY            FREEMAN                  CO     90010450921
83682882976B97   DANTE            HARROW                   CA     46087358829
8368299712B271   EDWARD           MARSHALL                 DC     90012739971
8368376668B168   JESSICA          PICCOLO                  UT     31043257666
83683852A76B97   FERNANDO         BARRAZA                  CA     46072658520
836844AA276B65   BEATRIZ          RECENDIZ                 CA     90013604002
8368549955B581   PATRICK          BENAVIDEZ                NM     35097804995
8368586339154B   NANCY            LARA                     TX     75099288633
83685A81491837   LAURA            CIROCCO                  OK     21003690814
83685A97293127   LILIA            TAYLOR                   KY     90014570972
8368633817B359   JORGE            CONTRERAS                VA     90001533381
83686384572B62   MICHAEL          MCELHANEY                CO     90013243845
8368642A991975   TIM              MEDLEY                   NC     17091104209
83687597272B62   JANETH           TREVIZO                  CO     90013475972
8368769354B22B   CHARLES          MONTGOMERY               IA     90014206935
83687753A76B97   JESSICA          MARTINEZ                 CA     90014017530
836879AA36194B   JAVIER           GONZALEZ                 CA     90013369003
83687A6815B24B   CANDACE          WILLIAMS                 KY     90013440681
83688241A72B31   JOSE             FLORES                   CO     90012412410
83688445A71938   ANA              ALVARADO                 CO     90011354450
8368885355B24B   JASON            JOHNSON                  KY     90015468535
8368899AA72B62   AKILIMALI        MURAZI                   CO     90006819900
83688A44191979   CHRIS            BYRD                     NC     90014000441
8368916698B154   DWLAN            CAMPBEL                  UT     90008621669
8368953148B163   KRISTEN          DOTSON                   UT     90005315314
83689542772B29   AMY              CHURCH                   CO     90006315427
8368984299154B   FLOR             LOPEZ-RAMOS              NM     90012638429
83689A4AA77537   ALVARO           REYES                    NV     90014190400
8368B122541275   ROBERT           PAOLUCCI                 PA     90011781225
8368B73515B24B   MARK             NORTHINGTON              KY     68001967351
8369153A876B65   LEO              ARMENTA                  CA     90014215308
83692185272B29   ERIC             WAGGLE                   CO     90013501852
8369235465B183   MECCA            LEE                      AR     90011733546
83692976297B3B   ESPERANZA        AYALA                    CO     90009739762
8369324538B154   RAYMOND          MANNING                  UT     90008332453
8369326355B326   AMANDA           ACKERMAN                 OR     90011012635
8369333A472B33   RAY              FERNANDEZ                CO     33021263304
83693585472B62   AMBER            BATSON VASQUEZ           CO     90012935854
8369374A741275   LOIS             HORSLEY MURPHY           PA     90014307407
83694141672B29   CALVIN           EVANS                    CO     33018071416
83694A88A33698   SHARON           BURNS                    NC     90012750880
83695446572B62   ISRAEL           CASTRO                   CO     33025014465
83695A53791532   JUAN             ALVAREZ                  NM     75084010537
83696472A76B65   MARIA            VELASCO                  CA     46015904720
836975A9147897   CATHESHA         BROWN-HILL               GA     90013545091
8369761245B581   JORGE            AVILA-ACUNA              NM     90009606124
8369781112B271   RODILIO          MENDEZ CADENAS           DC     90002038111
836985A1A71977   RICHARD          GANNI                    CO     90012895010
8369935545B581   JUSTIN           SERNA                    NM     90013423554
83699389A8B154   JOSEFINA         REYES                    UT     90008653890
83699397297B38   JOHN             MASSEY                   CO     39091873972
83699913472B33   MARIA DE JESUS   FLORES                   CO     90013799134
8369B35565B581   CHRISTINE        MORA                     NM     90002343556
8369B493161928   MAURICIO         PADILLA                  CA     90011674931
836B1331277537   AUGUSTINE        URESTI                   NV     90013603312
836B1A51797B38   ALEJANDRA        GARCIA                   CO     90013950517
836B2213381658   MARIO            GANCHAROV                MO     29017942133
836B239365B24B   DIANA            AQUINO MORALES           KY     90013813936
836B25A5155945   PATRICIA MARIA   LOYA                     CA     90013495051
836B2758872432   JEANNETTE        ROSS                     PA     90009317588
836B346468B168   KIESSA           HARVEY                   UT     90013764646
836B3561397B38   LAURA            WIGHT                    CO     39096345613
836B3627897138   GLENDA           WILLIAMS                 OR     90013096278
836B3AA225B581   JUDY             BACA                     NM     90010060022
836B4138551341   MICHAEL          SHELTON                  OH     90010381385
836B4349476B97   RHONDA           SHORT                    CA     46014223494
836B4612471977   JOYE             KNIGHT                   CO     38007006124
836B4628851362   CARLOS           CRUZ                     OH     90013366288
836B4689647897   STEVEN           ROBINSON                 GA     90011406896
836B4737493127   DANESHIA         WEAVER                   KY     90014717374
836B523A797B3B   ALEXANDRA        DIPENTINO                CO     39020312307
836B5277991975   NGEMBA           NTOTO                    NC     90015122779
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1209 of 2350


836B5488291979   MONICA             SERRANO                NC     90012814882
836B5739141275   YVONNE             MOORE                  PA     51077147391
836B5AA835B24B   SAYNAB             ADAN                   KY     68093010083
836B611224B532   AMBER              CORTES                 OK     90010831122
836B6248893771   DAQUAN             WALKER                 OH     90007812488
836B6A86A71977   GARY               HALL                   CO     90011340860
836B728136194B   JENNY              VARGAS                 CA     90005712813
836B735424B22B   JT                 ISII                   IA     90001313542
836B75A895B24B   REUBEN             DEVOE                  KY     90014855089
836B7747972432   ZACH               KING                   PA     90012337479
836B77A795B139   MIGUEAL            HARVEY                 AR     23049357079
836B7899591837   TYRELL             WOODFORK               OK     90014278995
836B79A1371938   JORGE              MEZA                   CO     90014919013
836B79AA172B62   BONITA             WILDER                 CO     90004459001
836B7A9178B154   JAMES              WELKER                 UT     31070410917
836B8189372B62   TERRI              CUNINGHAM              CO     90008641893
836B8276885936   MARTHA             ALVAREZ                KY     67086122768
836B8491651362   ERIC               TILLIE                 OH     66023234916
836B878785B183   MARQUES            GATEWOOD               AR     90007887878
836B87A9585856   MARIA              TOVAR                  CA     90002487095
836B8975393127   ALISHA             MCCOLLOUGH             KY     90014719753
836B9139A71938   ROBERT             TAFOYA                 CO     90013591390
836B9383A8B168   TIFFANY            BROWN                  UT     31014883830
836B954695B326   ALEJANDRA          NINO-IBANEZ            OR     90012495469
836B9612791837   DESTINY            RANDLE                 OK     90014576127
836B9785391975   LISA               PEARSON                NC     90014207853
836B984242B256   LAKIA              TERRELL                DC     90002508424
836B9A1575B24B   MARGARET           DUVALL                 KY     68051540157
836BB38998B154   BRANDEN            BILLS                  UT     90014103899
836BB883571977   CRYSTAL            SOSA                   CO     90014578835
8371142868B163   BRANDI             BRYSON                 UT     31095164286
83711658A5B183   NICOLAS            MONTANO                AR     90015496580
8371179485B326   JUAN               MERINO                 OR     44509117948
8371321785B24B   HANNAH             SLAUGHTER              KY     90015612178
83713772497B97   ELLEN              HINE                   CO     90014437724
83713A57341249   CARA               THORHAUER              PA     90003700573
83714194A5B581   DEBBIE             WEBB                   NM     35053031940
837142A8184336   KEJEN              KENEDY                 SC     90010432081
837145A2455945   ANTHONY            PEREZ                  CA     90009495024
83714942A72B29   MARISSA            CISNEROS               CO     90001219420
837153AA991837   JOY                REAMER                 OK     21010253009
83715772A61928   ARTHUR             AVETOV                 CA     90012657720
8371585AA72B33   CHARLES            CORTINEZ               CO     90015258500
8371589A272B62   JORDAN             MARTINEZ               CO     90012458902
8371594A176B65   MATILDE            SANCHEZ                CA     90012359401
8371636229154B   STEPHANIE          HOLGUIN                TX     75061643622
8371656538B154   KATHRYN            KUHLMAN                UT     90012235653
8371661AA5B326   JOSEPH             STRICKLER              OR     90011966100
83717296A85936   BILLY              WRIGHT                 KY     90006642960
83717552376B97   VIVIENNE           CUMMINS                CA     46006705523
83717AA9471938   CORY               DRAKE                  CO     32019300094
8371866318B154   JOSE               LOPEZ MOTA             UT     90013846631
83718889197B3B   KARLA              ROMERO                 CO     90010858891
8371923676194B   AURORA             DELGADO                CA     46023372367
83719783A8B168   MARCELINO          PADILLA-OLIVERA        UT     90011017830
8371985A776B97   HUMBERTO           MORALES                CA     46077668507
8371B16A89154B   ALFONSO            TREVINO                TX     90014181608
8371B472972B29   ROSE               PORTILLO               CO     33083464729
8372132775B24B   AMY                MCGRATH                KY     90009933277
83721A21547822   RHONDA             BROWN                  GA     90013450215
8372235A933698   ERICA              EDWARDS                NC     90013343509
83722A47197B3B   BEATRIZ            MEZA-HERNANDEZ         CO     90013650471
83722A4A96194B   ELIZABVETH         FLYNN                  CA     90014770409
8372332825B326   STEPHANIE          SLASON                 OR     90002183282
8372351652B956   ROBERT             MADRIGAL               CA     90009715165
8372434446194B   QUASHANA MONIQUE   SIMMONS                CA     90013943444
8372477438B154   GERARDO            CRUZ                   UT     90008947743
837252A5155945   MARCOS             SEVILLANO              CA     49077212051
83726577397B3B   BUSONERA           JONE                   CO     90012725773
837273A4472B29   MIKE               LOPEZ                  CO     90010733044
837274A9361928   GEORGIA            BEASLEY                CA     90004044093
83728347176B97   TONYA              WILLIAMS               CA     90014773471
8372873A95B139   CARENDA            BROWN                  AR     90007947309
83728A4185B581   CASILLAS           EDUARDO                NM     90005100418
83729178A97B38   KARLA              NEVAREZ                CO     39079821780
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1210 of 2350


8372948575B581   GRISSEL            PARGAS                 NM     35054774857
8372B128391979   BRAILEENS          INFANTE                NC     90006421283
8372B165697B3B   MELISSA            JUAREZ                 CO     90011531656
8372B2A6791837   OLIVIA             BRICKER                OK     90010372067
8372B9A528B154   HEATHER            CHAMBERLAIN            UT     90004309052
83731122A47897   ASHLEY             BARTON                 GA     90014221220
83731A68A9152B   ANITA              LOPEZ                  TX     75061910680
8373247919154B   GABRIELA           VELEZ                  TX     90009334791
8373267A177537   ROBERT M           HERNANDEZ              NV     43098366701
8373387A45B24B   SHANANA            FLORENCE               KY     90009118704
83733A6A42B256   CHRIS              BLOUNT                 DC     81078260604
8373417339154B   JENESSIS           SANCHEZ                TX     90014181733
8373434446194B   QUASHANA MONIQUE   SIMMONS                CA     90013943444
837345A4133661   LATIFAH            PATE                   NC     90010765041
83734817676B97   ELOISA             ALMAZAN                CA     46094038176
8373517549154B   ABELARDO           FIERRO                 TX     90014181754
8373581745B326   RAFAEL             MANRIGUEZ              OR     90013058174
837358A4247897   QUIN               SIMPSON                GA     90011138042
83735A24476B65   JUAN               MATA                   CA     90014950244
83736261A91837   DAWN               BROWN                  OK     21011512610
83736428A5B581   ROSALIE            CASTILLO               NM     90013424280
8373648358B163   PAM                GIBB                   UT     31086174835
8373655A52B256   RONALD             BYRD                   DC     90000345505
8373673816194B   CLAUDIA            ESCOTO                 CA     90014027381
83736745576B65   ANA                FRAGOSO                CA     90012347455
8373676669154B   SANCHEZ            SANDRA                 TX     75027417666
83737A66247897   ARTHUR             FREEMAN                GA     90009630662
83737A79693771   MELISSA            ADAMS                  OH     64525230796
83737AA9372B29   NORMA              LUNA                   CO     33006560093
8373848575B581   GRISSEL            PARGAS                 NM     35054774857
8373877782B271   CURTIS             BOATWRIGHT             DC     90011097778
837392A7477537   CARLOS             JORDAN                 NV     90013262074
8373948175B183   ETHEL              DRUMGOOLE              AR     90015204817
83739A62561928   MARITZA            MORENO                 CA     90014790625
8373B136676B65   ANTONIO            VILLALBA               CA     90008771366
8373B3A2991837   FRANCHESKA         CARTER                 OK     90011443029
8373B711472B29   FARID              DAMAWAND               CO     90003067114
8373B96235B326   DYLAN              SCOTT                  OR     90011639623
837415A4133661   LATIFAH            PATE                   NC     90010765041
837415AA297B38   TAMMY              GEORGE                 CO     90010995002
8374228154B22B   CATHARINE          AZER                   NE     27073772815
837423AA351362   MARTIN             BLACKWELL              OH     90014553003
8374245355B24B   ZACHARY            HAWKINS                KY     90010804535
83742912797B38   KASIKILA           MISAGWE                CO     90013029127
8374291884B257   JAMILLE            CLIFTON                NE     90013779188
8374362A872B62   CESAR              RODRIGUEZ              CO     90010016208
837446A1776B65   JUAN CARLOS        GUZMAN                 CA     90010216017
83745243A55945   SOMMER             REPLOGLE               CA     49060092430
837454A386194B   LISA               VESTAL                 CA     90013944038
83745844876B65   EDITH              ESTRADA                CA     90014468448
83745856297B3B   DILLON             KAISER                 CO     39064718562
8374587A281672   GRACIANO           MARTINEZ               MO     90001198702
83745A7A891837   SAN JUANA          SALDIVAR               OK     21088560708
8374624A69193B   MERCEDES           MONTOYA                NC     17040602406
83746A85176B97   SAMUEL             PEAVY                  CA     90013010851
8374839885B183   LINDA              GRIFFIN                AR     23087843988
8374862825B326   EVANGELINA         GALLARZO               OR     90002706282
8374917A35B326   MARIA              GRANADOS               OR     90014321703
8374B37578B168   TEODORO            VILCAPOMA              UT     90015313757
8374B528291837   LEE                DAVIS                  OK     21062805282
8374B961233698   DEVON              JONES                  NC     90011549612
8374BA39671938   LAURIE             YANOSHEK               CO     32017350396
8374BA49591979   LAMAR              HOLDER                 NC     90010540495
837515AA391979   VICTORIA           WHEELER                NC     90013265003
83751611172B62   RAUL               GARCIA                 CO     90007846111
83751735176B65   MARIO              SANDOVAL               CA     46064277351
8375225A197B3B   CONNIE             SODERBERG              CO     39045872501
8375267A851382   YOHANNES           GEBRAB                 OH     90000146708
83752A6338B163   SHANE              SHEPHERD               UT     31003630633
83752A8889154B   OSCAR              ALFREDO                TX     90013220888
83753395797B38   LARRY              WAAG                   CO     39099033957
83753467A5B183   ENDA               MCDANIEL               AR     90014854670
83753A4825B24B   MUZETTE            ATKINS                 KY     90012530482
83753A53891837   GLEN               JOHNSON                OK     21041920538
83753A7AA41262   PEG                ROWE                   PA     51073070700
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1211 of 2350


83753AA6A36178   PERLA        CAZARES                      TX     90010020060
83754719772B29   RAFAEL       RAMIREZ                      CO     90012827197
8375495A172432   TONI         PERRY                        PA     90013949501
8375586A69154B   LUIS         AMAYA                        TX     90002788606
83756179772B62   FABELA       ILIANNA                      CO     90009251797
8375623515B183   TIMOTHY      HARRIS                       AR     23075232351
837562AA73B374   SHANE        MILLER                       CO     90001372007
8375663A272B33   NATHAN       REED                         CO     90013046302
8375674585B326   AMBER        ORTEGA                       OR     44511767458
83756A58477537   SAI          MORALES                      NV     43080730584
83757568997B38   MICHAEL      CRESPIN                      CO     90010995689
8375796575B581   SHARDAY      CHARLEY                      NM     90010349657
83758244372B33   CASSANDRA    FULLER                       CO     33017622443
837582A2791979   CATRINA      PIERCE                       NC     90014272027
837582AAA91821   HEATHER      SADBERRY                     OK     90011292000
837583A8172B29   KEITH        SCHRECKENGOST                CO     90013283081
83758637276B45   JUAN         MORALES                      CA     90014006372
8375871438B151   MICHELLE     BAYLES                       UT     90011407143
83758AA1291837   AMANDA       FRANK                        OK     90014580012
8375923686194B   FRANCED      KOZLOWSKI                    CA     90010472368
8375952355B183   SHEMIKKA     MARTIN                       AR     90009765235
8375961335B581   TANYA        ASTORGA                      NM     35005136133
83759616972B29   JACQUELYN    LAWRENCE                     CO     33035786169
837596A424B57B   TYANNE       BREWER                       OK     90009276042
8375B222651341   DAIVD        HART                         OH     90011892226
8375B375872B62   ANGEL        ARMENTA                      CO     33038163758
8375B437A2B256   TAMERA       SMITH                        DC     90010124370
8375B514776B65   MARIANA      COVIAN                       CA     90009815147
8375B64468B154   STEVEN       JOHNSON                      UT     90013636446
8375B9AA27B496   AALYIAH      BUCKHALTER                   NC     90010199002
8375BAA1193771   YOLONDA      FROST                        OH     64522620011
83761211376B97   JASMINE      SMITH                        CA     90012662113
8376156899154B   GLORIA       MANRIQUEZ                    TX     90011925689
8376199A485856   IVAN         VIRYRA                       CA     90009479904
83761A94147897   MICHELLE     USSERY                       GA     90005290941
83762173197B3B   JEFF         DURGA                        CO     39012681731
8376218579154B   RAYMUNDO     AGUIRRE                      TX     90014181857
83762266A91837   ELVIRA       CHAIREZ                      OK     90003752660
837624A514B22B   TERRANCE     JOHNSON                      NE     90013564051
83762616172B29   TOMAS        CORDERO                      CO     33051166161
83763232297B38   MICHAEL      TORRES                       CO     90010492322
83763425A61928   KASANDRA     RAMIREZ                      CA     90011294250
83763514376B65   MICHAEL      MOYER                        CA     90011415143
837639A389185B   ROW          D                            OK     21048349038
83764535197B3B   ROBERT       CLOW                         CO     39089085351
83764957A72B33   AUGUSTINE    MADERA                       CO     90012219570
83764A29476B97   MARTHA       GOPAR                        CA     90013110294
83764A8789154B   TERESA       ARAGONEZ                     TX     90013000878
8376522315B581   LEONARDO     CEDILLO                      NM     90013482231
8376525185B581   DONALA       ULIBARRI                     NM     90014302518
837657A425B255   CLYDE        ROBINSON                     KY     68060377042
8376589759154B   MAURO        INOSTROZA                    TX     75078868975
83765A89751325   LINDA        MURPHY                       OH     90013470897
83766643997B38   ASHLEY       LOMA                         CO     90009886439
837668A3685856   STEVEN       NIELSEN                      CA     46001818036
83767AA466B248   MARGARITA    CIBRIAN                      NM     37032040046
83768182672B62   HUGO         EZQUIVEL                     CO     90009251826
83768428A55945   JAMES        ALTAMIRANO                   CA     49065154280
8376992158B154   SERENA       PETERSON                     UT     31096079215
83769A8559154B   JORGE        SILVA                        TX     90007820855
8376B49822B94B   JOHN         CASTILLO                     CA     90010674982
8376B825391975   KEEDRAH      SIDBERRY                     NC     17067208253
8377167235B326   RIGOBERTO    CHAVEZ                       OR     44554276723
8377225265B581   NANCY        SERAFINA-REYNA-ORTIZ         NM     90007962526
8377288677242B   LINDSAY      PRATT                        PA     90008448867
8377342385B581   ANN          BENAVIDEZ                    NM     35079604238
83773A25671938   SETH         DEAN                         CO     32026480256
83774188897B38   MARTHA       CHAVES                       CO     39074801888
83774532A61976   IVAN         VASQUEZ                      CA     46006505320
83774A99961928   ERIC         CORTEZ                       CA     90007420999
8377514418B154   SHANNON      DUFFIN                       UT     31086731441
837752A9197138   CELIA        KENDALL                      OR     90012772091
83775551876B65   RAUL         MARTINEZ-PIO                 CA     90008055518
8377575468B847   RINO         GEREMEN                      HI     90014187546
83775771776B97   TESSA        CHAVEZ                       CA     90013017717
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1212 of 2350


8377589A791837   ENEL          CHINCHIA                    OK     90011888907
8377683A96194B   MARIA         GARCIA                      CA     46048468309
83776AA9871977   ESTREITA      DIAZ                        CO     90010820098
8377783865B326   UBALDO        LOPEZ                       OR     44579088386
8377795575B326   TERESA        BLANCO ORTIZ                OR     90014759557
837779A3571977   PAULINE       LONGORIA                    CO     38008389035
83778243A76B65   SANTOS        CAMILO                      CA     46015602430
83779865876B97   MASSIEL       PINA                        CA     46073058658
83779AA9247822   JAMAR         JACKSON                     GA     90012720092
8377B1AA893771   KIM           CAMERON                     OH     64534801008
8377B25A371938   ANGELO        LOVE                        CO     90010642503
8377B274141262   ROBERT        MILLER                      PA     51056862741
8377B612691558   RAMON         PIZANA                      TX     75068766126
8377B625497B3B   CASEY         JORDAN                      CO     90006026254
8377B88985B183   LAVETIA       JOSHUA                      AR     23036068898
83781A77757126   ROMY          GARCIA                      VA     90001040777
83782483A4B22B   CANDICE       WASHINGTON                  NE     27080964830
837824A868B163   CHRISTIAN     MESZAROS                    UT     90007654086
8378262A891979   KARINA        MARTINEZ SILVA              NC     90002976208
8378322345B326   NATASHA       ALBERTSON                   OR     90009422234
83783A3715B581   YAZMIN        RUBIO                       NM     35096480371
8378413AA91975   CAROL         COOPER                      NC     90011521300
837842A6172432   STEPHANIE     TOLAND                      PA     90005542061
837844A3171938   C             COOPER                      CO     32052864031
83784924697B38   SHARON        DRIVER                      CO     90014749246
83785312872B62   MONICA        MENDOZA                     CO     90000573128
8378571189154B   IRENE         DUGGAN                      TX     90002877118
83785A32397B38   JENNIFER      ALVARADO                    CO     39045730323
83785A67172B33   RAMIRO        RODRIGUEZ                   CO     90009150671
837862A6172432   STEPHANIE     TOLAND                      PA     90005542061
8378698776194B   JOHN          GOCHE                       CA     90014469877
8378752A751341   PAMELA        WADDELL                     OH     90013795207
8378835A647897   BRENDA        YAUGHN                      GA     90003003506
837884A5161928   TERRY         LONG                        CA     46052954051
83788813272B29   KAMEIA        ARTIS                       CO     90014778132
8378986733B389   LEYLA         KHAMESIPOUR                 CO     33015738673
83789A14376B97   BELLA         GLADDEN                     CA     90007810143
8378B29A251341   TAMMY         LONG                        OH     90013212902
8378B748A85856   GRACIELA      DIAZ                        CA     46006747480
8378B896A72B29   LETICIA       DOMINGUEZ                   CO     33064358960
8378BAA2971938   SIR CURTIS    TOWNSEND                    CO     32075300029
83791553197B3B   DUSTIN        ABELS                       CO     90003845531
8379156A88B154   LOUISE        MODERNO                     UT     90004045608
8379183185B326   MINELVA       VIDAL                       OR     90000448318
8379274544B22B   JEVON         CAVITT                      NE     27013777454
8379296585B326   MICAH         DICKERSON                   OR     44516979658
83792A6858B163   LANDON        SIMPSON                     UT     90002750685
83792AA2355945   CONSTANCE     COPPLE                      CA     90014640023
8379341A35B139   PATRICIA      NELSON                      AR     23086544103
8379346544B22B   DOMINIQUE D   WEAKLEY                     NE     90011474654
83793988A5B183   CRAIG         JERRI                       AR     90011749880
8379424895B568   MATTHEW       ORTEGA                      NM     90013292489
83794516597B38   DAVID         VIZCANIO                    CO     39001015165
83794616672B33   HEATHER       ROSS                        CO     90012666166
837952A5371938   LAURA         RODAS                       CO     32062542053
8379615858B154   PETE          SAWYER                      UT     31028701585
8379619419154B   FRANCISCO     HERNANDEZ                   TX     90014181941
8379687A66194B   ANGEL         FUIMAONO                    CA     90013138706
8379743859154B   JEANETTE      MORALES                     TX     90007134385
8379777715B326   JASMINE       DAYANAN                     OR     90011117771
83797A94A85856   FERNANDO      PINEDA                      CA     90010720940
837984A865B183   KEVIN         JOHNSON                     AR     90010974086
837986A6871977   ANJANETTE     CIRULLO                     CO     38079046068
8379894815B24B   JOHN          GIVIDEN                     KY     68034759481
8379898A147822   JESSICA       WILLIS                      GA     90014239801
83798AA9691975   NACOLE        BULLOCK                     NC     90014320096
83799111872B62   KIM           WILLIAMS                    CO     33050221118
8379932196194B   LAUREN        RICE                        CA     90014203219
83799547272B46   JEFFREY       RASBURN                     CO     90010355472
8379B61A476B65   RUBEN         YANEZ                       CA     90013426104
8379B898997138   JOSE          SOLORIO                     OR     44008988989
837B1757A5B326   MARILYN       VALDEZ                      OR     44575377570
837B1A35151362   JASON         MARTIN                      OH     90006600351
837B2683141275   TONI          DOBRANSKY                   PA     51040756831
837B2726497138   JOSE          MANALES                     OR     90014257264
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1213 of 2350


837B2915A61928   HODGE        NEDJRAH                      CA     90003219150
837B2A11A72B29   LEROY        LOPEZ                        CO     33093470110
837B2A43897138   STEPHEN      ESTRADA                      OR     90014180438
837B3446451362   WINSTON      SCARLETT                     OH     90006414464
837B356A531625   STEVEN       ROACH                        KS     90000625605
837B3654141275   JEMELIA      RICHARDSON                   PA     90014686541
837B3723291975   JOSE         BARAJAS                      NC     90011787232
837B3998247897   GABRIEL      TORRES                       GA     14052119982
837B3A7AA5B581   LAWRENCE     MONTOYA                      NM     90005440700
837B421175B581   JOSUE        ROJAS                        NM     90006392117
837B42A3391837   FIINN        BRANDIM                      OK     21010942033
837B4549651341   KATRINA      HARRIS                       OH     90012285496
837B4738176B97   ARTURO       AYSA                         CA     46094237381
837B515839154B   DIANA        ERBINA                       TX     90014181583
837B5295547897   FRANKIE      COLSON                       GA     90013132955
837B543196194B   ANGELICA     PEREZ                        CA     46073734319
837B5637971977   ISAIAH       VIALPANDO                    CO     90013706379
837B5643472432   ANI          WILSON                       PA     90013436434
837B5AAA18B154   ANNETTE      RIVERA                       UT     90013930001
837B6246991979   SHRON        MONROE                       NC     17048262469
837B6311997B3B   LUIS         AGUILERA                     CO     90013083119
837B6611172B62   RAUL         GARCIA                       CO     90007846111
837B6A38976B65   JUAN         LOPEZ                        CA     46047220389
837B715839154B   DIANA        ERBINA                       TX     90014181583
837B7261433698   MABLE        RAISON                       NC     90013942614
837B7429376B97   JOEL         MYHAL                        CA     46021784293
837B7568A47897   JESSE        THOMAS-RICH                  GA     90015215680
837B7695191975   JONATHAN     HARRISON                     NC     17048996951
837B7A4125B326   CASEY        BLACK                        OR     90011310412
837B7A9578B154   FRANCISCO    GARCIA                       UT     31091150957
837B8232572B33   VICTOR       CASTRO                       CO     33089712325
837B8264261928   JOAQUIN      ORTIZ                        CA     90014762642
837B8518391837   ROBERT       CROWELS                      OK     90014655183
837B8673372432   STEPHANIE    BENACK                       PA     90013966733
837B8921A97B51   SARAH        FORD                         CO     90014099210
837B9267497B3B   SUSAN        CALDERON                     CO     90012872674
837B967A197B38   GIL          OCHOA                        CO     39002936701
837B988AA51333   TERRIA       CAMPBELL                     OH     90010798800
837B9A29993771   TINA         GRAVES                       OH     64558230299
837BB281433698   CONNIE       FUTRELL                      NC     12001772814
837BB97448B163   RICHARD      JOHNSON                      UT     31037649744
837BBA7A397B38   ADRIAN       GARCIA                       CO     39030910703
8381136265B24B   TODD         CHAMBLEE                     KY     90003133626
8381184A676B65   JOAQUINA     NORRIS                       CA     90011358406
83811A28A5B326   VICTORIA     NEWELL                       OR     90008970280
8381285968B154   MARIA        RAMOS                        UT     90012768596
838136A9572432   STEPHEN      CHUPINKA                     PA     51083996095
838139A7557133   ADRIAN       SALAZAR                      VA     90005869075
83813A19361557   WILLIAM      OVERTON                      TN     90015360193
8381425745B24B   DEMETRIUS    HAMLET                       KY     90007582574
8381448845B326   MARK         RODRIGUEZ                    OR     90013744884
83814A73776B65   FILEMON      TOVAR                        CO     90014850737
83815354297B3B   KATLYNN      WENZ                         CO     90013703542
8381539675B335   TALISCHIA    TUPPER                       OR     90006263967
8381568A672432   DANIEL       TAYLOR                       PA     90003946806
8381625745B24B   DEMETRIUS    HAMLET                       KY     90007582574
8381638377734B   VANESSA      BATTLE                       IL     90007053837
8381732898B154   BERNARDO     LOPEZ                        UT     90013623289
83817369A5B183   DEMATRICE    ANDERSON                     AR     90011723690
838182A449154B   CHRISTINA    LOPEZ                        TX     90014182044
8381861672B243   TRACEY       WIMBISH                      DC     90002926167
8381894579188B   MEGAN        NICHOLSON                    OK     90011289457
8381894878B168   JEANNIE      YEITER                       UT     31088309487
8381896855B24B   SARAH        DOWELL                       KY     90008399685
83819586976B97   YURI         GONZALES                     CA     46063055869
8381998778B168   MERCEDEZ     RAMOS-MENDEZ                 UT     90014239877
8381B217572B29   WENDY        GRUMMONS                     CO     90008762175
8381B435876B97   LESLIE       MATADAMAS                    CA     90014174358
8381B647551362   SAMUEL       COOPER                       OH     90013306475
8381B925933698   BEVERLY      LAUGHLIN                     NC     90014609259
83822698A5B183   BRYAN        HENDERSON                    AR     90015086980
8382295A472B33   MAIRA        MAGALLANES                   CO     90007839504
83823344A72B29   MARIALUISA   BANUELOS-GONZALEZ            CO     33008933440
83823A92776B97   VANESSA      FERNANDEZ                    CA     90015090927
83824639772B29   ALI          ABDELLA                      CO     90015146397
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1214 of 2350


83825174A97B38   RIGOBERTO      TRETO                      CO     90014611740
8382573919154B   TAMIKA         HUMPHREY                   TX     75003457391
8382574675B326   ANTON          MURPHY                     OR     90014027467
838257A847B445   JOUSHUA        WALTMAN                    SC     90009017084
8382655355B183   DOLORES        MELGOZA                    AR     23078485535
83826742A72432   SHEREE         BODVAKE                    PA     51025677420
8382677685B326   JORGE          ORTEGA                     OR     90008767768
8382725165B24B   LORRAINE       ROPER                      KY     90013472516
83827515197B3B   JESSIE         BRUSE                      CO     90007775151
83827A8A241275   KIRK           FOSTER                     PA     51048960802
83828861474B24   MICHAEL        FRLEIGH                    OH     90015318614
83828864772B62   TERESA         DURAN                      CO     90007188647
83828AA2A8B168   AARON          PACHECO                    UT     31098420020
838292A9491979   ANNETTE        DUKES                      NC     17026542094
83829AA5247822   TANGALIA       SHOATS                     GA     90007560052
8382B41A676B97   ANTONIO        GONZALEZ                   CA     90014254106
8382B426597B3B   JESSICA        GUTIERREZ                  CO     39077634265
8382B835197138   ALICIA         BARAJAS                    OR     44093318351
8383146A533698   JUANITA        LINDSEY                    NC     90015314605
838316A129154B   PATRICIA       MOTA                       TX     90011886012
83831A55672B62   ALEXIS         RODRIGUEZ                  CO     90012350556
83832153A47897   MARCHELL       MAXWELL                    GA     90013001530
83832587972B29   EARL           TOWNE                      CO     90014015879
838326A6197B3B   JESUS          ACEVES                     CO     39046286061
83833364297B3B   MELINA         SANTANA                    CO     39006823642
83833A6275B581   CELIA          NORIEGA                    NM     35061940627
83834123A2B956   JAMES N        SMITH                      CA     90006351230
838343A8371977   SAMUEL         GARCIA                     CO     90004203083
8383452335B326   AMBER          SWECKER                    OR     44530375233
83834A5668B163   LAWANDA        SEARLE                     UT     31024880566
83835221A41275   KAYIERA        SIRMONS                    PA     90014742210
8383574A461928   APOLONIA       FLORES                     CA     46083397404
8383635124B22B   RONNA          WATSON                     NE     27004403512
83836578A33698   JASMINE        CHEEK                      NC     90013945780
8383666A697B3B   ALEX           CHAVEZ                     CO     90013606606
83836AA7176B97   ROBERT PONCE   HERNANDEZ                  CA     90014840071
8383765AA97B38   ASHLEY         FEATHER                    CO     39061936500
8383853A291975   KRISTAL        ARMSTRONG                  NC     90011105302
83838683A97138   MARIA          HERNANDEZ                  OR     90012276830
83839812A91975   ALFRED         HOPKINS                    NC     90015118120
83839A8929154B   ALICIA         ALVIDREZ                   TX     75033490892
8383B237333698   JAMIE          GRAHAM                     NC     12093652373
8383B443371977   LINDA          ADAMS                      CO     38002664433
8383BA87772432   CINDY          DOUGLAS                    PA     90009110877
83841611297B3B   JAMES          HORNE                      CO     90007006112
8384173985B326   LUIS ALBERTO   PALACIOS DE LA ROSA        OR     90004827398
8384215515B594   RAEANNA        RAMIREZ                    NM     90006211551
8384237955B24B   VANESSA        SHIRCLIFF                  KY     68097983795
83844514397B38   CYNTHIA        MARTINEZ                   CO     90006655143
8384486865B523   CECILIA        SANDOVAL                   NM     35011678686
83844A7366194B   CHAVIRA        CHAVIRA                    CA     90000950736
83844AA899154B   DONATO         GONZALEZ                   TX     90012090089
8384535825B183   JUWANDA        DAVIS                      AR     90014033582
83845372472B29   LEONOR         FIMBRES                    CO     33058173724
83845A92A9154B   MARILOU        FRANCO                     TX     90014910920
8384653114B22B   NACHO          JIMENEZ                    NE     90012345311
8384728A351362   ADRISSA        BURKS                      OH     90011002803
83847329197B3B   JOSE           NOYOLA                     CO     39047883291
8384754A35B326   NICOLE         MACGEORGE                  OR     90007635403
83848429A6194B   STEPHANIE      BEAN                       CA     90013944290
8384845A741262   JENNIFER       MCPAUL                     PA     51061434507
83848A24872B33   DORTHEA        BEZJAK                     CO     33089960248
8384954A672B33   APRIL          BUENO                      CO     33080355406
8384971749154B   CARLOS         DELGADO                    TX     90013367174
8384986916194B   BRIAN          WILSON                     CA     46042668691
8384B198693771   AMY            BROWN                      OH     90013901986
8384B55784B296   RHONDA         FREEMAN                    NE     90001385578
8384B64A76194B   JANICE         GONZALEZ                   CA     46011626407
8385129372B271   KYLE           FENWICK                    DC     90002042937
8385129A433698   DERRICK        SILER JR                   NC     90008412904
838513A3A55945   ANGEL          MENDEZ                     CA     90010563030
8385156969154B   DARLENE        REYES-MILLER               TX     90011215696
838516A5597B38   NATALIE        SANDOVAL                   CO     90014156055
8385221749154B   ANA            ZACARIAS                   TX     90014182174
83852572697B3B   JOHN           MEYER                      CO     90009855726
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1215 of 2350


8385264A491837   VALENTE        CAMACHO                    OK     90014586404
8385313925B24B   CHARLES        WASHINGTON                 KY     68013881392
83853537A5B581   NORMA          TORRES-TORRES              NM     35098025370
838536A5491893   CARLA          JACKSON                    OK     90000966054
83854794A61928   ERIC           SANCHEZ                    CA     46082067940
8385515545B581   ARACELI        DAVIS                      NM     90000431554
8385559344B22B   STEPHANIE      ROMERO                     NE     27052785934
8385642A271938   TJ             CARPENTER                  CO     90014854202
8385735276197B   ERENDIRA       RODRIGUEZ                  CA     90007453527
83857369776B97   ROBERT         WAYNE                      CA     90014923697
8385756969154B   DARLENE        REYES-MILLER               TX     90011215696
8385776A597B3B   YANET          FRAGOSO                    CO     90013807605
83858169A33652   KEITH          MEADOWS                    NC     90014101690
83858462697B3B   JESSICA        ABEL                       CO     90014894626
8385886855B24B   LARRY          CUMMINGS                   KY     68068288685
8385914198B154   DILEON         LARRACUENTE                UT     90014041419
83859249997B3B   RAUL           GRANADOS                   CO     90014822499
83859412A54B4B   FLOR           BIZZO                      VA     90005354120
83859A32891975   JOSH           BUSHAW                     NC     90011000328
8385B25245B581   MIKE           ROCCO                      NM     90013472524
8385B267691837   NATASHA        WALKER                     OK     21084122676
8385B26AA41262   SEGUNDO        GERARDO                    PA     51056822600
8385B479897138   VIRGINIA       BAROCIO                    OR     90012314798
83861266297B38   KIMBERLY       GARZA                      CO     90014352662
83861392297B3B   MARCUS         GREENUP                    CO     90013703922
8386179A361928   NORMA          GONZALEZ                   CA     90011197903
83861A2AA91975   GLADIS         CARDONA                    NC     90002800200
8386289A233698   LAKEYA         LOVE                       NC     90008868902
83863247A2B271   JOSE EDUARDO   PEREIRA                    DC     90007312470
8386328A15B581   TANYA          ESTRADA                    NM     90005732801
8386345735B326   SILVERIO       GUZMAN                     OR     44554304573
838636A928B168   JOSE           ALONSO                     UT     90001176092
838636AA351341   AYAUNA         STEWART                    OH     90014066003
83863746176B65   MARIA          CARRASCO                   CA     46057307461
83863869172B62   AARON          BRADLY                     CO     90011078691
83863956197B38   MARTIN         SUAREZ                     CO     90014159561
83864158A51362   CHARMAINA      HADINS                     OH     66055431580
8386423A29154B   JESSICA        HERNANDEZ                  TX     90014182302
8386444A797B38   NORMA          NAVARRO                    CO     39043724407
83864621276B97   MARIANO        GONZALEZ                   CA     46085256212
83864A76497138   ADAN           RIVEROS GARCIA             OR     90014060764
8386572718B154   REANNE         TALLON                     UT     90010627271
838657A6497B3B   AARON          MEDRANO                    CO     90015137064
8386655A75B581   YANET          FLORES-TOBANCHE            NM     90006325507
83866728176B65   CHERYL         SPILLMAN                   CA     90013757281
83866A11855945   JON            CASON                      CA     90013000118
83867141676B97   JORGE          RAMIREZ                    CA     46065611416
8386846944B967   SHINIQUA       STROTHER                   TX     76588694694
83868A76471938   B. LEE         WICHMAN                    CO     32031130764
83868AA9691975   NACOLE         BULLOCK                    NC     90014320096
83869575A72432   SAMMY          LINCOLN                    PA     90013315750
83869936697B38   NARYOLI        CORTEZ                     CO     90011029366
8386B749533698   ANGEL          WILSON                     NC     90004837495
8386B878377537   NATHAN         DAVIS                      NV     90012378783
8386B931697B3B   CHANEL         JESMER                     CO     39005949316
83871431597B38   MARISSA        HEJDAK                     CO     90014164315
8387219A25B24B   JOSEPH         THOMAS                     KY     68090311902
83872519276B97   ANA RUBI       ANGUIANO CASTILLO          CA     90014115192
8387279442B236   ELMAHDI        AMAR                       VA     90001897944
838729A3676B65   LAURA          OREJEL                     CA     90013489036
8387375A69154B   OSCAR          IBARRA                     TX     90012497506
8387384195B233   TINA           WALKER                     KY     90009058419
83873934A61963   JESUS          CARREON                    CA     90007319340
83873A17597B38   KALEIEH        BECKER                     CO     90009280175
8387413818B154   SHAWN          WOODS                      UT     90014371381
838743A317B278   JOSEPH         DU MELLE                   NV     90012173031
838745A7651341   HELEN          BROTHERTON                 OH     66010645076
83874A32676B97   TUMINO         B                          CA     90006290326
83875A85172B29   TANYA          MARTINEZ                   CO     33028430851
83876978476B65   FABIOLA        MORENO                     CA     46056449784
8387712A597B3B   MATTHEW        JOHNSTON                   CO     90011071205
83877388272B33   RODNEY         CHAVEZ                     CO     90012133882
8387749A271938   ERIKA          SOTO                       CO     90009234902
838774A2A33698   MARCUS         STELLMACHER                NC     90002294020
83877987972B8B   ISABEL         MIRELES                    CO     90011049879
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1216 of 2350


838779A7476B97   ANGELINA       QUESADA                    CA     90011429074
83877A53772496   MEGAN          MIKSAN                     PA     90001770537
8387813245B326   ERIN           MCINTYRE                   OR     90012231324
8387838346194B   ALONSO         LANDEROS                   CA     90009243834
8387873247B34B   MARIO          FERNANDEZ                  VA     81011217324
83879568A51341   AURELIO        PALMA                      OH     66018595680
83879A67733698   DAWN           MCGINNIS                   NC     90014370677
83879A98131435   SHAREZ         SINGLETON                  MO     90013540981
8387B827297138   ANGELA         SANCHEZ                    OR     44093028272
8387B976451341   JO ANN         WHITT                      OH     90008629764
83881397172B62   RHONDA         RINKE                      CO     90009503971
83881A94147897   MICHELLE       USSERY                     GA     90005290941
8388229AA8B168   DENZO          TUPUOLA                    UT     90013752900
83882334A85856   BHARAT         DAGA                       CA     90006863340
838823A576194B   JAMEEL         PENN                       CA     90011973057
8388259577B349   MARCIO         MONCADA                    VA     81011705957
8388267433B354   EVANNA         AGUIRRE                    CO     90010826743
8388275648B829   SUMMER         VEGA                       HI     90013917564
83882A73685936   CHARLES        WRIGHT                     KY     67063160736
8388355555B581   ELIAS          GONZALES                   NM     90010245555
83883691A97B38   CRISTIAN       GONZALEZ                   CO     90014166910
83883A4225B139   TORI           COVER                      AR     23066580422
8388515678B163   ELENA          ZUNIGA                     UT     90009081567
8388539739154B   ARTURO         ZAPATA                     TX     75052363973
8388581685B326   BRITTANY       PATTERSON                  OR     90013358168
83885A3714B22B   JUSTINA        SANTOS                     NE     90002200371
8388679A947897   LOLITA         JONES                      GA     90013977909
8388695575B326   TERESA         BLANCO ORTIZ               OR     90014759557
83886A2168B168   SAM            HYDE                       UT     31008080216
83887826A5B24B   SHANNON        GRANZOW                    KY     90010818260
83888854572B33   CRISTINA       FINLEY                     CO     90014798545
83888A52171977   ALEXANDER      SENA                       CO     90014600521
838892A435B326   JEROMY ALLEN   NENDEL SNYDER              OR     90005972043
8388934A48B154   JONATHAN       SANCHEZ                    UT     90009263404
83889444897B3B   ANTONIA        BERNAL                     CO     39007274448
83889785672B29   JOHANNA        SIERRA                     CO     90004027856
8388992A572B62   DORIS          GONZALEZ                   CO     90013269205
8388B553671657   JOSE           MENDOZA                    NY     90015425536
8388BA76241275   DELBERT        FULLUM                     PA     90001840762
83891567A5B24B   MARKITA        SWAN                       KY     90014865670
838928A328B168   GERRIE         RICHARDSON                 UT     90014468032
8389293A172B33   ANGELINA       RUPP                       CO     90005769301
83893752572B29   MANUAL         BUSTOS                     CO     33089467525
838938A1441241   HOWARD         REID                       PA     90011278014
83894479676B97   ADRIANA        NEGRETE                    CA     90011974796
83894756A61928   ROBERT         GASTELUM                   CA     90012667560
8389492818B168   JOE            BURGDORFF                  UT     90013019281
8389575518B168   DIANE          HARRIS                     UT     31035287551
838957A9472B29   ELIER          CARRASCO                   CO     33043707094
83896548776B97   DAVID          ARNAL                      CA     46040325487
8389662A541275   SHANE          BILLS                      PA     90013926205
8389676285B24B   WESLEY         CECIL                      KY     90013167628
8389682499154B   CYNTHIA        RAMIREZ                    TX     90008758249
8389685336194B   BOBBY          MINER                      CA     90010978533
8389747844B22B   AMY            RASMUSSEN                  IA     27060224784
83897683376B97   ALEJO          HERNANDEZ                  CA     90000786833
838981A6661928   VICENTE        AMARO                      CA     90004911066
8389824985B326   FRANK          VIBOCH                     OR     44517152498
83898373772B44   CARLOS         ALVAREZ                    CO     90010013737
83898474597B3B   SHIRLEY        CARBAJAL                   CO     90011614745
83898828A77537   JUSOPH         ROSCOM                     NV     90012128280
83898976972B62   ANTONIO        LOPEZ JR                   CO     90013389769
8389986155B24B   CAROLYN        LESLIE                     KY     68013378615
83899A19297B3B   JASON          SPIVACK                    CO     90014190192
8389B131485856   ANTHONY        WITUCKY                    CA     46026781314
8389B8A5672432   JENNIFER       REED                       PA     51077868056
838B2276685936   ANNESHA        BAUTER                     KY     90000762766
838B252999154B   JOE            CHAVEZ                     TX     90012955299
838B28A7572B33   SARA           GARCIA                     CO     90002098075
838B2A23993726   LINDA          PATTERSON                  OH     64573160239
838B3231A47822   BRITTANNY      SMITH                      GA     90009932310
838B3526491979   NEPTALI        AVILEZ                     NC     90012165264
838B4196291979   SHARONDA       CARTER                     NC     17006851962
838B46A3476B97   SHAUN          BULLOCK                    CA     90015226034
838B4872484356   JAN            MEGGINSON                  SC     19080148724
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1217 of 2350


838B4A85191837   CALVIN             SILMON                 OK     21000020851
838B5512576B97   FELIX              PEREZ CRUZ             CA     90013365125
838B5738A41262   NICOLE             RIZZO                  PA     90010957380
838B6387672B33   MARIA              SOTO                   CO     90006063876
838B6493476B65   MARIA              LUISA PACHARDO         CA     90014904934
838B64A6976B97   ERELIS             VILLANUEVA             CA     90014774069
838B6818497B3B   JUAN ANTONIO       GARCIA                 CO     90012358184
838B6848151341   PATRICIA           HAMILTON               OH     90014818481
838B68A4755945   OLIVIA             BARAJAS                CA     49021368047
838B7536755934   JOAN               CAUDILLO               CA     49088785367
838B758A272B98   NICOLE             PLEMONS                CO     90013825802
838B7765455945   LIBERIO            AMAYA                  CA     90011897654
838B8A6418B168   CYNTHIA            FISHER                 UT     31051800641
838B8A6A547822   LADARRIUS          LOWE                   GA     90011440605
838B9558877537   MARCELA            PEREDA                 NV     90001205588
838B977974B22B   JUSTIN             HUTCHINSON             NE     27024267797
838B982268B154   DON                HILL                   UT     31036858226
838B9839471977   CHRISTINA          SMITH                  CO     90015218394
838BB228751362   TENIKA             WOODFORD               OH     90013412287
838BB36984B22B   SHEREL             HAGENS                 NE     90014883698
838BB457491975   TIFFANY CHERIE     ELDER                  NC     90002244574
838BB55346194B   ASHLEY             VARNEY                 CA     90012495534
839113AA371938   JASON              SACHINGER              CO     90014583003
83911625397B3B   MARIA              VARGAS                 CO     90006746253
839119A7791837   LYNN               NEWMAN                 OK     21074189077
83911A34461928   JOSE               AVENDANO               CA     90011060344
8391234A872496   SCOTT              SPRINGER               PA     90006033408
83912553A33698   SHANNON            CADENA                 NC     12010615530
83912676A71977   CRYSTAL            JACKSON                CO     90009996760
8391272659132B   MOBILE             FX INC                 KS     29007747265
83912859397B38   FERNANDA           BLANCO                 CO     39087168593
839136A469154B   TERESA             MORALES                TX     90007256046
8391387A58B152   OSCAR              SOTO                   UT     90006638705
8391392376194B   BEATRIZ            MEDINA                 CA     90011139237
83913A23A5B326   MARCO              MORALES                OR     90011540230
8391472A691975   MELESIO            PEREZ                  NC     90013407206
8391524A651336   SANDRA             OPPEL                  OH     90004992406
8391565A597B38   MARITZA            VALASQUEZ              CO     90012696505
83915A68191975   ISIDRO             ARROYO                 NC     90006600681
8391624A651336   SANDRA             OPPEL                  OH     90004992406
8391684534B22B   DAVID              RATHBURN               NE     27095748453
8391789AA5B326   ELMER              ROSA MARTINEZ          OR     90001808900
83917957876B97   MELISSA RACHELLE   DUARTE                 CA     90014989578
83917A54A47897   JENNIFER           ROBERTSON              GA     90014410540
8391824A75B581   MADRISIA           ENOSTROSA              NM     90010412407
839183A165B183   BENJAMIN           DUCK                   AR     90013113016
83919318897B3B   FRANCISCO          RUBIO                  CO     90015403188
8391955685B183   KRYSTAL            HOLMES                 AR     23051905568
8391974515B326   SELENE             ORTEGA                 OR     90014217451
83919A3275B581   RONALD             CHAVEZ                 NM     35005800327
8391B28288B163   LISA               RUNYAN                 UT     31067402828
8391B2A8291963   NANCY              MOORE                  NC     90000562082
8391B59735B183   LEOLA              JOHNSON                AR     23007905973
8391B99A89154B   ARTURO             HERNANDEZ              TX     75068019908
8391B9A1897138   JUANA              CRUZ                   OR     44014929018
839211A1485936   PHILLIP            BOAZ                   KY     67038141014
839217A8576B65   SANTIAGO           LEMOS                  CA     46000777085
8392211799154B   MEDINAJESUS        ALFONSO                TX     90010181179
83922756872B62   SHONA              DUCKETT                CO     33033587568
839227A9976B65   KELVIN             EKEKEUGBOR             CA     90014737099
83922875697B38   CLAUDIO            CERRILLO               CO     39041578756
8392289745B24B   GENEVA             CASE                   KY     90006778974
839232AA151341   CARLOS             GONZALEZ               OH     90012302001
83923858172B29   ALICIA             AGUILAR                CO     33003878581
83923869A71977   KYLIE              BICKFORD               CO     90012228690
8392399745B249   EBONY              DURIAS                 KY     90007859974
83923A4128B154   RENEE              PETERSEN               UT     90013120412
83924286A5B326   KELLE              JENSEN                 OR     90007892860
83924597272B62   JANETH             TREVIZO                CO     90013475972
83924AA389188B   DOROTHEA           PRATER                 OK     90008870038
83925575472B62   ADAM               BARAJAS                CO     90002195754
83925A19393771   NOEMI              REYES                  OH     64573770193
83926474872B23   MELISSA            BEEKMAN                CO     90007624748
83926A85655945   VANESSA            BARAJAS                CA     90008330856
8392752925B581   CHARDANAY          WOODS                  NM     90005545292
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1218 of 2350


83927937872B33   SHERRI          CARABAJAL                 CO     33065659378
8392869A433698   ERIKA           CRUZ DIAZ                 NC     90013966904
83928812997B3B   SHARON          ACTON                     CO     90007548129
8392882523B366   MELANEE A       HIGGINS                   CO     90008298252
83928A97631434   EUGENE          PERKINS                   MO     90001380976
83929721472B33   TYLER           BOYCE                     CO     90013437214
8392994512B271   TOMAS           ARIAS                     DC     81012859451
83929A26747897   JAMELA          SMITH                     GA     90009490267
8392B246191979   BILL            LAWTON                    NC     90013752461
8392B276677537   MONICA          RAMIREZ                   NV     90015012766
8392B56A25B326   TIA             SANDAGE                   OR     90003325602
8392B57422B271   TERESA          DUBARD                    DC     81018765742
8392B69A671977   ANNETTE         MUNIZ                     CO     90014626906
8392B769691975   ARLET           MANRIQUEZ                 NC     90013257696
8392BA66993771   TAVIONNA        HALL                      OH     90014840669
8393125A85B326   TRACY           BRUSSEAU                  OR     44573142508
8393163A372432   JOHN            MOELLER                   PA     51083996303
839318A618B163   NATHAN          DUMAS                     UT     90005318061
83932539A72B33   JORGE           PEREZ                     CO     90013065390
839329A1972432   INEZ            ARDILLETZ                 PA     90014149019
83932A86251363   NANCY           OBRIEN                    OH     90012030862
8393331AA61928   MARIA           ESCALANTE                 CA     90011113100
8393336475B354   SIRGUT          TADESSE                   OR     90003263647
8393366428B191   TIMOTHY SCOTT   DAVIS                     UT     90014786642
8393387A585856   ALEJANDRA       MONDIN GONELLA            CA     90010378705
83933A7988B191   SCOTT           DAVIS                     UT     31083110798
8393478875B24B   KAREN           MAGUIRE                   KY     90014647887
83934869172B33   COX             CRYSTAL NATASHA           CO     33030928691
8393487725B183   TERESA          WILLIAMS                  AR     23086388772
83934A11997B3B   HUGO            OLMEDO                    CO     90010200119
8393569A39154B   MAYRA           PEREZ                     TX     90010026903
83935A45391975   GARY            SARTOR                    NC     90010210453
83936249272B33   ALMA            VILLALOBOS                CO     90011912492
83936945397B3B   ANDREA          GARCIA-GARCIA             CO     39077749453
8393765752B243   ADOSHIA         FLYTHE                    DC     90011006575
8393796A391837   WILLIAM         WISE                      OK     21042089603
83937A6145B326   MARIA           TEREZA                    OR     90013170614
8393888948B154   MARIA           ORDUNA                    UT     90002878894
8393943A291975   SILKE           MONBARREN                 NC     17091574302
83939739A4B22B   DENISE          DUNCAN                    NE     27096057390
83939849376B65   IRENE           RODRIGUEZ                 CA     90005048493
8393988A197138   TAMISHA         MOORE                     OR     44078448801
8393996975B356   ALIM            ABDUL-JABBAR              OR     90003029697
8393B81575B183   MIKE            ENGELMOHR                 AR     90010168157
8393B998371977   JACOB           ROMERO                    CO     90013689983
8394248818B154   ROBERT          GARNER                    UT     31038634881
8394338A15B581   CHRISTY         MINTON                    NM     90013473801
83943527672B29   MABEL           CAMEZ ORTEGA              CO     90011505276
8394355A75B581   YANET           FLORES-TOBANCHE           NM     90006325507
8394398183B361   GUADALUPE       SOLORZANO                 CO     90010079818
83943A21733691   MELISSA         DENNIS                    NC     90001830217
83944683372B62   VALERIE         ORTIZ                     CO     33017046833
83945163A33661   ERICKA          CULLINS                   NC     90015001630
8394522455B183   DESIREE         DOZIER                    AR     90010262245
8394583A751362   CHRISTOPHER     BLOCK                     OH     90005268307
83947112397B3B   KATHERINE       WEIMER                    CO     39006961123
83947398A72B62   TOM             VALDEZ                    CO     90009503980
83947547676B65   JOSEFINA        CRUZ                      CA     90001005476
8394776124B22B   CLYDE           VAUGHAN                   NE     27052207612
8394791586194B   BONISHA         DEANE                     CA     90003219158
83947A6A571977   SHANA           SMITH                     CO     38045670605
83948231672B29   JOSEPHINE       CUNNINGHAM                CO     90001562316
83948358A6198B   SANDRA          BORJA                     CA     90006003580
8394855A177537   JOSE            ALVAREZ                   NV     43089915501
8394879965B326   MARK            WALKER                    OR     90013887996
83949133372B29   JEFFERY         BARNHARDT                 CO     90010091333
8394941425B581   EDWARD          FERNANDEZ                 NM     90013474142
8394B1A5376B65   MANUEL          MALFAVON                  CA     90014861053
8394B4A6261928   MARY            RESENDIS                  CA     90014734062
83951339A2B271   CESAR           ROBLERO VELASQUEZ         DC     90008463390
8395135477B472   LAKICIA         MUNDLE                    NC     90005963547
8395179AA47822   SHONTERIA       HAMILTON                  GA     90013127900
83952139997B38   LIBERTY         SEALE                     CO     90007421399
83952374476B65   ISABEL          GONZALEZ                  CA     46079103744
83952435472B62   DAVID           ARGUELLO JR               CO     33051914354
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1219 of 2350


8395295715B24B   SEAN         GRANBERRY                    KY     68025669571
83952A13133698   JAMI LEE     HUDSON                       NC     90013950131
83952A34777537   BARCIMEO     PANTALEON                    NV     90011910347
83952A92871977   RICARDO      OROZCO                       CO     90013540928
8395386399376B   JORDAN       MOSLEY                       OH     90011488639
83953A13747897   RAVEN        ALLEN                        GA     90015140137
83953A49A8B154   AMABELA      BEZERRA                      UT     90001250490
8395441425B581   EDWARD       FERNANDEZ                    NM     90013474142
839547A7997B3B   THOMAS       BARTH                        CO     39044197079
83954965272B33   ARTURO       CASILLAS                     CO     33011159652
8395528A79154B   JACOB        GOMEZ                        TX     90011502807
839552A916194B   ROBERT       ATES                         CA     90002822091
839561A3697B3B   JUAN         TOVAR                        CO     90014601036
83956458372B62   CRUZ         GARCIA                       CO     90000454583
8395698856194B   SONIA        REUSCH                       CA     46018939885
83957247A51341   PEDRO        AYALA                        OH     66053902470
83957814197B38   BECCI        PAYNE                        CO     39035038141
8395858466194B   ABBEY        GONZALEZ                     CA     46060265846
839585AA461928   AMY          HOLMES                       CA     90006785004
839586A7A91242   YULONDA      KENNEDY                      GA     14514766070
839587A718B168   CHARITY      HOPKINS                      UT     31044617071
83959AA4261951   JIM          CROWELL                      CA     90002950042
8395B161285856   ANDRES       ALDERTE                      CA     90011931612
8395B733A5B326   MEGAN        PARSON                       OR     44508717330
8395BA28633698   OSCAR        TATE                         NC     90005010286
8396168789154B   LILIA        SOLIS                        TX     90009256878
839621A7372451   ANASTASIA    HIBBS                        PA     90010121073
839631A2572432   JAMIE        STUDT                        PA     90010331025
83963734297B3B   MARGARITA    GAMBOA                       CO     90013667342
8396395974B999   CHARLOTTE    DOUGLAS                      TX     90004069597
83963A59797B38   DENISE       ZAMORA                       CO     90014180597
83964473A6194B   EFRAIN       GONZALEZ                     CA     90013944730
8396476169154B   ALEXIS       RIVERA                       TX     90005217616
8396529189154B   EMILIA       MENDOZA                      NM     90014182918
8396574944B22B   DOROTHY      DROZ                         NE     27098387494
8396622A15B581   ROSA         YOUNGER                      NM     35098912201
8396661A793771   JERY         JACKSON                      OH     64504436107
8396685368B168   SERENA       POMEROY                      UT     90014068536
83966889A91979   ANA          ARAUZ-GARCIA                 NC     90012818890
83967771376B97   RUBICEL      ANTONIO                      CA     90000187713
83967A1575B24B   MARGARET     DUVALL                       KY     68051540157
8396837564B22B   MIGUEL       GONZALEZ                     NE     90011143756
8396839118B163   ROBERT       DRUCE                        UT     31007703911
8396868515B568   LESLIE       CARLETON                     NM     90002216851
83968A97371938   NICOLE       MCCAY                        CO     90013890973
8396924415B581   PAOLA        JAQUE                        NM     90011262441
83969454376B97   ALBERTO      SIMON                        CA     90013054543
8396989878B168   ZACARIAS     VILCHIZ                      UT     90008008987
839698A2576B97   ALBERTO      SIMON                        CA     90014308025
8396998A16194B   VERONICA     CASTRO                       CA     46087199801
8396B361A72B62   ASHLEY       SPAULDING                    CO     90008653610
8396B513333698   WENDI        JUSTUS                       NC     90015305133
8396B51A776B97   NESTOR       CAMACHO                      CA     46068275107
8396B88634B22B   KRYSTAL      BRITTON                      NE     90004188863
839725A2251341   DIANNA       HOWINGTON                    OH     66018605022
83973511197B3B   LAURA        MEDINA                       CO     39045145111
83973A8366194B   KIMBERLY     FERNANDEZ                    CA     90014100836
83974222397B38   SALLY        SIFUENTES                    CO     90014182223
8397464A98B168   ANGELA       MERRILL                      UT     31088116409
8397479785B121   NIKESHIA     BAKER                        AR     90014997978
83974A13341275   GLADIUS      COLEMAN                      PA     90014400133
8397543367B448   CAROLYN      JONES                        NC     11027174336
8397566AA97B3B   JENNIFER     FREEMAN                      CO     90014286600
8397595974B999   CHARLOTTE    DOUGLAS                      TX     90004069597
83976475772B29   GLORIA       SABEDRA                      CO     90009134757
8397661774B22B   MARIO        URIEL ORTEGA                 NE     90012766177
8397679555B183   BRYANTQ      THOMAS                       AR     90014787955
839769A2391979   ELSA         LINARES                      NC     90013239023
8397795575B326   TERESA       BLANCO ORTIZ                 OR     90014759557
8397813726194B   KAREN        GOMEZ                        CA     90012911372
8397817378596B   PAUL         MATEYOKE                     KY     67087481737
83979637A77537   ALEJANDRO    MARTINEZ                     NV     90013696370
83979765797B3B   JASON        MALES                        CO     90001807657
8397B1A638B168   JENNIFER     HYMAS                        UT     90011311063
8397B221761928   RUBEN        CORONA                       CA     90009082217
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1220 of 2350


8397B82455597B   JUAN          PEREZ                       CA     90001618245
8398169A433698   ERIKA         CRUZ DIAZ                   NC     90013966904
8398171336194B   JAZMIN        RIVAS                       CA     90013367133
8398195892B256   DONNA         DURANT                      DC     90004899589
83981AAA177537   JOLENA        AVERA                       NV     43087570001
83982399372B62   FELISHA       GOMEZ                       CO     33086423993
839829A4197138   KARLA         ENCISO                      OR     90014459041
8398349335B24B   THOMAS        OUTLAW                      KY     90013564933
83984151876B97   DIOCELINA     GARCIA                      CA     90014861518
8398419985B275   BRITTANY      HANCOCK                     KY     90011231998
8398422148B154   JUAN CARLOS   PAZ                         UT     90003192214
8398425A897B3B   OSCAR         VASQUEZ                     CO     90014052508
8398428A655945   MOISES        ALTAMIRANO                  CA     90007892806
83984352997B38   ANTONIO       VARELA                      CO     90014183529
8398478575B581   KALEE         RANEY                       NM     90015087857
839847AA372432   ROBERT        LEWICKI                     PA     90014167003
83985135772B62   JEOVANNY      LOPEZ                       CO     90012871357
8398559765B183   KEISHA        BOWERS                      AR     90005245976
83985828676B97   STEVE         CALDERON                    CA     90013038286
839866AA676B97   DANIEL        HENDERSON                   CA     90012336006
8398741126194B   EDUARDO       TAMAYO                      CA     46081574112
8398745168B154   LATOYA        FOOTRATER                   UT     90009594516
8398758AA2B271   ANDRE         ROBERTS                     DC     90002045800
8398799A951362   TONYA         JOHNSON                     OH     90013119909
83988116197B38   MARIA         GONZALES                    CO     39094591161
83988137A5B532   TIMOTHY       ALDRICH                     NM     35020761370
83988989172B33   TAMEKA        BRIGHAM                     CO     33013789891
83988A14A41275   ENRIQUE       GARCIA                      PA     90013520140
83989799172B62   ROSSANO       FISHER                      CO     33096097991
83989AA974B22B   ROBERT        SYVERTSON                   IA     90014800097
8398B184997B38   VICTORIA      VILLEGAS                    CO     90012971849
8398B539172B62   MATHEW        PUGH                        CO     33012155391
8398B638851362   MARIDON       SMITH                       OH     66000496388
8398B948A98B34   ARACELIS      DELACRUZ                    NC     90012129480
8398BA4315B581   ANGEL         CHRISTINA                   NM     35013310431
839916A298B168   CORDELL       ADAMS                       UT     90013766029
83992984A97B38   JOSEPHINE     HERNANDEZ                   CO     90008449840
8399318478B168   PATRICK       TROXEL                      UT     31015291847
8399429925B326   CHRISTOPHER   LOFGRAN                     OR     90014802992
83994779772B29   LORRIANE      ARMIJO                      CO     33001157797
83994A72193771   ROGER         THOMAS                      OH     90014560721
839952A8797B51   MIKE          MCFADDEN                    CO     39091282087
83995756472B62   JENNIFER      DONALDSON                   CO     90010997564
83995A6655B326   KELLY         SCOTT                       OR     44501360665
8399629268B168   JOSH          RODRIGUEZ                   UT     90014122926
83996366772B33   MARGARITA     GARCIA                      CO     33005103667
8399653895B271   KANDICE       WILLIAMS                    KY     90013565389
8399696699154B   AMANDA        CORREA                      TX     90014309669
83996A38572B29   IRMA          MARTINEZ-SANTIAGO           CO     90000460385
83997881676B97   JUAN          ARROYO                      CA     90013038816
8399859A285936   MARTHA        WAOBWELA                    KY     90013735902
839985A896194B   JOHN          FORTUNE                     CA     90013945089
8399896419152B   JENNIFER      STOCKMAN                    TX     90007979641
8399B111633698   SHERIKA       MORRIS                      NC     90013951116
8399B189761928   BRITTANY      POSTER                      CA     90012481897
8399B893872B33   GERARDO       REYES                       CO     90000918938
839B1367285856   SHAWN         PORTER                      CA     46065173672
839B1564A72432   JORDAN        RANEGAR                     PA     90014155640
839B164A347897   LAMISHA       SMITH                       GA     90012376403
839B199395B326   JESSICA       BROWN                       OR     44534589939
839B259936194B   LORRIE        MARSHALL                    CA     90012495993
839B2941741275   JORDAN        BROOK-GRAHAM                PA     90011959417
839B3251433698   PERRY         HOWRARD                     NC     90009162514
839B328824B22B   TINA          MCFARLAND                   NE     27093762882
839B4519572B33   DAVID         GARCIA                      CO     33062145195
839B5219691837   PATRICIA      SIMER                       OK     90011772196
839B541A691979   ROBIN         MARENCO                     NC     90013004106
839B5752655945   ADRIANA       HERNANDEZ                   CA     49009737526
839B5827697B38   MANUELA       DELUNA LOPEZ                CO     39085568276
839B584675B326   JESSE         WILSON                      OR     90015138467
839B6274272B8B   GILES         HEIDY                       CO     90009092742
839B6654347822   NINA          PARKER                      GA     90011216543
839B716378B159   PHILLIP       SCALES                      UT     90009591637
839B732595B326   ERIKA         ZINACA TEOBAL               OR     90011653259
839B778549186B   JAHBLESSUM    SANTIAGO                    OK     90010717854
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1221 of 2350


839B8337577537   GAYLE               BAILEY                NV     43056533375
839B8566455997   MARIA D CERVANTES   VALENCIA              CA     90004365664
839B9584A91975   EMANUEL             DIAZ JUAREZ           NC     90013675840
839B996415B581   MANUEL              ORTIZ                 NM     90014879641
839B99A958B154   DEVIN               ALLEN                 UT     90014909095
839BB25358B168   CHAD                ELLIS                 UT     31096982535
839BB25A85B326   TRACY               BRUSSEAU              OR     44573142508
839BB59A151362   CAROLYN             HAMILTON              OH     90000835901
839BB683855945   ANTONIO             RODRIGUEZ             CA     90012556838
839BB912651341   BRANDI              BECKER                OH     66076979126
83B11411472B62   PAULINE             ZUKE                  CO     33084324114
83B121A7777537   BRYAN               BLACK                 NV     90009661077
83B13489A6194B   JANNELY             RUIZ                  CA     90013924890
83B13535155945   ERIN                ROBERTS               CA     49079805351
83B136A154B22B   TWILA               GRANT                 NE     90014126015
83B13768371938   JENNIFER            MANDEVILLE            CO     90013197683
83B13865177537   ANNA                BLANCHETTE            NV     90011368651
83B13A68672B29   LORI                BARENBERG             CO     33042140686
83B1413339154B   LEYRETH             GARCIA                TX     75048801333
83B14439797B3B   LINDSAY             SALAZAR               CO     39032614397
83B15197476B65   ALEJANDRA           RIVERA                CA     90013381974
83B15361591979   JAMES               ESTEBAN CRUZ          NC     90015023615
83B15493A6194B   JOSE                CIPRIANO              CA     90013924930
83B15694893771   TIFFANY             ADAMS                 OH     64560726948
83B16339372B29   ANGELICA            TRUJILLO              CO     33087863393
83B16425672432   KARRICO             PARHAM                PA     90012784256
83B164A2971938   SETTLE              CORZETTA              CO     90001894029
83B16632847897   MELINDA             MOTEN                 GA     90013336328
83B168A5391979   HOPE                GILL                  NC     90012828053
83B16954877537   JOSE                GONZALEZ-BURCIAGA     NV     90014599548
83B16A6A99154B   ALAN                CORREA                TX     90005590609
83B17323A71938   CAULINE             ARMSTRONG             CO     90014713230
83B1739794B22B   ANA                 GLORIA LUVIANO        NE     90010633979
83B1778615B342   JEFFREY             MINTEN                OR     90001207861
83B1799265B254   KARRI               MUELLER               KY     90012209926
83B18179133698   PETER               VILLELLA              NC     90014851791
83B1833414B22B   JOSE                CAMOPOS               NE     27052023341
83B18569741262   BETTI               EACKLES               PA     51097165697
83B19252772B33   FRANKI              HALL                  CO     33097092527
83B19284997B3B   LUIS                ESTRADA               CO     39063002849
83B19382191979   WANDA               LAWRENCE              NC     17001713821
83B19522851341   ELISA               RUTHERFORD            OH     66005155228
83B1963A577537   WAITE               CORY                  NV     90013796305
83B1994A997B38   FRANSICO            PUENTES               CO     90012989409
83B19A49271977   MONICA              REYNOLDS              CO     38072910492
83B1B784455945   NADINE              CLEVENGER             CA     49089697844
83B1BA51197B3B   JENNY               TORRES                CO     39039380511
83B2115499154B   CHRISTOPHER         SANTIBANEZ            TX     90014771549
83B21324933698   CHARLIE             BROWN                 NC     90013923249
83B21354797B38   ALISHA              AGUILERA              CO     90008533547
83B2161A776B97   THOMAS              HARRIS                CA     90012786107
83B22363191979   DAVID               HAILE                 NC     90014303631
83B2245345B183   BOBBIE              SMITH                 AR     90015534534
83B226A3755945   ROSELIA             BRISTER               CA     90012346037
83B2276685B183   LATANYA             WEAR                  AR     90011057668
83B2278675B326   COREY               PREAS                 OR     90011057867
83B227A5431953   ROBERT              ROLING                IA     90014027054
83B2285766194B   LIZBETH             MORALES               CA     90009978576
83B22887A47822   MALIKA              APPLEBERRY            GA     90014108870
83B22AA6897138   ABIGAIL             CERVANTES             OR     44096200068
83B23158472432   DANIEL              KLEIN                 PA     90014151584
83B23632741263   HEATHER             JACOBS                PA     90012036327
83B237A5576B97   NORMA               RAMOS                 CA     90009937055
83B24255871977   JOSHUA              ARMENTA               CO     90000832558
83B24273172B29   MELISSA             GENTRY                CO     90006202731
83B24631772B62   GERARDO             SOTO                  CO     90010996317
83B24682931661   JEFFREY             MERRY                 KS     90001596829
83B2484236194B   ALICIA              MARTINEZ              CA     90007568423
83B24986297138   ROGELIO             SANTIAGO GASPAR       OR     90012219862
83B25118891975   ANGELA              BROWN                 NC     90004001188
83B25172447822   KELIAN              COLLIER               GA     90009711724
83B25199291979   MICHELLE            HOOD                  NC     17007671992
83B2551A391975   KEVIN               PATTERSON             NC     90012205103
83B2582719154B   LEONEL              LOYA                  TX     90014168271
83B25A94776B97   FLORENCIO           CERVANTES             CA     90013350947
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1222 of 2350


83B26333797B3B   RAMONA        ORTIZ                       CO     90014323337
83B26752391837   CHRIS         ROACH                       OK     21011427523
83B26977733698   VANESSA       MORALES                     NC     90013929777
83B26A37547897   DEBORAH       GARY                        GA     90009140375
83B26A7174B22B   TIFFANY       VISOCKY                     NE     27088570717
83B26A88772B62   THERESA       SILVA                       CO     33042060887
83B27312841275   THOMAS        JEFFRIES                    PA     90013653128
83B2739A155945   CHRISTOPHER   ALVARADO                    CA     90012653901
83B279A5672B29   GERARDO       GOMEZ                       CO     33024239056
83B27A87797138   JUSTIN        PHILLIPS                    OR     90014550877
83B2813215B326   ELVIA         RODRIGUEZ MACIA             OR     90012911321
83B28262885856   SHANNON       RUDOLPH                     CA     90010702628
83B2859222B256   WILLIAM       CHANDLER                    DC     90005465922
83B287AA18B168   CANDICE       BIRD                        UT     90014467001
83B28897851341   LAKISHA       RICKS                       OH     66017468978
83B28999561928   MA ISABEL     ESPINOZA                    CA     46064839995
83B2925188B154   MANI          TUAITANU                    UT     31095382518
83B29516777537   LAUREN        MEYER                       NV     90006845167
83B2956122B271   TYNESIA       MCCRAY                      DC     90002145612
83B2967855B183   NATASHA       JONES                       AR     90014236785
83B29773591837   HEATHER       KEY                         OK     90011737735
83B29821293771   KADISHA       DAVIS                       OH     90005328212
83B29957776B97   RAUL          CASTILLO                    CA     90007589577
83B29966A2B256   CHARQUITA     MORRIS                      DC     90004839660
83B31178477537   TONY          DAVIDSON                    NV     43006601784
83B3132473148B   JAMES         WORTHAN                     MO     90001963247
83B31917A41262   JOSEPH        GREGORICH                   PA     90002509170
83B32183371977   MICHAEL       ARELLANO                    CO     90014131833
83B3245279154B   LILIANA       MARTINEZ                    TX     90009914527
83B32681472B29   TODD          GOANS                       CO     90010276814
83B3286295B326   MILTON        EIDSON                      OR     44577028629
83B33353355945   JACIEL        BOBADILLA                   CA     49064763533
83B3378A397138   TYLER         COLEMAN                     OR     44086967803
83B33875672B29   MAI           LO                          CO     90012248756
83B34135972B33   SONJA         VILLALOBOS                  CO     90007021359
83B34365A5B183   JERMAINE      SMITH                       AR     23073963650
83B343A835B581   OMAR          GONZALES                    NM     90014903083
83B34982985856   STEPHEN       HERN                        CA     90013179829
83B35639755945   FEDERICO      GARCIA                      CA     90013696397
83B35734931651   JOSUE         RIVAS                       KS     90002597349
83B35918157128   EDUARDO       RODRIGUEZ                   VA     90008539181
83B3594965B326   FLOR          PATTERSON                   OR     90011269496
83B36659772432   ANGELA        RIGGIN                      PA     90009026597
83B37168272B33   JOSHUA        JOHNSON                     CO     33054471682
83B37261133698   BRENDA        DORSETT                     NC     12007002611
83B37472976B97   KELEY         SORCORAN                    CA     90013864729
83B37594993771   MIKE          SMITH                       OH     90010005949
83B377A2641262   MELISSA       ZECKOWSKI                   PA     51074467026
83B37928A5B326   ABEL          DE LA CRUZ                  OR     44517049280
83B38218297B38   JERI          NICHOLS-PARK                CO     39006272182
83B3884947B485   STEPHANIE     REID                        NC     90005258494
83B38934A33698   ANDREA        CLYBURN                     NC     90013149340
83B38A3A572432   TAKEEYA       MORRIS                      PA     90005380305
83B39198A71938   ALICIA        CORONADO                    CO     90011131980
83B39489171938   RONALD        CULLEN                      CO     90012834891
83B39998193771   MARK          GRAY                        OH     90002569981
83B3B2A3451362   TERESA        HATTON                      OH     66096012034
83B3B454193771   JESSICA       KAVANAGH                    OH     64594344541
83B3B462391525   CLUDIA        HERNANDEZ                   TX     90001894623
83B3B59454B967   MARTIN        GUERRA                      TX     90007105945
83B3B719461928   DANA          TOLBERT                     CA     90014427194
83B3B97398B168   ALEJANDRA     MENDOSA                     UT     90004039739
83B41176876B97   JESSICA       MORA                        CA     90012471768
83B41862771938   ANDREW        SURENDRANATH                CO     90004868627
83B41A29633698   ESTEBAN       RODRIGUEZ                   NC     12048580296
83B41A98472432   JEA           ALSTON                      PA     90013420984
83B42682177537   ANTHONY       WILKERSON                   NV     43090356821
83B4296989154B   EMMANUEL      VASQUEZ                     TX     90003079698
83B4324358B168   CARRIE        WRIGHT                      UT     90002742435
83B43476761928   MACEDONIO     GONZALEZ                    CA     46092764767
83B43527933698   ELIZABETH     HARVILLE                    NC     90012645279
83B43621197B3B   GABRIEL       WAGNER                      CO     90014196211
83B43744251341   JENNIFER      BURNS                       OH     90008427442
83B4383599154B   FRANCISCO     GALINDO                     TX     90014168359
83B4436485B183   LARREASHA     ADAMS                       AR     90012593648
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1223 of 2350


83B44657347822   TERRON         JOHNSON                    GA     90011936573
83B44767197138   MARK           WEATHERS                   OR     44031247671
83B4482842B256   BRYAN          SIMMS                      DC     81056938284
83B44933161928   CAR            PROS                       CA     90013109331
83B44A49671977   TIFFANY        GARCIA                     CO     90015150496
83B4534238B168   RUBEN          SANCHEZ                    UT     90013093423
83B4543895B326   CARMEN         PINEDA                     OR     90013744389
83B4545A761977   GRACE          PIANO                      CA     90007374507
83B454A7633698   DWAYNE         HOWARD                     NC     90014814076
83B45863A51341   JOSEPH         FOSTER                     OH     66095728630
83B46537997138   RENESSA        LOPEZ                      OR     90012735379
83B466A5955945   DANIEL         MELTON                     CA     49000266059
83B4687169154B   MARCOS         VELA                       TX     90009798716
83B4738A55B326   MATHEW         SMITH                      OR     90014563805
83B47551872B62   DANNI          CONNOLLY                   CO     33007855518
83B47679961928   GORDON         BROWN                      CA     90014156799
83B47A79371977   CHARLES        BROWNE                     CO     38054190793
83B48564171938   JUANITA        RUIZ                       CO     90000415641
83B48585191975   PAYGO          IVR ACTIVATION             NC     90010675851
83B48752391837   CHRIS          ROACH                      OK     21011427523
83B48879572B62   JESSICA        REUTER                     CO     90014998795
83B49255397B3B   GUADALUPE      AVALOS                     CO     90010132553
83B4953A35B581   RICHARD        ARCHIBEQUE                 NM     90014775303
83B4965768B168   LUIS           TORRES                     UT     90011276576
83B49981133698   AUDREY         WATKINS                    NC     12088129811
83B4B25A751341   ROBIN          CAYTON                     OH     90014152507
83B4B712141262   JEFFREY        CORDESCHI                  PA     51034647121
83B4BA4A35B326   ISIDRO MIG     RAMIRERZ RENDON            OR     90009820403
83B51269372B33   JOHN           BLACKSON                   CO     90011802693
83B5188988B168   TIM            HOUCK                      UT     90015048898
83B51A72A51362   ERIC           MCCNEIL                    OH     90014160720
83B525A478B154   FREDDY         GARZON                     UT     31061045047
83B52663993771   EMILEE         PARTEE                     OH     64526066639
83B5334628B154   JOHATHAN       SHOEL                      UT     90014083462
83B5339A972B62   OLGA           CHAVEZ                     CO     90005693909
83B53538941262   TYRONE         JOHNSON                    PA     51000535389
83B53665997138   SELENA         DAVIS                      OR     90010546659
83B537A2A55945   NELSON         SEBRA                      CA     90009537020
83B53AA1276B97   TINA           YERS                       CA     90012340012
83B5453A35B581   RICHARD        ARCHIBEQUE                 NM     90014775303
83B54578376B65   STEVE          BELISARIO JR               CA     90013255783
83B54652972B31   CRISTINA       JIMENEZ                    CO     90012316529
83B54685A71977   JON            CLINE                      CO     90013626850
83B5554AA76B97   KAREN          WILKINS                    CA     46058025400
83B55653151362   BILLIE         ROSE                       OH     66087866531
83B5577278B168   MICHAEL        SALLAS                     UT     90009467727
83B55AA545B326   LAUREN         TILLMAN                    OR     90010610054
83B5625497B635   TANEEKA        JENKINS                    GA     90015122549
83B571A2551362   DIANA          ANDERSON                   OH     90010951025
83B5733232B271   EMANUAL        MANZANARES                 DC     90006493323
83B57358447822   DONNIE         SWINT                      GA     90014843584
83B57411533698   BENJAMIN       RENTERIA                   NC     90013924115
83B5744774B22B   TIFFANY        ATKINS                     NE     90002564477
83B57732491837   DAVID          TREVINO                    OK     21004147324
83B57855755945   GABRIELA       LARADEPEREZ                CA     49011548557
83B57861A72496   CINDY          MILLER                     PA     51092438610
83B5839499154B   NIRIA IVETTE   MORALES                    TX     90005033949
83B5867915B581   OTERO          LIN                        NM     90004296791
83B5874214B546   EMMANUEL       ALLISON                    OK     90014777421
83B58894991979   MARINA         MEJIA                      NC     90007908949
83B593A2493771   CARL           BENEFIELD                  OH     64507793024
83B59591951336   MARKAYLA       TAIT                       OH     90012785919
83B596A2797B38   JAKE           HANKLE                     CO     90012876027
83B5986415B139   RUBY           PETTUS                     AR     23018118641
83B59927551362   ALEAH          BOSTICK                    OH     90010559275
83B5B18779154B   SERGIO         HUTCHINSON                 TX     90011411877
83B5B295397B68   MANUEL         MORENO                     CO     33017852953
83B5B336877537   RODOLFO        NAVARRO JACINTO            NV     43085563368
83B5B3A928B154   CHAVEZ         AUGUSTO                    UT     31053323092
83B5B412A76B65   GUADALUPE      BARRALES                   CA     90013094120
83B5B539376B97   DANIELLE       BOTELER                    CA     90001495393
83B5B54725B326   KAREN          HIER                       OR     44559345472
83B5B59328B168   LORENA         BENITES                    UT     31012225932
83B5B88595B24B   BRIAN          ROE                        KY     90002798859
83B5B931261928   JOHN           CASSINERI                  CA     90010739312
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1224 of 2350


83B61169576B97   JUSTINO       CRUZ                        CA     90006341695
83B6127365B581   ANTHONY       HURBINA                     NM     90013132736
83B61459197B3B   CANDI         JOHN                        CO     90008294591
83B61681A41262   CHARLES       MATOUS                      PA     51060076810
83B616A385B326   SCOTT         MALONE                      OR     44516736038
83B61743976B65   JAMES         JOHNSON                     CA     90014127439
83B61791533698   BERTHA        THOMAS                      NC     90015187915
83B6189438B163   SANDRA        CORREA                      UT     90013628943
83B61A72A51362   ERIC          MCCNEIL                     OH     90014160720
83B62225855945   TROY          SMILEY                      CA     90009982258
83B62278A93771   MAHDI         AHMAD                       OH     90014222780
83B6288915B326   GUADALUPE     ARCOS                       OR     44519798891
83B62889933698   STEPHANINE    ARTIS                       NC     90010728899
83B6321A36194B   LUCIA         GARCIA                      CA     90008182103
83B637A3997B3B   SAMUEL        CANALES                     CO     90014067039
83B63911197B38   THOMAS        WORRALL                     CO     39000139111
83B63A17372432   NATHAN        HUFFMAN                     PA     90001440173
83B64175A71938   JAE           CHO                         CO     90014751750
83B648A3761928   GINA          SMITH                       CA     90006148037
83B65175831664   CAROL         KIRKWOOD                    KS     90006191758
83B65569161928   MARTH         CRUZ                        CA     46083855691
83B658A3471964   GIDEON        VAUGHN                      CO     32055238034
83B65A4A69154B   MIREYA        FREE                        TX     90002680406
83B662A3791975   SHANNON       JONES                       NC     90013242037
83B6674559154B   SYLVIA        CASTILLO                    TX     90011197455
83B66A76647897   JANICIA       HARPER                      GA     90015180766
83B6728195B139   PENNY         SPANGLER                    AR     23029422819
83B67358241262   DALORA        BURTON                      PA     90010953582
83B674A7772B29   HACI ALI      YILMAZ                      CO     33083754077
83B67598897138   COLON         SANTIAGO                    OR     90006785988
83B67A22233698   MOISES        MORALES                     NC     90013930222
83B6821425B326   SALLY         BOWDEN                      OR     90008112142
83B68236A55945   JENNFER       HOLLAND                     CA     90011242360
83B68353672B29   EVELYN        CANDELARIA                  CO     33039723536
83B68436471938   BRIANNA       WEATHERLY                   CO     90012644364
83B6874456194B   NORMAN        SCOTT                       CA     90011517445
83B68A35A8434B   CONNIE        HICKMAN                     SC     90010380350
83B69189677537   ROY           ARVIN                       NV     43076541896
83B69281591979   DOMINIQUE     KING                        NC     90010652815
83B6931A176B65   NELL          STARR                       CA     90013603101
83B6978315B326   DWIGHT        GALLIPEAU                   OR     90015287831
83B6991486194B   JAMAINE       CAPELL                      CA     46048459148
83B69925293771   DANNETTA      IVERY                       OH     90013839252
83B6B879591975   SAMYIA        TAFIRENYKA                  NC     90012028795
83B6B994171924   DEVON         JONES                       CO     90009149941
83B6BA4295B326   LISBETH       BARAJAS                     OR     90012920429
83B6BA43491837   KEENAN        BYRD                        OK     90013020434
83B71198441262   CALISSA       CUMMINGS                    PA     90002351984
83B71557744B3B   JUSTIN        MACHLING                    OH     90012695577
83B723A8372B33   JEREMIAH      TOPPING                     CO     90012413083
83B7281A85B183   AMBER         NICHOLE                     AR     90014908108
83B72983272496   CHRISHELLE    MCCANDLESS                  PA     51073929832
83B72A3145B252   CURTIS        JOHNSON                     KY     90010010314
83B73359172B33   BRIAN         NALL                        CO     33012663591
83B73486672432   JOSHUA        JIMENEZ                     PA     90014014866
83B73A28641262   PATRICIA      MCLINDON                    PA     90006630286
83B74332772496   MITCHEL       KISER                       PA     90002733327
83B74411651341   DINA          SHEPARD                     OH     66052204116
83B74483191975   TIMISHA       SPRINGER                    NC     17000824831
83B74488A71977   SANDRA        STEPHENS                    CO     90012984880
83B74619597B38   CHRISTOPHER   GRIEGO                      CO     90014836195
83B7485A772B33   STEVE         MARTINEZ                    CO     90008438507
83B74865672B29   JOHN          KOCH                        CO     33013328656
83B7556AA6194B   CARMEN        DOMINGUEZ                   CA     90009765600
83B7575A372432   EDDIE         MOSS                        PA     51043777503
83B76212685936   LAVONNE       BYRDSONG                    KY     90005662126
83B765A7893771   RYAN          THOMPSON                    OH     90013755078
83B76913771977   MIKE          BAIER                       CO     38000029137
83B7694755B326   DENEKE        OKSENHOLT                   OR     90006469475
83B77952977537   SANDRA        COOK                        NV     43005079529
83B7798A641262   MANDIE        HARRISON                    PA     90003409806
83B7834126194B   EILEEN        DONES                       CA     46078613412
83B7836495B24B   DOMONIQUE     BRYANT                      KY     90002953649
83B78533797138   WES           JONES                       OR     44076545337
83B79261391992   LAUREN        FURGESON                    NC     90012792613
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1225 of 2350


83B7956565B581   REYANON       OLDFIELD                    NM     90011895656
83B79713585856   PHILLIP       NOLAN                       CA     46014697135
83B79921841262   AMANDA        POWERS                      PA     90008089218
83B79A45761928   DARREL        DARGUE                      CA     90013770457
83B7B229376B97   JAIME         ZAVALA                      CA     90012102293
83B7B28A136121   FELISSIA      GARZA                       TX     90011662801
83B7B366597138   GABRIEL       GISH                        OR     90014723665
83B7B64495B183   DEIRDER       JAMES                       AR     90014356449
83B7B747176B65   NABOR         HIDALGO                     CA     46012987471
83B7BA69297B3B   ROSA          BENITES                     CO     90014450692
83B81181741247   MACI          MAXWELL                     PA     90011591817
83B81656541275   SANDRA        SCOTT                       PA     51039116565
83B81784561928   FIDEL         RUANO                       CA     90004067845
83B81953655945   BARBARA       VELASQUEZ                   CA     90012409536
83B81962751341   NIA           CARTER                      OH     90002979627
83B8219358B168   WENDY         GRAY                        UT     90010251935
83B8226299154B   MARIBEL       URDAIBAY                    NM     75018772629
83B82651393771   NICOLE        ESKEW                       OH     90012496513
83B83136497B3B   CHUCK         MAI                         CO     90011041364
83B8324955B326   LINDA         CARDENAS                    OR     90008112495
83B8333478B829   MERLYNDA      ARDOS                       HI     90014393347
83B83398133698   DOMINIQUE     JOHNSON                     NC     12086673981
83B83657391979   DONALD        SMITH                       NC     90010666573
83B83889776B97   EVA           SOLANO                      CA     46048978897
83B83998584351   TINA          EDGAR                       SC     90007239985
83B83A77751362   GIAVANNII     HARRISON                    OH     90014160777
83B8447244B22B   ARNOLDO       GALVAN DUENEZ               NE     90015094724
83B84965377537   MARISSA       CHAVEZ                      NV     90003389653
83B84A83193771   MARTHA        SAUNDERS                    OH     90013470831
83B8517738B168   PEDRO         MARTINEZ                    UT     90014971773
83B85357984351   JACQUELINE    SMITH                       SC     90008303579
83B8551634B27B   JUDITH        MALLORY                     NE     27002925163
83B8553A18B154   TY            COLYAS                      UT     31075645301
83B857A6772B62   CHRISTOPHER   WEBB                        CO     90015157067
83B862A2241262   AMI           GLASS                       PA     51024722022
83B86374272496   FRED          FRICKS                      PA     51094113742
83B8678332B94B   PATRICIA      HERNANDEZ                   CA     90012547833
83B872A3241262   TAMARRA       GOODWINE                    PA     51004772032
83B87354297B3B   KATLYNN       WENZ                        CO     90013703542
83B87364972B29   CHARLES       INTOSH                      CO     90015143649
83B8744557B489   RICKY         HUNTSINGER                  NC     90004344455
83B87517947822   ANGELA        IVEY                        GA     90014155179
83B87762676B65   LETICA        ORANTES                     CA     90014467626
83B879AAA5B568   DANIELLE      QUESADA                     NM     90002799000
83B88168191879   MISCHELE      DENTON                      OK     90007151681
83B88258391975   MARIA         CARRILLO                    NC     17076042583
83B88613A91837   TREY          LOWERY                      OK     90014606130
83B88627676B65   DAVID         CASTILLO                    CA     90004176276
83B88A5318B154   CHRISTOPHER   CHEENEY                     UT     90013360531
83B8947676194B   MACEDONIO     GONZALEZ                    CA     46092764767
83B897A2655945   SOCORRO       CRUZ LOPEZ                  CA     90006487026
83B8B6A5341262   CHRISTINE     BLALOCK                     PA     90003506053
83B8B6A755B326   PHILLIP       CLOUD                       OR     90008456075
83B8B71A847822   SHEMIKA       ROSS                        GA     90014587108
83B8B836271924   SCARLETT      LATKA                       CO     90002698362
83B9134614B22B   JULES         UPDIKE                      NE     27025983461
83B91512372B29   JANICE        CHEA                        CO     90007845123
83B91657671938   CHRISTINE     HANES                       CO     90012036576
83B91964297138   SERGIO        ESTRADA MARIA               OR     90015169642
83B9243974B22B   JASON         STEINBERG                   NE     27095604397
83B92719776B45   IBANEZ        ELBER                       CA     90007697197
83B9318474B22B   BRANDAN       COLLIER                     NE     90001381847
83B93253576B97   CYNTHIA       PETERSEN                    CA     46087972535
83B93359741275   COREY         SICKLER                     PA     90007753597
83B9343392B256   JUNE          KING                        DC     90011024339
83B93464333698   BRITTANY      LAWRENCE                    NC     90013454643
83B93A31772B33   FRANCISCO     CERON                       CO     33088520317
83B94314A51362   SANDY         MARCUM                      OH     90003203140
83B94374191975   CLARISSE      MATERANYA                   NC     90013403741
83B9459424B967   WILLLIAM      STEWART                     TX     90007255942
83B94644547822   TOMARROW      REED                        GA     90014986445
83B94877572B98   ISAIAS        CORTEZ                      CO     33097968775
83B95588372B62   GIOVANNI      DADDIO                      CO     33076435883
83B9589A341275   JAMES         SERAFIN                     PA     90011768903
83B9591A776B97   EVA           CRUZ                        CA     90008559107
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1226 of 2350


83B95A24751341   ADRIANA        MIRANDA                    OH     90007240247
83B95A8474B583   MARGUERTITE    POLLOCK                    OK     90012400847
83B96372672B62   JEREMY         CORDOVA                    CO     90015133726
83B96749661928   JEAN           DIAWARA                    CA     90013967496
83B967A7A8B168   EVELYN         PETERSON                   UT     90014847070
83B96957847897   LAMITE         POLLARD                    GA     90013829578
83B96A76671657   QUISE          CUSTOM                     NY     90012970766
83B97238A55945   NORMAN         BALDWIN                    CA     49083752380
83B97243691979   HUGO           NAVARRETE                  NC     90012802436
83B9734829154B   SERVELLON      DE LA ROSA                 TX     90009033482
83B975A5741275   DAN            GARDENER                   PA     90015095057
83B9768815B24B   JAMIE          NEELY                      KY     90013856881
83B976A5147822   TERMAN         HOGUE                      GA     90014156051
83B97A32391979   NATIVIDAD      CASTILLO                   NC     90010490323
83B98613647822   RODRIGO        MORALES                    GA     90014156136
83B9873596194B   DAWN           BORANGRADETH               CA     46050067359
83B9882295B581   LOPEZ          OLGA                       NM     35048508229
83B98A1195B24B   ALISHIA        PAYNE                      KY     68082380119
83B98A41385936   TONY           PATTERSON                  KY     67019650413
83B99548776B97   JOSEFINA       MEDINA                     CA     90001615487
83B99653191979   GARRETT        BRITT                      NC     90001286531
83B9987A851357   CRYSTAL        LANDRUM                    OH     66093898708
83B9B21815B24B   CANARY         LYNN                       KY     90008522181
83B9B83A62B256   SHEWON         WILLIAMS                   DC     90005148306
83BB1274761928   LIYEN          HSU                        CA     90012522747
83BB133779154B   SHELBY         DELGADO                    TX     90013113377
83BB156744B22B   MANDY          FREDERIKSEN                IA     27085345674
83BB1587891837   JC             MATLOCK                    OK     90014485878
83BB1A3A271977   AJ             TORRES                     CO     90012090302
83BB244584B22B   ROBERT         GALVAN                     IA     90001914458
83BB2587891837   JC             MATLOCK                    OK     90014485878
83BB299A351341   PATRICK        BESSLER                    OH     66042279903
83BB3638151531   NATHAN         MANN                       IA     90014226381
83BB3986233698   DAREN          JONES                      NC     90012079862
83BB3A43897138   STEPHEN        ESTRADA                    OR     90014180438
83BB3A82791975   MICHAEL        CORDELL                    NC     90013600827
83BB421A785856   ALEX           ROANO                      CA     46055882107
83BB4428A9154B   WILLIAM        KINDERMAN                  TX     75098804280
83BB4518291837   KAREN          LAMBERSON                  OK     90015075182
83BB4789897B3B   ANGELA         KENKEL                     CO     39059717898
83BB4A77872B62   CHERRI         ANN AGUILAR                CO     33085820778
83BB5492333B32   BRANDON        LAWRENCE                   OH     90013944923
83BB5672476B65   JOSE           ESTRADA                    CA     90010996724
83BB6333A91979   VIRGINIA       MACON                      NC     90010693330
83BB63A9876B65   MARIA ESTHER   PAVON                      CA     90008633098
83BB6527885936   DEBBIE         SPENCER                    KY     90010935278
83BB6928171977   ANDREA         VALDEZ                     CO     38062839281
83BB7788541262   STEPHEN        FAZIO                      PA     90014727885
83BB7845591523   JOSE           LOERA                      TX     90010788455
83BB785189154B   CLAUDIA        GARAY                      TX     90009128518
83BB7993872B29   BRIAN          EADS                       CO     90012959938
83BB851288B169   JANICA         GILBERT                    UT     90006375128
83BB8613841275   SUZANNE        ASKINS                     PA     90012086138
83BB8767647897   BETTY          PERLOTE                    GA     14085387676
83BB8796876B65   SARA           JACQUELINE TURCIOS AVILA   CA     90014607968
83BB8834776B97   EUGENIA        SALGADO                    CA     46067328347
83BB898467B349   WILLIAM        ARGUETA                    VA     90007649846
83BB8A76771938   MELISSA        PINDELL                    CO     90006080767
83BB9519755945   JOSH           BRANTLEY                   CA     90010145197
83BB9569741262   BETTI          EACKLES                    PA     51097165697
83BB9695651362   TIM            DOOLEY                     OH     90012526956
83BBB62A997138   SONYA          SANTOYA                    OR     90005276209
83BBB639151341   ERICK          CARRERO                    OH     90013236391
83BBB64858B168   SHAQUANNA      JOHNSON                    UT     90014716485
83BBB995147822   RAVEN          DUMAS                      GA     90014099951
8411168A472B62   BETH           KRAMER                     CO     90009876804
841117A592B998   KLARA          KHOSHABA                   CA     90010937059
8411199898B167   KIMBERLY       MCDONALD                   UT     90005999989
84111A22755971   MARIA          DE JESUS PEREZ             CA     49028410227
8411243319154B   ANTONIO        GOMEZ                      TX     90013984331
84113166A97138   MARY           BAKER                      OR     90006071660
8411335A451362   KENNETH        ALDRIDGE                   OH     66049883504
841133A462168B   DAVONTE        SHOCKLEY                   OH     90014603046
84113499797B3B   ANISSA         PAYNE                      CO     90012464997
8411365A651333   ROB            STAGGE                     OH     90007586506
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1227 of 2350


84113676876B97   PETER         KIMMEL                      CA     90013846768
8411397A191837   JONATHAN      MINNABARRIET                OK     90013739701
84114244772B62   MICHELLE      KAPPEL                      CO     90007302447
84114AA437B379   JOSE ERIC     RIVERA                      VA     90008160043
8411574325B581   SONIA         OCHOA-ESTRADA               NM     90008827432
84115788A4127B   JAMES         JONES                       PA     51041477880
841167AAA33698   SYLVIA        BURGESS                     NC     12025117000
8411717374B569   BLAINE        MAGILL                      OK     90015211737
8411717635B183   MARY          ROSE                        AR     90011521763
84117237372B33   QUETO         CORCHADO                    CO     90011452373
8411739AA91837   SHALAMENA     WILLIAMS                    OK     90010983900
8411831A871977   LEOPOLDO      VASQUEZ                     CO     38000983108
8411855A647897   HEATHER       SIBLEY                      GA     90014995506
8411897658B168   PAUL          RUDD                        UT     90001529765
8411954115B139   JOHN          YOUNG                       AR     23008335411
84119553A91979   ANGEL         CHAVEZ                      NC     90000555530
84119714997B38   GREGORY       TRUJILLO                    CO     90002527149
8411B133A8B643   PAUL          ROBONSON                    TX     90015091330
8411B24A981667   ANDY          HARDEN                      MO     90013062409
8411B714572B29   MARISSA       RAMIREZ                     CO     33021537145
8411B923885936   VANESSA       WEBB                        KY     90013539238
84121339297B38   JAVIER        LOMA                        CO     39061003392
841221A2951362   AARON         MILLIGAN                    OH     66001821029
841238A1372B29   ADAM          JAMES                       CO     90011038013
84123919A5B581   JAMIE         IVR SERANO                  NM     90006179190
8412517AA81677   JAMIE         MONTEZ                      MO     90007891700
8412521534B569   PAIGE         DIXON                       OK     90008792153
8412651A591975   DELORES       TERRY                       NC     90013305105
84127146697B38   ROGELIO       DIAZ                        CO     90014791466
84127211272B62   ANDREA        FELTMAN                     CO     33059672112
8412742A297B3B   DONASIAN      OCHOLA                      CO     90003014202
84127482272B29   GERALD        WIDHALM                     CO     90007054822
84127914297B98   SAMANTHA      YANT                        CO     90011579142
8412861149154B   LEONOR        ESTRADA                     TX     90010296114
84128AA4233661   MARY          HARDEE                      NC     90011090042
8412913645B24B   EDDIE         LUDWICK                     KY     90010451364
8412943279154B   ADRIANNA      TREVIZO                     TX     90013834327
8412949588B168   LORI          NAVARRO                     UT     31001044958
8412975166194B   JESUS         LUIS                        CA     90005217516
8412989628B168   KRISTY        ASHBY                       UT     31080548962
8412B284697B3B   JEANNETTE     BAKER                       CO     39034592846
8412B39225B24B   HECTOR        GONZALEZ                    KY     90015463922
8412B39A64B967   KEVIN         BAPTISTE                    TX     90005553906
8412B46689154B   JAZMINE       GRACIA                      TX     90005184668
8412B736976B97   RAMA          ANTONIO                     CA     90000327369
8413124978B154   SHAMICHAELL   REMBERT                     UT     90013492497
84131481697B3B   MARIA         GUILLEN                     CO     90010334816
8413162228B154   SHAMICHAELL   REMBERT                     UT     90010366222
8413181219712B   JOELLA        OATMAN                      OR     44046448121
84131822572B62   MONICA        PALACIO                     CO     33056018225
84132146697B38   ROGELIO       DIAZ                        CO     90014791466
8413217792B28B   TIESHA        COLEMAN                     DC     90010611779
8413233868B168   CHYLYNN       OGBORN                      UT     90007083386
84132478297B3B   NOEL          MONTOYA                     CO     90011904782
84132A52A5B183   DEVAN         MAY                         AR     90007070520
8413321484125B   ASHLEY        KINGS                       PA     90010732148
8413338122B28B   ANTIONETTE    ASANTE                      DC     90011723812
8413495A297B3B   MARIA         MORENEO                     CO     90008149502
8413521444B967   ARTELIA       KELLY                       TX     90003712144
84135786A4B569   BRANDI        BYNUM                       OK     90010347860
84135A2595B24B   PAYGO         IVR ACTIVATION              KY     90015480259
84136317A91979   ROBIN         ARKER                       NC     90011623170
8413657672B28B   JARMAL        BENABOE                     DC     90012385767
84136979797B3B   ADAM          ROBBINS                     CO     90004609797
8413735986B191   ROY           WILLISON                    MS     90010663598
8413736A171977   LEE           ALBERT                      CO     90010013601
8413773759154B   LUIS          VELAZQUEZ                   TX     90004877375
8413823418B154   GRICELDA      CASTILLO                    UT     31042102341
8413889458B168   ONEDA         ANORVE                      UT     31000678945
841391A1272B29   MERY          SANTACRUZ                   CO     33004901012
8413926169154B   BRENDA        TELLEZ                      TX     90014272616
84139597A97B3B   MARY          SAENZ                       CO     39091535970
841397A8251577   JEFF          DAVIS                       IA     90015037082
8413B591447897   COROVON       COBB                        GA     90014835914
84141173572B33   JEREMIE       TWO ELK                     CO     33083951735
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1228 of 2350


84141452797B38   LYNAIA        HOGAN                       CO     90011364527
84142243A91837   ASHLEY        HAMMER                      OK     90014552430
8414224A172496   STACEY        ZIERENBERG                  PA     51051242401
8414244A177537   ELSA          CAMACHO                     NV     90000264401
8414291A55B581   GRANT         WILLIAMS                    NM     35014099105
8414343869154B   DIANA         BUTTREY                     TX     90013834386
8414344838B154   MARTHA        ORTIZ                       UT     90002654483
8414353585B183   LONNIE        OLDHAM                      AR     23083955358
84143811697B3B   MARK          PFEFFER                     CO     39014988116
84143876A91975   DEDRIC        JONES                       NC     90001678760
84143A9124B569   CARLA         GABRIEL                     OK     90009880912
8414414134B569   JESSE         KEENUM                      OK     90014911413
84144A9A976B97   LORENZO       MONTOYA                     CA     90013250909
8414557628B171   STEVE         PERSCLS                     UT     90004435762
84145A33572B33   IRVING        QUEVEDO                     CO     90012350335
84146163297B3B   LORETTA       MICHAUD                     CO     90013751632
8414625796194B   RODOLFO       SANCHEZ                     CA     90015162579
84146649A72B98   JULIE A       MOORE                       CO     90006396490
84146822A8B154   CHRISTOPHER   KIMBALL                     UT     90015288220
84146853341B86   ANDY          MORRISON                    MD     82052538533
84146A84597B3B   CASSANDRA     ARGUELLO                    CO     90004020845
8414746224B569   KEERY         CRAWFORD                    OK     90015194622
841477A6361934   CORTEZ        VANESSA                     CA     90006777063
8414784995B581   DELIA         MARTINEZ                    NM     35087638499
8414859365B24B   DONTAY        MASON                       KY     68036715936
84148A2178B168   MARIA         DE LOURDES                  UT     31099360217
84149159A77537   WILLIAM       MARTINEZ                    NV     43000461590
8414918A851325   GREGORY       WILHELM                     OH     66094421808
84149447172B29   VANESSA       HOFFMAN                     CO     90012374471
841497A6361934   CORTEZ        VANESSA                     CA     90006777063
8414B54444B22B   DANITA        CARROLL                     NE     90015105444
8414B561A72B29   ALBERTO       GUTIERREZ                   CO     33062665610
8414B8A386194B   ROBERTO       CERVANTEZ                   CA     90009118038
84151486A97138   DONNA         WATKINS                     OR     44028094860
8415182A741262   JUDITH        IVERSON                     PA     90014838207
84151A2585B382   LUIS MANUEL   GARCIA                      OR     90012620258
84151A35A61928   DEREK         PATTON                      CA     90015000350
84151A6A697B3B   JUSTIN        WATSON                      CO     39057780606
8415224534B22B   PATRICIA      ROMERO                      NE     90006332453
841527A696194B   GABRIEL       SANDOVAL                    CA     90014177069
84152838872B29   THOMAS        WATTERS                     CO     33070408388
8415323535B24B   SONIA         HEAD                        KY     90011442353
84153726A61934   ENRIQUE       COTA                        CA     46084887260
8415378568B154   NIVO          AQUINO                      UT     90013967856
84154745972B33   TERRY         COWLEY                      CO     33030637459
84154781872B62   JANELLE       BIANCHI                     CO     90002927818
841547A6161928   LEAH          CROSTHWAITE                 CA     46061927061
8415532196194B   SHANNON       SHADOAN                     CA     90006103219
8415543154B569   SANDRA        DILL                        OK     90014614315
8415611A56194B   ALBERTO       HIRALES                     CA     46095851105
84156141A85936   BRADLEY C     CHAMBERS                    KY     90013501410
8415643869154B   DIANA         BUTTREY                     TX     90013834386
8415649745B581   MARTHA        RODRIQUEZ                   NM     90010574974
84156567A4B569   WILLIE        NASH                        OK     90014575670
8415679358B154   ELSABET       ARDADI                      UT     90013967935
8415699145B183   LEE           PARKS                       AR     90010859914
84157193597B3B   JENNIFER      JACKSON                     CO     39013051935
84157589672B62   MARISELA      VARGAS                      CO     33086255896
84158229672B29   EVER          FLORES                      CO     90003322296
841589A5597B38   KORI          MORSE                       CO     39096619055
841592A1271977   CATHERINE     MARTINEZ                    CO     38063822012
8415B373A61934   LAURA         TEJEDA                      CA     90008623730
8415B4A3A71977   TABATHA       MESTAS                      CO     90009634030
8415B67149154B   ORALIA        SOTO                        TX     90004366714
84161653A8B154   CHANTE        LOBATO                      UT     90013716530
8416187A272B62   ROY           SANTILLANES                 CO     90004498702
841624A3491837   STEPHANIE     DOBBS                       OK     21002254034
841626A5576B97   LUEL          TEGABU                      CA     90006206055
84162A26872B62   CORDOVA       SADIE                       CO     90009200268
8416317A851362   ALICE         BARFIELD                    OH     90014741708
8416347547B473   KALEM         JHONSON                     NC     90012804754
8416361855B24B   NICOLE        CRAWFORD                    KY     90014756185
8416374114B569   ANA           JIMENEZ                     OK     90014857411
8416379752B28B   AANDRE        ROBINSON                    DC     90013417975
84164237276B65   JASEN         TARBET                      CA     90013732372
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1229 of 2350


84164A64941275   CALVIN       MORTAN                       PA     90004180649
8416512344B569   ALEX         OXLAJ                        OK     90014761234
84165231872B33   LETICIA      VARGAS                       CO     33092022318
84165533876B97   ZEFERINA     CASTILLO                     CA     90009815338
84165A84797B3B   ALBERTO      MANCINAS                     CO     90009070847
841661A258B823   TELIROSE     LUTHER                       HI     90014911025
8416631A185856   PEPPARD      LAURAN                       CA     46032523101
8416641724B569   JONATHAN     RODRIGUEZ                    OK     90014604172
84166797297B3B   KORENA       GAMINO                       CO     90012827972
8416696865B24B   MISSY        HUME                         KY     90009089686
841671A115137B   GURTHA       CHAPMAN                      OH     90011691011
84167379A5B24B   STEPHANIE    OQUENDO                      KY     90013083790
8416743869154B   DIANA        BUTTREY                      TX     90013834386
8416745686194B   JOSE         SUASTEGUI                    CA     90010844568
8416757742B237   MOISES       CRUZ SALMERON                DC     90006705774
8416829394B569   WILLIE       BRYAN                        OK     90008522939
84168691297B38   DUSTAN       HAHN                         CO     90014796912
84169A11361928   KATRINA      THORPE                       CA     46006570113
8416B33554B22B   STEVE        ROSS                         NE     27029753355
8416B719551362   EDITH        HOTAN                        OH     90014737195
8416B915461928   DEWONE       WOODS                        CA     90011579154
8417123994B22B   NELI         ORTEGA                       NE     27082342399
84171286A72B29   JORDAN       ELLIOTT                      CO     90014462860
8417182A172B33   JUANITA      GARCIA                       CO     90013478201
8417278282B94B   JOE          CRISWELL                     CA     90007787828
841729A7693771   CARLOS       REYNOSO                      OH     64573869076
8417318485B581   JUAN         URVINA                       NM     90003191848
8417333588B159   CHRISTINE    BASSETT                      UT     90009413358
8417379775B183   KIARA        ROBERSON                     AR     90013597977
8417416325B24B   HANNAH       DAVIS                        KY     90013311632
8417449745B581   MARTHA       RODRIQUEZ                    NM     90010574974
84174555272B62   SANDRA       FLANAGAN                     ID     33081565552
84174745697B3B   DAWN         SUSZKA                       CO     39000967456
8417512725B246   MICHAEL      FRYBERGER                    KY     90006791272
84175556497B3B   ALEXANDER    KUNZIE                       CO     90012975564
841767A8984356   SWANKERIA    JENKINS                      SC     90014817089
8417698144B577   THOMAS       KENNEDY                      OK     90006509814
84177153A4B22B   SALLY        PENIX                        NE     90013791530
8417856226194B   ANDREW       HOLMGREN                     CA     90013775622
8417869329154B   JESUS        GARCIA                       TX     90004366932
8417869675B183   NEKA         LYNETTE                      AR     23073596967
841786A3897B38   JOHN         GILLILAND                    CO     90014806038
84178813272B62   COLLEN       HONOMICHL                    CO     90003358132
8417888A89154B   ALEJANDRA    OROZCO                       TX     90013858808
84178963A31625   MIKE         RICH                         KS     90012529630
8417B749593771   ROBERTA      JAUDON                       OH     90007397495
8417B877361928   KEISHA       WALLACE                      CA     90013208773
841811A4472B62   VALERIE      COATS                        CO     33096031044
841813AA333B26   MIGUEL       RALIOS                       OH     90014503003
8418157559154B   SALVADOR     GONZALES                     TX     90014525755
84181A89593771   JASON        SHERMAN                      OH     90009470895
8418335764B569   TYSHAUNA     WALKER                       OK     90015133576
841834A5A72B29   SERINA       GALLEGOS                     CO     90012954050
8418389A485856   CATHI        CAMERON                      CA     90005978904
84183A59A91975   TYRONE       SMALL                        NC     90003670590
84184A15297B3B   ADAN         RUEDA-DURAN                  CO     39047220152
84184A9AA85936   FRANCES      ARROYO                       OH     67017880900
8418543A876B97   JORGE        ARIAS                        CA     90013924308
8418625895B24B   JAMES        LOGSDON                      KY     90000742589
8418642A293771   GYPSYROSE    SIPE                         OH     64508024202
841867A127B496   LISA         HAWKINS                      NC     90013447012
8418747A391979   CIERRA       GIDDENS                      NC     90007224703
841875A7272496   JOHN         BURTOFT                      PA     51056275072
8418829A67B329   TRACY        LEWIS                        VA     90014412906
841886AA441262   LACEY        BAUER                        PA     51004466004
84188A48A41262   SAMANTHA     STEP                         PA     90014900480
84189484197B38   PALOMA       NEAVEZ                       CO     90014144841
8418949416194B   ANDREA       MIRANDA                      CA     90011124941
8418996236194B   ANDREA       MIRANDA                      CA     90014409623
84189A11597138   TYLER        COLVIN                       OR     90005090115
8418B415872B28   BARBARA      QUEZADA                      CO     90007554158
84191471872B29   BARBARA      JOY                          CO     33061794718
84191A98171956   NAZARIO      CACERES                      CO     90003290981
84192277397B38   CLUADIA      VAZQUEZ                      CO     90000342773
84192564472B33   KIMBERLY     ELLISON                      CO     90013415644
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1230 of 2350


8419257718B168   JORGE        ESTRADA                      UT     31098475771
841932A288B163   ERNESTO      SALAS                        UT     31077632028
841939A7285936   ANTWAN       JACKSON                      KY     90013149072
84194315576B97   JAVIER       ALAVEZ                       CA     90012963155
84194439A72B29   JENNIFER     SIMMONS                      CO     33042074390
84194629397B38   SYLVIA       GUTIEREZ                     CO     90000766293
8419465214B569   TIMMY        HUTCHENSON                   OK     90010626521
8419471A793771   JUSTIN       COTTON                       OH     90013217107
8419476A191242   WILLIE       MCKINLEY                     GA     14573117601
8419547284B569   WILLIAM      BUTKUS                       OK     90008524728
8419635A54B259   JACK         CARMAN                       NE     27079593505
8419647A185856   STEPHANIE    BARRETT                      CA     90012204701
8419696A161921   LEEDINO      ANASTASI                     CA     90008029601
84196A1A18B168   WILLIAM      KEITH                        UT     90014230101
84196A55797B3B   ROLANDO      MENDOZA                      CO     90015610557
8419747479154B   AUBREY       FRANCIONE                    TX     90014364747
8419842832B271   ANELA        ALTAMIRAMDA                  DC     90010424283
84198A63997B3B   DIANA        VIOLA                        CO     90014360639
8419959339132B   DIANE        CHAVEZ                       KS     29007515933
8419B197851349   TERRICKA     PETERSON                     OH     90011441978
8419B1A243B347   KEVIN        SCARDINA                     CO     90003101024
8419B75495B183   CANDACE      JONES                        AR     90014427549
8419B7A4161928   ERIC         RAMIREZ                      CA     90002467041
8419B85238B154   TIMOTHY      SCHLEY                       UT     90013238523
841B1574676B97   OLGA         SANCHEZ                      CA     90006605746
841B1938771977   JESSE        JARAMILLO                    CO     90014759387
841B1A57972B29   KIMBERLY     SMITH                        CO     33065840579
841B2442247853   CHASITIE     HART                         GA     90002654422
841B2552361934   RAUL         RIVAS                        CA     90011665523
841B276895B24B   ASIA         HICKS                        KY     90011407689
841B282A75B229   LINDA        BARRETT                      KY     90013738207
841B292368B154   LEE          CRUZ                         UT     90009919236
841B312A45B183   DANIELLE     FISHER                       AR     90013081204
841B3231471977   BOBBIE       GUTIERREZ                    CO     90012292314
841B3A57A85936   CHARLES      BROWNING                     KY     90004670570
841B3A72797B38   JOHN         MAGADAN                      CO     39081690727
841B4316276B97   AUSTIN       GOODRICH                     CA     90013843162
841B44A8197138   CONLEY       GRABOTIN                     OR     90011034081
841B4765193739   NATHAN       SCOTT                        OH     90004397651
841B483684B569   SHAVON       GORDON                       OK     90008698368
841B5187271977   JOE          ESQUIBEL                     CO     90003121872
841B5288185936   CHRISTOPHE   COX                          KY     90000782881
841B52A4A72B33   JOSEPH       GREENEMEIER                  CO     90013872040
841B548846194B   ABEL         LOPEZ                        CA     90013934884
841B5582793771   TARA         SPEIDEL                      OH     64550545827
841B566A54B569   CHRISTAN     GONZALEZ                     OK     90014946605
841B578248B163   KRISTEN      MCMILLAN                     UT     31097877824
841B5788A91975   WILLIS       PEREZ                        NC     90012467880
841B6378472B29   EDWIN        VENTURA                      CO     90004783784
841B665328B168   IVA          RIVEROS                      UT     31042546532
841B6778377537   SILVIA       ELIZABETH                    NV     90007697783
841B691825B24B   AARON        JEFFERSON                    KY     90014599182
841B6A58493771   MARSHA       ROSE                         OH     64535410584
841B7138347897   PAYGO        IVR ACTIVATION               GA     90012281383
841B7675397B38   LINDA        MCHALE                       CO     90014796753
841B782326194B   SANDRA       RUFFIER                      CA     90010668232
841B8369271977   TYANA        RANGEL                       CO     38012863692
841B8657872B29   TRINIDAD     OLIVAS                       CO     90009556578
841B8735572B33   ANGELIA      ULIBARRI                     CO     90011497355
841B9158276B97   JOSE         CORTES                       CA     46097751582
841B933A48B168   ADOMINIC     VERSLUIS                     UT     90014473304
841B9814285856   COLIN        LARSON                       CA     90013938142
841B9963391837   DORA         RAMOS                        OK     90008989633
841BB367672432   KATHY        BUGAILE                      PA     51012123676
841BB978241275   MIKE         ACIE                         PA     90014489782
841BBA81332551   MANUEL       GUTIERREZ                    TX     90015100813
84211363A51362   MICHAEL      KINDERMAN                    OH     90004933630
842113A3276B97   RODOLFO      RESENDIZ                     CA     46092923032
84211483A71977   ANGELICA     AVALOS                       CO     38024654830
8421176275B183   MARQUEZ      MILLER                       AR     90011957627
84211A8A741262   KAREEM       CAVENDER                     PA     90015260807
8421261755B59B   MARIA        AGUIRRE                      NM     90007976175
8421291715B581   ERICA        BAEZA                        NM     90003169171
8421297A68B168   BRIAN        DREWES                       UT     90008769706
84212A3418B829   KELSEI       ALBIAR                       HI     90014760341
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1231 of 2350


84213152872B62   ALFREDO      ABAD                         CO     33068901528
8421352567B473   BRAIN        MOORE                        NC     90009415256
842137A272B28B   MYESHA       RASHEED                      DC     90014877027
8421399469712B   MARTINA      CERVANTES                    OR     44042649946
842143A4691975   JAMES        BYNUM                        NC     90012223046
842144A496194B   BARBIE       JOHNSON                      CA     90013034049
8421487A997B3B   BENJAMIN     MONTEZ                       CO     39043388709
84214A8435B24B   GARY         FISHER                       KY     68007440843
842154A349154B   RAY          CORDERO                      TX     90010874034
84215595172B62   MICHAEL      ANDERSON                     CO     90010915951
8421639815B139   JOSEFINA     SOTELO                       AR     90003793981
8421648985B24B   TONISHA      EVANS                        KY     90008314898
8421652369154B   JOSE         CERVANTES                    TX     90003075236
842168A9885936   ROBIN        CROUCH                       KY     90004718098
84217826A85856   MICHELLE     HOPKINS                      CA     90012138260
842179A7391975   ALLEN        LEVESQUE                     NC     90013509073
84217A64172B33   JORGE        PARRA                        CO     90013070641
8421845635B183   ALAINA       HOUSTON                      AR     90012124563
84218739197B38   RYAN         DEAN                         CO     39090847391
8421881879154B   PETER        WEWERS                       TX     75098238187
84219349672B29   WILLIAM      JONES                        CO     90014873496
8421989295B183   CYNCHIA      PETTITREW                    AR     90010368929
84219911576B97   RICHARD      AGUIRRE                      CA     46055019115
8421B438476B97   ALBERTO      PINEDA                       CA     90012764384
8421B74188B168   TRACEY       HAFRA                        UT     31007227418
8421B86655B24B   KRISINA      SIMMONS                      KY     90013618665
84221345972B29   GONZALO      FREDOSO                      CO     90013983459
84221917997B38   JULIETA      RODELO                       CO     39061649179
84221938A72B33   SALVADOR     HERNANDEZ                    CO     33045639380
8422262965B581   VANESSA      GARCIA                       NM     90010576296
842228A8A97B3B   BELLO        SOTERO                       CO     90006298080
8422295485B24B   MARGARET     TURNER                       KY     90010179548
8422321AA47897   FLAVIA       COLEY                        GA     14057162100
8422399987B473   ELIZABETH    TORRENCE                     NC     90009449998
84223A81685856   ROBERT       HARRISON                     CA     46000210816
842246A2141262   BRIAN        PANZINO                      PA     90010896021
8422476259154B   JULIA        HERNADEZ                     TX     90012857625
84224A46397B3B   JEREMY       MICHAEL                      CO     39084680463
84224A93661928   TRINIDAD     MEDINA                       CA     90012120936
8422522499154B   DAVID        OLIVER                       TX     90015102249
8422537975B139   LUIS         SANCHEZ                      AR     90012343797
8422541A39154B   ELIZARIO     AVILA                        TX     75000914103
84226427A72B33   ROY THOMAS   HILBURN                      CO     90014554270
8422674A55B183   CASILDO      IXCOY                        AR     90015307405
842268A2551363   AMANDA       SANDERS                      OH     90009588025
84227186372B33   MERCEDES     CRUZ                         CO     90009921863
84228129976B97   ROBERTA      MONTIEL                      CA     90014891299
8422849724B22B   ADRIAN       JIMENEZ-CASANOVA             NE     90002354972
84228661997B3B   JESUS        CHAVEZ                       CO     90011576619
842291A5471977   KRAMER       HECKART                      CO     38003641054
84229675997B3B   JACK         GENRE                        CO     39011546759
84229A4718B168   RONALD       BARRETT                      UT     90002900471
8422B347591979   CATALINA     MONTOYA                      NC     17077203475
8422B437941275   ELIZABETH    LIPERA                       PA     51072604379
8422B6A885B581   PETER        KINYUA                       NM     90010576088
8423142425B183   LAMONT       BOYD                         AR     90014494242
84231741197B3B   LUIA         RODRIGUEZ                    CO     39001167411
84231A96591837   DWAYNE       JOHNSON                      OK     21028560965
842322A285B24B   BARBARA      DAVIS                        KY     68085042028
842324A3497B38   JOE          MENDOZA                      CO     90011044034
84232AA359154B   MARIA        HERNANDEZ                    TX     90013910035
8423314938B168   FELIX        MADRID                       UT     31016971493
84233719772B29   TABITHA      BRANDT                       CO     33007087197
8423399725B183   ROSALYN      SABBS                        AR     90013729972
8423626416194B   TIFFANY      LANORE                       CA     90014752641
8423639815B183   LATASHA      DONELY                       AR     90003973981
842364A3497B38   JOE          MENDOZA                      CO     90011044034
8423655178B168   NAOMI        NISTLER                      UT     31076535517
842375A2A72B33   MELISSA      BRAHAM                       CO     33066795020
84237733872B29   LUZ          QUINTERO                     CO     90001767338
8423784234B569   KANDON       KELLY                        OK     90006288423
8423842A741275   PARBAT       THAPA                        PA     90013934207
8423917964B569   MICHELE      PLANK                        OK     90011131796
8423919A651362   JEAN         HOPKINS                      OH     90014161906
84239215276B97   CAROLINA     NAVA                         CA     90012772152
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1232 of 2350


842392A8571977   AMANDA        ESPINOZA                    CO     90011682085
84239499A5B581   LORENA        TERRAZAS-MOLINAR            NM     35096324990
8423979A92B28B   RASHAD        CUFFEE                      DC     90012787909
842398AA197B38   ANDRES        TOVANCHE                    CO     39082728001
8423B782A33698   BETH          MARTINEZ                    NC     12049677820
8423B92918B163   ROMO          MELANIE                     UT     90011759291
8423BA22861934   ELIZABETH     ESPINOZA                    CA     90007040228
84241431A61928   MARIA         IBARRA                      CA     46083144310
84242419A47897   MICHAEL       BARNES                      GA     90012974190
842427A2577537   ERLINDA       SALINAS                     NV     90014427025
84242891797B3B   MAYRA         LIRA SOTO                   CO     90009398917
8424291175B382   PAULO         HERNANDEZ                   OR     44510429117
84242A2884B22B   AMY           ANDERSEN                    NE     90007050288
842441A3577537   GUADALUPE     ULLOA                       NV     43098511035
8424442195B183   HURSHEL       SANDERS                     AR     90013774219
8424449779154B   LUCIA         RAMOS AGUAYO                TX     90006824977
84244636A8B823   SAM           PAULINO                     HI     90015236360
8424467495B581   MARISOL       MARMOLEJO                   NM     90010576749
8424477A893771   KATINA        WILKINS                     OH     90014077708
8424571888B154   DON           COLE JR                     UT     90014947188
84246859772B33   PAUL          BERNATH                     CO     90009478597
84246A2A197B3B   JANIE         BONDHUS                     CO     90012300201
8424732298B154   BENJAMIN H    RUTTINGER                   UT     90010763229
84247631697B3B   MILAN         HATCH                       CO     39062476316
8424773156194B   MONICA        CUEN                        CA     90012457315
84248148A97B3B   KORY          KIDD                        CO     90015301480
84248276A76B97   KAY           KITTLE THOMPSON             CA     90012772760
8424851155B183   LARNETTA      SUMMERVILLE                 AR     23013815115
8424954624B569   DONALD        SMOGGS                      OK     90015345462
84249853897B3B   CLARA         VARGA                       CO     39007838538
84249A44572B29   JUAN MANUEL   LUEVANO                     CO     90004760445
8424B855397B38   JOSHUA        KAVENY                      CO     39050858553
8425128AA4B569   JUSTIN        ZIRCHER                     OK     90012362800
842515A3332551   STEVEN        SKILES                      TX     90012035033
8425162382B28B   GABRIEL       GONZALEZ                    DC     90015156238
8425194914B569   EZEQUIEL      ESTRADA                     OK     90015139491
84251A19371977   OTTO          BERMUDEZ                    CO     90010870193
84251A2115B523   ASLEY         GLEASON                     NM     90012720211
8425231469154B   CARLOS        SOTELO                      TX     90011553146
8425324825B139   LARRY         REDMON                      AR     23071112482
84253363A8B164   HEATHER       BOWDEN                      UT     90001943630
8425344A791975   MAIRA         BANOS                       NC     90010824407
84253565672B33   TERRY         BAYNE                       CO     90010705656
84253654A55971   ROSAURA       GARZA                       CA     90012526540
8425387794B569   CARMEN        SANCHEZ                     OK     90008528779
8425394135B183   FRENCHIA      ELLINGTON                   AR     90010429413
8425597116194B   NOEL          TREVELLYAN                  CA     90012259711
84255979972B62   VALENTIN      LUJAN                       CO     90012869799
84256444272B99   FELISHA J     RODRIQUEZ                   CO     33035914442
8425656379712B   RODRIGO       DOMINGUEZ                   OR     90014995637
84256979A77537   NICOLE        BUCHANAN                    NV     43054279790
842573A9A97B38   TYLER         BURNS                       CO     90011113090
8425931482B271   BRANDY        KELLER                      DC     81014353148
842595A4261934   JOSEPH        GARCIA                      CA     90010595042
8425973799154B   JUAN          CARDENAS                    TX     90013057379
84259A37491979   LATISHA       SMITH                       NC     90013340374
8425B222741262   JIM           SCOT                        PA     90010882227
8425B45844B569   RIANA         DALEY                       OK     90008794584
8425B58519154B   BLANCA        RODRIGUEZ                   TX     90014715851
8425B71A18B168   RODNEY        WOZAB                       UT     90010877101
8425B9A794B22B   RICHARD       BROWN                       NE     90012789079
8426141888B168   CARRIE        SLY                         UT     90011154188
84261446776B97   MODESTA       MARTINEZ                    CA     90008904467
8426145489154B   JAMES         ONEAL                       TX     75082664548
84261742797B3B   TIMOTHY       LANZ                        CO     39041877427
84261A7AA8B163   PEDRO         LANDA                       UT     90011760700
8426222A977537   DAVID         WRIGHT                      NV     90014232209
84262346876B97   KATHERINE     FORD                        CA     46062373468
8426312298B154   MARIA         HERNANDEZ                   UT     90015151229
8426314A65B183   DEMETERIUS    HEGWOOD                     AR     23059151406
8426392938B168   SHEILA        BURGESS                     UT     31084249293
8426418818B168   TAMMY         ROUSH                       UT     90009391881
8426454275B581   LORI          BUCKNER                     NM     90004105427
8426481A385856   LAURA         ACOSTA                      CA     90014608103
8426484152B981   MAGDALENA     MENDOZA                     CA     90010038415
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1233 of 2350


84265427576B97   MARIO        SANTOS                       CA     90010014275
8426626A797B38   KATHY        JOHNSON                      CO     90010522607
84266754997B3B   PAYGO        IVR ACTIVATION               CO     90015387549
84266A26991975   PHILLIP      LOVERDI                      NC     17077980269
8426711183B372   REY          TENNEY                       CO     90009931118
842674A3A41262   WALTER       BAUERS III                   PA     51058914030
84267625572B33   LORETTA      RUIZ                         CO     33030686255
842678A3147897   PHILLIP      DAVENPORT                    GA     14040818031
8426898534B577   JUAN         MANCHA                       OK     90008029853
8426969473B366   MASTER       BLASTER PLUMBING             CO     90006706947
84269A91372B33   KELSEY       BOYER                        CO     90005770913
8426B345372B62   CHRISTIAN    DURAN                        CO     90013963453
8426B45A191975   TANGINIKA    LLOYD                        NC     17051344501
8426B47234B22B   BRANT        PETERSEN                     NE     90004314723
8426BA57A71977   DROP         YOUNG                        CO     90009130570
8426BA92741275   LISA         REGAN                        PA     90003460927
8427136784B569   ISAISA       VILLAL VARGAS                OK     90011553678
84271877797B38   LARRY        GOMEZ                        CO     90015188777
842719A5272B62   DONALD       GUENTHER                     CO     90010149052
84272366A97B38   ANGEL        DUARTE                       CO     90011873660
842725A216194B   MARK         THOMAS                       CA     46080035021
84273587A47897   JAZMINE      BATTLE                       GA     90014825870
8427374748B168   GERARDO      ROMERO                       UT     90011377474
84273847697B3B   MARTHA       RODRIGUEZ                    CO     39019458476
84273949A81677   PAT          HINES                        KS     29084129490
84274421497B3B   MARK         PETERSON                     CO     90000274214
8427529A18B168   DEBORAH      STRONG                       UT     90005272901
84275466A76B97   TERESA       CALVA DIAZ                   CA     90015194660
84275481A8B163   ULISES       MENDOZA                      UT     31028394810
8427549A53B388   JORGE        SILVA-ARAUJO                 CO     33010644905
842754A1997B3B   ESTELA       RAMIREZ GINEZ                CO     90010624019
84275871697B38   MIKE         MORGAN                       CO     39022788716
8427591984B22B   DANIEL       HONEYCUTT                    NE     90014609198
8427652218B168   ALICIA       GOMEZ                        UT     31088475221
8427663A19154B   MANUEL       MARTINEZ                     TX     75010526301
8427717749712B   THOMAS       POLSTON                      OR     44017291774
842779A2A97138   RAUL         MARTINEZ                     OR     44017769020
842779A7461928   ANGELICA     GARCIA                       CA     46096849074
8427857528B167   MELISSA      GONZALEZ                     UT     90011695752
8427889A697B3B   MICHELLE     BROWN                        CO     90014238906
842789A3A8B167   MELISSA      GONZALEZ                     UT     90014169030
8427B532A85936   MICHAEL      KING                         KY     90011505320
8427B5AAA5B24B   KOURTNEY     BURGIN                       KY     90015085000
8427B62A872B29   TRACIE       CLARK                        CO     33033196208
8427B659891975   WILLIE       JILES                        NC     90012266598
8427B897661928   RUTH         ROGERS                       CA     90011418976
84281144597B38   JACOB        MARTINEZ                     CO     90014891445
842811A5772B29   CARA         MCKELLER                     CO     90014991057
8428152225B183   MICHAEL      RIGGINS                      AR     23077395222
842815A892B256   YANCY        LARIOS                       DC     90000905089
8428237945B581   EDDY         DELGADO                      NM     90002913794
84282787172B62   ZEPHANIAH    ARCHULETA                    CO     90012847871
84282952176B97   MAYCA        CAMBUSTON                    CA     90011109521
84282A5748B823   KATHLYN      SORIANO                      HI     90014630574
84282A5958B163   BARBARA      LONG                         UT     90006750595
8428384294B569   GREGORY      MIXON                        OK     90013598429
84283924997B3B   ANTOINETTE   MARTINEZ                     CO     90015119249
8428415625B24B   ANTOINETTE   ANDERSON                     KY     90010721562
8428437A18B154   APRIL        ARMIJO                       UT     31094263701
842845A218B154   DERRICK      CRISPIN                      UT     90008575021
8428523685B183   MELISSA      YORK                         AR     90014522368
84285696572B33   LEAH         RORICK                       CO     90013236965
8428663426B271   RAJAN        POKHREL                      AZ     90013956342
8428693488B154   EDGAR        GONZALEZ                     UT     31057039348
84286A39572B33   ALAN         FULLER                       CO     33037410395
84286A71286447   NESTOR       CRUZ                         SC     90014590712
84287465572B62   JOSE         RIOJAS                       CO     90009384655
842877A458B168   TED          ADAMS                        UT     31086967045
8428813AA71977   BETTY        LEYBA                        CO     38097541300
84288334A6194B   DEVONNA      GENTERY                      CA     90013173340
8428847A972B29   LUIS         PALACIOS                     CO     33077344709
84288926372B33   JUAN         GOMEZ                        CO     33083829263
84288A95A5B24B   DANIANA      SANCHEZ                      KY     90001840950
8428926338B154   JOSE         PALZA                        UT     90015302633
8428963278B154   ALEX         IBANEZ                       UT     90008276327
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1234 of 2350


8428992674B569   DANA          DELONEY                     OK     21598839267
84289A39554186   MISTI         ROGERS                      OR     90014600395
8428B59944B22B   QWANISHA      MITCHELL                    NE     90015295994
8428BA53171977   LORI          MONTANO                     CO     38098440531
8429163A25B581   RHONDA        CAMPBELL                    NM     90012636302
8429185A65B581   RONALD        CAMPBELL                    NM     90010578506
84291A25747822   DEBBIE        GORDON                      GA     14086980257
84292131897B38   VANESSA       MORENO                      CO     90012871318
84292397497B3B   DANIEL        SILVA                       CO     90014323974
84292A45485936   STEVEN        SLAUGHTER                   KY     90014930454
8429337226194B   LATRIVIA      TAYLOR                      CA     90009393722
84293768A5B183   DWIGHT        RAY                         AR     90005057680
842937AA197138   RICKY         SANCHEZ                     OR     90011037001
84294134A9154B   REFUGIO       BANUELOS                    TX     75094011340
842943A115B24B   DONNA         BLAIR                       KY     90012443011
8429462415B581   JON           CASAS                       NM     35053146241
84295332476B97   MANNY         AVALOS                      CA     90003493324
84295442A41262   JERISSA       BROOKS                      PA     90014724420
84295715672B62   NICOLE        PARSON                      CO     90007397156
8429585866194B   PAULINA       LOPEZ                       CA     90013138586
8429688582B28B   KEVIN         MC CALLISTER                DC     90014108858
84297137197B38   JERRICA       HERRERA                     CO     90008091371
842975A1177537   JUSTIN        RUIZ                        NV     90011055011
8429763426B271   RAJAN         POKHREL                     AZ     90013956342
842979AA376B97   MARIA         HERNANDEZ                   CA     90015149003
842981A558B168   BRANDON       SILON                       UT     90012781055
842983A8293771   CHANELL       CAPTAIN                     OH     90013533082
84299637897B38   MARIA         RODRIGUEZ                   CO     39050316378
84299812A5B24B   VALOY         HERNANDEZ                   KY     90015558120
84299A2484B967   WILLIE        JOHNSON                     TX     76595630248
8429B492991975   JIME          VELASQUEZ                   NC     90013394929
8429B515A51362   MYRON         CARNES                      OH     90014745150
8429B583997B3B   KARI          MCNINCH                     CO     39059225839
8429B7AA293771   MATTHEW       ELLIOTT                     OH     90009387002
842B114A75B139   JAYLYN        HILLIARD                    AR     23057111407
842B1692285936   JAMES         CUSHINGBERRY                KY     90013456922
842B189283B389   BREEANNE      WYATT                       CO     90009068928
842B194898B154   CONNIE        BUIE                        UT     90006459489
842B19AA661928   LATASHIA      MCKENNEY                    CA     90013209006
842B2136372B33   ERIC          ANDRE                       CO     90013341363
842B2266451362   MARGUERITA    WOODS                       OH     90014742664
842B2396391837   OMAR          MERINO                      OK     90011403963
842B248A75B183   JOSELYN       MCTYLER                     AR     90014844807
842B2525A4B569   JOSHUA        SINGLETON                   OK     90008525250
842B2995772B29   KEITH         JOHNSON                     CO     90014829957
842B3443391837   MARISELA      REYAS                       OK     21035054433
842B348913B38B   DOUGLAS       SWISHER                     CO     90010734891
842B3826547897   MARQUIEN      CROCKETT                    GA     90010088265
842B4161561934   CARLOS        PEREZ                       CA     90009861615
842B4216997B3B   MATT          ROBINSON                    CO     39074952169
842B4431776B97   MAURA         LAYNE                       CA     90015184317
842B4515893739   AKIA          GATEWOOD                    OH     90002525158
842B453274B569   JOSHUA        MITCHELL                    OK     90008525327
842B4683871977   EARL          WILSON                      CO     90013326838
842B4861955971   PATRICIA      CARREON                     CA     90007488619
842B497228B154   CRYSTAL       GUTIERREZ                   UT     31045629722
842B5278461928   PATRICIA      VASQUEZ                     CA     90001052784
842B5413172B62   ALMA          RUIZ                        CO     33031114131
842B5446397B38   CASEY         HURST                       CO     39003354463
842B54A1972B29   TIRK          DIGGLER                     CO     90011124019
842B5531747897   KRISTINA      LELLIOTT                    GA     90012605317
842B5697897B3B   THOMAS        GRELL                       CO     90015386978
842B58A5491837   GLORIA        VASQUEZ                     OK     21061928054
842B628A251362   DAVID         HALL                        OH     90014742802
842B658568B168   BRENT         KIMBALL                     UT     90014935856
842B6631141249   JONI          CURL                        PA     51083556311
842B6914761928   MARGARITA     PRADO                       CA     90006049147
842B6A49891979   LUIS          HERNANDEZ-MARTINEZ          NC     90012050498
842B7655377537   DHYANA        MASTROPASQUA                NV     90013826553
842B7662841275   NANCY         POELLOT                     PA     90006026628
842B7672485856   JOSIAH        CRESPO                      CA     90013616724
842B771834B569   CHRISTOPHER   BASSETT                     OK     90010477183
842B7784691523   KATHERINE     ARMENDARIZ                  TX     90010257846
842B817498B168   JOSEPH        WARNICK                     UT     90011001749
842B831A55B183   BRIAN         SMITH                       AR     90013803105
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1235 of 2350


842B8669172432   AUTOMN        WALKER                      PA     51017366691
842B871595B139   CHANEL        PHILLIPS                    AR     90004297159
842B9157276B97   ARTHUR        MEEHLEIB                    CA     90000591572
842B9443572B33   TIMOTHY       GATUMA                      CO     90006144435
842B944979154B   JOSEPH        SORIA                       TX     90014964497
842B95A6897B38   MARKISHA W    SCHMIDT                     CO     90013105068
842B9754793771   JARED         MENDENHALL                  OH     90012217547
842BB33A897138   ALEXANDRIA    ROBLES                      OR     90008763308
842BB395351362   KENYA         TILLERY                     OH     90004183953
842BB414647897   LYNCIA        LAWRENCE                    GA     90014304146
842BB498A72B29   NANCY         MENDOZA                     CO     33064114980
8431129222B271   MARCIA        BELT                        DC     81013522922
84311515A51362   MYRON         CARNES                      OH     90014745150
8431236326194B   GUSTAVO       DURAN                       CA     90012193632
84312534A91242   GAIL          BARNES-EASON                GA     14564665340
84312566997B38   MARIAH        AGUILAR                     CO     90014815669
8431342139712B   JENNIFER      TISON                       OR     44024374213
84313879876B97   ALEJANDRO     MARTINEZ                    CA     90014878798
84314346A85856   DANIELLA      HEWETT                      CA     46016283460
84314499172B62   HEATHER       MCLEOD                      CO     90002574991
8431592389154B   LIZETH        CORONA                      TX     90009629238
84315A8142B28B   VICTORIA      ROBLES                      DC     90012720814
84315A84A72B29   LETCIA        VIDUYA                      CO     90013280840
84316A24A5B183   TANISHA       FRANKLIN                    AR     90014020240
8431714844B569   RENEE         GOSS                        OK     90008531484
8431729696194B   ANA           MARTINEZ                    CA     90013922969
84317592897B38   VILMA         MOLINA                      CO     39007905928
8431826365B523   CASEY         BOWER                       NM     35010952636
84318519472B83   MARY          MCGILL                      CO     33089105194
84318541172B29   MARCUS        WULF                        CO     33090545411
84318A37591242   CHARLESETTA   HOWARD                      GA     90003860375
8431917725B581   BEVERLY       APODACA                     NM     35056401772
84319234676B97   HEATHER       DIXON                       CA     90014032346
8431965AA97B38   ASHLEY        FEATHER                     CO     39061936500
843197A9691979   RIKEDA        BOONE                       NC     90012937096
8431982125B24B   AMY           LAZROVITCH                  KY     90014808212
84319915A41275   SHAHNTAYLA    HOLLIDAY                    PA     90011889150
8431994672B256   DONTE         BARRINGER                   DC     90005989467
8431B14844B569   RENEE         GOSS                        OK     90008531484
8431B221285936   TODD          TUDOR                       KY     67074272212
8431B225A61928   MAVI          RICHMOND                    CA     90014452250
8431B466477537   ANTHONY       ROY                         NV     90013284664
8431B482341262   GINA          WRIGHT                      PA     90010304823
8431B946493739   WILLIAM       HART                        OH     90001049464
84321126297B38   DEBORAH       DESAIRE                     CO     90009761262
843213A855B24B   MISTI         MOOSER                      KY     90015143085
8432233A591975   OBDULIA       ALVARADO                    NC     90011713305
843229A384B22B   ANAYELI       RAMIREZ                     NE     27023859038
8432315958B163   ISABEL        WATSON                      UT     31024071595
8432319192B28B   ADAM          LUKE                        DC     90011781919
84323443276B97   RODRIGO       RAMOS                       CA     90012994432
8432344954B22B   KOKOU         AKAKPO                      NE     27001054495
84323598A91837   MARIA         LEDEZMSA                    OK     90013065980
8432375615B382   DANIEL MARK   DINNEEN                     OR     90005617561
8432391A197B3B   WILLIAM       ESPINOZA                    CO     39091999101
84323928A71977   BRANDY        KENNEDY                     CO     90008089280
8432395328B168   WHITNEY       DAME                        UT     90014419532
8432414528B163   BRIAN         OLSEN                       UT     31085451452
8432481A26194B   KATIE         ORTEGA                      CA     90014928102
84325121897B38   NICOLE        PAQUETTE                    CO     39080311218
84325425A97B3B   JOSHUA        HUEPENBECKER                CO     90004784250
8432611764B22B   REYES         HERNANDEZ                   NE     27058251176
84326A9A45B24B   PHILLIP       WILSON                      KY     90014770904
8432759828B163   TORIANN       LEON                        UT     31075485982
84327937897B3B   HERNANDO      SANCHEZ JR.                 CO     39018929378
84328173572B29   MANUEL        VAZQUEZ                     CO     33041141735
8432822375B183   ROBERT        BURNETT                     AR     90014702237
8432847178B168   BLAS          JUAREZ                      UT     31009644717
8432857378B154   TRENTON       MACKINNON                   UT     90010275737
8432858934B569   GLENN         WEGNER                      OK     90013555893
843285A2772B62   OSCAR         ESCOBEDO                    CO     90013585027
8432955852B275   ASONGWE       AUGUSTINE                   DC     90011295585
84329A91685936   MIA           CLOYD                       KY     90003540916
8432B45639154B   MARIA         KERCE                       TX     90006054563
8432B4A3377537   NANCY         BURKE                       NV     90006564033
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1236 of 2350


8432B96488B154   TERESA       ALBRETSEN                    UT     31080049648
8433189224B569   MARCEA       HERRON                       OK     90008478922
84332271372B29   JENNIFER     FERNANDEZ                    CO     90004832713
84333755A97138   KATHARINE    LONDIN                       OR     44045787550
8433416A75B921   ANTHONY      PACULBA                      WA     90015501607
843342A1336155   MELINDA      GARZA                        TX     73591502013
8433438958B168   XIBALBA      SAINT                        UT     90015013895
84334414A5B581   ROBERT       SALAZAR                      NM     35097004140
84334A71A8B154   DAVID        HAYNES                       UT     31069350710
84334AA718B823   ROSIE        ABRAHAM                      HI     90014870071
8433533998B154   RICHARD      STROTTNER                    UT     90013393399
84335393172B29   EDITH        PERDOMO                      CO     33072083931
8433546734B569   MICHELLE     BEED                         OK     90009594673
84335A9519154B   AGUSTIN      PORTILLO                     TX     90011920951
8433657A24B569   JESUS        TERRAZAS                     OK     90014575702
8433734786194B   OSWALDO      REYES                        CA     46080233478
843373AA291979   SULMA        CHAVARRIA                    NC     90015123002
8433781398B154   CHRIS        GLASCOE                      UT     90012088139
8433783782B256   ABD RAMANE   FASSASSI                     DC     90000908378
84337891476B97   TAMMATHA     SCOTT                        CA     90002048914
84337899672B62   TERRY        BROWN                        CO     90012318996
8433824884B22B   PRECIOUS     CLARK                        NE     90009142488
8433834894B569   ALONZO       WILBUR                       OK     90011133489
8433861148B154   DELORES      ROMERO                       UT     90013906114
8433942228B163   JOSEPH       CHAVEZ                       UT     31006304222
8433B49315B24B   LALATAE      PROSTELL                     KY     90013094931
8433B79288B168   MARIA        SALAS LUNA                   UT     90013207928
8434112A172B33   ANIBAL       GIRON                        CO     33015581201
84341178997B3B   GLORIA       MENDOZA                      CO     39085621789
8434147A56194B   JESSICA      BERRVECAS                    CA     90013814705
8434149A391975   DEANTE       TERRY                        NC     90010824903
8434154989712B   PATRICIA     REYNOSO                      OR     90007475498
84341A3A697B38   CINDY        ROMERO                       CO     90012940306
843423A4993766   SHARON       SMITH                        OH     90005223049
84342821872B8B   SHANA        SELLE                        CO     90010968218
84343627476B97   MARICELA     NAVA                         CA     46030466274
84343A4125B581   JORGE        PUENTES                      NM     90010580412
84343A98A91979   ERIC         MLAKIN                       NC     90013040980
84343AAA48B168   JOHN         DOYLE                        UT     31061960004
843446A639154B   ALEJANDRO    ALVAREZ TELLO                TX     90010996063
84344962297B3B   GUADALUPE    TORRES                       CO     90008149622
8434496856194B   FERNANDO     VALDEZ                       CA     90007519685
8434527912B28B   IZZY         AHMED                        VA     90012502791
8434586964B569   PHILLIP      RALPH                        OK     90012998696
84345896A5B24B   JAMES        MITCHELL                     KY     90013438960
84345A5A672B62   LARRY        CLARK                        CO     33004720506
843474A844B22B   SUZANNA      RAMOS                        NE     90013974084
8434753369712B   NICOLE       BLANKENSHIP                  OR     90014645336
84347A19957143   ELOYNE       NUNEZ                        VA     81065170199
8434836686194B   IRVING       CARTER                       CA     90014903668
8434842974B569   GARY         GRIFFITTS                    OK     90011984297
8434869975B183   FELECIA      STEVENSON                    AR     90014756997
8434924A54B569   ANA          ORTIZ                        OK     90010482405
84349361397B3B   LEAH         BLOYER                       CO     90013103613
8434B1AA95B24B   REBECCA      EXLEY                        KY     90006331009
8434B35244B569   CLARENCE     LEWIS                        OK     90011133524
8434B876461924   JULIA        STRAIN                       CA     90012848764
8434BA69271977   LINDA        NATTERSTAD                   CO     90011870692
84351191272B29   TERRY        THURMAND                     CO     90015281912
8435119545B183   PATRICIA     MONTGOMERY                   AR     23041431954
84351832A61928   ANGEL        TORREZ                       CA     90013668320
84351847572B62   ABERTO       LOPEZ                        CO     33013928475
84351A85251362   GABBY        TILLETT                      OH     90009170852
8435245794B22B   MICHAEL      ROOT                         NE     27006484579
843525A299154B   BILLY        PORTILLO                     TX     90010995029
8435277455B581   ANDREW       LUCERO                       NM     90004777745
84352A55291979   FAUZIA       RAZAI                        NC     90015300552
84353425476B97   SHAWN        EFFIE                        CA     90012804254
8435371922B28B   FREDDY       DOMINGUEZ                    DC     90011797192
84353A65485856   CESANOVA     CEBALLOS                     CA     90013920654
8435425257B248   PATTIE       MARSHALL                     NV     90012772525
8435426A951598   MARY         BANAK                        IA     90014862609
8435431932B28B   KENNETH      JOHNSTON                     VA     90014603193
84354392A81677   KIARA        CURTIS                       MO     90007893920
8435531932B28B   KENNETH      JOHNSTON                     VA     90014603193
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1237 of 2350


84355556272B29   AIDIL         SERNA                       CO     90002435562
8435599469154B   RUBIO         MARES                       TX     90009499946
843559A8285856   JOSE          VALLE                       CA     90007719082
84356187897B38   YESENIA       NARANJO                     CO     39013651878
84356395A61935   HIRAM         MURO                        CA     90012423950
8435695474B22B   CANDACE       GODINA                      IA     27091699547
843573A678B163   ABEL          GODINEZ                     UT     90004303067
8435795A29712B   ASHLEY        THOMAS                      OR     44049929502
8435848888B168   SALLIE        STONEBRAKER                 UT     31005334888
8435876564B569   LAUREN        LOPEZ                       OK     90012727656
8435893949154B   JUAN          AGUILERA                    TX     90011449394
8435914345B183   RACHELLE      MOLDEN                      AR     23007031434
8435915A24B569   BARBARA       BRINLEE                     OK     90012981502
8435934645B24B   ODELL         SMITH                       KY     90008773464
84359534272B62   IZEL          SALAS                       CO     90009485342
8435992377B325   GUSTAVO       PALENCIA                    VA     90014609237
84359A8388B154   MARIBEL       NAGAR                       UT     90008080838
8435B197872B29   MARK          BALOYI                      CO     33036581978
8435B851997B38   GUADALUPE     DOMINGUEZ                   CO     39052988519
8436111216194B   EDWIN         BELTRAN                     CA     90012491121
84361636472B33   QUINIATA      NEAL                        CO     90011176364
84361857A91979   JOSE          MARTIN                      NC     17049568570
84361A98851362   ORENE         VIRES                       OH     90013390988
8436214469154B   JACLYN        SOTELO                      TX     90013841446
84362A99991975   JACKIE        MCKOY                       NC     90013240999
84363143A5B24B   MEGAN         BRYANT                      KY     90008081430
8436321A191837   KIMBERLY      RICHARD                     OK     90001182101
84363222376B97   MARTHA        ROMO                        CA     46012872223
84363661672B29   MOUSTAFA      ALIDOU                      CO     33007516616
8436396A177537   CHARLENE      MARTINEZ                    NV     90009519601
8436422A977537   DAVID         WRIGHT                      NV     90014232209
8436572968B168   BECKY         ROBERTS                     UT     31058227296
84366244A71977   CHRISTOPHER   SMITH                       CO     90004052440
8436643289154B   ROSA          MALDONADO                   TX     90010344328
84366A45985936   KENNETH       WALKER                      KY     90014930459
8436759527732B   JASON         LONG                        AR     23052355952
843677AAA93771   KALLIN        WIELAND                     OH     90011027000
84368535676B97   AMALIA        COLOORADO                   CA     90006535356
843687A994B569   CARLOS        VILLEGAS                    OK     90014947099
84368A77441262   VIRGINIA      LAWRENCE                    PA     90013330774
8436922994B577   JOSHUA        SIMPSON                     OK     90005292299
843694A7A85856   BLANCA        SALGADO                     CA     46007364070
84369598397B38   URIEL         VASS                        CO     90006705983
8436B1A4685936   SUZANNE       GRAY                        KY     90012781046
8436B41715B24B   DERRICK       JENKINS                     KY     90014804171
8436B64498B169   DEBORAH       ALAWNEH                     UT     90002176449
8437176264B569   MELISSA       ALDABA                      OK     90008537626
84371A7519154B   CARLOS        PEREZ                       TX     75048430751
84372289A91837   ADRIENNE      GADDY                       OK     90014592890
84372429A85B21   TIMOTHY       SALOANE                     FL     90014634290
843728A7272B33   JOSHUA        WILLIAMS                    CO     90010748072
8437325975B24B   TAMESHA       RADFORD                     KY     90013762597
84373692272B27   MEGAN         GIBSON                      CO     90009936922
8437434359154B   MONICA        RODRIGUEZ                   TX     90011553435
8437454552B271   JUAN          VASQUEZ                     DC     90010905455
84374794472B29   NESTOR        CORRALES                    CO     33082007944
843748A8891837   LUIS MIGUEL   GOMEZ                       OK     90013708088
84374A9926194B   RUTH          GARCIA                      CA     90013520992
8437549A15B24B   MARIA         PRESTIGIACOMO               KY     68046684901
8437617138B168   HOLLY         HIATT                       UT     31024381713
843761AA597B38   NANETTE       WELSH                       CO     90012941005
843763A115B921   TERI          LAVOIE                      WA     90015423011
84376436A41275   REBECCA       SAMAY                       PA     51051564360
8437656518B164   CHRISTOPHE    GALYK                       UT     31051605651
8437667755B183   KEITH         FARR                        AR     90008186775
843768A9785936   MISTY         PEREZ                       KY     90013088097
8437748A88B168   HEATHER       DINGMAN                     UT     31058684808
84377582372B62   ENRIQUE       PAREDES                     CO     90001455823
8437869A991975   TRISTAN       BRANCH                      NC     90011466909
84378871897B3B   FAITH         BRANDT                      CO     90001868718
843789A334B967   DAVID         CULBERT                     TX     90006399033
84378A11833698   JAYMES        RHODIE                      NC     90013460118
84378A22872B62   ERIKA         VALENTINE                   CO     90005960228
8437B124172B33   JULIE         STINEMAN                    CO     33051181241
8437B13325B139   JEANNETTE     JEANS                       AR     90004731332
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1238 of 2350


8437B53898B163   BRITTNI       GIBSON                      UT     90011765389
8437B7A3341275   KIMBERLYT     MCCORMACK                   PA     90012357033
8437BA91361928   ANA           CALIXTO                     CA     46086240913
8438152964B569   ANDREW        RASDALL                     OK     90007665296
8438173A48B168   JAQUENLINE    OLMEDO                      UT     90014427304
8438182A785856   DARWIN        PIETROWSKI                  CA     46050728207
8438256126194B   DANIEL        MARTINEZ                    CA     46097195612
84382725872B29   KEVIN         OXLEY                       CO     90010437258
84383148797B3B   ADOLFO        ZAMARRIPA                   CO     90012741487
84383246772B62   LUCERO        SILVEYRA                    CO     33090972467
843834A7A97138   OMAR          MORENO                      OR     90002204070
84383632272B29   DEMITRIA      BLEA                        CO     33045876322
84383679797B3B   IGNACIA       TORRES                      CO     90014886797
8438371A17B356   JUAN          BUSFILLOS                   VA     90003877101
8438411452B271   ROBERTO       TORRES                      VA     90002281145
8438496336194B   IRENE         LOPEZ                       CA     90003909633
84385A89341262   MARY          DININNO                     PA     90011230893
8438614534B22B   LUIS          GUZMAN                      NE     90012961453
8438663638B168   MICHAEL       GREENE                      UT     90009746363
8438689735B581   NADIA         TINAJERO-PENA               NM     35008588973
8438697AA97B3B   JENNIFER      TERRAZAS                    CO     90013249700
84387171672B33   ROSA          CALDERON                    CO     33057971716
84387526976B97   IBETH         SALAS                       CA     90012805269
843876A3485856   SANTIAGO      GARCIA                      CA     90013246034
84388543872B29   ROMAN         LIRA                        CO     33042375438
84388A6715136B   MICHAEL       UBEKU                       OH     66053550671
8438969A24B22B   ANA           PRADO                       NE     90004136902
84389998A41275   DANEEA        DENSON                      PA     90015159980
84389A53A51362   EARL          REIFF                       OH     90012390530
8438B35819154B   KEVIN         ALCANTAR                    TX     90011113581
8438B68258B168   SALVADOR      VALDEZ                      UT     90001616825
8438B785161934   JESUS         DIAZ                        CA     90010547851
843919AA197B38   BRANDON       RIVERA                      CO     90014939001
84392537372B33   ANGELA LYNN   ANDERSON                    CO     90014515373
84392937176B97   HIDELBERTO    CASTELLANOS                 CA     46076739371
84392943897B38   BALVINO       TZUN                        CO     90014989438
843943A512B28B   HILDA         MCBRIDE                     DC     90014123051
84394486697B3B   BRYAN         BAKER                       CO     90012024866
8439535255B139   D             EVERETT                     AR     23077803525
84395681572B33   KYLE          TORRES                      CO     90010886815
84395A35541275   DARNELL       JONES                       PA     90015070355
84396AA4872B62   LUCIANO       FRAIRE                      CO     33062420048
8439752894B569   TAHESHA       DUNCAN                      OK     21506895289
8439782A95B24B   HEATHER       MEDLEY                      KY     90010308209
84397A59985936   BARBARA       MCGAAJ                      KY     90014460599
8439837472B271   CAROLYN       COOKE                       DC     81015173747
84398543A6194B   TED           BUETTGENBACH                CA     90013345430
84398728A85856   LYANNE        DANH                        CA     90013087280
84398876A2B252   CYNTHIA       TUCKER                      DC     90001688760
84399829276B97   HUMBERTO      CRUZ                        CA     90013888292
843999A8241275   ISAAC         JERE                        PA     51099269082
84399A2916194B   JOY           GRIMES                      CA     90012640291
8439B94339712B   DOUAN         LATMEUANG                   OR     44033449433
843B128278B154   LENA          SHAW                        UT     90013892827
843B1652172B62   LORRAINE      MUNOZ                       CO     33071106521
843B1732991979   EDWIN         MELENDEZ                    NC     90004147329
843B1855285936   TERRY         TAYLOR JR.                  KY     67000628552
843B1A17281677   DONNA         NIXON                       MO     29010710172
843B1A4627242B   WESTLEY       DENNIS                      PA     90009970462
843B2194A91975   SHARON        DAVIS                       NC     90013231940
843B244979154B   JOSEPH        SORIA                       TX     90014964497
843B2544791837   KEVIN         BURNETT                     OK     90007015447
843B2A4145B24B   TYRONE        BIGGUMS                     KY     90014610414
843B314854B569   MARTHA        ROJAS                       OK     90015161485
843B31A748B154   JEREMY        ALVARADO                    UT     90015201074
843B329632B28B   SHARON        HUNTER                      DC     90015032963
843B3391491992   DANIEL        ATKINS                      NC     90001573914
843B368A993771   RICKIE        GRAY                        OH     64506846809
843B396A38B168   WALTER        APRIL                       UT     31069729603
843B3A2575B183   FRANCISCO     CALDERON                    AR     90006380257
843B4355385936   ASHLEE        ROBINSON                    KY     90013523553
843B447A372B62   HEIDI         OSBURN                      CO     90013544703
843B456625B139   PHYLLIS       WALKER                      AR     23060975662
843B5336672B33   ROSA          BRAVO                       CO     33091453366
843B5513461934   VERONICA      PEREZ                       CA     90011665134
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1239 of 2350


843B577925B139   CHRISTINA    DAVIS                        AR     90008927792
843B5A45A91979   JENNIFER     MANNHOPKINS                  NC     90014140450
843B611984B569   MOUSSA       SANGARE                      OK     90008531198
843B6167472B62   CYNTHIA      GARCIA                       CO     33089441674
843B631A55B183   BRIAN        SMITH                        AR     90013803105
843B6659A72B33   ROBIN        ARCHULETA                    CO     33088626590
843B7649797B38   AMY          WERTZBAUGHER                 CO     90007186497
843B7867191975   YOLANDA      CAMPBELL                     NC     90011498671
843B789A571977   TAMBREY      SPEAKS                       CO     90013418905
843B79A2A93771   SHAWN        JACKSON                      OH     90013419020
843B833112B28B   RHONDA       KEARNEY                      DC     90015323311
843B8489941275   LISA         HAMMONDS                     PA     90009904899
843B8984647897   ASHLEY       MINTER                       GA     90012959846
843B9592897B38   VILMA        MOLINA                       CO     39007905928
843B9694371977   ANTHONY      HERNANDEZ                    CO     90014186943
843B9876791979   AURELIA      SALAZAR                      NC     90009778767
843BB231293771   CHABRI       MILLER                       OH     90014922312
843BB683947897   INDIA        INGRAM                       GA     90009046839
843BBA2285B183   RHONDA       HUTCHINS                     AR     90008680228
84411246372B33   ROCKY        RODRIGUEZ                    CO     33033352463
844114A856194B   LIZBETH      PACHECO                      CA     90013114085
84411683672B29   MARGARITA    MARTINEZ                     CO     33008306836
8441171AA71977   LLUVIA       MENDEZ                       CO     90012867100
8441195325B139   POINTER      JOSEPH                       AR     23065719532
84412455297B38   KIMBERLY     SACHS                        CO     39084344552
84414126972B62   BROOKE       WEAR-MARTINEZ                CO     33062611269
84414245397B38   ALFREDO      PAREDES                      CO     39049642453
8441425582B271   CORNELIA     ROWLAND                      DC     90001962558
8441444588B163   CUMMINGS     BREONA SHAY                  UT     90008434458
8441461265B399   STACY        RUDE                         OR     90013316126
8441477876194B   MAYRA        ESCOBAR                      CA     90013557787
8441532A391837   JOSHUA       BERRYHILL                    OK     90001573203
8441543269154B   YAZMIN       PLACIDE                      TX     90002914326
84415AAA35B24B   ERICA        CLARK                        KY     90004110003
84416645A91837   EMILY        TAYLOR                       OK     90012876450
84417369397B3B   CLARIBET     LUNA                         CO     90013043693
8441742AA5B183   ASHLEIGH     CHANEY                       AR     90014074200
8441757634B569   ELISABETH    BLEOUE                       OK     90013575763
84417893172B33   ASHLEY       SAENZ                        CO     90013108931
84417AA942B271   RONALD       BRISBON                      DC     81014170094
84418356197B3B   ROSALITA     LOPEZ                        CO     39051903561
844186A4A6194B   ALMA         AGUIRRE                      CA     46016426040
8441B15A972B31   RACHAEL      PEREZ                        CO     90012661509
8441B714591979   COREY        SHEARIN                      NC     90007777145
8441B719393771   PAYGO        IVR ACTIVATION               OH     90010857193
8441B859172B29   ANGELA       ARCHULETA                    CO     33046458591
8442129985B241   KEN          SUTILFF                      KY     90011772998
84421675797B38   KT           WRIGHT                       CO     39051046757
844223AA291975   CHRISTINA    BELL                         NC     17081373002
844226A3297B38   RUBEN        GARCIA                       CO     90014996032
84422A7778B168   GEORGE       KEIN                         UT     90010670777
844233A5291975   HOANG        TRAN                         NC     90014113052
844236A3297B38   RUBEN        GARCIA                       CO     90014996032
84423915797B38   SAUL         RIVAS AVALOS                 CO     90013179157
8442413342B28B   DIONTA       KING                         DC     90014131334
84425192372B33   JAZMINE      RIVERA                       CO     90013051923
8442535919712B   CECILIA      ASCENCIO                     OR     44057993591
84425632676B97   ALAN         QUINO                        CA     90012806326
844265A5A72B33   TAMMY        GONZALES                     CO     33074795050
8442677A172B62   ALBERTO      HERNANDEZ                    CO     33055687701
844269A485B24B   BRADLEY      HARDIN                       KY     68044129048
84427556872B31   TERRANCE     GANDY                        CO     90015035568
844278A8A97B3B   BELLO        SOTERO                       CO     90006298080
8442833755B183   SHONTAESIA   BYERS                        AR     90013263375
84429A8A472B29   ISRAEL       MILLAN-OLIVAN                CO     33065860804
8442B28474B569   RASHAD       BROWN                        OK     90010482847
8442B34162B28B   CHARLIE      BEADLES                      DC     90014123416
8442B449761928   MARTIN       LOPEZ                        CA     90011904497
8442B53A676B97   FELICIA      MCCHRISTION                  CA     46028725306
8442B6A3297B38   RUBEN        GARCIA                       CO     90014996032
8442B71A671977   MICHAEL      BRANDENBURG                  CO     90015207106
8442B729597B3B   THELMA       DAVI                         CO     90014277295
8442B75A19712B   BRUNA        CRUZ AGUILAR                 OR     44087757501
8442B98549154B   RITA         ALMANZAR                     TX     75082549854
8442BA14533698   TONI         KING                         NC     90002890145
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1240 of 2350


8442BA33A72B62   MERCEDES     MARTINEZ-ARROYO              CO     33028690330
84431375972B62   RAFAEL       CASTILLO                     CO     33050813759
8443152129154B   ARMANDO      PAEZ                         TX     75003065212
84431591497B3B   WILLIAM      WITVOET                      CO     90013395914
8443198A68B168   SANTIAGO     RODARTE                      UT     90014919806
8443214242B28B   DANIEL       BOLAND                       VA     90013371424
84432168597B3B   DEBORAH      PFLIPSEN                     CO     39043661685
8443287A49712B   MARITE       IBARRA LOPEZ                 OR     90006708704
84433189197B3B   ANDREW       CHEYNE                       CO     90013411891
8443358364B22B   STEPHANIE    MIKESH                       NE     90002335836
84433A52671977   KERRY        GREEN                        CO     90003010526
84434311176B97   PARADISE     SANDOVAL                     CA     90014783111
844349A2461928   MARIA        HERNANDEZ                    CA     90009739024
8443519469154B   JAZMINE      PADILLA                      TX     90012501946
844363A3197B3B   ADRIANE      ROMERO                       CO     39053563031
8443683A491975   LUIS         MORALES                      NC     90014968304
84436A72297B38   ROSA         MALDONADO-ALARCON            CO     39080340722
84437254397B38   SOFIA        RODELO                       CO     90012742543
8443748238B154   ANA SORAYA   MCCARTER                     UT     90009244823
84437935A76B97   ALEJANDRO    LOPEZ MARTINEZ               CA     90010289350
844389A4691975   CARMEN       ROMERO                       NC     90011369046
8443924A25B264   RENEE        SHERLEY                      KY     90014242402
84439A2268B154   JAVIER       JORDAN                       UT     31005030226
84439A26761928   FRANK        JONES                        CA     46072700267
84439A4374B569   SILIVIA      CORDOVA                      OK     90008540437
8443B799541275   ANDRE        MACK                         PA     90013707995
8444134265B581   RENEE        MEDRANO                      NM     35033953426
8444136A74B569   DIASHAE      BIZZELL                      OK     90015133607
8444214798B823   RUSSELL      GRASS                        HI     90014221479
84442463876B97   DALIA        CARLOS                       CA     90013924638
84442656472B29   ALEXIS       FLORES                       CO     90013826564
8444284519154B   CONSUELO     SANCHEZ                      TX     75073788451
84443395297B3B   ALFONSO      ORTIZ                        CO     90013713952
84443439897B38   OSCAR        HERNANDEZ                    CO     39020744398
8444371776194B   ALEJANDRO    GONZALEZ                     CA     90010837177
84443A52891837   DEANNA       BROWNE                       OK     90008940528
84444399776B97   GOLD COAST   EQUITIES INC                 CA     46066783997
844443A665B183   ANTONISHA    JORDAN                       AR     90014583066
844451A2772B62   LUZ          GARCIA                       CO     33002761027
8444535795B24B   MARIAH       MURRY                        KY     90011483579
8444541488B154   TONI         CARBONA                      UT     90002934148
8444556458B168   JAMES        DAVIS                        UT     90008795645
8444639A681538   GABRIEL      ORTEGA                       IL     90004773906
844464A174B22B   JOSEPH       STUBLAR                      NE     27069294017
84446584597B3B   JERI         MORELLI                      CO     90014175845
8444683724B54B   MICHAEL      ERWIN                        OK     90012328372
8444693919154B   CLAUDIA      LOZANO                       TX     75054149391
8444724618B154   STEFFANIE    TOMLIN                       UT     90011342461
8444735415B183   CAROLYN      MILTON                       AR     23054813541
844485A3993771   PAUL         DORSEY                       OH     64569135039
8444923A88B154   JAMES        WORKMAN                      UT     90015272308
8444948434B524   JOEL         MCCRACKEN                    OK     21553614843
8444953A497138   JUAN         PEREZ                        OR     90013435304
84449765A91975   SHERRY       BURTON                       NC     90012367650
84449A36651333   YUMEKIA      BRUTON                       OH     90014790366
84449AA5A41262   SALVADOR     JUAREZ                       PA     51062100050
8444B81849154B   LORENZO      HERNANDEZ                    TX     90004878184
8445114639154B   RAY          VILLELA                      TX     90013841463
8445116626194B   MARYSOL      MACIAS                       CA     90013211662
844517A8291837   JEFFREY      BREWSTER                     OK     90013047082
844519A9581677   SIRWILARD    NAYLOR                       MO     29053819095
84452133498B29   JOAB         VIDALES                      NC     90008741334
84452463272B29   REBECCA      URICH                        CO     33080544632
84452878A5B581   NICOLE       CERVANTES                    NM     35038358780
8445288159712B   KELLY        RITTER                       OR     44013578815
84452938A76B97   ARNULFO      CARBAJAL                     CA     90010309380
8445326A45B24B   TAWANDA      LINDSAY                      KY     68074052604
84453486A97138   SAVANNA      NORRIS                       OR     90007024860
84454145A76B97   MAURICIO     MORALES                      CA     90013841450
8445483579154B   JOE          BARAJAS                      TX     90010458357
84454839872B62   ANGEL        GURERRO                      CO     90007648398
8445558A776B97   JUAN         PONCE                        CA     90000755807
8445559A18B135   DANIEL       BIRCHETT                     UT     31096495901
84455857272B29   ARYANA       RODRIGUEZ                    CO     33027878572
84455A1A56194B   TREVOR       BENSON                       CA     46072140105
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1241 of 2350


844562A916194B   JOHNNIE         AUSTIN                    CA     90015122091
84456418772B29   GINGER          MORRIS                    CO     33078294187
8445651496194B   ZOHEYLA         SAAVEDRA                  CA     90014265149
84456637A91975   CHERYL          NELSON                    NC     90014836370
8445692988B154   KATHRYN         RATTO                     UT     90015189298
8445724598B154   JACKLIN         ROSAS                     UT     90010582459
84457359872B33   ELIZABETH       JONES-PRESTON             CO     33054513598
8445787674B569   CARLOS          RENDON                    OK     90013268767
84457A73991558   DANIEL          ONTIVEROS                 TX     90004340739
8445846468B168   KIESSA          HARVEY                    UT     90013764646
8445898145B139   JOHN            CAMERON                   AR     90010629814
8445916179154B   FERNANDO        RAMIREZ                   TX     90013841617
84459A2A651362   BARRELL         BROWN                     OH     90014760206
8445B388672B33   ALEJANDRO       QUINONES                  CO     90005473886
8445B587281677   LUANN           TAYLOR                    MO     90008715872
8445B59138B168   ISIDRO          CRUZ                      UT     90012225913
8445B618384371   DIAMOND         JONES                     SC     90014606183
8446129718B168   KAREN           SKIPPS                    UT     31019862971
84461476997B38   JOHN            LUCIO                     CO     90012874769
8446148795B24B   ERIC            FULKERSON                 KY     90014144879
8446157A972B62   CESAR           MARTINEZ                  CO     33076945709
84461613A5B183   NORRIS          TILLMAN                   AR     23087446130
84461637A91975   CHERYL          NELSON                    NC     90014836370
8446178114B569   PATRICIA        HUGHES                    OK     21578267811
8446187996194B   DENISE          GARZA                     CA     90014278799
8446239914B22B   HENRY           WALKER                    NE     27075773991
844623A4371977   ADOLFO          VALDEZ                    CO     90012223043
8446273538B823   CLARENCE        ARIANO                    HI     90014147353
8446276A68B154   WAYNE           SIMPSON                   UT     90011177606
8446285A95B183   ROSA GABRIELA   BERRIOS                   AR     90015078509
84462A33891979   CRYSTAL         KIRBY                     NC     90002070338
84463419397B38   ANGELA          VALDEZ                    CO     39065214193
84463842372B33   WILLIAM         BLACKBURN                 CO     33083268423
84464665A51334   KENYA           SHAKIR                    OH     90012616650
8446486258B643   MARIO           ZUNIGA                    TX     90014988625
84465681972B33   LORRAINE        SEWELL                    CO     33072126819
8446568A691979   OLAD            MUSTAFA                   NC     90011686806
84466244772B33   BRANDY          CAPRA                     CO     33030702447
84466519876B97   JESSIE          MABIE                     CA     90013925198
84466A81181677   JAKE            HUCKABEY                  MO     29017840811
844673AA25B183   TOMAS           LOPEZ                     AR     23085683002
844678AA191979   ANGEL           TURNER                    NC     17046598001
8446796792B28B   BREYAWNA        PITTMAN                   DC     90014609679
8446922178B154   VERONICA        NEEMA                     UT     90012702217
84469635397B38   LUIS            TORREZ                    CO     90014736353
8446993519154B   RUBEN           CASTREJON                 TX     75033629351
8446B81625B183   ANTHONY         DEADMON                   AR     90010098162
8446B85485B24B   ALEXIS          ARNOLD                    KY     90013508548
8446B8A1886B6B   JENNIFER        ZIRGER                    CT     90013488018
8446BA25151362   JASON           YACZIK                    OH     90014760251
8447149744B569   DEBORAH         CLARK                     OK     90009424974
84471A1A54B569   CESAR           LOPEZ                     OK     90010710105
84472A32491979   BOBBY C         GREEN                     NC     17042480324
84472A33572B29   ERICA           RAYMOND                   CO     90014110335
8447341A95B581   ELSA            HERNANDEZ                 NM     35011784109
8447396478B168   CIRO            AVILA                     UT     90014419647
84473A66991979   TYRONE          JACKSON                   NC     90014700669
8447421A597138   JEANIA          GENTZLER                  OR     90009322105
84474287A72B29   LEROY           FISH                      CO     90012032870
84474473376B97   VIVIANA         VENEGAS                   CA     90013294733
844745A315137B   ORLANDO         MAGETTE                   OH     90009815031
8447475A38B154   GARY            CISNEROS                  UT     90001897503
8447586578B163   ASHLEY          MORROW                    UT     31086388657
8447586A577537   CATHERINE       TOURAND                   NV     90009428605
8447619862B28B   LATARSHA        JOHNSON                   DC     90014131986
8447624375B254   HEATHER         NEELLEY                   KY     68000632437
844765A639712B   BRITTANIE       SPIER                     OR     90006545063
8447668A18B154   STEPHEN         SKIVER                    UT     90013806801
84476A45291979   RUBEN           PARDON                    NC     90002190452
84477298897B38   KYAW            HUNG                      CO     90010582988
84477445A2B271   DANITA          KING                      DC     90003944450
8447811929154B   CARLOS          GIRAD                     TX     90012101192
84478531A97B38   RECECCA         PAYAN                     CO     39002945310
8447858538B168   SHAWNDELL       SMITH                     UT     90013325853
84478586197B3B   MARTIN          ARREOLA LUCERO            CO     39091365861
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1242 of 2350


84478637A91975   CHERYL        NELSON                      NC     90014836370
84478774572B62   BRUNO         NAVARRETE                   CO     33072847745
84478A34751362   DAWN          REED                        OH     90014760347
8447984A276B97   JENNIFER      RIOS                        CA     90009398402
84479A57641262   JOHN          LOSEKAMP                    PA     90014900576
8448123A691837   OSWALDO       JIMENEZ                     OK     21000132306
8448131476194B   JUAN          CERVANTES                   CA     46010993147
84481349A72B49   NETTIE        JARVIS                      CO     90010313490
84481A37872B62   ROBERT        BISSON                      CO     90009200378
84482355A71977   SCOTT         GRIFFITH                    CO     90013813550
84482A56591979   RONNNIE       BETHUNE                     NC     90000920565
8448344A661928   CYNTHIA       HERNANDEZ                   CA     90013284406
84483594A5B183   TAUANA        COURTNEY                    AR     90014385940
8448422385B24B   RHONDA        LANGFORD                    KY     90014152238
84484922876B97   XOLOTL        CONTRERAS                   CA     46031509228
84484A68272B29   JULIA         LERMA                       CO     33072540682
844851A8891979   EBERE         NWOJI                       NC     90003761088
844851A9747897   DEXTER        THOMAS                      GA     90013061097
84485936172B29   ROCIO         ALEMAN                      CO     33051199361
84485A31372B33   KATHY         ARCHULETTA                  CO     90006090313
84485A4839154B   GRISELDA      BARRERA                     TX     90010920483
8448632984B27B   EMERITA       AQUINO                      NE     90015053298
84486557A9712B   MARIANA       PEREZ                       OR     90001685570
84486926876B97   BRITTNEE      RONAN                       CA     90010679268
8448822AA9185B   ALEJANDRO     PALACIOS                    OK     21049292200
8448858834B22B   BRANDIE       HIPPS                       NE     90012765883
8448872AA7B379   CABERO        VASQUEZ                     VA     90012947200
8448915945B24B   JESSE         ALEXANDER                   KY     90012961594
8448919788B163   DANIEL        DURAN                       UT     31079801978
84489279A85856   CARLOS        RIVERA                      CA     90015182790
8448B2A894B22B   LASHAY        DAVIS                       IA     90015212089
8448B546761935   OSCAR         VASQUEZ                     CA     90002125467
8448B84724B569   JESSICA       RINEHART                    OK     90000578472
84491138876B97   DEYCE         LOPEZ                       CA     90004361388
844924A856194B   KAYLA         VALDEZ                      CA     90010714085
8449255628B154   BRYAN         MCNEAL                      UT     90007895562
8449289888B163   DUSTIN        ROBINSON                    UT     90003118988
8449332239154B   CHRISTINA     EGURE                       TX     90006403223
8449383394B569   TERRIEL       YOUNG                       OK     90013298339
84493928572B62   CARLOS        ESTRADA                     CO     33044339285
84494526A81677   RONG          TOUCH                       MO     29088895260
8449458762B246   ILIAH         LOGAN                       DC     90007225876
844964AAA7B359   EBLIN         SABILLON                    VA     90011514000
844967A7A85856   ANDRES        PEREZ                       CA     46098317070
84496829197B38   ALEJANDRA     ESPINOZA                    CO     90004498291
8449863A64B569   CELESTE       ISLER                       OK     90012176306
8449878819154B   MARTIN        MALDONADO                   TX     75019177881
8449921238B168   JESUS SILVA   HERNANDEZ                   UT     90011062123
844993A2A2B981   ELIAZAR       MONTEZ                      CA     90013063020
8449B233872432   THARP         LORAINNE                    PA     51065742338
8449B383191837   KARINA        PACHECO                     OK     90010043831
8449B38519154B   IRMA          REYNOSO                     TX     90009333851
8449B772197138   KRISTEN       GAINES                      OR     90012637721
8449B95443B388   MICHAEL       FARRELL                     CO     33002519544
844B1136991975   CORDELL       HARLEY                      NC     90014771369
844B1323671977   KAREN         RUNCK                       CO     90014693236
844B151948B154   GARY          CARR                        UT     90012865194
844B1A28497B3B   ROXANNA       TYLER                       CO     39030510284
844B2254441262   AKIL          GRIFFIN                     PA     90004042544
844B2316791837   LOUIS         LOMAN                       OK     90001573167
844B233A48B168   ADOMINIC      VERSLUIS                    UT     90014473304
844B2667276B97   PEDRO         RAMIREZ                     CA     46073406672
844B294615B183   JOHN          JOHNSON                     AR     90012299461
844B3113761921   SILVIA        PALACIOS                    CA     90010751137
844B414639154B   RAY           VILLELA                     TX     90013841463
844B418485B581   JUAN          URVINA                      NM     90003191848
844B41A4685936   SUZANNE       GRAY                        KY     90012781046
844B4367371977   TINITY        DABNEY                      CO     38008053673
844B4633341262   DAVID         LYDIC                       PA     51034676333
844B4778751362   MONTA         WOOD                        OH     90014747787
844B4984A72432   JOSEPH        CUMER                       PA     51000359840
844B4A43A5B24B   ANNA          JAGGERS                     KY     90010380430
844B543AA93771   WILLIAM       SHEFFIELD                   OH     90008014300
844B5589A4B22B   TISA          MAXWELL                     NE     90013745890
844B561A897125   RAYDELL       DENTON                      OR     90010526108
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1243 of 2350


844B581A491837   ROSALINDA      RENDON                     OK     90011358104
844B6516147897   JOI            WELCH                      GA     90014715161
844B6831A91837   RITA           GONZALEZ                   OK     90009068310
844B6A36A51362   BRANDI         NADLER                     OH     66005890360
844B7363476B97   NELY           CANSECO                    CA     90012493634
844B73A7176B97   AMANDA         MATA                       CA     90014733071
844B742146194B   CHRIS          GLOVER                     CA     46080094214
844B7823A97B3B   ROBERT         BRANT                      CO     39060788230
844B798874B569   JORGE          GONZALEZ                   OK     90012039887
844B863256194B   CHRIS          SHALLAL                    CA     90011086325
844B975612B28B   TIFFANY        KEYS                       DC     90000897561
844B9877772B29   IMANUEL        VERA                       CO     90009538777
844BB163A47897   DEANNA         SIMMONS                    GA     90014471630
844BB421497B3B   COREY          HILL                       CO     90010124214
844BB458972B62   CAROLINE       VENGLAR                    CO     33027624589
844BB53429154B   JESSICA        PADILLA                    TX     75010535342
8451188798B163   PATRICIA       MURRY                      UT     90011768879
84511A8478B168   JOHN           JOOSTEN                    UT     90013520847
8451217842B275   LATISSUE       TOLES                      DC     90007571784
8451268294B569   ERISHA         JEFFERSON                  OK     90011546829
84512773A2B28B   NICOLE         JONES                      DC     90014147730
84512A26A6194B   LUIS           MORALES                    CA     90008530260
84513A51A61934   DOLORES        NASSI                      CA     90011670510
84513A81351362   MARIA LORENA   CORTEZ                     OH     90014760813
8451437356194B   RAYMOND        ESQUIVEL                   CA     90013123735
8451477939154B   STEPHANIE      MARTINEZ                   TX     90012017793
8451542A176B97   JOSE LUIS      GARCIA                     CA     90014834201
84515894372B33   LORETTA        LAMORIE                    CO     33040358943
8451636478B154   COLLIN         STRICKLAND                 UT     90014623647
84516368A51362   SAMUEL         HURRY                      OH     90010833680
845165A319154B   TIFFANY        WELCH                      TX     90004395031
84516753A72B33   ROXANNA        MCCURDY                    CO     33006337530
84517849A41263   STACIA         YOUNG                      PA     90013688490
84518149397B38   DANYEL         VELASQUEZ                  CO     90015201493
8451851816194B   ELPIDIA        CHAVEZ                     CA     46080665181
84518825A24B33   DENISE         WILLIAMS                   DC     81085068250
8451899A772B29   LORENZO        CHAVEZ                     CO     33044589907
84518A58A77537   ESTHER         REYNAGA                    NV     90005410580
8451948472B28B   SHANICE        WALKER                     DC     90009224847
8451B469391975   DANIEL         BELLO                      NC     90013484693
8451B49AA51362   WILLIAM        GARRETT                    OH     66091894900
8451B71669154B   DULCE          TOUAR                      TX     75015777166
8451B76775B581   MELANIE        SEGURA                     NM     35027917677
8451B78A94B569   LEE            MINER                      OK     90012157809
8451B88438B168   ANDRELLA       RIVAS                      UT     31043098843
8451BA44A91837   SONNY          HENDERSON                  OK     90008110440
8452159412B825   ANGELE         MUSAFU                     ID     90014985941
8452252999154B   ANNA           MILIAN                     TX     75031285299
8452264659154B   GLORIA         ARROYOS                    TX     90012616465
845226A9A77537   FANY           GOMEZ                      NV     90003546090
8452314568B154   JUDITH         MANN                       UT     90010431456
84523171A97B3B   JUSTIN         FRANK                      CO     90010241710
8452351695B183   SHAUNTARA      JORDAN                     AR     90011995169
8452445969154B   OCTAVIO        QUINTANAR                  TX     75053154596
8452479295B24B   BRUCE          MCMILLIAN                  KY     68088107929
84525687297B38   KARLA          SEAMAN                     CO     39059436872
845256A7185936   DARIUS         SMITH                      KY     90014196071
8452587128B168   BRANDON        QUINONEZ                   UT     90010738712
84525882A33698   JASMINE        LITTLE                     NC     12018578820
84526458972B62   CAROLINE       VENGLAR                    CO     33027624589
8452751125B24B   EASU           MITSUI                     KY     90001605112
8452778725B581   REBECCA        SISNEROS                   NM     35087577872
8452793A593771   KATIE          ROBINSON                   OH     90012089305
8452896634B967   JOE            HAWKINS                    TX     90012279663
84528A41371977   KASANDRA       ATENCIO                    CO     90013850413
845292AAA41262   DOROTHY        MAY                        PA     51091292000
8452946246194B   CAROLINA       LEANO                      CA     90009034624
845294A272B271   BLANCA         VILCHE                     DC     90005014027
8452B382572B29   LAKRISHA       MORENO                     CO     90005093825
8452B477897B3B   MARLA          HORNER                     CO     90009174778
8452B49968B168   TYLER          RICHARDSON                 UT     90013384996
8452B93594B569   LAPORSCHE      LINDSEY                    OK     90012999359
84531224A97138   JACOB          COLARIC                    OR     90001802240
8453123624B569   ERIKA          SALAZAR                    OK     90013672362
8453135199154B   JONATHAN       SYLVIA                     TX     90012953519
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1244 of 2350


84532174972B29   LUIS             CARBAJAL                 CO     33067211749
8453235986194B   MARINO           PRADO                    CA     90012743598
84533A74672B33   MAURA FERNANDA   COTES GOMEZ              CO     90010220746
8453451A297B3B   VANETTE          STARR                    WY     39097785102
845345A5893771   TALEYA           NOBLE                    OH     90009515058
8453565A35B139   E                RAGLIN                   AR     23043326503
845357A765B24B   CHERYL           WILLIAMS                 KY     68000277076
8453693AA76B97   ROY              VALLEZ                   CA     46031529300
84537116497B3B   JOSEPH           MEYERS                   CO     90014301164
8453789A985936   KEVIN            BARRON                   KY     90008878909
84538135A76B97   SANDRA           GONZALEZ                 CA     90007671350
845382A7693771   NICOLE           NEWTON                   OH     90013282076
8453835939154B   MAESE            MARICELA                 TX     90012733593
84538378772B62   MANUEL           MARQUEZ                  CO     90013293787
84539373697B3B   ANTOINE          SALAZAR                  CO     90001443736
845398AA276B97   CLAUDIA          HERNANDEZ                CA     90013928002
84539A59272432   WILLIAM          WHITEHEAD                PA     51012700592
8453BAA292B271   DERRICA          DAVIS                    DC     90008860029
84541A8115B183   TYREE            ROBINSON                 AR     23087980811
845427A6391979   NUBIA            JUAREZ                   NC     90013497063
8454286578B163   ASHLEY           MORROW                   UT     31086388657
84542A9998B168   DAMITRI          MENDIAS                  UT     90014970999
845438A965B183   JORGE            BARROSO                  AR     90012408096
8454391162B28B   BEN              ORLANDO                  DC     90012789116
8454396478B168   CIRO             AVILA                    UT     90014419647
84543A47485856   MANUEL           DIAZ CHAVEZ              CA     90008750474
845443A882B271   BRIDGETT         ELLISON                  DC     90002293088
8454452435B183   WAYNE            IMMEL                    AR     90015255243
8454456379154B   GABRIELA         ACOSTA                   TX     75010775637
8454471389154B   GABRIELA         ACOSTA                   TX     90012227138
8454489A571977   TAMBREY          SPEAKS                   CO     90013418905
84545343A72B33   TROY             BANG                     CO     90015093430
8454551496194B   CAROLINA         MALDONADO                CA     46070065149
8454574835B581   SARAH            ROMERO                   NM     35087177483
8454593932B28B   ADILENI          CRESPO                   DC     90011799393
8454618145B581   JAMES            MARES                    NM     90011851814
8454642A28B154   BRUCE            JOEY                     UT     31095754202
8454665695B581   JAMES            MARES                    NM     90010586569
8454665A88B823   APRIL            AMBLER                   HI     90015356508
8454666A791837   JEREMAHA         MURPHY                   OK     21092946607
8454698875B581   JAMES            MARES                    NM     90011529887
84546A74477537   JUAN             CRUZ                     NV     43009560744
84547218897B38   CHANTAY          VASQUEZ                  CO     90015202188
84547662597B3B   DOMINIC          BROWN                    CO     90012126625
8454836838B145   JR               FUGIT                    UT     31063053683
84548449A76B97   VAIU             ALE                      CA     90014844490
8454913A18B168   JANET            PETERSEN                 UT     31065181301
84549171576B97   MANUEL           MILLER                   CA     90012621715
8454999785594B   ELOY             BAILON                   CA     90008729978
8454B559191979   JUAN             TORRES                   NC     90009405591
8454B91438B168   SHEILA           KROGH                    UT     90011859143
8454BA2845B581   BALDEMAR         FLORES                   NM     35080510284
845513A9161928   PAULA            MCKINNEY                 CA     46060273091
8455183669154B   YOLANDA          SALINAS                  TX     90013098366
84552119A91837   MEREDITH         PHELPS                   OK     90014841190
8455262844B569   RACHEL           SOUTHERN                 OK     90011136284
8455282554B569   SHELET           ARMSTRONG                OK     90013728255
8455314895B139   LAQUAVIS         SMITH                    AR     90004731489
845532A8491837   JIMMY            HARDEN                   OK     21093882084
8455369A25B183   TWANA            LIDDELL                  AR     90004796902
8455371A393771   MARTHA           GINTER                   OH     90007367103
84553A45476B97   DARIO            RAMOS                    CA     90011630454
84554A65397B3B   JEFFREY          KIRBY                    CO     90006170653
84555465A97138   JOHN             ROGERS                   OR     44003564650
8455549313192B   DANIELLE         JOHNSON                  IA     90009434931
8455567A52B265   KELLY            SMITH                    DC     90003726705
84556384972B29   JACOB            REEVES                   CO     90014143849
8455654775B24B   TAMEKIA          PARKER                   KY     90011585477
845565A972B28B   MUHAMMAD         ILYAS                    VA     90012125097
84556917597B3B   JOSEPH           BLANCO                   CO     90012269175
84557352672B33   KELLY            READING                  CO     90012823526
845574A7551362   KELLY            MATHEWS                  OH     90006934075
8455753755B24B   PHILLIP          HICMAN                   KY     90000195375
84557546172B62   DEBRA            SANFORD                  CO     33055275461
845583A6451362   JOHNEICE         HEARD                    OH     90014773064
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1245 of 2350


845586A2372B33   WILLIAM      BUCHER                       CO     33063976023
84558AAA55B183   FRANK        DOCKET                       AR     90013700005
8455935768B154   EDWARDS      IRAHETA                      UT     90008013576
8455977719185B   JARED        NISSEN                       OK     21009567771
8455993A472432   KELLY        METZ                         PA     90005389304
84559A3A472B33   SERGIO       ESPARZA                      CO     90004820304
84559A63141262   JEANNINA     WOODSON                      PA     90014900631
84559AA1576B97   MENDEL       HARDRICK                     CA     90012840015
8455B15A772B33   ROSEANN      BRITTON                      CO     33018221507
8455B72874B569   GISELA       CASTANY                      OK     90012667287
8455BA14376B97   VANESSA      WATZ                         CA     90012830143
8456163774B569   EVELYN       GONZALES                     OK     90011136377
8456192548B168   HAYLEE       VINCENT                      UT     90013509254
84561AA7572B29   LISA         GARRETT                      CO     90014650075
84562728972B33   MARIA        FLORES                       CO     90010697289
84563764172B64   ELIZABET     MORALES                      CO     33061847641
8456388286194B   MOZERRATH    ZARATE                       CA     90002678828
845638A6397B3B   MARGARET     ARCHULETA                    CO     90013078063
845639A8361928   SANDRA LEA   SWANNER                      CA     90013209083
84563A99A5B183   CHERINE      BANKS                        AR     90012960990
84565216A8B163   SHANNA       CHIVERS                      UT     31019872160
84565278572B62   KIMBERLY     ARCHER                       CO     90015192785
8456596828B154   GOFF         NICHOLE                      UT     90006809682
845672A776194B   KIARA        MARTINEZ                     CA     90014912077
84568559897B3B   BIANCA       MONCADA                      CO     90015355598
84569834A71977   SAHWNA       KINAMAN                      CO     90000108340
84569AAA34B569   AZENETH      CARDONA                      OK     90006100003
8456B155551362   STANLEY      HENRY                        OH     90014761555
8456B336191975   JAMES        FREEZE                       NC     90005413361
8456B8A6397B3B   MARGARET     ARCHULETA                    CO     90013078063
8456B947491979   TRENA        FRIESON                      NC     90000659474
845713A1676B97   DAVID        CALAFATO                     CA     90013063016
84571771372B62   JOSE         DIAZ                         CO     90011147713
84571834A71977   SAHWNA       KINAMAN                      CO     90000108340
8457196266194B   MARIA        RAMIREZ                      CA     90010679626
8457224223163B   DEBRA        VERGE                        KS     90013122422
8457231426194B   RYAN         RUSSEL                       CA     46080693142
845723A558B168   JAMES        SCHMIDT                      UT     31006063055
8457247134B967   ROSETTA      HELMICH                      TX     90005994713
84572639272B33   MARIAM       WILLIAMS                     CO     90013006392
845728A7971657   SEAN         JOSEPH                       NY     90015548079
8457328528B163   ANGEL        D MERWORTH                   UT     90011772852
84573385497B3B   ISAIAH       BENIVAMONDE                  CO     90013043854
84573846772B33   CASANDRA     RODRIGUEZ                    CO     90013868467
84575234472B62   RAUL         FRANCO                       CO     33036212344
845752A339154B   IVAN         STURDIVANT                   TX     90013842033
8457583A461934   MARIA        ANGEL                        CA     90010608304
84575A96197B38   CASSANDRA    RIVERA                       CO     90012630961
8457718AA41262   RODNEY       WEBB                         PA     51039521800
845772A5485856   JENNIFER     BIEN                         CA     90011782054
8457815298B163   MICHAEL      LUCERO                       UT     90009821529
84578312A77537   MONIQUE      RISTICH                      NV     90011863120
84578A25576B97   VENITA       HAZEN                        CA     90012840255
84579291A72B33   YESENIA      PAZ                          CO     33042832910
8457995252B28B   BARBARA      MCCRARY                      DC     81035519525
84579A81793771   CHRISTINA    WYATT                        OH     90009070817
8457B272777537   MARCIA       OWENS                        NV     43065442727
8457B58995B24B   KIMBERLY     CRAIN                        KY     90014635899
8457B774691975   SCOTT        PUGH                         NC     90010827746
8457B779941262   NICOLE       ARRINGTON                    PA     51021337799
8457B77A972B62   MARIA        MORENO                       CO     90010927709
8457B861233639   WILLIAM      RHODES                       NC     90008788612
8457BA4765B183   AYANA        HAMILTON                     AR     90014500476
8458124239185B   JANET        HERNANDEZ                    OK     21049352423
84581581A85936   GARTFIELD    WEBB                         KY     90010325810
8458173A893771   TIFFANEY     BEASLAY                      OH     90013137308
845817A9A41262   JOSEPH       STANICK                      PA     90012247090
8458187649154B   SANDRA       RODRIGUEZ                    TX     90014308764
8458242185B24B   LAVERNE      PIKE                         KY     90015094218
84582A4469712B   ASHLYN       MARIE COOLIDGE               OR     44088880446
8458312385B183   DONISHA      ALLEN                        AR     90012721238
8458397455B139   EVE          BEMLEY                       AR     23063219745
845839A2872B83   ROBERTA      TRUJILLO                     CO     90011549028
84583A81676B97   ROSA         CORTEZ                       CA     90012840816
84583A9865B183   DONISHA      ADAMS                        AR     90011190986
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1246 of 2350


84584754A91837   TOMMY             BROOKS                  OK     90013987540
84584AA588B154   JOSE              CHAVEZ                  UT     31037940058
8458632358B163   SAVANNAH          MAUGER                  UT     90008533235
845863A8185936   WILLIAM           NANGUELU                KY     90007643081
8458672142B28B   JONESSA           HIGGINS                 DC     90010927214
8458681A26194B   KATIE             ORTEGA                  CA     90014928102
8458711594B22B   NYACHOAT          DOANG                   NE     90013541159
8458735AA72B62   JOSHUA            WILLIAM                 CO     90014713500
84587A61776B97   RYAN              ST.CYR                  CA     90015230617
845882A798B154   PATRICIA          ORTIZ AMEZQUITA         UT     90014812079
8458887A191242   MICHAEL           EPLEY                   GA     14598748701
84589767972B62   SARA              HERNANDEZ               CO     33000027679
8458B4A4A2B28B   VERNICE           CAMPFIELD               DC     90011284040
8458B559676B97   BEATRIZ           CRUZ                    CA     90010765596
8458B818693766   LESLIE            SPEARS                  OH     90010858186
8458B83869154B   IRENE             ROMERO                  TX     75073528386
8458B975285936   LATISHIA          TAYLOR                  KY     90008419752
8458B984991837   TERESA            FLORES                  OK     21033469849
8459158718B829   HAUNGA            VEA                     HI     90014825871
8459178288B168   ALYSON            CAMPBELL                UT     90008797828
84591988A5B24B   CHELSEA           BLAIR                   KY     90011689880
84592365176B97   VICTOR            VEGA                    CA     90012513651
84593334372B33   MARIA             ALONSO                  CO     90008883343
8459341565B183   HENRY             ROBINSON                AR     23066704156
84595483A8B163   JAY               ANDERSEN                UT     90005644830
8459557594B231   ASHLEY            SWARTSZ                 NE     90009585759
8459576765B24B   AMBER             BIBB                    KY     68047717676
845957A7991837   TERESA            VINAJA                  OK     90014897079
8459616255B581   SARA              ARMIJO                  NM     35096621625
8459626A976B97   JAMES             OWENS                   CA     90012922609
8459697764B569   FFR 20792RACHEL   DALTHORP                OK     90012999776
84597A41A85856   DAVID             JASZEWSKI               CA     90015020410
8459838898B168   FABIAN            REYES                   UT     90008933889
8459963A981677   DENISE            JOHNSON                 MO     29046846309
84599A45391242   AUDREY            HILLSMAN                GA     90005530453
84599A7A75B139   SANDRA            SCOTT                   AR     23069540707
8459B134A61934   JENNIFER          CONTRERAS               CA     90006891340
8459B66975B921   COTY              PAINE                   WA     90015536697
8459B7A694B22B   DEBRA             JONES                   NE     27016657069
8459B965761928   HUMBERTINA        PITA                    CA     90013049657
8459BA46172B29   HERMAN            ORTIZ                   CO     33049050461
845B1322461934   GIOVANN           MEJIA                   CA     90010603224
845B1A76991979   FRANKY            KOURNEY                 NC     90014930769
845B1A89561928   JESSICA           TAYLOR                  CA     46097730895
845B2633793771   ROBERT            KELLEY IV               OH     64553456337
845B285238B163   YAIZ              ANTHONY                 UT     90011768523
845B285329154B   DE LA RIVA        IRMA                    TX     90010068532
845B289A971977   BEATRIZ           RAMIREZ-ZAMORA          CO     38089798909
845B3248591979   RAYMOND           WEBSTER                 NC     17081912485
845B352214B967   NIKKI             BOLDEN                  TX     76583245221
845B3758797138   DAVID             SHULTZ                  OR     44008297587
845B3886171924   TROY              TORREZ                  CO     90008778861
845B3A77381677   JOSELUIS          TELLO                   MO     29077280773
845B4158831278   MAURICE           HOPKINS                 IL     90015361588
845B4366472B33   STEVE             COGAN                   CO     90014713664
845B472A624B93   PAUL              FREEMAN                 DC     90014767206
845B4735397B38   MARIA             MENDEZ                  CO     90015007353
845B4A59851362   DWAIN             JENNINGS                OH     90014760598
845B515934B22B   JHONN             PENA                    NE     90010641593
845B54A594B296   JULIO TEXIDOR     RAMOS                   NE     90013564059
845B5584381677   MICAH             MABION                  MO     90007895843
845B562928B168   WENDY             MASSEY                  UT     31048896292
845B5A65861928   BEAU              PATERSON                CA     46006690658
845B7415597B3B   JEREMY            FEDERICO                CO     90014964155
845B7477276B97   MIGUEL            CRUZ                    CA     90006474772
845B7496191837   TOBY              SHEETS                  OK     90014154961
845B7636572B62   ADAM              LUCERO                  CO     90012906365
845B831729154B   ROBERT            PIÑA                    TX     75093643172
845B879338B154   DAX               DONOVIEL                UT     31067257933
845B8969291837   JACKIE            MEEKS                   OK     90012029692
845B8984271977   JOSH              CORBIN                  CO     90008059842
845B9437761928   BOBBI             ADAMS                   CA     90009564377
845B948345B183   ANDRE             SMITH                   AR     90003124834
845B9A99391975   DAVID             ALMEIDA                 NC     90013150993
845BB31989154B   JOHNNY            ORTEGA                  TX     75011933198
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1247 of 2350


845BB59584B569   BRITTNEE     CORTEZ                       OK     90011135958
845BB62578B168   JOHNATTAN    ARISMENDI                    UT     90005176257
845BB6A154B569   TIFFANY      WRIGHT                       OK     90014806015
845BB84958B154   DAOUD        OSMAN                        UT     90014758495
845BB94589712B   AGUSTIN      LOPEZ SERAPIO                OR     44003589458
845BBA28972B33   BRIAN        MARTINEZ                     CO     90013280289
845BBAA6591979   MICHELLE     EVANS                        NC     90013290065
8461128465B139   ANGELICA     SONORA                       AR     90002992846
8461182764B569   LASHANTEE    MABRY                        OK     90013328276
84611927572B29   ANDREA       MATHES                       CO     90012529275
8461251552B28B   PRICILLA     BROOKS                       DC     90011805155
8461262A89154B   EMERARDO     PACHECO                      TX     90013306208
8461354928B154   BRANDY       LUCKAU                       UT     90009565492
8461374A776B97   JESUS        CABALLERO                    CA     90003337407
8461398932B271   STEPHANE     MAMATY                       DC     90003559893
84613A7459154B   GARRY        GREEN                        TX     75002990745
8461423494B569   AHNDREA      BOYIDDLE                     OK     90008762349
846142A5647897   JOSHUA       TOLLIAS                      GA     90014852056
8461437618B168   DAVID        SATTERWHITE                  UT     90013283761
8461523552B28B   SHERICE      MUHAMMAD                     DC     90011932355
8461574775B183   SAMANTHA     CRUM                         AR     90000687477
84615987372B62   LORENA       PRESTEGUI                    CO     90010339873
84616439197B3B   ZACHARY      MOORE                        CO     90013724391
84617A7922B256   RAQUEL       JUAREZ                       DC     90000230792
84618743576B97   IVAN         FLORES                       CA     90013947435
8461967569154B   KARINA       ALVAREZ                      TX     90010996756
84619873872B62   CHAD         JONES                        CO     33025128738
8461B28512B252   SEAN         MADDOX                       DC     81096612851
8461B46155B183   APRIL        NOID                         AR     90014714615
8461B922972B33   ADELA        SANCHEZ                      CO     33018259229
8462159AA97B38   ZACHARY      DUMAWAN                      CO     90015275900
84621A84897B38   REBECCA      RODRIGUEZ                    CO     39021550848
8462299A697B38   JOSEFINA     GONZALES                     CO     90011099906
84622A6A797B38   ANDRES       MARCOS LOPEZ                 CO     90013090607
84623189676B97   ANTHONY      PEREZ                        CA     90014261896
84623391197B3B   DYLLON       WATERHOUSE                   CO     90014333911
8462381A185936   KYM          BUNTON                       KY     67027128101
8462421349154B   STEPHANIE    HERNANDEZ                    TX     90013842134
846244A816194B   DONNA        JONES                        CA     90013034081
8462514116194B   MARIA        MEDINA                       CA     46095861411
84625872376B97   RYAN         AGUILAR                      CA     90013948723
84625978572B29   SILVIA       CRUZ AGUILAR                 CO     90008309785
84625A77697B38   DANELLE      KINDSFATHER                  CO     90006720776
84626187772B62   KATIE        CASIAS                       CO     33010001877
8462632135B139   TINA         ALLEN                        AR     23095803213
8462647872B256   DARRELL N    JONES                        DC     90005794787
84626553A85856   PRASHANT     BANHATTI                     CA     90013985530
8462671724B569   CERRINA      PULVER                       OK     90011137172
84626A47861934   NARZIZA      BRAT                         CA     90010610478
846279A6577537   LATAUSHA     MILES                        NV     43048479065
846279A7541275   TERRI        DAVIS                        PA     51093219075
846279A9747897   MONICA       AKINE                        GA     90013459097
846291A5981677   JENNIFER     BOBAK                        MO     90009371059
84629614276B97   DIANNE       MANN                         CA     90010966142
84629A41672B29   EDDIE        MERRIT                       CO     90015230416
8462B25165B139   SCOTT        BALL                         AR     90006972516
8462B36422B28B   CARL         JOHNSON                      DC     90012323642
8462B529976B97   MARCELINA    LEYVA                        CA     46048415299
8462B553872B62   BRITTNEY     HAMILTON-VERNON              CO     33018465538
8462B611591979   OLIVA        COTS                         NC     90014496115
8462B714697B3B   ADRIAN       TREVIZO                      CO     90013867146
8463227778B168   MARLENE      MOK                          UT     31032112777
8463247A785856   LE DUE       EMMANUELLE                   CA     90002624707
846329A5497B3B   RIGOBERTO    INFANTE                      CO     90015329054
8463468A472B29   VICTORIA     BANKS                        CO     90010666804
84634982A2B967   JOSEPHINE    VANLIER                      CA     90011349820
84634A32A5B24B   JEREMY       RASMUSSEN                    KY     90014830320
84635186472B33   SHAUNTE      MILLS                        CO     90014571864
84635559A9712B   AMERICA      PENALOZA BARRERA             OR     90010625590
84635985676B97   FERNANDO     TOBAR                        CA     90013949856
84635A25193771   KRISTIE      MITCHELL                     OH     64511030251
8463721AA6194B   FERNANDO     SUAREZ                       CA     90014362100
84637936276B97   ARACELI      SANTIAGO                     CA     90012859362
84637A25897B3B   MARVIN       MEGIA ALVARADO               CO     90012810258
8463819949154B   MARGARITA    FIERRO                       TX     90010131994
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1248 of 2350


84638334672B33   ANITA        CANDELARIE                   CO     33004453346
84638752697B38   KRYSTAL      LEMUS SOTELLO                CO     90012567526
846387A924B569   DAENA        FLORES                       OK     90008557092
8463B28365B24B   STAR         DUNCAN                       KY     90014952836
8463B368572B33   JUAN         LEOS                         CO     90013433685
8463B526185936   BENNY        LUMBA                        KY     90014745261
8463BA84A97B3B   BEVERLY      NOYES                        CO     90002230840
8463BA92233698   ALEASE       WOODLEY                      NC     12088730922
84641714A97B38   JAIMIE       HIBSHMAN                     CO     39002447140
8464298139154B   ELIZABETH    CORTEZ                       NM     75065689813
84642A96A5593B   JO ANN       PETTITT                      CA     90006800960
8464322A891975   SELMA        SANTOS                       NC     90014942208
8464385A572B62   JERARDO      RAMIREZ                      CO     90010978505
84644227597B3B   NICHOLAS     TRUJILLO                     CO     39007272275
84644698272B29   DWAYNE       GRAHAM                       CO     90008736982
846447A162B28B   RAVEN        MOORE                        DC     90013157016
84644A8365B183   BLANCA       ARDON                        AR     23098160836
84645295A61928   A            FELAN                        CA     46079522950
8464585A597B38   YVONNE       CONDE                        CO     39004898505
84646318372B8B   DESIREE      KLINE                        CO     90012673183
84646537A91979   AHMED        ABED                         NC     90011895370
84646AA2A8B168   MICHAEL      STRINGER                     UT     90013990020
84646AA939712B   OSCAR        BELTRAN                      OR     90007320093
8464754A897B3B   MELISSA      ALVARADO                     CO     90010425408
84647693A9373B   KYLE         GILLENWATER                  OH     90012286930
8464812434B22B   STEVE        MYERS                        IA     90014621243
8464851224B569   VALENTINA    MARTINEZ                     OK     90011005122
84648A22A76B97   JOSUE        GARZON                       CA     90013950220
8464953A691242   LAWRENCE     LANIER                       GA     90010365306
8464B34A25B24B   CHAMELLE     HOLT                         KY     90008983402
8464B63495B921   TYLER        JEFFRIES                     WA     90010826349
8465127685B183   CANDICE      CALDWELL                     AR     90015462768
8465165A372432   HEATH        GIZONI                       PA     90005406503
84651681572B33   KARINA       DELGADO-VAZQUEZ              CO     33089636815
8465181A291979   JEWELL       GRANT                        NC     90013778102
846521A2297138   CRISTAL      GUZMAN                       OR     44076451022
84652244276B97   SELVI        TORRES                       CA     90013952442
846524A429154B   ELIAN        HOLGUIN                      TX     90012094042
8465396A593771   RANDY        ALLEN                        OH     64555009605
8465477388B168   ALEX         MORENO                       UT     90012607738
84654A5619154B   MARIA        CHAVEZ                       TX     75039350561
8465512235B139   SERVANDO     RODRIGUEZ                    AR     90006151223
8465528999154B   ISELA        GARZA                        TX     90014392899
8465534315B581   FIDENCIO     MENDEZ                       NM     35072493431
8465627945B581   MARIO        GUERRA                       NM     90002732794
84656527A93771   JEFFERY      THACKER                      OH     64579045270
846568A284B548   COOWESTA     GRAY                         OK     90006018028
84656941672B33   NORMAN       HARRIS                       CO     90001709416
84657335297B3B   ARACELY      GONZALEZ                     CO     39070853352
8465736A451362   MARLEEN      WILLIAMS                     OH     90014773604
84657458A9154B   DIANA        RAMIREZ                      TX     75098104580
8465798A86194B   FORREST      WOODRUFF                     CA     46080239808
8465858716194B   CARINA       CEBALLOS                     CA     46009805871
84658A6775B24B   ROGER        CLARK                        KY     68091790677
84659278A41275   DIEDRA       DIBUCCI                      PA     90014772780
8465B337251362   LATRISTA     TIREY                        OH     90014773372
8465B63114B569   SUSAN        DECKER                       OK     90013906311
8465B8A5825151   MANUEL       VALLE SALAZAR                AL     90015128058
8465B96A185821   JASON        LIVESAY                      CA     90000499601
84661314A76B97   ASHELY       SABLAN                       CA     90013953140
84661396897B3B   CHRISTINE    NOSSOUGHI                    CO     90012343968
8466156734B569   HERNAN       VALLADARES                   OK     90012955673
84661599A91975   TOMASA       ROMAN LAGUNA                 NC     17007605990
846626A6547897   JAQUAN       FREEMAN                      GA     90014346065
84662A63485856   DAVID        ZIMMERLE                     CA     46038300634
84663244597B3B   KYRIA        ELLIOTTE                     CO     90010512445
84663314A76B97   ASHELY       SABLAN                       CA     90013953140
8466359179154B   JAQUELINE    GUITERREZ                    TX     90012875917
8466374444B569   GREGORY      DORSEY                       OK     90014817444
8466453A161934   MARISSA      GARCIA                       CA     90010695301
84664879472B33   ELIZABETH    TOM                          CO     90005978794
8466515A772B33   DANIEL       DEEPAK                       CO     90012661507
8466555578B163   ZELAYA       MARIA                        UT     31039585557
8466674125B26B   TONI         HALL                         KY     90004227412
84666A22A61928   KALI         HAMILTON                     CA     90012530220
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1249 of 2350


8466721539154B   MARISELA     SAUCEDO                      TX     75010782153
8466766A897B38   SELENE       BAUTISTA                     CO     90012616608
8466861385B183   RICKEY       BEAVERS                      AR     23093996138
8466861642B28B   GREGORY      ROBERSON                     DC     90011806164
846689A666194B   ISRAEL       BONILLA                      CA     46014939066
8466999744B933   JULIANA      KONNING                      TX     90009089974
84669A21291979   ELIDETH      MORAN                        NC     90004640212
84669A74A5B183   LOYD         GATLIN                       AR     90012120740
8466B82235B183   RAQUEL       HAMPTON                      AR     90012478223
8466B829272B62   JUAN         SEGOVIA-MENA                 CO     33084988292
8466BA21351337   EDDIE        SHERMAN                      OH     66094690213
8467146A372B62   ALICIA       MESTAS                       CO     90006474603
8467168328B168   GARY         NIELSEN                      UT     90001916832
8467197775B581   JEFFREY      SALGADO JR                   NM     35016509777
84671A98171977   JEFFEREY     SHURE                        CO     38073080981
8467217844B569   SHARIKA      WELCH                        OK     90015041784
84672731A85936   CAMILO       MASARIEGO                    KY     90015307310
8467397865135B   SELWYN       WARD                         OH     90009159786
84673A13277537   ARMANDO      SANTANA                      NV     90011130132
8467444342B28B   DELONTE      MONTGOMERY                   DC     90014604434
8467446A471956   DAYLE        KING                         CO     90010894604
8467468789154B   LILIA        SOLIS                        TX     90009256878
84675717A2B28B   DELANO       WINGFIELD                    DC     90011807170
846768A894B22B   BRITTNEY     CORNS                        NE     90011368089
84676A1165B24B   ELIZABETH    CLARK                        KY     90013590116
84676AA6341262   SHAVAWN      JOHNSON                      PA     51094320063
8467753984B569   CYNTHIA      LOVE                         OK     90008555398
8467778522B271   LATINA       FOLK                         DC     81011927852
8467813575B581   ANDREW       ULIBARRI                     NM     90003121357
8467845688B163   LOIS         CRUZ-SALAZAR                 UT     31082714568
8467933A293771   FRANCES      ROLLINS                      OH     64513013302
84679717476B97   JAIME        MEJIA                        CA     46065457174
846797A2972B29   IRENE        DEHERRERA                    CO     90012247029
8468156A385936   JOANNA       CHINN                        KY     67014325603
84681971397B38   CLAYTON      FLESHMAN                     CO     90011139713
8468215A58B154   DANIEL       AXTELL                       UT     90010721505
84682415972B62   ESMERALDA    CORREA                       CO     33070084159
8468241817242B   ERICK        SONTHEIMER                   PA     90003684181
8468249458B154   DONI         HARRIS                       UT     90011594945
84682A38A98B29   ALISON       NOVINC                       NC     90013270380
84683311A61934   ANGELA       WILLIAMS                     CA     90011673110
8468385A19712B   BERNARDO     GUTIERREZ                    OR     44012798501
8468399145B139   BOBBY        FERRIEL                      AR     23028809914
84684632A5B183   JACQUELINE   MCNIEL                       AR     90015166320
84685546697B3B   CRYSTAL      DIMMITT                      CO     39009345466
846856A5585936   MARTIN       SALAZAR                      KY     90004026055
84688525376B97   STACIE       TAPIA                        CA     90000345253
84688586972B62   MONICA       NAJERA                       CO     90008515869
84688619872B29   ANGELA       HENRY                        CO     33082606198
84689393872B62   ALAN         EVELYN-MOE JR                CO     33094273938
84689A5A271956   SUSAN T      MCTAVISH                     CO     38041320502
84689A8818B163   ANA          MARSENARO                    UT     90013100881
8468B29396194B   LELIE        REYNOLDS                     CA     90011172939
8468B438A8B154   EVON         WEBB                         UT     31016704380
8468B9A274B569   MEGAN        DESOUZA                      OK     90013029027
8469211A84B967   DENIS        VASQUEZ                      TX     90006621108
8469233898B154   SARAHI       VELAZQUEZ                    UT     90008003389
84692345797B3B   RICHARD      BACA                         CO     39005263457
8469258458B163   PETER        SOLACE                       UT     90003075845
846926A655B183   RENO         MUHAMMAD                     AR     90013796065
8469272A785856   VICTOR       HERRERA                      CA     90010017207
84692929A93771   PHILLIP      JENKINS                      OH     90013239290
84693515372B29   RAYMOND      GARCIA                       CO     90015205153
8469386578B168   ASHLEY       MORROW                       UT     31086388657
84693973A61928   JAMES        ROTH                         CA     90013049730
84693AA4872B62   MIGUEL       ANAYA                        CO     90009640048
84694111997B3B   NACY         SWISHER                      CO     90010061119
8469421674B22B   L            MORGAN                       NE     90011862167
84694338A72B29   URIEL        DE LUNA                      CO     90012983380
8469493196194B   CARLOS       BAHENA                       CA     46034749319
84694A73893771   VIVIENNE     A ROPER                      OH     90007990738
8469511A581677   TIFFANY      ALGER                        MO     90012301105
8469551575B139   DOMINIQUE    PIGGEE                       AR     23078255157
8469581565B59B   PHILLIP      SANGRE                       NM     35083778156
8469722168B163   ASHLEE       STARTBUCK                    UT     31025472216
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1250 of 2350


8469726AA91242   VERA         COLLINS                      GA     90005222600
8469739148B168   SOPHIA       LOSOYA                       UT     90001363914
846974A395B24B   YAINET       RODRIGUEZ ESPINOSA           KY     90011894039
8469826A897B38   MIRIAM       GUTIERREZ                    CO     90012772608
8469828A885936   KENYA        WILLIAMS                     KY     90008302808
84698364A41275   MELISSA      STANLEY                      PA     90013123640
8469844639154B   REBECA       CARMONA                      TX     75016134463
84698714572B62   LEONARDO     VASQUEZ                      CO     90014347145
8469893375B581   CANDICE      YSLAS                        NM     35013019337
8469893622B28B   KRYSTAL      GRIMES                       DC     90008969362
84698A11181677   SHEILA       MOSLEY                       MO     29056500111
846B1296791242   JOHN         STUMP                        GA     90002122967
846B15A566194B   ARREDONDO    JULIE                        CA     90005485056
846B1A35685936   JOY          BLEDSOE                      KY     90013130356
846B221188B168   THOMAS       JIMENEZ                      UT     90011962118
846B2314877537   TERESA       MCCOY                        NV     90004643148
846B2695393771   IVR          ACTIVATION                   OH     90008336953
846B287665B581   VIRGINIA     VALLEJOS                     NM     35092648766
846B2968491979   JACOB        CABRAL                       NC     90000789684
846B297994B577   MISTY        THOMPSON                     OK     90010759799
846B2A85185936   MATT         SMITH                        KY     67041570851
846B2A93151362   MICHELLE     GROOMES                      OH     90011610931
846B2AA138B154   ROSA         GARCIA                       UT     90013690013
846B2AA5176B97   MARCELO      BUCIO                        CA     46063050051
846B311655B183   RACHEL       BUTLER                       AR     90011191165
846B3123377537   LEILANI      AKIU                         NV     43091821233
846B3212851362   ANTWON       HEARSTON                     OH     90014762128
846B3422833661   AIRAME       RABB                         NC     90014574228
846B4117797B38   STEPHANIE    TRUJILLO                     CO     90014471177
846B449188B154   JESSICA      TRUJILLO                     UT     90010874918
846B4815372B62   RAYMUNDO     CARDENAS                     CO     33041168153
846B4835772B33   ELIDIO       MUNOZ                        CO     33034408357
846B4963176B97   RAUL         SOTO                         CA     90012339631
846B4A76671977   GORDON       CIRULI                       CO     90010950766
846B5329585856   MOISES       LEON                         CA     90001133295
846B5619261928   CHAZ         GAMBREL                      CA     90007956192
846B5742591979   PABLO        ARGUETA                      NC     90003087425
846B5A62541262   DERRANCE     FREY                         PA     90007270625
846B6124876B97   LESLLIE G.   ROSAS                        CA     90012841248
846B6237A2B28B   LOLITTA      CAPLE                        DC     90011802370
846B714A34B569   AVERILL      MOORE                        OK     90011151403
846B717639154B   MARCELA      RODRIGUEZ                    TX     75046881763
846B736348B163   PAUL         SCOTT                        UT     90011773634
846B93A9797B38   RACHEL       ROBERTSON                    CO     90015253097
846B9924577537   REBECCA      FILIPAS                      NV     43010129245
846B9A56991975   CLAUDE       KAZADI                       NC     90011450569
846BB351897138   JOSHUA       MCGONIGAL                    OR     90011063518
846BB7A792B28B   DEBRA        GRAVETTE                     DC     90015027079
8471113A671977   TRISHA       VALDEZ                       CO     38093891306
8471164765B183   REGINA       JOYNER                       AR     23023616476
8471241A191979   MANUEL       GARRIDO                      NC     90008424101
8471399A49154B   HERIBERTO    CARRILLO                     TX     90011009904
84714185297B3B   MARY A       KRAMER                       CO     39095471852
8471433A585936   PHILIP       DICKSON                      KY     90012413305
84714A56272B33   SALENA       HOELL                        CO     90008290562
847152A2585938   JAMIE        COWANS                       KY     90011752025
84715487A4B55B   BILLIE       COWO                         OK     90015094870
84715636572B62   ADAM         LUCERO                       CO     90012906365
8471616A172B29   RYAN         NYGREN                       CO     90011521601
8471653225B24B   DANIEL       NORMORE                      KY     90015265322
847168A769154B   VALERIE      MARQUEZ                      TX     90014308076
8471724558B154   AMIE         JACKSON                      UT     90012912455
847179A815B581   CRYSTAL      ACOSTA                       NM     35065099081
8471824375B254   HEATHER      NEELLEY                      KY     68000632437
8471844A985936   BRADON       OSTEN                        KY     90009074409
84718485A76B97   RACHEL       BENDER                       CA     90013954850
84718774897B3B   DEMITRY      TOWNSEND                     CO     90011957748
84719194697B38   ANITA        SELLERS                      CO     90004361946
8471929574B569   SAMANTHA     MYERS                        OK     90008562957
84719963A76B97   MANUEL       VALDEZ                       CA     46056749630
84719A9118B168   REZEK        YAHYA                        UT     90013420911
84719AA694B22B   KALEENA      SAXTON                       IA     90014270069
84719AA9793771   REBECCA      VOGL                         OH     64523760097
8471B4A6793771   CHARLES      THOMASON                     OH     90013574067
8471B67288B163   ROGER        HALL                         UT     31007366728
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1251 of 2350


84721151576B97   JUANA             ARIZMENDI               CA     90010691515
8472162958B163   BRYAN             PRICE                   UT     31084486295
8472194998B168   PEDRAZA           JENNIFER                UT     90004889499
847222A8197138   SAMANTHA          MARTINMAAS              OR     44097642081
847225A385B183   WARD              SWEETIE                 AR     90007975038
8472299552B28B   MICHAEL           SPOSATO                 DC     90014609955
84724139872B62   VILLALOBOS        ALICIA                  CO     90011171398
8472463A893771   ALEJANDRO         MENDOZA                 OH     90012436308
8472487234B569   CASEY             SLONE                   OK     90011138723
84725192A85936   GLORIA            SILVA                   KY     90001491920
8472535AA72B62   JOSHUA            WILLIAM                 CO     90014713500
8472577998B168   REBECCA           MULFORD                 UT     31095257799
847266A9897B3B   CHRISTOPHER       HUXLEY                  CO     90014576098
84726A4828B154   RYAN              PARRY                   UT     31071540482
8472731A693771   DOMINIQUE         WHITE                   OH     90013693106
8472749AA9154B   BECKY             ALVARADO                TX     75022704900
8472762A13163B   JOSE              LOPEZ                   KS     90014706201
84727645697B38   MICHAEL           RODRIGUEZZ              CO     90010766456
84728292276B97   ALEX              CABRERA                 CA     46055352922
8472837A541275   LUCILA            PABLO LOPEZ             PA     90011523705
84728A3746194B   MAURICE           DUMAS                   CA     90012640374
8472929A34B22B   TUL               RAI                     NE     90013782903
84729711276B97   JOHNNY            JAIME                   CA     46052257112
8472998245B183   SHANDA            CURTIS                  AR     90009139824
8472B533A7B425   MARKOS            GEBREMEDHIN             NC     11098055330
8472BA86785936   MAVIEL            AREBALO                 KY     67036080867
8473112356194B   KIMBERLY          FERGUSON                CA     90014381235
84731277172B62   ESTELLE           JUTEAU                  CO     90001522771
8473139938B154   JOSE              LEON                    UT     31037023993
84731881A91975   HECTOR            PEREZ                   NC     90001738810
847321AAA8B154   ROSA              LOPEZ                   UT     90014401000
8473249818B163   HERNAN            CORTEZ                  UT     90010764981
84732556897B3B   SHAWNA            S HURT                  CO     90010625568
84732A9968B163   DYLAN             GITTINS                 UT     90013100996
84733533997B38   FELIX             CASTILLO                CO     39095335339
84733892A71977   IRENE             ARMIJO                  CO     38092408920
8473391657B349   RENE              KAMOBAYA                VA     81085359165
8473421A593771   MELVIN            BROWN                   OH     90005792105
8473469695B183   MARIA GUADALUPE   MAYORGA                 AR     90006096969
84735472297B3B   DAVE              ESQUIVEL                CO     90014014722
84735572172B62   NANETTE           DAWSON                  CO     33037695721
8473588A161928   RHIANNON          WILLIAMS                CA     90007168801
8473633857242B   AUDREY            SENTZ                   PA     51016853385
8473638A897B38   ADRIAN            WILSON                  CO     90011183808
8473695236194B   MELISSA           DELGADO                 CA     46083019523
84737793A5B24B   STEVEN            MCCOY                   KY     90014967930
8473797A25B24B   JOHN              ROUS                    KY     90013339702
84738472876B97   EDWIN             HUGHES                  CA     90015194728
8473865228B168   CARLOS            MAXSON                  UT     90013456522
847391A216194B   ROBERT            MORRIS                  CA     90000411021
8473964A197B38   RAYMUNDO          CRUZ                    CO     90011216401
8473996534B22B   FRED              BRUCE                   NE     90011209653
8473BA54676B97   KALANI            CROSBY                  CA     46067770546
847419A7891975   LILIANA           CRISTOBAL               NC     90014649078
8474221A377537   AUDRA             HOBBS                   NV     90013452103
8474249519154B   DIANA             RUIZ                    TX     90010124951
84742861A97B3B   NICHOLUS          BUTCHER                 CO     90000398610
8474333636194B   MARC              MARC                    CA     90009713363
84743544776B97   TAPIA             LOPEZ                   CA     90013955447
847438A3393137   OLUCHI            UNAKALAMBA              OH     90000958033
8474461572B271   TAYLOR            DIGGS                   DC     90009676157
8474471824B22B   SHANNON           NOLAN                   NE     90014597182
8474479919712B   DANIEL            GOMEZ                   OR     90004107991
8474496339154B   CLAUDIA           MUNOZ                   TX     90007989633
84745184272B62   MARIA             BARRAZA                 CO     33084251842
8474573398B163   DESIREE           CONDER                  UT     90012957339
84745A73861934   KIMBERLY          PEREZ                   CA     90006950738
8474618318B168   MARGARET          B MILLOM                UT     90009431831
84746866397B3B   JOHN              THOMAS JR               CO     39057728663
84746A1499154B   MELISSA           LOPEZ                   TX     75079830149
8474743583B323   TOM               YOST                    CO     90006944358
8474751A641275   YNDRIGUE          HODELIN                 PA     90013935106
8474775489154B   ALEJANDRO         CAMPOS                  TX     90009137548
8474824A351362   BELINDA           GLOVER                  OH     66098722403
8474854615593B   MARIA             UVALLE                  CA     48066895461
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1252 of 2350


8474861A141262   CHEYENNE          MORGAN                  PA     51090466101
847492A192B271   TIFFANY           THOMPSON                DC     81014222019
84749327776B97   ARACELY           SANCHEZ                 CA     90002413277
84749587A72B62   KENNETH           SPOND                   CO     90013645870
84749847872B62   WILL              COULTER                 CO     90011488478
8474B35A25B183   JOE               WALKER                  AR     90013923502
8474B68A791837   MEGAN             MATHEWS                 OK     90013436807
8474B6A5A85856   LEELA             ADDEPALLI               CA     90014156050
8474B779891979   CLAUDIO           IGNACIO                 NC     90014997798
8474B793931278   RYAN              YOUNG-FARRIS            IL     90015567939
847512A178B154   GABRIELA          MARTINEZ-RODRIGUEZ      UT     90010952017
847515AA881671   DIANA             FIELDS                  MO     90010985008
84751649A8B168   MARIA             RUIZ                    UT     31011266490
8475215995B581   DAWN              MONTOYA                 NM     90010591599
8475297764B569   FFR 20792RACHEL   DALTHORP                OK     90012999776
847536A2A91837   PETER             GUINN                   OK     90010976020
84753A8778B154   ABBEY             NEMETH                  UT     90013270877
8475449375B24B   CLAUDIO           ORTEGA                  KY     90011864937
84754712376B97   LUIS              SMITH                   CA     90014847123
84754899197B38   DAVID             PRAYTOR                 CO     90011218991
8475517A34B569   STEPHANIE         SINYARD                 OK     90011151703
84755246476B97   BRITTANY          JOBE                    CA     90008022464
8475528345B183   ANNETTE           JAMES                   AR     23067982834
8475559A74B22B   CLAYTON           BROWN                   NE     90007115907
84755A55277537   ERIC              CONTRERAS               NV     90009640552
84756655997B3B   LEONEL            VICENTE                 CO     39020886559
84756A6674B569   DINORA            DOMINGUEZ               OK     90011990667
84756A98747822   LATONYA           STANLEY                 GA     90009360987
84757114A91523   ALFONSO           MORENO                  TX     90004521140
847576A1441262   KALEENA           SMART                   PA     51084686014
8475774A34B569   MARIA             GOMEZ                   OK     90009607403
8475798299712B   AMANDA            MILTIMORE               OR     44049339829
84758182A6194B   TYRA              RUTLEDGE                CA     90014561820
8475826A672B29   ROSALIO           GONZALES                CO     90007592606
8475849238B168   ALYSHA            ALLEE                   UT     90004944923
8475857254B569   JESSI             PATRICK                 OK     90008565725
8475934177B329   JORGE             LOPEZ                   VA     90007853417
847593A8771977   ANDREA            CHACON                  CO     90013293087
84759441A8B823   SKIMER            SKIMPY                  HI     90014734410
847599A685B24B   SHAQUITA          MCNEAL                  KY     90010999068
8475B146A9376B   MELLISA           ROUCH                   OH     90012641460
8475B488251362   VICTORIA          GIVER                   OH     66040934882
8476173286194B   VICTOR            CATILLO                 CA     90014177328
8476191549154B   KAY               SHARP                   TX     90013159154
8476194696194B   LAE               PISA                    CA     90012419469
84761A19585936   ROBIN             SLEET                   KY     67078000195
84761A9842B271   THOMAS            MASON                   DC     81014230984
84762284697B3B   JOSE              MARTINEZ                CO     39060512846
84763731472B33   MARIA             AMEZOLA                 CO     33097937314
84763822A76B97   DAVID             RODRIGUEZ               CA     46052818220
8476397185B24B   CHANCE            BOBBITT                 KY     90010909718
84764456376B97   TIFFANY E         POWELL                  CA     90011384563
847646A998B163   CAI               GREEFF                  UT     90003416099
8476514595B24B   DRAGA             MESINOVIC               KY     90007441459
8476541A972B62   FRANCISCO         CEJAS                   CO     90011464109
8476581956194B   SUMMER            SMITH                   CA     90005518195
8476593644B569   LESA              JORDAN                  OK     90011139364
8476669765B183   THERESIA          BAKER                   AR     90006096976
8476683A55B24B   MONEDA            MULLINS                 KY     90014548305
8476684A797138   CARLEE            VALLE                   OR     90008388407
8476688952B256   IRA               FAIR                    DC     90010578895
84766AA1677537   JUAN              RAMIREZ                 NV     90010680016
84767314772B33   DAVID             HICKS                   CO     90013963147
84767568976B97   EVE               CABINESS                CA     90013955689
8476793424B569   CHELLY            WELLS                   OK     90012469342
84768495572B29   JUANA             RAMIREZ                 CO     90007054955
84768796A76B97   FRANCISCO         MEJIA                   CA     46092747960
847688AA15B183   GABRIELLA         COX                     AR     90015408001
84768A32951362   AMANDA            COX                     OH     90014780329
84768A33397B38   LUIS              SALDIVAR                CO     90005990333
8476953644B531   MICHAEL           WEBB                    OK     90011015364
8476992674B569   TAMMY             JOHNSON                 OK     90008749267
8476B239671977   FIDEL             LUCERO JR               CO     38037932396
8476B435685856   JOE               CROWE                   CA     46001314356
8476B618541275   BRUCE             URASKY                  PA     51073306185
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1253 of 2350


8476B828441262   JOHN               FULMORE                PA     51086428284
8476B841191975   SIDNEY             MOODY                  NC     90013878411
8476BA66657128   WALTER             WALTER                 VA     90013540666
8477124916194B   MIRNA              HENRIQUES              CA     90012572491
84771A4673B39B   HOLLY              DEHAAI                 CO     90008080467
847724A214B569   ANGELICIA          MARTINEZ               OK     90008954021
84772752A4B22B   CHANDA             REAVES                 NE     90014657520
84773139676B97   GORGE              LUIZ                   CA     90012911396
8477357532B28B   VERONICA           WILSON                 DC     81014485753
8477366724B569   TRISH              THOMPSON               OK     90003906672
84773917597B3B   LAURA              FINLEY                 CO     90012979175
84775535A41275   PARIS              LUNDY                  PA     90014495350
8477557465B581   BRENDA             GRIEG                  NM     35004045746
84775936A71977   MARCELINO          TRUJILLO               CO     38045129360
8477639138B154   GUADALUPE          RUIZ                   UT     90006083913
8477685A393771   JEFFREY            DUDLEY                 OH     64515178503
8477728179154B   ALFREDO            MALDONADO              TX     90013572817
84777A23251362   WILSON             ROSLYN                 OH     66052710232
84778535A61934   JENNIFER           CHAVES                 CA     90011675350
8477886628B163   WESLEY             LEONARD                UT     90001548662
84778886A6B871   JERRY              JARRETT                WI     90014508860
8477959392B28B   TONY               BARHAM                 DC     90014605939
8477961298B168   STEVEN             BARMORE                UT     31031656129
8477971196194B   FRANK              MORALES                CA     90011907119
8477985394B569   TERI               HUFFMAN                OK     90005848539
8477985755B24B   MICHELLE           MYERS                  KY     90014648575
8477993382B256   BREEANA            SKIPPER                DC     90005809338
8477B492597B38   ADRIENNE           GARCIA                 CO     90003054925
8477BA23293771   JOSEPH             PENNY                  OH     64569040232
8478113A193783   EBONY              TASTE                  OH     90006291301
8478128A341275   MIGUEL             GRACIA                 PA     90013402803
847813A945B352   DANIEL             NODINE                 OR     90011943094
84782257A93771   SHEREE             JARMAN                 OH     90014812570
84782618776B97   CHARLES            ROGERS                 CA     90013956187
84782A3A35B24B   STEPHANIE          STURGEON               KY     90013640303
8478419447B349   AIDA               RUIZ                   VA     90007941944
8478441785B183   MARK               BATT                   AR     90003324178
84784A22893771   TRAVIS             IRVINE                 OH     90012870228
84784AA4A71977   JOSEPH             REDFERN                CO     90014360040
8478528119712B   JANET              SANDERS                OR     44096482811
8478571454B967   MICHELLE           PARKER                 TX     76516597145
8478574234B569   ZACKARY            BUNDY                  OK     90008567423
84785924176B97   CARLOS             ROCHA                  CA     90014859241
8478618229154B   JOSE               REYES                  TX     90012941822
84786353A4B967   SCHOFIELD          HINKSON                TX     90006803530
84786442A72432   WILLIAM            CHAMBERS               PA     90006194420
847864A417B457   REINA              LAUREANO LARA          NC     90012454041
84789386797B3B   MARQUEZ            ANAYA                  CO     39066873867
847894A2241262   BARINDER           SINGH                  PA     90006344022
8478983AA91975   YOLANDA            TYNES                  NC     90014348300
8478B292872B62   ANDREA             ONTIVEROS              CO     90009562928
8478B567471977   GLORIE             FALCON                 CO     38065005674
8478B615161928   YENIDEL            VIDAL                  CA     90013346151
8478B645691975   LAKISHA            GORDON                 NC     90012966456
8478B7AA791979   TAYLOR CHRISTINA   DUNN                   NC     90012987007
8478BA4265B24B   DANNY              ENGLE                  KY     90010730426
8479121255B24B   KEITH              GILLESPIE              KY     90012862125
84791235376B97   JOSE ANTONIO       CONTRERAS              CA     90003812353
8479134694B967   MELINDA            LEE                    TX     90000643469
84791A98272B33   DANELLE            CHAVEZ                 CO     33052620982
84792541A72B62   CARLA              ARENIVAR               CO     90002305410
847931A6A91975   JANIE              ALFORD                 NC     90012861060
8479342277B473   RUFUS              HOBSON                 NC     90005104227
84794169A61928   MIGUEL             HILARINO               CA     90000391690
8479494134B569   YESSICA            ATAYDE                 OK     90014149413
8479495274B569   YESSICA            ATAYDE                 OK     90011549527
8479523828B829   MANILYN            BLANDO                 HI     90014232382
8479575823B347   JULIE              LOR                    CO     90012647582
8479688325B24B   ORLANDO            GONZALEZ               KY     90012808832
84797727276B97   MARTHA             GILLETTE               CA     90014927272
847979A5977537   MICHAEL            MENDEZ                 NV     43006919059
84798128976B97   SANDRA             ZAMORA                 CA     90012931289
8479833649154B   SANDRA             ELIZONDO               TX     90014373364
84798774197B3B   MATTHEW            HOISER                 CO     39074377741
8479897794B967   PAYGO              IVR ACTIVATION         TX     90006819779
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1254 of 2350


84798A71681677   SAN           JUANA                       MO     29055930716
84799256A4B22B   TRAVIS        DRUCKER                     IA     27099732560
8479926A693771   STEVE         RIDGLEY                     OH     90009862606
8479939582B28B   BRIAN         BOWMAN                      DC     90002493958
84799499572B33   JESICA        CUTLER                      CO     33084594995
8479953319712B   MALLISA       RODRIGUEZ                   OR     44077675331
8479959A38B154   MAWIA         DIN                         UT     90003595903
8479981A785936   PRECIOUS      SPICER                      KY     90015268107
84799A56741262   DAISY         YAO                         PA     90012300567
8479B121A5B183   BONITA        PARKS                       AR     90015441210
8479B16A961928   JOAQUIN       DOMAGOSO                    CA     46054671609
8479B858A72B29   AURORA        PACHECO                     CO     33066038580
847B1323976B97   EDRAS         JOHNSON                     CA     90007143239
847B1456581677   PEDRO         FRANCO                      KS     90004314565
847B1A48933698   OPEOLUWA      OSINOWO                     NC     12041400489
847B1A55472B33   JORGE         PICASO                      CO     33017140554
847B2499847897   RONALD        GEORGE                      GA     90011154998
847B2531576B97   FAUSTO C      RAMIREZ HERNANDEZ           CA     90014805315
847B2697885856   AMY           RAMIREZ                     CA     90013946978
847B299835B739   TINO          ROJAS                       MN     90015469983
847B2AA8A9154B   RENE          NUNEZ                       TX     90010270080
847B331174B569   TONEEKA       SMITH                       OK     21585393117
847B3A3435B183   KATRICE       FRANKS                      AR     90015450343
847B422329154B   ALONSO        RUBIO                       TX     90013842232
847B438525B183   CHRIS         LUSTER                      AR     90000613852
847B455146194B   JARED         CLEAVER                     CA     46096915514
847B4568997B3B   YESENIA       LOPEZ                       CO     90012015689
847B4881976B97   PARKER        PETERSON                    CA     90009798819
847B4928991975   DERICK        HINTON                      NC     90011499289
847B5492797B3B   THOMAS        TORRES                      CO     39045724927
847B5585677537   SUSAN         ESTES                       NV     43075345856
847B5697885856   AMY           RAMIREZ                     CA     90013946978
847B5779961928   TRACY         MAYWELL                     CA     90007357799
847B6173597138   RANDI         KEARNS                      OR     90008371735
847B62A6885936   JOSE          HERNANDEZ                   KY     90014382068
847B6357672432   CHRIS         CLEMENS                     PA     51056053576
847B6671372B29   FERNANDO      VALENCIANO                  CO     33092596713
847B6773947897   EUGENE        BONNER                      GA     14047977739
847B67AAA6194B   EDUARDO       GARCIA                      CA     90014917000
847B7261A97B3B   RAMON         PEREZ                       CO     90000242610
847B79A4A76B97   CONCHA        VIRGEW                      CA     90012879040
847B8679797B3B   IGNACIA       TORRES                      CO     90014886797
847B8754793739   HOLLY         MILLER                      OH     90006117547
847B938148B163   DALE          STANLEY                     UT     31087683814
847B9611276B97   NIDIA         HERNANDEZ                   CA     90011576112
847B9656791975   KRAZI         FLIP                        NC     90012816567
847B9711541262   JENNIFER      NORKEVICUS                  PA     51098027115
847B9894597B3B   VERONICA      HERNADEZ TORRES             CO     90013168945
847B99A5491399   SANDRA        CASTILLO                    KS     90013209054
847B9A99971977   JOHN          DURAN                       CO     90014550999
847BB564A8B163   PEGGY         GUNN                        UT     31037165640
847BB64614B569   CHRISTOPHER   DAUGHERTY                   OK     90013926461
847BB682885856   KIRBY         COLLINS                     CA     90013946828
847BB872276B97   ROLAND        DICKSON                     CA     90012878722
847BB93473B34B   MARICRUZ      LOYA                        CO     33005879347
847BB988791975   AMBER         SMITH                       NC     90002819887
8481135825B24B   HENRY         HAGAN                       KY     90006673582
8481213A35B24B   EBONY         JOHNSON                     KY     68052931303
8481241985B183   ALEXIS        DENSON                      AR     90015584198
84812875197B3B   NANCY         MAYORGA                     CO     39040668751
848129A4585856   KAREN         BARCLAY                     CA     46093219045
84812A66771977   JEREMY        BOND                        CO     90010060667
8481359A871977   MONIQUE       BALLEJOS                    CO     90013685908
84813892197B3B   SCOTT         VANHOFWEGEN                 CO     39097468921
848139A4472B29   WILLIAM       SHEDD                       CO     90010499044
84813A9A972B62   JESUS         CAMILA                      CO     90008670909
8481435595B183   ANTHONY       WILLIAMS                    AR     90009333559
8481438542B28B   JULIO         CASTRO                      DC     90011813854
8481464554B569   CAVIN         BURTON                      OK     90013416455
8481517499712B   SILVIA        SANCHEZ                     OR     44014951749
848155A7281677   GREOH         CJOHOR                      MO     90006095072
84815A5354B22B   LISA          MOSITES                     NE     90004810535
84817598A5B183   JENNIFER      WALKER                      AR     90013165980
848178A7576B97   SINTIA        GONZALES                    CA     46015688075
84817952397B3B   MARCO         REYES                       CO     90015139523
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1255 of 2350


8481839938B168   JOSHUA                MILLER              UT     31036983993
8481854214B569   CINTHIA               MORAN               OK     90012285421
848199A782B28B   TELMA                 VILLATORO           DC     81012069078
8481B248291975   DANIEL                DE JESUS            NC     90010832482
8481B861985856   SUCELY                MOLINA              CA     90010018619
84821545472B62   TERENCE               HUGHES              CO     90013845454
8482292A19154B   VICTOR                SANCHEZ             TX     90014919201
84823146A81677   YURI                  GOMEZ               MO     90010211460
8482314866194B   LETICIA               ARMENTA             CA     46077341486
8482378A49712B   CATHERINE             ROBBOLINO           OR     90005347804
84823A3294B569   PAMELA                MARTINES            OK     90008570329
84824164A6194B   CASTANEDA FINANCIAL   GROUP               CA     90006851640
8482419AA5B24B   DEJAN                 COSIC               KY     90003671900
8482421214B569   MEGAN                 PELSTER             OK     90014902121
8482428849712B   SARAH                 ALVAREZ             OR     90002942884
8482441A19154B   ADRIAN                MUNOZ               TX     75022704101
84824665476B97   MAGALY                VELASCO             CA     90013956654
8482487124B22B   MISTY                 DILLY               NE     27090158712
8482597448B163   JACOULINE             GERARD              UT     31012949744
8482683A291935   JOSEPH                DOWNING             NC     90008698302
84827836A2B523   COURTNEY              TATE                AL     90014638360
84827A67585936   CATRINA               ROBINSON            KY     90013550675
8482859864B22B   DEBORAH               BAKER               NE     27089285986
848286A662B28B   SAUNA                 SPRIGGS             DC     90006946066
8482921A776B97   PATRICIA              BYNUM               CA     90012932107
84829375A4B27B   BRIAN                 HART                NE     27096583750
8482969462B28B   LADONNA               HARRISON            DC     90008056946
8482B14586194B   LISA                  KUERSCHNER          CA     46015011458
8482B16614B569   CLINTON               CARTER              OK     90012981661
8482B77A691532   ESTHER                CONTRERAS           TX     90010147706
84831131A5B24B   LA PRECIOU            HAYDEN              KY     68021601310
84831211676B97   MARYROSA              MOREAU              CA     90012932116
8483165158B168   MICHAEL               ROBERTSON           UT     90014936515
84831683176B97   DECARLOS              JONES               CA     90013956831
8483212644B569   TAREVA                TALLEY              OK     90013511264
8483299728B163   JASMIN                GONZALEZ            UT     90011779972
8483385129192B   SHELIA                HUNTER              NC     90014818512
8483421645712B   TRACEY                HOLMES              VA     90012702164
84834659497B3B   CLAUDIA               ESCOBAR             CO     90013416594
8483474384B22B   LEBRON                JAMES               NE     90012217438
84834919272B62   SYDNE                 COONS               CO     90013329192
84835326A2B28B   DONEISHA              OWENSBY             DC     90011123260
84835683176B97   DECARLOS              JONES               CA     90013956831
8483594A972B62   JOSE                  MARTINEZ            CO     90012579409
8483663248B163   CHRISTOPHER           CERVANTES           UT     90012726324
84836668972B33   MARY                  LOERA               CO     33017356689
8483728395B183   SANDRA                GRIMS               AR     23052992839
8483739125B581   JOHNNY                BERNAL              NM     90010743912
8483753824B569   JESUS                 LOPEZ               OK     90014625382
8483763A257143   AUGUSTINE             KAMARA              VA     90001236302
848376AA78B163   JOVITA                NAVARRETE           UT     31094316007
84837914A85856   CATHERINE             DEFOTIS             CA     90007819140
8483963668B163   JACKIE                OLSEN               UT     90012726366
8483969594B22B   FERNANDO              GARCIA-HERNANDEZ    NE     90013686959
8483984615B183   AMBER                 PRICE               AR     90001438461
8483998528B154   SALVADOR              MEJIA               UT     90012269852
8483B26152B256   ALVIN                 JONES               DC     90005812615
8483B39996194B   GENE                  CARTWRIGHT          CA     90007623999
8483B562485856   MIGUEL                GARCIA              CA     90013955624
8483B822193771   JOEY                  TOMS                OH     90014798221
8484126A491979   BERNARDO              VELAZQUEZ           NC     17053052604
8484153528B154   VICTORIA              TURNEY              UT     31053505352
8484247696198B   ANNA                  LOPEZ               CA     46008204769
848431A2A72B62   ERNESTO               POLANCO SANCHEZ     CO     90013511020
8484333A55B183   DEBRA                 TAYES               AR     90000963305
8484335736194B   DANIEL                LEON                CA     90004823573
84843366976B97   ENRIQUE               ZALASAR             CA     90006033669
84843A7A68B168   MARIA                 MORADO              UT     90015140706
8484429696194B   REYNA                 CAMPOS              CA     90011002969
8484443AA91837   ARCELIA               GARCIA              OK     90010564300
84844A4892B28B   RENAE                 MARSHALL            DC     90009580489
84845688A5B24B   WENDI                 TURCHETTA           KY     90014436880
84846475697B38   JOSE                  BENAVIDEZ           CO     90012954756
848469A8185936   LEONEL                LOZANO              KY     90000119081
8484761A691979   ROLAND                DONNELL             NC     90013566106
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1256 of 2350


8484763924B569   KELSIE       MELTON                       OK     90013306392
84847A67591963   ALMA         RUFFIN                       NC     90004790675
8484852554B569   MONAQUEIAH   HILL                         OK     90013555255
84848916472B33   BENJAMIN     DAVIDSON                     CO     90011509164
84849927A5B183   ZINA         BURNS                        AR     23097189270
84849A5582B28B   ERICA        CREWS                        DC     90012790558
8484B671461934   CARLOS       VALENZUELA                   CA     90010616714
8484B757A8B168   SKYLAR       SCHMITT                      UT     90011417570
8484B782372B62   GULLERMO     GONZALEZ                     CO     33090827823
8485183A96194B   MICHAEL      MATSON                       CA     90012058309
8485275755B24B   JONATHAN     YORK                         KY     90006627575
8485277614B569   JIMMY        JOHNSON                      OK     21514207761
84853348776B97   SHERLONDA    COLE                         CA     46009233487
8485344778B168   BARBARA      CARPENTER                    UT     90013854477
84853533672B33   KISHA        MCFARLAND                    CO     33095175336
8485559A371977   THOMAS       NEWSOME                      CO     38043715903
8485573725B183   MICHAEL      WILLIAMS                     AR     23073807372
84855939772B62   CELSO        ORTIZ                        CO     90001769397
84856141272B29   FERNANDO     ARCHILA                      CO     90013501412
848561A4776B97   JOAL         OCHOA                        CA     90012991047
8485642A751362   BRENT        ROY                          OH     90006174207
8485694196194B   ROSAMARIA    GONZALEZ                     CA     90000329419
84857477972B29   DESARAE      BUCHANAN                     CO     90012844779
8485772268B154   KILSOON      WILDS                        UT     90012767226
84858245172B33   ROBIN        PETERSON                     CO     33060422451
8485842984B569   JUSTO        GRAMAJO                      OK     21583374298
8485887A193766   JOSEPH       MOKAS                        OH     90013858701
8485927625B183   ANGEL        REED                         AR     90014872762
8485935A951362   LISA         GLASGOW                      OH     90014753509
8485B181391837   LES          BROOKER                      OK     90008121813
8485B466941275   REBECCA      DAVIS                        PA     90013454669
8485B554193771   TOM          SLORP                        OH     90012535541
8485B88A185936   DIEUDONNE    BOPATA                       KY     90010218801
8485B8A4272432   PAUL         SNYDER                       PA     90013618042
8485B937561928   CECILIA      STORY                        CA     90009659375
8485BA75697B3B   MICHAEL      SCHROERS                     CO     90000940756
8486126726194B   RODRIGO      CUELLAR                      CA     90013742672
8486135A951362   LISA         GLASGOW                      OH     90014753509
848613A1A2B265   ROBIN        BREWSTER                     DC     90001683010
84861524A9154B   GERALD       DITZ                         TX     90002375240
8486184163B38B   JOHN         WALKER                       CO     33091058416
848619A4761934   ANNA MARIE   MARTINEZ                     CA     90007359047
8486237215593B   MICHAEL      NUCKOLS                      CA     90006473721
84862543A97B3B   VERONICA     MARTINEZ                     CO     39019245430
84862622872B33   MEGAN        COURSEY                      CO     90008026228
84862A82176B97   HECTOR       MENDEZ                       CA     90009520821
8486333994B22B   ROXANNE      FRYE                         NE     27015383399
8486368149154B   MARIA        MARTINEZ                     TX     75008036814
84864731397B3B   BONNIE       ROSENFELDER                  CO     39013387313
84864A94841275   VALLEY       BROOKS                       PA     51092710948
8486552554B569   MONAQUEIAH   HILL                         OK     90013555255
8486555477B339   SANDRA       QUINTANILLA                  VA     90013115547
8486577192B28B   IRCIA        LORENA PALACIOS              DC     90006947719
848657A4991975   KIA          BURNETTE                     NC     90002087049
84866A85776B97   JOHN         MCDONALD                     CA     90013970857
8486714A661928   BYRON        HUNTER                       CA     46080631406
8486742232B28B   MARTIN       VILLARREAL                   DC     90011944223
8486975669154B   ERIC         DELACUEVA                    TX     90004257566
848699A9747897   MONICA       AKINE                        GA     90013459097
8486B52465593B   ALBERTO      SANDOVAL                     CA     90011335246
8487136A32B271   LATANGELA    WHITLEY                      DC     81013583603
8487189669154B   DANIEL O     HURTADO                      TX     90007028966
84872853472B62   IRMA         MELENDEZ AMATON              CO     33050368534
84872A13A76B97   NICHOLAS     MURILLO                      CA     90015120130
84873719276B97   CAROLINA     JARA                         CA     90014817192
8487377A62B28B   LATISHA      HODGE                        DC     90014157706
84874193A61928   REYNA        VELASCO                      CA     90011171930
8487429639154B   RICARDO      MENDIOLA                     TX     90014542963
8487469714B967   GEORGINA     GUIDRY                       TX     90006896971
84874AA8A41262   JAMAR        ROBERTS                      PA     90010340080
8487533A471977   JOSH         MARTINEZ                     CO     90002463304
848759A382B28B   BARBARA      MCLAMORE                     DC     90011749038
8487647619712B   SHELLY       GIL                          OR     44032584761
84876A61197B3B   NOLBERTO     PINEDA                       CO     39088900611
848773A239154B   ADRIAN       ESTALA                       TX     90008643023
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1257 of 2350


848773A9685856   NICOLE        SERRATOS                    CA     90014673096
8487766534B967   GERALD        JONES                       TX     76516706653
84878327572B29   JORGE         GARDEA                      CO     90010703275
848795A264B22B   KIMBERLY      KEYSER                      NE     90012475026
8487984196194B   STACIE        EVANS                       CA     90008348419
8487B4AA191837   CHERYL        BLAYLOCK                    OK     90008834001
8487B74222B28B   STACI         TATE                        VA     90011817422
8487B956472451   OLIVIA        WALKER                      PA     90006539564
84883124572B29   ABRAHAM       HERRERA                     CO     33090541245
848832A3376B97   DARWIN        BULLOCK                     CA     46090912033
84883496A71977   MYIDA         MARTINEZ                    CO     90011724960
84883A48291837   DEBORAH       MILLS                       OK     90001970482
84885A3316194B   ADRIENNE      MACK                        CA     46004540331
8488619A872B29   ANSEN         KOLOJE                      CO     90012121908
8488628698B154   DOLORES       LOPEZ                       UT     90013312869
848863A765B183   RONIE         WILLAMS                     AR     90006633076
8488641232B256   YANIRA        URBINA                      DC     90001344123
84886682797B38   VALERIE       PADILLA                     CO     39095856827
84886737A72B33   CLAY          HAWKINS                     CO     90011497370
8488752A15593B   ALEXANDER     LEON                        CA     48096705201
8488848719712B   KRYSTAL       CANICO                      OR     44059334871
84888AA5385856   TRAVIS        STEPHENS                    CA     90014970053
8488B85328B168   BRANDI        SIMMONS                     UT     90006788532
8488B944476B97   ELIZABETH     AGUAYO                      CA     90010319444
8488B996A85856   PERFECT       ENGELBERGER                 CA     90000709960
8488B9A4A97121   NITA          SMITH                       OR     90001119040
8489133269154B   TOMAS         LUCIO                       TX     90014373326
8489142228B163   JOSEPH        CHAVEZ                      UT     31006304222
848916A4885856   IVAN          MWANJA                      CA     90013986048
84892A21381677   CHAD          ST CLAIR                    MO     29012720213
8489323A75B24B   CHARLES       HARDISON JR                 KY     68015212307
84893611997B38   GEORGINA      MUNOZ                       CO     90006476119
848941A4477537   JOSE          MEDINA-REYES                NV     43094961044
848945AA591975   JANICE        DAVIS                       NC     90013775005
8489496114B569   MARKEL        WILLIAMS                    OK     21559789611
8489519866194B   LYDIA         OCHOA                       CA     90012871986
8489566AA9154B   ALBERTO       RENTERIA                    TX     90008386600
8489584392B28B   JULIUS        WILLIAMS                    DC     90014158439
84895A68A5B131   MELISSA       KLENNEY                     AR     90011480680
84895AA3771657   SHANAY        MACLIN                      NY     52064220037
8489611919185B   AMBER         BUTTERFIELD                 OK     21049531191
84896123976B97   RAUL          PEREZ                       CA     90011161239
8489633585B335   KATHLEEN      OBRIEN                      OR     44586883358
8489664416194B   TRINIDAD      SANTIAGO                    CA     46015016441
84896A13951332   HARUNA        KAMBURA                     OH     90011620139
84896A4174B22B   DOROTHY       LYTLE                       NE     27065750417
8489717693B366   JOSUE         RAMOS                       CO     33071931769
8489743A972B62   MAYRA         PEREZ                       CO     90013394309
84897813272B29   OLIVIA        MEDINA                      CO     90014488132
84897982397B3B   ADELLA        AGUILAR                     CO     90007569823
84898593A72B33   DIANA         BATEMAN                     CO     90014075930
84898778697B3B   SERGIO        MARTINEZ                    CO     39096467786
848988A9577537   RICHARD       LEE                         NV     43024958095
84899145A8B163   EDGAR         ROSALES                     UT     90013101450
8489921128B168   JAIME         CISTERNAS                   UT     31077422112
8489937446194B   CHAY          GERN                        CA     46007243744
848994A484B22B   MEGAN         LEBRON                      NE     27049224048
84899A7A24B569   WYINA         MILLER                      OK     90011140702
84899AA8172B29   NATE          OBERTS                      CO     33086970081
8489B12A561934   VERSACEH      REASONER                    CA     90011681205
8489B16516198B   CHRISTOPHER   BOGGELIN                    CA     90012751651
8489B4A7793771   MICHAEL       HENSLEY                     OH     64589494077
8489B4A8472B62   JOSE          DIAZ                        CO     33065804084
8489B779793772   CHRISTOPHER   ARNOLD                      OH     90007377797
8489B827977537   ARMANDO       MEDINA                      NV     90013898279
848B169218B163   JESUS         ALCANTAR                    UT     90011696921
848B194258B168   REBBECCA      LISTER                      UT     90013839425
848B258715B24B   TINA          WHITE                       KY     68002005871
848B2879151363   EDWARD        BROWNING                    OH     66014838791
848B28A852B28B   LINDA         WIGGINS                     DC     90009238085
848B299965B568   JANET         HODGES                      NM     35080639996
848B2A1A34B569   EBONI         RANDOLPH                    OK     21511550103
848B312422B28B   ANDREA        VENABLE                     DC     90014761242
848B315575B26B   DIANA         NELSON                      KY     90013821557
848B3289685936   SHARKALA      SANDERS                     KY     90011412896
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1258 of 2350


848B338726194B   VICTOR        GARCIA                      CA     46065183872
848B3583676B97   OMAR          SOTO                        CA     90012955836
848B3585A2B28B   TYRA          HUTCHINSON                  DC     90012765850
848B3656A4B569   JERRED        DAVIS                       OK     90006786560
848B387963192B   BUAN          THANGA                      IA     90015178796
848B3AA5572B29   STEPHANIE     WYGHT                       CO     90009600055
848B4448491979   SABRIENA      TUCK                        NC     90009444484
848B4493A5B183   JASMINE       KELLEY                      AR     90014844930
848B44A3777537   TINA          SIDLES                      NV     43019534037
848B455788B154   KEVIN         PROSSITT                    UT     90015525578
848B4661A6194B   CHIP          LEWIS                       CA     90010196610
848B4716376B97   OLIVIAN       MATTHEWS                    CA     90011927163
848B495858B163   JERRY         COREY                       UT     90006269585
848B5154171977   TENESHA       BUENO                       CO     90000951541
848B591358B154   JOSE          ROBLES                      UT     90015259135
848B6386297138   BERTHA        MEMBRENO                    OR     90003813862
848B6859972B29   TERESA        MARTINEZ                    CO     90009018599
848B6A43181677   JESSE         CHURCH                      MO     90009500431
848B7289A5B24B   JOHN          CLEMENS                     KY     90012172890
848B7371172B33   JUAN          MUNOZ-ZARATE                CO     90003843711
848B7435291837   LUIS          CEPEDA                      OK     21003174352
848B7773991975   GILBER        CINTO                       NC     90012697739
848B7A49A61934   CARMELITA     GUTIERREZ                   CA     46090270490
848B8162772B29   IVETTE        FLORES                      CO     90010181627
848B837A147897   CHRISTIE      BOOTHE                      GA     90008913701
848B8466485936   KASEY         DUNAWAY                     KY     90014414664
848B871A151362   ANGELIQUE     MCGEE                       OH     66040947101
848B875159154B   RAUN          MUIR                        TX     90014197515
848B8819385856   LUIS          FIGUEROA                    CA     90007968193
848B889918B163   ANALEE        CARTER                      UT     31024668991
848B91A254B569   BARBARA       BERRY                       OK     90011991025
848B921215B24B   ASHLEY        WILLIAMS                    KY     90004902121
848B962786194B   MICHAEL       SULLIVAN                    CA     90000416278
848B9833361928   ALAN          DAY                         CA     90003958333
848B9A92A5B183   SHAMEKA       RHODES                      AR     90012120920
848BB14715B24B   ALEXANDER     HAYDEN                      KY     90011041471
848BB155A61928   TONYA         RENALES                     CA     46006641550
848BB71549154B   JESUS         MIRANDA                     TX     90014887154
848BBA21225151   SARAH         OWENS                       AL     90014630212
848BBA5939154B   TORRES        PABLO                       TX     90012630593
8491186775B183   ALLEN         TAYLOR                      AR     90012828677
8491191868B163   ROGELIO       MORENO                      UT     31084209186
84912477972B29   DESARAE       BUCHANAN                    CO     90012844779
84912484372B62   JANETTE LEE   TOWNSELL                    CO     90011234843
8491277556194B   SANTIAGO      MARQUEZ                     CA     90014177755
8491296412B28B   RAMIRO        GATICA                      DC     90011819641
8491358568B168   BRENT         KIMBALL                     UT     90014935856
8491369A24B569   GELBER        LOPEZ                       OK     90013306902
84913A74671977   SHANAE        HOLLAND                     CO     90011050746
84913A9612B28B   MYCULLE       MILLER                      DC     90011820961
84914312576B97   CJ            WASHINGTON                  CA     90011023125
8491436A285856   NAIDY         CRUZ                        CA     90011673602
84914637672B29   GUADALUPE     PROSPERO                    CO     90012396376
84914668A6194B   MIGUEL        GUTIERREZ                   CA     46077506680
8491483254B22B   JENNIFER      RIOS                        NE     90014968325
8491493194B569   JASON         HEAD                        OK     90008579319
84915139572B62   RICHARD       RAMIREZ                     CO     33036241395
8491513996194B   JOHN          IMPSON                      CA     90008161399
849151A1977537   GERARDO       AMAYA                       NV     90014131019
8491578125B581   GLENN         SANCHEZ                     NM     35003477812
8491625778B168   MEDARDO       VIVEROS-DAZA                UT     90012772577
84916A2A951531   SHIMA         ANSAGAY                     IA     90014430209
8491768A641262   KENNETH       BROWNFIELD                  PA     51068856806
84918829672B62   KELLI         KAMPSCHNIEDER               CO     90013898296
8491892764B569   MICHAEL       CORBIN                      OK     90008579276
849191A494B569   LAKESHA       BATEMAN                     OK     90015271049
8491922278B154   GUMERCINDO    LOPEZ SANTIAGO              UT     90014812227
8491999552B28B   URIEL         RUIZ                        DC     90014929955
8491B17A991975   WILMER        DIAZ                        NC     90014171709
8491B418161928   DARRYL        JOHNSON                     CA     46017534181
84921177A51362   MARIO         LOPEZ                       OH     90014781770
84921355A4B569   ARLES         PEREIRA                     OK     90007553550
8492151275B581   DEBBIE        ALARCON                     NM     90010595127
8492166957B448   JANICE        MIDDLETON                   NC     90008736695
849219A9672B8B   ROBERTO       CASTANEDA                   CO     90011909096
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1259 of 2350


84921A6615B24B   NICOL          TURNER                     KY     68051740661
84922391197B3B   DYLLON         WATERHOUSE                 CO     90014333911
849228A2291975   WALDINA        BONILLA                    NC     90014198022
8492292535B183   KIMBERLY       LEE                        AR     90014849253
8492348152B28B   CARLOS         PRICE                      DC     90010294815
8492431142B28B   SHALONDA       COLES                      DC     90009963114
84924454472B62   DEBORA J       MOREHEAD                   CO     90005394544
8492456355B24B   JEFF           SHELMAN                    KY     90011185635
84925414A61928   JOEL           GRIMALDO                   CA     46016434140
849259A8381667   FADILA         KACI                       MO     90004909083
8492676A761928   DONALD         KING                       CA     90014337607
8492724646194B   IDIL           ISMAIL                     CA     46006032464
84927658876B97   SHAWAUNA       PATTERSON                  CA     46096476588
8492766428B163   ALLAN          GUNDERSON                  UT     31086526642
8492786A755928   BEN            RIVERA                     CA     49096408607
84927A48A5B183   SHIRLEY        FELEMONS                   AR     23007050480
84928A4445B943   BRANDI         KUHLMAN                    WA     90015070444
84928A7212B256   NICOLE         CHURCH                     DC     90006390721
849296A7593771   BONNIE         ROSE                       OH     90013076075
8492B286147897   JIMMY          STEWART                    GA     14072462861
8492B66838B168   PAUL           AJAYI                      UT     90009856683
8492B774841275   JAMES          LIPSCOMB                   PA     90013127748
8493164A777537   JENNIFER       PENLAND                    NV     90009836407
8493187AA76B97   TOBIAS         LUNA                       CA     90014478700
8493245696194B   KARLA          WOO                        CA     90014814569
84932A68A97B3B   JASMINE        GILLETT                    CO     90013480680
84933131476B97   ANA            PEREZ                      CA     90014911314
8493338827B359   ANTHONY        HYMAN                      VA     81061093882
849334A2241262   BARINDER       SINGH                      PA     90006344022
8493364A581677   PATRICIA       RIDDELL                    MO     90004506405
84933A8346194B   LAUREN         WALSH                      CA     90014980834
8493455758B154   DAVID          REDMOND                    UT     90010465575
84934A21497B38   DEION          ROMERO                     CO     90011280214
8493529367B496   ARACELI        FERNANDEZ                  NC     90012652936
8493613734B569   LATEAKA        BIZZELL                    OK     90011141373
84937471197B3B   MARIA          ALFARO                     CO     90013364711
84937639472B62   JESUS          MOLINA                     CO     90014156394
8493857645B581   NICOLE         SISNEROS                   NM     90010595764
8493866494B583   CAROLINA       RIOJAS                     OK     90011426649
8493929135B24B   TAMIKA         HEREFORD                   KY     68085222913
84939345A93771   CHARLENE       JOHNSON                    OH     90012553450
84939973297B3B   CAROLINE       MARQUEZ                    CO     90004579732
8493B393993771   BRIAN          DECKARD                    OH     90012113939
8493B5A927B363   ANA            ROMERO                     VA     81098725092
8493B916261928   ISMAEL         SISTO                      CA     90015099162
8493B972A76B97   MONICA         MARTINEZ                   CA     90010839720
8493BA1368B154   KRIS           MATYAS                     UT     31007290136
8494117976194B   YOLANDA        HARDISON                   CA     90012851797
8494123728B168   GREG           PENDLETON                  UT     90005582372
8494132289712B   MARIA          GOMEZ                      OR     90009443228
8494136332B271   SCARLET        GARCIA                     VA     81044003633
8494246535B183   DYNASTI        MOSLEY                     AR     90013774653
84943433876B97   TORIBIA        ARGUELLES                  CA     90012434338
84943454776B65   MARIA          ALFARO                     CA     90007294547
84943576197B3B   GARY           IHLE                       CO     39057705761
84943643272B33   MANUEL         GUILLEN                    CO     33010676432
84943828A8B168   MATT           JUDD                       UT     90014558280
849451A5881677   NORMA          LARA                       MO     90002901058
8494575499712B   JOHN           DE LA CRUZ                 OR     90006497549
84945A5565B275   REBECCA        BAILEY                     KY     90008370556
8494687175B183   KHALI          WATSON                     AR     90010138717
8494697572B28B   JOSHUA         FREEMAN                    DC     90014159757
84947813A72B33   SHARONDA       VAN                        CO     90012448130
84947A2175B24B   AUSTIN         SEEWER                     KY     90007760217
84948726776B97   KEN            MERRIT                     CA     90009347267
84948A28572B29   ALEXA LOUISE   ELLIS                      CO     90013560285
84949339A61934   PAUL           HYNUM                      CA     90008453390
8494966178B155   GARY           ADAMS                      UT     90008166617
84949665197B38   KELLY ANN      BENEDICT                   CO     90011286651
8494969A58B154   DAVID          WORTHINGTON                UT     90003596905
8494974695B183   TAMMY          DOBBINS                    AR     90002527469
849498A9A2B265   LAWRENCE       FLOWERS                    DC     81092948090
8494995719154B   IRMA           CHAVEZ                     TX     90009609571
8494B346833698   TAMAKY         FOSTER                     NC     12010363468
8494B485691837   ASHLIE         BLACKWELDER                OK     90014384856
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1260 of 2350


8494B868177537   GARY                  PRENTISS            NV     43091028681
8494BA53697B3B   SERVANDO              GARCIA              CO     90013960536
8495172666194B   JOSE                  SANCHEZ             CA     90010497266
8495175754B569   HEATHER               LAIR                OK     90005497575
84951A5324B22B   YESENIA               HERNANDEZ           NE     90011260532
8495223A685936   CHISTOPHER            BAILEY              KY     90013802306
8495257269154B   DORIAN                CERVANTES           TX     90006125726
8495324A68B154   JESUS                 GOMEZ               UT     90004552406
849533A615B183   VIVIAN                MCFADDEN            AR     23037273061
849533AA891939   JOEL                  NUNEZ               NC     90003143008
849535A6161934   DEBORAH               HOOK                CA     90011685061
8495374728B163   LEAH                  CHAVEZ              UT     31042947472
8495388529712B   CHRISTOPHE            TAYLOR              OR     44017358852
8495472832B28B   CARLTON               THOMAS              DC     90011657283
84954935297B38   SEBASTIAN             BANUELOS            CO     90004279352
84955257897B3B   DIEGO                 CHAVEZ              CO     90009532578
8495527A98B168   HEIDI                 ROOFENER            UT     90010472709
84955692897B38   SUSANA                SERVIN              CO     90011286928
84955917672B33   JOSEPH                LANE                CO     33022539176
8495697352B256   JANELLE               GARRISON            DC     90005819735
84957434972B29   ALFREDO               MARTINEZ SANCHEZ    CO     33049174349
8495793735B183   ANTONNETTE            MOID                AR     90009049373
8495877834B22B   CODY                  MUNGERSON           NE     90008907783
8495948A185856   GABRIELA              PENA                CA     46096124801
84959865172B29   MARYIS                MINOR               CO     90003118651
8495B516277537   SHERRIE               SMITH               NV     43087875162
8495B768A31278   ANITA                 ROBINSON            IL     90015137680
8495BA72941262   CHRISTIAN             HARRIS              PA     51044560729
8495BA86A2B981   JAMES                 ALBRITTON           CA     90006540860
84961242A97B3B   LAURA                 MORRISON            CO     90001672420
8496131677B485   SAMUEL                HOUGH               NC     90005053167
84962137A8B168   KASSANDRA             MEDRANO             UT     90012951370
849621A235B24B   AMANDA                JOHNSON             KY     90014441023
8496287416194B   ZACHARY               SAUNDERS            CA     90014278741
849628A2291975   WALDINA               BONILLA             NC     90014198022
8496337418B168   JACE                  SHARP               UT     31005423741
8496368923B351   WILLIAM               STROTZ              CO     90009636892
8496411A891242   CHAPAIDER             CUMMINGS            GA     90003071108
84964A55741275   SHAKERA               WORLDS              PA     90015070557
84964A8944B569   VICTOR                DIAZ                OK     90000480894
84965145672B33   MARIA                 ALVAREZ             CO     90007751456
84965218497B38   FABIO                 SERRANO             CO     90012542184
8496561212B28B   DARRELL               ADAMS               DC     90006956121
84965764A91837   DANIEL                CHAMP               OK     21017887640
8496594895B921   NADIHIA               MAKI                WA     90015529489
84966129976B97   ROBERTA               MONTIEL             CA     90014891299
84966173776B97   ADRIANA               GONZALEZ            CA     90013971737
849663AA23365B   SHANEQUE              CAGLE               NC     12093033002
8496682554B569   MARGARITA             CARDENAS            OK     90011168255
84966895A8B163   ALTIGANY              MOUSSA              UT     90013018950
84966A6494B22B   CHRISTINE             MASTERS             NE     90008150649
84967175376B97   RAMIRO                CAMPOS              CA     90013971753
849671A4497B38   NICHOLAS              FARRICKER           CO     90012631044
84967239772B33   CARLOS                HUIZAR              CO     90007612397
8496768AA41275   LINDA                 KULIKOWSKI          PA     90007366800
8496897942B271   MARIA                 SANDOVAL            DC     81013629794
84968993572B62   JUAN                  RAMOS               CO     33091939935
849691A7A97B38   KHADIJAH              GONZALES            CO     90013541070
8496941975B24B   DONNA                 RUSSELL             KY     68052834197
84969518772B62   CESAR                 GRACIANO            CO     33006955187
84969935A5B183   CHRISTOPHE            JONES               AR     23052259350
84969986876B97   SALIM                 HADID               CA     90004509868
8496B2A274B569   KRISTEN               SAMPSEL             OK     90008582027
8496B3AA14B923   MISS LORRETTA MARIE   GROS                TX     90014603001
8496B543372B29   MYRACLE               REED                CO     90011105433
8496B76AA9154B   LUIS                  ZAMARRIPA           TX     90014517600
8496B99372B256   SONIA                 ANDERSON            DC     90005819937
849717A366194B   JIM                   LOPEZ               CA     90015027036
8497239A754198   DELMI                 HERNANDEZ MORALES   OR     90002653907
8497254295B183   MELESA                LOTT                AR     90011185429
849726A1493771   ELI                   MARTINEZ            OH     90013266014
84972843672B29   GUSTAVO               GODINEZ             CO     33066688436
849728A9241275   GANGA                 BISTA               PA     90013128092
8497323192B271   SABRINA               CARSWELL            DC     90011682319
8497439A95B183   JAMAS                 THOMPSON            AR     90013793909
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1261 of 2350


8497543A991979   LATISHA              LYNETTE              NC     90011534309
8497641549185B   JONNA                GEE                  OK     21049584154
84976527A9185B   JONNA                GEE                  OK     90014955270
8497692398B163   GALYNN               BRODERICK            UT     90006459239
8497712995B24B   LEVELLE              OBANNON              KY     68079231299
849774A778B168   DEAN                 ALLEN                UT     90013284077
84977754A91837   TOMMY                BROOKS               OK     90013987540
84978371A51362   CHRISTINA            STEEL                OH     66053813710
8497863756194B   BENITO               GONZALES             CA     90014676375
8497899145B581   CARMELA              CORONA               NM     90003759914
84978A37931278   MARCRESHA            JENKINS              IL     90015570379
84979145A6194B   KEVIN                FERNANDEZ            CA     46077521450
849792A7576B97   DULCE                MUNOZ                CA     90013972075
8497962368B168   GLORIA               BRETON               UT     90012676236
84979778697B3B   SERGIO               MARTINEZ             CO     39096467786
8497B3A769154B   OSCAR                CARRILLO             TX     90014193076
8497B888491975   MANUEL               SIERRA               NC     90013258884
8497B92A185856   MARK                 SAUCEDO              CA     90014689201
8498131479376B   ISABEL               SOTELO               OH     90008573147
84981316A85856   NICK                 CARLSON              CA     90011243160
84981428197B3B   KYLE                 CLOUD                CO     39098304281
8498173548B168   MARIVEL              GOMEZ                UT     90015087354
84981925376B97   GABRIELA             BACCARA HDZ          CA     46014189253
84981A1524B569   BRENDA               VILLALOBOS           OK     90012390152
84982337897B3B   NAAHUM               CORTEZ               CO     39096013378
8498277545B183   ANTONIA              SPENCER              AR     23036017754
84982A8A361928   SAM                  DEE                  CA     90012400803
8498311A557152   CLAUDIA              SALMERON             VA     90005801105
8498447329154B   DIANA                GOMEZ                TX     90009224732
84984553797B38   MELISSA              MCCRACKIN            CO     90012955537
84984A2AA72B62   APRIL                PAUL                 CO     90005890200
8498538759154B   ESPERANZA            ZAPATA               TX     75006653875
8498559488B154   CALVIN               GARBETT              UT     31067895948
84985694A4B569   AMY                  OLLISON              OK     90012176940
8498665255B183   MELISSA              LANGLEY              AR     90010636525
8498695925B581   MARTHA               CHAVEZ               NM     35034299592
84987746172B29   ANNA                 PERALTA              CO     90006337461
84987A41A97B38   LUANA                QUIROZ               CO     39013130410
84988199A91979   OFELIA               AGUILAR              NC     90000661990
84988754772B29   TURJA                BANKS                CO     33090477547
849893A3361928   JASON                OGDEN                CA     46075493033
84989574A77537   DARLA                WARD                 NV     43091635740
849898A838B163   ANGELA               SORENSON             UT     90011788083
8498B135671977   AIMEE                BRODIE               CO     90008541356
8498B166191975   CHRIS                WOOTEN               NC     90015151661
8498B2A3691837   CRYSTAL              CELESTINE            OK     21018472036
8498B349251362   DAVID                WOODS                OH     90014783492
8498B535272B62   ASHLEY               MAYFIELD             CO     90013155352
8499175835B183   DANIEL               LUDUENA              AR     90000207583
849917A9A47897   C                    BOOKER               GA     90010327090
84993364172B29   MARIA                LA PAZ JULIAN        CO     33001313641
8499365594B22B   JORGE                SAUSEDO              NE     90001016559
84994248576B97   IGNACIO              VASQUEZ              CA     90013972485
8499487344B22B   JOSHUA               WISE                 NE     90013568734
84995376972B62   SHANTEL              SMOCK                CO     33033623769
8499788384B22B   CYNTHIA              EDWARDS              NE     27036408838
8499925A597125   ODILION              ESPINOZA             OR     90008042505
84999489498B34   TREY                 THOMPSON             NC     90012874894
8499952A185936   JACK                 REVIS                KY     90004695201
84999595A9154B   JESSENIA             ALDARETE             TX     75088805950
849997A387B472   LILLIAN D            GAMBLE               NC     90007497038
8499B41616194B   ARLENE               WHEELER              CA     90012904161
8499B428677537   TONY                 BAUTIASTA            NV     90014824286
8499B53879154B   ANNETTE              ESCOBAR              TX     75001555387
8499BA95591872   JESSEE               RHODEN               OK     90008810955
849B111AA85856   ANGEL                NUNEZ                CA     90009681100
849B112868B168   GILBERTO             SOLANO               UT     90011061286
849B1581672B33   BEATRIZ              RODRIGUEZ            CO     33043305816
849B161446194B   MARICELA MARGARITA   MARTINEZYBARRA       CA     90006196144
849B1815497138   IGNACIO              JIMENEZ ROBLEDO      OR     44059348154
849B1956491837   BUSTOS               REDENDOR             OK     90007679564
849B23AAA4B22B   ASHLEY               DENNIS               NE     90008193000
849B26A7576B97   JULISA               ARVIZU               CA     90004226075
849B2837672B29   JAMIE                VALDEZ               CO     90015198376
849B294334B22B   MARTHA               DELGADO              NE     90006099433
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1262 of 2350


849B2A49285936   TRACY        MCDAVID                      KY     90013230492
849B33A7272B62   LUCINDA      TAFOYA                       CO     33096493072
849B3815497138   IGNACIO      JIMENEZ ROBLEDO              OR     44059348154
849B4157991975   ADAN         GARCIA RUIZ                  NC     90011521579
849B461A377537   ARMANDO      CERVANTES                    NV     43087406103
849B4738641275   TAMIKA       PHIFER                       PA     90013767386
849B49A9576B97   ROBERT       WILLIAMS                     CA     90013069095
849B4AA965B581   VINCE        PRICE                        NM     35050430096
849B5458A72B29   KATIE        KARPOVAGE                    CO     33052424580
849B5733A8B154   TOMMY        EZELL                        UT     90010397330
849B5A7A241275   DEVLIN       WELLS                        PA     90000700702
849B61A6572B62   YESSICA      ANAYA                        CO     90011201065
849B6366591975   TIFFANY      FONVILLE                     NC     90014873665
849B6391271964   SHELLEMSRI   SCOTT                        CO     32079693912
849B63A675B24B   RYAN         JONES                        KY     90014153067
849B648778B168   AMANDA       TINGY                        UT     90002014877
849B656265B24B   RYAN         JONES                        KY     90011185626
849B6994571977   ROBERT       RUSSEL                       CO     90010559945
849B6A52A8B154   ANA          TRUJILLO                     UT     90002690520
849B7146993771   LEAH         PETREY                       OH     64541711469
849B7166A71977   MEL          ROMERO                       CO     38013771660
849B7438481677   DANNY        STEEN                        MO     90010934384
849B7531741275   JESSE        JAVIT                        PA     90010895317
849B8448647897   MALEILA      HUTCHINSON                   GA     90003764486
849B845256194B   MIREYA       CERVANTES                    CA     90008944525
849B845878B168   OBDULIO      DAVILA                       UT     31061314587
849B8618A8B154   JACOB        KUBISCH                      UT     90014156180
849B886A64B22B   AMY          GELNETTE                     NE     90012098606
849B9147161934   MARTHA       TEJADA                       CA     90007491471
849B91A584B569   SHERRY       LEE                          OK     90010391058
849B91A9497138   MARGARITA    ROJAS                        OR     44041031094
849B92A3885856   JUNG JOON    KIM                          CA     90013972038
849B9816441262   RUSSELL      DONGILLI                     PA     51053048164
849BB147271977   RANDALL      TIERNEY                      CO     90015281472
849BB374972B62   WANDA        CHAVERS                      CO     33042343749
849BB611791975   JOSE         LIZARRAGA                    NC     90007576117
849BBA37A91523   ERIKA        ESQUIVEL                     TX     90011530370
849BBA9A976B97   RAMIRO       CAMPOS                       CA     90013970909
84B11371393771   NORA         DENNIS                       OH     64571993713
84B11588691837   AMANDA       SOLTERO                      OK     90009975886
84B1173A541262   JOEL         CRAIG                        PA     90007867305
84B11826785856   IRASEMA      GASPAR                       CA     46014888267
84B11A3A88B154   KIM          ROBBINS                      UT     31080630308
84B121A5171977   GLORIA       ESPINOZA                     CO     38005731051
84B12221477537   RUBEN        GUZMAN                       NV     90014812214
84B12912772B62   JESUS        MEJIA                        CO     90006399127
84B13677947897   JAVAUGHNTE   DUNCAN                       GA     90008716779
84B13755233698   GWENDOLYN    SAPP                         NC     12051157552
84B1377395B581   DANIEL       CHACON                       NM     90005127739
84B1389283B389   BREEANNE     WYATT                        CO     90009068928
84B14331285856   ANA          AVILA                        CA     90014803312
84B15114885936   SAMANTHA     LIGHTFOOT                    KY     90010891148
84B15227797B3B   STACEY       FURNELL                      CO     90001802277
84B15526991532   ROXANA       CORTEZ                       TX     90009725269
84B155A638B168   CHELCI       NUZMAN                       UT     31076905063
84B155A683162B   HEATHER      TIEDE                        KS     90014405068
84B15641141275   CHARLES      SWIEK                        PA     90006036411
84B15875A4B22B   CHARLES      SHANAHAN                     NE     27060218750
84B15A9762B28B   LENORA       SCALES                       DC     90006890976
84B16115647897   JAQUAVIA     HILL                         GA     90011371156
84B1619A86194B   VICTOR       TAVEIRA                      CA     90015121908
84B16465461928   RICARDO      CORTEZ                       CA     90010584654
84B1683978B168   TONIA        MILLER                       UT     31014838397
84B16968241275   AUTUMN       RHODES                       PA     90013929682
84B17128671977   CHE          CASADOS                      CO     90014751286
84B1719114B569   RACHEL       HUGHEY                       OK     90008511911
84B1734A241262   ARMENIA      JOHNSON                      PA     51075143402
84B17629693771   CHARLES      BARRETT JR                   OH     64572686296
84B17655377537   SHEANNETTE   KENNEDY                      NV     90004346553
84B18225161928   MARTHA       ELIZABETH PORRES             CA     90013532251
84B1836968B168   KRISTA       PETERSEN                     UT     90013623696
84B18385941275   SARA         MEYERS                       PA     90013963859
84B1838739154B   JUSTIN       MIRANDA                      TX     90013833873
84B18525A72B62   JAMIE        PRITCHARD                    CO     33000775250
84B18716941262   TERRANCE     JOHNSON                      PA     90009557169
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1263 of 2350


84B1872495B581   BRENDA       WILLIAMS                     NM     35098097249
84B187A223192B   CUNG         BILE                         IA     90015307022
84B18921791975   ROMAN        WATKINS                      NC     90007559217
84B18998951531   JOHN         VEACH                        IA     90014319989
84B18A44177537   LETICIA      VELAZQUEZ                    NV     90009420441
84B19263891979   MARIA        NAVA                         NC     17090582638
84B19336993771   MIHAEL       MCCORKLE                     OH     90013273369
84B1959A261928   DANIELLE     HOWARD                       CA     90013585902
84B19686461934   KAREN        MARTINEZ                     CA     90011656864
84B19955591975   ANTHONY      BRADLEY                      NC     90007779555
84B1B17785B183   TABATHA      MOSLEY                       AR     90005241778
84B1B492761934   MONICA       GARCIA                       CA     90010584927
84B1B757891837   CANETHA      JONES                        OK     90013057578
84B2138749154B   MARISOL      CEBALLOS                     TX     90013833874
84B2149795B183   LATRUNA      DICKERSON                    AR     90014454979
84B2167142B28B   LATOYA       JACOB                        DC     90015026714
84B2177658B163   SELLESTE     MCKAHAN                      UT     90007207765
84B21872285936   ALONZO       BROWN                        KY     90014028722
84B22347476B97   GRISELDA     APOLONIO                     CA     90012393474
84B22795991975   CYD          ROMAN                        NC     90014787959
84B2286232B28B   DENISE       JOHNSON                      DC     90008818623
84B22A8215B581   JOYCE        QUINTANA                     NM     35038560821
84B234A2841275   NICOLE       ROSE                         PA     90013934028
84B234A458B163   CARRIE       MURPHY                       UT     31008384045
84B23669A5B24B   AIMEE        JONES                        KY     68093266690
84B23758672496   ARAMI        SWEENEY                      PA     51096617586
84B23896785936   EDGAR        HERNANDEZ                    KY     90013218967
84B2441566196B   JORGE        RIVAS LIMA                   CA     90012264156
84B2451495B24B   JAYLA        SMITH                        KY     90008095149
84B2478364B569   SHEKINAH     RODRIGUEZ                    OK     90014557836
84B24833897B38   LUJAN        BETTY                        CO     90013168338
84B24937185856   DIEGO        MENDEZ PRECIADO              CA     90006589371
84B249A3493771   TRACEY       NEELY                        OH     90009169034
84B252A6297B38   MARIBEL      OLIVAS                       CO     90014782062
84B254A9A51362   MARTINA      EWING                        OH     90014734090
84B2581A48B163   SHARILYN     ROMERO                       UT     31057588104
84B25849771977   DERRICK      ESQUIBEL                     CO     90009468497
84B26141576B97   DAISY        SANCHEZ                      CA     90011101415
84B2616A59154B   ESTABAN      DUARTE                       TX     90015181605
84B26183881651   KELVIN       HILL                         MO     90010011838
84B26859791837   LENDON       BROWN                        OK     90013408597
84B27413951362   LATOYA       COLLINS                      OH     90014734139
84B2787344B569   TANISHA      MURPHY                       OK     90010928734
84B27929851362   LAUREN       GAULDEN                      OH     90014759298
84B27996A8B163   SHERYL       CLAWSON                      UT     90011749960
84B2879785B183   JASON        KELLER                       AR     90012607978
84B28AAA785936   OLIVER       GILL                         KY     90008080007
84B293A4597B3B   PARMJEIT     BHATTI                       CO     90013193045
84B2958914B223   JOHN         MCCRAY                       NE     90001335891
84B29639485856   JORQUIN      RAMIREZ                      CA     90015176394
84B29688276B97   ROSELIA      VARGAS                       CA     46073346882
84B29839A72B62   STEPHANIE    DANTZLER                     CO     90009058390
84B29899A5B342   RYAN         EARL                         OR     90012508990
84B29913941262   ROBERT       JOHNSON                      PA     90004019139
84B2B225776B97   CYNTHIA      STEWART                      CA     90013682257
84B2B283A85856   AIR          POWELL                       CA     46074342830
84B2B549251349   TRACEY       RICHMOND                     OH     66002455492
84B3127835B522   JERRY        EDWARDS                      NM     90004222783
84B31483272B33   PRISCILA     SAMORA                       CO     33085594832
84B31688872B29   SANTOS       MAY                          CO     33071906888
84B32166972B29   MANDALYN     GREVE                        CO     90013961669
84B32467271977   CHARLES      DONALSON                     CO     90010064672
84B32562861934   ANTONIO      OSUNA ANDRADE                CA     90006715628
84B33277A71977   NINA         JARAMILLO                    CO     90014212770
84B33A6559154B   SHAIMA       AZABY                        TX     90010690655
84B35454171964   RICHARD      HOUSMAN                      CO     90008924541
84B362A3647897   VIVIAN       TAYLOR                       GA     90010972036
84B36415551362   TANISHA      MALONE                       OH     90014734155
84B36516297B97   EDWARD       DELGREGO JR                  CO     90000835162
84B36A58397B38   ERIC         HOWELL                       CO     39085080583
84B373A6285856   NICOLE       BURZIC                       CA     46067493062
84B37643A4B22B   THOMAS       BEATTY                       NE     90011616430
84B38275193771   DMOINIQUE    SMITH                        OH     90012612751
84B38463587B71   ANDREW       MCCLUSKY                     AR     23007854635
84B385A3885936   MARISOL      CARRILLO                     KY     90013085038
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1264 of 2350


84B38A3856194B   JASMINE      THOMAS                       CA     46077840385
84B38A4162B28B   DARLENE      COLE                         DC     90014620416
84B38A6764B569   JEREMY       KENNETT                      OK     90013610676
84B39415551362   TANISHA      MALONE                       OH     90014734155
84B3942915B581   MICHEAL      EVERTTE                      NM     90005454291
84B3961934B967   HERLAN       JONES JR                     TX     76591486193
84B3992148B163   EDER         CASTANEDA                    UT     90012669214
84B3B19935B588   CAROL        MARABLE                      NM     35092481993
84B3B1A1672B62   ALICIA       MONTES                       CO     90011161016
84B3B256285936   MARIELENA    TISCARENO                    KY     90012112562
84B3B393A72B29   ALEJANDRA    HERNANDEZ                    CO     90010313930
84B3B3A3872B27   JUANA        GODOY                        CO     90008203038
84B3B413951362   LATOYA       COLLINS                      OH     90014734139
84B3B469572B62   OSWALDO      ACOSTA                       CO     90012704695
84B3B51685B183   PRECIOUS     LYONS                        AR     90012055168
84B3BA83797B3B   MEREDITH     REIDER                       CO     39051420837
84B413AA38B168   WENDY        TUI                          UT     90013613003
84B41427551362   KENDRA       ABNEY                        OH     90014734275
84B42343976B97   LUIS         HERNADEZ                     CA     90014423439
84B4238749154B   MARISOL      CEBALLOS                     TX     90013833874
84B42427551362   KENDRA       ABNEY                        OH     90014734275
84B42672272B33   THOMAS       JARAMILLO                    CO     90014626722
84B43121361928   ROGELIO      MARTIN                       CA     90014951213
84B436A5472B62   SELENE       PINELA                       CO     33063126054
84B43772891975   MAXUEL       PEREIRA                      NC     90003217728
84B4379A64B577   JANET        CARR                         OK     90008027906
84B43A23891837   VINCENT      MENELEY                      OK     90010100238
84B44129491975   WES          YOUNG                        NC     17051691294
84B44161791837   NICK         WHITE                        OK     21025871617
84B4423314B967   ELTON        CLARK                        TX     76573382331
84B44388672B62   STEVEN       EVIN                         CO     90009953886
84B44464351362   STELLA       KOLOKOWSKI                   OH     90014754643
84B4465225B24B   CHRIS        ST CLAIR                     KY     68070786522
84B44A73391979   SAMUEL       MARTINEZ                     NC     90011490733
84B45434772B62   JAIME        BAUTISTA                     CO     33085544347
84B45495A91979   FLOR         GOMEZ                        NC     90012834950
84B4563678B168   AMY          SIMPSON                      UT     90010736367
84B4569126194B   KARINA       GUTIERREZ                    CA     90013656912
84B45929572B33   LASHAWN      JACKSON                      CO     33003589295
84B45929997138   ELI          CAMPBELL                     OR     90011019299
84B46463491975   MELISSA      DENN                         NC     90013394634
84B4652145B183   ROSEMARY     WATSON                       AR     23091645214
84B466A474B22B   JEREMY       HARRRIS                      NE     90010176047
84B4678722B28B   SHARON       LOCKE                        DC     90001987872
84B4757219154B   MARCO        ARRELLANO                    TX     90010995721
84B4776275B24B   JOSH         MURPHY                       KY     90012207627
84B47954251362   RACHAEL      MCBRIDE                      OH     90013069542
84B47977591935   ANGEL        TELLEZ                       NC     90011839775
84B4884A69154B   VICTOR       GONZALEZ                     TX     90007748406
84B4928A22B28B   JANISHA      HALMOR                       DC     90011312802
84B49451172B62   VERONICA     MENDOZA                      CO     33072484511
84B49671891975   FELECIA      MOORE                        NC     17004446718
84B49A67461934   MATHEW       MAGNUSON                     CA     90011660674
84B4B22528B154   ETIMONI      LATU                         UT     90011342252
84B4B359971977   KAREN        CHAVEZ                       CO     90010933599
84B4B399172B29   FRANCISCO    TAMAYO                       CO     33049803991
84B4B3A4941239   STEVE        SMITH                        PA     90012623049
84B4B57935B581   MIRIAM       TREJO                        NM     90008825793
84B4BA41297B3B   CRAIG        THACKER                      CO     90014550412
84B5168654B562   ROCAEL       GRAMAJO                      OK     90003706865
84B5221574B569   JUSTIN       PHILLIPS                     OK     90002432157
84B52444A8B154   MICAH        PERRY                        UT     90009774440
84B52449172432   JANICE       JACKSON                      PA     51056254491
84B526A2891979   CRYSTLE      HORTON                       NC     90008556028
84B53329A76B97   CYNTHIA      ESQUEDA                      CA     90011383290
84B53333397B3B   DEEANNE      RODRIGUEZ                    CO     90013483333
84B53359871977   SUMMER       GOMEZ                        CO     90006573598
84B53376197B38   PHILIP       GUZMAN                       CO     39085873761
84B54191985856   ATIF         CHAVEZ                       CA     90007651919
84B5447939154B   GUADALUPE    RIOS                         TX     90014704793
84B544A9472485   TEENA        SUTTON                       PA     90001984094
84B5454A92B28B   SARAI        MARTINEZ                     DC     90014945409
84B54776851362   THERESA      LOCKETT                      OH     66056177768
84B55168372B29   VERNA        GONZALES                     CO     90013041683
84B55326661934   EFIGENIA     FERNANDO                     CA     46073073266
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1265 of 2350


84B553A2851366   CODY         MYERS                        OH     90000783028
84B5565756194B   BORATH       NOP                          CA     90011886575
84B5566882B28B   LAWRENCE     BENNETT                      DC     90007156688
84B56469376B97   DAVID        NUNEZ                        CA     90010284693
84B564A2841275   NICOLE       ROSE                         PA     90013934028
84B5668368B154   LAURIE       OLEARAIN                     UT     31045786836
84B5682A272B33   JENNIFER     BOONE                        CO     33014058202
84B5714776194B   SOCORRO      VAZQUEZ                      CA     90013211477
84B5716218B154   CHRISTINE    MCCLISTER                    UT     31076081621
84B57231293771   CHABRI       MILLER                       OH     90014922312
84B5757219154B   MARCO        ARRELLANO                    TX     90010995721
84B5783A18B163   TRICIA       BOMAR                        UT     31009438301
84B57864897B3B   TIRZAH       ADAMSON                      CO     39019058648
84B5813A691975   JESUS        GUEL                         NC     90014751306
84B581A2361934   MANUEL       MARTINEZ                     CA     90011661023
84B58286797B3B   LEE          DEHART                       CO     39063922867
84B58571391979   ZAKKEE       HILL                         NC     17057715713
84B5866A52B28B   TIFFANY      BROOKS                       DC     90011136605
84B5894392B28B   GEORGE       HARRIS                       DC     90013119439
84B58A34536121   JEFFREY      JONES                        TX     90006150345
84B5945A56194B   ABDULLAHI    SAID                         CA     90012204505
84B59462897B38   ANNETTE      MARTINEZ                     CO     90011034628
84B5984989154B   JONATHON     PAREDES                      TX     75012118498
84B5987354B569   JOHNSON      DEANGELA                     OK     90015198735
84B598AA372B33   SIMON        VAZQUEZ HERRERA              CO     33008028003
84B59997591975   SIERRA L     HEDGEPETH                    NC     90014739975
84B59A45161928   ROSA         RODRIGUEZ                    CA     46067740451
84B5B28619712B   CHRITOPHER   ONG                          OR     44013102861
84B5B574977537   GIOVANNI     TORRES                       NV     90014885749
84B5B6A915B581   LORENA       GALLEGOS                     NM     35074356091
84B6114A872432   DESTANEY     BURNETTE                     PA     51098071408
84B6135765B522   LUIS         PADILLA                      NM     35062123576
84B618A854B569   KYLE         BAKER                        OK     90011118085
84B61A83A72B29   JESUS        SAUCEDO                      CO     90008440830
84B6226A161928   ANTONIO      PAREDES                      CA     46000882601
84B62283151362   MELLISA      JIMENEZ                      OH     90008852831
84B6269373163B   LYDIA        ZAPSAS                       KS     22090066937
84B6311459154B   ORTIZ        JOSE                         TX     75010151145
84B63543476B97   KEVN DAE     LEE                          CA     90013015434
84B63587572496   SARAH        WILLIAMS                     PA     90007025875
84B63658977537   JANET        WILLIAM                      NV     43079656589
84B64573193766   LONDRA       BAGFORD                      OH     90014105731
84B65162571977   TYSHAWN      NICHOLAS                     CO     90015171625
84B6543A691979   SHUN         FLEMING                      NC     90009464306
84B65622A61928   EDGAR        FUENTES                      CA     46058396220
84B65718472B33   STEVEN       KADINGER                     CO     90014477184
84B65844397B38   ELI          PIZARRO                      CO     39047148443
84B65A62191837   GREGORY      HERNDON                      OK     90014940621
84B6659673B389   DANIELLE     HASTINGS                     CO     33046455967
84B6673A45B139   T            RUSSELL                      AR     23077687304
84B66A7345B183   ERIC         BELL                         AR     90014230734
84B6715784B569   DESTINY      MASON                        OK     90015121578
84B67192485936   YULEANA      VILLANUEVA                   KY     90005191924
84B6769A68B163   SANDRA       CARRILLO                     UT     90012676906
84B67921141262   MEGAN        SWEENEY                      PA     51048469211
84B6796A972B33   JOHANA       ARZOLA                       CO     33091169609
84B681A8677537   DAVID        KEMNITZ                      NV     90012201086
84B68567A51362   CASSANDRA    HARRIS                       OH     90009315670
84B6916452B28B   SHALLSEA     FORD                         DC     90014741645
84B6936945B183   GUILLERMO    CASTANEDA                    AR     23024453694
84B69596297B3B   NICKOLAS     SCHAFER                      CO     90013275962
84B69987171977   ESPERANZA    DIAZ                         CO     90005729871
84B69A6635B24B   TOMAS        PINA                         KY     90008890663
84B6B17479154B   FRANK        TOLEDO                       TX     75079021747
84B6B2A312B243   ALISA        ANDERSON                     DC     90002352031
84B6B398261928   MARIANO      ARISTA                       CA     90011573982
84B6B792A91837   MARTHA       CORONADO                     OK     21038017920
84B6B941A8B154   NICHOLAS     MONTAGUE                     UT     31086029410
84B712A4A72B33   JOSEPH       GREENEMEIER                  CO     90013872040
84B71433197B38   ROBERT       LORD                         CO     90014804331
84B7214565B24B   ERONDA       BURTON                       KY     68076261456
84B72191151323   BERHE        ABRAHA                       OH     90014241911
84B72341441262   BRIAN        DAVIS                        PA     90013403414
84B72344472B33   AILEEN       DOMINGO                      CO     90009223444
84B73471751362   AMY          CHRISTOPHER                  OH     90014754717
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1266 of 2350


84B73662861934   RAY            GOMEZ                      CA     46088306628
84B74315851362   JAMES          FLEISSNER                  OH     66009723158
84B74387341275   LISA           GRAM                       PA     90013963873
84B7457219154B   MARCO          ARRELLANO                  TX     90010995721
84B7527784B22B   LISA           NELSON                     NE     27073022778
84B75418A76B97   STELLA         MIRANDA                    CA     90013154180
84B75912572B33   JORDAN         LUJAN                      CO     90009559125
84B76127985936   REBECCA        JACOBS                     KY     67090221279
84B76636572B62   ADAM           LUCERO                     CO     90012906365
84B76929851362   LAUREN         GAULDEN                    OH     90014759298
84B76A78991837   JILL           WEAVER                     OK     90013540789
84B7723328B168   SANNY          PASS                       UT     90002412332
84B7729A55B183   ROOSEVELT      NELSON                     AR     90014432905
84B7762339154B   ADRIAN         PENA                       TX     90012056233
84B77737497B3B   LAZARO         CATALAN-SALGADO            CO     90003127374
84B78114976B97   JOSE           CONTRERAS                  CA     90013921149
84B7824324B22B   DANA           TAYLOR                     NE     27037362432
84B7855255B183   ERIKA          BARNES                     AR     90014975525
84B79155151362   MARGUERITA     WOODS                      OH     90014741551
84B79242893771   BYRON          STEPHENS                   OH     64579672428
84B79374572B62   ANDRES         ARROYO                     CO     33094573745
84B79489281677   REPHAEL        HARRIS                     MO     29085054892
84B79546197B38   ANTONIO        LOPEZ                      CO     90014785461
84B7968696198B   OBED           TORRES                     CA     90008076869
84B79A3195B183   TOBY           GREENWOOD                  AR     23045050319
84B7B617197B38   MARCELO        VELARDE                    CO     39087746171
84B7B8A8985856   JHON           QUIZPE CAMAYO              UT     90010208089
84B7BA17191979   JOSE           VELASQUEZ                  NC     17091700171
84B815A324B569   JUAN           ROMAN                      OK     90008515032
84B8161472B28B   KAMAL          MONGD                      VA     90011916147
84B81651661934   DESHANDA       GOSS                       CA     46007066516
84B81A1A551362   HEATHER        MINNIE                     OH     90011450105
84B82153361928   ROSALBA        HELWA                      CA     90013781533
84B82244991975   SECIA          CANALES                    NC     17091332449
84B8316525B183   AMBER          DANNER                     AR     90003971652
84B8323595B139   RENALDA        JONES                      AR     90005162359
84B83329251334   ASFEW KASHUN   BETHLEHEM KASSA            OH     90004303292
84B84169985938   ROBERT         SIMMONS                    KY     90009921699
84B84618985856   CHERYL         RHODES                     CA     90013916189
84B8484398B163   ANDREW         ELVAREDO                   UT     90005458439
84B849A998B168   MELISSA        ALLEN                      UT     90012909099
84B84A43797B3B   KIRSTEN        BREWER                     CO     90014550437
84B8533979132B   JOE            FISK                       KS     29035513397
84B85415885936   ROGER          ARVIN                      KY     90009744158
84B8586A772B29   TALIA          FERRAIUOLO                 CO     90010998607
84B86144A5B24B   ANDREA         FREEMAN                    KY     68062681440
84B86399397B38   JOHN           GIBSON                     CO     90014753993
84B866A8A41262   NICOLE         JONES                      PA     51093556080
84B86922993771   ALICIA         COTTON                     OH     64591119229
84B86A45551362   AMADOU         BAH                        OH     66095160455
84B87275A4B569   CANDELARIA     WENDOZA                    OK     90006172750
84B87319272B29   ROSALINDA      OROCIO                     CO     33044653192
84B8764248B154   JOSEPH         WILLIAMS                   UT     90011876424
84B87947485655   ALBERTO        SIXTEGA                    NJ     90013779474
84B87A87277537   BRANDON        LEE                        NV     90000900872
84B88158276B97   IRVY           VASQUEZ                    CA     90014031582
84B8863537B389   CALVIN         MYRICK                     VA     81020806353
84B88666172432   HECTOR         GAONA                      PA     51072416661
84B88886A8B154   RONALD         FLOCKEN                    UT     90012288860
84B88942593771   SCOTT          STRAWSER                   OH     64524669425
84B8915986194B   RODOLFO        MIRAMONTES                 CA     90013521598
84B89277672B3B   SUSAN          TROST                      CO     33096692776
84B89572876B97   PRISCILIAN     RAMIREZ                    CA     90002675728
84B89779972B33   DAVID          TROWBRIDGE                 CO     90010737799
84B8986429154B   ESPERANZA      LOPEZ                      TX     75042288642
84B8991415B581   JANIE          GARCIA                     NM     35079959141
84B8B314397B38   TINO           RODRIGUEZ                  CO     90001973143
84B8B572772B33   MARISOL        ESCOBAR                    CO     90008805727
84B8B842341262   NIKKI          GOODWIN                    PA     90012618423
84B8BA43647897   CAROLYN        MOORE                      GA     90010370436
84B91528785936   RICHARD        FIGUEROA                   KY     90013085287
84B9176412B28B   BYRON          PEREZ                      DC     90014097641
84B91859877537   JESSE          FLORES                     NV     90012388598
84B921A832B28B   ESTEBAN        CRISOSOTO                  DC     90014761083
84B92686972B62   MARGARET       DUPLANTIER                 CO     90011396869
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1267 of 2350


84B92778485936   GARY          BIETZ                       KY     90011347784
84B92792347897   TONY          WARD                        GA     14059937923
84B92939897138   TIA           OWEN                        OR     90012339398
84B92976391979   ALANDA        SANDERS                     NC     90009089763
84B93729291979   AWILDA        ANDUJAR                     NC     17009467292
84B93853297B3B   DANIEL        BENDER                      CO     90008538532
84B9389A49154B   VERONICA      HERNANDEZ                   TX     90012848904
84B93A76141262   LAQUAIA       BREWER                      PA     51043090761
84B94312841262   DENNIS        WESTON                      PA     90010403128
84B94351171977   ELIZABETH     BARNES                      CO     38089893511
84B94393497138   HILDA         AMBRIZ                      OR     90011033934
84B94742591975   PABLO         ARGUETA                     NC     90003087425
84B9477896194B   BEAT          MILLER                      CA     90010137789
84B94798172B62   ROSEMARY      CADENA                      CO     33057197981
84B95115A51351   KENNETH       RHODES                      OH     90001841150
84B9539775B581   ABDULKADER    KHAMIS                      NM     90010573977
84B95716A97B3B   JOSE CARLOS   ZAMORA                      CO     90013167160
84B95A94791975   AMBROSE       FUNCHES                     NC     90010910947
84B9629932B991   TRUDY         NORTHERN                    CA     45034102993
84B96317147897   LAKISHA       COGER                       GA     14087053171
84B96425172432   STACY         WITTBECKER                  PA     90000584251
84B9644588B163   AARON         MASCARENAS                  UT     31017194458
84B96465291979   MARY          HAYWOOD                     NC     17078514652
84B9661755B59B   MARIA         AGUIRRE                     NM     90007976175
84B96682797B38   ADRIEL        BRACAMONTES                 CO     90014786827
84B97341972B33   SUSIE         MARSH                       CO     90014813419
84B97635A72B29   JEFFREY       CAVINESS                    CO     90005706350
84B9768468B163   GILBERTO      RONDON                      UT     90010836846
84B98117A6194B   LUIS          GARCIA                      CA     90002131170
84B98292161928   LEELAND       WATT                        CA     46029522921
84B982A7791837   MALISSA       BEAVER                      OK     90010972077
84B98646891975   FREDY         CASTRO                      NC     90004096468
84B988A2672B62   SEAN          DOYLE                       CO     90014908026
84B994A2841275   NICOLE        ROSE                        PA     90013934028
84B9953368B154   CHARLOTTE     TERRELL                     UT     90010655336
84B9973A45B139   T             RUSSELL                     AR     23077687304
84B99962797138   ELVIA         AVINA                       OR     44015239627
84B9B494761928   SANTIZO       JHANS                       CA     46060814947
84B9B68A191837   CANDICE       THOMAS                      OK     90011716801
84B9B96A38B168   MILTON        IGNA                        UT     90015059603
84B9BA52691979   JOHN          DEL BARONE                  NC     90014700526
84BB1358176B97   RUTH          LOBATOS                     CA     90012763581
84BB162A44B22B   HEATHER       BOWEN                       IA     27075626204
84BB1749891975   AARON         SHORT                       NC     90014907498
84BB2295A8B154   CASEY         BROWN                       UT     31060632950
84BB3391491992   DANIEL        ATKINS                      NC     90001573914
84BB347A971977   VIRGINIA      QUICK                       CO     90011104709
84BB382238B168   AUDREY        FETZER                      UT     90014718223
84BB4122591975   BREANN        THOMPSON                    NC     90014711225
84BB455565B183   GLORIA        MONTOYA                     AR     90013545556
84BB4747177537   GENEVIEVE     WEISS                       NV     90005617471
84BB47A4341275   LANCE         GOGAL                       PA     90015207043
84BB4823872B33   PEDRO         BARDALES CORONADO           CO     33012568238
84BB4A8918B168   NORA          CAZARES                     UT     90014730891
84BB5398841275   ADAM          SMITH                       PA     90013933988
84BB53A7172B33   SALVADOR      VILLEGAS                    CO     33050183071
84BB549985B183   KELTON        SHAW                        AR     23074054998
84BB5994151362   JASMINE       JONES                       OH     90014639941
84BB6366372B33   BRYCE         WEST                        CO     90014683663
84BB68A515B24B   ANTHONY       JOHNSON                     KY     90010138051
84BB68A7272B33   JOSHUA        WILLIAMS                    CO     90010748072
84BB6916172B29   GUILLERMO     GARCIA                      CO     33055069161
84BB711879154B   MICHAEL       MANCERA                     TX     90012101187
84BB7452597B3B   MONA          VALADEZ                     CO     39074234525
84BB84A3477537   STEPHANIE     ABEL-SANCHEZ                NV     90014564034
84BB857256194B   DASHON        JOHNS                       CA     90014525725
84BB8822A85856   AUDREY        ARCHER                      CA     46053628220
84BB8961433639   DESIREE       SWEET                       NC     90014339614
84BB925919154B   JERRY         BARRERA                     TX     90010472591
84BB92A375B183   LATONYA       SMITH                       AR     90013952037
84BB9447157126   JOSE          ARGUETA                     VA     90002324471
84BB9583397B38   ELSA          CASTRO                      CO     90008125833
84BB98A3591532   ARELY         REYES                       TX     90004788035
84BB9A45157135   EVELYN        BARBOUR                     VA     90010360451
84BBB4A4472B33   ALEJANDRA     LUCERO                      CO     90008244044
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1268 of 2350


84BBB872257123   GUSTAVO      NAVA                         VA     90000448722
84BBBA2245B24B   JOHN         JEFFERY                      KY     90013590224
851113A5255945   HUGO         OCHOA                        CA     49089663052
8511146675B581   BEATRICE     COLASCO PULIDO               NM     90003874667
85111AA7633689   SHEREA       PITT                         NC     90008390076
8511288455B183   NINA         BELL                         AR     90014098845
85113A84355971   LLUVIA       CANDELA                      CA     90015060843
85114657A61928   YESENIA      SIFUENTES                    CA     90012146570
85114846A54B62   JEOVANNI     MARTINEZ                     VA     90014498460
85115217A8B168   JOHN         LYLE                         UT     31046092170
8511528A547897   JULIAN       GRIMES                       GA     14009732805
85115346497B3B   BRIAN        QUINBY                       CO     90013443464
85115913554B62   LUCIEN       CASEY                        VA     90014539135
851164A1491324   DAVID        WITT                         KS     90012954014
8511658377B496   MARTHA       OSORIO                       NC     90013615837
85116584397B3B   MARQUETTE    MARTINEZ                     CO     39079465843
85116854572B29   MICHAEL      PALMER JR                    CO     90009808545
8511693575B183   RUTH         JOHNSON                      AR     90015069357
8511696818B154   EMILIO       TUJILLO                      UT     90010489681
8511714A597B38   MIGUEL       VICENTE                      CO     90004031405
8511845315B24B   AMBER        BLOOTHOOFD                   KY     90012394531
85118639672B62   RON          POWELL                       CO     33028126396
85119251472B62   VLADISLAVA   MALAYA                       CO     33066252514
85119833A54B62   PAYGO        IVR ACTIVATION               VA     90010878330
8511B684972B62   KYLE         STILLMOCK                    CO     90013446849
8511B894391324   STEPHEN      DAVERN                       KS     90009148943
8511B952293771   DENISE       HANKERSON                    OH     64556879522
8512165526194B   MANUELA      ROJO                         CA     46053056552
851216A629154B   LETICIA      PINON                        TX     90014776062
8512187929152B   MARIA        LUNA                         NM     90014628792
851236A629154B   LETICIA      PINON                        TX     90014776062
8512418454B22B   LUIS         VAZQUEZ                      NE     90012401845
851245AAA9154B   DIANA        PEDROZA                      TX     90008205000
8512495247B339   YESSENIA     CARDOZA                      VA     90001989524
851259A8376B68   DALLAS       WYATT                        CA     46009289083
8512659A591975   MICHAEL      YOUNG                        NC     90013075905
8512667568B154   MOHAMED      BASHIR                       UT     90015196756
8512683347192B   JUSTIN       ABBOTT                       CO     90013378334
85126A39354B81   SAMMY        PARKS                        VA     90015530393
85127839272B62   LOLA         LUNA                         CO     33064178392
85127A1145B183   DAMUNDRIA    CLAY                         AR     90007100114
85128111497B38   IRMA         BANUELOS                     CO     90007331114
8512912995B183   UVALDO       ELIAS                        AR     90014761299
8512944935B581   FLOR         MOLINA                       NM     90006864493
85129846654B62   LAUREL       PETREVICS                    VA     90013898466
85129A9A581654   KHRIS        MANN                         MO     90008740905
8512B225154B62   CLAUDIA      BEZAKA                       DC     81008942251
8512BA51381677   DORETY       MCAFEE                       KS     90013730513
8513114937192B   AMANDA       SLATER                       CO     90013401493
8513226739185B   SHALAN       VELEZ                        OK     21050452673
85132421254B62   BATRES       MALDONADO                    VA     90007804212
8513244712B28B   SANDRA       QUEEN                        DC     81071034471
85132616197B3B   LISA         JOHNSTON                     CO     90013086161
85133A6A691837   TIFFANY      WHITESIDE                    OK     90014500606
851341A1391324   JOSEPH       PEREZ                        KS     90013661013
8513429559152B   JAVIER       MORALES                      TX     90012232955
851345A7691837   ALICIA       GOMEZ                        OK     90010155076
851347A368B154   SHERRI       ANDERSON                     UT     90014217036
851354A295B24B   LARRY        FRIDLEY                      KY     90014804029
851354A4172B62   MINNIE       MITCHELL                     CO     33030154041
8513618976194B   MARIA        NAVA                         CA     90005731897
85136915572B33   MARY LOU     RODRIGUEZ                    CO     33032709155
85137899A71977   JENNIFER     VELASQUEZ                    CO     38041078990
8513833715B581   ESTHER       LOPEZ                        NM     35076713371
85138417976B68   STACEY       OLSEN                        CA     90012994179
8513879189154B   LUCIA        ANCHIETA                     TX     90011497918
851391A987192B   AMBER        LUCERO                       CO     32057161098
851397A4A5B581   CORINE       YBARRA                       NM     90014217040
8513B1A3A93771   LATASHA      KNIGHT                       OH     90004241030
8513B593193771   THOMAS       SAMANTHA                     OH     64533625931
8514129388B163   AMBER        SHAW                         UT     90006592938
85141948297B38   TYREE        SCHRAEDER                    CO     39058449482
85142584A41262   KOURTNI      YOUNGER                      PA     90012795840
8514287A685856   JOSHUA       MEYER                        CA     90006788706
8514312345B581   KAITLYN      YAZZIE                       NM     90008881234
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1269 of 2350


85143728597B3B   BRANDON      DAY                          CO     39086097285
8514418895B139   KOREY        DUPREE                       AR     90014641889
85144314A9152B   DAVID        PINON                        TX     90013173140
8514454645B183   TINA         SLACK                        AR     90011575464
85144551954B62   ISSAC        OWUSU                        VA     90013185519
8514499945B581   RAUL         CORTINA                      NM     90010239994
85144A1199154B   SANDRA       MEJIA                        TX     90013830119
85146318997B3B   STACY        HANWAY-VICK                  CO     39031163189
8514656177192B   MICHAEL      QUEEN                        CO     90013525617
851471A459125B   TIEWANDA     DOE                          GA     90011551045
851478A295B581   REBECA       MIRANDA                      NM     90013368029
85147949A72B33   MARIA        DELGADO                      CO     33089729490
85148777A31651   TINGERLE     HANNAN                       KS     90008387770
85148AAA154B62   RASHEEDA     ABDUR-RASHEED                VA     81026740001
8514922A797B38   ISMAEL       MENDEZ                       CO     39001182207
8514955A761928   NICOLAS      ARCINIEGA                    CA     90010775507
8514961A881677   ELIZABETH    EBERT                        MO     90013156108
8514B581474B7B   CONSTANCE    YOUNG                        OH     90015245814
8514B766A33B33   WILL         MIDKIFF                      OH     90015437660
8514B811991926   BEZUAYEHU    KEBEDE                       NC     90013028119
8514BA17591975   ARIEL        TOMLINSON                    NC     90013270175
8515138255B24B   TIANA        HAMMOND                      KY     68004773825
8515211979154B   CRYSTAL      TAFOYA                       TX     75095941197
85152638972B62   ANGINIQUE    JORDAN                       CO     90014356389
8515274278B154   ILENE        MORRIS                       UT     31053377427
851534AA997138   DIYANNA      LANGAGER                     OR     90011994009
85153632A72B33   JOSE         LAGA                         CO     90010916320
8515366496192B   FAUSTO       SANTANA                      CA     46045336649
8515382A48596B   TERRI        WILLIMS                      KY     90004008204
8515426155B581   RICARDO      CASTRO                       NM     35054622615
85154488376B68   JON          BAEK                         CA     90012524883
8515463779154B   SELINA       CAMPOS                       TX     90014776377
85154778972B33   JOHNNY       CHAVEZ                       CO     90012547789
85154A1474B22B   EBEN         RICHMOND                     NE     90003910147
8515614595B183   BLANCA       CIFUENTES                    AR     90013841459
8515844415B183   COREDLIA     BOHLAR                       AR     90013714441
85158499A91975   SHA-KEMHA    SUBER                        NC     90013094990
851585A652B28B   JAZMINE      FENWICK                      DC     90007495065
85158A26272B29   JANNETTE     TYSON                        CO     33013390262
85158A2969152B   JESUS        ROMERO                       TX     75051800296
8515939575B24B   LYNDA        DOUGHERTY                    KY     90014493957
8515978275B24B   LINDA        DOUGHERTY                    KY     68015337827
8515B234772B62   CYNTHIA      ZIPPRICH                     CO     33083322347
8515B73988B168   SHERRI       CARRANZA                     UT     90010167398
8515B91795B581   ERIG         LANDIN                       NM     35055139179
8515B92818B154   ISAIAH       LYNN DAVIS                   UT     90010499281
8515BA72571977   ASA          JENSEN                       CO     90012320725
851615A224B538   MARIA        PADRON                       OK     90013245022
8516218318B154   JONATHAN     OSBORNE                      UT     90014691831
8516263779154B   SELINA       CAMPOS                       TX     90014776377
8516363399152B   ISIDRO       A VILLALOBOS                 TX     90013596339
8516429A391979   MELISSA      SMITH                        NC     90012192903
8516463779154B   SELINA       CAMPOS                       TX     90014776377
8516468125B522   KAY          JUNO                         NM     90008596812
85164A2385B921   TERRYN       BOVILLE                      ID     90010940238
85164A67777537   VANCE        SUNDOWN                      NV     90013760677
85165228597B38   EVETT        BENAVIDEZ                    CO     39048982285
85165593A8B829   MICHELE      PIGOTT                       HI     90014455930
85165A8868B168   JORGE        GARCIA                       UT     90007740886
85166145172B33   MONICA       DELAO                        CO     33041601451
8516633875B24B   TAMEKIA      ALDAHEEN                     KY     90009243387
85166496A4B22B   PAYGO        IVR ACTIVATION               NE     90012944960
8516668325B17B   RUDY         HERNANDEZ                    AR     90005876832
851666A6A72B62   MIGUEL       SANCHEZ                      CO     90011606060
851667A9391975   SAIDA        ALVARADO                     NC     90013627093
8516682274B22B   JAVIER       CASILLAS                     NE     90012008227
851668A638B154   KAITLYN      GARNER                       UT     90012538063
8516741924B22B   JERRY        CORNWELL                     NE     90013294192
8516741A38B168   ANN          TOME                         UT     31091044103
8516796979152B   MARGARITA    BARBARA                      TX     90012009697
85167A79A72B62   CORESA       BREAULT                      CO     33000170790
8516842A591975   HECTOR       ESPARZA                      NC     90012684205
8516855839152B   TERESA       SALAZAR                      TX     90014935583
85168656A55971   EVANGELINA   GALLARDO                     CA     90014186560
8516963779154B   SELINA       CAMPOS                       TX     90014776377
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1270 of 2350


85169777697B3B   LILIANA      GARCIA                       CO     39084757776
8516B51185B183   ARTURO       SALAZAR                      AR     90010055118
8516B568847897   SAMANTHA     THOMAS                       GA     90007665688
8516B716341275   TAYONA       COOK                         PA     51039247163
8516B834A81677   NAKIA        MCDANIEL                     MO     90013448340
8517126544B54B   BRANDON      SMITH                        OK     90000782654
8517185A35B24B   SHAWN        MCINTYRE                     KY     90013228503
85171A27493771   ZACH         COMBS                        OH     90012950274
85171A45A91975   JENNIFER     MANNHOPKINS                  NC     90014140450
8517211968B154   PEGGY        LOVELESS                     UT     31031471196
85172141297B3B   JENNIFER     RAMIREZ                      CO     90012071412
8517245953163B   KYLEE        DILL                         KS     90005814595
8517263779154B   SELINA       CAMPOS                       TX     90014776377
85172812672B62   ASHLEE       DEARMIN                      CO     90005518126
85173936572B33   TRACY        WINN                         CO     90013119365
85173A32172B62   JERRY        CARRERA                      CO     90013730321
85173A47497B3B   TYLER        CARR                         CO     90013620474
85174226654B62   MIGUIEL      SANDOVAL                     VA     90015482266
85174458254B62   JONATHON     HIGGINS                      VA     90011324582
851755A317B386   GILDA        DIAZ                         VA     81050555031
8517568A893771   ROBIN        SMALL                        OH     90011046808
85176118497B38   LUIS         SOTO-ESCARCEGA               CO     90008231184
8517646339152B   SONIA        ROBLES                       TX     75058504633
8517653A75B581   STEVE        VALDEZ                       NM     35003735307
851768A4254B62   JOY B        BROWN                        VA     90001168042
851769A8355945   DEREK        VINCENT                      CA     90011359083
85176A27A8B154   CARLOS       VALENZUELE                   UT     90011960270
85176A63355945   MARIA        RODRIGUEZ                    CA     90013840633
8517736584B22B   SAUL         ESTRADA                      NE     90012363658
8517745A754B62   JAY          BROWN                        VA     90014054507
8517796985B24B   KENNETH      WEATHERS                     KY     90010989698
8517827549154B   RICH         DENNY                        TX     90014782754
8517896525B581   KIMBERLY     DERN                         NM     35004819652
85178A29861928   DANIEL       GONZALEZ                     CA     90005580298
85178A7248B168   RICHARD      WINTERS                      UT     90008160724
8517917A39152B   CHRISTINE    GUERRERO                     TX     90005741703
851796A375B24B   SHANNON      WOOD                         KY     68090726037
85179837A5B35B   ALLIO        BLONDI                       OR     90012608370
8517B295791837   WILSER       ALVARADO                     OK     90014522957
8517B464571977   CHILA        MANRIQUEZ                    CO     38058304645
8517BA6964B22B   DANIEL       CURRY                        NE     90010810696
85181553A47897   DEANA        BAKER                        GA     90004075530
85181A7A52B891   LORENZO      MORENO                       ID     90009330705
85182747472B62   JAMIE        HARCOURT                     CO     90014377474
8518291797B464   MARIA        TELLO                        NC     90008209179
85182A3269152B   STEFANIA     TORRES                       TX     90007230326
85182A85597B3B   DERECK       GREEN                        CO     90012300855
85183135154B62   GLORIA       MAJAMO                       VA     90012391351
85183284A9154B   CRYSTAL      VAZQUEZ                      TX     90014782840
85183337A54B62   INGRID       CONTRERAS                    VA     90013433370
85184284A9154B   CRYSTAL      VAZQUEZ                      TX     90014782840
8518429175B581   OLIVIA       ALDERETE                     NM     90011902917
851843A9A47897   DEBORAH      BLASH                        GA     90007753090
85184757572B33   MARIA        HERNANDEZ                    CO     90000617575
851852A4385856   JOSE         HERNANDEZ                    CA     46096032043
8518543554B22B   PAYGO        IVR ACTIVATION               NE     90012364355
85185464172B29   DENISE       GONZALES                     CO     90012834641
8518549846194B   GERADO       NUNEZ                        CA     90003794984
85185815A41275   CHRIS        LANG                         PA     51091818150
85185AA8976B68   STACY        WATKINS                      CA     90011520089
8518619A272B33   KATHYN       MURILLO                      CO     33066881902
8518655429375B   JUANITA      KEMP                         OH     90012335542
8518728A85B356   DAVID        MENDEZ                       OR     90006242808
85187A7625B183   ANTHONY      PATE                         AR     23072740762
851884A2741262   JONY         GABBER                       PA     90013964027
8518868524B22B   YVONNE       JOHNSON                      NE     27025236852
85189177472B29   MAURICE      ENGELBY                      CO     90010421774
8518932735B581   ANGEL        BAFRRERAS DRUCE              NM     90013393273
8518995AA91975   MUKENDI      BAJANI                       NC     90013929500
8518B31655B24B   PAYGO        IVR ACTIVATION               KY     90013683165
8518B63AA8B154   MARK         LEE                          UT     31033666300
8518B922461928   SHIRLEY      FREEMAN                      CA     90005679224
8518BA63A41262   DARLA        HARDY                        PA     90001310630
8519129819154B   MARIA        GOMEZ                        TX     90014782981
8519188655B379   ELIZABETH    RALL-MALDONADO-              OR     90004688865
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1271 of 2350


8519213168B692   MARY         GARCIA                       TX     90014601316
8519223815B581   BARBARA      LUGONES-GONZALEZ             NM     90012772381
8519394444B967   KELLY        LITTLE                       TX     90002919444
85193AA6971977   ERIC         RIVERA                       CO     38076260069
85194569A5B24B   RICHARD      MADDOX                       KY     90014535690
851945A652B28B   JAZMINE      FENWICK                      DC     90007495065
85194A43A4B22B   JORGE        OCHOA                        NE     90014740430
85195491276B68   FRANSICO     JAVIER IBARA GARCIA          CA     46001214912
851955A2791837   RIKO         FCYFFORE                     OK     90002395027
8519618685B581   MARIA        GONZALEZ                     NM     90001571868
851961A375B24B   JESUS        ANTONIO-SORIANO              KY     68005901037
85196245A97138   DANIEL       FLIPPO                       OR     90007052450
8519641A372B33   KENYA        WILLIAMS                     CO     90013024103
8519653179185B   DJ           SMITH                        OK     21050465317
85196714997B38   MANUEL       GRANADOS RIVERA              CO     39054847149
85198A72333698   CHRIS        ROSALES                      NC     90014180723
85198A8399154B   ELIZABETH    BARRAZA                      TX     75043550839
8519929545B17B   KATHRYN      THOMAS                       AR     90006802954
8519936A172B62   BRITTNEY     CASTANEDA                    CO     90014573601
8519942615B183   LAWANDA      PENDLETON                    AR     23090214261
85199621197B3B   STEVEN       CORDOVA                      CO     39060016211
85199A93855945   ROSALIO      HERNANDEZ                    CA     90006070938
8519B135497138   KIMBERLY     BACA                         OR     44028821354
8519B29819154B   MARIA        GOMEZ                        TX     90014782981
8519B543933698   BASSAM       ALLAMADANI                   NC     90013075439
8519B88125B24B   JOHN         ISON                         KY     90013938812
8519B914541275   LARRY        WALLACE                      PA     51063889145
8519B928472B33   NOVA         RUPP                         CO     90010759284
851B131A297138   ANTONIETA    MIGUEL                       OR     90005173102
851B1556372B33   KATHY        ZARAGOZA                     CO     33077975563
851B248519152B   RUTH         SAENZ                        TX     90013014851
851B2522741262   CARMON       WILLIAMS                     PA     51033985227
851B286795B24B   DEONDRA      EARSERY                      KY     90013938679
851B3225161928   VERONICA     TOSTADO                      CA     90013462251
851B359389154B   PATRICIA     DE LA CRUZ                   TX     90014775938
851B3967751347   ANDRE        RODRIGS                      OH     90007609677
851B4398291324   FRANCISCO    CHAVEZ                       KS     29083923982
851B4648291975   INOCENTE     ROMERO                       NC     90001016482
851B543A855945   ERIK         GILLIOAND                    CA     90014834308
851B585535B399   JEFFREY      HUEY                         OR     44583998553
851B586AA91523   JAMES        ALEGRE                       TX     90013628600
851B592457B356   VILMA        TORRES                       VA     81055079245
851B6139A51362   JEFFREY      WILLIAMS                     OH     66077291390
851B652295B581   SHAWNA       CORIZ                        NM     90015035229
851B6727271977   ALONZO       ONSUREZ                      CO     90011607272
851B6951776B68   ESTRADA      MICHELLE                     CA     90005309517
851B6986293771   RAYMOND      COLE                         OH     90011149862
851B7624A5B24B   JOEY         BLANTON                      KY     90014816240
851B769649152B   GUILLERMO    MARTINEZ                     TX     75054096964
851B8371171977   NICHOLAS     VALDEZ                       CO     90013603711
851B87A4985856   FERNANDO     NAVA                         CA     46004157049
851B8865591975   CHANTAVIYA   HEDGEBETH                    NC     90013598655
851B9113472B58   SHAWN        SHELTON                      CO     90011191134
851B9216276B68   RICARDO      LOZANO                       CA     90014942162
851B94A1771977   JESUS        SANCHEZ                      CO     90009144017
851B9788855945   AMY          PRIOR                        CA     90010207888
851B9AA6197B3B   ROBERTO      CHAN                         CO     90009570061
851BB166A71977   MEL          ROMERO                       CO     38013771660
851BB63669154B   REBACCA      CARDONA                      TX     90010606366
8521142AA6194B   MARIA        RAMIREZ                      CA     90006464200
8521228A576B68   ANGELICA     LOPEZ                        CA     46091682805
8521246879152B   QUIROZ       BERNICE                      TX     90011954687
8521266518B168   ROGER        LARSEN                       UT     31007266651
85213432A97B38   ADRIAN       MEDINA                       CO     90010204320
852139A1554B62   REINALDO     MALDONADO                    VA     90013959015
8521412789154B   CECILIA      AVILA                        TX     90014511278
8521429939152B   VANNESSA     MENDEZ                       TX     75095432993
85214A37181677   JUAN         PEREZ                        MO     90013560371
85214A8515B581   MIKE         BIGIL                        NM     90011570851
85215147172B62   BOB          CARMES                       CO     33024581471
852151A3891975   HERIBERTO    MARTINEZ                     NC     90009291038
85215395554B62   DEXTER       STERLING                     VA     90001443955
85215A7635B24B   JESSICA      DAVIS                        KY     90011000763
85216284872B33   MARIA        DE LA ROSA                   CO     33091632848
85216A38155971   JOSE         FIGUEROA                     CA     49097670381
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1272 of 2350


85216A6344B22B   TABITHA      SMITH                        NE     27020980634
85217442576B68   NICK PLANT   PLANT                        CA     90002664425
85217A1A231454   PATRICIA     LEONARD                      MO     90009070102
852183A245B581   ANITA        ALDERETTE                    NM     35097323024
85218543672B62   FEDERICO     CASTANDEA                    CO     90013305436
8521926479152B   DAFNE        DAVILA                       TX     90011062647
8521927689185B   SHANNEL      WATKINS                      OK     90001592768
852196A6197B38   GARY/MARIA   SECREST                      CO     39090686061
85219855172B62   SAM          TRUJILLO                     CO     90015508551
8521B124793783   RHONDA       COX                          OH     90003241247
8521B138154B62   DANIEL       HUFF                         VA     90000501381
8521B324272B29   JOHN         STEPHEN DIEG SANCHEZ         CO     90006003242
8521B37875B183   KATHLEEN     ASKEW                        AR     90002463787
8521B463297B38   TEETER       MCHONE                       CO     39041914632
8521B5AA872B33   MELISSA      ROGERS                       CO     90005625008
85221263A41262   ALPHONSO     EVANS                        PA     90013932630
85221AA9147822   BRANDON      FLAGG                        GA     14010460091
852221A6154B62   JOHNATHAN    CARTER                       VA     90014541061
8522238595B183   LAUREN       BIRD                         AR     90006773859
85222A86897B38   MARCI        ZARATE                       CO     90014710868
8522313A333669   TYRANN       IVEY                         NC     90010481303
85223228472B29   MARDO        UCEDA                        CO     90012502284
85223467A91979   JOANNA       VALDEZ                       NC     90015464670
852237A235B24B   DARNISHA     FORD                         KY     90015307023
852237A518B154   JOSE         LUIS                         UT     90006647051
8522396938B154   JESSICA      MARTINEZ                     UT     90012339693
85223A41691324   JOEL         CASTILLO                     KS     29014520416
85223A98181677   CORY         RICHARDSON                   MO     90001000981
8522425815B24B   JONATHAN     HAMMACK                      KY     68021222581
8522475375B183   STEPHANIE    MILLER                       AR     23025347537
85224A88372B62   ESPERANZA    CASTANEDA                    CO     33004500883
85225193372B62   ORDENOZ      FRANCISCO                    CO     33013021933
8522524145B24B   ROGER        WARREN                       KY     90008722414
85225785A9154B   FERNANDO     ARAGON                       TX     75033837850
85225998A71977   KIERRA       DURAN                        CO     90005769980
85226A74191837   BRANDY       BROWN                        OK     90006600741
8522855AA97B3B   CHRISTY      SMITH                        CO     90007805500
85228712A2B28B   ANTHONY      MOTT                         DC     90004697120
85228994497B38   KENNETH      METOYER                      CO     39039009944
85229361976B68   CECILIA      HUERTAS                      CA     90008553619
8522936489152B   ERICKA       THURMAN                      TX     90014903648
852297A565B24B   DEMETRIUS    ADAMS                        KY     90009707056
85229844854B62   JOSE         CORTEZ                       VA     90006468448
8522997215B581   MARISA       URIAS                        NM     35014659721
852299A8791975   SUSAN        FREEMAN                      NC     90011789087
85229A4175B229   DANTE        STEWART                      KY     90012110417
8522B668291939   DEONTAE      FARROW                       NC     90000556682
8522B962291324   MARIA        BURRIS                       KS     90002109622
8522BA57347822   ALVIN        WOOTEN                       GA     90006630573
8522BA7498B154   KYLE         MASQUEREINAS                 UT     90010840749
8523149614B22B   JASON        LEWIS                        NE     90002584961
8523152755B183   EBONIE       SEBASTIAN                    AR     90012685275
85231953872B33   JOSE         ROMERO                       CO     90014429538
852323A937B465   NACHELLE     BURRIS                       NC     90011103093
852326A1271977   ZULEMA       FRANCO                       CO     90010436012
8523419489152B   CARLOS       ORTADO                       TX     90006681948
852341A3197138   AGUSTIN      MENDOZA                      OR     44056351031
85234844A72B29   YOLANDA      HERNANDEZ                    CO     33022708440
852351A2855945   LISA         ANDRESS                      CA     90014541028
85235312997B38   VICTOR       GUERRA                       CO     90003463129
8523595975B24B   TROY         CLARK                        KY     68088379597
85235A5A871977   JACQUELINE   HALL                         CO     38000210508
8523748347192B   JOSE         HERNANDEZ                    CO     32019534834
852379A6772B33   CHARLIE      GOMEZ                        CO     33038909067
852386AA65B523   KAYLA        JOHNSON                      NM     90005996006
8523888825B183   HOLLY        WARNER                       AR     90011938882
85239556754B62   JOHN         SIMPSON                      VA     90014815567
8523B27792B28B   ANA          REYES                        DC     90006972779
8523B364391837   DAVID        MCGOY                        OK     90011363643
8523B477A91975   LYNELL       SMITH                        NC     90012884770
8523B577372B62   LUNG         CHEN                         CO     90010575773
8523B885851362   CHRIS        DEJANETTE                    OH     90010278858
8524122239152B   GEORGE       JABALI                       TX     75065792223
8524179489152B   GUADALUPE    ROCHA DOMINGUEZ              TX     90014987948
8524236178B154   HUITAU       KAUFUSI                      UT     90013093617
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1273 of 2350


85242587872B21   EDUARDO        MARTINEZ                   CO     90005955878
85242A42777537   CINDY          RAGLAND                    NV     90011470427
8524329515B24B   SHAUN          WASHINGTON                 KY     90014702951
85243325172B33   PABLO          IBARRA                     CO     90012743251
8524441615B581   PATRICIA       CASTELLANO                 NM     35042384161
8524443A94B22B   SOPHIA         ALLEN                      NE     90014604309
85244665A8B154   BRANDON        CHAMLERS                   UT     90011466650
8524527619152B   MARIO          ARENAS                     TX     90011062761
852454A169154B   RUBY           SALCEDO                    TX     90014784016
85245522A61928   CANDIDO        ZEPEDA                     CA     90003675220
8524554235B183   NEOMI          SIGGERS                    AR     23071135423
85245865A91975   RENNIE         BRADLEY                    NC     17074328650
8524617A64B22B   LIZETH         RESENDIZ                   NE     27063891706
85247124354B62   ROSHAUN        CROOMS                     VA     90010301243
85247A9A69154B   DONNA          OLIVAS                     TX     75080320906
8524878A961928   ANAYELI        DAMACIO                    CA     90015007809
8524886A297B38   MICHELE        ALANIZ                     CO     90006068602
8524926674B578   REBECCA        GOBER                      OK     90014632667
85249452676B68   LILIA SANDRA   GOMEZ                      CA     90014854526
852494A2951362   ANGELE         BLACKSHEAR-BROWN           OH     90001004029
8524979318B168   JAY            NELSON                     UT     90011307931
8524B22784B22B   JANETTE        MARTINEZ                   NE     90012502278
8524B273941262   HORACE         DURHAM JR                  PA     51063392739
8524B62A877533   MARCO          RANGEL                     NV     90008576208
852514A539154B   SUSANNE        FAVELA                     TX     90014784053
85251534A41275   ODELL          WEINER                     PA     90014925340
8525176695B24B   DONNIE         CASH                       KY     90015147669
85251836276B97   KERI           BOMAN                      CA     90004458362
85251856372B33   CHRISTIAN      ILUNGA                     CO     90010388563
8525223815B581   BARBARA        LUGONES-GONZALEZ           NM     90012772381
85253641697B38   JOE            RODRIGUEZ                  CO     90013846416
8525384989152B   MAGDALENA      RODRIGUEZ                  TX     75045248498
8525423815B581   BARBARA        LUGONES-GONZALEZ           NM     90012772381
85254251654B62   JOSE           ENRICKE                    VA     90014192516
8525438735B24B   STEPHANIE      DOUGLAS                    KY     90014683873
852544AA454B62   DAVID          BUCKNER                    VA     90013214004
8525486199154B   ANDY           TOVAR                      TX     90010608619
8525553A554B62   TYLER          BURNS                      VA     90011845305
85255A6A94B22B   VICKIE         TEETERS                    NE     90014740609
852564A539154B   SUSANNE        FAVELA                     TX     90014784053
85256654876B68   AUBREY         HARRIS                     CA     90013176548
8525665A454B62   RENATO         MENDIETA                   VA     90005506504
8525692824B22B   JOSEPH         GRECO                      NE     90014639282
85257217572B33   TROY           GRAY                       CO     90013922175
85257885197B3B   MATTHEW        VERMEERN                   CO     90010278851
8525872118B154   ROCIO          MEJIA                      UT     31043377211
85258A5AA47897   DELMEZER       THORPE                     GA     90003830500
85259261672B33   JAMES          ARAMOWICZ                  CO     33082552616
8525B574A97138   ISAIAS         HERRERA SOL                OR     90011345740
8525B795472B33   ROSIBEL        VARELA                     CO     90008867954
8525B9A6277537   JOHN           SWEETEN                    NV     43078789062
85262513672B29   KELLIEE        COLE                       CO     90013015136
8526265218B168   AUSTIN         TOWNESN                    UT     90014726521
85262996276B82   MELISSA        MONTEFORTE                 CA     90012199962
85262A4928B154   IRAIS          CHAVELAS                   UT     90014730492
85263188654B62   TIMOTHY        SPAULDING                  VA     90013991886
8526319198B168   KASSIE         MATSON                     UT     90007151919
8526365859154B   YESENIA        OCHOA                      TX     90014716585
85264AA645B24B   SHILOANA       BREWER                     KY     68094860064
8526532615B24B   DANIEL         BLOCK                      KY     68016033261
8526537A472B62   TARA           OLIVER                     CO     33080883704
8526544914B22B   SARAH          GRAHAM                     NE     27028284491
8526582198B154   CRISTAL        PRINCE                     UT     90014858219
85265A19971977   CRYSTAL        GARCIA                     CO     90011190199
85266526A97B3B   ROSALIA        MARTINEZ                   CO     39084885260
8526664599152B   ALEJANDRO      OLIVARES                   TX     75094716459
8526729A872B29   STEPHEN        MOUNT JOY                  CO     90014742908
852672A948B168   JOSE           PROVEDOR                   UT     31081372094
852676AA755945   JOSIE          CASANOVA                   CA     90012406007
8526773645B183   STEPHEN        LOCKWOOD                   AR     90014017364
85267769597B3B   BILLY          WILLIAMS                   CO     39080087695
8526895665B27B   MARCELLA       BUSSEY                     KY     68056359566
8526956A785856   ALBERTO        HERNANDEZ                  CA     90003535607
85269596A54B62   SARAH          DONOVAN                    VA     90012435960
85269A93541262   DANA           STEIN                      PA     51027300935
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1274 of 2350


8526B211781677   ALISTER          ROACH                    MO     90014482117
8526B211871977   EVELYN           RUIZ                     CO     90003922118
8526B315993771   LISA             LEWIS                    OH     90011093159
8526B74A691324   MICHAEL          TAYLOR                   MO     29064857406
8526B817772B62   LATIERRE         TITUS                    CO     90013148177
8526B836372B29   LIZETTE MONICA   CASILLAS                 CO     90011148363
8526B87699154B   ELIZABETH        HERNANDEZ                TX     90010608769
8526B955A2B271   BRIAN            ALSTON                   DC     81096849550
85271152397B3B   OSCAR            GRANADOS                 CO     90001371523
852712A3633698   CARMEN           RODRIGUEZ                NC     90014182036
8527181132B891   ANGELA           LEVASSEUR                ID     90007888113
85271A9999154B   SUSANA           CALDERA                  TX     90010090999
8527292328B154   DAVID            OSORIO                   UT     90011119232
852742A5A33698   ALEX             ROSS                     NC     90014182050
852747A2641275   JAY              UNAVAILABLE              PA     90014917026
8527485225B581   AMANDA           MARQUEZ                  NM     90004338522
85275113A72B62   LAWREN           QUARTON                  CO     33001011130
85275577972B29   JOHN             ANTUNA                   CO     33049395779
85275658297B38   PAUL             MAESTAS                  CO     39056646582
85275685454B62   JAZMIN           HERNANDEZ                VA     90011236854
85275723A76B68   EPIFANIA         FLORES                   CA     90013667230
8527579495B24B   MELISSA          SNYDER                   KY     90008597949
85275948A8B168   SILVIA           MONTES                   UT     90012509480
85275A7349154B   ELENA            SANTALLANES              TX     90008590734
85276354472B29   SHIRLEY          BROWN                    CO     90002143544
85276431976B68   ALENEFER         JAIMES                   CA     90008334319
85277219676B68   RUIZ             YADIRA                   CA     46006672196
8527816727B372   MARIANA          MEDELLIN                 VA     90002761672
8527852295B581   SHAWNA           CORIZ                    NM     90015035229
85278689972B33   DAKOTA           DELOZIER                 CO     33019356899
8527889718B168   MARY             SOBIERALSKI              UT     90013678971
85278AA9597B3B   CHASE            LOTT                     CO     39051800095
85279135997B38   TERI             DURHAM                   CO     39029081359
8527949A154B62   JENNIE           DELLINGER                VA     81087044901
8527958A571977   DOROTHY          LARA                     CO     90009225805
8527969A997138   CLAUDIA          RIOS                     OR     90013636909
8527983926194B   LAURA            SANCHEZ                  CA     90011848392
8527996625B24B   KURIA            NJUGUNA                  KY     68016469662
8527B2A3655971   LUIS             VILLAGOMEZ               CA     49080312036
8527B425551362   MIKE             BELLAR                   OH     90012134255
8527B755891324   ARINDA           FRAZELL                  KS     29027277558
8528131AA5B24B   PAYGO            IVR ACTIVATION           KY     90013843100
8528168A733658   CASSANDRA        HENDERSON                NC     90005966807
8528182915B183   ERICA            PITTS                    AR     90010998291
85281A83877537   SHANE            STRONG                   NV     90015500838
8528269756194B   TASHA            PARGO                    CA     46005686975
852831A885B581   PAUL             VALENZUALA               NM     90005331088
8528397182B891   KOETTA           BLACKWELL                ID     90004889718
85283A97785856   JORGE            LEON                     CA     46060390977
852843A2272B62   CHRIS            WALLACE                  CO     90015233022
852848A248B163   NATALIE          SMITH                    UT     31095088024
85285395772B29   DARLA            JACOBER                  CO     33063373957
85285498A91837   CARMON           WHITE                    OK     90010224980
852855A7A5B139   OTEAR            GRAVES                   AR     23091445070
8528562925B24B   CHRISTY          JENKINS                  KY     90010276292
85285A6818B154   PAGE             TAYLOR                   UT     31054300681
85285A7349154B   ELENA            SANTALLANES              TX     90008590734
852864A1185856   CASTRO           JUAN                     CA     90002174011
852866A7876B68   CHRISTOPHER      RYAN                     CA     90013316078
852876A8A61928   VALENZUELA       MARIA                    CA     90005556080
85287745897B3B   CORAL            MAZEIKIS                 CO     90014827458
85289292297B3B   ARMANTROUT       NICOLE                   CO     90012502922
85289755497B38   SHANTE           LOPEZ                    CO     39098247554
8528B157172B33   JUDY             VASQUEZ                  CO     90012701571
8528B37258B163   DELPHINE         RAMIREZ                  UT     31011813725
8528B77832B366   GEFEMICHEAL      TESFA-MARIAM             CT     90013907783
8528B933871977   SHIRLEY          ANDREWS                  CO     90012579338
8528B94459152B   LILIAN           PORRAS                   TX     90014169445
8529119A455935   RIGOBERTO        PINEDA                   CA     90011921904
852913A9855945   ROY              WARREN                   CA     90008483098
85291623A97138   ARCELIA          NUNEZ                    OR     90011566230
8529171145B24B   PAT              MOORE                    KY     90004617114
85292589A9152B   BRODHELY         ESCOBEDO                 TX     90013265890
8529379A59152B   GINA             VIDALES                  TX     75069927905
85294125A71977   JAMIE            MILLER                   CO     90004351250
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1275 of 2350


8529419828B154   JACE               HAMILTON               UT     90014231982
85294449772B29   J OCTAVIO          GURROLA                CO     33073804497
85295235672B62   DEVOLLA            GALLOWAY               CO     90008542356
85295632A97138   LAMIN              HAX                    OR     90011086320
852962A385B27B   DEBORAH            BASHAM                 KY     68092372038
852968A5291979   DEEDEE             JACKSON                NC     90002798052
8529751375B183   CRYSTAL            JORDAN                 AR     90012395137
85297597A91979   ROBIN              SMITH                  NC     90014855970
8529778A191975   SALVADOR           GARCIA                 NC     17047017801
8529878A397138   ASHLEY             PURCELL                OR     90011777803
852987A1641275   ADAM               JONES                  PA     51089847016
85298831797B3B   VALENTINA          DIOSDADO               CO     39041968317
85298A87355971   TRACI              BEST                   CA     49026720873
85299339A9152B   FELIX              RODRIGUEZ              TX     90012423390
8529939A92B981   JOHN               LAMMUL                 CA     90010723909
8529954368B168   JONATHAN           CORTES                 UT     90010015436
8529B378897B38   GERARDO            JUAREZ                 CO     39040083788
8529B46519154B   ISMAEL             MESA                   TX     75073164651
852B1148193771   SANDY              CLARK                  OH     64548401481
852B1161697B38   ENRIQUE            GARCIA                 CO     90012001616
852B1192854B62   CESAR              TORRES                 VA     90015101928
852B132A69137B   MAYRA              MUNOZ                  KS     90013323206
852B1842772B62   BRUCE DOUGLAS      KIMBROUGH              CO     90006338427
852B1A21A5B59B   JORGE              GARCIA                 NM     90012490210
852B2523141275   ROSE               SMELTZER               PA     51067295231
852B281557B448   MARISOL            JIMENEZ                NC     90005908155
852B2936691324   RIGOBERTO          MADRID                 KS     29089459366
852B3298A5B183   DERRICK            JOHNSON                AR     90010682980
852B3439261928   FRANCISCO          MIRANDA                CA     46037944392
852B3548776B68   DAVID              ARNAL                  CA     46040325487
852B3899572B29   RICARDO            REA                    CO     90010458995
852B3A6934B22B   FRED               BROWN                  NE     27011740693
852B3A73291837   ERICA              DEMPSEY                OK     90014680732
852B4141593771   MELANIE            HENSLEY                OH     64586341415
852B415592B28B   DANYEL             TURNER                 DC     90006971559
852B5161172451   GREGORY            TOTIN                  PA     90001321611
852B5228954B62   WILBER             MARTINEZ               VA     90008762289
852B5569171977   ALEX               KOEUT                  CO     90012315691
852B563475B24B   DUSTIN             MILBY                  KY     90014816347
852B61A2991979   KATRINA            HARRIS                 NC     90000181029
852B621A951323   FLOYD              WILSON                 OH     90007992109
852B6674676B68   HERNANDEZ NIEVES   VIANEY                 CA     90011496746
852B66A722B965   CESAR              VEGA                   CA     90011606072
852B6911554B62   CHRIS              PULLEN                 VA     90013419115
852B71A5791979   CAPPUCINO          WILLIAMS               NC     90006691057
852B7257493771   CHRISTY            MARIE                  OH     90011092574
852B7451985856   RANIA              SALMAN                 CA     90004194519
852B7A36633698   JAMES              BOND                   NC     90014180366
852B8218541275   NICOLE             SMITH                  PA     51013672185
852B8291772B33   BRAD               RICHARDS               CO     90004132917
852B855669154B   MAYRA              ACOSTA                 TX     90002835566
852B8685A54B62   TAM T              JONES                  VA     90012976850
852B86A285B24B   ANNA               WARD                   KY     90007646028
852B876345B139   LILLIE             GREEN                  AR     23014707634
852B9268593771   STACY              REEVES                 OH     90011962685
852B9385697B38   CARLOS             SOY                    CO     90015103856
852B9515A55971   SANDRA             CASTANEDA              CA     49033175150
852B975A355971   MADERA             CALIFORNIA             CA     90014187503
852BB325397B38   TYSON              ATTEBERRY              CO     90013513253
852BB438233698   KATHY              KIRKLAND               NC     12080694382
852BB493276B68   JAMON              BALDWIN                CA     90012684932
852BB52326194B   HEIRESS            ROMAN                  CA     46000585232
852BB791641275   DAREK              WILLIAM                PA     90008207916
853112A5171977   JACOB              ARCHULETA              CO     90013822051
85311A8348B168   RICHARD            HODGES                 UT     90013080834
85312967472B29   DAVID              LUDWIG                 CO     90012419674
8531319615B183   JERMY              SIEGEL                 AR     90013831961
85313A95897138   PERLIA             BELL                   OR     90012560958
853144A9147897   JULIA              CUMBY                  GA     14044174091
8531464715B183   DERRICK            WILBERT                AR     90014236471
8531472185593B   ELOY               LEON                   CA     90010567218
8531541966194B   PEDRO              MENDEZ                 CA     46044204196
853155A729154B   ELSA               LEYVA                  TX     90014785072
85315A21297B38   BELINDA            GURULE                 CO     39017960212
8531675698B168   ELIZABETH          GALVAN                 UT     90010827569
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1276 of 2350


853168AA24B22B   AMANDA        MONTES                      NE     27097348002
85316A4A691837   REX           SCHUTTLER                   OK     90000910406
85317239A33698   ANA           GOMEZ                       NC     90014182390
8531739A84B22B   MEGAN         WHITEHEAD                   NE     90012903908
85317443772B62   DAVID         GREENWELL                   CO     33085784437
853175A7851323   JASON         MERRILL                     KY     90010255078
85317614A33698   PORSHA        NOELL                       NC     90009666140
85317AA9191975   VALERIE       SILVERSMITH                 NC     90012000091
8531879A287B71   ALISHA        HOLMES                      AR     90014367902
85319355272B29   JENNIFER      HARPER                      CO     90012723552
85319574A91975   CAMILLE       HILL                        NC     90014565740
85319A32741262   JAMIE         NADER                       PA     90013300327
8531B181172B62   JUDY          ESPINOSA                    CO     33064761811
8531B21A58B154   JORGE         BELTRAN                     UT     90015122105
8531B98384B22B   AUDREY        AWORET                      NE     27098959838
85321187697B38   JOANN         BRUNTZ                      CO     90010781876
8532136825B24B   MICHEL        INGRAM                      KY     68032373682
85321798472B29   PAULA         BEANA                       CO     33007357984
85321A4A48B168   PAYGO         IVR ACTIVATION              UT     90011040404
8532214415B581   DANIEL        LARGE                       NM     90013341441
85322222A72B62   JOHNNE        BREWER II                   CO     33086772220
85323274672B33   CHRYSTEL      CORNELIUS                   CO     90012832746
85323414A8B168   RYAN          MCCOY                       UT     90000104140
85323572397B3B   THOMAS        JOHNSTON                    CO     39039455723
85323683A41262   DAN           OGDEN                       PA     51011156830
85323768A91979   SILVERIO      NARANJO                     NC     90008817680
85323AA135B24B   AMELIA        JEFFERSON                   KY     90013940013
8532436765B581   CHRISTOPHER   ROBBINS                     NM     90014773676
853243A9555945   RAUL          GARCIA                      CA     49084513095
8532454384B578   NAOMI         RAMIREZ                     OK     21534995438
8532486535B139   ALFREDO       BRAVO                       AR     23054608653
85325118372B29   CECILIA       REYES                       CO     33015021183
8532549765B581   MARIBEL       HOLGUIN-OLVERA              NM     90014664976
85325823997B38   MOISES        ESTRADA                     CO     90013058239
8532584A777537   LATISSHA      MONTGOMERY                  NV     90014558407
85326384772B33   RALPH         HELPHREY                    CO     90012583847
853264A8393771   TY            THACKER                     OH     90008644083
8532662A172B62   TIKI          BACA                        CO     90012846201
85326941772B23   LAZARA        CARDENAS                    CO     90001539417
8532722438B154   RICHARD       THOMPSON                    UT     31071662243
8532764A993771   KIMBERLY      BRUGGEMAN                   OH     90001906409
8532775A855971   ANTHONY       SYFRETT                     CA     90000687508
85327866297B38   PEREZ         MICHELLE                    CO     39082268662
8532796428B168   SUZANNE       WHITE                       UT     90009099642
85327A73891975   VANESSA       VAREHA                      NC     90013930738
8532834118B168   ARACELI       GUADARRAMA                  UT     90006793411
8532843A691975   MARSHALL      HONEYCUTT                   NC     90008834306
85328452872B62   ELJAY         THOMAS                      CO     90012924528
85328A23A9152B   ELVIRA        VARGAS                      TX     90011610230
8532951A99154B   LEONARDO      MURILLO                     TX     90014785109
85329A33477537   MOLLIE        BENSON                      NV     90012380334
8532B39775B581   LEONARD       MARTINEZ                    NM     35005173977
8532B397772B29   DESIREE       VIGIL                       CO     90010873977
8532B74769152B   ALEXIS        PORTILLO                    TX     90011467476
8532B91872B271   MANSAVI       ADEKPUI                     DC     81070499187
8532BA86355945   RACHEL        PEREZ                       CA     90007800863
853312A5591324   AUTUMN        GREEN                       KS     90014092055
853316A4572B62   ASPEN         WALTERS                     CO     90015136045
8533245A48B168   CELINA        VARGAS                      UT     90001714504
8533251775B183   RON           ABSTON                      AR     90015245177
853325A582B271   RUBENIA       ANDRADE                     DC     90006165058
85332773797B38   WILLIAM       REYES                       CO     39005577737
8533292495B139   RONDA         RAMEY                       AR     90001969249
8533338238B168   JAY           GILL                        UT     90007733823
853338A7A97B3B   WILLIAM       EVERLY                      CO     90011618070
8533454818B168   ALICIA        CONTRERAS                   UT     90010015481
8533468315B335   ORIE          MADE                        OR     90011726831
85334777A47822   TIMOTHY E     LINDER                      GA     90002027770
8533515A85B24B   TAMMIE        HOUSE                       KY     90015291508
8533533868B168   CHYLYNN       OGBORN                      UT     90007083386
8533618792B249   SANDY         MCGOUGAN                    DC     81086941879
85336257A97B38   DOLORES       ACOSTA                      CO     39045802570
8533626219132B   JUAN          BONILLA                     MO     90007572621
85336427A93771   BRITTANY      KUHN                        OH     90014414270
8533669155B183   MARCO         EDWARDS                     AR     90012056915
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1277 of 2350


8533792A291242   EDDIE            ROBERTSON                GA     14532289202
85337A5A83B39B   BENJAMIN         SIEGLE                   CO     90000260508
85337A5A841262   ADAM             ROHLEDER                 PA     51058730508
85337A96454B62   SONYA            WALKER                   VA     90015590964
85338A2A777537   JEREMY           JOHNSON                  NV     90015060207
85339478824B46   GARSELLE         DAVIS                    DC     90011664788
8533947918B145   MERRICK          PACK                     UT     31012134791
8533B186647822   CLINTON          HEARD                    GA     14009141866
8533B435791947   ANTONIO          ZUNIGA                   NC     90001894357
8533B4A3397B3B   JESSICA          NOYOLA                   CO     39067964033
8533B629772B29   MIGUEL           RODRIGUEZ                CO     33067806297
8533B9A4881677   CAROYLN          SPAIR                    MO     90011579048
8534128A533698   LIZBETH          HERNANDEZ                NC     90014182805
85341946772B29   BENNY            CAMACHO                  CO     90005059467
85341A87991837   SHAUNTORIA       LYONS                    OK     90013540879
85342169672B29   DIANE            VIGIL                    CO     33094901696
8534259A19152B   JESUS            ESTRADA                  TX     75091925901
8534295557B349   TASHA            SHINE                    VA     81098699555
8534297A155971   RAFAEL           LARA                     CA     90008949701
8534312878B168   KIMBERLEE        SANT                     UT     90007961287
853431A6171977   BOBBIE           OGAZ                     CO     90005811061
8534359669152B   JAVIER           RUVALCABA                TX     90009185966
85344179A97B3B   MICHELLE         HARRIS                   CO     90011721790
8534476855B581   TERRI            HARLOW                   NM     90009707685
8534553166194B   MIGUEL           GUTIERREZ                CA     46002485316
8534616A991837   MARIANNA         LISH                     OK     90014831609
853461A4997B38   BRANDON          ELSBURY                  CO     39082061049
85346299A91975   ELEUTERIO        SANCHEZ                  NC     90013952990
85346775272B29   LORRAINE         PEREZ                    CO     33006157752
85346978872B33   FELIPE           PEREZ                    CO     33040029788
853476A7154B62   CHRISTINE        COUNTS                   VA     90012286071
85348374497B3B   ALBERTO          GALVAN                   CO     90014113744
85348727472B33   BRISA            GUTIERREZ                CO     90012967274
8534899A691975   ANDREW           SMIOTH                   NC     90008989906
85348A18381677   SOTERO           ALVAREZ-PEREZ            KS     90004560183
85348A4328B168   DANIEL           PELLEGRINO               UT     31087020432
85349241A91523   LAURA            ARVILLA                  TX     90011052410
8534938A48B168   DOUGLAS          PARKS                    UT     90013863804
8534939264B22B   VALDEZ           MCCRAY                   NE     90012373926
85349426754B62   SERCIO           GONSALEZ                 VA     90013974267
853498A1176B68   MARIO            LOPEZ                    CA     90002148011
8534B278497B38   KATHERINE        BRYNE                    CO     90013552784
8534B484693771   DANIELLE         HODGE                    OH     90014154846
8534B631785856   SAMSON D         PEDROZA                  CA     90010896317
8534B66A99152B   LUIS             RODRIGUEZ                TX     90011076609
8534B713491979   MARIANO          VILLAFRANCO              NC     17030307134
8534B73272B271   JACQUALINE       RAND                     DC     81083027327
8534B73474B538   CAMERON          STEVENSON                OK     90010417347
8534B867555971   SANTIAGO         FRIAS                    CA     49001708675
8534B88525B581   MELANIE          LOPEZ                    NM     90014248852
8534B958A9154B   MUNOZ            RAFAEL                   TX     75048369580
8534BA22372B62   GWENDOLYN        FELDON                   CO     33041890223
8534BA8925B24B   LEEMONT          BELL                     KY     90013940892
85351388897B38   STACY            JOHNSTON                 CO     90013553888
8535169795B139   SHAWN            CAMPBELL                 AR     90006256979
8535221A691979   ELIZABETH HOPE   MARR                     NC     90011082106
853522A7A54B81   LINDSAY          SEYMOUR                  VA     90015472070
85352345872B33   VENUS            GERGANOFF                CO     33056023458
853523A2698B24   ROBBIN           JONES                    NC     90011253026
85352A17777537   HEITHER          MATTHEWS                 NV     43061550177
853534A2972B33   OLIVIA           WHITEHURST               CO     90012084029
8535363A397B38   MELISSA S        STONE                    CO     90003316303
8535466458B168   JOSLUA           MESSIMAN                 UT     90006186645
85354A42572B62   CARLOS           E. SACARIAS              CO     33050080425
85355215354B62   DUSTIN           HOSTETTER                VA     90015272153
8535534A233698   DANNY            ANGEL                    NC     90014183402
8535582565B27B   CHRIS            MORGAN                   KY     90001338256
85356243876B68   BERTINO          NATHAN                   CA     46001392438
8535668999154B   ALLEN            TIFFANY                  TX     90003536899
853569AA585856   PRINCEWILL       AYUK                     CA     46041189005
8535789A391837   CINDY            HARRIS                   OK     90008448903
8535791469152B   SANTOS           HERNANDEZ                TX     90008739146
8535797319154B   MIGUEL           MUNIZ                    TX     90003269731
8535848A797138   CHRISSY          THOMSON                  OR     44026064807
85358A6A891979   KIRBY            WRIGHT                   NC     90012740608
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1278 of 2350


8535962AA97B3B   MAYRA        RIVERA GOMEZ                 CO     90014436200
8535B328733698   EMILY        THORNE                       NC     90014183287
8535B682372B33   LUIS         SOLIS                        CO     33075796823
853613A2255971   ADRIAN       VELASCO                      CA     90013233022
85361474472B29   NANCY        FRITCHELL                    CO     90009194744
85361569272B62   LEILANI      GARCIA                       CO     90011025692
85361744897B3B   ANGELICA     BURROLA                      CO     90012387448
85361755297B38   MARK         HENDERSON                    CO     39085177552
8536212785B24B   JAMES S.     EAST                         KY     90013941278
8536249875B581   FELIX        PACHECO                      NM     90012754987
8536282562B28B   ALANA        HOLMES                       DC     90001538256
8536292565B27B   LATISHA      MALONE                       KY     68012259256
8536293874B538   LUCRETIA     ROBINS                       OK     90013439387
8536298938B16B   CASSIE       JACOBSON                     UT     90011749893
85363399754B62   MICHAEL      COLEMAN                      VA     90002003997
85364426872B99   HEATHER      KILLLOCK                     CO     90012424268
85364527A9154B   CESAR        FLORES                       TX     90014785270
85364A62971977   NAMOMI       GIBSON                       CO     90000460629
85365316597B38   MICHEAL      NACHAZEL                     CO     90007013165
8536536958B163   MICHELLE     WAGSTAFF                     UT     31023263695
8536554335B183   SONYA        WHALEY                       AR     90006445433
8536572444B22B   JENNIFER     DIESTERHAUPT                 NE     27020247244
8536576222B265   RENATA       ARTIS                        DC     90005247622
85365A1A647897   MELISSA      LAURY                        GA     90009360106
85365A55241262   BRANDI       BELLISARIO                   PA     51082230552
8536635818B168   JONI         STEWART                      UT     31005923581
8536726699152B   DAVID        GUILLEN                      TX     75073422669
8536747678B154   JOHN         BERNHARDT                    UT     90012834767
8536753249154B   FABIAN       ELIZONDO                     TX     90014785324
85367A29731421   SANDRA       WILLIAMS                     MO     90012920297
8536825518B191   SAMI         ABDELAZIZ                    UT     31036242551
8536839245B581   SAM          SCHEIDER                     NM     90008253924
8536844332B249   TABATHA      POWELL                       DC     90001604433
8536856525B24B   RENEESHA     HALE                         KY     90012455652
85368A96241275   CHARLES      HALEY                        PA     51044260962
85369458654B62   JOSE         ESPINOZA                     VA     90013794586
8536953249154B   FABIAN       ELIZONDO                     TX     90014785324
85369944A93771   LETICIA      COOKE                        OH     90007369440
8536994829152B   ROBIN        VELEZ                        TX     75087209482
8536B654597138   ELORIE       KINTZ                        OR     90010836545
8536B88A491979   JESSUS       AGUILAR                      NC     90012678804
8536BA14355945   ROBERT       BARBERY                      CA     90015130143
85371289A72B29   RAQUEL       MENJIUBAR                    CO     90005162890
85371A9A22B28B   ANTJOUN      RIDDICK                      DC     90012780902
8537273238B154   AMY          TINGEY                       UT     31012447323
85372792154B62   DENIS        GONSALEZ                     VA     90014067921
85372821A76B68   CASSANDRA    STEINER                      CA     46056238210
8537314734B22B   LANISHA      ISLAS                        NE     90010971473
85373268733B51   LISA         CRAVEN                       OH     90013842687
85373289A91242   LINDSAY      JOHNSON                      SC     14513092890
8537341235B581   XAVIER       BACA                         NM     90012914123
853738AAA61557   PAYGO        IVR ACTIVATION               TN     90012658000
85373911A91979   JASMINE      EDMUNDSON                    NC     90013879110
8537392359154B   TERRAZAS     DEL CARMEN                   TX     90007929235
8537411415B27B   BRYAN        WHITWORTH                    KY     68079011141
853743A717167B   BILLS        SOTO                         NY     90015593071
8537496358B154   ARACELI      JIMENEZ                      UT     90011989635
8537621445B24B   JOSE         GONZALEZ                     KY     90007302144
85376218A5B581   LYNETTE`     TSIKEWA                      NM     35008572180
85376776354B62   SHAWN        BROWN                        VA     90015497763
85376779754B62   BRADLEY      BILLINGSLEY                  VA     90013977797
8537697718B168   BENNIE       WALKER                       UT     90015129771
8537699384B22B   DEEANA       ORDUNA                       NE     90013419938
85376A82472B29   ANGEL        FIERRO                       CO     90005070824
8537718655B139   AMBER        GARRETT                      AR     90013251865
8537766A441275   AMY          HARRIS                       PA     51074076604
8537777335B249   ALICIA       CONTRERAS                    KY     90014167733
8537786335B921   ALICIA       JOHNSON                      WA     90015428633
85378A26255945   SEE          YANG                         CA     90013830262
8537917A997B3B   STEVEN       DUPONT                       CO     90004001709
8537952AA97B38   MANNY        RIVAS                        CO     90012085200
85379965A2B956   MORENA       HERNANDEZ                    CA     90007139650
8537B226681677   RANDOLPH     GREENE                       MO     90014482266
8537B26528B154   IAN          SHEPHERD                     UT     90012342652
8537B347741275   JANEL        JONES                        PA     90011123477
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1279 of 2350


8537B442476B68   LUKE            WEISS                     CA     46066994424
8537B567591837   TAYLOR          ANGELO                    OK     90013445675
8537B8AA572B29   MARIA           ESTEVEZ                   CO     33091088005
8538117585B24B   YASMIN          TUMBARELL                 KY     90015291758
853821A5455971   KANDI           KANE                      CA     90011881054
853822A1A5B24B   LAKEISHA        COMBER                    KY     90013942010
8538255694B22B   SARA            TANNER                    NE     90001625569
85382584972B62   ANDERSON        LACEY                     CO     33046135849
85382951697B38   CINDY           VANDENBERGHE              CO     39033059516
85382A6654B53B   SHANTELLE       ORTIZ                     OK     90012280665
8538358198B163   YVETTE          GUERRERO                  UT     31010715819
8538411982B271   HERBERT         PEREZ                     MD     90013791198
853842A3A5B24B   ZACKARY         MORRIS                    KY     90015572030
8538446A893771   TIMOTHY         SNOFFER                   OH     90010924608
85384684276B68   JOHN            OCONNER                   CA     90014706842
85384A19971977   CRYSTAL         GARCIA                    CO     90011190199
85384AA336194B   JASON           HAINES                    CA     46096930033
85385469172B29   CASSANDRA       SOTO                      CO     90006104691
8538692259152B   MARTHA          GONZALES                  TX     90015169225
85387952A54B62   PATRICK         STEPHENS                  VA     90014379520
85387A8854B22B   DESIREE         JAHN                      NE     90014740885
85387A9949154B   JESUS           RODRIGUEZ                 TX     90011490994
853884A559152B   MARINA          GARBALENA                 TX     90012384055
8538858198B163   YVETTE          GUERRERO                  UT     31010715819
853897A745B24B   TEARNY          BAKER                     KY     90013707074
85389935A5B24B   BEVERLY         JOHNSON                   KY     90006329350
85389938A97B3B   RUBEN           RODRIGUEZ                 CO     90006149380
85389A22733698   IANANDRA        RUSSELL                   NC     12036540227
85389A85191324   JJAQUELINE      RAMIREZ                   KS     90010710851
8538B677677537   TONY            CORTEZ                    NV     90002756776
8538B6A7197138   DAWN            GRILLO                    OR     44042326071
8538B95519193B   MORGAN          PASCHALL                  NC     17015099551
85391234A55971   ALICIA          MOLINA                    CA     90013012340
853912A6977537   ISIS            BOWERS                    NV     90013572069
85391721972B62   ROSA            TALAVERA                  CO     90013037219
85391A88791975   CARLOS          MONTALVO                  NC     17062520887
8539255A69154B   JESUS           BAYLON                    TX     90014785506
85392A31872B33   ALEJANDRO       MIRANDA                   CO     33030820318
8539312949154B   ENDIA           CHAVERS                   TX     90011141294
85393145A47897   LAVETA          OGLETREE                  GA     90014991450
8539323214B556   WEBSTER         NICOLE                    OK     90012182321
85393779A77537   ERICA           NORMAN                    NV     43090637790
8539386AA71977   VALERIE         CANCINO                   CO     38092808600
8539473679152B   ROLANDO         RIVERA                    TX     90006607367
85394995197B38   ELDER           VELASQUEZ                 CO     90014859951
853952AA35B183   MARK            MONK                      AR     90010652003
8539648265B581   CELIA           VILLALOBOS                NM     90009624826
8539735A34B538   JOSE            ARRIOLA                   OK     90009093503
85398113A97B38   ANTONIA         BERNAL                    CO     90012011130
8539839539154B   S               DIANA                     TX     75046023953
85399266897B3B   SARA            VELASQUES                 CO     39070232668
8539959A171977   LARRY           VILES                     CO     90009115901
8539997395B139   PERRI           OLIVER                    AR     23068409739
85399AA8791324   CHALICE         TAYLOR                    KS     90014500087
8539B333371977   LLOYD           TAYLOR                    CO     90014713333
8539B54A297138   CARLOS          ESCALERA                  OR     90014415402
8539B736797B3B   GERARDO         LOPEZ-OCHOA               CO     39010687367
853B1211155945   DAVID           AUSTRADA                  CA     90015492111
853B128145B24B   TOMMI           LUND                      KY     68094752814
853B138338B154   ERIKA           ALVAREZ                   UT     31029503833
853B1544371977   MARTHA          ALEMAN                    CO     38059255443
853B1686597138   ANDON           HANS                      OR     90010986865
853B238469152B   MARIA MAGDALE   HOLGUIN                   TX     90012953846
853B2A5537B361   JUAN            UMANZOR                   VA     90012370553
853B314452B891   KENNETH         NUNES                     ID     90008291445
853B3315955945   LORIE           REMMER                    CA     49079263159
853B3539772B29   JOANNA          LINARES                   CO     33035355397
853B3891591979   MANUEL          ALVAREZ                   NC     90002318915
853B3934A54B62   OSCAR           ZELAYA                    VA     90010429340
853B397287B349   NATALIE         VAN LITH                  VA     81095999728
853B449719152B   VERONICA        RAMOS                     TX     90001074971
853B5219393771   DEREK           GEVEDON                   OH     90009262193
853B5727241275   SANANDO         HUFF                      PA     90015117272
853B5A32597B38   KIRK            HILL                      CO     90015070325
853B5A6439154B   FEDERICO        RODRIGUEZ                 TX     75026890643
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1280 of 2350


853B5A94377537   CASCIE           HENDERSON                NV     90000530943
853B6139791975   NIKEHCHI         WOHEREM                  NC     90011031397
853B6194297B38   SILVIA           LOPEZ                    CO     39081541942
853B64AA972B29   LAURA            LUEVANO                  CO     33089584009
853B6A6439154B   FEDERICO         RODRIGUEZ                TX     75026890643
853B7363291975   ANA              PORTILLO                 NC     90010333632
853B739619152B   MORALES          MIRIAM                   TX     90012953961
853B7726172B62   OSVALDO          GOMEZ                    CO     90014467261
853B7793171977   CONSUELO         GUTIERREZ                CO     38044767931
853B7814A5B24B   GLENN            BEELER                   KY     90010368140
853B797A191979   SOFIA            MIRANDA                  NC     90003019701
853B8243891975   JAMES            SMITH                    NC     90012642438
853B8669A76B68   JIM              PROBST                   CA     90014586690
853B9282261928   ANALIA           LUCERO                   CA     46053012822
853B9385691324   ROSEMARY         GARCIA                   KS     90013923856
853B9853955945   MARISSA          MARES                    CA     90010978539
853B9911751362   KELLY            SEITER                   OH     90002889117
853B994495B581   DONNA            WILSON                   NM     35014629449
853BB515591324   VALENTIN         PEREZ                    KS     90012235155
853BB72519152B   BOBBIE           GUERRA                   TX     75048367251
853BB9A112B86B   JOE              GAUDLIP                  ID     42008789011
85411361A4B22B   YOSVANI          GALINDO                  NE     90013893610
854115A2472B31   CHRIS            PRIDDY                   CO     90007495024
854119A392B28B   MICHELLE         QUICK                    DC     90006989039
8541233A49152B   VERONICA         RODRIGUEZ                TX     90012803304
854123A9872B29   ROBLES           STEPHANIE                CO     33014673098
85412752854B62   JUAN             GUS                      VA     90015597528
8541346768B154   BETTY            FORSGREN                 UT     31096504676
85413A17677537   ALICIA           WADSWORTH                NV     90009940176
8541422194126B   KEVIN            SUPER                    PA     51035142219
8541433175B24B   SHEKINA          DAVIS                    KY     90008603317
8541467344B22B   IRMA             FRANCO                   NE     90012746734
85414AA9A9154B   MARIA            RAMIREZ                  TX     75027130090
85415728597B38   HEIDI            DAVIDSON                 CO     90009487285
85415A29197138   JEREMY           SCOTT                    OR     90010240291
85415A89961556   STARNEACK        MURPHY                   KY     90014850899
85415A9198B168   STEPHEN          SILVER                   UT     90007690919
85415AA5155971   MICHELLE         AVILES                   CA     49088460051
8541619895B27B   DWAYNE           L. LEWIS                 KY     68096731989
8541649529154B   JOSIE            BADILLO                  TX     75077374952
85416A48155945   SUSANNA          VILLA                    CA     49072480481
8541712215B581   CYNDAL           KOVACK                   NM     35023391221
8541739264B22B   VALDEZ           MCCRAY                   NE     90012373926
8541781A591837   SHANTA           JOHNSON                  OK     90009688105
8541867A75B17B   KANESHA          WOODS                    AR     90006366707
8541917239154B   KIMBERLY         CHRISMAN                 TX     90010721723
85419241576B68   GILBERT          JOSEPH                   CA     90003452415
854198A3147822   TERICA           JACKSON                  GA     14007038031
8541996758B168   CRISTIAN DAVID   MARQUEZ-FLORES           UT     90011189675
85419A4AA91324   VERONICA         CALDERA-TRIANA           KS     90012330400
85419A88761928   SARA             AMOUR                    CA     90008730887
8541B247133698   RICHARD          POWELL                   NC     12050472471
8541B785572B33   JAVIER           COLLAZO                  CO     90015167855
8542149A772B33   ALFONSO          AYALA                    CO     90010654907
85421686A93771   SUSAN            HINKLE                   OH     90003926860
854219A946194B   JOSE             RAMIREZ                  CA     90001899094
85421AA2455971   DELIA            REYES                    CA     90004080024
85422A6824B22B   DALAN            URQUHART                 NE     27075880682
8542316578B163   RICHARD          PEREYRA                  UT     31097561657
85423295A91837   BREANA           HILL                     OK     90011112950
85423689772B62   ROBERT           WALKER                   CO     33050356897
85424A7258B168   JAMIE            BIRCH                    UT     90004760725
854251A724B556   JASON            WEIK                     OK     90014221072
85425A26577537   ERIC             WINCHESTER               NV     90010270265
8542623618B154   CRISTAL          HUNT                     UT     90010502361
8542656378B168   DANILO           ARDITO                   UT     31001175637
85426577572B43   AMBER            BARROS                   CO     90012735775
8542673A14B22B   DANA             BOTOS                    NE     27095037301
85426955572B29   MATTHEW          RIVAS                    CO     33078009555
85426A2A85B183   TAMARA           NATION                   AR     90008860208
8542742965B161   BRITNEY          GIBSON                   AR     90012584296
8542745629152B   RAFAEL           BAEZ                     TX     75048604562
85427974898B2B   JOAN             AMOS                     NC     90010599748
8542819995B183   WILLIE           HILL                     AR     90010301999
85428213354B62   TAMECA           MITCHELL                 DC     81081942133
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1281 of 2350


854289A2A8B168   JESUS        SHUTTLESWORTH                UT     90015159020
85428A6134B22B   IBRAHIM      MUSE                         NE     90007060613
8542937A472B62   MARLAND      RUSH                         CO     90013093704
8542B663447897   WHITNEY      LOWDER                       GA     14027966634
85431A8188B163   DAVE         ERICSON                      UT     31095840818
85432184997B3B   KAYLEIGH     MCQUERY                      CO     90009981849
854324AA65B27B   ERICA        BROWN                        KY     90011534006
8543251675B17B   KOREY        LEAVY                        AR     23071415167
8543256486192B   MARIA        JIMENEZ                      CA     90001725648
854325A384B22B   ALLIE        RICHARDS                     NE     90012525038
854327A4433698   TOLLY        TOLLY                        NC     90014187044
854333A4A21633   NOELLE       ZABAWSKI                     OH     90009873040
8543384999152B   GEMA         ROMO                         TX     90012668499
85434121297B3B   RAUL         MONCIVAIS                    CO     90011261212
85435259672B29   STEVEN       TYLOR                        CO     90014122596
8543555315B183   GREGORY B    WALZ                         AR     23096425531
85436127576B68   SAMANTHA     HUGHES                       CA     90013341275
8543623758B168   JOSE         PEREZ                        UT     90012732375
854362A575B581   GIO          BUSTAMANTE                   NM     90013912057
8543638389154B   ALFREDO      MARTINEZ                     TX     75043553838
8543642293B358   TOM          JOHANNSEN                    CO     33061884229
85436532A4B22B   KATHY        MCKENNA                      NE     27025335320
85436565697B38   DAVID        CARBAJAL                     CO     39017745656
8543659669152B   CLAUDIA      ESPARZA                      TX     75081335966
854365A8741262   ROBERT       RESKO                        PA     90013835087
85436788A41275   STEPHANIE    SIMMONS                      PA     90011367880
85437251754B62   ERIK         URIAS                        VA     90012112517
8543753259152B   PINON        ANGEL HUMBERTO               TX     90013785325
8543799A697B3B   JOSEFINA     GONZALES                     CO     90011099906
85438299797B3B   RYAN         AL-AMEEL                     CO     90007512997
8543893468B168   JOSEPH       OREILLY                      UT     31014699346
85438A9879193B   NOE          BECERRA                      NC     90011480987
8543951975B581   YAREN        AOLER-ARRATE                 NM     90008255197
85439A4322B271   ALICIA       WALKER                       DC     90006240432
85439A98171977   JOE          BACCA                        CO     90014100981
8543B214251362   STACEY       BAKER                        OH     90003152142
8543B34625B24B   BRANDON      REESOR                       KY     90013943462
8543B756191324   WESLEY       NICKEL                       KS     90014557561
8543B862855971   ANGELINA     PEREZ                        CA     90014478628
8544127795B27B   BRANDY       MORRIS                       KY     90010892779
8544149568B154   ELIZABETH    ALVAREZ                      UT     90004054956
8544158355B581   LOUELLA      LOPEZ                        NM     35003455835
85441A96A61928   BLANCA       RIVERA                       CA     90014850960
85442531A93771   MICHAEL      WAHLEN                       OH     64587845310
8544268758B163   GAIL         CAMERON                      UT     31022956875
85442A2759154B   ROSALBA      PEREZ                        TX     90003060275
85443A88A91979   ZAID         HAILE                        NC     90013650880
8544433A371977   GENEVA       MONTOYA                      CO     90013753303
85444667154B62   LISANDRO     GONZALEZ                     VA     81010756671
85444779A8B168   TROY         RANDALL                      UT     90009927790
85444953272B29   DAVID        LAPORTE                      CO     90014549532
8544571A633698   COLLY        BOLLY                        NC     90014187106
8544578A855945   JUAN         BARRIOS                      CA     49055017808
854458A1791837   ERICA        ROOKS                        OK     90012598017
8544622645B581   RHIANNON     JOJOLA                       NM     90012462264
8544661497192B   CLAUDEANA    CHAPMAN                      CO     90012256149
8544665777192B   CLAUDEANA    CHAPMAN                      CO     90005816577
85446A5A15B183   GLORIA       CHUN                         AR     23031220501
854471A7177537   SALLY        WELCH                        NV     43077571071
85447445576B68   ISMAEL       BAHENA GARCIA                CA     90014824455
85447663A51362   NAKESHA      SIMPSON                      OH     90009786630
85447A95872B29   TOMASA       LOPEZ                        CO     90007070958
8544827698B168   RICHARD      GARCIA                       UT     90015312769
8544839235B24B   JULIO        TAMAYO                       KY     68019883923
8544847455B17B   SHERRIN      PARKER                       AR     23015944745
8544853687B34B   ROBERTO      RIVAS SOMOZA                 VA     81020095368
8544881AA2B891   MARIE        SILVA                        OR     90010858100
85448AA3377537   LURENA       DURANTE                      NV     43050500033
8544929692B891   LINDA        WILSON                       ID     42056872969
8544989655B183   ERICA        HENDERSON                    AR     23049858965
8544993A377537   MARIA        VELASCO                      NV     90010929303
8544B74815B27B   GLENN        TAYLOR                       KY     68096757481
8544BA74197B3B   GUSTAVO      VILLALBA                     CO     39086780741
8544BA85661928   ESSENCHAY    RAINEY                       CA     90010970856
8545116495B59B   JAZMINE      HENRNADEZ                    NM     90010921649
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1282 of 2350


8545125A191837   CARLA        THOMAS                       OK     90008282501
85451348A5B581   LINDA        AVILES                       NM     35076573480
85451A53497B3B   PAMELA       BRAMMER                      CO     90014220534
85452312876B68   REGINALDO    JUETA                        CA     46021133128
8545255247B372   TIMOTHY      DANIELS                      DC     90002515524
8545266A954122   DEBBIE       NONTE                        OR     90005186609
85452726A9152B   ROCIO        PALOMARES                    TX     90002827260
85452A92772B33   EVELYN       ESCOBAR                      CO     90013270927
85453A26676B68   CYNTHIA      JAIMES                       CA     46005310266
85453A37671977   MARIA        RODRIGUEZ                    CO     38021460376
8545436489152B   ERICKA       THURMAN                      TX     90014903648
8545442128B168   JOSEPHINE    REYES                        UT     90008954212
8545495949185B   MATTHEW      JONES                        OK     21049839594
85455152897B38   ALLISON      MONTGOMERY                   CO     90014661528
854554A925B183   CARL         DESMUKE                      AR     90004204092
85455752954B62   AKINYEMI     OMITOGUN                     VA     81050937529
8545576282B246   LORENZO      DASALVA                      VA     90004947628
854557A3277537   MARIA        CASTRO                       NV     90006757032
8545594915B581   DANIEL       ROOKS                        NM     35067879491
8545627A141275   SCOTT        JACKSON                      PA     90014762701
85456749772B33   MIGUEL       AYALA                        CO     33080237497
85456868A9152B   YOLANDA      GONZALEZ                     TX     90001618680
85456A69641262   TIMOTHY      COLL                         PA     90005910696
85457561A91979   SIEDAH       PENDER                       NC     90000275610
85457A93547897   AZZUKIHRUF   MORRIS                       GA     90013220935
85458462A5B271   SHANNON      BROWN                        KY     68030424620
8545892685B233   LATASHA      OBANNON                      KY     68019549268
8545951A197138   LARRY        SMITH                        OR     90013965101
8545985912B891   CADRLLO      AARON                        ID     42015628591
85459A98977537   ATHENA       MACHUTTA                     NV     43020550989
8545B119671977   MARY         WOLFE                        CO     90011581196
8545B43595B24B   DICHON       GULLEY                       KY     90009674359
8545B69586194B   KAREN        CLIPPER                      CA     90003266958
8546149339152B   RYAN         MORIARITY                    TX     75006484933
854618A339154B   JR           CASTILLO                     TX     90008288033
854622A716194B   ADELA        QUINTEROS                    CA     46015672071
85462334297B38   FREDIS       OMAR                         CO     90001853342
8546244465B24B   CHEVON       JOHNSON                      KY     90013944446
85462755472B29   ADRIANA      FELIX                        CO     90011067554
85463499176B68   HAROLD       LAMB                         CA     90013864991
854636A8191837   TIFFANY      BUCKLEY                      OK     21059026081
85463891772B62   SHELLY       MILLER                       CO     33084638917
8546389899152B   GRACE        ARROYO                       TX     90009878989
85464742972B62   SANTA        LOZOYA                       CO     90011857429
85464A89691979   RUTH         OGORO                        NC     90002110896
854653A2A9152B   RAUL         GOMEZ                        TX     90012113020
854657A799154B   CECILIA      ARAGON                       TX     75002457079
85465962697B3B   NATASHIA     STRUCK                       CO     90002639626
85466284172B29   ZONIA        INGHAM                       CO     33063512841
85467356572B33   TODD         INGRAM                       CO     33086653565
85468591872B33   JEANETTE     ARGUELLO                     CO     90014955918
8546874A281677   JOHN         JOHNSON                      MO     90012817402
8546883445B24B   JUANA        AGUILAR-PEREZ                KY     90012938344
85468A5118B168   BRENT        ANDERSON                     UT     31066950511
85469232772B62   STACEY       HICKS                        CO     33036742327
8546944919154B   MATILDE      ORTIZ                        TX     90013854491
8546B659676B68   XOCHITL      CUEVAS                       CA     90013066596
8546B793972B33   RODRIGUEZ    ROSA                         CO     90011917939
8546B911654B62   JACQUELINE   WATTS                        VA     90013929116
8547141256B248   DARLENE      AMY-THAYER                   AZ     90014394125
85471652754B62   DAVID        WICKER                       VA     90014926527
8547189135B581   DAVID        MONTANO                      NM     90014248913
8547278875B581   ADRIANA      FOWLER                       NM     90013747887
85472822254B62   LOUANN       JACKSON                      DC     81047528222
8547316A12B891   ENRIQUE      TAYLOR                       ID     42012111601
8547339619152B   MORALES      MIRIAM                       TX     90012953961
85473A8735B139   DANYIEL      EVANS                        AR     90011810873
8547426169152B   ERIKA        MIRELES                      NM     75064692616
8547431458B163   ASHLEY       CAMARA                       UT     31011643145
8547452625B24B   JAMES        THANG                        KY     68000775262
8547455478B168   STEVEN       TAYLOR                       UT     90010795547
85474614A5B125   JANEL        BROWN                        AR     90013946140
854747A9591837   JESUS        RAMIREZ                      OK     90007957095
8547531639185B   DAVID        POKE                         OK     21049853163
854756AAA61928   KATHY        MARTIN                       CA     46005406000
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1283 of 2350


85476264454B62   MARIO        CONTRERAS                    VA     81081972644
8547661515B183   BRODERICK    LINDSEY                      AR     90015126151
8547714A59154B   MARTIN       PORTILLO                     TX     90011141405
85477821A91324   MARIA        FALCON                       KS     90015298210
8547788A497138   JOSE         GARCIA                       OR     90000198804
8547827269154B   WILLIAM      CORA                         TX     75030632726
85478426472B33   MIGUEL       VILLALOBOS                   CO     90010404264
85478995A54B62   CHELSIA      LANE                         VA     90014529950
85479A9359152B   BARBARA      OROZCO                       TX     90013980935
8547B32438B692   KADEISHA     ROBERTS                      TX     90015043243
8547B37679185B   MARY         MENEFEE                      OK     21050523767
8547B44919154B   MATILDE      ORTIZ                        TX     90013854491
8547B691361928   FABIOLA      GONZALES                     CA     90010416913
8547B9A7247822   JERRY        DURHAM                       GA     90010929072
8547BA1A181677   KATY         HOUSE                        MO     90009890101
854811A7672B62   BARBARA      ACOSTA                       CO     33011631076
8548212415B581   MARIA        CASTRO                       NM     35020381241
85482368597B38   CRISTYAN     FLORES                       CO     90013933685
85482AA238B163   MARCOS       PINA                         UT     90009250023
85484313397B38   ALEJANDRA    AYON                         CO     90012033133
85484314472B33   BALA         ADHIKARI                     CO     33093603144
8548446A171977   ERIC         HANNA                        CO     90001844601
854851A358B168   JARROD       HUMPHREY                     UT     90012571035
85485297176B68   EMMANUEL     TORRES                       CA     46090802971
8548551134B22B   JENNIFER     GREGORY                      NE     90014615113
85486126872B62   MICHAELEEN   WALLACE                      CO     33099291268
85486355A77537   JOSE         BOGARIN                      NV     90015343550
85486461A5B27B   DEBBIES      JOHNSONSS                    KY     90005464610
85486A2353B335   LARRY        MARTINEZ                     CO     33095680235
854876A5677537   SAUL         DUARTE-CHINCHILLA            NV     43024876056
8548836312B271   DANA         WRIGHT                       DC     90011763631
8548853A655945   YIA          VUE                          CA     90014815306
8548873A291975   CHRISTI      MQUEEN                       NC     90012837302
85488A49477537   CHRISTIE     SCHAFER                      NV     43091020494
85489123176B68   SHELLEY      MCDONALD                     CA     46035321231
8548989755B24B   PAULA        ALLEN                        KY     90009278975
854898A2391837   TOI          ADAMS                        OK     90012058023
85489A2A58B163   ERNESTO      HERNANDEZ                    UT     31076640205
85489AA268B168   TYE          ROMNEY                       UT     31005460026
8548B11A641275   RICHARD      MARTIN                       PA     51007251106
8548B161597138   CIERRA       BURNETT                      OR     90005561615
8548B51269152B   ALFONSO      REYES                        TX     90012365126
8548B966A97B3B   RIK LEE      KINTZLEY                     CO     90011329660
85491168372B33   NOEMI        ACOSTA                       CO     90014521683
8549152295B581   SHAWNA       CORIZ                        NM     90015035229
85491A27597B3B   RODOLFO      RANGEL-CRUZ                  CO     39091160275
8549364A955945   AIOTEST1     DONOTTOUCH                   CA     90015116409
85493A84341275   YAN          DOLGOSHEEV                   PA     51041490843
85493AA925B183   TONYA        WATKINS                      AR     90005150092
85494A22A9154B   ROSALES      LORENZO                      TX     75073980220
8549526495B183   DENNIS       BROWN                        AR     90009982649
85495781472B33   BRENDA       BANULOS                      CO     90012547814
8549589565B581   BRANDON      BLACK                        NM     90010348956
8549644A791979   JOHN         LARA                         NC     90008404407
85496568972B29   DIEGO        SOLIS                        CO     90012895689
8549725A691975   CRYSTAL      RUFFIN                       NC     90005512506
85497379A8B154   ANDREW       ANDERSON                     UT     90010503790
8549749435B24B   MELODY       CROSS                        KY     90002814943
854981AAA91324   ERIEKA       MOORE                        KS     90001671000
8549863A69154B   EMMANUEL     TARANGO                      TX     90001366306
854987A2593783   JODY         REDD                         OH     64530197025
8549893288B154   MARIA        ELIDA                        UT     31056589328
8549971A79154B   LUPE         GONZALEZ                     TX     90010657107
8549B528147822   TAMEKIA      CAUSEY                       GA     14052235281
8549B82519152B   ISRAEL       CROYSDILL                    TX     90013098251
8549B8A5771977   JOLENE       SALAMENO                     CO     90011128057
854B1129693771   LESLIE       ABNER                        OH     90013801296
854B124485B24B   TONY         SKAGGS                       KY     90013942448
854B14A5655945   KIMBERLY     RUIZ                         CA     90008644056
854B1515991324   HAZEL        PINKS                        KS     90012285159
854B1546233698   JAMES        DOE                          NC     90014185462
854B1744272B33   HILDA        MIER                         CO     33098887442
854B198925B183   VERONICA     WOFFORD                      AR     23037059892
854B1A61691837   MARK         HAAS                         OK     90014470616
854B1A9975B27B   KIMBERLY     TAURMAN                      KY     68047760997
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1284 of 2350


854B2453197B3B   JUAN         PADRAZA                      CO     90014154531
854B3618A71977   ROBERTA      HANSON                       CO     90015246180
854B4169691975   RUBEN        QUINTERO                     NC     90013931696
854B4556733698   BOLLY        TOLLY                        NC     90014185567
854B4852555971   BEATRIZ      NAVARRO                      CA     90012218525
854B5367481677   ERYN         NODLE                        MO     90009553674
854B553735B183   NORA         SOTO                         AR     90010735373
854B575325B24B   ROSALVA      MONTEJO                      KY     90007647532
854B5A13A72B33   BRIAN        SMITH                        CO     90013580130
854B5A46891975   HECTOR       GONZALEZ                     NC     17024520468
854B613899152B   LUIS         MARTINEZ                     TX     90013541389
854B6388541275   JOSEPH       NEBINSKI                     PA     90014853885
854B6566861928   ORESTE       JUSTIZ                       CA     46049215668
854B6834147822   HEAHTER      WILLIAMS                     GA     14023568341
854B7196233698   RUBEN        ROBLES                       NC     90010361962
854B7815541262   DAVE         WALLACE                      PA     90010868155
854B797A561928   LILIANA      FLORES                       CA     90000379705
854B8343A47897   SHATKA       MURPHY                       GA     14044293430
854B853AA71956   JACQUELINE   LOUDY                        CO     90005035300
854B8541185856   GABRIELA     VILLARNOVO                   CA     46084465411
854B8892671977   JACK         VIGIL                        CO     38028818926
854B894145B581   EMILE        JHON-RUHULESSIN              NM     90005019414
854BB3A9655945   ELIZABETH    CAMACHO                      CA     90015333096
854BB423A4B954   GAIL         JAMES                        TX     90010644230
854BB545333698   TOLY         BOLY                         NC     90014185453
854BB785841275   JEFF         BOUVY                        PA     90009817858
854BB78754B22B   MINDY        LILE                         NE     90001867875
8551117228B154   KIMBERLY     PRICEE                       UT     90012521722
855112A6277537   ROBERT       SAVITSKY                     NV     43054992062
855122A5171977   JACOB        ARCHULETA                    CO     90013822051
85512555697B38   BILLY        LANCUSTER                    CO     39049675556
8551298739154B   ANTONIA      NAVARRO                      TX     75097919873
85513436154B62   VANESSA      BROWN                        VA     90013924361
8551369368B154   LEONARD      CHILES                       UT     90011576936
85513A37472B62   ERWIN        GONZALEZ                     CO     90013930374
8551445A871977   TIMOTHY      ODELL                        CO     38065874508
85514577976B68   BRYAN        CUMMINS                      CA     90015295779
8551461998B168   BROCK        FOARD                        UT     31039076199
8551467465B183   DONALD       FLOYD                        AR     23011236746
85514A84772B62   MARIA NOHE   AMAYA                        CO     33057210847
85514A96A91979   PHET         PHROMSAVANH                  NC     17038480960
85515772A72B62   ADRIAN       JAQUEZ                       CO     33069807720
8551668983B386   ROBERT       CHAPIN                       CO     90006126898
8551684435B24B   FONTELO      SCOTT                        KY     68005018443
8551714A172B62   BRANDI       HAPPNER                      CO     90013561401
8551719A29154B   MENESES      SALVADOR                     TX     90013781902
8551756792B991   YVETTE       MORD                         CA     90011605679
8551789885B581   ALBERT       BROWN                        NM     90006748988
8551841644B577   SHERONICAL   PRYOR                        OK     90010794164
85518A3A972B29   MICHAEL      RAEL                         CO     33022920309
85519642A5B581   JUAN         SALAS                        NM     90003966420
8551B24A784356   TARA         MARTIN                       SC     90001662407
8551B753585856   TOMAS        ALVAREZ                      CA     46070237535
8551BA16781677   STEPHANIE    HARRINGTON                   MO     90001520167
85521373376B68   DAVID        DEYONGE                      CA     90010913733
85521666A91324   CECILIA      MARTINEZ                     KS     90014836660
855217A188B168   ELIANA       PINET                        UT     90009217018
8552225A697B38   GENEVIEVE    AHERN                        CO     90013902506
85522377A97138   REBECCA      COYLE                        OR     90015293770
8552262A89152B   FRANK        PIZZI                        TX     90006926208
855232A4572B62   SCOTT        RUPP                         CO     33017092045
855234A2A5B565   CHRISTINA    PAISANO                      NM     90014844020
85523778197B3B   MARIA        AGUILERA                     CO     90014607781
855239A749152B   SARAH        MENDOZA                      TX     90014879074
8552527919154B   AGUAYO       CRISTINA                     TX     90010612791
85525368A47897   CHIQUITA     MOODY                        GA     90013263680
8552553469152B   MARIA        NUNEZ                        TX     75047865346
8552553A791324   TYESHA       FRANKLIN                     KS     90014565307
8552668765B183   LASHE        WATKINS                      AR     23061996876
85526A25691979   TAWANA       COLEMAN                      NC     90010780256
85527279472B33   ALEXANDRIA   MOSLEY                       CO     90001192794
8552733185B581   CYNTHIA      RODRIGUEZ                    NM     35063603318
8552741255B581   CYNTHIA      RODRIGUEZ                    NM     90013604125
8552748459154B   BLANCA       LOPEZ                        NM     90010614845
8552823A797B3B   ALEXANDRA    DIPENTINO                    CO     39020312307
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1285 of 2350


8552847838B154   STACEY        SELL                        UT     90010504783
8552859299154B   CYNTHIA       GUERRERO                    TX     90014565929
8552873976194B   CINDY         RIOS                        CA     90010427397
8552876318B136   TRACY         RILEY                       UT     90007297631
8552894A972B21   JOHN          RIVES                       CO     33089899409
85529A65472B29   ABDULLATIF    HAGI SHIRWA                 CO     33022980654
85529A67372B33   MARIA         MEDRANO                     CO     33051280673
8552B197172B62   FELIX         VAUSHN                      CO     33040621971
8552B369255997   YADIRA        MORAN                       CA     49078993692
8552B42634B22B   COURTNEY      FROIEN                      NE     90011424263
8552B4AA45B183   LAMON         WILLIAMS                    AR     90011884004
8553114194B22B   JESSIE        CRUM                        NE     90014741419
85531634A9154B   EDGAR         SIFUENTES                   TX     90014786340
85532863776B68   YADIRA        ROSALES                     CA     90000618637
8553354695B581   JORGE         BELTRAN                     NM     90011615469
85533624497B3B   ANDREA        LUNA                        CO     90011386244
85533634A9154B   EDGAR         SIFUENTES                   TX     90014786340
8553374A397B38   PAULINE       DOMINQUEZ                   CO     39017527403
8553448978B163   JAMIE         NICHOLLS                    UT     31021554897
855352A3A85856   JEREMY        SUMMERS                     CA     46027472030
8553568542B891   SHADA         MOHAMMAD KARIM              ID     90006706854
8553651799152B   CLAUDIA       TERRAZAS                    TX     90012365179
85536813697B38   DANIEL        ARROYO                      CO     90012768136
8553686898B168   CHRIS         THURMAN                     UT     90014218689
855369A1633698   MARVA         JUMPER                      NC     90014199016
8553793799152B   ABEL          MARTINEZ                    TX     75012629379
8553834A555971   BERNICE       AHUMADA                     CA     49087593405
8553916289154B   DORA          TORRES                      TX     75057621628
8553926435B139   JUAN          EXIGA                       AR     90001642643
8553983A941262   WILLIAM       GRANT                       PA     90011508309
8553B28414B22B   BETHANY       TETZLAFF                    NE     90012212841
8553B4A7497B3B   KAYLA         RINE                        CO     90011464074
8553B627A9152B   ISIAH         WASHINGTON                  TX     75058176270
8553B647151357   JUAN          JACIUTO                     OH     66092886471
8553BA49254B62   ANGEKICA      CANIZALEZ                   VA     90013220492
855412A6191975   DION          BASS                        NC     90013672061
855413A9A5B356   LEROY         WOLFINGER                   OR     90013353090
85541427997B3B   MARI LUZ      ESTRADA                     CO     90010764279
8554164A955945   AIOTEST1      DONOTTOUCH                  CA     90015116409
85542149472B29   AMBER         ANGERS                      CO     90015241494
85542173A9152B   JORGE         GUEVARA                     TX     90010311730
85542539297B38   JANNETTE      GOMEZ                       CO     90010025392
85542777A47822   TIMOTHY E     LINDER                      GA     90002027770
855441A6872B33   MARTIN        MARQUEZ                     CO     33026831068
8554542A872B33   LAURA         THOMPSON                    CO     90013184208
8554549539185B   COREY         MCGUIRE                     OK     21069484953
855456AA191879   RAYMOND       DEVER                       OK     90011766001
8554663919154B   JESUS         AGUILERA                    TX     90014786391
8554682549152B   ANA           VILLEGAS                    TX     90013098254
85546887453B82   LEAH          WILKES                      CA     90012668874
855473A279154B   FERNANDO      GONZALES                    TX     90010613027
8554751245B183   SHANELL       CIRCLETT                    AR     90014925124
85547671172B62   CARLOS        HUIZAR                      CO     33069726711
85547A4469152B   JESSY         MONTOYA                     TX     90013880446
85547A6944B22B   AUDRAINA      PEAK                        NE     90012710694
8554827A791975   JEANNE        COLQUITT                    NC     90010362707
85548747572B29   PAMELA        FORD                        CO     90007007475
8554993144127B   TASHA         DEADERICK                   PA     90005879314
85549A98397B3B   CRAIG         MAXWELL                     CO     39064080983
8554B16289154B   DORA          TORRES                      TX     75057621628
8554B234554B62   ANTHONY       MACKELL                     DC     90013932345
8554B244797B38   ALMA          DAVILA                      CO     39031612447
8554B838676B68   FLOR          RAMOS                       CA     46004848386
8555288989154B   ROBERTO       HERNANDEZ                   TX     90004618898
85552AAA133698   JERALD        BROWN JR                    NC     12002700001
8555326955B24B   MARICELO      MEDINA                      KY     68067032695
8555349AA51362   ANDREA        SENTERS                     OH     66064064900
855543A6491837   CLEMENS       KIRKPATRICK                 OK     21098813064
8555447358B154   NATASHA       BUTCHER                     UT     90014624735
85554A3622B28B   BOBBIE        TRUESDALE                   DC     90007000362
85555667A76B68   ROSEANN MAY   PISCH                       CA     90012866670
85555A5A741272   JOSHUA        HENADERSON                  PA     90005400507
85555A63297B38   ANDY          HORNER                      CO     90013150632
85556152A72B33   PENNY         CLARK                       CO     90008151520
85556A47393771   JAMIE         FRITTS                      OH     64550570473
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1286 of 2350


855573A617192B   ARTHUR       LUMSDON                      CO     32057923061
85557454797B38   MELISA       TORRES GUTIERREZ             CO     39004334547
85557678597B3B   JAMIE        GINGERY                      CO     90002316785
8555816854B259   ROSA         VALLESILLO                   NE     90005121685
8555816869152B   ALMA         GARCIA                       TX     90014191686
85558352A8B154   TAMARA       DIXON                        UT     90005453520
85558827772B62   ERICA        SILVA                        CO     90000668277
8555919A571977   FELICIA      GALLEGOS                     CO     90015051905
85559285397B38   ELIZABETH    CHAVEZ                       CO     39004422853
8555B13855B183   CRICTINA     GONZALEZ                     AR     90009331385
8555B175155945   LORRAINE     SETTLE                       CA     49065111751
8555B392A33698   SHELDON      COBLE                        NC     90010933920
8555B39775B581   LEONARD      MARTINEZ                     NM     35005173977
8555B493276B68   SHANNAN      KELLIE                       CA     90014834932
8555B58725B24B   KESHA        BRADLEY                      KY     90013945872
8555B753693771   JOSHUA       YOUNKER                      OH     90008207536
8555B993691532   RUTH         GARCIA                       TX     90006809936
8555BA25A2B28B   NAME         NAME                         DC     90007000250
8556289A28B168   KYLEE ANN    PETERSEN                     UT     90014158902
855628A168B167   DAN          WENDT                        UT     31059778016
85562A26391975   UDOCHUKWU    NKWAZEMA                     NC     90009350263
85563127954B62   WILBERTO     MARTINEZ                     VA     90013551279
8556315A772B33   KEITH        GARRISON                     CO     90013051507
8556377732B271   LEONARD      YOUNG                        DC     90002727773
8556386867B359   IRMA         GUANDALINI                   VA     81025268686
855649A165B183   JAMEEL       AKBAR                        AR     23064939016
85564A75197B38   JUAN         DE LA CRUZ                   CO     90002130751
8556515834B22B   MIKE         PIATT                        NE     90002721583
8556515A96194B   GUALUPE      GIL                          CA     90003271509
8556622879152B   TOMAS        AGUERO                       TX     75001362287
8556657715B24B   JASON        MONTGOMERY                   KY     68018925771
85566634572B29   JAZMIN       REYES MENDOZA                CO     33045136345
85566779572B23   TRUC         NGUYEN                       CO     90010827795
85566A4875B581   ANTHONY      DIGGS                        NM     35075460487
85567222554B62   SELVIN       COLINDRES                    VA     90015232225
8556726AA41262   STEFANIE     GRANTHAM                     PA     90012322600
8556794639154B   NANCY        CARRERA                      TX     75065759463
8556817A155971   JOSEPH       MARTINEZ                     CA     90006631701
855685A2151347   CONSTANCE    LILLY                        OH     90003045021
8556872346196B   MARIA        CARMONA                      CA     90001207234
85568A11691324   FELICIA      NIMROD                       KS     90015020116
85568A6633852B   DANIEL       BULLOCK                      UT     90008040663
8556942528B168   JOSE         SANCHEZ                      UT     90014924252
85569565A9154B   RODRIGUEZ    PERLA                        TX     90000995650
85569749A91979   ANDRE        MOORE                        NC     90001767490
8556B379672B62   LAWRENCE     DURAN                        CO     90006243796
8556B579341262   ALEESHEA     COSBY                        PA     90006505793
8556B8A769154B   JOSE         TRONCOSO                     TX     75053098076
85571113372B29   JORY         GUERRA                       CO     90013741133
85571212776B68   DIEGO        DIEGO                        CA     46000232127
85571A65A5B24B   ELISHA       GIBSON                       KY     90012560650
85571A6635B581   ELSA         GONZALES                     NM     90004340663
8557215315B581   MARK         CHAVEZ                       NM     35083821531
85572345697B3B   JACQUELINE   CANO                         CO     90015113456
85572458672B29   MARILYN      BLACK ELK                    CO     33034414586
855725A6672B62   VIVIANA      GARCIA                       CO     33088375066
855732A8855945   JOSEPH       BECKER                       CA     90010992088
8557334529152B   MARIA        MARQUEZ                      TX     90012263452
85573569A71977   MALINDA      HERNANDEZ                    CO     90011655690
85573846876B68   HECTOR JR    JAIMES                       CA     90013818468
85574463997B38   LUZ          ALEMAN                       CO     39082844639
8557551198B154   TERRA        DAMMASCHKE                   UT     90012975119
85575668A41275   STEPHENIE    MOSS                         PA     51062736680
85575A1578B154   BRADEN       COLLEDGE                     UT     90015140157
85575AA5871977   SHERRY       MARTINEZ                     CO     90010130058
85576131A91583   RIVERA       EDGAR R                      TX     90010111310
8557719448B154   JAVIER       GRANADOS                     UT     90012521944
8557733335B581   ALEJANDRA    ESTRADA                      NM     35056513333
8557785879152B   ALVA         RODRIGUEZ                    TX     90012668587
85577A83193771   LINDA        PETERS                       OH     64535440831
855782A7155945   PATRICIA     FUENTES RAMOS                CA     90011032071
85578588654B62   BILLY        AMBROSE                      VA     90015445886
8557B372271933   LYNN         DOOLEY                       CO     32020753722
8557B7A745B139   JOSE         GOMEZ                        AR     23045137074
8557B918471977   ALICIA       LOPEZ                        CO     90012719184
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1287 of 2350


855813A588B163   BUENA         VISTA                       UT     90006593058
8558235A45B24B   GREGORY       MCCRANEY                    KY     68012043504
85582675776B68   PATRICK       PAYNE                       CA     90013456757
85582684472B33   IVAN          RAMIREZ                     CO     90012476844
8558339632B271   KWANIA        HARDEN                      DC     90002043963
85583499A61928   KIMO          TAUSAGA                     CA     90014004990
85583845454B62   SERGIO        VALDEZ                      VA     90013608454
8558423A341262   JAMIE         ARCHIE                      PA     90000902303
855843A562B981   TRINA         PRICE                       CA     90008203056
8558464425B24B   NICODEMUS     BUEGE                       KY     90013946442
85584697772B33   DIANA         QUINTERO                    CO     90003826977
85584AA336194B   JASON         HAINES                      CA     46096930033
85585636972B29   STEPHANIE     GONZALEZ                    CO     90014716369
85585A11171977   ANN           MUNOZ                       CO     90008610111
85585A65A9154B   LORENA        GALINDO                     TX     75084980650
85587789276B68   JOHN          PAURAZAS                    CA     90013927892
855879A4377537   KADYBETH      THOMPSON                    NV     90003509043
85588865197B38   TAMRA         MEURER                      CO     39027608651
8558891322B891   PAUL          CONYERS                     ID     90006799132
85589294A8B154   ANN M KOONS   KAREN KINSEY                UT     90014712940
85589311A91324   LATEEFAH      JONES                       KS     90014023110
8558934A176B68   JOSE          MOLANO                      CA     90012323401
85589381172B29   MARINA        ROSS                        CO     33088503811
85589911272B33   DOMINGA       MUNOZ                       CO     33092569112
8558B181197B3B   DANIEL        WALTER                      CO     39090251811
8558B25634B22B   FRANCISCO     ESPINOZA                    IA     90013932563
8558B283671977   JESSICA       GOMEZ                       CO     90013732836
8558B476991324   MARIA         GUZMAN                      KS     90013404769
8558B646285994   BENETTA       VANZANT                     KY     90011836462
8558B819181677   NICOLE        ROSS                        MO     90008428191
8558B963577537   LINDA         MOCK                        NV     90013619635
8558B973991837   JENNA         DOBSON                      OK     21011759739
8558BA11691324   FELICIA       NIMROD                      KS     90015020116
85591269176B68   REGINA        KEITH                       CA     46064212691
85591518972B33   VALERIE       CALDERA                     CO     33067555189
85591A81261928   MERCEDES      GALLUS                      CA     90014470812
85591AA3491324   TIMOTHY       SAMMONS                     KS     90014920034
8559238149154B   ROSALBA       JAURRIETA                   TX     90013523814
8559335749152B   MANUEL        SAVALA                      TX     90015163574
8559381645B335   BRIAN         HERMAN                      OR     90013358164
8559385858B168   JAMES         HOUCK                       UT     90015168585
85593A5934B22B   VEI           INES                        NE     27071650593
8559443A347897   XAVIER        WILLIAMS                    GA     90010244303
8559467385B183   ELISHA        DAVIS                       AR     90011066738
8559496155B27B   JESSICA       BUCKMAN                     KY     90001639615
85595138A9154B   ANTONIO       BARRAZA                     TX     75071971380
85595495672B28   CHRISTIN      YOUNG                       CO     90013964956
85595765972B62   MAYRA         RODRIGUEZ                   CO     33041617659
8559671AA9154B   BLANCA        MACIAS                      TX     90009097100
85596846A54B62   JEOVANNI      MARTINEZ                    VA     90014498460
8559775339154B   JUAN          ALVAREZ                     TX     75069437533
8559799362B891   ERIC          FREEMAN                     ID     90006799936
85598217572B33   TWALLA        BLACKSHER                   CO     90014652175
85598625A9152B   JOANNA        OZORIO                      TX     75095866250
8559875339154B   JUAN          ALVAREZ                     TX     75069437533
8559881645B335   BRIAN         HERMAN                      OR     90013358164
8559897764B546   SHERRIE       DAVIS                       OK     90010719776
85599174A8B168   FRANCISCO7    NAVARRETE                   UT     90011261740
8559918412B275   MEOSHA        PARKER                      DC     90008341841
8559923615B24B   YVONNE        BINFORD DANIEL              KY     68092532361
8559946199154B   LETICIA       PRECIADO                    TX     75063774619
8559B223697B3B   ALEXANDRIA    YADEN                       CO     90013042236
8559B449A9374B   DARLENE       GIVENS                      OH     90012454490
8559B528333698   BRITTANY      BARRETT                     NC     90008625283
8559B63919154B   JESUS         AGUILERA                    TX     90014786391
8559B873491975   MAURICE       ROBERSON                    NC     90004348734
8559B91754B257   MAGALY        FAVILA                      NE     27008629175
855B133465B17B   RICHARD       BAIRD                       AR     23015973346
855B147A797B3B   MAXINE        HERNENDEZ                   CO     90007444707
855B1485772B33   RUTH          PENA                        CO     33019104857
855B162788B168   DAMON         STELL                       UT     90015146278
855B163494B22B   CHAUNCEY      BURLEY                      NE     90014606349
855B2382947897   APOLLONIA     SMITH                       GA     14093583829
855B257638B154   JESUS         RINCON                      UT     90010455763
855B2742972B33   TRACY         FRATTINI                    CO     90014257429
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1288 of 2350


855B2745791979   CECILIA      MARCO                        NC     90015137457
855B323829154B   DORA         VILLANUEVA                   TX     90010612382
855B345729152B   DONYALE      HUNT                         TX     90015034572
855B3491A93771   STACY        BARNET                       OH     90001214910
855B357638B154   JESUS        RINCON                       UT     90010455763
855B423849154B   TERESA       FLORES                       TX     90010612384
855B454A172B29   MERCEDES     DOMINGUEZ                    CO     90005565401
855B454A95B24B   TAMMY        ENNENBACH                    KY     90000135409
855B5247991324   TYLER        WHITE                        KS     90009592479
855B5676754B62   HENBOI       Q                            VA     90013536767
855B5944A93771   LYNDSEY      STAMPER                      OH     64569979440
855B5981672B29   LUZ          JURADO                       CO     90012379816
855B5A4AA5B581   CHRISTINA    DUTCHER                      NM     35012580400
855B615848B154   ANDREW       ENGLISH                      UT     90012521584
855B6451376B68   ANDREA       DURO                         CA     46027604513
855B666A75B24B   DEVIN        WARS                         KY     90011426607
855B6881997B38   CECILIA      CRUZ                         CO     90012848819
855B698865B24B   BRIDGET      PATTERSON                    KY     90014799886
855B731155B581   JEANETTE     MONTOYA                      NM     90006623115
855B7432481677   BRIANNA      CARTER                       MO     90013614324
855B8187597B38   STEVEN       HANSON                       CO     90005521875
855B861279154B   ALMA         MORENO                       TX     90014786127
855B872A85B24B   MARISSA      HUCKLEBERRY                  KY     90014637208
855B874365B581   MICHELLE     TENORIO                      NM     90012467436
855B8873571977   JAY          HERNANDEZ                    CO     90009938735
855B921A58B154   JORGE        BELTRAN                      UT     90015122105
855B9287497B38   KATHERINE    PACEK                        CO     90010802874
855B9483597B38   MELICIA      TAPIA                        CO     90014444835
855B95A6747897   DULCE        FONGUIN                      GA     90013775067
855B9887461998   ROBERT       NELSON                       CA     90006578874
855BB2A2391324   KENNETH      KERNS                        KS     29016922023
855BB379A8B154   ANDREW       ANDERSON                     UT     90010503790
855BB475671977   REBECCA      MAESTAS                      CO     90012834756
855BB9A322B891   NGENDA       KABEYA                       ID     42079939032
855BBA79172B29   BRIANNE      BAYLESS                      CO     90011490791
85611214A61928   LEODEGARIO   ALATORRE                     CA     46040682140
8561143925B24B   DANA         GUZMAN                       KY     68081314392
856118A9881677   KALI         WILSON                       MO     90011648098
85611A69877537   MARSHA       HUFFMAN                      NV     43017550698
8561234395B581   JOSHUA       GALLEGOS                     NM     90011053439
85612A37233698   NELY         LEDEZMA                      NC     90010470372
8561325855B581   LOUISE       MORALES                      NM     90008192585
8561355A772B29   JACQUELYN    MADRID                       CO     90013495507
85613568A72B33   TONY         FINCA                        CO     90004515680
8561366845B24B   SHONTE       WILLIAMS                     KY     90013946684
856136A3A9154B   ROGER        TIMENEZ                      TX     90000926030
8561392A44B22B   JOSE         JIMENEZ                      NE     27019029204
8561394868B168   NANNETTE     BELEW                        UT     90010619486
85613A3A55B183   MELANIE      ROLAND                       AR     23088770305
856142A5654B62   DANIEL       HAMMOND                      VA     90000422056
856144A4155945   ROXANNE      BURRELL                      CA     49004334041
8561476715B331   MATTHEW      GREEN HITE                   OR     44560147671
856152A3291837   CHAMIKKA     SLOAN                        OK     90010482032
85615929A7B278   TRACI        SNOWDEN-THACA                NV     90014439290
85615963697B38   RAINA        MARCELLANO                   CO     90004539636
85615A1A761928   CAMERON      BURLESON                     CA     46036980107
8561666A55B581   DOROTHY      MUNOZ                        NM     35094116605
8561682A591979   ANA CELINA   SANTOS                       NC     90015178205
85616A45861928   LEVERNE      CANNADY                      CA     90010940458
85617168372B33   NOEMI        ACOSTA                       CO     90014521683
8561735869154B   MARCOS       RODRIGUEZ                    TX     90009583586
856176A1555971   DAVID        LOPEZ                        CA     90014596015
85618212A71977   CADELARIO    PINA                         CO     90014802120
856182A3572B62   DEMIAN       GO                           CO     90013892035
85618469297B38   MARISOL      BUENROSTRO                   CO     90014064692
85618636997B38   MARISOL      BUENROSTRO                   CO     90013226369
85618A11472B62   KYLENA       AMAYA                        CO     90014780114
856192A3797B38   GREGORY      SAUNDERS                     CO     90011862037
8561937A941275   DAREA        MEANS                        PA     90012973709
856194A539154B   SUSANNE      FAVELA                       TX     90014784053
856196A8391935   ABEL         PEREZ                        NC     90015496083
85619746A97B3B   LOURDES      ABARCA                       CO     90007797460
856197A188B154   SAUL         HERNANDEZ                    UT     90012847018
85619A81A97B3B   LOURDES      ABARCA                       CO     90014920810
8561B28345B27B   WOODIE       HODGEN                       KY     90015022834
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1289 of 2350


8561B45448B168   KELLI          KOER                       UT     90000394544
8561BA1A89152B   ABRAHAM        LICON                      TX     90007100108
8562156645B581   GERALDINE      TRUJILLO                   NM     35082475664
8562171AA3B153   CLAIRE P       CARGILL                    DC     90001157100
85622789A9152B   JESSICA        HUERTA                     TX     90012637890
8562287718B154   FRESIA         PONCE                      UT     31014528771
85623132A5B388   MIGUEL         DAVILA                     OR     90002131320
8562374485B17B   JUAN           GARCIA                     AR     23050347448
856237A9241262   TRACEY         WHITE                      PA     90014897092
85623A9759154B   OLIVIA         HIDROGO                    TX     90011490975
85623AA6147897   LACANDIS       KINSLOW                    GA     90010500061
8562422484B22B   ALEJANDRA      SINECIO                    NE     90014202248
85624345672B33   CHRISTA        GONZALEZ                   CO     33067503456
85624493876B68   KENIA          QUINTERO                   CA     46011134938
8562545194B22B   CANDACE        HORTON                     NE     27076044519
8562569415B24B   HURLEY         BRASHER                    KY     90013946941
85625812A91324   JUAN           HERNANDEZ                  KS     90011418120
856259A699154B   ARTURO         HERNANDEZ                  NM     90005159069
856261A419152B   SONIA          FELIX                      TX     75079031041
8562631A725329   LEITARA        MAILOTO                    WA     90015393107
8562651579154B   OBDULIA        MERTIG                     TX     90004595157
85626966876B68   DOLORES        CALLES                     CA     46064159668
856273A8872B62   ANA            VAZQUEZ                    CO     33069153088
85627925597B38   CHRISTINA      ROBBS                      CO     90013459255
856279A938B154   CANDICE        CALL                       UT     90005009093
8562871775B24B   TAMMY          TROUTT                     KY     68044897177
8562871A65B581   MYKALL         CHAFFIN                    NM     35069687106
85628A7628B168   LAZARO         SORCIA                     UT     31089380762
85629214772B62   ROSEMARIE      GEVARA                     CO     90012902147
8562932A772B33   MARGARITA      MUNOZ                      CO     90006513207
856294A5893771   ERIKA          MENEOZA                    OH     90013924058
85629A68297B38   FELICIA        SORIA                      CO     90009480682
8562B314A9192B   DAIRUS         TOWEH                      NC     17011953140
8562B34A69154B   CHRISTINE      CABRALES                   TX     90013463406
8562B3A2272B33   RICHARD K      CLAYCAMP                   CO     90012823022
8562B42354B22B   DANIEL         KOMOR                      NE     90014164235
8562B429193771   DARIUS         WILLIAMS                   OH     64592304291
8562B497A8B18B   GINA           ARMSTRONG                  UT     90012474970
8562B5A8597B3B   CHAD           BENSON                     CO     39077235085
8562B725291979   ELSIE          ANGEL                      NC     17072667252
8562B783572B62   CARMEN         ROMERO                     CO     33045147835
85631324772B62   CYNTHIA        DURAN                      CO     90010853247
85631484172B33   SANJUANITA     COVARRUBIAS                CO     90014784841
8563168249154B   CESAR          MATA                       TX     90014786824
8563193956194B   IRMA           GRANADOS                   CA     90004389395
856321A299154B   JESUS          CORONA                     TX     75059671029
8563239462B891   JESUS          ALVARADO                   ID     90006803946
8563279874B22B   ARMANDO        GARCIA                     NE     90014907987
85632869354B62   AMANDA         BEARD                      VA     90008488693
856332A9172B29   ERIKA          AGAMA                      CO     90009142091
856333A2371977   ALEJANDRO      JIMENEZ                    CO     90012823023
85633421A2B28B   LAWRENCE       JENNINGS                   DC     90009344210
8563375995B183   LINDA          HUBBERT                    AR     90013147599
85634A62641275   RENEE          HARDY                      PA     90015100626
85635281776B68   MANDY          PARROTT                    CA     90006642817
85635451A8B168   ADRIANA        ESPINOZA                   UT     90011004510
856354A5993771   DIANNA         PRESTON                    OH     90008374059
85635A28455945   KATHERINE      MORALES                    CA     49052450284
8563617178B168   SANDOVAL       BEVERLY & PHILL            UT     31025271717
8563634848B168   SANDOVAL       PHILLIP                    UT     90011283484
856363A4972B62   CHRISTOPHER    TURPIN                     CO     90014563049
856365A8441262   ELIZABETH      LARKIN                     PA     51010635084
8563745AA55945   VICKY          SANDERS                    CA     90014834500
85637912A85856   DANIA          SANCHEZ                    CA     46065099120
8563885465B183   TAMMY          CHEIRS                     AR     90008298546
85638922672B29   BENJAMIN       ROACH                      CO     90015189226
856389A2A91837   ADELA          CASTANEDA                  OK     90014769020
8563936194B22B   BRIAN          HOBSON                     NE     27006333619
8563948685B581   MICHAEL        RIVERA                     NM     90013404868
856395A2841262   CELIA          BOWLES                     PA     90013545028
856399A7161928   MIRIAM         GONZALEZ                   CA     90010839071
85639AA7647897   KATRINA        LAWSON                     GA     90013510076
8563B26A13B345   FLOR           ARMIDA                     CO     33034112601
8563B39A19154B   HUGO ALBERTO   BEANES SILVA               TX     90014033901
8563B7A485B24B   JOHN           MCKANNEY                   KY     90013947048
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1290 of 2350


8563B887947897   AMBER             BOSTICK                 GA     90008838879
8563B92AA91837   VENUS             WILSON                  OK     21008519200
8563BA3A272B33   NUKOLA            TOLANI-ARIJE            CO     90004820302
8563BA41397B3B   RUBI              LOPEZ                   CO     90010720413
8563BA5A197138   ANTONIO           MARTINEZ                OR     90014950501
856412A2691324   KIMBERLY          WHITE                   KS     90014482026
8564154975B183   LINISE            PHILLIPS-BRIBIESCA      AR     23045135497
85641A77541275   TRACY             HARPER                  PA     51009960775
8564238A781621   VERNON            GARTH                   MO     29038103807
85642732472B29   SERGIO            PENA                    CO     90014437324
85643223872B29   JESUS             GUERRERO                CO     33022572238
8564349A361928   RAMON             GUITERREZ               CA     46018124903
8564362A855945   MARIE             GONZALES                CA     49098306208
856438A9997B38   OTONIEL           BATISTA                 CO     39082278099
85643AAA671977   ANTONIA           JARAMILLO               CO     90012940006
85644477597B38   ANTHONY           SANCHEZ                 CO     39001884775
8564457A461928   FRANCES           HOUSTON                 CA     46021715704
856447A8491975   ROSAYNE           MORALES                 NC     90012457084
856452A6554B62   YASSMIN           CERON                   VA     90008292065
8564539375B183   RAMSEY            PARKER                  AR     90014083937
85645474876B68   GUILLERMIN        SALDIVAR                CA     46096714748
85645576872B33   EDGAR             LOPEZ                   CO     90012155768
85645659A55945   MANUEL            GUZMAN                  CA     90012306590
8564581325B581   CECILIA           RIVERA                  NM     90014818132
85645A5A397138   HORACIO           SAINZ-GARCIA            OR     90007140503
8564622A971977   RICHARD           PRATT III               CO     90005782209
8564624223B366   LORINDA           MORGAN                  CO     90011582422
856465A213B396   BRIAN             EMRICK                  CO     90008855021
856466A2161931   SAJATA            MOSLEY                  CA     90013376021
8564672385B581   ARZOU             HAIDAR                  NM     35087067238
8564674495B24B   DAVID             PEARSON                 KY     90013947449
856467A6A72B62   SUE               HAMADA                  CO     90015087060
8564695245B183   LAMONT            PALMER                  AR     90008819524
85646A97561928   DAVID             CAMPOS                  CA     90014850975
8564768249154B   CESAR             MATA                    TX     90014786824
8564776685B24B   GRETCHEN          HOOVER MILLES           KY     90013947668
85647A35A8434B   CONNIE            HICKMAN                 SC     90010380350
8564853A791324   TYESHA            FRANKLIN                KS     90014565307
8564881879152B   PETER             WEWERS                  TX     75098238187
85648A41561928   CYNTHIA           CASTRO                  CA     90012520415
85649131A6B871   STACEY            WOOD                    PA     29533601310
8564932A571977   MICHELE           ESTRADA                 CO     90013593205
85649A1A791837   CLYTE             SALLIS                  OK     90014980107
85649A22297B3B   ANDREW            KALAMEN                 CO     90011450222
85649A34576B68   LEONARD           MIRAMONTES              CA     46057140345
8564B328991975   ELIZABETH         ESCOBEDO                NC     90006373289
8564B881541262   DENNIS            MISKEVICS               PA     51027588815
8565164565B27B   SANDECE           ABELL                   KY     68049826456
8565182363B354   ARIANNE           ROMERO                  CO     90009788236
8565187428B154   ANNETTE           HALES                   UT     31077728742
85651983A97138   BRIAN             WILLIAMS                OR     90012679830
8565221226194B   MARIA             CARRASCO                CA     46074162122
8565229679154B   MARIA             RIVERA                  TX     75004242967
856522A555B24B   TROY              BENNING                 KY     68076742055
8565235422B956   MARIA ALEJANDRA   URBINA                  CA     90002513542
85652622597B3B   JEFFREY           WINCHESTER              CO     39004306225
8565264198B164   JENNIFER          MILLER-TRUJILLO         UT     90004536419
85652939172B62   TIMOTHY           ROMERO                  CO     90000199391
85652973172B27   SAUL              FLORES                  CO     90002019731
8565369929154B   NORMA LORENA      ROSALES                 TX     90014786992
8565388A95B24B   SONYA             TIMMONS                 KY     90013818809
8565397462B28B   SHERMIKA          WEBB                    DC     90001679746
8565468249154B   CESAR             MATA                    TX     90014786824
85655142372B33   REBECCA           ROMERO                  CO     90012611423
85655861A81677   JENNIFER          PARENT                  MO     90012818610
8565599239152B   ALEJANDRO         SALAZAR                 TX     90009929923
85656983897B38   CALOS             MARTINEZ                CO     90011129838
85657575476B68   EDWARD            PARRISH JR              CA     90004685754
8565772952B28B   PEDRO             MAGNA                   DC     90001087295
8565777965B24B   CHAD              BEST                    KY     90013947796
8565782137192B   SHERREA           ELLIOTT                 CO     32072048213
85657835A91979   CARMEN            ZUNIGA                  NC     17000888350
8565795882B271   JAMAR             MALDONADO               DC     90002799588
85657A79961928   HERIBERTO         CARRETO                 CA     46036970799
85658714A55945   HEATHER           GUTIERREZ               CA     49056927140
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1291 of 2350


8565875224B22B   JOSE           MIRANDA                    NE     90015267522
85658856676B68   EDWIN          LAGUNA                     CA     90004328566
85659322597B38   PAUL           THOMPSON                   CO     90007293225
85659359A76B68   FERMIN         MAQUEZ                     CA     46092413590
8565987649152B   JAMES          ALDERETE                   TX     75006498764
85659876A5B17B   RAE            MONTGOMERY                 AR     23016048760
856599A4733471   LACY           BOYKIN                     AL     90011699047
8565B29855B581   MICHAEL        MACAVINITA                 NM     90011262985
8565B32274B22B   AMY            JOHNSON                    NE     90008173227
8565B69929154B   NORMA LORENA   ROSALES                    TX     90014786992
8566154989152B   RAY            GALVAN                     TX     90013325498
8566178138B154   SHAELYN        HARVEY                     UT     90014347813
8566179136194B   SABRINA        SEPE                       CA     46087947913
85661A45947897   CLINTON        FOWLER                     GA     14034280459
85662A65471977   MARK           GARCIA                     CO     90001260654
85662A9559152B   SUSANA         HORNER                     TX     90004190955
8566317A554B62   JESSE          JAMES                      VA     90011051705
85663266254B62   PAMELA         MOORE                      DC     90013642662
85664359497B38   ELIZABETH      LOMA                       CO     90013803594
856644A7A91324   ROSALINDA      CEDILLO                    KS     90010094070
8566457849154B   MARIA          QUINTANA                   TX     75006995784
8566499A15B27B   ASHLEY         KLEINHELTER                KY     68049829901
8566539A555971   ALICIA         OSORIO                     CA     49061393905
8566578335B27B   ANDRIA         CRAWFORD                   KY     90007957833
8566764478B168   TRINA          HARDCASTLE                 UT     90014726447
8566781949152B   QUETZEL        OLIVAS                     TX     90010828194
856685A2555945   THYVONG        BIN                        CA     90015165025
8566867464B22B   CRISTINA       THACKER                    IA     90012466746
8566931A754B62   CRYSTAL        KUECKER                    VA     90001653107
856697A6655971   IVAN           SALGADO GARCIA             CA     90000387066
8566B256761928   PATRICIA       KAISER                     CA     90013662567
8566B462291979   JEAN JANICE    SANCHEZ WEIL               NC     90011494622
8566B48A58B163   ELLIOTT        HARRIS                     UT     90003184805
8566B726877537   ABDOULAYE      OUEDRAOGO                  NV     90015147268
85672298997B3B   GLORIA         CHAVEZ GUEVARA             CO     39016612989
8567298219185B   JOYCE          MCDANIEL                   OK     21058809821
85672A6895B24B   TONYA          COTTON                     KY     90002930689
85673457A97B3B   OSCAR          REYEZ                      CO     90012794570
856736A1A91324   ONDINA         CARDONA                    KS     29077906010
8567382A751362   OTIS           HORSLEY                    OH     66094608207
8567423734B22B   TRISA          WARREN                     NE     27029712373
85674AAA693783   GREG           DELONG                     OH     64523820006
8567539A98B163   EVANGELINA     GONZALEZ                   UT     31091343909
85675462776B68   MARCIE         SAAVEDRA                   CA     90005284627
8567564838B136   PATREOCINIO    MARTINEZ                   UT     90002626483
85676492754B62   MADELAINE      CUELLO                     VA     90003964927
856766A7291324   MEGAN          MCMBRIDE                   KS     90011966072
85676846972B33   IMELDA         MIJARES                    CO     33082628469
8567769A472B62   MANUEK         ECHIVESTE                  CO     90014156904
85677784997B38   DAMIAN         POTTER                     CO     90012137849
85677A1338B168   CHANSAMONE     MANIVANH                   UT     90014470133
85677A94171977   LUCIO          VAZQUEZ-REYES              CO     90013320941
85677AA6A9152B   CLAUDY         ANTOINE                    TX     90008290060
85678A2369154B   CECILLIA       NEGRETE                    TX     90014790236
85679A67172B62   FEDERICO       HERNANDEZ                  CO     33090960671
85679A97733471   TERESA         MORRISON                   AL     90015090977
8567B111A76B68   BIDIDIANA      MORALES                    CA     90015281110
8567B589877537   VANESSA        GRANADOS                   NV     43072345898
8567B884991324   QUITA          SCALES                     KS     90013568849
856813A9555971   RAUL           GARCIA                     CA     49084513095
8568154835B183   MICHAEL        YOUNG                      AR     23001245483
856815A6555971   GRISELDA       FLORES                     CA     90006135065
85681743476B68   GERONIMA       JAIMES                     CA     90013257434
85681929A8B154   GAVIN          JONES                      UT     90012789290
85681978872B33   FELIPE         PEREZ                      CO     33040029788
8568259A29154B   JOHN           RETANA                     TX     90011155902
8568269755B183   MELO           OBDULIA                    AR     23037956975
8568276548B154   RICO           CASILLA                    UT     90012827654
8568277A797B3B   NANCY          TORRES GONZALEZ            CO     90014537707
856838A254B22B   MICHELLE       STARK                      NE     27039138025
8568483275B24B   ANDRE          BILLINGSLEA                KY     90013968327
85684A9314B22B   DARIAN         GOODWIN                    NE     27083590931
8568513A94B22B   NATE           GREER                      NE     27072181309
8568566A78B154   CANDACE        MAY                        UT     31053996607
85686181A91324   AUSTEIN        JACKSON                    KS     90010991810
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1292 of 2350


85686A5264B562   THOMAS        GAYLOR                      OK     90014720526
85687129976B68   CARINA        GARCIA                      CA     90011891299
85687256972B33   CANDELARIA    BARRADAS                    CO     90011482569
8568735A891975   ANDRE         BEVERLY                     NC     90013933508
856874A499196B   BONNIE        EDMONDSON                   NC     90010874049
85687A47A5B27B   LINDA         RUSSELL                     KY     68049830470
856895A146198B   TARA          GALVAN                      CA     46062125014
8568986415B24B   JOHN          ABRAMS                      KY     90013948641
85689A22641262   JOE           SPANO                       PA     90009530226
8568B42755B17B   ROSA          CARO                        AR     23062704275
8568B888A91324   JACINTO       VELAZQUEZ-HERNANDEZ         KS     90013568880
8568BA2675B139   CATHERINE     RIDEOUT                     AR     23044670267
8569141959188B   JUDITH        NUNEZ                       OK     90013134195
85691514497B38   BROOKLYNN     PEOWERS                     CO     90015485144
8569171745B27B   CAREY         LAMB                        KY     90009577174
8569181AA51362   JAMES         FRANKLIN                    OH     90009368100
856919A239152B   HECTOR        RODRIGUEZ                   TX     75064549023
8569241A341262   JAMES         LOEBSACK                    PA     90014884103
856931A2391979   ANTWONI       DAVIS                       NC     90011121023
856935A4647822   COLIN         MCFARLAND                   GA     90003025046
85693AA6A9152B   CLAUDY        ANTOINE                     TX     90008290060
85694AA5393771   CHRIS         RESOR                       OH     90013650053
85695477597B38   ANTHONY       SANCHEZ                     CO     39001884775
8569596AA4B22B   BRETT         SPECK                       NE     27051899600
85695AAA897B3B   ARMIDA        HERNANDEZ-MORALES           CO     90010280008
8569678A372B62   IVANA         JOHNSON                     CO     90013327803
8569713895B17B   LASTREASE     LEWIS                       AR     90007761389
8569738425712B   TERRANCE      MORTON                      VA     90005773842
8569747335B27B   DANIEL        WHITTINGHILL                KY     68011754733
85697523A76B68   JOHNNY        SANCHEZ                     CA     90014325230
8569754A591324   LOUIS         MCCONNELL                   KS     90014355405
856982A7172B33   CHRISTINA     CHAPARRO                    CO     90013042071
8569884A855971   CHRISTIAN     NONATO                      CA     49043848408
85699144A8B154   SAIRA         FLORES                      UT     90012771440
85699244A71977   CHRISTOPHER   SMITH                       CO     90004052440
8569935A177537   HUNTER        RUSSELL-WOLFE               NV     90009783501
8569B674377537   MICHELLE      MCCLELLEN                   NV     43067826743
8569B7A1481677   CORRY         WESLEY                      MO     90013627014
8569B96735B17B   KIMBERLY      DICKERSON                   AR     90000329673
856B1278491975   ISAM          IKHREISH                    NC     90013932784
856B1341172B62   JOAN          ESPINOZA                    CO     90013153411
856B1A2A597138   ROBERT        DUNWAY                      OR     90015480205
856B2289191837   SARA          FRENCH                      OK     90007942891
856B264A591979   LUTORIA       MOSLEY                      NC     17021836405
856B278485B581   ROXANNE       GURULE                      NM     35027277848
856B2A5918B163   HUMBERTO      CONTRERAS                   UT     31092070591
856B2A6A54B22B   DENISE        MURTAUGH                    NE     90012790605
856B3165A72B33   SHERIFA       PADILLA                     CO     90010431650
856B3515247897   MONTAGUES     TOLBERT                     GA     90013175152
856B354472B981   CANDACE       ESTEPP                      CA     90007875447
856B355A37B339   ROSIBEL       ESCOBAR                     VA     90011725503
856B35A3193771   KAREN         WARD                        OH     64551455031
856B363919154B   JESUS         AGUILERA                    TX     90014786391
856B3849172B29   DONALD        WILSON                      CO     90007668491
856B393128B168   AMANDA        PALMER                      UT     90013749312
856B3A97754B62   RENATA        KIRK                        VA     81028640977
856B4311381677   WILLIAM       GREER                       MO     29069153113
856B468735B591   REYDECEL      VARELA                      NM     90007136873
856B526699154B   SERGIO        RUBIO                       TX     90010832669
856B5541A41262   LETITIA       SHOFFNER                    PA     51073555410
856B6138A71977   BETTY         SISNEROS                    CO     90012361380
856B6163747897   GREGORY       FAMBLES                     GA     90011281637
856B643699152B   JOHN          RONQUILLO                   TX     90010984369
856B689755B581   KARINA        ALVAREZ                     NM     90013078975
856B8313872B62   DANNETTA      HANCOCK                     CO     33073103138
856B8328977537   ANTHONY       FRYE                        NV     90012113289
856B841428B154   NATASHA       HANDY                       UT     31071084142
856B8462472B33   CARLOS        GARCIA                      CO     90008994624
856B8476872B29   LUIS          GARCIA                      CO     90012294768
856B8676436155   VERONICA      JONES                       TX     73597766764
856B878495B139   ERICA         WILLIAMS                    AR     90006257849
856B883915B24B   JOHN          FRANCIS                     KY     90000908391
856B898475B183   SHERMAN       FLOWERS                     AR     90003219847
856B9171291975   LORI          HERZOG                      NC     90012331712
856B92A8272B62   MARIO         ESPANA                      CO     90009442082
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1293 of 2350


856B9631291324   TERRY               LOOMIS                KS     90013826312
856B972818B154   CHRISTINE           KRONKOW               UT     31044667281
856B993369152B   AMADOR              URANGA                TX     75053419336
856BB37189154B   MARTIN              GOMEZ                 TX     90010613718
856BB941397B38   BRENDA              MOLINAR               CO     90009019413
857114A5254B62   JONATHAN            CARTER                VA     90014334052
8571162337B339   HENRY               CABRERA               VA     81069366233
85711737797B3B   RICHARD             LEE                   CO     90012197377
85712714697B38   ANGEL               MARQUEZ               CO     90010817146
8571344759154B   ALEJANDRA           LUCERO                TX     90013854475
85713469997B3B   HOLLY               GRAVES                CO     39040824699
85713693176B68   TRINO               DELTORIO              CA     90015146931
85713973A61928   CAROLINE            RAMOS                 CA     46010979730
8571493448B154   BRANDI              TURNER                UT     31078199344
8571558895B183   ELISHA              HOUSE                 AR     90012995889
85715996797B3B   DYLAN               DE GRAZIO             CO     90013589967
85716321A2B891   MICHAEL             YOUMANS               ID     42010303210
8571692A776B9B   MARIA               CUEVAS                CA     90002069207
85716963A85856   JESUS               CASTILLO              CA     46031389630
857171AA247897   TIMOTHY             NELSON                GA     90014701002
8571778A471977   RENA                MUTZ                  CO     38025907804
857179A2855945   ELSA                JUAREZ                CA     90014529028
85717A61891979   JAVIER              CARDENAS              NC     90015420618
8571867555B183   SHAVONDA            PETERS                AR     90011156755
8571882474B22B   TOMMIE              NEIGHBORS             IA     90014608247
857188A178B168   DAWN                RIGANTO               UT     31019708017
85719122A97B38   MARISSA             GALLEGOS              CO     90014051220
8571B231681677   BILL                JOHNSON               MO     90008532316
8571B364491837   LINDSAY             SMITTLE               OK     90005763644
8571B369197B3B   SARAH               SMITH                 CO     90013443691
8571B5A4591975   KIERA               HINTON                NC     90014695045
8572121189154B   MARIA DEL ROSARIO   CARRANZA              NM     90011742118
857215A2391979   CIERRA              ALEXANDER             NC     90014125023
85721699A97B38   MARIA               AVILA                 CO     39030256990
8572193AA5B17B   ROBIN               HAMPTON               AR     23025219300
8572229939152B   HERMANN             BOURDETT              TX     75053392993
8572255986194B   ALEX                RAMIREZ               CA     46024685598
85723528A97B3B   LAURIE BETH         DAVID                 CO     90012115280
8572364569154B   FENIX               CALDERON              TX     75073636456
8572432165B581   BRANDON             WIESS                 NM     35005703216
8572454278B168   SARAH               SEAMANS               UT     90014175427
8572479AA93771   HENRY               SALAS                 OH     90007227900
85725531A5B24B   BRAD                ADKINS                KY     68017835310
85725544272B62   RAUL                MARQUEZ               CO     90013305442
85725685272B29   PJ                  GLORIA                CO     90005796852
85725A66172B33   MICHELLE            REINHARDT             CO     33000360661
85726172472B29   TROY                ALLEMAN               CO     90007631724
85727427A5B27B   MATT                GOFF                  KY     90006194270
8572746815B24B   SERINA              KIMBLE                KY     68092624681
8572749745B183   LISA                KIRKLIN               AR     23051034974
85727625576B68   MARK                PARISH                CA     90013396255
85727A85A76B68   ROBERTO             MENDIOLA              CA     90014750850
85728573A72B62   JOSE                GUZMAN                CO     90007505730
85728982997B3B   JONI                WEBSTER               CO     90013819829
8572948829152B   LILY                ESTRADA               TX     90001214882
8572958A35B581   DORITA              GARZA                 NM     90001235803
8572982218B163   YESENIA             NAVARRETE             UT     90004428221
8572B489A41275   CHRIS               CODDINGTON            PA     90013824890
8572B661493771   AMANDA              GRAHAM                OH     90013056614
8572B786A61935   YOLANDA             GRIJALVA              CA     90005137860
8573172A82B271   WILLIAMS            CAYAX                 DC     81011927208
8573236942B891   MATHEW              GALE                  ID     90006893694
8573263416194B   VICTOR              NEVAREZ               CA     46015946341
8573317459152B   DORA                DELGADO               NM     90015141745
857331A756194B   VERONICA            GOMEZ                 CA     46074061075
85734281372B29   GREG                SCHWARTZ              CO     90012102813
8573438A455945   ALEJANDRA           PIMENTEL              CA     90014183804
8573442955B27B   AMBER               D HUGHES              KY     90004164295
8573476318B168   JOHN                MYERS                 UT     90012977631
85734793772B62   RAQUEL              LOMBERA               CO     90003837937
857347A5377537   THOMAS              THORNTON              NV     90011497053
8573564935B581   DIANA               TORRES                NM     90008276493
8573581A785856   ERIC                SCHELDT               CA     46000858107
8573614958B168   KIMBERLY            BAKER                 UT     31079301495
85736A78A41275   DAVID               ALTAMIRANO            PA     90012730780
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1294 of 2350


857373AAA9154B   JOSE         SANCHEZ                      TX     90011313000
85737462972B33   JOHN         JARAMILLO                    CO     90008994629
857378A4577533   LELIE        ALDERSON                     NV     90010138045
85737A56147897   MIRIAM       DEAN                         GA     90009330561
8573821979154B   ELIZABETH    DURAN                        TX     75045222197
857388A879152B   MAYRA        MEZA                         TX     90013158087
8573897875B24B   LEKESHA      WATKINS                      KY     90013949787
85738A73591837   PATRICIA     POWERS                       OK     21072060735
8573981628B154   TAMICE       ALVARADO                     UT     90014638162
8573991149152B   LUIS         CASAS                        TX     90012669114
85739A6AA4B22B   SHANE        EDWARDS                      NE     27085220600
8573B177476B68   OLIVERIO     ESCOBEDO-RUBIO               CA     46047071774
8573B1A756194B   VERONICA     GOMEZ                        CA     46074061075
8573B237791837   ALAN         JIMBOY                       OK     90012702377
8573B432471977   SMITHANN     WRIGHT                       CO     90012884324
8573B753972B33   JOHN         BROOKS                       CO     33071847539
8573B972193771   FRED         SHEDDEN                      OH     64507849721
8574126555B24B   FELICIA      PRESLEY                      KY     90010872655
85741686897B3B   MISTY        LABARBERA                    CO     90012626868
8574171935B183   ZOYTZA       ALAMILLA                     AR     23089797193
85741832172B62   KAREN        BURGOS                       CO     90013338321
85741877272B33   FELIPE       SANCHEZ                      CO     90012758772
85741999197B3B   MISTY        LABARBERA                    CO     90007959991
85741A64847897   HENDERSON    VICTOR                       GA     90015030648
85742121676B68   RICHARD      EVELAND                      CA     90013981216
8574213859154B   RANDALL      DICKERSON                    TX     90014791385
85742316A6194B   VERONICA     FIERROS                      CA     46015953160
8574242245B17B   SHIRLETA     CLEGG                        AR     23010174224
8574297789152B   JEANNIE      EDWARDS                      TX     90014039778
8574299265B24B   HANNAH       MEREDITH                     KY     90013949926
85742AAA891979   NEKO         WILLIAMS                     NC     90009150008
85743464A91837   STEVEN       GARCIA                       OK     90007944640
8574359119154B   ANGELA       BARDALES                     TX     90011155911
8574396894B22B   MEGAN        KELLY                        NE     90013379689
85744733776B68   FERNANDO     PEREZ                        CA     46092757337
8574517459152B   DORA         DELGADO                      NM     90015141745
8574533565B183   GLENDA       ALLBRIGHT                    AR     90014353356
8574563A855971   RUDY         LOPEZ                        CA     90014596308
8574653A771964   MELISSA      YAHNKE                       CO     90006325307
85746A71954B62   CHRIS        WILLIAMS                     VA     90011180719
8574793132B271   SOPHIA       PICKETT                      DC     90004989313
85747A73833698   SHAYNA       LEE                          NC     90012450738
8574861948B168   JEFFREY      BADLEY                       UT     90013756194
8574879A997B38   ELVA         RAMOS                        CO     90010977909
857489A549154B   ANAHIS       CARRASCO                     TX     90010399054
8574935A181677   AUSTIN       RYLAND                       MO     29044813501
8574998614B22B   MARY         EDMONDS                      NE     27031979861
8574B514841262   MICHAEL      LEIBOWITZ                    PA     90014095148
8574BA65691975   WESLEY       PRESTON                      NC     90009210656
8575138A272B33   LARRY        HILLIS                       CO     33092133802
8575145A29154B   EDUARDO      CARRILLO                     TX     75083304502
85751544A72B29   WESTON       THOMAS                       CO     90012435440
85751A1A35B24B   TERESA       VIDALES                      KY     90013950103
857522A9477537   MARY         SEELEY                       NV     43093882094
8575233A893771   ROGER        EUBANK                       OH     90012993308
85752443472B62   IVONNE       AVILA                        CO     90010404434
8575249319154B   JESUS        GURROLA                      TX     90014774931
8575278335B139   KIPLYNN      HARRIS                       AR     90003167833
8575297AA5B183   LATASHA      COVINGTON                    AR     90012269700
85752A7564B22B   LORRAINE     ANDERSON                     NE     90006040756
85753229754B62   CHRISTINE    WILLIAMS                     VA     90011072297
857534AA47B473   NYESHA       WATKINS                      NC     90000984004
85754669754B62   CHRISTY      JOHNSON                      VA     90014756697
857547A3976B68   FARAH        NISAN                        CA     90014137039
85754A5A155945   CESAR        HERNADEZ                     CA     49033180501
85755123672B33   ANA          GARATE CANELL                CO     90009351236
85755489576B68   GILBERT      RAMOS                        CA     90013204895
85755567A55945   MONA         SULLIVAN                     CA     49007635670
85755AA9941262   KAYLA        LIPPS                        PA     90014680099
8575672444B538   TINA         PESIS                        OK     90011387244
85757198A55945   JESSICA      CONTRERAS                    CA     49090001980
85757248597B3B   OSEAS        SANCHEZ                      CO     39036992485
857582A1977537   FRANCISCA    ANDRADE                      NV     90011072019
85758364172B33   EFRAIN       DE LA TORRE                  CO     33058573641
8575854178B163   SHANDI       EASTMAN                      UT     31010105417
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1295 of 2350


85758541972B62   HORTENSIA       ADAME                     CO     33033515419
8575856659154B   LORENA          LOZANO                    TX     75083305665
8575916342B271   ANTHONY         CARTER                    DC     90004291634
8575B355141262   ROBERT          JOHNSON SR                PA     90014893551
8575B59569154B   MARIA           NUNEZ                     TX     90011255956
8575B693A61928   EDWIN EDGARDO   CASTILLO                  CA     90010426930
8575B972561466   CONNIE          FAIRCHILD                 OH     90014119725
8575B99A89132B   JUAN            BARRIENTOS                KS     90006319908
8575B9A352B891   TEWANDA         BASS                      ID     90003059035
8575BA1227B349   JOSUE           TURCIOS                   VA     90003480122
85761A69672B29   MIKE            LUCERO                    CO     90010300696
85761A85A5B17B   MARCUS          BROWN                     AR     90004220850
85761A9675B139   RENAY           DAVIS                     AR     90008890967
85762354454B62   EMMANUEL        BABA                      VA     90008653544
85762456654B62   JOSE            BENITEZ                   VA     90006204566
8576312A297B3B   BRANDI          FERGUSO                   CO     39077971202
8576364715B183   DERRICK         WILBERT                   AR     90014236471
857642A799154B   TOLANDA         HUERTA                    NM     90003692079
85764996872B62   RYAN            KRAMER                    CO     33009579968
8576542395B581   RUSTY           WOOD                      NM     90008204239
8576564715B183   DERRICK         WILBERT                   AR     90014236471
8576572A82B271   WILLIAMS        CAYAX                     DC     81011927208
85766262A97138   AURALIA         TORREZ                    OR     90013062620
85766393654B62   DEDE            LARSEY                    VA     90012863936
8576737925B581   GABRIELA        GAONA-CANALES             NM     35049353792
8576788A491979   ERIC            CHEEK                     NC     17021338804
85767942654B62   BRITTANY        WASHINGTON                VA     90011169426
857683AA19154B   MARIA           SERRANO                   TX     75030643001
857688A2A54B62   JOSE            REYES                     VA     90009048020
85768A1675B183   SHERRY          THOMAS                    AR     23070420167
8576922315B183   MONIKA          WILSON                    AR     90005592231
85769884172B29   PIERRE          SELIATUS                  CO     33068908841
85769A35897B3B   LETICIA         MIRELES                   CO     90007430358
85769A82433698   RICHARD         BROWN                     NC     90012360824
8576B359597B38   SYLVIA          LOPEZ                     CO     90002303595
8576B49319154B   JESUS           GURROLA                   TX     90014774931
8576B75A65B26B   YENI            PEREZ                     KY     90010117506
85771113A72B29   NATIVIDAD       HOOD                      CO     90012361130
857717A4172B33   DILLON          LAMBERT                   CO     90013137041
8577182A854B62   CARL            PERKENS                   VA     90011528208
8577187A872B29   ERIC            MONTOYA                   CO     90007668708
8577228A555971   ELIZABETH       RODRIGUEZ                 CA     90012272805
85772A61681677   MERDERA         WALKER                    MO     90013140616
8577355428B163   TRACY           MCCALL                    UT     90004825542
85775536872B33   JOHNATHAN       EUELL                     CO     90010655368
85776772A55945   BLONG           VANG                      CA     90005187720
8577711637B339   IDA             RANKIN                    VA     90001381163
85777179A97B3B   MICHELLE        HARRIS                    CO     90011721790
8577729A491979   DIONNE          PETERSON                  NC     90012042904
8577741918B154   BRIAN           SONDRUP                   UT     31026824191
85778384676B68   TANYA           SCHULZ                    CA     90010233846
85778417A4B22B   RICHARD         ORRIS                     NE     90006704170
8577885777B356   PETER           BASTIEN                   VA     90000408577
8577899917192B   PAULINE         DONOVAN                   CO     32019499991
85778A1249152B   FERNANDO        FLORES                    TX     90003320124
85778A3A197138   JULIA           CHAVEZ                    OR     90012680301
8577937A672B33   TAMMY           LANI                      CO     33070103706
8577952A591975   ALICI           PENDESETON                NC     90012675205
85779A7355B24B   DIANA           AQUINO                    KY     90013950735
8577B38339152B   MILDRED         VENEGAS                   NM     75091753833
8577B3AA92B252   ELZA            MAERZ                     VA     90006183009
8577B442454B62   WILLIAM         LLOYD                     VA     90011234424
8577B84A75B183   CLYDE           SANDERS                   AR     90005658407
8577BA9488B161   ALYSSA          ZAMORA                    UT     90012270948
8578113A55B581   STEVEN          WALKER                    NM     35083991305
85781716272B33   VIRGINIA        ORDONEZ                   CO     33070997162
85781866372B62   LIDIA           LOPEZ                     CO     90009118663
857818A5161928   LYNETTE         AGUIRRE                   CA     46041318051
857818A789154B   CYNTHIA         CAMACHO                   TX     90000158078
85781A7A397B38   ADRIAN          GARCIA                    CO     39030910703
85782853776B68   GEORGINA        MALDONADO                 CA     90011588537
85782A99755971   ROBERT          REDGATE                   CA     49066370997
8578325735B581   JUDY            MARTINEZ                  NM     90005292573
85783A15861994   KAYLEE          MURRAY                    CA     90007550158
85783A43633698   WHITNEY         LEA                       NC     90014890436
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1296 of 2350


85784338A71977   JOHN         WYGLE                        CO     90015423380
8578546A191324   MYRA         SIMS                         KS     90009294601
8578575895B581   ASHELY       WICKHAM                      NM     90011567589
8578754719152B   ANN          TAPIA                        TX     90012135471
85787A7A841262   TRACY        CLIFFORD-GREEN               PA     51000030708
85788397772B33   ESPERANZA    CHAVEZ                       CO     90012923977
8578859745B27B   MELISSA      LEWIS                        KY     68052925974
8578871182B891   MELLIE       MUNIZ                        ID     90006947118
85788717772B33   REYES        ISRAEL                       CO     90010427177
85789245554B62   ELVIN        JENSEN                       VA     90009522455
857896A4741262   EDWARD       MILLER                       PA     90015206047
8578B14845B24B   JAMES        UNDERWOOD                    KY     90013931484
8578B761655971   DORA         RESENDEZ                     CA     90006387616
8578B9A419152B   LORENA       MEZA                         TX     75011029041
8578B9AA581677   NICK         SKILLMAN                     MO     90014959005
85791144997B3B   JUAQIN       TORRES                       CO     90013961449
8579131178B168   DONNA        BENTLEY                      UT     90005283117
85791376672B29   RUDY         GERINGER                     CO     90014053766
8579199175B581   JULIO        SOLORZANO                    NM     90006859917
8579244245B581   PONCE        ORDONEZ                      NM     90012264424
8579398A721824   GINEW        DUNKLEY                      MN     90012399807
85793A3A472B33   CHRIS        MAREZ                        CO     90009440304
857952AAA31439   T            HODGE                        MO     90005722000
85795A6449154B   MELISSA      GIRON                        TX     90000340644
85795A95372B33   ULISES       SAMARO                       CO     90009430953
8579679773B34B   RACHEL       GRANT                        CO     90010047977
85796A6914B221   DENISE       WIECZOREK                    NE     27089940691
8579753A88B154   JASON        KRAMER                       UT     90006255308
85797AA8593763   ROBERT       COST                         OH     90002060085
8579832852B28B   APRIL        FREEMAN                      DC     90001203285
8579897835B24B   RITA         WEBB                         KY     90015049783
85798A55576B68   SARAH        HEATHMAN                     CA     46083770555
85799297972B29   ANTONIO      VELADOR                      CO     33030832979
85799338297B3B   JERRY        CURTIS                       CO     90013383382
85799491372B33   RUBEN        TOQUINTO B                   CO     33008614913
857995A858B154   CHELSIE      LEE                          UT     90014245085
85799834A5B183   MODENE       GILLERSON                    AR     90013378340
857B115A397B3B   JESSICA      BOCANEGRA                    CO     90001021503
857B148194B974   JUSTON       WESTBROOK                    TX     90014094819
857B185A172B62   SHELLY       BECK                         CO     33055758501
857B267789152B   GALLEGOS     RUBY                         TX     75045296778
857B2697871977   KRYSTAL      MILLER                       CO     38003756978
857B289555B24B   CAROL        WRIGHT                       KY     68010188955
857B3164291975   KETH         GRAHAM                       NC     17000631642
857B376AA61928   SAEED        MOHAMAD BASHIR               CA     90014107600
857B429A991324   RAMIRO       LINARES                      KS     90012112909
857B442158B163   SUADA        CERIC                        UT     90001834215
857B46A4991837   JAMES        PHILLIPS                     OK     90005876049
857B5329A81677   CLARE        ROBERTS                      MO     90012223290
857B5A7A677537   JAMES        STEMPECK                     NV     90012020706
857B63A8391975   PHILLIP      STEPHENS                     NC     90004193083
857B651775B183   GEORIGA      THOMAS                       AR     90014175177
857B67A6A72B62   SUE          HAMADA                       CO     90015087060
857B6A42276B68   DAVID        RUSELL JR                    CA     46043990422
857B7215633698   MONISHER     ALLRED                       NC     90014212156
857B733665B581   JOSHUA       STEVENS                      NM     90014243366
857B7445377537   MICHAEL      LABRIE                       NV     90012194453
857B747748B168   CAMILLE      NIESER                       UT     90013784774
857B762555B183   PAYGO        IVR ACTIVATION               AR     90011426255
857B7832641275   KIMBERLY     STRAWN                       PA     90014638326
857B7A42276B68   DAVID        RUSELL JR                    CA     46043990422
857B7A56457126   ANGEL        SOLORZANO                    VA     90001020564
857B855A772B29   JACQUELYN    MADRID                       CO     90013495507
857B8568A9154B   AMESQUITA    GUADALUPE                    TX     90011155680
857B8712371977   RAEANN       SAPEDA                       CO     90012317123
857B8772197B38   JOSHUA       ROCKE                        CO     90006407721
857B8794581677   EDITH        HERNANDEZ                    MO     90013987945
857B87A2355971   IVAN         HERRERA                      CA     90000897023
857B8973A5B17B   ANDREA       LEWIS                        AR     90011199730
857B9218A2B28B   LAKEYA       HOLLAND                      DC     90010132180
857B9244A77537   TOMAS        MORAN                        NV     43089402440
857B946967192B   JENNIFER     MEDINA                       CO     32070174696
857B9498872B33   TRACY        ROGERS                       CO     90013224988
857B9986391837   JERRY        LUNSINGER                    OK     90003069863
857B9A7135B581   ANA          TREJOGARCIA                  NM     90014450713
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1297 of 2350


857BB514581677   CATHERINE    HEWITT                       MO     29095285145
857BB5A832B271   TRACY        CLEMENS                      DC     90003555083
857BB627372B33   ESTHER       SILVAR ORTIZ                 CO     90005816273
857BB81A88B154   CHRISTIAN    THOMAS                       UT     90012528108
85811257A91979   FRANK        ROPER                        NC     90001332570
8581136A29154B   BERNABE      GONZALEZ                     TX     75055853602
8581215222B891   OMAR         CASIANO                      ID     90006951522
8581264A955945   AIOTEST1     DONOTTOUCH                   CA     90015116409
85813235897B3B   EVA          MENDOZA TOLEDO               CO     39043942358
8581334599154B   GABRIELA     DIAZ                         TX     90014693459
8581338319152B   MIGUEL       GUARDADO                     TX     90012373831
85813A7933B172   JULIO        GUTIRREZ                     DC     90012210793
85813A7A447822   MARIA        DOMINGUEZ                    GA     90006960704
85813AA5A55971   DANNY        GUTIERREZ                    CA     90005350050
8581426636194B   MARY         THANPIENY                    CA     90000222663
8581434599154B   GABRIELA     DIAZ                         TX     90014693459
8581437A54B22B   TRAVIS       RUSH                         NE     90008153705
858143A5172B29   MAXXX        DURAN                        CO     33057333051
8581474A397B38   PAULINE      DOMINQUEZ                    CO     39017527403
8581478265B581   EVELYN       MARQUEZ                      NM     90012517826
85814A7933B172   JULIO        GUTIRREZ                     DC     90012210793
85815378176B68   TERRY        HENDERSON                    CA     90012633781
858154A9447897   IDA          CUMMINGS                     GA     90014774094
8581659993163B   JULIE        SCOTT                        KS     90013485999
85817217554B62   DESTIN       KIMBROUGH                    VA     90013002175
858172A774B22B   DIANA        MONTELONGO                   NE     90002772077
8581772A255971   MARIA        ARZATE                       CA     49029387202
85818397976B68   IRMA         SANDOVAL                     CA     46059123979
8581851A27B445   ANTHONY      SIMON                        NC     90013915102
8581897749152B   ARLENE       LOYA                         TX     90004249774
8581928769152B   DAVID        RUELAS                       TX     90008502876
8581945685B27B   CHARLES      OSBORNE                      KY     68068654568
8581947975B581   AMBER        MONTOYA                      NM     90009434797
8581B145633698   LAMYRE       HARRINGTON                   NC     90011321456
8581B164351362   PATRICIA     SMITH                        OH     66072971643
8581B68A89154B   ESTER        GONZALEZ                     TX     90010616808
8581B965833B33   CARL         STRAWN                       OH     90015379658
8582131A655945   EMYROSE      MARTINEZ                     CA     90014163106
858213A4A55971   ERMINA       THOMAS                       CA     90014673040
8582161944B556   MARICELA     LARA                         OK     90006426194
8582172528B154   AMBER        WENDLER                      UT     90010357252
85821742476B68   MYLON        KOX                          CA     90012767424
85821829372B62   KEY          NAVY                         CO     33060678293
8582271A38B154   MICHELE      BEAZER                       UT     31096217103
858227A567B485   CRUZ         CORADO                       NC     90012457056
85822A6316194B   PAKI         CHENELO                      CA     90008290631
8582414A277537   JASON        BELLEFEUILLE                 NV     90004881402
8582415275B24B   LAWRENCE     GOODSON                      KY     90013951527
8582464819152B   PAUL         SCHAEFFER                    TX     90013446481
85824955376B68   JOHN         BROCK                        CA     90006039553
85824956A91324   ANGELINA     MEYER                        KS     90009349560
8582512528B154   DEBORAH      ESTRADA                      UT     90010521252
85825248A9152B   ALARCON      ADAM                         TX     90006562480
85826566897B3B   ISRAEL       HERNANDEZ                    CO     90002455668
8582698468B168   MARIA        GARCIA                       UT     90012169846
85827422172B62   STEPHANIE    HAYES                        CO     90013324221
85827A5165B581   ALEJANDRA    CABALLERO PEDROZA            NM     90013000516
8582812359152B   ALFRED       FLORES                       TX     75053351235
8582871AA9154B   ABELINO      ROMERO                       TX     75091457100
8582984A397B3B   MICHELLE     RAMOS                        CO     90012968403
85829A19297B38   KENNY        LEWIN                        CO     39073960192
8582B12528B154   DEBORAH      ESTRADA                      UT     90010521252
8582B427576B68   SHERRY       PONDER                       CA     90013844275
8582B622597B3B   JEFFREY      WINCHESTER                   CO     39004306225
8582B64A793771   WANDA        THOMAS                       OH     90014346407
8583129784B22B   BIJAY        TAMANG                       NE     90015342978
85831569A9152B   VERONICA     GUZMAN                       TX     90009195690
8583174428B829   CARMELO      VERGARA                      HI     90015207442
8583193456194B   CARMEN       VELAZCO                      CA     90000659345
8583195718B163   JACOB        MANZANARES                   UT     90004429571
8583299A572B33   JOSE         MARQUEZ                      CO     90015159905
85833528A6194B   BRENDA       PALMA                        CA     46065845280
858335A689152B   GERMAN       NUNEZ                        TX     90006965068
858341A4281677   ELIZABETH    SIEVERS                      MO     90012011042
8583426AA9152B   BRISETTE     RIVERA                       TX     90013032600
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1298 of 2350


85834769672B62   ELIZABETH    SANCHEZ                      CO     33090717696
85834A87191553   DANNY        ESCOBAR                      TX     75087630871
8583514A971977   LISA         BENAVIDEZ                    CO     38067321409
8583562538B154   ISAAC        KAIGHN                       UT     90015126253
8583659695B581   DAJOUR       BENSON                       NM     90012675969
858367A585B27B   DARIUS       HUTCHERSON                   KY     90009277058
8583738965B139   DURITA       GLENN                        AR     90013983896
85837695A81677   CLAY         HANNA                        MO     90009556950
85838723A93771   ASHLEY       JOHNSON                      OH     90014447230
8583929269154B   LIZA         MITCHELL                     TX     90014792926
85839617A91975   JOEANN       KELLER                       NC     90013936170
8583987217B464   JACKIE       MEJIA                        NC     90003588721
8583B245355971   ROBERT       HERNANDEZ                    CA     90014682453
8583B27186B248   JUSTIN       JULIANO                      AZ     90015132718
8583B431871977   PAULA        GARCIA                       CO     90010774318
8583B678572B29   EDUARDO      FONT                         CO     90014846785
85841653176B68   LEANN        ROBBINS                      CA     46024166531
8584169A684325   ELVIN F      WRIGHT                       SC     14571166906
85841A85597B38   FERNANDO     CHUNCHUVAC                   CO     90013560855
8584269A684325   ELVIN F      WRIGHT                       SC     14571166906
85842A47691837   LINDSAY      SMITTLE                      OK     90005830476
85842AA3971977   TANISHA      STEVENS                      CO     38002990039
85843931772B33   LUIS         DE LA TORRE MARTINEZ         CO     33018679317
85844274397B38   JOSE         HERRERA                      CO     90014842743
85844693A41275   DANIEL       DELSIGNORE                   PA     51000796930
8584487A877537   IRMA         MORA                         NV     43047278708
85844A29247897   REGINA       ELIOTT                       GA     14062710292
8584589635B183   EARL         RANCIFER                     AR     90012988963
85846325572B62   DAMBER       GURUNG                       CO     90010293255
85846946A91975   CANDANCE     WATSTON                      NC     90011489460
8584699715B24B   DONNA        SANDERS                      KY     90014799971
85848286397B3B   HOPE         JOHNSON                      CO     90012552863
8584846618B168   TOMMY        LOBATO                       UT     90006014661
85848587576B68   CORY         PRICE                        CA     46040595875
858486AA25B17B   ALEX         MARTINEZ                     AR     23039466002
8584881395B24B   HELENE       MCCORMICK                    KY     90013968139
858493A485B581   GINO         TRUJILLO                     NM     90014513048
85849488A91975   SHANTEL      JOHNSON                      NC     90004254880
858496AA855971   ALEJANDRO    MENDEZ                       CA     49055666008
8584B28932B271   DOMNINQUE    SAUNDERS                     DC     90002982893
8584B29897192B   VANESSA      PETERSON                     CO     32058022989
8584B33216194B   EVA          AUSTRIA                      CA     90005803321
8584B591797B38   EFRAIN       SOTO                         CO     90013105917
8584B814472B62   TERESA       JOHNSTON                     CO     33078508144
8584B93975B183   CARLA        STRIPLIN                     AR     23029969397
8584BA12891979   QUETTA       LLOYD                        NC     90008810128
85851742A9152B   ALEJANDRO    ZAVALA                       TX     90004257420
8585213AA81677   CARL         MORRIS                       MO     90013391300
85852224197B38   JUDY         BERK                         CO     90012992241
8585238A48B168   DOUGLAS      PARKS                        UT     90013863804
858534A1A81527   NOEL         ALEXANDER                    IL     90010474010
858536A5471977   MARGARET     EDWARDS                      CO     38000736054
85853729A55945   HOLLY        JOHNSON                      CA     90001937290
8585388385B183   ANDREA       DOLPHIN                      AR     90013318838
8585468A347897   VASHAWN      RUTLAND                      GA     14091896803
85854739297B38   ELIZABETH    TIPTON                       CO     90012227392
85854A4A45B27B   EBONY        CALLOWAY                     KY     68096590404
85854A67671977   AUBREY       WHITE                        CO     90014490676
85855A32991324   STEPHAN      HOLCOMB                      KS     90015090329
8585652785B581   RICHARD      RASCON                       NM     90015035278
85857175A33698   TYRESE       PAYNE                        NC     90004941750
8585771418B168   DIRK         SMITH                        UT     31091937141
8585885A276B68   TJ           FLOYD                        CA     90011358502
85858A7669152B   PAULA        MONCAYO                      TX     90002320766
85858A94791975   JOSE         PEREZ                        NC     17086640947
8585967249154B   FERNANDO     JAUREGUI                     TX     90011156724
8585B16A15B581   HADIJA       IBRAHIM                      NM     90013021601
8585B391891324   JENNIFER     BUMM                         KS     90011293918
8585B48144B22B   HAMBY        STEVIE                       NE     90013264814
8585B748A9152B   BERENICE     OLIVAS                       TX     90012037480
8586131788B154   JUDITH       MANUEL                       UT     31047053178
85862891772B62   EZEQUIEL     SOTO                         CO     90012678917
85862AA757B635   CIERA        ROBERSON                     GA     90005660075
8586343855B581   JORGE        PORTILLO                     NM     35055364385
8586353A891979   EFREM        GANDY                        NC     90011805308
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1299 of 2350


85863824397B3B   GAVIN        FRIES                        CO     90011088243
858639A3391979   SHERRI       RICHARDSON                   NC     90010339033
858644A9633698   BRITTANY     HARRIS                       NC     90009154096
8586451869154B   ARIAS        ROXANNE                      TX     90008395186
858655A554B22B   WALTER       ARAUJO                       NE     90011625055
8586592A854B62   MARIA        MORALES                      VA     90013679208
85865A6A655945   RICHCHARD    LOWE                         CA     90014590606
858665A3191975   THADENE      PEACE                        NC     90014505031
85866A18291979   DONCHETTIA   WOOLARD                      NC     90014370182
85866A28533698   KEVIN        TURNER                       NC     90011490285
85866AA6497B3B   HENRY        ESPINOZA                     CO     90012740064
8586725619154B   ROSE MARY    CISNEROS                     TX     90004622561
8586826A776B68   MIRLANY      MONTUFAR                     CA     90013302607
858683AAA5B24B   NIKKI        FORD                         KY     90013953000
8586862A554B62   LATESHA      LUCAS                        VA     90014766205
85869A41676B68   PATRICIA     MARTINEZ                     CA     46052830416
85869A87154B62   SASHA        CINTRON                      VA     90002240871
8586B356581677   ANTHONY      EMANUELE                     MO     29086643565
8586B696354B62   CHRISHAD     CLARK                        VA     90013136963
8586B766951336   ANN          ROWE                         OH     90001877669
8586B7A5A2B271   FREWEINI     SEBHATU                      DC     81071137050
8586B825155971   CLAUDIA      VALDEZ                       CA     90014678251
8586BA55991837   ANGEL        TACKETT                      OK     90013650559
85871322672B29   MICHAEL      GUTIERREZ                    CO     90011993226
858714A5754B62   DANNY        THIEBOLT                     VA     90013124057
85872591172B33   JOSE         RODRIGUEZ                    CO     90012445911
8587268445B581   NOE          GAMEZ                        NM     90009446844
8587274AA72B29   PFISTERER    DOMINIC JOSEPH               CO     90010107400
858743A8272B62   COURTNEY     RILEY                        CO     33053353082
85874963872B29   VERONICA     GONZALEZ                     CO     33065899638
85874A67A61928   EARL         HALGREEN                     CA     46094100670
8587535149154B   CRISTINA     ARMENDARIZ                   TX     75017953514
8587549A38B168   RYAN         BROWN                        UT     90014604903
85875512A72B62   MARIA        BARRAGA                      CO     90005355120
8587574224B22B   ROBERTO      MEJIA                        NE     27090597422
8587591A555971   LETICIA      MARTINEZ                     CA     90010449105
8587662A993771   MONIQUE      LOWE                         OH     64581736209
85876716872B33   APOLINAR     GONZALEZ                     CO     90007597168
85877745454B62   PATRICK      STEPHENS                     VA     90013307454
8587775153B374   KIMBERLY     LYON                         CO     33000197515
85877952A54B62   PATRICK      STEPHENS                     VA     90014379520
8587852814B22B   JANEL        LEWIS                        NE     90012765281
85878A12371977   BRANDIE      BACA                         CO     90013910123
85878A38672B33   GABRIELA     ROSALES                      CO     90004510386
85878A5632B881   GARY         SCHULTZE                     ID     41032590563
8587917149152B   ANA          CARVANTES                    NM     75012431714
8587B146655945   ANTHONY      ALANIZ                       CA     49083461466
8587B944481677   LASHAYLA     COLBERT                      MO     90005469444
8587B96619154B   JORGE LUIS   ACOSTA                       TX     75026009661
8587BA24197138   JUAN         CHAVEZ                       OR     44082150241
8588135A441275   AUNTIKO      COOK                         PA     90013253504
8588194635B143   ELRIA B      HOOKS                        AR     23081449463
8588218218B168   GARY         BOYDEN                       UT     90013331821
8588229965B581   GLORIA       LEO                          NM     90008342996
8588299139154B   JORGE        SALINAS                      TX     75070429913
858842A598B168   CECILIA      RODRIGUEZ                    UT     90014562059
8588434825B581   ANNETTE      BORUNDA                      NM     35032973482
8588457258B847   JOSE         MERCADO                      HI     90014205725
858846A9272B62   ALBERT       GUZMAN                       CO     90007346092
85884A7375B183   DEANTAWNIC   CHISM                        AR     90005220737
85885596897B38   LUCERO       CISNEROS                     CO     90013935968
8588587149154B   PRISMA       SUAREZ                       TX     90002838714
8588597348B189   CRYSTAL      VALDEZ                       UT     90011629734
85885A17841275   JAMES        SCARBROUGH                   PA     90012190178
85886A95972B29   MIKE         STRICKLAND                   CO     90013520959
8588868A391242   KIAJUANA     GAINES                       GA     14533456803
858894AA176B68   ROY          MOSES                        CA     90001834001
85889571A6198B   JYRONE       HIGHTOWER                    CA     90008385710
8588968639152B   JOHN         HERNANDEZ                    TX     90010186863
8588974618B163   TARA         EINERSON                     UT     31047487461
858897A515B183   TONYA        SMITH                        AR     23081497051
8588B2A965B24B   DEMETRIUS    RIVERS                       KY     68083442096
8588B354577537   MARIA        TORRERO                      NV     90014323545
8588B557955945   ALFREDO      DIMAS                        CA     90013725579
8588B726A54B49   MIGUEL       MEJIA                        VA     90008657260
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1300 of 2350


8589132424B22B   AMBER        MIDDLETON                    NE     90015153242
858914A3891324   IGNACIO      VILLEDA                      KS     90013524038
8589163278B154   MARIA        RODRIGUEZ                    UT     90015126327
8589168824B22B   HOLLY        MIDDLETON                    NE     27027526882
858919A3555971   JESSICA      PIMINTEL                     CA     90014679035
85891A11671977   LUCY         ROBINSON                     CO     38009130116
85892357A77537   YOCELIN      HARO                         NV     90011223570
858924A9372B29   NICHOLE      PEREZ                        CO     33018224093
85893579172B33   ADOLFO       LANDEROS-VILLA               CO     90015225791
85894472797B3B   DANIEL       RENZ                         CO     90012314727
8589473169152B   ROBERT       LOPEZ                        TX     90003557316
8589476615B27B   ALPHONSE     MESINOR                      KY     90006957661
858955A6691975   FORTINO      AMBROS                       NC     90013935066
85896572772B29   DAVID        HARRIS                       CO     33042385727
8589737A897B38   NASH         SENA                         CO     39089233708
8589744325B183   LORESA       HARRIS                       AR     23017284432
858977A259152B   ABRAHAM      HERNANDEZ                    TX     90012897025
858978AA172B33   FAMILY       TREE                         CO     33023248001
858987A4A91242   SHAMONICA    MAXWELL                      GA     90005127040
85898A44A9152B   RUBY         VALVERDE                     TX     90013560440
858991A8961928   FRANCYS      VALDEZ                       CA     90012461089
8589953A86194B   LATONYA      JONES                        CA     46060615308
85899644954B62   AYEESITA     CHARIEY                      VA     90010486449
85899A46455971   GAVINO       SOLIS                        CA     90004270464
8589B658791979   CANDIE       MORRIS                       NC     90004976587
858B122929154B   LUIS         MEZA                         TX     90014792292
858B1548391975   MIGUEL       ROJAS                        NC     90010925483
858B17A5141262   MARK         MCGINTY                      PA     51056427051
858B288515B24B   DAMON        SIMPSON                      KY     68074008851
858B356A85B139   GLO          BELL                         AR     23086585608
858B3A93961963   CYNTHIA      MARTINEZ                     CA     90010370939
858B4556655971   JOSEPH       GARCIA                       CA     90012895566
858B4723947897   CHARLES      LOCKHART JR                  GA     14071867239
858B4755297B38   MARK         HENDERSON                    CO     39085177552
858B4973991979   ANGEL        SWINE                        NC     90009379739
858B516824B22B   SERGIO       BATRES                       NE     90001811682
858B5634847822   DECHANTRES   DEES                         OH     90010146348
858B61A978B168   JOSEPH       HORGER                       UT     90009041097
858B634599154B   GABRIELA     DIAZ                         TX     90014693459
858B6443A91975   JENI         RIVERA                       NC     90008674430
858B66AAA85856   EDUARDO      GRANADOS                     CA     90008346000
858B8197193771   PAULETT      COMBS                        OH     64553431971
858B821924432B   LISA         CORNELIOUS                   VA     90012722192
858B8249572B62   DESPINA      ANDRIANAKOS                  CO     33021622495
858B8379A51362   CHRISTINE    POWELL                       OH     66076223790
858B848A65B17B   TAMARA       THOMAS                       AR     23083714806
858B8711677537   CLAUDIA      GARCIA                       NV     90014437116
858B927365B581   BRANDON      CLOUD JR                     NM     90005292736
858B95A7777537   PEDRO        MARTINEZ                     NV     90012345077
858B9779772B62   DANIEL       ORTIZ                        CO     90011817797
858BB548697B3B   HULBERTO     RAMIREZ-VILLALOBOS           CO     39018225486
8591146189154B   LUCERO       GOMEZ MEDRANO                TX     90011364618
8591199755B183   CHRIS        WALKER                       AR     90004759975
85912158472B62   MIGUEL       ORTEGA                       CO     90013411584
85912411572B29   ANA          MIJARES                      CO     33096344115
8591312AA5B17B   LEE          TRAYLOR                      AR     23021161200
859133A718B168   GRISELDA     RODRIGUEZ                    UT     31075033071
8591428143B153   WILLIAM      HENRY MACCOY                 VA     90001002814
8591476815B139   DEMETRIA     KEELS                        AR     23054607681
85915617A91975   JOEANN       KELLER                       NC     90013936170
8591564389154B   VICTOR       OLGUIN                       TX     90013286438
8591565119152B   CRYSTAL      ORTEGA                       TX     90014716511
8591584112B94B   ARTURO       ROJAS                        CA     90007698411
859158A7481677   DEBORAH      LOVE                         MO     90013988074
8591687A55B24B   ALICIA       SEGO                         KY     90013968705
859169A3441262   SHARON       KENNEY                       PA     51087219034
85916AA725136B   AUTUMN       CRAWFORD                     OH     90007720072
8591732144B22B   KENDRICK     CHAMPLIN                     NE     90012993214
85917779872B29   JOAB         MARTINEZ                     CO     90010637798
8591779545B24B   AMBER        PIKE                         KY     90015087954
85917A54841275   BEAMAN       TIANNA                       PA     51015160548
859183A965B24B   JUAN         VAZQUEZ                      KY     90013973096
85918A37547897   DERRICK      DOWL                         GA     90015250375
8591944A991975   ROXANA       GRANADOS                     NC     90009804409
8591B42415593B   ALBERTYO     SANDOVAL                     CA     90011004241
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1301 of 2350


8591B46569154B   LOURDES      HERNANDEZ                    NM     75041714656
8591B728897B3B   LINDSEY      BONHAM                       CO     90000117288
8592132745B24B   KENNETH      LANHAM                       KY     90015033274
8592186382B28B   DANIELLE     HARRINGTON                   DC     90011758638
8592262644B22B   LEON         SPENCER                      NE     90013906264
8592286669154B   ANGIE        LARA                         TX     75052058666
8592293175B24B   GERALD       COMBS                        KY     90013969317
85922998697B3B   DANNY        MORGAN                       CO     90013819986
85923726472B62   ALVARO       CERVANTES                    CO     90006057264
8592376849154B   ALMA         MARTINEZ                     TX     75035337684
8592393395B24B   GONEALO      CASTELLAHOS                  KY     90013969339
85923A53997B38   RAFAEL       VALENZUELA                   CO     39064530539
8592443339154B   JESSICA      RODRIGUEZ                    TX     90010474333
85924583197B3B   MELANIE      HOSHIKO                      CO     39073095831
8592499689152B   UNICA        DIAZ                         TX     90004339968
85925125A4B22B   VERONICA     JOBB                         NE     90013241250
85925369A61928   KEITH        WRIGHT                       CA     90013513690
8592551769154B   SEBASTIAN    MARTINEZ                     TX     90014515176
85925A19572B33   NATICIA      MENDOZA                      CO     90013370195
85925A37547897   DERRICK      DOWL                         GA     90015250375
85926232772B29   CRISTAL      CLARK                        CO     33007512327
8592646719154B   MARIE        VICTORIA                     TX     90014794671
8592778875B24B   PAMELA       SAVAGE                       KY     68075217887
85927845972B29   AUTUMN       BOYER                        CO     90011928459
85927926A9154B   ELIZABETH    LOONEY                       TX     90012429260
85927A5399152B   MARIA        RAMIREZ                      TX     90012440539
8592876519154B   ANNETTE      DUCHENE                      TX     90011157651
85928A4A25B24B   TANYA        KING                         KY     90011350402
85929579A72B62   JOHN         CAVENDER                     CO     90011025790
8592B559855971   SAL          LLANES                       CA     90012795598
8592B87699154B   GLORIA       ESTRADA                      TX     90012938769
8592B97A277537   DIANA        RAMIREZ                      NV     43028719702
8592B9A3872428   JANET        BROWN                        PA     90012069038
8592BA87591324   MELVIN       AGUILAR                      KS     29018110875
85931124254B62   JOHNNY       VIRGIL                       VA     90014231242
85932561A97B3B   KULDEEP      BHATTI                       CO     90003125610
8593515865B183   SAGRARIA     CASTELLANOS                  AR     90002291586
8593663A254B62   MARIA        ORELLANA                     VA     90001126302
85936697897B38   PAUL         MACDOUGALL                   CO     39076186978
8593697234B22B   SARAH        FIBICH                       NE     27079909723
85936A6145B24B   SHANNON      PERRY                        KY     90013970614
85936A76371977   SHANNON      ALVIDREZ                     CO     90007730763
85936A83591979   FREDDIE      COLE                         NC     90008200835
85937664972B83   BERNAME      TALAMANTES                   CO     90009426649
85937A14385856   JESUS        BELMONT                      CA     46030550143
859381A8A71977   JERRY        STOGDELL                     CO     90013611080
85938716754B62   IVAN         MUNOZ                        VA     90014857167
8593948819154B   SHANE        MCMHAN                       TX     90014794881
8593B217676B68   LAURA        CALZADA                      CA     90013792176
8593B2AAA61928   YOLANDA      CANSECO                      CA     46060562000
8593B84A451332   EBONY        MURRAY                       OH     90013328404
8593B976372B33   SALINA       ARCHULETA                    CO     90013069763
8593BA39155971   ARTHUR       SILVA                        CA     90012960391
85941641A31454   JEFFERY      HARDGES                      MO     90007386410
85941A81891837   PATRIAL      YARBROUGH                    OK     90005270818
85942187597B98   TIFFANY      MIRAMONTE                    CO     90011901875
8594222218B168   SCOTT        SHEPHERD                     UT     90014562221
85942853297B38   BANUELOS     ABIGAIL                      CO     90011378532
85942983476B68   PABLO        GOZALEZ                      CA     90014919834
85942A46272B33   STACY        CORSENTINO                   CO     90006120462
85942A84893771   RANDY        DESRUISSEAU                  OH     64586680848
85943726272B62   RENO         ROBINSON                     CO     33025187262
8594416215B24B   DARNELL      TAYLOR                       KY     90005351621
859444A9872B33   ASHLEY A     LEAKS                        CO     90010984098
8594459522B236   JAMES        WILKES                       DC     90002475952
859446A518B154   BRENDA       ROBINSON                     UT     90013356051
859448A6397B3B   GERALDINE    SEBRING                      CO     90015078063
85944A73993771   RHONDA       BRAGG                        OH     90011100739
8594533A772B62   BRYAN        MARTINEZ                     CO     90014263307
8594556879154B   JOHN         JAMES II                     TX     75048375687
859456A4772B62   PATRICK      ULIBARRI                     CO     90012846047
8594672289152B   RUBY         QUARTERMANE                  TX     90013797228
8594677349154B   ORLANDO      MARTINEZ                     TX     90011157734
85946922297B38   YADIRA       MARTINEZ                     CO     39084999222
85946A36172B33   FRANCISCO    PAYAN                        CO     33009650361
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1302 of 2350


85947265A8B168   MICHAEL      TRICE                        UT     90011342650
8594796A455971   ROBBIE       MATLOCK                      CA     90014769604
85947A69691979   BRITTANY     WILLIAMS                     NC     90008400696
8594847349152B   JUAN         RUBIO                        TX     90006694734
8594861A872B62   CHANELL      SIMMONS                      CO     90013536108
85948711A76B68   PETTER       MORRIS                       CA     90011767110
8594929429154B   MARIA        CADENA                       TX     90014772942
85949417472B33   BRIAN        LARSEN                       CO     33014984174
85949646197B3B   BALBINO      OQUELI                       CO     39005646461
85949833A91837   MARIO        LARA                         OK     90007948330
8594B366191523   JAVIER       VEDOY                        TX     75002493661
8594B59A854B62   DAWN         COLBERT                      VA     90014245908
85951382597B3B   DEDE         KUECHLER                     CO     90006393825
859513A8541275   RONDA        THORNTON                     PA     51014283085
8595219175B27B   JIMMY        LENZ                         KY     90007111917
8595223822B28B   DEONTE       KING                         DC     90007192382
859522A1A54B62   JESSICA      KNIGHT                       VA     90014862010
85952A65571977   SAMANTHA     JUDGE                        CO     90007180655
85953384A5B139   BRANDON      STOVALL                      AR     23079563840
859533A8541275   RONDA        THORNTON                     PA     51014283085
8595344149154B   GEORGE       BRICKER                      TX     90013404414
8595363145B24B   BRENDA       CHEATHAM                     KY     68026486314
85953AA2291975   TIFFANY      HINTON                       NC     90012990022
85954454772B62   PATRICIA     MALDONADOO                   CO     33042374547
8595496A991324   KAREN        BACA                         KS     90010059609
85954A4AA71977   SADIE        REDDICK                      CO     90012710400
85954A6517192B   KEN          HOWER                        CO     32021360651
8595573238B163   AMY          TINGEY                       UT     31012447323
85955A24491979   AZUKA        MOLOKWU                      NC     90012090244
8595617848B154   AMANDA       GRIMSTAD                     UT     90014251784
8595717A75B24B   SANDRA L     DRENNEN                      KY     90013971707
85957598397B3B   BRITTINI     JACOBY                       CO     90010985983
8595798475B581   CESAR        ORNELAS                      NM     35063499847
8595823815B581   BARBARA      LUGONES-GONZALEZ             NM     90012772381
8595843A741275   MARK         HARDEN                       PA     51016104307
8595917A75B24B   SANDRA L     DRENNEN                      KY     90013971707
85959268672B33   CRISTINA     RAMOS                        CO     33098182686
8595963815B242   WILLIAM      SKAGGS                       KY     90007646381
85959718A61928   JUAN         HERNANDEZ                    CA     90014357180
85959859672B29   MONICA       WALKER                       CO     90011118596
85959A65A41272   SHAWN        LARSON                       PA     90013490650
85959AA5781677   WILLIE       KNIGHT                       MO     90011690057
8595B158147897   LATONYA      CALLAWAY                     GA     90011291581
8595B674491522   MILTON       GARCIA                       TX     90015086744
8595B688755945   ALICIA       RANSEL                       CA     49093706887
8595B97AA77537   STEVEN       CURIEL                       NV     43042689700
8595BAA348B168   NOELANI      ARELLANO                     UT     90011890034
859614A624B22B   BRIGIDA      HERNADEZ                     NE     27005854062
85962583972B33   JAMES        BAKEHOUSE                    CO     90013515839
859626A369154B   MARIA        MARTINEZ                     TX     75011176036
85962758A91324   LOIENA       ORTIZ                        KS     90014857580
85964278897B38   JOHNNY       VALENCIA                     CO     90007312788
8596441959154B   ERIKA        RAMIREZ                      TX     90004624195
85964579972B33   BO           BRODRICK                     CO     90006215799
85965299476B68   DANILO       PARANADA                     CA     90003192994
85965A8454B22B   BRYAN        WALTERS                      NE     90014110845
85966A56291986   HORIZON      CONTRACTING                  NC     17015000562
8596724A233698   KELVIN       BROWN                        NC     90010192402
859673A718B163   CRUZ         CARLOS                       UT     90000173071
8596759AA71977   PHILIP       CORTEZ                       CO     38087075900
85967824397B3B   GAVIN        FRIES                        CO     90011088243
8596791733B366   VALERY       GNATYUK                      CO     90008179173
85967A47597B38   JAMES        NEUENBERGER                  CO     90012180475
85968284A41275   DENISE       MURRAY                       PA     90010202840
85968413172B27   TERESA       CASILLAS-VASQUEZ             CO     33061374131
8596877835B139   WAYMON       FULLER                       AR     90001877783
8596969879152B   DIANA        LOPEZ                        TX     90011076987
85969AA679152B   JESUS        GONZALEZ                     TX     90013720067
8596B51922B28B   MARIA        PINZON PAREDES               DC     90003275192
8596B686833698   ELAINE       REYNOLDS                     NC     90013046868
8596B8A995B139   SHANTA       THOMAS                       AR     23069068099
8596BA16554B62   DEMETRIC     MILES                        VA     90004010165
8597118955B183   KEITH        THOMPSON                     AR     23066361895
85971469A55945   DAVID        ANQUIANO                     CA     49004874690
8597151115B27B   SHARON       WHITE                        KY     68079565111
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1303 of 2350


8597234845B183   EARNEST       THOMAS                      AR     23033423484
859731A5361557   LAQUITA       DOWLEN                      TN     90014041053
859737A1281677   CHRISTOPHER   LOWE                        MO     90007137012
85974127A55945   JERRY         BARNETT                     CA     90014541270
85974634472B62   ALBERTA       GARCIA                      CO     90006006344
8597489A855971   DAVID         HERNANDEZ                   CA     90014688908
85975698697B3B   AZALEA        DELEHOY                     CO     39001346986
85975743A55945   CURTIS        CRAWFORD                    CA     90004767430
85976AA7555945   KEVIN         MORRIS                      CA     49039640075
85977A1415B581   CIRA M        MIKULAS                     NM     90000410141
85979317872B29   EDGAR         HERNANDEZ                   CO     33087983178
8597947113B38B   ANTHONY       BROWN                       CO     33036214711
8597B433881677   JASMIN        DONAHUE                     MO     90010784338
8597B438591242   TANYA         BROWN                       GA     14568544385
8597B71755B581   ANGELICA      MUNOZ                       NM     35073707175
8597B925593771   CHARITY       WALLS                       OH     64586369255
8598146334B556   SAMUEL        COVINGTON                   OK     90008894633
85981A89591837   AUDREY        SANTIZO                     OK     90015180895
8598251669154B   JOHN          CANADA                      TX     75049335166
8598257887B448   DOMINIC       ELLIS                       NC     90013075788
859834A278B168   MICHAEL       HAYMOND                     UT     90013524027
859835A8961928   JONATHAN      CARITON                     CA     90003095089
85983A24576B68   BERNICE       WILLIAMS                    CA     90012310245
85984197A93771   SHARON        MORRIS                      OH     90013361970
8598499735B27B   DARRELL       SIDEBOTTOM                  KY     68073369973
8598526832B891   GRISELDA      HERNANDEZ                   ID     90008442683
85985319A4B22B   TAMMI         SIMPSON                     IA     90000643190
8598544965B183   MATTHEW       CONWAY                      AR     23079194496
85985934754B62   KIMBERLEY     FERGUSON                    VA     90014939347
859865A4281677   RAFAEL        AVILA                       MO     90009245042
85987394376B68   AURORA        SANCHEZ                     CA     90001773943
8598752828B154   IVAN          LORA                        UT     31060745282
85988212472B62   MARLA         MOORE                       CO     90002112124
8598849687B467   REBECCA       GOUDY                       NC     90006304968
859884A554B22B   KYLE          SMITH                       IA     90009994055
85988529172B62   JORDAN        WAY                         CO     33066335291
8598B72AA9152B   JENNIFER      ENRIQUEZ                    TX     90011077200
8599128416194B   DEREK         NIELSEN                     CA     46015792841
85991A85224B89   CHIDI         NWOSU                       DC     81012060852
85992352A8B154   TAMARA        DIXON                       UT     90005453520
8599258935B532   LUIS          MACIAS HUERTA               NM     35009505893
85992735997B3B   ZYRIAH        DEHERRERA                   CO     90002787359
85992956A91979   ASIA          ANDERSON                    NC     90011199560
8599345848B168   MAHALA        PAKALANI                    UT     90010244584
85993499697B3B   MARISOL       CASTRO                      CO     90009994996
859952A3391837   FIINN         BRANDIM                     OK     21010942033
85996664797B3B   JOSEPH        GREEN                       CO     90014536647
85996A58991583   NORAH         KELLY                       TX     90012050589
85997A53497B3B   DESTINY       GONZALES                    CO     90014450534
85998A4242B271   JESSE         BAUTISTA                    DC     90003790424
85998A62755971   VERONICA      JACOBO                      CA     49053870627
85998A7855B17B   SONDRA        TURNER                      AR     90005070785
8599912AA8B168   WAYNE         VANDEGRAAFF                 UT     31055581200
85999354172B62   GREGORY       MARTINEZ                    CO     90011863541
85999526572B33   ANTONIO       ALVARENGA                   CO     33064695265
85999A1849152B   DAGOBERTO     URBINA                      TX     75002550184
8599B17119152B   OXACA         JOE                         TX     90003391711
8599B48342B94B   MIREYA        JIMENEZ                     CA     90001364834
8599B876281677   MEGAN         HELE                        MO     90010168762
8599BA55A9152B   DANIEL        VILLEGAS                    TX     90014400550
8599BA98171977   MICHAEL       QUINTANA                    CO     90015140981
859B1489472B62   CHUCK         BLUE                        CO     90002554894
859B1498641275   BRENDA        FAULKNER                    PA     90012114986
859B157859154B   CHRISTINA     GRUNDEN                     TX     75048615785
859B1714876B68   RON           DILLON                      CA     46007397148
859B191765B27B   AARON         CARTER                      KY     68096799176
859B1A3925B581   PAT           LEROY                       NM     90014650392
859B2233155935   PABLO         VENEGAS                     CA     90010712331
859B27A1A91242   YVETTE        MOULTRIE                    GA     14576857010
859B282468B168   CAROL         LOPEZ                       UT     31051888246
859B313825B24B   QUIANA        YOUNG                       KY     68043441382
859B383228B154   STEVE         KOOYMAN                     UT     90013198322
859B3918631428   JEANINE       WELLS                       MO     90001339186
859B3979A9154B   VERONICA      ALVARADO                    TX     90007849790
859B4464455945   RAMON         CONTRERAS                   CA     90012754644
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1304 of 2350


859B454638B154   JACOB              ROYBAL                 UT     90012045463
859B4AA5877537   TIA                COOPER                 NV     90015260058
859B4AA7897B3B   MANUEL FAUASTINO   GARCIA-CASTANEDA       CO     90012740078
859B5691272B38   JEROLD             HAYWARD                CO     90009136912
859B5741155945   SCOTT              ATTEBERRY              CA     49045617411
859B5767541275   JOSEPH             CLARK                  PA     90005687675
859B59A1972B62   IVONNE             CHACON                 CO     90008009019
859B6371561928   MATHEW             GUTIERREZ              CA     90010293715
859B665A172B29   DAVID              GARCIA                 CO     90014856501
859B6A9A341262   SHIELA             BECKNER                PA     51056260903
859B7A4395B581   CHASITY            DESIMONE               NM     90012200439
859B8A5459152B   ROCIO              VALLE                  TX     75000040545
859B935318B168   JOSHUA             TRACY                  UT     31094373531
859B9379A71977   LOUIS              ANAYA                  CO     90010333790
859B9637897B38   MARIA              RODRIGUEZ              CO     39050316378
859B9746141275   JASON              MCDONALD               PA     90014347461
859B9A84755945   JUANITA            GUARDADO               CA     90014790847
859BB2A965B24B   CLARISSA           GOODMAN                KY     68055462096
859BB599597138   GENOVEVA           GARIBAY                OR     90013715995
859BB81639154B   PAULINE            VILLEGAS               TX     75037958163
859BB84A677537   KATHY              JEROME                 NV     43001778406
859BBA77341262   CHRISTIE           MCCONEEGHY             PA     90014390773
85B11192854B62   CESAR              TORRES                 VA     90015101928
85B1128495B59B   ANTHONY            RIVERA                 NM     90004962849
85B1144218B168   JODY               HERZOG                 UT     31095584421
85B11552233698   MYRA               SHIRD                  NC     90010705522
85B11616351362   ALISHIA            TORRES                 OH     66093186163
85B11692397138   LALO               CASTELLANOS            OR     90012986923
85B11733497138   JORGE              LOPEZ                  OR     90011107334
85B117AA576B68   STEFANY            RIOS                   CA     46025597005
85B11A61381677   DONOVAN            WHITE                  MO     90011680613
85B12941961928   ROSE               WASHINGTON             CA     90007919419
85B129A7291837   PAUL               WOFFORD                OK     90014569072
85B12A54391324   SIMONE             YOUNG                  KS     29017950543
85B12A71333698   HELENA             HARRISSON              NC     90010350713
85B13846261928   JOSE               MARTINEZ               CA     90013268462
85B14234255971   ARIEL              VEGA                   CA     90011342342
85B143A1772B29   CHRISTOPHE         KRADY                  CO     33086303017
85B1475772B256   SAMUEL             GYAMFI                 VA     90011277577
85B14789193771   CHRISTINA          FISHER                 OH     90013597891
85B14794993771   CHRISTINA          FISHER                 OH     90011107949
85B14823947897   NANCY              PLEAS                  GA     90013478239
85B148A7A8B154   ANGELA             LOVATO                 UT     31053368070
85B14A1617192B   DANIEL             WALKER                 CO     90013510161
85B14AA6955945   ARACELI            INIGUEZ                CA     90015130069
85B15492797B38   THOMAS             TORRES                 CO     39045724927
85B155A7372B31   LUANN              GRADY                  CO     33041495073
85B15999391979   WALLACE            ACKERSON               NC     90012669993
85B16641777537   JORGE              LOPEZ                  NV     90014466417
85B16651591975   JAMES              LILES                  NC     17065376515
85B16655591979   DENISA             WILLIAMS               NC     90010736555
85B16691933698   JOSHUA             BIRCHMORE              NC     90003666919
85B171A5891837   PATRICIA           JACKSON                OK     90013541058
85B1721325B24B   KATHRYN            ROSS                   KY     68012132132
85B17752A71977   YVONNE             FRANCO                 CO     90010797520
85B183A299154B   GABRIAL            CHAVEZ                 TX     75032853029
85B18431477537   KEISHA             CURTIS                 NV     90014044314
85B1848155B139   KEENA              WILLIAMS-MEADOUGH      AR     23088444815
85B1881AA77537   ROBERT             MASTERS                NV     90006998100
85B1884315B183   FAVIOLA            SUAREZ                 AR     23094768431
85B18A51897138   KATHARINE          R RYAN                 OR     44012880518
85B18A7A191975   ALEJANDRA          GONZALES               NC     17068070701
85B1934498B154   ERIKA              SERRANO                UT     90012513449
85B1939989152B   QUITON             WILLIAMS               TX     75005163998
85B1977765B183   CORTNEY            PATRICK                AR     90004767776
85B199A539154B   EVA                HINOJOS                TX     75006649053
85B1B34688B154   ADAM               SMITH                  UT     90012513468
85B1B976597B3B   ALTAGRACIA         PACHECO                CO     90012919765
85B2119A33B354   ROSS               HERRELL                CO     33089431903
85B211A5991837   CRYSTAL            VASQUEZ                OK     90013811059
85B21377172B33   ANTHONY            HOOD                   CO     90014943771
85B21458172B83   KENNETH            THOMPSON               CO     33086734581
85B21621261961   FRED               LLAMAS                 CA     90001856212
85B219A4572B62   MARIEL             CARMEN                 CO     90013109045
85B22231171977   LEAH               SCOTT                  CO     38084652311
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1305 of 2350


85B2232A94B22B   SCOTT         MARTIN                      NE     90015123209
85B22557241275   GARRY         MURRAY                      PA     51063095572
85B23446755945   JESSE         ALVAREZ                     CA     49054274467
85B23713A9154B   RACHEL        JONES                       TX     75055937130
85B2373A791837   PEDRO         SUAREZ                      OK     90012797307
85B248A1997138   ERYN          REDFORD                     OR     44091298019
85B24A83485856   SHERRI        MISCHLER                    CA     46055870834
85B25163771977   DALE          MORGAN                      CO     90010441637
85B2516A681677   MAYRA         GUZMAN                      KS     90014881606
85B2551A997B38   VANESSA       DOMINGUEZ                   CO     90005755109
85B25576972B62   DOUGLAS L     GERLACH                     CO     90014405769
85B25592897B3B   VILMA         MOLINA                      CO     39007905928
85B25885161928   DULLANNI      WATERMAN                    CA     90012408851
85B26812154B62   THOMAS        ENRIQUE                     VA     90015378121
85B26922197B38   MARIA         GARCIA                      CO     39072869221
85B27197541262   THERESA       JOHNS                       PA     90004251975
85B27619797B38   ADOLFO        GARCIA                      CO     39066266197
85B27A1455B581   MARK          ARCHIBEQUE                  NM     35039000145
85B27A49A54B62   JOHN          CARMOUCHE                   VA     90009900490
85B28156293771   PARIS         WRIGHT                      OH     90013341562
85B2839A65B27B   KELLY         SELLERS                     KY     68056753906
85B2851822B891   CARLOS        LARIOS                      ID     90004835182
85B2899A691837   JOHN          FRAZIER                     OK     90012089906
85B28A6385B24B   DEVON         MANION                      KY     90013270638
85B28A6964125B   MIKE          JONES                       PA     90004220696
85B29761A5B581   LARRY         CRESPIN                     NM     35070557610
85B2983735B183   CHRISTOPHER   IVR ACTIVATION              AR     90013788373
85B29842893771   BIGGIE        SMALLS                      OH     90012248428
85B2B678697B38   LUCERO        REMES                       CO     90014366786
85B2B827661928   MARIANA       GONZALEZ                    CA     90012048276
85B2B94315B24B   MARIA         ROQUE                       KY     90013839431
85B3138A28B163   GIBBS         SANCHEZ                     UT     90009533802
85B31645A4B546   MARY          GALVAN                      OK     90010076450
85B31727271977   SAMUEL        CORREL                      CO     38064517272
85B31A58747897   LAQUNZA       WILLIAMS                    GA     90015200587
85B32417A72B33   JUDY          MARTINEZ                    CO     90012624170
85B3258AA8B168   BRITANY       TICHENG                     UT     90014625800
85B32637672B29   CYNTHIA       JACQUEZ                     CO     33094166376
85B332A4147897   ASHLEY        FULLER                      GA     14047692041
85B33422672B62   JESSICA       SALAZAR                     CO     90011584226
85B33773A6194B   CENIZA        VILLENZA                    CA     46010707730
85B33858691547   ALEXANDRA     ARCILA                      TX     90011478586
85B3394675B581   KRYSTAL       MARES                       NM     90014879467
85B33963985856   JACQUELINE    MARTINEZ                    CA     90011299639
85B34186797138   DANNY         GARNETT                     OR     90006411867
85B34317672B33   ABRAHAM       PEÑA                        CO     33014393176
85B34573791975   IJAZ          KHEL                        NC     90008155737
85B34618A54B62   NORMA         RUIZ                        VA     90015546180
85B35498872B33   TRACY         ROGERS                      CO     90013224988
85B3564A79152B   JOSE          ROMAN                       TX     90001026407
85B35651A91324   FRANCISCA     HERNANDEZ                   KS     90013226510
85B35667172B62   KYLE          HALL                        CO     33082906671
85B35A52391979   SAUL CRUZ     MARTINEZ                    NC     90007790523
85B36666577537   RANDALL       BREWER                      NV     90012886665
85B36776297B38   VERONICA      ARGUMEDO                    CO     90012807762
85B3679215B139   LOIS          RUSSELL                     AR     23055887921
85B368A7A8B154   ANGELA        LOVATO                      UT     31053368070
85B36994747897   KEMIKA        ELLEN                       GA     90009759947
85B374A2A21824   JASON         MONROE                      MN     90014984020
85B37811947897   LATRESA       KENDRICK                    GA     14084398119
85B37991191975   JOHN          CHAKON                      NC     90006389911
85B37A1A24B22B   PAUL          EIDE                        NE     90013110102
85B38491851362   WHITNEY       UNDERWOOD                   OH     66080704918
85B38535197B3B   ROBERT        CLOW                        CO     39089085351
85B3917549184B   KATY          LEWIS                       OK     90008911754
85B39772655945   LEESA         CHILDRESS                   CA     90010977726
85B39894991975   BERTHA        MARTINEZ                    NC     90014878949
85B39A96191975   PICA          CHOO                        NC     17046950961
85B3B45495B581   HIPOLITO      CARRILLO-LOPEZ              NM     35060414549
85B3BA1156192B   HEATHER       RAVS                        CA     90010680115
85B4172A391975   DEONA         LLOYD                       NC     90014887203
85B418A4797B3B   MIRIAM        VALDEIRABANO                CO     90008958047
85B41938554B62   JEFFERY       CARTER                      VA     90003679385
85B42575347897   RODNEY        CODE                        GA     90008375753
85B42933591837   DEBORAH       GOFF                        OK     21051309335
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1306 of 2350


85B43112A91324   KRISTINA      IGLECIAS                    KS     90015121120
85B4329214B22B   SHANNON       STEVENS                     NE     90009642921
85B432A8A9152B   MIGUEL        RONQUILLO                   TX     90014602080
85B4365578B154   ENEDINA       MURO                        UT     90014216557
85B43872781677   REBECCA       WORTHINGTON                 MO     90002008727
85B4391528B168   RITA          PACHECO                     UT     90004979152
85B4435766194B   CHARTAE       WITHERSPOON                 CA     46073403576
85B44442672B29   MADELINE      BACA                        CO     90005214426
85B4467869152B   LAURA         ESTRADA                     TX     75096356786
85B451A1772B29   CAMILLE       PRICE-JOHNSON               CO     33073881017
85B4524784B22B   MARIO         ORTEGA                      NE     90012442478
85B4534276194B   AUBREE        SCOTT                       CA     90003973427
85B4569798B154   HAYWOOD       JOHNSON                     UT     90001026979
85B457A5A9154B   BRENDA        DELGADO                     TX     90000527050
85B4636A49154B   YOHANA        ROMERO                      TX     90012643604
85B463A3454B62   ZULMA         RIVERA                      VA     90014883034
85B4672358B154   FRANCISCO     CRUZ                        UT     90013167235
85B4689245B24B   DARRELL       LAYMAN                      KY     90007578924
85B46934477537   JODI          HEATHCOTE                   NV     90014199344
85B47258481677   MEEKIE        ROY                         MO     90013892584
85B4738579154B   MAIVA         MARQUEZ                     TX     90010603857
85B4748635B27B   CODY          NEWTON                      KY     90004074863
85B47584177537   VANESSA       YOUNG                       NV     90009725841
85B4774845B139   CHIQUITA      STEPHENSON                  AR     23081277484
85B47771255971   FRANCISCO     FRANCO                      CA     90013667712
85B47A67791979   PATRICK       TESSIER                     NC     90011380677
85B4831117192B   CASSANDRA     MUNOZ                       CO     90013513111
85B48485555971   JOSE          BARAJAS                     CA     90012924855
85B485A9372B33   SANDRA        GOMEZ                       CO     33036345093
85B48637572B98   CHARLIE       BLUEBACK                    CO     33078826375
85B4872A391975   DEONA         LLOYD                       NC     90014887203
85B49216991837   JAMES         EWING                       OK     90011902169
85B49289377537   PABLO         SANCHEZ                     NV     90014172893
85B492A294B22B   YASSER        IGLESIAS                    NE     90013142029
85B4945115B24B   ANN MARIE     RABY                        KY     90011524511
85B4B56519154B   MARIA         SOTO                        TX     90014775651
85B4B781961556   TONY          WRAY                        TN     90014767819
85B51525271977   GREGORY       SOLANO                      CO     38083565252
85B51592481677   KELLI         STOCKTON                    MO     29045085924
85B517A2547897   LOUISE        MCKAY                       GA     14060217025
85B52189561928   NORMA IRENE   CHARCO                      CA     90013341895
85B5251838B163   SKYLER        WEISSHAUPT                  UT     90007445183
85B52A42755971   MARIA         PENA                        CA     90013110427
85B532A8693771   JESSICA       MEYER                       OH     90011092086
85B53816476B68   NYVU JAMAL    JACKSON                     CA     90015308164
85B54347747822   DENISE        RATLIFF                     GA     14026683477
85B5455255B27B   KEYANA        WILSON                      KY     68004645525
85B54894997B3B   MIRIAM        QUIROZ                      CO     90013588949
85B54958197B3B   RAUL          RIVERA                      CO     90015159581
85B54977791979   EDUARDO       ABARCA                      NC     17031309777
85B54A63693771   JULIA         HORTON                      OH     90011180636
85B5525899154B   CYHTHIA       ULLOA                       TX     90007782589
85B56628971977   ANATASIA      GIRISH                      CO     90015436289
85B5665149154B   MANUEL        ORTEGA                      TX     75073166514
85B56667181677   VERONICA      MARTINEZ                    MO     29094876671
85B56785255971   IGALDINO      MORALES                     CA     90013667852
85B56A49254B62   ANGEKICA      CANIZALEZ                   VA     90013220492
85B57126297B38   DEBORAH       DESAIRE                     CO     90009761262
85B5713324B22B   LANITA        LISENBY                     NE     90014901332
85B57664691979   ANTHONY       PELLICCIONE                 NC     90012146646
85B5777A193771   RICHARD       ASHCRAFT                    OH     90010057701
85B57989655971   LAURA         GARCIA                      CA     90014169896
85B58113297B38   JOSEPHINE     SANDOVAL                    CO     39006211132
85B58148391324   AMER          ALMASRI                     KS     90009821483
85B58385497B3B   GAIL          SELEEN                      CO     39090083854
85B58393672B29   MARTIN        SALGADO                     CO     90012883936
85B58852691979   ERIKA         HIRALDO                     NC     90011318526
85B58A2648B168   JONATHAN      GARDNER                     UT     90012770264
85B58A88672B62   TIM           THOMPSON                    CO     90012070886
85B59184693771   TIESHA        WATSON                      OH     90013851846
85B593A9555971   RAUL          GARCIA                      CA     49084513095
85B59592255945   FRANCISCO     CHANG                       CA     90012415922
85B59718691975   JORGE         PONCE                       NC     90001477186
85B5989259154B   VIRGINIA      BERMUDEZ                    TX     75017008925
85B5B39A872B33   STEPHANIE     SMIT                        CO     90013523908
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1307 of 2350


85B5B427571977   LANA          BISHOP                      CO     90006234275
85B5B5A643B141   LUIS          MORAN                       VA     90001135064
85B5B71A85B581   ROBERT        ENCINIO                     NM     35046097108
85B5B781197B3B   SCOTT         COOPER                      CO     90008567811
85B5B913891979   MICHAEL       NEIBERT                     NC     17036399138
85B5B969393771   KELLY         ROBENSON                    OH     90006449693
85B5BA32447897   JOHN          CROSS                       GA     90011250324
85B5BA47891324   JERONIMO      PEREZ                       MO     90006780478
85B6129676194B   ANTHONY       EDWARDS                     CA     90014092967
85B61653497B38   JOHN          FARGO                       CO     39091646534
85B6166984B22B   SARA          RODRIGUEZ                   NE     27024036698
85B62874471977   ROXANN        ORTEGA                      CO     38088378744
85B6295925B24B   ALJANDRO      BERNAL-GARCIA               KY     90014809592
85B6297689152B   SANDRA        MENDOZA                     TX     75094059768
85B63517754B62   HOWARD        KIDD                        VA     90013835177
85B6357A89154B   PATRICIA      LINDEN                      TX     90014775708
85B63586633698   VIRGINIA      ALLEN                       NC     12007225866
85B63675771977   RYLEE         HYNES                       CO     38017376757
85B63843261928   ARRON         JONES                       CA     90014428432
85B639A7993771   STEPHANIE     RASNIC                      OH     90004479079
85B6427AA72B33   CATHERINE     AGUIRRE                     CO     90014742700
85B64438985856   ORPEZQA       CI                          CA     46084214389
85B64A54A7192B   YANG          DAVID                       CO     90000460540
85B652A8693771   JESSICA       MEYER                       OH     90011092086
85B65366A8B168   VICKIE        KUEFFNER                    UT     31017423660
85B6543545B535   JOHN          RODGERS                     NM     90007164354
85B65449A77537   AMANDA        RUSSELL                     NV     90012694490
85B6572429152B   JOEL          HANKS                       TX     90012677242
85B66493A76B68   EIRKA         VERGARA                     CA     90004494930
85B6679A17192B   JAMES         MCMURTYRY                   CO     32098477901
85B6683167B473   ALISHA        PRICE                       NC     90000948316
85B6687A95B24B   TWIN          ONE                         KY     90009958709
85B6692A993771   JUSTIN        VOGEL                       OH     90012689209
85B67485477537   AMANDA        MADUIKE                     NV     90013824854
85B6765315B581   ASHLEY        SANDOVAL                    NM     90012966531
85B68232876B68   ALBERT        MAHANNAH                    CA     46060562328
85B6857A89154B   PATRICIA      LINDEN                      TX     90014775708
85B685A6A5B27B   CAYLA         WOLFE                       KY     68056585060
85B69311A77537   MANUEL        PEREZ                       NV     90015353110
85B693A7391975   LOUIS         PATTERSON                   NC     90014703073
85B69479597B3B   NATALIA       VECINO                      CO     90009144795
85B69525A5B24B   JORGE         VEGA                        KY     68034175250
85B6971A597138   AMBER         SHAW                        OR     90007957105
85B69A35533698   LATONIA       CAUTHEN                     NC     90014580355
85B6B562455945   FRANCISCO     URBINA                      CA     49082785624
85B6B57A89154B   PATRICIA      LINDEN                      TX     90014775708
85B6B64A772B62   WANDA         PERLMAN                     CO     90011976407
85B6BAA4291837   JIMMIE        MCGLOTHLIN                  OK     90009850042
85B71167376B68   DANIEL        SPITLER                     CA     90014921673
85B71187891979   JEANETTE      CASCO                       NC     90013341878
85B711A1171977   CLARENCE      HUFFSTETLER III             CO     90014601011
85B71243881677   AIMEE         WRAY                        MO     90015432438
85B71249147822   ALEISHA       WILSON                      GA     90002622491
85B716A214B223   CLYDE         MIDDLEBROOK                 NE     27088646021
85B71893785821   PETRA         JUANA MARTINEZ              CA     46033378937
85B72185955945   JOE           NAVARO                      CA     90003721859
85B7255639154B   ALMA          PEREZ                       TX     90010605563
85B72725197B38   TYLER         LAUTAMI                     CO     39080577251
85B72867797121   AMBER         GASPERETTI                  OR     44015688677
85B72893491975   KEISHA        MANGUM                      NC     90012028934
85B72A2969152B   ROSA          SALCEDO                     TX     75070980296
85B72A7515B581   EDWIN         HERNANDEZ                   NM     35044550751
85B73512497B3B   BRAD          TURNELL                     CO     90009545124
85B73589141275   JONNY         ONESI                       PA     90013395891
85B74722191837   LOREN         SUNDAY II                   OK     21087627221
85B75422897B38   CALLIE        WARNER                      CO     90001924228
85B7586399154B   YOLANDA       ALTAMIRANO                  TX     75039658639
85B75958A47897   TIFFANY       REEVES                      GA     90013539580
85B765A425B27B   CHARLIE       PHILLIPS                    KY     68089255042
85B7668A291975   BLANDINA      PAZ                         NC     17095056802
85B76915347897   SABRINA       RENFORE                     GA     90012319153
85B77239854B62   AMANDA        THIBEAUTHT                  VA     90012452398
85B7736239152B   SUSANA REZA   REYES                       TX     90011113623
85B774A2A55945   SCARLETT      GOMEZ                       CA     49026064020
85B77582597138   LADISLADO     MIRANDA                     OR     90014815825
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1308 of 2350


85B77669754B62   CHRISTY            JOHNSON                VA     90014756697
85B77854A97B38   MAITTE             MARQUEZ                CO     90014968540
85B78318954194   EDELMIRA           REYES                  OR     90014233189
85B78347541262   DAN                CUOMO                  PA     51037343475
85B783A738B163   EDITH              MARTINEZ               UT     31067543073
85B78484A76B68   GURNEY             MIKE                   CA     46066884840
85B78716A8B16B   JOSHUA             HEMMERT                UT     90001617160
85B79276671977   SERENA             HOWARD                 CO     38088782766
85B7946565593B   CYNTHIA            MARES                  CA     90010724656
85B7957467192B   KELVIN             LANGSTON               CO     90013515746
85B79A8638B154   RONALD             HOLCOMB                UT     90014760863
85B7B21365B241   TANASHA            WALLACE                KY     90014992136
85B7B23878B154   NESTO              VASQUEZ                UT     90010152387
85B7B48949152B   ESTEBAN            CAMACHO                TX     90013414894
85B81298571977   NICHOLAS           SANDOVAL JR            CO     90013542985
85B81379776B68   WALTER             FRAGO                  CA     90009493797
85B81762155971   TRICIA             GALLEGOS               CA     49045117621
85B8178A472B62   RUSSELL            ALVARADO               CO     33041437804
85B81913391975   ASHLEY             HALL                   NC     90008089133
85B8192516194B   MARIANO            CURIEL                 CA     46073639251
85B81997881677   TOSHIBA            GREEN                  MO     90002919978
85B82327761922   VICTORIA           MEYERS                 CA     46010183277
85B823A6655971   MARIA              CISNEROS               CA     90014183066
85B82542177537   NICOLLE            LYNN                   NV     90008985421
85B825A7A5B183   SARAH              ARNOLD                 AR     90014415070
85B8288A95B581   JESUS              HERMOSILLO-SUAREZ      NM     90004498809
85B82925593771   ASHLEA             JACKSON                OH     90011189255
85B83413A6194B   GREG               ARMSTEAD               CA     46017644130
85B83551781677   CASSANDRA          DUNNAM                 MO     90014605517
85B8371989154B   LOPES              ALEXIS                 TX     90007827198
85B8371A133698   KRISTA             SIMMONS                NC     90014177101
85B8421139154B   ALFREDO            CAZARES                TX     90014752113
85B8431A851348   JESSICA            JEWELL                 OH     90000533108
85B84624A5B24B   JOEY               BLANTON                KY     90014816240
85B848A9555945   ISABEL             NUNEZ                  CA     90003628095
85B84962291979   MILDRED            FRIAS                  NC     17041219622
85B849A899152B   RATMUNDO           MARTINEZ               TX     90010269089
85B84A2714B221   MARK               HUTCHISON              NE     90006460271
85B85287991975   GENEVA KIMBERLEY   LIGHTSEY               NC     90013402879
85B853A1397B38   PATRICIA           HERNANDEZ              CO     39093503013
85B86144A5593B   MRAFAK             ALRAHIMI               CA     90014071440
85B866A545B183   ROSE               TUCKER                 AR     23069526054
85B86748297B3B   JOHNNY             HOCKIEDY               CO     90015377482
85B86A58161928   YESENIA            ALONSO                 CA     90013210581
85B8754869152B   DELIA              UGALDE                 TX     90004425486
85B875A2547897   ALICIA             MARSHALL               GA     90007965025
85B89256655945   NANCY              FRAGA DE GUTIERREZ     CA     90000772566
85B897A8893771   MERLE              BYRD                   OH     64574927088
85B89825181677   ASHWEN             FLANNEL                MO     90010688251
85B89A2138B168   LEONARDO           SANTOS                 UT     90014370213
85B89A57641262   ELIJAH             FLOWERS                PA     51088240576
85B8B198681677   CHARMANGE          COX                    MO     90008371986
85B8B988866134   DENNIS             GRAHM                  CA     90014419888
85B8BA81555971   CRAIG              VOYLES                 CA     49090470815
85B91245497138   GENNIFER           MAE                    OR     90010642454
85B9143358B168   JOSE               ESPINAZA               UT     31054214335
85B91528397B3B   JUSTIN             CRAN                   CO     39045105283
85B91556355945   SARAI              HERNANDEZ              CA     90012305563
85B9159319154B   MARIA              ELIZALDE               TX     90014775931
85B91A75197B38   CLAYTON            CARR                   CO     90006090751
85B931A998B692   HOLLY              BAKER                  TX     90013561099
85B9359319154B   MARIA              ELIZALDE               TX     90014775931
85B9363384B954   CECILIA            MEDRANO                TX     90001516338
85B936A985B139   COURTNEY           JOHNSON                AR     90012816098
85B9376329152B   BERENICE           CARLOS                 TX     75009177632
85B93769191324   FAVIAN             RAMIREZ                KS     90015097691
85B9379A433698   JOEY               FARRAR                 NC     90014177904
85B9427199154B   VICTOR             CASTANON               TX     90014782719
85B943A7955945   DARY               HENDERSON              CA     90011113079
85B9485889152B   EULALIO            GARCIA                 TX     90009048588
85B95374154B62   ROSMARY            DORADO                 VA     81024493741
85B9587A161928   RUTH               GONZALEZ               CA     90013138701
85B95A84597B3B   CASSANDRA          ARGUELLO               CO     90004020845
85B96374154B62   ROSMARY            DORADO                 VA     81024493741
85B97386991979   OLON               WADE                   NC     90015053869
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1309 of 2350


85B9751A755945   LAURA         REYES                       CA     90009135107
85B9759319154B   MARIA         ELIZALDE                    TX     90014775931
85B97639855945   AIOTEST1      DONOTTOUCH                  CA     90015116398
85B9792379152B   ADRIANA       RAMIREZ                     TX     90004779237
85B982A3376B68   DARWIN        BULLOCK                     CA     46090912033
85B98317A72B62   IDRIS         ELDURSI                     CO     90008803170
85B98962393771   KENNETH       WALTERS                     OH     90015269623
85B99466A81677   CHRISTOPHER   TUCKER                      MO     90014744660
85B9959389154B   PATRICIA      DE LA CRUZ                  TX     90014775938
85B9978285B17B   CARRIE        BROWN                       AR     23056247828
85B9997335B581   JESSICA       PARDUE                      NM     90009469733
85B9B214397B3B   ANDI          SORRELS                     CO     90010912143
85B9B232171977   SONIA         ESQUIBEL                    CO     38043702321
85B9B3AA793724   AMY           BAXTER                      OH     90008503007
85B9B985481677   GENOVEVA      VENEGAS                     MO     90002379854
85BB1551781677   CASSANDRA     DUNNAM                      MO     90014605517
85BB1573291324   JANELL        BREWER                      KS     90013455732
85BB1743177537   DIANA         SALAS                       NV     90014127431
85BB2248241262   ANEKA         TERRY-POWE                  PA     90013932482
85BB3281385856   JEFF          JEFFERSON                   CA     46087262813
85BB3421497138   PAUL35        DAUGHERTY                   OR     90012444214
85BB3544677537   ANTONIA       CRUZ                        NV     90013215446
85BB3574255945   MONIQUE       ROJAS                       CA     90010135742
85BB39A7847897   ROOSEVELT     SMITH                       GA     90011199078
85BB435445B581   RON           RAMERO                      NM     90008243544
85BB437154B22B   JOSEPH        BIANCHI                     NE     90012373715
85BB4544641262   DAVID         COOK                        PA     51063655446
85BB47A5A97B3B   TOBY          VINEY                       CO     90013837050
85BB4972A71977   DIRK          CRAWFORD                    CO     38005559720
85BB5252177537   FELIPE        CORDERO                     NV     90010922521
85BB5671541262   JESSICA       POTTS                       PA     51036276715
85BB5779355971   ELIZABETH     BARRIGA                     CA     90014167793
85BB582518B18B   CAROLYN       MICHEL                      UT     31089778251
85BB5877333698   KIMBERLY      LEE                         NC     90006558773
85BB5928171977   FORREST       STIFFLER                    CO     38064569281
85BB597935B24B   DZHABBAR      FAFAROB                     KY     90006259793
85BB5A26197B3B   CHRIS         RIVERA                      CO     39092070261
85BB6159741275   JOSEPH        HUDYMA                      PA     51093431597
85BB6A8A29154B   ANGELICA      CORTEZ                      TX     90004390802
85BB7731776B68   KEITH         PHELPS                      CA     46057077317
85BB7861447897   TYRONE        WILLIAMS                    GA     90009798614
85BB7A5615B388   JAMES         BENEFIELD                   OR     90013840561
85BB8463572B29   MARGARET      NOVARIA                     CO     90008074635
85BB854419154B   LASSLY        FARIAS                      TX     90014775441
85BB8776961928   ELIKA         REAUX                       CA     46085207769
85BB928469154B   ALEXA         MIRANDA                     TX     90010602846
85BB94A875B183   JOANNE        WEAVER                      AR     23049444087
85BB961A33B335   REBECCA       CHAMBERLAIN                 CO     90012386103
85BB9738181677   DEBBIE        STEVENSON                   MO     90010177381
85BB9739841275   SADE          CRISWELL                    PA     90010747398
85BB995112B249   TEYONNA       HERRING                     DC     90004819511
85BBB13145B581   TEODORO       GONZALEZ                    NM     90011921314
85BBB24539154B   CATHERINE     PALYU                       TX     90014782453
85BBB473155971   ERICA         VALLEJO                     CA     90014124731
85BBB567A57531   ALYSSA        BENAVIDEZ                   NM     90011535670
86111161A7B339   ANGELA        SPEED                       VA     90010471610
8611119115593B   STEPHANIE     GUTIERREZ                   CA     90012621911
8611182266194B   FLORES        LEMNY                       CA     90013768226
8611183492B271   TERRI         FREELAND                    DC     90012038349
86111A63157B46   CAROL         DROZICK                     PA     90015250631
8611278946194B   MARIA         AZAMAR                      CA     46019717894
861128AA45B27B   LISA          WHELAN                      KY     90005858004
86113197A91979   ANDREA M      BATTON                      NC     90003401970
861135A2693771   DOROTHY       WASHINGTON                  OH     90014035026
86114162A81677   BRIAN         RUPPRECHT                   MO     29064211620
86114AA6672B29   CIC           COREY                       CO     33038050066
8611516353B325   RICHARD       MURPHY                      CO     90007561635
86115234672B2B   ROBIN         HANFF                       CO     90008742346
86115389197B68   GINA          HOPKINS                     CO     33085493891
86115A21991837   DEMETRCA      WILLIAMS                    OK     90001960219
86116314172B46   GWENDOLYN     STRYKER                     CO     90009723141
86116A75251362   JASMINE       TUCKER                      OH     90001570752
8611781259188B   ANTONIA       ENRIQUEZ                    OK     21075618125
8611784A247822   JANQELLA      JONES                       GA     14022258402
86117859A91837   ASA           CRAWFORD                    OK     90012928590
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1310 of 2350


8611912428B154   RODOLFO      AGUILAR                      UT     31008421242
8611915A92B896   JUSTIN       DEARMIN                      ID     90011811509
8611955798B163   PASCUAL      GOMEZ                        UT     90009015579
86119645572B29   DAVID        ROMERO                       CO     33028226455
8611986885B264   JACK         S. DOTSON                    KY     90014028688
86119991898B31   ENRIQUE      TORRES                       NC     90013309918
8611B172972B46   TRACI        PEARSON                      CO     33060361729
8611B254191837   ALEXANDER    CABALLERO                    OK     90007162541
8611B66412B271   MIRNA        ANDRADE                      DC     81059096641
8611B732A4B22B   THOMAS       NATION                       NE     27094157320
8611B745893771   DANIELLE     SNIDER                       OH     90014617458
8612136728B154   DENISE       REDDING                      UT     90012253672
8612136A372B46   CARLOS       PATRON                       CO     90013053603
8612176286194B   TAMARA       ALVAREZ                      CA     46074657628
8612192989154B   SERGIO       PERALTA                      TX     90002749298
86122631772B29   MICHAEL      NEWELL                       CO     90007826317
86124825772B62   CONSUELO     LOPEZ                        CO     90009558257
86126195197B68   CARLOS       GONZALEZ                     CO     33068241951
8612635968B154   DEYOUNG      SMART MOBILE                 UT     90013913596
86126397797B38   JOSE         SERNA                        CO     90013093977
8612664888B154   DEYOUNG      SMARTMOBILE2                 UT     90014006488
86126A63972B46   DEANDRA      HUTCHINSON                   CO     90013100639
8612715119154B   LUISA        OLVERA                       TX     90010491511
8612734118B154   LUIS         ORTIZ                        UT     90014553411
8612756A872B46   JOSE         TRUJILLO                     CO     90013265608
8612793635B183   BRIDGET      NELSON                       AR     23011479363
86127A9A471938   BRIANNA      LEYBA                        CO     90014130904
8612868242B896   KENNETH      PRICE                        ID     90012476824
8612879275B24B   WILLIAM      GILLS                        KY     90013957927
86129755A97138   KATHARINE    LONDIN                       OR     44045787550
86129937772B46   SERGIO       LOPEZ                        CO     90008169377
8612B336897B3B   KENNETH      SHEPARD                      CO     90013503368
8612B472185936   HEATHER      ALCORN                       KY     90012674721
8612B691493771   CATHERINE    STOKES                       OH     64591816914
861319A3A85888   BAUDELIO     PINEDA                       CA     90009909030
86131A61A9154B   FRANCISCO    ROJAS                        TX     90012340610
86132A86386554   EBONY        MACKERSON                    TN     90011740863
8613342946194B   ESPERANZA    GUERRERO                     CA     46093114294
8613358544B22B   NICHOLAS     PAONESSA                     NE     27086415854
86134299A72B46   ANDREW       ELINE                        CO     33067302990
86134A5568B131   MIKE         ROGERS                       UT     31096920556
8613564888B154   DEYOUNG      SMARTMOBILE2                 UT     90014006488
861357A1791532   LETICIA      RODRIGUEZ                    TX     75095827017
8613614946194B   JAVIER       BARRERA                      CA     90009541494
86136811672B46   HUGO         LEON                         CO     33058878116
86138516797B38   INNA         SHAMHUL                      CO     90014885167
8613857225B27B   NANCY        NEAL                         KY     90010575722
86138927472B62   IRIS         UNDERWOOD                    CO     33072369274
86139876997B38   ELICHA       ANDRADE                      CO     39028018769
8613994637192B   BARABARA     PRICE                        CO     90012949463
8613B36A98B168   HEATHER      PANIAGUA                     UT     31027103609
8613B415997138   ASHLEY       NIKLAS                       OR     90011184159
8613B511397B3B   CLIFF        POLER                        CO     39036955113
8613B595233698   EBONY        MANESS                       NC     12078875952
8613B64888B154   DEYOUNG      SMARTMOBILE2                 UT     90014006488
8613B724571977   NATALEEN     ESPINOZA                     CO     90011137245
8614113479154B   CESAR        MODESTO                      TX     90006101347
8614182465B24B   RACHEL       CURTSINGER                   KY     90013168246
86141832672B46   JEIDI        ORTEGA                       CO     33000218326
86141A21897B68   ALEXANDRA    STOLTZ                       CO     90005800218
86142187272B46   KAREN        GARCIA                       CO     33078881872
8614264888B154   DEYOUNG      SMARTMOBILE2                 UT     90014006488
8614288935B24B   LEVELLE      YARBOUROUGH                  KY     90012518893
8614328A891975   BRYANT       COOPER                       NC     90015082808
861433A465B139   SHIRLEY      BREWER                       AR     23030853046
86143A14198B22   SAFOUA       BOUSH                        NC     90006830141
86143A33597B3B   ERIK         MATHEWS                      CO     39001270335
861442A6A61928   SORAYDA      CARRILLO                     CA     46067242060
86144789572B29   MARCUS       MOTLEY                       CO     90014427895
86144A47A71977   DARCIA       LONG                         CO     90014380470
8614558129154B   ALEXIS       PINON                        TX     75043845812
8614599545B139   LUCILLE      PATILLO                      AR     23010899954
86145A9166194B   ABRAHAM      MEJIA                        CA     90012750916
8614752516194B   PETER        BARNES                       CA     46029685251
86147653897B68   JOHN         WIESNER                      CO     33066076538
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1311 of 2350


86147796A71977   CARMELA       BACA                        CO     90010127960
8614781218B154   CODY          ALLEN                       UT     90014718121
86147A1725B261   ROBERY        MALONE                      KY     90001360172
8614848913B34B   GERALD        WHEELER                     CO     33070924891
86148849597B68   HIDALIA       SALINAS                     CO     90013268495
8614922988B16B   BRANDON       REESE                       UT     90007902298
86149389997B38   AISHA         NADEEM                      CO     90013253899
86149469197B3B   LAURA         KING                        CO     39004564691
86149AA783B153   MELVIN        LEONIDAS MENJIVAR           DC     90009040078
8614B374585888   JOSEPHINE     PETRICH                     CA     46003693745
8615127A251328   TIFFANI       YARBOUGH                    OH     90004822702
8615164888B154   DEYOUNG       SMARTMOBILE2                UT     90014006488
8615227A872B29   RASHID        ARDALY                      CO     90013152708
86152339397B38   DIANA         WILLIAM                     CO     90006703393
86152492772B62   GWYNNE        MOORE                       CO     90013874927
86152625A5B24B   BRITTANY      PARKERSON                   KY     90011846250
8615271649154B   ALDO          MARTINEZ                    TX     90011377164
861537A438B154   SARAH         HAMILTON                    UT     90014007043
8615389A38B168   GUADALUPE     GONZALEZ                    UT     90009808903
861541A5155944   JOSE          RIVERA                      CA     90006271051
86154592872B46   GABRIELA      FLORES                      CO     33017855928
86155715A81677   JAMIE         SVEJDA                      MO     90009907150
861561A8885888   MARTHA        GONZALEZ                    CA     90009021088
86156624A91979   JONATHAN      LOPEZ FRANCISCO             NC     90013546240
86156639972B31   BRIAN         LEAVITT                     CO     90010216399
861567A6385856   ELIZABETH     SPIRIT                      CA     90015277063
86156998972B46   JERONIMO      MORALES                     CO     33096269989
86157317972B29   ERENICE       GONZALEZ                    CO     90008003179
8615779843B14B   DORINE        AZMY                        VA     90014107984
8615789429154B   DANIEL        LOPEZ                       TX     75006168942
8615823584B22B   SERGIO        RODRIEGUEZ                  NE     90007242358
86158881897B38   PAUL          GONZALES                    CO     90002428818
86158A99891979   KARINA        TORRES                      NC     90013890998
86159837797B38   WIA           THIN                        CO     39095148377
86159A51172B62   ANGEL         ALVARES                     CO     90010760511
8615B15132B271   RAJEAN        ADGERSON                    DC     90002051513
8615B191291975   DAVID         DAVID                       NC     90012101912
8615B2A3633652   SHANTEL       MCCLELLAN                   NC     90011292036
8615B32656194B   VICTOR        HAWKINS                     CA     90014583265
8615BA7A25B183   JASH          RAFDES                      AR     90012580702
8616153558B168   ALBERT        WAYNE                       UT     90012095355
86161A44591979   ELIDA         GUZMAN LEMUS                NC     90014740445
86161A6918B163   TERRY         ORTON                       UT     31056290691
8616251989154B   ISMAEL        GONZALEZ                    TX     90009375198
8616253A191837   BRANDI        BUECHLER                    OK     90010025301
861627A822B896   MICHAEL       FARNES                      ID     90011817082
8616291729154B   EDUARD        THOMAS                      TX     90012889172
8616294A871977   HECTOR        GONZALES                    CO     90008279408
86162A56391979   KARL JOHN     REICHSTEIN                  NC     17041930563
86162A71585856   ALEJANDRO     GARCIA CRUZ                 CA     90006210715
86162A9757192B   MIRIAM        VAZQUEZ                     CO     90001910975
86163A6488B154   FRANCISCO     HERRERA                     UT     90013030648
86164182A51362   LISA          DRESDEN                     OH     90013971820
8616484832B896   IRMA          ENRIQUEZ                    ID     42044358483
861648A5371977   NATALEEN      ESPINOZA                    CO     90011138053
8616575948B131   VALARIE ANN   ARNOLD                      UT     90014517594
8616581AA91979   JOLITA        BOONE                       NC     17088108100
86166438197B3B   NOELIA        DAVLIA                      CO     90014944381
8616671A42B896   MICHAEL       SAGERS                      ID     42077477104
86168546497B38   TINISHA       SASSO                       CO     39034305464
861688A4571977   BRIAN         PANDO                       CO     90004028045
861692A753B361   LILLIAN       BAKER                       CO     33003592075
8616985458B168   WHITNEY       KELSON                      UT     90013268545
8616B457A8B163   LUIS          BELTRAN                     UT     31016234570
8616B649833698   TAKARA        WATSON                      NC     12023096498
8616B682A41262   SHEILA        WELCH                       PA     51045606820
8616B99436194B   BEXAIDA       MEDINA                      CA     90012149943
86171289A61928   AITOR         GARCIA                      CA     46037362890
86171714572B29   MARISSA       RAMIREZ                     CO     33021537145
86171A25997B38   CHARLES       REYNOLDS                    CO     90011900259
861721A1671977   JODI          CHRISTENSEN                 CO     38082781016
86172396A72B33   JAIME         MEDRANO                     CO     33096163960
8617244A241275   MELISSA       MEHLMAUER                   PA     90010884402
86172583A41275   JACQUELYN     BAUER                       PA     90012105830
86172828897B3B   ALICE         GALICIA                     CO     39096948288
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1312 of 2350


861732A4685856   JACOB        CASTANEDA                    CA     46093442046
861734A3371938   AMBER        BODDY                        CO     90000194033
8617388956194B   THOMAS       KYLE                         CA     90012888895
86173A72497B3B   ARNET        COTTON                       CO     39094990724
8617436A151362   AMY          SMITH                        OH     90002203601
8617537A951349   AMEKIA       THOMAS                       OH     90001723709
861754A8491979   JOSHUA       SWAIN                        NC     17040694084
86175566972B33   MARCOS       RESENDIZ                     CO     90001855669
86175A5924B578   AMBER        MCDONALD                     OK     90010490592
8617651A96194B   PERRY        HAIGLER                      CA     90014435109
86176A85361928   SHANE        LAWSON                       CA     90014650853
86176A9757192B   MIRIAM       VAZQUEZ                      CO     90001910975
86177451872B33   UCHENNA      OBIOHA                       CO     90009134518
8617766A172B46   LOUIE        MAESTAS                      CO     90010976601
86177A73151336   JAKE         SOWDERS                      OH     66065010731
861793A138B154   AMBER        HAMBLIN                      UT     90005583013
86179A78972B46   NICHOLAS     COSBY                        CO     90013100789
8617B73A672B62   RAHUL        KANNOTH                      CO     90014077306
8617B9A2477537   GLEN A       BROCKAMP                     NV     43007619024
86181569697B68   KITZIA       OROZCO                       CO     33069565696
8618182715B139   SHARON       MCCOY                        AR     90015168271
8618196A39375B   RICHELE      LATHAM                       OH     90013419603
86181A79672B46   JENNIFER M   BIAS                         CO     90013100796
8618233A685856   JOSEFINA     MENDEZ                       CA     46091923306
8618322A66194B   MIGUEL       ESTRELLA                     CA     90006812206
8618377764B22B   AGUSTIN      PADILLA RUIZ                 NE     90009907776
86183A96197B38   AMBER        ALVARADO                     CO     90012160961
8618477165B139   GREGORIO     ANDRADE                      AR     90007017716
86184A61471938   WILLIAM      KNIGHT                       CO     90015180614
86184A63A72B33   BRENDA       CAMBIGUE                     CO     90013170630
8618519365B139   NATHAN       HALEY                        AR     23080671936
8618624A67192B   KENNY        LOYD                         CO     90013502406
8618668A78B154   TERI         CHRISTENSEN                  UT     90013416807
86186962A85936   EARL         STONE                        KY     67072669620
861876A877192B   JENNIE       ZERFAS                       CO     32009756087
86188114972B33   MANDY        BENSON                       CO     33060741149
861887A4797B38   STEPHEN      LUERSEN                      CO     90013247047
86188A1875B24B   KENNETH      SLAYTON                      KY     90015120187
86188A19572B46   JAMES        PROVOST                      CO     90013510195
861893A2597B38   JOSE         DURAN                        CO     39046973025
86189994172B33   JARROD       MARRUJO                      CO     90014779941
8618B246A91975   NICK         THIANI                       NC     17016402460
8618B276233698   BELERMINA    MICKEL                       NC     90014712762
8618B699961928   HERNANDEZ    JOHN                         CA     46067546999
8618B851A77537   KEVIN        THOMSEN                      NV     90008348510
8619125A251362   ANTOINETTE   GRAHAM                       OH     66068832502
86191316572B46   DEAN         REGAZZI                      CO     90006873165
86191549298B2B   RODERIEK     HALL                         NC     90006385492
861915A7585936   BILLY        HOPEWELL                     KY     90012745075
86191893297B38   MONICA       OLIVA                        CO     39094438932
86192328197B38   MICHELLE     ORNELAS                      CO     39034923281
86192422897B3B   ROXANN       HARRIS                       CO     90015324228
86192619A72B33   PATRICIA     COMBS                        CO     90014346190
8619268A793771   LACURYA      MCCANN                       OH     64506036807
86192749676B68   TIMOTHY      BAILEY                       CA     90010217496
8619276349154B   OLIVIA       PINEDA                       TX     75053507634
86192763A41262   LEAH         HENSHAWE                     PA     51037177630
8619371929154B   CHARLENE     ESCOBAR                      TX     90011377192
86193A73933698   CANDICE      HERNANDEZ                    NC     90015030739
8619447729154B   VERONICA     CALZADA                      TX     90013184772
861947A6997B68   ANDREA       ROGERS                       CO     90012147069
8619565494B22B   ELIZABETH    SWANDA                       NE     90013966549
861959A5361928   ARTHUR       LAZO                         CA     90005039053
86195A9448B154   KEVIN        PETERSON                     UT     90010040944
86196465A51362   DOLORES      TURNER                       OH     90014574650
86196983472B46   EBONI        GIBSON                       CO     90007639834
8619745632B896   RYAN         SCHOW                        ID     90013694563
861975A275B739   RUBY         BURGOS                       MN     90011045027
861978A4371938   CURTIS       MACE                         CO     90012468043
8619819A851362   FRANCISCO    AGUSTIN                      OH     66012681908
8619857A961928   BONNIE       QUILON                       CA     90008735709
86198584172B46   ROBERTO      HERRERA-HAM                  CO     33067415841
8619861A155945   VERONICA     RAMIREZ                      CA     49025086101
86198778572B62   SHEALYN      CABREL                       CO     90011937785
8619886617B42B   SANTIAGO     NAVARRO                      NC     90011088661
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1313 of 2350


8619915479377B   DESIREE      WIEDENHEFT                   OH     90009081547
86199294272B29   FRED         BALTON                       CO     33031712942
861996A4272B62   LES          ONORATO                      CO     90012826042
8619B325972B46   CHER         GRIFFITH                     CO     33088793259
8619B59655B139   PHILLIP      WASHINGTON                   AR     23045715965
8619B8A3A8B163   MARGIT       MUELLER-MERKEY               UT     90004078030
861B152A841262   ZACHARY      SMITH                        PA     90012705208
861B1967A71938   TOM          PRESTAGE                     CO     32081989670
861B1A82891979   MARIA        PACHECO                      NC     17074850828
861B2234A6194B   MISTI        BROWN                        CA     90006282340
861B2769672B46   EDEL         IDALGO                       CO     90010587696
861B3131A41275   JUSTIN       SKIRTICH                     PA     51069961310
861B341A472B46   EDWARD       ORDONEZ                      CO     90014944104
861B3571397B3B   GREGORY      MCNEIL                       CO     90001445713
861B3597997138   JENNIE       COLBRAY                      OR     90012965979
861B386685593B   MARGARITO    MARTINEZ                     CA     90004298668
861B431335B17B   ALICIA       KING                         AR     23098253133
861B4976451325   ROBERT       WHITE                        OH     90012389764
861B597864B22B   FORDJOUR     KYEI                         NE     90013939786
861B59AA785888   CARLOS       PALMA                        CA     90009909007
861B65A118B154   CHUCK        BRINKERHOFF                  UT     31077585011
861B7247881677   CARRLIN      JENKINS                      MO     90015052478
861B7533741262   KENNETHIA    HARRIS                       PA     90010925337
861B78AA951362   DON          HAMPTON                      OH     90006898009
861B851A572B62   KRIS         BEVANS                       CO     90001235105
861B851A893771   JUSTIN       HARSHMAN                     OH     90014625108
861B9185561921   MICHELLE     RUSELL                       CA     90000411855
861B9713586443   LA           WILLAIMS                     SC     90013947135
861B97A855B183   STEPHEN      COOLEY                       AR     23050867085
861B9A89961928   LISSETTE     PEREZ                        CA     46083860899
861BB422691979   ISRAEL       OPEZ LIRA                    NC     90013654226
861BB7A4685888   CHRIS        SAUNDERS                     CA     90011847046
861BBA65851362   DOMONIC      SMITH                        OH     66080690658
8621123548B154   ROXANNE      RAMBO                        UT     90014782354
8621142437192B   KEN          PRYOR                        CO     90013504243
8621246193B347   EFREN        AGUILAR JR                   CO     33059834619
86213233597B38   MARIO        LUJAN                        CO     90002192335
862158A5297B3B   ANAI         ANTUNEZ                      CO     39003488052
86215A99797B68   LUCIA        SAUCEDO                      CO     33050260997
8621645AA33698   SONDRA       BROOKER                      NC     90014714500
862167A376194B   MICHAEL      PECK                         CA     90012777037
86216888A85888   ARACELI      MANZANO                      CA     90000618880
8621695A893771   LATRESA      FOUNTAINE                    OH     90011109508
8621754322B896   WILL         HAY                          ID     90005775432
8621764A17192B   PATRICIA     FOUST                        CO     90013506401
86218313A8B154   JONATHAN     BLACK                        UT     90010083130
86218456997B3B   THOMAS       SOLORIO JR                   CO     90014614569
86218826172B62   CARLOS       MATOS                        CO     90003598261
86218A14A72B33   STEVEN       LABORIN                      CO     33047350140
86218A7475B183   KASHUNDA     FARR                         AR     90010980747
8621944722B271   JAVIER       SANCHEZ                      DC     90002054472
8621961675B183   VERONICA     TUCKER                       AR     90013456167
8621B13A85B183   NICOLE       LARSEN                       AR     90009581308
8621B3A1577537   DARLA        ROMICK                       NV     90013153015
8621B4A2333698   BRITTLEY     HAYES                        NC     90014714023
8621B732391558   CASANDRA     CASANOVA                     TX     90005737323
8621B969951362   BART         SWIHART                      OH     66005909699
8622176862B896   ELIZABETH    MEUSER                       ID     42058077686
862239A4297138   VIDA         GOMEZ                        OR     90013059042
8622453385B183   FENA         JACKSON                      AR     90010935338
862247A195B139   JEREMIAY     BURNS                        AR     23066237019
86224A6A472B33   BRANDY       FOY                          CO     90003580604
8622537A677537   ROGER        BECKER                       NV     43034683706
86225419972B46   SIG          FIERRO                       CO     90010564199
8622571528B163   MARK         BALLAINE                     UT     90005847152
8622576578B154   ERIKA        PENUNURI GUERRERO            UT     90004907657
86225947A72B62   MICHELLE     DOCKINS                      CO     33049119470
8622598A591979   RALPH        CORDELL                      NC     90013599805
86225A9A347897   QUTISHA      MILES                        GA     90014410903
8622652516194B   PETER        BARNES                       CA     46029685251
8622717395B24B   BETTY        NISSEN                       KY     90015181739
8622821912B965   MA ISABEL    AGUILAR                      CA     90009752191
862282A6A61928   SORAYDA      CARRILLO                     CA     46067242060
86229A4124B22B   MARLA        CAMERLINCK                   NE     90013940412
8622B552491975   RODRIQUE     MBAKI                        NC     90011205524
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1314 of 2350


8622B742A72B46   DWIGHT          BARNES                    CO     90006817420
8622B97398B163   LUCIA           BALLADARES                UT     31016249739
86231671472B62   SANDRA          MORENO                    CO     90015166714
86234163872B33   AMANDA          MENDOZA                   CO     90014431638
8623435168B135   NICHOLE         FAIRCLOTH                 UT     90013513516
86234765A5B24B   WALTER          HALL                      KY     90007787650
8623514AA97B38   PEDRO           LOPEZ                     CO     90013561400
86235A55447897   LAKEISHA        WILLIAMS                  GA     90005630554
8623685225B24B   PATRICK         PERSON                    KY     90013898522
86237797597B3B   SERGIO          YANEZ                     CO     90012847975
86237A8148B168   BRANDON         ALLEN                     UT     90014100814
8623819547B339   STEVEN          NOVAK                     VA     81052771954
8623855599154B   MARIA           PEINADO                   TX     90008045559
8623927637B339   GREYSIS         TURCIOS                   VA     90004362763
86239276472B46   PATRICIA        ROSAS                     CO     90011582764
8623992A59154B   LEO             URRUTIA                   TX     90012589205
8623999429154B   LUZ             RAMIREZ                   TX     90011599942
8623B155991975   DESMOND         GREEN                     NC     90011191559
8623B226172B62   SALVADOR        NUNEZ                     CO     33053492261
8623B93AA51362   CARMEN          HARRISON                  OH     90002529300
8623B9A299154B   DANIELLE        RAMIREZ                   TX     90007079029
8623BA94285936   DEBRA           STRONE                    KY     90006910942
86241227597B3B   NICHOLAS        TRUJILLO                  CO     39007272275
862416A8633698   NIKKI           WALKER                    NC     90014716086
862426A337192B   JACQUELINE      REYNOLDS                  CO     32005246033
8624294A14B22B   JASMINE         WILLIAMS                  NE     90006019401
8624315558B168   ANDREA          MARTINEZ                  UT     90009451555
862441A9772B46   MARIA           DE JESUS                  CO     33064081097
8624433225B24B   CHARLES         SANDERS                   KY     68088383322
862445A6171977   GUERRERO IVAN   ALEMAN                    CO     90014155061
8624517724B22B   ABDIRAHMAN      NOOR                      NE     27018001772
8624523576194B   SAUL            MORALES                   CA     90013152357
8624557728B163   HEATHER         LIDDIARD                  UT     31055335772
8624627199154B   SEALTIEL        ZAVALA                    TX     90014972719
8624631278B168   MELINA          HERNANDEZ                 UT     31076503127
862463A724B22B   KATHY           BUXTON                    NE     27077563072
86246414172B33   RACHEAL         NICOLE                    CO     33073084141
8624679862B237   BRITTNEY        HOLMES                    DC     90012507986
86246A6845B183   ANGELA          COBURN                    AR     90008070684
8624747619154B   REBECCA         PAGAN                     TX     90012004761
8624755A193771   TOYA            HENRY                     OH     64574365501
862476A8172B46   RONDA           TORRES                    CO     33080416081
8624779135B27B   MICHELLE        LEE                       KY     90011107913
862479A6A2B265   ERIC            GASTON                    DC     90000879060
8624842568B18B   JEFF            HIRSCHI                   UT     31091804256
8624B224672B46   PETRA           CASTORENA                 CO     90013862246
8624B616341275   ROBIN           WALKER                    PA     90013736163
8624BA89961936   GREG            FLOREY                    CA     90007400899
86251428372B29   RICARDO         DOMINGO                   CO     90015144283
8625147238B168   LATOYA          FOOTRACER                 UT     90013674723
8625158547B361   ROSA            CARDOZO                   VA     90014045854
86251832997B3B   GABRIELA        LUNA                      CO     90014958329
8625214A15B571   DESIREE         MASCARENAS                NM     90014151401
862521AA247897   TIMOTHY         NELSON                    GA     90014701002
862522A1341262   LASHAYNA        KENDRICK                  PA     51005522013
86252852997B3B   CHRIS           MESTAS                    CO     90005908529
862528A7871938   SUSAN           GUSTAFSON                 CO     90014308078
862531AA391553   DENISE          GUZMAN                    TX     75076811003
86253459A47822   LATINA          WILSON                    GA     14068564590
8625349A172B46   MELISSA         FALLON                    CO     90004424901
86253766A91837   ORQUIDEA        MUNGUIA                   OK     90010027660
8625398155B183   CHERYL          WIILIAMS                  AR     23058479815
862542A4141262   MARQUAILIA      LANGSTON                  PA     90014822041
86254654572B46   RICKY           PENA                      CO     90011166545
8625527A177537   JOSE            MENDOZA                   NV     43089572701
86255397A61928   MATTHEW         DAVIDHIZAR                CA     90009973970
8625547AA2B896   CRYSTAL         LUDLOW                    ID     42012924700
8625594364B22B   RAY             MAYFIELD                  NE     27078579436
862559A628B168   ANDREA          MORENO                    UT     90012929062
862561A1197B3B   NICK            ANGELO                    CO     39030131011
8625673489154B   JUAN            MARTINEZ                  TX     75086247348
86256886872B29   MARIA           AQUINO                    CO     33052478868
86256A23191553   JORGE           CUELLAR                   TX     90005140231
86256A26791837   BRANDY          DOYLE                     OK     90012530267
86256A94341275   PHILLIPE        PETITE JR                 PA     90013530943
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1315 of 2350


86257321772B46   MAYTE               PAREDES               CO     33010003217
86257621872B33   MARIA               LUGERIO               CO     33066476218
8625777128B168   DAVID               HERREN                UT     90013197712
8625794926194B   DARLETTA            SHERN                 CA     46071439492
8625866824B22B   EDDIE               JOHNSON               NE     90013966682
862591A6455945   CARLOS              RODRIGUEZ             CA     90008841064
8625927AA77537   ARTURO              MONTOYA               NV     43096822700
86259A42861963   RICARDO             MARTINEZ              CA     46071210428
8625B1AA371938   MIRIAM              COCKERELL             CO     90005461003
8625B543272B46   MARLO AND SUXETTE   GONZALEZ              CO     90014775432
8625B6A4633698   JESSICA             ALLEN                 NC     12053426046
8625B8A255B24B   ROY                 WEAVER                KY     90013958025
86261368872B62   JOSE EDUARDO        MUNOZ                 CO     90015143688
86261553553B44   CELESTE             ANDERSON              CA     90014025535
86261579272B46   MARK                SMALL                 CO     90010975792
86261A26161928   MIGUEL              PLASCENCIA            CA     46010770261
86262779476B82   ABITBOL             MEYER                 CA     90006797794
86263453772B46   JASON               SENA                  CO     90012674537
86263465A85856   BARRY               HOLLOWAY              CA     46088964650
8626372158B163   JEREMY              ALLAN                 UT     31023797215
86263869A97B3B   SHERYL              REMMELS               CO     90004288690
8626415196198B   LIZETH              RAMIREZ               CA     90008821519
8626444859154B   JOHNNY              GARCIA                TX     90015214485
86264699372B33   HELEN               TAYLOR                CO     33027066993
8626482293B324   JOESPH              CLARK                 CO     90007278229
8626551555B571   KRISTEN             ROMERO                NM     90015405155
86266113372B31   TRINA               COLLIER               CO     90008521133
8626618A161928   MICHAEL             RODRIGUEZ             CA     46012371801
8626656524B22B   RAY                 GIBSON                NE     90007335652
8626685669374B   YUNUS               LASANIA               OH     90011668566
86266A71491837   CATHERINE           PATRICK               OK     90012530714
86266A9915B24B   DONNA               BURBA                 KY     90012550991
86267173472B33   GUSTAVO             CENTENO               CO     90012461734
86267526172B46   GEORGE              WEST                  CO     90014205261
862675AA491979   JOSE                BENITEZ               NC     90012075004
8626771978B168   MELISSA             CHANDLER              UT     90005207197
8626829858B168   OSWALDO             CASTRO                UT     90012202985
86268879172B33   ALVARO              RAMIREZ               CO     90011148791
8626B24894B22B   ALEJANDRO           GAINES                NE     27086372489
8626B38364B296   RAMIRO              AGUIRRE               NE     90013733836
8626B733785856   JAPHALDO            TRENCHFIELD           CA     90009927337
8626B81A65B24B   JANNITA             WILSON                KY     90014898106
8626B882372B33   RODRIGO             GARZA                 CO     90013638823
8626B97675B532   RON                 ZELLERS               NM     90007529767
8627147675B24B   MELISSA             WADDELL               KY     68077884767
8627241664B22B   MICHAEL             CLARK                 NE     27036954166
8627325852B28B   FRANKIE             BUTLER                DC     90007222585
8627396AA5B124   TAMIKA              JOHNSON               AR     90008709600
86273A11A91975   MIRNA               NOLASCO               NC     90001860110
86274917A51362   DEMECO              DUNNOM                OH     90012629170
86275A33647897   SHARLENE            EXUM                  GA     90010220336
862763A372B896   MARIA               CORTES                ID     42058643037
86276A6434B22B   JAMES M             FISCHER               NE     90010680643
86276AA8A41275   KISHORE             ANNAVARAPU            PA     90014170080
862771A9451362   TINA                RUSH                  OH     90011871094
8627777935B183   TENNIE              PERRY                 AR     90014097793
86277A86871977   ASHLEY              TURNER                CO     38069760868
8627827AA97138   DANELLE             KASPRYK               OR     90010642700
8627838914B22B   JODI                MORALES               NE     27083903891
862786A565B183   DEBORAH             TROTTER               AR     90009136056
8627877795B24B   EMILY               DARNELL               KY     90007037779
862791A5A97B3B   BROOKE              STANTON               CO     39090001050
8627957639154B   KARINA              ALVAREZ               TX     75090065763
8627B16AA2B86B   AARON               SCHWENDIGER           ID     90008081600
8627B23818B168   FABIEN              BAHATI                UT     31098692381
8628146469125B   TAMIKA              SIMMONS               GA     90006424646
86281621972B33   STEVEN              BURCHFIELD            CO     90013836219
862819A1391837   SONDRA              SHAW                  OK     21099009013
86281A68A71938   JENNIFER            LIEBSON               CO     90012420680
86281A75A5B183   DAVONNE             LEWIS                 AR     90010880750
8628274A691975   LUIS                ENRIQUE MONDRAGON     NC     90015317406
8628451A997B38   VANESSA             DOMINGUEZ             CO     90005755109
8628539696194B   MELISSA             SEAMANDEL             CA     90004713969
8628595545B24B   DICHON              GULLEY                KY     90011319554
86287745A91943   MIROSLAVA           HINOJOSA              NC     90008507450
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1316 of 2350


86287896A72B29   BRENDA         ROWAN                      CO     33067228960
86287987672B33   JUAN           MONTOYA                    CO     90000119876
86287A3528B168   GLUKE          BAUMANN                    UT     90012570352
86288592A81677   MARY           VASQUEZ                    KS     90007115920
86288729997B38   MERYLEEN       ARABE                      CO     90011197299
8628876135B183   CHASTITY       VAUGHN                     AR     90013197613
86288A17885936   NUMBE          DUNIA                      KY     90011130178
8628982272B896   THOMAS         COVELLI                    ID     90006178227
86289925A9154B   STEPHANIE      ESPITIA                    TX     90003879250
8628B416477537   CHERILYN       SCHLANGE                   NV     43046384164
8628B41794B22B   LONNY          PARTEE                     NE     90012394179
8628BA46251362   ERIC           BROCK                      OH     66076950462
86291351A91979   ANGELA         SIMMONS                    NC     90014573510
86292A75985936   BEN            JOHNSON                    KY     90014100759
86292A97272B46   DIANA          DODDS                      CO     90013100972
86293A6565B139   SHEILA         MILLER                     AR     23062010656
86293A84491975   JEANNINE       DAVIS                      NC     17052140844
86293A98672B46   MAYRA VIANEY   HERNANDEZ                  CO     90013100986
862941A7A71938   STEPHARA       FINK                       CO     90001781070
8629475286194B   HERIBERTA      TORRES                     CA     90014367528
86294A16933698   ANTHONY        FULLER                     NC     90011250169
8629656597192B   SHIRLEY        HERRERA                    CO     32058845659
86296A21572B33   FATIMA         ALFONSO AMADOR             CO     90013850215
8629757429154B   RICARDO        RUIZ                       TX     90008045742
8629769637192B   ERIKA          GARCIA                     CO     32073976963
8629866256194B   ISMAEL         SEERY                      CA     90012926625
86298936697B38   NARYOLI        CORTEZ                     CO     90011029366
8629956679154B   JESSICA        CARILLO                    TX     75011155667
8629977227B496   VERONICA       GUZMAN                     NC     90001467722
86299A29181677   HECTOR         FABELA                     MO     90015250291
8629B768733698   NICHOLAS       MACK                       NC     90014717687
862B1267793771   WILLIAM        PATRICK                    OH     64581012677
862B135A485856   DAWN           GAUCI                      CA     90003973504
862B158519154B   SANDRA         HERNANDEZ                  TX     75080765851
862B1649991837   MONICA         ESCAMILLA                  OK     90011526499
862B1849A77537   JOSEPH         CANNON                     NV     90012808490
862B1A79672B46   JENNIFER M     BIAS                       CO     90013100796
862B23A5477537   LORENA         MONTALVO                   NV     90007743054
862B261564B22B   KARA           COFFIN                     NE     90009916156
862B28A1785936   SUSAN          GRIFFIN                    KY     90010168017
862B2AA2291979   TIFFANY        HINTON                     NC     90012990022
862B318A75B183   PAULA          BOATRIGHT                  AR     90004141807
862B319458B166   SAMUEL         ZAMORA                     UT     90003381945
862B3497581686   ROCHELLE       DYE                        MO     90001184975
862B372585B24B   ARMENIA        PEREZ MORALES              KY     68084217258
862B3A4515B24B   TRAVIS         HOVIOUS                    KY     90013110451
862B414888B168   ANDRES         DE LA FUENTE               UT     90011311488
862B4538861928   CAROLINA       FLORES                     CA     90011385388
862B4593171977   JUAN           FUENTES                    CO     38068805931
862B45A8697B68   JEFFERSON      SHELTON                    CO     90005805086
862B4A3734B22B   ROBERTO        FERNANDEZ                  NE     90013940373
862B4A73155945   AUDREY         DIAZ                       CA     49087330731
862B539933B391   SUSAN          PORINIO                    CO     33062643993
862B5728351362   KEVIN          REID                       OH     90000457283
862B696927192B   TIZOC          RODRIGUEZ                  CO     90011489692
862B7645133669   DEVON          TATUM                      NC     90008336451
862B8128172B46   KEISHA         MAKONESE                   CO     33068271281
862B81A5871938   ZACK           PETERSEN                   CO     90005531058
862B8228681677   LINDA          KOPFER                     MO     90002982286
862B8255991975   WAYNE          NOTTINGHAM                 NC     17026892559
862B8868447897   YOLANDA        CLIETT                     GA     90014848684
862B899785B27B   AICHAMAHY      AMED                       KY     90005859978
862B9284891553   MARIA          GUTIERREZ                  TX     75014832848
862B9358691837   BILLIE         JOHNSON                    OK     90013883586
862B9396A5B24B   JUSTIN         SILLIMAN                   KY     68063813960
862B9467172B46   ISHEA          MONTEZ                     CO     90013114671
862B9469461928   CHRISTOPHER    BRIGHT                     CA     90012824694
862B9A63571977   RAYMOND        MONTANO                    CO     90013590635
862BB3A4772B62   MANUEL         GONZALEZ                   CO     90013923047
862BB461A61928   CINTHIA        MEZA                       CA     90013104610
862BB5A7141275   ZACHARIA       ZAREMBA                    PA     90013045071
862BB728291837   SAMMUAL        WOODALL                    OK     21013197282
862BB778197B68   MAURICIO       DOMINGEZ                   CO     33058217781
862BB844491553   JUAN           FAVELA                     NM     75017208444
862BB844A97B38   SHAYLA         MARTINEZ                   CO     90011298440
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1317 of 2350


8631169295B139   LASHANDA         WILLIAMS                 AR     23031106929
8631189938B168   JESSICA          JONES                    UT     31083558993
863118A257B469   LINDA            MOORE                    NC     90008298025
86311947472B46   ANJELICA         CASTILLO                 CO     33056619474
8631195735B183   SELENE MARYSOL   GARCIA LUNA              AR     90007519573
8631214574B22B   JOANN            HILL                     NE     90009911457
86312282872B29   JOE              RODRIGUEZ                CO     33016742828
8631235438B154   ASHLEE           NIETO                    UT     90008203543
8631267A871977   DOROTHY          MARTINEZ                 CO     90003696708
86312811197B38   ORLANDO          EIZQUIERDO               CO     90012808111
86312974797B3B   TOBY             MAGEE                    CO     39030999747
8631424A697B38   GABRIEL          CRUZ                     CO     39072222406
8631437455B24B   MARIE            TOLIVER                  KY     90002283745
863143A4791975   KANDIE           SANTOS                   NC     90007663047
8631523185B24B   CYNTHIA          CLARK                    KY     90011672318
8631547A38B154   JENNY            STEARNS                  UT     90014344703
863164A2485856   JESSICA          ZIMMERMAN                CA     46050744024
86316887A91242   LISA             LEARY                    GA     14502088870
86316A52161928   VICTOR           GUITIERREZ               CA     46093380521
8631718784126B   JOHN             SCHOEMER                 PA     90005431878
8631749A25B24B   ROBIN            OWENS                    KY     90012864902
86317755A71977   DAVID            PRESTON                  CO     38096327550
86317A7488B136   JESSICA          BUXTON                   UT     31004200748
86318231A97B38   EMMANUEL         ARVIZU                   CO     90013922310
86318429172B33   KAYLA            SILLETTO                 CO     90011874291
8631851657B349   ELIZABETH        PIERCE                   VA     81067875165
86319614A72B46   ERIKA            CAMPBELL                 CO     90014746140
86319A68941262   MATT             CLARY                    PA     51068740689
8631B445351362   BRANDI           PERRY                    OH     90013294453
8631B584972B33   JALIEIA          COLE                     CO     33038365849
8631B669671977   TYLER            BACKES                   CO     38019516696
86321645197B3B   JOSE             CARDENAS RIVERA          CO     90012996451
863217A9972B62   HOPE             ELIZALDE                 CO     90014727099
86321A31672B46   STEPHANIE        CHAPPARO                 CO     90010810316
8632218429154B   NORMA            FLORES                   TX     75083511842
8632264AA8B154   BRIAN            OLVIER                   UT     90014026400
863227AA541275   GASPAR           ORTIGA                   PA     90014457005
863231A2172B46   MARK             KANIPE                   CO     90013101021
8632358AA72B46   PATRICIA         GARCIA                   CO     33061055800
8632392919154B   VIVIAN           VILLAREAL                TX     75088799291
8632426315B183   SHANECE          HILL                     AR     90008032631
8632497386194B   MARC             COTTOM                   CA     90013109738
8632499315B139   TIFFANY          FOLSOM                   AR     90005889931
8632546AA47897   LANASHA          SMITH                    GA     90014834600
86326637772B33   FRANCISCA        REYES                    CO     90013566377
863268A874B22B   RACHELLE         MCHENRY                  NE     90014418087
86326A27951362   BRANDON          WARMAN                   OH     90013410279
86326A5646194B   JOSE             SANDOVAL                 CA     90011490564
8632764355712B   HEBER            LEYVA CORDOVA            VA     90008826435
86327A8148B154   PAUL             TINKER                   UT     31038000814
86328139A33698   SANDRA           SUMNER                   NC     90000721390
86328367A81677   KELAN            BRISCOE                  MO     90010563670
8632843535B24B   KARLA            THOMPSON                 KY     68051574353
863288A7871938   SUSAN            GUSTAFSON                CO     90014308078
86328A26A2B249   JOE              JONAS                    VA     90006340260
86328A31154196   BRANDIE          POWELL                   OR     90001530311
86329244672B33   CANDACE          PFEIFER                  CO     90009232446
8632939A791979   RODAIN           NSHIMBA                  NC     90006173907
8632B169372B29   ANTONIA          LOPEZ                    CO     33071211693
8632B82985B24B   TIFFANY          OWENS                    KY     90002988298
86331114972B62   AMBER            LADEHOFF                 CO     90010891149
8633113539154B   MARIA            LECHUGA                  TX     90013321353
8633186A297B3B   ELIA             BERMUDEZ                 CO     90010858602
86331A94572B62   ALEJANDRO        BLANCA                   CO     90012660945
86331AA1571938   DANNY            ADAMS                    CO     90013250015
863321A829154B   ASHLEY           TIBUNI                   TX     90015221082
86332513297B3B   JESUS            ARREOLA                  CO     90009085132
86332619172B33   JOSH             BOEGE                    CO     90014346191
863327AAA6194B   MAGDALENA        CARDONA                  CA     90011427000
86332988397B38   ARACELY          BAEZA                    CO     90012419883
8633382734B565   JESSICA          ROUSEY                   OK     90008628273
863338A2A6194B   BLANCA ESTELA    BARAJAS                  CA     90013758020
86333A83A4B22B   CLAUDE           BELL                     NE     90013940830
863341A2772B46   BRANDON          LEVI                     CO     90013101027
863351AA691837   PATRICIA         GRIMSHAW                 OK     21006821006
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1318 of 2350


86335373A72B58   TRACY           BUELS                     CO     90012133730
8633549375B24B   ERIC            BROWN                     KY     90010064937
863355A519154B   CHRISTOPHER     BRACKEEN                  TX     90009165051
86335761772B46   VALERIE         SKIVA                     CO     90013467617
8633597564127B   DIONNE          BECK                      PA     90001319756
86335A5A491975   SHENG           GUO                       NC     90014970504
863364A158B168   CHRISTIAAN      JAY                       UT     90014244015
86336836597B3B   SELENE          GONZALEZ-MAYNEZ           CO     90009128365
8633696418B168   CHRISTIAAN      JAY                       UT     90012769641
86337A2A677537   JOEL            MORILLON                  NV     90013940206
86337A96972B62   ANGELINA        HICKS                     CO     90010910969
8633849416194B   BIVIANA         FLORES                    CA     90006454941
86339183872B62   JERIMIAH        RAMOS                     CO     33019681838
8633925919154B   MERICA          BRIGHT                    TX     75004422591
8633944955B271   TABATHA         BEISLER                   KY     90011674495
863395A9193783   TYONDRA         CAMERON                   OH     64545965091
86339A16241275   MEGAN           COOPER                    PA     90014400162
8633B88A555945   BERRY           SKID                      CA     90013158805
8634169317192B   TYLER           ROE                       CO     32058736931
86342284772B62   THERESA         OWENS                     CO     33074712847
863426A965B183   LAKIESHA        GOMILLION                 AR     23014986096
863429A5273276   FLIPE           GARICA                    NJ     90014259052
8634453785B27B   MARIO           RODRIGUEZ                 KY     90006965378
863446AA872B62   JASMINE         JACKSON                   CO     90013336008
8634474AA91553   AMANDA          FOWLER                    TX     90006787400
86344A23297B38   MEGAN           CONAHAN                   CO     39035420232
86344A99791979   LILIANA         BRISENO                   NC     90012040997
8634516225B27B   GALA            MOSELEY                   KY     68069881622
8634528345B24B   LISA            HAGAN                     KY     68087212834
86345579272B46   MARK            SMALL                     CO     90010975792
8634636532B896   ROBERT          HOYOS                     ID     90003773653
8634743A472B46   LEONEL          CALDERON                  CO     90013364304
86347A2A677537   JOEL            MORILLON                  NV     90013940206
86347A32691837   LORA            REYNOLDS                  OK     90010080326
86347A86272B33   JACKIE          MEDINA                    CO     33057960862
86348271A71977   ADRIANA         CARDENAS                  CO     90004612710
8634931987192B   ROBERT          MARTIN                    CO     32058743198
86349513572B46   MADRID          MICHAEL                   CO     90009245135
8634973236194B   MARIA           SAMBRANO                  CA     90014417323
8634977355B24B   TAYLOR          SCHLACHTER                KY     90014617735
86349A65A61928   ALEXIS          GENTRY                    CA     46006620650
8634B5A9185856   NICOLE          VOGT                      CA     90013375091
8634B92318B168   SHELLY          GILLESPIE                 UT     31014169231
863519A3955945   STEVEN          AIELLO JR                 CA     90014479039
8635334516194B   LOUIE           GARCIA                    CA     90015253451
86353A8845B183   BRITTANY        KELLEY                    AR     90013650884
8635446A555945   ALYSSA          VALDIVIA                  CA     90011484605
863548A2671977   ANDREW          MORTENSON                 CO     90013688026
863549AA172B62   ENRIQUE         ARMENDARIZ                CO     90012419001
86354A49791837   TAKIYAH         WEAVER                    OK     90000690497
86355A5A25B24B   FALCON          LUMPKINS                  KY     90008980502
86355A81597138   KHRISTIANN      MCKINNEY                  OR     90014510815
86356148A91374   MARIA           GLORIA                    KS     90004821480
86356235872B46   ALFREDO         ALCANTARA                 CO     90014722358
863562A3172B33   SHANE           BERNAL                    CO     33058532031
8635637465B24B   SANDRA          COOK                      KY     90014313746
8635638754B22B   SHANICE         WRIGHT                    NE     90013343875
86356988397B38   JENNY           CHAVEZ                    CO     39045789883
8635728128B154   BILL            WILLIAMS                  UT     90014052812
86357776A33698   MAYA            JENNETTE                  NC     90014727760
86357837397B3B   ORLANDO         ARAGON                    CO     90011308373
86358187297B38   ESDRAS          LOPEZ                     CO     39088261872
86358294A5B568   ALICIA          EDELHOFF                  NM     90004312940
86358329A4B22B   JEFFREY         BUCKWALTER                NE     90012033290
8635965348B163   PATRICIA        LERMA                     UT     31015856534
86359A94793771   PERRY           VALINTIN                  OH     64590920947
8635B453851362   BRIAN           NIXON                     OH     66082164538
8635B455691979   JAMOL           BLOW                      NC     90015284556
8635B64A291837   DONALD FAY JR   DEAN                      OK     90013916402
8636138268B163   TRAVIS          MARTINEZ                  UT     90006473826
86362115297B3B   MARIA           LOPEZ                     CO     90014901152
8636211A272B46   LINDA A         ANDERSON                  CO     90013101102
8636228862B896   DAR             JONES                     ID     90011832886
8636259644B22B   CHYANNE         DAVIS                     NE     90012755964
86362A47833698   PASSION         WILLIAMS                  NC     90014720478
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1319 of 2350


86362A89671938   LORENZO      WATKINS                      CO     90000530896
86362AA4A72B98   MATTHEW      ESSEX                        CO     33011290040
86363877A93771   TERROD       TURNER                       OH     90012788770
863639A8197B38   GEORGE       NARANJO                      CO     39093769081
86363A2698B163   OSCAR        SANDOVAL                     UT     31059510269
86365381172B33   LOLITA       ALEXANDER                    CO     33042343811
86365591797B38   JOEY         DIAZ                         CO     90015215917
8636648628B163   MELANIE      FERRIN                       UT     31099264862
86366A99841262   CHAD         HARRIS                       PA     90006330998
8636733824B54B   CASEY        DOWLING                      OK     90009293382
8636756688B168   KIM          GRIFFITHS                    UT     31066215668
86367A2A241262   MICHELLE     SPORIO                       PA     90006330202
86368218372B62   JOSE         MERCADO                      CO     90012122183
86368865972B46   VINC         BROWN                        CO     90009238659
86368955272B46   MARIO        OROZCO                       CO     90014109552
86368A1A897B3B   KATRINA      GARCIA                       CO     90013720108
86369155472B62   TRACI        SCHOONOVER                   CO     90002511554
8636919A891975   KAREN        ALEMAN                       NC     17059191908
8636B38A751362   RICHARD      BUTLER                       OH     90013343807
8636B4A8171977   CAROL        MACIAS                       CO     38015284081
8636B649191975   CARMEN Y     ENGLISH                      NC     90011916491
8636BA2515B24B   JAMERICA     ENGLISH                      KY     90011320251
8637115738B168   HANS         GREEFF                       UT     90012751573
86371294797B38   ABEL         PALACIOS                     CO     90001082947
8637211A772B46   JAVIER       DENA                         CO     90013101107
8637236432B896   MARIA        HINOJOSA                     ID     90011833643
8637293A361921   ERICA        BARRERA                      CA     90007829303
86373381272B62   KARL         NELSON                       CO     90013643812
86373495572B33   INITHA       STUCKEY                      CO     33062384955
863734A7471977   MARTIN       CHACON                       CO     90014494074
8637425948B168   SAM          GULL                         UT     90004762594
8637476482B896   MANDI        BEYL                         ID     42093007648
86374866A51362   LEOLA        GILMORE                      OH     66031978660
8637486734B22B   JUSTIN       MOATS                        NE     90011428673
8637486A285936   LUIS         MARTINEZ                     KY     90010078602
8637516568B168   GEORGE       BUTTERWORTH                  UT     31007091656
86375A73861928   JUANITA      BERGARA                      CA     90012740738
86376445472B62   ALBERTO      FRAISO                       CO     90011854454
8637788675B27B   CALVIN       BROADNAX                     KY     90008478867
86378674772B62   EVETTE       ELDRIDGE                     CO     33038016747
8637895328B168   HARDY        LAURA                        UT     31039289532
8637989712B981   ANA          BARAJAS                      CA     90014688971
8637B23276B398   ZACK         WISWELL                      NH     90015032327
8637B328172B33   ALICE        BALDWIN                      CO     33060413281
8637B49A747897   LAQUANDA     CHATFIELD                    GA     90014834907
863819A7391242   RICHARDSON   HAZEL                        GA     14587429073
8638274A197B3B   CONNIE       MONTOYA                      CO     90010847401
863833A9985856   LAURA YENI   ESPEJO                       CA     90010433099
86383541297B38   FRANK        ADAMS                        CO     90007485412
86384862797B38   MANUEL       DIAZ                         CO     39095238627
86385231397B3B   MARIA        ROJAS                        CO     90014752313
86385762872B2B   ERIKA        AVITIA                       CO     90005577628
86386231A97138   DANIEL       BERNARD                      OR     90000122310
863862A362B28B   KEVIN        BLYTHER                      DC     90008182036
863874A9A47897   TONYA        WIMBUSH                      GA     14040694090
863881A6971938   TASHAL       FICKAS                       CO     90013281069
8638827335B183   MAUREEN      WILLIAMSON                   AR     90013912733
863885A5261928   DAISY        CORTEZ                       CA     90010995052
8638875A333698   MONICA       SCOTT                        NC     12017947503
86388894372B46   RANDI        BROWN                        CO     90013228943
8638911975B183   DELORIS      HUBBERT                      AR     90014521197
86389317997B38   AMANDA       TURLEY                       CO     90002313179
8638933A991975   REGGIE       DUNN                         NC     90013633309
8638948754B22B   NATISHA      ODJIDJA                      NE     27025764875
8638966A497B3B   PRISCILLA    WEDDERDURN                   CO     90014666604
8638981645B335   BRIAN        HERMAN                       OR     90013358164
8638B643472B62   SILVIA       BUJANDA                      CO     33058936434
8638B646A81677   ARANO        GERARDO                      MO     90010716460
8638B728477537   ANA          FARIAS                       NV     90012977284
8638B94465593B   NOEL         PRADO                        CA     90014049446
8638B99AA91979   ALEXIS       MCGILL                       NC     90015299900
8638B9A6447897   RODNEY       WOODARD                      GA     90005259064
86391384A5B24B   APRIL        GAUS                         KY     90013433840
8639171545B17B   ISAAC        AKINS                        AR     90004267154
86391A1A15B183   PATSY        STEPHENSON                   AR     23066520101
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1320 of 2350


86391A5179154B   ROSY             MARTINEZ                 TX     90007410517
86392768672B33   ROBERTO          RASCON                   CO     90010677686
8639282978B163   JUSTIN           STREEPER                 UT     90004078297
8639424712B896   ERIC             HILL                     ID     90007572471
8639462A141262   BERNADETTE       KENNELLY                 PA     90013686201
86394A65A61928   ALEXIS           GENTRY                   CA     46006620650
8639528196194B   LILIANA          RAMIREZ                  CA     90013152819
8639597A24B22B   STASHA           CARPENTER                NE     90000159702
8639614745B183   SHERMAN          DUCKERY                  AR     90012531474
863961A5677537   MARIO            CORTES-ALVAREZ           NV     90003481056
86396523672B29   ORLANDO          PINZON                   CO     90005485236
8639669A25B24B   GREGG            KALTOFEN                 KY     68008066902
86396926A61928   DAVID            MORA                     CA     90009959260
86397121A97B38   WENDY            VALDEZ                   CO     90006161210
86397236772B46   JESSICA          BENTOSINO                CO     90006202367
8639749955B243   WESLEY           PARTON                   KY     90008624995
8639784778B168   RODOLFO          GAYTAN                   UT     90006818477
86398612972B33   KRISTY           MIERA                    CO     90007946129
863993A376194B   JOLONDA          WEST                     CA     90009413037
8639B21269154B   EDUARDO          SANDOVAL                 TX     90007042126
8639B323385888   MARTHA           SANCHEZ                  CA     90005973233
8639B32499154B   EDUARDO          SANDOVAL                 TX     90012873249
8639B334941275   ROBERT           FORD                     PA     90014493349
8639B449597B38   TOSHA            CARRASCO                 CO     39073094495
863B1531897138   JOSE             BRAMBILA                 OR     90006895318
863B163248B154   HEATHER          BURGER                   UT     90013946324
863B2214172B29   GLENDA           THOMAS                   CO     33029272141
863B236A32B896   DUSTIN           WASSOM                   ID     42013563603
863B255A997121   JASON            MOWRY                    OR     90008155509
863B2627172B33   TYLER            WALLIS                   CO     33015956271
863B2692991979   ANTHONY          DELLA PENNA              NC     90012886929
863B28A7871938   SUSAN            GUSTAFSON                CO     90014308078
863B328A747897   SHENEQUA         RANDALL                  GA     90008792807
863B34A818B154   JESSICA          HECKMAN                  UT     31031384081
863B3839A51362   MATHEW           STEGMAN                  OH     90012918390
863B3883555945   RONALD           EVISON                   CA     90008898835
863B4289A72B33   JOSHUA           WHITE                    CO     33072912890
863B4666185936   JENNIFER         BLAKE                    KY     67056736661
863B4788333698   ANITA            GILLIES                  NC     90014717883
863B5665772B46   MARIA            ESCOBAR                  CO     90010596657
863B5695285856   LORENZO          MOLLINA MARTINEZ         CA     90011506952
863B6184255945   ALFREDO          LARA                     CA     90013831842
863B6313785936   STEPHANIE        BURTON                   KY     90012333137
863B696839154B   MARCO            CAMPOS                   TX     90012439683
863B7684847897   KYNA             WILLIAMS                 GA     90005126848
863B773365B183   KELLISHA         WHITE                    AR     23092907336
863B7846A33698   TANIKA           THOMOS                   NC     90014718460
863B816458B154   KYLE             KIPP                     UT     31070831645
863B864389154B   VICTOR           OLGUIN                   TX     90013286438
863B86A1933698   LATONYA          LEWIS                    NC     12005836019
863B9164271938   CRUZ             DURAN                    CO     90014121642
863B9436397B3B   TERESA           MERCADO                  CO     90000834363
863B9468772B33   RANDOLPH         MOURNING                 CO     90010304687
863B9832351362   BONNIE           WEBB                     OH     90009198323
863B9876357121   KHADEGA          MAHFOUD                  VA     81031228763
863BB14182B236   ANOTHONY         DAVIS                    DC     90008871418
863BB27938B154   ELIZABETH        RAMIREZ                  UT     90012202793
863BB386A91975   SHIRLEY          BRYANT                   NC     90007433860
863BB475A72B62   KOSTYANTYN       BORULKO                  CO     90014454750
863BBA7A797B68   OSVALDO          SANABRIA                 CO     33072820707
86411216A2B28B   T                SMOKE                    DC     90007232160
86411373A72B33   KAY              REICHERDT                CO     33085283730
8641146A991975   CANDACE          ELLIOTT                  NC     90004254609
86411688797B3B   KAYLA            BARKLEY                  CO     90012196887
8641191362B896   MARIA DE JESUS   MENDOZA                  ID     90006929136
86411A17A93771   JIMMY L          HOWARD JR                OH     64504070170
8641227335B183   MAUREEN          WILLIAMSON               AR     90013912733
8641266729377B   FRANK            GRIFFITH                 OH     90013196672
8641296766194B   EVONY            FRAZIER                  CA     46066439676
86412A4AA72B33   MARY             CASTRO TELLO             CO     90013170400
864131A1A72B62   KASANDRA         HARRIS                   CO     90014371010
8641364376194B   DAMON            AVED                     CA     46013916437
86413685A8B154   JUSTIN           CASE                     UT     90013416850
8641382A75B24B   LATOYA           EDELEN                   KY     90004398207
8641624478B154   STEVE            ECHAVARRIA               UT     90010002447
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1321 of 2350


864162A4941262   MILTON       NORRIS                       PA     90014822049
8641669895714B   MAURICIO     BENITEZ                      VA     90003896989
864168AA997B3B   TERESA       GARCIA                       CO     39002508009
86416A36281677   BERTIN       WEANT                        MO     29018150362
8641733A197B38   IVAN         ARRAS                        CO     90012813301
8641747AA51362   ALYSHIA      BURDEN                       OH     90014854700
864184A2185888   CLAUDIA      HUBBELL                      CA     90014334021
8641854A191837   PAYGO        IVR ACTIVATION               OK     90013715401
86418683A5B17B   ADRIAN       BREWER                       AR     90010536830
86418868872B29   HOLLY        KENT                         CO     33050158688
8641897555B24B   SUSANNA      CROWE                        KY     68029689755
86418A3658B136   RACHEL       JACKSON                      UT     90007880365
86419119897B3B   MICHAEL      LOPEZ                        CO     90011511198
8641936929154B   BERENICE     FELIX                        TX     90012383692
86419616A93771   BRANDON      SIBERT                       OH     90012356160
8641987415B183   SHANITRA     GLOVER                       AR     90014798741
8641B634785936   CHRISTY      HERNANDEZ                    KY     90006506347
8641B823647897   JOHN         SMITH                        GA     90014448236
8641B884A71977   CANDICE      ESPINOZA                     CO     90011768840
8641B972A33698   RETEKA       OGLESBY                      NC     90014729720
8641B981655945   RAUL         DIAZ                         CA     90012909816
8641BA22A97B38   FRANCES      ROMERO                       CO     39003550220
8641BA3468B154   ALEJANDRO    SIERRA                       UT     90011270346
8642115119154B   LUIS         HERNANDEZ                    TX     90013601511
8642224538B154   RAYMOND      MANNING                      UT     90008332453
8642257A672B98   MARTIN       ORTIZ                        CO     33096545706
86422755197B3B   JOSEPH       MERCADO                      CO     90010827551
864229A2A72B46   MARGARITA    PRADO                        CO     90008489020
8642349A85B183   RANMOIN      SANDERS                      AR     90013874908
864241A782B896   NITIN        LAL                          ID     90011841078
86424541A8B168   TRISTA       DAVIS                        UT     31068875410
8642489A485888   CATHI        CAMERON                      CA     90005978904
86424939672B46   JOSEPH       NICKERSON                    CO     33013389396
86424A46933698   MARSHA       EVANS                        NC     90014730469
864256A6597B38   CHRIS        STEWART                      CO     90013406065
86425A2529154B   JESUS        VILLALOBOS                   TX     90013030252
86426498997B3B   DOROTHY      RAMIREZ                      CO     90013764989
86426654472B46   ANGELICA     DURAN                        CO     90013386544
8642695848B154   ANASTASIA    MCLAUGHLIN                   UT     90012819584
86426A83997138   AMBER        BILLS                        OR     90008580839
86427129A51362   LISA         SHADEE                       OH     66067621290
8642786454B22B   SHANNON      GRAY                         IA     27008288645
86429344A5B24B   MARK         ALLEN                        KY     68064243440
86429461172B29   PEGGY        SARMIENTO                    CO     33071204611
8642B2A2891837   FLORENTINA   GARCIA                       OK     90010082028
8642B4A7797B3B   BILLY        HANAH                        CO     90015584077
8642B512897B38   CHRISTINA    MARTINEZ                     CO     90009775128
8642B739A61928   NORMA        LIZARRAGA                    CA     90014907390
8642B943285936   FELICIA      BROWN                        KY     90006959432
8642BA17771938   DEBORAH      KUHEL                        CO     32031090177
86431325572B29   NICHOLE      DUVALL                       CO     90014573255
8643158449154B   JOSE         DOMINGUEZ                    TX     90013925844
8643217A18B135   ALENA        CHRISTENSEN                  UT     90014161701
8643225824B261   KIRA         SIMONS                       NE     90014142582
86432A56441275   DONNA        CARDOME                      PA     90011980564
8643445482B896   COLLEEN      GREENE                       ID     42037734548
8643481A18B163   CHAMBRAY     MOWER                        UT     90004528101
86435539A61928   CLAUDIA      AQUIAR                       CA     90010995390
8643558288B163   JUSTIN       BLANCHARD                    UT     90008585828
864359A5885856   AMY          HOCH                         CA     46090339058
86436123972B46   ROBERT       MACKENZIE                    CO     33050601239
86436364A61922   LINDSAY      KROSBY                       CA     90008923640
86436641A41262   BONNA        BEDLAN                       PA     90014296410
86436A34597B38   TAMMY        GEORGE                       CO     90008470345
8643759A897B38   AMANDA       DOLPHIN                      CO     90003985908
8643819A397138   DREW         RICKARD                      OR     90014741903
86438688A71977   CHERYL       STOUFFER                     CO     90012886880
8643895A561928   JOHN         JANNY                        CA     90013819505
86438A28461998   LILIA        SALAZAR                      CA     90012350284
86438A6677B361   JAIME        RIVERA                       VA     81007180667
86438AA5781677   ANDRE        JONES                        MO     29062760057
86439943A2B275   MARIA        RODRIGUEZ                    DC     90012149430
8643B58975B139   PAMELA       ABERCROMBIE                  AR     23046405897
8643B811271977   ASMANTHA     GONZALES                     CO     90013988112
8643BA59897B38   JOSE         GUADALUPE SALAS              CO     90012170598
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1322 of 2350


86441229472B33   MELISSA      PALOS                        CO     33081782294
8644133314B22B   CHRIS        MORROW                       NE     27005133331
86441656797B3B   MIKE         CASTANEDA                    CO     39086926567
8644199949154B   SANDRA       SORIANO                      TX     90013259994
86442635272B46   OMAR         RUIZ                         CO     90014746352
8644265989154B   JESUS        NEVAREZ                      TX     90011356598
864427A5684325   JOHN         ROBISTON                     SC     14571347056
86443112A91222   SOLOMON      MAGABO                       GA     90002961120
86443126A33698   ALEJANDRO    MUNOZ                        NC     90014731260
864435A4271977   MICHAEL      GILMORE                      CO     90011915042
864439A6572B62   ARMIDA       ESTRADA                      CO     33038099065
86443A22285936   CARMEN       KING                         KY     90014880222
8644438A351362   BOBBY        SCHULTZ                      OH     66013603803
86444765672B33   PHILLIP      WEAVER                       CO     90012777656
86444815372B46   ROSA         CERVANTES                    CO     90014878153
86445441172B46   SHANNON      GRAMER                       CO     90009704411
8644642179154B   DESIREE      DIAZ                         TX     90013084217
864464A1285888   ADRIAN       CRISAN                       CA     90010314012
8644658134B22B   LINDSEY      KILGORE                      NE     90001205813
864468A5A8B154   RICARDO      MUNOZ                        UT     90014468050
8644818994B22B   KAREN        GATES                        NE     27025791899
8644827835B17B   RUBEN        PONCE                        AR     23001182783
86448373772B33   GRISELDA     RIVERA                       CO     90014713737
8644882875B24B   LORI         WATKINS                      KY     68051048287
8644945164B22B   JENNIFER     TEAL                         IA     90015254516
86449889272B62   JOSE LUIS    VASQUEZ                      CO     90012158892
8644B334377537   BRENDA       FALCON                       NV     90015183343
8644B52A62B28B   MIGUEL       RAMIREZ                      DC     90007235206
8644B731784329   JAMENIA      MORGAN                       NC     90007847317
8644B84899154B   GILBERTO     PARRA                        TX     90014858489
8645117385B24B   RANDALL      PERSONS                      KY     68014151738
86451183A4B22B   JONATHAN     AGRAS                        NE     90013941830
864517A6177537   RAY          DUFF                         NV     43078387061
86451A69741262   PATRICK      MCCANN                       PA     90014840697
86452149372B46   LISA         CASTRO                       CO     90013101493
8645224958B154   ERIC         GRAVES                       UT     90003142495
8645376A797B68   OMERO        GARCIA                       CO     33070497607
864539A1872B31   JERRY        BLAKELEY                     CO     90004259018
86454238172B29   MELANIRE     SEDILLO                      CO     33074872381
8645426346194B   MARIA        JOSE                         CA     90004012634
8645467A45B27B   MICHAEL      CARLTON                      KY     90000586704
86454699A85856   RUBEN        LOPEZ                        CA     90013326990
8645483A19154B   CARLOS       ORTIZ                        TX     90009878301
864552A7533698   KERRY        SURGEON                      NC     12079812075
86455394172B29   ANTONIO      PEREZ                        CO     33005303941
8645613A693771   AARON        RAISCH                       OH     90013141306
86456151A91979   YAZEED       ALLAH                        NC     90010811510
8645773A191979   JESUS        VALLE                        NC     90008307301
8645834625B183   JESUS        SHNCHEZ-OLIVERA              AR     90013353462
86459A6418B154   SEAN         RANKIN                       UT     90011270641
8645B615397B3B   CHELSEA      GONZALEZ                     CO     90013256153
86461A88372B29   ANDREA       GIRON                        CO     33083980883
86462971A91975   ANGEL        HOLLOWAY                     NC     90005449710
8646346956194B   YENY         LOPEZ                        CA     90015284695
8646372775B183   DEREK        PARKER                       AR     90014207277
8646389266194B   YENY         LOPEZ                        CA     46069758926
86463AA519154B   CESAR        HERNANDEZ                    TX     90012980051
8646482A355945   AGUSTIN      SEBASTIAN                    CA     49089678203
8646487355B24B   MATT         FARRIS                       KY     90013978735
8646493A341262   HENRY        ROME                         PA     90012399303
86464964172B46   VIVIAN       IBARRA                       CO     33040769641
86465174A72B29   SIXIFREDO    BURCIAGA                     CO     33017751740
86465329A77537   ARTURO       CASTRO                       NV     43078043290
86465641197B38   VICTOR       FUENTES                      CO     39054976411
86465848A9152B   MICELA       NAVARRETE                    TX     90008188480
86465A23A71938   VICKI        WEDEMEYER                    CO     32072830230
86465A34891553   KATRINA      JOHNSON                      TX     90001940348
864662A8541275   MICHEAL      WEIBLINGER                   PA     90003622085
86466333872B62   LUIS         TERRONES                     CO     90011123338
8646681A191975   LUIS         GUDIEL PINELO                NC     90010448101
86466A88393771   TONETTA      HURSTON                      OH     90012750883
8646722464B22B   CELIA        HERNANDEZ                    NE     90007752246
864675A398B154   HOPE         PISTONE                      UT     31055335039
86467697A77537   KATIE        JOHNSON                      NV     43012916970
86468285A77537   LAURA        ROJAS                        NV     90013832850
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1323 of 2350


86468464972B62   KARL               GAMBLE                 CO     33026274649
86468A48991979   JOEL               NOBLE                  NC     90010410489
8646994455B17B   ANTWIN             LACY                   AR     23042789445
8646B498997B3B   DOROTHY            RAMIREZ                CO     90013764989
8646BA76A72B62   MICHAEL            DIAZ                   CO     90012740760
8646BA8868B154   SHAYLA             STURGES                UT     31029630886
8647125174B22B   ERIC               NEAL                   NE     27050222517
8647176358B154   STEPHANIE          SAMORA                 UT     31083647635
8647182254B569   PATRICIA           RODRIGUEZ              OK     90010778225
8647194A497B3B   HUGO               GARCIA-RODRIGUEZ       CO     90011889404
8647232162B271   MARQUISHA          GRAY                   DC     90003563216
864725A2293771   ALICE JOY          COLLINS                OH     90008435022
86472877397B3B   MAGGIE             PARRA                  CO     90011158773
8647295A655945   CRYSTAL            VASQUEZ                CA     90010929506
8647328998B168   JANEEN             GARCIA                 UT     31054012899
86473731772B33   ANGELO             LAMORIE                CO     33066927317
8647423219154B   MARIA              ORTIZ                  TX     75068772321
86474349A91837   TOMICKA            COLLINS                OK     90013723490
86475177A72B46   CESAR              ARAMBULA               CO     33029651770
8647568375B183   DIANNE             WILLIAMS               AR     23012966837
86475A22357122   ELIZABETH          ZEWDIE                 VA     90006280223
86477188A4B22B   CHRISTOPHER        LARA                   NE     90013941880
86477253A55945   DELIDA             ALVAREZ                CA     49060372530
864775A188B154   ANN                B                      UT     90004595018
8647828A755945   JOSE               BEJAR                  CA     90014332807
86478381572B29   PATRICK            BESTON                 CO     33014333815
8647844642B896   DENNIS             SPEARS                 ID     90011844464
86478A96661928   CHRIS              PEASE                  CA     46007130966
86479858A51362   PAMELA             WILCOXSON              OH     66051218580
86479A5678B168   RAYMUNDO           SOSA                   UT     90015030567
86479A66372B29   ISAAC              ROOK                   CO     90009650663
86479A7A64B22B   DAVID              LAMBERT                NE     90015320706
8647B473355997   BERTHA             ARTEAGA                CA     90012324733
8647B549831435   KIANDRA            GORDY                  MO     90012725498
8647B6A892B967   SHIRLEY            FOUSHEE                CA     90007866089
8647B899161928   MARTHA             OZUNA                  CA     46067528991
8647B97898B168   DAVID              ARNO                   UT     31077229789
8648116888B154   MARIA              SANCHEZ                UT     90014261688
8648116A551362   ASHLEY             MARTIN                 OH     90011641605
8648125A88B154   ELIZABETH          GARCIA                 UT     90013172508
8648135912B896   JUAN               CERVANTES              ID     42055643591
86481729997B38   MERYLEEN           ARABE                  CO     90011197299
8648237238B168   DANIEL             ROMNEY                 UT     90011123723
86482448672B29   WILLIAM            CARSON                 CO     90013264486
86482865A91837   UBALDO             CHACONE                OK     21031598650
864834A958B168   HCKMAN             STEVE                  UT     90008394095
86483524797B3B   MIRIAM             LOPEZ LOPEZ            CO     90012015247
8648356458B163   KARA               TAYLOR                 UT     90003155645
8648364195B568   ANNABELL           MOLINA-MUNIZ           NM     35011616419
8648487848B154   ELLEN              FRANCIS                UT     90002248784
86484929172B29   LEVENS             JAYME                  CO     33066109291
8648495774B22B   CHRIS              RICHARDS               IA     90008669577
86484A3537192B   MARY               MILLER                 CO     32058910353
86484A74176B9B   MICHAEL            ATIRADO                CA     90008000741
86485938A3B382   BRITTNEY           MAESTAS                CO     90012449380
86486332A91979   JASON              POOLE                  NC     90010143320
8648643A397B38   KAREN              MESSICK                CO     39009564303
86486783A72B33   MARIA              SANTILLANES            CO     90012397830
8648683A991242   ANDRE              JOHNSON                GA     90005608309
86486877A72B29   SAMANTHA           CORTEZ                 CO     90009588770
864872AA15B183   DENESHA            SANDERS                AR     90014312001
8648845815599B   JAY                LABADIE                CA     49000674581
864888A3972B33   ANGELA             DAVIS                  CO     90010588039
86489115872B62   GASPAR             ARREOLA                CO     90014651158
864894A8A61928   IRIS MARIELA       OSUNA                  CA     90013004080
8648964464B22B   BETZI              ROSALES                NE     90013556446
8648B231293771   JENICE             COVINGTON              OH     90015352312
8648B48363B347   NADINE             ORTEGA                 CO     90012754836
8648B4A2277537   MICHELE            PEREZ                  NV     90010894022
8648B578371938   MATTHEW            ABEYTA                 CO     32002475783
8648B864872B31   ROBERT LEE         PARHAM                 CO     90013768648
8648BA88997B3B   MARIA DEL CARMEN   BEZOR                  CO     90003970889
8649122999154B   MARIA              BOZQUEZ                TX     75083682299
8649127275B139   JOSEPH             CHISLEY                AR     23034592727
86491534172B46   TERRY              FILTER                 CO     90015115341
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1324 of 2350


864921A915B17B   DEBORAH        DINWIDDIE                  AR     90004271091
86493538197B38   CHRIS          OLIVAS                     CO     90014675381
86493645A72B29   GEORGIA        DEL REAL                   CO     33027076450
86493967772B33   ROBERTO        GONZALEZ                   CO     33039019677
864943A9271938   STEVE          SIMMONS                    CO     32000293092
86494414A4B22B   RYAN           TAYLOR                     NE     27056614140
8649492A47B35B   BETHANY        HINSCH                     VA     90001539204
86494A9783B396   EVARISTO       MENA                       CO     90010860978
86495214397B38   EDWIN          ESCOBAR                    CO     90013822143
86496357A71977   NIKO           ROMERO                     CO     90007343570
864969A7585936   RENEE          MILLER                     KY     90003789075
86496A47377537   EDWARD         SULLIVAN                   NV     90014080473
86497181A97B38   JENNIFFER      MORALES                    CO     90013981810
8649755468B168   MELISSA        BRINKERHOFF                UT     31083815546
86497A67191837   KELLI          CHESNEY                    OK     90007790671
8649851428B154   SUSANA         PAREDES                    UT     90012265142
86498971472B33   MARIANO        POOT                       CO     90001039714
8649944199154B   MARIELA        LOPEZ                      TX     90013084419
86499955172B46   DENISE         PETREE                     CO     33039639551
8649B358691837   BILLIE         JOHNSON                    OK     90013883586
8649B3AA66194B   LUIS           ALFARO                     CA     46081253006
8649B44995B27B   ERIC           PATTEN                     KY     68052504499
864B1637385936   COSSONDRA      FREEMAN                    KY     67048446373
864B1784672B33   JUNE           GARCIA                     CO     90009097846
864B1A1496194B   IRINEA         SOLIS                      CA     46084270149
864B1A49791837   TAKIYAH        WEAVER                     OK     90000690497
864B1A68472B62   GLORIA         LEANOS                     CO     33094740684
864B2865191525   GEORGIA        SINGLETON                  TX     90010228651
864B2A18385936   MARLA          RIVERA                     KY     90011150183
864B3245441262   DONNA          WEHNER                     PA     51053032454
864B3278671977   CATHERINE      NIGHTINGALE                CO     90014712786
864B34A415B183   JEWELL         STOUT                      AR     23026394041
864B3617585936   EFRAIN         CHAVARRIA                  KY     90014466175
864B3A78372B46   NORMA          ESCOBEDO                   CO     33014820783
864B423685B183   RAVEN          BLAKLEY                    AR     90013352368
864B438274B22B   JULIA          BREKEL                     NE     27068373827
864B496AA2B896   RICK           COSTA                      ID     90011839600
864B4A1688B191   GREGORIO       VILLA                      UT     90011450168
864B4A58671977   JUDY           HARVEY                     CO     38005310586
864B5532593771   ANTONETTE      REYNOLDS                   OH     90011775325
864B5888433698   EMANUEL        EDWARDS                    NC     90014728884
864B5A68491979   KELLY          HARRIS                     NC     90013810684
864B6125972B46   CARMEN ANGEL   TOLEDO RAMIREZ             CO     90013101259
864B629A472B33   MICHAEL        LAFRANCE                   CO     90004092904
864B6413261556   TREVOR         POST                       TN     90015584132
864B6776361928   FRANCISCO      MONTOYA                    CA     90000917763
864B741A941275   NEVENA         BRALJ                      PA     90002214109
864B7644355935   JORGE          LOPEZ                      CA     90013116443
864B781A75B24B   WILLIAM        SMITH                      KY     90014358107
864B7913272B29   FERNANDO       ORTIZ                      CO     33081129132
864B867A991975   DEXTER         DOUGLAS                    NC     90012466709
864B8689861928   MIGUEL         FEREZ                      CA     90008646898
864B869A855945   ROBERT         MC NAMARA                  CA     90009806908
864B874679154B   ROSARIO        BARRERA                    TX     90004947467
864B888584B556   PAUL           NUNN                       OK     90010748858
864B8A69772B33   CHRIS          PASTRANA                   CO     90014740697
864B9293191975   ABIGAIL        EUSEBIO                    NC     90015312931
864B9776A33698   MAYA           JENNETTE                   NC     90014727760
864B982A385888   ALEX           NIMLEY                     CA     90007058203
864B985247B496   EFREN          CALZADA FIERROS            NC     90010458524
864B9A77441288   SHAWN          AVANT                      PA     90012400774
864BB1A5872B2B   JULIAN         FLORES                     TX     75091071058
864BB447797138   BRITTNEY       JOHNSON                    OR     90013744477
864BB532285936   GENOLA         PERRY                      KY     67047005322
864BB558671938   ANGEL          HERNANDEZ                  CO     32028695586
864BB64389154B   VICTOR         OLGUIN                     TX     90013286438
864BB832951362   ANGEL          SANCHEZ                    OH     90000998329
864BB93737B386   MARLON         GALVEZ                     VA     90010339373
864BB958572B29   HILDA          LEYVA                      CO     33095469585
8651155829139B   STEPHEN        NELSON                     KS     29032785582
86512919397B3B   DAVID          ROGUCKI                    CO     39090509193
8651314A972B46   JERAMIE        DENNIS                     CO     90013661409
8651319128B168   VICTORIA       TSO MIERA                  UT     31023671912
86513229872B46   JESUS          CHAVEZ                     CO     90003522298
865132A6872B33   CYNTHIA        SILVA                      CO     90013582068
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1325 of 2350


8651335872B896   ALEX                HEZELTINE             ID     90002623587
86513962A71938   IAN                 HYDE                  CO     90015189620
865139A4261928   VANESSA             KHOUNXAY              CA     46063449042
86513A24891979   GREGORY             WINSTON               NC     90003470248
86514481A72B46   ESTEPHAN            TORREZ                CO     90013114810
865149A4261928   VANESSA             KHOUNXAY              CA     46063449042
86515168597B3B   DEBORAH             PFLIPSEN              CO     39043661685
86516A62741262   DANIELLE            POWER                 PA     90006960627
8651774635B24B   DARREL              CORTIE                KY     90009637463
86518241A91523   LAURA               ARVILLA               TX     90011052410
8651856115B183   WILLIAM             SMITH                 AR     23092945611
8651B274997138   ERICA               MONTOYA               OR     90012032749
8651B483585888   KRYSTAL             SANCHEZ               CA     90002774835
8651B885155945   MARIA               CARDONA               CA     49032518851
8651B92525B183   RICHARD             NEASLY                AR     23006349252
86521534172B46   TERRY               FILTER                CO     90015115341
86521A61A97B3B   NANCY               MARTINEZ              CO     39063170610
86522217A77537   CATINA              MURPHY                NV     90013942170
86522828797B3B   BERTA               MENDIAS               CO     90010028287
86522A13A9154B   KARLA               CERVANTES             TX     90012350130
86522A7A297B38   CANDACE             MARSHALL              CO     90013410702
865232A235712B   MELVIN              SOSA                  VA     90005292023
8652354719154B   ANN                 TAPIA                 TX     90012135471
8652364A351362   FANNIE              HATTON                OH     90011206403
8652383A791943   RAQUEL              HAYES                 NC     17016418307
8652487A747897   SHAREKA             SMITH                 GA     90001768707
8652488A871938   ARMANDO             CERRANO               CO     90014398808
8652497669154B   E                   ROBERT                TX     75089339766
86525632272B29   SARA                GONZALEZ              CO     90009876322
86525A4158B136   GREG                JUDY                  UT     90003220415
8652768714B22B   PIEDAD              PANTOJO               NE     27030526871
8652785A393723   GREGORY             MOORE                 OH     64567158503
8652838168B168   PETER               COY                   UT     90015193816
86528587272B46   LEONARDO            HINOJOZA              CO     33009885872
86529229372B29   YVETTE              WILLIAM               CO     33062472293
8652946A84B22B   PAULA               MARQUEZ               NE     90002224608
8652B524771938   JOSEPH              PASTUER               CO     32071635247
8652B79A64B22B   ADAMAH              KUEVI                 NE     90012357906
8653144A997B3B   JESSICA             ROBINSON              CO     39083084409
8653166246194B   ERIKA               HERNANDEZ             CA     46073796624
8653254715B24B   MONTEZ              MORRIS                KY     90014675471
86532A4A33367B   CORA                DAVIS                 NC     90014210403
86533642572B33   MICKEY              SPENCER               CO     90012996425
8653372615B17B   SHUANA              DICKERSON             AR     23085687261
86534127872B33   CLAUDINE            TERAN                 CO     90007651278
86534217A77537   CATINA              MURPHY                NV     90013942170
8653451414B538   TAMARA              DODSON                OK     90010885141
86534519197B38   DANIEL              GAVILAN               CO     90014725191
8653471158B154   CORY                SPADE                 UT     90014027115
86535499A9154B   RUTH                VILLANUEVA            NM     75084434990
86535A7975B139   N                   DURHAM                AR     23079730797
86536326597B38   BERTHA              BONIFACIO             CO     39066693265
8653664695B24B   ARTREL              TRENT                 KY     90012526469
8653678925B24B   LEEA                KUSTES                KY     90013907892
865371A7272B62   LISA                SCHAFER               CO     33061141072
86537831197B38   JOSE                ABREGO                CO     90013048311
8653789684B22B   LILIA               MARMOLEJO             NE     90009378968
8653798837192B   ERIC                HOUSTON               CO     32058959883
86538325572B29   NICHOLE             DUVALL                CO     90014573255
86538543272B46   MARLO AND SUXETTE   GONZALEZ              CO     90014775432
8653865189154B   JOSE                VARELA                TX     75082486518
865387A6672451   MARTHA              GIRIMONTE             PA     90013167066
86539877372B62   VERONICA            ROMERO                CO     90012768773
8653B517A8B168   JAVIER              VALADEZ               UT     90008645170
8654198A647897   JALISA              GREEN                 GA     90012359806
86542551997B68   PRUDENCE            LEWIS                 CO     33095605519
8654284897B379   PETER               SANDY                 VA     90006168489
8654316324B22B   ANDREW              LOREMANN              NE     90006281632
865431A7297B38   JAMES               ROMERO                CO     90013411072
8654369885B183   QUINN               LEWIS                 AR     90009386988
8654383A171977   SUE                 FELLION               CO     38097268301
86543A12481677   DAVID               GHARST                MO     29048610124
86544382272B33   CHRISTINA           ORTEGA                CO     90013773822
86544421A8B154   GINO                CHEWNING              UT     31079094210
86544AAA86194B   CARMEN SANCHEZ      HEREDIA               CA     90010790008
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1326 of 2350


86545159872B62   SERGIO            HERNANDEZ               CO     33054351598
86545514772B46   WEDGEWORTH        LAVON                   CO     90003145147
8654579155B139   TOBY              HOSTETLER               AR     23095707915
8654625455B571   PAYGO             IVR ACTIVATION          NM     90014362545
86546289172B46   BOBBY             BIXBY                   CO     90013332891
8654655337192B   BARELA            DANNY                   CO     32059945533
86546915397B38   CAROLYN           WERTZ                   CO     39004679153
8654742462B896   RAFAEL            SHANCHEZ                ID     90005554246
865478A6872B33   KELLY             MCMANUS                 CO     90013438068
86547961797B3B   HUGO              MERCADO                 CO     90012539617
8654798558B154   SYDNEY            HOFFMAN                 UT     90009189855
86547A58391553   DAISY             CISNERROS               TX     90005420583
86548645772B33   JESUS             HUERTA                  CO     90013796457
8654878175B27B   TIMOTHY           GRACE                   KY     90007087817
8654912885B183   TANDENAVIA        SMITH                   AR     90012111288
8654B495351362   RAVEN             WHITFIELD               OH     90013044953
8654B556691242   DIANNE            MEDLOCK                 GA     14567985566
8654B58978B154   ANTHONY           JENSEN                  UT     90012955897
8654B5A5355945   MATEO             URIBES                  CA     90014485053
8654B734791979   MOSES             OKECHUKWU               NC     90015117347
8654B7A2147897   SHANNON           THOMAS                  GA     90011127021
8654B8A2491953   LUIS              PALACIOS GARCIA         NC     90009318024
8655112395B24B   TRICIA            FREDERICK               KY     90008991239
865511A4977537   JENNIFER          WORSHAM                 NV     90014451049
8655187628B154   LATESHA           UDY                     UT     90007208762
86551935897B38   FATUMA            WARSAME                 CO     90012169358
86551991472B33   MARLENE           GOMEZ                   CO     33074609914
86552596597B38   KAMAL             DARJEE                  CO     90014725965
8655386AA72B46   GENARO            TORRES                  CO     33078218600
86554463A72B33   ROBERTO           RIVERA                  CO     33050114630
8655477155B243   CARMEN            YATES                   KY     90011837715
86554961472B33   APRIL             ROMERO                  CO     90010969614
86554A95998B31   JUANA             FUNES                   NC     90011590959
8655511834B22B   MECHELLE          WISE                    NE     90014401183
86555AA9372B33   NANCY             ORTIZ MORENO            CO     90000120093
865565A455B921   GARY              BEATTY                  ID     41026065045
86556649A93771   KELLY             JONES                   OH     90000586490
8655674835B24B   DAVID             DUTSCHKE                KY     68047577483
8655735A751362   TERRI             MILLS                   OH     90005693507
86557A24633698   VERNICA           AGUILAR                 NC     90001830246
8655954526194B   ELENA             MARTINEZ                CA     90012215452
8655992273B374   YOLANDA           VARELA                  CO     33024809227
86559A83272B46   LAZARRO           CAZILDO                 CO     33020260832
8655B219772B62   DERON             MOORE                   CO     90012122197
8655B941585856   RAZEL             EVANGELISTA             CA     90015139415
86561269A55945   ISAAC             RILEY                   CA     49083312690
8656126A161928   ANTONIO           PAREDES                 CA     46000882601
8656181148B154   GEORGIA           KINDER                  UT     31069958114
86562129A51362   LISA              SHADEE                  OH     66067621290
8656288385B17B   CEDRIC            LOVE                    AR     90009678838
86562A34397138   DONALD            ENGLAND                 OR     90002710343
86562A77697B97   DANELLE           KINDSFATHER             CO     90006720776
8656398A39154B   AMANDA            NAJERA                  TX     90009519803
86564317472B62   FRANCISCO         RAMIREZ - CASTILLO      CO     90013613174
86564A36641262   WHITNEY           TUCKER                  PA     90010450366
86565A7379154B   ALEX              OLIVAS                  TX     90013130737
8656618369154B   IEESHA            SANDERS                 TX     90014331836
8656639776194B   MICHAEL           FRAYER                  CA     90013793977
8656724A793771   CANDACE           JONES                   OH     90005812407
8656742552B896   MARY              MAY                     ID     42009994255
86567587272B46   LEONARDO          HINOJOZA                CO     33009885872
86568AA625B24B   DOUG              FULKERSON               KY     68013060062
8656949618B154   BRISA             CHAVEZ                  UT     90014364961
8656964995B24B   DELBERT           FOSTER                  KY     90014876499
8656986A493771   MELANIE           JACKSON                 OH     90011458604
8656B1AA547822   LAQUITTA          SANDERS                 GA     90009361005
8656B4A5633698   CIERRA            BARNES                  NC     90014734056
8656B67478B163   BRIANNA           DOMINGUEZ               UT     31069346747
8656B727461466   LEONARDO ARTURO   RODRIGUEZ-CAMACHO       OH     90013827274
8656B954197138   ALICIA            SOLIS SINGH             OR     90013759541
8656BA63297B38   JARED             SANCHEZ                 CO     90010030632
8656BA75997138   MICHEAL ERIC      EDWARDS                 OR     90010230759
86571569997B38   ROBERT            DUBINSKI                CO     90014445699
86571652A8B168   ESTHER            WILLIAMS                UT     90013296520
8657216234B265   TROY              THUNDERSDADT            NE     90014791623
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1327 of 2350


8657296999154B   MARIA           GARCIA                    TX     75080409699
8657373219154B   ESPERANZA       ELORZA                    TX     90014227321
86573823797B38   CLAVENCE        SYLSLO                    CO     90013168237
86573899772B46   DESERIE         BERNAL                    CO     90011418997
86574281397B38   LESLEY          MARTINEZ                  CO     90014642813
86575147424B5B   PABLO           TERRONES                  VA     90011441474
86576425372B62   NANCY           VARGAS                    CO     33074474253
86576648772B46   ANTHONY HILEY   MANUEL SUAZO              CO     90014746487
8657669315B242   JEREMIAH        CUTRIGHT                  KY     90002566931
86577137472B62   IRENE           BURNS                     CO     90006041374
86577836A8B154   JACOB           LINGWALL                  UT     90014868360
86578229797B38   TONYA           VILLAREAL                 CO     39069422297
86578A44771977   LILLIAN         HARRIS                    CO     38058010447
86579289A8B168   JESSE           EGGETT                    UT     90014162890
8657974358B163   GLORIA          CARO                      UT     31064237435
865798A7241291   SYED            AHMED                     PA     90006398072
8657991648B154   PAUL ANTHONY    FORDHAM                   UT     90014359164
8657B34615B24B   ALAINA          MCCORMICK                 KY     90002813461
8657B431455945   ALY             CARDONA                   CA     90001444314
8657B577691837   LORETTA         CUNDIFF                   OK     90013715776
8657B5A9685888   SAMUEL          FERGUSON                  CA     90009145096
8657B735991975   VERA            NICHOLSON                 NC     90012577359
8657B767372B62   STEVE           COSTIGAN                  CO     90012567673
8657B99562B271   MARTINE         VASSOR                    DC     81015029956
8657BA47172B33   JESSICA         RODRIGUEZ                 CO     33037310471
86581162697B38   JERONIMO        VILLARREAL                CO     39062071626
865812A4391979   BRIAN           CONYERS                   NC     17094172043
865812AAA4B22B   TERRY           DUNAWAY                   NE     90000552000
8658145A855945   MARGARET E      PERRY                     CA     49001654508
8658147636194B   CIRA            IBARRA                    CA     90014824763
8658231A891837   KELSEY          EVANS                     OK     21096433108
8658276578B154   ERIKA           PENUNURI GUERRERO         UT     90004907657
86582892A51362   DOROTHY         EMERSON                   OH     90000538920
8658411689154B   RICARDO         BECERRA                   TX     75080751168
86585422897B3B   ROXANN          HARRIS                    CO     90015324228
86586661472B29   EJIGAYEHU       TIRUNCH                   CO     33063766614
86586A16897B38   MIGUEL          TORRES                    CO     90014780168
86586A85472B46   RUDY            TRUJILLO                  CO     90013920854
86586A9635B139   KRISTINA        FRY                       AR     23066180963
8658733534B22B   AYAWA           AYIGAH                    NE     27091603353
8658733AA91837   CARLOS          PERALTA NUNEZ             OK     90010093300
8658819694B22B   ROSENDO         FLORES                    NE     90013941969
86589294A97B38   EFRAIN          JUAN-NICOLAS              CO     90013842940
8658981729154B   JAIME           GONZALES                  TX     75050648172
86589914272B29   TIMOTHY         WITHERS                   CO     33044609142
8658B166A85936   OSCAR           RAMIREZ                   KY     67011181660
8658B399661928   JUAN            VELARDE                   CA     90014073996
8658B564372B62   KARLA           CARDOZA                   CO     90014405643
8658B5A2193771   DESIREE         MCCARLEY                  OH     64592645021
8658B64A291837   DONALD FAY JR   DEAN                      OK     90013916402
8658BA7845B27B   LANITRA         WILSON                    KY     90000590784
86591416A5B183   CHAUN           SEROGGINS                 AR     90011894160
8659158449154B   JOSE            DOMINGUEZ                 TX     90013925844
86591A3885B24B   JOHN            CRADDOCK                  KY     90015120388
8659287748B163   ANGELA          CHIN TE                   UT     90004078774
86593173A9154B   GLORIA          LICEATREVIZO              TX     90013601730
865931A8597138   RYAN            EARL                      OR     90009181085
865934AA191837   MARIA           HEREDIA                   OK     90010094001
8659362A897138   MARIA           SALGADO                   OR     44023896208
8659438595B534   ALAINA          DOMINGUEZ                 NM     35079653859
86594499A33698   LILLIETH        MOBLEY                    NC     90014734990
86595497172B62   TINA            LUCERO                    CO     90012234971
8659554174B22B   RODNEY          JONES                     NE     27069945417
86595698A2B28B   NOEMI           RIVERA                    DC     90007246980
86595A4A697B3B   FABIAN          AGUIRRE                   CO     90014760406
8659633754B22B   FABIOLA         MEDINA                    NE     27082373375
8659664995B24B   DELBERT         FOSTER                    KY     90014876499
8659723A691975   LAPRECIOUS      CHRISTMAS                 NC     17090682306
86597814772B46   CASEY           CLARK                     CO     90007018147
86597983472B33   JOSE            SANCHEZ-DIAZ              CO     90008639834
86597A44772B62   FRED            PFANNER                   CO     33019160447
865983A1491837   MARISELA        PUEBLA                    OK     90012533014
86598516572B46   MARIELA         GARCIA                    CO     33012545165
8659885A533698   DINA            BERRY                     NC     90011258505
8659B878741262   SHEILA          STENHOUSE                 PA     90011048787
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1328 of 2350


8659B912271938   OLIVIA        CORDORA                     CO     90000199122
865B1481155945   FAUSTINO      BARAJAS                     CA     90014994811
865B154AA91837   VIDAL         BRAVO                       OK     90014385400
865B237A52B896   ROGER         PARDO                       ID     42023053705
865B2758872B33   DWIGHT        ERICKSON                    CO     90008497588
865B2817A91979   EULONDA       WILLIAMS                    NC     17038908170
865B2879772B46   CRYSTAL       MARTINEZ                    CO     90014638797
865B28A239154B   MARIA         MARQUEZ                     TX     90012348023
865B3518741262   LEE           CHEN                        PA     90011425187
865B376778168B   RALPH         CONNER                      MO     90004937677
865B37A1151362   REGIS         CLARK                       OH     90014107011
865B4174197B38   DANIEL        HEATON                      CO     90014821741
865B5167572B46   MICHELLE L    ROLLINS                     CO     90013101675
865B5561293771   MICHAEL       LEWIS                       OH     90015255612
865B6921A51362   TAMIKA        HUTCHERSON                  OH     90014559210
865B69A998B154   PATRICIA      RODRIGUEZ                   UT     90014689099
865B7715285936   JUSES         CASTRO                      KY     67065537152
865B8455A97138   SCOTT         CARRANZA                    OR     90013744550
865B8628771977   DONALD        GONZALEZ                    CO     90008496287
865B8716485936   DAUNDRAE      REDMOND                     KY     90015147164
865B8771A97138   AURELIA       PEREZ                       OR     90012057710
865B8983171938   CHRISTINE     WILLIAMS                    CO     90013999831
865B943A997138   MCKENNEN      MURPHY                      OR     90013514309
865B944483B197   CHIQUITA      DYSON                       DC     90001354448
865B956A472B46   TAMIKO        BANKS                       CO     90014055604
865B968618B168   CAMILLE       SPEAKER                     UT     90014176861
865BB26A79154B   CH AVEZ       MARIA                       TX     90011132607
865BB633147897   LIEZEL        JOHNSON                     GA     90012536331
865BB63A125164   MELISSA       WEST                        AL     90014756301
865BB8A3972B46   ANAH          JOFFROY                     CO     90009828039
865BB8A4551362   MEGAN         MYERS                       OH     90010518045
865BBA65657B46   JAMES         LANE                        PA     90015490656
8661115895B183   BRYAN         ANDERSON                    AR     23046341589
8661136AA97B3B   DANIELLE      KATHERINE                   CO     39021443600
86611651497B38   REANNA        ESCAMELLA                   CO     90008546514
8661178A28B154   ARMANDO       ALEJANDRE                   UT     90014027802
86612378A71938   PANFILO       CHUN                        CO     32004843780
8661271AA91979   SHANIQUE      JETER                       NC     90007317100
86612A84871977   JAIME         ORTEGA                      CO     90003900848
86613138A85936   ASHLEY        GABBARD                     KY     67036881380
8661369969154B   NANCY         LOPEZ                       TX     90015006996
86613994272B33   JENNIFER      FENNELL                     CO     90013239942
86613A66691979   JAY           WILSON                      NC     17085160666
8661479688B163   JEREMY        MINNOCH                     UT     31057977968
86614A4785B139   RALPH         JACKSON                     AR     23044850478
86616A5A997B3B   GASTON        CASTILLO                    CO     90006120509
86617263672B62   ELIZABETH     BARRALES                    CO     90012352636
86617384A91837   ROSALVA       ALOZO                       OK     90014003840
866177A5197B3B   JOSHUA        WILSON JAMERSON             CO     90014847051
8661788766194B   CYNTHIA       THOMAS                      CA     46095268876
8661864389154B   VICTOR        OLGUIN                      TX     90013286438
86618668897B38   ERICA         CHAVEZ                      CO     90010956688
8661872432B896   RIVER         HILL                        ID     42082687243
8661928A18B154   DOUGLAS       WESTENSKOW                  UT     90013172801
8661949115B17B   LASHAUNDA     WILLIAMS                    AR     90004044911
86619A89697B3B   AMANDA        LUJAN                       CO     39058300896
8661B1A7141275   RADEJA        KENT                        PA     90010651071
8661B216997B3B   ANDREW        ALDRICH                     CO     39061812169
8661B67334B22B   JON           NELSON                      NE     90000696733
8661B9A445B183   KRYSTAL       BUTLER                      AR     90008009044
8661BA5655B17B   PATRICE       MINTON                      AR     90004280565
866211A8193771   TERRY         POWELL                      OH     90012751081
8662122375B24B   NOKOMIS       KAVANAUGH                   KY     68053522237
866219A2733698   LAMAR         WILSON                      NC     90011259027
8662218169154B   KAYLLE        BARUM                       TX     90013601816
866227AA941262   MICHAEL       LONERGAN                    PA     51074667009
8662335A791979   LA UNICA      FERRERAS CUEVAS             NC     90009673507
86623458872B28   JANENE        BEHRENDS                    CO     90006384588
86623786297B3B   ADRIANA       ROBLES                      CO     90009337862
8662422443B354   EDWARD        CROCHET                     CO     33011122244
86624756872B33   TOSHA         HOLLIDAY                    CO     90013037568
86624836672B83   FERNANDO      ALVARADO                    CO     90011638366
86625321A97138   JUAN CARLOS   BOBADILLA                   OR     90009813210
86625862872B29   LETICIA       SALAZAR                     CO     33030698628
86626476A91553   MAYRA         LIRA                        TX     75001804760
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1329 of 2350


86626A2414B22B   JERRY         GONZALEZ                    NE     90011470241
8662731819154B   OLGA          PENA                        TX     90014583181
8662784246194B   JONATHAN      GALLOWAY                    CA     90008948424
8662817793B371   FEDERICO      DIAZ                        CO     90011971779
86628445797B38   VERONICA      CHAVEZ                      CO     90002854457
8662849464B22B   OFELIA        DAVALOS                     NE     27062394946
8662857519154B   KRISTEN       GORDOVA                     TX     90014965751
866291A156194B   SILVIA        SERENO                      CA     90013561015
86629458572B46   MARUSHE       REXHEPI                     CO     90002974585
8662998A99154B   DANIEL        BACA                        TX     90000709809
8662B2A8971977   DONNA         MILLER                      CO     38098442089
8662B419172B33   JOHN          AMES                        CO     33028954191
8662B593697B3B   KIM           THOMPSON                    CO     90005375936
8662B985772B46   ARISTOTE      NZEKOSO                     CO     90014179857
8662B99445B24B   TAMMY         FORREST                     KY     90010619944
8663132435B24B   CASHAWNA      WATTS                       KY     90010893243
8663165465B24B   LONNIE        DIVINE                      KY     90006036546
86631A13972B33   FRANK         VIGIL                       CO     90011670139
8663219214B22B   RIGOBERTO     RIUZ                        NE     90012491921
8663245A28B189   STEPHEN       CASTELLO JR                 UT     31092074502
8663321775B24B   ROBERT        WILLIAMS                    KY     90007342177
86634181472B46   ROSA          RUIZ                        CO     33023061814
86634297472B29   ROBBY         SANDOVAL                    CO     90014592974
866342A155B571   GILBERT       LUCERO                      NM     90014632015
86634A42385936   JACOB         PRICE                       KY     90000830423
86635156772B62   JANA          TWEEDY                      CO     90008851567
8663534724B22B   KOSSI         EHO                         NE     90007403472
8663589245B241   DARRELL       LAYMAN                      KY     90007578924
86636289872B62   JOSE          URRUTIA                     CO     90012482898
8663717615B59B   JAVIER        DESANTIAGO                  NM     90007611761
8663723815B139   CAROL         MARTIN                      AR     90003392381
8663731A13B386   VIRGINIA      YOUNG                       CO     33041183101
8663738624B22B   KELLY         SWOTEK                      NE     27000223862
86638263172B33   CESAR         GARCIA                      CO     33089172631
86638643A9154B   ANNETE        BARBER                      TX     90011646430
8663929755B27B   JOYCE         REYNOLDS-WALKER             KY     68097392975
8663975482B553   JUANITA       WELCH                       AL     90013937548
86639913A72B33   GUADALUPE     TORRES                      CO     33020179130
8663B31696194B   ROSANGELA     MINAKAWA                    CA     90007043169
8663B5A9977537   MELISA        ZERMENO                     NV     90013585099
8663B931897138   CLAUDIA       LOPEZ                       OR     90005939318
8663BA68272B33   REBECCA       BISHOP                      CO     33015440682
86641117872B46   MYANGELA      WALKER                      CO     90010471178
866413A5272B29   VIRIDIANA     LOYA-MOLINA                 CO     90014743052
8664148355B571   LORETTA       ARMIJO                      NM     90014644835
8664438234B22B   JESSE         JOHNSTON                    IA     90014943823
8664475618B154   SCOTT         PAINTER                     UT     90015127561
86644973A97138   ANGELICA      MORALES                     OR     90009629730
8664615988B154   MARYANN       BRUEMMER                    UT     90014911598
86646378272B29   MALAYSIA      RABAN                       CO     90011003782
86646647572B33   ASHLEY        BROWN                       CO     90011126475
86646666872B62   CAISY         GOMEZ                       CO     90004956668
86647A5172B28B   RAMOS         RIGOBERTO                   DC     81019910517
86648327797B3B   DANIEL        MURPHY                      CO     90009343277
8664918685B24B   MICHAEL       MURPHY                      KY     90009461868
86649963797B38   BALTAZAR      ZAVALA                      CO     90011629637
8664B196771938   LAURA         SANCHEZ                     CO     32041001967
8664B55685B183   DENA          REDDIX                      AR     23046125568
8664B595872B62   DAVID         COLEMAN                     CO     33024605958
8664B649A93771   DEARYKA       HUMPHRY                     OH     90014626490
8664B727151325   JAMES         WILSON                      KY     66023417271
86651179A9154B   ANTONIO       LUGO                        TX     75039631790
8665247628B643   TERENZO       CROOM                       TX     90011084762
86654181297B38   JAMES         ARON                        CO     39037071812
86654389197B3B   THELMA        MOSER                       CO     90004003891
8665452A872B62   JOEL          GALLI                       CO     90001865208
86655267872B27   BARDO         RODRIGUEZ                   CO     90014302678
86655A8979154B   ARTHUR        JAMES                       TX     75001600897
866561A438B168   SHANA         MACNEIL                     UT     90010801043
86656A82772B29   JOSE          MENDOZA                     CO     33091810827
8665848A772B62   ANTHONY       VASQUEZ                     CO     90014514807
86658964A2B896   BOBBY         TRICE                       ID     90007569640
866589A5447822   VALERIE       WHEELER                     GA     14088929054
86658A1415B139   ALVARO        HERNANDEZ                   AR     23018250141
8665935218B168   JACOB GREEN   FROST                       UT     90014163521
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1330 of 2350


8665976A291553   CAMERINA      HERRERA                     TX     75076537602
866598A1547897   JANECIA       MAHONE                      GA     90010828015
8665B216272B46   LEONOR        FUENTES                     CO     90013782162
8665B28224B22B   BRIAN         KOLBE                       NE     27014812822
8665B34A755945   KIARA         JOHNSON                     CA     49080753407
8665B4A9A47897   SERENITY      HOCKER                      GA     90012584090
8665B879971938   MAYNOR        CESAR                       CO     32079448799
866615A2785936   PAUL          KEETON                      KY     90009685027
866615A6272B29   HERMINE       COCKINGS                    CO     90014885062
86661759A72B62   TANYA         AVILA                       CO     90012847590
866623A617192B   ARTHUR        LUMSDON                     CO     32057923061
8666298599154B   JUAN          HERNANDEZ                   TX     75093949859
86662AA1272B33   ANASTAISA     PRINCE                      CO     90004970012
866633A4741275   MEGHAN        GATTS                       PA     90007563047
86663584497B3B   JUDITH        VIGIL                       CO     39077425844
8666421A785856   ALEX          ROANO                       CA     46055882107
8666436118B168   VALLEJO       BONIFACIO                   UT     90005173611
86664632A97138   LAMIN         HAX                         OR     90011086320
8666498A99154B   DANIEL        BACA                        TX     90000709809
86664A59972B62   CHARIFA       WIMBUSH                     CO     90010540599
8666547448B154   SYDNEY        SPARKS                      UT     90012504744
866656AA46194B   RONALD        ROSARIO                     CA     90000846004
8666682342B246   COLBY         PREVOST                     DC     90000788234
8666691A872B33   ASHLEY        SHEVLIN                     CO     90014289108
86666A36481677   CHANIECE      IRVING                      MO     90011430364
86666A56A72B46   DAWN          MAESTAS                     CO     33085370560
86666A94297B3B   JUAN          LAGUNAS                     CO     39086720942
8666718775B24B   MARION        SMITH                       KY     90013551877
866678AAA91975   ASHLEY        SUPEL                       NC     90013598000
86668736497B38   ROBERTA       RODRIGUEZ                   CO     90004227364
86669576397B3B   FRANCINE      AMADO                       CO     39055155763
8666B12964B22B   EVELYN        ACOSTA                      NE     90011961296
8666B176491979   ROSA          RUIZ                        NC     90013571764
8666B469461928   CHRISTOPHER   BRIGHT                      CA     90012824694
8666B559336164   SABRINA       ZAMORA                      TX     90011705593
8666B791A5B24B   NEISHA        CARDINE                     KY     90012527910
866711A985B183   MARIAN        JOHNSON                     AR     90012581098
86671395A91979   KENNETH       STEVENS                     NC     90013713950
86671592372B46   GLADYMARY     HAM                         CO     90006435923
8667188259154B   RANDY         WALTERS                     TX     75083618825
86672569172B29   RODNEY        LEIGH                       CO     90013275691
8667278288B154   ALEJANDRO     SERVANTES                   UT     90014037828
8667298463148B   SHERRY        BRATTON                     MO     90004309846
8667324135B183   JAKILL        MCDANIEL                    AR     23042942413
86673469797B38   JAMI          ROMERO                      CO     90014874697
8667347AA51362   ALYSHIA       BURDEN                      OH     90014854700
8667411124B22B   ABEL          SERRANO                     NE     90012961112
8667416294B583   MARGA         GALVAN                      OK     90011141629
8667418A691837   VICTORIA      KEMRY                       OK     90015061806
8667449679154B   ARMIDA        GUADIAN                     TX     90004064967
8667512184B22B   ALFREDO       BARRAZA-GALLARZO            NE     90011131218
86675475A97138   TIMOTHY       CANIDA                      OR     90010774750
8667561356194B   DAVID         GREEN                       CA     90013696135
8667583A65B24B   LESLIE        MORGAN                      KY     90013598306
866759A867192B   JANE          RAMEY                       CO     32059129086
8667638348B168   MICHAEL       JOHNSON                     UT     90014163834
86676946972B62   ANTONIO       AVILA                       CO     90010299469
8667734342B271   CLARENCE      TERRY                       DC     90010533434
86677582A5B183   LAKEISHA      WEBB                        AR     90011145820
8667772215B24B   KRISTINA      WELKER                      KY     90014477221
8667B2A755B183   JOE           HARRISON                    AR     23021852075
8668132228B168   CAMERON       WILSON                      UT     90011473222
8668329695B183   LIZA          CLEMEN                      AR     90010482969
86683A83A97B3B   VERONICA      ARCOS                       CO     90012390830
8668428312B896   TRACY         BEAN                        ID     42084492831
86685118A91975   BIRHANU       BAYHU                       NC     90013181180
8668538185B24B   CHRIS         PPOOL                       KY     90007173818
8668664179154B   CECY          SOTO                        TX     75085936417
86686A2548B643   ELISABLITH    BRIGDES                     TX     90014610254
86687678A91837   BOBBIE        GENTREY                     OK     21037466780
86687A82A61928   VIVIAN        KUUMBA                      CA     90013620820
86688184A5B388   PAMELA        NORTH                       OR     44568101840
86688737972B62   ALMA          SANCHEZ                     CO     33045307379
86688835972B33   JAMES         VALDEZ                      CO     33008968359
866888A7491553   CARLOS        LOZANO                      TX     90001428074
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1331 of 2350


86689147533B98   MATTHEW      SHEARS                       OH     90011391475
86689663197B3B   KURTIS       YUNGEBERG                    CO     39099226631
8668B347691975   SAW          THA HTOO                     NC     90010973476
8668B486271977   ANTONIO      MADRID                       CO     90012924862
8668B753461928   ERUBIEL      BELLO                        CA     90011987534
8668B83234B22B   CAROLINE     MCBRIDE                      NE     90014848323
8668B857A91837   RHIANNON     SPEERS                       OK     90010108570
8668B93755B183   DEBORAH      ADAMS                        AR     23080659375
8668B944397B3B   LEOPOLDO     GUERRERO CARDENAS            CO     90011309443
8668B972533698   ANTONIO      ROSALES                      NC     90014739725
8668BAA6993771   TIFFANIE     TROTMAN                      OH     64542090069
866911A8672B29   RAEANN       WILLIAMS                     CO     33046201086
86691349372B33   JUAN         PEREZ                        CO     33098783493
8669138559154B   ADA          HASSEL                       TX     90011133855
86692732A91837   NANCY        MANUEL                       OK     90014687320
86693479A85936   SHANDI       SHERMAN                      KY     90013544790
8669361A955945   ERIK         CABRERA                      CA     90014486109
86694357A91553   OSVALDO      FELIX                        TX     90005253570
86694754997B38   BLAIR        HARD                         CO     90004697549
8669569898B154   JOHN         NESS                         UT     31052186989
86698369397B3B   ELDA         BREDFORD                     CO     90010403693
866992A2991837   ANNA         GILLIS                       OK     21092602029
86699A5987B445   JOSE         REYES                        NC     11089500598
8669B237597B3B   SERGIO       SOTO                         CO     90000502375
8669B263A5B24B   SIDDARTHA    MURPHY                       KY     90012632630
866B1173A9154B   GLORIA       LICEATREVIZO                 TX     90013601730
866B1197A55945   ALEJANDRO    MEDINA                       CA     90006291970
866B1436A4B22B   DENACIA      STEWART                      NE     90010974360
866B158765B183   TENAHIA      BROWN                        AR     90010325876
866B1963572B33   ESTEBAN      MENDOZA                      CO     90011329635
866B1989271977   BENNY        MARTINEZ                     CO     90011429892
866B1A82361928   MICHAEL      STENZEL                      CA     90004960823
866B244366194B   JUAN         RIOS BRITO                   CA     46069724436
866B253488B154   DANIELLE     MERCIER                      UT     31073245348
866B2954891975   NATALIE      WILLIAMS                     NC     17078609548
866B2AA4555945   ANGELA       LANDIN                       CA     90012240045
866B3432191837   JULIO        CAMPOS MARTINEZ              OK     90010094321
866B3944285856   KATHERINE    AUSTIN                       CA     90009209442
866B4646472B46   BERHANE      BURU                         CO     90010976464
866B46A118B154   FRANCOM      RAYMOND                      UT     31071926011
866B488128B163   KIRSTEN      BARG                         UT     90005738812
866B491A971977   AMANDA       LOPEZ                        CO     90011059109
866B53A3991837   SHERRY       WEBSTER                      OK     90012533039
866B5469374B24   SCOTT        WILLIAMS                     OH     90015094693
866B5522851362   FRANK        CARR                         OH     66051175228
866B5876A33698   KATHRYN      POWELL                       NC     12031788760
866B5A89772B33   SEBASTIAN    CORCHADO                     CO     33006790897
866B6583291975   SHARON       HOWARD                       NC     17087765832
866B685652B28B   VERONICA     EDWARDS                      DC     90007258565
866B6A92997B38   MAYRA        ARELLANO                     CO     90011590929
866B712A75B17B   DORALD       CROSS                        AR     23024521207
866B734215B27B   JAMIE        PERRY                        KY     68060393421
866B757336194B   HERCULANO    PALMA                        CA     90002555733
866B7633361928   AIOTEST1     DONOTTOUCH                   CA     90015116333
866B7857872B62   STEVEN       VALDEZ                       CO     33045708578
866B786A493771   MELANIE      JACKSON                      OH     90011458604
866B7A94351332   AMBER        WATKINS                      OH     90011130943
866B812A75B17B   DORALD       CROSS                        AR     23024521207
866B842945B27B   JAMIE        PERRY                        KY     68058464294
866B865898B163   DILLON       FOX                          UT     90005926589
866B8971147897   TOBIJAH      MING                         GA     90012489711
866B918777B425   GLORIA       RIVERA                       NC     90011861877
866B9234361928   TIRZA        TROJANOWSKI                  CA     90013932343
866B929A88B166   NATALY       GIRON                        UT     90009292908
866BB44358B154   CHRIS        DEHERRERA                    UT     90011564435
866BB6A1781677   MARIE        CHEFFER                      MO     90008626017
866BB855891837   WARREZ       COFFEY                       OK     90003388558
866BBA76251362   MARCIN       MUSZALSKI                    OH     90009890762
8671126236194B   JOSE         GERARDO                      CA     90000912623
86711361A91979   JESSICA      WILSON                       NC     90002743610
86711524872B46   DOMINIQUE    KING                         CO     90008205248
86711541472B46   LAURA        MARTINEZ                     CO     90013115414
86711986872B29   KRISHA       BARRERA                      CO     90015179868
8671258278B154   KEVIN        LOUGHRIN                     UT     90014055827
8671315A491979   FELIX        DE LA CRUZ                   NC     17014511504
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1332 of 2350


8671396A541275   MIKE           GALOVICH                   PA     51064179605
86713A95261556   ERIN           MULLEN                     TN     90015340952
8671434368B154   MISTI          VANBUSKIRK                 UT     31071663436
86714985572B29   GREGORIO       GUTIERREZ                  CO     90015139855
8671518715B183   LATISHA        WHITFIELD                  AR     23084111871
86715396A5594B   PAUL           RAMIEREZ                   CA     90014633960
8671564888B168   DEYOUNG        SMARTMOBILE2               UT     90014006488
867161A1441262   MICHELLE       LOGAN                      PA     90012301014
86716254172B62   AMY            SPENCER                    CO     33058962541
86716773397B3B   TERRY          TARVIN                     CO     39065247733
8671696A191553   CINTHIA        AVITIA                     TX     75076549601
86717312A61928   ROBERTO        DIAZ DE LEON               CA     90006833120
867174A8997138   ANGEL          AGUILAR                    OR     90013094089
867194A3891975   GWENDOLYN      JEFFRIES                   NC     90015124038
8671B17955B183   DANIELLE       DAVIS                      AR     90014421795
8671B673247822   JOHNNY         PITTS                      GA     14028136732
8671B79978B168   SHARIF         EBRAHIM                    UT     90008527997
86721198472B62   MICHAEL        SHELLS                     CO     90002601984
8672141A993755   ANGEL          TILLMAN                    OH     90013094109
86721898A8B163   VALERIE        MUGLESTON                  UT     90004078980
8672257898B168   MARY           PETERSEN                   UT     90010765789
8672269A772B33   JENNIFER       MONTOYA                    CO     33065806907
867226A1771938   ANA            MORENO                     CO     90001986017
8672279574B55B   JUAN PABLO     CAMPOS                     OK     90014957957
8672318359154B   JOSEPH         WROBLESKI                  TX     90013451835
86723667697B3B   AMISADDAI      RAMIREZ                    CO     90002056676
8672455854B22B   TEARA          SWEET                      NE     90009195585
8672461988B154   ANGELICA       ANDRADE                    UT     90012956198
8672496598B168   CHRISTOPHER    KELSEY                     UT     90014739659
8672514128B151   BRITTANAY      STRASTERS                  UT     90007321412
86726388172B33   ROBERT         COMER                      CO     90014583881
86726449A85856   CALEB          MORTENSON                  CA     46058304490
8672775725B183   CASSANDRA      HARRIS                     AR     23088907572
867277A818B168   ONIL           VELEZ                      UT     90013917081
86728613A6196B   JOSE           QUEZADA                    CA     90012526130
86728978A8B154   ALLISON        TAIT                       UT     90012819780
86728A3679154B   LOUIE          TAFOYA                     TX     90012350367
8672947629154B   WHITNEY        RIOS                       TX     90015064762
867294A8371938   ALICIA         OLIVAS                     CO     32087304083
8672BA41697138   JOLENE         HENDERSON                  OR     90012160416
86731119297B3B   TRINA          GRIBBLE                    CO     39018671192
86731588A97138   MEJIA          CAYETANO                   OR     90010345880
8673174865B24B   TIA            SHEPHERD                   KY     90014477486
86732192A33698   KEOSHA         ROBINSON                   NC     90013711920
8673238816194B   ROCHE          FLORE                      CA     46097613881
86732813172B62   AHMED          SHAFI                      CO     90012368131
867328A998B154   ELVIA          CRUZ                       UT     90014038099
86733633272B62   ENDENCIO       OSBORNE                    CO     90014866332
86735941A55945   TINA           GONZALEZ                   CA     90003529410
86735A14681677   GHOST          RIDER                      MO     90011960146
86735A65271938   JESSICA        STEVENS                    CO     90003450652
8673638875B24B   IRIS           KANE                       KY     90007683887
8673644855B571   MARISOL        VASQUEZ                    NM     90014944485
867368A6655945   MICHELLE       HERRERA                    CA     90014058066
86736A82697B38   CHANTEL        GALLEGOS                   CO     39052280826
8673818718B154   PAULIN         PARRY                      UT     90013421871
8673847A585856   JESUS          PEREZ                      CA     90011484705
86738A3679154B   LOUIE          TAFOYA                     TX     90012350367
86739136A71938   RENEISHA       DIAL                       CO     90013171360
8673918632B896   THERESA        BLEDSOE                    ID     42034561863
867391A4891975   HUGO NICOLAS   RODRIGUEZ                  NC     90015341048
86739353224B39   WILLIAM        FENWICK                    DC     90001403532
86739537472B62   ANDRES         MENDEZ LOPEZ               CO     90010685374
8673B268497138   APRIL          BALDWIN                    OR     90013882684
8673B6A4993771   LARRY          LEE                        OH     64566166049
8673B73A68B168   JENNIFER       DUNCAN                     UT     90005717306
8673B88A247897   CRYSTAL        BIVINS                     GA     90008488802
86741161A55945   ROXANNE        PINEADA                    CA     90012431610
8674121362B896   DUSTIN         SURBROOK                   ID     42077232136
86742344772B29   GABRIEL        VELAZQUEZ                  CO     90006643447
8674249215B183   DARRON         HARRIS                     AR     23047014921
86742834A51362   ROY            FITZPATRICK                OH     90011018340
867429A5791242   DIONNE         MORGAN                     GA     90002429057
867435A7897B3B   JEFF           STENDER                    CO     90014695078
867437AA26194B   ERIC M         MULLIGAN                   CA     90003997002
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1333 of 2350


8674457898B168   MARY          PETERSEN                    UT     90010765789
86744A47891975   WILLIAM       ORTIZ                       NC     17047970478
86744A66A91837   MARGARITA     RILLA                       OK     21061030660
8674545867192B   AMANDA        BOYER                       CO     32070514586
8674652AA9154B   MARGARITA     HERNANDEZ                   TX     90011405200
8674667687B477   CARMEN        COTTO                       NC     11065766768
867467A8133698   THEODORA      THEODORA                    NC     12083037081
8674684348B154   MERALIYEVA    GULYETAR                    UT     90014038434
8674691438B168   TERRI         JUDD                        UT     31004139143
86746A49693771   ROBI          STARGELL                    OH     90011220496
8674736715B24B   STEPHANIE     JOHNSTON                    KY     68090993671
8674762618B135   BRIAN         BRISCOE                     UT     90003556261
86747A3826194B   HERBERT       RODGERS                     CA     46071270382
86748379A71977   CHRISTOPHER   MARTINEZ                    CO     90014173790
86748795497B3B   DANA          FARRICKER                   CO     39072757954
86748987872B62   JUDY          DIXON                       CO     33011039878
86749184A5B24B   TOY           JAY                         KY     90011021840
8674B63638B154   JARED         HEPLER                      UT     90003556363
8674BA1A791837   MARLYSHIA     HILL                        OK     90013740107
8674BA21191837   MARLYSHIA     HILL                        OK     90010110211
8674BA25333698   HDUER         RMAH                        NC     90014740253
86751546472B29   ADRIAN        GUTIERREZ                   CO     33017965464
86751A57472B46   MARIA         CORTES                      CO     33049430574
8675246265B139   JASMINE       WRIGHT                      AR     90009934626
8675313738B168   SIERRA        SAMOWITZ                    UT     90012921373
8675373A497138   TRACEY        MAGUIRE                     OR     44083707304
8675387625B261   TERRY         BOUGGESS                    KY     90010738762
8675421A893771   GREGORIO      NUNEZ                       OH     90003672108
8675427629154B   XOCHITL       HERRERA                     TX     75046832762
86754866297B3B   PEREZ         MICHELLE                    CO     39082268662
86754A91577537   ENEDINA       OROSCO ROMAN                NV     90012100915
8675542987192B   SKYE          LYNN RUST                   CO     90013064298
86756774497B38   LIDIA         GOMEZ                       CO     39028747744
8675686688B836   MATUSA        MATHEUS                     HI     90015318668
867568A7261928   MICHELLE      LAMOUREUX                   CA     90015108072
8675749A971938   MARGARET      ZAMORA                      CO     32014754909
867582A7191975   GLORIA        CASTRO                      NC     17041902071
8675835498B163   JOSH          RAY                         UT     90009093549
86758481597B3B   MELY          REYES                       CO     90003454815
8675892AA71977   ANGEL         RAMOS                       CO     90001899200
8675994345B24B   ROBYN         LANNAN                      KY     68091299434
8675B6AA771977   SUSAN         HYNES                       CO     38018336007
8675BA74141275   GLENN         PENNEY                      PA     51096020741
86761413372B62   MIGUEL        JAUREGUI                    CO     33042454133
86761452A47897   QUINTON       WOODSON                     GA     90006424520
8676157519154B   KRISTEN       GORDOVA                     TX     90014965751
8676182576194B   PARFICIO      GONZALEZ                    CA     46002848257
867618AA293771   BRANLEY       FEMUELS                     OH     64513348002
86761A71785888   MARTIN        SANCHEZ                     CA     46060690717
8676236A641275   CHRISTINA     BZDZIAK                     PA     90014773606
86762424872B29   JUAN          BARRAGON                    CO     90007014248
867624A7147897   MEACIO        DUDLEY                      GA     14082144071
86762855272B44   ROSALBA       GARCIA                      CO     90008658552
8676285635B24B   DAVID         JQRGUIN                     KY     90012528563
867639A4A97121   NITA          SMITH                       OR     90001119040
8676416919154B   JAQUELINE     BOUCHE                      TX     90010691691
86764456872B29   LESA          WASH                        CO     90012074568
8676644417B388   EVELIN        ASCA                        VA     90013954441
8676648A19154B   DELFINO       OBIEDO                      TX     90008634801
8676662172B981   ANNA          VALDEZ                      CA     90005306217
8676665624B22B   PATRICIA      LAMERE                      NE     90014026562
86766A48A51362   PAMELA        JACOBS                      OH     90000540480
8676726874B22B   KRISTY        DOWNING                     IA     90013942687
86767A2A372B33   CLAYTON       POPICK                      CO     33046190203
86769932497B38   BLOSS         ALANIZ                      CO     90010469324
86769A8216194B   MARK          ERICSON                     CA     46070060821
8676B166A32551   AMA           CASEY                       TX     90014471660
8676B212791837   ANTONIA       FELIPE                      OK     90015012127
8676B2A574B22B   MARK          NIELSON                     NE     90013232057
8676B591797B38   EFRAIN        SOTO                        CO     90013105917
8676B925141275   JHON          GANS                        PA     90004949251
8676BA8245B24B   SHON          MOUNT                       KY     68005320824
8677115425B183   JOHNNIE       FORD                        AR     90011551542
86771266372B29   VIRGINIA      CHI                         CO     33027652663
8677175A984336   MITCHELL      KRICHBAUM                   SC     90014227509
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1334 of 2350


86771761A72B46   JEFF         BRANDT                       CO     33082927610
8677196784B22B   BEATRICE     MUNENE                       NE     90012239678
867721A8A4B22B   GENRY        TORRES                       NE     90013681080
86772453A6194B   JONATHAN     REYES                        CA     90014374530
86773385872B62   JANETTE      OROZO                        CO     90013643858
8677356785B183   TENISHA      WAITS                        AR     90014075678
8677379AA97B38   DANIELLE     LANGLEY                      CO     90012477900
86773988A91975   KRISTEL      OSBORNE                      NC     90005999880
86773997897B3B   BARBARA      RUEBEN                       CO     39096419978
867739A7172B33   RAFAEL       GARCIA                       CO     33027419071
86773A86385856   JUAN         MARQUEZ                      CA     90008250863
8677421647B472   DEREK        STEVHENS                     NC     90004752164
86774759A97B3B   HELEN        SMITH                        CO     90012267590
867749A763B337   JEREMY       LEONARD                      CO     90009769076
86775A2968B163   CARLOS       AVILA                        UT     31012600296
8677718A124B83   EDNA         PAYNE                        DC     81092651801
8677748217B356   TONY         HALMAN                       VA     90008474821
8677756126194B   XOCHITL      AYALA                        CA     90009895612
8677764966198B   DAVID        RAMOS                        CA     90012666496
86777933972B62   SERRANO      ROQUE                        CO     33025759339
867783A1141262   TANA         BURTON                       PA     90013533011
8677864778B168   MAGDA        FLORES                       UT     90014056477
8677972668B168   RUSSELL      LAWCANCE LOOMER              UT     90010887266
86779A7639154B   STEPHANIE    MADERO                       TX     90013780763
8677B293A33626   MICHELE      LEON                         NC     90011672930
8677B57279154B   CARLO        LOPEZ                        TX     90013045727
8677B592191553   ALEJANDRA    FLORES                       TX     90000825921
8677B6A4677537   JO ANN       ALBERTSEN                    NV     90013946046
8677B74855B139   SHAWN        STRICKLAND                   AR     23002147485
8677B8AA25B568   VARGAS       REBECCA                      NM     90006408002
8678115958B168   ISABEL       WATSON                       UT     31024071595
86781A8A841275   MARY         THOMPSON                     PA     90012290808
86782A24897138   TIFFANI      THOMS                        OR     90010260248
86782A9AA41262   WILLIAM      BECHTOLD                     PA     90013810900
86783921A85888   JAMES        DAVENPORT                    CA     46012879210
86783A8A297B3B   MARIA        MONTANEZ                     CO     39010410802
86784784A91975   VINCE        QUINATA                      NC     90015267840
86784A62997B3B   STEFANIE     HARRIS                       CO     90012070629
867852A2751362   ANTHONY      PRUITT                       OH     90013662027
867854A2771682   DAVID        SHREK                        NY     90015424027
86785648772B33   GANESH       THAPA                        CO     90013666487
867856A234B22B   SAMMIE       JACKSON                      NE     90014916023
86785A5A29192B   EDWARD       LYAN                         NC     90007770502
8678634296194B   VICTOR       GOMEZ                        CA     90014523429
8678654215B594   DANIELA      ZUBIA                        NM     90009575421
86786917397B3B   JACQUELYN    RIGGS                        CO     39044409173
86786A33591525   BEATRIZ      RAMOS                        TX     90012240335
867874A2472B62   YOLANDA      SAENZ                        CO     90007554024
86788494372B33   SHUNRONICA   DOUCETT                      CO     33010324943
86788729A81677   KATHY        TATE                         MO     29082887290
8678895788B154   PANTALEON    CANDELARIA                   UT     90001329578
86789446372B46   GISELLE      VENEGAS                      CO     33076584463
86789A49297B38   CHARLES      DAVIES                       CO     39080770492
8678B181A6194B   SANDRA       MOORE                        CA     90012871810
8678B23A48B154   ROBBY        CHAPMAN                      UT     31076732304
8678B27664B22B   BENJAMIN     CASTOR                       NE     90013942766
8678B476597B38   ANGELINA     BUSTILLOS                    CO     39096564765
86791A35141262   JAN          DELAROSA                     PA     90013440351
867921A7861928   MONICA       VIOLETTE                     CA     90006721078
8679261A372B29   PAUL         NELSON                       CO     90011316103
8679392915B183   GARY         ASHFORD                      AR     23067359291
86793971A47897   CHERYL       POWELL                       GA     90014399710
86793A65977537   EDWARD       ERCOLINI                     NV     90010960659
86794155A72B29   ROB          LINSENMAN                    CO     33093731550
86794912172B62   INOSENCIO    NAVA VASQUEZ                 CO     33095549121
8679556138B145   MARTHA       LOPEZ                        UT     90001225613
86796264A72B62   JOSE         GARCIA                       CO     90012462640
8679642192B271   MAHAMADOU    NIONO                        DC     90003824219
8679644A72B94B   JERRY        CORRELL                      CA     90005234407
8679654924B22B   CRISTINA     MEJIA                        NE     27015025492
86796568672B46   BLANCA       VILLA LOPEZ                  CO     90013115686
867968A9393771   JAYE         JONES                        OH     90007178093
8679728528B154   JUAN         CASTRO                       UT     31005482852
867976A1A97B38   MONICA       LUCAS                        CO     90013786010
8679868A697138   MARCOS       ARTEAGA-CANALES              OR     44092546806
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1335 of 2350


8679899A372B33   NICK          WEIDNER                     CO     90013809903
8679916298B168   CELESTINO     AJPOP TZUQUEN               UT     90012611629
8679946885B571   EDWARD        CRUZE                       NM     90015344688
8679955A45B24B   DERQUIONE     LAWON                       KY     90015045504
86799818872B62   ANGEL         ALVAREZ                     CO     90014188188
8679B22279154B   RICARDO       MACIAS                      TX     90013932227
8679B29239375B   CHASITY       FRALEY                      OH     90011272923
8679B77468B131   KIM           TURNER                      UT     90011207746
8679B78895B183   ANTONIO       MENDEZ                      AR     90012517889
867B1215871977   RACHELLE      FINLEY                      CO     90003902158
867B1396797138   ALYSSA        LONGACRE                    OR     90012743967
867B1811197B38   ORLANDO       EIZQUIERDO                  CO     90012808111
867B186689152B   JESUS         BARRON                      TX     90001758668
867B1885471938   ARMANDO       RAMIREZ JR                  CO     90012938854
867B2876791837   KIOSHA        POUNCIL                     OK     90011998767
867B2996A8B168   SHERYL        CLAWSON                     UT     90011749960
867B3A57A97138   JOSE          VALDEZ                      OR     90012170570
867B4367272B46   PABLO         RAMIREZ                     CO     90001073672
867B451A797138   MENDOZA       ANTONIO                     OR     90008645107
867B4669591979   LAVON         THOMAS                      NC     90013296695
867B47A2461928   ANGELICA      LOPEZ                       CA     90014407024
867B5182693771   LUKE          LIMING                      OH     90011611826
867B542724B22B   DANNY         LOVE                        IA     27063704272
867B5525197B3B   MEGAN         CHASE                       CO     39032115251
867B5586791975   LATANYA       KING                        NC     90013745867
867B5829191943   CHESTER       SMITH JR                    NC     17052768291
867B6686791837   JOY           SECREST                     OK     90014286867
867B6736541262   DAMIEN        SZARMACH                    PA     90004147365
867B6A87A97B68   BLANCA        BARRIO                      CO     33047780870
867B71A7797B3B   MAIRA         CISNEROS                    CO     90004261077
867B736A69154B   ANA           URIAS                       TX     90013073606
867B785615B739   JUAN          VICTORINO                   MN     90014378561
867B8168691979   GLOI          RAHLAN                      NC     90008921686
867B853113B354   LAURA         GOMEZ                       CO     90012735311
867B8669A97B38   MARIA         ARMIJO                      CO     90014466690
867B8788951362   DONALD        WILLIAM                     OH     90012577889
867B9785491553   PATRICIA      RAMOS                       TX     90003267854
867B978A985936   BIKACHI       AMISI                       KY     67019327809
867B9A73181677   ERICA         JONES                       MO     29030660731
867BB22858B16B   KENNA         REESE                       UT     90007902285
867BB533655945   MARIA         ZOLIS                       CA     90007285336
867BB76578B168   RICHARD       MOORE                       UT     90003347657
867BB96A172B29   JOAN          SANGER                      CO     90004399601
867BBA57985856   UPENDRA       SOMPURA                     CA     90010480579
8681255782B271   ACQUAH        GOODWIN                     DC     90012465578
86812944272B83   TERRY         FORD                        CO     90012889442
8681345855B594   TRAVIS        KEYONNIE                    NM     90011444585
86813631772B29   RAFAEL OMAR   OLIVAS BRISENO              CO     90008626317
86813865A71977   VERN          IVEY                        CO     38012938650
8681444A572B29   NORBERT       GAINS                       CO     33029114405
86814481597B38   JAMES         TYLER                       CO     90012514815
86814671772B33   BOBBY         BARDON                      CO     90014496717
8681512328B154   CARLOS        HERRERA                     UT     31028481232
8681595745B943   ROBIN         WHITSITT                    WA     90015379574
8681614759154B   TRACEY        COLEMAN                     TX     90013131475
8681615449194B   TAMIKA        COLLINS                     NC     17001201544
86816711572B46   MARIOLUIS     CORDOVA                     CO     90014747115
8681712AA5B243   ANITA         WILSON                      KY     90010871200
86817136A47897   JAQUANA       MARTIN                      GA     90014771360
8681715845B183   RAYMOND       MOORE                       AR     90012871584
8681761A297138   RUFINA        ROJAS                       OR     90004366102
86818578A5B24B   AMANDA        FITZGERALD                  KY     90013535780
8681B142872B33   AMBER         WRIGHT                      CO     90007081428
8681B169491975   OLIVIA        HERNANDEZ                   NC     17076521694
8681B18788B168   MAVIS         BLACKBURN                   UT     31039211878
8681B216347897   MARLECIA      SMITH                       GA     90002502163
8681B25795B24B   JEROME        DEN                         KY     90010952579
8681B574255971   SAMANTHA      SANCHEZ                     CA     90006915742
8681B744297B38   SISTO         GONZALES                    CO     90012947442
8681B77774B22B   MWANSA        PAYNE                       NE     90010067777
8681B9A7971977   CHRISTOPHER   GLEUCK                      CO     90012869079
8682124116194B   RUBEN         CHAIREZ                     CA     46081002411
868212A162B366   JOSELINE      TLACOMULCO                  CT     90013932016
8682152472B896   KAREN         FORREY                      ID     90010455247
8682159A272B33   MICHAEL       PENA                        CO     90013295902
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1336 of 2350


868216AA872B62   JASMINE      JACKSON                      CO     90013336008
8682297498B836   BARBARA      HETIBACK                     HI     90015319749
86823689A72B33   JOEY         ROYBAL                       CO     33089946890
8682516648B163   RUSSELL      GIBBONS                      UT     90003321664
86825341972B2B   JOHNY        FISH                         CO     90001313419
86825992472B33   EDWARD       BURTON                       CO     33071559924
86825A7AA41275   DESIRE       COOPER                       PA     90014730700
8682664158B154   AMANDA       HACKFORD                     UT     90014986415
8682676939154B   ANGEL        RAMIREZ                      TX     90003277693
86827167972B33   JULIA        NAJERA                       CO     90015111679
86828327872B62   YAHIR        DUKE                         CO     90003923278
868287A2571977   CELENA       CHAVEZ                       CO     90014137025
868287A4461954   CHARLES      SMITH                        CA     90010477044
8682927A397138   CINTHIA      BAKER                        OR     90003902703
86829596972B29   SHERIDAN     FOSTER                       CO     33016675969
86829A85947822   MSLADY BU    SMITH                        GA     90008910859
8682B547472B46   DYAN         ROACH                        CO     33074335474
8682B563A33698   BRANDON      DICKERSON                    NC     90014455630
868316A7572B46   ERICA        ESTRADA                      CO     33048936075
86832337972B29   JULIE        MAES                         CO     33034783379
8683272718B138   SHAUNTEL     PARKER                       UT     90010057271
8683278478B163   MARIA        BARRIENTOS                   UT     31040887847
868327A715B24B   CHRISTIAN    AVERY                        KY     90013737071
86834429797B3B   YADIRA       CARPENTER                    CO     39052874297
868354A1485856   JOSE         GRANADOS                     CA     90015314014
86835525A5B24B   ERIC         GRAY                         KY     68025485250
86835A3A241275   AJ           MIXTER                       PA     51004230302
8683632195B379   MARIA        CAMACHO CARRILLO             OR     90003903219
86836441772B29   ANA          MUNIZ                        CO     33081364417
8683649A577537   MANUEL       MARISCAL                     NV     90015064905
8683664564B22B   KARLISSA     NELSON                       NE     90010686456
8683673A297B3B   AUBREY       BASSETT                      CO     90011507302
868367A8991979   RICHARD      FLEMING                      NC     90014587089
86837659472B29   RICARDO      MORALES                      CO     33071906594
86837A65391837   DEAN         CANADY                       OK     90012540653
868381A165B24B   JEREMIE      BROWN                        KY     68097431016
86838276A97B3B   NICOLASA     LOPEZ                        CO     39092492760
86838A43693739   JEFFREY      MCDARGH                      OH     90001440436
86838A49797B38   JEN          SINON                        CO     90008770497
86839196A72B62   FELIT        CHACOON                      CO     90013931960
86839471A2B28B   FIKER        BELAY                        DC     90012124710
86839587472B46   JAVIER       JIMENEZ                      CO     90013115874
86839A48891975   JAMERIA      HINTON                       NC     90007670488
8683B17995B27B   JESSIE       KICKERY                      KY     68097351799
8683B45A697B3B   GERALDINE    MARTIN                       CO     90010724506
8683B688391979   MARIA        GARCIA                       NC     90011256883
8684167497B44B   ISAAC        BLAKENEY                     NC     90006856749
86841692A7B248   CARROLL      LEWIS JR                     AZ     40533816920
868439A7471977   STEPHANIE    TENNEY                       CO     90012779074
868441A8297B38   SHELLI       CROWDER                      CO     90005301082
86845359A33698   UNETTA       MARSHUN                      NC     90013723590
8684591728B163   DAVID        TROTTIER                     UT     90004079172
868464A9741275   KIM          SHORTER                      PA     90014604097
868467A3A72B46   JEANEVA      LUJAN                        CO     90004427030
8684739A79154B   YANET        RAMIREZ                      TX     90012383907
8684771A69154B   SUSANA       ESCALANTE                    NM     90012517106
8684818428B154   ROSALEE      CORBETT                      UT     31004881842
86848652972B33   EDWARD       GARCIA                       CO     90014916529
86848888872B46   MALVIN       HEBLEY                       CO     90000998888
86848A77185936   HECTOR       SANCHEZ                      KY     67058650771
868494A2441275   GREG         DAVIS                        PA     90011314024
86849A71777537   VANESSA      COOPER                       NV     90014820717
8684B338772B46   DANIELLE     MEMMER                       CO     33089413387
8684B871181677   NIKKIA       NELSON                       MO     29000618711
86851794298B22   BRENT        STEWART                      NC     90008427942
86851A16797B38   LAWRENCE     SIMMONS                      CO     90015030167
86852123772B46   BREANNA      ELKINS                       CO     90013311237
8685218274B22B   ARISHA       NALLE                        NE     27050251827
86852357A72B29   BRAIN        LOVE                         CO     90009713570
868524A2441275   RAYMOND      HAPPNER                      PA     90012334024
86852954572B29   STEPHANIE    LOVE                         CO     90014589545
86853282272B46   APRIL        BENNETT                      CO     90013842822
86853638672B62   CYNTHIA      JARAMILLO                    CO     90013806386
8685396A94B22B   LETICIA      GERAN                        IA     90000969609
86854536472B62   SANDRA       YOSHIMURA                    CO     90013545364
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1337 of 2350


868548A8785856   TOM           KELLEY                      CA     46072978087
86855563297B3B   KIMBERLY      KEELEY                      CO     90014715632
868563A574B22B   OSCAR         LEYVA                       NE     90013943057
8685657395B17B   TIFFANY       MCFADDEN                    AR     90004965739
86856714772B46   ERIK          NEAL                        CO     90014747147
86857726772B46   BLANCA        ESTRADA                     CO     90010787267
8685955A377537   JENIFER       TINOCO                      NV     43077845503
8685956A377537   JENIFER       TINOCO                      NV     90012645603
8685B71216194B   D ANDRE       KNIGHT                      CA     90010767121
8685BA3A872B33   RAUL          PARRA                       CO     90012500308
8685BA7524B22B   FLOYD         JOHNSON                     NE     90013990752
8686117395B24B   BETTY         NISSEN                      KY     90015181739
8686186737B349   LEONEL        HERNANDEZ                   VA     90002788673
8686192848B154   BRIANNE       BUTTERFIELD                 UT     90014039284
86862583A8B154   JIMMI         HERNADEZ                    UT     90011275830
8686329888B154   JESSICA       BARRAZA                     UT     90004252988
86863377172B29   BONNIE        NORRIS                      CO     90010123771
86863666372B29   DESTINY       FINN                        CO     90009346663
86863951A6194B   TYESHA        ARNOLD                      CA     90012349510
86863954A8B154   STEPHANIE     SUBBELMAN                   UT     90014039540
86863A6384B22B   CARTER        CORDES                      NE     27021430638
868656A139125B   BRICE         MITCHELL                    GA     90008776013
86865778197B68   MAURICIO      DOMINGEZ                    CO     33058217781
86866358772B46   HILARIO       GARCIA                      CO     33001993587
8686653442B896   EULALIO       HERNANDEZ                   ID     42053815344
86867291372B62   PATRICK       MARTIN                      CO     33067722913
8686757185B183   TIERNEY       WILLIAMS                    AR     90014085718
86867656A91975   HOLLIE        LEWIS                       NC     17002726560
8686837965B183   AKELIA        BECKTON                     AR     90013223796
868694A728B168   ROLANDO       ROJAS                       UT     90001694072
8686986362B896   SANDIE        RUEB                        ID     90002628636
8686B138A77537   JIMMY         BUTLER                      NV     43086771380
8686B453961962   MARCO         LOPEZ                       CA     90008204539
8686B612671977   TIMOTHY       TWADDELL                    CO     90011226126
8686B67148B154   SALVADOR      MARTINEZ                    UT     31090596714
8686B716661928   HUGO          HERNANDEZ                   CA     90008157166
8686B729A71938   TRINA         LARUE                       CO     90006347290
8686B75298B135   JOHN          HADLEY                      UT     90012287529
8686BA38893771   ROBERT        STROZIER                    OH     90002340388
8687136942B237   MARCIN        SKOMIAL                     VA     90001723694
8687155738B154   PELENATO      AH CHING                    UT     90014535573
8687195312B271   SANTIAGO      AGUILAR                     DC     81060459531
8687198959154B   RAMIRO        FUENTES                     TX     90008309895
86873852372B46   JUAN          MATINEZ PEREZ               CO     90004798523
8687533698B163   SARAH         WILLIAMS                    UT     90010813369
86875365872B46   ERIBERTO      HERNANDEZ                   CO     90007303658
8687539874B22B   DANYEL        BLOOMQUIST                  NE     90008943987
86875A25461928   LINDA         RAMIREZ                     CA     90004890254
86875A3755B246   LESLIE        WITTEN                      KY     90008810375
8687755668B168   PAYGO         IVR ACTIVATION              UT     90011795566
86877768972B62   TOMMY         HALL                        CO     33056167689
86877863A2B896   BLAKE         SPENCER                     ID     90001938630
8687796A551362   TINA          HERNANDEZ                   OH     90012619605
86877A9845B183   KANEIKA       WREN                        AR     90013060984
86878994A51362   WESTON        HUGHES                      OH     90010089940
86878A2734B22B   PORSCHA       PHELPS                      NE     90014020273
8687B259872B46   HILARIO       SANCHEZ                     CO     33084582598
8687B3A2785936   LUCINDA       HEDGES                      KY     67062813027
8687B428A77537   STACY         PROCTOR                     NV     43097264280
8687B536597B38   LUIS          BENZOR                      CO     90011675365
8687B737972B46   PATRICIA      POAGE                       CO     90014847379
8687BA67133698   SHUNOAH       HOLLENBACK                  NC     12053520671
8688122955B24B   LONNIE        DAVIS                       KY     90015132295
8688132738B154   HUGH          FARRIS                      UT     90000843273
86881857472B46   GREG          WRIGHT                      CO     33027588574
86881922A8B163   YAMILE        HERADES                     UT     90004079220
868829A162B896   MELISA        MOLINA                      ID     90002629016
86883869A72B29   HERMINIA      GALLEGOS-URIBE              CO     33066688690
8688387119154B   ADRIAN        DE LA GALA                  TX     90013738711
8688389A533669   CHRISTOPHER   BLACKMON                    NC     90008228905
86884111672B33   MARK          BOULWARE                    CO     33096341116
868842A4A85888   JESUS         MENDEZ                      CA     46070332040
86885134A8B154   RUTH          BATZ                        UT     31096481340
86885167A8B168   RANDY         MALIN                       UT     90012611670
86885628A3365B   CHENNELL      BROWN                       NC     90000466280
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1338 of 2350


8688564968B168   FELIPA        RESENDIZ                    UT     90014166496
86885731172B33   FLORENTINIO   SANCHES                     CO     90010807311
8688747119154B   MARCELA       OCHOA                       TX     75089274711
8688788592B271   SHARECE       BAKER                       DC     90001178859
86887986597B3B   DONALD        HEIER                       CO     39015049865
86887A41741262   PAUL L        MORRIS                      PA     90003030417
86888313A72B29   GUADALUPE     MENDOZA-LOPEZ               CO     90014893130
8688886A397B3B   KURT          LESNIAK                     CO     90013428603
8688939239154B   JAVIER        REMIJIO                     TX     90013643923
868896A4A72B46   KIMBERLY      COLLITON                    CO     90013116040
868899A8897B3B   ANGELIQUA     MORENO                      CO     39014669088
8688B5A9172B62   ROSELIA       CANIL                       CO     90013985091
8688B76416194B   JUSTTIN       WOLF                        CA     90012867641
8688BA32191242   TIFFANY       BONAPARTE                   GA     90010360321
8689149627B242   TARRAH        SPANDRIO                    CO     90015044962
86891552A85856   JOSE          ORTEGA                      CA     90012775520
86891554A73294   ILAYNE        KLEPPER-GOLDSTEIN           NJ     90009575540
86892455A85888   RODNEY        ALO                         CA     90001684550
86894237A72B62   LYN           WYATT                       CO     33047422370
86894464A9154B   ANA D         GALLEGOS ESPARZA            TX     90013964640
8689457335B139   RONNIE        ROSS                        AR     23079925733
86895533472B46   INEZ          SEURER                      CO     33094105334
8689595515B139   KIPP          FREEMAN                     AR     23079929551
86895A18841262   TRAVIS        BURKS                       PA     90014430188
86895A26633698   THRYSTEEN     BOLER                       NC     90008970266
86895AA745B24B   TALONDA       WINFIELD                    KY     90012530074
8689649A277537   CLAUDIA       REDDIC                      NV     90014784902
8689662525B24B   THOMAS        LANNAN                      KY     68091306252
8689732684B22B   KIMBERLY      ALLMON                      IA     90013943268
86897329772B33   JENNIFER      CALLAWAY                    CO     90014173297
8689742A891975   DELIA         CHAVEZ                      NC     90000984208
8689784285B24B   NANCY         VAZQUEZ                     KY     90014778428
86897A51897B3B   SARAH         MOSLEY                      CO     90009950518
8689879535B183   QWANICIA      SMITH                       AR     90014097953
86898A7A52B896   LORENZO       MORENO                      ID     90009330705
86899385572B33   CHRISTOPHER   LEE                         CO     90013783855
86899497A93771   MARLO         ANDERSON                    OH     64573204970
86899719972B46   CYNTHIA       HERNANDEZ                   CO     90004427199
86899A45861928   YOLANDA       ORTIZ                       CA     90012620458
8689B281472B46   AMY           HARDER                      CO     33031792814
8689B51228B168   MARK          PILLOW                      UT     31064675122
868B114365B183   ANESHIA       KIDD                        AR     90013171436
868B11A8885936   ROBERT        COOTS                       KY     90014101088
868B1338297B3B   ANGELICA      SALAZAR                     CO     90010243382
868B15A3A97B3B   CARLY         KING                        CO     90015125030
868B1649A5B24B   THOMAS        GARDNER                     KY     90011066490
868B1A93697138   ROBERT        WILLIAMS                    OR     90013750936
868B1A9989154B   GRACIELA      TORRES                      TX     90009810998
868B1AA5551362   CHRIS         PEACE                       OH     90009470055
868B215175B24B   JULIE         BANGE                       KY     90014661517
868B2234291979   SIMON         TECA                        NC     90014712342
868B251A591975   AYOBAMI       OWOLABI                     NC     90010975105
868B271676194B   ANGELA        REDDIX                      CA     90003577167
868B27A2691837   TAMERA        MOHAMMED                    OK     90014347026
868B2875A81677   DEREK         MCMILLIAN                   MO     90010198750
868B3131672B33   YOLANDA       MANZANARES                  CO     33070841316
868B3196761928   OTILIA        BRAKEN                      CA     46030611967
868B4426255945   PAUL          TORREZ                      CA     49042384262
868B44A2197B38   RICHARD       TAYLOR                      CO     39078504021
868B4665971977   JAMES         MAESTAS                     CO     90007916659
868B5118151362   LARRY         KING                        OH     90010721181
868B5143572B33   JULIO         ALBINO                      CO     90003061435
868B528296194B   MARIBEL       YAZDANPARAST                CA     46003232829
868B5287361928   YOSHIMITSU    ISHII                       CA     46062252873
868B592967B42B   JESSICA       MAYELA                      NC     90013209296
868B6288471938   ALEJANDRO     CHAVEZ                      CO     90000232884
868B6328177537   MONICA        FLETES                      NV     43092823281
868B6497951598   KURWA         RAMAZANI                    IA     90015184979
868B6525691975   DENISE        DAVIS                       NC     90010035256
868B657A472B46   GAIL          WHITMILL                    CO     90013115704
868B6614933698   MELVIN        HOWARD                      NC     90011956149
868B6A14172B62   YVETTE        MALAVE                      CO     33091440141
868B7149772B46   THOMAS        TINNIN                      CO     90014161497
868B741A672B62   NATHAN        SCHMITTEL                   CO     90007554106
868B743675B183   COREY         HENDERSON                   AR     90013154367
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1339 of 2350


868B7914885936   MAGDALENE    BERETE                       KY     67038389148
868B7924A55945   SHATYRA      TRAVIS                       CA     90012889240
868B7949891837   BREANNA      TAYLOR                       OK     21035469498
868B87A665B24B   CHRIS        JOHNSON                      KY     90011957066
868B8926A85936   MAGDALENO    NOLAZCO                      KY     90013219260
868B967A86194B   REYNA        MORALES CERVANTES            CA     46070326708
868B9776597B3B   SHONNY       HINES                        CO     90014667765
868BB275297B38   NATASHA      ROSS                         CO     90013432752
868BB33AA91979   WAYNE        CHAMBERS                     NC     90013383300
868BB37A447897   BARNEY       JONES                        GA     14042503704
868BB3A8A72B46   FREDA        RHEUBOTTOM                   CO     90013573080
868BB623897B3B   JOEL         WINGO                        CO     90011066238
868BB69A78B168   JOSEPH       AGIRRE                       UT     31086646907
868BB835797138   MARIA        LUA DIAZ                     OR     44065678357
868BBA1675B183   TIMOTHY      MINCHUE                      AR     23013650167
8691239669376B   INC          FRE FLO DISTRIBUTION         OH     64573993966
8691281A86194B   BARBY        THRIFT                       CA     90013688108
8691323754B22B   KYLE         SIMONSEN                     NE     27003362375
86913472A55945   THERESA L    ROMERO                       CA     90012744720
869137A762B271   NICOLE       GILMORE                      DC     90005097076
86913A4AA7B485   PHYLLIS T    MCKINNEY                     NC     23086100400
86913A8425B183   ERICKA       PIERCE                       AR     90012330842
869142A2141262   MARY         FREEMAN                      PA     90011082021
869145A3872B46   DIANA        MORALES                      CO     33069775038
86914A7635B139   JOSHUA       BROOKS                       AR     90011420763
86915843572B33   AURORA       RODRIGUEZ                    CO     33007398435
8691633785B183   KHELLI       GAINES                       AR     90010963378
86917967397B3B   JACLYN       SANCHEZ                      CO     39038999673
86918192497B38   CAROLINE     GARCIA                       CO     90007041924
869181A5A41275   PAYGO        IVR ACTIVATION               PA     90014311050
8691869A991979   TRISTAN      BRANCH                       NC     90011466909
86918A11972B29   RAMON        AGUILAR                      CO     33068120119
86918A93633698   TONY         MONTANA                      NC     90008350936
8691B43A172B46   SANDRA       CRAFT                        CO     33081124301
8691B56A59154B   OSCAR        GALLEGOS                     TX     90011405605
869213A8591979   JESSICA      MULDUROW                     NC     90008613085
86921474A72B46   OSCAR        SERRANO RUIZ                 CO     90000994740
86921652A8B168   ESTHER       WILLIAMS                     UT     90013296520
8692171A291975   MALINDA      JONES                        NC     90003247102
8692183517B359   JOSE         GARCIA                       VA     90000678351
869221A659154B   MARITZA      PERALES                      TX     75095831065
86922357653B84   GABRIELE     GARCIA                       CA     90014263576
86922715A2B28B   EDWARD       BANKS                        DC     90010067150
86922A2938B163   CANDICE      SMITH                        UT     31017690293
869236A2971938   ROCIO        SERRANO                      CO     90010346029
8692383579154B   ROSA         ACOSTA                       TX     90012928357
86923839272B46   FRANCISCO    SANCHEZ                      CO     33036418392
8692395318B154   KIM          MAEZ                         UT     31092009531
8692399425B183   LUZ          ALVAREZ                      AR     23029479942
86923A75997B38   CLAUDIA      GALVEZ                       CO     90013220759
8692431A485856   GEORGE       HALEY                        CA     90001493104
86924656A9154B   CECI         MARTINEZ                     TX     75054636560
8692474868B163   LISBETH      GRANILLO                     UT     31056907486
8692498A66194B   SANDRA       MORGAN                       CA     90010919806
86924A2815B24B   DANIELLE     BEARD                        KY     90012530281
86924A54155945   NORA         MARTINEZ                     CA     49031700541
86925351397B38   JUSTIN       BRADLEY                      CO     90009813513
86926733A9154B   ENRIQUE      GOMEZ                        TX     90012887330
8692757A891837   SHERYL       LEE                          OK     21086025708
869275A755B24B   JAMIA        TOLBERT                      KY     90013725075
8692765A997B3B   STARLA       KOENIG                       CO     90007836509
86927784572B46   SPENCER      CONNOR                       CO     90010987845
86928278A71938   PATRICK      LLOYD                        CO     90012982780
869289A7297B3B   RON          TAFOYA                       CO     39028019072
8692911924B22B   KIMBERLY     NELSON                       NE     27082111192
86929325372B62   MARTHA       LOPEZ                        CO     90013533253
8692945668B154   EUGENE       ROYZENGURT                   UT     31092504566
8692969845B183   CARL         HEYL                         AR     23087896984
8692B178833698   VICTORIA     FUNDERBURK                   NC     90010551788
8692B236155945   LORI         ZEPEDA                       CA     90014492361
8692B714972B29   JACQUE       CLEVENGER                    CO     33033507149
8692BA48541262   JAMIE        GATEWOOD                     PA     51083820485
8693126225B27B   JASON        GREVIOUS                     KY     90011382622
8693165448B168   ROCIO        DOMINGUEZ                    UT     90014166544
869325A9497B38   NICK         FITCH                        CO     39045705094
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1340 of 2350


86932688872B46   JUAN          MEDRANO                     CO     90014746888
86932883A72B62   ROBERT        HOOD                        CO     33001008830
869328A6277537   JESSICA       CASTRO                      NV     90012068062
86932A7855B139   FREDIA        MINIFEE                     AR     23088560785
8693321478B154   BRYCEN        LOERTSCHER                  UT     31069652147
86933422397B3B   CONNIE        BROCKHAUS                   CO     39085644223
86933619772B46   KEVIN         SARG                        CO     90013116197
86933993172B46   RAHMEL        HARRIS                      CO     90013209931
86934525A9154B   ALEJANDRA     ROBLES                      TX     90010315250
8693476538B168   JASON         DIVINEY                     UT     90014157653
8693535132B981   SHERMENIA     STAFFORD                    CA     90013443513
8693548A397138   ELIAS         VASQUEZ-RENDON              OR     90014264803
8693631775B183   SOPHIA        WALKER                      AR     90007423177
8693672A491975   SUSAN         MAYS                        NC     17061867204
8693697197B425   TONYA         THOMAS                      NC     90010899719
8693726688B163   KERI          JACKSON                     UT     31016492668
86937289997B38   HIPOLITO      MUNIZ                       CO     39016702899
869374A1197B38   ANDREA        ANDREWS                     CO     90015084011
869378A4A71977   BRANDON       OLIVA                       CO     90012948040
869392A185B139   ELISABETH     BOWMAN                      AR     90011152018
8693968389154B   JOSE          GUZMAN                      TX     90012906838
86939A16271938   WENDY         DEAN                        CO     32015190162
869416A7491979   HUBERT        TAYLOR                      NC     90010276074
8694229646194B   SEAN          SPARKMAN                    CA     90012602964
869423A7A8B168   ULLA          SPONBECK                    UT     90014063070
869427A5185856   JUDITH        YOUNG                       CA     90013507051
8694311418B168   ARTHUR        DESCHAMPS                   UT     90005151141
8694341939192B   BEREKET       GEBREZGABHER                NC     90006114193
869434A1597B38   CHANISE       RIVERA                      CO     39082874015
86943688872B46   JUAN          MEDRANO                     CO     90014746888
8694381815B24B   LEE           BOBBITT                     KY     90014898181
86943828A97B3B   DAVE          CARROLL                     CO     39050608280
8694431113B389   ROSIE         CHASE                       CO     33083903111
86944A6A785856   BILL          TINDALL                     CA     46079030607
86945141897B3B   TAMI          BERRY                       CO     90002231418
86945163A5B275   PHILIP        MORRIS                      KY     90013121630
86945513797B38   CRESENDA      REED                        CO     90007755137
8694552A772B62   BELAI         MUNOZ                       CO     33072155207
86945661A71938   VINCENT       VARELAS                     CO     90010666610
8694573A78B154   SHAQUANNA     MOUNTAIN                    UT     90015167307
8694597445B183   JESSICA       HER                         AR     90014049744
86946438A72B29   FREEDOM       ROYBAL                      CO     90004824380
8694665A697B38   STELLA        SANDOVAL                    CO     90011936506
8694666698B154   YARITA        MEDINA RIVERA               UT     90010476669
86946864A55931   JOSE          ARRIAGA                     CA     90013308640
86946A2679154B   JUAN          FRIAS                       TX     90006340267
86946AA965B139   ALESHA        ELDER                       AR     23079950096
869471A249373B   CAROL         PLANTZ                      OH     90012981024
86947486472B62   SAVANNA       CISNEROS                    CO     90011174864
869474A1991979   DAVID         CAMPOS                      NC     90011104019
86947575972B46   SPENCER       SERUMAGA                    CO     90014305759
86947627272B46   TERESA        CHAIREZ                     CO     90013116272
869476A5393771   JOSHUA        DOYLE                       OH     90003846053
869476AA891837   ANTHONY       MARTINEZ                    OK     90010116008
86947742A72B29   NELSON        VIECENFE                    CO     90013737420
86947973272B33   ELIZABETH     PEREZ                       CO     33041179732
8694853255B183   LESHELLE      HAYES                       AR     90004935325
86948768472B62   TIFFANY       MANZANARES                  CO     90013977684
86949133A97B38   IRENE         SIRRATT                     CO     90002531330
8694923556B734   MATT          DESKA                       PA     90015562355
86949628272B46   DULCE         SERVANTES                   CO     90013116282
869498A845B183   AURORA        BLAKE                       AR     23083838084
8694B3A217B425   YOLANDA       LEWIS                       NC     11047403021
8694B584685936   TYRONDA       MOBERLY                     KY     67048385846
8694B65448B168   ROCIO         DOMINGUEZ                   UT     90014166544
8694B789191979   KIMAYA        JONES                       NC     90013387891
8694B931655945   ALECIA        TAYLOR                      CA     90012889316
8695125146194B   BRENDA        SANTANA                     CA     90009092514
8695136345B27B   TONYA         CLARK                       KY     90012023634
8695144759154B   ALEJANDRA     LUCERO                      TX     90013854475
869516A3861928   JUAN FELIPE   ROJAS                       CA     90013456038
86951A73471938   JOSH          COWDEN                      CO     90012170734
8695228A585856   DANIEL        JIMENEZ                     CA     90015282805
8695245845B24B   JANE          MONTGOMERY                  KY     68014614584
8695279A997B38   ELVA          RAMOS                       CO     90010977909
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1341 of 2350


86952A72891975   ESTHER        HIRALDO                     NC     90011350728
86953285372B46   LOURDES       PEREZ                       CO     33063372853
8695339A772B46   STEFANY       VILLARREAL                  CO     90014803907
8695381968B154   LILIAN        HERNANDEZ                   UT     31023058196
8695395A74B22B   NICKA         WALKER                      NE     90009149507
8695454732B225   LYNETTE       GARETT                      DC     90007755473
8695541666194B   ABRAHAM       CASTILLO                    CA     90014564166
8695585559154B   EDGAR A       JURADO                      TX     90014848555
86955AA138B154   LISA          BENNETT                     UT     31072070013
86955AAA176B82   MARK          WILSON                      CA     46096750001
869561AA85B17B   TEKIA         JOHNSON                     AR     23089651008
869569A1197B68   CARLOS A      DELGADO MARTINEZ            NM     33023609011
86956A6466194B   LAURA         CASEY                       CA     46004220646
8695724AA72B33   ELLIOTT       FLECK                       CO     90012672400
8695732912B896   JULIANNA      MOBLEY                      ID     42027463291
8695733284B22B   LOUISA        JACKSON                     NE     90013943328
86957A39191837   FRANCISCO     OTERO                       OK     90010120391
8695828118B163   ROSA          MACEDA                      UT     90009632811
86958A88A97B68   GABRIEL       VAZQUEZ                     CO     33021320880
86959363497B38   ELVIN         BANEGAS RIVERA              CO     90012813634
8695936A291975   ROCHELLE      JACKSON                     NC     90014363602
8695B36815B139   KRISTY        JOHNSON                     AR     23018183681
8695B529297138   KATY          FURLON                      OR     90006205292
8695B553381677   LESLEY        HOSKINS                     MO     29087455533
8695B642961928   KENYETTA      PETE                        CA     46007216429
8695BA48872B62   DORA          MORONES                     CO     90011580488
86961A41672B33   GRISELDA      AROYO                       CO     33088450416
86961A6588B168   MARK          SHAW                        UT     90004790658
86961AAA185936   RICARDO       SALAZAR                     KY     90010280001
86962132697B3B   TROY          COOPER                      CO     90009441326
8696213622B28B   DIANA         LYNNE                       DC     90014701362
86962432A93771   MISTY         HALE                        OH     90007204320
86962614997B68   CHRIS         RICHMOND                    CO     33037766149
8696292968B154   TED           CYRUS                       UT     90008269296
8696292A572B62   CRYSTAL       HESS                        CO     90008079205
86962A33861928   LUIS          SALAZAR                     CA     90014880338
86963A23791975   GWENDOLYN     LYONS                       NC     90005810237
8696494917B339   LETICIA       HERRERA                     VA     90012519491
86965216397B3B   JACQUELYN     SMITH                       CO     90013062163
86965384A91979   MARIA         CASTRO                      NC     90014153840
86965446472B62   AUDJANEEA     MILLER                      CO     90009764464
8696557752B28B   EDGAR         DAVIS                       DC     90007275775
869655A5191837   WAYNE         MORRELL                     OK     90001915051
869655A5241262   JAMES         KENT                        PA     90012205052
86965874897B81   CARRIE        CHALKER                     CO     90006778748
86965985872B46   MARY          JONES                       CO     90011889858
869666A232B896   AMANDA        FARIAS                      ID     42035686023
86966A2639154B   EDITH         URENO                       NM     90013070263
86967526172B46   CHYRIS        CORDOVA                     CO     33097395261
86968243597B51   AMBER         VANBUSKIRK                  CO     90014672435
86968A2245B27B   PEDRO         PEREZ                       KY     68063200224
86969222697B3B   JUAN CARLOS   CHAVEZ ARELLLANO            CO     90012972226
8696961595B24B   RICHARD       KILLEBREW                   KY     90014886159
869697A119154B   JULIA         RAMIREZ                     TX     75069237011
8696B224A97B3B   KRISTAN       GREER                       CO     39037182240
8696B35959154B   MARIA         MARINELARENA                TX     75036153595
8696B3A8185935   DOUG          GOLDEN                      KY     90000543081
8696B64A672B46   ROBINSON      SHIRLEY                     CO     33027236406
8696B8A3441275   JEREMY        HAAS                        PA     90009018034
8696B92668B163   EDUARDO       JUAREZ                      UT     90004079266
8696BA3437192B   CUATEMOC      CASTRO                      CO     32060130343
8696BA5743126B   KIMBERLY      GAERTIG                     IL     90015140574
86971685872B62   CHARLENE      DIAZ                        CO     33052826858
86972528A8B131   SUSIE         BENCOMO                     UT     90002665280
86972679A91975   SARAH         CHERRY                      NC     90014586790
8697278959154B   FREDRICK      TRUDEAU                     TX     90013987895
86973A29161928   KIMIE         JOHNSON                     CA     46083450291
8697428716194B   DANIEL        MAZA                        CA     90014572871
869748A2493771   ERIC          GIBSON                      OH     90014638024
8697528128B167   CHRISTINE     ROBBINS                     UT     90007572812
8697589A985936   KEVIN         BARRON                      KY     90008878909
86976299A72B62   CARLOS        ARAEZA                      CO     33063512990
869763A2185888   KAREN         JORDAN                      CA     46088973021
8697679839154B   SUSANA        FRANCO                      TX     90007617983
8697755A351362   MEACH         YOUNG                       OH     90013165503
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1342 of 2350


86977A62441262   GWENDOLYN    PULLIE                       PA     90009110624
8697818625B17B   HAROLD       ANDERSON                     AR     90008741862
86978692A9154B   JUANA        CASA                         TX     75020556920
86978AA1161928   TOBEY        SMITH                        CA     90010470011
86979A6815B24B   DINORA       ZAMORA                       KY     90012530681
8697B348A5B183   SYLVIA       DAVIS                        AR     90010933480
8697B567191553   MELISSA      MELENDEZ                     TX     75032515671
869811A695B24B   LAURIE       TERRY                        KY     90010921069
869813A9633698   SILAS        KBUOR                        NC     90010553096
869814A319154B   PAOLA        COMADURAN                    TX     90002324031
8698168975B27B   DAVID        DEY                          KY     90001416897
8698217465B17B   WILLIE       ADAMS                        AR     23003611746
8698249955B27B   JOYCE        CARRIER                      KY     68089314995
86982691872B46   AHMED        CISSE                        CO     90014746918
8698274769154B   ERIC         RAMIREZ                      TX     90003367476
86982892672B29   MANUELA      BORJAS                       CO     90012228926
8698292AA91975   ANGELA       CURLEY                       NC     90014919200
86983132372B46   HARRY        BREADFORD SCOTT              CO     90013651323
8698315478B168   SHAG         FOX                          UT     90013321547
86983344572B93   MANUEL       HEREDIA                      CO     90013103445
8698358627B889   JERONE       TINES                        IL     90014815862
8698365526194B   FERMIN       GABONA                       CA     46017526552
86983839A72B46   HARRY        BREADFORD SCOTT              CO     33013388390
86983864A91337   SHAREE       GRANT                        KS     90007218640
8698397188B154   CORTNEY      SORENSEN                     UT     90008269718
8698397724B22B   WINSTON      THURMAN                      NE     90012239772
86984495A8B168   LYNN         WARDURTON                    UT     90002774950
86985359797B3B   RICARDO      ZAMORA                       CO     90010663597
86985742372B62   MEGAN        LOPEZ                        CO     90009547423
86985773872B33   JAKE         BLACKBURN                    CO     33096977738
8698598A35B921   RENEE        ODOM                         ID     41045849803
8698628655B241   JEANETTE     HASTINGS                     KY     90009132865
869864A438B192   RAINEE       AYERS                        UT     90013194043
869869A6397B38   CRISTRAN     GALLEGOS                     CO     90013639063
869871A9485936   BRITTANY     KEY                          KY     90014571094
86987414A72B29   TIFFANY      ROBERTS                      CO     33092224140
86987532A91975   JEREMY       MINOR                        NC     90007915320
86987634872B46   RICKY        SCOTT                        CO     90013116348
8698831688B169   THOMAS G     RUSSELL                      UT     90009373168
8698927652B271   PABLINA      KAMARA                       DC     90009432765
8698944A24B22B   KRISTIN      DUBOSE                       NE     27076244402
86989771A41275   MIROSLAW     STELMASZCZYK                 PA     51000567710
8698B13146194B   DANIEL       GOGGIN                       CA     90013721314
8698B2A7A51362   CHRISTINE    JOHNSTONE                    OH     90014652070
86991766472B33   LAURA        BOLTON                       CO     90012217664
86991A5222B243   CARLOS       TURCIOS                      DC     90006290522
869923A2A9154B   CORINA       OZUNA                        TX     90003883020
8699282A38B168   JUAN         ARIAS                        UT     90011068203
86993175A8B168   DIANA        MARTINEZ                     UT     90012131750
8699321245B139   TERRY        FLOYD                        AR     23030162124
8699543795B17B   PATRICK      BARNETT JR.                  AR     23072564379
86995738872B33   ROSAMARIA    GALLEGOS                     CO     90012947388
86995A8A48B166   DEAN         PURSEL                       UT     90011670804
86996271172B29   SHAWN        CONRAD                       CO     33057382711
869974A1393771   CHRISTINA    ARTZ                         OH     90004144013
86997674772B62   WOLFE        RANEE                        CO     90009806747
8699794A12B237   LAKESHA      GRAHAM                       DC     90011129401
86997A15871977   PAYGO        IVR ACTIVATION               CO     90013190158
8699816A65B183   KELLEE       CLAY                         AR     90013041606
86998194A91837   NAKITA       PRICE                        OK     90012541940
8699837585594B   FRANCES      VALDOVINOS                   CA     90009583758
8699846586194B   ABEL         QUINONEZ                     CA     90010264658
86998552297B38   HILARIO      TEMOXTLE                     CO     90014485522
8699871652B271   SAUL         MEMBRENO PINEDA              DC     90005097165
869992A3985936   ORETA        GAY                          KY     67043412039
86999497A9132B   JUAN         MENDEZ                       KS     90008284970
86999629372B33   YANAIS       MORALES                      CO     90014006293
86999635572B62   DAVID        MILLIGAN                     CO     33088466355
8699967929154B   SANTARAIN    CONSTRUCTION INC             TX     90004166792
86999A8A14B22B   CALVIN       DUNN                         NE     27022520801
8699B254785856   LAURA        KENNAMER                     CA     90013672547
8699B286441262   ANNE         LACUESTA                     PA     51075032864
8699B53348B154   JOEY         MCKINNEY                     UT     90011565334
8699B53935B27B   SCOTT        WARREN                       KY     90004725393
8699B844493771   BRIDGETTE    HALL                         OH     90014818444
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1343 of 2350


869B1472A55945   THERESA L     ROMERO                      CA     90012744720
869B162775B183   WHITNEY       JOHNSON                     AR     90010766277
869B165448B168   ROCIO         DOMINGUEZ                   UT     90014166544
869B1677A97B3B   RYAN          CAMACHO                     CO     90012596770
869B226843B391   TRAVIS        JOHNSON                     CO     33064532684
869B2578736155   ROBERT        CANTU                       TX     90015535787
869B264A872B29   FRANK         NASH                        CO     90015396408
869B267976194B   RUBEN         HERNANDEZ                   CA     46002156797
869B283357B449   SHAKIERA      DANIELS                     NC     90013518335
869B2A5A791837   FRANCO        GONZALEZ                    OK     21073000507
869B3135272B33   MATT          ALLMAN                      CO     33008041352
869B337538B168   MARIE         DALTON                      UT     90012273753
869B3945641262   TYRONE        MUNSON                      PA     90003169456
869B3AA7191975   WILLIAM       PERVIS                      NC     90008980071
869B4366A9152B   LORENA        GARCIA                      TX     75057213660
869B47A6491979   ROSVELINDA    DOMINGUEZ                   NC     90002867064
869B4867672B29   JAKE          PEZLEY                      CO     90013178676
869B4956791975   CRISTHIAN     JIMENEZ                     NC     90015179567
869B5272697B3B   YULIANA       CORTES                      CO     90014752726
869B541387B389   JOSEPH        DOUGLAS                     VA     81006954138
869B55A5797B3B   JOLEENA       JONES                       CO     90011945057
869B5928755945   JUSTIN        TINER                       CA     90013199287
869B5A35947897   LANECIA       DENSON                      GA     90009870359
869B6368597B38   CRISTYAN      FLORES                      CO     90013933685
869B676948B163   ROBERTO       ROSAS                       UT     90005627694
869B6896291354   FELICIA       THOMPSON                    KS     90010588962
869B6938172B46   ANGELA        RIUZ DE VALENZUELA          CO     33095599381
869B69A932B275   ELVIS         SANTOS                      DC     90004609093
869B6A2955B27B   CYNTHIA       BOSTON                      KY     68097550295
869B7353A61983   JUAN          GARCIA                      CA     90012543530
869B742889154B   CINDY         LUGO                        TX     90013084288
869B7635A91975   TIMOTHY       MCRAE                       NC     90012836350
869B7654955945   JUANITTA      RADCLIFF                    CA     90012326549
869B9294277537   LUZ           BOWLER                      NV     43037892942
869B9449991837   GERARDO       LONA                        OK     90015174499
869B9672272B33   JOHN          MOORE                       CO     33046486722
869B976535B17B   JUAN          ALVAREZ                     AR     23062297653
869B9AA5372B29   GERMAN        RAUDALES                    CO     33052860053
869BB469A9154B   NUVIA         ORDONEZ                     TX     75011254690
869BB57A15B183   DAE VIA       CAREY                       AR     90004945701
869BB619797B68   NATALIA       ORTIZ                       CO     33091496197
869BB939772B62   DAVID         SMITH                       CO     90013439397
869BB956691242   LEONA         LIVINGSTON                  GA     14536579566
86B11194297B38   SILVIA        LOPEZ                       CO     39081541942
86B11293772B29   DEANNA        DUFFORD                     CO     90007422937
86B113A8672B46   SARACE        LINDA MARA                  CO     33050233086
86B11456277537   MICHAEL       SMITH                       NV     43054574562
86B11738561928   ISIDRA        GALLO                       CA     90000107385
86B11834541237   JARON         MCLAIN                      PA     51093748345
86B1185125B24B   MELISSA       SWARTZ                      KY     90010888512
86B1195A172B33   DOUGLAS       WALTERS                     CO     33060319501
86B11A63891975   SHANTE        PARKER                      NC     90010370638
86B132A152B896   TERESA        WESLEY                      ID     90011802015
86B13966581677   ADAM          RANSDELL                    MO     29012169665
86B14379771977   WAYNE         STOKELY                     CO     38008933797
86B143A4772B62   MANUEL        GONZALEZ                    CO     90013923047
86B14465577537   BRENDA        GOMEZ-ESTRADA               NV     90012174655
86B14992472B29   JASON         RAY                         CO     90014599924
86B15533697B3B   KEITH         GASTON                      CO     90005235336
86B15883955945   OMAR          PEREZ                       CA     90013088839
86B1588A493771   CHRISTOPHER   COLLINS                     OH     90013468804
86B15A3418B829   KELSEI        ALBIAR                      HI     90014760341
86B16197272B46   CODY          GOODMAN                     CO     33091831972
86B1677A82B896   MATTHEW       APODACA                     ID     42046297708
86B16A51997138   TERESA        PENNINGTON                  OR     90002110519
86B17225A77537   CYNTHIA       LEGG                        NV     90002862250
86B17528172B29   CASEY         KITTO                       CO     90005365281
86B17541497138   ROSA          ORTEGA                      OR     90015175414
86B17A31761556   ANDREW        WILSON                      TN     90015460317
86B1848776194B   SAMUEL        CANO                        CA     90013894877
86B1857748B168   PERLA         ELTRAN                      UT     90001725774
86B1912A491975   BERNICE       CORTEZ                      NC     90010941204
86B19142561928   COURTNEY      EMERSON                     CA     90009651425
86B1918A191837   MARTEY        QUAYE                       OK     21041461801
86B19262A2B896   ERICA         ZELICKOWSKY                 ID     90011802620
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1344 of 2350


86B1928549154B   ANA                RODRIGUEZ              TX     90012502854
86B1928717192B   BRETT              POST                   CO     90012522871
86B19292571977   JOYCE              SISNEROS               CO     38008102925
86B19741A97B68   RHIANONN           JARRELL                CO     33052657410
86B19A34971938   MONIQUE            ORTEGA                 CO     90012030349
86B1B86A841275   TIM                SMITH                  PA     90010438608
86B1B8A7871938   SUSAN              GUSTAFSON              CO     90014308078
86B1BA88772B46   MARIA              ESPITIA                CO     90007300887
86B21434A91979   SHAREIKA A         ORTIZ                  NC     90010984340
86B21937A71977   SALVADOR           LOPEZ                  CO     38090819370
86B22477391975   ANTHONY            WINSTON                NC     17085304773
86B2298A177537   DAVID              ANDERSON               NV     43082309801
86B234AA46194B   VANGIE CHARLOTTE   MCDOUGALL              CA     90013044004
86B23697A71938   JUSTIN             LUKE                   CO     90008546970
86B24136885824   OMAR               GONZAGA                CA     46087401368
86B2418A197138   JAMES              WEATHERLY              OR     44093601801
86B2421A18B154   SCOTT              DIMMITT                UT     31024662101
86B2427519154B   VALERIA            RUIZ                   TX     90009692751
86B245A6372B46   JORGE              ARAMBULA               CO     33050035063
86B24791A55945   GLORIA             GONZALEZ               CA     90014427910
86B25159A51577   LUGA               AGOSTINO               IA     90014171590
86B25186147822   ANGELA             AUSTIN                 GA     90011451861
86B252A1691979   TOMAS              RAMIREZ-SANCHEZ        NC     90010202016
86B256A7A93783   ROPERT             HUNT                   OH     90012686070
86B2613988B168   ROBERTO            SANDOVAL               UT     90012381398
86B2628445B139   JAN                ADKINS                 AR     23058232844
86B2656292B896   KORI               BATT                   ID     90002355629
86B26929471977   DANICA             FOWLER                 CO     90011329294
86B26956A85856   CARLOS             VARGAS                 CA     90015189560
86B26A9115B739   JORGE              HERNANDEZ-TESTA        MN     90015430911
86B2743896194B   EDGAR              SANTOS                 CA     90006374389
86B2759495B139   CARL               FIDURSKI               AR     90015125949
86B27717447897   TAWANA             BROWN                  GA     90014877174
86B2773175B17B   KILWANA            NASH                   AR     23076207317
86B27A11497138   EPIFANIO           GUTIERREZ              OR     90002750114
86B28469871938   STUART             CRUZ                   CO     32051144698
86B28773591837   MARTIN             PALOMO                 OK     90013237735
86B28A22571938   RYLEE              OLEARY                 CO     90014900225
86B29712397B68   MICHELLE           CASIAS                 CO     90011107123
86B297A3672B29   YADIRA             LOZANO                 CO     90010207036
86B2B56A42B271   ANGELA             BARNES                 DC     90012995604
86B2BA25833698   KECIA              PUCKETT                NC     12033590258
86B2BA39372B46   CHARISSA           AMAR                   CO     90013100393
86B3114A391941   ANDRE              DAVID                  NC     90014291403
86B31179991979   ALICIA             GROSE                  NC     90002461799
86B31474597B3B   GONZALO            RODRIGUEZ              CO     90015384745
86B31693971977   VALERIE            VIGIL                  CO     90015096939
86B31823276B45   ANDREA             BUSH                   CA     90012538232
86B3238A293771   JOSE               BELLO                  OH     64506683802
86B32688372B33   MICHAEL            BECRAFT                CO     33086896883
86B32745A61928   KARLA              VALDERRAMA             CA     90012877450
86B32821555945   PAUL               THURMAN                CA     49045438215
86B32A49485936   ESSANCE            COLLINS                KY     90012280494
86B33462991837   JOSEPH             TAYLOR                 OK     90013364629
86B33478677537   CATHRIN            GOODE                  NV     90007984786
86B3349958B154   MITCHELL           MONTOYA                UT     90012964995
86B335A7571938   MARCUS             ENRICH                 CO     90014505075
86B33818972B33   JOSE               RASCON                 CO     90013178189
86B342A1261928   LAURA              NAJERA                 CA     46007022012
86B3467718B154   TUI                AFEAKI                 UT     90013416771
86B34A28A97B3B   ADAM               ARANDA                 CO     90014730280
86B35329691975   TABATHA            RUSTIN                 NC     90014463296
86B35356A91837   LESLIE             HICKS                  OK     21099713560
86B35887A72B62   YVONNE             GARCIA                 CO     33088998870
86B36512A72B29   MARIA              BARRAGA                CO     90005355120
86B36681255945   REBECCA            SAUCEDA                CA     90004076812
86B3677A481677   CHEYENNE           HENDRICKSON            MO     90013687704
86B3795AA97138   SHARON             FARRELL                OR     90001569500
86B38897672B29   JESUS              LUNA                   CO     90012758976
86B38A91147897   LESHAWN            DENNIS                 GA     90010010911
86B3912168B168   RAMIRO             ROSAS                  UT     90011311216
86B39229197138   VINCENT            WILSON                 OR     90010362291
86B39557351333   BETE               STEINMETZ              OH     90004185573
86B39819485888   ISABELLA           LAIUN                  CA     46032048194
86B3B31238B168   PAPY               LEONARD                UT     90003873123
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1345 of 2350


86B3B31A885856   DELLA            HARRISON                 CA     90012743108
86B3B36595B24B   THOMAS           HILL                     KY     90014023659
86B3B747297B38   TYLER            DUFF                     CO     39013007472
86B3B792171977   SHON             BONO                     CO     90015257921
86B3B79A291553   SUSANA           ROMERO                   NM     75088607902
86B3BA6257B339   BLANCA           ESCOBAR                  VA     90003220625
86B41147791837   SUE              BUTLER                   OK     90014761477
86B41A84472B29   MARKUS           MERRITT                  CO     90006510844
86B4226669154B   JUANA            CASRTO                   TX     90014762666
86B424A1172B33   LAURA            PRIETO-ALMANZA           CO     33096864011
86B42751872B29   MIGUEL           RODRIGUEZ BARCENAS       CO     90015147518
86B4279564B22B   ROSALIE          COMBS                    NE     90014847956
86B427A4772B29   YVONNE           BOBO                     CO     33062857047
86B4284A79154B   VICENTE          POLANCO                  TX     90010768407
86B43981A91975   BARRY            CROSS                    NC     90014769810
86B43A1246194B   CARLOS           OLVERA                   CA     90005300124
86B43A16891979   ANGELIO          HARTSFIELD               NC     90012980168
86B44298172B29   LARISSA          STEPHANTSEVA             CO     90014252981
86B443A2191979   ATURO            RAMIREZ                  NC     90006763021
86B44426161928   MARTHA           DIAZ                     CA     90009524261
86B4465638B154   KELLIE           REAY                     UT     90014296563
86B4486565B183   PAUL             SANCHEZ                  AR     90002748656
86B44A4A557128   BATU             ABDALLAH                 VA     90001030405
86B4613483146B   LOVY             ONEAL                    MO     90007721348
86B4673286195B   JOSE             DE JESUS LOPEZ           CA     90009957328
86B4677357192B   STEVEN           BERGSTROM                CO     32058247735
86B46889771938   MISHA            CHRISTIAN                CO     32087568897
86B47225741275   SUSAN            PAWARSKI                 PA     51096262257
86B4739A37B425   TOMMY            MCKINNEY                 NC     11080913903
86B4833314B22B   CHRIS            MORROW                   NE     27005133331
86B4849639154B   CESAR            MORENO                   NM     75012424963
86B4889287192B   REBECCA          ROBIO                    CO     32058248928
86B48A14455945   MATTHEW          BARNES                   CA     49014200144
86B4984915B24B   IVY              JOHNSON                  KY     68005068491
86B49977655944   SONIA            VALDEZ                   TX     90004529776
86B4B23574127B   DANIEL           BOGUS                    PA     51006092357
86B4B43218B163   ALEX             DUTSON                   UT     90010454321
86B4B432391837   PAUL             SANDERS                  OK     90015174323
86B4B454A5B27B   BRYAN            MUSS                     KY     90005854540
86B4B467191979   BREIDA           SANCHEZ                  NC     90001354671
86B4B697185856   VICTOR           RAMOS                    CA     90013246971
86B4B746793771   TASHAWNA         THOMSON                  OH     90011767467
86B51251A8B168   SOLEDAD          REYNA                    UT     31051872510
86B5216169154B   JAMIE RENE       EDWARDS                  TX     90013171616
86B521A116194B   GUADALUPE        UGALDE                   CA     90007661011
86B5228124B22B   BONNIE           MORRISON                 NE     27050192812
86B52636372B62   ERIN             SWINEY                   CO     90009266363
86B52731791975   JOHN             CORDEIRO                 NC     90012047317
86B52A79981677   LETICIA A        SCOTT                    MO     90015050799
86B53569A55945   CELINA           ROSSETTI                 CA     90014205690
86B53929171938   ALEXIS           GONZALES                 CO     90012689291
86B5395AA41275   DANIELLE         GROMEK                   PA     51043859500
86B53971771977   GEORGIA          LOVATO                   CO     38074229717
86B53975A6B871   STACY            MACDONALD                WI     29574889750
86B54285185856   BRUCE            ROSENBLATT               CA     90013992851
86B54644172B46   MAGDA            HERNANDEZ                CO     33077636441
86B546A7A9154B   GRACIELA         VALENCIANA               TX     75053896070
86B5475A75B568   MELSSIA          GARCIA                   NM     90010047507
86B55181741262   MAWIYAH          BROWN                    PA     90002521817
86B5533A771938   LAWRENCE         SMITH                    CO     90001043307
86B55615A91979   ASHLEY           DEMPSEY                  NC     90002156150
86B55A26671977   CHRISTINA        FIERRO                   CO     90014650266
86B55A32997B3B   DANIEL           MERRITT                  CO     90000900329
86B56421891837   JERRY            FREEMAN                  OK     90008854218
86B56684133698   APRIL            GRAHAM                   NC     90014706841
86B5671752B896   ROSMARY          DANA                     ID     90007947175
86B56744271938   MARVIN           WALTON                   CO     90012637442
86B56832A91558   ELISA            PARADA                   TX     90013748320
86B56A85371938   MARVIN           WALTON                   CO     32091760853
86B5733997B425   MILTON           HARRIS                   NC     90012993399
86B57475741262   HENRY            BAJWA                    PA     90010874757
86B5763298B168   SHELLY           HARRIS                   UT     31051106329
86B57765455945   MARIA REMEDIOS   CANCHOLA-HERNANDEZ       CA     90004537654
86B57974A97B3B   MICHAEL          GRENNAN                  CO     90006599740
86B5828679154B   LUCY             FLORES                   TX     90009692867
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1346 of 2350


86B585AA68B154   RONY          HERNANDEZ                   UT     90006525006
86B58AA8297B38   CYNDI         AKER                        CO     39087920082
86B59326371977   JENNIFER      DREWERY-TAYLOR              CO     38065313263
86B59539A4B22B   GABRIEL       FLORES                      NE     90013095390
86B59829897B3B   MICHAEL       GROGAN                      CO     39073028298
86B59A18A91979   JENNIFER      COOPER                      NC     90010800180
86B59A47191553   ELIZA         LECHUGA                     TX     75076330471
86B5B65568B168   JEREMY        MORSE                       UT     90012936556
86B61728851362   LASHAUNA      CONYERS                     OH     90013097288
86B62923485936   ANGELA        FINLEY                      KY     67034099234
86B63211981627   ADRIAN        WILSON                      MO     29016952119
86B63248333698   TIANA         JONES                       NC     90011242483
86B63313472B46   GILBERT       MARTINEZ                    CO     90010563134
86B63585881677   MAGDALENE     GITAN                       NC     29013455858
86B6365255B183   MELISSA       LANGLEY                     AR     90010636525
86B65631A71977   JUANITA       GUTIERREZ                   CO     90011136310
86B65A1865B183   CHARLES       RICHARDSON                  AR     90015030186
86B66184471938   NATHAN        HERDLICKIA                  CO     90002321844
86B66AA1847822   CHRISTOPHE    RORE                        GA     14040780018
86B67314472B46   LATONYA       WHITE                       CO     90010563144
86B676A339154B   CHRISTOPHER   PETERSEN                    TX     90010896033
86B67852147822   CARMELA       CHAPMAN                     GA     14050248521
86B6789489154B   HECTOR        HERNANDEZ                   TX     90012838948
86B67A8435B24B   RAYMOND       ANDERSON                    KY     90005620843
86B68148291975   CATINA        FIELDS                      NC     17090791482
86B6815112B271   CHINA         GREEN                       DC     81009931511
86B68219272B33   JONAS         HAWAZI                      CO     90010172192
86B6851A891837   LYDIA         BADGWELL                    OK     90014715108
86B6856538B168   HARUN         WEDA                        UT     90007205653
86B69542497B38   SANTOS        VELASQUEZ                   CO     90008625424
86B6967396194B   JUAN          HERNANDEZ                   CA     90007756739
86B69A3549154B   LLASMELY      OCHOA                       TX     90013780354
86B6B268897138   CARMEN        SOTELO                      OR     90014062688
86B6B42286194B   THOMAS        SLAUGHTER                   CA     90009474228
86B6B51A671977   HEIDI         PARKS                       CO     90013185106
86B6B694A72B29   BRAD          CRIMMINS                    CO     33092206940
86B6B79266196B   YADIRA        ARAGON                      CA     90009287926
86B7145AA71938   SECENA        CASEASTAS                   CO     90003444500
86B7175846194B   MARCUS        HOLMES                      CA     46025977584
86B71781547897   TOYANN        MASON                       GA     90013167815
86B71A3A85B139   GRECIA        WILSON                      AR     90013410308
86B71A9A991837   DARREN        COATS                       OK     21097720909
86B7217795B342   ROGER         JOHNSON                     OR     90014381779
86B7263248B154   HEATHER       BURGER                      UT     90013946324
86B72833191975   JASON         GREEN                       NC     90006548331
86B7289962B896   JACKSON       CAREY                       ID     42063058996
86B72983697138   KELLI         DEVINE                      OR     44087899836
86B7315816194B   CHANTHXAY     NOSAVAN                     CA     90000591581
86B73454491289   DERRICK       WILLIAMS                    GA     90008804544
86B741A2485936   WANDA         CAUDILL                     KY     90002941024
86B74215A81538   JAMES         GOGGIN                      IL     90011352150
86B74335397B38   BIANCA        FERNANDEZ                   CO     90009273353
86B74388447897   SABRINA       LESTER                      GA     90013353884
86B74528941262   KEVIN         SCHULTZ                     PA     90013795289
86B7474957192B   MATTHEW       ECKERT                      CO     90013487495
86B74864271977   SHAWNA        CROOK                       CO     90012988642
86B74A67A72B46   LESA          HITZGES                     CO     33069160670
86B7557A885888   DERSHAN       SINGH                       CA     90012215708
86B75864172B62   SHIRLEY       DAVIS                       CO     90007158641
86B76215372B33   FELIPE        AGUILERA                    CO     90015002153
86B76219597B38   JOHN          ABEYTA                      CO     39003282195
86B76822A5B24B   ROSA          CHOL                        KY     90014058220
86B76921191979   TIFFANY       CRAM                        NC     90010919211
86B77245185856   RUSSELL       FREY                        CA     46090292451
86B7743A785936   MARILY        HERNANDEZ                   KY     90012324307
86B77462997B3B   RANDALL       WESTPHAL                    CO     39072424629
86B77732355945   JEANETTE      MARTINEZ                    CA     49007717323
86B77788693771   ELIZABETH     MENDEZ                      OH     90013057886
86B77895833698   TAVIRO        ROYSTER                     NC     90000318958
86B779A7291979   LARRY         ROYERS                      NC     17066859072
86B78347A33698   SARA          MCGUIRE                     NC     90010533470
86B78555347897   WALISHA       GAINEY                      GA     90014005553
86B7876415B17B   HEATH         SCOTT                       AR     23014357641
86B7877218B168   TAUSHA        WALSH                       UT     90012137721
86B78886661928   KENIA         CHAVARIN                    CA     46015708866
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1347 of 2350


86B78914572B27   SHELBIE       REISMAN                     CO     90001949145
86B79194357531   RENEE         MEDRANI                     NM     90014131943
86B7931A872B29   RON           MANTHEY                     CO     90013193108
86B7B363193771   NOKEYA        ROSS                        OH     64509183631
86B7B46443B359   DON           RUSSELL                     CO     33080294644
86B81351525664   YAZMIN        CALVARIO-PALACIOS           AL     90010953515
86B8169A551362   MELISSA       MILLIGAN                    OH     66069166905
86B82111672B46   KAYLA         GALVAN                      CO     90010341116
86B82677197B38   MARIO         SAPON GARCIA                CO     90015056771
86B82756671977   BRIAN         FISHER                      CO     38057007566
86B83124247897   HEATHER-ANN   COLMAN                      GA     90014501242
86B83164271977   DANIEL        COBB                        CO     90014741642
86B83228291553   MARISELA      MARTINEZ                    TX     75067302282
86B8326499154B   CASIMIRO      RODRIGUEZ                   NM     90013932649
86B833A347192B   TERESA        ATHERHOLT                   CO     90007143034
86B83591572B99   SHERYL        DELIHUE                     CO     33002005915
86B841A9471977   JOSEF         MICKA                       CO     90012751094
86B84482183225   SHARON        SHELON                      TX     90007694821
86B84555347897   WALISHA       GAINEY                      GA     90014005553
86B8568A78B154   TERI          CHRISTENSEN                 UT     90013416807
86B85978A41275   MICHELE       RICHARD                     PA     90005779780
86B86537685888   MIRIAM        EDUSADA                     CA     46081215376
86B86958572B62   HEATHER       WOOD                        CO     33092489585
86B86A19785936   ALEX          SANDOVAL                    KY     90013630197
86B87228841275   DEBORAH       ROCHE                       PA     90013992288
86B87447172B46   RUSSEL        FRANCIS                     CO     90001234471
86B87657751362   AMANDA        MAURITS                     OH     90011076577
86B877A2377533   MARIO         RAMOS                       NV     90008077023
86B8782348B168   ARACELI       CHAVEZ                      UT     31058688234
86B88857585856   TUNG          HOANG                       CA     90003468575
86B8937A45B24B   DAVID         SMITH                       KY     68051223704
86B89A4A771977   DANA          VALENTINE                   CO     38010180407
86B8B42825B17B   MICHELLE      RICE                        AR     23024764282
86B8B43459373B   MITCHELL      KITCHEN                     OH     90005304345
86B8B816172B46   RIVERA        RONALD                      CO     33059348161
86B8B874A91837   MA IGNACIA    ZAMARRIPA                   OK     90014858740
86B91321397B3B   DONALD        PAKISER                     CO     90012643213
86B92489485936   SHEILA        LOCKER                      KY     90011114894
86B92776191979   MELISSA       MITCHELL                    NC     17031097761
86B928A4877537   DAVID         ADAMS                       NV     90013938048
86B92944272B46   SHI           YUQIAN                      CO     90014109442
86B9297AA91935   FRANCISCO     MONTOYA                     NC     90010709700
86B9365855B183   CONNIE        GOLDEN                      AR     90013336585
86B93778691837   TAMIKO        RATLIFF                     OK     90015027786
86B9392AA2B831   LEON          QUEZADA                     ID     90008949200
86B93982A71977   RON           MINER                       CO     38030289820
86B94219571938   ZION          SHALOM                      CO     90000462195
86B9425A472B62   MACK          MARTINEZ                    CO     90010062504
86B94547185936   BRENDA        DOUGHTON                    KY     90011115471
86B94651877537   RENE          MARTINEZ                    NV     90013646518
86B947A5972B46   CLAUDIA       LOPEZ                       CO     33050277059
86B947A9A71977   PABLO         RELUZ                       CO     38017367090
86B9511757192B   AARON         BREWINGTON                  CO     90013491175
86B95313A2B896   SAMAQUIAS     LORTA                       ID     90012413130
86B95349685856   VERONICA      OROZCO                      CA     46017903496
86B9618477192B   STEPHEN       TURSA                       CO     32001541847
86B96327A72B29   KENDRA        ROSS                        CO     90012863270
86B9638A233698   BRANDON       HENDERSON                   NC     90011243802
86B96562172B62   ESTELA        ROJAS                       CO     33051995621
86B96929871977   LEOY          OLIVAS                      CO     90013289298
86B9698A99188B   DONNETT       RAWLINS                     OK     90009319809
86B96996797B3B   DYLAN         DE GRAZIO                   CO     90013589967
86B97594672B46   CRISTAL       GALLEGOS                    CO     90014745946
86B9799959154B   YANETH        HERNANDEZ                   TX     90014869995
86B9812957192B   ALHANNA       THOMAS                      CO     90013491295
86B98498872B62   JUAN          MORALEZ                     CO     90010944988
86B99562871938   SERENITY      MATLOCK                     CO     90010635628
86B9B162351363   EVELYN        THARP                       OH     90013201623
86B9B18A172B29   MAURA         ORTIZ                       CO     90013981801
86B9B1A2672B46   ARENA         VILLESCAS                   CO     33015771026
86B9B241433698   JASMINE       MCKENZIE                    NC     12053402414
86B9B248385856   PATRICIA      FLORES                      CA     90011302483
86B9B38945B571   JENNIFER      LUCERO                      NM     90014613894
86B9B49A185888   THERESA       STEELE                      CA     46045234901
86B9B53955B24B   SADE          DORSEY                      KY     90013645395
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1348 of 2350


86B9B67185B331   JAVIER       LOEZA                        OR     44596816718
86B9B67246194B   JAVIER       RIVERA                       CA     90009036724
86B9B743391354   LEE          GUERRO                       KS     90013837433
86BB144A672B33   CHUN         GOI                          CO     90013764406
86BB172585B24B   LAWANDA      RICE                         KY     90007377258
86BB245858B159   GUILLERMIN   HERNANDEZ                    UT     31090724585
86BB2647372B33   KEANA        MARSHAL                      CO     90012866473
86BB26A2A2B896   CRYSTAL      BERRETT                      ID     90012616020
86BB28A1772B62   CHRIS        SIERRA                       CO     90013828017
86BB2A33285936   NICHOLAS     LINN                         KY     90012030332
86BB316119184B   TAKISHA      COLLINS                      OK     21005961611
86BB3239397B38   AZUCENA      PAYAN                        CO     90013922393
86BB3472871938   BENJAMIN     KYLE                         CO     90014094728
86BB3845797138   CHRIS        OWENS                        OR     44063018457
86BB421618B154   KELLY        GARLICK                      UT     90012522161
86BB4218391525   JACKIE       QUIROZ                       TX     90004122183
86BB451862B896   DIANE        CRAIG                        ID     42056105186
86BB455947192B   ROBERT       PEARSALL                     CO     32087305594
86BB514348B154   MENDOZA      ALMA MARIVAL                 UT     90009291434
86BB53A6185936   JOHN         WALKER                       KY     90012683061
86BB568A271938   ELIZABETH    CAULDERON                    CO     32091806802
86BB5725291979   IRMA         TREJO MORENO                 NC     90015537252
86BB57A2693771   JASMINE      OWENS                        OH     90014617026
86BB5A56497138   ELVIA        SANTOYO                      OR     44095830564
86BB627232B896   CLARISA      LEON                         ID     90013892723
86BB6329297B38   JOHN ERVIN   HIBBS                        CO     90010693292
86BB6536651362   TIM          ADAMS                        OH     90012145366
86BB6687424B33   MICHELLE     MARTIN                       DC     90002336874
86BB6831A93771   MISCHELL     NEELY                        OH     64551208310
86BB685A84B22B   MARILYN      NELSON                       NE     27067838508
86BB694645B17B   WAYNE        RODGERS                      AR     90003419464
86BB6A34885888   RAMIRO       CRUZ                         CA     90005460348
86BB763A98B168   CALBIN       TRIMBLE                      UT     90003326309
86BB782348B154   ARACELI      CHAVEZ                       UT     31058688234
86BB7A92472B33   LARA         CESAR                        CO     90008630924
86BB839265B139   BRIAN        HINTON                       AR     90004913926
86BB85A3A72B46   MARY         RIVERA                       CO     33042615030
86BB863858B168   ANDERSON     DE CARVALHO                  UT     90001966385
86BB8796A55945   DONALD       HENRY                        CA     90009407960
86BB9323371977   TIFFANY      LILE                         CO     38053083233
86BB959218B154   TAIILAGI     FUIARAILIILI                 UT     90009265921
86BB959A272B33   MICHAEL      PENA                         CO     90013295902
86BBB417585936   JEMAINE      BURGESS                      KY     90012784175
86BBB436847822   NICOLE       BUTLER                       GA     14031914368
86BBB569797B38   JEN          CONRAD                       CO     90012435697
86BBB89767192B   VICTORIA     HERNANDEZ                    CO     90013498976
8711111346194B   GONZALO      JUAREZ                       CA     46007781134
871115A155B24B   HONEY        GAGGER                       KY     90015205015
8711251A947822   ADRAIN       BROWN                        GA     90006615109
8711285925B326   WENDY        REEDY                        OR     90013728592
87112A24672B44   TINA         WRIGHT                       CO     33000030246
8711319A59152B   KRISTEN      ROSS                         TX     90015311905
87113395972B33   ANA          TORRES                       CO     90014833959
87113674672B62   THEODORE     STERN                        CO     90013406746
87114531A9154B   MONICA       ROWLAND                      TX     90012805310
87115161A72B62   PAULO        CRUZ                         CO     90004211610
8711568A45B326   JIMMY        SANCHEZ                      OR     90014946804
87115964872B46   MARYANN      MARIN                        CO     90013969648
871166A4772B44   CHRISTINA    WAUGH                        CO     90013406047
87116814697B38   NATASHA      GONZALES                     CO     90014608146
87116A16172B46   SAUL         ARELLANO                     CO     90014920161
8711713339152B   BERTHA       ARCEO                        TX     90013901333
87117987A72B62   SAVANNA      SILLIMAN                     CO     90014829870
87117A29791975   SHARELLE     HATLEY                       NC     17066980297
8711B62319154B   IVAN         MARTINEZ                     TX     90005346231
87121361197B3B   MALLORY      ENGELHARDT                   CO     90013323611
8712168A75B139   CARLA        SYKES                        AR     90008666807
8712188A391523   BLANCA       TERRAZAS                     TX     90011108803
871219A5A5B326   BRENDA       SALOZAR                      OR     44545669050
87122174397B3B   RAMIRO       CARRILLO                     CO     90004491743
87122441A72B44   VALERIE      ARAGON                       CO     33003524410
8712323729154B   ADRIANA      RAMIREZ                      TX     75082492372
8712348A261928   MARSHAYLA    DENNIS                       CA     90013904802
8712386AA71977   DAWN         MARTINEZ                     CO     38079588600
87124459997B3B   LINDA        TREVIZO                      CO     90012894599
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1349 of 2350


87124668297B38   GERARDO         ARELLANO                  CO     90013106682
8712548385B183   DNESHIA         RICHARD                   AR     90009014838
871255A1A61928   MARK            MORANTE                   CA     90009995010
87125682172B33   HENRY PAGE      DYER III                  CO     90012756821
8712575845B594   FLOOK           ADAM                      NM     35054457584
87126176572B33   SUMMER          MARTINEZ                  CO     90008131765
87126493497B3B   CHEYENNE        JACKSON                   CO     90012244934
8712649519152B   SALVADOR        RIOS                      TX     75015304951
8712675919154B   MARIA           SOSA DE PARRA             TX     90014837591
87126A31493771   RICHARD         ASHLEY                    OH     90013960314
87126A94391837   JUAN            SERVIN                    OK     90008520943
8712743815B326   ERIN            FOLEY                     OR     90014044381
8712745189154B   LORY            RODRIGUEZ                 TX     90011234518
8712782A472B62   MAKITA          DILLAS                    CO     33061918204
8712815945B326   SOUTH           TIMOTHY CARL              OR     90013461594
8712875859152B   GERARDO         MACIAS                    TX     90012867585
8712892525B183   JEREMIAH        HOLLOWAY                  AR     90010399252
8712917255B326   JODIE           HEATON                    OR     90001801725
8712982818B154   EMANUEAL        TAYLOR                    UT     31085428281
8712B3A6772451   JESSICA         URWIN                     PA     90015153067
8712B58354B22B   HERBERT         TOWNSEND                  IA     90014435835
8712B763872B46   CLAUDIA         TREJO-ESCALANTE           CO     90001617638
8712B96745B17B   LACANNA         SMITH                     AR     23016759674
8713129925B326   ORSI            CABRERA ESCOBAR           OR     44566662992
871314A5872B44   JUAN            LOER JR                   CO     33037454058
8713161776194B   ROSALINDA       PEREZ                     CA     90014776177
8713185998596B   DEBRA           BARENBERG                 KY     67051108599
87132255A41275   VINCE           LUPI                      PA     90013352550
87132262672B62   STAN            GURULO                    CO     90013012626
87132439597B3B   DAVIN           WOODYARD                  CO     90010104395
87133118A91979   BIRHANU         BAYHU                     NC     90013181180
8713344134B22B   SCOTT           AMEND                     NE     27088414413
87133631672B62   PETE            MONTOYA                   CO     90004876316
87135A9679152B   IVAN            GARCIA                    TX     90013690967
87135A97741262   EMIL            BRUNAZZI                  PA     90014420977
8713674534B578   JENNIFER        WIENS                     OK     21596507453
87136A2357B333   PEDRO           ORTIZ                     VA     90011990235
87137316172B33   NOE             MIRANDA                   AR     33097613161
87137348A91975   NANCY CELESTE   SUGG                      NC     90015103480
871378A6997B3B   CARMEN          KIRKPATRICK               CO     39059878069
871378A8A9152B   GARCIA          MARTHA                    TX     90011358080
8713811AA61928   MARGARET        GIBSON                    CA     90012421100
87138211A72B62   AMAYA           FITZGERALD                CO     90010242110
8713865AA91242   SHEILAA         YOUMANS                   GA     90002126500
8713895915B326   ANASTASIA       VENEGAS PACHECO           OR     44534979591
87138A97961928   RENE            VILLATORO                 CA     90013820979
8713918A177537   ISIDRO          MONTOYA-GUILLEN           NV     43052631801
8713956715B24B   AARON           STINSON                   KY     90013785671
8713962366194B   RICARDO SILVA   AMARO                     CA     90014776236
8713962A997138   TERESA          MAYO                      OR     90004756209
87139A99397B3B   MARY            VIGIL                     CO     39096550993
8713B47996196B   JOSE LUIS       CAMACHO                   CA     90007944799
8713B81A397138   CHRISTINE       ANDERSON                  OR     90003738103
8713B85819154B   GUADALUPE       DIAZ                      TX     90011478581
8713B9A895B326   JAAMEAH         HESSLUP                   OR     90012339089
871411A486194B   MARTHA          ROJAS                     CA     90004381048
8714128618B154   ALEJANDRO       ORTEGA                    UT     90004072861
87141785772B46   JOSE            CASTILLO                  CO     33070487857
8714262A26194B   CRISTINO        ROJAS GOMEZ               CA     90011686202
8714266AA9152B   DAVID TIM       MOLINA                    TX     90006416600
87142864A8B168   TIFFANY         GONZALEZ                  UT     31091638640
8714327765B326   JOSE            ENRIQUE                   OR     90013902776
87143343572B46   MICHAEL         WHITEHEAD                 CO     90013953435
8714411A35B183   DEWAYNE         POOLE                     AR     90010411103
8714456278B154   ANDRES          MATEO                     UT     90005265627
87144943572B58   MARIA           TAFOYA                    CO     90012329435
87145287472B29   JOSE            BUENO                     CO     33003832874
87145988397B38   ALAN            LEE                       CO     39097549883
8714647198B168   BRIAN           MILLETT                   UT     90013984719
8714648466194B   ANA             ARREOLA                   CA     46052964846
871465A3A5B17B   ROBIN           RICE                      AR     23002525030
87146982872B46   SADY            LOPEZ                     CO     90012769828
87146988372B44   SANDRA          LOPEZ                     CO     90001389883
87147587397B3B   VANESSA         ANDREDE                   CO     90014015873
87148177772B62   AURDANAE        BUSH                      CO     90009181777
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1350 of 2350


87148243A72B46   LISANDRO     ALVAREZ                      CO     90004362430
87148379A91837   CASCIA       LOONEY                       OK     90007643790
8714851296194B   ANALEA       SULIVAN                      CA     90014785129
8714935A941262   ROBERT       CIORA                        PA     51064813509
8714942248B154   ANSLEE       COX                          UT     31086634224
87149613272B33   MELVIN       REYES                        CO     90007586132
8714B223951362   RATIA        WELLS                        OH     90004792239
87151121872B33   ODORICO      OLIVAS                       CO     33023001218
871511A6997B38   OMAR         SANTOS                       CO     90015201069
87152143672B62   MARGARITA    GASTELUM                     CO     90009971436
8715218875B326   DARLENE      MALONE                       OR     90014501887
87152595497B3B   ANGEL        CAZARES FIGUEROA             CO     90012635954
8715285A661928   BARBARA      OROZCO                       CA     90012748506
8715342A997138   KEY          ARROYO                       OR     90014704209
8715349A591979   NAZARET      REYNOSO                      NC     90011364905
87153727A72B62   JASON        FUENTES                      CO     33028367270
87153A52941262   MICHELLE     KARMANN                      PA     51083500529
8715471AA97B38   MATTHEW      SAVAGE                       CO     39086697100
8715511A433698   LEATATE      CHAVIS                       NC     90011121104
8715549215B27B   ASHLEY       DAVIS                        KY     90000394921
8715555969154B   LILLIE       MIRANDA                      TX     90008765596
87156276172B29   DARCEL       PINKSTON                     CO     90000102761
87156377A72B62   ANGEL        CASTANON                     CO     33036443770
8715684585B139   MARVIN L     HARRIS                       AR     23041008458
871568AAA47897   LAURA        BATSON                       GA     90013188000
87157738A9154B   BETTY        VICKERY                      TX     90006367380
87158375772B33   ROBERT       MCBRIDE                      CO     90001793757
8715872929152B   MIKE         RAMOS                        TX     90009937292
8715884434B22B   LESIA        LEWIS                        NE     27048218443
8715B453447897   NYKERRIA     CAUSEY                       GA     90014784534
8715B693872B33   RENE         HERNANDEZ                    CO     33052586938
8715B81286362B   IAN          PRICE                        MO     90012098128
8715BAAA193771   TYESHA       WASHINGTON                   OH     90010900001
8716198865B139   CARA         GRIFFITHIS                   AR     23001979886
8716262A99154B   IRMA         CASTILLO                     TX     90012776209
87162868572B62   MELISSA      ARCHULETA                    CO     90013608685
8716342A997138   KEY          ARROYO                       OR     90014704209
8716345878B154   OBDULIO      DAVILA                       UT     31061314587
87163622672B29   KIMBERLEY    JOY                          CO     90004056226
8716397695B183   NIKKOLA      HADLEY                       AR     90015019769
87164195572B44   ANGELICA     BARRIENTES                   CO     33027971955
87165138672B46   MIKE         BOND                         CO     33053121386
87165166497B38   EMELIA       ARAGON                       CO     90015161664
87165355A71977   SCOTT        GRIFFITH                     CO     90013813550
8716579488B168   JOHN         FRESH                        UT     90009637948
87165818872B44   DAISY        DOMINGUEZ                    CO     90011598188
87166218297B3B   JERI         NICHOLS-PARK                 CO     39006272182
87166A48A9152B   RUBEN        FLORES                       TX     90009520480
8716714215B326   JANET        GUZMAN                       OR     44562171421
87167643772B46   WAYNE        NELSON                       CO     33054326437
871684AA17B339   MARISELA     VENTURA                      VA     90004254001
87168975372B29   BRIAN        WARNER                       CO     90013899753
8717138749154B   SANTIAGO     AGUIRRE                      TX     90011133874
8717153528B168   JIMMY        BODILY                       UT     90012635352
87171729A72B33   LAURA        WHITEHEAD                    CO     33097217290
871729AA14B22B   DONALD       DODGE                        NE     27034879001
8717315234B22B   SHAWNELL     COTTON                       NE     27051461523
8717336A176B65   EDWIN        BELL                         CA     46039063601
87174819572B44   AUTUMN       GONZALES                     CO     90011598195
87175924172B29   SAMUEL       ALVARO ATAYDE                CO     33087479241
8717631515B326   WADE         SMITH                        OR     44567223151
87176457772B62   GREGORY      MCCOY                        CO     33060864577
871765A9A77537   LEOBARDO     SEGOVIANO- AZPEITIA          NV     90014205090
8717688829152B   CECY         ROJAS                        TX     90004768882
871768A1997138   CARMEL       SELF                         OR     90010348019
87176A17A97B38   ALEJANDRA    HIDALGO                      CO     90009550170
8717762315B27B   MICHAEL      NEWMAN                       KY     68023576231
8717894144B999   TYLER        NERO                         TX     90013649414
87179254797B3B   RON          LA COME                      CO     90011392547
8717938439154B   JOCELYN      ESPARZA                      TX     90011263843
87179691A91837   LISA         REYNOLDS                     OK     90013296910
87179A7A891979   PAMELA       ROSE                         NC     90014620708
8717B3A128B154   SHA          UNA                          UT     90004073012
8717B796391975   JUAN         CARLOS                       NC     90012217963
8717B816A97138   LAURA        PEREZ                        OR     90013528160
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1351 of 2350


8717B897472B62   ADAM D       COVILLO                      CO     90002458974
8717B964991837   MARIA        MUNOZ                        OK     90010899649
87181154272B29   JEROME       PADILLA                      CO     90014501542
871816A6651341   TEKOA        BROWN                        OH     90014706066
871817A225B325   ANN          HARDESTY                     OR     90004417022
87182317472B44   FRANCISCO    RAMIREZ - CASTILLO           CO     90013613174
8718281A397B38   ANGEL        SOTO                         CO     90013428103
8718298874B22B   KELLY        AVILA                        NE     90004649887
871831A7491868   SKYLER       BORUM                        OK     90008141074
871833A3172B23   NANCY        GARCIA                       CO     90014133031
8718349354B22B   GEMA         CRUZ                         NE     90014704935
8718358AA9154B   LISA         REY                          TX     90003535800
8718389A672B46   LEIGH        GARLAND                      CO     90002428906
8718412898B154   LINDSEY      MILLER                       UT     31087101289
87185315A72B44   DAVID        RIDLEY                       CO     90007283150
871855AAA72B33   AMILCAR      PALACIOS                     CO     33014075000
87185964872B46   MARYANN      MARIN                        CO     90013969648
87186271A93771   LAUREN       WHITMAN                      OH     90000332710
8718669A79152B   ELIZABETH    PACHECO                      TX     90015006907
8718749575B183   JENNIFER     ALLEN                        AR     90014614957
8718781272B271   SHARON       PERMENTER                    DC     90004508127
8718898779154B   ESMERALDA    TORRES                       TX     90006369877
8718928824B22B   TINA         MCFARLAND                    NE     27093762882
87189699872B29   JHENNY       HERNANDEZ                    CO     90014366998
87189973472B44   YISSEL       VALDEZ                       CO     90011509734
8718B34985B24B   AISA         WHITFIELD                    KY     90004983498
8719146448B154   ALFONSO      CHACON                       UT     90010714644
871915A295B183   MONTREA      ALEXANDER                    AR     90014615029
87191717772B46   METSALA      ANNE                         CO     33025157177
87191767A7B473   MIRANDA      HEAD                         NC     90008257670
8719197877B489   MARCHAE      MCNAIR                       NC     90010779787
87192477897B38   MORIA T.     EDWARDS                      CO     90010714778
87192691A51341   JANESE       BALLEW                       OH     90003806910
87193A4712B225   MARIA        HERRERA                      DC     90010570471
87194327372B46   GABINO       VILLA                        CO     90014583273
8719464A95B24B   THOMAS       HAMMONS                      KY     90007236409
871946A545B326   JAMES        RODGERS                      OR     90012526054
87195A11997B38   HUGO         OLMEDO                       CO     90010200119
87196169A9154B   AMY          LARKIN                       TX     75072121690
87196965472B46   GABRIEL      GONZALEZ                     CO     33060529654
87196A2AA91837   RANDY        WILLHITE                     OK     21051490200
87197819172B62   TABITHA      MARGERUM                     CO     90007238191
87197829A5B326   JESSICA      DELLIE                       OR     90002958290
8719813365B24B   ALLEN        CARBY                        KY     90012741336
871984A999152B   CARINA       MARTINEZ                     TX     90010864099
8719855AA72B29   ROSA         BOTELLO                      CO     90014425500
87198A78147897   RETA         ERLENE                       GA     90014860781
87198AA3A6B963   GERARD       LUYANDO                      NJ     90015230030
8719B15A272B33   HOLLY        SANTISTEVAN                  CO     33084131502
8719B259693771   GREGORY      LOWMAN                       OH     64504142596
8719B67AA5B326   LAURIE       WRIGHT                       OR     90007836700
8719B882447897   QUIDA        RANDALL                      GA     90014868824
871B1132551362   AIDA         GUTIERREZ                    OH     90006431325
871B1155672B33   KURTISS      BLOUNT                       CO     90006871556
871B122718B154   DELLA        BELL                         UT     31004372271
871B1395277537   VICKIE       GRIMES                       NV     90014733952
871B13A7833698   KELLY        LEWELLYN                     NC     12085333078
871B183468B145   LACEY L      REARDON                      UT     90007548346
871B2342433698   LISA         M CARTER                     NC     12049103424
871B26AA797B3B   MORGAN       TABOR                        CO     90015306007
871B278376194B   ALLAN        ROSADO                       CA     90014257837
871B2874761928   JOSE A       MENDOZA                      CA     46067238747
871B2931591979   MIARA        WARREN                       NC     90013889315
871B3127386443   CHRISTINO    CRUZ                         SC     90015041273
871B3453591979   JAMIE        MCDONALD                     NC     90001864535
871B3992847897   BETTY        FAULKS                       GA     14010179928
871B3A74997B38   DEVIN        GRAY                         CO     90013090749
871B4225197B38   GLORIA       BRANNICK                     CO     90012862251
871B4A4249152B   ANTONIO      CORDERO                      TX     90009520424
871B5AA2541262   ROBERT       KEIB                         PA     90007450025
871B6114177537   ANA          GONZALEZ MARTINEZ            NV     90011151141
871B6134372B44   DAVID        ORTEGA                       CO     90015151343
871B621269152B   GUS          HADDAD                       TX     90006622126
871B62A3472B33   JOHN         HEREDIA                      CO     33053662034
871B6755A51362   MOLLY        BINZER                       OH     66033197550
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1352 of 2350


871B7717272B44   GENNY          ALBRANDT                   CO     33080977172
871B795759154B   LUIS ALBERTO   ARRATIA                    TX     90012349575
871B8339A72B46   CHAELA         QUEEN                      CO     90003433390
871B8511261928   DUANE          WHITE                      CA     90009685112
871B8578931469   VICTOR         PORTER                     MO     90008605789
871B884145B24B   TONY           JACOBS                     KY     90012188414
871B8A27291837   ANTONIO        PALESTINA                  OK     21000770272
871B9186451341   SHELLY         EDWARDS                    OH     90001071864
871B91A964B22B   LARRY          SONTERRE                   IA     27047961096
871B9293372B33   JUDY           HER                        CO     33063352933
871BB49729154B   JESUS          CONTRERAS                  TX     90012094972
871BB596691935   TONNELL        LLOYD                      NC     90004415966
871BB778772B33   ROSA           MARQUEZ                    CO     90013077787
87211AA4791979   ALYSA          HARMAN                     NC     90013690047
872122A1693771   MICHELLE       DAY                        OH     90005232016
872125A3361928   LAURA          ALVARADO                   CA     46059455033
87212617A5B24B   JARED          WHILEY                     KY     90004676170
8721283A15B326   JOSEPH         PATTER                     OR     90013378301
87212877272B44   JESUS          REYES                      CO     90014868772
87212886572B44   MERISSA        LEONARD                    CO     90014108865
87212996472B33   ERVIN          FUNDENBURK                 CO     90015259964
87213165397B3B   PAYGO          IVR ACTIVATION             CO     90012621653
8721346189152B   ANDRES         RUBIO                      TX     90011404618
87213594472B44   CRISTPHER      PALACIOS                   CO     90004195944
87214542197B38   JAUREN         COVARRIUBIAS               CO     90003825421
8721498375B24B   JOHNICA        LOGAN                      KY     90004229837
87214A5439152B   SANDRA         GARCIA                     TX     75073440543
8721558675B326   CARLO          ZAYAS                      OR     90007075867
8721647979154B   MARGIN         LOPEZ                      TX     75096364797
87216969972B44   DONNA          SARE                       CO     33089279699
872173A2972B46   ABRAHAM        MORENO                     CO     33026193029
8721741427B42B   LAQUISHA       TRUESDALE                  NC     90013824142
87217432A72B62   GLENN          JEROME                     CO     33067044320
8721751368B168   MARTIN         GONZALEZ                   UT     90013205136
8721816155B139   BINTOU         KEITA                      AR     23034701615
8721874875B24B   SHARONDA       COLLIER                    KY     68015997487
8721952A96194B   BLANCA         PEREZ                      CA     90014735209
87219A86271977   CANDISE        ROBINSON                   CO     90011340862
8721B2A919154B   ALICIA         BARRIOS                    TX     90013972091
8721B342691979   DANIEL         MUMO                       NC     17028023426
8721B559791837   KATHERINE      WATSON                     OK     90015185597
8721B844A9154B   ROGELIO        HOLGUIN                    TX     75058008440
8721BA89141262   VALERIE        PARKER                     PA     51028410891
87221116572B46   HER            LO                         CO     90011781165
8722124375B27B   PRIMA          MOORMAN                    KY     68032072437
8722146889154B   MARINA         CUEBAS                     TX     75007084688
87221683572B62   JAMES          HOVEY                      CO     90013736835
8722198759154B   ALEJANDRA      GALVAN                     TX     90005209875
87222124272B29   JENNIFER       ROBERTS                    CO     33041151242
8722289878B168   CRYSTLE        RASMUSEN                   UT     90003108987
87222A5569154B   BERENICE       TORRES                     TX     90012820556
87223397697B3B   JENNIFER       ROSE                       CO     90012023976
8722349A55B183   JANTRINA       WILSON                     AR     90009714905
87223818272B62   JUAN           MACIOS RAMOS               CO     90011438182
8722523A85B24B   HOUSSEIN       GALE                       KY     90013532308
87225282A97B3B   TIFFANY        REYNOLDS                   CO     90006382820
87225711A72B46   EPIGMENIO      GONZALEZ MARTINEZ          CO     33069627110
87225A21A3B332   SAKIN          MARTIN                     CO     90009880210
8722644A14B22B   LASSANDRA      MALONE                     NE     90015474401
8722715A89154B   VICTOR         SALVADOR                   TX     90013971508
8722961A451362   TESHA          THOMPSON                   OH     90005416104
8722984445B326   EDDIE          REYNOLDS                   OR     44544748444
8722B115972B46   ELIASAR        MORALS VELAZQUEZ           CO     90011781159
8722B199651362   NATHANIEL      SHEPARD                    OH     66041571996
8722B415491837   FELIX          RUIZ                       OK     90006024154
8722B467297B38   CARLOS         ESPINOZA                   CO     90013094672
8722B63949154B   LUIS           BERNAL                     TX     90011266394
8722B818497B38   JOSE           MORENO                     CO     90013078184
8722B977672B33   MARK           FRENCH                     CO     90005089776
87231185472B46   DAVID          CERCEDA                    CO     33047881854
8723127528B168   HERNAN         ARCE                       UT     90013932752
87231356172B29   DOMINIQUE      VAN LIEU                   CO     90012723561
8723168376194B   LEONARDO       MARIAS                     CA     90004236837
8723222245B24B   PETER          LAPAN                      KY     68012962224
872322A9441262   SARENA         HOWARD                     PA     90012952094
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1353 of 2350


8723232596194B   MARIA GUADALUPE   VASQUEZ                 CA     90014793259
8723248715B17B   BURLA             BULLCUK                 AR     23061164871
8723254A772B29   ALFREDO           GILES                   CO     33090425407
872329A896194B   KAY               MOYE                    CA     46037939089
8723328A251341   JACQUI            MOONEY                  OH     90015442802
872342AA89154B   SERGIO            FLORES                  TX     75084322008
872346A1651341   REBECCA           LYONS                   OH     90014716016
87234719597B38   JESSICA           CLARK                   CO     39011347195
87234A87197138   VINCENT           SPALETTO                OR     90006580871
8723523219154B   CHRIS             FUENTES                 TX     90000542321
8723595779152B   LUCY              BATISTA                 TX     75093149577
87235AA2172B46   MICHAEL           HARTWELL                CO     90012990021
87236118A41275   DONNA             WADE                    PA     51093541180
87236544597B38   GUADALUPE         GUERRERO                CO     90014505445
87236917572B29   ELYSIA            MARTINEZ                CO     33049279175
87236A2325B183   NATALIE           WOODS                   AR     90001890232
872374A9872B44   LISA              WEIR                    CO     90008874098
8723785AA97138   MATTHEW           KHONGPHOU               OR     90012908500
8723823255B24B   JONATHAN          STEPHENS                KY     90012692325
872388A5897138   LETICIA           AGUILAR                 OR     90013568058
872391A1951362   BRANDON           BOYD                    OH     90013911019
87239354772B46   JEFF              THORNTON                CO     33063863547
8723995118B168   CEZAR             RAMIREZZ                UT     90010139511
87239AA1697B38   GUSTAVO           VAZQUEZ HARO            CO     90009040016
8723B31236194B   JULEA             CLARK                   CA     90014793123
8723B381193771   LETEFA            MEEKS                   OH     90007213811
8723B414971977   ISARAE            PACHECO                 CO     38009414149
8723B88499152B   ALICIA            MEDELLIN                TX     75055468849
872412A5971977   SHEINZE           MEDINA                  CO     90001062059
87241749397B38   KRISTAL           GONZALEZ                CO     90011227493
8724195A89154B   VERONICA          RAMIREZ                 TX     90013049508
87241995372B29   CHRIS             FRANCIS                 CO     33029539953
87241A8244B22B   JEANETTE          BELK                    NE     27079370824
87242358772B46   MICHAEL           POLLMAN                 CO     90013953587
87242834797B3B   ALLISON           STRAUSS                 CO     90001638347
872443AA351577   TYLER             REED                    IA     90014453003
87244A2215B17B   JANICE            VASQUEZ                 AR     90009310221
8724514168B168   VICTOR            VALENCIA                UT     31072341416
8724556198B154   MAESTAS           MATHEW                  UT     90003345619
87245564497B3B   CASSANDRA         LEVERETTE               CO     90014715644
872457A5A9154B   BRENDA            DELGADO                 TX     90000527050
8724598985B326   ROSA              JIMENEZ VASQUEZ         OR     44551979898
872461A365B326   TOMMY             SMITH                   OR     90012681036
872466A1651341   REBECCA           LYONS                   OH     90014716016
872468A5876B65   CONSUELO          NUNEZ                   CA     90003868058
8724731629152B   PAZZ              MARGARITA               TX     90007943162
87247323572B62   EDEDINA           MORENO                  CO     90007463235
87247A88172B46   CELIA             TORRES                  CO     33066820881
8724883239152B   ALBINO            QUINONES                TX     90013178323
8724893499154B   GUSTAVO           ESTRADA                 TX     75065849349
87248A62697B97   IBY               CAMPBELL                CO     90012130626
87249228472B29   DESIREE           ROBERTS                 CO     33095032284
8724986336194B   FABINE            FRANCOIS                CA     90011688633
8724B2A8271977   ARLENE            ARD                     CO     38020922082
8725119888B168   NICK              WOODINGTON              UT     90010871988
87251236A9154B   EDGAR             AMEZCUA                 TX     90013032360
8725128495B326   MIKE              AIELLO                  OR     90014702849
87251354A9152B   JOSE              BERNAL                  TX     90012673540
8725136447B457   GRACE VANESSA     CONNELL                 NC     90006183644
8725147919152B   JOSE              GOMEZ                   TX     90010684791
872514AA733698   SAYAWO            HOMAWOO                 NC     90004314007
872529AA54B22B   CRYSTAL           SENA                    NE     27081369005
8725324868B168   STOWELL           DUSTIN                  UT     90005812486
8725364356194B   OSCAR             GARCIA                  CA     46026136435
87254189A91979   DERRICK           CONNOR                  NC     90011521890
87254537A91975   CHAQUANA          DELOACH                 NC     90011195370
872547A2172B29   THERESA           MILLS                   CO     33096487021
8725496815B523   DAVID             BATTENBERG              NM     90009999681
87254A96672B33   ONDREA            RIVERS                  CO     90013930966
8725515569154B   ARRIANA           CARDENAS                TX     90013971556
872564AA291975   ERIKA             OLIVA                   NC     90014424002
872567A3691837   BRENDA            AGUILAR                 OK     90013967036
87256857176B65   JOSE              AGUILAR                 CA     90009238571
87256A9A397138   AMANDA            FITZGERALD              OR     90013770903
87257576A61928   MARIO             MARQUEZ                 CA     90013105760
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1354 of 2350


872575A8197B38   CHACON            RODRIGUEZ               CO     90013215081
87257834A2B271   SAMUEL            MEKONNEN                DC     81017348340
8725785345B326   ANDREY            STUDINETS               OR     44517158534
872583A9A97B38   CARMEN            RAMIREZ                 CO     90006133090
8725853189152B   BLANCA            SILVA                   TX     75088685318
8725913368B168   ANGELICA          CLARK                   UT     90014831336
872594A638B168   REBECCA           KEPPOL                  UT     90011124063
87259635A61928   KWAME             SEKU                    CA     90013256350
8725B262451341   STEPHANIE         HUDDLESTON              OH     90009362624
8725B67AA72B33   SOFIA             TALAMANTES              CO     33040606700
8725B7A6391975   PETRA             VARGAS                  NC     17014587063
8725B89839152B   MARIA             SILVA                   TX     90014728983
8726132596194B   MARIA GUADALUPE   VASQUEZ                 CA     90014793259
8726184A572B62   COREY             BONE                    CO     33055688405
87262598472B29   GREGORY           GARDNER                 CO     90009735984
872626A1651341   REBECCA           LYONS                   OH     90014716016
872627A326194B   ROSA              GONZALEZ                CA     46040607032
87262883572B62   DOLORES           O'CONNOR                CO     33084508835
87263256597B3B   DAVID             MILLER                  CO     90004492565
8726346939154B   LETY              GARCIA                  TX     90014814693
872636A1A6194B   LATITU            ROSE                    CA     90014786010
87264131172B46   MIGUEL            OROZCO                  CO     90011781311
87264A3538B168   JHOMA             NEUPANEY                UT     90009730353
8726542A997138   KEY               ARROYO                  OR     90014704209
87266546697B3B   JEN               TRINQUE                 CO     39046785466
87268153A72B44   JASMIN            WHISENTON               CO     90014881530
87268312472B29   MERRY RUTH        SANNEH                  CO     90011613124
8726843294B22B   STEVEN            PETERSON                NE     90014614329
872684A4191975   TONY              JONES                   NC     90010384041
87269664397B3B   MELISSA           SENA                    CO     90013656643
8726B128872B46   AUSTIN            L BOSWELL               CO     90011781288
8726B21745B921   BOB               SMITH                   WA     41014422174
8726B63435B24B   MIKE              ROSS                    KY     90011326343
8727148478B168   SHILO             ARMIJO                  UT     31018074847
8727149865B27B   TROY              PRICE                   KY     90014884986
87271571972B44   CRYSTAL           MUNIZ                   CO     33077135719
872716A3472B29   FLORENTINO        PANTOA                  CO     90013966034
8727215819154B   HALIE             BREWER                  TX     90013971581
87272218572B46   KELLIN            MCELVAINE               CO     33000712185
872723A5951341   ERICA             RUCKER                  OH     90010113059
87272927A73276   JONATHAN          LOMANS                  NJ     90015059270
8727296444B22B   BILL              BOS                     IA     27033899644
87273132A72B33   ZASTROW           JACQUELYN               CO     90011031320
87273633397B3B   HORTENSIA         VICENTE VICENTE         CO     90003176333
8727375767B464   JESUS             REYES MARTINEZ          NC     90011647576
87273789772B44   RAYMOND           AVERY                   CO     33077417897
8727381958B182   ROSALIA           SOARINGWHITEEAGLE       UT     90008828195
8727398136194B   JENNIFER          AQUINO                  CA     46051389813
8727443754B22B   ANGELIQA          LOPEZ                   NE     90014744375
8727456A851357   JOSEPH            WITHROW                 OH     90008745608
87275141572B46   CYNTHIA           HUNTER                  CO     90011781415
8727515819154B   HALIE             BREWER                  TX     90013971581
872751AA872B44   MONICA            TREJO                   CO     33094551008
8727578A83B358   MARK              LOPEZ                   CO     33037977808
8727675265B183   JUANITA           SINCLAIR                AR     90014627526
87276A1995B326   JAMES             THOMPSON                OR     90014250199
87277126697B3B   TANNER            COPELAND                CO     90007631266
87277566A5B241   EFREN             JIMENEZ                 KY     90013635660
87277987A84351   DAVID             CHRYST                  SC     90001539870
87277A8A69152B   JESSICA           ZAVALA                  TX     90013070806
87278299572B46   ESPERANZA         MORREAL                 CO     33027662995
8727836A772B44   SONNESSA          GONZALES                CO     33066523607
8727862816194B   MARTHA            PEREZ                   CA     90014786281
8727875639152B   JOANNA            QUIJAS                  TX     90011007563
8727889595B326   MELIDA            YUMAN                   OR     44581198959
87279417272B44   JACOB             LUCERO                  CO     90013244172
87279AA633B381   MEAGAN            ROUNTREE                CO     90008770063
8727B143572B29   ARACELI           REYES                   CO     90010501435
8727B291772B46   BRANDON           DULIN                   CO     33052272917
8727B44344B22B   VERONICA          STUART                  NE     27050784434
8727B47A89152B   BLANCA            GONZALEZ                TX     90014004708
8727B93595B326   GARDENIA          NAJAR                   OR     90013529359
8727B957497138   TERESA            HERNANDEZ               OR     44038069574
8727BA71791837   APRILL            GUAJARDO                OK     90013990717
8728115965B326   NITA              KEES                    OR     90003981596
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1355 of 2350


87281378572B33   PAUL         MARTINEZ                     CO     90007383785
87281569172B46   ERIC         ROLDAN                       CO     90003675691
87281969497B38   LAURA        JIMENEZ                      CO     90013429694
87282135472B46   JEREMY       JURADO                       CO     33023361354
872821A7391837   NARCISO      RAMIREZ                      OK     21056851073
87283113172B44   JAVIER       FRANCO                       CO     33019541131
8728337958B168   SELINA       THOMAS                       UT     90015013795
8728357335B183   TIFFANEY     H                            AR     90014215733
87283852A9152B   JOSE         SOLORIO                      TX     75054968520
87283A29877537   MEGAN        SNIVELY                      NV     90015060298
8728415645B326   CRAIG        DAVIS                        OR     44525141564
8728418729154B   CLAUDIA      HERNANDEZ                    TX     90014491872
8728433A89152B   ALICIA       SANTIAGO                     TX     90013653308
8728468A272B33   DONNA        CHENEY                       CO     33081736802
8728471A476B65   JOSE         BELTRON                      CA     90004317104
872848A6951341   CARLA        BULLOCK                      OH     90011958069
8728517258B168   DOMINIC      DARIZ                        UT     90012731725
87285354697B38   LOUIE        GONZALES                     CO     90013603546
87285742672B29   ABERA        HAILE                        CO     90012437426
8728588A497B38   IZAAC        MUNIZ                        CO     90008678804
87285A32876B45   CARLA        SANDS                        CA     90007570328
87285A46797138   JOSHUA       GENTERT                      OR     90011640467
87286A76593771   WILLIE       SMITH                        OH     64507270765
87286A96197B38   AMBER        ALVARADO                     CO     90012160961
872872A398B168   WINTER       HOLM                         UT     90014812039
8728736379152B   ANGIE        PEREZ                        TX     90012823637
8728738AA8B154   ROMAN        MARQUEZ                      UT     31092993800
87287A57997B3B   CODY         RAY-SNYDER                   CO     90014550579
87288126697B3B   TANNER       COPELAND                     CO     90007631266
87288A71377537   LEOPOLDO     RUIZ                         NV     90014920713
8728983A991975   MARTIAL      HODGE                        NC     90015218309
872898A2997B3B   WILLIAM      PALMIER                      CO     90010928029
8728B751971977   ARNOLD       GALLEGOS                     CO     90009877519
8729114746194B   FANNY        ROJAS                        CA     90011691474
8729115955B183   JERMAIN      JONES                        AR     90008291595
8729129A972B29   JORGE        ESCOBEDO                     CO     33034782909
87291A93893771   MICHELLE     PERRY                        OH     64592520938
872921A5291523   ALEJANDRA    SOLIS                        TX     90007431052
8729225A88B168   KARLA        LIMON                        UT     90010832508
87292A26A5B183   BOBBY        MOORE                        AR     90002310260
87293189697B38   MELINDA      KULICK                       CO     90000521896
87293449A9152B   AMANDA       FRANCO                       TX     90007344490
8729391539154B   ALICIA       FIERRO                       TX     90011269153
8729398888B168   JERRY        HENSLEY                      UT     31045939888
8729466A191525   ARACELI      GALVAN                       TX     75081756601
87294A87577537   ZACKARY      JOHNSON                      NV     90012660875
87295291A72B62   RICHARD      THAYER                       CO     33025932910
872961A3791979   JOSE         CRUZ                         NC     90012701037
872962A8391975   GRABIEL      GONZALEZ                     NC     17042682083
87297113572B33   JAMES        ESCOBEDO                     CO     33052961135
872972A714B554   TAMECA       KING                         OK     90010982071
8729753A797121   RON          CRAWFORD                     OR     90006135307
8729785A397B3B   CINDY        FIDDLER                      CO     39015498503
87297885672B44   RICHARD      GENE REIL                    CO     33001778856
87298356472B33   HARRIS       EDWARD                       CO     90013023564
8729917726194B   MIGUEL       MADRID                       CA     90003111772
8729B639372B62   JUSTIN       LOCKER                       CO     33094956393
8729BA28871977   ASHLEY       ARCHULETA                    CO     38050600288
872B141356194B   ELIZABETH    ORTEGA                       CA     90014784135
872B16A9972B46   JOEL IVAN    DELGADO                      CO     33009486099
872B2526272B44   JEFF         FISHER                       CO     90013165262
872B266688B168   MARILYN      AGAR                         UT     31092326668
872B29A2A72B62   CONSWELLA    GIBSON                       CO     90004719020
872B2A3A561928   MARZELLA     WASHINGTOM                   CA     90012150305
872B2AA9497B3B   YARITZA      RESENDIZ                     CO     90010820094
872B341356194B   ELIZABETH    ORTEGA                       CA     90014784135
872B3678585655   LOUIS        BATTLE                       NJ     90001656785
872B3721371977   GLORIA       ORTIVIZ                      CO     38000207213
872B383119152B   JAIME        HERNANDEZ                    TX     90014668311
872B3934861928   YAZNEL       RIVERA                       CA     90008619348
872B4357172B46   LAURA        BREITUNG                     CO     90013953571
872B5433772B62   ARMANDO      AVITIA PEREZ                 CO     33082964337
872B5464172B33   NANCY        CARRION                      CO     90009004641
872B551A397B38   PALEMON      PAZO                         CO     90012175103
872B559499154B   ALMA         LUCERO                       TX     90000815949
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1356 of 2350


872B587259152B   LIZETTE       LOPEZ                       TX     75078878725
872B61A365B326   TOMMY         SMITH                       OR     90012681036
872B6286751351   KIMBERLY      EASLEY                      OH     90012622867
872B646329152B   JAZMIN        NAVARRETE                   TX     90014004632
872B6842397B3B   MARIA         CHAVEZ                      CO     39010918423
872B6984372B46   KIMBERLY      MCMANN                      CO     33048839843
872B7397891979   JOSE          CARDENAS                    NC     90014833978
872B7496597138   MATTHEW       EVANS                       OR     90004334965
872B766328B168   JUAN          CASTILLO                    UT     31067636632
872B7783531683   DONALD W      PARCEL                      KS     90000717835
872B8248961928   MARIO         RAMIREZ                     CA     90014872489
872B827492B246   EDWARD        SAVAGE                      DC     90012582749
872B829116194B   MARIA         OROZCO                      CA     90000692911
872B83A1331437   CHELSEA       FULTON                      MO     90012213013
872B8426372B31   LEMLEM        TESFAMARIAM                 CO     33002434263
872B85AA691837   TANISHA       SMITH                       OK     21049225006
872B8648677537   THERESA       DAVIDSON                    NV     43084436486
872B8763381689   KENNETH       PETERS II                   MO     29011367633
872B929A491975   SARAH         DAVIS                       NC     17005042904
872B979839154B   SUSANA        FRANCO                      TX     90007617983
872BB11A74B22B   SHEENA        MEASE                       NE     90009731107
872BB44582B981   CHACHY        DELGADO                     CA     90001734458
872BB841672B44   STUART        KEENER                      CO     90013088416
872BB92375B24B   BRYAN         RAMIREZ                     KY     90015579237
8731137942B981   BERTHA        PENA                        CA     90012453794
87311469A71977   MICHAEL       BYRD                        CO     90012774690
8731183424B22B   BRANDON       ESTES                       NE     90004038342
8731289A872B46   JOSEFINA      RODRIGUEZ                   CO     33088628908
8731346815B331   JESSICA       MERRICK                     OR     90001464681
8731395398B145   RUBEN         GONZALEZ                    UT     90013209539
87313AA3397138   TONY          GARICA                      OR     90014050033
87314415197B3B   MICHELLE      TRUJILLO                    CO     90014814151
87314675197B38   CHASTITY      SALAZAR                     CO     39026566751
87314855272B44   VIVIANA       MELGAREJO                   CO     90011598552
87315967997B3B   JUANA         RODRIGUEZ                   CO     90011519679
873164A6272B44   NICOLE        HANSON                      CO     33065024062
8731659534B22B   SARAH         HARSHBARGER                 NE     90011885953
87317149A72B29   SABRINA       MORALES                     CO     33053631490
8731759415B335   ALI           ABDALLA                     OR     90010015941
8731762565B183   EULA          SCROGGINS                   AR     90010916256
8731789348B168   ADRIAN        AL SHAMARI                  UT     90012148934
873181A4A47897   MARCUS        JACKSON                     GA     90014651040
873183A1591979   SHANNA        ELFE                        NC     90010843015
8731848559152B   MONICA        RODRIGUEZ                   TX     75030734855
873184A4872B44   MELISSA       BRAUN                       CO     90013114048
87318852572B46   JANESE        BEAN                        CO     90004858525
87318A7465B326   ANDREA        MARTINEZ                    OR     90013340746
87318A88A93771   DANNY         COUCH                       OH     90010900880
8731941729152B   GILBERT       HOLGUIN                     TX     90004014172
87319732572B46   JOSE          TREJO                       CO     90014817325
87319A19A5B24B   CHRISTOPHER   WOODRUM                     KY     90013540190
8731B461397B38   BRANDON       SOTELO                      CO     90007544613
8731B464847897   TEEA          CHAMBLISS                   GA     90012464648
8731B689497138   RICKY         MORTIMER                    OR     90011496894
8731B984372B46   KIMBERLY      MCMANN                      CO     33048839843
87321162772B21   ADRIANA       HERNANDEZ                   CO     90013631627
8732121756194B   TRENELL       FPSTER                      CA     90011692175
87321242A72B33   ROGELIO       MORALES                     CO     33006822420
87321422397B38   CONNIE        BROCKHAUS                   CO     39085644223
87321747172B44   MARY          MCILVAIN                    CO     33009767471
873218A7697B3B   ISELA         HERNANDEZ                   CO     90013758076
8732195794B54B   NOE           SANTOZ                      OK     90010679579
8732228595B183   RONNIE        CROSBY                      AR     23069672859
8732244A893771   KIERSTON      BEATTY FRAZIER              OH     90013584408
8732248559152B   MONICA        RODRIGUEZ                   TX     75030734855
87322693A72B46   IRENE         PEREZ-VIDANA                CO     90013056930
8732273413B332   ANTHONY       APODACA                     CO     33013147341
873227AA36194B   CESAR         GASTELUM                    CA     90014787003
8732334A15B27B   MIATA         STEVENSON                   KY     68030493401
8732423529154B   DANIELA       VARELA                      TX     90012602352
873247A5472B44   NICOLE        DERRRERA                    CO     90013067054
87324885A72B62   ARNOLD        KRAUSE                      CO     90010038850
87324A17A72B29   BETTY         LOPEZ                       CO     90015200170
87325351A8B168   ELIJIO        SEBASTIAN                   UT     90013533510
8732547989154B   FRANCES       VELASCO                     TX     90007284798
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1357 of 2350


87325698A77537   KRISTINE           IVANICH                NV     43024296980
8732631855B24B   JACQUELINE         BIVEN                  KY     90014883185
8732657378B154   KENT               FRANCOM                UT     31028875737
873268A7772B46   RUDOLPH            SANDERSON              CO     33026208077
873269A2A41262   TAMMY              SMITH                  PA     90003389020
873271A3872B29   VERONICA           GALLEGOS               CO     90014631038
87327341A91837   STANDLEY           DANIELS                OK     21006133410
8732768919152B   ROBERT             BARRIGHER              TX     90010876891
873276A9951341   CYNTHIA            MERKT                  OH     90014716099
87328481A8B168   KATIA              LEYVA                  UT     31059024810
87328535A5B183   KRISHARNA          ROSBY                  AR     90014755350
87329685397B38   BERNARDO           LEDESMA REYES          CO     90013876853
8732B143A72B33   MARY               RODRIGUEZ              CO     33063551430
8732B19599152B   CRUZ               GONZALEZ               TX     75054961959
8733114335B27B   DAWN               WILLMAN                KY     90001661433
8733116663B335   CHRISTOPHE         COREY                  CO     33096291666
8733139865B326   ANHALEIA           GARRISON               OR     44513663986
87333348672B46   EZEQUIEL           MUNOZ                  CO     90015183486
8733391219154B   ADRIANA            ESCARENO               TX     75056999121
87334525572B62   RAMON              DIERA                  CO     90007105255
8733522A391979   SHARON             ANDERSON               NC     90007532203
8733558275B326   KELLY              STARK                  OR     90006775827
8733624579154B   ANA                GALLEGOS               TX     90012042457
87336255472B44   JENNIFER           ROMERO                 CO     90015202554
8733725978B168   HEIDI              BREEZE                 UT     31079372597
87338179672B46   DAVID              OVERTON                CO     90011781796
873397A8A6194B   RHONDA             LARIOS                 CA     90014787080
87339912697B38   EDUARDO            SALAS MARTINEZ         CO     90012809126
8733B978991979   MENSAH             GONCALVES              NC     90010289789
8734126672B271   TATIANA            MORGAN                 DC     81017392667
8734177215B17B   CASWANNA           WHITE                  AR     23080017721
87342384372B29   JOHN CHRISTOPHER   LLAMAS SOTO            CO     90012613843
87342A83572B62   DEMONY             MARTINEZ               CO     90013150835
87343511272B29   KAWANNA            BOOKER                 CO     90014095112
87343529272B62   MARIAH             GALLEGOS               CO     90013615292
87343851A9154B   LETICIA            DELGADO                TX     75095278510
8734386325B183   DESTINY            MCKINNEY               AR     90014628632
87344742A8B168   MANUEL             SANCHEZ                UT     31050017420
87344863A4B22B   JOSHUA             BLACKSON               NE     90012578630
8734517495B183   JOSEPH             MILLER                 AR     90005001749
87345278172B46   JESSICA            OLDHAM                 CO     33084302781
8734729375B326   ROBERT             SUMERLIN               OR     90013172937
87347A7649154B   MARIBEL            RAMIREZ                TX     90005320764
8734855A577537   FELICIA            MCCHRISTIAN            NV     90011405505
873488A8461928   WAYNE              FLEMING                CA     90012778084
87349143998B22   CHRISTY            MCNEILL                NC     90010241439
8734993299154B   AIDA               MURILLO                TX     90014049329
8734B479277537   CARRIE             HOWARD OLIVER          NV     90012374792
8734B676197B3B   PAMELA             JOHNSON                CO     39076966761
8734B81749154B   ALFREDO            CORAL                  TX     90013318174
8734B836A51591   SHELLY             Y                      IA     90011218360
8734BA95381683   RONDA              COUSER                 MO     90013190953
8735167155B24B   TIMOTHY            SPENCER                KY     90012166715
87351833A97138   MARIA ISABEL       BARBA DIAZ             OR     90010548330
873518AAA91837   AIDE               HERNANDEZ              OK     90013968000
8735192545B183   DALLAS             SCOTT                  AR     23091909254
8735233186194B   CHERYL             PANGELINAN             CA     46064723318
87353261672B62   JANET              PINKNEY                CO     90007262616
8735333186194B   CHERYL             PANGELINAN             CA     46064723318
8735339A272B46   RAYDINE            RUBY                   CO     90013953902
8735378232B271   REGINALD           ANDERSON               MD     90004797823
87353AA559154B   CARINA             MARES                  TX     75053010055
8735435682B225   TRINA              WALKER                 DC     90005453568
87354866272B46   CHAD               ROBINSON               CO     33039458662
8735514AA8B168   NICHOLUS           LARKON                 UT     90014831400
87355728297B3B   MOLLY              LOONAN                 CO     90003757282
8735573A577537   SHANTEL            MASON                  UT     90000457305
8735714796194B   GEORGE             ARELLANO               CA     46031641479
87357334272B44   ADRANAE            CLIFTON                CO     90014713342
87358546172B44   NOEMA              MERCADO                CO     90013675461
873585A925B24B   CARLOS             ACEVEDO                KY     90008445092
87358A85285822   MARIAN             CORPOS                 CA     90008360852
87359391872B46   JESSE              JEANNE                 CO     90013953918
873593A6857142   BETTY              SPEARMAN               VA     90004323068
87359535397B3B   AMBROSIA           AVILA                  CO     39019565353
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1358 of 2350


87359645A97138   ANGEL         PEREZ                       OR     90014676450
87359A2A193771   PATRICIA      SIMON                       OH     90005290201
87359AA615B24B   JOSEPH        WASHINGTON                  KY     68083590061
8735B11219373B   LUKE          FARRIS                      OH     90007931121
8735B261441262   MARIE         LOIDL                       PA     51091682614
8735B622372B3B   SOUVANNA      PHANSAIYASACK               CO     90002556223
8735B836947897   ZELEACE       HICKS                       GA     90004258369
8736111525B24B   DERRICK       JONES                       KY     68046731152
8736119A861928   EFRAIN        SANCHEZ                     CA     46017941908
87361925897B38   ABRAHAM       HERNANDEZ                   CO     90013179258
8736243749152B   SANDRA        HERNANDEZ                   TX     90007824374
87362488A91975   JASMANE       KING                        NC     90013614880
8736257478B154   ROBYN         ORTIZ                       UT     90010525747
8736278555B24B   JOHNATHAN     COX                         KY     90014827855
87362A1839154B   LAURA         MORENO                      TX     90007860183
87362A9918B168   HOPE          GABALDON                    UT     90006180991
87363A3529154B   SARA          HERNANDEZ                   TX     90011270352
8736471649152B   ROSA          ALVARADO                    TX     75044967164
87364A86847897   JYARAKA       GAINEY                      GA     90011170868
8736528416194B   RODOLFO       CILEZA JR                   CA     46057302841
87365458A72B46   THERESA       VALENCIA                    CO     90008034580
8736549267B361   CARIDAD       COREAS                      VA     90010404926
8736568288B168   LARRY         ANDERSON                    UT     31077446828
87366233597B38   MARIO         LUJAN                       CO     90002192335
8736659189152B   JESSICA       RAMIREZ                     TX     90009265918
8736674258B168   JAVIER        GOLINDO                     UT     31067177425
873667A2172B44   LUIS          TRUJILLO                    CO     33038027021
8736686959154B   VERONICA      HERNANDEZ                   TX     75014128695
873668A2997B3B   AMOS          JACQUEZ                     CO     90010518029
873682AA772B33   VANESSA M     FARRERA                     CO     90011402007
87368343572B46   MICHAEL       WHITEHEAD                   CO     90013953435
8736865519152B   STEPHANIE     RENTERIA                    TX     90007826551
8736938A197B3B   TAMARA        PARKER                      CO     90004003801
873693A5791837   LISA          WILLIAMS                    OK     90014413057
8736942994B22B   KENYATTA      WHITE                       NE     90013564299
87369545A5B183   SHELANDA      HUDSON                      AR     90010495450
8736971A351333   MARIA         MARTINEZ                    OH     90010137103
8736983A172B46   DARRENE       GANT                        CO     33013818301
8736B162397138   ROSA          REYES HERNANDEZ             OR     90012121623
8736B238991975   KARINA        MORA RUIZ                   NC     17081932389
8736B7A5377537   THOMAS        THORNTON                    NV     90011497053
8736B83499152B   BRANDON       COCHRAN                     TX     90015378349
873715A4571977   JERI          TRUJILLO                    CO     38015835045
873716A2372B62   GUILLERMINA   DIAZ                        CO     90009776023
87373256797B3B   CODY          HILL                        CO     39083512567
8737337158B171   CARY          WOODFIELD                   UT     90014933715
87374395972B46   TAMARA        BERTELSEN                   CO     90013953959
873746A2671977   PHILLIP       VALDEZ                      CO     90013936026
8737491536194B   SALOME        PELAEZ                      CA     90012729153
8737493299154B   AIDA          MURILLO                     TX     90014049329
87375212772B62   RAFAEL        FERNANDEZ                   CO     90015282127
8737527A891979   ADAM          KIRKWOOD                    NC     90002962708
87375395972B46   TAMARA        BERTELSEN                   CO     90013953959
8737583789152B   PRISCILLA     CHAVEZ                      TX     90001218378
87375884472B44   MANUEL        PEREZ                       CO     90011598844
8737628496194B   MONIQUE       WATKINS                     CA     46034492849
873763A1331437   CHELSEA       FULTON                      MO     90012213013
8737651A441262   RYAN          FORBES                      PA     90005015104
87376A53351341   RAYMOND       WALKER                      OH     66063000533
87377154A47822   VALERIE       RICHARDSON                  GA     14046951540
8737717A497B38   ARELY         ALBA                        CO     90014951704
873777A1172B33   WILLIAM       COOKS                       CO     90012507011
87377A4367B44B   TAJON         GRAF                        NC     90012040436
87377A92893771   JEAN          MCNEAL                      OH     90002720928
8737814A772B46   CHRIS         MARTINEZ                    CO     33063041407
873781A4193771   KRISTI        GRAF                        OH     90012571041
8737848775B17B   TABITHA       ELDRIDGE                    AR     90005384877
8737865A58B168   PAULO         PEREZ                       UT     31058606505
87378682672B49   WILLIAM       COOK                        CO     90010396826
8737872129154B   YVETTE        DELAROSA                    TX     90013917212
8737925679154B   ADRIANA       ESCOBEDO                    TX     75080502567
87379731197B3B   ROBERTA       BRANDON                     CO     90006297311
87379731A51341   HENRIETTA     MYERS                       OH     66021577310
87379A48391242   STACEY        SAINTE                      GA     14510740483
8737B725891837   HOMER         WARNER                      OK     90013297258
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1359 of 2350


8737B873151341   MIKE          GRABER                      OH     66019548731
873813A825B139   ARTHUR        HARRIS                      AR     90012993082
87381953A5B183   KRYSTAL       VANNATTER                   AR     90014629530
87381A71591979   SAMAEL        MUNGUIA                     NC     90013550715
8738214933B34B   DANIEL        FOGLE                       CO     90001831493
8738242915B27B   STARR         GATHARIGHT                  KY     90002834291
87382A7734B22B   MELODY        RUCH                        NE     90013930773
87383395972B46   TAMARA        BERTELSEN                   CO     90013953959
8738355A85B326   ERIKA         BOOKER                      OR     90014845508
873836A352B271   GABINO        BENNETT                     DC     90014956035
87383763A91532   GRICELDA      VERDISCO                    TX     90008407630
8738399269373B   VESS          LEWIS                       OH     90007839926
873839A112B271   GABINO        BENNETT                     DC     90006629011
87383A53751349   LAURA         HASKINS                     OH     90004940537
8738433124B22B   TERESA        MALLY                       NE     27080123312
87384622372B3B   SOUVANNA      PHANSAIYASACK               CO     90002556223
87384A17297B38   SAMUEL        DOMINGUEZ                   CO     90011400172
87384A36993771   OZELL         FOWARD                      OH     64581110369
8738538348B154   MARISSA       PUNI                        UT     90010543834
87385479176B65   JACOBO        FRACISCO                    CA     90005084791
8738548596194B   PAULA         HAM                         CA     90011694859
87385512197B38   CASEY         RICHARDSON                  CO     90012605121
8738583479154B   MELISSA       MARQUEZ                     TX     75015368347
8738624458B154   BRANDI        LAMPER                      UT     31060632445
87386638172B33   KIM           EDWARDS                     CO     33083906381
87386847772B29   HECTOR        MARIN                       CO     33022438477
8738713A161928   EDUARDO       GARCIA                      CA     46004741301
8738725269154B   JENNIFER      MUNOZ                       TX     90013032526
873879A6672B62   DALANIA       GRAY                        CO     90015119066
87387A61A97B38   PATRICIA      AVILA                       CO     39063940610
8738871155B326   ARTURO        PEREZ MORALES               OR     90014157115
8738896AA5B183   CLEODIS       RANDOPH                     AR     23012039600
8738915A341229   CHRISTOPHER   MORRIS                      PA     90013501503
87389811872B33   RICHARD       HOBART                      CO     90011308118
873898A5151341   KEVIN         CRENSHAW                    OH     90014718051
87389953A97B38   DEBBIE        GOMEZ                       CO     90012909530
8738B4A8172B62   MARIO         RAMOS                       CO     33009324081
8738B69475B326   TEDDY         KOESSEL                     OR     90011826947
8738B95A15B183   JESSICA       KNAPP                       AR     90014629501
8738B985291979   KAREN         SELBY                       NC     17039319852
8739128A672B33   CYNEATHIA     ZALAL                       CO     33044162806
8739186255B326   SARAH         LONG                        OR     44552028625
87392584A41275   ARTHUR        SMITH                       PA     90005305840
87392A6175B24B   LAKAISHA      STONER                      KY     90010980617
8739338533B389   MARY          SALAIZ                      CO     33013753853
873938A4751341   MARK          GUTHRIE                     OH     90014718047
8739412138B154   LIDIA         MARTINEZ                    UT     31015831213
87395894572B46   ALVA          SANCHEZ                     CO     33014478945
8739629875B326   CHRISTOPHER   ESTRADA                     OR     90015032987
8739853739154B   IRIS          CORTEZ                      TX     90014565373
87398AA9672B46   JESUS         RIVERA                      CO     90010670096
87399171372B33   ANAHI         MORENO                      CO     33001481713
8739977958B168   ZACH          DAVIS                       UT     90006037795
873999A8951341   VICTOR        RODRIGUEZ                   OH     90001569089
873B1449A41262   MEGAN         KURPAKUS                    PA     90013944490
873B2225A97138   NAOMI         CASE                        OR     90014532250
873B281A371977   MICHAEL       CARRILLO                    CO     90012028103
873B324A193771   AMANDA        TAGGART                     OH     90011122401
873B331284B22B   VIRGINIA      SMITH                       NE     27032853128
873B343A597B38   MYRNA         MENDOZA                     CO     39053784305
873B3853691837   LINDA         JONES                       OK     21006268536
873B423719154B   BIANCA        SIGALA                      TX     90013972371
873B426688B168   KERI          JACKSON                     UT     31016492668
873B45A6955997   ELEAZAR       AGUIRRE                     CA     49015645069
873B523636198B   MELISSA       MEDINA                      CA     90009152363
873B5699141262   ICB           INC                         PA     90007066991
873B5769991837   RASHONNA      ANDERSON                    OK     90014767699
873B6223572B46   JUAN          GARCIA                      CO     90002482235
873B629A35B24B   MALLORY       CHESSER                     KY     90015302903
873B652169154B   LAURA         QUINTERO                    TX     75041285216
873B66A1872B29   RODNEY        DAVIS                       CO     33077546018
873B6827151341   PAUL          MAILHOT                     OH     90014708271
873B732828B168   MARIA         GORJENSEN                   UT     90014893282
873B774768B168   PATRICK       REYNA                       UT     90011317476
873B786538B154   CLAUDIA       VILLA                       UT     31044158653
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1360 of 2350


873B8583572B29   SHANNON       WHITE                       CO     33025435835
873B865995B27B   CHELSEA       ROUGEUX                     KY     68058796599
873B878A593771   MIKE          ELLIOTT                     OH     90015157805
873B8827151341   PAUL          MAILHOT                     OH     90014708271
873B8852697B3B   JULIO CESAR   LOPEZ                       CO     90014338526
873B886A78B168   SAHARA        BARRON                      UT     90014288607
873B8881572B44   ALEX          DIAZ                        CO     90013038815
873B948559152B   MONICA        RODRIGUEZ                   TX     75030734855
873B9495691975   WILLIE        EDWARDS                     NC     90001094956
873B985738B145   JAIME         MEDINA                      UT     90010898573
873BB889771977   AMPARO RUTH   MONDRAGON                   CO     90002898897
87411399672B46   MARIA         YESENIA                     CO     90013953996
87411A7785B183   DAPHNEY       BANKS                       AR     90014630778
8741245215B326   CARY          DEHNE                       OR     90012904521
87412521497B3B   RICKIE        KOEHLER                     CO     39008285214
87412A8289152B   YANIRA        LOPEZ                       TX     90009520828
87413218172B33   AUDREANNA     TRUJILLO-STEVENSON          CO     90003522181
8741328A772B46   DAVID         BURNETT                     CO     90004542807
8741343819152B   ANTHONY       BALDI                       TX     90012594381
8741392AA91979   DAVID         RAYNOLDS                    NC     90009769200
87414711A5152B   DENIESE       LLAMAS                      IA     90014017110
87414A4499154B   EDGAR         DIAZ                        TX     90002190449
8741514615B183   BRITTANY      GREEN                       AR     90014971461
87415698472B62   PABLO         DEL RIO                     CO     90001086984
87415847772B44   WESTLEY       WIDICK                      CO     90014428477
87415911197B3B   KELLEY        MAHONEY                     CO     90011589111
87415AA2391837   TABITHA       BOWERS                      OK     90006240023
87416A11A72B62   LANCE         KISSINGER                   CO     90013190110
87416A67A91837   TRISHA        CARR                        OK     21076490670
8741711319152B   RUBEN         ZAMORA                      TX     75034581131
87418526772B99   NEGUSE        MERESSA TSEHAYU             CO     90010575267
8741866184B22B   ALMA          GARCIA-RODRIGUEZ            NE     90009806618
8741896765B326   CENOBIO       OSORIO GUEVARA              OR     90014979676
8741966A77B235   PABLO         GONZALEZ                    UT     90001596607
874197A6277537   ANTONIO       RAMOS-ARIAS                 NV     43067657062
87419A6395B24B   LETISSHA      BLAKEY                      KY     90010980639
8741B25435B326   MANSON        JIROKLE                     OR     90013262543
8741B639193771   CODY          GREER                       OH     90012516391
8741B78572B271   TIFFANY       COSTLEY                     DC     90005587857
8741B81574B22B   WENDELL       VINCENT                     NE     90011708157
8741B974691869   EARL          MCNATT                      OK     21000329746
8742119574B27B   CRYSTAL       MCCRACKEN                   NE     27023701957
8742121829154B   VENETTE       LEYVA                       TX     90005102182
874214A1172B46   JUSTINE       BRADEN                      CO     90013954011
8742156636194B   AMBER         ALEQUIN                     CA     90000175663
87421A99772B33   ALEX          FLORES                      CO     90013270997
87422A5668B154   LAWANDA       SEARLE                      UT     31024880566
874231A1893771   CLARENCE      BUTLER                      OH     64528911018
874233A574B548   MIGUEL        ESTRADA                     OK     90011153057
87423596897B38   LUCERO        CISNEROS                    CO     90013935968
8742361534B556   WILLIAM       HAMPTON                     OK     90000866153
87424367A5B24B   WILLIAM       BASHAM                      KY     90010963670
87424878397B3B   RICHARD       BALLARD                     CO     90000918783
87425244597B3B   AMANDA        WALKER                      CO     90013532445
87425656572B29   MARIANA       PEREZ                       CO     90013846565
8742565A672B46   CHRISTINA     WALKER                      CO     90009996506
87425A7615B326   DORA          SWEET                       OR     44514130761
87425A9395B17B   MARLANA       TAYLOR                      AR     90006360939
8742657A99154B   CRISOFORA     SEGURA                      TX     75055555709
87426674497B3B   DAVID         GALVAN                      CO     90010546744
874267A395B24B   WILLIAM       KENNEDY                     KY     90009837039
87426896597B38   MONICA        LOPEZ                       CO     90013628965
87427263172B62   DENISE        RODRIGUEZ                   CO     33018012631
8742745756194B   ADELA         RIVERA                      CA     90014794575
8742746484B554   ISABEL        NEVAREZ                     OK     90014064648
87427492972B29   VERONICA      MASCARENAS                  CO     90009184929
8742776619152B   MARISELA      PEDROZA                     TX     90015127661
8742851597B485   ENIOR         JEUNE                       NC     90013865159
8742851A65B229   ROYALTY       FINN                        KY     90013775106
8742865A672B46   CHRISTINA     WALKER                      CO     90009996506
8742887A672B62   JOSHUA        CHIVERS                     CO     90000918706
8742911755B326   MATTHEW       GRAY                        OR     44507581175
874296A6872B29   JORDAN        BROWN                       CO     90009546068
8742B17A497B38   ARELY         ALBA                        CO     90014951704
8742B271772B44   HALEY         LANDRETH                    CO     90012272717
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1361 of 2350


87431819872B46   COURTNEY        HANLON                    CO     90012228198
87432A58A47897   NATOSHA         FREEMAN                   GA     90014440580
8743339338B168   MARGARET        BENNETT                   UT     90013903933
8743378478B168   KERRY           CLIFT                     UT     90012947847
8743445989154B   YVONE           DIAN                      TX     90011274598
87435533472B46   JOSEPH          DEBORD                    CO     33045325334
874355A212B271   TAVARUS         WIGFALL                   DC     90002075021
874357A578B168   MONICA          JOHNSON                   UT     31008817057
874358A4961928   MARIA           PUGA                      CA     46058168049
87435933A4B22B   DONNY           ELSTON                    IA     27007439330
87436367A5B24B   WILLIAM         BASHAM                    KY     90010963670
87436488272B29   JEFFERY         ASKEW                     CO     90013194882
874368A7372B46   YESENIA         CASTRO                    CO     33048838073
8743699489152B   SILVA           FEDRICO                   TX     90008989948
8743794459152B   RICARDO         RODRIGUEZ                 TX     75043449445
874383A755B183   CHINEETHA       BASS                      AR     90011593075
87438519476B9B   VALENTIN        MARTINEZ                  CA     90002435194
874394A3172B44   CYNTHIA         ENRIQUEZ                  CO     33037764031
87439A6579152B   LOUIE           BELIS                     TX     75017440657
8743B72589152B   CYNTHIA         CARVAJAL                  TX     90013317258
8744166387B362   DEREGE          GESSESSE                  VA     81027006638
87443A8677B465   JOSE SANTOS     MARTINEZ SOTO             NC     90009290867
8744456A741275   ROBBIE          NEWCOMER                  PA     51016695607
8744464878B154   AGNES           MUKANTAGARA               UT     31090536487
87444A1A272B44   SHEILA          LANKY                     CO     90010510102
87444A48661928   MARIA           LOPEZ                     CA     46066290486
87444A93A97138   GUSTAVO         FLORES                    OR     90011360930
87445238A8B168   ALEJANDRO       VILLALOBOS                UT     31086672380
8744571214B22B   KATHY           HICKS                     NE     27032817121
87445A1A99152B   EDUARDO         HERNANDEZ                 TX     75095870109
8744649A44B22B   JULIUS          SHIELDS                   NE     90011504904
874466A1397138   MONICA          MORENO ESQUIVEL           OR     44030566013
87446A61791837   AMIRACLE        STEVENSON                 OK     90013990617
87447244572B46   LATONIA         WOMLEY                    CO     90014992445
87447543772B62   SARAH           CARRASCO                  CO     33098235437
8744812A86194B   MARIA           SANCHEZ                   CA     46040791208
874482A4271956   ROBYN           BRAKE                     CO     90000942042
87448655897B38   JED             TEEL                      CO     39090006558
87448A6779154B   GILBERTO        RAMIREZ                   TX     90002820677
874493A1A72B46   ALEJANDRA       GARCIA                    CO     33071933010
874495A9A77537   LEOBARDO        SEGOVIANO- AZPEITIA       NV     90014205090
8744986978B154   ASHLEY          COOPER                    UT     90007378697
87449A83A5B326   LOURDES         CARILLO                   OR     44515080830
8744B133A8B168   ABRAM           HARRIS                    UT     31078511330
8744B572347822   JALECIA         MAXWELL                   GA     90005275723
8744B719871977   SANDRA          CHAVEZ                    CO     90014827198
8744B761761928   ELIUD           DELGADO                   CA     46059097617
8745136239154B   JOSE            DELAROSA                  TX     75053013623
874517A465B326   GRETCHEN        CAMPBELL                  OR     44502317046
8745219355B24B   MICHAEL         THOMAS                    KY     90014851935
87452462776B65   MARCIE          SAAVEDRA                  CA     90005284627
874527A5777537   SARAHI          AYALA                     NV     43060397057
8745347679152B   KARLA           HIDALGO                   TX     90013214767
874535A9891975   GETENA          COMPON                    NC     90002415098
8745362819152B   PATRICIA        MOLINA                    TX     90015126281
8745434A141262   PINA            STRIGHT                   PA     90014503401
87454837472B33   YARELY          FLORES                    CO     90010828374
874555A8772B29   DARREN          RAYL                      CO     90007035087
8745562A151341   MARIA           ROBINSON                  OH     66058466201
874559A6261924   MIRANDA         HANLEY                    CA     90005249062
8745619AA97138   ORLIN           OMWERE                    OR     90013781900
87456318A5B24B   MELODY          WHITTINGHILL              KY     90010263180
87456A1429154B   JUDY            VENTURA                   TX     90006280142
874571A1851341   KAYLA           KLINGELHOFFER             OH     90010391018
8745726A697138   SAMANTHA STAR   SLOPER                    OR     90013472606
87458292472B46   ANDRE           GOMEZ                     CO     90002182924
8745836425B326   STEVEN          KASINGER                  OR     90010083642
87458753972B44   PATRICIA        HARRIS                    CO     90012807539
87458A74947897   GALEN           BUTLER                    GA     14062840749
874594A2A41275   SHYKILA         TOMLIN                    PA     90009984020
8745963738B154   DUSTIN          PERRY                     UT     90005626373
8745998A56194B   FRED            LOPEZ                     CA     46078589805
8745B263772B29   JAZMYN          HINES                     CO     90014372637
8745B427997B38   MARI LUZ        ESTRADA                   CO     90010764279
8745B49179154B   LILIANA         SANCHEZ LEON              TX     90011274917
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1362 of 2350


8745B76649152B   IRIDIAN        CASTANEDA                  TX     90015127664
8745B9A384B22B   DANIEL         DAWSON                     NE     27095939038
874611A4A47897   NANCY          GOTIEIEZ                   GA     90006741040
874618A8A77537   ROBERT         CHURCH                     NV     90014468080
874625AA54B22B   DEWEY          STUART                     NE     90014705005
8746371298B168   MARSHON        LOUIS                      UT     90009727129
874641A1361928   RUTH           BATTON                     CA     46035271013
87464343997B3B   KELLY          SMITH                      CO     90014853439
874647A998B168   JOEL           BRITO                      UT     90009797099
8746562728B154   ENRIQUE        AQUINO                     UT     90010546272
87465829A5B17B   ADAN           GARCIA                     AR     23061848290
8746624184B22B   CHARLES        THOMAS                     NE     27072892418
8746646468B168   JENNIFER       VORDERER                   UT     90013904646
8746692465B183   MELISSA        KITCHELL                   AR     90010489246
874672A5272B44   MIGUEL         ARAGON                     CO     90013942052
87467359A5B326   JOY            SMITH                      OR     90011093590
8746751179154B   SANDRA         GONZALES                   TX     90011275117
87467744897B3B   ZACHARAY       GERBERDING                 CO     90013827448
87467754A51341   ELIJAH         BURNES                     OH     90014727540
874681A3872B29   VERONICA       GALLEGOS                   CO     90014631038
8746844555B326   NICOLASA       VILLANUEVA ORTIZ           OR     44569074455
8746926844B22B   CORNELL        KNIGHT                     NE     90011112684
8746951269154B   JOANNA         PALOMARES                  TX     90011275126
87469A25997B38   JENNIFER       ALANIZ                     CO     90008440259
8746B2A7572B44   SAMUEL         LOPEZ                      CO     90013942075
8746B578372B44   GEORGE         RAMIREZ                    CO     90013675783
8746B629691979   ALMA           LIZETH                     NC     17072386296
8747119478B154   RUSTY          SPENCER                    UT     90006191947
87471264472B46   GREG           BACA                       CO     90011782644
8747166336194B   DHUMHAAR       COVINGTON                  CA     46066966633
8747194A197138   MICHEAL        RICHARDS                   OR     44016499401
87471A4515B24B   ROBERT         POLLARD                    KY     90003440451
8747228185B24B   DENNIS         HICKS                      KY     90007302818
874724A1572B33   KELLI          ROPER                      CO     90014834015
87472753A47822   BIANCA         WHITEHEAD                  GA     14080867530
8747314925B183   BOBBY          ROGERS                     AR     23056891492
87473419972B29   MARY           WALKER                     CO     90013774199
87473549A8B168   BIR            MAGAR                      UT     31098025490
87473581872B29   MARY           WALKER                     CO     90011395818
874738AA672B62   SALVADOR       CISNEROS                   CO     33061068006
87473A27493771   HOWARD         WENDLING                   OH     64517810274
874743A1671977   JAMIE          FLORES                     CO     38039353016
87474754A51341   ELIJAH         BURNES                     OH     90014727540
87475156972B44   GREGORIO       CASAS                      CO     90011511569
87475172997B3B   ROBERT         BUSWOLD                    CO     90013501729
87475256A72B33   SARAH          BETZER                     CO     90012912560
87475293276B65   HERMAN         DAVIS JR                   CA     46017362932
87475356597B3B   ESPERANZA      GUZMAN                     CO     90010773565
874753A8697138   TIM            ASHBY                      OR     44017223086
8747553639154B   DIANA          CORRALES                   TX     90013085363
87475A9A172B44   SHAREL         DOYLE                      CO     90014100901
87476145A93771   JASMINE        FITZPATRICK                OH     90013061450
874761A484B22B   CHRISTINA      DAVENPORT                  NE     90005421048
87476379372B46   FRANCISCO      HURTADO                    CO     33013523793
8747678538B168   KRISTIN        WARNER                     UT     31038707853
87476987A6194B   ANDRES         RANGEL                     CA     90004319870
87476A87A97138   BERTHA         VALERIO RAMIREZ            OR     44009070870
8747717793B371   FRANCISCO      ARTICA                     CO     90010531779
87477812A81687   LAWANDA        CROWDER                    MO     90003338120
874781A2171956   BRITTNEY       MARTINEZ                   CO     90010391021
8747855495B921   TOSHA          WILLIAMS                   WA     90009745549
87478855172B46   CECIL          BROOKS JR                  CO     90001058551
874789A615B24B   CASSANDRA      HESTER                     KY     68075909061
87479116372B29   JOSEPH         MUELLER                    CO     90014241163
87479131A72B44   PAYNE          BRANDY                     CO     33021701310
8747915665B326   MARIA ESTHER   NEGRETE MARTINEZ           OR     90014781566
874792A6371977   MAXINE         VALDEZ                     CO     90013172063
8747934A872B33   JENNIFER       PENNINGTON                 CO     33040583408
87479411572B62   ANA            MIJARES                    CO     33096344115
8748167259154B   JESUS          GARCIA                     TX     90010966725
87481798A91975   TORIAN         LONG                       NC     17035377980
874822A298B168   NOEMY          GALLARDO                   UT     90001202029
87482518172B44   JAVIER         MORALES                    CO     90013235181
87482A67341262   BRIAN          SCOTT                      PA     90015320673
8748481A577537   MARCUS         MAY                        NV     90013458105
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1363 of 2350


8748491455B24B   STEPHANIE    MEIER                        KY     90010729145
87485223A91975   TIMOTHY      WIGGINS                      NC     90012612230
87485492A51341   SARAH        HOBBS                        OH     90014784920
87486514797B38   LEONEL       AGUILAR                      NM     39027695147
87486A3639152B   NORAH        QUIZ                         TX     75035920363
8748714989152B   UVALDO       SALINAS                      TX     90011921498
87487454772B28   NICOLE       BRAINING-DEHERRERA           CO     90007864547
87487773772B29   KIRSTEN      GOODTEACHER                  CO     90012607737
8748817A172B46   MOISES       RUELAS                       CO     33003021701
8748833A197138   LYNN         DEJOODE                      OR     90007893301
8748879A891837   SYDRI        DEFFEBAUGH                   OK     21036717908
87488846A9154B   GRISELDA     MORALES                      NM     75096008460
8748946445B183   JUANITA      AVERY                        AR     90014634644
874894AA247897   NEFERTERI    FLEMING                      GA     90003694002
87489722597B3B   MARTIN       HERNANDAZ                    CO     39020367225
87489742A6194B   EDILIA       CARDENAS                     CA     90014367420
87489776172B46   VANESSA      VIGIL                        CO     33051037761
874897A8777537   ALEX         SPENCER                      NV     43029147087
8748B428572B33   RACHELLE     MEDRANO                      CO     90014844285
8748B43949154B   ANDREA       JURADO                       TX     75081634394
8748B8A939152B   LAURA        TOVAR                        TX     90014168093
8748B95698B154   SHEILA       WILKINS                      UT     31076879569
8748BA6913B351   KEITH        UNGER                        CO     33072980691
8748BA7AA91975   LUIS         HERRERA                      NC     90015170700
8749126A484351   DARREN       GILBERT                      SC     90010292604
8749136A297B38   ABRIANN      MUNOZ                        CO     90014803602
874913A5961928   SARA         CARMONA                      CA     90013303059
8749231A29154B   LINDA        CARRASCO                     TX     75082723102
87492741A4B556   AJA          HOLLINGSWORTRH               OK     90013137410
87493298672B44   SONIA        CHONA                        CO     90012512986
8749332965712B   JOSE         REYES                        VA     90003873296
8749335A347897   JENNIFER     SIMMONS                      GA     90010953503
8749384462B237   LORETTA      WILLIAMS                     DC     90000858446
87493981197B38   ESTEFANA     GAIVAN                       CO     39036889811
8749537474B22B   KEITH        PAPST                        NE     27076383747
87495523A5B27B   TIMOTHY      BARGER                       KY     90000915230
874974A695B183   ROSE         EASTER                       AR     90006454069
8749769139152B   MARIA        CALDERON                     TX     90014566913
87497A7129152B   ROSALIO      OLIVO                        TX     75060830712
87498335572B46   AUBREY       TATE                         CO     90002173355
874983A4172B62   JOY          PEPRAH                       CO     90009353041
874986A586194B   TATYANAH     LACEY                        CA     90014796058
87498A78371977   GLORIA       GOMEZ                        CO     38032760783
874991A2841262   CARLA        CRAWFORD                     PA     90014701028
87499372972B44   ED           THOMAS                       CO     33081983729
8749957AA4B22B   LORRAINE     LONG                         IA     90000585700
87499933976B88   ASHLEIGH     CHAMBLIN                     CA     90011829339
8749B142A8B168   MCCALL       MACKAY                       UT     31092891420
8749B658672B44   ANNA         SALDANA                      CO     33064726586
8749B94A791975   TAMIKA       STEWARD                      NC     90009179407
874B1737191975   CLARA        DUNLAP                       NC     90015057371
874B195758B154   ANDREA       ISON                         UT     90003269575
874B2585A5B326   ELISHA       MITCHELL                     OR     44576455850
874B2715951362   KAREN        CAHALL                       OH     90014207159
874B281319152B   KEITH        DESMOND                      TX     75043728131
874B2846772B58   RAQUEL       HERRERA                      CO     90013598467
874B284AA91837   JUSTIN       LOGAN                        OK     21083808400
874B297A297B3B   MANUELA      FRAGOSO                      CO     39085479702
874B2A3955B183   JOSE         RAMIREZ                      AR     23098850395
874B318A85B24B   KENNETH      VANDERHOFF                   KY     90001311808
874B3238897B3B   JOEL         FERNANDEZ                    CO     90007632388
874B3246447897   KURT         OATES                        GA     90011302464
874B329A491979   GRETA        JOHNSON                      NC     90010382904
874B392629152B   STEVEN       NEWBURGER                    TX     75087779262
874B4328791837   LORA         TERRY                        OK     21007813287
874B4524497138   JACOB        THURSTON                     OR     90013345244
874B476A733645   CHRIS        SHEPARD                      NC     90001087607
874B4849993771   RODNEY       GROSS                        OH     64582198499
874B565949154B   MONICA       ESPINOZA                     TX     90010316594
874B571A85B139   SYDNEY       ROGERS                       AR     23003177108
874B58A4751341   MARK         GUTHRIE                      OH     90014718047
874B642145B326   HEATH        MCKINNEY                     OR     90010424214
874B6689A51333   ANGEL        POUND                        OH     90014436890
874B699613B371   ANGELENA     NICCOLI                      CO     39087549961
874B71A2472B33   DAVID        LUJAN                        CO     90008231024
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1364 of 2350


874B7245397B38   ALFREDO       PAREDES                     CO     39049642453
874B724589152B   VICTOR        HERRERA                     TX     90013042458
874B7288351341   BRYANT        DENNIS                      OH     90007722883
874B736959184B   AYN           ROZELL                      OK     90004783695
874B826345B139   BLANCHE       ROBINSON                    AR     23015882634
874B912852B94B   JAVIER        AVALOS                      CA     90013621285
874B9425541262   BRANDON       DEWAR                       PA     90007124255
874B9492597138   JOSHUA        HAMILTON                    OR     90013784925
874B956629152B   MARIA         URIBE                       TX     90013435662
874B9751197B3B   FELIPE        LOPEZ                       CO     39075917511
874B9A15551362   BRITTNEY      SANDERS                     OH     66013070155
874BB755672B29   FREDY         JIMENEZ-MARTINEZ            CO     33075657556
874BB869597138   A             K                           OR     90013528695
874BB8A4751341   MARK          GUTHRIE                     OH     90014718047
874BB996861928   KYLE          CRAVEN                      CA     90014419968
87511969697B38   ELOY          CASTILLON                   CO     90001829696
87511A66441275   MARY          WELSH                       PA     51083840664
87513225A5B326   STEPHANIE     KETCHERSIDE                 OR     44561532250
8751367948B168   HUMBERTO      RODRIGUEZ                   UT     90012246794
87513772272B29   STEVE         HANKINS                     CO     33083237722
87513A7318B131   VICKI         CHARLESWORTH                UT     90008710731
8751513863B351   ROSA          ELLS                        CO     33096961386
87517785372B62   JOSE          ARGUETA                     CO     33066207853
87517A73693771   TRAVELL       MCCARTY                     OH     90007930736
87519357797B3B   ARNOLDO       FELIPE GOMEZ                CO     90009603577
8751B13289152B   BRANDON       SMITH                       TX     90012301328
8751B4A2377537   BRYAN         HERRIN                      NV     43040074023
8751B7A716194B   FRANCISCO     ARREDONDO                   CA     46063057071
8751B849872B46   OSCAR         LOPEZ                       CO     90015208498
8751BA6384B22B   CARTER        CORDES                      NE     27021430638
87521137797B3B   AMY           MARTINEZ                    CO     90014541377
8752187339154B   JAIME         CERVANTES                   TX     90011778733
87521911997B38   NOLA          MARTINEZ                    CO     90015249119
8752212A58B168   LETICIA       REYES                       UT     90015091205
87522715597B38   OLGA          AMBRIZ                      CO     90006437155
8752292AA71977   JESSICA       HERNANDEZ OLVERA            CO     90012799200
8752318A54B22B   CARLA         CHRISTENSEN                 NE     27034591805
8752444AA5B24B   JOSE          SALAS                       KY     90011904400
87524562997B38   LORENA        OLAGUE-CALDERA              CO     90005735629
8752477276194B   JUAN MIGUEL   BALTAZAR                    CA     90012977727
875247A999152B   INOCENTE      REYES                       TX     75086397099
87524A69591979   JOHN          PRATT JR                    NC     90012400695
87525217A71977   CHRIS         BOETTLER                    CO     38076212170
8752593127B635   JOSE          LOPEZ                       GA     90009519312
8752614589154B   LETICIA       GOMEZ                       TX     90005941458
87526716272B46   JOSE          DIAZ                        CO     90008457162
8752677276194B   JUAN MIGUEL   BALTAZAR                    CA     90012977727
8752691328B168   AL            AL-BAYATI                   UT     90014729132
8752754265B27B   ELMORE        JAMES                       KY     90004455426
87527722497B38   ELIANNA       JIMENEZ                     CO     39075747224
87527A6347B339   JAMES         ABBAM                       VA     81062480634
87528361A51341   SHERRI        MOERMOND                    OH     90007643610
8752877276194B   JUAN MIGUEL   BALTAZAR                    CA     90012977727
8752895974B22B   ANGELA        KIRK                        NE     90005209597
87529224497B3B   JORJE         LOPEZ                       CO     90008762244
8752951989154B   JESSICA       PAZ                         TX     90011605198
8752B231A97B38   EMMANUEL      ARVIZU                      CO     90013922310
8752B233972B62   JEREMY        REID                        CO     90011112339
8752B25364B22B   SHANE         PERKINS                     NE     90010342536
8753118454B22B   JOANN         POWELL                      NE     90013971845
87531766497B3B   WILDER        PEREZ                       CO     90009517664
87532412A6194B   PABLO         OLMOS                       CA     90014594120
87532A12772B44   MA.GRICELD    MACEDO-GOMEZ                CO     33087960127
87532A53497B3B   MARK          WARTER                      CO     90000640534
8753357476192B   CHRISTIAN     PALACIOS                    CA     90002725747
87533A2685B183   DELVIN        HANLIN                      AR     90014640268
8753565549154B   ANGELICA      HERNANDEZ                   TX     90011276554
87536562A72B33   CRISTAL       SAUCEDA                     CO     90007585620
8753683A991975   MARTIAL       HODGE                       NC     90015218309
8753731134B22B   CORY          MCCANN                      NE     27000283113
8753766676194B   SOELY         SANCHEZ                     CA     90014796667
8753775A231444   DONALD        HOLLMAN                     MO     90013137502
8753853195B183   STEPHANIE     DANIELS                     AR     90010295319
8753922628B154   GARY          BRANSCOMBE                  UT     90004832262
87539351872B29   GUILLERMINA   CABRERA                     CO     90013323518
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1365 of 2350


87539611797B3B   LEVI             GLAVIN                   CO     90014586117
87539AA628B168   NORMA            SIERRA                   UT     90005940062
8753B37955B24B   MAY              IRIAS                    KY     90012943795
8753B456191837   SHERRI           DIXON                    OK     21007214561
8753B71518B168   ZENON            MARQUEZ                  UT     31011157151
8753B985277537   JAMES            COLBERT                  NV     90013689852
8753B9A2872B62   PATRICIA         TAGGART                  CO     33057179028
8754124495B24B   KARINA           SANCHEZ-GODINEZ          KY     90014892449
8754176375B326   FERN             COOK                     OR     90004877637
87541A6655B183   LAKEVIAS         BUTLER                   AR     90014640665
87542483172B33   WILLIAM          BLEVINS                  CO     33031094831
875425A9891975   GETENA           COMPON                   NC     90002415098
87542981A5B249   CHELSEA          BROWN                    KY     90011249810
87543311197B3B   HAYDEN           ROBBINS                  CO     39069423111
875433A5891837   JAMES            WHITE                    OK     90015243058
8754387AA72B33   KENNETH          TRUJILLO                 CO     90013188700
8754419239152B   CHOLLA           FOX                      TX     90004661923
8754459686194B   PAULA            GANT                     CA     90010875968
8754485A272B62   CARTINO          CHINO                    CO     90002648502
87544A6255B326   ERIC             GARCIA                   OR     90002320625
87545371772B29   FRANCISCO        GOMEZ                    CO     90003353717
87545726A9152B   LANORMA          SHORES                   TX     90014847260
8754589529154B   SERGIO           CALDERON                 TX     90010858952
87546231A47822   KIMBERLY         JOHNSON                  GA     14061522310
8754661A972B62   KYLE             GABRINETTI               CO     90002496109
87546892572B39   MARIA            YANAGIDA                 CO     90007268925
875472A119154B   SALVADOR         CARRERA                  TX     75074152011
8754745A771977   SOPHIA           HERNANDEZ SANCHEZ        CO     90014094507
875474A3177537   ERIC             GEHRING                  NV     90012474031
8754779AA72B62   RIVERA           JOSE                     CO     33085607900
875479A4697B38   ABRAHAM          JESFAZGI                 CO     90013209046
87548672372B29   JOSE             CHAVEZ                   CO     90000666723
8754B94825B326   PAUL             WICKHAM                  OR     90014339482
8754BA82131625   STEPHAINE        HOPPER                   KS     90001870821
8755119844B22B   JUAN MARCOS      FLORES                   NE     90003781984
87551794997B38   LARRY            GUTIERREZ                CO     39072707949
8755232488B168   SCOTT            SEAMAN                   UT     90013983248
8755269225B24B   JAIMELLE         WILSON                   KY     90014906922
87552821772B44   ADOLFO           ROJO                     CO     90012858217
87552A46493771   RANDALL          STRONG                   OH     64595790464
875534A8197B3B   DEBRA            DOREMUS                  CO     90004064081
87553542772B62   SHARA            OATES                    CO     33042535427
87553626A71977   NANETTE          MADRID                   CO     90010876260
875539A1197138   JEFFREY          FORKIN                   OR     90011079011
8755416765B24B   DANNY            DILLANDER                KY     90003211676
87554476A41275   DOLLEY           SEACHRIST                PA     90008704760
8755472896194B   MARTHA           GARCIA                   CA     46066577289
8755473A291975   PEDRO            YANEZ                    NC     90015227302
8755534448B154   JOSE             MEDINA                   UT     31097063444
8755552964125B   SONYA            KUST                     PA     90011725296
875558A2A6194B   CESAR            LOPEZ                    CA     90009008020
8755598854B22B   LYNN             WILSON                   NE     27025439885
8755622645B27B   LASHAY           WOOLRIDGE                KY     90003672264
8755655926B932   LOUIS            MCCRAE                   NJ     90013185592
8755721314B22B   DEBRA            HOLLINGSWORTH            NE     27090342131
8755729A86194B   SONIA            MARTINEZ                 CA     90010242908
87557383172B62   JESSICA          AGUIRRE                  CO     90012863831
875581A7A72B33   DANIEL           TRUJILLO                 CO     33035821070
875582A9A2B275   DARRRYL          DOWTIN                   DC     90012012090
875583A178B168   ANDREW           MARTINEZ                 UT     90012613017
87558AAA34B22B   JENNIFER         BELL                     NE     90007370003
87559687576B65   CARLOS           CORONEL                  CA     46037396875
8755987A597138   DAWN             STINNETT                 OR     90013208705
87559A5554B22B   MARCOS ANTONIO   PEREZ LOPEZ              NE     90015310555
8755B357A93771   JASHWA ALAN      SMALLWOOD                OH     90012933570
8755B654971977   ALISHA           HAWKINS                  CO     90002676549
8755BA5A591837   BECKY            DRAKE                    OK     21007500505
8755BA69533645   YOLANDA          GRAHAM                   NC     90013810695
87561154372B44   MANUEL           IBARRA-RODRIGUEZ         CO     33042381543
87561223572B33   CAROLE           WATERMAN                 CO     90004732235
87561566472B62   NANCI            HOSELTON                 CO     33042535664
87561772A4B22B   SHAWN            COOPER                   NE     27095537720
8756262AA71977   ELYSE            SHUPING                  CO     90008026200
87562655A5B24B   TOCHEYONA        JONES                    KY     90014336550
8756289A96194B   CARRIE           RODRIGUEZ                CA     90011698909
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1366 of 2350


875633AA877537   RONALD           DRIVER                   NV     90009853008
8756435697242B   MELANIE          SANNER                   PA     90014733569
87564528672B46   GERARDO          RODRIGUEZ                CO     90011485286
8756475789154B   LETICIA          DOMINGUEZ                TX     75041027578
87564991672B29   DURAN            COFFEE                   CO     90007609916
87565186372B62   RAUL             SANCHEZ                  CO     33029751863
8756528875B27B   ROBERTO          BARTOLO                  KY     90011632887
8756592A371977   LOUIS            ORONA                    CO     90003939203
87567288A5B183   PORFIRIO         CANALES                  AR     23088442880
87567755A97B38   MARIA            LECHUGA                  CO     90006907550
8756798465B24B   TAQUANDA         KIRBY                    KY     90012359846
87567AA6351341   KRISTINA         NORTHGARD                OH     90014720063
87568533772B29   ANDREA           ARGUELLO                 CO     33014975337
8756853AA71977   GREGORIO         URBINA                   CO     38033005300
8756861A472B44   OSCAR            GUERRA                   CO     90010236104
8756874A672B62   DARIO            VALDEZ                   CO     33095497406
8756897959154B   CESAR            AMENDOLA                 TX     90014729795
8756918597B421   ERIKA            RODRIGUEZ                NC     90009831859
8756939815B139   KELLY            GREENE                   AR     23078683981
87569A32997B38   TINA             MARTINEZ                 CO     90014870329
8756B3A993B382   GRANT            ADKINS                   CO     90012483099
8756B588871977   PATRICK          LAFEBRE                  CO     90015155888
8756B654191979   CALVIN           BLACK                    NC     90007556541
8756B67514B53B   ARETHA           WILLIAMS                 OK     90008756751
8757159A691837   TRAVIS           DELP                     OK     90007645906
8757189484B54B   VICTORIA         MONTOYA                  OK     21591688948
87571A79A9376B   SHELICA          BROOKS                   OH     64572470790
8757277463B329   TREGETTE         OLSON                    CO     90011437746
875729A8A5B183   JENNIFER         GRAY                     AR     23026059080
87572AA4972B62   ARELI            ACOSTA                   CO     90000290049
87572AA6351341   KRISTINA         NORTHGARD                OH     90014720063
8757389A891975   CARLTON          JEFFREYS                 NC     90012788908
87573AA9651341   PAIGE            MARTIN                   OH     90014720096
87574297A5B183   TOD              BILLINGS                 AR     23001842970
87574374772B46   DAVID            FINTZEL                  CO     90004363747
8757455133B358   LEROY            GARCIA                   CO     33085655513
87575129372B29   DANNY            MARTINEZ                 CO     90012501293
87575467A72B33   CARMELO          LOPEZ                    CO     33084434670
87575858A5B326   ASHLEY           TRAPP                    OR     90014538580
87575936997B38   DANIEL           MONTEZ                   CO     39008749369
875765A1A4B22B   REBECCA          DEPLANTY                 NE     27008765010
87576A21851341   RUSS             PETERS                   OH     90014720218
87576A27272B44   SHANTEL          GIBBENS                  CO     90010510272
87576A37633698   KIMBERLY         WICKER                   NC     90002370376
8757759189154B   SANDRA           PEREZ                    TX     90014695918
8757784669152B   ERIKA            AGUILAR                  TX     90005888466
87577959172B62   DERMA            PORTILLO                 CO     90013659591
87577A3A25B254   AMANDA K         LINK                     KY     90006130302
87578298997B3B   TYANNA           BECK                     CO     90015172989
8757843315B326   ESTHER           SANDOVAL                 OR     44517644331
875798A525B326   ZACH             SULLIVAN                 OR     90013798052
87579A95172B44   KIRK             PHILLIPS                 CO     33092110951
8757B14245B183   ASHLEY           FERGUSON                 AR     90014641424
8757B174172B46   BALVINA          RETANA                   CO     33015071741
8757B45544B22B   MARJORIE         KANTOR                   NE     90014134554
8757B559A93771   KENDRA           DAWN LANE                OH     90012915590
87581285172B46   ROBERT           SIMS                     CO     90013132851
875817A2972B44   T                LOPEZ                    CO     90006657029
875819A2172B29   GERALD           MARTINEZ                 CO     33013489021
875822AA39152B   CHRISTINA        IBARRA                   TX     90015112003
875823AA38B168   BIANCA           DELGADILLO               UT     90013333003
87582A58772B62   MARY             JONES                    CO     90014190587
8758311569152B   ANDREA           GARCIA                   TX     90007961156
87583652A41275   NOREEN           HARVEY                   PA     51097846520
87583775872B46   DONNA            GORDAN                   CO     90004047758
8758454666194B   MARIA            GASTELLU                 CA     46083295466
8758475A38B168   ELENIT           BAZAN                    UT     31034317503
875849A9A71977   COREY            FAVORITE                 CO     90012989090
875851A5472B29   ANGELO           SONS INC.                CO     33010151054
87586231A72B29   DORA             MARTINEZ                 CO     90000162310
8758693279154B   MARGARITA        PINEDA                   TX     75054319327
87586A41361928   SUSANA           ESPITIA                  CA     90014070413
87586A62951341   JENNIFER KELLY   BLICK                    OH     90014720629
8758713319152B   GILBERT          FLORES                   TX     75087381331
87587A47672B46   MYNOR            SANCHEZ                  CO     90010230476
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1367 of 2350


87587A88491979   JACKSON      RUDDER                       NC     90012570884
87588493772B46   DOROTHY      BACK                         CO     90013244937
8758872A651591   GEBREHURT    GABREHWOT                    IA     90012547206
87588784772B62   HECTOR       BARAHONA                     CO     90006847847
87588A74351341   REGINA       BROWN                        OH     90014720743
8758918295B183   MICHELLE     YOUNG                        AR     90014641829
87589465A72B46   HEATHER      WILSON                       CO     90014784650
87589991972B62   COREY        FONTENOT                     CO     90014829919
8758B26639152B   FERNANDO     ZAPATA                       TX     90014772663
8758B836972B29   RODNEY       MORTON                       CO     33033898369
8758B924357125   JAIRO        BONILLA                      VA     90006349243
8758B95995B326   AMBER        CAVENDER                     OR     44568199599
8759156A572B44   MARISELA     CASTILLO                     CO     33089285605
8759167366194B   JESUS        CRUZ                         CA     90012856736
87591915772B33   TAMMY        GARCIA                       CO     33021009157
8759216196194B   RUBY         DEVINE                       CA     90007571619
875922A395B183   WILLIAM      GILLIAM                      AR     90014642039
875922A9972B44   BRITTANY     PRIDGEN                      CO     90013942099
8759263125B379   JOEY         WHITT                        OR     90011106312
8759274679154B   LINDA        VAZQUEZ                      TX     90011277467
87592A29172B44   JOSEPH       AVILA                        CO     90010510291
875934A3277537   DIANA        PEREDA                       NV     43081984032
875935A5241275   MAXWELL      PETERS                       PA     90011235052
8759445A471977   LATISHA      ARMIJO                       CO     90014494504
8759528852B94B   ERMA         FREGOSO                      CA     90012672885
8759631699152B   JESUS        NEVAREZ                      TX     90007973169
8759712A693771   CANDICE      BRUNDEGE                     OH     90007931206
87597314397B38   TINO         RODRIGUEZ                    CO     90001973143
875975A125B24B   RICKY        WATKINS                      KY     90013595012
8759791355B255   MARIA        EDELEN                       KY     90002929135
875984A545B326   CAROL        HELVEY                       OR     90010094054
87598559198B34   FRANK        ADAMS                        NC     90015095591
875986A7147897   SHANTEE      LOCKEET                      GA     90009326071
87598739972B29   TEANIQUE     BLAIR-DAVIS                  CO     33085257399
8759874619152B   MICHAEL      PEET                         TX     75013887461
87599243A57531   BRENDA       MARTINEZ                     NM     90013952430
87599851772B62   FRANCISCO    CORDOVA                      CO     33011068517
87599A9918B168   WENDY        KEBLIS                       UT     90013290991
8759B329997B3B   RHONDA       BRASWELL                     CO     39005233299
8759B38615B17B   LUIS         POSADAS                      AR     90002163861
8759B655A51382   HOWARD       FROMAN                       OH     90015206550
8759B84954B554   PAULETT      GREGG                        OK     90011608495
8759B8AA377537   MARIA        FIGUEROA-GARCIA              NV     90013538003
8759BA89297138   ROSA         RANGEL                       OR     90008560892
8759BA97A93771   PERMESIA     SLEDGE                       OH     90014330970
875B126A497B3B   JUSTIN       DARCY                        CO     90001822604
875B183A393771   ROBERT       BUREL                        OH     64566888303
875B189347B389   JOSE         FLORES                       VA     81041518934
875B224446194B   TERESA       SANCHEZ                      CA     90008062444
875B22A9A97B38   SILVIA       FRANCO                       CO     90013322090
875B2413A41275   AMULA        BROOKS                       PA     51039354130
875B2814A72B33   JESSICA      CLAIR                        CO     90011308140
875B294A791975   TAMIKA       STEWARD                      NC     90009179407
875B3347572B46   MARIAN       DRAPER                       CO     33054093475
875B3467A47897   LITICIA      SMITH                        GA     90011104670
875B3485976B65   KEN          HERSHEN                      CA     90003884859
875B353635B183   ERICA        BEARFIELD                    AR     90003045363
875B362588B168   MELISSA      KEEGAN                       UT     90011896258
875B3935461928   STACEY       ADAMS                        CA     90013769354
875B4127697138   ESTHER       MARTINEZ                     OR     90003481276
875B444589152B   GILBERT      MARTINEZ                     TX     90014684458
875B4728691837   NICHOL       DAVIS                        OK     90011397286
875B4756272B44   RENEE        SANDOVAL                     CO     90001267562
875B4889771977   GARY         SANCHEZ                      CO     38007048897
875B4999847897   TONY         WILLIS                       GA     90014179998
875B51A9191837   JACK         WILLIAMSON                   OK     21054391091
875B537984B22B   JOSE         LUCERO                       NE     90012913798
875B553286194B   JAINA        VASQUEZ                      CA     46085395328
875B5739151341   SUSAN        GREEN                        OH     66042717391
875B6122A9152B   ERIC         BRAVO                        TX     90009521220
875B694924B546   BRANDI       BRIDWELL                     OK     90010949492
875B7154191979   KATHRYN      AMIR-HAKIM                   NC     90013061541
875B72A3797B3B   GREGORY      SAUNDERS                     CO     90011862037
875B795249154B   JUAN         ANDRADE                      TX     90014409524
875B818735B326   GINAMARIE    SIMPSON                      OR     90001031873
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1368 of 2350


875B829A472B46   LAURA        QUEZADA                      CO     33030562904
875B835636194B   ELOY         PEREZ GONZALEZ               CA     46062003563
875B8946451341   MICHAEL      ROCHESTER                    OH     66061529464
875B939A372B46   SHARA        JARAMILOO                    CO     90007643903
875B967325B24B   VEDA         HARRIS                       KY     90003436732
875B99A1991837   JULIO        LOPEZ                        OK     90013969019
875BB857361928   ALEXANDRA    ZAPATA                       CA     90012748573
87611A6369152B   CARLOS       LIMAS                        TX     75042120636
87612225A9188B   SAMANTHA     HASHAGEN                     OK     90010362250
87613914472B29   STEFANIE     OLSON                        CO     33052529144
87613972A51325   SAMANTHA     MATHES                       OH     90006889720
87613992A5B27B   LOGAN        NAVARRO                      KY     90006979920
8761478A75B17B   DON          MANESS                       AR     90010937807
8761617448B168   KANDIS       SCHWARTZ                     UT     90004041744
876165A4261928   IZZY         ORNELAS                      CA     90010625042
87617481672B46   ALEJANDRO    CORRAL                       CO     90013954816
87617AA9A72B44   JOEY         SANTISTEVAN                  CO     90014860090
87618173697B38   SOCORRO      MONRIQUEZ                    CO     90009151736
87618234697B3B   ELDA         ORNELAS                      NM     39082482346
87618461772B46   ALEJANDRO    CARDONA                      CO     90013954617
87618A43572B33   MONICA       LUCERO                       CO     90009850435
87619A18672B46   NYREE        MORGAN                       CO     90007320186
87619A3348434B   KAREN        PALMER                       SC     90011410334
8761B189961928   RICKY        CURA                         CA     90012281899
8761B489247897   TOMICIA      DAVIS                        GA     90014784892
8761B745672B33   JUAN         VALLE MACIEL                 CO     33005907456
8761B75514B22B   NICOLE       DIECKMANN                    NE     90013697551
8761B994991837   CHIANTI      CURRY                        OK     90013969949
8762121644B22B   GLADYS       FELIPE-PEREZ                 NE     27097312164
8762122189154B   JESUS        OLMOS                        TX     90009152218
87621253397B3B   BULMARO      RODRIGUEZ                    CO     90013712533
8762192255B24B   TAVARES      PRICE                        KY     68090789225
8762233819152B   IRMA         SOLIS                        TX     90010623381
8762246A841275   CYNTHIA      BUZZELLI                     PA     51074654608
8762257145B326   DANIEL       HAMILTON                     OR     90014625714
87622872772B29   ELIAS        VASQUEZ                      CO     33063318727
87622A26291975   MELVIN       MORALES                      NC     90012800262
8762333345B24B   KENNETH      DUKE                         KY     90008403334
87623382A8B154   WES          ERICKSEN                     UT     90010553820
876235A235B326   BENJAMIN     SANCHEZ                      OR     90010375023
87623996A5B24B   KENNETH      MATTINGLY                    KY     90014679960
87624367A91979   TREVOR       GORMLEY                      NC     90014863670
87624552597B38   ANNA         G REVITIA                    CO     90007995525
87624935A9154B   JOSE         VASQUEZ                      TX     90014749350
87624A16177537   ALICIA       PUGA                         NV     43081050161
8762512535B594   AIMEE        LOPEZ                        NM     90008751253
87625298A51341   LEEVAUGHN    BALLEW                       OH     90014722980
8762627445B27B   MOLLY        BURKE                        KY     90013732744
87626751A6194B   LAURA        PACHECO                      CA     90014797510
8762731A16194B   TAMARA       BELCHER                      CA     90010053101
8762735915B326   FELIPE       PEREZ RAMIREZ                OR     44585093591
8762742A477537   PAULA        MULLINS                      NV     90014804204
876282AA572B29   JENNIFER     ARNOLD                       CO     33091262005
8762878919154B   RICHIE       DNIRO                        TX     90014557891
876287A4772B44   PATRICIA     TERRAZAS                     CO     33022107047
8762897995B326   CHRISTINA    POTTER                       OR     90000219799
8762925A591951   DAWNQUITA    WILSON                       NC     90010612505
87629998772B62   SALVADOR     AVILA ARROYO                 CO     90012419987
8762B26855B24B   EDWERS       POWERS                       KY     90014012685
8762B689172B46   DEBBIE       PADILLA                      CO     33003716891
8762B847484356   ALESHA       BROWN                        SC     90006088474
8762BA3449154B   MICHAEL      ABEYTA                       TX     90014050344
87631466272B46   RUBEN        GURROLA                      CO     90013954662
8763219654B259   CAROL        LUDWICK                      NE     90003721965
8763245375B183   NORVELL      WILLIAMS                     AR     23094754537
876324A2397B3B   ALLIE        TREES-KEENAN                 CO     90010294023
8763332165B183   EBONE        STANTON                      AR     90014643216
8763359125B275   SAMATHA      BALLARD                      KY     90013005912
8763362636194B   ALEJANDRIN   LEYVA                        CA     46046966263
87633654272B62   BUFFI ANNE   YOUNG                        CO     90014336542
87633925A72B29   RAYMUNDO     VELASQUEZ                    CO     90002219250
87634467372B46   JASMINE      JONES                        CO     90013954673
87634522772B29   BELKIS       CASTRO                       CO     90007035227
87634643997B38   ADOLFO       RIZO                         CO     90012786439
8763469963B34B   QIANA        EMERY                        CO     33011776996
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1369 of 2350


876353A558B154   JAMES                  SCHMIDT            UT     31006063055
8763543A34B22B   JOHN                   SMITH              NE     90014694303
8763549416194B   BIVIANA                FLORES             CA     90006454941
8763567789152B   DENISE                 CALLENS            TX     90005276778
87635779472B44   SHALAMAR               BOBIAN             CO     90013627794
8763612A29154B   JOSE                   FRANCO             TX     90013381202
87636155A8B168   SERGIO                 GUARDADO           UT     90013511550
87636213272B29   SHANTE                 GIPSON             CO     90015072132
876372AA38B131   JEFFERY                GUYMON             UT     90013902003
8763735918B168   NANCY                  LANDE              UT     90010403591
8763749416194B   BIVIANA                FLORES             CA     90006454941
87637573372B33   VINCENT                KELLNER            CO     90013765733
876379AA197B38   BRANDON                RIVERA             CO     90014939001
87637A5A961928   DANIEL                 ESCARCEGA          CA     46045510509
87638597297B38   ANTHONY                CHAVEZ             CO     90013485972
87638599A72B33   BAUTISTA               SANCHEZ            CO     33058525990
8763881385B326   EDUARDO                ROMERO BRAVO       OR     90013038138
876389A5191975   ANGEL                  TORO               NC     90013019051
87639256372B44   SEAN                   EVANS              CO     90009082563
87639483572B29   FRANCO                 RASCON             CO     33077444835
8763B842A9154B   DELACRUZ               JACOBETH           TX     90011278420
8763B929797138   ALBERTO                SOSA               OR     90000249297
87641415A8B154   STACY                  SANSONE            UT     90010554150
8764176995B183   MARGARET               HOOD               AR     23076417699
87641A71671977   JULIE                  ROMERO             CO     90013340716
87642998997B38   JASMAN                 SALAZAR            CO     39037979989
87642A2924B22B   DARNESSA               LOWERY             NE     90011180292
87642A7875B326   DAVID                  AYALA              OR     90005130787
876433A1972B44   JEFFERY                LLOYD              CO     90004923019
87643649897B3B   JOSE                   LALBA-ARRIAGA      CO     90013026498
8764378539184B   NATASHA                ERVIN              OK     90012467853
8764463425B24B   MARLENE                STILLWELL          KY     68085726342
8764529945B24B   GARY                   MURPHY II          KY     68060642994
87645332697B3B   ANA                    DOMINGUEZ          CO     90015173326
87646A4119376B   ROBERT                 THOMAS             OH     64592090411
87647316972B62   NATHAN                 RIVERA             CO     33034953169
8764733925B183   KEISHA                 FULMER             AR     90014643392
87647752472B33   ARBENI                 OWENS              CO     33009927524
87648757972B29   SHAWNNA                DURHAM             CO     33090417579
8764913823B942   TABITHA                ULBERT             IA     90013841382
876492AA72B981   ALEJANDRA              CUEVAS             CA     90011522007
8764933925B183   KEISHA                 FULMER             AR     90014643392
8764954A297B38   CATHY                  STEWART            CO     90005025402
8764969555B24B   TEMPEST                WATKINS            KY     90001446955
8764B324A5B183   CHRISTOPHER LATRESHA   POINTER FRANKLIN   AR     90014643240
8765127335B183   WAYNE                  WRIGHT             AR     23005542733
8765146339152B   SONIA                  ROBLES             TX     75058504633
87651471572B33   JODY                   CASTRO             CO     90013784715
8765181A291837   DORIS                  LONG               OK     90013838102
876518A4A93771   ASIM                   PASHALIYEV         OH     90012168040
87652A81897138   ANDREA                 PINEDA             OR     90014180818
8765437199154B   GEMINIE NICOLES        RUBIO              TX     90013023719
87654787272B62   RASHAD                 JAMAL-GORDON       CO     33008577872
8765481454B22B   KIYA                   FOSTER             NE     27026248145
87654A5A276B65   LISA                   VAN WESTERHUYZEN   CA     90005590502
87654A94397138   SARAI                  ROJO               OR     90015100943
876553A8771977   DENISE                 BERMUDEZ           CO     90007363087
8765613264B27B   ELIZABETH              LOPEZ              NE     27015431326
876562A364B22B   DARIAN                 KNOWLES            NE     90011892036
876564A1141275   KARMELL                HARRIS             PA     51000604011
8765658398B168   MARIA                  RODRIGUEZ          UT     90008585839
8765671479154B   ERICK                  FRAYRE             TX     90013277147
87656822172B62   TERESA                 CHAVEZ             CO     33016288221
8765694713365B   KRISTA                 SIMMONS            NC     90000609471
876578A8997B3B   JUAN                   AGUILAR            CO     39082898089
87657A22951362   TANYA                  HALL               OH     90012550229
87658169472B44   JOANA                  ANCHONDO-CAMPOS    CO     90012631694
87658464572B62   PAMELA                 SIMONEAU           CO     90010164645
87659294A9154B   ELENA                  MISQUEZ            TX     75035072940
8765942885B24B   DIONISBEL              HERNANDEZ          KY     90014174288
876598A6677537   ANNA                   DAVIS              NV     90015088066
8765B161697138   MIRNA VIANEY           MAGANA HUERTA      OR     90015101616
8765B176397B3B   BRITTANY               RIHN               CO     90007741763
8765B28895B24B   BROOKLYN               HEITZMAN           KY     90011392889
8765B31835B326   PAULA                  FAUSTO             OR     90013963183
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1370 of 2350


87661292197B3B   MASON                 KILBURN                         CO   90011552921
8766143659152B   JOSE                  DUARTE                          TX   90012194365
87661587172B33   EDGAR                 LINARES                         CO   90005295871
87661864172B44   TERESA                BERENS                          CO   90012208641
87661874872B33   GENERAL MAINTENANCE   SERVICE LLC                     CO   90013428748
8766187869154B   LUIS                  URIAS                           TX   90011278786
876623A4971977   PATRICK               GONZALES                        CO   90015033049
87662481872B46   NICK                  KEEN                            CO   90013954818
8766279378B168   MICHAEL               QUINTANA                        UT   90014527937
87662A68671977   STEVEN                PARKER                          CO   38096850686
87663446A81538   BETH                  LITTLE                          IL   90015444460
8766365655B27B   MIKE                  MONAHAN                         KY   90012136565
87663835272B46   PERLA                 VASQUEZ                         CO   90003838352
8766398184B22B   MARGARET              SCHNELLE                        NE   27026249818
8766417A191558   RICARDO               HERNANDEZ                       TX   90006101701
87664A79497B3B   CHRIS                 DAVIS                           CO   90009220794
87665892672B46   JOHN                  MEYER                           CO   90014698926
876659A2447897   CHIQUITA              BLAIR                           GA   90014869024
8766618362B271   MICHELLE              JOHNSON                         DC   81017511836
876663A2993771   ASHLEY                BARROW                          OH   90013993029
876664A565B183   ERIC                  TERELL                          AR   90014644056
87666A29697B38   JERRY                 GOMEZ                           CO   90010960296
8766718362B271   MICHELLE              JOHNSON                         DC   81017511836
8766777566194B   FELIX                 GONZALEZ                        CA   90014817756
87668356A9152B   RAY                   SILVA                           TX   75054833560
87668A5458B168   NICOLE                SIMPER                          UT   90013910545
876695A5691979   RACHEL                WHITE                           NC   90007365056
8766972779152B   RALPH                 VELAZQUEZ                       TX   90014847277
87669769572B46   MICHAEL               LUCERO                          CO   33062277695
87671613A9154B   MIGUEL                FLORES                          TX   90001826130
8767219365B326   EVELIA                MORALES SANCHEZ                 OR   90009021936
8767221715B183   LACHER                ROCKINS                         AR   90013122171
87672325176B65   GABINA                GUZMAN                          CA   46063303251
87672899772B29   TOMAS                 GALVAN                          CO   90010368997
87672A41891975   CORY                  SPINKS                          NC   90014700418
8767346694B22B   YANNICK               AKPADJI                         NE   90012454669
87674811272B46   JOSE                  MORELOS                         CO   33054018112
87674A1A741262   JEFFREY               WILLIAMS III                    PA   51080820107
8767551A55B183   CONNIE                ROBY                            AR   23003285105
87675A3A493771   JOE                   TANIS                           OH   90005500304
8767721718B154   DEBORAH               HUNT                            UT   90011532171
8767746A184347   DAVID                 GRIFFITH                        SC   90002154601
876774AA172B87   DANIEL                MCCALEB                         CO   33068494001
8767772779152B   RALPH                 VELAZQUEZ                       TX   90014847277
8767794665B326   LIDUVINA              ZAMBRANO                        OR   90013609466
87677A45141275   RICHARD               JAMES                           PA   51020340451
8767863438B168   TONY                  GRIJALVA                        UT   90002756343
87678795872B46   NORMA                 RODARTE                         CO   33016667958
87678A1895B24B   SUREE                 CLARK                           KY   90002810189
87678A78371977   GLORIA                GOMEZ                           CO   38032760783
8767B2A559152B   VICTORIA              JUAREZ                          TX   90001062055
8767B7A9871977   CHRISTOPHE            PACHECO                         CO   90001077098
8767B952141275   JAMES                 PSCHIRER                        PA   51081549521
8768145975B27B   BONNIE                OKEEFE                          KY   90002244597
87681A43591979   BARBARA               MASTERS                         NC   90012670435
8768239878B154   LUCRECIA              ACUNA                           UT   90006723987
87682A2439154B   ALBERT                ROMERO                          TX   90014100243
8768317289152B   MARIA                 TARANGO                         TX   90013551728
8768324675B326   GUADALUPE             PEREZ                           OR   90011152467
87683344A5B24B   TARA                  PRICE                           KY   90012863440
8768387718B168   MICHELE               ORENO                           UT   90012038771
87684A68497138   DORA                  ALIJANDRO                       OR   44065600684
8768545289154B   JESSEY                EVANS                           TX   90010734528
8768568883163B   MANDY                 BRIMER                          KS   90012266888
8768579289152B   SANDY                 LOPEZ                           TX   90002147928
8768581A172B46   MOORE                 TAMIKA                          CO   90011338101
8768729455B24B   SILVIA                CARONLINA VELASQUEZ SAGASTUME   KY   90015332945
876877A8151341   LAVON                 RUSSELL                         OH   66065357081
8768783A372B33   DANIEL                GALLEGOS                        CO   33064168303
87688228272B33   JUANA                 SAUCEDO                         CO   90010402282
87688868A97138   TINA                  SAIS                            OR   90014528680
8768945A161928   JENNIFER              ZARAGONZA                       CA   90014614501
8768B12A297138   KRIS                  ANDERSON                        OR   90013221202
8768B18555B334   JOSEPH                CRUZ                            OR   90001111855
8768B568893723   TONY                  SANTAMARIA                      OH   90013635688
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1371 of 2350


8768B914897B38   MISTY              ANZALDUA               CO     90013399148
8768BA96997B38   FRANCISCO JAVIER   MARTINEZ               CO     90007330969
8768BAA5A47897   NATASHA            REESE                  GA     90014560050
87691165497B3B   LONNIE LEE         COMER                  CO     90011901654
8769153A37B36B   JOSE               HERNANDEZ              VA     81036095303
87691633872B46   MARCO              ESQUIVEL               CO     90011656338
8769171855B24B   DAWN               DUVALL                 KY     68046187185
87691795A93771   LAKIESHE           GREEN                  OH     90014537950
87691933972B62   HEATHER            DAGEL                  CO     90013979339
87691A9812B237   LATINA             THOMAS                 DC     81043070981
87691AAA547822   CHARLES            JAMES                  GA     14013400005
876922A3A5B326   SILVIA             RUIZ                   OR     90011472030
87692463A91837   KARINA             RODRIGUEZ              OK     90003574630
8769277314B22B   SHAMSO             ISAACK                 NE     90013797731
87693318772B62   ERIC               HOFFSCHNEIDER          CO     33096143187
8769361156194B   VICTORIA           SANCHEZ                CA     46047776115
87693691A33632   MARY               QUICK                  NC     90012936910
8769432379154B   YADIRA             VELASQUEZ              TX     90010213237
8769447515B326   CAROLINE           BROWN                  OR     90004174751
87694761272B46   URIEL              ESPINOZA               CO     90012647612
87694A48472B62   IVITA              COX                    CO     90012360484
8769541375B183   VICKI              WOMBEL                 AR     90010504137
8769578A151341   AUSTIN             LISA                   OH     90004987801
87695988A97138   ROSAURA            CRUZ HERNANDEZ         OR     44022179880
87695AA484B22B   JESSE              CHRISTENSEN            NE     27052840048
87696AA9191975   VALERIE            SILVERSMITH            NC     90012000091
87697281172B33   WILLIAM            ROCHE                  CO     33084832811
8769848A672B62   JEFF               BRESLIN                CO     90013774806
8769865A491975   QUANNESIA          THOMAS                 NC     90013606504
87698986A9154B   KELLY              DUCKETT                TX     90008859860
87699272172B62   ROBERTO            SAENZ                  CO     33052602721
87699774772B46   REBECCA            WOOD                   CO     90014497747
8769B515272B46   ANGEL              ZAMORA                 CO     90004955152
8769B65398B168   DROESBEKE          LLOYD                  UT     90013946539
8769B67755B24B   JOHN               ELDRIDGE               KY     90011326775
8769B9A6851341   PAYGO              IVR ACTIVATION         OH     90014729068
876B1482591838   TAMMY              ROY                    OK     90006434825
876B1516697B38   BLANCE             NUNEZ                  CO     90005785166
876B2482591838   TAMMY              ROY                    OK     90006434825
876B266A491979   MATTHEW            SIN                    NC     90014396604
876B2719791942   DEVAN              GREENE                 NC     90013247197
876B2971651336   JENNIFER           HUNT                   OH     90009259716
876B31A1641275   ALEXIS             HOOPER                 PA     90008371016
876B334838B154   ANGELA             HARDMAN                UT     31075923483
876B3543A61928   STEPHANIE          CASS                   CA     46087375430
876B37A945B921   PAYGO              IVR ACTIVATION         WA     90012967094
876B39A838B168   JACQUE             GOSLAND                UT     90014669083
876B3A8A691979   TERESA             COSS                   NC     90010530806
876B441369154B   JOANNE             LEUVANO                TX     90012374136
876B464249152B   JULIE              DIAZ                   TX     90009266424
876B473A891975   SHERRI             FREEMON                NC     17072647308
876B4857341262   MICHAEL            FERGUSON               PA     90012328573
876B51A5597B38   JAQUELINE          HERNANDEZ              CO     90013071055
876B5724172B62   ALMA               SANTOS                 CO     33097147241
876B5864591239   ROB                HENDERSON              GA     14555748645
876B5865454B81   ANGEL              ELLIOTT                VA     90015478654
876B6151671977   FRED               LEWIS                  CO     38007171516
876B6864591239   ROB                HENDERSON              GA     14555748645
876B6A37997B38   NOE                RODRIGUEZ              CO     90008000379
876B6A67A91975   JEANETTE           ALSTON                 NC     90013500670
876B7127751325   JONATHAN           WILLIAMS               OH     66037441277
876B7295697B38   OLIVIA             TOVAR                  CO     90009792956
876B7525593771   JULIA              MCADAMS                OH     90004815255
876B7A69172B29   MARIA-DOLORES      MONCADA                CO     90010630691
876B847235B24B   JAMES              BRUCE                  KY     90010294723
876B8683391979   NATALIA            MILLER                 NC     90012356833
876B9447A97B38   IRENE              NARANJO                CO     39018844470
876B9459572B46   SABINA             VALLES                 CO     90013954595
876B9738A6194B   BERTHA             HERNANDEZ              CA     90014797380
876B9987893771   LAJUAN             JOHNSON                OH     90009269878
876BB67AA72B29   RAMON              VILLALOBOS             CO     90012336700
876BB83176194B   SILVIA             MEDINA                 CA     46049718317
8771125A872B33   BRENDA             HILL                   CO     33028262508
877123AA89154B   ROBERTO            PENA                   TX     75051933008
8771241669152B   CRYSTAL            RODRIGUEZ              NM     75090454166
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1372 of 2350


8771242795B326   JAVIER          ACOSTA MANDUJANO          OR     90003284279
87712642972B62   CHARLOTTE       SMITH                     CO     33042546429
87712A96591975   LAURA           LOGGEMAN                  NC     17094120965
87713A54297B3B   CHRISTOPHER     MERTENS                   CO     90012420542
8771462599152B   FLORES          CYNTHIA                   TX     75064226259
87715A38397138   COURTNEY        GIROD                     OR     90007850383
87716779497B3B   ROSANA          HERNANDEZ                 CO     39079677794
87717262672B29   SHARON          MCGOVERAN                 CO     33085572626
87717962197B38   LINDA           ANZIANO                   CO     39028579621
8771836229154B   MARIA           GARCIA                    TX     90014763622
87718721572B46   MARIA           MORALES                   CO     90012727215
8771893838B154   DAKOTA          LARSEN                    UT     31036299383
8771921A65B24B   TASHANNA        BOLDEN                    KY     90006932106
8771989949152B   ERICK           ESTRADA                   TX     75007218994
8771997567B425   CHARMAINE       MCILWAINE                 NC     90013859756
87719A91351362   LUIS            CRUZ ORTIZ                OH     90006150913
8771B38919154B   VERONICA        JARAMILLO                 TX     75038183891
8771B81426194B   MICHELLE        WEBB                      CA     90014818142
87721193472B46   DIMAS           JULCARIMA                 CO     90014881934
8772149A25B326   KARINA          OMPAD                     OR     90010114902
877218A316194B   FELICIDAD       DECASTRO                  CA     46059858031
87722136472B62   SHELLY          GOMEZ                     CO     33068091364
87722377A8B154   VANITA          OSBORN                    UT     31093473770
8772244739152B   KRYSTLE         MUNOZ                     TX     90005614473
877224A2972B29   OLIVIA          WHITEHURST                CO     90012084029
87723239572B62   TRACY           BOOKER                    CO     33070232395
87723389997B38   ROSARIO         LUNA                      CO     90013393899
8772362A472B29   JAMES           RICHARDSON                CO     90001896204
8772365AA97138   CECILIA         CASTELAN                  OR     90001636500
8772369962B271   JOSE            ALVAREZ                   DC     81057316996
8772418A34B22B   ROSEMARIE       JUAREZ                    NE     27042541803
8772497515B24B   NELLIE          POWERS                    KY     90013999751
8772538279154B   ADRIAN          BRABO                     TX     90013023827
87725652372B46   DANIEL          WEDDING                   CO     33082906523
8772578A697138   RODRIGO         DELGADO                   OR     44085007806
8772586599154B   MONICA          GUTIERREZ                 TX     90009298659
8772652535B183   ELMER           HOLLOWAY                  AR     90011365253
8772732569152B   JOSEFINA        COGHILL                   TX     75070513256
8772858A39152B   PATRICIA        CANGAS                    TX     90014015803
877285A3872B29   ROGELIO         SANCHEZ                   CO     90005565038
8772861145B24B   KIMBERLY        DAVIDSON                  KY     90012506114
87728726972B46   NATALIE         ROSALES                   CO     90012727269
8772879768B154   FREDD           SANCHEZ                   UT     31093397976
87728A15772B44   JUAN            MANUEL                    CO     33018210157
87728A7778B168   ALEX            VELASQUEZ                 UT     31057200777
8772919547B448   FELICIA         GASTON                    NC     11003991954
8772958A69152B   AURORA          ESCOBAR                   TX     90014925806
87729A7A797B3B   SIERRA          WINTERS                   CO     90006220707
8772B228571977   MAGGIE          RAMIREZ                   CO     90001542285
8772B714972B44   ANTONIO         BORUNDA-FIERRO            CO     90002307149
8772B854971977   AIOTEST1        DONOTTOUCH                CO     90015128549
8772BA5655B326   ELODIA          PEREZ                     OR     44532040565
87731429172B46   BEATRICE        TUSAMBE                   CO     90011784291
87731923A97B38   JEFFREY         GREEN                     CO     39077689230
87731AA8872B44   JEFFREY         TAYLOR                    CO     90011600088
87732498272B46   JORGE OSVALDO   LUNA                      CO     90013954982
8773342859152B   GERMAN          SAENZ                     TX     90014934285
877341A725B59B   HOLLY           GILSTER                   NM     90008381072
87734259A5B326   ORSEN           RAIN                      OR     90011942590
87734453397B3B   TAYLOR          MINKLER                   CO     39055714533
8773455726194B   CAROLINA        MARTINEZ                  CA     90013125572
87734A1145B399   KATHLEEN        MILLER                    OR     90003960114
87735366272B46   EMILY           LIEBETRAU                 CO     90013653662
87736413572B33   ENEDINA         SILVA                     CO     90012774135
8773666578B168   JEREMY P        PITTS                     UT     90003586657
87736788A5B921   JAYDEN          BENNETT                   ID     90014557880
877367A9441275   KEVIN           FUQUA                     PA     90010517094
87736A15697B3B   KAYLA           KLINKER                   CO     90014760156
877378A256194B   JOSUE           ARMENTA                   CA     90014438025
877378A4A9152B   ALFONSO         FERNANDEZ                 TX     75001628040
87737AA2572B44   MICHELLE        GUTIERREZ                 CO     90014590025
8773814AA5B24B   REGINA          BLACKBURN                 KY     68073601400
8773829895B27B   MARSHELLE       JONES                     KY     90008972989
8773862A79152B   JUAN            BADILLO                   TX     90012626207
87739357897B38   IGNACIO         GONZALEZ                  CO     90013603578
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1373 of 2350


877393A4297138   HUMBERTO     ZABEDRA                      OR     90013893042
8773B454247822   WILLIAMS     COLLINGS                     GA     90006724542
8773B832897B3B   MARK         PIERCE                       CO     90013058328
8773B8A4A93771   ASIM         PASHALIYEV                   OH     90012168040
8773B991791975   JEREMY       CAMPBELL                     NC     90011219917
87741518A51341   CYNTHIA      BRYANT                       OH     66085665180
8774168679154B   DORA         MORALES                      TX     75052476867
87741A19271977   JENNY        PONTES                       CO     90006570192
87742115A97B3B   AIMEE        ESTORGA                      CO     39054531150
8774374659152B   ARTURO       RUBIO                        TX     90011897465
87743886397B38   QUANG        EMERY                        CO     39095878863
877439AA991975   AUDO         MACEDA BAUTISTA              NC     90006059009
87744522497B38   DEON         HARRIS                       CO     39058905224
87744555A97B3B   LUIS         ROSALES                      CO     90014245550
8774463A661928   ALFREDO      VEGA                         CA     90012996306
87744782A9152B   CYNTHIA      AGUIRRE                      TX     75090817820
8774567A33B354   HECTOR       GOMEZ                        CO     90003356703
8774649799152B   JAVI         ANDRADE                      TX     90004754979
877483A1A33698   SHARON       HOPKINS                      NC     90001563010
877483A4172B33   ELIZABETH    SANCHEZ                      CO     90007973041
877483A515B326   TYLER        ANDERSON                     OR     90007553051
87748844A9154B   ROGELIO      HOLGUIN                      TX     75058008440
87749314A5B24B   ZACHARY      ANDERSON                     KY     90004573140
8774933632B271   NEKITA       ROBINSON                     DC     81017543363
8774954844B22B   SANTOS       GARCIA                       NE     27003795484
8774983466194B   MICHELLE     WEBB                         CA     90014818346
87749A16A72B46   DANIEL       MANTZ                        CO     90013970160
8774B542997B3B   CARMEN       GAYTAN                       CO     39016315429
8774B69366194B   ROBERT       RICOY                        CA     90014796936
8775137389152B   MARIA        MINJARES                     TX     75093413738
8775173614B22B   TYRHONDA     TIBBS                        NE     27097667361
87751A38397138   BIRME        KALMEN                       OR     90014490383
87752211872B44   MARIA        PINON                        CO     33096242118
87752387672B33   MARIA        SOTO                         CO     90006063876
8775256916194B   MARIO        DELGADILLO                   CA     46009085691
87752673A97138   BONNIE       BROWER                       OR     90010426730
8775284385B24B   DOROTHY      GOLDEN                       KY     68060558438
8775297A797B3B   SANDRA       SALINAS                      CO     90014769707
87752986A72B29   MARIE        BEASLEY                      CO     33030439860
87752A62947897   JERIESHA     BRANTLEY                     GA     90014560629
87753896A77537   BETTY        JOHNSON                      NV     90013198960
87753A9A891979   TYMLESHA     MORRIS                       NC     90013490908
87754114597B3B   ALEXIS       RAMSEY                       CO     90003891145
8775417825B183   TKEYAH       YARBROUGH                    AR     90014651782
8775443AA5B326   FRANCI       MEDINA                       OR     90009984300
87754954754B4B   DERRICK      ROWLAND                      DC     90013369547
87754AA3572B54   LESLIE       MASDIN                       CO     90006540035
87756578497B38   MELISSA      ORTEGA                       CO     90014765784
87757338272B46   JANETH       MARTINEZ                     CO     33011933382
8775766572B236   TIM          HENNIGAN                     DC     90005796657
877576A872B271   CONSTANTIN   MERINO                       DC     81017546087
87757A12272B62   CHRISTIAN    QUEZADA                      CO     90013190122
8775833658B154   KENNEN       CLUFF                        UT     31052633365
87758386572B29   ROSLYN       MARTINEZ                     CO     90012613865
87758626572B31   VICTORIA     SIMPSON                      CO     33028696265
8775864825B27B   TONYA        VINCENT                      KY     90012636482
877595A2172B46   CARLOS       PEDROSA                      CO     90013955021
877595A755B326   DEBBIE       GIGEAR                       OR     44548415075
8775983775B24B   DEANNA       QUINN                        KY     68017928377
8775989A891979   JERMAINE     BLUE                         NC     17085568908
87759A28391975   ALMALIK      MAGWOOD                      NC     90014750283
8775B246391979   AMY-MARIA    ALEXANDER                    NC     90014152463
8775B357A9152B   RAFIN        HENDERSON                    TX     90013653570
8775B3A3347897   MARGO        KING                         GA     14060883033
8775B59A25B326   JARED        SORENSON                     OR     90012555902
8775B83686194B   DONTE        BETTON                       CA     90014818368
8775B887491975   REBECA       RODRIGUEZ                    NC     90013618874
8776127A92B236   ANDREW       CAMPBELL                     DC     90009682709
8776234267B372   SANDRA       PERALTA                      VA     90010853426
8776235459152B   LAZARO       GARCIA                       TX     90013263545
87762633797B3B   ADAM         CLOW                         CO     39091806337
8776266A49154B   NORMA        MICHAELS                     TX     90015216604
877634A5372B44   ZAMIRA       PERLERA                      CO     33093424053
87763782772B33   MANUEL       CHAPOT                       CO     90009467827
8776384A991979   LESLIE       ASCENCIO                     NC     90012558409
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1374 of 2350


87763A6155B183   PHYLLIS        MONTGOMERY                 AR     23063300615
87763A68172B49   SERGIO         RODARTE                    CO     33097880681
8776438776194B   CINDY          CASTANEDA                  CA     90015093877
8776496152B271   MELODY         COLMAN BEY                 DC     90010859615
8776496339152B   ALEXA          GUERRERO                   TX     75040069633
87764A34891975   MARIA          REYES                      NC     90009670348
87765328272B62   HALI           SAMS                       CO     90012823282
87765596A41262   LEAH           CONWAY                     PA     51007495960
877655A5647897   KIMBERLY       BROADUS                    GA     90009985056
8776598225B183   KATHY          WOODSON                    AR     23083569822
877661A9777537   LEANNE         LONG                       NV     90015341097
8776665A197138   FLAVIA         RODRIGUEZ AGUILAR          OR     44045306501
87767614297B3B   KURT           REYNOLDS                   CO     90013316142
87767687A8B168   MICAELA        NIELSEN                    UT     90013656870
8776784669152B   ERIKA          AGUILAR                    TX     90005888466
87768177672B46   DAVE           LENNON                     CO     33073641776
87768AA6A9154B   EDUARDO        RAMIREZ                    TX     75073470060
8776922575B24B   KRISTOFFER     SANS                       KY     90014662257
87769A16A5B27B   DAQUISHA       SAMUELS                    KY     90001100160
8776B363371977   ANALUISA       SANCHEZ                    CO     38065213633
8776B594472B44   SEAN           MILLER                     CO     90013675944
8776B72A733698   REGINA         WEBB                       NC     90005837207
8776B914151341   TABITHA        HELTON                     OH     90001669141
87771397472B46   MARIA          LOPEZ                      CO     33088973974
8777192796194B   ELI            DUARTE                     CA     90004579279
87771A48651341   NIASIA         JOHNSON                    OH     90014730486
8777216A95B183   DAVID          ROBERTS                    AR     90014971609
877724A3772B44   JOSE           NORIEGA                    CO     33077994037
877726A839154B   IRENE          YANEZ                      TX     90001646083
87772783A5B24B   CRYSTAL        PRYOR                      KY     68054827830
87772AA1572B46   JOSE           SALAZAR BURCAIGA           CO     90004540015
87773442972B46   JONATHAN       MENDOZA                    CO     90011784429
87773A56451341   DAN            POLOHA                     OH     90014730564
8777431629152B   RICARDO        MENDEZ                     TX     75009773162
87775377797B38   JOEANGEL       GUZMAN                     CO     90013153777
87775467A91975   ERIN           JEFFRES                    NC     90013354670
87775A7126194B   CHRISTOPHE     BUONO                      CA     46013210712
8777646775B24B   WAYNE          JIN                        KY     90012244677
8777696A371977   MARILEE        SAMUELS                    CO     38080309603
87777137A4B22B   TIM            WILCOX                     NE     90009241370
87777837197B38   JILL           LACOUNT                    CO     39084588371
8777788535B326   MARCO          SAUCEDO                    OR     44538528853
87777A72A72B33   JUAN           TREJO                      CO     33015530720
8777862585135B   REBECCA        COATS                      OH     90012516258
8777927334B22B   MATIAS         VALASQUEZ                  NE     90011902733
87779626A41275   RAMON          CORNICK                    PA     90011236260
8777989246194B   DAVID          LEE                        CA     90014818924
87779A13871977   PATRICIA       ESPINOZA                   CO     90014100138
87779A26697B3B   JOSHUA         REYNOLDS                   CO     39068860266
8777B224377537   KARINA         ORELLANA                   NV     90012982243
8777B25A98B168   WILSON         ARTEAGA                    UT     90014552509
8777B417861492   JOHN           CITIZEN                    OH     90013884178
8777B591791975   MANUEL         GARRIDO                    NC     90015155917
8777B828257561   DOMINGO        MARTINEZ                   NM     35582318282
8777BA59441275   CAROL          PARKS                      PA     51074110594
87781546772B33   JONATHAN       WHORTON                    CO     33082125467
87781A51291975   EMILY          DENTON                     NC     90012660512
8778234238B168   RUBEN          SANCHEZ                    UT     90013093423
87782939972B46   RICHARD        BORQUEZ                    CO     90009229399
877829A396194B   TYANA          EPPERSON                   CA     90014819039
87783271A72B44   FRANCES        BRINDA                     CO     90011962710
8778327425B326   FERNANDO       PEREZ DIAZ                 OR     90012122742
87783279472B3B   RONALD         THORSTEN                   CO     33067392794
8778337A572B33   SYLVIA MARIE   AGUIRRE                    CO     90011293705
877845A6A72B46   STACEY D       AMBROSE                    CO     90013955060
87784681597B38   JUAN           FLORES                     CO     90013096815
877854A449154B   CLAUDIA        TORRES                     TX     90013024044
8778574325B17B   ANDRE          ROBINSON                   AR     23078637432
87785A22972B44   JISSICA        MARTIN                     CO     90011600229
87786988872B46   MAKISHA        GANT                       CO     90013969888
87787732572B46   JOSE           TREJO                      CO     90014817325
87787A35871977   KELLY          TORRES                     CO     90015140358
8778819898B167   RONALD         NEWEY                      UT     90013571989
877883A8297B38   ALEJANDRA      VALDEZ BURJA               CO     90013893082
87788A79872B62   RITA           PADILLA                    CO     90004520798
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1375 of 2350


8778925A65B183   BLAIR              KASERO                 AR     90014652506
87789933572B46   REGINA             SOLANO                 CO     33089329335
87789A8825B183   RODNEY             MOTON                  AR     90010510882
8778B287897B38   RAFAEL             VICENTE                CO     90014902878
8778B62237B491   LAVETA             CLEMENTE               NC     90004536223
8778B6A9197B3B   IRVIN              MARTINEZ               CO     39019896091
8779169A641262   SHARON             WRIGHT                 PA     51008066906
87791875A6194B   AMERICA            AGUILAR                CA     90011708750
87791A26561928   CHRIS              WEYDE                  CA     90000680265
8779282919152B   MARIO              TOVAR                  TX     75011358291
8779319425B326   COTY               STINEBAUGH             OR     90007341942
87793251297B38   ADELINA            RINCON                 CO     39003912512
8779388A197B3B   CHERYL             SMITH                  CO     90014238801
87793A22272B33   CYNTHIA            GERMANY                CO     33015730222
8779422AA9154B   CINDI              MONTEZ                 TX     90014542200
8779444429154B   CINDI M            MONTEZ                 TX     75078174442
87794461472B46   NICHELLE           WEISS                  CO     90011784614
8779559245B568   JOSEFINA           CASTRO                 NM     90011375924
8779591716194B   ANGELA             BERGHOUSE              CA     90011709171
8779632555B139   MARIA              BERMUNDEZ-VALADEZ      AR     90002913255
87796484197B38   ISAAC              MEDINA                 CO     90007074841
8779731565B24B   AMBER              CARTER                 KY     90014533156
8779738554B22B   LORA               ODELL                  NE     90008973855
877977A4972B44   PEDRO              MACEDO                 CO     33034257049
87797928397B38   JULIO              CARMONA                CO     90013669283
8779824555B139   BERNA              THOMAS                 AR     23055842455
8779937916194B   JORGE              DE JESUS               CA     90012763791
877994A334B22B   JOHN               MORRIS                 NE     90012134033
87799A95897B38   VICTOR             GARCIA                 CO     39036960958
8779B286A51362   AGUSTIN            MARTINEZ               OH     66013352860
8779B567272B33   XOCHITLT           RAMIREZ                CO     90007035672
8779B885297B3B   MARY               VASQUEZ                CO     90014328852
877B1115176B45   LORDES             DE LA CRUZ             CA     90009211151
877B1326193771   SMITH              SHONA                  OH     64592193261
877B2496597B3B   SEFERINO           CALIHUA                CO     90014454965
877B283A991975   MARTIAL            HODGE                  NC     90015218309
877B291979152B   ELLOA              PEREZ                  NM     75016559197
877B2972197B38   JESSICA            GARCIA                 CO     90014819721
877B31A7931449   TUAN               NGUYEN                 MO     90007311079
877B327124B22B   MARQUIESA          SUMMERS                NE     90013252712
877B3376872B33   EVELYN             JIMENEZ                CO     33084883768
877B35AA172B29   COLLEEN            ESPARZA                CO     33094845001
877B3716497B3B   MATILDA            BAUTISTA               CO     39072097164
877B372779152B   RALPH              VELAZQUEZ              TX     90014847277
877B39A6697138   SARAH              HANLON ROBBOLINO       OR     44024259066
877B4132272B46   ELIZABETH          BRISBANE               CO     90003671322
877B419A361928   JOSE               CORIA                  CA     90012281903
877B432332B835   LINDA              FREEMAN                ID     90012303233
877B4368172B29   CHRIS              RANDEL                 CO     90014643681
877B4382477537   MARIA DEL CARMEN   MARIACA-MELENDEZ       NV     90014213824
877B4412172B33   RICKEY             MALLARD                CO     90014524121
877B4491497138   CARTER             ERWIN                  OR     90014924914
877B463A451341   RICHETTE           LEWIS                  OH     90015146304
877B4719297B38   ADRIANA            AGUILERA               CO     90009987192
877B4779972B33   RICKEY             MALLARD                CO     90012877799
877B556A161928   ANDREW             HINOJOSA               CA     90015155601
877B56A9291837   FELECIA            GIBSON                 OK     90014626092
877B5853997B38   DEVLYN             ARAGON                 CO     39004878539
877B5A5875B24B   CARMEN             NUNEZ                  KY     90013930587
877B5A94471977   VALERIE            VELASQUEZ              CO     90014340944
877B6139672B29   RYAN               WHITING                CO     90012901396
877B617735B326   TERRY              DOTY                   OR     44597251773
877B668228B154   REBECCA            TIDWELL                UT     90010546822
877B6746497B3B   ARMANDO            TORRES                 CO     90009767464
877B6826872B44   ALI                ALSHIBLY               CO     90013858268
877B695A891975   PAYGO              IVR ACTIVATION         NC     90013039508
877B7239761939   JESUS              SALAS                  CA     90013482397
877B7825872B29   SEBASTIAN          CANO                   CO     90014918258
877B812115B326   TONY               KENASTON               OR     44560631211
877B8238872B33   LINDSEY            SMITH                  CO     33058832388
877B8542541275   ELIZABETH          DAVIS                  PA     51042975425
877B8684472B28   ROCIO              MENDOZA                CO     90008306844
877B8A51477537   JASON              GRIFFIN                NV     43079450514
877B8A79991979   CHARLES            BENNETT                NC     90015160799
877B976A28B168   MARIA              ARELLANO               UT     31071577602
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1376 of 2350


877BB1A415B183   ERIC         STONE                        AR     23091021041
877BB52265B243   BRANDY       CURTSINGER                   KY     90013555226
877BB717A6194B   LESLIE       STARK                        CA     90004927170
877BB886461928   ADRIAN       ALONSO CASTRO                CA     90013098864
8781132A69154B   SANDRA       SIDES                        TX     75052163206
87812231672B64   PHILIP       NUNEZ                        CO     90008072316
87812A32191935   SHAKAYLA     DAVIS                        NC     90012340321
87813119272B46   LEOBARDO     VASQUEZ FLORES               CO     90009861192
87813348A91979   DEIDRE       LEE                          NC     90014843480
8781343159154B   NANCY        VARGAS                       TX     90013024315
8781347AA72B46   SAMUEL       CHICO                        CO     90011784700
8781373586194B   LAMYONG      KETHKAN                      CA     90012767358
8781419A59154B   ERIK         VILLA                        TX     75036971905
87814356172B29   RANDY        ROMERO                       CO     33052393561
8781499895B24B   MICAH        PAYTON                       KY     68017129989
87814A22247897   BRITTANY     DENNIS                       GA     90010980222
8781515528B168   GINA         LUCERO                       UT     90011411552
8781563735B27B   KAREN        DRUIN                        KY     68057996373
87815AA265B326   RICH         WILSON                       OR     90012130026
87815AA6897138   ABIGAIL      CERVANTES                    OR     44096200068
8781636654B22B   CARLOS       CHAVOYA                      NE     27074083665
87816998572B62   JOSEPH       BACA                         CO     90010819985
87816A36491837   MELINDA      REYNOLDS                     OK     21075120364
87816A97461928   KELLY        JUDKINS                      CA     46049500974
87817641572B29   STEVEN       YATES                        CO     33005646415
87818149A91837   MARIA        GARCIA                       OK     90013971490
87818475397B51   SARAH        GALLEGOS                     CO     90013334753
8781855339154B   IRENE        LOPEZ                        TX     90013085533
8781963216194B   GIULIANO     DIFERRETTI                   CA     46044196321
8781965294127B   YVONNE       CURRY                        PA     51018236529
8781B243A91979   KEANTE       HUDSON                       NC     90013772430
8781B288177537   AARON        BROWN                        NV     43000592881
8781B519397138   DEBRA        CARROLL                      OR     90012575193
8781B556372B29   CORNELL      SCOTT                        CO     90014495563
8782146A872B33   CHRISTINA    GONZALEZ                     CO     90006864608
8782168445B24B   ELIZABETH    ALLEN                        KY     90012386844
87821A17A5B183   OLA          WARE                         AR     90010180170
87821A45A93771   CHRYSTAL     SCHROEDER                    OH     90010100450
87821AA7861928   DOLORES      LOMELI CLANCY                CA     90014040078
8782219595B17B   HECTOR       CELESTINO                    AR     23016971959
8782232A69154B   SANDRA       SIDES                        TX     75052163206
878226A5591979   GREGORY      BYRD                         NC     90013646055
8782292214B58B   PATRICIA     ALAN SWAIN                   OK     21555159221
8782344295B183   KELLY        FITZGERALD                   AR     90012184429
878236A539154B   MARIO        CHAVEZ                       TX     90012366053
8782379958B168   JANSEN       NOEL                         UT     90012017995
8782415419152B   NORMA        VILLANUEVA                   TX     90004941541
87824319372B33   AMARANTE     HERRERA                      CO     90011083193
8782439748B154   CLAUDIA      HINOJOSA                     UT     90004073974
8782441AA8B168   WALTER       FINLEY                       UT     90013984100
87824571297B38   JESUS        QUINTANA                     CO     39040285712
87825262197B3B   OSMAN        ORRANTIA LOZOYA              CO     39064882621
87825731272B44   MARIA        ELSA AYALA                   CO     90003147312
8782629195B326   BRANDON      O LEARY                      OR     90011472919
87826329672B44   RICHARD      AHRENS                       CO     90014333296
87826932976B65   DENNIS       PENDERGRASS                  CA     90005669329
878269A589152B   MIGUEL       SANCHEZ                      TX     90014289058
87827451A72B44   CHAD         MARPLE                       CO     33011574510
87827623797B97   LUIS         GOMEZ                        CO     90011726237
8782871212B271   JANET        HERRING                      DC     90004827121
87828A5296194B   DYLAN        CUTRI                        CA     46067090529
878294A585B335   ROY          BURKE                        OR     90004104058
87829836372B46   BREANA       AGUIRRE                      CO     90007168363
8782997AA72B44   JANET        LOZADA                       CO     90013599700
8782B75935B24B   MELDRICK     HERNANDEZ                    KY     90010807593
8782B881691975   FAUSTINA     ORONO                        NC     17067578816
8783152A95B27B   ROBERT       VARNER                       KY     68058395209
8783266279152B   LIZETTE      ROSALES                      TX     90007736627
878328A226196B   GICELE       ALARID                       CA     90010508022
87832945572B44   DANIEL       GUAJARDO                     CO     90006039455
8783313745B24B   BRITTNEY     SPEARS                       KY     90012741374
87833516272B46   MARIA        IZAGUIRRE                    CO     90009685162
87834633472B33   MICHAEL      LOVING                       CO     90010496334
87834967A9154B   JESUS        CERVANTES                    TX     90014409670
87835214A5B24B   LEESHA       ALLEN                        KY     68001142140
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1377 of 2350


8783543A572B33   MONICA        ENRIQUEZ                    CO     90012244305
8783544288B168   CHRIS         BAGNELL                     UT     31075204428
87835562A8B154   MELISSA       MILLER                      UT     31072685620
87835663997B3B   HOLLY         HARDING                     CO     90007816639
87835AA2151341   TINA          LESTER                      OH     66000530021
8783611225B183   ADRIAN        HUHGES                      AR     90004041122
8783668974B22B   JAVANTE       JACKSON                     NE     90009006897
8783676948B168   SAMER         SALIH                       UT     90006757694
878367A8A91975   SHERRI        TURNER                      NC     90012107080
87836A2A777537   ELIZETH       CUELLAR                     NV     90012520207
87836A45776B65   AIDE          PEREZ                       CA     46063650457
8783715369154B   ARLEN         HERNANDEZ                   TX     90011281536
8783763837B499   PAULA         OUK                         NC     90009686383
8783768A89154B   ESTER         GONZALEZ                    TX     90010616808
8783833136194B   FRANCISCO     SANTIAGO                    CA     90006243313
878383A512B382   LEMAANSKI     ZBIGNIEW                    CT     90015513051
878384A7297138   SHERRIE       JOHNSON                     OR     90012224072
8783868A672B29   VERONICA      MARTIN                      CO     33076036806
8783894335B183   DANIEL        SMITH                       AR     23085229433
8783927616194B   PAULA         MURILLO                     CA     90011852761
87839279A5B326   LUIS          MORENO JARA                 OR     90000662790
8783929276194B   ALFONSO       SILVA                       CA     46023242927
87839348597B38   JOSE          ANTONIO FUENTES             CO     39092153485
8783951A172B46   MANCIO        JESUS                       CO     90013955101
87839562A8B154   MELISSA       MILLER                      UT     31072685620
87839A94171977   LUCIO         VAZQUEZ-REYES               CO     90013320941
8783B12686194B   JAIME         LOPEZ                       CA     90011561268
8783B323751363   SHEENA        DEAN                        OH     90014463237
8783B5A3771977   DENISE        HUTCHESON                   CO     90012235037
8783B727872B62   PERLA         GONZALEZ-FRAIRE             CO     33040297278
87841221576B65   BERTHA        ABARCA                      CA     46065112215
87842A85872B44   RODOLFO       MARTINEZ                    CO     90010510858
878431A9772B29   TREVOR        DUNN                        CO     33011511097
878444A934B22B   ADRYAN        GRAY                        NE     90012844093
8784451587B362   MAHRUS        ALKHANBESHI                 VA     90010275158
8784453218B168   TRAVIS        HOXIE                       UT     90014085321
8784484A89152B   LUCIA         CARMONA                     TX     75054678408
8784496936194B   MOHAMED       HASSAN                      CA     90014819693
87844A39993771   BOWSHIER      BETSY                       OH     90011200399
87845359372B46   CRISTINA      PEREZ                       CO     90014773593
8784544649154B   JANETT        CORONA                      TX     90013024464
8784735A15B183   LYNN          HARRIS                      AR     90010513501
8784838136194B   MARIA ELENA   TORRES                      CA     90012763813
8784898A95B24B   DAWN          HARRIS                      KY     90008969809
87848A62972B44   MICHELLE      OUTTARA                     CO     90011600629
87849732572B46   JOSE          TREJO                       CO     90014817325
8784996936194B   MOHAMED       HASSAN                      CA     90014819693
8784B163151341   CORY          CLARK                       OH     66066501631
8784B589172B44   JAMES         ROMERO                      CO     33076765891
8784B78914B22B   TRUONG        TRUONG                      NE     90012387891
8784B957A5599B   MARIA         AGUILERA                    CA     49060879570
8784BA87197B38   ADRIAN        SALINAS                     CO     90007140871
87851649397B3B   NICK          DIEDERICH                   CO     90010966493
87852321372B33   JESSICA       YURICK                      CO     90014323213
8785284935B27B   JENNIFER      HARDIN                      KY     68097948493
87853423A51362   KATHLEEN      KRAFT                       OH     90003514230
8785369688B154   ROD           NIELD                       UT     31043836968
8785398A147897   JESSICA       WILLIS                      GA     90014239801
878544A7455978   CRISTAL       MILLAN                      CA     90014264074
87854515472B46   ROBERT        JOHNSON                     CO     90013955154
8785498A19154B   NESTOR        RODRIGUEZ                   NM     90013049801
8785573194B22B   VERNON        WILLIAMS                    NE     27027497319
87855A3518B168   LOZANO        JOHN HINOJOSA               UT     90000880351
87855A47577537   SILVIA        RAMIREZ-TORRES              NV     43012360475
8785617A497B38   ARELY         ALBA                        CO     90014951704
87856699172B44   EDITH         VALADEZ                     CO     90013956991
87856851A47897   ERIN          TUGGLE                      GA     14047328510
8785735924B22B   ADRIANA       CERDA                       NE     90011483592
87857942972B62   JAMES A       LARA                        CO     33012639429
87857A37A33698   CAROLYN       GOWENS                      NC     12036750370
87858864197B38   TIMOTEA       PINEDA                      CO     39024568641
8785899A472B46   JERRY         CUNNINGHAM                  CO     33080829904
878591AA53B358   MATT          MANNING                     CO     90007841005
8785927367B386   JEANEEN       NAJARRO                     VA     90008452736
8785951135B326   GABRIEL       DEBENEDICTIS                OR     90004955113
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1378 of 2350


87859965272B62   RAFAEL        GUTIERREZ                   CO     33052499652
8785B2A259154B   CARLOS        LARES                       TX     90011282025
8785BAA815B17B   CHERYL        HAMILTON                    AR     23000410081
87861384A6194B   TATIANA       CORNEJO MEZ                 CA     90012763840
87861517672B46   JACKIE        GARCIA                      CO     90013955176
87861792A91524   ALMA          SAENZ                       TX     90009937920
87862976A6194B   CHRIS         WATT                        CA     46084909760
87863532672B46   JULIO         PERDOMO                     CO     90012155326
8786378519152B   ERNESTO       ROMERO                      TX     75054677851
8786434834B22B   RASHEEM       RODRIGUEZ                   NE     90014833483
878645A538B168   DONALD        ELLISON                     UT     31091705053
8786462478B168   MARQUELLE     RIGBY                       UT     90005506247
87864A94A76B65   JOSE          ZAMORANO                    CA     90000610940
8786525439154B   GERMAN        ZAMBRANO                    TX     90011282543
8786595A741262   DEBORAH       CARR                        PA     51039709507
8786599299152B   CERRUDO       SERVICES                    TX     75082039929
8786622998B154   MOSLEH        AHMAD                       UT     90010562299
8786799516194B   TERESA        RIOS                        CA     90014819951
8786884986194B   CRISTINA      RAMIREZ                     CA     90009678498
8786891978B188   STACY         JEFFS                       UT     90003899197
87868A48197B38   MARTIN        LISCANO                     CO     39074210481
87869A33697138   CLAUDIA       GOMEZ                       OR     44031540336
8786B144351341   JAMEEL        SCOTT                       OH     90014731443
8786B52A557143   JESSENIA      GOMEZ                       VA     90007825205
8786B692747897   DIANE         WHITE                       GA     90013636927
8786B69365B242   REBECCA       MCDANIEL                    KY     90014386936
8786B71AA77537   ANDRE         GILLIAM                     NV     90012327100
8786B92479152B   ELIZABETH     HERERA                      TX     90009649247
8786B94145597B   ERICA         SAGAS                       CA     90013779414
87871231572B62   JULIO         GARCIA                      CO     90008962315
8787152AA72B46   ANTHONY       BARRERA                     CO     90013955200
878716AA877537   MANUELA       SORIANO MARTINEZ            NV     90012406008
87871A9A191975   ILA           STANCIL                     NC     90005220901
8787369629154B   JUANA         TORRES                      TX     90001526962
8787377668B168   MARC          SYNNESTVEDT                 UT     90013027766
87874AA615B326   NEVINDA       WICKRAMARATNE               OR     44574450061
8787568A85B335   GREGORY       DAVIS                       OR     90010206808
878757A5672B46   MELISSA       BARMANN                     CO     33014687056
8787585895B183   EMMANUEL      ONUCHUKWU                   AR     90006808589
8787611315B326   GUILLERMINA   MENDOZA                     OR     90013691131
87876297A97B51   ESMERALDA     SANTISTEVAN                 CO     90012112970
8787642999154B   LANETTE       HERNANDEZ                   TX     90013234299
87876466772B44   ELAINE        SCHULTE                     CO     90009504667
87876A93797138   MARIA         DELGADO                     OR     44052830937
8787727162B271   JAKE          ROACH                       DC     81062112716
8787746979154B   CARLOS        CASILLAS                    TX     75036004697
8787775A871977   FLOYD         GALLEGOS                    CO     38035417508
87877969672B44   MARIA         GONZALEZ                    CO     33083809696
87877A3725B17B   TRACY         CARLTON                     AR     23017060372
87877A4A372B62   TANIA         SUAREZ                      CO     90012240403
87877A6718B168   CESAR         NUNEZ                       UT     90013910671
87878799A97B3B   JALYNE        VOGEL                       CO     90013807990
87878898A91242   SELINA        BRIGHT                      GA     90008178980
87879543A91975   ALFREDO       RAMOS                       NC     90012345430
87879849172B29   GISELE        MCFARLAND                   CO     33064548491
87879982872B44   DANIEL        BARHITE                     CO     90011929828
8787B473991975   MARK          WILLIAM                     NC     90004134739
8787B518772B46   DARWIN        HARRIS                      CO     90013955187
8787B76AA91979   CHRIS         HUNT                        NC     90010277600
878813A724B22B   DEBORAH       PLYMALE                     NE     90012813072
87882138A9152B   MARY          FACIO                       TX     90006941380
8788237A67B421   GRACIELA      GONZALEZ                    NC     90011943706
87882992A51356   KENYATTA      RAILEY                      OH     90013399920
87883187472B46   ROSA          PEREZ                       CO     33014941874
87883755A51341   MOLLY         BINZER                      OH     66033197550
8788532278B154   KENNETH       FLORES                      UT     90010563227
8788552A151336   CHRISTINA     LIGHTFOOT                   OH     66089215201
8788595A197138   MARCO         KYSER                       OR     90002809501
87885A21872B44   EMILIANO      ALVIDREZ                    CO     33074420218
8788616925B326   JUANA         CORTES LOPEZ                OR     90011061692
8788738435B17B   ANGELA        WILLIAMS                    AR     90014613843
8788744A95B131   MIKE          LAMON                       AR     90011114409
87887598972B33   RICHARD       MARTINEZ                    CO     33017895989
878882A455B335   ESTEBAM       PERAZA                      OR     44577062045
8788947228B154   DANNY         HERRERA                     UT     31091684722
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1379 of 2350


8788992216194B   MARIA           BARRIOS                   CA     46018459221
8788B379772B44   JUANA           HERNANDEZ                 CO     33092093797
8788BA7A191979   MATT            MCANDREW                  NC     90009920701
87891526172B46   ARIANY          QUINTANA                  CO     90013955261
8789167A372B62   CHRIS           BUROUGHS                  CO     90012506703
8789173519154B   MARIA           FERNANDEZ                 TX     90009807351
87892526572B46   MARTHA          PITTALUGA                 CO     90013955265
87892681A61928   BRENDA          PUENTES                   CA     90000526810
8789274935B24B   DEANNA          WOODS                     KY     68083917493
87893233572B29   ISAC            HERNANDEZ                 CO     90010312335
8789358A791356   LASHANDA        SMITH                     KS     90012305807
87894129472B44   LEON            GARCIA                    CO     90011641294
8789615145B183   HOLLY           COLLINS                   AR     90014661514
8789694126194B   JESSICA         FLORES                    CA     90014449412
87896A81991975   RENEE           HOLDER                    NC     17009300819
87897342497B3B   TIMOTHY         EDWARD                    CO     90010333424
8789796415B236   LINDA           ADKISSON                  KY     68008159641
87899593A61928   JORGE           LOZOYA                    CA     90007585930
8789986649154B   ABIGAIL         MUNOZ                     TX     90011978664
8789B678177537   PAYGO           IVR ACTIVATION            NV     90014576781
8789B961A9152B   MARIBEL         AYABAR                    TX     90010499610
878B15A2761936   ANABEL          SANDOVAL                  CA     90013115027
878B193265B24B   MATT            DANIELS                   KY     90010659326
878B198396194B   DANIEL          CRUZ                      CA     90011859839
878B1A85472B29   CARLA           NEVAREZ                   CO     90007340854
878B2136261928   BRYANT          LAVEL                     CA     46007431362
878B2235672B44   JOSE            ALVAREZ                   CO     33070202356
878B227839154B   ARCELIA         HERNANDEZ                 TX     90013822783
878B2278997B38   ERNESTINA       DERIVERA                  CO     39054082789
878B296818B168   PATI            TENNY                     UT     31090009681
878B3214897B38   JUSTIN          STONE                     CO     39038662148
878B3288177537   AARON           BROWN                     NV     43000592881
878B33A288B168   REBECCA         LAYTON-ROSA               UT     90013333028
878B3A26191979   ASHLEY          HINTON                    NC     90014690261
878B4897961928   REBEKA          SAMAYOA                   CA     90011308979
878B4A7769154B   SILVANA         RODRIGUEZ DE CNACHOLA     TX     90011280776
878B5513797B38   ANDREW          WILLEBERING               CO     90014185137
878B5698677537   VERONICA        CORREA                    NV     90014566986
878B6321A4B22B   SARAH           FOX                       NE     27096673210
878B6783372B62   GUADALUPE       MARTINEZ                  CO     33072057833
878B736968B171   ERIC            SANCHEZ                   UT     31005243696
878B7815261928   LOEONARD        CUNNINGHAM                CA     90012788152
878B9467171977   JO DEE          REEVES                    CO     90004614671
878B947255B739   JORGE           HERNANDEZ                 MN     90015344725
878B996798B154   LAURA           FISHBAUGH                 UT     90002699679
878B9A99351341   JESSICA         HODGE                     OH     90014730993
878BB466972B46   JOANNE          MEDINA                    CO     90011784669
878BB546597B38   NIETO ALMANZA   BERENISE                  CO     90013955465
8791131449154B   HUGO            PEINADO                   TX     90011483144
87911429172B46   GERARDO         CAMPOS                    CO     33026714291
8791185135B326   RENISE          HARREL                    OR     44591058513
8791218A997B3B   NICOLE          REDDING                   CO     90013291809
8791258619152B   VICTOR          GRAJIOLA                  TX     90004765861
87913876872B33   TIMOTHY         MARTINEZ                  CO     90015138768
87914126897B3B   DANY            REYNOLDS                  CO     90014971268
8791516624B22B   MU              PAW                       NE     90015561662
879169A7A9154B   JOSE            NAJERA                    TX     90008959070
87916A3A46194B   SYLVIA          YANEZ                     CA     90014820304
8791743365B24B   MICHAEL         WILSON                    KY     90014914336
8791876942B981   MARK            COOLEY                    CA     90011717694
8791957526198B   DALTON          DIAZ                      CA     46011165752
87919777A6194B   YESENIA         COMANO                    CA     90013067770
87919779672B46   SANDRA          GUILLEN                   CO     90011787796
87919A2675B139   SHERRARD        SCALES                    AR     23008480267
8791B274541262   MAQUALLAH       BEY                       PA     90013162745
8791B27949154B   LUZ             PORTILLO                  TX     90013032794
8791B5A6A72B62   GERALDINE       LACEY                     CO     90008185060
8791B628291975   DARLENE         GILCHRIST                 NC     17072926282
8791B824447897   TEOSHA          JONES                     GA     90010968244
8791B9A3A93771   NIEVES          JONES                     OH     64582259030
87921337272B29   ELIA            ALVARADO                  CO     33079223372
87921862972B44   KAYLA           CAVINESS                  CO     90011948629
879224A185B326   JOSE            CARDENAS BANDERAS         OR     90010314018
8792298336194B   GEMECHU         FEYERA BULTI              CA     90004819833
879231A243B351   ALEJANDRO       RAMIREZ                   CO     33018051024
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1380 of 2350


8792368445B24B   JOHN           ELDRIDGE                   KY     90011326844
87924822172B29   ARACELI        CHAPARRO                   CO     90014728221
8792485848B168   ALEX           CONTRERAS                  UT     31011438584
87924878772B44   JOSE           ARROYO                     CO     90013048787
87924A2245B24B   JENNIFER       SHREWSBURY                 KY     90015030224
87925187997B3B   BOBBI          HANSON                     CO     39027291879
8792563A19152B   PATRICIA       ORTIZ                      TX     75024056301
8792589282B271   STELLVONNE     JACKSON                    VA     90005008928
87925A6939154B   JEANNE         DIAZ                       TX     75015130693
87926142272B46   MAYRA KARINA   AYALA RIVERA               CO     90015091422
87926687297B38   LUIS           MEJIA                      CO     90010376872
8792731A872B33   GUADALUPE      GONZALEZ                   CO     90011103108
87927749297B3B   MARIA          SANCHEZ                    CO     90012867492
87927A37491838   JENNY          MOORE                      OK     90009720374
879281A1691837   JENNIFER       IBARRA                     OK     90005161016
8792842629154B   ROBERT         HAYES                      TX     90010454262
8792883588B168   BENJAMIN       THORNTON                   UT     90000398358
87928877397B3B   MAGGIE         PARRA                      CO     90011158773
87929134172B44   MARIA          GUTIERREZ                  CO     33026001341
8792969A272B62   JORGE          LOPEZ                      CO     90001096902
8792973AA9154B   CLAUDIA        FONG                       TX     90014717300
87929917772B46   MARIA          LOPEZ                      CO     33091989177
8792B3A4872B46   SHERRY         EDGE                       CO     90010653048
8792B78578B168   TALITHA        HOWARD                     UT     90014367857
8792B863477537   DENIS          HENRRIQUEZ                 NV     90011478634
87931232672B44   ANGELICA       ARAUJO                     CO     90013942326
87931563697B3B   KASSY          WINBURN                    CO     39051685636
87931635172B33   JESSICA        BYRNE                      CO     90014286351
8793178224B22B   MIGUEL         ESPINOZA                   NE     90009087822
87931A39171977   STEVEN         BROCK                      CO     90010890391
87932325672B46   ERNESTO        BETANCOURT                 CO     90000523256
87932791A72B44   THOMAS         KAUFMANN                   CO     33008667910
87932861A97B3B   ANNA           YATES                      CO     39036318610
87933174372B44   MARISOL        GARCIA                     CO     90012631743
8793496223B382   NEREIDA        BODNAR                     CO     90012759622
8793516769154B   JAAZIEL        ENRIQUEZ                   TX     90004991676
8793522A593771   MARK           CANTRELL                   OH     64538952205
8793542A23B342   NGON           NGUYEN                     CO     90004164202
8793552A172B62   LEWIS          BROOMS                     CO     33051015201
87935787A72B46   NATALI         MARTINEZ                   CO     90011787870
87935914572B44   MARIO          ULLOA                      CO     33032889145
8793631A471977   BRIAN          CRUZ                       CO     90012573104
87936949A93771   THERESA        SWEEZY                     OH     90012799490
8793695149154B   MELANIE        TELLEZ                     TX     75043149514
8793699514B22B   LOIS           KING                       IA     90014089951
8793712979154B   MERCEDES       BRISSETTE                  TX     90013381297
8793722635B24B   LATASHA        EVANS                      KY     90003762263
87937277572B33   ELIZABETH      HERNANDEZ                  CO     90010742775
87937586372B46   MARILYN        MITCHELL                   CO     33043995863
87937965872B29   DEBBIE         GIBBS                      CO     33093519658
87937A88772B44   PEDRO          OSUNA                      CO     90011600887
8793817A393771   ANDREWS        SUTTLES                    OH     90012021703
8793864439152B   RUDY           FAVILA                     TX     90013906443
8793878A15597B   EMILIA         PENA                       CA     90011527801
87938895497B38   ROBERT         PREVOST                    CO     39054138954
8793915847B467   JARROD         TYSON                      NC     90008041584
8793918269152B   ELIZABETH      ARMENTA                    TX     90001461826
8793B15685B354   YOLINDITA      ANDRE                      OR     90013611568
8793B258897B3B   KIM            SCHULZ                     CO     39019772588
8793B62226194B   KENNETH        MOSS                       CA     46096486222
8793B868A5B24B   AUDRIANNA      MORRISON                   KY     90012358680
8793B9A4577537   JONATHAN       ROMERO                     NV     90014669045
87941237A9154B   JESUS          MENDOZA                    TX     75010352370
87941357672B49   ALEX           CORDOVA                    CO     90011453576
8794335879154B   ERIKA          MARTINEZ                   TX     90011283587
8794338785B24B   CHELLEL        SALMON                     KY     90015443878
87944418A71977   CHANTEL        GONZALES                   CO     38013024180
87944649772B33   THERESA        VASQUEZ                    CO     90014886497
87945214972B62   ALAAEDDIN      MORRA                      CO     33096272149
879457A2A5B24B   NELLY          UGALDE                     KY     90002697020
87946191272B46   MAYRA          ALVAREZ                    CO     90007531912
8794622A671977   BRAYAN         ANTILLON                   CO     90013752206
8794626A34B22B   SAI            TAMANG                     NE     90012902603
87946361697B38   ALLEN          GUIJOSA                    CO     39020373616
8794641A361928   TONY           T                          CA     90013774103
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1381 of 2350


8794696395B326   KRISTINA     MERCADO                      OR     44542399639
8794774785B24B   KENNETH      WHOBREY                      KY     90015337478
8794829958B168   MANA         KULA                         UT     90015502995
87948465A41262   CARALAJE     JONES                        PA     90013004650
8794873854B22B   JOSE         PANIAGUA                     NE     27080567385
87948785A72B46   MARIA        MORELOS                      CO     90001927850
879488A8655928   EMIGDIO      PANZO                        CA     90010378086
879496A124B22B   KELVIN       HAWKINS                      NE     90011916012
8794B118A47897   TASHIA       RAINES                       GA     90014561180
8794B195272B33   AARON        DOW                          CO     90013901952
8794B79549154B   JASON        TULL                         TX     90010517954
8794B895497B38   ROBERT       PREVOST                      CO     39054138954
8794BA7A472B44   SHAMSIDEEN   LATONA                       CO     33014850704
87951547272B62   KATHLEEN     FLUENCE                      CO     33089495472
87951A74372B44   KELLY        STAFFIERO                    CO     90011600743
87952AA3372B46   BERTHA       RUIZ                         CO     33080100033
8795327949154B   LUZ          PORTILLO                     TX     90013032794
8795392739152B   NELLY        FIGUEROA                     TX     75026179273
87954154897B38   CALLENE      WILLIAMSON                   CO     90015141548
87954169A77537   LIBIER       CARDENAS                     NV     90014911690
87954A6546194B   ASHLEY       SOTELO                       CA     90014820654
87955361697B38   ALLEN        GUIJOSA                      CO     39020373616
879563A8671977   PAULETTE     PONCE                        CO     90014613086
8795656A541262   DEEPAK       GOYAL                        PA     90014965605
87956612172B33   MICHAEL      SINKS                        CO     33054426121
879566A889152B   CESAR        GOMEZ                        TX     90014416088
8795799258B154   JACK         JOHNSON                      UT     31086269925
879579A3541262   CLINTON      BRIDGES                      PA     90013009035
879588A9791975   WENDY        ROJAS                        NC     90011568097
87958969872B33   CONCEPCION   VERDE                        CO     33097909698
87959A2259152B   CISNEROS     JANET                        TX     90013240225
8795B57286194B   MICAELA      LEYVA                        CA     46047495728
8795B751291553   EVER         COSS                         TX     90005827512
8795B782291558   OSCAR        ROQUE                        TX     90010127822
8795B925497138   AMANDA       HOFFMANN                     OR     90004579254
8796131788B168   MARY         CLARK                        UT     90013813178
8796137399154B   ANA          LOPEZ                        TX     90011283739
87961A1145B326   AIDE         CORTEZ                       OR     90015080114
879622A6497B3B   RICHARD      REMUS                        CO     90014652064
87962482472B44   BRENDA       ALVARADO                     CO     33068584824
87962614297B3B   KURT         REYNOLDS                     CO     90013316142
8796281945B183   KIMBERLY     PAUL                         AR     23076978194
8796284795B24B   TONI         MCELROY                      KY     68068648479
879628A2141275   MARIA        HARBINSON                    PA     90011238021
87963522A91979   MARIA        GUERRERO                     NC     90012155220
8796365412B271   THAYION      LAMARK                       DC     90004836541
8796375775B24B   EVELINE      DELGADO                      KY     90002697577
8796385A57242B   ANNAMARIE    ROSE                         PA     51098308505
87963A76241262   MICHAEL      ANDRES                       PA     51094390762
8796418785B594   CTYSTAL      BEALL                        NM     90006681878
8796442A78B154   KENDRA       SMITH                        UT     31015674207
87964539772B46   JENNIFER     TSAI                         CO     90013955397
87964A18371977   MACKENZIE    MAAS                         CO     90005300183
87965114472B99   PEDRO        SANCHEZ                      CO     90000711144
87965139772B62   MICHAEL      GOFRON                       CO     90001291397
87965928897B38   JOSHUA       JOHNSON                      CO     90013219288
8796729A75B24B   CHEYENNE     CARTER                       KY     90009362907
8796745A48B154   CELINA       VARGAS                       UT     90001714504
879685A8A91837   PRECIOUS     JOHNSON                      OK     90013935080
879687AA871977   MARIO        HERNANDEZ                    CO     90015147008
87969946A91532   BEATRIZ      ALVARADO                     TX     90002819460
8796B1A2A72B62   HIPOLITO     RESENDIZ-GONZALEZ            CO     90010431020
8796B287241262   JILL         PRICE                        PA     90014602872
8796B988161928   MATT         WILKINS                      CA     90000609881
87971266572B33   JOHN         VO                           CO     90012992665
8797148AA57142   DANA         PERKINS                      VA     90010504800
8797155478B154   MARIA        BACA                         UT     90010565547
87971A21172B44   ALEXANDER    HUDSPETH                     CO     33003100211
879721AA372B33   CARMEN       LUNA                         CO     90013271003
87972585172B62   LINDA        VILLANUEVA                   CO     90012915851
8797316596194B   WILSON       MORALES                      CA     46089181659
8797383769154B   VICTOR       HERNANDEZ                    TX     90014438376
8797434985B24B   AISA         WHITFIELD                    KY     90004983498
87974578497B38   MELISSA      ORTEGA                       CO     90014765784
87974A39497B3B   MARQUIS      MOORE                        CO     90012960394
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1382 of 2350


8797656A551341   LONNIE              WILSON                OH     66001465605
87976745872B44   DALIA               GALLEGOS-MOZQUEDA     CO     90003147458
8797723A59152B   DIAMOND             ROJAS                 TX     90013282305
8797726639152B   FERNANDO            ZAPATA                TX     90014772663
879773A5697B3B   CHRISTINA           MONTOYA               CO     39022343056
8797814A193771   MADELLA             BELTON                OH     64596051401
87978187A6194B   MARICELA            CERVANTEZ             CA     90004341870
879781A1651349   MIYAH               SPRINGS               OH     90006771016
87979499372B62   SHEILA              MUNGUIA               CO     90012914993
879797A959152B   ELOISA              ORDONES               TX     75074317095
87979812572B44   SAMANTHA            CASTRO                CO     90014688125
8797998338B154   PEGGY SUE           WHIPPLE               UT     90008939833
8797B14658B171   DANIEL              JENSEN                UT     90008061465
8797B553972B46   CARLOS              PEDROZA               CO     90013955539
8797B64955B24B   SHERRY              GOODBODY              KY     68046656495
87981161472B44   CRISTIAN            CORIA                 CO     90009731614
879816AA197B38   CANDIDO             MARQUEZ               CO     90011076001
8798194265B17B   MARK                STRICKLEN             AR     90011029426
87981A59972B62   CARLOS              MEDRANO               CO     90008710599
87982876297B38   ERICA               RODRIGUEZ             CO     90000558762
8798356653B39B   DORRIS              BYRD                  CO     90008995665
879836A4397B38   MARIA               GARCIA                CO     90010316043
8798454A19154B   CRISTINA            HOLGUIN               TX     90014945401
8798521142B253   JOSE                CABEZAS               DC     81017932114
879853A4677537   PATRICIA            MONZON                NV     90010673046
879866A4691979   GENEDE              MATTHEWS              NC     17030686046
879867A9471977   MICHELLE            GOLD                  CO     38017467094
87986849797B38   DESIREE KATHERINE   MILLER                CO     90010418497
87987217472B46   ANDREW              MARTINEZ              CO     90001312174
87987284A5B17B   SAMMY               CALLOWAY              AR     23072382840
87988491972B44   BRIAN               MBOWE                 CO     33017534919
87988685172B64   KIMBERLY            MATHES                CO     33051746851
8798888869154B   LAURA               FUENTES               TX     90013568886
879895A1761928   WENDY               RUELAS                CA     90013045017
879895AA45B326   MACQUEEN            SAM                   OR     44563615004
8798964AA93771   INDIA               CAMBELL               OH     90009316400
8798982A972B46   STACEY              LOPEZ                 CO     90001928209
8798B136741262   DAVID               SLOMER                PA     90014781367
8798B426541229   JOSEPH              MCKEE                 PA     90009384265
8798B591A72B29   NORMA               RODRUIGUEZ            CO     90006505910
8798B5A2551362   MELISSA             ALEXANDER             OH     66020915025
8798B857493771   SERNITY             SPECK                 OH     90007328574
8798B8A6177537   LILY                ROSS                  NV     43089108061
879911A1772B44   TODD                CERRONE               CO     90011601017
8799146939154B   LETY                GARCIA                TX     90014814693
87992153A72B44   JASMIN              WHISENTON             CO     90014881530
8799224785B24B   ROBERT              MCKNIGHT              KY     90011202478
879927A5191979   RACHEL              JUSTICE               NC     17066377051
87993145A3B354   NANETTE             BEZJAK                CO     33016801450
87993439597B98   ROSALBA             PEREZ-CAMARENA        CO     39041264395
8799391559152B   ANN                 FIERRO                TX     75012569155
87993936997B3B   DUSTIN              LISCUM                CO     90000659369
879939A239152B   KARLA               VILLESCAS             TX     90014729023
879946AA197B38   CANDIDO             MARQUEZ               CO     90011076001
8799499A39152B   JODECI              FELIZ                 TX     90015319903
87994A65A9154B   ROBERTO             SAENZ                 TX     90006520650
87995465A72B46   HEATHER             WILSON                CO     90014784650
879954AA46194B   JESSICA             GREEN                 CA     90014824004
8799643A19154B   LOOBANA             SEPULVEDA             TX     90013234301
8799665956194B   LAURIE              NASH                  CA     90011716595
87996661A91837   LUIS                PACHECO               OK     90009886610
8799698A65B24B   RAYMOND             LINTON                KY     90010859806
879969AA55B139   TAQUERA             BRIGHT                AR     90002589005
87997491476B65   EVELYN              THOMAS                CA     46091594914
8799782A49154B   NORMA               RUIZ                  TX     75014168204
87997A75997B38   CLAUDIA             GALVEZ                CO     90013220759
87998239A72B62   CARRIE              DAVIS                 CO     33087042390
879983A8671977   PAULETTE            PONCE                 CO     90014613086
8799851664B22B   NICOLE              WEBB                  NE     90004605166
87999187172B46   EVELARDO            GARCIA                CO     90002101871
87999689697B97   ESPERANZA           GUZMAN                CO     90013606896
8799993865B183   DEBRA               MOORE                 AR     90010519386
8799B113871977   KARA                BRILL                 CO     38070301138
8799B38246194B   ELVIRA              GONZALEZ              CA     90014823824
8799B67439152B   MELANIE             YANEZ                 TX     75085496743
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1383 of 2350


8799BAA7351341   JEREMY           LEE                      OH     90014750073
879B1229197138   GUADALUPE        MONTERO                  OR     44031542291
879B1492972B62   CARA             FUNK                     CO     90014144929
879B152158165B   JOSE             FLORES                   MO     90005725215
879B1598997B3B   ASHLEY           POTTER                   CO     90011615989
879B183365B183   YOULANDA         COLEMAN                  AR     23065268336
879B1897271977   DAVID            BENAVIDEZ                CO     90014788972
879B18A7272B44   SHAIWAN          POLK                     CO     90012858072
879B248AA91979   BENITA           ALVAREZ                  NC     17029594800
879B2655576B65   MONICA           KONOPACKY                CA     90003156555
879B339175B326   IVETTE           BARRAJAS                 OR     90009173917
879B353AA72B62   ROBERTA          ARAGON                   CO     90012445300
879B3759A71977   JENNIFER         HERNANDEZ                CO     90005367590
879B383A991975   MARTIAL          HODGE                    NC     90015218309
879B3957647822   CHAN             MAYS                     GA     90014719576
879B448945B326   KATHERINE        GEIER                    OR     90005834894
879B45A7472B33   TERESA           COPELAND                 CO     90013105074
879B4786591837   HOPE             JINDRA                   OK     90005937865
879B4918891979   JOSE             ALTEREZ                  NC     90012559188
879B5178272B44   CHERYL           LAW                      CO     90002271782
879B5314791837   KOMEKA           SMITH                    OK     21007043147
879B555A497B3B   ANTHONY          RILEY                    CO     90014455504
879B5868A85962   SHELBY           BEVIS                    KY     90010108680
879B618465B739   FERNANDO         ESCALANTE                MN     90014731846
879B6314191837   CARMEN           WETHEY                   OK     90014693141
879B6489877537   ANDRALEA         SMITH                    NV     90012844898
879B649876194B   LAURA GRACIELA   ROJAS DIAZ               CA     90015324987
879B6688572B46   NORMA            CHAVEZ                   CO     33023656885
879B6881472B44   JOSE             CUEVAS                   CO     33012548814
879B6976397B3B   JOYCE            JOHNSON                  CO     39037439763
879B722735B326   DAVID            FUHR                     OR     90014912273
879B7228851341   KATRINA          DRAPER                   OH     90014422288
879B7491633B33   ERIKA            BENNETT                  OH     90012174916
879B7616197B38   LISA             JOHNSTON                 CO     90013086161
879B763A777537   TAMMARA          BOARDMAN                 NH     90007606307
879B7A3585B27B   ASHLEY           ALLEN                    KY     90006210358
879B83A3493771   JACQUELINE       LONG                     OH     90012163034
879B8447297B3B   MARY             SALINAS                  CO     39065404472
879B8674472B33   NORMA            CHACON                   CO     90015296744
879B878A15597B   EMILIA           PENA                     CA     90011527801
879B8921197B3B   CHARLES          CASE                     CO     90015369211
879B894554125B   KAREN            MEJAIA                   PA     90008439455
879B8A4A472B33   NORMA            CHACON                   CO     33001310404
879B8AA924B22B   CONTRERAS        KRIZTELLE                NE     90014490092
879B9364A98B31   SINDY            MARQUEZ                  NC     90014323640
879B9745491979   TANISHA          STEED                    NC     90014777454
879B9877591975   TANISHA          PAGE                     NC     90013198775
879B9939591837   NATREEC          MILLER                   OK     90009649395
879B9A81377537   MARIE            GRIMSLEY                 NV     90010630813
879BB315A9154B   DESIREE          CHAVEZ                   TX     90011283150
879BB47A497B97   JOSHUA           AMADOR                   CO     90013944704
879BB937797138   MARCO            TRAPALA GOMEZ            OR     90014349377
87B11488A9152B   SERGIO           GOMEZ                    TX     75006544880
87B11743671977   LEON             ARAGON                   CO     38096107436
87B12252881651   TONIA            STAVA                    MO     90009742528
87B122AA161928   ANTONIO          GOMEZ                    CA     90012282001
87B12315591975   SIMEON           TRUJILLO                 NC     90015093155
87B12361293771   DONALD           SHACKLEFORD              OH     64553763612
87B12652697138   ELIZABETH        WILLIS                   OR     90014976526
87B12659657139   KATIE            DECKEMAN                 VA     90012516596
87B1293A491979   NATASHA          WALKER                   NC     90014559304
87B12995872B33   OSCAR            FELIX                    CO     90008309958
87B13211A72B33   ARMANDO          MONTANO                  CO     90011172110
87B13233293771   ROBERT           CRIST                    OH     64549272332
87B13695185962   STEVEN           AMORESE                  KY     90005706951
87B13784485962   STEVEN           AMORESE                  KY     90014007844
87B137A3A6194B   MISA             MOORE                    CA     46066607030
87B13813997B38   TED G            NISCHAN                  CO     90012808139
87B1429A472B29   MARIA            JARA                     CO     33005562904
87B1435A671977   YANERA           MCCULLEY                 CO     90009333506
87B15437247897   QWENDLYN         SIMPSON                  GA     90013334372
87B1558A697B3B   ALFONSO          TOVAR                    CO     90011615806
87B15925661928   CARLOS           CRUZ                     CA     90013739256
87B1646A961928   ARTURO           SANDOVAL                 CA     90011204609
87B1741415B24B   KYRALE           WILSON                   KY     68009014141
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1384 of 2350


87B17791A9184B   HANNAH        FORBES                      OK     90006047910
87B17997277537   ALVIRA        GARFIELD                    NV     90009819972
87B18321733698   JANIQUE       BROWN                       NC     90005413217
87B18347572B62   JOSE          JARAMILLO                   CO     90009013475
87B18A31397138   PERLA         ZARATE                      OR     90010930313
87B18A89672B29   ZACHARY       STARBECK                    CO     90012840896
87B18AA1172B33   KENNETH       HENDRIX                     CO     33028340011
87B19389372B62   MELISSA       FORTE                       CO     90009513893
87B19657851341   STEPHEN       CONNER                      OH     66092976578
87B19A68397B3B   ALEXZANDRIA   SALAZAR                     CO     90015270683
87B1B135997B3B   TERI          DURHAM                      CO     39029081359
87B1B299297B38   MIRANDA       LOPEZ                       CO     90004912992
87B1B6A3577537   MARIA         FLORES-GONZALEZ             NV     90014086035
87B1B792191979   ANNOLD        BANGURA                     NC     90013677921
87B1B994472B44   ROSY          FUENTES                     CO     90014589944
87B1BA8746194B   INDIA         AVANT                       CA     46017560874
87B21193172B29   MARK          ELLIOTT                     CO     33004491931
87B2168468596B   LATIFAH       GREER                       KY     67040556846
87B2187518B166   WHITE         DAVID                       UT     90005238751
87B21983972B62   LUISA         RODRIGUEZ                   CO     33034749839
87B2212779154B   GABRIEL       DE LA CRUZ                  TX     90005461277
87B22133772B46   ANGEL         MUNOZ                       CO     90014871337
87B22268993771   ALICE         TWAGIRAYEZU                 OH     90012632689
87B22764291975   SANDRA        RIVAS                       NC     17017497642
87B2279615B24B   KERRY         OSBORNE                     KY     90008197961
87B22A15897B3B   JOSE          GONZALEZ                    CO     39070500158
87B2341A972B44   SILVIA        RIVERA                      CO     90004314109
87B2346454B22B   ANTHONY       DOUGLAS                     NE     90014364645
87B2448A597B38   BRYAN         SWANSON                     CO     39090974805
87B2487179154B   KIMBERLY      BUENTELLO                   TX     75092908717
87B24976791975   AMBREA        VICTOR                      NC     90013579767
87B25277655978   JULIE         ELSTON                      CA     90010152776
87B256A2A97138   CORALL        DAVIS                       OR     44015576020
87B256A9477537   MARIO         DELA ROSA MORGADO           NV     43042706094
87B2571528B154   MARK          BALLAINE                    UT     90005847152
87B263A195B326   TROY          HUNTER                      OR     44562893019
87B2776179152B   ANDREA        RAMIREZ                     TX     90002787617
87B27849341275   MONIQUE       BALMER                      PA     90011428493
87B2796855B17B   ERIC          THOMPSON                    AR     23027019685
87B27A28461928   ALEJANDRO     ROMO                        CA     90006380284
87B27A34191837   PAMELA        ELAINE                      OK     90014770341
87B27A9868B154   TRICIA        CALDER                      UT     31014160986
87B28217377537   IRIS          ROSAS-HEREDIA               NV     90015012173
87B2836265B24B   TODD          CHAMBLEE                    KY     90003133626
87B2885AA91837   FARHANA       KHAN                        OK     21062958500
87B2923799154B   MANUEL        HERRERA                     TX     90011262379
87B29516A71977   MICHAL        CRECELIUS                   CO     38012215160
87B2976239154B   JOSE          PRADO                       TX     90004707623
87B2B359872B46   JOSE          AGUILAR                     CO     90004283598
87B2B456172B29   MAIRA         VARGAS                      CO     33005994561
87B2B738A5B326   JESUS         MARTINEZ                    OR     90009447380
87B2B787A9154B   DE NUNEZ      FRANCISC                    TX     90006597870
87B31219972B33   NANCY         DIAZ                        CO     33092462199
87B3132A785649   ROBIN         CARNEY                      NJ     90003133207
87B314A3193771   JALEN         FIELDS                      OH     90014994031
87B3162A777537   JESSICA       SIERRA                      NV     43097816207
87B31715351341   LOGAN         CLARK                       OH     90014697153
87B31788272B29   DAVID         GRUMMER                     CO     90003687882
87B31838161928   GUADALUPE     AVILA                       CA     90014078381
87B319AA572B44   KEVIN         BARROW                      CO     90008389005
87B3211A961951   JESUS         SANCHEZ                     CA     90001481109
87B321AA833698   PAMELA        MOREHEAD                    NC     12045021008
87B32353791979   KERRI LYN     VANDUSEN                    NC     90011103537
87B32453291837   LISA          MCCONNELL                   OK     90009194532
87B32645A71977   BERNICE       MARTINEZ                    CO     38025906450
87B3299975B24B   ANGELA        LAFAILLE                    KY     90000669997
87B32A48497138   DAVID         KELLER                      OR     90014060484
87B33155233633   I KNOW        U C ITT                     NC     12003031552
87B33232A9193B   MAIRA         VARGAS                      NC     90010832320
87B33346472B46   BILL          ALLEN                       CO     90011903464
87B33919391837   VICTOR        MARRUFO                     OK     90004509193
87B34248141275   VINESSA       BANEY                       PA     51078782481
87B34272197B3B   MICHAEL       GODDARD                     CO     39047272721
87B34491672B29   ROSY          RODRIGUEZ                   CO     33030364916
87B34781172B44   JORDAN        LOPEZ                       CO     90011597811
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1385 of 2350


87B35347121585   ROBERT       MACNEILL JR.                 NC     20529973471
87B36135391975   ANDREA       ROBINSON                     NC     90010481353
87B36627291979   FIKREYESUS   DERARA                       NC     90003786272
87B37197971977   LEANNE       BLACKBURN                    CO     38006791979
87B37743A9154B   RUTH         ARGELIA RAMIREZ              TX     90000527430
87B3784622B252   TORRANCE     SCOTT                        DC     90001448462
87B37894872B29   ROOSEVELT    CANNON                       CO     33087648948
87B37933972B62   HEATHER      DAGEL                        CO     90013979339
87B38723A47897   LAQUANA      HARRIS                       GA     90010737230
87B39538291975   ALFREDA      WALTON                       NC     90014015382
87B3983185B326   NIAH         GORDON                       OR     90001878318
87B39A7878B168   ABRAHAM      LUAL                         UT     90013750787
87B3B463491837   JASMANY      ROCHA                        OK     90013954634
87B3B463A9152B   GRACIELA     CERVANTES                    TX     75088244630
87B3B677772B44   IVONNEE      GUTIERREZ                    CO     90012386777
87B3B99145B24B   MARCUS       MCCREARY                     KY     90014679914
87B41127A4B22B   MARLEM       AMARO                        NE     27045911270
87B4117A55B24B   PAYGO        IVR ACTIVATION               KY     90013531705
87B41259791975   STACEY       SCOGGINS                     NC     90014422597
87B41326572B33   TODD         PHIPPS                       CO     33060303265
87B41361847897   TARSHEKA     CANNIMORE-BIVENS             GA     90013093618
87B41691591936   DIANE        BLUNT                        NC     90012816915
87B42117572B44   JOHN         GIBSON                       CO     90000521175
87B42118897B3B   IRV          MUNOZ                        CO     90010221188
87B42299171977   JANET        BASQUEZ                      CO     38093032991
87B4247816194B   POLY         CADE                         CA     46026054781
87B42851951341   PAMELA       MCAMIS                       OH     90013158519
87B4285A55B183   TUWANNA      THOMAS                       AR     90009818505
87B42917472B3B   STEVEN       COLLIGAN                     CO     90000209174
87B42A8A397138   PABLO        MONTERO SIERRA               OR     44051540803
87B42A95A3B39B   MARY         SURRON                       CO     90005770950
87B43216961983   LUIS         ESTRADA                      CA     90014492169
87B43472991837   AMANDA       BECERRA                      OK     90013954729
87B43653671977   CONNIE       ARMENTA                      CO     90007406536
87B4372915B17B   HANNAH       HAASSON                      AR     90003527291
87B4391848B154   ELIZABETH    CRUZ                         UT     31071359184
87B4426535B326   GLENDA       PARRA                        OR     90014722653
87B44536897B38   JESSE        SCOTT                        CO     39083655368
87B44767393771   ROBIN        LAPORTE                      OH     90012247673
87B44893172B44   VERONICA     MENDEZ                       CO     90005728931
87B4489729152B   GUALBERTO    CASTRUITA                    TX     90010718972
87B4497476194B   SAMANTHA     WHITE                        CA     90013859747
87B4511957B461   HELEN        HARRIS                       NC     90011091195
87B4525665B249   HEATHER      VINCENT                      KY     90003462566
87B4572A972B46   JONATHAN     CLARKE                       CO     90014497209
87B45956597B3B   MARINA       CHAVEZ                       CO     90010999565
87B46125672B44   LINDA        PADILLA                      CO     33034201256
87B46757291837   SONYA        STEPHENSON                   OK     90005377572
87B48164191975   MIKE         THORNTON                     NC     90012951641
87B48384A3B361   JOSEPH       BAVENDER                     CO     33084573840
87B4845428B154   ERIK         SANCHEZ                      UT     31042974542
87B48A61733698   WYNESHA      SWINDELL                     NC     90004180617
87B48A83797B3B   MEREDITH     REIDER                       CO     39051420837
87B49115741222   GREG         PFLUMM                       PA     90007341157
87B49336376B65   JAIME        HERNANDEZ                    CA     90013893363
87B49747651341   MIKE         TOELKE                       OH     66020217476
87B4B259372B29   FAIZA        MAHMOUD                      CO     90012392593
87B4B3A8197B3B   RAQUEL       GUTIERREZ                    CO     39033003081
87B4B469291837   LEONA        AGUIRRE                      OK     90013954692
87B51584172B29   DESTINEE     JAMES                        CO     33008915841
87B5178225B326   SONJA        LEEANNA                      OR     44575417822
87B52396A5B326   DEREK        CONLIN                       OR     90011203960
87B52686271924   ASHLEY       KEARNS                       CO     90010966862
87B52686A8B154   LINDA        CHAPMAN                      UT     90010526860
87B528AA147897   CHEBETRA     GAINEY                       GA     90012538001
87B52964751341   JASON        GERROS                       OH     90009329647
87B531A4772B44   KIRA         GONZALEZ                     CO     33091161047
87B53298877537   IBETH        SOTO-GONZALEZ                NV     90008092988
87B53389172B33   JOSECARLOS   COB CANCHE                   CO     33096373891
87B5351689152B   JESUS        BARRIOS                      TX     75007115168
87B5364A56194B   PATRICIA     QUIRO                        CA     90001946405
87B53765272B62   CLADIA       REYES                        CO     33020677652
87B54373397B38   TINAMARIE    LOZANO                       CO     90010633733
87B54542151363   MARK         EDWARDS                      OH     66004875421
87B55189491975   WILSON       MCCLENNY                     NC     90010051894
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1386 of 2350


87B55854872B62   JOHN          KLOCKER                     CO     33014078548
87B55986772B31   APRIL         SEURER                      CO     90002319867
87B56229893747   TOM           BYRGE                       OH     90002782298
87B5657A672B33   CESAR         ERNADANDEZ                  CO     90000975706
87B56627947897   MARVIN        WELLS                       GA     14088656279
87B5667A79154B   MANDO         LOPEZ                       TX     75002806707
87B56824957126   JAMES         ODDOYE                      VA     90004618249
87B57166672B44   JUANA         MENDEZ                      CO     90013941666
87B57341691975   MARIA         RODRIGUEZALVARE             NC     90015103416
87B5745629154B   NORMA         ARGUELLES                   TX     90006714562
87B57586151341   JOHNATHON     LINDHORST                   OH     90014705861
87B57661997B3B   JESUS         CHAVEZ                      CO     90011576619
87B57781572B62   CARMEN        VALDEZ                      CO     90014787815
87B578A9661492   VIOLET        CULPEPER                    OH     90012518096
87B57A38472B33   JUSTIN        WILLIAMS                    CO     33026050384
87B58236991523   MARIO         PORTILLO                    TX     90010632369
87B58787672B44   DANIEL        MARTINEZ                    CO     90011597876
87B58A2319152B   ROBERT        ROA                         TX     75050850231
87B5925A597125   ODILION       ESPINOZA                    OR     90008042505
87B5936A591979   GRACE         PATTERSON                   NC     17060113605
87B5941A447897   TIFFANY       NEWSON                      GA     90012204104
87B59879A41262   TAMERA        BOOZER                      PA     90011928790
87B59984951362   CHAZARAY      CURTIS                      OH     66013709849
87B5B514697B3B   DESIREE       TURNER                      CO     39092655146
87B5B526972B62   KERREK        FEARN                       CO     90012445269
87B5BA4215B326   LIDIA         LORES-LEZCANO               OR     44594320421
87B61239772B44   SETH          RICH                        CO     90013682397
87B61569633698   CAMEO         WADSWORTH                   NC     12058395696
87B61978A5B326   JULIO         NAVARRO                     OR     90003979780
87B61A81777537   FRANCISCO     CHAVEZ                      NV     90013790817
87B62817777537   SAMANTHA      TOM                         NV     90014618177
87B6328816194B   MARIA         SANCHEZ MARTINEZ            CA     46057242881
87B64584372B44   TORINA        KILLIAN                     CO     90009505843
87B64961251341   FRANCENE      FAGAN                       OH     90004939612
87B65476361928   ANGEL         ALVAREZ                     CA     90005684763
87B6582234B22B   RACHEL        SMITH                       NE     90010358223
87B65958397B3B   GASPAR        PEDRO-JUAN                  CO     90009529583
87B65A8659154B   ALEXANDER     ROSARIO                     TX     90013970865
87B66331991838   CHRISTOPHER   MENGER                      OK     90007793319
87B66489793771   ENRIQUE       FORTTIN                     OH     64508624897
87B66611431456   DANA          ROESSNER                    MO     27562046114
87B6664219154B   JESUS         MALDONADO                   TX     90013226421
87B66918997B38   CRYSTAL       ENCINIA                     CO     90002629189
87B67314777537   LUZ           NAJERA                      NV     90010673147
87B67322872B62   APRIL         ZAPOYA                      CO     90010733228
87B673AA85B326   RONNIE        GILMORE JR.                 OR     44580543008
87B67A1A297B3B   JASON         HUGGENBERGER                CO     90006600102
87B67A48451341   JOSE          SANDOVAL                    OH     66072730484
87B68599772B33   ALFREDO       GARCIA                      CO     33024305997
87B6891A971977   AMANDA        LOPEZ                       CO     90011059109
87B68A28172B46   MERCEDES      APODACA                     CO     90014660281
87B69565A2B275   IZAYAH        WILSON                      DC     90008155650
87B69729277537   AUTUMN        HORNE                       NV     90010927292
87B6B169172B44   TED           URIOSTE                     CO     90013941691
87B6B216691975   STARLETTA     MUSUNGAY                    NC     90014922166
87B6B545991979   KAWON         WOOD                        NC     90006305459
87B6B732872B44   ANTONIO       VALDEZ                      CO     90012737328
87B6B941A91337   CHARLES       DICKERSON                   KS     90013559410
87B71526372B62   MARISELA      BELTRAN                     CO     90012845263
87B71698351341   AMBER         MATTINGLY                   OH     90014726983
87B716A1272B29   ARLENE        VEGAS                       CO     90013966012
87B71A8779154B   HUGO          FAVELA                      TX     90013970877
87B7254149154B   DIANA         MUNOZ                       TX     90011395414
87B72794272B46   LILLY         SAMAIN                      CO     90012357942
87B72A29351341   JORDELL       CARR                        OH     90013160293
87B72A53551341   JORDELL       CARR                        OH     90013650535
87B7354584B53B   JEREMY        PORTER                      OK     90011305458
87B7436A691975   MARLA         BLACK                       NC     90015453606
87B744AA49154B   ARCADIA       RICO                        TX     90013234004
87B75391141262   KIMBERLY      WATKINS                     PA     90013943911
87B7562A79154B   AIDEE         MARTINEZ                    TX     90000346207
87B75853851341   DESTINY       SEDAN                       OH     90007328538
87B76235677537   JOSE          ACOSTA                      NV     90014492356
87B7638275B183   MAY           THOMAS                      AR     23091943827
87B7646A572B44   JOSE          UC-POOT                     CO     33043374605
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1387 of 2350


87B76547477537   ALEJANDRO             ROJAS               NV     90012365474
87B76733A9154B   MARTHA                LAREDO              TX     90010747330
87B76762141262   LASHAWNA              STILL               PA     90012047621
87B76994591975   TARA                  SMITH               NC     90014469945
87B77173391979   REBECA                GALINDO             NC     90014171733
87B77531672B62   ALETHA                DOLLISON            CO     90014975316
87B7774856194B   DILLION               PORTER              CA     90014257485
87B77842772B62   GRACIELA              RASCON              CO     33062108427
87B7793875B24B   BRITTNEY              DAVIS               KY     90013309387
87B78127572B46   MONIQUIE              MATTHEWS            CO     90012611275
87B7823839154B   JESSICA               AVALOS              TX     90013022383
87B7874598B154   FREDDY                TIJERINA            UT     90011527459
87B78A44197138   BOBBY KELEN           THOMPSON            OR     90013770441
87B78A5253B371   ROBERT                MARTINEZ            CO     90010540525
87B7945469154B   ROSA                  JIMENEZ             TX     90000784546
87B79471877537   DAVID                 BELL                NV     90012824718
87B79577151362   LATANYA               SPEED               OH     66050505771
87B79965472B46   LORNA                 WILSON              CO     90014109654
87B7B461693771   MONIQUE               BUSH                OH     90009314616
87B7B47649152B   NAYELY                GONZALEZ            TX     75016774764
87B7B499361928   CODY                  BEST                CA     90014374993
87B7B4A3372B44   HUMBERTO              SALAZAR             CO     33098714033
87B7B65888B168   LARRY                 TUCKER              UT     90011966588
87B7B8A3A72B44   HUMBERTO              SALAZAR             CO     90012948030
87B7B929A41262   DAWN                  DZURIKANIN          PA     51010689290
87B81128591837   ANNETTE               SMITH               OK     90010451285
87B81169172B44   TED                   URIOSTE             CO     90013941691
87B81535641262   TIARA                 MADISON             PA     51024135356
87B81739651341   ANIKA                 CLARK               OH     90014697396
87B8211A25B24B   MARIO                 MEDINA              KY     90009421102
87B8315A49152B   CLAUDIA               MISQUEZ             TX     90012161504
87B8335A497B38   MARIA                 DOMINGUEZ           CO     90013603504
87B8372A98B82B   TERST                 CHIPEN              HI     90014567209
87B83755A6194B   HICSI                 MONTES              CA     90014257550
87B8436196194B   JOSH                  WILSON              CA     90011683619
87B84392291242   AMY                   BOSTIC              GA     90004093922
87B84431A72B62   VIRGINA               AGUIRRE GONZALEZ    NM     33080774310
87B85628455971   SHATANNA              CARSON              CA     90011386284
87B85668297B38   GERARDO               ARELLANO            CO     90013106682
87B8582125B326   DARREN                TYSON               OR     90012158212
87B85826697B38   CLAUDIA               DELACRUZ            CO     39085198266
87B8645428B154   RENEE                 EDWARDS             UT     90007604542
87B86595A72B46   JESUS                 IBARRA              CO     90006805950
87B8663A38B168   CHELSEA               MCNICOL             UT     90011206303
87B86678691975   MARIA                 RUIZ                NC     17085456786
87B87315791979   MICHAEL               NUNDO               NC     90008913157
87B87424672B33   COREY                 JAMES               CO     33026964246
87B8769852B271   DARAYA                MARSHALL            DC     90000396985
87B8773774B271   KATHLEEN              LAURITSEN           NE     90002167377
87B87A1896194B   HUY                   LE                  CA     90013050189
87B8815265B326   OSCAR                 LOPEZ               OR     90010111526
87B88196277537   BRYON                 BISAUX              NV     90008051962
87B88338A9154B   LORENZA               SAENZ               TX     75068963380
87B88699A61928   VERONICA              MANZO               CA     90009166990
87B88777747897   DIANE                 CLEMONS             GA     90010277777
87B88792872B33   JUAN                  ROJAS-FLORES        CO     33091247928
87B88818272B62   JUAN                  MACIOS RAMOS        CO     90011438182
87B88A86672B28   JUSTIN                QUINONEZ            CO     90013640866
87B8B362991837   BRITTANY              RANDELL             OK     21037893629
87B8B4A3372B44   HUMBERTO              SALAZAR             CO     33098714033
87B8B66273B386   TIRZAH                STREED              CO     90007226627
87B8BA9A43B374   KEVIN                 STARKEY             CO     33015890904
87B913A915B326   CRYSTAL               TOFFLEMIRE          OR     44559203091
87B9146555B183   GERALD                TIPPEN              AR     90013264655
87B91A43591979   BARBARA               MASTERS             NC     90012670435
87B91A82497138   ROGELIO               TEXALE BELLO        OR     90011380824
87B92153251362   TIFFANY               PHILLIPS            OH     66043841532
87B921A344B531   EDNA                  WARE                OK     90010991034
87B9234189154B   MONICA                CAMACHO             TX     90006403418
87B92642561928   STEPHANIE GUADALUPE   ROSAS               CA     90011046425
87B92658A97B3B   ADRIANA               VARGAS              CO     90011506580
87B92812772B33   OMAR                  MALDONDADO          CO     90014878127
87B9324939152B   MARIA                 NIETO               TX     90013932493
87B9354423B366   JENNIFER              SOLBACH             CO     33042625442
87B94675672B29   EDUARDO               CASTANEDA           CO     90004926756
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1388 of 2350


87B94839271977   MARY           MONDRACON                  CO     90006188392
87B94992847897   BETTY          FAULKS                     GA     14010179928
87B94993A76B65   ELIZABETH      RODRIGUEZ                  CA     90013429930
87B954AA697138   GASPAR         SANCHEZ                    OR     90013454006
87B96313A61928   ADRIAN         MILLER                     CA     90007383130
87B96459298B2B   TAKIA          GARDNER                    NC     90011904592
87B96595A77537   LUISA          PANIAGUA                   NV     90012365950
87B9685565B326   JUAN J         JOVEL                      OR     44564438556
87B9767239154B   VICTOR         ARELLANO                   TX     90000236723
87B982A4572B46   TRIANNA        RAMIREZ                    CO     90006692045
87B98372133691   LASHANDA       MASHACK                    NC     90008613721
87B9838A997B38   CESAR          TEJADA                     CO     90011323809
87B9842645B27B   KIAUNA         HARRIS                     KY     90004424264
87B98525991837   LESLIE         STUTSMAN                   OK     90013955259
87B98542A91979   LEONEL         MARTINEZ                   NC     17076675420
87B98967772B46   ASHLEY         FRANZ                      CO     90011779677
87B9913A772B44   ANGELA         HERNANDEZ                  CO     33028921307
87B991AA19154B   LORENA         SIANEZ                     TX     90013971001
87B99212851341   PHYLLIS        FRAZIER                    OH     90007182128
87B9925A69152B   SAUL           TORRES                     TX     90008572506
87B9949A261928   ROSALBA        PINA                       CA     46079544902
87B9964A191975   WLEBELOR       JOHEN                      NC     17076916401
87B99981571977   BETTY          MENDEZ                     CO     90009229815
87B99A81676B65   CARLOS         PEREZ                      CA     90005370816
87B9B127361928   FATIMA         DASILVA                    CA     90014301273
87B9BA39A5B229   DORIS          MALDONADO                  KY     90011640390
87BB1457333698   VONGEREAL      LOWERY                     NC     12017764573
87BB1543776B65   JERONIMO       GREGORIO                   CA     90008175437
87BB1732291979   MINERVA        SANCHEZ                    NC     90015127322
87BB1791561928   MELVIN         SANCHEZ                    CA     46045617915
87BB214316195B   ALBERTO        BRITO                      CA     90010511431
87BB2454291837   ALMUBAYRIK     HUSSAIN                    OK     90013954542
87BB258935B183   CIERRA         PARKER                     AR     90014605893
87BB2768651341   JENNIFER       MOFFORD                    KY     90013157686
87BB3297A72B33   MARIA          SERRANO                    CO     33073592970
87BB333819139B   SUNYOUNG       JEONG                      KS     29083413381
87BB3344547897   DANIEL         MADISON                    GA     14084653445
87BB3599A51341   DEATRA         TURNER                     OH     66052505990
87BB362315B183   GWENDALLYH     DENIES                     AR     90014606231
87BB363A197B38   NANCY          BUENROSTRO                 CO     90012956301
87BB367174B22B   LINDA          FINLAN                     NE     90002266717
87BB42A9372B46   HOWARD         LINDBERG                   CO     90005842093
87BB441392182B   TRICIA         MONROE                     MN     90014984139
87BB4578A91837   BRENDA         RAYES                      OK     90009605780
87BB45A119154B   FELX           GUTIRREZ                   TX     90002625011
87BB4768651341   JENNIFER       MOFFORD                    KY     90013157686
87BB499235B24B   DEVIN          BEELER                     KY     90014689923
87BB5278776B65   JOSE           GARCIA                     CA     90000542787
87BB537A191837   SHEANE         LAMAR                      OK     90009893701
87BB569126196B   ANTONIO        HERNANDEZ                  CA     90009696912
87BB5781751341   GERSON         VENTURA                    OH     90013157817
87BB6134461928   KATHLEEN       CARTER                     CA     90014161344
87BB631A172B33   TAMMY          SIMS                       CO     90008103101
87BB7425172B83   AMANDA         LETCHER                    CO     90001334251
87BB755484B556   LYNDA          MYERS                      OK     90002435548
87BB8493991979   SANDRA         MARTINEZ                   NC     90012754939
87BB881A68B154   DEE            MARCIL                     UT     31014888106
87BB9131197B3B   JEFF           OLSEN                      CO     39036801311
87BB938464B554   JULIE          IRWIN                      OK     90010553846
87BB962435B139   ELVIS          SCROGGS                    AR     90004496243
87BB9827141262   WOODROE        WILSON                     PA     51015608271
87BB98A935B326   MARIA TERESA   ALEGRIA                    OR     90006748093
87BBB17A16B932   LAINA          JOWORSKI                   NJ     90012841701
87BBBA64972B29   JOEL           COX                        CO     33084520649
8811128948B18B   TOBIAS         ASENCIO                    UT     90006532894
88111762A5B921   REGINAL        PALMER                     ID     41076197620
88111A52872B28   STEPHANIE      FLEMMINGS                  CO     90009150528
88112159297B3B   CASSY          WAREMBOURG                 CO     90014691592
88112597A5B17B   ERNESTO        FLORES                     AR     23046885970
8811339334B53B   FALLON         CUE                        OK     90008683933
8811354929154B   EDNA           HEREDIA                    TX     75093735492
88113576372B46   IZMINE         DEVANNY                    CO     33095805763
88113A29A33698   TYRONE         SANDERS                    NC     90014510290
8811461A861928   FRANCELIA      MEDINA                     CA     90010936108
88114673872B33   PEDRO          GONZALEZ                   CO     90013576738
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1389 of 2350


88114A83261994   MARYURY      BARBOSA                      CA     46069560832
881154A6372B62   EDWIN        DUARTE                       CO     90006114063
8811596343B335   LEWIS        PLANTER                      NM     90001479634
8811611AA97B3B   FABIENNE     LA VISTA                     CO     90013661100
88116982A93771   DAVIS        BRUNER                       OH     90014599820
88116A28141262   LILLIAN      BLACKBURN                    PA     90009530281
88117157772B62   JOSEFA       MARTINEZ                     CO     33072841577
8811771633344B   PATRICK      RICHARDS                     AL     90015017163
88117A5446194B   SILVIA       PANTOJA                      CA     90005670544
8811832139154B   MARIA        SOTO                         TX     90005903213
881185A5A41275   JOI          SCHWARTZ                     PA     51017075050
88118942872B44   BRIANN       SANCHEZ                      CO     33093609428
8811943A831486   GUY          BLOUIN                       MO     27571614308
8811B425197B3B   SEAN         WRIGHT                       CO     90014814251
8812146775B139   SUNYA        BROOKS                       AR     23055584677
8812213727167B   BLAIR        DANIELS                      NY     90015571372
88122661472B33   VICTORIA     HERNANDEZ                    CO     90005856614
8812322894785B   RONNIE       HAYWOOD                      GA     90007932289
8812342A872B44   VANESSA      COLLIER                      CO     90002684208
8812348826194B   MARIA        GARCIA                       CA     90014414882
88123619772B62   STEVE        COOPER                       CO     90013176197
881239A525B139   PAM          HUNTER                       AR     23080559052
8812456A59154B   JOSE         CARDONA                      TX     90011285605
88124A26477537   JASON        CRUMP                        NV     90000870264
881264A6293771   EMILY        KURTZ                        OH     64548894062
88126585272B44   SANDRA       GARAY                        CO     90005725852
8812674519154B   LILIANA      POLENDO                      TX     90014717451
8812927768B168   ANTHONY      CLAYTON                      UT     90008122776
8812B426891979   ADDISON      INGRAM                       NC     17027814268
8812B658241275   HECTOR       ACOSTA                       PA     90013696582
88131141372B46   MAXIMIOIAN   PHILLIPS                     CO     90015161413
88131458772B62   DANIELLE     EMERY                        CO     90006514587
88131881A33B33   DESIRE       WATKINS                      OH     90014768810
8813228439154B   NORMA        MARTINEZ                     TX     90005632843
8813281188B154   RICHARD      CRAHAL                       UT     31014638118
8813312872B896   MON MAYA     SARKI                        ID     90013471287
8813397A34B22B   SHERRI       HARRIS                       NE     27045889703
8813429759154B   MARIBEL      ROJAS                        TX     90013752975
881343A1351362   ROBERT       WEBER                        OH     66007233013
8813469A997138   CLAUDIA      RIOS                         OR     90013636909
8813491995B27B   TI           WOODFORK                     KY     68061309199
8813569A997138   CLAUDIA      RIOS                         OR     90013636909
88135A98272B44   JEANNA       FOUOK                        CO     90012730982
881368A863344B   E'SHA        COLEMAN                      AL     90013998086
88136977972B44   MARIA        VAZQUEZ GUTIERREZ            CO     90014339779
881371A1371977   DAVID        SANCHEZ                      CO     90012421013
8813747854B524   MIGUEL       RAMIEREZ-GONZALEZ            OK     90010804785
88137884972B29   ROSENDO      RUFINO ROJO                  CO     90014838849
88138613372B46   TRSNESHA     PRINCE                       CO     90014486133
881394A9772B44   ADRIAN       ARAGON                       CO     33046064097
88139821172B33   MATTHEW      JOHNSON                      CO     90007648211
8813B2A176194B   REXIE        LOKEAGAGAS                   CA     46019012017
8813B411972B29   VALLERY      WHITE                        CO     90014324119
8813B47149154B   CHRISTOPHE   MORRISON                     TX     90009814714
8813B49A561928   BRITTANY     WELLS                        CA     90012614905
8813B548772B44   MARTHA       CORIA                        CO     33014355487
8813B615172B46   BIANCA       HOPKINS                      CO     90003676151
8813B695397138   BRIANA       LOONEY                       OR     90014796953
88141256872B62   ALAN         GARCIA                       CO     90013542568
8814255AA97B3B   ADDILYN      LAMBERT                      CO     90013865500
88143131A51341   LASHELL      DAVIS                        OH     90010291310
881434A7471977   MARTIN       CHACON                       CO     90014494074
88143A56597138   JESSICA      HESS                         OR     90013790565
8814462669154B   ZULMA        SILVA-TORRESCILLAS           TX     90007036266
881446A5855945   GLORIA       NOGUERON                     CA     90012886058
8814515A43344B   SHEKEIDRA    MARTIN                       AL     90014571504
8814553A541275   ANGELO       KING                         PA     90011095305
8814649245B27B   DONNIESE     BRADLEY                      KY     68038174924
88146595172B44   LUZ          MARIA MENDEZ                 CO     33095935951
88146699797B3B   MAIRA        MEDRANO-LUCERO               CO     39042086997
8814771512B271   DONITTA R    SMITH                        DC     90001877151
88149344A72B44   FEDERICO     GUZMAN                       CO     90015163440
8814B243141275   GRACE        HERRIOTT                     PA     51049572431
8814B372277537   JENNIFER     SIDES                        NV     90003993722
8814B8A895B24B   SARAH        LEVINESS                     KY     90010788089
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1390 of 2350


88151136A72B29   SUZANNE       ARGUELLO                    CO     33081211360
88151649772B44   LAKISHA       ROBINSON                    CO     33000306497
8815167938B154   PAUL          REICH                       UT     31074366793
88152362A9154B   EDWIN         OCHOA                       TX     75084773620
8815276533B321   ENRIQUE       POSADA                      CO     90000467653
88152953472B33   JUPITER       BARRETO                     CO     90014779534
88153714472B29   ANNA MARIE    ESCAMILLA                   CO     90004517144
881538A5A91837   TARA          MCDONALD                    OK     21040588050
8815481469154B   MELISSA       ECHAVARRIA                  TX     90013058146
88154977872B29   FABIOLA       CISNEROS-GUERRERO           CO     90014059778
88155616272B46   ANDREW        PIZZA                       CO     90006076162
8815577153344B   PRESWA        OWENS                       AL     90014507715
88156659A61928   GUADALUPE     FELIX                       CA     90001836590
8815695828B168   ANTHONY       TRUJILLO                    UT     90013739582
8815699925B24B   GERADO        ALVARADO                    KY     90010759992
8815754368B168   MICHAEL       BURRIS                      UT     90015105436
88157824572B44   ROBERT        HARLEN                      CO     90012958245
88157985A93771   JAMES         HAMILTON                    OH     64542729850
881589A999154B   SANDRA        PEREZ                       TX     90011489099
88159642172B44   CODY          MEJIA                       CO     33023076421
8815B251272B29   MIKE          JENKINS                     CO     33039042512
8815B549233698   DIANA         LOWE                        NC     12085035492
8815B58A28B154   ANTONIO       TRIGOS                      UT     90007035802
8815B5A2277537   SHANNA        PORTERA                     NV     90012055022
8815B75162B896   MALLISSA      MORRIS                      ID     42043967516
8815B899141262   MARZETTA      WILLIAMS                    PA     51000998991
88161AA7355945   RAMON         ALVAREZ                     CA     49001210073
88162159972B62   ISELA         ORTIZ                       CO     33050141599
881621A8433698   RAVEN         HOOKER                      NC     90000141084
88162311897B3B   DIANNA        NORMAN                      CO     39048123118
8816265127B339   CATHERINE     MORGAN                      VA     90010546512
8816464169154B   ESTEBAN       LEANOS                      TX     75084776416
88165738872B33   MARGARITA     MENA CONTRERAS              CO     33031927388
8816579172B896   DONALD        HOBBS                       ID     90000817917
881658A9172B29   AMY           SARGENT                     CO     33070658091
88166389372B62   DEANN         REIBER                      CO     90002793893
8816715133344B   INDIA         MINTZE                      AL     90005261513
8816772499125B   DESIREE       SMITH                       GA     90006787249
88167935872B62   JOSE          TACU                        CO     90013239358
8816957215B27B   DIANA         CAMO                        KY     90013655721
88169682672B29   JUAN          ORELLANA-LANDAVERDE         CO     90015166826
8816984683344B   CUTERIAL      THOMAS                      AL     90004568468
8816B157872B33   ANDY          TRINH                       CO     90014441578
8816B319897B3B   JUAN          GONZALEZ                    CO     39078263198
8816B6AA272B29   ZACHARY       BRENNECKE                   CO     90013756002
8816B98978B135   EMILY         DETWEILER                   UT     90012039897
8816B9A9A77537   GRISDELY      HERNANDEZ                   NV     43048919090
8817136A94B22B   LEO           FLOWERS                     NE     90011923609
8817175914B569   LISA          ROLLINGS                    OK     90008307591
88173169997B3B   CEYRA         SEXTON                      CO     39095981699
881735A5277537   ATLEE         ARVIZO                      NV     90009835052
8817425A672B44   JENETE        CHAVARRIA                   CO     90005382506
88174475872B62   NORMA         CALZADA                     CO     33089854758
8817481A493771   JOSEPH        TUCKER                      OH     90006458104
88174965172B29   JOHN          SHERWOOD                    CO     33068489651
8817535648B168   ANGELA        HAMILTON                    UT     90008043564
8817586A171977   PATRICK       CANCINO                     CO     38095588601
88176285172B33   STEVEN        RUIZ                        CO     90014112851
8817664A17B338   EDDY          GONZALEZ                    VA     90010016401
8817681A74B22B   THOMAS        SOBETSKI                    NE     27046558107
8817783885B183   KELVIN        WALKER                      AR     23029648388
88178135997B3B   MARIA         TRIANA                      CO     90003891359
88178475972B46   AMANDA        APPLEGATE                   CO     90008574759
88178A6675B27B   ROSALINDA     HERNANDEZ DE SOTO           KY     90012890667
8817957215B27B   DIANA         CAMO                        KY     90013655721
8817989AA91979   CHRISTOPHER   MCCLOUD                     NC     90014658900
881799A5597B3B   KORI          MORSE                       CO     39096619055
88179A12977537   ELAINE        BISHOP                      NV     90013690129
88179A97493771   RONALD        WENING                      OH     90006280974
8817B215972B33   RUBEN         BERNAL                      CO     33060312159
8817B843655989   ALVARO        AVARCA                      CA     90011188436
8817B85333B359   EVELYN        SANDERS                     CO     90013778533
8818144455B139   KRYSTAL       PHILLIPS                    AR     23010174445
881814A969154B   JOSE          AGUILAR                     TX     90014214096
88181645272B44   JENNIFER      MUNOZ                       CO     33002216452
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1391 of 2350


88182369197B3B   DANIEL        VASQUEZ                     CO     90013523691
88182478172B33   SHAKIR        ABDULA                      CO     90010334781
881824A6393771   MARLENE       CLARK                       OH     90009944063
8818272339154B   ARMANDO       FLORES                      TX     90006437233
881827AA49154B   MARTHA        GALLEGOS                    TX     75039437004
88182A62855945   BALJINDER     RAI                         CA     90010260628
881833AA293771   TOMMY         SPIJKERS                    OH     90011193002
881837A315B27B   KIERSTEN      HOLT                        KY     90013707031
8818398A89154B   LUIS          AVALOS                      TX     90002629808
881846A399154B   RUBY          AGELAR                      TX     75018006039
88185AA469154B   MELISSA       MARTINEZ                    TX     90005790046
8818612322B896   SHANE         CORNIA                      ID     90006161232
8818627965B59B   ELIZABETH     DEVILLICANA                 NM     90000402796
8818639939154B   PERLA         TORRES                      TX     90014863993
88186A99555945   CUTBERTO      ACEVEDO                     CA     49012840995
8818749759154B   MARIE         MORENO                      TX     90012244975
8818753562B896   GREGORY       BRUCKS                      ID     90008975356
881876A4172B62   PHILIP        ALVARADO                    CO     33098416041
88187974272B46   LAURA         LEE GILLIAM                 CO     90000969742
88188162772B62   CARRON        FRANCES                     CO     90012721627
88188218272B33   J             ORTIZ                       CO     90003132182
88188443A97138   SUSAN         MARIE HAINES                OR     90003054430
88188613A51341   WILLIAM       GRAY                        OH     90014886130
8818968A497B38   MELISSA       MURRAY                      CO     39083166804
88189882197B3B   JANICE        JONES                       CO     39033078821
8818B156433658   GRACIELA      CHAIREZ                     NC     12064551564
8818B325497B3B   ROCHELLE      DIXON                       CO     90013053254
8818B35223344B   BRITTANY      LOCKETT                     AL     90014173522
8818B77629154B   SALVADOR      ROCHA                       TX     75087917762
881913AA561928   MERRICK       MCCARTHA                    CA     90013993005
8819143A572B33   MONICA        ENRIQUEZ                    CO     90012244305
8819152A29154B   SAMUEL        VILLAGRANA                  TX     90014605202
88191933272B44   BERTAALICIA   PORRAS                      CO     90005619332
88191A8A541275   PHILLIP       LEFFEW                      PA     90010340805
8819346A661928   YOLI          SANABIA                     CA     90000264606
8819359A497B3B   DAN           FURLANI                     CO     90002275904
8819363339154B   ROSAURA       ALFARO                      TX     90011286333
881937A1841275   DENNY         ROBINSON                    PA     90014047018
8819382AA91837   TAMMY         WALTON                      OK     90014908200
881938A1A3344B   JAQUELA       DOLEMAN                     AL     90015178010
881938AAA93771   TRACIE        EDWARDS                     OH     90010718000
881951A3897138   BONNIE        DIMINNS                     OR     90003801038
88195557197B3B   JORY          BILLINGS                    CO     90009245571
8819597955B24B   VALETIA       SPINKS                      KY     68026539795
881966A1391969   DIONNE        JACKSON                     NC     90009366013
88196A76991837   STEPHANIE     CHASMA                      OK     90008670769
88197326872B46   FRANCISCA     LOZOYA                      CO     33008303268
8819771A691837   GLORIA        CASTILLO                    OK     90012427106
8819789A457138   VICTOR        MARTIN                      VA     90003518904
88197A87897138   RICHARD T     RIDLEY                      OR     90014140878
881982A3633698   TAREASA       POPE                        NC     90009362036
8819835422B896   STEPHANIE     FOURNIER                    ID     90011593542
88198355A71977   RUBY          VALDEZ                      CO     90014353550
88198615772B62   MELISSA       MESTAS                      CO     90014356157
8819866A24B583   SHARENDA      PARKS                       OK     90013926602
88198A55151362   ANDREA        ANDREWS                     OH     90011840551
881993A8272B29   SARAH         LAWSON                      CO     33072643082
8819969125B17B   RONNIE        SMITH                       AR     90014516912
88199A9A972B62   STEVEN        BROWN                       CO     90008150909
8819B128684362   PEDRO         SANTIAGO LOPEZ              SC     90010651286
8819B274297B38   KRISTINA      DERRERA                     CO     90012882742
8819B274872B46   JACK          HOWARD                      CO     90001322748
8819B555797138   CHRISTINA     HARTLESS                    OR     90014805557
8819BA4649154B   MARTHA        OCHOA                       TX     90011300464
881B1279272B62   MICHAEL       TORRES                      CO     90013932792
881B172A557145   SHAREE        CHAMBERS                    VA     90014487205
881B17A1391837   JACKIE        GOODMAN                     OK     90007267013
881B234572B896   STEVE         BURTON                      ID     90008793457
881B2453677537   GANANDIP      KAUR                        NV     90010854536
881B266A697138   NICOLE        PALACIOS                    OR     90014386606
881B312274B22B   ERIN          JONES                       NE     90004881227
881B3182161928   DION          NAUARRETTE                  CA     46018171821
881B33A1272B44   VALERIE       SLOAN                       CO     90012943012
881B371815B229   CHRIS         WADE                        KY     90013667181
881B3739161983   BEATRIZ       WILLAMINSON                 CA     90013377391
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1392 of 2350


881B3754771977   JUSTIN        HORN                        CO     90001067547
881B3862272B46   JANET         MARTINEZ                    CO     33032198622
881B4338697138   VICTOR        CORTEZ                      OR     44002313386
881B444213344B   JASON         WEST                        AL     90014884421
881B477A493771   PEGGY         COMBS                       OH     64529077704
881B5595572B62   LEOPOLDO      RIVERA                      CO     90008915955
881B596678B159   JOYIA         SEAMAN                      UT     31031439667
881B652749188B   BETHANY       KUHN                        CO     90000945274
881B6629397138   ROBERT        COOPER                      OR     90014796293
881B756375B183   ANTONIO       RODGERS                     AR     23082345637
881B769A24B22B   ANDREW        MENARD                      NE     90013136902
881B7854397B3B   LEROY         HAYWARD                     CO     39083618543
881B78A4393771   WILLIAM       CARTER                      OH     90012958043
881B8153177537   JENNIFER      GALLEGOS-GARCIA             NV     90013021531
881B8251572B62   JESSIE        GARCIA                      CO     90014702515
881B8453A8B154   MELANIE       ANDERSON                    UT     31064594530
881B8722797B3B   LYNELL        RAMIREZ                     CO     90008767227
881B9246781627   CHERRIE       MILLS                       MO     29071672467
881B9248177537   JOEL          CERVANTES                   NV     90013752481
881B941625B139   ALICE         CHALK                       AR     90001264162
881B989162B246   CHRISTOPHER   DIXON                       DC     90004148916
881B9919551577   JEFF          MEYER                       IA     90014499195
881B9A6AA91979   MILTON        EVANS                       NC     90004110600
881BB383872B46   DERIK         HODGES                      CO     33026913838
881BB48A697B3B   DANNY         MEEHAN                      CO     90013284806
881BB672661928   SARA          HIDALGO                     CA     90012166726
881BB695177537   JULIAN        MANCEBO                     NV     43016976951
8821138AA4B22B   SETH          CROFT                       NE     90007623800
8821167A371977   GERALD        WHIPPLE                     CO     90010306703
882119AA172B62   EVELYN        IRVIN                       CO     33075549001
88211A59172B44   DAVID         AMARO                       CO     33068520591
8821264979154B   NANCY         AGUILERA                    TX     90011286497
8821366443344B   KENDRA        HILL                        AL     90012936644
8821398A38B154   BRET          SMITH                       UT     31012829803
882143AA377537   JEFFERY       WATKINS                     NV     90014413003
88214962272B33   BARBARA       LENDSEY                     CO     33079579622
882149A4472B29   WILLIAM       SHEDD                       CO     90010499044
88214A38877537   JEFFERY       WATKINS                     NV     90013420388
88215259972B29   ARMIDA        CHAVIRA                     CO     33091452599
88216783172B31   JENNIFER      SMALLWOOD                   CO     90013377831
8821689949154B   MYRNA         RENDON                      TX     90013568994
8821693424B561   CHELLY        WELLS                       OK     90012469342
88216A3378B154   THOMAS        JAY                         UT     90011070337
882178A1372B29   MARISOL       TORRES                      CO     90011068013
88217A3628B154   LUIS          TREJO                       UT     90006410362
882191A7797B3B   SALVADOR      HERNANDEZ LOPEZ             CO     90015241077
8821966653143B   BRYAN         PARSONS                     MO     90002246665
8821B64859154B   NIGUEL        OROSCO                      TX     90011286485
8821B842881658   KEVIN         STEWART                     MO     90003378428
8822129494B22B   GENIFER       DAVIS                       NE     90005222949
8822131A572B46   YURI          PERALTA                     CO     90013243105
8822178922B896   THOMAS        FREINWALD                   ID     90014707892
882219A4997B21   CHRISTOPHER   SHARP                       CO     90010839049
8822237455B27B   ALISON        GARRETT                     KY     90003163745
8822266339154B   SAMUEL        SOTELO                      TX     90011286633
8822284993344B   KAREN         DOZIER                      GA     15079538499
882228A8672B46   BONNIE        MASCARENAS                  CO     90013818086
88222A63872B44   JUSTIN        LOPEZ                       CO     33010980638
88223821272B44   FLORES        VERONICA                    CO     33010088212
88223915172B46   MONICA        LEE                         CO     33013869151
8822512AA97B3B   AUDRINA       TORRES                      CO     90002721200
8822516373B39B   PAUL          GOLDEN                      CO     33095051637
882251A8991837   HECTOR        LOPEZ                       OK     21053371089
88225A29972B62   MARCOS        GUTIERREZ                   CO     90012240299
8822635865B27B   SUSANA        SALAZAR                     KY     90015263586
8822662454B22B   TAMI          ERICKSON                    NE     27008216245
88226A69961922   JOHN          ANDREWS II                  CA     90006650699
8822767A772B46   RIKKI         PETTY                       CO     90012856707
882278A1A72B62   JOSE          REMIREZ VALDERRAMA          CO     90005028010
88227A4678B131   DIEGO         ORTEGA                      UT     90015040467
8822833149154B   EDICA         RENTERIA                    TX     90009753314
8822914943B328   FLORA         MORENO-MIRANDA              CO     90000671494
8822941162B896   TINA          GREGORY                     ID     90011594116
8822B1A3561988   SUE           MALAN                       CA     90002261035
8822B24422B271   MARK          PONDER                      DC     81002992442
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1393 of 2350


8822B261293771   MARSHA       SCOTT                        OH     64579742612
8822B326A72B33   LARRY        ROBINSON                     CO     33041553260
8822B65142B827   JEFF         CANAS                        ID     90008386514
88231374497B3B   LEE          DECKER                       CO     90012723744
8823159799154B   ANDRE        WASHINGTON                   TX     75056985979
88231659A61928   GUADALUPE    FELIX                        CA     90001836590
88232A8849193B   DENISE K     REAVES                       NC     90009110884
8823317A897138   RICARDO      GONZALEZ BENITEZ             OR     44085711708
88233663897B38   STEVE        FUERTE                       CO     39029126638
882361A1A72B46   MICAH        MOFFETT                      CO     33090401010
8823624522B896   SAMUEL       VALENCIA                     ID     90014672452
88236686397B38   JENNIFER     FORGASH                      CO     39080186863
88237368172B44   BRILLIT      VALDEZ                       CO     90009343681
882374A9243525   TSEHATE      YIFT                         UT     90008244092
88237751872B62   LEIGH        MAYES                        CO     90012797518
8823825A341275   SANDRA       CUBAKOVIC                    PA     51024302503
88238834197B3B   MARIA        VEGA                         CO     39000058341
88238936A77537   CLAY         SMITH                        NV     90014439360
88239674472B44   VICTORIA     THOMAS                       CO     90010376744
88239724A8B154   EMILIA       PLANCARTE                    UT     31075667240
8823979A65B24B   AUSTIN       PATTON                       KY     90010587906
882398A5272B46   LANARAE      BARRON                       CO     90002678052
88239934A97B3B   JAMES        VALDEZ                       CO     90014019340
8823B136391837   JIM          GRAHAM                       OK     90007091363
8823B731851362   GRECIA       RIVAS                        OH     90005747318
88241372972B83   RAYMOND      AYON                         CO     90009703729
882414A2555945   REGINA       BORJA                        CA     90003724025
88241695A72B46   RACHAEL      CUPIT                        CO     90013096950
88241897472B83   RAYMOND      AYON                         CO     90015198974
8824214A45B27B   CARLOTTE     WOODS                        KY     68002761404
88242276497B3B   JUDITH       RHODES                       CO     90013752764
88242358172B46   JASMIN       CATALFANO                    CO     90010083581
8824294732B271   DARUS        LONG                         DC     90006689473
882429A2251362   ELBA         JIMENEZ                      OH     66092929022
88242A2453344B   JOHN         BROUSSARD                    AL     15065640245
882433A4661975   RABERTO      MEDINA                       CA     90011763046
88243543A51341   VIVIAN       MILLS                        OH     90014325430
8824387A457121   WILLIAM      STRANGE                      VA     90001248704
8824466762B896   SAUL         CUEVAS                       ID     90004826676
88245964297B38   BILLIE       WETZLER                      CO     39011219642
8824624522B896   SAMUEL       VALENCIA                     ID     90014672452
8824629648B168   MONICA       DASILVA                      UT     90008122964
88247177672B93   ZOO          YORK                         CO     33090101776
88247A93471977   DANIELLE     GONZALES                     CO     90013520934
88248A96571977   LINDSEY      MINJAREZ                     CO     38091890965
88249616997B3B   LAWRENCE     DART                         CO     90009246169
8824B121772B62   ELIJAH       GUSTAFSON                    CO     90012701217
8824B3A8741262   DREW         DUNSWORTH                    PA     90010963087
8824B482193771   PAULA        WEAVER                       OH     90006954821
8824B798833698   MICHAEL      TURNER                       NC     90009747988
8825262937B356   MIGUEL       HERNANDEZ                    VA     90001136293
8825352724B556   SUZANNE      GAYTAN                       OK     90008955272
8825448815B27B   LAYLA        CAFFEE                       KY     68058484881
8825457118B154   SANDRA       URGILES                      UT     90003865711
88254866A5B24B   RIO          MURDOCK                      KY     90010588660
88254882772B62   SANDRA       CASTILLO                     CO     90010788827
88254948772B46   LARRY        ROMERO                       CO     33062759487
882557A319154B   MARIBEL      GONZALEZ                     TX     90011287031
88255A3A597B3B   ALEXIS       RHYNARD                      CO     90008210305
882563A5272B33   AMANDA       RUBIO                        CO     33083823052
8825643845B27B   STEVEN       GIBSON                       KY     90011824384
882578A1171977   JULIE        VERNETTI                     CO     38032558011
8825831779154B   MARICELA     CRUZ                         TX     75036313177
88258572A8B168   ASHLEY       KOLBE                        UT     90013715720
8825912628B164   JESSICA      KLEMM                        UT     90007771262
882593AA797138   ADA          OLYMPIA BLACKLEDGE           OR     44063383007
8825948A672B62   JOSE         ROSALES                      CO     90007214806
88259A4112B896   CHUDA        RIMAL                        ID     90003270411
8825B157451341   ASHLEY       CLARK                        OH     90003701574
8825B1A1972B44   ALMA         OROSCO                       CO     90008091019
88261557872B46   RICARDO      CALLEJA                      CO     90013655578
8826163172B896   OSCAR        JUAREZ                       ID     90013366317
88261814897B3B   RICARDO      VELAZCO                      CO     39052188148
88262334997B3B   MARIA        ALONSO                       CO     39013853349
8826297A297B3B   DAVID        FRAGOSO                      CO     90010649702
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1394 of 2350


88263927A7B379   RAHMA        ADEM                         VA     90007329270
88263A98477537   GABRIELLE    QUERO                        NV     43044120984
8826426448B168   BRYAN        KING                         UT     90007282644
882647A3272B44   ALBERTO      TORRES                       CO     90005127032
88265431372B44   ESTELA       FLORES                       CO     33081774313
8826587755137B   SHARRON      KAUFMAN                      KY     90001258775
88267348A71977   BOBBIE J     MONTANO SR                   CO     38007523480
88267415897B3B   BRIAN        CALCARI                      CO     90011014158
88268A53477537   CLAUDE       NORRIS                       NV     90004000534
88269474A97B21   GLENN        BURGER                       CO     90013864740
8826B247697B3B   FAUSTINO     MIRANDA                      CO     39067822476
8826B35829154B   NANCY        BASTIDOS                     TX     90014903582
8826B414984371   KEISHA       EDDINGS                      SC     90004124149
8826B48888B154   SALLIE       STONEBRAKER                  UT     31005334888
8826B521197138   GIOVANNA     BUSTAMANTE                   OR     90011765211
8826B67485B27B   LEONEL       PEREZ DEL PINO               KY     90014986748
8826B921955945   ELIZABETH    MOHSEN                       CA     90014169219
8827184569154B   YOLANDA      TORRE                        TX     90008188456
88271A36A97B3B   ELIZABETH    RAMOS                        CO     39047100360
88272427872B62   WILFREDO     FLORES                       CO     90014614278
882724A4372B44   DONNA        MICHEL-DOW                   CO     90012954043
882725A2971977   LAWRENCE     VIGIL                        CO     90009805029
88273352972B46   AIDE         PARA                         CO     33033013529
882734A5A72B44   SERINA       GALLEGOS                     CO     90012954050
88273669397B38   VERONICA     GOMEZ                        CO     90003286693
88273A67597138   DAISY        CRUZ                         OR     90014820675
88274141272B46   NANCY        QUIROZ                       CO     90013221412
88274934A5B24B   AMANDA       COLLIER                      KY     68007459340
88274A38191837   NATALIE      HILLARD                      OK     21093400381
88274A38771977   ARTHUR       HERNANDEZ                    CO     38080240387
88275495A71977   DANIEL       NEALES                       CO     90015164950
8827564728B168   LISA         LASKOWSKI                    UT     31033626472
8827564829154B   MARIBEL      TAPIA                        TX     75071726482
882756A8751341   ANGELICA     CLINE                        OH     90015166087
88276716572B29   JODI         NORWOOD                      CO     33051987165
88276A83A97138   TRACEE       SWIFT                        OR     90014820830
882771A7241275   MATT         GIBSON                       PA     90014001072
8827813822182B   ETHEL        FARRELL                      MN     90015261382
88278793872B29   JOEL         LOPEZ                        CO     33027117938
8827891938B168   ANTHONY      MAESTAS                      UT     90014969193
8827897129154B   VERONICA     LOZANO                       TX     90015199712
8827898A347897   MAKELA       LOVE                         GA     90006149803
882789A745B24B   ROBERTO      PADILLA                      KY     90010589074
88278A93391979   JENNA        WHITAKER                     NC     90014790933
88279A7A471977   SHARON       BAROS                        CO     90000330704
8827B78A397138   ASHLEY       PURCELL                      OR     90011777803
88281279672B44   LINDSEY      SISNEROS                     CO     33019792796
88281972172B33   GLORIA       MORALES                      CO     90009119721
88281A12A51341   ANGELA       MEYER                        OH     90009750120
88281A38341262   CARL         WRIGHT                       PA     90013060383
882822A4971977   AMANDA       MAYER                        CO     90012302049
88283145772B46   RHONDA       DIAZ                         CO     33028191457
88283425197B3B   SEAN         WRIGHT                       CO     90014814251
88283433272B33   MANUEL       HERNANDEZ-MARTINEZ           CO     90006514332
88283798A72B29   MARIA        AGUILAR ALVARES              CO     33075217980
88283976A33698   SAMANTHA     SANDY                        NC     90013609760
88285184172B29   DENNY        MITVHELLE                    CO     90012601841
88285621872B83   SUMMER       EMERY                        CO     90001646218
882856A145B338   BENFIL       RAMIREZ                      OR     90007876014
8828571912B896   HILDA        MARTINEZ                     ID     90002037191
88285754A8B168   MATTHEW      WOOD                         UT     90012707540
88285AA2372B62   JUANITA      DOMINGUEZ                    CO     33051710023
882864AAA71977   DESIREE      ESPINOZA                     CO     90015004000
882865A959154B   MICHELLE     LICON                        TX     90014475095
8828825469154B   GUADALUPE    QUIROZ                       TX     75030262546
88288817A41262   LEETASHA     MOORE                        PA     90010998170
8828B323A41262   ZEBULUN      PAGGE                        PA     51079863230
8828B381477537   FAHAD        RAZZAQ                       NV     90010903814
8828B459155945   JOEL         GUERRERO                     CA     90014184591
8828B514933698   JOHN         BAKER                        NC     90007505149
882911A772B981   LARRY        VALDEZ                       CA     90007591077
88291492797B38   THOMAS       TORRES                       CO     39045724927
8829221A52B265   ROSS         THOMPSON                     DC     90009822105
88292225372B44   ARTURO       DOMINGUEZ                    CO     33067242253
8829312AA51341   CALVIN       THOMPSON                     OH     90011171200
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1395 of 2350


88293685672B46   TAI             SANDERS                   CO     90004106856
88294487272B93   DANIEL          WALKER                    CO     33084174872
88294622472B46   KONRAD          KAY                       CO     90011646224
8829466A361928   AGUSTINA        APARACIO                  CA     90008526603
8829548A272B46   ILIA            DEMBE                     CO     90008574802
8829552A181627   SHEMIKA         MAJOR-NORFLEET            MO     29031655201
88295597172B33   MAURO           COLOMO                    CO     33051365971
88295A78791837   ELVIN           MEDINA                    OK     21084960787
8829679787242B   NIKITA          WALLACE                   PA     90011577978
882974A2357128   LUIS            PEREZ                     VA     90006824023
88297913672B62   ARLENE          HUDSON                    CO     33076419136
8829893252B896   JESSICA         HOLLINGER                 ID     90006409325
88298A3A555989   ELIZABETH       MURILLO                   CA     90007830305
88299876A72B29   S               ALLAH                     CO     33016378760
882998A8A72B62   JOHN            BOTSFER                   CO     33028588080
882998A9772B33   TYWON LAVELLE   ANDERSON                  CO     90012098097
88299A61541262   CHEMERS         STANLEY                   PA     90012650615
8829B12328B168   LEXI            ROSS                      UT     31060661232
8829B281341275   LAMAND          TAVIS                     PA     90009212813
8829B618441262   SAMUEL          BURTON                    PA     51075786184
8829B62A172B46   JOCELYN         GONZALEZ                  CO     90011646201
8829B673151362   ORIEA           BAEZ                      OH     66063346731
8829B74819154B   MARIELLE        PEREZ                     TX     75045757481
882B126A29154B   MARTIN          MARTINEZ                  TX     90015202602
882B131625B27B   TERAH           NEWMAN                    KY     90013233162
882B142A33344B   JAY             CROWELL                   GA     90009874203
882B157A197138   BRENDA          JANETTE CARRASCO LAR      OR     44040985701
882B1646197B3B   BALBINO         OQUELI                    CO     39005646461
882B181572B896   AMANDA          VALERIO                   ID     90008368157
882B1842193771   GELACIO         CORTES                    OH     90010948421
882B1876641275   MELISSA         MARTINEZ                  PA     90014868766
882B1978436155   BOBBY           MARTINEZ                  TX     90013129784
882B212253344B   DALWOYN         PERRY                     AL     90015201225
882B234342B896   KEVIN           DAVIS                     ID     42007103434
882B2AAA172B46   YADIRA          CALDERON                  CO     90005620001
882B366755B24B   CRYSTAL         DUGAN                     KY     90010586675
882B3851941262   BRANDON         FAUCETTE                  PA     90012578519
882B39A3691242   KENNETH         BRYANT                    GA     90006459036
882B3A16361928   ANA             SILVA                     CA     46072010163
882B448999373B   SHEENA          SMITH                     OH     90011224899
882B4696151362   ZANETTA         WILLIAMS                  OH     66019936961
882B5382493771   JAISLEE         WALLER                    OH     90009953824
882B5392572B29   ADRIANA         ZAMORA                    CO     90012443925
882B5512655945   MATRA           AGUILERA                  CA     90012635126
882B5711A97138   DANIEL          KREBS                     OR     90014807110
882B5734172B33   DON             GRHAM                     CO     90003747341
882B5958A72432   CHIP            DOLFI                     PA     51012339580
882B658665B24B   ERICA           RALSTON                   KY     68048555866
882B7373272B44   COREY           MICHEL                    CO     90012953732
882B73A7893771   BILLIE          KOURY                     OH     90012053078
882B7484397138   RODRIGUEZ       ARMANDO                   OR     90002554843
882B7692197B38   ROBERTO         ORTIZ MARQUEZ             CO     39014366921
882B7736871977   ROBERT          LUCERO JR                 CO     90013477368
882B78A6851341   JULIE           MAXWELL                   OH     90013958068
882B8416872B44   ALFREDO         SANDOVAL                  CO     33068624168
882B966845B27B   KEVIN           BURT                      KY     90014866684
882B976868B154   CD              REDDISH                   UT     31018007686
882B994223344B   VANESSA         ROMERO                    GA     90000589422
882BB62A772B62   CHRISTINE       WATSON                    CO     33043006207
882BB681447897   ERIC            DANIELS                   GA     90002066814
8831112A197138   SUSANA          MORALES CARDENAS          OR     44085271201
8831128A791837   SAMANTHA        BLACK                     OK     90014702807
88311771A5135B   JESSE           EVANS                     OH     90012467710
88311A77384371   HECTOR          CASAS                     SC     19016830773
88311A89A72B29   BERNICE         GARCIA-SAUCEDO            CO     90005990890
88312227172B29   ISABEL          SEGOVIA                   CO     90000832271
88313881697B3B   CHRIS           KAPITY                    CO     39095518816
8831447378B154   CAROLYN         PRODNUK                   UT     90010494737
8831449723344B   DERRICK         JONES                     GA     15076974972
8831495A193771   ALIKAI          HOWARD                    OH     64590119501
883151A2A72B29   TANIA           BURCIAGA                  CO     90013461020
8831521495B17B   LOUWANDA        MCGEHEE                   AR     23049112149
88315541897B3B   BENITO          VILLALOBOS                CO     90005975418
8831664828B168   CORY            SACKETT                   UT     31038486482
88316A17A5B183   MATILDE         PALOS                     AR     90003180170
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1396 of 2350


88317156586B6B   KURT          STEIGER                     CT     90013231565
8831724933344B   TEQUILA       HORTON                      AL     90012872493
8831742999154B   TONY          RIVERA                      TX     90005414299
88317652A8B154   CARLOS        MANCILLA                    UT     90003706520
883178A1355989   JUAN          MORENO                      CA     90006058013
8831827A277537   FELIPE        ALVA                        NV     90012122702
88318632572B46   ERIC          MAY                         CO     90011646325
8831869A491979   LATIFFANY     GRAHAM                      NC     90014256904
88319119672B62   ARYLN         MONGE                       CO     33002751196
8831B121655945   MONICO        ALJANDREZ                   CA     49083801216
8831B42715B27B   JON           RUTLEDGE                    KY     90005984271
8831B44467B362   JUSTIN        OSEI                        VA     90000294446
8831BA14433698   DEMETRICK     BAKER                       NC     90012760144
8831BA34472B62   BATES         TERREION                    CO     90007690344
8832125625B24B   EVELIN        SIGUENZA RIOS               KY     90009422562
88321635697B38   SHARMAGNE     STEELY                      CO     39073826356
883219A2255945   FIONNA        MANNING                     CA     90011039022
88322619872B33   AERNI         LYTLE                       CO     90004506198
88322742597B3B   JEANETTE      MENDOZA                     CO     90013767425
8832283382B271   ANA           RODRIGUEZ                   DC     81014838338
8832291554B575   JESIKA        CASTRO                      OK     90012439155
8832298675B27B   FANTA         GRIFFEN                     KY     68058509867
88322A78881627   JANISHA       THOMAS                      MO     90010830788
8832363638B168   JARED         HEPLER                      UT     90003556363
88323655397B3B   LINDSEY       STAGMEYER                   CO     39079186553
8832396AA2B271   JOHN          GASKINS                     DC     90002819600
88323A2696194B   INDIA         SWANSON                     CA     46061220269
88323A8765B24B   MARILIN       SALAZAR-MARTINEZ            KY     90010590876
8832414262B271   IESHA         WEBB                        DC     81086441426
8832461A584371   MATTHEW       MAYNARD                     SC     90005496105
883246A5A5B27B   TEKOA         SIOUX                       KY     90014626050
88324877A5B24B   SONIA         ROGERS                      KY     90001028770
8832495424B22B   DUSTIN        SAXER                       NE     90011069542
88325164997B3B   AMBER         RADEMACHER                  CO     90013871649
8832519A197138   ALEJANDRINO   PEREZ                       OR     90014881901
8832539549154B   IGMAR         URBINA                      TX     90005613954
883256A5A5B27B   TEKOA         SIOUX                       KY     90014626050
88325792A84371   MATTHEW       MALONEY                     SC     90009117920
88325896672B62   ERIKA         MARTINEZ                    CO     90015078966
8832776733344B   SHERINA       MOORE                       AL     90013477673
88327855A72B33   MACATALINA    DAIZ                        CO     33089768550
8832835A991837   KRISTI        DANIELS                     OK     90010703509
88328631572B62   MARTINEZ      ISIDRO                      CO     90010846315
8832899292B962   MARK          MORENO                      CA     90011669929
883293A6747897   TONYA         BOWDRY                      GA     90000913067
88329595172B29   MAGDALENA     ALVAREZ                     CO     33052645951
8832982486194B   JESUS         SAUSEDO                     CA     46061218248
8832B13AA4127B   KEVIN         FULMER                      PA     90003621300
8832B167191837   ANTONIO       OLIVERAS                    OK     21029561671
8832B41479154B   BONIFACIO     TREVIZO                     TX     75012164147
8833122345B139   DOROTHY       BALLARD                     AR     23044102234
88331457A9154B   VERONICA      JARAMILLO                   TX     90005424570
883315AA951341   ROCHELLE      EDWARDS                     OH     90014065009
88331614872B46   RANDY         VANMETER                    CO     33090726148
88331698172B62   LYNN          WISE                        CO     90000276981
8833185A75B24B   AMANDA        OLLER                       KY     68041078507
8833215528B168   KATHY         BLACK                       UT     90013901552
88333444472B62   EUGENE        FLORES                      CO     33042364444
883336A635B27B   TOMAS         PEREZ                       KY     90014626063
88334113A33698   TRAMAINE      SLOAN                       NC     90014761130
88334749A33698   CHRISTOPHER   TAYLOR                      NC     90013527490
88334A28351334   KEITH         MANN                        OH     66006580283
88335543A4B22B   THOMAS        DEWITT                      NE     90008355430
88335879A9154B   JOSE          JACQUEZ                     TX     75058278790
88335A72461928   PATRICIA      WIGGINTO                    CA     90011940724
8833624963344B   LAVANDRA      THOMPKINS                   GA     90012832496
88336484A41275   STEVEN        PODANBA                     PA     90015054840
8833653A972B29   ARACELI       AGUIAR                      CO     33066765309
88337233A72B46   LUIS          CERVANTES                   CO     33028082330
88337287272B44   PAUL          BASILA                      CO     90010022872
8833794446194B   ERIC          FLORES                      CA     46087509444
88337A48397138   EDUARDO       BRAVO                       OR     90010030483
88337A6A97B445   MARCIA        ARNETT                      NC     90007550609
88339494972B44   STEPHANIE     AVILA                       CO     90004434949
8833968A372B29   DEBRA         BETTINI                     CO     90013726803
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1397 of 2350


8833B1A8593755   MARIA           ISON                      OH     90005611085
8833B471991837   ALBERTO         CORTEZ                    OK     90009034719
8833B92132B271   NICOLE          BARNES                    DC     81003159213
8834116858B168   BERGSTROM       CRYSTAL ANN               UT     90009551685
8834116A32B896   MELISSA         CANELLA                   ID     90012711603
88341388A72B44   KEREN           GUEVARA                   CO     90001763880
8834165345B139   WILMA           PIERCE                    AR     23072806534
8834187954B22B   AYI             DALMEIDA                  NE     90010678795
8834189329154B   EVELYN          MARTINEZ                  TX     90014328932
88343377A33698   JOSH            SCOTT                     NC     90015003770
8834348964B933   APRIL           GOOLSBY                   TX     90001434896
8834396A191837   KARA            WEAVER                    OK     21027959601
8834421494B22B   REBECCA         BROCK                     NE     27006842149
883442A2293771   JOSEPH          MCCULLOUGH                OH     90014842022
8834459348B168   FATIMA          BARRIOS                   UT     90009625934
8834463A397B38   MELISSA S       STONE                     CO     90003316303
88345167672B46   SAMUEL          LAYTON III                CO     33039781676
883452AA15B24B   ANITA           HECKMAN                   KY     90010592001
88345988A5B17B   JACKIE          WELCH                     AR     23015129880
88345A42897138   CARMEN          MANZO                     OR     90010130428
88345A93A47897   JOHN            WAYNE WILLIAMS            GA     90000960930
88346351272B44   PATRICK         DICKMAN                   CO     90015163512
883464A8991837   DAVID           SCOTT                     OK     90013704089
8834661385B27B   EBONY           GEE                       KY     90014626138
88347517A55945   CRYSTAL         TILLEY                    CA     90012805170
8834766656194B   VIVIAN          MORRISON                  CA     90013716665
88347988872B29   RUBEN           PEREZ                     CO     90014469888
8834842A872B44   ADAM            ARELLANO                  CO     90012954208
88348443572B33   SARAH           CAREY                     CO     33088724435
88348587472B62   SILVIA          GUZMAN                    CO     90012765874
88348A62297138   ROSA            ROMERO                    OR     90008900622
883491A7297138   ARELI           CEDILLO-CERVANTES         OR     90005741072
8834B366A97138   GUILLERMO       PEREZ                     OR     90000553660
8834B566391524   MARCOS          VILLAREAL                 TX     90010825663
8834B58225B229   JORGE           MILLAN                    KY     90012125822
8834B625691837   KASONDRA        BARNETT                   OK     90011966256
8834B89582B896   OSCAR           MORALES                   ID     90014708958
8834BA2513B351   JOHN            CHAMBERS                  CO     90001910251
8834BA5A851362   MALINDA         ASHER                     OH     66016590508
8835124A351341   FATOUMATA       SACKO                     OH     90013922403
88351649A77537   JACK            MINTON                    NV     90015416490
8835236294B22B   OSCAR           PEREZ                     NE     90013003629
883524A2593771   SIHAM           SAMUEL                    OH     90014154025
8835399372B271   JOSE            RUIZ                      DC     90009189937
8835414398B154   CHERISE         ROMERO                    UT     90002611439
8835453555B27B   OLIVIA          MURRELL                   KY     68053315355
8835558148B168   ALFREDO         GARCIA                    UT     90005195814
883555A9A72B33   YANETH          LEON                      CO     90014865090
8835572A977537   DON             MCCASHLAND                NV     90000177209
8835599293344B   WHITNEY         LIAS                      AL     90010799929
883561A7333698   KRISTIANA       MOORE                     NC     90010001073
8835664859154B   NIGUEL          OROSCO                    TX     90011286485
8835715145B27B   JULIE           SCHLEYER                  KY     68011551514
8835723A171977   BRANDY          GARBERDING                CO     38097752301
8835757A671977   BRYIANT         PEREZ PAEZ                CO     90010965706
883578A1A4B22B   SUSAN           STERN                     NE     90012368010
88357A17297138   LILIANA         HERNANDEZ                 OR     90014890172
8835821718B154   DOMINIC         MARTINEZ                  UT     31043682171
88358689A72B62   VICTOR          CAMPUZANO                 CO     90007356890
8835935855B571   BOSTON          GOERGE                    NM     90014503585
8835971947B361   JULIO           MEJIA                     VA     90013397194
8835B469277537   JUAN            LOPEZ-FILORIO             NV     90012274692
8835B4A584B22B   BIROL           ISBILIR                   NE     27028134058
8835B612171977   BRIDGETTE       GARCIA                    CO     38099656121
8835B986251362   CRYSTAL         ROWLAND                   OH     66010449862
8836197652B896   PABLO ANTONIO   CAMACHO ROSAS             ID     90009789765
8836264A641275   ANDREW          ZEVOLA                    PA     51094206406
88362659A72B62   OLGA            JAVALERA                  CO     33057116590
8836275A29154B   CHRIS           MONTELONGO                TX     90014157502
8836348315B27B   JAMES           JONES                     KY     68011554831
88363933772B44   TIMOTHY         LEWAN                     CO     90015169337
8836455348B168   MORSE           HOLLADAY                  UT     90014065534
8836467A533698   TICHINA         DAVIS                     NC     90013706705
8836554685593B   KAO             SAETERN                   CA     90009785468
8836626529374B   CARRIE          HAYES                     OH     90004102652
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1398 of 2350


88366383172B44   JUAN         HERNANDEZ                    CO     33010983831
8836761A797B3B   MARK         YOUNG                        CO     39038036107
883683AA172B46   HARLINDA     FLORES                       CO     90004463001
8836846862B896   RAY          BRUINSMA                     ID     42041344686
8836877855B24B   TROY         ORM                          KY     90005187785
88368A8A997138   HECTOR       RODARTE                      OR     90014890809
88369A8A997138   HECTOR       RODARTE                      OR     90014890809
8836B149891837   TINESHA      SEYMORE                      OK     90013331498
8836B215977537   DEBRA        RILEY                        NV     90014652159
8836B972891979   NIESHA       JACKSON                      NC     90014669728
883715A5791525   MARICELA     GALLO                        TX     90001855057
8837246862B896   RAY          BRUINSMA                     ID     42041344686
88372793572B46   ALFONSO      MEDINA                       CO     33062107935
8837299AA55945   MARIA        RAMOS                        CA     90014169900
88373672A33698   DERIC        MEADOWS                      NC     90013586720
8837413A272B62   ADRIAN       CORONA                       CO     33096561302
883741A639154B   DANIEL       FLORES                       TX     90011301063
88374357872B33   KARINA       MADERA                       CO     90010733578
8837472A12B243   GIRMA        WELDEKIDAN                   VA     81010627201
883748A2997B3B   JUAN         GARCIA                       CO     39015288029
88375586A91265   JOSH         COOLER                       GA     90009705860
8837618432B271   ETELVINA     ZURITA                       DC     90000861843
88376213972B62   TAMMIE       MIDDLETON                    CO     90000962139
8837713A93344B   ASHLEY       FULLER                       GA     15005621309
883779A199154B   JANETTE      FIFER                        TX     90013569019
88377A1A755945   JUANITA      FONSECA                      CA     90013350107
88379513872B29   JONATHAN     ALT                          CO     90007285138
8837B438A77537   REBECCA      SANTIAGO                     NV     90011404380
8837B4A6261928   MITCHELL     HINES                        CA     46032274062
8837B8A7172B33   RAYMOND      PICASO                       CO     33087858071
8837B954633698   KEVIN        GARDNER                      NC     90011689546
8837B961A72B29   PHILLIP      HOPSON                       CO     33016529610
8838115A972B29   BEVERLY      GRAHAM                       CO     90002641509
8838213728B168   LISA         JENSEN                       UT     31011221372
88382796397B38   LEROY        JAMES                        CO     39062947963
88382A38133698   CYNTHIA      HORTON                       NC     90013860381
88383724A72B29   MANUEL       MARTINEZ                     CO     33061017240
8838394A93B389   FRANCES      GALLEGOS                     CO     90012869409
8838425A255945   DEVONTAYE    LANEY                        CA     90015282502
8838522524B22B   DANIEL       FRINCH                       NE     90002882252
88385483772B29   BRIAN        SHINAULT                     CO     90013864837
88385A54251334   ROSETTA      ENGLISH                      OH     90001220542
88386582A72B62   KEITH        MCAFEE                       CO     90013215820
8838677AA9154B   KARLA        ALEXANDRE                    TX     90013097700
8838678534B22B   SAMUEL       FREDERICKSON                 NE     90013907853
8838686518B154   ALEX         GOFF                         UT     31006178651
883868A5733698   ELIZABETH    MOODY                        NC     90007658057
88386A94872B29   SHANTAYA     MARTINEZ                     CO     33078860948
88386A9635B528   VIRIDIANA    JASSO                        NM     90006850963
8838715269154B   STEPHANIE    RIVERA                       TX     90013671526
88388146A97138   CINDY        AYON                         OR     90014891460
88388149172B46   ADRIANA      DOMINGUEZ                    CO     90013381491
8838914815B255   WILLAIM      LYON                         KY     68098421481
8838988A172B33   MORSE        STEPHANIE                    CO     33085648801
88389894A2B896   JAMES        MARTINEZ                     ID     90014718940
8838B22325B27B   JOSE         CASTRO                       KY     90012152232
8838B324497138   DEBRA        HINCHIN                      OR     44015413244
8838B683285924   CASEY        MORRIS                       KY     90009446832
8838B8A6772B29   ENAS         AL KHALILI                   CO     90008908067
88391112772B46   FELIX        HUGHES                       CO     90009551127
8839131475B354   KENDRA       TOLLIVER                     OR     90007683147
88391537172B33   CARLOS       CHAVEZ                       CO     33007065371
88392229372B44   SANDRA       ALVAREZ                      CO     90013742293
8839287878B154   PORFIDIA     TORRES                       UT     90011548787
8839287A372B46   JASON        LEAL                         CO     90014588703
8839298372B896   TIARA        KEENER                       ID     90014709837
88393114672B62   ELVIRA       SALGADO                      CO     33043121146
88393475A5B568   JASON        LANCELLOTTI                  NM     90004754750
8839531A572B46   YURI         PERALTA                      CO     90013243105
88395376672B33   MIGUEL       GARBALENA                    CO     90014823766
8839537745B27B   AARON        BRYANT                       KY     90014093774
8839564548B159   HEIDI M      GERRARD                      UT     31096426454
8839646A191837   KEIA         SWALL                        OK     21099654601
8839671884B538   DONNIKA      PHANOR                       OK     90011607188
8839674A584371   DONTERRY     WALKER                       SC     19010797405
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1399 of 2350


88396941A51362   DWAYNE          MOSLEY                    OH     90012229410
88396A7459154B   JAMEL           JIMENEZ                   TX     90007180745
8839736A25B27B   AUTUMN          POWELL                    KY     90010723602
8839814492B271   MARCUS          WINTON                    DC     90003361449
8839836A191532   EVANGELINA      ESQUIVEL                  TX     75035603601
8839936638B168   STEPHANIE       MILLER                    UT     90011393663
8839B4A565B399   DAVID           DUARTE                    OR     44572794056
883B116225B264   GALA            MOSELEY                   KY     68069881622
883B1256672B44   ROBIN           MANLEY                    CO     90005102566
883B1A19472B29   MONALISA        VALENZUELA                CO     90014110194
883B2471851341   CARLA           KINGSLEY                  OH     66011594718
883B2532551341   ANA             GOMES                     OH     66095055325
883B2634272B44   BERZOA          BRANDI                    CO     90008866342
883B29A3872B29   BRITTANY        BRACKETT                  CO     90003719038
883B2AAA277537   ALLAN           EVENSON                   NV     90015360002
883B3911872B33   LORA            MCHUGH                    CO     90014639118
883B39A4A55945   RAY             NOBLE                     CA     90001509040
883B3AA899154B   TANIA           BACA                      TX     90001270089
883B4174172B33   MIGUEL          CORTEGA                   CO     90002881741
883B423194B22B   TIERA           BROWN                     NE     90002692319
883B4418A71977   ANTHONY         OLVERA                    CO     90013974180
883B4536972B29   CHRISTINE       DENNIS                    CO     90014225369
883B483772B896   MELLY           GALLEGOS                  ID     90014698377
883B4966155945   RICARDO         RIOS                      CA     90014169661
883B5133961928   ASHTON          HENDERSON                 CA     90012621339
883B522A98B168   KAYLEEN         YAKOVICH                  UT     90006212209
883B5626972B46   MARIA           RIVERA                    CO     90011646269
883B5686341275   ROBERT          WELCH                     PA     90012886863
883B5862497B3B   TERESA          VILLA                     CO     90012508624
883B618879152B   ZAIRA           RIVERA                    TX     90011751887
883B61A4241262   DAVE            SHAPELL                   PA     90013901042
883B64A2472B46   REBECCA         LA GUARDIA                CO     90009104024
883B691A52B896   SHEILA          CARNS                     ID     90014679105
883B7224957152   JACKSON         RHONDA                    VA     90001792249
883B7255272B46   CLINT           BUNTYN                    CO     90010392552
883B7347791979   EDNA            HAMILTON                  NC     90014913477
883B7458572B29   JAMES           ELLIOTT                   CO     33085564585
883B7496A2B896   YARENY          BERTO                     ID     90011594960
883B74A3777537   JENNIPHER       ACEVES-ZARATE             NV     90010244037
883B7517A55945   CRYSTAL         TILLEY                    CA     90012805170
883B752355B27B   JOSE            ALVAREZ                   KY     68007595235
883B759898B154   PAUL            KUHN                      UT     31005715989
883B762A791837   ANDREA          AYALA                     OK     90009626207
883B7915172B62   BONA            NGOMA                     CO     33005989151
883B7939897138   MANUEL          ROMEO                     OR     90005739398
883B79A5A97133   MARIA DOLORES   SARABIA OCHOA             OR     90012449050
883B7A5A884371   DAMARIS         LARA                      SC     90000720508
883B8175893771   ANITA           JOHNSON                   OH     90002771758
883B8443491532   ADAM            CARRILLO                  TX     90014684434
883B8617A72B46   TIMOTHY         WERKMEISTER               CO     90003766170
883B9689697B97   ESPERANZA       GUZMAN                    CO     90013606896
883B9777421684   ANGELO          BANAAGAC                  OH     90015457774
883B9955791979   LUIS            LOYO ORTEGA               NC     17004269557
883B9A58755945   MELISSA         PEREZ                     CA     49067890587
883B9AA918B168   BUDD            TRUDI                     UT     31017090091
883BB468A91837   SYLVIA          DURHAM                    OK     90012324680
883BB8A916B251   ANTONIO         SEGURA                    CO     37017068091
8841191764B22B   DEBRA           CLARK                     NE     27091229176
8841195A891242   JOHN            ROWE                      GA     90014439508
88412149172B46   ADRIANA         DOMINGUEZ                 CO     90013381491
884134A6572B33   DOUGLAS         DERAS                     CO     90013554065
8841399A221684   WALTER          STEWART                   OH     90014799902
8841415499154B   SILVIA          LOPEZ                     TX     75073641549
8841452645B183   NORMAN          EVANS                     AR     23064455264
88414A4238B168   CODY            STAUFFER                  UT     90012400423
8841521A63344B   LASANDRA        MCKENIZIE                 AL     90014732106
88415588A55945   JESSE           MARQUEZ                   CA     90006435880
88415763972B62   CHAYO           OLDSON                    CO     33059057639
8841587492B896   YOLANDA         HERNANDEZ                 ID     42063128749
884159A7972B29   PAUL            PHANEL                    CO     33008289079
8841644755B27B   SUE             UPTON                     KY     90009634475
8841658229154B   ABEL            GARCIA                    TX     75014325822
88416825A72B44   CLISTY          MEDIOLA                   CO     90001258250
8841691832B896   JOSEPH          URRABAZO                  ID     90014719183
8841757A233698   BIBIBGA         MERVY                     NC     90013005702
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1400 of 2350


8841773444B22B   ANGELIQUE       BURNS                     NE     27073207344
88418111A72B29   PERLA           MERINO                    CO     90010271110
884186A7555945   RASHAAN         RAPINSON                  CA     90014816075
8841894868B154   NANNETTE        BELEW                     UT     90010619486
88419442472B46   GERARDO         ANDRADE                   CO     90002534424
884194A1193771   LAVETTA         LEWIS                     OH     90006164011
8841961738B168   WOOD            THOMAS                    UT     90010016173
88419938897B3B   LIZBETH         VAZQUEZ SUBIAS            CO     90011509388
8841B652372B46   OLE             ZUNIGA                    CO     90011646523
8841B878193771   PARIS           HILL                      OH     64526858781
8842179425B27B   DANA            SEWELL                    KY     90005087942
88421A28851347   DIANE           PENNY                     OH     90009980288
8842268455B27B   ELIZABETH       SIEVERT                   KY     90014626845
884227A8172B46   ELSA            GUZMAN                    CO     90014817081
88422A24A2B896   JESSE           SWAIN                     ID     42017500240
8842322A781627   LEANNA          GALLION                   MO     90011262207
8842344AA5712B   BARBARA         HAMPTON                   VA     90006164400
88424488A72B29   ROBERTOS        GUILLEN                   CO     90011854880
88424847872B44   JULIO           KOYOC-CASTRO              CO     90013788478
884257A4172B44   TIM             BACA                      CO     33017947041
8842689968B168   MATTHEW         ROAT                      UT     31045698996
88426A62171977   MELANIE         DUSDAL                    CO     90002290621
88427129872B46   ALEIGH          MARTINEZ                  CO     90012751298
884272A178B154   DULCE           MARTINEZ                  UT     90010112017
8842735375B24B   TODD            PIGG                      KY     90011533537
8842755112B896   CHEBIA          SARKA                     ID     42089735511
8842891287B496   HEATHER         ADAMS                     NC     90011179128
884296A7133698   DORRELL         EDWARDS                   NC     12011386071
8842B247472B29   JONATHAN        MARTINEZ                  CO     90008572474
8842B562272B33   VICKI           WIELAND                   CO     90009785622
8842B5A5597138   REBECA          SANCHEZ RICO              OR     44093085055
8842B91832B896   JOSEPH          URRABAZO                  ID     90014719183
8842BA15955945   AMIN            ALGAZALI                  CA     90014170159
8843227365B27B   TROY            BREWER                    KY     90012702736
8843356A73B374   LEONEL          VAZQUEZ                   CO     33010805607
88433AA7197B3B   HUGO            ACEVEDO MERCADO           CO     90010650071
8843462122B896   TRACY           LEWIS                     ID     42009056212
884351A7172B33   JULIAN          VIGIL                     CO     90014951071
88435224A72B33   TATIANA         GARFIO                    CO     90013482240
8843587A477537   ELVIA           GARCIA-SANTANA            NV     90014448704
88436157797B38   MARIA           TURANO                    CO     39097531577
8843619274B569   SAMMY           WOODWRD                   OK     90008401927
88436983697B3B   JAMES           LUJAN                     CO     90012299836
8843721185B24B   BREONNA         FORD                      KY     68090292118
8843729222B896   LEANNA          WHITE                     ID     90012532922
8843781A25B24B   BREONNA         FORD                      KY     90012598102
88437964397B3B   CRUZ            PALACIO                   CO     39011239643
8843876375B332   MARIA           CEJA                      OR     90006187637
88438864997B3B   JESSICA         RODRIGUEZ                 CO     39080158649
88439493A5B183   MARSHA          BROWNING                  AR     90010644930
8843963695B183   MARSHA          BROWNING                  AR     90014436369
88439678572B46   TESIA           TOURKOLIAS                CO     33055586785
8843B411572B44   EDUARDO         MORENO                    CO     90010004115
8843B7A5654177   ANONYMOUS       CUSTOMER                  OR     90015407056
8843BA3513344B   TRACY           GRAY                      GA     15087820351
8844148252B896   JOSHUA          CHRIS                     ID     90014864825
8844149969125B   MELISSA         NEWTON                    GA     90002474996
88441615772B62   MELISSA         MESTAS                    CO     90014356157
8844169795B24B   JOHN            CARNES                    KY     90007116979
88441A29833698   ZACH            MOORE                     NC     90014510298
884424AA571977   CHARLES         CHACON                    CO     90007854005
8844261AA4B22B   MARY            WILSON                    NE     90005026100
8844265499154B   WENDY           FLETCHER                  TX     75007046549
88442661A84331   TAMEKA          JONSON                    SC     90011326610
88443188172B33   CHRISTOPHER E   ROMERO                    CO     90013821881
88443514972B62   MATTHEW         CHAVEZ                    CO     90014175149
88444276997B3B   MARIA           DEL REFUGIO FUERTE        CO     39060262769
8844444772B896   JAMIE           LOVELL                    ID     42016754477
884444A3833698   SHERICA         ECHOLS                    NC     90013934038
88444588A41262   SARAH           ROCHE                     PA     51072275880
884445A1672B29   PALACIOS        ROOFING                   CO     90012795016
88444A6A997B38   CYNTHIA         SHULER                    CO     39062630609
8844577348B154   GEMA            OROZCO                    UT     90001917734
884457A5572B29   ROBERTA         FIERRO                    CO     90014807055
88446529272B62   FERNANDO        CASTANEDA                 CO     33011965292
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1401 of 2350


88446589472B33   MARIBEL        GONZALEZ                   CO     33017665894
88446A1A85B27B   BRITTNEY       MONROE                     KY     90009270108
88446A6625B17B   TERI           IVY                        AR     90013580662
8844714489154B   CUEVAS         LUPE                       TX     90004841448
88447972A77537   JOSHUA         HODGSON                    NV     90012419720
8844864714B22B   REYNA          AMBROSIO                   NE     27060856471
8844872643344B   TOISONJA       HENDERSON                  GA     15017307264
8844918899154B   REYNALDO       VALDEZ                     TX     90011291889
8844B662277537   MICHAEL        LEBLANC                    NV     90006646622
88451775172B46   JUSTINE        MONTOYA                    CO     33002897751
8845187239154B   VELIA          SOTO                       TX     75030288723
8845216683344B   DIETRA         ARENAS                     AL     90014741668
8845225215B24B   MARCUS T.      STEPHENS                   KY     90001332521
88452468572B44   MARIA          CISNEROS                   CO     90012954685
88452692297B3B   NONA           VANDERFORD                 CO     90003456922
8845284A347822   MARQUITA       MARTIN-JONES               GA     90002468403
884528A6697138   CHASITY        RICHTER                    OR     90009348066
88453614A97B3B   ROBERT         LITTLE                     CO     90014146140
88453886A8B168   MICHAEL        SANDOVAL                   UT     90007958860
88453922A5B24B   JOY            SMITH                      KY     90008009220
88453A97671977   SELINA         VALDEZ                     CO     38014970976
8845427819154B   APRIL          VILLA                      TX     90015172781
884546A225B24B   TEVIN          JEWELL                     KY     90002056022
8845486A972B44   ALFREDO        MUÑOZ                      CO     33089168609
88455589997B3B   RYAN           WORDEN                     CO     90001245899
8845595A47B479   CRYSTAL        CRAIGE                     NC     90001809504
8845685A197138   JESSICA LYNN   PEARSON                    OR     90011358501
884569A2A61928   BELTRAN        ANNA                       CA     46033489020
8845757523365B   E BARKSDALE    TRUST                      NC     90011985752
8845799232B896   MARIA          VILLAREAL                  ID     90014719923
88457A26997138   ANDY           HUGHES                     OR     44061150269
8845827944B562   NICHOLAS       NATHAN                     OK     90010622794
88458335472B33   RICARDO        RANGEL                     CO     90014713354
88458745A47897   TINEAKA        DAVIS                      GA     90010867450
8845884858B188   MINDEY         WHEELER                    UT     90012998485
88458978397B3B   JOY            OLSON                      CO     90014109783
8845899382B896   ELIZABETH      CERDA                      ID     90014719938
8845946435B24B   JADE           CRAWFARD                   KY     68036434643
88459A24341262   ALICIA         EARLY                      PA     90011120243
8845B67968B182   PATRICK        MERRILL                    UT     90007756796
8845B888293771   SHAD           ANKENEY                    OH     64510068882
88461896397B38   RAFAEL         HERNANDEZ                  CO     39029378963
88461A1944B22B   EVARISTO       VALENZUELA                 NE     90008540194
88462699A91979   EDDIE          PRESLEY                    NC     90014686990
8846371433344B   WANDA          DONALDSON                  AL     90011187143
88463A17591837   AARON          THORNTON                   OK     90010860175
8846498A132551   JANET          GRAY                       TX     90011149801
884651A415B24B   RONALD         WASHINGTON                 KY     68069781041
8846538619154B   JOSE           MAGANA                     TX     90015133861
88465726A9154B   CHARLES        WRIGHT                     TX     90013157260
884659A798B154   NICOLE         ORTIZ                      UT     31006269079
88465A68155945   ERICA          SERNA                      CA     90014230681
88465AA6261928   PAMELA         GASTELUM                   CA     90012560062
884663A684B257   CHAYA          GEORGE                     NE     90009493068
88466654A71956   MICHELLE       MEJIA                      CO     90011866540
884673AA977537   AUDREY         SANFILIPPO                 NV     90015263009
8846742765136B   JAMIE          TUTT                       OH     90015204276
8846794223344B   VANESSA        ROMERO                     GA     90000589422
8846867A833698   CHRISTOPHER    RHOADES                    NC     90013986708
88468696A2B896   TAYLOR         HOFF                       ID     90001126960
88468957972B29   ABNER          KIM                        CO     33011209579
8846915379154B   SANTIAGO       PORTER                     TX     75084861537
88469978A97138   JOSE           CHIHUAHUA                  OR     90009439780
8846B19149154B   AIDA           OROZCO                     TX     90011291914
8846B314A5B27B   TINA           FIDDLER                    KY     68020293140
8846B612972B62   GUILLERMO      ELIZONDO                   CO     90012216129
8846B79168B154   ALISHA         VASQUEZ                    UT     90003867916
8846B958671977   VERONICA       GALENA                     CO     90007699586
884714A2572B29   RUTH           CORNELIO                   CO     90010614025
884728A342B896   WILLIAM        WRIGHT                     ID     42029318034
88472A36355945   GUADALUPE      RAMIREZ                    CA     90014170363
8847325A641262   MICHELLE       KUKS                       PA     90011302506
88473345A72B33   ROXANNE        OWNSABRE                   CO     90005173450
88473382372B62   JAVON          JONES                      CO     90003023823
8847435995B27B   JAYSON         BECKMAN                    KY     90014663599
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1402 of 2350


884747A4297B3B   ALEJANDRO       ATAIDE                    CO     90013597042
88474A53751349   LAURA           HASKINS                   OH     90004940537
884751A922B896   STEVE           COLEMAN                   ID     42090251092
88475216A9154B   GUSTAVO         BANDA                     NM     90011292160
88476219597B3B   ERIN            MCGRATH                   CO     39088062195
8847664645B17B   BRIAN           JOHNSON                   AR     90002786464
884766A1854B4B   JORGE           MANSILLA                  VA     90012386018
88476A76291979   BENJAMIN        NAZARIO JR.               NC     17016810762
88476AA9172B83   VICTOR          VELAZQUEZ                 CO     90011490091
884785A6991837   LINDA           DEATHRAGE                 OK     21087005069
884786A8755945   RYAN            NIXON                     CA     90014816087
8847886982B896   RAUDEL          GONZALEZ                  ID     42018038698
884788A5A97B3B   DAVID           EDWARDS                   CO     90006728050
88479338A81691   MARK            JOHNSON                   MO     90006283380
8847B13A74B22B   FITZGERALD      TAMBE                     NE     90006371307
8847B34A125334   WANLUHDEE       SUKRACHAN                 WA     90014253401
8847B42138B877   TAMARA          FAATOAFE                  HI     90014444213
8848114563344B   JUDY            WINSTON                   GA     15006961456
88481216A9154B   GUSTAVO         BANDA                     NM     90011292160
8848122A75B183   CARMEN          RICE                      AR     90008502207
88481763172B29   WOODY           SEBASTIAN                 CO     33039567631
88482129872B29   ALEJANDRO       TRACY                     CO     90013341298
88482744972B62   MAYRA           OLIVAS                    CO     90010777449
8848277925B522   MARION          ELMQUIST                  NM     90002857792
88482A7989154B   HAZEL           ALFARO                    TX     90013230798
884843A8591523   ABLE            MONTELONGO                TX     90011043085
88484549A91558   ROBERT          VALENZUELA                TX     90000135490
88485138A3344B   JAMMEISHA       ALEXANDER                 AL     90013901380
88485154672B33   JESSE           ROBERTS                   CO     90014991546
8848522A59154B   JULIO           ALVARADO                  TX     90011292205
8848631662B896   LAURA           MINTER                    ID     90006623166
8848658966194B   ERIKA           GONZALEZ                  CA     46002225896
8848663689154B   ASHLEY          LOPEZ                     TX     90013076368
8848667A291837   CRYSTAL         THOMPSON                  OK     90007516702
884873A1961936   STEPHANIE       BANEGAS                   CA     90007683019
8848742533344B   ALADRIEN        KNIGHT                    AL     90013634253
8848788452B896   AMANDA          CASPER                    ID     90003578845
88487A5A655945   MANUEL          MAGALLANES                CA     49092330506
88487A96661977   LINDA           CORY                      CA     46039340966
8848816725B183   SUMMER          DACUS                     AR     23013091672
8848899975B27B   RON             SPADIE                    KY     90013139997
88489682272B33   JOSE            MUNOZ RUIZ                CO     33098636822
8848996574B22B   MICHAELA        BRYANT                    NE     90011499657
88489A52831421   CEPEDA          WHITE                     MO     90014730528
8848B139391935   RICARDO         VILCHIS                   NC     90004231393
8848B213972B44   LUCAS           CRUZ                      CO     90012952139
8848B24957B42B   JONDA           CALDWELL                  NC     90008882495
8848B628471977   REGINA          HERNANDEZ                 CO     38085096284
884925A182B689   STEVE           MULLINS                   WA     90015495018
88492998272B46   OSCAR           VASQUEZ                   CO     90002939982
88492A94897B3B   JUNE            LEWIS                     CO     90014740948
88493581A4B569   CHRISTINA       DAVIS                     OK     90010635810
88493729172B33   LUIS            PLASENCIA                 CO     33000917291
88494215672B29   SCOTT           SHIRES                    CO     33074862156
88494473472B44   LIDIA           DIAS                      CO     33090474734
88494691897B3B   LUIS            LARA                      CO     90002276918
88494812972B33   CRAIG           CURTIS                    CO     33002988129
88495348A93783   SAVANNAH        ATKINS                    OH     64593953480
88496254A3365B   CASSANDRA       JOHNSON                   NC     90001692540
884966A958B168   TANNA           JUBEVERIDGE               UT     90013716095
88496A8255B735   JORGE           HERNANDEZ-TESTA           MN     90015430825
88497178498B2B   SUMMER          MORRIS                    NC     90010631784
88497746197B3B   SCOTT           HARRISON                  CO     39020327461
8849815575B24B   JUAN            PINEDA                    KY     90001971557
88498184372B62   MAURICIO        RAMIREZ                   CO     90011971843
884985A7977537   CAPRI           WARLAUMONT                NV     90014745079
88498A14261928   ALEJANDRO       AGUINAGA                  CA     46073490142
8849939887B35B   BELLA           CRUZ                      VA     81029753988
88499A79591979   SULAMITA        PEREZ                     NC     17062350795
8849B667827B49   MARY            MOSELEY                   KY     90011296678
8849B82945B139   CAROL           LEDWABA                   AR     23059368294
8849B91AA72B29   GLADYS          HERRERA                   CO     33069749100
8849BA78797B3B   ROSA            MARQUEZ REYES             CO     90007650787
884B1292372B46   CYNTHIA MARIE   ROMERO                    CO     90004452923
884B1727271977   ALONZO          ONSUREZ                   CO     90011607272
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1403 of 2350


884B189394B22B   PAULA        LOLLAR                       NE     90012778939
884B3567972B29   DION         MOORE                        CO     90013915679
884B3A8A997138   HECTOR       RODARTE                      OR     90014890809
884B418AA97138   JUAN         GOMEZ TELEZ                  OR     90014891800
884B4637733684   DOREEN       HOFFMAN                      NC     90004186377
884B464735B27B   DOROTHY      DRUIN                        KY     90014626473
884B469654B22B   ANISA        LOVEJOY                      NE     90008966965
884B5112872B29   DARRIUS      RATCLIFF                     CO     90012851128
884B5128141275   PETER        STRAUD                       PA     90013961281
884B5181897138   MARTIN       MALDONADO                    OR     90014891818
884B544599154B   ESTHER       LYNN                         TX     90015114459
884B635622B896   JOE          STEARNS                      ID     42085033562
884B6836755945   SEAN         SEARLES                      CA     49023908367
884B7161A55945   ROSA         ZAVALA                       CA     49081181610
884B7253391979   RENEE        SPINKS                       NC     90011172533
884B7471893771   HOWARD       BONDURANT                    OH     90010064718
884B7A7A991363   TINA         HARRIS                       KS     90012360709
884B83A259154B   ERNESTO      PORTILLO                     TX     75048123025
884B8648555945   BRYCE        BECKFORD                     CA     90015026485
884B923AA3344B   KIMBERLY     LOCKETT                      AL     90013252300
884B934AA72B46   DMITRI       STONE                        CO     33061423400
884B9351793747   ISAAC        NZAMUTUMA                    OH     90006193517
884B9616655945   ELLIS        YNNE                         CA     90015026166
884B966A571977   JOEAL        MONTOYA                      CO     38005186605
884BB452172B44   JACKLYNN     BENIT                        CO     90012954521
884BB499671977   SANTOS       RAMIREZ                      CO     90015234996
884BB817A2B896   THOMAS       CURL                         ID     42019718170
884BBA98A61928   JULIO        CARDONA                      CA     46003720980
88511434872B33   BRINDA       DUNGAN                       CO     90011004348
88511A47171977   JIM          CARABALLO                    CO     38083230471
88512193797B3B   MIRANDA      HART                         CO     90012731937
88512243272B44   SHANAE       WHITEMORE                    CO     33075912432
88512492772B29   JEANNIE      DEAGUERO                     CO     33013964927
88514177A91979   SHA-MIL      FOUSHEE                      NC     17071361770
88514318772B33   CONSUALA     OLIVER                       CO     90012863187
8851449412B896   LAURIE       SCOTT                        ID     90002834941
88514641672B29   ANDREW       MARTINEZ                     CO     90008646416
88515218272B62   DAKOTA       ASHTON                       CO     33024652182
8851593252B896   ASHLEY       LOPEZ                        ID     90014729325
88516A8116194B   SALLY        TRULSON                      CA     46036090811
885176A365B139   LAWONDA      BROOKS                       AR     23043096036
88518124972B44   PATRICIA     HERNANDEZ                    CO     33061171249
88519121972B46   GABRIEL      BAILEY                       CO     90012771219
88519276A93771   AMBER        FRAZIER                      OH     64506172760
88519639A72B33   TRACEY       MARTINEZ                     CO     90003346390
8851B16A972B29   JOSE         GARCIA                       CO     90009511609
8851B671891979   ISMAEL       LOPEZ                        NC     17055726718
8851B729531451   JEFF         ULICNE                       MO     90001447295
8852168768B168   JEREMY       LONGHURST                    UT     31046646876
88521A75272B29   ANDRES       LEDESMA                      CO     90012740752
88522A91381552   FELIX        HERNANDEZ                    IL     90015460913
8852318292B896   STEPHEN      DYE                          ID     90014721829
88523629172B46   ENRIQUE      HERNANDEZ                    CO     90003086291
8852392A897138   FRANCISCA    GUADALUPE                    OR     44031139208
8852668512B896   KARL         STON                         ID     42036706851
8852685628B168   SHAUNTEL     RIOS                         UT     90002208562
88526A55672B44   ARTURO       QUIROGA-BADILLO              CO     33009300556
8852776835B27B   CASHAWNA     WATTS                        KY     90014627683
88527844472B62   JACKELINE    GONZALEZ                     CO     33093748444
8852792199154B   JUDITH       SIMPSON                      TX     90015039219
88527A21441275   SHEILA       COSBY                        PA     51010070214
8852845848B154   MINERVA      BISOSO                       UT     90012324584
88528588172B33   GREGORY      TATE                         CO     90011325881
8852861842B896   AMY          BRENT                        ID     90013876184
8852887A781627   JACY         RIST                         MO     29025638707
88529494772B44   MARIA        CASTROVEGA                   CO     90012954947
8852B123351362   DAVID        TOEPFERT                     OH     66080131233
8852B373372B62   ELIZABETH    MARTINEZ                     CO     90010403733
8852B62592B86B   LUISA        CERVANTES                    ID     90013226259
8853141A15B139   MARIA        BARCENAS`                    AR     23024914101
885319A4376B2B   CARL         HULLE                        CA     90003579043
88532683672B46   MARGARITA    MARTINEZ                     CO     33008306836
8853289258B168   ARRAY        BUTTON                       UT     90015428925
88532A7792B896   TAWNYA       TERAN                        ID     42098010779
8853339548B154   CATLIN       ELMER                        UT     90010113954
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1404 of 2350


8853361465B27B   BROWN                  DERRICK            KY     90014726146
885339A4493771   TINA                   WILLIS             OH     64559899044
88533A95597138   ELISEO                 CALVILLO           OR     44089900955
88534675A72B33   IDRISS                 DAWOOD             CO     90012746750
8853498623344B   LASHAWN                KIMBROUGH          AL     90013439862
8853538A455935   JESUS                  SANCHEZ            CA     90014753804
88535A43433698   CONNIE                 YOUNG              NC     12024860434
88535A49641275   JENIFER                WEISMANLY          PA     90008380496
88535A73455931   RACHEL                 GARCIA             CA     49078500734
88536365572B33   ADAM                   PIERSON            CO     90014693655
885367A658B154   LOUIS                  FRESE              UT     31015117065
88536A41341262   DAMIA                  DAWKINS            PA     90014940413
885372A4333698   MELANIE                PITTMAN            NC     90011402043
8853764889154B   TERRY                  LOPEZ              TX     90013086488
88538123672B62   DAVID M                AGUILAR            CO     33069091236
88539245172B33   KENNETH                HILL               CO     33098172451
885393A1372B62   EL                     RAMAS              CO     90000643013
8853945A797138   SARRA                  PADUA              OR     90010484507
88539476272B44   COLLIN                 RATLIFF            CO     90013814762
8853954A471977   ANTHONY                PAGNOTTA           CO     90000335404
88539674A5B528   KEVIN                  GEARY              NM     90011156740
8853B661241262   MICHELE                JACKSON            PA     51065716612
8853B883155945   LODY                   BOWLA              CA     90007688831
8854127739154B   WILLIAM                GUTIERREZ          TX     90011292773
88541A87161957   KAREN                  OLSON              CA     90011030871
8854263349154B   RAQUEL                 HERNANDEZ          TX     90013076334
88542868372B29   JUAN                   MARTINEZ           CO     90000868683
8854292398B154   ROD A                  BLAIR              UT     90010859239
88543489272B29   VICTOR                 ATIENZO            CO     90013494892
88543894572B33   EUGENE                 DEAN III           CO     90013608945
8854434392B896   JOHNA                  ROSEMONT           ID     90014943439
885447A214B22B   LEAH                   HALL               NE     90013747021
885458A9347822   DEWEY                  TILLER             GA     90001058093
88546145872B46   LEIMASKI               DOUGLAS            CO     33060831458
8854624A172B29   KRISTIN                PRIDE              CO     33075992401
88546868A41262   JULIA                  DOBBS              PA     90008428680
88546894672B98   MARIELA                SILVEYRA           CO     90000448946
885474A289154B   CYNTHIA                MARIN              TX     75002874028
885474A373344B   ANDREA                 FORREST            GA     90003224037
8854753565B27B   PATRICIA               BELL               KY     68061105356
8854785933344B   ANDREA                 FORREST            GA     90012718593
8854825A555945   PRISCILLA              MONTEZ             CA     90011322505
8854829872B896   SAMIR                  REBOLLEDO          ID     90014722987
88548743172B29   CHALICE                CLEMENTS           CO     33016567431
8854941544B22B   NIZA                   PORTNELL           NE     90011044154
8854985768B168   KARLA                  MEDINA             UT     90010688576
8854991286194B   JOY                    AVILA              CA     46023789128
88549A96772B29   JUAN                   MONTERO            CO     90012620967
8854B144555945   LETTY MARIE            LOPEZ              CA     90013001445
8854B27382B896   GUERLINE               COX                ID     90014722738
8854B61A49154B   JCAK H                 MCCOY JR           TX     90001486104
8854B679397138   NICHOLE                GREINER            OR     90006426793
8854B865551341   TREENE                 BROWN              OH     90010848655
8854BA2325B27B   WILLIAM                CALDWELL           KY     90013140232
8854BA54393771   KEITH                  CUNNINGHAM         OH     64531880543
8854BA9312B896   JESUS                  PEREYRA            ID     42084830931
88551A8252B896   LINZIE                 SALMONS            ID     90012890825
8855284999154B   MINERVA                GONZALEZ           TX     75057158499
88552A51477537   MARIA DE LOS ANGELES   AYALA              NV     90011860514
8855326762B896   CORALEE                HELLICKSON         ID     90010582676
8855446845B24B   GEMMA                  HOLMES             KY     90010604684
88554499A8B154   MATHEW                 HUMPHREY           UT     90010114990
88554837A4B22B   ANGELICA               HERNANDEZ          NE     27082328370
88555738A51362   NANCY                  PADILLA            OH     66062647380
8855584AA9154B   ANA                    ENRIQUEZ           TX     90000488400
8855591685B594   JERRY                  MCKENZIE           NM     90014399168
8855616912B896   CECILIA                FLORES             ID     90005351691
88556294472B44   TAYDE                  ENRIQUEZ           CO     33092312944
88556315A97B3B   TAMMY                  HUNT               CO     39084073150
8855641A961928   YONAS ASSEFA           DEMISE             CA     90014054109
885574AA693771   JANAE                  CROWDER            OH     90014594006
88557951472B46   WILLIAM                LOPEZ              CO     90012199514
88557A42772B29   ALAN                   CAMPBELL           CO     33044520427
8855847A161928   DELILA                 MURRAY             CA     90014614701
88558488A55945   LUZ                    MOLINA             CA     90011884880
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1405 of 2350


8855859A172B29   ROSALES      ANGELICA                     CO     33017525901
88558875672B62   JOSE         ANTONIO SERRANO              CO     90003088756
8855893719154B   ESMERALDA    RODRIGUEZ                    NM     75086719371
8855897132B896   KYLE         KOEPNICK                     ID     90014729713
8855915513344B   BRITTANY     HOLCOMB                      GA     90014611551
885596A2593755   CARLA        PHILLIPS                     OH     90012896025
8855B148572B46   REBECA       VITA                         CO     90010621485
8855B826661928   MARIA        VEGA                         CA     46077598266
88561287872B33   ALYSSA       GALLEGOS                     CO     90014112878
885619A4141262   CARL         MUDD                         PA     90012709041
8856214724B22B   KATHLEEN     JONES                        IA     90013531472
8856219472B896   CELIA        LUCATERO                     ID     42041691947
88563432872B33   MARY         MOORE                        CO     90014154328
885635A8681627   MYRON        NELSON                       MO     29041035086
885637A7797B3B   ALYSSA       ALVARADO                     CO     39097607077
88564598797B3B   HEATHER      HOPKINS                      CO     39072885987
885647A1761928   DONTAYE      MANIGO                       CA     90007597017
8856497132B896   KYLE         KOEPNICK                     ID     90014729713
88564A32772B29   SUSANA       BERCERRA                     CO     90010890327
8856542236194B   KISHA        HAYMON                       CA     46012484223
885654A592B896   CINDY        YATES                        ID     42041694059
885656A6497B51   JONATHAN     SCHMIDT                      CO     90011286064
885689A726194B   ALBARO       GARCIA                       CA     90011179072
88568A3112B896   MONICA       MASCORRO                     ID     90001620311
8856931475B27B   RYESHIA      REVES                        KY     90013153147
8856943546194B   JESS         WORLEY                       CA     46078394354
88569781872B99   ABEL         GUARDADO                     CO     90002307818
8856B1A723344B   NAKESHEIA    DORSEY                       AL     90014421072
8856B57122B896   DUGLAS       GREEN                        ID     42053235712
8857186A172B33   GLORIA       PINEDO                       CO     90006928601
8857211829154B   MARIA        MURPHY                       TX     75026921182
88572167A77537   REYNALDO     RODRIGUEZ MUNIZ              NV     90013521670
88573A1368B168   KRIS         MATYAS                       UT     31007290136
8857433619154B   VIVIANA      LARA                         TX     90011313361
88574683A41262   ROBERT       HARRIS                       PA     90001146830
88575388672B44   DEIRDRE      HEIMLICH                     CO     90011263886
8857576753344B   WHO          ME                           GA     90013867675
88575836772B46   ELENA        LOYOLA                       CO     33064598367
88576386172B44   MICHAEL      GARES                        CO     90014773861
88576A18541275   LISA         MORETTI                      PA     51052570185
88577752672B29   DAVID        ZARRAZOLA                    CO     33027677526
88577A4695B183   PRISCILLA    HARPER                       AR     90014110469
88578333A91837   ALECIA       CRONEY                       OK     90012573330
88578463797B3B   LAURA        RODRIGUEZ                    CO     90008154637
88578536324B83   LAVITA       DELOATCH                     DC     90012905363
88578932272B44   JORGE        ORTIZ                        CO     90014369322
88578986A72B62   ESTELA       GARCIA                       CO     33065519860
88578A92A6194B   ERICA        LOPEZ                        CA     90007870920
885792A593344B   SHANAY       WILLIAMSON                   AL     90011482059
88579774897B3B   EMILIO       GOMEZ                        CO     90011497748
885798A7872B29   ROCIO        MONTOYA                      CO     90014468078
8857B2A343344B   ALEJANDRO    GONZALEZ                     AL     90013542034
8857B385491979   LATOYA       HOLLEY                       NC     90014703854
8857B648372B33   LETICIA      CRUZ                         CO     33053966483
8857B775872B62   KYRON        COVINGTON                    CO     90010777758
8857B836172B29   TRACIE       RONE                         CO     90014288361
8857B847777537   DIANA        SAYERS                       NV     43007708477
885811A7872B62   JAMES        ROBERT BLACKBURN JR          CO     33074841078
8858131A172B29   TAMMY        SIMS                         CO     90008103101
8858153665B24B   CRYSTAL      ORNDORFF                     KY     90010605366
8858177752B896   ANGELICA     MARTIN                       ID     90006847775
88581AA9872B46   FRANCISCA    LOPEZ                        CO     90009150098
88582A19372B29   TRACI        TAYLOR                       CO     90006740193
88584947972B44   LAVON        SMITH                        CO     33045309479
88585427972B62   ARIANNA      AGUILAR                      CO     90012484279
8858543A99154B   MARIA        LIRA                         TX     90009534309
88585621672B43   ISELA        GAYTAN                       CO     90009896216
88585A68793772   PAUL         HORSFALL                     OH     90014050687
88586115A3344B   LAQUITTA     WILLIS                       AL     90011091150
8858811A82B275   FANTASIA     BAGLEY                       DC     90010321108
88589342A2B271   CLARENCE     JOHNSON                      DC     90003893420
8858935A45B368   JOEL         MONROY                       OR     90012063504
88589429A8B168   OSWALDO      NAZARIO                      UT     90013804290
885898A9347822   DEWEY        TILLER                       GA     90001058093
88589A23441275   CHRIS        MCQUILLAN                    PA     51098350234
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1406 of 2350


8858B11863344B   CEDCIC             WILLIAMS               AL     90014781186
8858B484872B62   JOSEPH             ROSSETTO               CO     90013204848
8858B6A7197138   STACEY             VINSON                 OR     44090826071
8858B846151341   ANTOINE            GRIMMETT               OH     90015268461
8859119A251341   NORMA              HENSON                 OH     66018521902
8859164959154B   CRISTINA           BERNAL                 TX     90013086495
885918A3172B33   ZSANELL            SIM                    CO     33018798031
885918A775B27B   DENISHA            FRANKLIN               KY     90013938077
8859255786194B   GAIL               LEGRAVE                CA     46054315578
885927A318B168   LUCY               SEGURA                 UT     31093457031
88593243972B33   MARIA              AVILA                  CO     33029152439
885945A8672B44   ANGEL              DIAZ                   CO     90012955086
88594A9737B44B   TAWANA             DICKINSON              NC     90001590973
88595519A33698   AMBER              WILLIAMS               NC     90002285190
88595AA1872B46   GEOFFREY           WEEAMS                 CO     90011960018
8859629679154B   CESAR              GARCIA                 TX     90014762967
8859658923344B   WILLIE             LOWMAN                 GA     90003055892
8859663A177537   LINDA              HOGUE                  NV     90013196301
88596653272B33   BLANCA             LEYUA                  CO     33015446532
8859755775B24B   JOSE               MARTIN ROMERO          KY     90010605577
88597559272B44   LIAN WHITTINGHAM   LONGFELLOW             CO     90007135592
885976A7751338   ADARIAN            PUGH                   OH     90004746077
8859871374B22B   ELLEN              BIANCHI                NE     90012547137
88598716972B44   CHRIS              PRISINZANO             CO     33012897169
88598794A71977   NICHOLAS           MIERA                  CO     90014337940
8859926149154B   JACK H             MCCOY                  TX     90013432614
8859951A472B44   MELISSA            LOPEZ                  CO     90012955104
8859978422B271   MORRIS             SMITH                  DC     81020137842
885B1125A93771   TAMMIE             NASH                   OH     64528131250
885B1211697B3B   NORMA              PADIA                  CO     39040862116
885B1289557142   ANTENETHE          WISE                   VA     81012332895
885B1835472B29   DANIEL             ZARAGOZA               CO     90012038354
885B1A72472B44   TABITHA            EHREDT                 CO     90012330724
885B228165B27B   DARIEN             KING                   KY     90013242816
885B244793344B   TAMARA             PRESTON                GA     15085724479
885B2815372B29   MARIA ELIZABETH    GALDAMEZ GUILLEN       CO     90012498153
885B2992751341   STACEY             WINSTED                OH     90008209927
885B3478191837   PAUL               SCHLESINGER            OK     21031274781
885B39A3251341   DAVE               STEVENS                OH     66029829032
885B525662B896   OLIVA              MOLINA                 ID     90015202566
885B53A3561928   MICHELLE           PENADLETON             CA     46026423035
885B549A493771   JOKAREN            NELOMS                 OH     90005774904
885B5973191979   ANTRANELLA         TERRY                  NC     90008499731
885B6244493771   HEATHER            PIETRAZAK              OH     90011042444
885B635AA81552   FRANCISCO          ESCOBEDO               IL     90009313500
885B6812441262   HEATHER            GOGARTY                PA     51043278124
885B686232B896   TRAVIS             JOHNSON                ID     42036688623
885B7423771977   JOSHUA             AGER                   CO     90015124237
885B7697972B29   LISA               WOODWORTH              CO     33025266979
885B7922757531   JUAN               TAPIA                  NM     90015089227
885B8572A77537   NATALIE            FISHER                 NV     90013095720
885B85A3872B64   TIMOTHY            VANDERVORT             CO     90012555038
885B862A55B24B   ZACHARY            SCHIESSEN              KY     90012676205
885B892339154B   LETICIA            LECHUGA                TX     75078219233
885B9261841275   TARON              REID                   PA     51091212618
885B9573397B38   GABRIELA           TORRES                 CO     39002905733
885B9587571977   AARON              PEEBLES                CO     90013545875
885B995218B168   NATALIE            GALLEGOS               UT     90014869521
885BB63994B569   CHRISTOPHER        EVERETT                OK     90008776399
885BB64889154B   TERRY              LOPEZ                  TX     90013086488
885BB648897138   MARIA              CASTRO                 OR     44078196488
885BB834877537   JUAN               SERAFIN                NV     43066928348
88611981A41262   JENNIFER           TROIANO                PA     90013269810
8861212A871977   CHARLIE            CLEMENTI               CO     90011401208
88612356672B44   CHARISCE           HARRIS                 CO     33073093566
886127A6172B33   DEAUSHANAY         WILLIAMS               CO     90010747061
88612953A41275   PAYGO              IVR ACTIVATION         PA     90011759530
8861311A197138   LOUIS              RICKS                  OR     90009541101
8861326785B139   LINNIE             MOSES                  AR     23096782678
88613616472B62   MARIANA            GONZALEZ               CO     90012216164
88613924172B33   SAMUEL             ALVARO ATAYDE          CO     33087479241
88613992472B44   EDWARD             BURTON                 CO     33071559924
8861399A197B3B   TRAVIS             FOX                    CO     90012959901
88614125672B33   CAROL              KASANG                 CO     90015261256
8861426A672B29   MAI                KIM                    CO     90015282606
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1407 of 2350


88614592672B33   DANIEL         SANCHEZ                    CO     90011325926
88614651A3344B   STAPHANIE      SPENCER                    GA     90007596510
88614A61597B3B   JORDAN         ALEMAN                     CO     39034170615
88615926272B44   CIERRA         TATE                       CO     90013289262
88617A13777537   MARISOL        LEMUS                      NV     90001360137
886181A642B896   BRYAN          POLLOCK                    ID     90014731064
88618219172B46   ALBERT         LOPEZ                      CO     90013592191
8861859373B321   KAMEO          NAVARRO                    CO     90001565937
886188AA272B29   JOSE           GARCIA                     CO     33080278002
88618A53472B62   CHAVEZ         ALBERTO                    CO     90010840534
886191A7855956   ERICA          PEREZ                      CA     90013671078
88619429272B62   REBECCA        CASTILLO                   CO     90015264292
8861984882B831   MARIAH         RODRIGUEZ                  ID     90012388488
8861B218672B62   IRENE          HERRERA                    CO     90007772186
8861B4A514B22B   ABELARDO       GONZALEZ                   NE     90009434051
8861B58A541275   RICHELL        BATYKEFER                  PA     90000535805
8861B95633344B   DOMINESHA      MARSHALL                   GA     90014419563
8862111282B896   JOSEPH         FOOTE                      ID     90014731128
88621A81781627   JENNIFFER      CASTANEDA                  MO     29052040817
8862358239154B   ELSA           ANDRICK                    TX     75045965823
88623767A8B154   ANGEL          GONZALEZ                   UT     90009777670
8862382A441262   GARRET         MOORE                      PA     51029008204
8862391918593B   CHERLY         JONES                      KY     90012569191
88623A22172B33   PORTERS        TRANS                      CO     33020830221
8862485295135B   JOSE           ZETINA                     OH     90005038529
886249A7191837   JONATHAN       GARCIA                     OK     21031329071
88624A1A55B27B   MARELYS        SILVA                      KY     90006390105
88625584572B44   LUIS           OLIVARES                   CO     90014875845
88626744A4B22B   ASHLEE         FAY                        IA     90012267440
88626795A6194B   DAVID          QWENS                      CA     90000547950
88626A42497B3B   MARIA          ESQUIVEL                   CO     39063410424
88626A5814B22B   JACOB FAY      ASHLEE FAY                 IA     90015170581
88627134797B3B   MARIA          GONZALEZ                   CO     39085951347
8862794AA61928   WALTER         RICKS                      CA     90012849400
8862B4A234B22B   MOSTAFA        MAHMOOD                    NE     27085674023
8862B84788B154   PHILLIP        SAUNDERS                   UT     31015648478
8862B89A677537   OMAR           RAMIREZ- GARCIA            NV     90010178906
8862B89A951341   CHAVONN        DALE                       OH     66077068909
8862BA72A91837   MONIQUCA       JAMISON                    OK     90010820720
8862BA73933698   CANDICE        HERNANDEZ                  NC     90015030739
8863124939154B   YOLANDA        HERNANDEZ                  TX     90013602493
88631443472B33   JEFFREY        ZINN                       CO     33067354434
8863232945593B   SERENA         GARRETT                    CA     90012263294
8863284A741232   RAYMOND        BROWN                      PA     90009318407
88633218672B62   IRENE          HERRERA                    CO     90007772186
88633858772B46   ALEJANDRINA    CORAL                      CO     90013698587
88633A31272B44   NICHOLAS RAY   ESTEP                      CO     90010150312
886349A779154B   RENE           DE LAHOYA                  TX     75016199077
886349A828B154   RICHARD        MIZE                       UT     31097649082
88635742672B46   SANDRA         RUIZ                       CO     90010367426
886362A8A41262   DAREK          MAZURCZYK                  PA     90014922080
88636A9A751341   MANUEL         VALDEZ                     OH     90015060907
886379A9591837   SHEPPARD       MARY                       OK     90014899095
88638249A3344B   LAVONDRA       THOMPKINS                  GA     15082792490
8863857694B22B   KEITH          WARD                       NE     27026855769
8863922269154B   SANDRA         GONZALEZ                   TX     75079252226
8863932945593B   SERENA         GARRETT                    CA     90012263294
886398A885B27B   DAVID          BOBBY                      KY     90013938088
8863B151133698   CHARLES        JONES                      NC     12082331511
8863B187655945   ALESIA         JOHNSON                    CA     49081021876
8863B52A472B44   ANTONIA        QUINTANA                   CO     90012955204
8863B81915B24B   ALEX           GONZALES                   KY     90011988191
8863B934477537   WILLIAM        HACKNEY                    NV     90010719344
8864115922B896   CHELSEA        FRANDSEN                   ID     90009561592
88642146A84371   ROCHELLE       WILLIS                     SC     19085601460
8864298597B477   EMILY          HERNANDEZ                  NC     90009539859
88643533A51341   JUANA          SIMMS                      OH     90003045330
8864354923344B   GLENDA         SCOTT                      AL     90011285492
88643659A72B44   ROBIN          ARCHULETA                  CO     33088626590
886445A9277537   YUKI           FIGUEROA                   NV     90011545092
8864525165B27B   JAMES          MEINIKHEIM                 KY     90006012516
88645451272B62   JOSEPH         JENNINGS                   CO     33068434512
886456A335593B   CHRIS          FELIX                      CA     90010476033
88646215672B46   LISA           RONDINA                    CO     90003892156
8864764473344B   DEMANEYEA      GUIONT                     AL     90015026447
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1408 of 2350


8864781948B154   ROBERTO       DURAN                       UT     90010378194
88647A49141262   MICHELLE      TURNER                      PA     51051900491
8864881254B22B   AHMAD         JOHNSON                     NE     27052308125
88649151672B44   EDUARDO       FABELA                      CO     33069191516
8864918344B22B   DAVID         LEHN                        NE     90007791834
8864948A55B27B   PAULISA       THOMAS-LEWIS                KY     90013934805
8864963A572B46   TANYA APRIL   SAMUEL GREEN                CO     90015006305
8864999348B168   BARBARA       WEBB                        UT     31025509934
8864B11862B896   CRIS          CASAS                       ID     90001621186
8864B457884371   ROBERTA       BROWN                       SC     19007014578
8864B953333698   CRISTINA      PHELPS                      NC     90012709533
88651325197B3B   ALEJANDRA     QUIROZ                      CO     90014173251
8865198459154B   YESSICA       GUEVARA                     TX     90014729845
8865263A88B168   TERESA        PERRY                       UT     90015086308
8865271969154B   SAMUEL        GUERRERA                    TX     90013907196
886531A6671977   KYLE          STINCHCOMB                  CO     90004491066
886536A3A76B97   ESPERANZA     MENDOZA                     CA     46073486030
8865371A133698   NICOLE        STEWART                     NC     90011557101
8865385339154B   ANTONIA       ACOSTA                      TX     75033958533
88654216672B62   KRISTA        PADILLA                     CO     90014572166
8865452215B17B   ROGERS        TIKEIA LASHEA               AR     23051645221
886546A3A76B97   ESPERANZA     MENDOZA                     CA     46073486030
88654A2894B57B   SAMANTHA      MILBEE                      OK     90013800289
8865519414B569   DEMISHA       REED                        OK     90010011941
88655A69172B62   ANNETTE       CANNON                      CO     33087630691
88656873572B33   JANICE        NYBORG                      CO     90012268735
88656A55141262   AARON         COOPER                      PA     90008660551
88657677597B38   PEDRO         SANCHEZ                     CO     39001936775
88657931672B29   JULIE         DILORENZO                   CO     90013679316
88657A54691979   KRISTINE      MASON                       NC     90010910546
88659252972B62   BRITTNI       HAMM                        CO     33005612529
88659795A91979   TIFFANY       TURNER                      NC     90014707950
8865B557472B33   BONNIE        MITCHELL                    CO     33092985574
8865B694A61975   MAURICIO      NAVARRO                     CA     90009446940
8865B831571977   LANELLE R     BUCH                        CO     90009658315
88661569372B29   SARAH         ROBERTS                     CO     33065495693
886618A2255945   JESSIE        CHA                         CA     49085168022
88662179172B29   PATRICIA      MCLAUGHLIN                  CO     33008291791
8866258262B896   KENNETH       BOWLER                      ID     90014695826
8866273A572B62   SHAUN         PRATS                       CO     90004047305
8866276192B86B   JENNIFER      HEPLER                      ID     42012467619
8866415515B139   POLO          HERNANDEZ                   AR     23098131551
88664755272B46   ARMANDO       HUERTA                      CO     90015157552
8866592814B22B   MITCHELL      DORFMEYER                   NE     90011329281
88665A9975B24B   EMILY         FERRY                       KY     90001300997
8866689928B168   PELENATO      TAULA                       UT     90013758992
8866696A193771   CRAIG         NEWMAN                      OH     90007659601
88666A55371977   CAROL         RAYNAL                      CO     90014490553
88667169872B46   MARIO         HINOSTROZA                  CO     33089381698
886682A482B271   ALAINA        ALTAIR                      DC     90007102048
88668491897B38   BETHANY       PHILLIPS                    CO     39054944918
88668552672B29   MARIA         LUCERO                      CO     90011755526
8866942538B135   MARY          REAY                        UT     90010524253
8866947992B896   ROBERT        RUPE                        ID     90002624799
8866B45AA9154B   FRANCISCO     ARELLANO                    TX     90003004500
8866B872255945   ERICK         PINA                        CA     90015118722
88671399172B29   WILLIAM       HAMBRIC                     CO     33088443991
88671571397B3B   GREGORY       MCNEIL                      CO     90001445713
88672293172B46   SUSAN         HANCOCK                     CO     33083852931
8867298815B24B   TIMOTHY       REYNOLDS                    KY     68091899881
88672A59A97138   CARLO         LIVINGSTON                  OR     90010090590
88673111272B46   REYNOSO       YOANA                       CO     33033311112
8867322668B168   ELIZABETH     GARCIA                      UT     90001772266
88674465A47822   SEBASTINE     AZODO                       GA     14002864650
88674489997B3B   CRESSA        FLINT                       CO     39044954899
8867527352B896   JUAN          PAZ                         ID     90010082735
88675635A77537   BRENDA        DE VACA                     NV     90014156350
88675649A54122   CHERYL        SWALES CARROLL              OR     90014776490
88675753372B62   JANET         HERRERA                     CO     90001227533
88675775697B38   MARIA         ROMAYORR                    CO     39096127756
886761A2A41247   DAVID         LEE                         PA     90010911020
8867651AA71977   CARLOS        MORA                        CO     38089095100
88676842997B38   DEBBIE        POLLOCK                     CO     39063278429
88676976872B44   MICHELL       HERNANDEZ                   CO     33014029768
88677481A2B896   CANDICE       WALDRON                     ID     90006364810
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1409 of 2350


88677A2785B139   WANDA        DUROSSETTE                   AR     90003220278
8867952738B168   PHOENIX      BELL                         UT     31033775273
88679862272B46   JANET        MARTINEZ                     CO     33032198622
8867B17874B22B   PELLA        HUG-KIRKLAND                 NE     27080141787
8867B232755945   SAL          ESPINO                       CA     90001542327
8867B268172B46   RICHARD      WISE                         CO     90013462681
8867B468A51341   MICHELLE     BARNES                       OH     90012114680
8867B723361928   WAYMON       EDDINGTON                    CA     90014697233
8868189239154B   OSWALDO      ORTEGA                       TX     75031878923
88681A96841275   EVELYN       STANTON                      PA     90011760968
886838A955B27B   ROZA         BITENDELO                    KY     90013938095
88684289572B46   DANIEL       CORTES                       CO     33084592895
8868492A15B382   GUADALUPE    AVILES MERLIN                OR     90007269201
88686533A72B44   AEIOUN       CHAHA                        CO     90012955330
88686536A43522   CARLOS       ROMERO                       UT     90011345360
886866AA52B896   SADIE        PARAGANLIJA                  ID     90011616005
88686763372B29   LAUREA       ITURRALDE                    CO     33077087633
886874A1291837   PATRICK      BOYSEL                       OK     90014494012
886877A7A61928   MODISTEIN    WILLIAMS                     CA     90013647070
886882A3851362   SHEILA       MCKENZIE                     OH     66087952038
886889A668B168   RODGER       KENT                         UT     90002359066
8868918292B896   AMANDA       BENITES                      ID     90002201829
8868B338151341   LATRICIA     EDWARDS                      OH     90000943381
8868B421A3344B   TOWANNA      THOMAS                       GA     15094624210
8868B44295B368   ROLANDO      ORTIZ GONZALEZ               OR     44581554429
8868B631561928   JUAN         MORALES                      CA     46052466315
8868B822A51334   JULIAN       CORRNWALL                    OH     90008238220
88691242A72B33   ROGELIO      MORALES                      CO     33006822420
88691251697B3B   DAREK        DANIELS                      CO     90002132516
88692181672B62   CHANTELL     SOTO                         CO     90005691816
8869293899154B   MARTHA       THOMAS                       TX     90003649389
88692A37355945   ULISES       RUBIO                        CA     90012810373
8869324188B168   CHAD         SIMPSON                      UT     90014722418
8869361A82B896   KC           SCHEIFER                     ID     90014746108
8869381995B27B   LACRETIA     MCWHORTER                    KY     90013938199
88694176472B46   CAREATHERS   NARVIA                       CO     90008921764
88694249872B27   ELODRA       ALVAREZ                      CO     33087612498
8869427429154B   JAIME        RUBIO                        NM     75084122742
88694A24371977   MICHAEL      SPINUZZI                     CO     90012710243
88694AA3572B62   MATTHEW      JIMENEZ                      CO     90013150035
88695724572B46   CHASEY       FREELAND                     CO     33026857245
8869573975B571   AMY          EDNA                         NM     90012947397
88695944A72B44   DAWN         NELSON                       CO     33091559440
88696826872B62   FERNANDO     SANCHEZ                      CO     33038198268
88697138A93771   DALE         LOWE                         OH     64564391380
8869778A74B22B   ERIK         MYERS                        NE     90013817807
8869799462B896   LARNA        JARVIS                       ID     90008709946
8869846955B27B   RAY          BROCK                        KY     68058834695
88698788672B29   TASIA        KHAPP                        CO     90012217886
8869883289152B   NORMA        ROMAN                        TX     90010938328
886988A8571977   LINDA        DONOVAN                      CO     90009418085
88698A4A755945   MARTHA       RODRIGUEZ                    CA     90012810407
88699231372B46   ROSEANA      TRUJILLO                     CO     33044062313
8869985849154B   MARIA        HERNANDEZ                    TX     75002558584
88699A47A97B3B   ARMIDA       HERNANDEZ-MORALES            CO     90001040470
8869B962361928   TANIA        MORALES                      CA     90012869623
8869BA42997B3B   GUADALUPE    ALAVARADO                    CO     90012610429
886B122127B671   BEVERLY      GRIER                        GA     90001002212
886B1313641232   MASHEDA      CULPEPPER                    PA     90011113136
886B1511191837   TROY         SHOATE JR                    OK     21059255111
886B2329A47822   RODERICK     SUTTON                       GA     90013893290
886B257A891979   CHRIS        JONES                        NC     90014705708
886B292686194B   CHERYL       SCOTT                        CA     46092559268
886B328A93344B   DARRON       FOGLE                        AL     15061742809
886B3486172B62   NICKOLE      BONATI                       CO     33077594861
886B3899271977   NICOLE       TORRES                       CO     38044338992
886B3AA962B271   DEBORAH      LOGAN                        DC     81056250096
886B4112561928   JUAN         CASTRO                       CA     90001541125
886B412378B168   MARK         LINDQUIST                    UT     90004541237
886B4553381643   OMAR         ENRIGUEZ                     MO     90007685533
886B46A8772B46   BARBARA      GRAHAM                       CO     33090036087
886B492575B335   LEVI         BLACHLY                      OR     44550849257
886B4937941262   SCOTT        JOHN                         PA     90006999379
886B4A77572B29   RICH         GODINEZ                      CO     90005270775
886B5213197B3B   LESLIE       MEILS                        CO     90012712131
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1410 of 2350


886B5425333698   SAFFIATU       MEANS                      NC     90006304253
886B5656691354   AMY            HANSON                     KS     90014906566
886B641279154B   JAZMIN         OLONO                      NM     90011294127
886B647414B22B   JOSE A         HENRIQUEZ                  NE     90013614741
886B6574751341   MARY           GUNKEL                     OH     90014235747
886B6681472B46   ALEJANDRA      GARCIA-PEREZ               CO     33054976814
886B7635672B46   JOHN           GARCIA                     CO     33035256356
886B7649972B29   CHRYSTALLYNN   WORLEY                     CO     90014396499
886B788245B24B   ANGEL          LATHAN                     KY     68033948824
886B8259397B38   MARCO          ORTIZ                      CO     90008392593
886B843A171977   DARICE         PORTER                     CO     90014704301
886B8615951341   TRAVIS         PERKINS                    OH     66007156159
886B887169154B   MARCOS         VELA                       TX     90009798716
886B899872B896   BULIMWENGU     HANAJINA                   ID     42098199987
886B9339A91979   NATASHA        ESTES                      NC     17089873390
886B9577172B44   DORIA          VASQUEZ                    CO     90002655771
886B96A9772B46   LUIS ALBERTO   BARCENAS                   CO     90009356097
886B9723191235   KANDACE        TORRANCE                   GA     90013887231
886B9954441275   MICHAEL        WILSON                     PA     90013469544
886B9977851362   JAMES          TAMBASH                    OH     90005329778
886BB553397B3B   EVA            MUNGUIA                    CO     39047805533
886BB568491979   FATINA         SCARBOROUGH                NC     90014705684
886BB7A812B237   REGIS          SOYE SARABE                DC     81055737081
886BBA6A371977   EVA            BAROS                      CO     90001960603
886BBA74855945   GUDALUPE       HERNANDEZ                  CA     49042840748
88711476452B8B   LUTHER         PARRISH                    AZ     90014154764
88711646597B3B   MARIA          IBANEZ                     CO     39074496465
88711A23A54B23   PATRICK        HODGES                     VA     90014050230
88711A4452B271   CHARLOTTE      ST CLAIR -WILEY            DC     90000320445
88712877272B29   TEENA          SANCHEZ                    CO     90012768772
88714A53272B33   NICHOLAS       SOLANO                     CO     90009810532
887154A3797138   LUIS           CALDERON                   OR     90015044037
88715584A8B154   ARACELI        VENEGAS                    UT     90009285840
88716189772B62   JESUS          BRUNO                      CO     33052231897
88716726872B46   EMILIANO       ORDAZ MONREAL              CO     90010027268
88717311A4B22B   TAWNIA         ROGERS-LADD                NE     90014883110
88718444497B3B   MARTHA         CHAVIRA                    CO     39068964444
88718998872B44   VESTER         JAMES                      CO     90014339988
8871915355B27B   KIONA          KILGORE                    KY     90013141535
8871957A361928   ARACELI        ALVAREZ                    CA     90013125703
88719789A72B62   THOMASINA      WALDRON                    CO     33091947890
88719826A2B896   GAUDENCIA      MENDOZA                    ID     90008438260
8871B46455B568   RONNIE         PRIETO                     NM     35006164645
8871B782561928   ABRAHAM        CORTEZ                     CA     46009737825
8871B899177537   VIOLETTA       RABORN                     NV     43071478991
88721549972B62   VIRJOLEAN      CORDOVA                    CO     90012555499
8872177524B22B   EDWARD         MURPHY                     NE     27080297752
88721A2365B334   TOMMY          SKIPPER                    OR     90000400236
887225A759154B   ALMA           MORALES                    TX     90013355075
8872275655B139   SEVELTA        MACKEY                     AR     23068277565
8872278989154B   GABE           AGUILAR                    TX     90013337898
8872287123344B   RICHARD        MORNS                      GA     15007618712
8872315218B168   MARIA          GARCIA                     UT     90013731521
88723215172B46   MEGAN          SUNDERMAN                  CO     90013382151
8872398A572B44   JIMMY          DAVIS                      CO     90008579805
8872411A241275   RICHARD        MASON                      PA     51027491102
8872429A532551   MICHAEL        GREEN                      TX     90015362905
8872441772B896   CHEYENNE       LAVENDER                   ID     90014734177
88724513597B3B   HENRY          JUAREZ                     CO     90015345135
88724534872B62   LUIS           FERNANDEZ                  CO     90013965348
88724895572B62   NATIVIDAD      ITURBE                     CO     33050928955
887265A6372B62   DEE            GARCIA                     CO     33091705063
887267AA48168B   VERNON         JACOBS                     KS     90007637004
88726A29255945   JESSIE         JONES                      CA     90011280292
8872739A591979   AVIANCE        HARRIS                     NC     90014713905
8872741A672B33   MANUEL         RIVAS                      CO     33046844106
8872777269154B   YUSELF         WALKER                     TX     90014837726
88727AA1971977   PATRICIA       PETERSON                   CO     90013620019
88728132497B38   SARAH          SALCIDO                    CO     39050071324
8872859A855945   MARIA          CRUZ                       CA     90014185908
88729334172B46   WHITNEY        SAMANIEGO                  CO     33068643341
8872933A877537   JENNIFER       KARLE                      NV     43031393308
8872B1AA372B29   JASMINE        PICKETT                    CO     33012981003
8872B913751341   TERESA         ESPINOSA                   OH     90010849137
8873124294B22B   CHRISTOPHER    MOREHOUSE                  IA     90003462429
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1411 of 2350


8873146455B568   RONNIE         PRIETO                     NM     35006164645
887321AA372B29   JASMINE        PICKETT                    CO     33012981003
8873259A855945   MARIA          CRUZ                       CA     90014185908
8873299718B154   JONELLE        KUMPIN                     UT     90012369971
88733197772B46   ANTONIO        GARCIA                     CO     90007571977
88733226A72B62   LASHONDA       TANICE SCOTT               CO     33084322260
8873336858B154   CYNTHIA        SMITH                      UT     90001343685
88733653A8B168   CHANTE         LOBATO                     UT     90013716530
8873447193B38B   DEAN           HINRICHS                   CO     90008834719
88734711572B46   RICHARD        DANIEL VIEL                CO     33040047115
88735732772B46   MARIA LUISA    SANCHEZ                    CO     90011567327
88735778A91999   GABRIELLE      MCKOY                      NC     90002487780
8873579548B168   VALENTINA      GUTIERREZ                  UT     90012707954
88736338572B46   LIZET          VASQUEZ                    CO     33039783385
887371A774B22B   ROBERT         JONES                      NE     90010421077
88737463A97138   CONLEY         GRABORIN                   OR     90015054630
88737519172B33   MARIAH         PRIETO                     CO     90011965191
8873767212B896   JUAN ANTONIO   GARZA                      ID     90011616721
887381A1772B62   ART            ROCHA                      CO     33068651017
88738424A91979   CHRISTAL       JEFFRIES                   NC     90014714240
88739672897B3B   JOSE           DE LA CRUZ                 CO     90010496728
8873985789154B   LUCIA          ROSALES                    TX     90013388578
887398A634B22B   GALA           MCSPADDEN                  NE     90014148063
88739A6175B139   MARIAN         ACKLIN                     AR     90003610617
8873B33235B17B   MICHELLE       BARKER                     AR     90004953323
8873B63232B896   JESUS          VIZCARRA HUERTA            ID     90011286323
8873B992241262   CELINE         GIACCI                     PA     90000169922
8874152229154B   SERGIO         LOPEZ                      TX     90011295222
8874185858B154   JENNIFER       HULET                      UT     31092118585
8874188A35B27B   BONNIE         ROSE                       KY     68038008803
88742481A91979   MARTHA         AGUILAR                    NC     17085374810
88742572A72B46   JUAN           VILLARREAL VARGAS          CO     33081835720
88743971772B29   MARIE          TRUJILLO                   CO     33077859717
8874439254B22B   GERARDO        NAVARRO                    NE     27097843925
887446A333344B   SHAMONICA      HENLEY                     GA     15076346033
887453A1177537   NATHAN         THOMPSON                   NV     90013933011
887457A224B22B   MICHAEL        COY                        NE     27059427022
8874583A241262   TRULS          HUMCKANS                   PA     90015378302
88745866A4B53B   ANITA          YBARRA                     OK     90005668660
8874632575B27B   HOLLY          SANDERS                    KY     90011273257
887464A578B168   GILBERT        VIGIL                      UT     90001864057
88746A2558B154   DANNY          MILLS                      UT     31080710255
88747121A8B154   ENSALY         KAREN                      UT     90010391210
88747228472B62   DESIREE        ROBERTS                    CO     33095032284
8874823A64B569   SACCIA         HAWKINS                    OK     90008492306
8874854A897B3B   MARIA          RIVAS                      CO     90015345408
88748718472B62   DOYLE          TURNER                     CO     33066917184
88748A3487B372   MANUEL         ALVEREZ                    VA     90012520348
8874938994B22B   DWIGHT         MILLER                     NE     90010913899
88749413A9154B   MANUEL         MORALES                    TX     90013944130
8874949A491979   ANTHONY        ALSTON                     NC     90014714904
88749511A47897   BREANNA        BENTLEY                    GA     90012485110
88749634772B46   RAQUEL         GALLARDO                   CO     90009746347
8874968334B538   VALERIE        BROWN                      OK     90012556833
88749723A72B62   LARRY          GARCIA                     CO     33065977230
88749957A72B29   PATTY          HUDGINS                    CO     33016709570
8874B516671977   ERIC           VIGIL                      CO     90014625166
8874B677797B3B   ANDRESE        BERNDT                     CO     90009056777
8874B9A285B27B   JESSICA        DRURY                      KY     90014629028
88751544572B44   LISA           WYNNE                      CO     90012955445
8875156A89154B   MIGUEL         MARQUEZ                    TX     75079255608
88751A6845B24B   ANGELA         BIVEN                      KY     68073510684
88752639A8B188   NORA           CONTRERAS                  UT     90010576390
88753166A2B896   CONNIE         BLECHINGER                 ID     42009471660
88753585A51341   VALERIE        HOGAN-FULLER               OH     90015285850
8875371848B131   ALEX           ESQUEBIL                   UT     31009417184
88753997797B3B   ERICA          J BAIRD                    CO     90010839977
88754599872B44   MELISSA        COLEMAN                    CO     33068535998
8875479868B168   BRIAN          SANCHEZ                    UT     90011197986
88754A2855B27B   YASEL          GARCIA                     KY     90002550285
88755A94561928   JASON          NEUBE                      CA     46010860945
88756148572B46   REBECA         VITA                       CO     90010621485
8875734432B981   MISTY          GAGE                       CA     90008093443
88757769A5B24B   JOANNE         DATTILO                    KY     90003307690
88757A59951341   COREY          CANNON                     OH     90007380599
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1412 of 2350


8875825A62B896   LORI         SULLIVAN                     ID     42081882506
8875834A19154B   ROBERTO      BENITEZ                      TX     90011313401
8875842584B22B   JESSE        CASTRO                       NE     27034404258
887585AA197B3B   CARLOS       MONTELONGO                   CO     39002545001
8875883735B27B   TATIANA      FERNANDEZ                    KY     90012798373
88759476A91837   APRIL        WILLIAMS                     OK     90013814760
8875968174B22B   JANICE       WILLIS                       NE     27042296817
88759742972B44   TRACY        FRATTINI                     CO     90014257429
8875B777833698   MARIA        MARTINEZ                     NC     90010707778
8875BA55355945   TONI         JACKSON                      CA     90012810553
8875BA81491979   ANDREA       WILLIAMS                     NC     90011000814
88761358672B62   ROBERT       SHERRY                       CO     33033193586
88761932372B54   YESICA       RIVERA                       CO     33094589323
8876276492B881   WESLEY       TERRELL                      ID     41012827649
88762987A2B831   JULIE        SPENCE                       ID     42020669870
887633A2672B29   GUADLUPE     CABRAL                       CO     90015213026
88763964A5136B   LYNISE       FLOYD                        OH     90007759640
88764112A41232   JAMES        BANKS                        PA     90012461120
88764161397B3B   DAVID        SALAZAR                      CO     39017971613
88764285872B46   TINA         WHITE                        CO     33049112858
887654A269125B   SHAYEBRIA    PICKENS                      GA     90007824026
88765719872B44   SERGIO       ESCOBAR                      CO     90001207198
88765771472B62   GUADALUPE    NUNEZ                        CO     90009417714
8876611822B896   AMBER        LOPEZ                        ID     42042301182
88766237172B33   MIGUEL       LOPEZ                        CO     33092342371
88766565372B29   LYNNETTA     ADAMS                        CO     90014315653
88766A77481627   PABLO        ORTEGA                       MO     29088600774
8876778128B154   DOMINGO      CEDANO                       UT     31080867812
8876896274B22B   KIMBERLY     GUNTER                       NE     90010059627
88768A71171977   DEANNA       BAILES                       CO     90010290711
8876969A15B27B   DERRICK      THOMPSON                     KY     90014086901
8876B174841262   JOSEPH       SIMS 2                       PA     51007701748
8876B28624785B   ANNETTE      CARD                         GA     90014002862
8876B529472B44   MARIA        CRUZ                         CO     90010335294
8876B54553344B   TISHERA L    WILSON                       AL     90011805455
8876B99A141262   GERALD       FHIR                         PA     90006809901
8876BA83371977   RUPERT       ANZALDUA                     CO     38057870833
88771221A91837   JUANA        VALERO                       OK     90010022210
88771381297B38   MARY         WATTS                        CO     39074563812
88771AA574B556   DULCE        MARTINEZ                     OK     90007570057
8877251A524B93   SAFFIE       LAHAI                        VA     90006145105
88772A4692B896   ALYSSA       EKART                        ID     42065100469
8877378515B27B   VIRGINIA     JACKSON                      KY     90013447851
887739A8355945   PEGGY        LITTLEFIELD                  CA     90012119083
88773A6A461928   JOHNSON      LORRAINE                     CA     46053790604
8877426278B154   EDGAR        NAVARRO                      UT     90010392627
887743A869154B   ANDREW       DIAZ                         TX     90014763086
8877473545B27B   CLARENCE     STOTT                        KY     90007947354
88775183572B29   MARQUETTE    BEASLEY                      CO     90015011835
88776558772B33   CHRIS        CRUZ                         CO     33048245587
88776743697B3B   ANDREW       IKENOUYE                     CO     90014247436
8877699A571977   SUSAN        ELEY                         CO     90008479905
8877699A58B168   RICHIE       TATE                         UT     90013959905
88776A87461928   JUAN         MIRANDA                      CA     90013120874
8877791214B22B   MARGARITA    PENA-GARCIA                  NE     27041209121
8877796A497B3B   DYLAN        WOOD                         CO     90010289604
8877864128B168   SIA          TANGULU                      UT     90014886412
8877865244B22B   COSMOS       AWORTWI                      NE     27005536524
887787AA78B154   JUAN         RAMIREZ                      UT     90007317007
8877974285B139   BARBARA      BOONE                        AR     23043637428
88779A17A8163B   CASSIE       HERBERT                      MO     90010850170
8877B21935B27B   FELANDER     STEWART                      KY     90013142193
8877B46AA97138   WILLIAM      MARTIN DEL CAMPO             OR     90007504600
8877B49755B27B   RANIYA       WALKER                       KY     90014834975
8877B87AA91837   DALIA        ESPINOZA                     OK     90010758700
8877B8A8541262   DONALD       STEPP                        PA     90009398085
88781689A3B374   JAIME        CASTRO                       CO     90012316890
8878176829154B   ARLEY        CHAVEZ                       TX     90013077682
88781781972B29   LARRY        GUERRA                       CO     33018197819
8878187A45B27B   SHANANA      FLORENCE                     KY     90009118704
88781978872B44   DERRECK      GILLEN                       CO     33069069788
8878235A44B55B   ALVINA       GAINES                       OK     90015343504
8878248A761928   OFELIA       HERRERA                      CA     90011044807
8878275289154B   LOURDES      DELGADO                      TX     90011297528
8878276268B168   DOUG         CHRISTISON                   UT     90012857626
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1413 of 2350


8878355A672B44   VANESSA      MONTOYA                      CO     90012955506
88785173272B62   ANDREW       COOK                         CO     90015101732
8878561A92B896   RICARDO      BALLESTEROS                  OR     90014736109
88785687697B3B   ELIA         ARELLANO                     CO     90010246876
88786219872B46   SMITH        JEREMY                       CO     33095422198
8878628752B896   ALBERTO      TOVAR                        ID     90006782875
8878719947B356   JOSE         NOLASCO                      VA     90013251994
8878723A651362   BLANCA       LOPEZ                        OH     66000802306
8878951828B168   PATRICIA     NIEVES                       UT     31048825182
8878965774B22B   PAMELA       ALLEN                        IA     90014376577
8878969A633698   MONIQUE      JARRIS                       NC     90004096906
8878976969154B   RAMON        ALVAREZ                      TX     90011297696
88789819572B62   NOE          ZUNIGA                       CO     90008888195
88791172A77537   KIMBERLEE    DRAKE                        NV     90013661720
887912A5951341   BRYAN        SHEPPARD                     OH     90013772059
8879131587B392   RENE         VARGAS                       VA     81017263158
88791352A61928   DAVID        JIMENES                      CA     46071333520
8879137A68B159   RICHARD      FREWIN                       UT     31088543706
887914A1591943   SARAH        HSU                          NC     90008304015
88791523472B33   TIMOTHY      MAESTAS                      CO     90012685234
88791A92172B33   DIANA        DRAHER                       CO     90013810921
88791A97541275   JOSIE        WILEY                        PA     90008790975
88791AA2272B44   NINA GRACE   COOK                         CO     90014340022
8879241188B829   MAKAMAE      YAP                          HI     90014114118
88792841472B33   YESSICA      BRIONES                      CO     90010388414
8879347349154B   JAVIER       CABALLERO                    TX     90002184734
88793A4915B139   CAROLYN      WILLIAMS                     AR     23001940491
88794271372B62   DEVERON      TOPPINS                      CO     33092712713
887942A8597B38   MAXIMINO     MINJARES                     CO     39080162085
88794A9955B139   DONNA        GILLIAM                      AR     23069650995
88795224772B29   CATHY        BLAIR                        CO     33012982247
8879542267B42B   SILVIA       MARTINEZ                     NC     90012664226
8879543242B896   ELVIRA       ALVAREZ                      ID     42084174324
88795675A31444   CRYSTAL      WILLIAMS                     MO     90002886750
8879569A53344B   BYJA         BURKES                       AL     90004696905
88795954697B3B   CORY         KOONTZ                       CO     39039359546
88796871372B99   SILDIA       RASON                        CO     90009908713
88796983272B29   JOHNNY       CRESPIN                      CO     90014929832
88796A76147897   CASSANDRA    SMITH                        GA     14014220761
88797A44A97B3B   KELLY        SHILEIKIS                    CO     39034160440
887982AA672B46   KELLI        WOODARD                      CO     90013992006
8879845899154B   JESUS        GARCIA                       TX     90004384589
88798A5595B17B   O            NELSON                       AR     90002140559
88799421572B44   DENNIS       DELITZ                       CO     90010004215
8879962A633698   SERENA       RALEIGH                      NC     90008886206
88799796397B38   LEROY        JAMES                        CO     39062947963
8879B34528B154   KATIE        BOYACK                       UT     90010393452
8879B3A3161928   JUAN         PLATA-MEZA                   CA     46073833031
8879B575633698   TERRI        MORRISON                     NC     90012445756
887B234762B896   ROBERT       HUBER                        ID     90014733476
887B2396955945   CARLOS       GARCIA                       CA     90012213969
887B2614491837   STEPHANIE    WEBSTER                      OK     90010706144
887B3124877537   JOSE         MELENDRES ANGUIANO           NV     90013771248
887B3576655945   ROBERT       ALEXANDER                    CA     90015195766
887B469875B17B   ORALIA       SILVA                        AR     90005316987
887B5245293771   KARLEE       BENNER                       OH     90010832452
887B532142B896   CLAUDIA      CARPENTER                    ID     90013943214
887B5435491837   SANDRA       PRICE                        OK     90010724354
887B5914891979   SYLVIA       PERRY                        NC     90014709148
887B691137B389   OSMAN        JAMAL                        VA     81000559113
887B6A83472B33   DONNA        SMITH                        CO     90011040834
887B72A878B168   CARLOS       ALONZO                       UT     90012542087
887B7331651341   MARTEZ       MORRIS                       OH     90015033316
887B763232B896   JESUS        VIZCARRA HUERTA              ID     90011286323
887B8397597138   BRANDA       NEWEY                        OR     90015043975
887B8418A4B22B   MATTHEW      TRIPP                        NE     90015044180
887B857A255945   AARON        BUCHHEIM                     CA     90014185702
887B8747197B3B   DANIELLE     IRWIN                        CO     90013607471
887B9387855945   DELILAH      PIINEDA                      CA     90015413878
887B939682B896   RYAN         BRUCE                        ID     90014733968
887B9656797B3B   JAIMEY       HARRIS                       CO     90002026567
887B9752731471   DAVID        AUSTIN                       MO     90015387527
887B9788572B44   CLODEO       CARMONA                      CO     90011917885
887B9799961928   AKIRAH       HOLMES                       CA     90014747999
887B9A76A51362   LINDA        APINER                       OH     90012730760
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1414 of 2350


887BB14A472B46   PETE          BONEY                       CO     33017841404
887BB495897B3B   LINDA         TURNER                      CO     39047374958
8881133943B323   HECTOR        GUARDADO                    CO     33069953394
8881181919154B   ANA           MORIN                       TX     90011298191
8881229A272B46   ESTARO        WHITE HORSE                 CO     90014102902
88812483972B44   DORA          BECERRIL                    CO     33093724839
888124A232B896   JANICE        WHEELER                     ID     42065344023
8881365455B24B   LASONYA       ALLEN                       KY     68061136545
88815A5224B22B   LUCY          URIEL                       NE     90002910522
8881743A672B62   GREGORY       ALLEN                       CO     90014614306
88817944572B21   MAURO         CANTE                       CO     90000569445
88817A93251341   JOSH          HELM                        OH     66016610932
88818339A91979   ERIN          CLEMENT                     NC     17012753390
8881B47569152B   LUEVANO       EDUARDO                     TX     90010644756
8881B62468B168   JULIE         PHILLIS                     UT     90014286246
8881B64215B17B   GERALD        BRANGMAN                    AR     90004116421
8881B885297138   CHRISTOPHE    TAYLOR                      OR     44017358852
88821634A71977   DAYNA         HENDRIX                     CO     38063396340
8882192A572B46   ERNEST        ROBLES                      CO     33054729205
88822656A55945   MIREYA        NENDOZA                     CA     49008646560
8882279112B896   ARIANA        WERTZ                       ID     90014737911
88822AA958B154   YVETTE        LOCKRIDGE                   UT     90011550095
88823625172B44   REINA         SANCHEZ                     CO     90000406251
88824917A72B46   JOSE          RODRIGUEZ                   CO     33091719170
88824A23293771   JOSEPH        PENNY                       OH     64569040232
8882573273B182   GIVSON        OBANG                       DC     81011277327
888269A2772B62   ELIZABETH     MENDEZ                      CO     33086609027
888275A9672B33   EDIE          VALDEZ                      CO     33090195096
8882761168B154   LACEY         WILLARDSEN                  UT     90006386116
88827782A76B9B   CHEYANNE      AVARY                       CA     90011737820
88827969672B29   NEIKO         AMBROSIO                    CO     33025569696
888295A5672B62   EVERARDO      GALLEGOS                    CO     90014825056
8882B26664B22B   COREY         STARR                       NE     27065882666
8882B64A277537   MARIA EDITH   AGUILERA                    NV     90011466402
8882BA77A93721   REGINA        SAYLOR                      OH     90005260770
8883129344B569   BRIANNA       ESTRADA                     OK     90008512934
888325A1591837   MATT          OHMES                       OK     21001355015
888336AA871977   SANDRA        TERRY                       CO     90013106008
8883462A672B33   NATALIE       MARTINO                     CO     90012386206
88834676872B49   CIARA         PADILLA                     CO     90010576768
88835192697B3B   KRISTIN       OLAR                        CO     39039201926
888355A5972B62   SOUTHWEST     STONE LLC                   CO     90014825059
8883583635B139   SHIRLEY       BAKER                       AR     23040848363
88835A33255945   MARIA         MATIAS                      CA     90010460332
888361A5272B44   IRENE         VARRUETA                    CO     90004501052
8883626515B24B   EDWARD        MILLER                      KY     68051332651
88836421997B3B   DAVID         SMITH                       CO     90013214219
8883695669154B   NORMA         MOTA                        TX     75084949566
88836A69971977   GYPSY         KELSO                       CO     90010980699
888383A2861928   LUIS          BAHENA                      CA     46042423028
8883875A397B38   ISAAC         ALVAREZ                     CO     39038277503
88838867972B62   ALEJANDRO     GOMEZ                       CO     90010808679
88839146A41275   TYLER         HALL                        PA     90013881460
88839A3965B27B   ANA           WOODSON                     KY     90014770396
8883B184141262   BRENDA        CHERGI                      PA     51047161841
8883B644193771   KAREN         NEWSON                      OH     90014726441
8883B6A9161928   NEBEYOU       MEKONNEN                    CA     90014616091
8884139475B183   DAVID         LOWERY                      AR     23087333947
888413A9272B46   GUILLERMO     LAGUNA                      CO     33046323092
888417A165B27B   JABEC         MALONE                      KY     90014087016
88844144572B62   GELSEN        ARIZMENDI                   CO     33053661445
8884425277B36B   MOHAMMAD      ANSAR                       VA     90003912527
8884548A155945   ARMEN         MKHITARYAN                  CA     90013384801
88845558572B44   THOMAS        ALVEREZ                     CO     90012955585
888455A5155945   GABRIELA      AISPURO                     CA     90015135051
8884592328B168   DERIK         LONGAKER                    UT     90012929232
88847196A81627   AMANDA        WENTE                       KS     90013111960
88847352A71977   GARY          OWNBEY                      CO     90011323520
88847A51872B62   NAOMI         ORONA                       CO     90014070518
8884881A291979   ROBBERT       WILLIAMS                    NC     17071788102
8884882A641232   VIVERO        HARNENDEZ                   PA     90015308206
8884B32A772B46   ASHLEY        PEARSON                     CO     90012503207
8884B51415B27B   GERARDO       VILLALTA                    KY     68004735141
8885198358B154   KURT          TOLEDO                      UT     31072849835
88851991772B46   CARY          CALHOUN DOYLE               CO     90011649917
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1415 of 2350


8885222A797138   ROGELIO      SAINZ LINARES                OR     44096332207
88852698572B46   JESSE        REYES                        CO     90013096985
88853198A72B29   LESLIE       GARCIA                       CO     33005811980
888531A898B154   JOSEFINA     MARTIN                       UT     90004031089
888532A1433698   ERIC         CHANDLER                     NC     90012732014
88853487272B62   DANIEL       WALKER                       CO     33084174872
8885388882B896   AMANDA       CRAIG                        ID     42028828888
88854454972B29   ANDREI       JELTAI                       CO     33019694549
888567A5472B62   INGRID       CARRION                      CO     90011057054
88857221A57128   NATALIE      HASKINS                      VA     90005142210
88857652572B44   CANDRA       MONTOYA                      CO     90013716525
88857729A7B34B   RODRIGO      RIVAS                        VA     90002297290
8885829865B24B   ERIN         LAWSON                       KY     90010612986
8885888379154B   VALERIE      MUNOZ                        TX     90011298837
888588A7672B44   KRYSTAL      FLORES-MOLINA                CO     90001578076
88858A47891837   SARAH        REDMAN                       OK     21009180478
88859561872B44   GILBERT      DURAN                        CO     90012955618
8885B1A1484351   NIGEL        WIGFALL                      SC     90010621014
8885B634497B38   JESS         HANKINS                      CO     39090206344
8885B841A33685   JESUS        MENDOZA                      NC     90013828410
8885B897891837   CYNTHIA      WOODARD                      OK     21045988978
8885B99249154B   CHRISTINA    LUJAN                        TX     90004989924
88861A85971977   SHAWN        LITTLE                       CO     90010430859
8886234718B168   MELISSA      NEIMOYER                     UT     90009943471
88863643997B3B   ARMANDO      VILLARREAL                   CO     39080276439
8886376A15B27B   KENNETHIA    HUGHES                       KY     90013287601
8886385A572B33   MARTHA       GONZALEZ                     CO     33059538505
8886481328B154   ANGIE        OLDHAM                       UT     31089878132
88864966972B46   ANTONIO      ALTAMIRANO                   CO     33028819669
88865194197B38   VICTORIA     ORTIZ                        CO     39061071941
88865226572B33   WILLIAM M    BEAN                         CO     33065152265
88865718A61928   MARY         VALENZUELA                   CA     90013937180
8886634375B27B   CHRIS        SMITH                        KY     68025193437
8886734795B27B   MARY         COOP                         KY     90009543479
88867533272B44   COLLEEN      BLALUK                       CO     90004435332
8886767613163B   KENNETH      BRISON                       KS     90011986761
8886788753344B   TAMEIKA      STINSON                      GA     15090558875
8886821895B183   DAVID        ROBERTS                      AR     23009842189
8886857A78B145   CARL         VANMEETEREN                  UT     31000855707
8886914A441275   RICCI        CONNOR                       PA     51010011404
88869558672B46   DAVID        GARCIA                       CO     90006785586
8886963549152B   BRENDA       FUENTES-RODRIGUEZ            TX     90004376354
88869897A9154B   MARIANA      SOLIS                        TX     90011298970
88869957597B3B   BASHAR       MATRIX                       CO     90013209575
88869985A91837   LASHON       JEFFRIES                     OK     90009669850
88869A4AA61928   JAMIE        BULICK                       CA     46032220400
8886B45A572B33   JENNIFER     EVIG                         CO     90012844505
8886B818741262   WILLIAM      ALLEN                        PA     90011048187
8886B821691979   SHERMAN      MURRAY                       NC     90014718216
8887114139154B   IGNACIO      ULLOA                        TX     90013321413
8887152195B139   STACY        MURRAY                       AR     23091965219
88871657772B62   LYSA         MENGER                       CO     90001726577
88871731797B3B   RACHEL       HASSELL-FOSTER               CO     39054037317
88871774A91979   EMPRIS       DAIS                         NC     90014907740
888718AA451341   EUGENE       AUSTIN                       OH     66096378004
888721AA65B17B   RENDA        DAVIDSON                     AR     90014651006
8887252668B154   JUAN         MORENO                       UT     90010395266
8887397769154B   ROCIO        VENZOR                       TX     90012339776
88873A58351341   BENEDICTO    MARROQUIN                    OH     90013930583
888741A8177537   TONI         RAMOS                        NV     43013081081
88874926272B62   JEREMY       MOORE                        CO     90012429262
888751A5A97138   CONRADO      VENEGAS BEJARNO              OR     90014891050
88876589272B46   JESSE        O NEAL                       CO     90015125892
8887753148B154   JEMIL        MOHAMEDZEN                   UT     90010395314
8887878529154B   HALEY        TIPTON                       TX     90012627852
88879A21797B3B   ROSS         HANSEN                       CO     90013460217
8887B35325B139   MIKE         AVALLE                       AR     90012093532
8887B659655945   JUANA        MARIN                        CA     90014186596
8887B819A91523   JAIME        RODARTE                      TX     90012028190
88881A17154168   ALBERT       ADAMS                        OR     47093560171
88882299A91837   ORATE        GRAHAM                       OK     90012652990
8888231658B168   LAURA        HARPER                       UT     90012303165
8888264866197B   LUBNA        MAROGY                       CA     46084816486
88882AA7141262   SHARLA       MUNROE                       PA     51080260071
888831A1872B44   YOLANDA      MEZA                         CO     90014211018
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1416 of 2350


8888333359154B   ROBERTO        FERNANDEZ                  TX     90015013335
888833A818B829   AZLYNN         MOMOA                      HI     90014063081
88883627672B33   CORY           RYAN                       CO     90010776276
88883744A4B22B   ASHLEE         FAY                        IA     90012267440
88883A5814B22B   JACOB FAY      ASHLEE FAY                 IA     90015170581
8888438545B27B   EARL           MANNS                      KY     90006493854
88884473672B44   OSCAR          SANTANA                    CO     33050314736
888849A4133698   LIZ            GUZMAN                     NC     90011239041
88885379472B29   VERONICA       CHAVEZ                     CO     90014413794
8888538695B27B   JEREMY         EVANS                      KY     90006493869
888857A215B183   PATSY          TYRA                       AR     90002057021
8888589A897B3B   SERENITY       GRIFFITH                   CO     90013128908
8888631688B145   THOMAS G       RUSSELL                    UT     90009373168
8888661519154B   ESPERANZA      HERNANDEZ                  TX     75042376151
8888668815B24B   JELMER         VASQUEZ                    KY     68054306881
88886998A91979   DEBORAH        ONGOMBE                    NC     90014719980
88886AA4141262   CRYSTAL        ROBERTS                    PA     51034320041
88887541397B3B   LAQUESH        MATTHEWS                   CO     90013195413
8888796A141262   MALGARITTA     SIMMS                      PA     90004719601
88887A39641275   CAROL          DONALDSON                  PA     51027420396
88889A74847822   SABREA         GIBSON                     GA     14008370748
8888B315571977   WILLIAM        TRUJILLO                   CO     38066283155
8888B329341275   JAYNELL        WRIGHT                     PA     90013073293
8888B46A24B22B   CLAUDIA        NAVEJAS                    NE     27080894602
8888B881193771   MIKE           BROWN                      OH     90011788811
8889197865135B   SELWYN         WARD                       OH     90009159786
888927A7241247   DONNELL        GORDON                     PA     51023087072
8889286472B896   BETHANY        HUDGINS                    ID     90014748647
88893A26672B46   DOLORES        VALENZUELA                 CO     90002630266
88894142572B29   NICHOLAS       CAPPELLI                   CO     90004761425
88894364A5B24B   TIA            BISHOP                     KY     90010803640
88894727A72B44   SUSANA         REYNA                      CO     90015007270
88896294A72B33   MARIO          MEDINA                     CO     90011402940
88896866A2B896   JOSE           HERNANDEZ                  ID     90014748660
88896912672B29   KRISTINA       DREILING                   CO     33060919126
88896A44691979   ANGELA         WILLIAMS                   NC     90014720446
88897166A97138   TITO           CARRILLO                   OR     90015091660
8889814545B921   PRISCILLA      PETLEY                     ID     90014201454
88899176A97138   GARY           BROWN                      OR     90015091760
8889931298B168   GABBIE         FORD                       UT     90004953129
88899A44691979   ANGELA         WILLIAMS                   NC     90014720446
8889B466161994   ERIKA          CANELO                     CA     90005074661
8889B55553B337   RUTH           JONES                      CO     90011975555
8889B632451341   CARRIE         BRYANT                     OH     66081056324
888B1148833698   SCOTTIE        BLEVINS                    NC     90001571488
888B163222B896   MARIAH         CORREA                     ID     90014736322
888B1882A5B27B   LIL            SEXY                       KY     68021738820
888B2365872B44   DAVID          ESCOBAR                    CO     90015163658
888B279585B27B   LAVON          TROUTMAN                   KY     90015087958
888B2882A5B27B   LIL            SEXY                       KY     68021738820
888B396A772B46   MARISSA        PADILLA                    CO     90012199607
888B3A6A293771   NICOLE         TASTE                      OH     90014720602
888B4181533698   NORMA          WILSON                     NC     90014951815
888B4533472B33   MYLES          BOCCARDI                   CO     33091455334
888B45A1971977   JEANETTE       FRANKLIN                   CO     90015485019
888B4986172B83   MARSHALL       SWANSON                    CO     33011169861
888B4A25897B3B   MARIA          MEDINA                     CO     90005090258
888B4A8868B168   JORGE          GARCIA                     UT     90007740886
888B5484877537   KAYLA          PETERSON                   NV     90009364848
888B5553872B46   ADRIAN         CASTILLO                   CO     33081715538
888B564297B339   CHRIS          TENSLEY                    VA     90001026429
888B6294133698   ANTONIA        GARCIA                     NC     90010512941
888B69A799154B   DEBBIE         ROJAS                      TX     90014859079
888B7A91272B33   S              MARTINEZ                   CO     33096880912
888B83A6672B46   MARIA          MENDOZA                    CO     90012873066
888B8516172B62   FRANCINE       MILLER                     CO     33001365161
888B8939155945   JOSE           SALAZAR                    CA     90013179391
888B913165B183   JONATHAN       HUTCHISON                  AR     23009321316
888B921275B27B   CURTIS         JACKSON                    KY     90006652127
888B9A43597B3B   LINDA          KING                       CO     90008770435
888BB113833698   ANDREA         FOSTER                     NC     90014951138
888BB446971977   DESTINY        PACHECO                    CO     90010714469
888BB569772B46   JERRY          GONER                      CO     90003245697
888BB596991979   GIMAYAL        MCLEAN                     NC     17084005969
888BB9A5841262   JORGE DANIEL   CASTILLO CARRANCO          PA     90013579058
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1417 of 2350


8891165877B35B   NISHA        GAJRAMSINGH                  VA     90000986587
88912352A51341   ALLEN        WALACCE                      OH     90008273520
8891265A972B29   GARCIA       JOHN                         CO     90010986509
8891311459154B   ORTIZ        JOSE                         TX     75010151145
889137AA771977   EDGAR        LANGARICA                    CO     90012657007
8891462735B139   ROXIE        BRYANT                       AR     23087306273
88915938A97B3B   KARLA        GONZALEZ                     CO     90000639380
88915A99A72B46   DAVID        CIZEK                        CO     33046230990
8891615148B168   BRENDA       BERNADINO                    UT     90015111514
8891724315B27B   WILLIAM      ROBINSON                     KY     68002332431
88917548372B44   TIFFANY      GRANT                        CO     33077005483
8891763867B425   PEDRO        AVALOS                       NC     90012346386
889184A5277537   KADYSHA      MILLIGAN                     NV     90013744052
889194AA171977   RAEANN       VIGIL                        CO     38017884001
88919888372B62   MIKE         FEASTER                      CO     90010788883
8891B775151367   DAVID        FOGELSON                     OH     66098367751
8891B866A2B896   JOSE         HERNANDEZ                    ID     90014748660
8891B9A2951341   KRISHANDA    BURSON                       OH     90014849029
8891BA24271977   DOUGLAS      OOLEY                        CO     90009350242
8891BA25861928   STEPHAINE    RAMIREZ                      CA     90004790258
8892111264B561   SHERKERIA    WILKERSON                    OK     90011511126
8892345652B896   PAT          EMERY                        ID     90006454565
88925A7A872B46   SCOTT        CARTER                       CO     33082890708
8892633685B183   JUAN MANUE   OROZCO                       AR     23008143368
8892699699154B   EDGAR        CORTEZ                       TX     90011299969
8892745435B17B   ERICA        SATTERFIELD                  AR     23060004543
8892772347B457   SHEMBO       KILUMBU                      NC     11005267234
88927747572B44   EDWIN        LOPEZ                        CO     33068697475
88927A7239154B   REFUGIO      ACOSTA                       TX     90013630723
88927A73A41275   BRENDA       TURNER                       PA     51039720730
8892868367B464   BETH         BYERS                        NC     90001216836
8892B376693771   BRIGETTE     DANN                         OH     90003543766
8892B633972B44   DAWN         WELCH                        CO     90012446339
8893135694126B   ANGELICA     LOPEZ                        PA     90003833569
889315A288B154   NATALIA      PEREZ                        UT     31054025028
8893249555B379   CHRISTEN     ONTIVEROZ                    OR     90013004955
88932A7275136B   DORIS        ARMSTRONG                    OH     90008710727
8893354A841275   ROBERT       PURVIS                       PA     90012995408
889335A1954177   ADON         FLORES                       OR     90015065019
889346A8377537   JOSHUA       GRIFFETH                     NV     90013306083
8893571745B27B   TREY         BETHEL                       KY     90014087174
88935816772B29   PATREECE     MORADO                       CO     90011968167
88935896997B3B   OREL         LUJUAN                       CO     90011068969
8893617549154B   ROMUALDA     MENA                         TX     90002611754
8893652875B17B   JERIEL       ROBERTS                      AR     23019495287
88936A77691979   THUAN        NGUYEN                       NC     90014840776
8893712338B168   FEDERICO     GARCIA                       UT     90013141233
8893752959154B   OSCAR        MARTINEZ                     TX     90011495295
88937996972B33   JOSY         HERRERA                      CO     90002289969
88939647397B3B   MARJORIE     SIMMONS                      CO     90002666473
8893B177972B44   J.LEXI       VALENZUELA                   CO     33004381779
8893B343955945   LINDSEY      HAYES                        CA     90009083439
8893B87342B896   TRAVIS       BORDERS                      ID     90010778734
8893B874891979   NWEENA       DAVIS                        NC     17011248748
8894191954B22B   NATHAN       FLEMING                      NE     90010709195
88941A53233698   MONICA       WILKINS                      NC     12008460532
8894235712B896   KRISTIE      BEHRMAN                      ID     90013023571
8894286245B27B   APRIL        BURTON                       KY     90013938624
8894291768B168   IAN          DURRANT                      UT     90014569176
8894298A772B44   VICTOR       VASQUEZ                      CO     90013409807
88943A85697B3B   SERGIO       CHACON-ZAPATA                CO     39091350856
8894427979154B   GUSTAVO      MENDEZ                       TX     90011332797
889446A9A8B154   JUANA        CARRASCO                     UT     90001186090
8894478765B271   SHANNON      MCDONALD                     KY     68000537876
88945643997B3B   ARMANDO      VILLARREAL                   CO     39080276439
88945A72A33698   SYRETTA      TATE                         NC     12092420720
8894631A55B27B   RACHEL       ANDERSON                     KY     90010733105
8894645184B22B   DON          ORTEGA                       NE     90010614518
88947118272B62   LINDSEY      UNDERWOOD                    CO     33014191182
88947263972B44   ALFREDO      SANTOS                       CO     33073012639
8894745945B27B   MELISSA      BURTON                       KY     90006494594
889482A4141262   MARQUAILIA   LANGSTON                     PA     90014822041
8894834934B22B   LORIE        TABOR                        NE     27044773493
889485A2751341   WENDY        BLAIR                        OH     90008645027
8894916542B896   ALFREDO      REYNAGA                      ID     90009251654
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1418 of 2350


8894922A672B62   RYAN         BURKLOW                      CO     90013642206
88949266A5B13B   JESSICA      JOHNSON                      AR     90012192660
88949314597B3B   NICHOLAS     BELLEAU                      CO     39042333145
8894988399154B   CARMEN       ORDONEZ                      TX     75081348839
8894994185B24B   ANGELA       ROBY                         KY     90010619418
8894B343A72B62   ALEJANDRA    QUIROZ                       CO     90003733430
8895145945B27B   MELISSA      BURTON                       KY     90006494594
8895148295B594   TERRI        SANTIAGO                     NM     90009814829
88951A27651341   TRYSH        JOHNSON-GADKER               KY     90007160276
88952696872B83   JESUS        PEREZ                        CO     90014016968
8895286245B27B   APRIL        BURTON                       KY     90013938624
889528A5371977   LIANA        FRANCO                       CO     90004298053
889529A9851341   PATRICIA     FLORES                       OH     66089279098
88952A8925B183   ALEXIS       WINTERS                      AR     23087460892
88952A91397B3B   JAMIE        ESTERGUARD                   CO     39015900913
889536A8771977   FRED         MAISEL                       CO     90006456087
889537A279154B   SYLVIA       VALDEZ                       TX     75095977027
88953A95672B46   ANTHONY      DE LA TORRES                 CO     90014490956
88954281372B46   MICHELLA     ZEILISKO                     CO     90013852813
8895429315B24B   MONTERRIA    PERRY                        KY     90011982931
889542A5241275   BRENNA       PERGALSKE                    PA     90014092052
88954821A72B44   VENDETTA     FERGUSON                     CO     90008658210
88954A1379154B   RUBEN        OLIVER                       TX     90011300137
88954A73A2B896   ERIN         KNOELL                       ID     90010330730
8895552298B168   MELISSA      ESTRADA                      UT     31096315229
8895573A472B33   BERNADINA    MONTOYA                      CO     33008367304
8895595125B24B   JANUKA       UPRETI                       KY     90010619512
88955A21877537   DEBRA        STEINBERG                    NV     90015390218
8895628363B396   TYSON        ADAIR                        CO     90007282836
889562A5533698   BARRY        DUNN                         NC     90014952055
88956621A77537   KYLE         MEHRMOFAKHAM                 NV     90007256210
8895727822B896   MEICHELL     DALE                         ID     90013822782
88957382372B46   VERONICA     RAMOS                        CO     90010083823
88957A23851341   OPAL         MIKULA                       OH     66092920238
8895818449154B   REYNALDO     SOLIZ                        TX     75026781844
88958245972B29   ROSSY        LOPEZ                        CO     33012412459
8895948685B27B   ALLEN        MCKAY                        KY     90006494868
8895991A48B188   GABALDON     KERI                         UT     90000909104
88961589197B3B   DIANA        MARQUEZ                      CO     39036865891
88961595772B33   JAMES A      WARFIELD                     CO     90005795957
8896194145B27B   ALEX         DAVIS                        KY     90013839414
88961AA3477533   TOM          NORDNESS                     NV     90001430034
88963215672B46   OSCAR        GONZALEZ                     CO     33018352156
8896369A127B49   ANNETTE      BROWN                        KY     90002316901
88964A6518B135   STEVEN       PETERSON                     UT     90008700651
88965118172B46   MARCO        MARTINEZ                     CO     90012211181
88967345797B3B   RICHARD      BACA                         CO     39005263457
88967A2119154B   DAVID        AREDONDO                     TX     90011300211
8896864718B154   LINDA        MONTANO                      UT     90010396471
889689A422B255   JASMINE      MCCLENTON                    DC     90005749042
889695A7172B62   ELSIE        MCLAURY                      CO     90014825071
88969A76572B44   TARA         HEWITT                       CO     33030870765
8896B25695B27B   DESHAWNDRE   DAVIS                        KY     90014712569
8896B3A5371977   MARY         MEDOZA                       CO     90013073053
8896B717633698   CIERRA       CARTER                       NC     90013987176
8896B8A4A97138   JAIMIE       KEETON                       OR     44010558040
88971839A93771   JOSE         RESENDIZ                     OH     90015118390
889719A8A9154B   SANDRA       ESCOBEDO                     TX     75032279080
88971A95472B44   ELEZAR       REYES                        CO     90010060954
88972268572B8B   ABRAHAM      REYES                        CO     33045262685
8897243144B22B   CIERRA       MATTHEWS                     NE     90013534314
8897255998B154   SHUMAN       TIFFANY                      UT     90009745599
8897275A497B3B   VICTOR       CRUZ                         CO     90008727504
889734A2872B33   MARTIN       GOMEZ BUENO                  CO     33017784028
88974755497B3B   CHRISTINA    GNIADY                       CO     90013447554
8897479A755945   JEANNETTE    ANDRADE                      CA     90010417907
889749A212B896   MURAGIZI     SEBASTUTSI                   ID     42001819021
8897525A25B27B   ELMORE       JACKSON                      KY     68083082502
88975369697B3B   KENT LEE     MERCANDANTE                  CO     90013523696
8897573642B896   NICHOLE      PIERCE                       ID     90014487364
88976A52A41262   RACHEL       VOSHALL                      PA     51091510520
889775A4197B3B   TODD         ANDERSON                     CO     39036185041
88977A28351362   ANGIE        MEECE                        OH     66061180283
8897855998B154   SHUMAN       TIFFANY                      UT     90009745599
88978572172B44   YOLANDA      LAMAS                        CO     33037805721
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1419 of 2350


88978A28351362   ANGIE         MEECE                       OH     66061180283
8897926992B981   MATT          GREEN                       CA     45002382699
8897995A45B24B   LINDA         CRAVENS                     KY     68006379504
8897B464751334   ADRIAN        TORBERT                     OH     90000474647
8897B64718B154   LINDA         MONTANO                     UT     90010396471
8897B785441262   MICHAEL       TARR                        PA     51019327854
889814A9672B33   SARA          GARGARICI                   CO     33051164096
889821AA391837   JASON         COLE                        OK     90014611003
8898227755B27B   JESSICA       CARDELL                     KY     90012552775
889828A6497138   ROBERT        VAN ZANDT                   OR     90015098064
8898334A45B233   TANASHA       EVANS                       KY     90011083404
88983589A71977   ANGEL         ANDREA MARTINEZ             CO     90012695890
88983855572B46   VICTOR        GALINDO CONTRERAS           CO     90009088555
8898449588B154   LORI          NAVARRO                     UT     31001044958
8898464384B22B   JACQUELINE    BARTLETT                    NE     90013686438
88984937772B46   FRANKLIN      OSBORN                      CO     33009129377
88984994A72B44   MAI           THAO                        CO     90010139940
8898518A851341   BRANDON       JOHNSON                     OH     90007981808
88985A7A471977   CINDY         GAFFNEY                     CO     38062060704
88986156276B2B   WANDA         SIMPSON                     CA     90011701562
889862A2297138   SUSANA        AGUILAR                     OR     90002862022
88987632872B46   NOE           CRESPO                      CO     33078576328
8898836375B27B   KARI          THOMPSON                    KY     90013153637
8898923A872B29   GREGGERY      PAYNE                       CO     90012142308
88989245597B3B   TRAVIS        SMITH                       CO     90012572455
8898926842B237   CESAR         GONSALEZ                    VA     90008522684
88989616272B62   JUAN          MOLINA                      CO     90009996162
8898974512B896   EDWARD        COINER                      ID     90012737451
8898B365172B29   ROSA          PINEDA                      CO     33051053651
8898B89942B896   ANGELINA      ROBLES                      ID     90004748994
889911A3577537   AMBER         HUGHES                      NV     90003921035
88991258797B3B   JESUS         ESPARZA                     CO     39061982587
8899128A251341   ANTHONY       PRATT                       OH     90010792802
88991A4649154B   MARTHA        OCHOA                       TX     90011300464
88991A4A25B24B   DALE          EARLEY                      KY     90010820402
88992326A72B33   CATHERIN      CALDERA VELAZQUEZ           CO     90013063260
8899236375B27B   KARI          THOMPSON                    KY     90013153637
88992491972B29   BENITA        PROVENCIO                   CO     33029754919
8899312A655945   GLORIA        RODRIGUEZ                   CA     90012041206
8899369A997B38   JESSIE        ROBERTSON                   CO     39061386909
88994211A2B896   TERESA        WEST                        ID     90007762110
8899456835B183   JO            HOUSTON                     AR     90005865683
8899524294B22B   CHRISTOPHER   MOREHOUSE                   IA     90003462429
8899549554B55B   OMAR          BOLDING                     OK     90011174955
8899585A32B896   MICHAEL       LABELLA                     ID     90010148503
88995A4648B168   MARGARITA     RODRIGUEZ                   UT     90007470464
8899632642B896   JOHN          PALACIOS                    ID     90007153264
88996833A72B33   BRYAN         SWIRES                      CO     33059308330
88996A43977537   DAVID         PERRY                       NV     90014830439
88997A92997B3B   FELIPE        SONTAY                      CO     90014900929
88998669397B3B   KYMMERLEIGH   OLIVER                      CO     90015106693
88998911872B33   LORA          MCHUGH                      CO     90014639118
88998A44171977   ANTONETTE     HURD                        CO     90007160441
8899919284B22B   MANUEL        GONZALEZ                    NE     27087911928
88999298297B3B   JESSIE        GODINEZ                     CO     90002472982
88999689172B62   NANCY         RHONE                       CO     90010936891
88999752672B33   CHERYL        BUSTAMANTE                  CO     33050287526
88999A5772B981   ZECHARIAH     STOKER                      CA     45039180577
8899B133372B46   JEFFERY       BARNHARDT                   CO     90010091333
8899B573571977   POPS          VIGIL                       CO     90004645735
889B1239A8B168   AMBER         HOSKINS                     UT     90008502390
889B1557255945   MARIA         URIBE                       CA     49074895572
889B187719154B   MARIA         MACIAS                      TX     90005878771
889B188135B271   DARRELL       FORD                        KY     90010668813
889B2573497B3B   LUCIUS        ODELL                       CO     90014915734
889B26A6997B3B   GREGORY       DAVISSON                    CO     90013556069
889B26A839154B   ROSA          OLIVAS                      TX     75084976083
889B2827A91837   JANET         POTTER                      OK     90008998270
889B2866A2B896   JOSE          HERNANDEZ                   ID     90014748660
889B2A71641262   MIKE          MADDEN                      PA     51067100716
889B341245B27B   RACHEL        FORD                        KY     90006494124
889B3556184346   WHITNEY       MCFADDEN                    SC     90015245561
889B4429277537   DIPALI        AMIN                        NV     90014874292
889B4489471977   ELAINE        NIEDES                      CO     38068984894
889B4555891979   SHANELL       BUNCH                       NC     90014755558
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1420 of 2350


889B467A855945   JUANA             MARIN                   CA     90014186708
889B4929251341   KENYA             JORDAN                  OH     90014569292
889B5574477537   ADONAY            MEDINA                  NV     43022745744
889B5586977537   ADONAY            MEDINA                  NV     90012625869
889B559345B183   DAVID             MELENDEZ                AR     23006185934
889B5A56172B44   MARCELLO          GARCIA                  CO     90011990561
889B6225A97B3B   CRYSTAL           JONES                   CO     39001112250
889B6578641262   TOYA              SOLOMON                 PA     51059905786
889B6864A97138   LEONEL            RAMIREZ                 OR     90005978640
889B6A5318593B   SHANE             MORRIS                  KY     90012400531
889B7541533698   TALISHA           CARTER                  NC     12035295415
889B7663577537   JORDAN            KOCHAMP                 NV     90010956635
889B818592B271   ALEXIS            HACKETT                 DC     81005981859
889B853242B237   DEVAN             BEAN                    DC     81011055324
889B947248B168   RUBEN             RODRIGUEZ               UT     90013544724
889BB16158B154   CARLA             GRAY                    UT     31075201615
889BB179591979   SHATEKA           SEAWELL                 NC     90014921795
889BB57A75B183   EDDIE             GARY                    AR     23084455707
889BB7A939154B   GARCIA MONTANEZ   CLAUDIA                 TX     90006857093
889BB875272B44   JERI              LUDWIG                  CO     90012958752
88B11725372B62   ROSEMARY          CONDER                  CO     90010777253
88B11761171977   MICHELLE          BRADLEY                 CO     38033867611
88B117A2A51341   JAMES             HADDEN                  OH     90012507020
88B12175597B3B   MITCHELL          WALKER                  CO     90013351755
88B12A25493721   DORIS             FARRIS                  OH     90013750254
88B12A6A59154B   ERIKA             RAMIREZ                 TX     90011060605
88B13311755945   RODSHETA          MOORE                   CA     90012543117
88B13443784371   JAMES             MCKINNIE                SC     19011964437
88B14583297138   SANDRA            DAVIS                   OR     90010695832
88B1472255B27B   CHRISTINA         GUENTHER                KY     90008977225
88B1535299152B   SOFIA             DIAZ                    TX     90011743529
88B1553919154B   RAUL              MORALES                 TX     90003755391
88B15896493771   BARBARA           HUDSON                  OH     64534638964
88B1619573344B   QUAMAE            BELLAMY                 AL     15007211957
88B16314697B38   MAEGAN            TRUJILLO                CO     90003203146
88B16733A6194B   LIZBETH           SOLANO                  CA     46031377330
88B16832272B46   KELLY A           BALDWIN                 CO     33048248322
88B18139884333   ARGELIO           CASTILLO                SC     90015381398
88B1822385B27B   LASHAY            GAINES                  KY     68021112238
88B18677772B33   MICHELLE          ORTEGA                  CO     33094206777
88B18A21A2B896   KATHRYN           WURTZ                   ID     42012340210
88B18AA9772B46   CLAUDIA           QUIROZ                  CO     90014060097
88B19143691979   RODOLFO           CASTILLO                NC     17016121436
88B1916748B168   LEEANZA           CAMPBELL                UT     90013811674
88B19189991979   MIGUEL            TUCKER                  NC     90014921899
88B19874197138   ERIKA             HERNANDEZ               OR     44060938741
88B1B15172B896   GARY              OSBORN                  ID     90005321517
88B1B3A6347822   SHAREE            LINDER                  GA     14061593063
88B1B47325B27B   LAQUISHA          SIMS                    KY     90014624732
88B1B55286194B   HEIDI             PLUMMER                 CA     46007615528
88B1B678972B29   LORI              BURTON                  CO     33055446789
88B1BA88272B33   JAMES             HAGAN                   CO     90013150882
88B21179472B33   MICHELLE          HOUTCHENS               CO     90007621794
88B2145189154B   ARACELI BEANES    DE SANTILLANA           TX     90013034518
88B21679155945   GUS               RUIZ                    CA     90014166791
88B21AA9361928   DAN               DRAKE                   CA     90008640093
88B22326272B62   MITCHELL          RIVERS                  CO     33066863262
88B22366397B3B   CINDI             SMATHERS                CO     39050443663
88B2268A755945   ALYSSA            AROSEMENA               CA     90014166807
88B22866791979   ATILIO            ORDONEZ                 NC     17098638667
88B2296867B386   ALBA              PALENCIA                VA     90007529686
88B22A68261924   MARCHELL          CRAIN                   CA     90003490682
88B23466A61928   ALBERT            VALENCIA                CA     90007414660
88B2368614B22B   MICOLE            BONNICHSEN              NE     90008716861
88B236A3791979   GAIL              HARRIS                  NC     90002596037
88B23844997138   SODELBA           LOPEZ                   OR     44009338449
88B23943872B49   JOE               HENRITZE                CO     90010469438
88B23A12A33698   VERNETTE          YELLOCK                 NC     90013400120
88B23A27972B33   CHRIS             PORTLOCK                CO     90010970279
88B2412A451341   KATHLEEN          CADDELL                 OH     66096481204
88B2433765B183   CEEDY             LOV'E                   AR     23098923376
88B2446739154B   VICTORIA          GOMEZ                   TX     90014474673
88B2453A272B29   ROSE              ODUHO                   CO     90007035302
88B247A134B548   STEVEN            MCWILLIAMS              OK     90014707013
88B25587572B46   JOSE              ADAME                   CO     33013045875
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1421 of 2350


88B2558835B27B   AIDA           GUZMAN                     KY     90002055883
88B25596433698   TIM            JONES                      NC     90009695964
88B25754277537   AHMED          SHERAZ                     NV     43036257542
88B25A56672B33   AURORA         ARUMBULA                   CO     33037320566
88B2638412B896   MICHAEL        KERSEY                     ID     42040753841
88B2728485B24B   MARK           SPENCER                    KY     90000342848
88B27685497B3B   LESLIE         VALENTINE                  CO     90013136854
88B27828372B44   KASHIKA        MPINGA                     CO     90014318283
88B27973997138   PHILLIPS       MERRYMAN                   OR     44052819739
88B281AA83344B   MICHAEL        STEPHENS                   AL     90014731008
88B29263672B46   KERI           KING                       CO     90000812636
88B2927289125B   TAWANDA        PULLEY                     GA     90008392728
88B29286771977   MELISSA        GOSNELL                    CO     90009902867
88B29715872B62   ELVIA          GUTIERREZ                  CO     33065737158
88B2B291372B46   ALBERTO        GONZALEZ                   CO     33083812913
88B2B544772B29   OMAR           OVALLE                     CO     90013045447
88B2B637597138   ELIZABETH      JOHNSON                    OR     44083156375
88B2B8A754B22B   RUTHIE         MANZER                     NE     27065038075
88B2B93A572B44   ROY            BAILEY                     CO     33028649305
88B2BA85533698   BRONDON        SNOW                       NC     90005820855
88B31685751341   TONYA          ISAACS                     OH     66094016857
88B31779372B49   EMILY          ELOI                       CO     90011687793
88B317A3797138   WENDY          DAY                        OR     44051387037
88B31968751341   LATOYA         STOKES                     OH     90015449687
88B31A85791525   VICTORIA       GONZALEZ                   TX     90009440857
88B3243A172B62   GENETTE        TURNER                     CO     33006664301
88B338A963344B   LAKEISHA       BULLARD                    GA     90014208096
88B3431643B361   JOSE           ESCOBAR                    CO     90014823164
88B34356372B46   CARMEN         CHAVEZ                     CO     33078293563
88B34A9595B139   RAYMOND        HAMIL                      AR     23039420959
88B34AA5141262   GEORGE         MAZUR                      PA     90013310051
88B352AA591547   JAVIER         HERNANDEZ                  TX     90012462005
88B35431A6198B   HECTOR         VELAQUEZ                   CA     90012674310
88B3633542B896   TROYCE         ROSENBERGER                ID     90009943354
88B36613497138   CHRISTOPHER    DUNN                       OR     90014776134
88B3673728B154   GRACIELLA      SANDOVAL                   UT     90002147372
88B3815183B382   DANICA         MCDONALD                   CO     90009741518
88B38217A8B154   ALYSHA         GILLETT                    UT     31053272170
88B384AA29152B   HUGO           RIVERO                     TX     75036504002
88B38A71371977   ADRIANNE       MERCADO                    CO     90010220713
88B38A7448B168   JULIAN         RAMIREZ                    UT     90014520744
88B38A96555945   PETE           SEPULVEDA                  CA     49013860965
88B39198551362   BONITA         BIRCH                      OH     90011831985
88B3928AA7B448   SUSANNE        FARRAR                     NC     11072152800
88B3971115B27B   SHARI          ZURITA                     KY     90014617111
88B39915297B38   MARIA          FLORES                     CO     39002709152
88B3B779372B49   EMILY          ELOI                       CO     90011687793
88B3B93253344B   CARLOS         ACABAL                     AL     90013819325
88B3B987697B3B   MELANIE        GAMALSKI                   CO     90003989876
88B3BA37371977   AMADA          PRICE                      CO     90005440373
88B41253491837   RICHARD LEON   HARRIS                     OK     90014582534
88B4125A341275   SANDRA         CUBAKOVIC                  PA     51024302503
88B41A6832B896   SCOTT          ZIMMERMAN                  ID     42098200683
88B4216A25B27B   GREGORY        MARCUM                     KY     90000921602
88B42249472B44   ADRIANA        GARAY                      CO     90012942494
88B423A5872B44   ANGELO         RODRIGUEZ                  CO     90013743058
88B43299797B3B   RICARDO        RUIZ                       CO     90013932997
88B4356438B168   MAGDALENA      LOPEZ                      UT     90009185643
88B43A66861951   ANDREA L       FLOW                       CA     90000790668
88B44616A3344B   JACOB          KECKIS                     AL     90015566160
88B4479A493771   TONY           THOMAS                     OH     64580667904
88B44849641275   MICHAEL        MOOREFIELD                 PA     90012978496
88B4534592B896   MERCEDES       GARCIA                     ID     90010583459
88B46141251366   MATTHEW        SCOTT                      OH     90011571412
88B4638A84B22B   SIARA          MITCHELL                   NE     90010253808
88B463A783B335   MICHAEL        BLANKENSHIP                CO     90012153078
88B46519141262   TERESA         ABBOTT                     PA     51006345191
88B46AA8972B62   SARAH          ANIBAS                     CO     33056010089
88B4714314B578   JOSE           DELAROSA                   OK     90010021431
88B4726877B367   EDWIN          MINERO                     VA     90001422687
88B47742197138   BROOKE         MULL                       OR     90013977421
88B48524A91979   REGINA         HICKS                      NC     90009645240
88B48672397138   TONDA          LEMLEY                     OR     44060736723
88B48794733698   STEPHANIE      SUMMERS                    NC     90011217947
88B48836372B44   DAVID          RAMIREZ BARRAZA            CO     33079828363
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1422 of 2350


88B4919338B168   JESUS         BARRERA FLORES              UT     90014371933
88B49717672B29   ERIC          PEREZ                       CO     90013017176
88B49AAA147897   DAVID         JACKSON JR                  GA     14043780001
88B4B42964B22B   CARLOS        NIEVES                      NE     90007804296
88B4B613497138   CHRISTOPHER   DUNN                        OR     90014776134
88B4B7A1572B46   DANNY         SIMPSON                     CO     90008547015
88B5128A233698   TRAVIS        TRAPP                       NC     90014142802
88B514A8461928   PATRICIA      MUONGKHOT                   CA     90013054084
88B51687972B62   MARTIN        MARTINEZ                    CO     33065736879
88B5184342B896   CASEY         CASEY                       ID     90011588434
88B51981671977   KAYLA         ORTIZ                       CO     90014339816
88B5198413344B   REGINA        REED                        AL     15009019841
88B51A6739154B   SUSANA        ARROYO                      TX     75039380673
88B528A768B154   LILIK         HOUSTON                     UT     31071438076
88B5313695B139   DORISE        MILLER                      AR     23000201369
88B53287172B62   KEVIN         WADDY                       CO     33013362871
88B549A4993771   ZACH          GREGG                       OH     90011049049
88B54A1A272B62   MANDY         GELEFF                      CO     33093270102
88B5546245B27B   MYRIAM        MARTINEZ                    KY     90010564624
88B55472291979   ARELY         VELASQUEZ                   NC     90008164722
88B55556298B2B   CRYSTAL       MILLER                      NC     90014365562
88B5589A672B44   LEIGH         GARLAND                     CO     90002428906
88B55A67691981   NWAMAKA       UCHEBO                      NC     17010800676
88B55A6A497B3B   SALLY         MADRIGAL                    CO     39066760604
88B56194197B38   VICTORIA      ORTIZ                       CO     39061071941
88B56646297138   CONCEPCION    LOPEZ                       OR     90010396462
88B56756572B29   TERRY         MICHAEL                     CO     33089847565
88B56794872B46   GAVY          CERVANTES                   CO     33028077948
88B56874641275   LEON          GRIFFIN                     PA     90011748746
88B56959691979   ROY           TABORN                      NC     17072589596
88B56A63797B3B   MARTHA        VEGA-HERNANDEZ              CO     90010040637
88B5734A361928   PAULINE       MARTINEZ                    CA     46053343403
88B5745539154B   JESSIE        INFANTE                     TX     90014504553
88B5754535B183   JUSTIN        POUNDS                      AR     90012615453
88B5762542B896   KAMEE         HOPKINS                     ID     90014666254
88B5782469154B   DIANA         MOTA                        TX     90011358246
88B57A9A74B55B   CARRIE        JANOTA                      OK     90009830907
88B58927271977   LORRAINE      MONTOYA                     CO     38066409272
88B589AA272B44   JUAN          PUENTES                     CO     33068609002
88B59346391532   LUIS          RAMOS                       TX     90011243463
88B595A684B22B   VERONICA      FLORES                      NE     27008705068
88B5965257B386   ERIKA         PONCE                       VA     90000966525
88B59718297B38   AMY           RICE                        CO     39018457182
88B59A6A62B896   JASON         HASSEL                      ID     42096870606
88B5B1A2A5B139   ANGELA        HILL                        AR     23043941020
88B5B598497B38   EVA           GOMEZ                       CO     39035935984
88B5B986A33698   CURTIS        THOMPSON                    NC     90001679860
88B5BA5A48B154   BRANDON       BULLOCK                     UT     90011830504
88B61277672B62   MARIO         ZUNIGA                      CO     90003572776
88B6127872B275   DANTE         A DOCKERY                   DC     90012552787
88B61543177537   JASON         MOXNESS                     NV     90010015431
88B61674741262   KORY          BOEHM                       PA     90002846747
88B61A6847B428   RAISA         COMER                       NC     90000590684
88B6212464B53B   LAURA         MENROE                      OK     90013721246
88B62128472B46   ANGEL         OROZCO                      CO     90013771284
88B6256925B27B   JOE           ROBERSON                    KY     68008825692
88B6362265B24B   DROCK         JONES                       KY     90004006226
88B63886993771   TIFFANY       BERRY                       OH     90004588869
88B64162941275   LENORA        CORNICK                     PA     90013961629
88B64477A5B27B   DESTINY       SWARTZ                      KY     90008924770
88B64578972B46   CHRIS         RIGHT                       CO     90011645789
88B64652933698   CARRIE        JAMES                       NC     90011746529
88B6471232B896   CODY          TYLER                       ID     90013217123
88B6496298B154   JESUS         PEREZ                       UT     90010029629
88B649A453367B   ASHLEY        NEWMAN                      NC     90008509045
88B65122172B29   REY           RAMIREZ                     CO     90009531221
88B65761A71977   JOAN          HERNANDEZ                   CO     90014907610
88B6581368B162   RAYMOND       LOUDIN                      UT     90007228136
88B6637818B168   AMBER         TOWNSEND                    UT     90001563781
88B66538372B62   SAY           MEH                         CO     90010015383
88B66A5265B183   TISHA         CAMPBELL                    AR     90004680526
88B67737993771   JOEL          ARIAS                       OH     90014077379
88B69414172B46   MARIA         IBARRA                      CO     33014014141
88B69488651341   EDWARD        GREWELL                     OH     66031444886
88B69529691837   SAMANTHA      BRIGHT                      OK     90012865296
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1423 of 2350


88B6954933344B   COURTNEY          TARVER                  AL     90006725493
88B695A548B168   GREGORY           HAMRICK                 UT     90013715054
88B69766871977   FELICIA           MORA                    CO     90012787668
88B6983299154B   SORAYA            CARRILLO                TX     75084758329
88B69859897B3B   ANNA              PEASLEE                 CO     90010648598
88B69A4A391242   MYLA              SIMMONS                 GA     14594060403
88B6B471333698   DANNY             HILL                    NC     90011544713
88B6B55AA9154B   HERNANDEZ         ABBY                    TX     90001685500
88B6B918651341   RICHARDA          GOTTENBUSCH             OH     90014469186
88B71639261928   ELIZABETH         DUFFY                   CA     90011466392
88B71817693771   ROSIE             GILBERT                 OH     90013378176
88B71A4665B27B   LINDASS           WEBSTER                 KY     90008340466
88B722A5897138   SONIA             ROSILLO                 OR     44040882058
88B73521141275   DOROTHY           FALONEY                 PA     51046635211
88B735A285B27B   KRISTIE           NEWMAN                  KY     68018245028
88B73627572B44   SAN JUANA         RAMIREZ GARCIA          CO     33068606275
88B7363472B896   JENNIFER          RODRIGUEZ-GILES         ID     90014666347
88B742A6593771   JOHN              ROGERS                  OH     64588442065
88B74345A72B33   ROXANNE           OWNSABRE                CO     90005173450
88B74379491837   JOSE              MENDEZ                  OK     90014313794
88B7467A472B29   JOHN              WILSON                  CO     90013896704
88B755A569154B   MARILYN ANNABEL   MORENO                  TX     90011285056
88B7582A141262   DEBRA             VAUGHAN                 PA     90015278201
88B767A2172B33   JOEL              SOLIS ESCOBAR           CO     33046237021
88B76A5966B399   TINA              CARLSON                 NH     90014740596
88B76A6A53344B   JUANITA           PITE                    GA     90003610605
88B77151747822   JAMARIO           TAYLOR                  GA     90009761517
88B77269351341   SESA              MARCENETAS              OH     90000522693
88B774A8872B33   NICOLE            RODRIGUEZ               CO     90013974088
88B77852697138   MARIA             GARCIA CEJA             OR     90010828526
88B78335941262   SHANIQUA          CLEMMONS                PA     90010013359
88B783A8A8B168   JOSE              TORRES                  UT     31073543080
88B7916333344B   SUZETLA           RUTHLEDGE               AL     15078581633
88B7933482B896   SUSAN             GARCIA                  ID     90001883348
88B79932772B33   ANNASTACIA        HARDEE                  CO     90011879327
88B79A7137B477   BOBBY             YOUNG                   NC     90009970713
88B7B525A2B243   SHENENAH          JENKINS                 DC     90001585250
88B7B646A72B62   KRISTIE           TRAVIS                  CO     90011206460
88B7BA78251341   VENITA            MAHONE                  OH     90011480782
88B81865797B97   JENNIFER          FERNANDEZ               CO     90015148657
88B8214218B168   TIMOTHY           HOUCK                   UT     90015301421
88B82242251362   MARY              SENTENEY                OH     90013032422
88B82657A5B139   DENNIS            COOPER                  AR     23096316570
88B8273878B154   BRADY             HARDMAN                 UT     31014717387
88B8416A25B233   GREGORY           MARCUM                  KY     90000921602
88B84586172B46   GABRIEL           KING                    CO     90013085861
88B84775172B33   STEPHANIE         POTTER                  CO     33093937751
88B84A8A14B22B   SALLY             PENIX                   NE     90014720801
88B85886777537   GONZALO           VARGAS                  NV     90011418867
88B86464541262   JAMES             WOMACK                  PA     90012954645
88B8653A172B44   LIZZETTE          CARRILLO                CO     33088635301
88B866A5A5B27B   KIEL              CARTER                  KY     90014726050
88B86833397B3B   GUADALUPE         MARTINEZ                CO     90005038333
88B8744419154B   FRANCISCO         MARQUEZ                 TX     75017574441
88B8835A597138   VICTOR            VALDOVINOS              OR     90014793505
88B88476384371   TAQUON            SANDERS-FOBBS           SC     90005994763
88B88545A72B46   ROSA              CASTILLO                CO     33059425450
88B888A1355945   ROSEMARY          FIMBRES                 CA     90014168013
88B89269272B29   SPENCER           GORDON                  CO     90012172692
88B89581655945   PENNY             JACKSON                 CA     90012795816
88B89A82672B29   SPENCER           GORDON                  CO     90014080826
88B8B677572B29   JOAN              SENOGA                  CO     33092326775
88B91123997138   ADELA             MONTES ROMERO           OR     90009201239
88B913A4572B29   NORMA             IRENE                   CO     90003433045
88B91833161928   CESAR             SIMON                   CA     46096048331
88B9269A772B54   JORGE             SANCHEZ                 CO     90001836907
88B9274239154B   MOLINA            LORENZO                 TX     90012447423
88B92912672B62   ASHLEY            MCKINNEY                CO     90009259126
88B92946361928   MARTHA            PERES                   CA     90012759463
88B93323955945   DENNIS            CASTELLANOS             CA     90010973239
88B93784971977   DOLORES           ROMERO                  CO     90007037849
88B943A232B896   MELISSA           BISER                   ID     42033713023
88B9514474B22B   V                 LEWS                    NE     90011051447
88B95218133698   LAVETTE           HARGROVE                NC     12027392181
88B9566443344B   KENDRA            HILL                    AL     90012936644
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1424 of 2350


88B95A46671977   JOSE          LOPEZ-LOPEZ                 CO     38052330466
88B95AA4797199   STEVE         HUTCHISON                   OR     90009960047
88B96119561928   YUSELI        LEON                        CA     46007491195
88B96245754177   RICARDO       OSORIO                      OR     90014812457
88B9643315135B   JANET         PUCKETT                     OH     66068074331
88B97246A72B33   KRISTINA      GARCIA                      CO     33098612460
88B973AAA72B44   SERGIO        OJEDA                       CO     90012943000
88B974AA55712B   DALASHAWN     HART                        VA     90008334005
88B975A5172B62   MORENA        CRUZ MOLINA                 CO     33040895051
88B9785A433698   SERGIO        RIVERA                      NC     90011218504
88B97954133698   JOE           MANAKI                      NC     90010489541
88B98126893771   PAUL          ROSSE                       OH     90013831268
88B98386897138   DOLLY         CRAPSER                     OR     90014793868
88B9853A89154B   PATRICIA      CONTRERAS                   TX     90011285308
88B9854A82B896   MARTIN        NDAMBI                      ID     90012715408
88B98986741262   EILEEN        LINKHAUER                   PA     51023459867
88B98A72371977   EUGENIA       ARZATE                      CO     90010490723
88B99988A9152B   JOSE          MARTINEZ                    TX     90012239880
88B999A149154B   CLOY          GONZALEZ                    TX     90004299014
88B9B112A43593   JANA          CASEY                       UT     90007681120
88B9B67A957128   SERGIO        FUENTES                     VA     90006396709
88BB199A397B3B   KELLY         VOGER                       CO     90003499903
88BB22A6472B44   RACHELLE      VALDEZ                      CO     90014062064
88BB2A4A597138   ARMANDO       VALDIVIA                    OR     90014320405
88BB3367197138   GERARDO       GUTIERREZ                   OR     90014803671
88BB359822B896   JAMES         FELTMAN                     ID     90012305982
88BB3778172B46   MARIA         BAHENA                      CO     33006457781
88BB386756195B   MARIA         GOMEZ                       CA     46041198675
88BB4369661928   JOSE          LUNA                        CA     90013813696
88BB462178B168   ALLEN         ROMYN                       UT     31038406217
88BB465942B896   PAYGO         IVR ACTIVATION              ID     90014646594
88BB47A895B139   LAKINA        ELLIS                       AR     23049067089
88BB4915491242   MARGARET      ELMORE                      GA     90009559154
88BB496388B191   KROGER        MENZER                      UT     31046979638
88BB536919154B   INES          MEDEL                       TX     75083053691
88BB542819154B   CARLOS        MUNOZ                       TX     90011284281
88BB55A138B168   MARIA         VILLA                       UT     90013715013
88BB591592B896   BRYCE         TRANSUE                     ID     90014659159
88BB628324B22B   TINA          POWELL                      NE     90014322832
88BB642819154B   CARLOS        MUNOZ                       TX     90011284281
88BB6477861936   RODRIGO       OCAPMO                      CA     90002324778
88BB6616A91979   AIDA          LAINEZ                      NC     90008916160
88BB7664155945   REBECCA       VERDUZCO                    CA     90014166641
88BB8268133698   BRITTANY      MCCORKLE                    NC     90012722681
88BB8553461928   JESSIE        TAYLOR                      CA     90010265534
88BB858A333698   THEODORE      HOLLY                       NC     90014135803
88BB8619897138   CATHY         LONG                        OR     90006876198
88BB925167B635   VICTOR        BERRY                       GA     90011482516
88BB969A48B168   CESAR         RENTERIA                    UT     31033026904
88BB972149154B   MICHAEL       MERAZ                       TX     90007067214
88BB9782997B3B   KAYLA         MARTINEZ                    CO     90001897829
88BB986A73344B   BRIANNA       ANDREWS                     AL     90014028607
88BBB2A9741262   BRYAN         KEENAN                      PA     51048882097
89111579A91979   CARLOS        HERNANDEZ                   NC     90011905790
8911178AA7B489   CHELSEY       BEASON                      NC     90012427800
8911195148B168   LIONEL        MEIKLE                      UT     90010859514
891125A5591837   JACK          MARTIN                      OK     90014945055
89112A43776B45   CHRISTOPHER   MACPHERSON                  CA     90014310437
8911358589154B   ARGELLA       VARGAS                      TX     90012615858
891135A5591837   JACK          MARTIN                      OK     90014945055
89113849372B29   ERICK         NAVARO                      CO     90010318493
8911439465B36B   MOSTAFA       MABKHOUTI                   OR     90003653946
891145A5591837   JACK          MARTIN                      OK     90014945055
89114631272B62   CHRISTY       GRAYUM                      CO     90002766312
89114828A2B271   HENRY         LANCASTER                   DC     90008708280
89114948472B29   MOBEL         FADEYI                      CO     33092409484
89115335A8B168   BRIDGETT      ELLIS                       UT     31015143350
891158A4272B62   LAURA         SOTO                        CO     33004268042
8911593825B27B   ALISHA        DEAN                        KY     90005419382
8911622A14B234   LARRY         BRITTELL                    NE     27034102201
89116966A72B33   AARON         COAPLAND                    CO     90007529660
8911738628B168   AUBREY        DAVIS                       UT     31089463862
89117584A71977   CONNIE        SCHERER                     CO     90012645840
891175A5591837   JACK          MARTIN                      OK     90014945055
8911783A893771   MONICA        NAVARRO                     OH     90014678308
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1425 of 2350


8911825579154B   AMANDA       SARABIA                      TX     90012892557
89118455272B62   SUHAIL       BUSTAMANTE PEREZ             CO     33093044552
8911877A372B29   WENDA        TIEU                         CO     90013227703
89119272A72B44   ELIAS        ROMERO                       CO     33080782720
8911934A372B33   CRISTINA     VILLALON                     CO     90007483403
8911958997B489   MARIBEL      LOPEZ                        NC     90008565899
8911995445B24B   TONI         BOMAR                        KY     90012579544
8911B337172B33   WALTER       CEPEDA                       CO     90013573371
8911B33A541262   KWAL         JACKS                        PA     90014153305
8911B483972B44   SONYA        BUENO                        CO     90014794839
8911B5A5591837   JACK         MARTIN                       OK     90014945055
8911BA97647897   SNADY        CLARK                        GA     90007960976
89121135A8B168   CARLOS       EDWARDS                      UT     31092951350
8912118615B326   JOHN         COOPER                       OR     44521911861
891216A5171977   MARIA        AMAYA                        CO     90013396051
89122486972B44   MARK         SHELEY                       CO     90014794869
8912298585B591   MONICA       SAENZ                        NM     35024389858
89123447A5B24B   GRACE        GRIFFITH                     KY     90009024470
89123448572B28   PHILLIP      BLANKENSHIP                  CO     90002694485
89124A33591933   SHEKA        MACDONALD                    NC     90011290335
8912558245B139   ROBERTA      REYNOLDS                     AR     90010735824
891256A5572B33   SHAUNTE      BROWN                        CO     90014856055
89125A62A5B24B   JAMES        WILLIAMS                     KY     90003670620
89126449797B98   LUCIO        PEREZ GARCIA                 CO     90008254497
89126517372B62   NANCY        SANTILLAN                    CO     90007965173
8912723A297B3B   TANYA        PEARSON                      CO     90013272302
89127534A91837   MARGARITA    TRUJILLO                     OK     90014945340
8912764A84B22B   EUGENE       RAY                          NE     27001466408
89128281A72B62   AMY          NELSON HICKS                 CO     90010852810
89128348672B44   LINDA        GABRIEL                      CO     33083603486
89128593872B21   BENJAMIN     DIAZ                         CO     90011765938
8912898675B229   CHARLES      MASDEN                       KY     90001029867
89129233372B29   RENEE        VASQUEZ                      CO     90011912333
8912946175B139   ASHLEY       HARSHAW                      AR     23097274617
8912952486194B   BOB          MARLEY                       CA     90010865248
8912B264472B62   ZANAHA       MARIE-MCCARTY                CO     33002892644
8912B764954184   VANESSA      DILLON                       OR     90015177649
8912BA35897138   ROSA         STINNETT                     OR     90007930358
8913193825B27B   ALISHA       DEAN                         KY     90005419382
891321A4697121   ROMAN        L MONTEMAYOR                 OR     90001131046
89132388172B62   HUMBERTO     CAMACHO                      CO     33062173881
89132563297B3B   KIMBERLY     KEELEY                       CO     90014715632
89132963A72B33   JOSEPH       SALAZ                        CO     90014229630
8913364A17B489   KEYON        FLOYD                        NC     90014676401
89133861A8B154   ANDRES       PENA                         UT     31097918610
8913417829154B   JORGE        GONZALEZ                     TX     75009171782
891347AA172B44   CRISTINA     FLORES                       CO     33059297001
8913487417B489   ADRIAN       SIERRA                       NC     90013928741
8913565A69154B   MATTHEW      JACKSON                      TX     90014606506
8913595374B22B   CRYSTAL      CERVANTES                    NE     90014009537
89135A78372B46   DEBORAH      WILLIAMS                     CO     90002920783
891365A8472B46   HARRY        MIDDLETON                    CO     33058925084
8913665A69154B   MATTHEW      JACKSON                      TX     90014606506
8913666A172B44   IRMA         RODRIGUEZ                    CO     33061366601
89136A63141262   SHELBY       HARRIS                       PA     51088150631
89136A99872B62   GREG         GARCIA                       CO     90011330998
8913712968B163   CAROL        SASEVE                       UT     90011941296
891372A7972B33   DAN          BROKER                       CO     90012872079
891373A8954B81   JOSE         CASTRO                       VA     90015523089
8913849466194B   ROSALINDA    GARCIA                       CA     46009434946
89139A95A91979   TAIQUAN      HICKS                        NC     90002730950
8913B325872B33   JOSIE        RUIZ                         CO     90014103258
8913B744341275   JUSTIN       ZAFFUP                       PA     90015577443
89141587872B21   EDUARDO      MARTINEZ                     CO     90005955878
8914168579154B   JONATHAN     MESSORE                      TX     90013416857
891417A6A72B44   FRANCISCO    LANDEROS                     CO     90010217060
8914184145B581   AUDREY       LEYBA                        NM     90009228414
8914212735B326   GRISELDA     FUENTES RAMOS                OR     90010691273
89142853272B29   CHRISTELLA   HARTLEY                      CO     33028858532
89143141972B29   SHAWN        EDWARDS                      CO     90012671419
89143649872B44   JOLENE       CARRERAS                     CO     90014786498
89143754172B46   ASHLEY       WINTERS                      CO     90014607541
89144144A93771   MARY         NEWSOME                      OH     90002901440
89144314997B3B   ANT          BANKS                        CO     90013043149
89144348272B46   ADILISIA     SALAZAR                      CO     90012153482
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1426 of 2350


891443A825B27B   MICHAEL      BRODERICK                    KY     90000423082
89146159172B33   JENNIFER     LOCKWOOD                     CO     33044051591
891461A1897B3B   CARLOS       WORRELL                      CO     90011051018
8914631235B24B   JAMILA       BRANTLEY                     KY     90014623123
891467A1941275   CHRIS        CERNY                        PA     90011207019
8914719558B168   ENEIDA       RODRIGUEZ                    UT     90013521955
89147597772B44   FLOR         ESCOBAR                      CO     90014555977
8914844495B326   SCOTT        BELLEW                       OR     44538484449
89148758272B46   KYLE         SHUERGER                     CO     90012677582
89148998672B33   ANDREA       WHITAKER                     CO     90009789986
8914923A741262   EBONY        JONES                        PA     90014852307
891492A1477537   DAVID        HOBBS                        NV     43011652014
89149355372B33   RANDALL      ANKENEY                      CO     90013133553
8914B292672B44   JUAN         VALERO                       CO     33073752926
8915168484B998   MARCUS       ROSS                         TX     76553996848
891521A9455945   DOROTHY      HER                          CA     90000611094
8915334394B234   CORAZON      MEJIA                        NE     90005413439
8915335AA91979   LATISHA      WELDON                       NC     90012713500
891533A4A97167   NICHOLAS     DICKER                       OR     90013823040
89153768272B62   DONALD       TAYLOR                       CO     90013507682
89153895472B33   DOTTIE       DANIELS                      CO     33006728954
8915469729154B   LOURDES      GONZALEZ                     TX     90001796972
89154781772B46   FLORENCIO    CASTRO                       CO     33055487817
89155242472B33   ANGEL        HINTON                       CO     33010132424
8915629A95B24B   CHONTANITE   ROBINSON                     KY     68020732909
8915769889154B   SARA         GALINDO                      TX     75007316988
891576A8172B28   MARY         CACANON                      CO     90010596081
8915795475B326   SEAN         EARWOOD                      OR     90014939547
891579A565B139   JAMES        WYATT                        AR     23074929056
89157A34297B38   GERARDO      RODRIGUES                    CO     39006620342
89157A7A372B33   GUNDERSON    ANN                          CO     33000880703
89159225A2B271   ROBERT       PRICE                        DC     90007662250
8915928348B163   MISTI        TAOSOGA                      UT     31097842834
89159413972B29   JONATAN      PLAZOLA                      CO     90012934139
8915B224755945   ELIZABETH    CARR                         CA     49092382247
8915B478397B3B   CLAUDIA      TORRES                       CO     90006244783
8915B838A55945   ELIZABETH    CARR                         CA     90012878380
8915B86A23B358   AARON        MARTINSON                    CO     90002048602
8915BA26397B3B   MARIA        DIAZ                         CO     90014940263
8916136A972B46   DIANA        CHAPA                        CO     90000993609
89161AA828B163   HOME         FIXERS                       UT     90007290082
89162854272B29   GLORIA       JEAN ROJAS                   CO     90009738542
8916338115B27B   MALLORY      WINSTON                      KY     90010993811
8916395646194B   NICOLE       GARCIA                       CA     90014709564
8916422474B22B   CATHERINE    JANOVICH                     NE     90013572247
891645A425B24B   DON          PAYTE                        KY     90012435042
8916466619152B   FABIOLA      GONZALEZ                     TX     90010936661
89165169872B29   CANDY        OLONA                        CO     90012091698
8916524249154B   CLAUDIA      RIVAS                        TX     75085042424
89165527372B44   KRISTIN      PEDERSEN                     CO     90014795273
8916596994B234   KATIE        DALEY                        NE     27051359699
89165A32A8482B   JENIFER      ZELLER                       NJ     90012890320
8916611674B234   SHONETTE     GRANT                        NE     90001081167
89166529897B3B   CASSANDRA    MILLER                       CO     90004145298
891669A158B168   NABOR        PALESTINA                    UT     31091359015
891672A8672B46   LIDIA        HERNANDEZ                    CO     90005322086
8916737776194B   SPENCER      DICE                         CA     90014443777
89167749172B46   SON          NGO                          CO     33026107491
8916785382B271   TARNISHA     RICHARDSON                   DC     90014868538
8916867674B234   HALIMA       MOHAMED                      NE     90001906767
8916B19555B183   EDWARD       GREEN                        AR     23011411955
8916B4A274B22B   CHRISTA      KREEGER                      NE     27050674027
8916B87668B168   ELIAZAR      CAMBA                        UT     90012908766
8917192278B138   MARVIN       MOORE                        UT     90003979227
8917259A484755   BLANCA       ANDERSON                     IL     90007455904
891726A6433698   RICKEY L     BEASLEY                      NC     90011806064
8917273736194B   RAUL         ORDAZ                        CA     90005837373
89173613272B62   TALESA       LOVATO                       CO     90010896132
8917387558B168   NICOLE       PRICE                        UT     31091638755
89173964172B46   SAUL         LANDEROS                     CO     90012229641
89174813A7B489   SHEILA       CRAWFORD                     NC     90009758130
891749A6272B46   TAYLOR       NEWBERRY                     CO     90002179062
891752A8291933   NANCY        MOORE                        NC     90000562082
8917548A591933   BALDEMAR     ORTEGA                       NC     90014714805
8917554588B168   EVANGELINE   TSOSIE                       UT     90014805458
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1427 of 2350


8917593135B326   MICHELLE        PETTY                     OR     90006299313
89175A6445B183   JUAN            MORADO                    AR     23082800644
89176541197B38   MANUEL          ZAMORA SANCHEZ            CO     39069565411
89176942572B62   JUAN            HERRERA                   CO     90006349425
89176A6882B271   DARLENE         MUNGO                     DC     90013940688
89177429572B44   RAMIRO          GUERRERO                  CO     33089654295
8917757555B27B   JEFFREY         BALLARD                   KY     90001915755
89177834972B62   TARAH           GUNDERLOCK                CO     90011108349
8917795575B326   TERESA          BLANCO ORTIZ              OR     90014759557
89177988A5B27B   JEFFREY         BALLARD                   KY     90013739880
89177A51241262   DEMETRIA        WMS                       PA     90014270512
89178534772B44   RAYMOND         FAULKNER                  CO     90014795347
89179A13572B62   VESTEVA         MANSHIP                   CO     90001990135
89181872A72B29   RITA            PAIZ                      CO     33012758720
89181A45555997   BRANDY          GONZALES                  CA     90006420455
89182758672B29   SHANE           ALLEN                     CO     90007657586
8918365338B163   NALIJAH         CAUDLE                    UT     31077206533
8918389516194B   RANDY           WOODRAL                   CA     90013088951
89184194A93771   CHYANNE         WISE                      OH     90014081940
8918466835B326   LATISHA         CAESAR                    OR     90010566683
8918591A441262   JEAN            DANKO                     PA     51033229104
8918594A77B489   HEATHER         OWENS                     NC     90014609407
89185A1A747897   LATONYA         WYNES                     GA     14016920107
89186253372B33   OLGA            ENRIQUEZ-DOMINGUEZ        CO     90001442533
8918671349154B   RIVERA          RICARDO                   TX     90011627134
89186725272B46   CHRISTOPHE      NEISES                    CO     33026947252
89186739A4B22B   AMBER           CADE                      NE     90007557390
89186A27455945   CECIL           BRIGGS                    CA     90015390274
8918834212B271   FRANCISCO       RODRIGUEZ VELASQUEZ       DC     90014843421
891883A415B24B   DAVID           POER                      KY     90013233041
8918873367B489   RICKY           TRUETT                    NC     90002187336
89189472372B33   EZEQUIEL        MONTES                    CO     90001464723
8918976685B27B   MIKE            REED                      KY     68057217668
8918B29686194B   AUSTIN          CARTER                    CA     90013592968
8918B43A75B24B   SANGAM          TAMANG                    KY     90014824307
8918B4AA37B489   ISAIS           RAMOS CASTILLO            NC     11046104003
8918B579A72B62   DOMINIC         BONATI                    CO     90012325790
8918B642841262   WILLIAM         GRASSI                    PA     51080376428
8918B865755945   VERONICA        GUILLEN                   CA     90010378657
8918BA4A541251   MATTHEW         BOHR                      PA     90006500405
89191931A91979   KATRINA         AUTRY                     NC     90009459310
89192856372B44   JUSTIN          SANCHEZ                   CO     90009018563
891932AA16194B   EDWARD          WASHINGTON                CA     90011602001
8919392232B271   WILLIAM         THOMAS                    DC     90014779223
89193A33241262   WHITE           HEATTHER                  PA     90006820332
8919429622B271   TREE            BRIDGES                   DC     90014752962
89195476197B3B   ARLIE           MERICAL                   CO     39099554761
89195A38172B29   ABEL            FLORES-CASTRO             CO     33084340381
89196559172B29   FELIPE          MONTERO                   CO     33073165591
8919744635B326   MANDI           BIRKES                    OR     90011204463
8919787659154B   LILIA           CASTILLO                  TX     90012478765
8919829296194B   URIEL           DELEON                    CA     46090982929
8919881A772B62   JENNIFER        HANSON                    CO     90004168107
8919944A172B44   JUAN CARLOS     GARCIA                    CO     90011244401
8919946287B489   YVONNE          QUITERIO                  NC     90014864628
8919B47A355945   BERTHA          GUERRERO                  CA     90014964703
8919B7A8657121   CLAUDE          TSHIMANGA                 VA     90008427086
891B1124197167   HEBERTO S       REYES                     OR     90004741241
891B115A82B271   JUELZ           DREW                      DC     90012381508
891B1446972B46   JOSHUA          WALKER                    CO     90013944469
891B149855B24B   CRYSTAL         EDISON                    KY     90014584985
891B165484B22B   NILA            KELLEY                    IA     90011206548
891B248A472B44   ELIZBETH MARY   ROBISON                   CO     90014794804
891B26AA572B46   YOLANDA         LOPEZ                     CO     33033566005
891B315578B163   ROQUE           ARZABA                    UT     31016401557
891B385382B271   TARNISHA        RICHARDSON                DC     90014868538
891B5727172B46   KIM             NILSSON                   CO     90013947271
891B591484B22B   DESTINEE        FRAMPTON-WYNNE            NE     90003449148
891B592499154B   KARINA          VENEGAS                   TX     75080959249
891B659A64B234   MICHELLE        CLARK                     NE     27019605906
891B672328B168   KIRK            PEARSON                   UT     90014797232
891B6736597138   GETULIO         RANGEL                    OR     90014167365
891B6746A72B33   RENEE           WASHINGTON                CO     33092507460
891B685A98B163   TEGAN           BLEAK                     UT     90005978509
891B712979154B   VANESSA         GONZALEZ                  NM     75040601297
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1428 of 2350


891B7237772B29   JAMES        VALDEZ                       CO     90004112377
891B7483797B38   MEREDITH     LEATHERS                     CO     90013614837
891B753AA61977   TERESA       MORENO                       CA     90012005300
891B769424B22B   JESSICA      BOGART                       NE     90014486942
891B8314891933   CHISTOPHER   DELGADILLO                   NC     90012613148
891B8483797B38   MEREDITH     LEATHERS                     CO     90013614837
891B9263455945   BRIAN        HAUSS                        CA     49000562634
891B989A78B163   ALMA         GARCIA                       UT     90008568907
891BB141893771   STEPHANIE    CONKLE                       OH     64535231418
891BB18235B139   PAMELA       GRAY HAGEN                   AR     23068431823
891BB422572B46   ALFREDO      MOJICA                       CO     33038424225
891BB914291933   MARY         LOPEZ                        NC     90014139142
89211471A97138   ANA          TAPIA                        OR     90007624710
89211547A41275   JOHN         EKIERT                       PA     90012925470
892115A284B22B   SHANTEL      HORN                         NE     90014865028
89212448272B44   DEMARCUS     SMITH                        CO     90011244482
89212645A72B29   CLAUDIA      GUTIERREZ                    CO     90015146450
89212693497B3B   DAVID        GNIADY                       CO     90013756934
8921385549154B   DAVID        BETANCOURT                   TX     90011698554
89213A82747897   VANESSA      HAKEEM                       GA     14008220827
8921468A872B46   TARA         SMITH                        CO     90014366808
89214A13472B29   EUDOCIA      ROMERO CABRERA               CO     90007640134
892151A6A72B29   RANDY        CAIN                         CO     90013851060
89215267372B46   CRISTY       SMITH                        CO     90011872673
892162A5447897   TAKNISHA     WALKER                       GA     14077062054
8921664415B326   BEATRIZ      RODRIGUEZ                    OR     90001976441
8921749438B168   HEATHER      FORD                         UT     31082664943
892175A285B24B   LAUREN       HUMMEL                       KY     68093495028
89217A7424B22B   MARY         BOSTIC                       NE     90014810742
8921811895B326   DANNY        SMITH                        OR     90000961189
8921854A85B24B   MICHELLE     BARGO                        KY     90014585408
892185A5172B33   PEDRO        GRANDE                       CO     33069145051
89218764372B44   GLEN         ORTEGA                       CO     90014177643
8921921682B271   YELKAL       MAKONNEN                     DC     81090632168
89219678A9154B   LETICIA      URIAS                        TX     90014606780
8921B3A2693771   DARREN       JACKSON                      OH     90007403026
8921B41845B594   ELIZABETH    LUGO                         NM     35096124184
8921B527477537   ESTELA       SALAZAR                      NV     43013985274
8921B746591837   LATASHA      TURNER                       OK     90014947465
8921B983261928   ARNULFO      MENDIVIL                     CA     46044929832
8922117535B24B   TRACY        FOGLE                        KY     68006141753
8922132924B22B   JUANA        VAZQUEZ-CRUZ                 NE     27026483292
89221561872B44   CANDES       THOMAS                       CO     90014795618
89221824A2B271   SHAKIA       STOKES                       DC     90013058240
89222678A9154B   LETICIA      URIAS                        TX     90014606780
8922277A49154B   JESUS        GOMEZ                        TX     90011627704
8922294196194B   ROSAMARIA    GONZALEZ                     CA     90000329419
89223115197B3B   ROBIN        OLSON                        CO     90006521151
8922343224B22B   VIRGINIA     LEFLORE                      NE     90014764322
8922371835B326   EARL         COLLISON                     OR     90014617183
89223A65255945   YADIRA       RUIZ                         CA     90015090652
8922548168B168   GUADALUPE    HERNANDEZ                    UT     90013014816
89225763672B29   JAMES        BROWN                        CO     33090587636
89226216997B3B   MATT         ROBINSON                     CO     39074952169
892268A724B22B   GABRIELA     VASQUEZ                      NE     90012048072
89227A56141275   SORAYA       IORIO                        PA     90015110561
8922859635B24B   YISHA        MORRIS                       KY     90012555963
89228722897B3B   ALEX         GALLEGOS                     CO     90014237228
8922899179154B   ASTRID       SERRANO                      TX     75070289917
89229153972B62   ERMA         BANUELOS                     CO     33059391539
8922936659154B   ARIANNA      SALAZAR                      TX     90014013665
89229764372B62   JERELYN      GOLINGAY                     CO     90015207643
89229AA7597138   JEREMY       HUSTED                       OR     90012270075
8922B156991933   LOURDES      HERNANDEZ                    NC     90012791569
8922B253697B3B   BEVERLY      WALKER                       CO     90013922536
8922B2A3672B44   ROSA         ROCHA                        CO     90000482036
8922B84227B489   PIERRE       ADAMS                        NC     90011208422
89231166472B62   SHANIQUA     BROWN                        CO     33055461664
8923123575B326   SANDRA       DURRETT                      OR     44593962357
8923212597B489   WILLIAM      LEWIS                        NC     90013141259
8923321A361943   LUCIA        GARCIA                       CA     90008182103
8923359858B168   ROBERTO      RUIZ                         UT     31094505985
89233944A72B29   ALICIA       SOLIS                        CO     90008359440
89233A16561981   ALENA        LEPPARD                      CA     90007060165
8923454595B24B   MELISSA      BOSTON                       KY     90014585459
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1429 of 2350


8923487174B22B   KEVIN         GROVER                      NE     90014738717
89234957A9154B   SELENE        GUTIERREZ                   TX     75007319570
89234961A77537   DANI          BEASLEY                     NV     43086439610
89235218372B62   THOMAS        LUJAN                       CO     90014762183
8923536457B489   MONIQUE       SANDERS                     NC     90011263645
892354A5872B46   MICHAEL       BURNS                       CO     90010874058
8923571318B168   LAURA         ORELLANA                    UT     90014807131
892364AA171977   RAEANN        VIGIL                       CO     38017884001
89236594572B62   RAE           SANCHEZ                     CO     90011915945
89237595697B98   LUCAS         JOICE                       CO     90000235956
8923822778B154   NATALIE       CORDOVA                     UT     90014292277
8923829732B271   DARREN        MURPHY                      NC     90003542973
8923851738B154   NATALIE       CORDOVA                     UT     31080325173
8923852495B24B   STACIE        BELL                        KY     90013975249
89238653A61928   SALVADOR      FLORES                      CA     46006746530
89238957397B3B   MICHAEL       ZAPPAVIGNA                  CO     90013519573
89238A75193771   THOMAS        LADD                        OH     90001920751
89239264872B33   JOSE          ORENDAY                     CO     33058412648
89239A2772B271   JEFF          ANDERSON                    DC     90013940277
8923B563893771   JESSICA       LEDERMAN                    OH     90001205638
8923B5A6641262   JACQUELYN     PRESSLEY                    PA     90012205066
8924122A94B22B   JAYME         JACKSON                     NE     27045032209
8924124167B489   MARK          HESSLER                     NC     90013152416
89241AA3233698   HEATHER       LITTLE                      NC     90000770032
8924239A54B22B   BRANDON       DEYO                        NE     27026823905
89242447172B62   GERI          CUEVAS                      CO     90008984471
8924245566194B   KEEILA        DE ALEJANDRA                CA     90015034556
8924528A88B154   SAUL          GUTIERREZ                   UT     31039892808
8924532914B22B   LAURA         SAXTON                      NE     27034563291
89245426A6194B   ALFREDO       TRILLO                      CA     90003484260
89246A85A4B234   KENNETH       CRIBBS                      NE     90002530850
89247384672B98   THERALYNE     DULL                        CO     90012663846
8924828638B168   WHITNEY       GALLEGOS                    UT     31006792863
8924885A55B24B   COMMISSIONG   WARD                        KY     90014318505
8924958A886447   CAMACHO       FRANCISCO                   SC     90014655808
8924982197B489   ELVIRA        CASTANEDA                   NC     11090888219
8924B13925B139   CORDELL       RICHARDS                    AR     90006261392
8924B169972B33   MISTY         KANGETER                    CO     33071881699
8924B336647897   OLETHA        FREEMAN                     GA     90010383366
8924B338341222   CANDI         DIXON                       PA     90004693383
89251511972B44   PAULA         LOVATO                      CO     90014805119
8925167615B55B   MARIO         FERNANDEZ                   NM     90005766761
89251759A72B44   TANYA         AVILA                       CO     90012847590
89252614A61927   DANIEL        JOHNSON                     CA     90007426140
8925266295B24B   MARK          THOMAS                      KY     68006156629
892532A8271977   ARLENE        ARD                         CO     38020922082
8925397A257122   CRISTINA      HERRERA                     VA     90005629702
89253A48791979   RICHARD       SLEETER                     NC     90004400487
8925422668B154   RICHARD       CONNER                      UT     31083802266
89254411772B44   LEONARDO      MEDINA                      CO     33022244117
89254644997B3B   KELLY         NEWBY                       CO     90013006449
8925479A572B46   MANUEL        GONZALEZ                    CO     90011737905
8925511A891558   ISABEL        GARCIA                      TX     75027201108
8925512868B168   DERRICK       JONES                       UT     90009571286
89255A58A2B271   NAYONNA       BOYD                        DC     90002080580
8925641A872B29   LUIS          MENDOZA                     CO     90002434108
89256448A93771   MELISSA       KOULDOU                     OH     64589724480
89256466572B44   YESENIA       VENEGAS                     CO     33068974665
89256A6992B271   MATTHEW       HAMMONDS                    DC     90013940699
8925717814B531   MICHAEL       NELSON                      OK     90011961781
892571A4672B44   CHERYL        CHANEY                      CO     33035841046
89257378172B62   MARIA         SAUCEDO                     CO     33052923781
8925751935B24B   TOREE         SINKFIELD                   KY     90014585193
8925813A84B22B   JAIME         MELEMDEZ                    NE     27016311308
8925815A772B33   MIREYA        MARTINEZ                    CO     90003471507
8925879586194B   JANET         STOMISLY                    CA     90013777958
8925939215B24B   DEBRA         MILLER                      KY     68020733921
89259665472B33   JUAN          GARCIA                      CO     90004936654
8925B316355945   NATASHA       FARINELLA                   CA     90006013163
8925B46672B86B   MICHELLE      PCHELKA                     ID     42013304667
8925B571372B44   HELBER        VALENZUELA                  CO     90014795713
8925B676691933   MIGUEL        HERRERA                     NC     90015316766
8925B72685B326   ABEL          ALATORRE                    OR     90012707268
8925B747193771   JASMINE       SLAUGHTER                   OH     90014727471
8925B92A572B46   DAVINA        GARCIA                      CO     90013969205
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1430 of 2350


89261425172B46   OCTAVIO       HERRERA                     CO     33048714251
892614A758B154   JOSE          CARRENO                     UT     90003834075
89261A6143B388   LENORA        MORENO                      CO     90011990614
89261AAAA7B489   JUAN          VILLALOBOS                  NC     90010430000
89263268672B33   BARTLETT      KAYLI                       CO     90013272686
8926336A95B24B   DANIEL        RUFFNER                     KY     90007043609
89263576172B44   COURTNEY      VANTUYL                     CO     90014795761
892649A5871977   JULIAN        SANDOVAL                    CO     90000909058
89265926872B33   DAWNA         EYMAN                       CO     90013129268
89265A3A15B139   DAMON         POWELL                      AR     90003010301
89265A88771977   TAMERA        GOMEZ                       CO     38093790887
89267A21547822   RHONDA        BROWN                       GA     90013450215
89268336A8B168   WANDA         HOWARD                      UT     90003283360
8926939347B489   SAMANTHA      WHITE                       NC     90006973934
8926982418B168   JESSE         HOUCHINS                    UT     90014808241
89269863A4B22B   BRIAN         ANDERSON                    NE     27010488630
8926B313971977   LINDSEY       SHARELL                     CO     90012793139
8926B3A7872B44   JO            GEE                         CO     90009623078
8926B4A8397B3B   FRANCISCO     HERNANDEZ                   CO     90000904083
8926BAA825B24B   JOHN          LEONARD                     KY     90011600082
89271582172B46   VARERIE       HERRERA                     CO     33021835821
8927244A75B183   CHRISTY       GIVENS                      AR     23083934407
8927268768B163   JEREMY        LONGHURST                   UT     31046646876
89272745772B33   CARIE         MOEN                        CO     33050917457
89273A8459154B   NORMA         ESCAJEDA                    TX     75022930845
8927416467B333   SANTOS        ORELLANO                    VA     90003261646
8927453295B183   ASHLEY        THOMAS                      AR     23050505329
89274544172B46   RICARDO       DOMINGUEZ                   CO     90014255441
8927612175B24B   NICKESHA      MCCLAIN                     KY     90007891217
89276343A72B62   MEERA         DANE                        CO     33017803430
8927685169154B   MARTHA        PESINA                      TX     90011628516
89276A2AA8B168   TAYLOR        HALL                        UT     90013140200
89277AAA15B241   STACI         STOUT                       KY     68015390001
8927842235B24B   GEORGE        MINTON                      KY     90012974223
892788A1793783   BEVERLY       HAYDEN                      OH     90009598017
8927955526194B   SIMON         MORALES                     CA     90014535552
8927989865B591   JANELLE       LOVATO                      NM     90007018986
89279A1835B326   BROOK         TOPPS                       OR     90007400183
8927B187255945   OLIVIA        PASILLAS                    CA     90014481872
8927B35825B326   JUAN          GUTIERREZ GOMEZ             OR     90014573582
8927B864297138   RYAN          SARINA                      OR     90014608642
89281595A54153   JOHNNY        LICEA                       OR     90015515950
892823A966194B   DANIEL        NUNEZ NAVA                  CA     90010843096
892826A657B489   WILLIAM       GILMORE                     NC     11085276065
8928279344B22B   AMANDA        MARK                        NE     90003727934
8928334265B24B   CHRIS         JENKINS                     KY     90012253426
8928361A45B386   CHRISTOPHER   HUFFMAN                     OR     90010996104
8928438235B24B   TANISHA       LEE                         KY     90014713823
892853A4197138   THOMAS        CRAIG                       OR     44080963041
8928541715B183   TIFFANIE      BOWDEN                      AR     23082444171
8928565A533698   JEAN          HARRELL                     NC     90009396505
89285A2A871977   ANDREW        ABEYTA                      CO     90006350208
8928632799154B   JAVIER        VASQUEZ                     TX     75074773279
89286923A97B48   VICKI         GRIEGORIAN                  CO     90007609230
89286A62A47897   TARISHIA      HOWARD                      GA     90007870620
8928732978B154   JIM           CRANK                       UT     90003093297
8928782595B326   FADERICO      ROSIS                       OR     90006228259
89287A45791933   CHINELO       OKIGBO                      NC     17082700457
89289836272B29   JAMES         MEREDITH                    CO     90010698362
89289A5279154B   AURURA        MEDINA                      TX     75092290527
8928B31A891532   SAMUEL        QUINTANAR                   TX     75043123108
8928B41415B24B   KYRALE        WILSON                      KY     68009014141
8928B63A872B29   BRIAN         REED                        CO     90012596308
8928B73697B489   JOEL          HILARIO CAMPOS              NC     90009037369
8928BA77697138   ED            CAMPY                       OR     90014850776
8929112153B285   SERGIO        RAMIREZ                     DE     90010741215
89291271997B3B   ANDREW        WISEMAN                     CO     90014232719
89291475172B33   MARIA         ESPARZA                     CO     33055534751
8929168A141275   MARY BETH     MUSATI                      PA     90014256801
8929184335B183   JEMORL        RINCHER                     AR     23006988433
8929199615B326   TAMMY         FLETCHER                    OR     44502999961
89292166A2B924   CORTNEY       WESSLING                    CA     90013081660
8929259515B326   TAMMY         WILKINS                     OR     44515645951
892936A6591532   MARIA         GONZALEZ                    TX     90008826065
89293A7698B168   TRICIA        RASCON                      UT     90013090769
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1431 of 2350


89294154972B33   GUADALUPE     GUTIERREZ                   CO     90014391549
89294547A72B29   OSCAR         GONZALES                    CO     90009725470
892946A1871977   CHRIS         PAIGE                       CO     38009596018
892946A475B24B   JOHN          KASEY                       KY     90009396047
89294812A93771   SHANEL        TOWERY                      OH     90005938120
89294892397B3B   DALE          MENNING                     CO     39041848923
8929555526194B   SIMON         MORALES                     CA     90014535552
8929584388B168   SILVIA        HERRERA                     UT     90014518438
89296262A5B24B   JOYCE         SMITH                       KY     90014852620
892962A3671977   SEAN          MCCAIN                      CO     90013792036
8929684388B168   SILVIA        HERRERA                     UT     90014518438
8929699267B489   TRACY         RUSELL                      NC     90013799926
89296A88972B46   ELIZABETH     BERTAPELLE                  CO     90012470889
89297317697B3B   ROY           MILLER                      CO     90012423176
89297836A25346   HELEN         TALI                        WA     90015388360
8929786685B326   GASPAR        ARELLANO                    OR     90015298668
89298291497B3B   HENRY         WILLIAMS                    CO     90011462914
89298A28893739   TREVA         STARKS                      OH     90010920288
8929977155B261   TIMOTHY       WILLIAMSON                  KY     90008097715
89299A48555945   TERRY         MCCOY                       CA     90002160485
8929B234A4B531   CRYSTAL       BLAZEK                      OK     90012192340
8929B262341275   TIM           MEININGER                   PA     51026062623
8929B562897B3B   MERCURY       SMITH                       CO     90009195628
8929B6A7772B62   ROSA MA       CASTILLO                    CO     33062456077
8929B866497B3B   DOMINIC       GRIEGO                      CO     90013148664
8929BA67897138   JORGE LUIS    PAZ                         OR     90013250678
892B1578197B3B   LISA          PLUNKETT                    CO     39026955781
892B1741872B46   JUAN          ESCOBAR                     CO     90013947418
892B234419154B   BARBARA       CUELLAR                     TX     75038533441
892B234A89154B   GISELA        ZALDIVAR                    TX     75034833408
892B2441341262   CADIADRA      KENDRICK                    PA     51043844413
892B248A672B44   LENHART       BRITTANY                    CO     90008174806
892B2A2695B326   DARREN        LOCKETT                     OR     90013940269
892B2A27961988   DEAN          WOZNEY                      CA     90002860279
892B3148972B44   ELUID         MONTOYA                     CO     90009721489
892B3781372B33   ALMA          FLORES                      CO     33034827813
892B419A171977   ANGELINA      MONTOUR                     CO     38051981901
892B4214955945   JAVIER        ROMERO                      CA     49039382149
892B442774B234   BEVERLY       WEBB                        NE     27005894277
892B469856194B   ANA           MORALES                     CA     46073576985
892B5554272B44   TERESA        GUTIERREZ                   CO     33009145542
892B5719872B33   CURTIS        LOZANO                      CO     33066377198
892B626482B256   MUHAMMAD      ABDUL ALI                   DC     90002072648
892B642576194B   ROSA          JARAMILLO                   CA     46045704257
892B6742851362   AFEKU         KIZITO                      OH     66013537428
892B6A61897B3B   MARIA         VILLARREAL                  NM     90001540618
892B721A641262   LORALIE       GRISER                      PA     51030602106
892B732A991933   AARON         HERBERT                     NC     90014933209
892B737A92B271   FERNANDO      MEJIA                       DC     81090193709
892B7527491979   MARK          COOK                        NC     90012925274
892B7682172B44   JOSEPH        CORSENTINO                  CO     33009066821
892B823AA7242B   DONTAY        STOKES                      PA     90011632300
892B843725B326   NAYANCY       FARIAS                      OR     90013624372
892B857722B271   KIANA         MCWEAY                      DC     90012655772
892B953579154B   ERNESTO       PAYNE                       TX     75049545357
892B9542791837   ANGELA        HAVENAR                     OK     21090545427
892B999AA8B168   CASSAUNDRA    DURAN                       UT     31084669900
892BB24225B183   DANYELL       LINDSEY                     AR     23001952422
892BB35817B489   POIETTA       BRADLEY                     NC     11012223581
892BB581897138   LUKE          WESTPHAL                    OR     44031765818
892BB7A5891837   CORY          KING                        OK     90014947058
8931126469154B   BETH          MENDOZA                     TX     75087012646
893112A415B326   LEE RUSSELL   SMITH                       OR     90005542041
8931138555B27B   L             MAYBERRY                    KY     68006513855
8931163898B692   JATOYA        TRAYLOR                     TX     90014616389
89311852372B46   CHAVONNE      CLEMONS                     CO     90014838523
89311945272B33   ISABEL        SORIA                       CO     90004409452
8931231476197B   CLAUDIO       ARZILLO                     CA     90004643147
8931295A341262   KERRY         KLEINHANS                   PA     90000829503
893136A2593771   MENELIK       AMDA                        OH     90008096025
89314117124B39   UASUF         GUEYE                       DC     81017461171
8931475675B24B   MIKE          WISON                       KY     90011437567
89315233672B93   MARIO         GARCIA                      CO     90001712336
893152A384B22B   EDWARD        ARCHIBALD                   NE     90000322038
89315444272B5B   DEBORAH       REYES                       CO     90011374442
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1432 of 2350


89315577698B25   MARQUITA      RUSSELL                     NC     90000895776
8931561737B367   FELEKU        ABEBE                       VA     90003066173
89316275972B33   JUAN          ALVARADO-REGALADO           CO     90013252759
8931647835B56B   JERONIMO      VALENZUELA                  NM     90014814783
89316591272B44   GUADALUPE     HERRERA                     CO     90014795912
8931793557B489   DAVID         THOMPSON                    NC     90013709355
89317A33197138   MARIO         MENDEZ                      OR     90013570331
89318286A2B271   ERIC          HOUNYO                      DC     90007582860
89318755A61928   MARCELA       RAMIREZ                     CA     46078987550
89319143672B46   KRIS          LLOYD                       CO     90013031436
8931971336194B   JAZMIN        RIVAS                       CA     90013367133
893199A642B249   SYLVIA        JARRETT                     DC     90010629064
8931B26215B24B   ARIANA        STRANGE                     KY     90010412621
8931B591272B44   GUADALUPE     HERRERA                     CO     90014795912
8932158525B326   MISTY         BASS                        OR     90014515852
8932177564B22B   ROBERT        SCHLOENDORN                 NE     90007557756
8932194A36194B   CARLOS        CRUZ                        CA     90014279403
8932199447B489   LAURA         SMITH                       NC     11088059944
89321A6A872B33   DE LOERA      RIGO                        CO     33054850608
8932233247B489   NANCY         VILLARREAL                  NC     90004983324
89322921272B46   HECTOR        CHAVIRA                     CO     90013969212
8932295875B326   ORVILLE       BAUMGARDNER                 OR     90014639587
8932347A272B62   DENNIS        JUSTI                       CO     33097854702
89323541772B46   SANDRA        HERNADEZ                    CO     90015135417
8932481439154B   MIRIAM        QUINTANA                    TX     90008358143
8932513847B489   SHANITA       CAROTHERS                   NC     90015031384
8932549568B163   SHAWN         SPAINHOUR                   UT     90006534956
8932549696194B   MARIA         BYRD                        CA     46019294969
893257A2172B33   MARIA ELENA   CASTANON                    CO     90011197021
89325869872B44   SANDOVAL      GERNARO                     CO     90005698698
89325885397B3B   JAYNE         CEO                         CO     39092308853
89326738472B29   IVAN          REYES                       CO     90014877384
893276A9572B44   CARLA         PRADIA                      CO     33035216095
89327752A9154B   CARLOS        ROSALES                     TX     90004627520
893278A9A72B29   SANDRA        SOTO                        CO     90011918090
89328339572B44   PHILIP        NAVARRO                     CO     33090523395
89328343A5B327   JENELL        MILLS                       OR     90012823430
8932885978B168   CLAUDIA       DELGADO                     UT     31098048597
8932981975B326   ELIDIO        HERRERA                     OR     44523038197
89329A48697138   ROCIO         PEREZ                       OR     90015020486
8932B552791979   ROSALIA       CRUZ                        NC     90006735527
8932B687572B29   VANESSA       MEDINA                      CO     90014856875
8932B759397138   LUCERO        SILVA LOPEZ                 OR     90011867593
8932B85965B326   STEVE         FLORES                      OR     44557748596
893317A6A72B44   JOSEPH        JCOLTA                      CO     90013357060
893318A628B168   REX           WHITE                       UT     90014818062
893328A648B168   HEDI          EVANS                       UT     90014818064
8933296542B982   SABRINA       HANSEN                      CA     90012439654
89332A57A91979   TEOFILA       ROMERO                      NC     90015260570
89334644872B62   MAYNEIDA      NELLUM                      CO     90013966448
89335126A97B3B   JOSE          BARAY                       CO     39061041260
8933514197247B   CHRISTOPHER   ANDERSON                    PA     90013601419
893351A828B168   PATRICIA      LOPEZ                       UT     90014861082
8933583817247B   CHRISTOPHER   ANDERSON                    PA     90006788381
89337147772B46   JUSTIN        GONZALES                    CO     90012531477
89337148972B62   FELIX         AUSENCIO                    CO     90014441489
8933798975B326   AURORA        SOTO                        OR     90011859897
89337A36377537   GILBERT       MEES                        NV     90011660363
8933866255B183   BRANDI        JOHNSON                     AR     23041116625
8933912785B24B   SUE           EADES                       KY     90011871278
8933B3AA84B22B   JUAN          LUPERCIO                    NE     27082633008
8933B64289154B   MARIA INES    ALVAREZ                     TX     75060856428
8933B7A2A77537   JEF           EUSEPI                      NV     43077377020
8933B83869154B   JUAN          ORTEGA                      TX     75084058386
8933B864297138   RYAN          SARINA                      OR     90014608642
89341239798B24   MOHAMMED      AHMED                       NC     90007472397
893412A3671977   SEAN          MCCAIN                      CO     90013792036
893416A565B326   STEPHEN       NAPIER                      OR     90014516056
89341A5989154B   GUADALUPE     MAGALLANES                  TX     90011810598
8934223475B24B   VICTORS       RIVERA                      KY     90008912347
89342647872B44   JOSE          MARTINEZ                    CO     33085026478
8934281437B489   TAMMIA        BROOKS                      NC     11068588143
8934313455B326   KEVIN         DAVIS                       OR     90013941345
89343A51272B29   CYNTHIA       DELEON                      CO     33046280512
8934459437B489   LIZBETH       PEREZ                       NC     90000915943
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1433 of 2350


89344716672B29   VANESSA         FELIX                     CO     33000397166
89344A41991979   OMAR            RABB                      NC     90014390419
8934538A141284   CASSIE          SCHULTHEIS                PA     51011363801
8934626599154B   GUADALUPE       FONSECA                   TX     90015082659
8934631524B22B   HILDA           VARGAS                    NE     27065323152
89346596672B44   PAYNE           DAVIS                     CO     33039145966
89346771572B46   ALEJANDRO       BUNHUMEA                  CO     90012707715
89346A97933698   SUSAN           CAMPBELL                  NC     90011120979
8934774928B829   SUMMER          VEGA                      HI     90013917492
89347A12497B3B   MICHAEL         BRANNON                   CO     39028840124
8934821847B489   CECILY          LITTLEJOHN                NC     90014882184
8934822499154B   DAVID           OLIVER                    TX     90015102249
8934852A55B26B   KENNY           LINTON                    KY     90012705205
89348868172B62   BEVERLY         JEFFERSON                 CO     90011028681
8934887659154B   LILIA           CASTILLO                  TX     90012478765
89349181272B46   DIANA           LINARES                   CO     90009881812
893491AA572B29   MARIA           CABELLO                   CO     33052341005
8934966828B168   CARRIE          BOSWORTH                  UT     31004446682
89349835A61943   DANIEL          PEREZ                     CA     90014678350
89349AA568B154   DAVIES          COLLEN                    UT     90003360056
8934B685172B46   KASHI           BARAL                     CO     33078396851
8934B9A712B271   ROBERTO         DIAZ                      DC     81090269071
8934BA29671977   THOMAS          VILLANUEVA                CO     90013820296
89351921772B46   JOSE M          LEON                      CO     90013969217
8935213794B22B   NATHALIA        HERNANDEZ                 NE     90013961379
893531A834B234   ERIN            BULANDA                   NE     90000871083
89353263A5B24B   TOMASA          ORTIZ CORTEZ              KY     90004292630
8935389878B168   LETICIA         VASQUEZ                   UT     90014818987
89353939597B3B   LAURA           PATRICIO-CHINO            CO     39001579395
8935414836194B   MICHELLE        NOVOTNY                   CA     46052911483
89354272A51362   ROMON           MORALES                   OH     90006492720
8935434484B234   JOSE            APARECIDO                 NE     90003693448
893545A256194B   LEONEL          MARTINEZ                  CA     90014355025
89354922776B9B   ANNELL          BAILON                    CA     90013899227
89354A68971977   JUDY            CASADOS                   CO     38032820689
8935589846194B   LEA             HUBERT                    CA     46032708984
8935589878B168   LETICIA         VASQUEZ                   UT     90014818987
8935646994B54B   JARED           RUSS                      OK     90006284699
89357643572B62   PATRICIA        CALL                      CO     90004936435
8935784342B271   CMONIKE         GREEN                     DC     90005238434
89358AA9197138   IMELDA          VIORATO NARVAEZ           OR     90010090091
8935915AA55945   JOSHUA          RIVERA                    CA     49017791500
89359321772B62   ELIZABETH       GODOY                     CO     33096143217
8935939566194B   AIDE            VAZQUEZ                   CA     90013593956
8935942685B24B   RAY             GRIFF                     KY     90012974268
8935B717A97B3B   ADOLFO          VASQUEZ                   CO     39028847170
8936146269154B   MARK            MARTINEZ                  TX     75028924626
89361A24172B46   MICHAEL         NOLAND                    CO     33009290241
89362598772B44   MALCOM          YORK                      CO     90008085987
89362A1954B22B   CANDICE         BREWER                    IA     27070420195
8936313285B24B   JUSTIN          PERKINS                   KY     90013931328
89363387272B93   VERA            GARYEAZON                 CO     90013753872
89363719972B33   ANDRAE          GRICE                     CO     33002857199
89363835A61943   DANIEL          PEREZ                     CA     90014678350
89364596772B21   ALEX            KISHIENEVSKI              CO     33075135967
89364A1425B326   JEREMY          PERIN                     OR     44569790142
893652A1871977   ANDREA          DELGADO                   CO     90012002018
8936542417B489   DAWN            CLOER                     NC     11054554241
8936549182B281   MARCUS          BROWN                     DC     90013594918
89365689572B49   LUIS            GONZALES                  CO     90011786895
89365752272B93   GENOVEVA        GONSALVES                 CO     33058887522
89365997472B49   LUIS            GONZALES                  CO     90010519974
89365A27841275   GARY            STEPHANY                  PA     51011420278
89365A4878B168   ROSALBA         ALVAREZ                   UT     90010810487
89366148A72B33   ROBERT          SITHER                    CO     33046741480
8936675A972B46   MIGUEL          ESCAMILLA                 CO     33040107509
8936687314B296   PATRICK         RIGG                      IA     27011618731
89366A17971977   EDWARD JOSEPH   SMITH                     CO     90014780179
89366A7478434B   MCKAYLA         ROBERTS                   SC     90013500747
8936874329154B   LETICIA         VELIZ                     TX     90014607432
89369229772B46   ELVIRA          PEREZ                     CO     33076722297
8936923234B22B   TIMETRIC        FRALIN                    NE     90012742323
8936949275B27B   HERIBERTO       RODRIGUEZ                 KY     90000254927
8936968116194B   PATRICIA        AMADOR                    CA     46002986811
8936974329154B   LETICIA         VELIZ                     TX     90014607432
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1434 of 2350


8936999995B24B   ERIC            HANSBERRY                 KY     68011869999
8936B129151372   MICHELLE        YOUNG                     OH     90001541291
8936B37816194B   RITA            GONZALES                  CA     90010843781
8936B53A96199B   IRMA            ULLOA                     CA     90011765309
8936B589472B44   GONZALO         HERNANDEZ                 CO     90010475894
8936B92439154B   ALEJANDRA       MORALES                   TX     90013179243
89371595797B3B   MARIANO         CORCAS PERDOM             CO     90015385957
8937189878B168   LETICIA         VASQUEZ                   UT     90014818987
893718A879154B   ROSA            CARDENAS                  TX     90014608087
8937235338B168   CARRIE          BOSWORTH                  UT     90007933533
8937267A333698   STACIE          JESSUP                    NC     90004536703
893726AA371977   JACQUELINE      ANGEL                     CO     90012416003
893728A1272B29   ELIZABETH       GIBSON                    CO     33003228012
89373511A47897   CHRISTY         CURRY                     GA     90007545110
8937355862B271   RHEA            FORMAN                    DC     90009405586
8937415245B24B   LISAQ           GOOTEE                    KY     90014831524
89374789772B46   NYADAK          PAL                       CO     90013947897
8937524549154B   PRISCILLA       CORDERO                   TX     90013702454
89375625772B44   GRISELDA        ORTEGA                    CO     90014796257
8937659A372B29   ELENA           ADAME                     CO     90013995903
8937675429154B   JOSE            MONTENEGRO                TX     90014607542
8937711423B38B   GABRIEL         MAGALLANES-GONZALES       CO     90010601142
8937717965B326   TIMOTHY         HARDNETT                  OR     90013941796
8937739365B24B   DIANA           AQUINO MORALES            KY     90013813936
8937763612B275   ELDA            GARCIA                    DC     81012156361
89377717872B64   CHELSEA         NELLOR                    CO     90012557178
8937775459154B   CHRISTIAN       PEREZ                     TX     90014607545
89377986772B46   GARY            COOK                      CO     33084639867
89377A1A572B29   AURELIO         CARMONA-SILVA             CO     90014950105
89377A6A57163B   DONTRELL        YOUNG                     NY     90014610605
89378636A71977   CLARENCE        SAINT                     CO     90013986360
8937886154B22B   ANTONIO         AVILES                    NE     90001308615
89378899A51362   JAMES           JONES II                  OH     66011298990
8937911749154B   LUCIA           SEGURA                    TX     75017131174
8937919885B326   NUR             AHMED                     OR     90013941988
89379386A72B29   JOERAY          NAVA HERNANDEZ            CO     90014423860
8937955435B246   RITA            OSBORNE                   KY     90008425543
8937969912B271   FREDERICK       MILLER                    DC     81090296991
8937B193772B33   TINA            NOVOTNY                   CO     90013221937
8937B1AA897B3B   CONSTANTINO     MARTINEZ                  CO     90012161008
8937B74A191837   DAJAUNNA        MOORE                     OK     21019027401
8937B85337B489   NATHAN          MITCHELL                  NC     90013398533
8937BA59A41262   JOHN            LIPINSKI                  PA     90015270590
89381168272B46   DANIEL          GONZALEZ                  CO     90003061682
89381528A72B44   SARINA          HURD                      CO     90014805280
8938156A37B489   ANTHONY         BROWN                     NC     90009025603
89381744198B24   BRENT           VARONA                    NC     90005697441
89381753A5B326   CASEY           KEGG                      OR     44521947530
89382252A72B33   MORENO          HECTOR                    CO     33025182520
8938253196194B   CESIA DAMARIS   CARRILLO                  CA     90011055319
893829A175B24B   WILLIAM         MUSCARA                   KY     90012529017
89382AA588B168   ARACELY         REYES                     UT     90014820058
893835A3877537   SANDRA          WILSON                    NV     90007315038
8938364254B22B   SALOMON         GUZMAN-BALVUENA           NE     27094586425
8938379772B271   RICHEEDA        HALFACRE                  DC     90012387977
8938382622B271   RICHEEDA        HALFACRE                  DC     90014348262
89384244872B62   TIANA           CRAIG                     CO     90002482448
893842A617B489   LATASHA         SMITH                     NC     11039952061
8938435328B168   SELITA          MAHE                      UT     90010243532
89384574172B29   SARAH           BAROS                     CO     33012305741
8938557A972B33   JOHN            MOORE                     CO     90015195709
89385636A71977   CLARENCE        SAINT                     CO     90013986360
8938578583B358   RAMON           MOLINA                    CO     33045727858
89385A89255945   MIGUEL          GARCIA                    CA     90012270892
89386745972B29   LORENA          PEREZ                     CO     33095207459
8938689775B326   JOSHUA          PALMER                    OR     90010578977
89386A4A661928   EMMETT          ALLEN                     CA     90009550406
89387638472B46   LINO            CASILLAS                  CO     33078516384
8938768A771977   SHANAY          SPINUZZI                  CO     90014226807
89388416A61927   ALEX            AMPOSTA                   CA     90001054160
8938844985B24B   KIMBERLY        GEORGE                    KY     90014594498
89388864197B3B   ROBIN           MARTINEZ                  CO     90010748641
8938894648B168   LORENA          AREVALO                   UT     90013049464
8938B319291935   JENNIFER        FIELDS                    NC     90000393192
8938B353A9154B   VIRGINIA        MONTOYA                   TX     90014663530
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1435 of 2350


8938B625951325   PEDRO          MARTIN                     OH     90014676259
8939113358B163   MICHAEL        QUINTANA                   UT     31060341335
89391728397B3B   HWA            KIM                        CO     90013027283
89391793772B46   LUDIVINA       TREVIZO-GARCIA             CO     90013947937
8939184A75B27B   SHARYL         JONES                      KY     68012888407
89391A92972B62   JUAN           MONTOYA                    CO     90012430929
89392238272B46   YESENIA        NUNEZ                      CO     90015242382
8939261816194B   DARYL          MAGNUSON                   CA     90005296181
8939334A193771   SANDY          RUSSELL                    OH     64585133401
89393688872B46   JALYNDA        KING                       CO     33019626888
8939393444B22B   LISA           ALPEN                      NE     90014029344
89394756357B9B   HEATHER        PAGLIANITE                 PA     90014587563
89394929297B3B   SAUL           GARCIA                     CO     90012509292
89395629472B46   CHARLEEN       LOPEZ                      CO     33087296294
89395795A77537   CYNTHIA        MEREDITH                   NV     90003147950
893958A2555945   JENNIFER       KELLEY                     CA     90012858025
89395A8115B24B   RAQUISHA       POWELL                     KY     90006110811
8939612317B489   TASHIA         MCLEAN                     NC     90013441231
8939626159154B   BIANCA         SIMON                      TX     75042292615
89396432A84371   HALEY          POSTON                     SC     19095454320
89396765A5B27B   WILLIAM        HUNT SR.                   KY     68057767650
89397422897B3B   CALLIE         WARNER                     CO     90001924228
89397AA1A5B37B   ALONSO         RAZO                       OR     90003900010
89398619372B33   EDUARDO        YEPES                      CO     90013786193
8939873528B168   GLENDA         WHEELER                    UT     31096627352
893994AA877537   RICHARD        WALKER                     NV     43043624008
89399551A5B24B   JUSTIN         WEDDING                    KY     90014155510
8939963267B489   ALEJANDRO      LEAL AVILES                NC     90007196326
8939971515B326   NADINE         M WEGMAN                   OR     90002107151
8939975932B271   RONALD         PEYTON                     DC     90000437593
8939B13277B372   JOSE           MENDEZ PEREZ               VA     90005721327
8939B331254153   ORIL           MORRIS                     OR     90015523312
8939B729672B33   TERRY          MEYER                      CO     90015087296
8939B894572B44   HAROLD         SMITH IV                   CO     33001448945
893B13AA55B139   STEPHANIE      REDMON                     AR     23040943005
893B2426472B62   AMANDA         FRITZ                      CO     90012294264
893B261614B234   MEGAN          SHEPHERD                   NE     27065126161
893B356185B183   LAURA          BARIOLA                    AR     90010465618
893B4322872B29   JOSE           VILLALOBOS                 CO     90004843228
893B444119154B   ANAIS          SERVANTES                  TX     90005314411
893B4521997138   KRISTIN        GALVIN                     OR     90014785219
893B484388B168   SILVIA         HERRERA                    UT     90014518438
893B4A41947831   ANDREA         HARTAGE                    GA     90012490419
893B5583997B3B   KARI           MCNINCH                    CO     39059225839
893B582A12B271   EUGENE         LEWIS                      DC     81090248201
893B5851872B46   RONALD         HAIGHT                     CO     90011738518
893B591598B159   BIRCH          MIKE                       UT     90009679159
893B592466194B   HECTOR         VARELA                     CA     46008389246
893B6156A55945   JORGE          NEGRETE                    CA     90006031560
893B6187771977   ADRIENNE       MARTINEZ                   CO     90008311877
893B6966472B46   MARIA          HERNANDEZ                  CO     90007319664
893B6968741275   STEPHEN        BURDA                      PA     51077899687
893B7122191979   JOE            FISHER                     NC     17022011221
893B7358633698   ROSE           EVANS                      NC     12030563586
893B8459855945   NAVARRA        MONTGOMERY                 CA     90012274598
893B8576591979   ALBERTO        HERBERT                    NC     90013385765
893B9574372B46   YESINIA        MARTA                      CO     33019445743
893B9574672B29   ANTHONY        DURAN                      CO     33022785746
893B963199154B   GRISELDA       ARMENDARIZ                 TX     75087756319
893BB16245B183   KENDRICK       FRANKLIN                   AR     90008071624
893BB49665B326   RICK           GRAHAM                     OR     90014514966
893BB637991837   BRITTNEY       TOBEY                      OK     90014966379
8941144838B168   BRANDY         WINTERS                    UT     90010864483
894115A7877537   ROCIO          BACA                       NV     90002585078
8941182242B271   JOYCE          JOHNSON                    DC     90012928224
8941229285B326   JEFFREY        RUDENSTEIN                 OR     44585352928
894127A842B271   TAMIKA         WALL                       DC     90012867084
89412A77A9154B   CECILIA        TORRES                     TX     90010900770
89413547A2B271   HERLINDA       DELGADO ARAGON             DC     90013155470
89413591A47822   SEAN           MORRIS                     GA     90001105910
89413752A72B62   ROSA           RAMIREZ                    CO     90011557520
8941381496194B   SAMARA         RUIZ                       CA     90012888149
8941432769154B   ARIEL          RIVERA                     TX     90011633276
89414342972B33   SHILAMONIQUE   LUCERO                     CO     90007483429
89414A8435B326   JOSE           VALDEZ                     OR     90008630843
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1436 of 2350


894157A5891354   JUAN         SOLANO                       KS     90009667058
8941586769154B   AARON        DIAZ                         TX     90009918676
89416487372B46   JAMES        KIM                          CO     90006884873
8941671233167B   SUSAN        KLINGENBERG                  KS     22094437123
894168A7672B98   LY           LAM                          CO     90012458076
89417341A61927   SAKIA        SCOTT                        CA     46080033410
894178AA271977   DESIREE      RUYBALID                     CO     38073658002
89417A11877533   RICHARD      MCCARTNEY                    NV     90007460118
894184A3272B62   RENEE        HAILEY                       CO     33044434032
8941916498B168   SHEILENE     NAVARRETE                    UT     90011571649
8941931763B359   ABRAHAM      PEÑA                         CO     33014393176
89419646772B44   HANNAH       BAKER                        CO     90014796467
894198A7172B46   ADRIAN       TAKAHASHI                    CO     90013948071
894199A386194B   TIMOTEA      CARRAZCO                     CA     90001599038
8941B217272B62   WILLIAM      PARSON                       CO     33095662172
8941BA83A8B154   BRITTNEY     STEVENSON                    UT     90002820830
8942136149154B   LARRY        LOVETT                       TX     90011633614
89422A4A54B22B   ROLANDO      VALADEZ                      NE     90013930405
8942395955B27B   JESSICA      MCCORMICK                    KY     90005449595
89423A14772B33   ESTEFANY     REODRIGUEZ                   CO     90010950147
8942429148B161   PATRICIA     CHILD                        UT     31087222914
8942457942B271   ANTHONY      MARZAN                       DC     90004895794
89425637A33684   TAMMY        WARREN                       NC     90015166370
89425A1A85B27B   BRITTNEY     MONROE                       KY     90009270108
8942694325B24B   RASHAWN      WOODS                        KY     90009889432
89427485A97B3B   CHARLES      ESCH                         CO     39028064850
8942751355B326   HILDA        CUEVAS                       OR     90001825135
8942863216194B   GUADALUPE    LEANO                        CA     90010726321
8942867A747897   ATHEA        GAINEY                       GA     14030036707
89429292972B46   RAMIREZ      RYQUAN                       CO     90004502929
8942961129154B   RENE         SANCHEZ                      TX     75085106112
8942969354B22B   NIBRAS       MAHMOOD                      NE     27093456935
8942988163B375   MARIAH       WALKER                       CO     90013188816
8942B158A97B3B   MARTIN       ALCARAZ                      CO     90014861580
8942B37812B553   ERICK        JACKSON                      AL     90014483781
8942B595892838   JUAN         CERVANTES                    AZ     90014325958
8942B62255B24B   JOSE JUAN    DELGADO                      KY     90015226225
8942B96216194B   DALIA        JIMENEZ                      CA     90004899621
89431211476B97   CARMELO      BAZAN                        CA     90003082114
8943165A95B326   CYNTHIA      AUTENRIETH                   OR     44505636509
89431717872B33   DANIEL       DURAN                        CO     90012947178
89432655872B44   LISA         MORTENSON                    CO     90014796558
89432986A72B29   CLAUDIA      FARRELL                      CO     33071009860
89432A9836194B   SUZANA       VERGARA                      CA     46070510983
89433657A72B44   ROBERTO      GONZALES                     CO     90014796570
8943371A593771   AMY          KREINER                      OH     64593127105
8943391444B22B   DIANNE       HEINEMAN                     NE     90007969144
8943439A271977   ALEX         THOMPSON                     CO     90014923902
8943485415B24B   DOUGIE       HIBBS                        KY     90013398541
8943495428B168   JAYCEE       MONTOYA                      UT     90014819542
89435289372B46   TASHA        RAGLAND                      CO     90011872893
8943553147B489   MARIA        CRUZ RAMIREZ                 NC     90014055314
89435721172B33   MICHELLE     FROSTER                      CO     90014217211
8943597979154B   DOLORES      TOVAR                        TX     90014779797
89435A97297B3B   FLOYD        BROTHWELL                    CO     90014810972
89436A1A871977   JOSE         MANZANO-CAMPOS               CO     90005150108
89436A29993772   ROGER        ROHDE                        OH     90012660299
89436A67791837   ASHLEY       RUEHLE                       OK     90013810677
8943741199154B   AMBER        CARDENAS                     TX     90011634119
89437494A5B24B   TONI         FISHER                       KY     90009794940
8943754965B326   OLIVA        AVALOS                       OR     90015115496
894386A672B271   ANDRES       UMANA                        DC     81090326067
8943895428B168   JAYCEE       MONTOYA                      UT     90014819542
89439886A97138   ANGEL        SCHNELLER                    OR     44036188860
8943B314A51362   SANDY        MARCUM                       OH     90003203140
8943B528372B44   ERIC         WEBER                        CO     90014805283
8943B667757138   MARTHA       ESPARZA                      VA     90010306677
8943BA69881651   AMANDA       SMITH                        MO     90010860698
8944135712B271   SHERIKA      CRAWFORD                     DC     81018583571
89441811972B46   DEREK        MARTINEZ                     CO     90013948119
89442458272B33   DAVID        REED                         CO     90014554582
89442959672B46   BRADLEY      BACKES                       CO     90013279596
89443293172B33   LUCIO        LOPEZ PACHECO                CO     33071282931
8944364554B22B   MISTY        PHILLIPS                     NE     90014506455
8944391438B168   TERRI        JUDD                         UT     31004139143
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1437 of 2350


89444599772B33   MARY               HILL                   CO     90002475997
8944526944B22B   LESVAN             TORRALVO               NE     90002372694
8944529719154B   MAURICIO ARMANDO   MORENO                 TX     90004272971
8944557155B27B   DONALD             PATTON                 KY     90006125715
894456A6841275   PATRICIA           MIESEL                 PA     51085556068
8944599532B653   SHANE              WYATT                  WA     90011339953
89445A41155945   MOSES              OSAGHAE                CA     49080410411
8944612818B154   CECILIA            QUIROZ                 UT     31072951281
8944616296197B   DAYSI              RODRIGUEZ              CA     90011901629
8944619848B168   GENA               MONTOYA                UT     90013881984
8944695A641262   LAOLAN             CARDONA                PA     90002199506
8944718692B271   RICK               ANDERSON               DC     90010571869
89447461572B62   ALEIDA             HAWKINS                CO     90011384615
8944754445594B   ELISA              NICKLES                CA     90009305444
8944782129154B   MARIA LILIA        JIM                    TX     90004578212
894478A665B326   MICHAEL            FASH                   OR     90012468066
89447913972B46   STACIE             MORALES                CO     33085059139
8944988A69154B   MARIA              HERRERA                TX     75090078806
89449A7517242B   RICHARD            BROWNFIELD             PA     90001660751
8944B756A97B3B   FRANCISCO          CARRANZA               CO     39093697560
8945148A472B44   ROBERT             KROL                   CO     33018254804
89451A14A97B3B   JAMI               CHARLES                CO     39052790140
8945266AA91524   ROBERT             RUIZ                   TX     90001176600
8945335627B372   FRANCISCO          ADAN                   VA     81071983562
8945467A171977   ADAM               GONZALES               CO     38081426701
89454871A72B44   CHRISTINE          HALL                   CO     33069298710
89454931A72B46   PATRICK            MAGEE                  CO     90013969310
89454A7A177537   BRIANA             SNELL                  NV     90000890701
89455887572B62   HALEY              MILES                  CO     33092658875
8945616A44B22B   IRIS               SMITH                  NE     27096921604
89456174A71977   MARY               MARTINEZ               CO     90014541740
8945632789154B   LISA               PENA                   TX     90004923278
894567A3172B44   CHRIS              MARSH                  CO     33057467031
894568A9891933   CAROLYN            ATKINS                 NC     90002238098
89456A5435B326   DANNY              ARCHILA                OR     90005240543
894572A5571977   LALONNIE           SPILLMAN               CO     90012102055
8945736125B24B   DAMIEYAUNTA        BRADLEY                KY     90011463612
89457364872B62   JESUS              HERNANDEZ              CO     90013893648
8945744729154B   JOSE LUIS          TORRES                 TX     90011634472
8945767A472B44   ANITA              BLACKWELL              CO     90014796704
8945772147B489   TROY               DIXON                  NC     90009697214
8945779168B151   ALISHA             VASQUEZ                UT     90003867916
8945825779154B   SANDRA             DE LA O                TX     75018432577
8945855419152B   DIANA              MARTINEZ               TX     90000135541
89458886972B33   ELLEN              KANOZA                 CO     90014408869
8945916A291979   HEWITT             MCLEAN                 NC     90014731602
8945962894B22B   DAVID              SENEY                  NE     90013666289
89459744172B62   CRUZ               JUAREZ                 CO     33052927441
8945B2A858B154   MICHAEL            HARRIS                 UT     90003362085
8945B614155935   JUAN               IBARRA                 CA     90010166141
8945B984797138   RICHARD            GUARDIOLA              OR     90014549847
894612A6151362   JESSIKA            ANDERSON               OH     66017142061
8946131834B22B   DENISE             MCBRIDE                NE     90014853183
89461A25197138   RAUL               LOME FRANCISCO         OR     44016620251
894621AA19154B   VALERIA            TERAN                  TX     90014401001
8946284285B326   JENNIFER           RICKS                  OR     90010248428
89463364572B62   JACQUELINE         CONTRERAS              CO     90010953645
89463A5A36194B   BOUNNHONG          KAIGNAVONGSA           CA     46050180503
89464445697B3B   JESSICA            HILLIS                 CO     90014594456
8946451688B136   BOBBIE             STOCKWELL              UT     90012295168
8946493115B183   PATRICIA           MACK                   AR     23086519311
89464A68672B29   ELVIA              PARICIO                CO     33029470686
8946511418B163   MAURINA            VALDEZ                 UT     31030781141
89465754A4B22B   PEARL              ARMELL                 NE     90010177540
89465926772B46   VIVIAN             CARDINES               CO     90013009267
894659A9372B44   SANDRA             VASQUEZ                CO     90013089093
8946648A941275   BHAGI              GURUNG                 PA     51095374809
8946653914B234   GLEN               FROM                   IA     90011585391
89466567472B44   PAULA              CISNEROS               CO     90011705674
8946658AA72B33   PATRICIA           GARCIA                 CO     33061055800
89466837A91363   JOSE               NAVAS                  KS     90001988370
89467619172B44   MARIA              AIVILLALVA             CO     90005236191
89467782A72B33   ZANE               BELTON                 CO     33095017820
89467888172B46   ERIQUE             MUNOZ                  CO     33084058881
8946911A597B3B   LOGAN              SMITH                  CO     90013661105
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1438 of 2350


8946981A691837   BRIDGETT      LANDER                      OK     90013838106
8946B625791933   ENRIQUE       TINAJERO                    NC     90010966257
8946BA7A672B33   CESAR         GONZALEZ                    CO     90001670706
89471158272B46   TINA          COLE                        CO     90005451582
8947146819154B   LETICIA       DELGADO                     TX     90009294681
8947157366194B   JUSTIN        KRAMP                       CA     90014385736
8947195725B24B   CINDY         SWEENEY                     KY     68000989572
8947195A793771   MELISSA       CUNNINGHAM                  OH     90010999507
89471964672B29   PERLA         ALANIZ                      CO     90002529646
89471986372B62   MARGARET      CORDOVA                     CO     90006209863
89472348857B9B   TRACY         CALLAHAN                    PA     90014633488
8947249895B24B   SCH NISHA     WADE                        KY     90011344989
8947255315B326   ADRIANA       MONTANO                     OR     90013815531
8947284A272B33   GUADALUPE     DEROSALES                   CO     33011418402
8947359A241275   DEMIAN        DAYE                        PA     51066915902
8947384624B234   MARISELLA     MURILLO                     NE     27091208462
89473AAA397138   RICARDO       ANICA                       OR     44084630003
89474362A93771   JOSEPH        THORPE                      OH     90013813620
8947493518B163   SUZET         KOO                         UT     90004169351
8947498A272B44   MARIA         MEZA-AVILA                  CO     33089889802
89475237A4B234   PAM           SEMINARA                    NE     27026762370
8947535734B531   MARIO         CHAI                        OK     90012823573
894754A712B271   GERYLL        CARR                        DC     90014494071
894755A6171977   BROOKE        TRUJILLO                    CO     90015175061
8947617A455945   JOSE          CERDA                       CA     90013061704
8947659695B27B   MICHAEL       WEST                        KY     90001905969
8947664A691837   MICHELLE      TROUT                       OK     21067476406
89477466172B29   LAURA         GONZALEZ                    CO     33042394661
89477733872B46   ANDREA        MANCHECA                    CO     90013867338
8947788315B24B   SONNIE        JUDKINS                     KY     68075948831
894779A2372B33   JENNY         CARCAMO                     CO     90014139023
8947822985B326   PABLO         HERNANDEZ                   OR     90013942298
8947841885B326   ALLAN         WESTLING                    OR     90014184188
894787A912B271   RONDNEKA      PRESTON                     DC     90012867091
89479383A41275   CARRIE        JORDAN                      PA     51094073830
89479455897B3B   CHRISTOPHER   GREENLIFE                   CO     90014954558
8947997A261928   ATALE         AMARE                       CA     46059619702
89479A58372B29   MELISSA       HERRERA                     CO     90013220583
8947B12975B24B   JUDY          THOMPSON                    KY     90010911297
8947B37A86194B   SALOME        GARCIA                      CA     46059033708
8947B4A1191933   ANA           MERIDA                      NC     17015334011
8947B539272B46   SALVADOR      SALAZARS                    CO     90014895392
8947B64765B24B   LEIGH         ANN                         KY     90004326476
8947B88814B998   JUANA         SANCHEZ                     TX     90012978881
8947BA6475B326   FRANK         ZEMBER                      OR     90007750647
8948124A455945   ROY           CHAVEZ                      CA     49073212404
894815A712B246   TEKANG        TIFUH                       DC     81026195071
89481A8278B168   CATHERINE     BROWN                       UT     90014820827
89483A5A36194B   CLAUDIA       NERIA                       CA     46027350503
89483A69941262   NICOLE        PERROTTI                    PA     90005610699
89484511972B44   PAULA         LOVATO                      CO     90014805119
894847AA791837   JESSE         JACOBS                      OK     90013577007
8948514A34B561   JONATHAN      SMALLWOOD                   OK     90014261403
8948524A55B24B   STACYE        OWEN                        KY     90007882405
89485324472B33   SABRINA       CONROY                      CO     90013503244
894856A3A72B29   GUALTIRE      KARA                        CO     33040306030
8948576A855945   BOBBY         SCHWARTZ                    CA     90011507608
8948593A771977   LORIE         BARNES                      CO     90012589307
89485AA174B561   JONATHAN      SMALLWOOD                   OK     90011520017
89485AA9A5B326   SHANNON       LUDAHL                      OR     44506150090
8948666725B24B   ALICIA        RUIZ                        KY     90014296672
89487248A4B22B   JORDAN        YATES                       IA     90014152480
8948747A35B326   CORAL         AGUILAR                     OR     90014184703
894877A6372B46   SANDRA        PASOS                       CO     33087227063
89488669672B29   BRENDA        LIRA                        CO     33036516696
8948898114B22B   JAMES         HILDRETH                    NE     27021619811
8948B44A772B46   LAKYSHA       DIXON                       CO     90014334407
8948B565372B62   JEANETTE      MARTINEZ                    CO     90013615653
8949161778B154   NARAYANI      DHAKAL                      UT     31000416177
894923A417B489   JOHNNY        PARKER                      NC     11075023041
894923A5171977   REBECCA       DEYNE                       CO     38073103051
89492736772B46   CARLOS        SANCHEZ                     CO     90011177367
89492851797B3B   JAMIE         MEDINA                      CO     90012998517
89493147772B29   BRION         MASON                       CO     90011141477
8949338194B234   ELISABETH     WHITSETT                    NE     27059243819
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1439 of 2350


89493495772B46   EMELDA            GONZALEZ                CO     90006764957
8949374534B578   JENNIFER          WIENS                   OK     21596507453
8949418395B241   JAMES             SHUCK                   KY     90009921839
894941A9572B44   DAYSHALAI         BUTLER                  CO     90014471095
89494862872B46   LETICIA           SALAZAR                 CO     33030698628
89494A5574B22B   BLAKE             WEBSTER                 NE     27054010557
8949541A17B489   JOHN              LOPEZ                   NC     90013974101
8949544A772B44   LANETTA           WAYNEWOOD               CO     90008604407
8949549A52B94B   SABRINA           JOHNSON                 CA     90013254905
894954A1797B3B   MELISSA           DEPRIEST                CO     90014924017
8949636837B489   TAN               DURHAM                  NC     90009463683
8949673848B154   ARNOLD            AMBRUST                 UT     90003367384
8949758599154B   MICHEL            GONZALEZ                TX     90005315859
894975A6372B62   JORGE             ARAMBULA                CO     33050035063
89497A85372B46   MARIA             GUERRA                  CO     90009910853
89498339972B46   JACOB             BRECHEISEN              CO     90005503399
89499244672B33   MELISSA           ROHR                    CO     33072062446
8949942935B532   MICHELLE          LEFEBER                 NM     35070694293
89499937672B44   GUILLERMO         DOMINGUEZ               CO     90000799376
8949B461772B44   ANTHONY           RIDEAU                  CO     33086304617
8949B536991837   MARA              ALLEN                   OK     90014995369
894B127535B24B   JOHN              WHITNEY                 KY     90014852753
894B1837191979   TONY              ROBERSON                NC     90012418371
894B191758B168   TONY              SALINAS                 UT     90014819175
894B1A42572B44   JODENE            SHERWOOD                CO     33075990425
894B1A46351362   ESAU              SANTIAGO                OH     66013580463
894B2211241275   JUSTIN            WOOD                    PA     90014582112
894B243A697138   JESSICA A         DARBY                   OR     90013144306
894B2959757152   MARLON            ALVAREZ                 VA     90012349597
894B3969272B29   JIMMIE            WILSON                  CO     90006809692
894B4195297B3B   JOSE              ARGUETA                 CO     90012601952
894B4758791837   RICHIE            VALLUZZI                OK     90014987587
894B4832A97138   VIRIDIANA         GARCIA ARREOLA          OR     90012648320
894B5396691933   BASILIO           MENDOZA                 NC     90004263966
894B5753851362   CARLOS            TIRO-CALDERON           OH     66083107538
894B6741547822   ABDUL             LAURY                   GA     90012287415
894B6844A72B29   MARY              GARZA                   CO     90010868440
894B68A284B556   COOWESTA          GRAY                    OK     90006018028
894B6A95672B46   JANICE            MARTIN                  CO     90014790956
894B7839A41275   JUSTIN            GRATES                  PA     51053738390
894B788535B326   MARCO             SAUCEDO                 OR     44538528853
894B7897997B3B   JAMES             TURNER                  CO     39038118979
894B865A272B62   CESAR             MARTINEZ                CO     90014516502
894B8799372B46   VIRGINIA          PEREZ                   CO     90013947993
894B8826355945   PAQUETTA          BRYANT                  CA     90012638263
894B893556194B   RICHARD           VIERLING                CA     90012149355
894B9129497B3B   FELIPE PATRICIO   CALDERON                CO     90010131294
894B9179655945   JOE               TAMAYO                  CA     90014041796
894B9317884371   LEIGH             BELL                    SC     90001693178
894B9759972B62   ROBERT            WATSON                  CO     33041827599
894B9969A72B46   STEFANO           PADILLA                 CO     90011739690
894BB598997B3B   MARIANO           CARCAS PERDOMO          CO     90015385989
894BB639772B44   JUSTIN            JAMES                   CO     90014796397
894BB93A454177   KARINA            AGULAR                  OR     90014699304
8951116345B24B   SATURNINA         VILLALOBOS              KY     68060471634
89511522672B29   CHRIS             GORDER                  CO     90001845226
89511643297B3B   BRANDY            TROUDT                  CO     90012116432
8951197999154B   MARISELA          MARINES                 TX     90002089799
89511A8143B14B   WILSON            AGUILERA                VA     81045180814
8951265916194B   STEPHANIE         GONZALEZ                CA     90004826591
89512A9145B326   ANDY              LEWANDOSKI              OR     44509450914
8951336635B326   NAIN              HERNANDEZ               OR     90013593663
8951384A772B29   JOEL              GEDDIE                  CO     33016338407
89513933872B46   ALEJANDRO         SILVA                   CO     90013969338
89514532372B44   TRAYIA            WILSON                  CO     90014805323
8951476A46194B   SEAN              MILLER                  CA     46026747604
89514828997B3B   MARGARITA         GALVAN                  CO     90000878289
8951522252B271   ABEBA             WOLDEMARIAM             DC     81090362225
89515532372B44   TRAYIA            WILSON                  CO     90014805323
8951591A747897   DARIUS            ROBBISON                GA     90009399107
8951678715B139   JOEY              KAMPBELL                AR     23095147871
8951693444B22B   LISA              ALPEN                   NE     90014029344
895172AAA72B46   JAMES             NAULS                   CO     90014092000
8951757158B163   STEPHEN           MACKELPRANG             UT     90006005715
895176A7191933   YURI              PENA                    NC     17080076071
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1440 of 2350


89517A25651362   CHRISTOPHER     ROBERTSON                 OH     90004960256
8951862468B168   JODY            DIAL                      UT     31054596246
8951929327B489   ALLEN           BILLY                     NC     90013222932
8951938195B241   BELINDA         JONES                     KY     90003573819
8951B23217B489   TYSON           FORTENBERRY               NC     90014152321
8951B572691837   LINDSEY         LOFTON                    OK     21000255726
8951B74945B183   MALLORY         GOLLIGLEE                 AR     90001027494
8951B87616194B   ANTHONY         BRITTINSHAM               CA     90003928761
8952145624B234   DANIELLE        MINNIFIELD                NE     90000914562
89521817972B44   BONITA          MONGE                     CO     90014618179
8952239962B271   EBONY           MAGRUDER                  DC     90014873996
8952341A641275   RON             HILL                      PA     90014884106
8952386185B24B   LICET           IMBERT-MATOS              KY     90014738618
89524447272B7B   CAMERON         BACA                      CO     90014444472
8952544A12B271   EUSEDIO         OHCAN                     DC     90013984401
89525559A72B46   SELENA EILEEN   TRUJILLO                  CO     90010965590
8952578939154B   GRACIELA        RODRIGUEZ                 TX     90000577893
89527522997B3B   MATHEW          MAY                       CO     90010685229
89528A2115B326   LEO             GABONIA                   OR     90012470211
8952994225B27B   MMICHELLE       HESTER                    KY     90001919422
89529945272B33   JAMES           GARCIA                    CO     90006149452
8952B23954B22B   JEANAE          YOUNG                     NE     90001522395
8952B493572B44   CORA            GARCIA                    CO     90014774935
8952B627A91979   HAU             TUNG                      NC     90015236270
89532553972B29   MIGUEL          REYES-MARTINEZ            CO     90012165539
8953379485B326   JUAN            MERINO                    OR     44509117948
895346A555B24B   TANJAN          WILLIAMS                  KY     90012846055
895354A6172B29   ANNETTE         SAUCEDO                   CO     33048764061
89535577772B33   BRANDON         MARTINEZ                  CO     90014045777
8953558925B326   TIM             YOUNG                     OR     90013255892
89535A5384B22B   NATHANIEL       WELLS                     NE     90014500538
89536473A47897   ROBERT          REVELS                    GA     90010264730
8953755555B326   JOSE            VIERON                    OR     44515835555
8953797A555945   JEFFERY         ANDERSON                  CA     90013419705
8953879839154B   PRISCILLA       MUNDO                     TX     90014607983
8953944A172B29   GOMZUR          AROU                      CO     90013774401
8953958165B139   ABDON           ORTEGA                    AR     23072975816
8953B157991933   LASHONDA        HURT                      NC     90007181579
8953B371A5B399   DAVID           WILLIAMS                  OR     44584283710
8953B621797B51   KELLI           ANTISTA                   CO     39094316217
8953B62873B366   ANTHONY         KERR                      CO     33006326287
8953B834A97B3B   DAVID           SHIPLEY                   CO     39039568340
8954113388B168   EVERARDO        RODRIGUEZ                 UT     31025021338
895415A577B496   FRANCES         SAEZ                      NC     90012625057
89542145872B29   CAROLINA        GUZMAN                    CO     90010431458
8954229A877537   JUAN            ARELLANO                  NV     90003152908
89542381772B33   BRIAN           JOHNSON                   CO     90001963817
89543673A71977   CLAUDETTE       GOODWIN                   CO     90012686730
89543795A72B29   VERONICA        GONZALES                  CO     33095087950
89544754772B29   MIGUEL          ESPINOZA                  CO     90010547547
8954496885B326   MUSONDA         MWANGO                    OR     90008179688
89544991A8B168   JUDITH          MORALES                   UT     90014869910
89545A3A16194B   ANABEL          QUEZADA                   CA     46069230301
89546155772B46   ERICA           QUINN                     CO     90011741557
8954639252B553   JAMEL           PUGH                      AL     90014483925
8954678967B489   OMAR            VITE                      NC     90013787896
8954716289154B   DORA            TORRES                    TX     75057621628
89547192A2B271   MARY JANE       MANILA                    VA     81005171920
89547938772B27   RAUL            ESTRADA                   CO     90013209387
895479A634B234   MASON           ALTHEA                    NE     90000719063
8954817635B326   CLARENCE        MILES                     OR     90003311763
89549628472B46   JOEL            BARON                     CO     90014646284
8954B25439154B   BRANDY          MARTINEZ                  NM     75011682543
8954B66375B326   ANDREW          MOFFAT                    OR     90014106637
8954B727297138   DALE            LAUX                      OR     90011757272
8954B834272B46   FATIMA          ARGUELLES                 CO     90013948342
8954BA62891979   JESUS           GARCIA                    NC     90009870628
8955152AA8B168   ROSA            TORRAS                    UT     90005815200
8955159A73162B   BWIMBO          KAJANJA                   KS     90011465907
895518A7A2B228   SHANEKA         JONES                     DC     81013828070
89551A75297B3B   CLAUDIA         ROBLES                    CO     90009470752
8955242A99154B   MIRIAM          ALDERETE                  TX     90012794209
895525A549154B   HECTOR          GONZALEZ                  TX     90011315054
89553141272B33   JANELLE         GOULD                     CO     90013891412
8955314A25B24B   VANETTA         ELMORE                    KY     90013751402
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1441 of 2350


8955315A577537   ANGELICA           ROSAS                  NV     43089891505
8955376315B27B   SHIRLEY            MANION                 KY     68006997631
8955484A455945   MARISOL            BARBOSA                CA     49062728404
89554A3625B139   HARRISON           GRAVELY                AR     23009910362
8955525665B27B   ALBA               MORELOS                KY     90005452566
8955569A75B326   KIKI               GOODWIN                OR     44562386907
895564A4372B33   MARIE              SCHNEIDEN              CO     90014524043
89557321A93771   DEBRA              KINS                   OH     90013783210
89557424298B25   ERNESTO            ALVARADO               NC     90001604242
89558A96772B44   JAZMYN             MCMURRAY               CO     90010460967
89559231A84351   JENNIFER           WILLIS                 SC     19067602310
8955998845B326   WARREN             HIGA                   OR     90011969884
8955B2A1271977   LEANDRO            VASQUEZ                CO     90008452012
8955B634872B62   CHARLOTTE          OLIVAS                 CO     33043796348
8955B85155593B   SARA               PALOMINO               CA     90011418515
8956122419154B   JUAN               ESPARZA                TX     90003992241
8956164855B523   MICHEAL            CHAVEZ                 NM     90014436485
8956197938B168   RUTH               GARCIA                 UT     90005729793
89562A9175B24B   JOHN               PARRISH                KY     90014780917
8956311829154B   CARMEN             GUTIERREZ              TX     90001871182
8956324A251333   RENITA             ELLERY                 OH     90011102402
8956398665B326   TERESA             TELLADO                OR     44574789866
8956436148B168   SHANNON            MINNIG                 UT     31062093614
8956438822B271   QUINTON            WALDEN                 DC     90006663882
8956467A633698   KITTEN             ALSTON                 NC     90009196706
8956482215B326   CARLOS             VILLASENOR ALVAREZ     OR     90011328221
89565728A72B33   TIM                HARRISON               CO     90009727280
895659A945B24B   JENNIFER           MCFARLAND              KY     68014099094
895667A2972B33   CARMEN             CERVANTES              CO     90010847029
89566A1A15B523   ANTOINETTE         SANCHEZ-ROMERO         NM     35001140101
8956717A741275   LATASHA            DEMERY                 PA     90012251707
89567215372B33   FELIPE             AGUILERA               CO     90015002153
89567753872B29   JONATHAN           VALADEZ                CO     90013177538
89567847872B62   IVORY WASHINGTON   MARTIN                 CO     90013698478
89567891497B3B   RAMEY              JEREMY                 CO     39066198914
89567AA868B168   CHELSIE            SEARLE                 UT     90014870086
8956817695B24B   DUSTIN             ROBEY                  KY     90005661769
8956818765B326   SHELLEY            POUCH                  OR     90007631876
8956827785B528   MARK               HUNT                   NM     35017432778
895692A5891553   EMELY              BANOS                  TX     90013942058
89569AA868B168   CHELSIE            SEARLE                 UT     90014870086
89569AA9172B44   LARAE              APODACA                CO     33080850091
8956B184955945   MARIA              PINENTEL               CA     49022571849
8956BA7295B326   JESSICA            RIPPETOE               OR     44501230729
8957123895B326   YOLANDA            PYLES                  OR     90012602389
8957167885B183   OPAL               HULBERT                AR     90003246788
89572724272B44   LETITIA            ARENS                  CO     90014797242
89572A25141262   FARRAR             JAMSIME                PA     51053550251
89572A99871977   RAYMOND            ARELLANO               CO     90011460998
89574312A2B249   HOWARD             SMITH                  DC     90004953120
89574754A93771   TROY               DONTHNIER              OH     90012387540
8957523A277537   JUAN               CARRERA                NV     43098922302
8957545262B271   LATOYA             DORN                   DC     90012664526
8957549379154B   BERENICE           CARDENAS               TX     90001944937
89575637A72B46   SIERRA             LEJMAN                 CO     33036226370
89575A36472B33   ZENOBIA            BEACHAM                CO     90005230364
89575A62872B33   KUIANA             LYNETT                 CO     90005840628
8957681869154B   MARIO              NEVAREZ                TX     90012678186
89577AA1874B35   RHIANNON           TETSTONE               OH     90014160018
8957832629154B   GERARDO            MUNOZ                  NM     75017603262
89578844372B46   ANTONIO DE JESUS   TORRES                 CO     90013948443
8957945A891837   TAMATHA            WILKERSON              OK     90005624508
8957946676194B   RICARDO            ORNELAS                CA     90013714667
8957993557B489   DAVID              THOMPSON               NC     90013709355
8957B55945B183   PAUL               GREEN                  AR     23001145594
8957B7A2391837   LISA               MENELEY                OK     21046977023
89581344A47897   KENTRAVIUS         LARKINS                GA     90011223440
8958138275B27B   JAMES              SCHOOLING              KY     90013443827
8958153634B22B   ANDRADE            ESPINOZA-ZULEYMA       IA     90003415363
8958183729154B   MABEL              LOZANO                 TX     90014608372
8958194197B489   ERICA              ENDRIS                 NC     90014609419
895821A167B489   AMBER              STRONG                 NC     11007781016
89583213A5B326   JOSE RAUL          BOYZO HERNANDEZ        OR     90007742130
89583325697B3B   MARCOS             CORTES                 CO     39088283256
89583511972B44   PAULA              LOVATO                 CO     90014805119
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1442 of 2350


895837A5772B62   WANBLI        VIGIL                       CO     90012837057
8958461112B271   ALICIA        THOMAS                      DC     90001866111
8958485518B168   DESTINIE      OSTLER                      UT     31052578551
89585711172B33   CHATAYA       LOLLIS                      CO     90000817111
8958614A14B234   CESAR         ROSALES                     NE     27039951401
89586942972B33   ANGELICA      ARAMBULA                    CO     33088619429
89588365972B29   CHRISTINA M   HECKERT                     CO     90013333659
89588392A55945   WILLIAM       STONE                       CA     49075523920
8958921543162B   PATRICIA      AMADOR                      KS     90013682154
89589474897B3B   AMANDA        MARQUEZ                     CO     90014874748
8958B618372B33   TINA          MENDOZA                     CO     90011906183
8958B636377537   AARON         HILL                        NV     90014046363
8958B974141275   SURINDER      VASHISHT                    PA     90014069741
8959183729154B   MABEL         LOZANO                      TX     90014608372
89592848972B46   MAXINE        CHAVEZ                      CO     90013948489
89593779197B3B   ROCIO         VALENZUELA                  CO     90015527791
89593A1429198B   QUEDRITH      THOMAS                      NC     90010380142
89594188697B3B   DANIELLE      KEEGAN                      CO     39064161886
89594763A55945   CHRISTINA     RODRIGUEZ                   CA     49081087630
895951A2491837   EDIL          CHICAS                      OK     21011871024
895957A9541262   AMBER         HONCHELL                    PA     90012367095
89595849A72B46   JEYMY         MUNOZ                       CO     90013948490
89596274697B3B   AMBER         OBANNON                     CO     90014562746
89596441372B62   MARIA         BARAJAS DELGADO             CO     33056174413
89596469497B3B   GUSTAVO       GONZALEZ                    CO     90008994694
89596A92672B29   PADAM         KHANAL                      CO     90009560926
8959797778B163   WHITNEY       JOHNSON                     UT     31012909777
895981AA58B168   JESUS         FERNADEZ                    UT     90002821005
89598935A4B22B   OSCAR         JONATHAN                    NE     90010319350
8959899956197B   JUAN          HERNANDEZ                   CA     90010919995
895989A262B271   SHAQULIA      BUSH                        DC     90014859026
8959978815B139   TANETTA       JOHNSON                     AR     23048687881
8959B354697B3B   STEPHANIE     MATA                        CO     90014823546
8959B51A997138   CRYSTAL       L ROBLES                    OR     90011765109
8959B536747897   TERRANCE      HOWARD                      GA     14035325367
895B12A1697B3B   ERIKA         PAEZ                        CO     90008292016
895B1475597B3B   BERNICE       DELEON                      CO     39053124755
895B149215B326   DAVID         WOODARD                     OR     44563744921
895B1927755945   ISRAEL        MARTINEZ                    CA     90012769277
895B19AA872B46   BRENDA        CLEMONS                     CO     33063469008
895B1A1632B271   SHAVEL        WRIGHT                      DC     90005670163
895B1A4484B22B   ANDREA        ALTROCK                     NE     90010950448
895B213136194B   CINDY         MARTINEZ                    CA     46090051313
895B2396297138   ALEK          NOOK                        OR     90015053962
895B3151541275   HILDRED       BERKLEY                     PA     90013541515
895B3248472B46   ALEJANDRO     LUVANO                      CO     90012892484
895B3319755945   MELINDA       GUTIERREZ                   CA     49055053197
895B376329154B   OLIVIA        SALGADO                     TX     90015127632
895B4A39272B33   LATOYA        MCKINNEY                    CO     33024320392
895B5341391242   LEA           THOMPSON                    GA     90007173413
895B5474A9154B   ALEJANDRIN    GOMEZ                       TX     75038864740
895B5574185962   KEITH         MALONEY                     KY     66034405741
895B577618B154   LLANES        EVE                         UT     90003367761
895B5945955945   ERIKA         TORRES                      CA     90012559459
895B5A15597B3B   FORTINO       FELIX                       CO     90012170155
895B5A2426194B   ANA           AGUAYO                      CA     90009390242
895B71A286197B   LORENA        HERNANDEZ                   CA     90001021028
895B754218B154   NEFI          HERNANDEZ                   UT     31000175421
895B7688872B44   HEATHER       HOVE                        CO     90014796888
895B76A7872B62   JUAN          AGUIRRE                     CO     90007966078
895B76A8971977   ELIZABETH     RODRIGUEZ                   CO     90010356089
895B778386194B   ISMAEL        LOERA                       CA     90014917838
895B841185B326   ALSAMARRAI    RIFAAT                      OR     44515414118
895B842955B183   KHADIJAH      AQUIL                       AR     23037014295
895B876544B22B   JUAN CARLO    CABRERA                     NE     27091577654
895B928922B271   WENDY         AKERS                       DC     90013942892
895B9397697B3B   AMANDA        GLESMANN                    CO     90012653976
895B9485271977   JOSE          PALMA                       CO     38087854852
895B9589291837   RICHARD       DILKS                       OK     90014995892
895B964925B326   RENEE         MACHAIN                     OR     90012716492
895BB43175B139   WEONA         BROWN                       AR     23013234317
895BB4A215B326   ANDREA        CISNERO                     OR     90006064021
8961143275B528   PAUL          PEREIRA                     NM     90004924327
8961226939154B   LUZ           CARO                        TX     90011332693
8961245147B379   MICHELLE      TAYLOR                      VA     90011234514
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1443 of 2350


89612494297B3B   KATHERINE     LUTHER                      CO     39043314942
8961276A654194   JASON         TYE                         OR     90014147606
8961338A78B144   MARIO         VELASQUEZ                   UT     90006393807
89614179A2B271   VANESSA       BROWN                       DC     90010571790
89615342497B3B   TIMOTHY       EDWARD                      CO     90010333424
89615439972B46   MARILU        VAZQUEZ                     CO     33094034399
8961566279154B   LORENZO       CHACON                      TX     75066146627
89615847172B33   EVER          MEDRANO                     CO     33031998471
89615A39272B29   SANDRA        MEDRANO                     CO     33009700392
8961676138B163   VELMA         ABBOTT                      UT     31081027613
89616884972B46   ROSENDO       RUFINO ROJO                 CO     90014838849
8961697755B24B   DAMEON        HILLARD                     KY     90012319775
89616A11877533   RICHARD       MCCARTNEY                   NV     90007460118
8961733548B154   MIRIAM        GONZALEZ                    UT     31012373354
8961767A897138   LUKE          STADDEN                     OR     90013576708
89617A3216194B   BRIA          MASON                       CA     90014890321
89618242872B29   JACOB         HATCHER                     CO     90003002428
89618398798B32   MAURA         BONWITT                     SC     11079213987
896185A5A8B163   LUIS          TORRES                      UT     31001615050
89618769872B46   MICHELLE      SANTIAGO                    CO     90010247698
89619227772B44   TANER         SOMMONS                     CO     90009792277
8961957455B326   MATILDE       GARCIA                      OR     90015115745
8961983A58B168   SARA          COOPER                      UT     90008238305
8961B32719154B   MARCO         ESPINOZA                    TX     90013423271
8961B398691979   EMILY         ORTIZ                       NC     90012883986
8961B69675B24B   MICHAEL       COX                         KY     90014586967
8961B74A597B3B   JACOB         CATHCART                    CO     90015077405
8961B854972B29   STEPHEN       DAVIS                       CO     90012568549
89622543672B29   FRANCISCO     RODRIGUEZ                   CO     33083235436
8962284465B326   GRISELDA      TZINTZUN                    OR     90008448446
89623398172B21   BRENDA        LUBBEN                      CO     33085753981
8962341617B489   KRISTOPHER    RODDEN                      NC     90013154161
896237A7741262   MELISSA       MALONE                      PA     90004227077
8962393294B22B   NANETTE       VANA                        NE     27031019329
8962425619154B   ROSE MARY     CISNEROS                    TX     90004622561
8962482415B326   JOSUE         REYES                       OR     90008028241
8962483422B271   TEQUILA       BELTON                      DC     90013968342
89624A29831448   ANGELA        WILSON                      MO     90006530298
8962539A47B464   BRUCE         HOOPER                      NC     11073313904
8962564646194B   BECKY         KING                        CA     46009006464
8962566425594B   PHAYVANH      CHNASONE                    CA     90012556642
89625692A72B44   WILLIE        VANN                        CO     90004106920
8962593178B154   LESLIE        VAN NOY                     UT     31033889317
8962652588B154   TROY          LEMMON                      UT     31061885258
8962686828B168   JOSE          RAMIREZ-GARCIA              UT     31082618682
8962768A26B399   MIKE          CARLSON                     NH     90014846802
89627A83A7B489   JOHN          CLARK                       NC     11055980830
896281A7472B62   LUPE          RANGEL                      CO     90015091074
8962B11578B168   SHANE         PERRYMAN                    OK     31090821157
8962B57A19154B   AMANDA        MORENO                      TX     90014615701
8962B785393771   TARA          DUGGER                      OH     64514447853
8962B94722B271   AMANDA        CLARK                       DC     90002129472
8962B95875B326   ORVILLE       BAUMGARDNER                 OR     90014639587
8963173328B168   JULEYMA       AMACHO                      UT     90009407332
8963179A44788B   FELICIA       MCCOY                       GA     90007097904
896317A585B24B   TERRIE        FUDGE                       KY     90014587058
8963181754B561   BRITTNEE      WILSON                      OK     90007368175
89631992772B29   JAMES         MUNDY                       CO     90012409927
89632189272B33   ROSS          SPOELSTRA                   CO     33071751892
89632217A72B44   STEPHANIE     SMITH                       CO     33051722170
89632A93A91979   LATOYA        CLEMONS                     NC     90013170930
8963314415B326   RASHAWNDA     PIERCE                      OR     44530171441
8963478226194B   ARISTEO       ARRANAGA                    CA     90011027822
89634A7194B22B   ROI           HANG                        NE     27074880719
8963614169154B   SHAWN         GUTIERREZ                   TX     75033531416
8963629467B489   KIMBERLY      LLOYD                       NC     90015262946
89636A6535B24B   JOANNA        BURK                        KY     90007900653
89636AA7672B29   MICHAEL       OLDAKER                     CO     33023330076
89637884772B33   SHELIA        GARCIA                      CO     90004498847
8963851532B271   PATRICIA      LEE                         DC     81017435153
89638975397B3B   JULIA         ENGLE                       CO     90012849753
8963919247B489   URIEL         PEREZ                       NC     90009291924
8963B215181683   SONTERIO      BROWN                       MO     90001472151
8963B525772B44   PAGE          OLSEON                      CO     90011245257
8963B57587B489   CHRISTOPHER   ANDERSON                    NC     90013975758
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1444 of 2350


8963B669131676   LINZIE       RATCHFORD                    KS     22036986691
8963B71278B168   CHRIS        GREEN                        UT     90014857127
8963B887971977   LESLIE       LUCERO                       CO     90014318879
8963B921891933   JORDAN       HARNEON                      NC     90003239218
89641441672B29   CINTHYA      RAMIREZ                      CO     90014824416
896416AA44B234   ANDRES       ORDAZ PEREZ                  IA     27072746004
89643298372B33   AUTUM        ARCHULETA                    CO     33077282983
8964331327B489   JEFF         CHILDRESS                    NC     90003373132
8964363944B22B   NICOLE       WORKMAN                      NE     90003086394
8964417645B24B   AYNIER       CARDENAS                     KY     90008031764
89645226572B33   SEPTEMBER    DURAN                        CO     90008302265
896461A775B326   AMAL ESAM    ABID                         OR     90013211077
89646392A93723   STEVEN       FAIR                         OH     90004573920
8964642817B489   CHANEL       BOWEN                        NC     90013154281
896466A7791979   BRENNAN      HENDERSON                    NC     90015126077
89646A2A972B44   FRANCISCO    HERNANDEZ                    CO     33065160209
8964831932B861   JESSICA      BLOXHAM                      ID     90008443193
8964857145B326   IRENE        VIRGEN                       OR     90015305714
896485A3972B46   MILTON       CAMPOS                       CO     90014445039
89649185A97138   LORENA       MARIN                        OR     90013031850
8964923A541275   TIFFANY      BARNETT                      PA     90010652305
8964B31A59154B   LAURA        VILLA                        NM     75024763105
8964B3A477B489   WILLIAM      HEFFNER                      NC     90010033047
8964B3A7191979   PABLO        ESCOBAR                      NC     90008463071
8964B49872B271   ROSEMARY     MARTELL                      DC     90013944987
8964BA9374B22B   SHALLONA     BOOTH                        NE     27094040937
8965127189154B   INDIA        GARCIA                       TX     90014812718
896513A515B183   PATRICIA     MORRIS                       AR     23004983051
89651822A72B62   REINA        HERNANDEZ                    CO     90007118220
8965222247B489   MARCO        MARIN                        NC     90013712224
8965255A75B326   ROSARIO      HERNANDEZ                    OR     90001485507
896531A898B168   ANNA         VIGIL                        UT     90014871089
896532A976194B   ANGELICA     SANCEN                       CA     90005882097
89653326872B44   ANDRES       BELTRAN                      CO     90012533268
89654439997B38   JORGE        CARREON                      CO     39021024399
89654454A9154B   ERIC         HERNANDEZ                    TX     75087304540
8965473418B168   NICHOLAS     DEVON                        UT     90010957341
89655383A5B24B   RAQUEL       HINOJOSA                     KY     90014913830
8965597979154B   DOLORES      TOVAR                        TX     90014779797
89655A3968B191   CARRIE       DROWN                        UT     90008770396
89655A77572B62   EBONY        CUNNINGHAM                   CO     33046920775
89656651197B3B   JEREMY       CALDERON                     CO     39038746511
896566A5A2B271   DAMON        MILLER                       DC     90012326050
8965722A355945   MARI         AYALA                        CA     49079142203
8965723317B489   DEMETRIA     MILLS                        NC     11078832331
89657944A41262   JESSICA      JOHNSON                      PA     90009419440
896579A7772B46   LUS          ELVA                         CO     33006189077
89657A3499154B   CHRISTINA    SALINAS                      TX     90011640349
89657A3635B326   SHELLY       NDERSON                      OR     90014860363
8965876245B24B   DANAIS       ROMERO                       KY     90014587624
8965971715B326   MATTEW       REID                         OR     90014567171
8965B272197B3B   MICHAEL      GODDARD                      CO     39047272721
8965B949897138   JOSE         FIGUEROA                     OR     44084079498
8965B99A291837   ROGELIO      AVALOS                       OK     21039189902
8965BA71441275   CARL         KOEGLER                      PA     51089770714
89661674672B46   SERIENNA     LAWVER                       CO     90012716746
8966191185B326   SAMANTHA     GALLINGER                    OR     90013129118
8966194845B139   ASHLEY       JOSHUA                       AR     90006759484
896624AA933B33   CHRISTINA    ERVIN                        OH     90012814009
89663442A7B489   MICHELLE     SELF                         NC     90004174420
8966353712B271   EYVONNE      THREADGILL                   DC     90011385371
89663574A2B271   EYVONNE      THREADGILL                   DC     90008035740
89663653397B3B   MELISSA      LUJAN                        CO     90008266533
896639A685B24B   KENNETH      RUFF                         KY     90013009068
89663AA479154B   ROBERTO      ROCHO                        TX     90013740047
89664382A91979   LEVERSIE     MCCLAIN                      NC     90011103820
896648A465B326   DEBRA        BAUDER                       OR     90014718046
89664A42197B51   ERIKA        ESPARZA                      CO     39076580421
8966536A15B326   CLAUDIO      RENDON-SALAS                 OR     90014253601
8966554A772B33   ALAN         MORENO                       CO     90013805407
89665565472B44   JACKLYN      GARCIA                       CO     90014805654
8966591797B489   MARIA        TELLO                        NC     90008209179
89666A5598B154   JUAN         GALLEGOS                     UT     31023870559
89667858297B3B   TERRI        MOWERY                       CO     39066858582
89667A62A72B83   RJ           RIOS                         CO     90012180620
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1445 of 2350


8966915AA6194B   CILVIA       DOMINGUEZ                    CA     90010741500
8966B989572B46   MELISSA      SHEARER                      CO     33030349895
8966BA46455945   ADRIENNE     GRAY                         CA     90008570464
89671689A72B29   CATARINA     ESPINOZA                     CO     90013856890
8967213126194B   JESSICA      LABLANC                      CA     90014001312
8967346645B24B   MELISSA      HARPER                       KY     68088844664
89673621997B3B   RACHEL       BANNON                       CO     39060856219
896736A999154B   ROSA         YVETTE                       TX     90014616099
8967444374B234   CANDIS       SNODDY                       NE     27080114437
89675229697B3B   MANDIE       KIRKWOOD                     CO     39029312296
89675A24A5B326   KIRA L       TROUTMAN                     OR     90012910240
89675A8237B489   AMANDA       SHULTZ                       NC     11040270823
8967645445B27B   HELEN        BREEDEN                      KY     90006354544
8967662A19154B   MINDY        PORTILLO                     TX     90014616201
8967667288B145   SHANNON      FRIESEN                      UT     90005596728
89676975A5B161   MICHAEL      BROWN                        AR     90006959750
89676A29177537   KRISTEN      SCHUERMANN                   NV     43027420291
89676A71A97B3B   SULE         AMADU                        CO     39067240710
89676A88791837   NEHRU        WILLIAMS                     OK     90015020887
8967717845B326   NOHENI       MENDEZ                       OR     90010591784
8967737579154B   ALEJANDRO    DURON                        TX     75088903757
896782A7791979   GABINO       JIMENEZ                      NC     90011042077
8967859369154B   ANA          SALAMANCA                    NM     75055625936
8967897397B489   BRAXTON      BANCE                        NC     90008699739
89678A21997B3B   CLAUDIA      VILLAREAL OLMEDO             CO     39096040219
89678A56A2B271   THEODORE     BROWN                        DC     90013400560
8967912666194B   WENDY        HEREDIA                      CA     90014431266
8967917A95B183   CHERYL       HARRIS                       AR     23025121709
8967919A991979   OCTAVIO      FERNANDEZ                    NC     90010671909
8967947585135B   THOMAS       GEORGE                       OH     90012454758
8967958296194B   LEON         MANSI                        CA     90013065829
89679818A41262   ROBERT       PULSON                       PA     90014028180
8967B43643147B   CHARLES      THOMAS                       MO     27517104364
8967B93693147B   CHARLES      THOMAS                       MO     90011509369
8968143525B24B   CHARLES      THOMPSON                     KY     68006784352
8968163139154B   YVETTE       MELENDEZ                     TX     90014616313
89681759272B46   RANDY        BARNHILL                     CO     90012677592
8968212117B489   TAMMY        SMITH                        NC     90012041211
89682337172B29   TERI         SAXTON                       CO     33040883371
89682362672B44   PETE         RUIZ                         CO     33000103626
89683576572B44   HASINA       FREELON                      CO     90014805765
8968391812B271   VINCENT      MOORE                        DC     90000849181
8968439A897138   MARISSA      CALDERA                      OR     90015253908
8968453964B22B   BARBARA      REMMEN                       IA     90009515396
89684589A84371   ROBERT       COLUCCI                      SC     90013545890
89684881872B46   ANA          SANCHEZ                      CO     90013948818
8968643595B24B   ALEXIE       ROBLES                       KY     68098554359
8968669192B271   TAWANDA      MCNEAR                       VA     90012776919
8968687645B19B   ORLANDO      MONTANEZ                     AR     23053038764
8968749684B22B   MARSHALL     JOHNSON JR                   NE     27083314968
89688458772B33   MAYRA        LEMUS                        CO     33084904587
896886A9841275   ELEANOR      LEE                          PA     51091606098
89688772354B31   LISA         FREEMAN                      VA     90014827723
8968B576572B44   HASINA       FREELON                      CO     90014805765
8968B75374B22B   REGINALD     BELL                         NE     90013797537
8968B821797138   DEL          LOOSE                        OR     90013438217
8968B8A2693771   AMANDA       ONEAL                        OH     90013538026
89691115797B3B   DAVE         PULLEN                       CO     39056531157
8969112515B181   PATSY        HENDRIX                      AR     90009371251
89691A51455945   JESSICA      CARDENAS                     CA     90008960514
8969227335B24B   CHARLES      WILSON                       KY     68088382733
8969257792B271   NICHOLAS     SETTLES                      DC     90013945779
8969298153B386   ELLEN        CUMBER                       CO     90007229815
8969312925B326   JUAN         HERNANDEZ                    OR     90013971292
8969597175B36B   CRYSTAL      DRURY                        OR     90012219717
8969677A54B22B   DONALD       ANTHONY                      NE     90010307705
8969679A233698   JAMIE        MILES                        NC     90002867902
896971A338B159   TROY         PERRY                        UT     90006571033
896972A515B229   KEVIN        MCMILLIN                     KY     90011682051
8969736A34B22B   KENNETH      ROBERTS                      NE     90012693603
896973A3172B46   PAULINE      FOX                          CO     33014053031
89698323772B46   ANDRES       ARMENDRIZ                    CO     90011743237
8969839328B163   BRENDA       LANE                         UT     31096253932
8969876329154B   OLIVIA       SALGADO                      TX     90015127632
89698A69441275   NICOLE       GONZALAS                     PA     90010910694
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1446 of 2350


8969945175B27B   CANDY        DAVIS                        KY     68016234517
8969B17234B22B   CINDY        MEADOWS                      NE     27066671723
8969B71A25B24B   RONALD       ALLEN                        KY     90005017102
8969B83349154B   ITZEL        DE ANDA                      TX     90013088334
8969B928872B29   RICHARD      FISHER                       CO     90009739288
8969BA4422B271   CINDY        DREISBACH                    DC     81005700442
896B111738B168   CHRISTY      TUCKETTE                     UT     90014871173
896B2377272B29   RICKY        CONCHAS                      CO     33039043772
896B3214255945   MELISSA      DONALDSON                    CA     90012722142
896B3556697B3B   JOSEPH       SANDERS                      CO     90001575566
896B381995B326   LETICIA      RUBIO                        OR     44515748199
896B3992771977   MARIA        LUCERO                       CO     38092539927
896B454175B24B   RICHARD      HAMPTON                      KY     90013635417
896B4573184371   DARIVALDO    ROBLERO-PEREZ                SC     19040105731
896B4832272B29   TARA         DHIMAL                       CO     90011378322
896B4957872B62   ADELAIDA     PASILLAS                     CO     90012559578
896B53A3177568   ANA          MORFIN                       NV     90001763031
896B5A84797B3B   MARIA        HOLGUIN                      CO     39015160847
896B6335491837   XIMENA       LUNA                         OK     90015013354
896B718592B271   ROBERTO      DELGADILLO                   DC     90014001859
896B7448841262   DAVID        HERMAN                       PA     90012734488
896B757847B489   NELESHA      MAUNEY                       NC     90010655784
896B7657191979   FREDA        VINES                        NC     90001666571
896B7A1579154B   ROSA         MORAN                        TX     75013130157
896B8326A72B44   RANDEL       JONES                        CO     33039193260
896B83A496194B   DIANA        CRISANTO                     CA     90012973049
896B872994B234   MARIA        ORTEGA                       NE     27064537299
896B9614971977   ISAAC        BACHICHA                     CO     90014836149
896B981298B168   ANA MARIA    CANO                         UT     31073088129
896BB253497138   CAROL ANN    THOMPSON                     OR     44093042534
896BB41149154B   ADRIANNA     CRUZ                         TX     90004974114
896BB515484371   CRYSTAL      CROWEN                       SC     90005965154
896BB51A572B33   KRIS         BEVANS                       CO     90001235105
896BB68336194B   LIZ          OSBURN                       CA     90004426833
897113A159154B   CORA         AVILA                        TX     90008843015
8971199378593B   KAMI         FRANK                        KY     90012369937
8971223763852B   SHAWN        HAVILI                       UT     90001242376
89712414172B62   RAYMOND      TRUJILLO                     CO     33040394141
89712728397B3B   HWA          KIM                          CO     90013027283
8971283649154B   MIRIAM       QUINTANA                     TX     90013088364
8971367399154B   MAYRA        ESTRADA                      TX     90014616739
89713861572B33   JOSE LUIS    BARAJAS                      CO     90015158615
8971387625B326   VANESSA      TRIGG                        OR     90013668762
8971389663B392   KIRK         NORBLOM                      CO     90009998966
89714336772B62   ROBERTA      ARMENDARIZ                   CO     90013183367
897143A8A5B24B   BONITA       SAWYERS                      KY     68096703080
8971495978B168   LETY         GUILLEN                      UT     31095479597
89714A94897B3B   JUNE         LEWIS                        CO     90014740948
8971567399154B   MAYRA        ESTRADA                      TX     90014616739
8971611928B168   IZAK         TORRES                       UT     90014881192
89716185A97138   LORENA       MARIN                        OR     90013031850
8971625894B22B   DERRALE      SHAW                         NE     90006832589
89716386197B3B   JOSE         PEREZ                        CO     39003583861
89716942A72B33   GEORGE       CAMPOS                       CO     90013019420
8971797795B139   TORRANCE     HOLLAWAY                     AR     90005069779
89717A69972B62   ARMANDO      LEMUS                        CO     33092710699
897182A3997138   HILDA        AMBRIZ                       OR     90013262039
8971868386194B   VENITA       THORNTON                     CA     90010916838
89718825A55945   MONICA       TAVERA                       CA     90012858250
89719A96672B46   ESTELA       TOVAR                        CO     33094770966
8971B7A346194B   JENNIFER     DAVIS                        CA     46010937034
8972111818B168   JEFF         PACE                         UT     90004581181
8972112A772B62   BROOKE       ESQUIBEL                     CO     90010961207
89721174972B44   VIVIANA      ESPINO                       CO     90010711749
8972119968B168   SPENCER      NICOLE                       UT     90003751996
8972147545B24B   BROQUEL      KING                         KY     90002664754
89721524372B33   MICHAEL      DIGIACOMO                    CO     90004985243
8972157A18B163   JAY          LUNA                         UT     31048605701
897223A159154B   CORA         AVILA                        TX     90008843015
8972315338B168   ALJEJANDRO   MOORE                        UT     90014881533
89723451A72B44   OSCAR        HERRERA                      CO     90013714510
89723514972B49   TIERRA       COXSEY                       CO     90012375149
8972415197B367   SABLE        FEKADU                       VA     90010041519
89724351472B46   ROBERT       FERRARI                      CO     90011743514
89724474A33698   MICHAEL      HICKS                        NC     12090434740
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1447 of 2350


897247A339154B   ASHLEY       MARRON                       TX     90014617033
897252A4647822   TIMOTHY      NOWENS                       GA     90005982046
89725573872B29   VICTORIA     SANCHEZ                      CO     90006875738
8972584179154B   DOMINIC      BARKSDILE                    TX     90013098417
89725A47A72B46   ALFONSO      LABRADOR-MARQUEZ             CO     90004260470
89727466772B62   MARIO        ESPINDOLA                    CO     90013094667
89727878976B97   TRAVIS       WEDDINGTON                   CA     90014988789
8972815338B168   ALJEJANDRO   MOORE                        UT     90014881533
8972861392B271   WILLIAM      BYRD                         DC     90013156139
89728A14193771   ELLIOTTE     GUNN                         OH     90013550141
89728A62A5B399   KIMBERLEE    MOORE                        OR     90010780620
8972954146194B   MICHAELA     ST GEORGE                    CA     90003985414
89729635654B23   PAYGO        IVR ACTIVATION               VA     90013356356
89729729A98B32   CLIFFORD     CARTER                       NC     90008527290
8972B18678B168   JULIA        HAMBERLIN                    UT     90012271867
8972B98485B24B   DORIS        HENISEN                      KY     68006799848
8973132426194B   ZULMA        AQUINO                       CA     90014123242
89731395597B38   TRAVIS       TUCCI                        CO     90001973955
8973148837B489   JEAIN        BURDETT                      NC     90013964883
897314A3272B44   GLORIA       GARCIA                       CO     33069684032
89731686A2B271   SHAMISO      MAPONDERA                    DC     90011716860
897318A826194B   ZULMA        AQUINO                       CA     90015208082
8973255258B168   SERVANDO     LOPEZ BERNAL                 UT     90011215525
89732865A7B489   JENNIFER     EASON                        NC     11045658650
8973317239154B   VIRGINIA     WEBB                         TX     75000121723
8973342364B22B   MYESHA       SMITH                        NE     90010944236
89734119A55945   INES         MURILLO                      CA     49082671190
8973524935B326   ORLANDO      SANCHEZ MARTINEZ             OR     90013842493
8973532A872B62   LAWENDA      DORSEY                       CO     90013933208
89735511872B62   HERVE        NTEAL                        CO     90014945118
8973572813B374   NEIL         BROWN                        CO     90013137281
8973627138B168   RAMON        LOPEZ                        UT     31042612713
8973646994B54B   JARED        RUSS                         OK     90006284699
89736682472B46   GUADALUPE    LOPEZ                        CO     33090326824
8973713464B265   STEPHEN      THOMPSON                     NE     27064731346
8973727249154B   SERGIO       URANGA                       TX     75098252724
8973899218B151   JAMES        JOHNSON                      UT     31007699921
897395A375B24B   VENIS        WHITE                        KY     90003745037
89739891A72B46   CECIL        DERBIN                       CO     90013948910
8973B134797B3B   MARIA        GONZALEZ                     CO     39085951347
8973B291A72B46   RICHARD      THAYER                       CO     33025932910
8973B372597138   DILLON       VAN DIVINER                  OR     90014393725
8973B55154B22B   LINDA        HERNANDEZ                    NE     27006685515
8973B822672B29   KIMBERLY     LOFTIN                       CO     90009388226
8973BA36791933   ROWENA       BROWN-PEAKS                  NC     90007460367
8974131954B234   KURTIS       LENSER                       NE     27068303195
8974145129154B   LUIS         HERNANDEZ                    TX     90013064512
8974216758B168   RUBEN        GUZMAN                       UT     90014881675
8974219166194B   PEREZ        SARAH                        CA     46074491916
89742353772B46   KERI         ROBINSON                     CO     90011743537
897424A8655945   JERRY        SCHREINER                    CA     90009364086
8974277A77B489   FELIPE       ORONZOR                      NC     90012687707
89742AA375B24B   GERALD       SUMMERS                      KY     68003870037
89743316272B46   CHRISTY      HANKES                       CO     90013903162
89743597772B62   ANTHONY      WILLIAM-WHITE                CO     33096085977
89743A78641262   MARTEL       MITCHELL                     PA     90004220786
8974491962B271   TEODORO      RAFAELANO                    VA     81078759196
8974531995B24B   ALFREDO      PADRON                       KY     90004933199
89745367372B46   DAMARIS      SALGUERO                     CO     90011743673
89745721A2B271   TOSHA        WHITING                      DC     90012867210
8974578A397138   ASHLEY       PURCELL                      OR     90011777803
89745892472B46   ERICK        RAMIREZ                      CO     90013948924
8974611635B24B   VELMA        CRAFT                        KY     90014601163
89746663772B29   MICHAEL      MCCABE                       CO     90012426637
8974669A497B3B   MICHAEL      STAPLES                      CO     90008956904
89746A1287B44B   LEONARDO     JIMENEZ                      NC     90011940128
8974818128B168   PAMELA       ZUBIA                        UT     90014881812
8974837A447897   BARNEY       JONES                        GA     14042503704
8974845165B24B   EARL         CURTSINGER                   KY     90011954516
89749241A71977   KURTIS       BERLIN                       CO     90011592410
8974925A477537   ROBERT       HEWES                        NV     43082742504
89749644572B44   WILMA        BARNETT                      CO     90014806445
8974B171697138   JOSE         GONZALEZ                     OR     90012691716
8974B679577537   AARON        MARTINEZ                     NV     43079516795
8975115A56194B   ADEN         OLMEDO                       CA     90008541505
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1448 of 2350


89751548A5B24B   STACEY            GLENN                   KY     90014905480
8975211488B154   GINA              KEITH                   UT     31017941148
8975218738B168   JOSE              CASTANON                UT     90014881873
89752774A8B163   RAMONA            COLEMAN                 UT     31030947740
89752A47154153   PAUL              HARRIS                  OR     90015370471
8975336994B22B   JULIANNE          FITZPATRICK             NE     90008183699
89753645472B44   DANYALE           MARTINEZ                CO     90014806454
8975477415B27B   RACEO             GORDON                  KY     90014617741
89754A6418B168   SEAN              RANKIN                  UT     90011270641
8975538794B22B   NYAHIAL           GACH                    NE     90014073879
897553A9172B33   STEVE             SIMMONS                 CO     33077703091
89755646472B44   HECTOR            PUENTE                  CO     90014806464
8975588655B139   ERICA             GRIFFIN                 AR     90000858865
8975623497B388   JOSE SANTAMARIA   GARCIA                  VA     90006942349
8975651965B326   CARL              TODD                    OR     90010595196
89756646472B44   HECTOR            PUENTE                  CO     90014806464
89757337472B33   LUIS              FLORES                  CO     33015393374
8975734234B22B   KYLE              ERNEST                  NE     90007213423
89757A99547897   SHAMEKA           MANGHAM                 GA     90011230995
89758415672B33   ANGELO            HURTADO                 CO     90015304156
89758474797B3B   MONICA            COLLEN GARZA            CO     90012874747
8975865479154B   THEODORE          NATION                  TX     75086486547
89758681397B21   HAROLD            HODGES                  CO     90000576813
8975872855B24B   ASHLII            CHAMBERS                KY     90013697285
897599A7293771   PAULA             DAUGHERTY               OH     90013929072
89759A53A2B271   MARLON            STRIGGLES               DC     90014870530
8975B15415B24B   TIFFANY           ROBINSON                KY     68006821541
8975B244755945   ROBERT            BLUNT                   CA     49084512447
8976111318B161   MARBELLA          HERNANDEZ               UT     90013651131
89761747A41262   STEPHANIE         WILSON                  PA     51070867470
8976175865B261   KERMEDA           BAKER                   KY     90014247586
8976188775B24B   LAINE             BANDY                   KY     90013078877
89761A84572B29   PAMELA            SWETTENAM               CO     33028930845
89762214472B46   REBECCA           BENSON                  CO     90014902144
8976314695B326   DIANA             SANTOYA                 OR     90013821469
8976326614B234   SHAVON            MEADOWS                 NE     27045682661
8976335245B24B   KIMBERLY          MUMFORD                 KY     90012253524
89763964672B46   PERLA             ALANIZ                  CO     90002529646
89764111572B62   JENNIFER          FINK                    CO     90011331115
89764377372B46   ROBERT            MASON                   CO     90011743773
8976475A14B22B   PAYGO             IVR ACTIVATION          NE     90014577501
8976636528B154   ROSHAWNA          SMITH                   UT     31055033652
897674A1772B44   ALBERTO           OVALLE                  CO     90010574017
8976819A672B33   THERESA           GONZALEZ                CO     33091741906
8976831675B326   THERESA           ENGBRESCHT              OR     44585753167
8976832A641251   SEAN              WAGNER                  PA     51050623206
8976858262B271   CHANTISE          BLANGO                  DC     90010575826
8976864228B191   CRISTIAN          LOPEZ                   UT     31013986422
89768826A4B538   ERVIN             PEACOCK                 OK     90013458260
897689A2897B3B   SIMA              PIERCE                  CO     39030519028
89769345A72B44   MONICA            PICKENS                 CO     90005723450
89769756172B29   VIRGINIA          MIRAMONTES              CO     90013177561
8976B21465B27B   MITCHELL          BEESON                  KY     90009952146
8976B218372B62   THOMAS            LUJAN                   CO     90014762183
8976B239297138   DAISY             CRUZ                    OR     90011602392
8976B28349154B   YUVIA             FLORES                  TX     90011642834
8976B351541262   DAWN              BOCKA                   PA     90011153515
8976B943A72B62   RAUL              QUINTANA                CO     90012219430
8977117AA2B246   TSEHAI            SHIFERAW                DC     81006771700
8977167A82B271   ANA               ANDRADE                 DC     90013946708
897717AAA41275   MICHAEL           BRAHA                   PA     90013687000
89771947172B62   LORIE             OMALLEY                 CO     90009819471
89772237472B33   JERRY             GARCIA                  CO     33089012374
8977281286362B   IAN               PRICE                   MO     90012098128
8977317495B24B   JUDY              HOUSE                   KY     90010221749
8977339224B234   D.J               MILLER                  NE     27086483922
8977368516194B   DEBORAH           HANSEN                  CA     90010876851
8977463522B268   RONALD            WALKER                  DC     90012836352
89774A63172B33   PEGGY             MEHEGAN                 CO     33073000631
8977513595B24B   VALORIE           GUTMAN                  KY     90014691359
8977526A333655   TYMECKA           EPPS                    NC     90010872603
89776A71897B3B   KATHRYN           MARTINEZ                CO     90004500718
89776A7875B326   DAVID             AYALA                   OR     90005130787
89776AAA672B46   JEFF              PAULEY                  CO     33024740006
8977759175B24B   MIKE              ISON                    KY     90008865917
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1449 of 2350


8977783847B467   KIMBERLY       SWAIM                      NC     90000308384
89779285397B3B   AUSTIN         ALBERTS                    CO     90013812853
8977985A39154B   JUANA          OCHOA                      TX     90013088503
89779A65747897   CHASITY        WRIGHT                     GA     14080490657
8977B3A777B489   TICIRIA        HUGHES                     NC     90009463077
8977B94155B326   ANTON          SUMERLIN                   OR     44508319415
89781482672B33   DAVID          OBEROSLER                  CO     90008404826
8978187A197138   ERIKA          HERNANDEZ                  OR     90013938701
8978194A19154B   SILVIA         SMITH                      TX     75042929401
8978234285B326   ISRAEL         JUAREZ ESTRADA             OR     90013233428
8978284655B24B   PAMELA         BLACK                      KY     90014588465
89782866A41222   STEVE          PETERS                     PA     90013768660
8978291A56194B   MONAE          BROOKS                     CA     90013019105
89782A1282B271   CHARLENE       HARVEY                     DC     81013660128
89783866272B33   LUISA          FLORES                     CO     33022418662
8978389A77B489   EMILY          HAGER                      NC     90014268907
8978423A28B168   MILTON         NEFF                       UT     31004942302
89784739272B44   JUAN           CARREON                    CO     90009197392
8978476334B561   DIXON          DAN                        OK     90007367633
8978575A76194B   GUY            KEYS                       CA     90009607507
89785845A97B3B   STEPHAINE      SANCHEZ                    CO     39027448450
8978613A793771   JAIMIE         BEYER                      OH     90006721307
897866AA472B62   VALENTINO      JEREMIAH                   CO     33005126004
89786844172B33   JOSE           RAMOS                      CO     33097568441
897869A3597138   ADAN           GUTIERREZ                  OR     90013939035
89787946272B27   GAVIN          BLAKE                      CO     90014969462
89788289872B29   MARIA          DE JESUS CORNEJO           CO     33071072898
89788849272B62   MARIE          GALLEGOS                   CO     90013698492
8978967A82B271   ANA            ANDRADE                    DC     90013946708
89789967472B46   GHOLAMREZA     JAFARIZADEH                CO     90013039674
8978B114891979   ALYCE          SPENCE                     NC     90014651148
8978B51629154B   RICHARD LEE    GAGNON                     TX     90011775162
8978B68A651363   VANESSA        DEFFINGER                  OH     90007586806
89791474897B3B   AMANDA         MARQUEZ                    CO     90014874748
8979166425B27B   CANDICE        BRUNTON                    KY     68058186642
89792673872B44   SAVANNAH       THOMPSON                   CO     90014806738
89792699A72B62   DANIEL         TARTO                      CO     90013866990
8979289819198B   PAUL           ROSS                       NC     90013928981
89793637A72B44   RUBI           RIOS                       CO     33085006370
8979385866194B   JULIE          CHAVEZ                     CA     90005608586
8979388449154B   YAZMIN         PEREZCHICA                 TX     90009348844
89794229772B44   JOSE ALBERTO   NAVA ALMANZA               CO     90014702297
89794553172B46   AUSTEN         MURRAY                     CO     90001345531
89794577A91532   JAVIER         NUNEZ                      TX     90002395770
8979466218B168   RAQUEL         MARTINEZ                   UT     90009816621
89794797A93771   ZACHARY        HURT                       OH     64567847970
89795136572B29   RAMON          REYNA                      CO     33022281365
8979574677B489   LAKENDRA       GORE                       NC     90014827467
89795A23791532   OLGA           MARTINEZ                   TX     90001120237
8979613664B22B   GIAVANA        CARRILLO                   NE     90006061366
8979629717B489   VENITA         YOUNG                      NC     11078032971
89797339A9154B   FELIX          RODRIGUEZ                  TX     90012423390
8979734772B271   MERIAM         GUIRAL                     DC     90015013477
8979799845B326   LEIGHTON       OLSON                      OR     44552729984
897981A9A51321   KATHY          CASPER                     OH     66022481090
8979871527B489   DAWN           HIBBERTS                   NC     11005797152
8979952232B271   KEITH          DAWSON                     DC     90004725223
8979981469154B   ANGELICA       MARTINEZ                   TX     90012668146
897999A999154B   SANDRA         PEREZ                      TX     90011489099
8979B476772B62   MELISSA        BROWNING                   CO     90012984767
8979B89819198B   PAUL           ROSS                       NC     90013928981
8979B911177537   JUAN           LOPEZ                      NV     43080859111
897B1388984351   JOQUETTA       BENNETT                    SC     90009143889
897B24A1997B3B   RYAN           WIGGINS                    CO     39080564019
897B2656A55945   MIREYA         NENDOZA                    CA     49008646560
897B2834247897   DEONTAE        HOOD                       GA     90011228342
897B2882A72B46   OSWALDO        FEUNTES                    CO     90013948820
897B297A141262   SHELLY         CINKAN                     PA     51090609701
897B315836194B   SHANE          STROM                      CA     90014791583
897B3164871977   GABRIELLE      JARAMILLO                  CO     90009311648
897B31A5A72B29   MAURICIO       SANTOS                     CO     90013811050
897B32A2447822   ZANDREAL       HEAD                       GA     90003242024
897B3399984336   LEO            HERNANDEZ                  SC     90011643999
897B3594772B44   AGUSTIN        GONZALEZ                   CO     90014805947
897B42A886194B   ANAROSE        CURRAN                     CA     90012132088
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1450 of 2350


897B4336472B33   MARIA        MILLAN                       CO     90006313364
897B4436172B46   BRANDI       CARLSON                      CO     90014804361
897B459975B24B   DARRELL      SHAGENE                      KY     90012425997
897B5633141262   WILLIAM      NAU                          PA     51007556331
897B572815B399   GREGORY      HOFFMAN                      OR     44501887281
897B58AA533B33   REGINALD     MCCULLARS                    OH     90013358005
897B637389154B   MARIA        MINJARES                     TX     75093413738
897B64A882B271   MICHAEL      MAY                          DC     81090484088
897B6596293771   MICHAEL      SEVERS                       OH     90012125962
897B6614655945   PAULA        LOPEZ                        CA     90014816146
897B68A2A72B29   NOEL         HARMON                       CO     33018078020
897B7383391933   MARK         STOCKHOUSE                   NC     90014223833
897B7388A6194B   LAURA        RYAN                         CA     90013343880
897B7711A2B271   ANTHONY      STROMAN                      DC     90013947110
897B8551397B3B   LUIS         MATA BAESA                   CO     90014535513
897B85A7A7B489   PATRICIA     VILLEGAS                     NC     90003795070
897B8614672B44   VICTOR       GUTIERREZ                    CO     90014806146
897B8752771977   AMBER        DIAZ                         CO     90010547527
897B87A3272B29   PHILLIP      ROSS                         CO     90005377032
897B983439154B   MANUEL       LEMUS                        TX     90013088343
897BB589972B44   LANCE        OTRIZ                        CO     90014805899
897BB843671977   DAVID        CUEVAS                       CO     90014908436
89811172272B44   KURT         GANT                         CO     90008581722
8981135449154B   CESAR        ENRIQUE                      TX     90011643544
898114A5997B3B   CHASE        STANDIFER                    CO     90003454059
898125A6151362   MICHELLE     LEDBETTER                    OH     66083285061
89813244972B62   JEANNIE      DEANGELIS                    CO     90010112449
89813638472B44   RYAN         BRUMMUND                     CO     90002916384
898136A3172B29   ARIN         ZAROOKI                      CO     90001416031
8981419522B271   ASHLEY       WASHINGTON                   DC     90014001952
89814657272B29   MATHEW       DAILEY                       CO     90007416572
8981541A44B27B   THOMAS J     YABLONSKI                    NE     27074264104
898154A6491979   NYCHOLAS     SWEETING                     NC     90012884064
8981589AA5B27B   CHRIS        MACK                         KY     90009168900
89816729597B3B   THELMA       DAVI                         CO     90014277295
898167A5572B44   ROBERTA      FIERRO                       CO     90014807055
89817127472B29   MICHAEL      HOUGHTON                     CO     33017781274
89817289776B51   FREDDY       BENITEZ                      CA     90002102897
89817411972B46   MARGARITO    RODRIGUEZ                    CO     90011744119
898177A5572B44   ROBERTA      FIERRO                       CO     90014807055
89817866272B62   THORNTON     ANTHONY                      CO     90010938662
89818411972B46   MARGARITO    RODRIGUEZ                    CO     90011744119
8981926184B22B   LOURDES      BUSTOS                       NE     90011022618
89819274772B44   JESSICA      FLORES                       CO     90013612747
89819455A71977   EDWARD       SMITH                        CO     90014964550
8981971382B271   VINCENT      LUCAS                        DC     90013947138
89819A43141275   NICOLE       SEGNER                       PA     51051310431
89819A79951362   CHRIS        MOHRING                      OH     90002870799
8981B351541275   RICHARD      SHEFFEY                      PA     51069153515
8981B4A5772B62   ROBERT       HALL                         CO     90008194057
8981B543972B29   JESUS        SOTO                         CO     90011875439
8981BA95172B44   MONICA       DALTON                       CO     33096560951
8982117A393771   ANDREWS      SUTTLES                      OH     90012021703
89822135872B29   DALILA       BUENROSTRO                   CO     33015231358
8982218124B54B   DARRYL       ARROWOOD                     OK     90000101812
89822351897B3B   JUAN         ACEVEDO MARTINEZ             CO     39086943518
8982296536194B   KARLA        HAYES                        CA     90012949653
8982366A483246   ERIBER       ESCOBAR                      OK     71069836604
898237A725B571   JOSE         MALO                         NM     90013957072
89824241272B44   MARIA        MONTES                       CO     33011192412
89824283A72B46   TROY         JUAREZ                       CO     33089052830
8982493A372B7B   DAVID        PHILLIS                      CO     90007399303
8982498648B168   LILIA        LOPEZ                        UT     90014889864
89825251872B46   SANDRA       KARLYLE                      CO     90013992518
89825A14772B33   TIAUNA       RIVERS                       CO     90013170147
8982678359154B   NICHOLETTE   ARGUELLEZ                    TX     90014617835
89827693A91869   KIM          ATWELL                       OK     21033486930
89827A54897B3B   JANICE       STAFFORD                     CO     39068010548
89827A6373B359   OCTAVIO      VEGA                         CO     33027560637
8982816A772B29   HEATHER      SARGENT                      CO     33073101607
89828615A55945   JACQUELYN    MENDOZA                      CA     90014216150
89828A86527B49   MS           MICHAELA                     KY     90012650865
89829126272B62   HOLLY        ERICKSON                     CO     33085661262
89829A39384371   MILDRED      GRAHAM                       SC     19069790393
8982B193341275   HOLLEN       LINARD-GAY                   PA     51008381933
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1451 of 2350


8982B252893771   JAMIE        WETHERHOLT                   OH     90014612528
8983125937B489   PATRICIA     MOORE                        NC     90013202593
89831264372B42   JORDAN       ROBERTS                      CO     90011922643
898313A165B183   TRAVISTEEN   ROBINSON                     AR     23079543016
89831485572B44   ELISABETH    CARBAJAL                     CO     33088494855
8983158499154B   MAYRA        RAMIREZ                      TX     90010725849
898317A4672B29   BRANDON      YOUNG                        CO     90003737046
89831A5A54B234   SUSAN        BOURKE                       NE     90010110505
89832636497B3B   KELLIE       COYLE                        CO     39045296364
89832A96647822   MARVIN       DUMAS                        GA     14043140966
8983319679154B   BRENDA       ENCISO                       TX     90012291967
898331A3891979   BRIAN        OCONNELL                     NC     90013961038
89833781672B33   ENRRIQUE     VELASQUEZ                    CO     90012807816
89833813672B21   MARTIN       HERNANDEZ                    CO     90014748136
8983391797B489   MARIA        TELLO                        NC     90008209179
89834655797B3B   ROBERT       WATSON                       CO     90011386557
898352A599154B   MARIANA      FLORES                       TX     90011182059
8983568A454153   KRISTINE     ROBERTS                      OR     90015396804
8983575132B271   GREGORY      MICKEY                       DC     90013947513
89835A73A33698   KYLA         WILSON                       NC     90014180730
8983611255B326   JUAN         NAVARRETE                    OR     90012691125
89837499772B33   JOSE         CASTANEDA                    CO     33051284997
8983759649154B   CYHTHIA      CORDOVA                      TX     75071795964
8983782857B464   FELIPE       LOPEZ                        NC     90006008285
8983862724B22B   KRISTI       HADDEN                       IA     27026756272
8983892AA72B62   CHRIS        YOEMANS                      CO     33087959200
8983911A597B3B   LOGAN        SMITH                        CO     90013661105
8983931174B22B   AMANDA       MINYARD                      IA     90012433117
89839716A72B44   TIMISHA      MCGELA                       CO     90014807160
89839844A72B46   MATHEW       NORBY                        CO     33039418440
8983B7A9772B44   IRIS         BROWN                        CO     90014807097
8983B96615B139   FANTA        BROWN                        AR     23011509661
89841281372B62   MARIA        LOERA                        CO     33093472813
8984128137B392   A&C          PAINTING INC                 VA     81095572813
89842733972B44   AMY          WILLIAMS                     CO     90014807339
8984354392B271   MICHAEL      PATTERSON                    DC     90013295439
8984383A293771   KATI         STARNES                      OH     64512718302
8984446847B489   COURTNEY     WILSON                       NC     90013654684
8984456668B168   MICHELLE     VANFLEET                     UT     90009825666
89844A14272B44   JOSE         RODRIGUEZ                    CO     33069460142
8984529379154B   GASPAR       CARBAJAL                     TX     75090012937
89845377A72B62   IDALIA       RODRIGUEZ                    CO     33083933770
8984569A155945   LUIS         MENDOZA                      CA     49005466901
89845721372B44   RACHELLE     MCGLOTTEN                    CO     90014807213
8984575367B44B   KEN          SHINGLETON                   NC     90009897536
898463A9441275   UNKNOWN      UNKNOWN                      PA     90014153094
8984662524B22B   GUSTAVUS     FRAZIER                      NE     90013676252
89846798872B44   OLGA         JACOBO                       CO     33057467988
89847621A72B44   ANTHONY      LUCERO                       CO     90001256210
8984855625B27B   THELMA       BRYANT                       KY     68078225562
89848AA876194B   HOLANDA      GEHM                         CA     90015090087
8984B41934B22B   GILL         PARKS                        NE     90015164193
8984B95733B358   SHELLY       CLARK                        CO     33006629573
8984B973797138   GABRIEL      AMBRIZ                       OR     44096769737
89851159A5B24B   BRITTANY     FERRELL                      KY     90014841590
89852122597B3B   MICAELA      FLORES                       CO     90011151225
89852682A5594B   OSCAR        VASQUEZ                      CA     90013166820
898526A7A4B234   ANGELA       ZIMMERMAN                    NE     90011566070
8985276225B326   GARY         VALENTIC                     OR     90012617622
89852984372B46   GLORIA       LEDESMA                      CO     90012909843
8985338189154B   SONIA        MARRUFO                      TX     90013423818
89853622497B3B   FRANCISCO    SILVA                        CO     90013416224
89853855A3B374   STEPHEN      BELLPORT                     CO     90015318550
8985528A16194B   MARTIN       RODRIGUEZ                    CA     46075292801
8985636886194B   JANET        PENN                         CA     46000213688
8985638755B568   MIGUEL       DUENAS G                     NM     90009443875
8985769729154B   LUIS         FLORES                       TX     90011786972
8985783328B163   FLAVIA       RAMOS                        UT     90006728332
8985794A58B168   CHANCE       LODDY                        UT     31081729405
898596A2372B46   MICHAEL      MAURICE HUGHES               CO     90013936023
89859823A2B271   DANIEL       OKALA                        DC     90013948230
8985B518397138   JUSTIN       GROOMS                       OR     90011795183
89861218272B33   JOSE         ESTRADA                      CO     90010832182
8986175534B22B   LAURA        ABBOT                        NE     27068007553
89862252672B62   JESUS        LOZANO                       CO     90014212526
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1452 of 2350


89862572497B3B   YUDITH       GONZALEZ                     CO     90015305724
8986314135B571   DAVID        ESQUIVEL                     NM     90013671413
89863386672B46   DOMONIC      RODRIGUEZ                    CO     90014053866
89863669872B46   MONICA       MEJIA                        CO     90007466698
8986468A241251   ALISHA       DIAMOND                      PA     51067966802
8986485545B183   DAVE         MCNULLY                      AR     23083908554
8986493294B22B   NANETTE      VANA                         NE     27031019329
89864966572B33   CASEY        SMITH                        CO     90010739665
89864A13791963   JAMES        COPELAND                     NC     90012600137
89865149672B33   JOHNNIE      MOORE                        SC     33089331496
89865816A5B27B   ALYCIA       HELM                         KY     90006008160
89866444272B46   PABLO        TOQUINTO                     CO     90011744442
8986645525B326   BONNIE       BLANKENSHIP                  OR     90014994552
89866A1A272B44   MONTESA      CURRIE                       CO     90000300102
898673A927B489   TYKEIVIUS    BRICE                        NC     90014083092
89867498972B46   SERGIO       ROCHA                        CO     90000184989
89867956872B33   MICHELLE     LUJAN                        CO     90011509568
8986814A97B489   JASMAINE     WINGATE                      NC     90011031409
89868528141B58   ILDEFONSO    LOPEZ-FLORENTIN              VA     81051595281
89868596197B3B   TROY         FANNING                      CO     39093045961
898685A798B168   LAURA        OROPEZA                      UT     90006205079
8986923825B24B   GARY         ASBURY                       KY     68028022382
89869297372B44   ELIZABETH    GUEVARA                      CO     90013492973
8986B231972B46   LON          ROBINSON                     CO     33092922319
8986B484784371   RONALD       CARDER                       SC     90012424847
8986B533372B62   ANA ABEL     DIAZ                         CO     90014895333
8986B634691979   SIERRA       CARTER                       NC     90015126346
8986B82882B271   GESHAWNNA    WILKINS                      DC     90013948288
898713A6891837   DORGENA      HAWKINS                      OK     90010613068
89871847472B46   TERESA       PEREYRA                      CO     33039418474
89871A5223366B   MARSHALL     SIMMS                        NC     90007110522
8987241585B326   VICKI        SANDERSON                    OR     90014744158
8987274A49154B   ALBERT       ZAMARRIPA                    TX     90000977404
89872A7568B168   ELBA         FREEDMAN                     UT     90014890756
898731A7997B3B   CHAD         CHERMAK                      CO     39087441079
89873242372B29   TAMMY        MANN                         CO     33071882423
8987397A691979   VIVIANA      SALATE                       NC     17012819706
898739A5291979   LONNIE       MCDONALD                     NC     90014009052
89873A7568B168   ELBA         FREEDMAN                     UT     90014890756
89873A8397B489   ANGELO       HARDEN                       NC     90013170839
898741A9872B46   WILLIAM      WOODS                        CO     33012891098
8987564842B271   MARQUETTE    EDWARDS                      DC     90014676484
898757A645B326   HILARIO      MARQUEZ                      OR     90014187064
898759AA371977   SHANNON      MORENO                       CO     90011379003
89876257897B3B   GEORGIA      WOOLIS                       CO     90014612578
8987838835712B   HAZEL        MEMBRENO                     VA     90003323883
8987871359154B   DIANA        LOPEZ                        TX     90001657135
89878815472B44   MICHAEL      WHITNEY                      CO     90013308154
8987935374B54B   CONSUELO     RODAS                        OK     90010243537
8987977898B154   LINDA        BRETT                        UT     31040807789
8987B137A2B86B   SHASTA       MAIERS                       ID     90008401370
8987B5A4441262   BOBBY        JONES                        PA     90010435044
8987B5A644B22B   CLAUDIA      RIVAS                        NE     90006815064
8987B824541275   ROBERT       BELL                         PA     90011938245
8988165A255945   ANGELICA     RODRIGUEZ                    CA     90009186502
8988231515B24B   TONIA        STANRKY                      KY     90014623151
898823A8597B3B   MARGRET      WANSER                       CO     90005903085
89883323197B3B   CHRISTINA    COLVIN                       CO     39060623231
898836A479154B   HECTOR       VILLALOBOS                   NM     90012956047
898838A5241275   SHAUGHN      MORAN                        PA     51036008052
8988465A15B27B   JASON        HARDESTY                     KY     90006126501
898847AA45B388   LEROY        BODINE                       OR     90011857004
89884858572B46   ANTONIO      DE PINA                      CO     90012668585
8988496176194B   JON          BOILA                        CA     90014139617
89885193672B62   LAURA        IBARRA                       CO     33035351936
8988519994B22B   ANTHONY      KING                         IA     90014101999
89885362A93771   JOSEPH       THORPE                       OH     90013813620
89885553A47897   DEANA        BAKER                        GA     90004075530
8988585722B271   DALONDA      STEVENS                      DC     90013948572
8988615A272B44   MONICA       HERRERA                      CO     33083761502
8988619A65B326   IRENE        CAMERON                      OR     44534971906
89886449272B46   SACARMENTO   GUZMAN                       CO     90011744492
898864A4541275   DEANNE       FULMORE                      PA     90007844045
8988785722B271   DALONDA      STEVENS                      DC     90013948572
8988846AA51334   GEORGE       FLORENCE                     OH     90013064600
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1453 of 2350


89888523A8B163   HERMES         FUENTES                    UT     31087245230
8988875697B489   BRANDI         LEE                        NC     90012137569
8988886332B271   BRITTANY       CARTER                     DC     90008508633
8988B298497B3B   CYNTHIA        MIRACLE                    CO     39082962984
8988B72435B326   ADRIANNE       DORMAN                     OR     44527077243
8989113A191953   DEVIN          BAKER                      NC     17068041301
8989119515B139   MICHAEL        CANADA                     AR     23011641951
89891374797B3B   BETHANY        LOVELL                     CO     90001453747
8989143A88B168   CANDELARIO     SANCHEZ                    UT     31098254308
8989236A52B271   NIDAL          ARNOUS                     DC     81090603605
8989241125B139   JAMES          LOCAS                      AR     23016434112
8989251439154B   JISSA          RAMIREZ                    TX     90005435143
8989394529125B   MARLO          PHILLIPS                   GA     14515709452
89894253A41291   LASHAY         HARDIN                     PA     90011862530
89894759A91979   SHEKELA        MCKOY                      NC     90013377590
89894769472B44   DUSTIN         ANDERSON                   CO     90014807694
8989543686194B   DANIEL         AVILA                      CA     46055874368
8989565A255945   ANGELICA       RODRIGUEZ                  CA     90009186502
89895A8348B154   SAHARA         SHEIKH                     UT     90012300834
89896A98472B28   APOLLOS        CUFFEE                     CO     90008290984
8989786846194B   LISA           LUCERO                     CA     46026928684
89897A61172B44   CARLOS         MORENO                     CO     33053810611
89897A9633147B   FISSEHA        TEKLE                      MO     90012120963
8989814967B489   JAMES          FLOYD                      NC     90012341496
8989818758B16B   JAYME          MARES                      UT     90014811875
89898436172B46   BRANDI         CARLSON                    CO     90014804361
89898A5A671977   ANITA          ORTEGA                     CO     38061610506
898995A679154B   PERLA          CHAIRES                    TX     90011645067
8989B494197B3B   COSME          PRADO-ORTIZ                CO     39090674941
8989B82125B139   JESSICA        GOSS                       AR     23060338212
8989BA6A69154B   CHRISTINA      HERNANDEZ                  TX     90006270606
898B1142381683   MARIO          MOORE                      MO     90011541423
898B1933A8B168   RYAN           BELCHER                    UT     90014889330
898B2894493771   SILAS          KAINYABIGEGA               OH     90011218944
898B3348133698   CRYSTAL        BENTON                     NC     12055873481
898B359AA5B326   ADELFINO       TENANGO ACALCO             OR     44568875900
898B5458851356   CURTIS         CARTER                     OH     90004254588
898B558666194B   GERMAN         RODRIGUEZ                  CA     90014365866
898B579135B24B   MICHELLE       LEE                        KY     90011107913
898B6292255945   LEXXIE         VENEGAS                    CA     90008942922
898B6453172B46   CLAUDIA        BARRERA                    CO     33034114531
898B645549154B   LORENA         MANZO                      TX     75097934554
898B7576A3125B   MALIKAH        THOMPSON                   IL     90010835760
898B7683472B62   JONATHAN       HERNANDEZ                  CO     90013986834
898B792369154B   SYLVIA         FLORES                     TX     75035979236
898B8135557129   ADRIENNE       SIMPSON                    VA     90012761355
898B8987955945   VANESSA        PORTILLO                   CA     90009179879
898B8A5A66194B   JOSE           MORALES                    CA     90011990506
898B8A7654B234   LARREON        WHITE                      NE     90006170765
898B9217791979   MOISES         ALVAREZ                    NC     17045762177
898B9778A91837   ELENA          ZAMARRIPA                  OK     21006477780
898B998939154B   MONICA         HERNANDEZ                  TX     90014779893
898B9A35272B62   CURT           ANDERSEN                   CO     90013610352
898BB96885B24B   ANTHONIO       WILSON                     KY     90010949688
89911588A7B356   TIERRA         COLEMAN                    VA     90004345880
89912A69671977   DEBORAH        KING                       CO     38081470696
8991359116194B   HERIBEL        ROMO                       CA     90013935911
8991367569154B   FERNANDO       MORALES                    TX     90012316756
8991371A772B62   VICTORINO      ANGELES AVALOS             CO     90012207107
89913851972B44   TROY           PERFITT                    CO     90012508519
89913897372B33   VERONICA       HERNANDEZ                  CO     90000948973
899142A4A5B183   PAYGO          IVR ACTIVATION             AR     90003782040
8991455548B189   MORGAN         BLATNICK                   UT     90012115554
89914796697B3B   ROBERT         RICHARDS                   CO     90013007966
89916219772B29   MAYRA          CALZADA                    CO     90013072197
8991666465B24B   LEROY          MARTIN                     KY     90001716646
89916733A2B271   NANCY LOUISE   STANG                      DC     90013977330
89916762472B62   ARNALDO        ARMENDARIZ                 CO     33073277624
89917529A9154B   YOLANDA        VARGAS                     TX     90011645290
8991765A491979   JOSEFINA       SUAREZ                     NC     90009576504
89917A94172B33   JUAN           CHAPEL                     CO     33007670941
89918742972B44   ROSA           LOPEZ                      CO     90007867429
899189A455B246   DARREL         HARRIS                     KY     90001779045
89919453272B29   DANIELLE       HELLBUSCH                  CO     90012834532
899195A416194B   JESSE          SANTOS                     CA     46095645041
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1454 of 2350


8991986A39154B   VICTORIA           FERNANDEZ              TX     90014618603
8991B45165594B   YESENIA            LUCATERO               CA     90012204516
89921496572B46   FELIX              GONZALEZ               CO     33035584965
899222A896194B   LORRAINE           OCHOA                  CA     90014192089
8992331799154B   ALEJANDRO          FIERRO                 TX     90014963179
8992346945B24B   ANNE               PRICE                  KY     90009314694
8992359246194B   ZANCHO             IM                     CA     46092085924
89923943772B46   DEAN               ROBERTS                CO     90013949437
89924662972B33   IRENE              PICHARDO               CO     33087466629
8992514175B35B   DAISY              TURCIOS                OR     90008661417
89925394772B29   WANDA              MADDOX                 CO     33025303947
89925757372B62   R                  SALAZAR                CO     33021747573
899258A115B326   TINA               SCHALL                 OR     90010598011
89926113672B62   BELO               TERRA                  CO     90007521136
89926413797B3B   IRMA               ROMERO                 CO     90009804137
89926838A97138   TERESA             VAZQUEZ                OR     90013578380
8992716545B24B   RAFAEL             ALVALEZ                KY     90013751654
8992745358B168   BRYCE              MARSHALL               UT     31016634535
899278A115B326   TINA               SCHALL                 OR     90010598011
89927A47172B33   ANTONIA            NAVA-HERRERA           CO     90012260471
8992817758B168   PAUL               SCHAAF                 UT     31084301775
89928558872B29   MATT               BATTAGLINO             CO     33051435588
89928957272B62   JESSICA            QUINTANA               CO     90012559572
8992912A48B168   ALVAR              GARCIA                 UT     90014891204
8992939365B24B   DIANA              AQUINO MORALES         KY     90013813936
8992B352451362   AMBER              RHODES                 OH     90006493524
8992B529197138   CRYSTAL            HIGHT                  OR     44003035291
8992B736A9154B   NAOMI              HERNANDES              TX     90006777360
899328A3997138   GENARO             LIBRADO                OR     90014468039
89932A1138B168   KIRK               REYNOLDS               UT     90014370113
89932A7A75B326   AURELIANO          GONZALEZ               OR     90002130707
899331A1A8B18B   ANTHONY            ASHBY                  UT     31014601010
89934181A5B24B   JOSH               GASTON                 KY     90014831810
8993487A341251   KRISTEN            ALLEN                  PA     90006508703
8993531282B271   SHERRELL           INGRAM                 DC     90001393128
8993552464B22B   KRISTI             HADDEN                 NE     90014635246
89935A1A533688   BRANDON            HOLT                   NC     90013370105
8993675775B139   ALIVIN             REED                   AR     23055987577
89937255A72B33   CARLOS             GARCIA-BALTAZAR        CO     90014712550
8993753244B234   PAMELA             BROWN                  NE     27073625324
89937A16597B3B   ASHLEY             ROMO                   CO     90004050165
8993834A57B489   GEORGINA           GARCIA                 NC     90013193405
8993B11488B142   BRAULIA            PACHECO                UT     90007801148
8993B587972B46   GRACE              MACK                   CO     90011135879
8993BA12697138   MARISELA           NIEBLAS                OR     90014840126
89943242872B44   JAN                CARR                   CO     90000722428
899434A447192B   KEITH              OREHOWSKY              CO     90008054044
89944688572B44   RUDY               TRETO                  CO     33010076885
89944A86291558   LYDIA              MENESES                TX     90002410862
8994565664B569   JERUSHA            RHODES                 OK     90009996566
8994669AA5B24B   MARK               CURRY                  KY     90011106900
89946862972B33   REBEKAH            DEAGUERO               CO     33035978629
899469A6372B23   DAVID              VIGIL                  CO     90013159063
8994766AA5B27B   ERICA              SIMMONS                KY     90009026600
89948637698B31   CARLOS             AMAYA                  NC     90013296376
89949166672B29   JARRETT            KEY                    CO     90004401666
89949513672B44   KRISTA             DAWSON                 CO     33070355136
89949544472B46   EDUARDO            ESPINOZA               CO     90011825444
8994B571472B44   CLINTON            WILDERMAN              CO     33001935714
8994B96A47B489   CYNTHIA            MITCHNER               NC     90013539604
89951661972B44   REFUGIO            CASILLAS               CO     33060116619
89951AA1997B3B   AMY                OLMEDA                 CO     90010950019
8995222524B234   MARCUS             HENDERSON              NE     90009262252
8995268A72B271   CYNTHIA            ATCHISON               DC     90012566807
899529A385B326   STEPHEN            SCOTT                  OR     44574339038
89952A26572B44   CLAUDIA            MEDINA                 CO     90014810265
89953342A51362   HUGO               CORTEZ                 OH     66079183420
89953774997B3B   VALERIE            VELASQUEZ              CO     90000347749
89953A3895B24B   MARIA              GARCIA                 KY     90000360389
8995416718B168   KENNETH            ERTMANN                UT     90014891671
8995429759154B   MELISSA            LIZAOLA                TX     90004032975
899542A5891524   VERONICA CLAUDIA   SANCHEZ                TX     90010672058
8995487225B326   ROXANA             GUZMAN                 OR     90002208722
89955322597B3B   LETICIA            CORTEZ                 CO     90009663225
8995543719154B   ACOSTA             RUBE THOMAS            TX     75028714371
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1455 of 2350


89955AA1997B3B   AMY           OLMEDA                      CO     90010950019
899574A447192B   KEITH         OREHOWSKY                   CO     90008054044
89957643297B3B   BRANDY        TROUDT                      CO     90012116432
89957865A33698   AMBER         GLENN                       NC     90003668650
8995798543364B   ADILENE       SALMERON                    NC     90012329854
89957A42A72B3B   KIM           ALLEN                       CO     33097260420
8995833916194B   MONICA        BENITEZ                     CA     90013923391
89958761A97B3B   ESTHELA       RAMIREZ                     CO     90015427610
89959638A41275   JOHN          GRIFFIN                     PA     51025776380
8995B18575B326   SHELBY        ALEXANDER                   OR     44515291857
8996129788B168   SEBASTIAN     BECERRA                     UT     90010072978
89961AA615B55B   LISA          ELWELL                      NM     90008240061
8996283A972B46   VALERIA       TORRES                      CO     90005898309
8996285238B163   MICHAEL       LENZ                        UT     31030468523
89962853A41262   VIOLA         CHRISTY                     PA     51090948530
8996396A372B44   BLANCA        AYALA                       CO     90004799603
8996419A997B3B   JOSE          CASTRO                      CO     39062011909
8996475665B326   MARIA         SILVA                       OR     90014187566
89964A32A5B183   RAMEY         LASHONTA                    AR     23082880320
8996539985B326   ABEL          ROSALES HERNANDEZ           OR     90014333998
8996549AA92838   ALEJANDRO     JIMENEZ                     AZ     90014374900
899665A678B168   DIANNA        PUTNAM                      UT     31003765067
89966AA7991943   PATRICIA      DAVILA                      NC     90003690079
89967622A7B489   LISA          MELTON                      NC     11086916220
899685A7841262   RONALD        POFI                        PA     90001295078
8996864217B489   JOY           BARDGE                      NC     90012846421
89968955872B46   CEON          SHAVERS                     CO     90013949558
89968A2A25B24B   ANGEL         SIVADO                      KY     68014300202
89968A52997138   KYMMERY       MARSH                       OR     90013260529
89968AA629154B   CARLOS        CARRILLO                    TX     90008590062
89969375A5B24B   JOSEPH        MARTIN                      KY     90001933750
89969A4425B139   KEYSHA        HAYES                       AR     23081170442
8996B67A647825   DEANGELOS     BARBER                      GA     90010606706
8996B699272B44   HECTOR        CAMPOS                      CO     90004106992
8997165717B489   OBED          HILARIO CAMPOS              NC     90005906571
8997176135B24B   HECTOR        LARA                        KY     68011087613
8997191AA72B62   MIGUEL        BOLANOS                     CO     90011669100
899731A5291979   YVETTE        WASHINGTON                  NC     17033001052
8997334355B183   JOSE          SANTOS                      AR     90004693435
89973743672B46   JOHN          SUTAK                       CO     90014417436
89973853772B33   JUAN          MARTINEZ                    CO     33027928537
899738A2155945   TANYSHA       LIKENS                      CA     90005958021
899738A495B249   MARIA         ALVAREZ                     KY     90013688049
89974A24391374   MARINA        MIRANDA                     KS     29015600243
8997516794B22B   LARRY         RUBACK                      NE     27097011679
89975313672B46   JESSICA       MCCOMB                      CO     90013993136
89975A29672B46   JENNIFER      MONTES DE OCA               CO     90009410296
89975A55A72B33   ANDREW        SAWYER                      CO     90012260550
8997623575B568   JUAN CARLOS   HERNANDEZ                   NM     90014172357
8997645123B386   CHERIE ANN    LYONS                       CO     90010984512
8997645758B168   BRAXTON       MONTOYA                     UT     90012834575
8997655AA71977   JEFFREY       ARCHULETA                   CO     90004905500
89976682797B3B   VALERIE       PADILLA                     CO     39095856827
8997688535B326   MARCO         SAUCEDO                     OR     44538528853
89976A21391879   ALICE         TIGER                       OK     90013550213
89977654A5B27B   MARK          SLOAN                       KY     90009476540
89977A15A51362   BRITANY       MORGAN                      OH     90005040150
8997949A85B24B   SHERRY        DESURNE                     KY     68000004908
8997B22A572B33   TYLER         ANDERSON                    CO     90014872205
8997B641571977   GABRIELA      MENA                        CO     38053626415
8997B767A91979   ALFONSINA     PENA SANTIAGO               NC     90013377670
8997B96A572B46   DAKOTA        SUTTLES                     CO     90013949605
8998178345B24B   MICHAEL       JONES                       KY     90013287834
8998183AA4B22B   DOMINIC       FREDREICK                   NE     27096328300
899819A614B22B   MARIA         DEL ROSARIO                 NE     27055369061
89981A3138B154   GUINAVIERE    BISEL                       UT     31084580313
8998229A891979   CLISMAR       MORALES ROBLERO             NC     90015302908
89982544A61466   ISAAC         KNIGHT                      OH     90014065440
8998289248B163   PEDRO         AGUILAR                     UT     31029508924
8998326994B22B   HATTIE        HOBBS                       NE     27087452699
8998352815B326   KRYSTAL       DE LA GARZA                 OR     90014685281
89983623872B62   MARTIN        ACEVEDO                     CO     33038906238
8998394965B326   FLOR          PATTERSON                   OR     90011269496
89984127372B62   RAUL          CORNEJO                     CO     90013901273
8998454447B489   SANDY         SPENCER                     NC     90009985444
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1456 of 2350


8998574667B489   LADIMAR                 ROJAS             NC     90011977466
8998616735B139   KAYLA                   WILLIAMS          AR     23039721673
8998724A793771   TAYLOR                  DISNEY            OH     90011312407
8998738273B39B   GINGER                  CRUTCHFIELD       CO     33073243827
8998763A597B3B   JOHN                    STEVENSON         CO     90013396305
8998786A686443   LEQUOIA                 MITCHELL          SC     90014228606
89987A39684371   ARIEL                   BARR              SC     19009110396
89987A4132B271   MANYKA                  GAITHER           DC     90014810413
89987A4A272B44   CAROLINA                PASILLAS          CO     90001620402
8998842A991837   MARY                    WALTERS           OK     90013244209
89988666A91979   LAJOY                   SMITH             NC     90005136660
89989196872B46   ALI ADNAN               ALI               CO     90012771968
89989273A51332   WILLIAM                 ANDERSON          OH     66020022730
8998955A172B29   SHAUNDRA                RAY               CO     33083735501
89989682172B33   DWAYNE                  LOPEZ             CO     90007526821
89989A78593771   CARMEN                  ORTIZ             OH     90013470785
89989A9616194B   BRENDA                  LOPEZ             CA     90013910961
8998B26A38B17B   HECTOR                  BAYLON            UT     90008702603
8998B293397B3B   MATTHEW                 ACREE             CO     90015282933
8998B844547822   SILVER                  SCOTT             GA     14044088445
8999133915B24B   TIMOTHY                 SMITH             KY     90012553391
89991964772B46   DAVID                   LUJAN             CO     90013949647
899924A5772B62   ROBERT                  HALL              CO     90008194057
8999266745B261   KIM                     MITCHELL          KY     90013206674
89992A8415B261   KIM                     MITCHELL          KY     90007670841
89992A95172B27   RENE                    GRENDA            CO     33082940951
8999317A872B44   BAMBIE                  MINGEE            CO     33096811708
89993366172B29   RICHARD                 MARSH             CO     90013013661
899948A4491979   FALLAN                  JAMES             NC     90000198044
899962A5741262   DANIELLE                SMITH             PA     90008202057
8999687A99152B   IVONNE                  DE LUNA           TX     90010968709
89997157A41262   JENNIFER                GREENWALT         PA     90014801570
8999794719154B   JENNIFER                RUEDAS            TX     90014619471
89997A15497B3B   MOHAMMED ABDUL KAREEM   AZEEZ             CO     90013690154
89998554172B46   VALERIE                 OLSON             CO     90011745541
89998A5947B489   TAMMY                   TAYLOR            NC     90014450594
8999919A772B62   NICHOLAS                WILBURN           CO     33098091907
8999945717B489   GARRETT                 LEWIS             NC     90012774571
89999632A41275   DARLENE                 STEWART           PA     51025316320
89999962172B44   ANTONIO                 BENITEZ           CO     33015559621
8999B41842B271   MARIA                   MENDEZ            DC     90003654184
8999B84344B22B   JANICE                  VELASQUEZ         NE     27061198434
899B153899154B   CHRISTIAN               CARBAJALL         TX     75090025389
899B259499154B   BRENDA                  ORTIZ             TX     75053665949
899B2A14241262   PAULETTE                ALBRECHT          PA     51090930142
899B2A39255945   WELSON                  CHANG             CA     90001200392
899B345A94B22B   SAMANTHA                HARKENDORFF       NE     27074714509
899B3791481621   RAQUEL                  MORA              MO     90010197914
899B3A1138B168   KIRK                    REYNOLDS          UT     90014370113
899B41A472B271   JAMEL                   ROBERTSON         DC     90014871047
899B4242397B3B   ARGELIA                 TARANGO           CO     39070182423
899B465479154B   THEODORE                NATION            TX     75086486547
899B548579154B   CHRIS                   MALDONADO         TX     75083784857
899B5631697B38   BETTY                   MARTINEZ          CO     39077676316
899B58A8772B33   SERGIO                  DELGADO           CO     33054448087
899B646A272B29   HANNA                   AGUYI             CO     90012444602
899B665479154B   THEODORE                NATION            TX     75086486547
899B6729141251   KIMBERLY                BRANCH            PA     90006507291
899B6944A72B46   CARMEN                  THOMPSON          CO     90013949440
899B7115151372   CANDIDA                 SMITH             OH     90008131151
899B7279797138   CHRISTINE               JACKSON           OR     90013422797
899B7435A8B163   JORGE                   GARCIA            UT     31079094350
899B744399152B   CHRISTINA               MARTINEZ          TX     90010484439
899B7A23A71977   MICHAEL                 BUENO             CO     38016970230
899B8433355945   MR AND MRS              GARCIA            CA     49091014333
899B852279154B   RYAN                    CHAVEZ            TX     90011645227
899B8627291979   ALLISHA                 BRIZANT           NC     17060446272
899B887984B22B   NEVA                    LONGSTRETH        NE     90013238798
899B8AA614B22B   SINA                    JOHNSON           NE     90015030061
899B9315A72B44   JESSICA                 COLLINS           CO     90014503150
899B9856591979   MARIA                   MENDOZA           NC     17039598565
899BB2A5141262   MELISSA                 GRAVELLE          PA     51014772051
89B11684A55945   BRANDY                  GRAHAM            CA     49038016840
89B121A996194B   GUADALUPE               PEREZ             CA     90002901099
89B1226A272B62   ELYSSA                  WILLIAMS          CO     33001222602
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1457 of 2350


89B1242967B489   JOANNE       BRADFORD                     NC     90004864296
89B1259A691979   MARIE        GRAMADO                      NC     90011385906
89B12776597138   JESSICA      WASHINGTON                   OR     90003927765
89B12857472B29   VIOLA        DUNCAN                       CO     90011568574
89B134A6871977   SHERRY       BOOKER                       CO     38073364068
89B1369446194B   CECI         LOPEZ                        CA     90014826944
89B13699572B46   ANA MARILU   TORRES                       CO     90013946995
89B14215372B33   CHRIS        SOLANO                       CO     90006462153
89B14619993771   MICHAEL      PALMER                       OH     64539146199
89B14652772B33   PAUL         BALANGA                      CO     90014366527
89B14685772B46   MONICA       GARCIA                       CO     90012056857
89B14799172B46   DAVEN        TURNER                       CO     90010537991
89B14A4A35B326   ROBBERT      STAPLES                      OR     90005300403
89B1525868B154   KYLE         KENNEDY                      UT     31028032586
89B15365972B62   SANDRA       FORGA                        CO     90007973659
89B1642945B24B   LOLLIE       FROGGY                       KY     90012934294
89B16742472B33   IRVING       SALINAS                      CO     90013037424
89B17111772B27   ROBIN        MCTARSNEY                    CO     90011181117
89B1723675B326   GARY         RANSIER                      OR     90003022367
89B17428872B44   BRYAN        ARRELLANES                   CO     90014794288
89B17A83A71977   TAMMY        CISNEROS                     CO     38046710830
89B1949A272B44   VICTORIA     CRUZ                         CO     90012444902
89B1952576194B   SUSANA       RAMIREZ                      CA     46010375257
89B1966267B489   JENNY        VELASQUES                    NC     90011456626
89B1B14316194B   ALBERTO      BRITO                        CA     90010511431
89B1B143972B62   ZACHARY      CECIL                        CO     90014451439
89B1B33673B335   ERIK         BAKEWELL                     CO     90007443367
89B1B39A95B24B   AUTUMN       WEST                         KY     90013563909
89B1B7A2891837   BEVERLY      BOWEN                        OK     21091187028
89B1BA2794B234   ROSALIA      FRANCO                       NE     27056010279
89B1BA4A35B326   ROBBERT      STAPLES                      OR     90005300403
89B21559272B46   RAY          GALLEGOS                     CO     33032945592
89B21567655971   AGUSTIN      ROQUE                        CA     90007875676
89B2222A14B22B   LARRY        BRITTELL                     NE     27034102201
89B22264147822   PATRICK      GRIGGS                       GA     14049872641
89B2247A28B154   JOSUE        SANTOS                       UT     31039434702
89B22658347897   TANIA        WILEY                        GA     14092186583
89B22682A91979   NESHAY       ROBINSON                     NC     17091176820
89B2277A872B46   JUAN         PASTOR                       CO     90012707708
89B22828357139   NANCY        GONZALES                     VA     90006418283
89B23592597138   MARCOS       ORTIZ                        OR     90000995925
89B238A4393771   YVONNE       WRIGHT                       OH     90005228043
89B2397979154B   DOLORES      TOVAR                        TX     90014779797
89B239A1572B44   CYNTHIIA     RAMSEY                       CO     90010229015
89B23A24455945   MARIA        ACOSTA                       CA     90002200244
89B24376872B44   JOANN        RAVEN                        CO     90009223768
89B24754691837   SAMUEL       CHARLES                      OK     90014937546
89B25488391933   ROBERT       TAYLOR                       NC     90015294883
89B25717372B46   IVAN         PEREZ                        CO     90013947173
89B2599714B22B   DEANNA       KEITHLEY                     NE     90003319971
89B2635765B523   SAMUEL       DERRICK                      NM     35075923576
89B2651569154B   BILL         NAVARRETTE                   TX     75021285156
89B26715971977   MONA         ORTEGA                       CO     38032417159
89B27432772B44   BRIAN        WERT                         CO     90014794327
89B27653772B33   ROSE         CHAPMAN                      CO     33031636537
89B27849372B29   HECTOR       ORTEGA                       CO     33053838493
89B27A6616194B   CORNELIO     SALES                        CA     90012010661
89B2845A76194B   MICHAEL      SALAZAR                      CA     90009954507
89B28539841275   MICHEAL      JONES                        PA     51079955398
89B291A1893771   RONALD       WHITT                        OH     90015611018
89B29318591979   JALAL        COLEY                        NC     90002663185
89B29617855945   ARAGON       CHRISTINA                    CA     49029206178
89B2962274B234   CAROLINE     COOK                         IA     27014436227
89B2B21525B326   CRYSTAL      BEASLEY                      OR     90014252152
89B2B248291837   REBECCA      HART                         OK     90012562482
89B2B898A71977   SANDRA       DUARTE MENA                  CO     90014848980
89B31213372B62   ALEJANDRA    TORRES                       CO     90001712133
89B3139748B168   ASHLEY       ELIASON                      UT     90012053974
89B315A7172B46   JUAN         ROJAS                        CO     33025475071
89B31A9429154B   ANGEL        CANO                         TX     75085000942
89B3213A64129B   ELMER        POWELL                       PA     90001351306
89B32361997B3B   NICOLE       SHEPPARD                     CO     90013133619
89B3243879154B   MYRNA        MUNOZ                        TX     75085004387
89B32489372B62   CHRISTINA    REYES                        CO     90006054893
89B324A6177537   LATRECIA     HAULCY                       NV     43003724061
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1458 of 2350


89B32535472B44   ANDREA        BABER                       CO     90006635354
89B33177572B44   MENDEZ        JUAN                        CO     33029991775
89B3321A672B46   IRVING        PACHECO                     CO     90013992106
89B33565A4B22B   JIMMY         FICKE                       NE     90010165650
89B3375425B24B   LAKEISHA      MITCHELL                    KY     90002667542
89B3378A177537   RICHARD       HERMAN                      NV     43082497801
89B33887272B29   SANDRA        GREGO                       CO     90012658872
89B34136441275   RENEE         VIRAG                       PA     90009141364
89B34278541275   ROBERT        BECKER                      PA     90007352785
89B345A1A9154B   LORENA        GUTIERREZ                   TX     90004295010
89B3542122B271   DONNELL       BROADWAY                    DC     90010564212
89B3549A45B183   JOSIAH        UKADIKE                     AR     23096984904
89B35693991979   KRACIK        SETTLES                     NC     90014336939
89B3582472B271   THADAS        JASPER                      VA     90013938247
89B35A58641275   WALTER        COLES                       PA     51091120586
89B36157897B3B   SABINA        SOTO-MORALES                CO     90010221578
89B36584A71977   CONNIE        SCHERER                     CO     90012645840
89B365A6391979   JENNIFER      STOKES                      NC     90014055063
89B3737526194B   ANDREA        HARRELL                     CA     90013513752
89B3747175B27B   CHRISTOPHER   KEYNOLDS                    KY     90006834717
89B37582841275   PAMELA        HENDERSON                   PA     51092975828
89B376A1493771   SELENE        PRINCE                      OH     90012196014
89B3778688B163   LUIS          SALCEDO                     UT     31089467868
89B3779A655945   JAMES         PINHEIRO                    CA     90008467906
89B382A286194B   PETER         CINCOTTA                    CA     90012452028
89B38644A72B44   MARCO         GONZALEZ-CASILLAS           CO     90002626440
89B38692572B33   ROBERT        JAMES                       CO     90013686925
89B3869A751362   STEPHEN       LOVETT                      OH     66034676907
89B387A8691837   APRIL         WYANT                       OK     90014907086
89B38875977537   NANCY         MCCUNE                      NV     43006048759
89B3938525B24B   MARIA         RANGEL                      KY     90002633852
89B3955844B22B   RANDY         DILLON                      NE     27096845584
89B395A7477537   ROSSANA       IMBERT                      NV     90005825074
89B39697797138   NIJAL         WATSON                      OR     90013846977
89B3B72329154B   GILBERT       DELGADO                     TX     90013067232
89B3B7A6672B46   GLYNIS        FABRE                       CO     33096087066
89B41139871977   RUTH          VOULGARAKIS                 CO     90009161398
89B41398172B21   BRENDA        LUBBEN                      CO     33085753981
89B41486797138   MARCO         RIVEROS                     OR     90014184867
89B4167148B168   ELAINE        PETTIT                      UT     90014796714
89B4197843B386   ZOLTAN        SZABO                       CO     90002239784
89B41A5898B168   CAROLINA      LOPEZ                       UT     90014860589
89B427A8691837   APRIL         WYANT                       OK     90014907086
89B4294A38B168   SCOTT         MILLER                      UT     31077599403
89B4333A472B62   ROYGRAHAM     GRAHAM                      CO     33032343304
89B43556971977   ANGELA        BREKKE                      CO     90014155569
89B4373199154B   MANUEL        LEOS                        TX     90013067319
89B43A89255945   MIGUEL        GARCIA                      CA     90012270892
89B44648741275   JONATHAN      DIAZ                        PA     90015146487
89B447A8691837   APRIL         WYANT                       OK     90014907086
89B4522429154B   ELVIA         PADILLA                     TX     75067252242
89B45462291837   VALERIE       LINTHICUM                   OK     90009194622
89B46219891933   ERICA         KENNEDY                     NC     90013442198
89B46424793771   RIKIA         ABULLAHI                    OH     90008064247
89B4645589154B   KATIA         ESPINO                      TX     75041804558
89B46752972B29   LADISLAO      LOPES                       CO     90013177529
89B4693237B489   CHRISTIAN     DURANGO                     NC     90013579323
89B4761154B22B   GUILLERMINA   MORALES                     IA     90005036115
89B48472A84371   VINCENT       PICKNEY                     SC     19048204720
89B48559A97B3B   MADAI         ROBLERO                     CO     90006305590
89B48A9575B326   HUGO          GUTIERREZ                   OR     44515270957
89B49867447897   LATHASA       GREENE                      GA     90011178674
89B49938672B33   MARIA         BERRELLEZA                  CO     90013429386
89B499A2A33698   ALEX          BROADNAX                    NC     90001169020
89B49A8848B168   JOSE          MOSTACERO                   UT     90014590884
89B4B226897138   ANDREW        BRAUN                       OR     44056722268
89B4B228772B44   ANGEL ROSE    AMADOR                      CO     90004912287
89B4B461441262   JOY           HUTCHINSON                  PA     90008184614
89B4B698A57B9B   BRENDA        MOBLEY                      PA     90014436980
89B51276855945   SOLANO        NOE                         CA     90014282768
89B51439591837   DAVID         WALKER                      OK     21057544395
89B5171225B921   JACQULINE     TESKEY                      ID     90010167122
89B51A16A72B44   ELMER         LEANDA                      CO     90014780160
89B5297A187B71   BRITTNEY      ESTER                       AR     90001089701
89B5341395B326   DALE          SPICKLER                    OR     90013444139
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1459 of 2350


89B53423A33698   OCTAVIO          CARBAJAL                 NC     12040944230
89B53468741275   GLORIA           LEEK                     PA     51013074687
89B53628772B29   ABUNDIO          MONTECANO                CO     90011846287
89B5385585B326   CHANDRA          KNEPPER                  OR     44576258558
89B54154A7B489   TERESA           CRUZ                     NC     11039171540
89B5423632B271   RUTHAMAE         RIGBY                    DC     81089872363
89B54258197B3B   CHRISTINE        SPARKS                   CO     39043142581
89B5431A14B22B   ERNESTO          MENDOZA                  NE     90014073101
89B5433555B24B   MARK             BIVENS                   KY     68085583355
89B54412671977   FILIPPO          MICELI JR                CO     38072964126
89B5458AA72B44   PATRICIA         GARCIA                   CO     33061055800
89B54667955971   MARGARITA        BENITEZ                  CA     90011356679
89B5636A491837   MIRIAM           DUARTE                   OK     90008513604
89B5661929154B   LAURA            FRIAS                    TX     90014606192
89B56711691979   NATHAN PHILLIP   LANE                     NC     90007387116
89B57182A91558   JAIME            LOPEZ                    NM     75015961820
89B57691A8B168   MARCUS           HAMMONS                  UT     90014796910
89B57747597138   IRMA             PEREZ                    OR     44087747475
89B57884772B33   ANABEL           CHAIREZ                  CO     90013178847
89B57982691979   YOLANDA          DOBBINS                  NC     90007889826
89B5815AA7B489   LAKETIA          VALENTINE                NC     90005861500
89B58487172B62   CHRISTOPHE       GILBERT                  CO     33095784871
89B5849726194B   ARACELI          PAYAN                    CA     46075814972
89B58A45993771   DAVITA           SCOTT                    OH     90007170459
89B5929588B692   ABEL             ALVARADO                 TX     90015222958
89B59512A2B271   BERTINA          DOYLE                    DC     81048855120
89B5957A197138   BRENDA           JANETTE CARRASCO LAR     OR     44040985701
89B59883272B46   STEVEN           BENNET                   CO     90012228832
89B59891472B44   MELISSA          GAZAWAY                  CO     90013498914
89B5B523897B3B   JAMIE            HICKS                    CO     90008065238
89B5B794A72B29   RACHEL           WRIGHT                   CO     90009977940
89B5B852591837   CHARLOTTE        JOHNSON                  OK     90010808525
89B5BA37A33698   CAROLYN          GOWENS                   NC     12036750370
89B61123A6194B   FABIOLA          FLORES                   CA     90014431230
89B61193497B3B   MEYERS           STARLA                   CO     90011331934
89B61462A91532   REYNA            ALANIZ                   TX     90008774620
89B615A2A5B326   JERAMIE          NELSON                   OR     90010565020
89B61665171977   PHILLIP          MEDINA                   CO     38067556651
89B62325372B33   HALL             ROBIN                    CO     33006543253
89B6253852B271   SEAN             HUNT                     DC     90014145385
89B6285642B271   TOMS             BURNS                    DC     90013938564
89B63311284371   RODNEY           GATHERS                  SC     90011303112
89B63A73572B44   ERIN             ADDY                     CO     33076250735
89B64156591933   PHYLLIS          ALSTON                   NC     90014811565
89B641A267B489   BRANDON          STOWE                    NC     90014521026
89B641AA671622   TOM              NOCERA                   NY     90010381006
89B646A585B326   ROBERT           BROWN                    OR     90013286058
89B6487355B27B   LINDSAY          DUDGEON                  KY     90010728735
89B65166272B44   IRVING           REYES                    CO     90009151662
89B6536A491837   MIRIAM           DUARTE                   OK     90008513604
89B65427972B62   JOSE             ALDANA                   CO     90015134279
89B65587893723   IRIS             JOHNSON                  OH     64523925878
89B655A5991933   EMMETT           SHERRORD                 NC     90012585059
89B65A8A333698   LORAINE          GIBSON                   NC     12022020803
89B66292571977   JOYCE            SISNEROS                 CO     38008102925
89B66341193771   CHELSEA          GOODING                  OH     64543133411
89B66751772B62   GINA             WALTERS                  CO     90014687517
89B6679A25B326   CESAR            GRANADOS                 OR     90013807902
89B67771571977   JOHNNY           SOUR PEL                 CO     90010287715
89B68425251577   TESFAYE          NEGUWSIE                 IA     90015074252
89B68777A77533   GABRIEL          RAMIREZ                  NV     90003317770
89B68963A7B489   AMY              JAIMES                   NC     90012109630
89B68A9438B168   CAPUCINE         AUKUSITINO               UT     90009550943
89B69223972B62   SAMMY            SANCHEZ                  CO     33010702239
89B69A63591979   PATIENCE         BRADY                    NC     90011200635
89B69A99184371   KIM              CHISHOLM                 SC     90010040991
89B6B134444B22   JANET            LAW                      OH     90011581344
89B6B443871977   JAMES            SIERRA                   CO     90012814438
89B6B637A8B168   BEELER           ALLAN                    UT     90005846370
89B6B63A755945   TINA             MURKOWSKI                CA     49013676307
89B6B645397B38   PAUL             CIPOLLA                  CO     39030426453
89B6B91754B22B   MAGALY           FAVILA                   NE     27008629175
89B6B938233698   JESSICA          WILLIAMWS                NC     12040899382
89B6BA96661928   ELSA             BURROLA                  CA     90007020966
89B7145929154B   JOANN            JOHNSTON                 TX     90011624592
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1460 of 2350


89B71886572B33   SILVIA        ORTIZ                       CO     90012788865
89B71A32497B48   ASHLEY        BROWNING                    CO     90006560324
89B71A9438B168   CAPUCINE      AUKUSITINO                  UT     90009550943
89B7218838B168   RODRIGO       ABURTO                      UT     31073281883
89B724A7951349   EDDIE         CLAYTON                     OH     90013214079
89B7262339154B   ESMERALDA     JEAN                        TX     90014606233
89B73429A5B326   JUAN C        MARTINEZ GARCIA             OR     44555594290
89B73472472B44   SHERBELL      BISHOP                      CO     90014794724
89B73853791837   AMBER         ARENA                       OK     90014938537
89B7412575B24B   SHANON        SIMPSON                     KY     68094971257
89B744A3272B46   ANA           ALARCON                     CO     33037034032
89B74532291979   JAMES         SMITH                       NC     90015425322
89B74832272B44   NORMAN        BENJAMIN                    CO     33001718322
89B74A45A93771   AVAJEAN       HAYES                       OH     64565170450
89B74A9438B168   CAPUCINE      AUKUSITINO                  UT     90009550943
89B75451472B33   SHAYAN        WU                          CO     90013014514
89B75471372B29   HSAE          MEH                         CO     90015044713
89B75632672B62   ELIZABETH     SAENZ                       CO     90005486326
89B75668197138   JORGE         RAMIREZ                     OR     90013356681
89B75775784371   SHAQUANA      DRAYTON                     SC     19005767757
89B758A2693771   AMANDA        ONEAL                       OH     90013538026
89B75A13A91933   COURTNEY      FARRINGTON                  NC     90015030130
89B76691472B46   DJON          BROWN                       CO     90013086914
89B77374A27B49   MICHELLE      JOHNSON                     KY     90014603740
89B7741585B24B   LAUREN        WILLIAMS                    KY     90012934158
89B77437491532   SANDRA        ESCOBEDO                    TX     90010814374
89B7748A755945   ADELINE       TRUJILLO                    CA     90014814807
89B77586A72B46   SARA          GLANDON                     CO     90013425860
89B7765845B26B   DANNY         DILLANDER                   KY     90005116584
89B7852735B326   FLORIAN       LE TELLIER                  OR     90010565273
89B79758744B22   THOMAS        CARLISLE                    OH     90015457587
89B79838955945   FRANCINE      GONZALES                    CA     90012438389
89B7994677B489   LAMONT        ELLIOT                      NC     90001669467
89B7B149147822   TREVOREY      CHILDERS                    GA     14086011491
89B7B78655B24B   ANOTOINETTE   GILES                       KY     90013477865
89B8169345B56B   MARVEL        QUETO                       NM     90014656934
89B81737255945   GEORGE        AQUINO                      CA     90014527372
89B8179449154B   JOY           BOJORQUEZ                   TX     75097717944
89B8257638B168   JESUS         RINCON                      UT     90010455763
89B8271878B168   VICTOR        VIVIANO                     UT     90008307187
89B82865A9154B   IVONNE        ESTRADA                     TX     90005798650
89B82911A2B271   SANTOS        ALBERTO                     DC     90013939110
89B82965755945   DOMINGO       CARRASCO                    CA     49010109657
89B8321525B326   CRYSTAL       BEASLEY                     OR     90014252152
89B83375772B46   SAMUEL        IRECHUKWU                   CO     33090863757
89B83378572B29   FILIBERTO     TUN-TAMAYO                  CO     90011083785
89B83681933698   AMELIA        BLACKLEDGE                  NC     90008816819
89B8389A79154B   ROSA          ORTIZ                       TX     75090158907
89B84386655945   JOHANNA       OROSCO                      CA     49042853866
89B8452335B326   AMBER         SWECKER                     OR     44530375233
89B8454422B236   THOMAS        DELANEY                     DC     90011005442
89B8465886194B   MORGAN        NUTTING                     CA     90005496588
89B8467929154B   MARTHA        DELGADO                     TX     90013416792
89B85531157143   IDALIA        HERRERA                     VA     90010275311
89B85737772B44   HELLER        JAMIE                       CO     33014747377
89B8599572B271   KEITH         DUBLIN                      DC     90006309957
89B86199141251   NICOLE        MARNICH                     PA     90005951991
89B86285A8B154   ADAM          SMITH                       UT     90003352850
89B8629646194B   LEONARDO      GARCIA                      CA     90012382964
89B8642612B271   KENDRA        JONES                       DC     90010314261
89B8664253B371   JOB           KIMELI                      CO     90010976425
89B86697897B3B   STACEY        VELASQUEZ                   CO     39003846978
89B8734844B22B   TERRI         FLYNN                       IA     27071043484
89B876A6A91933   RODNEY        HEADEN                      NC     90005736060
89B87A57672B33   ANGEL         MONTOYA                     CO     33047080576
89B88316372B29   JENNIFER      DEGEORGE                    CO     90013303163
89B888A435B24B   MATTHEW       POOLE                       KY     90009968043
89B89642372B29   ALMA          JUAREZ                      CO     90015146423
89B898A2292832   SANTIAGO      AVILA                       AZ     90015448022
89B89935484371   FRANCISCO     CAMPAGNANI                  SC     90003199354
89B89A67384351   GREGORY       LARKE                       SC     19081530673
89B8B641697B3B   CHARLIE       MARTINEZ                    CO     90004406416
89B8B79A25B326   CESAR         GRANADOS                    OR     90013807902
89B8B831891979   SHANIN        GOWER                       NC     90011018318
89B9113419154B   MARLENA       CEBALLOS                    TX     90003621341
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1461 of 2350


89B91196941275   JOHN         CONRAD                       PA     90015451969
89B9125868B154   CARMEN       CHAVEZ                       UT     31050272586
89B91367741275   MELISSA      SUEHR                        PA     90002423677
89B9158398B168   KIM          OLIVERSON                    UT     31098005839
89B91739241262   LISA         MCCRACKEN                    PA     51071647392
89B9259A372B46   ILDER        TEJADO                       CO     90013425903
89B9343225B139   MIGUEL       GUTIERREZ                    AR     23095964322
89B934A2197B3B   RICHARD      TAYLOR                       CO     39078504021
89B9397875B326   HUGO         ALVIZURES                    OR     90013779787
89B94429272B46   HEATHER      GREENE                       CO     90008094292
89B9462A471977   AMY          FLOOD                        CO     38091696204
89B94A14797B3B   ERIC         BACA                         CO     39098890147
89B95736897138   CHRISANTA    ROJAS                        OR     44087267368
89B965A349154B   CLAUDIA      CARREON                      TX     75042015034
89B97125A72B33   ISAIAH       RODRIGUEZ                    CO     90012191250
89B97312841262   BRANDA       THIK                         PA     90008463128
89B9754776194B   ANDREA       MARTINEZ                     CA     90014085477
89B98585272B43   JESUS        PEREZ                        CO     90008945852
89B9868519154B   SONIA        ESTRADA                      TX     90013416851
89B98728855945   EDDIE        ESPINO                       CA     90013007288
89B9888972B271   DIANE        LOVE                         DC     90013938897
89B9926565B139   KHADEJA      PAYNE                        AR     90002482656
89B99477A41251   FRANK        ROSS                         PA     90005384770
89B99827584325   FIDEL        MONDRAGON-ARAUJO             SC     14573668275
89B99875444B22   TIFFANY      PARACHINI                    OH     90014768754
89B998A2591979   TRAI         JOHNSON                      NC     90013148025
89B99928672B29   JOSE         ARREDONDO                    CO     90002749286
89B9B41A641262   CRANSTINA    PACE                         PA     90013294106
89B9BA12761961   JEBBER       GARCIA                       CA     46029110127
89BB177938B168   KRISTINA     SATO                         UT     90013367793
89BB1947A93771   MYBOL        DENG                         OH     90014759470
89BB1A82186443   DANTREAS     FAULKNER                     SC     90013830821
89BB221349154B   CHRISTIAN    MENDOZA                      TX     75039212134
89BB2723191837   ELZATA       WATKINS                      OK     90014937231
89BB378434B22B   PAT          ELTUHAMI                     NE     90003617843
89BB3889572B44   MARIA        PEREZ-CAZARES                CO     33096418895
89BB4555141262   DENNIS       FATH                         PA     90013825551
89BB482544129B   KENNETH      SAVILLE                      PA     51016178254
89BB534533B394   HENRY        KIMBELL                      CO     33073593453
89BB54A922B271   BASEEMAH     JOHNSON                      DC     90011704092
89BB5698872B46   RAJAE        BOUHAMIDI                    CO     90013946988
89BB633768B163   MARIE        MILLER                       UT     31094293376
89BB6681555945   SALVADOR     FLAMENCO JR                  CA     49006356815
89BB675875B326   GUADALUPE    RIOS VAZQUEZ                 OR     44528307587
89BB6831971977   TIMOTHY      JIMENEZ                      CO     38085358319
89BB686AA91837   DONNA        VARGAS                       OK     90005548600
89BB6953697B3B   SCOTT        WAITE                        CO     90012379536
89BB6992572B62   RACHEL       GAGLIARDI                    CO     90008419925
89BB749399154B   ELSA         SANCHEZ                      TX     90014694939
89BB7519377537   CORY         WILLIAMS                     NV     43087245193
89BB79AA333698   MIGUEL       CRUZ                         NC     12097439003
89BB8479571977   DESIREE      GONZALES                     CO     90005034795
89BB8728A55945   EDWARDO      GARCIA                       CA     90013007280
89BB8814193771   ANGELA       TOLLIVER                     OH     64588058141
89BB9351A97B3B   MARIA        MARTINEZ                     CO     90010593510
89BB9824A2B271   SHAKIA       STOKES                       DC     90013058240
89BBB65757B489   ROANALD      MORRISON                     NC     90000836575
89BBB819791837   LANA         MACK                         OK     21060298197
89BBB914A4B257   KELLY        SMITH                        NE     27068689140
89BBBA74872B29   ERICK        SARABIA                      CO     33036810748
8B111488172B44   LISA         LOPEZ                        CO     33042684881
8B11176668B163   JESSICA      PICCOLO                      UT     31043257666
8B111832897133   JOSE         INES-LEON-                   OR     90004328328
8B11184795B27B   GARY         HARRIS                       KY     68078258479
8B111857891979   MYRIAM       KIBONGE                      NC     90007228578
8B111879491975   UNITRA       BURRELL                      NC     90004868794
8B11213568B163   EDWARD       GARCIA                       UT     31068791356
8B112167472B31   CYNTHIA      GARCIA                       CO     33089441674
8B112181641275   MARVIN       BEATTY                       PA     90002661816
8B1123A199712B   EVELYN       MCNAB                        OR     90007363019
8B112592185856   ARIEL        LOPEZ                        CA     46003595921
8B112685197B38   JOSE         CASTRO                       CO     39080546851
8B112765A91975   KENDRICK     NAZAR                        NC     90014937650
8B113141185856   NOEL         PORTE                        CA     90013621411
8B113369633698   FELICIA      SELLARS                      NC     90007503696
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1462 of 2350


8B113512376B97   MACEDONIA           LOPEZ RAMIREZ         CA     90013125123
8B113648972432   MARK                BUNGARD JR            PA     90010326489
8B113722784325   DIONDRA             CHISOLM               SC     90014927227
8B11375885B32B   JESSICA             LYNN                  OR     90002537588
8B11393399154B   JOHN                GOSS                  TX     75018429339
8B113A7AA72B62   ROSA                VALDERAS              CO     90006590700
8B113A88A5594B   MARIA               ALANIS                CA     90014660880
8B113AA9472B44   MARITZA             PONCE                 CO     90013990094
8B11421467192B   ESTEVAN             LOPEZ                 CO     90005652146
8B114358171935   WILLIAM             HIGHTOWER             CO     90014843581
8B1143A2247897   STACY               JONES                 GA     14034683022
8B114637A5B27B   DAMON               WALKER                KY     90015126370
8B114735A5B581   LAURA               AUBERT                NM     90012877350
8B114A9335B32B   ALAN                WONE                  OR     90008950933
8B115455972B62   PATTI               SMITH                 CO     90013114559
8B11549258B154   RYAN                LEE                   UT     90014264925
8B115999472496   JOHN                MASCILLI              PA     51058329994
8B115A6865B32B   WILFRED             BOLOWAISEI            OR     90013000686
8B115A9575594B   KASIA               MOUA                  CA     90014660957
8B11612759375B   CHRISTINA           KEERAN                OH     64580941275
8B116154885856   DON                 MACK                  CA     90003941548
8B11616454B22B   JOEL                RUIZ                  NE     90010821645
8B116518172B29   BEATRIZ             RUIZ                  CO     33004885181
8B116522A47822   KAREN               DEATON                GA     90014805220
8B116816571977   MELISSA             MORA                  CO     90001818165
8B116933841262   SALIM               BAMIRA                PA     90014769338
8B117249593137   ROBERT              NOBLE                 KY     90002202495
8B117549A91525   KARLA               MARTINEZ              TX     90005625490
8B117811A76B97   OFELIA              CARLOS                CA     90011598110
8B11782A571977   JOY                 SCOTT                 CO     90011018205
8B11796A972B31   EVIAN               SOSA                  CO     90014429609
8B117A95155971   MARISOL             MIRANDA               CA     90013210951
8B118165776B44   REDDING             IKEYLA                CA     90003261657
8B1184A3871935   GABE                CABLE                 CO     90014344038
8B11851168593B   DEXTER              HAMBLIN               KY     90012745116
8B118544A47822   JERONNA             POPE                  GA     90014805440
8B1185A1385856   ARJUN               SHRIRAM ATHREYA       CA     90010455013
8B119355171977   ALEX                MONTOYA               CO     38093393551
8B119517772B44   MATTHEW             KNAB                  CO     90014775177
8B119798A5B581   DARLENE             TELLES                NM     90008877980
8B1197A787B372   SARGIO              GLASSO                VA     81005717078
8B11982916194B   AIDDET              INNISS                CA     90007598291
8B119853972B33   RICHARD             MORTON                CO     90007378539
8B11988384B22B   CYNTHIA             EDWARDS               NE     27036408838
8B119A38772B62   YAIR                PORRAS                CO     33072570387
8B11B263672B29   ALEJANDRA           PAULINO               CO     33077732636
8B11B88A85B338   JACK                MONDY                 OR     44558418808
8B11BA8165594B   IRENE               REYES                 CA     90014660816
8B12172158B154   JASWANT             KAUR                  UT     31014447215
8B121A4A65594B   TERESA              RODRIGUEZ             CA     49080270406
8B12212A172B44   GEIRGE              SIMMONS               CO     33087351201
8B122159391837   MANDA J             REYES                 OK     90013981593
8B122192272B29   STEVEN              HUGHES                CO     90008381922
8B122579791523   EILEEN              LOPEZ                 TX     90013775797
8B122688755971   ADRIANA             SALAS                 CA     90013286887
8B12269435B581   MICHAEL             BRASHER               NM     35026346943
8B12269715B36B   MARIA DEL ROSARIO   RESENDIZ MORAN        OR     90006696971
8B122863171935   RANDDEE             MCCLAIN               CO     90014868631
8B12295725B32B   ICELA               HUESCA                OR     44533779572
8B12332A497133   JOSE                GALLEGOS              OR     90013923204
8B1234A5376B65   REYNALDO            LEON                  CA     90013954053
8B12394A777537   BREANNA             WELLS                 NV     90013299407
8B1239A7347822   BRITTNEY            WILLIAMS              GA     90004549073
8B1241A685594B   ANGELIQUE           FERNANDEZ             CA     90014661068
8B124654A9375B   KAREN               GIVENS                OH     64573776540
8B12474465B27B   ADRIANE             MCCLAIN               KY     90013437446
8B125116A5B27B   MINA                LINDE                 KY     90013511160
8B125148761978   ALYSSA              VAN BEMMELEN          CA     46076551487
8B125284676B65   LILIANA             NIETO                 CA     90011652846
8B125776372B31   JUDY                BRAVO                 CO     33079987763
8B12642546194B   MA.ELISA            REYES                 CA     46069644254
8B12651625B183   MARQUETTIS          SAVAGE                AR     90010665162
8B126872A72B62   AMADO               ZAVALA                CO     90015058720
8B1268A1491975   MARLY               DUPRE                 NC     90014938014
8B126A32985856   ABRAHAM             GARCIA                CA     90009710329
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1463 of 2350


8B127316793771   FRANK         BANE                        OH     90002363167
8B127564872B62   DAVID         RITCHIE                     CO     90006895648
8B12782665B27B   JAHON         LINDSAY                     KY     90011028266
8B12786695B24B   STEPHANIE     STARLING                    KY     90012748669
8B12798968B18B   ROBERT        SIMS                        UT     90014589896
8B128161472B31   LINDA         MAXWELL                     CO     33013111614
8B128537747822   IMNA          RODRIGUEZ                   GA     14087565377
8B128584291837   HECTOR        ARIAZA                      OK     90006285842
8B128667672B44   KENNETH       WILLIAMS                    CO     33088856676
8B12866858593B   DONALD        RACE                        KY     90013016685
8B128AA8177537   NATHAN        HALLMARK SR.                NV     43023710081
8B129296397B3B   VICTORIA      LINEHAN                     CO     90001942963
8B129398391837   JOSHUA        MATHEWS                     OK     90015323983
8B129945793137   ROLANDO       PEARSON                     TN     90015379457
8B129986A72496   CHRIS         SOLDATI                     PA     90014649860
8B129A9195B356   ELIAZER       CABRERA                     OR     44555680919
8B12B172A9375B   MICHAEL       WALKER                      OH     90014621720
8B12B18458B168   ELIAS         MEJIA                       UT     90015301845
8B12B277472B44   ISAAC         LUCIO ROSALES               CO     90013822774
8B12B295A72496   LISA          MCCLOSKEY                   PA     90013872950
8B12B356272B29   DAMIETRA      JONES                       CO     90014033562
8B12B386A41262   TIFFANY       SCHMIDT                     PA     90012463860
8B12B549A91525   KARLA         MARTINEZ                    TX     90005625490
8B12B663841251   JOSEPH        DORNETTA                    PA     90012386638
8B12BA1A172496   DEAN          RODRIGUEZ                   PA     51001440101
8B1312A2571977   AUDRA         MARTINEZ                    CO     90009342025
8B13135968B154   DEYOUNG       SMART MOBILE                UT     90013913596
8B13157575B27B   ROBBINS       FAMILY                      KY     90007825757
8B13171719375B   SHARON        HILL                        OH     64573777171
8B13174725B27B   ROBBINS       FAMILY                      KY     90010907472
8B13191A841247   LAURA         WILLIS                      PA     90007409108
8B13193238B154   LEWIS         DEYOUNG                     UT     90014159323
8B13236A68B154   KILLASTINA    MAKIHELE                    UT     90002203606
8B132A8A78B163   LUIS          MORALES                     UT     31094310807
8B13326115B183   EARENST       YOUNG                       AR     90008342611
8B133539A61928   FRANCISCO     GALINDO                     CA     90001215390
8B133992A72B29   GEORGETTE     BENKELMAN                   CO     90003579920
8B134334533738   FERMIN        ESPARZA                     LA     90015363345
8B134566476B65   FERNANDO      PONCE-ROMERO                CA     90013955664
8B1345A9685856   DAVID         GENZLER                     CA     90010205096
8B13478185B32B   NASTEEHA      DIRIYE                      OR     90014557818
8B13481579154B   ARMANDO       GUAJARADO                   TX     75029238157
8B13495855B581   RAYMUNDO      TOVAR-MALDONADO             NM     90005379585
8B134A72397138   FABIOLA       SANCHEZ                     OR     90007540723
8B13511675B338   JENNIFER      FARLEY                      OR     90002281167
8B135141872B31   BARRERA       GABINO                      CO     90008841418
8B13542A772B33   SILVIA        CHAVEZ                      CO     90012184207
8B13545A59154B   VERIQUE       NORWOOD                     TX     90013234505
8B135597133698   SUAN          RONANG                      NC     12072205971
8B135766A7B42B   NOHEMI        BENITS                      NC     90006817660
8B135791871935   ARAM          SOLANO-ARAIZA               CO     32029337918
8B13586812B271   MARQUISHA     INMAN                       DC     81006868681
8B136441871977   CORINNE       MARTINEZ                    CO     90007944418
8B136463651362   CARLOS        OSORES                      OH     66075884636
8B136773893771   SAMANTHA      ROBERTS                     OH     90011377738
8B13728915B32B   LATOYA        GILBERT                     OR     90014722891
8B13735A797133   JORGE         VAZQUEZ                     OR     90013923507
8B13761A35B24B   DAVE          COLLINS                     KY     90013976103
8B137699197133   KRISTEN       CHASTEEN                    OR     44078726991
8B1378A9333738   BRITTANY      MOTT                        LA     90015368093
8B13798739154B   ALEX          IBARRA                      NM     90013159873
8B137A53771935   GABBY         GONZALES                    CO     90009880537
8B137A82444351   BEN           DAVER                       MD     90015440824
8B138554872496   JOHN          TIEDT                       PA     90011065548
8B138571741275   RONALD        JOHNSON                     PA     51036895717
8B1394AA484325   ANNA          ANQUIANO                    SC     90000904004
8B139545897B38   ROXANNA       GARCIA HERNANDEZ            CO     39012515458
8B139583433698   NOE           ALFONSO                     NC     90010765834
8B13977A993771   JESSALYN      HARNESS                     OH     90003097709
8B13986812B271   MARQUISHA     INMAN                       DC     81006868681
8B139917791975   SIXTO         MARTINEZ                    NC     17086459177
8B13B436893771   AYONNA        PALMER                      OH     90011394368
8B13B458197B3B   SHIRLEY ANN   RODRIGUEZ                   CO     90011954581
8B13B67A447897   KBOOSIE       WILLIAMS                    GA     90015196704
8B13B72925B356   REBECCA       JONES                       OR     90010557292
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1464 of 2350


8B13B79826194B   WILLIAM      MILLER                       CA     90000977982
8B13B811697138   SHAWN        MCNAMARA                     OR     44040458116
8B13B838291975   TRINIDAD     GONZALES                     NC     90014938382
8B14116629154B   JOSE         PEREA                        TX     90013141662
8B141433184325   ANGELA       HERNANDEZ                    SC     90014434331
8B142435976B65   MANUEL       MARTINEZ                     CA     90011874359
8B142573584325   RICIO        RAMIREZ                      SC     14527875735
8B142637761928   BARRO        FREDIE                       CA     46065336377
8B142763176B44   MIGEL        AVZ                          CA     90013157631
8B142A31997B3B   DANIEL       ROJAS                        CO     39040550319
8B143147372B29   MICHEAL      MELENDEZ                     CO     90006741473
8B143156191525   AVELINO      VELEZ                        TX     75043061561
8B14316399154B   JOSE         BARBOSA                      TX     90006981639
8B14316629154B   JOSE         PEREA                        TX     90013141662
8B143321584325   JESSICA      BADGER                       SC     90013393215
8B14341425B24B   JOSEPH       DOMINGUEZ                    KY     90014384142
8B14356484B22B   RUBEN        CASTELAN                     IA     27005785648
8B143593472B33   LORENA       ALVARADO                     CO     33023965934
8B143635155971   LEO          MEDINA                       CA     49007606351
8B14375428593B   DAVID        GLASS                        KY     90013887542
8B143AA8897133   RAUL         CUACUA LUNA                  OR     44043380088
8B144112797B3B   AMANDA       WATSON                       CO     90009381127
8B144452A4B531   HULAN        DAWSON                       OK     90008734520
8B144613872B33   JACK         SIMON                        CO     90011606138
8B14471A272B29   ANGEL        MARTINEZ                     CO     90014687102
8B14495945B32B   TALIAH       FRANKLIN                     OR     90014689594
8B145255172B62   DONICIA      HELMES                       CO     90014712551
8B145511A72432   BRANDI       BYERS                        PA     90013225110
8B145823584325   JOSEPH       BRABHAM                      SC     90010788235
8B146124697138   BLANCA       GARCIA                       OR     90014021246
8B14656858593B   THERESA      BARDO                        KY     66034255685
8B146791341275   BILYTA       BROOKS                       PA     51083707913
8B14726937192B   RUTH         HOUPE                        CO     32059672693
8B147796672B29   CRYSTAL      CORTES                       CO     33091917966
8B147864241275   TIARA        GRIFFIN                      PA     90012978642
8B147946497B38   SANTOS       RIVERA                       CO     90000689464
8B147AA655B338   FILIBERTO    RODRIGUEZ                    OR     44535380065
8B148134233B97   CARMELO      RODRIGUEZ                    OH     90015181342
8B148534371977   KRISTAL      PATTI                        CO     90005195343
8B148586972B44   DESTINY      COLEMAN                      CO     90010475869
8B148847597133   CHRIS        SHEPARD                      OR     90008408475
8B14895616194B   ROSEMARY     AGHA                         CA     90011099561
8B148A28972B44   DESTINY      COLEMAN                      CO     90014020289
8B1497A3176B65   TARA         BATES                        CA     46060467031
8B149A91672B44   PRISMA       JANNET                       CO     90012630916
8B14B132371935   BOBBY        JACKSON                      CO     90013131323
8B14B23235B255   SHANNON      NEUBERT                      KY     90010812323
8B14B446872496   FRANCES      LARSSON                      PA     90007264468
8B14B52175B24B   AMANDA       CRENSHAW                     KY     90013635217
8B14B68339154B   YESSICA      MARTINEZ                     TX     90013116833
8B14B78185B32B   NASTEEHA     DIRIYE                       OR     90014557818
8B14B78647B42B   DAVID        THOMPSON                     NC     11068917864
8B14B945155973   JOSE         ARIAS                        CA     48070059451
8B14B949976B65   AGUSTIN      ANTONIO                      CA     46060389499
8B1511A695B32B   ROMAN        US CHAN                      OR     44530941069
8B151332772B33   JASMINE      RINCON                       CO     90013053327
8B15144445B24B   JESUS        MORALES                      KY     90014724444
8B15149A997138   DELWIN       NELSON                       OR     44066034909
8B15188428593B   BILL         RISCH                        KY     90001068842
8B1519A1A93771   MIKAL        SAMPLE                       OH     90012729010
8B151A89A9154B   JACQUELINE   MILLS                        TX     75066450890
8B15263395B581   YESSENIA     ACOSTA                       NM     90013336339
8B15268384B22B   KATRINA      FRAZIER                      NE     27030946838
8B15298718B154   ADRIENNE     BALLINGHAM                   UT     31077199871
8B153153971935   LINDA        HOWELL                       CO     90013131539
8B153283676B97   JUAN         CASTILLO                     CA     90003282836
8B153366791975   ANA          BADILLO                      NC     17052403667
8B1534A975B32B   ALONZO       GONZALES                     OR     90011794097
8B1535AAA5B581   ARTHUR       MARTINEZ                     NM     90014785000
8B153677447822   DEDRICK      CAIN                         GA     90013466774
8B153954A91894   JOSE         LOPEZ                        OK     90007229540
8B153A6426194B   PAUL         QUINTERO                     CA     90011380642
8B154573272432   SAM          BOWMAN                       PA     51037245732
8B15479967B386   MARIA        CONGONA                      VA     90013567996
8B154967272B44   NADINE       NEURAUTER                    CO     33071759672
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1465 of 2350


8B154974A4B577   MARIA               PANTOJA SANTILLAN     OK     90010769740
8B154A1255B356   JAMES               RICHERSON             OR     90010720125
8B154A8359154B   OLAYA               ESPINOSA              TX     75025870835
8B15515A972B44   ROSA                MARTINEZ              CO     33039391509
8B155253861948   SABRINA             HODSON                CA     46026042538
8B155388471977   STEVEN              FOSTER                CO     90012933884
8B155517171935   JEANETTE            DELOACH               CO     90005365171
8B155A54A76B65   PATTY               RAMOS                 CA     90014620540
8B156285272B29   MARISSA             PORRAS                CO     33068612852
8B156383597133   JORGE VAZQUEZ       ARIAS                 OR     90013923835
8B156622361934   PAULETTE            GAFNEY                CA     90011696223
8B15679A541978   JOANNA              SIMPSON               OH     90013847905
8B156864685856   DEBORAH             WILLIAMS              CA     46005678646
8B15699339375B   MICHELLE            MOORE                 OH     90010899933
8B15718A872B33   VIVIAN              DESHAZER              CO     90015061808
8B15734248B168   ANTHONY             VALDEZ                UT     90006803424
8B15735A39136B   ELIZABETH           NARVAEZ               KS     90010033503
8B157478561928   CARLOS              PADILLA               CA     46023044785
8B157482471977   DOLORES             CORTEZ                CO     90001294824
8B15754A761934   JOSEPH              PORTER                CA     90007975407
8B15759895594B   IMELDA              TAFOLLA               CA     90010725989
8B157615777537   ALCALA              EMMANUEL              NV     90009596157
8B157663884325   ANGELINA            SANTIBANEZ            SC     14567276638
8B1581A4685856   ROBERTO             MONTIE                CA     46063541046
8B15864745594B   ANGELA              FONE                  CA     49061156474
8B158689391525   FERNANDO            PADILLA               TX     75030466893
8B1586A998B163   JOSE                MONGE                 UT     31042406099
8B15876A684325   COREY               CRAWFORD              SC     90014757606
8B158788497133   MELISSA             BERRY                 OR     90003607884
8B158795377537   ALBERT              NEWMAN                NV     43062477953
8B158A28A71935   BRENNA              WALKER                CO     90011580280
8B159138947822   AREYION             GRAYER                GA     90014871389
8B15918128593B   JEFFREY             GRIMM                 KY     90005471812
8B159669755971   IXALLANA            SANCHEZ               CA     90013556697
8B159723141262   MICHAEL             MCCORMICK             PA     90012247231
8B159797A72B33   LIZBETH             MEJIA                 CO     90008557970
8B159815972B29   LITO                HERRERA               CO     33074968159
8B15995A15B183   ZAYZHON             THOMPSON              AR     90013779501
8B159A3927B42B   NUREKA              MILLS                 NC     90011200392
8B15B239A85856   JATDEN              TANG                  CO     90013072390
8B15B2A685B581   LOUIS               PACHECO               NM     90014192068
8B15B32435B32B   ESPINOZA            EDWEYNA               OR     90008353243
8B15B461597133   AARON               RENHARD               OR     90002464615
8B15B576772496   ANTHONY             MOLLICK               PA     90013015767
8B15B79966194B   CHESTER             CLARK                 CA     90008567996
8B15B877861928   MARIA               LOWERY                CA     90011718778
8B15BA72A5594B   CYNTHIA             HERNANDEZ             CA     49077990720
8B161164572B33   PHILLIP             DILOSA                CO     33054811645
8B161182771935   HERRELL             TOLER                 CO     90013131827
8B16131735B32B   SUSAN               BODOR                 OR     90014723173
8B161432A55971   CRYSTAL             BEATON                CA     90013024320
8B161461297B38   AARON R             STEWART               CO     90003994612
8B161517591975   IRENE               DONOVAN               NC     90014745175
8B16159858B163   ROBERTO             RUIZ                  UT     31094505985
8B161723A5B581   NANCY               NIETO                 NM     90012857230
8B161A8845B153   RANDELL             JOHNSON               AR     90011590884
8B161A8A851362   STEVEN              MADEN                 OH     90013940808
8B162391A72B29   PACILLAS            MARIA                 CO     33098023910
8B16256857192B   RICK                MARTINEZ              CO     90005655685
8B16262764B999   PABLO               ESCAMILLA             TX     90006836276
8B162658241275   BRANDON             IRVINE                PA     90005156582
8B16265A561934   MARIA DEL ROSARIO   JAIMES VALLADARES     CA     90011696505
8B162736441262   ANTHONY             STEELE                PA     51071127364
8B16279965B153   SHERRI              GIBBS                 AR     90011597996
8B162841371977   ELIZABETH           WALKER                CO     38085078413
8B162937385856   PRANITA             BANTHIA               CA     90012359373
8B162A76491975   VERONICA M          WYCHE                 NC     17044500764
8B163548572432   KEVIN               KESSLER               PA     90000605485
8B16397965B24B   HANNAH              ALLEN                 KY     90011189796
8B16421A571935   ALISHA              SALAZAR               CO     90013132105
8B164612A77537   JANAE               KUHNS                 NV     90000586120
8B164815197B38   YVONE               PIZARRO               CO     39035738151
8B164823A72B44   JOANNA              ESTRADA               CO     90005428230
8B164899791837   IRENE               JOHNSON               OK     21036918997
8B164978976B65   ANTONIO             MORA ESPARZA          CA     90013009789
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1466 of 2350


8B164A14961936   KIM           JONES                       CA     90005800149
8B165232291975   LINWOOD       WILLIAMS                    NC     90002522322
8B16561AA76B65   ESTEFANIA     TALAVERA                    CA     90013956100
8B165774297B3B   WILLIAM       RAYMOND                     CO     90014437742
8B165855A76B44   EIRCK         GUTIERREZ                   CA     90003288550
8B165952477537   JAVIER        SANDOVAL                    NV     90012919524
8B166648833698   NANETTE       RICHARDSON                  NC     12051366488
8B16675A44B22B   TODD          TAGGART                     IA     27089507504
8B16687649375B   KAREN         SMITH                       OH     90012448764
8B167199972496   JOANNE        PALATINUS                   PA     90014311999
8B16745878B154   JOHN          DEA                         UT     90014444587
8B16753A871935   GREG          RAEL                        CO     32063235308
8B16754535B338   CHRISTINE     LONG                        OR     44507855453
8B16794A247822   CEDRIC        DAVIS                       GA     90011309402
8B168218A72B44   DEISY         ESCALANTE                   CO     33097592180
8B168436197B3B   MICHAEL       TAYLOR                      CO     39081794361
8B168535961948   JESUS         VICTORINO                   CA     46026045359
8B168557797133   ANTONIO       AGUILAR                     OR     90013335577
8B1685A4476B97   SONDRA        HOPKINS                     CA     90014015044
8B168635793771   BOBBY         PRIDGEN                     OH     90013736357
8B168712676B44   PAUL          NEIFERT                     CA     90010247126
8B16882463B366   CHARISE       RAE-GIEM                    CO     33013818246
8B168976784325   RUBI          MEDRANO                     SC     90013009767
8B169142976B97   BILLY         MORALES                     CA     90010481429
8B169222971935   PETE          BLAIR                       CO     90010982229
8B16979395B27B   COURTNEY      MATTHEWS                    KY     90013897939
8B1697A538593B   LEEANNA       BARNES                      KY     66067247053
8B16992744B22B   TERESA        STOWE                       NE     90006379274
8B169AA8177537   NATHAN        HALLMARK SR.                NV     43023710081
8B16B364A3852B   WILLIAM       BAKER                       UT     90012733640
8B16B384272B62   TYLER         RILEY                       CO     90008433842
8B16B469454196   SALLIE        EARLE                       OR     90009844694
8B16B49A872496   MINDY JO      FORINGER                    PA     90002634908
8B16B752176B65   MARIA         ESCOBEDO                    CA     46087267521
8B16B991793771   MATTHEW       EISCHEN                     OH     64551369917
8B16BA2675B27B   JAMES         JOHNSON                     KY     90010550267
8B17157275B32B   TRAVIS        JOHNSON                     OR     90006725727
8B17182388593B   CINDY         GOSNEY                      KY     90012578238
8B171886697133   ANTOMI        LUCIANO                     OR     90014438866
8B172169572B33   MEGAN         CLARK                       CO     90014631695
8B17243445B338   CHRISTOPHER   CROOK                       OR     90013894344
8B172464497133   FREDDY        BONILLA                     OR     90013924644
8B172535172B31   ARABELLA      GUTIERREZ                   CO     33033015351
8B172626385856   ARACELI       SANCHEZ                     CA     90011966263
8B172678677537   CARLOS        FLAMENCO                    NV     90013936786
8B172A2167B42B   MICHAEL       GONZALES                    NC     11057850216
8B17314468B163   RAMON         PADILLA                     UT     31062851446
8B173265676B65   ENEDINA       GOMEZ                       CA     46054012656
8B173285741262   RICK          GILES                       PA     90012842857
8B173351547897   MARY          LYONS                       GA     90002133515
8B17357A891523   EDGAR         HOLGUIN                     TX     90009935708
8B17443A88B168   CANDELARIO    SANCHEZ                     UT     31098254308
8B17457855B338   REBECCA       WOODWARD                    OR     44579175785
8B174626991528   ATENAS        CAMPOS                      TX     90008466269
8B174644341275   AUDREY        BURKLEY                     PA     90014726443
8B174719872B44   AMANDA        GRIFFIN                     CO     90014587198
8B17479984B22B   JENNIFER      MICHELL                     NE     90010287998
8B1752A9477537   LUZ           RODARTE                     NV     90009442094
8B175589197B38   DIANA         MARQUEZ                     CO     39036865891
8B17561216194B   RICHARD       BARNETT                     CA     90012826121
8B17575A933698   CHARLES       WINFREE                     NC     12065157509
8B176158A8B168   JENNIE        GARCIA                      UT     31092531580
8B17623754B22B   KYLE          SIMONSEN                    NE     27003362375
8B176643A97138   ANGELA        GARCIA                      OR     44042806430
8B17676A993137   JONATHON      WATKINS                     KY     90007147609
8B176943747822   CORA          FORT                        GA     90014879437
8B177547272B33   YASMIN        PEREIRA                     CO     33091085472
8B17758223B164   GWENDOLYN     WOOLFOLK                    DC     90011435822
8B1777AA791975   DEISI         MENDOZA                     NC     90014947007
8B177A8495B581   LUZ           SAUCEDO                     NM     90009880849
8B178216671935   LILIA         RODRIGUEZ                   CO     90013132166
8B17842138593B   ANGEA         TAYLOR                      KY     66024004213
8B178472393771   ADAM          DEATON                      OH     90014844723
8B17852985B32B   MICHAEL       GARCIA LOGUE                OR     90013335298
8B1785A338593B   KATHY         PALMER                      KY     90013935033
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1467 of 2350


8B1788A2876B44   ARTHUR       ROJAS                        CA     90009908028
8B178911881688   TONI         CHUKES                       MO     90001099118
8B17895159154B   JULIA        MENDOZA                      TX     90005509515
8B1791A6572B29   SAMANTHA     SILVA                        CO     90014751065
8B179564772B31   DANIELA      GONZALEZ                     CO     90004245647
8B179761976B65   REBECCA      BARAN                        CA     90014247619
8B17B16425B153   NARRADA      HOGAN                        AR     90011611642
8B17B396871977   MOISES       TRUJILLO                     CO     38027363968
8B17B828361934   JOHANNA      FUENTES                      CA     90012268283
8B17BA3A39375B   ROBERT       COLLINS                      OH     90002160303
8B181334676B65   MARIBEL      PADILLA                      CA     90014583346
8B181529A55971   JESUS        HERRERA                      CA     49070065290
8B181584A84325   MIGUEL       MENDEZ                       SC     14515855840
8B18167225B581   JEREMY       DURANT                       NM     90013716722
8B181771731469   ROXANNE      KEMP                         MO     90014037717
8B181895897B3B   HUMBERTO     SALGADO                      CO     90014208958
8B182219684325   SAMONA       NELSON                       SC     90012872196
8B18252615B356   ANGELA       STOCKWELL                    OR     44583135261
8B182579A91975   CARLOS       HERNANDEZ                    NC     90011905790
8B182732372B33   SHANTAE      MARTINEZ                     CO     90011947323
8B182752591837   JOY          CUMMINGS                     OK     90014847525
8B18285912B225   CHRISTINE    JOHNSON                      DC     81081658591
8B18294A677537   TYSON        GIBSON                       NV     90014659406
8B183217176B97   DENISSE      GORDON                       CA     90014432171
8B18335778B154   MARY         TAGGART                      UT     31095463577
8B1833A354B22B   MICHELLE     FOOTE                        IA     90013053035
8B183416972B44   ARTHUR       GREENE                       CO     90012964169
8B183453477537   ALAN         CONTRERAS                    NV     90015134534
8B18361149154B   LORENZO A    ESPINOZA                     TX     90010206114
8B183938741275   KIMBERLY     SLATTON                      PA     51036819387
8B18422729154B   ANA          CANALES                      TX     75007402272
8B18424485B338   IZORA        GREEN                        OR     44535432448
8B184493347897   JALISA       WIMBUSH                      GA     90014724933
8B184565161928   DENEEN       GIBSON                       CA     46080735651
8B184567391525   DEIRDRE      COBOS                        TX     75010085673
8B18467225B528   JEREMY       DURANT                       NM     90013716722
8B18498354B22B   BRANDY       REDDEN-STECHENFINGER         IA     90013589835
8B184998291837   SHADE        BROWN                        OK     90010729982
8B184A37371977   AMADA        PRICE                        CO     90005440373
8B184A5147B42B   STEPHANIE    MATTHEWS                     NC     11075260514
8B1852A265B24B   TAMATHA      HALL                         KY     68048112026
8B185437876B97   MARK         BEAUEN                       CA     90008984378
8B185558971935   MARIA        PENA                         CO     90011825589
8B18555A497B3B   LITO         GUERRA                       CO     90005955504
8B185578472B44   RAYMOND      FRAZELL                      CO     90013415784
8B185625A76B65   JUAN         RANGEL                       CA     90011806250
8B18596556194B   VERONICA     GONZALEZ                     CA     90010689655
8B186353785856   RODERICK     SANTIAGO                     CA     90000703537
8B18645559375B   DANIELLE     FUSON                        OH     90015094555
8B1864A4431433   NATALYA      JOHNSON                      MO     90003344044
8B18661219375B   MATT         KENNEDY                      OH     90012506121
8B18692655B27B   SHANTEE      TINKER                       KY     90009729265
8B187354672B44   JULIO        PEREZ                        CO     33089353546
8B187875A77537   DIONA        PATRICK                      NV     90014698750
8B187A9575B32B   FELICIA      ROBINSON                     OR     90010170957
8B18821915B32B   NORENE       LEALAMANUA                   OR     44563182191
8B188374431433   LAMONT       GREEN                        MO     90009853744
8B1883A258B168   KATHLEEN     WIDEN                        UT     90002323025
8B188468185856   ALAN         NOCHE                        CA     46019344681
8B189111625164   WAYNE        REYNOLDS                     AL     90011001116
8B189139271935   REBECA       BANUELOS                     CO     38066341392
8B18936889136B   VICTOR       REYES                        KS     90008763688
8B189523777537   VICTOR       ANDRADE                      NV     90013235237
8B189644176B65   RAFAEL       SEGURA-ALVAREZ               CA     90013956441
8B18969A172B29   EDWARD       DE HERRERA                   CO     90002246901
8B18987989136B   VICTOR       REYES                        KS     90015218798
8B189895261934   DEANNA       VASQUEZ                      CA     90007088952
8B18B14989196B   SHERRY       LEONARD                      NC     90011901498
8B18B197751362   RASHAWN      BYRD                         OH     90014011977
8B18B44365B32B   MOSIAH       ROBERTS                      OR     90011794436
8B18B569872496   MISSY        JAILLET                      PA     51059265698
8B18B84825B27B   STEPHANIE    COOK                         KY     90003238482
8B191313A97B3B   JEREMY       USHER                        CO     39004803130
8B19135255B581   BRITTANY     MARTINEZ                     NM     90011483525
8B191394572B29   PENNY        STOUT                        CO     90004163945
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1468 of 2350


8B191697671977   TONI         HERNANDEZ                    CO     38026026976
8B19183835B27B   BEYAN        WEATHERSPOON                 KY     90009168383
8B191894191894   JAZMINE      COLLINS                      OK     90014788941
8B192125471977   RITA         ALANIZ                       CO     90007611254
8B19229928B168   HEBER        CONNEL                       UT     90010952992
8B19235545B27B   ADAM         WELCH                        KY     90008783554
8B19235588B168   NOELIA       ESPINOZA                     UT     90015093558
8B19249A172B62   ZENEA        PETER                        CO     33038444901
8B192715993137   SANDRA       FENRICK                      TN     90015547159
8B193342247822   MYEISHA      GLENN                        GA     90008303422
8B193523997133   SERGIO       MORA                         OR     90014485239
8B193544793771   SEAN         KNIGHT                       OH     90014135447
8B19385A55B183   TUWANNA      THOMAS                       AR     90009818505
8B19391546194B   ROLAND       BLUNTZ                       CA     90014539154
8B19398559154B   GILBERTO     VASQUEZ                      TX     90014489855
8B193A91272432   NICOLE       KEIRS                        PA     90011120912
8B194126497138   ANTONIO      BEDOLLA                      OR     90011511264
8B1942AA555971   JOSE         MAGDALENO                    CA     90013322005
8B19448AA5B581   NORMA        HERRERA                      NM     90014824800
8B19492A172B29   BILL         POPOVICH                     CO     90010719201
8B1949A8333698   SHAWN        HINES                        NC     90011339083
8B194A75284333   CARLOS       ANDUAGA                      SC     90014260752
8B19512995594B   TRINIDAD     MEDINA                       CA     90014671299
8B195149991525   MANUEL       MORUA                        TX     75090241499
8B195277872B44   KATRINA      SHORT                        CO     90013942778
8B1957A167192B   BILLY        WARNER                       CO     90005677016
8B19615A54B22B   JOSE         CORTES                       NE     27051971505
8B196413793127   OLIVIA       HAMPTON                      TN     90014244137
8B19644618B163   KAMALA       GURUNG                       UT     90013534461
8B196531777537   JACOB        STIRES                       NV     90010995317
8B196577361928   BRIANNA      ROCHA                        CA     90005715773
8B196739871935   OMAR         THORNE SR.                   CO     32053817398
8B196A61572B31   PRESTON      LYONS                        CO     33074380615
8B196AA826194B   SUSANNA      GONZALEZ                     CA     90014850082
8B197453497133   ELEANOR      GOUDIE                       OR     90007334534
8B19767A476B65   PAULINO      POZOS                        CA     90013956704
8B19784825B27B   STEPHANIE    COOK                         KY     90003238482
8B19785895B153   FORTINO      PEREZ                        AR     90011648589
8B19788488B163   SUSANNA      RUST                         UT     90015378848
8B198269871935   ANGELO       SAAVEDRA-MALTEZ              CO     90015072698
8B198314672B62   FABIAN       MORA                         CO     33007423146
8B1983A725B183   NATALIE      PORTER                       AR     90014283072
8B19842A772B33   SILVIA       CHAVEZ                       CO     90012184207
8B19866744B22B   MARISSA      MITCHELL-RILEY               NE     90013696674
8B199264371935   JAIMES       ALVAREZ                      CO     32085722643
8B199654285856   OCTAVIO      CRUZ                         CA     90006096542
8B1997A7372B44   QUINTIN      GARCIA JIMENEZ               CO     90013697073
8B199836A41262   KAREN        KAYDA                        PA     51059028360
8B199A22A5B27B   NASHAE       HADDER                       KY     90013190220
8B19B192A76B44   FLORENCIA    BOUCHER                      CA     46043431920
8B19B28218B168   JOHN         JACKSON                      UT     90000932821
8B1B1115A5B24B   SASHA        HODGE                        KY     90014481150
8B1B1176872B44   ZUKY         AGUILAR                      CO     90001871768
8B1B135514B22B   FARRAH       LASLEY                       NE     27056943551
8B1B1444157138   DEISY        REYES                        VA     90013004441
8B1B1A69672B29   GEOERGE      CHENAULT                     CO     33060770696
8B1B2644293771   DWAYNE       POPE                         OH     90014446442
8B1B2836147822   ERNESTINE    REEVES                       GA     14064878361
8B1B2912171935   BRIAN        GLASSGOW                     CO     90011579121
8B1B2999872B29   CHRISTAL     VALANZUELA                   CO     90015029998
8B1B3191391837   AMANDA       EDWARDS                      OK     21094191913
8B1B319737192B   JEFFREY      EICKMAN                      CO     90005651973
8B1B3378A47822   JESSICA      WASH                         GA     90010343780
8B1B348955B356   CRYSTAL      WILKERSON                    OR     44504244895
8B1B3725485856   SERGIO       ALMANZA                      CA     90010707254
8B1B378798B163   KARINA       ADETE                        UT     90007247879
8B1B399415594B   ELISEO       PACHECO                      CA     90009989941
8B1B417185B581   ALONSO       CARAVEO                      NM     35095231718
8B1B425165B32B   WALTER       CHATFIELD                    OR     90010902516
8B1B428325B356   CHRIS        TOMPKINS                     OR     90013462832
8B1B4628741262   DANIELLE     GREENWALT                    PA     90013966287
8B1B4999A5B139   DETRA        IRBY                         AR     23011659990
8B1B5176A8B168   MEGAN        MISCHELL                     UT     90013051760
8B1B5371354124   TAMMY        CASEY                        OR     90009473713
8B1B5491391927   KENNETH      GIBSON                       NC     90001174913
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1469 of 2350


8B1B6153A77537   TANYA         RACHELLE                    NV     90013411530
8B1B62A9393771   ROBERT        LLOYD                       OH     64524322093
8B1B6564597B3B   STEPHAN       STINNETT                    CO     90005435645
8B1B6716241262   MARGARET      SIEMINSKI                   PA     90014237162
8B1B7523997133   SERGIO        MORA                        OR     90014485239
8B1B753A272B33   DENA          HEJTMANEK                   CO     90012925302
8B1B7597997133   REBECCA       VANTINE                     OR     90008885979
8B1B7874197B38   VANESSA       ONTIVEROS                   CO     39033538741
8B1B798525B27B   JENNIFER      POINTER                     KY     90008859852
8B1B7A81471935   SABRINA       PARNELL                     CO     90014860814
8B1B844978B168   VICKI         CERVANTES                   UT     90014554497
8B1B8677772B44   CLAUDIA       GARCIA                      CO     90006326777
8B1B9124247822   HEATHER-ANN   COLMAN                      GA     90014501242
8B1B91A3233698   CHARLENE      SMITH                       NC     90000721032
8B1B941365B338   PRECIOUS      SCOTT                       OR     44534964136
8B1B9689672496   CYNTHIA       SCHANTZ                     PA     51037926896
8B1B9713777537   GRACIELA      RAMIREZ                     NV     90004757137
8B1B977215594B   DAWAYNE       REED                        CA     90011087721
8B1B9799297138   ALEYSHA       LLOYD                       OR     90004917992
8B1B9A39191837   RONALD        BAKER                       OK     21083700391
8B1B9A4585B581   BRENDA        MARTINEZ                    NM     90013520458
8B1BB1A7172B33   BLANCA        VORRATH                     CO     90013341071
8B1BB285891927   GAUDENCIO     APARICIO                    NC     90011102858
8B1BB424385856   ADAM          JOSE                        CA     90006394243
8B1BB438977537   ARKILOS       TARKEJ                      NV     90010374389
8B1BB83385B356   MATT          KREGER                      OR     44579478338
8B1BB838633698   SHAWNA        DICK                        NC     90014608386
8B1BB96185B338   KRIS          FERGUSON                    OR     90014329618
8B1BB985A9188B   JEREMIE       LANDIS                      OK     90012329850
8B1BBA8256194B   DARNELL       HILL                        CA     46003210825
8B211131655971   MICAELA       ALATORRE                    CA     90013101316
8B211291457133   JOSE          SUYO                        VA     90008282914
8B211298191837   TERESA        WILLIAMS                    OK     90013052981
8B21134A85B581   MARTHA        JARAMILLO                   NM     90004793408
8B211357376B97   OSCAR         CASAREZ                     CA     90013923573
8B21167238B155   JENNIFER      ROBINSON                    UT     90003976723
8B21183989154B   PATRICIA      CASTILLO                    TX     90014178398
8B212372172432   KAITLYN       SASSO                       PA     90011143721
8B21255227192B   KAREN         THOMAS                      CO     32069385522
8B212974A72B29   STEVIE        GUTIERREZ                   CO     90003969740
8B212A94541262   ROBERT        SMITH                       PA     51036690945
8B213275233698   TICHINA       WILLIAMS                    NC     12010852752
8B21328545B32B   JASON         SMITH                       OR     90006472854
8B213529998B23   CHAD          SIGMON                      NC     90008615299
8B21379A141262   CHRISTINA     VIALE                       PA     90007667901
8B213988397B38   JENNY         CHAVEZ                      CO     39045789883
8B2143A1547897   TEVIN         MALAKIUS                    GA     90014583015
8B2143A6872B33   CHRISTINA     HERNANDEZ                   CO     90012903068
8B214695397133   ALBA          RAMIREZ                     OR     90012586953
8B21481135594B   PAYGO         IVR ACTIVATION              CA     90012848113
8B21484825B249   KELLY         GREEN                       KY     90001648482
8B214A11891894   PEDRO         MARES                       OK     21077490118
8B215157372B44   SEAN          MARKOVICH                   CO     90012801573
8B21516A98593B   ANDRES        CORCHADO-FARGAS             OH     90014251609
8B215185A97133   LORENA        MARIN                       OR     90013031850
8B21548645B32B   MICHAEL       MARLATT                     OR     90011794864
8B215519586447   ORLANDRIA     YOUNG                       SC     90014575195
8B215676471935   JEANETTE      NORMAN                      CO     32007866764
8B2159A2947897   MICHAEL       HODGE                       GA     90014129029
8B216421876B97   JUAN          OCEQUERA                    CA     90013734218
8B21657965B338   DAVID         LEMON                       OR     90009895796
8B21689715B338   CINTHIA       JONES                       OR     90006668971
8B216A29977537   TAYLOR        ELIZABETH                   NV     90013840299
8B216A6A772B62   JOHN          MCCOULD                     CO     90014610607
8B217131533698   WILL          BENJAMIN                    NC     90013101315
8B2172A269154B   LAURA         CASTILLO                    TX     90013142026
8B217325191837   DAVID         MILLER                      OK     21048343251
8B21732895B581   MONIQUE       MALDONADO                   NM     90013483289
8B217747972496   JEFFREY       GREGG                       PA     90013087479
8B2177A1541262   JASON         ROSS                        PA     90000207015
8B21792775B27B   TOMMY         SCHROERLUCKE                KY     90010809277
8B217A75676B44   ORTEGA        PEDRO                       CA     90012480756
8B218351272B62   DEIGO         SWAN                        CO     90012653512
8B218679377537   LYSA          CHRISTIE                    NV     43041086793
8B218A47484325   LEA           ORR                         SC     90014620474
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1470 of 2350


8B21918428593B   KEVIN        MCDANIEL                     KY     90011201842
8B21923255B24B   PETE         GEORGE                       KY     90008072325
8B21927615B32B   BARBARA      VETTER                       OR     44515322761
8B21933647192B   MARIE        MENDOZA                      CO     32035583364
8B21946259375B   BRANDY       STALEY                       OH     64590504625
8B21B216872B62   EDGAR        MANUEL                       CO     90014382168
8B21B487372B62   EDGAR        MANUEL                       CO     90014314873
8B21B533541262   ROSALYN      WOMACK                       PA     90014275335
8B21B588772B31   CHARMAINE    ARMSTRONG                    CO     33027075887
8B21B5A3A72B64   MICHELLE     BRANCH                       CO     90013215030
8B21B86812B271   MARQUISHA    INMAN                        DC     81006868681
8B21BA6795B581   ANNA         CATANO                       NM     90012600679
8B221155355971   JORGE        OLIVERA                      CA     90013921553
8B221234472B31   JUSTIN       PIERCE                       CO     90008592344
8B22153619154B   SYLVIA       VEGA                         TX     75091235361
8B221693971977   VALERIE      VIGIL                        CO     90015096939
8B22176535B24B   TODD         HORTON                       KY     90013157653
8B22213545B153   MIA          FORDSON                      AR     90011661354
8B22227718B163   JESUS        VALDEZ                       UT     31010362771
8B22268635B27B   MONTAYA      WARE                         KY     90005926863
8B223119985856   LAURA        EGEA                         CA     90014601199
8B223126172432   ROSEMARY     YOUNG                        PA     90007641261
8B22361A172B74   SEAN         MCENIRY                      CO     90012056101
8B223887741262   KELLEY       BELL                         PA     90015008877
8B223961197B3B   DEREK        HERSCH                       CO     39005479611
8B223A17855971   TASHA        LAFLAMME                     CA     49070470178
8B224321876B65   GLORIA       BAROUSSE                     CA     90010923218
8B224359497B3B   SCOTT        OLSON                        CO     39026003594
8B224399185856   ERICA        PETERSON                     CA     90013653991
8B224513284325   JOSE LUIS    VARELA                       SC     14570055132
8B22472A772B62   BRIDGET      GARCIA                       CO     33011537207
8B22476995B24B   MARIO        ABDULLAH                     KY     90013157699
8B225163171977   TYRONE       COCA                         CO     90011031631
8B225317A76B97   WILLIAN      CASTELLANOS                  CA     46006313170
8B225378655971   EVELYN       REYES                        CA     90010213786
8B225633A5B356   ANTHONY      CRISCOLA                     OR     90003436330
8B22563A62B271   RODNEY       ADAMS                        DC     81081776306
8B225729A72432   CHRISTINE    CROMPTON                     PA     90014207290
8B225983951362   JESSICA      VALENTINE                    OH     90013779839
8B2259A6297B38   JUSTIN       MUNSON                       CO     90007669062
8B226164872428   JOE          STIMAK                       PA     90010721648
8B22651445B32B   OMAR         MOHAMMED                     OR     90011795144
8B226974593771   STEVEN       SCHMIDT                      OH     90011409745
8B226A2135B183   TIARA        WHITE                        AR     90015090213
8B227283A71935   HECTOR D     MILLAN                       CO     32009332830
8B22736575B581   LAURENA      BURCH                        NM     90012383657
8B227774297B3B   WILLIAM      RAYMOND                      CO     90014437742
8B227965171935   JULIE        CARTER                       CO     32049199651
8B22814735B27B   MARIANA      RAMIREZ                      KY     90013511473
8B228155372B62   GLENN        WEAVER                       CO     33029531553
8B228299991837   MARYLOU      RODRIGUEZ                    OK     90013052999
8B22837485B32B   DANA         LEFEVER                      OR     90014783748
8B228453947897   MARGARET     GREEN                        GA     90013774539
8B228482947897   MARGARET     GREEN                        GA     90011084829
8B228555741262   ANDRE        HENDERSON                    PA     90013595557
8B22872945B183   LYNDSEI      FORBES                       AR     90014197294
8B22879A25B32B   ROBERT       HOPE                         OR     90008267902
8B22911A741225   FRANCISCO    MONDRAGON                    PA     90004161107
8B229288747897   JOHN         GOODRUN                      GA     90010092887
8B229293A41225   FRANCISCO    MONDRAGON                    PA     90014102930
8B22942A555971   JOSE         MENDOZA                      CA     90015114205
8B22943A971935   JUAN         FLORES                       CO     90013134309
8B22951195B183   TONYA        CARTER                       AR     23002705119
8B229734455971   MARIA        ARELLANO                     CA     90012897344
8B22987385B356   SAVANNA      ROBINSON                     OR     90003928738
8B229981977537   MATT         FERGUSON                     NV     90005419819
8B22B19535B27B   ROSSHELL     MADESON                      KY     90007101953
8B22B21A555971   ALEXANDER    RUIZ                         CA     90013312105
8B22B499861931   RAFAEL       GARCIA                       CA     90008394998
8B22B598461928   CHANTE       BROOKINS                     CA     90008775984
8B22B656791979   SHANI        SHAFI                        NC     17050636567
8B22B732641262   KELLI        VERNO                        PA     90010017326
8B22B867A91894   TAKENNA      TRIPLETT                     OK     90005448670
8B22BA8589154B   VANESSA      ORTIZ                        TX     90013290858
8B231117593771   JOSHUA       PERKINS                      OH     90014761175
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1471 of 2350


8B231255A97133   JORGE LUIS   RAMIREZ                      OR     44064012550
8B2314A7A63668   DANIEL       CREASY                       MO     90011274070
8B231A12647897   GEORGETTE    CANTON                       GA     14051480126
8B23221A35B581   ZORAIDA      CINTAO                       NM     35019082103
8B232519261557   CYNTHIA      THURMAN                      TN     90015575192
8B2325A5461928   ELOY         AVILA                        CA     90008115054
8B232682197B3B   MICHELLE     DOHERTY                      CO     39082376821
8B232684A47822   YAQUARIUM    JACKSON                      GA     90014966840
8B2327A785B27B   JOHN         POTEET                       KY     90014327078
8B232811641262   LONDEL       MCCARRELL                    PA     90014778116
8B232992971977   ROBERT       GARCIA                       CO     90009649929
8B233444772B33   LINDA        PRETEKIN                     CO     33004944447
8B23348335B399   RUDY         COUSINS                      OR     44595004833
8B233777297B3B   BRYAN        CRAWFORD                     CO     39084127772
8B23387722B271   RONALD       DELEON                       DC     81069858772
8B23435145B183   TOWANDA      CHILDRESS                    AR     90015123514
8B23463354B22B   SUSANA       VEGA                         NE     90011026335
8B23469628593B   JESSICA      HODGE                        KY     66071706962
8B234739771977   EDIE         RODRIQUEZ                    CO     90013817397
8B234743871935   JEREMIAH     YOUNGBLOOD                   CO     90007397438
8B23481A255971   IRENE        FOSTER                       CA     90015108102
8B234893397B3B   VERONICA     NAVAJO                       CO     90002258933
8B23542A493771   SHARON       EPMONDSON                    OH     90010304204
8B23574A697133   DELFINA      RIVERA                       OR     90011207406
8B235756172432   NICOLE       SAGER                        PA     90012027561
8B23685325B356   RAYMOND      ORLASKE                      OR     44564718532
8B236888647897   REBECCA      YOUNG                        GA     90013838886
8B236896376B97   FREDDY       VELASQUEZ                    CA     90008808963
8B237193171977   JONATHAN     GOMEZ                        CO     38052031931
8B23754865B139   RAGIH        JACKSON                      AR     23085825486
8B23756526194B   JASON        RAGAN                        CA     90006155652
8B237757A55971   RAY          VERDUZCO                     CA     90002017570
8B23812519154B   MAYRA        DUARTE                       TX     90008131251
8B238245497B3B   ALEJANDRA    DOMINGUEZ                    CO     90010822454
8B2382A9A31278   DANIEL       DIAZ                         IL     90014972090
8B23848355B153   NICK         COVER                        AR     90007184835
8B238A5A671935   ESSENCE      GLOVER                       CO     90014870506
8B239162197138   BRADLEY      MCELROY                      OR     90012211621
8B239293172B33   ERIKA        DELOS SANTOS                 CO     33037612931
8B23952419154B   LETICIA      GUILLEN                      TX     75043805241
8B23958858B154   JEFFREY      STATTMAN                     UT     90001655885
8B239768A91837   LYNNDSEY     THOMPSON                     OK     90014847680
8B239969897133   STEPHNIE     FILIPELLI                    OR     90009309698
8B23B113A72B44   ROGELIO      MARTINEZ                     CO     33058911130
8B23B12625B356   JUAN         HAU                          OR     90014951262
8B23B295241262   CRYSTAL      KIRKLAND                     PA     51095222952
8B23B345561936   MEROSLABA    ROSANO                       CA     90009903455
8B23B355576B65   OMAR         LUCIO                        CA     46065643555
8B23BA76372B62   ESMERALDA    GUEVARA                      CO     33068340763
8B24118AA97B3B   BHAVIN       PAREKH                       CO     90012361800
8B241215655971   JAIME        ROMO                         CA     49000052156
8B24145929154B   JUAN         HURTADO                      TX     90013234592
8B241535591837   SANDRA       CRAVEN                       OK     21044435355
8B2417A7172B62   FILIBERTO    ANCHONDO RIOS                CO     90009957071
8B241934197138   KARINTA      HONG                         OR     90010799341
8B242297971977   BRANDI       ADAKAI                       CO     38033382979
8B242391A61928   VALERIE      RUIZ                         CA     90012613910
8B242625861978   WESLEY       SAGE                         CA     90012736258
8B24265838B168   JOHN         DOMINGUEZ                    UT     90013866583
8B242829597133   FIDEL        DURAN                        OR     90004908295
8B242859425129   ALAA         ALRIMAWI                     AL     90014428594
8B243456197133   PEDRO        JIMENEZ                      OR     90013944561
8B243534397133   BARRY        NICKLES                      OR     90014045343
8B2436A2855971   TERESA       AVINA                        CA     90012976028
8B2436A7397133   STACY        HANNAFORD                    OR     90013976073
8B24394129154B   ANAHI        PEREZ                        TX     90002919412
8B243A15377537   TEFERA       ILAHUN                       NV     90012850153
8B24419755594B   CARINA       CONTRERAS                    CA     90014201975
8B24444142B249   KEONIE       CARTER.SIMM                  DC     81010404414
8B244525947897   RHONDA       MILLER                       GA     90011895259
8B244888172B31   LUKE         TRUJILLO                     CO     33091238881
8B2448AA972B33   SARAH        RAMIREZ                      CO     33098928009
8B244A48A72496   FERNANDO     ALANIZ                       PA     90015550480
8B24514625B338   JEREMIAH     BERMAN                       OR     44561011462
8B245173785856   STEPHAINE    SUMMONS                      CA     90013401737
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1472 of 2350


8B24521635B581   EMILY          OLIVARES                   NM     35061772163
8B245527772B29   TRAVIS         RICKMAN                    CO     33015995277
8B24555765B183   THIVHAVHUDZI   SYKES                      AR     90013925576
8B24559979154B   MARTIN         GUTIERREZ                  TX     90015205997
8B245A22876B44   ANALI          CASTELLANOS                CA     90004270228
8B245A63741291   CHRIS          LORKOWSKI                  PA     90012460637
8B246218933B33   RYAN           TRIPLETT                   OH     90013882189
8B246366961978   VICTORIA       MEZA                       CA     46012373669
8B246628885856   PHYLLIS        BELTER                     CA     90012376288
8B24674145B32B   CANDICE        DENNETT                    OR     90014737414
8B246835172B31   KEITH          DEMPSEY                    CO     33021588351
8B24693248B168   RYAN           KNIGHT                     UT     90010919324
8B24712A133698   KIMBERLY       JOHNSON                    NC     12092271201
8B247156576B44   GERMAN         SOCHIMANAHUE               CA     90011301565
8B247178871935   FELIPE         VALTIERRA                  CO     32016531788
8B24731425B24B   MICHAEL        CLAY                       KY     90010823142
8B247493776B44   GERMAN         SOCHIMANAHUE               CA     90011984937
8B247589A71977   DAVID          WYCKROFF                   CO     90008785890
8B24764AA8593B   GINGER         FOX                        KY     90001006400
8B247723672496   TARA           MACHER                     PA     51040907236
8B24774A261924   LORRI          KARAM                      CA     90014087402
8B247895791837   BRIAN          FOUNTAINE                  OK     21011398957
8B247A1676194B   BRIANA         CAMPUZANO                  CA     46094250167
8B248625197133   HYRUM          ANDREASON                  OR     90015596251
8B248684977537   GRACIELA       RAMIREZ                    NV     90009276849
8B24892818B163   ROBERT         WIKER                      UT     90013219281
8B248A2A571977   GRACE          SMITH                      CO     90001990205
8B248A69371935   GUSTAVO        FLORES                     CO     90014870693
8B249143961934   VERONICA       VASQUEZ                    CA     90007091439
8B2495A4471935   DOLORES        JONES                      CO     90002815044
8B24969169154B   RUBEN          MARTINEZ                   TX     75003206916
8B24982395B32B   GABRIEL        RUIZ                       OR     44553818239
8B249A4349712B   STEPHANIE      MODGLIN                    OR     90003260434
8B249A81541275   CYNTHIA        SCHULTZ                    PA     90012450815
8B24B18117B42B   JAMES          HILL                       NC     90005191811
8B24B1A7172B33   BLANCA         VORRATH                    CO     90013341071
8B24B427A31435   KAMILAH        SMITH                      MO     90010694270
8B24B43198593B   CHARLES        STOKES                     KY     66039934319
8B24B49235B153   SERGIO         ABEL                       AR     90011704923
8B24B51A191837   JIMMIE         LISTENBEE                  OK     90006505101
8B24B8A2776B97   TERRENCE       GLOVER                     CA     90006218027
8B24B98253B358   JUAN           SERNA                      CO     33052889825
8B251362176B97   JASON          JIANUZZI                   CA     46089813621
8B251432493137   MARQUISHA      LOSTON                     TN     90015614324
8B251463772496   CHRISTY        ACHATZ                     PA     90014654637
8B251792397138   JAQUELINE      STANLEY                    OR     90013457923
8B2517A1291837   CECILIA        YUMAN                      OK     90007017012
8B251851376B65   JUAN           SANCHEZ                    CA     90007198513
8B251A79197138   MALIA          STERLING                   OR     44060800791
8B252131276B97   TAIU           TAUMAOE                    CA     90013891312
8B252214577537   FREDERICK      KAWAKAMI                   NV     90012972145
8B25271675594B   DEBANY         LITTLE                     CA     90001977167
8B2527AA676B44   AMADEO         HERNANDEZ HERNANDEZ        CA     90012297006
8B252959484325   MONA           POLITE                     SC     14519099594
8B25326A247897   RASHUNDA       STORY                      GA     90010412602
8B253292272B44   NORMA          SANCHEZ                    CO     90013942922
8B253563671977   KAYLIE         THOMAS                     CO     90012235636
8B253835691837   SHAWN          RICHARDSON                 OK     90014438356
8B253927851362   DISHAYA        ADAMS                      OH     90014879278
8B254356272B29   DAMIETRA       JONES                      CO     90014033562
8B254498485856   LORETTA        DOGGETT                    CA     90000524984
8B25531592B956   JUAN           ARELLANO                   CA     90012103159
8B25538285B183   HEATHER        PIAZZA                     AR     90006553828
8B255396147822   JULIE          ROBERTS                    GA     90013223961
8B255543193771   SUMMER         KEY                        OH     64520275431
8B255724147897   AUDREINA       COTTON                     GA     90010457241
8B25573378B188   JENNIFER       KAMRYN                     UT     90012177337
8B25593A263627   DANIELLE       GUION                      MO     90013589302
8B256256747897   TOMICIA        DAVIS                      GA     90015212567
8B2562A7376B65   JORGE          BAILON                     CA     90013972073
8B2563A9372B31   KEVIN          BOSWELL                    CO     90011713093
8B256582572432   MEGAN          LIPOSCHAK                  PA     90001025825
8B256645872432   JOLENE         ANDERSON                   PA     90015146458
8B256828A8593B   JESSICA        REAGUER                    KY     90012588280
8B256934533698   RIGOBERTO      BARRIENTOS                 NC     12079999345
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1473 of 2350


8B2572A3993771   SAMUEL            GEBREWAHID              OH     90012112039
8B257396471935   PAYGO             IVR ACTIVATION          CO     90010543964
8B25764A441262   DONALD            CARNEY                  PA     51033386404
8B257711772B31   MARIA             HERRERA                 CO     90013807117
8B257882531433   VINCENT           RAPUANO                 MO     90002058825
8B25788A18B553   MONICA            PEREZ                   CA     90011078801
8B257912947897   CHRIS             WOMACK                  GA     90013859129
8B257982572B44   GERALDINE         SHULDHAM                CO     90014839825
8B257A26A72B31   MARILU            PERALTA                 CO     33080150260
8B257A2A171977   MISTY             HENDERSON               CO     38037340201
8B258497833738   KHANDAKER         NAHID                   TX     90014724978
8B2586A9297138   BENNY             LEDESMA                 OR     90010226092
8B258732141262   TINA              JARACZ                  PA     90000227321
8B25886766194B   JESUS             VILLAROBO               CA     90013168676
8B258AA9941275   MARTIN            SHAWN                   PA     90014060099
8B2591A7976B65   FRANCISCO         TOPETE                  CA     46066921079
8B2592A1484325   AMBER             BROSCHARD               SC     90014412014
8B25989A25B356   PASTOR            VEGA VILLA              OR     44563258902
8B259957A33698   DEANERMAE         CLARIDA                 NC     90011749570
8B259986641272   JANAY             AUSTIN                  PA     90002339866
8B259A56572496   ANTHONY           POLLARINE               PA     90007790565
8B259A6418593B   GEORGIA           MITCHELL                KY     90014600641
8B25B2A7441262   CRYSTAL           GRICUS                  PA     90013282074
8B25B535591837   TRAVIS            CARTNER                 OK     90003795355
8B25B563293771   PAYGO             IVR ACTIVATION          OH     90010175632
8B25B82AA5B24B   ALEXIS            WRIGHT                  KY     90013158200
8B261432771935   GRACIELA          PERALTA                 CO     90010544327
8B261456197133   PEDRO             JIMENEZ                 OR     90013944561
8B261656172451   TRAVIS            SMITH                   PA     90007716561
8B2616A395B24B   BOBBY             PARKER                  KY     90014756039
8B26189A272B33   WILLIAM           DIETZ                   CO     90012508902
8B262281A5B183   VERONICA          RADFORD                 AR     90014152810
8B262675151362   TELISHA           WILLIAMS                OH     90014806751
8B2627A7A97133   CHANDLER          PAPPAS                  OR     90013947070
8B26282594792B   WAYNE             BURCHAM                 AR     90003918259
8B263167172432   DAVID             BURKE                   PA     90013751671
8B263237276B65   ELISABET          TERAN                   CA     90012942372
8B2641A6271935   HENRY             HUGUENIN                CO     90014871062
8B26433A65B32B   RICHARD           MACKENZIE               OR     90014773306
8B264544797133   SONIA             MORENO-FLORES           OR     90015345447
8B264669797B3B   STACEY            TRUJILLO                CO     39091016697
8B26479A772432   ROBERT            SIMMS                   PA     51031547907
8B264961472B33   ERICK             LARA                    CO     90006299614
8B265529676B65   ESTEBAN DIEGO     ESTEBAN                 CA     90003715296
8B26553A14B22B   LARRY             NOLAND                  IA     90013205301
8B26569628B163   BERTA             SANDERS                 UT     31091136962
8B265812476B97   EMILY             WRIGHT                  CA     90013448124
8B26583175B32B   CASSIANNA         TRAPP                   OR     90011798317
8B26624875B356   JOSH              SCHOEN                  OR     44581812487
8B26629265B32B   JENELLE           PERKINS                 OR     90009862926
8B266348A33698   ALVARO            GARCIA                  NC     90002953480
8B266528498B34   GRICE             LYNN                    NC     90011045284
8B266589172B31   NATTLIE           HERRERA                 CO     33064435891
8B266992276B65   MARTA             COLIN                   CA     90004389922
8B266A86191837   ALLANA            SCHMEHR                 OK     21094650861
8B267147441262   ANDREA            VARGAS                  PA     90008581474
8B267457A97B38   DARCY             PAGET                   CO     39090954570
8B267672661928   ALEJANDRA         FLORES                  CA     90005716726
8B26788975B27B   LAWRENCE          SCOTT                   KY     90010198897
8B268129A61934   LUPITA            RUELAS                  CA     90011701290
8B268133971935   BOBBY             BOLDEN                  CO     90014871339
8B268256772496   DANIEL            BURNS                   PA     90014092567
8B268286972432   MELINA            JACKSON                 PA     90014382869
8B26831425B356   SUSY              HERNANDEZ               OR     90010563142
8B268343885856   ROSA              NAVARO                  CA     46004783438
8B26838945B153   ROLLANDA          TELLIS                  AR     23036133894
8B2683A996194B   TAYLOR            LEGRAND                 CA     90011983099
8B26846AA72B44   MARIA MAGDALENA   CARLOS                  CO     90010354600
8B2684A3991894   LOUISE            LAFFERTY                OK     21049874039
8B268733576B97   CANDELARIA        MALDONADO               CA     90013117335
8B26889585B24B   EDWARD            BARNES                  KY     90013928958
8B2692A8991837   QUEEN             MCNEIL                  OK     90013922089
8B269334972B33   ERIC              JOHNSON                 CO     90015483349
8B269344855971   HAMILTON          HYATT                   CA     90002463448
8B2694A149375B   ROBERT            WILBANKS                OH     64549434014
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1474 of 2350


8B26968A972B33   ALOYA        JOSE                         CO     90008796809
8B269712872432   KARRELL      HEYMAN                       PA     90004647128
8B269A23891894   JOEL         GOMEZ                        OK     21002350238
8B269A54672B62   RINABEL      WALKER                       CO     90010580546
8B26B273891525   LUISA        CUEVAS                       TX     75067962738
8B26B33235B32B   TAUCHA       BOWDEN                       OR     44593293323
8B26B52428593B   AMANDA       SIZEMORE                     KY     90015195242
8B26B658676B97   JASMINE      PERRYMAN                     CA     46017726586
8B26B76A331433   TASKA        BOYD                         MO     27547527603
8B26B98955B581   MARIA        BARRON                       NM     90009679895
8B26B9A1151362   BRYAN        MENENDEZ                     OH     66059549011
8B26BA8A791926   RON          SOPKOVICH                    NC     90012730807
8B2711A928B154   ALEX         LOPEZ                        UT     90014131092
8B271347533698   KENNETH      SHARPE                       NC     12036733475
8B27135925B183   JOSHUA       FINLEY                       AR     23087633592
8B271A6A393771   BLAK         FRISHAUN                     OH     90000960603
8B27222435594B   SHANE        AUST                         CA     90009192243
8B27224A55B27B   BROOKE       DANIEL                       KY     90001022405
8B27239965B581   SUSAN        TAFOYA-LUCERO                NM     90002483996
8B27262847B389   ROB          BROWN                        VA     81080966284
8B272666672B31   TENISHA      MCCLAIN                      CO     90004896666
8B272686451362   EARL         FOWER                        OH     66045546864
8B272AA6A36121   SHELBY       PEREZ                        TX     90002350060
8B2733A328B163   SALVADOR     LOPEZ                        UT     31008863032
8B273637A72432   BREANNA      KADEMENOS                    PA     51013516370
8B27374565B581   JIMMY        ROMERO                       NM     35081817456
8B273955447897   KENDRA       MILTON                       GA     90012309554
8B273AAA672B31   DAVID        TRAN LE                      CO     33092370006
8B274122872B62   DONALD       DOEBELIN                     CO     90004401228
8B274372355971   JUAN         VASQUEZ                      CA     90013603723
8B274413684325   IRMA         CASTRO                       SC     90014424136
8B274666172496   DARLENE      EUTSTY                       PA     90015516661
8B275224A41275   MARK         KEYSER JR                    PA     90012402240
8B275382255971   STEPANIE     EDDINGS                      CA     49085683822
8B27542868B163   TEIG         VALENTINE                    UT     90014884286
8B275438A97B38   JOSHUA       GALLATON                     CO     90011774380
8B2765A8272B62   DAVID        DENNIS                       CO     33019715082
8B276685261928   HECTOR       FLORES                       CA     90005716852
8B276873697133   CASSANDRA    REYES                        OR     90013948736
8B2768A565B24B   JACKIE       BILLINGSLEA                  KY     90004688056
8B27696415B32B   MIKEL        GORDON                       OR     90001349641
8B2774A3777537   TINA         SIDLES                       NV     43019534037
8B277946A97B3B   MICHAEL      JAMES                        CO     39041049460
8B27855145B581   MAYELA       LOPEZ                        NM     35048965514
8B278622A84325   BARBARA      DAVIS                        SC     90011936220
8B278999276B97   KIM          ALLEE                        CA     46013719992
8B278A6A35B338   ANTONIO      HERNANDEZ                    OR     44501630603
8B279623572B33   KATHLEEN     BARRETT                      CO     33062596235
8B27982329154B   MAYRA        MONGE                        TX     90014858232
8B27983A38B154   EMILO        NEGRETE                      UT     90014098303
8B27987635B356   ELIEL        JACINTO CUEVAS               OR     90011368763
8B27996628B168   MISTY        ROSAS                        UT     90010969662
8B279973197138   ALEJANDRO    TORRES                       OR     90012379731
8B279A79A9375B   BARBARA      DANIELS                      OH     64576150790
8B27B171151362   AVA          KING                         OH     66013931711
8B27B43994B22B   KIM          NGUYEN                       NE     90014264399
8B27B892271977   JOHN         MARTINEZ                     CO     90007808922
8B281299441262   ASHLEY       BENARD                       PA     51081692994
8B28199828B163   HEATHER      MEMMOTT                      UT     90007979982
8B282191371935   JUSTIN       RANDON                       CO     90013141913
8B28253123B391   JASON        CLIFTON                      CO     90010725312
8B28259A871977   MONIQUE      BALLEJOS                     CO     90013685908
8B2826A1A8593B   DONNIE       SIZEMORE                     KY     90010556010
8B2827A318B163   CAROLINA     HERNANDEZ                    UT     90013197031
8B282935691837   MELVIN       TATUM                        OK     21090469356
8B28295745B139   JOHN         LINDSEY                      AR     23090809574
8B282998272B62   JOSE         SEGOVIA                      CO     33055669982
8B282A1385B594   MELINDA L    MONTOYA                      NM     90006290138
8B283349272B44   BLANCA       CASTILLO                     CO     90009463492
8B283423697138   MARTINA      BABB                         OR     44086214236
8B283583855971   DANIEL       CHAVIRA                      CA     49002845838
8B283631576B65   JUSTIN       ROBENSON                     CA     90014196315
8B283717447822   NASTAJAH     TAYLOR                       GA     90015007174
8B283A4428B163   ALEJANDRA    MONCON                       UT     90011950442
8B28412775B183   CHARLES      PATTILLO                     AR     90010251277
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1475 of 2350


8B284444272B62   DEBORAH      REYES                        CO     90011374442
8B28445648B154   ABEL         GONZALEZ                     UT     90013304564
8B28474965B32B   LAZARO       MACHIC COTOC                 OR     44530957496
8B2847A6477537   RONALD       PEVNY                        NV     90007647064
8B285177A6B251   AMY          SOBCZAK                      AZ     90014071770
8B285226997B3B   JASON        THOMPSON                     CO     90013262269
8B28544A74B22B   KIMBERLY     FOOTE                        IA     27089704407
8B2855A6472B44   JOEL         TORRES                       CO     90012905064
8B285745877537   YENI         MORA IZQUIERDO               NV     90004747458
8B285835A72B62   KIMBERLY     MORRINSON                    CO     90014598350
8B2858A7771935   MYONG        MOON                         CO     32003588077
8B28593197192B   ADAM         LOWE                         OK     32013589319
8B285A93897133   WILLIAM      HERD                         OR     44072840938
8B28622176194B   JESUS        MUNOZ                        CA     90012212217
8B286277671935   CATHERINE    GONZALES                     CO     32056292776
8B286375A9154B   BRENDA       MURGA                        NM     75082893750
8B286411872B33   SHANONDOAH   WILSON                       CO     90012444118
8B28661A372B29   MIRIAM       TRILLO                       CO     33015876103
8B2868A345594B   LORENZO      JUAREZ                       CA     49084768034
8B286AA8577537   JOSE         CAMPA                        NV     90010300085
8B2875A865B153   HERAN        DIEGO                        AR     90011735086
8B28767949154B   GABRIELA     LOPEZ                        TX     75040476794
8B287763876B97   ANTONIO      PEREZ                        CA     46052207638
8B28812784B524   BRANDON      KOONCE                       OK     90001721278
8B28861A247897   MONIQUE      GUNNELL                      GA     14087476102
8B288867672B31   ANDREW       CHAMPION                     CO     33094948676
8B288A83172B44   RICHARD      CHILDS                       CO     33014750831
8B28921785594B   NAIDA        LOPEZ                        CA     90014672178
8B289224961978   ROCIO        CANO                         CA     46095022249
8B289414377537   IMELDA       RODRIGUEZ                    NV     90013594143
8B28945319375B   MARGARET     SWEITZER                     OH     64542304531
8B289758593771   EMILY        CLARK                        OH     90015207585
8B28976548B154   RICO         CASILLA                      UT     90012827654
8B289A88897B3B   STEPHEN      GRAY                         CO     90009510888
8B28B479576B65   EFREN        NAVARRO                      CA     46059634795
8B28B713597B38   RACHEL       BENNETT                      CO     39058297135
8B291178861934   DAVID        DIDDON                       CA     90011701788
8B291279955971   JORGE        AVALOS                       CA     49050772799
8B291297791525   JOSIE        FERNANDEZ                    TX     75090282977
8B291777291975   CARLOS       MEJIA                        NC     90014987772
8B291A98993137   MAIYA        WASHINGTON                   TN     90015600989
8B29288638B168   ALFREDO      MORALES                      UT     90002168863
8B29313A75136B   JEFF         BLAINE                       OH     66012631307
8B293287141262   ANTHONY      MORRISON                     PA     90014442871
8B29353828B168   JUSTINA      IBARRA                       UT     90011165382
8B29361277242B   LISA         GISHNOCK                     PA     90013306127
8B29371242B271   JERYLE       GREENE                       DC     81097897124
8B293732561936   SHERI        PARSONS                      CA     90011937325
8B293745672B29   CESAR        CASTILLO                     CO     90007987456
8B29385267242B   LISA         GISHNOCK                     PA     90011058526
8B29387845B32B   JOSE LEON    HERRERA                      OR     90012728784
8B29398675B32B   LORI         CUBIT                        OR     44555959867
8B2939A6685856   STEPHEN      LISTEK                       CA     90012819066
8B294283597138   TYLER        BARDON                       OR     90013482835
8B294375971977   STEVE        VERHOEFF                     CO     90006063759
8B29445775B581   FELICIA      RENEE                        NM     90005634577
8B2946A6593137   NATORIUS     DALLRN                       TN     90015536065
8B294921897B3B   ANA          SANCHEZ                      CO     90012969218
8B294932A85856   REBECA       SALDANA                      CA     90014749320
8B294964651362   ALICIA       GALDAMEZ                     OH     90012869646
8B295247761934   EDUARDO      MOLINA                       CA     90007102477
8B29532455B32B   JAVIER       HERNANDEZ                    OR     90007213245
8B295775A93771   SUNNIE       FULLER                       OH     64531207750
8B29619994B22B   HARMAN       AMY                          NE     90011041999
8B2965A1891975   MELANIE      NEELY                        NC     90014995018
8B296779341262   DEBBI        CATON                        PA     90013457793
8B296966961948   LILIA        CASTRO                       CA     46013999669
8B296993997133   ERIK         GASCU                        OR     90003479939
8B297295A72496   LISA         MCCLOSKEY                    PA     90013872950
8B29733432B271   IRIS         MCCLELLAN                    DC     81038263343
8B297565771935   TIFFANIE     WHEELER                      CO     90008935657
8B29769A99375B   JAMIE        DOTSON                       OH     64559256909
8B29843218B168   RUBI         GARCIA                       UT     90009994321
8B298441361948   ALEX         GLENN                        CA     90001274413
8B298797191975   JOSE         LOPEZ                        NC     90014987971
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1476 of 2350


8B298851A8B154   TARA         HURST                        UT     90013158510
8B298877651362   LILIAN       WEBER                        OH     90015248776
8B2988AA672B31   MARIA        MONARREZ                     CO     33040598006
8B298AA774B578   MARVIN       BROWN                        OK     90010290077
8B299154A47897   VALERIE      RICHARDSON                   GA     14046951540
8B2995A868593B   ROBERT       EVANS                        KY     90012525086
8B2996A939154B   OSCAR        RIVERA                       TX     90013526093
8B299A19171935   KIM          MACKEY                       CO     32031270191
8B299AA774B578   MARVIN       BROWN                        OK     90010290077
8B29B28198B168   BRANDA       MACARTHER                    UT     31043382819
8B29B55478B163   DEE DEE      BECKS                        UT     31092965547
8B29B873697133   CASSANDRA    REYES                        OR     90013948736
8B29BA23A47897   TIMOTHY      SINGLETON                    GA     90015120230
8B2B1115A9375B   ADAM         ANDREJCIO                    OH     90006801150
8B2B1222233655   MARTHA       LITTLE                       NC     90003362222
8B2B166645B139   ROBERT       SALAZAR                      AR     23062716664
8B2B1759397133   ANTHONY      WOODY                        OR     90014807593
8B2B195A797B3B   VANESSA      TREVINO                      CO     39092309507
8B2B1997A47897   PERISHA      WILDER                       GA     14007579970
8B2B199A447822   PORSHA       ROBINSON                     GA     90014919904
8B2B211289136B   ALEJANDRO    CRUZ                         KS     90009701128
8B2B234693B393   DEBORAH      PADILLA                      CO     90013063469
8B2B2579376B65   BERTHA       GARCIA                       CA     46085265793
8B2B2619891323   DARRELL      WISE                         MO     29086056198
8B2B269565B581   MEDINA       JOSE                         NM     90000916956
8B2B27A9A9375B   JASON        POE                          OH     64525567090
8B2B2942533698   CAITLYN      MCCAMMON                     NC     90013099425
8B2B3198393723   PATRCIA      LONGSTREATH                  OH     90013051983
8B2B376345B32B   ROBERT       HYKE                         OR     90011357634
8B2B37A7651598   GUADLUPE     DELAROSA                     IA     90007307076
8B2B382742B86B   MARK         LIGHTBODY                    ID     90006408274
8B2B387A69375B   KATY         SCROGGS                      OH     90015488706
8B2B393A947822   RICKY        BONNER                       GA     14092769309
8B2B3A59172B33   JASON        WILCOX                       CO     90003360591
8B2B3A62A41275   CHARLES      KYTE                         PA     51061420620
8B2B4171391525   JOE          RODRIGUEZ                    TX     90000591713
8B2B4572341247   TRISHA       SCARANO                      PA     90001145723
8B2B478635132B   AMANDA       STAPLE                       OH     90010937863
8B2B4838397133   EMILIO       MORALES                      OR     90007498383
8B2B5227A85946   DARRAN       EDMONSON                     KY     90012562270
8B2B5324291894   MELISSA      HILL                         OK     21098373242
8B2B5426497138   HEATHER      MATTHEWS                     OR     90013194264
8B2B5661291525   DESIREE      LARA                         TX     75026576612
8B2B589435B32B   HOPE         TEOFILO                      OR     90013368943
8B2B5914484325   DAVID        LAFLER                       SC     90011869144
8B2B5973547897   AUBREY       KEELER                       GA     90006699735
8B2B5974997B3B   JENNIFER     CASTANEDA                    CO     39008579749
8B2B6291697133   MARTA        TOVAR                        OR     90012592916
8B2B637A751362   JENNIFER     HONCHUL                      OH     66003903707
8B2B645895B27B   DAVID        ROBERSON                     KY     90013344589
8B2B6723972432   RONALD       HICKS                        PA     90015267239
8B2B67A3A76B65   MARTINA      FERRETIZ                     CA     90010337030
8B2B7688176B65   CRITTENTON   ZAYAK                        CA     90013956881
8B2B7867891975   SHERRI       MARTIN                       NC     90014958678
8B2B788945B27B   ANTOINETTE   TSANGA                       KY     90008378894
8B2B7A1414B22B   LOUIS        STUBBS                       NE     27032750141
8B2B83A2372B62   BEVOLIN      ROBINSON                     CO     90010533023
8B2B858818593B   ROSA         FOSBRINK                     KY     90014965881
8B2B868318593B   ANDREW       MANGULABNAN                  KY     90013016831
8B2B887779136B   ROBIN        HARRIS                       KS     90007568777
8B2B892725B581   ROCIO        ROBLES                       NM     90013029272
8B2B928A771977   CHARLES      RODRIGUEZ                    CO     38098232807
8B2B929188B191   BRYAN        GEERTGENS                    UT     31095292918
8B2B9467597138   JUDITH       SMITH                        OR     90007774675
8B2B9535172B62   HARDIN       ANDRE                        CO     33036195351
8B2B968A797B3B   GERALD       GERSTENBERGER                CO     39040596807
8B2B9735972496   CINDY        CHRISTENSEN                  PA     51064887359
8B2B9759872432   JODI         MILLER                       PA     51075347598
8B2B9845172B31   JUAN         SAENZ                        CO     33099008451
8B2BB143676B65   MATILDE      GUTIERREZ                    CA     90011661436
8B2BB459941262   CHRISTIAN    MAHONE                       PA     90010354599
8B2BB47135B594   ARLIN        GONZALES                     NM     90002694713
8B2BB5A796194B   JESSICA      DAVILA                       CA     46041005079
8B2BB99A447822   PORSHA       ROBINSON                     GA     90014919904
8B31124895B24B   SHAWNETHIA   REID                         KY     68085102489
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1477 of 2350


8B3112A2141275   KAHLIL       MORRIS                       PA     51047232021
8B3112A2872B31   SHEVONE      DISANTI                      CO     33002642028
8B311393471935   UNYONG       COLBATH                      CO     90006603934
8B3113AA372B44   JOSE         RODRIGUEZ                    CO     90013943003
8B311485271977   JOSE         PALMA                        CO     38087854852
8B311933772B62   TRAVIS       THOMAS                       CO     90012799337
8B311A9256194B   ANGELINA     ESTRADA                      CA     90012170925
8B31225A447822   KEVIN        WINES                        GA     90010872504
8B312515697138   RACHEL       AHO                          OR     90010915156
8B312713272B29   ELVIA        SANCHEZ                      CO     90008907132
8B313182184325   ZACHARY      SIMMONS                      SC     90007621821
8B3132A739154B   ANTONIO      BACA                         TX     90015082073
8B3139A755B24B   JEROME       HESTER                       KY     90014829075
8B31451A147897   JAZMON       BAKON                        GA     90014275101
8B314534A72B29   TRACI        THOMAS                       CO     90011065340
8B314713A72B44   KIMBERLY     VARGAS                       CO     90012187130
8B314817177537   JUSSARA      MARTIN                       NV     43091238171
8B314837185856   SASHIKANTH   SABINAVIS                    CA     90010208371
8B314918151362   THOMPSON     KAREN                        OH     90013789181
8B31547919154B   ALFONSO      CASTILLO                     TX     90011054791
8B31617138B154   HOLLY        HIATT                        UT     31024381713
8B316227A71977   KELLI        SMYTHE                       CO     90011032270
8B316585877537   KELLY        STEVENS                      NV     43059075858
8B316661793771   JAVIER       HERNANDEZ                    OH     90011276617
8B31677115B338   ZACHARY      COOPER                       OR     44535097711
8B316816672496   BRYAN        RIDLEY                       PA     90013018166
8B31682859375B   JOSH         HARRIS                       OH     90005198285
8B3169A3472B33   DULCE        MORALES                      CO     33018409034
8B3169A565B183   MAX          CLEGG                        AR     90013789056
8B316A5218593B   MISSY        WELLS                        KY     90012050521
8B317315372B44   SANDRA       SANCHEZ                      CO     33065093153
8B3178AA497133   FIEDOCIA     IVANOV                       OR     44088318004
8B317975361948   KRISTINA     JONES                        CA     90007269753
8B3179A9271935   NICO         THOMAS                       CO     90014879092
8B317AA392B253   LYNETTE      BROOKS                       DC     90010730039
8B318255771935   DOMINIQUE    SHAW                         CO     90011582557
8B318514472B98   DANIEL       LUCKE                        CO     90003605144
8B3185AA155971   ALMA         AVILA                        CA     49008725001
8B318795491525   DIANE        RAMIREZ                      TX     90001277954
8B318865572B29   DEVON        JOHNSON                      CO     90013358655
8B318A82472432   ROBERT       WORK                         PA     90009470824
8B319414377537   IMELDA       RODRIGUEZ                    NV     90013594143
8B3194A5151362   BRANDON      SMITH                        OH     66014724051
8B31981275B27B   TIARRA       MCCONICO                     KY     90015218127
8B319872A5594B   TAMARA       ZEPEDA                       CA     90011438720
8B319887841262   RAY          DIGITY                       PA     90012658878
8B319A1A271977   MISTY        BENSON                       CO     90012600102
8B319A56276B44   DERUYTER     ELIJAH                       CA     90003370562
8B31B316593771   SUSAN        WORLEY                       OH     90014613165
8B31B624897133   SOCORRO      MARTINEZ                     OR     44015736248
8B31B637297B38   STEFANIE     PALMER                       CO     39067676372
8B31B77735B32B   HEIDI        SMTIH                        OR     90008267773
8B3216A8955931   MARIO        MENDOZA                      CA     90007656089
8B321883971977   JESSICA      GONZALES                     CO     90009878839
8B32188558B168   LOUISA       ROBINSON                     UT     90010268855
8B32194A95B24B   DOLLIRA      BALDON                       KY     90013159409
8B32216639154B   ADAN         MONTANEZ                     TX     90011131663
8B32222488B163   KHADIJA      HUSSIAN                      UT     90012412248
8B32224769375B   FRANCESCA    BRANSON                      OH     90008102476
8B32231336194B   SHENICA      BURTON                       CA     90010983133
8B322994797133   MICHELLE     WALSTEAD                     OR     90014309947
8B322A8868B154   HUCKABEE     LISA                         UT     90010690886
8B3231A1A71935   NAOMI        SISNEROS                     CO     90009911010
8B323316593771   SUSAN        WORLEY                       OH     90014613165
8B32338645B338   ANTONIO      TULA-RUIZ                    OR     90011843864
8B32342A293771   NICOLE       PUNCHES                      OH     90013574202
8B32384955B27B   TRACY        NORVELL                      KY     90012758495
8B323849972432   ROBERT       AUSTIN                       PA     90013878499
8B323A1875B32B   KOLBRYNN     LOWLELL                      OR     90011800187
8B324127171935   IRIS         GARCIA CHAVEZ                CO     90014571271
8B324173993771   SCOTT        STARK                        OH     64569561739
8B324229A6194B   MARIA        HERNANDEZ                    CA     90012962290
8B32473525B24B   MS.          ATTITUDE                     KY     68029447352
8B324793672432   MICHELE L    MILCHAK                      PA     51055317936
8B32482139154B   JOSE         BUENO                        TX     90004328213
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1478 of 2350


8B324835471935   ORLANDO       ROBERTS                     CO     90011728354
8B32516AA9136B   LICIA         CRAWFORD                    KS     90009951600
8B325253672496   ALEXIS        ARTHUR                      PA     51076242536
8B3252A784B22B   MATTHEW       KUCERA                      NE     27079442078
8B325417197B38   ANNA          SOLIS                       CO     39079484171
8B32554318B163   MARIELY       GARCIA                      UT     90014425431
8B32576A55B24B   TERRY         WILKERSON                   KY     90014767605
8B326124A76B97   CARLOS        MILLAN                      CA     90014441240
8B326237271977   IGNACIO       ROYBAL                      CO     90014122372
8B3262A7761978   ANDREW        RAUCH                       CA     46005742077
8B32679235B32B   KISHIA        BRADWELL                    OR     90004497923
8B32682734B22B   CRYSTAL       WASHINGTON                  NE     90012438273
8B326A95191523   DANIEL        MORALES                     TX     90010480951
8B32774599375B   JACOB         KING                        OH     90010737459
8B3281A9133698   TERESE        CHRISP                      NC     90014631091
8B328266A5594B   RUBY          ARREGUIN                    CA     90014672660
8B3282A575B581   MARTINEZ      TANYA                       NM     35038482057
8B32831399154B   LORETTA       BAGLEY                      TX     75064393139
8B328355972432   ERIC          DANIELS                     PA     90014593559
8B3286A968593B   BRANDON       FRODGE                      KY     90014446096
8B32871556194B   JOE           SANCHEZ                     CA     46035687155
8B3289A598B163   RONALD        HOLMES                      UT     90015159059
8B32912975B153   YAJAIRA       LEMUS                       AR     90011791297
8B329343847897   KARRY         BOWENS                      GA     90003573438
8B329576991837   JOE           CHARBONEAU                  OK     90013795769
8B3295A445B338   AYASHA        MARTIN                      OR     90010685044
8B329732272432   DONNA         CARPENTER                   PA     51090217322
8B32B5A148593B   JAMES         COOKS                       KY     90014465014
8B32B778497133   CHRISTOPHER   LEAR                        OR     90010737784
8B32B79A572496   DUSTIN        FIECHUK                     PA     90014777905
8B3313A3471935   HARRY         BALLARD                     CO     90013143034
8B331451A6194B   EULA          BLEVINS                     CA     90013104510
8B33145A57B485   GLADIS        TURCIOS                     NC     90011434505
8B33147845B568   BIANCA        BARRAGAN                    NM     90013224784
8B3317A9A61978   TANYA         PASTOR                      CA     90010677090
8B332133572432   JUSTIN        ADAMS                       PA     90012291335
8B33215884B22B   CHRIS         OCONNOR                     NE     27016091588
8B332269376B97   ALLEN         SOLOMON                     CA     90013472693
8B332365797138   VERANCIO      LECHUGA                     OR     90015143657
8B332698877537   YESENIA       ALVARADO                    NV     90014716988
8B332744891837   NELLY         RAMSEY                      OK     21001277448
8B332968793771   KADAFI        HENDERSON                   OH     90014069687
8B33314647B363   SHAKIRA       KEMP                        VA     90010711464
8B333294276B97   REINERIO      GARCIA                      CA     90014942942
8B333376A41275   TYGER         WOODS                       PA     90010063760
8B33358A276B44   CHRIS         MADDOX                      CA     90007995802
8B333642651362   BRITNEE       MERRITT                     OH     90010866426
8B33391415594B   ROBERT        THOMPSON                    CA     90007439141
8B333931947897   ANGELA        COMBS                       GA     90004559319
8B334167772B33   OSCAR         BLANCO                      CO     90014781677
8B33431138B168   WILLIAM V     HOSEA                       UT     90005863113
8B334436441262   GLORIA        LANG                        PA     90013284364
8B33478655B27B   AMY           SIMMONS                     KY     68019577865
8B33483997192B   JON           DENMAN                      CO     32024688399
8B33492614B22B   JERRY         WARD                        NE     90013599261
8B334AA8176B65   RALPH         SCHAFER                     CA     90014180081
8B335376751362   PAIGE         FULTON                      OH     66046113767
8B3353A4291525   VIRGINIA      HUITRON                     TX     75058743042
8B335557372B31   TIFFANY       LIMON                       CO     90011575573
8B33612688593B   CANDY         KINNEY                      KY     90014601268
8B33626525B27B   SHAWN         HURT                        KY     68080912652
8B3362AA88B154   LETICIA       VELASQUEZ                   UT     90012792008
8B33634A89375B   TINA          TAYLOR                      OH     64583543408
8B33638195B32B   DIEGO         MARTINEZ                    OR     90001003819
8B336389451362   TERESA        RAIDER                      OH     90014993894
8B33684814B22B   ARTURO        MIRANDA                     NE     27065658481
8B33688558B168   LOUISA        ROBINSON                    UT     90010268855
8B336A61771977   CAROL         FULTON                      CO     90012310617
8B33733315B24B   SHANTE        HOWARD                      KY     68067163331
8B337336197B3B   IVAN          ARRAS                       CO     90013693361
8B337616147822   CIERRA        BELL                        GA     90014716161
8B337752141275   FLETCHER      WILLIAMS                    PA     51069197521
8B337999872B44   ELVIA         SAUCEDO                     CO     33046589998
8B338395672B29   ROBERTA       FLORES                      CO     90014613956
8B33847575B27B   GLYNN         BRENT                       KY     90002854757
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1479 of 2350


8B339112185856   NUNO           CAMBOA                     CA     46055961121
8B339125A93771   TAMMIE         NASH                       OH     64528131250
8B339235876B97   CHRISTINE      CANELIAS                   CA     46096352358
8B339617672B44   ONORIO         FLORES-XOCHITLA            CO     33000466176
8B339928576B65   LAUREN         BIRD                       CA     90013269285
8B339A73A41262   A RATHBUN      WILLIAM                    PA     51028640730
8B33B136772432   LLOYD          WOODS                      PA     90013591367
8B33B258376B65   BEVERLY        BEAL                       CA     90013992583
8B33B466391837   TIFFANY        REYNOLDS                   OK     90012324663
8B33B474172B33   LUISA          SAENZ                      CO     33067274741
8B33B488851362   JEOHNNA        HANCOCK                    OH     90014144888
8B33B531871935   HEATHER        CAGE                       CO     32064415318
8B33B576761948   LILIANA        GOMEZ                      CA     90004615767
8B33B82479375B   MEHRISA        LOCKE                      OH     90012028247
8B33B965391525   CAROL          SMITH                      TX     90001909653
8B33BA2135B581   MATTHEW        WOLL                       NM     90008140213
8B341129477537   DANIEL         JACOBSON                   NV     90002851294
8B341196A72432   ELIJAH         YARBROUGH                  PA     90014421960
8B34122298B168   AUSTIN         WILKE                      UT     90014442229
8B34142A25B356   PJ             TITTLE                     OR     44510934202
8B341451491525   ROGELIO        VERDUGA                    TX     90006194514
8B3416A5997B3B   CHRISTOPHER    GIERACH                    CO     90014396059
8B341725A41232   AJ             SMITH                      PA     90010057250
8B341782891837   JAMIE          DEMAURO                    OK     90015147828
8B341842872B31   VICTORIA       VIGIL                      CO     90011708428
8B341A34991837   HEATHER        SHELTON                    OK     90011100349
8B341AA376194B   MARIA          NASSIF                     CA     90003580037
8B342234761978   ASHLEY         CALLAHAN                   CA     90013632347
8B342247697133   CARLOS         TISTA TORRES               OR     90003482476
8B342369672432   SHAWN          VADEN                      PA     90015113696
8B342579155971   MARIO          VASQUEZ                    CA     90008725791
8B342915351332   CHRISTINE      PIERRE                     OH     66017659153
8B34318625594B   LUIS           RAIZ                       CA     90013121862
8B34327969154B   NOEMI          LOPEZ                      TX     90013142796
8B3435A9897138   STEPHEN        SOVA                       OR     90008035098
8B343728997133   JUANITA EMMA   RAMOS                      OR     90014607289
8B3438A5951362   WILLETTA       BIGGINS                    OH     90002088059
8B343AA255B581   JEREMY         GONZALES                   NM     90012780025
8B34438165B581   COOPER         MORGEN                     NM     90015123816
8B3443AA45B27B   JESSICA        EMERT                      KY     68080913004
8B344416191894   CHRISTIE       BURKE                      OK     21045884161
8B344715372B44   MICHAEL        GROOM                      CO     33062547153
8B344A6165B581   LOURA          VIGIL                      NM     35058270616
8B34516668B163   MARIA          DEQUEBEC                   UT     90010091666
8B345174731444   ANDREW         RUCKER                     MO     90007531747
8B345266476B97   REGINALD       ROBINSON                   CA     46069102664
8B3453A2A72B29   PHILLIP        WEAVER                     CO     90010663020
8B34583A933698   JENNIFER       GARLAND                    NC     90010608309
8B3459A3A5B24B   MANUEL         HERNANDEZ                  KY     90013929030
8B346236172B31   SAMANTHA       BRANDIN                    CO     90005352361
8B346755893771   CRISTIAN       PEREZ                      OH     90010827558
8B34683495B32B   BRENDA         ERICKSON                   OR     90014748349
8B346AA1A41275   DEIDRE         REIMENSCHENEIDER           PA     90012790010
8B34717158593B   BARB           CARPENTER                  KY     90014601715
8B347679733698   TOMA           ROBBS                      NC     90011586797
8B347A94351362   MONTE          GATES                      OH     90013940943
8B347AAA771935   SARAH          MONTOGNESE                 CO     90014880007
8B348399897B3B   KAITLYN        LACY                       CO     90012783998
8B34846815B581   YVONNE         BUENTIEMPO                 NM     90013594681
8B3484A4A71977   JORGE          ESQUIVEL                   CO     90011034040
8B348598A72B44   GLADIS         TEJADA                     CO     33062685980
8B34897925B27B   RATES          KATHY                      KY     68039289792
8B3489A217192B   FUIVAI         TUIGAMALA                  CO     90005699021
8B348A94A5B24B   DONISE         SMITH                      KY     90014210940
8B349256893771   MIKE           DOUGLAS                    OH     90014932568
8B34941A185856   CHRISTOPHER    MILLER                     CA     90011064101
8B349442891837   ASIA           GUNYON                     OK     90012084428
8B34979A891523   ROSA           ESTRADA                    TX     90004777908
8B349988491525   RICK           NYBREG                     TX     90001359884
8B34B194977537   LESLIE         FORD                       NV     43061591949
8B34B322685856   ALFONSO        DIEZ                       CA     90011063226
8B34B581A8B168   MARTHA         CORONADO                   UT     31073575810
8B34B64A533698   SYREETA        SAUNDERS                   NC     90001076405
8B34B814872B33   LACEE          KOHART                     CO     90013238148
8B34BA4557B496   CELIA          CARRILLO                   NC     11035400455
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1480 of 2350


8B351447947897   VANQUEZ       WILMORE                     GA     90010414479
8B351849272496   MICHELLE      WALKER                      PA     51080478492
8B35193A241275   EVAN          HUGHES                      PA     90006919302
8B352569184325   EBONY         POLITE                      SC     14537675691
8B3526A7755971   CARLOS        PACHECO                     CA     90003926077
8B352722891525   MARISOL       CHACON                      TX     75090307228
8B352735961934   DANIEL        NIEBLAS                     CA     90007107359
8B35276535B581   CHRISTOPHER   INGLETON                    NM     90015437653
8B35281625B338   KATHIE        GUERRERO-BRANUM             OR     44535478162
8B352877372B83   PATRICIA      GUILLEN                     CO     90011218773
8B352A9352B956   JANICE        MILLER                      CA     90010440935
8B3533A594B22B   JENNIFER      SMITH                       NE     90014513059
8B353715591525   PEDRO         PEREZ                       TX     75090307155
8B35383717B42B   WILIAM        LADD                        NC     11009848371
8B35383A933698   JENNIFER      GARLAND                     NC     90010608309
8B353989147897   TRACY         GOOLSBY                     GA     90015159891
8B353A22772496   REBECCA       GUZMAN                      PA     90010800227
8B353A3427192B   DANIEL        GARCIA                      CO     32070490342
8B354129976B97   LAURA         REYES                       CA     46000091299
8B354259372B62   LUISE         SANCHEZ                     CO     33091222593
8B35448358B163   PAM           GIBB                        UT     31086174835
8B354483861934   TINA          ESTRELLA                    CA     46009924838
8B35474118B154   SILVANO       ALONSO                      UT     90009107411
8B3547A799154B   VANESSA       MONAREZ                     TX     90004887079
8B354939897133   SANDRA        MATA NAVA                   OR     90013049398
8B355276971977   JASMINE       SANTISTEVAN                 CO     90014812769
8B35539716194B   OTTO          SHELLAND                    CA     90010283971
8B3555A1672496   HEATH         HILLIARD                    PA     90010805016
8B355618476B97   KRISTINA      TAUPULE                     CA     90012896184
8B355771A61934   SILVANA       MIRANDA                     CA     90007107710
8B355911176B65   DAMIEN        LIERMANN                    CA     90010869111
8B355974997B3B   JENNIFER      CASTANEDA                   CO     39008579749
8B35625988B154   OSCAR         ZUMAYA                      UT     90013512598
8B356575572432   APRIL         COLBERT                     PA     90013065755
8B356879147822   DEXTER        HOWARD                      GA     90008478791
8B35737A697138   HUGO          GONZALEZ                    OR     90013513706
8B35755A372B33   JACQUELINE    LUCERO                      CO     90014075503
8B3579A235B32B   EDUARDO       MARTINEZ                    OR     44530979023
8B358338876B97   TOMASA        SALGADO                     CA     90001073388
8B35836A25B581   JESUS         ZUBIA-SAPIEN                NM     90013233602
8B358514741262   WILLIAM       THOMAS                      PA     51095045147
8B358659955971   CARLOS        VARGAS                      CA     90013656599
8B3586A948B163   HEIDI         LONG                        UT     90012916094
8B359169772B29   ROBB          PRIEFERT                    CO     33015001697
8B359231691242   ERICA         BUTLER                      GA     90005832316
8B35955854B22B   CARMEN        TURNER                      NE     90007045585
8B3595A445B368   ROLLAND       MOORE                       OR     90011765044
8B359616151348   EDUARDO       RODRIGUEZ                   OH     90012516161
8B35964823B351   DAMIEN        PETRELLI                    CO     90002606482
8B359654347897   NINA          PARKER                      GA     90011216543
8B359661676B97   GARRETT       PETERSEN                    CA     90013506616
8B359697472B31   YADHU         NEPAL                       CO     90010396974
8B35972818B163   CHRISTINE     KRONKOW                     UT     31044667281
8B359999A8B168   JORGE         GARCIA                      UT     90012739990
8B35B582577537   DEANN         SIMONS                      NV     90015175825
8B35B875697B38   CLAUDIO       CERRILLO                    CO     39041578756
8B35BA75172432   BETH          BURK                        PA     51018930751
8B361841347897   CARLOS        MITCHELL                    GA     90015198413
8B36189355B24B   NIEISH        WEAVER                      KY     90014068935
8B361944471977   OVALDO        ESQUIVEL                    CO     38068069444
8B3619AA993137   MOLLIE        GLAZE                       TN     90012559009
8B36217928593B   ANTHONY       DAVIS                       KY     90014601792
8B362418476B44   VANESSA       ROJAS                       CA     90003404184
8B36261125B356   ASHLEY        STONEKING                   OR     90006226112
8B362A7A472B31   AARON         REDDING                     CO     33074380704
8B363223441275   PATRICK       SMITH                       PA     51051102234
8B36338368B154   KAELYN M      MORRILL                     UT     31081843836
8B363482371935   YVETTE        KADEL                       CO     90014624823
8B363665941247   MIKE          RAFFERTY                    PA     51052106659
8B3636A339375B   PAYGO         IVR ACTIVATION              OH     90012656033
8B36413495B24B   CHAUNCEY      DONIGAN                     KY     90013411349
8B36419A29154B   MARIA         DIAZ                        TX     75036911902
8B36429535B32B   IMELDA        PEREZ                       OR     90013912953
8B36432155B183   JAMIE         AYCOCK                      AR     90013653215
8B364324961978   JESUS         VALENZUELA                  CA     46055453249
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1481 of 2350


8B36464A45B27B   KELLI             MILLS                   KY     90011126404
8B364996141275   DONNA             COUSINS                 PA     51055499961
8B3649A217192B   FUIVAI            TUIGAMALA               CO     90005699021
8B36531275B139   LEE               ALFORD                  AR     90008793127
8B36532A97B42B   CHANTELLE         CRONEY                  NC     90003073209
8B365585A91837   STACI             TEMPLE                  OK     90014875850
8B36585314B22B   JASON             FOWLER                  NE     27086868531
8B36588455B27B   ALEASHA           SHARP                   KY     90011038845
8B36591A35B24B   MEGAN             KEITH                   KY     90013929103
8B36658418B163   MOHAMED HUSSEIN   AHMED                   UT     90010265841
8B36674A972B31   ANTHONY           BELLO                   CO     33091547409
8B36677A641275   FELISHA           ROBINSON                PA     90010587706
8B3667A5A72B29   MARCIA            UPTON                   CO     90014417050
8B367133755971   GABRIELLA         SILVA                   CA     90013401337
8B36715418593B   LEKEYSHA          TUCKER                  KY     90009031541
8B36784385B32B   MICHAEL           ROOS                    OR     90005308438
8B36787775B32B   RUFINA            RODRIGUEZ               OR     44579308777
8B368187341262   OLGA              KOUTINA                 PA     51065251873
8B368538176B97   MARIE             BALTAZARR               CA     46087885381
8B368567A61948   ANDREW            TORRES                  CA     90005265670
8B368785872B33   TALMICH           DESMOND                 CO     33009427858
8B3692A3A7B42B   LATASHA           TAYLOR                  NC     11047452030
8B369617185655   FELIX             NUNEZ                   NJ     85016226171
8B36978A75B338   FRANCISCO         CASTRO                  OR     44546647807
8B36B23878B163   MAXINE            ARREOLA                 UT     31093902387
8B36B26518B163   ERIC              CHRISTENSEN             UT     90014292651
8B36B52177B42B   TREVAN            BRYANT                  NC     90004335217
8B36B588876B65   EFRAIN            GUTIERRES               CA     46059355888
8B36B64A38B168   TORY              ROACH                   UT     90012866403
8B36B763291894   LEVAR             SMITH                   OK     21019087632
8B36B937991975   ALEXIA            KEARNEY                 NC     90005499379
8B371119476B44   KRISTINA          RYTHER                  CA     90013841194
8B37124425B581   RENEE             ROSAS                   NM     90000332442
8B371284572B44   JOY               MEDINA                  CO     90002652845
8B371513841262   VICTORIA          SACCO                   PA     90014105138
8B3718A8485856   SHACRESHA         GILKES                  CA     90012768084
8B37198A291525   MARIO             BARRAZA                 TX     75017329802
8B371A63651362   POGGI             GALLARDO                OH     90010750636
8B371A74176B44   MICHAEL           ATIRADO                 CA     90008000741
8B37211A972496   CAROL             KOSTKA                  PA     90014841109
8B37227735B581   ELVIRA            SIMENTAL                NM     90014692773
8B37261948B163   ROBERT            LAWSON                  UT     90003836194
8B372815A9375B   JANET             RUHE                    OH     90008498150
8B372989491975   JASMINE           LOPEZ                   NC     17028769894
8B373257471956   AMANDA            ADKINS                  CO     38039222574
8B3732A8584325   RHONDA            JENKINS                 SC     90000792085
8B373714971935   DOMINICK          BARTLONE                CO     90014947149
8B373715797B3B   ANT               FERRARESE               CO     39052567157
8B3738AA497133   FIEDOCIA          IVANOV                  OR     44088318004
8B373975661978   CARLOS            ESTRADA                 CA     46088029756
8B374181671977   TANYA             GARCIA                  CO     90014491816
8B37427866194B   ALFONSO           ORTEGA                  CA     46024702786
8B374399141284   JUDY              KUHN                    PA     90010183991
8B374859947822   ALISH             GORDON                  GA     90001418599
8B37523898593B   JIMMY             DOWNING                 KY     90009482389
8B375495297133   OSCAR             MARTINEZ                OR     90015354952
8B375699776B65   RACHAEL           MOORE                   CA     90008066997
8B376141151362   MICHAEL           HENSLEY                 OH     90002391411
8B376433831444   KENDRA            JACKSON                 MO     90010944338
8B376779372B33   JAVIER            ROMERO                  CO     33022317793
8B37695855B581   RAYMUNDO          TOVAR-MALDONADO         NM     90005379585
8B37715338B168   PYLE              JOURDAN                 UT     90010751533
8B37758818593B   ROSA              FOSBRINK                KY     90014965881
8B3776A5972B44   ADRIAN            MARTINEZ                CO     90006086059
8B377855533B97   ARRON             MASON                   OH     90014098555
8B377936A5B183   DANNY             DAVIS                   AR     90003789360
8B377AA262B228   EUNICE            STEELE                  DC     90011980026
8B378352271935   KARA              THOMAS                  CO     90001353522
8B378481372B29   KIM               DELGADO                 CO     33081304813
8B378573472B44   REGINA            GARCIA                  CO     90006605734
8B37895985B581   PATRICIA          EATON-MUELLER           NM     35056909598
8B37919738593B   CODY              CARTER                  KY     90014601973
8B379249972B44   LEOBARDO          BALDERAS RIVAS          CO     90005282499
8B37994498B163   OLVIN             ORTIZ                   UT     90010959449
8B379977877537   ALMA              ALMANZA                 NV     43082579778
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1482 of 2350


8B379A13672B29   ERNESTO            CORNEJO                CO     90003170136
8B379A8535B183   JOSE               ROBERTO - VAZQUEZ      AR     90013840853
8B379AAA25B32B   LAWRENCE           CAPRI                  OR     90014850002
8B37B182A5B24B   RACHEL             BAKER                  KY     68037731820
8B37B298672496   SHELBY             KELLEY                 PA     90012522986
8B37B739A71935   SALVADOR           CHAVARIN               CO     32077637390
8B37B98624B22B   KAREN              BUCHAN                 NE     90014129862
8B37B99258B163   JACK               JOHNSON                UT     31086269925
8B381636991837   SANDY              BREWER                 OK     90010256369
8B38186A95B27B   FABIAN             JORGE                  KY     90012628609
8B381A2765B183   MARCHETTA          GANT                   AR     23015460276
8B382195461928   IRMA               MEDINA                 CA     90005951954
8B38221415B183   JOSELIN            MEDINA                 AR     90009822141
8B38241349375B   JUACNITA           KAVANAUGH              OH     64581644134
8B3824A3785856   GLEN               FORTES                 CA     90015054037
8B383341372B33   CHOI               YOUNG                  CO     90003883413
8B383452A47897   KENDALL            HUNTER                 GA     14066444520
8B383544976B65   MARIO              MORALES                CA     90011675449
8B383556872B31   MARIA DE ROSARIO   PINEDA                 CO     90006875568
8B383668391525   BUSTAMANTE         DANIEL                 NM     90009276683
8B38388578B154   JAMES              ROBERTS                UT     31092438857
8B383977284325   CONELL             JOHNSON                SC     14534489772
8B383A44161978   REYNA              RODRIGUEZ              CA     46062570441
8B38422675B183   LEROY              JACKSON                AR     90014172267
8B38429389154B   MARIBEL            WOOD                   TX     90013142938
8B38432385594B   KEIRY              CALLEJAS               CA     90014673238
8B384374372B44   DAVID              WOLLENHAUPT            CO     33088273743
8B384642741262   NICHOLE            HOLYFIELD              PA     51015266427
8B38473897B42B   WILLIS             RICHARDSON             NC     11078957389
8B384817A5B27B   CLARENCE           STOTT                  KY     90012938170
8B384858771977   SHAWN              SOLANO                 CO     90011418587
8B384931597133   JUAN               OLAYA                  OR     90013969315
8B385271A5B32B   MATTHEW            BORCHERDING            OR     90011802710
8B385319672B62   ANGELINA           ROMERO                 CO     33016863196
8B3854A967B42B   DENISE             ARCHIBALD              NC     90009874096
8B385958671977   VERONICA           GALENA                 CO     90007699586
8B386234A72496   BRIAN              TOBAC                  PA     51098622340
8B38624117B42B   HENRY              WINDHAM                NC     11075942411
8B38625195B183   CYNTHIA            ARUM                   AR     23082772519
8B38631595594B   KIMBERLY           WILKERSON              CA     90008503159
8B386319455971   BRITTANY           CRAIG                  CA     90010283194
8B38635348B163   FLOR               CELIS                  UT     90008513534
8B386631691242   ASHLIE             THOMPSON               GA     90002846316
8B38672695594B   SARAHI             TRUJILLO               CA     90014787269
8B386793772B33   BRISZELLE          SMITH                  CO     33006407937
8B386919697138   RANDY              CATHERS                OR     90014779196
8B386A28876B65   NOORYA             SIDIQI NOORI           CA     90014110288
8B387192A61934   ILIANA             GASTELUM               CA     90011711920
8B387564676B97   NINA               NORIEGA                CA     90011905646
8B38763465B581   TOM                LAWRENCE               NM     90014256346
8B387882497B38   JAMES              COBB                   CO     39024798824
8B38789565594B   LARRY              TEIXEIRA               CA     90013208956
8B387899772B62   CLEMENTE           FLORES                 CO     33042918997
8B387984671935   MARITZA            SALINAS                CO     90006549846
8B388118197133   FRANCISCO          RODRIGUEZ              OR     44047611181
8B388234191525   BARBARA            RIVERA                 TX     75044872341
8B388474693771   MELISSA            WATKINS                OH     90001544746
8B38848535B24B   RUTIAGA            RAFAELA                KY     90015024853
8B38864235B32B   KAELYNN            KEELIN                 OR     44554646423
8B388761685856   ALEX               GONZALEZ               CA     46046707616
8B388A75672B44   TOOD               RANNEY                 CO     33017850756
8B389668591837   AUDIE              HIPP                   OK     90014066685
8B38993A485856   JIN                DAI                    CA     90010209304
8B389A48897133   JOSE               MENDOZA                OR     90007310488
8B389A57A55971   VANESSA            CERVANTES              CA     90014730570
8B389A93471935   CHRISTY            TAYLOR                 CO     90014880934
8B38B37A35B183   OLIVIA             GRIMES                 AR     90015203703
8B38B58A177537   EVELYN             BELTRAN                NV     90011575801
8B38B89138B154   ANDRE              HERRERA                UT     31035488913
8B38B937376B44   DAVID              RAMALES                CA     90012829373
8B38B9A588593B   DANIEL             TRICK                  KY     90013019058
8B39115A933738   EMILIO             RIVERA                 LA     90015451509
8B391191972496   TAMMY              LEE                    PA     90010811919
8B391366297133   VIRGIL             RICHARDSON             OR     90013193662
8B39147A997138   ALENA              JAIME                  OR     90010104709
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1483 of 2350


8B391648176B65   LORENZO      FELIPE                       CA     46077186481
8B39173A95B24B   PAMELA       ELLIOT                       KY     90014777309
8B391776576B44   ROSA         CASTELLANOS                  CA     90001757765
8B391847197B38   MARCUS       WHITE                        CO     39073898471
8B392113393137   NAKEDRA      INGRAM                       KY     90001521133
8B3921A3272B29   GERARDO      FLORES LUEVANO               CO     33071691032
8B392553471977   SAJJAD       MAHDI                        CO     90013965534
8B392714297133   MARIA        CALDERA                      OR     90013417142
8B39272578B168   CLEMENTE     GUARNEROS-AMADO              UT     90006437257
8B392748272432   FRANK        KOCEVAR                      PA     51044937482
8B39285689154B   CLUDIA       VELASQUEZ                    TX     75079238568
8B3929A888B168   JANET        MEIER                        UT     31085659088
8B39324195B356   EVAN         BANNICK                      OR     90011512419
8B39368375B581   ROWENA       SANTOS                       NM     90013556837
8B393687893763   KELLY        HICKS                        OH     90006996878
8B393817176B44   ATEMPA       GUADALUPE                    CA     90004278171
8B39391258593B   TONY         LEWIS                        KY     90013469125
8B394156997B38   MARIA        MARTINEZ                     CO     39085421569
8B394329851362   JUNIOR       PASTORIZA                    OH     90014623298
8B39456A19375B   PAIGE        MONROE                       OH     90003795601
8B394954A76B44   MANUEL       ANGON                        CA     90007699540
8B394A2A85B581   OTIS         SINGLETON                    NM     90007450208
8B395197141275   CHERI        MILLER                       PA     51002631971
8B395591172B44   DANIEL       MYERS                        CO     33045545911
8B395692A77537   HECTOR       RANGEL                       NV     90013936920
8B3957A5361978   KARINA       CRUZ                         CA     90013167053
8B39589715B139   SHARON       NELLON                       AR     90011868971
8B396512691975   SHARON       GIBSON                       NC     90013945126
8B39666865594B   GABRIELA     SIERRA                       CA     90004806686
8B39712739154B   DANIEL       JAQUEZ                       TX     75002961273
8B397323A76B97   MARIA        AGUILAR                      CA     90006063230
8B39739365B581   MARIA        BENAVIDEZ                    NM     90014873936
8B397673777537   VIRGINIA     ZAMUDIO                      NV     43043756737
8B397882191222   TIM          LUCAS                        GA     90004258821
8B39789525B32B   JOSHUA       KARR                         OR     44569528952
8B398118655971   PORFIRIO     JUAREZ                       CA     90011271186
8B39855799375B   TAMMY        SEARFOS                      OH     64516035579
8B39884AA5B338   MAURICIO     PALMENO                      OR     44535138400
8B39888359154B   ANDY         DOMINGUEZ                    TX     90008308835
8B399438576B65   YAZMIN       CHOLULA                      CA     90004204385
8B399548472496   ADAM         MCCANDLESS                   PA     90011425484
8B399636261978   ARIANA       HENDRIKSON                   CA     90004016362
8B399969372432   SHAWNA       ONEAL                        PA     90013829693
8B399A31697B3B   JESSICA      FITZSIMONS                   CO     90013720316
8B399A32A5594B   JANET        HOLDER                       CA     90012420320
8B399A46797133   JOSHUA       GENTERT                      OR     90011640467
8B39B36925B27B   STACY        WILMOSKI                     KY     68000643692
8B39B439297138   HEATHER      COURTNEY-                    OR     90005694392
8B39B46898B163   JAMES        JOHNSON                      UT     90012874689
8B39B495A6194B   LAURA        COPADO                       CA     90010414950
8B39B897633698   JIHAN        PHILLIPS                     NC     12061138976
8B39B929A97B38   C            CAZ                          CO     90007189290
8B3B123A472B44   OLIVER       MEYERS                       CO     90013122304
8B3B1812897138   MIGUEL       ORDUNA CASTANEDA             OR     44059748128
8B3B198668593B   DONNA        WHITE                        KY     66024699866
8B3B23A425B24B   LAKESHA      REAMS                        KY     68011713042
8B3B2444797133   GLORIA       GARCIA                       OR     90015154447
8B3B2593672B29   CHERI        ORTIZ                        CO     90004115936
8B3B26A6481686   KATHLEEN     ELLIS                        MO     90011416064
8B3B272395B153   MICHELLE     RONDONI                      AR     23070087239
8B3B2A7199375B   MIKE         ARNOLD                       OH     90008430719
8B3B36A7897133   DAIRE        CORTEZ                       OR     90014266078
8B3B3874391528   CESAR        HERRERA                      TX     90012998743
8B3B3993872B33   ROS          RUCKER                       CO     33096049938
8B3B412219712B   NOE          CARDENAS                     OR     90004271221
8B3B4197A5594B   ADOLFO       BECERRA                      CA     90012941970
8B3B4488833698   CARY         HALL                         NC     90014684888
8B3B4581A55971   ELSA         RIVERA                       CA     90012785810
8B3B461225594B   ANIQUE       JIMENEZ                      CA     90010726122
8B3B477A241262   MARK         PIGONI                       PA     51024257702
8B3B5167972B44   LISA         HAMILTON                     CO     33045221679
8B3B54AA35B581   MARK         PAGE                         NM     90009744003
8B3B555986194B   ALEX         RAMIREZ                      CA     46024685598
8B3B5915A93137   WILFRECK     WINN                         TN     90015429150
8B3B595985B27B   LATISHA      COCKROFT                     KY     90010519598
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1484 of 2350


8B3B59A8991975   DANYEL       MILLER                       NC     90014989089
8B3B5A99391837   KRYSTEN      BROWN                        OK     90014780993
8B3B6244371977   JOSEPH       MARTINEZ                     CO     38088682443
8B3B6331A76B65   MARIA        TALEVERA                     CA     46042273310
8B3B6521372496   SARAH        ANTHONY                      PA     90015335213
8B3B6543977537   DALIA        MARTINEZ                     NV     90013235439
8B3B6641361948   JOSE JESUS   CARMONA                      CA     90010036413
8B3B6962A91837   DARRICK      ORCUTT                       OK     90014009620
8B3B6996885868   ROGER        MUNOS                        CA     90013259968
8B3B6AA5A7192B   ANA DELYS    SEGARRA                      CO     90000610050
8B3B7276155971   ALISON       BEAVERS                      CA     90014742761
8B3B777735B32B   HEIDI        SMTIH                        OR     90008267773
8B3B7A79671977   ANTONIA      MARTINEZ                     CO     90009930796
8B3B7AA314B22B   KELLY        FANNING                      NE     27063940031
8B3B812655B32B   LEAH         SMITH                        OR     44547361265
8B3B8239276B65   ROSALBA      BAUTISTA                     CA     90013992392
8B3B825AA9154B   LAURA        ARIETA                       TX     90013142500
8B3B8323A76B97   MARIA        AGUILAR                      CA     90006063230
8B3B8354972B31   MAYRA        GONZALES                     CO     90008963549
8B3B84A8772B33   CRYSTAL      MEDINA                       CO     90012084087
8B3B853A35B183   VERONICA     QUIROZ                       AR     90008855303
8B3B8665293771   PAULETTE     KELLY                        OH     64545846652
8B3B8A42151323   BEGASHAW     WOLDETENSAY                  OH     90005200421
8B3B914A897B3B   ELISEO       LOPEZ                        CO     39018941408
8B3B932615B32B   SHREE        SANGROLLA                    OR     90008593261
8B3B966A372496   DAVE         HILDEBRAND                   PA     90007636603
8B3B97A2172B62   MBASI        JEANMAURICE                  CO     33054667021
8B3B9864576B97   BRIAN        WILLIAMS                     CA     90014138645
8B3B9988A41978   JASON        DURLIAT                      OH     90014529880
8B3BB114397133   ADELA        GUTIERREZ                    OR     90011931143
8B3BB2A9771977   PAMELA       SANCHEZ                      CO     90009762097
8B3BBA58976B65   KATHY        EGAN                         CA     46081910589
8B411241185856   KEVIN        KELLY                        CA     46014972411
8B4114A3476B44   KATHLEEN     MURGUIA                      CA     90012494034
8B411A75676B44   ORTEGA       PEDRO                        CA     90012480756
8B412322A71977   CASSANDRA    MCCANN                       CO     38011473220
8B412527172B31   REYNA        ALVEAR                       CO     33027545271
8B412663951362   JOSEPH       BARNHART JR                  OH     90013986639
8B412676941275   THORA        BURNS                        PA     90013696769
8B41269A955971   JESUS        JARAMILLO                    CA     49009656909
8B41289365B183   CHRISTOPHE   BELL                         AR     23038128936
8B4129A525B24B   KACIE        CARTA                        KY     90015129052
8B412A9555B581   SAGE         GRAYSON                      NM     90011400955
8B41322215B24B   GREG         GREEN                        KY     90013412221
8B41346A17B42B   JOSE         MARDO GONZALEZ               NC     11005524601
8B413637A72B33   ADRIAN       DIAZ                         CO     90013226370
8B41365258593B   JERAMIE      HALL                         KY     66032636525
8B413668997B98   SONIA        DAKE                         CO     90007966689
8B4137AA272B33   IDELL        GRANT                        CO     90013177002
8B4139A8851362   WILSON       CHRISTINE R                  OH     90002429088
8B4141A1276B65   VICTOR       TATENCO                      CA     90014101012
8B414752791947   BENJAMIN     NAVARRO                      NC     90008527527
8B414971797B3B   JOSEPH       ROSE                         CO     90010169717
8B414A5A54B22B   JUAN         RAMIREZ                      NE     90007650505
8B415141A55971   RAY          CARRILLO                     CA     49052711410
8B41515718593B   ERIC         BOLLER                       KY     66046391571
8B415453497133   ELEANOR      GOUDIE                       OR     90007334534
8B41567535B24B   JADE         GRANT                        KY     90015336753
8B415926391979   KAREN        BREWSTER                     NC     17023669263
8B416219684325   NONDREA      MCPHERSON                    SC     90010862196
8B416333291975   KENDRA       PEDRO                        NC     90015043332
8B416398897133   JORGE        FLORES                       OR     90013363988
8B41664A897B3B   YVETTE       FOTH                         CO     39090846408
8B416788593771   SIERRA       FAIRFAX                      OH     64513797885
8B41684269154B   IRMA         FLORES                       TX     90010348426
8B4171A2347897   SHEKELIA     MURPHY                       GA     90011001023
8B41737525B27B   MINDY        RHORER                       KY     90014883752
8B4173AA472432   WALTER       JOHNSON                      PA     51043173004
8B41743575B32B   SCOTT        CARADY                       OR     90008984357
8B41755A39375B   SANDRA       LOCKE                        OH     64516955503
8B41782A96194B   BIANCA       FLORES                       CA     90014278209
8B417986872B29   FEDELINA     MONTEZ                       CO     90011259868
8B418163772B33   MATTHEW      HARRIS                       CO     33088751637
8B41835139154B   ANA          GOMEZ                        TX     75095063513
8B418586391894   PATRICIA     LOZANO                       OK     90000915863
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1485 of 2350


8B418A83651362   JESSICA       BAILEY                      OH     66002900836
8B418AA2197133   FRANCISCO     MENDOZA                     OR     90014120021
8B419266972B33   CHRISTOPHER   BEAULIEU                    CO     90004582669
8B419365A72496   JOHN          MAIRE                       PA     90011913650
8B41B349393771   MARILYN       JOYCE                       OH     90006413493
8B41B516676B97   JOSEPH        HELGREN                     CA     46004515166
8B41B773572B33   KARY          MILLER                      CO     90011997735
8B421386272496   LORI          MAKUA                       PA     51035093862
8B421635171977   ADRIANA       CHAVEZ                      CO     38061196351
8B42177529375B   STEPHAINE     LEMNIN                      OH     90008667752
8B421836561978   JORDAN        MCDONALD                    CA     46046898365
8B421838472B44   GERMAN        MORENO                      CO     90014348384
8B4219A3647897   CAROL         FOSTER                      GA     14056129036
8B422151372B62   MARISA        MYERS                       CO     33062031513
8B422177271977   AARON         SANTISTEVAN                 CO     90013481772
8B4221AA161948   CECILIA       MORA                        CA     46010821001
8B422232497138   JENNIFER      PRADO                       OR     90012672324
8B422395161934   LARRY         SKELTON                     CA     90007153951
8B422423272496   BRAD          MORRISON                    PA     90014734232
8B422558351362   TIFFANIE      ELDER                       OH     90010555583
8B422A55172B44   ARTURO        SANCHEZ                     CO     90011640551
8B422AA975B183   GARY          CLARK                       AR     23004030097
8B423455471935   MICHAEL       POWELL                      CO     90006974554
8B42366835B24B   TONI          HABBS                       KY     68022256683
8B424285872B44   JOSE          NUNEZ                       CO     90003082858
8B424338691523   MARTHA        HERNANDEZ                   TX     90010913386
8B424554776B97   EMELIA        OCAMPO                      CA     90013175547
8B424672772B62   DARIAN        BLEA                        CO     33016986727
8B42485777B42B   SANTANNA      WOLFE                       NC     11047458577
8B42499779154B   ELIZABETH     RAMIRES                     TX     90013159977
8B424A55877537   ANTHONY       PETERSON                    NV     90010300558
8B424A73161928   MARINO        MORALES                     CA     46039420731
8B425129941262   ROBERT        GREENWALD                   PA     90014361299
8B425225772432   SYLVIA        HAWKINS                     PA     51077192257
8B425366772B33   OUMAR         QUATTARA                    CO     33097943667
8B4253A339154B   JONATHAN      FISHER                      TX     90013143033
8B425897971935   ELIAS         DEDIOS                      CO     90004678979
8B425898681534   GAIL          POLAN                       IL     20501048986
8B4264A4241291   JOHN          MCCLENDON                   PA     90013494042
8B42669A155971   FERNANDO      QUINTERO                    CA     90013356901
8B426831491894   ROBERT        METVGER                     OK     90002948314
8B42684349376B   DARNELL       MARTIN                      OH     90010078434
8B42714A55B581   LUCAS         WRIGHT                      NM     90014741405
8B42756A19375B   PAIGE         MONROE                      OH     90003795601
8B42761126194B   RICHARD       LONCARIO                    CA     46075916112
8B4278A6184325   MARGARITA     TEXTLE                      SC     14594648061
8B42823745B183   TINA          HIGHT                       AR     90010772374
8B4283A339154B   JONATHAN      FISHER                      TX     90013143033
8B428562476B97   EDUARDO       LOPEZ                       CA     46035355624
8B42861635B32B   GLEN          KRAEMER                     OR     90005826163
8B42862573B391   LUCAS         IRWIN                       CO     33068566257
8B4288A7172B62   DENISE        PODE                        CO     33059638071
8B4292A2672B62   KAYLA         SCHAFF                      CO     90013852026
8B42984639375B   DUSTIN        MILER                       OH     90013748463
8B429A6585B24B   JOHN          MIZE                        KY     90002710658
8B42B62865594B   RICK          PEREZ                       CA     90010726286
8B42BA4185B32B   CINDY         INOCENCIO                   OR     90010230418
8B43127595B24B   CARLOS        LUNA                        KY     90010742759
8B4313A8898B31   RASHADA       CROWFORD                    NC     90011273088
8B4321A658B168   RODOLFO       HERNANDEZ                   UT     31067711065
8B433113791837   BENJAMIN      INDUSTRIOSO                 OK     90015261137
8B4334A5576B97   ALLISON       YUHAS                       CA     90014334055
8B43354295B338   MARCELLA      TILLMAN                     OR     44590545429
8B4335A3693771   TAMARA        YOUNG                       OH     90014885036
8B43361276197B   THOMAS        CARY                        CA     90000106127
8B43374236194B   JOSEFINA      ISLAS RODRIGUEZ             CA     46000297423
8B433931855971   EDWIN         MEDINA                      CA     90009809318
8B433A53951362   DANIEL        WORKMAN                     OH     90013840539
8B434111791837   BRANDI        MARLIN                      OK     90014781117
8B434368372496   PAYGO         IVR ACTIVATION              PA     90013163683
8B434395597B3B   MARISSA       RAMOS                       CO     90014813955
8B4344A582B271   UNKNOWN       UNKNOWN                     DC     90006164058
8B434512571977   SELINA        QUINTANA                    CO     90013375125
8B43479295B356   JORGE         VILLEGAS                    OR     44593107929
8B434847971977   NATALIA       CAZAREZ-OLVERA              CO     90014998479
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1486 of 2350


8B434A5476194B   SCOT          CITRIN                      CA     90010690547
8B43511695B27B   SHERRI        WALLING                     KY     68082001169
8B435131A76B65   CHRISTIAN     VILLANUEVA                  CA     90011941310
8B435238584325   TONYIA        MCCARTHY                    SC     90000942385
8B43524A35B24B   BREYONTAE     WILLIAMS                    KY     90013412403
8B435349831433   KIARA         MARTIN                      MO     27508813498
8B435418172432   SHAWN         HAMILTON                    PA     51002874181
8B435696791979   IDALI         GRAJALES                    NC     17007286967
8B435783772B44   MARIA         VILLEGAS                    CO     33052367837
8B436119461928   MICHAEL       SEVILLA                     CA     90005741194
8B436472571977   CHRISTOPHER   MARTINEZ                    CO     90014114725
8B436492533698   JAMES         SADLER                      NC     90010544925
8B437112276B97   LILYAN        LEMUS                       CA     90013991122
8B43713A85B183   REBEKAH       WILLIAMS                    AR     90014691308
8B43718718B168   HELLAN        SAIMON                      UT     31087481871
8B437847993771   WALLACE       BATES                       OH     90011948479
8B4378A785B27B   ROGER         KEEN                        KY     68039268078
8B437945791975   VANESSA       DEFAZ                       NC     90002749457
8B43822818B154   LISA          SCHOENFELD                  UT     31048822281
8B43823884B22B   DEANDREIA     BOGGESS                     NE     90011472388
8B438758A5B581   NATASHA       GRIEGO                      NM     90012877580
8B438764172B31   DAWN          MILAN                       CO     90007047641
8B438766233738   JUAN          RAMIREZ                     LA     90015177662
8B439237A97138   MARGARITA     CABRERA                     OR     90012612370
8B43979366194B   ANTONIO       ISAIS                       CA     46092767936
8B43B12488B154   RAMIRO        RIOS                        UT     90006151248
8B43B17335B32B   JOHN          DOWELL JR                   OR     44584831733
8B43B38335B581   DINORA        MUNOZ                       NM     90013233833
8B43B475461934   ALYSSA        DELGADO                     CA     90007154754
8B43B49578B168   JULIE         HOGUE                       UT     31006174957
8B43B526A6194B   SEAN          MYERS                       CA     90014815260
8B43B795472432   TRACEY        ELLIOTT                     PA     51003157954
8B43B79A12B889   JENNIFER      ZAVALA                      ID     42092957901
8B43B85513B39B   FRANSCICO     JEREZ                       CO     33068108551
8B43B8A379154B   JOSEPH        MARTINEZ                    TX     90014098037
8B441186371935   JERRY         MARGETA                     CO     32080251863
8B441196172B31   ANA           CARMONA                     CO     33086741961
8B441265441275   KRISTEN       GIAMARTINO                  PA     51039342654
8B441272797138   BRYANT        ALVIS                       OR     90013872727
8B441371672B29   KEO           SIVIXAI                     CO     33095283716
8B441763691837   KIZZY         BELTRAN                     OK     90009937636
8B441A3496194B   GERARDA       SOLIS                       CA     90011860349
8B441A62872B33   DELANDA       FRANKLIN                    CO     33029270628
8B442261472496   PAYGO         IVR ACTIVATION              PA     90015082614
8B442576976B97   ESTELA        AGUILAR                     CA     46009975769
8B44323686194B   ALLARD        TYNEIL                      CA     46070882368
8B443321372B44   TERRI         DAVIS                       CO     33091573213
8B443739291837   MICHELLE      GRAHAM                      OK     90012367392
8B44393868593B   KIMBERLY      PUCKETT                     KY     90014139386
8B443A1A16194B   ALLARD        TYNEIL                      CA     90014320101
8B443A48151552   SUE           MORRIS                      IA     90015290481
8B444714671977   THOMAS        DUNEGAN                     CO     90015097146
8B444759971935   JASMIN        LEVY                        CO     90013487599
8B44478665594B   CAROL         CRADER                      CA     90012637866
8B444943551362   EDWAR         CRISTOBAL PEREZ             OH     90012779435
8B444A67293771   CHANEL        HARRIS                      OH     90005240672
8B444A6A341275   ANNA JEAN     SUNDER                      PA     90001490603
8B445442541275   DEANNA        PARKER                      PA     51003944425
8B44568215B27B   PATRICIA      CLINE                       KY     90012866821
8B445736576B97   SINTIA        VELASCO                     CA     90013927365
8B44582A984325   DERRICK       BLACKSHEAR                  SC     90012898209
8B445A71676B44   MARIA         HERNANDEZ                   CA     46017960716
8B446185191525   JACKLYN       HERNANDEZ                   TX     75063851851
8B446351577537   SAMANTHA      CURL                        NV     90011423515
8B4467AA672496   KAYSHALA      VEASLEY                     PA     51038087006
8B44691A871977   ALFONSO       SALAS                       CO     90009219108
8B44733128B163   MIGNONETTE    HELDMAN                     UT     90012613312
8B44738535594B   RONNIE        LOWE                        CA     90011013853
8B44775A997B3B   MARIA         VARGAS                      CO     90006307509
8B447A14697133   LOURDES       GONZALES                    OR     90015140146
8B448217961948   GERARDO       DIAZ                        CA     90010742179
8B44848425B27B   ERICA         SATTERLY                    KY     90011014842
8B44849169198B   ALBA          LUZ                         NC     90009884916
8B448544797133   SONIA         MORENO-FLORES               OR     90015345447
8B44863288B168   RACHEL        MASCARENAS                  UT     90010966328
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1487 of 2350


8B44886178B154   ELIZABATH     GUTIERREZ                   UT     90014728617
8B449173193127   CHASTITY      LACKLEY                     TN     90015441731
8B44932288B164   CLAUDIA       WHITING                     UT     90002663228
8B449349872496   DAISY         WRIGHT                      PA     51066053498
8B449351872B33   CARLA         TEMU                        CO     33052573518
8B449579172B31   JOSE LUIS     MECIAS                      CO     90004385791
8B449597276B97   ANDY          FLORES                      CA     90014275972
8B4496A225B338   HEATHER       RANGEL                      OR     44566496022
8B449714172432   JOSH          BENARD                      PA     51030737141
8B44994135B27B   TIYE          SEAY                        KY     90010709413
8B4499A858B163   ELAINE        NAEA                        UT     90012359085
8B44B486497138   KEVIN         DORTY                       OR     90010544864
8B44B574391837   MICHAEL       HAMILTON                    OK     90011335743
8B44B7A6661928   MICHEL        TURK                        CA     90011997066
8B45116A15B27B   TIMOTHY       VARDEMAN                    KY     90003241601
8B451796572432   DAWN          NEIL                        PA     51009947965
8B45183214B22B   SOLEDAD       ACEVEDO BARCELO             NE     90012438321
8B452178247822   SHUNINA       HODGES                      GA     14087421782
8B452538791975   WILLIAM       OSCHWALD                    NC     90015065387
8B45262A261934   ETZANAI       PEREZ                       CA     90007156202
8B452899A85856   MARIA         NIEVES                      CA     90000538990
8B452995272496   CARA          LUTZ                        PA     90015459952
8B453166A9136B   OLIVIA        GUTIERREZ                   KS     90009751660
8B453292385856   BRIAN         LAWIS                       CA     90003242923
8B4532A165594B   MIANNA        GUTIERREZ                   CA     90012472016
8B4532A4471977   SONYA         SONNY                       CO     90011072044
8B453637591837   SACORA        PONCIL                      OK     90004836375
8B45426138B18B   GARY          STEWART                     UT     90012272613
8B454492997138   COLE          TONEY                       OR     90013544929
8B45496725B27B   KENTON        DAVIDSON                    KY     90014389672
8B45536728B163   DENISE        REDDING                     UT     90012253672
8B455743861963   ERICKA        LOPEZ                       CA     90015127438
8B455855172B33   PEDRO         ROYBAL                      CO     33088228551
8B455861747822   OPAL          MOORE                       GA     90010738617
8B455A76371977   SHANNON       ALVIDREZ                    CO     90007730763
8B455AA256194B   VINCENT       COSTALE                     CA     90010870025
8B456644791837   CHRISTY       ORR                         OK     90006126447
8B4566A8172B31   ROSE          ESQUIBEL                    CO     33063296081
8B45674215B183   DAVID         PARK                        AR     90012947421
8B456778697138   AARON         MORTON                      OR     90012737786
8B456791933698   DIUANTA       PEPLES                      NC     90014407919
8B456821447897   MARY          HILL                        GA     90010458214
8B457395597B3B   MARISSA       RAMOS                       CO     90014813955
8B457474372B33   KARRI         DURLAN                      CO     90014644743
8B4575A4576B65   CARMEN        SANTANA                     CA     90012315045
8B457635171977   ADRIANA       CHAVEZ                      CO     38061196351
8B45794958B163   RICHARD       JENSEN                      UT     31089669495
8B458168297138   MARIA         GONZALEZ                    OR     90013821682
8B4583A8A8593B   MARIAH        MILLER                      KY     90014603080
8B45848795B581   CHARLES       LUJAN                       NM     90014824879
8B458A4A75B27B   ANGEL         INFANTE                     KY     90010200407
8B458A6A28B163   IDA           SMOOT                       UT     31040600602
8B459112851362   EVELIO        SOTO PEREZ                  OH     90013941128
8B459231355971   G             MELGOZA                     CA     49059582313
8B459438285856   HUMBERTO      SILLAS                      CA     90003724382
8B459816133738   JESSICA       BENOIT                      LA     90015348161
8B4598A628B154   VANESSA       BUENO                       UT     90014678062
8B459A3A572432   TAKEEYA       MORRIS                      PA     90005380305
8B45B248776B65   ERICA         LUVIANO                     CA     46054362487
8B45B26224B538   KEMBERLY      BENNETT                     OK     90007532622
8B45B314371935   JUAN CARLOS   ARROYO                      CO     90013683143
8B45B341491378   ELIZABETH     MCCLELLAND                  KS     90001663414
8B45B674372488   REVA          HUFF                        PA     90012906743
8B46116438B168   SHANNON       GRIFFIN                     UT     90010751643
8B46131835B27B   FABIANA       CASIMIRO                    KY     90005063183
8B461386397138   BETTY         STEPHANSON                  OR     44063473863
8B46143A28593B   BARRY         GOINS                       KY     90003214302
8B46153785B581   KANISHA       BLACKWELL                   NM     35025645378
8B461947251362   KRYSTAL       TRIFILIL                    OH     90010389472
8B461967872432   BELINDA       HINDMAN                     PA     90011449678
8B461A6824B22B   DALAN         URQUHART                    NE     27075880682
8B461A71292884   MANUAEL       VALERA                      AZ     90013030712
8B46229379154B   JULIE         MONTENEGRO                  TX     75040092937
8B46276A77192B   SARAH         RAEL                        CO     90013167607
8B462799471935   VANESSA       CARROLL                     CO     90009317994
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1488 of 2350


8B462948351362   KAITLYN      STACACER                     OH     90014879483
8B46299785B356   BILL         SALLADAY                     OR     44544669978
8B463355171977   ALEX         MONTOYA                      CO     38093393551
8B463525284325   ANTONIO      NORIEGA                      SC     90013805252
8B4636A4191525   AVANTE       PLUMBING                     TX     75001616041
8B46375725B183   VALORIE      COLCLOUGH                    AR     90009767572
8B463992A6194B   JERRY        DAVIS                        CA     90013109920
8B463A15976B97   MAURA        RODRIGUEZ                    CA     90008030159
8B46455749154B   SOLIS        ABBY                         TX     90005535574
8B464A2295B32B   AMBER        BARBER                       OR     90013450229
8B464A39397B38   MARGARET     GAYTAN                       CO     90013640393
8B465336572B62   NAY          POUNDS                       CO     33057743365
8B465721772B31   CHERISH      SCOTT                        CO     33080017217
8B46574886194B   JESUS        DOZAL                        CA     90007687488
8B46618725B139   ALETA        RICHEY                       AR     23013101872
8B46657625594B   FILIBERTO    GUZMAN                       CA     90011445762
8B466958672B44   YOUNHHO      AN                           CO     90012909586
8B46716A576B97   ISIDRA       VELASCO                      CA     90013021605
8B467244231433   SHARNA       PERKINS                      MO     27588042442
8B467487176B65   LORENA       LARA                         CA     90014114871
8B467559A5B735   JUAN         VAZQUEZ                      MN     90015435590
8B46761635594B   ENEDINA      ARREDONDO                    CA     90010416163
8B46833895B24B   KAYLA        HOCKMAN                      KY     90015123389
8B468352897B38   GABRIELA     PALACIOS                     CO     39050103528
8B468486571935   MISTY        YOUNG                        CO     32002744865
8B468AA8972B31   DANNA        STALLINS                     CO     90004150089
8B46914158593B   EFRAIN       GOMEZ                        KY     90013621415
8B4691A8972B33   CHERYL       WILSON                       CO     90013341089
8B469291176B97   OSCAR        LOPEZ                        CA     90011612911
8B46933189154B   ANA          GONZALEZ                     TX     90013143318
8B46B12A272B62   HENRY        DUBOSE                       CO     90015311202
8B46B14A841275   MIGUEL       GALLEGOS                     PA     90015091408
8B46B29299377B   AMY          HUBER                        OH     90012182929
8B46B377A72B44   SEAN         JOHN                         CO     90012763770
8B46B49835594B   MARIBEL      MARTINEZ                     CA     49050564983
8B46B655376B65   MARIA        FLORES                       CA     46007056553
8B46B78A951328   NYESHA       BALDWIN                      OH     90012297809
8B46B79A172B44   DONALD LEE   BAKER                        CO     90015027901
8B46B81A391975   LAKISHA      BROWN                        NC     90005178103
8B46B927672B33   LIZBETH      RODRIGUEZ                    CO     33025139276
8B46B976384336   JON          GROSS                        SC     90001719763
8B47119AA5B581   ROSARIO      ESPINOZA                     NM     90011271900
8B471628876B97   RAYMOND      SILVA                        CA     90009226288
8B471667461934   BRUCE        IVERSON                      CA     90011716674
8B471998972B31   LIDIA        DE LEON                      CO     33005229989
8B471AA7571935   JOANNA       RITCHIE                      CO     32050940075
8B472154661934   PEDRO        SALGADO                      CA     90003661546
8B47283277192B   SARA         DURAN                        CO     90005708327
8B472857991894   DOUGLAS      HEASTER                      OK     90013408579
8B472862A84325   REBECCA      BUSH                         SC     90004098620
8B473138241262   THOMAS       GENTRY                       PA     90013431382
8B47319AA5B581   ROSARIO      ESPINOZA                     NM     90011271900
8B4733A6561928   PHILIP       COOK                         CA     46005633065
8B47353636B932   JUAN         CRUZ                         NJ     90015465363
8B473673461934   JAIME        BUSTOS                       CA     90011716734
8B473865372B44   SONIA        HAKANSON                     CO     90013968653
8B47433479154B   BRIAN        WEASE                        TX     90013143347
8B47489835594B   BENJAMIN     GOMEZ                        CA     49007628983
8B474A73676B97   CASEY        TROTTER                      CA     46027980736
8B474AA4755971   ADRIEL       OLIVERA                      CA     90009590047
8B47525165B27B   JAMES        MEINIKHEIM                   KY     90006012516
8B475684777537   JAYNE        BARBER                       NV     43070256847
8B47582A161928   FLOY         BUSIC                        CA     46087968201
8B47584A993771   GUADALUPE    FUENTES                      OH     64572338409
8B475954961948   OSWALDO      TRINIDAD                     CA     46092349549
8B47619AA5B581   ROSARIO      ESPINOZA                     NM     90011271900
8B47637429712B   RUBY         HEALON                       OR     44017953742
8B47643682B265   ROOBER       BANKS                        DC     90011204368
8B476554976B65   JOSE         VAZQUEZ                      CA     90013235549
8B4765AA38B163   YESENIA      LECHUGA                      UT     90011535003
8B47684A87192B   ANTHONY      GLANTON                      CO     32003898408
8B476872685856   MARIANA      VERITY                       CA     46013428726
8B476A98A93137   PRENTICE     GRANT                        TX     90007650980
8B477233672B29   FELIPE       GONZALEZ                     CO     90013592336
8B477341A72B44   JAMIE        HOPPER                       CO     90013943410
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1489 of 2350


8B477522155971   JOSE LUIZ     ARZOLA                      CA     90014955221
8B4778AA497133   FIEDOCIA      IVANOV                      OR     44088318004
8B477A67472B33   LOUISE        COLLESTER                   CO     90010960674
8B47813538B154   MICHAEL       FINDLEY                     UT     90012381353
8B478482172B29   JOSHUA        RUIZ                        CO     33027954821
8B47868A15594B   ARTURO        ORTIZ                       CA     49068356801
8B478717661948   ALFREDO       LAGUNAS                     CA     90004027176
8B47889465B24B   KIMBERLY      CARTER                      KY     90002248946
8B47912717192B   MARIA         VILLASENOR                  CO     32069391271
8B479283272B33   CRISTINA      LOPEZ                       CO     90012082832
8B479341A72B44   JAMIE         HOPPER                      CO     90013943410
8B47944AA33698   VANESS        RIVERA                      NC     90009724400
8B47964639136B   JOSE LUIS     GALIANA                     KS     90006476463
8B4798A188593B   DANNY         GRAHM                       KY     66009688018
8B479A6156194B   AMIR          FONSECA                     CA     46024730615
8B47B181241275   DANA          CUTLER                      PA     51087481812
8B47B195571935   TAMMI         EISENBRAUN                  CO     32098161955
8B47B257477355   VERONICA      RODRIQUEZ                   IL     20592492574
8B481131191894   ROBBIE        STERLING                    OK     21065881311
8B481163297133   MANUEL        SANTES                      OR     90012691632
8B481278593127   PAYGO         IVR ACTIVATION              TN     90015442785
8B48136236194B   ARMANDO       QUINTERO                    CA     90000483623
8B4815A675B32B   JASON         HAUGEN                      OR     90010995067
8B481615947822   CHELSEA       LOTT                        GA     90002936159
8B481856A5B581   YADIRA        TALAMANTES                  NM     35005688560
8B48187599375B   SERN          NELSON                      OH     64576948759
8B4819A125594B   BREANNA       FERNANDEZ-LOPEZ             CA     90010579012
8B481A34A55971   HANNA         DEADMAN                     CA     90011970340
8B481A42661948   DULCE         ESTRADA                     CA     90006580426
8B482119876B97   APRIL         MUELLER                     CA     90009301198
8B482258241275   LYNN          TATE                        PA     51059462582
8B482311872496   DARREN        VOZAR                       PA     90012933118
8B482555597138   RIGOBERTO     GAHONA                      OR     90013655555
8B4825A9476B65   ANGIE         SCOTT                       CA     90014115094
8B48324736194B   YESENIA       MEDINA                      CA     90001082473
8B483275A5B153   KRYSTAL       BUGG                        AR     90008462750
8B48388325594B   JULIO         CAMPOS                      CA     90014678832
8B48411738B145   WYLLIE        JONATHAN                    UT     90001361173
8B4844A8772B33   ANGELICA      MENDEZ SOTO                 CO     90000274087
8B484512672B62   VICTORIA      OGEDA                       CO     90014155126
8B484564597138   SENDA         LOPEZ                       OR     90014715645
8B48483445B27B   JUANA         AGUILAR-PEREZ               KY     90012938344
8B484966376B65   LAURA         SANDOVAL                    CA     90010389663
8B485458161928   BEJON         PAYNE                       CA     90001624581
8B48555548B168   MORGAN        BLATNICK                    UT     90012115554
8B48572A261978   CARLOS        CASTRO                      CA     90013087202
8B485A52241275   BRITTINEE     JOHNSON                     PA     90014810522
8B486315572B93   STEVEN        BREMMER                     CO     90009253155
8B4865AA38B163   YESENIA       LECHUGA                     UT     90011535003
8B486AA3377537   LURENA        DURANTE                     NV     43050500033
8B486AA8185856   MICHAEL       DERIEUX                     CA     90000570081
8B487236297B3B   CHEYENNE      MARIE DU CHENE              CO     90014542362
8B48742A641262   DOUGLASS      FETTERMAN                   PA     51084314206
8B487477A47822   KAWANA        LIGGINS                     GA     90014304770
8B487573377537   LEONARDO      ALCANTARA                   NV     90014575733
8B487742172B29   CHAD          BECKER                      CO     90012977421
8B48777955B24B   TARA          GREGORY                     KY     68032417795
8B487812A8593B   CHRISTOPHER   DUGAN                       KY     90006598120
8B487918871924   DEBI          KELLY                       CO     90006999188
8B488154271935   JAKE          STEELE                      CO     90014891542
8B48828245B32B   WAYNE         PERSON                      OR     90011942824
8B488453772B33   RIGOBERTO     VENTURA                     CO     33014464537
8B4885A9861934   ESPERANZA     MORENO GARCIA               CA     46089175098
8B488729261978   BETTY         LOPEZ                       CA     46053667292
8B488769871977   RAINA         HART                        CO     38047617698
8B4887A227B42B   BRYANT        SCOTT                       NC     90004397022
8B48936525B27B   JURAYA        JOHNSON                     KY     90007133652
8B489413271977   SHAELI        WERNER                      CO     38029994132
8B489629A8B168   STACE         YOUNG                       UT     90010996290
8B48994695B183   PHILLIP       PIGGIE                      AR     90013929469
8B48B1A7833698   KIMBERLY      JERABEK                     NC     90014611078
8B48B386991975   OLON          WADE                        NC     90015053869
8B48B49545B581   ROY           CARSON                      NM     90011914954
8B48B535A97138   TAYLOR        COLELLA                     OR     90011545350
8B48B6A515B32B   ROBIN         POLLOCK                     OR     90014766051
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1490 of 2350


8B48B819172B44   PILAR        ALVAREZ                      CO     90014658191
8B48B82198593B   JEFFERY      JUMP                         KY     90013938219
8B48B844647897   SHERI        TOMLIN                       GA     90010458446
8B48B89A961934   GISEL        GUZMAN                       CA     90007168909
8B48B938372B62   CARMEAL      REDD                         CO     33089599383
8B48B95A572B33   RICARDO      VELAZQUEZ                    CO     90009219505
8B48BA53831433   KRYSTAL      CROWLEY                      MO     27508830538
8B48BAA6261928   ERIC         JEFFERSON                    CA     90011350062
8B491263177537   MARTA        BAUTISTA                     NV     43008972631
8B4913A9A5B27B   CESAR        DE LEON MERIDA               KY     90008383090
8B49174A647897   NATASHA      DRAIN                        GA     90006817406
8B491765641262   JAMES        GRANT                        PA     51000257656
8B49182955B32B   MELVIN       CARLSON                      OR     90011808295
8B49192A347822   STARETTA     WASH                         GA     14092259203
8B492415641275   DARIAN       DANIELS                      PA     90009684156
8B49261325B24B   DERWIN       WARNER                       KY     90008186132
8B4926A695B32B   ANAHY        RAMIREZ                      OR     90014766069
8B492A41551531   AMY          WINTER                       IA     90014130415
8B492A51741262   ANITA        BLACKWELL                    PA     90014830517
8B492A86172B44   ERIK         FELIX                        CO     90014870861
8B493464141262   EDWARD       MARCINIAK                    PA     51029134641
8B493494961934   ELLIOTT      DREVDAHL                     CA     90011314949
8B49382228593B   RENEE        ROBERTS                      KY     90013938222
8B493A82A4B22B   JME          FRAZIER                      NE     27061860820
8B494151971935   THERESSA     QUARLS                       CO     90005151519
8B49428587B42B   MARTINA      MC QUEARY                    NC     90012812858
8B494512A97138   GABRIEL      GUTIERREZ                    OR     90013635120
8B49451416194B   MICHELE      THOENS                       CA     90012615141
8B4948A188593B   DANNY        GRAHM                        KY     66009688018
8B494A59A51531   KHAYMIE      WINTERS                      IA     90014130590
8B4952A2755971   JOSE         GARCIA                       CA     90015042027
8B4955A7177537   LEONOR       HUATO MARIN                  NV     90011855071
8B49576A472496   PAUL         CLECKLEY                     PA     90012537604
8B495834A5B183   SANDRA       GONZALES                     AR     23062298340
8B496151971935   THERESSA     QUARLS                       CO     90005151519
8B49618718B163   MITCHELL     HARRIS                       UT     90002571871
8B49638284B22B   HERBERT      PETEREIT                     IA     90013923828
8B496769272B33   AARON        GREEN                        CO     90013607692
8B49714A32B881   SHELBY       WOODALL                      ID     90011701403
8B49742A597133   JUAN         PELAYO                       OR     90014164205
8B497818785856   JOCELYN      SILERIO                      CA     90011368187
8B49796136194B   LIONELA      BRAVO-LOPEZ                  CA     46077659613
8B497991A41275   STEPHON      DEAN                         PA     90010849910
8B498274955971   SOCORRO      HUNTER                       CA     90007932749
8B4983A538593B   RYAN         PURDY                        KY     90014903053
8B498672A2B271   LILIAN       ECHEVERRIA                   DC     81096496720
8B499991591532   ELIZABEL     URIBE                        TX     90010029915
8B49B722191837   HUBERT       DONELLY                      OK     21067507221
8B49B85585B32B   CHANDRA      KNEPPER                      OR     44576258558
8B49B885976B65   LORENZO      SANTOS                       CA     46050778859
8B49B993733698   RANDALL      LOFLIN                       NC     90014659937
8B4B119145B24B   CHASITY      BRIGHTMAN                    KY     90013411914
8B4B1192877537   MARTHA       MARTINEZ                     NV     90005571928
8B4B1833293771   JAMES        JACKSON                      OH     64517988332
8B4B1924A72B31   DINA         AGUILAR                      CO     33006359240
8B4B1AA1276B97   DANIEL       SPITLER                      CA     90014040012
8B4B2256772496   SAMANTHA     ANDERSON                     PA     51050872567
8B4B23A525B32B   BALTAZAR     ZAMORA                       OR     90011803052
8B4B288A35B32B   SHAMEKA      HARRIS                       OR     90014748803
8B4B2A25A55971   FAUSTINO     VASQUEZ                      CA     90013380250
8B4B3661197133   DANIEL       RUIZ GARCIA                  OR     44073826611
8B4B399985B27B   ANN          RAY                          KY     68052199998
8B4B4165393783   STEVEN       ISAACS                       OH     90014631653
8B4B439664B22B   AMBER        TRUDELL                      NE     90012213966
8B4B45A2A8598B   KEVIN        MARSHALL                     KY     67075955020
8B4B519A55B581   DAVID        MONTANO                      NM     90008071905
8B4B5253872B62   LARRY        WILLIS                       CO     90013062538
8B4B5997872B44   JOCIE        BARAJAS                      CO     90009969978
8B4B6155951347   ALICIA       GREEN                        OH     90013821559
8B4B667A38593B   HEATHER      GROSS                        KY     90013016703
8B4B6743272B33   DEBORAH      BOHEMAN                      CO     33034317432
8B4B7248191525   JOHN         YTUARTE                      TX     75011192481
8B4B759435B338   MINDY        SPRINGSTED                   OR     90005195943
8B4B75AA697138   NICOLAS      LUA                          OR     44017065006
8B4B777665B24B   STEPHANIE    ALLEN                        KY     90014767766
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1491 of 2350


8B4B78A288B168   DANNETTE      HANSSEN                     UT     90013118028
8B4B7984A5B183   SHARON        EDWARDS                     AR     90008359840
8B4B823A472B62   DAISY         ALDERETE                    CO     90013932304
8B4B82A2755971   JOSE          GARCIA                      CA     90015042027
8B4B8428A93771   JAMES         LEFFEW                      OH     90006144280
8B4B8483A7B489   CHRIS         LAFOLLETTE                  NC     90013334830
8B4B8573497B38   AMANDA        MARTINEZ                    CO     39077655734
8B4B8973197B3B   MARVIN        LUBOVICH                    CO     39093659731
8B4B8AA8884325   TAUREN        NELSON                      SC     90012020088
8B4B963615B581   AZUSENA       ORTIZ                       NM     35017866361
8B4B975688B163   JUAN          CIRILO-BARTOLO              UT     31015037568
8B4B989755594B   MONCE         ROQUE                       CA     90001308975
8B4B98A1572B31   BLANKENSHIP   MICHELLE                    CO     90011618015
8B4B9A42297133   REYES         CHAVARRIA                   OR     90013970422
8B4BB36828B168   CHUCK         BERGSTROM                   UT     90012153682
8B4BB53467B42B   VIMMY         HUDSIN                      NC     90004335346
8B4BB57AA5B32B   MELCHOR       SALAS-CHAVEZ                OR     44513355700
8B4BB589A71977   DAVID         WYCKROFF                    CO     90008785890
8B4BB962972432   WILLIAM       DENNISON                    PA     90009829629
8B511557797133   ANTONIO       AGUILAR                     OR     90013335577
8B5116A1591837   TRACY         PATTERSON                   OK     90014516015
8B511761971977   DONNA         SCHMIDT                     CO     38055967619
8B5118A137192B   ERICK         STOLASS                     CO     32040708013
8B511AA382B271   TRAI          WILLIAMS                    DC     81016400038
8B51212A791894   CHRISTOPHE    PENCZAK                     OK     21049811207
8B51247764B53B   VIRGINIA      CALDERON                    OK     90001154776
8B512586841262   CHAZ          WALLACE                     PA     90011095868
8B5126A1872496   KIMMY         CONNER                      PA     51053036018
8B512733147897   ANDREA        STEVENSON                   GA     14054097331
8B513144622438   VERNON        LAMP                        IL     90014901446
8B5133A8972B29   PAULA         BACA                        CO     90013813089
8B51342A88B163   JEANINE       WILLNER                     UT     90006994208
8B51355A172B44   MANUEL        DIAZ                        CO     33061665501
8B51356A472432   HEATHER       BENNETT                     PA     51015165604
8B51363288B154   JUAN          FAUSTO                      UT     90001626328
8B51364912B271   TIA           BRUNNUM                     DC     90006046491
8B513786A76B97   RACHEL        BACHMAN                     CA     46082527860
8B513799572B62   RICHARD       PAYTON                      CO     90013177995
8B513971172B33   MANUEL        CHAVEZ                      CO     33009099711
8B513AA4384325   BEATRIZ       LAVERDE                     SC     90015240043
8B514157877537   AIVI          TAUSINGA                    NV     90005421578
8B51418124127B   MEGAN         YANKUS                      PA     90008501812
8B514347176B97   MISTIE        MARTINEZ                    CA     46007213471
8B514349A72432   SHAYLA        LINCOLN                     PA     90007763490
8B514576655971   DAVID         SALINAS                     CA     90012305766
8B514828872B29   MELISSA       HAVAIDSON                   CO     90012808288
8B514887971977   KRISTINA      HURD                        CO     90013748879
8B5148A415B27B   GEORGE        GIRTON                      KY     90011568041
8B514A6329712B   SCOTT         GRAHAM                      OR     90013510632
8B515228872B29   ERIC          DUTENHAFE                   CO     90015492288
8B515513872B31   DANIEL        ARAGON                      CO     33051215138
8B51557567B42B   CORY          MAHATHA                     NC     90006825756
8B516137933698   KATISHA       CARTER                      NC     90004991379
8B516144391525   ROSA          CARRASCO                    TX     75096651443
8B516146372496   ASHTON        ANTHONY                     PA     90013411463
8B516275297133   JENS          ULVEN                       OR     90012872752
8B516422941275   JOSH          GAINER                      PA     90002424229
8B5176A515B32B   ROBIN         POLLOCK                     OR     90014766051
8B51792A75B32B   HECTOR        MARTINEZ                    OR     90011809207
8B518398971935   HEATHER       HIGGINS                     CO     90015143989
8B51938778593B   CINDY         RYAN                        KY     90014603877
8B519397193771   FREDA         HAGANS                      OH     64584883971
8B519632497133   MELODY        GOTTMAN                     OR     90012656324
8B519644272B62   SELENA        CASTILLO                    CO     90007356442
8B519663761936   EDITH         ANAYA                       CA     90013766637
8B519A3335B153   BRYANT        HYSHAW                      AR     23017030333
8B51B317297138   BRIAN         EASTMAN                     OR     90013873172
8B51B32145B581   ELIZABETH     CARRASCO                    NM     90014803214
8B51B44A541267   SUSAN         LIS                         PA     90013314405
8B51B631272496   STEFFANEY     STINE                       PA     90010966312
8B51B89148593B   GARY          WESTFALL                    KY     90013938914
8B51B99A86194B   CHRISTOPHER   SODEMAN                     CA     90012849908
8B51B9A9861948   ANAI          TAVERA                      CA     90008339098
8B51BA86572B33   ANNA          SERRANO                     CO     90003360865
8B521774571977   JORJA         GARCIA                      CO     90014637745
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1492 of 2350


8B521992177537   MANUELA        CHAVEZ                     NV     43003629921
8B521A22755971   MARIA          DE JESUS PEREZ             CA     49028410227
8B522127276B97   WILLIAM        POWELL                     CA     90012691272
8B522161684325   ROBERTA        CHILDS                     SC     90010811616
8B5225AA672B29   JAYME          FOXHOVEN                   CO     33088025006
8B5226A345B338   SHYANNE        WILLIAMS                   OR     44588626034
8B522994A91837   CHRIS          TOWNSEND                   OK     90007769940
8B523275176B97   DAKOTA         VALLAR                     CA     90014262751
8B523348277537   OSCAR          SALAZAR                    NV     90000843482
8B52339924B22B   SHAMIKA        BENNETT                    NE     90013283992
8B5233A5261978   FRANCES        BENAVIDES                  CA     90003173052
8B523427197B3B   NORMA          ZEINA                      CO     90010204271
8B523641151362   DEBORH         GARCIA                     OH     66043626411
8B523972797133   MARCELINO      FLORES                     OR     90015359727
8B523A6133B354   DIANE          WOLTA                      CO     33087920613
8B5241A6485856   ROBERT         STRICKLAND                 CA     90014211064
8B52421398B168   ALISHA         VAUGHAN                    UT     90011572139
8B524963A77537   KRYSTAL        CRAWFORD                   NV     90014319630
8B52515415B24B   DUSTIN         WARREN                     KY     90014271541
8B525267391525   CRYSTAL        BUCHANAN                   TX     90009902673
8B526225271977   PATRICK        LANE                       CO     38042532252
8B52671A891837   KIM            LEE                        OK     21004027108
8B526738572B31   EDUARDO        SILVA NAVA                 CO     33048467385
8B526938172B33   REECE          WIGGINS                    CO     90010919381
8B52719594B22B   JACOB          WHITNEY                    NE     90014971959
8B527413676B65   MARIANA        LOPEZ                      CA     46008874136
8B5274A475B338   NICKCOLYNN     NIXON                      OR     90012124047
8B527579572432   THOMAS         HAIRSTON                   PA     90014815795
8B527A7614B22B   TAISHAY        JACKSON                    NE     90000710761
8B528238972B33   ZEAPHEY        ED                         CO     33081462389
8B528257155971   JUAN CARLOS    GARCIA                     CA     90013462571
8B52864AA9154B   PERLA          DE LARA                    TX     90014016400
8B528A94672B44   JOY            PARKER                     CO     90012080946
8B528AA4951362   ELWIHNA        KILMEDE                    OH     90011110049
8B529137872B44   JOAN           ALFARO                     CO     90003581378
8B52946835B338   AMY            LERMA                      OR     90006724683
8B52955132B271   CARLA          FREEMAN                    DC     90004595513
8B529687976B97   ROSETTA M      HARRIS                     CA     90010626879
8B52983725594B   ALEXIS         GRIMM                      CA     90004428372
8B52B28A15B139   SHIRLEY        STEWART                    AR     23013302801
8B52B3AA176B65   HUMBERTO       ORTIZ-RODRIGUEZ            CA     90011693001
8B52B81289712B   ERIN           KOENIG                     OR     44036228128
8B52B89825B24B   MRS JEANETTE   ANDREWS                    KY     90005118982
8B52BA63485856   CHANNELLE      LEE                        CA     90013750634
8B53139A35B581   TRACEY         YATES                      NM     90013023903
8B531494977537   EMMITT         BROWN                      NV     90013474949
8B531741A71935   ALVIN          PLUMMER                    CO     32054517410
8B531949193771   PAMELA         JONES                      OH     90014499491
8B532333371977   LLOYD          TAYLOR                     CO     90014713333
8B532651877537   RENE           MARTINEZ                   NV     90013646518
8B532867641275   LATOYA         JONES                      PA     51009908676
8B532922771935   LATRICE        CHISOLM                    CO     90010559227
8B533223472B44   DAPHINE        WILLIS                     CO     90006852234
8B53358255B32B   LESLIE         MEYROVICH                  OR     44568575825
8B53364948B168   THERESE        BJORGE                     UT     90003926494
8B53379975B24B   YOLENNIS       VILLAMONTE                 KY     90015217997
8B534171997133   ALICIA         FLORES                     OR     90012311719
8B53419425B581   MARIA          NEVAREZ                    NM     90008091942
8B53443796194B   JANET          COX                        CA     90012434379
8B53443985B581   JOHANIS        SEPULVEDA                  NM     90014934398
8B53456A255971   ASHLEY         RIVERA                     CA     90006075602
8B535652277537   RICHARD        BURNS                      NV     90001596522
8B535AA565B27B   KWMANE         BERRY                      KY     68081500056
8B5365A3572B62   MICHAEL        FREESE                     CO     90014915035
8B5366AA15B27B   RODNEY         SMITH                      KY     90014756001
8B53743418B163   ARTURO         VAZQUEZ                    UT     90009894341
8B537849791975   RITHA          SELBY                      NC     90007648497
8B537A8875B581   ISMAEL         HERNANDEZ VILLARREAL       NM     35069110887
8B538555647897   CHRISTOPHER    MARKS                      GA     90001765556
8B538615272B83   DANNY          BEIGHTEL                   CO     33082216152
8B538667A9154B   CECILIA        FALCON                     TX     90013026670
8B53888323163B   CRYSTAL        KRAFT                      KS     90008888832
8B538A82855971   BALTAZAR       LLAMAS                     CA     90011490828
8B539334341262   MARDIS         ETHRIDGE                   PA     51040293343
8B53967A25B271   SALIM          SHAHID                     KY     90012476702
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1493 of 2350


8B539684247897   SAKETA       KING                         GA     14096416842
8B53969355B338   RANDY        SCOTT                        OR     44516996935
8B5399AA941275   MYHIA        MOORE                        PA     90014799009
8B53B266261928   PETER        WILLIAMS                     CA     90008632662
8B53B421371935   MANUEL       TORRES                       CO     90014904213
8B53B74458B154   DAVINA       DURANES                      UT     90014917445
8B53BA22641262   JEREMY       DETWILER                     PA     90013490226
8B541187941275   LEONARD      TAYLOR                       PA     90014191879
8B54127328B163   PRISSILLA    RIPPEE                       UT     90013512732
8B5413A278B154   SELINA       SALAZAR                      UT     90015193027
8B54185749154B   DANIEL       CAZARES                      TX     90010308574
8B541883561998   ANTHONY      RIOS                         CA     90002078835
8B54188558B168   LOUISA       ROBINSON                     UT     90010268855
8B541A91197B3B   CINDY        CISNEROS                     CO     39091790911
8B54242368B154   MEGAN        FETZER                       UT     90007634236
8B54246A472432   RHONDA       DAVID                        PA     90010574604
8B542584591837   MARILYN      MCGEE                        OK     90005095845
8B542639172B44   BRITTANY     MOSLEY                       CO     90014826391
8B542868A76B44   ELIAS        CALDERON                     CA     90011978680
8B54296965B183   MARVIN       HUGHES                       AR     90014759696
8B543324572432   BRYAN        ASBURY                       PA     51066773245
8B54385289375B   TINA         LOCKE                        OH     90005488528
8B543A3895B581   HELEN        MUNOZ                        NM     35061160389
8B544554297133   ALBERTO      ALEJANDRO                    OR     90013105542
8B54472284B22B   ROBERT       MEYERS                       IA     90012637228
8B544843997B3B   WINDALY      JOHNSON                      CO     90007328439
8B544A67633698   BRITTANY     MAXWELL                      NC     90010890676
8B545244272B29   INEZ         MANZANARES                   CO     90012682442
8B545479A5B24B   BRYAN        BASHANA                      KY     68070084790
8B54571A797B38   LEVI         BERIG                        CO     39097057107
8B54573915B581   LOUISE       GARCIA                       NM     35016947391
8B54588427B671   ROBERT       HAMMOND                      GA     15016708842
8B545A7118B154   GINA         JARVIS                       UT     31095750711
8B546112161934   HORACIO      ORONA                        CA     46074481121
8B54636998B168   ALEXANDER    DAURELLE                     UT     90010623699
8B546595877537   JORDAN       BRYCETON                     NV     90015285958
8B546699276B97   MARINA       CASTILLO                     CA     46061226992
8B54697428B168   BEN          EASON                        UT     90001089742
8B54755395B24B   THEODORE     ALVIS                        KY     90002215539
8B547588661928   JUDITH       SANCHEZ                      CA     46098265886
8B54784949136B   FRANK        RAMIREZ JR                   KS     90013518494
8B548372372B44   SHAWN        WOMACK                       CO     90013943723
8B548858972B29   EUGENE       FARNEY                       CO     33078788589
8B548A4A95B27B   STEPHANI     HASKINS                      KY     68072910409
8B54948838B154   KEARA        CHERINET                     UT     90010024883
8B549696561928   JAMES        SMITH                        CA     46015036965
8B549857484325   KEITH        WHITE                        SC     90009168574
8B549A77847822   GREG         KITCHENS                     GA     14090040778
8B54B34865B581   LECIA        MCHARGUE                     NM     90006823486
8B54B397977537   ELMER        CACERES-FLORES               NV     90013833979
8B54B421747897   ALISHIA      FUTCH                        GA     90005414217
8B54B69916194B   ALFONSO      ASCEVES                      CA     90003886991
8B54BA47876B65   SONYA        WALKER                       CA     46012910478
8B55154545B24B   KIMBERLY     PALMER                       KY     90015225454
8B5515A212B271   RACHELLE     OYEBAJO                      DC     81035015021
8B55163919712B   JENNIFER     DELAIR                       OR     44087716391
8B5517AA655971   IMELDA       MADERA                       CA     90014157006
8B55194716194B   MARIA        BENITEZ                      CA     90002489471
8B5522A4455971   THEODORE     BAUTISTA                     CA     90014732044
8B5522A7697133   ARMANDO      RAMIREZ                      OR     90014492076
8B552673A97133   GILDARDO     GUTIERREZ                    OR     90014186730
8B5526A778B168   TERESA       SIMMONS TAPIA                UT     90015476077
8B55279376194B   CARLOS       SANTIESTEBAN                 CA     90012457937
8B5527A2A5B581   MARY         BLANKS                       NM     90013447020
8B552A5679154B   JAIME        ROJAS                        TX     90004360567
8B552A95672B62   ROSA         MADRIL                       CO     90007580956
8B552AA155B32B   HEATHER      CANNON                       OR     44554250015
8B553163971935   KENNY        LOYD                         CO     90000401639
8B55372468B163   VICKY        ROBINS                       UT     90002457246
8B553849497B3B   MONICA       JIMENEZ                      CO     90007608494
8B553A1715B528   NICOLE       SAAVEDRA                     NM     90012300171
8B5541A7172B62   ALBERTA      URRUTIA                      CO     90013071071
8B55467A255971   RACHEL       ALLEN                        CA     90011286702
8B554949693137   MERCEDES     SIELDS                       TN     90015559496
8B555157872432   MELINDA      JONES                        PA     51038331578
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1494 of 2350


8B555646391837   CRISSY         MANNING                    OK     90008056463
8B555875347897   SCHALONDRA     BARBOUR                    GA     90014648753
8B555928697B3B   KENT           RICHARDSON                 CO     39090149286
8B55592A38596B   ROY            WILLIAM                    KY     67042829203
8B555A77577537   AGUSTIN        RODRIGUEZ                  NV     90014140775
8B556512547897   ZAKIA          DUGGAN                     GA     90007845125
8B55662768B154   MARTIN         BENITES                    UT     90014626276
8B556749A71977   GUSTAVO        ACURIO                     CO     38031747490
8B5567A9872496   AMANDA         DURCI                      PA     90014047098
8B5572A7697133   ARMANDO        RAMIREZ                    OR     90014492076
8B5573A7972432   DEBBIE         SPANGLER                   PA     51078193079
8B557681A97133   MARTIN         VASQUEZ                    OR     90011676810
8B557925A85856   RICARDO        GARCIA                     CA     46061929250
8B557A3758593B   TOMMY          YEAGER                     KY     66082700375
8B557A67191894   TRESSIE        SHAFFER                    OK     90003550671
8B558142172432   GERALD         PARKER                     PA     51029901421
8B558455397B38   GREG           TASKILA                    CO     39098754553
8B558478976B97   MARIA          CRUZ                       CA     90012314789
8B558575193771   ADAM           FRESHOUR                   OH     64545455751
8B5586A825B27B   MERCEDES       SKAGGS                     KY     90012346082
8B558781A76B44   MARTIN         GORDILLO CRUZ              CA     46005677810
8B559311876B65   CAROLINA       BEDOYA                     CA     90014163118
8B559442971935   BRITTANIE      SALAMON                    CO     90014904429
8B55B152372496   TIMOTHY        KETCHEM                    PA     90002271523
8B55B32256194B   RAUL           ARREOLA                    CA     90011983225
8B55B42625594B   JULIIO         URIAS                      CA     90013174262
8B55B61119154B   IRENE          AGUILAR                    TX     75074226111
8B55B94729374B   BRENDA         SAUNDERS                   OH     90006659472
8B56116968593B   DEMETRIO       SALVADOR LOPEZ             KY     90010591696
8B5612A8972B62   FELIX          FLORES-CUZ                 CO     90003582089
8B561314897133   ALBERTA        MATEOS                     OR     90005563148
8B561361772B29   DONNA          SIEBERS                    CO     33011383617
8B56138A75B26B   WILLIAM        ROSS                       KY     90011173807
8B561515672B33   RON            ARRAGON                    CO     90013525156
8B561765455971   ARTURO         REYES                      CA     90015087654
8B56177715B24B   DOMINIQUE      GARTH                      KY     90015037771
8B561796791837   EMMA           GARCIA                     OK     90003657967
8B561933347897   RACHEL         CASH                       GA     14065599333
8B561A9668B168   ELIZEO         PAZ                        UT     31071950966
8B562411884325   FERNANDO       DELGADO                    SC     90012224118
8B56247618B154   NATASHA        REEVES                     UT     90013854761
8B562513872B29   JONATHAN       ALT                        CO     90007285138
8B562887976B65   JUAN CARLO     TORRES OLEA                CA     46098198879
8B56321618B154   KELLY          GARLICK                    UT     90012522161
8B563668447897   ANGELA         ALEXANDER                  GA     90015066684
8B563824672B62   GERARDO        PINALES-ZAPATA             CO     33024238246
8B56385216194B   REBECCA        ANNE GAINES                CA     90013438521
8B564548A55971   RENE           SANTIAGO                   CA     90013765480
8B56467555594B   EVELYN         ARCEO                      CA     90011316755
8B564718272B62   SERGIO         GARCIA-MOSQUEDA            CO     90014377182
8B56531225152B   GARRET         GRUVER                     IA     90013233122
8B565922555971   CARINA         ORTIZ                      CA     90012189225
8B565966976B44   LUISA          VENTURA                    CA     90008029669
8B566125861928   OCTAVIO        NUNEZ                      CA     46075301258
8B566A77577537   AGUSTIN        RODRIGUEZ                  NV     90014140775
8B5671A7761948   JUAN           HERNANDEZ                  CA     90002121077
8B56742125594B   VERONICA       VERA                       CA     90009824212
8B567441676B65   ESTHER         BARRON                     CA     90011594416
8B567751572B29   JOSEPHINE      CASTRO                     CO     90012837515
8B56846777B42B   CATRICIA       HANCOCK                    NC     90007234677
8B568498A97B3B   DENNIS         YOUNCE                     CO     39072644980
8B568761576B65   DEBBIE         MAYS                       CA     90011207615
8B56877455B24B   JEANNIE        CEASE                      KY     90014707745
8B568778672496   JAN            GEYER                      PA     51072077786
8B56898244B52B   JAMES          JAMES                      OK     90001369824
8B568A52676B65   MICHELE        MCKURTIS                   CA     90014180526
8B569112476B65   FLAVIO CESAR   NAVA PALACIO               CA     90012341124
8B569182184325   ZACHARY        SIMMONS                    SC     90007621821
8B56978785B153   CARRIE         WYRE                       AR     23051847878
8B56981358B163   PATRICK        ALLAIRE                    UT     90012698135
8B569824261924   EILEEN         ELIZANDO                   CA     90012698242
8B569888172B89   LUKE           TRUJILLO                   CO     33091238881
8B56B245691837   DIANA          CAMP                       OK     90014332456
8B56B8A1655931   ELIZABETH      GRANDE                     CA     90010788016
8B56BA1472B249   LAREGIS        ROBERTS                    DC     90004060147
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1495 of 2350


8B56BA95833698   CARISA       WIGGINS                      NC     90001960958
8B57122315B139   MONIKA       WILSON                       AR     90005592231
8B571364855971   MERTINEZ     JOEL                         CA     90015163648
8B571673961978   ROBERT       SUTTON                       CA     46072856739
8B571683572B44   GREEN        NATALIE                      CO     33062516835
8B57174434129B   JUSTINA      DEFRANCESCO                  PA     90005537443
8B57212255B24B   TIONNA       BASS                         KY     90012171225
8B572218477537   ELISA        VELAZQUEZ                    NV     90012782184
8B57236A55B356   TIFFANY      PIROZZI                      OR     90002593605
8B57311875B581   BARBARA      PADILLA                      NM     90002381187
8B573318761921   TINO         TIALIGO                      CA     90012753187
8B573614872B31   SABRINA      DELLERE                      CO     90001796148
8B573A22961934   ARACELI      MANZANO                      CA     90008440229
8B574544177537   MICHELLE     ALVAREZ                      NV     43094255441
8B574696A8B163   TOMACITA     LOMU                         UT     90013796960
8B57496A841262   YOLANDA      LOWERY                       PA     90007599608
8B57513618B163   CHRISTOPHE   LADD                         UT     31001861361
8B57521935B27B   ALEXIA       THORNEAX                     KY     90011032193
8B575476972B33   NATIVIDAD    FLORES                       CO     90014304769
8B575647772B62   YOLANDA      GONZALES                     CO     33069906477
8B575752272496   JASON        DRAPER                       PA     90007947522
8B57578985B183   JOSE         ALONZO                       AR     90015207898
8B57593376194B   SANTA        REYES                        CA     90006659337
8B576127991242   BELINDA      BRADLEY                      GA     14583891279
8B57638359154B   BEATRIZ      VALDEZ                       TX     90010733835
8B576469641262   DUANE        FOOTE                        PA     90015074696
8B57656A65B153   JOHN         LEWIS                        AR     23057755606
8B57668A55B32B   JURESS       KIM                          OR     90014066805
8B576966A72B62   DUKE         MARION                       CO     90014509660
8B576992A72B27   GEORGINA     HERRERA                      CO     90010849920
8B576A57476B65   ABIGAIL      ALFARO                       CA     90014180574
8B57716175B32B   LAURA        FRISWOLD                     OR     44518651617
8B5771A6A91926   CESAR        PEREZ VENTURA                NC     90014201060
8B5774A3331433   DONNA        MULLIN                       MO     27508864033
8B577944161948   ANA HAYDEE   SANCHEZ MORALES              CA     46078649441
8B577A2688B163   MICHAEL      PEREZ                        UT     90002700268
8B578216A4B22B   MARTIN       ARENIVAS                     NE     90014972160
8B57841918593B   TIESE        SHADE                        KY     90014714191
8B578749171977   IZAN         CORTEZ                       CO     38094737491
8B57886985594B   DILIRANG     OBICHANG                     CA     90014688698
8B579362185856   RHEN         DESOTO                       CA     90002093621
8B579691472B29   IRMA         HENRIQUEZ                    CO     90012886914
8B579736872B44   MARIANA      MEDINA                       CO     90008927368
8B5799A6291525   MAYRA        CORDERO                      TX     75090389062
8B57B14765594B   ARACELI      QUEZADA                      CA     49002401476
8B57B396A5B183   CURTIS       ALLISON                      AR     90014343960
8B57B412672B33   DEBRA        LUCERO                       CO     90014494126
8B57B59485B27B   TERRANCE     HEARN                        KY     90014675948
8B57B829A72B44   CHRISTINA    CAMPOS                       CO     90014888290
8B57B8A2A91837   TERRI        POTTS                        OK     21005858020
8B57B966697B38   RODOLFO      VENEGAS                      CO     90003179666
8B57BA73571935   WILLIAM      VANEMAM                      CO     90014920735
8B581129472B44   LEON         GARCIA                       CO     90011641294
8B581245272B31   CLINT        WARD                         CO     33001082452
8B581413A93771   MARIA        HECK                         OH     90013464130
8B581585597B3B   THEODORE     CROSS                        CO     90009705855
8B58163785B24B   KARL         WILLOUGHBY                   KY     90010786378
8B58167785B153   VICTOR       GOMEZ                        AR     23091796778
8B581894476B44   JACQUELINE   ARBELAEZ                     CA     90002168944
8B581964161936   PETRA        DE ALVA                      CA     90004079641
8B58196A25594B   SONIA        GUTIERREZ                    CA     49065429602
8B581A8399136B   ISSAC        VILLANUEVA                   MO     29046230839
8B582227791528   MARIA        MENDIOLA                     TX     90001942277
8B582586476B65   FRANSISCO    CHAVEZ                       CA     90014165864
8B582656133698   KAYYUM       ALLAH                        NC     90013736561
8B582964471977   LAURA E      SALDANA                      CO     90013579644
8B582A18851362   MAGGIE       STOKIEN                      OH     90010560188
8B58319A15B24B   DENISE       WITT                         KY     68025861901
8B583398A97B3B   TIM          STUART                       CO     39092113980
8B58367996194B   ROSANA       CASTILLO                     CA     90011526799
8B583724472B33   SUSIE        TILLIS                       CO     33078047244
8B5837A285B581   ADRIANA      MORILLO                      NM     90015007028
8B584146A97138   ANGELA       JESPERSEN                    OR     90012751460
8B58436249712B   JUAN         ARREDONDO                    OR     44047013624
8B584372172432   KAITLYN      SASSO                        PA     90011143721
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1496 of 2350


8B5843A3861948   VALERIE      HARDY                        CA     46096173038
8B58444115B32B   SHELIEE      SPODEN                       OR     90002164411
8B584788484325   JADE         SNELL                        SC     90014757884
8B58482A88B154   KARLA        CHAVARRIA                    UT     90009788208
8B58515A351362   MICHELLE     CAHALL                       OH     90012791503
8B58555585B581   KIMBERLY     EKSUND                       NM     35088085558
8B58572564B22B   JOHN         SARRELL                      NE     90015357256
8B5858A1372496   SANDRA       STEIGHNER                    PA     90013978013
8B585923541262   SUSAN        HASER                        PA     51068509235
8B586114A91532   ROBERTO      MINJAREZ                     TX     90012031140
8B586582A5B356   JUAN         VARGAS                       OR     90010245820
8B586966197B38   DOMINICK     MONTANO                      CO     39071339661
8B58717749712B   THOMAS       POLSTON                      OR     44017291774
8B587244691525   KARINA       HERNANDEZ                    TX     75090392446
8B587287241262   TANYA        EPPS                         PA     51017672872
8B587614876B65   LUCIA        CHAVEZ                       CA     90014166148
8B587951A72B29   MARTINEZ     ABRAN                        CO     33036789510
8B587994384325   SHEENA       POWELL                       SC     90014689943
8B587A21172B44   ANGEL        IBARRA                       CO     90002750211
8B587AA8272B33   JERRY        GONZALES                     CO     33059840082
8B588319484325   ADRAIN       SCOTT                        SC     90002873194
8B58854AA97B97   ALLEN        CARROLL                      CO     90013125400
8B58865869154B   MIGUEL       ALDERETE                     TX     90014046586
8B5886A9276B65   TRENT        HALGREEN                     CA     90014166092
8B589234491532   LAURA        GOMEZ                        TX     90005742344
8B589324593771   GARY         ELLIOTT                      OH     90010963245
8B58951599712B   DIANA        KENNEDY                      OR     90003305159
8B58951825B27B   MARGARET     BOHANNON                     KY     68016475182
8B589543991242   NADIA        KITOTI                       GA     14571515439
8B58964915B32B   JEFF         KULLAND                      OR     44553836491
8B58986597B356   HENRY        MEJIA                        VA     81044718659
8B58B359372B29   JAMES        DOMINGUEZ                    CO     33007583593
8B58B398772B62   DOMINIC      COLEMAN                      CO     90010953987
8B58B553471977   SAJJAD       MAHDI                        CO     90013965534
8B58B647241275   SHAWN        TIERNEY                      PA     90013056472
8B58B9A7A5B581   OFELA        SEGOVIA SANDOVAL             NM     90013049070
8B58BA1459154B   PERLA        RODRIGUEZ                    TX     90010790145
8B591341655971   MARGARITA    CHAVEZ                       CA     90002083416
8B5916A354B556   JEREMY       BRIGGS                       OK     90011616035
8B59178276194B   JAMES        DANIELS                      CA     90014437827
8B591848772B44   LUIS         IBARRA                       CO     90012348487
8B591875272B29   CHRISTINE    BURNS                        CO     33011138752
8B59196927B42B   MALICK       GERALDO                      NC     90001839692
8B59262895594B   AIOTEST1     DONOTTOUCH                   CA     90015116289
8B59275698593B   TIMOTHY      DONAHUE                      KY     90006567569
8B592834272B33   ALMA         SANCHEZ                      CO     33012878342
8B592A42471977   ALEXIS       VALVERDE                     CO     90014530424
8B593958955971   RAFAEL       NARANJO                      CA     90013409589
8B59425519154B   BRIONES      ALFRED                       TX     75088252551
8B594263A5B27B   DELANA       WARD                         KY     90013042630
8B594623976B65   JAIME        HOLLIDAY                     CA     90014166239
8B594894297B3B   LINDSAY      DIXON                        CO     90014758942
8B594A13872B31   APRIL        HASTINGS                     CO     33091120138
8B59523648B154   CHRIS        MONROE                       UT     31094572364
8B59532125B153   DERRICK      STEVENSON                    AR     90003693212
8B59537324B22B   JESSIE       WILLIAMS                     NE     90015523732
8B59562467192B   STEVEN       BENAVIDEZ                    CO     90004906246
8B595992793771   LOTTIE       DOMINICK                     OH     64506309927
8B596423997133   MARIE        SNPENCER                     OR     90014564239
8B596483555971   PATRICIA     VALNZUELA                    CA     90015414835
8B597345A72B62   RODRI        CRUZ                         CO     90008363450
8B5973A775B139   LETTIE       HENRY                        AR     90005593077
8B59839A697138   KRISTINA     MCGINNIS                     OR     90015153906
8B59887654B22B   BOBBY        JOHNSON                      NE     90013768765
8B598AA3777537   DANIEL       KERRY                        NV     90015410037
8B59925728593B   PETER        CHINDELAS                    KY     90011222572
8B59948A231482   AMIEE        HEYDT                        MO     90012704802
8B59959779136B   NOE          ALVAREZ                      KS     29057565977
8B59967854B22B   LISA         MILLS                        NE     27095596785
8B5997A2A5B32B   ISIDORO      GALINDO JIMENEZ              OR     90005147020
8B59B39154B22B   MYTINA       DIMA                         NE     90014583915
8B59B46A56B932   ROXANNE      MONCRIEF                     NJ     85097374605
8B59B544572B31   CALEB        LEYVA                        CO     33013125445
8B5B124A476B44   NARCISO      TEODORO MARTINEZ             CA     90008022404
8B5B1642355971   NICOLAS      GUZMAN                       CA     90013686423
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1497 of 2350


8B5B1815497133   LUIS ALBERTO   CORTEZ                     OR     90009378154
8B5B1A57372B33   TONI           TAYLOR                     CO     33043670573
8B5B219785594B   DIANA          SALAZAR                    CA     90000301978
8B5B2782933698   VERONICA       BROADNAX                   NC     12054777829
8B5B286538B163   EMBER          PEDERSEN                   UT     90012198653
8B5B2A27A7192B   DANIEL         WOOTEN                     CO     90005710270
8B5B328345B27B   ROBINSON       KEITH                      KY     90003242834
8B5B3386655971   MARISA         RAMIREZ                    CA     90014753866
8B5B3768497133   JOSE           LUICES                     OR     44066757684
8B5B386A59154B   STEVEN         KUEHN                      TX     75017628605
8B5B389A86194B   ANNTENETTE     CUMMINGS                   CA     90014098908
8B5B3965872B33   GREGORY        SIBAYAN                    CO     33062999658
8B5B3A24A47897   ROGER          SMITH                      GA     90012210240
8B5B3A2785B32B   ELIZABETH      GUARDIOLA                  OR     44565860278
8B5B421255B32B   ANGELINA       GUTIERREZ                  OR     90010062125
8B5B4358271977   MARK           OSTEEN                     CO     90009533582
8B5B4535347897   SURRONDA       HOLLIMAN                   GA     90011735353
8B5B4562A72B31   ANDRES         DE JESUS GARCIA            CO     33004795620
8B5B4594576B44   MARIA          CARRASCO                   CA     90003995945
8B5B496158B168   KRISTINE       MONTOYA                    UT     90003189615
8B5B541149154B   ADRIANNA       CRUZ                       TX     90004974114
8B5B558818593B   ROSA           FOSBRINK                   KY     90014965881
8B5B5618872B44   BLANCA         ALVAREZ                    CO     90009506188
8B5B5636391837   VICTORIA       CONLEY                     OK     21075916363
8B5B623785B27B   LORETTA        JOHNSON                    KY     90012732378
8B5B629567192B   BRANDON        SMITH                      CO     32023752956
8B5B7575191939   AGUSTIN        CISNEROS-GONZALEZ          NC     90011475751
8B5B7835A84325   BRITTNEY       JENKINS                    SC     90011658350
8B5B7A1368B163   KRIS           MATYAS                     UT     31007290136
8B5B7A4A75B24B   GABRIELLE      THOMPSON                   KY     90006130407
8B5B7A77472B33   EVELIN         ALVARES                    CO     90012680774
8B5B812962B271   CARLOS         HOLT                       DC     90002951296
8B5B822A65B153   ROBERT         STERLING                   AR     90001982206
8B5B8348141275   DAEJHON        CARPENTER                  PA     90012403481
8B5B8686561978   MARIA          GARCIA                     CA     46097656865
8B5B86A1485856   CHASE          DANERO                     CA     90013656014
8B5B912175B32B   CHRISTOPHER    HAMAN                      OR     90012761217
8B5B9144991975   ROBERTO        ROMERO                     NC     90006271449
8B5B9389271977   DAVID          TORRES                     CO     90007243892
8B5B939465B356   RYAN           CHURILLA                   OR     44545493946
8B5B9664672B33   OSCAR          SOTO GARCIA                CO     90009776646
8B5B9896197133   RON            RIEBEL                     OR     44055688961
8B5B9953A91242   KIA            SHELL                      GA     90003639530
8B5BB17885B183   SYLVIA         ROGERS                     AR     23084031788
8B5BB278361934   CHRIS          CROCKER                    CA     90010072783
8B5BB56325594B   PIEDAD         RUBIO                      CA     90013105632
8B6112A9972B62   JOSE           TORRES                     CO     90013292099
8B611582161978   JUAN           CORRALES GARCIA            CA     46024995821
8B61176218B168   CORINA         STEVENSON                  UT     90010747621
8B611959651362   VALENTINA      FOLEY                      OH     90014879596
8B611A3819154B   GLORIA         GUERRERO                   TX     90013160381
8B612144272B33   MARILYN        ARENS                      CO     33093251442
8B6122A5972496   VINCENT        STROBLE                    PA     90014802059
8B612357872B44   MARTIN         GONZALEZ                   CO     90013943578
8B612512441262   GWENDOLYN      VALERIE                    PA     90014275124
8B612727885856   FATIMA         VAZQUEZ                    CA     90003067278
8B61285218B154   RULIN          HARVEY                     UT     90014878521
8B61313566194B   SONJA          DOWNING                    CA     90005991356
8B6131A5597133   EDGAR          BRAVO HERNANDEZ            OR     90013211055
8B61345275B27B   TRACI          LARIMORE                   KY     90013214527
8B613674171977   JEFFREY        BLOOMER                    CO     38031006741
8B613693841275   JUSTIN         MIMGONE                    PA     90014856938
8B61374A576B65   JUAN           GARCIA                     CA     90014167405
8B613A41355971   MARGUERITE     SULIT                      CA     90013200413
8B614146272432   JASON          GOODRICH                   PA     90012491462
8B61419454B22B   YVONNE         LYMAN                      NE     90015331945
8B614659672B29   ANTONIO        LUEVANO                    CO     90012656596
8B6147A7A8B168   EVELYN         PETERSON                   UT     90014847070
8B61481A776B65   ALMA           MORALES                    CA     90014168107
8B6149A3631278   ALICE          PITTS                      IL     90012759036
8B614A3819154B   GLORIA         GUERRERO                   TX     90013160381
8B615389297138   ANTONIO        LOPEZ                      OR     90014073892
8B61539A172B33   JOSE           GAMBOA                     CO     33072603901
8B615572A9712B   MARISSA        FRANCO                     OR     90002205720
8B615729785856   VANESSA        SHARP                      CA     46006387297
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1498 of 2350


8B615946A71935   TANYA           ROBERTS                   CO     32029439460
8B61617A891979   DEBBIE          PURDIE                    NC     90013701708
8B616664297133   CITLALY         LIRA GARCIA               OR     90013226642
8B61696774B54B   RASHONDA        MORGAN                    OK     90008499677
8B617232685856   MICHAEL         SILVA                     CA     90014492326
8B61723328B154   SANNY           PASS                      UT     90002412332
8B61723925594B   MICAELA         ARENAS                    CA     90005362392
8B6173A3997138   SERENITY        LESTER                    OR     90007843039
8B61748119154B   ARAUJO          PATRICE                   TX     90013234811
8B617969941262   YEN-CHAO        CHIANG                    PA     90012669699
8B618125A61978   MARIA           NORIEGA                   CA     90005681250
8B618158355971   PAULA           ALAMILLO                  CA     90008761583
8B618258472B29   MARKOS          KURABACHEW                CO     33077612584
8B61884AA71977   TALANA          KINAMAN                   CO     38039818400
8B619267A97133   CESAR           PENA                      OR     90013452670
8B6193A7A5B139   RONIQUE         WRIGHT                    AR     90004573070
8B61977975B27B   KEISHA          KIMBERLY                  KY     90009017797
8B61B83614B22B   ANDEL           STARR                     NE     27006708361
8B62119545B581   MICHAEL         ARMIJO                    NM     90013931954
8B62138734127B   SABINE          JACOBS                    PA     51088933873
8B621459871977   JOSE            JIRON                     CO     90012824598
8B62166189373B   SHATEL          MSHAN                     OH     90011566618
8B62169117192B   ALISHA          BEAUCHAMP                 CO     32036716911
8B6217A1331433   RESENDA         SYKES                     MO     90006497013
8B62184339154B   CARLOS          TORRES                    TX     75022378433
8B622294151362   VANNESSA        BROOKS                    OH     90014012941
8B622296361928   EVAN            GILBERT                   CA     46088332963
8B622374772B62   MARGARITA       HERRERA SANTIAGO          CO     33040793747
8B622415855971   ROMAN           HERNANDEZ                 CA     49094054158
8B62245A277537   MARIA           CERNA                     NV     43091554502
8B622584197133   JOSE            MOLINA                    OR     44082345841
8B622641197B38   VICTOR          FUENTES                   CO     39054976411
8B62294175B581   MICHAEL         SMITH                     NM     90009809417
8B6229A7631433   RICKISHIA       SHELTON                   MO     27588349076
8B622A26451328   DIANA           THRMAN                    OH     66086480264
8B622A49A76B97   ELI             HARRIS                    CA     90012440490
8B623268572B44   AHYDE           PLATAS                    CO     90008402685
8B6232A378593B   CASI            HUNINGHAKE                KY     66095812037
8B6236A7A85888   KENDRA          SQUAZZO                   CA     90010986070
8B624386A93771   SEMERA          YEBIYO                    OH     90003743860
8B624683972B44   KATE            OLIVAS                    CO     33005716839
8B624821276B97   OSCAR           SALAZAR                   CA     90014188212
8B624985361978   BRANDON         BRYNWOOD                  CA     46087219853
8B624A27A6194B   CLAUDIA         AGUILERA                  CA     90009490270
8B6253A9984325   JODIE           J                         SC     90012033099
8B625531872432   KWESI           WILLIAMS                  PA     51032555318
8B62553688B163   ADRIAN          HOLGUIN                   UT     90014675368
8B625654671935   FRANCINE        NIBIGIRA                  CO     32078206546
8B625735576B65   YOLANDA         PADILLA                   CA     90014377355
8B625A65655971   EDDIE           RODRIGUEZ                 CA     90014870656
8B625A8315B356   ROSITA          TILLMAN                   OR     44529490831
8B626386977537   LOGAN           WHITE                     NV     90008993869
8B626992A91837   EDGAR           SAUCEDO                   OK     90014909920
8B626A1328B154   JAMIE           AIKEN                     UT     31078040132
8B62722865B24B   HECTOR          HERRERA                   KY     90015152286
8B62739268593B   LEA             DICKMAN                   KY     66008683926
8B62757145B183   FLORICELIA      MENDEZ                    AR     23068125714
8B62789744B22B   RYAN            HILLYER                   NE     90013508974
8B627A14472B33   STEVEN          SEWICK                    CO     90011510144
8B627A56A9154B   YESENIA         OCHOA                     TX     90013160560
8B62815118B127   NOE             ELGAREJO                  UT     90014401511
8B628251576B65   ROBERTH         CARRILLO                  CA     90008752515
8B62826885B24B   DAILYN          DAILYN                    KY     90013422688
8B628366197B38   LISA            RODRIGUEZ                 CO     90009543661
8B6285A3961923   HECTOR          CALDERON                  CA     46092565039
8B62868558B168   NIKI            BRUNSON                   UT     31080566855
8B628694572496   SCOTT           LINDSAY                   PA     90008806945
8B628A1A297B3B   TANYA           GALLOWAY                  CO     90013060102
8B628A7238B189   MARIO SARABIA   MURILLO                   UT     90006290723
8B62912265594B   ALFREDO         HERNANDEZ                 CA     90005161226
8B629363A72B44   KIMBERLY        HERNANDEZ                 CO     90013943630
8B62937A672B33   MIGUEL          GOMEZ                     CO     90009423706
8B629483671935   LISA            LEE                       CO     90005284836
8B629547572B62   CELSO           GALLEGOS                  CO     90012915475
8B6297A8171936   LEANDRA         BUMPAS                    CO     90012707081
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1499 of 2350


8B629871491837   LISA         CHANEY                       OK     90010148714
8B62B421655971   ALEJANDRA    MORALES                      CA     90014754216
8B62B769277537   PAMELA       SEHRT                        NV     43060157692
8B62B7A348B154   ANTHONY      GROATHOUSE                   UT     31079177034
8B62B9A7897138   NATHAN       KARDELL                      OR     90015449078
8B62BA22147897   TRISA        SPRY                         GA     90004040221
8B62BA97184356   REGINA       ANDERSON                     SC     90013720971
8B6314AA65B27B   JERICKA      RUCKER                       KY     90013594006
8B6315A6372B33   MARIA        LOZANO                       CO     90014355063
8B631982397B38   ABRAHAM      VILLANUEVA                   CO     90011849823
8B6321A2872B31   TYLER        EDWARDS                      CO     90003121028
8B632619541275   JAZZMIN      HERRING                      PA     90002366195
8B63267A197B38   GIL          OCHOA                        CO     39002936701
8B632699A72B44   MARIA        BANUELOS-PAYAN               CO     90012436990
8B632878571977   DEELILA      ROMERO                       CO     90013148785
8B63298478B154   TANYA        ROSENBALM                    UT     31095569847
8B632A51A72B29   KATHLEEN     SPENCE                       CO     33061940510
8B633157797B3B   PABLO        ARRIETA                      CO     39018161577
8B633317177537   JOSHUA       ELLIOTT                      NV     90012663171
8B63347354126B   JAMES        ROMEO                        PA     90001554735
8B63358855B32B   SHELLY       TRIPLET                      OR     90004825885
8B633654493771   JASON        GIER                         OH     64552526544
8B633761176B65   MISAEL       JIMENEZ                      CA     46008887611
8B634329547897   PAYGO        IVR ACTIVATION               GA     90009573295
8B63444725B27B   LEAH         SCOTT                        KY     90003244472
8B63468A547897   FRANK        JOANSON                      GA     90011326805
8B6346A9793137   HAILI        SMITH                        TN     90015416097
8B634828184325   HERNAN       MALDONADO                    SC     90013538281
8B634A79147897   ERIC         ROZIER                       GA     90014780791
8B635114984356   LATHANIEL    FORD                         SC     90000341149
8B635578A51336   MARILYN      LEWIS                        OH     90000765780
8B635752997B3B   CODY         HALPINE                      CO     90004007529
8B63576358B163   SAYOON       GERRETT                      UT     90015037635
8B63577796194B   ELIZABETH    MOORE                        CA     90012537779
8B63648A37B42B   ARIEL        LEE                          NC     90005194803
8B636562377537   ANDREW       DEMARS                       NV     90014485623
8B636955197B3B   HEATHER      BLACK                        CO     39059269551
8B636A1325B24B   JERRI        TYLER                        KY     90010720132
8B636A64133698   PATRICIA     GAYLE                        NC     90007220641
8B637162A72496   GREGORY      PAUMIER                      PA     90014151620
8B6372A1751362   FALISHA      PAYNE                        OH     66056782017
8B63731179712B   STEVEN       NAZAROFF                     OR     90004283117
8B637371847822   JAMES        BIVINS                       GA     14085803718
8B637485361928   MARCO        DORAZCO                      CA     46005674853
8B6375A266194B   SALVADOR     VARGAS                       CA     90010415026
8B637A52755971   ALMA         REYES                        CA     90012930527
8B637AA5385856   TRAVIS       STEPHENS                     CA     90014970053
8B63829815B581   JULIE        DALIGNEY                     NM     90015112981
8B638337972B62   JOHNATHON    DUCKETT                      CO     90014363379
8B638397791837   ERIC         PIEL                         OK     90013863977
8B63843465B27B   BRANDON      WARREN                       KY     90002354346
8B6386AA68B154   BOBBIE       KELLY                        UT     90013386006
8B63872678B163   KELLI        YEBOAH                       UT     90013197267
8B638A31676B65   CHRISTIAN    MARTINEZ                     CA     46093340316
8B639398155971   ESMERALDA    CORTES                       CA     90015153981
8B639429497133   ADRIANA      APARACIO MEDEL               OR     90014564294
8B6396A835B581   HERCION      FUENTEZ                      NM     90002376083
8B63971475B32B   MIRIAN       GARCIA CALDERON              OR     90013417147
8B63972AA71977   EVA          FATTA                        CO     38001117200
8B63989765594B   ELIZABETH    CALDERON                     CA     90014688976
8B639963A47897   ANDRE        STRANGE                      GA     90011109630
8B63B3A3891894   AMANDA       BAUCOM                       OK     21017123038
8B63B52774B22B   VANESSA      CURIEL                       NE     90012655277
8B63B57615594B   JAMES        RUMLEY                       CA     90011445761
8B63B62A971977   KODY         CHOCKLEY                     CO     90013786209
8B63B641572496   JAIME        HOMISON                      PA     90012096415
8B64118275594B   ANTHONY      MCCANDLESS                   CA     90014881827
8B641299A5B356   SEAN         DONAHUE                      OR     44571172990
8B6412AA68593B   DAVID        CHAMBERLIN                   KY     90013652006
8B641667A97133   ESTELLA      HERNANDEZ                    OR     90014386670
8B64272295B32B   FELIPE       POLANCO RAMIREZ              OR     90013417229
8B642957584325   JESSIE       TYSON                        SC     90014879575
8B642998376B44   ZAYAR        CARRASCO                     CA     90013039983
8B64364844B22B   KATHLEEN     JENSEN                       NE     90014836484
8B643651961934   JUAN         QUINTERO                     CA     90011726519
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1500 of 2350


8B643687333698   CHRISTINE       HANICHAK                  NC     12081836873
8B643699A85856   JENNIFER        HARRIS                    CA     90006746990
8B643937472B33   JOEY            SIEGRSRT                  CO     90013479374
8B643991761928   MIGUEL          GUZMAN                    CA     46062829917
8B6441A5176B97   ERIKA           REED                      CA     46009011051
8B644227A9154B   LAURA           BERNAL                    TX     90010172270
8B644379133698   KATHY           RICHARDS                  NC     90014693791
8B644665377537   LIZZETTE        RAMIREZ                   NV     43053416653
8B644712A85856   ANA             HERNANDEZ                 CA     90012937120
8B64496A67192B   AILETH          MARQUEZ                   CO     90001939606
8B645587276B97   GENOVEVA        SOLANO                    CA     90009195872
8B6459AA55594B   JERRY           BAUMAN                    CA     90014689005
8B645A5468B163   AARON           MELTON                    UT     90013660546
8B64647978B154   BRYAN           CHRISTENSEN               UT     90015004797
8B64682654B22B   ROSALIA         CARMONA                   NE     90012508265
8B646A48872B29   MR JORGE        CHAPARO                   CO     90004830488
8B64715945B27B   NOLVIA          OSEGUERA                  KY     90013191594
8B647227647897   SHATERA         LESTER                    GA     90013042276
8B647474384325   MARC            ANDERSON                  SC     90010344743
8B647532676B9B   EDITH           TORRES                    CA     90005365326
8B647561A72B44   ALBERTO         GUTIERREZ                 CO     33062665610
8B647745877537   YENI            MORA IZQUIERDO            NV     90004747458
8B6479A8591894   MARTIN          HENRY                     OK     90006819085
8B64815785B32B   MICHAEL         PARDO                     OR     90006751578
8B648561876B97   ESTEBAN         GARCIA                    CA     90004825618
8B64887A593771   DISHONEA        COLEMAN                   OH     90011308705
8B648A21A93771   KIMBERLY E.     SHEPHARD                  OH     90010460210
8B648A7788B163   BENJAMIN        LEAVITT                   UT     31056960778
8B649288472B31   APRIL           ELSNER                    CO     90014032884
8B64954496194B   SYLVIA          CASTANEDA                 CA     90012325449
8B649642871977   ANITA           ORTEGA                    CO     90014946428
8B64977745B27B   DEE             DEE                       KY     68082787774
8B64B1A757B42B   JORGE LUIS      LOPEZ                     NC     11014301075
8B64B33A293771   FRANCES         ROLLINS                   OH     64513013302
8B64B35735594B   PATRICIA        PEREZ                     CA     90009093573
8B64B362733698   IVY             MCLEAN                    NC     90014673627
8B64B733A33698   ESPERRANZA      VINCENT                   NC     90008577330
8B64BA96472B33   BILL            DENNEY                    CO     33014110964
8B65123155B24B   STEVE           SANDERS                   KY     68006962315
8B65163565B338   CAROLINE        HALLCRAFT                 OR     44570306356
8B65165A197B38   DAVID           SALOMAN                   CO     39034016501
8B651684241275   CHARNEKA        JACKSON                   PA     51088046842
8B651794272B29   EVA             GARAY                     CO     33011137942
8B651A26A9154B   TERESA          ENRIQUEZ                  TX     90010770260
8B652167672B62   EDGAR           RESENDIZ                  CO     90009021676
8B652193997B3B   PEGGY           KOEHN                     CO     39068311939
8B65247A172B44   WILL            SAUCEDA                   CO     90013204701
8B6525A8272496   ANTHONY         WALKER                    PA     90014685082
8B65274774129B   LENEA           LYNCH                     PA     51067197477
8B65278479154B   JESUS ROGELIO   FUENTES                   TX     90011207847
8B6528A1572B31   KARINA          HARMENDARZ                CO     90006798015
8B65314678B168   KAMI            HIGGINS                   UT     90012111467
8B653157772B44   JESSICA         MORALES                   CO     90011641577
8B653214847822   RHONDA          MCELROY                   GA     90010032148
8B653397697B3B   JENNIFER        ROSE                      CO     90012023976
8B653624672432   JAMES           MATTHEWS                  PA     90012166246
8B653641372B62   VERONICA        GUEVARA                   CO     90014276413
8B653928761928   ROCIO           GUTIERREZ                 CA     46042039287
8B653A1855B24B   DEBORAH         CARRIER                   KY     68059860185
8B654254372B44   GREGORY         HAEN                      CO     33063812543
8B654266571977   ESTRELLA        TRUJILLO                  CO     38023362665
8B65426845594B   ERIK            HUERTA                    CA     90002922684
8B654816597B3B   LEELAND         VIEYRA                    CO     90009148165
8B65481A291894   DORIS           LONG                      OK     90013838102
8B654A17776B97   JULIA           ESCAMILLA                 CA     90013320177
8B654AA6897133   LAURA           BRODY                     OR     44071830068
8B655132551362   ASHLEY          LEAR                      OH     90010561325
8B655211455971   EDILBERTA       VASQUEZ                   CA     90013522114
8B655652671977   JASMINE         HALL                      CO     38032506526
8B655776176B97   FLOR MYTE       MATIAS                    CA     90013557761
8B65628525B24B   VANESSA         FARRIS                    KY     90006472852
8B656575572432   APRIL           COLBERT                   PA     90013065755
8B65669A99375B   JAMIE           DOTSON                    OH     64559256909
8B657118731444   EUYLAN          WELCH                     MO     27558551187
8B65716615B183   TRAMONE         JONES                     AR     23050231661
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1501 of 2350


8B657253685856   MARVIN       TRICE                        CA     46043672536
8B65729A42B271   CARLOS       SANTIAGO                     DC     81069912904
8B6581A5A41262   DENISE       WAITE                        PA     51006441050
8B65827827192B   CAROL        DYKHOFF                      CO     90012442782
8B658595977537   LILLIAN      SALAZAR                      NV     90010995959
8B65883318593B   REBECCA      LANDRUM                      KY     66009788331
8B658A81472B44   REBECCA      FISKE                        CO     90012970814
8B659279451362   BRITTNEY     JOHSON                       OH     66014212794
8B6596A4772B44   GOMEZ        ARTURO                       CO     90013416047
8B65972485B32B   MAY YIA      CHA                          OR     90011937248
8B659738391837   KEITH        GRAY                         OK     21065477383
8B659742A97138   JULIE        MAYFIELD                     OR     90011937420
8B6597A7997B3B   LARISSA      CHESSER                      CO     90014537079
8B65999A59154B   PATRICIA     CHAIREZ                      TX     90013309905
8B659A7615B24B   VALDOMERO    SANCHEZ                      KY     90010220761
8B65B335A72B29   MICAELA      CASILLAS-DEMUNOZ             CO     33019553350
8B65B68238B154   ANAHI        SILVA                        UT     31008136823
8B65B82A872B44   FABIAN       GONZALEZ                     CO     90014038208
8B6612A9A72B62   MARCOS       PERLERA                      CO     90010612090
8B66182876194B   ANNA         ARELLANO                     CA     90013738287
8B661832772B31   TONY         BARRERA                      CO     90009678327
8B661941731433   MEGAN        MATTHEWS                     MO     90001709417
8B661A25671935   SANDRA       CROSS                        CO     90004330256
8B662134141275   CAROLYN      RINI                         PA     51024881341
8B66224119712B   MARTIN       NEGRETE                      OR     44018122411
8B66242565B153   VERNIS       BROTHERS                     AR     23021744256
8B66251378B163   JENNIFER     BARKSDALE                    UT     90003345137
8B66274229136B   ALMA         SALAS                        KS     90006527422
8B662831893771   FELICIA      WEAVER                       OH     64503968318
8B662A35A5B24B   BOSHANTA     COLEMAN                      KY     90012270350
8B662A74441275   TAMILLA CR   CRABLE                       PA     90006130744
8B66417915B139   FELICIA      ROBNETT                      AR     23090631791
8B664419376B44   JUAN         BARRERA                      CA     46093254193
8B66442118B154   GREGORY      KILLBREW                     UT     90008154211
8B66486455B581   CARLOS       MELENDEZ                     NM     90013388645
8B664974597B3B   CRYSTAL      DETTLING                     CO     39030299745
8B66497756194B   ANGELICA     PENA                         CA     46052859775
8B66517A891979   DEBBIE       PURDIE                       NC     90013701708
8B665395355971   JAMIE        TOSCHI                       CA     90008403953
8B665591A4B22B   DOUGLAS      COOK                         NE     27095015910
8B665657197133   MARIA        SORIANO                      OR     90012836571
8B665A59477537   ANN          MINATRE                      NV     90011450594
8B666173855971   GERARDO      AVILA                        CA     90012921738
8B66676275594B   ROSHAUN      HINES                        CA     90013157627
8B66696845B581   CYNTHIA      AGUILAR                      NM     35015399684
8B667272391242   JERMEY       HAVEMANN                     GA     90007832723
8B667281691837   CHRISTY      WILLIAMS                     OK     90002442816
8B667299697B38   LUCIO        GUZMAN                       CO     90002222996
8B66741972B389   SILVILA      SANDOVAL                     CT     90014664197
8B667636576B97   KEITH        JACKSON                      CA     90014016365
8B667891A47897   KATRINA      TONYEE                       GA     90014648910
8B667AA348B168   JENNIFER     BUTTARS                      UT     31077100034
8B668267941275   CARL         JONES                        PA     90014862679
8B66838695594B   IVIS         SANCHEZ                      CA     90000313869
8B668635A8593B   RIKKI        GURREN                       KY     90015096350
8B6687A7976B44   PENA         JACKELINE                    CA     90011467079
8B668A65A6194B   ALEXIS       GENTRY                       CA     46006620650
8B66914968B163   JENNIE       MANSANAREZ                   UT     90015191496
8B6691A345B581   JEFF         ADAMS                        NM     90009191034
8B669416961934   JORGE        LOPEZ                        CA     90012824169
8B669431A93771   SHAWNA       PALMER                       OH     90008784310
8B66969885B183   JAUANIA      WADE                         AR     23096776988
8B669721972496   KAREN        DOBIAK                       PA     90013697219
8B66991A98B163   CAMMIE       NEWMAN                       UT     31085859109
8B669992447897   DESERA       BENTLEY                      GA     90012749924
8B669A99774B7B   ASHLEY       NEAL                         OH     90015450997
8B66B29345B27B   JENNIFER     RICHARDS                     KY     90013332934
8B66B298697138   MANUEL       MEJIA                        OR     90009062986
8B66B36578B154   TYRONDA      WINSTON                      UT     90008853657
8B66B59A772B29   CAROLYN      BROWN                        CO     90009155907
8B66B758176B97   FRANCISCO    HERNANDEZ                    CA     90013927581
8B671643298B2B   ELIAS        MARTINEZ                     NC     90008106432
8B671752571935   JESSICA      NORTON                       OR     90003977525
8B671946372B31   SANDRAA      GALEOTE                      CO     33061129463
8B671A23576B97   EDUARDO      GARCÍA                       CA     90013000235
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1502 of 2350


8B67214175B32B   PATRICK      MC DONALD                    OR     90015151417
8B67214A291894   ROBERT       KAZIBIWE                     OK     21049061402
8B672251872B44   PAULA        JOHNSON                      CO     90008742518
8B67274A255971   EVELINA      REGALADO                     CA     90009007402
8B67316A672496   CYNTHIA      CAREY                        PA     51036121606
8B673559797138   DENI         RAMIREZ                      OR     90005715597
8B673895376B65   MELQUIADES   MORALES                      CA     90014168953
8B67398178B163   KATHERINE    BILLINIS                     UT     90012779817
8B674132472B29   WAYNE        HOUSTON                      CO     90012891324
8B67432159154B   MICHAEL      JUAREZ                       TX     90013933215
8B674532A5B581   MELISSA      LUCERO                       NM     35082255320
8B674593997133   JUAN         MEJIA                        OR     90010375939
8B674597172496   JAMES        CACCAMO                      PA     51087405971
8B674632255971   JOHNNY       CASH                         CA     90015196322
8B674734341237   AMANDA       CURILLA                      PA     90012587343
8B675266351362   NICOLE       DAVIS                        OH     90012792663
8B67557355B32B   TATYANA      MCDONALD                     OR     90014775735
8B67647815B338   PATRICIA     MACOMBER                     OR     44535794781
8B676544476B44   NOELIA       SOSA                         CA     90008045444
8B676585A77399   AURA M       GARCIA                       IL     90000855850
8B676947161978   MIANDA       YOMBO                        CA     46087129471
8B677261497B3B   NORA         FIERROS                      CO     90011322614
8B677697276B65   JOEL         MILIAN                       CA     46018216972
8B677891272496   RICHARD      FRAME                        PA     51024278912
8B677989472B29   ARNULFO      GOMEZ                        CO     33076929894
8B67842428B162   LILAN        GONSALVES                    UT     90004504242
8B67866147192B   JENNIFER     YOUELL                       CO     90004156614
8B6788A9876B65   DAVID        MELCHOR                      CA     90006618098
8B678A83255971   ANDRES       MONGE                        CA     90012980832
8B678AA4A8B154   KARINA       CALVILLO                     UT     90013990040
8B679345176B97   RAUL         MARTINEZ                     CA     46064033451
8B679572772B44   MARTINEZ     SHARIE                       CO     33030385727
8B679698384325   ALFREDA      MIKELL                       SC     90011046983
8B679897776B65   VANESA       MILIAN                       CA     90014168977
8B679A21A47897   MARIEVE      HOYT                         GA     90014760210
8B679A7485B24B   ESPERANZA    DUBON                        KY     90008250748
8B67B226197138   CATHY        DEL ROSARIO                  OR     44011452261
8B67B426A71977   ROSE         DILLION                      CO     38010244260
8B67B62424B22B   CARRY        TYLER                        NE     90011376242
8B67B729672432   JUDY         TOUVILLE                     PA     51043907296
8B67B73755B32B   DEYANIRA     PEREZ                        OR     90013417375
8B67B799261948   ALEX         MONGES                       CA     46026257992
8B67B819177537   ANTHONY      TISDALE                      NV     43076588191
8B67B828261934   LUZ          CASTILLO                     CA     90011728282
8B67B841376B65   CLAUDIO      RUIZ                         CA     90014168413
8B67B97795B27B   JESSE        MARSHALL                     KY     90000329779
8B681461372B44   HECTOR       RODRIGUEZ                    CO     90012314613
8B681517672B29   SHANNON      HIGGINBOTHAM                 CO     33052035176
8B681962397138   HEATHER      PIERRE                       OR     44076709623
8B681A5A671935   CLIF         YBARRA                       CO     90010570506
8B682634261928   NATALY       GUTIERREZ                    CA     46049576342
8B6826A4772B44   GOMEZ        ARTURO                       CO     90013416047
8B682874197133   TERESA       LUBERTI                      OR     90014888741
8B682AA218B154   DORIS        REID                         UT     31000980021
8B683264672B62   ASHLEY       REYES                        CO     90012372646
8B683491661928   ERIC         KNIGHT                       CA     90002054916
8B683691161978   JC           ADAME                        CA     90005656911
8B683888A8B163   JOSE         CERVANTES                    UT     90013168880
8B68393895B356   TIMOTHY      HERRING                      OR     44580339389
8B684272672B31   ROSA         RAMIREZ                      CO     90010482726
8B684379772432   YVONNE       MENDICINO                    PA     90011883797
8B68471645B27B   BEUGRE       EKOUN                        KY     90015307164
8B684993361948   OFELIA       MEZA                         CA     90000219933
8B684998372B29   JOHN         SANTISTEVAN                  CO     33061069983
8B684A4A65B183   LARON        NORMAN                       AR     23070450406
8B68512A55594B   J            SANTOS                       CA     90004431205
8B6856A1255971   JUAN         MACIAS                       CA     90014426012
8B685726193783   TROYA        POWERS                       OH     90008757261
8B68594815B27B   TARA         BELT                         KY     90011679481
8B685951572B62   SERGIO       GUERRERO-JUAREZ              CO     33081129515
8B68599A25B356   BRYAN        LEGOO                        OR     90010579902
8B686188897133   MELINDA      ROBLES                       OR     44060401888
8B686415393771   TAMI         FERGUSON                     OH     64577944153
8B68653478B135   AARON        COLLINGS                     UT     90004545347
8B686963A77537   PABLO        VEGA                         NV     90006319630
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1503 of 2350


8B687133471935   REBEKAH             SCRIVNER              CO     90010571334
8B6873A7785856   FABIOLA             GOMEZ                 CA     46068113077
8B68745165594B   ALICE               MURILLO               CA     49065854516
8B68747A372B29   JOAN                MENDEZ                CO     33063604703
8B68765A291525   CORDOBA             DELFINO               TX     75005236502
8B687668897138   RAYMOND             MINCHE                OR     90011086688
8B68778245B27B   HOPE                LINDSEY               KY     90008847824
8B687974391894   RALPH               LEWIS                 OK     21051879743
8B687AA2172B31   FIDEL               VALADEZ               CO     90008080021
8B6888AA536121   DONNA               JONES                 TX     90008618005
8B688A4A772B38   JENNIFER            BISHOP                CO     90011260407
8B68942685B183   JAMES AND LORRISA   THRONE                AR     90013344268
8B689A5592B249   NICK                BEAN                  DC     90001310559
8B68B53229154B   ELSA                BELEN                 TX     90005035322
8B68B777261557   BRIAN               PUCKETT               TN     90015527772
8B691522197B3B   TYLER               FOLGER                CO     39029835221
8B691647755971   JENNY               AVALOS                CA     90010336477
8B691696893771   RACHEL              BROWN                 OH     90007566968
8B691769841275   YARELIS             AUVELLS               PA     90007447698
8B69197815B27B   JASON               TAYLOR                KY     68085119781
8B692126751531   RAY                 GARCIA                IA     90014141267
8B69262695B32B   ROBERT              SWANSON               OR     90014786269
8B69284838B168   LONISE              MAUAI                 UT     90009698483
8B69288323163B   CRYSTAL             KRAFT                 KS     90008888832
8B693227772B31   WAFAA               ADDAS                 CO     33085552277
8B693456372B62   CEON                SHAVERS               CO     90013124563
8B69356A38B163   ERIC                CORSI                 UT     31044705603
8B693684576B65   ROMEO               LOPEZ                 CA     90013696845
8B693984884325   MICHAEL             LOWTHER               SC     90011089848
8B693A73571935   WILLIAM             VANEMAM               CO     90014920735
8B69411A672B44   ROY                 AGUIRRE               CO     33009601106
8B694123261948   PATRICIA            SCHANDLER             CA     46026651232
8B69427738563B   ARMANDO             LOPEZ                 NJ     90001522773
8B694596961934   RAMON               CRUZ                  CA     90010395969
8B694715661978   JUNETTE             COWAN                 CA     46024737156
8B69488318593B   JASON               STEPHENS              KY     66085508831
8B695315541262   TAMMY               DURDEN                PA     90001623155
8B695725485856   SERGIO              ALMANZA               CA     90010707254
8B695A73571935   WILLIAM             VANEMAM               CO     90014920735
8B695AA2755971   TERESA              LARA                  CA     49018020027
8B696638A97B3B   LORI                CARR                  CO     90012556380
8B69681215B139   LATICIA             SANCHEZ               AR     23073418121
8B696953597B38   ERENDIDA            VEGA PEREZ            CO     39034039535
8B696A49A5B183   ARIEL               HART                  AR     90007890490
8B697272697133   EMILIANO            PEREZ                 OR     44092572726
8B697A32272496   DAVID               RONALD                PA     90014770322
8B698119247822   MICHAEL             FERRAR                GA     90003981192
8B69833349154B   MARTHA              VALENCIA              TX     75032533334
8B698454377537   ANTONIA             SALDANA               NV     90009984543
8B69861AA9136B   CANDI               CURTS                 KS     29004376100
8B69876548B154   RICO                CASILLA               UT     90012827654
8B698783776B65   TIMOTHY             ALFONSI               CA     90008657837
8B698852661934   ALMA                ALCANTARA             CA     46078648526
8B698883561998   ANTHONY             RIOS                  CA     90002078835
8B69893A193771   PAMELA              FRISON                OH     64553989301
8B699146271977   BAILEY              LEROY                 CO     90014831462
8B69976199136B   DAVID               HERVEY                KS     29026167619
8B69B154261921   JUSTIN              THOMAS                CA     90011321542
8B69B7A2871935   ROBERT              PEARSON               CO     90014437028
8B69B855672B44   ANA                 MUNOZ-MIRAMONTES      CO     90012668556
8B69B894A76B97   CARL                HAYES                 CA     90014278940
8B69BA3A85594B   GUADALUPE           GONZALES              CA     49034230308
8B69BA59691894   CECELIA             ROBERTSON             OK     21055080596
8B6B123479712B   SAM                 STREET                OR     44031542347
8B6B124A15B27B   SHAVEON             BOYD                  KY     90011032401
8B6B1473372B29   SARAH               HARVEY                CO     90010224733
8B6B1551272B44   PABLO               GALVAN                CO     90007445512
8B6B1589776B65   NICOLE              OTTONALLBEE           CA     90014225897
8B6B1814551332   THOMAS              HILL                  OH     90003238145
8B6B1925231433   CODY                MATTHEWS              MO     90001709252
8B6B232275B32B   COLE KENNETH        GARDIPE               OR     90013423227
8B6B2823161928   DONALD              FLECK                 CA     90011738231
8B6B2949697133   ANDRES              MARQUEZ               OR     90006669496
8B6B29A1A51362   JASMINE             ALLEN                 OH     90014259010
8B6B3688255971   CLINTON             SPRADLEY              CA     49095776882
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1504 of 2350


8B6B378938B154   DIANNE         FRENCH                     UT     90003377893
8B6B3847272B62   RHONDA         MULLANE                    CO     33087238472
8B6B415A561994   KENNETH        LINCON                     CA     90012471505
8B6B4267472B62   JOSE LUIS      HERNANDEZ LUNA             CO     33052382674
8B6B4343376B97   SANTIAGO       SORIA                      CA     90014853433
8B6B4479572B33   JUAN           ORTIZ                      CO     90002794795
8B6B468145593B   SANDY          GRACA                      CA     90009286814
8B6B468215B183   REGENE         MONCUR                     AR     90012996821
8B6B4A21561948   MARIA          SECREST                    CA     46001740215
8B6B5122955971   BEATRIZ        SALCEDO                    CA     90012781229
8B6B525728593B   PETER          CHINDELAS                  KY     90011222572
8B6B548A38B154   APRIL          FALLENTINE                 UT     31061974803
8B6B565645B183   JEREMY         LARRY                      AR     90014126564
8B6B571225B32B   EVELIA         NEGETE-GARCIA              OR     90007257122
8B6B5955133698   IVY            LUZANA AQUIT               NC     90012529551
8B6B5984661934   MARIA          ESTRADA                    CA     90012509846
8B6B599668B163   JESSE          EDELSON                    UT     90013139966
8B6B615114B22B   DANIELLE       MCLEMORE                   NE     27083591511
8B6B6161855971   JOSE           PEREZ                      CA     90014221618
8B6B6434672B62   VALERIE        PETRONE                    CO     33080594346
8B6B6795477537   GEOFFREY       WOODS                      NV     90003037954
8B6B6999A91927   ANTHONY        COOPER                     NC     90010799990
8B6B724A485856   WAYNE STEVEN   RUSIN                      CA     90013622404
8B6B7947372B33   ESPERANZA      RIVERO                     CO     33036829473
8B6B7A1165B581   IRMA           LUNA                       NM     90009160116
8B6B7A8655594B   EMILIO         GONZALES                   CA     90008910865
8B6B857A991975   DANIEL         DEHLER                     NC     17088095709
8B6B8688977537   EDGAR          LUNA VARGAS                NV     90002126889
8B6B8757976B97   AUGESTO        SANCHEZ                    CA     90004097579
8B6B8792172B33   DIONNA         ROMERO                     CO     90002647921
8B6B934185B27B   TED            LATIN                      KY     90004953418
8B6B941346194B   BRANDON        POWELL                     CA     90010634134
8B6B978A58B154   JASON          KELLGORE                   UT     90005387805
8B6B982197B42B   ELVIRA         CASTANEDA                  NC     11090888219
8B6B9858261928   ALONDRIA       CAZAD                      CA     90011738582
8B6BB238772B44   HEWITT         COLOROW                    CO     90012452387
8B6BB691376B65   ARMANDO        SANCHEZ                    CA     90009656913
8B6BB898471977   JUAN           SAUCEDA                    CO     38068888984
8B6BB978893771   HEATHER        EVANS                      OH     90011049788
8B711118331433   CHRIS          WARE                       MO     90012541183
8B711296A57126   JOSE           PORTILLO                   VA     90003132960
8B711687A97B51   DOYMER         HERNANDEZ                  CO     90009516870
8B711981771935   LYNLEE         ZAK                        CO     90014929817
8B71236614B982   IGNACIO        GARCIA                     TX     90012623661
8B71263428B163   REYNA          MURO                       UT     90011956342
8B712941672B31   NORMAN         HARRIS                     CO     90001709416
8B712971772496   SHANNON        AMBROSE                    PA     51009719717
8B713167672B33   VANNA          FAUGHT                     CO     90013541676
8B713345591975   MIRIAM         MANRIQUEZ                  NC     90002403455
8B713647372B44   KEISHA         MAKONESE                   CO     90010476473
8B71381955B32B   DERRICK        GILBERT                    OR     90013078195
8B713961A61934   MACEDO         MARIAM                     CA     46002519610
8B714252872B29   MARTINA        MALLARD                    CO     90014132528
8B714596A5B32B   BELLADONIA     MORTENSEN                  OR     90014775960
8B71485A272B31   ALMA           RIVERA                     CO     33037318502
8B714895572B29   MARTINA        MALLARD                    CO     90013298955
8B71521125B27B   MATTHEW        TUNGATE                    KY     68054642112
8B715312184325   TINA           WILLIAMS                   SC     14548473121
8B715377A9154B   YARED          MONTES                     TX     90010953770
8B715911877537   SEAN           MAY                        NV     90013919118
8B716564797B38   RICHARD        PECQUET                    CO     39036795647
8B716A58A76B97   BILLY          PINEDA REYES               CA     90014170580
8B717327247897   NORMAN         WILLS                      GA     14056063272
8B71748816194B   DAVID          RODRIGUEZ                  CA     90009444881
8B717882641275   KELLI          EVERETT                    PA     51004458826
8B7178A7691525   JOSE           TRONCOSO                   TX     75053098076
8B717A18384325   ELIJAH         POLITE                     SC     90014690183
8B717A33797B38   ELEUTERIO      LANDERO                    CO     90006800337
8B717A63972B62   AMELIA         TRUJILLO                   CO     33058010639
8B718295272B62   MANUEL         BECERRA                    CO     90014892952
8B719172197B3B   JASON          ROGGE                      CO     39048311721
8B719285872B44   JOSE           NUNEZ                      CO     90003082858
8B719334191837   DONALD         GAY                        OK     90014733341
8B71953565B581   MONICA         VILLEGAS                   NM     90004285356
8B719678772B44   ALMA           MARQUEZ                    CO     90012746787
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1505 of 2350


8B719874871977   LAVANNA           TAYLOR                  CO     38042518748
8B71996278B154   RONALD            MARSDEN                 UT     90001379627
8B71B215991837   DAVID             HUMPHREYS               OK     90000832159
8B71B55995B581   YVONNE            SANCHEZ                 NM     35046225599
8B71B915672496   CHRISTOPHER       SYDLIK                  PA     90013479156
8B71BA27351362   LAMIKA            SMITH                   OH     90011990273
8B71BA46A72B62   KIMBERLY          GAMMILL                 CO     33037450460
8B721192272B44   PEDRO             LOPEZ                   CO     90011641922
8B721515371935   DAVID             MIRABAL                 CO     90008055153
8B721672841262   ARIEL             EDENS                   PA     90012156728
8B721791276B65   DAVID             CRUZ                    CA     90010527912
8B721821997133   PEGGY             SHIPMAN                 OR     90004188219
8B721921961934   BEATRIZ           RODRIGUEZ               CA     90011729219
8B72193485B27B   ASHLEY            LUTTRELL                KY     90010689348
8B721937797138   BRITTNYE          DAWN                    OR     90008909377
8B721A3815B153   KENNY             DANNER                  AR     23075540381
8B722413372496   TERA              BARNHART                PA     90013054133
8B722721497133   SHAD              SPENCER                 OR     90013577214
8B722995176B65   ELVIA             VALDEZ                  CA     46000929951
8B722A74847897   CHERYL            BRYANT                  GA     90008470748
8B723387191979   MIGUEL            SALGADO                 NC     90006693871
8B72348438B164   STEVEN            MUSTER                  UT     90001274843
8B72348795B581   CHARLES           LUJAN                   NM     90014824879
8B723587176B65   SALVADOR          GONZALES                CA     46029335871
8B723842741275   MIKE              SINTRA                  PA     51088318427
8B723892347822   PATRICIA          BROWN                   GA     14086638923
8B723992671935   CASSANDRA         ROUT                    CO     32054389926
8B72399A87622B   SARENITY          HOLCOMB                 GA     90009419908
8B723AA5555971   FRANCISCO         VICTORIA                CA     90015150055
8B724576376B65   SIMON             GARCIA                  CA     46002975763
8B725223A91525   LORENZA           AGUILAR                 TX     75090422230
8B72556339154B   DOLORES           CASTRO                  TX     75026595633
8B72571695B356   LISA              JOHNSON                 OR     90011997169
8B725734493771   BRANDON           LEICHLITER              OH     90008437344
8B725831491837   JOSHUA            MCINTOSH                OK     90013518314
8B726573897138   SARA              LOPEZ                   OR     90010915738
8B726971255971   FIDELINA          MENDEZ                  CA     90013329712
8B72733A833698   EBONY             KEITH                   NC     90006883308
8B72752489136B   SONIA             NAVARRETE               KS     29047215248
8B72777A35594B   JENNIFER          JUAREZ                  CA     90012007703
8B727922471935   NATASHA AND JAY   JACOBS AND PATRICK      CO     90014939224
8B727997871977   ZACK              MAYO                    CO     90013419978
8B727A88785856   SARA              RUIZ                    CA     90005770887
8B728353941275   JIM               YOGLING                 PA     90013723539
8B728354155971   NINFA             GALINDO                 CA     90000143541
8B72848A876B44   MENDEZ            JAIME                   CA     90012004808
8B72864668B154   LISA              MOKATE                  UT     31034806466
8B728682276B97   KENNETH           TAFT                    CA     90013396822
8B7288A235594B   SERGIO TINOCO     ALBINO                  CA     90004798023
8B728911A51362   JUDY              YOUNG                   OH     90014259110
8B728A3A972B44   MATTHEW           LIRA                    CO     90015020309
8B72916585B32B   ANGEL             LEBLANC                 OR     44528881658
8B729323A72496   TISHA             TRUMP                   PA     51084653230
8B72934287B42B   KENNETH           JAMESON                 NC     11083553428
8B729667272B29   MICHAEL           GILLIS                  CO     33005946672
8B729748941262   CAM               TAYLOR                  PA     90002987489
8B72975228B163   ANA               RODRIGUEZ               UT     31030477522
8B72981446194B   HERLINDA          DELATORRE               CA     90004368144
8B729922471935   NATASHA AND JAY   JACOBS AND PATRICK      CO     90014939224
8B72B319471977   BIANCA            FLOREZ                  CO     90011063194
8B72B36385B581   JUSTIN            RODRIQUEZ               NM     35088563638
8B72B37445B32B   FELISA            FELIX                   OR     90002443744
8B72B529577537   JASON             BEAUDRY                 NV     90013805295
8B72BA34797133   THERESA           HIEKES                  OR     90013790347
8B72BA4425B27B   JEFFERY           MORRRIS                 KY     90014930442
8B731173876B97   DUSTIN            SCHRAMM                 CA     90015231738
8B731262872B33   MARIA             ELIZONDO                CO     33075892628
8B731577172B29   DOMINIC           RODRIGUEZ               CO     33090655771
8B73177999375B   MATTHEW           ARNETT                  OH     64548827799
8B73246898B154   JAMES             JOHNSON                 UT     90012874689
8B732489181686   CLARINDA          SAYRE                   MO     29011004891
8B7325A4997133   JILL              FRANCIS                 OR     90001655049
8B7325AA184325   FLORENTNA         VALDEZ                  SC     90015615001
8B73285898B168   MARK              SCOTT                   UT     31071068589
8B733558376B65   HECTOR            RAMIREZ                 CA     90000225583
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1506 of 2350


8B733636697133   BRANDON      PARKER                       OR     90013246366
8B733956571977   THERESA      LUCERO                       CO     90002629565
8B734125297133   DANIEL       RAMIREZ                      OR     44000271252
8B73414299712B   MARILU       MARTINEZ VILLASANA           OR     90003331429
8B734192893771   MATTHEW      PHILLIPS                     OH     90014561928
8B734464371977   BRITTANI     VALDEZ                       CO     90011764643
8B734488691837   BRANDI       HAMILTON                     OK     90008714886
8B734778572432   HEATHER      MILLER                       PA     51002697785
8B734A6446194B   JEREMIAH     DAVIS                        CA     90014880644
8B735247376B97   SILVIA       ULLOA                        CA     90014932473
8B735252776B65   JOSE         HERNANDEZ                    CA     90014182527
8B735779876B65   RUBEN        DE LA ROSA                   CA     90005427798
8B735A4439154B   CHRISTINE    RODRIGUEZ                    TX     90014390443
8B735A6936194B   GAUDENCIO    SANTOS                       CA     46058400693
8B73611A572B29   ANTONIO      JIJADA                       CO     90012161105
8B736233691525   ALFEREZ      ESTELA                       TX     75016622336
8B7366A569154B   MARIA        CURIEL                       TX     90010726056
8B736A8554B22B   MORGAN       OHARA                        IA     90007230855
8B737269476B97   THOMAS       MOSER                        CA     90010492694
8B73746715594B   HILDA        SOLORZANO                    CA     90011744671
8B737638351362   STAR         CHEATHAM                     OH     90001116383
8B73766635B581   MONICA       BENAVIDEZ                    NM     90013116663
8B737825A47897   TAMARA       WILLIAMS                     GA     90010678250
8B737A11872B29   OLIVA        GALLEGOS                     CO     33010930118
8B738377391525   OSCAR        RODRIGUEZ                    TX     75012153773
8B73858628B163   AUBRI        HALE                         UT     90013685862
8B738968961934   CINDY        GUTIERREZ                    CA     90011729689
8B73949639712B   ERICA        EVANS                        OR     90005324963
8B739775997B3B   KARLA        ALVAREZ                      CO     90010887759
8B73B148355971   MARISELA     TORRES                       CA     90010231483
8B73B1A595B581   BERNADETTE   SEDILLO                      NM     90002221059
8B73B36319154B   FRANCISCO    ACOSTA                       TX     75074563631
8B73B65294B22B   CHARLIE      RUCKMAN                      IA     90013636529
8B74133A976B65   LAURA        CALZADA                      CA     90014183309
8B7415A169154B   NORMA        MARTINEZ                     TX     90004945016
8B74186518B168   ANNA         HANSON                       UT     31017938651
8B741A36631433   TONY         HOGAN                        MO     90008860366
8B74214994B259   JACQUELINE   WILSON                       NE     27020621499
8B74217778593B   KRISTIE      JEWELL                       KY     90013941777
8B742195572B44   ANDREW       ANDELARIA                    CO     90011641955
8B742262947822   TARA         BRICKLE                      GA     90006572629
8B74226A38B168   SHALANA      PENA                         UT     90014962603
8B7427A7272496   KAT          BROOKS                       PA     90011177072
8B743457772B44   MARK         REED                         CO     90008454577
8B743467771977   GARRY        WHITTEMORE                   CO     90015114677
8B74367815B24B   MORGAN       MCCRACKEN                    KY     90012526781
8B743738691837   JONATHAN     BAZWELL                      OK     90012357386
8B743755597138   DIANNA       HERNANDEZ                    OR     44059747555
8B743799A5B338   LILIANA      BARRERA                      OR     44567487990
8B74397258B154   JAMI         REDHAIR                      UT     90012329725
8B744111791837   BRANDI       MARLIN                       OK     90014781117
8B744119391894   KEVIN        FOWLER                       OK     21094691193
8B744143A97133   JORGE        SANDOVAL                     OR     90002631430
8B744195572B44   ANDREW       ANDELARIA                    CO     90011641955
8B74419974B22B   MAGALY       RUBIO                        NE     90009321997
8B744423347897   BETTY        BLASH                        GA     90014704233
8B74491A541275   TAMEKA       ADAMS                        PA     90010699105
8B745229697B3B   MACARIO      ROJAS                        CO     90012462296
8B74567175B24B   JEANNIKA     GARDNER                      KY     90009126717
8B745751797B48   JORDAN       KENNEDY                      CO     90013947517
8B745755233698   DIANE        ECTOR                        NC     12072947552
8B745866272B44   LUISA        FLORES                       CO     33022418662
8B746335661928   TANYA        COLLINS                      CA     46005683356
8B746466172B31   CARLOS       ESPINOZA                     CO     33052204661
8B74649395B338   JUAN         MONTEJO                      OR     90001714939
8B74656915B27B   AMY          SMITH                        KY     90002495691
8B746718551362   DARRELL      CARTER                       OH     90013987185
8B74677657192B   JACQUELINE   MARTINEZ                     CO     32039847765
8B74691775B27B   AMY          SMITH                        KY     90004449177
8B746A32741275   JAMIE        NADER                        PA     90013300327
8B746A83155971   ARMANDO      CONDE                        CA     90011300831
8B747456972496   RED          ION                          PA     90008754569
8B74752759154B   CHANTAL      ARMENDARIZ                   TX     90013095275
8B747567697B3B   GREGORY      DESHAZER                     CO     90011345676
8B747597861978   JAMES        BOND                         CA     90015205978
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1507 of 2350


8B747813191837   JOSHAWA       LEE                         OK     90008818131
8B747946361928   CONSUELO      CRUZ                        CA     46017879463
8B747958A5B32B   AZALIA        SANCHEZ                     OR     90008309580
8B74838785B32B   JOY           HARRIS                      OR     90001683878
8B7483A7785856   FABIOLA       GOMEZ                       CA     46068113077
8B748546572B62   JOHN          SHANNON                     CO     90008585465
8B7485AA385933   GERALD        CISSELL                     KY     67096535003
8B74896856194B   GREGORIO      DEGRACIA JR                 CA     90004319685
8B748A27597B3B   RODOLFO       RANGEL-CRUZ                 CO     39091160275
8B748A3AA5B27B   CASSANDRA     MEDLEY                      KY     90008880300
8B74941A997B3B   CHARLIE       GRANDT                      CO     90007794109
8B749539A51362   SHARON M      PHELPS                      OH     66000715390
8B749758176B97   FRANCISCO     HERNANDEZ                   CA     90013927581
8B7499A4941262   JAMES         DEMAR                       PA     90010319049
8B74B47495B27B   KATHLEEN      GUNTER                      KY     90009944749
8B74B699141275   BOBBIE        DICKEY                      PA     51038786991
8B74B786655971   OMAR          ZALPA                       CA     90013077866
8B74B7A3797B3B   SIERRE        MULLIN                      CO     39002397037
8B74BA69576B65   ALEX          ZUNIGA                      CA     90014170695
8B75123966194B   MARILYN       DEAN                        CA     90011042396
8B75148759712B   BOBERT        CLARCK                      OR     90008104875
8B75149915B581   DARLENE       MALDONADO                   NM     35097374991
8B751676272432   SANDY         WASIK                       PA     90012376762
8B751751572B29   JOSEPHINE     CASTRO                      CO     90012837515
8B75214825B183   BENJAMIN      THOMAS                      AR     90010191482
8B75232378B154   MICHEAL       MCCLEERY                    UT     90014563237
8B752334293771   CARL          REMMETTER                   OH     90015213342
8B752424297138   AMANDA        LINVILLE                    OR     90012024242
8B752468872B31   GEOFFREY      DIAZ                        CO     33056564688
8B752528A97B38   ZOILA         DIAZ                        CO     39050145280
8B752681751362   SHARON        ALCORN                      OH     66050306817
8B752694655971   LUCILA        BAUTISTA                    CA     49030306946
8B752892147926   TABITHA       DEAL                        AR     90004278921
8B7531A9847897   NIKKI         SANDERS                     GA     90012941098
8B753414572432   JEFFEREY      HILTON                      PA     90014854145
8B75358A45B24B   CHARITY       SHAVER                      KY     90010055804
8B753776977537   CHANTAL       CABRERA                     NV     90014877769
8B753A69397B3B   SUSAN         BACON                       CO     90006900693
8B75448318593B   AMANDA        JONES                       KY     90014614831
8B75449538B163   DINORA        SORIANO                     UT     90005274953
8B754624A8593B   STEVEN        MOLLOY                      KY     90013046240
8B754855476B44   RALPH         APODACA                     CA     90008748554
8B754965471935   MARIA         ARREDONDO                   CO     90014979654
8B75512A197138   SUSANA        MORALES CARDENAS            OR     44085271201
8B75522566194B   ROBIN         RODRIGUEZ                   CA     90014182256
8B755232A72B29   CLARA         CARRASCO                    CO     33066732320
8B755321A9136B   JOHNNY        ALLEN                       KS     90004103210
8B75534828B163   AARON         HATHAWAYE                   UT     31079143482
8B755363131433   TIP           MORTON                      MO     27547723631
8B7554AA25B32B   LISA          CASTILE                     OR     90011814002
8B755675741275   CARMELITA     PERRYMAN                    PA     90010276757
8B755695341275   MALEITA       MOFFITT                     PA     90012416953
8B756543133698   JOSE          PALMA                       NC     12060515431
8B756553671935   CHRISTOPHER   LATERRA                     CO     90014995536
8B756648872B31   VIVIANA       LUGO NARVAEZ                CO     90010116488
8B757276751362   JESSICA       CARTER                      OH     90014812767
8B757676576B97   RICHARD       DIAZ                        CA     90014416765
8B757892291528   FRAIRE        LUIS                        TX     90008668922
8B757A34491525   ELIZABETH     DELGADO                     TX     75001590344
8B757A4865B27B   CLARENCE      OWENS                       KY     90015410486
8B7582A2377537   CONNIE        ORR                         NV     90014732023
8B75844245B27B   CARL          PHELPS                      KY     90011034424
8B759115772432   PATRICIA      LAVECCHIA                   PA     51058641157
8B759119476B65   GUSTAVO       VELAZQUEZ                   CA     46063541194
8B759374297B3B   GUMARO        ORDONEZ-JIMENEZ             CO     39051873742
8B759A6645137B   LISA          FREEDMAN                    OH     66099200664
8B75B25118B154   EMMANUEL      SOLORSANO                   UT     90010982511
8B75B32925B24B   MELKAM        ARAYA                       KY     90003933292
8B75B36769154B   LYNN          ARANDA                      TX     90003943676
8B75B898176B65   BERNARDINO    ALVARADO                    CA     46058138981
8B7613A846194B   ANDRE         DUBOSE                      CA     46070673084
8B761524372451   STEPHANIE     SHYCHUK                     PA     90013435243
8B761977A91975   JAVIER        HERNANDEZ                   NC     90010769770
8B762437476B65   OLGA          HERNANDEZ                   CA     90014184374
8B762728385856   CHRISTOPHE    POTTER                      CA     46006487283
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1508 of 2350


8B762959991242   LATOYA       WASHINGTON                   GA     14545449599
8B763484291975   LOURDES      PAVON                        NC     90008184842
8B76351A891837   LYDIA        BADGWELL                     OK     90014715108
8B763523297138   PAULA        KIMBROUGH                    OR     90009295232
8B763554993127   PAYGO        IVR ACTIVATION               TN     90012175549
8B76361895B32B   MELISSA      EBERLY                       OR     90014776189
8B76368155594B   KATHLEEN     ESPINOSA                     CA     49092136815
8B763832785856   ALFREDO      CASTELLANOS                  CA     90012278327
8B763A65771977   MICHELLE     VEAZEY                       CO     90009390657
8B76423915B356   CHERISH      DAYCHILD                     OR     44595272391
8B764286181552   OTGONTUGS    DASHNTAM                     DC     90008852861
8B76449545B581   MARIA        REYES                        NM     35096484954
8B764526976B97   JOSE         PALACIOS                     CA     90002175269
8B764831884325   CLARETHA     MOORE                        SC     90014478318
8B764995185856   JANICE       LAGESSE                      CA     90012479951
8B764A87272432   CARL         RIGHTWEISER                  PA     90013360872
8B76514585B24B   DUNCAN       ROB                          KY     68062901458
8B765244251362   JAMES        BURRIS                       OH     66024062442
8B765291772432   SAMMY        LINCOLN                      PA     90010142917
8B765432591837   TRAVIS       LACKEY                       OK     90014154325
8B765446176B65   FRANCISCO    LOPEZ                        CA     90014184461
8B765551147853   ELLEN        BLACK                        GA     90001365511
8B7656A8677537   JESUS        RUIZ                         NV     90007816086
8B765A7215B338   MICHAEL      YODER                        OR     44573150721
8B766233A51591   RUTH         ZARWAY                       IA     90011142330
8B766492776B44   GUSTAVO      VILLALPANDO                  CA     90006434927
8B7672A9376B44   JAMES        HERNADEZ                     CA     90011472093
8B76732AA97133   DANIELA      RAMIREZ                      OR     90014823200
8B767445A61928   MARTIN       MACKLIN                      CA     46005684450
8B767821291975   PRESTON      GRAHAM                       NC     90005258212
8B76792716194B   ROSA         FIGUEROA                     CA     90012509271
8B76796287B671   TRASONE      MCCLAIN                      GA     90012119628
8B767987571935   ANN          LANE                         CO     90011089875
8B7685A8371977   VICTOR       MONTEZ                       CO     38098565083
8B768642272B33   SHANE        BERGH                        CO     33036036422
8B76917148593B   TONY         HUTSELL                      KY     90011581714
8B76B117654153   SHAD         CONRADSON                    OR     90015531176
8B76B936472B29   TIM          MONAHAN-MITCHELL             CO     90010279364
8B76BA1695594B   MONICA       HERANDEZ                     CA     90014660169
8B76BA3885B24B   PASCUAL      ORTIZ                        KY     90013470388
8B77132888593B   NANCY        KORNEGAY                     KY     90013943288
8B771418772432   JUSTIN       WHIPKEY                      PA     90015154187
8B771A5915B24B   LAKENYA      SHARRON                      KY     90013470591
8B772172877537   NANCY        OLIVER                       NV     90012621728
8B77296618B168   SHELLIE      BARTON                       UT     90015129661
8B773365676B97   ELEAZAR      ROJAS                        CA     46052363656
8B773434197133   ROSARIO      SANCHEZ                      OR     90014554341
8B773474A2B271   AURA         HERNANDEZ                    DC     90004984740
8B773533233698   CHAQUANDA    LEWIS                        NC     90010805332
8B77361234127B   KRISTEN      DOMONSKI                     PA     90002236123
8B773617897133   ROSARIO      SANCHEZ                      OR     90009816178
8B7737A3351362   MEGAN N.     HOLSCHER                     OH     90000317033
8B77385435594B   CECILIA      AGUILERA                     CA     90000208543
8B774217A7192B   RAMON        CABALLERO                    CO     90005742170
8B77432AA4B22B   SATEEN       LOPEZ                        NE     90014693200
8B774375372B33   RITA         VIGIL                        CO     33051833753
8B774594897138   DIANA        MONGKOYEA                    OR     90012855948
8B77462655B32B   WENDY        BURKE                        OR     90014776265
8B774641197B38   VICTOR       FUENTES                      CO     39054976411
8B774A49572496   ROBERT       RODRIGUEZ                    PA     90015310495
8B77527AA71657   KANDICE      HAILEY                       NY     90013692700
8B775631A5B32B   AUSENCIA     MARQUEZ                      OR     90014776310
8B775A66941275   SUSAN        CUIFFI                       PA     51072750669
8B77658389154B   GLORIA       TRUJILLO                     TX     90009955838
8B776597872B29   CLAUDIA      ROSALES                      CO     90007155978
8B77659A57B42B   ESTET        ROJAS                        NC     11007595905
8B77663515B32B   YVETTE       CALAMI                       OR     90014776351
8B776785591894   TABITHA      SALOM                        OK     21030617855
8B776969A91975   CLIFTON      SLADE                        NC     90012189690
8B777124A51362   JUANITA      JONES                        OH     66019341240
8B77717875B377   BENIAMIN     GROZA                        OR     90010911787
8B777442398B2B   JEFF         HEILIG                       NC     90013284423
8B777814271977   JUANITA      MALDONADO                    CO     90015138142
8B77784295B183   CARISSA      WARD                         AR     23074698429
8B778151191894   MASHAVA      HALL                         OK     90002571511
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1509 of 2350


8B778193584325   TRAVIA           BRYANT                   SC     90010761935
8B77838129154B   MARIA            GARCIA                   TX     75064483812
8B778479871977   ENRIQUE          REZA                     CO     90012204798
8B778628481552   TERRY            JOHNSON II               IL     90009696284
8B77935378B163   ANGELA           MALAE                    UT     31008823537
8B779394472B44   DARLENE          JANUARY                  CO     33006393944
8B77956155B183   ASHLEY           WEBB                     AR     90014395615
8B779978193137   JOSHUA           MCDANIEL                 TN     90015359781
8B779988997138   DAVID            EVANSON                  OR     44028449889
8B77998A49136B   FERNANDO         AGUILAR                  KS     90006579804
8B779A41177537   KATRICE          AZADIAN                  NV     43059780411
8B77B224841275   BESSIE           FAIT                     PA     51085272248
8B77B2A2176B44   EDMUND           BLOGG                    CA     46072992021
8B77B783641272   JEQUETTA         BLEDSOE                  PA     51000407836
8B77B79A197B3B   EDITH            HERNANDEZ                CO     39049117901
8B78111595B32B   RUTH             REED                     OR     44512481159
8B7811A6A72B29   DAMON            PETERSON                 CO     90008401060
8B781781751362   ANGELA           BURNS                    OH     66041147817
8B78181765B27B   MIKEISHA         ELLIOTT                  KY     90009768176
8B78198A49136B   FERNANDO         AGUILAR                  KS     90006579804
8B782181633698   JENKINS          DOMINIQUE                NC     90012331816
8B782325991242   LATOYA           WILSON                   GA     14573923259
8B78271878B168   CAMBER           BRACKETT                 UT     31070997187
8B782919A72B64   JOSE LUIS        LIMAS                    CO     90010259190
8B783165897133   GLORIA YOLANDA   CORTEZ                   OR     90005421658
8B783442A93137   CARRIE           RISACHER                 TN     90015414420
8B783512772B33   MARIO            HOLLERWAY                CO     90013565127
8B78368575B581   BERNADETTE       RAMIREZ                  NM     90013836857
8B783755A71977   SYLVESTER        STIEB                    CO     38085247550
8B784129991837   SHARLEN          SMITH                    OK     90009831299
8B78429647192B   JOEL             HUDSPETH                 CO     90005742964
8B784655A72B44   MARIA            MATA                     CO     90014416550
8B784685A7B372   MICHAEL          HOOVER                   VA     90009366850
8B785194941275   JAY              BROWN                    PA     90003431949
8B785375476B97   NIGEL            ROBINSON                 CA     90010323754
8B785478376B65   GUILLERMO        SUAREZ                   CA     90014184783
8B785568971977   DONNA            MAES                     CO     90009235689
8B78563A45B581   BRIANNA          SILVA                    NM     90013496304
8B785771371935   MYLA             GORRELL                  CO     90014947713
8B78591676194B   ELOINA           AGUILAR SOTO             CA     46038909167
8B785984161557   ALAIN            BANISTER                 TN     90015559841
8B785994561924   DIANA            CHAVIRA                  CA     90010079945
8B78638934B22B   TANIA            GONZALEZ                 NE     90013923893
8B7863A3351365   MICHAEL          MARSHALL                 OH     90006333033
8B787295A71935   NOEL             RODRIGUEZ                CO     32015072950
8B787792384325   ANNTIONATT       ELAM                     SC     14595157923
8B78797426194B   DEBORAH          NOWELL                   CA     90013429742
8B787994461951   TERESA           GONZALEZ                 CA     90014839944
8B7879A3191837   TINA             WHITE                    OK     90010649031
8B787AA274129B   LEAH             MANSON                   PA     90001120027
8B78841664B22B   MARY             GARDNER                  NE     90010714166
8B788537625329   YELIZAVITA       DOROKHOVA                WA     90015155376
8B78857748B163   PERLA            ELTRAN                   UT     90001725774
8B788975177537   TABITHA          RONZONE                  NV     43089899751
8B789132A72B31   JUAN             GONZALES                 CO     33058771320
8B789233372B33   YVONNE           GRAHAM                   CO     33011562333
8B789526776B44   MORALES          DORIS                    CA     90005165267
8B78968615B581   CHRISTAN         BAUTISTA                 NM     90014726861
8B78974A251531   MENJIS           KIFLE                    IA     90012587402
8B7898A358B163   ISSA             GODI                     UT     90013858035
8B78B389276B65   ARICELI          MOJARRO                  CA     90010073892
8B78B735972B31   ANDRES           CASTILLO                 CO     33068747359
8B7911A2972496   ANGEL            STITELER                 PA     90003001029
8B7913A5A91894   MICHAEL          POTTER                   OK     21017133050
8B791887372B44   SHANNON          KEALIHER                 CO     90013108873
8B791919241262   PARRIS           LYLE                     PA     90012359192
8B792361272B33   CRISTIN          CLARK                    CO     33043713612
8B792533655971   ISAAC            MARTINEZ                 CA     90012275336
8B79263255B32B   TONY             SOTO                     OR     44509526325
8B792884677537   CHARISSA         VECENTE                  NV     90014518846
8B793155A55971   JENNIFER         BRYANT                   CA     90011301550
8B79339525B356   YUSDELQUI        MARQVEZ                  OR     90010583952
8B793399697B3B   MARIA            VALENZUELA               CO     90015523996
8B793412A5B183   MARKESHA         JONES                    AR     23033204120
8B793456591837   HOPE             SEYMOUR                  OK     90013644565
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1510 of 2350


8B793915997138   ROBERT        WILLIS                      OR     90014969159
8B793A12691922   TARLENE       ANGLADE                     NC     90010380126
8B793A1866194B   SAMUEL D      HILL                        CA     90013460186
8B794319272B29   WENDY         RODRIGUEZ                   CO     90001713192
8B79434AA93771   DARREN        HAYDEN                      OH     90015163400
8B79452468593B   SYLVESTER     BURTON                      KY     90014615246
8B79454A597138   KYLE          RODRIGUEZ                   OR     90009135405
8B79468A18B156   SANDRA        OZOSKY                      UT     90013516801
8B79469875B581   HENRY         BUCKNER                     NM     90012146987
8B794954433698   TARA          DIGGS                       NC     90007749544
8B794A85A41262   JAMES         WEBB                        PA     51032100850
8B79513494B22B   MERCEYDIS     BROWN                       NE     90013721349
8B79554787192B   THOMAS        GRABE                       CO     90002655478
8B7958AA45594B   MARIA         RAMIREZ                     CA     49038958004
8B795952797133   RION          CRISS                       OR     90014689527
8B79614995B27B   JAMES         COTTRELL                    KY     90010381499
8B79625265594B   NORMA         MARTINEZ                    CA     49034222526
8B79688768B163   CHELSEY       HENDRICKSON                 UT     90014778876
8B796A47291837   CARROL        GRAHAM                      OK     90010130472
8B797179341275   JAMES         BROWN                       PA     90013901793
8B797877441275   CHAD          WILSON                      PA     90015218774
8B7979A394B538   WILLIAM       BUNTING                     OK     90013929039
8B798751A97133   MARICELA      IBANEZ                      OR     90013297510
8B798817176B65   ERICA         AMPUDIA                     CA     46034298171
8B79883373B343   DIANE         NANOVICH                    CO     90013048337
8B798936776B44   PATRICIA      AVANOS                      CA     90012219367
8B799232872496   HOLLY         HOCKENBERRY                 PA     90015092328
8B79941715B356   ABBI K        EWERT                       OR     90010584171
8B79997A172B29   ROY           ADAMS                       CO     33096089701
8B799AA8672496   CARRIE        NELSON                      PA     90013440086
8B79B236991837   HELEN         WILLIAMS                    OK     90000532369
8B79B336A8593B   AMY           HASTINGS                    KY     90013943360
8B79B376872432   DENNIS        DARRIN                      PA     90009243768
8B79B776372496   JILL          FULTON                      PA     51072597763
8B7B137874B22B   ALICIA        CASSIDY                     NE     90014653787
8B7B14A8576B65   ANGEL         PEREZ                       CA     90012644085
8B7B151945B581   MAXIMO        FERNANDEZ                   NM     35095435194
8B7B2152133698   WILLIAM       SARTIN SR                   NC     12074821521
8B7B225A172496   JESSICA       FUIZZOTTI                   PA     51034312501
8B7B227385B24B   VALINDA       LEWIS                       KY     90013132738
8B7B238295B32B   MONTY         VANN                        OR     90014993829
8B7B244367B359   MARIA         MELENDEZ                    VA     90006174436
8B7B2768791975   MARIO         HERNANDEZ                   NC     17089067687
8B7B3294A7192B   ARTHUR        LOPEZ                       CO     90002562940
8B7B3596A5B32B   BELLADONIA    MORTENSEN                   OR     90014775960
8B7B38AA491927   EULA          BRAYBOY                     NC     90011888004
8B7B39A3377537   VICKIE        KROPF                       NV     90013919033
8B7B4241247897   KAREEM        PARKER                      GA     90014042412
8B7B4589876B97   TYLERMARIE    AMOS                        CA     90013275898
8B7B4759971935   JASMIN        LEVY                        CO     90013487599
8B7B4941525164   JAKEYA        ROBERTS                     AL     90013339415
8B7B55A998593B   ABISMAEL      GERENA GOZALEZ              KY     90011225099
8B7B5878272B33   CLAUDIA       WATTS                       CO     33085398782
8B7B5AA2376B65   JUAN          VALDES                      CA     90014170023
8B7B6149776B97   ISIDORA       MEDINA                      CA     90013081497
8B7B648795B581   CHARLES       LUJAN                       NM     90014824879
8B7B651898593B   EDWARD        SCHAFFER                    KY     90011225189
8B7B6717647897   MICKEY        STRIPLING                   GA     14088617176
8B7B698A631448   KEITH         WHITLEY                     MO     90001619806
8B7B6A4448B189   NATALIE       PLAYER                      UT     90012090444
8B7B715645B27B   HERTOR        MARTINEZ                    KY     90013361564
8B7B74A5333698   BEVERLY       BLACK                       NC     90014694053
8B7B751898593B   EDWARD        SCHAFFER                    KY     90011225189
8B7B797149136B   ANTONIO       GONZALEZ                    KS     29000009714
8B7B79A4876B65   JUSTIN        TAGUE                       CA     90012859048
8B7B829A876B97   CHRISTOPHER   BRICKEL                     CA     90013912908
8B7B8348997B3B   LOWANA        BURCH                       CO     39046983489
8B7B849299154B   VIRGINIA      SOLTERO                     TX     90012484929
8B7B8596A5B32B   BELLADONIA    MORTENSEN                   OR     90014775960
8B7B863265B338   WILLIAMS      GARCIA AVILA                OR     90004246326
8B7B8636597133   DANIEL        MOLINA                      OR     90009426365
8B7B8AA615594B   ELSA          RAMIREZ                     CA     49096050061
8B7B9187147897   SHEILA        NELSON                      GA     14019001871
8B7B922928B154   STEVEN        OLSEN                       UT     31088662292
8B7B988A793137   STEVE         THOMPSON                    KY     90012658807
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1511 of 2350


8B7B997595B24B   JAMIE              BUCKSON                KY     90013469759
8B7BB13618B163   CHRISTOPHE         LADD                   UT     31001861361
8B7BB247276B65   SANTIAGO           MARTINEZ               CA     90014182472
8B7BB2A7251362   ANDREW             STACEY                 OH     90013942072
8B7BB31965B581   BRANDY             DURAN                  NM     35026213196
8B7BB4A7577537   JOSE               GARCIA-GOMEZ           NV     90014744075
8B7BB527A5B183   DOMINQUE           LOVE                   AR     90008375270
8B7BBA94261557   TINA               M. CAVENESS            TN     90003100942
8B811336A8593B   AMY                HASTINGS               KY     90013943360
8B811549761928   APRIL              AKBAR                  CA     46011025497
8B8116A9676B65   HAILEY             FROST                  CA     90014186096
8B811759161948   WILLIAM            ODONOVAN               CA     90000217591
8B811A49A55971   CARLA              RAMIREZ                CA     90012840490
8B81222A661978   ROSA               ESTRADA                CA     90012692206
8B81235A476B97   THOMAS             CRUSE                  CA     90012703504
8B8123A594B22B   JENNIFER           SMITH                  NE     90014513059
8B812753777537   MARIA              RODRIGUEZ              NV     90014877537
8B812949997138   KYLEE              SPIER                  OR     90013209499
8B81295863852B   KENZIE             SCHROEPPEL             UT     90009879586
8B81325A35594B   MARICELA           LEYVA                  CA     90000952503
8B813456591837   HOPE               SEYMOUR                OK     90013644565
8B813576372432   ROSEMARY           ROBL                   PA     90015245763
8B81357A472B44   ANTONIO            BARRAZA                CO     90007445704
8B813694A81639   CARMEN             AVILA                  MO     90014376940
8B81372259376B   LAWRENCE           SCHROEDER              OH     90002527225
8B81385746194B   ITXAMAR            HERNANDEZ              CA     90013438574
8B813A58272B27   ANDREA             JOHNSON                CO     90014530582
8B814447161928   YESENIA            MARTINEZ               CA     90011744471
8B814471A5B32B   TIAIRRE            MILLER                 OR     90014784710
8B814482693771   TYLER              FAMBRO                 OH     90014304826
8B814726597138   MELISSA            SANDERS                OR     90006997265
8B81482AA72B44   JON                TILTON                 CO     90014658200
8B815397597133   ANTONIO DE JESUS   FAJARDO                OR     90013593975
8B815774972B31   WILL               DAY                    CO     33090417749
8B81578935594B   ANTONIO            RODRIGUEZ              CA     90014697893
8B81594485B27B   ANKYETRA           ROBINSON               KY     90014019448
8B815973172B62   TERRY              BOONE                  CO     33086289731
8B8161A875B32B   BRIANNA            LARSEN                 OR     90011821087
8B816455776B97   ADAN               GARCIA                 CA     90003564557
8B816479585856   MARIA              SILERIO                CA     90000564795
8B816521151362   KADISHA            MEIDNA                 OH     90014705211
8B8165A6671935   DAWN               GUTHRIE                CO     32046355066
8B8166AA376B44   VICTORIA           ESCALERA               CA     90011656003
8B816A86497B3B   LETICIA            RIVERA                 CO     90012650864
8B81722755B27B   RONNY              MOORE                  KY     90013442275
8B817866561934   JOHN               KARAM                  CA     90009668665
8B81797124B531   SHERRY             SCOTT                  OK     90013689712
8B817975547897   SHACONDA           JOSEY                  GA     14002129755
8B817A42672B44   BARBARA            DEWITT                 CO     90012560426
8B818283172B29   ROBBY              FILKIN                 CO     33005762831
8B818386772B62   HANNA              ORLIK                  CO     90013253867
8B81856355B27B   RICHARD            CROFT                  KY     90015325635
8B818629876B97   COREY              ATKINS                 CA     46037506298
8B819611291837   NICOLE             WALKER                 OK     90014586112
8B819775747897   TONYA              HOLLOWAY               GA     90010077757
8B819888A97133   TABATHA            JONES                  OR     90013298880
8B819986A76B65   LORRAINE           DELGADO                CA     46010939860
8B81B19A94B22B   LOLALI             WOMAS                  NE     90015001909
8B81B38642B271   JENNIFER           INMAN                  DC     81006893864
8B81B593976B65   DAWN               FROST                  CA     90014185939
8B81BA56691547   VERONICA T         ROSALES                TX     75054400566
8B81BA84591837   DELORES            BRICE                  OK     90010910845
8B82126A441262   ERICA              CHRISTMANN             PA     51095542604
8B8216A4477537   ROCIO              BERUMEN-FLORES         NV     90014486044
8B8218A4A5B581   KARRIERAE          MONTE                  NM     90011328040
8B821A79584325   LAQUAINE           JENKINS                SC     90014620795
8B821A7A541275   ANTHONY            RUSS                   PA     90007540705
8B822347A91837   JUAN CARLOS        GUERRERO               OK     90002473470
8B822628176B65   CASSANDRA          FROST                  CA     90014186281
8B82287668B154   ELIAZAR            CAMBA                  UT     90012908766
8B822962741262   TONI               CORINEALDI             PA     90013939627
8B823336A8593B   AMY                HASTINGS               KY     90013943360
8B823869171977   PRISCILLA          CASADOS                CO     90009128691
8B823914155971   ANTONIO            MURILLO                CA     90014989141
8B823A2232B271   MONIQUE            WRIGHT                 DC     90005540223
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1512 of 2350


8B824127871935   ANGEL            VALLES                   CO     32047151278
8B824349493771   CHRIS            STRIKE                   OH     64509933494
8B82444367192B   JUANA            LOPEZ                    CO     90004434436
8B824522397133   KATELIN          MALO                     OR     44038995223
8B825691671935   VANESSA          CZARNECKI                CO     90014996916
8B825791155971   MARIA            VILLALOBOS GALVAN        CA     90014157911
8B825888A97133   TABATHA          JONES                    OR     90013298880
8B82626265B32B   KURTIS           SMITH                    OR     90012112626
8B826534472B62   JEFFERY          STEVEN CAPRA             CO     90001455344
8B826762476B65   JUAN             RAMOS                    CA     90012827624
8B82766915B356   IRENE            REYES                    OR     44513866691
8B8277A6891975   PRESAUNICA       ROSE                     NC     90008997068
8B827851472496   RONALD           ROSS                     PA     51051248514
8B827A17976B65   CRISSY           OLMO                     CA     46047280179
8B828215271977   KATIE            JOHNSON                  CO     90013702152
8B82839545594B   JOSE             OCHOA                    CA     90009723954
8B82846138B154   CHRISTOPHER      THOMAS                   UT     90014834613
8B82846339154B   JOSE CARLOS      CARREON                  TX     90013244633
8B82864439712B   MONICA           JANES                    OR     44088096443
8B828651247822   ASHLEY           CASON                    GA     90010016512
8B8286A9997133   JOSE GUADALUPE   GOMEZ CANCHOLA           OR     90013086099
8B828811571977   KATIE            JOHNSON                  CO     90011088115
8B82894278B168   VICENTE          OLVERA                   UT     90008999427
8B82897945B27B   CHARLES          PAYTON                   KY     90011569794
8B82946399154B   JOSE             GARCILAZO                TX     90013244639
8B82965856B932   DAMON            LEAKE                    NJ     90009276585
8B82981225B581   LIUDMILA         RODRIGUEZ                NM     35087038122
8B829A58877537   JESSICA          TALAMO                   NV     43080920588
8B82B69988B154   STEPHANIE        DONOHUE                  UT     90008946998
8B82BA3188593B   KEVIN            BOSWARTH                 KY     90011250318
8B83165394B22B   REBECCA          HILLMER                  NE     90004146539
8B83171645B27B   SHERRY           HISER                    KY     68080767164
8B83225A36194B   SARAH            DASH                     CA     90014732503
8B832295A76B65   ASHLEY           MARZAN                   CA     46082692950
8B83236478B169   MISTY            SANCHEZ                  UT     90009383647
8B83245915B356   AMADA            SANCHEZ                  OR     90010584591
8B832888A97133   TABATHA          JONES                    OR     90013298880
8B8328A9141262   LOUANN           FRANKS                   PA     51017078091
8B832937284325   CLIFTON          BROWN                    SC     14589319372
8B83295559375B   DAVID            CORRY                    OH     64530669555
8B833136255971   WENDY            ROBERTS                  CA     49015471362
8B83348638B163   ANGIE            HARKER                   UT     31073334863
8B83369735594B   STEVEN           RIVERA                   CA     90012646973
8B833755572B44   CORY             LACH                     CO     90014437555
8B834143355971   LEONEL           SANCHEZ                  CA     90012301433
8B83455595B27B   JASMINE          STREETER                 KY     90011035559
8B83457485B27B   RAYMOND          POGGENBORG               KY     90013845748
8B83468675B581   ML               WHITEBEAR                NM     90015176867
8B834897A85856   GABRIELA         PENARANDA                CA     90014438970
8B834A69877537   MARSHA           HUFFMAN                  NV     43017550698
8B834A8415B581   ML               WHITEBEAR                NM     90006160841
8B835165972B44   TIFFANY          GOLDEN                   CO     90010471659
8B835235885856   SAMUEL           FRANCISCO JUAREZ         CA     46034762358
8B83537A64B561   CONSUELO         MEZA                     OK     90009193706
8B83569795B27B   ROLANDO          LOPEZ                    KY     90003746979
8B835A7A555971   VANESSA          DOYLE                    CA     49098830705
8B83624A38B168   LINDBERG         HENOS                    UT     90014462403
8B836296697B3B   FRED             TEESDALE                 CO     90013522966
8B836664391242   CHARLES          BUNDER                   GA     90002836643
8B83668A747897   JASMINE          JOHNSON                  GA     90014586807
8B836716561921   ANGELICA MARIA   CASTRO                   CA     90013827165
8B837146271977   BAILEY           LEROY                    CO     90014831462
8B837214672B44   SONIA            ORTIZ                    CO     33080532146
8B837369176B44   ELIUD            LUNA                     CA     90012513691
8B83759A533698   JANELL           MOUNTCASTLE              NC     90014695905
8B83766139136B   JOSHUA           LARRABEE                 KS     90009876613
8B837A56A41262   MARLEY           DOTSON                   PA     90013930560
8B837A95972B29   STEPHANIE        INGRAHAM                 CO     90013110959
8B838118741262   TOMASINCEA       NEWRING                  PA     90012081187
8B83812985B32B   AMANDA           LAKEY                    OR     90014791298
8B838148372B31   HILARIO          LOPEZ                    CO     90001851483
8B838165677537   CONNIE           RAMBEAU                  NV     90011061656
8B83866434B22B   MAMASITA         VAZQUEZ                  NE     90004146643
8B8386A719154B   ALEHLY           ALMEIDA                  TX     90014486071
8B839282972B29   BRITTANY         ESPINOZA                 CO     90005332829
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1513 of 2350


8B839469641262   SAMANTHA              BENNETT             PA     90012724696
8B839525A72432   DARIAN                WOODY               PA     90011415250
8B839634797B38   ALOHA                 YOUNG               CO     39094166347
8B839924971956   OLIVIA                SOTELO              CO     90014859249
8B839A1829154B   ALAN                  MARTINEZ            NM     90010130182
8B839AA4755971   ADRIEL                OLIVERA             CA     90009590047
8B83B183561934   SANDRA                ESTRENERA           CA     46025491835
8B83B243372B44   JACOBO                PENA                CO     90014912433
8B83B467997138   JOVAN                 GARCIA REYES        OR     90012744679
8B83B55595B27B   JASMINE               STREETER            KY     90011035559
8B83B773397B3B   TERRY                 TARVIN              CO     39065247733
8B83B87378593B   ADAM                  SEBASTIAN           KY     90015058737
8B83B995372B33   MIKE                  CORDOVA             CO     33001089953
8B841224377537   KARINA                ORELLANA            NV     90012982243
8B841426776B65   AQUENDALL ENRIQUE D   HUGULEY             CA     90014924267
8B84146315B581   DEIDRE                MILLER              NM     35087784631
8B84158975B183   DAVID                 MURPHY              AR     90013215897
8B8415A8372432   CHRISTOPHER           HOLDEN              PA     90003145083
8B84166635B581   MONICA                BENAVIDEZ           NM     90013116663
8B84217814B22B   STEVE                 DEMEY               NE     27024941781
8B84237A997133   TONY                  INGLISH             OR     90013723709
8B842394784325   DEMETRIA              WILLIAMS            SC     90015373947
8B84251585B27B   CHRISTY               JENNINGS            KY     90011995158
8B842558741262   PALITTI               TERRANCE            PA     51083335587
8B84299A697B38   REBECCA               RUSSELL             CO     39042939906
8B843149372B29   AARON                 MARTINEZ            CO     90009911493
8B84325295594B   MASAHARU              SASAKI              CA     90015182529
8B843449476B44   HAYDEN                EARLS               CA     90005254494
8B84351148593B   SCENAIE               BANKS               KY     90013095114
8B844261271935   MANDY                 OSTERBUHR           CO     32059222612
8B844396491975   MINTANGU              TUYEKYNYL           NC     17091143964
8B84526A161948   ANTONIO               PAREDES             CA     46000882601
8B845651872432   DAKOTA                MYERS               PA     90010536518
8B845939972B62   SARA                  WHITE               CO     90010859399
8B846216272B29   OSTIN                 NOLASCO             CO     90006912162
8B8463A9984325   JAMESHA               PATTERSON           SC     90013593099
8B846732272B29   MARIA                 TALAVERA            CO     90013987322
8B846824176B65   CLAUDIA               VELAZQUEZ           CA     90013068241
8B847421272B33   SARA                  LOVE                CO     90013094212
8B847688691936   JAMIE                 WILLIAMS            NC     90012256886
8B848669A71977   ALBERTA               ARIAS               CO     90011056690
8B848852993137   JASMINE               LUNA                TN     90015448529
8B848968477537   KEVIN                 OSHAUGHNESSY        NV     90011019684
8B8491A985B183   MARIAN                JOHNSON             AR     90012581098
8B849255351362   COLETON               BEGLEY              OH     90014902553
8B849339851362   MARY                  RAIFSHIDER          OH     90013943398
8B849768847897   SHEKONIA              GUSTER              GA     14086277688
8B8499A525B24B   KACIE                 CARTA               KY     90015129052
8B84B26A671977   JAMIE                 RICHARDSON          CO     90010002606
8B84B292671935   ROBERT                DUPIGNAC            CO     32054812926
8B84B419597133   ANTIOCO               HUERTA              OR     90010784195
8B84B66848B169   CHAWNTAE              SERRANO             UT     90012716684
8B84B6A3572B44   JUAN                  BUSO                CO     90014716035
8B84B737797B3B   RICHARD               LEE                 CO     90012197377
8B84B935791894   KIMBERLIE             STARKEY             OK     90003189357
8B84BAAA76194B   LETICIA               PEREGRINA           CA     90012850007
8B85117A972B62   MARIA                 MARTINEZ            CO     33020961709
8B85121265B153   CHESTERINA            MARTINEZ            AR     23006452126
8B851451691837   JOSHUA                MARTIN              OK     90014044516
8B851812172B31   SENIA                 SANDOVAL            CO     33036198121
8B851877A5B24B   SONIA                 ROGERS              KY     90001028770
8B851968477537   KEVIN                 OSHAUGHNESSY        NV     90011019684
8B85223234B22B   TIMETRIC              FRALIN              NE     90012742323
8B85235A441275   AUSHELE               MORRISON            PA     90004583504
8B852749A5B338   JUAN                  CANCHAMATOS         OR     90010767490
8B852786697B3B   JESSICA               AGUILAR             CO     90012567866
8B8528A3197138   RAVEN                 GOUGH               OR     90010858031
8B852A93271935   JANET                 CORDOVA             CO     90010510932
8B853235697B3B   KIRSI                 CHAVEZ              CO     90009932356
8B85348A761978   YVONNE                ANDRADE             CA     90005684807
8B85367A35B356   MANRIQUE              RAMIREZ             OR     90008166703
8B85455698593B   MARIA                 MENDEZ              KY     90013945569
8B854694A77537   JOSE                  VAZQUEZ             NV     90015176940
8B854A46233698   ROSE                  POWELL              NC     90011150462
8B8553A9984325   JAMESHA               PATTERSON           SC     90013593099
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1514 of 2350


8B85552535B581   DANNY        MARTINEZ                     NM     35044585253
8B855984347822   KIARRA       STEWART                      GA     90010889843
8B856126993771   TRACIA       HERBST                       OH     90004991269
8B85626465B356   BRENDA       HAYGOOD-COLE                 OR     90000892646
8B856414A72B44   LAURA        VAUGHAN                      CO     90013944140
8B85668528593B   SUSAN        BURCH                        KY     90006546852
8B856A49461934   WILLIAM      HETHCOAT                     CA     90011740494
8B856A58572B62   DIANE        BUSTILLOS                    CO     33089360585
8B857494161928   BIVIANA      FLORES                       CA     90006454941
8B8574A552B271   TASHA        ROBINSON                     DC     90004204055
8B85762A99712B   TERESA       MAYO                         OR     90004756209
8B85764A45B27B   CHELSIE      BRAY                         KY     90012156404
8B85774999154B   ESTHER       GARDENAS                     TX     90004277499
8B85776A947822   SHARIE       DAVAUGHN                     GA     90001957609
8B857779655971   FABIAN       BARAJAS                      CA     49048867796
8B857956976B97   JESSAMYN     ORANGE                       CA     46074499569
8B857A66672B33   RANDY        DURAN                        CO     90012130666
8B8581A3693771   FRANK        TURPIN                       OH     64576811036
8B858298572496   NICOLE       MCCARDLE                     PA     90013772985
8B8582A4841275   TIMOTHY      GRUBJESIC                    PA     90007542048
8B85845A777537   JOSE         SIERRA                       NV     90012204507
8B858514371935   JESSICA      MCGRIER                      CO     90010545143
8B858A24855971   NAZARIO      ANORVE                       CA     90012680248
8B85958618593B   MICHEAL      WELCH                        KY     90013945861
8B859685772B62   SAMUEL       MARTINEZ                     CO     33048166857
8B8596A9372B62   VICKIE       OGRADY                       CO     90010726093
8B859794491979   TY           COLEY                        NC     90007557944
8B85993548B168   SHANDALE     SUN BEAR                     UT     90011919354
8B85B12985B32B   AMANDA       LAKEY                        OR     90014791298
8B85B415451362   TERESA       BAKER                        OH     66073344154
8B85B455472B29   NICOLE       VASQUEZ                      CO     90005234554
8B85B613997138   MICHSAEL     HARER                        OR     90010256139
8B85B662672B27   AMANDA       HUNT                         CO     90011596626
8B85B7A1576B65   ERIKA        LOERA                        CA     90000787015
8B86114265B183   RICHARD      HARRIS                       AR     23095861426
8B861324971935   ROBERT       TANNER                       CO     90012003249
8B861427676B65   AMY          MAC APINE                    CA     90012144276
8B8614A4A47822   ORESTE       MERCADANTE                   GA     90010284040
8B861745877537   YENI         MORA IZQUIERDO               NV     90004747458
8B861775791528   EFRAIN       JAUREGUE                     TX     90005947757
8B86255468B154   MAURI        ALLRED                       UT     31011075546
8B862657A47897   YOLANDA      STUBBS                       GA     90009536570
8B86286665B27B   TERRY        RHEAUME                      KY     90012938666
8B86293A184325   ADELALDA     HERNANDEZ                    SC     14588209301
8B8633A998593B   ROBERT       GIES                         KY     90007413099
8B863554872432   LUIS         ANTONIO                      PA     90015155548
8B863557293783   JAIME        HAYES                        OH     90011535572
8B864185647897   DORTHY       HARRIS                       GA     90013411856
8B864242847822   TORREY       GAIL                         GA     14088892428
8B86437295B183   KIMBERLY     MCCAIN                       AR     90009213729
8B864441697133   OLEGARIO     TOLEDO                       OR     90015464416
8B86456A693771   HOPE         JOHNSON                      OH     64506145606
8B86462392B881   MICHELLE     LECKIE                       ID     90012026239
8B86464A68593B   SHAWN        OOTEN                        KY     90011586406
8B864711876B65   CARLOS E     OLVERA                       CA     90014187118
8B86476388B154   JOEL         HATHAWAY                     UT     90013967638
8B864A69A84325   ELIZABETH    RODRIGUEZ                    SC     14516010690
8B865137676B97   LISETT       LUIS                         CA     90013241376
8B86516A19154B   RAMON        SILVA                        TX     75002991601
8B865498291927   SEYLA        GARCIA                       NC     90015044982
8B865589976B97   MARTHA       RAMIREZ                      CA     90014595899
8B865916A76B45   OMAR         QUIROZ                       CA     90009799160
8B86635368B168   CRYSTAL      SOTO                         UT     90014333536
8B86641953B359   JAN          STEELE                       CO     90012124195
8B866677A71977   CALOS        GOMEZ                        CO     90010256770
8B866878661934   MARIA        LEYVA                        CA     90008278786
8B866889A8B154   AMBER        GOETZ                        UT     31002428890
8B866999876B97   JEANNIE      DULAY                        CA     90013199998
8B86714435B153   ASHLEY       AURIOLES                     AR     23044491443
8B867155971935   MARIA        FELIX                        CO     90015021559
8B8671AA572B31   ASHLEY       CHILSOM                      CO     90011711005
8B867447A72B33   JOEL         CONNELL                      CO     90013864470
8B867692A8593B   PAMELA       OLIVER                       KY     90013096920
8B86828736194B   ASHLEY       ABUGABER                     CA     90001082873
8B868497376B97   DAVID        VALDEREZ                     CA     90002564973
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1515 of 2350


8B8685A8361954   RANDI             HOUSTON                 CA     46000575083
8B86865AA4B22B   RONALD            STOFFEL                 NE     90009346500
8B86887185594B   MARTIN            GALINDO                 CA     90014698718
8B868A83A91837   KAREN             RAY                     OK     90012190830
8B868A96241275   CHARLES           HALEY                   PA     51044260962
8B869122997138   JANET             OSEGUERA                OR     90013231229
8B86945259154B   JOSE              SAUCEDO                 TX     75011144525
8B869456497133   SANTIAGO          MANZANARES              OR     90012264564
8B869576276B97   ELIZAVETH         JUAREZ                  CA     90010625762
8B86B148333698   PALMICA           HAITH                   NC     12059101483
8B86B215171935   PAYGO             IVR ACTIVATION          CO     90010792151
8B86B26455B24B   BARBARA           LOGSDON                 KY     90014042645
8B86B2A7A76B44   YONIC             CANSECO                 CA     90012522070
8B86B3A125B338   WILLIE            ANDERSON                OR     44512063012
8B871168891837   BRENDA            SMITH                   OK     90004161688
8B87123A541275   TERRA             WILLIAMS                PA     51095272305
8B871425447897   TINA              PITTS                   GA     90008734254
8B871483197B3B   DARRIN            POTTS                   CO     39030604831
8B87197AA9154B   BARTON            BOLING                  TX     90001329700
8B871A58655971   MARY              JAURIQUI                CA     90011430586
8B872123A9154B   JOSHUA            RIVERA                  TX     75015971230
8B87213AA98B24   PATRICK           SUTPHIN                 NC     90014671300
8B872211876B44   ELSA              PALACIO                 CA     90012522118
8B87261996194B   JAMES             NJIIRI                  CA     46008236199
8B87267A98B154   DAXIMILIAN        GRAY                    UT     31089436709
8B872755672B33   MARK              WENTWORTH               CO     90013517556
8B872883741275   TIM               PANTALEO                PA     90015098837
8B87354288B154   HOLLIE            HATCHER                 UT     90014375428
8B87395175B32B   TOSHIA            WRIGHT                  OR     90008559517
8B87431175B32B   JASON             ALLEN                   OR     90011593117
8B874387972B31   DORA              MCKEE                   CO     33098513879
8B874553A31451   DENISE            BASS                    MO     90001495530
8B87458985B581   MARIA             VIDELA                  NM     35074255898
8B874742A93127   DEVON             HATCHER                 KY     90010017420
8B874A25355971   CONSUELO          AVILA                   CA     90014710253
8B874A3993852B   CYNTHIA           RIGBY                   UT     31027370399
8B874A9A87192B   JAMIE             HACKNEY                 CO     32040440908
8B87558659154B   CARDONA           MICAELA                 TX     90009355865
8B8755A7977537   CAPRI             WARLAUMONT              NV     90014745079
8B875A1AA61928   IMELDA            MARQUEZ                 CA     90007850100
8B875A2687192B   ANISSA            MCNALLY                 CO     32012940268
8B875A79272432   AMY               CHASE                   PA     90010160792
8B87617A841262   VALYNTIA          JOHNSON                 PA     90014711708
8B87631AA5B32B   DANIEL            NODURFT                 OR     90011823100
8B876375661934   LINDA             MCCARTY                 CA     90007283756
8B876456497133   SANTIAGO          MANZANARES              OR     90012264564
8B87658818593B   ROSA              FOSBRINK                KY     90014965881
8B876597397138   JUAN              FRANCISCO GARCIA        OR     44064105973
8B87663125B338   MALESHA           JARREU                  OR     44578746312
8B876657897B3B   DAWN              PREDDY                  CO     39081836578
8B87675A272B29   DARBY ALEJANDRA   MEJIA                   CO     90013337502
8B87681768B163   MARCIA            GUNDERSON               UT     90002878176
8B87697A347897   BENITA            WALKER                  GA     90007049703
8B876AA4676B65   FILDELIS          MOORE                   CA     90013570046
8B87746118B154   ERIKA             RUSSELL                 UT     90014814611
8B877662991975   JOSE              MENDOZA                 NC     17034596629
8B877665561934   JONATHAN          PENALOZA                CA     90013396655
8B877713991837   DEZANEQ           HUMPHREY                OK     90014687139
8B87777A55B32B   JILL              FANATIA                 OR     44586527705
8B87785AA72B31   PRARIE            HAWK                    CO     33069248500
8B877892261978   ANDRES            CALAMOCO JR             CA     90001258922
8B878322A5594B   JUAN              LUNA                    CA     90012763220
8B87889285B27B   LISA              BREWER                  KY     90013368928
8B878914A51362   DARYL             JACKSON                 OH     90002849140
8B87967126194B   GERARDO           MONTANEZ                CA     46005816712
8B879799176B65   BARBARA           HERNANDEZ               CA     46078527991
8B87992324B583   DAVID             VITELA                  OK     90010989232
8B87B257A61928   SHARDAY           COTA                    CA     46075462570
8B87B27464B22B   LUIS              CACERES                 NE     90010242746
8B87B582A47822   CHRIS             BLOW                    GA     90009155820
8B87B62968593B   CHRISTINE         SUMMERS                 KY     90013946296
8B87B651772B29   ALAIN             LUABO                   CO     33004716517
8B87BA81393771   RACHEL            FRITZ                   OH     90009780813
8B881139A5B27B   AMAMDA            WARE                    KY     90006811390
8B88182A671935   ADERON            HELM                    CO     90001528206
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1516 of 2350


8B882455191837   LESLIE          GARDNER                   OK     21006234551
8B88248312B964   MANUEL          LINDO                     CA     90001434831
8B88256886B932   TREDOR          KRAUS                     NJ     90015375688
8B88264676194B   JANE            SANTO DOMINGO             CA     90014676467
8B882A57A72496   SHAWN           ARNOLD                    PA     90009730570
8B883199197138   CASSIE          SARFF                     OR     44049291991
8B883253672496   ALEXIS          ARTHUR                    PA     51076242536
8B883284871977   MATTHEW         BROOKS                    CO     90014592848
8B883494A8593B   RON             EVANS                     KY     90013964940
8B883854231664   RONALD          BOOKOUT                   KS     90013018542
8B8843A665B183   BRITTANI        LEWIS                     AR     90011173066
8B884569777537   JUAN CARLOS     MARTINEZ                  NV     90013235697
8B88474935B356   SAMANTHA        AMICK                     OR     90009117493
8B88548888B168   SALLIE          STONEBRAKER               UT     31005334888
8B885537261928   BRYANNA         PAYTON                    CA     90006525372
8B885553772496   JACQUELINE      MITCHELL                  PA     90008855537
8B885736297138   JUAN            GARIBO CONTRERAS          OR     90004927362
8B885834597B3B   JOSEPH          CLAUDE                    CO     90014438345
8B88641985594B   JOANNA          PEREZ                     CA     90014504198
8B8866A7197133   SHARON          ACEVEDO                   OR     44049516071
8B88675A372432   EDDIE           MOSS                      PA     51043777503
8B886822672B44   PERLA           NAVA                      CO     90013968226
8B886886384325   DORON           SINGLETERY                SC     90005528863
8B886A42872B33   ERIC            PERRY                     CO     90008710428
8B887265361934   ALLEBEL         BAYOUH                    CA     46083292653
8B887384897133   KEVIN MICHAEL   DOWNING                   OR     90008243848
8B88744218B168   RUSSELL         DOOLITTLE                 UT     31041984421
8B88761348B163   RICARDO         PELAYO                    UT     31015396134
8B887A14341275   LANMARK         CAP                       PA     90014060143
8B88913182B271   VICTORIA        JOHNSON                   DC     90002251318
8B889151185856   DAVID           RODRIGUEZ                 CA     46056221511
8B8891A8A97138   ALECEA          BARRERA                   OR     44001021080
8B88927119154B   VANESSA         GONZALEZ                  TX     90007612711
8B889673A97B51   TABITHA         PORTER                    CO     90011366730
8B889983A8593B   MICHAEL         SMITH                     KY     90011259830
8B88B54AA97B38   ALLEN           CARROLL                   CO     90013125400
8B88B612877537   JOSE            SOLORZANO                 NV     90009676128
8B88B726876B65   FERMIN          SANTANA                   CA     90014187268
8B88B78A87B278   GABRIEL         GARCIA                    TX     40520907808
8B88B868A91837   BARBARA         PALMER                    OK     90011318680
8B88BA5998B168   BRENT           PETERSEN                  UT     31069860599
8B88BA64191979   TERESA          JAIMES                    NC     17030900641
8B88BA81491525   MARIA           MORENO                    TX     90005680814
8B891382372432   JUDY            BEACHY                    PA     90014703823
8B89176215B581   VICTOR          LOPEZ                     NM     90008997621
8B891827797138   KEN             EARL                      OR     90011168277
8B89193574B22B   STEPH           CLARK                     NE     27031759357
8B892343A5B581   PERLINE         CARO                      NM     90007083430
8B892552A76B97   MARIA           MUNO                      CA     90007945520
8B892A7635B153   PAULETTE        WITHERS                   AR     23059870763
8B89334965B27B   MARIO           GARCIA                    KY     90012573496
8B89343A691525   JOSE            ARZOLA                    TX     90001534306
8B893567491558   PAUL            HERNANDEZ                 TX     90011105674
8B89357935B32B   LIDIO           RAMIREZ                   OR     90014785793
8B89358859154B   MARTINA         CASTILLO                  TX     75028245885
8B893677661948   BARRY           CHARLES                   CA     46006726776
8B893684391837   CAROLINA        BOLANOS                   OK     90014586843
8B89386757B425   COREY           MACK                      NC     90002748675
8B893934877537   FLORENTINA      HERNANDEZ                 NV     90013639348
8B894186176B65   DEBRA           MCCOLLUM                  CA     46053731861
8B894255293776   GARY            FURAY                     OH     90013932552
8B89445938593B   GREG            SILVA                     OH     90008584593
8B894472A77537   ARIANA          BESERRA                   NV     90011034720
8B89466A572432   JESSICA         CAMPBELL                  PA     51087896605
8B895378791979   DAWN            BECK                      NC     90008143787
8B895619291837   JONNA           LAWRENCE                  OK     90014866192
8B89564A471935   GARY            ZAHN                      CO     32019006404
8B895758171977   KARINA          RODRIGUEZ                 CO     90011467581
8B895793A5B32B   CHANTARA        HIM                       OR     90011827930
8B895864276B97   NUHA            HERRERA                   CA     90010398642
8B89634A797B3B   ROBYN RHOADES   GARY STOVER               CO     90007953407
8B896381993771   REBECCA LYNN    STEMEN                    OH     90014513819
8B8963A9977537   DARLA           ROMICK                    NV     90013173099
8B896556655971   JOSEPH          GARCIA                    CA     90012895566
8B89674955B183   SAUL            BARAHONA                  AR     90013557495
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1517 of 2350


8B8973A994B22B   EUWANDA           JENNINGS                NE     27033023099
8B89795229154B   DAVID             FANNING                 TX     75065419522
8B8979A185B27B   ROBERT            MCNAIR                  KY     90006489018
8B898183772B44   NAUN              ALEXANDER ROJAS         CO     90006591837
8B89818575593B   AMY               KUNZE                   CA     90001461857
8B898243893783   DIONNA            SNEED                   OH     90007082438
8B89847525B356   TRACY             HOODENPYL               OR     44540154752
8B8986AA297138   SONIA             MACHADO                 OR     44015226002
8B89884274B22B   CASEY             CAHILL                  NE     90012438427
8B89913499154B   VANESSA           GONZALEZ                TX     90002491349
8B899363491979   MARIA             HERNANDEZ               NC     17025163634
8B899417972B44   FELIPE            HERRERA-JIMENEZ         CO     90013944179
8B89966494B22B   DARCY             HURT                    NE     27093836649
8B899A5175B32B   LORENZO           CACATZUNRISCAJCHE       OR     90006580517
8B899AA768B168   MANUEL            LEMUS                   UT     31078770076
8B89B349497133   COLLIN JOHN       ENQUIST                 OR     90013513494
8B89B416455971   HERNAN            SANCHEZ                 CA     49002494164
8B89B712576B97   FELIPE DE JESUS   GUTIERREZ               CA     90012927125
8B89B822672B44   PERLA             NAVA                    CO     90013968226
8B89B87848B154   DONALD            HOLLEY                  UT     31095418784
8B8B121A19152B   COURTNEY          BAKER                   TX     90009452101
8B8B127265B24B   RAYMOND           RODRIGUES               KY     90015462726
8B8B1423371935   BENJAMIN          ORELLANA                CO     90013934233
8B8B153A472B33   JENNIFER          VALDEZ                  CO     90012915304
8B8B1578393137   JUSTIN            MASHBURN                KY     90013895783
8B8B168675B183   ANTOINETTE        JOHNSON                 AR     90011066867
8B8B174385B581   STEVEN            TERECERO                NM     90013307438
8B8B1771872B44   OSCAR             CONTRERAS               CO     90010687718
8B8B1993191979   CATHERINE         MILES                   NC     17003169931
8B8B2268972B44   DAISY             MIJARES                 CO     90014272689
8B8B2283172B98   EDNA              PORTER                  CO     90013482831
8B8B2468251362   KAREN             MURPHY                  OH     90012854682
8B8B2582276B65   KODIE             THOMPSON                CA     90014185822
8B8B265595B24B   RAYMOND           CARON                   KY     90012026559
8B8B269995594B   MONICA            ALONZO                  CA     90013116999
8B8B3187771977   MONIQUIA          ATENCIOLOPEZ            CO     90014971877
8B8B3387A72B62   OVIEDO            BAYLON                  CO     90015143870
8B8B356115B27B   MON               SANJEL                  KY     90013015611
8B8B386A497133   FIDELIA           GUTIERREZ               OR     90014698604
8B8B3A9865594B   SONIA             LOERA                   CA     49080120986
8B8B4878172B31   DAVID             BRUMBAUGH               CO     33080208781
8B8B4912497133   FANNY             RODRIGUEZ               OR     90014699124
8B8B545265B32B   ANITA             CASTRO                  OR     90014784526
8B8B6225571977   DEVINNE           FLARITY                 CO     90014252255
8B8B623A176B97   MIGUEL            LOPEZ                   CA     90010302301
8B8B6244272B33   MARNIE            GORDON                  CO     33081662442
8B8B6484961928   SILVINO           HIDALGO                 CA     90002334849
8B8B657296194B   ARIEL             SANTARELLO              CA     90008125729
8B8B6576372B44   REFUGIO           MUNOZ                   CO     33085205763
8B8B66A4A5B24B   MARIEV            TERIA                   KY     90015396040
8B8B7224593771   M                 JAMASON                 OH     64534112245
8B8B7888A97133   TABATHA           JONES                   OR     90013298880
8B8B7951197133   JUSTIN            MC DONALD               OR     90014699511
8B8B7A27647822   BRENDY            KENYATTE                GA     90006230276
8B8B813773B366   MICHELLE          MARCHAND                CO     33074451377
8B8B816A25594B   ERIC              JIMENEZ                 CA     90013351602
8B8B8238372B44   JOSE              RODRIGUEZ               CO     90015202383
8B8B8444291525   CINDI M           MONTEZ                  TX     75078174442
8B8B858365B27B   DAMARIS           RIVERA                  KY     90012885836
8B8B884A58B154   RAUL              MEDELLIN                UT     31013138405
8B8B8917572496   BILL              DREIER                  PA     51060809175
8B8B895A893771   VALARIE           FOLK                    OH     64582179508
8B8B8A38155971   MARIA             C LOPEZ                 CA     90008250381
8B8B9541A8593B   STEFANIE          PRESTITO                KY     90014615410
8B8B9615176B97   JUAN              HERNANDEZ               CA     90010316151
8B8B9636872B31   DEZARAE           SHULER                  CO     90014626368
8B8B9754672B44   MARK              HAMER                   CO     90012367546
8B8BB57A94B22B   CHRIS             ANSELL                  NE     27086805709
8B8BBA37371935   LAHOMA            MOSELEY                 CO     32074530373
8B911848741262   JEFFREY           BUTYA                   PA     90009658487
8B911979A9712B   DAVID             CANO                    OR     44039419790
8B911A3596194B   WILLIAM           BARELA                  CA     90001220359
8B911A73693771   DEREK             HOUSTON                 OH     64598210736
8B912173333698   BRITTANY          HARRIS                  NC     90014701733
8B912232491837   HERBERT           BELL                    OK     90001842324
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1518 of 2350


8B912521272B44   CARISSA      MARES                        CO     90013945212
8B912569497B3B   APRIL        DESROCHERS                   CO     90010875694
8B9125A5685856   JOHN         STEVENSON                    CA     46007395056
8B91266328B163   JOSEPH       ROBERTS                      UT     90014906632
8B9126A7272B62   CLAUDIA      IBARRA                       CO     33001466072
8B912767677537   ROSALBA      CHAVEZ AYALA                 NV     90014717676
8B91289A55594B   STEVEN       HERNANDEZ                    CA     90014698905
8B912A2A672B31   CHRISTOPHE   VASQUEZ                      CO     33075040206
8B9131AA18B154   ARTURO       GARCIA                       UT     90013751001
8B913312272432   ANDREW       GASPER                       PA     90006573122
8B91352418593B   JEREMY       MAYS                         KY     90003535241
8B913575241262   JEN          VALORIE                      PA     90008335752
8B9141A7872B33   JAMES        ROBERT BLACKBURN JR          CO     33074841078
8B914868155971   MARIBEL      CORTES                       CA     90013038681
8B914948241262   MARIA        JOHNS                        PA     90001729482
8B9153AA171977   CONRAD       ARAGON                       CO     90014703001
8B915482661928   MARTIN       MADERO                       CA     90002664826
8B915499676B44   KIMBERLY     PIERCE                       CA     90008394996
8B915525991242   TERRALL      KIMBLE                       GA     90007165259
8B915636597133   DANIEL       MOLINA                       OR     90009426365
8B915786472B62   ERIC         LEWIS                        CO     33040867864
8B91585145B32B   FRENCH       MILLER                       OR     90007548514
8B916162672B33   DERRICK      MITCHELL                     CO     33063001626
8B916294A97138   NATHANIEL    OWENS                        OR     90014822940
8B916494341275   KARIE        NAYLOR                       PA     90015214943
8B91658665B27B   ERICA        RALSTON                      KY     68048555866
8B916626997133   MARIA        LOPEZ CEPEDA                 OR     90010946269
8B916781276B65   MARIBEL      VAZQUEZ                      CA     90014187812
8B91695AA6194B   FABIAN       MALDONADO                    CA     90008689500
8B916981751323   GENANAW      DASTE                        OH     90011739817
8B916984747897   ASHUNTAE     MEADOWS                      GA     90009159847
8B916A52A55971   LUISA        GARSIA                       CA     90015560520
8B917142872B33   DEBORAH      COLLINS                      CO     90001811428
8B91717765B183   KIMBERLY     DICKERSON                    AR     23055161776
8B917292472B29   PABLO        GONZALEZ                     CO     90004602924
8B917399131444   SANGWON      SON                          MO     27517533991
8B917462661948   MARY         JACKSON                      CA     46063624626
8B91749868593B   AMY          WILLEN                       KY     90013724986
8B9174A935B24B   LENE         HICKERSON                    KY     68012494093
8B917512197138   FERNANDO     GARIBAY                      OR     90013745121
8B91766325B581   RENA         MIRELES                      NM     35083096632
8B917756591837   CHER         THAO                         OK     90000487565
8B917782676B65   CELINA       FELIX                        CA     90014187826
8B917A1854B296   CARLOS       GARCIA                       NE     90008290185
8B917A96191979   JERRICO      ATKINSON                     NC     90000410961
8B91856435B183   JOSE         LOPEZ                        AR     90011885643
8B9186A195594B   GERARDO      MARTINEZ                     CA     90012706019
8B918911847897   TERVONDA     BRYANT                       GA     90014589118
8B918A3A276B65   RAMIRO       FIGUEROA                     CA     46085780302
8B91916195B153   RYAN         PERRY                        AR     23066771619
8B919736A76B97   ISMAEL       RENTERIA                     CA     90010417360
8B91975AA55971   LISA         LOPEZ                        CA     90009387500
8B91982878B168   ZACK         LONDON                       UT     90013518287
8B91B335471935   ANTHONY      NICHOLAS                     CO     90015043354
8B91B351151362   MEILING      HAZLEWOOD                    OH     90006743511
8B91B623A97138   ARCELIA      NUNEZ                        OR     90011566230
8B91B727476B65   EDITH        LOPEZ                        CA     46010117274
8B91B792577537   DONALD       WOOD                         NV     43005517925
8B91B866876B97   CARL         HESS                         CA     90013668668
8B91B97A855971   JAVIER       BARRIGA                      CA     90009049708
8B921495772B33   BRONWYN      SHAFFER                      CO     90013014957
8B921786A76B65   MARIBEL      VASQUEZ                      CA     90014187860
8B92178969712B   JOSHUA       EVANS                        OR     90005397896
8B9217A8597133   YAKOV        PARFIRI TORAN                OR     90012157085
8B92181654B22B   COLLEEN      LESSER                       NE     90014598165
8B921953785856   GUITTA       FARAMARZI                    CA     90011739537
8B9219AA861928   NETZAR       LORENZANO                    CA     90011749008
8B921A18376B44   ITALIBI      HERNANDEZ                    CA     90012530183
8B921A34591975   FAITHE       THOMAS                       NC     17089110345
8B922158A93771   LAQUAHNDA    GLANTON                      OH     90012291580
8B922212293771   ERICA        ARCHIE                       OH     90010332122
8B922248891837   SEAN         WILSON                       OK     90014902488
8B922251797138   SIWANIDA     GEORGE                       OR     90013172517
8B922487471977   SELINA       QUINTANA                     CO     90014554874
8B92252469154B   LIZZETE      RIVERA                       TX     90013245246
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1519 of 2350


8B922638376B97   MARGARITA    HERNANDEZ                    CA     46085946383
8B922655172B29   MARIO        LUNA                         CO     33056276551
8B922757471935   TIM          CANTREL                      CO     90002997574
8B923267391837   RICHARD      WINTER                       OK     90004842673
8B92334A35594B   PAYGO        IVR ACTIVATION               CA     90014913403
8B923552576B65   LINDA        RESENDIS                     CA     46013045525
8B923555A72432   OCEAN        ORSKY                        PA     90014465550
8B92413245B24B   DAWNYELE     WHITE                        KY     90006861324
8B924311484325   AMBER        BEST                         SC     90014853114
8B92438659154B   LUIS         CAZARES                      TX     90004323865
8B924599A5594B   PATRICIO     CHAVELAS                     CA     90009355990
8B9246A3597138   FERNANDO     GALLEGOS                     OR     90003426035
8B924A9738B168   JOHN         ALVAREZ                      UT     90014320973
8B92515515B581   RAEANNA      RAMIREZ                      NM     90006211551
8B92531874B22B   ELLERINE     RODRIGUEZ                    IA     27006713187
8B9257A637192B   MIKE         HILL                         CO     32083237063
8B925861161928   AMANDA       REYNOSO                      CA     46080138611
8B926425172B31   JENIFER      CONNER                       CO     33060814251
8B92649758593B   RACHEL       BARRIE                       KY     90010414975
8B92661A172B62   LORIANN      GONZALEZ                     CO     90010726101
8B926911161928   ALVARO       NEVAREZ                      CA     90011749111
8B926A6495B356   REBECCA      BRUMMEL                      OR     90007070649
8B92738375B32B   RACHELLE     MARKLEY                      OR     90006443837
8B927537A7B386   KPOOBARI     PAAGO                        VA     90008735370
8B927681A5B32B   DESHAUN      BETHA                        OR     90014356810
8B92769854B22B   LUIS         ONTIVEROS FLORES             NE     90014816985
8B927747372B62   CASSI        CHIERCHIE                    CO     33096197473
8B927834172B33   YOLANDA      PACHECO                      CO     33012638341
8B928242941275   RICHARD      TUITE                        PA     90014652429
8B928329376B97   MARASSA      PRESTON                      CA     46080093293
8B928367755997   JUANA        ARCINIEGA                    CA     90006923677
8B929462576B97   BRANDON      MARTINEZ                     CA     90014174625
8B92B14A631447   SIERRA       MARTIN                       MO     90012451406
8B92B349597133   ISAUL        MALDONADO                    OR     90013653495
8B92B567251336   DAVID        DEARING                      OH     66041665672
8B92B842A71935   BASIL        PHIRI                        CO     32008948420
8B931219755971   NOEMY        RUEDA                        CA     90013122197
8B931377772B62   PHILLIPS     JAMES ROBERTS                CO     33076473777
8B9317A6A8593B   LAURA        MOSES                        KY     90001047060
8B9321A4897133   MARIA        OROBIO                       OR     90010021048
8B932223297B3B   JOSHUA       MORRIS                       CO     90013392232
8B93256335B183   MARCUS       SANDERS                      AR     90013925633
8B932631961928   MARIO        RUVALCABA                    CA     46060316319
8B932A1485B24B   JOSE         MEDINA                       KY     90015550148
8B932A65997138   JEREMY       CLUBB                        OR     90008470659
8B93334548B163   TERRI        WILSON                       UT     90005843454
8B933839797B38   NICOLE       SHACKLEY                     CO     39091768397
8B933A6834B22B   CONOLLEY     SHARON MICHELLE              IA     90010510683
8B93414655B32B   TIFFANY      KRIVONOGOFF                  OR     90014791465
8B934361A76B65   MARIA        JARAMILLO                    CA     90003193610
8B93436325B27B   EDUARDO      POLANCO                      KY     68039383632
8B934548797138   MICHAEL      ALVIS                        OR     90009715487
8B93488847B42B   MICHAEL      MILLS                        NC     11097758884
8B935657841275   SHELIA       CONWAY                       PA     51047646578
8B93592535B32B   JAMEELIA     ROBINSON                     OR     44543149253
8B935A47297133   MARBELLA     CALDERON                     OR     90010030472
8B93642235B356   CANDICE      JONES                        OR     90010604223
8B936451897B3B   DEREK        GEISELHART                   CO     90002474518
8B936514A72B29   BRANDON      YANCEY                       CO     90015205140
8B936516172496   BOB          DAWSON                       PA     51062185161
8B9366A695B32B   ANAHY        RAMIREZ                      OR     90014766069
8B936927981686   MATTHEW      SMITH                        MO     90011519279
8B936983147831   VASHONE      ROBERSON                     GA     90009009831
8B93728A59136B   JOSE         FELICIANO                    KS     90001602805
8B937429876B97   CINDY        ROQUE                        CA     90013964298
8B93751615B24B   VALERIE      CLARK                        KY     68055435161
8B9378A5933698   DEBRA        CUNNINHAM                    NC     90008118059
8B93844968B154   KATHIE       CHERRINGTON                  UT     31047794496
8B93854229154B   MELISA       ARRIAGA                      TX     90008715422
8B93882545B32B   JANET        GATHRIGHT                    OR     44542168254
8B938828A72B29   ANN          LINDEY                       CO     90011858280
8B938926947897   TERVONDA     BRYANT                       GA     90014589269
8B9392A9476B44   BREE         GUILLEMOT                    CA     90005492094
8B939377A55971   JASMINE      SIMMONS                      CA     90014323770
8B939395A93771   MARY         HAGEMEYER                    OH     64581143950
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1520 of 2350


8B939575241262   JEN                VALORIE                PA     90008335752
8B93964955B27B   TINA               FERRON                 KY     90009086495
8B93B496297138   LINDSEY            PRUDEN                 OR     90014714962
8B93B674597133   JULIO              ESCOBAR                OR     90007596745
8B93BA43691939   STEVIE             JONES                  NC     90003360436
8B941262985856   ANTHONY            MORALES                CA     46021262629
8B94131888593B   JOE                SANDERS                OH     90013953188
8B941663497138   ANTONIA            VEGA LOPEZ             OR     90012206634
8B941678897B3B   LINDA              LESSER                 CO     90011996788
8B942239591979   MIGUEL             CUEVAS                 NC     17006972395
8B942267472B29   BRANDY             SANTISTEVAN            CO     33010782674
8B942957272B62   JESSICA            QUINTANA               CO     90012559572
8B9431A755B153   SAMANTHA           LOWERY                 AR     90004001075
8B943421472B44   NATALIE            LINAN                  CO     90013944214
8B943546955971   ALBERTO            OREA                   CA     49090585469
8B94368875B581   ALEXA              AYALA                  NM     90014316887
8B943879272B33   OSWALDO            RUIZ                   CO     90007248792
8B944293761928   GEORGE             KING                   CA     46005792937
8B944475372B62   REBECCA            DAVIS                  CO     90012454753
8B94468779154B   ANA                RODRIGUEZ              TX     75069226877
8B944718897138   DESIRAE            PRESNELL               OR     90012857188
8B9447A118B168   ANGEL              GIRON                  UT     31096467011
8B944A7848B154   RYAN               WILSON                 UT     90013970784
8B94528A233698   TRAVIS             TRAPP                  NC     90014142802
8B94532268B154   SHERRIE            VELASQUEZ              UT     31090243226
8B945511491837   RICHARD            CLARK                  OK     90012515114
8B945552A77537   LORETTA            WELCH                  NV     43008745520
8B94572A897B3B   JACK               GARNER                 CO     39070817208
8B94593166194B   SALVADOR           BARCENAS               CA     90014399316
8B946121751362   TONYA              ROBERG                 OH     90010571217
8B9464AA15B32B   HARVEY             CHARPENTIER            OR     90009704001
8B946561A72B33   MARIA              RIVERA                 CO     90000425610
8B94666975B183   TAYLOR             LATRISHA               AR     90013996697
8B946837447822   TIESHA             MCRAE                  GA     14013278374
8B946899972B29   RICK               BELL                   CO     90008328999
8B9468A3A76B65   MICHAEL            ROMERO                 CA     90014188030
8B9469A975594B   JORGE              RIVERA                 CA     90014699097
8B94756865B35B   CLARA              SANDOVAL VAZQUEZ       OR     90009015686
8B94767828B168   TERRELL            BODILY                 UT     31044266782
8B947881176B97   JAIME              GARCIA                 CA     90003208811
8B94799A891969   JAMIKA             PEAKS                  NC     90014769908
8B948147684325   JUAN               PORTILLO               SC     90013061476
8B948474471977   DESIREE            HUBBARD                CO     38016854744
8B94867955B24B   SHANNA             KENT                   KY     90007316795
8B948714A97B38   SHERRI             REESE                  CO     39007707140
8B948849A72B44   JESUS              MARQUEZ SALAS          CO     90014528490
8B949116472B31   AGUILAR            PAUL                   CO     90011711164
8B94951197B42B   FELICIA            SHINE                  NC     90009175119
8B94988159154B   MARIA              NAVARRO                TX     90011228815
8B94992925B27B   ANGEL              SANCHEZ                KY     90008389292
8B95168179712B   LUCERO             CAMPA VASQUEZ          OR     44015296817
8B951779255971   REGINA             SOLIS                  CA     90004737792
8B95229A151362   PAULETTE           ROBBINS                OH     66041062901
8B95257149154B   VICTORIA           FORTI                  TX     90014685714
8B952684772432   TIFFANY            WRIGHT                 PA     90014296847
8B95269618B154   JASON              REYNOLDS               UT     31080346961
8B952A93333698   ANTANIO            THOMAS                 NC     90014710933
8B953141491525   OTILIO             ORNELAS                TX     75027231414
8B953166191975   JESSE              FIELDS                 NC     17067741661
8B953367876B65   MARIA              MORALES                CA     90015023678
8B953611472B33   SONIA              AVILA                  CO     33042996114
8B953642177537   BARBARA            ALLEN                  NV     43067836421
8B953779A72B33   VANESSA            MASCARENAS             CO     90014867790
8B9537A7871935   PORSHA             REESER                 CO     90015047078
8B953843976B65   LORENA             GARCIA                 CA     90004808439
8B953A7585B338   MARIA              FRANCISCO              OR     44535600758
8B954299277537   EDUARDO            GALVAN-COBIAN          NV     90014162992
8B954389871935   JUAN               ANTONIO                CO     90008183898
8B954822672B44   PERLA              NAVA                   CO     90013968226
8B954825697138   ADAM               HARVEY                 OR     90009698256
8B95484A985856   ANDREW             VARTGESS               CA     46000308409
8B9551A1997B3B   RYAN               SALAZAR                CO     90012931019
8B95524A38B154   STEPHANIE DOREEN   BLOWERS                UT     90014672403
8B95532245B921   JOSEPH             CARMICHAEL             ID     41001003224
8B95569784B22B   MATT               LUBASH                 NE     90014416978
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1521 of 2350


8B955774772432   AMBER         POPLE                       PA     90015267747
8B955A86177537   PATRICIA      KIRKHAM                     NV     43083090861
8B95614A972B62   JESSICA       AGUIRRE                     CO     90014961409
8B95618455594B   GUSTAVO       PADILLA                     CA     90014701845
8B956255841262   MAGGIE        KUBIAK                      PA     90006442558
8B956277A9154B   VIRIDIANA     CARDENAS                    NM     90004642770
8B956644872496   SARA          TAMSKI                      PA     90004206448
8B956753672B31   MYIESHA       GARCIA                      CO     90010397536
8B95726325B581   JAMES         SANCHEZ                     NM     35085382632
8B9572A6772496   ANGELA        LAMBERSON                   PA     90005542067
8B95759299154B   CYNTHIA       GUERRERO                    TX     90014565929
8B95769369712B   JORGE         RIVERA                      OR     90005426936
8B957731577537   MICHELE       DOMITER                     NV     43059597315
8B957972771935   JOSE          ARCHULETA                   CO     90013579727
8B958131991525   MARIO         MEDRANO                     TX     90005681319
8B95827A872B29   RASHID        ARDALY                      CO     90013152708
8B95855225594B   ALEJANDRO     ESPINOZA                    CA     90012895522
8B958935747897   SHAWN         DRURY                       GA     90014649357
8B95959568593B   KRISTINA      WEBSTER                     KY     90011275956
8B95961636B234   C             G                           AZ     90013236163
8B95978265B183   ARACELI       DE LA ROSA-GARCIA           AR     90014087826
8B95982765B338   ASHER         LAHR                        OR     44592758276
8B95B21986194B   BRENDA        GARCIA                      CA     90010692198
8B95B465797138   JESSIE        MARQUIS                     OR     90013534657
8B95B764871977   LATISHA       MONTIEL                     CO     90015097648
8B961131991525   MARIO         MEDRANO                     TX     90005681319
8B961247276B65   SANTIAGO      MARTINEZ                    CA     90014182472
8B96137395B24B   TUYETNGATHI   NGUYEN                      KY     90008863739
8B96154559154B   JOSE          SAENZ                       TX     90013245455
8B961A1A191894   JORDDEAH      GARRETT                     OK     90006850101
8B961A8788B163   NATASHA       CHILD                       UT     31009200878
8B96214196194B   ROSA          TABLAS                      CA     46059521419
8B96256815594B   BRENDA        SOLIS                       CA     90011455681
8B962595685856   PAUL          OFFERMAN                    CA     90010285956
8B96265225B32B   GARRETT       LEE                         OR     90014786522
8B962878551362   RHONDA        MILES                       OH     90008138785
8B962892171977   DANIEL        GUIDA                       CO     90006898921
8B96298525B338   JANET         FERGUSON                    OR     44535609852
8B96355348B168   YOLANDA       GOMEZ                       UT     90013345534
8B96357268593B   BILLIE        PARRETT                     KY     90013955726
8B963579372B44   ARTHUR        FORD                        CO     33006615793
8B96358A24B22B   MARGUERITE    RYAN                        NE     90014625802
8B963631193771   DAVID         FLORA                       OH     90013466311
8B9639A118B163   NOE           MEDRANO                     UT     90009699011
8B96417648B154   ARLENE        LUNDWALL                    UT     90010691764
8B96422765B183   TANESHA       METCALF                     AR     90014682276
8B964523972B62   BONIFACE      AHANEKU                     CO     33040875239
8B964671176B44   ARMANDO       CHAVEZ                      CA     90006336711
8B964878677533   SILBESTRE     GONSALES                    NV     43096008786
8B964AA394B22B   MANUEL        PEREZ                       IA     90013080039
8B965157451362   KRISTIN       WHEELER                     OH     90010571574
8B96526AA5594B   LORENA        CASTILLO                    CA     90013752600
8B9652A9176B44   ALMA          MUNOZ                       CA     46001562091
8B96614889376B   KHALIL        ALKHATIB                    OH     64506611488
8B966397197133   FULGENCIO     HERNANDEZ                   OR     90014823971
8B96639965B32B   MARTHA        PALMA                       OR     90012763996
8B966469461978   FREDERICK     WALKER                      CA     90005704694
8B966612372432   DEBORAH       ALLEN                       PA     90005666123
8B966859761934   SAM           PERES                       CA     90007318597
8B96743696196B   SILVIA        NEVAREZ                     CA     90007294369
8B967466572B33   SONIA         MADRID                      CO     33009924665
8B96763A572432   JAMIE         CHRISTOPHER                 PA     90005496305
8B967681397133   MARGARITA     GOMEZ                       OR     90003626813
8B967681A5B32B   DESHAUN       BETHA                       OR     90014356810
8B967911841275   KEN           RUSSELL                     PA     90010809118
8B96831A991348   LEWIS         WATSON                      MO     90014513109
8B96834439154B   RAUL          MAGALLANES                  NM     75063573443
8B968581793137   TONYA         FISH                        KY     90008845817
8B96873AA7B42B   JOSIE         WEEKS                       NC     90006667300
8B96896939123B   VINCENT       MILES                       GA     90012369693
8B96914768B168   AMY           STEVENS                     UT     31089291476
8B969556A5B27B   JAMILA        SCHULTZ                     KY     90011065560
8B969576372B29   RIANA         JONES                       CO     90012455763
8B969688572B62   ISELA         RUIZ                        CO     33017286885
8B969798772B33   CRSYTAL       ALBEDO                      CO     90013597987
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1522 of 2350


8B969979151362   KAYLA        TURNER                       OH     90014879791
8B96B169A5B356   MICHAEL      BAIRD                        OR     90006691690
8B96B447771977   SANDRA       SMITH                        CO     90011124477
8B96B98525B338   JANET        FERGUSON                     OR     44535609852
8B971277993771   CANDACE      STEPHEN                      OH     64545472779
8B971331477537   JAQUELINE    DELATORRE-AGUILAR            NV     43087123314
8B97148A547822   CONNIE       PERRONE                      GA     14070204805
8B971593485856   MANUEL       ROSALES                      CA     90007875934
8B97168A497B3B   MELISSA      MURRAY                       CO     39083166804
8B971A6A45B32B   KAYLA        BORGES                       OR     90011830604
8B972217693771   DANIELLE     HARRELL                      OH     90012182176
8B972283593139   PAYGO        IVR ACTIVATION               TN     90010922835
8B97235494B22B   JUSTIN       HAMMERMEISTER                IA     90014543549
8B9724A9591837   CRYSTAL      GARDENHIGH                   OK     90004324095
8B97254546194B   JUAN         RACINES                      CA     46035025454
8B972A57972496   JOANNA       PORTER                       PA     51077550579
8B972AA9141262   SLADE        ODELL                        PA     90011110091
8B973323372B44   SABRINA      LOPEZ                        CO     90006863233
8B973517A76B44   MIGUEL       BUCLON                       CA     90005525170
8B973536472B33   STEVEN       FETTIG                       CO     33045995364
8B973582271935   LISA         PESANTE                      CO     90010545822
8B97452345B27B   ADAM         MELLO                        KY     90013615234
8B974544355931   CELSO        GONZALEZ                     CA     90012205443
8B974A15597133   TAMMY        WEBER                        OR     90010360155
8B975553272B44   LATISHA      CHILDRESS                    CO     33065065532
8B975843A5B183   JAMES        DAVIS                        AR     23058338430
8B97616336194B   GLADIS       PEREZ DOMINGUEZ              CA     90005611633
8B97641945594B   KATHRYN      VAUGHN                       CA     90005324194
8B976A4399154B   ROBERTO      LUCERO                       TX     90002380439
8B977478341275   ELIESE       GRAVES                       PA     51038194783
8B97748515B32B   SARAH        PIZANA                       OR     90011954851
8B97763785B24B   LISA         KING                         KY     90008446378
8B977817A47897   SHANNA       HARRIS                       GA     90011488170
8B977848991939   GLORIA       RUIZ TORRES                  NC     90008188489
8B978353572B62   KRISTEN      BARLOW                       CO     90006393535
8B97854375B532   BERNARDO     VALENCIA                     NM     35067785437
8B97855779154B   CECILIA      CISNEROS                     TX     90013245577
8B979181971977   CHRIS        ARCHULETA                    CO     38087041819
8B97955779154B   CECILIA      CISNEROS                     TX     90013245577
8B979596A72496   TED          LANGA                        PA     90014655960
8B9797A598B154   SHIFRA E     ARZU                         UT     90014367059
8B97B114976B65   CRYSTAL      PALOMARES                    CA     90014191149
8B97B683447822   RAFAEL       PENALOZA                     GA     90008136834
8B98114A541262   NICHOLAS     DAMAS                        PA     51023281405
8B981547976B97   DIANNA       BROWN                        CA     90005815479
8B98156AA47822   PAULETTE     WALDEN                       GA     90000875600
8B9819AA393771   CHALISA      WHITE                        OH     90011309003
8B982449761928   JESSICA      LACSINA                      CA     46006814497
8B98261348B168   DAGAN        BOURP                        UT     90014936134
8B98265745B32B   BRENTON      GEORGE                       OR     90014786574
8B982842772B29   MORA         PRAGEDIS                     CO     33065748427
8B982892341275   JOSEPH J.    ROZECK III                   PA     51053018923
8B982A2A777537   ELIZETH      CUELLAR                      NV     90012520207
8B9833A1797133   KELLY        ANDREASON                    OR     90008653017
8B98341379154B   MELLIE       GUERRERO                     TX     75059754137
8B98345795B356   REGGIE       LEE                          OR     90005084579
8B983478472B44   JOSE ANGEL   GARAY                        CO     90000764784
8B98351325B335   CHEYENE      HEYN                         OR     90011725132
8B98351865B581   CHRISTINA    DOMINGUEZ                    NM     35009325186
8B98365745B32B   BRENTON      GEORGE                       OR     90014786574
8B983767461948   BRENDA       CRUZ                         CA     46024307674
8B98387A66B932   KELLY        THORSEN                      NJ     90013118706
8B983974971935   HERBERT      ROMAN                        CO     32090489749
8B9841A9172496   LORIE        MEYERS                       PA     90014291091
8B984253647822   JAMES        VANDIVER                     GA     90003892536
8B98447886194B   JOHN         MEYRICK                      CA     90013044788
8B98465358B154   CISALEE      PEARCE                       UT     90013016535
8B984784772B33   SOLUTIONS    ELEMENTAL BUILDIN            CO     33051157847
8B984A69997133   JOEL         VALENCIANO                   OR     90007330699
8B984A89847897   DOMINIQUE    DURHAM                       GA     14094850898
8B985119376B44   ANGEL        MARTINEZ                     CA     90006431193
8B985134741262   ISAIAH       BELLAMY                      PA     51002401347
8B985319331433   JOURDAIN     THOMAS                       MO     90010893193
8B985457697133   TRACY        HILL                         OR     90014824576
8B98555849154B   BRENDA       DEL VAL                      TX     90013245584
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1523 of 2350


8B985595455971   JUAN          ASCENCIO                    CA     90013395954
8B985764831433   JOURDAIN      THOMAS                      MO     90005967648
8B986449497133   VALENTINA     POLKOVNIKOV                 OR     44027924494
8B986532272B31   ADRIANNAA     SANDOVAL                    CO     90010655322
8B98658775B375   STEPHANIE     DONE                        OR     90010725877
8B987245451362   KEVIN         BOGAN                       OH     66097692454
8B98727A672B31   ZACHARY       LANGE                       CO     33016562706
8B987471191894   JO ANN        EPPERSON                    OK     21008364711
8B9875A553B359   MARIA         SALINAS                     CO     33001035055
8B98765745B32B   BRENTON       GEORGE                      OR     90014786574
8B988519455971   GLORIA        PEREZ                       CA     49096275194
8B988612391894   LUIS          RAMIREZ                     OK     21094706123
8B98865745B32B   BRENTON       GEORGE                      OR     90014786574
8B9891A9772432   KARA          TWARDOSKI                   PA     90014901097
8B989267391837   RICHARD       WINTER                      OK     90004842673
8B98963185B581   CAMILLE       PRESTON                     NM     90007206318
8B98976A672B33   BARBARA       WARREN                      CO     33094147606
8B989884241262   WALTER        CARTER                      PA     51086918842
8B98B235697B3B   JOHN          SOLIS                       CO     90014082356
8B98B362497133   ANDREW        CAYLOR                      OR     90003683624
8B98B433372432   JONATHAN      CORNMESSER                  PA     90001634333
8B98B65745B32B   BRENTON       GEORGE                      OR     90014786574
8B98B955197138   MARIA         SANTOS RAMOS                OR     44084369551
8B98B972A8B154   WHITNEY       PETERSON                    UT     90014229720
8B991243984325   MARTIS        SINGLETON                   SC     90015262439
8B99132A35B27B   MARISSA       SAVAGE                      KY     90013643203
8B9916A695B32B   ANAHY         RAMIREZ                     OR     90014766069
8B991A26876B44   JUAN          MEJIA                       CA     90009800268
8B991A2A472B29   KARI          POOLMAN                     CO     90000720204
8B991A5A75B338   SOCORRO       CORDOVA                     CA     44510120507
8B99238129154B   RUBI          GARCIA                      TX     90014763812
8B992393772496   CHRIS         GIBBS                       PA     90014543937
8B99258988593B   CARL          MORRIS                      KY     90013965898
8B9926A1991975   RODGREDIUS    BRIDGES                     NC     90000176019
8B9929A255B338   KELLY         GRANER                      OR     90006619025
8B993254897138   JACOB         WOOLEY                      OR     90010212548
8B99344AA71935   BRIAN         GROSBY                      CO     90010744400
8B993751572B29   JOSEPHINE     CASTRO                      CO     90012837515
8B993866347897   ERICKA        PHARISEE                    GA     90009328663
8B99394A48593B   RAMONNE       DANDRIDGE                   KY     90013139404
8B994254191837   SHERRY        LENHART                     OK     90013532541
8B99442868B154   KADE          BRODERICK                   UT     31027424286
8B994433991894   MELANIE       KRIGBAUM                    OK     90009364339
8B994727941262   MELVINA       HILL                        PA     90014827279
8B994925A8593B   THOMAS        HOLT                        KY     90015119250
8B994A3758B166   ASHLEY        ATENCIO                     UT     90003660375
8B994A42172B29   MARISELA      VIZCARRA                    CO     33059600421
8B995117485856   CHRISTOPHER   JOHNSON                     CA     90012821174
8B995361961928   REBECCA       RUNDLETT                    CA     46018463619
8B99565335B581   SABRINA       WOOTEN                      NM     90002376533
8B995683A97133   RENE JUAN     CORTES VAZQUEZ              OR     90012606830
8B99634A94B22B   BOBBY         MILLER                      IA     90013653409
8B996863661934   ALBERT        SERRANO                     CA     46093038636
8B99693149136B   BIANCA        ESTALA                      MO     90013409314
8B9969A5277537   ARNULFO       MUNOZ                       NV     90003699052
8B997363277537   JACQUELENE    MATTHEWS                    NV     43013423632
8B997796955931   JOSE          JIMENEZ                     CA     90012837969
8B997894376B97   MAGDALENA     HERNANDEZ                   CA     90014198943
8B9978AA871977   STEPHANIE     VIGIL                       CO     90009958008
8B997A53772496   MEGAN         MIKSAN                      PA     90001770537
8B99812455B24B   CHRYSTAL      BROWN                       KY     90007251245
8B998851997133   LILIANA       SILVA                       OR     90003698519
8B999185833663   SHAMAUNDA     SMITH                       NC     90014151858
8B999712972B29   DEVEN         BROWN-DAVIS                 CO     90013357129
8B999969572496   RONALD        DEVAUGHN                    PA     90009149695
8B99B154676B97   NORMA         RAMOS                       CA     90010431546
8B99B22865B24B   NIESCHA       HINDERSON                   KY     90010002286
8B99B43A141275   SURABI        NADARAJAH                   PA     90013384301
8B99B532897B38   KATHLEEN      SANDERSON                   CO     39083825328
8B99B53A961934   REBECCA       PINUELAS                    CA     90011745309
8B99B54685B183   DENESHA       BUCHANAN                    AR     90009935468
8B99B611941262   CHRISTINE     VENEZIALE                   PA     90011926119
8B99B96239136B   JOSEFINA      RAMIREZ-REYES               KS     29026689623
8B99B97485B27B   AARON         BYERS                       KY     90009769748
8B99BA3A28B163   HEATHER       PETERSEN                    UT     31036660302
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1524 of 2350


8B9B113398B154   JACK             WILHITE                  UT     31005051339
8B9B1721193137   TAKARA           SHAW                     TN     90015457211
8B9B1954372496   CHRISGI          HASENFLU                 PA     90010529543
8B9B2455272B31   MARIA            CARMONA                  CO     33086744552
8B9B2579572496   JUSTIN           PARKER                   PA     90011095795
8B9B2937977537   JOSE             CARENAS                  NV     90010249379
8B9B348855B153   MELINDA          GRAY                     AR     23085744885
8B9B3787947897   JOSHUA           GREEN                    GA     90014587879
8B9B3836172B29   JORDAN           GOMEZ                    CO     90012788361
8B9B3A77291894   DAVID            FULTZ                    OK     90003190772
8B9B424889136B   MELISSA          WEST                     KS     29097392488
8B9B44A1241262   CHARLES          CURRY                    PA     90012774012
8B9B459129154B   JOSE             GUTIERREZ                TX     75016845912
8B9B479199375B   JESSICA          COOK                     OH     64538907919
8B9B4892261978   ANDRES           CALAMOCO JR              CA     90001258922
8B9B4972572B5B   JAMIE            TARBELL                  CO     90011099725
8B9B5623776B97   ROGELIO          MACHADO                  CA     90007206237
8B9B563196194B   MARIO            MENDEZ                   CA     90012186319
8B9B5A4487B425   TRAVIS           ROBERTS                  NC     90011260448
8B9B6197A33626   ERMA             YOUNG                    NC     90010351970
8B9B6245776B65   ANNA             JAVIER                   CA     90011712457
8B9B637845B581   JAMES            WOLFEL                   NM     35083813784
8B9B684A771935   ANNY             FLANNERY                 CO     90010588407
8B9B7167741275   DEVONA           EDMOND                   PA     51039731677
8B9B729478B154   ANGIE            HUFFMAN                  UT     31020002947
8B9B7495276B97   DALIA            OWENS                    CA     46038624952
8B9B76A4A72B33   ARTHUR           VALDEZ                   CO     33017516040
8B9B7833972B44   ALFREDO          ALCAY                    CO     33093968339
8B9B792A67192B   JILL             KIPPS                    CO     32097069206
8B9B7A93591975   NELSON EDUARDO   GONZALEZ                 NC     90006380935
8B9B8164933698   MICHAEL          NICHOLSON                NC     90014701649
8B9B8371972B29   OCTAVIO          PACO                     CO     90004033719
8B9B845198B136   KAREN            GILBERT                  UT     31048624519
8B9B8488776B44   EFREN            SANTOS                   CA     90008394887
8B9B868384B22B   KATRINA          FRAZIER                  NE     27030946838
8B9B8959284785   ANNA             MARTINEZ                 IL     90014669592
8B9B9274255971   ROCCO            COLON                    CA     90011432742
8B9B9517172B33   BEVERLY          CHANCEY                  CO     33000265171
8B9B976295B27B   ADAM             BARR                     KY     90012127629
8B9B98AA697138   FRANK            LEE                      OR     44011018006
8B9BB16A972B31   CARLOS           HUERTA                   CO     33035221609
8B9BB35116194B   MARGARITO        LIZARRAGA                CA     90010703511
8B9BB895271935   STEPHANIE        ARELLANO                 CO     90014248952
8B9BB95179154B   JAVIER           URQUIDI                  TX     75059769517
8BB1123A55B32B   KU               WAH                      OR     90014722305
8BB11356A23478   SHANE            MILLER                   OH     90015303560
8BB11432641275   AMBER            ADDISON                  PA     90013804326
8BB11A9434B22B   NECY             JACKSON                  NE     90009760943
8BB12169161934   JOSE             CASTRO                   CA     90009181691
8BB1222928B168   ELISABETH        GALLARDO                 UT     90001632292
8BB1223A55B32B   KU               WAH                      OR     90014722305
8BB1245189375B   BROOKE           BENA                     OH     90011854518
8BB1246368593B   JOHN             BRADFORD                 KY     90013934636
8BB12631791837   MARVIN           SULLINS                  OK     90002956317
8BB1323A55B32B   KU               WAH                      OR     90014722305
8BB13244976B44   CRYSTAL          GARCIA                   CA     90012282449
8BB13296A8B163   SHAWNI           CONNON                   UT     90002172960
8BB138A7872B44   JOSE             HERNANDEZ                CO     90015128078
8BB1391819373B   ROBERT           AVEY                     OH     90010579181
8BB1395725B24B   CINDY            SWEENEY                  KY     68000989572
8BB14148685856   CASEY            ROBINSON                 CA     90013961486
8BB14166191979   SANGEETA         NICHOLSON                NC     90011251661
8BB1421A62B246   SEBASTIAN        HENRIQUEZ                DC     90002012106
8BB143A3257126   MAAME            T OBENG                  VA     81037323032
8BB14526297133   KATIE            FABER                    OR     44095465262
8BB14716261928   SCOTT            FORTIN                   CA     90011717162
8BB1474666194B   JUAN             ORTEGA                   CA     90010527466
8BB14753941262   KENNETH          KINDSVATER               PA     51061947539
8BB14A33751362   MARLENE          LAWRENCE                 OH     66025590337
8BB151A3A93137   CHARLETTE        MCELROY                  TN     90015391030
8BB1535417B457   SIDNEE           NORWOOD                  NC     90007643541
8BB155AA972B44   CHERYL           DRAPER-GILL              CO     33088855009
8BB1589439375B   SHELBIE          WAKAULICH                OH     90015538943
8BB159A295B24B   BRANDOM          ACKSON                   KY     90013959029
8BB16344697133   JOSE             GABRIEL                  OR     90011063446
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1525 of 2350


8BB165A215B581   JAVIER       RUEDAS                       NM     35037545021
8BB1681A772B44   TAMMY        HOGUE                        CO     90013968107
8BB1717A851362   BRUCE        WOODS                        OH     90013961708
8BB176A1672B29   DONNA        TATRO                        CO     90013356016
8BB18665176B97   RAMON        MARTIN                       CA     90013106651
8BB18749497B3B   ANA          DOMINGUEZ                    CO     90015077494
8BB18749A61934   LUCIANO      CARRERA                      CA     90011687490
8BB18892785856   CARLOS       HERNANDEZ                    CA     46020198927
8BB189AA247822   JAVESHA      ROUSE                        GA     90014789002
8BB18AA617192B   DEMETRIUS    MCCREE                       CO     32082810061
8BB19491297133   OSCAR        CANCHOLA                     OR     90014744912
8BB19631747822   BETTY        HENTON                       GA     90014816317
8BB19699476B44   HELEN        PHILIPS                      CA     90013116994
8BB19821247897   TABITHA      SHIELDS                      GA     14021918212
8BB1999189375B   CORY         HARDESTY                     OH     64502719918
8BB19A52872496   DOREEN       WILLIAMS                     PA     90013500528
8BB1B14168B154   CLAUDIA      DENSON                       UT     31088901416
8BB1B78358B163   JAVIER       GONZALEZ                     UT     90007967835
8BB1B912147822   JONQUAVIUS   JORDAN                       GA     90013159121
8BB1B988851362   KIMBERLY     ALLEN                        OH     66025629888
8BB212A7176B44   VERONICA     CESPEDES                     CA     90012472071
8BB21363877537   RENDA        JOHNSTON                     NV     90014193638
8BB213A189712B   MICAELA      AQUINO CHAVEZ                OR     44017533018
8BB21429776B97   VIRGINIA     BOWEN                        CA     90012304297
8BB21433876B97   ADONIS       JOSE                         CA     46096764338
8BB21484772B31   JOSE         NUNEZ                        CO     90004244847
8BB21596A5B24B   MIC'QUEL     TOOGOOD                      KY     68090265960
8BB21659893771   MISTIE       THOMAS                       OH     64540806598
8BB21841A76B97   BEATRIZ      MARTINEZ                     CA     90013538410
8BB21899647822   PABLO        RODRIGUEZ                    GA     90006648996
8BB218A985B183   WILLIE       GAINES                       AR     90005478098
8BB21998272496   DIANE        MCKAIN                       PA     51036859982
8BB21A97472B33   JAMIE        MORALES                      CO     90014390974
8BB22132197138   MARIA        GONZALEZ                     OR     90009621321
8BB2215488593B   RICHARD      WHITWORTH                    KY     66007261548
8BB2241475B32B   CELINE       ANDEREGG                     OR     44532964147
8BB22475985962   TIMOTHY      BERWANGER                    KY     90004694759
8BB2252729198B   NATASHA      HILL                         NC     90010195272
8BB227A455B338   GABRIELA     ALVARADO                     OR     90006457045
8BB22829381651   TIARA        LLOYD                        MO     90002058293
8BB22AA6876B44   DARIAN       YORK                         CA     90012220068
8BB2333A57B42B   CYNTHIA      WILSON                       NC     11001223305
8BB2341475B32B   CELINE       ANDEREGG                     OR     44532964147
8BB2379325B183   BENITO       SILVA                        AR     90011467932
8BB23923272B33   RHONDA       NESBITT                      CO     33086559232
8BB2442238B154   ROLAINE      BARTON                       UT     31072114223
8BB24529597133   JEFF         PILAND                       OR     90013665295
8BB24773691837   RONNIE       JONES                        OK     21053907736
8BB2514239375B   BRITTANY     COSBY                        OH     90012591423
8BB251A9847822   NIKKI        SANDERS                      GA     90012941098
8BB2523985B32B   THERESA      EVAN                         OR     90014722398
8BB25764998B31   DEVIN        JOHNSON                      NC     90012457649
8BB2586A597B3B   BETH         MAYNARD                      HI     39040708605
8BB26167A5B581   PAMELA       BACA                         NM     35069311670
8BB2618A797138   PIEDAD       MEZA RAMIREZ                 OR     44027951807
8BB26198451362   VICTOR       MONTES                       OH     66075101984
8BB2631A572B44   VIVIANNE     REINICKE                     CO     90009473105
8BB26491493771   APRIL        BROOMFIELD                   OH     64513864914
8BB264AAA84325   AMADO        GONZALEZCATANA               SC     90009474000
8BB26549176B44   KATIE        CARABAJAL                    CA     90004215491
8BB2656AA97133   URBANO       HERNANDEZ                    OR     90015565600
8BB26575891975   ESBORN       BOSIRE                       NC     90012535758
8BB26731633698   KATEANA      WADE                         NC     12012447316
8BB2715488593B   RICHARD      WHITWORTH                    KY     66007261548
8BB27432A91926   LARRY        MCALLISTER                   NC     90005374320
8BB274A3A5B27B   MONICA       ROBERSON                     KY     68010004030
8BB27AAA65B183   FUDAIL       THARPE                       AR     23006480006
8BB282A9591975   PARIS        BARNHILL                     NC     90011102095
8BB28322A77537   BRENDA       KEYES                        NV     90007783220
8BB28361871935   LEE          BROWN                        CO     90015113618
8BB2859855B27B   TYNESHA      BISHOP                       KY     90010765985
8BB2861564B22B   LORENA       GONZALEZ                     NE     90014496156
8BB28683384325   RENARDO      COLLINS                      GA     90013146833
8BB2875342B237   WELTEN       BOOMER                       DC     81016637534
8BB28A2A572432   DANIEL       STREETE                      PA     90013480205
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1526 of 2350


8BB29157385856   MARIA         ROSARIO GUTIERREZ           CA     90004691573
8BB2936A997B38   MATT          EISELE                      CO     90005893609
8BB2938A384325   JAMELE        LITTLE                      SC     14513553803
8BB2976829154B   ELSIA         NUTTER                      TX     90005277682
8BB29825997138   NORBERTO      MARTINEZ                    OR     90014128259
8BB29A8155B153   J             LAWTON                      AR     90011130815
8BB2B15895B153   CECIL         BOZEMAN                     AR     90014231589
8BB2B1A956194B   ROSENDO       GOMEZ                       CA     90007801095
8BB2B635391975   CHRISTINE     BANKS                       NC     90014926353
8BB2B65524B22B   CHELSEA       WEAVER                      NE     90002676552
8BB2B793572B31   EMANUEL       LOPEZ                       CO     33091557935
8BB3144A572B62   ANGELICA      GONZALES                    CO     90008994405
8BB3147519154B   RUBI          HERRERA                     TX     90008954751
8BB3147A14B22B   KAELI         ALLEN                       NE     90014274701
8BB31691991975   TIFFANY       SANDERS                     NC     90014926919
8BB3169735B183   KELCEY        WILLIAMS                    AR     90008746973
8BB31712241262   ALICIA        SAYLES                      PA     51005127122
8BB31926376B44   BRITTANY      HOLMES                      CA     90003219263
8BB3245345B24B   KIMBERLY      ONEIL                       KY     68089914534
8BB32693791975   UEN           BAM                         NC     90009846937
8BB32976A97133   TYSON         WARDEN                      OR     90014279760
8BB32998147897   ERICA         FRANKLIN                    GA     14015209981
8BB32A86971977   LEROY         CORTEZ                      CO     90002930869
8BB33243572B44   ELENA         MONTOYA                     CO     90013942435
8BB3345539154B   MICHAEL       BINKLEY JR.                 TX     75099534553
8BB33732A5B581   KARLA         OLIVAS-DOMINGUEZ            NM     90014557320
8BB33823997B38   JOHN          HERNANDEZ                   CO     90004258239
8BB3391A82B559   JAZYMN        JOHNSON                     AL     90014629108
8BB33969572496   RONALD        DEVAUGHN                    PA     90009149695
8BB33A4895594B   MARVIN        HOOD                        CA     90014660489
8BB33A61151362   CASAUNDRA     MCKINZIE                    OH     90013940611
8BB33A8A972B44   XOCHITO       DYES                        CO     90012160809
8BB341A3191242   KATRINA       KNIGHT                      GA     14532061031
8BB3425455B153   TONYA         GRIFFIN                     AR     90014242545
8BB34319271935   LORETTA       GUY                         CO     32090803192
8BB3448A85B581   LARA          NINFA                       NM     90010114808
8BB34517972B62   DAVID         BRITTON                     CO     90011325179
8BB34648797138   DANIELLE      HUERTA                      OR     44053806487
8BB34788497133   MELISSA       BERRY                       OR     90003607884
8BB3495345B356   DANIEL        HEPOKOSKI                   OR     44596059534
8BB353A6A72B29   ROSARIO       SAUCEDO                     CO     33081523060
8BB35551176B65   ENEDINA       HERNADEZ                    CA     90008485511
8BB3567A68B163   STACEY        ORWAN                       UT     31081796706
8BB36385272B44   MORALEZ       FRANCES                     CO     33065713852
8BB36523571935   CESSOR        HOUSTON                     CO     90007675235
8BB36726991975   TONYA         SNEED                       NC     90014927269
8BB36815272432   JOHN          SMITH                       PA     90012428152
8BB3698854B22B   MARIA         DIAZ                        NE     27079699885
8BB37129A72432   ARTHUR        DOWLER                      PA     90010881290
8BB3715125B32B   LORI          SAHLI                       OR     44531821512
8BB3723825B581   MICHAEL       TENORIO                     NM     90014562382
8BB3742825B24B   MICHAEL       SKIDMORE                    KY     90004204282
8BB3743639192B   LATIA         COFFIELD                    NC     90012324363
8BB3748A172B44   IGNACIO       ROSAS                       CO     33073124801
8BB37546493771   BRITTANY      HARRIS                      OH     90014695464
8BB3761759154B   JULIAN        PEON                        TX     75019286175
8BB37751561948   ALEX          BEACH                       CA     90007817515
8BB37853976B65   CENOVIA       LLAMAS                      CA     46089168539
8BB3786945B338   SAUL          FLORES                      OR     90007648694
8BB37A49771935   WHITNEY       HOUSTON                     CO     90007510497
8BB38161847897   SHARQUAVEIA   SMITH                       GA     90012801618
8BB382A9391525   JUAN          LOPEZ                       TX     75016622093
8BB3943869374B   COLBY         SILVER                      OH     90006904386
8BB39482893771   KIMBERLY      SHEPHARD                    OH     90015174828
8BB39985385856   SARAH         YALDA                       CA     90009709853
8BB39A6A747822   MICHELLE      WOMACK                      GA     90014790607
8BB39A7A941275   KIMBERLY      RINEHART                    PA     90014810709
8BB3B1A3161948   ROBERTO       RIVERA                      CA     46012891031
8BB3B35187B42B   MONIQUE       CORPENING                   NC     11001223518
8BB3B42348B163   MARIA         VALDES                      UT     90014924234
8BB3B45A585856   NORBERTO      LLANES                      CA     46020174505
8BB3B925A41237   JOSEPH        WARREN II                   PA     51083639250
8BB4139715B139   S             DICKERSON                   AR     23066203971
8BB414A9A97B38   CECILIA       VILLANUEVA                  CO     90005344090
8BB41513461934   STEPHANIE     MILLER                      CA     90009185134
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1527 of 2350


8BB41616172B44   LILIANA      RAMIREZ                      CO     33058576161
8BB4179195B183   ASHLEY       MOORE                        AR     90011327919
8BB41827771977   KRISTIAN     ZOLLNER                      CO     90012038277
8BB41A12391975   LOIS         RICHARDSON                   NC     90008700123
8BB42157541262   OLIVER       SHERWOOD JR                  PA     51026381575
8BB42459661971   JOSEFINA     RENDON DE SALAZAR            CA     90002344596
8BB4277816194B   BRENDA       ESPARZA                      CA     90009617781
8BB4299A371977   ZACHARY      SHEPHERD                     CO     90013339903
8BB43122972B33   ELISHA       WHITE                        CO     90014671229
8BB4324476194B   DANIELLE     BRADFORD                     CA     90007682447
8BB43649376B65   CLAUDIA      HERRERA ALTUZAR              CA     90011646493
8BB43795855971   AIME         RODRIGUEZ                    CA     90013037958
8BB43A23572496   ERIC         FLESKE                       PA     90015130235
8BB44233372496   KEVIN        BERGBIGLER                   PA     90007842333
8BB44349151362   JANET        SIMS                         OH     90006753491
8BB444A1A91837   ZOILA        DUARTE                       OK     21027654010
8BB44938276B65   KREG         NEWSOME                      CA     90013949382
8BB45149847897   RENATA       HARGROVE                     GA     90009071498
8BB45154772432   BRANDON      PETERS-COOK                  PA     90014881547
8BB454AA871935   KEVIN        TREACY                       CO     90011994008
8BB45636493771   ANGELA       ROYALTY                      OH     90010856364
8BB45829872B31   ANTONIO      CASTILLO                     CO     90007198298
8BB4617A161988   CORINNA      WIRTH                        CA     46000291701
8BB46495285856   TAMYCA       LAPLACHA                     CA     90014514952
8BB46537261928   VALAR        ALEX                         CA     90001665372
8BB46585197B38   ANA          ARROYO HAROS                 CO     39038435851
8BB467AA98B154   WADE         SPRATT                       UT     31078237009
8BB46A88872496   SUSAN        SOLTIS                       PA     90008370888
8BB47279157122   BRIAN        HILDERBRANDT                 VA     90011542791
8BB4728567192B   BENJAMIN     ALCANTAR                     CO     32068272856
8BB47315872B62   GRIFFITHS    RUSSELL                      CO     33027603158
8BB4783195B581   CHRIS        LEYBA                        NM     35097528319
8BB48245491837   DON          FOSTER                       OK     90009632454
8BB48551297138   SONYA        SCALES                       OR     44065845512
8BB488A156194B   NANCY        HERNANDEZ                    CA     90012348015
8BB48A9334B22B   JANET        MATHIS                       NE     27059350933
8BB4933788593B   JOSHUA       MCCANE                       KY     90010523378
8BB49838147897   ZIMER        CISNCROS                     GA     90002158381
8BB4B822841262   MARGARET     KNIGHT                       PA     90014758228
8BB4B845176B65   LON          SULLIVAN                     CA     90007598451
8BB4BA3443163B   DEVONATE     JACKSON                      KS     90014760344
8BB4BA35197133   MARIBEL      HERRERA                      OR     90010460351
8BB51693897B3B   ZACHARY      BULLINGER                    CO     90013666938
8BB5172485B379   EVENCIO      HERRERA                      OR     90000407248
8BB5178A393771   CORNELL      AKEMON                       OH     90005327803
8BB51A8265B139   TOMBURA      JONES                        AR     90010220826
8BB5255A65B24B   SARAH        DAYTON                       KY     90011005506
8BB5269184B22B   SUE          MCLAUGHLIN                   NE     27035416918
8BB534A4272B44   LOUIE        SANCHEZ                      CO     33076354042
8BB53521585856   JEFF         GRIMIS                       CA     90003535215
8BB53669555971   MARIA D      GOMEZ                        CA     90012646695
8BB53673571977   DIANE        ALARID                       CO     90012836735
8BB53878272432   DESTINY      HOEFLER                      PA     90014648782
8BB54164972B29   BRYAN        SMITH                        CO     33076831649
8BB5419958B163   MATT         RIDDLE                       UT     31097531995
8BB541A1672496   MICHAEL      WARFLE                       PA     90014711016
8BB54481533698   HARRIET      RIEMET                       NC     90014604815
8BB5452714B22B   YAOVI        GRUNITZRY                    NE     90010625271
8BB54837997B38   MARIA        SOLIS                        CO     39035328379
8BB55197872B44   CARMEN       CRIPE                        CO     90002921978
8BB554A9A84325   MACK         MONTANA                      SC     90011414090
8BB55646993127   BRUCE        WAYNE                        TN     90015466469
8BB556A388593B   KELLEY       TOWNSEND                     KY     90005346038
8BB55893372496   WADE         SPEAKMAN                     PA     90010078933
8BB56291171977   COURTNEE     CLAYTON                      CO     90014262911
8BB56315172496   WILLIAM      GOLD                         PA     90013773151
8BB56454A72B29   AGUSTIN      RIOS                         CO     90015044540
8BB56688755971   ADRIANA      SALAS                        CA     90013286887
8BB56787751362   MASON        CORNELL                      OH     90015247877
8BB56A3975B32B   DESMOND      SLOAN                        OR     90014970397
8BB56A9A741262   GARRICK      REED                         PA     90014830907
8BB57514391975   TRAVIE       COOLEY                       NC     90014935143
8BB57552A55971   ESMERALDA    MARTINEZ                     CA     90013775520
8BB57887991837   STEVIE       WILLIAMS                     OK     90012328879
8BB57965977537   JOSE         DUARTE-DIAZ                  NV     90014989659
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1528 of 2350


8BB58184A61978   RON           DOUGLASS                    CA     46045291840
8BB58191972B29   MARISOL       MUNOZ                       CO     90003581919
8BB58593793137   CHRISTOPHER   COX                         TN     90015505937
8BB5861418B168   JUAN          RAMIREZ                     UT     90013516141
8BB58913141275   LENORE        RUSH                        PA     51019369131
8BB58938276B65   KREG          NEWSOME                     CA     90013949382
8BB59169891837   SHARONDA      FULTON                      OK     21039281698
8BB59241655971   KACIE         CABRAL                      CA     90013132416
8BB59495851531   FATUMA        HERSI                       IA     90014104958
8BB59748633698   JOSE          VARGAS                      NC     12009837486
8BB5997224B22B   SHARON        PRIBYL                      NE     27034319722
8BB59A6455594B   MARIA         MARIN                       CA     90014660645
8BB5B215772B33   DANIELLE      GURNEY                      CO     90004762157
8BB5B353176B44   SYLVIA        LOPEZ                       CA     46044333531
8BB5B51A477537   YESENIA       GARCIA                      NV     90013235104
8BB5B521197133   BRAULIO       GOMEZ                       OR     90002685211
8BB5B566976B97   DIANA         OJEDA                       CA     46005685669
8BB5B7A285B581   ADRIANA       MORILLO                     NM     90015007028
8BB5BA28A71935   BRENNA        WALKER                      CO     90011580280
8BB6139645B153   DEBORAH       LUTRICK                     AR     90011233964
8BB6144145B568   TERESA        ALVAREZ                     NM     35031014414
8BB61558193771   LAMAR         MOODY                       OH     64592305581
8BB61A4375B153   DANA          MCKA                        AR     90014800437
8BB62235972432   JENNIFER      ROSIER                      PA     51025642359
8BB62236676B44   LAURA         TRUJILLO                    CA     46076912366
8BB62325372B29   ELBA          GARZA                       CO     90013083253
8BB62359772B62   EDGAR         CRUZ                        CO     90009473597
8BB6253745B32B   KELSEY        SONEFELD                    OR     90002535374
8BB62622A8B154   JAVIER        RODRIGUEZ-ALMEIDA           UT     90012046220
8BB6275585B24B   CARLOS        WILSON                      KY     68026597558
8BB62758576B97   RYAN          SCHULER                     CA     46005787585
8BB63489891525   MARIA         PONCE                       TX     90002814898
8BB636A889375B   ROY           WILSON                      OH     90014166088
8BB6375175B32B   ALVIN         MC CLURE                    OR     90002537517
8BB63A63776B65   ANA           GARCIA                      CA     90013950637
8BB64123297B3B   MARY          MARCELENO                   CO     90013391232
8BB64437A85856   NICOLE        ALBERT                      CA     90010994370
8BB64533233698   CHAQUANDA     LEWIS                       NC     90010805332
8BB6455485B338   BROOKE        BARRETT                     OR     90001665548
8BB64578376B65   STEVE         BELISARIO JR                CA     90013255783
8BB6481A36194B   BRIANNA       STRACHAN                    CA     90002128103
8BB64887A9375B   SHERRY        ROGAN                       OH     64506648870
8BB649A8741978   JOHN          BORGELT                     OH     90013899087
8BB64A3678593B   WANDA         REYNOLDS                    KY     90002940367
8BB64A6A772B62   JOHN          MCCOULD                     CO     90014610607
8BB65194693793   ERIC          WOODWORTH                   OH     90001681946
8BB653A446194B   DANIELA       PARRA                       CA     90013593044
8BB65781561978   CRISTINA      SOSA                        CA     90005637815
8BB658A3691242   LAKERA        COOPER                      GA     90001828036
8BB65951255971   EMMANUEL      SOTO                        CA     90014869512
8BB6598525B27B   CHRISTOPHER   GAFFNEY                     KY     90012369852
8BB65A55576B65   NATALIE       CANNON                      CA     90014140555
8BB66535697B38   ROSE          O CONNER                    CO     90011495356
8BB66685A84325   PATTI         MALPHRUS                    SC     14578046850
8BB66727276B97   ANGELIQUE     HOUCHIN                     CA     90013487272
8BB66826A6B932   NATALIE       VITALE                      NJ     90013088260
8BB66997947897   JENNIFER      TRUSSELL                    GA     90014089979
8BB66A9A79154B   DANIEL        HOLGUIN                     TX     90013140907
8BB6724126194B   DAVID         VANOSTRAND                  CA     90013582412
8BB67422871935   GEORGE        FREDERICK                   CO     90014034228
8BB6758148B154   ALFREDO       GARCIA                      UT     90005195814
8BB67712276B44   REGINA        KEITH                       CA     90013117122
8BB67878141262   SUSAN E       GIVNER                      PA     90011198781
8BB67953691975   GERMAN        MENDOZA                     NC     90002389536
8BB6825835B581   ADAM          ARMIJO                      NM     90012322583
8BB68291672B29   LORI          PADILLA                     CO     33010982916
8BB68427931433   JAMES         THACKER                     MO     90003614279
8BB6847415B24B   DEBRAIN       FORD                        KY     90013154741
8BB6847A791837   RUBEN         FLORES                      OK     90014044707
8BB68565A33698   LEONA         HARRIS                      NC     90014605650
8BB68646372496   WALTER        SHUMAKER                    PA     90009126463
8BB68671A91837   THOMAS        YOUNG                       OK     90010646710
8BB68A2617192B   STEPHANIE     PRADO                       CO     32035330261
8BB69262197B3B   OSMAN         ORRANTIA LOZOYA             CO     39064882621
8BB69291347822   TYASIA        JAMES                       GA     90014792913
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1529 of 2350


8BB6945358B163   BRYCE          MARSHALL                   UT     31016634535
8BB695A125B32B   NOONIE         MAGEE                      OR     90002805012
8BB6983225B24B   THOMAS         JOHNSTON                   KY     90012208322
8BB6B162476B65   FRANCISCO      MONTEVERDE                 CA     90009671624
8BB6B243A4B531   KASIDY         ANDERSON                   OK     90008842430
8BB6B589851362   SIERRA         SMITH                      OH     90001245898
8BB6B79855B27B   MAN            TAMANG                     KY     90011027985
8BB6BA48472432   MARISSA        CARRELL                    PA     51032080484
8BB6BAAA98B163   MARCIA         CASTILLO                   UT     31006030009
8BB71168961978   BUCK           RODGERS                    CA     90003171689
8BB71265276B65   BLANCA         HERNANDEZ                  CA     90012642652
8BB71473776B97   RACHEL         PARKER                     CA     90010774737
8BB71486472B33   RENEE          RASMUSSEN                  CO     33037344864
8BB7155A25B356   RANDY          GUENTHER                   OR     90010555502
8BB71781784333   JUAN           CONTRARAS                  SC     90006797817
8BB71927572496   MARTIN         BRUCE                      PA     90014029275
8BB71957561987   ROXANA         IRIBE                      CA     90007429575
8BB71968A91837   CELINNA Y      GRIFFITH                   OK     90009479680
8BB72245485856   ISMAEL         HERNANDEZ                  CA     46060222454
8BB7229A791837   THEODORE       WALLACE                    OK     21060922907
8BB72382A72B62   PAMELA         MORSE                      CO     33084273820
8BB7259478B154   MARTIN         ARELLANES                  UT     31084885947
8BB72811972B44   TANA           BLUHM                      CO     90013968119
8BB72957561987   ROXANA         IRIBE                      CA     90007429575
8BB72978893137   AMI            SMITH                      TN     90015539788
8BB72A63776B65   ANA            GARCIA                     CA     90013950637
8BB73216576B65   JACQUELINE     GUZMAN                     CA     90013952165
8BB7326435B581   ANGELA         FRANCO                     NM     35059852643
8BB73294455971   PEDRO          MURILLO                    CA     49020772944
8BB734A3272B62   GLORIA         GARCIA                     CO     33069684032
8BB7351372B228   LARON          DUNCAN                     DC     90011295137
8BB7357675594B   RUBEN          GARCIA                     CA     90014185767
8BB73811961942   MIGUEL         GALAN                      CA     90006618119
8BB73842A72B83   JAZMIN         MARTINEZ                   CO     90015098420
8BB7389A45B27B   MARIA          RUIZ                       KY     90013928904
8BB73926A8B163   TREVOR         GRANSBURY                  UT     90012489260
8BB73A21876B97   LETITIA        MURPHY                     CA     46005810218
8BB73A3A39375B   ROBERT         COLLINS                    OH     90002160303
8BB73A63947897   TONY           BROOKS                     GA     90014930639
8BB74224847897   EDEN           SEXTON                     GA     90015112248
8BB7441395B183   LEONARD        CASH                       AR     90015214139
8BB7463795594B   MARIA          OCAMPO                     CA     90012006379
8BB74677772B44   VERNON         EDWARDS                    CO     33039936777
8BB74683572B38   DEANA          AMPTMAN                    CO     90010246835
8BB7469A351362   MATIAS         MENDOZA                    OH     90000656903
8BB74976577537   JOHNNA         CAMPBELL-ALEXANDER         NV     90001059765
8BB7526348B168   DICK           RACY                       UT     90015322634
8BB752A9176B65   ALEJANDRO      AMADOR                     CA     90012512091
8BB7571679712B   ROSE A         ROOP                       OR     90003237167
8BB75A48391522   EFRAIN         GAYTAN                     TX     90014950483
8BB7648A597138   CECILIA AIDA   CORADO GARCIA              OR     90012704805
8BB76765755971   DULCE          DIAZ                       CA     90013627657
8BB767A2591939   ERIKIA         STONEY                     NC     90001147025
8BB7694A29154B   LETICIA        LOPEZ                      TX     90014789402
8BB7717227B42B   JOSUE          HERNANDEZ                  NC     11069971722
8BB77195697133   MORGAN         MAYO                       OR     90013411956
8BB77289A76B65   TERESA         MARTINEZ                   CA     90013952890
8BB773A379375B   MARTINA        AMELL                      OH     90004233037
8BB775A3497B3B   RODNEY         KRESS                      CO     39014835034
8BB7782635B32B   SAMUEL         NYABUTE                    OR     90013368263
8BB78284177537   CHANTILY       SMILEY                     NV     90011742841
8BB78322941275   JOHN           SZYMANSKI                  PA     51087793229
8BB78477A77537   STEPHEN        THOMAS                     NV     90015064770
8BB78676491837   RAYMOND        WILSON                     OK     90002526764
8BB78762472B33   ROSEMARIE      HINOJOS                    CO     33082737624
8BB78872461978   ERNEST         BULLS                      CA     90006978724
8BB7916968B163   TRISHA         WILLIAMS                   UT     90010451696
8BB79492651362   JORGE          ROLDAN                     OH     90006644926
8BB795A4997138   JILL           FRANCIS                    OR     90001655049
8BB79866672B33   TYLER          WALLIS                     CO     90015578666
8BB7B17365B356   HOLLY          HERRING                    OR     90011951736
8BB7B26465714B   PAMELA         JENKINS                    VA     90008912646
8BB7B271A5B32B   DAVID          COX                        OR     90014722710
8BB7B279441262   KAPRIELLE      GREEN                      PA     90012622794
8BB7B39A172B33   JOSE           GAMBOA                     CO     33072603901
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1530 of 2350


8BB7B444691547   JESUS         DELGADO                     TX     75033674446
8BB7B5A8597B3B   CHAD          BENSON                      CO     39077235085
8BB7B82925B568   THOMAS        BENSON                      NM     35074018292
8BB7B897A5B338   NOEL          GOMEZ GALBAN                OR     90013228970
8BB7BA73991837   JALISSA       IRVIN                       OK     90005010739
8BB8161895B183   RAUL          SANTOS                      AR     90014976189
8BB8163795594B   MARIA         OCAMPO                      CA     90012006379
8BB816A2591975   KEITH         WILLIAMS                    NC     90014936025
8BB8172A15593B   VANESSA       VARELAS                     CA     48004247201
8BB817A655B27B   TERRANCE      TAYLOR                      KY     90008377065
8BB818A185B338   STEVE         LUSTIN                      OR     44545828018
8BB81914485856   ARMANDO       MAYA                        CA     90014749144
8BB82261276B65   ALEJANDRO     BEDOYA                      CA     90014162612
8BB82296772432   JAMES         FOSTER JR                   PA     90011102967
8BB8229A741262   DEBRA         GRAY                        PA     51092582907
8BB8267A571935   YOLLANDA      WALKER                      CO     90002296705
8BB82733576B44   CANDELARIA    MALDONADO                   CA     90013117335
8BB82782891837   JAMIE         DEMAURO                     OK     90015147828
8BB828AA793139   BREANDA       BONDS                       KY     90012748007
8BB83228993771   RONALD        BLAIR                       OH     64524302289
8BB83257993137   LAKEASHA      DOWLEN                      TN     90015452579
8BB83427372B33   MICHEAL       ZUBIA                       CO     90009354273
8BB8347178B154   BRANDY        GARNER                      UT     90012214717
8BB8383515B356   ERIKA         GONZALEZ                    OR     90013438351
8BB8392845594B   ROCIO         MORENO                      CA     90009299284
8BB83AA438B154   LISA          GARNER                      UT     31025800043
8BB8419465714B   KARLA         GUTIERREZ                   VA     90012541946
8BB8459795B153   TIFFANY       LEMONS                      AR     90014835979
8BB846A355B581   ANGELA        HERNANDEZ                   NM     90014156035
8BB849A9172B33   EDITH         SHANKLE                     CO     33019179091
8BB85317147897   LAKISHA       COGER                       GA     14087053171
8BB85662172496   DANIEL        YOUNG                       PA     51047366621
8BB8566558B168   ANGELICA      RODRIGUEZ                   UT     31055886655
8BB85829A61934   VANESSA       MONCADA                     CA     90007048290
8BB8585725B161   RONALD        MARTIN                      AR     90008738572
8BB8593A276B97   RICKY         WALKER                      CA     90011749302
8BB85964941262   JEREMY        KIM                         PA     90013959649
8BB85A1896194B   MARIA         DURAN                       CA     90013450189
8BB85A93797138   MARIA         DELGADO                     OR     44052830937
8BB866A688168B   JAMES         ANDERSON                    MO     90012126068
8BB8691585B356   RAYMOND       JIPSON                      OR     44562589158
8BB87335776B65   LAURA         SOUTHWORTH                  CA     46013363357
8BB87451755971   ROSA          VILLA                       CA     49054684517
8BB87568991975   RICKY         TAYLOR                      NC     90014945689
8BB875A7577537   PAUL          DEMARCUS                    NV     90008475075
8BB8794825594B   SUSAN         RIXMAN                      CA     49055359482
8BB88115647897   JOHNNY        PALM                        GA     90013391156
8BB8812299154B   GEORGINA      SAUCEDO                     TX     90013141229
8BB88369393771   GLENNA        BREWER                      OH     64552963693
8BB8845855B338   RICK          HOGAN                       OR     90003864585
8BB88554597133   ALEC          ANDERSON                    OR     90013645545
8BB88811972B44   TANA          BLUHM                       CO     90013968119
8BB88865891894   TERAN         WILMOTH                     OK     21016938658
8BB88A45661978   MARIA         CRUZ                        CA     46076550456
8BB891A1251362   VICTORIA      SAMONS                      OH     66000061012
8BB8941175B32B   BRANDY        HOFFMANN                    OR     90009824117
8BB89531693137   RICHARD       IBARRA                      TN     90015595316
8BB89578691975   MAXIMILIANO   ZAVALA                      NC     90014945786
8BB89583672B44   ALBERT        JOHNSON                     CO     90007625836
8BB89843197133   GARY          LARSON                      OR     90015348431
8BB89982172B29   JESUS         ORAJEL                      CO     90014529821
8BB899A8897B38   ANGELIQUA     MORENO                      CO     39014669088
8BB89A49791525   JESSICA       MEDINA                      TX     75010930497
8BB8B267A6194B   PATY          HERRERA                     CA     90013082670
8BB8B786471935   AUDREY        RAMIREZ                     CO     32003667864
8BB8B93416194B   CARLOS        PARRA                       CA     90001829341
8BB8B95159375B   RICHARD       ROBINSON                    OH     64513719515
8BB8B982572B44   GERALDINE     SHULDHAM                    CO     90014839825
8BB8BA4578593B   NATALIE       STEPHENS                    KY     90010530457
8BB9128665594B   SARA          BARAJAS                     CA     90010232866
8BB913A4A8B154   WENDY         INGERSOLL                   UT     31008843040
8BB9143A471977   BENJAMIN      FAXAS                       CO     90012734304
8BB91554A72432   JENNIFER      CAMPBELL                    PA     90006365540
8BB92527255971   FRANSISCO     CORTES                      CA     90007425272
8BB9259378593B   JAMIE         PEEL                        KY     90013695937
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1531 of 2350


8BB9273135B24B   JASMINE       GARLINGER                   KY     90014767313
8BB92A72631433   DEKETRA       NEARING                     MO     27547490726
8BB93299A8B154   TAMARA        LOVELAND                    UT     90011412990
8BB9349A161981   CIELO         FOTH                        CA     46008344901
8BB9363855B24B   DEBORAH       FUQUA                       KY     68038016385
8BB938A8625697   ROBERT        ANDERSON                    AL     90014788086
8BB94239341275   TONYA         RENE                        PA     51008232393
8BB94421772B31   NAYENCY       FIGUEROA                    CO     90003464217
8BB94717872B62   MICHAEL       ALLEN                       CO     90013977178
8BB94775797B38   BENNY         MARTINEZ                    CO     90002647757
8BB949A9991242   RAHSHAN       CRAWFORD                    GA     90011379099
8BB96285972B31   YAZMIN        PRADO                       CO     90013052859
8BB96566893137   PAYGO         IVR ACTIVATION              TN     90014895668
8BB96786672B44   JEFFREY       SCHNEIDER                   CO     33059787866
8BB9697669712B   ERIC          DAVIDSON                    OR     90013799766
8BB96A37841275   CELESTE       LAPEN                       PA     90011000378
8BB96A79A72496   MARK          SOWA                        PA     51000760790
8BB97198247822   MALIKAH       HARRIS                      GA     90010151982
8BB97712571977   RICHARD       GOMEZ                       CO     38079407125
8BB98224741275   AARON         COLLIER                     PA     90014652247
8BB985A4972B98   KEITH         RILEY                       CO     90007435049
8BB98631291837   KYMBRE        JOHNSON                     OK     21035936312
8BB9864A647822   ALEXIS        DAVIS                       GA     90014816406
8BB98854393771   SHANTE        JOHNSON                     OH     90008488543
8BB99199291837   NICK          EASTER                      OK     21088231992
8BB99386A8593B   BERENICE      BRAVO                       KY     90013553860
8BB99491341262   STACEY        CAIN                        PA     90014144913
8BB99625776B97   CRISTIAN      AGUILA                      CA     90013556257
8BB99722A5B27B   JAMIE         KINSER                      KY     90015147220
8BB99837671935   MARISELA      HOLGUIN-SOTO                CO     90004988376
8BB9994689375B   ALAYJAH       TURNER                      OH     90010389468
8BB999A9A72B62   COYONE        EVANS                       CO     90014829090
8BB99A66772B54   RICHARD       WOOLEY                      CO     90006000667
8BB9B329197138   GRISELDA      ZAPIEN VALENCIA             OR     44010623291
8BB9B66A293771   DAVID         MACEDO                      OH     90011496602
8BB9B684133738   TRISTEN       DESHAZO                     LA     90015356841
8BB9B8A9476B97   DEMETRIA      TORRES                      CA     46084188094
8BB9B927576B44   HECTOR        MARTINEZ                    CA     90005079275
8BB9BA8365B24B   C             PARKER                      KY     68016260836
8BBB11A7555971   FERNANDO      VARGAS                      CA     49094211075
8BBB142644B982   ALICIA        DREW                        TX     90006014264
8BBB161A15B921   SHELLEN       FRANCIS                     ID     41009926101
8BBB1828591525   MAGGY         MCALLISTER                  TX     90012028285
8BBB2126533B97   CRYSTAL       WEEKLEY                     OH     90015181265
8BBB253319712B   AMANDA        ALDRICH                     OR     44086565331
8BBB25A8272B29   GARY          RODRIGUEZ                   CO     90009215082
8BBB2837755971   DEBBIE        LUNA                        CA     49050678377
8BBB3186541247   BEVERLY       GREEN                       PA     90012331865
8BBB323678B163   CARLOS        ERAZO                       UT     90014532367
8BBB334585B153   DORIS         MAYCOCK                     AR     90010563458
8BBB34A512B559   ARETHA        JONES                       AL     90014624051
8BBB3582191975   KATOYA        POWELL                      NC     90014925821
8BBB3622555971   BRITTANY      BARTON                      CA     49096816225
8BBB381AA55971   BRITTANY      BARTON                      CA     90012578100
8BBB3821276B97   CRISTINA      GONZALEZ                    CA     90012178212
8BBB3937972467   CHRISTOPHER   DITTA                       PA     90009399379
8BBB397A251362   MICHAEL       RIEGLER                     OH     66085209702
8BBB39A9797B38   CHRISTINE     CURTIS                      CO     39039499097
8BBB4167472B31   CYNTHIA       GARCIA                      CO     33089441674
8BBB4242272B44   KIMBERLY      HUGHES                      CO     90008382422
8BBB451A85137B   ANNAF         CARTER                      OH     66093845108
8BBB4613872432   JULIE         MILLER                      PA     51011576138
8BBB483214B22B   BERNARD       MENARD                      NE     27089378321
8BBB4A14A71935   WAKISHA       GRAY                        CO     32023590140
8BBB4A1A272B62   BRED          ROSE                        CO     90015220102
8BBB5362131433   VONDINA       WASHINGTON                  MO     27547463621
8BBB5454651362   MADISON       CRUTCHER                    OH     66074944546
8BBB5712733698   BLOSSOM       PEREZ                       NC     90013087127
8BBB5728731449   JENNA         BELL                        MO     90001037287
8BBB5789485856   WALT          WEST                        CA     90010827894
8BBB58A6861928   MARY          MONTOY                      CA     46017548068
8BBB615198B163   TRENA         BAKER                       UT     90014601519
8BBB6261141262   SHAWN         SAMUEL                      PA     51092962611
8BBB6811472B29   KIMBERLY      OSBORNE                     CO     33062818114
8BBB6848497B3B   LINDSEY       DELP                        CO     90011848484
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1532 of 2350


8BBB68A9A4B22B   NICHOLAS      COMBS                       NE     90014648090
8BBB7545551362   CARL          BEHANAN                     OH     66044945455
8BBB823A55B32B   KU            WAH                         OR     90014722305
8BBB82A2461934   JULIUS        YOUNG                       CA     90007022024
8BBB835895B27B   MELODY        KEITH                       KY     90013583589
8BBB8362131433   VONDINA       WASHINGTON                  MO     27547463621
8BBB85A3176B65   MARITZA       ARELLANO                    CA     90013955031
8BBB8636872496   NICK          JACKSON                     PA     90013916368
8BBB8738251362   DAVID         RUCKER                      OH     66074157382
8BBB8A75191837   ANGELA        WILLIAMS                    OK     90000660751
8BBB9427672B44   J GUADALUPE   SANCHEZ                     CO     90015214276
8BBB976728B168   MARK          BARRUS                      UT     90009847672
8BBB991576194B   MIGUEL        BERNABE                     CA     46098289157
8BBB9A21176B97   BLANCA        CANALES                     CA     90012230211
8BBBB536177537   ARMANDO       CARDENAS                    NV     43098155361
8BBBB546A61978   RENEE         COPLEY                      CA     46069565460
8BBBB64699154B   PAT           SAENZ                       TX     90008746469
8BBBB781876B97   ROMEO         GOMES                       CA     90000827818
8BBBB812897B38   CHRIS         YOUNG                       CO     39077358128
8BBBB84655B356   MATTHEW       WALTER                      OR     44596058465
91111637697B61   JULIANNA      MURILLO                     CO     90015306376
9111195A785689   JENNIFER      STRUBLE                     NJ     90013719507
91111A6714B554   MARIE         WOOD                        OK     90013940671
911125A9672B3B   CHANNIE       HART                        CO     90009215096
911126A7181634   DAVE          DICK                        MO     90011186071
911137A3293756   DARREN        WHITE                       OH     64591837032
91114489A72B32   MARIA         HERNANDEZ                   CO     90006824890
91114666A81638   JOYCE         DAVIS                       MO     29049936660
91114981A72B62   SANDRA        DAVIS                       CO     33079049810
91115A91391521   IVAN          CASTRO                      TX     90010690913
9111651A572B42   RENEE         RAMIREZ                     CO     90004755105
91116693A4B588   TRENIA        MORTON                      OK     90008776930
9111737384B588   ZHANNA        HAMILTON                    OK     90011363738
9111763835B531   RANDY         NELSON                      NM     35058026383
9111766284127B   JENNIFER      ZEILER                      PA     90000606628
91117A38572B3B   GREGORY       KEIGHIN                     CO     90014340385
9111838372B25B   DEBBIE        OSBORNE                     DC     90008893837
91118617572B3B   CANDICE       CHILD CROOM                 CO     90014566175
9111869555B371   CANDICE       BARRAZA                     OR     90002226955
9111933125B548   ROCKY         WYNN                        NM     90011413312
9111962A372B32   ITSMELIA      PINEDA                      CO     90015306203
9111992772B27B   JAIMI         DALTON                      DC     90007909277
9111B241385689   MYRIAM        ORAMA                       NJ     90015212413
9111B37372B27B   NOEL          ULMER                       DC     81005083737
9111B473755942   JESSENIA      SOTELO                      CA     90010174737
9111B48337323B   PREPAID       CUSTOMER                    NJ     90013164833
9111B74A833698   CECIL         MCADOO                      NC     90011137408
9111B82474B554   DANYELLE      MINTER                      OK     90003668247
911211A297B444   KELVIN        CARR                        NC     11095391029
911213AAA91399   SOFIA         JONES                       MO     90011733000
911215A725B383   ROSA MARIA    TREVINO                     OR     44574495072
9112161495B34B   EDUARDO       BRAVO                       OR     44009656149
91121A9264B554   EMANUEL       KYSER                       OK     90013940926
9112299A18436B   JUAN          SANCHEZ RAMOS               SC     90014469901
91122A15791599   COLE          ETHERIDGE                   TX     90014270157
91122A73755951   ANGEL         GONZALEZ                    CA     49012960737
91122A9354B554   KEVIN         HOPKINS                     OK     90013940935
91122A9985B371   THANG         MU MUNG                     OR     90014880998
9112314345713B   ANNETTE       ABRAS                       VA     90013571434
9112328125B531   JULIO         PEREZ                       NM     90001032812
91123577972B56   YOLANDA       COSIO                       CO     33018435779
91123843A61977   DIMAS         RAMIREZ                     CA     46047308430
91124139172B32   LUZ           ROBLES                      CO     33015561391
9112432743164B   KAITLIN       MEADOWS                     KS     90009463274
9112456964B967   GLORIA        MARTINEZ                    TX     90013095696
9112467A372B42   ELEUTERIO     FABELA                      CO     33094616703
9112473892B27B   DEREK         KITTRELL                    DC     90012787389
91125364172B56   ULISES        PANTOJA                     CO     90011463641
911253A194B554   FRANCISCO     MEDINA-VALENZUELA           OK     90011283019
91125484972B62   CRISPIN       HERNANDEZ                   CO     90012414849
9112568293164B   JOHN          LAWHON                      KS     90000616829
91125846772B42   LUZ           MORENO MORALES              CO     33039658467
91125A55272B93   SCHRESE       WELLS                       CO     90010970552
91126451172B62   BRIANN        RODRIGUEZ                   CO     90007814511
91127AA2181634   DEAN          DAVIDSON                    MO     90014720021
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1533 of 2350


91128293A7B49B   GRUBER       BARTOLON                     NC     11011112930
91128412372B42   JOSE         BELTRAN                      CO     90014754123
91128822A85961   JOSE         ROJAS                        KY     90012598220
9112936115B383   FERNANDO     REYES                        OR     44566643611
91129379A91882   JOSUE        MORATAYA                     OK     90014783790
91129A93781635   MEYOKIA      SHINAULT                     MO     90010110937
9112B17818436B   VERA         BRELAND                      SC     90013331781
911316A1961977   ALEXANDER    RILEY                        CA     46047576019
911318A2561979   PERLA        MARINA                       CA     90009278025
9113218845B248   TASHA        GADDIE                       KY     90000261884
911322A4591944   MARKITA      HICKSON                      NC     90005482045
9113234247B444   KUKOR        THOMPSON                     NC     11054903424
91132988872B56   EDWARD       DISCUA CASTELLANOS           CO     90013949888
911333A7572B56   MELISSA      BERRY                        CO     33061253075
91133675872B42   RAYMUNDO     ANDRADE                      CO     90013116758
9113514214B554   MICHELLA     LILE                         OK     90015101421
9113569897B349   MAURICIO     BENITEZ                      VA     90003896989
9113629335B371   HERIBERTO    SALVADOR                     OR     44562872933
9113633A772B62   KUINILANI    FLORES                       CO     90005613307
9113641715599B   MICHELLE D   TERRY                        CA     90007144171
9113656445B383   SILVIA       VARGAS                       OR     90011305644
91136775A81634   MONIKA       SAMUELS                      MO     29086047750
9113733475B371   JAYDEN       CLIFFONRD                    OR     90011523347
9113897A92B821   HELENA       MARTINEZ                     ID     90014709709
9113966915B383   IRENE        REYES                        OR     44513866691
9113977A172B32   ISELA        MADRID                       CO     33045657701
9113988915599B   LAUREANO     RAMIREZ                      CA     90001008891
9113B19469137B   JANETTE      ANTHONY                      KS     90004891946
9113B254261977   JORGE        IBARRA                       CA     90013022542
9113B53217B483   BLAKE        STEPHENS                     NC     90015085321
9113B628455951   LILIA        MANZO                        CA     49078006284
91141256372B3B   KAREN        LONG                         CO     90013412563
91141265472B32   FRANKLIN     ROOS                         CO     90012732654
91141339A72B62   KIMBERLEY    HALL                         CO     90010313390
9114149A77B34B   ASHLEY       FOSTER                       VA     81016904907
911414AA35B383   FIDEL        BEDOLLA                      OR     90010864003
9114225713B381   JOSE         DELGADO                      CO     90006382571
91142435A4B554   CHRISTINA    WARNER                       OK     90012884350
911427A9451342   APRIL        SIMPSON                      OH     90014147094
91142A14461977   RAUL         NEGRON                       CA     90014850144
91143168A91521   YENIA        GUTIERREZ                    TX     90009851680
9114397122B27B   MONICA       JONES                        DC     90008849712
91143A49591951   MERCY        NDAMBIRI                     NC     17084220495
91144163472B32   JAMES        QUINTANA                     CO     90012871634
91144244472B62   MARISOL      VASQUEZ                      CO     90013672444
91144297A72B56   ALEJANDARA   CAMACHO                      CO     90013362970
9114575365B531   VIRGINIA     PINA-RINCON                  NM     35042957536
9114627534B588   COLEMAN      QUETAHRA                     OK     21545002753
91146782A91599   JENNIFER     CHAVIRA                      TX     90015037820
91147259572B32   ERIKA        TALAMANTEZ-GONZALEZ          CO     33086252595
91147329A72B56   HARRY        SPAULDING                    CO     90013023290
91147A72361977   ARMANDO      LANDEROS                     CA     90009850723
9114813385136B   TERESA       THOMPSON                     OH     66013141338
9114846565B371   DON          NOWELL                       OR     90014484656
91149387A91862   DAVID        LEWIS                        OK     21090773870
91149399472B42   ALEXANDRA    TOOLEY                       CO     33016753994
91149593A5B383   ISIDRO       INTERIAN POOT                OR     90003455930
9114997857B49B   ACHILLES     KILLEN                       NC     90012019785
91149A72A5B371   JOSE         GONALEZ                      OR     90011750720
9114B219477537   FELICIA      ELIZARRARAZ                  NV     90012382194
9114B53757B444   ANA          FUENTES                      NC     11049775375
9114B636455975   AMALIA       CHAVEZ                       CA     90013946364
9114B654433698   JO           LOFLIN                       NC     90015576544
9114B939561977   ANTHONY      ESTEVES                      CA     90011299395
9115157218B175   RICHARD      VANCE                        UT     31002545721
911516A6991521   CINDY        ROSALES                      TX     75072906069
91151811A72B62   MUTE         LONG                         CO     90012918110
9115185A291944   TRICIA A     BROWN                        NC     17045558502
9115258824B554   SANDRA       PEREZ                        OK     90009725882
91152A69391521   JEANNE       DIAZ                         TX     75015130693
9115422A872B56   JOSE         MENDEZ                       CO     90012772208
911543A3191599   MARISOL      PINEDA                       TX     90014623031
91155186A31661   VARIA        DUNCAN                       KS     90005921860
91155199A31431   SHAKEITHIA   MOORE                        MO     90013741990
9115546224B588   EFREN        PEREZ                        OK     90001124622
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1534 of 2350


911556A5A2B27B   ROSARIO       BONILLA                     DC     81059746050
91155A1813B335   ROBIN         ROBINSON                    CO     33075070181
9115614255B261   KENNETH       SPENTON                     KY     90006241425
9115614AA81634   LOU           VANISI                      MO     29074391400
91156A53891599   GLORIA        MITCHELL                    TX     75059580538
91156A6A993755   ALLEN         LEE                         OH     64546440609
91157223372B56   STEVEN        MORALES                     CO     90012772233
911573A7661977   DAISY         BARAIRI                     CA     90010073076
9115754975B371   FELICIA       TAYLOR                      OR     90000355497
91157835972B62   NATASHA       HARLAN                      CO     33095448359
911579AA691547   JUAN          CANO                        TX     90010319006
91158331572B56   JOSE MANUEL   DELGADO                     CO     90013963315
91158987572B32   ESPERANZA     MONTANO                     CO     33068439875
91158A31191944   ANJELICA      RICE                        NC     90011390311
9115936655B531   NICOLE        MILES                       NM     90012583665
91159683472B42   CLAUDIA       ROBLES                      CO     90013116834
91159871472B32   BERENISE      MALDONADO                   CO     33092558714
91159935A55951   KELLY         CALLENDER                   CA     49026219350
9115B121661992   PATRICIA      AGULAR                      CA     90011681216
9115B277672B2B   WILLIAM       JETT                        CO     90007552776
9115B41A291951   SHAKELIA      BAGLEY                      NC     90003334102
9115B491193755   HOPE          STRICKLAND                  OH     64553654911
9115B5A6161979   MICHELLE      BRISENO                     CA     90005285061
9115B719951342   SHAWN         FELDKAMP                    OH     66006587199
9115BAA1661977   FRANCISCO     REYES                       CA     90011560016
9116115214B554   TUMUHEREZE    TARASISSIO                  OK     90013941521
9116137738436B   TESIA         EDGERTON                    SC     90013983773
91161486172B3B   FERNANDO      TORRES                      CO     90010864861
91161A87A33698   KEVIN         MARKHAM                     NC     90011530870
91162177472B99   SHANNON       STRONG                      CO     90006001774
9116226A885689   NICOLA        ABLES                       NJ     90011532608
9116299385B548   CHERENE       HUGHES                      NM     90014759938
91162A52181634   ANDRE         ROBINSON                    MO     90001010521
91162A62472B32   SARAH         MIDDLEBROOKS                CO     90015060624
9116365A691599   CHRISTOPHER   HOLMES                      TX     90010406506
91163756972B43   ALEJANDRO     VALDEZ-DURON                CO     90003317569
91163A43A33698   ANGELA        BECKOM                      NC     12085980430
91164598A72B2B   SOPHIE        CHAVEZ                      CO     90010925980
91164787A72B32   JOSE ANGEL    FRAUSTO                     CO     90007847870
9116539155B548   RUBY          CLEVELAND                   NM     90013633915
91165675A91599   EDDIE         PENA                        TX     75002516750
911656A9691521   KARLA         GARCIA                      TX     90015086096
91165814A72B62   FERNANDO      ALEMAN                      CO     90013898140
9116586243B326   SILVIA        REYES                       CO     33095408624
91165871A91951   JONATHAN      MCKEITHAN                   NC     90013648710
9116611415B383   BRITTANY      HOLLIBAUGH                  OR     90015061141
91166392272B62   FELIPE DE     ESPARZA                     CO     33095033922
911665A3972B56   JOAQUIN       ARAMBULA                    CO     33061885039
91166A92472B3B   RICHARD       DELGADO                     CO     90001210924
9116717A272B42   ROBLERO       DIAZ                        CO     90013741702
9116777A94B588   ELENA         POWERS                      OK     90014187709
9116826A161979   AZUCENA       DAMICO                      CA     46008992601
91168294272B43   SMITH         LEE                         CO     90008392942
9116833134B554   ALICE         ROBINSON                    OK     90012703313
9116962368436B   JOSE LUIS     MARTINEZ                    SC     90014536236
9116993126B85B   SHAVONNE      MATTHEWS                    WI     90015519312
9116B18775B531   NADIA         ALJABOURI                   NM     90014701877
9116B21A191599   LUZ           ARGUELLES                   TX     90001002101
9116B353772B56   FABIOLA       VILLANUEVA BUENO            CO     33085873537
9116B354891882   ERNEST        TAYLOR                      OK     90011403548
9116B55AA91399   ADAM          FRANKLIN                    MO     90011575500
9116B643A33698   TAMEKA        DAVIS                       NC     90012846430
9116B835693767   TAMARA        DAVIS                       OH     90001688356
9116B933A5B371   MAUREEN       CHAND                       OR     90015169330
9116B9A8493756   PAYGO         IVR ACTIVATION              OH     90012279084
9116BA58A91399   STEVEN        ROACH                       KS     90015040580
9117112822B27B   ROBERT        BARBER                      VA     90009691282
9117129A672B56   FRANCIS       QUINTANA                    CO     33071502906
9117136964B588   CHRISTIE      BRADLEY                     OK     90014343696
9117149713164B   YOANNA        CASTILLO                    KS     90014274971
91172332A4B588   CHARLES       WYATT                       OK     90009723320
91172663772B42   KINNETH       GOOD                        CO     90011526637
911728A9855951   LUPE          RANGEL                      CA     49013158098
91173193A5B548   HOPE          LUCERO                      NM     90005721930
9117333134B554   ALICE         ROBINSON                    OK     90012703313
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1535 of 2350


9117347A43164B   SAMANTHA     MILLS                        KS     90005154704
911735AA572B62   ADOLFO       MAZIAZ                       CO     90005155005
91173A15555951   RAMON        DIEZ                         CA     90015120155
91173AA7672B56   ADRIANA      FRIAS                        CO     90013950076
911746A4893755   TANJA        MOSS                         OH     64580946048
9117478862B248   RUBEN        ECHEVERRIA                   DC     90009627886
9117674A191944   ROBERT       BRICKEY                      NC     90012297401
91177153A4B52B   KRISTI       COLEMAN                      OK     21512611530
91177778772B56   ROSA         MARQUEZ                      CO     90013077787
91177A88961977   MARGARITA    CARRANZA                     CA     46047300889
911781A9572B42   PAZ          ARROYO                       CO     33058881095
911792A132B27B   RAY          JOHNSON                      DC     90014422013
9117B224141296   WILLIAM      REBEL                        PA     51023102241
9117B435691882   NOEMI        DURAN                        OK     90014784356
9117B985472B3B   KEVIN        BONDS                        CO     33047209854
911815A755B548   APRIL        RHODES                       NM     35060565075
9118248685B392   STEVE        DOPP                         OR     90011384868
911825A5591882   VIVIAN       BRESHEARS                    OK     21045065055
911836A924B554   SABRINA      SHIELDS                      OK     90005376092
91183951A91882   LORA         GOLAY                        OK     90014789510
91184621A33698   GOUD         PHONETHONG                   NC     90013486210
9118559512B27B   ANN          B                            DC     90011265951
9118561A991399   MIGUEL       TRUJILLO                     KS     90011196109
9118591377B389   BLANCA       TREJO                        VA     90006519137
9118624585B531   JANET        HERNANDEZ                    NM     90013422458
9118697A685689   YASMIN       ORELLANA                     NJ     90004859706
9118719354B554   LORRAINE     HORTON                       OK     90013941935
9118722634435B   MERISOL      BELASQUES                    MD     90013932263
9118727A981679   DAVID        MARTINEZ                     KS     90009602709
9118733778436B   ASHLYN       BURCH                        SC     90013973377
91188835872B56   COMPTON      NICOLE                       CO     33089608358
91188A35372B42   LINDSAY      STEPHENSON                   CO     33025650353
91189364A41296   DENNIS       MYRICK                       PA     90015393640
911896A7561977   DANIEL       ZEPAHUA                      CA     90007476075
9118B236293755   DENNIE       CRUEA                        OH     90015232362
9118B43345B371   MISTY        WILLIAMS                     OR     44501034334
9118B485191882   KELLY        ACREE                        OK     90004914851
9118B778691521   ARELI        GAMBOA                       TX     90013897786
9118B93174B949   MARIA        GONZALEZ                     TX     90004969317
9118B951A4B522   ANGELA       LUNA                         OK     90010039510
9118BA8265B383   VALAIRE      STEELE                       OR     90010910826
9119148A37B444   LISA         THOMAS                       SC     90006824803
91191768972B3B   JERARDO      SOEDAD                       CO     90009107689
91191879A72B42   SHELLY       MARTINEZ                     CO     33051658790
911919A4385689   CLEVEROY     THOMPSON                     NJ     90012239043
9119235415B383   ALICE        CALDWELL                     OR     44597793541
91192365172B62   JULIE        KOSLOW                       CO     33024873651
9119284528B175   CLIFFORD     SHARP                        UT     90013798452
911929A313B366   JESSIE       LOPEZ                        CO     33081139031
91193135272B32   MARIA        GALLEGOS                     CO     33003991352
911936A164B588   JACKSON      PENNY                        OK     90003906016
911936A3141296   WENDY        NOTTINGHAM                   PA     90000896031
9119371667B444   LIZA         LOPEZ                        NC     90011387166
9119428A34B588   JOSE         ESQUEDA                      OK     90011902803
91194A51991951   ANNALEE      ADKINS                       NC     90014220519
9119549924B949   ESTRADO      ROCHA GERARDO                TX     76541974992
9119652AA91944   TONY         BAKER                        NC     90012745200
91196717272B3B   KRISTINA     SHEPARD                      CO     33039667172
911968A6181635   GLORIA       CASTANEDA                    MO     29034778061
9119692324B554   JUSTINE      WRIGHT                       OK     90014739232
911969A3733698   DNELLO       CUMMINGS                     NC     90014609037
91196AA934B949   TATYANA      CHAMBERS                     TX     90011030093
91197179272B3B   RONALD       LUCERO                       CO     90012951792
9119764154B554   LUZ          ZAMBRANO                     OK     90011286415
91197936372B62   BRADD        WICKERT                      CO     33077189363
91197A68385689   MARI         CRUZ                         NJ     90014700683
91198843A61977   DIMAS        RAMIREZ                      CA     46047308430
91198863872B56   IRMA         VASQUEZ SANCHEZ              CO     90002898638
91198917A72B62   JOSE         RODRIGUEZ                    CO     33091719170
9119923A44B554   EDWIN        RAMIREZ                      OK     90013942304
9119951A37B444   JERRY        WRIGHT                       NC     11077315103
9119975293164B   PATRICIA     WINTERS                      KS     90014297529
9119998544B588   JOSE         VALDES                       OK     90002119854
9119B251361979   MELINA       TEC                          CA     90000372513
9119B555891951   LOLITA       BUTLER                       NC     90007985558
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1536 of 2350


9119B591281635   ARTHUR        DANCER                      MO     90004145912
9119B7A484B588   KAYLA         RAMSEY                      OK     90014897048
9119B8A7972B3B   KEVIN         HANSON                      CO     90012898079
911B14A5151342   FELECIA R     BROWN                       OH     66041784051
911B1785791399   ANGIE         BRENNAN                     KS     90001057857
911B1874A5B371   TYLER         HAYES                       OR     90013308740
911B1A3634B261   NELLIE        THOMPSON                    NE     27009740363
911B213245B383   MAGDIELGRE    JAVIER                      OR     44508511324
911B2324193756   APRIL         COMBS                       OH     90009763241
911B2412A8B175   CASSIE        ESTRADA                     UT     90014464120
911B2589333698   WALL          LISA                        NC     90005495893
911B2768A72B56   ANA           CORDERO                     CO     33045877680
911B2999741296   MARK          GRAY                        PA     51069689997
911B3226791532   JOSE          MONTOYA                     TX     90010212267
911B3273191951   FELICIA       HOWELL                      NC     17008382731
911B33A4691882   WILLMEKA      RANDLE                      OK     90014783046
911B341983164B   KENDRA        LUCERO                      KS     90014434198
911B34A9172B42   ROBERT        LARA                        CO     90008364091
911B4575491521   VICTOR        CASAS                       TX     75053265754
911B4617385689   ALBERTO       RAMIREZ                     NJ     90014086173
911B4678993756   CHRISTOPHER   BENTON                      OH     90010146789
911B46A412B26B   LAMONT        BILES                       DC     90007246041
911B544235B383   NICOLE        HILL                        OR     44521904423
911B5594991944   DARLENA       HOOD-WRIGHT                 NC     17046225949
911B5617572B3B   CANDICE       CHILD CROOM                 CO     90014566175
911B5818A72B56   MOTU          MANUEL                      CO     33065648180
911B58A6233698   JORGE         GARCIA                      NC     12082818062
911B5A24A4B554   BOBBY         TREASTER                    OK     90013940240
911B611A181634   KATHERINA     ROLLER                      MO     29029241101
911B613448B175   HAKEEM        KHAN                        UT     90012751344
911B6317791882   SHAWN         HOSEY                       OK     90014783177
911B63A953164B   WM.GLENN      KIRKENDOLL                  KS     22093563095
911B649484B949   APRIL         LADAY                       TX     90015054948
911B6579291521   MARK          MARTINEZ                    TX     90013635792
911B6A24A4B554   BOBBY         TREASTER                    OK     90013940240
911B786885B548   THOMAS        NEWELL                      NM     90011498688
911B7932481634   ROBERTO       MENDEZ                      MO     90012819324
911B813A27B444   DRAYTONYA     ASHFORD                     SC     90001291302
911B8145672B62   MENDEN        GATES                       CO     90007651456
911B8265451342   MARYSHA       WASHINGTON                  OH     90010542654
911B8331391882   DANIEL        HARGER                      OK     90014783313
911B871585B548   VALERIE       MARTINEZ                    NM     35008047158
911B8953381634   OLLIE         OUTLEY                      MO     29044049533
911B91A2851342   DAVID         MULLIS                      OH     90011181028
911B9439821929   CASSADRA      CORNETT                     IN     90015374398
911B9489A91944   MARIBEL       MENDOZA                     NC     90006644890
911B9716972B56   ADAM          EKSTEDT                     CO     90011757169
911B9814672B62   CHARIFA       WIMBUSH                     CO     90013258146
911B9862991951   CELESTE       SMITH                       NC     90012408629
911BB21143164B   ISAIAH        SMITH                       KS     90014522114
911BB22A24B554   MONICA        COLLIVER                    OK     90011282202
911BB264785689   ALEJANDRA     OSORIO                      NJ     90014662647
911BB346591521   SANDRA        VASQUEZ                     TX     75006703465
911BB724291327   NOHELY        FERNANDEZ                   KS     90011837242
911BB953191399   JOSE          RODRIGUEZ                   KS     29001029531
911BBA7517B444   LIONAL        CALDWELL                    NC     90012320751
91211294A4B554   SSERUWU       JOHN THE BAPTIST            OK     90013942940
9121143842B27B   SERGIO        PEREZ                       DC     90000784384
9121152A891882   MONTOYA       HUNTZINGER                  OK     90014775208
9121287188436B   TAMEKA        EDWARDS                     SC     90012318718
91212A2A65B548   JOANNA        CONJURSKE                   NM     90002180206
91213165372B3B   EXAIM         RAMOS                       CO     90007901653
91213189572B43   DEBBIE        DURAN                       CO     90006801895
9121359395B371   IGOR          GOLUB                       OR     90011305939
91213613A2B27B   ENRIQUE       BARRERA                     DC     90010536130
9121367516196B   JAMIE         WILSON                      CA     90008416751
9121426A881635   EARLY         CHRISTOPHER                 MO     29076942608
9121453695B383   MASSIEL       GARCIA                      OR     90007905369
9121461252B27B   TIERRA        SIMMONS                     DC     90011266125
91214697A61977   MICHAEL       NIETO                       AR     90010066970
9121479645B548   JANET         KAZIMI                      NM     90014727964
91215116572B62   JENNALYN      TEW                         CO     33012441165
91215432572B42   SANDRA        LUCERO                      CO     33017244325
912158A618436B   THOMAS        BROOKS JR.                  SC     19046028061
91215A8474B554   MARGUERTITE   POLLOCK                     OK     90012400847
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1537 of 2350


91215A94785689   JACINTO         GARCIA                    NJ     90014700947
912161A8772B62   VICTOR          BALADEZ                   CO     33077621087
9121677A32B981   ELIZABETH       ARROYO                    CA     90007127703
912169A315B548   RAYMOND         VALENZUELA                NM     90006889031
9121739658B175   JAMES           CHITTICK                  UT     90010263965
912176A7991951   SHENNA          MCLEAN                    NC     90007586079
91218198672B43   MARIA           CALDERON                  CO     90006801986
91218771A91524   TERESA          MUNOZ                     TX     75036487710
9121897A393767   IAN             SCOTT                     OH     90007579703
9121928395B383   DAN             MCNATT                    OR     90012822839
9121946955B371   JESSICA         MARIA GARCIA              OR     90012614695
9121952555B383   TAMMY           JONES                     OR     90014525255
9121B366791599   MARIA AURORA    MATA                      TX     90014623667
9121B518485689   GWENDOLYN       SINGLETARY                NJ     90013265184
9121B59794B588   ANGELA          CLARK                     OK     90009735979
9121B986721929   JENNIFER        GLYMPH                    IN     90015419867
9121BA9534B949   MARIA           CEVALLOS                  TX     90010840953
91221442572B32   GENIFER         MONAHON                   CO     90012274425
912215A2372B42   JUAN            RAMOS                     CO     90009805023
91221623172B56   HUGO            ESQUEDA                   CO     90004386231
91221A7915B371   LAWRENCE        CURTIS                    OR     90014850791
9122218A64B554   ANGELIA         GREER                     OK     90012481806
91222355372B56   SHABINA         CHAND                     CO     33087383553
91222922972B32   ADELA           SANCHEZ                   CO     33018259229
9122295147B444   SOKCHAMROEURM   WILKINS                   NC     90013339514
9122337254B554   JOSEPH          WOODY                     OK     90014883725
91224944A8436B   JARED           BARNHILL                  SC     90013579440
91225345A4B554   PHILIP          FREEMAN                   OK     90001933450
91225A83321929   LYNN            SMITH                     IN     90015570833
912263A2791399   STARR           RODRIGUEZ                 KS     29001993027
912264A9A93756   MIKE            ROWE                      OH     90013934090
9122768365B531   NICOLE          TRUJILLO                  NM     90014346836
91228A59785689   ANDRES          MARTINEZ                  NJ     90014460597
91228AA9281634   ADRIENNE        PICKENS                   MO     90011420092
91228AAA65B531   ISMAEL          BENCOMO                   NM     90013310006
91229257A51342   NOAH            JONES                     OH     90014152570
9122928675B367   CHARLOTTE       JOHNSON                   OR     90010242867
912292A6691944   FRANCINE        TILLERY                   NC     17008202066
91229418A91599   FRANCISCA       MARTINEZ                  TX     75098524180
91229A43561924   RICARDO         MENDOZA                   CA     90009420435
9122B289261977   PATRICK         PARKER                    CA     90011432892
9122B389793755   ROBIN           COATNEY                   OH     64522463897
9122B58135B548   LAYLA           SANCHEZ                   NM     90007345813
9122B67923164B   VANESSA         LYN                       KS     90011186792
9122B78968436B   RENE            SAUNDERS                  SC     90006897896
91231294372B56   AARON           GARCIA                    CO     33085772943
9123131984B554   VANESSA         NICHOLSON                 OK     90014813198
9123217324B554   MELISSA         CLEVELAND                 OK     90013841732
91232473472B32   DONELL          DORVAL                    CO     90013044734
91232A41A72B56   TINA            VALDEZ                    CO     90013950410
9123333855B531   CAROL           BENCOMO                   NM     90009293385
9123353494B588   JOSEPH          RANSBURG                  OK     90012595349
91234111972B62   STEPHEN         SANDOVAL                  CO     90005551119
9123459945B383   CAHLENA         OPOIEN                    OR     90014105994
9123469538436B   QUONCENTINA     MURRAY                    SC     90005436953
912347A5272B42   FRANCISCO       TORRES                    CO     90013117052
91234A7515B548   TANYA           SEDILLO                   NM     90010770751
9123577722B27B   KHADIJA         RAHMOUNE                  DC     90012457772
912357A9291521   ADAM            MARTINEZ                  TX     90013737092
91236135A5B383   ROBERT          LATTA                     OR     90000301350
91236465372B3B   MALISA          BACA-MILTON               CO     90012154653
9123758857B444   ALEJANDRA       ARAGON                    NC     11049235885
9123827458436B   NAKITIA         GADSDEN                   SC     90013342745
9123847745B19B   PAYGO           IVR ACTIVATION            AR     90011634774
9123863A855951   AARON           CLARK                     CA     90013956308
91238A46591944   LAURA           UNDERHILL                 NC     90014880465
9123B296685689   JOEL            JIMENEZ                   NJ     90014042966
9123B39285B548   AVERY           PATCIGO                   NM     90007513928
9123B69664B554   RACHEL          OSENTOWSKI                OK     21560166966
9124157894B554   JUAN            RIVAS                     OK     90015015789
912417A7372B42   GERALDINE       VALDEZ                    CO     90013117073
9124237758B175   GOSE            ARRIAZA                   UT     90012333775
9124265814B949   ASHLEY          BEAVER                    TX     90013416581
912426A164B949   ASHLEY          BEAVER                    TX     76583066016
91242A3755B548   ANGELA          ZAFFER                    NM     35005080375
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1538 of 2350


91243261972B56   ISIDRO C     VILLALBA                     CO     90001942619
91243475A6B85B   SETH         SMITH                        WI     90015554750
9124349587B349   JOSE         MENJIVAR                     VA     81040654958
9124375782B981   JEROME       DAVIS                        CA     45005167578
91244146172B56   ERIKA        ACOSTA                       CO     90012791461
9124458172B27B   JAMES        HUBBARD                      DC     90003045817
9124472428436B   CURTIS       JAMISON                      SC     19022887242
91244958A8B175   JESSICA      SCOTT                        UT     90007069580
91244A53191944   JEFF         COBB                         NC     90015330531
91244A67341296   STEVEN       HINDMAN                      PA     51026100673
91245775772B56   MICHEL       KABEYA MPOYI                 CO     33096157757
9124579274B588   BRANDY       SWAIN                        OK     90014197927
9124583744B949   JESSICA      DUMAS                        TX     90009928374
91245852972B62   ERENDIRA     VARGAS                       CO     33088378529
9124613A54B588   GEORGE       DAY                          OK     90014461305
9124617315B548   STEPHANIE    RODRIGUEZ                    NM     90012671731
9124627835B371   HEATHER      HERNANDEZ                    OR     90011752783
912462A3385689   JUSTINA      VARGAS                       NJ     90015032033
9124647835B371   TIFFANY      DEWEESE                      OR     44571584783
9124656A591882   BILLY        HARJO                        OK     90014785605
912466AA336142   CHANDRA      JOHNSON                      TX     90013436003
9124712772B27B   JANEL        PATTERSON                    DC     90012751277
9124753285B531   CARLOS       BERMUDEZ                     NM     90007895328
91247792A41296   JASON        LOFSTROM                     PA     90013927920
91247A3252B27B   BARRY        COBBS                        DC     90013930325
91247A61151342   COREY        LYNCH                        OH     66065220611
91248447A72B62   MARCUS       BRYANT                       CO     90014694470
9124856A591882   BILLY        HARJO                        OK     90014785605
91248662A91521   ANGEL        ARZATE                       TX     75051116620
9124975385B371   SHAUNA       HAYS                         OR     90015237538
9124B28964B588   ALEJANDRA    RIO                          OK     90009802896
9124B519691521   JASMINE      ENRIQUEZ                     TX     90012585196
9124B934172B56   WILLIAM      BARNES                       CO     33054759341
91251117272B32   STACY        LITTLE                       CO     90012271172
91251228A7B444   SINDY        GUCEDA                       NC     90012962280
912514A1A72B42   WILLIAM      BAKER                        CO     90002164010
91251618872B56   JUAN         RAMOS                        CO     90011866188
9125187722B27B   RONALD       DELEON                       DC     81069858772
91251A21561977   SILVIA       SILVA                        CA     90011700215
91251A41872B32   BRUCE        WILSON                       CO     90006440418
9125229327B444   SHANTERIA    REID                         NC     90009842932
91252436121B44   JEREMY       STEWARD                      CO     90012994361
91252A33A4B554   YANI         MENDOZA                      OK     90011290330
9125369233164B   DARYL        JAMES                        KS     90009216923
91254399A72B42   HUGO         RUIZ                         CO     90012353990
9125444616B85B   ANTONIO      LOPEZ-MATA                   WI     90015474461
9125473954B588   SANDI        TAYLOR                       OK     21567417395
9125483355B531   DEANNA       GUERITO                      NM     35073858335
91254A96991882   MAGDALENO    HERNANDEZ                    OK     21044950969
912551A4891951   CARLOS       MENDOZA                      NC     17096691048
9125562638436B   WENDELL      RAY                          SC     90015086263
9125587A461977   PORSCHE      COMACHO                      CA     90009308704
91255A3252B27B   BARRY        COBBS                        DC     90013930325
91257454472B42   JOSEPH       JOSEPH                       CO     90015304544
9125755978436B   TAVONA       WILSON                       SC     90012965597
91257614A51342   BRENDA       FELIX                        OH     90014866140
9125781757B444   PATRICIA     HERRERA                      NC     90012558175
912578A3691944   SEBRINA      NORMAN                       NC     90014788036
91257A3252B27B   BARRY        COBBS                        DC     90013930325
91257AA2791521   YESENIA      LILLIS                       TX     90012260027
9125819665B548   WELKY        THEODORE                     NM     35006201966
912584A1A8436B   RAY          WALKER                       SC     90014814010
912584A644B554   ALBERTO      VELASCO                      OK     90013944064
9125941A772B62   JOHN         CUTHBERTSON                  CO     90010744107
9125957A491882   CORNEQUA     FINCH                        OK     90014785704
91259867A3164B   DEBORAH      PARKER                       KS     90011738670
9125B113572B43   ELOY         ROMERO                       CO     90011201135
9125B15A35B383   AHMED        ABDI                         OR     90007341503
9125B36724B554   ARMANDO      GARCIA                       OK     90013943672
9125B52AA55951   LASHAWN      TONEY                        CA     49010725200
9125B635693755   LATAMARA     MALONEY                      OH     90009586356
9125B746293755   CHAMARIE     COOTS                        OH     90013847462
912611A4491944   TIM          BENNETT                      NC     17006271044
9126137A361979   IMELDA       PUNCE                        CA     90007473703
912614A8893769   RANAY        BACSTER                      OH     90009454088
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1539 of 2350


91261528A3164B   RUBIRE        NUNEZ                       KS     22008605280
91261835272B42   ANE           THAMMATHI                   CO     33006658352
912622A343B335   DOUGLAS       GRAY                        CO     90010062034
9126241465B371   MELLISSA      HEREFORD                    OR     90012324146
912624A654B554   ELEXIS        HARRIS                      OK     90013944065
9126284452B27B   PAULA         WOOD                        DC     90012918445
91262974772B56   CAROL         ERVIN                       CO     90014309747
912629A939B185   CHRISTOPHER   STANTON                     AR     90014679093
91262A85A72B3B   JOHN          JENSEN                      CO     90012020850
91263637572B32   GUADALUPE     RIVAS                       CO     90011496375
91263A18185689   MARIA         ROMERO                      NJ     90011910181
912645A9885689   CAROLINA      CRUZ                        NJ     90013645098
9126481657B444   TONNA         EDWARDS                     NC     11039918165
9126491A161977   CAROLINE      RAMOS                       CA     90003959101
91264A19672B42   JAMES         MOSSMAN                     CO     90014590196
9126526582B27B   LAURENDIA     YOUNG                       DC     90014702658
91265897972B3B   WENDY         GARRETT                     CO     33074208979
912662A2791599   SHAWN         BRIGGS                      TX     90010852027
91266335672B42   RAMONA        COOPER                      CO     33088463356
9126646172B981   JENELL        OREN                        CA     45040984617
9126669AA7B49B   FRANCISCO     VILORIO                     NC     11063846900
9126671283164B   AQEEL         KEELING                     KS     90014807128
912674A5691521   ADRIANA       JASSO                       TX     90011464056
9126766855B345   CARRIE        DURIG                       OR     90005146685
9126775965B548   SAMUEL        VALENCIA                    NM     90014907596
91268494872B42   TRENNA        HARROD                      CO     33068804948
912691A5472B56   SANDRA        YAMILETH                    CO     33051381054
9126951275B548   JOSHUA        GARCIA                      NM     90015105127
9126956968436B   JOHN          PRITCHARD                   SC     90014875696
91269A8784B554   SIERRA        MARTIN                      OK     90011290878
9126B595691882   DEMARELL      SPEED                       OK     90014785956
9126B644491521   CASAS         JUAN                        TX     75064206444
9127114893164B   SARAH         COPE                        KS     22039011489
9127187A436148   SHMEKA        GAGE                        TX     90001848704
9127194A177537   TASLIMA       SHAMS                       NV     90012839401
91271A8784B554   SIERRA        MARTIN                      OK     90011290878
91272571A81635   JOSHUA        PENDLETON                   MO     90014925710
912727A758B131   JOSE          RUELAS                      UT     90006357075
9127287A436148   SHMEKA        GAGE                        TX     90001848704
91272A33A2B27B   TILA          WILLIAMS                    DC     90012790330
91272A9844B554   JAMIE         WALLEN                      OK     90011290984
91273418A55951   RAMONA        RANGEL                      CA     90014574180
9127362125B548   EVA           HERRERA                     NM     35073056212
9127369135B548   EVA           HERRERA                     NM     90014466913
91274374772B56   GEORGE        GARCIA                      CO     90011063747
91274657A5B531   DAN           TENORIO                     NM     90002526570
9127478765B383   ANTONIO       CORONA                      OR     90006177876
91274A36761977   SUSANA        ORNELAS                     CA     46066940367
9127562A472B62   EDITH         OGBONNA                     CO     33044086204
9127581954B261   SARAH         STEWART                     NE     27014338195
91275A88833698   ORETTA        MCNEILL                     NC     12056600888
9127689554B588   ABEL          FUENTES                     OK     90002088955
91276941972B42   KENNETH       ABEYTA                      CO     33056809419
9127758A172B42   JONATHAN      JOHNSON                     CO     90014775801
912775A8251342   JOSHUAQ       EVANS                       OH     90008545082
91278331572B43   SAMUEL        MARTIN                      CO     90006803315
9127846288B175   JACOYA        CLARKE                      UT     90014464628
9127881A391951   MARCUS        ANDERSON                    NC     90014788103
91278A1385B531   MELINDA L     MONTOYA                     NM     90006290138
91278A5928B181   HEAMONI       TAHI                        UT     31030080592
9127941964B554   BRYAN         ROBINSON                    OK     90013944196
912795A4291521   BARBRA        MUNOZ                       TX     90014405042
9127986574B949   LYDIA         MILLER                      TX     90010308657
91279A1A322937   MARINO        DIAZ                        GA     90013980103
91279A34785689   CINDY         VICKERS                     NJ     90013820347
91279A8522B27B   CHIDI         NWOSU                       DC     81012060852
9127B43875B149   KEANU         WADE                        AR     90011074387
9127B58435B548   SHARON        HERNANDEZ                   NM     90014875843
9127B781341296   BREA          SAUNDERS                    PA     90013907813
9127B93AA4B554   JOSE          ZUNIGA`                     OK     21513829300
9127BA1715B371   OSCAR         HERNANDEZ                   OR     90013090171
9127BA4734B949   AMANDA        SIMON                       TX     76536170473
9127BA56872B3B   GUADALUPE     BARRON                      CO     33002280568
9128116654B554   MAYRA         GONZALERZ                   OK     90013851665
91282364372B3B   JBEA          LUNDY                       CO     33083613643
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1540 of 2350


9128248A57B444   MARGARET     BAXTER                       NC     90011574805
9128249435B531   JOSEFA       LEGARDA                      NM     35054494943
9128265763B366   BRUCE        HIRSHFIELD                   CO     90002026576
91282A51672B56   THOMAS       GIGOT                        CO     90013950516
91282A6A42B27B   TAFOUNYA     BORN                         DC     90013930604
9128327324B554   ANTWANAE     CRAWFORD                     OK     90013972732
91283A68885689   ASHLEY       FELICIANO                    NJ     85074130688
9128415246B85B   CHAD         CONWAY                       WI     90015551524
9128453173B929   TERRY        MUYA                         IL     90015445317
9128465A291882   LAVELL       JOHNSON                      OK     90014786502
91285777272B42   GARY         RODRIGUEZ                    CO     90013077772
9128577964B949   LEONARD      SCYPION                      TX     90013817796
9128596667B49B   MARIA        VASQUEZ                      NC     90005949666
91285A84291599   EDUARDO      NIETO                        TX     90001520842
9128616594B588   SHAMEKA      HARRIS                       OK     90011121659
91286838172B3B   MANUEL       ADAME                        CO     33086058381
91287345772B56   GABRIELA     ALVARADO                     CO     90013233457
9128741682B27B   OCTAVIA      GRAHAM                       DC     90013674168
9128756317248B   TOMMY        TOMASIAK                     PA     51094575631
9128845712B27B   STACEY       BRADLEY                      DC     90013464571
9128881268B343   BRITTANY     CORBITT                      SC     90015348126
91288A41455951   DELIA        RODRIQUEZ                    CA     90009960414
91288A5495B383   JARED        KOSKELA                      OR     90015010549
91289297A91399   CLAUDIA      RODRIGUEZ                    KS     90013562970
9128B45A981634   PATRICK      ANGELO                       KS     90014674509
9128B528A93755   SETH         MADISON                      OH     90013045280
9128B6A3555951   LLALYY       RODRIGUEZ URZUA ROBLES       CA     90004736035
9128B854985689   MOSTAFA      ELSHERIF                     NJ     85012218549
9129115775B383   JOVITA       TAMAY                        OR     90013801577
9129123958436B   MARLANE      GRANT                        SC     90014712395
9129156635B54B   MONICA       WHITMORE                     NM     90014485663
912922A544B554   CHRISTIAN    ARCHER                       OK     90011292054
912926A855B383   JACK         ETIER                        OR     90011056085
9129323548436B   VANESSA      BRADHAMS                     SC     90013042354
91293282372B62   MAYRA        DIAZ                         CO     90014822823
9129331754B949   CRISPIN      VRIBE                        TX     76502333175
912934A2572B42   CARRIE ANN   NINA                         CO     90013614025
912934A5691599   SARA         AUKLAND                      TX     90010264056
91293514872B32   STEVE        SMITH                        CO     33016975148
91294399224B42   JUAN         LAZARTE ARIAS                VA     81066233992
91294819A81634   JESUS        LIMAS                        KS     90010458190
91294821A8B181   STACY        ROBERTS                      UT     31096208210
9129484788B175   SHARRON      SANTANA                      UT     90012938478
9129534124B588   CHRISTOPER   ALLSBROOK                    OK     90010343412
91295663A33B32   JENNETTE     BLAND                        OH     90015056630
9129587585B261   SHERESA      PULCE                        KY     90012428758
9129624965B531   NICOLE       VALDEZ HERNANDEZ             NM     90013922496
91296618872B56   JUAN         RAMOS                        CO     90011866188
9129718498B181   TERESA       DICKINSON                    UT     31004141849
9129743912B235   LATASHA      PRICE                        DC     90007854391
9129751215B371   KERI         BLOMDAHL                     OR     90014485121
9129756454B588   LAKEISHA     ERVIN                        OK     90006215645
91297716A77537   ROBERT       STOKES                       NV     43039237160
912982A7355951   ANISHA       KAUR                         CA     90012772073
912983A2A72B32   TENORIO      FRANCISCO                    CO     33042303020
912995A5A93748   ASHLEY       FREELING                     OH     90001815050
91299A4A981635   CHIRA        SMITH                        MO     90003560409
912B11A697B444   GEORGE       FOUST                        NC     90013261069
912B1223A3B326   SANDRA L     TAULBEE                      CO     90007712230
912B1381193755   LATOYA       MOORE                        OH     64591213811
912B1796A2B27B   MONEE        MILLER                       DC     90013997960
912B1958A81634   ERIC         MCCUBBIN                     MO     90014609580
912B2144591521   YOLANDA      TRISTAN                      TX     75040701445
912B226884B554   JEANNINE     CANNON                       OK     90005642688
912B249435B548   LUPE         REYES                        NM     90012784943
912B2652881635   TRISTAN      LANE                         MO     90010126528
912B296298B175   FINAU        HEATHER MAREE                UT     90006549629
912B2A19372B56   JORGE        GUTIERREZ                    CO     90013950193
912B2A45177537   SHAUNTAH     HARSHAW                      NV     90000660451
912B317A672B43   DILLON       RITCHEY                      CO     90006801706
912B386564B588   EULA         DEFENDINI                    OK     90012718656
912B4217791882   PAULA        GRADNEY                      OK     21001782177
912B448655B371   VANESSA      MULLIGAN                     OR     90005914865
912B475385B371   SHAUNA       HAYS                         OR     90015237538
912B4827872B62   REYANN       MARTINEZ                     CO     33097728278
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1541 of 2350


912B4925272B62   KERIANNE        PADILLA                   CO     90008419252
912B4926941296   DONNA           BUSH                      PA     51079349269
912B497885B383   DANIEL          COOK                      OR     90009279788
912B511A251342   DEANGELA        BENEFIELD                 OH     90011181102
912B533A24B55B   DARYL           GATES                     OK     90001453302
912B5721881635   PERRY           LEWIS                     MO     90013937218
912B575465B548   PAULA           MONTOYA                   NM     90012287546
912B633A24B55B   DARYL           GATES                     OK     90001453302
912B6346372B62   JACOB-RANDALL   MAYHEW                    CO     90010953463
912B6646593755   JAMIE           BUSSARD                   OH     90011116465
912B6891191599   MARTHA          RAMOS                     TX     90004708911
912B7282172B62   ISRAEL          DAVID                     CO     90014822821
912B72A5793756   SHARON          MAAS                      OH     90012262057
912B815AA2B27B   ELINA           FERRER                    DC     90009691500
912B8194685689   JEFF            JOST                      NJ     90014561946
912B8488757137   MARTA           VALLADARES                VA     81063224887
912B8758A72B3B   TANYA           DURAN                     CO     33042397580
912B931A86B954   PATRICK         MCFADDEN                  NJ     90014793108
912B9659361977   GLORIA          ESPINOZA                  CA     90014826593
912B9A56681638   MICHAEL         CORNELIOUS                MO     29058990566
912BB498772B32   JENNIFER        WHITEMAN                  CO     90004174987
912BB77882B27B   DAVON           FOSTER                    DC     90015287788
912BB891172B56   JOSE            TRELO-ESCANDON            CO     90011748911
9131137934B554   THANG           NO                        OK     90015143793
9131146A572B42   JEFFREY         REYNOLDS                  CO     90011874605
913117A8591399   CECILIA         MARTINEZ                  KS     90014887085
9131194125B531   ERICA           MANFRE                    NM     90005379412
913123A8A5B371   VICTORIA        TORRES                    OR     44532163080
9131248774B554   ESMERALDA       PILLADO                   OK     90013944877
91312757A98B22   ANGEL           RIERA                     NC     90001377570
91312A84833698   DELILAH         SPEARS                    NC     90012300848
9131313A672B3B   ELIZABETH       KENNEDY                   CO     33056331306
9131353A28436B   TERRANCE        WILLIAMS                  SC     19051965302
9131372895B531   MELISSA         GUTIERREZ                 NM     35059747289
91313757672B3B   KATHRYN         HENDERSON                 CO     90014697576
91313A91291521   RICARDO         ALONSO                    TX     75002710912
9131426638B181   HEATHER         FLATER                    UT     31035572663
9131492582B981   MAICHOU         XIONG                     CA     90002949258
9131542A361977   JOHN            NEMEC                     CA     90014904203
9131579622B27B   TYRAE           JANIFER                   DC     90014327962
9131616344B588   LEXUS           TAYLOR                    OK     90001821634
913167A4991944   KIA             BURNETTE                  NC     90002087049
9131696969184B   DONIELLE        EDWARDS                   OK     90010869696
913169A365137B   MARTIN          SOLIS                     OH     66069449036
91316A4A55B371   JAQUELINNE      WILLIS                    OR     90000610405
91316A93472B56   MELISSA         LOPEZ                     CO     90013950934
9131717826B85B   ANDRES          SANCHEZ                   WI     90015421782
9131724145B531   RICK            VAPARIS                   NM     90013982414
913174A824B554   JOSE MANUEL     LOPEZ                     OK     90014844082
913179A7172B56   TIANA           YOUNG                     CO     90001909071
91318349172B3B   RAYMOND         BARGAS                    CO     33047663491
91318A75991951   MARTA           SALAZAR                   NC     90011810759
91318A98493756   ALYSSA          SEARLS                    OH     90009500984
91319364572B62   DUNCAN          LUKE                      CO     90013083645
9131963465B531   SHANNON         RODRIGUEZ                 NM     90001556346
913198A2993756   TIFFANY         TOMPSON                   OH     90008708029
91319992872B56   JESUS           SANCHEZ                   CO     90011749928
91319AA5141296   ROBERT          LLOYD                     PA     90012600051
9131B51A791521   GLORIA          BLANCO                    TX     90012355107
9131B521772B56   SANDRA          RIVAS                     CO     90007675217
9131B628655951   GLORIA          SILVA                     CA     90013956286
9131B742A61977   OSCAR           JIMENEZ                   CA     90014677420
9132128A431655   ASHLEY          CONLEY                    KS     90007592804
91321418672B43   TONYA           LANDRY                    CO     90006804186
913216A1385689   ARTEMIO         MORALES                   NJ     90011546013
91321932372B3B   TASHIANA        C ROBINSON                CO     33013819323
9132226A14B588   WAYNE           LO                        OK     90007632601
913226A2191951   VERONICA        FLOWERS                   NC     17023966021
9132273885B383   TAMMY           LOOMIS                    OR     90014727388
91322A48472B32   BRENDA          BAGGETT                   CO     33064910484
91323587772B56   YUTAKA          MAGEE                     CO     90005345877
91323A55455951   FRANSICO        MUNOZ                     CA     90012640554
9132423A972B56   CHANNEL         CORDILLO                  CO     90012772309
9132493928B149   AMANDA          R WOODS                   UT     90010779392
9132544743B39B   ADRIAN          REDDING                   CO     90007604474
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1542 of 2350


9132557745B531   LETICIA      RUIZ                         NM     90014635774
9132559324B554   PAUL         ROJAS FLORES                 OK     90008465932
9132574215B531   LETICIA      RUIZ                         NM     90010187421
91325931972B56   CLINTON      BIGGS                        CO     90012859319
91325A2A491882   BARBARA      OBERLENDER                   OK     90014790204
91325A7753164B   DEZEMBER     BALL                         KS     90013990775
91325AA3891944   CAROL        BENTON                       NC     90013020038
913268A694B554   VELVET       KUONE                        OK     90013968069
91327A9A72B27B   MARIA        MORELAND                     DC     81021480907
913284AA35B371   SHANNON      HENRY                        OR     90013084003
91329234872B56   PALOMA       MEDINA                       CO     90012772348
91329A33A85689   MARIANO      DAVILA                       NJ     90015230330
9132B148A3B342   SANDRA       GARZA                        CO     90014791480
9132B775991882   MARK         PALZER                       OK     90007837759
9132B83554B949   BARBARA      LEWIS                        TX     76587558355
9132B851591599   MIRELES      BOBBIE                       TX     75014408515
9132BA28A72B32   THOMAS       BODUCH                       CO     33089830280
9133163345B383   KYLE         STOKER                       OR     90013386334
91331A95655951   RAYMOND      CRUZ                         CA     90012990956
9133246224B588   EFREN        PEREZ                        OK     90001124622
91332A9358436B   RHIMON       SNIPE                        SC     90015130935
91333968472B56   BLANCA       ESCOTO                       CO     33042169684
91333A9A261977   RODOLFO      ESQUER JR                    CA     90015130902
9133447268B181   SIMONA       CHAVEZ                       UT     31066104726
9133484544B554   STAR         STEPHENS                     OK     90001768454
913348AA18436B   COURTNEY     RIVERS                       SC     19061598001
91335286A8B175   SIIVA        TUIA                         UT     31006932860
9133561685B371   ALICIA       HOLT                         OR     90011756168
913358A4791521   ROCIO        RODRIGUEZ                    TX     90004538047
913358A9581648   LARRY        ONWILER                      MO     90014618095
9133593865B367   CHRISTINE    ALLAN                        OR     90010789386
91335A93472B56   EVELIN       ROMERO                       CO     90014860934
91336177872B42   LISA         MONTOYA                      CO     33085351778
913361AA577537   KEITH        MIMS                         NV     90013961005
91336A61191882   ALICIA ANN   JOHNSON                      OK     90005990611
91336A83372B56   FERNANDO     PRIETO                       CO     90013950833
9133711887B444   KIERRA       GLEATON                      NC     90013111188
91337598A61977   OSCAR        PEDRAZA                      CA     46020475980
9133856AA91944   MARCO        SALGADO ORTIZ                NC     90001195600
9133871272B27B   WILLIAM      ANDERSON                     DC     81017227127
9133878835B531   HEATHER      BACA-LEE                     NM     35000027883
913389A795B548   SHANNON      MCGOWAN                      NM     90014329079
9133951A581634   EDWARD       WALLACE                      MO     90000475105
9133956995B565   MAGALI       MERAZ-MOLINAR                NM     35013045699
91339A79591882   VANESSA      SHOULDERBLADE                OK     90008590795
91339A8535B371   SHAWNA       SWANSON                      OR     90012430853
9133B16928B175   ANE          FIEFIA                       UT     90013881692
9133B42318B175   ECHO         AUSTIN                       UT     90010794231
9133B589672B42   BILLY        GOOCH                        CO     90007095896
9133B69434B554   TAMARA       PRIETO                       OK     90012426943
9133B71AA51342   TIFFANY      SMITH                        KY     66071557100
9134298AA4B554   CHENAYE      MITCHELL                     OK     90013909800
91342A25693756   ALBERT       SWOARTZ                      OH     90015340256
9134364125B548   ALMA         RAMOS-RODRIGUEZ              NM     90012306412
9134378A672B42   CHICA        SEXY                         CO     33052557806
91344331A81634   MICKI        HAMMONS                      MO     90015083310
9134467A493769   CASEY        MCCURRY                      OH     64563896704
91344A6A585689   AROLDO       PEREZ                        NJ     90014570605
91345219972B3B   CHARLOTTE    MARTINEZ                     CO     90013062199
9134545A872B3B   SARA         SALAZAR                      CO     33082434508
913455A397B444   ANTONIO      CRUZ                         NC     90006405039
91345623872B42   CAMILLE      LEWIS                        CO     33046896238
913456A9291944   ROMILO       JAVIER                       NC     90010036092
91345A7A491327   SERGIO       VALENZUELA                   KS     90002770704
9134677614B554   JUANITA      THOMPSON                     OK     21510327761
91346A1755B371   BASIL        RATHBONE                     OR     90011880175
91346A91372B62   NICOLE       BAUMAN                       CO     90012510913
9134767562B27B   LAKIERA      SPICER                       DC     90012536756
9134794334B554   ANDRIA       COLLINS                      OK     90013339433
913487A9172B42   ONETTA       FORTE                        CO     90010817091
9134918A755951   JOSE         SANCHEZ LUNA                 CA     90013381807
91349682A91599   REYNA        ESCOBEDO                     TX     75030986820
9134973615B548   YOUNG        SWAGGA                       NM     90012167361
9134B266993755   CASEY        SULLIVAN                     OH     90015212669
9134B537157125   HEATHER      ROBISON                      VA     90004385371
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1543 of 2350


9134B555791882   EDITH        PEREZ                        OK     21059355557
9134B68215B371   APRIL        BRACKETT                     OR     44582036821
9134B789281635   CHRIS        PERRILLI                     MO     90013097892
9134BA83372B56   FERNANDO     PRIETO                       CO     90013950833
91351179A91944   JUSTIN       MOREY                        NC     90015531790
9135127928436B   SELENE       HERRERA                      SC     90012732792
9135134A15B548   ERIKA        DIAZ                         NM     90002323401
91351436A93756   DANNY        DRAKE                        OH     64523324360
91351A5A691882   SHANNON      MOORE                        OK     90010100506
913521A9472B56   EMELIA       CHAVEZ                       CO     33063981094
913528A2391599   ARMANDO      TORRES                       TX     90001028023
9135355584B588   MEGAN        RODGERS                      OK     90011315558
9135379373164B   ZAKORY       WEINLEY                      KS     90013797937
91353836972B42   ROBERT       SEYMOUR                      CO     90008228369
9135452968B175   CRUZ         ALVARADO                     UT     90013285296
913548A1131436   VERONICA     JONES                        MO     90003418011
91354941A7B444   LISA         CAUTHEN                      NC     11074139410
91354A85972B56   DEVON        PATTERSON                    CO     90013950859
9135521335B548   MELANIE      RIVERA                       NM     35026822133
9135539384B554   STEPHEN      ANDERSON                     OK     90011293938
91355631A72B42   GUS          MARTINEZ                     CO     90005316310
9135597798B175   MICHAEL      HIRTZEL                      UT     90014229779
913562A714B949   WYSHEKA      LOMAX                        TX     76570072071
9135695A891951   DEMOND       SMITH                        NC     90013979508
9135698A455951   DELGADO      LUIS ALFREDO                 CA     49096329804
91357271A55951   YVONNE L     MARTINEZ                     CA     90007872710
913578A954B554   TAN YA       YI                           OK     90013968095
91358A85951342   JAMES        ELKIN                        OH     90001970859
9135916413164B   ENRIQUE      MARTINEZ                     KS     22029641641
91359185A91327   SHEELA       MARLER                       KS     90007381850
913592AA893756   EDWARD       NUNLEY                       OH     64500502008
9135932634B588   MIRANDA      NATION                       OK     90005273263
91359A5395B371   MEBRAHTU     KIDANE                       OR     90009650539
91359A97251342   STEPHANIE    GARRISON                     OH     90012390972
91359A98185689   MARIELA      LOPEZ                        NJ     90012960981
9135B55744B588   SALVADOR     BOLANDIOS                    OK     90010925574
9135B671972B62   CLAUDIA      ESTRADA                      CO     90015166719
9135B888972B56   CARL         ADAMS                        CO     90014698889
9135B98378B194   NANCY        SPENCER                      UT     90014059837
9135BA9AA72B62   KIMBERLY     GALLEGOS                     CO     90013120900
9136128517B444   ERNESTO      RODRIGUEZ                    NC     90007812851
9136157417B481   LATOYA       BYRD                         NC     90010665741
91361821872B3B   BETTINA      JEAN CLOYD                   CO     90010888218
91363187A91882   MELOODY      BOECKMAN                     OK     90001541870
91363553972B42   JEREMY       LEE                          CO     90013325539
913639AA477537   NEWLAND      NICOLE                       NV     90001029004
9136414885B548   CELINA       MARTINEZ                     NM     35093051488
9136462624B554   DARYLE       BRZEZINSKI                   OK     90013946262
91364883272B42   STEVEN       BENNET                       CO     90012228832
91365111872B62   LYDIA        BALERIO                      CO     33023931118
913651A2A7B444   JOHN         MCGILL                       NC     90014931020
9136529A955951   TARA         BRESHEARS                    CA     90007872909
9136534434B588   WILSON       CORADO                       OK     90010343443
91365557A5B383   BRENDA       UDO                          OR     90007945570
9136642A593756   TIFFANY      CARRUBBA                     OH     90012894205
9136689815B548   MERCEDEZ     SWANSINGER                   NM     90012458981
91366A96A3164B   CLAUDIA      WISSAR                       KS     22085850960
91367528472B32   GUILLERMO    ACEVEDO                      CO     33008355284
91367766A41296   MARY         DIXON                        PA     90012377660
9136791A94B554   KIELA        HOWARD                       OK     90004709109
9136818554B554   STHEPHANIE   CARLILE                      OK     21588531855
9136838135B383   TREVON       OLIVER                       OR     90009763813
9136866374B554   STEFANY      CARLILE                      OK     90013706637
9136871AA91521   ELIZABETH    IZQUIERDO                    TX     90011247100
91368954A4B588   ELISA        RAMIREZ                      OK     21565979540
91368A9AA72B62   KIMBERLY     GALLEGOS                     CO     90013120900
9136923A54B588   ADAM         HUTCHINSON                   OK     21505062305
91369427572B56   ADRIAN       SOLARES                      CO     33091824275
913694A8A3164B   SUEMY        MENDOZA                      KS     22047354080
9136963254B554   TOMMIE       WHITE                        OK     90013946325
91369919872B42   MEGHAN       THATCH                       CO     90011749198
9136B274A8436B   APRIL        SAXBY                        SC     90013272740
9136B283441296   ROXANNE      KNIGHT                       PA     51093172834
9136B339172B32   DAISY        ROJAS                        CO     90013243391
9136B371572B62   PHYLLIS      HAHN-HINES                   CO     33095483715
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1544 of 2350


9136B446881635   IRMA         ALVAREZ                      MO     29051534468
9136B736933698   BRANDIE      SPIVEY                       NC     90014487369
9136BA42993756   DAVID        COPELAND                     OH     90004230429
9137111887B444   KIERRA       GLEATON                      NC     90013111188
9137189165B371   ASHLEY       WELCH                        OR     90014688916
9137198767B444   HENRY        MUNOZ                        NC     90015219876
9137244224B554   SANDRA       ASKEW                        OK     90011294422
9137261A157563   JOSE         TRUJILLO                     NM     90006966101
9137264155B383   MARIA        MACEO                        OR     90014726415
9137282A95B548   CESAR        ORTIZ                        NM     90001138209
9137444354B554   TAMMARA      LUCERO                       OK     90011294435
91374686472B62   ADRIANA      PEREZ - SOSA                 CO     90013986864
9137472A572B42   TAYLOR       TONI                         CO     90008847205
91374785A81635   CAROLINA     DUNCAN                       MO     90014087850
91374953572B32   RANGEL       FRANCISCO                    CO     90009579535
91375149572B56   NAOMI        ORTEGON                      CO     90002771495
91375242272B32   JAYSON       BARKER                       CO     90001082422
91375368A72B3B   MINERVA      BARRIOS                      CO     90004833680
9137539635B548   RAUL         MEDINA                       NM     90013233963
91375613472B62   SHEILA       BAKER                        CO     90011176134
9137565A34B554   NOE          SANCHEZ                      OK     90013946503
91375A3558B175   TANIELA      VAKE                         UT     90012080355
91375A4A393756   JOSH         PARSONS                      OH     90009450403
91375AA6177537   MARIAH       CHESS                        NV     90003430061
9137658A391944   JOY          LUCAS                        NC     90008545803
91376696472B42   ROBERT       MARTIN                       CO     33091906964
9137712192B27B   ROBERTO      PARADES                      VA     90008991219
9137745415B548   BRAULIO      HERNANDEZ                    NM     90014694541
9137793315B371   ALBERT       YUAN                         OR     44591259331
91378137172B42   JOSE         HERNADEZ                     CO     33041751371
9137832835B383   REBECCA      WRIGHT                       OR     90010543283
91378462A5B548   MARTHA       MARTINEZ                     NM     90012064620
913784A5655951   YENG         HER                          CA     49083864056
91378A83291944   MARIE        SORBER                       NC     90008400832
9137949A761977   JUSTYNA      GANO                         CA     90012854907
913794A2491599   ALEJANDRO    MARTINEZ                     TX     90015124024
9137971894B588   RACHELLE     BRISON                       OK     90012797189
91379796572B56   TYRONE       CLARK                        CO     90009487965
9137986672B254   DELONTA      BERKLEY                      DC     90008238667
9137992735B383   BRYANA       NAMBA                        OR     90006619273
91379975A72B43   EDUARDO      CALVO                        CO     90012759750
9137B16A685689   JASIEL       FLORES                       NJ     90014421606
9137B238133B59   KENNETH      HEWITT                       OH     90014262381
9137B499472B43   JESSICA      MACIAS                       CO     90006804994
9137B63634B554   ALEX         REYES                        OK     90013946363
9137B759391599   CLARA        BRAND                        TX     90011357593
9138131664B588   LYDIA        LUCAS                        OK     90015343166
9138137A693755   JOYCE        FORD                         OH     64522023706
9138153758436B   SABRINA      GREEN                        SC     90014705375
91382A5AA91521   JESSE        SALAS                        TX     90013720500
91384841A8436B   WILLIAM      GASTON                       SC     90008968410
91384A79785834   VALERIE      WILSON                       CA     46005750797
9138578485B383   PATRICIA     INGRAM                       OR     90013457848
91385A42641296   SHAYNE       PAUL                         PA     51011410426
9138654278436B   TAMEKA       GREEN                        SC     90009015427
9138938989374B   CHERYL       ESTEP                        OH     90007803898
9138952625B229   DARNELL      CONNOR                       KY     68055185262
91389A25373261   ELONARDO     MARIN                        NJ     90015020253
9138B239593755   TAMALA       BROWN                        OH     90012492395
9138B28A391944   SHABRINA     STREETER                     NC     90012432803
9138B593872B32   JAVIER       GUTIERREZ                    CO     33043375938
9138B825733698   ALYSSA       WALLACE                      NC     90005958257
913914A5477537   ERIC         LEWIS                        NV     90015024054
91391A67A4B588   TAMRIA       LAVIOLETTE                   OK     90007340670
9139224A372B56   EILENE       VELEZ                        CO     90012772403
9139241A291944   AUREU        DOMINGUEZ                    NC     90004974102
9139249A761977   JUSTYNA      GANO                         CA     90012854907
9139315A491882   WENDY        DOOLEY                       OK     90014791504
9139333165B548   CRYSTAL      JANNET OTERO                 NM     35062973316
91393472472B32   GEORGINA     SANDOVAL                     CO     90011384724
9139368278B175   ALMODENA     MARTINEZ                     UT     31052616827
913941A7193769   SANDRA       MCCLURE                      OH     90009061071
91394A2367B444   CRYSTAL      JOHNSON                      NC     90011920236
9139519392B824   KENRICK      LEHMAN                       ID     90010391939
9139532A991944   AARON        HERBERT                      NC     90014933209
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1545 of 2350


91395332872B42   DARIEN        DONELSON                    CO     90013123328
91395343A72B56   DONALD        WILKINS                     CO     33096733430
9139558A772B42   ALICIA        SENA                        CO     90014775807
9139573364B554   DOMINGA       GRAMAJO                     OK     90013947336
9139624423164B   MICHELLE      SMITH                       KS     22067542442
9139625A55B383   AARON         SPENCER                     OR     90013642505
91396753A85689   JOEL          CASTRO                      NJ     85007547530
9139757625B531   MELANIE       GURULE                      NM     35006325762
9139864A45B548   DELAYNE       NEZ                         NM     35002566404
91398A26241296   ASHANTE       WILLIAMS                    PA     90011050262
9139B34932B27B   YOLANDA       MARSHALL                    DC     90011863493
9139B416A91951   MICHAELA      HELMS                       NC     90009014160
9139B525372B43   MARIBEL       BANUELOS GONZALEZ           CO     90006805253
9139B756381634   DENIS         MANCIA                      MO     29087627563
913B114A83164B   PETE          ROBERTS                     KS     22006641408
913B1327491599   ROCIO         FLORES                      TX     90012243274
913B145424B554   ROBERTO       CAMACHO                     OK     90013944542
913B145645B531   VICTOR        BARAY                       NM     35063484564
913B16A388436B   CHARLMAINE    THOMPSON                    SC     90013326038
913B18A4791521   ROCIO         RODRIGUEZ                   TX     90004538047
913B1A46561977   JOSE          AHUMADA                     CA     90011300465
913B2453593756   RAY           BUSH                        OH     90002644535
913B256817B49B   ARETHA        DUNLAP                      NC     90014225681
913B2641991951   CHRISTOPHER   TURNER                      NC     90013226419
913B2758177537   MARIA         LAZARO                      NV     43055667581
913B2763393769   AMANDA        RATCLIFF                    OH     90008597633
913B3553693755   ASHLEY        JAYNES                      OH     90013025536
913B3A8188436B   MICHAEL       EVANS                       SC     90015120818
913B3A9493164B   MAYKAYLA      BOWEN                       KS     90008390949
913B4111981635   ALISHA        LOGAN                       MO     90009251119
913B4161794B85   DEBBIE        HAMPTON                     TX     90015431617
913B478488B175   ASHLEY        BELL                        UT     31089607848
913B4836377521   MARTHA        CISNEROS                    NV     90007698363
913B5126891944   JEWEL         EVANS                       NC     90014881268
913B5199291399   MARCELA       RODRIGUEZ                   KS     90014681992
913B5221191951   DARNELL       BOONE                       NC     90012102211
913B565125B548   JOSLYN        CASIAS                      NM     35071616512
913B5749791399   MARCELAA      RODRIGUEZ                   KS     90003057497
913B5786A72B62   MARIBEL       AVILA                       CO     90013777860
913B65A144B554   EMILIO        DELEON                      OK     90013945014
913B688515B383   AMANDA        RIVERA                      OR     90012518851
913B7553A91399   SUSAN         MULIDIRE                    KS     90000535530
913B76AA191599   CARLOS        CASTRO                      TX     75077326001
913B781A791944   JOSE          GARCIA                      NC     90013088107
913B7966691882   AMBERLY       ROGERS                      OK     21005499666
913B7A17991521   SERGIO        SALCIDO                     TX     75040970179
913B8156A7B481   SABRINA       HARRIS                      NC     90007411560
913B8374185689   CYNTHIA       COVERDALE                   NJ     90012483741
913B865A841296   JAMES         MAHONEY                     PA     51015816508
913B8834261977   KEYAUNA       STOCKER                     CA     90014578342
913B8854891399   LORA          PAEZ                        KS     29093218548
913B9179591944   DANIELLE      COOPER                      NC     90015441795
913B91A965B371   DANIEL        COLON                       OR     90014881096
913B9427261977   ANTWINE       HINSON                      CA     90012954272
913B9492172B42   DAVID         KARASEK                     CO     90013044921
913B98AAA72B32   CHERYLYNNE    GOZALES                     CO     90007858000
913BB238872B62   HANNAH        BAKER                       CO     90012962388
913BB682493755   TIFFANY       NEWTON                      OH     90008786824
913BB6A9751342   SYLVIA        RILEY                       OH     90012526097
913BB865672B3B   MELISSA       JOSS                        CO     90009818656
9141161715B371   FRANCISCO     PEREZ                       OR     44504816171
9141193A377537   RENE          RAMIREZ LOPEZ               NV     90012869303
91413248272B56   ARACELY       CORTEZ                      CO     90000252482
9141327A15B531   VERONICA      SERRANO                     NM     35072932701
914133A7461977   RAMIRO        BANNER                      CA     90013023074
914139A3891951   ANITA         FOUST                       NC     17094799038
91413A43261979   NESSA         ABENY                       CA     90008190432
9141417A661927   IVAN          ALCALA                      CA     90012491706
9141431418B175   SHELLEY       YOUNG                       UT     90013873141
9141445944B588   TANIA         SANCHEZ                     OK     90001054594
91414A2A48436B   EUTIKA        BALLS                       SC     19066080204
91415253A7B444   ALEX          FLORES                      NC     90003852530
9141563672B836   CHEYENNE      WATSON                      ID     90001496367
9141583194B588   ZENITRA       KINCHION                    OK     90005568319
91415A96972B56   SAUL          HERRERA                     CO     90013950969
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1546 of 2350


91415A98272B32   DANELLE          CHAVEZ                   CO     33052620982
9141624784B588   ALICIA           SMITH                    OK     21514702478
914165A6681635   JAIME            PORTILLO                 MO     29004945066
9141662354B554   STEPHANIE        GUZMAN                   OK     90011296235
9141666922B355   LUIS             BRAVO                    CT     90014116692
9141731583164B   ROBERT           LOPEZ                    KS     22085643158
91417999572B32   ELIZABETH        CASTANEDA                CO     33030739995
914179A9661977   GINGER           ARMIENTA                 CA     90008689096
91417A58981634   ANTHONY          BROWN                    MO     90001400589
91418447A3B361   DAVID            STEPHEN                  CO     33026844470
91418A41155951   PAMELA           FORSHEE                  CA     90010880411
91418AA7291951   PHILLIP          TUCKER                   NC     90012930072
9141B395293756   DUANE            DITTY                    OH     90003693952
9141B86655B531   RUBEN            CORRERAMARTINEZ          NM     90012628665
91421272172B87   HEATHER          WATSON                   CO     33043692721
914212A5591944   CANDACE          RODRIGUEZ                NC     90014622055
91421693A72B56   RICARDO          CHAPARRO                 CO     90014686930
9142186574B554   HECTOR           QUIROGA                  OK     90013948657
91421AA4891521   PERLA            ENCISO                   TX     90015210048
914221A3833698   BUDDY            BENNETT                  NC     90012101038
9142286624B554   TREVOR           MCKINSEY                 OK     90013948662
914229A678B175   JENNIFER         HAUNTS                   UT     90009769067
9142335265B371   RICHARD          NORLIN                   OR     90013033526
9142363528B175   MADISON          DURRANT                  UT     31042726352
9142375972B245   LATISHA          GOLDSMITH                DC     90005797597
914237A8372B62   JACLYN SUZANNE   MCMILLAN                 CO     90007977083
914238A9141296   MELANIE          PRATLEY                  PA     90005278091
91423964372B3B   AMY              HAUPTMAN                 CO     33096579643
91423A63172B56   NANCY            CONTRERAS                CO     33069700631
9142424894B588   VONDA            MULLIN                   OK     90011892489
91424326A4B949   PRESTON          WILLIAMS                 TX     90008073260
91424627A72B3B   SERGIO           GARCIA                   CO     33046106270
91424684A93755   CHANPELL         MORGAN                   OH     90013386840
91424A93681634   ISAK             CARILLO                  KS     90010010936
9142521A55B531   SUGAR            MARIE                    NM     90012232105
9142572AA31462   SHANTAY          SYKES                    MO     90005977200
91425A93555951   ASHLEY           VERA                     CA     49064470935
9142676A88B175   ANTONIO          BARAJAS                  UT     90010917608
9142684A14B588   AMORIM           ESTELAMAR                OK     90010258401
9142688947B436   MAICA            BALTAZAR                 NC     90011748894
91427211472B56   DIANA            LEDESMA                  CO     90008012114
91427716A51342   BROOKE           HOUSE                    OH     90013057160
9142824763164B   STEPHANIE        MOGOLIS                  KS     90006312476
914286A652B981   CREYSON          BUCKMAN                  CA     90014086065
9142967464B554   LUV              NEDIL                    OK     90011296746
9142B19A784325   LUCAS            SILVA                    SC     90007111907
9142B61538436B   BREANNA          FULLER                   SC     90013876153
9142B87835B371   BRIAN            CORBIT                   OR     90014198783
9142B955972B32   DION             DAVIS                    CO     90013529559
91431737572B32   HECTOR           RUIZ-TORRES              CO     90013387375
91432355472B42   WORYSZ           JASON                    CO     90007173554
91433235A91882   OSMANI           MULET                    OK     90014792350
9143393535B548   ANTONIO          MEDINA                   NM     90012279353
91433A62785689   TROOP            SEGERS                   NJ     90010110627
91434A42A2B248   TAKESH           WILKINS                  DC     90001460420
91434A7934B554   NIAMALIKA        GLOVER                   OK     90002750793
914351A4A77537   JMI              LUZAMA                   NV     43055691040
9143566653B335   JERRY            WINTERS                  CO     90012426665
91435A1174B554   CARLOS           ESCALANTE                OK     21526540117
91435A81351342   TINA             WILLIAMS                 OH     66009640813
9143618428B181   ROSALEE          CORBETT                  UT     31004881842
9143668485B548   SHIRLEE          BACA                     NM     35005586848
9143717885B548   JORGE            IBARRA                   NM     35033921788
91437634872B56   KEAGAN           FRISK                    CO     90009606348
91437668A55951   HUGO             REYES                    CA     90013956680
91437832A41296   DENISE           ABRAMOVITZ               PA     51011748320
9143789917B444   NORMA            MORALES                  NC     90015328991
914379A3441296   JACK             MALONE                   PA     90014369034
914379A8181634   MARIO            GARCIA                   MO     90012939081
91438162772B56   ERIKA            OVERHAUSER               CO     90011751627
9143834767B24B   MARK             ROLDAN                   CO     90010523476
914386A8351342   CHRISTINA        SHARP                    OH     90006996083
9143893915B565   EDUARDO          NERI                     NM     90008809391
914389A5733698   MARAYA           DEAN                     NC     90010129057
91438A54472B62   ELI ADRIAN       GUERRERO                 CO     90002760544
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1547 of 2350


9143934395B371   TIFFANY      PIROVVI                      OR     90011763439
91439489872B42   MICHAEL      ANAYA                        CO     90003774898
9143B71274B949   BEVERLY      ANDERSON                     TX     76591917127
9143B886A4B554   MARK         JOHNSON                      OK     90013948860
9144159625B531   NUBIA        VILLARREAL                   NM     90011505962
914415A5372B42   FRANK        ORTEGA                       CO     33076165053
914415A7881638   TASHENA      CHASE                        MO     90009335078
91441A89A72B56   DARREN       GONZALEZ                     CO     90002640890
91442115A91599   LUIS         URANGA                       TX     90013341150
9144263962B27B   KENNETH      THORNTON                     DC     90014916396
9144264A591521   FAITH        RODRIGUEZ                    TX     75086886405
9144265A961977   JAHMILAH     ROSS                         CA     90010396509
914429A5333698   PON          SCOTT                        NC     90010879053
9144324558B848   MICHAEL      HAO                          HI     90015382455
91443252A81638   DONNA        MCCARTY                      KS     90008412520
9144325685B531   RUBEN        GURULE                       NM     35076322568
9144398795B383   ISABEL       MENA                         OR     90001449879
9144496562B27B   JACQUELINE   WILLIAMS                     DC     81065209656
91444A61191951   KANISHA      LANGSTON                     NC     90000400611
91445136A2B27B   OLLIE        FULMORE                      DC     90013931360
9144542525B531   JAMIE        MONSKI                       NM     90012124252
91445628372B42   ALEX         MACKZUM                      CO     90013136283
914456A8472B43   RYAN         WILSON                       CO     90006806084
9144584297B444   DERISHA      BALDWIN                      NC     90010538429
91445A65A5B371   TODD         LUTTRELL                     OR     44586970650
91446122A91882   CARL         BURRIDGE                     OK     90011741220
914464A9172B3B   MAURA        MCGARY                       CO     90012434091
91446911A4B588   LAKEITHA     COATNEY                      OK     21510109110
91447231672B3B   GILBERT      CROKER                       CO     33086162316
9144757934B554   JOHN         BIRCH                        OK     90013515793
9144788768B175   CHELSEY      HENDRICKSON                  UT     90014778876
9144862A191951   SHANTORI     SIMPSON                      NC     90015606201
91448AA3691599   CRISTIAN     RODRIGUEZ                    TX     75012050036
914496A264B949   SHALETHA     ANDERSON                     TX     90001636026
91449923972B32   COLE         COLBY                        CO     90015069239
9144B135472B56   PAUL         ARCHULETA                    CO     90011751354
9144B144291399   FABIAN       JUAREZ                       MO     90005171442
9144B188972B42   TERRANCE     KING                         CO     90011531889
9144B743255975   ALICIA       HERNANDEZ                    CA     90013427432
9145113A581635   MICHELLE     MILLER                       MO     29010581305
9145134373164B   SILVIA       BANUELOS                     KS     90013653437
9145158195B548   JAMES        ADAMS                        NM     35074395819
9145212462B27B   MIKE         COX                          DC     90015291246
914521A9272B56   KEITH        THOMAS                       CO     90013951092
9145291842B981   CYNTHIA      CORTEZ                       CA     45033469184
9145335852B981   KO           LEE                          CA     90011783585
9145369A891521   ARTURO       TORRES                       TX     75008356908
91453A54433698   TIFFANY      WALL                         NC     90013740544
91454385A81635   RICHARD      REED                         MO     90001513850
9145477564B554   CATINA       BRAY                         OK     90012017756
9145496415B531   JUSTIN       THOMPSON                     NM     90010229641
91455463372B32   FRANCISCO    TAPIA                        CO     33083324633
91455533572B62   FOREST       FORCEMEN                     CO     90013395335
9145559394B588   TONYA        SMITH                        OK     90011315939
91456421872B62   COFFEE       KELLY                        CO     90004984218
914564A754B949   YESENIA      GONZALES                     TX     90010934075
9145652365B371   SANTO        LOPEZ                        OR     90006845236
91456664772B56   LARRY        FERNANDEZ                    CO     90012606647
91457632872B32   PAMELA       BALLARD                      CO     90013946328
91457795A2B27B   DORIS        GALLOWAY                     DC     90014597950
9145786688436B   DANA         KNOX                         SC     90012128668
91457A2327B632   GREG         WILSON                       GA     90009660232
91458399672B42   FATIMA       GARCIA ROBLES                CO     33060203996
9145863425B548   DENICE       GODINEZ                      NM     90015276342
91458668A55951   HUGO         REYES                        CA     90013956680
91458726372B32   JENNIFER     SARKA                        CO     90011327263
9145877874B554   WILLIAM      BRAVER                       OK     90014077787
91459375672B56   ANGELICA     GONZALES                     CO     90014903756
91459A71A72B56   MICHAEL      NOLAND                       CO     90010730710
9145B127272B42   VANNESSA     GUITERREZ                    CO     33066741272
9145B744472B62   MANUEL       ROBLES                       CO     33058177444
9145B917272B56   STEVE        NELSON                       CO     90013169172
9145B983351334   HOZAY        CLOROS                       OH     90008099833
9146139975B548   KAYLENE      JOJOLA                       NM     90015593997
91461627672B56   ARTURO       BORQUEZ                      CO     33079156276
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1548 of 2350


9146167AA81635   ALFONZO       JOHNSON                     MO     90015046700
9146188A98436B   TYRIE         RIVERS                      SC     90011128809
914618A2991951   EUGENIO       LOPEZ                       NC     90002178029
9146197214B588   RICHARD       GOMEZ                       OK     90010789721
91461A58691944   KYRA          BEATTY                      NC     90013550586
914626A477B444   SIDNEECE      NORWOOD                     NC     11033256047
91462955A4B554   JULIE         MAY                         OK     90013949550
91463565372B62   LUCERO        DAWN                        CO     33089445653
91463841972B42   FRANCISCO     CAZARES                     CO     90014498419
9146414624B581   MARCUS        SATTARELLA                  OK     21543141462
91464531972B3B   JESUS         SUAREZ                      CO     90007325319
91464A34685689   DIANA         BURDEN                      NJ     90013910346
91464A4275B548   VICTOR        ARREY                       NM     35058100427
9146572814B949   MIRIAN        LONGORIA                    TX     90008087281
9146588134B554   BRITTANY      PRATER                      OK     90014728813
91466114672B56   JUAN CARLOS   RODRIGUEZ                   CO     90013951146
9146619A57B444   KEYONNA       CARTER                      NC     90003341905
91466287272B62   ARMANDO       EQUIHUA                     CO     90013932872
9146638855B548   KOREY         ROBLES                      NM     90013083885
91467639172B32   MARK          PRENTISS                    CO     90010206391
9146793A391951   BERNETA       LEMON                       NC     90003079303
91467992A5B383   BYANCA        TAMAURA                     OR     90014599920
91468338A72B3B   JUAN          REYNOSA ORTIZ               CO     90012073380
91468983672B43   CARLOS        PEREZ                       CO     33079709836
91468A4418436B   CAMILLE       DELESLINE                   SC     90011570441
9146926694B949   AMY           CAMBELL                     TX     76544522669
9146971965B531   DANIELLE      VELAZQUEZ                   NM     90013857196
91469977A5B151   DOROTHY       THOMPSON                    AR     23090939770
9146B554A91399   CLAY          PITTMAN                     KS     29071515540
9146B648551342   MIKE          BARRETT                     OH     66069296485
9146B7A2981634   WILLARD       YOUNG                       MO     90008937029
914711A1185689   ANGEL         COLON                       NJ     90003121011
9147179A772B3B   PERLA         SANCHEZ                     CO     90004687907
9147183674B949   TAKELA        JACKSON                     TX     90010938367
9147189455B54B   DOMINIC       VIGIL                       NM     90014028945
9147224A991599   MARTA         HERNANDEZ                   TX     75082082409
914725A655B531   STEPHANIE     VALENCIA                    NM     90014135065
9147284744B554   NIHELA        BRAZILLE                    OK     90011298474
9147318867B49B   MARIA         OLIN                        NC     90011791886
91473499672B56   JOHN          ESPINOZA                    CO     90008944996
9147373755B371   MELVIN        MONAHAN                     OR     90013297375
91473863A91882   SYLVIA        LOSANO                      OK     21015428630
91473923A93755   ASHLEY        PERRY                       OH     90007359230
9147398A981638   JEREMY        BOLEN                       MO     90000259809
91474135A85689   ANGELICA      MERCADO                     NJ     90011161350
91474279672B42   STACEY        DURAN                       CO     90010592796
9147428545B383   TAWSHA        TIMBERMAN                   OR     44554262854
9147453577B49B   CYNTHIA       SPRINGSTEEN                 NC     90005975357
91475562172B56   HERNANDEZ     GERARDO                     CO     90010065621
91475657972B42   DOMINICK      MARTINEZ                    CO     90012146579
9147741A681635   JONNAE        JOHNSON                     MO     90005764106
91477634672B62   JEROMIE       FIANERY                     CO     33014746346
914776A614B588   TJ            CAMPBELL                    OK     21532186061
91477A27672B56   HERBERT       BROWN                       CO     33033720276
9147825178B175   JARED         SWENSEN                     UT     90013852517
91478399257B3B   NICOLE        GREMS                       PA     90015533992
91478573272B56   JESUS         IHONOS                      CO     33031135732
914793A838436B   MARIONETTE    WILLIAMS                    SC     90002953083
914794A7372B32   CLAUDIA       CARMONA                     CO     33042444073
91479713A7B444   ANGELES       HERNANDEZ                   NC     90013247130
9147B139472B62   JOHN          HOUGE                       CO     33082681394
9147B67453164B   CHABON        WILSON                      KS     90006856745
9147B83734B554   SHAKARIA      LOGAN                       OK     90011298373
9147BA23A2B981   ELIJAH        PODIELSKI                   CA     90011790230
91481794A55951   PAULA         ALVARADO                    CA     90008607940
914826A1A7B444   CHRISTOPHE    CALLAHAN                    NC     11097176010
91482889572B62   JONATHAN      UTRERA                      CO     90014158895
91482949872B42   JOSIE         CHACON                      CO     90013689498
9148343292B266   MIGUEL        JOVEL                       DC     90007124329
9148388A14B554   BRITTANY      LITTLE                      OK     90011298801
9148423422B27B   EUGENE        SIMMONS                     DC     90013212342
91484455A72B32   YULANDA       CROSS                       CO     33053334550
9148448A177537   KAMREN        DELMARCO                    NV     90012054801
91485317472B42   FRANCISCO     RAMIREZ - CASTILLO          CO     90013613174
914858A2381634   LOIS          JONES                       MO     29078448023
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1549 of 2350


91485A32733B51   CHANCE       SANTANA                      OH     90014030327
91485A5775B383   KATHLEEN     DUGGER                       OR     90015240577
9148632125B531   FRANCES      SISNEROS                     NM     90003653212
9148637413B381   SONIA        HERRERA                      CO     90006133741
9148748724B949   MICAH        BROUSSARD                    TX     90013074872
914876A7572B32   LUIS         RAMERIZ                      CO     90000646075
9148775572B27B   LATARSHA     PROCTOR                      DC     90014267557
9148845A981634   PATRICK      ANGELO                       KS     90014674509
91488561272B56   RACHELLE     MORALES                      CO     90014265612
91488A44391944   SHATAYA      CONLEY                       NC     90012070443
91489626A61977   ALAN         CALDERAS                     CA     90013346260
91489A32741296   GARRETT      WOLFF                        PA     51060480327
91489AA3372B32   SOTERO       SANCHEZ                      CO     33045380033
9148B119772B56   ANTONIO      JOHNSON                      CO     90013951197
9148B21215B371   KRISTINA     FULLIVAN                     OR     90001852121
9148B44238B175   LESLIE       LUJAN                        UT     90010934423
9148B98A981638   JEREMY       BOLEN                        MO     90000259809
9149127A34B554   STEFON       EVANS                        OK     90014802703
91491293672B42   DAVID        DANGREMOND                   CO     90010592936
91491854572B56   JUAN         ALCAYA-MONTERO               CO     90015208545
914929A5733698   MARAYA       DEAN                         NC     90010129057
91492A23477537   RICARDO      SOTO                         NV     43016180234
91493753872B31   MONTREAL     FRIESON                      CO     90009137538
9149416617B49B   ULISES       GUTIERREZ                    NC     11097811661
9149433AA5B548   ZYUN         PALMERO                      NM     35043943300
9149443473B381   ANDREA       LAWLESS                      CO     90002874347
91494671376B87   PABLO        BESSERA                      CA     90014186713
9149491175B531   KINVERLIN    DELACRUZ                     NM     90010129117
91495417A81634   TERRELL      HILL                         MO     90013774170
91495542372B62   MONIQUE      KELLER                       CO     90013055423
91496A5794B588   SAMANTHA     HITCHINS                     OK     90011200579
9149713A791944   KELLY        BROADHURST                   NC     90001881307
91497158872B32   MATTHEW      TRIPP                        CO     90013171588
9149759557B444   LUIZ         MOREIRO                      NC     90012085955
9149774455B383   CHRIS        BOTTLER                      OR     44508607445
914986A7491579   MIGUEL       RIVERA                       TX     90001816074
91498A4944B554   SAMMIE       WAGNER                       OK     90013950494
9149915552B27B   HASSAN       MALIK                        DC     90008621555
91499328A5B371   DEBBIE       TABBAH                       OR     90006663280
91499452372B3B   DANTE        EDWARDS                      CO     90012014523
9149978655B151   ROBERT       MORTON                       AR     23086827865
91499A27461977   DAVIS        WALTERS                      CA     90010770274
91499A58691599   SANDY        LEE GARZA                    TX     90013100586
9149B256361558   CHRIS        LAWYER                       TN     90015612563
9149B554691944   WILLY        JACQUES                      NC     17058145546
9149B717881634   DON          WAINWRIGHT                   MO     90001487178
914B1193A85689   LINDA        DAWSON                       NJ     90013351930
914B11A242B981   AMY          BUFFER                       CA     45093481024
914B1333572B42   EDUARDO      PATINO-PEREZ                 CO     90013123335
914B1511972B32   PAULA        LOVATO                       CO     90014805119
914B1747585977   PATTY        RIDDELL                      KY     90006397475
914B185875B383   ROSE         LASU                         OR     90015448587
914B197815B383   RICHARD      TOLLIVER                     OR     44547979781
914B237695B548   ELIO         VILLALOBOS                   NM     35016793769
914B23A9472B33   ANGELA R     WATKINS                      CO     90014163094
914B2488461977   ISMAEL       MEZA                         CA     90003164884
914B3144955935   CESAR        PENA                         CA     90005711449
914B3235172B42   JEFFREY      HANALEI                      CO     33068822351
914B3472A91327   ROGER        STROUT                       KS     90003684720
914B355A34B554   JOSEPH       MCCLURE                      OK     90011295503
914B373742B27B   CIERRA       JOHNSON                      DC     90014777374
914B411A791521   CHRISTINE    MASSSO                       TX     90011321107
914B487254B949   LEYANNE      PEREZ                        TX     90011148725
914B5757691882   MORGAN       MAYFIELD                     OK     90009777576
914B576895B371   ROBERT       WHITESEL                     OR     90014607689
914B577364B554   CESARIO      SALAS                        OK     90013947736
914B5875393755   CHAD         MASON                        OH     90013518753
914B6325293755   SAMSON       BAKER                        OH     64556663252
914B6336672B56   DAVID        SALAZAR                      CO     90013963366
914B6347651342   JOSE         CASTILLO                     OH     90010433476
914B63A955B383   ISRAEL       CORTES                       OR     90013963095
914B6612885689   JOSE         SANTOS                       NJ     90013336128
914B692768B175   DOUGLAS      BINGHAM                      UT     31005079276
914B744388436B   SHOLANDA     MAXWELL                      SC     90012444438
914B7534461977   JOSE         JUVENAL                      CA     90013985344
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1550 of 2350


914B8429555951   GILBERT      ARTIAGA                      CA     90013574295
914B9918572B56   HORACIO      RAMIREZ                      CO     33044059185
914B9946561977   JOHN         ROSAS                        CA     90015109465
914B9A64672B42   HOA          NGUYEN                       CO     90009520646
914BB281193755   DONALD       BOONE                        OH     90014752811
914BB37725B383   JANETT       TURNER                       OR     90010563772
914BB74378436B   CHAD         RAINEY                       SC     90013147437
914BB97494B554   DEAN         GLIDEWELL                    OK     90011569749
914BBAAA672B62   ELIZABETH    MARTINEZ MENDEZ              CO     33064280006
91511165372B3B   KATE         JEAN                         CO     90015171653
9151162825B371   AZEB         HAGOS                        OR     90011766282
9151229855B371   NORMA        TURNER                       OR     44591792985
9151245852B256   CURTIS       JACKSON                      DC     90011764585
915134A922B27B   TYERRA       VEREEA                       DC     90005224092
915136A8991599   GUY          VROMAN                       TX     90012346089
9151393A955951   CASSIE       CASTILLO                     CA     90005739309
91514A81251342   ELLEN        SCHETZER                     OH     66039880812
91515297A91327   SALLY        ELROD                        KS     29011772970
91515316672B56   MU           SOE                          CO     90015243166
9151536A891599   ALBERT       HODGES                       TX     90012563608
91515A5694B554   DWAIN        WHITE                        OK     90015170569
91516149272B3B   JESSIE       BENOIT                       CO     90014091492
9151616144B588   KAMBUI       COPELAND                     OK     90013371614
91516355A72B56   LACEDRIC     STEPHENSON                   CO     90014093550
91516499287B2B   KIAJUANA     BUSH                         AR     90010204992
9151658AA91521   GUSTAVO      DURAN                        TX     90007215800
91517139872B56   DANIELLE     HARRIS                       CO     90013951398
91518861972B3B   MARIO        HERNANDEZ                    CO     90013358619
91518911A55951   ALYSHA       CARLINE                      CA     90012879110
91519142272B56   RAFAEL       REYES                        CO     90013951422
9151921A78B175   NICOLE       SWEAT                        UT     90000232107
91519318172B56   ESTELA       PINA                         CO     33077703181
91519696672B43   JOSE         ALVARADO                     CO     90006806966
9151999812B981   LEON         CAMARA                       CA     90011799981
91519A28A72B32   THOMAS       BODUCH                       CO     33089830280
9151B137285689   MARCELINO    HERRERA                      NJ     90011231372
9151B53515B548   RICARDO      YANEZ                        NM     35072255351
9151B731151342   CYNTHIA      STOKES                       OH     66059547311
9151B923A4B267   VICKI        BEAM                         IA     90013129230
915213A1181634   CHRISTINA    THOMAS                       MO     90014893011
91521754272B43   JOHNNY       MCDONALD                     CO     90003477542
915222A4455951   NORMA        FRAIRE                       CA     49016142044
915223A8472B62   RODRIGO      CARNALLA                     CO     90009143084
9152242A291547   IRMA         MORENO                       TX     90002094202
9152263185B371   CYNTHIA      WARRINGTON                   OR     44501856318
91522A2335B548   ANGELO       MIRELES                      NM     90004790233
9152326947B444   HELEN        BELTON                       NC     11001772694
9152424517B339   GUILLERMO    CHAVEZ                       VA     81046892451
915244A2A93755   SCHANEL      WINN                         OH     90000364020
91525132172B42   CLEARY       BRENDA                       CO     33027851321
915257A215B383   REGULO       PEREZ                        OR     90001517021
9152623928165B   WALTER       LESTER                       MO     29041702392
9152734668436B   ALFORD       JOHNSON                      SC     90009263466
9152748585B523   ODWELL       GREEN                        NM     90012474858
9152771257B444   SHELIA       CROCKETT                     NC     90011117125
9152795A48596B   CURTIS       BRITT                        KY     90008109504
9152849968B175   ROBERT       GREGGS                       UT     31023984996
9152891842B981   CYNTHIA      CORTEZ                       CA     45033469184
91529162772B3B   ROLAND       PRICE                        CO     90010981627
915292A7155951   JOSE         CABRERA                      CA     90011242071
9152939675B371   DIANA        BLAINE                       OR     90014473967
91529741572B42   JOSE         MARTINEZ                     CO     90010817415
9152981715B371   JESSICA      HEEREN                       OR     90015128171
9152B248791826   CIIN         CING                         OK     90013652487
9152B45494B554   KEILA        HERTA                        OK     90008074549
9152B733972B42   FELIX        HUMBERTO                     CO     90013127339
9152B741791944   GABRIEL      GACHUHI                      NC     90010857417
915311A7A4B554   MARYCRUZ     VELASCO                      OK     90013951070
9153211214B554   ANTONIO      WILLIAMS                     OK     90013951121
91532786A55951   JOSEPHINE    CERVANTES                    CA     90003137860
91532A89372B3B   REYDESEL     MIRAMONTES                   CO     90012680893
9153311214B554   ANTONIO      WILLIAMS                     OK     90013951121
91533589476B8B   EFREN        RODRIGUEZ                    CA     46012125894
9153453865137B   DANYIEL      WILSON                       OH     66087875386
91534717972B42   JUAN         FERNANDEZ                    CO     90008677179
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1551 of 2350


91534785A91521   LEON NOEL    FONSECA                      TX     75013077850
9153499692B27B   JERRY        AUSTIN                       MA     90011269969
915354A482B27B   IVA          NEWMAN                       DC     90011194048
91535837372B56   MICHAEL      MAHER                        CO     90013978373
9153643494B588   SHAMALA      SAVALUNA                     OK     90008764349
9153782A293756   ASHLEY       HARRIS                       OH     90014758202
9153795A961558   PENNY        HARMON                       TN     90015379509
9153833862B27B   MARTIN       PETTY                        DC     81009363386
9153845714B949   WILLIE       HARRIS                       TX     90003144571
91538A73A81638   LARRY        MCCOY                        MO     29025500730
91539319972B32   ANDRES       RAMOS                        CO     90014753199
915393A9741296   JEAN         GRAVES                       PA     90009583097
9153973A172B42   RAMON        SANCHEZ                      CO     33018137301
9153B32383164B   GAIL         HART                         KS     90004163238
9153B348A72B3B   MOHAMED      AHMAD                        CO     90004923480
9153B53577B444   DARELL       ZAMORA                       NC     90014075357
9153B754785689   JOSE         ALAVEZ                       NJ     90015037547
915411A3772B62   JASMIN       GAMBOA                       CO     33034021037
9154183AA72B43   MARLIN       DANIELS                      CO     90006818300
9154236128436B   MARYALICE    HAIR                         SC     90013633612
91542559A5B548   DOLORES      BARRERA                      NM     35038805590
9154271485B371   ARMANDO      MENDOZA                      OR     90011767148
915427A8441296   PATRICIA     JOHNSON                      PA     51026147084
9154284245B152   KIM          SAMS                         AR     90014658424
91542883A91944   SHAQUITA     CAMPBELL                     NC     90007758830
9154333A372B32   MAYRA        PRECIADO                     CO     90012823303
915434A945B383   TERRY        CHI-EUAN                     OR     90013534094
915436A448B175   LISA         O' BRIEN                     UT     31006356044
91543818572B62   SAL          GOMEZ                        CO     33094118185
9154416174B554   VERONICA     ARVIZO                       OK     90013951617
9154442A761979   LORAH        VALADEZ                      CA     90010874207
91544725972B56   GABRIEL      MARTINEZ                     CO     33096337259
91544845A4B554   CHRISTOPHE   GARDNER                      OK     90000328450
915456A8577537   ROGER        EVERIDGE                     NV     43034036085
915471A8991521   MAGDA        ARGUELLES                    TX     75011031089
915477A2361977   DAVID        HENRY                        CA     90001837023
9154829254B588   ALMA         PEREZ                        OK     90015152925
9154854745B383   SAMUEL       ELWELL                       OR     44585635474
9154863786192B   ROBERT       PLUMMER                      CA     90013066378
91548A43372B32   PATRICIA     ESCOBAR                      CO     33012930433
91549465172B56   SANTOS       EDITH-GALLEGOS               CO     33067934651
91549939672B42   ALFREDO      RODRIGUES                    CO     90009879396
9154B499555951   ALICE        MCCRAW                       CA     90004354995
9154B615485689   FAITHA       HIBBERT                      NJ     90001266154
9154B67657247B   KIM          CROCKER                      PA     90006036765
915513A2A36148   FELLICIANO   CERVANTEZ                    TX     90013893020
91551648A5B383   SHANE        MILLER                       OR     90013446480
91552428672B62   MICHELLE     MACHAIN                      CO     90008584286
9155255294B588   LETRICE      DAVIS                        OK     90003315529
91553535772B62   JAIME        GUZMAN                       CO     33000665357
91553A8545B531   THERESA      ITURRALDE                    NM     35089910854
91554253557B3B   HECTOR       RUANO                        PA     90013492535
9155436A94B588   JACKLYN      MULLINS                      OK     90011163609
915545AA491521   ARIEL        ALEMAN                       TX     75040715004
915549A1491944   SUANI        MORALES-RAMIREZ              NC     90015309014
9155512AA72B32   JODI         TORRES                       CO     33019901200
915553A6693756   ELIZABETH    STAPLETON                    OH     90012443066
9155639565B531   CARLOS       CHAVES                       NM     90010453956
9155689757B444   FRANCINE     BARNETT                      NC     11080428975
91556A1244B554   RAFAEL       QUINTERO                     OK     90015310124
9155712274B554   JOSHUA       WILLIAMS                     OK     90012471227
91558AA6A5B548   ADRIAN       VALLEJOS                     NM     90005910060
9155911938B175   SANDRA       FRANCO                       UT     90013731193
9155919AA41296   AMARA        ZOULOUFOS                    PA     90012441900
9155B245391944   JEROME       GOODE                        NC     17049462453
91561323A4B588   ARMANDO      RODRIGUEZ                    OK     90015343230
9156141255B548   MAURICIA     VENTURA                      NM     90013844125
91561588A91882   ROMON        WILSON                       OK     90014815880
91562583A5B371   RICHARD      SPRAUER                      OR     90008565830
915625A3791544   ALEX         FABELA                       TX     90011855037
915627A9455951   REGINA       ZAMORA                       CA     90013087094
915631A175B531   ERIC         SANCHEZ                      NM     90014331017
9156349AA4B588   FRANCISCO    CARRILLO                     OK     90011974900
91563681A55951   ANGEL        AGUIRRE                      CA     90008886810
9156374692B27B   EUGENIO      LOPEZ                        DC     90011707469
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1552 of 2350


915638A965B371   ENOCH          ESCALERA                   OR     90011768096
9156426334B554   MEGAN          SMITH                      OK     90011822633
915642A387B444   RYAN           ROBBIMS                    NC     90014272038
91564597A81635   RUBEN          PEREZ                      KS     90015565970
9156476AA51373   KAITLYN        CLASS                      OH     90008487600
9156485445B345   BYRON          DYE                        OR     44501298544
9156486935B548   MARIA          CHAVEZ                     NM     90009348693
91564A18A77537   JEFFERY        FRANCOM                    NV     90012510180
91564A45691882   BRENDA A       HIGGINS                    OK     21014730456
915654A3472B62   EVANGELINE     BENAVIDEZ                  CO     90014504034
91565A46693755   ANTOINETTE     WRIGHT                     OH     90005960466
91566125A8436B   SANDRA         DOMENICK                   SC     19040641250
9156661234B554   RODRGUEZ       ARACELI                    OK     90013956123
91566914772B62   ALEJANDRO      RODRIGUEZ                  CO     33042319147
91566A94133698   JENNIFER       GUFFEY                     NC     12093670941
9156748A991951   PASCUAL        ROMERO                     NC     17061204809
9156874978B175   FRANK          CARRILLO                   UT     31052627497
9156882355B326   JUANA          GUZMAN CASTRO              OR     90013498235
91568AAA35B331   MATT           KNUDSEN                    OR     90008110003
9156927A34B554   STEFON         EVANS                      OK     90014802703
915693A6261979   KARLA          VAZQUEZ                    CA     90010563062
915698A5355975   JOSE           OROZCO                     CA     90013888053
91569A7495B531   MONIQUE        MARTINEZ                   NM     90013360749
9156B3A3393755   CHAUNSAY       TIASLEY                    OH     90003093033
9156B588455951   CHRISTY        GUERRA                     CA     90005335884
9156B59542B246   BEATRICE       TIENTCHEU                  DC     81015545954
9156B75295B54B   LUCINDA        ERIACHO                    NM     90014477529
9156B927472B32   JOSE           VALLEJO                    CO     33068499274
9156B98524B949   LUCILLE        WASHINGTON                 TX     90011089852
91571422772B3B   QUINN          JONES                      CO     90015184227
91571637A72B3B   ROXANA         SANCHEZ                    CO     90010006370
91571A72193755   LEON           DEBRILL                    OH     90013510721
91572134A72B3B   MICHAEL        SIAS                       CO     33013281340
91572426872B42   GABRIELLA      DENISE                     CO     33018104268
9157281364B949   JOANN          CANDELARIA                 TX     90011168136
915728A674B588   TRACY          MAGNESS                    OK     90005498067
9157333655B371   RHONDA         GLENN                      OR     90013823365
9157364A791599   LUIS           AGUILAR                    TX     90010276407
9157452A772B62   JESUS REYES    JESSICA LOPEZ              CO     90006835207
9157454555B531   WILLIAM        SPURGEON                   NM     90009355455
91575642A4B554   ANITA          MEARS                      OK     21588566420
9157573A551342   NICOLE         ALLEN                      OH     66085747305
91575A18991521   KELLIE         MOORE                      TX     75052570189
91575A56772B43   VANESSA        HILL                       CO     90007680567
91576152A31286   LYNN           LORD                       IL     90015431520
91576167872B56   STACEY         BURDIK                     CO     90013951678
91576231872B32   LETICIA        VARGAS                     CO     33092022318
91576799A91599   NORMA CHAVEZ   GONZALEZ                   TX     90008817990
9157699385B548   CHERENE        HUGHES                     NM     90014759938
91576A3655B383   VIOLETA        PALMA                      OR     90013800365
91577158272B43   TINA           COLE                       CO     90005451582
9157815A433698   KEYONNE        HORNE                      NC     90010361504
915781A4441296   JANEA          PISTELLI                   PA     51097651044
91579196272B62   DWIGHT         SMITH                      CO     33024201962
9157929628436B   JESSICA        BRYANT                     SC     90014322962
91579738A2B84B   AARON          PATRICK                    ID     90002197380
9157B435161979   ZIMRAM         BOGARIN REYES              CA     90010874351
9157B49365B383   PAUL           LESNIAK                    OR     90010794936
9157B558A91544   DONALD         KING                       TX     75092885580
9157B741A55951   TODD           COAKLEY                    CA     90013877410
9158144412B821   JESUS          LOPEZ                      ID     90014224441
91581A2515B548   SEBERIANA      NIEVEZ-RAMIREZ             NM     35039990251
91582156A72B56   BLANCA         CASTRO                     CO     90013951560
9158215725B371   JOE            FILER                      OR     90012481572
91583776972B62   TAVORRIUS      FROST                      CO     90012477769
91583841A55951   LISA           ALVAREZ                    CA     90005698410
91583977172B3B   CESAR          MOGUEL                     CO     33038239771
91583A68291599   LINDA          CHAPARRO                   TX     90012330682
91583AAA561558   CHRISTIAN      FORD                       TN     90015490005
9158416A17B35B   AIMEE          ANNUR                      VA     81058491601
915842A189139B   DAN            HILLER                     KS     29029022018
91584325772B42   GAEL           GOSSAGE                    CO     90010593257
9158495325B548   LUZELBA        GRANADOS                   NM     90011429532
91584954972B32   KIMN           RICHMOND                   CO     90001499549
915852A265B548   PATRICIA       CHARLEY                    NM     90014352026
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1553 of 2350


91585877872B42   ANNA LIZA          ALABASTRO MATTEI       CO     90012628778
91585A65591882   SCOTT              SENF                   OK     90014730655
91585A8A161977   CESAR              NAVA                   CA     46062100801
9158648253B366   CLAYTON            TAYLOR                 CO     33035804825
9158688415B371   JESSICA            GARCIA                 OR     90011768841
91587211A91521   DAVID              HERNANDEZ              TX     90014742110
9158741517B444   JULISSA            DE LA PAZ              NC     11015784151
9158782528B175   SHAMONIQUE         GREEN                  UT     90008708252
91587A7A185689   MUL                GON                    NJ     90013910701
9158817635B241   YASMANY            LEYVA                  KY     90013881763
9158821564B554   CHRISTOPHER        JACKSON                OK     90011642156
91588488A5B548   LEROY              ABEYTA                 NM     90013704880
915885A7491944   JONATHAN           WEBMAN                 NC     90014545074
9158953344B554   ALVIN              HARRISON               OK     90008395334
91589553498B21   JASMINE            HEFFNEY                NC     90012745534
9158966615B386   REBECCA            MIRANDA                OR     90011086661
91589AA3351342   WILLIAM R          CLARK                  OH     90000770033
9158B159793756   MICHAEL            CLINE                  OH     90005061597
9158B629172B62   BLANCA             HERNANDEZ              CO     90012306291
9158B647772B56   VANESSA            GARCIA                 CO     90013806477
9158B996191599   NAVARRETE          HECTOR                 TX     90011179961
9158BA3488B175   DUSTIN             GILGER                 UT     31067680348
9159112527B444   TONA               MCCOY                  NC     11008351252
915913A275B277   MEKA               HOLLEY                 KY     90012833027
9159156128B175   ADRIAN AND JESSI   HILL                   UT     90015105612
91591625572B56   GOMEZ              DESIREE                CO     33034366255
91591736A8436B   TARA               CREWS                  SC     90010587360
91591A85433698   GLORIA             EVANS                  NC     90000500854
9159214683164B   SCOTT              ROUNTREE               KS     90013621468
91592379A5B548   AFLREDO            CHAVEZ                 NM     90014273790
91593245A4B554   ADOLFO             VILLALOBOS             OK     90013952450
9159389875B371   PAUL A             DELLAROSA              OR     90011768987
91593A7465B548   ISAAC              GRIEGO                 NM     90006920746
9159435337B444   HECTOR             LOPEZ                  NC     11004623533
9159469324B588   RICHARD            LAIRD                  OK     90011916932
91594739372B42   EDDIE              HERRERA                CO     90013127393
9159543A257123   MARTHA             HURTADO                VA     81062354302
9159624798B175   WENDY              ELLIOTT                UT     31010472479
915965A1355951   DARNELL            HUFF                   CA     90003645013
9159712134B949   GWEN               JOHNSON                TX     76585881213
915973A258B175   DANIEL             DUNCAN                 UT     31062563025
915973A6561977   TAMMY              FIELDING               CA     90002343065
9159782A15B371   JUAN               GUERRERO               OR     90013568201
91598A53441296   PAMELA             KERSHAW                PA     90006320534
9159926512B27B   CARLITA            BRADSHAW               DC     90011272651
9159929338436B   MONIQUIC           EAZEL                  SC     90015452933
9159942553164B   LETICIA            MARTINEZ               KS     90014434255
91599A19891951   CARLOS             PINEDA                 NC     17039990198
9159B1AAA4B949   DERRICK            HINKSTON               TX     90010991000
9159B74257B444   TRAVIS             HUNTER                 NC     90013697425
9159B765672B62   ALICIA             QUINTANA               CO     90010967656
9159B842191951   TAMARA             DUKE                   NC     90013928421
9159B99A591599   ROXANNE            RODRIGUEZ              TX     90012589905
915B1121572B56   YVONNE             PHAM                   CO     90013951215
915B1521633698   KIMBERLY           CHEEK                  NC     90009055216
915B1946472B62   SARAH              CUBBISON               CO     33093909464
915B19A1972B32   IGNACIO            AYALA ACOSTA           CO     33069709019
915B1A69A4B949   CALVIN             WALKER                 TX     90000830690
915B1AA1572B3B   MICHELLE           LOPEZ                  CO     33075160015
915B2482891599   SERGIO             GARCIA                 TX     90013254828
915B2723472B56   JOSE               SANCHEZ                CO     33034567234
915B286315597B   MARCELINO          RODRIGUEZ              CA     49069348631
915B2A2975B383   LAUREL             DICKMAN                OR     90013800297
915B334867B444   JASWANT            SINGH                  NC     90013063486
915B411934B554   LUIS               GREENE                 OK     90007061193
915B436AA5B531   MARIA              VILLALOBOS             NM     90009263600
915B4455291599   ISAAC              ELIAS                  TX     90010854552
915B4637991532   LUIS               SOLIS                  TX     90009876379
915B4893291521   ROSA IRENE         GUERRA                 TX     90000458932
915B5133372B56   LINDSEY            BOWMAN                 CO     90013951333
915B529765B548   ANASTACIA          BARELA                 NM     90012832976
915B612A172B56   MICHELLE           CONCHA                 CO     90014401201
915B62A2285689   ROBERTO            CRUZ CORTES            NJ     85015732022
915B6444A91599   JULIO              CENICEROS              TX     90014884440
915B6497972B32   ANTONIO            ARCHULETA              CO     90013014979
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1554 of 2350


915B6619991944   ARTURO        ROBLERO                     NC     90006316199
915B681167B444   BERTON        SPENCER                     NC     90014658116
915B727644B949   SANDRA        BANQUEDANO                  TX     90007292764
915B73A175B383   TIM           ELDERS                      OR     90012533017
915B7477493755   TERRY         BUSH                        OH     90011124774
915B7661693769   DAVID         WILSON                      OH     64538256616
915B8223372B3B   RUBEN         FLORES                      CO     90007452233
915B8429272B87   ANGELA        JOHNSON                     CO     90012744292
915B856A78B175   LISA          LEASY                       UT     90010795607
915B859A841296   SHAMAR        GRAHAM                      PA     90007455908
915B864A355951   LUISA         MARICHALAR                  CA     90014716403
915B8944A93755   HEATHER       ALSEPT                      OH     90013769440
915B8963672B32   MARK          PADILLA                     CO     33041859636
915B982794B949   CHARLES       TYLER                       TX     76569398279
915B991522B27B   ERIC          ACEVEDO                     VA     81059119152
915BB35435B371   DANIEL        TEATER                      OR     90013033543
915BB43255B548   RAFAEL        SERRA                       NM     35008404325
915BB57133B322   DANA          QUINTO                      CO     33014285713
915BBA55191944   DOROTHY       MILES                       NC     17033510551
91611173172B56   YANES         GARCIA                      CO     90013951731
916111A792B27B   CAROL         TAYLOR                      DC     90010541079
9161149A65B371   JAMIE         SAECHAO                     OR     90002964906
91611A2AA3164B   ELVIN         ALVAREZ                     KS     90009060200
91612731472B32   DESIREE       ARNOLD                      CO     33098857314
9161274A591399   CARLOS        ESCOBAR                     KS     90010807405
91613272A71956   DANNE         ROCKWELL                    CO     90011532720
916132A4391951   ANGELICA      PACHECO                     NC     90013552043
9161332A75B371   CARLOS        BELTRAN                     OR     90010363207
91613899672B62   ZENYA         PACKER                      CO     90013838996
916143A4681635   CHRISTOPHER   PARKER                      MO     90013553046
91614767A4B554   ELMER         CARRETO                     OK     90013477670
9161492A681638   MARCHELLA     ROBINSON DAVINIA            MO     29087539206
91615561A91882   MARCO         LYLES                       OK     90014795610
916158A1221929   MELINDA       GOEDE                       IN     90013588012
91615A47772B56   GERSON        ORTEGAAAA                   CO     33062760477
9161644A34B588   ANTWONE       WILSON                      OK     90010964403
9161655555B383   YOLANDA       WATSON                      OR     90010195555
9161754917B444   DONNIE        CARR                        NC     90014175491
91617A3682B27B   DENISE        THOMPSON                    DC     90014810368
916182A8251342   KEN           THOMAS                      OH     90006352082
916184A592B27B   STEVEN        FOSTER                      DC     90015004059
91618A76991327   JOSE LUIS     CARRILLO                    KS     29011760769
91619415972B42   MAURA         SALAS                       CO     90013124159
91619567A91882   BILLIE        BOYSEL                      OK     90014795670
9161996A181634   KATRINA       MORRIS                      MO     90013009601
91619A28661977   REX           DUNAGAN                     CA     90003960286
9161B1AAA2B27B   IVY           MCFADDEN                    DC     90010541000
9161B46864B588   CARLOS        CABRERA                     OK     90012514686
9161B468A91399   NICHOLAS      BACCALA                     KS     90014484680
9161B549191882   RHONDA        JHONSON                     OK     90014795491
9161B57A45B548   JESUS         GARCIA                      NM     90013925704
9161B768A81638   DOMONIC       FOWLKES                     MO     29005997680
91621177A72B56   IRENE         CARRILLO                    CO     90013951770
9162159474B554   TAMALA        YOUNG                       OK     90011715947
916215A628B181   AMBER         ARMSTRONG                   UT     31057815062
91621894572B32   JAMIE         TORRES                      CO     90007708945
916225A5785689   SAUL          VARGAS                      NJ     90013485057
91622822572B3B   BRYAN         BENNINGTON                  CO     33092098225
9162287335B371   LARRY         LOCKE                       OR     90014698733
91622A49261977   MARINA        ESQUIVEL                    CA     90015080492
9162367245B371   BRAD          WEINEL                      OR     90003876724
91623856572B42   PAVEL         RAMIREZ                     CO     90012468565
91624395A2B27B   LINDA         BETHEA                      DC     90012153950
9162442557B434   JENNIFER      MEEKS                       NC     90013774255
9162463724B588   LISA          DOCKERY                     OK     90012136372
91624954172B32   TARA          LICONA                      CO     33045289541
91625659872B62   TOM           JONES                       CO     90009806598
916256A637B444   CHAQUETTA     SMALL                       NC     90010806063
916258A7861973   GRACIELA      HANNA                       CA     90010718078
91625911A31462   BRENDA        KYLES                       MO     90005769110
91625A7924B588   LORENA        NICHOLOS                    OK     90009470792
916276A815B383   LESLIE        LUVIANO                     OR     90002266081
9162796437B444   SIMONE        HOOKS                       NC     90014739643
9162819943164B   TODD          KING                        KS     22073491994
916283A5855951   MACY          DEE                         CA     90011243058
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1555 of 2350


91628A57672B62   CARMEN EDITH   GARDEA CASTANEDA           CO     90011060576
9162929894B554   CHRISTIN       ALSUP                      OK     90013952989
91629955A5B371   JODY           LAUDERMILK                 OR     90011769550
9162B166A81634   MARIA          RODRIGUEZ                  MO     29015151660
9162B265485689   NICOLE         GRANBERG                   NJ     90011272654
9162B2A1291951   JUAN           CRUZ                       NC     90013092012
9162B311691521   REINA          PESANTE                    TX     90005283116
9162B47274B588   EDWARD         VELA                       OK     90015454727
9162B927191599   ANGEL          MENA                       TX     90010359271
9163135883164B   MICHELE        EVARO                      KS     90013583588
9163156A84B588   THURMAN        JACOBS                     OK     90013385608
91631A98793756   JACQUELINE     HECHT                      OH     90011050987
9163239695B383   RAUL ARTURO    TEC MORENO                 OR     90010343969
91632462A3164B   SCOTT          STICKNEY                   KS     22090624620
91632A94193756   RACHEL         GUILLERMIN                 OH     90015080941
91633277A72B62   LILIA          BEJARANO                   CO     90014822770
9163369953164B   KELLY          TAYLOR                     KS     90003686995
9163385668B175   JULIE          ROSO                       UT     90010668566
91633A7A941296   KIMBERLY       RINEHART                   PA     90014810709
9163424625B383   BETH           ELLINGSON                  OR     90013492462
9163436995B548   JOSHUA         CHAVEZ                     NM     90002323699
91634687472B62   VANESSA        AGUAYO                     CO     90013986874
916347A554B554   RYAN           LLOYD                      OK     90001277055
916356A9961979   JORGE          BARRIOS                    CA     90011176099
916365A6161977   JOHN           QUINTERO                   CA     90012575061
91636A74A5B383   CAILA          LARSEN                     OR     90004730740
91636AA7A55951   VERONICA       LOPEZ                      CA     49070230070
91637131372B32   PABLO          GARCIA VALVERDE            CO     90009781313
9163745428B175   WARREN         SHAW                       UT     31074854542
9163762AA72B3B   HECTOR         VARELA                     CO     90013006200
91637711372B62   SARITA         BHANDARI                   CO     90011387113
91638389172B62   ALEJANDRIN     LUNA                       CO     33092473891
9163849A477537   JOSE           JIMENEZ                    NV     43056124904
9163866152B27B   NORA           LUNA                       DC     90012736615
91638779172B56   JAMES          KEELING                    CO     33083717791
9163888A65B531   REGINA         RUELAS GONZALEZ            NM     35078768806
91638A53972B3B   SARA           PACHECO                    CO     90012530539
9163933314B554   JOSE           LIVIANA                    OK     90013953331
9163936285B383   LUKE           KENNEDY                    OR     90012533628
9163938A785689   STEPHEN        NOVAKOWSKI                 NJ     90013023807
916397A4591599   CLAUDIA        LEDEZMA                    TX     90000307045
9163998954B949   LASHANDA       GUIDRY                     TX     76515359895
9163B42454B588   BRANDON        TIPTON                     OK     90010574245
9163B53118B175   KING           NEWBINS                    UT     90011815311
9163B599391882   JEREMY         JUSTICE                    OK     90014795993
9163B713691944   ZURI           SMITH                      NC     17091897136
9163B748281638   DERRICK        WALKER                     MO     90003337482
9163B765877537   JUSTIN         RABY                       NV     90011957658
9163B81A272B3B   BOBBY          HALL                       CO     33066858102
9163B961393755   AMBER          FLANNAGAN                  OH     90013219613
9163BA83991882   ANDREA         GAGE                       OK     90011500839
9164125A64B554   LORENZA        MEDINA                     OK     90011572506
91641425772B42   JASON          WELLS                      CO     90013124257
9164186A65B371   YENNY          LOPEZ                      OR     90013968606
91642515A72B56   TONY           GARCIA                     CO     90014005150
9164288634B588   JOAN           WHEELER                    OK     90006078863
9164323949136B   RAYMOND        PALOS                      KS     90009342394
91643A91155951   JONH           VANG                       CA     90013970911
9164485248B447   BRIANNA        DESMORE                    VA     90014038524
9164641594B554   SHADRA         LLEWELLYN                  OK     90013954159
9164845A872B3B   SARA           SALAZAR                    CO     33082434508
916484A8481634   PAYGO          IVR ACTIVATION             KS     90010974084
91648588A4B554   OSMANDO        MALDONADO                  OK     21589005880
91649275472B56   JANETH         TEJEDA                     CO     90012772754
916498A9591882   DEREK          PENDERGRASS                OK     90006908095
91649A96955951   HANG           VUE                        CA     90013970969
9164B44995B531   JESSICA        CHAVARRIA                  NM     90011084499
9164B483991521   MARISOL        RIBOTA                     TX     75018654839
9164B53755B19B   AMANDA         HARRISON                   AR     90011205375
9165125444B588   CORY           NAHMAHPEAH                 OK     90014072544
9165134A74B554   JEFFERY        LARGENT                    OK     90013953407
91651A68377927   PAYGO          IVR ACTIVATION             IL     90013520683
9165242A793755   HAROLD         RAY                        OH     90012434207
9165257A581635   NICHOLE        DIGGS                      MO     90010695705
9165285945B371   MARYSOL        LARA                       OR     44552558594
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1556 of 2350


9165299A633698   KECIA           KENNEDY                   NC     90013409906
91652A17A81635   NICHOLE         DIGGS                     MO     90013050170
91654348A77537   JAMAR           KOCHALKA                  NV     43050443480
9165435255B531   ANDREA          MOLINA                    NM     90013803525
91654A7494B273   MUNGIA          ZEPEDA                    NE     90003730749
91655378A55951   ESTELA          OROZCO                    CA     90005863780
9165564775B371   NANCY           JIMENEZ                   OR     90013346477
916557A8191944   FRANCHESA       DUNMEYER                  NC     90011807081
9165591315B383   RICKY           FOSTER                    OR     90010219131
91655A5398436B   ANN             PENDER                    SC     19095930539
91655A53A72B56   ABIGAIL         TORRES MENDEZ             CO     33030950530
91656238772B32   CLEOTILE        FLORES ARVISO             CO     33011072387
9165634454B554   AMBERE          CARRILLO                  OK     90013953445
9165666445B548   BREANNA         MORALES                   NM     90005406644
916567A7733698   GUADALUPE       PADRON                    NC     90011967077
9165738474B554   IAN             HEDRICK                   OK     90011573847
91657464972B56   EDWARD          MARTINEZ                  CO     90013984649
91657A5327B444   DEE             NEWTON                    NC     90007730532
9165826638B169   ROBERT WARREN   WATERS                    UT     90007682663
91658986972B3B   LILIANA         SAUCEDO                   CO     33080889869
91658A19672B56   KAYLA           BERMUDEZ                  CO     90005250196
91658A42291882   STACEY          RUFFING                   OK     90008490422
91659994A93769   KIM             HONEYCUTT                 OH     90011879940
91659A52172B3B   MARISOL         ENRIQUEZ                  CO     33093460521
9165B333591944   JOHN            MARSHALL                  NC     90013223335
9165B394741296   JESSICA         GIANNANDREA               PA     90013263947
9165B69AA33698   AKEEM           MONK                      NC     90013946900
9165BA23A3164B   KENNETH         YOUNG                     KS     22090650230
916613A1561977   VILMA           APOSTOL                   CA     90000333015
9166229332B27B   LATOYA          BROWN                     DC     90011272933
916622A967B444   JAYE            HALL                      NC     90013712096
91662364872B42   SHERRIE         ROBINSON                  CO     90010593648
916625A212B27B   RACHELLE        OYEBAJO                   DC     81035015021
916626A8891951   CARLOS          VENTURA                   NC     90010826088
9166426AA33698   DERRICK         HESTER                    NC     90014992600
91664464472B3B   CARA            BOUCHER                   CO     90005184644
9166452747B359   MARVIN          MONTEROSSO                VA     90004025274
91665229872B42   JOSE            MORALES                   CO     90010392298
9166554275B531   ANDREA          ABEYTA                    NM     90005885427
9166639448B13B   JENNY           WRIGHT                    UT     31051203944
91666569A61977   EVARISTO        HERNANDEZ                 CA     46097345690
91666621A91951   FRANCESCA       LA CARPIA                 NC     90015416210
916667A6261977   EVARISTO        HERNANDEZ                 CA     90001997062
9166693756B85B   BEVERLY         GARDNER                   WI     90015579375
9166757A251342   BUSTLE          CHARYL                    OH     90009265702
91667665A8B175   BRANDON         CHAMLERS                  UT     90011466650
91667A35691521   MARIA           ACEVES                    TX     75066790356
91667A45991327   BRADLEE         CAMPBELL                  KS     29066940459
91668618472B42   JOSEPHINE       CASTRO                    CO     90015156184
91669348A91521   JUAN CARLOS     NEVAREZ                   TX     90011563480
9166944485B548   EDNA            TRAVIZO                   NM     90012104448
9166947A233698   ZULEIMA         CASTILLO                  NC     90010394702
91669533A81634   KAMALEI         KELLER                    MO     90001865330
9166992249714B   JANIE           DORSCHNER                 OR     90002949224
91669A14255999   ROSALVA         ROSALES                   CA     90015070142
9166B17528B175   CECILA          GOMEZ                     UT     90014601752
9166B182A5B531   JOSE            OTERO                     NM     35029801820
9166B46A757183   CLARIBEL        VILLATORO                 VA     90008864607
9166B74A641296   JOSHUA          RIVERA                    PA     90010787406
9166B857155951   GILBERTO        HIDALGO                   CA     49082428571
9167141174B554   JOSE            CABRERRA                  OK     90013954117
91671446172B42   CINDY           CASTENEDA                 CO     90013124461
91671657A91951   ASONTE          ROSHELLE                  NC     90010826570
91671A75791521   ERIKA           CAZARES                   TX     90014760757
9167286895B383   FATMATA         SESAY                     OR     90014478689
91672A7265593B   LYNETTE         MORAN                     CA     90015130726
9167352854B588   HEATHER         MURRAY                    OK     90009045285
9167431225B531   CRYSTAL         SISNEROS                  NM     90014503122
9167462A47B444   RODOLFO         JIMENEZ                   NC     90008996204
9167473835B383   JONATHAN        ELLIS                     OR     90014517383
9167497A64B554   WILLIARD        ESTURADO MEJIA            OK     90003039706
91674A72477537   MARK            MARLOW                    NV     90004540724
9167568A37B444   ISABEL          GONZALEZ                  NC     90001196803
91676157872B3B   ONESIMO         SANCHEZ VASQUEZ           CO     90012301578
9167616675B548   ANITA           BLYTHE                    NM     90013891667
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1557 of 2350


91676199472B56   AMBRIA       ARCHAMBAULT                  CO     90013951994
916762A8881635   JOHN         WALLACE                      MO     90013002088
9167652A691882   DEANGELO     MCCLELLAN                    OK     90015305206
9167657714B563   E DA         TAN                          OK     21512025771
916777A734B554   DAVID        SWAID                        OK     21537517073
916781A424B949   MICHAEL      HARMON                       TX     76554131042
9167865165B548   WALDY        MANDRAGON                    NM     90011936516
91678A33955951   KER          VANG                         CA     90006920339
9167916147B49B   SHONTAY      ALLEN                        NC     90005991614
91679337972B42   ALEXANDRA    MEYER                        CO     33079033379
916796A4851342   CINDY        GUTIERREZ                    OH     90014956048
9167976235B371   MIRANDA      DAVIS                        OR     90014987623
916797A294B263   JEFFREY      ALAN PALESTINO               NE     90009217029
9167B367293769   MAURICE      HANNS                        OH     90009763672
9167B41678B175   CHARLIE      WOLFBLACK                    UT     90014204167
9167B53A893736   WANDA        ESKEN                        OH     90015085308
9167B554872B3B   DIANA        QUINONES                     CO     90013015548
9167B827577537   KYLE         CASSADAY                     NV     90014908275
9167BA2A772B62   BRIAN        RIGDON                       CO     90012080207
9167BA52A72B56   JOSEPH       RUSSO                        CO     90001910520
9168144A22B27B   KEVIN        JACKSON                      DC     90013934402
91681A38693746   ARMAND       JOES                         OH     90008390386
91682228A33698   JANICE       THOMAS                       NC     90014922280
9168241895B371   SHAWNTIA     HILTON                       OR     90011774189
9168244A32B27B   CAROLYN      BASS                         DC     90013934403
9168285A491521   VICTORIA     SAENZ                        TX     90013198504
916828A1181635   MONIQUE      SMITH                        MO     90013938011
91682A98721929   ALMA         ARAIZA                       IL     90011930987
9168344422B27B   JOSE         MARTINEZ                     VA     90013934442
9168364315B531   ALEJANDRA    LUEVANO                      NM     35091166431
9168545985B531   CASEY        PERALTA                      NM     35032944598
9168585A14B249   ASHLEY       BEARCE                       NE     90009128501
9168597618B175   MR FANCY     PANTS                        UT     90006549761
91685A55191599   DANIELLE     TOCARRA                      TX     90013290551
916861A218436B   REBEKAH      HUNTER                       SC     90015181021
9168644592B27B   DESIREE      LAWLEY                       DC     90013934459
91686642A81635   VICTORIA     COBURN                       MO     90010696420
9168725817B359   ANA          MARTINEZ                     VA     90001732581
9168726474B949   BRADLEY      DUMMITT                      TX     90005942647
91687534772B42   MANUEL       GONZALES                     CO     90009335347
9168834915B531   VIVIANA      CHORA-CANALES                NM     35096313491
91688AA8833698   RONNIE       KOLLOCK                      NC     90014690088
9168939A193756   FREDERICK    SNELLING JR                  OH     64503503901
9168B277372B56   BLANCA       ORDONEZ                      CO     90012772773
9168B48945B531   ADRIANNA     PACHECO                      NM     90009264894
9168B541541296   CAROL        MILLER                       PA     51042825415
9168B89A191951   MICHAEL      HUDSON JR                    NC     90013958901
9169154854B521   WAYNE        SIMPKINS                     OK     90011755485
91691931372B33   MARIA        ACO                          CO     90008379313
9169241474B554   MARTIN       BALDERAS                     OK     90013954147
91692444272B42   DEBORAH      REYES                        CO     90011374442
91692593A8436B   MAVIS        SCOTT                        SC     90014935930
916927AA572B42   RICARDO      ZOTO                         CO     90015157005
91693379772B42   KARINA       JAQUEZ                       CO     90010593797
91694215872B56   SALGADO      GONZALEZ                     CO     90013952158
9169441255B371   MAGDALENA    PASCUAL SEBASTIA             OR     90005904125
9169454193164B   JEROME       ECKELS                       KS     22058675419
916947A1287B32   AMETRIA      HARRIS                       AR     90014257012
91694A59557B3B   LOANDES      RODRIGUES                    PA     90015470595
9169515464B588   CLYDE        HENDERSON                    OK     90002141546
9169541594B554   SHADRA       LLEWELLYN                    OK     90013954159
91695494A72B42   DENNISE      FRAIRE                       CO     33081954940
9169579935B371   PAULINA      SEPULVEDA                    OR     44512827993
916964AA391399   LOTRICE      JOHNSON                      KS     90010344003
91696883A93756   EDWARD       BAKER                        OH     64585198830
916968A1181635   MONIQUE      SMITH                        MO     90013938011
9169694A48B175   SWIGLY       BILENE                       UT     90015219404
9169765615B383   TROY         HARLOW                       OR     44597326561
9169793328B175   TARA         TRATOS                       UT     90014589332
91697A5AA72B32   LORI         GRIFFIN                      CO     90013860500
9169861315B531   RICHARD      GUTIERREZ                    NM     90006136131
9169937758436B   SHERRRON     AIKEN                        SC     19012113775
9169B348741296   KELLI ANN    WILLIAMSON                   PA     51085283487
9169B46934B554   ERIC         HANCOCK                      OK     90012724693
9169B535A91521   JAIME        RODRIGUEZ                    TX     90013985350
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1558 of 2350


9169B839391521   JAIME               RODRIGUEZ             TX     90012938393
9169B966421832   SKY                 ARRIOLA               MN     90014109664
9169BA87291599   GRACIELA            ROJA                  TX     90014520872
9169BA91293769   KALITTA             LANDERS               OH     64514420912
916B1199991951   SHAMIRE             TUCKER                NC     90013251999
916B1316972B42   JESSICA             DURAN                 CO     90013343169
916B1369393755   NICOLE              RAY                   OH     90001583693
916B1435A93756   MARK                ALEXANDER             OH     90008764350
916B1745191599   ADELINA             GONZALEZ              TX     90013397451
916B174A291599   ADELINA             GONZALEZ              TX     90001817402
916B1A9678436B   PORSHE              RODGERS               SC     90015460967
916B211175B371   ALEXANDER           BUDGE                 OR     90014141117
916B2127251342   ADRIANA             VELASQUEZ             OH     90008251272
916B245A341955   JOSE                RESENDIZ              OH     90013854503
916B248894B588   DANNY               ELLIOTT               OK     90011424889
916B252415B548   BLANCA              RODRIGUEZ             NM     90007605241
916B252A781635   CHRIS               WEST                  MO     90014605207
916B2798972B56   GENESIS             NUNEZ                 CO     90011377989
916B3286472B56   BIZAN               RODRIGUEZ             CO     33003682864
916B3649772B53   ADAM                NASH                  CO     90011196497
916B3948A51342   ALICIA              RAMIREZ               OH     90015309480
916B3A88561924   PABLO               BECERRIL              CA     46012360885
916B4317185689   EUSEBIO             GONZALES              NJ     90014813171
916B4381155951   MINDY               TERRY                 CA     90012223811
916B4854351342   JOHN                SPANYER               OH     90015048543
916B4896461977   JOSE                LUIS                  CA     90014578964
916B5661281634   CHRIS               KNIGHT                KS     90013296612
916B5679693755   LINDSEY             SNELL                 OH     90013336796
916B5925877537   LAZARO              ARRIOLA               NV     43019169258
916B5A27A61921   MELISSA             PACKARD               CA     90001680270
916B618644B554   JEANNIE             CAMP                  OK     90011571864
916B6192833698   MARIA ANTONIA       CHAINS                NC     90011151928
916B7293351342   ANTHONY             JONES                 OH     90011902933
916B732857B436   WENDY               BANEGAS               NC     90001263285
916B766317B424   JEREMY              FELSTOW               NC     90005906631
916B819AA4B554   SAMIR               AL-QAISI              OK     90014961900
916B845238436B   TRAVIS              MARTEN                SC     90000624523
916BB161791944   BRANDON             HARRIS                NC     90013571617
916BB38938B175   JOHN                ANDERSON              UT     90009993893
916BB389A8436B   JUNIOR              WILFREDO              SC     90009203890
916BB525677537   JAMES               NARROMORE             NV     90011495256
916BB73297B444   MICHAEL             WILLIAMS              NC     90011607329
916BB964172B62   STATE OF COLORADO   CONTROLLERS OFFICE    CO     90010739641
9171119338B125   MICHAEL             MAYOR                 UT     31013941933
9171151285B531   PRECIOUS            SERNA                 NM     90009925128
9171212825B548   GABRIEL             MONTOYA               NM     35090601282
9171249832B27B   ATANAS              STANCHEV              DC     90013934983
91712537372B42   ZAIRA               HOLGUIN               CO     90006725373
91712668272B32   MACHELLE            RIVERA                CO     33012726682
91712917872B62   MICAELA             VAZQUEZ               CO     90013249178
91712A3A861977   WENDY               PARTIDA               CA     90011570308
9171322A772B42   LANCE LEON          BARTOW                CO     90014672207
9171328A172B62   TEODORO             GODOY                 CO     33066442801
91713337A91944   SIERRA              WILLIAMS              NC     90009933370
91714315A93756   SEAN                FLATTER               OH     90011113150
91715375572B3B   JASMINE             ROWE                  CO     90011653755
9171579A181638   ERIC A              HOUSE                 MO     29092377901
917158A3481635   TYRONE              GRINES                MO     29003668034
9171612723164B   BRENDA              RUIZ                  KS     22005871272
9171686A65B371   YENNY               LOPEZ                 OR     90013968606
91716A4974B554   MICHAEL             MEEH                  OK     90011720497
91716A51991882   MICHELLE            PEARSON               OK     90010210519
91717319A4B588   PHYLLIS             DAILEY                OK     90014873190
9171795634B554   GENE                BEARD                 OK     90013979563
9171847785B383   GILBERTO            TARULA SEGURA         OR     44598184778
9171873A25B548   ERIC                SCHULTZ               NM     35011127302
917187A7581635   CAROLYN             ZOLLAR                MO     90007557075
91719225772B56   CHRISTIAN           LOPEZ                 CO     90013952257
9171925264B588   TAMMY               BARR                  OK     90008482526
917196A5791599   MARIANA             TORRES                TX     90007056057
9171B175872B42   MELISSA             CARTER                CO     90004211758
9171B537672B32   ROBERT              ESPINOZA              CO     90012875376
9171B61385B531   TAMMI               SMITHE                NM     35006486138
9171B6A7972B3B   EUGENIO             SANTOS                CO     33042616079
91721125A93755   TAMMIE              NASH                  OH     64528131250
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1559 of 2350


91721456372B42   CEON               SHAVERS                CO     90013124563
91722A44291944   ONNALEE            COLAMAIO               NC     90014090442
9172323A92B27B   ANNA               QUEEN                  DC     90012402309
9172339314B554   SUSIE              SOSA                   OK     90011353931
917234A7591521   GUADALUPE          CARDENAS               TX     75053854075
91723A1378436B   SONYA              GARRETT                SC     90012100137
91724558A91544   DONALD             KING                   TX     75092885580
9172487718B175   MICHELE            ORENO                  UT     90012038771
91725872A51325   CRYSTAL            NORRIS                 OH     90012598720
91725891A91521   MARINA             MENDOZA                TX     75079098910
917258A6255951   DAVID              THAMMAVONG             CA     49014168062
91725AA323164B   FELICIA            OWENS                  KS     22030510032
917261A3A55951   MEE                YANG                   CA     90013971030
91726963472B56   SHAYLA             KOON                   CO     90014589634
9172839158436B   DENITTA            MURDAUGH               SC     90013223915
917284A857123B   LOREN              FERRIS                 IA     90010304085
917291A8391882   SUSAN              SINGLETON              OK     90011061083
9172933684B588   JAMES              LOVING                 OK     90014613368
917296AA972B62   ROSALBA            MENDOZA                CO     33089416009
91729876A93721   LYNETTA            ROBINSON               OH     90008628760
91729929A91944   JEFRY              RAMIREZ                NC     90014759290
9172B27548B175   KEIRSTIN           BECKSTEAD              UT     90010252754
9172B29A372B42   CHAD               RICE                   CO     33049642903
9172B45A65B383   BRETT              RENFRO                 OR     90013934506
9173111A755951   ALMA               LOPEZ                  CA     90013291107
91731671A91521   JULIO              COBOS                  TX     90014676710
9173168614B554   EDYTTA             CARGLEE                OK     90014506861
917322AA377927   BLANCA             ESPINOZA               IL     20542302003
9173355432B27B   YEZMIN             DIEZ                   DC     90013935543
91733621872B42   ADRIANA            ALVAREZ                CO     33070346218
9173369A55B371   CARLOS             LEMES RODRIGUEZ        OR     90011776905
91733943A2B27B   MARIA              RODRIGUEZ              DC     90012149430
9173422264B588   DAVID              BROWN                  OK     90013312226
917348A6577537   LUPEOLETALALELEI   SOFARA                 NV     90002528065
91734919172B3B   JORGE              VARGAS                 CO     33096529191
917353A3991599   MARIA              OCHOA                  TX     90002143039
9173558445B371   DAVID              PETTRY-HOLTON          OR     90010885844
9173592155B531   GLORIA             TRUJILLO               NM     90002089215
91736162272B32   REBECCA            TRINIDAD               CO     90013171622
9173658145B371   JENNIFER           NILES                  OR     90014485814
91736684672B42   ERIC               JOHNSON                CO     33095486846
91736AA4972B62   CHAVEZ             SHIRLEY                CO     33002250049
917372A9972B83   GARY               PATTERSON              CO     90012152099
9173736A185689   JEANETTE           RIOS                   NJ     90014213601
9173774965B381   STEVEN             MILLICAN               OR     44535777496
91737794772B3B   JUNIOR             AUILA                  CO     33033397947
91738185A4B949   SANDRA             MARTINEZ               TX     90008241850
91738423372B3B   DOUGLAS            GRUBNIEWSKI            CO     90015184233
9173868A385689   DANIELA            CANESCO                NJ     90014586803
917391A9655951   MAYNOR             CARIAS                 CA     90013971096
9173965418B181   KENNETH            PALMER                 UT     31096166541
91739924472B3B   JOSEPH             GONZALEZ               CO     90012799244
917399A3385689   ROSALIA            CRUZ                   NJ     90013939033
9173B737591521   BLANCA             VILLARREAL             TX     75006787375
9173B95684B588   RHONDA             BENEFEE                OK     90007779568
9173B9A648B175   CYNTO              CONTRERAS              UT     90013899064
9173BA66772B56   JOHN               MCMAHON                CO     90001910667
91741451A2B27B   CANDIDA            ALFARO                 DC     90013424510
9174179514B554   CHRISTINE          WHITE                  OK     90014157951
9174224A391521   VERONICA           QUINONEZ               TX     75011352403
91742581672B29   BRENDA             GOMEZ                  CO     90011135816
91742A82391882   CHRISTY            OXLAJ                  OK     90010580823
91742A95671936   PATRICIA           INCERTO                CO     90013960956
91742AA4291951   JOSE               IBANEZ                 NC     17067700042
9174323154B554   FFR 15342 DIU      NGYEN                  OK     90012122315
9174329733164B   LACI               BROOKSHER              KS     90013932973
917442A4681634   CIERRA             ROLLINGS               MO     90014262046
91744A95993769   JAKE               BOND                   OH     64540200959
9174523154B554   FFR 15342 DIU      NGYEN                  OK     90012122315
9174524759188B   JOE                HULL                   OK     21018522475
91745346A91882   FERNANDO           HERRERA                OK     90014803460
917456A5993755   PAMELA             DUNCAN                 OH     64542756059
917473A245B975   VIANEY             ARTEAGA                WA     90015393024
9174743447B444   JOSE               ALEMAN                 NC     90005124344
91747811872B3B   CARMEN             TRILLO                 CO     33087818118
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1560 of 2350


91747865672B56   KELLY        ROSSIN                       CO     90008558656
917481A5172B42   JOSE         HURTADO                      CO     33028361051
9174827167B444   CANDELARIA   GONZALEZ                     NC     90007522716
91749246172B42   TEODORA      CRUZ                         CO     90008142461
9174983A97B444   TIMOTHY      PRIDE                        NC     90005258309
9174B111A55951   LEE          XIONG                        CA     90013971110
9174B248133698   ELIZABETH    HAGAN                        NC     12077622481
9174B61385B531   TAMMI        SMITHE                       NM     35006486138
9174B729785689   YVES         ROCHE                        NJ     90014877297
9174B845755942   ANGELINA     CANTU                        CA     90001118457
9174B916372B32   ASHLEY       ROCHA                        CO     90013139163
9175121937B444   AMELIA       GOSS                         NC     90014572193
9175139215B548   ALLEN        GONZALES                     NM     90013863921
917514A394B588   BLANCA       ORTEGA                       OK     90005724039
9175166A681635   EVETTE       HARDEN                       MO     29081136606
9175186988B131   SHAWN        SONDRUP                      UT     31096288698
91752233A4B554   WALTER       TRENT                        OK     21553252330
91752268372B42   RICHARD      CASIAS JR                    CO     33078022683
9175229A785689   JOSEPH       QUINN                        NJ     90002442907
91752853472B62   JUANITA      TINAJERO                     CO     33094028534
91752A1295B531   FE           PACHECO                      NM     90013270129
91753649772B32   NICK         EDELEN                       CO     90002996497
9175373324B949   MARCO        TELLEZ                       TX     76500607332
91754135A72B62   ERNESTO      HOLGUIN                      CO     90002381350
9175422414B554   JERRY        DENNIS                       OK     90011582241
9175461328B175   AUTUMN       TAYLOR                       UT     31012816132
91754721772B42   RAUL         SALIDO                       CO     90015027217
917552A5241296   BRENNA       PERGALSKE                    PA     90014092052
9175574865B371   TIM          BARNES                       OR     90011777486
917558A1A91599   CARLOS       RAMIREZ                      TX     90012888010
91755AA6A5B383   CORRINNE     BROWN                        OR     90014600060
91756217972B32   JOHN         MCNEELY                      CO     33026262179
9175663317B444   RUFINO       HERNANDEZ                    NC     11064876331
9175684934B554   JOSH         SERRANO                      OK     90013968493
9175699825B371   MELENY       ANDON                        OR     90014839982
91757444A54127   JESUS        LOPEZ                        OR     90014704440
91757819372B32   EDUARDO      CARRERA                      CO     33030248193
9175899514B554   JONATHAN     FERNANDEZ                    OK     90009499951
917596AA191399   ALMA         HOLGUIN                      KS     29044226001
9175999678436B   ESSENCE      NOLE                         SC     90011309967
9175B231572B56   JOSE LUIS    SOTO NUNEZ                   CO     90013952315
9175B251485689   DULCE        HERNANDEZ                    NJ     90013162514
9175B299372B3B   GUADALUPE    STONE                        CO     33022582993
9175B33664B554   LOUIS        TEBOB                        OK     90014133366
9175B351491882   CHRISTINE    ROOTHAME                     OK     90014803514
9175B999A77537   TONI         ROSS                         NV     90007639990
9175BA76272B42   MARIA        REYES                        CO     90014980762
91761293672B56   MARCOS       RANGEL                       CO     90012772936
91761313A93769   SONYA        WINSTON                      OH     64552453130
91761A42477537   EUGENE       WYANT                        NV     90007640424
91761A74472B42   NIXIA        PALMER                       CO     33043470744
917628A814B588   CHARLES      CHANDLER                     OK     90013958081
91762A24991521   KARLA        ESTRADA                      TX     90013930249
9176416462B27B   MILTON       MARBURY                      DC     90015211646
9176443822B27B   IAM          SIMS                         DC     90011274382
9176465344B588   RHODA        CIVICK                       OK     90000626534
91764727672B42   VENUS        LAWRENCE                     CO     33068707276
9176518854B588   VERONICA     CERDA                        OK     90013371885
917651A1172B3B   BERNARDINO   ORTIZ MORALES                CO     33009151011
9176556392B27B   ANTIONETTE   HOLMES                       DC     90004865639
917657A9551342   TOBIE A      ALLEN                        OH     90012777095
9176585124B554   EDWIN        MORALES                      OK     90013968512
91765A34993755   RODNEY       TERRY                        OH     64585040349
917663A9891944   DIOCELINA    PELAEZ                       NC     17016873098
917677A665B371   TRACI        HOEFER                       OR     90013347066
91767814472B42   TERESA       JOHNSTON                     CO     33078508144
917686A7681692   SARAH        WOODROME                     MO     90009346076
91768742572B3B   JESSICA      MUNOZ                        CO     90014847425
91768A2972B84B   KARLA        GARCIA                       ID     90000610297
91768A63531447   TARA         STROOT                       MO     90000160635
9176B25A333698   FLORA        CLARK                        NC     90014862503
9176B564272B62   JESSICA      GONSALEZ                     CO     90010345642
9176B64692B981   ADRIANA      LOYA                         CA     90003466469
9176B646991882   LINDA        WISE                         OK     90003736469
9176B7A2881635   AJA          BEEKS                        MO     90000627028
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1561 of 2350


9176B87365B371   CLAIRE M     BEACH                        OR     90012648736
9176B91798436B   SKYLER       GOGAN                        SC     90014849179
9176B932991327   ANTHONY      JONES                        KS     90013339329
9176BA34751342   MIGUEL       SALAS                        OH     66064580347
91771239872B56   GUSTAVO      MEZA                         CO     90013952398
91771516772B56   JAVIER       MEJILLA                      CO     90014005167
91771843772B62   VICKI        YOUNGER                      CO     33061118437
9177289148436B   STEPHEN      MARTIN                       SC     90014018914
9177328555B531   LUZMARIA     DUARTE                       NM     90013962855
9177328727B444   JENNIFER     GALEAS                       NC     90013182872
91773537672B42   REBECA       MUNOZ                        CO     33076375376
91773692A5B371   SIBHAN       DENHAM                       OR     90013486920
9177383568436B   ERICA        SESSIONS                     SC     90009768356
91774221A33698   HEATHER      SELTERS                      NC     90010472210
9177473962B27B   TYRONE       DORSEY                       DC     90013087396
9177497174B588   KEVIN        SMITH                        OK     90009529717
917751A9491599   BERNICE      QUEZADA                      TX     75081871094
917759A1691399   SANDY        DE LARA                      KS     90004549016
91775A49261977   MARINA       ESQUIVEL                     CA     90015080492
917761A535B371   KRISTIN      VALDES                       OR     44517891053
9177625454B588   KAROLYN      HOWARD                       OK     90012342545
9177652A84127B   JIMMY        MANN                         PA     90010395208
9177678524B588   JEANISHA     BOWEN                        OK     90012357852
91776797A33698   KENDRA       TAYLOR                       NC     90014057970
91776859A2B27B   MELVIN       STANARD                      DC     90012798590
917771A8285689   REGGIE       HOLLEY                       NJ     90010841082
917772A4393755   ROBERT       KILBY                        OH     64588102043
91777481A91521   ERNESTO      GARCIA                       TX     90011054810
9177764615B383   VICKI        CARLON                       OR     44589296461
9177794725B531   SALOMON      WAR                          NM     35027089472
91777A53291951   SILVANO      ANDRADE                      NC     90011390532
91778514372B32   LUCY         DELGADO                      CO     90002115143
9177854834B949   BRANDON      JORDAN                       TX     90009025483
9177883165B371   DENISE       COX                          OR     90015128316
91778A4295B548   CHRIS        HERRERA                      NM     90014640429
91778A6A393755   BLAK         FRISHAUN                     OH     90000960603
91779313172B3B   TAMMY        KATANA                       CO     33014223131
9177976598B581   FRANK        LAGATTUTA                    CA     90014337659
9177984155B371   MICHELE      SMITH                        OR     90011778415
9177B218791944   SCHARELL     LOLITHA WILLIAMS             NC     90014922187
9177B276991327   JOSE         PADILLA                      KS     29019722769
9177B33747B444   SHEILA       ALEXANDER                    NC     11091273374
9177B53A14B554   KATHERINE    TIMMONS                      OK     90013955301
9177B715481635   JAYME        SMITH                        MO     90004707154
9178128759188B   KEALA        BETTS                        OK     90010842875
9178153814B554   ROBERTA      RAMIREZ                      OK     90013955381
9178165488436B   MARIO        FROST                        SC     90012916548
91781719872B56   LARRY        RODARTE                      CO     33010717198
91782528A41296   DANIELE      JONES                        PA     90014915280
9178259336B85B   LATOYA       TATE                         IL     90013225933
91782738A85689   GUILLERMO    COLIN                        NJ     90014877380
91782831A91599   CHANDA       ROBINSON                     TX     90015128310
9178288275B371   JOHN         NIPPER                       OR     90003658827
91782A66633B32   MICHAEL      SEGIN                        OH     90015390666
9178394AA93755   LURINE       TASTE                        OH     90012889400
917839AA572B3B   JAVIER       RODRIGUEZ                    CO     33092529005
9178439768B158   ANDREA       VARGA                        UT     90009843976
9178455A24B554   MARVIN       MONTERROSO                   OK     90013955502
917849A282B27B   CHANTIKA     DAGLE                        VA     90012509028
917849A355B383   CORNELIA     DRONCA                       OR     90006359035
91785285872B42   JOSE         NUNEZ                        CO     90003082858
9178545854B554   FILIMON      MANTILLA                     OK     90013314585
91785893372B32   KARRIE       OLIVER                       CO     90008958933
9178598A933698   SERGIO       MARTINEZ SALAZAR             NC     90014809809
9178599A881635   BRITNEY      BARTLEY                      MO     90015149908
91786148A55951   JOLENE       CASTLE                       CA     49043201480
917864A8161979   ISABEL       PERKINS                      CA     90001844081
91786822572B62   ARLENE       ESQUIBEL                     CO     90015118225
9178682735B399   MICHAEL-RJ   WILTGEN                      OR     90002068273
917868A9691521   DEYANIRA     PORRAS                       TX     90014868096
9178694A681638   G            WALKER                       MO     29040139406
9178745415B548   BRAULIO      HERNANDEZ                    NM     90014694541
917875A5872B56   YERIC        BARRIENTOS                   CO     90011755058
91787A13A81635   TINA         BAIRD                        MO     90013420130
91787A49272B3B   IRMA         DIAZ QUIROZ                  CO     33090060492
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1562 of 2350


91788474972B42   MARIA        RIVERA                       CO     90013124749
91788634872B32   APRIL        ALVAREZ                      CO     90013646348
9178863995B383   MARK         PENTER                       OR     90001786399
9178888A291592   MARIA        MARQUEZ                      TX     90001118802
917889A385B548   LESLIE       TAFOYA                       NM     35091859038
91788A22172B42   MARIA        RIVERA                       CO     90014490221
91789A22391521   ALLEN        VANTASSELL                   NM     75005000223
91789A31172B32   ALFONSO      MARQUEZ                      CO     33066880311
91789A8464B588   YULIZA       LOPEZ                        OK     90011350846
9178B125585689   RENEE        WILLIAMS                     NJ     90012791255
9178B478191882   JOE          HARO                         OK     90010394781
9178B53122B27B   YULMAN       MONTUFAR                     VA     90013935312
9178B53724B554   STEPHEN      BREWER                       OK     90013955372
9178B576272B56   JENNIFER     JACKSON                      CO     90014945762
9178B776491599   LORETTA      LOPEZ                        TX     90007727764
9178B848572B62   OSCAR        SANCHEZ                      CO     90015188485
9179123783164B   JANETTE      SPEAR                        KS     22009262378
9179154142B27B   KISHA        RICHARDSON                   DC     90013935414
91791592572B32   ARLENE       GARCIA                       CO     90001795925
91791995A91944   MARINA       AMAYA                        NC     90013959950
91791A63672B3B   KARIMOT      GAMU                         CO     33067520636
91791AA3A72B32   JEFFREY      MAUNTEL                      CO     90012840030
91792A45991579   RALPH        GALLEGOS                     TX     90008900459
91793189772B3B   RANULFO      MORENO RODRIGUEZ             CO     90012451897
9179442855713B   DANI         ALVAREZ                      VA     90010134285
917945A7A72B3B   LAH          GAY                          CO     90014895070
917946AA185689   SONIA        JUAREZ                       NJ     90014466001
91794A49A91584   JESUS        NATERA                       TX     75092350490
91794A84385953   DARECI       BOND                         KY     67095960843
9179566775B371   CANDACE      TILLERY                      OR     44594256677
9179685535B548   BRYANT       JONES                        NM     90013348553
91797782172B56   FRANKIA      WILOFF                       CO     90007017821
91797A4648436B   SALOMON      HERNANDEZ                    SC     90011000464
917988A7572B56   WILLIAM      PINEDA                       CO     90012448075
9179917855B371   SEARE        HABTEGIORGHIS                OR     90004521785
9179984184B554   NATISHA      MURRY                        OK     90011588418
9179B373872B3B   ADRIAN       GUTIERREZ                    CO     90010223738
9179B586972B32   CRIS         CHRISTENSEN                  CO     33094735869
9179B659491521   OLIVER       DALE                         TX     90013166594
9179B733291399   DIEGO        SOTO                         KS     90008787332
9179B7A2641296   MELISSA      ZECKOWSKI                    PA     51074467026
917B134964B949   BRANDY       GUERRA                       TX     76512663496
917B2132A91599   EDUARDO      PEREZ                        TX     90011431320
917B2318172B32   ESTELA       PINA                         CO     33077703181
917B268A55B371   ROBERTO      LOPEZ                        OR     90002746805
917B2812861979   JORGE        LIZARRAGA                    CA     90010778128
917B2A16772B62   ARTURO       ESPARZA                      CO     90006180167
917B2A2162B27B   DIETRA       KNIGHT                       DC     90013960216
917B2A95A7B477   TAMIKA       WHITE                        NC     90009600950
917B3326A72B32   RANDEL       JONES                        CO     33039193260
917B3361391399   MONICA       MOORE                        KS     90014633613
917B3363472B84   MARK         CAMERON                      CO     33004113634
917B345375B548   THOMAS       MORROW                       NM     35080324537
917B3596891882   SHIRLEY      BRADLEY                      OK     90014815968
917B3623793769   JOY          CLARK                        OH     64522106237
917B4295781634   NENE         JONES                        MO     90012842957
917B465583164B   AMBER        HOVIOUS                      KS     90004676558
917B474A293778   TUNYA        MARTIN                       OH     90012887402
917B48A535B548   PAUL         AGULAR                       NM     90012988053
917B5194885689   REINA        ROBLERO                      NJ     90014171948
917B5261261977   LEYLO        ALI                          CA     90014392612
917B5279291882   SHATILYA     BARNES                       OK     90014802792
917B546577B386   ANTHONY      FFF                          VA     90010054657
917B548A581634   TONISHA      ALEXANDER                    KS     90011304805
917B5713381634   DYISHANAI    WALLACE                      KS     90015077133
917B574284B558   JENNIFER     YENGST                       OK     90001337428
917B5993872B32   R.J.         VALDEZ                       CO     33065749938
917B642AA72B42   LUPE         GUTTIREZ                     CO     33085274200
917B6735433698   AREONA       MARTINEZ                     NC     90010437354
917B676955B548   SUSAN        RODRIGUEZ                    NM     35051707695
917B685A493755   RITA         RICE                         OH     64584408504
917B6881472B32   SAM          LEE                          CO     90009228814
917B6A4425B371   OCTAVIO      RODRIGUEZ                    OR     44505990442
917B7135181634   BRETINY      LAMPKIN                      MO     90003801351
917B7167A72B62   ALEXIS       IBARRA                       CO     33059081670
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1563 of 2350


917B742744B554   LORETTA          LEDFORD                  OK     90013954274
917B7691861979   MARIA            PINA                     CA     90010566918
917B7914693755   CAROLYN          HOLMES                   OH     64569609146
917B79A6772B32   KENNETH          STEELE                   CO     90014239067
917B8136191599   JOSE             PALACIOS                 TX     90008521361
917B8148791944   SHANICE          JONES                    NC     90014361487
917B825A881635   SHAMIKA          MAYBERRY                 MO     90013832508
917B8334A72B42   MARCOS           MENDEZ                   CO     90014783340
917B8797272B56   PATRICIA         CORREDOR-GUERRERO        CO     33016627972
917B8836191521   CECILIA          BALTAZAR                 TX     90001708361
917B8A5674B554   PETRA            RAMOS                    OK     90011580567
917B9373393736   JOSHUA           MICHAEL                  OH     90008353733
917B9619433698   ALANNA           MEADOWS                  NC     90015146194
917BB17794B588   JUAN             GONZALEZ                 OK     90011121779
917BB2A9972B83   GARY             PATTERSON                CO     90012152099
917BB48782B27B   CORNELIUS        GASKINS                  DC     90013934878
917BB671761977   JESUS            LIMON                    CA     90012446717
917BB848981638   RICKIE           OROURKE                  MO     90007028489
917BB9A4955951   LUCKYSATHIRATH   MEAS                     CA     90013209049
9181151953164B   JOANNE           DICKSON                  KS     22036135195
91811652A5B237   KERRY            RAWLS                    KY     90010586520
91811AAA391521   LORENZO          LERMA                    TX     90012010003
9181226A272B56   KARLA            VEGA GARCIA              CO     90013952602
9181233964B554   SHANAE           BROWN                    OK     90008513396
91813A3294B554   JOSEPHINE        JACKSON                  OK     90014690329
91814229872B62   MARIO            NAVARRO                  CO     90014922298
91814A7218436B   DARRELLCA        MICHELLE                 SC     90015290721
9181514188436B   KRISTA           SMITH                    SC     90003931418
9181525A391599   JOSE             MUNOZ                    TX     75035632503
91815494A72B42   DENNISE          FRAIRE                   CO     33081954940
91815A28293769   ANTHONY          FINCH                    OH     90004230282
9181631A55B531   RICHARD          HILL                     NM     90014713105
9181692324B554   JUSTINE          WRIGHT                   OK     90014739232
91817237172B56   CLEMENCIA        SANTOS LOPEZ             CO     90013822371
9181755387B444   AVELARDO         QUINTERO                 NC     90011945538
9181763798B175   LORI             HALSTENRUD               UT     90014466379
9181786294B554   KEVIN            NICHOLSON                OK     90013968629
9181814A791882   WILLIAM          BROWN                    OK     90011061407
91818228172B42   ZANE             ENIX                     CO     33011752281
91818837A91344   ALFREDO          PALACIOS                 KS     90008438370
9181914935B371   EVELYN           LEWIS                    OR     90013151493
918192A5A91599   GIBRAN           CONTRERAS                TX     90013572050
91819465372B56   SABINO           GONZALEZ                 CO     90013604653
918194A7A91599   OLGA             FELIZ                    TX     90012144070
91819545772B56   SABINO           GONZALEZ                 CO     90007945457
91819639172B32   BLANCA           DE LA CRUZ               CO     90013646391
9181B267A91882   SARAH            LOGAN                    OK     21082692670
9181B375561979   AEUSA GARCIA     RAUL CONTRERAS           CA     90006063755
9181B41752B981   BRAULIO          LOPEZ                    CA     90003484175
9182119138436B   TINA             NELSON                   SC     90005291913
9182185115B383   LOURDES          JAUREGUE                 OR     90009538511
9182219234B588   DELORES          EVERETT                  OK     90014101923
9182277A28B175   ROSE             AAGARD                   UT     90009517702
91823123372B32   JAIME            BACA                     CO     90003271233
9182363A893769   CHRIS            STURGILL                 OH     90008156308
91823754372B57   PEDRO            ESTRELLA                 CO     90001997543
9182381554127B   DAVE             WALLACE                  PA     90010868155
9182431A68436B   MANDY            GILBERT                  SC     90005043106
918248A4A91944   VIRGNIA          HERNANDEZ                NC     17006298040
91825932A72B62   MAE              SILVA                    CO     33092449320
9182662318436B   JAVON            RICHARDSON               SC     90014726231
91827172972B42   OSWALDO          RIVERA                   CO     33068711729
9182751575B548   OREANNA          ROCK-MURPHY              NM     35050535157
91827622A55951   JOSE             LOZANO                   CA     90006006220
918276A5291882   FAWNA            HENDERSON                OK     90014816052
9182934932B27B   JOSE             AYALA                    DC     90004923493
9182956892B27B   APRIL            BAZEMORE                 DC     90013935689
9182981715B371   SEQUOIA          MCMAUNUS                 OR     90014888171
91829A1544B554   JUAN             MARTINEZ                 OK     90013970154
9182B147272B56   RICARDO          GONZALEZ                 CO     90013811472
9182B295472B32   ARLEN            RENSHAW                  CO     33000942954
9182B34634B588   DIRNECKO         FRAZIER                  OK     90009443463
9182B43395B531   GALLEGOS         VINCE                    NM     90010624339
9182B64316192B   CHRISTINE        KAISER                   CA     46053666431
9182B878391399   DEANDRE          TATUM                    KS     90007788783
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1564 of 2350


91831737972B3B   GUADALUPE          GONZALEZ               CO     90004107379
9183182685B548   ROBERT             GALLEGOS               NM     90012458268
9183193633164B   DANIEL             MAXTED                 KS     22091459363
91831A9A681634   JASON              MONTEIL                MO     90002050906
9183272AA91599   SILVIA             FIGUEROA               TX     90011717200
91832A54951342   ANDREA             SORRELL                OH     90012400549
91833176A91521   VERA               ESTRADA                TX     90012271760
9183356424B554   RYAN               WELLS                  OK     90014915642
91833851A7B444   LACHELLE           DAVIS                  NC     90009218510
9183438A761977   KARINA             ELIZABETH              CA     90015323807
91834A21581634   TERESA             MAZE                   MO     90013580215
9183527572B27B   KENO               HOWELL                 DC     90012402757
9183548665B383   SHAKYLA            GIVENS                 OR     90012064866
91836133572B32   DERIAN             CROSS                  CO     90007491335
9183618914B554   JUDITH             THOMPSON               OK     90006971891
9183664234B949   AMY                SMITH                  TX     90011006423
918366A152B889   STACY              MARTIN                 ID     42015916015
9183674968436B   LIZA               JUREY                  SC     90014357496
9183745A998B21   PATRICK            ELUHU                  NC     90008764509
9183756628B175   PAUL               FOLAUMAHINA            UT     90010795662
91837839A93755   TORRANCE           CLEVELAND              OH     90006368390
9183828992B27B   BERHANE            HAILE                  DC     90014432899
9183849874B588   JACOB              CHAMBERLIN             OK     90010214987
9183851285B531   TERESITA           QUINTANA               NM     35069975128
9183896724B554   BRITTANY           COULTER                OK     90011589672
918393A558B175   ON                 KHONG                  UT     90009633055
918394A7891599   NATALIE            SANCHEZ                TX     75013824078
9183956A491882   JAMES              PERRY                  OK     90014805604
91839639372B32   ELIZABETH TORRES   JOSE ANDRADE           CO     90012886393
9183987694B554   ANDREW             SMITH                  OK     90013968769
9183B44485B548   EDNA               TRAVIZO                NM     90012104448
9183B477A72B42   MIGUEL             SARABIA                CO     90010594770
9183B48387B429   ANA                MOLINA                 NC     90008884838
9183B97745B535   JAMES              KNIGHT                 NM     90008009774
9184123388B175   KATHERINE          COPE                   UT     31073732338
9184172692B27B   SHUCK              BANKS                  DC     90014767269
91841A64891521   STEVE              ALVIDREZ               TX     90014330648
9184243A95B548   CAROLINA           GARCIA                 NM     35025854309
91842A7A991944   DWIGHT             KIRBY                  NC     90005810709
91844134A55951   MARISSA            FUENTES                CA     90012261340
918441A958436B   EARL               CLARK                  SC     90013491095
91844537672B56   NERI               SANTOS                 CO     90011755376
9184485994126B   MICHAEL            CARTER                 PA     51013418599
9184485A791944   VANESSA            CONCEPCION             NC     90012408507
91845382272B3B   LISA               CERVANTES              CO     90012353822
9184592744B588   CRYSTAL            CARSON                 OK     90007639274
91845A61591521   MARIA              GONZALES               TX     90007980615
9184629A477537   AMBER              NORINE                 NV     90014942904
918462A788436B   BRANDEE            AYERS                  SC     90012212078
91846387A91521   FLOR               CARMONA                TX     75016363870
918464A8781676   JRY                BIGGS                  MO     90014894087
918466A6372B56   EMILIA             PORTILLO               CO     90003676063
91846A7A24B588   YADIRA             BANUELOS               OK     90013980702
9184728457B35B   YESY               FLORES                 VA     90013512845
9184731A55B531   RICHARD            HILL                   NM     90014713105
91847326A4B949   JUAN               BANDA                  TX     90009113260
9184748468B175   ARMANDO            ROSILLO LARA           UT     90008984846
9184775215B548   RICHARD            GALVAN                 NM     90012167521
9184797123B366   ELLEN              NEKOUIE                CO     33091019712
9184813854B588   CHRISTIAN          MADDEX                 OK     90014141385
9184817A791882   JOHNETTE           SMITH                  OK     90012151707
918485A287B444   PETER              PALUMBO                NC     90012685028
91848775372B42   STEPHANIE          MOONEY                 CO     90014607753
9184882155B548   BIANCA             CORDOVA                NM     35090398215
9184915738436B   JOHN               MORRIS                 SC     19001701573
91849176372B32   JAIME              AMEZA                  CO     90012401763
918494AA191521   ASHLEY NICOLE      GROLOU                 TX     90012184001
9184957922B27B   VINSON             NASH                   DC     90013935792
91849951172B3B   ALTA L             DAVIS                  CO     90001829511
91849A57372B56   PAUL               CHAVEZ                 CO     33069730573
9184B283A2B981   GRISELDA           CLAYTON                CA     90005672830
9184B511172B3B   EDDIE              GUZMAN HERRERA         CO     90001535111
918519A484B554   STEPHEN            ROZOS                  OK     90006129048
91852455A81634   MANUEL             CALDERON               MO     90012984550
9185319865B371   SHELLEY            ALLEN                  OR     44598501986
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1565 of 2350


91853368572B3B   JAMES        MONTOYA                      CO     90014933685
918537A4193748   ROBERT       JEFFRIES                     OH     90010427041
918538A5133698   YONDIRA      ALVAREZ                      NC     12054868051
9185399385B548   CHERENE      HUGHES                       NM     90014759938
91854197672B56   JOHN         HARDEN                       CO     90006761976
9185457922B27B   VINSON       NASH                         DC     90013935792
9185479845B383   LINDSEY      BURDETT                      OR     44508717984
91854A24491951   MARCUS       HALL                         NC     90011200244
9185545744B949   DEJENE       CARPENTER                    TX     76565584574
918559A932B27B   PATRICAI     PAZ                          VA     90008669093
91856639A91399   ELIDA        MORA                         KS     90007066390
9185745932B27B   GAIL         WOODEN                       DC     90014864593
9185774115B383   LESLIE       MATHIES                      OR     44565817411
918579A964B554   ANIBAL       RODRIGUEZ                    OK     90013969096
91857A2A95B531   DOLORES      ITURRALDE                    NM     35067180209
9185963825B525   LISA         CIANCHETTI                   NM     90013136382
9185B12A38436B   PATRICIA     STEEN                        SC     90011451203
9185B313372B56   YADIRA       RODRIGUEZ BERNAL             CO     90012773133
9185B468491882   SILBERIA     SALGADO                      OK     90014574684
9185B522A72B62   CASSIE       GLOSSOP                      CO     90014005220
9185B61195B531   DEANE        DOUG                         NM     35095516119
9185B732741296   MARY         SACCO                        PA     51089317327
91861224872B56   CHANDRA      WEEAMS                       CO     33036012248
918618A8677537   SOLEDAD      NAVIDAD                      NV     43033848086
91862281472B43   AMY          HARDER                       CO     33031792814
918628AA52B27B   WAYNE        BUCKSON                      DC     90009468005
918633AA733698   EMILY        VAUGHN                       NC     90012273007
91863621572B42   ELCIRA       NURENA                       CO     33055116215
91863A5A251331   CHARLES      DILLARD                      OH     66012570502
918641A3591951   FRANCIS      SENDOLO                      NC     90014621035
91864316172B56   MARCUS       LUCAS                        CO     90012773161
918643A974B554   FAUSTINO     OLGUIN                       OK     21575273097
918646A4172B62   MICHAEL      BECK                         CO     90014366041
91864841A5B548   ELMER        WELSON                       NM     90013128410
91864967372B3B   ALVARO       MUNOZ                        CO     33061509673
91864A3543164B   CHRISTIANO   RENALDO                      KS     90012320354
91865786A41296   JOSEPH       PRITCHETT                    PA     51051227860
9186581334B949   WILNITRA     BUCKLEY                      TX     90011018133
9186581592B27B   ASHLEY       TAYLOR                       DC     90011488159
91865878172B32   JESSICA      MARTINEZ                     CO     90013568781
9186611322B26B   VIOLET       COUNCIL                      DC     90008411132
918661A497B444   FELITA       COUSART                      NC     90010241049
9186685334B588   APRIL        SIMS                         OK     90015178533
91866A2828B175   BILLIE JO    DENSLEY                      UT     90001670282
9186731257B444   EDUARDO      GAMEZ                        NC     90012803125
91867413A7B444   DENNIS       BOYD                         NC     90011324130
91867643A8B175   JENNIFER     MCDANIEL                     UT     90012096430
91867A12661977   RENE         RE                           CA     90001410126
91867A5A685689   YASMIN       OREYANA                      NJ     90012960506
91868135A85689   DATRELL      LINGO                        NJ     90013051350
9186815715B531   PAT M        BACA                         NM     90014851571
918682A2461977   LEA          RODRIGUEZ                    CA     90012612024
918689A7491399   JULIEANNA    MCGINNIS                     KS     90013089074
9186B188A55951   ROSALINDA    POLIN                        CA     90012741880
9186B33142B948   STEVE        CHARLES                      CA     90007483314
9186B3A288B175   REBECCA      LAYTON-ROSA                  UT     90013333028
9186B497591521   SAIDA        MONTERO                      TX     90010774975
9186B864261977   REECE        DECKER                       CA     90014348642
9186B931972B56   CLINTON      BIGGS                        CO     90012859319
918712A6991599   LORENA       RODRIGUEZ                    TX     75086752069
9187147A972B56   DENNIS       GARCIA                       CO     90013984709
9187155192B981   BRENDA       RIOS                         CA     45078115519
9187174717B49B   MARCO A      INCLAN                       NC     90006967471
9187186224B588   ELDRICK      SIMMONS                      OK     21568038622
9187279374B558   CAROL        CASS                         OK     90001177937
91872968A93756   JOSH         PAINTER                      OH     64512359680
91873558472B56   DIANA        PADILLA                      CO     90011755584
91873771A91547   MANUELA      PORRAS                       TX     75083867710
9187444A393756   TODD         LEONARD                      OH     64589264403
918745A9493778   MARCHELE     INGRAM                       OH     90003185094
91874742572B3B   JESSICA      MUNOZ                        CO     90014847425
91874A95291951   MEYBELIN     PERDOBA                      NC     90015120952
918752A955B383   JANET        TELLEZ                       OR     44571412095
9187539634B554   OLMIN        FLORES                       OK     90012083963
918757A9391521   JORGE        VARGAS                       TX     75067647093
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1566 of 2350


91875A86455951   ESTELA       VENTURA                      CA     90003990864
9187633974B581   CHARLOTTE    LOTTIE                       OK     90006573397
9187689588B181   SHAUN        DUSTIN                       UT     31063288958
9187696548436B   JIMMIE       HORN                         SC     90010209654
91877276672B56   ALEXIS       CHACON                       CO     90013952766
91877467172B42   MOISES       ROMERO                       CO     90010824671
9187784132B27B   MARTHA       RODRIGUEZ                    DC     81027968413
9187866AA2B27B   BLAIR        VARNER                       DC     90007876600
9187881218B181   CANDACE      CLARK                        UT     90002628121
9187938438B13B   DANIEL       QUINTANA                     UT     90003633843
9187944543164B   JENNIFER     LEWIS                        KS     90013814454
91879537972B32   NECOLE       WING                         CO     33067965379
9187956A13164B   JENNIFER     LEWIS                        KS     90014635601
91879729A7B361   RODRIGO      RIVAS                        VA     90002297290
91879746372B62   GREGORY      DAVIS                        CO     33092477463
9187992474B554   DONNA        JOHNSON                      OK     90011889247
91879A68457B3B   SARAH        RIVERA                       PA     90014090684
9187B23253164B   ELIZABETH    GARCIA                       KS     90012862325
9187B24525B548   BEATRICE     WILLIAMS                     NM     90014652452
9187B364672B56   BURT         HUDSON                       CO     90006173646
9187B827977537   ARMANDO      MEDINA                       NV     90013898279
9187B89588B181   SHAUN        DUSTIN                       UT     31063288958
9187B99835B371   BARBARA      GASTON                       OR     44501759983
91881394772B56   SHANAELA     SMITH                        CO     33014883947
91881566A93756   JULIE        SCHNELL                      OH     90009935660
9188177AA5B26B   PEGGY        HEARNE                       KY     90011927700
918817A9291882   JERRY        MENDEZ                       OK     90014807092
9188188227B444   JHOVANY      ZUMAYA                       NC     90012428822
91882277A72B56   LUIS         LOPEZ                        CO     90013952770
9188252A58B175   PEDRO        RAMOS                        UT     90010275205
9188269AA3164B   VINCENT      CHEVES                       KS     90009666900
9188346414B261   NICOLE       LEONARD                      NE     90012964641
91883596A2B27B   DONNA        JAMERSON                     DC     90011415960
91883A2218436B   ANITRIA      JENKINS                      SC     90007480221
91883AA574B954   HEIDI        TORRES                       TX     90013570057
9188474115B383   LESLIE       MATHIES                      OR     44565817411
91884747A91599   FRANCISCO    RODRIGUEZ                    TX     75030697470
9188513432B27B   EMERSON      HERNANDEZ                    DC     81005961343
9188522965B371   LINDA        SON                          OR     44572802296
91885439A3B39B   MICHELE      SCHENK                       CO     90010904390
91885822672B3B   JOHN         SIDBERRY                     CO     90002848226
918858A538B347   PATRICK      CAMPBELL                     SC     90014408053
9188754183B358   ANDRE        JONES                        CO     90013935418
9188794624B554   MARQUETHIA   BARBER                       OK     21597279462
9188824167B444   TAMARA       LOCKHEART                    NC     90009062416
918887A1272B3B   MIRANDA      GOMEZ                        CO     33005097012
91888AA6177537   LIDIA        BARAJAS                      NV     43044650061
91889542872B56   ITZEL        ZUNIGA                       CO     90013775428
9188998A69153B   ENRIQUE      REY                          TX     75008499806
9188B33997B43B   DENISE       FORBES                       NC     90002423399
9188B68A861977   MICHELLE     GILMORE                      CA     90010376808
9188B734491599   JACQUELINE   VARGAS                       TX     90013587344
9189127A591599   VIRGINIA     SILVA                        TX     75006342705
9189128557B444   STEPHEN      MILLIGAN                     NC     11063452855
918912A1951342   MARGARET     GUTHRIE                      OH     66074202019
9189146638436B   JASON        BRADLEY                      SC     90006034663
918929AA35B548   SARAHI       FERNANDEZ                    NM     90014999003
9189335565B371   SONIA        TELLEZ                       OR     90009363556
9189372935B383   JENNIFER     MCCALMONT                    OR     90001797293
9189389444B588   ELIZABETH    HILLIN                       OK     21580308944
91893A16491599   ADRIANA      GOMEZ                        TX     90014530164
91893AA8481635   JOSEPH       DICKERSON                    KS     29067200084
91894139872B3B   ROBERT       CLIFTON                      CO     90013371398
91894278372B56   FELICIA      GONZALES                     CO     90013952783
918948A6A72B32   ERICA        GONZALES                     CO     33071438060
91895427472B56   MARIA        RAMOS                        CO     33006284274
91895597A91951   VICTOR       BARBEE                       NC     17098345970
91895A4997B444   LENETTA      BROWN                        NC     90013660499
91895A67555946   ANA          GARCIA                       CA     90004980675
918966A5461921   QAIS         ARABO                        CA     46088096054
9189697814B554   BRITTANY     HENSLEY                      OK     90014099781
9189769338436B   TIEKA        SEABROOK                     SC     90013376933
9189771422B27B   TEFERI       ABERA                        DC     90012737142
91898568972B32   DARIN        TEMPETON                     CO     90007935689
91899278472B56   MARIO        VENEGAS                      CO     90013952784
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1567 of 2350


91899575472B42   ARNULFO      SANCHEZ                      CO     90002355754
91899589472B3B   BEN          LUCERO                       CO     90014335894
91899915172B32   TINA         GARCIA                       CO     33061199151
9189B269281648   MIJAH        JOHNSON                      MO     90008432692
9189B3A3581635   LUIS         AVILA                        MO     90015233035
9189B86448B175   TINA         SCHILLING                    UT     90003088644
9189BA4215B383   MISS NISHA   THOMAS                       OR     90012540421
9189BA9158436B   ERICA        SIMMONS                      SC     90013360915
918B1282291399   JOSE         BALDERAS                     KS     90010672822
918B1594272B32   VERONICA     CALVILLO                     CO     33016785942
918B1657372B93   BARBARA      SMITH                        CO     33055826573
918B242535B177   DERRICK      MCKNIGHT                     AR     23072084253
918B2665691599   DENISSE      GOMEZQ                       TX     90012996656
918B3143855951   ESAI         MARTINEZ                     CA     90013971438
918B324618B175   IVANA        ADAMS                        UT     31081962461
918B329AA91944   KIMBERLY     LEACH                        NC     90011382900
918B3349A5B548   ZACHARY      OTERO                        NM     90012793490
918B3597293755   JOSHUA       MIDDLETON                    OH     90013545972
918B366A35B383   ZULEMA       GARCIA                       OR     90003426603
918B3741A72B56   ANDRES       NAVA                         CO     90014827410
918B3786191521   JOEL         OLIVAS                       TX     90012867861
918B388175B531   JARED        JACKSON                      NM     90013648817
918B38A4191399   GINA         CHAPMAN                      KS     90001658041
918B4318591951   SADAF N      KHAN                         NC     90013973185
918B4635A91951   MODESTO      SAMPAYO                      NC     90014906350
918B4729181635   LAMAR        JOHNSON                      MO     90007557291
918B4776691521   ARACELY      GARIBAX                      TX     75021847766
918B4A5746B85B   CHEYANNE     OPSAL                        WI     90015570574
918B5197177537   JOSE         GARCIA                       NV     90012361971
918B561A976B8B   ERIK         CHASE                        CA     90009516109
918B6117991951   THERESA      AVERY                        NC     90011271179
918B6451972B42   MARTHA       RUBIO                        CO     90010594519
918B67AA193756   MATTHEW      KISER                        OH     90011597001
918B7341191599   VIRGINIA     GARCIA                       TX     90014123411
918B7661972B62   REFUGIO      CASILLAS                     CO     33060116619
918B7A31333698   RANDI        QUICK                        NC     90013540313
918B818383164B   SHARLENE     DAUTEL                       KS     90014811838
918B8842572B32   DESIREE      PAGE                         CO     33022528425
918B8A12293755   WAYNE        LAWRENCE                     OH     90009760122
918B9353172B42   BOGGS        LESLIE                       CO     33050123531
918B9968A85689   NIEVES       ALVARADO                     NJ     90011739680
918BB659491882   MICHAEL      LANE                         OK     90014456594
919111A5691951   BRANDEL      SHOUSE                       NC     90013851056
9191144863B366   TIFFANY      DESALVO                      CO     90013234486
9191161895B371   BRANDY       KELLEMS                      OR     90014006189
91911811A91599   MIGUEL       VASQUEZ                      TX     90012358110
91911893572B62   JOHN         RODRIQUEZ                    CO     33072788935
91911A4594B554   RAYMUNDO     RAMIREZ                      OK     90013970459
91912288372B56   JERRY        HAMMERBECK                   CO     90013952883
9191249177B444   CAROLINA     NASH                         NC     90007974917
919127A8341296   SUSAN        GARIA                        PA     51036837083
9191298943B331   SONIA        PAYAN                        CO     90005209894
91912A4784B554   BRIAN        WALSH                        OK     90013970478
91912AA2991944   ESTER        ALFARO                       NC     90007530029
91913288372B56   JERRY        HAMMERBECK                   CO     90013952883
91914418A4B554   BREANNA      DUBUQUE                      OK     90011004180
9191445365B531   THEODORE     NELSON                       NM     90014154536
9191524748B175   SARAH        STRONG                       UT     90012382474
91915291372B56   CARRI        JONES                        CO     90013952913
91915A5274B554   OSCAR        BROWNING                     OK     90013970527
9191616595B383   JUAM         CUELLAR                      OR     44547751659
9191636119153B   MARIA        ARREOLA                      TX     75009303611
9191647395B371   MARIA        NAVARRO                      OR     90011784739
91917395772B32   ROSE         OROZCO                       CO     90010583957
91917764A91521   JESUS        HERDON                       TX     90012977640
91918291772B56   CRYSTAL      ONESLAGER                    CO     90013952917
9191836485B378   BUZZ         A MURRAY                     OR     90000803648
9191846A191882   KAYLEE       CHRONISTER                   OK     90012004601
919189A6381635   NINA         GREEN                        MO     90015159063
9191931725B383   CHARLENE     CAMPBELL                     OR     90013173172
919197A3761979   STEPHANIE    MATTEWS                      CA     90002397037
9191B2A9955951   SABRINA      COLE                         CA     90012072099
9191B3A5455951   JOSE         DIAZ                         CA     49047993054
9191B492772B42   ALFREDO      LEYVA                        CO     90013124927
9191B49373164B   NANCY        EDWARDS                      KS     90009174937
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1568 of 2350


9191B791577537   THERESA         KEATS                     NV     90013097915
9191B912141296   ROBERT          WELLER                    PA     90009419121
91921242472B3B   KRISTEN         MILLER                    CO     90012032424
91921764A61977   DARSELL         CREWS                     CA     90011707640
9192181415B531   LUIS            PAREDES                   NM     35093908141
91921A6A94B554   VANESSA         STARKEY                   OK     90013970609
919227A1691944   BRANDI          HUNT                      NC     90012017016
9192319A255951   CHARLES         FRAZIER                   CA     90013191902
9192373938B175   SERGE           NANA                      UT     90015147393
9192377893164B   JESSE           EAST                      KS     90012957789
91924296872B32   VARGAS          SHELLY                    CO     33065742968
9192456254B588   GONZALO         LOPEZ                     KS     21512305625
91924A9868B181   SAMANTHA        SOWERS                    UT     31026600986
9192521A472B32   ANTHONY         PENDERGRASS               CO     90012852104
9192529A633698   BRANDY          FULORD                    NC     90003892906
9192566A961977   LENORA          FLOWERS                   CA     90012116609
91925A22857137   JUILET          UGOCHUKWU                 VA     90010330228
91925A6714B554   KRISTIN         MOSES                     OK     90013970671
91926238472B42   DESIRAE         VIGIL                     CO     90007152384
9192644314B588   MARIA           PERALES                   OK     21581164431
9192657114B277   KARINA          MALDONADO                 NE     27057655711
91927655A4B588   ALEJANDRO       IBANEZ                    OK     90010746550
91927825772B42   MELINA          CRUZ                      CO     90011388257
91927A6764B554   CERA            WADE                      OK     90013970676
91928287172B32   ANDRE           FRESQUEZ                  CO     90015152871
919285A3591521   YADIRA          MEDINA                    TX     90011125035
919285A475B545   NELLIE          DUARTE                    NM     35001545047
91928A6527B444   TRAVIS          OLEARY                    NC     11086410652
91929199A55951   MONAKAI         ALLEN                     CA     90014441990
9192971452B27B   LADONNAE        WELLS                     DC     90013937145
9192997712B948   EDGAR           DONAGHY                   CA     90015139771
919299A115B371   LARISSA         LARSON                    OR     90007309011
9192B11413B382   JOSE            CHAVEZ                    CO     33012591141
9192B94624B554   JAMES           JONES                     OK     90009369462
9192B9A2672B32   MONIQUE         CASTILLO                  CO     90010559026
91931145172B56   TAMMY           BOOTH                     CO     33083751451
91931A62672B3B   TIFFANY         POLYAK                    CO     90008820626
9193253575B548   CHRITIANNA      STRAINE                   NM     90009295357
9193287A572B3B   CHERESE         TRIGGS                    CO     90013258705
9193319997B444   SIOBON          MILLER                    NC     11023581999
91933299272B56   CRYSTAL         WILKINS                   CO     90013952992
919334A234B554   LINCOLN         PRINCE                    OK     90012174023
919335AAA91521   DIANA           PEDROZA                   TX     90008205000
919338A6851342   JULIE           MAXWELL                   OH     90013958068
91933A34A4B588   MICHELLE        GOMEZ                     OK     90010360340
9193474425B371   JEREMY          CLARK                     OR     90005107442
91934A91941296   ANASTASIA       ROACH                     PA     90010400919
9193533295B383   SUSAN           MOSER                     OR     44577433329
91935689A81635   ANDRE           FELL                      MO     90014306890
919357A924B588   RANDI           MCKINNEY                  OK     90008767092
91936131172B32   DURELL          WILLIAMS                  CO     90015171311
919362A544B949   RAYVON          GALLOW                    TX     90010932054
9193637875B264   KATHERINE       SHELTON                   KY     90007643787
9193685375B371   ELIZABETH       MUJICA                    OR     44591878537
9193874155B531   IRENE           LIENHARD                  NM     35094117415
919389AA833698   DEMEACHDRA      MOCK                      NC     90012199008
91938AA8A72B32   KENN            SCHMIDT                   CO     90009530080
91939135472B62   CRYSTAL         WILSON                    CO     33006571354
9193922345B531   GERARDO         MARITINEZ                 NM     90004642234
9193944379376B   MARY LOU        SHEETS                    OH     64511094437
91939624A3164B   HUGO            MARTINEZ                  KS     22064266240
9193B114891521   PRISCILLA       AVILA                     TX     75036601148
9193B698233698   WILLIE ANN      GORHAM                    NC     90015356982
91941126A72B62   ISAAC           HERNANDEZ                 CO     90011291260
9194156255B371   GUADALUPE       SEQUNA                    OR     44511875625
919415A668B175   RAQUEL          CHACON                    UT     90012075066
919417A545B548   BRENDA          FELIZ-ZAYAS               NM     90012707054
91941A7534B554   HELEEN          SHIN                      OK     90013970753
91942242272B56   CORY            WINSTANLEY                CO     33083752422
91942A2964B554   GARY            HITSMAN                   OK     90004990296
9194375965B548   SAMUEL          VALENCIA                  NM     90014907596
9194421725B371   RAFAEL          HERNANDEZ                 OR     90003812172
9194437594B588   MICHAEL         COOK                      OK     21567803759
9194442227B26B   KARLA           RODRIGUEZ                 AZ     40509654222
9194455127B359   FAY GABRIELLE   BOWDEN                    VA     90003655512
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1569 of 2350


91945147572B3B   DEBORAH        BOARDMAN                   CO     33076531475
9194528278436B   JARED          BURDEN                     SC     90013402827
919452A6A72B42   DANIEL         MARTINEZ                   CO     90013992060
9194599AA72B32   KAIGE          BOWLING                    CO     90012429900
91945A18572B62   RENE           GUZMAN                     CO     33093760185
91945A3247B444   ALEX           BROWN                      NC     90014000324
91945A5AA5B383   GREG           JONES                      OR     90013770500
91945A94377537   RODNEY         LYMAN                      NV     43048940943
91946438672B62   ELIA           VENEGAS                    CO     33090364386
9194763254B588   SANTOS         HIDALGO                    OK     90012676325
9194793318436B   JACKIE         EASTER                     SC     19051289331
919482A818436B   AJAY           JOHNSON                    SC     90007262081
919483AA672B56   TIFFANY        AUXIER                     CO     90013953006
9194867164B554   AMARETTA       BOYD                       OK     21532086716
9194962814B588   DUSTIN         FANNIN                     OK     90006766281
91949885A5B531   JAZMINE        SHUTCO                     NM     90014338850
9194994337B444   BRANDON        DYER                       NC     90013679433
9194B116A4B588   WILLIAM        PACK                       OK     90014421160
9194B281493769   LASHAWNDA      MOREHEHEAD                 OH     90005112814
9194B343891521   RICARDO        FLORES                     TX     90006603438
9194B454255975   MIRIAM         RIVAS                      CA     90011654542
9194B845591882   VIVIAN         CAROL                      OK     90014808455
9195239545B548   VICTORIA       HERMOSILLO                 NM     35097763954
9195286525B371   SILVERIO       MOLINA                     OR     90013968652
91952A67A5B177   ID             EXTRA BEAUTY SUPPLY        AR     90005810670
91953463A51342   BILLY          ELKINS                     OH     90013654630
91953966972B62   VERONICA       CRUZ                       CO     33008499669
91953A21591951   JACQUELAN      MCCOY                      NC     90013100215
9195413214B554   DIRK           LEMON                      OK     90013971321
9195415A381634   LANCE          KENNEDY                    MO     90010851503
919541A5A72B42   ARMANDO        TORRES                     CO     90009801050
919543A532B981   MATHEW         RODRIGUEZ                  CA     45066683053
9195524844B588   CHRISTY L      JOHNSON                    OK     90011172484
919553A1372B56   DESARAE        GARCIA                     CO     90013953013
9195574925B545   MANUEL         SANTOYO                    NM     90006077492
9195643A55B548   PAM            JOHNSON                    NM     90008424305
9195695A472B32   ANDY           GARCIA                     CO     90006769504
91956AA6891521   JUAN           MARQUEZ                    TX     75061210068
9195739695B548   LORENA         BUSTOS                     NM     35009733969
91957474A85689   LUIS           ROBLES                     NJ     90013964740
9195762298436B   NAHUN          MEJIA                      SC     90015286229
9195784654B554   LATOYYA        PENNON                     OK     90010798465
9195795832B27B   MARTIN         SALOME                     VA     90007849583
919581A2757126   JOSE ARTURO    LEIVA                      VA     90013481027
9195838165B371   LINDA          JENNINGS                   OR     90013513816
9195876165B548   MILEE          SANCHEZ                    NM     35094917616
91958A49157126   MIRNA          GAMEZ                      VA     81056370491
91959177272B56   THEO           WEISS                      CO     33066711772
9195985917B444   ALBERT         WIGGINS                    NC     90014828591
9195993A772B32   RAMON          RAMIREZ                    CO     33011979307
9195B11947B49B   LAPORSHA       HAYES                      NC     90006851194
9195B91694B273   ANN            BECKNER                    NE     90014759169
9195BA48572B32   MIACHAEL       HEALING                    CO     90014320485
91961662A61973   DONELL         GARCIA                     CA     90002806620
919619A695599B   JOSE           VILLEGAS                   CA     90011709069
91961A1A772B42   ANABELLA       PARALTA                    CO     33077610107
9196251344B554   REGINALD       RAY                        OK     90007155134
9196253952B27B   TANIKIA        RECTOR                     DC     90010545395
919625A8172B42   MARIELA        JIMENEZ                    CO     90013125081
91962A7647B49B   ERICA          GRISSETT                   NC     90010410764
9196374425B371   JEREMY         CLARK                      OR     90005107442
91963919A2B27B   BLANCA         CONSTANCIA                 DC     90005129190
919639A3391944   NGUSE MEHARI   KIDANE                     NC     90012609033
9196432298596B   CHRISTOPHER    VINCENT                    KY     90011543229
9196542244B554   JAMIE          HUTCHINSON                 OK     90013974224
91965A18581635   MALCOM         LACKMAN                    MO     90013760185
91966484272B42   SALVADOR       BARRERA                    CO     90012754842
9196654594B554   JANNA          PHILLIPS                   OK     90012325459
9196671A84B588   KIRSSA         DANIEL                     OK     90014347108
91966759772B32   GUILLERMO      GARCIA                     CO     33000447597
9196693A851342   KURTRINA       RIVERS                     OH     90012639308
91967195A8436B   DIANE          RAVENELL                   SC     90012341950
9196774A291399   YESENIA        LUNA                       KS     90005637402
91967822A77537   MARIA          HERNANDEZ                  NV     43076878220
919682A6755951   FOLA           OLUKANNI                   CA     90013992067
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1570 of 2350


9196887122B27B   DEANGELO     PARIS                        DC     90014908712
91968922572B56   ARACELI      CONTRERAS                    CO     33071819225
91968A45761977   JUDITH       BISHIYA                      CA     90013570457
91969A71655951   LISA         D VARELA                     CA     90007370716
9196B2A955B371   ASHER        MURPHY                       OR     90015092095
9196B327372B42   GABINO       VILLA                        CO     90014583273
9196B7A127B444   RASHANDA     SIMMONS                      NC     90002647012
9196B8A5761977   ALEX         GARCIA                       CA     90007968057
91971679172B3B   ROB          BENDER                       CO     90006196791
91971A41493769   DEBORAH      ROTH                         OH     64582010414
91971A4272B94B   ANGELEENA    WESLEY                       CA     90003060427
91972639372B62   THERESA      MEANOR                       CO     33075886393
91972A29491944   SAID         PARRAL                       NC     90015140294
9197377252B27B   MIGUEL       BAUTISTA                     DC     90013937725
9197428A141296   DEBRA        MCCLUNG                      PA     51094352801
9197467115B531   LUZ          DELGADO                      NM     35078246711
91974812A85689   JORGE        CORTES                       NJ     90013968120
9197484927192B   WAYNE        HUTCHISON                    CO     90006458492
91975253372B3B   RONALD       WOODSON                      CO     90011402533
91975569872B32   ABRAHAM      MEDELLIN                     CO     33082495698
9197574145B548   DOREEN       LOVATO                       NM     90008757414
9197598684B588   STEVEN       LOYD                         OK     90015209868
9197634954B588   ELIZABETH    MCCORMICK                    OK     90012473495
9197689885B371   CAROL        JACKS                        OR     44535608988
91976A25172B32   CARLENA      PAEZ                         CO     90012770251
91976A83191326   GERAMY       DEMONBRUN                    KS     29001580831
91977256A5B548   ESQUIBEL     JODINA                       NM     35010872560
91977773A2B27B   BONITA       LEONARD                      DC     90013937730
91977974472B56   SCOTT        GOODMAN                      CO     33096549744
91977A11541955   JOSEPH       BADILLO                      OH     90013700115
91978269A5B548   DANIELLE     GALLEGOS                     NM     90008842690
91978279372B32   CELESTE      GURULE                       CO     33083682793
9197828817B444   DANIEL       DAVIS                        NC     90014452881
9197844A472B87   JUSTINO      GUZMAN                       CO     90014324404
9197886A591951   HEARTWILL    KPEGLAR                      NC     90007258605
9197967525B332   AGUSTIN      VELA                         OR     90014726752
91979AA7581634   MICHAEL      WHITE                        KS     90012710075
9197B25597B444   JAYMEE       REAVIS                       NC     90013152559
9197B32658436B   LAUREN       FORTUNATO                    SC     90013403265
9197B32938B175   MARISA       FOOTE                        UT     90010833293
9197B466651342   SEAN         REYNOLDS                     OH     90012414666
9197B627591951   LILIA        RODRIGUZ                     NC     90012286275
9197B6A8A4B588   JORDAN       ROBINSON                     OK     90015086080
9198121415B531   SAMUEL       ARCHAMBAULT                  NM     90012232141
9198125328436B   KEITH        BROWN                        SC     19029392532
91981293372B42   AMANDA       DURLAND                      CO     33025652933
9198317274B554   MICHELLE     ELLIS                        OK     21585191727
9198391587248B   DOUG         SIBERT                       PA     90006339158
91984117A72B43   PEDRO        GOMEZ                        CO     33086941170
9198491587248B   DOUG         SIBERT                       PA     90006339158
9198497818436B   ERNEST       SPEIGHTS                     SC     90010209781
91985279672B42   NORBERTO     SERRANO                      CO     90000792796
9198537512B266   ANA          AVILES                       DC     81032653751
9198658152B934   CELINA       SALAS                        CA     90012735815
91986638472B56   ALICA        ROSE                         CO     90006086384
9198684694B949   FRANCISCO    RAMIREZ                      TX     90010018469
9198685233164B   JESUS        GONZALEZ                     KS     90009568523
9198698A891399   AMBER        TIMMONS                      KS     90009579808
91986A3895B383   ANA          GUZMAN-CLADERON              OR     90013800389
91986A4A933698   MEGA         KEARNS                       NC     90005880409
91986A5238436B   JOHN         HENDERSON                    SC     90010400523
91986A9444B554   CRISTIAN     LIBRADO                      OK     90014700944
9198723312B27B   ANTHONY      HARRIS                       DC     90008942331
919876A2191951   JASON        WARREN                       NC     17025916021
919889A733164B   ROBERT       SHUGART                      KS     22044049073
91989644A8436B   MALIK        SIMS                         SC     90014866440
9198985495B548   MARIBEL      SOTO                         NM     90003428549
9198B219593755   BRANDI       CARGLE                       OH     90011612195
9198B31824B543   MIGUEL       LOPEZ                        OK     90012363182
9198B428891521   CARLOS       LOPEZ                        TX     90014464288
9198B52A58B175   PEDRO        RAMOS                        UT     90010275205
9199119918B447   JAEDON       BILLUPS                      VA     90014061991
919911A1572B42   ROMELIA      HERNANDEZ                    CO     33089851015
91992317A81635   GABRIELLE    CERVANTES                    MO     90012803170
9199235798436B   JACQUELINE   SMITH                        SC     90008303579
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1571 of 2350


9199246A891951   DEXTER            SCOTT                   NC     90015204608
9199326315B33B   JODI              MUSES                   OR     90013282631
91993398A5B548   ANDRES            DIAS                    NM     90012193980
919935A4591882   J CRUZ            ROBLEDO                 OK     90013725045
9199419875B531   JOCELYN           SCHOBEY                 NM     90014461987
919942A2451342   EMMA              OSBORNE                 OH     90011062024
919942A4A7B389   ERNESTO           TELLERIA                VA     90001602040
91994A6474B554   MARZELLA          CARWFORD                OK     90002730647
91994A7185B548   JAIME             ARCHULETA               NM     90010090718
91996219172B62   ROSA              VILLA                   CO     33066472191
91997139172B32   KRIS              NORTON                  CO     33098411391
91997459272B21   JENNY             ADAMS                   CO     33006174592
919977A325B248   LISA              SANDS                   KY     90006557032
9199797284B949   KELVIN            NIXON                   TX     90012359728
91997A56291521   YVONNE            SARABIA                 TX     90009740562
91998255572B62   ADAM              TURNER                  CO     33050972555
91998271A93755   LISA              MCGINNIS                OH     90015212710
9199844622B27B   MARCUS            BARNES                  VA     90014824462
91999484A5B383   KIRBY             SAZTON                  OR     90007074840
9199964668436B   YVETTE            WILLIAMS                SC     90011506466
9199B86A37B444   VIRGINIA          BREWER                  NC     11076278603
9199B923A77537   MICHELLE          RIDER                   NV     90000169230
9199B953981634   MIKE              RELIFORD                MO     90009509539
919B1499761977   MICHELLE          LENTZ                   CA     90012854997
919B177752B243   DARDINELLA        HATCHER                 DC     90001147775
919B177A472B29   REBECCA           ROMERO                  CO     90002647704
919B17A4293782   LETONDA           CUMMINGS                OH     90004347042
919B1894391553   SYLVIA            RODRIGUEZ               TX     75016788943
919B2325591882   COBY              GREEN                   OK     21056653255
919B2448185689   RODOLFO           LOPEZ                   NJ     90013954481
919B2654541296   LAXMI             DARJEE                  PA     90004166545
919B27A5455951   RAUL              RAZO                    CA     90014867054
919B2894391553   SYLVIA            RODRIGUEZ               TX     75016788943
919B3199685689   YUNIOR            BRAVO                   NJ     90013931996
919B3929591599   MONICA            OLIVAS                  TX     90012949295
919B412165B531   PAM               MARQUEZ                 NM     35048721216
919B443585B371   JOHN              ADAMSON                 OR     90011784358
919B4439972B3B   CLAUDIA           OCAMPO                  CO     33032444399
919B447145B243   WILLIAM           KINBERGER               KY     90012634714
919B4796891944   SALVADOR          BOTELLO                 NC     90012957968
919B496A877537   MARIBEL           AYALA                   NV     90007389608
919B4972372B62   RAUL              MORALES                 CO     90010089723
919B519184B588   MARICELA          HENSLEY                 OK     90008861918
919B563774B271   STEPHANIE         FOSSLER                 NE     90002726377
919B5688972B3B   ROGELIO           CASTRO                  CO     90012826889
919B5837472B42   EVA               MEDINA                  CO     33096348374
919B5962755951   MONICA            DELOS SANTOS            CA     90012229627
919B6824881634   KEVIN             KINDER                  MO     90014508248
919B724964B554   LINDA             HOUSE                   OK     90010882496
919B738A472B42   BENJAMIN          GARDENHIRE              CO     90015123804
919B7637191944   NANCY             MARBAN                  NC     17066536371
919B784244B949   TRAVIS            HARRIS                  TX     76569218424
919B789633164B   FRANCESCA         STRONG-ROGERS           KS     90013348963
919B7934451384   JILL              BLACK                   OH     90009669344
919B8153381634   RACHEL            CRIGGER                 MO     90005901533
919B84A225B383   DAVID EARL        SNAPP                   OR     90008384022
919B8544261977   JOE               PHILLIPS                CA     90014045442
919B859A157B29   TIA               SPEARS                  PA     90014015901
919B876A64B588   MARCUS            PERISEE                 OK     90015077606
919B8941572B3B   ANDREA            BIRD                    CO     90005019415
919B934784B588   TANYA             SHILTS                  OK     90012783478
919B945728B175   CORY              ANDERTON                UT     90014884572
919B954244B221   LAWRENCE          SCHRODER                NE     90010465424
919B96A4A61558   GLADIS GONZALEZ   ORTIZ                   TN     90015416040
919B96A8291521   CASSIOPIA         SILVA                   NM     75082236082
919B9753161979   JOSELUIS          LOZADA                  CA     90000547531
919BB17884B588   NATALYA           BUTLER                  OK     90010861788
919BB287981634   DAVID             DOME                    MO     90012332879
919BB371472B62   LINDA             ARCHULETA               CO     90005273714
919BB392791521   LAKESIA           JOHNSON                 TX     90014933927
919BB64387B399   ANGELA            RIANO                   VA     90011476438
919BB72492B27B   TERRANCE          MENIEFIELD              DC     90013937249
919BB788257126   HENRY             OMAR                    VA     81064837882
919BB85284B273   MARQUETTA         LOVE                    NE     90013148528
919BB894391553   SYLVIA            RODRIGUEZ               TX     75016788943
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1572 of 2350


919BB985293755   KIM          DEVOISE                      OH     64508219852
91B115A2993756   LACI         SHAFER                       OH     90011925029
91B11728191599   ANA          GARCIA                       TX     90003497281
91B1176795B353   MAYURI       BIAZZO                       OR     90009007679
91B11821772B62   LILYANNA     RIOS                         CO     90014188217
91B12333A72B3B   EVAN         OBRIEN                       CO     90007053330
91B1241352B27B   SHAQUNA      MILLER                       DC     90012464135
91B1247514B588   MARIA        SALDANA                      OK     90013434751
91B1252777B458   NAIYA        SYMONE SMITH                 NC     90010415277
91B12661891882   JUSTIN       GARNER                       OK     90013826618
91B12A6255B371   KATHLEEN     SMITH                        OR     90012110625
91B12AA8361977   CIERRA       MICHAEL                      CA     90001350083
91B1319218B159   CLARK        FEATHERSTONE                 UT     90009251921
91B13523791232   JESSIE       CHEEVER                      GA     90015425237
91B13971372B56   ANDREW       LEMKE                        CO     90013949713
91B141A195B565   ERIC         WIDEMAN                      NM     90007691019
91B14271672B62   MAIRE        RUCOBO                       CO     33028272716
91B1427AA5B371   REGINA       PENNY                        OR     90011642700
91B143A3993756   STEPHANIE    VAN PELT                     OH     90010643039
91B1457267B392   JUAN         BARRIOS                      VA     90005845726
91B145A7872B3B   MELODY       ARAGON                       CO     33034635078
91B1469A361979   DAVID        CHRISTMAN                    CA     90009266903
91B14717581673   JESSICA      EDKIN                        MO     90004207175
91B1484A191521   CHRISTINE    LEDESMA                      TX     75052808401
91B1485375B383   KATE         MOODY                        OR     90014438537
91B148A3A91232   TERESA       DUTCHER                      GA     90004588030
91B14949991944   KIM          RANSON                       NC     90012969499
91B14984641296   AMR          BIUMY                        PA     90010109846
91B15652972B56   RODRICK      MCHEARD                      CO     33030936529
91B15757585689   ANGELA       ROMERO                       NJ     90013917575
91B1578A977537   ERNESTINA    ESPINDOLA SANCHEZ            NV     43038697809
91B15794941296   DORIS        JAMISON                      PA     51014847949
91B15824191521   JULIA        HORTADO                      TX     90012058241
91B15961861977   RODNEY       LANE                         CA     46081959618
91B15A98691882   SUSANA       BERNAL                       OK     90005970986
91B1611875B371   RICHARD      NIEMEIER                     OR     90006081187
91B161A8891882   PARICE       WILLIAMS                     OK     90005971088
91B16278881634   ROSALINDA    RAMIREZ                      KS     90012562788
91B16447141296   MICHAEL      PALONE                       PA     51008554471
91B1711498436B   SHANIKA      EASTER                       SC     90015161149
91B17133184349   CHARLOTTE    BROOKS                       SC     90010471331
91B17169A91232   NATASHA      KEGLER                       GA     90015441690
91B17256391532   LAURA        VASQUEZ                      TX     90012672563
91B17287272B56   STEPHANIE    HULL                         CO     33096672872
91B17513691882   SAMUEL       VALLARDA                     OK     90014815136
91B17942791399   JANET        BRAVO                        KS     29083419427
91B18126421929   ROBERT       ROHWEEER                     IN     90015581264
91B185A4751342   MARCUS       SHELLS                       OH     90011035047
91B18A84161977   JULIA        WISE                         CA     90015130841
91B19327451342   SPENCER      GOODPASTER                   OH     90011673274
91B19396293769   LEETOUIA     GIBSON                       OH     90007033962
91B19696381634   CLIFFON      LEMON                        MO     90008936963
91B19899281638   TERRELL      DAVIS                        MO     29013358992
91B19983921929   REBEKAH      FULTON                       IN     90015489839
91B19A94491521   CARLOS       MARTINEZ                     TX     75004820944
91B1B11355B371   ALONDRA      BRICERIO                     OR     44515411135
91B1B144281635   OPELIA       HILL                         MO     90008821442
91B1B4A514B554   ANGELIQUE    MCKINNEY                     OK     90014844051
91B1B962291232   RAVEN        MOLE                         GA     90009759622
91B1B976293756   MAGHAN       GINTER                       OH     90006119762
91B21262972B62   TONYA        GIDEON                       CO     90007532629
91B21346991951   NATALY       DIAZ-SORTO                   NC     90009353469
91B21535872B56   MARCOS       HEREDIA                      CO     90014495358
91B21849372B3B   ORLANDO      GUERRERO                     CO     90013598493
91B2213478B175   BRASHEN      BOUNTHISANE                  UT     90010961347
91B2225428B175   TIFFANY      WARD                         UT     90014542542
91B2235A551342   ZABRINA      BLUE                         OH     90001893505
91B22453372B3B   HILDA        PAGUADA                      CO     90000644533
91B224A835B383   JOSHUA       OWEN                         OR     90014374083
91B2273985B531   OBED         VELAZQUEZ                    NM     90014897398
91B2275A372B56   SANGE        APODACA                      CO     90000607503
91B23538161977   ALEJANDRO    DELGADO                      CA     90013985381
91B236A3985689   HAMEDE       JOHNSON                      NJ     90014696039
91B237AA84B588   ISABEL       ALEJOS                       OK     21567267008
91B23961181635   THERESA      DAVIS                        MO     90012789611
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1573 of 2350


91B24182791599   NEW            CONCEPT                    TX     90012311827
91B24337581635   WENDY          REED                       MO     29022693375
91B2453684B949   MONICA         MARTINEZ                   TX     90001865368
91B24713781634   STEVIE         LUPER                      MO     90012747137
91B24732772B56   JACQUELINE     OLIVAS                     CO     90011287327
91B24785385974   ANNA           FRANCIS                    KY     67094987853
91B2532A991944   AARON          HERBERT                    NC     90014933209
91B25456972B56   CYNTHIA        PENA                       CO     90013984569
91B255A3885689   RUBIO          AGUILAR                    NJ     90015365038
91B25A9A891951   ALVINO         REID                       NC     90015070908
91B26233851342   ERIC           WARD                       OH     90014622338
91B2647834B554   LAWRENCE       JOHNSON                    OK     90006414783
91B268A535B371   ADONIS         MELO                       OR     90014528053
91B269A2872B56   JESSICA        MEDINA                     CO     90014589028
91B27254791951   RANDY          TOMPKINS                   NC     90010762547
91B2732265B531   SADIE          RICHARDS                   NM     90006963226
91B27962991531   ILDA           GUERRA                     TX     90012419629
91B2843128B175   MICHAEL        SADLER                     UT     90012534312
91B28475781635   TAMMIE         GREGERSON                  MO     90014514757
91B2856353B399   ZACH           MCFARLAND                  CO     33085505635
91B28673172B42   LORENZO        GARCIA                     CO     33004666731
91B2885542B27B   ELIAS          CRUZ                       DC     90011308554
91B29327251339   LEASHA         EVANS                      OH     90004823272
91B2938442B27B   ANTONIO        VELASQUEZ                  DC     90011263844
91B29738251331   DAVID          RUCKER                     OH     66074157382
91B29774151342   MARION         BALL                       OH     90013817741
91B29871891232   NATHANIEL      BRACK                      GA     90014788718
91B2998785B548   ROBERT         LEIJA                      NM     90011049878
91B2B39615B371   ALICIA         COLTON                     OR     44515413961
91B31299191882   MELINDA        TAYLOR                     OK     21002682991
91B31391372B3B   OMAR           DELGADO                    CO     90009883913
91B314A1777927   MARIO          GUTIERREZ                  IL     90015574017
91B315A812B25B   DES            UKAOBASI                   DC     90000495081
91B31A51591599   RUDY           SCHRIVER                   TX     90013290515
91B32346272B42   BRIAHNA        MCNAIR                     CO     90004103462
91B32448677537   JASON          PILLMORE                   NV     43020294486
91B32498A72B62   JESUS          FLORES                     CO     90014114980
91B324A1181634   ISAAC          GONZALEZ                   MO     90011144011
91B3276568436B   ANDREAS        DIAZ                       SC     90015187656
91B33141691599   ILIA           ALARCON                    TX     75062431416
91B33153381634   RONNIE         HILL                       MO     90008171533
91B3364A791951   TONY           PERSON                     NC     90010786407
91B33665491925   ASHLEY         DAVIS                      NC     90015146654
91B33829791944   ROSS           ESCALANTE                  NC     90004038297
91B3392A472424   KYLE           SWISHER                    PA     90010819204
91B33A5418436B   RHOSE          BOWMAN                     SC     90009550541
91B3433883B394   ROBIN          HARDING                    CO     90013653388
91B34848261977   ADIRAN         CORONADO                   CA     90013708482
91B34A46241296   NOVA           WILSON                     PA     90004770462
91B3528295B371   FANNIE         PHILLIPS                   OR     44509912829
91B35382991579   VALDIVIEZO M   MELINDA                    TX     90014523829
91B35746A8B175   STIMPSON       AARON                      UT     90007437460
91B35951A72B32   IRMA           ROSALES                    CO     33074709510
91B35997185689   JOSE           GRAJALES                   NJ     90013369971
91B359A2333698   BRENDA         TIGNOR                     NC     90006499023
91B36458581634   BRIAN          ROGERS                     MO     29095164585
91B3665342B27B   MARCELL        JONES                      DC     90013086534
91B3685A672B32   MELISSA        HALEY                      CO     90007228506
91B3754289153B   RAUL           FEDERICO                   TX     90006705428
91B37746A55951   SOUA           NENG YANG                  CA     49052737460
91B37851972B62   SUSAN          VASQUEZ                    CO     90008268519
91B37921385689   MIGUEL         HERNANDEZ                  NJ     90005559213
91B37962172B32   SHERI          KRESAL                     CO     33080669621
91B37973A91521   FELIX          VIZARRETA                  TX     90004289730
91B3834867B444   JASWANT        SINGH                      NC     90013063486
91B384AA593755   NEATRIA        DAVIDSON                   OH     90013664005
91B3876823164B   CRAIG          HOWARD                     KS     90014247682
91B394A4372B3B   MARIE          SCHNEIDEN                  CO     90014524043
91B395A975B33B   ROBERT         BATES                      OR     44543935097
91B39774A81635   DAYON          SMITH                      MO     90011427740
91B39A83577537   RUBEN          CARRILLO                   NV     90013400835
91B3B191991882   GOLDIE         DOSS                       OK     90009251919
91B3B327341296   RODNEY         WHEATON                    PA     90007823273
91B3B662791531   ANTONIO        RAMOS                      TX     90011426627
91B413A8551342   TAMMY          MERCER                     OH     90009833085
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1574 of 2350


91B4145795B371   THERESA             STEIN                 OR     90011744579
91B418A418B175   TYSON               WHITE                 UT     90012938041
91B42162991327   DUANE               BROWN                 KS     29006501629
91B4227228436B   JOHN                LARKINS               SC     90002132722
91B422A6955951   MELANIE             RIVERA                CA     90015272069
91B42446341296   CHRIS               IRISH                 PA     90012164463
91B42618577537   DANNY               WHITE                 NV     43073156185
91B4262525B531   SALINA              ELLERD                NM     90014626252
91B42814972B56   JOSHUA              EMERY                 CO     90013688149
91B43197591599   KIMBERLY            BAUTISTA              TX     90014511975
91B43349591882   ELOISA              PINA                  OK     90011193495
91B43359791599   KIMBERLY            BAUTISTA              TX     90010113597
91B4343A933698   MOHAMED             ABDERAHMEN            NC     90012524309
91B43462751342   DAPHNE              GODFRIED              OH     90011424627
91B43594193769   KENYA               MAKUPSON              OH     90006505941
91B44563991521   JESUS               CABADA                TX     90009195639
91B44686A4B949   WAURINE             EDWARDS               TX     90003466860
91B44747A4B554   JEANNETTA           SHAW                  OK     90012907470
91B44774672B56   GRANGE              DEVEN                 CO     90011747746
91B44786A93756   HOLLY               HAYES                 OH     90010617860
91B4484328436B   DJ                  BROWN                 SC     90005288432
91B4514178B347   ANNA                GARCIA                SC     90015471417
91B455A568436B   TITO                ESLAVA                SC     90003625056
91B4564A357544   RUBEN               RAMOS                 NM     90014926403
91B4579987323B   HUGO                LOPEZ                 NJ     90014757998
91B45992A72B32   CARLOS              ORONA                 CO     33017999920
91B46112981635   KELLEY              DAY LEWIS             MO     90008531129
91B4628A75B548   CHRISTOPHE          KURTZE                NM     35090382807
91B46836661977   JOHN                PEREZ                 CA     90013828366
91B46981133639   SIDNEY              HILL                  NC     90007559811
91B46AA164B554   TONY                REICHER               OK     90015210016
91B4727A14B588   MICHAEL             BLACK                 OK     90014162701
91B472AA833698   JOSE                PAREDES               NC     90010762008
91B47657472B42   JORGE               GARCIA                CO     90003866574
91B47789151342   SHEYANNE            CRANK                 OH     90007987891
91B47917372B43   LEAH                ANTHONY               CO     90005899173
91B47A7A74B554   FFR 22107 CHARLES   CLEVELAND             OK     90011280707
91B4879845B548   MYLETTE             CLARK                 NM     35034487984
91B488A9661979   MIRANDA             MARISCAL              CA     90000358096
91B49117791944   RUMANA              ABDU                  NC     90010431177
91B4924915B371   MAKE                LUNDELL               OR     44501092491
91B4957964B949   MARCOS              AMADOR                TX     90007915796
91B496A4772B32   DAVIS               GREENBURG             CO     90014146047
91B4985174B554   SHARON              JORDAN                OK     90013938517
91B4B23254B949   SONIA               GLASPER               TX     90010832325
91B4B51928436B   DELLA               LEACH                 SC     90013835192
91B4B52A34B588   JEREMY              THOMAS                OK     90011575203
91B4B83174B554   LATASHA             DAVIS                 OK     90013938317
91B4BA98477537   EVANGELIA           GIL                   NV     90013730984
91B51117772B3B   ARACELI             AGUILAR               CO     90013981177
91B51371261977   MITCHEL             PIMENTEL              CA     46047503712
91B51712161979   GRACE               NUNEZ                 CA     46016837121
91B51778541268   OYO                 ELLIS                 PA     90001157785
91B5186334B554   TIFFANY             FINE                  OK     90013938633
91B51895891521   MICHAEL             LOPEZ                 TX     90013178958
91B51A3177B444   TRACY               STONE                 NC     90014000317
91B51A5442B243   ALEXANDER           FINCH                 DC     90000870544
91B52546A72B32   RAMIRO              BALLESTEROS           CO     90014885460
91B52882681638   ROOETTA             DOOLEY                MO     29078988826
91B52941561977   JUAN                BARAJAS               CA     90014719415
91B53233A5B383   ANDREA              ROGERS                OR     90002652330
91B53284791521   MA DE JESUS         RAMOS JACOBO          TX     90013282847
91B532A874B273   ELAINE              LEIBERT               NE     90002252087
91B53969791951   DOMINIC             LYNN                  NC     90013359697
91B54256885689   DAVID               CAMPOS                NJ     90009212568
91B5431545B54B   JOHN                MADRID                NM     90015493154
91B54341672B62   JERMAINE            WHITTINGTON           CO     90013773416
91B54586781634   BRENDA              RANDLE                KS     90015185867
91B5472954127B   DIANA               MONKELIS              PA     90008847295
91B55189293769   HOLLY               RISNER                OH     90010101892
91B5598664B949   RANDY L             WASNAK                TX     90014929866
91B559A3272B62   ELIAS               VAQUERA               CO     33026139032
91B55A25677537   OLGA                HERRERA               NV     90008500256
91B56165991599   EVERARDO            ALVARADO              TX     75051031659
91B56217A72B43   SIMONA              GARCIA                CO     33083712170
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1575 of 2350


91B56737585689   EDMEE        MARTIN                       NJ     90010297375
91B568AA54B588   TARA         TENNISON                     OK     90014178005
91B56955A72B62   LISA         CEDILLO                      CO     33046229550
91B57112761977   BEATRIZ      SANTANA                      CA     90012161127
91B5737165B371   MICHAEL      DUCHARME                     OR     90001953716
91B57375593769   ARLE         SUBER                        OH     64551323755
91B57464181634   ABISAI       JASSO                        MO     90013934641
91B5759155B548   CRYSTALYNN   MAESTAS                      NM     35013815915
91B57651472B42   CESAR        ALVAREZ                      CO     90013116514
91B57725261977   GERY         MCLAIN                       CA     90000547252
91B57934287B2B   LACANA       PATILLO                      AR     90011989342
91B58211691327   ROXANA       GONZALES                     KS     90011832116
91B58A8445B371   STEPHANIE    STAUFFER                     OR     90011560844
91B59561A8B175   SHANE        CAMPBELL                     UT     31098815610
91B5B227955951   BRENDA       MARTINEZ                     CA     90011522279
91B5B875191944   FRANCES      MARLEY                       NC     90015098751
91B5B888951377   GREGORY      REFFITT                      OH     66052188889
91B5BA59472B99   LISA         MARTINEZ                     CO     90010470594
91B6119964B588   ALICIA       CARTER                       OK     90014421996
91B611A9161951   OSCAR        GOMEZ                        CA     46008911091
91B61224272B42   MARCUS       RAINES                       CO     33012882242
91B61379591399   ALLY         COUNTERMAN                   KS     29028973795
91B6158173164B   NAOMI        GROW                         KS     90008385817
91B61925572B62   BRIDGET      JOHNSON                      CO     33089569255
91B61A62172B32   VIVIAN       PRINCE                       CO     90015060621
91B62465961977   HENRRIQUE    RODARTE                      CA     90014114659
91B6389974B554   ROSA         BEDOLLA                      OK     90013938997
91B63999291599   MARTHA       FLORES                       TX     75089609992
91B63A47141296   JAMES        WINNER                       PA     51039060471
91B6491A555951   PATRICK      BENNETT                      CA     90011979105
91B64A3118B175   OSWALDO      PARADA                       UT     31048550311
91B65126593755   MARIO        HERNANDEZ                    OH     90005401265
91B6518A893756   ELIZANGELA   KARNS                        OH     90014661808
91B6533215B548   PATRICIA     PAYTE                        NM     90015023321
91B65532A61933   CARLOS       FLETCHER                     CA     90014945320
91B65591481635   RAYDEL       ACOSTA-LOPEZ                 MO     90012705914
91B65A93155951   ALAN         THORTON                      CA     90013140931
91B6622957B444   JUKE         CARTER                       NC     90003112295
91B6628718B343   JUAN         DIAZ                         SC     90015312871
91B6639AA4B588   XIOMARA      CHAVEZ                       OK     90015283900
91B6655A993756   JOHN         PLUSH                        OH     64584485509
91B6683982B27B   DESMOND      PHILLIP                      DC     90012148398
91B66853591882   MARIO        SANTIAGO                     OK     90011458535
91B6732A32B981   AMANDA       ROBERTSON                    CA     90010573203
91B6779A572B42   KHALED       SABBAGH                      CO     90006027905
91B67813633698   DONNA        BUNDY                        NC     90015238136
91B6782334B554   HEATHER      DUNCAN                       OK     21573638233
91B6786665B371   BRANDON      MCDONALD                     OR     90013308666
91B67965291521   MONICA       HERRERA                      TX     90014159652
91B68114991232   ANGELA       JOHNSON                      GA     90009461149
91B6821917B444   KISHA        POAGE                        NC     90012962191
91B68438572B62   BRIDGET      ALEXANDER                    CO     90005214385
91B68882693755   DERRICK      BARTON                       OH     90002708826
91B688A6657128   AUDRETTA     MILLER                       VA     90011548066
91B68A9953B39B   JOSEPH       VENTURA                      CO     90012460995
91B69127672B3B   ARIADNA      GARCIA-RAMIREZ               CO     33000121276
91B6926A45B383   ANGELIQUE    CROXTON                      OR     90004702604
91B69286191554   JUAN         HERNANDEZ                    TX     75089262861
91B6B572455951   KATRINA      LARA                         CA     90013955724
91B6B6A3985689   HAMEDE       JOHNSON                      NJ     90014696039
91B6BA11672B43   THERESA      GORDON                       CO     33026020116
91B6BA6583164B   WILSA        AUSTIN                       KS     90000580658
91B71219772B3B   FELIX        ARAUJO                       CO     33092092197
91B7148433B331   ANDREW       CLARK                        CO     33082674843
91B71583855951   IRMA         ROJAS                        CA     90013955838
91B71622261558   CHRISTIAN    DUNBAR                       TN     90014536222
91B7171497B444   KENNETH      BERRYHILL                    NC     90013407149
91B7177A82B27B   SHONTE       TATE                         DC     90008947708
91B719A874B554   VINCENT      GAINES                       OK     90013939087
91B71A97333698   JESSICA      BAILEY                       NC     90009180973
91B721A5991327   LAURA        WILKUS                       KS     90005631059
91B72284761921   DEGU         BOSSET                       CA     90007342847
91B72358293756   BENJAMIN     CHANEY                       OH     90015133582
91B72836581635   LEIGHA       DAVIS                        MO     90014838365
91B7285715B383   BRITTNEY     LACIO                        OR     44512198571
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1576 of 2350


91B72873972B43   BARBARA      SARDINI                      CO     33000338739
91B72894172B3B   JESUS        GONZALEZ-DOMINGUEZ           CO     33070668941
91B73535172B42   LETREENA     BLAND                        CO     33076835351
91B73599691599   LUCERO       ARELLANO                     TX     90014435996
91B73627551342   JACK         STURGILL                     OH     90009146275
91B73839261977   ANA          GOMEZ                        CA     90011298392
91B7422A177537   PEDRO        ESCOBAR                      NV     43002102201
91B7427444B949   ESTEHER      HALEY                        TX     90015012744
91B7433A772B42   DAWNDY       SHEPHERD                     CO     90014633307
91B74469833698   LATOYA       BITTLE                       NC     90009264698
91B7479695B548   MONIQUE      BARROS                       NM     90013357969
91B74821593756   CARRIE       NICHOLS                      OH     90014918215
91B75347A8436B   JULIA        WRIGHT                       SC     19016043470
91B756AA793755   BILLY        POPE                         OH     64588566007
91B75741451342   LUZ          HERNANDEZ                    OH     90013327414
91B758A5361977   ZAGROS       ROA                          CA     90013558053
91B7625178B175   JARED        SWENSEN                      UT     90013852517
91B7634643164B   ALISTER      TRUKKEN                      KS     90000843464
91B7643244B588   KEN          KIEU                         OK     21590364324
91B76964672B62   SIMON        PEREZ                        CO     33069689646
91B77591761977   CLAUDIA      SIRNES                       CA     90007885917
91B77A5364B949   ELEAZAR      TORRES                       TX     90014990536
91B78399891521   JOANNA       MANCINAS                     TX     90013393998
91B7841874B949   GABRIELA     VALENCIA                     TX     90015014187
91B78458255999   ORLANDO      RAMIREZ                      CA     90013034582
91B784A4391399   MARVIN       MORALES                      KS     90008044043
91B7856458B175   LETICIA      MARTINEZ                     UT     90007605645
91B7871437B444   JUAN         DIAZ                         NC     90011387143
91B7883932B27B   RICKY        PERRY                        DC     90007908393
91B78869772B3B   MARIA        DE LOS SANTOS                CO     90003188697
91B78893672B42   ASHLEIGH     ST PETER                     CO     90011018936
91B7898694B554   NAKISHA      HILL                         OK     90013939869
91B7931453B326   JENNIFER     CAPELL                       CO     33017013145
91B7951693164B   CAITLIN      SMITH                        KS     90014655169
91B79525961977   EMMANUEL     GOMEZ                        CA     46069715259
91B7B214391944   IDANIA       CAMPOS                       NC     90014172143
91B7B5AA68436B   LINDA        HEYWARD                      SC     90001065006
91B7B77813B358   JANET        PAINTIN                      CO     33074307781
91B81179972B32   PASSION      RAMIREZ                      CO     90012851799
91B81274A3B392   EDNA         PHILLIPS                     CO     33056012740
91B81596861977   PAULA        GANT                         CA     90010875968
91B81626991944   STACY        BUSCHAGEN                    NC     90007456269
91B8181A34B52B   TAMMY        MENDOZA                      OK     90013758103
91B81976493755   JAMES        BOND                         OH     90015089764
91B82264691882   CHARLES      EVANS                        OK     90014782646
91B82539461977   MARIO        VALDESPINO                   CA     90013245394
91B825A683164B   TINA         YOUNGMAN                     KS     22084205068
91B8292A272B32   GERALD       CORDOVA                      CO     90013329202
91B8325184B588   JESSE        CHEATHAM                     OK     90013772518
91B83292481635   CRYSTAL      STANFORD                     MO     29012702924
91B8341A161977   CARLOS       MURANA                       CA     90012744101
91B83523272B42   DOMINICK     VALDEZ                       CO     33089435232
91B8364A29374B   FELICIA      WALSH                        OH     90006586402
91B83898991944   OLIMPIA      ESTRADA                      NC     17072658989
91B83965931655   RUEDA        MYRA                         KS     22024019659
91B84242A91521   MARIA        MIRANDA                      TX     90007992420
91B84264691882   CHARLES      EVANS                        OK     90014782646
91B8431395B548   ELIZABETH    VIGIL                        NM     90008723139
91B8485A372B3B   RODOLFO      CASTILLA                     CO     33022578503
91B851A5451342   ASHLEY       GARDER                       OH     90013291054
91B85295893756   ELIZANGELA   KARNS                        OH     90013162958
91B85526747971   ROBERTA      YOUNGBLOOD                   AR     90000805267
91B8627A391882   MARCUS       LOZUST                       OK     90014782703
91B86656161977   ANAIRAM      GORDON                       CA     90014826561
91B86737A91521   LUISA        GALVEZ                       TX     90008587370
91B86766855951   MARSHALL     WALLEN                       CA     90011237668
91B86874472B32   KELLEN       FLEMING                      CO     90010518744
91B86892172B42   QUANISHA     DAVIS                        CO     33015128921
91B87883577537   DIANE        MORROW                       NV     43034808835
91B87946641296   KARA         CLICQUENNOI                  PA     51031409466
91B88275191882   ANGLEA       GREENHAW                     OK     90014782751
91B8836A985689   GIOVANNI     BRAVO                        NJ     90008893609
91B883A385137B   MEGAN        KIDD                         OH     90014223038
91B88423893756   AMBER        PETERS                       OH     90013634238
91B8842A381635   JOSHUA       MARKER                       MO     29042494203
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1577 of 2350


91B8893175B383   AAMER              FRANKOL                OR     90008589317
91B89667A72B42   JAIRO              SANCHEZ                CO     90013116670
91B8972893164B   DEANA M            VILLA                  KS     90008577289
91B89958291521   BERTHA             TRILLO                 TX     90010739582
91B8B22654B522   LINDSEY            DELK                   OK     90007732265
91B8B378572B56   DAVID              VALDEZ                 CO     90010193785
91B8B54A25417B   HILARIO            PARADA                 OR     90014815402
91B91396881638   SANDRA             ROBINS                 MO     90014423968
91B9154A577537   DEBRA              ALLEE                  NV     90013785405
91B91793861979   BRISA              ALTAPE                 CA     90002487938
91B91929277537   CHARLES            SWECKER                NV     90011519292
91B91A5715B548   CORLEY             AYERS                  NM     35039500571
91B92684172B32   IRMA               CONTRERAS              CO     33020086841
91B92923172B3B   BRIAN              ROMINE                 CO     90015049231
91B92A79872B3B   ANA                MADRIGAL               CO     90009100798
91B93322472B3B   VICTOR             FISCAL                 CO     90010033224
91B93433A72B62   SENAHIDA           RAMIREZ                CO     90014914330
91B93517391327   JASEY              EDWARDS                MO     90011835173
91B93776372B43   JUAN MARTIN        BARRIOS-FLORES         CO     90007147763
91B9387A855951   FRANCISCO JAVIER   MATA REYES             CA     90013358708
91B93964781635   SHAQUITA           BUFORD                 MO     90014909647
91B93977472B56   DREW               HAWKINS                CO     90013949774
91B93A93461977   GEORGINA           SANCHEZ                CA     90007950934
91B94219472B42   TERESA             PENA                   CO     33034452194
91B9468155B531   LEANN              PESHLAKAI              NM     35063756815
91B9582A48B175   KATIE              IVIE                   UT     90012228204
91B95914193755   KAREN              JOHNSON                OH     64518779141
91B9592554127B   KRYSTAL            HALL                   PA     90010389255
91B9596955B356   ISAIAS             VALDEZ-REYES           OR     90001899695
91B96323181635   SHEILA             TORRES                 MO     90006423231
91B96657361977   CHRISTIAN          GARCIA                 CA     90014996573
91B9682936B954   STEVE              CONCANON               NJ     90015098293
91B96944391599   INFANT             GONZALEZ               TX     90014009443
91B97696861599   OSVALDO            SALOMON                TN     90015326968
91B97A98291599   NICOLE             DAVIS                  TX     90014410982
91B9821A291521   SYLIVA             RODRIGUEZ              TX     90014262102
91B9824365B371   ASHLEY             BRYANT                 OR     44524822436
91B985A7855951   ZAIRA              PACHECO                CA     49015885078
91B989A472B981   MARTA ELEN         GUDINO                 CA     45001869047
91B99229851342   CHERIE             HOCKL                  OH     90014442298
91B9928432B869   MARGARET           WOOD                   ID     90007622843
91B9965995B531   MAGDALENA          PINO                   NM     90012176599
91B99678261921   RAFAAH             MCKHAA                 CA     90006866782
91B997A7391951   JOY                HEDGEPETH              NC     17024677073
91B99925881635   HUGO               MARROQUIN              MO     29073719258
91B9B737591521   BLANCA             VILLARREAL             TX     75006787375
91B9B755972B56   OLIVA              MEJIA                  CO     90012007559
91B9B962971922   JODI               VALDIVIA               CO     90001559629
91B9BA1352B889   TIM                GREEN                  ID     42087980135
91BB123345B371   JENNIFER           JONES                  OR     90012532334
91BB12A6A72B42   DANIEL             MARTINEZ               CO     90013992060
91BB152A651334   JOSE               DIAZ-JIMENEZ           OH     90014685206
91BB165635B548   FELIPE             HERNANDEZ              NM     90014856563
91BB1966272B56   GRAY               VE                     CO     90013949662
91BB1A89A91327   SEAN               ANDRESEN               KS     29076200890
91BB228383164B   ZEKE               MILLS                  KS     90013302838
91BB229573164B   ZEKE               MILLS                  KS     90012302957
91BB243712B981   SABRINA            MASTERSON              CA     45097284371
91BB2811491553   LESLIE             LOPEZ                  TX     90009148114
91BB317428B125   AUDRA              THOMPSON               UT     90008891742
91BB3371371936   MARIBEL            SERNA                  CO     90012653713
91BB3489691951   CASSEY             BAILEY                 NC     17024724896
91BB3731272B62   BRIAN              ACOSTA                 CO     90006587312
91BB383315B371   DAISY              PORTILLO               OR     44576248331
91BB472648B13B   ESMON              TUCKER                 UT     31077907264
91BB4911893738   DARIA              CARTER                 OH     90001089118
91BB492112B27B   STEVEVET           MILLER                 DC     90014539211
91BB4A89981635   APRIL              RIMPSON                MO     90013600899
91BB4A95671936   PATRICIA           INCERTO                CO     90013960956
91BB5639A7B444   JESSICA            SIMPSON                NC     90003386390
91BB567A691599   RICARDO            ACOSTA                 TX     90013696706
91BB568745B356   HOPE               WILHITE                OR     90002476874
91BB575764B554   BRODERICK          CARTER                 OK     90013937576
91BB6426272B62   TAIKIELON          SHELTON                CO     90014464262
91BB646948436B   DALE               BOOKER                 SC     90008194694
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1578 of 2350


91BB6658272B31   MIETRA          QUINTIA                   CO     33061446582
91BB6757381634   NEPHI           BRITTAIN                  MO     90013407573
91BB7544491882   CORI            RENNO                     OK     90014775444
91BB7627161977   FELICIA         HILLARD                   CA     46047776271
91BB7642891399   CARMEN          VASQUEZ                   KS     90012736428
91BB77AA172B3B   JOHANNA         JOHNSON                   CO     33093407001
91BB7A82161979   RAY             JJ                        CA     90010720821
91BB823895B371   JOSHLAN         DELACERDA                 OR     90014242389
91BB843772B273   JEFFREY         JORDAN                    DC     90001354377
91BB8661891882   JUSTIN          GARNER                    OK     90013826618
91BB8762561977   NANCY           IBAÑEZ                    CA     46047097625
91BB915225B531   LAVERNE         BARELA                    NM     35007631522
91BB916994B521   KAYLA           GILBERT                   OK     90007501699
91BB9211872B42   SANDRA          GARCIA                    CO     90006412118
91BB9557991944   TAMARA          WHITFIELD                 NC     90013145579
91BB9771991882   JASON           ELLIS                     OK     90010467719
91BBB26945137B   RODNEY          LONG                      OH     90013582694
91BBB882A61925   HILARIO         ALVAREZ                   CA     90002538820
9211112549375B   LEA             JONES                     OH     90013331254
921111A6691547   EDURDO          SOLIS                     TX     90008441066
92111278A5B548   MATTHEW         WOOLARD                   NM     90014092780
9211159987B444   AMY             HAMRICK                   NC     90009835998
92111937972B56   GABRIEL         OROZCO                    CO     90002019379
92111A5344B588   ASHILEY         HOLT                      OK     90006500534
9211213185B531   ROBERT          FOWLIE                    NM     90012281318
9211246565B548   RONALD          HYATT                     NM     35074844656
92112528A81634   MYRON           CODY                      MO     90004375280
9211266792B982   MAYRA           REYEZ                     CA     90011526679
9211284584B949   ZEKE            DUNCAN                    TX     90014458458
921128AA98B175   BRANDY          MITCHELL                  UT     31058218009
9211293A572B56   GIDIEL          HUICOCHEU                 CO     90011969305
9211299A985689   DIANA           VERA                      NJ     85086959909
92112A3848436B   PEGGY           PALMER                    SC     90011130384
92113393A7B449   FU              MAWI                      NC     90001123930
92114634572B3B   MATTHEW         MORSE                     CO     33087506345
9211479134B588   IVAN            JUZANG                    OK     90014497913
92114896772B56   JOHN            VEGA                      CO     90014888967
92114AAA672B51   MARIO           MORENO                    CO     90009120006
9211526A191951   HARRIET         PETTAWAY                  NC     90009242601
921158A9572B42   JESUS           BARRAZA                   CO     90012878095
9211664812B27B   MICHAEL         BARNWELL                  DC     81042776481
92116811172B42   DANIEL          PEREZ                     CO     90012878111
92116A59397B59   JOAQUIN         LUNA                      CO     39055300593
9211728284B949   DADIEL          ALBELO                    TX     90013132828
9211756615B531   CARLOS          GARZA                     NM     35041055661
9211758932B982   CHRISTINA       VARELA                    CA     45064545893
92117896772B56   JOHN            VEGA                      CO     90014888967
9211816AA2B981   BERTHA          GARCIA                    CA     90006051600
9211842887B444   DJEL            RMAH                      NC     90012394288
92118822872B56   SERENA          ELKERTON                  CO     90011818228
92119131A4B554   JOHN            COTTRELL                  OK     90009131310
92119678A5B531   DEVONNA         LUCERO                    NM     35066066780
9211971358B175   JULIA           WAYNE                     UT     90014937135
92119897472B56   NAYA            GALLEGOS                  CO     90014888974
9211B11275B585   CIERRA          BUSSEY                    NM     90014051127
9211B159A77537   FILIBERTO       SAAVEDRA                  NV     90012921590
9211B21778436B   PEDRO           VILLEGAS                  SC     90009992177
9211B3A2997B59   DEBORAH         LOCKARD                   CO     39001373029
9211B493391599   MARIA LETICIA   CHACON                    TX     90012584933
9211B617172B3B   BRAGINA         DIGGS                     CO     33013946171
9211B912272B42   SALVADOR        GRAJEDA                   CO     90002009122
9211BA3298436B   ENEDINA         AVILA-SANTIAGO            SC     19019600329
92121222197B59   RODNEY          MAESTAS                   CO     90008302221
9212158A68B149   MATT            ADAMS                     UT     31078055806
92121A5294B554   JIN SUK         SEONG                     OK     21522960529
92121A79A91B75   ALTON           FOY                       NC     90004650790
9212225137B444   SHONDRA         ROBINSON                  NC     11047202513
92122644772B51   DAVID           RODRIGUEZ                 CO     90014136447
9212271A95B531   BRANDI          TAFOYA                    NM     90006097109
9212295718436B   COURTNEY        SMITH                     SC     19013849571
92123262A41296   BRANDON L       SMITH                     PA     90012422620
9212331645B383   DIANA           TODD                      OR     90014753164
9212378454B949   LAWRENCE        GRAFF                     TX     76597237845
9212388352B982   RUFINA          CARBAJAL                  CA     90014928835
92123A97A72B62   PEDRO           CUARTAS                   CO     33014820970
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1579 of 2350


9212538894B949   KAMMIE       CHANDLER                     TX     90010653889
9212617363164B   DEANNA       POPE                         KS     22004181736
921266A1A5B548   BOBBY        APODACA                      NM     90014396010
9212681A926272   VINCENT      LEWIS                        WI     90015358109
92126898972B56   MARLENE      RIVERA                       CO     90014888989
92127349672B56   MAYDA        ORTIZ                        CO     90013023496
92127645772B3B   RICHARD      SANCHEZ                      CO     33003126457
9212829415B565   PHILIP       WHITEHORN                    NM     90012392941
92128433A72B22   MORGAN       EMMONS                       CO     90012754330
921286A1193755   ADLAIR       HUNTER                       OH     90013546011
92128A6794B949   JANICE       USTINOVICH                   TX     76594210679
9212964757B444   DIANE        GIST                         NC     90001876475
9212B372972457   BRANDON      KALBAUGH                     PA     90010053729
9212B42317B449   JAMES        CAMPBELL                     NC     11003104231
9212B74414B949   ANTOINEO     HERNANDEZ                    TX     76513807441
9212BA12A4B547   WILLMER      DIAZ                         OK     90012850120
92131226A7B444   TRENIKA      HOUSTON                      NC     90013082260
9213126794B954   JASMIN       ROLLINS                      TX     90005262679
9213129A65714B   LENIN        RIVERA                       VA     90002532906
9213163A561977   DANIELA      SANCHEZ                      CA     90011166305
9213179134B588   IVAN         JUZANG                       OK     90014497913
9213254675714B   MARIA        RUIZ                         VA     90000385467
92133658772B3B   OSCAR        MERRILL                      CO     90008736587
921337A798436B   LUSBI        BARRIOS                      SC     90011507079
92134324672B51   ROSA         CABRAL                       CO     33045733246
921349A2572B56   CHALISE      JONES                        CO     90014889025
92134A49477537   CATHLEEN     ST PETER                     NV     90002140494
9213549A772B51   KIM          HOWARD                       CO     90010394907
9213552917B444   JOAN         VENTURA                      NC     11015995291
9213561735B399   TIMOTHY      GOODS                        OR     90013976173
92135683697B59   ABERASH      WOLDETEKLE                   CO     90013436836
9213632A255951   EUSTOLIA     LAZARO                       CA     49008263202
92136724A2B27B   GERSON       LEMUS                        DC     90000337240
9213682824B588   OSCAR        OLVERA                       OK     90014498282
9213696432B981   INDIRA       DELGADO                      CA     90006589643
92136A4685B531   ROSARIO      BARRAZA                      NM     90005820468
9213722754B554   DEWAYNE      EWING                        OK     90013332275
9213724757B444   EBONY        BRANDON                      NC     90014122475
9213726597B429   THEODORE     BERGER                       NC     90008252659
9213738485B531   FAKHRI       ABED                         NM     35025223848
9213814897B444   ROSHA        WALKER                       NC     90006281489
92138228472B51   ANTHONY      ROBINSON                     CO     90004232284
9213838393B392   HEATHER      FREEMAN                      CO     33005913839
9213838554B949   JERRI        LANDOR                       TX     90013153855
9213841135B383   COREY        SMITH                        OR     90012584113
92138959A51334   KATHY        LEWIS                        OH     90010019590
9213922788436B   TYSHAWN      JOYE                         SC     90012842278
921396A4943584   GINA         CARLSEN                      UT     90013826049
9213B24365B383   TYRHONDA     FISHER                       OR     90014522436
9213B274381634   NICKI        WARD                         MO     90014592743
9213B39245B548   CHARLENE     GARDNER                      NM     90011523924
9213B764461979   MICAEL       MARVIN                       CA     90008397644
9213B851A72B42   MARTHA       BRAVO                        CO     90013168510
9213B8AA24B588   DOMINGA      RAMIREZ                      OK     90014498002
9214133298B149   SUSAN        PHILLIPS                     UT     31042723329
9214136325B531   DOREEN       DURAN                        NM     35069043632
921414A3336148   DONNIE       HERNANDEZ                    TX     90010014033
9214161667737B   CHAKITA      PAGE                         IL     90007966166
92141821772B3B   HECTOR       GONZALEZ                     CO     90012738217
92142669A4B949   JEANA        FOSTER                       TX     90013476690
92142A26172B62   XAVIERA      JACKSON                      CO     90014570261
9214312634B554   ARLENE       ELLISON                      OK     21517011263
9214313A785689   AMISAIN      DIAZ                         NJ     90000931307
9214345742B27B   MICHI        GREEN                        DC     90012314574
92143562344B33   MICHAEL      BROZINA                      OH     90014075623
9214383634B588   AERIAL       FAZEKAS                      OK     90014518363
921442A1555957   CECILIA      GAMBOA                       CA     90012792015
9214442A681635   KELLY        SIMS                         KS     90014814206
9214443437B444   JERVON       WILLIAMS                     NC     90014104343
92144553572B42   ANTONIO      PRIETO                       CO     33000665535
92144711372B56   PAYGO        IVR ACTIVATION               CO     90013107113
92145332972B22   M BERNADET   HERRERA                      CO     33023943329
92145386A81635   CARLOS       GONSALEZ                     MO     90011443860
9214583977B444   TASHAE       JOHNSON                      NC     11091928397
921459A2972B56   JORGE        ANDRADE MARTINEZ             CO     90014889029
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1580 of 2350


92145A83772B3B   LEANN         NEVERDAHL                   CO     90009010837
92146698572B56   JUANA         JUAREZ                      CO     33031596985
9214693578B175   FRANCISCO     RAMOS                       UT     31078519357
9214693A34B554   PAYGO         IVR ACTIVATION              OK     90009509303
92146A65972B51   JESUS         RASCON                      CO     90007020659
92146A77155957   AMELIA        PELUNA                      CA     49045360771
9214744648436B   MARION        DRIGGERS                    SC     90013754464
9214779187B444   STACIE        HYATT                       NC     90014927918
9214811A551334   SARAH         WRIGHT                      OH     90010101105
9214864278B175   JALLY         AINI                        UT     90011896427
9214869878436B   JUAN CARLOS   GONZALEZ                    SC     90013586987
92149925372B3B   GREG          GONZALES                    CO     90012799253
9214B114991599   IRMA          LOPEZ                       TX     90004991149
9214B263691579   CARMEN        GARITE                      TX     90012232636
9214B41982B27B   DIVIS         MELGAR                      VA     90004504198
9214B553391521   LACY          JOHNSON                     TX     90004885533
9215124858B149   CARMEN        COVARRUBIAS                 UT     31010982485
921512A4A72B22   JOSEPH        GREENEMEIER                 CO     90013872040
9215158A885689   ELIAS         GARCIA                      NJ     90008435808
92151681972B51   JULIANA       ALVARADO                    CO     90013496819
92151715972B42   MERISSA       VASQUEZ                     CO     90009507159
92151A22857137   JUILET        UGOCHUKWU                   VA     90010330228
92152337A91951   SIERRA        WILLIAMS                    NC     90009933370
9215279868B149   JORDAN        STEVEN K                    UT     90009447986
921529A8372B56   GORDON        PIERSON                     CO     90014889083
92152A24151334   FELIPE        OSORIO                      OH     90012560241
92152A54172B62   JESSICA       CRUTHERS                    CO     33008440541
921533A5133698   LEQUITA       MCINTYRE                    NC     12003403051
9215394688B149   BRENDA        GROWCOCK                    UT     31031559468
9215455485B548   JASMINE       DESCHAMPS                   NM     90014915548
9215551338B149   TINO          MARTINEZ                    UT     90011005133
92155688472B51   IRMA          URBINA                      CO     33056656884
9215569478B149   TINO          MARTINEZ                    UT     90003476947
921564A792B27B   JERMUTA       HARGRAVES                   DC     81006194079
92157168A55957   WEST          MICHELLE                    CA     49061361680
9215729493164B   LINDA         MOORE                       KS     90015522949
9215759A272B51   MICHAEL       PENA                        CO     90013295902
92157669A4B949   JEANA         FOSTER                      TX     90013476690
92158427272B56   BRENDA        ALACALA                     CO     90014894272
92158448772B62   EDGERTON      MARCUS                      CO     90014304487
921585A7397B59   JANICE        DAUBERT                     CO     90012485073
9215867268436B   MARIA         RODRIGUEZ                   SC     90014896726
92159859272B3B   TASHANA       WALKER                      CO     33088188592
9215B22152B982   ELIZABETH     RIOS                        CA     90011032215
9215B488772B56   JESUS         VILLA SANCHEZ               CO     33092084887
9215B797881635   FRANCIS       ABRAHAM                     MO     90009387978
9216122A772B42   STEPHANY      MEDINA                      CO     33091312207
9216123757B449   TEMPESS       MARTIN                      NC     11090842375
92161423A72B22   ALEXANDER     TOWER                       CO     90012754230
92161A99172B32   ANTHONY       RECINOS                     CO     90015180991
92162324572B22   ELIAS         VALDEZ                      CO     90002833245
921624A9A91399   FRANZ         CHUN-GARCIA                 KS     29071774090
92162546A33698   ESBEIDA       ESPINOZA                    NC     90012165460
92162A43793769   JOSEPH        JOBES                       OH     90011510437
9216375A481635   DEMETERIA     SCOTT                       MO     90007437504
9216385945B281   DEBORAH       ROBINSON                    KY     90007788594
92163883A5B531   CHRISTINE     JONES                       NM     35086408830
92164747A72B56   ANTONIO       IBARRA                      CO     33065487470
921647A5291544   MARIA         CALANCHE                    TX     90012737052
92164885672B62   PHIL          HOFFMAN                     CO     90002618856
92164929A72B32   CARLA         ALEJANDRE                   CO     90014069290
92164A25397B59   LYNN          HENNING                     CO     39094130253
921658A6772B3B   ANDREW        JERNIGAN                    CO     90002458067
92165914972B56   DANNY         MANGRUM                     CO     90014889149
92165A57297123   MIGUEL        MENDOZA                     OR     90004980572
921661A9772B56   TREVOR        DUNN                        CO     33011511097
9216641754B949   GENERA        GRANGER                     TX     90013144175
9216688184B554   DO            LY                          OK     90010038818
9216714774B949   JOSEPH        TALCOTT                     TX     90015131477
92167551672B42   GERDA         TANYA                       CO     90002955516
92167914972B56   DANNY         MANGRUM                     CO     90014889149
9216797565134B   ROBERT        DEARDORFF                   OH     66080119756
92167A52131942   VAN           BIAK                        IA     90015370521
921683A3372B56   RETA          MCDANIEL                    CO     33011023033
92169A9164B949   CRAIG         GREEN                       TX     76549650916
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1581 of 2350


9216B18865B548   LAVITA             LUCERO                 NM     35003901886
9216B523381634   LAURIE             BODEN                  MO     90012765233
9216B622772B22   MARIA              ARREDONDO              CO     90004576227
9216B685891599   JOSE               MARQUEZ                TX     90013296858
9216BA59172B62   CEASER             ACOSTA                 CO     33009010591
92171185A91521   REX                NOVAK                  TX     75075611850
9217175632B891   AARON              HUTCHISON              ID     90012727563
92172168997B59   EFREM              TESFASILASIE           CO     90014901689
9217248A89137B   HEATHER            MCCOLLUM               KS     29033494808
921724A2372B49   RAMON              FRANCO                 CO     90013404023
9217253662B982   MARIA              PADILLA                CA     90011425366
9217292782B27B   DARREN             ANDREWS                DC     90008979278
92172AA9855951   JOSEPH             PATCHELL               CA     90011240098
9217349A772B51   KIM                HOWARD                 CO     90010394907
92173A3573164B   DEANGELA           ROGULAR                KS     90014450357
921741A917B444   IGNACIO            SIMENTAL               NC     90000161091
9217439657B359   KWAME              BOATENG                VA     81020453965
9217444384B949   MAHOGANY           ELLIS                  TX     90013664438
9217476185B531   RIGOBERTO          GARCIA                 NM     90003157618
92175124A33698   KHAMPAY            BOUTHAN                NC     90005531240
9217623435B126   RANDY              PIERCE                 AR     90015212343
9217644A472B51   BERT               PERNIKOFF              CO     90014174404
92176693A8436B   AMANDA             MARQUETTE              SC     90015276930
9217679A74B554   LUIS               VELASCO                OK     90011187907
921767A8572B62   KENYA              GRAY                   CO     33002127085
9217684617B444   TARRANCE           DANIELS                NC     90011918461
92177A89A81635   GINA               VINYARD                MO     29085550890
921787A954B588   PAUL G             LOVEJOY                OK     90003357095
9217929974B554   DONNESIHA          BOLDEN                 OK     90010932997
9217956984B588   JASMINE            YOUNG                  OK     90014565698
9217B15A891599   CLAUDIA            GUARDIOLA              TX     90013711508
9217B161991951   OLURONKE           OYENEKAN               NC     90009631619
9217B28A981635   VALENCIA           GRISWOLD               MO     90013172809
9217B914972B56   DANNY              MANGRUM                CO     90014889149
9218151482B982   ARTHUR             SATO                   CA     90008935148
92181744A72B56   FANOU              GUENOLE                CO     33069707440
92181829972B32   CARLOS             OROZCO                 CO     33026338299
92182A3868B175   TAMMARA            BEHUNIN                UT     31009010386
92183313472B22   TIM                TRIPP                  CO     33058293134
9218339548B149   JOHN               HANSEN                 UT     90012683954
9218347345B383   KIERRA             MITCHELL               OR     90002764734
92183486572B56   REGINA             NATIVIDAD              CO     33043074865
9218364437B444   ARMANDO            NAVARRES               NC     90013396443
92184161172B42   MARIA DE ROSARIO   GARCIA                 CO     90013941611
9218459974B588   MARQUITA           CAMPBELL               OK     90014565997
921849A1A72B22   ANTONIO            RIOS                   CO     90014729010
9218582137B444   HUMBERTO           DELGADO                NC     90010168213
9218617544B554   GENIE              ODELL                  OK     90014601754
92186495772B32   EMELDA             GONZALEZ               CO     90006764957
92186522372B42   XINHUI             MAO                    CO     90013015223
9218669115B548   SHANNA             BYERS                  NM     90005266911
92186939A5B386   LARRY              MATHIS                 OR     44517259390
9218754598B18B   ANTHONY            MORA                   UT     90013425459
9218783744B949   JESSICA            DUMAS                  TX     90009928374
9218831212B982   NANCY              RUBALCABA              CA     90011473121
9218892898436B   MARTHA             WRIGHT                 SC     90009509289
92188A34572B3B   BENJAMIN           CAMPOS- HERRERA        CO     90001830345
92188A3775B531   MARLON             JOHNSON                NM     35099030377
92189279897B59   MARIA              MORAN                  CO     90010332798
92189344272B62   RUDYARD            SCHWED                 CO     33089103442
9218958724B588   MICHAEL            COUGHRAN               OK     21568005872
9218B261533698   LORRAINE           CHAPMAN                NC     90009462615
9218B337172B32   ANTOINETTE         PIETY                  CO     33068563371
9218B366841296   LARON              GILBERT                PA     90014463668
9218B712172B22   JANA               PATREI                 CO     33014617121
9218B79812B982   ELIZABETH          RUIZ                   CA     90008707981
9218B827872B42   TYLER              BULLOCK                CO     90012878278
9218B892472B56   SILVIA             RODRIGUEZ              CO     90014578924
9218B966791399   ERWIN              DIAZ                   KS     90001469667
92191549597B59   DAMARIS            HERNANDEZ              CO     39092355495
9219191717B449   KRISHAWN           MORRIS                 NC     90010669171
921923AA471389   BRUCE              BARNARD                TX     90001143004
92192A9718B175   REGINA             PEARSON                UT     31013430971
9219346A743584   LONI               WOOD                   UT     31091204607
9219371525B383   JUAN               SURO                   OR     44579017152
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1582 of 2350


92194111A5B383   NANCY        GONZALEZ                     OR     90014861110
9219427A95B383   THOMAS       HUDSON                       OR     90013972709
9219462634B554   CASSIE       GAINEY                       OK     90013026263
92194A45A72B3B   RENAY        OSHOP                        CO     90010870450
9219599837B444   ARTEZ        MACKIN                       NC     90013649983
92195A1A743584   JOHN         FITZHUGH                     UT     90012320107
92197152672B42   LEVI         TRUJILLO                     CO     90014401526
92197235872B3B   DENNISE      ENRIQUEZ                     CO     90007892358
92197464397B59   VICTORIA     CHRONISTER                   CO     39037994643
9219767A791521   JENIN        JUAREZ                       TX     90014226707
9219779645B531   BERENICE     GONZALEZ                     NM     90013357964
9219847465B548   FERNANDO     CRUZ-VERA                    NM     35079134746
9219861168B173   BECKY        GILLIS                       UT     90006446116
92198796A2B27B   OSCAR        PINO                         DC     90013457960
921989A1233698   GWEN         SHOUGH                       NC     90012579012
92198A7798B149   TROY         OGDEN                        UT     31016010779
92198A87877537   DANIEL       ANDRADE                      NV     43084520878
9219931A972B32   EVELYN       GUZMAN                       CO     90012033109
9219951338B149   TINO         MARTINEZ                     UT     90011005133
9219968574B588   MARIO        PINA                         OK     90014566857
9219972412B27B   MELLANY      BUTANTU                      VA     90008127241
9219B33A672B42   KRISTEN      CHIPMAN                      CO     33089733306
9219B852A41251   DENEEN       SHERLOCK                     PA     51014958520
9219B89A27B444   JOSEANTONI   CABRAL                       NC     11033588902
9219BA57972B57   FELIX        RADILLA                      CO     33082960579
9219BA65972B51   JESUS        RASCON                       CO     90007020659
921B1874A8436B   DELVIN       BROWN                        SC     90014508740
921B198538436B   DELVIN       BROWN                        SC     90013269853
921B1A17897B59   MARY         FLANIGAN                     CO     39090900178
921B1A21293755   MICHAEL      CARTER                       OH     90015310212
921B215118B693   ALFREDO      MENDOSA VASQUEZ              TX     90014051511
921B24A7672B32   PATROCINIO   TORRES                       CO     33085684076
921B2613991579   BERTHA       CLARO                        TX     75088746139
921B2881824B22   KEVIN        HAIRSTON                     DC     90009598818
921B3589272B56   PEDRO        CANDIA                       CO     33023665892
921B3A77755951   JESUS        HERNANDEZ                    CA     90012150777
921B3AA4672B51   JORDAN       WORSLEY                      CO     90013220046
921B4156377537   SILVINA      AGUIRRE                      NV     90014451563
921B427582B889   RAUL         BARRAGAN                     ID     90010432758
921B4936A61977   OFELIA       PALACIOS                     CA     46081689360
921B5167A8436B   SHAKEETE     RIVERS                       SC     90014811670
921B51AA572B22   PILAR        TERRONES                     CO     90013991005
921B544735714B   KADIATU      RICHARDSON                   VA     90000584473
921B562A972B42   ARTHUR       HERNANDEZ                    CO     90011866209
921B5648991521   DIANA        VILLALOBOS                   TX     75070286489
921B5862672B42   ART          HERNANDEZ                    CO     90013888626
921B5A14493755   JENNIFER     GOOLSBY                      OH     90005660144
921B614A98436B   ALBERTO      GARCIA                       SC     19044991409
921B61A3291599   DAN          DORSETT                      TX     75032921032
921B6427381637   GEOVANI      MIRANDA                      MO     90013324273
921B648A472B32   JENNIFER     PIMENTAL                     CO     90012804804
921B657735B531   ASHTYN       CHAVEZ                       NM     35006935773
921B6625272B51   JEFF         REITER                       CO     33083196252
921B6739A72B62   CHESTER      LOTKO III                    CO     33072357390
921B6743A4B588   DESTINY      KURNETE                      OK     90007257430
921B676377B444   LAMORRIS     DUNN                         NC     90007877637
921B6811497123   MARTY        CUNNINGHAM                   OR     90014378114
921B685158B877   LOUIS        MATAUTIA                     HI     90014748515
921B7596872B3B   TIMOTHY      MAGUIRIE                     CO     90012915968
921B75A6172B62   RON          RICE                         CO     33071985061
921B763A443584   NATALIE      COOOK                        UT     90005226304
921B7742472B56   TIFFANY      LEDEZMA                      CO     90002757424
921B824A791599   FELIPE       ESCALANTE                    TX     90006512407
921B8854172B3B   RICHARD E    BECK                         CO     90013238541
921B9236191521   JERAMY       GARCIA                       TX     90011402361
921B9327A4B949   LEXIE        DOSSEY                       TX     90015303270
921B9597951334   AQUILA       RAMSEY                       OH     90002065979
921B9924691951   SALOMON      CONTRERAS                    NC     90009829246
921B9978372B56   LAKISHA      ROGERS                       CO     90013009783
921B9A1992B982   JUDY         PERRY                        CA     45001440199
921BB688472B51   IRMA         URBINA                       CO     33056656884
921BBA27891951   OCTAVIANO    FLORES                       NC     17012220278
921BBA38672B42   GUADALUPE    AVILA-GALAVIZ                CO     90008750386
92211119897B59   DEANNA       MCMAHAN                      CO     90010361198
9221157648B149   MEAGAN       SANDERSON                    UT     90011965764
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1583 of 2350


92211926472B56   GARRY              GOMEZ                  CO     90014889264
92211A71655957   RATRY              VILAYSINH              CA     90014490716
9221211994B554   PATRICIA           ALLEN                  OK     90013171199
922133A9A41296   JONATHAN           KOLICH                 PA     90014943090
9221342514B554   JERRY              HARWOOD                OK     21585224251
92213667572B42   KANDACE            ORETZ                  CO     90005166675
9221382A15137B   JOYCE              DUBOSE                 OH     66020898201
9221391234B554   ANTHONY            KOSMALSKI              OK     90012259123
92213945A72B3B   SARAH              LEE                    CO     33036119450
922141A5855957   CARSON             THOMAS                 CA     90010301058
9221421748436B   GUSTAVO            TURCIOS                SC     90010822174
9221442514B554   JERRY              HARWOOD                OK     21585224251
9221451A855951   INES               RAMIREZ                CA     90012265108
922147A994B949   MARCO ANTONIO      HERNANDEZ NUNEZ        TX     90013497099
9221484245B548   HAYNES             COLTON                 NM     90012848424
92214911A5B531   ALLEN              SMITH                  NM     90014509110
92214A1A572B32   UBALDO             SALAIS                 CO     90013990105
92215178A5B383   LUCIEN             LAVOIE                 OR     90008311780
92215558672B42   JUANITA            WILLOUGHBY             CO     90003815586
9221611258B175   EDGAR              MONZON                 UT     90001481125
9221616392B982   ANGELA             PINA                   CA     90009571639
92216291697B59   MIRNA              TRENT                  CO     90004572916
92216497872B51   MICHAEL            JOHNSON                CO     90010394978
9221678A98B149   AARON              NILSEN                 UT     90015407809
92216A11191599   CHAYN              WILLIAMS               TX     75003770111
92216A49361977   ANDRADE            TIMOTHY                CA     46006960493
92217186872B22   JORGE              NORIEGA                CO     90011111868
92217582A4B949   ROY                KINLER                 TX     90014175820
92217A99685689   LEONEL             SALAS                  NJ     90011840996
9221832968B149   HERBERT            JAIME LEE              UT     90010863296
9221871134B588   SHELLEY            KEMP                   OK     90014587113
922188A3672B3B   ALEX               NAVARRO                CO     33034678036
9221894545B383   RODEL              DAVID                  OR     90012369454
9221896A755957   KOU                YANG                   CA     90012449607
9221913872B344   EVELYN             CHAVES                 CT     90014971387
9221968A333698   JOEL               REESE                  NC     90012396803
9221995A872B32   HANNATU            HAMMOND                CO     90015119508
92219A1127B481   ALYSSA             MANNING                NC     90013670112
9221B284851334   DIANA              WASHINGTON             OH     90014562848
9221B2A4572B22   PETER              BALZER                 CO     90003012045
9221B575A55951   RICHARD            MONTOYA                CA     90012875750
9221B95272B27B   TENEISE            BARR                   DC     90009009527
922212A645B548   AMBER              SMITH                  NM     90013732064
922212A7272B56   ADILENE            PEREZ                  CO     90007242072
92221336472B42   MARIA              HERNANDEZ MENDEZ       CO     90012483364
92221A61572B32   AMBER              RODRIGUEZ              CO     90009540615
92222247A8B149   JAYSON             COX                    UT     90012602470
9222264972B27B   MAURICIO           RAMOS                  DC     90010746497
92222AA425B531   JENNIFER           TESILLO                NM     35076980042
92223558872B3B   CARMEN             ESTRADA                CO     33077165588
922235AA497B59   JUAN               RODRIGUEZ              CO     90014365004
9222382147B444   LAKEISHA           HOLLOWAY               NC     11092848214
9222438894B949   BRITTANY           LIVINGS                TX     90014653889
92224662A41296   ANGELA             GREEN                  PA     90004956620
9222474A98436B   KANITHIA           DEAN                   SC     90010177409
92224A37155957   MARIO              PIZANA                 CA     90011290371
92224A53238543   ELIZA              RAMIRZE                UT     90014130532
92225184772B51   GUILLERMO          NUNEZ-ALVAREZ          CO     90014051847
9222554A161977   ANDRES             CONTRERAS              CA     90012795401
9222566AA4B588   WILL               STARK                  OK     90014576600
92226445172B42   KACY               SLAUGHENHOUP           CO     90012644451
92227219A41296   SYREETA            PRICE                  PA     90011302190
92227278672B42   FRANCISCO          RENDON                 CO     90013502786
92227723472B3B   DEBRA              GAINES                 CO     33053857234
92227771A72B56   JENNIFER           ORNELAS                CO     33004207710
9222784928594B   TIMOTHY            HUGHES                 KY     90008408492
9222787358B175   WILLIAM            EAST                   UT     90014938735
92227A58333698   JORGE              MAJICA                 NC     90008370583
92228222172B56   ARMANDO            ORTEGA                 CO     90012942221
9222824A143584   CLAYTON            HUNT                   UT     31045222401
92229215472B22   PABLO              MONTES                 CO     33053802154
9222929A855957   LIZABETH           LARIOS                 CA     49044362908
9222B121191599   JOSELUIS           ROJAS                  TX     75001851211
9222B27473164B   FRANKIE            ROBLES                 KS     90012512747
9222B474697123   IRMA ESPERICUETA   ELIZONDO               OR     90010594746
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1584 of 2350


9222B4A9772B42   CHRISTY       IVORY                       CO     90006724097
9222B57627B444   JOSE          SOLANO                      NC     90013335762
9222B681481637   BROCK         SAVAGE                      MO     90006936814
9222BA3122B982   ADOLFO        MORENO                      CA     45057200312
9223162A472B32   EDITH         OGBONNA                     CO     33044086204
92232233972B51   VERONICA      FLORES                      CO     33053942339
922324A235B383   JAMIE         ANDREWS                     OR     90002594023
922325A244B554   ERIKA         HUNTER                      OK     90014805024
92232A99872B3B   JULIA         BEARRY                      CO     90014330998
92233275272B3B   STAR          RUIZ                        CO     90015412752
9223355A993756   JOHN          PLUSH                       OH     64584485509
9223394A761927   JORGE         GARCIA                      CA     90009789407
92234147572B32   JUAN          CARLOS                      CO     33084851475
9223463485B548   JUSTIN        SMITH                       NM     90010086348
922353A5477537   LORENA        MONTALVO                    NV     90007743054
922353A562B27B   LATHRASJAIE   FRENCH                      DC     90013963056
92235791372B62   MICHEAL       GUY                         CO     90011007913
9223581847B444   KENYA         GARCIA                      NC     90014418184
9223591A533698   RAYMOND       SHOLARS                     NC     12063049105
92235945672B51   ANTONIO       RUIZ                        CO     33063209456
92236154572B51   JANETTE       YBARRA                      CO     33083211545
92236A11872B42   GERARDO       ENRIQUEZ                    CO     33061220118
92236AA445B531   MARIA         HOLGUIN                     NM     90008160044
9223737558436B   CHARLIE       SNYDER                      SC     90008833755
92237525A38543   DOUGLAS       MINER                       UT     90012095250
922375A8191521   EDUARDO       FABELA                      TX     75051925081
922376A6997123   BLANCA        BAUGH                       OR     90001696069
9223772365B548   PAYGO         IVR ACTIVATION              NM     90004737236
92237937672B56   TIMOTHY       LOPEZ                       CO     90014889376
92237A31A5B531   DESIREE       CHAVEZ                      NM     90009760310
9223814262B27B   IESHA         WEBB                        DC     81086441426
92238861772B3B   FRANCISCO     CASTANEDA-RODARTE           CO     33001188617
9223915A251533   NAYTE         KODADI                      IA     90011901502
92239248A93726   MARK          MOON                        OH     90008682480
9223956488B175   ROBYN         ADAMSON                     UT     31094665648
9223968444B588   BRANDY        JOHNSON                     OK     90013396844
922398A9772B62   DEONTE        MANLOVE                     CO     90014588097
92239A96381635   AMANDA        WHITAKER                    MO     90008120963
9223B15892B982   ARMANDO       GARCIA                      CA     45030401589
9223B27924B588   TERRIS        MILLER                      OK     90014482792
9223B592497123   ENRIQUE       ESTRELLA                    OR     90013945924
9223B61424B949   CLIFTON       POWELL                      TX     90013716142
9223B751943584   ROBERT        BUNN                        UT     90013217519
9223B81465B524   MARCIA        SCHICK                      NM     90013638146
9223B82578436B   CHANNON       FULTON                      SC     90005198257
9223B937772B56   MAE-LYNN      MARRUFO                     CO     33005999377
92241821472B42   ERICA         MAYFIELD                    CO     90004658214
92241A12481635   DAVID         GHARST                      MO     29048610124
92242615172B42   MAGDALENA     MARTINEZ                    CO     90004106151
92242749697B59   PENNY         ARMSTRONG                   CO     90014527496
922427A1572B62   FRANK         MONTOYA                     CO     90003117015
92242852372B51   NICHOLAS      BALSICK                     CO     90014848523
922429A818B175   MARGRET       LUKES                       UT     90014939081
9224361A872B56   AXEL          CARABALLO                   CO     90011826108
9224438712B982   JESSICA       GUILLEN                     CA     90014263871
9224468444B588   BRANDY        JOHNSON                     OK     90013396844
92244883197B59   JASMIN        TREVINO                     CO     90015118831
92245686372B32   ABIR S        KABBANI                     CO     90011056863
9224634A897B59   SOFIA         VELASQUEZ                   CO     39086623408
92246379972B32   SHARLEENE     GONZALES                    CO     90013933799
922463A6797123   RACHEL        GISH                        OR     44004463067
9224645594B949   LATOYA        HASKIN                      TX     90013934559
9224662865714B   DAVIS         BAYNES                      VA     90006406286
9224692312B982   LUISA         PEREZ                       CA     90000509231
9224773674B588   ANTHONY       MENCHACA                    OK     90014577367
9224784A872B42   ROBERT        BOYLE                       CO     90012878408
92247A7832B27B   TYRONE        PAYTON                      DC     90015180783
9224886632B982   ERIKA         RUBIO                       CA     90014918663
92248A1A78B175   JASON         JENSEN                      UT     31003620107
9224921198B149   WESSLEY       FREDRICKSON                 UT     90009432119
922492A155714B   WALTER        LEMON                       VA     90007082015
92249452572B62   KIMBERLY      MYATT                       CO     90008554525
9224997A391532   SAUCEDO       CRYS TAL                    TX     90003019703
92252273A72B3B   TINA          ARANA                       CO     33089212730
9225236A597123   DAVID         BAKIES                      OR     90009613605
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1585 of 2350


92252529272B56   SILVIA       FERNANDEZ                    CO     90011945292
9225257A34B949   GILBERT      ESCAMILLA                    TX     90013845703
9225285A343584   MEL          MCGREGOR                     UT     31013708503
92252A68A72B56   HELEN        HEIDBRIDER                   CO     33036180680
9225339555B531   CHARLES      STEWART                      NM     90011643955
922536A7481634   MARSHALL     FAULK                        MO     90014906074
9225384A461977   CARLOS       GONZALES                     CA     90012768404
922539A818B175   MARGRET      LUKES                        UT     90014939081
92254597172B56   MAURO        COLOMO                       CO     33051365971
9225487792B27B   KEITH        MACKELL                      DC     90013418779
92254A26255957   TIFFANY      SMITH                        CA     90008130262
92254A64372B32   CARLOS       MARTINEZ                     CO     33052740643
922551A5855957   CARSON       THOMAS                       CA     90010301058
9225561388436B   JAMES        SURPRENANT                   SC     90010296138
9225564877B449   ANITA        REDFERN                      NC     90005686487
92256157172B83   MARGARITA    GOMEZ                        CO     33013761571
9225616392B982   ANGELA       PINA                         CA     90009571639
9225661517B33B   PRO          CLEAN                        VA     81082876151
9225662855593B   YADI         ALDAMA                       CA     90006196285
9225669445B548   ROLANDO      ARTEAGA                      NM     35096496944
92256766772B97   RACHEL ANN   RETANA                       CO     90003447667
9225737895B396   BENDER IND   GROUP INC                    OR     44509073789
922575A8A4B588   KARL         SCHWARZ                      OK     21500505080
92257765A72B32   LEROY        AYERS                        CO     33023267650
92257A2878436B   LAURA        EASTMAN                      SC     19040180287
9225815413164B   JENNIFER     TAFOYA                       KS     22072051541
9225833157B444   CLOVER       SMITH                        NC     90012973315
9225868485B531   ERIC         PACHECO                      NM     90013726848
92258799172B42   MARIO        NAJERA                       CO     33042277991
922591A824B588   MIRIAM       GOMEZ                        OK     90001261082
92259685A72B3B   ANGELIXA     LOVE VIGIL                   CO     33050366850
9225B41948436B   LASHAWNDA    JONES                        SC     90011304194
9225B439A91951   ADRIANA      ROMEROS                      NC     90001854390
9225B43A755957   JUANITA      BRAVO                        CA     90006884307
9225B58537B444   TASHA        WEDDINGTON                   NC     90013895853
9226129A193755   JUSTIN       OWENS                        OH     90009782901
922615A6972B51   VICTORIA     ARCHULETA                    CO     33089245069
922615A792B981   LUPITA       JIMENEZ                      CA     90006775079
92262358472B42   PRICILA      WINKLE                       CO     90011293584
92262456A7323B   ALONZO       GARCIA                       NJ     90014034560
92262463997B59   LUZ          ALEMAN                       CO     39082844639
9226299357B444   MONIQUE      BARBER                       NC     90013829935
9226311A933698   TAMMIE       BILLINGS                     NC     90011151109
9226331284B554   KIMBERLY     MCVEA                        OK     90007403128
9226448144B554   MAH          GONZALES                     OK     21516954814
92264A85972B3B   RUBEN        GONZALES                     CO     90011600859
9226521263B335   LORENA       YEPEZ                        CO     90012852126
9226521843B335   BRIANDA      BANUELOS                     CO     90009712184
9226522842B27B   ROY          KIRKWOOD                     DC     90013492284
92265515297B59   EMBERT       VALDEZ                       CO     39067505152
9226596328B175   PATRICIA     MARTINEZ                     UT     31087869632
922659A7381634   HELEN        HILL                         MO     90014649073
92266235172B42   PABLO        RAMIREZ                      CO     33073522351
92266315672B42   BETZABE      LEYVA                        CO     90013513156
9226699264B949   URSULA       ALFRED                       TX     76550099926
922669A2A77537   TAMMIE       MEACHAM                      NV     90012029020
9226768245714B   ROGELIO      HERNANDEZ QUINTEROS          VA     90006406824
922677A7993755   EMILY        COBB                         OH     90008017079
92267A92633698   ISMAEL       HERNANDEZ                    NC     90013110926
92268283A8436B   CHANTEL      MOLIX                        SC     90011312830
92268623797B59   MONICA       LEPPERT                      CO     39016056237
92268AA117B444   STEPHANIE    BROWN                        NC     90010500011
92269619572B62   JANELLE      CONTRERAZ                    CO     33073636195
9226965A95B548   PEREA        TOMMY                        NM     90011296509
922697A5661979   MARCO        HERNANDEZ                    CA     90011767056
9226B128372B42   JOSEPH       KING                         CO     90012731283
9226B389493768   DANIEL       STRINGER                     OH     90013323894
9226B3A3855957   ISIDRO       BAEZ                         CA     90011483038
9226B58345B383   BRENDA       AYALA                        OR     90013695834
9226B59134B554   MANUELITO    VALLEY                       OK     90013275913
9226B818872B51   YVONNE       GALLEGOS                     CO     33055338188
92271655672B56   CHISTINA     RIOS                         CO     90007816556
9227182A881634   WILSON       MEREDITH                     MO     90013618208
922732A555B548   TONY         FLORES                       NM     35036932055
922734A4272B51   MARCUS       VAUGHN                       CO     90014444042
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1586 of 2350


9227358537B444   TASHA          WEDDINGTON                 NC     90013895853
9227389784B949   JOSHUA         LOFTON                     TX     90007288978
9227457615B383   DIANNE         BLEM                       OR     44509435761
9227486A94B588   TYREE          FAY                        OK     90014578609
92274986A81634   KORINA         EUERRA                     MO     90012089860
92274A12172B3B   HEATHER        GRIEGO                     CO     90011400121
9227567738B175   MACKENZIE      TAGGART                    UT     90011566773
92275956197B59   ANGELICA       ZID                        CO     90009809561
9227681864B554   SINDRY         BARRIOS                    OK     90015188186
9227694137B444   MARVIN         GUZMAN                     NC     90009959413
9227724994B554   DELANA         STEVENS                    OK     90008652499
922774A7185844   MARIELA        CASTANEDA                  CA     46008634071
92278471572B51   MELECIO        SANDOVAL                   CO     90011654715
92279512272B22   MARK           TAPIA                      CO     33005475122
9227B13587B449   ERNEST         MONPS                      NC     90005661358
9227B369572B3B   MARTHA         JIMENEZ                    CO     33095633695
9227B45262B982   ANA            MADRIGAL                   CA     45008764526
9227B497172B32   RAYMOND        BARRAZA                    CO     90005434971
9227B72A955957   GUADALUPE      RODRIGUEZ                  CA     90012237209
9227B737981635   MARIO          GONZALEZ                   MO     90013967379
9227B94A877537   JOANNE         HUDDLESTON                 NV     90014669408
9227BA74572B51   FRANCISCO      ESPINO                     CO     90008240745
922816A8251334   KANDICE        KIBUUKA                    OH     66015066082
92282771A7B444   BYANCA         ARTEAGA                    NC     90004677710
922828A298B149   BENJAMIN       CROFTS                     UT     90009938029
92282954172B51   CRYSTAL        AGUILERA                   CO     90004099541
9228295968B175   ALBERTO        ALMELO                     UT     90014939596
922829A154B588   ANGELA         THEUS                      OK     90014579015
92283163272B56   SARAH          GONZALEZ                   CO     90012781632
92283586972B42   GUADALUPE      MIRANDA                    CO     33004835869
92283628A72B32   STEVE          BUSTAMANTE                 CO     33045776280
9228398363164B   CENERIC        SMITH                      KS     22043839836
922839A1197123   PATRICIA       ISLAS ORTIZ                OR     90013949011
92283A93872B56   YVETTE         VELASQUEZ                  CO     33005160938
9228449124B588   TRESSA         BEBOUT                     OK     90014604912
92285154672B32   DEBRA          NESDORE                    CO     90012161546
92285221A81635   ME CHELLE      LANDIS                     MO     90012462210
9228536A755951   LINDA          SUSAN ALVARES              CA     49098173607
92285841672B3B   DEMETRIA       YOUNGER                    CO     90007438416
9228594A691951   MICHAEL        FEWELL                     NC     17072389406
92286281472B22   JANETTE        SAENZ                      CO     33077842814
92286574A51334   DAWN           CLIFTON                    OH     66087705740
9228727132B27B   TENIA          ASKEW                      DC     81037382713
92287698A72B32   DORRIS         ORTIZ                      CO     90014036980
9228772A181635   JASON          HAGAN                      MO     90012587201
92287859597B59   SARAH          FARLEY                     CO     39096778595
92288246A4B543   WHITE          SANDY                      OK     90012562460
92288A43191951   ROSE           WILSON                     NC     90011030431
92289153A91547   LORENA         MOLINA                     TX     90001951530
922893A9155951   PAYIN          MOUA                       CA     49001933091
92289799872B32   ISMAEL         TERRAZAS                   CO     90014997998
92289A16151334   MOISES         MENDOZA                    OH     66089650161
9228B25342B982   KAILAN         HILL                       CA     90011852534
9228B51AA93755   MIKAL          SAMPLE                     OH     90003795100
9228B6A2341296   ANDREW         BRAZELL                    PA     51009016023
9228BA28281635   NICOLE         VERGE                      MO     90010100282
9229117A971928   FELICIA        SANCHEZ-GARBISO            CO     90010121709
9229226834B949   LEE            GREEN                      TX     90013942683
9229245A972B22   JUAN           NAJERA                     CO     90012754509
9229295412B982   SARA           MALDONADO                  CA     45003429541
92293183A8B175   AMY            DONNELLY                   UT     31078481830
9229334A297123   JANICE         JOHNSON                    OR     90010903402
9229337A572B42   SYLVIA MARIE   AGUIRRE                    CO     90011293705
92293A9547B444   JUAN           REYES                      NC     90015220954
92294193172B42   DAVID          RAMIREZ                    CO     33094501931
92294315972B62   ALEX           CORDOVA                    CO     33053983159
9229491913164B   DANA           HUGHES                     KS     90006399191
9229528487B444   YOLANDA        SWENGBE                    NC     90013362848
9229561555714B   CARLOS         RAUDA                      VA     90003176155
9229639A65B531   MATSEN         RENEE                      NM     90008843906
92296461A4B949   CHRISTANNA     ADAMS                      TX     90013944610
92297639197B59   ENRIQUE        JUAREZ                     CO     90012896391
92297995A93782   DELAYNE        SCALES                     OH     64587919950
92297A7987B444   ALEX           ZAVALA                     NC     11009220798
9229897A54B588   METCHELL       WALCON                     OK     90014579705
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1587 of 2350


92298A69372B22   GEREMY       GONZALES                     CO     33055920693
92299157772B42   CALIEB       TAULA                        CO     90014401577
9229986A35B531   FERNANDO     MONTANO                      NM     35033458603
92299A8132B982   MARTIN       BEYER                        CA     90007670813
9229B142372B51   REBECCA      ROMERO                       CO     90012611423
9229B371993747   BETH         DAVIS                        OH     90006493719
9229B476772B51   REBECCA      ROMERO                       CO     90011654767
9229B49A672B62   LEROY        GALLEGOS                     CO     90013724906
9229B4A1391532   CORDOVA      MARIA                        TX     90005584013
9229B712161977   YESSENIA     ROCHA                        CA     46051557121
9229B77A35714B   CONSQULIA    DELEON                       VA     90000527703
9229BA21855951   ANDRE        KNOX                         CA     90002710218
922B125388B149   JOSH         SANDERS                      UT     90010362538
922B1473591599   LETICIA      VILLADO                      TX     90015344735
922B1614A55951   DAVID        MILLER                       CA     90014916140
922B1684972B42   MARIO        SOLIS                        CO     90014816849
922B1877372B22   KEVIN        WALLS                        CO     33094068773
922B1994281635   STEPHEN      PURVIS                       MO     90013799942
922B2417943584   KEVIN        HANSEN                       UT     90014484179
922B3584891521   NOHEMI       RAMIREZ                      NM     75052115848
922B382A781634   CLINT        FLIPPIN                      MO     90013618207
922B384332B982   YESENIA      COBARRUBIAS                  CA     45026718433
922B3918A72B56   JAMIE        ROZINSKI                     CO     90011819180
922B4117181634   ANGELA       REED                         MO     29026431171
922B4189955951   MARIO        MARAVILLA                    CA     90012961899
922B442882B277   TIFFANY      EVANS                        DC     90011344288
922B4428A72B22   MELISA       MOLINA                       CO     90012754280
922B4649772B56   THERESA      VASQUEZ                      CO     90014886497
922B468574B588   MARIO        PINA                         OK     90014566857
922B4779655957   BAO          YANG                         CA     90014577796
922B4847591521   YOLANDA      CUELLAR                      TX     75057878475
922B48A9772B29   ALVARO       FIERROS                      CO     90014998097
922B4A27891599   ROSALVA      FERNANDEZ                    TX     90013170278
922B572192B27B   TAMMY        CLEMONS                      DC     90014807219
922B617118B175   KAREN        HUNTER                       UT     31030141711
922B61A3291599   PRENTICE     ROUSE                        TX     90015131032
922B6476A81634   JUAN         LAINES                       MO     90013244760
922B6622897B59   DEREK        DUERR                        CO     90007426228
922B668662B27B   HANA         MEKONNEN                     DC     90007536866
922B673137B386   ALI          HAMDAN                       VA     90002007313
922B6787972B51   KENT         HOMLES                       CO     90009947879
922B6933991599   JOHN         GOSS                         TX     75018429339
922B6985397123   CASEY        DHILLON                      OR     90013029853
922B7252A55951   VICTORIA     VILLICANA                    CA     90012942520
922B7436341296   REBECCA      POLLICE                      PA     51083084363
922B7471A72B51   ESTEFANIA    LUNA                         CO     33061174710
922B765994B949   JANET        EPINOZA                      TX     90013496599
922B769AA81637   FERMIN       XILOJ                        MO     90003106900
922B77A1672B42   JAIME        ASTORGA                      CO     90013177016
922B7AA2357152   MARIA        ORTIZ                        VA     90000890023
922B8174472B42   PAMELA       SMITH                        CO     90011561744
922B8434481637   LUCIA        ORTIZ                        MO     29013944344
922B861A472B51   DEZ          SANCHEZ                      CO     90009706104
922B864512B27B   KINGSLEY     ANYANWUTAKU                  DC     81059236451
922B866A57B444   DAMAYA       HAWKINS                      NC     90012566605
922B8758451334   VICTORIA     LITTLE                       OH     90001437584
922B888A991951   NAJAREE      CORDY                        NC     90008828809
922B9393197123   JOSE         ZARAGOZA                     OR     90013943931
922B9727A8B149   ROSE         RASMUSSEN                    UT     31060477270
922B9864855957   BLANCA       SEPULVEDA                    CA     90014718648
922B987762B982   NESTOR       RAMIREZ                      CA     90014168776
922B98A8555951   YESENIA      CAMACHO                      CA     90014878085
922BB111985955   RON          COWHERD                      KY     90005071119
922BB159172B32   PATSY        MASON                        CO     33043661591
922BB46498B149   PEDRO        IBARRA RUIZ                  UT     90011074649
922BB63A443584   NATALIE      COOOK                        UT     90005226304
922BB657391521   RAMON        BRIVIESCAS                   NM     75083766573
922BB834681635   ALETRA       CRAWFORD                     MO     90014878346
922BB868155957   JUAN         ALVAREZ                      CA     49086978681
922BBA67633698   LASAUNDRA    ANDREWS                      NC     90005940676
92311915972B51   JULISON      ARTIS                        CO     90006359159
9231221135134B   TEDDY        MYERS                        OH     90007082113
92312257597B59   FODAY        CONTEH                       CO     90003642575
92312A69397123   BEAU         SANCHEZ                      OR     90013950693
92313165172B56   ANDREA       WASHBURN                     CO     90012781651
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1588 of 2350


92313775172B3B   CHRISTINA    ESTRADA                      CO     90012177751
92313926297B59   PILY         CHINO                        CO     39090209262
923148A5561977   RODEL        RESURRECCION                 CA     90013278055
92314A62933698   SELVIN       LEMUS                        NC     90003190629
92315162A72B42   HERSON       CALDERON                     CO     90013181620
92315169972B56   JUAN         FLORES                       CO     90012781699
92315717A72B3B   ASHLEY       KENNEDY                      CO     90006827170
92315833472B22   JULIO        SOLANO                       CO     90003158334
923158A4498B33   MACHAEL      HARRIS                       NC     12014928044
92315A42991599   JESUS        HERNANDEZ                    TX     90006040429
9231616645B548   STEPHANIE    SANCHEZ                      NM     90013631664
9231711A861954   IGNACIA      FRAUSTO                      CA     46006491108
92317124172B32   JOHN         IOBST                        CO     33007311241
92317A51881634   DEMETRIA     WILLIAMS                     MO     90009770518
92318452772B22   MARIE        LOPEZ                        CO     90012754527
92318656A81635   SUMMER       BREEDLOVE                    MO     90014256560
92318965772B56   ALDEMARO     CHAVEZ                       CO     90014889657
92318A4A793755   KAYCEE       COX                          OH     90014560407
9231921672B981   AMELIA       RIVAS                        CA     90006862167
9231934292B27B   ADAMA        KAMARA                       DC     81035603429
9231945AA3164B   JOHN         KNIPPER                      KS     90014704500
923194AA893769   CHARMAINE    ALLEN                        OH     64558604008
9231B46948B175   AZUL         AMAYA                        UT     90014204694
9231B499A97123   MIGUEL       CAMARENA                     OR     90007824990
9231B521972B42   HAYDEE       RONQUILLO                    CO     90014205219
9231B839291521   MARICELA     TORRES                       TX     75015908392
9231B885997B59   JENEE        GREENE                       CO     90015118859
9231BA99A97B59   TAIA         SELBURG                      CO     90006070990
92321254372B62   KENNETH      COLLINS                      CO     33049122543
923214A5893755   ERIKA        MENEOZA                      OH     90013924058
9232198725B531   KARISA       TRUJILLO                     NM     90006679872
9232216275B383   JENNA        ROLAND                       OR     90010321627
92322452772B22   MARIE        LOPEZ                        CO     90012754527
923224A9181634   PAMELA       STEWART                      MO     29002604091
9232318A172B56   MICHAEL      HASTINGS                     CO     33069561801
9232347178436B   JOSHUA       MOLCZYK                      SC     19030474717
9232423834B554   NICOLE       HOPGOOD                      OK     90011042383
923257A7591399   SARA         LIRA                         KS     90000897075
9232597A172B56   ILIANA       CALIXTO                      CO     90014889701
9232599775134B   ANTHONY      JONES                        OH     66053169977
92325A14193769   SARAH        WYNN                         OH     90005220141
92325A19751334   LUIS         TORRES                       OH     90015100197
9232621A14B554   JAMAL        TRAYLOR                      OK     90006172101
9232636458436B   ALICIA       DUGAN                        SC     19039573645
92326452772B22   MARIE        LOPEZ                        CO     90012754527
9232663755B383   KIM          CLEMENT                      OR     90011646375
9232665A35B531   AMARIS       BENAVIDEZ                    NM     90012556503
92327398997B59   MARILYN      KNAAK                        CO     90013643989
92327A94672B56   ELVIN        AVILA                        CO     90005360946
92327AA5781634   WILLIE       KNIGHT                       MO     90011690057
9232822178436B   DONZELL      GILLIARD                     SC     90014822217
9232871444B554   BRANDEN      SMITH                        OK     90015147144
92328A4712B982   JOSE         SALVADOR                     CA     90011340471
9232952A681635   MIGUEL       CANO                         MO     90014155206
9232981273164B   PAM          GLEPIE                       KS     90009388127
9232981A14B949   TINA         COLLINS                      TX     90013968101
923299A114127B   MATTHEW      TICHOM                       PA     51013249011
9232B115872B42   PAUL         UGARTE                       CO     90008751158
9232B153481635   ELIU         RODAS                        MO     90009201534
9232B248A81637   JACK         KELLY                        MO     90005422480
9232B552372B22   EMILY        BORSICK                      CO     33037395523
9232B98115B548   GRISELDA     VAZQUEZ                      NM     90014829811
9232BA86891599   HECTOR       RODRIGUEZ                    TX     90009030868
9233158243164B   MICHAEL      RATTLE                       KS     90009035824
9233247A72B841   ETHAN        BUCHANAN                     ID     90015514707
92332785A72B32   EMILY        SPECTOR                      CO     90014157850
92332886597B59   BILL         KUNSMAN                      CO     39098788865
9233343365B531   ROBERT       NIETO                        NM     35053344336
9233348155B548   ELIZABETH    VAZQUEZ-MARTINEZ             NM     90010594815
9233374A777537   MONIKA       FEO                          NV     43079647407
923337A5672B3B   GARY         SANCHEZ                      NM     90014227056
9233384868B175   JENSEN       JOSH                         UT     90012218486
9233436A35B531   SUSANA       ESPINO                       NM     35064233603
9233472143164B   AMBER        PENDARUVIS                   KS     22050157214
9233488125B383   CHARLES      JONES                        OR     90008568812
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1589 of 2350


923348A2381634   JAYDE        COSTA                        MO     90014478023
9233518A293769   MAZANI       STARGELL                     OH     90004891802
923358A5455957   ENRIQUE      CHOLULA                      CA     90013098054
9233593544B949   MARTHA       WOODS                        TX     76540319354
9233617383164B   JAMES        PARKS                        KS     90011221738
923365A124B554   RAHSAAN      RUCKER                       OK     90013585012
9233667A391399   JOAN         ISRAEL                       KS     90000666703
9233682824B949   BRIDGETTE    GENTRY                       TX     90013968282
9233685A65714B   CARLOS       GUZMAN                       VA     90009908506
92336953772B22   REBECCA      TODHUNTER                    CO     33097259537
92337482672B22   ANDREA       SOLARES                      CO     90010714826
92337763772B62   ERICA        SANDOVAL                     CO     90013537637
9233777AA72B42   SERGIO       HERNANDEZ                    CO     90007977700
9233868588B175   JOAN         KING                         UT     90014946858
92338862872B42   JESUS        ROMERO                       CO     90012878628
9233892954B949   HORACE       WALKER                       TX     90014519295
9233944952B981   IVAN         RODRIGUEZ                    CA     45041734495
92339526A2B27B   ADIENNE      CRAVENS                      DC     90010805260
9233971A791399   JANETT       ANGEL                        MO     29046987107
923397A6277537   MARY         VARELA                       NV     90013067062
92339862872B42   JESUS        ROMERO                       CO     90012878628
9233994354B949   BLANCA       ROCHA ORTIZ                  TX     90013969435
9233B156347979   LASHEENA     ALI                          AR     90011421563
9233B89A872B3B   GARY         MAESTAS                      CO     90015258908
9233BA3715B531   ARTHUR       BOESIGER                     NM     35035480371
92341389A4B949   KENNETH      CHANNELL                     TX     76586133890
92341478A25128   ANGELA       SMITH                        AL     90014654780
92341973672B56   NADER        SALAH                        CO     90014889736
92342455572B22   MIREYA       QUEZADA                      CO     90012754555
9234263974B588   WILLIE       SMITH                        OK     90004966397
923433A4793769   DJ           SALMONS                      OH     90006553047
92343411A81634   KAY          KERSLEY                      MO     90013864110
92343A9A672B62   MARTIN       MARTINEZ                     CO     33000400906
9234467378B169   ANGELA       CORREA                       UT     90002396737
9234467A94B588   DOROTHY      BARBER                       OK     21568106709
923447A5155957   PRABHJOT     SINGH                        CA     90013977051
92345154672B32   DEBRA        NESDORE                      CO     90012161546
9234519968B149   SPENCER      NICOLE                       UT     90003751996
9234523454B588   JOSE         MERCADO                      OK     21589412345
92345318772B3B   ISIDRO       MURILLO                      CO     33078653187
9234667A94B588   DOROTHY      BARBER                       OK     21568106709
92347138497B59   EDGAR        ARIZEMENDIZ                  CO     90013111384
92347224A72B62   MEDIA        MUNDY                        CO     33035132240
92347295872B31   MARIA        GRIMALDO                     CO     33098282958
9234768188B152   CLYDE        CROWLEY                      UT     90009956818
923478A1571945   DIANE        SMENTOWSKI                   CO     32000878015
92347A77351334   VICENTE      RAMOS                        OH     90013410773
92347AA8161979   CELIA        BARAJAS                      CA     90012780081
9234832684B554   AVELINA      CERVANTES                    OK     90006333268
92348657A51396   JOSE         LOPEZ                        OH     66011696570
9234867A94B588   DOROTHY      BARBER                       OK     21568106709
9234872355714B   JOSE         URIAS                        VA     90011147235
92349651772B56   MARICELA     GARCIA                       CO     33041606517
9234B172141296   MICHAEL      HOMMEL                       PA     90014081721
9234B228272B32   TERRIE       MEDINA                       CO     90008892282
9234B24588436B   STEVEN       MCGEE                        SC     90008802458
9234B664572B22   ADAM         NYHOLM                       CO     90010876645
9234B68588B175   JOAN         KING                         UT     90014946858
92351496272B51   ARTHUR       ORTIZ                        CO     90011654962
9235176852B27B   CHRISTIAN    ANDERSON                     DC     90011757685
9235248454B588   ROCKY        MARTINEZ                     OK     90015214845
92352A5915B548   FRANCISCO    ORTIZ                        NM     35085470591
92352A9A172B51   NATASHA      DEVOIL                       CO     90008050901
9235346744B588   CRYSTAL      GARY                         OK     21504414674
923535A4A72B51   RAUL         ORTIZ                        CO     33084805040
9235364A576B53   MANUEL       YBARRA MORALES               CA     90004686405
92353986A72B3B   CARA         CASIAS                       CO     90013219860
92354591397B59   ESTELA       GARCIA                       CO     90015165913
9235459998B149   JODI         MURRAY                       UT     90009975999
92354883A2B27B   MARLENI      MARTINEZ                     DC     90014948830
9235499558B138   JAN          BABILIS                      UT     31045049955
9235545685B383   ALBERTO      CORREA                       OR     44589444568
9235553933164B   MICHELLE     WILLIAMS                     KS     22040745393
9235577329714B   ALAN         BARNETT                      OR     90004837732
923558A762B982   ALFONSO      BABILLO                      CA     45002478076
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1590 of 2350


9235594794B554   JON ALLEN    ELANTAKI                     OK     90010759479
9235639A781634   JENIFER      BEATRIZ                      MO     90011153907
92356416672B42   CHACKO       JOSEPH                       CO     33087764166
9235661898B175   REAANN       BROUGHTON                    UT     90014146189
92357577172B32   JOSELYN      MAEZ                         CO     90012695771
9235768284B949   SYLVIA       WHITE                        TX     90014956828
9235781864B554   SINDRY       BARRIOS                      OK     90015188186
9235834418436B   THOMASHIA    ROBINSON                     SC     90011043441
92358578A41296   CLAYTON      HUPPENTHAL                   PA     90012905780
92359197272B29   REGENCY      PAINTING INC                 CO     90009851972
9235947935B252   FELIX        CENTENO                      KY     90001074793
923595A5A61927   HERNANDESZ   LIZBETHH                     CA     90006065050
9235B162455951   MALISA       MONTANO                      CA     90014301624
9235B282561977   MARIA        SALGADO                      CA     90014252825
9235B75A197B59   MICHELLE     ASHER                        CO     90015317501
9235B99634B588   MONTRELL     WILSON                       OK     90014589963
9236127525B383   ANA          GONZALEZ                     OR     90015182752
92361AA4697B59   LOU          SODERLING                    CO     90014400046
92362156297B59   MICHAEL      MONTES                       CO     90002861562
9236232428B149   RICK         GALLEGOS                     UT     31072863242
9236282945B548   NANCY        DOMINGUEZ                    NM     35045158294
9236294263164B   SILVIA       BANUELOS                     KS     90010629426
9236347644B949   KIMBERLY     GREEN                        TX     76503854764
92363A82855951   LORENZO      MARTINEZ                     CA     90013730828
9236442AA5B383   MICHAEL      SCAIFE                       OR     90010784200
92364A6A15134B   JANICE       HUBBARD                      OH     90007320601
92364A8122B982   JOSIE        ESQUIVEL                     CA     90012090812
9236521A772B3B   ASHLI        WHITE                        CO     90012232107
9236564A781634   DOMONIQUE    REID                         KS     90012866407
92365659472B22   JOSHUA       GRAHM                        CO     33025996594
9236571A172B62   JESSICA      GAMEZ                        CO     90000567101
92365857672B22   COREY        HUNTER                       CO     90013968576
92365A43A7B359   JACKSON      ALEMAN DIAZ                  VA     90006120430
92365A7464B588   TERESA       ROBINSON                     OK     90014590746
9236646AA72B22   DEBORA       GANS                         CO     90012754600
92366A3A68B149   SCOTT        MCMILLAN                     UT     90015090306
9236777574B588   NORMA        DE LARA                      OK     90002027757
92367869A72B51   KAYLA        GRIEGO                       CO     90012218690
923678A6951334   JENNIFER     CLARK                        OH     90003118069
9236797A872B22   ALVARO       FLORIANO                     CO     33058439708
9236826762B981   DORA         NARANJO                      CA     90004042676
92368417997B59   RAUL         MARTINEZ                     CO     39079864179
923684A3191521   ANGIE        TORRES                       TX     90006264031
92368A7464B588   TERESA       ROBINSON                     OK     90014590746
92368A95372B32   ARACELY      OROSCO                       CO     33077770953
92368A9A14B949   NO           NAME                         TX     90015310901
92369A9A872B22   HILARY       MIKOLL                       CO     90005100908
9236B11978436B   CHIANTI      PALMER                       SC     90002441197
9236B272A2B981   NORMA        GOMEZ                        CA     45003212720
9236B375172B42   LETICIA      BAHENA                       CO     33037853751
9236B5A443164B   CHAD         GOULD                        KS     90014455044
9236B684661977   GUTIERREZ    ANGELICA                     CA     90006886846
9236B811372B56   RUBY         COTA                         CO     90001858113
92371932A55957   CLARA        TUCKER                       CA     49050949320
9237213A24B554   KENDRA       COX                          OK     90011331302
9237255188B175   ANISSIA      OSHLEY                       UT     90013405518
92372676A72B3B   AIMERANCE    KWIHANGANA                   CO     90009746760
92373678172B22   KATHLEEN     HUGHES                       CO     33047846781
92373A8654B588   RUSSELL      JORDAN                       OK     90014590865
9237448AA3164B   TY           DUTTON                       KS     22060954800
92374A95A4B588   SARAH        SMITH                        OK     90014590950
9237533915B531   JOHNNY       HERNANDEZ                    NM     90014663391
9237554174B554   CARISSA      BURROW                       OK     90008055417
92375769A72B42   KRYSTENA     ANDERSON                     CO     90013537690
923762A655B548   TAMARA       GUMM                         NM     35083362065
923767A6651334   TIFFINI      SMITH                        OH     66040477066
9237713244B554   TERESA       HALL                         OK     90011331324
9237714274B949   DANIEL       HARRIS                       TX     90013991427
9237774114B949   DANIEL       KINCHEN                      TX     76526297411
9237855943164B   BARBRA       SHUGART                      KS     22073245594
92378993472B56   DONELL       DAYAS                        CO     90014889934
92379135A33698   JANICE       SMITH                        NC     90007271350
923798A862B399   PRISCILLA    GARY                         CT     90014668086
92379A6214B554   RODAWNA      GRAHAM                       OK     90015000621
9237B2A7431461   LEONARD      POTTS                        MO     90010552074
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1591 of 2350


9237B568691951   TIA          ROBINSON                     NC     90008785686
9237B643472B56   DEYANIRA     SIFUENTES                    CO     33035086434
9237B679172B22   TONIA        MARTIN                       CO     90011346791
9237B684355951   ALYSON       FEAGINS                      CA     90010386843
9237B728772B51   ROBERT       SHANKS                       CO     90011367287
9237B852672B3B   HAJIME       JONES                        CO     90009628526
9237B876691599   OSCAR        ASTORGA                      TX     90010398766
9237B8A438436B   SAVONIA      HOLMES                       SC     19014438043
9237BA7824B588   MALLORY      JORDAN                       OK     90014590782
9238112A92B27B   BREIGH       ECHAVARRIA                   DC     90011131209
923811A3A7B26B   EILEEN       JARAMILLO                    NV     90013131030
9238134555B531   GARY         CHAVEZ                       NM     90005783455
92381749872B22   MARIO        ORTIZ                        CO     90013877498
92381968A97123   MINERVA      OROZCO                       OR     44046939680
9238197A972B62   DON          CASTO                        CO     33067919709
9238275A197123   BRUNA        CRUZ AGUILAR                 OR     44087757501
9238294414B949   ERICA        SEGURA                       TX     76570849441
92383319172B28   DEBORAH      JEAN                         CO     33014683191
92383671672B22   BASILIO      MONTALVO                     CO     90011566716
92383978A61979   OLIVERIO     DELGADO                      CA     90000609780
9238414695714B   TONYA        DAVIS                        VA     90014351469
9238442A255951   KIMBERLY     COLE                         CA     49066034202
923852A1497B59   ELSA         GALLEGOS                     CO     90008632014
92385415A2B254   DALE         HARRIS                       DC     90008784150
9238541A743584   PELNEATT     NIELSON                      UT     90002554107
9238556A47B449   NIOKA        STURDIRANT                   NC     90001245604
92385783297B59   ELSA         SANCHEZ                      CO     90014817832
9238626788B175   ERIC         ANDERSON                     UT     90009862678
9238777564B588   DAMARCUS     BEST                         OK     90008207756
92387879A91521   IRENE        MITCHEL                      TX     90012368790
9238825A58B149   VINCENT      CAMACHO                      UT     90015312505
92388976A81634   REYNA        MORALES                      MO     90013969760
92388A46797123   TRAVIS       MCMACKIN                     OR     90010600467
9238925977B444   ASHLEY       CONNELLY                     NC     90014052597
9238946232B982   YOLIE        RAMIREZ                      CA     90014074623
923894A7272B62   ALEXIS       MUNIEZ                       CO     90012314072
9238994474B554   ANTHONY      THOMPSON                     OK     21583569447
92389A26772B62   VERONICA     LEDESMA                      CO     90010920267
9238B156A91599   TOMAS        ESTRADA                      TX     90005031560
9238B1A8772B56   FLORENCE     MARTINEZ                     CO     90005541087
9238B31924B554   FELICIA      MOSHAY                       OK     90014613192
9238B82135B548   ALMA         ACOSTA DE RAMIREZ            NM     35079088213
9238B963A91951   JESSICA      HARDEN                       NC     90013909630
9238BA8A66197B   THOMAS       WILLIAMS                     CA     90013910806
92391A6942B982   JOE          ROBERTS                      CA     90013120694
92392793A91521   VANESSA      ROMERO                       TX     90002997930
92392AA4172B32   SHERRY       MCMULLIN                     CO     33035550041
9239335455B548   DONALD       COFFEY                       NM     90012343545
92393585972B56   ARRON        HERNANDEZ                    CO     90012875859
92393798372B42   YANIRA       CHAVEZ                       CO     90013807983
9239453784B588   KRISTA       PAGE                         OK     90014605378
92394877A72B22   SHEREE       LAPREE                       CO     90001768770
923952A2681637   TRICIA       CAMPBELL                     MO     29020742026
92395788A91521   MARIA        GALLARDO                     TX     75057627880
9239599885B383   KARLYNN      GONZALES                     OR     90013089988
9239626392B885   NEIL         WASSMUTH                     ID     42009192639
92396A9914B588   GHOLAMREZA   DEHDHANI                     OK     90012010991
9239715258436B   JAMAL        WILLIAMS                     SC     90011081525
92397669672B32   JAZMIN       MONTOYA                      CO     90013026696
9239777673B341   LUIS         JUAREZ                       CO     90011187767
923978A5577537   FERNANDO     ACEVEDO                      NV     43079648055
9239838985B383   DAWN         KERSHAW                      OR     90008453898
92398966672B22   ARTURO       QUEZADA                      CO     90012679666
92398998672B56   ASHLY        STEARNS                      CO     90014889986
9239919A34B554   DEENA        STEELE                       OK     90013461903
92399239A72B51   DANIELLE     GAILEY                       CO     90011722390
92399371772B3B   NICHOLAS     HARLAN                       CO     90014513717
92399819972B32   JEWEL        CAMERON                      CO     33075168199
9239B48684B574   BOBBY        RICHARDSON                   OK     21552544868
9239B518772B51   DELEAH       JOHNSON                      CO     33019875187
9239B57237192B   JACQUELINE   WILLIAMS                     CO     32022555723
9239B815193769   MELISSA      MELVIN                       OH     64543278151
9239B83A355957   LORENA       MARCIAL                      CA     49042108303
923B153A191521   RAFAEL       RAMOS                        TX     75016295301
923B16A5577537   CLAUDIA      VAZQUEZ-RODRIGUEZ            NV     90010946055
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1592 of 2350


923B1834A4B588   LLOYD              SULLINS                OK     21581318340
923B1864472B22   BENJAMIN           HERNANDEZ              CO     33022598644
923B1A51397123   GERARDO            GUTIERREZ              OR     90013950513
923B2245A91599   LEO                ALFARO                 TX     90013072450
923B2269972B22   PAUL               BELL                   CO     90004352699
923B2383697B59   SEPULVEDA          AUGUSTO                CO     90013553836
923B248182B982   CYNTHIA            CHAVEZ                 CA     90006394818
923B2A83993755   TRAVIS             GANGER                 OH     90008760839
923B3222297123   DANNYELLE          MAGER                  OR     44060532222
923B3696A4B949   KYTHIA             DAVIS                  TX     90013456960
923B3888261979   JUAN               MARTINEZ               CA     90011768882
923B3A57955957   ESMERALDA          GARZA                  CA     90012780579
923B4572A61977   ADLIN              MENDOZA                CA     90000695720
923B4613297123   GRANT              KRONENBERG             OR     90014186132
923B474AA91994   TAMMY              WALTON                 NC     90004897400
923B4982772B62   ANDREW             VERKAIK                CO     90012149827
923B4A2AA8B149   LEIDY              VEAZQUEZ               UT     31001130200
923B5238155957   EVERETT            SMITH                  CA     49010002381
923B525244B554   CHRISTOPHER        DENTWALT               OK     90014642524
923B5417355951   NICOLE             BASS                   CA     90002534173
923B567AA91599   CIELO              GARCIA                 TX     90008196700
923B5899143584   BRIAN              CASTRO                 UT     90014108991
923B6743691521   CAROLINA           MARTINEZ               TX     90014577436
923B6795381634   CURTIS             COX                    MO     90012947953
923B6823172B32   MARTHA             MORALES                CO     33026358231
923B6A25455957   EMILY              HERRERA                CA     90014840254
923B7441A5B548   CYNTHIA            OROURKE                NM     90008374410
923B749594B554   MARIA              LOPEZ                  OK     90008304959
923B7871991599   MARIBEL            CAMACHO                TX     90008018719
923B793534B949   RACHEL             NEILL                  TX     90013949353
923B8725597123   TANYA              SKOROHODOFF            OR     90009237255
923B8A22755957   MICHAEL            BARRENA                CA     90004640227
923B9158291521   JOSEFA             RODRIGUEZ              TX     90006571582
923B978254B588   DIANA              SANCHEZ                OK     90014587825
923B9928293747   SHAWN              BARLOW                 OH     90001199282
923B996815B548   MARIA              GALLEGOS               NM     35014199681
923B9A47672B42   JENNY              STIMSON                CO     33038220476
923BB178193755   KIESHIA            TERRELL                OH     64548581781
923BB74194B588   NICK               BATE                   OK     90013047419
923BBA11972B56   MANUEL             MERCADO                CO     90011820119
923BBA97441296   LARRY              GRIMM                  PA     90011520974
92411327A85689   CASSANDRA          SHOPE                  NJ     90009993270
9241191115137B   ALIANA             SHEARER                OH     90000999111
92411918A97B59   SALLY              MARTIN                 CO     90000199180
92411AA6272B51   RENEE              HANSEN                 CO     90013220062
9241254412B25B   MICHAEL            SANFORD                DC     90001075441
9241265A44B588   CRYSTAL            LEE                    OK     90014606504
92412985A91951   CARLOS             DURON                  NC     90014609850
92412A4838436B   RICHARD            DRAYTON                SC     19016470483
92412AA283164B   MCKINSEY           WOHLER                 KS     22027970028
92412AA5151334   MICHAEL            BUNCH                  OH     90012540051
9241322442B982   CHERYL             KIEHN                  CA     90006072244
924133A678436B   TREY               DILLIGARD              SC     90013633067
92413595A91599   LUCIANO            MARTINEZ               TX     75069075950
9241377315B548   DONALD             SEXTON                 NM     90010177731
924137A9272B51   GLORIA             ERICKSON               CO     90013097092
9241384864B554   SHARON             FOSTER                 OK     90010328486
9241389598B149   DEAMOR             VILLARREAL             UT     90011218959
9241391415B531   AMBER              SHARP                  NM     90009129141
924143AA772B22   ADRIAN             TAKAHASHI              CO     33016463007
9241446552B982   ALFREDO            PACHECO                CA     90008304655
9241449334B588   DAVID              HILL                   OK     90006504933
92414992772B62   MARIA DE LOURDES   MESA                   CO     90003149927
92415853872B53   BERENICE           SAUSTEGUI              CO     90012508538
924159A1755957   ROSHELLE           MALDONADO              CA     90013689017
92415A24A33698   CHRISTOPHER        COLEMAN                NC     90005280240
9241641765B383   IRMA               VALENCIA               OR     90009894176
9241687142B982   TRACY              MOSBY                  CA     90005278714
92417492572B42   JAMES              PENDEGRASS             CO     90010314925
92417A1818436B   WESLEY             SOUZA                  SC     90014610181
92417A8965B531   ANTONIO            MARTINEZ               NM     90014690896
92418317472B42   BENJAMIN           SMITH                  CO     90013753174
9241859854B554   JEANTTE            RAMIREZ                OK     90007605985
9241946534B554   EMPERATRIZ         ESCOBAR                OK     90008334653
9241957A37B853   IVET               RAMOS                  IL     90012465703
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1593 of 2350


92419A13993755   SHERINA      LOLLAR                       OH     90013700139
9242161897B393   DANIEL       WIGGINS                      VA     81007596189
9242162374B588   DAVID        SUNDE                        OK     90014606237
924216AA791951   CEDERICK     MCKINNIS                     NC     90012376007
9242172585B531   TAVIS        KIMBROUGH                    NM     90014757258
92421A24141296   STEFAUNA     HUGHES                       PA     90004110241
9242229268B149   ALISHA       GALVAN                       UT     90013682926
92422871972B42   MELISSA      L GONZALES                   CO     90012878719
9242296764B949   YOVANI       PARRA                        TX     90011679676
92422A83972B22   QUIEDAH      TOWEKS                       CO     90009060839
9242324755B383   HEATHER      DELAZERDA                    OR     44564172475
9242347A281635   HUGHES       VONNISHA                     MO     90007434702
9242361645714B   VINCENT      ERNESTINE SAMPSON            VA     90000976164
92423A2582B982   MARIA        PEREYDA                      CA     90012680258
9242463254B588   ARIEL        MANDUJANO                    OK     90010436325
9242468A13164B   PATRICK      CONANT                       KS     22006246801
9242529785B548   ALPHONSO     MARTIN                       NM     90012612978
92425822572B3B   KATHERINE    BRAEM                        CO     33027228225
9242653468B175   SHEILA       BOYCE                        UT     31043385346
92426765372B22   MATIAS       PIZARRO                      CO     33097267653
92426815872B32   MARMOLEJO    JOSE                         CO     90007108158
92426A3A561979   ANGELA       EDWARDS                      CA     90002470305
9242746534B554   EMPERATRIZ   ESCOBAR                      OK     90008334653
92427672A72B99   CLARIBEL     RASCON                       CO     90010216720
9242785A281634   SHAWNACEE    EVANS                        MO     90013648502
92427A7145B383   MORGAN       TENNANT                      OR     44552920714
9242875957B444   MIRIAN       ALVARENGA                    NC     90015207595
9242898455B548   VICTOR       TENA GAMBOA                  NM     90014359845
92428A11A91882   SHARI        ALSPACH                      OK     21048740110
9242922315B548   LEONARDO     CEDILLO                      NM     90013482231
9242973A38B149   STEVEN       LAUB                         UT     90006147303
9242987865B548   TAMMY        AGUILAR                      NM     90014488786
92429A7235B383   MARIA        ALCALA                       OR     90011960723
92429A97972B3B   JOSHUA       BURNEY                       CO     90001000979
9242B579891547   RAMON        PARRA                        TX     75076035798
9242B812893755   DAVID        BROWN                        OH     64544018128
9242B967691882   NONA         STEELEY                      OK     21007379676
9242BA83A55926   YOLANDA      BARRON                       CA     49058580830
9242BA96391599   VANESSA      VEGA                         TX     90009730963
9243115497B444   DEWAYNE      BOYD                         NC     90007551549
92431318172B42   ESTELA       PINA                         CO     33077703181
9243132A72B27B   EDWARD       MURPHY                       DC     90001613207
9243152828B841   MAKAMAE      YAP                          HI     90014115282
924317A554B522   RYAN         LLOYD                        OK     90001277055
92431923472B51   HERIBERTO    NAVA-MARTINEZ                CO     90013259234
9243192714B949   KADIN        SIMIS                        TX     90014159271
92431A59572B22   SANDRA       ROMERO                       CO     90007400595
92432649A4B554   CARL         COLEY                        OK     21503736490
92433323A72B32   CHARLES      MARTILLARO                   CO     90013653230
92433818A72B56   JUSTIN       JIMENEZ                      CO     90001328180
9243381958B175   KIMBERLY     HICKMAN                      UT     90011098195
92433A86897B59   CINDY        DOMINGUEZ                    CO     90014550868
9243419568436B   LAVAR        PRESSLEY                     SC     90005961956
924349A325B531   ALFREDO      HERRERA                      NM     35014209032
92434A81A4B588   PATRICIA     TUCKER                       OK     90010400810
924351A9443584   BRET         MATTINSON                    UT     31014911094
9243543525B259   CLARE        SIAS                         KY     90001674352
92435AA5772B56   MICHELLE     DEARMAN                      CO     90014890057
9243613A893755   JADAWN       BLOOMFIELD                   OH     64518341308
9243619435B548   MARIOFILIM   DIAZ                         NM     35046151943
9243675418B833   CHEVELLE     MAHI                         HI     90014797541
92436A42591599   LIDIA        PINEDA                       TX     75087290425
92436AA4372B51   ABIGAIL      CARREON-LOPEZ                CO     90011790043
9243779334B949   TIFFANY      RICHARD                      TX     90014677933
92437981797B59   HAROLD       COLLE                        CO     90011809817
92437A8125B531   MICHAELA     BORJAL                       NM     90007060812
92438159472B62   GABRIELA     GALVAN                       CO     90013051594
9243822175B531   ANTONIA      GONZALES                     NM     90012462217
92438523A77537   EARL         EVES                         NV     90010045230
9243887A385689   ORLANDO      CRUZ                         NJ     90006118703
92438A95572B56   ISAHI        GABRIEL                      CO     33001280955
924394A4955957   JEREMY       UPTON                        CA     49092684049
92439617A5B383   ZACH         BARTLETT                     OR     90008686170
9243966A933698   SALOME       BENTHALL                     NC     90013446609
92439755297B59   VERONICA     PENA-SANCHEZ                 CO     90007427552
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1594 of 2350


924397A4951334   CONNIE       WHITTEMORE                   OH     66090927049
9243B42695B531   HILLARY      BACA                         NM     90003144269
9243B448861979   JOAN         DEAN                         CA     90002454488
9243B543681634   LLOYD        LOWE                         MO     90013975436
9243B58828B149   JORDI        COOK                         UT     31092325882
9243B64978B175   NELSON       CRUZ                         UT     31096206497
9243B695977537   ELOISA       GARCIA                       NV     43059346959
9243B76399376B   LORRAINE     MOHNEY                       OH     90005647639
9243B7AA272B22   MARYSSA      WHITSIT                      CO     90015177002
9243B86154B554   TRAVIS       WILLIAMS                     OK     90011008615
92441278A5B548   MATTHEW      WOOLARD                      NM     90014092780
9244244472B982   LUIS         OLIVARIAS                    CA     90013244447
92442524772B51   JOSIOH       MORALES                      CO     33075625247
924426A6455957   ALBINO       STEPHANIE                    CA     49055276064
924429A1697B59   ROCHELLE     PONCE                        CO     90013629016
92443158A4B554   LATERRANCE   GAGE                         OK     90014651580
92443768297B59   JUAN         BERNAL-PERDOMO               CO     90000917682
92443AA5772B56   MICHELLE     DEARMAN                      CO     90014890057
9244472588436B   TAMEKA       GRAMPUS                      SC     90013347258
9244479A92B982   SAMMUEL      RAMIREZ                      CA     90014867909
924447A7793755   BRIDGETTE    COLEMAN                      OH     90014157077
92444AA6172B56   ELIZABETH    DOMINGUEZ                    CO     90014890061
92445814472B51   ESPERANZA    GARCIA                       CO     90013748144
9244594842B982   ALLYSON      HODAK                        CA     90009469484
92446149572B3B   MARTINA      AVILA                        CO     90009541495
92446197A4B588   OCTAVIA      MORGAN                       OK     90013641970
924461A4661979   GUSTAVO      GARCIA                       CA     90011901046
9244631A693755   JOHN         DAVIS                        OH     90013673106
924463AA572B42   VANESSA J    GONZALES                     CO     90004093005
9244687A497123   KATHLEEN     M NEAL                       OR     44001788704
924469A7397B59   LUIS PEDRO   VILLACORTA ALVAREZ           CO     90012789073
92446A23A51334   MERIHNE      KIHLENG                      OH     90013030230
9244745695B531   JOSE         SAENZ                        NM     90014454569
92448594272B56   BLAKE        LYON                         CO     33060965942
9244865665137B   ADRIENNE     WHITE                        OH     90002036566
9244875522B982   DIANA        RODRIGUEZ                    CA     90012137552
92448A26481634   CORNELL      GORMAN                       MO     29042430264
92448A44172B42   RUTH         SONS                         CO     33083740441
92449158472B62   AUSTIN       PARKER                       CO     90012581584
9244954557B381   TARCILA      CARBAJAL                     VA     81064155455
92449788872B42   MONICA       GONZALEZ                     CO     33005977888
9244B15785B383   TONYA        WALLACE                      OR     44509611578
9244B547293755   STACY        THOMAS                       OH     90013015472
9244B739755957   EDUARDO      MEDINA                       CA     90009617397
92451A98A41296   GABRIELLE    GORE                         PA     90014350980
92451AA978B693   KARLA        SCHOOLER                     TX     90014590097
9245234274B554   DAVID        LACKIE                       OK     90009363427
9245256A691521   BRISSIA      ARROYO                       TX     90007535606
92452619A38531   MIGUEL       HERNANDEZ                    UT     90013346190
9245266AA55951   OMAR         ALI                          CA     90014156600
9245276864B949   CARLA        TRIM                         TX     90013857686
924528A7A61979   KELLE        RUCKER                       CA     90011778070
92452A44391863   PETRA        SMITH                        OK     90013110443
924536A117B444   WILKEN       MONDESIR                     SC     90014576011
924536A8561977   MARIA        LOPEZ                        CA     46098726085
924539A9755951   DANIEL       SHAW                         CA     90010849097
92453AA4481634   GLORIA       RIOS                         MO     29091010044
9245419728436B   BETTY        BROWN                        SC     19010171972
92455123272B51   SEFERINA     DE LA TORRE                  CO     90008241232
9245512945B548   STEVE        CARRILLO                     NM     35050481294
92455172772B32   PRICILLA     ORTEGON                      CO     90012731727
9245549613164B   DAVID        LOMBARD                      KS     90014974961
924555A5781634   RICHARD      KIMM                         MO     29056355057
92455A74A2B27B   DEREK        KINARD                       DC     90012000740
9245615555B531   GABRIEL      ESPINOZA                     NM     90007661555
92456423772B32   CHELSEY      KNOER                        CO     90014424237
9245643A597B59   MICHAEL      LINDBERG                     CO     90013054305
92456482272B32   JAIME        MELENDEZ                     CO     90012444822
9245673598B149   JONATHON     RECINOS                      UT     31008047359
924567A1472B51   FELICIA      PROCTOR                      CO     90005217014
9245699A481634   CURTIS       YATES                        MO     90007899904
9245713482B248   JAMAR        BROWN                        DC     90013671348
92457186872B22   JORGE        NORIEGA                      CO     90011111868
92457656397B59   ANGELICA     RIVERA                       CO     90012526563
9245888624B554   JENNER       LOPEZ                        OK     90013568862
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1595 of 2350


92459156772B56   CHRISTINE      ROZINSKI                   CO     90011821567
92459587A4B588   LARRY          PATTERSON                  OK     90013275870
9245971A75B531   HORTENCE       MAFFEU                     NM     90015207107
92459878772B42   MARIO          ZEPEDA                     CO     90012878787
9245989314B949   DERRICK        JACKSON                    TX     76502868931
9245B539897B59   CHRIS          BURBACK                    CO     39086535398
9245B653491399   LUIS           HERNANDEZ                  KS     90009196534
9245B783781634   ALESA          TURNER                     MO     90011007837
9245B87A881634   KORIME         TURMER                     MO     90015528708
92461318172B42   ESTELA         PINA                       CO     33077703181
92461772972B51   JUANITA        DANIELS                    CO     33083487729
92461784872B62   TYLER          LODEWYCK                   CO     90010197848
92461883A4B588   BRANDY         JOHNSON                    OK     90010488830
9246257647B449   AARON          HARRIS                     NC     11017635764
92462688597B59   RAYMOND        RAMSEY                     CO     90010106885
92462879372B56   JOSEPH         REYNOLDS                   CO     90008068793
9246326414B588   ROSA           JIMENEZ                    OK     90013742641
9246329795B531   DONALD         HECKLER III                NM     90012412979
92464333897B59   RYAN           MOEHLING                   CO     90014093338
924644A595B531   RANDY          LEINNEWEBE                 NM     90013144059
9246519A14B949   TRINA          JOHNSON                    TX     76568551901
9246534388436B   TASHAMIA       BROWN                      SC     19065063438
9246547358B841   LACEY          LANGFORD                   HI     90014124735
9246555897B444   CERGIO         GODINEZ-CAPILLA            NC     90013555589
9246586625714B   JUAN           TORRES                     VA     90009198662
924659AA272B62   PAYGO          MARQUEZ                    CO     90015439002
92465A9545B383   LILLIAN        LEE                        OR     90014860954
9246682554B554   KENNETHA       BURNETTE                   OK     90010258255
924668A7691882   DAVID          BLACK                      OK     90001198076
9246716A572B56   EVER           GARCIA                     CO     90011821605
92467272472B42   MICHELLE       AMANDOR                    CO     90002322724
92467859597B59   GUSTAVO        JIMENEZ                    CO     90005338595
92467A17897B21   MARY           FLANIGAN                   CO     39090900178
9246847488B841   LACEY          LANGFORD                   HI     90014124748
924685AA991951   KEITH          STUBBS                     NC     90013695009
92468746A97B59   WENDELIN ANN   GONZALES                   CO     90005697460
92468A2A272B51   JANESA         DARNELL                    CO     90003830202
92468A92961979   STEVE          NEW                        CA     90005600929
92468AA212B982   CARLA          RIVERA                     CA     90009310021
9246922745714B   TATIANA        REYES ORTIZ                VA     90001762274
9246953587B444   GENEVA         DAVIS                      NC     90009625358
9246B143772B32   JODI           LONG                       CO     33039081437
9246B27A572B51   MAXIMO         SOTO                       CO     90013242705
9246B478897B59   RACHEL         GAONA                      CO     90013294788
9246B482A72B22   DENISE         SALAZAR                    CO     90012754820
9246B689925168   JUSTIN         ALTAMIRA                   AL     90013986899
9246B86992B981   KATHLEEN       TODD                       CA     90002938699
9246B89788436B   DIONNE         STONEY                     SC     19037508978
9247122A391544   HECTOR         GONSALEZ                   TX     90010002203
92471446A72B32   NIETO          JANET                      CO     33050334460
92471634872B42   APRIL          ALVAREZ                    CO     90013646348
9247179A44B949   LETICIA        MEDINA                     TX     76555627904
9247183522B824   MARY           SLAMES                     ID     90012788352
92472411872B3B   JESSICA        LOPEZ                      CO     90009914118
92472A5A572B32   CESAR          VALDEZ                     CO     33014860505
9247319435B548   KATHERINE      FIELD-HODES                NM     90009531943
92473327A91599   JUAREZ         ORLANDO                    TX     90010903270
92473928572B51   ALYSSA         JUONI                      CO     90010289285
9247433958B175   OLINDA         MENDOZA                    UT     90014973395
9247438795B548   ERICA          MILLER                     NM     90013963879
9247447A38B833   ANDERSON       JOEL                       HI     90014734703
92474618472B56   BRISEIBY       GONZALEZ                   CO     90005736184
92474886672B42   LEZLYE         LOPEZ                      CO     90012878866
924748A274B949   MARIA          RODRIGUEZ                  TX     90014168027
92474A76372B22   LUCIA          GALAVIZ                    CO     90004040763
9247619948B336   PEGGY          WYMER                      SC     90014651994
9247623435B531   DELICIA        MARTINEZ                   NM     90009162343
9247642A525128   KIMBERLY       JAUN                       AL     90013554205
92476855572B42   CARLOS         ZUNIGA                     CO     90012888555
92477151A72B56   ALICIA         COFIELD                    CO     33083851510
92477245798B31   SANTOS         GUZMAN                     NC     90013682457
9247751AA91547   MIGUEL         ACOSTA                     TX     90009985100
92477592797B59   TINA           MILLER                     CO     39083065927
924775A7772B51   MIGUEL         BARRAZA                    CO     90000695077
9247764562B948   PHILLIP        JENKINS                    CA     90007906456
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1596 of 2350


924777AA191521   CRUZ         OLVERA                       TX     75036707001
92477983A93755   JEANNA       BENNETT                      OH     64516839830
924783A6981634   FILESI       WILEY                        MO     90008583069
92478592797B59   TINA         MILLER                       CO     39083065927
924789A2A5B548   DENISE       DELGADO                      NM     35059789020
92479844972B3B   JUAN         DELEON                       CO     33015288449
9247997957B449   TASHIA       WASHINGTON                   NC     11041959795
9247B142955951   FERNANDO     MEDRANO                      CA     90015121429
9247B17362B27B   VANESSA      ELLIS                        DC     81017011736
9247B661491399   JULIAN       DE LA CRUZ                   KS     29087316614
9247B74594B588   MARIAN       MCKENZIE                     OK     90014607459
9247B753A55951   GERARDO      SEGURA                       CA     90013517530
9247B931277537   ANSELMO      MARQUEZ-PEREZ JR             NV     90012059312
9247B98895B243   KAREEM       HOOTEN                       KY     90011999889
9247BA76A5B531   JONATHAN     POHL                         NM     90015150760
92481386472B3B   SILLIA       JOINER                       CO     90001243864
9248139495B548   JUSTIN       LEVERETTE                    NM     90014813949
92481696572B51   OSCAR        MADRID HIELO                 CO     33059526965
924818A274B949   MARIA        RODRIGUEZ                    TX     90014168027
92482127A55957   DEYON        SHEPARD                      CA     90000881270
92482576772B3B   ANIKA        WALKER                       CO     90013375767
9248285AA7B444   WAYNE        GOFF                         NC     11089608500
9248334A397123   KIM          SWINS                        OR     90010603403
9248378367B444   SHARON       STANLEY                      NC     90014037836
92484136972B42   BRIANA       MARTINEZ                     CO     90010051369
9248481954B588   JODY         QUILES                       OK     90014608195
92484979A91882   MONTOYA      HOLMES                       OK     90003809790
924851A618B149   CHEYENE      ROBERTS                      UT     31034281061
9248527264B554   DARIEN       CROWW                        OK     90014692726
92485613172B51   JOHN&DEANA   BELAMOUR                     CO     33053986131
9248594138B175   PAULA        HUFFAKER                     UT     90014979413
92485A63455951   MARIA        TORRES                       CA     49074540634
924863A844B554   TEANNA       SHANNON                      OK     21559853084
9248646328B352   DAVID        CRUMPTON                     SC     90015484632
92486463597B59   FRANSICO     HERNANDEZ                    CO     90014444635
9248681954B588   JODY         QUILES                       OK     90014608195
924869A6943584   MARK         SHAMPTON                     UT     90014529069
9248725545B548   ANNABELLE    SAENZ                        NM     35024222554
92487692A33623   ANGELA       MAHALA                       NC     90012526920
9248799987B444   SANIE        SMITH                        NC     11044899998
924888AA691951   CRYSTAL      GARNER                       NC     90007378006
92488A3A572B56   JUVENAL      LOZANO                       CO     90014890305
9248962A85B399   MARIA        SALGADO                      OR     44023896208
9248966535B383   RYAN         GANNON                       OR     90013646653
9248B113391521   MARGARITA    CRUZ                         TX     90013221133
9248B3AAA7B444   JENNIFER     INGERSOLL                    NC     90014803000
9248B93A361979   MARK         CORRALES                     CA     90011779303
9248B945793769   KAREN        JAMISON                      OH     90013359457
9248B99945B548   ROXANNE      ROHRABACHER                  NM     35091019994
92491A36691599   OLGIN        JOSE                         TX     75051300366
924921A1133698   CLAUDE       GLASCOW                      NC     90012091011
92492464872B3B   DORA         MATA                         CO     90015184648
92492651A91599   SANTOYO      ROBERT                       TX     90010436510
92492724372B51   JASON        WHELAN                       CO     90014237243
924927A7172B22   CHARNENE     OWENS                        CO     90012307071
92492A8A397B59   DAVID        ATKINSON                     CO     90010020803
92492A94397123   SARAI        ROJO                         OR     90015100943
9249346A57B444   ERMITANIO    RAMIREZ                      NC     90010634605
9249351155B565   VERONICA     ERDMANN                      NM     90014045115
9249376A93164B   MUNOZ        VASQUEZ                      KS     90008567609
924939A5443584   JEFF         SONNTAG                      UT     31063739054
9249423194B554   JAMES        REED                         OK     90005712319
9249453494B554   ROBERT       MAYFIELD                     OK     90010145349
9249478A877537   CORA         LYNN                         NV     90003067808
92494A25A55957   THOMES       DE LOSSENTOS                 CA     90003180250
92495771372B62   GLORIA       TORRES                       CO     90009737713
92495847772B56   CLINTON      SHEPHERD                     CO     90001328477
92495897472B51   DARIYN       LAPENNA                      CO     90013528974
92496397A8B175   DAVID        DECKER                       UT     31039583970
9249653624B588   DEXTER       BIGLOW                       OK     90014615362
92496879372B56   JOSEPH       REYNOLDS                     CO     90008068793
92496A6265B383   NOVA         DURDEN                       OR     90009320626
92496AA1691521   CINTHYA      ESPENCER                     TX     75003720016
92497162372B22   BILL         HITZ                         CO     33006391623
92497A41572B56   REBEKAH      HUMBERT                      CO     33043630415
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1597 of 2350


92497AAA991951   CRYSTAL      MINOR                        NC     90014360009
9249816A57B449   JONA         DAVIS                        NC     11060731605
924982A2893755   BRANDI       WAGNER                       OH     90008852028
9249859264B554   SANDRA       NORRBOM                      OK     90010745926
92498A9172B982   MERIA        VILLALOBOS                   CA     90012240917
9249913A761979   LUCIO        GUTIERREZ                    CA     90011901307
9249929A697B59   ARON         JENSEN                       CO     90010472906
92499548572B42   MARIA        ALVA                         CO     90008965485
9249989A191599   DAVID        TRUJILLO                     TX     90010398901
9249B11A272B56   MIKE         SCHUBERT                     CO     33084441102
9249B331491521   VIOLA        JACQUEZ                      TX     90008253314
9249B496672B22   WESLEY       CHEUNG                       CO     90012754966
9249B86364B554   ERNEST       MARKS                        OK     90012908636
924B123724B554   PATRICIA     ALDACO                       OK     90010152372
924B1439181634   ANDREA       JONES                        MO     29082284391
924B1632497123   LETICIA      CARRILLO                     OR     90014186324
924B1762855978   HARVINDER    KAUR                         CA     90010107628
924B1974981635   LUCRETIA     DAVIS                        MO     90013099749
924B1A6A32B27B   DEMETRIA     MURPHY                       DC     90011190603
924B1AA7655951   DANIEL       OLIVER                       CA     49047980076
924B2375672B42   REINA        WATERS                       CO     90011293756
924B2597A97B59   MARY         SAENZ                        CO     39091535970
924B2954755951   SALVADOR     RUIZ                         CA     90012429547
924B3348372B22   LISA         NAVARRO                      CO     90012753483
924B391778B149   HUSSEIN      OMAR                         UT     31010049177
924B3967193755   CHRISTOPHE   BLAINE                       OH     64536889671
924B4145A5714B   ABDI         MAHAMOD                      VA     90014381450
924B4147993755   KATELYN      WILLSON                      OH     64518371479
924B4158A4B554   LATERRANCE   GAGE                         OK     90014651580
924B4428851334   GRISELDA     ALDANA                       OH     66059134288
924B452415B548   PAUL         ROMERO                       NM     35049435241
924B4728897B59   LEON         CONWAY                       CO     90013487288
924B4744A43584   PAYGO        IVR ACTIVATION               UT     90011037440
924B4771491862   IMELDA       DAVILA                       OK     90008607714
924B4999372B56   SIN          AUNG                         CO     90014889993
924B528294B581   JENNIFER     TOBER                        OK     90012052829
924B5647872B42   ALMA         TORRES                       CO     90013646478
924B612A97B444   MARLYN       RODAS                        NC     90007551209
924B647A691951   ANA          VELAZQUEZ                    NC     90007684706
924B6552891951   ANA          VELASQUEZ                    NC     90007685528
924B6A61372B51   YADIRA       MAGADAN                      CO     90012480613
924B6A93772B22   CHLOE        MONTOYA                      CO     90015340937
924B7123272B51   SEFERINA     DE LA TORRE                  CO     90008241232
924B7311A2B23B   LAWARN       BARBOUR                      DC     81045453110
924B7756172B32   BRITTANY     SABLA                        CO     33075597561
924B7852951334   JOSE         ZETINA                       OH     90005038529
924B7A58333698   JERRY        WALTERS                      NC     12062250583
924B8AA3181635   CLEMENTE     JUAREZ                       KS     90014800031
924B94A4491951   NICKY        WILSON                       NC     17087944044
924B954AA7B444   ALEXIS       KOON                         NC     90013555400
924B957353164B   ASHLEE       BRADFORD                     KS     90001195735
924B962625B383   SCOTT        BALOO                        OR     44557536262
924BB569272B51   NORMA        SANCHEZ                      CO     33005505692
924BB639472B32   SUSANA       RUIZ                         CO     90014006394
925112A718B175   MAYIS        LINARES                      UT     90014722071
92512615472B51   LINDA        PADILLA                      CO     90014706154
9251291938B175   ANTHONY      MAESTAS                      UT     90014969193
92513336197B59   MARIO        BEECHER                      CO     39002693361
925139AA593755   BRIGGETTE    EWING                        OH     64561019005
9251414A661979   NOELIA       BALTEZAR                     CA     46094691406
92514383A51334   MANDY        LESTER                       OH     90012573830
92514637272B22   EDITH        FUENTES                      CO     33016846372
925151A1472B3B   GIESER       CHRIS                        CO     90009021014
9251529414B588   DUSTIN       WETMORE                      OK     21514082941
9251566768436B   ROSELI       SILVA                        SC     19016766676
9251587865B548   TAMMY        AGUILAR                      NM     90014488786
92515A59497123   NAOMI        MARTINEZ                     OR     90014660594
92516621772B42   MANUEL       GONZALES                     CO     90004106217
9251754225714B   AROLDO       MOLINA                       VA     90002715422
9251828218B197   JOHN         JACKSON                      UT     90000932821
9251917694B554   JOHANNA      DE LEON                      OK     90004771769
925191AA22B27B   NIKKA        LAWSON                       DC     90014711002
92519529A4B949   TYESHA       BOWAN                        TX     90014185290
925196A2891599   MARIA        MENDOZA                      TX     90013576028
9251996693164B   PATRIK       STEPHENSON                   KS     90010539669
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1598 of 2350


925199A754B949   LUCIA         HERRERA                     TX     76589269075
9251B34A581634   JEANINE       MABON                       MO     90014883405
9251B694872B62   CARMEN        MARTINEZ                    CO     33049236948
9251B772172B42   MARIANO       PEREZ                       CO     33069077721
92521192833B21   AALIYAH       HILL                        OH     90014151928
9252176697B444   FRESNEL       NKOSI                       NC     90009227669
925225A9A72B22   STEPHANIE     MCCREARY                    CO     90012755090
9252262144B554   JOSHUA        VERSHAW                     OK     90014836214
925231A1593755   KEAUNA        FELTON                      OH     90014931015
9252336A991599   CYRUS         TALLADEN                    TX     90014833609
92523748872B32   ALICIA        DOMINGUEZ                   CO     33026427488
92523893697B59   ANA           SANCHEZ                     CO     90009678936
92524136672B42   DINA          MONROY                      CO     33009631366
92524221A38531   NATHAN        J TOLMAN                    UT     90010072210
9252425675B383   CARL          ANTUNEZ                     OR     90003542567
925244A5443584   MAIR          VIRGINIA                    UT     90005434054
925249A734B588   SHAWN         HUNTER                      OK     90010809073
92525241A55957   HANNAH        NOLAN                       CA     49074842410
92525284A72B32   NANETTE       CROPP                       CO     90014242840
925252A4A91531   MARCIA        GONZALEZ                    TX     90001412040
9252548AA72B3B   ALLEGRA       GONZALES                    CO     90012834800
92525529572B51   KUBROM        HAILE                       CO     90011655295
9252575928436B   TA-TANISHA    SIMMONS                     SC     90010467592
9252576825B383   ALBERTO       MARTINEZ                    OR     44582277682
9252584A27B444   CORNELL       DRAKEFORD                   NC     90013208402
92526138172B62   NATHAN        CHAPMAN                     CO     33076981381
9252669992B824   BRENDA        LAGUNAS                     ID     90007796999
9252717214B554   NAYELI        MARQUEZ                     OK     90010321721
92527366A43584   CHRISTOPHER   WAYNER                      UT     90013403660
92527384A81634   CHRISTINA     HAYES                       MO     90013053840
92527553272B22   IRENE         MARTINEZ                    CO     33002115532
92527937386B45   CRYSTAL       MILES                       CT     90014539373
92528A94497123   KATIE         WILSON                      OR     90007640944
92529413372B22   MARTHA        CONTRERAS                   CO     33070434133
925294AA35B531   ROCHELLE      YUSELU                      NM     90004774003
9252B186A3164B   JOHN          HALLUM                      KS     22029471860
9252B2A862B27B   RENEE         JONES                       DC     90012902086
9252B395777537   JAMES         TALKINGTON                  NV     43096063957
9252B46A58436B   JESSICA       HOLMES                      SC     90014674605
9252B78A78B175   ERICLEE       PETERSON                    UT     90004407807
9252B816772B42   ROBERTO       SALINAS                     CO     90010348167
9252B92635B548   JAIME         VALLES                      NM     90011349263
9253143927B444   RICARDO       GALLARDO                    NC     90010924392
9253188714B554   KENNETH       BARNARD                     OK     90015218871
92531A82697123   PATRICK       FERREN                      OR     90014660826
925322A4472B56   SOFIA         BANUELOS                    CO     33035992044
9253236245B383   ANDY          ALLEN                       OR     90013993624
9253242565B531   ANDREA        BACA                        NM     35049384256
9253244884B949   DOMINIC       BRADY                       TX     90015044488
92532482797B59   ERIC          GLUKOWSKY                   CO     90013214827
9253253A291951   YURY LIZETH   REYES RAMIREZ               NC     90011295302
92533354A72B22   CHRISTINE     WILSON                      CO     90001123540
92533789572B51   JEREMY        BREMMER                     CO     90002697895
92535519A55951   JESUS         RAMOS                       CA     49080385190
9253558245B531   MIGUEL        VASQUEZ                     NM     35094215824
9253641715599B   MICHELLE D    TERRY                       CA     90007144171
9253644188436B   JOHN          HURLBERT                    SC     90013464418
925364A4372B29   JURI          GRISPINO                    CO     90012634043
92536869772B56   MARIA         DE LOS SANTOS               CO     90003188697
9253728A18B175   MEGAN         VALDEZ                      UT     90001562801
9253751A24B588   MICHAEL       COFFEE                      OK     90014395102
92537584A91951   TIERRA        MCDONALD                    NC     90014395840
92538336A77537   DEANNA        SCHMIDL                     NV     90012113360
92538699372B51   MIRSADA       TOPALOVIC                   CO     33097086993
92539157872B51   MARIA         GARCIA                      CO     90015181578
925397A8672B42   DAMON         WASHINGTON                  CO     90015237086
92539943176B87   MARIA         SOTO                        CA     90014109431
9253B57A872B42   ERIN          MCLEMORE                    CO     33085065708
9253B761991599   MONICA        CHAVIRA                     TX     90010967619
9253B94588436B   JONATHAN      JACKSON                     SC     90014359458
9253B9A1361977   TESSA         M CALVILLO                  CA     90003399013
9254121172B982   IVIS          SEPULVEDA                   CA     90011492117
9254121952B27B   SOLOMON       KAHISAY                     DC     81017612195
92541326272B22   MICHAEL       KELLEY                      CO     90014263262
92541455A55951   ROCIO         MARTINEZ                    CA     90010314550
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1599 of 2350


925416A6672B56   RACHEL       WEYANDT                      CO     33069716066
92541777A91599   HECTOR       LUJAN                        TX     75029547770
92541A6462B982   ABRAHAM      GONZALEZ                     CA     90013320646
925426AA55B383   JOSHUA       HENDRICKS                    OR     90014996005
92543171A91951   CARLA        KENNEDY                      NC     90007811710
92543338197B59   JOHN         FOOS                         CO     90004773381
925434A6972B32   KURTIS       SNEDECOR                     CO     90009444069
92544278272B51   FERNANDO     MONTELONGO                   CO     90013242782
92544694A77537   MARY         HAMES                        NV     90012716940
9254558115B548   GERALDINE    ORTIZ                        NM     35014905811
9254559A84B554   STEWART      HENSE                        OK     90014885908
92546222672B56   LORENA       MARISCOL                     CO     90011822226
9254645AA81635   MARY         ADAIR                        KS     90013634500
92546519672B42   ALEJANDRA    SALDANA                      CO     90004935196
92547499672B42   JUSTINE      GEIST                        CO     90007314996
92547A65781635   BILLIE       CROWDER                      MO     29005140657
9254854162B982   VICTOR       ALVARADO                     CA     90002805416
9254856677B444   MUHAMED      FREEMAN                      NC     11028385667
9254934194B949   CRISTINA     JIMENEZ                      TX     90001623419
9254935A841258   GARY         FETH                         PA     90006903508
9254997667B444   ROGELIO      NNUNEZ                       NC     90013379766
9254B94842B982   ALLYSON      HODAK                        CA     90009469484
92551495A72B3B   JOSE         GONZALES                     CO     90014324950
9255149785B548   JAMES        MARES                        NM     35023754978
92551611872B56   JULIO        SOLAR                        CO     33073596118
9255169424B588   KIMBERLY     CHEATWOOD                    OK     90014616942
92551838872B62   KELLY        CHAPLOW                      CO     90012758388
92552162672B42   BRENDA       BORREGO                      CO     90008751626
92552397272B56   MARIA        HERNANDEZ                    CO     90012913972
92552962A8B175   PAUL         BAKER                        UT     90000659620
925532A7191399   ALEX         AUTREY                       KS     29063672071
925541A6743584   ELIZABETH    DE LA TORRES                 UT     90011181067
9255432A191521   SARAH        HERNANDEZ                    TX     90011033201
92554556A72B42   STEPHANY     KECK                         CO     90010315560
925549A6472B51   FRANCISCA    BAHENA                       CO     33074379064
92555383A5B548   FRANK        ROMERO                       NM     35028643830
925555A1355951   SHVAHUAN     JOHNSON                      CA     90011135013
92555879A91521   JOSE         JACQUEZ                      TX     75058278790
9255591893B361   JENIFER      MACIAS                       CO     33049179189
9255628994B554   DAMON        LANCASTER                    OK     21583482899
925565A8691951   LENNARTH     MILLS                        NC     90013515086
92556672272B32   LILIA        GONZALEZ                     CO     33094346722
9255677AA72B62   KELSON       GHORMLEY                     CO     90006047700
92556A6294B949   VENITHA      SUBLETT                      TX     76508340629
92556A8625B548   ESTANISLAO   CASTILLO JR                  NM     35033150862
92557A41751334   PATRICK      CAMPBELL                     OH     90012460417
92557A49872B51   MARY         GRACIANO                     CO     33040810498
92558A5938436B   KRISTOFER    WATSON                       SC     90015300593
92558AA3261977   BLACK        ALESIA                       CA     46012830032
92559268872B32   JUANITA      RICE                         CO     33035272688
92559375A91951   MARCUS       TAYLOR                       NC     90012983750
92559479A61979   JON          LOPEZ                        CA     90002694790
925594A2291599   BIANCA       LOZANO                       TX     90013284022
92559568672B32   ROBERT       LOPEZ                        CO     90008805686
9255959834B588   ELIZABETH    FISKE                        OK     90014625983
9255971858B175   MAUNG        THEIN                        UT     90011567185
9255B13375B383   STACIE       WILBURN                      OR     90004721337
9255B744272B51   FREDDIE      MYERS                        CO     90014677442
9256156915B383   KRISTENA     THRONE                       OR     90013805691
9256171864B588   MICHAEL      WHITECLOUD                   OK     90014617186
9256189735B531   YVETTE       JARAMILLO                    NM     35073238973
9256213764B554   KRYSTLE      BOMBOY                       OK     90011331376
9256223585B548   NORMA        RIOS                         NM     90014582358
9256254864B588   ROXANNE      BERNARDINO                   OK     90013895486
92562736A5B344   DAMON        KINSER                       OR     90008787360
9256331898B175   CODY         SYLVESTER                    UT     31014203189
92563483A7323B   TIFFANY      CASTLE                       NJ     90014254830
9256352A772B22   MICHAEL      ORTEZ                        CO     90012755207
92563825A91521   LOURDES      SAENZ                        TX     75042688250
92563A76672B56   EMMA         FLORES                       CO     33082760766
9256424344B949   LUIS         SIFUENTES MUNOZ              TX     90013792434
9256424834B554   MICHELLE     ROBINSON                     OK     90012872483
9256425838436B   TERRELL      FULTON                       SC     90007052583
9256472A972B22   BRIANA       SANTASTEVAN                  CO     90009967209
9256547655B548   RAYANNA      BACA                         NM     90008404765
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1600 of 2350


92565516272B22   SCOTT           ANTRIM                    CO     90004215162
9256579674B554   LORENZA         PONCE                     OK     21587577967
9256591778B175   HUSSEIN         OMAR                      UT     31010049177
92565A17172B3B   ALEJANDRA       GARCIA-ESTRADA            CO     90012620171
92566185A77537   LORNA           QUIGLEY                   NV     90005101850
92566472372B28   EZEQUIEL        MONTES                    CO     90001464723
9256652A772B22   MICHAEL         ORTEZ                     CO     90012755207
92566585472B42   KITTY           CASTORENA                 CO     90005465854
92566A29638543   STEVE           GUSTAFSON                 UT     90007260296
9256737515B383   AMBER           DOMINGUEZ                 OR     44551443751
9256775454B588   PERRY           BLAKEY                    OK     90014617545
9256821435B531   DATATEL         JARAMILLO                 NM     90002212143
9256827525B383   ANA             GONZALEZ                  OR     90015182752
92568297872B42   ROBIN           HORN                      CO     90014232978
9256864A881635   NICHOLAS        FORD                      MO     90005026408
92568AA465B371   STEVE           YU                        OR     90008570046
9256919613365B   SERVANDO        DIAZ                      NC     90001041961
92569265472B51   SAMUEL          HARRIS                    CO     90012762654
9256951733B322   PHILIP          CATALANO                  CO     33092835173
9256976A24B588   VERNETTA        WHATLEY                   OK     90014617602
9256B117181635   SAMANTHA        RICHIE                    MO     90010701171
9256B952133698   LAPORSHA        POUNCY                    NC     90007539521
9256B9A3291599   PRISCILA        REYES                     TX     90013959032
92571124872B56   JACQUELINE      DICKMAN                   CO     33000701248
9257139655B531   CLARISSA        SANCHEZ                   NM     90011323965
92571473472B62   VELMA           GUITERREZ                 CO     90006444734
9257173285B548   CAROLE          BARBER                    NM     35092537328
92571855172B3B   FRANSCICO       JEREZ                     CO     33068108551
9257223523164B   BRANDON         CLARK                     KS     90013862352
9257326247B449   JOANA           FREEMAN                   NC     11061242624
9257334652B982   SANDY           PROSSER                   CA     90011553465
925735A4891599   TAMARA          SOLIZ                     TX     75068305048
9257381165B383   SEQUITA         HUDSON                    OR     90006438116
92573844297B59   DEMITRIO        HERNANDEZ                 CO     90011998442
92574534697B59   JASON           PEPICH                    CO     90012335346
9257453625B326   ROOSEVELT       JOHNSON                   OR     90011125362
9257495278B149   VALERI          HOWARTH                   UT     90010739527
925757A2841296   MAINA           KUMARI NEPAL              PA     90011927028
9257586414B543   ALFREDO         RIVERA                    OK     90015108641
9257634442B982   AZALEA          MACILLAS                  CA     90014203444
9257651452B27B   BERTINE         TIALE                     VA     90009645145
9257667A361988   EDITH           MCQUAIN                   CA     46078906703
92576741A7B444   DAVID           ALCANTARA                 NC     90013387410
92576978972B51   RICHARD         CHOVAN                    CO     90012329789
9257716A872B32   JUAN            BENITEZ                   CO     33049151608
92577193698B33   CASSANDRA       BROWN                     NC     90001141936
9257727745B383   PAMELA          BERGER                    OR     90010332774
925772A5443584   DENYS           WACHTERDORFF              UT     31032872054
9257739575B548   EMERSON         REANO                     NM     90014703957
925781A4A5B531   FIDEL           MALDONADO                 NM     90007211040
925782A6491399   IRENE           RODRIGUEZ                 KS     90006812064
92578424297B59   EDITH           LOPEZ                     CO     90013354242
92578A36381634   GUADELUPE       MOLINA                    MO     90013470363
92579715972B56   PATTY           TOBAR                     CO     90006697159
925797A358B149   CARLYSLE        JANE                      UT     31092747035
9257B236281641   JANICE          MILLER                    MO     90008812362
9257B243872B56   JENNY           ALLISON                   CO     90011822438
9257B31465B531   KARLA           PADILLA                   NM     35084803146
9257B49285B383   RAUL            ORTEGA                    OR     44585954928
9257B526372B42   GUADALUPE       APODACA                   CO     90013015263
9257B76A34B588   JESSICA         MUSE                      OK     90014617603
9257B827397123   JANE            EMMONS                    OR     44004288273
9257B941661979   YESSENIA        SABERANIS                 CA     90011909416
9257BA25672B22   KODY H          GREEN                     CO     90012860256
92581137172B2B   JOHN            STRITTMAN                 CO     90014291371
925814A157B444   ISAAC           HOLLOWAY                  NC     90012944015
92581973772B22   KIARA           COLEMAN                   CO     90011809737
92582371372B42   CHRISTOPHER     SERRELL                   CO     90010283713
92582438172B22   RAYMUNDO        CENICEROS                 CO     33009194381
92582718372B46   ALISSA          SKINNER                   CO     90012317183
92582A5945B531   DAVID           MUNOZ                     NM     90010500594
9258418518596B   JIM             BALLINGER                 KY     90001201851
9258425AA72B56   LEAH            HUMMEL                    CO     90011822500
9258517643164B   MARRYSSA        SHIELDS                   KS     90011901764
92585675497B59   BENITA ISABEL   LUNA GOMEZ                CO     90014176754
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1601 of 2350


9258633184B554   IRENE        BLANCO                       OK     90011123318
9258714914B554   KEVIN        MATTHEWS                     OK     90013881491
9258717292B27B   MERCEDES     COAKLEY                      DC     90014851729
92587254172B56   LUIS         RUIZ-GARCIA                  CO     90011822541
92587826A8436B   MARY         SINGLETON                    SC     90015138260
92587924272B62   KAREN        GONZALEZ                     CO     90012149242
92587A9768B175   AARON        FRYDENBERG                   UT     90000240976
92588413172B62   BURKE        MOSELY                       CO     33086844131
92588863172B56   SHO          LOR                          CO     33089438631
92589216172B62   BRITNEY      ARMENTA                      CO     33080492161
9258932623B366   ALEXANDER    LOGAN                        CO     90001813262
925895A9472B56   JONATHAN     TREVIZO                      CO     90001775094
92589621A91599   JAVIER       CAMACHO                      TX     90005596210
9258B137172B2B   JOHN         STRITTMAN                    CO     90014291371
9258B164943584   REGENE       ALLEN                        UT     31010611649
9258B73177B383   OSCAR        CASTRO                       VA     90001467317
9258B77444B588   MYRA         PETTIGREW                    OK     90014617744
9258B992351334   AMBER        VAUTER                       OH     90015369923
9258BA29A97B59   SONIA        GARZA                        CO     90010060290
9258BA85472B32   RUDY         TRUJILLO                     CO     90013920854
9259121625B383   ATLEEN       YLEIZAH                      OR     90012942162
9259159834B588   ELIZABETH    FISKE                        OK     90014625983
92592426772B3B   MIRIAN       DZIB                         CO     90011724267
92592454A61977   JESSICA      LERMA                        CA     46080184540
9259393757B444   MELANIE      DOBIE                        NC     11081839375
92594237472B3B   SHAUN        SARE                         CO     90011942374
9259433178B175   RAFAEL       GOVEA                        UT     90013413317
92594616172B42   CLAUDIA      NEVARES                      CO     33097416161
9259478A391599   LUCY         GONZALEZ                     TX     90009977803
9259487448B149   ANTHONY      BERKELEY                     UT     90010868744
9259488128436B   RAUSHANAH    AIKENS                       SC     90014598812
92594A71A61977   LAWRANCE     DOSS                         CA     46089570710
92595165472B22   ELMA         RUIZ                         CO     90007211654
92595538172B32   TRICHA       HEIT                         CO     33073555381
92595973297B59   CAROLINE     MARQUEZ                      CO     90004579732
9259679697B444   NAKISHA      FEWELL                       NC     90010717969
92596A64461979   DESHON       KNIGHT                       CA     90013830644
92597639472B51   KEITH        CRON                         CO     90014986394
9259788A661979   ANGELINA     CERVANTES                    CA     90012858806
9259794A64B554   KYLE         WITKOWSKI                    OK     90013879406
925981A514B588   JOEL         SANCHEZ                      OK     21522481051
925981AA89188B   MIRIAN       RENDON                       OK     90013511008
9259847474B554   J            ALLEN                        OK     90011104747
9259865375B531   GARCIA       CESAR                        NM     90012006537
9259917125B383   JOHN         EVERETT                      OR     44534261712
92599177372B62   MAURINE      ROBNETT                      CO     33087971773
92599292798B93   CLAUDIA      PADILLA                      NC     90012412927
9259B18232B855   JUSTIN       FOSTER                       ID     90004681823
9259B23545714B   LEONOR       MEJIA                        VA     90000992354
9259B495233674   MELVIN       WILKINS                      NC     12086014952
9259B528772B42   AMELIA       SULLIRAN                     CO     33089955287
9259B936955951   LUCY         BANUELOS                     CA     49090189369
9259BA27493755   CHRIS        BUSH                         OH     90013080274
925B163AA97123   JOSE         DE LA CRUZ                   OR     44041046300
925B168A24B588   AMANDA       ISAAC                        OK     90006506802
925B18A3272B22   MARIA        VALDES                       CO     90012688032
925B215A472B56   MARK         ULLOA                        CO     90011351504
925B2254891399   CARLOS       GALDAMEZ                     KS     29085842548
925B28A788436B   LINDSEY      RUSSELL                      SC     19004278078
925B313A672B22   ELIZABETH    KENNEDY                      CO     33056331306
925B321AA61954   RICHARD      GALLEGOS                     CA     90005842100
925B366214B949   MIRIAM       DEES                         TX     76552936621
925B3761826272   BRANDON      STREIT                       WI     90003077618
925B3831372491   ERIC         WOLFE                        PA     90009598313
925B3873391951   AVANTA       THORPE                       NC     90000758733
925B3919A5B548   BEATRICE     GONZALES                     NM     35066539190
925B398554B554   CHARLYON     JACKSON                      OK     90011929855
925B3A73385689   MICHELLE     LATORRE                      NJ     90013440733
925B4254891399   CARLOS       GALDAMEZ                     KS     29085842548
925B4425A5714B   PRINCESS     KABBA                        VA     90000594250
925B4426A55935   GREGORY      SPARANO                      CA     90007384260
925B4469777537   FLOYD        LATHAM                       NV     90008124697
925B4579172B42   MIRNA        HERREIA                      CO     90009795791
925B478443B38B   TERA         GODWIN                       CO     33006327844
925B4789491599   NORMA        QUINATANA                    TX     75032737894
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1602 of 2350


925B4A58397123   CYNTHIA        GARCIA                     OR     90014660583
925B532A872B51   JUAN           GONZALEZ                   CO     90009253208
925B5565A4B588   CIN            LIAN                       OK     90014615650
925B575672B27B   DENISE         SIZER                      DC     90012987567
925B589352B982   ERICA          RUBIO                      CA     90011388935
925B6283972B32   RICARDO        HERNANDEZ                  CO     90013272839
925B644152B299   TASHIKA        PEGUES                     DC     90004194415
925B6479993755   ELIZABETH      NEVAREZ                    OH     90013924799
925B64AAA33698   JOSE           RODRIQUEZ                  NC     90013354000
925B6536572B3B   JOSE           OCHOA                      CO     90006435365
925B6567597123   GUADALUPE      TEJEDA                     OR     44034805675
925B677312B982   ABIGAIL        ENGLISH                    CA     90007737731
925B7661661499   GARY           LYONS                      OH     90014736616
925B79A573164B   PEDRO          GONZALEZ                   KS     22046659057
925B7A59497123   NAOMI          MARTINEZ                   OR     90014660594
925B7AAA92B982   YESI           JUAREZ JUAREZ              CA     90014410009
925B8184997B59   VICTORIA       VILLEGAS                   CO     90012971849
925B8381272B22   DESTINEE       MIRELES                    CO     90013153812
92611A6284B554   JACQUE         COOK                       OK     90008060628
92612212697B59   BRANTON        DOAK                       CO     90014912126
9261246267B444   JOSHEA         HARRIES                    NC     90010784626
92612541172B51   SEKANI         TURNER                     CO     33083385411
92613581872B51   MARIA          GARCIA                     CO     33096905818
9261364A881635   NICHOLAS       FORD                       MO     90005026408
9261389632B27B   ANTOINETTE     MATTHEWS                   DC     81014778963
92613A7122B27B   KATESHA        NIXON                      DC     90014620712
9261437675B383   RICARDO        AMBRIZ                     OR     90000223767
92615194497B59   ILDAH          ORONDA                     CO     90015321944
92615269172B56   MARTHA         REMINGTON                  CO     90000562691
92615679772B32   SOL            PAINTING                   CO     33026436797
92615929172B42   STEVEN         CLARK                      CO     33069089291
926161A5791521   ESTER          AGUILAR                    TX     75093001057
9261621A272B22   JORGE          RUIZ                       CO     33051722102
9261635428B841   FRANK          PUGLISI                    HI     90014233542
92616364697B59   JOSE           MIRANDA                    CO     39046223646
92616752572B56   KEN            BARAS                      CO     90013067525
926167AA972B62   VICTOR         RAMIREZ                    CO     90013377009
92617818A7B389   SUZI           FRANCIS                    VA     90009838180
926178A7655951   MALEE          VANG                       CA     90002098076
9261831732B27B   WILLIE         WILLIAMS                   DC     90008373173
92618475972B32   MICHAEL        MARTIN                     CO     33008224759
9261877897B444   EVELYN         GILL                       NC     11087887789
9261889922B982   ANGEL          MAGALLO                    CA     45003278992
92618A8725B229   WILLIAM        FRUCHTENICHT               KY     68055070872
9261935A555957   BRANDI         STATON                     CA     90008473505
9261B15A391826   AMANDA         WHITE                      OK     90003631503
9261B187477537   JEFFEREY       MICHAEL                    NV     90013381874
9261B543391951   VINCENT        JOHNSON                    NC     90013505433
9261B679772B32   SOL            PAINTING                   CO     33026436797
9261B68A872B42   LUIS           SUAREZ                     CO     33098676808
9261B958A61977   DELIA          MENDOZA                    CA     90002189580
9261BA72497B59   JASMINE        RANGEL                     CO     90013210724
9261BA78343584   SHARON         GRGICH                     UT     31032790783
92621391572B3B   GAIL           MARK                       CO     33030153915
9262178244B949   ROSHONDA       EAGLIN                     TX     90013447824
92621A45343584   HILLARY        HAWKER                     UT     90011500453
9262228975B531   CHIRS          HART                       NM     90002982897
9262258269196B   CRYSTAL        RUDD                       NC     90014025826
92622882172B3B   TYLER          BOHN                       CO     33096038821
9262311384B554   CHRISTOPHER    CLARK                      OK     90009271138
92623685897B59   JANETH         RIVERA-VARGAS              CO     90012976858
9262494875B548   MIGUEL         MONTOYA                    NM     90012869487
92624A2585B531   JONATHAN       GUTIERREZ                  NM     90011920258
92624A5254B554   BENITA         CHAVERRIA                  OK     90010170525
92624A75A91951   SAUL           MENDEZ                     NC     90002650750
9262522775B383   NICHOLAS       DAKOTA                     OR     90015142277
9262525A972B42   EMMANUEL       VENEGAS                    CO     90015162509
9262534454B554   NORMA MANUEL   GARCIA                     OK     90012383445
92625584472B32   DONNA          RUBIL                      CO     33002705844
9262562A54B949   RYAN           SIMMONS                    TX     90014486205
9262611965B548   ARLENE         SANCHEZ                    NM     35018721196
92626229472B42   EDDIE          CASTILLO                   CO     33070042294
92626311372B56   JORGE          GOMEZ                      CO     33035993113
92626671A97B59   CEE            CLARK                      CO     90015026710
92626A71A7B444   RHONDA         STINSON                    NC     90013150710
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1603 of 2350


9262743988436B   CARRIE           POST                     SC     90014524398
926275A252B934   JEANETTE         NAVARRO                  CA     90010025025
9262792795B548   ADRIENNE         MONTOYA                  NM     35015659279
92629121A91599   LILIA            PORTILLO                 TX     90013321210
9262996A47B444   IVIS SORTO       VASQUEZ                  NC     90011479604
9262B237172B22   CLEMENCIA        SANTOS LOPEZ             CO     90013822371
9262B299372B62   JUSTIN           WHILLER                  CO     90015612993
9262B58A69714B   RICHERD          HEADLY                   OR     90012875806
92631268A93755   MARIO            QUINTANA                 OH     90006492680
926314AA791531   THERESA          GRANADOS                 TX     90010774007
92631886A4B554   MONICA           JONES                    OK     21587878860
9263199477B362   BRIGITTE M       LYLES                    VA     81047109947
92631A79472B56   GLORIA           JUAREZ                   CO     90014890794
92631A97455957   CRISTINA         CARRILLO                 CA     90013160974
92631AA2381626   JEREMY           RYAN                     MO     90012180023
9263235338B149   ANGELICA         LOZANO                   UT     31077733533
9263242434B543   VERNON           CAMPBELL                 OK     90015084243
92632643A2B27B   MY               LIMO                     VA     90004296430
9263272864B554   HAROLD           CHEATHAM                 OK     90008357286
9263273585B531   WILLIAM          POLLACK                  NM     90011647358
92633163672B56   WOODROW          SHAW                     CO     90002841636
9263322995B531   OSCAR            DESANTIAGO               NM     35061082299
9263343385714B   CARLOS           FLORES                   VA     90014934338
92633674A97123   DESIREE          HERNANDEZ                OR     44077666740
9263383A397B59   NIKKI            LUTZ                     CO     90002508303
92633A39772B62   DANNY            MATTORANO                CO     90000620397
92634672872B32   DINO             DURAN                    CO     90010776728
9263487755B548   PRATT            ANNIE                    NM     90012248775
92634A79472B56   GLORIA           JUAREZ                   CO     90014890794
926354A7772B56   RUBY             HOGARTH                  CO     90006504077
926355AA272B51   MARTIN           MACHAIN                  CO     90013075002
92635A38797123   MAYRA            MALDONADO                OR     90011460387
92635A3A555951   VERONICA         LOPEZ                    CA     90002540305
92636884A91399   MERZOUK          TAKILT                   KS     90009758840
926369A4A2B982   SERGIO           GARCIA                   CA     90003899040
926369A724B588   BRENDOLYN        BACY                     OK     90014619072
92636A14772B22   GM               BOURICIUS                CO     33061540147
9263727AA97123   DANELLE          KASPRYK                  OR     90010642700
9263757A27B43B   CARLOTTA         FORD                     NC     90011325702
92637723372B62   SHALA            HARLAN                   CO     33076257233
92637895772B42   SANDRA           GAMBLE                   CO     90003148957
9263841372B982   GREGORIO         PORTALES                 CA     90011584137
926389A1677537   MARIA ANGELICA   VARELA                   NV     90012879016
9263954258436B   LATESHA          ALLARD                   SC     19029595425
92639A87772B32   SARAH            LAGUNA                   CO     90010110877
9263B236A5B548   AMY              DAVIS                    NM     35009202360
9263B61235B531   MARY             CAMPOS                   NM     90001856123
9263B694A77537   MARY             HAMES                    NV     90012716940
9264181A372B42   GERARDO          SALAZAR                  CO     33076598103
92641953772B51   SEBASTIAN        JOJOLA                   CO     33092879537
926421A964B949   LINESHIA         GORDON                   TX     76510311096
926422A4391399   ERICA            PEREZ                    KS     90007982043
926423A714B554   EDMOND           CARTER                   OK     21543723071
92642672572B3B   ALLISON          MARTINEZ                 CO     90007156725
9264288872B885   MARIS            STELLA                   ID     90010968887
9264335A15B531   JUANA            GONZALES-LARIN           NM     35003683501
9264344A455957   SALLY            ROMAN                    CA     49079884404
926442A425B548   ARIANNA          TAPIA                    NM     90012032042
926448A3A72B56   KECIA            ROGERS                   CO     90001328030
9264499684B554   MARISSA          HARDING                  OK     90013219968
9264665A53164B   DANA             SCHWEERS                 KS     90003406505
926466A575B531   GLENNA           JONES                    NM     35045326057
92647212472B22   GREGORY          UPTERGROVE               CO     33001042124
9264744A52B982   JOSE             AGUILAR                  CA     90013074405
9264774467B444   JOHN             HERNANDEZ                NC     90006517446
9264783868B149   HOLFELTZ         K VALEEN                 UT     90008738386
92647A12877537   SCOTT            COULBOURN                NV     90012450128
92647A58581634   RODNEY           REED                     MO     29042050585
9264833755135B   MARTY            PONDER                   OH     90006113375
92648533572B42   MELANIE          WARNER                   CO     90013015335
926492A155B383   ANDREW           MCALLISTER               OR     44577822015
9264B273672B62   MIRIAM           FORTANEL                 CO     90014892736
9264B637797B59   JEREMIAH         MOORE                    CO     39048376377
9264B94138B175   PAULA            HUFFAKER                 UT     90014979413
9265111545B383   DANIEL           FRAZIER                  OR     90013521154
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1604 of 2350


92651518A2B27B   JENNIFER       GARCIA                     DC     90011405180
92651729572B32   JAMES          MARTIN                     CO     90008877295
9265194A361977   MARIA          DIAZ                       CA     90009569403
92652557572B51   OTILIA         ESQUIVEL                   CO     90013365575
9265288337B349   GUSTAVO        GOMEZ                      VA     90005698833
92653258272B42   KARISSA        DIGGINS                    CO     90014812582
926534AAA72B22   VICTORIA       GRIFFIN                    CO     33097374000
9265363314B588   JAMIE          RUSHER                     OK     90014626331
9265391698B175   YAZMIN         ZUNIGA                     UT     90014989169
926547A7672B3B   ERIK           GUERRERO                   CO     90015007076
926553AA381637   PATRICIA       LAMPKIN                    MO     29034083003
9265613925B548   VERONICA       PACHECO                    NM     35087861392
9265646718B149   RHONDA         REED                       UT     90014254671
9265689712B982   ANA            GONZALEZ                   CA     45054128971
92657368272B22   YESENIA        ARREDONDO                  CO     90001843682
92657683272B32   FIDEL          LEOS                       CO     90002236832
92657A12877537   SCOTT          COULBOURN                  NV     90012450128
92659743872B32   ANNETTE        JOINNER                    CO     90014477438
9265982387737B   PETREA         STETCO                     IL     90015518238
9265B11A371945   BARBARA        ADAMS                      CO     33095211103
9265B712372B22   LINDA          MCCOY                      CO     33036727123
9265B7A998B149   CASSIE         JANKOWSKI                  UT     90012477099
9265B95898B841   ELIZABETH      TORRES                     HI     90015449589
92661639872B32   ALEXIS         VALLES                     CO     90014006398
92661833697B59   AMY            HAYWOOD                    CO     90013328336
9266191168436B   MARLESHA       CLARK                      SC     19050709116
92661A17A43584   JOSHUA SCOTT   CAMPBELL                   UT     90012820170
92661A28291521   JUAN           AGUIRRE                    TX     75049540282
9266258269196B   CRYSTAL        RUDD                       NC     90014025826
92663375172B62   CHRIS          LESTER                     CO     90013743751
92663446772B32   JORDAN         PARRY                      CO     90001314467
92663A3A833698   ERIC           MOBLEY                     NC     90012720308
92664446972B62   JEFF           DISHMAN                    CO     90012914469
9266461634B588   KEVIN          ALLEN                      OK     90012256163
9266474842B982   DENNY          SOUSA                      CA     45024247484
92664814572B42   FELIPE         CORDOVA                    CO     90002098145
9266482948479B   THOVMVANH      SANAVONGXAY                IL     90003688294
92666A91172B56   TRINIDAD       VALENZUELA                 CO     90014890911
9266714214B554   ASUCENA        DELEON                     OK     90004151421
92667586672B32   ANA            VEGA                       CO     33095265866
926676A6276B53   SONIYA         HANDY                      CA     46036226062
92667717A72B3B   DIANNA         HOFARTH                    CO     90007897170
92667929372B56   JOSE           FLORES                     CO     33040439293
926681A6872B22   MARTIN         MARQUEZ                    CO     33026831068
9266849A577537   LUCY           ARZATE                     NV     90014904905
92668739872B3B   MARGARET       HERNANDEZ                  CO     90005527398
92668AA4691599   LESLIE         IBAVEN                     TX     90013230046
9266922318B149   RIKO           ROMERO                     UT     31062212231
9266983495B562   ALEJANDRA      CHACON                     NM     90001408349
9266B726A77537   BRENDA         THOMAS                     NV     90015207260
9266B935155957   CESAR          DURAN                      CA     49007609351
9266B99995B548   ANGELITA       SALAS                      NM     35003499999
9267147542B982   ANGEL          FELIX                      CA     90011594754
92671516272B51   JAMES          ORTH                       CO     90004235162
926715A683164B   TINA           YOUNGMAN                   KS     22084205068
9267163117B444   LUIS           AVELINO RAMIREZ            NC     11089846311
9267171894B554   TIFFANY        RUSSELL                    OK     90012587189
92671745A2B27B   VALERIE        KERNS                      DC     90009347450
9267181555B548   JESUS          VILLALOBOS                 NM     35084238155
926721A9972B42   DERRICK        PINKETT                    CO     90008141099
926723A7672B56   CAMILO         SAUCEDO                    CO     90011823076
92672A2542B982   JOSE A         REYES                      CA     90009310254
92672AA7443584   LEON           BLACNCA                    UT     90008770074
926731A885B548   BRENDA         DYE                        NM     90009181088
92673797A33698   TOREZ          RODRIGUEZ                  NC     90011407970
92674146297B59   SAM            ESTRADA                    CO     90012791462
9267435A972B22   SANDRA         KENDRICK                   CO     90002383509
9267457927B444   LINDA          SNETTER                    NC     11017055792
9267468A761979   LEONARDO       SEPULVEDA                  CA     90005626807
92674896872B51   ROSAHURA       LAZOS                      CO     90011848968
92675139A55951   SISAVANGVO     VANG                       CA     90008421390
926751A5355957   STANLEY RAE    SPOORS                     CA     90014791053
926758A587B444   TANIKA         FARRIS                     NC     90002618058
92676249272B56   SARAH          AHMED                      CO     90014092492
9267648318B149   DUSTIN         WARD                       UT     31058424831
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1605 of 2350


9267659A361931   BRENDA        MENDOZA                     CA     90014605903
9267661615B531   ANTHONY       ATWOOD                      NM     90007836161
9267745545B531   RIC           TRAVIS                      NM     90010974554
92677455972B32   AMY           ROSAS                       CO     90003834559
92677A2A48436B   EUTIKA        BALLS                       SC     19066080204
926787A7A91399   TRACY         JACKSON SR                  KS     29001697070
92678A54781637   REGINA        WILLIAMS                    MO     29036440547
92678A5667B444   SAVANNAH      WRIGHT                      NC     90013470566
92678AA972B982   JUAN          MARTINEZ                    CA     90011610097
9267937228436B   JANISSA       GRAHAM                      SC     90007863722
9267977A993769   SARA          BROWN                       OH     90004237709
9267978A491531   EMILIA        MAGALLANES                  TX     90002927804
9267B162A5B548   SHANNON       LOGAN                       NM     90003651620
9267B163181635   SHIRLENE      STALKER                     MO     29080801631
9267B232577537   JULE          ACUM                        NV     90010922325
9267B38972B898   ALEXIS        TOVAR                       ID     90011423897
9267B451391321   JULIO         LEIVA                       KS     90003954513
9267B68A872B56   JAMES         HAZA                        CO     90007916808
9267B81A891951   SACORY        ATWATER                     NC     90012038108
9267B838A5B34B   ANGELA        MANKINS                     OR     90011698380
9267B849481637   SCARLETT      KLUSENER                    MO     90003018494
9267B989961977   AREMI         CLARK                       CA     46087059899
92681656A72B22   KELLY         TEDROW                      CO     33095026560
92681777897B59   CRISTHINA     AYALA                       CO     90014867778
9268226A491951   NATASHA       BAILEY                      NC     90014872604
9268262814B588   JERRY         SKAGGS                      OK     90014636281
92682A41193755   ROBERTO       ZACARIAS                    OH     64513380411
9268317712B982   MARIA         CASTILLO                    CA     90011611771
92683388297B59   GIL           OCHOA                       CO     90002023882
9268341974B554   ROBERT        CARR                        OK     90013824197
9268346A25B531   GUADALUPE     LOYA-ARMENDARIZ             NM     35065764602
926843A5572B32   JAMIE         TAFOYA                      CO     33030543055
9268476468B833   DONOVAN       DEBRUM                      HI     90014797646
9268492635B548   JAIME         VALLES                      NM     90011349263
92684A6458B149   MARIA         BUDKE                       UT     90002090645
9268535875B383   DESZARAY      DAILEY                      OR     90015163587
9268628A357138   MARIA         GUEVARRA                    VA     90010172803
92686521772B62   SANDRA        RIVAS                       CO     90007675217
92686A72297B59   ROSA          MALDONADO-ALARCON           CO     39080340722
9268719235B548   HAVEN         SANDOVAL                    NM     90013631923
9268755457B444   BRIAN         MCCRIMMON                   NC     11035715545
9268777312B26B   CHANEL        WASHINGTON                  DC     81016787731
92687A79533698   MICHAEL       BETHEA                      NC     90009510795
9268818125714B   COREY         BERTRAND                    VA     90001081812
92688298472B42   CHRISTOPHER   DIX                         CO     90014232984
9268831218B149   KIRSTEN       MAGINNIS                    UT     31091993121
92688992772B3B   JANELLE       PEREZ                       CO     90014639927
926891AAA81634   ERIEKA        MOORE                       KS     90001671000
9268921123164B   ANGELA        ALFORD                      KS     22076922112
92689785A97123   SHAYNE        ROBINSON                    OR     90001627850
92689A51A85689   MIGUEL        TRINIDAD                    NJ     90006630510
92689A5855B548   IMELDA        MORALES                     NM     90000200585
92689A85472B22   OMAR          VALLE                       CO     33035250854
9268B329481635   DEMOND        MARLEY                      MO     90014703294
9268B42644B554   MARIA         RODRIGUEZ                   OK     90012774264
9268B6A538B336   CHANA         TURNER                      SC     90014656053
9268B8AA372B3B   DABNEY        SALOME                      CO     90007098003
9268B915A2B982   MARISELA      MORALES                     CA     45017049150
9268B9AA58436B   JENNIFER      LOWRY                       SC     90012389005
926911A5872B56   BRYAN         ROBERTS                     CO     90014891058
9269122195714B   BLANCA        CERNA                       VA     90001082219
9269125564B588   CHAD          ALBERTSON                   OK     21595742556
9269192A997123   JEFF          RALPHO                      OR     90014709209
92692126697B59   PETER         FORD                        CO     39005881266
92692363172B22   EFREN         VIGIL                       CO     90012293631
9269272614B588   CHARLENE      GILBREATH                   OK     90014627261
92693121397B59   ERNESTO       VELASQUEZ                   CO     90012401213
9269339795B548   CHRIS         SALAZAR                     NM     90008933979
9269362814B588   JERRY         SKAGGS                      OK     90014636281
92693834572B3B   ESTHER        PEREZ                       CO     90009438345
926942A144B949   JUAN          LOBOS                       TX     90007932014
9269454419714B   ERNEST        BAUSTIAN                    OR     90011405441
926945A4972B42   CHRISTY       COULSON                     CO     90009825049
9269463284B588   REBECCA       BELLER                      OK     90004996328
92694A83577537   APRIL         HIXENBAUGH                  NV     43056320835
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1606 of 2350


9269565215B383   DIANA        HUNTER                       OR     90000256521
9269576824B949   SERGIO       CERON GARCIA                 TX     90014497682
9269595625B531   MICHAEL      CHAVEZ                       NM     35098489562
926961A9291521   SOLEDAD      CUEVAS                       TX     90011671092
9269696645B383   AMANDA       HODSON                       OR     44510319664
92696A2A84B554   DEEELLA      LEWIS                        OK     21587910208
92697533172B32   SERGIO       DIAZ-MORENO                  CO     33062275331
926976AA455957   JEFFREY      LEWIS                        CA     49040276004
92697837172B42   YAZMIN       SILERIO                      CO     33071568371
92697A4195B531   VERONICA     CORRAL                       NM     90015000419
9269812584B588   MARICELA     HERRARA                      OK     90001571258
926983A7255951   EULOJIO      MATA                         CA     90008833072
926988A7733698   REGINALD     INGRAM                       NC     12066978077
926998A9955951   JESSCIA      CONTRERAS                    CA     90014848099
9269B23984B554   LAURA        CLARK- MERRITT               OK     90010972398
9269B599597123   KELLEY       GARCIA                       OR     44077255995
9269B5AA491951   COMINA       MASSEY                       NC     90003435004
9269B79317B383   KASHIF       KHALIL                       VA     90005297931
9269B842833698   DAMION       BALLARD                      NC     90009168428
9269B94925B531   MICHAEL      BEGAY                        NM     90003869492
926B1175951328   JESSICA      OSBORNE                      OH     90012261759
926B138668B194   DAVID        GROVES                       UT     90004653866
926B1654272B42   DIANA        NAMANA                       CO     90013316542
926B1696672B22   ROSA         ISLAS                        CO     90014176966
926B182224B588   DOMINCE      DEES                         OK     21590478222
926B1A32361977   NICOLETTE    REDD                         CA     90010300323
926B1A51181635   MARY         JACKSON                      MO     29003820511
926B1AA8181634   EDUARDO      PENA                         MO     90012650081
926B223A855951   MARIA        FRAUSTO                      CA     90011962308
926B228A43164B   NATASHIA     GAFFORD                      KS     90011372804
926B2364251334   VAUGHN       BUSH                         OH     90012983642
926B2698197B59   ADELINA      PEREZ                        CO     90012616981
926B2745761977   JOSE LUIS    RODRIGUEZ                    CA     90009027457
926B275598B149   LESLIE       ELLER                        UT     31074727559
926B2947697123   JON          STEINER                      OR     90006529476
926B29A7772B56   MARIA        SAMANIEGO JUAREZ             CO     33064209077
926B341988436B   CAITLIN      THOMAS                       SC     90015124198
926B3558A4B949   JOSEPH       NEWMAN                       TX     90011545580
926B3738643584   WAYNE        FIFE                         UT     90010657386
926B383864B588   TERRY        HARJO                        OK     90014618386
926B3841A72B42   BRITTANY     TALMADGE                     CO     90014578410
926B3927751334   DAVID        PARKER                       OH     66059479277
926B3A1465B531   VERONICA     GOMEZ                        NM     90004170146
926B4396A4B554   DAEZUAN      RAYVON                       OK     90014153960
926B4638372B51   STEPHANIE    MANDRIL                      CO     33019996383
926B4774391882   LACI         COOK                         OK     21087277743
926B47A9691399   YOLANDA      MARTINEZ                     KS     90011697096
926B538515B383   COLBY        BLAKE                        OR     90012603851
926B5613A4B949   DANA         BELL                         TX     90002796130
926B6311751334   JERRY        WHITE                        OH     90005773117
926B6349477537   FRANCISCA    OSUNA                        NV     90012083494
926B6386491951   EDGAR        LEMUS CRUZ                   NC     90014983864
926B641A897B59   KARIE        RIOS                         CO     90014334108
926B7427772B32   WENDY        ARELLANO                     CO     90013894277
926B7744943584   CLAYTON      CANNING                      UT     90014577449
926B78A7655951   PAULETTE     EASTON                       CA     90007838076
926B7A15572B3B   JAMIE        TORELL                       CO     90013190155
926B821915B383   JOSE         ALVARADO                     OR     44516022191
926B839A87B444   CRISTINA     HERNANDEZ                    NC     90014583908
926B864584B949   SEAN         SANDERS                      TX     90011606458
926B9643591532   SIMON        ROBLES                       TX     75034806435
926B987425137B   CIARA        SMITH                        OH     90012698742
926BB257393755   BRIAN        HALL                         OH     90004022573
926BB27274B554   CHAD         MARTINEZ                     OK     90014692727
926BB543497B59   CARLOS       GONZALEZ                     CO     90014365434
926BB593991599   EDUARDO      FIGUEROA JIMENEZ             TX     90014545939
926BB7A414B554   ALEJANDRO    LOPEZ                        OK     90013437041
926BB95278B149   VALERI       HOWARTH                      UT     90010739527
92711155A97123   JASON        STONE                        OR     90005491550
9271136462B27B   GERALD       MOONEY                       DC     90014883646
9271141167B449   ANTHONY      WYATT                        NC     11075054116
92711413372B62   MARIA        MEJIA                        CO     90009864133
9271152A943584   DAN          GANNAWAY                     UT     90004335209
9271294A172B56   BEKEN        RAMIREZ                      CO     33012929401
92712A7612B27B   RICARDA      BELTON                       DC     90002950761
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1607 of 2350


92712A9A791599   JOSE         ARMENDARIZ                   TX     90013890907
927136A2997B59   SUSAN        EASTON                       CO     39086066029
92713999572B22   ELIZABETH    CASTANEDA                    CO     33030739995
9271482228B149   ANA          LEPE JARA                    UT     90006198222
92714855A51334   SANTWON      SORRELLS                     OH     90012368550
927154A568B175   YOLANDA      GARZA                        UT     31013454056
9271552A64B949   JUDITH       FONTENOT                     TX     90014645206
9271589A88B149   SHAWN        ASADDULLAH                   UT     90013478908
927162A9A4B554   CORNELIUS    CRAWFORD                     OK     90015072090
92716A41885689   CARLOS       VASQUEZ                      NJ     85094930418
9271729155B548   GLORIA       SERENA                       NM     90009632915
92717944797B59   CARMEN       SILVIA                       CO     90013759447
92717A1A297973   LUIS         SANCHEZ                      TX     90012910102
9271839A591951   LISA         RENEE                        NC     90015033905
92718839272B62   FRANCISCO    SANCHEZ                      CO     33036418392
92719279272B22   MICHAEL      NELSON                       CO     33044052792
9271969585B383   EVA          GOMEZ                        OR     44545706958
92719881972B3B   ALEXIS       JOHNS                        CO     90002418819
92719999A55951   LUIS         CRUZ                         CA     90014909990
9271B119672B42   JOSE         PAVON                        CO     90011471196
9271B21574B554   NANCY        FRANCHELIN                   OK     90015322157
9271B234961955   HIPOLITO     RUIZ                         CA     90007332349
9271B313A91882   JOE          MASON                        OK     21070973130
9271B64348436B   PATRICK      SHANNON                      SC     90009396434
9271B788481635   ANTHONY      WILLIAMS                     MO     90014067884
9271B788893769   AMY          LAUGHMAN                     OH     90010847888
9271B812561973   SANDRA       MANTECON                     CA     90009918125
9271B947472B22   CHRISTIAN    WALL                         CO     90009179474
9271B9A4972B56   YANINN       DYCK                         CO     33081469049
9272137277B444   WESLEY       DIXON                        NC     90014653727
9272172AA5B383   BRENT        GUKEISEN                     OR     90010837200
92721A26172B62   XAVIERA      JACKSON                      CO     90014570261
92722562672B51   MICHAEL      GRAVES                       CO     90013085626
927226A7461977   PETE         RODRIGUES                    CA     90003136074
92722741772B56   TISHA        L MAES                       CO     90010577417
92722779A5B383   WILLIAM      SETH                         OR     90013397790
92722999572B22   ELIZABETH    CASTANEDA                    CO     33030739995
92722A86772B32   CRISPIN      CRUZ                         CO     33083540867
92723137172B62   GAIL         VELARDE GUERRERO             CO     33082541371
9272333A372B22   SERGIO       VILLANUEVA                   CO     33037363303
9272346298B175   ARTURO       DESPOSORIO                   UT     90014994629
92723A18A61977   ROXANA       PINTO                        CA     90009140180
92724118872B62   JAVIER       SNCHEZ                       CO     90002231188
9272432115B548   APRIL        LEYBA                        NM     35079523211
927244A697B449   JOSE         TRIGUEROS                    NC     11077974069
9272479694B588   DARREN       RICHARDS                     OK     90005217969
92724A42991521   BEVERLY      ESTRADA                      TX     90013320429
92725442872B42   MARGARET     WELLMAN                      CO     33005254428
9272552A64B949   JUDITH       FONTENOT                     TX     90014645206
927264A3172B51   JADE         STOLL                        CO     33065544031
9272678975B383   ANGELEESHA   FRIERSON                     OR     90008337897
92727328772B32   JAMES        DARPER JR                    CO     90013263287
9272754162B982   VICTOR       ALVARADO                     CA     90002805416
9272756237B444   CYNTHIA      DAVIS                        NC     90014815623
92727786A2B27B   MARSHA       MCDOWELL                     DC     90003257860
927279A3A93755   ELIZABETH    REED                         OH     90014129030
92727A43172B42   TONY         CRUZ                         CO     33087270431
92728415A77537   EUGENIA      GUTIERREZ                    NV     90014044150
92728684A91521   HERNANDEZ    OMAR                         TX     75065816840
9272874145B531   MERCEDES     BARRAJAS                     NM     35080037414
9272884127B444   NOEL         VASQUEZ                      NC     90000928412
9272931754B554   NICOLE       COFFEY                       OK     21571863175
92729351472B42   SARAY        ALVARADO                     CO     33023703514
9272949618436B   KATIE        REED                         SC     90012924961
92729A5A972B56   LINDA        PROPP                        CO     90013160509
9272B383891599   IRENE        BALBUENA                     TX     90010643838
9272B577172B3B   REBECCA      VALDEZ                       CO     90012975771
9272B645355951   ANN          HARRIS                       CA     90010126453
9272B746597123   ELISEO       GOMEZ                        OR     44062127465
9272BA2A891399   SUSANA       ROCHA                        KS     29080300208
92731131A51334   LASHELL      DAVIS                        OH     90010291310
9273129AA61933   RICKY        HUSSAIN                      CA     90012712900
92731692A5B548   DILLON       ARBUCKLE                     NM     90014886920
9273181765B383   OLGA         GOMEZ ENCARNACION            OR     44576168176
9273216275B383   DAVID        PAEZ                         OR     90012911627
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1608 of 2350


9273218114B554   JOSEPH           NEIHERT                  OK     90008071811
927322A3933698   LINDA            WIGGINS                  NC     90015182039
92732745272B51   JOSE             ESPARZA                  CO     90014527452
92732A19997123   NICHOLAS         SIKEL                    OR     90014720199
92733694676B53   NINFA            MORALES                  CA     90012276946
92733776A4B588   JOHNATHAN        HENDERSON                OK     21502297760
92733856A72B51   BERTHA           RODRIQUEZ                CO     33085468560
92734166172B51   ROBIN            SKELTON                  CO     90015211661
9273482643B341   ROBERT           STEVESON                 CO     33074968264
9273579812B982   ELIZABETH        RUIZ                     CA     90008707981
92735894272B36   TAMMY            MONTOYA                  CO     90009558942
92735AA7293755   PAUL             CASSIDY                  OH     90007770072
927361A7372B32   TIFFANY          MOREIKO                  CO     33091311073
927362A344B554   DANICA           LEWIS                    OK     90008072034
92736755172B51   MARIA            SALGADO                  CO     90012887551
9273685223164B   VANITA           WASHINGTON               KS     22006348522
9273784A172B56   DORA             VASQUEZ                  CO     33090198401
92737934672B32   STEPHANIE        COREY                    CO     33046319346
92737968A61979   ROSSY            MARTINEZ                 CA     90011799680
92738161172B22   JOSE             LOM                      CO     90013801611
92738832A8B841   CRYSTAL          JORMELU                  HI     90014428320
9273887245B531   AMBER            SAUCEDA                  NM     90013358724
927389A7672B3B   RAIAN            GARCIA                   CO     90014779076
92738A49855951   JACOB            JIMINEZ                  CA     90013170498
92738A8787B444   ALLEN            BASS JR                  NC     11084230878
9273944342B982   JACKIE           HARRELL                  CA     90011374434
92739558A25335   KRISTINA         HANSEN                   WA     90014295580
9273972888436B   KIM              BLISS                    SC     90013247288
9273B153A61977   MARIE            ANGE                     CA     90008051530
9273B57185B355   EICHELBERGER     GREGORY                  OR     90002855718
9273B63A14B949   ASHLEY           ESCAMILLA                TX     90014656301
9274121AA72B62   STORMY           CAKL                     CO     90014942100
9274152A78B175   MIGUEL           ARELLANO                 UT     90014995207
927417A4972B51   WALKER           LORI                     CO     33083807049
92742226872B62   DENISE           QUINONES                 CO     90013722268
92742348672B22   ADELA            RAMIREZ                  CO     33069023486
927431A8891599   MARIA            FRAGA                    TX     75078191088
9274323138B158   CHRIS            MORRIS                   UT     31086912313
927433A1A4B554   CHRISTINEA       ELLIS                    OK     90010773010
92743651872B62   RONALD           BENKELMAN                CO     33085616518
9274393695B383   DAVID            CARENDER                 OR     90014839369
92744694676B53   NINFA            MORALES                  CA     90012276946
92744797672B22   RICHARD          ROYBAL                   CO     90014047976
92744A8A872B62   GABINO           SIFUENTES                CO     33043010808
927451A9272B22   JUSTINE          KLEIBER                  CO     90010201092
927458A3881635   MARY             HARRISON                 MO     90011908038
9274621A597123   KOURTNEY         TRILGHMAN                OR     90014722105
92746761A8B149   HEATHER          HAMILTON                 UT     31076817610
9274679A24B588   DAVID            ALEJO                    OK     90003797902
9274684524B949   CARLOS EDUARDO   SANTIAGO                 TX     90014658452
92747A26572B51   ALISA            DEWEY                    CO     33067050265
9274871125B531   BRANDON          CHEMSKI                  NM     90015207112
92748774672B32   ZULAHY           GONZALEZ                 CO     90012827746
92748779797B59   BENJAMIN         WINDISCH                 CO     90012527797
9274941232B27B   YANIRA           URBINA                   DC     90001344123
9274979262B23B   CARLTON          FISHER                   DC     90001547926
927498A5372B62   RAYNA            ALBAUGH                  CO     90005998053
9274B312493755   AARON            VANHOOSE                 OH     90012923124
9274B631531424   LAVONNA          LONG                     MO     90012596315
9274B7A5772B3B   YOLANDA          CANALES                  CO     90013767057
9274B896551334   KATRINA          JONES                    OH     90003728965
9274B99A797123   AURELIO          LOPEZ                    OR     44056019907
92751114772B56   FRANCISCA        MARTINEZ                 CO     90014891147
92751427A93755   BRITTANY         KUHN                     OH     90014414270
9275147194B588   MATT             KEATING                  OK     90003634719
9275198764B949   MISTY DENISE     WARD                     TX     90014659876
92752114772B56   FRANCISCA        MARTINEZ                 CO     90014891147
9275249624B588   JOSE             PINEDA                   OK     90014264962
92752627497B59   MARIBEL          GARCIA                   CO     90014576274
927529A7997123   ROSA             STINNETT                 OR     90014049079
92753391A97123   RIGORBERTO       CARRASCO PEREZ           OR     90007143910
9275343132B27B   MARY             HUME                     DC     81023794313
9275358615B548   DEBRA            LOPEZ                    NM     35005665861
9275396A691399   ADRIANNA         RODRIGUEZ                KS     90011699606
92753977872B56   FABIOLA          CISNEROS-GUERRERO        CO     90014059778
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1609 of 2350


9275531817B444   SABRINA       ALLEN                       NC     90014603181
92755346372B42   ANGEL         RIUZ                        CO     90004383463
92755415924B83   TINNELL       GARRISON                    DC     90001774159
927555A717B449   BERNARD       ODOM                        NC     90013355071
927557A1855957   DOUA          THAO                        CA     90015157018
92756186697B59   JENNA         JOHNSON                     CO     90011221866
92756312772B32   JASON         BRADSHAW                    CO     33067003127
92756391A72B56   JENNIFER      MARTINEZ                    CO     90006503910
927568A8791599   MIRIAM        MEAVE                       TX     90014488087
9275775522B25B   MONIQUE       WAINWRIGHT                  DC     90007327552
92757865972B62   HILDA         RODRIGUEZ                   CO     33046408659
92758117172B56   LUIS          MUNOZ                       CO     90014891171
92758213772B62   FAUSTINO      ABADILLA                    CO     90013042137
927582A3181634   OLIVIA        ORTIZ                       KS     29004042031
92758482672B3B   MARK          FUNKYBUNCH                  CO     33025554826
9275895A172B51   ELSA          LANDA                       CO     33085569501
927589A2872B42   STEPHEN       MATSOUKAS                   CO     90014859028
92759339772B22   DENNIS        KOWSKI                      CO     90012763397
927597A5772B51   FILY          ROBLES                      CO     90001077057
9275B173891951   JUAN          NELSON                      NC     17096631738
9275B243672B42   MARIA         GUADALUPE                   CO     90002412436
9275B3A6191599   SUSANA        GONZALEZ                    NM     75009473061
9275B81A281634   GABRIEL       AGUILAR                     MO     90011938102
9276149A297123   AGUSTIN       ACOSTA                      OR     44059264902
92761845A72B56   DAVID         BURKEL                      CO     33075758450
92761A8132B982   MARTIN        BEYER                       CA     90007670813
9276221988B149   TIARA         MARTIN                      UT     90009242198
92762258197B59   MARCOS        CASTRO                      CO     90013962581
927622A7255957   JUNE          GOMEZ                       CA     90000662072
92762A2A676B53   ALEXIS        ESPINOSA                    CA     46000140206
92763354172B32   OMAR          GOMEZ                       CO     33034163541
9276367718B175   TUI           AFEAKI                      UT     90013416771
92764122A7B444   RAMEL         DAILS                       NC     90013601220
92764128A91521   VANYA         MARTINEZ                    TX     90013221280
9276435377B449   MAGDALENA     SORTO                       NC     90013373537
92764373A97123   MELISSA       HILL                        OR     90014733730
92764A2A172B32   STACY RENNE   PASSAFIUME                  CO     90013780201
92765384272B22   PETER         FIERRO                      CO     90003393842
9276559447B444   BENJAMIN      CRUZ                        NC     90010395944
9276593494B588   GULISHA       HALL                        OK     90014629349
9276596927B444   THAWNG        SUAN PAU                    NC     90014209692
9276634622B881   RAQUEL        DODD                        ID     90009473462
9276684225714B   ORLANDO       MARTINEZ                    VA     90013218422
92766899672B3B   ERICKA        MILES                       CO     90009078996
92766A31672B22   CAMERINO      FLORES                      CO     90010060316
92766A86272B42   GRABIEL       ORANTIA                     CO     33045190862
9276714A25B548   ASHLEY        QUINTANA                    NM     90011091402
9276715287B444   RAMON         STILL                       NC     90012901528
92767179576B53   ERILA         LOZANO                      CA     90000111795
92767334472B32   JOSEPH        STARKWEATHER                CO     90013303344
92767A8914B554   MONIQUE       WADE                        OK     90013870891
92768115197B59   TEMPORARY     ACCOUNT                     CO     90010021151
9276878314B554   SCOTT         WILLIS                      OK     21588417831
9276917588B175   CHARLES       MCCUSKER                    UT     31005351758
92769351672B32   CELSO         RODRIGUEZ                   CO     90013103516
92769579872B51   CARISSA       MARTINEZ                    CO     90011655798
92769859A72B3B   SARAH         ARELLANO                    CO     33019688590
9276B255691951   ALEXANDRIA    ALEVAREZ                    NC     90012732556
9276B26635B531   ANDREW        MARQUEZ                     NM     90010472663
9276B744191599   BERTHA        MARTINEZ                    TX     90012427441
9276B861872B3B   MAYRA         CASTILLO                    CO     90013428618
9276BA3174B949   BIBBLE        SIMIEN                      TX     90006950317
9277164842B898   DON           HINE                        ID     90006616484
927719A9A77537   GRISDELY      HERNANDEZ                   NV     43048919090
92772175A41296   DAN           LEAHY                       PA     90015431750
92772468A85689   AARON         LOPEZ                       NJ     90000654680
927727A515B531   SUSAN         WILKES                      NM     90001487051
92772A13177537   KAYLA         WOELLER                     NV     90001260131
92772A9564B551   MELISA        DEWBERRY                    OK     90009440956
92773178297B59   KATHY         KOMLOSKI                    CO     39034751782
9277343377B444   OPRAH         HOYLE                       NC     90013774337
927734A9972B51   OSVALDO       CANO                        CO     90012194099
9277354A172B22   DONOVAN       WILLIAMSGAINES              CO     33039715401
92773A84933698   STEPHANIE     CROUCH                      NC     90014570849
92774118872B3B   JAVIER        SNCHEZ                      CO     90002231188
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1610 of 2350


92774456A5B383   KATHRYN      LOUNDREE                     OR     44567874560
9277487865B548   BERNICE      CORIZ                        NM     35053778786
9277539333164B   ELIZABETH    VALLES GUITIERREZ            KS     90015283933
9277552A372B22   ALEJANDRO    MUNOZ                        CO     90002215203
9277556457B444   PORSHA       CHISOLM                      NC     90007885645
92775574472B3B   GEORGE       WALKER                       CO     33052675744
9277574A955951   GERARDO      HUERTA                       CA     90000767409
92775A7782B982   CHARLENE     HAWKIS                       CA     90012010778
9277612187B458   STEPHANIE    MOORE                        NC     90010341218
9277638855B548   KOREY        ROBLES                       NM     90013083885
9277672935B531   ANDREITA     GARZA                        NM     35093797293
9277676924B588   VALERIE      RICHARDSON                   OK     21537937692
92776A11533698   JEANNE       JOHNSON                      NC     90012360115
92777124172B56   JESSICA      SMITH                        CO     90014891241
92777637772B42   JUSTIN       NIMROD                       CO     90007916377
92778124172B56   JESSICA      SMITH                        CO     90014891241
92778327972B3B   SHAWN        PADILLA                      CO     90009453279
92778521972B42   HAYDEE       RONQUILLO                    CO     90014205219
927787A9861977   DELMY        OGARA                        CA     46016887098
92779196272B51   OLGA         DELGADO                      CO     33015291962
9277922533164B   BRITTNEY     LANGSTON                     KS     90000372253
92779A97372B22   NIKKI        WHITIKER                     CO     90011150973
9277B121481669   CLAIRE       CAPALDO                      MO     90005611214
9277B26764B949   TERRY        BILLARD                      TX     90014672676
9277B38444B554   BRITTNEY     SOUTH                        OK     90007353844
9277B42598B175   TERESA       TAPIA                        UT     90012304259
9277B445272B62   LYNNZE       STONE                        CO     33059624452
9277B843291599   LYDIA        DOMINGUEZ                    TX     90014378432
9277BA32A91521   JULIO        AGUIRRE                      TX     90013680320
9277BA88561924   PABLO        BECERRIL                     CA     46012360885
92781245372B42   ALBERTO      OSORIO                       CO     90014132453
927818A672B982   LILIANA      FLORES                       CA     90012508067
92782337A72B56   CAMILLE      PICKETT                      CO     90013793370
92782672872B22   ZOILA        PEREZ                        CO     90008156728
92782715572B42   JESUS        BARRON                       CO     90008487155
9278326485B259   MICHAEL      LUTZ                         KY     90013772648
9278413618436B   PAYGO        IVR ACTIVATION               SC     90010681361
92784688972B42   ARMANDO      HERNANDEZ                    CO     33072186889
92785116172B3B   ANTONIA      ROBLES                       CO     33033251161
92785126372B56   KATHY        SEEBORG                      CO     90014891263
92785294797B59   BRITTANY     BENAVIDEZ                    CO     90011252947
927852A4391599   CHRIS        ENRIQUEZ                     TX     90014412043
9278584688436B   KIA          HALL                         SC     90015038468
927862A118436B   ROSE         LINDSLEY                     SC     90012442011
92786A62891521   MICHAELA     SCHMIDT                      TX     75035050628
92787544697B59   LEONARDO     JIMENEZ                      CO     39029915446
9278783668436B   TRACEE       GANTLIN                      SC     90003558366
9278815335B383   WILLIAM      SPENCER                      OR     90014151533
9278827365B548   MARIO        TRUJILLO                     NM     90014442736
92788371A61979   EVA PAMELA   MARIN                        CA     90005653710
92788524797B59   SEAN         KEARNEY                      CO     90012525247
9278893744B949   AUDRA        BENDY                        TX     76583029374
92789617472B22   LORRAINE     JAQUEZ                       CO     33023396174
9278B35815B531   JEFFEREY     RENEAU                       NM     90014713581
9278B581691553   ANGELINA     GAMBOA                       TX     90010615816
9278B91164B949   JANAYSHA     CALZELLE                     TX     90014679116
9278B994972B62   MARIA        TRUJILLO                     CO     90012149949
92791287272B56   JONATHAN     GALLEGOS                     CO     90013122872
9279139244B554   JAMIE        MARTENS                      OK     90014103924
92791792172B62   ROBERT       RUIBAL                       CO     33076027921
9279185795B531   KIMBERLY     CHAVEZ                       NM     90014978579
9279228945B383   TARA         COOK                         OR     90008482894
927922A1A72B3B   CLAUDIA      CARRILLO                     CO     33059222010
9279234682B27B   TRACY        MCFADDEN                     DC     90001793468
9279294233164B   ASHLEY       ARCE                         KS     90001079423
92792A2134B588   AMANDA       SIZEMORE                     OK     90014630213
9279395164B949   PAYGO        IVR ACTIVATION               TX     90011849516
92794862A41296   RENITA       TAYLOR                       PA     90005968620
92794871897B59   JESSICA      SAENZ                        CO     90014958718
92794A62681634   ASHLIE       CULLEN                       MO     90013910626
9279583778B125   ROBERT       SAWATZKI                     UT     31091628377
92795896772B42   LEONEL       SANCHEZ                      CO     90012888967
92795A4592B824   CATHERINE    WALCROFT                     ID     90012170459
92795A4922B27B   APRIL        CUNNINGHAM                   DC     90013480492
9279672525B531   MARIA        ROMAN                        NM     90013987252
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1611 of 2350


92796A66777537   GARCIA        MANUEL                      NV     43040900667
92796A95A41296   JEAN          MOODY                       PA     51061390950
92797198A72B56   ELIZABETH     TRUJILLO                    CO     90012781980
9279755158436B   KIANA         MITCHELL                    SC     90010365515
9279775A155957   TONI          ALESI                       CA     49083887501
92797AA3372B56   PASZUAL       CARRILLO                    CO     90012890033
9279811125B531   RICHARD       VALLEZ                      NM     35027451112
9279912A655951   DANNA         NELSON                      CA     49034211206
9279922758B166   CHAD          DEVORE                      UT     31096522275
92799561397B59   LAURA         WIGHT                       CO     39096345613
927996A8A91599   ROBERTO       CASTILLO                    TX     75058976080
9279B11274B554   ERNESTO       GONZALEZ                    OK     90012941127
9279B3AA277537   JAVANI        RAMOS HERNANDEZ             NV     90015183002
9279B411855951   MARIA         CHACON                      CA     49011944118
9279B42A17B449   TALIA         MCDOWELL                    NC     11006204201
9279B875372B3B   LOURDES       GALLEGOS                    CO     33039058753
927B1187961977   BRENDA        JAIME                       CA     90008241879
927B128984B554   KEKE          DAGGS                       OK     90014052898
927B146458B149   VERONICA      TSCHULNIGG                  UT     90001454645
927B187777B444   MARGARITA     TAPIA                       NC     90014848777
927B196A372B56   MARYLU        DURAN                       CO     33030819603
927B1A25855951   CRAIG         CLEIM                       CA     90006290258
927B2266641296   DERVON        HARPER                      PA     51010602666
927B243835B383   WHITNEY       BAKER                       OR     90014414383
927B2464A2B982   CHRISTOPHER   LERMA                       CA     90014734640
927B3246755957   TOUMOUA       LEE                         CA     90013352467
927B3369443584   ASHLEE        TEGEN                       UT     90007243694
927B3491951334   TODD          MICHAELD                    OH     90010874919
927B3838661979   FLOR          RAMOS                       CA     46004848386
927B3A6A497B59   SALLY         MADRIGAL                    CO     39066760604
927B446514B54B   JUAN          QUIROZ                      OK     21512374651
927B4515261979   AMABIA        MURILLO                     CA     90011795152
927B4531177537   SHERI         POTTS                       NV     90010845311
927B4986972B51   AKIA          LYNCH                       CO     90013909869
927B4A15391599   MIA           CONTRERAS                   TX     90014370153
927B581862B27B   LISA          DURRETT                     DC     81009758186
927B59A737B444   SYLVIA        BURNS                       NC     90014729073
927B5A8A397B59   DAVID         ATKINSON                    CO     90010020803
927B667AA97B59   CHRISTINE     BURAK                       CO     90010596700
927B67A6172B22   CARIDAD       URBINA                      CO     33063517061
927B69A737B444   SYLVIA        BURNS                       NC     90014729073
927B7722672B32   JOHN ENRQUE   CORTZ                       CO     90012067226
927B7729774B21   BYRON         SEGLE                       OH     51083797297
927B8191655951   BILLY         SANDERS                     CA     90009851916
927B825443164B   MICHAEL       HURST                       KS     90013832544
927B8344A72B56   SANTIAGO      DE LA CRUZ                  CO     90011823440
927B836815B383   ASHLEY        VOSS                        OR     44579643681
927B848675B326   MARCO         RIVEROS                     OR     90014184867
927B85A6391599   JASMIN        MATA                        NM     90014845063
927B8627972B42   SHEIMTHA      DANIEL                      CO     33002206279
927B868A797B59   YAHIDA        WETTS                       CO     90013396807
927B8773957122   JO            KELLY                       VA     81033097739
927B93A6591951   JUAN          GOVEA                       NC     90011973065
927B947425B531   AMBERLEE      MARQUEZ                     NM     90005724742
927B967518B175   GEORGE        PRIETO                      UT     90015006751
927B9677751334   TAMARA        DAVIS                       OH     90005296777
927B9A38733698   KATHY         LEAK                        NC     90007550387
927B9AA7272B51   CRYSTAL       BLACK                       CO     90005090072
927BB51652B982   RAFAEL        VAZQUEZ-VALDOVINO           CA     45056715165
927BB517172B62   DANIEL        KRENKE                      CO     33055135171
927BB954372B3B   ELIZABETH     HINDS                       CO     33089009543
927BB994161973   RAFAEL        LUNA                        CA     90008559941
927BBA43A51334   ERICA         LEHNERT                     OH     90002750430
92811138672B62   ANGELO        MACARENAS                   CO     90014291386
9281117315B531   ELIZABETH     AGUIRRE                     NM     90015011731
92811228472B51   RODNEY        RICHMEIER                   CO     33077652284
9281124185B383   JULIO         FIGUEROA JR                 OR     90010192418
928113A5233623   SMIA          DAVIDSON                    NC     90011543052
92812557972B22   JALIA         GARZA                       CO     90012205579
9281271998B149   BRYANT        EDDARDS                     UT     90004957199
92812A68777537   AARON         YOUNG                       NV     43006740687
928133A6A4B554   DASHONTE      DENSON                      OK     90008073060
9281411295B531   NICOLAS       MENDOZA                     NM     90006961129
928144A7991521   MENDOZA       RICARDO                     TX     90014884079
92814958972B51   DANIEL        RAMSEY                      CO     90012779589
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1612 of 2350


92816283372B22   CANDI         MAURICIO                    CO     90013002833
928166A3972B32   CYNTHIA       HIATT                       CO     33043046039
9281682257B444   MARCELLETT    BARRETT                     NC     11044718225
92816A75672B42   HECTOR        DIAZ                        CO     90010660756
92817325A93755   DONALD        MALONE                      OH     64514783250
92817743172B3B   EMMA          AVILA                       CO     90003377431
928179A7572B42   MICHAEL       SENA                        CO     90012889075
92818258A33698   MIGUEL        PEREZ                       NC     12011712580
92818A4A597123   ARMANDO       VALDIVIA                    OR     90014320405
92818AAA18B149   DAYTON        JAMES                       UT     31003530001
9281924914B949   DEMARCUS      FRANKLIN                    TX     90014742491
9281B263597123   ROBERT        COLAVITO                    OR     90008492635
9281B421555957   GONZALO       ALEMAN                      CA     90014374215
9281B469155951   JOSEFINA      FLORES                      CA     49062694691
9281B48574B588   ASHLEY        ARNOLD                      OK     90011924857
9281B947372B51   EDUVIGES      ROSALES                     CO     90012999473
92821663672B42   MARTINA       MENDOZA                     CO     90011726636
928216A7872B51   VIRIDIANA     GARCIA                      CO     90013106078
9282175A681634   MIGUEL        VENEGAS                     MO     90015117506
92821987A4B949   EDDIE         TARVER                      TX     90014709870
92821A7412B981   RAUL          LOA                         CA     45049550741
9282211494B588   QVEON         FRANKLIN                    OK     90014631149
9282248A25B383   ARTURO        FLORES                      OR     44553814802
9282335A272B22   GABRIELLA     MARTINEZ                    CO     90012763502
9282347868B149   LEVI          WILLIAMS                    UT     90006354786
928236A534B949   JOSHUA        KELLY                       TX     90006526053
928242A8751334   CHRIS         ONEAL                       OH     90012442087
92824545A72B32   AMBROSIO      RICO                        CO     90007385450
9282513628B149   DONNIE        MANLEY                      UT     90012091362
9282525784B27B   CAROLINE      ANNIN                       NE     27071832578
928252A3955926   ALEJANDRO     LOPEZ                       CA     90011542039
9282535A781634   SUZZAN        SOOIALO                     MO     90014843507
92825882A72B22   JASON         ROYBURN                     CO     33012488820
92825988697B59   SCOTT         BARKER                      CO     90015269886
9282658395B531   DOROTEO       GARCIA                      NM     35019985839
9282692234B554   RAMON         NARANJO                     OK     90011969223
9282721A191882   KIMBERLY      RICHARD                     OK     90001182101
928272A513164B   PAUL          GRIFFIS                     KS     90001072051
9282732A372B62   PAUL          HERNANDEZ                   CO     33017423203
9282814A84B588   EDWARD        HOWELL                      OK     90014631408
92828238172B56   GREG          BLESE                       CO     90000982381
928288A7172B56   HOLLY         WALKER                      CO     90009108071
9282918AA97B21   TAMARA        FAILLA                      CO     90013311800
9282933A481634   KANSAS CITY   BREAD                       MO     90015193304
9282998714B949   STEPHANIE     VILLAFRANCO                 TX     90014709871
9282B137972B56   JENNIFER      JAIMES                      CO     90014891379
9282B282261977   MARCO         RODRIGUEZ                   CA     46058492822
9282B898972B22   ANDREA        SERNA                       CO     90008738989
92831138572B56   VALERIE       TYLER                       CO     90014891385
9283149A23B392   DENISE        ROMERO                      CO     90008414902
928316A1361977   BRENDA        PENA                        CA     46049186013
92831A1652B27B   KIMORA        GREEN                       DC     90014460165
92831A2214B554   GETUIM        GONZALEZ                    OK     21581210221
92832249A44B33   KATHRYN       TENEROVE                    OH     90015472490
92833138972B56   ADAN          TELLEZ                      CO     90014891389
928334A3731952   MICHELLE      RANCE                       IA     90014754037
9283393432B982   JESSE         ARREDONDO                   CA     90011709343
9283395152B27B   JOVAN         MASON                       DC     90015259515
92834139272B56   KUMARI        SARKI                       CO     90014891392
928342A3151334   WILLIAM       PRICE                       OH     90003212031
9283469AA8B149   ANDREA        ARCE                        UT     90010876900
92834715472B51   YARELI        MARQUEZ                     CO     90013097154
9283512424B554   DALE          ROBINSON                    OK     90012061242
9283514914B588   CANALES       CHRISTIE                    OK     90014631491
9283539288436B   JASMINE       GLOVER                      SC     90012943928
9283575774B949   RUBIE         GIPSON                      TX     90013587577
9283584AA2B25B   GABRIELLA     EDWARDS                     DC     81088848400
92836669197B59   ELIJAH        SEPEDA                      CO     90013046691
928367A235714B   DENISE        WILLIAMS                    VA     81068257023
92837616A61977   LILIA         CARBAJAL                    CA     90004226160
92837715672B32   KACCEE        MORIN                       CO     90014107156
92837731472B22   DESIREE       ARNOLD                      CO     33098857314
9283777845B383   ZACH          WILLIAMS                    OR     90013397784
92838341A51334   SCOTT         MEADOWS                     OH     66046893410
9283849354B949   LAAQUA        RICHARDSON                  TX     90014714935
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1613 of 2350


92838733472B56   GAILANN       RUSCETTA                    CO     33064887334
92838825A55957   MANUEL        DIAZ                        CA     90014468250
9283891398B149   KATIE         GLASS                       UT     90003499139
9283895A372B51   ALEJANDRO     MARTINEZ                    CO     90008429503
928389A9A97123   LIDIA CEJA    VALDES                      OR     90010259090
92838A8A791532   DENISE        LOMELI                      TX     90007930807
9283948775B938   TAMERA        KNAPP                       WA     90014814877
92839578197B59   JENNIFER      LUCERO                      CO     90014365781
9283966227B444   JUAN CARLOS   RAMIREZ                     NC     90013486622
9283976814B588   RAMOND        PERKINS                     OK     90013037681
92839A7668B149   LEATRICE      HAMPTON                     UT     90012300766
9283B46AA8436B   JOSE          CHAVEZ                      SC     90006304600
9283B684343584   MICHAEL       CHESHIRE                    UT     90014516843
9283BA3A272B56   SANDRA        DEHERRERA                   CO     90006750302
9283BA63561979   CARMELA       JIMENEZ                     CA     46012480635
9284114927B444   TERESA        MARTINEZ                    NC     11034221492
9284124474127B   OLESYA        KOMYAGINA                   PA     90010472447
92841256A41296   FRANK         TOME                        PA     51087852560
92841912572B3B   JOHN          DOUGH                       CO     90009459125
92841975297B59   KRIS          NUNEZ                       CO     90009849752
9284263493164B   KWANTAE       HARDYWAY                    KS     90014016349
92842A7558B173   HECTOR        CORDOVA                     UT     90002350755
92843426597B59   JESSICA       GUTIERREZ                   CO     39077634265
9284433284B588   STARLA        BEATY                       OK     90001733328
928443A4291951   LUIS          MATUTE                      NC     90014873042
9284448AA72B56   TERESA        RODRIGUEZ                   CO     33055704800
928444A4972B22   ESTELA        HERNANDEZ                   CO     33028414049
9284457338B149   KENDRA        OWENS                       UT     90013265733
928445A3355957   SELENA        OZUNA                       CA     49082445033
92844896A4B949   ARTHUR        BRANTLEY                    TX     90014718960
92844A37972B51   SUSMA         GONZALEZ                    CO     33002110379
92845659472B3B   JOSHUA        GRAHM                       CO     33025996594
92845A99841296   KAREN         HARRIS                      PA     51086650998
9284635984B554   MARK          HIGGINS                     OK     90014623598
92846A11A4B949   DANIEL        GARCIA                      TX     90014720110
9284746935B531   REBECCA       BALDONADO                   NM     90015154693
92847AA158436B   DEVONNAE      RIVERS                      SC     19089100015
928481A1672B62   SHARMAINE     DANIELS                     CO     90014531016
9284871553B354   MONICA        CORONADO                    CO     90010637155
92849191697B59   RIGOBERTO     CARRION                     CO     90007221916
9284942AA7B36B   GREGORY       NELSON                      VA     90000294200
92849657472B22   DAVID         LAMBERSON                   CO     90014846574
92849A36A72B42   KARLA         GRANILLO                    CO     90009300360
9284B25A755957   JORGE         GUERRERO                    CA     49051392507
9284B423761979   RWAD          THOUZEN                     CA     90010954237
9284B454191521   GILBERT       RIVERA                      TX     75049404541
9284B5A2581634   DEBORAH       HASKINS                     MO     90014155025
9284B835151334   EMILIE        KINGERY                     OH     90014778351
9284BAA3872B51   MUGARA        GODEFROID                   CO     33076770038
9285112A655957   GUADALUPE     CORDOVA                     CA     49005861206
9285129884B588   KYLIE         SHELTON                     OK     21558152988
92851686672B3B   LASHAY        MATIN                       CO     90013136866
92851A57191599   PATRICK       CAMPBELL                    NM     75011030571
92852417772B42   PATRICK       MARKEY                      CO     33091254177
9285263687B444   AL            THOMAS                      NC     90011146368
92852A4195B383   DAVID         CLENDENON                   OR     44509030419
92853589772B62   ALFREDO       SANDOVAL                    CO     33089145897
92853AA3143584   JENNIFER      BOURGET                     UT     31076100031
92854893672B51   NAYBE         MARANDA                     CO     90015018936
928549A2161979   TONA          REYNOSO                     CA     46005439021
92854A89733698   AMBER         SAPP                        NC     90013100897
92854A92591599   MAYRA         LUJAN                       TX     90013890925
92855168972B22   GEORGE        HARRIS                      CO     90014801689
9285622A35597B   TAMMY         BROSSMAN                    CA     90013552203
92856A27577371   TONDALAYA     ROBERTS                     IL     20511290275
92856AA8172B22   FRANCISCO     HERNANDEZ                   CO     33044180081
9285756A491599   ERICA         ROCHA                       TX     75056755604
9285765794B588   KELLY         STEEN                       OK     90014156579
92857681497B59   ZAVALA        CECILIO                     CO     90011226814
928581A6791521   ROSA          GRANADOS                    TX     90014141067
928582A139153B   VICTORIA      CASTRO                      TX     90000782013
9285846A98436B   CALANTHIA     CAMPBELL                    SC     90013594609
92858928872B42   MICKEY        LYNCH                       CO     90012889288
9285931265B548   CID           LEYBA                       NM     35060943126
9285937A64B949   JUSTIN        BROWN                       TX     90014733706
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1614 of 2350


928594A3A5B383   MICHAEL         HANSEN                    OR     90013444030
92859771572B62   PEDRO ARNULFO   RIVERA                    CO     90013247715
9285984758B149   TRENTON         JUDSON                    UT     31005538475
9285B356391599   ISABEL          OROSCO                    NM     75002493563
9285B57635B368   AMBER           ANDERSON                  OR     90010985763
9285B929A4B554   LIZA            LONGORIA                  OK     90003829290
9286133A777537   SAMANATHA       SWARTZFAGER               NV     90014373307
928617A418B175   SOLOMONE        LATU                      UT     90015007041
928619A1972B56   IVONNE          CHACON                    CO     90008009019
92862757772B42   VERONICA        ORTIZ-ORTIZ               CO     33065047577
928627A418B175   SOLOMONE        LATU                      UT     90015007041
92862A6235B531   VERONICA        GONZALEZ MONDRAGON        NM     35046360623
92863497A81637   GARY            HILL                      MO     90002714970
92864221172B32   JAVIER          AGUILAR-HERNANDEZ         CO     90007912211
92864742A72B42   MARILU          ANDRADE-ARROYO            CO     33094407420
928648A5997B59   CAMILLE         KLINE                     CO     39028768059
928648A724B949   SHAMADA         MALONE                    TX     90011028072
9286537A37323B   EDILIA          SANCHEZ                   NJ     90014483703
92865722697B59   ANGELA          CASSEL                    CO     90013227226
92865A7A372B99   STEPHANIE       LOCHHEAD                  CO     33014280703
9286615215B151   JIMMIE          HOWARD                    AR     90013751521
9286658A372B3B   ROGER           HOWARD                    CO     33023765803
9286665578B175   KEVIN           KLIGMANN                  UT     90003106557
9286682485B383   RANDY           VOLK                      OR     90001228248
9286692464B554   MARGARITA       HERNANDEZ                 OK     90015139246
9286724253B392   MARGO           TOMS                      CO     33000872425
92867488A5B531   DESTINY         BACA                      NM     90014514880
92868112A55957   LIZETTE         ARREOLA                   CA     90012781120
9286844928163B   JANA            WASHINGTON                MO     29041264492
9286874245B383   KENNETH         CRAWFORD                  OR     44508287424
92868A25741296   SUMBWANYAM      KANGWANDA                 PA     51052000257
9286912113162B   RAFAEL          RUIZ                      KS     90013291211
92869145272B56   KELLY           KINCHELOE                 CO     90014891452
92869A5A92B248   ANTONINA        PAYNE                     DC     81024920509
9286B137372B22   SYLVIA          RENTERIA                  CO     33033251373
9286B249672B62   VAN             HRUAI                     CO     90011392496
9286B266861977   MARKEISHA       SIMMONS                   CA     90009512668
92871549A72B3B   JOSE            CORTEZ-GODOY              CO     90012895490
92871755372B42   MARIA           PEREZ                     CO     90012897553
9287216584B554   FRANZ           BONILLA                   OK     21549191658
92872261172B56   XOCHITL         ROJAS-ACEVEDO             CO     33069212611
928723A7772B51   NICO            ARROYO                    CO     90004943077
9287241918B175   MICHELLE        CRISWELL                  UT     31007864191
928728A2A97B59   MIGUEL          LUNA                      CO     90013668020
9287315462B27B   KENYATTA        LYNCH                     DC     81035851546
9287325722B27B   RAHIM           FOREMAN                   DC     90014342572
9287369134B588   KYLE            GOAD                      OK     90014636913
9287436A24B949   HERBERT         BRIGGS                    TX     90012653602
9287572578B175   KEVIN           CHAVEZ                    UT     90015007257
92875865772B51   MATTHEW         WALKER                    CO     90011658657
92875A54861979   MICHELLE        PRIESTLY                  CA     90002950548
92876319A72B51   ANTONIA         MANTINEZ                  CO     33051113190
92876381572B62   PALI            BAUGHER                   CO     90012143815
9287737754B554   AMBER           HELMS                     OK     90008943775
9287749328B149   GUMARO          SUSTAITA                  UT     31034964932
92877729A8B175   JULIO CESAR     ARTEAGA                   UT     90015007290
92877832272B32   SADAT           PAREDES                   CO     90011178322
92877A4A472B3B   JOSE            CABRERA                   CO     90013290404
9287839A155967   JESSE           CAMPOS                    CA     90006523901
92878546597B59   TONY            LUNA                      CO     90011455465
9287857A355951   MICHELLE        TAPIA                     CA     90011155703
9287867A34B949   MARY            THOMAS                    TX     90012386703
9287869522B27B   CELESTINE       OGU                       DC     81010106952
9287881A25B548   SARAH           HOLTEN                    NM     90014478102
92878834472B51   ANTHONY         BRANNON                   CO     33094938344
92878847A8B175   OLIVER          PERRY                     UT     31054748470
928788AAA72B62   MARIO           YANEZ                     CO     33015128000
9287894A472B42   BARBARA         AZELTINE                  CO     90012889404
92879227172B42   ERIKA           SALINAS                   CO     33096182271
9287926194B588   LANCE           MILES                     OK     90014632619
9287945674B949   MARY            THOMAS                    TX     90014744567
9287986115B548   JOHN            ROMERO                    NM     35005588611
9287B356691521   CECILIA         MISQUEZ                   TX     90009283566
9287B559781635   QUINCY          JONES                     MO     90003665597
9287BA47581634   DIEGO           RODRIGUEZ                 MO     29090360475
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1615 of 2350


9288132128B149   MARGARITA           LOPEZ                 UT     90013933212
92881358572B22   LUIS                AQUINO                CO     90012763585
92881568272B62   VAZQUEZ             FLORENTINA            CO     90010075682
92881685297B59   AMOREENA            WALKER                CO     39090946852
9288186A65B383   EDET                ASANA                 OR     44509038606
92881875972B3B   SCHMIDT             JASON                 CO     33075588759
92882116372B3B   JOSEPH              ARTHUR                CO     90012381163
9288243A172B62   ERICK               RIVERA                CO     90014824301
9288257718B149   JENNA               NELSON                UT     31093545771
9288272852B982   MARIA               CASTILLO              CA     90011737285
92882733A33698   JONATHAN            SLADE                 NC     90015207330
92882968597B59   ADAM                GONZALES              CO     90006219685
92883321272B51   KEILA               ANEZ                  CO     90013513212
92884122A55957   MARIA               GUERRERO              CA     90012931220
9288445724B923   VICTOR              HERNANDEZ             TX     90001334572
92884613972B56   ESPARZA             LOYA LILIANA          CO     33038866139
9288488715B241   HAZEL               COSBY                 KY     90007848871
9288493495599B   BRENDA              SMITH                 CA     90012459349
92885359872B22   LEONOR              BENAVIDES             CO     90012763598
92885538A5B548   YVONNE              THOMPSON              NM     90011005380
92885545A91826   MISTY               RAGSTALE              OK     90004945450
92886152A72B62   BIANCA              TAFOYA                CO     33069861520
92886271272B56   JOE                 BREWER                CO     90014472712
9288671678B149   MONTE               DICKERSON             UT     31018417167
9288712914B554   SHANAN              RODGERS               OK     90003251291
9288737A391599   GARCIA              ELIZABETH             TX     90010903703
9288773718B175   JESSE               JENSEN                UT     90015007371
92888268472B22   CLEMENTE            GONSALEZ              CO     33073222684
9288843A772B42   ANGELIC             DELEON                CO     90012904307
9288849628B149   ERIKA               RODARTE               UT     90014524962
92888A4798B18B   IDALIA              ORBE                  UT     90012940479
92888A48997123   MELISSA             M BRYSON              OR     90004680489
92888A66891599   DANIELLA            REYES                 TX     90010780668
9288936A772B22   KALA                SMITH                 CO     90012763607
9288958874B554   JAE-B               BRANHAM               OK     90014865887
928896A3831448   ADEM                DIZDAREVIC            MO     90004936038
9288974234B554   RITA                AUGILERA              OK     90000917423
9288989A37B444   RAHEIM              MURRAY                NC     90014848903
928898A394B949   OSCAR               PETE                  TX     90014748039
92889987972B56   JOSE                LARA                  CO     33090979879
9288B5A8272B62   DAVID               DENNIS                CO     33019715082
9288B64A28436B   JACKIE              ROPER                 SC     19013306402
9288B6A9A72B3B   DELIA               MARQUEZ               CO     33063296090
9288B866981635   TAWNIA              LAFFERTY              MO     29003918669
9288B8AA972B56   CYNTHIA             TRUJILLO              CO     90011828009
92891116A91521   FRANSISCO GERARDO   TORRES                TX     90013901160
9289139282B256   ELSY                RUBIO                 DC     90007353928
928919A9161979   GERARDO             PARRILLA              CA     90011809091
92892836172B62   ROBERT              YORK III              CO     33060468361
92892A67693755   SHANNON             MASON                 OH     90003040676
92892A9638B149   LAVINIA             NIUTEI                UT     90001340963
9289322913164B   LORI                STERNER               KS     22072942291
92893278A7B444   JOSE                SERATE                NC     90013782780
9289328A372B56   MIGUEL              OROZCO                CO     90004512803
92893955172B22   SABINA              PINEDA                CO     90008569551
92894511672B3B   DANIEL              KING                  CO     90012625116
9289464A872B56   MARY                GLORIA MEDINA         CO     90009506408
9289497685B548   CELIA               PACHECO-SANCHEZ       NM     90013209768
9289522A831476   ELMINA              LBRICIC               MO     90007892208
92895625272B62   SAMUEL              SWAIN                 CO     90009656252
9289563174B554   CORY                TRUBY                 OK     90008406317
92895762172B3B   ERIC                AGUIRRE               CO     90013237621
92895836772B22   SAMANTHA            JONES                 CO     90011428367
9289596525B531   ASHLEY              SILVA                 NM     35080329652
928964A1141296   RAYMOND             JORDAN                PA     90013554011
9289762498B149   DICKSON             CHARLA ANN            UT     90004126249
928976A8A61977   HEAVEN              CARTER                CA     46050056080
9289786A491599   GERMAN              SANCHEZ               TX     90001758604
92898241A77537   MICHELLE            REEDY                 NV     90009592410
9289828774B588   KALEB               VIOLETTE              OK     90014632877
92899721A8B149   KREG                WEIGHT                UT     90013987210
9289B73798B175   DONALD              DARLING               UT     90015007379
9289B815991599   CYNTHIA             ALVARADO              TX     90012168159
9289BA89872B3B   FELICITY            LARIMER               CO     33057320898
928B1174172B62   MARIA               TORREZ                CO     33081631741
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1616 of 2350


928B1344977537   MARTHA          HERNANDEZ                 NV     43018083449
928B147242B27B   RUBEN           LOPEZ                     DC     90011254724
928B1599772B49   MARISOL         ORDAZ                     CO     90012605997
928B1958477537   GARRETT         YORK                      NV     90012459584
928B2313851334   DWAYNE          NUTICK                    OH     66090713138
928B2414855951   LEONARD         BARGAS                    CA     90013974148
928B2549481634   DIANA           RODRIGUEZ                 MO     29091195494
928B2A4414B588   TALESHA         HOWARD                    OK     90014630441
928B3659291579   LUCERNA         BARRERA                   TX     90009346592
928B3682172B62   JOSEPH          CORSENTINO                CO     33009066821
928B3717A91521   VICTORIA L      CASTRO                    TX     90010267170
928B373A891882   WILLIAM         ETHRIDGE                  OK     21064557308
928B3AA2A81634   LENORA DENISE   SHIELDS                   KS     90012120020
928B4164A5B383   HOLLY           PHILLIS                   OR     90012911640
928B4493681634   TYWONE          SULLIVAN                  KS     90003704936
928B4783597123   MARIAH          FOLKERTS                  OR     90009807835
928B5154581634   CHREE           CALDWELL                  MO     29064351545
928B5329872B51   TAMMY           WARD                      CO     90011973298
928B534814B554   KRISTIN         LEE                       OK     21597733481
928B5A82555957   TAWNIE          BARNES                    CA     90009740825
928B611173B385   ELAINE          HEHERRERA                 CO     90010771117
928B6139A32582   NIYOKWIZRA      ESTHER                    TX     90015411390
928B659A581637   BRIANA          PIERCEY                   MO     29064865905
928B6924A2B982   LORI            KUHL                      CA     90002479240
928B7139A7B444   ERIKA           ORTEGA                    NC     90005221390
928B72A3572B42   ERICKA          CASAREZ                   CO     90013992035
928B775AA97123   LORI            JENNE                     OR     44071617500
928B782335B383   BILLY           CLOTHIER                  OR     90010058233
928B821318B149   KRISTIN         GARDNER                   UT     31045362131
928B8554A51334   STEPHANIE       HYDE                      OH     66026915540
928B8798391526   SUSANA          FRANCO                    TX     90007617983
928B8812A7B444   ELLEN           PIMBLE                    NC     11065228120
928B8A32872B32   GHEITH          SASI                      CO     90012530328
928B9163191599   MELISSA         TARANGO                   TX     90010581631
928B9637872B32   AMOS            DEHERRERA                 CO     90014696378
928BB783172B42   JUAN            VAZQUEZ                   CO     90003207831
929112A5961979   JOSE            MILANEZ                   CA     90001032059
92911851172B32   SUSAN           LONG MONTGOMERY           CO     33095138511
9291234984B588   IDELLA          SPEARMON                  OK     90014633498
9291256A777537   MARIA LUISA     RUIZ                      NV     90008765607
92912611A8B841   FRANKY          TALLEY                    HI     90014646110
9291296438B175   GASPAR          MAGANA                    UT     90013879643
9291358145B548   PORFIRIO        MARIN                     NM     35090165814
92913849A61977   JEREMY          HOLSTEIN                  CA     46081458490
9291391258436B   TIFFANY         NELSON                    SC     90014599125
9291458A83164B   MARILYN         TERRELL                   KS     90011235808
92914757572B42   URIEL           VICENTE                   CO     90012897575
9291492344B554   BRENT           ALLEN                     OK     90015289234
9291494AA91599   NUBIA           ACOSTA                    TX     90001089400
9291538344B588   LONNIE          NELSON                    OK     90014633834
929161A4572B4B   ANA             BANUELOS                  CO     33091011045
92916291A5B383   DANNY           GOFF                      OR     90013672910
9291656273B391   SHARON          PARKHILL                  CO     90007695627
929167A4572B42   GLORIA          MOSES                     CO     33049817045
92916AA2972B32   ANA             BECERRIL                  CO     33084960029
9291762518B149   REBECCA         BEESLEY                   UT     31034106251
92917728272B32   FELECIA         JARAMILLO                 CO     90006697282
92917849A61977   JEREMY          HOLSTEIN                  CA     46081458490
92917973972B3B   KENNETH         THORNE                    CO     90008719739
9291799534B588   TOMMY           MYERS                     OK     90007759953
92918164A5B383   HOLLY           PHILLIS                   OR     90012911640
9291848762B27B   LUCRICIA        PORTER                    DC     90005054876
9291893563B394   PRESTON         THOMAS                    CO     90005699356
92919175672B62   MARLYNN         ROCHA-VASQUEZ             CO     33034501756
92919445997B59   AMANDA          QUINONEZ                  CO     90004024459
9291952282B27B   KENNETTA        HICKSON                   DC     90012015228
9291979675B531   CRUZ            RODRIGUES-RAMIREZ         NM     90013887967
9291986A85B383   STEFANIE        LOZANO-GUZMAN             OR     90013978608
92919971872B3B   SARAH           LEATHERMAN                CO     90008139718
9291B22A45B548   MAURICIO        REZA                      NM     35016622204
9291B33944B588   SHAMILA         JOHNSON                   OK     90014633394
9291B491481635   ALLEN           JOHNSON                   MO     90013414914
9291B635A51334   JENNIFER        FRAZIER                   OH     90002536350
9292157194B949   IRISH           FUGETT                    TX     76538585719
92921A58781634   JACOB           ERNST                     KS     90015110587
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1617 of 2350


92922677372B22   VALENTINA     QUINTANA                    CO     90006826773
9292333914B554   CINAMON       SEXTON                      OK     90012213391
9292432787B444   SHEILA        JONES                       NC     90013013278
929244A344B949   K LYN         LEWIN                       TX     90010554034
92924751972B32   SAMUEL        AGUILAR                     CO     33095437519
92926226172B42   CHRISTINE     CREASON                     CO     33031682261
9292635882B254   DARNICE       JOHNSON                     DC     90011423588
92926835172B62   SABRINA       DURAN                       CO     90010818351
92927345572B32   PRISCILLA A   HALL                        CO     90015293455
9292737138436B   CRISTINA      MYERS                       SC     90009823713
92927493172B62   RIENE         CANDELARIA                  CO     90002034931
929279A8A97123   MARIA         TALAVERA                    OR     90014749080
9292828437B444   TROY          IVAN                        NC     90011122843
92928791972B32   ANNA          BONAFEDE                    CO     90014727919
92928A47555957   SARAH         VILLICANO                   CA     49065250475
9292944644B588   MONICA        GRASS                       OK     90011714464
92929A6625B531   TAYLOR        WADE                        NM     90007880662
9292B461991521   MARIA         CHAVIRA                     TX     90000234619
9292B633872B51   MARCO         ESQUIVEL                    CO     90011656338
9292B781651334   CINDY         DAVENPORT                   OH     66073667816
9292B78418436B   TALISHA       EVANS                       SC     90008577841
9292B881697123   KENNETH       WILSON                      OR     90014748816
9293126594B588   DELILAH       GOUGE                       OK     90009792659
9293142318B175   EZEQUIEL      CRUZ                        UT     90013294231
92931686672B22   GEORGE        MULINDE                     CO     33076936866
92931936372B42   MELDA         MCGOWAN                     CO     90012889363
92932192672B56   ULBALDO       RESENDIZ                    CO     33084091926
92932556572B3B   ED            KERFORD                     CO     90006795565
929327A9972B51   JASON         SCHLEDER                    CO     90006407099
929331A1291521   KENNY         CALDERA                     TX     90007451012
92933355372B56   ALAN          MCCARTER                    CO     90014663553
92933533697B59   CORY          REED                        CO     90013755336
92933A8214B949   NATASHA       BISHOP                      TX     76538760821
929344A2691399   JOHN          SANTORA                     KS     29037174026
92935362172B3B   LECRESHA      WARE                        CO     90013263621
92936167372B56   KENDRIC       AMUELS                      CO     90014891673
92936371772B22   CASTULO       TREJO                       CO     90012763717
9293644A372B3B   OLGA          ESPINOZA                    CO     33077264403
9293669A65B383   SALVADOR      MARTINEZ                    OR     44559856906
9293686258594B   ROBERT        STROH                       KY     90012598625
92936A64972B42   LUZ           DAHERTY                     CO     90012890649
92937718A72B51   PONCH         MASON                       CO     90013097180
92937A4773164B   CATHA         DEMPSEY                     KS     90013360477
92938A11372B3B   KB            TOWING                      CO     90015030113
9293944A172B42   CESAR         ARAGON                      CO     33096184401
9293955A393769   RONALD        KINCER                      OH     90009025503
92939A45697B59   WILLY         JOHNSON                     CO     39041300456
9293B26594B588   DELILAH       GOUGE                       OK     90009792659
9293B379A81651   CALLIE        HUCKAVEY                    MO     29016963790
9293B425255957   FILOGONIO     GARCIA                      CA     90009194252
9293B566455951   REGINA        YBARRA                      CA     49002435664
9294168A936B6B   LOGAN         RHODELHAMEL                 OR     90011776809
92941796372B3B   ANTHONY       DIVES                       CO     90011857963
9294197844B554   ASHLEY        RYE                         OK     90010719784
92941A2315B383   LYNN          WILKINSON                   OR     44509050231
92942834A72B56   VIRGINIA      CARDOZA                     CO     33097928340
929428A9872B22   CLEMENTE      GONZALEZ                    CO     90001228098
9294299A424B22   KRISTEE       BOSWELL                     MD     90015349904
92942A92991579   ALEN          POSTE                       TX     75042980929
92944327A91951   TORI          BARRETT                     NC     17027373270
92944918172B62   LIDIA         DESNACHEZ                   CO     33073429181
92944A46672B3B   FRANCISCO     PEREZ                       CO     90002190466
92944A77272B51   MARY          STRAUB                      CO     90014390772
92944A77597B59   ANTHONY       TRUJILLO                    CO     90008250775
92945671397B59   RALPH         SMITH                       CO     90009116713
9294573165B531   JOAN          GRIEGO                      NM     35007487316
92945771272B42   ISAIAH        TRUJILLO                    CO     90013487712
9294619813164B   SANDRA        HERNANDEZ                   KS     90005011981
9294628417B349   ROBERT        SLATTERY                    VA     81012492841
92946613A7B444   RONALD        HALL                        NC     90009556130
92946984272B51   BEATRIZ       LOPEZ                       CO     90003609842
92946A24355957   TRINI         GARCIA                      CA     49057200243
92946A59177537   CHRIS         HENION                      NV     43086980591
9294715782B27B   KENNETH       DIGGS                       DC     90012321578
9294741774B949   TONYA         ADAMS                       TX     90014764177
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1618 of 2350


92947688A2B982   EARL         RILEY                        CA     90011766880
92947923A72B51   JARED        YOUNG                        CO     90014849230
92947976A4B949   LORENZO      CHAPA                        TX     90010779760
9294841774B949   TONYA        ADAMS                        TX     90014764177
92948669872B51   SUSIE        BEGAYE                       CO     90004236698
92948742497B59   ANDREW       LEWIS                        CO     90014557424
92949151272B51   ATTA         WONGO                        CO     33083581512
9294925A95B548   MARIO        VILLANUEVA                   NM     90006182509
9294932362B27B   DENEA        BARTON                       DC     90014323236
9294B4A6997B59   ANDREW       CRIMANDO                     CO     39066514069
9294B627481648   BLAIR        NOLKER                       MO     90009076274
9294B81355B531   FRANK        AUSTIN                       NM     90013888135
92951729172B62   NATALEE      RODRRIGUEZ                   CO     90012477291
9295194754B554   JUAN         MASCORO                      OK     90007799475
92951A76771945   FIDEL        MANZO-MANZO                  CO     90013620767
9295217A472B3B   DEBBIE       ZIMBELMAN                    CO     33016221704
92952295A5B383   ROBIN        TENDRESSE                    OR     44593172950
9295235528B149   BRANDY       CHILDS                       UT     31003103552
92952819676B83   NICASIO      TORAL MORALES                CA     90007048196
92952A82581672   AUDREY       WILLIAMS                     MO     90014570825
9295335A62B27B   LESHAWN      DAVIS                        DC     90014603506
92953924572B42   VICKY        GOMEZ                        CO     33009019245
92953959772B56   JULIA        ROSA SARINANA                CO     33089619597
92953A3873164B   RONTAYSHA    COX                          KS     90015280387
92954912A97B59   HEIDI        GAUNA                        CO     90002529120
929551A2872B51   TANYA        DEL VALLE                    CO     33038671028
9295611997B449   WILLIS       RYAN                         NC     90002931199
92956552572B32   ANGELO       SANJOVAL                     CO     33086435525
92956928672B22   CHARISSA     BAULDWIN                     CO     33094719286
9295772813164B   LASHEL       COLBERT                      KS     22089137281
92957A76777537   NANCY        MONTEZ                       NV     90007920767
92957A93691399   ISAK         CARILLO                      KS     90010010936
929589A2597B59   KHAI         TLAI                         CO     90013609025
92959224772B32   SANDRA       MARTINEZ                     CO     90007912247
9295928572B235   VELANCIA     IBRAHIM                      DC     81050572857
9295B129891521   PEREZ        LEONARDO                     TX     90010591298
9295B19898B175   JOANNE       LASHER                       UT     90011211989
9295B269597123   TERRY E      NICHOLS                      OR     90004732695
9295B281661979   FREEMAN      LIBAN                        CA     90013132816
9295B38A872B32   JARED        LEMONS                       CO     90015143808
9295B736672B3B   CHRISTINE    SANDERS                      CO     33069317366
9295B964797123   MIGUEL       ZARAGOSA                     OR     90014619647
9295BA61361977   SAID         AGUILAR                      CA     46012360613
9296111A372B51   JOSE         LEYVA                        CO     33040251103
92961333A72B56   CHRIS        OZOR                         CO     90014913330
92961A53455957   GILBERT      GARCIA                       CA     90011900534
9296218574B949   TIERRA       HENRY                        TX     90014771857
9296239534B554   KRISTEN      JAROSZEWICZ                  OK     90009953953
9296258163164B   JOSEPHINE    WAGNER                       KS     90015185816
92962824872B32   JERRY        GONZALES                     CO     33045628248
92963593497B59   JUAN         MARTEL                       CO     90006535934
9296383144B588   MARCELLA     TERRELL                      OK     90014638314
92963A6888B149   VIRGINIA     CABRERA                      UT     90007910688
92966479272B62   CATHY        MARQUEZ                      CO     33063394792
92966533972B56   ANTHONY      HELM                         CO     90013005339
92966656397B59   STEVEN       LOPEZ                        CO     90007936563
9296669614B554   JESIKA       ANDRADE                      OK     21592696961
9296676868B833   DIANA        SAMUEL                       HI     90014737686
929668A1A7B444   PABLO        ESCOBAR                      NC     90012428010
9296718735B531   MARY         TRUJILLO                     NM     35012931873
92967273753B2B   MIGUEL       GONZALEZ                     CA     90010132737
9296763578B149   ASHLEY       NEWMAN                       UT     31004906357
9296764878B175   ANTONIO      LLOYD                        UT     31021766487
9296819A597123   VALENCIA     JESUS                        OR     90010951905
9296871158B149   MARJORIE     HENDRICKS                    UT     31025247115
9296912554B949   CANDACE      SPENCER                      TX     90014031255
929691A3543584   DANIEL       PROVENCIO                    UT     31094871035
9296993613B366   MICAH        MATTHEWS                     CO     90013659361
9296B17654B949   JESSICA      VARELA                       TX     90014771765
9296B18438436B   GALDINO      LEON                         SC     19072261843
9296B25734B588   JULY         YANES                        OK     21561602573
9296B4A4972B56   ADAM         RICHARDSON                   CO     90003164049
9296B774A5714B   ERWIN        CRAIG                        VA     90008937740
9296B929681635   NICOLE       DUENSING                     MO     90005699296
92971349972B42   CHERYL       KELLY                        CO     90012213499
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1619 of 2350


9297139A493755   SHANE         STURGILL                    OH     90013673904
92971686672B3B   GEORGE        MULINDE                     CO     33076936866
9297184A251334   EMILY         REIDY                       OH     90006588402
92972412172B3B   JAMES         GREER                       CO     90013014121
92972465172B56   SANTOS        EDITH-GALLEGOS              CO     33067934651
92972673472B3B   MARK          MARTINDALE                  CO     90010136734
92972881A4B588   SARA          CALDWELL                    OK     90014638810
929737A7141296   CHARLISSA     DINCO                       PA     90012787071
929742A5172B51   KATHLEEN      ARMENTA                     CO     33009042051
9297486A261977   JOSHUA        MCGUIRE                     CA     90012068602
92976518972B3B   GUILLERMO     MENDOZA                     CO     90010435189
929765A8491599   ELIGIO        DE ELON                     TX     90013415084
9297661937B444   RAFAEL        NUNEZ                       NC     90014046193
9297672487B449   BRITTANY      DOBIE                       NC     11059537248
92976894597B59   NOEMI         RIVERA                      CO     90014408945
92976952972B42   GERALD        KENNEDY                     CO     90014039529
92976A9538B175   JASON         DAVENPORT                   UT     31069380953
929771A832B982   MIKE          JONES                       CA     90012071083
929773A355B383   DELONDA       CANTON                      OR     90013673035
92977582572B51   CASAUNDRA     TRAMMELL                    CO     90010395825
92977697772B56   DIANA         QUINTERO                    CO     90003826977
9297779A561977   SHAMIYA       PAGGETT                     CA     90012727905
9297791353B331   DESIREE       CHISM                       CO     33062009135
92978533A3164B   ELIZABETH     RYBERG                      KS     90007415330
92978696197B59   YADIRA        CHICO                       CO     90003026961
92978A4375B548   JOVITA        SANCHEZ                     NM     90010220437
92979144A91547   GUADALUPE     LEWIS                       TX     90011721440
9297949285B383   RAUL          ORTEGA                      OR     44585954928
9297958A25B531   TERRY         YENACCI                     NM     90010975802
9297966293B385   JORGE         CACERES                     CO     90011416629
9297968155593B   JAMIE         JOHNSON                     CA     90005216815
92979917172B3B   KATIE         PERRY                       CO     90000669171
9297B567261971   CLAUDIA       VALDES                      CA     90009895672
9297B636472B22   QUINIATA      NEAL                        CO     90011176364
9297B843691521   FERNANDO      MORALES                     TX     90003478436
9297B884855957   VERO          ORTEGA-FLORES               CA     49079368848
9297B99427B444   MARCO         MENDEZ                      NC     90013839942
9297BA47172B62   GENOVEVA      MENDEZ                      CO     33064260471
92981476A41296   KRISTY        SHEARER                     PA     90000174760
9298167695B548   KRISTINA      LEA                         NM     90007596769
9298195A84B588   LORI          ELLITT                      OK     90014639508
92982291572B62   MICHELLE      CAUDILLO                    CO     90014622915
92982692A55951   SARA          LYNN LEE                    CA     49094616920
92982A43772B32   MEDRANO       VERONICA                    CO     33016360437
92984668A72B62   JAMES         HOWELL                      CO     90012596680
9298479425B548   LATISHA       EDENS                       NM     35081557942
92985248472B62   DELPHINE      MARTINEZ                    CO     33060182484
929854AA872B22   MARK          JAIME                       CO     33096634008
9298641713164B   MARIBEL       IBARRA                      KS     90012714171
92986461872B56   ASHLEY        LOVATO                      CO     90011224618
9298647568B175   JUAN          GARCIA                      UT     31092254756
92986815A72B62   JORGE         BANUELOS                    CO     90010648150
9298695535B531   NICHOLAS      GALLEGOS                    NM     90010439553
9298723174B971   ATANASIO      RAMIREZ                     TX     76567732317
92987341472B3B   KORY          SANCHEZ                     CO     90013103414
9298765544B588   MITSY         PRADO                       OK     90014666554
92987685A2B982   MARIA         AGUIRE                      CA     90008036850
92987A42597B59   NANCY         LEOS                        CO     39003900425
92988654972B22   ALECE         MONTEZ-GRIEGO               CO     90014836549
9298875255B241   KATE          ELLIOTT                     KY     90009687525
929889A2741296   LAURIE        CARNAHAN                    PA     51000179027
9298991A29376B   JANET         WISE                        OH     64516579102
92989A3518436B   CHRISTOPHER   SMALLS                      SC     90006460351
9298B555141296   JASON         GRAY                        PA     51091965551
929911A7781648   DAVID         BLY                         MO     90012521077
92991367772B56   MARIA         SCHMEDA                     CO     33083923677
929914A955B531   VICTOR        AGUILAR                     NM     90009634095
929916A1272B51   PAUL          BAIRD                       CO     33093076012
929918AA181634   SHAWN         BARNETT                     MO     90011488001
92992299172B3B   ELIZABETH     GALINDO                     CO     90005052991
92992867572B51   CASTAWAY      LILLIAN                     CO     33043098675
92992885472B56   TODD          ALAN HARRIS                 CO     90007228854
929928A998B125   ANGELO        GARCIA                      UT     90004388099
92992A8217B444   CECILIA       HERNANDEZ                   NC     11068000821
929932A2351325   TONNA         ROWLAND                     OH     66004762023
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1620 of 2350


92993399A93755   AUDRA        STREHLE                      OH     90012313990
92993499497B59   PAUL         MAGRUM                       CO     39025734994
92994114A81635   JULIANA      LUPERCIO                     MO     90012941140
92994439A4B949   PAYGO        IVR ACTIVATION               TX     90012564390
92994794672B22   THOMAS       DOYLE                        CO     90008607946
92994A45472B51   TYLER        MOORE                        CO     90013420454
9299519898B175   JOANNE       LASHER                       UT     90011211989
92995362872B32   CARMEN       LAWRANCE                     CO     90013833628
92995569472B22   STEFFI       LEE                          CO     90013815694
9299587715B548   MOLLY        CDEBACA                      NM     35041618771
92995A6A67B449   BETSY        TYLER                        NC     11094280606
9299633624B949   CHASSIDY     WOLFORD                      TX     90014823362
92996436297B59   KRISTI       MAY                          CO     39099024362
92996544A4B949   MICHAEL      GUILLORY                     TX     90014775440
92996899272B32   CAROLY       TOUGAW                       CO     90005238992
92996A1357B632   ANGELA       WILSON                       GA     90012310135
9299823858B175   ROBERT       JOHNSON                      UT     90006382385
92998328A72B62   ANGELA       CORTEZ                       CO     90011163280
92998546A4B949   TERRYONA     HENRY                        TX     90014775460
929989A934B554   CHARLES      FOREMAN                      OK     90015169093
9299913AA93755   JORGE        MATA                         OH     64513561300
92999682A72B3B   LEANER       ARMIJO                       CO     90012456820
9299977724B588   NATASHA      BROADOUS                     OK     90008857772
929997A622B982   CASEY        MILLER                       CA     90005007062
9299992A472B62   ALEJANDRO    LIMONES                      CO     90010659204
9299B26838B149   TOBY         SUKOSKY                      UT     31030832683
9299B283997123   LAURIS       CURRIER                      OR     90014752839
9299B3A875B383   LEEANN       WRAY                         OR     90007053087
9299B438A97B59   CARLOS       AGUIRRE                      CO     39007304380
9299B481355957   ANGELIQUE    LUNA                         CA     90012094813
9299B638443584   KENNETH      HAMILTON                     UT     31000296384
9299BA44851328   JANET        GUESS                        OH     66026080448
929B118588B175   SKLYLER      CHIDESTER                    UT     90011711858
929B125253B342   GAIL         MCKINNEY                     CO     33060572525
929B1754572B42   LISA         ROMERO                       CO     90012897545
929B178884B588   TANI         WALL                         OK     90006997888
929B1891272B62   SPENCER      BARRETT                      CO     33067198912
929B2355961977   MARCO        AVILA                        CA     46003913559
929B2769797B59   TIM          HARRIS                       CO     90012747697
929B298565B383   JANET        GANDY                        OR     90012219856
929B3361577537   BRIAN        YORK                         NV     90015143615
929B355317B444   JULIA        ALVAREZ                      NC     90000515531
929B3771355957   MANAT        SOUKNARONG                   CA     90011297713
929B3974551334   TIFFANY      GEORGE-WHITE                 OH     66032749745
929B3AAA381634   MELVIN       SOSA                         MO     90011030003
929B429234B949   CLASSIE      LEWIS                        TX     90014752923
929B4472A8B149   SHANNON      ROSENBAUM                    UT     31012364720
929B4578872B51   MARGARITO    GONZALEZ                     CO     33044925788
929B4673651334   VIRGINIA     KEMPLIN                      OH     90006356736
929B473255B383   FELICIA      JOHNSON                      OR     90009157325
929B4844155951   PAMALA       SMITH                        CA     90013628441
929B498A181637   GERMON       SMITH                        MO     29005889801
929B4A57371936   DEBORAH      ENMAN                        CO     90002320573
929B4A95593755   NATTA        MATTHEWS                     OH     64533050955
929B5648391951   GREG         CANNADY                      NC     90001106483
929B5662772B51   KODI         JUMPER                       CO     90004236627
929B5782181637   SHERRON      HUBBARD                      MO     29010687821
929B6321651334   MARSHEAL     SMITH                        OH     90013783216
929B6341A4B949   VIRGINIA     PRICE                        TX     90014753410
929B6395555957   VENANCIO     FLORES                       CA     90011903955
929B6588277537   GERALD       GONZALEZ                     NV     90014155882
929B683325B531   GERALD       MONTOYA                      NM     35053258332
929B6877197123   CINDY        NETHERDA                     OR     90014748771
929B728A161979   DANIEL       BISHOP                       CA     90002742801
929B734124B949   DAVID        TURNER                       TX     90014753412
929B734698B149   ROY          MILLER                       UT     90015303469
929B744568B149   JENNIFER     WILSON                       UT     90015324456
929B759AA93769   JAMEKA       DAVIDSON                     OH     90007065900
929B7946691951   ERIKA        CAROLINA LOPEZ               NC     17015529466
929B9233455957   STACEY       HILLENBRAND                  CA     90012802334
929B933944B588   SHAMILA      JOHNSON                      OK     90014633394
929BB357272B56   DENISE       PRUITT                       CO     90002943572
929BB8A3672B42   KRISTINA     BUNCH                        CO     33077638036
92B1181A972B22   MARIA        LECHUGA                      CO     33041308109
92B1189588B175   SHAUN        DUSTIN                       UT     31063288958
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1621 of 2350


92B11A3A97B449   SONJA        HOLLAND                      NC     90005470309
92B11A5814B949   RAY          WILSON                       TX     90010710581
92B1211715B531   RAQUEL       VILLA                        NM     90004881171
92B122A4472B56   OMAR         VALENCIA                     CO     90014882044
92B1279962B27B   CARLOS       WATKINS                      DC     90012977996
92B1317128436B   JEFFREY      HERRINGTON                   SC     90012141712
92B13255761977   HILDA        MARTINEZ                     CA     46023232557
92B13357791599   GRACIE       YTUARTE                      TX     75042923577
92B13493497123   MATHEW       STREU                        OR     90009924934
92B13878141296   SUSAN E      GIVNER                       PA     90011198781
92B1412A43B392   CODY         MANNON                       CO     90006461204
92B14283733698   ELDA         CHAPAN                       NC     90014102837
92B147AA772B32   DEBRA        TANNER                       CO     33085997007
92B14921191521   SERGIO       CARRILLO                     TX     90012779211
92B14A3A181635   MATTHEW      WOODENS                      MO     90009780301
92B15176872B51   LUIS E       CHULIN                       CO     33084061768
92B16146591951   CONSTANCE    MARTIN                       NC     90013481465
92B162A7472B56   ERICA        ZUMAYA                       CO     90014882074
92B16571443584   CHRISTINA    WHITE                        UT     31086975714
92B1659558B175   NINFA        PRICE                        UT     90009185955
92B1664A297123   VERONICA     RAMIREZ                      OR     90014646402
92B16669181635   CYNTHIA      CRAWFORD                     KS     29001526691
92B16814397B59   KG           STEVENS                      CO     90012058143
92B16A87191951   WALTER       MOORE                        NC     90011500871
92B17276A81634   RACHELL      SISSON                       MO     29048642760
92B17528293755   BAIDAA       IBRAHIM                      OH     90013315282
92B1757A577537   MONTANO      LEMCY                        NV     90007895705
92B1762A77B444   PATRICIA     DAVIS                        NC     11058026207
92B178A2172B51   TRACI        BENBROOK                     CO     33082488021
92B1831625B531   CHELSEA      NAQUAYOUMA                   NM     90010973162
92B1855AA51334   DON          LYKINS                       OH     66040235500
92B18737672B3B   ANTONIO      MARTINEZ-SAENZ               CO     90010247376
92B18874581634   ANNA         HERNANDEZ                    MO     90013688745
92B192A7472B56   ERICA        ZUMAYA                       CO     90014882074
92B1931577B444   HKIET        ROCHOM                       NC     90015183157
92B19366A72B51   IRNA         BURGESS                      CO     90000193660
92B196A8397B59   DEIDRA       MCCALL                       CO     90007316083
92B19745877537   YENI         MORA IZQUIERDO               NV     90004747458
92B197A1691955   CAROL        POPE                         NC     90011867016
92B19886991592   GARY         APODACA                      TX     90013768869
92B1B252A41296   GERALDINE    BROWN                        PA     51060712520
92B1B37538436B   QUINTEN      CARTER                       SC     90013163753
92B1B5A385714B   CHRISTINA    BERNHARDT                    VA     90000345038
92B21238A72B62   LEONARDO     DEVORA0121                   CO     90012612380
92B21733781634   DRIZZLE      MS                           MO     90006267337
92B21736485689   CHRISTOBAL   ORTIZ                        NJ     85019427364
92B21929A72B32   JORGE        MURGUIA-GOMEZ                CO     90009939290
92B219AA58436B   JENNIFER     LOWRY                        SC     90012389005
92B22365255957   SHANNON      VELASQUEZ                    CA     90006603652
92B2285394B554   GERALD       JOHNSON                      OK     90013568539
92B22A7A272B32   NICKALAS     CALDWELL                     CO     33053100702
92B23175591399   PABLO        MORA                         KS     29069661755
92B23461A61977   FERNANDO     ESQUER                       CA     90009814610
92B23583477537   TAYA         JENKINS                      NV     90013475834
92B23676651334   CRYSTAL      SAYLOR                       OH     66010336766
92B236A2691951   FELECIA      JORDAN                       NC     17052656026
92B23A2964B949   MASON        FONTENOT                     TX     90015200296
92B24185A4B949   SANDRA       MARTINEZ                     TX     90008241850
92B24645861979   JAVIER       RODRIGUEZ                    CA     90010016458
92B2497927B449   VELESHA      HENDERSON                    NC     90002379792
92B2532228B175   CAMERON      WILSON                       UT     90011473222
92B25356281634   TIMOTHY      JACOBS                       MO     29045903562
92B2539665B531   DARLENE      ARANDA                       NM     35066553966
92B25A5857B444   JONATHAN     MARROQUIN                    NC     90014960585
92B26176A72B3B   ARON-MIER    HERRERA                      CO     33074161760
92B2618834B588   MAGALY       MEDRANO                      OK     90014491883
92B2629394B588   GLENDA       SILIEZAR                     OK     90011842939
92B262A7472B56   ERICA        ZUMAYA                       CO     90014882074
92B26648557126   GEYDI        NOLMOS                       VA     90013556485
92B2678748B149   WRIGHT       KATHERINE                    UT     90008007874
92B272A7472B56   ERICA        ZUMAYA                       CO     90014882074
92B28263A91521   CHRIS        MELINIOTIS                   TX     75029802630
92B2841A95B548   MARGARITA    CANALES                      NM     35059234109
92B2845454B554   CYNTHIA      RACYES                       OK     90008304545
92B2866228B175   JONH         KELVIN                       UT     90010496622
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1622 of 2350


92B28749193755   ANGELA       HURT                         OH     64517727491
92B2879519374B   ASHLEY       LITTLE                       OH     90001057951
92B28851491599   ELIZABETH    CONTRERAS                    TX     90008568514
92B28891841296   LAURA        SALZANO                      PA     90013588918
92B29159A77537   FILIBERTO    SAAVEDRA                     NV     90012921590
92B29286555957   SELENA       HOWARD                       CA     49003582865
92B2952942B982   JAIME        HERNANDEZ                    CA     90007825294
92B29942561979   ZAIRA        TOLENTINO                    CA     90005549425
92B2B23315B383   NANCY        ALONSO                       OR     90013932331
92B2B561661979   AGUSTIN      GONZALEZ                     CA     90010395616
92B2BA16A77537   FABIOLA      ALVAREZ                      NV     90006150160
92B31213172B56   ANGEL        ROSAS CASTRO                 CO     90014882131
92B31429793755   ABRAHAM      MAHDER                       OH     90006164297
92B3235915B392   CHARLES      AXTELL                       OR     44589123591
92B32478672B32   TODD         KINNETT                      CO     90010954786
92B3258755B531   CAMRON       RAEL                         NM     90013965875
92B32897751533   SUZAN        CLARK                        IA     90015188977
92B328A8985689   ANTONIO      TAVARES                      NJ     85019508089
92B33189691521   SAMIA        AFRIN                        TX     90002241896
92B33452172B32   FERNANDO     GALINDO                      CO     33043514521
92B3349285B222   TARALYNE     ROBINSON                     KY     90009274928
92B334A414B554   MARIA        ROBERTS                      OK     90011324041
92B33538972B3B   ANTONIA      SANCHEZ                      CO     90009785389
92B33587A7B444   LEON         PARKER                       NC     11059895870
92B335AAA3164B   JASON        PITMANN                      KS     90015375000
92B3368A64B588   TODD         HOLMES                       OK     90012396806
92B33784A8B149   ROBIN        HAMILTON                     UT     90012427840
92B33799772B62   KURTIS       ADKINSON                     CO     33025387997
92B33844661977   MANUEL       MAGALLON                     CA     90004128446
92B34195485689   JHONNY       MENJIVAR                     NJ     90000401954
92B34292A72B3B   JESUS        CHICO-RAMIREZ                CO     90010672920
92B34458255951   ORLANDO      RAMIREZ                      CA     90013034582
92B34619597B59   ROSE         INGEL                        CO     90002196195
92B3469754B588   MARY         ERVIN                        OK     90005276975
92B34A1347B444   DAVID        PHIFER                       NC     90013780134
92B35192272B32   NYA          ELLIS                        CO     90013831922
92B35274572B42   MARTHA       VALDEZ                       CO     90015182745
92B353A7597B59   JERRY        GROSS                        CO     39081563075
92B3544368B149   GREGORIO     HERNANDEZ                    UT     31068024436
92B35478593769   DANIELLE     MILLER                       OH     64548574785
92B354A5991988   HOCINE       CHERIF                       NC     90013084059
92B35532491951   ANGELA       IRAHETA                      NC     90013965324
92B362A3977537   ALEJANDRA    IBARRA-SANCHEZ               NV     90011412039
92B3646998B149   KATRINA      PULETU                       UT     31043854699
92B36532172B32   KATTY        RAMIREZ                      CO     90012415321
92B36599A2B981   NICOLE       CARTER                       CA     90006005990
92B3681249376B   IRMA         MASON                        OH     90014178124
92B36937455951   MARTIN       HERNANDEZ                    CA     49010279374
92B3759A872B22   MARIA        GARNICA                      CO     90009595908
92B37678A55951   ERNIE        MORENO                       CA     90008046780
92B38294655957   ALEXANDER    GARCIA                       CA     90013412946
92B38622376B88   SERGIO       TORRES                       CA     90006006223
92B38792455951   JACQUESE     JONES                        CA     90010747924
92B393A2272B42   ANTONIO      SANTANA-ROMERO               CO     90011293022
92B39452487B32   KRISTI       LOWE-DAVIS                   AR     90002614524
92B39569955951   DORANCE      BROOM                        CA     49092995699
92B3B321491951   MICHAEL      SMITH                        NC     17011883214
92B3B643A55957   ABEL         MARIN                        CA     90012716430
92B3B8A895B259   MICHELE      BRUCE                        KY     68083948089
92B4159293363B   MARIE        ANDREWS                      NC     90011615929
92B4174264B949   DE'MOND      WILSON                       TX     90015207426
92B41A1492B982   SARA         LIGHTFOOT                    CA     90015200149
92B41A83772B32   DONNA        STOREY                       CO     90010720837
92B42332591882   GAMALIEL     VASQUEZ                      OK     21049413325
92B42517661977   KAILYN       BUCHANAN                     CA     90012955176
92B42582593769   MARCHALLE    ELLISON                      OH     64581905825
92B42614897123   EMILCE       JIMENEZ                      OR     90008396148
92B42691955957   JOE          GUTIERREZ                    CA     49079386919
92B42776591521   ABRAHAM      GARCIA                       TX     90012777765
92B4283278B175   IRIS         VILLEDA                      UT     90014928327
92B4294927B444   ARDITH       TATE                         NC     90015019492
92B4323174B554   TYECHIA      CROWDER                      OK     90014752317
92B4328A591955   MAGALI       OLIVO                        NC     90012252805
92B43956961979   HILDA        TOPETE                       CA     90012069569
92B43A41772B36   JUSTIN       BOUTS                        CO     90012740417
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1623 of 2350


92B43A52391399   RILEY        CHRIS                        KS     90011680523
92B44232572B3B   LOUISA       LOCUST                       CO     90011882325
92B4513A72B982   EDWARD       MENTZ                        CA     90012071307
92B4523768B198   EVA          CARBONA                      UT     90015202376
92B45275591994   NIKKI        WOODS                        NC     90005112755
92B45728943584   EVERILDA     FERGUSON                     UT     90004737289
92B4616998B149   MARTINEZ     AMBER                        UT     90001061699
92B46314372B3B   MELBA        CETINA-CUXIM                 CO     90009623143
92B46963877537   VANESSA      HERNANDEZ                    NV     90011709638
92B47253672B51   ULYSSES      DICKENS                      CO     33061332536
92B4728135599B   GENO         GOMEZ III                    CA     48083212813
92B47429233698   PAUL         CEISWICH                     NC     12016614292
92B474A4191399   DEANNA       MURRAY                       KS     29039984041
92B474A8272B22   ROBERT       BULLARD                      CO     90012754082
92B47568493769   MICHAEL      MANGOLD                      OH     90013355684
92B47A7898436B   TRAVIS       TOOMER                       SC     90014040789
92B4864A597B59   JULIANA      HERL                         CO     90015086405
92B48828443584   SCOTT        BUTLER                       UT     90014928284
92B48A74181634   CARLOS       WARD                         MO     90008300741
92B49216243584   CERRISA      MADDERA                      UT     90015122162
92B49427381637   GEOVANI      MIRANDA                      MO     90013324273
92B49868993755   DIANA        MOORE                        OH     64554628689
92B4B13662B982   ISABEL       GOMEZ                        CA     45003631366
92B4B382172B62   ANTOINE      DILOSA                       CO     33054603821
92B4B4A7772B42   HACI ALI     YILMAZ                       CO     33083754077
92B4B87288B149   ROSEMARY     LIVESEY                      UT     90013468728
92B4B888191599   VANESSA      BENNETT                      TX     90014598881
92B4BA68672B99   DAVID        CRESPIN                      CO     90003060686
92B51122772B51   ALEXANDRA    NEVARES                      CO     90012181227
92B5117625B531   CHARLES      ROMERO                       NM     90007871762
92B51A46497123   LUZ          PALACIOS                     OR     90013940464
92B52235955951   LINCY        HARDING                      CA     90011492359
92B52466391521   MARIA        DEBARRIOS                    TX     90007664663
92B52558691951   ALEX         JASQUEZ                      NC     17058745586
92B5268482B27B   STEPHANIE    SANCHEZ                      DC     90005436848
92B53234372B56   IRA          HULSE                        CO     90014882343
92B5353337B389   ROSDELY      GALARZA                      VA     90013215333
92B53775772B42   MICHEL       KABEYA MPOYI                 CO     33096157757
92B54298372B3B   JOHN         DADE                         CO     33015472983
92B5435445B383   DAMIAN       AKRE                         OR     90010653544
92B5439964B588   MARTINA      AGUINAGA                     OK     90011843996
92B5476992B27B   S            JOHNSON                      DC     90003987699
92B5484A88B175   PAUL         SMITH                        UT     90014928408
92B55464893769   REBECCA      DRUIN                        OH     64594654648
92B55586991882   PATRICIA     WALKER                       OK     21009695869
92B5563318B138   JENNA        GUMBRECHT                    UT     90009716331
92B55766593755   JEFF         SNIDER                       OH     64528357665
92B55851A3162B   BRYAN        CLARK                        KS     22009338510
92B55A63797B59   WENONAH      LATHAM                       CO     90013840637
92B55A66893769   GERALD       DRUIN                        OH     90014960668
92B5663575B383   DEANNA       SMITH                        OR     90013066357
92B56811372B22   RUBY         COTA                         CO     90001858113
92B56913972B42   ELIAS        TEDLA                        CO     33040149139
92B576A2A8B175   ROSARIO      LOPEZ                        UT     31015526020
92B57A3755B531   ANGELA       ZAFFER                       NM     35005080375
92B57A9823B348   MICHELLE     HARRISON                     CO     90001910982
92B5849964B588   MARTIN       ACEVEDO                      OK     90013674996
92B58589251334   ALFRETA      BREWER                       OH     90013305892
92B58A3A68B149   SCOTT        MCMILLAN                     UT     90015090306
92B59666141296   BRITTANY     GREEN                        PA     90010206661
92B59738451334   STACEY       ROPER                        OH     90009687384
92B5995674B554   JAIME        MELENDEZ                     OK     90012149567
92B5B38882B26B   MICHAEL      FISHER                       DC     90001553888
92B5B759272B42   ISMAEL       DIAZ                         CO     33016357592
92B5B77718B175   AMY          BOWERS                       UT     31035467771
92B61158972B56   MICHAEL      GONZALES                     CO     90012781589
92B61345181634   AMIE         WIELAND                      MO     90002713451
92B61818191599   ERCILIA      VILLANUEVA                   TX     75029458181
92B62491872B3B   LOUIS        THALLEY                      CO     90014024918
92B62919161979   GREG         REES                         CA     90000569191
92B62A6884B554   JOHN         NEAL                         OK     90012940688
92B632A9733698   REGINALD     ROGERS                       NC     90009392097
92B6335655B531   ALEXANDER    CORTEZ                       NM     90010283565
92B6357394B588   ROBERTSON    ANTHONY E JR                 OK     90014495739
92B63632972B32   ISAAC        SALVADOR                     CO     90014696329
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1624 of 2350


92B63681591599   CENOBIO GUILLERMO   DUARTE                TX     90013296815
92B63A56172B42   TINA                RULE                  CO     90013370561
92B6438962B27B   ADRIAN              STEPHENSON            DC     90014673896
92B6446834B949   CHARLES             THOMAS                TX     90002484683
92B64978393755   SALAH               ABD ELJABBAR          OH     90012529783
92B64A27891599   ROSALVA             FERNANDEZ             TX     90013170278
92B64A38977537   JULICE              AIL                   NV     90013260389
92B65524472B51   LARRY               MONTOYA               CO     33034995244
92B656A1A33698   CLARISA             GONZALEZ              NC     90013846010
92B6573884B554   ADAM                KEEPPER               OK     90011067388
92B6658A54B588   SIDNEY              MCCARY                OK     90014495805
92B6686545B383   CHANTE              MILES                 OR     90012848654
92B66A16361977   JHONATAN            LOPEZ                 CA     90012440163
92B66A6A397123   ALOMA               ALOMA                 OR     90013940603
92B6719914B554   MARTHA              PARDO                 OK     90012961991
92B67899455957   ROSIE               VERDUZCO              CA     90014428994
92B67983772B22   BOWEN               JOSH                  CO     90007189837
92B6884A791951   KIMBERLY            EVANS                 NC     90010948407
92B688A2572B42   MARICRUZ            JUAREZ                CO     90012878025
92B68A13555957   DELIA               VERDUZCO              CA     90010230135
92B68A81872B3B   ASHLEY              MARES                 CO     90013890818
92B68AA4933698   MIRIAM              WILSON                NC     90004070049
92B69969A61979   ROCIO               ALMENDAREZ            CA     90000569690
92B6B12985B531   DAVID               CHAVEZ                NM     90013841298
92B6B44345B383   ALFRED              SIMS                  OR     90014294434
92B6B819443584   KAITRIN             MATTHEWS              UT     90013638194
92B6B841451334   RACHEL              CARTER                OH     90015158414
92B6B94A297B59   TIFFANY             BRECKENRIDGE          CO     39090749402
92B71372741284   PAUL                DELGRANDE             PA     90007473727
92B71397A43584   SHELYY              SOLANO                UT     90012303970
92B71499691521   NASH                MEDINA                TX     90013344996
92B7191814B554   DENITRA             ELLIS                 OK     21506099181
92B71932A72B51   CARLO               TWOFEATHERS           CO     90012629320
92B72175255951   SALVADOR            VILLAREAL             CA     90014901752
92B7226625B383   RAFAEL              ABARCA                OR     90006862662
92B7242832B27B   MARCELUS            BROOKS                DC     90010534283
92B72453A61979   MARTHA              MORENO                CA     90011724530
92B7252A47B444   RICHARD             ROSADO                NC     11063995204
92B7263913B38B   STEPHEN             JOHNSTON              CO     33078146391
92B727A9377537   ALLISON             KNOTT                 NV     90015127093
92B7387867B449   CHIANTI             DAVIS                 NC     11079038786
92B73915577537   JACQUELINE          KINGSLEY              NV     43009219155
92B74167772B32   DWANEIKA            PATTON                CO     90009281677
92B7436A197B59   JOSE                MARTINEZ-OROZCO       CO     39096743601
92B7439795B383   ORICO               GUITERREZ             OR     90013803979
92B74426341296   BRANNAN             HENDERSON             PA     90002824263
92B74727381634   TYELICIOUS          BABY                  KS     90005367273
92B75555233698   KALIAH              DALTON                NC     90013145552
92B75A2AA7B386   MOHAMED             HASSAN                VA     90010060200
92B7655575B531   MARIA               CHICA                 NM     90011775557
92B7664734B588   LEANNE              HOUSLEY               OK     90014496473
92B76656472B3B   TRACEY              MONTOYA               CO     90013366564
92B76767272B22   JULIO               REYEZ                 CO     90003627672
92B76A6A991399   KATHERINE           TORRES                KS     90009170609
92B77289391951   ARON                MONDRAGON             NC     17037202893
92B7729A972B22   DANIELLE            SOFFA                 CO     90010392909
92B77399A55951   ANGELICA            RENOBATO              CA     49013443990
92B775A5281635   LAURA               CORTES                MO     90013045052
92B77657A4B588   MANUEL              HERNANDEZ             OK     90014496570
92B7795775B548   RACHEL              MARTINEZ              NM     35049629577
92B77A17581634   DAINA               MALDONADO             KS     90014270175
92B78192277537   KENNETH             HARN                  NV     43002541922
92B78227A2B299   CARLA               DREW                  DC     90007732270
92B7842A591951   BRITTANY            JONES                 NC     90013694205
92B7858A381635   ARTURO              VILLA                 KS     90001925803
92B78728493756   TIFFANY             CARRUBBA              OH     64578757284
92B78A69451334   WALTER              DALE                  OH     66039240694
92B7926A991599   JOHN                SMITH                 TX     90013312609
92B79434172B51   VALENTE             MARTINEZ              CO     33078244341
92B7948185B383   DAMION              SPEARMAN              OR     90012084818
92B7968544B588   TED                 KRITTENBRI            OK     90014496854
92B79A1575714B   ESTRELLA            E JESUS LAZO          DC     90008700157
92B7B1A4855951   BERNICE             LUJAN                 CA     49081121048
92B7B6A2972B62   SIRAYA              CAMARENA              CO     90004986029
92B8119462B982   JUDITH              PONCE                 CA     90014751946
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1625 of 2350


92B812A2161979   RAUL          ZAMORA                      CA     90000572021
92B81429872B56   SANCHEZ       MA DE LOURDES               CO     90002054298
92B8197974B588   JENNISER      HOWE                        OK     90000609797
92B81994A5B383   RICHARD       ROSALES                     OR     44596569940
92B8216558B149   WOLFF         ROBERT                      UT     90004211655
92B82179755957   HECTOR        ARREDONDO                   CA     90012771797
92B82515172B56   ALMA          PACHECO                     CO     90011945151
92B8255868B175   LUIS JAVIER   HERNANDEZ                   UT     90011565586
92B82A39572B32   JOSHUA        WHITFIELD                   CO     90008820395
92B82AA3861979   NANCY         AVALOS                      CA     90000570038
92B83249991521   OSCAR         JAQUEZ                      TX     75092052499
92B8433332B27B   JUSTICE       EASTMAN                     DC     90014863333
92B84347241296   MONJA         HARRISON                    PA     51006213472
92B8434775B371   MARLIN        YODER                       OR     90012663477
92B84439A55951   SANDRA        GARCIA                      CA     90001634390
92B846A8472B32   HEATHER       SHEETS                      CO     33074436084
92B84743133638   PLACIDO       RODRIGUEZ                   NC     90013457431
92B84921372B22   MARK          HOWES                       CO     90014619213
92B84A2855B383   PORSHA        ROYAL                       OR     90014450285
92B85394172B51   SIRAJ         AMEEN                       CO     90011653941
92B85441191399   KOFFIE        ADABRAH                     KS     29012244411
92B85695291521   MARIA         CHAVEZ                      TX     75089096952
92B85795972B42   SHAQUALLA     FLAKES                      CO     90009957959
92B85A97172B32   RODRIGUEZ     PETER                       CO     33016790971
92B86282672B3B   TAMMY         LEAVITT                     CO     90002672826
92B8645242B246   KAREN         MORENO                      DC     90006184524
92B86749372B56   ADRIAN        HOWARD                      CO     90000837493
92B86846491951   OCTAVIO       TREJO                       NC     90014998464
92B86AA7197B59   HUGO          ACEVEDO MERCADO             CO     90010650071
92B87A38A77382   CARLOS        MADRIGAL                    IL     90000950380
92B8814115B531   BRANDON       THOMPKINS                   NM     90013841411
92B8841A75B548   MONIQUE       NUNN                        NM     35027424107
92B889A2A61951   REYNALDO      VARGAS                      CA     46027669020
92B89287761977   BELMIRA       SANDS                       CA     90002982877
92B89412672B22   BRENDA        HERRERA                     CO     90012754126
92B8991765B383   JOSE          MOLENA NARCIZO              OR     90013669176
92B89966181634   DAHLIA        GOMEZ                       MO     29082749661
92B8B578372B32   KEVIN         ARCHULETA                   CO     90007895783
92B8B68554B588   CELENA        SMITH                       OK     90014496855
92B8B734597123   LUEEN         ISAACS                      OR     90000577345
92B8B7A514B554   DAVID         PINSON                      OK     21514627051
92B8B893672B51   MAH           SA DA                       CO     90014818936
92B8BA3955B548   JOEL          WRIGHT                      NM     90010340395
92B8BA59A91951   TYRONE        SMALL                       NC     90003670590
92B91264672B51   WILLIAM       LUCERO                      CO     90004072646
92B91565497B59   SHANNON       LOGAN                       CO     90014835654
92B91596372B3B   J.CARMEN      INIGUEZ                     CO     33058265963
92B918AAA72B2B   JULIA         PICKERING                   CO     90011178000
92B91A23472B42   GILBERT       ROCHA                       CO     33068930234
92B9241512B982   RAUL          FUENTES                     CA     90011324151
92B92658141296   BEDAL         CRUZ                        PA     90014886581
92B92752791521   JOSE          CARDENAS                    TX     90003747527
92B92814772B42   JESUS         ARGUMEDO                    CO     90010428147
92B92A29172B56   SUZANNE       BOURGEOIS                   CO     90007740291
92B92AA8257123   ROSA ALBA     GUERRA                      VA     90012730082
92B9313627B444   SHAQUA        MASKE                       NC     90015231362
92B93164272B51   GUADALUPE     CONTRERAS                   CO     33000821642
92B9349468436B   XAVIER        WASHINGTON                  SC     90006564946
92B93696872B62   NANCY         ARIES                       CO     90011776968
92B9389184B949   ISMAEL        MARTINEZ                    TX     90015118918
92B93937972B56   GABRIEL       OROZCO                      CO     90002019379
92B9424355714B   THOMAS        PATTON                      VA     90003172435
92B9425644B949   SHIRLEY       OWENS                       TX     76500592564
92B94691755951   ROSARIO       RIOS JUAREZ                 CA     90008046917
92B94742691521   MARIA         CAMPOLLA                    TX     75063327426
92B947A8526272   PAYGO         IVR ACTIVATION              WI     90014487085
92B95347381635   ZAYNAB        OSMAN                       MO     90011443473
92B9598482B982   ELIA          HERNANDEZ                   CA     90010959848
92B96675141296   ASHLEY        MATHIS                      PA     90011136751
92B968A1355951   CLARISSA      BRAVO                       CA     90014878013
92B96A25881637   JAIME         FLORES                      MO     29019860258
92B97711161979   NATASHA       SIERRA                      CA     90004737111
92B97768181634   CHRIS         MCCAIN                      MO     90015437681
92B97781772B3B   HARMINIA      RAMON                       CO     33087367817
92B97787761979   ANA           CHAVEZ                      CA     90012657877
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1626 of 2350


92B97981291599   CATHY        NUNEZ                        TX     90005739812
92B97994572B42   MARJORIE     WALLWEY                      CO     90012969945
92B97A32A91951   ANGELICA     GARCIA                       NC     90013860320
92B97AA933B354   DANIEL       EGELAND                      CO     90009680093
92B98495631476   MARSHELL     SMITH                        MO     90000584956
92B9859435B531   ARTHUR       ARCHIBEQUE                   NM     90013935943
92B9876157B449   FRANCESCA    NASH                         NC     90007717615
92B99394A72B51   GISSEL       VENZOR                       CO     90004753940
92B99551955951   PHILETTA     LAWSON                       CA     90013615519
92B9B33762B244   LAUREN       CROSS                        DC     90009393376
92B9B492A51334   KENNETH      GRAHAM                       OH     90013404920
92B9BA6397B444   MARY         HAWKINS                      NC     90013930639
92BB1184A72B51   CARLOS       HERNANDEZ                    CO     90008691840
92BB135A955951   VANESSA      GUZMAN                       CA     49080413509
92BB1549872B62   PATRICIO     MEDALLIN                     CO     90010015498
92BB22A3472B56   SUSANA       ORTEGA                       CO     90014882034
92BB233944B554   DUSTIN       PHIFER                       OK     90000303394
92BB2346697B59   NOHEMY       RODRIGUEZ                    CO     39088773466
92BB27A2472B51   LINDA        MCCULLOUGH                   CO     90011707024
92BB27A6461977   LOREN        GLASSON                      CA     90008347064
92BB284255B383   SHANNON      DODGE                        OR     90009538425
92BB293A791521   CRISTINA     PAQUIAN                      TX     75068959307
92BB2966761979   MARIA        MOJARRO                      CA     46051109667
92BB314714B588   TIMOTHY      STEWARD                      OK     90014491471
92BB335434B554   GUADALUPE    MAGANA                       OK     90014373543
92BB3613733698   LILITH       COPELAND                     NC     90014156137
92BB372365714B   LUS          RAMIREZ                      VA     90004387236
92BB3761655951   ZUKIA        SMITH                        CA     49021067616
92BB386615B531   JOHNNY       ROBINSON                     NM     90014518661
92BB3981A4B554   GUADALUPE    MAGANA                       OK     90008219810
92BB398AA72B3B   JOANN        HERNANDEZ                    CO     90011959800
92BB39A4393755   SHARON       WHETSTONE                    OH     90013519043
92BB412A45B531   CRISTAL      RAEL                         NM     35062011204
92BB4755781634   JONI         WYATT                        MO     90012547557
92BB475585B326   MARTHA       HERR                         OR     90010937558
92BB4769955957   WENDIE       GARCIA                       CA     49083367699
92BB4816172B32   JULIE        MENDOZA                      CO     33058648161
92BB5151872B56   LORENA       SANCHINEL                    CO     33097981518
92BB5521932582   GINA         RIOS                         TX     90014805219
92BB5526172B42   GLADYS       ZECENA                       CO     33001095261
92BB6538998B93   RODERICK     CHAMBERS                     NC     90011025389
92BB659264B588   ROBIN        TEMPLE                       OK     90014495926
92BB674257B389   JOB          CARDENAS                     VA     90004287425
92BB6772885689   MARLOW       WALLACE                      NJ     90010607728
92BB7242961979   ALFRED       MARZAN                       CA     46064102429
92BB724477B444   TREVOLA      JONES                        NC     11065382447
92BB7483993755   T            LANDERS                      OH     64517774839
92BB761538B175   LUIS         DELGADO                      UT     31001396153
92BB7767991599   ANAISS       PARRA                        TX     90011857679
92BB77A4472B56   CARLOS       HERNANDEZ                    CO     90011817044
92BB7894161977   FERNANDA     VALENTINA                    CA     46020818941
92BB7944477537   KAREN        BERNAL                       NV     90015109444
92BB828494B269   JEREMY       SHARP                        NE     26081212849
92BB8613172B22   JOHN&DEANA   BELAMOUR                     CO     33053986131
92BB8664361977   KIM          BRANDOM                      CA     90008416643
92BB8A67172B42   HAROLD       LOVE                         CO     90011360671
92BB94AA772B22   MATILDA      VAZQUEZ                      CO     90012754007
92BB9675A91951   CEDRIC       WILLIAMS                     NC     90010926750
92BB972955B383   MARIA        GARCIA                       OR     44545577295
92BB9875472B32   CYRRELL      GREEN                        CO     33082448754
92BB9A43797B59   KIRSTEN      BREWER                       CO     90014550437
92BB9A83372B62   RICARDO      LARA                         CO     33093610833
92BBB19748436B   MARIA        PULIDO                       SC     90013061974
92BBB214197123   LISA         SELF                         OR     90011972141
92BBB745791592   ESTHER       ANTONINE                     TX     90011777457
92BBB888191599   VANESSA      BENNETT                      TX     90014598881
92BBB918151334   HUGO         PERALTA                      OH     66030629181
92BBB9A2A9198B   REESE        BORGUEI                      NC     90006199020
93111714772B42   LUIS         VALENZUELA                   CO     90008687147
9311212124B949   SOPHIA       CARRY                        TX     90000441212
93113496372B62   TOBY         BOOK                         CO     33001054963
9311369494B554   RUBEN        GARCIA                       OK     90010626949
93113A75697B59   AMARIS       MCDOWELL                     CO     90011190756
93114754772B32   MIGUEL       ESPINOZA                     CO     90010547547
9311494519198B   BETTY        HARRIS                       NC     90002399451
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1627 of 2350


9311555844B554   ALFREDO            FIGUEROA               OK     90008285584
931159A882B821   RICHARD            QUISPE                 ID     90014439088
93115A72333698   PEGGY              ESTEP                  NC     12026820723
931161AAA4B588   ISELA              TARANGO                OK     90007381000
93116445372B62   BORUNDA            ALFREDO                CO     90007654453
93116A2115714B   IRIS               JOSEPH                 VA     81053610211
93116AA2197B59   ROSAICELA          CANALES                CO     90012480021
93117247197B59   DANIEL             DAVID                  CO     90010952471
93117898472B3B   ENRIQUE            RODRIGUEZ              CO     90010888984
93117A5A761979   MARIA              URENA                  CA     46009060507
9311829395B548   ISRAEL             HERRERA-PULIDO         NM     90005532939
9311839175B548   MARTHA             RODRIGUEZ              NM     35003533917
9311862A65B531   DYLAN              KENNEDY                NM     35052406206
9311914863B341   ERIKA              ACOSTA                 CO     90003061486
9311972995B383   RICHARD            JONES                  OR     90014047299
9311978AA72B42   GERMAN             MEZA                   CO     90011187800
93119826872B56   FERNANDO           SANCHEZ                CO     33038198268
9311B856855957   MARTHA             VAZQUEZ                CA     49077868568
9311BA2514B231   KIM                POIL                   NE     90004020251
9312126AA7B24B   MARIA              AGUILAR                CO     40557012600
9312148494B588   OMEIDA             BAILON                 OK     90008664849
93121581472B42   AARON              BUTTS                  CO     90010505814
9312182447B444   DARRELL            HAYWOOD                NC     90004008244
93122362872B56   REYNA              CARRAZCO-CAZARES       CO     33015893628
931223A6261977   KARLA              VAZQUEZ                CA     90010563062
93122446972B42   JOSHUA             WALKER                 CO     90013944469
9312281445B383   SANDY              MACEDA                 OR     90012498144
93122A29261979   DAN                MONJARAZ               CA     90008680292
93123147A55957   ARMANDO            HUZAR                  CA     90014761470
93123792672B32   PRESTON            DENNING                CO     90013897926
9312383A491521   JULIO              MURILLO                NM     90015208304
93123993A5B531   BERNADETTE         LONG                   NM     35033759930
9312459947B444   ANDREW             MOORE                  NC     90014865994
9312541488436B   ROBERT             BENTON                 SC     90008314148
9312591915B383   EDUARDO            ROJAS                  OR     90000499191
93125A2358B149   JUANITA            ORTIZ                  UT     90014590235
93126542A8B175   EFREY              GUZMAN                 UT     31059125420
93126761872B22   LUIS               RIVAS                  CO     33083807618
9312683244B235   CRISTAL            AMARILLAS              NE     90009288324
9312711355B531   LEONEL             MUNOZ                  NM     90005631135
9312755388436B   STANLEY            NELSON                 SC     90014715538
93127864A61979   BERTHA             RUIZ                   CA     90007458640
931279A4172B22   BRADLEY            LEWIS                  CO     33001219041
9312857A493782   DIANA              BRYANT                 OH     64555605704
931287A1A43584   RICKISHA           LAWRENCE               UT     90006177010
93128A9A54B949   CURLEY             LANDRY                 TX     90006480905
93129184A8B175   SHARON             DEAN                   UT     31047011840
9312955683164B   ASHLEY             ASHIHI                 KS     22095035568
9312B12A16193B   MARIO              ANDRADE                CA     46032111201
9312B193455951   YESSENIA           SOTO                   CA     90013871934
9312B483621629   SAUL               HERNANDEZ              OH     90014084836
9312BAA7391521   SYLVIA             VILLANUEVA             TX     75031440073
9313147267B362   MOHAMMAD           AWAN                   VA     90000544726
93131763972B42   BROOKE             DILLER                 CO     90014717639
93131952A72B94   KARLINE            KNAPP                  CO     90007709520
9313342AA5B548   TASHA              RICHARDS               NM     90009224200
9313362885597B   JOSE               VEGA                   CA     90002436288
93133A25561979   GIOVAN             HERNANDEZ              CA     90007000255
9313427515597B   FERNANDO RAMIREZ   SANCHEZ                CA     90005572751
9313465368436B   TARA               SANDERS                SC     90012576536
93134945972B22   CLEMENCIA          EVARISTO               CO     90007589459
93135365372B22   PERLERA            EVELIN                 CO     33036493653
9313555845B548   ROBERTA            CHILDERS               NM     35056135584
93135664772B32   KATHY              FOX                    CO     90000106647
93135A3524B949   BILLIE             WARE                   TX     90014570352
93136182A33698   LURECIA            HAIRSTON               NC     90012721820
93136185A93755   TYLER              MERRITT                OH     90013181850
9313638874B554   TYANN              MCCORKLY               OK     90010143887
9313638A291951   MARY               THOMPSON               NC     90006143802
9313653944B588   CHRISTOPHER        WEAVER                 OK     90011425394
9313653A75B531   JACOB              GUTIERREZ              NM     90001835307
93136637797B59   GERARDO            VARGAS                 CO     39003906377
9313727677B444   NATIKA             SHEELOR                NC     11076722767
93138254372B42   KENNY              BROGADO                CO     33096612543
931388A958B149   SONIA              SOLIS                  UT     90014608095
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1628 of 2350


9313939525B531   JAMAL        EVERAGE                      NM     90015573952
9313B354A91521   JESUS        GALLARDO                     NM     75080563540
9313B59A34B949   DOMINIQUE    RELFORD                      TX     90013655903
9313B667772B62   RIGO H       LOZANO                       CO     33068446677
9313B788697123   MARIA        HANSHAW                      OR     90013367886
9313B868255957   ORTENCIA     DURAN                        CA     90012368682
9313B913355951   LISA ANN     PINA                         CA     90010899133
9314261614B949   ISMAEL       VARGAR                       TX     90001936161
9314347634B554   SILUIA       RODRIGUEZ                    OK     90005574763
931435A9572B42   VERONICA     PEREZ                        CO     33044155095
9314367375B383   HESPER       KIRKLAND                     OR     44539996737
9314369365714B   SANTOS       ROMERO                       VA     90011406936
93143884A4B588   FRANCISCO    FUENTES                      OK     90014178840
9314393468B138   JEAN         FROST                        UT     31009249346
9314465A793732   JACK         PARKER                       OH     90005236507
9314473514B554   DELFINO      TORRES                       OK     21510357351
93145428572B42   EFRAIN       AGUILAR                      CO     33001414285
93146177872B62   LEO          SANTOVENA                    CO     90008381778
9314685794B554   CARMILL      WRIGHT                       OK     90011698579
9314763165B531   BRITTANY     JEROME                       NM     90013886316
93147736372B62   VICTOR       MORELO                       CO     90010767363
931486A358432B   SUSAN        WILSON                       SC     90004906035
9314895794B588   NICHOLAS     CHARLES                      OK     90015599579
9314924A897B59   ASHLEY       JARRETT                      CO     90004332408
931493AA78B149   BRANDON      VANFLEET                     UT     90005943007
93149527A8B166   ERIN         YOUNG                        UT     90000255270
9314953598B175   LATAIMOANA   LEAAETOA                     UT     90011835359
93149AA1241296   JAIME        BURKHART                     PA     90014980012
9314B47115B531   MICHAEL      DURANTE                      NM     90008704711
9314B58AA77537   SHAWN        MCGILLIVRAY                  NV     90013525800
9314B623893755   BRANDON      OAKES                        OH     90014816238
93151113272B3B   JESSE        GONZALES                     CO     90014601132
93151218272B3B   LAURA        GUITIERREZ                   CO     90006382182
9315218884B588   DENTON       HOUSE                        OK     90014971888
931521A3591399   VALERIE      CAHILL                       KS     90014021035
9315226A491399   VALERIE      CAHILL                       KS     90010982604
9315258A55B383   ROSLINA      GIDBMAA                      OR     90011395805
931528AA85B531   JAMES        GARCIA                       NM     90008508008
93152995272B56   MARTHA       CASTANEDA                    CO     90009989952
93153237A8B158   KRISTA       BRYCE                        UT     90010172370
9315326A631678   JOHATHAN     ADKINS                       KS     90006962606
93153349472B42   ANGELICA     VARAJAS                      CO     33088973494
93153514A7B444   THOMAS       BARBER                       SC     11081155140
9315354424B588   KRISTIAN     STOCKSEN                     OK     90011425442
93153864A43584   THOMAS       LOPEZ                        UT     90014638640
93155194A72B56   DUODU        ESTHER                       CO     33060031940
9315522375B383   TANISHA      SANDERS                      OR     44509112237
9315561614B554   JOHN         CUTLIFF                      OK     21585496161
9315573345B531   ANDREA       LOPEZ                        NM     90010127334
93155941872B22   UNOME        ABEYTA                       CO     90009819418
93156147A5B531   MIR          AMIRI                        NM     90013351470
93156439A91521   RICARDO      AVILA                        TX     90010414390
9315672267B444   EMILY        BROOKS-CALFEE                NC     11074697226
931568A5A72B3B   MARIA        AGUILAR                      CO     33032118050
93156A1154B235   YANELI       LOPEZ                        NE     27044070115
931571A1572B22   JASON        HAUGHT                       CO     33011591015
93157357A5B548   CARLOS       MICHEL - BERMUDEZ            NM     35066543570
9315744235B531   ZACHARY      BURKE                        NM     35034234423
93157611A3164B   DIANA        PARKER                       KS     22019866110
9315818758436B   PAYGO        IVR ACTIVATION               SC     90012451875
9315844795B241   RUBY         POLK                         KY     90012114479
9315855A293732   ERIC         MORRIS                       OH     90001695502
9315983228436B   IVY          GRAYSON                      SC     90014448322
93159A65397B59   DIANE        HINRICHS                     CO     90012800653
9315B715497123   LIBERTY      LONG                         OR     90011197154
9316154446193B   TATIA        VALENZUELA                   CA     90006145444
9316166A98436B   STEVEN       LYNAH                        SC     90012026609
93162A1AA72B3B   CEDRIC       RUFUS                        CO     33008350100
93163486A8B175   CHERYL       HOPPE                        UT     31092324860
931644A336193B   ISRAEL       SEGOVIA                      CA     90002574033
931647A224B588   KEILA        HENDERSON                    OK     90012937022
931648AA855951   DEMONDRE     LUCAS                        CA     90011718008
931653AA17B444   JULIE        ANASTAS                      NC     11031003001
93165A6628B149   REY          MORGAN                       UT     90015360662
93165A84A97123   NICHOLE      GREINER                      OR     90007610840
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1629 of 2350


93166978A72B3B   LINDA        DELUNA                       CO     90010139780
9316718A555951   AMPARO       BALERO                       CA     49043351805
93167759A4B554   WAYNE        CARR                         OK     90009397590
93167882672B42   MARK         SCHOLTZ                      CO     90012858826
93167A6683B346   LARRY        CRISCO                       CO     90002800668
9316812367B349   JOSE         LOPEZ                        VA     90012201236
9316846A54B588   KENDRA       SMITH                        OK     90013194605
93168A4177B444   DARRY        ASHE                         NC     90014370417
9316978848B175   CORY         BECKSTEAD                    UT     90011837884
93169815372B62   RAYMUNDO     CARDENAS                     CO     33041168153
93169966A55951   MARCOS       LOPEZ                        CA     90013909660
9316B52748436B   JOSHUA       FABERS                       SC     19030655274
9316B822191882   DARITA       THOMPSON                     OK     90014278221
9316BA77593755   JOYCE        ATWATER                      OH     64577990775
9316BA8636193B   TAMYCA       REHMEYER                     CA     46061460863
9317145A572B62   CRABTREE     JAMES                        CO     90007654505
9317159454B949   MARTIN       GUERRA                       TX     90007105945
931715AA177537   GUY          PIERCE                       NV     90009395001
9317175784B588   ASHLEY       BUTLER                       OK     90015137578
931724A2A61979   ALEJANDRA    PENA                         CA     90013924020
93172891672B22   KUSONDRA     ABEYTA                       CO     33092718916
93173778172B42   GINA         SHEVLIN                      CO     33023597781
93173995372B56   TINA         PATTI                        CO     33035139953
93174569172B3B   KRISTIN      PEEL                         CO     33056545691
9317484638436B   SHONDA       MCCUE                        SC     90007568463
93175838972B22   CHARLEY      BURGMAN                      CO     90013938389
9317597737B444   SCOTT        SMITH                        NC     90011239773
93176172272B32   ASHLY        JORGENSEN                    CO     90013851722
931761A7972B42   DAISY        LOMELY                       CO     33093821079
931768AAA4B554   SONNY        LONG                         OK     90012088000
9317739A597B59   RAFAEL       COTA                         CO     90009063905
931775A7524B28   LAUREN       WILLIAMS                     DC     90012475075
93177A4495B548   LESLIE       OLIVARES                     NM     90013920449
93178812572B3B   MATTHEW      ROSEN                        CO     90010808125
9317885615B326   CALIZ        LUIS-MARQUEZ                 OR     44095848561
93179194372B42   LAURA        MCCLAIN                      CO     90011321943
93179368A55957   RUBEN        LEMUS                        CA     90013073680
9317B142861979   ARMINDA      OLEA                         CA     46038631428
9317B43A672B22   DAVID        PAYAN                        CO     90002684306
9317B489791882   LINDA        DABNEY                       OK     90002854897
9317B616231447   ROBERT       MANESS                       MO     90012636162
9317B628143584   MARILEE      CHRISTENSEN                  UT     90015286281
9317BA94871979   ALANDA       MORRISON                     CO     90011830948
93181621497B59   ELISA        GONZALEZ                     CO     39022616214
9318183334B949   VINNIE       DAVIS                        TX     76557288333
9318199A872B42   CYNTHIA      VALENZUELA                   CO     90012999908
9318219A14B949   TRINA        JOHNSON                      TX     76568551901
9318229994B554   HAYLEY       HAMPTON                      OK     21521732999
93182474A72B42   MICHELE      MARTINEZ                     CO     90013944740
93182633A72B32   KATHERINE    GOTWALD                      CO     33088266330
931826A2241296   JAMAL        WILLIAMS                     PA     51053066022
93182A1867B444   LATRICE      HURDLE                       NC     90013670186
9318332A96193B   RACHELLE     HOLLINGS                     CA     90005843209
93183532772B62   KATE         BATTAGLIA                    CO     90012405327
93183975397B59   JULIA        ENGLE                        CO     90012849753
93184478572B42   JESSICA      MAESTAS                      CO     90013944785
93184544A3B397   CAROL        SCHWARTE                     CO     33073965440
931847A4955951   MARTHA       RODRIGUEZ                    CA     90015157049
93185152672B3B   IRENE        LOPEZ                        CO     90011041526
93185751672B3B   KARINA       SAUZ                         CO     90015117516
9318576345B531   MARION       MARINDALE                    NM     35095657634
9318637518B149   ADELA        CROSS                        UT     90008713751
93186649372B42   JOSEPH       PADILLA                      CO     33009936493
93186A54A2B248   TERRI        ABBOTT                       DC     90001450540
9318735195B548   MACLOVIO     RUIZ                         NM     35042173519
9318763435B531   CYNTHIA      BENSON                       NM     90013436343
93188782272B32   REGINA       MARTINEZ                     CO     33025717822
9318941113164B   MAURICIO     SOUZA                        KS     90012654111
9318B4A4861979   JAIME        SALAS                        CA     90013684048
9318B72215B383   DANIEL       DOUGLAS                      OR     90013487221
9318B83334B949   VINNIE       DAVIS                        TX     76557288333
9318B93785B548   DESIREE      APODACA                      NM     90007249378
93191344A31426   YOLANDA      ENLOW                        MO     90012793440
93191895672B22   LARS         ELLINGSON                    CO     33052128956
931923A7A97B59   ANTONIO      NAVOR                        CO     90012513070
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1630 of 2350


9319248A672B42   WESLEY       WU                           CO     90013944806
931933AA941296   KASEY        MANGAN                       PA     90014743009
931936A5241296   DENNA        HOLMES                       PA     90013016052
9319374487B444   JESSICA      HELMES                       NC     90004527448
93193858A72B3B   MARTIN       ULLOA-DELGADO                CO     33054588580
93193A2394B235   FRIEDA       ROGERS                       NE     90003690239
93194A25897B59   BREANNA      LANGIUS                      CO     90009960258
93195A3877B444   EMMANUEL     GONZALEZ GONZALEZ            NC     90013810387
9319635A977537   LAURA        SILVA                        NV     90008353509
93197543272B56   JULIE        RODRIGUEZ                    CO     90011515432
9319779244B588   JESSICA      ADAME                        OK     90008927924
9319793234B554   WINIFRED     COUNTLESS                    OK     90010089323
93198514697B59   DESIREE      TURNER                       CO     39092655146
93198796872B42   BRANDON      VELAZ                        CO     90012817968
9319925A95B383   TERRACE      LOONEY                       OR     90010462509
9319928575B37B   DEBORAH      BROWN                        OR     90005132857
9319991A172B3B   PATRICIA     BURTON                       CO     33044649101
93199A61143584   JACQULYN     HAINSWORTH                   UT     90010630611
9319B547572B56   JULIE        RODRIGUEZ                    CO     90011515475
9319B672793755   ERIC         WILSON                       OH     64556636727
9319B7A227B444   TAMIKO       TUCKER                       NC     90014627022
9319B81134B547   TALENIA      WILLIAMSON                   OK     90013448113
9319B882672B42   MARK         SCHOLTZ                      CO     90012858826
9319B917497B59   VANESSA      WOLFE                        CO     39017149174
931B11A7781648   DAVID        BLY                          MO     90012521077
931B1249555951   JENNIFER     MEJIA                        CA     49014872495
931B1279197B59   SILVIA       CARREON                      CO     39038402791
931B12A1677537   ROSA         MACIAS                       NV     90013382016
931B134228436B   WILMER       MANUEL                       SC     90010913422
931B157444B588   OLALEKAN     AJALA                        OK     90014525744
931B1588191521   KEITH        CAMBELL                      TX     75040025881
931B162594B949   ANGEL        REED                         TX     76541256259
931B212594B554   WILLETTE     ROBERSON                     OK     90014811259
931B24A8672B32   CHERYL       BARTHROP                     CO     90012984086
931B266A77B429   NOE          CASTILLO                     NC     90014426607
931B2953655957   RAMON        SILVA                        CA     90011349536
931B2978861977   VANESSA      REYES                        CA     90013939788
931B297A497B59   JOSUE        MORENO                       CO     90012479704
931B3741772B42   RACHEL       YEREBECK                     CO     90012667417
931B3998441296   MICHELLE     MCGOUGH                      PA     51080859984
931B3AA6291521   CARLOS       CARRILLO                     TX     90008590062
931B414484B949   GLORIA       ARMIJO                       TX     90011091448
931B4678172B42   MERCEDES     POKORNY                      CO     90007806781
931B48A3861979   GUEVARA      ANTONIO                      CA     46016178038
931B5648781658   LORI         HENDRIX                      MO     90005346487
931B5681793738   MARY         PHILLIPS                     OH     90002046817
931B5A85991521   MARIA        OQUEDO                       TX     75091710859
931B6198872B42   JOHN         HOWELL                       CO     90015051988
931B6592661979   MANUEL       GERALDO                      CA     90014805926
931B6869185932   DONNA        MCELROY                      KY     90015008691
931B68A7697B59   KATHRYN      WISEMAN                      CO     90013028076
931B718324B556   ERIK         ORTIZ                        OK     90009731832
931B721925B531   CARRIE       KINCAID                      NM     90012152192
931B7595791599   MARCELA      VAZQUEZ                      TX     90009375957
931B7A14572B3B   ZUSAN        RAMIREZ                      CO     33000170145
931B7A29491399   HUGO         ESPINOZA                     KS     29032060294
931B8325A72B42   BRENDA       VILLASENOR                   CO     33070633250
931B848475B548   NICOLE       MARTINEZ                     NM     90014644847
931B8627A91599   DANIEL       REYES                        TX     90005216270
931B8A31243584   TIM          PEAY                         UT     90012090312
931B9227A91547   LYDIA        BENITEZ-WHITE                TX     75089912270
931B961555B383   PERRY        LAMBERT III                  OR     90000766155
931B96AA497B59   KELLY        TREVINO                      CO     90012986004
931BB47A87B444   ROCK         MOSLEY                       NC     90013114708
931BB6A6697B59   ERIC         JACOBSON                     CO     90009376066
93211896772B97   ADOLFO       VALDES-NAVARRETTE            CO     33000648967
93211AA2891399   MOLLY        MCCALL                       KS     90012050028
932121A215714B   FARZAD       YAZDANI                      VA     90003211021
93212643A4B554   AKUTEH       LUNDY                        OK     90010236430
9321273A955951   CELINA       MARTINEZ                     CA     90012837309
9321322197B444   ALEXIS       GUINN                        NC     90013602219
9321332524B588   TIFFANY      THOMAS                       OK     90013543252
9321377A98B149   KENESHA      JACKSON                      UT     90007747709
9321397354B547   REGINA       GOODMAN                      OK     90012949735
9321397545B383   KAREN        JONES                        OR     90010459754
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1631 of 2350


93213A9545B383   KAREN            JONES                    OR     90008640954
93214488872B42   ROB              CISNEROS                 CO     90013944888
93215146772B3B   SANDRA           GARCIA-ARAMBULA          CO     33064311467
9321519186197B   JADWIGA          WLOCZEWSKI               CA     90000721918
93215484498B31   STEPHAINE        DICKERSON                NC     90014414844
9321553429184B   ROSA             PAREDES                  OK     90012305342
9321578225B531   ALBERT           RODRIGUEZ                NM     90011017822
9321598A88B149   GANDHI           RDIALUL                  UT     90014419808
93216114A91951   JASMINE          THOMAS                   NC     90014071140
9321647455B531   GABRIEL          MARQUEZ                  NM     90006664745
932164A234B949   CEE              MARTIN                   TX     90015214023
93216936272B22   KENNETH          CRAWFORD                 CO     33004609362
93216A8698B149   SHEENA           BENNETT                  UT     90014340869
9321735378B149   ROSEMARY         SIMS                     UT     90011383537
932176A7A72B22   JOSE             ZAMARRIPA                CO     33001736070
9321819684B949   GINGER           VICTOR                   TX     76570191968
932183A6272B3B   GEOVANNA         TAFOYA                   CO     33008063062
9321848898436B   TANYA            ROBINSON                 SC     19090274889
9321913443B394   EILEEN           VANEK                    CO     90012981344
932193A8A97B59   ANTHONY          FAVELA                   CO     90012513080
93219957472B3B   DAN              SMITH                    CO     90008689574
93219A7A791399   JONATHAN         PETTY                    KS     90010470707
9321B183491951   DAVID            JOHNSON                  NC     17013451834
9321B542155951   MARIA DE JESUS   FLORES                   CA     90014175421
9321B573597B59   VERONICA         DELACRUZ                 CO     39088975735
9321B622872B32   MANZANARES       MAX                      CO     90010496228
9321B647A72B62   FERNANDO         SANTIAGO ARAMBULA        CO     90010016470
9322115AA93769   PATRICIA         EVANS                    OH     64511291500
93222489472B42   LEILA            TRUJILLO                 CO     90013944894
9322338434B949   GARCIA           GENARO                   TX     76586783843
9322381277B444   JOSE RIGOBERTO   ANAYA                    NC     90014848127
93223842A72B42   SABRINA          LUCERO                   CO     90014638420
93223AA1197B59   KIM              BOWENS                   CO     39000890011
93224288972B32   ALEJANDRA        RAMIREZ                  CO     90011472889
93225299A72B42   DEVIN JAMES      HARBERG                  CO     90008652990
9322556A772B56   LEONEL           VAZQUEZ                  CO     33010805607
9322562A772B22   STEVE            JONES                    CO     33095536207
93226214A8436B   PAMELA           SCOTT                    SC     19047062140
9322646418B149   KRISTEN          OWENS                    UT     90007164641
9322655A977537   CARMEN           PEREZ                    NV     90013315509
93227A32991951   SHELTON          HENDERSON                NC     90011970329
9322833692B982   DONALD           SIMMS                    CA     90013043369
93228489472B42   LEILA            TRUJILLO                 CO     90013944894
9322926AA55957   SELI             CALVILLO                 CA     90006102600
9322947644B949   KIMBERLY         GREEN                    TX     76503854764
932297A154B588   PAUL             GARFIELD                 OK     90009537015
93229A59A72B22   JASMINE          ROSA                     CO     33088140590
93229A75455951   MARIO            HERNANDEZ                CA     90010090754
9322B494241296   JAMEE            TODD                     PA     90007844942
9322B4A5943584   JOSH             WRIGHT                   UT     90011004059
9322B6A6893755   NICOLETTE        SIMMONS                  OH     64589416068
9322B77A98B149   KENESHA          JACKSON                  UT     90007747709
9322B85215B383   MICHAEL          STEPHENS                 OR     44505718521
93231113972B42   DANA             KESTER                   CO     90006151139
93231172172B22   LIZETH           SOLIS                    CO     90014881721
9323145A65B383   GREG             HOLTEN                   OR     90013394506
932316A524B588   LAKESHA          ANGLIN                   OK     90006026052
93231834772B62   KELVIN           CHAVEZ                   CO     33046258347
93232172172B22   LIZETH           SOLIS                    CO     90014881721
93232491A91399   DESIRAI          CARTER                   MO     90014864910
9323326365B531   LUANA            SALAZAR                  NM     35022732636
9323383517B461   LYDIA            COVINGTON                NC     11010198351
93233953297B59   LARRY            RAMIREZ                  CO     90013259532
93234184A3B348   NORA             GONZALES                 CO     90001141840
93234383472B42   JAMES            SAULSBERRY               CO     33004893834
93234647672B56   KEITH            ROBERTN                  CO     33089216476
9323492213164B   ANTHONY          DENARD                   KS     90013659221
93234A4645B383   KEVIN            COCHRAN                  OR     90007650464
9323629994B554   SHANIKA          HYATT                    OK     90009582999
9323664858B149   NAIA             MAUA                     UT     90015356485
93236A61372B42   YADIRA           MAGADAN                  CO     90012480613
93237375A72B42   RACHEL           SACK                     CO     90003143750
932374A1543584   MICHAEL          RAIFORD                  UT     90001844015
93237A17A4B949   JORGE            ECHEVERRA                TX     76511320170
9323816A293755   ANGELA           SLATON                   OH     90007821602
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1632 of 2350


9323818A361977   ALONSO             MENDEZ                 CA     90012601803
93238523472B42   YOLANDA            DORADO DEL REAL        CO     33060105234
93239236697B59   JOSE               RESENDIZ               CO     90007982366
93239659672B3B   NANCY              MEDINA                 CO     90010016596
93239761672B56   STEPHEN            ARMENTA                CO     33073057616
9323B24875714B   NIXSO              CASTELLANOS            VA     90003212487
9323B34A17B444   MARQUEITE          SUPPA                  NC     90013803401
9323B449241296   MICHELLE           KENNEY                 PA     90002114492
9323B473591951   LUSTER             EDWARDS                NC     17010234735
9323B61119125B   CHARLES            KIRK                   GA     14571506111
9323B62428B175   DOUGLAS            REYNOLDS               UT     31039786242
9323B641191599   MELISSA            MUNOZ                  TX     90013866411
9323B657A72B42   ANDREA             FUSSELL                CO     33023536570
9323B66893B366   MATTHEW            BAKER                  CO     90008896689
9323B718591399   SERAFIN            MONROY                 KS     29084087185
9323B811861979   MICHAEL            TREJO                  CA     90002308118
93241134972B22   SHAWN              SCHWINDMANN            CO     90012931349
932412A3691521   PEDRO              CHAVARRIA              TX     75067062036
9324187A743584   ADAM               BIGIL                  UT     90015578707
9324194174B554   JAIME              DAY                    OK     21509889417
93242619472B56   RAMIRO             SOTO                   CO     90011526194
9324282734B588   LUIS               DELEON                 OK     90013198273
9324295128B175   DAVID              ELIASON                UT     90003499512
9324297894B235   CHRIS              URZENDOWSKI            NE     27062789789
93242A51991399   MARTIN             NICOLAS                KS     90011040519
93243233A97123   JADE               WILLIAMS               OR     90005212330
932432A416193B   AMANDA             ARAUJO                 CA     46094132041
9324432948B175   ALEX               M0NDRAGON              UT     31004703294
9324468724B554   VICTOR             LUNA                   OK     90012546872
932447A9672B22   MARY               BREWERTON              CO     33017607096
93244A6A64B588   KESHIA             DIANNE                 OK     90007870606
93245125A41251   MAUREEN            FRANCISCUS             PA     90011981250
9324535173164B   WENDELL            BELL                   KS     90003533517
93246262A97123   AURALIA            TORREZ                 OR     90013062620
9324737945B548   MARK               KARNER                 NM     35070823794
932473A1143584   JANNETTE           BROWN                  UT     90014903011
93247453572B56   DEREK              TROUTNER               CO     90013804535
93248A14761977   JAMES              BURGIN                 CA     90004360147
93249271572B32   REY                ORONA                  CO     33067532715
9324977564B235   ARACELI            RUBALCABA              NE     90012177756
93249A52397123   JEREMY             CARTER                 OR     44047680523
9324B168891599   ALEJANDRO          TORRES                 TX     75081281688
9324B462A72B22   JOSE               HERNANDEZ              CO     90003984620
9324B652743584   TIFFANY            HEAD                   UT     90015576527
9324B7A495B548   TRISHA             PERALTA                NM     35080127049
9324B7A5972B3B   AMIE               SANCHEZ                CO     90011317059
9324B954143584   PAUL               VALERIO                UT     90014189541
9324BA94871979   ALANDA             MORRISON               CO     90011830948
9325118645B531   ELOISA             GUZMAN                 NM     90006551864
93251361172B3B   DAVE               HOAGLAND               CO     33004613611
93251512A77537   JUAN               RIVERA                 NV     90004465120
9325158AA21684   GARY               CERVELLI               OH     90014375800
93251959A5B383   ANGELICA           VILLARROEL             OR     90012189590
9325217594B554   ROSA               MINJARES               OK     90011801759
9325242388436B   JESSICA            TRIA                   SC     90005364238
93253123A61977   JESUS              GARCIA                 CA     90011931230
9325323383164B   PEGGY              BAKER                  KS     22041502338
93253653572B22   BEN                SPENCE                 CO     90010216535
9325398A355957   GAVIN              SIMMONS                CA     90013799803
93253A17972B62   SERGO              ASHALYAN               CO     90008300179
9325424818B149   LORI               CALL                   UT     31008102481
93254331A8436B   ROBERTS            FLOGLE                 SC     90011083310
93254574272B3B   TANYA JACQUELINE   WHITLOCK               CO     90014615742
9325516A97B444   GLADYS             SANTOS                 NC     11076931609
93255566272B22   DANIEL             FERNANDEZ              CO     90011285662
93255997A8436B   KAYLA              SEELS                  SC     90013269970
9325659175B531   MARIA              GARCIA DELGADO         NM     35087005917
93257135997B59   TERI               DURHAM                 CO     39029081359
93257562772B42   ESPERANZA          NAVARRO                CO     90011865627
9325764265B383   LUCAS              CALDER                 OR     90000766426
9325798622B982   RENE               REYES                  CA     90008949862
93257A94155935   JOHN               LOPEZ                  CA     90012230941
9325823492B26B   TALAYA             THOMPSON               DC     90011412349
93258A3754B581   VALARIE            DAMAS                  OK     21514530375
93259579172B62   RODRIGO            MARROQUIN              CO     33071315791
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1633 of 2350


9325B71A141296   TIA              VINSON                   PA     90014957101
9325B74918436B   LATARSHA         FELDER                   SC     90012457491
9325B846891951   PRECIOUS         WALKER                   NC     90001688468
9325BA8645B531   ROSE             MARTINEZ                 NM     35067240864
9326177465B548   DANIELLA         PACHECO                  NM     90015097746
93261AA2997123   RAMIE            STEPHENS                 OR     90009930029
93262156A72B32   ROBERTO          ARIAS                    CO     33024451560
9326248898436B   TANYA            ROBINSON                 SC     19090274889
93262677A77537   TED              VARNEY                   NV     90014956770
9326312248436B   JASON            KEMP                     SC     90015211224
9326323A891599   MARIA            SOTO                     TX     90014532308
93263A3A55B548   ADRIANA          HERNANDEZ                NM     35040840305
93264948A61979   MARIA            MEINTS                   CA     46006909480
932649A664B554   ROBERT           POST                     OK     90012009066
9326569317B444   PABLO JAVIER     PERDOMO                  NC     90013446931
93267349A72B21   TERRELL          CLARK                    CO     33092413490
93267378A4B949   JAMEY            TATMAN                   TX     90012753780
93267638A55957   ROXANNA          MACIAS                   CA     90015126380
93267A82591521   RAQUEL           ORDAZ                    TX     90009570825
9326955935B531   DELILA           MARTINEZ                 NM     90015115593
93269858972B22   LEONEL           GARCIA                   CO     90013548589
9326987A491599   ERICK            ORTIZ                    TX     90013328704
9326B689691599   TATIANA          BARRAZA                  TX     90003416896
9326B92A94B235   JAZMIN           CURIEL ROSALES           NE     90010469209
9326BAA4491399   TENNA            WITT                     KS     29013880044
93271419972B83   NANCY            GUZMAN                   CO     90009884199
9327152734B288   CHRYSTINE        WARD                     NE     90004595273
93272143372B56   BENJAMIN         AYALA-LUJAN              CO     33000461433
9327236595B548   HUMBERTO         LOZANO                   NM     35011103659
9327251A841296   ABAGIAL          KIMMERLING               PA     90013895108
93273234372B3B   RAMONA           MENDEZ                   CO     33036192343
932736A895B531   VICTOR           GARCIA                   NM     90008726089
93274164572B56   LUIS             MACIAS                   CO     33050801645
93274295A5714B   EDWIN            LAYTON                   VA     90008922950
9327434834B588   TIFFANY          CODY                     OK     90005413483
93274624172B32   ROBERT           GAMEZ                    CO     90011146241
9327512198B175   NICK             TALBOT                   UT     90011841219
9327532A691951   ALEXANDRIA       DANDRIDGE                NC     90013623206
93275646597B59   AARON            SANDOVAL                 CO     90003476465
93275692772B22   JAMES EDWARD     LEHMAN JR                CO     90013006927
93275A1A761937   MARIA            ENYEART                  CA     90011220107
9327611A75593B   MARK             MIYA                     CA     48091071107
932761A7261977   ESTER            LEUWAL                   CA     46050551072
932763A9897B59   BILL             YOUNG II                 CO     39001853098
9327647675599B   SAMANTHA         SALINAS                  CA     90009874767
93276744572B62   DANIEL           COOK                     CO     33058087445
93278A45291399   RACHEL           WILSON                   KS     90013940452
9327924A58B149   OSCAR            GARCIA                   UT     90014632405
93279351572B42   ANGIE            GONZALES                 CO     90013423515
9327944653B335   LORA             ABEYTA                   CO     33050234465
9327956775B548   CHRISTINE        GEMOETS                  NM     90014785677
9327998835B548   LORENZO          GARCIA                   NM     35037879883
9327B239161979   ERIKA            BRAMBILA                 CA     90011582391
9327B529377537   JOSE             AGUILAR                  NV     43037715293
9327B72195B383   TIESHA           MARTINEZ                 OR     90014287219
932829AA85B545   FERNANDO         RODRIGUEZ                NM     35057719008
93283287772B56   HAKEEN           ABDULHAFIZ               CO     90004432877
9328344767B391   ELIGIO           DUARTE                   VA     90012094476
9328357A93164B   JESSICA          ESCOBAR                  KS     90001315709
9328362A77B444   RAPHAEL          ODILI                    NC     90011116207
9328383A18436B   CARNYSHA         DEAS                     SC     19061908301
9328386374B554   TAMMY            BARRETT                  OK     90011518637
932839A4493769   TINA             WILLIS                   OH     64559899044
9328456244B554   JENNIFER         BIERMANE                 OK     90008015624
93284A3A472B22   AMBER            AVILA                    CO     90006690304
9328522A47B483   JENNIFER         ALLEN                    NC     90007512204
93285265697B59   KELLY            KONNER                   CO     90013792656
93285563472B32   STEVEN           ENGLERT                  CO     90013775634
9328558854B949   RAFAEL           LOPEZ MARLDONODO         TX     90013875885
9328558A172B42   KERIN            MENDEZ                   CO     90010265801
9328589994B588   GLEN             HINCH                    OK     21511838999
932859A6243584   CINDY            YOUNG                    UT     90015459062
93286189672B42   ALEXIS ANN       SUGRUE                   CO     90004431896
932879A9172B42   JOSIE            TOLENTO                  CO     90012269091
9328889A272B32   MARCOS ANTONIO   HERMOSILLO               CO     90014258902
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1634 of 2350


93288A33972B57   LAYNE        REBBECCA                     CO     90008380339
93289641A91951   KEVIN        HART                         NC     90014856410
93289736472B42   HECTOR       TORRES                       CO     33061807364
93289AAA17B444   SASHA        COOK                         NC     11047960001
9328B27A791599   DEYBA        PENA                         TX     90013112707
9328B53299125B   CHANELL      RICKS                        GA     90006195329
9328B5A8772B42   MARIA        LOURDES GARCIA               CO     33052365087
9328B682297B59   DAVID        DIAZ                         CO     90012836822
9328B8A4877537   DOUGLAS      RAYMOND                      NV     90007828048
9329138A35B383   FANNY        AGUILAR                      OR     44525443803
93291469872B42   JOHN         LINGUIST                     CO     33081604698
9329161314B554   JOESPH       WHITE                        OK     21585576131
932916A9372B3B   GILBERTO     MORALES                      CO     33075266093
9329288595B548   ARTURO       MONTOYA                      NM     35016008859
93293233197B59   KATE         MARTINEZ                     CO     39092922331
9329361314B554   JOESPH       WHITE                        OK     21585576131
93293AA2521684   LANEICE      ROBINSON                     OH     90014610025
93293AA4272B3B   JENNIFER     DAVIS                        CO     90005260042
932947A1755957   JOSE LUIS    VALDEZ OROZCO                CA     49079877017
932948A8491399   ANTONY       K NJENGA                     KS     90000318084
93295549A55957   ULYSSES      AYALA                        CA     49032155490
93295721772B32   JOSHUA       NELSON                       CO     90001577217
9329681455B345   JUSTIN       LORD                         OR     90002078145
93297622A9125B   ARIANA       DIAZ                         GA     90006196220
9329821464B588   MICHELLE     GATES                        OK     21558132146
9329825A24B588   MICHELLE     GATES                        OK     90013552502
93298744797B59   AGUSTIN      BANUELOS                     CO     90011457447
9329B179461979   ERASMO       MARTINES                     CA     90008611794
9329B544161979   ESTEBAN      VENTURA                      CA     46091195441
9329B637272B3B   OMAR         RAMOS                        CO     90012746372
9329B955955951   THOMAS       MCGIRT                       CA     90012339559
9329BA75655957   TERESA       PURECO                       CA     49037060756
932B11A4491399   ALICIA       WATSON                       KS     90012011044
932B126585B548   CHRIS        WHEELER                      NM     90015262658
932B126AA7B444   ESONIA       RUCKER                       NC     11009882600
932B1995A91951   DONNYELLA    MCQUAIG                      NC     90011109950
932B1A9157B389   HERBERT      SEJAS                        VA     81062490915
932B2233593755   HADIYAH      WASHINGTON                   OH     64557872335
932B2434A81683   DONNA        CARPENTER                    MO     90009044340
932B244557B444   MARQUITA     TRUESDALE                    NC     11043274455
932B2455591599   LUCERO       CORTEZ                       TX     75032174555
932B2513155957   YARYTZA      GARZA                        CA     90013715131
932B2524A4B588   JHON         FERRELL                      OK     90005035240
932B2563497B59   JOSE         PEREZ                        CO     39044025634
932B26AA672B42   JANET        HERNANDEZ                    CO     90012956006
932B337398435B   JOSHUA       ODY                          GA     90011273739
932B3487972B42   EDDIE        HERALD                       CO     90013944879
932B3561391521   GRACIELA     ESTRADA                      TX     90013925613
932B3794472B32   GUADALUPE    FIGUEROA                     CO     33048977944
932B415552B878   LAUREN       AUBIN                        ID     90014311555
932B427544B588   BLANCA       SALAZAR                      OK     21536662754
932B4336661979   LEONARD      OSTROSKI                     CA     90004103366
932B447875B531   BLANCA H     CASANOVA                     NM     90005044787
932B4594655951   JACQUELINE   YANG                         CA     90013655946
932B4721855957   TONYA        SMILEY                       CA     90004387218
932B492668B531   ALICIA       MONTEJANO                    CA     90015359266
932B6226872B62   DON          ADAMS                        CO     90011532268
932B62A5243584   NANCY        CHAVES                       UT     90008152052
932B676298B149   VICTOR       BAHENA                       UT     90011497629
932B6887241296   KENNETH      RYAN                         PA     90005768872
932B7118461977   VALARIE      MACIAS                       CA     90013941184
932B7374455938   KENNARD      GRIMALDO                     CA     90001683744
932B7534172B62   JOSHUA       MILLER                       CO     90013345341
932B789A376B51   GRISELDA     RAMOS                        CA     90010398903
932B7937991399   MAYELA       RODRIGUEZ                    KS     90013529379
932B7941355951   JOSE         CALVARIO                     CA     90014879413
932B7973555957   MICHELLE     SANCHEZ                      CA     49044869735
932B82A6572B62   ARMANDO      DOMINGUEZ                    CO     33018202065
932B8396441296   JAMES        SMITH                        PA     90015213964
932B855438B338   TABATHA      DUBOSE                       SC     90000385543
932B85A5191554   RICHARD      AGUILERA                     TX     75055045051
932B868755B531   LILLIAN      SANCHEZ                      NM     90003826875
932B88A2272B56   ADALBERTO    ROBLES                       CO     90002648022
932B987864B588   MARIA        MUNOZ ESPARZA                OK     90013928786
932B9A2A991399   LUCY         KIOKO                        KS     29094270209
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1635 of 2350


932BB553977537   SEFO             ROPATI                   NV     90010975539
932BB968A97123   MINERVA          OROZCO                   OR     44046939680
93311116A72B56   DJ               GILLES                   CO     90012781160
9331122844B588   REBECCA          SALYERS                  OK     90009752284
93311477872B32   EVABTHIA         KAVAS                    CO     90010934778
9331161345B531   JENNIFER         MARES                    NM     90013756134
9331242855B531   ELENA            CRUZ                     NM     90014714285
9331248A661979   FRANCISCO        GOMEZ                    CA     90012494806
9331373267B444   VICTOR           SLIVA                    NC     90010757326
93314A5548B149   KRYSTAL          YODER                    UT     90013820554
9331542A961977   STEVEN           ROGERS                   CA     90010154209
9331562474B554   BRYAN            WHITE                    OK     90002516247
933161A9177537   JOSE MANUEL      PINTOR                   NV     90015141091
9331659245B531   JOSEFINA         CASTRO                   NM     90011375924
9331664525B383   JAMES            RONSON                   OR     90014106452
93317659272B62   NOELLE           MARZONIE                 CO     33088576592
933184A7255951   CHARMAINE        FRANKLIN                 CA     90013984072
933196A5772B32   DEBORAH          CARLSON                  CO     90009386057
9331995688B175   JEFFREY          GRAHAM                   UT     31092729568
9331B1A2997123   ELIDA            MACIAS                   OR     44033411029
9331B316561979   MENDEZ           SUSANN                   CA     90001003165
9331B873572B42   LEONCIO          PALACIOS MARTINEZ        CO     90011618735
9331B8A5497B59   LADAWN           VOLKMAN                  CO     90010678054
9332111375B548   PRISCILLA        OTERO                    NM     35043171137
93321151A72B22   MARIA            MARMOLEJO                CO     90012931510
93321A99572B62   CEFERINO         HERNANDEZ                CO     33036190995
9332274693164B   LAWRENCE         BUMPHUS                  KS     22083157469
93322941397B59   ALAN             GRAJEDA                  CO     39019349413
93324138172B62   NATHAN           CHAPMAN                  CO     33076981381
93324666772B3B   BRITTNEE         BELL                     CO     90014226667
933249A6997123   ANGEL            MENDOZA MONTOYA          OR     90010919069
933261A2A72B56   PAT              BACA                     CO     33033341020
93326A3A193755   BILLY            MYERS                    OH     90007550301
9332774178B149   JACQUELYN        PIERCE                   UT     90011117417
9332827312B982   ROSARIO          HERNADAZ                 CA     90000772731
9332849748B149   CHARISH          WAKEFIELD                UT     90014644974
93328639472B32   PAUL             DECKMAN                  CO     90013036394
9332899878B175   SCOTT            SEVERIN                  UT     31001329987
93329533A72B62   LUCAS            MOORE                    CO     90004785330
93329743272B3B   SOSTENES         FLORES                   CO     90009677432
9332975455714B   SADRA            CONTRERAS                VA     90004847545
9332B95AA72B56   CHRISTINA        KING                     CO     33033769500
9332BA16641296   MARQUEZ          PINNIX                   PA     90011190166
9333119515B548   JESSICA          MONTOYA                  NM     35061651951
9333227757B444   ALISHA           MCINTOSH                 NC     11062002775
9333228675B383   TRAVIS           CAVEN                    OR     44515522867
9333236768436B   ARIEL            GUERRA                   SC     19030773676
933326A8491521   ROBERTO          RIVERA TARIN             TX     90003166084
9333327253B366   JOHN             GOMEZ                    CO     33018132725
93334547572B32   ANGELITA         SANTOS                   CO     90012145475
933347A9155951   MARGARET JOANN   HOLLIDAY                 CA     90013487091
93335193772B56   MARIA            CHAIREZ HERRERA          CO     90011791937
93335339672B42   ROBERT           CASILLAS                 CO     90014063396
93335935897B59   DEREK            PFOHL                    CO     39006519358
9333623825B531   KARAN            MITCHEL                  NM     90014582382
9333771A597B59   MAYRA            GUERRERO                 CO     90014167105
9333797668436B   JEANNETTE        BROWN                    SC     90014189766
93337A9255B548   BESSIE           CASTANEDA                NM     90002120925
93338197472B56   MICHEL           REYES                    CO     90011791974
9333856714B299   MARK             HERNANDEZ                NE     90015165671
933393AA872B56   ARMANDO          GONZALES                 CO     90011573008
93339533572B32   PHILLIP          ONDIS                    CO     90010135335
93339664697B59   ANDREW           BARNES                   CO     90003476646
9333988724B949   PAUL             KING                     TX     90007278872
933399AA355938   AARON            COVARRUBIAS              CA     90009749003
9333B524672B56   CARLOS           ALVARADO                 CO     90006485246
9333B68794126B   BRUCE            NORMAN                   PA     51084516879
9333B712A91951   KIMBERLY         SIMS                     NC     90014327120
9333B76864B949   NIDAR            TAYLOR                   TX     90011137686
9333B771291399   GREGORY          CATES                    KS     90011857712
9333B88616193B   ROGELIO          MARTINEZ                 CA     46025658861
9333B947872B62   LUCIA            CASTANEDA                CO     33041939478
93341557472B3B   BONNIE           MITCHELL                 CO     33092985574
9334171983164B   TIMOTHY          HOUSER                   KS     22026967198
9334187834B554   ELIZABETH        BARRAZA                  OK     90013478783
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1636 of 2350


93341A6A78436B   JOSHUA        HILLER                      SC     90004000607
933421A6172B3B   SHALIMAR      CLARK                       CO     33098551061
933426A518B149   ATHLEEN       RICE                        UT     31092536051
9334298A155957   ENRIQUE       VELASCO                     CA     90010739801
9334318A472B32   MARTHA        LOPEZ                       CO     33082291804
933434A9372B22   MARICELA      ZAVALA                      CO     90009814093
93344421672B56   VERONICA      BICKFORD                    CO     33024564216
93344574797B59   ANAI          LOPEZ                       CO     90012585747
9334478AA41296   CHARLES       TEJCHMAN                    PA     90002577800
93344821972B22   DONNA         SHOWERS                     CO     90004998219
9334526885B531   JAIME         CERVANTES                   NM     90013602688
933453A3A5B548   ADELITA       SANCHEZ                     NM     90009583030
93345489A9153B   OLGA          HERNANDEZ                   TX     75066554890
933458A5372B94   KARMEN        BYRD                        CO     90003988053
93346551A8436B   CHRISTOPHER   GALE                        SC     90013825510
933468A3872B42   ESTRELLA      GARCIA                      CO     33073668038
93347383772B22   PATRICIA      MORALES-MARTINEZ            CO     90013603837
93347451172B42   ERIK          HERRERA                     CO     90006524511
933475A5572B56   ALFONSO       GORDILLO                    CO     33080295055
9334B53448B175   TREVON        JUSTIN YANNI                UT     90009945344
9334B55916193B   GINO          MONTESSI                    CA     46055285591
9334B65524B588   LATRICIA      MILEY                       OK     90007396552
9334B732891599   LUCERO        CARABALLO                   TX     90013267328
9334B865972B62   FLOR          CHAVEZ                      CO     90011478659
93351769A91399   ESTEBAN       LEYVA                       KS     29067077690
93352922772B22   VERONICA      RODRIGUEZ                   CO     33015679227
9335334A88B141   KATHY         DUFFIN                      UT     90006123408
9335397475B383   MRS NELIDA    TUFINO                      OR     90006309747
93353AAAA4B949   RIGOBERTO     MEJA-JUAREZ                 TX     76510610000
93354565372B42   ANABEL        SALGADO                     CO     90000995653
93355819272B22   LUIS          MADRID-JUAREZ               CO     90013938192
93355A22491532   DAVID         URRUTIA                     TX     90013660224
93355A66A81679   OZELLA        YOUNG                       MO     90014260660
9335634524B949   EBONY         HUNTER                      TX     90002443452
9335635297B444   PHOR          KPUIH                       NC     90003763529
93357538A97123   ASHLEY        BOGLE                       OR     44017535380
93357828497B59   NICOLE        SOLEDAD                     CO     90006218284
93358858A7737B   TRAVIS        COULTER                     IL     90015378580
93358AA3261979   JAQUELINE     VEGA                        CA     90015150032
93359142897B59   LUIS          GARCIA                      CO     90009901428
9335929A18436B   OCHIA         ALSTON                      SC     90010722901
93359625A91399   TERRANCE      SMITH                       KS     90013366250
93359679672B3B   CARLOS        PEREZ                       CO     33058186796
9335991A693755   ENOSHA        PAYNE                       OH     90009349106
9335B92345B383   MAGDALENO     OLASAVA OLMOS               OR     90002459234
9336111844B235   JOCELYN       WALKER                      NE     27012861184
93361846772B42   ROBERT        CLARK                       CO     90014408467
93361A27291521   STEVE         FLORES                      TX     90012760272
933626AA441296   KENNETH       LIPPOLD                     PA     90014046004
93362785A91599   EFRAIN        SANTIBANEZ                  TX     90012537850
9336318565B377   JOSE          CEJA                        OR     90003221856
9336369184B949   APRIL         PETE                        TX     76540906918
9336424634B235   KELLI         ABRAM                       NE     90007322463
9336451444B554   TERRY         MAYS                        OK     90010355144
93365A48543584   RHONDA        WALL                        UT     90004990485
9336657183164B   MARY          SIMON                       KS     22092525718
9336662494B588   ERIC          WALKER                      OK     90013506249
9336662A197B59   VALERIE       EHRLICK                     CO     39089696201
933667A554B949   JOSE LUIS     HERNANDEZ                   TX     90014917055
93366AA584B554   ANDREW        GUICE                       OK     90010150058
93367322872B42   APRIL         ZAPOYA                      CO     90010733228
93367375A8B149   JEFF          JOHNSON                     UT     90008303750
9336772A95B24B   JANET         MILLER                      KY     90013557209
93368113372B62   TRINA         COLLIER                     CO     90008521133
9336826947B444   RUBEN         IRIGOYEN                    NC     90009822694
93368539372B42   FELIPA        RAMON                       CO     90013945393
93368A43A54B42   AUGUSTA       HARRIS                      VA     90014060430
93369379797B59   TRAVIS        SHARLOW                     CO     90009373797
933694A475B548   BASILISA      RAMIREZ-MIJARES             NM     90013924047
93369618172B62   ANGELO        WHATLEY                     CO     90004366181
93369716972B32   MARTHA        UROZA                       CO     90007897169
9336985247B444   DEBORAH       MUKANBU                     NC     11024998524
9336B475491521   CHUN          SHAW                        TX     75027924754
9336B72A13B394   SHERRY        THOMAS                      CO     90009297201
9336B872A91951   EMMA          TORRENTON                   NC     90009468720
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1637 of 2350


9336BA71293755   MELISSA      MAGGARD                      OH     90004810712
93371664697B59   ANDREW       BARNES                       CO     90003476646
93372287A8436B   MICHELLE     MCCARLEY                     SC     90003742870
9337298985B383   KACY         BUTLER                       OR     90009609898
9337331185714B   GLADIS       PEREZ                        VA     90003263118
9337373995B975   RUBIDO       VACA                         WA     90015497399
93373A75872B42   JOSEPH       SCARLETT                     CO     90012940758
9337456654B588   KRISTINA     BERTRAM                      OK     21505285665
9337474A25B531   ISAAC        GARCIA                       NM     35038937402
93374A34461977   JOSE         AVENDANO                     CA     90011060344
93374A3615B548   DAVID        MORENO                       NM     90011750361
93374A96191399   DANIELLE     TAYLOR                       KS     29002130961
9337529344B554   MICHEAL      HORVATH                      OK     90012142934
933752A575B383   JEANINE      NICHOLS                      OR     44585572057
9337531175B548   CASSEY       OLIVER                       NM     90013213117
933754A979125B   JUSTIN       SMITH                        GA     90010094097
9337581A572B42   KATHEY       MACKLBERG                    CO     33007208105
93376121972B56   SUSAN        CAMERON                      CO     90012781219
93376214372B22   WORM         INC                          CO     33090082143
93377165972B22   BLANCA       MALDONADO                    CO     90012931659
93377924776B8B   ROBERTO      ROMO                         CA     90014619247
9337795A291599   ELIABETH     GIRARD                       TX     75042809502
93377A4648B149   NICOLE       ROSE                         UT     90013710464
93378125A97B59   GEORGIANN    ROMERO                       CO     90012521250
9337837514B554   ASIF         ALI                          OK     90014953751
9337942A75B548   CHRISTINA    CASTORENA                    NM     90013924207
9337962478436B   JINA         DANIELS                      SC     90010366247
93379A94772B3B   FRANCES      HERRERA                      CO     90011820947
93379A98855951   CLARENCE     WILLIAMSON                   CA     90013690988
9337B143877537   DONALD       CANTRELL                     NV     90015141438
9337B291291882   DALE         LEWIS                        OK     21065902912
9337B358172B42   JORGE        OCHOA                        CO     90013423581
9337B51417B33B   IRIS         CHICAS                       VA     81080055141
9337B62675B531   ZACHARY      MARTINEZ                     NM     90002826267
9337B7A1661979   LUIS         MORENO                       CA     90012857016
93381998772B56   HEATHER      FRANCO                       CO     33094279987
93382115572B22   JARED        SCOTT                        CO     90003131155
9338256AA43584   RACHELLE     SWEENEY                      UT     90011875600
93382664697B59   ANDREW       BARNES                       CO     90003476646
93383AA9272B42   MICHELLE     MANDEVILLE                   CO     90000970092
93383AA9343584   FOREST       JOHNSON                      UT     90007960093
93384535772B22   OSCAR        HERRERA                      CO     90013345357
93384A82897123   CLAUDIA      WHITE                        OR     44002060828
93384AA4672B3B   RONALD       BURKE                        CO     33074270046
93385194572B22   GERARDO      ONTIVEROS                    CO     33004631945
9338542215B548   RICARDO      LANDEROS                     NM     90013924221
9338557124B588   DEBANNY      MORENO                       OK     90011865712
93386362A3164B   TERESA       RODRIQUEZ                    KS     90013683620
9338637A261979   ANA          MALDONADO                    CA     90011583702
9338668768436B   SHARITA      CAMPBELL                     SC     19026386876
933868A1491399   MONICA       GALINDO                      MO     29006788014
93386988772B56   LUIS         DE LA CRUZ                   CO     90013259887
9338739917B444   MANDRICA     BUCHANAN                     NC     90011143991
93387A52291882   DELORES      NORMAN                       OK     21085640522
9338843254B949   IDELL        WARREN                       TX     90011154325
9338844264B554   CLAUDIA      GARCIA                       OK     90011144426
9338873A161979   JESSICA      RUVALCABA                    CA     46016327301
9338894985B383   DESTINY      WAJDIK                       OR     90011619498
9338982725B531   JESSICA      CHACON                       NM     90010838272
933899AA872B32   FRANSISCO    HERRER                       CO     33085849008
9338B1A1572B62   MIZAEL       PEREGRINO                    CO     33042001015
9338B41578436B   EARICA       MOTON                        SC     90014154157
9338B458955957   ANTONIO      PIZANO                       CA     90014174589
9338B544A72B42   KELLY        FLEMING                      CO     90013945440
9338B844272B22   JAY          JUNG                         CO     33077288442
93391158572B62   ANTHONY      PEREA                        CO     90013561585
9339154234B588   ELIAS        SAQUIJ                       OK     90015045423
9339156973164B   AMMON        OHLSON                       KS     90004795697
9339171397B444   NEFTAIL      COREA                        NC     90012377139
9339211A84B235   RACHEL       SOLBERG                      NE     27028631108
933923A1341296   ANTHONY      JEFFERSON                    PA     90009273013
9339388298435B   JOHN         EVANS                        SC     90003398829
9339388858B175   FILIBERTO    TAPIA RODRIGUEZ              UT     31032548885
9339391AA72B62   ADOLFO       LOPEZ TORRES                 CO     33081279100
93393A74A6193B   ROBERT       LOFFREDO                     CA     90010790740
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1638 of 2350


93393AA2991951   HAKIYM       BALTIMORE                    NC     90014460029
9339422A991532   ELIZABETH    CARO                         TX     90009642209
9339424567B444   MARCO        INGRAM                       NC     11022772456
9339491783164B   XIMENA       SODI                         KS     90013849178
9339558644B949   ASHLEY       YANCEY                       TX     90013635864
9339558973B366   NANCY        VILLANUEVA                   CO     90009565897
93396472772B22   SAUL         TORREZ                       CO     90009714727
9339712974B949   QUINN        TRAVETH                      TX     90012851297
9339718455B548   SHAWNDEL     DOMINGUEZ                    NM     90010451845
93397551A8B175   DAVID        WINKWORTH                    UT     31091875510
93397913A4B554   YOLANDA      VAZQUEZ                      OK     90011019130
9339842215B548   RICARDO      LANDEROS                     NM     90013924221
9339848415B531   MARYLOU      RASCON                       NM     35008264841
933986A325B383   ALISHA       HIBBARD                      OR     90013966032
9339871A797123   AMBER        CUNNINGHAM                   OR     90013567107
93399176A4B949   LINDA        COMEAUX                      TX     90014461760
933994A398436B   TONYA        ANCRUM                       SC     90000954039
9339962674B588   NICOLE       HENDERSON                    OK     90014526267
9339968255B383   SHERRY       DUREN                        OR     90013176825
93399A26172B56   CASEY        BRADY                        CO     33046280261
9339B167A4B588   ALEXANDRIA   WOODMANSEE                   OK     21510661670
9339B1A384B554   LISA         HIGGINS                      OK     90002811038
9339B254372B56   ANA IRIS     VASQUEZ AMAYA                CO     90011792543
9339B933672B22   C            B                            CO     90011019336
933B1485861977   JOSE         JIMENEZ                      CA     90010774858
933B1534691399   JENNIFER     PATTERSON                    KS     90010785346
933B15A3155963   CARMEN       SALDANA                      CA     90006965031
933B182A591326   CHERYL       GRUHN                        KS     29013848205
933B18A4472B22   MARY         KRAFT                        CO     90012588044
933B199A372B56   ABEL         JURADO                       CO     90010209903
933B2647777537   MARIANO      GONZALES                     NV     90007696477
933B2711291399   ISRAEL       ROSALES CORTES               KS     90007917112
933B289435B531   NICOLAS      VASQUEZ                      NM     90004388943
933B296137B444   SHAQUANA     STEPHENS                     NC     90003009613
933B33A127B444   JUAN         CHINCHILLA                   NC     11053443012
933B3429A72B3B   FREDDY       CONTRERAS                    CO     90008334290
933B3626A72B3B   FREDERICK    SADLER                       CO     90012156260
933B363445B383   ALEJANDRO    PENA MACHADO                 OR     90011416344
933B411A572B56   JEFFRY       DAVIS                        CO     33020631105
933B4258691399   ROCHELLE     MARTINEZ                     KS     90014662586
933B439694B554   LINDA        CORDOVA                      OK     90001683969
933B458A693755   RACHEL       MARTIN                       OH     90003415806
933B4922172B3B   MONIQUE      FILLS THE PIPE               CO     33065479221
933B4959672B42   DIONDRA      ARCHIBEQUE                   CO     90008499596
933B527614B554   TRACY        MAGEE                        OK     90007472761
933B547375B548   NAOMI        BETANCOURT                   NM     90011564737
933B6332A91521   PATRICIA     JIMINEZ                      TX     75070203320
933B6535272B42   AAHMEK       HAMS                         CO     90012495352
933B6692572B22   LIZBETH      MALPICA                      CO     33015376925
933B681243B382   JEAN         HURLBURT                     CO     33032818124
933B684118B149   VIVIAN       TABAHA                       UT     90003438411
933B6A3534B554   AUDRAY       GRACEY                       OK     90009170353
933B7383A5B548   JOEL E       HERNÁNDEZ                    NM     90013923830
933B7497372B84   MAGDALENO    ROLLA                        CO     90007824973
933B7524572B42   SAGE         NGUYEN                       CO     90013945245
933B7A82A91951   WENDY        BUSTILLO                     NC     17045110820
933B827896197B   BALDOMERO    PANTALEON                    CA     90014422789
933B828223164B   GINA         BEDOYA                       KS     90002212822
933B8384372B22   EDWARD       RUMMEL                       CO     33065253843
933B8435643584   LANCE        YOUNG                        UT     90015284356
933B852A977537   GRACIELA     HERNANDEZ                    NV     90008275209
933B926358B149   BRADY        DEVEO                        UT     90013482635
933B9553472B56   CARISSA      GUTIERREZ                    CO     90012875534
933B9584177537   JUAN         ESTRADA                      NV     90014825841
933BB123477537   VANESSA      HOLMBERG                     NV     90013191234
933BB425172B22   MICHAEL      JONES                        CO     90004804251
933BB746543584   JONES        EDWARD                       UT     90012527465
933BB844177537   MARCUS       HUTCHINSON                   NV     90014528441
933BB924957138   MAITE        VICTORIA PEREZ               VA     90010609249
9341126447B444   FABIOLA      AMADOR                       NC     90009292644
9341128A443584   CORI         COLLARD                      UT     90015612804
9341143185137B   KENDRA       CHILDRESS                    OH     90000154318
93412373197B59   SONIA        FELIPE-GOMEZ                 CO     90006183731
93413124272B62   ALBERT       ZAVALA JR.                   CO     33017401242
9341345324B588   SHANE        HENDERSON                    OK     90011204532
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1639 of 2350


93413531A91882   VICTOR        TORRES                      OK     21030755310
9341625A441296   SEAN          NOVAK                       PA     51029912504
93416491272B32   ANDY          HERNANDEZ                   CO     90015044912
93416A23A8B175   OLGA          CORTEZ                      UT     90003330230
9341714A87B378   MARIA         ALCAZAR                     VA     90005711408
93417429672B22   WILLIAM       ROGERS                      CO     90014744296
93417A76577537   ANTONIO       RODRIGUEZ                   NV     43034990765
9341871785B531   ANTONIA       SOTO                        NM     90009017178
9341897975B548   DAVID         MITCHELL                    NM     90003069797
9341899344B588   CHRISTINA     DIGHTON                     OK     90008069934
93418A12591399   ALICIA        LANG                        KS     90013890125
9341B26952B894   PAUL          NANNINGA                    ID     42014802695
9341B453572B3B   BERNADETTE    BARRON                      CO     33072774535
9341B647997123   FERNANDO      RODRIGUEZ                   OR     90005866479
9341B95293164B   AVALOS        RODRIGUEZ                   KS     90012969529
93421255A55957   AMY MARIE     CLAUDIO                     CA     90012612550
93421627772B56   DREA STEVE    RALEY                       CO     90011106277
9342168A84B949   JOSEPH        CURTIS                      TX     76508076808
9342194927B28B   EVA           HERNANDEZ                   SC     90012499492
9342195464B235   SARAH         WELLS                       NE     27092819546
9342195A961977   VALENTE       RAMIREZ                     CA     90011309509
934221AA55B548   IGNACIO       ROCHA SANTACRUZ             NM     90014641005
93422739572B42   LUANN         INGELS                      CO     33022007395
93423124272B3B   MELISSA       MESSINA                     CO     90011201242
9342329A255957   MARIO         MENDOZA                     CA     49004372902
9342425468B149   THOMAS        MODERNO                     UT     90014672546
9342461835714B   NELI          PALMA                       VA     90003276183
93424724672B42   JURI          GRISPINO                    CO     33018007246
9342515184B949   LOUIS         BEREZ                       TX     90010481518
93425433672B3B   LAURA         MONTES                      CO     90008364336
93425556272B56   AIDIL         SERNA                       CO     90002435562
93425843A93755   HEATHER       RATLIFF                     OH     90013958430
93425856972B3B   JUAN          M GODINA                    CO     90011318569
93425A48291951   JORGE         GIRON                       NC     90013600482
93425A9525B531   TINA          KING                        NM     90010100952
93427427972B32   VICTORIA      ROUNDTREE                   CO     33082114279
93427A33391521   DORA          MONTES                      TX     75063230333
93427AA698B175   BERTHA        RODRIGUEZ                   UT     31008990069
93428272172B32   JESUS         MENDOZA                     CO     33067252721
9342B113A97123   ANTHONY       FISHER                      OR     90014881130
9342BA16272B42   PAUL          HOLT                        CO     90008710162
9343195784B235   DAWN          BRATTON                     NE     27088669578
93431AA2672B42   MARK          ANDREW                      CO     90015200026
9343233985B383   LILIA         BUENO                       OR     44578393398
9343233A372B22   MAYRA         PRECIADO                    CO     90012823303
93432429572B32   JESUS         RAMIERZ                     CO     90008904295
93432813172B42   CESAR         AYALA                       CO     33008808131
93432A81191951   REKIYA        EARL                        NC     90012670811
9343313284B588   CHRISTOPHER   HOMER                       OK     90006441328
9343327175714B   RAMONA        PUJOLS                      VA     90003952717
9343387645B531   ROMAN         MATAS                       NM     35023728764
9343412444B949   MISTY         KIBODEAUX                   TX     90009491244
9343457843164B   DOMINIQUE     GALLOWAY                    KS     90014755784
93434A25491521   ALEJANDRO     CORTEZ                      TX     90005900254
9343543134B235   SUSAN         GILL                        NE     27049624313
93435478472B22   ASHLEY        GROSSETETE                  CO     33043514784
93435A69341296   TERRENCE      PASLEY                      PA     90011080693
93436443A5B383   RAFAEL        CORREA                      OR     90004944430
9343656424B265   MARGARITA     OCHOA                       NE     27078665642
93437161697B59   HANS          KAISER                      CO     39036991616
934371A2972B42   SABRINA       LUCAS                       CO     90012121029
9343797A755957   ALISSA        HELMS                       CA     90012409707
9343894858B149   ROY           HOLMEN                      UT     31084699485
93438AA8391882   ANABEL        GUTIERREZ                   OK     21081040083
93439A4484B588   LOUIS         SCAFFETTA                   OK     90005520448
9343B68153164B   NANCY         LYNN                        KS     22006716815
9343B71785B548   RACHEL        KOCH                        NM     90012527178
9343B777591599   SYLVIA        PEDREGON                    TX     75038907775
9343B79115B531   MARIA         EMILIANO                    NM     35051487911
9343BA4A96193B   BERAKI        TEKLESENBET                 CA     90002690409
9344162738436B   CHARLENE      ARMSTRONG                   SC     90015146273
9344384484B235   DULCE         VARGAS                      NE     27011288448
9344445995714B   SANDRA        WADE                        VA     81012614599
93444859972B42   EVA           PINEDA                      CO     33081668599
93444AA7197B59   HUGO          ACEVEDO MERCADO             CO     90010650071
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1640 of 2350


9344518328B149   AUSTIN         HIGGS                      UT     31093711832
9344548854B554   NOREEN         TATE                       OK     90010884885
9344638434B588   JESSICA        PETTIS                     OK     90007873843
93446A5422B982   ROMAINE        GHOSTON                    CA     90005090542
9344769998436B   NIDIA          GONZALEZ FLORES            SC     90013246999
93447A28361977   MINA           JENNINGS                   CA     90012980283
9344848A797B59   FRITZ          MEYER                      CO     90013494807
9344859A891599   CINTHYA        MORENO                     TX     75032795908
9344868524B269   JENNIFER       FAUCHIER                   NE     90005006852
9344895387B464   DENNIS         MORGAN                     NC     90011309538
934491AA872B3B   FRANKIE        FORTON                     CO     90002561008
93449234172B32   STACY          MERELLI                    CO     33061572341
93449246672B22   STEFANIE       NOWAK                      CO     33071002466
93449523172B62   SERENA         LAMORIE                    CO     33028085231
9344954A291521   RAYMUND        PHILLPS                    TX     90014295402
9344993414B949   VAN            WALKER                     TX     90014099341
93449A66161979   NOELIA         PEREZ                      CA     90014150661
9344B18A691579   CORY           GILMORE                    TX     90012931806
9344B213272B42   NAISHA         NELSON                     CO     90007212132
9344B272A91399   MONIQUE        MACK                       KS     29022532720
9344B5A645B383   CARLA          DAVIS                      OR     90014865064
9344B5A9691951   IVONE          KOREANO                    NC     90010145096
9344B676A91521   PACO           NAREZ                      TX     90015126760
9344B943977537   MARGARITA      BRAVO DELGADO              NV     90012829439
9344B967691599   PATRICK        RABB                       TX     90013779676
9344BA7765B548   CHRISTIAN      HERNANDEZ                  NM     90012650776
93451132A72B32   LAURA          KELTY                      CO     90005671320
9345184554B949   CARLOS         MEJIA                      TX     90012808455
934518A4577522   LELIE          ALDERSON                   NV     90010138045
9345234724B235   BRANDON        STARKS                     NE     27086933472
9345248515B548   GABRIEL        RAMOS                      NM     90013924851
93452553572B32   SILVIA         RIOS                       CO     33097665535
9345284A372B62   BERNADETTE     DURAN                      CO     33035438403
9345292428436B   DUNCAN         JAMES                      SC     90009009242
93453445A81672   CHRISTOPHER    HAMILTON                   MO     90013194450
9345384335714B   CRYSTAL        VINSON                     VA     81095018433
93454372997B59   BERNIE         JARAMILLO                  CO     90004723729
934553A2672B3B   LATOYA         WASHINGTON                 CO     33017553026
9345594A272B56   BARRON         LAURA                      CO     90005399402
93455A47172B56   RAUL           JUAREZ                     CO     33035140471
93456154372B42   YVONNE         GARCIA                     CO     90004841543
9345653293164B   BRITTANI       CHAPLIN                    KS     90012945329
93456686A81626   CHERYL         MORRIS                     MO     29001726860
9345689538B173   MATHEW         THOMSON                    UT     90009918953
93456945872B22   TAMMY          MUFFLY                     CO     33004639458
9345749125B548   ERIC           EDWARDS                    NM     90014074912
9345777A97B444   CARLOS         JIMENEZ                    NC     90002287709
9345844288B848   PERISE         UTU                        HI     90015054428
934585AA591521   MARTHA         CANALES                    TX     90000965005
934586A5543584   JT             BROWN                      UT     31034176055
93458927572B62   CALVIN         FISHER                     CO     90010489275
9345952465B548   ROCIO          GARCIA                     NM     90013925246
9345996A757122   DANNELLE       BUSH                       VA     90001079607
93459A9768B175   JULIZA         LOYA                       UT     90013690976
9345B124872B42   LUIS ANTONIO   RUBIO                      CO     90010091248
9345B221A4B554   VELIA          SOTO                       OK     90014282210
9345B32898B149   ARTHUR         SIDA                       UT     90009053289
9345B767891599   NANCY          TORRES                     TX     75085517678
9346124868B175   TASHA          MEMMOTT                    UT     90010312486
93461386172B42   VERONICA       MUNIS                      CO     90009663861
9346143748B149   MICHAEL        HAMLTON                    UT     31091024374
934622A2772B62   RICHARD        STEPHENS                   CO     90009852027
9346261A793755   ELIZABETH      VAN METER                  OH     90013626107
9346281A391399   ROBERT         BURTON                     KS     90012748103
9346343476193B   JAMIE          SZMANIA                    CA     46013404347
9346363A855957   CYNTHIA        RODRIGUEZ                  CA     49035856308
934639A7493755   RONNIE         MOORE                      OH     90007759074
9346421563164B   AMY            FISHER                     KS     90012332156
9346439274B588   LARONDA        SMITH                      OK     90005963927
93464554A55951   ANA            RAMIREZ                    CA     90015375540
9346462724B235   SHARON         HERALL                     NE     27085146272
934661A1243584   JOEY           SANDOVAL                   UT     90013671012
93466A5A841296   MARK           PATTERSON                  PA     51045260508
93467213272B42   NAISHA         NELSON                     CO     90007212132
9346722925B383   SHELLEY        BATES                      OR     44582662292
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1641 of 2350


93467486A7B444   NORMA           MORALES                   NC     90012414860
9346811824B554   LATASHA         LYNN                      OK     90013301182
93468555672B42   RAUDEL          CHAVEZ                    CO     90013945556
93468587A71945   NATIVIDAD       ORELLANA                  CO     90013495870
934689A9154127   JACOB           BAYNE                     OR     90013859091
9346953A591399   AUSTIN          ZENO                      KS     90015205305
93469798672B32   JUAN            REINA                     CO     90005027986
93469A39497B59   MARIA           AVALOS                    CO     90009930394
9346B159355957   BENNIE          AUSTIN                    CA     90013151593
9346B415597123   JEANNIE         WEST                      OR     90010254155
9346B774393755   CAROLINE        FEEMAN                    OH     90012847743
9346B824597B59   CHEWY           MALDONADO                 CO     90007868245
9347141445B383   COREY           TENTIS                    OR     44514314144
9347159465B392   APRIL           DALBY                     OR     90008625946
93471721A91579   VERONICA        GARCIA                    TX     90011937210
9347319135B383   ELIZABETH       ANTICH                    OR     90014811913
934733AA693755   JENNIFER        HICKMAN                   OH     90008363006
93474391372B56   BRANDI          GOODBIRD                  CO     90000353913
934745A8671964   ANDREW          GILLAND                   CO     90004565086
9347463934B588   NORA            MONTOYA                   OK     90012196393
93474831472B22   CHER            RIOS                      CO     33043978314
9347492457B444   CESAR           GARZA                     NC     90013889245
93474A5466193B   BLANCA          CABRAL                    CA     90005860546
9347562948B149   KELLY           RANSON                    UT     31066646294
93475837472B62   EVA             MEDINA                    CO     33096348374
93475883797B59   CELIA           MAYORGA                   CO     39014738837
9347591757323B   JUDITH          MARROQUIN                 NJ     90015049175
93475A8A397123   PABLO           MONTERO SIERRA            OR     44051540803
93476211972B62   WENDY           GRUMMONS                  CO     90008252119
9347635A672B22   ROSA            HERNANDEZ                 CO     90012883506
9347648898436B   TANYA           ROBINSON                  SC     19090274889
93476A27141296   RUSSELL         FRY                       PA     90010100271
93476A3A891399   CRISTINA        AMAYA SANTOS              KS     29092910308
93477147172B22   MANUEL          MARTINEZ                  CO     33004811471
9347716898B149   NICHOLAS        SNOW                      UT     90013301689
9347797298B149   MELONIE         WOODS                     UT     90010289729
93477A91493746   DIONNE          DUNCAN                    OH     90001730914
9347899A991951   GREG            LAKE                      NC     90007379909
934792A8161979   ELIAS           FLORES                    CA     90013032081
9347952A297B59   STACIE          STOCKTON                  CO     90001725202
9347B155161979   FRANCIS         BROOKS                    CA     90011721551
9347B162155985   CRISTIAN        CHAVEZ                    CA     90011751621
9347B192291344   SHANNON         HUNT                      KS     29084441922
9347B59685B531   JOHN            STEARNS                   NM     90013785968
9347B66832B256   BRYONT          KELLY                     DC     90010916683
9347B73A955957   ANGEL ESQUEDA   VILLALOBOS                CA     90013067309
9347BA29455957   MANUEL          IZQUIERDO                 CA     90011110294
9347BAAA538543   ITZURI          RIVERA                    UT     90012430005
934819A7891521   SABRINA L       LOPEZ                     TX     90013359078
93482112127B83   BETH            MOSS                      KY     90015411121
93482348972B3B   LON             BALL                      CO     90014823489
9348238714B235   NIKKI           HOOVER                    NE     90012103871
93482555972B62   CHRISTINA       BRUCE                     CO     90008405559
9348259385714B   BARBARA         BOGART                    VA     90003295938
9348265148596B   CAITLANDT       BILL                      KY     90011516514
93483572972B42   ANGELICA        LOPEZ                     CO     90013945729
934839A495B531   EVER            ARZONA                    NM     90013239049
93483AA5961979   YADIRA          TALAVERA                  CA     90013010059
93484361972B32   JON             DEAN                      CO     90007503619
9348443A84B235   KEITH           RANDLE                    NE     90002834308
934846A293164B   TRAVIS          WINKLEMAN                 KS     90013746029
9348475598B149   LESLIE          ELLER                     UT     31074727559
9348487A497123   MARITE          IBARRA LOPEZ              OR     90006708704
93484A5427B444   SHAMEKIA        ANTRES                    NC     90014780542
93485221172B22   IVONNE          ROMERO                    CO     33051252211
9348622A572B42   MARIA           GUTIERREZ                 CO     90012052205
93486A6765B383   JOHNATHAN       BRANT                     OR     90013320676
9348792415B332   RONSON          MARTINEZ                  OR     90010359241
934879A3A61977   RODRIGO         CABALLERO                 CA     46006359030
934879A8372B42   LORENA          RODRIGUEZ                 CO     90011619083
93488618A55957   JOHN L          IBARRA                    CA     90011766180
9348915485B383   JOSE            MARTINEZ                  OR     90010821548
93489182172B62   MELVIN          SCOTT                     CO     33087791821
93489694A97B59   DOMITILO        GOMEZ                     CO     90015196940
9348B28924B949   SHARONDA        VALLAIR                   TX     90009982892
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1642 of 2350


9348B51915B383   RANDI RICK    FOX -BLEHM                  OR     44588785191
9348B652891599   MARICRUZ      GRIJALVA                    TX     75032166528
9348B7A5597123   EVELYN        GEAN CALLAHAN               OR     90003417055
9348B816661979   CAROLINA      ESTRADA                     CA     90013388166
9348BA26693755   JUSTIN        BYNUM                       OH     90013730266
9348BA88372B56   ANDREA        GIRON                       CO     33083980883
9349139625B355   REVONDA       LITHERLAND                  OR     90013413962
93491812572B22   SAMANTHA      CASTRO                      CO     90014688125
93491A75861982   SHARIE        FORD                        CA     90006640758
934921A4772B3B   LAWRENCE      ANDERSON                    CO     90014251047
9349228A997123   KELLY         SUMERL8IN                   OR     90010242809
9349295414B554   JUAN          SILVA                       OK     21590359541
93492969772B3B   LARRY         ANDERSON                    CO     90013199697
93493475272B32   JASON         MICHAEL                     CO     90014134752
93493A9968436B   KATHLEEN      WEAVER                      SC     90014700996
934943A844B588   TEANNA        SHANNON                     OK     21559853084
934947A157B444   ANGLES        OCHON                       NC     90010047015
9349493A39125B   CHRISTOPHER   GARDNER                     GA     90013349303
93494A63291599   JAIME         RECIO                       TX     90013690632
9349515A161979   NATALIE       CUDDY                       CA     90010271501
9349556854B949   DANIEL        GARCIA                      TX     90008575685
93495819172B62   GITAIN        VIZCAINO                    CO     90012908191
9349657515B548   MARISOL       CONTRERAS                   NM     90013925751
9349677384B554   JAMES         GONYOU                      OK     90012987738
934967A738B173   JOSETTE       BORTZ                       UT     90011907073
9349746177B444   JAMES         JETT                        NC     11087484617
934977A8297B59   GLENDA        FLATEN                      CO     90010637082
93498255372B22   CHARDAE       ROSE                        CO     90014672553
93498827233B2B   AURELI        PEREZ                       OH     90014148272
93498A26A55951   ANGEL         BENITEZ                     CA     90012340260
9349924984B554   PLACIDO       VARGAS                      OK     90014092498
9349953385B386   DON           YOUNGMAN                    OR     90009455338
93499732172B32   JORGE         RUIZ-LOPEZ                  CO     33046177321
9349B258955957   ANDREA        ALBARRAN                    CA     90014452589
9349B5A6A5B548   MONICA        GRIFFIN                     NM     90004805060
9349B71213364B   CARL          FLYNT                       NC     90005537121
9349B86A28436B   ANNE          MARKIS                      SC     19055518602
934B1931361977   BENITO        HERNANDEZ                   CA     90011499313
934B1954972B42   KERRY         BLAKE                       CO     33056219549
934B2193193755   RUSSELL       WEBB                        OH     64506351931
934B2544372B22   PIERRE        BLACKBIRD                   CO     90013285443
934B322844B949   VICKI         SEGEADA                     TX     90014652284
934B326873164B   ERIC          CARTER                      KS     90014152687
934B3284293755   TINA          WALTERS                     OH     90010362842
934B3385391951   BLANCA        POLIO AGUIRRE               NC     90014213853
934B3486272B42   BRANISLAV     NJEGOVANIC                  CO     90006084862
934B3529872B32   BRITTNEY      COOLEY                      CO     90002795298
934B4616591951   PAMELA        KENNEDY                     NC     17048216165
934B473A65B548   DARLENE       SEDILLO                     NM     35086927306
934B5185177537   CALVIN        RYLE                        NV     90013461851
934B5511A4B235   ANTONIO       COLES                       NE     27077595110
934B5647391599   JUSTIN A      JAMES                       TX     90004216473
934B5923791554   IDELFONSO     CARRERA                     TX     90012449237
934B5A18A8B531   VICTOR        PAREDES                     CA     90014180180
934B5A39955957   CANDACE       POINTKOWSKI                 CA     90005540399
934B6448A72B56   ROSE          LUNDEEN                     CO     33006124480
934B6493831651   REBECCA       SALYERS                     KS     22010294938
934B7176493736   JANNEANE      OVERSTREER                  OH     90013451764
934B7241291951   DIANA         SERRANO                     NC     90014422412
934B7632391526   KARLA         SIFUENTES                   TX     90014006323
934B767525B531   MARIA         RESENDIZ                    NM     90014116752
934B7A34641296   ROMIE         YATES JR                    PA     51097460346
934B8397872B32   CRISTA        LEWIS                       CO     90014863978
934B845A32B982   MARIA         MENDOZA                     CA     90007254503
934B8741997B59   JOCELYN       AGUILAR                     CO     90002147419
934B881814B235   TAMEKA        CHUN                        NE     90008138181
934B9189372B42   REFUGIO       JAVALERA                    CO     33054981893
934B9256172422   MICHAEL       HANEY                       PA     51001422561
934B939113B328   GENEVIEVE     CHAVEZ                      CO     33089373911
934B989228436B   BELINDA       BOONE                       SC     90015118922
934B9A48872B32   OWEN          MARTINEZ                    CO     33030940488
934BB229941296   JAMIE         TRUMP                       PA     51085602299
934BB385397B59   GLORIA        CANCHOLA                    CO     39065063853
934BB415343584   DANNY         LOVATO                      UT     31030904153
934BB697155951   ESTHER        HERNANDEZ                   CA     49071336971
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1643 of 2350


93511529A61979   IVAN           LOPEZ                      CA     90013935290
935126A2841923   OSCARE         DE LA TORRE CAMACHO        OH     90015466028
9351275215B383   COURTNEY       RENFROW                    OR     90011107521
9351287258B175   KASHAY         MANZANELA                  UT     31085808725
935135A1855951   ARKIM          STOKES                     CA     90014505018
9351412529125B   JULIE          HAYMANS                    GA     14579911252
93514659172B42   MANUEL         MARTINEZ                   CO     90014006591
935153A6A72B32   TIFFANY        POLYAK                     CO     90012493060
935162A475B531   MONIQUE        PENA                       NM     90014462047
9351649184B554   ANDRE          COLBERT                    OK     90014234918
9351723864B235   SHALENA        DRIVER                     NE     27071052386
9351737394B588   JASHUA         JAMERSON                   OK     90015563739
93517445A72B56   JUAN           LUSIO                      CO     33015904450
93517457A8436B   KRISHNA        SEJOUR                     SC     90012164570
9351B274793755   CHRISTY        WHITE                      OH     64547152747
9351B31A291599   MARTIN         CALDERON                   TX     75035233102
9351B34233164B   SHANICE        DELEON                     KS     90012183423
9351B43375B243   LOPEZ          ROOFING                    KY     68099134337
9351B48455B383   FELIPE         NARRO                      OR     90009564845
9351B57714B554   GEORGE         NAVARES                    OK     21587745771
9351B5AA791599   ROSALINO       BAUTISTA                   TX     90010425007
9352148A597B59   MELISSA        HIDALGO                    CO     90009654805
9352164336193B   BOBBIE         BARRON                     CA     46067436433
9352241729125B   MIKELL         SANDERS                    GA     14598694172
93522835A4B235   CARRI          NIELSEN                    NE     27005928350
935229A7A4B554   JASON          PRICE                      OK     90010279070
93522A23555957   JOSE           CANO                       CA     49021200235
93522A27255951   FLORINDA       AVILES                     CA     90014820272
93523118A55951   JUAN           RUELAS                     CA     49087341180
9352328577B386   DEOMES R       SOLORZANO GODOY            VA     90009382857
93523493A4B554   TALITHACUM     HENDRIX                    OK     90013964930
935234AA68596B   P. ANNE        UPTON                      KY     66068114006
93523764572B3B   IVETTE         REYES                      CO     33014657645
935241A914B588   NANCY          RUSH                       OK     21558421091
935243A6461979   PORFIRIO       CUEVAS                     CA     90014063064
93524688A97B59   SAMANTHA       LOPEZ                      CO     39067626880
9352488844B554   ATTALLAH       BIRDSONG                   OK     90011068884
93524A1855B383   HERMAN         GRIMES                     OR     44509380185
935251A136193B   RUTH           BATTON                     CA     46035271013
93525283997B59   ROBIN          WEBER                      CO     90011562839
9352539524B588   JOHN           KESSINGER                  OK     90012603952
9352658994B588   JUAN           RAMOS                      OK     90014915899
93527224672B3B   PETRA          CASTORENA                  CO     90013862246
9352739176193B   MARIA          CASTRO                     CA     90006633917
935284A368436B   DAVONNE        WOLFE                      SC     90009824036
93528577772B42   MELBA          LOVATO                     CO     90013945777
93528A2A291399   JENNIFER       SPURGEON                   KS     90008420202
9352932277B444   FRANCO         BERMEO                     NC     90013333227
9352954256193B   AHNDREA        WILSON                     CA     46055355425
93529564A91521   JUAN           RIVAS                      TX     90011195640
93529A14891399   JESSICA        CERVANTES                  KS     29009050148
9352B21A377537   AUDRA          HOBBS                      NV     90013452103
9352B263393755   MIKE           JONES                      OH     90014502633
9352B658372B42   LINDA HAYDEE   RUIZ MARTINEZ              CO     90006286583
9352BA3113164B   MELODY         HOOPER                     KS     90007550311
9352BA55872B56   MELISSA        CARLSON                    CO     33029770558
9353148314B235   JESSICA        BORG                       NE     27064454831
93531875172B62   ILEANA         LOPEZ                      CO     90010608751
93531AA3672B22   TRAVIS         PETERS                     CO     90005100036
9353229534B554   ADONAY         MENDOZA                    OK     90001122953
9353235A785961   TAMRA          COX                        KY     90013833507
93532463872B3B   TRAVIS         OPEL                       CO     90004754638
9353253795B383   HELEN          SMITH                      OR     44592195379
93533229A72B42   JAMES          HARDIN                     CO     90009352290
9353328A25B548   EVA            LOPEZ                      NM     90012562802
93533352972B32   JULIE          REED                       CO     33024983529
9353341923164B   ADRIANNE N     HOWARD                     KS     90003894192
93533612A41296   RAY            ELDER                      PA     51033406120
93533A99472B62   VANESSA        MATTHEWS                   CO     90012780994
9353531374B588   LUIS           ZUNIGA                     OK     21544243137
9353537775B383   SAPHAT         CHHOEM                     OR     90010633777
935357A9661979   YZMAR          MUNOZ                      CA     90013077096
9353625895714B   NANCY          SERRANO                    VA     81061962589
9353674775B383   STACY          JAMES                      OR     90014637477
9353718A672B56   DAVID          SWAN                       CO     33073971806
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1644 of 2350


93538223772B3B   BIANCA        AVILA                       CO     90015332237
935386A128B623   MEREDITH      CUTAIR                      TX     90011676012
93538744272B29   KIMBERLY      BALDWIN                     CO     33012307442
93539347797B59   MARIA         CASTELO                     CO     39049003477
9353959735B531   NATHAN        VAN DYKE                    NM     35071485973
9353B33954B949   ADRIANA       MARTINEZ                    TX     90015293395
9353B477755951   RAQUEL        MAGALLANES                  CA     90010184777
9353B54256193B   AHNDREA       WILSON                      CA     46055355425
9353B573797B59   ERICA         RODRIGUEZ                   CO     90011165737
9354116585B383   ANGEL         LEBLANC                     OR     44528881658
9354118685714B   JOEL          GONZALEZ                    VA     90001341868
93541854A72B22   ESTRELLA      MASCARENAS                  CO     33006458540
9354197A94B554   MARTHA        CHAVEZ                      OK     21552669709
9354227945714B   MICHAEL       CRUZ                        VA     90003322794
935424AA197123   SANDEARLY     JOHN                        OR     90014664001
9354251A43164B   LETITIA       HOOD                        KS     90007175104
93542773272B62   NANCY         ARAGON                      CO     90006567732
93542837A5B368   ALLIO         BLONDI                      OR     90012608370
93542A11197B59   LIZBETH       ARREOLA-PALMA               CO     39061930111
9354351517B444   SADRIGA       GIBSON                      NC     90009315151
93543577772B42   MELBA         LOVATO                      CO     90013945777
9354386A35B548   FERNANDO      MONTANO                     NM     35033458603
935438A9672B22   HEATHER       SIMON                       CO     90000948096
93544232172B3B   MIGUEL        ERNESTO RIVERA              CO     33010982321
9354533453164B   VITA          GRADO                       KS     90014453345
93545A58693755   BEVERLY       HICKLIN                     OH     64586730586
93546857772B32   BETHSI        URIBE                       CO     33034718577
9354687824B554   ROBELDO       DASAEV                      OK     90013688782
93546918472B42   MARC          LOBATO,SR.                  CO     90011619184
9354713434B554   CLAY          BRINSON                     OK     90014841343
9354722195714B   BLANCA        CERNA                       VA     90001082219
93547699172B62   ED            WILLIAMS                    CO     90015136991
9354871785B548   ANTONIA       SOTO                        NM     90009017178
9354883562B256   JASMINE       ANDREWS                     DC     90013158356
93549423672B62   MARTIN        BARRON                      CO     90012164236
9354947795B531   ROY           THUNDERCLOUD                NM     90012904779
93549829697B59   GREGORIO      ARROYO POPOCA               CO     39089988296
9354B23864B588   GUILLERMO     VILLANUEVA SOLORZANO        OK     90009432386
9354B53125B523   BETTY         ULLMAN                      NM     90002095312
9354B53964B588   RONNIE        HATCHER                     OK     90014325396
9354B56A12B24B   CHRISTOPHE    HARGROVE                    DC     81014385601
93551538872B62   DOLORES       TYMITZ                      CO     33040565388
93551577772B42   MELBA         LOVATO                      CO     90013945777
9355188885B383   BERTHA        CARRILLO DE SOTO            OR     90009868888
93551AA6972B22   MALVIN        GARNETT                     CO     90014180069
93552532772B42   AURORA        RODRIGUEZ VALDEZ            CO     33077335327
93552876A2B254   SHANTE        BROWN                       DC     90012638760
93552AA1241296   JAIME         BURKHART                    PA     90014980012
9355318A97B345   CYRIL         MURRAY                      VA     90002171809
9355329437B444   CARL          RITTER                      NC     90010142943
9355336A891951   ALBERTO       GONZALES                    NC     90012773608
9355373945B548   OMAR          VIRAMONTES                  NM     35007547394
935538A1772B62   WONDA         GIBSON                      CO     90004868017
93553A72261977   STEVEN        CASE                        CA     90008340722
9355431A561977   SALVADOR      ORTIZ                       CA     90013573105
9355456965B531   TAMMI         HEATHERINGTON               NM     90012985696
9355539194B554   MANUEL        PORRAS                      OK     90013093919
9355568343164B   VANESSA       BUSBEE                      KS     22011236834
9355622184B588   RICARDO       MARTINEZ                    OK     90014092218
9355644878436B   LA-TOYA       WILDER                      SC     90008974487
9355648A572B22   RICHARD       WINTHERS                    CO     33060504805
93556577772B42   MELBA         LOVATO                      CO     90013945777
93556845A97B59   STEPHAINE     SANCHEZ                     CO     39027448450
9355721A772B62   STACY         BASSETT                     CO     33011402107
9355722893164B   SHYRELL       FISH                        KS     22065552289
93557484872B62   MARK          MASON                       CO     90012094848
9355846598B149   FERNANDO      CURIEL                      UT     31071894659
9355851584B554   CHRISTOPHER   CANNON                      OK     90012725158
93558A23A4B949   GABINO        GOMEZ                       TX     90006630230
93559359A7B444   PEDRO         SEGOVIA                     NC     90009493590
935593AAA61979   ALMA          RODRIGUEZ                   CA     90009663000
9355B16995B545   HEATHER       GOULD                       NM     90012311699
9355B514343584   CONNIE        CLEMENTS                    UT     31043425143
9355B639972B62   OWEN          BROWN                       CO     90013306399
9355BA84497B59   TRINIDAD      MORALES                     CO     90004550844
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1645 of 2350


93561AA7A5B241   WILLIAM       CHANSLER                    KY     68008250070
935625A1461979   JOE           MAMA                        CA     90010315014
9356268935B383   JUAN          MORENO                      OR     44509186893
93562A74A61979   MATIAS        RODRIGUEZ                   CA     90012340740
93563A35572B3B   EDWARD        PACHECO                     CO     33053010355
93563A76241296   ANDREA        JOHNSON                     PA     90010360762
93563AA955B531   NANCY         ESPINOZA                    NM     90013690095
9356411A891951   T             YARN                        NC     90012831108
9356474748436B   JAMES         WALKER                      SC     90013107474
9356499A54B949   RAYMON        CHOPANE                     TX     90014099905
93564A81661979   MARIA         LUNA                        CA     90006390816
935652A925B548   BLANCA        PARRA-PRIETO                NM     35044362092
93565389672B32   BREAN         MONDRAGON                   CO     33090953896
9356596378B531   CHRISTINA     JUNCK                       CA     90014539637
9356616815B383   CALVIN        PAPKIN                      OR     90007901681
9356638264B543   CHRISTOPHER   RUSH                        OK     90015173826
93566582172B22   JULIO         VILLALOBOS                  CO     90013955821
9356684872B982   MAYRA         GUEVARA                     CA     90008198487
9356731233164B   KIM           HOPPER                      KS     90012493123
9356772476193B   KENNETH       TRIBBLE                     CA     46016787247
9356774A372B42   JORGE         SANCHEZ                     CO     90012677403
935677A985B531   DONOVAN       DUMAS                       NM     35053797098
93567849272B62   MARIE         GALLEGOS                    CO     90013698492
93567977A91951   CARLA         WILKINS                     NC     90014949770
9356846814B588   MICHELLE      RANSOM                      OK     90011204681
93568691A4B554   CAROLINA      REYES                       OK     90009926910
9356923834B949   MARY          SALAZAR                     TX     76588952383
9356B897991521   STEVEN        PARTAIN                     TX     90014578979
9356B939343584   AMY           FISH                        UT     31038839393
93571129472B22   ERICA         SMELKER                     CO     90003131294
93571375972B56   REINA         ZUNIGA                      CO     90011793759
9357157568436B   LASHAY        FRAZIER                     SC     90014285756
9357164894B949   HECTOR        SANDOVAL                    TX     76539356489
93571A24755957   PEDRO         RODRIGUEZ                   CA     90008950247
93571AA4277537   VITALINO      RODAS                       NV     43034870042
93571AA9143584   ROGER         WIESE                       UT     90007630091
93572465972B22   DANIEL        PRIETO                      CO     90004014659
9357324189153B   ANA           ARREDONDO                   TX     75015942418
93573687372B32   ERIC          GANDORA                     CO     90010846873
9357385185B151   MICHAEL       REEVES                      AR     23087838518
93573852A91951   LIZANDRO      GARCIA                      NC     90010908520
9357484637B481   FERNANDO      PEREZ RIZO                  NC     90010098463
93576299353B2B   REKA          MEJIA                       CA     90014052993
9357644A78436B   ALFONSO       ROSAS                       SC     90012894407
9357665A641296   DOCK          FIELDER                     PA     90013966506
935767A5272B32   DROOPY        WALLZ                       CO     90012987052
9357747775714B   LUIS          MARQUEZ                     VA     81031354777
9357747A92B982   BLANCA        CERVANTES                   CA     90009704709
9357755645B531   ERIC          RICHARDSON                  NM     90011345564
9357781A372B3B   MARK          DELEON                      CO     90011448103
9357786226185B   KIMBERLY      JOHNSON                     MO     90013778622
93577A95941296   ANASIA        WAIT                        PA     90013020959
9357895A293755   JAMES         SMITH                       OH     90005979502
935789A6397123   ERICA         BERMA                       OR     90006119063
93579343A8594B   GREGORY       ARNETT                      KY     90008903430
93579A1A672B42   TOM           VO                          CO     90009310106
9357B1AA28436B   ARNULFO       DAMIAN GARCIA               SC     90011911002
9357B284791399   BRENDA        VEGA                        KS     90007502847
9357B84A943584   JAMES         LITTLE                      UT     90004328409
9357BA3A997123   DEBORA        GUITERREZ                   OR     90014160309
9358117694B554   LUCILLE       CEBALLOS                    OK     90014001769
935811A1377537   DOMINICK      WASILEWSKI                  NV     90010791013
93581954A31629   PATRICIA      DAVENPORT                   KS     90013189540
93581A11772B42   DINA          CANTOLI                     CO     90000970117
93581A88355957   CHHIEANG      SAM                         CA     90013460883
9358271A372B42   MANUELA       ESTRADA SALCIDO             CO     90012887103
9358335337B468   LUCIO         GARCIA                      NC     90001393533
9358358275B383   ZACH          BUTLER                      OR     44511485827
935836A8755957   KIAUNDRA      CRAWFORD                    CA     90004806087
9358374638436B   CHRISTINA     GREEN                       SC     90006117463
9358392714B949   KADIN         SIMIS                       TX     90014159271
9358445886193B   YOBANA        HERRERA                     CA     46062154588
93584897A5B548   CATALINA      ABEITA                      NM     90012918970
935851A327B444   CORNELIUS     BOONE                       NC     90002121032
93585764672B57   AMANDA        TIPPY                       CO     90013667646
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1646 of 2350


93585A7968436B   RONDA         BARRIENTOS                  SC     19031040796
93585AA2272B32   OSCAR         BARRIENTOS                  CO     90012410022
93586A2584B949   SANDRA        JOHNSON                     TX     90011890258
93586A45A8B149   NISHA         FLINDERS                    UT     90014720450
9358732145B548   THOMAS        LUKASAVAGE                  NM     35035483214
9358735315B531   JANET         ESPINOZA                    NM     35064233531
93587465972B32   GLENN         VARELA SAENZ                CO     90014734659
9358768238B175   ANAHI         SILVA                       UT     31008136823
935881A856193B   ROSSETTA      SIMPSON                     CA     90002491085
9358874344B949   ANDRE         COMEAUX                     TX     90008107434
935891A6397B59   ARTHUR        MARVIN                      CO     90005861063
935895A588B175   JOEL          MCCONKIE                    UT     31025795058
9358B14A98B194   JORGE         MARTINEZ                    UT     31077511409
9358B27864B588   MARKELLA      MUSTIN                      OK     90014562786
9358B974272B32   MAGGIE        BRADFORD                    CO     33078359742
93591721A91399   JIT           RAI                         KS     90014487210
93592A66991531   MICHELLE      COBARRUBIA                  TX     90007750669
9359312467B444   JORGE         LOPEZ                       NC     90013121246
9359323218B149   KRISTALEE     SUNDERLAND                  UT     90013132321
935932A5972B22   OMAR          GONZALEZ QUEZADA            CO     90012932059
93593A19591922   ROGER         RODRIGUEZ                   NC     90011490195
9359447435B531   IRMA          RODRIGUEZ                   NM     35091924743
9359542397B444   BISHU         TAMANG                      NC     90013724239
935963A362B982   MONICA        CRUZ                        CA     45029443036
93596453772B22   JEANETT       MEDINA                      CO     90014804537
9359678964B949   AARON         WHITE                       TX     90011947896
93596843A93755   HEATHER       RATLIFF                     OH     90013958430
9359792A772B32   DESIRAE       CUDJO                       CO     90011309207
9359793A377537   JAVIER        SEPULVEDA                   NV     90014909303
9359823218B149   KRISTALEE     SUNDERLAND                  UT     90013132321
93598526A41296   MELODY        TURNER-KONAN                PA     51016095260
93598A72977537   VIRIDIANA     ARIAS                       NV     90013820729
9359973115B548   AYESHA        SHARIFF                     NM     90013927311
9359977965B383   NICOLE        DIAZ                        OR     90000817796
935999AA272B42   JUAN          PUENTES                     CO     33068609002
9359B425697B59   BRYAN         VILLALVA                    CO     90012534256
9359B613772B33   ALAN          HERRERA                     CO     33051936137
9359B731691599   SARAH         GONZALEZ                    TX     90009257316
9359B7A724B949   VIRGIL        COOK                        TX     90012517072
9359B873961977   AMELIA        GIL                         CA     90011968739
935B131A34B949   RUBI SELENE   PIGG                        TX     90002743103
935B1492791599   MARY          HOSENDOVE                   TX     90003074927
935B235725B531   LYNN          JEFFERS                     NM     90014803572
935B239445B548   JOSHUA        TAFOYA                      NM     35096143944
935B2892272B62   GERRY         RAWLINS                     CO     33089948922
935B28A9172B3B   GASPAR        MACIAS                      CO     33055068091
935B2A12393755   DANIEL        BROWN                       OH     90015120123
935B316637B444   JACQUELINE    MOORE                       NC     11057981663
935B3418277537   FRANK         GALINDO                     NV     90010454182
935B3441491521   GABRIEL       TREJO                       TX     90013704414
935B3493797123   JANEAH        STOKES                      OR     44097844937
935B351458B149   SAMMY         BECKSTEAD                   UT     90011325145
935B3946876B41   ROSE          ROCKE                       CA     90012369468
935B4116277537   CARMEN        HERNANDEZ                   NV     90009481162
935B445713164B   JOHN          DOE                         KS     90013454571
935B452A861977   ALEJANDRO     PINON                       CA     90013945208
935B4764A97123   TORIN         ELIAP                       OR     90013097640
935B5173155957   VERONICA      RODRIGUEZ                   CA     90013401731
935B518A86193B   ANGEL         DE LA TORRE                 CA     90006921808
935B56AA55B548   FELICIA       ANAYA                       NM     35018136005
935B62A619376B   LACHAUNNA     TOLLIDER                    OH     90008332061
935B6617372B22   JOSEPH        LOPEZ                       CO     33040936173
935B6824491521   SEAN          JOHNSON                     TX     90012168244
935B685594B235   MARY          PLATER                      NE     27047738559
935B7188572B22   BROOKE        JOHNSTON                    CO     90012931885
935B7321755957   GUADALUPE     PONCE                       CA     90015073217
935B7364161979   RAUL          GONZALEZ                    CA     90010323641
935B757818B343   CIRA          MOONEY                      SC     90015225781
935B762815B531   ADRIEL        WHITE                       NM     90010086281
935B774A172B22   JOEL          SANCHEZ                     CO     90003867401
935B7819691521   ANA           LIRA                        TX     90012598196
935B787A872B62   JOSE          ROCHA                       CO     33011718708
935B7948755957   NEIL          BEYION II                   CA     90012269487
935B81A6A77537   BRAULIO       LOPEZ                       NV     90013971060
935B8431755951   LAURA         GARCIA                      CA     90000824317
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1647 of 2350


935B8A99443584   DAVID        MCUNE                        UT     31079720994
935B918A28B175   FROILANA     HERNANDEZ                    UT     90009191802
935B921A691521   JULIANA      ENRIQUEZ                     NM     75007692106
935B9426A72B3B   JOHN         MAUGER                       CO     90014574260
935B9493861979   JOSE         PEREZ                        CA     90010334938
935B969914B588   CIARRA       KIMBLE                       OK     21554696991
935B9744997B59   NICHOLAS     MILLER                       CO     90008407449
935B9829172B22   WENDY        MEZA                         CO     90013938291
935BB12695B531   VINCENT      MONTOYA                      NM     90010121269
935BB419477537   AMBER        HITCHCOCK                    NV     43007884194
935BB511161977   DEBORAH      BROWN                        CA     90013945111
935BB535461979   CACHINBA     GONZALEZ                     CA     90013925354
935BB62A655957   JILBERTO     MARQUEZ                      CA     90013056206
935BB757572B62   AMBER        WOLF                         CO     90000637575
935BB89A493738   JOQUENTIN    GUY-WATFORD                  OH     90010748904
935BBA51361945   STEVE        SUSLIK                       CA     90003310513
935BBAA7743584   BARBARA      SNYDER                       UT     90013400077
93611416472B56   FERNANDO     CONTE                        CO     90011794164
9361189755B383   DOUG         LAMB                         OR     90011618975
936118A6291599   CESAR        BELTRAN                      TX     75005118062
936119A965B531   GERARDO      SAENZE                       NM     35008049096
9361223624B554   ERIKA        SALAZAR                      OK     90013672362
93612612A77537   JANAE        KUHNS                        NV     90000586120
9361329A955957   ANGELICA     MORAL                        CA     90012592909
93613357A97B59   ROMEROS      MARCOS                       CO     90010373570
93613456172B42   NATHALY      SANCHEZ                      CO     33038904561
93613834372B42   JOSE         HERNANDEZ                    CO     90013968343
9361423974B949   ADAM         BROUSSARD                    TX     90012852397
936142A7A7B36B   JOSE         MARTINEZ                     VA     81017792070
9361444A19374B   LARRY        MCKINLEY                     OH     64569454401
93614518A5B548   TRACY        LINDSEY                      NM     90003145180
9361465235B531   BRIAN        ROBINSON                     NM     90012746523
93614837172B22   BRYAN        JIMENEZ JR                   CO     90013938371
93614875672B3B   VICTOR       MIER-LOBATOS                 CO     33078728756
93615376A97B59   MARTHA       SANCHEZ                      CO     90008933760
9361576985B383   TERRY        DOWTY                        OR     90014757698
93615A5515B548   ALMA         ORTIZ                        NM     35090560551
93615A55655947   JOSE         RIOS                         CA     90006840556
93615A95A7B392   ELIAS        ROMERO                       VA     81068600950
93615A9858B149   TYLER        HESS                         UT     31020180985
9361716928436B   APRIL        PORTER                       SC     90011881692
936171A2972B42   PAOLA        CHAVEZ                       CO     90012471029
9361757385714B   ERMEN        ALVARENGA                    VA     90003355738
936178A2672B56   THERESA      GUARDIPEE                    CO     90004108026
93617A4A88B149   NATHAN       ISLAS                        UT     31067030408
9361973115B548   AYESHA       SHARIFF                      NM     90013927311
93619932397B59   JESUS        GARCIA                       CO     90012539323
936199A1957137   ELMER        BONILLA                      VA     90010039019
9361B1A2472B22   HABIB        GUTIERREZ                    CO     90012941024
9361B268391951   ALLISON      GRAVES                       NC     90007062683
9361B412597B59   BRYAN        AGUIRRE                      CO     90009294125
9361B6A1491521   ALEJANDRO    LEYVA                        TX     90011196014
9361B75815B383   CARMEN       RODRIQUEZ                    OR     44516407581
9361B884172B32   FLORES       DARRELL                      CO     33080128841
9361B93872B836   LESLIE       DEHART                       ID     42015009387
93621347A92825   LORENA       JIMENEZ                      AZ     90014543470
9362149384B55B   JOSE         DELGADO                      OK     90010624938
93621647472B56   KELLILYNN    CARMICHAEL                   CO     33084466474
93621A1864B235   MARQUITA     BROWN                        NE     90004180186
93621A1918436B   PATRICIA     BARBARIS                     SC     19064240191
93621A78772B3B   JAIME        RIOS                         CO     90013560787
9362279AA55951   GRACIE       EXUM                         CA     90010207900
93622995372B62   DAISY        HERNANDEZ                    CO     90012979953
9362398A361979   CARLOS       SOLER                        CA     90014819803
93624311886B31   DONNA        CHASE                        CT     90014523118
93624372A61977   DIANA        VILLANUEVA                   CA     46057203720
93624AA838436B   ELIZABETH    MEDLEY                       SC     90012200083
9362544A491951   JOHN         JOINT                        NC     90015344404
93625A45161977   RICARDO      LOPEZ                        CA     90013970451
9362654A291521   RAYMUND      PHILLPS                      TX     90014295402
93626A66991531   MICHELLE     COBARRUBIA                   TX     90007750669
93627337A51328   DONNA        FOSTER                       OH     90013813370
936281A854B554   GAMALIEL     PICHIYA                      OK     90012491085
936284A4761979   MATT         FIDLER                       CA     46016534047
9362879225B531   DORIS        SAAVEDRA                     NM     35006227922
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1648 of 2350


93628A5A155957   CESAR             HERNADEZ                CA     49033180501
9362B13587B444   CENEDRA           THOMPSON                NC     90013411358
9362B414357135   ROSE              DICKSON                 VA     81009544143
9362B876955957   MELISSA           GOMEZ                   CA     49017708769
9362B96528B149   ANN               BARNETT                 UT     90014729652
93631617472B42   EFRAIN            RAMOS                   CO     90013946174
93631894A72B62   ANHELICA          SANDOVAL                CO     90013178940
93631A4633164B   ROBIN             ROOKS                   KS     22006700463
93632254297B59   ALBERTO           PEREZ                   CO     90013732542
93632431272B56   DIANA             MONTELONGO              CO     90011794312
93632792172B22   JOEL              QUINTANA                CO     33093497921
93633138672B56   OLGA              DIAZ                    CO     90012781386
93633912472B22   ALEJANDRO         MENDOZA                 CO     90015039124
936339A935B531   JESSIE            ENCISO                  NM     90015139093
9363432714B554   HEIDI             HABERER                 OK     90011043271
936347A738B173   JOSETTE           BORTZ                   UT     90011907073
9363513114B588   GEORGE            WILSON                  OK     90013911311
936351A1391242   JOHN              SMITH                   GA     90009901013
9363521996193B   AGUSTIN           TIRADO                  CA     46025802199
9363547938436B   LATOYA            WASHINGTON              SC     90015084793
93635912572B62   JOSH              GRAVES                  CO     90003169125
93635A49472B22   MONICA            NUÑO                    CO     90008140494
93635A78772B42   MARIA             PINEDO                  CO     90014210787
936365A7397B59   FELMAN            TOMAS                   CO     39090045073
936367A9172B62   NANCY             VELOZ HOLGUIN           CO     90003797091
93636A32791521   ALEJANDRO         CHAVEZ                  TX     90013400327
93636AA267323B   OSCAR             CRUZ                    NJ     90014270026
9363753325B531   DIAMONIQUE        THOMPSON                NM     90012625332
93637622572B56   ANGELITO          PALMA-VENTURA           CO     90004946225
9363787A88B175   COCHRAN           ROBERT                  UT     90003338708
936383A6791599   ANGEL             MORENO                  TX     90000233067
93638856172B3B   MAGDALENA         JIMENEZ RIVERA          CO     90014318561
93638A71672B22   APARICIO          MENDEZ                  CO     90012210716
93638A82461977   CHRISTIAN         MARTIN                  CA     46050680824
9363932156193B   MARIA             SANCHEZ                 CA     46085953215
93639619A61979   IVAN              ROSALES                 CA     90013936190
93639635A5B383   DON               BRISACK                 OR     90008506350
9363B365961977   ROSA              MEZA                    CA     90012043659
9363B3A2497B59   RENE              RODRIGUEZ               CO     39063743024
9363B457855951   CASEY             COLE                    CA     90013714578
9363B586233698   URSULA            STRICKLAND              NC     12063435862
93641217A72B62   JEFF              GARCIA                  CO     33051502170
9364147A68B149   KARLA             WOODWARD                UT     90011944706
93641481797B59   MARIA             ROMERO                  CO     39003694817
93641A7424B588   BRITTANY          DUNAWAY                 OK     90013550742
93642156872B3B   MU LWER           SET MU                  CO     33071021568
9364273AA91399   CLARISSA          AREVALO                 KS     90014877300
93643119372B62   MATHANIEL         MCKAY                   CO     90011321193
9364324A143584   KOLTEN            TOLMAN                  UT     90013852401
9364356978436B   WENDY             DUKE                    SC     90012745697
9364357A797123   JASON             WISEMAN                 OR     44063635707
9364359A591951   TYQUANNA          BULLOCK                 NC     90009635905
9364412239125B   DENNIS            BROWN                   GA     90010311223
9364432645B548   STEPHANIE         SALAZAR                 NM     90011003264
9364473215B548   ANTONIO           NAVARRO-ROSAS           NM     90013927321
9364561814B554   OSCAR             CRUZ                    OK     90014376181
9364582A25B531   SONYA             SORIANA                 NM     35095668202
93645859372B22   VAN               ZING                    CO     33008578593
93645955972B32   VICTOR            DE GREGORIO             CO     90006129559
93646295172B99   WENDY             RODRIGUEZ               CO     33072192951
93646647197B59   BIELCA            TELLEZ                  CO     90006366471
9364712A993755   GRACE             DERRICK                 OH     90010481209
936475A754B588   CHANDREAICA       GRIHAM                  OK     90011005075
9364769766193B   LESLIE            CHAVEZ                  CA     46025806976
9364773977B444   DELMI             SANABRIA                NC     90014837397
93647816597B59   LEELAND           VIEYRA                  CO     90009148165
93647A21172B83   ELI               GRASMICK                CO     33016130211
93648143472B56   DELANGLO STEVEN   NANINO                  CO     90012781434
93648368772B42   JOSEPHINE         GALLEGOS                CO     90006043687
93648435872B56   RAYLENE           CHAVEZ                  CO     90011794358
9364889A85B548   MONTROSIE         STALLARD                NM     35072688908
93648A9685B531   NASTACIA          OTERO                   NM     90008280968
9364929A58436B   BRIAN             REID                    SC     90012692905
936496A364B588   MARIA             CAMACHO                 OK     90010286036
93649726572B32   PATRICIA          MANZANARES              CO     33096297265
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1649 of 2350


93649835A72B3B   JUAN           OROZCO                     CO     90006928350
9364987967B444   PATRICIA       DE LA CRUZ                 NC     11027758796
9364B158791599   MARIO          TORRES                     TX     90008241587
9364B38694B949   EDGAR          SAPON                      TX     90003063869
9364B486A4B554   JAMES          LARRY                      OK     90011864860
9364B991972B3B   MARIA          HERNANDEZ                  CO     33050269919
93651288497B59   JOSE           CARMONA                    CO     39053012884
9365268A261556   VONDRELL       SANTIAGO                   TN     90009166802
9365298355B531   EDITH          CHAIDEZ                    NM     90010319835
93652A7834B588   DOMINIC        WILBURN                    OK     90013550783
93652A8A28436B   CHEMEL         WILSON                     SC     90010020802
9365332375B383   JOSEPH         HAY                        OR     90008103237
9365476594B235   SEAN           PARKER                     NE     90011787659
93654A55691399   KENNETH        DOLES                      KS     90012760556
9365566228436B   KAREN          GROVES                     SC     90012896622
9365572914B588   DAVID          MILAM                      OK     90005987291
93655744297B59   JEFFREY        CALLAS                     CO     90012987442
936558A1A61977   JOEL           RODARTE                    CA     46083178010
9365653158B149   MARIA          RAMIREZ                    UT     90008725315
936565A415B383   YANET          NARANJO                    OR     90013925041
93656A37593755   CHINAH         POWELL                     OH     90008850375
936571A7372B22   LACE           LESLEY                     CO     90012941073
9365754718B175   ILENE          POSEY                      UT     31056145471
9365763295593B   ANTONIO        AREVALO                    CA     90005696329
93657A33A5B531   DAISY          RONQUILLO                  NM     35072280330
93657A54493721   JAMES          CHANCELLAR                 OH     90007500544
9365814622B894   SERGIO         BARRAGAN                   ID     42097581462
936582A5391951   ASHLEY         HUNTER                     NC     90011052053
93658455A72B22   MICHELLE       NISSEN                     CO     90011554550
93658832272B42   JOSE           LUIS-GARCIA MONCADA        CO     90003178322
9365888A597123   CHARLES        LARSEN                     OR     90013898805
936592A9585882   DAWN           WEAVER                     CA     90009572095
93659A69572B3B   STEVEN         PORTUGAL                   CO     90010280695
9365B19924B588   PAUL           GALLIMORE                  OK     21551881992
9365B1A7372B22   LACE           LESLEY                     CO     90012941073
9365B435872B56   RAYLENE        CHAVEZ                     CO     90011794358
9365B694261979   MARIANA        ESPARSA                    CA     46064006942
9365B912372B56   ANTHONY        JORDAN                     CO     90013059123
9366136195714B   SANDRA         DE LEON                    VA     90005173619
9366142727247B   CLIFFORD       MILLS                      PA     90001794272
93661479772B62   LESLIE         RODRIGUEZ                  CO     90007654797
93661929A8B185   DELMY          ORDUNA                     UT     90012999290
9366321A477537   SUAFANUU       ROPATI                     NV     90014602104
936638A5272B3B   FERMIN         FRIAS                      CO     33019398052
93663A42772B62   ROBERT         LITTS                      CO     90013120427
93663A85897B59   MARCUS         SCHILREFF                  CO     90007670858
9366424995B33B   LYDA           ALVAREZ                    OR     90007662499
9366437234B588   BRANDY         GOFORTH                    OK     90014573723
9366449918B693   CESAR          JAUREGUI                   TX     90014114991
936648A6677537   ANNA           DAVIS                      NV     90015088066
93664A59791399   MARTHA         LONGORIA - ORTIZ           KS     90012080597
93665433372B32   DIANA          BARRAZA                    CO     33063264333
936658A8472B62   JONATHAN       WILLIAMS                   CO     90008488084
936668A314B235   FATIMA         SANCHEZ                    NE     27011638031
9366691488436B   MARY           HORN                       SC     90010469148
93666A17872B42   MATT           MARKLE                     CO     33009950178
9366715118B149   TIMSON         ONA                        UT     90014761511
93667213772B62   MARIA          RIVAS                      CO     33000222137
9366723914B235   LESLIE         PROPP                      IA     90003662391
9366799768436B   FELIX          DAVIS                      CA     19023929976
93668113272B3B   JESSE          GONZALES                   CO     90014601132
9366883868B149   HOLFELTZ       K VALEEN                   UT     90008738386
93668A12791521   PATRICIA       MILLARD                    TX     75039290127
93668A89272B3B   SHEILA         SMITH                      CO     33079910892
93669127272B32   GAIL           BARBER                     CO     33023231272
93669355597B59   MATEO          VAZQUEZ                    CO     90015033555
9366974348B149   TASSIA         SCOTT                      UT     90011807434
93669787297B59   CHRISTOPHER    BACA                       CO     90010777872
9366B235A91951   MAKAELA        WATSON                     NC     90010382350
9366B242377537   OLIVER         GARRISON                   NV     43098532423
9366B25529125B   KELLY          PRINGLE                    GA     90005442552
9366B25684B235   AARON          REISS                      NE     90010442568
9366B428172B3B   PAULA          GONZALEZ                   CO     90008024281
9366B473197123   TIFFANY JUNE   BRYANT                     OR     90012854731
9366B681172B22   JAMES          JENSEN JR                  CO     33006176811
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1650 of 2350


9366B6A5571965   RICHARD      SMITH II                     CO     90010726055
9366BA28A91599   JAIME        RODRIGUEZ                    TX     90015010280
936712A6577537   CRYSTAL      MURREY                       NV     90011512065
936719A2772B22   EDNA         DIMAS                        CO     90013409027
93672125972B42   JOY          BECK                         CO     90012431259
93672287A9125B   FELICIA      JOHNSON                      GA     90006242870
9367256A35B531   AUREA        ORTIZ                        NM     35056295603
93672657272B62   MATHEW       DAILEY                       CO     90007416572
93672988A4B554   JOSE         REGALADO                     OK     21545009880
9367311A15B548   RITA         MARTINEZ                     NM     35060691101
936736A816193B   ROSA         HERNANDEZ                    CA     90002856081
9367377A94B554   SILVINA      ESTRADA                      OK     90006207709
9367456975B548   RONALD       CASCANTE                     NM     90013935697
9367494694B588   JEREMY       MICHEAL                      OK     90015159469
9367568345597B   EDUARDO      SANTOS                       CA     90000256834
9367575697B444   ELIBERTO     RAMIREZ                      NC     90013447569
936761A666193B   MARIO        ALVA                         CA     46014291066
9367644477B234   DOMINIC      HOFFMAN                      CO     90011074447
93676A53997123   AUSTIN       ALBERT                       OR     90011360539
9367722A943584   ERICK        GRANGE                       UT     90010132209
936773A1557131   GRETEL       VALDESON                     VA     90011653015
93677599672B3B   SANDRA       CATANEDA                     CO     90006755996
9367794A155951   STEPHANIE    LEWIS                        CA     90009399401
93677A17A97B59   ALEJANDRA    HIDALGO                      CO     90009550170
9367829438B149   JAMES        SCHILILNG JR                 UT     31021282943
93678363772B32   BRIAN        HARRIS                       CO     90012923637
93678654772B3B   DAVID        CALDERON                     CO     33033736547
9367878348436B   YERBY        DESAUSSURE                   SC     90013117834
93678957A72B56   OLGA         ORTIZ                        CO     33038209570
93678A5294B554   JIN SUK      SEONG                        OK     21522960529
93678A7A14B588   CHEVY        GRANT                        OK     90010420701
93679571A5135B   WILLIAM      BAKER                        OH     90012595710
9367964246193B   HILDA        RAMOS                        CA     46025816424
9367968778436B   DANIEL       HERRERA                      SC     90015066877
93679927697B59   FRANCISCO    BUNELOS                      CO     90012749276
9367B22395B548   DAVID        FIERRO                       NM     35095222239
9367B521141296   JOHN         FIELDS JR                    PA     90008545211
9368143254B554   CINDY        NORRIS                       OK     90007834325
93681836572B42   PATRICIA     SERNA                        CO     90013968365
93681A5675B531   RUSS         MITCHELL                     NM     90008250567
93682443772B22   SALIHAH      LYLES                        CO     90010294437
9368291994B588   DONALD       TILLISON                     OK     21508269199
9368311995B383   BRANDON      JOHNSON                      OR     90013921199
9368342A172B56   EVELYN       ARCHULETA                    CO     90004434201
93683688272B62   MIRACLE      ARAGON                       CO     33036186882
9368422A943584   ERICK        GRANGE                       UT     90010132209
936847A6261979   BRANDONN     JAUREGUIN                    CA     90013267062
93685622172B32   FRANCISCO    SANCHEZ                      CO     33067296221
93685991472B42   CANDELARIA   TORRES                       CO     90009879914
93686565A72B62   DANIELA      ESQUIVEL                     CO     90012485650
93686A2A791521   ELSA         GUERRERO                     TX     75031470207
9368768615B531   JUANITA      PENA                         NM     35075966861
93687873A8436B   TANISHA      POWELL                       SC     90002088730
9368829685B243   RAYMOND      WHITE                        KY     68096162968
936886A4491399   DEYSI        RAMOS                        KS     90013356044
9368877342B25B   ALONZO       THOMAS                       DC     81014917734
93689521772B56   SANDRA       RIVAS                        CO     90007675217
93689A12455957   DEBBIE       SMITH                        CA     49013860124
9368B227972B42   NICHOLAS     MARTINEZ                     CO     90014472279
9368B276372B3B   GREGORY      FISCHER                      CO     90011882763
9368B2A3561979   ROSA         VENITES                      CA     90011592035
9368B917255951   MARIA        GOMEZ                        CA     90015099172
9368B968155957   CLARISSA     DEL TORO                     CA     90014729681
9368B99A491951   IVY          WORLEY                       NC     90007949904
9368BA3167B36B   KAREN        DYSON                        VA     90011490316
9368BA71A91599   JOSEPH       DAVIS                        TX     90004240710
93691159472B42   KIANTE       MURRAY                       CO     90015121594
9369156A755957   STEPHANIE    MAGANA                       CA     90014205607
93691A2938B175   JOHN         BABBEL                       UT     31044310293
9369253A461977   RAFAEL       PRECIADO                     CA     90009625304
9369255288436B   GERALD       KENNEDY                      SC     90013835528
936929A827B444   ALEJANDRO    BONILLA                      NC     90008759082
93692A57872B22   JULIA        MARIE                        CO     90014100578
9369346395B378   GRACIELA     CORIA                        OR     90007794639
936934A3A91599   MARIANA      CLARKE                       TX     90013854030
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1651 of 2350


93693548972B32   ELEUTERIO           RUANO                 CO     90014475489
9369359A855951   TANYA               ROBINSON              CA     90014565908
9369464A391521   RAMONA              VASQUEZ               TX     75001186403
9369467828B149   PAMELA              COBURN                UT     31040696782
93694A31272B62   KELLY               NORMAN                CO     90008490312
93695A9A64B949   ARMON               YOUNG                 TX     90014890906
9369614785B531   LISA                ORTEGA                NM     90010191478
9369661445B548   RAUL                OROZCO                NM     90013936144
93697283A97123   MARIA               AGUILAR               OR     90012722830
93697287A91599   MAGDALENA           VIVAR                 TX     90005732870
93697335172B62   WARNISHA            WILLIAMS              CO     90006923351
9369752584B554   LIZPETH             VICENCIO              OK     90013965258
93697A51661979   NAOMI               BROADBENT             CA     90014820516
9369824988B149   MARIA DEL ROSARIO   ESPARZA               UT     90005882498
93698525972B3B   RIVERA              MARIA                 CO     90007415259
93698888372B56   DAISY               MORENO                CO     33084008883
93698929872B22   JO ANN              VARGAS ESPINOZA       CO     33060749298
93698A4A191399   DANIEL              BUIE                  KS     29038380401
93699726872B62   ALPHA               SANGARE               CO     33086087268
9369973464B588   KRISTY              BINGMAN               OK     21568597346
9369B172261977   MARIA               MORA                  CA     90009651722
9369B31395B383   SHERESE S           WILLIAMS              OR     90003903139
9369B598791532   MIKE                MARTINEZ              TX     75006075987
9369B637791521   SASHA               KELLER                TX     90011196377
9369B728261971   PHILIP              PONTO                 CA     46006577282
9369B894A8B13B   JUSTINA             PEARSON               UT     31094688940
9369B91135B54B   COURAGE             ADAKAI                NM     90015179113
9369B967272B42   KEVIN               ALLEY                 CO     33051219672
936B111A255957   MARIO               RUELAS                CA     90015121102
936B113A15B548   SCOT                SUTFIN                NM     35042571301
936B116A443584   LUIS                MORAN                 UT     90014371604
936B117A34B554   DANTE               MASON                 OK     90003461703
936B128A272B42   MANIZHEH            NAJAV                 CO     90014082802
936B1573797B59   ERICA               RODRIGUEZ             CO     90011165737
936B15A8361979   CHERIE              CHAM                  CA     90012505083
936B1888491599   YVETTE              ROSALES               TX     75009288884
936B2145A4B554   ARTURO              AGUILAR-GUERRERO      OK     90014581450
936B2447593736   AMBER               HILL                  OH     90011394475
936B2521455951   MARIA               SANCHEZ               CA     49098625214
936B3357572B3B   JAY                 CLINE                 CO     33042373575
936B3646177537   SANTURINO           GUTIERREZ-SANCHEZ     NV     43082856461
936B3792972B62   SHANTIL             RODRIGUEZ             CO     33060857929
936B3897441296   LORREN              HARRELL               PA     90013478974
936B4456555957   JOSE                HUIZAR                CA     90011044565
936B453555B383   DORENE              LOWE                  OR     90013935355
936B4773372B62   JOANA               MIRELES               CO     90012167733
936B48A164B235   DOMANISHA           TOLBERT               NE     90009718016
936B513628B149   DONNIE              MANLEY                UT     90012091362
936B523634B588   LAKESHA             DUNLAP                OK     90014732363
936B5664597123   TABITHA             MICHELS               OR     90013376645
936B5881791399   ERIC                GARCIA                KS     90014058817
936B592517B444   ESSIE               BOONE                 NC     90013749251
936B65A1772B3B   YADIRA              GARCIA                CO     90010945017
936B6A25172B62   JAIME               GIRON                 CO     33007290251
936B6A49791579   JORGE               PEDROZA               TX     90009640497
936B6A6947B444   MARIA               REYES                 NC     11086280694
936B7126372B22   ADAM                COFIELD               CO     33014191263
936B7169261979   STEVE               SCOFIELD              CA     90000411692
936B7228472B62   JOSHUA              MEAD                  CO     90008692284
936B7293672B62   JOSHUA              MEAD                  CO     90014462936
936B7385772B56   SOLANGE             KALALA                CO     90011833857
936B765768436B   PAYGO               IVR ACTIVATION        SC     90014246576
936B86A1491521   ALEJANDRO           LEYVA                 TX     90011196014
936B8913477537   CYDNEY              DAVIDSON              NV     43092139134
936B916A993755   TREVOR              MCDANIEL              OH     90011331609
936B9459872B56   GILBERT             ERIC                  CO     33047744598
936BB251691951   CORINA              BUSH                  NC     90011532516
936BB418A55957   TOM                 THAO                  CA     90007654180
936BB493633698   RICHARD             GIGETTS               NC     90007364936
936BB6A5191521   FERNANDO            AVILA                 TX     90013246051
936BB7A4561977   TIMOTHY             BAUDIS                CA     90007567045
936BBA26691399   LUCERO              SOTO                  KS     90010280266
936BBA3464B588   SELVIN              PEREZ                 OK     90011910346
93711314572B3B   FISHER              WAYNE                 CO     33039063145
93711482A5B531   DANIEL              BALDONADO             NM     90008994820
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1652 of 2350


93711978572B22   MARY         FOWLER                       CO     33004659785
9371252A391521   ERIBERTO     GONZALEZ                     TX     90010415203
93712995A8B149   JAYSON       LUCIUS                       UT     90012909950
93712A3A34B554   TERRY        PURSELL                      OK     90012850303
93713356A5B531   ALEX         NDAYISHIMYE                  NM     90013643560
93713588472B62   JOHNNY       VIGIL                        CO     90003005884
93713A5714B235   DHIRENDER    SINGH                        NE     27011650571
93714496872B56   NAKIA        BOYD                         CO     90006274968
937145A995714B   ANTHONY      DURHAM                       VA     90003975099
9371515248436B   VERONICA     CROMWELL                     SC     90009601524
93715477172B3B   TERESA       GONZALEZ                     CO     90013614771
93715478A77537   MIRIAM       RECINOS                      NV     43029604780
93715484572B3B   DAVID        MARSHALL                     CO     90012184845
93715A16691951   SHAUN        DUNN                         NC     90010980166
93716172A4B554   JARROD       RUSSELL                      OK     90003211720
9371636A671964   W            MARAVI                       CO     32064353606
93716592397B59   RANDI        MARSH                        CO     90013645923
93716776872B42   ANGEL        TOVAR                        CO     90010507768
93716829A8B149   DEREK        WALKER                       UT     90011218290
9371692A443584   ANGELA       MOORE                        UT     90004079204
93717332376B42   ADAN         CRUZ                         CA     90015073323
93717377872B42   AMY          HERNANDEZ DELGADO            CO     90011563778
9371776424B554   JAIME        TIPTON                       OK     90010367642
93718523A91521   ABIGAIL      MENDOZA                      NM     90010415230
9371886684B949   DANIEL       HARVEY                       TX     90012858668
93719569372B32   AUJESHNAE    FLEMING                      CO     90006435693
9371982A68436B   MIKA         PARKER                       SC     90012798206
93719A6615B383   ALLEN        ELLIS                        OR     90002640661
9371B39714B949   SILVIA       ESPARZA                      TX     90014423971
9371B599191399   CRISTOBAL    GONZALEZ                     KS     29066415991
9371B664A4B554   TAMERA       AUSTIN                       OK     90015206640
9371B961355951   ASHLEY       BEJARANO                     CA     90006669613
93721993A8B17B   AMY          PRATT                        UT     31073269930
9372217514B554   JOHN         MCPHERSON                    OK     90013401751
9372238727B444   TIARA        MASSEY                       NC     90014813872
9372291434B554   THOMAS       SHMEITRA                     OK     90015199143
93722A66572B22   ALINA        YOUNG                        CO     90015120665
937234A718436B   TYRELL       PYATT                        SC     19000024071
9372454545B383   DIANA        FOSTER                       OR     44546715454
9372459723164B   GREGORY      MURRELL                      KS     90013175972
93724832A6193B   SARA         VERA                         CA     46081558320
93725181A7B444   JEFFREY      MOORE                        NC     90013411810
93725528A8168B   STACEY       OHARA                        MO     90000905280
9372613124B588   JERRY        WHITE                        OK     90015101312
93726A3654B235   PAMELA       MARSH                        NE     90015080365
9372715758B149   JANNA        BENNETT                      UT     90003241575
93727A14497B59   VICTORIA     MOREY                        CO     90012000144
9372879224B949   JERONIMO     LOPEZ                        TX     90014477922
9372931415B548   ERROL        COOPER                       NM     90009583141
9372B328255957   MIGUEL       REYES                        CA     90001483282
9372B63A597B59   BRENDA       LEE                          CO     90014856305
9372B65625B548   MARCIE       GUERRERO                     NM     90014826562
9372B962672B3B   JOSHUA       RAMSEY                       CO     90013649626
9372BA4514B554   CLARENCE     MORRISIN                     OK     21585790451
93731191272B56   GUADALUPE    CHAVEZ                       CO     90008311912
93731241272B3B   IRINA        MAKAROVA                     CO     33066922412
9373139A391599   UNKNOWN      MARIA ABREGO                 TX     75035403903
9373179364B554   ALLAINA      KENYATTA                     OK     90014297936
93731A14543584   LORI         WOOLRIDGE                    UT     31045010145
93731A7885714B   RICKY        TODD                         VA     81003000788
93732481672B42   JOSEFINA     SERRANO                      CO     90001324816
93733123572B42   PHILLIP      YANG                         CO     90011261235
937332A4791521   SILVIA       CONTRERAS                    TX     75074522047
93733866A72B22   SARAHI       DIAZ                         CO     90013938660
93733A77A72B62   DOMINIC      PINELLI                      CO     33036200770
93734A36272B97   CRYSTAL      TRUJILLO                     CO     90012690362
93734A4724B588   YVONNE       RAHEEM                       OK     90009230472
93735244672B32   NICOLE       ARGEUELL                     CO     90008352446
93735632372B42   KENNETH      MARTINEZ                     CO     90013946323
937357A2161979   ANGELA       BAJET                        CA     90013927021
9373587772B245   MARQUETTA    JOHNSON                      DC     90008878777
93736386672B22   LEVY         AVITIA                       CO     90013603866
93736434A72B62   SHAUNAY      DAVENPORT                    CO     90012714340
93736865897B59   SCOTT        FRY                          CO     90007358658
937369A5443584   JEFF         SONNTAG                      UT     31063739054
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1653 of 2350


93736A12872B42   SELINA          DURAN                     CO     90013990128
93737556172B32   DANITA          PHELPS                    CO     90008025561
93737566672B32   DANITA          PHELPS                    CO     90012435666
93737713772B62   EMMA            HEARON                    CO     33083347137
9373785625B383   JOAN            MAYO                      OR     90006788562
937378A6377537   ANTHONY         HALE                      NV     43027228063
93737A33391521   MICHAEL         JUAREZ                    TX     75076590333
93738A31661979   CLAUDIA         GUEVARA                   CA     90013010316
93739499772B56   EDWARDO         NUNOZ GUTIERREZ           CO     90011794997
9373974AA91399   SELENA          REY                       MO     90010507400
9373986454B554   JESSICA         BANDA                     OK     90009308645
9373B551372B62   NICK            LAUS                      CO     90010185513
9373B9AA698B22   ANTHONY D       DOUGLAS                   NC     90010909006
93741829872B56   BRANDON         NASS                      CO     90013838298
93741869172B22   ANDREA          PEREZ                     CO     90013938691
93741956397B59   PAUL            SANCHEZ                   CO     39095889563
9374241554B949   PASSION         BROOKS                    TX     90013734155
93742457172B22   CARESSE         CORREA                    CO     90011554571
93742632372B42   KENNETH         MARTINEZ                  CO     90013946323
93743192272B56   JORGE           HERNANDEZ                 CO     90006281922
937432A512B836   JULIE           MEYER                     ID     90012902051
9374336AA97B59   ISAAC           GONZALES                  CO     90012543600
93743948272B32   RHONDA          DUDLEY                    CO     90009369482
93743A26A91399   LINDA           MARTINEZ                  MO     90010790260
9374412324B554   GAIL            COUNTS                    OK     90013041232
9374416254B949   TOMMY           BREED                     TX     90008931625
9374418726193B   BRYAN           BOYD                      CA     46015101872
937445AA172B62   SHERIE          LUCERO                    CO     90009595001
9374488475B383   NICOLE          RAMAGE                    OR     90008668847
9374494A83164B   ROSA            SALINAS                   KS     22063509408
93744A8AA61977   WENDI           RICKER                    CA     46090370800
9374613583B191   VEONCA          GLORIUS                   DC     90004071358
93746463172B42   PATRICIA        SALAIS                    CO     33016774631
9374676518B149   DIEGO           PARDO                     UT     31084767651
93746A46991599   JESUS           RAMIREZ                   TX     90010460469
93748A5A161979   MARIA           NUNEZ                     CA     46040180501
937495A194B588   PATRICIA        HILBURN                   OK     90014865019
93749A89893755   ANTHONY         CREMEENS                  OH     90011020898
9374B254143584   RICKY           HICKS                     UT     90012562541
9374B426593755   PAIGE           GAIRLAND                  OH     90015024265
9374B75285714B   JAIME           ORELLANA                  VA     90001007528
937514A5161937   HENDRIKA        ALONZO                    CA     90010084051
9375154833164B   MARIAH          CASTILLO                  KS     90014615483
9375182954B588   CHRISTA         PICCIONE                  OK     90013868295
9375186A343584   AUDREY          SLAUGHTER                 UT     90000858603
9375193488436B   EUSTASIA        TURNER                    SC     90002859348
93751A23955951   CHONG           LOR                       CA     90013250239
93751A62961977   JORGE           VARGAS                    CA     90006060629
93751A7513B137   JUAN            REYES                     DC     90001450751
93751A99A41268   JAMITRICE       AVERYTT                   PA     90012110990
9375285747B444   TERRENCE M      MASSEY                    NC     90003348574
9375324484B588   DOMINIQUE       JACKSON                   OK     90005582448
93753369872B28   SHERRIE         MOLINE                    CO     90011163698
937533A2A91399   ROBERTO         ANDRADE                   KS     29004043020
937534A4276B89   HERACLIO        MONTAYES                  CA     90015504042
9375357A75B548   RONDALL         SANDOVAL                  NM     90011175707
93753856372B97   MARIA EFTHELA   CAMACHO                   CO     90006788563
9375391364B554   BRITTNIE        DAVILA                    OK     90006819136
93753A38733668   KATHY           LEAK                      NC     90007550387
93754322372B3B   EBONY           JOHNSON                   CO     90012443223
9375488294B554   LAMONT          RICHARDSON                OK     90008868829
93754A36591599   HIPOLITO        RAMIREZ                   TX     90013000365
93754A38461979   THOMAS          PACKER                    CA     90013010384
93756783A4B588   SHANEKA         PINKARD                   OK     90008447830
93756894A91951   JAMES           PULLEY                    NC     90014888940
9375722428B149   GABRIELA        BUGARIN                   UT     90006692242
9375729775B383   DANIELLE        TOMICICH                  MT     44509472977
9375743A93164B   CHERYL          LUCAS                     KS     90010964309
9375767A861979   KORINA          BARRAZA                   CA     90008556708
9375779914B554   MIGUEL          CASTILLO                  OK     21554867991
9375814A24B554   SEBASTIAN       BATES                     OK     90014501402
937586AA15B548   ROBERT          EVANS                     NM     35058016001
9375894AA91521   STACEY          LUGO                      TX     75023729400
93758A3A672B42   CARIN           CLUSE                     CO     90014380306
9375911A961977   RUBEN           CANSECO                   CA     46050141109
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1654 of 2350


9375924114B554   TARESA        JONES                       OK     21585812411
9375945345599B   BARBARA       BAEZ                        CA     90011384534
93759632372B42   KENNETH       MARTINEZ                    CO     90013946323
9375992434B949   MARIBEL       ESTRADA                     TX     90009439243
9375B35A12B245   ROSA          BONILLA                     DC     81077443501
9375B393155938   ANA           MILLAN                      CA     90009333931
9375B8A244B588   APRIL         CARLSON                     OK     21515258024
9376112344B554   LUISA         ARCHILLA                    OK     90010381234
93761165672B56   CLAUDIA       GARAVITO                    CO     33084471656
9376152278B185   INES          LOPEZ                       UT     90009435227
9376172365B531   JENNIFER      REAZIN                      NM     90012707236
9376185A397B59   CRISTA        VENZOR                      CO     90013218503
9376237A472B3B   ISMAEL        PAEZ                        CO     90003353704
93763215272B56   PABLO         GOZALEZ                     CO     33077652152
93763216597B59   PAUL          HELVIE                      CO     90009772165
9376355585B548   SHARISE       BRUCE                       NM     90009185558
9376364562B948   PHILLIP       JENKINS                     CA     90007906456
9376386924B588   ASHLY         TUCKER                      OK     90010698692
93763A41A5B548   KRYSTAL       TRUJILLO                    NM     90014720410
93763A88672B3B   GLORIA        PLAZOLA                     CO     90013300886
9376435397B362   AMREHEGNE     WOLDEAMANUEL                VA     90002073539
93764873472B22   JOSE          CANO                        CO     90013938734
93764A34491599   CHRISTOPHER   BROOMFIELD                  TX     90010460344
93765453A7B444   NOEMI         RANGEL                      NC     90013994530
9376552A63164B   ALEX          MARTINEZ                    KS     90015555206
93765766672B22   AMANDA        MEYERS                      CO     33004487666
9376585A343584   SCOTT         BUTLER                      UT     90014928503
93765A22472B32   MICHELE       JORDAN                      CO     90015530224
9376628765B524   ANDRINA       MANZANAREZ                  NM     35077312876
93766476372B32   AMANDA        JAMES                       CO     90014854763
9376657A25B345   MARTIN        FLORES                      OR     90005865702
93766713572B62   PHILLIPS      JOHN                        CO     33092877135
9376689A85B548   YURIDIA       LOERA                       NM     90014388908
93766A2A797B59   YESENIA       LOMA                        CO     90013610207
93768616A55957   FRANCISCO     HERNADEZ                    CA     90011906160
937691A6A72B32   REINA         CARCHADO                    CO     90011881060
9376924263B331   DARON         FENNELLY                    CO     90003122426
9376937AA61979   JACOB         LOZADA                      CA     90011593700
93769695197B59   EDUVIGES      RAMIREZ                     CO     39068286951
9376B382543584   THAMAR        ARAVE                       UT     90008703825
9376B975555951   CHRISTOPHER   MCKINNEY                    CA     90015219755
9377157A45B548   ELIZABETH     PRIETO                      NM     35058765704
9377176958B149   KEVIN         NAY                         UT     31089297695
9377224A261979   FRANCISCO     LOO JR.                     CA     46017712402
93772258698B23   SARA          SMITH                       NC     90014122586
9377239A94B588   ANGELA        CARPENTER                   OK     90012643909
9377267A872B32   JULIA         TROSTEL                     CO     33023776708
9377361A793755   LATISHA       HAWKINS                     OH     90010806107
9377382184B588   BRANDY        MILTON                      OK     90013658218
93774184172B3B   ERIC          NAKAMURA                    CO     33061591841
937741A5561979   JULIA         EDGING                      CA     46016621055
93774313A4B588   TYRON         REEVES                      OK     90013353130
93774686172B62   MANUEL        CASTRUITA                   CO     33031486861
9377494865B531   CHRIS         HERNANDEZ                   NM     90003989486
93775451A43584   SHERRIE       DELANEY                     UT     90009134510
93775513772B56   ANGEL         CANO                        CO     90011795137
9377552214B949   MALCOLM       LOPEZ                       TX     76556625221
9377581815B383   MITCHELL      GREEAR                      OR     44597548181
9377598927B444   AMAURY        GARCIA                      NC     90013419892
9377627526193B   MARBEL        PENALOZA                    CA     46060032752
937763A4272B32   CECILIA       ARRIOLA                     CO     33005443042
93777519372B56   JAMES         LEENERTS                    CO     90011795193
9377778A15B531   CRISTOBAL     ORTIZ                       NM     90010607801
9377781514B588   ALVARO        NOVOA                       OK     90010718151
9377847984B949   JESSIE        LAKEY                       TX     90014644798
937791A567B444   SHANICE       SMITH                       NC     90013351056
937794A5841296   KYLE          WHITE                       PA     90014764058
9377951445B383   DANIEL        HAGUE                       OR     90014865144
93779A93555957   BRANDON       SANDEG                      CA     90012120935
9377B339143584   JUSTIN        JOHNSON                     UT     90007863391
9377B349855957   GABRIELA      RODRIGUEZ                   CA     49075463498
9377B397872B32   CRISTA        LEWIS                       CO     90014863978
9377B43A797B59   ABEL          COHEN                       CO     90013624307
9377BA86A91951   JUANA         PINEDA                      NC     90005850860
93781393A9132B   MATHEW        MEDLLIN                     KS     90011003930
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1655 of 2350


9378156398436B   DAGMAR       SEDIVA                       SC     90011875639
93781599A77537   CLINTON      WELCH                        NV     43023775990
937817A525B548   REBECCA      LEON                         NM     90013937052
9378219A37B35B   KYUNG        SOOK                         VA     90012711903
937822A5161977   ISABEL       JIMENEZ                      CA     46043462051
93782659472B32   JOSHUA       GRAHM                        CO     33025996594
9378286485B548   MARIA        VAZQUEZ                      NM     35053048648
93782942572B97   MARIA        CARDENAS                     CO     90010059425
93782A25855951   CRAIG        CLEIM                        CA     90006290258
93782A4173164B   TARA         GORDON                       KS     90014620417
93782A48543584   RHONDA       WALL                         UT     90004990485
93783A58461979   MARIA        SOLIS - HERRERA              CA     90014870584
937843A3161979   JUAN         PLATA-MEZA                   CA     46073833031
93784514A97B59   MANUEL       MELENDEZ                     CO     90013475140
937851A9191521   GUILLERMO    GONZALEZ                     TX     90013301091
937859A8197123   RENEE        LOVELESS                     OR     90015139081
9378631814B554   MARQUEZ      ROSALBA                      OK     21558363181
9378656453164B   ZACH         MAXWELL                      KS     90013135645
93786A48543584   RHONDA       WALL                         UT     90004990485
93787199A4B241   PAUL         WILES                        NE     90004971990
93787A65772B42   JACQUELIN    GUMO                         CO     33005810657
93788936272B32   CECILIA      DARLENE                      CO     33067559362
9378921364B588   KELLY        HESTON                       OK     90012352136
93789391A3164B   KENNETH      KAUTZ                        KS     22094473910
93789448A81652   FEDERICO     VASQUEZ                      MO     90013884480
937897A814B949   DON          WASHINGTON                   TX     90005537081
9378B166631476   SADIK        FETAHU                       MO     90011691666
9378B4A7291951   MOSHIMALEE   JOHNSON                      NC     90013904072
9378B513A61977   MARIA        HERNANDEZ                    CA     90014805130
9378B56764B588   KATHERI      TOWE                         OK     90013685676
9378B839277537   AMBER        MILLER                       NV     43030898392
9379111118595B   JOSE         MARTINEZ                     KY     67090971111
9379161245B548   JORGE        AVILA-ACUNA                  NM     90009606124
937916A3655951   RYAN         BRIDGES                      CA     90011386036
93791723172B3B   JAZMYNE      TENORIO                      CO     90011147231
93791A35191599   ALFREDO      GALVEZ                       TX     90008710351
93792546772B56   JONATHAN     WHORTON                      CO     33082125467
93793865397B59   GENIVA       PACHECO                      CO     90014588653
93793A19372B62   SUSAN        RIVERA                       CO     33045020193
93793A65A91599   ROBERTO      SAENZ                        TX     90006520650
9379414528B149   CAMI         EGGETT                       UT     90002751452
9379459A672B42   GILBERY      SANCHEZ                      CO     90014645906
93794625972B62   JAVONTAE     HUGULEY                      CO     90002876259
9379487434B949   NELSON       JOSEPH                       TX     90012868743
937949A9172B3B   RUBEN        DELGADO-GUARDADO             CO     33047049091
9379529485B548   WAYNE        HULSLANDER                   NM     90014042948
93795356672B42   CAROLINA     HERNANDEZ                    CO     90010243566
93796834172B3B   YOLANDA      PACHECO                      CO     33012638341
9379726AA43584   MELISA       GARAMILLO                    UT     31021742600
9379772894B554   JOSE         CHAY                         OK     90008037289
9379799694B588   AMOS         NJINGTI                      OK     21506569969
9379813757B389   MERCY        CHICAS                       VA     90000451375
93798877972B42   DAISI        BASURTO                      CO     33008848779
93799333A6193B   ANDRE        DUENAS                       CA     46039513330
9379934AA4B949   RACHEL       BREAUX                       TX     90006223400
9379991888B693   ROBERT       MCGRUDER                     TX     90014149188
9379B158A61977   JACK         LANGENDOFER                  CA     90015121580
9379B29375B548   AMANDA       SERNA                        NM     90011902937
9379B9A195B531   DOUGLAS      HARRIS                       NM     90014599019
937B1165791399   HEATHER      DAY                          KS     90011791657
937B1365A4B949   RAUL         MARTINEZ HERNANDEZ           TX     90014653650
937B1386761979   LUIS         GONZALEZ                     CA     90009823867
937B138825B386   ASHLEY       SHANKLE                      OR     44584573882
937B2157593755   MICHELLE     BACK                         OH     90006461575
937B2262172B32   ROBERT       SEACHRIST                    CO     33097142621
937B265954B588   THEODOISUS   POWELL                       OK     90013336595
937B27A4955951   MARTHA       RODRIGUEZ                    CA     90015157049
937B3517672B3B   MUNYABU      FELIX                        CO     33042095176
937B3532161979   MARIO        JOFRE                        CA     46016575321
937B3555943584   BIANCA       SUAREZ                       UT     31054465559
937B3A49993755   SMITH        ANTHANY                      OH     90011200499
937B4474872B42   GUADALUPE    ESPARZA                      CO     90003254748
937B4498872B62   FIDEL        RODRIGUEZ                    CO     90002314988
937B4789691521   ROSA         CHAVEZ                       TX     90012507896
937B484864B588   ROSHUTA      TUBBS                        OK     90012778486
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1656 of 2350


937B4A59255951   JOSHUA           CALVO                    CA     90013110592
937B51A7893755   NICHOLAS         GILL                     OH     64573591078
937B59AA972B56   BONNIE           BULLOCK                  CO     90014169009
937B69AA972B56   BONNIE           BULLOCK                  CO     90014169009
937B711378436B   KENDRA           BROWN                    SC     19044341137
937B749698B175   INGRID           APONTE                   UT     31091884969
937B7538643584   CHRIS            HYMER                    UT     31004485386
937B7554191521   RUBY             LOPE                     NM     75078735541
937B834A755951   KIARA            JOHNSON                  CA     49080753407
937B836718B149   BECKY            SOLIS                    UT     90014763671
937B855AA97B59   CHRISTY          SMITH                    CO     90007805500
937B8A68761979   PAYGO            IVR ACTIVATION           CA     90014820687
937B9115477537   SILBIA           REYES                    NV     43012711154
937B9197791521   CANDY            BERRY                    TX     90013111977
937B937A177522   LEON             MOREHEAD                 NV     90008853701
937B9426372B42   REYNA            ALVAREZ                  CO     90004564263
937B966A261977   ESTEBAN          AVILA                    CA     90009956602
937B977854B554   MILLION          WOLDEYES                 OK     90012777785
937B979515B531   JOSEPH           ARRIETTA                 NM     90005997951
937B9814A4B588   STEPHEN          JENKINS                  OK     90008908140
937B9A8325B548   PATRICIA         ANDERSON                 NM     35093440832
937BB1A714B949   CHRISTINA        HARRISON                 TX     76555041071
937BB681155951   ANABEL           MURILLO                  CA     90010256811
937BB686277537   AMANDA           AREVALO                  NV     90011696862
937BBAA2A72B62   SHAYLA           FRAZIER                  CO     90010850020
93811193372B56   MARTHA           OVIEDO                   CO     33078471933
93811514272B22   ANDREA           MADRID                   CO     33097735142
9381159A333B63   FILEMON          VALENCIA                 OH     90015175903
93811713A5B548   ANTHONY          BASS                     NM     90013937130
9381182258436B   JASMINE          MOORE                    SC     19031858225
93811871372B42   HECTOR           MACIAS-VALDEZ            CO     90011848713
9381198724B949   KIRSTEN          ALLEMAN                  TX     90012869872
938124A955B531   JESUS            DERMA                    NM     35090054095
93812766A91399   JHONATAN         ZAMBRANO                 KS     90015087660
9381282A84B554   CHONELL          ROBINSON                 OK     90009308208
938132A4861979   NORMA ANGELICA   VAZQUEZ DE LA CRUZ       CA     90015222048
9381333783363B   JHONNY           DULIN                    NC     90011053378
9381346265714B   CARLOS           MORALES                  VA     90006874626
93813871272B42   ART              TUCKER                   CO     33086478712
93813AA164B588   JOSE             ARANDA                   OK     90014210016
93814A62155951   MELISSA          JAMES                    CA     90014820621
93815191372B42   RAUL             WENCE                    CO     33085351913
9381521384B554   MARCUS           WEST                     OK     90013252138
9381555478B169   STEVEN           TAYLOR                   UT     90010795547
938156AA841296   LEON             KOCKYHORE                PA     90014936008
9381578848B149   CRYSTAL          MURRAY                   UT     90000707884
93815A5194B588   JOLEENA          ALEXANDRA                OK     90014730519
93815A72872B22   MANUEL           ESTRADA                  CO     90008140728
9381694174B588   JAIME            DAY                      OK     21509889417
93817184A5B548   ALEJANDRO        BORJAS                   NM     35038571840
93817685172B56   ROLANDO          VALADEZ NAVARRO          CO     90003476851
93817778272B3B   JACOB            ROBINA                   CO     90010837782
9381817428B149   ANTHONY          HOLDREN                  UT     90011961742
9381858115B531   SANDRA           WESTON                   NM     35074675811
93819198872B62   ALICIA           ROMERO                   CO     90012131988
9381978194B554   JAVIER           MORALES                  OK     90008037819
9381B259391599   ANGIE            CLADERA                  TX     75090262593
9381B414971945   JOSE             LOPEZ                    CO     32027904149
9381B555493755   KEITA            GRODON                   OH     64503375554
9382116968B175   KATE             MARTIN                   UT     90007211696
9382142AA61979   FRANCISCO        GASTELUM                 CA     90011594200
93821713A5B548   ANTHONY          BASS                     NM     90013937130
9382176275B531   BARBARA          SANDOVAL                 NM     90009557627
93821853A91399   JUAN DANIEL      LOPEZ JR                 KS     90012868530
9382232548B125   RANDALL          BODILY                   UT     90004893254
9382247414B558   SHELITE          CHASTA                   OK     90012344741
93822A98355951   TONJA            MORRIS                   CA     90001130983
9382312A172B3B   EDISON           DE-LEON                  CO     90013491201
9382319894B588   ACEE             SCOTT                    OK     90007881989
93823255A91399   RICARDO          JACOBO                   KS     90006982550
9382339A872B42   SHAUNA           CHAPIN                   CO     90013423908
93823441472B32   RHONDA           MCKINZIE                 CO     90008954414
93823474872B62   JOSE             JAVIER NUNEZ             CO     33004484748
9382422A95B531   JOSEPH           TRUJEQUE                 NM     35028282209
93824359872B62   FRANCES          HERRERA                  CO     33062173598
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1657 of 2350


9382441928436B   PAMELA         GRAHAM                     SC     90012934192
9382517AA91399   KAREN          YISSEL                     KS     90012601700
93825254297B59   ALBERTO        PEREZ                      CO     90013732542
938256A7861977   MAGDALENA      VALDESPINO                 CA     90015036078
9382596516193B   RENEE          AUSTIN                     CA     46047079651
93826274897B59   SILVIA         ROMERO                     CO     39007622748
93826947972B42   LAVON          SMITH                      CO     33045309479
9382813AA97B59   ROCKY          LOPEZ                      CO     90012971300
9382912554B949   CANDACE        SPENCER                    TX     90014031255
938293A774B588   RASHAD         HARDING                    OK     21563743077
9382948614B554   CHASSITTY      HORN                       OK     21585844861
9382B33534B235   PAUL           MADSEN                     NE     27031633353
9382B351172B3B   JOSE           FLORES                     CO     90007103511
9382B487541296   GARY           MORGAN                     PA     51006594875
9382B557291882   CHRIS          YANDELL                    OK     21061695572
9383159545714B   STEVEN         KOT                        VA     90003995954
938315A8743584   TAR            HEELS                      UT     90015305087
9383199264B588   DAWAYNE        BUSCH                      OK     90009809926
9383215265B383   KAREN          FRANKS                     OR     90014831526
9383259545714B   STEVEN         KOT                        VA     90003995954
93832621372B42   RODNEY         SIMON                      CO     33069246213
938326A8472B22   VICTOR         DOMINGUEZ                  CO     90013276084
9383296625B524   OSCAR          MEDINA                     NM     35004199662
9383298724B949   KIRSTEN        ALLEMAN                    TX     90012869872
93832A36872B62   ECHO           BEAVER                     CO     90000320368
93833159497B59   ERIC           MOORE                      CO     90013821594
9383326284B588   BOBBY          KEESEE                     OK     21568662628
93833A1264B235   DEMITRI        GURLEY                     NE     90007380126
93834279772B42   CLAUDIA        SOTO                       CO     90005892797
9383438187B444   LEONARDO       SANCHEZ                    NC     90012003818
9383452A943584   DAN            GANNAWAY                   UT     90004335209
938345A9172B42   GUADALUPE      SOTO SANCHEZ               CO     33081825091
9383471575B548   MANUEL         TRUJILLO                   NM     90013727157
93834756A4B554   ISRAEL         RENTERIA                   OK     90013697560
9383542338B149   LORI           EATCHEL                    UT     31068284233
9383755486193B   NATALIE        GUARDADO                   CA     46065385548
93837689672B32   RICKY          MERTES                     CO     33018376896
9383826664B588   FREDRICK       TUCKER                     OK     90006092666
9383872258436B   STUART         SCHAFFER                   SC     90001467225
93838A9427B429   BILLIE         JACOBS                     NC     90013080942
9383B18946193B   RICHARD        TORRES                     CA     90005871894
9383B26755B548   FELIX          VASQUEZ                    NM     35096902675
9383B661872B42   RODRIGO        ESCALANTE                  CO     90013946618
9383B715A91399   VICKI          COLEMAN                    KS     29011397150
9383B761297B59   MARIA          RODRIGUEZ                  CO     90012347612
9383B954A91951   APRYLE         GRAHAM                     NC     90014479540
9384114653B37B   JULIO          CORTEZ                     CO     90013151465
9384142573164B   ROBERT         PRUITT                     KS     90008484257
9384155314B554   KRISTINA       CRIST                      OK     90008685531
9384177A272B42   AUSTIN         TABOR                      CO     33089997702
9384197715B531   CHRISTOPHER    SHEPHERD                   NM     90012119771
938419AA75B548   BENITO         VELASQUEZ                  NM     35082369007
938427A964B235   ALICIA         PUSCH                      NE     27014767096
93843839A3164B   TONISHA        MANYAGA                    KS     90012938390
9384392985B548   ZULEMA         CARMONA                    NM     90013859298
93844149272B62   MARIA          LOURDES                    CO     90002091492
9384455935B379   GUY            HERDER                     OR     90002275593
93844A43A4B588   CHUFFEE        WALDON                     OK     21506100430
93845163572B22   JAVIER MARIO   AGUILAR PEREZ              CO     90012941635
93845284672B3B   JAQUELINE      VIGIL                      CO     90002962846
93845623972B32   CRISTOPHER     THORNTON                   CO     33038376239
9384598285B531   AMBER          COURTRIGHT                 NM     90012179828
93845A4484B949   CEPHUS         ANGELA                     TX     90002060448
9384672334B554   AMY            CLEMONS                    OK     90012837233
93846933A5B383   SARAH          CROWLEY                    OR     44549449330
93847235A91521   PATRICIA       ARECHIGA                   TX     75041672350
93847956572B22   ROMAN          ROMERO                     CO     90012949565
9384825654B588   RUDY           TOBAR                      OK     90003972565
93848858A61977   LUIS           GONZALEZ                   CA     90012668580
9384896A272B32   WILLIAM        SMITH                      CO     90014599602
9384913548B149   ADAM           STEGGELL                   UT     31066141354
93849516A72B42   WENDY          VALLEJO                    CO     90000545160
9384961738B175   WOOD           THOMAS                     UT     90010016173
9384B2A554B949   VONCHISHA      RUBEN                      TX     90001412055
9384B752291553   ALBERTO        RAMIREZ                    TX     75004697522
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1658 of 2350


93851668172B42   MARY             GUTIERREZ                CO     90013946681
938516A8491521   RICARDO          ORTEGA                   TX     75011556084
9385268A672B62   DORIAN           DAVIS                    CO     90012336806
93852948172B56   JEANNE           DOLFIN                   CO     33078869481
93853499A93748   STEPHANIE        KLOPFENSTEIN             OH     90001694990
93853A33372428   RENEE            FAZEKAS                  PA     90010010333
93853A7223164B   REBECCA          ADEBIYI                  KS     22056400722
93853A78161979   JOEL             CAMACHO                  CA     90014870781
938541A6361979   BRENT            DEMOSS                   CA     90013101063
9385483114B581   ALEXANDER        COULTER                  OK     90001418311
93855316A4B554   JACOB            RATLEY                   OK     90014593160
9385538335B548   DINORA           MUNOZ                    NM     90013233833
9385592213164B   JAMIE            CURTIS                   KS     22075859221
93855A4A491521   YESSICA          DIAZ                     TX     90009650404
9385626284B949   KARINA           HUERTA                   TX     90014212628
9385717185B383   CORKRUM          DANIEL                   OR     90010951718
93857219A84332   TEAKA            FOGLE                    SC     90010112190
9385795368B175   KRYSTAL          SCHOSS                   UT     90001549536
93857A28897123   JOSE             SEPULVEDA AVINA          OR     44011400288
93857A92997B81   CESAR            RODRIGUES                CO     90009200929
93857AA7197B59   MAJOR            ITULE                    CO     90001100071
93858767472B56   ANTOINETTE       VALLE                    CO     90006707674
9385894A24B588   WYATT            NELSON                   OK     90007249402
93858992697B59   HECTOR           RODRIGUEZ                CO     90012799926
9385917464B588   ROBERT           ROOT                     OK     90014701746
938594A154B588   KATHRYN          BLOODWORTH               OK     90010744015
9385973455B548   CRYSTAL          SANCHEZ                  NM     90013937345
9385B495191599   NORMA            SEPULVEDA                TX     75014384951
9385BA5A391399   JULIA            PROBY                    KS     90011410503
938618A8A55957   EDGAR            BELLES                   CA     90012048080
9386193774B588   SHONIK           LEWIS                    OK     90008849377
93861A21A5B33B   LUVIA            ROSALES DEL CID          OR     90010290210
938621A7A72B22   HAI              LE                       CO     90005591070
9386293A897B59   ALEX             GARCIA                   CO     90013419308
9386311444B554   JOSE             CABELLO                  OK     90011431144
93863991597B59   MIREYA ROSAURA   LOPEZ LOPEZ              CO     90013219915
93863A23281658   BRANDY           HUNTER                   MO     90008050232
9386416915B24B   JULIAN           CLAY                     KY     68004341691
93864743A97B59   RICARDO          ALVAREZ                  CO     90012677430
9386478487B444   LEONARD          CHAPMON                  NC     90010697848
93864A71391599   JORGE            RAMOS                    TX     75092510713
93864A86441296   DAVID            CRAWFORD                 PA     51079650864
9386561635B383   ROBERT           RAYMER                   OR     90013966163
9386579A633698   DAWNE            HUMPHRIES-DUNCAN         NC     12094677906
9386642A791399   DONNY            RANDOLPH                 KS     90014354207
93866A95A7B392   ELIAS            ROMERO                   VA     81068600950
93867917772B62   CARINA           TORRES                   CO     90014619177
93867A1596193B   ROBERT           GUNN                     CA     46038620159
93868228372B42   JAIME            MORALES                  CO     90008662283
938684A3A91599   MARIANA          CLARKE                   TX     90013854030
93868AA563164B   BRITTANY         ROMAN                    KS     90013640056
9386919517B444   MARIA            PEREZ                    NC     11099661951
93869558372B3B   HABAKKVK         AMMIADDAI                CO     90013175583
93869A93797123   MARIA            DELGADO                  OR     44052830937
9386B564372B3B   CRISTAL          SOTELO                   CO     90011125643
9386B98745B383   DANIEL           CARLSON                  OR     44515739874
93871141672B56   JOHN             MONTZ                    CO     90005351416
93871743A72B32   ANTHONY          HAZELETT                 CO     90000247430
9387198734B588   CARA             INMAN                    OK     90013869873
93871A32A97B59   ELVIRA           RAMIREZ                  CO     39096050320
9387214814B949   CHARLOTTE        COLBERT                  TX     90012871481
9387223913B394   LINDA            GOMEZ                    CO     90015172391
93872321A5B326   WESLEY           MCINTYRE                 OR     90004733210
938725A8997123   DAMION           REYES                    OR     90013545089
93872A5675B548   OSCAR            ESTRADA                  NM     90013940567
93872A96261977   WILLIAM          BALDON                   CA     90004570962
9387373475B523   MASON R          HENDERSON                NM     90011067347
93873831372B62   ARMANDO          GARCIA                   CO     90013378313
93873A82572B78   JANET            HUSCHER                  CO     90009030825
93873A86961979   AMIR             ZARASVANDI               CA     90001030869
938744A7991532   GABRIEL          HIGADERA                 TX     90009224079
9387454724B949   JERRY            GREER                    TX     90014525472
938749A3491599   ELVA             MARTINEZ                 TX     90013609034
9387543A88436B   HELEN            PURDON                   SC     90014234308
938758A364B588   STEVE R          LOGAN                    OK     90003778036
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1659 of 2350


93875A2A291599   ALMA           HERNANDEZ                  TX     90013210202
93875A41A97B59   LUANA          QUIROZ                     CO     39013130410
9387612A672B78   ANGELIA        RANGEL                     CO     90014811206
938761A895B383   AARON          LEE                        OR     90013291089
9387627559125B   MARTIN         VASQUEZ                    GA     90013342755
9387655594B554   RICHARD        HAMMONS                    OK     90013315559
9387655A157564   PATRICIA       ENRIQUEZ                   NM     90012115501
9387722535B548   JACOB          ZIMMERMAN                  NM     35038522253
93877923A5B383   GAIL           ORTIZ                      OR     90014319230
93878511872B32   MENORAH        MILLER                     CO     90010705118
9387859914B588   CHRISTY        SAMPLE                     OK     21590455991
93879731672B3B   LANDY          CANUL                      CO     90010627316
93879983A55957   APRIL          HANDY                      CA     90014869830
9387B1A2655957   TOU PAO        YANG                       CA     90005901026
9387B41375B548   MARCO          ARROYO                     NM     90009194137
9387B63814B554   SARVELIO       LOPEZ                      OK     90010696381
9387B887A8436B   MARISELA       CASTRO AMARO               SC     90007908870
9387B8A7997B59   LYNN           STOLZ                      CO     90012678079
93881185A97123   HILDA NELLIE   URBANO                     OR     90013971850
93881452A5B548   ANA LUISA      AGUILAR                    NM     35067234520
9388193A743584   CAROL          PATTERSON                  UT     90009389307
93881A32A91599   RENE           MENDEZ                     TX     90011490320
938821A4672B22   SHAMSU         OSMAN                      CO     90004031046
938821A795B531   APRIL          RODRIGUEZ                  NM     90009881079
9388245823364B   JAMES          JOE                        NC     90012414582
9388257843164B   DOMINIQUE      GALLOWAY                   KS     90014755784
9388261498B175   NEISHA         CHASTIAN                   UT     90003346149
93882618597B21   JOSEPH         SMITH                      CO     90007316185
9388271524B588   JOHNATHAN      WHITTINGTON                OK     90013587152
93882869272B42   JUAN           RODRIGUEZ                  CO     90002968692
9388294315B383   FAUSTO         CHAN                       OR     44578339431
93883543372B62   JAMES          RINK                       CO     90003505433
93883765A4B588   ROBERT         CRANDALL                   OK     21568677650
938845A3797123   ZACH           BOSWELL                    OR     90006065037
93884613572B42   MARIBEL        PONCEDELOEN                CO     33037206135
9388479474B554   ALISHA         DAVIDSON                   OK     90005577947
93885246A72B32   KRISTINA       GARCIA                     CO     33098612460
93885345A4B949   THOMAS         REAGAN                     TX     76555433450
93885559172B3B   KANDY          DAY                        CO     33087535591
9388557654B554   JAMES          MCCOLLUM                   OK     90011865765
9388562995B383   DARRELL        BOLDES                     OR     90013936299
938857A9A61979   MARCO POLO     ESTRADO                    CA     90013937090
93886142A8B175   ABRAHAM        MARTINEZ                   UT     90009811420
9388632853164B   KEYA           PEARSON                    KS     90009403285
9388692474B554   JOSE LUIS      VARGAS                     OK     90008039247
9388757AA55957   SARA           RIVERA                     CA     49030355700
9388759885B383   DAVID          POITRAS                    OR     44514015988
93887674972B42   FRIDA          JIMENEZ                    CO     90013946749
9388797754B554   MONICA         HAYES                      OK     21585889775
93887A57872B22   JULIA          MARIE                      CO     90014100578
9388935394B588   CIVANNA        KING                       OK     90009603539
9388939A572B3B   JONATHAN       PERES                      CO     90014593905
93889438272B62   JODI           HABERMAN                   CO     33018894382
93889552597B59   ANNA           G REVITIA                  CO     90007995525
9388963555B531   LANCE          BAILEY                     NM     90011346355
93889713A61979   WES            RHOTEN                     CA     90007267130
9388991A54B554   DARYL          HUGHES                     OK     90012309105
9388B29114B558   ADA            WALKER                     OK     90009172911
9388B29314B949   MONIQUE        GREGORY                    TX     76585632931
9388B554A77537   JULIZA         HAMILTON                   NV     90011695540
9388B588291521   MARIA          BRISEÑO                    TX     75086535882
9388B727561979   ALEJANDRA      SILVA                      CA     90012237275
9388B966261979   ALEJANDRA      SILVA                      CA     90006859662
9389143814B235   APRIL          STEPHENS                   NE     27089164381
9389148634B588   SCOTT          MIDDLEBROOKS               OK     21577474863
938918AA291399   AUNDREA        SHADY                      KS     90006518002
93891A46A7B444   JORGE          CAZARES                    NC     90012480460
9389272445714B   MONIQUE        POSADA                     VA     90004247244
93892A2384B554   JAMES          LAWSON                     OK     90003770238
93893151372B3B   SANDRA         LEYVA                      CO     33097551513
9389333334B554   GREG           DORSEY                     OK     90011353333
93893431172B22   MONICA         CANO                       CO     33071244311
9389398765B548   MARISOL        TARANGO                    NM     90006629876
9389434674B588   HERMAN         VALLADARES                 OK     90012963467
9389461145B383   SEAN           PECK                       OR     90010806114
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1660 of 2350


93895738776B42   MARY         DEMARCO                      CA     90010977387
9389574764B949   CAMILLIA     MURPHY                       TX     90012877476
938958A1772B3B   DOMINGO      SANCHEZ                      CO     33019558017
93896683372B42   LIZETH       RODRIGUEZ                    CO     90013946833
938968AA893755   BRENDA       BEAR                         OH     90002138008
93897A61572B42   DOROLES      LOPEZ                        CO     90011300615
93897A82161979   ANGEL        ANGULO                       CA     90009510821
93897A9414B588   JERMAINE     FELIX                        OK     90015340941
9389863198B149   KOURTNEY     SA                           UT     90010716319
9389951A961941   MELISSA      MARTINEZ                     CA     90007525109
9389956744B949   MARLON       COLEMAN                      TX     90014845674
9389973865B548   IYANNA       MARTINEZ                     NM     90013937386
9389975364B588   TIFFANY      STOKELY                      OK     90009807536
93899A79661979   FERNADO      SILVA                        CA     90014870796
9389B99984B554   SHARELL      KEITH                        OK     21593039998
9389BA72977537   VIRIDIANA    ARIAS                        NV     90013820729
9389BAA3741296   CHRISTINA    BERRY                        PA     90003780037
938B1178191882   JONATHAN     NIX                          OK     21079121781
938B12A2691521   BLANCA       BADILLO                      TX     90012372026
938B12A394B542   JIMMY        WILKERSON                    OK     90000962039
938B12A4855957   DAVID        TOVAR                        CA     90014272048
938B147594B54B   ELENA        PEREZ                        OK     90007694759
938B14A2A72B22   MARIO        GAYTAN                       CO     33061894020
938B1593991399   RICHARD      SCHMOLDT                     KS     90009945939
938B2255591951   ELEANOR      MITCHELL                     NC     90008232555
938B233783363B   JHONNY       DULIN                        NC     90011053378
938B24A2997123   JAMES        MARTIN                       OR     44007514029
938B2836597B59   PABLO        OLVERA                       CO     90015028365
938B283A797B59   SONIA        DUNLAP                       CO     90012668307
938B3549897123   PATRICIA     REYNOSO                      OR     90007475498
938B36A7997B59   ASHLEY       BREIDENBACH                  CO     90013996079
938B37A3597B59   ASHLEY       BREIDENBACH                  CO     90000477035
938B3998A4B554   SKYLA        SMITH                        OK     90009939980
938B4311355957   JORGE        RAMIREZ                      CA     90002863113
938B473754B588   BRIAN        FAULKS                       OK     90014527375
938B4739691399   PLATERIA     YULONSI                      KS     90005177396
938B4772A91951   ALISHA       SILVER                       NC     90008247720
938B5174997123   MORGAN       BROWN                        OR     90000371749
938B5455391399   FARIAS       HERRERA                      KS     29022114553
938B5562272B62   BEATRIZ      ESQUIVEL                     CO     33051245622
938B588115B548   VALARIE      LOWERY-LABRUM                NM     35050918811
938B5919261979   BUDDY        VINCEJ                       CA     90001009192
938B6351572B32   BEATRIZ      DIAZ                         CO     90011893515
938B638835B531   ROGER        LORD                         NM     35019793883
938B6477A93755   CHINUA       SAVAGE                       OH     90011724770
938B66A3272B22   JANETT       ARIAS                        CO     90002376032
938B7158272B22   MATTHEW      ALLEN GARCIA                 CO     90012941582
938B7243231459   ANISSA       BLALOCK                      MO     90001322432
938B7656872B42   DONALD       KUEHN                        CO     90013946568
938B77A525B548   REBECCA      LEON                         NM     90013937052
938B8115191951   REGINALD     REESE                        NC     90011191151
938B8149772B56   HUSSAIN      ALI                          CO     90012781497
938B8477A72B32   MICKEL       BLANTON                      CO     90014854770
938B8856572B3B   MARICELA     ACEVEDO                      CO     90007698565
938B8954372B99   DESIREE      CANO CABALLERO               CO     90009199543
938B9666955957   ARNOLD       DILWORTH                     CA     49023966669
938B9954472B22   JOSE         ALAMOS-CRUZ                  CO     90011079544
938BB349972B42   JOSHUA       HARRIS                       CO     90014803499
938BB39175B122   JENNIFER     KEMP                         AR     23015133917
938BBA33397B59   KENNY        POWERS                       CO     90014840333
9391147365B548   JOSE         CORONA                       NM     90002784736
939114A848B149   MOTA         LOURDES                      UT     31054104084
9391275714B554   JESSELLE     QUINONES                     OK     90013437571
93912785372B56   JIM          PARENT                       CO     33026007853
939127A5885953   LETRACI      BRADLEY                      KY     90005947058
93912A54A93755   GAREY        HODDS                        OH     90003830540
93913692872B32   DALE         SIDEL                        CO     33088766928
9391438A14B554   CAROLYN      RICHARDSON                   OK     90013213801
939146A5172B62   MARJYNA      WILLIAMS                     CO     90014306051
93915736A5B383   ANDREA       BROWN                        OR     44507587360
93915798972B62   CARLOS       BERUMEN                      CO     33018207989
939158AA272B22   NADINE       MARTINEZ                     CO     90014658002
93915A84191882   SHIRLEY      BAKER                        OK     21013560841
93915A86691599   ELIZABETH    ROSALEZ                      TX     90012770866
9391612975B563   JAMES        CHAVEZ                       NM     90012721297
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1661 of 2350


9391665867B444   KENNETH      ROYAL                        NC     11088546586
939172A733B357   EMMA         ROBERTSON                    CO     33029172073
93917451A4B588   JOSE         CABRERA                      OK     90004374510
93917742A43584   WILLIAM      HUMPHREY                     UT     90014417420
9391832517B436   ANGELICA     HERRERA                      NC     90000283251
93918512672B22   JOANN        OVIEDO                       CO     33085735126
9391978714B588   EDWARD       OLD BEAR                     OK     90014757871
939198A7161927   ELIZABETH    DIAZ                         CA     46008208071
939199AA74B554   MARTIN       COOPER                       OK     90003559007
93919A18361979   CLAUDIA      LOPEZ                        CA     90005990183
93919A4295B531   RYAN         COLWELL                      NM     90015290429
9391B292472B32   FEDERICO     HERNANDEZ                    CO     33010102924
9391B38995B548   ANDREW       MARQUEZ                      NM     90010793899
9391B565698B98   ALMA         CERVANTES                    NC     90005505656
9391B882172B62   KIMBERLY     CURTIS                       CO     90011168821
93921686A72B42   CARMEN       COSTA                        CO     90013946860
939217AA555957   VICKY        GONZALES                     CA     90008627005
9392199255B548   SYLVIA       WHITTLE                      NM     35070399925
9392212644B588   ROBERT       ZUNIGA                       OK     21505581264
9392228A77B358   SHILTA       CHAUDRY                      VA     90012902807
93922466272B62   GUADALUPE    CRUZ                         CO     33092444662
939227A615B383   REBECCA      THOMPSON                     OR     44528557061
9392294495B548   DONNA        WILSON                       NM     35014629449
93922A18361979   CLAUDIA      LOPEZ                        CA     90005990183
9392316A891399   MAMIE        WRIGHT                       KS     29024661608
939239A3A61977   RODRIGO      CABALLERO                    CA     46006359030
93924322572B56   SAFIA S      ABDI                         CO     90010083225
93924438872B36   JESSICA      MCNICHOLS                    CO     90011034388
93924454372B42   EDUARDO      ARJONA                       CO     33054624543
93924A58691599   LURDES       GARCIA                       TX     90009250586
93924AA298436B   MARCUS       AIKEN                        SC     90015130029
9392534885B383   JESSICA      MARTINEZ                     OR     90008073488
93925554A4B554   ZULEMA       GARCIA                       OK     90006145540
93925972572B42   GREGORIO     DOMINGUEZ                    CO     33094429725
93925A95993755   JAKE         BOND                         OH     64540200959
9392674395B548   LUIS         FRANCO-FRAIRE                NM     90013937439
93926A99493787   CASEY R      HALL                         OH     64504070994
93927A2427B444   JESSICA      LAMBERT                      NC     90010730242
9392821824B949   MARY         SIMMONDS                     TX     90015302182
939296A2272B42   HEATHER      DAVIS                        CO     33094806022
93929A59561977   NANCY        WILSON                       CA     90012170595
93929A5A14B949   KATHALEANT   SIMIEN                       TX     90010120501
9392B197361979   ROSANA       RIVERA                       CA     90010711973
9392B553A61927   BARTOLOME    CAPURRO                      CA     46058755530
9392B653977537   KAVAI        MUAO-HARRIS                  NV     90014516539
9392B863697B59   CONNOR       QUICK                        CO     90012728636
9392B924A72B32   JUAN         ORRANTIA                     CO     90011309240
93931295272B22   NEFTALI      GUTIERREZ                    CO     33004142952
93931342972B83   SHANNEN      SILVA                        CO     90009253429
9393146737B444   BENEDICTA    OPPONG AKOSAH                NC     90014874673
9393147A491521   GREGORY      OLMSTEAD                     TX     90014684704
93931582A4B949   ROY          KINLER                       TX     90014175820
939316A5191521   GIOVANNA     COSSIO                       TX     90013046051
93932377A41296   MICHEAL      ZHU                          PA     90002763770
9393311884B588   MELANIE      BISHOP                       OK     90007061188
93933227372B62   ROGER        PINNEKE                      CO     90014802273
93933281372B3B   MICHELLA     ZEILISKO                     CO     90013852813
93934318772B42   RICHARD      ERTMAN                       CO     90011623187
93934328972B22   EDWARD       TODD                         CO     90004363289
9393449188B17B   MARK         STIMSON                      UT     31081944918
93935615772B22   SANDRA       JURANDO                      CO     90014776157
9393568124B949   KIERE        ROBERTSON                    TX     90014756812
9393574395B548   LUIS         FRANCO-FRAIRE                NM     90013937439
939357A7797B59   ALYSSA       ALVARADO                     CO     39097607077
9393612355B548   HELEN        WESLEY                       NM     90012751235
9393634774B588   BRENDA       FERREIRA                     OK     90009243477
9393651A891599   SUSANA       RUVALCABA                    TX     90007875108
93936662997B59   MICHAEL      ROOS                         CO     90013286629
93936719972B42   MARISA       IBUADO-ARELLANO              CO     33069047199
93936815A61979   JAIME        PAEZ INIGUEZ                 CA     90013938150
9393683487B444   RUTH         RIVERA                       NC     90003568348
939368A6561928   STEPHANIE    MURGUIA                      CA     90012638065
9393819565B548   JOSE         GONZALEZ                     NM     90011831956
9393827543164B   FRIDA        MCCARDLE                     KS     90013392754
9393855458B149   RAMIEREZ     SERGIO                       UT     90004725545
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1662 of 2350


9393875555B548   MARIA        REYES                        NM     90013937555
93938864472B56   BOUKARE      MONNE                        CO     90001938644
9393894935714B   STEPHANIE    BENSON                       VA     81097619493
9393988775B548   CHARLES      LONELADGE                    NM     90011168877
9393B7A2A7B444   ERIKA        VERA                         NC     90009897020
9393BA77791521   MARCELA      CONTRERAS                    TX     90012910777
9394115644B588   JOHN         MARTI                        OK     90015311564
93941455372B22   TAWNI        NIXON                        CO     90009174553
939414A3891399   TAMARA       BROWN                        KS     29072194038
9394158674B554   ERIKA        DE SANTIAGO                  OK     90012535867
939415A7991599   ANDRES       TORRES                       TX     90005475079
93941655172B62   BELLE        STEARNS                      CO     33004626551
9394182883164B   LEON         MARTIN                       KS     90013928288
9394249A891599   PRISMA       NAVA                         NM     75021964908
93942562A4B588   ARVELLA      WEEDEN                       OK     90011865620
939432A724B554   CATHLEEN     CERDAY                       OK     90011522072
9394347138B175   CHELSEA      DEVISSER                     UT     31062764713
93943697472B32   DOUGLAS      DELACRUZ                     CO     90006306974
9394375974B554   SUZANNE      ORTIZ                        OK     90013437597
93943987972B62   OFELIA       GARCIA                       CO     90013629879
93944A3A661977   KEN          CAMPANA                      CA     90013950306
93944A78191951   GLENDA       RODRIGUEZ                    NC     90013400781
9394516A272B3B   JAVIER       VENEGOS                      CO     90002401602
939451A455B237   CHARLES      GARRETT                      KY     90010621045
9394522A56193B   FRANK        NUNEZ                        CA     46078652205
939455AA255951   SALVADOR     VENTURA                      CA     90010115002
9394659685B383   KIBRAM       WELDESERGIS                  OR     90015005968
93946731172B3B   JOAQUIN      REYES                        CO     90005007311
939471A614B949   BRADLEY      WILLIAMS                     TX     90014601061
93947644872B62   JTO          INTERPRETING LLC             CO     90000946448
93947A7A155957   PATRICIA     WILSON                       CA     90000960701
93948A76551555   NOE          SANCHEZ                      IA     90014310765
939492A745B531   RIEL         LOYA                         NM     90011032074
93949A94672B22   JOY          PARKER                       CO     90012080946
9394B193872B98   ANTHONY      AGUILAR                      CO     33079051938
9394B422261979   VILLAREAL    ERMELINDA                    CA     90002804222
9394B524591579   NORMA        YOUNTS                       TX     90002015245
9394B96574B588   COLUMBUS     JACKSON                      OK     90015079657
93951194A91399   SHERON       DICKERSON                    KS     90015211940
93951458A72B97   KATIE        KARPOVAGE                    CO     33052424580
93951585372B62   ALISHA       SALAZAR                      CO     90012055853
939516A1372B56   ANAHI        LOPEZ                        CO     90000166013
93951759972B42   MARTHA       RICALDAY                     CO     90011127599
93952748872B56   ANGEL        WING                         CO     33081687488
9395321A25B531   VANNESSA     RUELAS                       NM     90014462102
9395349A761977   JEFFERY      EDWARDS                      CA     90010224907
9395381643164B   BRENDA       RUSSELL                      KS     90008488164
93953881A91521   ANA          VALDEZ                       TX     90012858810
9395389A772B22   MICHAEL      MARTINEZ                     CO     90013938907
9395411AA72B3B   TRACEY       VIALPANDO                    CO     33025991100
9395466A85B383   WILLIAM      BOYD                         OR     90013926608
93955437A72B3B   CONSUELO     RODRIGUEZ                    CO     90005264370
93955581897B59   VICTOR       FLORES                       CO     39005855818
93956883A72B62   AURORA       BROOKS                       CO     90002108830
93958361A91599   URIEL        HERNANDEZ                    TX     75032533610
939583A6A31629   DREW         LANG                         KS     90010873060
939585A3141296   PHILLIP      ALMENDAREZ                   PA     51069545031
93958835272B42   ROBERT       ACOSTA                       CO     90012358352
9395913244B588   VICTOR       REYNA                        OK     90015101324
93959196A61977   JENNIFER     LOPEZ                        CA     90012661960
9395921A95B548   GARY         MULLER                       NM     35016222109
93959489772B62   ARIEL        ARMIJO                       CO     90007654897
93959819172B42   CHAUNCEY     GRAVES                       CO     90006838191
9395B549277537   MELANIN      OSORIO                       NV     43057255492
9395B831A61977   FORTE        FORTE                        CA     90013998310
9395B911997B59   NANCY        PENA                         CO     90012779119
93961549372B98   BREANNA      SAMPLE                       CO     90003105493
93961A58691521   NAMRATA      KHANAL                       TX     90013170586
93962A8119153B   AURELIO      CHACON                       TX     75087060811
9396333125B548   JASON        BROUSSEAU                    NM     35093413312
9396353A355951   BRIANA       SHORT                        CA     90014785303
939662A822B982   PAULA        MANGARREZ                    CA     90013432082
9396679AA55951   GRACIE       EXUM                         CA     90010207900
93967A31372B56   KENNETH      SANDOVAL                     CO     33034180313
9396848548B149   JOEL         MARTINEZ                     UT     90014874854
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1663 of 2350


9396857A291599   LOPEZ         ANSELMO                     TX     90010295702
93968A71672B32   THASHA        MONROE                      CO     90014680716
9396B215372B62   FELIPE        AGUILERA                    CO     90015002153
9396B319291951   CLINTON       RAINEY                      NC     90009763192
9397146765B531   MANUEL        CARRANZA                    NM     90014824676
9397149A372B42   LUC           DOMINGUEZ                   CO     90009614903
93972225972B22   SONIA         FUENTES                     CO     33004852259
93972898897B59   JANETTE       HAMMOND                     CO     90001248988
93972A68843584   JOLENE        BOURGET                     UT     90010120688
939737A255B548   LINDA         ARMIJO                      NM     90013387025
93973A2112B24B   HOWARD        HOLMES                      DC     81053390211
939741A1A61979   IRMA          FRANCO                      CA     90009731010
9397427274B949   WILLIAM       JEFFERSON                   TX     90015302727
9397461975B383   TIM           MORGAN                      OR     90011326197
93974861197B59   KELLY         FOGG                        CO     39089148611
9397615A34B588   CORINA        TAYLOR                      OK     90012661503
939761A8A72B32   JUAN          SALAZAR                     CO     90009521080
9397622564B949   COREY         JANICE                      TX     90012892256
93976275597B59   MARIA         RAMIREZ                     CO     90015202755
9397663265B259   REGINALD      SPINKS SR                   KY     68025426326
9397664A24B554   NICHOLS       CHANDLER                    OK     90014756402
93976821297B59   CHRISTOPHER   ALLEN                       CO     90013378212
9397698955B383   JOHN          PATTERSON                   OR     44565979895
93976A26597123   RACHELLE      STRANGE                     OR     90008930265
9397719398436B   JAMES         DARK                        SC     19082671939
939772A885B383   DALONTAE      SMITH                       OR     44518672088
93977773A97B59   DEBRA         CRAIN                       CO     90013337730
9397799164B949   ROKISHA       LIVING                      TX     90010339916
93978367A72B3B   SOM           RODPAI                      CO     90012553670
93978496897B59   ANGELA        RAMIREZ                     CO     90013154968
93979264A91399   SHARON        CLIFTON                     KS     29004732640
93979297297B59   DOUGLAS       DEEDS                       CO     90013732972
9397934A27B444   LLOYD         BROWN                       NC     90007673402
93979423172B42   PAUL          VIGIL                       CO     33042894231
9397B2A4461979   RODOLFO       BARRERA                     CA     90010272044
9397B514197B59   LUCIA         MARTINEZ                    CO     90001765141
9397B828791951   JEMMY         RODRIGUEZ                   NC     90002318287
9397B829751561   A             HAWKINS                     IA     90003068297
93981121172B42   LUZ MARIA     CASTRO                      CO     90013131211
9398215A28436B   PETER         KEYS                        SC     19061921502
93982695172B3B   KOFFI         FIODANOU                    CO     90013066951
93982A46561977   LUIS          CUEVAS                      CA     90013950465
9398317694B554   LUCILLE       CEBALLOS                    OK     90014001769
9398328AA5B383   LISA          SHERWOOD                    OR     44514202800
93984314A91599   ABRAHAM       RODRIGUEZ                   NM     90010073140
93984498A91521   JESUS         ENRIQUEZ                    TX     90005814980
93984958A7B444   ERICA         BLACK                       NC     11022719580
93984A69872B62   MAGGIA        LEATALA                     CO     90005070698
9398535A95B526   CHRISTOPHER   ARAGON                      NM     90011133509
93985515A72B62   JENNIFER      ELIOT                       CO     90011975150
9398554A54B588   RICKEY        DUFFEY                      OK     90014155405
93985893597B59   JUAN          FLORES                      CO     90014168935
93985A48261977   ANTONIO       ESTRADA                     CA     90013950482
93986875172B22   JEFF          HURTADO                     CO     90002818751
9398784A88B187   JAMES         CASSIDY                     UT     90010298408
9398818A772B56   PAUL          GONZALEZ                    CO     90005351807
93988486572B42   JASON         BIADO                       CO     90004344865
93988A5A65B531   CECILIA       RIVAS                       NM     90011570506
9398935315B383   RICHARD       NORTON                      OR     90005323531
9398983513164B   JUAN          MASSU                       KS     22001378351
93989896772B22   ERIC          YOUNG                       CO     90013938967
9398B276143584   CRIS          LEON                        UT     90009032761
9398B357372B3B   MELISSA       MARQUEZ                     CO     90002633573
9398B418A5B356   DOLORES       MELCHOR                     OR     90000674180
9398B663A97B59   MELISSA       PUNDT                       CO     90002746630
9398B98625714B   SETH          MURRAY                      VA     90006889862
9399147236193B   CONNIE        PALACIOS                    CA     90008294723
939921A864B588   KHAYLA        ROGERS                      OK     90006611086
9399249A272B3B   DEIGO         SEDILLO                     CO     90004754902
9399293A18B158   BOBBY         MCCOLLOCH                   UT     90004079301
93992A54372B22   SIDNEY        GOSNELL                     CO     90015120543
9399387247B444   KAREEMA       WASHINGTON                  NC     90013878724
9399388A355951   ARACELI       VERA                        CA     90010158803
93993934172B22   KRISTINE      KAUFMANN                    CO     90004659341
93993A8367B464   DONALD        MORRIS                      NC     90010350836
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1664 of 2350


93993A97861979   GUSTAVO      CRUZ                         CA     90008680978
939942A8172B22   ERNEST       BOCANEGRA                    CO     90012942081
9399461694B949   JOSEPH       RODGERS                      TX     90015236169
9399465A191521   FELIPE       JUAREZ                       TX     75087236501
93994828172B42   CHELSEA      GROVE                        CO     33089418281
9399496784B949   PEDRO        DELUNA                       TX     90013289678
9399544879188B   CESAR        FERNANDEZ                    OK     21068684487
9399553748B149   JOSE         ALONSO                       UT     90014845374
9399656114B554   JOSE         SOLIS                        OK     90003475611
939966A5172B62   MARJYNA      WILLIAMS                     CO     90014306051
93996A96191521   TELMA        RODRIGUEZ                    TX     90002780961
9399753748B149   JOSE         ALONSO                       UT     90014845374
93998271A72B28   SUZANNE      FRASEN                       CO     90007452710
9399836A14B949   SUSANA       ROMERO                       TX     90007573601
93998522197B59   CORTAINEY    WRIGHT                       CO     90002465221
93998718572B3B   KAYLYN       LILLY                        CO     90006347185
9399B28587B468   BILLY        BRICE                        NC     90009632858
9399B533672B62   GILBERTO     GUTIERREZ                    CO     33047755336
9399B621941296   MIGUEL       FLORES                       PA     90014436219
9399B654A61979   KARLA        MUNOZ                        CA     90014796540
9399B867991521   WILLIE       ALVAREZ                      NM     90001168679
9399BA9824B588   MARIA        LOPEZ                        OK     21555000982
939B11A167B444   ASIA         RANDELL                      NC     90013751016
939B136A197B59   JOSE         MARTINEZ-OROZCO              CO     39096743601
939B2291277537   RANDALL      SULLIVAN                     NV     90010352912
939B249A88B149   MORGAN       BURNS                        UT     90011234908
939B2913172B56   NOREEN       KAISER                       CO     33001349131
939B2935291951   REYNALDO     BONILLA                      NC     90011499352
939B3421791521   MONA         BARRAZA                      NM     75028114217
939B345828B149   AMBER        ELMER                        UT     31087494582
939B3594443584   TOMMY        SMITH                        CA     90012315944
939B36AAA72B42   DAVID        RODRIGUEZ                    CO     90010556000
939B379247B444   TEMPEST      PROPST                       NC     90008347924
939B4288372446   KEVIN        RAYMOND                      PA     51080212883
939B4475272B42   SANTOS       ECHEVERRIA                   CO     90009814752
939B454388B175   SHANA        WARREN                       UT     31087545438
939B464145B531   JOANNE       GONZALEZ                     NM     90009326414
939B61A4555951   JOHN         TAYLOR                       CA     90012001045
939B6353477537   GABRIELA     GONZALEZ-CHAVEZ              NV     90012313534
939B66A595B383   CRAIG        MCCONNELL                    OR     90013926059
939B6853461977   DIANA        CABRAL                       CA     90013938534
939B7222172B42   CARLOS       GONSALEZ                     CO     33017692221
939B7854361977   VENA         GERMAIN                      CA     90014698543
939B82A6772B62   TERRI        BUSBY                        CO     33096252067
939B8332561977   BLANCA       SANDOVAL                     CA     90014833325
939B8551191951   WILLIVITTA   WALKER                       NC     17084155511
939B872A972B3B   WHITNEY      HORTON                       CO     33087557209
939B8814A72B56   KARLA        SEMENTAL                     CO     90011798140
939B917285714B   JUAN         GARMENDEZ                    VA     90013171728
939B934265714B   JUAN         GARMENDEZ                    VA     90008723426
939B968118436B   HORACIO      CANDELARIO                   SC     19029116811
939B96A2A5B531   ROBERTO      BOLIVAR                      NM     35052006020
939BB31386193B   JUANCARLO    ROCHA                        CA     90005873138
939BB396355951   MARTIN       ESPINO                       CA     49018003963
939BB555872B62   MARVA        SMITH                        KS     33075095558
939BBA3847B444   TYHESHA      SHINN                        NC     90014370384
939BBA8378B169   JONATHAN     DUMAS                        UT     90007360837
93B1128A397123   AMBER        REDINGER                     OR     90009562803
93B1164A397B59   LARISA       NEGRI                        CO     39068066403
93B1176194B235   MATEO        BOCANEGRA                    NE     27097257619
93B12122477537   MARIA        APARICIO-DEMARTINEZ          NV     90014431224
93B12258A3B366   CAROL        STEVESON                     CO     33075012580
93B12386A91399   JOSE         PRECADO                      MO     90015353860
93B12555172B22   PHILIP       THOMAS                       CO     33041235551
93B127A483146B   EFORT        MYRTIL                       MO     27562597048
93B1282A84B554   CHONELL      ROBINSON                     OK     90009308208
93B12864872B32   CATALINA     GONZALES                     CO     33080368648
93B12A96191521   IRMA         DAVILA                       TX     90008260961
93B13195A31661   MILISSA      HAWKINS                      KS     90014401950
93B13767A41296   RODNEY       MCGLUMPHY                    PA     90014857670
93B1445124B554   KRISTY       JOHNSON                      OK     90012674512
93B14746877537   MARIA        GONZALEZ- DENUNEZ            NV     90003267468
93B14913472B32   LARISA       LORY                         CO     90004499134
93B15139791951   MICHAEL      POWELL JR                    NC     90003961397
93B15441991599   MARIELA      LOPEZ                        TX     90013084419
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1665 of 2350


93B1553195B383   JAMES           LEDBETTER                 OR     90012265319
93B1553A797123   JUAN            MACIAS MARTINEZ           OR     44072855307
93B15953193769   RAYMOND         HUDSON                    OH     90009359531
93B166A1372B2B   FEDERICO        BANUELOS                  CO     90013676013
93B16893293755   RALEIGH         THORNTON                  OH     64565658932
93B16962A5B565   JUAN            RUIZ                      NM     35064389620
93B16A28661977   JOSE            MACHUCA                   CA     90015120286
93B17397A5B548   DURAN           CYPRIAN                   NM     90013153970
93B17434791951   JUAN            GUZMAN                    NC     90012354347
93B17883861977   MARY            CASTANEDA                 CA     90013938838
93B17A6587B444   JONATHAN        ALVARADO                  NC     90013650658
93B18213972B32   RANULFO         CHAVEZ                    CO     33067332139
93B18349661979   ANA             RAMIREZ                   CA     90014093496
93B18938497123   CERVANTES       ALEJANDRA                 OR     90001789384
93B1895A197123   CRISTAL         CASTILLO                  OR     90011399501
93B1932395593B   DAWSON          CLARK                     CA     90012793239
93B196A5A55957   JOSE            QUINTERO                  CA     90014896050
93B1B118841955   ANTONIO         ALVARDO                   OH     90014541188
93B1B37585B548   THOMAS          TURLEY                    NM     90013923758
93B1B379261979   DIRIBA          WOYESSA                   CA     90015043792
93B1B59A18B149   WENDY           GROW                      UT     31007605901
93B1B9A1A91521   STEPHANIE       CONTRERAS                 TX     90007879010
93B1BA36991599   FRANSISCO       ORTEGA                    TX     75088830369
93B2157A497B59   RAYMOND         SANCHEZ                   CO     90013645704
93B21696361979   MOLLY           SANCHEZ                   CA     90013556963
93B2191A65B548   CESAR           DOMINGEZ                  NM     35092019106
93B2218884B588   DENTON          HOUSE                     OK     90014971888
93B2244A472B42   NATIVIDAD       MANUEL-PENA               CO     90013944404
93B22919791882   MICHELLE        NEWTON                    OK     21088829197
93B23285791521   GERARDO         REYES                     TX     90010082857
93B23425143584   RICHARD         EASTON                    UT     31078574251
93B23989A5599B   MARIA           SANCHEZ                   CA     90000649890
93B2444174B949   DAMIAN          ROBERTSON                 TX     90012704417
93B2444A472B42   NATIVIDAD       MANUEL-PENA               CO     90013944404
93B24527824B28   CARLOS          FLORES                    VA     90000405278
93B2459124B554   TIFFANY         COOPER                    OK     90010215912
93B24917172B32   DAWN            WALTER                    CO     90011779171
93B24A66A72B22   LUKE            MARTINEZ                  CO     90001280660
93B24AA8A72B33   SIMON           COVARRUBIAS               CO     90006020080
93B25211161977   ALEJANDRO       NAVARRO                   CA     90015272111
93B25229855951   DIEGO           RAMIREZ                   CA     90011522298
93B2556734B554   NIKKI           MOORE                     OK     90014035673
93B25A47897B59   HECTOR          LOPEZ                     CO     90012440478
93B2616988B175   CESAR           UGAS                      UT     90011831698
93B265A1155951   LORENA          SOTO                      CA     90008415011
93B2671534B554   KIRA            SARGENT                   OK     90010067153
93B267A1291599   YVONNE          MUNOZ                     TX     75056227012
93B2779658B187   MARCO ANTONIO   ESCAMILLA                 UT     90012547965
93B27863297123   ANDRES          REYES                     OR     90014458632
93B27924755951   STEVEN          TAYLOR                    CA     49079839247
93B27A77791951   BRITTANY        MCDONALD                  NC     90004310777
93B281A835B33B   FELIPE          PANTOJA                   OR     90000381083
93B2844578436B   SHADENA         COLEMAN                   SC     90014804457
93B28487872B3B   ROSE MARY       ENRICO                    CO     90009944878
93B28627197123   BRITTANY        ELGIN                     OR     90003896271
93B2898357B444   CAMERON         COLLINS                   NC     90010729835
93B28AA7743584   BARBARA         SNYDER                    UT     90013400077
93B29145772B22   ROSALINDA       BALDEZ                    CO     90012911457
93B2B425857141   SONIA           OCHOA                     VA     90012414258
93B2B49684B949   WAYNE           BEAN                      TX     90015374968
93B2B5A1491532   FRANCISCO       VILLA MORALES             TX     90005395014
93B2B68924B588   WESLEY          TINGLER                   OK     21541626892
93B2B877372B42   CHRIS           BAROLOW                   CO     90012138773
93B2B946672B42   CORY            CUNNINGHAM                CO     90012469466
93B2BA55891521   LATOYA          JOHNSON                   TX     75074830558
93B3115A197B59   ALFONSO         GOMEZ                     CO     90012471501
93B3126958436B   KENNETH         NELSON                    SC     90013922695
93B31362A3164B   DIANE M         CASH                      KS     22041763620
93B3136A14B588   RONALD          OLLERDISSE                OK     90013083601
93B31794591521   MARIBEL         DE SANTIAGO               TX     75078337945
93B31A59477537   JUAN            AGUILAR HERNANDEZ         NV     90012150594
93B32181243584   MISTI           DUFFIN                    UT     31081851812
93B32193221688   ALMA            SWING                     OH     90015181932
93B3279658B187   MARCO ANTONIO   ESCAMILLA                 UT     90012547965
93B3296397B444   PAUL            PETERSON                  NC     90013399639
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1666 of 2350


93B3312724B554   CHEVI           SHARP                     OK     90013911272
93B33541731678   CRYSTLE         COX                       KS     90009995417
93B33642191599   JOSE            DEL REAL                  TX     90004196421
93B33754191521   LILIA           ANDRADE                   TX     90014777541
93B3382A461977   DULCE           RUIZ                      CA     90012448204
93B33876855957   KAO             VANG                      CA     49079608768
93B34153772B3B   CHANDRA         MITCHELL                  CO     33073271537
93B34241641296   YVONNE          GRIFFIN                   PA     51037152416
93B34548991951   SANDRA          PERRY                     NC     17007465489
93B34695772B22   SANTIAGO        LOPEZ                     CO     90009646957
93B34743155951   FELIX           PINO                      CA     90005407431
93B34936997123   STEPHANIE       BERGMAN                   OR     90010889369
93B35335672B22   VARGAS SAL      LEONARDO                  CO     33074513356
93B35339155957   ANDREA          RODRIGUEZ                 CA     49014683391
93B35548997123   DALE            GUERRY                    OR     90009955489
93B35612672B32   ANGELICA        GUITERREZ                 CO     90011146126
93B3668125B526   RICHARD         WROTEN                    NM     90009976812
93B36681677537   PAUL            EATON                     NV     90015186816
93B37222991521   MONICA          MUNETON                   TX     90014762229
93B37329A4B588   TERI            BARKUS                    OK     90015153290
93B3733275B383   TABITHA         CERCEA                    OR     90014083327
93B37488543584   MARK            SHAMPTON                  UT     90014594885
93B3772935B548   BRENDA          HERNANDEZ                 NM     90011897293
93B37A12791882   ESTEVAN         FUENTES                   OK     90001940127
93B37A8434B588   KINDELL         ADAIR                     OK     90015130843
93B38118961977   ANITA           ENCARNACION               CA     90014851189
93B38382943584   PAYGO           IVR ACTIVATION            UT     90012763829
93B38797A72B22   ELENA           DORADO                    CO     90013937970
93B38928572B32   DULCE           VEGA-SALINAS              CO     33024019285
93B3922835B383   MARILYN         BRAUNE                    OR     90013272283
93B3936367B399   LORENZO         ESCOBAR                   VA     90005173636
93B39613261955   DESIREE         ACOSTA                    CA     90010046132
93B3969186193B   ZAMORA          ARMIDA                    CA     90014726918
93B3969447B389   SONG MO         AN                        VA     90011026944
93B39AAA74B588   TYLER           LOWE                      OK     21500050007
93B3B26218B149   JULIE           CHAMBERLAIN               UT     90012542621
93B3B269772B32   DEANNA          ESTRADA                   CO     33052192697
93B3B3A5693755   JAMES           BUSCHHORN                 OH     90013323056
93B3BA53933698   GUSTAVO         SMITH                     NC     90001570539
93B41188372B32   CARLOS          MACHUCA                   CO     33067531883
93B411A4297123   BAILEY          O'NEILL                   OR     90013971042
93B41766A91599   JESSICA         MARIN                     TX     90013807660
93B41819A91521   GILBERTO        ARCINIEGA                 TX     75029238190
93B41954572488   AMBER           HOLMES                    PA     90004239545
93B42729777537   JENNIFER        VARELA                    NV     90013537297
93B42749781626   CHRIS           LILES                     MO     90005447497
93B4292548B149   ALFREDO         SABUCO                    UT     90013269254
93B4295784B554   APOLLON         HENDRIX                   OK     90010229578
93B43568197123   NATHANIEL       FIGUEROA                  OR     90012205681
93B43819597B59   JOEL            RAMIRES                   CO     39082918195
93B44152872B22   JUSTIN          ROUSE                     CO     90012911528
93B4418247B444   DEANNA          SATCHELL                  NC     90012651824
93B443A4255951   BETTY           SNYDER                    CA     90011053042
93B44724191521   RITA            AGUIRRE                   TX     75000897241
93B44855461977   CHAVES CARINA   CARINEA                   CA     90005508554
93B45674297123   TAMMI           FERRIS                    OR     44055236742
93B45748961979   WILLIAM         STONE                     CA     46016117489
93B45A6574B588   RAYMOND         HENDERSON                 OK     90012870657
93B4628473164B   ALEJANDRO       HERNANDEZ                 KS     90012962847
93B464AA272B42   DAVID           WITZKE                    CO     33010814002
93B46A6615B531   CYNTHIA         ARAGON                    NM     35068860661
93B47452A8B149   MIKEL           CLINGNPEEL                UT     31083294520
93B4773925B383   MARISABELLE     MUDDER                    OR     90010387392
93B47875691951   EBONY           WILLIAMSON                NC     90012388756
93B4796264B949   CALVIN          WILLIAMS                  TX     90008869626
93B48634143584   MIRIAM          PALACIOS                  UT     90008886341
93B48891497B59   RAMEY           JEREMY                    CO     39066198914
93B4919434B554   ROBIN           TROUTT                    OK     90014571943
93B49257197123   SIRENA          HERNANDEZ                 OR     90013242571
93B497A2255957   HUGO            DIAZ                      CA     49025997022
93B49A69597B59   LEROY           LUJAN                     CO     39088090695
93B4B28915B383   YOUNG           JAH                       OR     90011152891
93B4B4A5A97123   JERRY           KLUVER                    OR     90012634050
93B4B796691951   TAMAURA         ROBINSON                  NC     17063307966
93B4B849373261   MARGARITA       GONZALEZ                  NJ     90013828493
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1667 of 2350


93B51164A55957   LOLITA       BURROLA                      CA     90014271640
93B5137264B554   DAVID        STERNLOF                     OK     90007153726
93B51985977537   SHAWN        PRITCHARD                    NV     90010899859
93B519A6491521   PANCHO       PANTERA                      TX     75069659064
93B52294661977   JESUS        LOPEZ                        CA     90011012946
93B52441172B23   SHANNA       GERULLIS                     CO     33014184411
93B5285275B531   RUTH         CHAVEZ GUTIERREZ             NM     90014098527
93B5291315B383   JOHN         JAMES                        OR     90011919131
93B53234943584   MARITSA      CISNEROS                     UT     31081892349
93B5332658B175   KYLE         HALL                         UT     90011833265
93B53557657137   MARVIN       MEJIA                        VA     90003335576
93B5381A14B554   JOSEPH       WHITE EAGLE                  OK     90009308101
93B5432658B175   KYLE         HALL                         UT     90011833265
93B54683A72B42   SARAH        WHATLEY                      CO     90005386830
93B5494764B588   KAREN        POPE                         OK     90011359476
93B54A6A891951   BARRY        COBB                         NC     90014310608
93B55325A8B149   KRISTINA     WILLIAMS                     UT     90010393250
93B5537A18B175   RYAN         HANSEN                       UT     31054153701
93B5539A793755   LISA         BALLINGER                    OH     64587063907
93B55694A5B531   THELMA       DE LA CRUZ                   NM     90009016940
93B55975397B59   JULIA        ENGLE                        CO     90012849753
93B5598344B949   DANIEL       TINOCO                       TX     90009089834
93B55A3834B554   MARKIE       GRAY                         OK     90014640383
93B56239897B59   DERICK       WHITE                        CO     90000692398
93B56448A55951   XIONG        YANG                         CA     90012634480
93B56466891951   CANDACE      ELLIOTT                      NC     90011084668
93B5676445B263   GRAHAM       GOLDSMITH                    KY     90004977644
93B5694434B588   ALEXANDER    ROGERS                       OK     90009799443
93B56948A91521   SANDRA       SALAS                        TX     75067379480
93B571A6A72B3B   GILBERT      JIMENEZ                      CO     90012031060
93B57555372B22   TRAE         GRIFFIN                      CO     90004375553
93B5812528B175   CAMMIE       BROWN                        UT     90008661252
93B58179955951   MARIA        ZAMORA                       CA     90013931799
93B58254672B56   CONTRA       HERNANDEZ                    CO     90010342546
93B5838574B949   CHRIS        DRAKE                        TX     90002053857
93B58643541296   BONNIE       GEORGE                       PA     51042216435
93B58AA424B554   STEVEN       DYER                         OK     21585440042
93B5929458B149   HERMILIO     JEREZANO                     UT     90012902945
93B5933947B444   QUINTIN      GAY                          NC     90010343394
93B59362377537   RENEE        LOVERA                       NV     90013963623
93B5939953164B   VANESSA      URBINA                       KS     90004923995
93B59474841296   CARLISE      PLUMMER                      PA     90013014748
93B59A55441296   DHOJ         BHUJEL                       PA     90015240554
93B5B52A877537   JOSE         ANTONIO MORALES              NV     43048095208
93B5B661461977   ELIZABETH    MUNOZ                        CA     90005976614
93B5B939A72B22   ROBIN        TURLEY                       CO     90007359390
93B61191777537   LEILANI      AKIU                         NV     90010781917
93B612A234B554   ANA          VARGAS                       OK     90013252023
93B6175A15B531   ROBERT       RICHARDSON                   NM     35059317501
93B6182178436B   SHERRY       DAY                          SC     90009968217
93B6185417B444   JORGE        VELASCO                      NC     90011048541
93B61A27A91521   CORINA       MUNOZ                        TX     90013170270
93B6234978B149   AMANDA       WATSON                       UT     90014583497
93B62469791521   ALEJANDRO    SALAS                        TX     75044544697
93B6248635B268   CODY         NEWTON                       KY     90004074863
93B62715772B3B   MEGAN        TRIM                         CO     33016497157
93B629A1272B62   DANIELLE     FLORES                       CO     90007679012
93B62A2235593B   DEBRA        PERRY                        CA     90004350223
93B64154772B22   JULIAN       IBINEZ                       CO     90012911547
93B64524341296   BARBARA      RIGNEY                       PA     51065095243
93B64741755951   NOELIA       PONCE                        CA     90012327417
93B6533615B383   DELANEY      G                            OR     90013203361
93B6541555B531   JOEL         ESQUIBEL                     NM     90008284155
93B65866672B3B   L PETERSON   WRIGHT                       CO     33066818666
93B6661A797B59   MARK         YOUNG                        CO     39038036107
93B66753343584   AMY          SODERGREN                    UT     31037747533
93B66938261977   REBECKA      KOMEHCHEET                   CA     90014889382
93B67562572B3B   BRYANT       MARTINEZ                     CO     90011125625
93B67739A72B42   AYANA        WALKERS                      CO     90013057390
93B68776355951   VICTORIA     CASTRO                       CA     90013827763
93B69252843584   KAREN        HATTAWAY                     UT     31039572528
93B69459161979   MARIA        MORALES                      CA     46016014591
93B69463872B3B   MICHAEL      EVANS                        CO     90014444638
93B695AA12B865   SUSANNA      CHAMBERLAIN                  ID     90001175001
93B6974165B531   KERRY        LOVATO                       NM     90011017416
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1668 of 2350


93B69894177537   LUIS          CUNA-LUNA                   NV     43001568941
93B69A1775B548   ARACELI       GONZALEZ                    NM     35043580177
93B6B27A38B175   MAIRA         OLMEDA                      UT     90012732703
93B6B33A94B235   LOLA          AVERETT                     NE     90006273309
93B6B34978B149   AMANDA        WATSON                      UT     90014583497
93B6B523361979   CORINA        TORRES                      CA     46017535233
93B6B536461977   AARON         REYES                       CA     90015285364
93B6B671891599   HAYLEE        ARCHER                      TX     90011986718
93B6BA26772B62   BETTY JO      WRAY                        CO     90013510267
93B716A2291531   LICENIA       GONZALEZ                    TX     90011286022
93B7172822B982   MARIA         VAZQUEZ                     CA     90009337282
93B7186585B531   ROY           HILTON                      NM     35094428658
93B72172672B3B   MARLA         SALUZZI                     CO     90001961726
93B72256572B62   JAMES         TRANVARD                    CO     90015572565
93B7238624B588   ROBIN         JAMES                       OK     90015093862
93B72459161979   MARIA         MORALES                     CA     46016014591
93B72556243584   CODY          MURPHY                      UT     90007075562
93B72651691599   EDGAR         ESCALANTE                   TX     90004196516
93B72888593755   RYAN          GINTER                      OH     90003978885
93B7321178436B   ANTHONY       CLUBB                       SC     90003612117
93B732A7272B56   LEONARD       MICHAEL PINA                CO     33077672072
93B7378A572B22   ULYANA        HABINSKY                    CO     33039757805
93B74214161977   JUAN          SANCHEZ                     CA     90012572141
93B742A8572B22   DANIELLE      HOSIG                       CO     90014672085
93B74387472B32   DENISE        WOODS                       CO     33093373874
93B743A7A72B3B   MARCOS        GUZMAN-GUERRA               CO     90013363070
93B7461A35B377   BARTOLO       FLORES MONTES               OR     90013526103
93B74851151391   K             KITCHENS                    OH     90001588511
93B7514A441279   MICHAEL       MORGAN                      PA     90010671404
93B75349197123   CESAR         PERALTA                     OR     90011183491
93B75394393755   KIMBERLY      MOSS                        OH     64527723943
93B75413572B3B   JAMES         BOLES                       CO     90012434135
93B754A4A8436B   RASHEENA      THOMAS                      SC     90014914040
93B75685655957   FRANCISCO     GUERRERO                    CA     49058076856
93B75727A72B22   JASON         FUENTES                     CO     33028367270
93B7588454B554   HEATHER       DODD                        OK     90013408845
93B75949761977   JESUS         ESTRADA                     CA     90013939497
93B7639A855951   LISA          AVLIOS                      CA     90008843908
93B76576893125   MARY          HERNANDEZ                   TN     90014675768
93B7665724B554   JEFFREY       ROBERTS                     OK     21543866572
93B7682314B949   GLENDA        RICHARD                     TX     90014748231
93B7697A491521   LIZETH        MENA                        TX     90012999704
93B77445A81672   CHRISTOPHER   HAMILTON                    MO     90013194450
93B7746435B383   GREG          OFNER                       OR     44595144643
93B7748114B949   RILEY         DAWKINS                     TX     90012054811
93B77763455957   JOSE          ZAMARRIPA                   CA     90000257634
93B7787354B259   THOMAS        OBRIEN                      IA     90013848735
93B77A19891599   VAZQUEZ       EDUARDO                     TX     90006830198
93B78151391521   NESTOR        SANCHEZ                     TX     75081281513
93B7857715B383   MOISES        CAAMAL BASTO                OR     44553215771
93B78786891521   NESTOR        SANCHEZ                     TX     90011817868
93B787A178B175   TYLER         RIGGINS                     UT     90000597017
93B78825191547   FABIOLA       RODRIGUEZ                   NM     75047108251
93B78828955957   MEGAN         BRUMIT                      CA     90009338289
93B79366441296   MICHAEL       CHIRICO                     PA     51035453664
93B79492651339   ANTONY        RODRIGUEZ                   OH     90012474926
93B79949761977   JESUS         ESTRADA                     CA     90013939497
93B79A25691399   JOSE VIDAL    GRACIDA VELASCO             MO     90011610256
93B79A67172B56   ANTIONNETT    MARIN                       CO     90007450671
93B7B358633698   TAWANA        ALFORD                      NC     12091783586
93B81316272B42   NAKIA         HUGULEY                     CO     33068643162
93B81388943584   VALLE         CORREA                      UT     90003543889
93B81558A4B588   YADIRA        PORRAS                      OK     90012815580
93B8158755B548   ROSE          ARAGON                      NM     35023825875
93B8181A277537   ERIC          OSBORNE                     NV     43079338102
93B81962781667   DONALD        DUNN                        MO     29035129627
93B8199435597B   RENESHA       CUNNINGHAM                  CA     49090459943
93B81A88972B56   ARCEL         VICTORIO                    CO     33042760889
93B8226264B554   MEGAN         BREWINGTON                  OK     90006902626
93B82388943584   VALLE         CORREA                      UT     90003543889
93B8243AA85961   BETTY         FERQUSON                    KY     90007664300
93B825A388436B   JOSE          VIOLANTE                    SC     90007925038
93B82848961979   WALTER        RAUDA                       CA     90013298489
93B82983672B42   VENESSA       CROWLEY                     CO     90012859836
93B82A55893721   RYAN          IVORY                       OH     90008090558
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1669 of 2350


93B8351725B531   BARBARA       LUCERO                      NM     35041275172
93B8362825B383   KELLY         SANDERS                     OR     44509536282
93B83751172B3B   BERNADINE     ROSALES                     CO     90005107511
93B83823597123   SILVESTRE     BENITO                      OR     90015128235
93B84131372B62   TYLER         ROBERTS                     CO     90012511313
93B8426853363B   SHAMEKA       NELSON                      NC     90009632685
93B84419591521   ELENA         NAJERA                      TX     90010414195
93B8461245B548   JORGE         AVILA-ACUNA                 NM     90009606124
93B84648A97B59   COREY         LUCERO                      CO     90013786480
93B84AA298436B   KELLY         FELDER                      SC     90014810029
93B85145497B59   JOSHUA        DECAMP                      CO     39059851454
93B851A3A55951   ANTONIO       CRUZ                        CA     49042281030
93B8574495B548   PAZZ          JOANNE                      NM     90013357449
93B85869155957   DOMENICA      BARRIOS                     CA     49019558691
93B85936A8436B   MARTHA        GARCIA                      SC     90011919360
93B8593A377537   OLGA          RUIZ                        NV     90015109303
93B8734468436B   KEOSHE        SIMMONS                     SC     90013863446
93B87695191599   GERARDO       SANTANA                     TX     75059916951
93B876A414B554   OLDIN         CIFUENTES                   OK     90014176041
93B87852A5B531   ROBERT        PEREA JR                    NM     35068368520
93B88186A41296   JORDAN        GARZA                       PA     90013301860
93B88629391951   TIMOTHY       PARKER                      NC     90014846293
93B88667855957   NAOMI         RUBIO                       CA     90010216678
93B89349A72B3B   TERRELL       CLARK                       CO     33092413490
93B89A96797123   SHEILA        ALVAREZ                     OR     44003400967
93B8B173272B32   RICARDO       HERNANDEZ                   CO     33003601732
93B8B534A4B554   FELIX         LOPEZ                       OK     90003725340
93B8B7A623B354   BREANNA       NUGENT                      CO     90007497062
93B9171A791599   LUPE          GONZALEZ                    TX     90010657107
93B9195A291882   STEPHEN       TABORA                      OK     90006619502
93B91AA4897B59   MATTHEW       CHAPMAN                     CO     90008410048
93B926A343164B   JENNIFER      MOORE                       KS     22023416034
93B9296325B383   CODY          ANDERSEN                    OR     90010759632
93B92A95597123   ELISEO        CALVILLO                    OR     44089900955
93B933A278B149   ALMA          GUERRERO                    UT     90011593027
93B9358275B383   BRENDEN       SPADY                       OR     90011605827
93B9447A35B54B   MRELVA        OLEDAN                      NM     90011544703
93B9489A96193B   GABRIELE      SMALL                       CA     46078648909
93B94911691951   RUSSELL       BARBEE                      NC     90010779116
93B94958373261   MARIO         QUIROZ                      NJ     90013829583
93B94AA1772B56   SUSAN         COLLIN                      CO     33082710017
93B9515252B845   MASTON        SIEGMANN                    ID     90002991525
93B9523284B235   VALENTINA     LINEBARGER                  NE     27025382328
93B95745843584   CANDICE       SESSIONS                    UT     90012787458
93B9585915B383   DONNA         CLARK                       OR     90009828591
93B9616314B554   MARIBEL       LOPEZ                       OK     90012041631
93B96362A3164B   TERESA        RODRIQUEZ                   KS     90013683620
93B97257797123   ALEXIA        PERR                        OR     90015132577
93B9753A793755   REBEKAH       DICKEY                      OH     90012905307
93B97553497123   CESAR         GUADARRAMA                  OR     90013725534
93B975AA35B548   MARY          PADILLA                     NM     35000385003
93B97692977537   JENNIFER      TRUJILLO                    NV     90014686929
93B9798318B149   XAVIER        KRIEVE                      UT     90011949831
93B9814114B522   CRYSTAL       JONES                       OK     90013061411
93B98294791938   STANLEY       CHIKELUBA                   NC     17026502947
93B98311531459   CHRISTOPHER   BECK                        MO     90012903115
93B98843A8436B   JESSICA       MCCUE                       SC     90007148430
93B9926514B949   BILLY         BROWN                       TX     76590432651
93B99411272B22   JEROME        LOVATO                      CO     33087044112
93B99577855957   ANDRES        MADRAN                      CA     90013975778
93B997A6391599   CASANDRA      LECHUGA                     TX     90007987063
93B99929993755   MELANIE       MURPHY                      OH     90011959299
93B9B322297B59   FATIMA        BANUELOS                    CO     39081533222
93B9B572755947   ELOISA        VALLE                       CA     90011405727
93B9B65835B383   SALVADOR      CASTRO                      OR     90007686583
93B9B968472B42   MARLENA       LUJUAN                      CO     90012989684
93BB142A491553   EDWARD        OLIVAS                      TX     75087174204
93BB1552A5B383   PETR          DEMEHENKO                   OR     90005615520
93BB173A791599   VICTOR        CAMARGO                     TX     75016927307
93BB177A741296   JAY           SAH                         PA     90011647707
93BB1814A4B949   OTEASHA       CRAWFORD                    TX     76597878140
93BB1953372B42   OSCAR         PINEDA                      CO     90014859533
93BB199215B548   ROBIN         ROMERO                      NM     90005439921
93BB1AA482B982   MARIA         BOTELLO                     CA     90014820048
93BB2622591399   JUNIOR        DOMINGUEZ                   KS     90012826225
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1670 of 2350


93BB28AA597123   ROBIN        CASSIDY                      OR     90007768005
93BB2939191521   VIANEY       SAMANIEGO                    TX     90004399391
93BB3322591521   SYLVIA       HERNANDEZ                    TX     90011193225
93BB376365B383   YOLANDA      SMITH                        OR     90014727636
93BB3925872B62   PAUL         MCKINZIE                     CO     33092799258
93BB39A6455951   GILMER       TORRES                       CA     90015099064
93BB4152A72B42   JUAN         MARTINEZ                     CO     90005281520
93BB4266591599   PATRICIA     FLORES                       TX     90011872665
93BB4443772B3B   TIFFANY      WHITE                        CO     33029824437
93BB447715B548   FELIPE       MENDOZA                      NM     90012174771
93BB4663331462   DAENG        HORIAGE                      MO     90013056633
93BB4683591951   TIAJUANA     HOLLAND                      NC     90005236835
93BB4757991882   SHARIKA      WALDON                       OK     21056877579
93BB543695B394   JENNIFER     HARVEY                       OR     90009604369
93BB551295B531   ROSA         MENDOZA                      NM     90013645129
93BB5813272B42   MARK         MEYERS                       CO     90011618132
93BB5873161977   RUTA         TAPUOLO                      CA     90013938731
93BB6487855951   EMI          GONSALEZ                     CA     90008414878
93BB6658772B42   MAURICIO     ROBLES                       CO     90014006587
93BB687974B588   DEANELO      PAYN                         OK     90009308797
93BB6A5657B389   MAURICIO     HERNANDEZ                    VA     90006410565
93BB7311272B42   ROBIN        OBER                         CO     90000543112
93BB7682361977   ANGELICA     HERNANDEZ                    CA     90007006823
93BB8153843584   JOHN         BRANSTEITTER                 UT     31001031538
93BB839249125B   CHISTIAN     MADRID                       SC     90011843924
93BB8626372B42   NICOLASA     DE LA ROSA                   CO     90006816263
93BB872525B531   KATERI       MONTOYA                      NM     90011017252
93BB874859125B   CHRISTIAN    MADRID                       SC     90013027485
93BB8751291951   OSCAR        AYALA                        NC     90015107512
93BB878815B383   DAVID        HIEGEL                       OR     90010047881
93BB928AA77537   PAUL         RUSSEL                       NV     90012272800
93BB9469161979   SANDRA       PEREZ                        CA     90012504691
93BB98AA88436B   ROBERT       FLOWERS                      SC     90010118008
93BB9931492869   PEDRO        JIMMINEZ                     AZ     90014549314
93BBB134172B22   ROBERTO      TELLO                        CO     90012911341
93BBB2A4672B42   MICHELLE     CAREY                        CO     90004502046
93BBB4A5555957   JOAQUIN      FLORES                       CA     90013904055
93BBB725791951   DONALD       MOORE                        NC     17065367257
93BBB74685B548   JESSICA      OLIVAS                       NM     35062827468
93BBB76A68B175   SHERI        LANE                         UT     90003657606
93BBBA56A33698   PAMELA       WILLIAMS                     NC     12055350560
9411119533164B   LATIS        HOBBY                        KS     90011481953
9411153395B243   DEBORAH      ENRIQUEZ                     KY     68088945339
9411276168B175   JACQUELINE   THOMSON                      UT     90013787616
9411287A555963   VALENTINA    GIL                          CA     90008018705
9411382354B588   DEREK        CHAMBERS                     OK     90013908235
941149A4A72B62   JESSE        MOWER                        CO     33086749040
9411538494B588   NATASHIA     CRAWFORD                     OK     90013833849
9411588954B554   FELICIA      JACKSON                      OK     21556168895
9411591A177537   ASHLEE       BECKMAN                      NV     90011379101
9411615255B565   IDALI        BENAVENTE                    NM     90005521525
94116218672B62   KELCIE       DOUGLAS                      CO     90004502186
941162A9455925   FLORA        HRNANDEZ                     CA     90014782094
94116579872B56   AHARON       HERRERA                      CO     33068635798
94116A89972B22   IGNACIO      AGUILAR                      CO     90012690899
94117729372B32   ANEATA       OBRIEN                       CO     90010747293
94118424372B32   MARK         WAGNER                       CO     33001984243
941184A1555957   JAIME        CARDENAS                     CA     49070544015
9411892A891399   JORDON       BAILEY                       KS     90007959208
94119112872B56   ROBERT       HANEY                        CO     90009661128
9411916595B383   DEANNA       BEZAK                        OR     44530931659
9411938494B588   NATASHIA     CRAWFORD                     OK     90013833849
94119829172B3B   MARISOL      PILON                        CO     33071608291
9411B634871945   DIANA        MADRID                       CO     90014906348
9411B64A355957   ANITA        APODACA                      CA     49023816403
9411B786355963   WENDY        CARCAMO                      CA     90000987863
941218A995B548   SEAN         GONZALES                     NM     90001228099
94122278872B3B   NICOLE       ARAGON                       CO     90014752788
9412252A63164B   MELANIE      ROWE                         KS     22028085206
94123477272B62   JOHN         CASEY                        CO     90012274772
941235A164B554   KESHA        RAMSY                        OK     90014505016
94123846A53B2B   YOVANI       LOPEZ                        CA     90013798460
941243A8491399   SARAH        CUMBIA                       KS     90013803084
9412472338B175   JONATHAN     BERGSTROM                    UT     90011417233
9412487AA5B531   BEATRIZ      RODRIGUEZ                    NM     90010348700
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1671 of 2350


94125361472B42   JOHN         EMMONS                       CO     90014973614
9412599784B588   FILIBERTO    ARGOT                        OK     90011779978
94127999A4B588   QUINYETTA    COLE                         OK     90011779990
941281A625B569   MELANIE      ABOTT                        NM     90010061062
94128728897B59   LEON         CONWAY                       CO     90013487288
9412874916B933   GI-ANNA      PIZZARELLI                   NJ     90014117491
9412985165B531   RYAN         REID                         NM     90013258516
9412B28A23B366   DANNY        SMITH                        CO     90007282802
9412B678577537   RAFAEL       MADARIAGA                    NV     90002376785
9412B861793732   JOSHUA       PHIPPS                       OH     90004098617
94131116872B56   FREDDY       SANCHEZ                      CO     90011211168
941312A8A8B152   AMANDA       CRESEI                       UT     90010542080
941315A8172B42   JOSHUA       JACKSON                      CO     90014365081
9413189947B444   JACKIE       CHAN                         NC     90011648994
94131A49872B32   MARVIN       HAWTHORNE                    CO     33025860498
94132436872B42   APRIL        HERNANDEZ                    CO     33069334368
94132619372B56   LUCRECIA     FLEMING                      CO     33065166193
94133196872B42   OLIVERO      DE LA GARZA                  CO     33074461968
9413319913164B   JAMEELAH     HALEY                        KS     90009841991
9413375193B392   ANDREA       JORSTAD                      CO     90006647519
94133A6647B386   NICOLE       MCNAIR                       DC     90008330664
941349A5261977   EMMANUEL     THOMPSON                     CA     46024209052
9413538534B588   JACOB        GUERRERO                     OK     90013833853
94135A7825B548   HUGO         LOPEZ                        NM     90014730782
94135A8115B531   ANGELICA     GARCIA                       NM     90014160811
94135AA6277537   RAQUEL       REYMERS                      NV     90013630062
941361A8855963   JAMES        HALEY                        CA     90012871088
9413647463164B   KAREN        GARRETT                      KS     22074704746
9413656A591526   OSCAR        GALLEGOS                     TX     90011405605
941371A5772B62   JOSEPH       RUTHERFORD                   CO     90013911057
94137363397B59   MAGDALENA    BANUELOS                     CO     90012293633
94137363A91399   ASHLEY       KEELING                      MO     90010033630
941373A3972B22   MARIO        ARAGON                       CO     90010843039
94137636772B32   PRISCILLA    MARTINEZ                     CO     33073896367
9413775885B383   GUILLERMO    MATOS                        OR     90004297588
94138631A4B273   ARMANDO      VILLANUEVA                   NE     90012466310
9413863854B588   SHAWNEA      SMITH                        OK     90013676385
9413B186193738   JAMES        COOPER                       OH     90002041861
9413B51858B152   MARY BETH    NORTH                        UT     90001545185
9413B621572B56   DANIEL       ROLANDO                      CO     90014946215
9413B951777537   SUSAN        ERICKSON                     NV     43068169517
9413B967472B22   SEAN         MONEGHAN                     CO     90014489674
94141457572B22   LASHAUNDE    DESCHENY                     CO     90012314575
94141546A5B565   THELMA       LOZANO                       NM     35011315460
94141597A55951   MIKE         WHITE                        CA     90010425970
9414186327B444   LORRIE       SYKES                        NC     90014248632
9414223724B588   QUINTAL      DOCKINS                      OK     90011782372
9414253945B565   AARON        SANDOVAL                     NM     90005645394
9414283814B554   REYES        ALICIA                       OK     90014418381
94143366987B91   ROSIE        SANDERSO                     AR     90013673669
9414539935B383   ROY          CURRY                        OR     44551893993
94145A28191599   JESSICA I    MARTINEZ SAENZ               TX     90008070281
94146489A61977   JESUS        BOITES                       CA     90009714890
941469A6972B32   KALANI       LE BUS                       CO     33068219069
94147356672B32   ROIBERT      SOTO                         CO     90009723566
94147399297B59   MANUEL       ONTIVEROS                    CO     90009703992
9414741948B149   CATHERINE    BLOOM                        UT     90014434194
9414753834B588   IGNACIO      VERA                         OK     90000675383
9414757445B548   JAMES        TRANTHAM                     NM     90011445744
94147AA977B444   NINFA        CARRANZA                     NC     90002550097
94148A21591599   BRANDY       CASTANEDA                    TX     90007560215
9414B144472B22   RAYMUNDO     ALBARADO                     CO     90011181444
9414B361A5B531   CHRISTIAN    DELAPP                       NM     90014813610
9414B3A577B389   JOSE         LOPEZ DE LOS SANTOS          VA     81090813057
9414B846491526   MANNY        SALINAS                      TX     75055648464
9414B863641296   DONALD       PERKINS                      PA     51091188636
9415116A85B548   JORGE        HERRERA                      NM     90006681608
94151529A5B565   NATHAN       GALLEGOS                     NM     90006315290
94151A62255963   BARBIE       JEFF                         CA     90011790622
9415292A54B554   COREY        PITTMAN                      OK     21555929205
94154671972B22   CARIN        BRIDGES                      CO     33072836719
9415477145B383   MARK         JAMES SHARP                  OR     44569867714
9415533394B588   VAN          NGUYEN                       OK     90013023339
9415568624B554   CHRISTINA    JUAREZ                       OK     90011676862
9415684627B359   MANDY        BRANDT                       VA     90004038462
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1672 of 2350


9415691218B152   JAMES         PETTIBONE                   UT     31050899121
94156A2565B548   DAISY         MARQUEZ                     NM     90014310256
94157845A91544   JOSE          OLIVAS                      TX     75074468450
94157934172B62   NUKA          GUTERREZ                    CO     90008559341
94158188572B22   KATHLEEN      BAILLIE                     CO     33037971885
94158324A61977   TINA          PEREZ                       CA     46014353240
94158626598B23   VERNON        AIKEN                       NC     90000706265
9415873A193755   FISHER        ANO                         OH     90008627301
9415916179184B   MICHEAL       HOWARD                      OK     90011251617
9415931628436B   DRADIE        GREEN                       SC     90013923162
9415958324B588   BILLY         DEWAYNE                     OK     90015235832
941599A6533B38   MARGIE        MCPEAK                      OH     90011889065
9415B576791544   MARIA         HERNANDEZ                   TX     90013635767
9415B614497B59   LUIS          RIOS                        CO     90013016144
9415B747891599   MARCO         ESPINOZA                    TX     90010467478
9415B75385B531   DARREN        CHAVEZ                      NM     90012517538
9415B889291882   MATIAS        DIAZ                        OK     21057008892
9415B954955951   BENJAMIN      RAILEY                      CA     90013239549
9415BA9714B554   ANGELA        PLACE                       OK     90014780971
94161275472B62   BLANCA NELY   AYALA                       CO     90009902754
9416131394B588   SKYE          LIPPERT                     OK     21551463139
94161663A4B949   NEREIDA       JAIMES                      TX     76560946630
9416223A655985   TINA          GARCIA                      CA     90009292306
94163116A71945   LU            MONTOYA                     CO     32088211160
94164194872B32   ASHLEY        ALVAREZ                     CO     90012861948
94164287272B42   BRYAN         MARTINEZ                    CO     33044692872
9416479A855963   ANDREA        LOPEZ                       CA     90012137908
94164877272B3B   JERE          PROCOPIO                    CO     90011518772
94165346897B59   DANE          LINGO                       CO     90013933468
9416535975B383   JESUS         MATAMORO                    OR     90015193597
941657A1772B3B   ANA           RAMIREZ                     CO     33019367017
9416599495B531   CRYSTAL       VASQUEZ                     NM     90014979949
94166158A4B588   RUBEN         SANTIAGO                    OK     90014731580
94166256472B62   CONSTANCE     MONTGOMERY                  CO     90009132564
9416688385B565   TIANA         SEDILLO                     NM     35041238838
9416699744B949   JULIANA       KONNING                     TX     90009089974
9416736A491399   NESTOR        MARTINEZ                    KS     90014883604
94167452372B42   MARISSA       DOUMBIA                     CO     90003334523
94167588972B3B   KEVIN         LANFORD                     CO     90012615889
94168425772B56   SENON         GALLEGOS                    CO     90002404257
94168813872B32   JASON         JENSEN                      CO     33038348138
94169313297B59   LUIS          BENZOR                      CO     90009753132
9416954625B531   DEBRA         KING                        NM     35057095462
94169585172B56   DANIEL        MARTINEZ                    CO     90002855851
941696AA155963   RALPH         IZQUIERDO                   CA     90006136001
94169A2438B175   SIONE         VEHIKITE                    UT     90001070243
9416B34A14B588   GENESIS       AGUILAR                     OK     90014323401
9416B946A81634   ERIC          HARDY                       MO     90000839460
9416B999A4B554   CORY          DIAZ                        OK     90012779990
94173771A4B29B   TAMIKA        LILLARD                     NE     90014577710
94175123A5B531   ZACHARY       GALLEGOS                    NM     90014161230
941751A264B949   JAMES         ELLIOTT                     TX     90006031026
94175753897B59   SUZANNE       SINCLAIR                    CO     39086907538
941762A9955938   KALIA         GREEN                       CA     90013992099
94176582972B3B   PATRICK       CREEH                       CO     90012985829
941765AA555951   ROBERT        ARTEAGA                     CA     90003195005
941766A388B149   MICHAEL       TORRES                      UT     90013576038
94176826A72B42   ALFONSO       GUTIERREZ                   CO     90001858260
9417691763B354   ROBERT        THORNTON                    CO     33018229176
9417698A672B42   SARAHI        HERNANDEZ                   CO     90015169806
9417716A84B29B   DAWN          RODGERS                     NE     90001681608
941771A8771945   CLAUDIO       SANCHEZ                     CO     90012471087
94177753272B22   CAMERON       ORR                         CO     90013087532
9417799694B554   LATRAE        NELSON                      OK     90011679969
94178592672B56   JESSICA       YURICH                      CO     33071605926
9417864728B149   RONALD        VINE                        UT     31045076472
94178895172B32   OMAR          BARRON                      CO     33041148951
9417914518B152   RUMALDA       CORDOVA                     UT     31053641451
941794A3891599   IRMA          AGUIRRE                     TX     90014324038
94179933A55963   RICHARD       SANCHEZ                     CA     90013959330
94179999A4B554   CORY          DIAZ                        OK     90012779990
9417B16498B149   WILLIAM       GAYLOR                      UT     90011961649
9417B8A6161977   KIMBERLY      STEEL                       CA     46083838061
94181639A72B56   DULCE         MENDOZA                     CO     90014946390
9418234715B548   RAMOS         GENARO                      NM     35012683471
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1673 of 2350


94182626A4B554   DELANO        ROBINSON                    OK     90012966260
941829A5755951   MAURILLO      AGUIRRE                     CA     90012899057
9418312815B383   LATOYIA       JOHNSON                     OR     44591211281
94183568897B59   BLANCA        HERRERA                     CO     90012735688
94183582A77537   JAVIER        FRANCISCO                   NV     90013555820
941837A7291599   ANDRES JR     BECERRA                     TX     75059777072
94183951372B42   TAKISHA       BAILEY                      CO     90013049513
941845A8291399   ELISSA        FIELD                       KS     29023575082
94184A68A91599   JAKELINE      BUSTAMANTE                  TX     75072880680
941852A8591599   KARLA         RENTERIA                    TX     90013232085
94185A92972B62   GLORIA        MATURIN                     CO     90014810929
941861A295B548   BLAS          MARTINEZ                    NM     35060671029
9418622348B149   FERNANDO      GONZALEZ                    UT     90000702234
941865A6555951   JESUS         SALCEDO                     CA     90012965065
94186A44591599   VIRGINIA      GRANADOS                    TX     90000510445
9418719475B531   MICHELLE      CRAWFORD                    NM     35013871947
941871A794B554   ALICIA        SMITH                       OK     90010011079
9418798877B444   TIFFANY       GILCHRIST                   NC     90014799887
9418835A161977   COOPER        MARIAN                      CA     46084523501
94188946372B56   NANA          BANFOA                      CO     90009179463
94189647572B32   MANUEL        GUTIERREZ                   CO     90006526475
9418966949136B   EICA          PULES                       KS     90010286694
94189A72A77537   SIERRA        JONES                       NV     43079290720
94189A85161977   XOCHITL       GUEVARA                     CA     46056460851
9418B1A798436B   PRINCESS      CARTER                      SC     90014771079
9418B52A38B149   ALBERTO       SANCHEZ                     UT     90013015203
9418B81A48B149   TISHA         WALLACE                     UT     90000538104
94191113372B3B   MIKE          PADILLA                     CO     90013771133
9419161A353B2B   FLABIO        REYES                       CA     90014256103
9419166949136B   EICA          PULES                       KS     90010286694
94191782372B62   BRIDGEETTE    ANGUIANO                    CO     33012927823
9419213998436B   LETICIA       SANTIAGO                    SC     90011801399
94192394672B83   AMY           ANDERSON                    CO     90011373946
94192729472B62   MEGAN         DEVICH                      CO     90009307294
94192A34855963   VICTORIA      VALENZUELA                  CA     90010290348
94193445A72B32   JORGE         OREJEL                      CO     90014314450
9419351A64B588   FENENA        MORRIS                      OK     90001815106
9419367A461954   RUBEN         STOCKER                     CA     90013266704
9419383A941296   GEORGIA       REILLY                      PA     51042718309
94193898372B56   MAURILIA      SOTO                        CO     90002698983
9419395257B444   TASHIKA       FALLIE                      NC     90014249525
9419426A671945   DEVIN         GILBERT                     CO     90014002606
9419435A47B444   SHAWNTEL      HOBSON                      NC     11014903504
9419455793164B   CRAIG         OSBORNE                     KS     90012605579
94194A24672B32   NORA          CERVANTES                   CO     33008050246
9419511648B175   CHRISTOPHER   BARLOW                      UT     90012121164
9419542273164B   LISBET        RUIZ                        KS     22052954227
9419551155B531   SALVADOR      GARCIA                      NM     35094545115
94196843572B62   AURORA        RODRIGUEZ                   CO     33007398435
9419697268B149   DEREK         VAN VORIS                   UT     31085689726
9419781558B152   NOELLE        JOHNSON                     UT     90001348155
94198275A72B32   RUBI          MENDOZA                     CO     90012752750
9419836428436B   DEMANDA       SMALLS                      SC     90014863642
94198758272B56   GILDA         MANZANARES                  CO     90006157582
9419896335B383   DANA          SHOT AT                     OR     90015269633
941994A375B383   MICHAEL       ALLEN                       OR     90013704037
941996A2141296   MIKE          WOODSON                     PA     90005496021
9419991AA5B548   GRISELDA      MORALES CASILLAS            NM     90012819100
94199A72A77537   SIERRA        JONES                       NV     43079290720
9419B21737737B   SHATANA       TYRONE                      IL     90011802173
9419B22398B149   MATTHEW       BRYANT                      UT     90015092239
9419B772255951   JOSE          RAMIREZ                     CA     90010607722
9419BA35172B56   ALEXANDRIA    DODD                        CO     90011450351
941B1561A72B42   MARIA         RIVERA                      CO     90000425610
941B1712291882   MELISSA       LARSON                      OK     90008357122
941B1794272B22   ERZSEBET      CSANYI                      CO     90013077942
941B1A4325B531   LUIS          DUARTE                      NM     90010440432
941B1AA3755963   IRMA          GARCIA                      CA     48064100037
941B2121872B62   RICHARD       SILCOTT                     CO     90011931218
941B219773164B   AURORA        SUOMINEN                    KS     22091511977
941B2966772B42   ELSA          FLORES                      CO     90014839667
941B318A78B149   ELIZABETH     PAZ                         UT     31010201807
941B3234297B59   HELEN         JACKSON                     CO     90001462342
941B32A1455963   ANDRES        GARCIA                      CA     90007232014
941B336AA2B358   LYDIA         REYMER                      CT     90015293600
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1674 of 2350


941B367514B588   MARGARET     MOSER                        OK     21545486751
941B37A935B383   NAOMI        MERRIMON                     OR     90009337093
941B3A39555957   YOEL         AVINA                        CA     90013850395
941B411558B152   TIMOTHY      THOMASSON                    UT     90010541155
941B419528436B   DONNA        ROUNTREE                     SC     90014411952
941B4586161924   MARY         BITNEI                       CA     90012475861
941B4861391951   SCHERRIA     HAIRSTON                     NC     90013038613
941B539974B588   KAYLA        PASQUALLE                    OK     90005263997
941B5692555957   AILDA        GUITIERREZ                   CA     90015346925
941B5836177537   APOLONIO     GARCIA                       NV     43066958361
941B5A1284B588   HILDA        SAUCEDO                      OK     90010750128
941B5A26672B32   YELENA       ZELICHENKO                   CO     33042480266
941B61A468B175   TERRY        PECKHAN                      UT     31065261046
941B6226772B22   MARMOLEJO    RIVERA                       CO     90008022267
941B6341255957   MIKAYLA      GONZALEZ                     CA     90014623412
941B6412197B59   JOEL         GARCIA PASCUAL               CO     39090554121
941B649844B554   DANELLE      ANDREWS                      OK     90014504984
941B6838341296   JJDE         HACKETT                      PA     90010728383
941B695627B39B   MINERVA      FLORES                       VA     81026709562
941B7258341296   AARON        KARAS                        PA     51030222583
941B7371472B32   MARY         SAYEGH                       CO     90002083714
941B73A425B531   GERALDO      DEGALDO                      NM     35039453042
941B7434177537   JOHN         JACK                         NV     43055694341
941B7524771945   JOSEPH       PASTUER                      CO     32071635247
941B76A7972B56   JUSTIN       GRAHAM                       CO     90014946079
941B7987791951   RICHARD      UDEAGHA                      NC     17096489877
941B831A233698   AMY          PORTER                       NC     12005803102
941B863518B152   JAIME        OVIEDO                       UT     31077986351
941B8938772B42   WENCESLAO    RENTERY                      CO     90011559387
941B9189655957   IRENE        RAMIREZ                      CA     90012001896
941B9423393732   LAQUINCE     BLACKMON                     OH     90004124233
941B952A58B149   BRETT        THOMAS                       UT     31035705205
941B9763472B3B   JOHN         MITCHELL                     CO     90010827634
941B999755B383   MAKEDA       MOORE                        OR     90013189975
941BB317A97B59   ARMANDO      LOZANO                       CO     90013983170
941BB43628B166   TAWNYA       ATKISSON                     UT     31003544362
941BB893872B56   GERARDO      REYES                        CO     90000918938
941BBA81793755   HERMELINDO   HERNANDEZ                    OH     90015030817
941BBA9653164B   JACQUE       SEREVICZ                     KS     90012880965
9421193648436B   MARCO        TADEO VENTURA                SC     90011509364
94212143772B22   PORFIRIO     WHATLEW                      CO     90006291437
94213466A55963   ELSA         MARTINEZ                     CA     90015324660
9421358497B35B   MILAGRO      VILLALTA                     VA     90001755849
9421379A197B59   PATRICIO     DOMINGUEZ-ALDERETE           CO     39059717901
94213937972B3B   MONICA       MEDINA                       CO     90002759379
94215787272B32   CYNTHIA      MARLATT                      CO     33025477872
942159AA172B22   MELVIN       EASTWOOD II                  CO     33076799001
94215A26672B42   KENETH       GROSS                        CO     33002830266
94216139272B22   STEFANY      ANDREWSON                    CO     90013991392
9421623525B531   DAVID        SANCHEZ                      NM     90011152352
9421655185B531   MONICA       MIRANDA                      NM     90009595518
9421699414B588   LIDIA        CARREON                      OK     90007929941
94216AA2393786   HEATHER      TOPPINS                      OH     90009390023
9421883A18B152   LEONARDO     REDOCTO                      UT     31006348301
94218991372B56   GRIFFIN      DENISSE                      CO     90010569913
9421979744B949   AARON        LOWE                         TX     76592797974
9421B31A855957   LLEVARA      MIRNA                        CA     90011923108
9421B32317B436   HENRY        RODEZNO                      NC     90012503231
9421B533324B45   VALERIE      ATTOH-ARMAH                  MD     90013825333
9421B645291882   JOSE         GONZALEZ                     OK     90006776452
9421B655355957   ANTONIO      FLORES                       CA     90013616553
9421B743172B3B   DOMINIQUE    MALLARD                      CO     90014557431
9422135848B152   ROSE         GALLEGOS                     UT     31077073584
942218A2897B59   DEVIN        BIRD                         CO     90013268028
942218A8155957   GUADALUPE    ZAMORA                       CA     49082518081
94222286A5B565   DEBOAH       GABBERT                      NM     90005522860
94222A92491399   MCKAYLA      SCHWED                       KS     90013810924
94223329A72B62   COREY        LUMAN                        CO     90013063290
94223659297B59   KIMBERLY     PONCE                        CO     39027896592
9422372A872B22   MAYRA        BELTRAN                      CO     90009977208
94223841197B59   JOSE         HERNANDEZ                    CO     39098688411
9422415215B531   CESAR        SOTO                         NM     90014161521
9422442443B341   KARINA       CHPARRO                      CO     90002784244
9422465A872B56   TIMOTHY      SCHWARTZ                     CO     90014946508
94224A45972B42   JENNIFER     GONZALEZ                     CO     33043760459
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1675 of 2350


9422567384B29B   FLORIANE     OUBDA                        NE     90010766738
9422573494B588   AMANDA       WATTS                        OK     90014937349
9422714648436B   JAMILA       KINLOCK                      SC     90014551464
94228177A8B138   JESSIE       HENDRICKS                    UT     90009301770
9422843387B444   ELAINE       BROWN                        NC     11000234338
942284A4955957   JEREMY       UPTON                        CA     49092684049
94228A55497B59   JUAN         SALINAS                      CO     90005540554
9422929388B175   CINDY        BROWN                        UT     90006772938
9422962A85B34B   MARIA        SALGADO                      OR     44023896208
9422977874B588   MELBA        IVERSON                      OK     21511777787
9422B12A272B56   VICTOR       LOPEZ                        CO     90011561202
9422B364391951   BLAHISDEL    DOMINGUEZ                    NC     90000583643
9422B956455963   JUAN         GUEVARA                      CA     48089119564
9422BA87672B3B   JOSHUA       ARMBECK                      CO     90015010876
9422BA93861977   BLANCA       SANDOVAL                     CA     90008290938
9423115595B531   ALLEN        THOMPSON                     NM     35056231559
94231651272B56   LUIS         ALVARENGA                    CO     90014946512
94231971872B42   MARIA        CORREA                       CO     33092939718
9423224718B149   PAYGO        IVR ACTIVATION               UT     90013092471
9423259367B464   DARYL        HOLMES                       NC     90014195936
94232761772B22   RAYLANDE     WILLIS                       CO     90013087617
9423279265B383   KEITH        COURTS                       OR     90011327926
94232969672B42   NEIKO        AMBROSIO                     CO     33025569696
94232A2878B152   MELISSA      BALLINGHAM                   UT     31041150287
94232A4564B524   JUAN         FLORES-MARTINEZ              OK     90010040456
9423463395B565   LORRAINE     CRUZ                         NM     35084086339
94234718972B62   ELLEN        ZIMMERMAN                    CO     33045227189
9423484598B149   APRIL        RASK                         UT     90010908459
94234A63A3164B   TONIA        BRUNSBACK                    KS     90006530630
9423565474B554   MAGALI       LOPEZ                        OK     90005846547
9423573AA8B175   LEO          VERASTIGUI                   UT     90013967300
9423612934B588   TERRY        CODDINGTON                   OK     90014561293
942363A6991599   ELIZABETH    REYES                        TX     90014373069
94236465372B32   TIMOTHY      MOBLEY                       CO     90012294653
9423655715B565   LUZ          RODRIGUEZ                    NM     35011345571
9423697844B588   JOHN         EMMONS                       OK     90011789784
94236A78891399   VICENTE      OJEDA                        KS     90011400788
94237675A72B42   MARIBEL      VARGAS                       CO     33009106750
9423859368B194   UNA          MAU                          UT     90011055936
942386A2172B56   TERONN       SUTTON                       CO     33044956021
9423872373164B   LEVETTE      SOLOMON                      KS     22093917237
942387A8A77537   RUBICELLA    VALDES                       NV     90001507080
94238A2A155963   FRANK        PEREZ                        CA     90013110201
9423973888B149   JUAN         PALACIOS                     UT     31010067388
94239AA725B383   CARI         SIMS                         OR     44591760072
9423B591497B59   JONATHAN     HIESTAND                     CO     90002585914
9423B732661979   ADRIANA      PEREZ                        CA     90006677326
9423B781155963   SHIRLENE     GRIFFIS                      CA     48050977811
9423B863761933   AMANDO       MERIDA                       CA     90012348637
942411A685B333   FERNANDO     BARRON                       OR     90014981068
9424148115B383   BRENDA       WOODS                        OR     44529314811
94241733872B42   RAQUEL       PARRAS                       CO     33097547338
94241761772B22   RAYLANDE     WILLIS                       CO     90013087617
94241A4A497B59   DANA         RODRIGUEZ                    CO     90015050404
94242328472B62   GERARDO      SANCHEZ                      CO     33073943284
9424279682B256   ZULIEKA      MOORE                        DC     90004537968
9424335837B444   CHRISTOPHE   WHITE                        NC     11024593583
9424469338B175   ADAM         BROWN                        UT     31060956933
94245553772B2B   MONICA       REYES                        CO     90004675537
942459A8455957   BLANCA       VILLA                        CA     90014179084
94246355872B62   DUSTIN       DRAPER                       CO     33080713558
9424651915B565   MARIA        ZARRAGA                      NM     90000485191
9424657698B149   DAVID        ADAMS                        UT     90001355769
9424662255B524   MONICA       ST JOHN                      NM     90005696225
94246A35555957   KARI R       BURLEIGH                     CA     90011860355
94247246697B59   THERESA      VASQUEZ                      CO     90012852466
94247287572B22   HEATHER      BUMPAS                       CO     90004892875
942472A815B525   GARY         GUTHRIE                      NM     90008882081
94247776A5B383   LUIS         COB                          OR     44589517760
9424782A872B32   WAYNE        ARMSTRONG                    CO     90008578208
9424835914B554   MARY         ERVIN                        OK     21585043591
94248581A76B85   ANA          SMITH                        CA     46061695810
9424875268436B   JOSE         TEJEDA                       SC     90012917526
9424893A53164B   KEVIN        NELSON                       KS     90014359305
94248A39672B3B   ERICA        DIAZ                         CO     90010500396
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1676 of 2350


9424B729491399   RELL         HUSTLE                       MO     90013607294
9424B86675B275   CHRISTY      GAMBREL                      KY     90003968667
9424B89798436B   ERICK        MATTHEWS                     SC     90005208979
9424BA6677B444   QUINTISE     GREEN                        NC     90014250667
94251229972B3B   MIRELLA      ZUBIA                        CO     90005202299
94251422A5B548   MARIA        DELEON                       NM     90013224220
94251984272B32   ROSALVA      SALCIDO                      CO     90000789842
94252527A5B548   JILL         STEPHENS                     NM     90014775270
94252558572B62   AMELIA       MORALES                      CO     33060285585
9425268A491599   ANGEL        RINCON                       TX     75052616804
9425319A155963   ALEX         DELEON                       CA     90014291901
94253775272B22   ROBIN        DANIEL                       CO     90013087752
942541A7655963   JENNIFER     ELSOME                       CA     48050371076
9425421967B444   AMBER        FULLARD                      NC     90011652196
94254AA6155951   ELSA         RAMIREZ                      CA     49096050061
9425514515B531   BETTY        TREVINO                      NM     35003421451
9425546398436B   FLORENCE     JENKINS                      SC     90014974639
94255497A8B152   SHUNDRA      THOMAS                       UT     31034404970
9425553718B175   TRENT        THORN                        UT     90013525371
942555A7572B22   SHAUNTE      UNDERWOOD                    CO     90008565075
9425571A393755   WILLIAM      WEEKS                        OH     90009717103
94255A8664B554   MARCELLA     JONES                        OK     90006220866
9425651533164B   KELLY        REAL                         KS     90014235153
9425713888B175   TRAVIS       RICH                         UT     90014591388
942573A925B548   VICTOR       ALVARADO SANCHEZ             NM     35081773092
94257757397B59   DALE         MAES                         CO     90012447573
942583A4793732   DJ           SALMONS                      OH     90006553047
9425911A58B175   TAMERA       ROSE                         UT     31094811105
94259877272B62   JEFF         HAMPTON                      CO     33079758772
9425B4AA972B42   DANIELLE     SALAZAR                      CO     90013524009
9425B567571945   MICHAEL      ROMERO                       CO     90015115675
9425B63265B548   ISAIAS       POZ                          NM     35074486326
9425B97384B29B   CRISTIAN     GODOY                        NE     90013319738
9425BA3354B554   ANDREA       THEUS                        OK     90014400335
942613A4785844   ERIK         HOLMGREN                     CA     90011393047
9426163384B554   ROSE         SHAW                         OK     90014856338
94261657A91951   RANTISHA     MORRIS                       NC     90013146570
942626A6791399   STEVIE       WAKES                        KS     90012426067
9426293675B548   VICENTE      LICEA                        NM     90012819367
9426399488B12B   AMY          NELSON                       UT     90009739948
9426493795B548   ALDO         ALLENDE                      NM     90012819379
9426513384B554   YENER        LOPEZ                        OK     90015201338
942657A218B175   DEAN         FURHRIMAN                    UT     90010057021
94266294572B22   TERRY        HERDER                       CO     90000182945
94266355597B59   MATEO        VAZQUEZ                      CO     90015033555
9426647A961977   ANTONIO      SAMERON                      CA     46064914709
9426667A24B29B   DIANA        ARRIAGA                      NE     27028176702
9426672A58436B   RAPHAEL      QUIRK                        SC     90013927205
942668A1691599   GUILLERMO    CABALLERO                    TX     90008898016
942671A215B531   JANESA       CHAVEZ                       NM     90002091021
9426793795B548   ALDO         ALLENDE                      NM     90012819379
9426864A35B531   ZAIRA        LOYA                         NM     90003686403
94269249A4B554   ANTRANIECE   TAKARA                       OK     90012352490
9426964A981634   LEONARDO     CODINA                       MO     29015286409
9426B178A55963   JOSE         TRUJILLO                     CA     90015091780
9426B34945B565   SHAWN        WILLIAMS                     NM     90005523494
9426B477271945   KATHERINE    SHELTON                      CO     32053504772
9426B649572B32   BENJAMINE    MUSE                         CO     90010726495
9426B928255951   BIANCA       GOMEZ                        CA     90011869282
9426B933655951   OCTAVIA      RAMIREZ                      CA     90015169336
9426B965972B42   EDGAR        CABRAL                       CO     90013049659
9426B972691399   JESSE        ZIMMER                       KS     29025229726
94271447A91599   OSCAR        DIAZ                         TX     90012144470
9427173A13164B   RACHEL       DURAN                        KS     22071667301
94272275372B22   SUSANA       VILLEGAS                     CO     90010422753
94272355672B22   CRISTINA     VIDALES                      CO     33077613556
9427266384B588   LARRY        RUSSELL                      OK     90013076638
94272883A72B56   DEBRA        JEAN HECKETHORN              CO     33082108830
9427291A171945   ESTELLA      PEASE                        CO     90013119101
9427337145B565   ELIZABETH    SANDOVAL                     NM     90005523714
942736A3772B22   PAULA        MARTINEZ                     CO     33088026037
9427413784B588   PAMELA       HOGAN                        OK     90013681378
94274225272B42   ELIZABETH    MEYER                        CO     33018222252
94275222172B32   ANTONIO      HERNANDEZ                    CO     33079282221
9427571A572B56   ALEJANDRO    ROBLES                       CO     90011197105
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1677 of 2350


94275777372B22   KARIZMA        GIBBS ANTHONY              CO     90013087773
942762A8A72B32   BRISSA         VALDEZ                     CO     33046472080
94277377A8436B   TONISHA        WILLIAMS                   SC     90014313770
94277424972B42   ERIN           CHEV                       CO     90001404249
9427756A476B85   DAVY           JONES                      CA     90008635604
942788A7391399   DAWN           GRAVES                     KS     29078098073
9427929A361977   LORENA         ZARCO                      CA     90013992903
9427985374B588   PEGGY          ARNOLD                     OK     21508368537
94279969572B42   ANTHONY        SANCHEZ                    CO     90013049695
9427B15423164B   ERIC           DIBBEN                     KS     22053571542
9427B54265B531   VALERIE        THOMAS                     NM     90009965426
9427B5A9272B32   SHENA          REAVES                     CO     90012225092
9427B93AA72B32   SHENA          REAVES                     CO     90011309300
9427B971A72B22   JESUS          MARTINEZ                   CO     90010139710
9428255195B531   OCTAVIO        MORALES                    NM     90013585519
94282937172B3B   RUBY           SANCHEZ                    CO     90009659371
9428316448B175   ALFREDO        NETO                       UT     90000741644
94283248A55963   RICHARD        MAYER                      CA     90012262480
9428333434B949   ANGELIREE      MAYS                       TX     76530273343
9428446A38B175   CHRISTINE      WOOD                       UT     90010194603
94285346A72B32   URIEL R        HERNANDEZ                  CO     33012553460
9428628338B175   TIM            ROWDEN                     UT     90008542833
9428665815B383   CHRISTOPHE     MARTIN                     OR     44587266581
9428715454B563   TAMMY          ZEMAN                      OK     90010991545
9428722968B175   BRANDI         WOLFERTZ                   UT     90015082296
9428768A861979   ROCIO          SILVA                      CA     90001646808
9428865784B554   DAMON          GATES                      OK     90012436578
94288711172B32   ELIODORO       ROBLES                     CO     33044747111
94288927872B62   STEPHEN        HOLMES                     CO     90009819278
94288AA6391599   ALEJANDRA      ORTEGA                     TX     75027420063
9428967245B383   ALLEN          WENTZ                      OR     90014046724
94289A93672B3B   FRANCES        SERGIO                     CO     90010900936
94289AA9391399   LATOSCHIA      TOWNSEND                   KS     29026760093
9428B1A2455957   RAUL           A. MARMOLEJO               CA     49082651024
9428B38615B383   WILLIAM        JULIANO                    OR     44539573861
9428B391671945   EMMANUEL       IBARRA OCHOA               CO     90012103916
9428B456172B22   JASON          GENSLER                    CO     33092034561
9428B51A18B175   MARTINDALE     JACLYN                     UT     90003795101
9428B788591599   CLAUDIA        AVILA                      TX     90008917885
9428B863593755   ALBERT         NICHOLE                    OH     64575148635
9428B97A272B42   RYAN           BROOKS                     CO     90013049702
9428BA4923164B   HELEN          JAMISON                    KS     90014800492
9429171AA8436B   AMBER          DARBY                      SC     90013137100
94291857698B23   YURIDA         HERNANDEZ                  NC     90008268576
94291981572B42   MARIA          ESCALANTE                  CO     90007909815
94291A5654B554   LINDA          MARTIN                     OK     90014120565
94292129A55963   SANDE          BOYER                      CA     48018911290
9429243967B444   GINA           WILLIAMS                   NC     11099164396
942925A9891882   DAN            WILLSON                    OK     90014925098
9429297554B29B   VONKESHA       JOHNSON                    NE     27036229755
9429299264B588   MARLENE        WILLIAMS                   OK     90013929926
94292A61391882   DAN            WILLSON                    OK     90012890613
9429428598B152   CADEN          FASICK                     UT     90010112859
9429464778B175   CARLOS         BRANDARIS                  UT     90011056477
9429465584B588   CHRISTINA      WHITE                      OK     90013706558
94295394772B32   KYLE           HERRERA                    CO     90011623947
9429553A898B21   RAFAEL         URBINA                     NC     90013835308
9429575A64B554   CARLOS         HUTSON                     OK     90013487506
94295891172B3B   JUAN           RANGEL                     CO     33083468911
94295A85372B42   MARCELINO      GADINO                     CO     90011490853
942964A8772B42   ANGELICA       MENDEZ SOTO                CO     90000274087
94296A47A72B22   ANA MARIA      SANDOVAL                   CO     33076990470
9429758A772B22   GUADALUPE      RESENDIZ-CABRERA           CO     90007225807
94297677997B59   VALERIE        ALVARADO                   CO     90012296779
94297A33893755   CANDICE        ROGERS                     OH     64510800338
94297A5A931661   JENAE          TRETO                      KS     90005900509
942985A2971945   CHESTER        BRIDGES                    CO     90014545029
9429864869137B   GABRIELLE S.   CASEY                      KS     90005026486
94298824272B42   DANELL         BAKER                      CO     90013868242
94298A34791599   ROSA           REINDON                    TX     75084260347
94298A37241296   JIMMY          SHERGIL                    PA     90010730372
94299571272B32   WILLIAM        ERICKSON                   CO     90011965712
9429968392B248   GABRIELA       MAGLIONE                   DC     81013306839
9429B872355951   EDGAR          RUIZ-RIOS                  CA     90012528723
9429BA36472B3B   PATRICK        SEGURA                     CO     90012040364
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1678 of 2350


942B1247893746   AUBRI         FARRAR                      OH     90009292478
942B134747B444   DANIEL        HOGAN                       NC     11042553474
942B1445977537   ARACELI       RODRIGUEZ                   NV     43076554459
942B1987555957   CARLOS        DELEON                      CA     49000219875
942B1A23598B23   MARILY        SALAZAR                     NC     90005240235
942B2871555951   CRAIG         POULE                       CA     49091318715
942B2877A71945   ROSA          DAVILA                      CO     32073868770
942B3455972B42   LAUREN        BROWN                       CO     33060054559
942B427325B548   TERI          MARKHAM                     NM     35003972732
942B4853341296   MELISSA       BRADLEY                     PA     90015138533
942B5763491399   NICOLE        MINOR                       KS     29003067634
942B5853397B59   JOSE          REYES                       CO     90014848533
942B5896677537   WILLIAM       FONTENOT                    NV     90013388966
942B6193A93732   SHELLY        SHOFFNER                    OH     64584211930
942B61A135B531   OBED          GONZALEZ                    NM     90014471013
942B646A34B554   JESUS         TORRES                      OK     90011434603
942B656334B554   CHRIS         NOELL                       OK     90013245633
942B6953872B42   ALEJANDRO     APODACA                     CO     90013049538
942B6965872B3B   BACILISA      MUNOZ                       CO     90012969658
942B7355597B59   MATEO         VAZQUEZ                     CO     90015033555
942B751454B554   WILLIAM       PENNOCK                     OK     90014705145
942B7646472B56   ABDITAWAB     MOHAMED                     CO     90014946464
942B76AA155963   RALPH         IZQUIERDO                   CA     90006136001
942B7925A5B344   TAMARA        WARE                        OR     90011189250
942B798A37B444   JOCELYN       MACKIN                      NC     90014249803
942B81AA78B175   JESSICA       PEARSON                     UT     90014741007
942B821725B548   AARON         GONZALES                    NM     90005502172
942B8417591599   EZEQUIEL      CHAVEZ                      TX     75076334175
942B8653172B3B   ASSEFA        HIFERAW                     CO     33074236531
942B9136791599   PATRICIA      VALDEZ                      TX     90002461367
942B9245841296   MALIK         HARRIS                      PA     90014192458
942B959848436B   RITA          WILSON                      SC     90008995984
942B9698572B62   REBECCA       GALLEGOS                    CO     33028646985
942B972245B531   GHOLAM        SOLTANI                     NM     90015237224
942B9A43755951   LUIS          PAULINO                     CA     90013100437
942BB645572B56   JAMES         MCDOWELL                    CO     90014946455
942BB67344B29B   PHYLICIA      THOMPSON                    NE     27078916734
942BB69818B149   LOSALINE      KOLOMALU                    UT     31084236981
942BB978193755   MIKE          CALDERON                    OH     90007599781
94311273A7B444   NATASHA       MATCHEM                     NC     11001932730
94311A82491599   EDGAR         ARAGON                      TX     90003170824
9431212718436B   TYRONE PAUL   PRINCE                      SC     90011021271
94312388872B3B   ROSALINDA     MONTOYA                     CO     90015413888
94312613A4B949   DANA          BELL                        TX     90002796130
9431264528436B   NORMAN        CORBIN                      SC     90013506452
9431276398B175   CURTIS        BARNETT                     UT     31041467639
943127A814B554   WILLIAM       LEWIS                       OK     90014087081
9431292A17B444   ACSA          HURTADO-VANENGAS            NC     11061979201
9431296655B548   GLORIA        ANDRADE                     NM     90012819665
9431323215B531   ALBERTO       ARZAGA-MEDINA               NM     90014162321
9431359755B548   MONTE         MOLA                        NM     90004885975
943137A4172B56   GISMA         ALI                         CO     90014697041
943138A535B383   CAYETANO      MEDRANO                     OR     90011328053
943141A7A5B548   BRENDA        ROMERO                      NM     35090931070
94314419A55957   CECILA        WADDELL                     CA     90013254190
9431476535B383   ANNE          MASALE                      OR     90012257653
9431523215B531   ALBERTO       ARZAGA-MEDINA               NM     90014162321
94315313872B3B   VERONICA      FITZGERALD                  CO     33003963138
9431555384B588   CHEYENNE      CARPITCHER                  OK     90015135538
94315795572B22   EMILY         HERNANDEZ                   CO     90013087955
9431621638436B   FREDDIE       COAKLEY                     SC     90007892163
94316514A72B22   JOSEJUAN      NANGUSE                     CO     90000155140
9431653368B175   CARESSA       LONDON                      UT     90013335336
9431654A193755   RONISHA       COLEMAN                     OH     90013165401
943172A944B588   ROBIN         ERNST                       OK     90013682094
9431774623164B   MALCOLM       ATKINSON                    KS     22022347462
9431791838436B   SHARON        HELANDER                    SC     90013079183
94317A32A93755   DEWAYNE       JOHNSON                     OH     90011410320
94317A33691951   AWANYA        DAVIS                       NC     90013150336
94318265672B56   ALMA          RODRIGUEZ                   CO     90008652656
94318A92577537   CRYSTAL       QUINONES                    NV     90010970925
9431982145B548   LORELLA       MIERA                       NM     35018218214
94319A2115B531   STEPHANIE     MATURINO                    NM     35004970211
9431B85584B554   KARLTON       KINNEY                      OK     90014938558
9431BA68A55957   JUSTIN        JOHNSON                     CA     49082740680
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1679 of 2350


9432168A65B531   REYNA        CORIZ                        NM     90014846806
943217A7272B42   YAJAIRA      MURRIETA                     CO     33093507072
94321A1A58B149   ANTHONY      BORBA                        UT     90007400105
94321A99455951   BENJENMIN    DOMINGUEZ                    CA     90012350994
94322943472B56   GUILLERMO    BARRAZA                      CO     33070379434
943239A3A7B464   VICTOR       HUGO                         NC     90010739030
94324596272B32   LETITIA      JONES                        CO     33069105962
94325367A5B531   ALEJANDRA    ESCOBEDO                     NM     90015263670
94326181772B22   ALDO         IBARGUEN                     CO     90015141817
943263A8372B22   JAMES        DEUTSCH                      CO     90013533083
94326647A4B29B   CAROLYN      HUGHES                       NE     27052736470
9432671A572B56   ALEJANDRO    ROBLES                       CO     90011197105
94327729A91599   SANDRA       SOTELO                       TX     90013097290
94327A94791951   JUAN         DOMINGUEZ                    NC     90013150947
9432831A472B42   SHELLENA     ORTH                         CO     90011093104
9432846325B565   LISA         LOPEZ                        NM     35032094632
9432854938B175   FLORA        CRUZ                         UT     90013365493
94328653697B59   TERRI        GOMEZ                        CO     90000246536
9432869725B548   PATSY        ORTIZ                        NM     35006346972
9432884484B554   WHITNEY      SHUEY                        OK     21587298448
9432957428B152   TIM          TAYLOR                       UT     90005385742
9432B29985B531   ESTHER       AGUIRRE                      NM     90014342998
9432B56384B554   KELVIN       GOMEZ                        OK     90011685638
9432B91A981652   MIGUEL       CARTAGENA                    MO     90004549109
9433154917B444   RENETTA      JOYNER                       NC     90011655491
9433159593164B   CHRISTINA    O'CONNOR                     KS     90006935959
943316A8372B56   GRACIANO     FLORES                       CO     90001186083
943319A9191599   ELIZABETH    TARANGO                      TX     75013269091
94332751872B22   ESTHER       GARCIA                       CO     90006927518
9433285575B548   HILDA        HERNANDEZ                    NM     35032208557
94333853397B59   JOSE         REYES                        CO     90014848533
9433395155B383   ROBERT       MONTGOMERY                   OR     90004459515
9433398A231479   E            MOSELY                       MO     27567999802
94334262672B42   LEON         MIRELES                      CO     90007232626
94334977972B3B   MICHEAL      ROSE                         CO     90013559779
94335515A8B149   KENNETH      SMITH                        UT     90012265150
943365A815B383   SHAUNA       LOWE                         OR     44590365081
943368A5372B32   KARMEN       BYRD                         CO     90003988053
9433812588B152   AARON        RANDALL                      UT     31016571258
9433819154B267   WILLIAM      RAMSEY                       NE     27075041915
94338198572B22   SAMUEL       CHAVIRA                      CO     33063841985
943389A6181634   LAUREEN      RADER                        MO     29078629061
9433915AA61977   HERIN        JAMES                        CA     90015151500
94339533172B32   SERGIO       DIAZ-MORENO                  CO     33062275331
943396A814B554   DONALDA      FITTLER                      OK     90011686081
9433B13595B548   SANJUANITA   RETA-LICERIO                 NM     35040101359
9433B25A54B588   LAURA        HINTON                       OK     90013682505
9433B923972B3B   GARNETT      ESTES                        CO     90002839239
943413AA697B59   TONYA        GREER                        CO     39076183006
9434198374B588   ANGELICA     SANCHEZ                      OK     90010319837
9434219A891399   MICHAEL      MIDDLETON                    KS     90014261908
9434283978B175   TONIA        MILLER                       UT     31014838397
94342A93572B22   NASEER       MALIK                        CO     33018020935
9434339459374B   DANIELLE     BRUSH                        OH     64583723945
943434A3472B32   TIMOTHY      MURPHY                       CO     90013324034
94343757272B56   ROLANDO      GONZALES                     CO     90013427572
94344735772B62   VIRGINIA     AVERY                        CO     90004867357
94344829A71945   DEMETRI      MANSKE                       CO     32064628290
943453A8355951   ULISES       TORRES                       CA     90011093083
943463A1255963   MARRISSA     MARCEYS                      CA     90014583012
9434653748436B   AUSTIN       ALLEN                        SC     90011865374
94346711172B32   ELIODORO     ROBLES                       CO     33044747111
9434682578B149   MICHELLE C   BUSH                         UT     90014668257
943472AA681641   ALCIDES      VIDES GONZALES               KS     90013932006
94347A2A68B149   KAYDEE       TRUEBA                       UT     90006680206
94347A87155951   SHELLY       SCHULKE                      CA     90010940871
9434816765B531   FEDERICO     REYES                        NM     90005691676
94348334972B31   ANA          PAVON                        CO     90007723349
9434845615B383   SOPHIA       FRISON-PHELPS                OR     44571544561
9434888A272B62   DAVID        JEMANUELSON                  CO     90013238802
9434959717248B   BETH         HOMER                        PA     90013365971
943497A465B565   PAMELA       PHILLIPS                     NM     90002417046
94349A1884B588   SHYRESHA     JOHNSON                      OK     90002730188
9434B27717B429   BENJAMIN     KROMAH                       NC     11033462771
9434B354572B32   SANDRA       GREEN                        CO     90015133545
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1680 of 2350


9434B523672B56   ORLANDO          PINZON                   CO     90005485236
9434B56517B444   JALIL            LEWIS                    NC     90012525651
9434B568161927   ROMELIA          COVARRUBIAS              CA     46042915681
9434B834541955   WENDY            ELKINS                   OH     90014968345
9434BA7825B548   HUGO             LOPEZ                    NM     90014730782
9435113314B551   FORREST          GATES                    OK     21588711331
9435133224B588   STEVEN           OUTLAW                   OK     90013683322
9435152A33164B   ROBIN            BOOKOUT                  KS     90008645203
94351592497B59   FERNANDO         CASTRO MENDOZA           CO     90012335924
9435163934B554   KARINA           ONTIVEROS                OK     90011686393
94351728A72B56   MARIA            ROJAS                    CO     90011197280
94351784172B42   DANIEL           SOTO RIOS                CO     90013057841
9435264815B383   DARRELL          CHARPENTIER              OR     90013116481
94352AA3855957   ROBERT           TORRES                   CA     90015310038
9435335285B565   LETICIA          RODRIGUEZ                NM     35087983528
9435347595B548   JEFFERY          MOORE                    NM     90012414759
94353547272B56   FABIOLA          FRAGOZA                  CO     33084125472
94354838472B32   KATHERINE        GUERRERO                 CO     90014388384
94355499A91599   RUTH             VILLANUEVA               NM     75084434990
9435562365B383   ROSA             JUAREZ                   OR     44501616236
9435674185B383   NICK             MORALEZ                  OR     90013507418
9435677758B175   JOSE             ARROYO                   UT     90008777775
94357131572B56   MARGARITA        ARZOLA                   CO     33090921315
9435742613164B   JOHN             WERTH                    KS     22038724261
9435856A88B175   JASON            ANDERSON                 UT     90010895608
94358A8164B29B   KAREN            VINCENT                  NE     27037330816
9435913223164B   CHARLES          IRVIN                    KS     90014561322
9435B41538B175   IRASEMA          HINOJOS MUNOZ            UT     31091244153
9435B431255957   JAIME            GUERRERO                 CA     49087814312
9435B64658436B   MIRANDA          STEPHENSON               SC     19092096465
9435B774372B56   ATTREEO          WATKINS                  CO     90008367743
9435B892155951   FELIX            MARTINEZ                 CA     90007808921
9435BA8527B444   NICOLAS          GARCIA                   NC     90010940852
94361257372B3B   MIKE             FINN                     CO     90011202573
94361A3328B152   DOUG             BUTTS                    UT     31052540332
9436217A891599   MARYJANE         MACIAS                   TX     75063531708
9436255115B531   IVAN             ORTIZ-CASTRO             NM     35085245511
94362A93372B62   SACHA            CLARK                    CO     33008260933
943637A375B243   AMY              HOWARD                   KY     90004687037
94363A2725B548   ANNETTE          ANDAZOLA                 NM     90014310272
94364589A91882   PRINCE           CALWELL                  OK     90008545890
94364616772B42   AMANDA           PESAE                    CO     90007476167
9436463658436B   DAVID            MONTALVO                 SC     19089746365
943657A7372B56   CHRYSTAL         HEWETT                   CO     90001507073
94366843772B32   BALTAZAR         LEDEZMA                  CO     33060088437
9436723188B149   JOSEPH           LEONE JR                 UT     90013782318
943678A6397B59   JULIE            WHITE                    CO     39034508063
94367A6544B588   NATHIFA          RAINGE                   OK     90015140654
9436816498B149   WILLIAM          GAYLOR                   UT     90011961649
94368196172B3B   GUILLERMA        BAILON                   CO     90005031961
9436835A471945   CHRISTINE        REITZ                    CO     90012293504
94368435972B42   ERNEST           RAZO                     CO     33092474359
943691A8272B32   DEREK            LEONARD                  CO     90005881082
9436939985B548   MARIAGUADALUPE   SANCHEZ                  NM     90013503998
9436978285B531   HORTENSIA        FLORES                   NM     35085657828
94369A59297B59   YOLANDA          SALINAS                  CO     39005800592
9436B189172B32   FRANCISCO        SALAZAR                  CO     33012681891
9436B33A65B548   JESSICA          SALCIDO                  NM     35064663306
9436B61A471945   JENNIFER         QUARLES                  CO     32045846104
9437142A572B42   AURORA           GARCIA                   CO     90014004205
94371938172B56   SISI             PARRA                    CO     33087699381
9437199A272B42   CHANTEL          TAFOYA                   CO     90013049902
9437248993164B   ANNABEL          RODRIGUEZ                KS     90010724899
9437251A533698   CHRIS            SHARPE                   NC     12017475105
94372597597B59   JASON            LOPEZ                    CO     90013485975
9437282688B149   AARON            ADAMS                    UT     90012338268
94373642A72B22   CAROLINA         GUZMAN                   CO     90010496420
9437375284B554   KRISTIN          JONES                    OK     90011687528
94373817472B22   DAVID            WILLIAMS                 CO     90013088174
94374799A5B548   TIM              MCCALLISTER              NM     35029527990
94374A51472B3B   DESIREE          VELARDE                  CO     90006870514
94374A91655951   JESSICA          NORIEGA                  CA     90010940916
9437557AA55963   KRYSTAL          SHOWALS                  CA     90009565700
94375786172B3B   KAY A            OATS                     CO     33072797861
94376843797B59   DANIEL           DECIGA                   CO     90006308437
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1681 of 2350


943776A1693755   TASHA          JACKSON                    OH     90009846016
9437821718436B   SCOTT          JUDY                       SC     90011082171
943782A3571945   GISELLE        GRESHAM                    CO     90013452035
94378548972B56   CHRISTOPHE     BRIAR                      CO     33079295489
94378A1935B383   MARK           ROZEBOOM                   OR     90015460193
9437943155B531   MICHAEL        ROBLEDO                    NM     90011584315
94379649572B32   BENJAMINE      MUSE                       CO     90010726495
94379817572B22   PAOLA          ANDRADE                    CO     90013088175
9437B241A3365B   MARIA          PAZ                        NC     90007112410
9437B337355963   TOMMY          SMITH                      CA     90009583373
9437B54695B383   MARIANNE       MWANGA                     OR     44555435469
943812A6A3164B   OLIVIA         HERNANDEZ                  KS     90014852060
94381A83571945   JAMES          IBEKWE                     CO     32003880835
9438244AA4B554   JAMAL          MARTIN                     OK     90014644400
9438248A171945   THERESA        DAILEY                     CO     90002314801
943839A255B386   DOUGLAS        DAVIS                      OR     90010769025
94384992972B42   LUZ            PORRAS                     CO     90013049929
94384996A5B531   JOSE           LOZANO                     NM     90014249960
94384A8A261977   MARIA          GARCIA                     CA     90000280802
9438636A972B32   JAMES          KUCERA                     CO     90014403609
94386AA8751325   JENIFFER       BARNWELL                   OH     90000610087
9438751758B175   ERIZA          MUKATORA                   UT     90004955175
9438775224B554   PAUL           KRAGENBRINK                OK     21586267522
94387994872B22   LOUIS          LEM                        CO     90011459948
94388124272B99   ALBERT         ZAVALA JR.                 CO     33017401242
94388397472B42   MICHELLE       GARCIA                     CO     33014613974
9438849694B554   FARAH          ABDOLLAHI                  OK     90002134969
94389179872B32   MELAINE C      COTTON                     CO     90012671798
9438B14A33164B   VALERIE        THOMAS                     KS     90002021403
9438B53754B954   EBONY DENISE   LAVAN                      TX     90011905375
9438B783A4B554   ERMINIA        SAYAS                      OK     90011687830
9439137164B949   JOSE           CHAVOLLA                   TX     90009303716
9439212A38B149   DUANE          GREY                       UT     31078301203
94392261172B3B   SUSAN          SERNA                      CO     33008982611
9439231844B588   RODERRICK      TREADAWAY                  OK     90014493184
9439294A672B42   JESSE          RAMIREZ                    CO     90013149406
94393419A55957   CECILA         WADDELL                    CA     90013254190
9439437A37B444   ASHLEY         HYATT                      SC     90008123703
943948A585B383   JIM            BUK                        OR     90011128058
943948AAA61977   SALVADOR       RUBIO                      CA     90013928000
9439514A372B42   HECTOR         CASTRO                     CO     33072311403
9439525498B149   HAYDEN         HOLBROOK                   UT     90012212549
9439544A891399   JUSTIN         BINGLEY                    KS     90013634408
943954A823B38B   ROBERT         BULLARD                    CO     90012754082
94395736A72B56   LILIAN         HERNANDEZ                  CO     90011197360
9439583747B444   ROSHONNON      SHERRELL                   NC     90014278374
94395AA565B548   JOSETTE        GURULE                     NM     90013810056
94396595872B62   GUILLERMO      ZABALA                     CO     90014225958
94396A32872B32   RAMIRO         LOPEZ                      CO     90012490328
9439756474B554   JENNIFER       CAMPBELL                   OK     90012135647
9439792285B548   CRYSTAL        MARQUEZ                    NM     35006089228
943982A7661979   LATANYA        COLEMAN                    CA     90010532076
94398527A5B34B   WILLIAM        ELDRIDGE                   OR     90003075270
9439876345B548   MARION         MARINDALE                  NM     35095657634
94398A6624B588   KELLY          WALKER                     OK     90011800662
94399558572B56   ISABEL         MELGOZA                    CO     90009855585
9439966934B554   MIGUEL         ELLIS                      OK     90013976693
94399A65855951   CARLOS         RIVERA                     CA     90011860658
9439B254693755   EBONY          MITCHUM                    OH     90012012546
9439B286871945   CHRISTINE      BROWN                      CO     90013162868
9439B747572B42   OTONIEL        TENA                       CO     90009197475
943B1859577537   MARIA          ARELLANO                   NV     90006878595
943B189357B24B   ENRIQUE        BORROEL                    AZ     90009998935
943B2424672B62   CHARLES        LEGER                      CO     90013884246
943B2962893755   JESSICA        COLE                       OH     90007249628
943B3724272B32   ANGELA         BUNISH                     CO     90015087242
943B3A6777B444   SCOTT          WITHERS                    NC     11004680677
943B4439177537   JESSICA        BENIM                      NV     90015524391
943B45A4472B22   ALEXA          MATSON                     CO     90014485044
943B489968B18B   MATTHEW        ROAT                       UT     31045698996
943B5213A72B42   FRANCISCO      CALDERON                   CO     90013862130
943B5366A91599   LORENA         GARCIA                     TX     75057213660
943B5537141296   ALLEN          NEWTON                     PA     90012585371
943B6661641296   MARK           CAINE                      PA     90001466616
943B687A433B51   TAESHAWN       MADISON                    OH     90015358704
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1682 of 2350


943B717A18B152   F            HC                           UT     31016291701
943B733168B149   KARY         ISLANDER                     UT     90014573316
943B77AA38B175   NEDA         KHADEMI                      UT     31014797003
943B782355B377   ADRIANA      MARTINEZ                     OR     90011938235
943B7871655957   CARLOS       GONZALES                     CA     90006468716
943B7889272B56   DEJA         STEWART                      CO     90007218892
943B7988861941   MARIA        ORDAZ                        CA     90010339888
943B819567B444   CAROLINA     CUPIANO                      NC     90014841956
943B882A83164B   KRISTY       BENIVAMONDE                  KS     90015198208
943B8AA2255957   JOSE         GARCIA                       CA     90002680022
943B957184B554   JULIUS       TRAYLOR                      OK     21593155718
943B9615877537   ALLISON      DILLARD                      NV     90014846158
943B9A8868B152   WALKER       MCBRIDE                      UT     31021720886
943BB1A644B588   EBONY        ABRAHAM                      OK     90000811064
943BB1A793164B   ANGELO       MORRIS                       KS     90009731079
943BB31A87B444   JAKEDA       GILL                         NC     90014253108
943BB3A5493755   QUANITTA     WORKS                        OH     90011353054
943BB734541296   GARY         BAUGHMAN                     PA     51030277345
943BB842497B59   WENDY        WIGHT                        CO     39000558424
9441115AA61977   HERIN        JAMES                        CA     90015151500
9441142298B152   BRAVO        JUAREZ                       UT     31078414229
944121A9171945   ANGELA       HARDEN                       CO     32010141091
94412395A91951   DENRIQUA     JOHNSON                      NC     90010383950
9441268164B554   SHERLICIA    TILLMAN                      OK     90012966816
9441296165B383   JOSIAH       RAGLIN                       OR     90015199616
94412A9335593B   TOMMY        RASEY                        CA     90010710933
94413173472B42   JENNIFER     MOSCARIELLO                  CO     90000341734
94413478A97B59   YURIKO       VEGA                         CO     39057354780
9441373818B175   INES         OSORIO                       UT     90000827381
94414585772B3B   BRITTANY     HAYES                        CO     90014085857
944146A518B152   ATHLEEN      RICE                         UT     31092536051
94414937A93755   FELICIA      NARED                        OH     90003469370
94415A5254B554   BENITA       CHAVERRIA                    OK     90010170525
9441611714B588   TYLER        FORD                         OK     90011801171
94416261A8B152   OLORENSHAW   NATHAN GEORGE                UT     90004492610
9441643A491951   RICHARD      SHINES                       NC     90010384304
94416737172B56   MORRIS       DUNBAR                       CO     90004287371
94417332A91599   JESSICA      CHAVEZ                       TX     90009553320
94417334524B42   DOMINIQUE    HAYES                        DC     90010893345
94417836272B56   RICARDO      SANCHEZ                      CO     33086988362
9441817918436B   MIRIAM       ARGUETA                      SC     19046751791
94418367772B62   DEBBIE       ARNOLD                       CO     33052523677
94419649772B32   MARIA        GUZMAN                       CO     33013116497
9441998A841299   ELISE        CONLEY                       PA     90008689808
94419A4515B383   NOELLE       PEEBLES                      OR     90011360451
9441B12263164B   CASSITY      SHERWOOD                     KS     22093371226
94421A16761921   STACY        ALBERTSON                    CA     90002790167
9442223574B29B   RUDY         GUERRA                       NE     27039762357
9442286328436B   CANDACE      CROWELL                      SC     90012268632
9442316588436B   CAVT         POLITE                       SC     90010651658
944243A9755957   SHERYA       HARRIS                       CA     90013933097
9442446395B131   GLORIA       BRADLEY                      AR     90014484639
94424A2628436B   JUSTIN       HAMILTON                     SC     19089690262
94424A44572B3B   TIMOTHY      JOHNSON                      CO     90012040445
9442529645B383   JOSE         DIAZ                         OR     44500322964
94425A28597B59   CHRISTINA    LOPEZ                        CO     39001300285
94425AA2655951   AUSTIN       BUTLER                       CA     90012690026
94426144A77537   SHAWNA       JONES                        NV     90012801440
9442617735B548   ORDONEZ      MERLY                        NM     90012891773
9442627A35B531   MALACHI      COLEMAN                      NM     90005832703
944263AA841296   GINA         DIODATI                      PA     51026903008
94427157A5B548   MARIO        PORTILLO                     NM     90015131570
944271A3961977   VIRGINIA     FRIAS                        CA     90000281039
94427537A72B56   APRIL        PHILLIPS                     CO     33092985370
9442795515632B   BLYNDON      MCLAUGHLIN                   IA     90010489551
9442948695B383   DOLORES      RODRIGUEZ-REYES              OR     44550114869
944296A983164B   BILLIE       BOYLE                        KS     22008346098
94429A54A91599   THOMAS       BARRAGAN                     TX     90009020540
9442B388155951   VERNON       MARTIN                       CA     90012033881
9442B53588B175   PAYGO        IVR ACTIVATION               UT     90013525358
9442B947172B42   CIERA        ELLINGSWORTH                 CO     33086709471
9442BA4A561979   MAIA         JONES                        CA     90002840405
94431141172B22   MARLENE      CERVANTES                    CO     33010721411
944311A9261979   ESTELA       MORUA                        CA     90002841092
9443231A691951   ALEJANDRO    ASUNCION                     NC     90000783106
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1683 of 2350


94432621472B3B   JUANA         MURILLO                     CO     33038086214
94432661172B32   KRISTINE      WILSON                      CO     33059266611
9443345387B444   REYNA         FRIAS                       NC     11088664538
9443366585B526   ANDRES        DAZA-GOVEA                  NM     35088116658
94433A69472B32   PERLA         MORENO                      CO     90013910694
944342A3A55951   VERO          REYES                       CA     90011972030
9443431824B588   CYNTHIA       GROTH                       OK     90013843182
9443523667B429   AHMED         BADR                        NC     90001772366
94435713A8B149   MARK          GOODSON                     UT     90001737130
9443578965B383   JOHN          BEVERLY                     OR     90008387896
9443661295B548   CARLA         CORDOVA                     NM     35031576129
9443671444B554   ROSENDO       GONZALEZ ESCOBAR            OK     90012837144
94437451A4B554   ALESHEA       HARRIS                      OK     90013644510
9443782364B588   JIMMY         BUTLER                      OK     90012818236
9443813468B152   LUIS          ALGERTO                     UT     90001181346
94438342A55951   NORA          FIKES                       CA     90015073420
9443855134B554   HENRIETTA     DURAN                       OK     90009565513
94438948A91599   LETICIA       ARANDA                      TX     90008289480
94439734672B22   JOHN          BRADSHAW                    CO     33035847346
94439756272B56   CRISTINA      GOMEZ-FERREYRA              CO     90014947562
9443B3A288B149   JOSH          UNDERWOOD                   UT     90012553028
9443B46635B383   DESEREA       LINDSAY                     OR     90013644663
9443B814A9184B   SANDRA        GARCIA                      OK     90010058140
944414A1272B62   GABRIEL       RAMIREZ                     CO     90000794012
9444151184B588   JAMILLYA      SMITH                       OK     90009805118
94441525472B3B   GEBREMESKEL   TEKLIT                      CO     90012575254
94442462872B32   MICHELLE      ARGUELLO                    CO     33014284628
9444274967B444   RONALD        BELLTON                     NC     90015167496
944431A7141296   CLAIRE        COULSON                     PA     51031541071
94444227A77537   TOMIKKA       LARKIN                      NV     43085392270
9444427734B554   ZAC           SPROWL                      OK     21541292773
9444446815B548   STEVE         GOMEZ                       NM     35052684681
944446A6171945   EUGENE        FERNANDEZ                   CO     32014676061
944447A615B333   ROBERT        YOUNGBERG                   OR     90008557061
944453A8871945   CHRISTOPHER   SULLIVA                     CO     90014853088
944454A7381672   JASON         MCROY                       MO     90004824073
9444581165B531   AMANDA        DIAZ                        NM     90014888116
94445872772B22   REANNON       RIVERA                      CO     90000978727
94446887A72B22   EVETTE        GALICIA                     CO     90001628870
9444711715B383   MARISA        YOUNG                       OR     90003741171
944475A755B531   TERRIE        SANCHEZ                     NM     90010185075
94447A35691599   CARLOS        ALFONZO                     TX     75050230356
944482AA555951   VICTORIANO    FELIX                       CA     90014912005
944483A135B531   CORY          MASAYESVA                   NM     90006483013
9444869769714B   ANITA         FENNERL                     OR     44584256976
9444875A37B444   TIARA         THOMPSON                    NC     90002057503
9444933795B383   NATHAN        BATY                        OR     44573293379
9444954617B475   ARACELY       BRAVO MONZON                NC     11096325461
944498A2561977   SOPHIA        MAGANA                      CA     90013928025
94449924272B3B   MAI THI       KIM                         CO     90010929242
9444B65A997B59   JANINE        SWENSON                     CO     90007736509
9444B916A41279   DARIA         SAMOKHVALOVA                PA     90010439160
94451884697B59   JOSIE         BERNER                      CO     90012508846
9445236554B588   MICHAEL       CHASTAINE                   OK     90010643655
9445285985B383   JULIE         HARLAN                      OR     90011128598
94452A63993755   DEVINLYN      HARRIS                      OH     64514680639
94452A7138B175   SHANTELL      LOPEZ                       UT     90012960713
94453145572B22   BERENICE      SOTO                        CO     90013991455
94453198A91888   CHARLES       CHESS                       OK     90014481980
9445344944B29B   JAVONA        BRIGGS                      NE     27037804494
9445352A58B152   BRETT         THOMAS                      UT     31035705205
9445391222B831   CHERYL        POLLICK                     ID     90006589122
9445434A372B62   JESSICA       NAVARETTE                   CO     90014873403
94454671672B32   LOUISE        SANCHEZ                     CO     33035446716
94454876472B42   GABRIEL       MARTINEZ                    CO     33020568764
9445565158B149   ESTHER        FUENTES                     UT     90008436515
94455867A55957   BREANNA       SANCHEZ                     CA     90013138670
9445674AA72B56   MARY          MABESOONE                   CO     90011197400
9445677A993782   GLORIA        WILSON                      OH     90008967709
9445681474B554   JAMIE         JOSEPH                      OK     90013488147
94456A9715B565   ROSA          RUIZ                        NM     35078030971
9445733935B548   PRISCILLA     VALDEZ                      NM     35070673393
9445761178B175   TIFFANY       JACOBSON                    UT     31034556117
9445796388B149   KAYDEE        UNDERWOOD                   UT     31008289638
9445855385B531   VERONICA      MUNOZ                       NM     90013265538
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1684 of 2350


9445872A83164B   DENNIS                WHITEROCK           KS     90015337208
9445875695B548   FRANCINE              GONZALES            NM     90014837569
9445882935B531   RODIMIRO              URIBE               NM     35041568293
9445937134B554   ERICKA                ODUNZE              OK     90011693713
9445975758B175   CHRISTOPHER           BOYD                UT     90009747575
9445986945B383   MECCICO               NICOLE              OR     90015118694
94459A3A172B42   MONIQUE               CABRERA             CO     90013050301
9445B43695B565   FONDA                 SANCHEZ             NM     35080584369
9445B623A93755   JASON                 NICELY              OH     90011966230
9445BA3485B383   CHEYENNE              MYERS-NEWCOMB       OR     90010710348
9446113498B149   SHEENU                BURTIS              UT     90012101349
944611AA361977   FERNANDO              PEREZ               CA     90008311003
94461491A72B3B   LANCE                 HICKEN              CO     33082204910
9446158274B554   ALEJANDRA             ROJAS               OK     90015045827
94462494572B3B   ROSA                  MONTESTORRES        CO     33071034945
94462766772B56   KIMBRA                HOWARD              CO     90014947667
94462795172B42   THOMAS                GREENBURG           CO     90010757951
94463225872B3B   JOHN                  JOTTI               CO     90013442258
9446353714B588   SARA                  AHDOKOBO            OK     90013895371
94463A3A872B42   ROSE MARIE            MEDINA              CO     90013050308
944644AA33164B   JEFFREY               CUIKSA              KS     22034304003
944645A995B565   MICHELLE              WILDENSTEIN         NM     35068525099
94464A9847B444   DANA                  BOYLES              NC     90010650984
9446537475597B   VERONICA              RENDON              CA     49096883747
94465857797B59   JUAN                  LOPEZ AGUILERA      CO     90014338577
94465891272B3B   SPENCER               BARRETT             CO     33067198912
944658A3393778   ELIZABETH             SOUTHERLAND         OH     90011428033
94465A3648B152   SEAN                  SNOW                UT     31013860364
94465A6A772B42   DAVID                 FUQUA               CO     90013770607
9446675815B383   KEVIN                 ZIEVERINK           OR     90011587581
94466A2898B149   JAIME                 SALGADO             UT     90013320289
94467192397B59   SABRINA               GARCIA              CO     90014741923
9446723A555957   AIOTEST1              DONOTTOUCH          CA     90015122305
94467294172B42   CHAD                  SMITH               CO     90014762941
9446797455B531   ALEJANDRIA            RODRIGUEZ           NM     35060749745
9446821234B949   LINDA                 CORMIER             TX     76508962123
9446882528B149   KATHRYN               HUNTER              UT     90010358252
94468A34171945   JENNIFER              KAMBERIS            CO     90000510341
94469226A72B3B   DIANE                 LUGO                CO     33018312260
94469685A72B94   LUIS                  RIVAS               CO     90007966850
9446979975B531   JACKIE                WADE                NM     35045007997
94469A2A991921   ARMELIO               BORRAYEZ ROJAS      NC     90013020209
9446B3A325B383   JUAN                  MONSON              OR     90001023032
9446B3A684B554   ALYSHA                MCMILLON            OK     90015013068
9446B49418595B   DORIS                 DAVIS               KY     90001934941
9446B8A6972B22   BROOKE                KASPER              CO     90000718069
9446BA85855963   JOSHUA                ROACH               CA     48042190858
9447174AA72B56   MARY                  MABESOONE           CO     90011197400
94471843172B22   HUMBERTO              CHACON              CO     90013088431
9447236554B588   MICHAEL               CHASTAINE           OK     90010643655
94472463972B42   GABRIELA DEL CARMEN   DE LA CRUZ RAMOS    CO     90011404639
9447248854B558   JOSHUA                BARRERA             OK     90009834885
94472877372B32   LAURA                 CHAVEZ              CO     90010508773
9447316A293755   ROBIN                 WILLIAMS            OH     90004021602
9447354864B588   ROXANNE               BERNARDINO          OK     90013895486
94473A28A55957   CORINA                MARTINEZ            CA     49029740280
9447471757B444   SHIRLENE              MCCULLOUGH          NC     90012507175
94474853372B22   SHERMAN               GIBBS ANTHONY       CO     90013088533
9447488A381634   KATRINA               PETERS              MO     90007678803
9447495288436B   CHASE                 STRAPPELLO          SC     90006239528
94474AAA855963   FLORENTINA            PANDURO             CA     90010440008
94475157397B59   DEBRA                 MOORE               CO     39001701573
9447537117B34B   TELMA                 AREVALO             VA     90000983711
944768A3155951   LINDA                 GALVAN              CA     49078648031
94477124897B59   IRENE                 ROJO                CO     39015011248
9447784934B949   GAYLON                BLYTHE              TX     76564658493
9447785A981634   RANDY                 WINFREE             MO     29094438509
9447817A28B175   JESSICA               CUNNINGHAM          UT     90008791702
944784A6661977   GUADALUPE             MARQUEZ             CA     90012834066
9447B453661977   SARA                  ARROYO              CA     90012824536
9447B736872B22   CATHERINE             BOUCHARD            CO     33094797368
9447B884255951   PADEE                 BUE                 CA     90015098842
9447B932241955   TRAMEL                AULTMON             OH     90014419322
9448136852B266   SHARON                SANDERS             DC     90007013685
9448146535B261   HYUN                  TANYHILL            KY     68071194653
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1685 of 2350


9448274A561977   MICHAEL       MCGUIRE                     CA     90013997405
9448282888436B   PATRICIA      NELSON                      SC     19047838288
9448392A455957   DAVID LEE     WILEY                       CA     90014489204
9448547AA4B554   ELISA         LOPEZ                       OK     90011694700
94485AA554B588   MORGAN        THOMAS                      OK     21554910055
94486756A55951   LARRY         YOKOPENIC                   CA     90010267560
94486A26497B59   RACHELLE      HINOJOSA                    CO     39081600264
94486A32372B3B   MARITZA       CRUZ                        CO     33049640323
94487424672B22   ULICES        HERNANDEZ                   CO     90013934246
944878A138B175   JAMES         FITZLAFF                    UT     90009918013
94488166672B22   DESTINY       CARNEY                      CO     90010811666
944883AA48B152   JOLENE        OBONO                       UT     90004833004
94488769A61992   BEATRIZ       SALINAS                     CA     90008287690
94489142397B59   MARSHA        BIRKLAND                    CO     39077421423
9448919516B933   JASON         MORRIS                      NJ     90014281951
94489875372B3B   FLOR          CHAVEZ                      CO     33035048753
9448B334672B62   JERMEY        GREENWOOD                   CO     90012313346
9448B829555963   MARITZA       FARIAS                      CA     48002818295
9448B955997B59   KENT          WILLIAMSON                  CO     90009569559
9449167A28B149   RYAN          LARSEN                      UT     90015306702
944916A344B588   BRYAN         WILLOUGHBY                  OK     90013896034
94491A4234B588   JOEVELYN      REYNOLDS                    OK     90012600423
9449246A372B62   TANIA         GONZALEZ                    CO     90012934603
944926A654B588   MATTHEW       ROBINSON                    OK     90013896065
944927A6871945   CYNTHIA       TOWNSEND                    CO     90014467068
9449289318436B   AMANDA        WALL                        SC     90014398931
9449375273164B   ADRAIUS       RAYFORD                     KS     90010057527
9449398A45B383   ANDREA        HOPKINS                     OR     90012759804
9449414925B383   CHRISTOPHER   WILLIAMS                    OR     90015061492
94494238497B59   BRETT         LONG                        CO     90005382384
9449429734B523   MARTHA        JOHNSON                     OK     90011712973
9449434A555963   LEANARDO      SANCHEZ                     CA     90009363405
9449455A191951   QUIANA        WILLIAMS                    NC     90005105501
9449588225B383   SETH          FOLTZ                       OR     90009938822
94495998A8B175   CLAUDIA       CHALACA                     UT     90010769980
94496956172B56   EDUARDO       MARTINEZ                    CO     33011869561
94496A49333698   CAROLYN       WRIGHT                      NC     12035170493
9449754354B554   JOSE LUIS     MENDEZ DIAZ                 OK     90014445435
9449784955B383   GABRIEL       ADKINS                      OR     90012898495
94497A59291399   TERIAUNA      COOPER                      KS     90014680592
9449813155135B   MICHELLE      MOORE                       OH     90011201315
94498182276B51   MIGUEL        ANGEL CRUZ                  CA     46064231822
9449822488436B   JUAN          LOPEZ                       SC     90010422248
9449845565B565   RAFAEL        MENA                        NM     90001384556
9449934AA61977   MARIA         ATLAS                       CA     46013723400
9449935A772B3B   DANIEL        SCHNEIDER                   CO     33049893507
9449964394B554   NATANON       CORBIN                      OK     90014866439
94499872272B22   RAPHAEL       TINSLEY                     CO     90013088722
9449995335B531   LYDIA         AUTHEMENT                   NM     35043759533
9449B166981634   TIM           HOWE                        MO     90010311669
9449B35553164B   WAYNE         RIDDLE                      KS     22065503555
9449B52999198B   DAVID         DENNIS                      NC     90012065299
9449B642A91399   VICTORIA      COBURN                      MO     90010696420
944B1372A55951   RHONDA        WOODS                       CA     90009253720
944B15A9A3164B   KRYSTINA      WINCHESTER                  KS     90013395090
944B174565B531   TIMOTHY       JOHNSON                     NM     35087007456
944B223225B377   JACOB         WHITT                       OR     90010952322
944B253918B152   MELISSA       CARRILLO                    UT     90009085391
944B266A172B62   DOUG          BENNETT                     CO     90002076601
944B272A871945   HORACIO       PEREZ II                    CO     90013827208
944B27A4893727   JOHN          SMITH                       OH     90010827048
944B318134B554   LAQUETA       VAUGHN                      OK     90011691813
944B357A997B59   LORRAINE      RAMIREZ                     CO     90003315709
944B3658355951   GABRIELA      CRUZ                        CA     90011206583
944B3658691951   JAMES         DOCHER                      NC     17015866586
944B373447B429   JOSE IVAN     GONZALEZ                    NC     90008587344
944B426444B263   AMY           YOUNG                       NE     90011642644
944B434A85B531   MARISELA      BARAJAS                     NM     90014163408
944B4444172B42   ALEJANDRO     NIETO                       CO     33070394441
944B465725B19B   KRYSTAL       GRAFE                       AR     90013146572
944B4822772B22   STEPHEN       OCONNOR                     CO     90013088227
944B4851991599   ASHLEY        SOSA                        TX     90003628519
944B4899972B56   MATHEW        MEDINA                      CO     33082718999
944B512835B531   NAPASHYA      REYNOLDS                    NM     90011981283
944B5185791399   JANICE        MCGUIRE                     KS     90013131857
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1686 of 2350


944B5673A5B398   GILDARDO         GUTIERREZ                OR     90014186730
944B592645B383   MARY             HADDOCK                  OR     44578509264
944B62A4591592   JESSICA          ACOSTA                   TX     90012722045
944B62A758B149   JORDAN           CARTER                   UT     90011452075
944B6346691599   ANA              CAMARGO                  TX     75063053466
944B6544172B22   JOSE             DIAZ                     CO     33000105441
944B666482B728   RYAN             MACVANE                  ME     90012776648
944B6954777537   ROSA ELENA       GONZALEZ                 NV     90012859547
944B7763677537   LEVI             FEUERHERM                NV     90015457636
944B776834B588   PHILLIP          PRESTRIEDGE              OK     21564867683
944B79A1293755   AMBER            STURGILL                 OH     64501249012
944B8358272B22   FRANCISCO        AMAYA                    CO     33032853582
944B8457441296   JADE             CARTER                   PA     90014154574
944B86A9561979   MAYRA            SANCHEZ                  CA     90005786095
944B9449172B22   FADILA           HRNJIC                   CO     33095184491
944B948A872B56   RAFAEL           CZECHOWICZ               CO     33085704808
944B9A2255B531   DRAVEN           JENNINGS                 NM     35012990225
944BB145192825   VICTOR           PUEBLA                   AZ     90014251451
944BB1A5772B56   OLGA             REVELS                   CO     33084131057
944BB6A5855957   GLORIA           NOGUERON                 CA     90012886058
944BB845691882   ISMAEL           JASSO                    OK     21053118456
94511695572B56   MELISSA          NELSON                   CO     90008356955
9451183AA93755   RENAE            WILT                     OH     90002528300
945118A3655951   ALBERTO          CASTRO MARQUEZ           CA     90014628036
94512726A91599   AMANDA MARIE     LUEVANO                  TX     90010227260
9451273578436B   NEESHA NYCHELL   SANDERS                  SC     90013747357
94512A99A4B554   DONTAE           BRANCH                   OK     90012780990
9451354493164B   RICK             ROBERTS                  KS     22048195449
9451385634B588   JUSTIN           BAPTISTE                 OK     90010048563
9451395A991554   JENNEFER         CERVERNTES               TX     75039119509
94514562272B42   MARLENE          SHORT                    CO     90011565622
945145A5561977   JOSE             MANCINAS                 CA     90008465055
9451489577B477   GEORGE           SINCLAIR                 NC     90012508957
94515284A4B949   GEOUANY          VELASQUEZ                TX     76513842840
9451594963B341   PATRICK          DICKMAN                  CO     90014799496
94515A46172B42   DANIEL           MCKIBBIN JR.             CO     90013050461
9451617A14B554   ALIYAH           DAVIS                    OK     90014741701
9451646A491547   ESTEBAN          ALVA                     TX     75086714604
94516719A5B383   CEFERINO         GONZALEZ                 OR     90013487190
9451673328B347   ASHLEY           SIMS                     SC     90014767332
9451752A672B32   DONNA            CURDIS                   CO     90010645206
94517586A5B548   MERCY            LUCERO                   NM     35050285860
9451813468436B   LATRISSE         SMALLS                   SC     90012311346
9451888A555963   CANDIDO          AVALOS                   CA     90005728805
9451892445B531   JOSE             RODRIGUEZ                NM     90010839244
94519734572B42   CAMACHO          CARLOS RICARDO           CO     33090207345
94519889A4B29B   MICHELLE         BROWN                    NE     27094158890
945199A5661977   CARLOS           VEGA                     CA     90012809056
94519A74171945   ROBERTO          GUERRERO                 CO     32035880741
9451B33A461977   ISABEL           RUIZ                     CA     46079583304
9451B444691951   NARCIZO          LOPEZ                    NC     90000604446
9451B4A1172B22   GLENDA           SPOMER                   CO     33076964011
9451B789897B59   GRISELDA         FUENTES                  CO     90014937898
94521851972B42   BRIAN            LAWYER                   CO     33051638519
94522674597B59   MICHAEL          MOORE                    CO     90011356745
945226A763B348   RANALD           TRAIMAN                  CO     90014526076
9452274728B149   SILAS            SHERMAN                  UT     90010007472
9452286A472B22   EVA              MARTINEZ                 CO     33076698604
94522A2344B588   GEORGE           ADEBAYO                  OK     90013930234
94522AA8471945   JAMES            RIDDLE                   CO     90011380084
94523314A71945   LYLA             KEELER                   CO     32043273140
9452361AA77537   JEANNETE         ESPERANZA                NV     90011156100
94523791372B42   CHRISTINA        BROWN                    CO     90010587913
945238A758436B   HELEN            CONNOLLY                 SC     90014248075
94523A2644B588   THESALIA         VIALE                    OK     90013930264
94524117172B62   RHONDA           LYTLE                    CO     90014581171
9452417768B149   CODY             HARPER                   UT     90009511776
9452449884B554   GEORGE           SMITH                    OK     90008634988
9452535A25597B   BELINDA          JOHNSTON                 CA     90003693502
945256A867B444   WILLIAM          MEJIA                    NC     90003576086
9452632193B137   MARITZA          PEREZ                    VA     90015043219
9452758418B149   NICHOLAS         JONES                    UT     31025305841
945278A8572B42   MAI              CHA                      CO     33056468085
94527A26497B59   RACHELLE         HINOJOSA                 CO     39081600264
94528168172B32   ISABEL           DUARTE                   CO     33062751681
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1687 of 2350


9452897688B152   PATRICK         HINCKS                    UT     90006059768
94528A3664B588   MATILDE         CARRILLO                  OK     90013930366
94529132672B42   IVAN            CLOFT                     CO     33081851326
9452968A55B383   RACHEL          HENDERSON                 OR     90013976805
9452B151277537   TERESA          GUERRERO OLVERA           NV     43068301512
9452B471472B32   CECILIA         RODRIGUEZ                 CO     90014374714
9452B87A572B62   JOSHUA          VEGA                      CO     90014288705
94531175672B56   RICARDO         VARGAS                    CO     90010571756
945319A1761977   ELOY            HERNANDEZ                 CA     90010249017
94531A66972B42   NUVIA           OROSCO                    CO     90011530669
94532517672B42   LUIS            SALINAS                   CO     90008675176
9453263774B554   SUN SIA A RAI   JENKINS                   OK     90013596377
9453269A98B152   RUSELLE         STORY                     UT     90003026909
94532A48855951   RAMON           GONZALES                  CA     90015220488
945335A263164B   BRANDY          RICHARD                   KS     90012155026
9453383857B444   EDWARD          FRANKLIN JR.              NC     11084008385
9453386254B27B   DENIS           SIMBA                     NE     27080918625
9453515557B389   KARLA           ALONZO                    VA     90010751555
94535211472B3B   JOSEFINA        RODRIGUEZ                 CO     90007712114
945353AA991951   ANTONIO         JUAREZ                    NC     90007413009
9453542577323B   CARLA           NICHOLSON                 NJ     90014824257
9453562817B34B   LUIS            GAMEZ                     VA     81020256281
94535767672B42   SERGIO          MONRAGA                   CO     33059597676
94536245997B59   JOSE            AVILA                     CO     90012672459
9453645815B243   NACOLE          KELLEY                    KY     90000984581
945375A124B588   RUBEN           MARQUEZ                   OK     90013655012
945376A995B383   JOSHUA          CLARK                     OR     44533126099
94537788772B42   KAREN           SOUTHWORTH                CO     90013057887
9453868385B383   LOLITA          GLASS                     OR     44546156838
9453879258B149   JOSE            GARCIA                    UT     90015027925
9453967914B554   ALBERT          DENNIS                    OK     90011696791
9453972A34B949   SAM             HENDERSON                 TX     76566707203
94539A4525B383   DECKELAR        JAMES                     OR     90012560452
94539A73572B98   STACY           BENJAMIN                  CO     90009910735
9453B358593755   ADAM            JONES                     OH     90014863585
9453B47594B558   JILL            HIMERLE                   OK     90009954759
9453B4AA271945   GRIFFITH        HEATHER TRINA             CO     90001194002
9453B746A8B152   THOMAS          BARNETT                   UT     90014667460
9453BA83961556   ANDREW          ROBERTS                   TN     90014550839
9454122284B29B   GINGER          CALLAWAY                  NE     27068502228
9454173963B366   ALBERTO         MAREZ                     CO     90001267396
94541839A93786   ROBIN           PARKER                    OH     90013718390
94541882A55946   MARIA           MENDOZA                   CA     90013388820
94541A14938531   EMMA            MARIA                     UT     90012360149
94541A27972B42   GARRISON        AARON                     CO     90008110279
94542566472B56   CRYSTAL         DENTON                    CO     33065725664
9454312A593755   MCLAINE         SHEETS                    OH     90014581205
94543784872B42   ESTREBERTO      PALMA                     CO     90007397848
9454393255B383   HANNAH          TENINTY                   OR     90010709325
9454799753363B   MARIA           OSORIO                    NC     90012029975
9454817753164B   CHRISTOPHE      SNAPP                     KS     90001341775
9454911875B531   MICHAEL         MURDOCK                   NM     35089641187
9454931975B565   CELATHA         GROVE                     NM     35015593197
94549A7644B588   TYLER           ROBERTS                   OK     90013930764
9454B335355963   MARIANO         PEREZ                     CA     90010093353
9454B892993755   ANTHONY         HIBBITT                   OH     90009938929
9454BA62391532   MARIA           DE HARO                   TX     90009460623
9455111139153B   TED             AYOUB                     TX     75069291113
94551316272B42   DOMINIQUE       WORTHMAN                  CO     90011353162
9455218728B152   DANIEL          MURPHY                    UT     90011841872
94552212A5B531   BENITO          HERNANDEZ JR.             NM     35051592120
9455221547737B   ENRIQUETA       REZA                      IL     90010362154
9455263755B383   BRIAN           OAS                       OR     90001616375
94554268A71945   CLINT           KRAMER                    CO     32089482680
9455519AA72B42   IRMA            MARTINEZ                  CO     90015201900
945554A535B383   ANTHONY         COLE                      OR     90010454053
945554A5561977   DANIEL          URIBE                     CA     90010684055
9455593A855957   ROGELIO         SALAZAR                   CA     90014489308
94556A8194B588   MADISON         CRAVEN                    OK     90013930819
94557372397B59   DAKOTA          MAY                       CO     90014703723
94557428872B62   RONALD          WATTS                     CO     90010854288
94557627172B3B   ROXANNE         CABRERA                   CO     90010566271
9455768A38B175   MIA             MORA                      UT     90014546803
9455784995B531   HERMELINA       GARCIA-CALDERON           NM     90010458499
9455787754B29B   TINA            ALEXANDER                 NE     90007868775
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1688 of 2350


945581A847B444   RICARDO      CARROLL                      NC     90014491084
94558816772B42   DAVID        HALSTEAD                     CO     90010588167
9455888985B548   MONIQUE      BENAVIDE                     NM     90005898898
94558A8194B588   MADISON      CRAVEN                       OK     90013930819
94558A8738B175   AMBER        MACART                       UT     90012960873
9455932577B444   RAGIANNA     ROYSTER                      NC     90011663257
94559487572B62   SABINA       ANDRETURNER                  CO     90004304875
9455B876155957   NYLZA        SAINZ                        CA     49025648761
9456139794B52B   MALAKIA      HOGAN                        OK     90014783979
94561498A72B3B   MINOTT       TANA                         CO     33016254980
94561648772B42   ANNETTE      DIAZ                         CO     33020036487
945627A4572B3B   JUAN         PONCE                        CO     90007987045
9456321464B554   RICK         CALDWELL                     OK     90012852146
94563A29277537   MARK         BRAZELL                      NV     43035560292
94563A5898B149   BRIAN        RAPHAEL                      UT     31063530589
94563A8394B588   SANDRA       CENICEROS                    OK     90013930839
9456425275B565   AARON        MERRIFIELD                   NM     35076912527
9456467285B531   BLANCA       ESTRADA                      NM     35062216728
9456483A672B22   FAYE         PETERSON                     CO     90006638306
9456513875B383   AMELIA       CHAVEZ                       OR     90006541387
94565656A72B62   DANIEL       MOORE                        CO     90012056560
94565969497B59   ANDREA       MESSICK                      CO     90013769694
9456632358B149   ERIC         SMITH                        UT     90013903235
9456766664B588   WENDY        WILLIS                       OK     90014956666
9456769918B175   RHONDA       OLIVAS                       UT     90007546991
94567784672B3B   KATHLEEN     HERNANDEZ                    CO     33014797846
9456792375B383   GABRIEL      BENNETT                      OR     90013509237
9456813A693755   EBONY        LEE                          OH     90014711306
945682A4672B3B   MICHELLE     CAREY                        CO     90004502046
9456836385B545   RICARDO      ROMERO                       NM     35081683638
94568A11455957   LAURA        NUNEC                        CA     90010140114
94569A72891399   DARIUS       JONES                        KS     29051340728
9456B165A72B62   EVER         ARMENDARIZ                   CO     33015891650
9456B275991599   SAUL         MUNOZ                        NM     90011432759
9456B339276B88   KEITH        POELSTRA                     CA     46096143392
9456BA5228436B   JEROME       WARD                         SC     90013540522
9457141948B149   CATHERINE    BLOOM                        UT     90014434194
9457155285B565   BRENNA       SCHMOLL                      NM     90001385528
945719A1872B83   EVELIA       ESPEJO                       CO     90002299018
9457252665B548   MANUELA      ALVAREZ                      NM     90014775266
9457267235B548   SHIANNE      MORA                         NM     90008326723
9457296A877537   MAGDALENA    RIVERA RAMIRES               NV     43060959608
94573917497B59   VANESSA      WOLFE                        CO     39017149174
945741A2793755   ALEX         BURNEY                       OH     64532251027
94574242A4B588   GABRIEL      PINEDA                       OK     90011812420
9457441A172B22   THOMAS       RICHARDSON                   CO     33012034101
9457445825B548   ELIZABETH    ROJAS                        NM     35029504582
9457459677B444   KATHERINE    SOLANO                       NC     90014495967
94574A12972B62   ANDY         LY                           CO     90009600129
94574A8A28436B   CHEMEL       WILSON                       SC     90010020802
94575474472B3B   ROGELIO      RUIZ                         CO     33088704744
9457547977248B   JERRI        DUDLEY                       PA     51090484797
9457563945B331   DAVID        MONFILS                      OR     90011696394
9457571767248B   LEONARD      WILLIAMS                     PA     90012237176
94575769197B59   DAVID        TANNER                       CO     39009297691
945758A5A72B56   OSCAR        ROMERO                       CO     90004128050
94575A94A72B62   BREUNA       BURNLEY                      CO     90012510940
9457713A771943   ERIK         PEREZ                        CO     90009851307
94577311A2B23B   LAWARN       BARBOUR                      DC     81045453110
945779AA75B531   JIMMY        LOPEZ                        NM     90015169007
94577A62A55951   EVELYN       MCBREEN                      CA     49067550620
9457851475B531   KELLY        HELVIE                       NM     90014165147
94579495897B59   GABINO       JIMENEZ-LUNA                 CO     90013644958
9457B47185B548   MAURICIO     ESPERANZA                    NM     90010344718
9457B48A55B531   FELIBERTO    OTERO-ORDONEZ                NM     90012494805
9457B771993755   JEANNETTER   BALLWEG                      OH     90005767719
9457BA28997B59   MARIA        BAEZA                        CO     90006000289
9458124498B175   LINDSAY      JIMENEZ                      UT     90013702449
94581625572B42   LAWRENCINE   MARTINEZ                     CO     90005986255
94582A95991399   MARIA        HURTADO                      KS     90010280959
9458352894B588   TAHESHA      DUNCAN                       OK     21506895289
94583A35A55963   CINDY        SOLIS                        CA     90014030350
94584223797B59   JUANA        MARQUEZ GONZALEZ             CO     90014632237
94584642A7B444   DARWON       NUHN                         NC     90014496420
94584A2AA76B87   JAY          BARROSSO                     CA     90014110200
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1689 of 2350


9458531824B588   MARIA         CARRENO                     OK     90013663182
9458549697323B   CUPERTINO     GIJADA                      NJ     90014254969
9458586849198B   LASHERRON     GEDDIE                      NC     90000418684
9458598A777537   SHAWN         WHITNEY                     NV     43052959807
9458611765B548   GLORIA        SIERRA                      NM     35076441176
9458625455B386   ALEX          BARTRAM                     OR     90011052545
9458638294B588   ASHLEY        NAVARRE                     OK     21506193829
9458693864B554   CORY          DUNAGAN                     OK     21561599386
94586A83771945   CHRISTY       TAYLOR                      CO     90010240837
94587A2968B175   CARLOS        AVILA                       UT     31012600296
94588187272B3B   ROBERTO       ANGEL                       CO     33084811872
94588336672B3B   ROSA          BRAVO                       CO     33091453366
945884AA455957   ANA           DIAZ                        CA     90002984004
94588A92972B62   GLORIA        MATURIN                     CO     90014810929
94589569772B62   CARRIE        MASARIK                     CO     90005965697
94589652972B22   RODRICK       MCHEARD                     CO     33030936529
9458985125B383   MARCO         REBOLLAR VARGAS             OR     90009898512
9458B385972B22   BERENICE      HERRERA                     CO     33011263859
9458B672481634   AD            FRANKLIN                    MO     29008376724
9459179A672B56   SHAUN         MONTOYA                     CO     90014947906
9459232A397B59   JACQUELINE    BARILLAS                    CO     39015023203
94592565272B22   PRISCO        NAVA                        CO     90012815652
94593791972B56   JOSE          AGUILAR                     CO     90014947919
94593927A91599   TERESA        FINLEY                      TX     90008149270
9459477312B236   FELECIA       PARKS                       VA     81041017731
94595195272B3B   BRIAN         JOYCE                       CO     90008011952
94595239297B59   VIVANNA       MCINTYRE                    CO     90014632392
94595865A8B149   BIANEY        CHAVEZ                      UT     90003148650
9459637998B175   BREACH        COBY J                      UT     90010483799
94596A5155B248   FRANK         ENGLISH                     KY     90004880515
94596A9517248B   BOB           DEJEET                      PA     90006330951
9459844344B949   MARTHA        ROSALES                     TX     90002694434
94599A79761979   MARIA         GUTIERREZ                   CA     90002920797
9459B1A9A72B62   NIKI          OLSZEWSKI                   CO     33090941090
9459B329291599   MARIA         FRANCIK                     TX     75039663292
9459B92238436B   MONIQUE       JOHNSON                     SC     19009549223
9459BA85461977   GUILLERMO     MORESZES                    CA     90010690854
945B1675997B59   JACK          GENRE                       CO     39011546759
945B2178491599   ELEA          DAVILA                      TX     90011041784
945B2296891399   TAMEKIAA      MAZE                        KS     90011702968
945B26AA98B149   SUZANNE       PARENT                      UT     31026176009
945B2A3A672B42   MELVIN        NORMAN                      CO     90012440306
945B3395455963   ARTURO        FLORES                      CA     90013083954
945B3446872B32   MARY          CASAUS                      CO     33033834468
945B3498972B42   CESAR         LEDEZMA                     CO     90014994989
945B3A76557563   KASSANDRA     GARCIA                      NM     35510970765
945B4237672B62   MONICA        TORRES                      CO     90012602376
945B427A197B59   BERTHA        SALINAS                     CO     39059722701
945B4517571945   CHRISTINA     CASILLAS                    CO     90005755175
945B4684191399   FLORA         RODRIGUEZ                   KS     90012136841
945B473294B554   BYRON         WILLIAMS                    OK     90013297329
945B4791972B56   YESENIA       LUJAN                       CO     90014497919
945B4821693732   JANETTE       DANIEL                      OH     64508248216
945B48A435B383   AMBER MARIE   BARKER                      OR     90014058043
945B4A44572B22   JACOB         HARTMAN                     CO     33004030445
945B556A68B149   BEN           XAVIER                      UT     31090565606
945B58A1497B59   ERICA         ROMERO                      CO     90003558014
945B5919572B32   TYLER         MCCAULEY                    CO     90010309195
945B662923164B   VIVIAN        HOOD                        KS     90010146292
945B6827197B59   JOHANNA       OLAN LOPEZ                  CO     39004698271
945B733558B149   FRED          LOPEZ                       UT     90014693355
945B737998B149   JESSICA       CATROW                      UT     90014713799
945B7571372B56   SAMANTHA      BARRE                       CO     90008385713
945B7A2638B152   ROBYN         JONES                       UT     31059720263
945B8393255957   NICOLE        WILLIS                      CA     90005273932
945B8499155957   MARTIN        AYALA                       CA     90013104991
945B9464972B62   PAMELA        MACKNIGHT                   CO     90011094649
945B9784672B42   DANIEL        ADDINGTON                   CO     90013057846
945B9A81871945   CAREN         CLARKE                      CO     32004010818
945BB284193755   DELLA         DEAN                        OH     64545672841
94611259672B42   STEVEN        TYLOR                       CO     90014122596
94611426572B49   DEAN          WATTERS                     CO     90014884265
94611571872B3B   ERICA         GOMEZ                       CO     90014835718
9461179447B444   SOPHIA        CRITTENDEN                  NC     11020787944
94611A54191882   AMANDA        MATOS                       OK     21086290541
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1690 of 2350


94611A55231461   LATONIA             JOHNSON               MO     27558270552
94611AA128436B   KAREN               CAMPBELL              SC     90011890012
9461214768B152   CHRISTINE           SIMSTER               UT     90010561476
9461222A193732   TEBBIN              ALFORD                OH     64568122201
9461274634B554   JEREMY              SCOTT                 OK     90013667463
94612AA1A8B175   MARK                COLLINS               UT     90014450010
9461345A561925   JUSTIN              FAIR                  CA     90006374505
94613512897B59   CHRISTINA           MARTINEZ              CO     90009775128
9461352975B531   NICHOLAS            GAVI                  NM     35069855297
94614573872B62   JOHN                CATHCART              CO     90000695738
94614693397B59   SCOTT               ALLEN                 CO     90012656933
94614746472B42   ANGELICA            PORTILLO              CO     90015127464
9461487175B531   SARAH               SANDOVAL              NM     35037538717
946152A9691399   GLEN                BLOUNT                KS     90014982096
9461543475B531   REYNARD             GEORGE                NM     90006654347
9461564555B383   JOSEPH AND DORRIS   SACCHERI              OR     90009246455
9461634884B949   KATHERINE           MURPHY                TX     76555843488
9461681A391882   CACIE               CALLOWAY              OK     90012878103
94616A9435B383   ELOY                ZAYAS                 OR     44509440943
94617387472B62   ALYCIA              ROBINSON              CO     90012113874
94617512172B22   HELEN               FUENTES               CO     90014805121
94617512897B59   CHRISTINA           MARTINEZ              CO     90009775128
946177A168B149   DAWN                CORBETT               UT     31018027016
94618917A41296   VALARIE             WORKMAN               PA     51090839170
946189AA155951   ALYSE               DAVIS                 CA     49036239001
946194A3A31646   APRIL               BATES                 KS     22005774030
94619629372B56   BELINDA             SPERRY                CO     33072076293
94619644672B42   RAMON               VALLES                CO     90007416446
94619686672B56   RICHARD             ROMERO                CO     33003166866
94619831572B62   THOMAS              PAGE III              CO     33088468315
946199A1872B22   TIFFANY             GESS                  CO     90013089018
9461B311741477   SONYA               KNUEPPEL              WI     90014633117
9461B959155963   SHERMAN             MCMURTREY             CA     48088699591
946211A4131651   ADRIANA             FLORES                KS     90000841041
9462199638B149   EDDIE               CUDE                  UT     90007689963
946221A3972B42   GLADIS              NAVARRETE             CO     90013631039
946221A9A4B554   CLAUIDA             TREJO                 OK     90011701090
94622322A55957   ZORCORIEA           COWHUN                CA     90010373220
9462249A861979   JESUS               GAUMOND               CA     90006544908
9462264274B554   TEERESA             BATT                  OK     90014706427
94622936A8B158   WILD                JENNIFER              UT     90012119360
94623157872B32   STEVEN              TELLGREN              CO     90013431578
9462365695B383   SONIA               NIEHUSER              OR     90012696569
94623713976B41   MAYRA               MEZA                  CA     90007867139
94623816972B42   CRISTINA            GOMEZ                 CO     90013058169
9462429A897B59   JANIRA              ARAGON                CO     90009272908
9462452A28436B   MARCELO             MARTINEZ              SC     90015075202
94624817372B42   CYNTHIA             HERR                  CO     90013058173
9462581A491599   JOSH                HERRERA               TX     90011278104
94626514372B32   TIMOTHY             BOVENZI               CO     90012575143
9462654325B531   CHRISTIAN           ORTIZ                 NM     90014165432
9462692965B548   SETH                ROYAL                 NM     90014879296
94627339697B59   JERRY               SKILLETT              CO     90013173396
94627416972B32   MONICA              GOODBURN              CO     33050794169
9462759A977537   EMELIO              SIA                   NV     90013885909
94627645A91399   BIG                 MIKE                  MO     90002936450
94627659172B56   SOLAD GU            EVARA TERESA          CO     33076426591
94627672A5B531   RAMONA              ARAGON                NM     90012316720
946279A273164B   ANTHONY             PATTERSON             KS     90010819027
9462829534B588   IESHA               HARPER                OK     90011292953
9462872978B149   SANDRA              ALEXANDER             UT     31087807297
94628A29A5B548   CHRISTOPHER D       DAVIS                 NM     90012830290
94628A6A772B56   LUCERO              BERNICE               CO     90004340607
9462973A293755   AUNDREA             BANKS                 OH     90006447302
94629A21991399   ALBERTO             SILVERIO              KS     29059590219
9462B76667B444   ANGEL               DIAZ                  NC     90014497666
9463129995B548   EUNICE              GODSEY                NM     35015702999
9463176854B554   SHAYONA             LITTLESUN             OK     90014087685
94632121772B62   JUAN                GONZALEZ              CO     33077461217
94632251872B56   MARIA               LARA                  CO     90013662518
9463254675B383   LA SEAN             PHILLIPS              OR     90013015467
946327A2841271   YVONNE              FRAZIER               PA     90001047028
94632A3274B554   ALEX                LEVESCY               OK     90001820327
94633537472B29   CHRISTIAN           MANGO                 CO     90013175374
94633A41955963   JULIA               BANOVICH              CA     90009000419
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1691 of 2350


9463417677B444   WILLIAM       SHARPLING                   NC     90001921767
94634349897B59   CRYSTAL       MININGER                    CO     90002743498
9463437AA5B531   JOSEPH        BOLOGH                      NM     35090683700
94634929497B59   CHRYSTAL      ROGERS                      CO     90014669294
9463495365B383   MARIA         HERNANDEZ                   OR     90012949536
94635318372B42   ZENAWI        KIDANEMARIAM                CO     90004433183
9463613A972B56   MICHAEL       SIMPSON                     CO     90011211309
94636475A91399   ANGELICA      AVELINO                     KS     29064634750
946365A1355957   EVELYN        ESPINOZA                    CA     90006235013
946366A1872B32   RODNEY        DAVIS                       CO     33077546018
9463679A25B531   RICARDO       MARTINEZ                    NM     90014387902
94636A2955B383   PAM           HOMSLEY                     OR     44555500295
94636A92577537   CRYSTAL       QUINONES                    NV     90010970925
9463726414B554   ROSA          JIMENEZ                     OK     90013742641
9463749A193755   APRIL         KRULL                       OH     64536274901
946376A9972B62   FRED          GEAN                        CO     90012566099
94638595A5B383   KASEY         KENT                        OR     90005445950
9463969898436B   JENNIFER      DAVIS                       SC     90013186989
94639949A5B383   LARRY         TOOLEY                      OR     90010709490
9463B18695B548   MARCELLO      ARAGON                      NM     35092091869
9463B1A6372B32   ANGELA        ROYBAL                      CO     33003981063
9463B5A598B175   ARTURO        ROLDAN                      UT     90014525059
9463BA7AA4B588   CHAYANNE      HERNANDEZ                   OK     90015140700
9464143A555963   MIGUEL        ADAME                       CA     90012104305
94641537572B32   RICHARD       BAILEY                      CO     90007425375
946415A895B383   FRANK         BELL                        OR     44549455089
9464222345B383   ROSALBA       IZORDIA                     OR     90001162234
9464264A777537   JESSICA       FORD                        NV     90000676407
94642923572B22   LUIS          VARGAS                      CO     90010679235
94642A1745B531   JESUS         LOPEZ                       NM     90013620174
94642A42872B42   ERIC          PERRY                       CO     90008710428
94643614172B22   STEPHEN       MOSELEY                     CO     33084196141
9464365358436B   DEBRA         RANDAL                      SC     90005456535
9464373815B548   JOHN          PADILLA                     NM     35074027381
9464442195B383   HEIDI         SUMMERS                     OR     44509564219
9464456974B554   EVA           BOLLINA                     OK     90014365697
94644835472B56   NICOLE        SHIRLEY                     CO     90014948354
946448A525B565   ENITH         HERNANDEZ                   NM     90008128052
94645599A8B149   MIRTHA        SOLORIO                     UT     90015035990
94645A44491599   CARLOS        LARA                        TX     75001100444
9464642657B444   CYNTHIA       HAUENSTEIN                  NC     90014584265
9464656885B531   JOSE          BENCOMO                     NM     90014165688
946466A6793732   BRIAN         ALTEN                       OH     90001706067
94646A61772B42   RYAN          NAPPLES                     CO     33069410617
94647121572B32   CASSIE        CERVONE                     CO     33013331215
94647226472B56   MARIA         MARQUEZ                     CO     90002052264
94647238133B51   KENNETH       HEWITT                      OH     90014262381
94647381A8B175   VICENTE       CARRIZALES                  UT     90009943810
94647651672B3B   GLORIA        VASQUEZ                     CO     33081566516
946479A9372B22   SANDRA        VASQUEZ                     CO     90013089093
94648134A5B548   SONIA         OCHOA-ESTRADA               NM     35052741340
94648A52A3164B   ZOY           VANBUREN                    KS     22013920520
946494A638436B   CHRISTINA     WILLIAMSON                  SC     90011944063
946499A3491599   ELVA          MARTINEZ                    TX     90013609034
9464B724372B3B   FELICITAS     CASILLAS                    CO     90000197243
9464B742A8B152   PAMELA        CHAVEZ                      UT     31063817420
9465169A14B954   GUILLERMO     PUENTE                      TX     90007686901
94651734A8B175   DINA          PEREZ                       UT     90003687340
9465193117B444   REYMOND       ALEXANDER                   NC     11031159311
946519A9472B22   CECILIA       FUENTES                     CO     90013089094
9465248775B959   TAMERA        KNAPP                       WA     90014814877
94653425A61977   CLARENCE      TAYLOR                      CA     90012534250
94653627672B56   JOHNNA        DORMAN                      CO     90007456276
9465385335B548   SERGIO        PENA                        NM     90014578533
94653967397B59   KEVIN         WINKLEPLECK                 CO     90012689673
9465428614B56B   BILL          LOPEZ                       OK     21580752861
94654316872B22   JOSE          LOZANO                      CO     90007423168
94654426A81634   MARIA         TORRES                      MO     29075014260
94654718972B62   BOOKANAKERE   NIRANJAN                    CO     90013177189
9465474864B588   ASHLEY        HOLMES                      OK     90014837486
94654855372B42   CARDENAS      ERIKA                       CO     90010758553
94654A88255957   RODGER        ALVAREZ                     CA     90014210882
9465542A64B554   ROWENA        SIMPSON                     OK     90011704206
94655481272B22   SAL           GUERRERO JR                 CO     33012624812
9465623364B554   STEPHANIE     PARKER                      OK     90011732336
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1692 of 2350


9465645A161558   RIVERA       ALEXANDER                    TN     90009014501
94656714272B32   NARAYAN      NEUPANE                      CO     90011847142
9465679485B548   MARTIN       ANTILLON-HERREROS            NM     90008997948
946568A5791951   EDUARDO      AVENDANO                     NC     90010488057
9465747768436B   JOSEPH       FERREIRA                     SC     90006614776
94657958A77537   TIMOTHY      HENDERSON                    NV     43059489580
94658A19A41296   JULIUS       MAGWOOD                      PA     90012800190
9465916A655963   ADRIANA      DURON                        CA     90001951606
9465917917B444   ANTHONY      INGRAM                       NC     11025471791
9465B16995B531   JO           GARCIA                       NM     35083841699
9465B2A3155963   GENARO       LINARES                      CA     90015092031
9465B384141296   JOHN         BAILEY                       PA     51084193841
9465B57A872B62   ERIN         MCLEMORE                     CO     33085065708
9465B762555951   RALPH        LOPEZ                        CA     90012207625
9465B84827B444   ANNA         BUESO                        NC     90011668482
9465B945955957   JOHN         BURCHETTE                    CA     49027839459
9465BA6985B548   PATRICK      LOPEZ                        NM     35012140698
9466268A84B554   HERIBERTO    AGUILAR                      OK     90014406808
9466274418B149   MACKENZIE    PETERSEN                     UT     90012627441
94662A45291399   ALEJANDRE    MARGARET                     KS     29002600452
94663416972B32   KEVIN        OLIVER                       CO     90012554169
94663912872B22   RICHARD      MALOUFF                      CO     90013089128
9466396A88B149   JESSICA      CRAWLEY                      UT     31013729608
94664118272B22   ELIESEN      CLARK                        CO     33098821182
9466418154B588   LAKEISHA     THOMPSON                     OK     21595661815
946642A5372B3B   MICHAEL      PENA                         CO     90014802053
9466449618B175   BRISA        CHAVEZ                       UT     90014364961
94664678997B59   HUMBERTO     SALAZAR                      CO     90010456789
9466492744B29B   TENEUSA      MOORE                        NE     27091579274
946649A1971945   GUSTAVO      HERNANDEZ                    CO     32066749019
9466592734B588   SKYLEE       MILLS                        OK     90014259273
94666152772B62   FREDY        QUINONES                     CO     90013821527
94666245A77537   ALENA        PRATT                        NV     90014702450
946663A3A55957   ANGEL        MENDEZ                       CA     90010563030
94666874997B59   ADREN        GOMEZ                        CO     90012558749
94667215A4B588   CRISTO       FRAUSTO                      OK     90013932150
9466732514B261   SHAWNTA      JETER                        NE     27069353251
946673A728436B   HAROLD       HUNT                         SC     90010953072
94667758A55957   SALOMON      HEU                          CA     90014457580
9466898924B588   SHEILA       LUNSFORD                     OK     90012819892
946689A6161954   RUBEN        URIBE                        CA     90006179061
94668A3148B175   VICTOR       SOSA GARCIA                  UT     90013560314
9466919AA3164B   TYLER        SHADE                        KS     90010371900
9466B91665B548   BILLY        GUTIERREZ                    NM     35054229166
9466BA35861977   DUANE        SWINFORD                     CA     90010110358
9466BA7A572B42   ALEJANDRO    JURADO                       CO     33098180705
9467161A655963   SARAH        GALVEZ                       CA     90012716106
94671A4AA93778   DUSTY        IRVIN                        OH     90012520400
9467248365B565   MARIA        PEREZ                        NM     35069434836
94672523A57183   LII          SONG                         VA     90003875230
9467275713366B   RINEKIA      HAYES                        NC     90014937571
946727A9272B62   MAGDIEL      MORALES                      CO     90013697092
946728A128B13B   HONORIO      MORENO                       UT     90003348012
9467328664B29B   TIMOTHY      GRECO                        NE     90004152866
94673343172B22   YANELA       OROZCO                       CO     33069383431
94673553A5B531   JESUS        CHAVEZ                       NM     90011895530
9467359A472B62   OLIVIA       VALLE ARREDONDO              CO     33059625904
94674574A97B59   HIPOLITO     GALVEZ DE JESUS              CO     90010435740
946745A935B531   MARIBEL      CHAMA                        NM     90010015093
94675495597B59   BRIAN        MAY                          CO     90002424955
9467654A991599   EDUARDO      SERRANO                      TX     90013415409
946769A5877537   LAURA        HEITZMAN                     NV     43099229058
94677257A72B42   YAJAIRA      RUIZ                         CO     90011442570
94677296397B59   VICTORIA     LINEHAN                      CO     90001942963
946778A5893732   RONDA        BRIDGEMAN                    OH     90004168058
9467853842B824   CHRISTINA    WARREN                       ID     90013395384
94678874197B59   SAMANTHA     PRUST                        CO     90012348741
94678A38472B56   TRUJILLO     BAMBI                        CO     33037460384
94678A44241296   JOSHUA       PHILLIPS                     PA     90013660442
9467937A68595B   ELLEN        BOWLIN                       KY     90002643706
9467944A191599   LIDIA        ADAME                        TX     90014704401
94679A6338B175   RIK          NELSON                       UT     31093750633
94679A81141296   ELIZABETH    MONTGOMERY                   PA     51004970811
9467B14A172B56   ROSA         BALDERRAMA                   CO     33084031401
9467B277A55951   CHARLOTTE    CASTILLO                     CA     90015262770
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1693 of 2350


9467B464A61979   RICHARD      RODRIGUEZ                    CA     90007444640
9467B739197B59   LOIS         PERALTO                      CO     39074777391
946811A9477537   EDWIN        FERNANDO                     NV     43064791094
94681322A72B42   WILLIAM      TITUS                        CO     90011353220
9468199732B894   AMANDA       CROCKET                      ID     90001129973
94681A13872B62   OFELIA       JOVEN                        CO     33042230138
9468212435B383   ANGELICA     WATSON                       OR     90004511243
9468266165B565   MORALES      ROCHELLE                     NM     90009536616
9468276542B268   MICHAEL      HOLLINS                      DC     90011217654
94683276772B56   JEFFREY      HEIEN                        CO     33067662767
9468393238B191   TRAVIS       WARNER                       UT     90012449323
9468475535B548   STACY        CANDELARIA                   NM     90005507553
9468485A872B56   ELIZABETH    PALACIOS                     CO     90013208508
94684A35141296   DANYELL      MOORE                        PA     90014210351
946853A8671945   JENNIFER     TIERNEY                      CO     90007933086
94685A1745B548   JESUS        LOPEZ                        NM     90013620174
9468646538B152   DREW         ARNOLD                       UT     31050424653
94686868A71945   LEAH         RODARTE                      CO     90009238680
946871A844B554   ANNIE        BLAIR                        OK     90013871084
94687212172B32   JULIAN       MALDONADO                    CO     90008852121
94687257A72B42   JACQUELINE   ROSS                         CO     33002302570
9468736648B149   GONZALO      TORRES                       UT     90014363664
9468757162B84B   ERIK         HAWS                         ID     42042345716
9468766957B444   APRIL        REED                         NC     90013136695
9468824234B588   CRISTY       ALATORRE                     OK     90013932423
9468887288B152   ROSEMARY     LIVESEY                      UT     90013468728
94689A86A5B334   DOROTHY      BOLLS                        OR     90006420860
9468B18854B588   ALEJANDRO    MORALES                      OK     90002731885
9468B26568595B   GARRETT      RECTOR                       KY     90010862656
9468B619A31476   MARRY        HARRIS                       MO     90003876190
9469154274B554   SHARON       EATON                        OK     90011705427
94691834372B22   OSCAR        GARCIA                       CO     90012758343
94691855572B3B   DAVID        CHACON                       CO     90003708555
94691A98491951   SONIA        AYALA                        NC     90010680984
94692645572B32   PAUL         DIGRADO                      CO     90014376455
9469272434B29B   MERCEDES     REIMAN                       NE     90002917243
9469277574B554   ESTEFANIA    AVILA                        OK     90014087757
9469283194B588   WADE         ROLLINS                      OK     21512518319
9469373324B566   HECTOR       RAMIREZ                      OK     90010027332
9469436972B256   DANIEL       MARTU                        DC     90006233697
9469531714B554   KIMBERLY     WHITEBIRD                    OK     21558013171
9469536972B256   DANIEL       MARTU                        DC     90006233697
9469586185B531   JOYCE        SANCHEZ                      NM     35036798618
9469678837323B   ILSA         ABREU                        NJ     90015367883
94696834472B62   ALEXUS       GARCIA                       CO     90007918344
9469695244B554   DIANE        WOODWARD                     OK     90011899524
9469724284B588   JULIO        ALVARADO                     OK     90013932428
94697288272B62   CHRISTINA    ORTIZ                        CO     90009892882
9469729388B175   CINDY        BROWN                        UT     90006772938
946975A3454197   NCHOLAS      HARVEY                       OR     90008365034
94697A8375B565   APRIL        MAESE                        NM     35041230837
946982A6972B62   RAUL         VILLASENOR                   CO     90013732069
94698926872B22   JENNIFER     TRUJILLO                     CO     90013089268
94699738272B42   VANESSA      PEREZ                        CO     33092477382
9469B65124B588   MIGUEL       CARDOZA                      OK     90002126512
9469B74977B444   REYINALD     TRUESDALE                    NC     11031057497
9469B762361951   ALMA         VALDEZPIEDRA                 CA     90007197623
946B111414B588   LOGAN        LOUDENSLAGER                 OK     90013931141
946B169392B26B   FREDEN       AGULIAR                      DC     90004706939
946B1788A55951   YOLANDA      ZEREGA                       CA     90003957880
946B187A35B548   DIANA D      FLORES                       NM     90002928703
946B194A58B175   ANNE         DICKEY                       UT     90014779405
946B196128B175   CYDNEY       BEIGHTOL                     UT     90011859612
946B218748B175   ANGELA       GALLEGOS                     UT     90013831874
946B2279772B56   CHRIS        ULLERY II                    CO     90012752797
946B2338772B3B   KIANNA       NEGRETE                      CO     90002953387
946B254A35B531   MARGIE       WERBNER                      NM     90014165403
946B285A14B29B   ASHLEY       HORTON                       NE     27019928501
946B2A13591526   ADRIANA      PEREZ                        TX     90011550135
946B2AA623164B   VALERIE      MITCHELL                     KS     22058970062
946B358228436B   JAMES        CARTER                       SC     19099025822
946B3911972B62   JOSE         OLIVEROS OCHOA               CO     33049449119
946B4563171945   MICHAEL      KRNICHAR                     CO     90012185631
946B4643572B56   REGINA       TAFOYA                       CO     90008386435
946B4687293732   JENNIFER     IQBAL                        OH     90004656872
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1694 of 2350


946B4877A55951   THOMAS        CAMP                        CA     90015108770
946B4949197B59   NICK          KING                        CO     90005969491
946B511414B588   LOGAN         LOUDENSLAGER                OK     90013931141
946B542315B383   JOHN F        LEROUX                      OR     90004794231
946B5469172B3B   ELIZABETH     MENDEZ                      CO     33022744691
946B5724871945   KENNETH       FRANCESCHI                  CO     90014757248
946B5767A2B855   THOMAS        CRAWFORD                    ID     90010377670
946B5896372B22   JEFFEREY      BARRIENTOS                  CO     90013088963
946B5923A8B175   SHANE         SMITH                       UT     31057639230
946B592517B393   ANA           MONTES                      VA     81086219251
946B5A1653164B   KAREN         MATHIS                      KS     22088030165
946B6164391951   VICTOR        MOSQUEDA                    NC     90013311643
946B639895B565   TONY          SHWARTZ                     NM     90006263989
946B63A148B149   DELANO        PRIETO                      UT     90013823014
946B644A455963   MARIA         CARMONA                     CA     48078984404
946B646643B133   EMERSON       JIMENEZ                     DC     90004794664
946B64A1155957   JENNIFER      ROBERTSEN                   CA     49036774011
946B6744955951   NICHOLE       MACIAS                      CA     90013977449
946B714224B554   RICHARD       COOKS                       OK     90012781422
946B7361455957   VERNISHA      GREEN                       CA     90012853614
946B74A6372B42   MONICA        GUTIERREZ                   CO     90008154063
946B8116A4B588   FRANCISCO     LARA                        OK     90013931160
946B8341855957   ADRIENNE      CHAFFIN                     CA     90009393418
946B84AA872B42   JAVIER        RAMIREZ                     CO     33019434008
946B8812455967   JUAN          LOPEZ                       CA     90000508124
946B9648772B56   ANGELA        FREYTA                      CO     90008386487
946B97A1472B62   TROY          LUCERO                      CO     33001567014
946BB185361977   ROSA          RUBIO                       CA     90010311853
946BB48A397B59   DREU          LAVELLE                     CO     90012464803
946BB558A9196B   ANNETTE       JACKSON                     NC     17010935580
946BB71757B444   SHIRLENE      MCCULLOUGH                  NC     90012507175
94711386572B42   KENDRA        CLOWER                      CO     33052893865
94711645572B32   PAUL          DIGRADO                     CO     90014376455
947124A828436B   BREANDA       LEVY                        SC     90015094082
94713A96533B38   LECOY         REDIC                       OH     90010390965
9471473A377537   JOSHUA        STUDENT                     NV     90009987303
9471519854B588   NADIA         MARINA                      OK     90011051985
947154A2197B59   FRANCISCO     GONZALEZ                    CO     90008944021
94715AA998B175   CHRISTOPHER   CUNDEY                      UT     90007820099
94716A81A72B42   RODRIGUEZ     LIZBETH                     CO     90008110810
94717339697B59   JERRY         SKILLETT                    CO     90013173396
947179A9A77537   GRISDELY      HERNANDEZ                   NV     43048919090
947182A1861977   BEVERLY       BASSETT                     CA     90010072018
94718336572B32   SOPHIA        HOLLIS                      CO     33077073365
9471845324B554   DENISE        PENN                        OK     90002574532
94718489997B59   ERYN          LEE                         CO     90014854899
9471889698B149   OMAR          SANCHEZ                     UT     31074428969
9471918695B548   MARCELLO      ARAGON                      NM     35092091869
94719239297B59   VIVANNA       MCINTYRE                    CO     90014632392
94719622797B59   MICHAEL       BIGGS                       CO     90011116227
9471B332891399   PATRICIA      NICHOLS                     KS     29008853328
9471B8A4272B62   VICTOR        HOLGUIN                     CO     90013248042
9471B953591554   VICENCIO      ICE                         TX     90006709535
9471BA49391951   ARANZA        LEON                        NC     90013380493
9472111964B949   ROBERT        ANDREWS                     TX     76509921196
94721549372B62   JORGE         GONZALES                    CO     33079545493
9472245833B391   MICHELE       BARNES                      CO     90002314583
9472261315B531   RICHARD       GUTIERREZ                   NM     90006136131
94722736A55963   CHERYL        ROCHA                       CA     90011897360
9472325414B588   SALUD         MANDUJANO                   OK     90013932541
9472425414B588   SALUD         MANDUJANO                   OK     90013932541
947245A454B554   IRVING        WILLAMS                     OK     90013495045
9472472738436B   MICHELLE      RAMBERT                     SC     19032417273
9472546AA55951   LEONEL        SIERRA                      CA     49010554600
94725639A5B531   DENISE        CAYADITTO                   NM     90014166390
94725834672B62   SAMANTHA      FISHER                      CO     90007918346
94725AA4291951   JOSE          IBANEZ                      NC     17067700042
94726439A55957   ARMANDO       TAVAREZ                     CA     90008984390
9472725714B588   GWENDOLYN     SCOTT                       OK     90014152571
94727277672B56   ACENCION      RIVAS                       CO     90010572776
9472741948B149   CATHERINE     BLOOM                       UT     90014434194
9472748214B29B   ALEX          CUTHES                      NE     90002064821
94727773472B32   ANTHONY       CAMPAS                      CO     90013117734
9472788A877537   JUAN          AGUILAR-GARCIA              NV     90009798808
94728111572B3B   MARY          DOUBET                      CO     33015881115
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1695 of 2350


94728724272B56   ANTHONY      LUCERO                       CO     90012117242
9472882A291399   ROBERT       DUTY                         KS     90014338202
9472919738B149   MICHELLE     GARCIA                       UT     31089311973
94729595A4B554   CHARLES      PRESCOTT                     OK     21541385950
94729876372B62   JOSE         MARTINEZ-QUEZADA             CO     90012548763
94729A2615B548   MAYRA        SOUCHET                      NM     90006240261
9472B23728436B   MONTANA      MAHAN                        SC     90014202372
9472B774691526   ANGIE        ALDAY                        NM     90003087746
9472B82424B554   AARON        JOHNSON                      OK     90012788242
9472B933472B22   ANAHI        SANCHEZ                      CO     90013089334
94731147472B42   JESSICA      THOMPSON                     CO     90009981474
9473116555B531   JULIO        DELGADO                      NM     90007861655
9473131845B531   JIMMY        STEPHENS                     NM     35079143184
94731528472B32   GUADALUPE    NAVARRO-CERVATES             CO     33098035284
94732128A5B531   YENISEY      ROCIO                        NM     90012431280
94732613A4B949   JAVIER       RODRIGUEZ                    TX     90001316130
9473263A391599   ALCIA        MARTINEZ                     TX     90014356303
94732A76593755   WILLIAM      OGLESBY                      OH     64515590765
94733A39255957   WELSON       CHANG                        CA     90001200392
9473417434B554   MARIA        GOMEZ                        OK     21591671743
9473451313164B   RACHEL       MARDIS                       KS     90000125131
9473499955B565   BRYANNA      MCGHEE                       NM     90012999995
9473567413164B   CASSANDRA    MANS                         KS     90011986741
9473583178B158   JARED        FORBUSH                      UT     90000948317
94735A3448B175   WESS         ROBERTS                      UT     31097750344
9473632313B394   NATALIE      ELTOH                        CO     90013643231
9473651858B152   MARY BETH    NORTH                        UT     90001545185
9473675855B531   RUSSEL       FRYE                         NM     35035187585
94736899172B56   LUIS         QUINTERO                     CO     90009068991
94736925A72B22   EDUARDO      LOPEZ                        CO     90013789250
94736A78171945   GEORGIA      KANZLER                      CO     90004990781
94737595A4B554   CHARLES      PRESCOTT                     OK     21541385950
9473797375B548   MIREYA       GUERRERO-ALCANTAR            NM     90012939737
9473813A391599   RAMOS        JUAN                         TX     90009541303
94738624A4B29B   STEPHANIE    MATTHEWS                     NE     90004186240
94738A86872B42   PATRICIA     ORTIZ                        CO     33069420868
94739687372B62   MAX          KUSTUMZ                      CO     90001196873
9473972A255957   ROSA         ESPINOZA                     CA     90012137202
9473993283164B   TIJANI       HAMED                        KS     90013959328
94739AAAA6B396   ALAN         REDD                         NH     90013920000
9473B344155957   AMANDA       TALAMANTEZ                   CA     90007853441
9473B464672B3B   RICARDO      CABRERA                      CO     33092994646
9473BA6755B383   SANDRA       IBANEZ                       OR     90012960675
947411A7572B62   ELENOR       GONZALES                     CO     90009341075
9474285158B152   DESTINY      PAYNE                        UT     31083258515
94743238A8B175   MIRANDA      JOSEPH                       UT     90014572380
9474344848B152   BEATRIZ      GODINEZ                      UT     31079594484
9474384948436B   TONYA        SISCO                        SC     90003648494
94743943A81634   STEFANIE     JOHNSON                      MO     90010609430
947443A2197B59   LARRY        WOOD                         CO     39004063021
947446A6555957   PATRICK      SMITH                        CA     49009826065
94744A1745B531   GRACIELA     SANCHEZ-GUILLERMO            NM     90000840174
9474532A955957   JOHN         BERNAL                       CA     49084353209
9474624954B588   JASON        WULFF                        OK     90013032495
94746311897B59   REANA        NEFF                         CO     39045693118
94746474172B62   DOREEN       ABAD                         CO     33089874741
9474717A355957   JOSEFINA     MARAVILLA                    CA     49000621703
9474769A25B34B   BRANDY       GREEN                        OR     44057806902
94747913372B42   KELLY        GARCIA                       CO     33023129133
94747A62572B22   TROY         WARREN                       CO     33004950625
9474946255B548   JORGE        PEDROZA                      NM     90015234625
94749A1495B383   REBECCA      WHITE                        OR     90006590149
94749A3785B548   FRANKIE      MARTINEZ                     NM     90006700378
9474B471772B62   RAUL         ORTIZ                        CO     90001054717
9474B5A4655957   PAULA        MASSEY                       CA     90011195046
9474B687293732   JENNIFER     IQBAL                        OH     90004656872
9474B843255951   MIKE         ROSE                         CA     49040978432
9474B983341258   ANITA        GAJMER                       PA     90010069833
9474BA88A91934   ZAID         HAILE                        NC     90013650880
94751955A8436B   ASANTE       KING                         SC     90013069550
94752371572B42   ANDRE        MAURICE LYONS                CO     90008513715
9475267538B152   SARA         BOOTH                        UT     90008946753
947526A2191399   ELVIA        JACOBO                       KS     90013026021
9475287A55B548   JUSTIN       HALL                         NM     90008638705
9475327963164B   YECENIA      HERNANDEZ                    KS     90015232796
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1696 of 2350


94753922997B59   RACHELL        MELENDEZ                   CO     90011119229
94754464A72B62   JOHN           JONES                      CO     90013534640
94754846472B3B   SIMONE         PLOOSTER                   CO     33013098464
947553A294B588   ROY            KARN                       OK     90013933029
947555A454B554   IRVING         WILLAMS                    OK     90013495045
94755887772B3B   DAWN           JOHNSON                    CO     90012748877
9475589A855963   KARLA          SANCHEZ                    CA     48051278908
94755A53471945   ALBIE          DAMM                       CO     90014930534
94756127672B56   LINDA          IBARRA                     CO     33096751276
94757347A97B59   REANNA         PRINGLE                    CO     90013623470
9475737284B588   TONY           SEBREE                     OK     90005503728
9475741599376B   HERBIC         HINES                      OH     90003894159
9475753837B444   MARIA TERESA   CHAVEZ BERNAL              NC     90014105383
94757656972B42   ROSENDA        CARDENAS                   CO     33085176569
94758367A72B22   DIONISIO       REYES                      CO     33086083670
9475863658B352   JOHNNY         STEVENS                    SC     90014096365
9475B17864B588   ARNULFO        CANO                       OK     90015201786
9475B4A958436B   PEDRO          ROSPIGLIOSI                SC     19033644095
9475B58945B565   JUAQUIN        ARGUELLO                   NM     35041925894
9475B66655B383   KURTIS         HENDRICKS                  OR     90010636665
9475B825472B22   JASMINE        GUSS                       CO     90010048254
9476138715B531   SANDRA         BUSTILLOS                  NM     90012953871
9476144A191599   LIDIA          ADAME                      TX     90014704401
94762415897B59   JACOB          BUNS                       CO     90002694158
94762695872B56   PHILLIP        YANG                       CO     90014966958
94762A59561941   CYNTHIA        RODRIGUEZ                  CA     90008190595
94762A86191951   SONIA          AYALA                      NC     90010500861
9476393418436B   MAURILIA       TERAN                      SC     90005479341
94763938472B32   LAUREN         BARAJAS                    CO     90011309384
9476422584B588   EVA            SMITH                      OK     21580952258
947642A2272B42   JAIRO          REYES                      CO     90015162022
94764424772B22   LISA           CHAVEZ                     CO     90002164247
9476442868436B   JULIUS         MYERS                      SC     90014004286
9476444277B444   CHA            VANG                       NC     90010704427
9476544444B588   DANIEL         JOB                        OK     90014094444
94765833372B62   EUNICE         GUERRA                     CO     90011498333
94765957797B59   JASON          STEWART                    CO     39046019577
947661A3872B42   IVAN           VALLEJO-CRUZ               CO     90014591038
9476625735B383   RASHAWNA       LEWIS                      OR     90013702573
947662A295B531   SARAH          BARELA                     NM     90000812029
9476677AA41296   SALOMAN        MORALIS                    PA     90011887700
94767AA224B554   RICHARD        WEBB                       OK     90008100022
9476836993164B   PHELECIA       BERRY                      KS     90011003699
94769355672B22   MARTIN         RUTIAGA                    CO     33020043556
9476946A19376B   JAMES          MEEKS                      OH     90012224601
9476963988B175   MARIBEL        PEREZ                      UT     90010356398
94769742A72B32   DWIGHT         BARNES                     CO     90006817420
94769873672B42   PAIGE          MENZOR                     CO     90004918736
94769A79797B59   NATHANIEL      ZAMUDIO                    CO     90004190797
9476B215172B22   CESAR          TORRES                     CO     33074632151
9476B31275B531   MALACHI        BURSON                     NM     90012403127
9476B37345B383   MOHAMMED       GHAZAWI                    OR     90011333734
9476B483961977   CAMERON        MUTTER                     CA     46011094839
9476B48765B531   MARIA          RIOS                       NM     35098824876
9476B515693755   TERRI          DAILEY                     OH     90007955156
9476B743A72B3B   KAY            WASHBURN                   CO     90000217430
9476BA7AA8B149   RYAN JACOB     CROSTON                    UT     90011650700
947716A6272B3B   ROGER          GERMAIN                    CO     90008516062
9477172254B588   BEAUJON        LUNA                       OK     90010517225
9477193787B444   ANA            RANGEL                     NC     90002479378
94771AA7972B56   JOSE R         CASTREJON                  CO     90001810079
94772959872B22   JOHNNY         RODRIGUEZ                  CO     90013089598
9477385262B229   LAJUAN         CLARK                      DC     90004608526
9477395815B531   BEVERLY        MARTINEZ                   NM     35085499581
9477413328B175   CHRISTOPHER    LEWIS                      UT     90014161332
94774A1535B383   TREVOR         THOMPSON                   OR     44561170153
9477519274B554   JOSHUA         WRIGHT                     OK     90011851927
9477556828436B   FACUNDO        CUEVAS GARCIA              SC     90015145682
94775659272B32   MIGUEL         DELGADILLO                 CO     90002026592
9477581275B248   TIARRA         MCCONICO                   KY     90015218127
94775A3994B588   SHERRIE        JONSON                     OK     90014320399
947764A5551337   MERCEDES       CRAIG                      OH     90010294055
9477712737B458   CAROLYN        POWELL                     NC     90002721273
9477746538B152   DREW           ARNOLD                     UT     31050424653
94777927797B59   ASHLEY         CRESPIN                    CO     90012999277
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1697 of 2350


9477858698B175   LACY            FULTON                    UT     90013905869
9477898374B588   ANGELICA        SANCHEZ                   OK     90010319837
9477949A855963   ANOTNIO         ARELLANO                  CA     90015144908
9477B388297B59   MELISSA         RAY                       CO     90012703882
9477B848841296   JOHN            LEARY                     PA     51014108488
9477B93385B383   MARIA           LAGUNA PEREZ              OR     90012199338
9477B988272B3B   MANUEL          TAYLOR                    CO     33077549882
9478182885B548   LETICIA         GONZALEZ                  NM     90012428288
94782182172B42   MARIA           OLIVIA-DEENOK             CO     33084461821
9478225825B548   STEVEN          VALDEZ                    NM     90008042582
947824A1872B22   MARIA           VIRGINA                   CO     90004974018
94782A4993B369   RICHARD         COZZETTE                  CO     33081070499
94782AA3472B3B   PHILLIP         WRIGHT                    CO     33067890034
9478349618436B   RAYMOND         MARANO                    SC     19071574961
9478352AA55957   LASHAWN         TONEY                     CA     49010725200
947838A4272B22   MADELINE        LOPEZ                     CO     90015208042
94783925A91399   CESAREA         QUINONES                  KS     90012679250
94783A63491399   AHMED           MOHAMED                   KS     90014160634
9478422288436B   CASEY           FOSTER                    SC     90011082228
9478423614B554   MISHA           PRICE                     OK     90011712361
94784495872B98   JENNIFER        BAJOVICH                  CO     90010314958
94784612A72B42   ARLEEN          AMAES                     CO     33040876120
94785126772B42   SARAHI          ALVARADO                  CO     90015191267
94785771972B62   SARAH           MESTER                    CO     33026347719
947859AA172B32   JAMES           CLAY                      CO     90013679001
947861A6244B31   TIM             KIRBY                     OH     90014271062
94786843972B42   NOELLE          NOEL                      CO     90013058439
9478729848B152   KELLY           WOOD                      UT     31000332984
9478784478B175   ANGEL           EPIFANIO                  UT     31047608447
94788437472B3B   MANUEL          VASQUEZ                   CO     90000694374
94788543872B56   ROMAN           LIRA                      CO     33042375438
9478869A391599   KARINA          NAVA                      TX     90014666903
94788769372B62   CELESTE         SANCHEZ                   CO     33014927693
9478B182A4B949   DORA            REYNOLD                   TX     90006081820
9478B192761979   STEVE           THOMAS                    CA     90005681927
9478B73738B149   KURT            NIXON                     UT     90012207373
9478B73772B676   SCOTT           MOHR                      WA     90015457377
94791282A8B175   MOLEN           GONSALVES                 UT     31026432820
9479168498B152   MARIA           RAMIREZ                   UT     31095806849
94792112972B62   VENEIGH         HOWARD                    CO     90013071129
9479235484B554   JOHNNIE         BALL                      OK     90000573548
9479281145B126   ASHLEY          BLACK                     AR     90005888114
9479282AA55951   RUSSELL JAMES   STARK                     CA     90002308200
94792A26791399   AYANA           DAVISON                   KS     90014810267
9479313A755963   JUAN CARLOS     CIPRIAN                   CA     90004061307
9479355A541296   CONSTANCE       ZYGULA                    PA     51080985505
9479363417B444   ALESIAH         GORDON                    NC     90014586341
9479367A172B22   JEANNE          MONDRUS ACCT PROD         CO     90014706701
9479398984B554   BREYON          THOMAS                    OK     90011709898
94794434A71945   WILSON          CHELSEA                   CO     32006144340
9479497A197B59   CESAR           CAUDILLO                  CO     39098799701
94794AA233852B   ARNOLD          MEYERRIECKS               UT     90012310023
9479564337B444   FELIPE          LOZANO                    NC     90014586433
9479582148436B   STEPHINE        JOHNSON                   SC     90008848214
947962A215B394   MARK            GARDNER                   OR     44012312021
94796345927B83   CHLOE           MOSS                      KY     90010443459
947963AA872B3B   MONICA          CORONEL                   CO     90012543008
947966A154B29B   DENISE          WYNNE                     NE     90009046015
94797531972B62   JASMINE         FLORES                    CO     33068755319
9479766545B526   MARGIE          PADILLA                   NM     90007736654
94797AA728B175   ALBERT          PAYNE                     UT     90012010072
94798316A97B38   ERIC            MASTERS                   CO     90008943160
94798352A93732   KIMBERLEY       FULTZ                     OH     90005693520
94798413572B56   TOMAS           HERNANDEZ                 CO     33096754135
94798732372B3B   RAMON           SOLEDAD                   CO     33000957323
9479897855B565   JOSHUA          CHAVEZ                    NM     35041289785
947992A1372B62   JOSE            MARTINEZ                  CO     33092952013
94799384A5B548   STEVE           ROMERO                    NM     35007883840
9479973A25B243   STACEY          SHIVELY                   KY     90003117302
94799A11277537   SABENO          MARQUEZ                   NV     90013380112
9479B744A61977   IVANA           ALCARAZ                   CA     90012007440
9479B841855963   ALEJANDRA       CARREON                   CA     90010918418
9479B89AA72B29   LORI            KRUPSKE                   CO     33029178900
9479B98544B554   SHIRLEY         MOSER                     OK     90011709854
9479B98723164B   JOANNA          STEWART                   KS     90008889872
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1698 of 2350


9479BA5815B548   VIOLA            MADRID                   NM     35098480581
947B2283755963   DELIA            MINSCH                   CA     48016772837
947B2388672B42   LUIS             GAMEZ                    CO     33061903886
947B2745697B59   DAWN             SUSZKA                   CO     39000967456
947B384435B383   KRISTOPHER       RESUE                    OR     90014718443
947B3A54241263   PAMELA           FARRIER                  PA     90011150542
947B3A78572B62   VALERIE          COMES                    CO     90011600785
947B4164961977   ADRIAN           GONZALEZ                 CA     90013781649
947B418897B444   REDGENEL         FORREST                  NC     11094641889
947B4266993755   KENNETH          STONE                    OH     90003742669
947B4789672B22   MARIA            GOMEZ -PECH              CO     33039587896
947B5174472B62   SHAWN            DICKINSON                CO     90014001744
947B5423391599   MARGIE           GARCIA                   TX     75053664233
947B5746772B42   HUGO             CASTRO                   CO     90015127467
947B5778A5B548   LUPITA           VALENCIA                 NM     90014837780
947B5834872B42   KATHLEEN         RIVERA-RIOS              CO     90013058348
947B621A25B531   VANNESSA         RUELAS                   NM     90014462102
947B63A8372B22   JAMES            DEUTSCH                  CO     90013533083
947B6418655963   BELEN            ESPINOZA                 CA     90000524186
947B7477397B59   ERNESTO          GAUNA ARISPE             CO     90004254773
947B8558776B51   SALLY            RINCON                   CA     46072925587
947B864523164B   KENNY            EHRLICH                  KS     22013316452
947B893AA72B22   MICHAEL          HOBLEY                   CO     90013089300
947B8AA774B554   LAVINA           HORNSEBY                 OK     90007240077
947B9124955957   DEANA            PEREZ                    CA     90012801249
947B957443164B   CHRIS            WOOD                     KS     22093375744
947B973AA72B32   ANDREW           BUCKLEY                  CO     90011437300
947B974137B444   LAURA            HAGER                    NC     11031977413
947B99A258B152   LYNNE            SHEPARD                  UT     90009839025
947BB17A441296   AMY              HUFFMAN                  PA     51051421704
947BB1A215B531   GLORIA           CANEDO                   NM     35029691021
947BB9AA171945   NELSON           SANCHEZ                  CO     90006899001
948111A665B548   EDUARDO          TENA CARRASCO            NM     90012941066
94811419A3164B   LYNN             CLARK                    KS     90014664190
948115A317B444   JOSE             CUEVAS                   NC     11001445031
94811876A4B266   JOHN             OWENS                    NE     27001208760
9481187944B588   MATTHEW          WAGNER                   OK     90011828794
94812895497B59   MARY             WALTERS                  CO     90012698954
948132AA941279   ALLISON          L SADLOWSKI              PA     90005942009
94813445572B56   NADIM            SALEM SHARMIT            CO     90013004455
9481359258436B   JENARIS          WASHINGTON               SC     90005665925
94813637372B42   JAMIE            PIERCE                   CO     33028316373
94813A73655979   ELISABET A       TERRONES                 CA     90002940736
94814489997B59   JANETTE          BANUELOS                 CO     90005354899
9481475358B149   REY              DENSON                   UT     31002267535
9481492992B232   KIM              HOUSEN                   DC     90001689299
9481563945B548   MERCEDES         LOPEZ-WOOTEN             NM     90002446394
9481586134B543   MICKIE           PATTERSON                OK     90011958613
948161A844B954   ARELI            GONZALEZ                 TX     90013111084
9481698A555951   CHRISTINE        PLATAS                   CA     90001569805
9481748218436B   CIJI             HILL                     SC     90001084821
94817A98291599   CARLOS           RODRIGUEZ                TX     90013750982
9481815455597B   VICTOR           GARCIA                   CA     90014871545
94818275A8436B   CHERLONDA        SNYDER                   SC     90004862750
9481865A85B378   DIANA            BERGLAND                 OR     44519346508
94818792572B56   DANIELLE RENEE   JOHNSON                  CO     90011197925
94818849272B42   ORLANDO          GARCIA                   CO     90013058492
9481933A68B149   JOHN             GARVIN                   UT     31022153306
9481B17165B531   JOE              VARGAS                   NM     90002861716
9481B311961977   TERESA           SMITH                    CA     46089543119
9481B382372B3B   JOSE             CANALES                  CO     33067783823
9481B847972B42   KIRK             ULIBERRI                 CO     90013058479
9481B899172B56   LUIS             QUINTERO                 CO     90009068991
9481B969772B22   NY               CHUCK                    CO     90013089697
94821226472B62   MARTHA           MARTINEZ                 CO     33051072264
9482136735B531   VALENE           SANCHEZ                  NM     90014703673
94821542A71945   BRANDON          BRYANT                   CO     90012975420
9482161495B344   ANA              SHERBAHN                 OR     90000936149
94822225172B3B   ADRIAN           FRAIRE                   CO     90012562251
94822719A61977   JOE              FRANKLIN                 CA     90011137190
948239A7397B59   LUISA            GARCIA                   CO     39078179073
94825941A72B22   MARIANNE         SMITH                    CO     90001119410
9482598748B149   DAVID            MORGAN                   UT     90010439874
948268A5186435   LARRY            RANDOLPH                 SC     90014928051
9482711985B548   FRANCHESCA       CRUZ                     NM     90012941198
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1699 of 2350


94827584272B22   RICHARD        MORGAN                     CO     90005985842
948278A3772B56   JOHNY          RAMIREZ                    CO     33096618037
94828721A8436B   DERRELL        JOSHUA                     SC     90014757210
94828956A71945   DUANE          MARTINEZ                   CO     32016139560
94829442972B22   LEE            HILES                      CO     33007884429
94829453572B3B   MICHAEL        MERCURE                    CO     90014504535
94829A59A91862   NIKKI          HALL                       OK     90007660590
9482B689672B3B   HOLLY          MEYER                      CO     33086116896
9482B891672B22   KUSONDRA       ABEYTA                     CO     33092718916
9483115248436B   REGINALD       WALTHOUR                   SC     90014621524
9483137345B383   MOHAMMED       GHAZAWI                    OR     90011333734
94831968897B59   STEPHANIE      WEARNE                     CO     90013839688
94832279A72B32   JUAN           GONSALEZ                   CO     90013852790
94832326A61977   PATRICIA       ANAYA                      CA     46015683260
94832643272B22   GLENN          THOMAS                     CO     90009036432
94832A7A593732   ALLYSA         STORE                      OH     90003350705
94832A82991399   KARRIS         JONES                      KS     29011110829
9483347A972B42   CHRISTIAN      MARMOLEJO                  CO     90015064709
94833514A72B62   JOSEJUAN       NANGUSE                    CO     90000155140
9483498854B588   JESUS          ESTRADA                    OK     90011829885
9483529478B347   JOSE ALFREDO   RODRIGUEZ RODRIGUEZ        SC     90015362947
94835489A72B3B   ELFEGO         HERNANDEZ                  CO     33035964890
9483549298B175   RAN            BASNET                     UT     90010194929
9483597AA55957   JOSE           ALMANZA                    CA     49017019700
94835A2217B444   JOAQUIN        SOLIS                      NC     11062250221
94835A64172B62   MARIA          MARTINEZ                   CO     90004340641
94836191997B59   BASILIO        ABITIA                     CO     39023541919
94836714672B56   JOSE           QUINONES                   CO     90014967146
94836816A4B588   JOHNNY         BONILLA                    OK     90000498160
94836896198B23   ANTONIO        CASTILLO                   NC     90012558961
948381A618436B   CURTIS         CALVARY                    SC     90013891061
94838311A3B322   GLORIA         SANCHEZ                    CO     90005793110
9483833798B352   CARLOS         DOMINGUEZ                  SC     90015443379
94838385797B59   PAUL           GONZALES                   CO     90009443857
948386A187B444   COLOMBE        OSSIHOU                    NC     90000276018
94838A3A891882   EDGARDO        ALVARADO                   OK     21063290308
94839519172B62   CHRIS          HOSKIE                     CO     90001445191
94839842A72B42   SABRINA        LUCERO                     CO     90014638420
94839931872B22   ELI            SCHRADER                   CO     90011009318
94839931A91599   ISRAEL         ESPINOZA                   TX     90002539310
94841847672B84   MICHELLE       REINHARDT                  CO     90010748476
94841972A72B22   JORDAN         DILLON                     CO     90013089720
9484217A78B152   MARIA          RODRIGUEZ                  UT     31018381707
9484259314B949   CARLOS         COSS                       TX     90000925931
94843747797B59   JOYE           HOFF                       CO     39074877477
9484387898B149   JEREMY         GORMAN                     UT     31034848789
94844517A71945   JAMIE          WILLHITE                   CO     90003595170
94845131572B42   MEGAN          FROST                      CO     90013061315
9484522288436B   CASEY          FOSTER                     SC     90011082228
94845868672B56   LAURA          PENALOZA                   CO     33083358686
948458A5141296   BARBARA        ROBERTS                    PA     90010418051
94845A14872B32   LIBNI          GUZMAN                     CO     33093110148
948469AA671945   ANNA           MONTOYA                    CO     90012949006
9484825617248B   MICHAEL        HANEY                      PA     51001422561
948484A5272B56   JOHN           BOWEN                      CO     33084274052
9484872192B869   BRITTNEY       WEBB                       ID     90000827219
94849148872B42   ROBERT         EGLE                       CO     33077001488
94849153A81634   RACHEL         NEVELES                    MO     90008501530
94849728A61977   DIANA          AMAYA                      CA     90014497280
948497AA57B444   CHRISTINE      BURRAGE                    NC     11006957005
94849A96491599   LILIANA        SILVA                      NM     75046500964
9484B24875B531   JUAN           VASQUEZ                    NM     90002442487
9484B28494B269   JEREMY         SHARP                      NE     26081212849
9484B439872B32   JUAN           LOPEZ                      CO     90008194398
9484B495377537   ADELA          CASTILLO-DEALVAREZ         NV     43092494953
9484B586A5B524   MACRINA        HERRERA-IBARRA             NM     35044355860
9484B635493755   MICHAEL        MILLER                     OH     90013636354
9484B923472B56   JASMINE        LEESEKAMP                  CO     33096759234
94851239472B32   MANUEL         MARTINEZ                   CO     33087032394
9485177845B26B   PAUL           DOUGLAS JR                 KY     68004267784
9485194818B149   JYNA           PATRICK                    UT     90009219481
948528A5597B59   CHEYVE         PEREZ                      CO     90005388055
948532AA68436B   GABRIEL        MORALES                    SC     90014592006
9485362138B149   KHENDRA        FENTON                     UT     90003766213
94853666772B56   NICOLE         CARRANZA                   CO     90011556667
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1700 of 2350


94853A26751325   KAREN          WEBSTER                    OH     90012900267
9485454938B152   MARCELLINA     WISEMAN                    UT     31009895493
94854A17357128   QUETISHA       HENDERSON                  VA     90004730173
94855577472B62   JENNIFER       MORRISSETTE                CO     90015295774
948555A788436B   PRIL           HENNING                    SC     90013535078
94856239A55963   ADRIAN         SOLIZ                      CA     90004022390
9485624298B149   ERICA          ZIMMER                     UT     90014192429
9485682315B531   ANTONIO        GARNICA                    NM     90011958231
94857978172B22   NATHANIEL      GORMAN                     CO     90013089781
94857A74A71945   CHRISTINE      GARCIA                     CO     32098460740
94858537772B3B   SUNSHINE       PRICE                      CO     33053095377
9485864625B531   ODELIA         GONZALES                   NM     35057286462
94858923A77537   STEVEN         KLINE                      NV     90014239230
9485911A277537   THOMAS         WINGE                      NV     90015201102
948591A7A61977   MONICA         BARAJAS                    CA     90006741070
9485941717B444   JOSE DOLOREZ   LOPEZ                      NC     90011114171
94859451A4B554   TERESA         JOHNSON                    OK     90014644510
9485948277B386   MARIO          CAYHULLA                   VA     81093904827
9485949915B383   SHANE          THOMAS                     OR     90014824991
94859821772B32   DOROTEA        PEREZ                      CO     33001498217
94859975172B32   DORETEA        PEREZ SANCHEZ              CO     90012329751
9485B245A91599   MICHAEL        NAJERA                     TX     90012952450
9485B3A2855963   CONNIE         AGUILAR                    CA     90014363028
9485B441555951   ISRAEL         GARCIA                     CA     49055394415
9485B712391974   SEIFU          BABOTA                     NC     90006377123
9485B889355957   GABRIELA       MARTINEZ                   CA     90002158893
948617A7672B56   TRANSITO       LOPEZ                      CO     90001497076
94861A5778B149   JULIA          MCKINNIS                   UT     90013130577
94861AA965B383   SEAN           SHORTRIDGE                 OR     44583270096
94862171172B62   ROBERTA        GUY                        CO     33061831711
94862A83157143   JOSE           HERNANDEZ                  VA     90008890831
9486326668B149   KATHLEEN       BLOMBERGH                  UT     31091592666
9486332823B382   JULIET         NILPRABHASSORN             CO     90001533282
9486345915B565   ROBIN          MEDINA                     NM     35074184591
9486419A193755   JENNIFER       FULLER                     OH     64564671901
9486426A691399   ERNEST         THOMAS                     KS     90014822606
9486471292B524   ANDRES         SANTIAGO                   AL     90013897129
9486529215B565   KEVIN          STONE                      NM     35017982921
9486549254B588   ROCHELLE       GRAVES                     OK     90013934925
9486598A85B531   JOSE           HERNANDEZ                  NM     90001519808
94865A2878B149   MELISSA        BALLINGHAM                 UT     31041150287
9486688818B175   QUANNAH        ZAHONY                     UT     90014438881
94867489672B3B   GLORIA         MENDOZA                    CO     90014874896
94867921A4B949   ANITTA         SEMIEN                     TX     90010659210
94867975897B59   JUAN           MADRID-REYES               CO     90014309758
948679A495B548   ALICIA         LOPEZ                      NM     90014339049
9486826375B383   VINCENT        YANNELLO                   OR     90009662637
948683A1691399   FELIX          VIDARTE                    KS     90013003016
948684A332B958   MARICRUZ       REYES                      CA     90013654033
94869A79372B32   MARISOL        ROJAS                      CO     90010150793
9486B43884B949   JANISHA        JOHNSON                    TX     76598384388
9486B86588B175   VICTOR         VILLANUEVA                 UT     90000868658
9486B894241296   DANA           ETHRIDGE                   PA     51091988942
94871793297B59   KEVIN          HALL                       CO     90013527932
94871797A8B149   JUSTIN         BRANDRETH                  UT     90012817970
94872114172B62   ELIZABETH      MOLINA                     CO     90012961141
9487251623B331   NANCY          OWENS                      CO     90007405162
94872782672B3B   JUANIA         MANCHEGO                   CO     33066147826
9487284A341296   JAZMINE        SMALLS                     PA     90014378403
9487298838436B   STACEY         DUKE                       SC     90014399883
9487313815B531   MICHAEL        WYLIE                      NM     90010481381
9487341918B149   DOMINICK       BLESSANT                   UT     31080704191
9487386A172B22   DEBBIE         ARNOLD                     CO     33080508601
9487397454B588   BRYAN          MYERS                      OK     90014439745
9487457389136B   MARCO          LOPEZ                      KS     90013265738
948745A4672B42   JOSE MANUEL    JIMENEZ ZENON              CO     90011515046
9487518A58B149   JUSTIN         JAQUES                     UT     31097001805
9487529698B152   JIM            RAE                        UT     90011612969
9487565314B554   MARTY          CLEMENTS                   OK     21574976531
9487568143164B   RONNIE         TROY                       KS     22076936814
948763A624B554   GARY           MARVIN                     OK     90001473062
94876783172B62   JAVIER         IBARRA                     CO     33042967831
94876877A4B588   SUSANNE        STEVENSON                  OK     90010998770
948768A7372B42   SILVIA         VILLAGOMEZ                 CO     33062428073
9487711A472B22   LYLE           EAST                       CO     33001211104
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1701 of 2350


9487722814B588   ALLEN        RESENDIZ                     OK     90011832281
94877A68A72B42   MASON        LEWIS                        CO     90010790680
9487845485B537   SEAN         BROTHERS                     NM     35057774548
9487877655B548   ESPERANZA    HERNANDEZ                    NM     90014427765
94878AA1961977   JOSE         MANCILLA                     CA     90004150019
948791A7141296   CLAIRE       COULSON                      PA     51031541071
9487938895B548   CHARLES      MONTANO                      NM     35064793889
9487944567B444   LARRY        STIWE                        NC     90004494456
94879599997B59   MARIA        ESPARZA                      CO     39044875999
948796A278B149   WILSON       JUSTIN                       UT     90007416027
9487973547B358   LUCY         GAID                         VA     90011617354
9487B197755963   CRISOL       YANEZ                        CA     90014021977
9487B79A15B565   GUADALUPE    GAMBOA                       NM     35062307901
948812A5291882   ROSA         BECERRA                      OK     21014902052
94881592972B3B   AARON        WHITLEY                      CO     90012615929
948815A7491599   BIANCA       SANCHEZ                      TX     90013125074
94881915A72B32   KATHY        HAUCK                        CO     33063109150
94882527A5B34B   WILLIAM      ELDRIDGE                     OR     90003075270
9488373515B531   PATRICIO     RAMIREZ                      NM     35037257351
94883756897B59   JOSE LUIS    SOLIS                        CO     90013717568
94883A1968436B   TRAVIS       ROBINSON                     SC     90014700196
9488426373363B   VICTORIA     CRUZ                         NC     90013532637
9488652124B588   KENYA        TURLEY                       OK     90013935212
9488652525B525   BAILEIGH     MCCONNELL                    NM     90005995252
94886719672B42   RENAE        DOMINGUEZ                    CO     90011757196
9488698A341296   PAYGO        IVR ACTIVATION               PA     90013839803
94887536872B32   JUNE         MARTINEZ                     CO     33003045368
9488759643164B   DIANA        WASHINGTON                   KS     22035005964
9488779A44B949   LETICIA      MEDINA                       TX     76555627904
9488818A991882   MICHAEL      SCOTT                        OK     21095571809
94888786A72B22   TOMAS        MARTINEZ                     CO     90009877860
948889A275B383   BRIAN        JAMES                        OR     44568019027
9488929754B588   JOHNATHAN    PUGH                         OK     90011832975
94889616197B59   ALEJANDRO    GOMEZ                        CO     39098456161
9488B251A4B949   GEOVANNY     POVON                        TX     90003722510
9488B373972B57   KARINA       ROMERO                       CO     90007163739
9488B38A75B565   DOMINGUEZ    GONZALO                      NM     35005603807
9488B76518B149   DIEGO        PARDO                        UT     31084767651
94891988872B22   LARRY        HALE                         CO     90011399888
94891A8934B588   ANTHONY      WARD                         OK     21591410893
94891AA4A55963   MADALYNN     MAKEKAU                      CA     48048990040
94892676872B62   RACHEL       CARDOSO                      CO     90014446768
948929AA33164B   GAY          BRYANT                       KS     90006959003
94892A69372B32   ELIZABETH    SESSION                      CO     90015330693
94893153597B59   CASEY        SPEAKER                      CO     90007271535
94893755A3164B   JUSTIN       DRAKE                        KS     90012627550
94894224A72B56   MEDIA        MUNDY                        CO     33035132240
9489445828B152   AMBER        ELMER                        UT     31087494582
94894787133B51   CHUNCEY      COLEMAN                      OH     90014377871
9489499A672B22   TONI MARIE   GALLEGOS                     CO     90013089906
94894A9174B949   MATIAS       BERROSPEZ                    TX     90008730917
948952A775B548   V.           CHAVEZ                       NM     35072692077
9489591515B531   BERNARDO     ULLOA                        NM     35004609151
9489628678B149   MARTHA       COPELAND                     UT     31082052867
94896442597B59   EMILIA       GOMEZ                        CO     90007654425
9489749668B152   YADIRA       GONZALEZ                     UT     31060204966
94897733A4B554   CAMERON      PURL                         OK     90013157330
9489793A18B149   LAYNIE       JORGENSEN                    UT     90011989301
94897993472B22   CHRISTINA    CORDOVA                      CO     90013089934
9489891A13B394   JAMIE        DAGGETT                      CO     33056629101
94899236A8436B   KATRINA      BUMGARNER                    SC     90011082360
9489945314B588   CECILIA      MORALES                      OK     90012964531
94899686A97B59   ANNETTE      FLORES                       CO     90001816860
9489973434B29B   SHALENA      KENNEDY                      NE     90005317343
9489B13254B554   DALE         BRUCH                        OK     90013621325
9489B135655951   LAURA        ESPINOAZA                    CA     90009261356
9489B142772B62   MARY         CASTRO                       CO     90003511427
9489B42468B149   DAMON        DALTON                       UT     90012824246
9489B478171945   JAMIE        GIESING                      CO     32049744781
9489B529A72B32   MARIA        MENDOZA                      CO     90015105290
9489BA75681634   NEOLIA       LEMUS                        MO     29037500756
948B1139191399   CIRILO       PALMA                        KS     90004451391
948B127A23164B   ACACIA       SINGLETON                    KS     90014402702
948B1585955951   JOSE         ALVARADO                     CA     49018075859
948B223778B149   CLAUDIA      BALDWIN                      UT     31095922377
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1702 of 2350


948B2413572B56   TOMAS          HERNANDEZ                  CO     33096754135
948B295513368B   LESLIE         MCKENZIC                   NC     90009759551
948B2A8163164B   ERIC           CROOKS                     KS     22011260816
948B3626872B42   SARA           HOCKHALTER                 CO     90014826268
948B3828461979   REBECA         AVALOS                     CA     90011698284
948B41A7172B62   SILIVIA        ESPINOZA                   CO     90003241071
948B4299655957   IVAN           SANCHEZ                    CA     90013642996
948B456A572B3B   DANIEL         GARCIA                     CO     33021185605
948B4575372B32   KEVIN          DAVY                       CO     90013545753
948B464518B152   JOSHUA         JORGENSON                  UT     31071336451
948B528A95B548   BILLY          HUCKINS                    NM     90015162809
948B537284B588   GRACIELA       CUETO                      OK     90013933728
948B5699772B32   INIGUEZ        EFRIAN NAVARRO             CO     33012826997
948B57A655B531   CHARLES        MACDERMOTT                 NM     90014167065
948B5A31961977   AMALIA         ZARAGOZA                   CA     46013550319
948B6152672B32   SHAWNA         SKIPWITH                   CO     33044751526
948B6157672B22   GENESIS        LUIS HERNANDEZ             CO     90014731576
948B638734B949   JOHNETTA       PINKSTON                   TX     76562793873
948B657518436B   SARAH          BLUE                       SC     19012225751
948B661378B149   SHERAY         GARNER                     UT     31098836137
948B7638A4B588   AMANDA         WOOD                       OK     90014816380
948B7875172B32   JEFF           HURTADO                    CO     90002818751
948B788AA72B3B   AMANDA         MEDINA                     CO     33063908800
948B7A54791599   CRUZ           GALLEGOS                   TX     90004020547
948B8182872B56   BRIAN          MIDDLETON                  CO     90014881828
948B8241861979   DUANE          SAWYER                     CA     46091652418
948B824A65B383   MACHELLE       DAWSON                     OR     44509532406
948B839584B588   SANDRA         KELLER                     OK     90008563958
948B866318B152   CASSIDY C      POWELL                     UT     90012316631
948B8844691599   BLANCA         SCHULER                    TX     90015098446
948B9631572B3B   LUIS           GODOY                      CO     90006426315
948B9726897B59   BRENDA         WADSWORTH                  CO     90003507268
948B9A23855951   ANGEL JESSIE   VELASQUEZ                  CA     90012640238
948BB463672B32   STEPHANIE      PEREZ                      CO     90012804636
948BB773393732   ROBERT         BYRD                       OH     64567427733
9491139785B383   ISMAIL         MAILEH                     OR     90004163978
9491152854B554   OMEEKA         COLE                       OK     90011715285
94912238A5B383   NICOLE         HOGQUIST                   OR     44507812380
9491318933164B   CRISTINA       ORNELAS-TOVAR              KS     90004201893
9491367A27B39B   MANUEL         JESUS ROSA                 VA     81098866702
94913833972B32   GABRIEL        LOPEZ                      CO     90012388339
94913841972B22   MICHELE        LAFFERTY                   CO     33009788419
94913841A8436B   WILLIAM        GASTON                     SC     90008968410
949139A248B152   CHRISTINA      WINBERG                    UT     90008009024
94914AA9A72B22   TASHA          LOZANO                     CO     90013090090
949151A7741288   JUSTIN         OGROSKY                    PA     90006631077
9491546158436B   ASHLEY         BROWN                      SC     19040864615
9491631743164B   APRIL          JONES-WILSON               KS     90009193174
9491639213B366   TAMERIA        BAXTER                     CO     33011793921
9491681235B383   AMIR           TAYEFEMOHAJER              OR     90013628123
949176A134B588   CHRITOPHER     CROWLEY                    OK     90013936013
94917954A91599   EVELYN         PORTILLO                   TX     90015219540
94917974A77537   BRANDON        MANCILLLA GOMEZ            NV     90015149740
94917A27455932   VICTORIA       SANCHEZ                    CA     48002180274
949185A3361977   NELLY          PEREZ CHICA                CA     46083315033
9491893875B548   TONYA          MADERO                     NM     90013839387
94919AAA572B22   JESSICA        SELLERS                    CO     90013090005
9491B144741296   DAVID          MCGUIRE                    PA     51048621447
9491B1A648B175   BETSY          CHANDONIA                  UT     31092911064
9491B29624B588   NADIA          WILSON                     OK     90015012962
9491B49A45B383   YOLANDA        CEBEDO-PRADA               OR     90003424904
9491B547861977   JAMES          WILSON                     CA     90009805478
9491B558955963   JUAN           HERNANDEZ                  CA     90011105589
9491B631681634   PAYGO          IVR ACTIVATION             MO     90010616316
9491B738697B59   SAMUEL         CERVANTES                  CO     90015127386
94921194297B59   SILVIA         LOPEZ                      CO     39081541942
94921335A7B34B   DEISY          CABRERA                    VA     90013093350
9492184813164B   MARIA          ESTRADA                    KS     90013348481
949222A2361977   MONIQUE        RUIZ                       CA     46033552023
9492244A197B59   DERRICK        MARCUS                     CO     90014634401
9492266867B444   JOYCE          RAKESTRAW                  NC     90014586686
94923523172B42   SERENA         LAMORIE                    CO     33028085231
9492542938436B   ANNETTE        MUIR                       SC     90013964293
949257AA791599   BLANCA         DAVALOS                    TX     90007337007
94925872697B59   BRADY          MARTIN                     CO     90012698726
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1703 of 2350


94926623A4B554   KIMBLERY         DALRYMPLE                OK     90011716230
9492719124B588   BRANDY           JOHNSON                  OK     90013961912
94927678A72B22   MANUEL           GONZALES                 CO     90013006780
94927778672B42   ROBERT           STEVENS                  CO     90009917786
94927A1955B531   WANDA            MORALES                  NM     90010750195
9492815344B588   JACQUELINE       BALMOI                   OK     90009601534
9492826924B588   BRAD             KEETON                   OK     90013972692
94928478172B42   SHAKIR           ABDULA                   CO     90010334781
9492873148B149   MICHELLE         MORMAN                   UT     90013307314
9492916793164B   LISSA            BOBBITT                  KS     90001441679
949298A5572B56   KC               LAMB                     CO     90011198055
9492B763171945   ERICA            TAFOYA                   CO     32087447631
94931322172B56   TOMMY LEE        JONES                    CO     90010573221
9493146765B531   CHRISTIAN        BUSTAMANTE               NM     90014614676
94931A92A8B169   KRISTIN MAKALE   FRAZIER                  UT     90014730920
9493213AA72B32   JULIANN          TORRES                   CO     90009591300
9493234944B52B   RHONDA           STEVENSON                OK     90010193494
94932678A72B22   MANUEL           GONZALES                 CO     90013006780
94932691A4B588   CAROLINA         REYES                    OK     90009926910
949327A6772B3B   CARLOS           GOMEZ                    CO     33079647067
9493422648B152   ZJANA            HERRING                  UT     31087992264
9493483A94B554   ELLIS            KING                     OK     90014528309
9493587443164B   SHELLY           LEWIS                    KS     90013718744
94935889A72B32   JENNIFER         YOUNG                    CO     90015178890
94935A94372B62   GUADALUPE        TERRAZAS                 CO     90006720943
94936169872B42   JOSEPH           KOLLER                   CO     33007801698
9493726A391399   FLAVIO           SILERIO                  KS     90004932603
949372A2455963   JOSE             OROZCO                   CA     90009432024
9493731A772B32   SANDRA           VIGIL                    CO     90010363107
9493785217B444   KRISHNA          ADHIKARI                 NC     90014588521
94938258472B62   ANA              ONTIVEROS                CO     90012402584
94938584972B42   JALIEIA          COLE                     CO     33038365849
94938623A4B554   KIMBLERY         DALRYMPLE                OK     90011716230
9493867A44B588   DORA             MAZARIEGOS               OK     90013936704
9493871615B383   TAMMY            ICE                      OR     90013137161
9493873285B531   HELEN            HYATT                    NM     90014167328
94938894372B22   JOSE             GARCIA                   CO     33016828943
94939471872B33   ABUBAKARR        BANGURA                  CO     90010204718
9493B22915B531   SHAYNA           ARCHULETA                NM     90012292291
9493B234A5B383   ALILY            LISUA                    OR     90008252340
9493B251555963   DONALD           MORAN                    CA     90002682515
9493B29464B554   DAVID            ROMERO                   OK     90011852946
9493B579591951   NICOLE           TAYBRON                  NC     17030545795
9493B93A172B22   JACOB            ROSEN                    CO     90013789301
94941A92372B62   JESSICA          HOSLER                   CO     33084170923
94942421A93755   THOMAS           THOMPSON                 OH     90012944210
94942625A72B56   ALEX             SANTOVENA                CO     90005506250
94942A66371945   BRITTANY         SUHA                     CO     32075590663
94942A9624B588   TIMOTHY          SMATHERS                 OK     90015140962
9494324A472B56   KIM              MCDONOUGH                CO     90008622404
9494333A955963   GUADALUPE        CHAVEZ                   CA     90011453309
9494369437B444   CHARLISSIA       TEASLEY                  NC     90014596943
9494385317B444   LACINDA          SHIPMAN                  NC     90014588531
94944277A71945   ALLEN            DAVIS                    CO     90013792770
9494433113164B   KILA             RATTLER                  KS     90008793311
94944685A77537   JUSTIN           GAW                      NV     90010616850
94945239A55963   ADRIAN           SOLIZ                    CA     90004022390
949452A7572B42   MYRICK           MYRICK                   CO     90003412075
94945489197B59   SAMANTHA         CARRE                    CO     39039874891
9494559974B588   LOUIS            LISOYO                   OK     21534085997
9494586528B175   JARED            ARRIAGA                  UT     90014918652
94945958872B49   TRUNG            NGO                      CO     90014819588
9494598A23164B   MARCO            RAMIREZ                  KS     90010119802
94945A94772B62   BRICE            RICHARD                  CO     90014990947
9494647218B149   DEBRA            JACKSON                  UT     90009444721
949464A9955957   ASHLEY           SERNA                    CA     90012084099
94947884A72B62   GLORIA           ACOSTA                   CO     90014458840
94948174A91951   TONIEA           SLAUGHTER                NC     90010521740
94948496A71945   ARIEL            SANTIAGO                 CO     90011124960
9494968A197B59   JORGE            MENDEZ                   CO     39015366801
9494B178155963   MONIQUE          RAMIREZ                  CA     90001471781
9494B321591969   CHANDRIA         MYERS                    NC     17056593215
9494B43AA72B22   SARYNA           DIAZ                     CO     90013934300
9494B599872B3B   PLAN             CARRERA                  CO     90012915998
9494B73155B383   JENNIFER         GRASS                    OR     90013177315
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1704 of 2350


9494B82697B43B   KERON          FDDD                       NC     90000638269
9494B978A8B175   KYESIA         FORD                       UT     90012259780
9495115A372B3B   ADRIANA        SANCHEZ                    CO     90002971503
94951645A72B22   ENRIQUE        HERNANDEZ                  CO     90011306450
9495179A755957   JEANNETTE      ANDRADE                    CA     90010417907
94951894672B56   MAYELA         MARTINEZ                   CO     33058378946
9495198124B588   KAYLA          FROST                      OK     90012289812
94951A36A97B59   RONDA          TATON                      CO     90010360360
94951AA5272B62   JUSTIN         VASHSAW                    CO     90013860052
94952438927B88   DIANE          SANDERS                    KY     90011054389
949525A415B548   REBUEN         MARTINEZ                   NM     35084785041
9495265A68436B   JASMINE        MYERS                      SC     90013006506
9495275924B554   MARCELLOUS     HURTE                      OK     90001107592
9495281A35B344   MARGARET       BUTLER                     OR     44538018103
9495283885B531   CARLA          LARA                       NM     90002988388
94953285672B62   CHRISTOPHER    PATTERSON                  CO     90013022856
9495395915B531   JOSHUA         SAVEDRA                    NM     90011929591
9495412A97B33B   MARTIN         QUIROGA                    VA     81089831209
94954771A5B531   NICI           VALLEY                     NM     90014167710
94954969A55963   ERIK           CAMARILLO                  CA     90014279690
949558A2155963   VICTORIA       BONOLLA                    CA     90010458021
94956497872B42   JAMES          CAVALIER                   CO     33078534978
94956816897B59   JOSE EDUARDO   PEREZ-DE JESUS             CO     90009488168
94956827972B56   JOEY           GARCIA                     CO     90013358279
94956A88381634   SHANNON        FOSBERG                    MO     29063760883
9495718445B548   CLARINDA       SALAZAR                    NM     90003721844
9495755A58B149   ANTHONY        EVANS                      UT     31002425505
9495865234B554   SOLEDAD        CERANO                     OK     90013786523
9495871915B565   BELEN          BENCOMO                    NM     35082397191
94958A72993755   STEDMAN        HARRIS                     OH     90012900729
94959435372B42   CEDRICK        VICK                       CO     33058224353
9495971657B475   BRIANNA        GEBREMEDHIN                NC     11023167165
94959AA5372B22   PEDRO          CORTEZ                     CO     90013090053
9495B16A955957   GLORIA         CASTILLO                   CA     90012331609
9495B31455B383   MUDHAFAR       ALKAWAZ                    OR     90012663145
9495B41198B175   CAULIN         RUSSELL                    UT     90010864119
9495B566572B3B   SARIAH         JONES                      CO     90014855665
9495B633A97B59   JOSHUA         RODRIGUEZ                  CO     90011136330
9495B7A9157122   CESAR          CESAR                      VA     90013187091
9495B927472B32   ALICIA         STUTZ                      CO     33086539274
9495B97A991399   NICK           SANTIAGO                   KS     90013239709
949625AA172B42   CHARLES        STUTSMAN                   CO     90009535001
94962A79472B56   DEBBI          GUERRERO                   CO     33050960794
9496384948B149   ROBERT         BOTTOM                     UT     90012988494
94963872572B22   ALVARO         MORALES                    CO     33003968725
9496399A98B152   JOSEPH         CARROLL                    UT     90008669909
9496465A255934   SALVADOR       MEZA                       CA     90011036502
94964669272B22   JOSE           MARIN                      CO     90003816692
949647A524B949   ERICA          RAINEY                     TX     90003397052
949652A1336142   MELINDA        GARZA                      TX     73591502013
94965AA5672B22   ARON           VILLALOBOS ESPINOZA        CO     90013090056
94966393A72B36   EDDIE          BONILLA                    CO     90011293930
94966426A5B383   STEPHANIE      SANCHEZ DEL RIO            OR     90015124260
94966A73691599   CATALINA       CHAVEZ                     TX     90013790736
94966AA598B152   DEBORAH        PULS                       UT     31099550059
9496723225B377   JACOB          WHITT                      OR     90010952322
9496772854B273   QUINCY         BRANDT                     NE     90013837285
94967762672B29   CHRIS          STOCKER                    CO     90006467626
9496778974B554   QAIS           SHEFA                      OK     90011717897
9496793465B548   FUENTES        ANTONIO                    NM     35005929346
94967A87291599   HERNANDEZ      GISELA                     TX     90005670872
94967A9AA41296   JAMES          RUSSEL                     PA     90015320900
9496845A77B392   ELENA          TROCHE                     VA     81095924507
9496884685B548   DAVERI         LECHUGA                    NM     90011728468
9496885447323B   MIGUEL         ALBERTO                    NJ     90015418544
949689A8571945   ARACELI        DEL TORO                   CO     90013799085
9496972728B149   SKYLAR         KOON                       UT     90012307272
9496974448436B   LOPEZ          GARCIA                     SC     90013667444
9496B421655951   RENEE          KREMER                     CA     90013304216
9496B532661977   MATILDE        SOARES DAVIS               CA     90009565326
9497168355B531   ANNA           VALLEJOS                   NM     90001326835
94971796A4B949   LAURA          BOTELLA                    TX     90011507960
9497288A493732   LUCKY          DEDEH                      OH     90013918804
94972A5575B531   MARIO          GRIEGO                     NM     35006630557
94973863A77537   ALAN           JENSEN                     NV     43082758630
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1705 of 2350


949743A1255963   MARRISSA     MARCEYS                      CA     90014583012
94975336472B22   JOEL         RODRIGUEZ                    CO     90013093364
9497552A155963   ALEXANDER    LEON                         CA     48096705201
94975688797B59   ASHLEIGH     MCCARTY                      CO     90014076887
9497582AA4B554   CARLOS       CONTRERAS                    OK     90013268200
949764A6A7B444   JEFFREY      PHIFER                       NC     90014444060
9497671374B588   TYRONS       SIMS                         OK     90013937137
94976854397B59   LEROY        HAYWARD                      CO     39083618543
94976959A41296   TIMMY        PARKER                       PA     51013299590
94977726472B62   MIGUEL       ROBLES                       CO     90014377264
9497782A993755   MISTY        STURGILL                     OH     90005768209
949783A2772B78   RICHARD      COMER                        CO     90013333027
9497992A39153B   LUIS         DELGADO                      TX     75089399203
9497B2A8681634   ADAM         VERSNEL                      MO     90000732086
9497B615A55963   PAYGO        IVR ACTIVATION               CA     90009816150
9497B942893778   AUDREY       MURPHY                       OH     90014279428
9497B98362B24B   DAWN         MOORE                        DC     90008879836
9498178565B531   PATRICK      LOVATO                       NM     90003797856
9498192A991951   DONALD       DORMAN                       NC     90010529209
94981963A3164B   ANTHONY      BROWN                        KS     90005689630
94981998972B56   LAKEISHA     MARTIN                       CO     90014969989
9498236135B531   APRIL        VALLO                        NM     90012023613
94982416197B59   GABRIEL      REYES GARCIA                 CO     90012384161
94982526272B62   GENNIENE     UTESCH                       CO     90005335262
9498283475B565   ANGEL        WEBB                         NM     35041948347
9498292A991951   DONALD       DORMAN                       NC     90010529209
9498318A831447   LAKITA       STEWART                      MO     27561511808
9498369384B554   JENNIFER     JOHNSON                      OK     21516126938
9498437883164B   CHELSEY      BATES                        KS     90011893788
9498482927B444   ALEXANDER    FONVILLE                     NC     90012538292
9498572734B588   MARIA        GARCIA                       OK     21579127273
9498578325B531   MANUEL       ZUBIA                        NM     90014167832
9498626939376B   CHRIS        CLARK                        OH     90000902693
94986389172B32   ALEJANDRIN   LUNA                         CO     33092473891
94986847972B56   JOSEPH       TAVERAS                      CO     90011198479
94986A7868B152   ALEX         BALLARD                      UT     90001060786
9498724888B152   AARON        OLIVAS                       UT     90002682488
9498792227B444   ROBERT       HARPER                       NC     90014589222
9498832795B531   LUISA        GOMEZ                        NM     90012403279
94988453372B3B   MARK         DIX                          CO     33033564533
9498873658B175   ANDY         LEE                          UT     31004107365
94988775272B62   LEZETTE      BREWTON                      CO     90002707752
94988A14A72B22   KEITH        MARTINEZ                     CO     90013090140
94988A88941296   TONI         SLAYTON                      PA     51095260889
9498921AA4B949   CESAR        SANCHEZ                      TX     76514072100
9498981925B531   SHAYNE       MARTINEZ                     NM     35053928192
9498B21124B588   KRYSTAL      VENTRIS                      OK     90011442112
9498B297A55963   LEONARDO     BRIBIESCA                    CA     48016832970
9498B452A5B383   TANYA        HOLLIS                       OR     90012154520
9498B47A391599   HEATHER      MOSLEY                       TX     90011984703
9499113725B531   RAMIRO       MARTINEZ                     NM     35043021372
94991358A72B22   FRANCISCO    VILLASENOR                   CO     90007143580
94991382397B59   JENNIFER     BARBATO                      CO     39073263823
949917A8697B59   JOSEPH       SANCHEZ                      CO     90013867086
9499233519153B   LUIS         ORTIZ                        TX     75069563351
9499239198B125   AURELIO      VARGAS                       UT     90007903919
9499384614B554   LATWYN       MENSER                       OK     21510318461
94994211997B59   JOSEPH       MAJCHROWICZ                  CO     90007892119
9499429537B444   KRSTON       SLOAN                        NC     90002652953
9499528A95B548   BILLY        HUCKINS                      NM     90015162809
94995351A72B3B   TRACIE       WIGGINS                      CO     90008973510
94995A89591554   GENOVIEVE    SIMS                         TX     90012610895
94996187272B32   ROBERTO      ANGEL                        CO     33084811872
94996747172B56   SANDRA       WINKLER                      CO     90002297471
94996A35591882   ANIKAQUA     BREWER                       OK     90002890355
94997534472B62   WONDWOSEN    GETAHUN                      CO     33093005344
94997611172B32   CINDY        ACOSTA REYES                 CO     90010916111
94998381572B56   NICCOLE      BERTLES                      CO     33052253815
94998753297B59   RACHELLE     MELENDEZ                     CO     90011137532
9499882265B531   ULISES       MORALES                      NM     90013068226
9499886248B175   DONAVON      WATCHORN                     UT     31003928624
94998879972B32   EMILIANO     ZAPATA                       CO     90010348799
9499956344B554   OSCAR        PEREZ                        OK     90013495634
9499958865B531   LORENZO      MENDEZ                       NM     90012665886
9499B514491554   JAVIER       BETANCOURT                   TX     75043475144
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1706 of 2350


9499B927771945   LEDELL       BARNES                       CO     90011189277
949B1128155951   JOHN         VANG                         CA     49061471281
949B1243272B42   JOSE         GALDAMEZ                     CO     90013932432
949B1469493755   SHAWN        DOEPEL                       OH     64551924694
949B1486672B32   MARIA        ORTEGA                       CO     33025824866
949B1628572B42   GWENDOLYN    VIALPANDO                    CO     90003956285
949B1854572B22   JASMINE      LANGFORD                     CO     90007308545
949B1A55871945   JOHN         TOTIN                        CO     90014400558
949B232443164B   LESTER       KRAUS                        KS     22048913244
949B268725B531   CAROLYN      QUINTANA                     NM     35019866872
949B26A965B383   MONTARIMA    ROGERS                       OR     90008636096
949B2993472B22   CHRISTINA    CORDOVA                      CO     90013089934
949B3154597B59   LAURA        FAZEKAS                      CO     90014021545
949B3479791599   JOHN         RODRIGUEZ                    TX     90009914797
949B3519771945   JESSIE       LUBKEN                       CO     90010275197
949B3A76172B62   AMNAZO       LWASHA                       CO     90012620761
949B3A77881669   LISA         BOGACZ                       MO     90007260778
949B421917B349   FRANCISCO    SALGERO                      VA     90000292191
949B4828272B32   CHAR         ROGERS                       CO     90010888282
949B482A18436B   DAWN         CLARK-PETTIS                 SC     19047598201
949B492884B588   CHANEL       ILLAGRA                      OK     90012989288
949B4A4685B383   KELLY        SHERBAHN                     OR     44521180468
949B517A78436B   ROBERTO      MIRON                        SC     90013931707
949B53A618B175   JESSICA      REESE                        UT     31001623061
949B5933541296   KELECHA      ORGI                         PA     90014729335
949B6398655951   DANIEL       GONZALES                     CA     49080363986
949B65A223B331   SHANNON      LOPEZ                        CO     90011445022
949B6684341296   TANZANIA     GUINYARD                     PA     90012446843
949B671338436B   PENNY        MILLEDGE                     SC     90014767133
949B6842972B56   URIEL        BARGAS                       CO     33036008429
949B723A68B175   NINA         ORIBRO                       UT     90014692306
949B724A272B42   JUAN         GARCIA                       CO     33076052402
949B7556A72B22   ALICE        MARIN                        CO     33048995560
949B75A694B554   MYRA         BOBADILLA                    OK     90014565069
949B7819597B59   JOEL         RAMIRES                      CO     39082918195
949B7A11231435   KRISTINA     HARRIS                       MO     90012480112
949B885913B361   JORGE        ROJAS                        CO     90001128591
949B893397B444   JENNIFER     BURKE                        NC     90010189339
949B9823372B22   RHIANNA      SANCHEZ                      CO     90004068233
949B9883491882   EDITH        TUNLEY                       OK     90002888834
949BB36A377537   STEVE        EVANS                        NV     43069093603
949BB55164B588   STACY        WARREN                       OK     90013935516
949BB736472B22   HYBRID       PLUMBING                     CO     90004917364
94B1117A15B383   RICHARD      LEY                          OR     90013921701
94B11242472B42   HERIBERTO    JESUS                        CO     33071902424
94B1143A555957   MARGARITA    MOREIRA                      CA     90013484305
94B1152638436B   JUANA        LETICIA                      SC     90011865263
94B11549191951   MICHEAL      MCLAUGLIN                    NC     17030485491
94B11555291599   JOSE         ORONA                        TX     90014715552
94B11A43A55951   YADIRA       CARRANZA                     CA     90010930430
94B12162A5B548   SHANNON      LOGAN                        NM     90003651620
94B1226194B588   DURON        GOINS                        OK     90015162619
94B127A6977537   PEDRO        SALAS                        NV     90012627069
94B12856991599   ELI          ALVAREZ                      TX     90013788569
94B12AA2572B32   MICHELLE     SNAZA                        CO     90012100025
94B13157797B59   MARIA        TURANO                       CO     39097531577
94B14167491951   MARTIN       CUATZO                       NC     90013031674
94B14196841296   ALANNAH      DARR                         PA     90014741968
94B14553A91882   DESHARA      FLEMMING                     OK     90006505530
94B1478A18B152   DARON        WILLIAMS                     UT     90011257801
94B152A598B175   JUANITA      TALAS                        UT     90008502059
94B1562383164B   ROBERT       NICHOLS                      KS     22094116238
94B156A2777537   GREGORY      ROBY                         NV     90014466027
94B166A7593732   BONNIE       ROSE                         OH     90013076075
94B16772A4B954   DAVID        GONZALEZ                     TX     90004547720
94B167A368436B   MATHEW       AMERSON                      SC     90008937036
94B16A2367B444   EKIMA        LINDSAY                      NC     11037280236
94B172AA261977   JAIME        TAN                          CA     90012482002
94B1746464B588   MICHEAL      BECKLEY                      OK     90013674646
94B17691271945   DERRICK      THOMPSON                     CO     32037896912
94B1781A372B32   ANGELA       THOMAS                       CO     33002348103
94B1782934B554   ERIC         FULWIDER                     OK     90011878293
94B17919173297   MARIO        MALDONADO                    NJ     90014369191
94B1831813164B   JUAN         AGUILERA                     KS     90013923181
94B1831A95B383   BRYAN        RYAN                         OR     90014183109
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1707 of 2350


94B1846998B152   TINA          ROGERS                      UT     31061234699
94B1868314B29B   LEXEY         WOLODKEWITSCH               NE     27031946831
94B18829955951   VICTOR        BAEZA                       CA     90014708299
94B19335971945   MALINDA       DETWEILER                   CO     32090903359
94B1955454B949   ERIC          BROOKS                      TX     90006665545
94B195A6555951   JESUS         SALCEDO                     CA     90012965065
94B1B13444B949   AUDRA         DIXON                       TX     76528651344
94B1B886855957   SONIA         SANCHEZ                     CA     90014228868
94B21135A8436B   WINDY         CAMPBELL                    SC     90015051350
94B21353991599   ISAAC         CEBALLOS                    TX     75088303539
94B2148278B175   AMBER         TAVEY                       UT     90012294827
94B22245455957   ROSIE         AGUIRRE                     CA     90012892454
94B222AA261977   JAIME         TAN                         CA     90012482002
94B22483672B42   ROXXANNE      VIGIL                       CO     33027324836
94B23137191951   SHERI         TAYLOR                      NC     17094241371
94B231A5677537   SOKTHEA       SOY                         NV     90011611056
94B2352878B152   ALAINA        GREGG                       UT     90011775287
94B23772A91599   GUSTAVO       PEREZ                       TX     90012667720
94B23798561977   RAFAEL        MONTOYA                     CA     90015007985
94B23A12855963   MICHAEL       SILVA                       CA     48007480128
94B23A1844B588   JASMINE       RIDEOUT                     OK     90013680184
94B23A28591399   EVA           WISE                        KS     90011350285
94B24221172B22   CHRISTIE      SNELL                       CO     90013432211
94B24482A61977   KIMBERLY      TUCKER                      CA     90014784820
94B2456A172B62   ROBERT        REDDY                       CO     90012835601
94B247A845B531   SAMANTHA      PADILLA                     NM     35073117084
94B24883791882   LUCIA         MACEDO                      OK     90009678837
94B24973397B59   ADRIAN        SANCHEZ ALVARADO            CO     39006249733
94B2539A28436B   QUINCY        GRANT                       SC     90014103902
94B2549295B383   JACK          GOLDEN                      OR     90014824929
94B2567293164B   LARRYY        MERRIWEATHER-EL             KS     22040136729
94B25952172B22   ISAAC         ROYABAL                     CO     90010749521
94B26112A72B42   MARIBEL       CAMACHO                     CO     33003911120
94B2619634B588   JOHN          LIPPE                       OK     21573281963
94B268A7872B32   JUAN          MOLINA MONREAL              CO     33098858078
94B26A51271936   MICHEAL       MCGUIRE                     CO     90014540512
94B26A71A72B22   DAVID         ROBINSON                    CO     90011210710
94B2722999196B   COLETTE       LOPEZ                       NC     90006392299
94B2723657B436   WILLIAM       SUAEZ                       NC     90012952365
94B27283991951   EDGAR         MOLINA                      NC     17098522839
94B27318272B3B   CARLA         MUNOZ                       CO     90012563182
94B27395772B42   ROSE          OROZCO                      CO     90010583957
94B2742A47B444   ROSALBA       LOPEZ                       NC     90011644204
94B27584A3164B   RICHARD       PRICE                       KS     22087295840
94B27774772B22   PAUL          HILL                        CO     90013077747
94B2812735B548   ANDREW        VIGIL                       NM     90012931273
94B2856777B444   KAMERON       BENSON                      NC     90011785677
94B2858723164B   HOLLY         MAY                         KS     90009495872
94B28662A55951   CARLOS        DE LA GARZA                 CA     49016536620
94B286A5261955   FLORA         DE GOTT                     CA     90008576052
94B28785A8B175   JEANNA        NENTWICH                    UT     31099627850
94B2894532B26B   GEORGE        BATES                       DC     90010679453
94B29617597B59   VIRIDIANA     TORRES                      CO     90010456175
94B29919772B56   SAM           LOPEZ                       CO     90012499197
94B2B153997B59   JENNIFER      GONZALEZ                    CO     90008871539
94B2B774155963   JENIFFER      THOMPSON                    CA     48010177741
94B2B7A3271945   GERROD        ANDERSON                    CO     90014757032
94B2BA53972B22   DAVE          WALKER                      CO     33024120539
94B31258A97B59   ERIN          WHITE                       CO     90011982580
94B31614772B22   JESSICA       JOHNSTON                    CO     90014896147
94B31871172B3B   SHEILA        VOGEL                       CO     33008538711
94B3267A893755   CHRISTOPHER   VOUDRIS                     OH     90013506708
94B33617361977   DANIEL        CAMACHO                     CA     90013646173
94B33895655951   DAPHNE        MODICUE                     CA     90011468956
94B3411484B56B   BRANDI        GILKEY                      OK     90013361148
94B34339397B59   EDGAR         MARTINEZ                    CO     90013933393
94B346A715B548   JOHN          CONNELLY                    NM     90013716071
94B35198855963   JOSE          RUIZ                        CA     90014501988
94B353A5161977   MARTHA        MARIN                       CA     46091623051
94B3545AA55963   PAYGO         IVR ACTIVATION              CA     90013784500
94B35568691951   MARY          GILBERT                     NC     90014965686
94B3574235B548   JOSHUA        ROWDEN                      NM     90012817423
94B35A9915B531   MARIA         RODRIGUEZ                   NM     90001840991
94B3697244B588   NANCY         TAYLOR                      OK     90011899724
94B37568691951   MARY          GILBERT                     NC     90014965686
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1708 of 2350


94B375A7155951   CHAPAO           XIONG                    CA     90012005071
94B37781161977   ARIANA           LARA                     CA     46075407811
94B37855891399   EARL             MARSHALL                 KS     90009568558
94B383A518B152   JAMES            PINKO                    UT     90008993051
94B386A2781634   SCOTT            HEIN                     MO     29008566027
94B387AA971945   TYLER            OLOGE                    CO     90010777009
94B3928554B29B   JENNIFER         MILLIE                   NE     90006512855
94B3969485B548   JESSICA          SOTELO                   NM     90013666948
94B39741393721   TONYA            GREEN                    OH     64532087413
94B3B238872B22   SERGIO           CORDOVA                  CO     90009872388
94B3B38194B949   LOWE             MARY                     TX     76571913819
94B3BA5894B554   OSCAR            PENA                     OK     90014780589
94B41112155957   NIKKI            MANGSKAU                 CA     90013191121
94B4132335B531   MARCUS           AMOS                     NM     35087523233
94B4185A772B22   ALEJANDRA        HERNANDEZ                CO     33016068507
94B4251A88B175   MARIO            URBINA                   UT     31091335108
94B433A4893755   APRIL            CASSELL-EDWARDS          OH     90012163048
94B43497772B62   DEBBRA           KOESTER                  CO     90007504977
94B4414654B554   BOBBIE           SANDERS                  OK     90013511465
94B4447AA72B62   BRANDON          SCARBERRY                CO     90000464700
94B4466A64B588   SALUD            MURILLO                  OK     90011776606
94B44734771945   MARIA            NORIEGA                  CO     90011497347
94B44759993755   RONDALE          ROBINSON                 OH     90013347599
94B44877641296   CHARLISE         EPPS                     PA     90010998776
94B45353791951   TRE              PITTMAN                  NC     90002723537
94B45368297B59   HERNANDEZ        JENNI                    CO     90010823682
94B4552548B149   ISHLA            CLARK                    UT     90009265254
94B4571A872B22   RAQUEL           GARCIA                   CO     33085527108
94B45A31772B32   MAUREEN          FULMER                   CO     90012400317
94B46463A5B548   MARK             MEYER                    NM     90014484630
94B46532391951   MICHAEL          SAISON                   NC     90013035323
94B4732A85B548   CLARRISSA        SANCHEZ                  NM     90014033208
94B47374972B83   CHRISTOPHER      DAVIS                    CO     90004103749
94B47656361977   ROSALINDA        VACA                     CA     90011196563
94B4816835B548   TERRY            ENRIQUEZ                 NM     35040171683
94B482A818436B   BRANDON          LESTER                   SC     90015132081
94B4848224B554   BRENDA           MOORE                    OK     90011814822
94B48769197B59   DAVID            TANNER                   CO     39009297691
94B48797A8B149   JUSTIN           BRANDRETH                UT     90012817970
94B487AA83164B   AMBER            ASHLEY                   KS     22003247008
94B49284655957   HUE              YANG                     CA     90014572846
94B49686172B3B   RAY              MORALES                  CO     33081406861
94B4B75A64B554   CARLOS           HUTSON                   OK     90013487506
94B4B851A5B531   MANUELA          MERAZ-VEGA               NM     35080738510
94B4B854497B59   MILES            THOMPSON                 CO     39000038544
94B5137878B17B   GORDON           FIRNGES                  UT     90012323787
94B5153415B531   YOLANDA          MORENO                   NM     35038085341
94B5189143164B   CHRISTINA        HOBBS                    KS     22003938914
94B5189298432B   ESTELLE          DAVIS                    SC     90009128929
94B51A52993732   KC               SIZEMORE                 OH     90007250529
94B52124861977   JANAYA           COLLIER                  CA     90015151248
94B5237878B17B   GORDON           FIRNGES                  UT     90012323787
94B5312135B281   SHARESE          DURRETT                  KY     90002371213
94B5354638B152   ELIZABETH        SALINAS                  UT     31085505463
94B5365288B175   OMER             TURJOUK                  UT     90010356528
94B539A573164B   CYNTHIA          REED                     KS     90001739057
94B53A61833698   LAKESHA          HARRISON                 NC     90006890618
94B54741172B22   AUGNEEA          GIBBS ANTHONY            CO     90013087411
94B5479725B548   JENNIFER         FRANKLIN                 NM     90009987972
94B54A7465B565   SANJUANITA       LUCERO                   NM     35037540746
94B55292672B42   HEATHER          YOUNG                    CO     33031492926
94B55AA9272B22   MARISELA         ZELAYA                   CO     90001850092
94B56263861977   VICTOR           LOPEZ                    CA     90012642638
94B5648553B361   DAVID            PATTERSON                CO     90007264855
94B567AA972B42   ANGELIQUE        MARTINEZ                 CO     33069067009
94B56A1835B565   OSAVIO           CRESPIN                  NM     90005520183
94B56AA355B531   SAMANTHA         MARTINEZ                 NM     90014500035
94B57142A8B175   MCCALL           MACKAY                   UT     31092891420
94B571A3261977   DELL             CAMP                     CA     90002351032
94B5748775B531   MARTINA          MATURINO                 NM     90015134877
94B57759872B42   FRANKIE JOSEPH   GARCIA JR                CO     90013457598
94B57983891951   CARLOS           RIVERA                   NC     90010289838
94B57A2925B152   GREGORY          WILLIAMS                 AR     90008920292
94B58186755951   NORMA            CORTEZ                   CA     90002161867
94B583A7A98B98   HORTENCIA        CRUZ                     SC     90014813070
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1709 of 2350


94B59529A97B59   LISA          MARTINEZ                    CO     90014465290
94B5958254B554   SABRINA       CUDJO                       OK     90014245825
94B5B52A95B383   BERNAED       KETEL                       OR     90012445209
94B5B56375B383   BONITA        HOWARD                      OR     90012485637
94B5BA11855951   JON           CASON                       CA     90013000118
94B61171A7B444   REGINA        CROCKET                     NC     11048961710
94B6131163144B   KATIE         MOBLEY                      MO     90007723116
94B6154A541296   TIFFANIE      GALL                        PA     51008105405
94B61665693755   SHERRI        BARTOE                      OH     90010356656
94B61814A87B48   SANDRA        SIMMONS                     AR     90008578140
94B61971772B32   ERIC          WIENS                       CO     33071019717
94B624A873164B   JOHN          SMITH                       KS     22049464087
94B6255434B588   DESTRY        JONES                       OK     21567905543
94B6265784B554   DAMON         GATES                       OK     90012436578
94B63622855951   MARTHA        ZARATE                      CA     90001586228
94B641A7391399   SANTIAGO      CAMACHO                     MO     29007581073
94B6423A172B62   CHRISTOPHER   MOOS                        CO     90006552301
94B64281991951   JOHNY         HERNADEZ                    NC     90014972819
94B6451464B554   LINSEY        DREWRY                      OK     90013125146
94B6488735B383   JESSICA       FUDGE                       OR     90010288873
94B64969497B59   ANDREA        MESSICK                     CO     90013769694
94B64A3958B149   JOHN          HOLFERT                     UT     31096500395
94B6514A191951   JENNIFER      ROMAN                       NC     90014981401
94B65241972B3B   OLGA          ZUNIGA                      CO     33080652419
94B6539AA8B152   AMY           ROUNDY                      UT     31086133900
94B6557615B531   SUSANA        PADILLA                     NM     35079195761
94B66261172B62   KATIA         GALINDO                     CO     90015342611
94B66792155963   RUBEN         REQUEJO                     CA     90012667921
94B6688A591399   IRENE         BANDA                       KS     90013118805
94B6696A54B554   JENNIFER      VAUGHN                      OK     90011729605
94B66A22172B3B   PORTERS       TRANS                       CO     33020830221
94B67153472B56   VANESSA       SANTA CRUZ                  CO     33042691534
94B67164155963   MELVIN        WATKINS                     CA     90011311641
94B6737AA3164B   TONY          WASHINGTON                  KS     90010153700
94B67548A51391   BARBARA       AYERS                       OH     90012815480
94B6827554B29B   CHARITY       KRUSE                       NE     27098242755
94B6835775B548   VICTORIA      HANSON                      NM     90010823577
94B68378672B32   MICHAEL       CAMPANA                     CO     90003533786
94B68681272B22   JOSE          CALDERA                     CO     33068446812
94B686A388B149   MICHAEL       TORRES                      UT     90013576038
94B68859391599   RUBEN         LOPEZ                       TX     90013788593
94B6897667B468   SAMUEL        GUERRA                      NC     90005609766
94B69813372B56   VICENTE       DOMINGUEZ                   CO     33045318133
94B69829697B59   GREGORIO      ARROYO POPOCA               CO     39089988296
94B698A424B588   STEVE         HUMPHREY                    OK     21567828042
94B69917541296   DENISE        JACKSON                     PA     90009599175
94B6B314555963   MATEO         FLORES                      CA     48095473145
94B6B46A991399   ANTONIO       CASTILLO                    MO     90009884609
94B6B784472B22   BERENISE      LUJAN                       CO     90013077844
94B6B7A474B588   JIMMY         CARPER                      OK     90011777047
94B6B8A993362B   SADRIC        BONNER                      NC     90007778099
94B71437172B32   MARIA         ARREOLA-SOTO                CO     33064304371
94B72429872B32   JOSE          FLORES                      CO     33078304298
94B72437391951   MERCEDES      DAVIS                       NC     90014974373
94B7257624B554   SHELLY        FULKERSON                   OK     90003455762
94B72668A77537   FRANCISCO     CERVANTES                   NV     43061556680
94B72838172B3B   FCC           MAINTENANCE                 CO     90013188381
94B7293825B151   ROXEY         SAUERWIN                    AR     23041249382
94B73242741296   PETER         HESS                        PA     51045972427
94B73574691599   JOY           JOSLIN                      TX     90013305746
94B737A6772B3B   CARLOS        GOMEZ                       CO     33079647067
94B73846855951   JOSE          VALENCIA                    CA     90012668468
94B74336571945   LAURA         DUFF                        CO     32076943365
94B7434175B383   RANDY         SARBACHER                   OR     90013253417
94B7454286197B   FRANCISCO     SANDOVAL                    CA     90014975428
94B74593891951   MARLUS        MIICHELL                    NC     90001105938
94B74636761977   BEATRIZ       ESCARCEGA                   CA     90015036367
94B74843A91399   DANIELLE      HARRIS                      MO     90013408430
94B749A8155963   VERONICA      DIAZ                        CA     90008269081
94B74A9285B565   JAVIER        RUIZ                        NM     35007690928
94B7511938B175   DAVID         PETERSEN                    UT     90007821193
94B75558372B3B   PATRICIA      TRUJILLO                    CO     90014835583
94B75589572B62   WHITNEY       RODRIGUEZ                   CO     90013215895
94B7568525B531   ILEANA        INGUANZO-GAITAN             NM     90009956852
94B75992672B22   ANTHONY       PAUL                        CO     90010759926
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1710 of 2350


94B7627963164B   YECENIA        HERNANDEZ                  KS     90015232796
94B76435191951   ANGELA         LANIER                     NC     90011004351
94B76868291599   ARTURO         VILLEGAS                   TX     90013788682
94B76888777537   ANTONIO        MARTINEZ                   NV     90008198887
94B76A2444B588   JEREMY         GOODE                      OK     90013680244
94B77281191599   YAZMIN         GUZMAN                     TX     75016062811
94B7728A272B42   MARIO          MONTES                     CO     90012802802
94B7775915B548   CARLOS         PARRA                      NM     35008287591
94B77956755957   MARIBEL        CHAVEZ                     CA     90012449567
94B786A5593755   KELVIN         SNOW                       OH     90013846055
94B78877A72B42   REBACCA        STRANGE                    CO     90008108770
94B7969233164B   DARYL          JAMES                      KS     90009216923
94B79764391951   SHANEIQUE      OSBORNE                    NC     90010727643
94B79A92261977   TERESITA       MORENO                     CA     90009650922
94B7B1A2361977   ANA            GOMEZ                      CA     90011411023
94B7B435491399   TOMEKIA        SAGE                       KS     90010964354
94B7B438391951   GARY           CHRISTIAN                  NC     90014974383
94B7B447755963   MAYRA          MARTINEZ                   CA     48087244477
94B7B487991599   MARIA          GARCIA                     TX     75083464879
94B7B649861977   ISABEL MARIA   GARCIA                     CA     90012006498
94B7B71A15B383   JENNIFER       BITTLESTON                 OR     90009027101
94B7B885372B42   MARTHA         OCON                       CO     33097468853
94B81188841243   JOHN           REFT                       PA     90012731888
94B812A4291399   ALAN           VALLEZ                     MO     90012892042
94B8181A397B59   CINDY          KILMER                     CO     39011578103
94B81959572B56   CASSANDRA      LEBERTE                    CO     90013179595
94B8227765B383   DEBRA          POWERS                     OR     90013392776
94B8251873B322   DAN            JACQUES                    CO     33092735187
94B8261318436B   ISAI           RIVERO                     SC     19097966131
94B82756972B42   NIA            LEVY                       CO     33060117569
94B83133455958   BLANCA         ORTIZ                      CA     90005841334
94B83781571945   JAMES          GARCIA                     CO     90004027815
94B83815272B56   CHRYSTAL       OSBORN                     CO     33084108152
94B8412268B149   NICOLE         JENSEN                     UT     31010341226
94B844A488436B   JANAI          WASHINGTON                 SC     90014524048
94B84633A72B62   MARK           CORDOVA                    CO     90003746330
94B84716172B22   DOMINGO        VILLANUEVA                 CO     90009977161
94B85231761977   ELIZABETH      JUAREZ                     CA     90007442317
94B85355372B62   CALIXTO        HENRIQUEZ                  CO     90013303553
94B85599472B3B   JULIANNA       SANTOS                     CO     90014525994
94B85664872B3B   VINCE          POLLACK                    CO     90009376648
94B86371997B59   JOSE           MACIAS                     CO     90012873719
94B86533672B32   GILBERTO       GUTIERREZ                  CO     33047755336
94B86A6325B531   JOSEPH         GALLEGOS                   NM     90014160632
94B8727A28B152   RAFAEL         CARDENAS                   UT     90002332702
94B87316861558   JOSE           ORTIZ RODRIGUEZ            TN     90015333168
94B87488572B3B   RONALD         SLAUGHTER                  CO     33016204885
94B87491357564   ADRIANNE       ORDONEZ                    NM     90008794913
94B87764372B22   JAMEIDRA       RICE                       CO     90013067643
94B87A47A72B56   ANA MARIA      SANDOVAL                   CO     33076990470
94B882A1197B59   TERRY          YOSHIMURA                  CO     90007752011
94B88655691599   DANIEL         IBARRA                     TX     75098506556
94B88A47A72B62   DIMAS          LOPEZ                      CO     90013840470
94B89392A91599   REBECA         ORTEGA GALLAGHER           TX     90012313920
94B89463197B59   NICOLE         NORTH                      CO     39097864631
94B8953155B383   BRADLEY        HOLMES                     OR     90013225315
94B8967938B136   MICHAEL        ALBERTSON                  UT     90008066793
94B8973383B39B   GINA           DEL REAL                   CO     90012057338
94B89764372B22   JAMEIDRA       RICE                       CO     90013067643
94B89815272B56   CHRYSTAL       OSBORN                     CO     33084108152
94B8B248572B3B   ALYSSA         BROWN                      CO     90011482485
94B8B47464B588   BRIAN          DANIEL                     OK     21504724746
94B8B5A3593755   JAYFE          HUMPHRY                    OH     90009905035
94B8B666A8B175   JONATHAN       ERICKSEN                   UT     90012976660
94B8B727191599   RAUL           DELGADO                    TX     75052557271
94B8B981255951   SHANNON        SHAW                       CA     90011999812
94B91392672B56   IGNACIA        CARRILLO                   CO     33046993926
94B92392355957   CRESENCIO      PEREZ                      CA     90006823923
94B92493972B46   MARCOS         CARREON                    CO     90013234939
94B9258414B588   ADRIENNE       WITFIELD                   OK     90004585841
94B92662A55951   CARLOS         DE LA GARZA                CA     49016536620
94B92723172B3B   ALFONSO        PEREZ                      CO     90003827231
94B93368661977   ARIEL          MCPHERSON                  CA     90012833686
94B9342A872B42   PETER          ANDERSON                   CO     90010584208
94B93A8118B152   SOFIA          ORTEGA                     UT     31095150811
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1711 of 2350


94B94274772B3B   ALMA         CRUZ                         CO     90009402747
94B94493955963   LEVI         JAMES                        CA     90011894939
94B945A575B33B   LYNN         MAHONEY                      OR     90010035057
94B949A1572B32   TRACY        REDMOND                      CO     33008849015
94B949A938B175   RICARDA      OSTLER                       UT     31071649093
94B96129897B59   BENJAMIN     NOEL                         CO     90003171298
94B96169172B62   MARK         KEEHN                        CO     33087711691
94B9624548B149   GUSTAVO      CISNEROS                     UT     90014802454
94B97425A4B554   AARON        WILLIAMS                     OK     90011674250
94B97845A8B171   DAN          ROBINSON                     UT     90000158450
94B97872A91399   MARI ELENA   FERNANDEZ                    KS     90010178720
94B97956571945   HEATHER      THOMAS                       CO     90010089565
94B97A43472B42   MAYRA        RAMIREZ                      CO     33017880434
94B99333597B59   KARI         OKONEK                       CO     90004353335
94B99392791953   RONNIE       HICKMON                      NC     90007823927
94B994A5772B42   SANTOS       ALVARADO                     CO     33015494057
94B99654276B87   CARLOS       GONZALEZ                     CA     90014426542
94B99938661945   WENDY        BRENNAN                      CA     90004929386
94B9993A391599   ALBERT       BARBA                        TX     75086259303
94B9B453881634   LORENSO      PEREZ                        MO     29071024538
94B9B581255963   MICHAEL      HARDISON                     CA     90014825812
94B9B59928B149   RHONDA       SMITH                        UT     90010225992
94B9BA55372B56   MARIA        RUBIO                        CO     33086660553
94B9BA94661977   MARIA        MONTES                       CA     90012520946
94BB1137777537   LOUIS        TAYLOR                       NV     90012801377
94BB1448761977   DERRICK      WILLIAMS                     CA     90015264487
94BB161574B588   CHRISTY      LEWALLEN                     OK     90012776157
94BB1A7385B383   RUDY         PAT-CETINA                   OR     90015470738
94BB221635B383   JARED        FRIEND                       OR     90010132163
94BB235235B531   BRENDA       BOCKMON                      NM     90014893523
94BB28A345B531   JOSHUA       BENAVIDEZ                    NM     90011038034
94BB31A833164B   NINA         WISDOM                       KS     22069901083
94BB3339A72B56   BILLY        VALDEZ                       CO     90002623390
94BB3815491532   VIRGINIA     VASQUEZ                      TX     90009098154
94BB384A593732   KABOOM       GF                           OH     90012398405
94BB394A493755   MERON        WASIHUN                      OH     90010339404
94BB396818436B   MARVIN       PONCE                        SC     90012559681
94BB397AA5B531   MARIA        YEOMANS                      NM     90014159700
94BB3A4AA4B588   SHEILA       GONZALES                     OK     90013130400
94BB4917391882   MIKE         JEFFERSON                    OK     21011549173
94BB4988191599   JAIME        SABCHEZ                      TX     90001609881
94BB4A29272B62   KEVI         ARCHIBEQUE                   CO     90012980292
94BB5123772B62   SHANTEL      LOVATO                       CO     33094771237
94BB5168291951   LISA         REVIS                        NC     90010261682
94BB5319455963   AMANDA       GONZALEZ                     CA     90009403194
94BB5621972B22   RICHARD      BACA                         CO     33068446219
94BB5796191882   CRICK        KATRINA                      OK     21033817961
94BB5A76255951   GABRIEL      SILVA                        CA     90010200762
94BB5AA795B383   HAROLD       BRATTON                      OR     90014330079
94BB6987A41296   DAVID        KOLLER                       PA     90011889870
94BB7369593755   MARK         VAUGHN                       OH     64500033695
94BB7534A72B42   GABRIELA     CORRAL                       CO     90010415340
94BB791815B548   ERICA        WINDISH                      NM     35081269181
94BB7994291599   LLUVIA       MONTERO                      TX     75014349942
94BB819A893755   JOHN         JOHNSON                      OH     64574881908
94BB89A7472B62   FERNANDO     MORALES                      CO     33041949074
94BB9246197B59   MARTHA       KEDER                        CO     39094082461
94BB971874B554   DEVAUGHN     ROBERSON                     OK     90005157187
94BBB1A5A4B588   CHRISTOPHE   GREEN                        OK     21587451050
94BBB811277537   SIERRA       HERZBERG                     NV     90015168112
95111317472B32   SAUL         HERNANDEZ                    CO     33058343174
9511155883164B   KELSI        LATHAN                       KS     90013265588
9511158AA91951   ABERE        NEGA ZELEKE                  NC     90006955800
95111663597B59   SARAH        VASQUEZ                      CO     90004956635
951121AA45B361   JESSE        SHERMAN IV                   OR     90013461004
9511229354B588   DAVID        HARTINGTON                   OK     90013212935
9511237AA5B531   JOSEPH       BOLOGH                       NM     35090683700
9511247A172475   JOSE         CHACLAN                      PA     51088854701
9511398228594B   FLORENCE     LANDRUM                      KY     66031529822
95115276A7B444   LISA         MASSEY                       NC     90011042760
95115A82155957   KYESHA       BEASLEY                      CA     90015020821
951161A9772B32   MICHAEL      QUINTANA                     CO     90012011097
95116988A72B62   DANA         NEIBERGER                    CO     90014309880
95116A15472B22   AMY          ENGE                         CO     90010440154
95118A7145B361   EDWARD       HOCHSTETLER                  OR     44509770714
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1712 of 2350


9511915334B588   JUAN FRANCO   MONTOYA                     OK     90013821533
9511933145B383   JORGE         BERNAL                      OR     90000673314
95119343A91579   VICTOR A      DOMINGUEZ                   TX     75002123430
9511948514B949   SOPHIA        LINDSEY                     TX     76589604851
95119858572B3B   SAMM          GEDO                        CO     90006998585
9511988A98B152   PEDRO         ESTRADA                     UT     31064078809
9511B11A84B554   DAN           BENNETT                     OK     21520311108
9511B12393164B   ELICION       HARDING                     KS     90014021239
9511B837891951   DAMAR         YATES                       NC     90013908378
9511B92715B361   MIGUEL        MEJIA                       OR     90014699271
9511B93238B191   TRAVIS        WARNER                      UT     90012449323
9511BA48972B42   STEPHANIE     BELLERIVE                   CO     90002680489
95121646197B59   ROGELIO       ESPINOZA                    CO     39029076461
95122A83797B59   MEREDITH      REIDER                      CO     39051420837
9512321295B531   MARIA         DOMINGUEZ                   NM     35013432129
9512332914B554   KIM           DANIEL                      OK     21562113291
9512362A655951   WILEBALDO     ESPINOZA                    CA     49097126206
95123783A8B152   HEATHER       RODEBACK                    UT     31001297830
951241A8541296   KELLY         PAM                         PA     90011351085
95124763372B22   ANTHONY       VIGIL                       CO     90008767633
9512534A55B531   CAROLL        AUSTIN                      NM     90015013405
95125694997B59   ALVA          PRECIADO                    CO     90005756949
95126413997B59   ROSA          SANCHEZ                     CO     90014174139
951272A867B444   PILAR         HERNANDEZ                   NC     90013922086
9512739897B444   SHUNDA        SOUL                        NC     90014003989
951273A7A72B22   MARINA        LLAMAS                      CO     90013233070
95127777972B62   VANESSA       QUINTANA                    CO     33070987779
9512B352172B3B   SAMANTHA      ORTIZ                       CO     90010713521
9512B697655957   BARBARA       WONDERGEM                   CA     49028836976
9512BA77391399   JUAN          MORENO                      KS     90012980773
9513116AA72B3B   DAWN          DIAZ                        CO     90012021600
95131232272B62   ANASTASIA     BRAWLEY                     CO     90012442322
9513172585137B   TIM           KANYION                     OH     90013737258
95131831297B59   SHANNON       HENRY                       CO     39085198312
9513218344B588   TRICE         SHAWNTA                     OK     90013881834
9513323A191531   ESTEFANE      GARCIA                      TX     75064702301
9513344735B383   WILLIAM       SORUM                       OR     90009944473
9513346388594B   PAYGO         IVR ACTIVATION              KY     90015194638
95133593A72B42   LINDA         DURAN                       CO     33089355930
9513367598B152   SAMANTHA      BORDLEY                     UT     31007066759
9513386863164B   DANIEL        WELLS                       KS     90007658686
95134648A91851   MACKENZIE     GOODWIN                     OK     21014646480
95135547272B62   JEFFREY       RASBURN                     CO     90010355472
95135567954B47   MARVIN        RIVERA                      VA     90014145679
95135A45572475   VICTORIA      PINKERTON                   PA     90006400455
95136124A8B175   DOROTHY       SIVERS                      UT     31056881240
9513633448594B   MATTHEW       PARNELL                     KY     90012023344
95136633972B62   DAWN          WELCH                       CO     90012446339
9513711A955951   KIM           HEINTZ                      CA     90006561109
9513766924B588   MALEA         BARNETT                     OK     90011126692
95137A49841296   KIMBERLY      WILLIAMS                    PA     51029140498
95137A74961977   DEIGO         REYES                       CA     46043510749
9513858229137B   ROBIN         TREMONTI                    KS     90011545822
95138712272B22   BOBBIE        MASSEY                      CO     33038877122
9513896418B175   DAWIT         TSEHAYE-TSEGAY              UT     90010069641
95139221672B62   JOSE          TORRES                      CO     90015282216
95139524572B3B   CORI          MARTINEZ                    CO     33022355245
9513986318594B   TIMOTHY       CRANERT                     KY     66014998631
951413A6957126   LIVONAH       BARNETT                     VA     90011443069
951416A1A77537   MELE          KILIONI                     NV     90014816010
95141916A5B383   OSCAR         CHAMBALAN                   OR     90012599160
95141A15972468   THOMAS        GRIFFIN                     PA     90008090159
9514247878B356   SABINO        OJEDA-OZUNA                 SC     90015134787
95142694272B56   VICTORIA      N. SIVIGLIANO               CO     33061526942
951436A7191951   YURI          PENA                        NC     17080076071
95143717472B3B   ESPERANZA     LOPEZ MORENO                CO     90013697174
95143A85255957   ANTONIO       ORNELAS                     CA     90015020852
95144142497B59   SAMANTHA      MUELLER                     CO     90004701424
95144267772B22   OLINDA        MENDOZA-DEVALVERDE          CO     33059762677
9514513464B588   DEANNA        HEPPNER                     OK     90010691346
95145139572B62   RICHARD       RAMIREZ                     CO     33036241395
9514551198B175   MEGAN         CARDOVA                     UT     90001495119
9514575415B383   JASON         BESSETTE                    OR     44564197541
95145A3715B548   YAZMIN        RUBIO                       NM     35096480371
95145AA7A2B982   DAWN          MARCKX                      CA     90009570070
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1713 of 2350


9514794765B531   RAYMOND        GARCIA                     NM     90014109476
95147AA9861977   ROSEMARY       TSENG                      CA     46062010098
9514819AA91399   TASHA          PRUNEDA                    KS     90014021900
9514881834B588   VALENTE        HARRIS                     OK     90010098183
9514893A65B531   JENESSA        MCKILLIP                   NM     90007889306
95148A4A42B982   RUTH           TOVAR                      CA     90014900404
95148AA9861977   ROSEMARY       TSENG                      CA     46062010098
951498A1493732   DELORAS        AYERS                      OH     90001418014
9514B475561977   ANTHONY        BELTON                     CA     90013134755
9514B495791399   AQUILINO       MARTINEZ                   KS     90014164957
9514B5A6972B62   JOSE           ANGEL                      CO     90011615069
9514B788791599   JASON          PETERSON                   TX     75052637887
9515111925B361   ADAM           LOGUE                      OR     90007081192
9515114A24B588   CHRISTINA      CARNELL                    OK     90013181402
95151763597B59   KAREN          MCMAHON                    CO     39063717635
95151A84A55957   CUTBERTO       JIMENEZ                    CA     90012960840
95152257272B32   NATALIE        LUCERO                     CO     90010502572
9515231525B389   MARIA          JONES                      OR     90012733152
951523A7872B22   KOEUM          NAY                        CO     90013233078
9515247542B982   ANGEL          FELIX                      CA     90011594754
951524A488594B   TIFFANY        WALLS                      KY     90012714048
95152731372B32   NATALIE        LUCERO                     CO     90009727313
95153171172B42   JORGE          HERNANDEZ                  CO     90015021711
95153791372B3B   JESUS          GONZALEZ                   CO     90013837913
9515532284B588   DANIELLE       MARTIN                     OK     90015113228
9515549A772475   RICK           FOX                        PA     90012294907
95155535A55951   JOSE           MARTINEZ                   CA     90011645350
9515673964B588   HUNTER         VAUGHN                     OK     90011027396
95156A2374B949   KAREN          THOMAS                     TX     76570320237
95156A6338B175   CRAIG W.       BRUNDAGE                   UT     90011380633
951571A4651351   JOHN           MARTINI                    OH     90003321046
9515721368594B   THOMAS         BENNETT                    KY     90013672136
95157329672B22   RICHARD        AHRENS                     CO     90014333296
95157493172B22   JOANNA CAROL   STRIDER                    CO     90012084931
951577A5891531   MARISA         VAZQUEZ                    TX     90015287058
95157A4295B389   MARK           SWEENEY                    OR     90012360429
951587A6172475   ELMER          WILES                      PA     51017097061
9515886325B361   MARGARITO      SANTIAGO                   OR     44570268632
9515B762891531   CARMEN         CAMPOS                     TX     90012527628
9515BA82472475   JEFFERY        MOORE                      PA     90004190824
95161171172B42   JORGE          HERNANDEZ                  CO     90015021711
95161364672B62   JEREMY         PATRICK                    CO     90005663646
95161A6263164B   COREA          HIGHTOWER                  KS     90010920626
95161A69272475   PATRICIA       KOWALUK                    PA     90010640692
9516215374B588   LAURA          WOLF                       OK     90015131537
9516219173164B   AMANDA         CUBBAGE                    KS     90014831917
9516228487B444   GARRY          TURLINGTON                 NC     90010922848
95164165672B42   PEGGY          BRENTON                    CO     90015021656
951647A6991599   CARMEN         MONTEROS                   TX     75014527069
95164A27631625   TY             HARDWELL                   KS     90011670276
95164A72955951   DOLORES        GARZA                      CA     90007520729
9516566818B175   ALEXANDER      MONTILLA                   UT     90015026681
95165692672B56   RENE           OSWALDO SALINA             CO     33041646926
9516615AA93732   SHARON         HAWKINS                    OH     64542581500
9516685A193755   MIELLA         JONES                      OH     90008078501
95166875A24B22   LEONIE         EASTMAN                    DC     90005148750
95166A14577537   ROBERTO        CASTILLO                   NV     43018460145
95166A1634B588   VERNON         BURRIS                     OK     90008860163
95167553572B42   LUCERO         HERNANDEZ                  CO     33089565535
951676A437B444   DIANA          MANCUSO                    NC     90014436043
9516778765B383   CHERYL         DEMO                       OR     90012147876
95167A96577537   LOGAN          BOSTON                     NV     90012030965
9516837498594B   JACQUELINE     REIS                       KY     90003583749
95168465472B56   MIKE           MARTINDALE                 CO     33078194654
95168747372B62   NORM           PACHECO                    CO     33032767473
95168A55355957   ALVARO         LARIOS                     CA     49091110553
95169371A81634   GIADIS         CABRERA                    MO     29028533710
9516963A35B531   EFREN          CALDERON                   NM     90011296303
95169779372B56   PAOLA          ESTRADA                    CO     90006697793
95169864972B22   GLENDA         MITCHELL                   CO     90010288649
9516B331491599   MIRIAM         OLIVARES                   TX     90006393314
9516B5A1A8B152   MARISELA       MARTINEZ                   UT     90015045010
9516B671991531   GRACIELA       GAVERA                     TX     90004566719
9516B85A691399   MARCIAL        CHAVEZ                     MO     90002868506
9516BA17155957   ALBERTO        MEDINA                     CA     49063020171
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1714 of 2350


95171677972B53   ASONJA             BURNETT                CO     90012626779
95171821A72B42   OSCAR              QUINTANILLA            CO     90015028210
95171A26291399   LILIA              GONZALEZ-JIMENEZ       KS     90010110262
95172118472B3B   GREG               DEMOTT                 CO     90013051184
9517233875B383   WILLIAM            SMITH                  OR     44526133387
95172339A55951   MARIA              TINAJERO               CA     90008743390
951725A584B554   RITA               ROBERTS                OK     90003035058
95172736572B3B   GREGORY            OPPERMAN               CO     90015357365
9517316A85B531   BERNADINE          BENALLY                NM     90003001608
95173278372B3B   RANDR              LITTLE                 CO     90011972783
95173444472B22   MELISSA            BUSTAMANTE             CO     90004784444
9517466454B588   JACQUETA           PATRIDGE               OK     90014896645
951749A7372B32   DORA               LOPEZ                  CO     33089599073
95174A32172B3B   JERRY              CARRERA                CO     90013730321
9517513415B383   JUAN               GUERRERO               OR     90014951341
9517529354B588   DAVID              HARTINGTON             OK     90013212935
9517574AA86435   MARINA             WOOTEN                 SC     90015107400
95176AA1172B42   MARTIN             RAMIREZ                CO     33092530011
95177166172B42   ERIK               GARRIDO                CO     90015021661
9517716617B444   JUSTICE            SMITH                  NC     90009341661
9517798275B229   OSCAR              MARTINEZ               KY     90006499827
9517858225B531   RUTILIO            VELASCO-OSORIO         NM     90000125822
951786A185B361   SELONE             JIMENEZ                OR     90002526018
9517896664B263   ALMA               ALMAZAN                NE     27089019666
95178A11391531   ALBERTO            DESANTIAGO             TX     90013170113
95179174172B56   MARYTERE           GARFIAS                CO     33080361741
951791A8691531   LOPEZ              JUANITA                TX     90010731086
9517938885B361   RAUL               CALDERON               OR     44588263888
9517992324B949   JUAN               JIMENEZ                TX     90002939232
9517B222791531   ROCIO              SOTO                   TX     75068962227
9517B395891531   JOEL               DIAZ                   TX     90010583958
9517B484572B3B   KELLY              STONE                  CO     33042184845
9517B48558B152   ANYA               ALBRIGHT               UT     90007254855
9517B69954B588   ENRIQUE            GARZA                  OK     90014416995
9517B914272B62   CHRISTY            LEWIS                  CO     90015189142
9517BA11172B2B   JESUS              IBUADO                 CO     90008870111
951814AA77B444   YESENIA            MERIDA                 NC     90014004007
95182166172B42   ERIK               GARRIDO                CO     90015021661
9518237A961977   DIONICIA           PEREZ                  CA     90013143709
9518258465B531   LETICIA            AGUILAR                NM     90009605846
9518314664B949   EULA               LOFTON                 TX     90008361466
95183166172B42   ERIK               GARRIDO                CO     90015021661
951833A3193755   BRITTINE           HOLLINGSWORTH          OH     64527523031
95184422572B62   MARIO              JOSE GARCIA            CO     90007674225
95185244172B42   JORGE              GUIJARRO               CO     90006702441
95185663172B22   JOHN MATTHEW       HENDERSON              CO     90012886631
95185A8248596B   ANTHONY            HARTNESS               KY     90012410824
9518759545B383   DAVID              ANDREWS                OR     44515945954
95188897472B3B   ANTONIO SILVERIO   MENDOZA                CO     90005028974
95188A7A191599   JOANN              VALENZUELA             TX     75046190701
9518962699184B   ESMERALDA          VILLEDA                OK     90011626269
9518964A53B331   DUSTIN             WEAVER                 CO     90009236405
95189659172B32   MARCO              RAMIREZ                CO     90006926591
95189676172B42   WAYNE              SANCHEZ                CO     33048576761
9518B166172B42   ERIK               GARRIDO                CO     90015021661
9518B237655957   JOSIE              ORTIZ                  CA     90004702376
9518B51A38594B   ANTHONY            KING                   KY     66050675103
9518B53332B982   JUANA              ROSALES                CA     90015495333
9518B94834B949   PRISCILLA          RODRIGUEZ              TX     90011819483
9518BA2582B982   MARIA              PEREYDA                CA     90012680258
9519121525B383   COREEN             JESPERSEN              OR     44520082152
9519138AA72B56   HEATHER            MARTINEZ               CO     33010823800
95191644572B42   ANTHONY            LUNA                   CO     90006436445
95191732772B22   WILLIAM            MELLOTT                CO     90014417327
95191851272B3B   BRANDON            LYONS                  CO     90013408512
95192262A91368   CANDYCE            MOORE                  KS     90007732620
95192841A97B59   DANIEL             SEELA                  CO     90008238410
9519299997B349   WIATT              WILLINGHAM             VA     90012089999
95192AA2191599   DIANA              PARRA                  TX     75005500021
9519312425B548   CLEMENTINA         MARTINEZ               NM     90005661242
9519432964B588   TYRON              WATKINS                OK     90014553296
9519558525B548   VICTOR             CORONA                 NM     35050745852
951959A6A72B56   PHYLLIS            COMPTON                CO     90010579060
9519647625B361   KHAMAEL            ISMAEL                 OR     90009914762
95197341A5B531   CLAUDIA            LANDEROS               NM     90013173410
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1715 of 2350


95197438A93755   CORTEZ        WIILAMS                     OH     90014814380
9519799697B386   FARRUKH       SABIR                       VA     90012319969
9519836245B383   ISABELLA      CORIGLIANO                  OR     90013063624
95198436697B59   MARISELA      PORRAS                      CO     90013924366
951985AA85B531   BENITA        JURADO                      NM     90004135008
9519877AA33623   CODY          HIGGINS                     NC     90012487700
9519982A355951   AGUSTIN       SEBASTIAN                   CA     49089678203
9519986265B361   ROMAN         SAN-PEDRO                   OR     90010158626
951998A6691599   HILDA         VILLALOBOS                  TX     75078198066
9519B348A7B444   CARMEN        LAWRENCE                    NC     90014893480
9519B35657B444   BRITTANY      RUSHING                     NC     90011173565
9519B369A8B152   JOHN          TUCKER                      UT     90012153690
9519B549372B62   MANUEL        DIAZ                        CO     90007625493
9519B85964B588   BRITTNEY      JOHN                        OK     90011948596
951B11A9A91951   RODNEY        WILLIAMS                    NC     90010321090
951B1299A3164B   MICHAEL       BRIGGS                      KS     90014102990
951B1528891399   RUSBELINDA    VALDEZ                      KS     29002905288
951B2737872B22   DAN           HEARRERA                    CO     33078197378
951B2964A7B444   PASCUAL       MENDEZ                      NC     90013599640
951B343228B175   JAVIER        ROQUE                       UT     31089964322
951B351453B341   NICOLAS       SEANEZ                      CO     90006825145
951B3A34297B59   GERARDO       RODRIGUES                   CO     39006620342
951B469468594B   DANIELLE      BILLIOT                     KY     66009816946
951B4971777537   ARMANDO       HERNANDEZ-CABRERA           NV     90009959717
951B499A324B22   DINA          FLORES                      VA     90006279903
951B529A391531   STEPHANY      HERNANDEZ                   TX     90001722903
951B5383197B59   CHRISTOPHER   THRALL                      CO     90013923831
951B5618791951   JENNIFER      LOPEZ                       NC     90009966187
951B589688594B   STEPHANIE     HOLT                        KY     90015198968
951B6162591599   GLORIA        RODRIGUEZ                   TX     90011061625
951B619898594B   SHARLYNN      LUKAS                       KY     66088121989
951B6272A72B32   ELIAS         ROMERO                      CO     33080782720
951B6386697B59   LARISSA       LOPEMAN                     CO     90013923866
951B6539677537   ROGELIO       REYES                       NV     90014875396
951B6648591531   NIGUEL        OROSCO                      TX     90011286485
951B665558B152   BROWN         JENNIFER                    UT     90009496555
951B699484B588   SYRITA        JAGGERS                     OK     90012799948
951B6A45897B59   ORLANDO       FLORES                      CO     90014860458
951B711A84B554   DAN           BENNETT                     OK     21520311108
951B73A114B588   SARAH         WATSON                      OK     90000833011
951B7621141296   DELIA         RIVERA RODRIGUEZ            PA     51087376211
951B764554B547   MARIA         BORREGO                     OK     21558986455
951B7648A5B383   SHANE         MILLER                      OR     90013446480
951B7738472B62   ERICK         MONTES                      CO     90014917384
951B787738B152   CINDY         HUMPHIES                    UT     90012338773
951B7983597B59   SHAWN         WOOD                        CO     90009999835
951B861215B361   SAHWN         KNIGHT                      OR     90012986121
951B8621291826   EDWARD        LEWIS                       OK     90012596212
951B868735B389   HABTEMARIAM   KIDANE                      OR     90013656873
951B872AA72B32   JULIO         ALVARADO                    CO     33080367200
951B8819597B59   JOEL          RAMIRES                     CO     39082918195
951B896A84B949   LYDIA         OZUNA                       TX     76584479608
951B95A9372B62   DIANA         LUGO                        CO     90011965093
951BB192572475   ANTHONY       COSTLEY                     PA     90013411925
951BB513A5B361   ANGELA        PAINTER                     OR     90013385130
951BB864491951   APPOLINAIR    SILE                        NC     17038748644
951BB932355957   JESSE         ARROYO                      CA     90002959323
951BB96A455951   MICHELLE      GONZALEZ                    CA     49001269604
95211415197B59   KYRA          CONNER                      CO     90014174151
9521141845B531   LAURA ELENA   CERVANTES FELIX             NM     90005454184
9521189885B361   JESSE         SWIFT                       OR     90013888988
95211A62136148   MARIA         CHAVEZ                      TX     90006710621
9521238615B531   YANNICK       CAMBOS                      NM     35023743861
9521255812B982   TERRI ANN     SWILLEY                     CA     45061725581
952127A4372B22   TRACY         BIERLING                    CO     33087477043
952127AA85B389   SANTOS        ALVARADO COLLI              OR     90013357008
95212A47493755   TAYLOR        ANTONIO                     OH     90011120474
9521319528B152   MICHAEL       DANIELS                     UT     31043381952
95213552497B59   MEGAN         PESINA                      CO     39080445524
95214148872B42   LAURA         AVINA                       CO     90008531488
9521428487B444   GARRY         TURLINGTON                  NC     90010922848
95214728297B59   MOLLY         LOONAN                      CO     90003757282
9521491484B588   MICHAEL       RUTTMAN                     OK     90010219148
9521524555B361   JULIA         PEDROZA BERNAL              OR     44576972455
9521546478435B   ARISTIRIS     ORTIZ                       SC     90011374647
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1716 of 2350


9521599368B152   JENNIFER       MILLER                     UT     31093619936
95216624272B56   RANDY          TURNER                     CO     33015526242
9521683755B383   JIM            XIONG                      OR     90008688375
95217787372B22   PAULA          RUIZ                       CO     90012897873
95218126A91399   NIDA           ROBERTS                    KS     29069391260
9521817565B531   RANDAL         PEREA                      NM     90002631756
95218517A5B548   CRYSTAL        ROMERO                     NM     90012925170
95218848172B56   JAZMIN         BARRAZA                    CO     33041648481
95218A58572B22   PAULA          PRICE                      CO     90009880585
9521987A491951   CLEMENTINO     HENRIQUEZ                  NC     90008878704
95219A69591599   CRISTABEL      ONTIVEROS                  TX     90012890695
9521B12695B548   JAMES          ARENDS                     NM     35060291269
9521B448893755   REBECCA        TURK                       OH     90008024488
9521B53942B982   JUANA          PIMENTEL                   CA     45011365394
95221352272B62   MATTHEW        BURKE                      CO     90012423522
95222AA2655957   CARLOS         PADILLA                    CA     49070060026
952238A988594B   JEFFERY        BECKHAM                    KY     90009678098
9522415325B383   JENNIFER       SHELLEY                    OR     90009541532
9522478A991399   REGINA         TAYLOR                     KS     90014167809
95224829A2B982   MARTINE        VALENCIA                   CA     90012808290
9522486354B588   MARES          DE GOMEZ                   OK     90009498635
9522659A35B531   JANICE         ESQUIBEL                   NM     90014995903
95227923372B56   MARY           WESTMORELAND               CO     33027199233
95228622472B22   BRENDA         SALCIDO                    CO     90013846224
9522862545B531   CYNTHIA        PENA                       NM     90010056254
9522B3A694B588   CHRISTOPHER    KING                       OK     90011013069
9522B483A91531   MELINA         PARGA                      TX     90007104830
9522B526191399   ENRIQUE        LUGO                       KS     90011645261
9522B53938B152   KARREN         SAMSON                     UT     90015565393
9522B57132B982   RAYMOND        FAJARDO                    CA     90013545713
9522B663155951   RUTH           BARBOSA                    CA     90015346631
9522B68534B949   MELISSA        OHLRICH                    TX     76537516853
9523128337B444   SHANTAY        BELL                       NC     11074522833
9523233848594B   JOSUHUA        REESE                      KY     90000523384
9523351255B548   LUWIS          BUCKHANAN                  NM     90013645125
9523386985B389   MICHEAL        MCGREGOR                   OR     90010638698
9523447A191599   LIZBETH        ESPINOZA                   TX     90011454701
95235152772B42   RACHAEL        RILEY                      CO     90010511527
9523679318594B   STACY          VARGAS                     KY     90005127931
9523747868B175   YOLANDA        GOMEZ                      UT     90010814786
9523759A44B588   JUDITH         DURON                      OK     90010355904
952378A6772B42   OSCAR          VELASCO                    CO     33072188067
9523851447B444   MICHAEL        BAILEY                     NC     90010275144
95238897A72B3B   CHRISTOPHE     YOUNG                      CO     33000088970
95238A69181634   CRAIG          LEE                        MO     29003010691
952391A2841296   CARLA          CRAWFORD                   PA     90014701028
9523944797B444   JAY            EDMONDS                    NC     90012654479
9523B12A493778   PATRICIA       HAWKINS                    OH     90013701204
9523B31675B383   AMBER          MITCHELL                   OR     90013853167
9523B429272B3B   MA D           ARELLANO DE QUEZADA        CO     90012824292
9523B58AA2B982   FRANK          SAREMI                     CA     90002565800
9523B72295B548   JOSEPHINE      CORDOVA                    NM     35008887229
952413A198B655   PAYGO          IVR ACTIVATION             TX     90011633019
952414AA972B62   MARIO DANIEL   LEAL LOYA                  CO     90007674009
95241537672B42   FERNANDO       ALTONAGA                   CO     90000335376
952416A9997B59   MIRNA          AZUCENA                    CO     90012426099
9524225324B588   JOSH           CRAWFORD                   OK     90011342532
95242993A97B59   ASHLEY         EMERY                      CO     39079619930
95243383872B32   DAVID          BABCOCK                    CO     90010893838
952438A635B383   MARK           HAMIL                      OR     44560218063
952443A7993746   DERRICK        PHILLIPS                   OH     90009183079
95244A8285B361   RODNEY         OATES                      OR     90007570828
95245218872B42   LESLIE         LUNA                       CO     33044872188
9524564A13164B   AARON          HAUCK                      KS     22073066401
95245957172B32   OLGA           MONTANER                   CO     33027059571
9524612138B152   CORBIN         HERRERA                    UT     31051911213
9524635165B383   TRAVIS         CAGLE                      OR     90015303516
9524662235B548   ONORIA         MORALES                    NM     35024996223
9524679322B26B   COLLETTE       NEWBY                      DC     81014117932
9524751585B383   DANIEL         ALMARAZ                    OR     90013215158
952479A5561924   MICHEAL        BITTICK                    CA     90004079055
9524866737B444   KHAMPHOU       SISOMPENG                  NC     90013826673
952486A433164B   NICHOLAS       MCKISSACK                  KS     22075746043
95249326597B59   BERTHA         BONIFACIO                  CO     39066693265
9524933A471933   PABLO          SANCHEZT                   CO     90014253304
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1717 of 2350


9524942A75B389   PRESTON      SCHLEICHARDT                 OR     90013274207
95249821A5B361   JAMES        CARESS                       OR     90014708210
9524989425B389   ARMANDO      UC                           OR     44500358942
9524B612A97B59   BRANDY       MASCARENAS                   CO     90010876120
9524B7A924B588   TAMMIE       CRAIG                        OK     90013817092
95251169A93732   REBECCA      DAVIS                        OH     90001421690
9525121115B383   ELIAS        SMITH                        OR     44594592111
9525135794B554   REBECCA      CROUSE                       OK     90004983579
9525159A161977   CHRISTIAN    CALDERON                     CA     46005355901
9525283363164B   LINDA        BOWEN                        KS     22035028336
9525321184B588   TURIA        NORRIS                       OK     90009562118
95253A62191531   MARIO        HIDROGO                      TX     75080870621
9525429765B548   MARIBEL      MUNOZ                        NM     35085802976
95254325672B22   BART A       PFEIFER                      CO     90013243256
9525468417B444   MARQUITA     GRIFFIN                      NC     90013266841
9525468528594B   WILLIAM      GINN                         KY     66005486852
9525491A12B982   GABRIELA     GARCIA                       CA     90014769101
9525548A672B22   LENHART      BRITTANY                     CO     90008174806
95255A42172B32   ANASTACIO    HUICOCHEA                    CO     33076940421
9525623175B548   MAXINE       GARCIA                       NM     35078702317
9525726A972B62   JAMES        BACCA                        CO     90009662609
9525773AA97B59   NICOLE       LARA                         CO     39040107300
95258737672B42   SHERRI       MITCHELL                     CO     33095827376
9525882752B948   CHRISTINA    SAUNDERS                     CA     90008688275
95258964372B32   PERFECTO     BASURTO                      CO     90006249643
9525912998B356   LAWANDA      GEIGER                       SC     90015411299
9525914A24B588   SEBASTIAN    BATES                        OK     90014501402
9525916A291951   DYNESE       SMITH                        NC     17012471602
95259855772B22   EARNEST      BONNER                       CO     90009118557
9525B856A72B62   MANUELA      ARREOLA                      CO     33042618560
9525B88A85B383   CELIA        PORTILLO                     OR     44581908808
9525B913A2B982   PAUL         MENA                         CA     90008159130
9525B93555B548   JOANNA       PAMINTUAN                    NM     90011389355
9525B956572B42   RODNEY       BROWN                        CO     90009659565
9525B998538522   LUZDEILY     CORREA                       UT     90013679985
9525BAA4572475   KEARSTON     GRAHAM                       PA     90011310045
9526116828594B   MICHAEL      BURNS                        KY     90014661682
9526119274B588   TINA         WITTENBORN                   OK     21555821927
95261735972B3B   LYNN         HILL                         CO     90004627359
9526188553164B   KRISTOPHER   BONNER                       KS     90014598855
95261912472B32   BRITTANY     DOUGHERTY                    CO     33030069124
9526233555B531   JERI         DAVENPORT                    NM     35044633355
952628A325B383   THOMAS       GRAHAM                       OR     90000508032
95263128372B32   DANIELLE     IBARRA                       CO     90012501283
9526318624B588   TABITHA      SPANKE                       OK     90008401862
952634AA861977   ROSALINDA    VASQUEZ                      CA     46009214008
9526383578594B   ANGIE        ROBISON                      KY     66051358357
9526454945B383   MARINA       LOPEZ                        OR     90014605494
95264A19493755   NICOLE       GUINES                       OH     90011870194
95264AA7672B22   DANE         EISON                        CO     33018540076
95265756897B59   ERICA        MARTINEZ                     CO     90014347568
9526617637B444   NAZANIN      EYVANI-DIZNAB                NC     90012321763
95266178672B3B   RAQUEL       ROCHA                        CO     90000101786
952661A2561977   ALEXANDER    FORTENBERRY                  CA     90011931025
95266781997B59   JARED        RUSSELL                      CO     90004957819
95266A79272475   LORRAINE     GREGORIUS                    PA     51004940792
9526786A75B531   IRMACELINA   ALONSO DELGADILLO            NM     35063908607
95267982272B22   ROSA         GONZALEZ                     CO     90002599822
9526821687B444   LORI         WALKER                       NC     90013292168
9526833335B361   GABRIELA     VEGA ORTIZ                   OR     90010703333
95268694672B22   THOMAS       PEACOCK                      CO     33088146946
95268A58972B29   CHERYL       LUCERO-TORRES                CO     33074240589
9526915575B389   MICHAEL      BAILEY                       OR     90014641557
95269216497B59   SARA         ALEJANDRO                    CO     90012392164
9526945658594B   STEVEN       PRESTON                      KY     90011304565
9526989527B444   DELORIS      JOHNSON                      NC     90011248952
9526B135591531   GLENN        ENCISO                       TX     90015021355
9526B15574B588   GENESIS      JONES                        OK     90003171557
9526B3A8381634   MICHELLE     GARCIA                       MO     90002723083
9526BA65991951   SAMUEL       GATTIS                       NC     90008000659
9526BA9128B152   VERONICA     MUNOZ                        UT     31024840912
9527138488594B   AMANDA       NICHOLS                      KY     90007803848
9527149A281634   ANTHONY      BLEWETT                      MO     29038474902
95271526A5B361   LARRY        FARLEY                       OR     44577385260
95272247A8B152   JAYSON       COX                          UT     90012602470
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1718 of 2350


95272539A55957   OSCAR             QUINTERO                CA     90013415390
9527273725B361   TIMOTHY           CARMICHAEL              OR     90011417372
9527278183B392   MICHELLE          ZISSEL                  CO     90007297818
95272812A51325   MULAYE            FOFANA                  OH     90008998120
95272A33161977   ROBERT            SANCHEZ                 CA     90013160331
95273463A91951   SHAWNTE           AUSTIN                  NC     90003324630
952737A3A4B588   ANGELA            CHAVES                  OK     90010407030
95273A45197B59   JOSE              SOLIS                   CO     39068290451
9527459769376B   JAKE              GABBARD                 OH     90011645976
9527465738B152   MENDEZ            GRACIELA                UT     90009776573
9527474AA72B32   ERIC              MCCABE                  CO     90014697400
95274A72691399   PATRICIA          MONTEL                  KS     90007060726
9527593A272B62   JORDAN            GARCIA                  CO     90014779302
9527652823164B   VINCENT           HEROD                   KS     22084065282
9527681978594B   ERICA             AKINS                   KY     90011028197
9527755932B982   STACY             RICHARDSON              CA     90014725593
9527774AA8594B   CHARLEY           SAYLOR                  KY     66090697400
952779A325B383   ROBERT            PYLE                    OR     90012849032
95277A64124B22   ANGELA            HAYESWORTH              DC     81014930641
952784A8224B22   LATISHA           CLARK                   DC     90001844082
9527975775B548   SANDRA            ARAGON                  NM     35009927577
9527B579177537   JASMIN            ROSALES                 NV     90009435791
9527B76645B383   KRISTA            HANSEN                  OR     44561107664
9528143A58B152   EUGENE            DELGADO                 UT     90013704305
9528177288B152   EUGENE            DELGADO                 UT     90014047728
95281A9775B389   BOBBIE            MARSHAL                 OR     90014720977
9528224518B152   GREG              GORE                    UT     90014982451
952825A4491599   DANIEL            LEGARRETA               TX     90008885044
9528299385B383   KABALE            ALI                     OR     90014139938
9528346115B389   BAVDELIA          ALUAREZ                 OR     44543774611
9528346465B383   YOHALAYNE         MOYA                    OR     90015134646
9528366717B444   ANTONIA           MEDINA                  NC     90012286671
95283A85472475   AUNA              HEUER                   PA     90014590854
95283A9955B548   JADA              GARCIA                  NM     90015030995
95284696197B59   GLORIA            OZUNA-GARCIA            CO     90013936961
952851A7193755   SELVIN            GUEVERA                 OH     90013811071
95285511972B22   WILLIAM           TUCKER                  CO     90009075119
9528586A75B531   IRMACELINA        ALONSO DELGADILLO       NM     35063908607
9528629148594B   AUSTIN            HELLER                  KY     90012082914
9528647314B563   ASHLEY            CHOATE                  OK     21548574731
9528654584B588   JENNIFE           MINICK                  OK     90011365458
95286696197B59   GLORIA            OZUNA-GARCIA            CO     90013936961
9528691335B548   CANO              RAUL                    NM     90010989133
9528726495B383   RON               WILLIAMS                OR     90013782649
9528814653365B   GAIL              HUMPHREY                NC     90013881465
95288472872B42   ROGERS            TERA                    CO     90006274728
95288697797B59   NORMA             GOMEZ                   CO     90013936977
95288A9995B389   REBEKAH           FERRINGTON              OR     90000800999
95288AA948B175   DAVID             KINNEY                  UT     31006180094
95289345372B22   SHAQUANA          WOODS                   CO     33028933453
9528969A88B152   SABRINA           RUST                    UT     90013046908
9528993337B444   TERESA DE JESUS   GARCIA                  NC     90012429333
9528B589491531   MAGNOLIA          GONZALEZ                TX     75009415894
952918AA95B565   GREG              DUNLAP                  NM     90007488009
9529283AA5B531   RICARDO           BARRAZA-CORDOVA         NM     90000328300
9529328175B389   AXEL              MCFARLAND               OR     90014762817
95293419272B22   CASSIE            JIMENEZ                 CO     33020954192
95293516A97B59   DAVID             HINES                   CO     90012575160
9529386955B33B   SHAWNNA           KLEIN                   OR     90000288695
95293A16591531   VICTOR            VILLALOBOS              TX     75052740165
9529485125B389   VERONICA          ROMERO                  OR     90013368512
9529495313164B   DARCIE            FOUNTAINE               KS     90008549531
95294A53555957   ROBERT            COOK                    CA     90014150535
9529525558594B   KEITH             WAGNER                  KY     90015232555
95295486597B59   STACEY            CLARK                   CO     90012744865
95295A36491599   MARISOL           CHAVIRA                 TX     90009150364
9529652653164B   JOSE              HERNANDEZ               KS     22020065265
95296695472B36   JOHN              PFISTER                 CO     90011466954
9529672874B588   JAY               BROMLEY                 OK     90015447287
95296AAA672B3B   ELIZABETH         MARTINEZ MENDEZ         CO     33064280006
9529794412182B   HOLLY             MICHAUD                 MN     90010559441
9529938415B548   NORMA             QUEZADA                 NM     90013553841
9529947167B444   QUAIRA            SEGAR                   NC     90009904716
9529976575B383   FILICITY          HOUSTON                 OR     90012837657
952997AA75B361   JAMES             GRAY                    OR     44568987007
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1719 of 2350


95299962572B62   CASTRO       MIGUEL                       CO     90009519625
9529B313891531   LUIS         RIOS                         TX     75019163138
952B155245B548   DAVID        CANDELARIA                   NM     90015295524
952B17A8791951   MARIO        SALINAS                      NC     90015277087
952B3A25A91599   JUDY         FOLTZ                        TX     90012150250
952B3A89136B64   RUBELSI      FUNES                        WA     90012150891
952B4139177537   RICHARD      PARTIN                       NV     43083871391
952B439A861977   RODESSA      VILLGRENTE                   CA     90013143908
952B442635B361   LAURA        ESQUIVEL                     OR     90012824263
952B4466297B59   TAMMY        TYER                         CO     39096114662
952B45A124B588   MARIE        ERVIN                        OK     90009405012
952B4957A5B531   RENE         RODRIGUEZ                    NM     90014109570
952B498A291399   CONCEPCION   MORALES                      KS     29007199802
952B4A46372B62   HENRIETTA    GIOVANNI                     CO     33035030463
952B5578497B59   STEVE        CAMORA                       CO     90015135784
952B5586A72B3B   CARLOS       AICOLINO                     CO     90010455860
952B5843861977   DELIA        SERVIN                       CA     46012958438
952B6279991599   RAFAELA      MELENDEZ                     TX     90013592799
952B6957A5B531   RENE         RODRIGUEZ                    NM     90014109570
952B69A254B588   ALFONSO      HERNANDEZ                    OK     90013479025
952B6AA8A4B588   SAMANTHA     MCNAC                        OK     90010970080
952B742555B361   YORLANDYS    MATOS                        OR     90007554255
952B7994872B32   MYRON        PEAK                         CO     33000119948
952B8297931477   JASON        STELLING                     MO     90002712979
952B8322141296   ALEXIS       DAVIS                        PA     51005723221
952B835235B531   CLAUDIA      RUIZ-RODRIGUEZ               NM     90013003523
952B917A45B548   GUILLERMO    HOLGUIN                      NM     90013111704
952B91A8791531   RAMIRO       MAGANA                       TX     90015021087
952B93A695B389   WILLIAM      SIMONSON                     OR     90006563069
952B9937A4B588   ROY          JENNINGS                     OK     90010869370
952B9AA862B982   JIMMY        HENSEY                       CA     90005740086
952BB454797B59   ALONSO       MARTINEZ                     CO     90013924547
952BBA6815B383   PATRICK      JENSEN                       OR     90014130681
95311A42A5B548   HERBEY       MONTOYA                      NM     35010820420
95311A49A72B42   ANGELICA     DURAN                        CO     33074790490
95311A7248B175   AMY LYNN     KENT                         UT     31053700724
95312A55997B59   APOLINARIO   ROMERO                       CO     39080370559
9531317735B361   AGUSTIN      GONZALEZ                     OR     44573581773
95313493272B3B   SAY          MEH                          CO     90011474932
9531457825B531   PAMELA       BARRAZA                      NM     35015425782
953149A4177537   GREGORY      GALLEGOS                     NV     90014589041
95315332A5B389   SHEILA       HURLEY                       OR     44592513320
9531634675B389   JAMES        CLAUSON                      OR     90012833467
953163A374B588   ANGEL        MITCHELL                     OK     90013213037
9531671924B949   MORIELA      FLORES                       TX     90010977192
9531687958594B   SARAH        CATTERTON                    KY     90013598795
953178A1497B59   JESSE        ALBERTSON                    CO     39098528014
95318A49A72B42   ANGELICA     DURAN                        CO     33074790490
9531927A772B22   ISAIAS       DELGADO                      CO     90005842707
9531B123491399   HAILEY       AULTHOUSE                    KS     90014991234
9531B247157183   LILY         BERROSPI                     VA     81031882471
9531B42113164B   RAUL         RONQUILLO                    KS     90012734211
95321857872B42   JORDAN       RAMIREZ                      CO     90015028578
953219AA88B152   GRACE        DEMING                       UT     31049479008
953221A9241296   ANN MARIE    O'NEILL                      PA     51030741092
9532221574B554   JUSTIN       PHILLIPS                     OK     90002432157
95322769972B42   SAUL         MUNOZ                        CO     90011697699
9532288474B588   STEPHANIE    DEMEL                        OK     90015118847
9532294832B982   LUIS         FERNANDEZ                    CA     90015599483
95323444A72B22   MARIO        ESPINDOLA                    CO     90013094440
95324335672B42   VARGAS SAL   LEONARDO                     CO     33074513356
95324792197B59   MIGUEL       LOPEZ                        CO     90013937921
953247A6391399   JOSEPH       LAWRENCE                     KS     90012667063
9532499875B389   COLLEEN      MERCER                       OR     44579439987
9532551385B326   SHIRLEY      BELK                         OR     90011745138
95325768872B28   DEBORAH      MEADOWS                      CO     33056477688
9532595995B361   AMBER        CAVENDER                     OR     44568199599
95325A11497B59   JOSE         SANCHEZ                      CO     90010820114
95325A93391399   PATRICIA     HERNANDEZ                    MO     29064100933
953262A616B229   CRYSTAL      RODRIGUEZ                    AZ     90014192061
9532646538B152   SHENAN       GILLING                      UT     90014414653
9532687A17B444   SELBIN       BARRER                       NC     90010938701
95326A79591951   EVELYN       RUSH                         NC     17001680795
95328857872B42   JORDAN       RAMIREZ                      CO     90015028578
9532938685B548   KIMBERLY     CLAYTON                      NM     90013493868
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1720 of 2350


9532958195B361   JENNA              HUFFMAN                OR     90006235819
9532978A74B588   MARIA              WOOD                   OK     90014767807
95329AA3191531   BRENDA             HOLGUIN                TX     75096230031
9532B62A95B548   ALEXANDRIA         SHIELDS                NM     90011026209
9532B65397B39B   SANDRA             CASTILLO               VA     90005366539
9532B658977537   JANET              WILLIAM                NV     43079656589
953312A4391599   RUBY               PALMA                  TX     90014842043
95331AA5477537   LIDIA              NAVARRO                NV     90013570054
95332632197B59   CARPIO             NIRA                   CO     90012456321
95332985972B3B   CORRIE             DURST                  CO     90006749859
953334A882B982   PAIGE              DOMANSKI               CA     90009444088
95333613A77537   RUTHELLA           HARA                   NV     43072686130
95333694172B22   PAUL               GARCIA                 CO     33081476941
95333735A5B361   JOSE               VILLALOBOS             OR     90012287350
953344A465B548   CATHERINE          LUCERO                 NM     90006224046
9533462694B271   NOE                NOLASCO                NE     90009486269
95335352672B3B   ANGELA             MAESTAS                CO     90010713526
953353A635B361   NICOLE             ROWAN                  OR     90007573063
95335625A8594B   KIMITA             KOTARO                 KY     90011746250
95335845197B59   AUDREY             FIELDS                 CO     39009998451
9533639498594B   MARK               ABNER                  KY     90004743949
953369A8872B22   AUNDRA             DRAKE                  CO     90014929088
9533717265599B   RICARDO            GUZMAN                 CA     90008101726
9533729128B175   JORDAN             VIGOS                  UT     31075292912
9533753AA91951   ANTONIO            ALSTON                 NC     90012895300
953381A6555951   CARLOS             BOTELLO                CA     90014911065
953382AA724B22   BLADIMIR           ARIAS                  VA     90014492007
9533841A48594B   ASHER              KHAN                   KY     66093244104
95338792197B59   MIGUEL             LOPEZ                  CO     90013937921
9533887998B152   FRED               RODARTE                UT     90013098799
953394A2972B3B   MOHAMED            MAHMOUD                CO     33065444029
9533986815B389   SHANTE             HINSHAW                OR     90002588681
95339A8233164B   CHERYL             HERNANDEZ              KS     90008210823
9533B172672B56   JUAN               ANGUIANO               CO     33020871726
9533B218933641   BYRUM              GILBERT                NC     90001302189
9533B84AA71945   GAMALIEL           HERRERA                CO     90015218400
9534133945B389   CHRISTINA          LAWRENCE               OR     44566313394
9534149617B444   SADE               MCCRORY                NC     90011144961
953421A1555951   MARIA DE LOURDES   RIVERA                 CA     90003661015
95342A5548B152   KRYSTAL            YODER                  UT     90013820554
95342AAA45B531   DAVID              PURSCELLEY             NM     90012480004
9534333535B548   YAZMIN             BARRAZA                NM     90015193353
953436A6555951   RHONDA             HERRERA                CA     90002826065
95344286197B59   KAREN              SCHIMMEL               CO     90014552861
95344424524B22   ANTREZ             TAYLOR                 DC     90014704245
95344992572B22   RACHEL             GAGLIARDI              CO     90008419925
95344A84A72B42   NIGEL              MAYERS                 CO     33084000840
9534556895B383   RONALD             VIDAL                  OR     90004255689
953455A3581634   DAWN               BROWN                  MO     90005305035
95345A8785B531   YOLANDA            TREJO                  NM     90014510878
9534629378594B   DAVE               WAGNER                 KY     66024752937
953468A5572B32   CLAUDIA            KOPRINOCK              CO     33097138055
95347743472B42   ANTHONY            BECK                   CO     90010647434
95348313A71964   GABRIELA           FELIX                  CO     32080673130
9534891A87B429   CHRISTOPHE         GRIFFIN                NC     90013849108
9534898548B175   DANA               COMBS                  UT     31072249854
95348A96141296   SHAWNA             GERSON                 PA     51017950961
9534B519272B56   EMILY              PIERCE                 CO     33071105192
9534B868597B59   KYLIE              PHILLIPS               CO     90013938685
9535167655B389   MELISSA            MORRIS                 OR     90003046765
9535183925B531   ROBERTA            MORALES                NM     90014478392
95352816972B56   LUIZ               LOPES                  CO     33003298169
9535364455B531   ROBERTA            CAMBRIDGE LUCERO       NM     90010396445
95353A3565B361   RICO               SILVESTRE              OR     44539440356
95353A79166186   GLYNIEL            COSTELLO               KS     90014120791
953544A9555957   LUIS               MARTINEZ               CA     90014254095
953546A1A77537   MELE               KILIONI                NV     90014816010
9535471894B288   JAMES              PRICE                  NE     90013427189
9535519A372B32   JAMIE RAYLENE      RIVERA                 CO     90010611903
9535533255B361   JUAN               ROSALES                OR     90011263325
95355712472B3B   KELLI              PADDIL                 CO     33084607124
95355872A72B22   LAURA              LUCERO                 CO     90008278720
95355A33991599   ALBERTO            DELGADO                TX     90012150339
95356246172B22   ANNETTE            QUINTANA               CO     33042752461
95356359397B59   JENNIFER           ALDRICH                CO     90012753593
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1721 of 2350


9535655868B152   CECIL                  RHOADES             UT    90000205586
9535684A772B3B   JENNIFFER              WITT                CO    90008298407
9535765955B361   JESSICA                CHAMBERLIN          OR    90010816595
95357888272B3B   PERRY                  SMITH               CO    33048018882
95357985A93732   JAMES                  HAMILTON            OH    64542729850
95357A64955951   ALEJANDRA              BARRAGAN            CA    90012970649
9535815464B588   KEITH                  SEEBACK             OK    90015291546
953584AA291951   LUIS                   RODRIGUEZ           NC    90013964002
9535872A577537   EVELYN                 REYES               NV    90012157205
95359418A55957   EVELYN                 SERVEY              CA    90001214180
9535962917B444   WILFREDO               CORTEZ              NC    90011416291
9535985244B588   SHERRI                 VANEK               OK    90003078524
9535989768B175   ELIANA                 RIVAS               UT    31092338976
9535B33855B389   MORGAN                 CREASON             OR    90015383385
9535B462491531   FRANCISCO              RAMIREZ             TX    75016114624
9535B59325B389   MORGAN                 CREASON             OR    90011675932
9535BA72572B22   NATASHA                POWELL              CO    33068770725
953621A5355951   CHANTHATHO             PHOUIKHAMBAY        CA    49050981053
9536234AA33633   JULIO                  GARCIA              NC    90012443400
9536273A63164B   SHARON                 ECHOLS              KS    90009917306
95363A48A2B982   ALEJANDRO              FRANCO              CA    90002180480
95363A65A72479   KEITH                  SHORT               PA    90010500650
95364924A72B22   DAVID                  THOUTT              CO    33004959240
95364A2292B256   RACHEL                 THORNE              DC    90002640229
9536534762B982   DANIEL                 RUIZ                CA    45002753476
9536551715B548   BARBARA                MUNOZ               NM    35025495171
95365A5637B444   MONTREL                CARROLL             NC    90011520563
95365A6733B334   ANGELIQUE              BLACKWELL           CO    90004980673
95366183A72B33   PAUL                   SINCERE             CO    33036731830
9536645115B531   BILLY                  SEDILLO             NM    35013504511
95366A2724B588   CHAQUANA               THOMPSON            OK    21518750272
95367145524B22   AGATHA                 CHEVALIER           DC    90000371455
95369669572B62   DANA                   RODRIGUEZ           CO    33041726695
95369A45597B59   ANTHONY                REESE               CO    90014490455
9536B435872B62   MICKENNON AVERY        CORDES              CO    90014934358
9536B554355951   JEANA                  BUSTAMANTE          CA    49073215543
9536B622872B56   JORGE                  OSORIO              CO    90003136228
95371593272B3B   JOSE                   CASILLAS            CO    33071675932
95372148872B42   STEPHANIE              POTTER              CO    90015021488
9537235A85B531   MISTY                  HALTLI              NM    35087903508
9537242742B982   SONIA                  GUTIEREZ            CA    45014454274
95372946A5B548   ATHALIA                JIRON               NM    90006109460
95372A49491599   KARLA                  PEREZ               TX    90011990494
9537331965B389   EDGAR                  BUDAR MORALES       OR    90012213196
9537368542B982   LOURDES                RIVAS               CA    45032166854
9537418935B361   TODD                   MAMMEN              OR    90014721893
9537474345B389   SHANE                  BAKER               OR    90013077434
9537547213164B   DEANNA                 DAVIS               KS    22093484721
9537549325B383   NICOLE                 JOYNER              OR    90013884932
9537586162B237   DOMINIQUE              LEWIS               DC    90012568616
9537672194B588   BENTON                 MECCAULEY           OK    90006217219
9537734675B389   JAMES                  CLAUSON             OR    90012833467
9537735165B383   TRAVIS                 CAGLE               OR    90015303516
95377953272B56   FIKRET                 SELIMAGIC           CO    33006229532
9537817434B588   PATRICIA               PATTERSON           OK    90015131743
9537818935B361   TODD                   MAMMEN              OR    90014721893
95378199372B22   GABINO                 VILLA               CO    90012121993
9537867A991599   MARTHA                 RIOS                TX    75065026709
953789AA172B3B   ROCIO                  TINAJERO            CO    33059349001
9537932A172B62   SALLY                  RELIHAN             CO    90001233201
9537934828594B   MELINDA                A WHITAKER          KY    66001223482
953794A3161977   ERIK                   GARCIA              CA    90010284031
9537972295B531   FLOYD                  BEUTLER             NM    90013357229
9537996725B383   ROBERTO                CHAVEZ-ZIRANDA      OR    90012389672
9537BA75472B3B   SOCORRO                PEREA               CO    90012880754
9538134685B263   ROBERT                 BURGIN              KY    90013703468
9538175522B982   DIANA                  RODRIGUEZ           CA    90012137552
95382526197B59   MARTIN                 TERRAZAZ PALLARES   CO    90014305261
9538323AA97B59   MARIA DE LOS ANGELES   CARPIO              CO    90012392300
9538445245B383   JAMES                  WILLIAMS            OR    90015454524
9538468782B982   REFUGIO                LLAMAS              CA    90005506878
95384735A55951   DEBRA                  RUFLES              CA    90012317350
9538478652B98B   LIFT EQUIP             PM CRANE PARTS      CA    90004047865
95384868897B59   KRISTINA               WHITE               CO    90003798688
9538487282B873   JESSE                  BRESHEARS           ID    90011148728
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1722 of 2350


95384A86591599   VERONICA        BANDA                     TX     90012890865
953859AA75B177   BRENDA          HENTON                    AR     90005199007
953861A1391951   FELIPE          MOLINA                    NC     17075781013
953865A1172B42   STEPHANIE       GALLARDO                  CO     90010025011
9538678744B588   CHERYL R        GREENE                    OK     90012387874
9538918935B361   TODD            MAMMEN                    OR     90014721893
9538958545B531   JASMINE         TREVINO                   NM     90013175854
9538B5A6A91599   SERGIO          HERNANDEZ                 TX     90015295060
953911AA75B531   JEANETTE        MOYA                      NM     90012511007
9539153543164B   CONNIE          MASHBURN                  KS     90013285354
9539199685B361   ASENCION        ROMERO                    OR     44591569968
953922A9691599   MARIA ADRIANA   CALVILLO                  TX     90011612096
9539244515B383   IRMA            SANTIAGO                  OR     90002344451
953931A9191531   GLORIA          PUGA                      TX     75034521091
9539334512B982   JESSICA         MESA                      CA     45025213451
9539348AA7B444   ANTONIO         BUCK                      NC     11086264800
95393536172B42   MISCHELLE       JOHNSON                   CO     33088455361
9539376A672B93   ROBERT          ARAMIANTS                 CO     90006977606
9539422175B531   MANUELITA       ESTRADA                   NM     35065392217
95395398697B59   JESUS           ALENCASTRO                CO     39011373986
953954A4391399   MARIA           CAMPOS                    KS     90014764043
953955A5591599   ARASELI         LLANAS                    TX     90011515055
95395A83733698   KAREN           EZEKIEL                   NC     12009220837
9539634825B531   ANNETTE         BORUNDA                   NM     35032973482
9539695265B548   VICTOR          TENA-GOMEZ                NM     35046429526
9539726155B389   RENEE L         MILLER                    OR     90013222615
95397417672B42   LUIS            AVILA                     CO     33047164176
9539744538B152   GUADALUPE       HERNANDEZ                 UT     90015384453
95397573A5B531   NATALIE         FOSTER                    NM     90011205730
9539834565B548   KELLY           MONTOYA                   NM     35090403456
9539865AA97B59   CATALINA        GONZALES                  CO     90014876500
9539883A85B361   JOSE            URTEZ                     OR     90013888308
9539885737B444   FLORENTINO      MORA                      NC     90009188573
95398879172B22   ENEDINA         SOTELO                    CO     33095248791
95398A16472B3B   KRISTY          SMITH                     CO     90002710164
95399256872B32   WILLAMS         LATAVIA                   CO     90010172568
9539926765B356   TODD            KIMMICH                   OR     90001642676
953993A565B134   LIZETH          VAZQUEZ                   AR     90012733056
95399855697B59   LUISA MARIA     NIETO RAMIREZ             CO     90005118556
95399AA8241296   MARC            REED                      PA     90012060082
9539B314997B59   PAUL            ESPINOZA                  CO     39003133149
9539B423793755   DANIELLE        RHEIN                     OH     90011854237
9539B928177537   SAMANTHA        MOORE                     NV     90008959281
9539BA54691599   NANCY           HERNANDEZ                 TX     90013830546
9539BA9545B383   LILLIAN         LEE                       OR     90014860954
9539BA96155951   CECILIA         DAY                       CA     90015060961
953B1384155957   GUADALUPE       SANDOVAL                  CA     49085283841
953B138865B389   NICOLE          THARP                     OR     44521923886
953B1453672B32   MARIA           SIERRA                    CO     33026554536
953B173184B588   SHANNA          THOMPSON                  OK     90001847318
953B1823291531   JOSELUIS        ARAMULA                   TX     90010588232
953B2226472475   MARY            DIMAGGIO                  PA     51079562264
953B2835791599   CASAREZ         GABRIELA                  TX     90013048357
953B283915B361   MICHAEL         RITCHIE                   OR     90013558391
953B3433672B46   ANTONIO         MARTIN                    CO     90009504336
953B371A772B22   ALEXANDER       SHEA                      CO     90010427107
953B37A5397B59   TAMMY           MANN                      CO     90013937053
953B3954491532   LAURA           CAZARES                   TX     90001009544
953B4152291531   MARYBELL        PARADA                    TX     75080051522
953B469744B524   KATHLEEN        MCMAHON                   OK     90008356974
953B4847972475   DAYNA           SNEED                     PA     90014278479
953B4A83172B56   BILLY           STONE                     CO     33033360831
953B517144B588   CHARLES         DOTSON                    OK     90013701714
953B5373A91951   ORLANDO         HERNANDEZ                 NC     90011163730
953B5659297B59   KIMBERLY        PONCE                     CO     39027896592
953B5934172B22   NUKA            GUTERREZ                  CO     90008559341
953B5A35772B3B   BOBBIE          CROSBY                    CO     90013240357
953B5A42172B3B   BOBBIE          CROSBY                    CO     33022440421
953B6151293768   JEREMIAH        ESTEP                     OH     64586011512
953B6676572475   LISA            BRUCE                     PA     90013196765
953B669295B361   SIEGFRIED       LIPSCOMB                  OR     90012556929
953B67A5991951   CYNTHIA         RUSSELL                   NC     17021407059
953B6896272B3B   COLLEEN         SALGADO                   CO     33017808962
953B6A43591599   ZAMIRA          CARBAJAL                  TX     75016610435
953B6A4A48B152   RICHARD         CROSSLEY                  UT     31070010404
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1723 of 2350


953B718255B548   YARIMA               OCHOA                NM     90013901825
953B7463491399   WHENDY               LOPEZ                KS     29064044634
953B7784897B59   REBECCA              URIBE                CO     90013157848
953B8192791531   ANDREW               POBLANO              TX     90015021927
953B8575997B59   DESTINAE             DEBOER               CO     90012785759
953B8A27191599   MAYRA                EVANS                TX     90009360271
953B8A94761977   JAMES                RUSH                 CA     90013160947
953B9313891531   LUIS                 RIOS                 TX     75019163138
953B953858B152   RICHARD              REYES                UT     90015465385
953B971942B982   ISABEL               ORTIZ                CA     45024107194
953B976243164B   DUSTIN               MILLER               KS     22044287624
953B984295B361   JEFFREY              JOHNSON              OR     44554818429
953BB167A55957   RICHARD              PEARSON              CA     49026601670
953BB21215B383   RAYMOND              BEARD                OR     44567772121
953BB325672B22   BART A               PFEIFER              CO     90013243256
953BB6AA441251   LACEY                BAUER                PA     51004466004
953BB73A772B22   MONICA               GARCIA               CO     90014277307
9541123795B383   DAVID                SUAREZ               OR     90011332379
9541189A433698   MARTHA               SAWYER               NC     12079328904
95411927A4B588   TAYLORDESIRE         LOGAN                OK     90010239270
9541192855B531   ANNETTE              TRUJILLO             NM     35033769285
9541251815B383   MICHEAL              BRAMBORA             OR     90005835181
95412A8A591531   MARYHELEN            MAESE                TX     75012170805
95413494272B22   PERLITA              CHAVEZ               CO     90015134942
9541366A872B32   NICOLE               SILVA                CO     90012226608
9541378623B341   MARCIAL              BARRON               CO     90006177862
9541398142B982   JOSE                 CAMPA                CA     90013039814
9541427683B331   ERIC                 BAUM                 CO     90003382768
9541451825B531   NATHAN               LOPEZ                NM     90013015182
9541474438B175   JJ                   MARTINEZ             UT     90001547443
954163A878594B   NANCY                WHITTAMORE           KY     66079783087
9541668577B444   ARELI                MARTINEZ             NC     90003596857
9541688814B588   TROY                 PARKER               OK     90001808881
954168AA397B59   RICHARD              PALMIER              CO     90011148003
9541768735B389   HABTEMARIAM          KIDANE               OR     90013656873
9541784915B548   YASET                YERA-TORRES          NM     90014918491
9541836345B389   JAKE                 HARPER               OR     90009713634
95418597197B59   STEVEN               CORDOVA              CO     90010615971
9541862A18B173   SHAWANA              BENTLEY              UT     90006656201
95418821A8B152   GWENDOLYN            DERAGAN              UT     90009468210
9541887693164B   MIGUEL               LUYVA                KS     90008958769
954189A315B361   CAROLYN              OAKS                 OR     90011079031
9541B23A37B389   ARIEL                FERRUFINO            VA     90000792303
9541B27688B152   WILLIAM              FRYE                 UT     31091032768
9541B33155B389   SYDNEY               JAMISON              OR     90011983315
9541B461272B62   TINA                 NATION               CO     33087564612
9541B66494B588   JOHN                 TILTON               OK     90015286649
9541BA74A97B59   JACKIE               HU                   CO     90013940740
95421678A5B548   THERESA              SILVA                NM     90009376780
9542233295B361   ALFONSO              AGUILAR              OR     44561533329
9542376278B175   ZACHARY              PERKINS              UT     90011157627
9542393A455951   ISABEL               LOMELI               CA     90011099304
9542423979193B   LATOYA               TAYLOR               NC     90003662397
9542426185B185   KAREN                HAMPTON              AR     90001402618
95424435272B32   VICTORIA             MCDOWELL             CO     90003564352
9542463135B548   JEHAN MOHD MUSTAFA   SARRAR               NM     90013696313
95424813A51391   SUMMER               COLWELL              OH     90012498130
9542513A34B588   JULIE                RICHARDSON           OK     90014681303
9542528835B389   VAUGHN               WINKLER              OR     44574902883
954252A7861941   MELISSA              VILLALOBOS           CA     90007912078
95425343997B59   KELLY                SMITH                CO     90014853439
9542611825B383   STEPHEN              GRAY                 OR     90014551182
9542653344B565   ALVIN                HARRISON             OK     90008395334
95426697472B32   AUTUMN               NELSON               CO     90012136974
954267A4491531   LISA                 VIGIL                TX     75019057044
95426A7AA91599   JOSE                 ESCOBEDO             TX     90013990700
95427212A5B531   BENITO               HERNANDEZ JR.        NM     35051592120
9542765787B349   MARTIR               PAGUADA              VA     90010456578
95427671872B3B   THOMAS               TOLIVER              CO     33076056718
95428595A91599   ALEJANDRA            HERNANDEZ            NM     75051555950
95428643772B42   JENNIFER             HAMMONDS             CO     33002566437
95428754A55957   MARQUAY              WILLIAMS             CA     90014257540
95428A3965B389   JULIAN               LUEVANO-MARTINEZ     OR     90013510396
95428AA6177537   LIDIA                BARAJAS              NV     43044650061
9542924564B949   COMALETA             HELMICH              TX     76592052456
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1724 of 2350


954292A588B623   JOSE           GEVARA                     TX     90013832058
9542935692B982   EFREN          JIMENEZ                    CA     90014693569
95429436397B59   MIKE           LANDIN                     CO     90013764363
9542B14A273261   ASHLEE         BISHOP                     NJ     90014021402
9542B278A91399   NATALIE        DEDRICK                    KS     90014182780
9542B46925B531   LESLIE         OLIVAR                     NM     35095504692
9542B66455B548   MEREDITH       HARRISON                   NM     90014146645
9542B96895B381   DERRICK        POTTER                     OR     90009159689
9542BA54791599   RAQUEL         ALLARD                     TX     90013830547
9543158985B361   JUANA          ESPINOZA RODRIGUEZ         OR     90006005898
9543191588B152   CAROLINA       TABLAS                     UT     90006519158
95432262372B42   FLORA          WILLIAMS                   CO     33014572623
954331A8872B42   MARTIN         VERGARA                    CO     33069541088
954333A874B588   KARINA         GARCIA                     OK     90012843087
95433A78972B3B   JORDAN         FRICKE                     CO     90011440789
954341A425B389   THOMAS         DAUGHERTY                  OR     90014871042
95434227272B22   TYLER          NYE                        CO     90012362272
95434455797B59   MARIAH         AGUILAR                    CO     90013324557
95434AA194B588   LAQUANETTE     GRAVES                     OK     90012770019
95435539A55957   EVA LUZ        CAZARES GASTELUM           CA     90014215390
95435672372B22   ARTHUR         MARTINEZ                   CO     33002846723
95435A9963164B   PENNY          CALHOUN                    KS     90012770996
9543612177B358   ALEX           GOMEZ                      VA     90008301217
9543655215B548   PATRICK        AGUILAR                    NM     90014135521
9543678893164B   CAREY          HAGGARD                    KS     90000167889
9543728AA72B62   JOSE MANUEL    ARELLANO                   CO     90001212800
954375A4691531   MCDANIEL       IRENE                      TX     90015195046
9543774AA72B32   ERIC           MCCABE                     CO     90014697400
9543794215B389   FREDRICK       WERKHEISER                 OR     44566609421
954381A5A55957   ANTHONY        SUMMERS                    CA     90012521050
9543973585B548   CRISTIAN       TORRES                     NM     90015577358
9543977667B444   LAKIESHA       LANES                      NC     90015167766
95439A43591951   BARBARA        MASTERS                    NC     90012670435
9543B1A5A55957   ANTHONY        SUMMERS                    CA     90012521050
9543B81834B588   VALENTE        HARRIS                     OK     90010098183
9543BA69372B42   GEREMY         GONZALES                   CO     33055920693
95441327672B42   GERALDINE      MANDEZ                     CO     90004103276
9544143AA5B361   FRANCI         MEDINA                     OR     90009984300
95441622872B56   JORGE          OSORIO                     CO     90003136228
95441942353B2B   WYATT          COULTER                    CA     90012839423
95441A5558B356   OBRIEN         WATKINS                    SC     90015350555
9544234A75B383   SOCORRO        BELTRAN NIETO              OR     44518213407
9544258348594B   DAVID          MACINNIS                   KY     90012535834
95442848772B32   DANIEL         PRUSIK                     CO     90013628487
954428A8991399   JOSE ALFREDO   HERNANDEZ                  KS     90009228089
9544329173164B   CAROLYN        LEE                        KS     22015732917
9544366388594B   TRACI          LAWSON                     KY     90004276638
9544391395B389   GASPER         GONZALEZ                   OR     44503039139
95443AA2972B3B   JEREMY         PACE                       CO     90003770029
9544438545B548   NIKKI          MORGAN                     NM     90010953854
95444455797B59   MARIAH         AGUILAR                    CO     90013324557
95444573472B42   MANUEL         ESQUIVEL                   CO     90015035734
9544485235B383   JUAN           RAMIREZ                    OR     44579238523
95445155972B22   JOSH           CALEB WEST                 CO     90001051559
954451A624B954   PATRICIA       NABORS                     TX     90014261062
95445291772B3B   THAW OOH       MOO                        CO     90014822917
9544534225B361   KENETH         YOHO                       OR     90005173422
9544584384B588   GREGORY        WALKER                     OK     90011608438
95447357772B3B   MANUEL         PEREZ ESPINOZA             CO     90014403577
9544857A65B361   FRANCISCO      NEGRETE                    OR     90011735706
95448662A5B383   VANTRI         GREEN                      OR     90015286620
954486A1591579   TAMMARA        COBLE                      TX     90011906015
9544887A372B3B   AKAISHA        BROOKS                     CO     90010888703
9544966285B389   AUSTIN         FISHER                     OR     90010616628
954497A6272B22   NICHOLAS       CAMACHO                    CO     33056577062
9544B14114B588   DESIREE        ECKELBERRY                 OK     21561381411
9544B281A4B949   HELEN          WILLIAMS                   TX     90003412810
954515A6193755   CHRIS          GESTNER                    KY     64511905061
954518A614B588   ERIC           BROWN                      OK     21521398061
9545211822B982   BONNIE         ROBERTS                    CA     90014151182
9545213962B982   AALIYAH        VARGAS                     CA     90014181396
9545286724B588   EBELYN         RODRIGUEZ                  OK     90011848672
95452A27472B22   ALEJANDRO      CHAVEZ                     CO     33089890274
95453327372B42   ANDREA         NIERNBERGER                CO     90004103273
9545455667B391   ASHOK          SHARMA                     VA     81046125566
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1725 of 2350


9545456864B565   NICOLE       WEBSTER                      OK     90010655686
95454575672B42   ISELA        RODRIGUEZ                    CO     90015035756
9545487523164B   KEVIN        CRUMP                        KS     90003788752
95454A8124B588   JOSEPHINE    DIAZ MARTINEZ                OK     90000890812
9545514617B444   SIMONE       BELLAMY                      NC     90010401461
95455147172B22   MICHAEL      CARR                         CO     90012451471
95455414672B62   JESSE        MORA                         CO     90014694146
9545546AA8B152   STEVEN       BATTEN                       UT     31014834600
9545552144B588   JEFUF        FAZ                          OK     90015525214
954555A3455957   FABIOLA      GOMEZ                        CA     90012005034
9545664725B361   MARIA        TERESA SANCHEZ LOPEZ         OR     44512676472
9545722958594B   KYLE         SMITH                        KY     90011602295
9545793455B383   JEFF         MARTIN                       OR     90011949345
9545836288B152   JERRY        FLETCHER                     UT     31077633628
9545868197B444   JEFFERSON    FIALLOS                      NC     90008986819
95458948872B32   LESLEY       THORNTON                     CO     33096169488
9545964A95B389   LINA         VERGESON                     OR     90014806409
95459978A5B531   MIGUEL       ROCHA                        NM     35087549780
9545B199372B22   GABINO       VILLA                        CO     90012121993
9545BA4A681634   YVONNE       JENSEN                       MO     29013340406
95461424797B59   BLANCA       FIERROS-AVINA                CO     90012754247
9546145495B531   AVUVENA      MONTES                       NM     90000374549
95461571872B32   SHANIQUA     WELLS                        CO     90014465718
95462213A77537   RONALD       NEILSON                      NV     90001192130
9546236A172B22   SAMANTHA     MARTINEZ                     CO     33046413601
9546263975B383   WILLIAM      OVERHOLSER                   OR     90014006397
95462A44693732   GAYLE        COHN                         OH     90005520446
9546371165B383   RON          LOWELL                       OR     90015157116
9546398665B361   TERESA       TELLADO                      OR     44574789866
954639A7766186   BREANNA      OONS                         CA     90014119077
9546461367B444   JAMES        WILSON LL                    NC     90014346136
95464A6223164B   BECKY        HYDE                         KS     22042940622
95465137A3164B   FELICIA      SLIETER                      KS     90014711370
9546555544B588   RICHARD      BRUNER                       OK     90014405554
95465577A8594B   ERICA        ARD                          KY     90003595770
9546567538B152   SARA         BOOTH                        UT     90008946753
9546696242B982   PILAR        GIL                          CA     45014679624
95466A5A541296   HEATHER      OLSAVICKY                    PA     90013300505
95466A65755951   RACHEL       HERNANDEZ                    CA     90012970657
954671A668594B   SHERRY       HERRERA                      KY     66021581066
9546772715B531   ANNETTE      APODACA                      NM     35003667271
95468238A5B548   EDGAR        MADERA                       NM     90001062380
9546846868B152   BRIANNA      SHIRLEY                      UT     90013934686
95468558772B22   NICOLE       WETZLER                      CO     90006645587
9546857A972B3B   JANELLE      PEREZ                        CO     90009355709
95469124172B56   JESSICA      ATHANACIO                    CO     33076211241
95469358172B32   JULIA        COLVIN                       CO     90004113581
9546947972B982   CHELSEE      BLAND                        CA     90012054797
95469767972B42   ANGELA       LEIK                         CO     90011837679
9546B38A691399   ELMER        RAMIREZ                      KS     90014773806
9546B424197B59   MIGUEL       SOTO                         CO     90000884241
9546B481624B22   WILLSON      TOBAR                        DC     90009964816
9546B64145B361   DAVID        CLITHEROE                    OR     44569386414
9546B838498B22   TRACEY       HAYDEN                       NC     90013798384
9546BA1828B175   RAMIE        RIGGS                        UT     31063920182
9546BA4698B152   ANDREA       MORRIS                       UT     31037800469
954712A6455958   TOMMY        GABBERD                      CA     90013562064
95471714A55957   YOLANDA      RENDON                       CA     49078097140
95471725272B32   LENA         VIGIL                        CO     33011857252
95471A74891399   ROSA         VALLEJO-SANTOS               KS     90014920748
95472463172B22   ANGELICA     PETERS                       CO     90010954631
9547254585B361   ORTIZ        HERRERA                      OR     90001595458
95472A24355951   VANESSA      RESENDEZ                     CA     90014550243
95473545372B22   JULIE        WINKLER                      CO     33067935453
95473643276B5B   ALEJANDRA    GARCIA                       CA     90014776432
9547371AA3164B   JAMES        GRAYSON                      KS     22007247100
95474A82A41296   JEREMY       TALKISH                      PA     90014460820
95475227372B32   KIRK         BRONSON                      CO     33036362273
954764A1591399   EDWIN        CRUZ                         KS     90014184015
9547687185B383   SHERRILYNN   BLANTON                      OR     90014418718
9547691862B982   LEVITA       GOMEZ IGNACIO                CA     90011869186
9547734728163B   TIERRA       MCCARTY                      MO     90006793472
9547833194B588   ROY          UNDERWOOD                    OK     90014153319
9547874838B152   DEBRA        WERTZ                        UT     31089647483
954794A8593778   RICK         JENKINS                      OH     90014424085
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1726 of 2350


95479A95A5B361   ALBERT       GUITIERREZ                   OR     44510840950
9547B26393164B   CASSIE       MCELROY                      KS     90009752639
9547B52A891599   SANDRA       WATSON                       TX     90012205208
9547B661A5B361   TIMOTHY      PENNI                        OR     90007436610
9547B95374B949   CATHY        MCCORMICK                    TX     76586579537
95481A93272B32   ARTURO       QUINONEZ                     CO     90006780932
9548226A55B548   MICHAEL      JEFF                         NM     90010702605
95482389372B62   DEAN         ESQUIBEL                     CO     90014813893
954824A8991599   ROSA         ITURRALDE                    TX     90014544089
95482821A72B22   FAUSTO       CHAVEZ                       CO     90013988210
95482A71572B22   BEN          KASKALAVICH                  CO     33002360715
954836A6255951   ALICIA       MIRANDA                      CA     90012676062
954838A1172B22   HURTADO      ARTHUR                       CO     90011018011
95483A8815B531   ROBERT       GALLEGOS                     NM     90014130881
95484175A5B383   RODOLFO      SANCHEZ                      OR     90005881750
95484218972B42   CHARLENE     PEREA                        CO     90007242189
9548429485137B   TJ           SMITH                        OH     90003322948
95484598972B3B   LEONARDO     ORTIZ                        CO     33011165989
9548471A57B358   JOSE         RIVERA                       DC     90002587105
9548498755B531   HEATHER      THROWER                      NM     90011989875
95485236672B3B   AARO         ROMERO                       CO     33068982366
9548599A691951   N            JACKSON                      NC     90014899906
95486167772B3B   RONNIE       BRUCE                        CO     90013051677
95486353A97B59   MAURICIO     RASCON-ARANA                 CO     90005313530
95486388A3164B   SUELLEN      PARCEL-AMSLER                KS     90013883880
95486499572B98   YADIRA       GARCIA                       CO     90012434995
9548674935B548   FELIX        MERAZ                        NM     35021947493
95486799A8B152   KYLE         FRANCESCATTI                 UT     90012397990
95487137A72B62   DUANE        CABRAL                       CO     33074951370
95487194A72B29   JENNIFER     WERNER                       CO     90004571940
9548851567B444   ANA          MALDONADO                    NC     90010015156
95488922772B62   YOLANDA      VARELA                       CO     33024809227
95489557497B59   VANESSA      LEONARD                      CO     90013945574
954897AA891599   PATRICIA     RENTERIA                     TX     90013617008
95489A76191599   PATRICIA     RENTERIA                     TX     90008110761
9548B1A872B982   ALEJANDRO    GUERRRO                      CA     90013341087
9548B431655957   LINDA        AREOLA                       CA     49034444316
9548B682397B59   LAUREN       VINING                       CO     90006746823
95491195444B96   WILLIAM      ULRICH                       OH     90012321954
9549133493164B   RENAE        HUFF                         KS     90014053349
9549143724B949   EBONY        MATTHEWS                     TX     90000164372
95492158472B3B   JOSUE        PINA                         CO     90000671584
95493199372B22   GABINO       VILLA                        CO     90012121993
9549325462B982   CHRIS        LERMA                        CA     90014282546
95493986497B59   YESENIA      ARREDONDO                    CO     90012639864
9549414AA3164B   MASON        PERCIVAL                     KS     90013961400
9549443575B389   SHAWNA       WERKHEISER                   OR     44566624357
9549465935B531   JAMES        GOFF                         NM     90009166593
954946A1A8B175   VLADAMIR     ANDRADE                      UT     31051456010
9549498495B361   POE          ADAM                         OR     90012139849
9549558925B531   VICTOR       MONTES-GOMEZ                 NM     35093975892
95495819672B32   DANIEL       RODRIQUEZ                    CO     33035898196
9549598A24B554   MARQUITA     PHINISSE                     OK     90003809802
95495AA2A61977   MARILYN      MORRIS                       CA     90001530020
9549655115B361   MAC          MALTASE                      OR     44561485511
954977A6491599   PETER        CUELLAR                      NM     75093797064
95498218A77537   REINA        SALAS                        NV     90015112180
95499137272B62   APRIL        JOHNSON                      CO     90005961372
9549948A55B531   DAMARIS      GUTIERREZ                    NM     90007414805
95499711897B59   MARY         CLADINOS                     CO     90013317118
9549B57954B949   RAUL         REBOLLAR                     TX     90003855795
9549B59617B444   SHERICE      HAYWARD                      NC     90014825961
9549B923A93738   ALISHA       HUNTER                       OH     90015079230
954B263845B389   SHEILA       MCCOMBS                      OR     90013006384
954B2834991579   BRENDA       PAYNE                        TX     75094228349
954B2845A55957   MICHELLE     ESTRADA                      CA     90005938450
954B38A9672B62   THERESA      MCCOY                        CO     90011398096
954B3A4748594B   MARK         KENNEDY                      KY     90012670474
954B411584B554   ELNORA       DEER                         OK     21540721158
954B4284172B42   PRICILLA     CALDERON                     CO     33059072841
954B477473164B   FRANKLIN     WHERRY JR                    KS     90011937747
954B5365272B42   IRENE        PACHECO                      CO     90003683652
954B54A6633623   PABLO        MONDRAGON                    NC     90008694066
954B5682351391   AMANDA       JJOHNSON                     OH     90012476823
954B569444B949   JUSTIN       RICHARD                      TX     90008506944
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1727 of 2350


954B574233164B   PABLO        CLEMENTE                     KS     22018337423
954B599835B389   BARBARA      GASTON                       OR     44501759983
954B638A555957   JIMMY        WILLIAMS                     CA     49015093805
954B6433172B42   MARGARITA    CASTANEDA                    CO     33057954331
954B6719172B62   ALEX         NOYES                        CO     33083337191
954B6927A72B42   MONICA       ZAMORA                       CO     90009859270
954B696133164B   JANAYA       PAYNE                        KS     90001689613
954B6A64393755   JON          MOODY                        OH     64527740643
954B718345B383   CRYSTAL      HILL                         OR     44512831834
954B7686355957   ASHLEY       ROSE                         CA     49040316863
954B7A17481634   JAMIE        SKILES                       MO     29004710174
954B8133972B32   JOAQUIN      AYALA                        CO     33044291339
954B825295B361   JENNIFER     NORTH                        OR     44531202529
954B8993672B62   SELENA       LARES                        CO     90002699936
954B8A76591599   MARIA        GUERRERO                     TX     90005650765
954B9344972B22   TIMOTHY      SINGER                       CO     90013113449
954B9763877537   ALICIA       FRANKLIN                     NV     90015117638
954B994345B383   AGUSTIN      MARTINEZ                     OR     90014959434
954BB326A77537   KEVIN        KENT                         NV     90013273260
954BB59558B138   ANTONIO      LOPEZ                        UT     90007935955
954BB619A8B175   MIRKELI      NICHOLS                      UT     31067846190
9551118A95B383   ANTIONN      DAVIS                        OR     90010801809
9551119657B444   KENNETH      PELTON JR                    NC     90014621965
95511654997B59   DEREK        SMITH                        CO     39077206549
9551167753164B   MALINDA      BROCKUS                      KS     90011276775
9551199A45B361   ADRIANA      OSEGEDA                      OR     90006219904
95512465172B22   SANTOS       EDITH-GALLEGOS               CO     33067934651
9551271895B383   RICHARD      MOSELEY                      OR     90011907189
9551295435B389   ADRIANNA     CAZORLA                      OR     44546489543
95513878772B32   RODOLFO      DOMINGUEZ                    CO     90012938787
95514641A72B62   MELINDA      PERSON                       CO     90009386410
955146A4591599   ADRIANA      JUAREZ                       TX     75080516045
95514729A72B32   DANIEL       GARCIA                       CO     90014677290
9551564965135B   PAMELA       PRYOR                        KY     66036226496
9551578818B152   LARRY        EAST                         UT     31096917881
95515AA2A72B42   SHEILA       WILSON                       CO     90014900020
95516736A7192B   TIMOTEO      DELIRA                       CO     90014947360
95516891A93755   MELISSA      DANIEL                       OH     90012328910
9551693A67B444   ANTWONNA     CLAY                         NC     90011069306
95516A5425B361   ELEESA       KELLY                        OR     44530940542
95517AA5324B22   WANDA        PARKER                       DC     90010510053
95518325A3363B   BLACK        K AREN                       NC     12003833250
955188AA47B359   LARTEY       LEONARD                      VA     90011958004
955189A9197B59   RACHEL       GARCIA                       CO     39055139091
9551973795B548   JOSEPH       JUSTICE                      NM     35002417379
9551974367B444   BETY         GUZMAN                       NC     90006717436
9551B63145B361   SALVADOR     ARREOLA ALDACO               OR     90014006314
9551B693991399   CESAR        MUNOZ                        KS     29093826939
9551B883891531   ANA          MORENO                       TX     75031518838
9551B91748594B   MARCUS       VANCE                        KY     90012319174
9551BA1524B588   RANDY        FOX                          OK     90010190152
9552111418594B   JOHN         HOLT                         KY     90007161141
955211A2371965   TRACI        CORY                         CO     90002251023
9552141188B152   JAMES        SIEGER                       UT     90010624118
955214A8141296   KATHLEEN     GEIGER                       PA     90009004081
9552199434B949   CHAD         PERKINS                      TX     76522579943
95521A93197B59   MICHAEL      KUNTIZ                       CO     90014390931
95522352A8B152   WENDY        GONZALEZ                     UT     31025303520
95522457A3B398   RODNEY       DALSASSO                     CO     90003974570
95522589A72B62   TONYA        DEANN                        CO     90015095890
9552295565B383   EUGENIO      GRANDE                       OR     44578469556
95523329172B42   RAYMUNDO     VAZQUEZ                      CO     90006293291
9552345114B277   PATRICK      MASCARELLO                   NE     90014894511
9552356528B849   ANDRES       YACAP                        HI     90014745652
9552388AA41296   DAVID        SKOK                         PA     51030818800
9552397792B885   WILLIAM      NORMAN                       ID     90002059779
95524765472B22   CLEO         S WILEY                      CO     90011407654
95524A7A581634   SAMANTHA     DORN                         MO     90012290705
95525233972B3B   CORIENA      CONTRERAS                    CO     90014022339
955256A465B389   DIANA        BUNKER                       OR     90013896046
95525852372B32   RUBY         SOTO                         CO     90013988523
95525882A2B23B   PHYLLIS      HARRIS                       DC     90003508820
95526937A91531   LATONDRA     MOULTRIE                     TX     75086239370
95526A41A8B152   ZACHARY      BARTUNEK                     UT     90013480410
95526A9795B525   BRADFORD     RINGGER                      NM     35095750979
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1728 of 2350


9552736148B175   JUSTIN                 GUALAZZI           UT     90003973614
9552761594B949   RONALD                 GEORGE             TX     90012706159
9552782A872B22   ANA                    ORTEGA             CO     90013988208
95528287872B62   ROBERTA                FARLEY             CO     33045952878
95528A61681634   LADONNA                SANDERS            MO     90005890616
9552956228B152   ALEXIS                 KELSO              UT     90012155622
9552993A55B531   DAKOTA                 MARQUEZ            NM     90012799305
95529A51477537   MARIA DE LOS ANGELES   AYALA              NV     90011860514
9552B329972B32   TOM                    RONCHETTI II       CO     33005353299
9552B395177537   NATALIE                BOARDMAN-MAY       NV     90008993951
9552B5A338594B   ADAM                   MATHEWS            KY     90010415033
9552B788397B59   JOHN                   KILLINGSWORTH      CO     90008867883
9552B859961941   RONALD                 BARRIOS            CA     90009868599
9553133355B383   SHANNON                MACY               OR     90013113335
9553141384B588   DOYLE                  PETTIS             OK     90005024138
95531515A33698   APRIL                  CARAWAY            NC     12004305150
9553156585B383   SHANNON                MARCY              OR     90002665658
95531A3668595B   JULISA                 VELASQUEZ          KY     90013630366
9553212654B554   LEE                    DUNNUM             OK     90000861265
95532811372B62   JOSE                   YANEZ              CO     90013238113
95532A47672B22   SARAH                  MARQUEZ            CO     90013610476
955332A678B152   JORGE                  TORVAR             UT     90014282067
9553345A261977   ELIZABETH              LUQUEN             CA     90009614502
955343A585B361   MARIA                  ECHEVERIA          OR     44569033058
9553493337B444   JOSE                   BALTAZAR           NC     90011069333
95535751572B56   PITA                   JOSEPH             CO     33096937515
9553717674B588   MAIA                   DAVIS              OK     90015131767
95537A95272B22   TINA                   HUDSON             CO     90012190952
9553858A472B62   DANIEL                 ARITA              CO     33045505804
95539485172B93   JOESEPH                SHUMSKY            CO     90009364851
955398A924B588   CHARLES                TATE               OK     90012438092
95541137672B42   MARCELA                OLIVAS             CO     90011371376
9554116A781634   ANGELA                 LILES              MO     90011511607
95542A6235B361   MICHAEL                NEWBOULT           OR     90012040623
9554328625B389   JACOB                  MILLER             OR     90013242862
9554473237B444   TERESA                 HARRIS             NC     11086037323
955448A2491399   CHEZ                   WHITE              MO     90014188024
9554537365B531   HECTOR                 CLAUDIO-LUNA       NM     90000993736
95545595672B42   MAYBELLINE             RUIZ               CO     90015035956
9554572622B958   NIDIA                  ROY-ARELLANO       CA     90011567262
95545821A72B22   FAUSTO                 CHAVEZ             CO     90013988210
95545942A3164B   JENNIFER               GRUBE              KS     22038409420
95545A4A35B361   ROBBERT                STAPLES            OR     90005300403
9554668945B531   MARTIN                 MALDONADO JR       NM     35076976894
95546814972B62   ARTURO                 CORONA             CO     90006928149
95546988972B42   ALICIA                 BARRERA            CO     33006199889
95547288A91599   JOSE                   QUINTANA           TX     90002692880
9554877885B361   EVA                    SARABIA            OR     44502937788
95548A36472B32   ARTURO                 HUERTA             CO     90014230364
9554955117B444   MOORE                  SABRINA            NC     11035735511
9554B195961977   NICHOLAS               REZNIK             CA     46046511959
9554B621872B22   MARC                   MATTERN            CO     90015126218
9555111285B275   TROY                   MURPHY             KY     90012381128
9555113434B588   CLAY                   BRINSON            OK     90014841343
9555131A87B444   MARCO                  PINEDA SIERRA      NC     90010233108
9555168635B389   JAY                    BROWN              OR     90012626863
95551877197B59   FABIAN                 PUENTES            CO     90013948771
95552164772B32   BARBARA                METZGER            CO     90010731647
9555244595B531   MARTHA                 MAGDALENO          NM     90014494459
9555256A593778   NORMA                  PODOS              OH     90006075605
95552589172B22   SONIA                  GALLEGOS           CO     90000705891
9555289935B548   VERONICA               REYES-HERNANDEZ    NM     90012838993
95553678972B22   BHIM                   RAI                CO     90009826789
9555391A95B361   DANIEL                 DUARTE TORRES      OR     44598629109
9555416719712B   JONATHAN               MUNOS QUIROZ       OR     90009891671
9555438A45B389   RICHELE                SCHULTZ            OR     90000993804
9555485824B588   LATASHA                REED-LA GRANGE     OK     90008438582
9555551A64B588   BRANDY                 WILLIAMS           OK     90012865106
9555555198B152   BURBACH                ASHELY             UT     90006145519
95555A63355957   ANNA                   QUINONEZ           CA     49034540633
95555A65372B3B   JASON                  STONE              CO     90007570653
955564A245B383   MISTY                  ROBBINS            OR     44531514024
95556844497B59   DENISEE                MIRAMONTES         CO     39092378444
95556A87551331   ALLEN                  ECKERLIN           KY     66010590875
9555722145B531   MIKE                   SUTTON             NM     35003742214
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1729 of 2350


9555747674B588   JESSICA        LINDSEY                    OK     90009804767
95557A2A591399   WILLIAM        FROST                      KS     90011660205
95557A5315B383   DREW           BROWN                      OR     90013690531
955581A568B152   MICHEAL        HUFFMAN                    UT     90004421056
955583A4691599   LILLIAN        BEJARANO                   TX     75033243046
95558A21991951   DEMETRIUS      HOLEMAN                    NC     90012500219
955594A3172B62   ENRIQUE        ZAMORANO                   CO     90014684031
9555B56768B152   HUFF           TALBOT                     UT     90009925676
9555B692391951   ADA            LLOYD                      NC     90014546923
9556176465B361   ADOLFO         GAITAN                     OR     90006437646
9556216828594B   CLINT          WEBSTER                    KY     90008731682
9556264898B152   MILAN          FITZGERALD                 UT     31001156489
95562942597B59   CHRIS          ROBERTS                    CO     90013949425
9556317A372B32   JOHNNY ANGEL   VALLES                     CO     90012411703
9556371863164B   IAN            KING                       KS     22012607186
95563A35572B22   ANIL           ARORA                      CO     90006450355
955644A465B383   VALERIE        WICKHAM                    OR     44558944046
95564595272B22   ALEXIA         AUJO                       CO     90011045952
95564917172B32   FELIPE         FERNANDEZ                  CO     33077729171
95564993972B56   ALICIA         RODRIGUEZ                  CO     33083369939
95565522A47989   KEVIN          HOLMES                     AR     90010765220
9556568232B982   MARIA          VAZQUEZ                    CA     90010826823
9556628277B444   CRYSTAL        BONNER                     NC     90013712827
9556643515B531   VALERIE        CHAVEZ                     NM     90014164351
9556644A272B32   MARIA          GARCIA                     CO     90014944402
95566552A97B59   DANIEL         BLANCHARD                  CO     90007995520
9556684475B383   IVAN           MENDOZA                    OR     90014818447
95567139A8B175   TONY           REYES                      UT     31096241390
9556724AA72B56   JAMES          WALLIS                     CO     33025042400
9556728182B982   ELIZABETH      PATRON                     CA     90011312818
9556744A891399   JONHTHON       DURHMN                     KS     90014854408
9556856884B588   CHERE          OSBORNE                    OK     90009545688
95569127272B32   CYNTHIA        RAMOS                      CO     90005081272
9556968365B361   SARA           BOHMER                     OR     90009536836
9556B65A751396   ODELL          WILLIAMS                   OH     90008946507
9556B933972B22   ANGELICA       CASTILLO                   CO     33057639339
9556B985A5B389   MIGUEL         CARRERA SALAMAN            OR     44595959850
9556BA88455951   MARIA          ALEMAN                     CA     90013240884
95571652372B3B   JESSE          RAMIREZ                    CO     90012246523
9557193262B982   MICHAEL        LION                       CA     90015019326
95571952972B3B   JENNIFER       LOBATO                     CO     90002359529
95572199972B56   HUMBERTO       ORTIZ                      CO     33025711999
9557223A18594B   MICHELLE       MACHCINSKI                 KY     90013042301
95572315324B22   JUAN CARLOS    RODRIGUEZ                  DC     90013573153
95572368897B59   FIDELINO       GUOX                       CO     90013943688
9557252918B175   CRISTINA       VANWEERD                   UT     90000165291
95572558A5B361   CASSIE         ODDIE                      OR     90011345580
95572A93672B3B   STEVEN         KELLEY                     CO     90013180936
9557312A472B56   MARIA          ORTIZ                      CO     33085681204
95573629972B3B   ARIC           HILL                       CO     33074036299
9557367644B588   DONNIE         LOYD                       OK     90004356764
9557382A393755   MATILDA        BLYTCHE                    OH     90012728203
9557412435B548   PAYGO          IVR ACTIVATION             NM     90014101243
9557478A991599   CESAR          HERNANDEZ                  TX     90014107809
9557538185B389   VANESSA        HARE                       OR     44515203818
95575776672B22   DANIELLE       ORTEGA                     CO     33014267766
95575A68561977   JORGE          ZARAGOZA                   CA     90008530685
955774A418B175   KARLA          RAMIREZ                    UT     90009424041
9557759765B548   RACHEL         E BEIGHEY                  NM     90014875976
95577892697B59   DUNIA          GONZALES                   CO     90014098926
9557873A972B32   BARBARA        CORTEZ                     CO     33027317309
95578768A3164B   TRAVIS         PAGE                       KS     90011277680
95578984197B59   JOSE           LOPEZ                      CO     90013949841
95579842472B42   LUZ            TORRES                     CO     90001308424
95579852397B59   JEREMIAH       JUNKER                     CO     90012878523
9557B35362B982   LISA           YOUNG                      CA     90011403536
9557B385991531   SANDRA         CERVANTES                  NM     75010413859
9557B476755951   HARVEY         BENITEY                    CA     49050994767
9557B4A4191951   ROBERTO        HERNANDEZ                  NC     90013674041
9557B758291934   TIFFANY        RUSSELL                    NC     17061117582
9557B969891951   TERRELL        SPEIGHT                    NC     90014909698
9557BA7625B383   ANDREW EVAN    KLONSKY                    OR     90015280762
9558148854B588   JOSHUA         BARRERA                    OK     90009834885
955817A6272B3B   SAMUEL         MEKONNEN                   CO     33041047062
95581A9115B531   MAURO          GARCIA                     NM     90012480911
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1730 of 2350


9558223528594B   KEINER        AGUILAR                     KY     90013472352
9558256A572B22   ANTHONY       ELLIOTT                     CO     90013085605
95583562A5B331   PHILICIA      DEWEESE                     OR     90007445620
9558426AA91599   GABRIEL       DELA CRUZ                   TX     75069662600
9558461A591531   D E GENERAL   CONTRACTORS                 TX     90005726105
95584912A72B62   SALOMON       CRESPIN                     CO     90010019120
9558493117B444   REYMOND       ALEXANDER                   NC     11031159311
95585221472B3B   BRAD          ZIEMANN                     CO     90000102214
95585353A91551   GABRIELA      CORONEL                     TX     90012763530
9558577345B389   ALLUM         DAVID                       OR     90009607734
9558652385B361   JOSE LUIS     GARCIA                      OR     90006255238
955865A9691592   RACHEL        RODRIGUEZ                   TX     90006975096
9558754178B152   KIMBERLY      ALLEN                       UT     90012115417
9558849842B982   MOODY         BEACH                       CA     90015474984
955892A325B389   JOSEPHINA     FRANSISCO                   OR     90013612032
95589593272B42   NATIVIDA      DIAZ                        CO     33020725932
95589A4A68B152   MARK          GILES                       UT     90012430406
9558B257A5B293   THERESA       HUDGINS                     KY     90002382570
9558BA6A372B98   GINA          ARELLANO                    CO     90005520603
955913A315B548   ORALIA        OLIVAS                      NM     35087013031
9559183525B361   DAN           DASSING                     OR     44518438352
95591A19597B59   ESTEBAN       ESCOBA                      CO     90013950195
95591A71A72B3B   PATRICK       BLACKWELL                   CO     33044720710
9559297A95B383   DANIEL        WARD                        OR     90000219709
95593279A5B361   LUIS          MORENO JARA                 OR     90000662790
95593984197B59   JOSE          LOPEZ                       CO     90013949841
9559449455B383   ALBERT        WORTHINGTON                 OR     44559064945
95594579972B62   ALEJANDRA     HERNANDEZ                   CO     33051835799
9559616A18B152   ADRIANA       ROMERO                      UT     90013081601
9559631A98B175   JOSE          AGUILAR-AGUILAR             UT     90000303109
9559749653164B   SHEILA        TODD                        KS     90005034965
9559773385B361   SAUL          SALINAS                     OR     90014737338
95597763472B42   JOSE          ARAGON                      CO     33069887634
95597A42897B59   MARTIN        MACEDO                      CO     90013950428
955981A384B588   REGGIN        MORRIS JR                   OK     21581371038
9559826867B444   VICTORIA      SUNDER                      SC     90015602686
9559844637B444   MAYRA         AMAYA                       NC     90010744463
9559911278594B   BRANDON       GIBSON                      KY     90014061127
9559952415B389   BOBBY         CROSS                       OR     44554575241
95599574272B97   JEAN          AUGUSTAMAR                  CO     90007645742
9559B434672B42   VERONICA      BAILON                      CO     33039614346
9559B829193721   SARAH         DEES                        OH     90012578291
955B2184A8B152   WINNIEFRIDA   ALTEROS                     UT     90015061840
955B2297741296   JAMES         BRINSKY                     PA     90001202977
955B235735B531   IVONNE        CARDENAS                    NM     90015163573
955B2368897B59   FIDELINO      GUOX                        CO     90013943688
955B245875B361   GENEVA        HAMILTAN                    OR     90000354587
955B2587272B42   KAITLYN       WALDMANN                    CO     90015035872
955B261A391547   JOHN          FALCO                       TX     90006816103
955B2826A72B62   DARREN        MAGPIE                      CO     33013098260
955B298474B588   DAVID         ANTHONY                     OK     90013069847
955B433834B588   RAISHONTA     HUDSONN                     OK     90014463383
955B4952872B62   GLORIA        CORONADO                    CO     33014189528
955B544665B548   JUDY          MARQUEZ                     NM     35067144466
955B5936172B22   ROCIO         ALEMAN                      CO     33051199361
955B5A4448594B   ABED          MOHAMMAD                    KY     90003280444
955B5A8A272B32   LUZ           ARIAS                       CO     90009150802
955B6137A5B174   TAYLOR        WILLIAM                     AR     90001621370
955B624185B361   JULIO         FIGUEROA JR                 OR     90010192418
955B665618B175   FRANCISCO     GONZALEZ                    UT     31012276561
955B6924751396   JAMIEE        GRIGGS                      OH     66076149247
955B6927855985   ROSALVA       MORENO                      CA     90006369278
955B72A7591531   YESENIA       HUERTA                      TX     90010592075
955B7A8815B531   ROBERT        GALLEGOS                    NM     90014130881
955B871885B548   KAREN         ALLEN                       NM     35077817188
955B872812B982   ALFREDO       ROSALES                     CA     90015127281
955B9266297B59   KIMBERLY      GARZA                       CO     90014352662
955B9544791951   HAWA          HALL                        NC     90000125447
955B996287B444   DARRIN        STANBACK                    NC     90010939628
955BB121A61977   MICHELLE      CASTRO                      CA     90008021210
955BB24A691951   MERCEDES      MONTOYA                     NC     17040602406
955BB575497B59   JOHN          ELSDEN                      CO     90013945754
955BB69932B982   HALEY         NEAL                        CA     90014056993
955BB69A691531   DIONICIO      PANTALEON                   TX     90001626906
95611149A55957   ANTONIO       CABRERA                     CA     49050311490
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1731 of 2350


95611516372B42   MARILU          MANZANAREZ                CO     33044165163
95612627A5B383   CIRO            BADILLO                   OR     90005366270
9561263945B389   DAVID           MONFILS                   OR     90011696394
95612687497B59   MELISSA         HERMAN                    CO     39005106874
9561288487B444   UNIKA           JACKSON                   NC     11032008848
95612A16A8594B   JOE             BREADON                   KY     90003520160
9561343382B982   SAMUEL          TORRES                    CA     90010254338
9561382268B152   GEOFFERY        BIGWOOD                   UT     90012948226
95614822272B22   DIANE           CALDELARIA                CO     90011358222
9561514315B361   DANCY           VARGAS                    OR     44585731431
9561537932B982   JESUS           REYES                     CA     90012313793
9561548685B383   MICHEAL         JONES                     OR     90000274868
9561577A872B22   FERMIN          MOLINAGALARZA             CO     90011827708
9561618598B152   MANUEL          MARTINEZ JR               UT     90014561859
95616361A5B531   CHRIS           ABEITA                    NM     35097103610
956171A585B548   EDMUND DWAYNE   LUCERO                    NM     90011471058
95618629A5B389   SHARI           TEACHWORTH                OR     44514416290
95618862A55957   CINDY           BAL                       CA     49060108620
9561933485B361   JILIO           RODRIGEZ                  OR     90013923348
956194A547B398   PAUL            RICHARDSON                VA     90006504054
95619845797B59   CONNIE          RIZO                      CO     39012298457
95619A55477537   TABETHA         HILLER                    NV     90014590554
9561B168191951   TERRENCE        NARED                     NC     90008951681
9561B28578B197   NATALIE         RUIZ                      UT     31082782857
9561B33757B444   TIM             DANIELS                   NC     90009453375
9561B591591531   ISELA           REYES                     TX     90015035915
95621124552B44   JEFFREY         HUNTSINGER                AR     34018691245
95621433697B59   SAMANTHA        RODRIGUEZ TALBOTT         CO     90004734336
9562164975B383   JESSICA         MARTINEZ                  OR     90013446497
9562165315B361   NATASHA         EDWARDS                   OR     90009876531
9562182A777537   JUAN            VALTIERRA                 NV     90012238207
9562182A95B548   ROSALINA        URBINA                    NM     35097868209
9562187494B554   JENNIFER        CROSS                     OK     21520098749
95622332572B83   JUAN            CABRAL                    CO     90012313325
956229A9791885   CANDICE         FRALIX                    OK     90002119097
95622A6698B175   TERESA          CASTELLON                 UT     31085450669
95622AA4A91951   ANA             RODRIGUEZ                 NC     90013620040
956231A8A41296   MATT            REDMAN                    PA     90013961080
956233A8A72B62   ALEXIA          GIRIN                     CO     90010243080
9562385715B361   JOSE            PEREGRINA PEREZ           OR     44514588571
95623892A91399   JOAQUIN         HERRERA                   KS     90015178920
9562414A497B59   THERAN          HARRIS                    CO     90014161404
9562419AA91951   NIQUANN         ORR                       NC     17019581900
95625122172B22   HERIBERTO       HARO                      CO     33014541221
9562546155B531   JAMES           KEITH                     NM     35012194615
9562577A477537   JOSE            TORRES                    NV     43008717704
95625897A93786   JULIE           FRALEY                    OH     90011258970
9562758295B383   EDWARD          GIDDENS                   OR     44586585829
95627A7214B588   MICHAEL         WHITE                     OK     90011400721
956283A9977537   DARLA           ROMICK                    NV     90013173099
956285A7372B22   LUANN           GRADY                     CO     33041495073
956286A112B948   PEDRO           HERNANDEZ                 CA     45016896011
956287A795B361   JUAN            ACEVES                    OR     44513137079
95628A89572B3B   MARIA           SOTO                      CO     33053580895
9562917485B389   ANTHONY         MCNEILLY                  OR     90011641748
95629448972B32   DEMETRIUS       HARDRICK                  CO     90010684489
956297A767B444   SYLVIA          RAMSARAN                  NC     11045547076
9562B176272B3B   STEVE           REISCHEL                  CO     33092261762
9562B299891951   IRCIO           VELASQUEZ                 NC     90003132998
9562B612172B22   JOLEIGH         OUDY                      CO     90012836121
9563117697323B   PREPAID         CUSTOMER                  NJ     90014801769
9563124914B554   EDWIN           COLEMAN                   OK     21595082491
95631461172B42   DON             HARD                      CO     33098714611
95632168A55957   MARIE           MILBURN                   CA     49073801680
9563234592B94B   RODRIGO         MACIEL                    CA     90007733459
9563246A993755   JEFFREY         CALLOWAY                  OH     90000714609
9563286458B152   STEPHANIE       ROMERO                    UT     90013598645
956329A1891951   LOLIHDA         DANIEL                    NC     17002099018
95632A18191531   NORMA           TORRES                    TX     90014820181
95632A7155B531   BEVERLY         JARAMILLO                 NM     90012600715
9563317695B383   ANN MARIA       VASQUEZ                   OR     90008661769
95633298472B32   FELECITA        MARTINEZ                  CO     90006462984
95633482672B3B   NYSHIA          WHITE                     CO     90002934826
95634593297B59   ALEXANDER       ROMERO                    CO     90014305932
95634965272B22   FRANCISCO       BASURTO                   CO     33002689652
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1732 of 2350


95635699797B59   MAIRA           MEDRANO-LUCERO            CO     39042086997
95635725972B32   GABRIEL         MARTINEZ                  CO     33096337259
95635A15672B62   VALERIE         VIGIL                     CO     33098040156
95635A5228B152   JEAN ANGELA     PERRY                     UT     90006600522
9563623563164B   JOHN            WELLS                     KS     90012042356
9563644288B175   KENT            SJOBERG                   UT     31067984428
95636A1277B392   BRISEIDA        GARCIA                    VA     90003050127
95637528197B59   LLOYD           GOULD                     CO     39027025281
9563785442B94B   VIANNEY         MENDEZ                    CA     45073228544
9563822A772B32   ANTHONY         SMELKER                   CO     90013072207
956385A5991399   DIOSDALKI       ABRINES                   MO     90013375059
9563881165B548   AMANDA          DIAZ                      NM     90014888116
9563951458B152   CHAYSE          CANDLAND                  UT     90015105145
95639A27772B32   GREGORIO        VARELA                    CO     33092570277
9563B145141296   ANTHONY         WALKER                    PA     51041971451
9563B273993755   JOAN            HILL                      OH     64534122739
9563B73A62B948   CRYSTAL         GALICIA                   CA     45026297306
9563B95415B361   TERI            KAPELOS                   OR     90009659541
9563B95774B554   JORGE           MARIN                     OK     90004689577
9563BA51531623   DONALD          BURGER                    KS     90000530515
9563BAA2361977   PERLA           OLIVARRIA                 CA     90008500023
9564129A74B949   SANDRA          BATISTE                   TX     90001422907
9564144944B588   JULIE           MCCALL                    OK     90011944494
95641483572B32   FRANCO          RASCON                    CO     33077444835
9564165452B982   REMEDIOS        MARTINEZ                  CA     90012406545
9564199475B548   DIANA           ORTEGA                    NM     90012679947
9564214A693782   BRANDY          GROSS                     OH     90005921406
956423A7293755   KATRINA         HASTON                    OH     90014823072
956428A9972B32   NATASHA         MCNELEY                   CO     33086518099
9564299AA72B22   JUAN            GARCIA                    CO     33005809900
956436AAA4B588   LACIE           REAMES                    OK     21592666000
95644621672B32   JAMES           HUMMELL                   CO     33044716216
956452A297B444   JUANIQUE        GRAHAM                    NC     90013752029
9564616124B588   DOLLY           BENNETT                   OK     21504221612
9564644A72B94B   JERRY           CORRELL                   CA     90005234407
95646878A72B22   JIM             LAMBERT                   CO     33069248780
9564689932B982   PAUL            SILVEIRA                  CA     45017248993
9564696A572B32   SHARRMAN        REYNOLDS                  CO     90012749605
95647196A5B531   CASEY           WHITFORD                  NM     90014041960
956475A364B588   AMANDA          RODRIGUEZ                 OK     90011605036
956475A6972B32   MIGUEL          HERNANDEZ                 CO     33060645069
956483A7A91951   JAMES           PAYNE                     NC     90015563070
9564885563B357   MARY AND MARK   ECKHOUT                   CO     90013198556
95649225272B3B   MARY            RODRIGUEZ                 CO     33056582252
95649443972B22   PAMELA          PHILLIPS                  CO     33043674439
9564979A277537   MARIA           VILLA                     NV     90010977902
9564B18885B548   EVA             BENCOMO                   NM     90014371888
9564B362291599   ANA             GARCIA                    TX     90011603622
95651252676B42   KEN             WILLIAMS                  CA     46086922526
9565132AA5B344   SHEILA          SAVALA                    OR     90013613200
9565136A372B3B   FERNANDO        GUTIERREZ                 CO     90008123603
95651854A4B588   NATHAN          MURDOCK                   OK     21592188540
956522A325B389   STEVE           BROOKS                    OR     90014452032
9565231384B588   ASHLEY          BROWN                     OK     90009223138
95652A9A77B444   SHAMON          WHITE                     NC     90014580907
956532A7472B22   BILLY           COTTON                    CO     33035672074
956543A8155957   KATHLEEN        SHERMAN                   CA     90015253081
95654697472B22   TOYIA           JONES                     CO     33089586974
95654A2643164B   NATHAN          STEPHENSON                KS     22068410264
956551A1597B59   RENE            GUERRERO GARCIA           CO     39011141015
95655259572B3B   MELINDA         KIMBALL                   CO     90012272595
95655722A5B531   JUANITA         GONZALES                  NM     90001707220
9565572858594B   ELIZABETH       WATSON                    KY     66050597285
95655A3845B389   MARIAH          JOHNSON                   OR     90012660384
95657865972B22   SHANE           BLAKNEY                   CO     90013048659
956578A5A72B42   OSCAR           HOLGUIN BUENO             CO     33074378050
95658593297B59   ALEXANDER       ROMERO                    CO     90014305932
95658A3415B361   JAVIER          FERNANDEZ MARDOMINGO      OR     90012300341
95658AA452B982   JASMINE         SAAVEDRA                  CA     90014630045
9565938424B588   ANDRES          HERRERA                   OK     21559253842
9565978A85B548   JUSTIN          ROMERO                    NM     35086607808
9565B52815B361   ROBERT          PUGH                      OR     44568135281
9565B552A7B348   JOSE            CHAVEZ                    VA     90002555520
9565B676693723   SAMANTHA        BREWER                    OH     90003926766
9565B74992B236   RODNEY          MARSHALL                  DC     90013827499
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1733 of 2350


9566233968B175   ANNA             AUPPERLE                 UT     31052553396
95662A91655951   MARIE            SANCHEZ                  CA     49055390916
9566317865B531   CIUDAD           JUAREZ                   NM     35064951786
9566363855B361   CRYSTAL          MOZINGO                  OR     44594626385
9566426945137B   RODNEY           LONG                     OH     90013582694
9566442295B531   KAREN            KARAMANIAN               NM     35070424229
95664489472B22   JOSE             RECENDEZ                 CO     33000214894
9566498277B444   ANGELA           JEFFRIES                 NC     90015119827
9566571A18594B   SALLY            VERMILLION               KY     90014757101
9566671423164B   REBECCA          BARNETT                  KS     90006417142
956674A8455951   NORMA            NUNEZ                    CA     90005334084
9566796648B158   WAYNE            LAYTON                   UT     90011099664
95667A2A35B389   JESUS            ZAMUDIO                  OR     90011730203
95668324572B3B   JASON            CARO                     CO     90012693245
9566856885B383   EDWARD           STEVENS                  OR     44516995688
9566927727B464   WINIFRED         STEVENS                  NC     11065802772
95671A2385B383   JOANNE           BLAKLEY                  OR     44537610238
95672158497B59   RAYMUNDO         GUOX                     CO     39098321584
956725AA491951   DARRYL           RICHARDSON               NC     17036695004
9567355A893732   GINA             WIGGINS                  OH     90005595508
95673625A77537   MARIA            CARDENAS                 NV     43016756250
9567373445B361   KIMBERLEE        SANCHEZ                  OR     90014747344
956737A1597B59   STEPHANIE        TELLO                    CO     39031177015
9567391573164B   CHARLES          SATCHELL                 KS     90014269157
9567429A297B59   JUSTIN           BLAIR                    CO     90011502902
9567455A893732   GINA             WIGGINS                  OH     90005595508
95674A27A77537   JOSE-ALBERTO     LUEVANO                  NV     90013250270
956752A8A24B22   ZORAYDA          BARRIOS                  VA     90003092080
95675417772B56   ALFONSO          SERVINO                  CO     33096954177
9567556AA93732   SHAWN            DAULTON                  OH     90005595600
95676231472B42   ZACHARY          YOUNG                    CO     33059942314
95676452372B62   REBECCA          ZAVALA                   CO     90013964523
9567646638594B   LORRIE           BALDWIN                  KY     66089344663
95677336772B42   CHANDRA          BRESLIN                  CO     90002783367
95678153A4B554   JAMILA           IRVIN                    OK     90003801530
95678223972B3B   NAISHEA          WIRES                    CO     90014922239
956787A738B152   LUIGI            OROZCO                   UT     90011937073
9567954725B361   KAREN            HIER                     OR     44559345472
95679569A77537   ALEASHA          RICH                     NV     90013015690
95679879197B59   LANDON           VAN ARSDALE              CO     90012898791
9567B189797B59   JESS             LESTER                   CO     39076441897
9567B312841296   GINA             FOLLIN                   PA     90013633128
9567B34768B152   KEVIN            CROSTHWAIT               UT     90012023476
9567B99845B548   JOHNNY           CHAVEZ                   NM     90012389984
9568154528B175   SHELBY           GOODRICH                 UT     90007275452
9568184462B667   PATRICK          SMITH                    WA     90015408446
95682311772B22   RODOLFO          GONZALEZ                 CO     33004563117
9568237645B548   ALLISON          HARSHBARGER              NM     90014753764
9568246A17B444   JOSE             MARDO GONZALEZ           NC     11005524601
95683623A5B361   LAWRENCE         SHERLOCK                 OR     90003666230
95683727172B22   GORGE            HERNANDEZ                CO     90009137271
95683A6868594B   BIANCA           RICE                     KY     90008880686
9568431833B358   FRITZ            BIURHAUS                 CO     90011083183
956848A3993732   JERRY            MENDENHALL               OH     90005598039
95685681972B3B   VERONICA         MORENO                   CO     33000486819
95685A99977537   GREGORY          GALLEGOS                 NV     90014590999
9568633615B356   SANTOS           MENDEZ                   OR     90007743361
95686422597B59   DARLIN           CACERES                  CO     90013954225
95686A1A68B175   AUDREY           PENTICO                  UT     31097180106
9568715923164B   TERESA           MANJARREZ                KS     90014251592
9568731875B383   GABRIELA         BERMUDEZ                 OR     90008443187
9568742A95B548   TIMOTHY          FELDER                   NM     90015314209
9568777865B361   SANDRA           PEREZ                    OR     90014747786
9568786492B982   ERICK            SANCHEZ                  CA     90013308649
95688497972B32   JOSEPH URIOSTE   RACHEL ULIBARRI          CO     90013324979
956889AA542526   ROBERTO          BECERRA                  WA     90015359005
9568922797B444   JUSTIN           NICHOLS                  NC     90013292279
95689915172B62   STEVE            CRANKSHAW                CO     33082109151
9568B15A24B949   RAUL             GARCIA                   TX     90009791502
9568B474A97B59   AARON            MEZA                     CO     90001454740
9568B797A2B886   ANNA             MCKEAN                   ID     42088337970
9568B93AA5B548   SHAWN            HICKS                    NM     90010009300
9569161717B349   DOROTEO          SANCHEZ                  VA     81047596171
95691684697B59   WESLEY           LUMPKIN                  CO     90011756846
95691724272B32   ANGELICA         SANTIBANEZ               CO     90012397242
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1734 of 2350


9569178785B361   ELIZABETH    FLORES                       OR     90014747878
956917A924B588   EBONY        KIRK                         OK     90011087092
956918A9577537   RICHARD      LEE                          NV     43024958095
95691A5655B389   JOSE FREDY   HERNANDEZ                    OR     44522980565
95691A6514B949   CHASSIDY     CHAMBERS                     TX     90000810651
9569227485B383   ELISA        MARTINEZ                     OR     90013402748
95692467497B59   BRYON        FLANDERS                     CO     90013954674
9569396A361982   JOSE         BRAVO                        CA     90008559603
9569457368B197   CITLALLI     SALAZAR                      UT     90011905736
956948A165B389   JUSTIN       BRYANT                       OR     44574468016
9569595154B588   MICHELLE     ROBINSON                     OK     90014829515
9569638A533B32   WHITNEY      TONY                         OH     90011493805
95696A18791951   ANTHONY      SAWYER                       NC     90001790187
95697484972B32   EFREN        ORTEGA MACIAS                CO     33039864849
95697624972B56   CHELSEA      WITTENBAUGH                  CO     90003136249
9569781295B548   AYMARA       NIEVES                       NM     90003198129
9569783674B588   LYNZI        MASSINGILL                   OK     90007388367
95697963472B22   MARIANA      SANCHEZ                      CO     33055879634
9569838864B588   DAVID        WILLIAMS                     OK     90009833886
95699467497B59   BRYON        FLANDERS                     CO     90013954674
95699584A5B383   TIFFANY      SCHUKKY                      OR     44506615840
9569995995B361   AMBER        CAVENDER                     OR     44568199599
9569B349891531   MAYRA        CALZADILLA                   TX     90009043498
9569B841972B22   TYLER        CLENNEY                      CO     90012108419
956B123317B444   ASHLEY       MOORE                        NC     90009802331
956B154344B265   LINDA        GORDON                       NE     90010705434
956B156555B361   SHAQULIA     ROSH                         OR     90011345655
956B1667653B3B   JOEL         SANTANA                      CA     90014516676
956B171368594B   REGINA       CHANEY                       KY     90009237136
956B1762797B59   LETICIA      AGUILERA                     CO     90002777627
956B1A6985B241   JAMES        EVERSOLE                     KY     90013150698
956B2194841296   JOHN         SCHAEFFER                    PA     90012641948
956B2535A5B361   STEPHEN R    WHITE                        OR     44531355350
956B289A17B444   ROSA         FUENTES                      NC     11007868901
956B2A41372B62   LEOPOLDO     NAVA-DELGADO                 CO     90012640413
956B3127241296   BOBBIE JO    GULARSKY                     PA     90014711272
956B365868B158   STACI        MUMFORD                      UT     90004776586
956B3898191599   CLAUDIA      RAMIREZ                      TX     75095928981
956B3A9535B531   SYDNEY       WRIGHT                       NM     90004860953
956B4226997B59   GERARDO      RODRIGUEZ                    CO     90003092269
956B434578B152   EVELYN       WORKMAN                      UT     31014553457
956B4395391599   JAIME        RATLIFF                      TX     75041203953
956B4469377537   SHAWNA       POWELL                       NV     43005224693
956B448845B531   ARNOLD       CONEJO                       NM     35003664884
956B518728B152   NANCY        SALGUERO PEREZ               UT     90009231872
956B5421691599   MIKE         MORENO                       TX     75077314216
956B5422191951   ESLY         MEJIA-ESCOBAR                NC     90014314221
956B546437192B   TRINA        GARDNER                      CO     32009384643
956B5875597B59   THOMAS       PATRICK                      CO     90012898755
956B589835B531   COBOS        FERNANDO                     NM     90008978983
956B624A691399   PAYGO        IVR ACTIVATION               KS     90014202406
956B625845B361   CHANDRA      STENTZ                       OR     44578532584
956B632A777537   ORLANDO      GOMEZ                        NV     90008183207
956B6784455951   NADINE       CLEVENGER                    CA     49089697844
956B681665B383   EUSEBIO      LIMA                         OR     90015188166
956B6993572B3B   NISHA        SHRESTHA                     CO     90011489935
956B7A46177537   LUZ          BARAJAS-GONZALEZ             NV     43016580461
956B8153593747   JERRY        GRISSOM                      OH     90005971535
956B8158672B42   OSCAR        MORALES                      CO     33076431586
956B81A8791599   VICTOR       QUIRINO                      TX     90011221087
956B853617B444   MILDRED      LEDBETTER                    NC     11001635361
956B899AA72B22   JUAN         GARCIA                       CO     33005809900
956B8A26672B32   DANIELLE     JIRON                        CO     90001340266
956B9398A72B56   ELIEL        MENDOZA                      CO     90002433980
956B942685B383   LEE          HENDREN                      OR     90006764268
956B94AAA3164B   ROBERT       BANKSTON                     KS     22011914000
956B9628655951   TONY         RODRIGUEZ                    CA     90013686286
956BB86495B361   CHERYL       PERIUS                       OR     44531058649
956BB96AA72B32   JESUS        VALLES                       CO     90007729600
956BBAA6891599   DANIEL       MARTINEZ                     TX     90000870068
956BBAA9197B59   YADIRA       CEJA                         CO     90004670091
9571137635B383   DENA         BLACKFORD                    OR     90013053763
95711718A72B32   SONIA        CUNNINGHAM                   CO     90009937180
95711996397B59   BETHANY      SCHOBINGER                   CO     90011129963
9571215338B175   JORGE        OLVERA                       UT     31089791533
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1735 of 2350


9571223333164B   CHELSEA       ROGERS                      KS     90013362333
9571448315B383   TASHA         LAMON                       OR     44562144831
95714588772B32   CHRISTIAN     FLORES-HERNANDEZ            CO     90014035887
9571461645B389   AKLILU        HAILE                       OR     90014046164
95714AA7893755   FREDRICK      REED                        OH     90013060078
957158A8277537   OCTAVIO       RAMIREZ                     NV     90014688082
95716657A93755   JAZMINE       ROBINSON                    OH     90011306570
957171A9293755   LEONARD       FREEMAN                     OH     90007361092
95717248A5B383   PATRICK       NORTH                       OR     90010802480
957182A6661977   VANESSA       SALGADO                     CA     90006942066
957184A998B175   BETH          SERA                        UT     90005284099
9571865992B576   PAYGO         IVR ACTIVATION              AL     90010216599
9571871595B531   CHRISTINE     MAGLIOCCHI                  NM     90004047159
957188A9472B3B   JULIANE       GONZALES                    CO     90001288094
95719864297B59   JAMI          BARNABY                     CO     90008868642
957198A2A81652   JIMMY         ESTRADA                     MO     29005038020
9571BA27772B62   FELICIA       WHITE                       CO     90002400277
957223AA172B42   KARLA         HERNANDEZ                   CO     33003073001
95722753272B3B   VICTORIA      BRYAN                       CO     33030477532
9572339AA51331   GIDGETT       HOWARD                      OH     66041343900
95723567472B32   RONALD        BREWER                      CO     90012275674
95723AA6A91531   ARACELI       AYALA                       TX     75070270060
95724216272B62   OSTIN         NOLASCO                     CO     90006912162
9572436415B531   RAUL          GANDARILLA DUARTE           NM     35005193641
9572552465B548   JOSHUA        RILEY                       NM     90014105246
95725551174B27   MISTY         MCKENZIE                    OH     90013915511
9572617985B531   ENEDINA       GURROLA                     NM     35086201798
9572653945B383   TANYA         MAGDELENE                   OR     90013215394
9572839A35B389   SARA          POLANCO                     OR     90011813903
95728A51133698   ANTWANNETTE   MCBEE                       NC     90013080511
9572914715B383   JACKIE        SHANKLE                     OR     44533271471
95729661397B59   DENNIS        CAMPOS                      CO     90013956613
957297A3572B56   JUAN          SANTANA                     CO     33030237035
9572B269757128   LEONEL        CASTILLO                    VA     90004672697
9572BA6335B389   MICHELE       HOLMES                      OR     90002210633
9573134A561977   HERMES        ZUAZO                       CA     46083863405
95731A9545B383   JASMINE       MOORE                       OR     90012800954
95732256672B42   REYES         CLAUDIA                     CO     90007082566
9573241514B949   GEARY         SENIGAUR JR.                TX     76581074151
9573249383363B   BEVERLY       MILLER                      NC     90008794938
95732645A7B444   ARPRENIA      ISLES                       NC     11067866450
95733471A97B59   ROBIN         LABARBERA                   CO     39085274710
9573358418B152   NICHOLAS      JONES                       UT     31025305841
9573373937B444   JESSICA       MULLIS                      NC     90011607393
9573382385B383   RAUL          BORGES                      OR     44590028238
95734571272B62   MARK          HINOJOSA                    CO     90007325712
957345AA872B3B   PAUL          HOFSETZ                     CO     33063475008
957346A638B175   JACKIE        LONG                        UT     90006476063
95734A48A61977   MIREYA        VARGAS                      CA     90008240480
95734AA7893755   FREDRICK      REED                        OH     90013060078
95736141A55957   SYLVIA        JUAREZ                      CA     90013731410
95736415172B42   ELSY          ORELLANA                    CO     33086354151
95736759297B59   TOMAS         MARTINEZ                    CO     90013967592
95736A31677537   MELINDA       YON                         NV     90015350316
95737A96891599   JIMMY         ARANDA                      TX     90014520968
9573828565B237   AMAURY        PRUNA                       KY     90013412856
95738881A91951   TANISHA       JONES                       NC     17094168810
95739258A72B3B   CELINA        MORENO                      CO     90008712580
95739514797B59   LEONEL        AGUILAR                     NM     39027695147
95739878872B22   JACQUELINE    FORGET                      CO     90001878788
9573B26867B444   TANAYA        BUSH                        NC     90014812686
9573B821993755   ELKE          HARRISON                    OH     64535258219
9573B941A72B22   DEVONNA       BENSON                      CO     90008349410
9573B96885B389   CHRISTINA     FORSYTHE                    OR     44514269688
9574111175B383   SAMUEL        SESAY                       OR     90013381117
95741535972B3B   ALEJANDRO     GARCES                      CO     33017745359
9574182985B389   FLORENCIO     DOMINGUEZ GARCIA            OR     90013558298
9574199434B949   CHAD          PERKINS                     TX     76522579943
95742513A72B42   DANIELLE      COLLINS                     CO     33018815130
9574251A881634   THOMAS        JUMPS                       MO     29013715108
9574469524B588   YARELY        SEGUEDA                     OK     90010746952
95744774597B59   GIOAVANY      VAZQUEZ                     CO     90013967745
95745A39372B22   JUAN JOSE     AGUERO                      CO     33081990393
9574622275B531   CHARLENE      BYERS                       NM     90002682227
9574658548B175   PAMELA        DAVENPORT                   UT     31081715854
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1736 of 2350


95746919A3164B   CLAURESHA    ELIAS                        KS     90008959190
95747821A72B3B   DANIEL       GONZALEZ                     CO     33007078210
95748789A72B62   LEE          VEGA                         CO     33027777890
957487A9277537   MIGUEL       MENDOZA                      NV     90012317092
9574B695991399   CHRISTY      BROOKS                       KS     29044026959
9574B99434B949   CHAD         PERKINS                      TX     76522579943
9575125325B389   DAMION       MORSE                        OR     90013452532
9575144985B389   DAMION       MORSE                        OR     90011994498
9575287792B982   VICTORIA     RIVERA                       CA     45065468779
95754722497B59   ADAM         JOSEPH                       CO     90014377224
95754A72355957   ENRIQUE      MARTINEZ                     CA     90012530723
95755712197B59   JUSTIN       LUCAS                        CO     90013087121
95755A6A572B42   BOBBI        CARDONA                      CO     90015040605
95756323A41296   ZEBULUN      PAGGE                        PA     51079863230
9575641185B361   ALSAMARRAI   RIFAAT                       OR     44515414118
9575648A64B554   ZENA         LEVINE                       OK     90006024806
95756A3728594B   GARY         MERIDA                       KY     90003420372
95757234872B62   SARAH        BRECHEISEN                   CO     33066772348
9575741A197B59   CELSO        VIADRAN CALVILLO             CO     39092404101
957574AA74B554   JAVIER       CONSTANTINO                  OK     90006044007
9575819624B588   MARIA        MENDOZA                      OK     90005441962
95758279A5B361   LUIS         MORENO JARA                  OR     90000662790
95758315A4B588   JOHNATHON    HENRY                        OK     90007483150
9575933585B389   JODI         BLUE                         OR     90005973358
957596A425B531   DOMANIC      PAIZ                         NM     35038996042
9575992A772B28   RONALD       BURDEN                       CO     90002899207
95759955A5B361   BRITTANY     SHARP                        OR     90009019550
95759966324B22   CYNTHIA      WILLIAMS                     DC     90001549663
9575B214891344   KARA         LOWE                         KS     90011372148
9575B283291951   RUPBERTO     CAMANA                       NC     90013502832
9575B635672B3B   LONDELL      FOWLER                       CO     33082086356
9575B883672B32   JOSEPH       MANZANARES                   CO     33078268836
9575B951A5B531   JESSICA      GUTIERREZ                    NM     90002409510
9575B98638594B   ROBERT       CLAYPOOL                     KY     90005579863
9575BA65481634   DAVID        JACKSON                      MO     29003130654
95761A4925B548   KEYMON       HECKARD                      NM     90014240492
95762229472B62   GIOVANNA     GUTIERREZ                    CO     33084652294
9576234658B152   TOBY         ROACH                        UT     90005743465
957623A865B389   DOMINGO      KUKU                         OR     90013943086
9576244225B383   MICHAEL      DEANGELO                     OR     90013264422
95762832A5B548   JAMPHAL      WANGYAL                      NM     90010848320
9576297A177537   EFIGENIO     RUELAS                       NV     90011949701
9576321975B531   OSCAR        ALDERETE                     NM     90006922197
95763561A72B22   ALBERTO      GUTIERREZ                    CO     33062665610
9576372885B361   RICK         HUELSMAN                     OR     90011417288
9576445328594B   ANNE         GILBERT                      KY     66080864532
9576466A641296   KAAREN       BOLTON                       PA     51037226606
9576494274B588   ARION        THOMAS                       OK     90008079427
9576572672B948   TEODORA      RANGEL                       CA     90008697267
957664A5993782   HANANIAH     ISREAL                       OH     90009724059
95766699A8B152   GLORY        JOHNSONSTANTON               UT     31060786990
9576691462B982   MELISSA      LANE                         CA     90004259146
95766958472B3B   DIRAR        GEBREKIAN                    CO     90014949584
95767571372B62   TEAR         FRANSUA                      CO     33014725713
95768268733B55   LISA         CRAVEN                       OH     90013842687
9576879194B588   ROBERT       CAPPS                        OK     21527777919
9576893377B444   VICTORIA     PETTIFORD                    NC     90013319337
95769343624B22   ASHLEY       BANNERMAN                    DC     90015133436
95769371A72B3B   MARVIN       PEREZ                        CO     90002773710
9576966A172B62   ANGELICA     TODOROVA-GORAICIC            CO     33058636601
9576B35323B37B   ANTHONY      MATTERN                      CO     90011503532
9576B48735B548   CHRISTINA    CASTILLO                     NM     90010404873
9576B579497B59   DIEGO        SARABIA                      CO     90012115794
9576B625262B89   ALISSA       RENO                         KS     90004126252
9576B92635B548   CHRISTINA    CASTILLO                     NM     90012479263
9576BA31772B56   MAUREEN      FULMER                       CO     90012400317
95771643924B22   RHODAISHA    PHOENIX                      DC     90014886439
9577169775B383   MICHAEL      COPPINGER                    OR     90004686977
9577289887B444   ABDULAH      MOHAMED                      NC     90012618988
9577352677B444   JAVESHA      JOHNSON                      NC     11098495267
95773A31791531   SONIA        HERNANDEZ                    TX     90003060317
9577521172B28B   KIMBERLY     CALDWELL                     DC     90012442117
957753A5861977   PETRONA      ROSALES JAVIER               CA     90001543058
9577578A941296   DAMEON       LONG                         PA     90011427809
9577589A597B59   JOSE         CHAVIRA                      CO     39076118905
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1737 of 2350


957763AA251364   STEVEN         DUNN                       OH     90012583002
95776425397B59   EDMUNDO        AMARO                      CO     90002404253
9577695394B288   MICHELLE       BEARBER                    NE     90013479539
9577696678B152   MARILEE        ADAMS                      UT     90012339667
95776A99272B3B   MILAN          KHAWAS                     CO     33023320992
957775A998594B   OUMAR          ELHADJI                    KY     90005385099
95777785597B59   KAREN          KIRBY                      CO     90011767855
95779159A72B62   STEPHANIE      GARCIA SGG                 CO     90010871590
9577963A172B32   TIFFANY        ELLIS                      CO     90010576301
95779A7A372B42   LUIS ANTONIO   OLAGUE SANCHEZ             CO     90015040703
9577B38588B152   PATRICIA       DELACRUZ                   UT     90008683858
9577B487391531   LORENA         ALMANZA                    TX     90001964873
9577B569361977   CLAUDIA        BROWN                      CA     90012475693
9577B93684B588   ROB            ROBINSON                   OK     90014729368
95782191972B32   PRINCE         BUKASA                     CO     33098281919
95782224872B3B   FILIBERTO      RUBIO-SANCHEZ              CO     33069032248
9578224965B531   PAUL           GONZALES                   NM     90012902496
95782643672B62   STEVEN         KREHMEYER                  CO     90003336436
957836A412B26B   MICHALE        BAILEY                     DC     90001526041
957838A9597B59   SAUL           MERCADO-VASQUEZ            CO     90011768095
95784457372B42   MARIO          CHAVEZ                     CO     90001274573
9578489A62B982   AMANDA         BAILEY                     CA     90014398906
95784A1555B383   GLORIA         LOPEZ RODRIGUEZ            OR     90002990155
9578546943164B   JEANNETTE      WHERRELL                   KS     90012814694
9578553318B152   DUSTIN         BAIN                       UT     90015045331
9578563755B383   BRIAN          OAS                        OR     90001616375
95785969A5B531   MARYANN        LOPEZ                      NM     90013979690
95785AA862B982   JIMMY          HENSEY                     CA     90005740086
95786646172B32   ROSANNA        HERRERA                    CO     90011916461
957869A2697B59   MARCUS         ALVAREZ                    CO     39054589026
95786A53391951   CHARISSE       ANDERSON                   NC     90014690533
95788542272B3B   KIMBERLY       CROW                       CO     33081385422
95788874A44B96   DAMIEN         SCHOVILLE                  OH     90015488740
9578916332B982   ANTHONY        MCCRARY                    CA     90014181633
95789722A91531   ANITRA         VENZOR                     TX     90014707220
9578B366943527   DAVID          GONZALES                   UT     90012303669
9578B38544B588   ANA            BALDERRAMA                 OK     90011773854
9578B77185B361   JOSE           DE LA CRUZ                 OR     90011417718
9578B795491951   KENNET         PETERSON                   NC     90010607954
9578BA11591531   IRMA           COVARRUBIAS                TX     90015040115
95791338572B22   MAYRA          DELAYZA                    CO     33040123385
9579179298B175   GORDON         GRAY                       UT     31044587929
95791A35172B97   CHERI          ANDERSON                   CO     33088670351
95792286772B22   ALMA           HERNANDEZ                  CO     90012962867
9579248A172B3B   BENNETTE       ROWLETTE                   CO     90013094801
957939A4891951   MICHEALA       LEE                        NC     90015119048
9579581798B152   MICHAEL        COURSEY                    UT     31010118179
9579583155B531   MARK           MORAN                      NM     90014718315
95795A63241296   LATEEYA        KIRKLAND                   PA     90012450632
95796AA5477537   LIDIA          NAVARRO                    NV     90013570054
9579765A384349   CAROLINE       VANCE                      SC     90001376503
9579768182B98B   MARY           PEDREGON                   CA     90002006818
957979A947B444   EDWIN          TOBAR                      NC     90013409094
95798212A2B982   MARIA          PADILLA                    CA     90013582120
9579832864B588   BRAIN          MARTINS                    OK     90015113286
9579856A572B3B   JUAN           ARROYO                     CO     33004175605
9579879A672B42   CHRISTINA      PACHECO                    CO     33003397906
9579892775B361   EILEEN         HAGER                      OR     90013489277
95798A9545B383   LILLIAN        LEE                        OR     90014860954
9579B2A189139B   DAN            HILLER                     KS     29029022018
9579B928277537   BIBIANO        TORRES-VASQUEZ             NV     90013779282
957B1312291399   STEPHANIE      REED                       KS     90011023122
957B1653872B56   FABIOLA        MARMOLEJO                  CO     33000916538
957B184945B389   GABRIELA       CHAVEZ                     OR     44592148494
957B1A6655B531   NORMA          GALLEGOS                   NM     35086100665
957B2225672B22   JOSESITO       LOPEZ                      CO     33075292256
957B223835B177   WILLIE         DEMYERS                    AR     90001422383
957B249A94B588   PHILLIP        CRAWFORD                   OK     90007824909
957B255388594B   SHAUN          SCHARF                     KY     90013565538
957B317375B548   DAVID          RIVAS                      NM     90013111737
957B3515272B56   DYANN          MERRIMAN                   CO     33090345152
957B3656472B42   FELIPE         MEDINA                     CO     90015036564
957B388A391951   PATRICIA       PABLO                      NC     90015098803
957B392A14B581   LORI           WINKLER                    OK     90009599201
957B3A44193738   CHANERIA       GOODNER                    OH     90012010441
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1738 of 2350


957B3A56591399   ELPIDIO      RIVERA                       KS     29074510565
957B416478B152   LEANN        LANDER                       UT     31010241647
957B4452A7B444   MARION       GANT                         NC     11041914520
957B466792B982   MAYRA        REYEZ                        CA     90011526679
957B4845897B59   JUSTIN       ANDERSON                     CO     39057668458
957B4A5855B531   LIZETH       NUNEZ                        NM     35077760585
957B5423A5B389   LACEY        WILSON                       OR     90001114230
957B574A72B982   VICENTE      FERNANDEZ                    CA     90014977407
957B597655B548   ROBERT       VOSS                         NM     90015069765
957B5A52A55957   MARLEN       COLLAZO                      CA     49043930520
957B621915B531   GUADALUPE    CRUZ                         NM     90014132191
957B6655172B42   ASHLEIGH     DRIES                        CO     90015036551
957B6779A8594B   LORI         FRANKLIN                     KY     90005717790
957B6A19A8645B   NENNHETE     CHALLPW                      SC     90010940190
957B7123197B59   ANGEL        SEGURA                       CO     39010121231
957B713434B588   MAURICE      IRVIN                        OK     90009351343
957B7589593755   KAMNY        PAYNE                        OH     90013345895
957B8454555951   PADA         YANG                         CA     90015174545
957B8572A91951   DIANA        RAMIREZ                      NC     17080285720
957B887784B949   JESUS        CAMPOS-JARAMILLO             TX     90008628778
957B9317155951   ISABEL       RENDON                       CA     90013393171
957B9856555957   CRISTAL      JIMMEYE                      CA     90010768565
957B9A27A72B3B   SARAH        SHEAHAN                      CO     90013220270
957BB175A5B361   LORI         WINKLER                      OR     44519631750
957BB436447973   DUSTIN       MCCLELLAN                    AR     90010384364
957BB841777537   JOSE         LEYVA                        NV     90010978417
95811413697B59   JOSE         MARTINEZ                     CO     90006384136
95811444A91599   VERIONICA    OCHOA                        TX     90009464440
9581244135B361   CATARINA     OTZOY MACHIC                 OR     90000364413
9581268AA91399   SMITH        ANDREA                       KS     29021366800
95813411172B22   IRMA         LOPEZ                        CO     33054004111
95813416A8594B   MARC         AHAUS                        KY     90014154160
958138A4191526   LORENA       ZAMILPA                      TX     75004428041
95813A22872B62   RICHARD      ROSSI                        CO     90008570228
95813A2834B554   SHERRI       LEBLONDE                     OK     90005730283
95813A3144B588   HARLEY       BRANON                       OK     21514380314
95813A77491599   LETICIA      GOMEZ                        TX     90007540774
95815551174B27   MISTY        MCKENZIE                     OH     90013915511
9581591462B982   MELISSA      LANE                         CA     90004259146
9581593A75B531   AUJOLI       MARTINEZ                     NM     90009219307
9581617113164B   MICHELLE     WARD                         KS     90008081711
9581639245B531   ERIKA        TAFOYA                       NM     35045003924
95816845A97B59   STEPHAINE    SANCHEZ                      CO     39027448450
958168A6791951   DONETTA      MCBROOM                      NC     90012388067
9581759675B361   RACHEL       PANIAGUA                     OR     90008915967
95817737597B59   RICARDO      VELASCO                      CO     90014107375
9581784595B548   LUCI         MENDOZA                      NM     90009538459
95818749172B3B   CALEB        THAYER                       CO     90011447491
95819577A55951   LILIANA      RIOS                         CA     49098515770
95819744553B2B   KIMBERLY     HERNANDEZ                    CA     90015507445
9581BA7445B389   MARIA        UREIARTE                     OR     90013970744
95821196172B62   SHAKIYLA     GREEN                        CO     90012141961
958211A5855957   SHEEN        MOUA                         CA     90014771058
9582145864B588   LARRY        ANGELO                       OK     90013774586
9582172392B982   YESI         JUAREZ                       CA     90012657239
9582249213164B   DEVIN        DOMEBO                       KS     22064264921
95822837A91531   AMERICA      LUNA                         TX     75095178370
95822A7964B554   BRANDON      GIBBY                        OK     90001820796
9582319865B383   SHELLEY      ALLEN                        OR     44598501986
95823292697B59   LEONEL       ANAYA                        CO     90008422926
958232A4691531   DIEGO        RIVERA                       TX     90015042046
95823421A33B21   WILLAM       LONG                         OH     90015504210
958235A6861977   MIGUEL       ORTIZ                        CA     90007715068
95823732372B22   BRITTANY     HUNTEL                       CO     90010297323
9582375AA93755   KENNA        HOUCHINS                     OH     64535447500
958241A1681679   KYLE L.      MOWRY                        MO     90000381016
9582425174B588   TRINIDAD     PEREZ                        OK     90011622517
958242A752B982   TERESA       CAMPOS                       CA     90007922075
95824466672B32   SHAUNTE      ROSS                         CO     90007864666
9582481435B548   MARIO        MARTINEZ                     NM     90012018143
95824A86591599   VERONICA     BANDA                        TX     90012890865
95825176A55957   MONICA       RIPPEL                       CA     90012531760
9582524184B949   JOSEPH       ANDRADA                      TX     90013112418
958252A585B548   IMELDA       OLIVARRIA                    NM     35007652058
9582531685B361   MICHAEL      VAUGHT                       OR     90009043168
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1739 of 2350


9582567AA93755   ANGEL         ANGELOS                     OH     90015446700
95825873566B34   DUNAE         MAXYMZCHA                   MO     90014038735
9582667A39139B   GLEN          STRECKER                    KS     90007786703
95827374972B42   CHRISTOPHER   DAVIS                       CO     90004103749
958275A4972B32   MARTHA        SAVALA                      CO     90012815049
958277AA672B56   DIANA         VANESA                      CO     33041657006
958281A3391951   CESAR         GARCIA                      NC     90009431033
9582918A555957   VICENTE       SUSTAITA                    CA     90012531805
958299A2272B62   JUAN          ESPINOZA                    CO     33013179022
9582B349791951   CHRISTY       MCDONALD                    NC     90013163497
9582B675491399   DEANDRA       MITCHELL                    KS     90012876754
95831391972B42   STEPHANI      CARABEO                     CO     90014193919
958314A347B444   GEREMIAS      MATUS                       NC     90009954034
9583211A755951   ELIAS         GONZALEZ                    CA     90009161107
95832181172B32   JUDY          ESPINOSA                    CO     33064761811
95832347872B42   MICHAEL       MOORE                       CO     90009333478
9583369965B531   JOHN          CORDOVA                     NM     35004446996
95833725A3164B   JERRY         BEASLEY                     KS     90004167250
9583382712B982   JAZMIN        SALAS                       CA     90011098271
95833A31172B42   ALFONSO       MARQUEZ                     CO     33066880311
958346A224B588   CHEZMORAE     CORNELIUS                   OK     90013836022
95834974372B3B   NORMANDO      LOPEZ                       CO     90003229743
95834A99A77537   ADRIANA       DEORTIZ                     NV     90012570990
95836762A91599   YVONNE        GALINDO                     TX     75006317620
9583693525B548   THOMAS        FERGUSON                    NM     35088939352
95837122772B62   ALEXANDRA     NEVARES                     CO     90012181227
958371A1A72B42   AMIE          MARTINEZ                    CO     90015041010
9583736342B25B   TRACEY        AUGUSTIN                    DC     90014163634
9583739395B548   JERAMIE       DANTE                       NM     90014503939
95837673272B32   JODY LYN      OBERLY                      CO     90012516732
95837756372B3B   UCAN          COLLI                       CO     90013687563
9583897825B383   WILLIAM       JOHNSON                     OR     90000229782
9583969A677537   JOSE          CALVILLO                    NV     90014356906
958396A972B982   MIKE          SOARES                      CA     90014836097
958398A975B361   JESUS         PEREZ                       OR     44554598097
9583B19255B548   EVELING       DOZAL                       NM     90015541925
9583B213655951   REBECCA       ALVAREZ                     CA     90011912136
9583B3A445B383   MARICARMEN    AVELLANEDA                  OR     90011373044
9583B87A38594B   JENNY         HENRY                       KY     66023008703
9583B9AA25B531   BERTHA        HERNANDEZDELUJAN            NM     35089919002
95841319897B59   CALLY         MONIZ                       CO     90014773198
95841528A8B152   BRAD          BACKUS                      UT     90011085280
95841734572B62   ADAN          VILLA                       CO     33072827345
95841842772B32   GEORGE        ESPINAL                     CO     90014838427
95841A61972B3B   JOSE          HERNANDEZ                   CO     90008160619
95841A8634B588   JESSICA       HASBELL                     OK     90015280863
9584228424B949   KEITH         SAMS                        TX     90013192842
95842391A3B366   AMANDA        CORNIER                     CO     90010623910
9584331564B588   CODY          SWARB                       OK     90014813156
9584337478594B   VERONICA      JANSON                      KY     90013483747
95843394A77537   CESAR         MUNOZ                       NV     90002933940
958435A2761977   GARY          JITAGAWA                    CA     90010545027
95843A59297B59   YOLANDA       SALINAS                     CO     39005800592
9584411898B152   HINGSON       ANGELA                      UT     90004851189
95844121A91531   JOLIE         HERNANDEZ                   TX     90010481210
95844666997B59   KAYLA         MACLEAN                     CO     90003626669
95844A1A172B32   BILL          HENN                        CO     33096210101
9584574345B389   SHANE         BAKER                       OR     90013077434
9584596952B982   SETH          TORRES                      CA     90010739695
9584633638594B   MARGIE        NUNN                        KY     66059923363
95846421472B62   ALLEN         WITHERSPOON                 CO     33046464214
95846A56691399   MICHAEL       MANESS                      KS     90014540566
95846A8935B389   JEREMY        BOND                        OR     90014160893
95847148372B62   JOSE          GARCIA                      CO     90009511483
9584764853164B   CAMMERON      ICHARDSON                   KS     90014416485
95847A8368594B   MATTHEW       MOSES                       KY     90008580836
958487A9697B59   ANTONIO       LERMA                       CO     90011777096
9584882815B383   DANELLE       RECH                        OR     90008388281
9584918738B175   NICOLE        BENTLEY                     UT     90005281873
9584B188161964   MARIA         DURAN                       CA     90011901881
9584B191872B22   ANITA         WAPPES                      CO     90012451918
9584B951497121   REBECCA       ZINKGRAF                    OR     90010209514
95851734A5B361   CELIA         RIVERA                      OR     90003317340
9585196265B389   MARIAH        DEWITTE                     OR     44588569626
95851A37293755   KATINA        WILSON                      OH     64547650372
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1740 of 2350


9585215595B383   JC              ETIER                     OR     90014861559
95853141272B62   MARCIA          A BIGLOW                  CO     33099641412
95853153A72B3B   SERGIO          PEREZ-MARTINEZ            CO     90014911530
95853164772B32   BARBARA         METZGER                   CO     90010731647
9585329635B361   SHERWIN         DACANAY                   OR     90005082963
95853831697B59   TERRANCE        WASHINGTON                CO     90002348316
9585396265B389   MARIAH          DEWITTE                   OR     44588569626
9585428A472B53   BRANDON         ARCHULETA                 CO     90011662804
9585462995B389   LEONCIO         DURAN MARTINEZ            OR     90013106299
95854A4868B175   ALEXA           DOBBS                     UT     90008820486
9585682595B548   DARLENE         ELLIOTT                   NM     90011848259
95856841272B22   JENAVEE         MIJARES                   CO     90014858412
95856AA3377537   KENYA           HARDING                   NV     90008140033
95857275272B22   TALESHA T       CLEMONS                   CO     90013312752
95857A7192B982   OFELIA          TAPIA                     CA     90011190719
95858642297B59   ROBERT          MOORE                     CO     90009066422
95859112972B32   DULCE           GASTELO                   CO     90010061129
9585925A191531   GLORIA MORENO   DE ESPAR                  TX     90008932501
95859688197B59   PAUL            SANCHEZ                   CO     90011986881
9585B43A391951   AMY             COLEMAN                   NC     90014824303
9585B465455957   ALMA            ESCARSEGA                 CA     90011314654
9586156255B548   CHRISTIAN       CHAVEZ-CRISPIN            NM     90014155625
95862AA7A2B982   DAWN            MARCKX                    CA     90009570070
95863366872B93   KEVIN           DOAN                      CO     33026473668
95863494A93755   MICHAEL         SHAWN                     OH     90014464940
95864159972B32   BECKY           MARTINEZ                  CO     90009351599
9586446955B361   RYAN            DAILEY                    OR     90000964695
95864895872B22   GERSON          MENDOZA                   CO     90014138958
95865442A72B42   DOMINIQUE       CRUZ                      CO     90011424420
958655A7697B59   ELIZABETH       SALAS                     CO     39069005076
9586567238B152   VALENTINE       CHRISTOPHER KEECH         UT     90006676723
9586567A477537   MATT            SIMONDS                   NV     43084476704
9586581468B152   VALENTINE       CHRISTOPHER KEECH         UT     90015058146
9586629725B531   EVANGELINA      MORALES                   NM     90015042972
9586689415B548   REBECCA         PEREZ                     NM     35097408941
9586691485B548   AMBER           AGUILAR                   NM     90012339148
9586745138B152   ETHAN           HARRIS                    UT     90011074513
9586793855B548   VICTORIA        GONZALES                  NM     35018659385
9586814933164B   TYRONE          LUCAS                     KS     90011351493
9586827357B444   MARCELINO       ZAMORA                    NC     90003052735
958684A7A4B588   JOHN            ACKLEY                    OK     90014024070
9586893795B383   AGUILERA        ELSA                      OR     90010109379
95868AAA291951   JOYCE           ALSTON                    NC     90009760002
95869351A7B444   SUDA            DOBIE                     NC     90015213510
9586937945B361   MICHAEL         JAMES                     OR     90010053794
9586978A941296   TEVIN           PERRY                     PA     90012597809
9586995215B383   JAMES           STEBBINS                  OR     44584819521
9586B466455957   ELIZABETH       GONZALEZ                  CA     49049434664
9586B899391526   NORMA           MARTINEZ                  TX     90010248993
9586B91815B531   NICK            DICKENS                   NM     35017979181
9586B982A72B62   ERNESTO         FLORES                    CO     90012889820
95871182672B22   SAVANAH         MARTINEZ                  CO     33088151826
9587135A797B59   CLAUDETH        CASTELLANOS               CO     90014753507
9587157774B588   LAKEISHA        MCNAIR                    OK     90012025777
95871917172B3B   JUAN            PEREZ                     CO     90008139171
95871985A5B389   MATHEW          BOGGESS                   OR     90013159850
9587198614B554   SAMANTHA        ZAMARRON                  OK     90000289861
95872231A72B3B   BRIAN           ECK                       CO     90008462310
9587256152B982   EMMA            CARRANZA                  CA     90012805615
958727A5972B32   ALEXIS          ATWATER                   CO     90011437059
95872A44772B42   TAPIA           ISIDRO                    CO     90009990447
9587367687B338   EDI             GONZALEZ                  VA     90010836768
9587371775B389   APOLINAR        GONZALEZ                  OR     90012347177
958744A884B588   JOHNNY          KITCHENS                  OK     90013784088
9587454412B982   MARIANO         BLANCAS                   CA     90014245441
9587488248B152   MATTHEW         KENNALEY                  UT     31005668824
958754A425B33B   RICHARD         WRIGHT                    OR     90013074042
95875A4775B531   BARBARA         GALLEGOS                  NM     90014140477
95875A92255978   KAREN           PRIRCHARD                 CA     90000590922
9587635113B382   LORETTA         KNAUS                     CO     90012243511
95876A17161977   GEORGINA        THOMAS                    CA     90000180171
9587713898B152   CHRIS           WATT                      UT     90012661389
9587729188594B   WINTER          PATCHELL                  KY     90010502918
9587764425B383   TINA M          HUDDLESTON                OR     90010986442
958785A7A5B361   SEBASTIAN       LUCAS                     OR     90007935070
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1741 of 2350


95878A67A72B62   MYRANDA      CASTLE                       CO     90008990670
958799AA691951   ANTONIO      SUAZO                        NC     90012659006
9587B12587B444   CHRISTIE     BRUTON                       NC     90012391258
9587B169272B3B   OMAR         BANDERAS-RODRIGUEZ           CO     33042181692
9587B171891599   DANIEL       ORDAZ                        TX     90013821718
9587B83385B361   CANDELARIA   JUAREZ                       OR     90008798338
9587BA1225B531   NIQUELL      SANDOVAL                     NM     90014140122
9588133978B347   EBREO        ROMERO                       SC     90013203397
95881A67891399   PAYGO        IVR ACTIVATION               KS     90014240678
9588216125B383   TONYA        REA                          OR     90014791612
95882719A55957   CHRISTINA    GOHLKE                       CA     49082827190
958829A635B389   MAYELINA     GUERRA CASTANO               OR     90013569063
95882A79391399   LAURA        KERSHNER                     KS     90014240793
9588348658B175   CAMILLE      HODGSON                      UT     90001944865
9588369895B531   BONNIE       BAXLEY                       NM     35007666989
9588379245B531   ITSEL        CAMPUZANO                    NM     90012997924
9588434A58594B   MAURILIO     CRUZ                         KY     90013283405
9588466455B548   MEREDITH     HARRISON                     NM     90014146645
95884684272B62   GABRIELLE    REAVES-BARTLETT              CO     90012936842
95884817A5B548   ALONDRA      GOMEZ                        NM     90011108170
958848A8991531   APRIL        MALDONADO                    TX     90010598089
95885158497B59   STEPHAN      MAIR                         CO     90008381584
95885257A77537   SUSAN        QUISPE                       NV     43071952570
95885AA245B361   MARCELO      VASQUEZ                      OR     90010260024
95886158497B59   RAYMUNDO     GUOX                         CO     39098321584
9588641192B886   TRACY        GIBSON                       ID     90003264119
95886593172B22   RODRIGO      MARTINEZ                     CO     33017405931
95886A4A63164B   CINTHIA      HERNANDEZ                    KS     90001500406
95886A97191599   CELESTINE    SECTION                      TX     90010970971
95887128772B42   ANTONIO      SANCHEZ                      CO     90015041287
9588722AA7B444   ROMUALD      KADIMA                       NC     90008782200
95887325A8594B   EMILY        LOUDEN                       KY     90006363250
9588877A98B152   KENESHA      JACKSON                      UT     90007747709
9588879638596B   STEVEN       COURTNEY                     KY     90008647963
9588988132B24B   THOMAS       JONES                        MD     90001038813
9588991A85B389   OLDALIVIA    RESENVIC                     OR     90014549108
9588B15A291951   MIKE         MITCHELL                     NC     90007021502
9588B233772B62   ANTHONY      RIMBERT                      CO     90001892337
9588B411541296   MATTHEW      HACKERT                      PA     51009684115
9588B425881634   ROBERT       WATKINS                      MO     90003564258
9588B5A6591526   EDGAR        CASTILLO                     TX     90001535065
9588B81323164B   RONNIE       CURTIS                       KS     22013988132
9588B983433698   JUDITH       HERNANDEZ                    NC     12080799834
9588B985A9188B   KAYLA        HARTZKE                      OK     90010309850
95891141172B42   MARLENE      CERVANTES                    CO     33010721411
9589135748594B   LUIS         CISNEROS                     KY     90015153574
95891448A8B175   DANNY        HERNANDEZ                    UT     90013364480
95891516497B59   COLE         WAGNER                       CO     39002905164
9589162252B982   FRANSISCO    ZAVALA                       CA     90015386225
9589162AA4B588   MILO         KLIEWER                      OK     90011806200
95893332172B3B   MARSHA       SCHILLINGER                  CO     33008703321
95893AA9172B62   NELLIE       GARCIA                       CO     90009420091
95894213897B59   EDNA         BEST                         CO     90001792138
9589498A17B349   ALEXANDER    LOPEZ                        VA     90012059801
95895497372B3B   JOAQUIN      PINEDA                       CO     33036064973
95895635297B59   JESSICA      WILLIAMSON                   CO     90012256352
95895A7845B548   CASSIE       HERNANDEZ                    NM     35031590784
958965A3655951   TIM          PETERSON                     CA     90014785036
95896625672B56   NAVARRO      REYES                        CO     33071936256
958978A4191526   LORENA       ZAMILPA                      TX     75004428041
95898334397B59   NARUA        VALDEZ                       CO     90012413343
95898A17572B22   RICHARD      CARLSON                      CO     90004540175
95899141A72B42   NISHA        WILLIS                       CO     90015041410
95899682372B22   KENIA        MARTINEZ                     CO     33066336823
9589B486293732   KARLA        HUFFMAN                      OH     90005644862
9589B999655957   JOHN         WOODWARD                     CA     90005239996
9589BA15697B59   PETER        THOMAS                       CO     90014110156
958B1358161933   GUS          GARCIA                       CA     46060863581
958B1499291951   ARTEMIO      OROZCO                       NC     90014184992
958B1843A77537   ENOELIA      PEREZ                        NV     90012518430
958B1A79758593   PERNICE      MCFARLAND                    NY     90014730797
958B258A697B59   ALFONSO      TOVAR                        CO     90011615806
958B266893164B   PAYGO        IVR ACTIVATION               KS     90014826689
958B3928755936   ALEJANDRO    RAMIREZ                      CA     90014999287
958B3A6385B361   LEANNE       ROSENDAHL                    OR     90013610638
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1742 of 2350


958B446A393738   VERONICA      KING                        OH     64582064603
958B4821391951   SHALIETA      CAROLINA                    NC     90015018213
958B4981972B3B   STEPHEN       JARAMILLO                   CO     33046559819
958B5286A41296   ERIKA         LEASURE                     PA     90006892860
958B5413677537   AMBER         SHUMWAY                     NV     90012904136
958B5983572B62   JOHN          MCINERNEY                   CO     33029109835
958B645A15B383   FELIPA        PACHECO                     OR     90006064501
958B6833A55957   RATHA         NANG                        CA     90011188330
958B6941272B32   GECIA         TORRES PABLO                CO     90013779412
958B699954B588   JASMINE       MAHMOUD                     OK     90013229995
958B7296A91399   AMANDA        CRABTREE                    MO     90015172960
958B7425155951   BRYAN         BORELIZ                     CA     90014444251
958B767545B389   RICK          FERGUSON                    OR     90013966754
958B8141172B42   MARLENE       CERVANTES                   CO     33010721411
958B8326291599   EDUARDO       CAMARA                      TX     90011223262
958B92A6291951   JENNIFER      RODRIGUEZ                   NC     90000172062
958B932AA5B531   STEFFEN       ALLEN                       NM     90010923200
958B9598472B3B   GEORGINA      LOPEZ                       CO     33019965984
958B9634672B22   TABATHA A     HALSELL                     CO     33054176346
958BB265772B32   CRAIG         HICKMAN                     CO     33026002657
958BB36964B949   SHAWN         STEWTS                      TX     90003813696
958BB3A275B531   REBECCA       GIST                        NM     35084573027
958BB44A62B982   ANTONIO       MONTANO                     CA     90007424406
9591168A672B22   OLIVIA        QUINTANA                    CO     90009826806
95912193A5B361   NORMA         COTOC                       OR     90014771930
95913154472B3B   ISABEL        DIAZ                        CO     33053811544
9591412994B588   RASHEEDAH     FREEMAN                     OK     90014371299
95914252872B3B   JESUS         ORDAZ                       CO     90011172528
9591431125B389   ELVIA         ARZATE                      OR     90010443112
95914A4A78594B   DONOVAN       CULLINS                     KY     90015130407
95915339272B22   LIZET         ISAIS                       CO     90014263392
95915353972B62   KAMILAH       ALLEN                       CO     33056023539
95915579997B59   IGNACIO       ZARATE REYES                CO     90002855799
95915757A91599   FRANCISCO     MEZA                        TX     90006407570
9591579515B389   LESLIE        LOPEZ                       OR     90014187951
95915999A72B56   AMY           IVARSON                     CO     33010959990
95916132172B32   ANASTASIA     MOORE                       CO     33065991321
9591619A597B59   JONATHAN      BUSCH                       CO     39028571905
95916367672B3B   OMAR          CORRALES                    CO     33068073676
9591699745B361   DEVON         MCLAUGHLIN                  OR     90010329974
9591761895B548   ADRIANA       VILLANUEVA                  NM     35096056189
95917AA2455957   JOSE          GONZALEZ                    CA     90014420024
9591847424B588   K             ANDRADA                     OK     21530564742
9591872518594B   TRAVIS        SLOCUM                      KY     90007067251
95918933272B56   BERTAALICIA   PORRAS                      CO     90005619332
959189A8493755   VICKI         SLATER                      OH     64571699084
9591B23214B554   SPANGLER      ERICA                       OK     21533152321
9591B93155B383   ARTURO        MORALES                     OR     90009909315
9591B982472B62   AMBER         THOMAS                      CO     90013109824
95921158A33698   ROSALINO      GIL                         NC     12016231580
9592144AA72B62   RUBIO         VIRIDIANNA                  CO     90010584400
95921A5988594B   REGINA        KILLION                     KY     90011770598
9592238A78B152   MADALYNN      PACKER                      UT     90009643807
95922644372B62   MICHELLE      LANEY                       CO     33087416443
9592267AA72B46   KAROLYN       FARRIS                      CO     90008506700
959229A3531448   JOHN          SOKOLICH                    MO     90010289035
95923168A8B152   JULIO         HUERTA                      UT     90013751680
95923225472B42   JONULYLAH     GALLEGOS                    CO     90008742254
9592343424B967   WENDY         MELONSON                    TX     90005544342
95923A57193732   WHITLEY       GILLISPIE                   OH     90005980571
9592452A17B444   MARIAN        SUTTON                      NC     90000915201
9592484A74B588   STEPHANIE     CANNADAY                    OK     90010478407
9592491545B377   STEVE         SMITH                       OR     90004959154
9592495983164B   OMAR          JUZMAN                      KS     90012789598
9592569A572B32   JUANA         TALAVERA                    CO     33079936905
95925AA634B588   CLEVELAND     SPRUILL                     OK     90013850063
95926435872B3B   ARTURO        GOMEZ                       CO     90014044358
959268A5993726   VICKI         PLYMALE                     OH     90013318059
95926A42197B59   ERIKA         ESPARZA                     CO     39076580421
95927238A41296   FREDERICK     WOODFORK                    PA     51091132380
95927331372B56   KIANA         YOKUM                       CO     90002623313
9592829635B389   TIM           SKIPPER                     OR     44582652963
9592862A472B32   ALICIA        TRUJILLO                    CO     90011956204
959287A335B383   BARRY         HOUCK                       OR     90004687033
95929371A8B152   MALCOM        EVANS                       UT     90008843710
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1743 of 2350


95929A16591399   MARCO ANTONIO   RUTIA                     KS     90009200165
9592B25917B444   YOBANI          LOPEZ                     NC     11091772591
9592B985877537   KELLIE          ROLFE                     NV     43075819858
9593119A677537   SEAN            ACORDAGOITIA              NV     90008141906
959317AA172457   BETTY           NATOLI                    PA     90014817001
95931816197B59   KATE            COLLINS                   CO     90011788161
9593289118B175   AMANDA          BRERETON                  UT     31093578911
959331A1991531   CLAUDIA         VAZQUEZ                   TX     75087171019
95933A39493755   MICHEAL         FREEMAN                   OH     90001980394
95934272872B42   DAVID           VILLARREAL                CO     33040542728
95934816972B3B   LORETTA         MARTINEZ                  CO     90007568169
9593551865B548   ROSA            HERMOSILLO                NM     35092895186
9593574245B389   KENNETH         CRAWFORD                  OR     44508287424
9593668265B548   ANGELIQUE       PENA                      NM     90005056826
959368A2191599   YESENIA         CEDILLOS                  TX     90013598021
95936A16361955   JHONATAN        LOPEZ                     CA     90012440163
95936A69A93755   CHAVAS          GONZALES                  OH     90015580690
9593745285B383   NICOLE          CRAMLET                   OR     90013904528
95937453272B22   DANIELLE        HELLBUSCH                 CO     90012834532
95937683772B42   ERICK           MORALES                   CO     90008456837
95937A6A991399   CHIQUITA        CARTER                    KS     29049850609
9593813214B554   VILMA           ALVARADO                  OK     21576121321
95938A9A54B949   CURLEY          LANDRY                    TX     90006480905
95939323197B59   ROBERT          FELTY                     CO     90012563231
959394A7381634   THOMAS          MASON                     MO     90000234073
9593B27215B383   SONIA           NANDO-ZURITA              OR     44592492721
9593B45738594B   KAMMY           IGO                       KY     90014554573
9593B9A6172B22   ARTURO          NAVA                      CO     90013639061
9593BA1A55B389   KIM             HAWLEY                    OR     90014080105
959413A995B383   CHARLES         DENTON                    OR     90002533099
9594223257B444   LAZARO          SANTOS                    NC     90014662325
9594236195B531   AMBERLY         SALCIDO                   NM     90012643619
95942393972B62   ALEKSANDER      TYLEC                     CO     33038553939
9594291195B383   CHRISTOPHER     PONTE                     OR     90014689119
959432A4691531   DIEGO           RIVERA                    TX     90015042046
9594342615B383   MIRANDA         NICHOLSON                 OR     44594684261
9594439A193755   MELANIE         KRAUS                     OH     90009513901
9594524938B175   DON             AUSTIN                    UT     90007782493
9594572544B588   ANGEL           PATTERSON                 OK     90015137254
95945747472B62   MAIRA           GONZALEZ                  CO     90010667474
95945968A77537   STEVEN          LEYVA                     NV     90012419680
9594669A793755   TODD            MULLINS                   OH     90006326907
95947118297B59   MARIA           SILVA                     CO     90012931182
95947474A77537   SALVADOR        RUVALCABA                 NV     90014474740
95948264844B96   TYREE           HARMON                    OH     90015032648
959483A8272B83   SARAH           LAWSON                    CO     33072643082
9594923A75B361   ALMA            HERNANDEZ                 OR     90014772307
9594939633164B   NATHAN          HYSON                     KS     90000193963
95949559A3363B   RICHARD         DAVIES                    NC     90012345590
9594996884B588   CHIS            MITCHELL                  OK     90009409688
9594B589193755   MICHAEL         MCKAY                     OH     64592835891
9594B634A2B23B   MICHAEL         WILLIAMS                  DC     81016926340
9594B84583164B   GABRIELA        RODRIGUEZ                 KS     90004428458
9594BA4565B548   TOBY            OLDAKER                   NM     90013480456
9595163425B383   RAYMAND         HOLT                      OR     90013226342
95951699472B22   JESSICA         ROMAN                     CO     90006926994
9595277667B481   SHANELL         SANDERS                   NC     90013127766
9595295558B175   VICKEY          SEUTAFILI                 UT     31008029555
95953361A72B42   JOHN            DEVIVO                    CO     90009903610
9595368A397B59   GERARDO         MARTINEZ RAMOS            CO     39035836803
9595441AA5B548   ASHLEY          ROBINSSON                 NM     90010864100
95954466172B42   SAMUEL          ROOFF                     CO     33079624661
9595496A841296   CANEGIE         COMPUTER SVC              PA     51004489608
959552A523164B   ANDREW          JAMES                     KS     90014642052
95955757872B42   MELISSA         SHELBY                    CO     33015807578
9595587A372B22   AKAISHA         BROOKS                    CO     90010888703
95955A53A5B548   DANIA -         RIOS                      NM     35035400530
9595625AA93755   DELIA           REVERE                    OH     64510672500
95956A72972B42   JOSE            LUSIO                     CO     33098120729
9595781558594B   TONIA           THOMAS                    KY     90010508155
95957842A97B59   CHRISTOPHER     CAPLAN                    CO     90012438420
959582A3891951   JOSH            WHITE                     NC     90014802038
9595956742B98B   ALEX            LOPEZ                     CA     90005015674
95959759774B27   JACKIE          RHODES                    OH     90015057597
95959911A9376B   CAROL           HEDIGER                   OH     64564419110
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1744 of 2350


9595B192472B29   SARAH         BRYAN                       CO     33067041924
9595B61AA8B175   MICHAEL       LUCERO                      UT     31018376100
959615A744B231   NICHOLAS      HILDENBRANDT                NE     27016875074
9596195535B383   WENDY         CONNETT                     OR     90008469553
95961A38872B3B   JOHN          KILIAN                      CO     90013060388
95961A78991531   ROBERT        CARRILLO                    TX     90010980789
959624A188594B   MILLIAN       DARIUS                      KY     90010494018
9596251A891544   RICHARD       LUNA                        TX     90001295108
9596282492B256   JAIME         SANCHEZ ESCOBAR             DC     90012468249
959629A7677537   STEPHANIE     JARAMILLO                   NV     90012289076
95963123672B22   URBANA        BENCOMO                     CO     33097511236
9596334412B982   LATOYA        TUCKER                      CA     45043763441
95963594272B62   VERONICA      CALVILLO                    CO     33016785942
95964226474B68   ANGELA        SEARLES                     OH     90015072264
95964251172B42   CRUZ          MARQUEZ                     CO     33047892511
9596427758B175   FALCON        SPAN                        UT     90009752775
959643A2577537   VIRIDIANA     RODRIGUEZ                   NV     90008593025
95964778272B3B   HENRY         MOYA                        CO     90001357782
95964AA1A55951   XOCHITL       MONTEJANO                   CA     90014770010
9596513274B588   FERMIN        GALEAS                      OK     90000801327
9596522754B522   WILLIAM       PEREZ                       OK     90010732275
959653A8191531   MIGUEL        AVILA                       TX     90015043081
959655A635B531   PAUL          WILLIAMS                    NM     90003705063
9596578A577537   HUGO          CAAL                        NV     90015117805
9596595535B383   WENDY         CONNETT                     OR     90008469553
95966496697B59   JUSTIN        LIVINGSTONE                 CO     90014164966
9596699412B982   SHANNA        ORTEGA                      CA     45003139941
9596739A155951   EDUARDO       SANCHEZ                     CA     90014803901
9596758259712B   VICTORIA      DEL HORNO                   OR     90003115825
9596789A272B21   JAROSLAV      REZAC                       CO     33002148902
9596854A874B24   KYLE          BEELER                      OH     90014495408
9596936318B152   PATIENCE      HOLBROOK                    UT     90013423631
9596937798B175   ANDRIA        MARQUEZ                     UT     31025383779
959698AA85B383   JENNIFER      ALEXANDER                   OR     44526388008
95969A89497B59   DEEANA        CHAVEZ                      CO     90009750894
9596B173472B42   VANESSA       BORREGO                     CO     90015041734
9596B36172B982   HUVER         GOMEZ                       CA     45042853617
9596B426A7B444   CLINTON       PHILLIPS                    NC     11047084260
9596B8A4572B32   ANDREA        MUNOZ                       CO     90012548045
9597174118B175   ROBB          NEIDER                      UT     31070557411
9597174744B588   ARTURO        RAMOS                       OK     21583687474
9597255245B548   DAVID         CANDELARIA                  NM     90015295524
95972A1182B982   MARIA         ALBARRAN                    CA     90015390118
9597361674B588   CASSAND       COSBY                       OK     90013526167
95973A1565B383   KATRINA       PIRKLE                      OR     44569470156
9597427343164B   SHAWNTINE     ROSE                        KS     22016222734
95974883A93755   SHANNON       WEBSTER                     OH     64520738830
95975191A72B3B   VIRGINA SUE   STACEY                      CO     90010231910
95975319197B59   MYRNA         HERRERA                     CO     39055263191
959753A515B531   AMADOR        ROSALES                     NM     90010413051
95975932572B32   SARAH         BOLDEN                      CO     33090729325
9597626867B444   KENAN         MCCOMBS                     NC     90008572686
95976A7733164B   ANTHONY       JONES                       KS     90007340773
9597726838B152   TOBY          SUKOSKY                     UT     31030832683
9597759854B588   JEANTTE       RAMIREZ                     OK     90007605985
959775A915B383   BALOLWA       LUGANO                      OR     90012255091
9597877275B531   CANDACE       JENNINGS                    NM     90008947727
95978922297B59   CHARLES       REYNOLDS                    CO     90010609222
9597894692B524   AUSTIN        POE                         AL     90015029469
9597956112B24B   CHARLES       JOHNSON                     DC     81057515611
9597981435B548   MARIO         MARTINEZ                    NM     90012018143
95979921A61977   DAVID         RUIZ                        CA     90002309210
95981361172B32   DOUG          MCDONALD                    CO     33050413611
959816A972B982   MIKE          SOARES                      CA     90014836097
95981756172B31   GLAFIRA       CORTEZ                      CO     90012547561
9598222654B588   LONNIE        DIBLER                      OK     90011482265
9598293118B152   JULIO         RAMIREZ                     UT     31097289311
9598398998B12B   VICENTE       ALONSO                      UT     90007459899
95984197272B42   LUIS          DORADO                      CO     90015041972
95984235897B59   EVA           MENDOZA TOLEDO              CO     39043942358
9598453143164B   BROCK         COLLINS                     KS     90009975314
959845A562B256   KEONNA        YOUNG                       DC     90007405056
9598552898594B   JOANNA        BAILEY                      KY     90014155289
959858A325B361   KEN           LAUFUTU                     OR     90002048032
95985A85455957   DIANA         RASCOH                      CA     49071870854
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1745 of 2350


959861AA73164B   JOSHUA        DAVIS                       KS     90001781007
959862A195B389   STEPHANIE     ISACCSON                    OR     44533362019
9598638648594B   DUSTIN        HUTH                        KY     90012133864
9598697AA55951   ANGELITA      RIPPEON                     CA     90007419700
9598725165B361   KYLE          GILL                        OR     90012182516
9598737183164B   STEPHANIE     TAYLOR                      KS     90000803718
9598739853363B   SHANNON       TUTTLE                      NC     90013643985
9598783124B588   SHANETA       LEWIS                       OK     90006148312
95987A5A772B94   DAVID         KRIST                       CO     33045090507
9598834417B444   FELIX         LOPEZ                       NC     90011893441
9598975A972B22   MIGUEL        ESCAMILLA                   CO     33040107509
95989A7495B383   RUBY          RODRIGUEZ                   OR     44564480749
9598B63AA77537   RIGOBERTO     MARTINEZ-RIVERA             NV     90012886300
9598B68135B361   ADRIANA       CALDERON                    OR     90010356813
9598B828193755   MONIQUE       GIBSON                      OH     90002428281
9598B965A72B42   ARCADIO       MORENO                      CO     90008679650
9598BA41A8B152   ZACHARY       BARTUNEK                    UT     90013480410
9599127A48594B   MARK          HORTON                      KY     66089462704
9599164115B361   THOMAS        ANDERSON                    OR     90011376411
959916A434B588   DONNA         GLOVER                      OK     90010916043
9599216A53164B   CHELSEA       ANUKAM                      KS     90002081605
9599236144B588   CHRISTOPHER   DEBERRY                     OK     90011203614
9599267555B548   DONALD        BE'ANS                      NM     35090036755
95993183A55957   DANIEL        DELGADO                     CA     90000401830
9599333472B982   JACQUELINE    OLGUIN                      CA     90012893347
9599346833362B   DONTAE        ELLIS                       NC     90010644683
9599362A955951   ERIC          BENITEZ                     CA     90011236209
9599418695B531   PAULA         DEANE                       NM     35033811869
9599455884B588   SASHA         ROBERTS                     OK     90011505588
9599483A472B22   ELFATIH       HAMID                       CO     33005138304
959952A7A5B531   DAGOBERTO     RUIZ                        NM     90013122070
9599535575B548   JAMES         FOUST                       NM     90011423557
95995595672B22   AURELIA       HINOJOS                     CO     90012855956
9599585A397B59   CINDY         FIDDLER                     CO     39015498503
9599615815B531   JOSHUA        FINGERLOS                   NM     90014141581
9599619632B982   JAVIER        ZAMBRANO                    CA     90012931963
9599649794B265   LONNIE        KECK                        NE     90011354979
9599727A261977   HECTOR        ORTIZ                       CA     90010432702
95997596A72B62   MAISIE        LARRABEE                    CO     33024685960
9599772A42B982   ARIAYANA      WOLFE                       CA     90014457204
95997956197B68   ANGELICA      ZID                         CO     90009809561
95998145372B42   RICHARD       TAFOYA                      CO     33025571453
95998691197B59   JUSTIN        LIVINGSTONE                 CO     90014166911
95998A2567B444   JESSICA       LIVINGSTON                  NC     90014510256
95998A27A55957   MARCELINO     VITOLAS                     CA     90014420270
959996A9873297   ALLEN         HOWELL                      NJ     90014556098
9599B22315B531   STEVEN        SANDERS                     NM     90012482231
9599B2AA855957   BARRY         QUINN                       CA     49017862008
9599B31565B361   JOSE          VALADEZ HERNANDEZ           OR     90009353156
9599B372397B59   VERONICA      AVILA                       CO     90001043723
9599B62A82B982   EDGAR         ESPINOZA                    CA     90003426208
959B119315B548   AMBER         ALLEN                       NM     90014571931
959B14AA85B389   JAMIE         ALLEN                       OR     90014114008
959B219182B982   NEVADA L      BOSTICK                     CA     90015031918
959B229A94B588   DONALD        NICHOLS                     OK     90009332909
959B2825A55951   TRACEY        GONZALEZ                    CA     90014118250
959B291388594B   ALEXIS        VEST                        KY     90010239138
959B2923133698   ARACELY       GUZMAN                      NC     12057659231
959B3242877537   MARK          GILMORE                     NV     90012262428
959B326364B949   TANISHA       WRIGHT                      TX     90003862636
959B3276781634   AMANDA        BOYD                        MO     90015102767
959B32A7272B32   NAHUM         OSORIO                      CO     33073222072
959B333577B444   MICHAEL       HARRINGTON                  NC     90014423357
959B346565B361   MARQUITTA     GORDON                      OR     44592154656
959B3A55A55951   ANNA MARIE    CERDA                       CA     90015070550
959B473317B339   MUHAMMAD      JAN                         VA     90012397331
959B4A87372B62   JOSE          MEJIA                       CO     90010820873
959B515517B444   RHONDA        GEORGE                      NC     90010941551
959B5649697B59   LIDIA         RAMIREZ                     CO     39013416496
959B641455B548   SAMANTHA      CASTILLO                    NM     90011184145
959B642A241296   KIMBERLY      SMITH                       PA     90014514202
959B6443772B42   EDGAR         RODRIGUEZ                   CO     33071614437
959B657A561977   FIDEL         CASTILLO                    CA     90003675705
959B767964B588   ROBERT        BLANCHETTE                  OK     90003936796
959B76A3955957   PATRICK       LOCKHART                    CA     90012276039
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1746 of 2350


959B83A1172B62   SALVADOR     MARTINEZ                     CO     33053033011
959B875AA41296   JOYCE        SADIK                        PA     51046347500
959B8793191599   ROSA         GRANILLO                     TX     90002217931
959B898798B356   KENDALL      LITTLE                       SC     90013969879
959B9644677537   RACHEL       COSTALES                     NV     90015156446
959B96A9197B59   IRVIN        MARTINEZ                     CO     39019896091
959B978785B383   CYNTHIA      WOLFE                        OR     90014157878
959BB45967B444   MARIO        ORTEGA                       NC     90012474596
959BBA49597B59   RUSSELL      JENKINS                      CO     90014110495
95B1114995B548   ANTHONY      GALVAN                       NM     35007661499
95B11187772B42   MANUEL       GOMEZ                        CO     33014011877
95B11327391951   STEVE        BLALOCK                      NC     90014423273
95B11435391599   VAUGHN       EASLEY                       TX     90015284353
95B1173A47243B   STEVE        KEMERER                      PA     90004527304
95B11916491951   CEDRICK      TABORN                       NC     90011219164
95B121A3391599   ELLEN        SIMMONS                      TX     90013031033
95B1228845B531   JERRY        GONZALES                     NM     35066782884
95B1239997B444   YOUCA        SHELL                        NC     11085333999
95B13637572475   JOSE         ANIBAL GARCIA                PA     90012126375
95B13736593755   DENNIS       MCMAHOM                      OH     90007977365
95B1385812162B   JOVAN        SCOTT                        OH     90014108581
95B1395498594B   PEGGY        LENGEN                       KY     66045189549
95B14818393755   DAVID        FABIER                       OH     90014998183
95B14899791599   ADRIANA      SANDOVAL                     TX     90010648997
95B1513535B383   TODD         OTTO                         OR     90012061353
95B15164391531   JULIO        AGUILAR                      TX     90010581643
95B15253A5B548   ERICA        MANFRE                       NM     90013352530
95B15416691399   ADOLFO       CASTRO                       KS     90014854166
95B15A24997B59   MYLES        JOHNSON                      CO     90014860249
95B16567677537   LESVIA       RODRIGUEZ                    NV     90010945676
95B16885497B59   MELISSA      HOLTSCLAW                    CO     39089488854
95B16955472B56   JANNET       CARO                         CO     33039149554
95B16A43A97B59   MAH          THAY                         CO     90010600430
95B16A9A772B32   SELVIN       GUERRA                       CO     90012210907
95B172AA891599   LETICIA      GARCIA                       TX     90006592008
95B1738AA5B361   ROBERT       MERRITT                      OR     44500443800
95B17567677537   LESVIA       RODRIGUEZ                    NV     90010945676
95B18138472B3B   RAMIRO       JAQUEZ                       CO     33080471384
95B18165931476   MARIA        JOHNSON                      MO     90003641659
95B1821685B531   NATASHA      APODACA                      NM     90013072168
95B18649572B42   CARLA        MEZA                         CO     90013686495
95B1918A697B59   FELIPE       ROMERO                       CO     90014191806
95B19256555957   VALERIE      MORENO                       CA     90002642565
95B19427877537   CYNTHIA      STORNELLI                    NV     90015024278
95B19574797B59   ANAI         LOPEZ                        CO     90012585747
95B1969A13164B   AQONSA       BROWN                        KS     22045036901
95B198A6791399   OSMAN        VILLEDA                      KS     90013818067
95B1B114797B59   VIRGINIA     PASTRANA                     CO     39007821147
95B1B3A5472B3B   MYRNA        MORLAES                      CO     33059343054
95B1B557672B32   URIEL        SALAS                        CO     90012455576
95B1B843491368   KAREN        TAYLOR                       KS     29031228434
95B1BA61A33666   WILLIAM      MCGEE                        NC     90009480610
95B2113867B359   RIGOBERTO    CHINCHILLA                   VA     90013171386
95B21325355957   JAMES        WILLIAMS III                 CA     90009123253
95B2224A25B531   LINDSEY      HAWKINS                      NM     90014422402
95B2234646196B   MARTHA       ESCOBEDO                     CA     90012353464
95B2246325B361   CESAR        CAMPUZANO                    OR     44510304632
95B22528791599   VIRGINA      ROSALES                      TX     90008125287
95B2252A472B3B   KIM          WERNER                       CO     33045365204
95B2267995B383   JAMIE        GRIFFIN                      OR     90009626799
95B23375991531   CRYSTAL      AVILA                        TX     90007073759
95B23444A91951   LUIS         MORALES CASTRO               NC     90014404440
95B23969391399   ESTHER       MARTINEZ                     KS     90012179693
95B2411417B444   AMITRA       PERRY                        NC     90007011141
95B2428728594B   DOGLAS       TURNER                       KY     90012872872
95B25655472B22   DANIEL       OLAGUEZ                      CO     90013056554
95B2568A63164B   DELVIN       HAAS                         KS     90015206806
95B25761872B62   NANCY        PETER                        CO     90015107618
95B2646A95B383   ERIKA        MORAN                        OR     44512274609
95B2697479136B   DEVEEDA      GREEN                        KS     90001709747
95B27116197B59   MARIA        GONZALES                     CO     39094591161
95B2718168B13B   LOGAN        SMITH                        UT     90011501816
95B27461591599   ARATH        CORRAL                       TX     90001224615
95B27577771922   ROMANA       VUCKOVIC                     CO     32030825777
95B2762765B389   KELLY        RACHAUSKAS                   OR     90014066276
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1747 of 2350


95B27979961977   RAUL          SILVA                       CA     90012239799
95B285A975B361   IMELDA        MARTINEZ                    OR     44579495097
95B2877A39184B   BRYAN         COX                         OK     90004337703
95B28935553B2B   MATTHEW       RUGGIERO                    CA     90014039355
95B2896874B949   KAWANDA       BOB                         TX     90001559687
95B29313491399   DAYSHA        ROTHSCHILD                  KS     90014163134
95B29383A55957   GERMAN        GARRIDO MARQUEZ             CA     90014393830
95B2972195B531   ROBERT        AGUILAR                     NM     35039367219
95B29956861977   MAGDALENA     ACEVEDO                     CA     46077789568
95B2B2A498594B   KENIN         KING                        KY     90011402049
95B2B4A6972B3B   DAVID         SAANTIAGO                   CO     90015164069
95B2B89633164B   JAY           WILLIAMS                    KS     22098728963
95B3121975B548   RAMONA        OROS                        NM     90014292197
95B31437A72B62   CONSUELO      RODRIGUEZ                   CO     90005264370
95B31548955957   PANCHO        SANCHEZ                     CA     90012495489
95B31887172B22   STACEY        HOFFMAN                     CO     33006338871
95B3193445B367   KARLA         JENKINS                     OR     90010969344
95B32332193721   TEISHA        YOUNG                       OH     90015143321
95B3297964B588   MADILINE      LONG                        OK     90006259796
95B33123691531   CECILIA       SERRANO                     TX     90014801236
95B33524181634   JUSTIN        SAYLER                      MO     90013335241
95B33695672B22   MARLIN        CHARLES SEITZ               CO     33095036956
95B3442378B152   MELISSA       FITZGERALT                  UT     90011484237
95B34759291531   JENNIKA       FLORES                      TX     90015007592
95B34A76A33B51   CRYSTAL       HELMICK                     OH     90014560760
95B34A77497B59   TEK           WILSON                      CO     39044720774
95B3541735B548   ANGEL         ROCHA                       NM     90015124173
95B35498455957   OLGA          RODRIGUEZ                   CA     90005364984
95B3581585B383   MICHAEL       SCAIFE                      OR     90012158158
95B35877A72B62   LAWRENCE      THOMAS                      CO     90013648770
95B3598584B588   MAX           GEONA                       OK     90012299858
95B3614655B383   SENECA        ALEXANDER                   OR     90012301465
95B36163791399   BARNETT       TIFFANY                     KS     90014711637
95B37313981634   STEPHAN       EADS                        MO     90000183139
95B37342291399   RUSSELL       HARPER                      KS     90014163422
95B373A288B152   CRYSTA        STANFIELD                   UT     31061043028
95B37A1A172B32   OSWALDO       CASTILLO                    CO     33040460101
95B37A62497B59   JOSE          CARRILLO                    CO     90010600624
95B3835A572B32   KRISTY        MICHELE WOODS               CO     90009713505
95B3854427B444   DANIELLA      PETERSON                    NC     90014845442
95B38A7A98594B   STEPHANIE     SHEPPARD                    KY     90009300709
95B3911125B383   CONTESSA      ROBERTS                     OR     90003621112
95B391A4293732   JEFFERY       WILSON                      OH     90012791042
95B39346291399   RANIYA        HANDY                       KS     90014163462
95B3948154B588   CHRISTOPHER   BOLENBAUGH                  OK     90011494815
95B395A5655951   ABEL          REYES                       CA     90010905056
95B3961785B361   JOE           SMITH                       OR     90014706178
95B3979828B175   MICHELLE      HATCH                       UT     31013287982
95B3986165B531   APRYLL        STEPHENS                    NM     35017798616
95B399A215B361   PEDRO         BENNETT SUAREZ              OR     90014689021
95B3B37A35B531   MONICA        BENCOMO                     NM     90012563703
95B3B441155957   BOBBY         GARZA                       CA     49005614411
95B3B49944B554   CRIS          ANDERSON                    OK     21597884994
95B3B666191531   CHRISTOPHER   CORTES                      TX     90014996661
95B3B791972B32   ROBERT        GUERRA                      CO     90009467919
95B3B814897B59   RICARDO       VELAZCO                     CO     39052188148
95B41181372B22   MITCHELL      LAQUITA                     CO     90013121813
95B4123134B588   PAUL          EGUABOR                     OK     90008512313
95B4123155B383   THANH         LE                          OR     90014202315
95B412A645B389   MORRIS        CARNEY                      OR     90001962064
95B41687891531   GLORIA        ESPINOZA                    TX     90014996878
95B4175494B554   JARRED        SCHEVOR                     OK     90006117549
95B41846641296   TONYA         FRISCO                      PA     51035888466
95B41897172B3B   DENISSE       AGUILERA                    CO     90013188971
95B4211345B548   SABRINA       MADRID                      NM     90013931134
95B42188491531   TOMMIE        GREEN                       TX     75044101884
95B42465A4B554   DAVID         FRANK                       OK     90004894650
95B424A174B588   LIAN          DONG                        OK     90014174017
95B43299A51391   STEPHEN       MERGNER                     OH     90012362990
95B43687A55951   MARLEEN       RODRIGUEZ                   CA     90012206870
95B4378235B361   HECTOR        ALEMAN                      OR     90010347823
95B4389794B588   CASEY         BOECKMAN                    OK     90010298979
95B4412772B824   MICHAEL       MCCARVER                    ID     90011951277
95B44129772B42   NATHANIEL     CRANK                       CO     90015021297
95B4431895B383   DARREN        JONES                       OR     44515963189
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1748 of 2350


95B4433528594B   RHONDA               YORK                 KY     66010063352
95B44716697B59   LAILA                SAAD                 CO     90014587166
95B44822777537   OTONIEL              RUIZ                 NV     90014588227
95B44875A5B389   SHELLEY              VILLAFANNI           OR     90015358750
95B449A215B361   PEDRO                BENNETT SUAREZ       OR     90014689021
95B45298577537   AMANDA               RUIZ                 NV     90013462985
95B453A648594B   JOSE                 RODRIGUEZ            KY     66090803064
95B4547648B152   MELISSA              R HARVEY             UT     90009454764
95B4559315B383   NATHAN               CAVOTA               OR     44509635931
95B4569A397B59   JAIME                MARTINEZ ZUNIGA      CO     39026106903
95B456A5372B22   RAYMOND              HAMMOND              CO     90015126053
95B4574755B531   ANDREW               MOLINA               NM     35085887475
95B4576A972B3B   COLLEEN              QUINN                CO     33001437609
95B45A13993755   SHERINA              LOLLAR               OH     90013700139
95B46518172B22   KASSIE               MONGER               CO     33053775181
95B468A9961977   EDER                 INCLAN               CA     90009158099
95B4713685B383   IVAN                 MIROLYUBENKO         OR     90010781368
95B4817794B588   AMBER                LAWRENCE             OK     90005701779
95B48349297B59   CESAR                ACEVES               CO     90013923492
95B48359891951   ANDRE                SAUNDERS             NC     90011003598
95B48412791531   ROSA                 TORRES               TX     75022684127
95B4882A155951   CINDY                LAO                  CA     90014338201
95B48868A8B152   JASON                GROVER               UT     90002608680
95B49177672B56   SPARKLE              ROBINSON             CO     33020851776
95B49423172B32   JANET                CANIFORD             CO     33096054231
95B4979367B444   FRANCISCO            RANGEL               NC     90012217936
95B49A78772B3B   DONNA                MELTON               CO     90014600787
95B4B687891531   GLORIA               ESPINOZA             TX     90014996878
95B4B9A9461955   JENNIFER             SPENCER              CA     90014319094
95B5132835B383   ALICIA               CAUDLE               OR     90013543283
95B51779791951   TIA                  ROBINSON             NC     90015017797
95B5214A55B383   DAVID                HULSE                OR     90010781405
95B5221A75B531   GUADALUPE            MARTINEZ             NM     35042542107
95B5224855B548   ESTHER               GALLEGOS             NM     90013722485
95B52541693755   WILLIAM              THAYER               OH     64571375416
95B5293663164B   ANGELA               MILLS                KS     90013519366
95B53438172B22   CHRIS                GRANT                CO     90004994381
95B542A4A91599   GLORIA               CASTOR               TX     90014842040
95B54312191951   SHARON               LYONS                NC     17094503121
95B5451165B389   GEOFF AND SAMANTHA   MILLER               OR     90014625116
95B54712161977   YESSENIA             ROCHA                CA     46051557121
95B54948A72B22   ERNEST JR.           APOLINAR             CO     33050159480
95B55166272B42   TIFFANY              SAPP                 CO     33008041662
95B555A1A91554   JOHN                 MEJIA                TX     90010155010
95B5563814B554   MARIA                PEREZ                OK     90000576381
95B55646541296   MARCIA               GORECK               PA     90004376465
95B55775172424   REVA                 HASKIN               PA     51017567751
95B559A215B361   PEDRO                BENNETT SUAREZ       OR     90014689021
95B561A988B152   JENNIFER             HARRISON             UT     90013361098
95B5681224B588   ROBIN                DINGMAN              OK     90015308122
95B56959772475   LUIS                 HERNANDEZ-ALDAMA     PA     51059619597
95B5716A88B175   ERIK                 CASTILLO             UT     90009551608
95B57224A5B562   SUSAN                MCKENNEY             NM     90001592240
95B5724A45B548   MONICA               WHITE                NM     35017552404
95B57A79A77537   MICHAEL              MILLER               NV     90014150790
95B5818114B949   PRISCILLA            LADAY                TX     90008331811
95B58316651325   INDIRA               SOSA                 OH     90013573166
95B5924887B444   VALENTINO            LOPEZ                NC     90012222488
95B59688872B3B   CHRISTINA            SOWELL               CO     90014236888
95B59959A55951   CRESENCIO            BARBOSA              CA     90012919590
95B5B12887B444   NERD                 PALACIOS             NC     90003251288
95B5B133A81634   DAVID                NELSON               MO     29048751330
95B5B28A291951   DANIEL               MURPHY               NC     90000762802
95B5B67168B152   JUSTIN               CLUTTER              UT     90013356716
95B61375272B22   SONIA                MARTINEZ             CO     90012503752
95B6154A591951   CARLOS               ROBERTO              NC     90007615405
95B615A3691599   YIBRAN               SILVA                TX     90011515036
95B6191845B389   JORGE                JIMENEZ              OR     44500379184
95B62286491951   DEBRA                WESTENSKOW           NC     17065302864
95B6234555B548   MARCOS               ALVAREZ              NM     35033283455
95B62421672B42   KEVIN                ASHBY                CO     90012564216
95B62874472B62   GAY                  WILLIAMS             CO     90008268744
95B62A76431436   ELISA                ASTA                 MO     27537670764
95B63444972B3B   HOLLY                BAKER                CO     90011124449
95B63597872B32   REGINA               RIVERA               CO     90008155978
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1749 of 2350


95B6396128594B   TERRY             BAXTER                   KY    90002709612
95B64555491544   JORGE             LOPEZ                    TX    90009675554
95B6497545B548   ANTHONY           LOPEZ                    NM    35026639754
95B64A96A5B389   ESTELA            PALACIOS DE LOS SANTOS   OR    90012940960
95B6554937B444   RACHARLOTTE       COATES                   NC    90015125493
95B65629A55957   ALFRED            FEDRICO                  CA    49062486290
95B66133A72B22   MOLLY             REAM                     CO    33005031330
95B6637615B531   JOANN             CHACON                   NM    35056173761
95B66417A91399   PAULINA           BALBUENA PERFECTO        KS    90014164170
95B66534972B32   LISA              BROWN                    CO    33031515349
95B66538591531   JOSE              CORONA                   TX    75095095385
95B6661795B548   ADAM              ABEYTA                   NM    90015086179
95B66734381667   ROBERTA           BARR                     MO    90001277343
95B66A46672B3B   CRYSTAL           MARQUEZ                  CO    90013320466
95B66A73555957   DANIEL            RODRIGUEZ                CA    90011030735
95B67143291531   JULIO             DIAZ                     TX    90014401432
95B67323197B59   ROBERT            FELTY                    CO    90012563231
95B67453655951   CHRISTIEN         MORANO                   CA    90011644536
95B67519572B22   PATRICIA RIVERA   GARFIO                   CO    90008175195
95B6778388B152   MARIA             DE ROCIO CHAVEZ          UT    90012637838
95B6781944B588   BRITTNEY          BIORATO                  OK    90010848194
95B67AA5861977   BRUCE             BARRON                   CA    46092000058
95B6821848B152   AMBER             MORRISON                 UT    90010682184
95B6826797B444   SHENITA           BOST                     NC    90013962679
95B683A3381634   EDWARD D          WALLACE                  MO    90003593033
95B68A93191828   JAIME             VAZQUEZ                  OK    21058490931
95B69183872B62   SETH              GLAZE                    CO    90013851838
95B69225A5B531   TAMARA D          BAROS                    NM    90012472250
95B69651372B42   ADAM              HOEYE                    CO    90011696513
95B6979935B383   PAULINA           SEPULVEDA                OR    44512827993
95B6B611872B22   ISMAEL            SANDOVAL                 CO    33000816118
95B71464991599   GABRIEL           RODRIGUEZ                TX    75001974649
95B71685355951   YOLANDA           REYES                    CA    49035926853
95B7223418B152   BRENDA            HUDSON                   UT    90015582341
95B72659A97B59   RHINEY            DUBE                     CO    90014336590
95B72948455957   SHANEQUA          YOUNG                    CA    90006929484
95B72961661966   JAMIE             MOTT                     CA    90014159616
95B7322975B361   VICTOR            GONZALES                 OR    90013582297
95B73249672B22   CECILIA           O'JOHN-HERNANDEZ         CO    33058562496
95B73363672B56   LAUREN            READY                    CO    33079983636
95B7347795B288   DARRYL            KING                     KY    68002794779
95B73648691599   BRYAN             SAENZ                    TX    75040736486
95B73665691531   ALICIA            CRESPO                   TX    75052736656
95B7398A95B548   JAMIE             LANGFITT                 NM    90011519809
95B74764172B22   ISREAL            ALVAREZ                  CO    33024847641
95B7534475B361   JAMES             CONNELL                  OR    90005063447
95B7562AA93782   TERESA            RIVERA                   OH    90001136200
95B761A1997B59   RYAN              SALAZAR                  CO    90012931019
95B76451A72B32   OSCAR             HERRERA                  CO    90013714510
95B77275891951   CATALINA          GONZALEZ                 NC    17048272758
95B7733254B949   CESAR             SANCHEZ                  TX    76545213325
95B77779391599   ROSA              DEMERCADO                TX    75094357793
95B784A1493755   AMANDA            KRAFT                    OH    90014284014
95B78522197B59   TYLER             FOLGER                   CO    39029835221
95B78899972B22   JOSE              JACQUEZ                  CO    90010798999
95B78987372B62   LILIANA           CISTRUITA                CO    90014309873
95B79711661977   LETICIA           GONZALEZ                 CA    90011037116
95B79A9544B588   TODD              RUSSELL                  OK    90010690954
95B7B159581634   SHAUN             CAMPBELL                 MO    90007431595
95B7B33A497B59   ADRIANA           GARNICA                  CO    39007443304
95B7B57283164B   CHLOE             TOLSON                   KS    90013195728
95B7B943A5B531   ERNEST            GARCIA                   NM    90008389430
95B81791272475   NICK              LANKES                   PA    90012717912
95B81A3965B389   JULIAN            LUEVANO-MARTINEZ         OR    90013510396
95B82159255951   JOHN              ORTEGA                   CA    90014911592
95B82491A91399   ALFONZO           DAVIS                    KS    90014874910
95B82A52955951   BALTASAR          CAMPOS                   CA    90012970529
95B83A72641296   CLAIRE            BACHA                    PA    90009110726
95B845A6791399   JEFF              BRENNEMAN                KS    29090745067
95B84715672B42   EDDIE             JOHNSTON                 CO    90014177156
95B849A434B949   ROSALINA          SANDOVAL                 TX    76584839043
95B8565464B949   MICHELLE          MOORE                    TX    76557896546
95B85826472B98   ALISA             TUCKER                   CO    90011018264
95B86235497B59   HECTOR            GONZALEZ                 CO    90011852354
95B86238991599   EVA               GONZALEZ                 TX    90015342389
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1750 of 2350


95B8656A572B32   MARISELA     CASTILLO                     CO     33089285605
95B8688135B531   BRITANNI     LOPEZ                        NM     90012988813
95B87777533698   JOSE         OTERO                        NC     90008927775
95B87825572475   RONY         PROPHETE                     PA     90014818255
95B87868772B32   MARIA        MORALES                      CO     33054368687
95B8814968B152   SHANTEL      BRAVO                        UT     31051861496
95B88285991951   TONITA       JONES                        NC     90010892859
95B8832438594B   JESSICA      HARVILL                      KY     90008483243
95B88739872B56   MARGARET     HERNANDEZ                    CO     90005527398
95B88847791951   JONATHAN     NANCE                        NC     90013928477
95B88888572B62   JOSEPH       PARSON                       CO     90009148885
95B8932174B588   AUZAULIQUE   GORDON                       OK     90014153217
95B8963A78594B   TIM          HUNTLEY                      KY     90002826307
95B8982213164B   LINDA        SQUIRES                      KS     90013908221
95B8B171991399   BRANDY       FRECKS                       KS     29089021719
95B8B24A25B531   LINDSEY      HAWKINS                      NM     90014422402
95B8B36884B588   MICHAEL      BALLARD                      OK     90014023688
95B8B83735135B   ROBERT       FOSTER                       OH     90012098373
95B91178672B22   GABRIELA     SAILAS                       CO     90007431786
95B9137887B444   NICODEMO     GARCIA CABRERA               NC     90011023788
95B9149AA81626   MIRIAM       LOPEZ                        MO     90004364900
95B917A763367B   SINTORA      BRANNON                      NC     12092797076
95B9197545B361   ERIC         GRAHM                        OR     90011159754
95B91984153B2B   ERIKA        RODRIGUEZ                    CA     90015509841
95B9316A65B344   DEBBIE       WINZLER                      OR     44573301606
95B9319718594B   TARA         COMBS                        KY     90006551971
95B9344A95B531   MICHAEL      GONZALES                     NM     90010904409
95B93585777537   LUIS         MARISCAL                     NV     90013875857
95B941A775B389   HECTOR       CAMACHO REYES                OR     90012011077
95B943A2293755   SHENIQQUA    FREEMAN                      OH     90006403022
95B94729A91599   SANDRA       SOTELO                       TX     90013097290
95B94742A72B42   DWIGHT       BARNES                       CO     90006817420
95B9485133365B   ALISHA       MILLER                       NC     90011738513
95B95167855957   JONATAN      CASTILLO                     CA     49082741678
95B95584177537   JUAN         ESTRADA                      NV     90014825841
95B955A3572B32   ANN          TREVINO                      CO     90010045035
95B95731172B22   JULIO        GARCIA                       CO     33025887311
95B9574245B389   KENNETH      CRAWFORD                     OR     44508287424
95B96351455957   GRISELDA     CASTILLO                     CA     90012513514
95B96361172B3B   ROSAMARINA   MATA                         CO     33085513611
95B9651175B383   BRIAN        KING                         OR     90012885117
95B9655A58B175   TERRY        HOLM                         UT     90008565505
95B9659818167B   TRENTON      STANLEY                      MO     90011455981
95B9682465B548   DOLMO        VARELA                       NM     35071358246
95B9687888594B   TIMOTHY      SANDER                       KY     90011178788
95B96A6458B152   ASIA RAE     WERVEN                       UT     31091330645
95B9753948B152   JARED        DOMAN                        UT     90009935394
95B9768A591399   CANDACE      WILLIAMS                     KS     90013086805
95B9787888594B   TIMOTHY      SANDER                       KY     90011178788
95B97988A72B62   DANA         NEIBERGER                    CO     90014309880
95B98117A72B3B   SARAH        COLLINS                      CO     90013051170
95B98239193755   JAMES        HOUSTON                      OH     90011612391
95B9849A397B59   SHAWNA       BERNABE                      CO     39036214903
95B98725672B62   EMERALD      EDWARDS                      CO     33082987256
95B98912491951   ROCHELLE     PEACE                        NC     90008399124
95B98A21A3164B   ESTEPHANA    TUCKER                       KS     90014550210
95B996A5891579   ALMA         SANCHEZ                      TX     75012106058
95B9B48224B588   STEPHANIE    RINALDI                      OK     90007144822
95BB1274891579   JAMES        NEWMAN III                   TX     90008002748
95BB1A1775B383   TYLAR        ROMAN                        OR     90014840177
95BB1A4AA91399   VERONICA     CALDERA-TRIANA               KS     90012330400
95BB2399855957   ESTEBAN      ARMAS-ARREOLA                CA     49025513998
95BB2546391922   MARIE        ARMOUR                       NC     90005965463
95BB2766691532   VICTOR       MARQUEZ                      TX     90014477666
95BB2A61591599   IVONNE       GARCIA                       TX     75073640615
95BB34A3372B62   JOSE         SOTELO                       CO     33024684033
95BB3761655951   XAI          LOR                          CA     90004897616
95BB3A13281634   TIFFANEY     BEERS                        MO     90013650132
95BB3A1952B23B   SANDRA       DAVIS                        DC     90012500195
95BB3A88791599   ANA          OLGUIN                       TX     90015340887
95BB4426972B22   ROB          ALLEE                        CO     90002644269
95BB4434791599   FRANCISCO    SANTIESTEBAN                 TX     75036504347
95BB459A97B444   CATALINA     MARTINEZ                     NC     11070485909
95BB4A13255951   ASHLEY       NELSON                       CA     90006580132
95BB5198761977   ELENA        SUAREZ                       CA     46082121987
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1751 of 2350


95BB51AA291951   ANGEL        MINOR                        NC     17007981002
95BB5243172B22   JOSE         MAGALLANES                   CO     90013742431
95BB588255B531   SUERENA      ETCITTY                      NM     90014668825
95BB6682391399   MANUEL       MARQUEZ                      KS     90009936823
95BB6A41A7B349   MICHAEL      FORD                         VA     90002560410
95BB7181272B3B   FRANCIS      JAWORSKI                     CO     90004741812
95BB73A9697B59   SUSANA       CORREA-AVILA                 CO     90013923096
95BB7451A72B22   NOAH         DOMINGUEZ                    CO     90013404510
95BB751155B383   ROBERTA      LAASCH                       OR     44573125115
95BB755445B548   KENNETH      CHAVEZ                       NM     90013785544
95BB7691591599   ESPERANZA    ZACARIAS                     TX     90010676915
95BB7971177537   NANCIE       HAMLIN                       NV     43097269711
95BB864765B562   DENISSE      CANALES                      NM     90013406476
95BB865245B361   GASPAR       QUINTANA                     OR     44546626524
95BB877938594B   ROCKY        EDDY                         KY     90005117793
95BB8A26571928   MARC         LYONS                        CO     38020530265
95BB945925B361   CAROLINE     BIRMINGHAM                   OR     90014934592
95BBB24A884348   JINETHEL     BAYNES                       SC     14579812408
96111992272B62   BATE         ESCALERA                     CO     90007679922
96112475372B56   BARBARA      SEELE                        CO     90006834753
9611314845B389   RAFAEL       MADRIGAL                     OR     44546071484
961133A465B383   CHARLES      MURRAY                       OR     90014043046
96113A1517B444   KEYONA       CANADA                       NC     11026120151
9611437555B383   DAMIAN       ACUNA FERNANDEZ              OR     90012033755
96114771272B32   ANA LAURA    VERDUGO-GUERRERO             CO     90010267712
9611513A991521   ANAHI        HERNANDEZ                    TX     90014871309
96115325672B22   ROBERT       GUERRA                       CO     90013043256
9611535388B175   RYAN         VANOS                        UT     90001413538
96116254A5B389   RACHEL       BIRD                         OR     44559532540
96116393A5B383   ELIZABETH    ROMERO                       OR     90001013930
9611659175B531   MARIA        GARCIA DELGADO               NM     35087005917
9611786648B175   LUNA         MAZZARA                      UT     90004258664
96117AA9672B42   MELISSA      GOMORA                       CO     90007430096
9611B522461977   ISRAEL       CARRILLO                     CA     90012355224
9611B868672B56   MIRIAM       MARQUEZ                      CO     90009678686
9612123A75B379   JASON        LOTSPEICH                    OR     90013382307
96121A8A131471   ROIRYNN      KRAUSE                       MO     27517860801
9612214573164B   KEITH        MILLER                       KS     90013321457
9612275A997123   KEVIN        MAWHINNEY                    OR     44013907509
9612279177B444   MARY         MELKER                       NC     11088937917
961227A7961924   DONNA        MURPHY                       CA     90006727079
96123218772B62   NINA         ORTIZ                        CO     90013482187
9612551925B383   TINA         GLUSTER                      OR     44517425192
96125945672B56   RAMON        TARANGO                      CO     33071419456
96126418A72B32   DUANE        THREATS                      CO     33053984180
96126A8244B949   MY           LEE                          TX     90005530824
96127194972B22   JACLYN       TRIZIO                       CO     90013991949
9612721188594B   CHRISTINA    GODINES                      KY     90001602118
96127447372B3B   JAMES        MARTINEZ                     CO     33057884473
9612747A172B24   GABRIELLA    PAULA BIKADI                 CO     90002294701
96127525772B56   SOPHIA       VALENZUELA                   CO     90014805257
96127725A61977   JESSICA      MOLINA                       CA     90007467250
96127939A91531   YADZIA       CAZARES                      TX     90012779390
96127941397B59   BRENDA       MOLINAR                      CO     90009019413
9612851A13164B   ISELA        SOLIS                        KS     22094025101
96128984372B3B   FRANCISCO    VERA                         CO     33038459843
96129319972B62   JOEY         ROBINSON-RIDINGS             CO     90008013199
96129393A61977   KIMBERLY     BECKA                        CA     90001983930
961293A553B399   RUDDY        WAURAN                       CO     90012063055
961297A1391531   VERONICA     LOYA                         TX     90010837013
961297AA491521   MARTHA       GALLEGOS                     TX     75039437004
9612B149191531   JOSE         VILLANUEVA                   TX     75048161491
9612B469172B32   JUAN         AGUILAR-AVILA                CO     33020114691
9612B496261977   MARINA       MARQUEZ                      CA     46062854962
9612BA3198B175   AMANDA       SANCHEZ                      UT     90003830319
9613128A15B531   LUIS         MONTANEZ                     NM     90008972801
96131414372B32   CARL         WILSON                       CO     90013024143
9613146555B361   MARIA        PLASCENCIA                   OR     44576264655
96131596772B56   MARTIN       TOLIVER                      CO     33088055967
96131958A91951   DUANE        JAMES                        NC     90011669580
96131A42A91521   CHRIS        HAYNES                       TX     75032320420
961321AAA91399   DONNA        MULIDORE                     KS     90014491000
9613251A691521   CANDY        HAREN                        TX     90000825106
9613279685B361   ROBERTO      HERNANDEZ                    OR     90000127968
961334A895B531   KACI         NELSON                       NM     90011094089
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1752 of 2350


961334A945B383   JACE          CRAUN                       OR     44537094094
961339A984126B   FRANK         AMATO                       PA     90003899098
96133A45891399   TILICIA       GREEN                       KS     29044430458
96134275672B56   LAURA         GONZALES                    CO     90014162756
96134379397B59   APRIL         DEMPSEY                     CO     39069833793
9613447323164B   JOSE          LOPEZ                       KS     90011254732
9613583485137B   JAMES         JENKINS                     OH     90011318348
96135AA2381626   JEREMY        RYAN                        MO     90012180023
96137463972B56   MARCO         MARTINEZ                    CO     90005734639
9613763688B175   HANNAH        VERUMEN                     UT     90006616368
961376A524B588   LAKESHA       ANGLIN                      OK     90006026052
96137A33891599   JAIRO         GALLARDO                    TX     90013580338
96137A92291521   ADA ALICIA    GARCIA                      TX     90015310922
96138557672B42   JOSEFINA      RUIZ                        CO     33014355576
961391A255B548   ASHLEY        GALLEGOS                    NM     35042331025
9613991359712B   TONYA         MACK                        OR     90010409135
9613B227591399   RHIANNA       D                           KS     90013992275
9613B246241271   SARAH         PUHARIC                     PA     90013092462
9613B41345B361   MAURICIO      VILLANUEVA                  OR     90004254134
9613B52595B383   NICOLE        BRIGHT                      OR     90011395259
9613B8A2372B62   REBECCA       MILLER                      CO     33033218023
96141375172B56   LETICIA       BAHENA                      CO     33037853751
96141737372B24   MIGUEL        REYES                       CO     90014607373
96141926A91599   GRACIELA      DUARTE                      TX     90011859260
96141A32872B3B   ZACHERY       LEE                         CO     90010950328
9614281A855951   MATTHEW       BERMEA                      CA     90010648108
96142A48877537   ABEL          CARRETO-YOC                 NV     43088110488
96142A53272B56   EGLA          PINATA                      CO     90012760532
9614351AA72B56   PARADA        OCHOA                       CO     33064275100
96143674A43442   LYNNEA        RAYNOR                      VA     90014256740
961437A814B949   DON           WASHINGTON                  TX     90005537081
9614494217323B   YANET         SANTIAGO                    NJ     90013969421
9614587918594B   EUGENE        PETTEY                      KY     66048228791
9614655455B531   SANDRA        VAZQUEZ                     NM     90013715545
961465A9172B3B   JENNIFER      GERMANO                     CO     33001005091
9614679786B984   STEPHON       FRODING                     NJ     90011177978
96147279A72B56   ESTRELLA      KING                        CO     90014162790
96147742372B22   MEGAN         LOPEZ                       CO     90009547423
9614811A872B22   ADELINA       APODACA                     CO     33031551108
96148695497B59   AURA          DAVIS                       CO     90009946954
9614876A872B3B   ISRAEL        MACCOY                      CO     33053397608
96149578772B42   LORRAINE      SCHMIDT                     CO     33088235787
96149A3935B531   CHRISTINA     LOPEZ                       NM     35093840393
9614B138991951   MILLANA       PERRY                       NC     90009111389
9614B31A191599   CHATO         ROJAS                       TX     90008263101
9614B512772B32   CHAD          MILLER                      CO     90005475127
9614B564A77537   ADAM          MENDEL                      NV     90015275640
9614B655A5B531   MARY          HAUPT                       NM     35004676550
96151256972B32   LAURIE        ROMERO                      CO     33044612569
96151276A8594B   DEREK         SMITH                       KY     66087542760
96151AAA572B22   CHRISTOPHER   MICELI                      CO     90012820005
9615223428B175   KONI          ADAMS                       UT     90010282342
961526A7651334   THOMAS        REID                        KY     90013226076
9615393389153B   RICARDO       AGULIERA                    TX     90001259338
96154242497B59   BENJAMIN      BAGUS                       CO     90012442424
9615512395B383   LUIS          MARTINEZ                    OR     90007391239
9615521179184B   RAFAEL        DURAN                       OK     90014162117
96155426A61977   GERARDO       DEL VILLAR                  CA     46045804260
9615547555B548   TITO          MARTINEZ                    NM     90012134755
9615613565B531   MICHAEL       SERRATO                     NM     90010901356
96156165A91599   RODOLFO       CARRILLO                    TX     90009091650
96156537772B22   OSCAR         SOLTERO                     CO     33001225377
9615739215B383   TRACIE        KALI                        OR     90008603921
96157428872B3B   ROBERT        CALDER                      CO     90006584288
96157662872B42   AUDENCIA      CASTRO                      CO     90014686628
96157841372B42   JAVIER        DIAZ                        CO     90012878413
96157A1485B531   PABLO         MARTINEZ                    NM     90010330148
96157A5512B229   ALBERT        CHEEKS                      DC     81040810551
96157A5956B984   JOHN          FORTUNE                     NJ     90015160595
96158332672B29   PAT           MOHLER                      CO     90007043326
96158457A91531   LIDIA         RUIZ                        TX     90011564570
9615888665B252   DALLAS        BURGIN                      KY     90001778866
9615899A25B531   ADAN          ROBLES                      NM     35099189902
96159371A61977   JEFFREY       MAGNUS                      CA     90012853710
96159A95772B22   KIMBERLY      CARLSON                     CO     90011160957
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1753 of 2350


9615B51535B531   EVANGELINA      URIBE                     NM     90012345153
9615B745657563   CHARLOTTE       FLORES                    NM     35555477456
96161743597B59   LARISSA         MARTINEZ                  CO     90008957435
961617A2591531   EDWIN           ALDERETE                  TX     90007207025
96161973872B32   NICOLE          VON GRIFFIN               CO     90010339738
96161A4838B835   GARY            FULLER                    HI     90014860483
96161AA445B383   YASMIN          BOCANEGRA                 OR     90010360044
96162413572B3B   MARCELLA        LOVATO                    CO     33042714135
961633A235B531   MARIA           CORRAL                    NM     35056183023
96163546172B42   AURORA          ZZAMARRIPA                CO     33015515461
961637A758B175   JOHN            OWELL                     UT     90012967075
96163898A91951   PAMELA          BUSBY                     NC     90010798980
9616465A897123   ELIZABETH       LAMBRIGHT                 OR     90011426508
9616481817B444   DIPANJALI       PADHAN                    NC     90011978181
96164A56397123   MARCOS          GUIJOSA                   OR     90014160563
9616515427B444   GAIL            FUTCH                     NC     90013031542
96165218172B42   JOSE            TREJO                     CO     90010042181
9616593282B981   EVA             POTTS                     CA     45003389328
96165A11872B62   YVONNE          BONILLA                   CO     90013250118
96165A4A48594B   STEPHANIE       BARNETT                   KY     90007070404
96166259872B42   SUSANA          MEZA                      CO     33020162598
96166325272B24   DAMARIS         SANCHEZ                   CO     90000883252
961671A467B444   RICKY           STEPHENS                  NC     90011861046
9616797528B175   KIM             SCOTT                     UT     31098979752
961679A5772B22   LAURA           HERRERA                   CO     90012829057
96167AA9361474   FISHALE T       BAHTA                     OH     90014980093
9616876A13164B   MARTIN          GUERRA                    KS     22095847601
9616885127B444   PAZ             SORTO                     NC     90010868512
961692A275B531   FELICIA         QUINTANA                  NM     90004192027
9616934842B981   JUSTIN          ALVES                     CA     90013503484
96169543A77355   LINDA           LOVE                      IL     20586705430
9616955979712B   DENI            RAMIREZ                   OR     90005715597
961695A885B548   JULIANNA        RIVAS                     NM     90015235088
9616B1A785B361   ANIVAL          JIMENEZ                   OR     90013011078
9616B26217B444   REGINA          MOBLEY                    NC     90003832621
9616B589472B24   MARIBEL         GONZALEZ                  CO     33017665894
9616B59335B383   MARLEN          OSORIO                    OR     44518055933
9616B63482B524   BARBARA         THOMAS                    AL     90015366348
9616B733272B62   KATERI          ORTIZ                     CO     90001587332
9616B7AA26196B   MICHAEL         CUFF                      CA     90009457002
9616B88963164B   ANNETTE         HUNT                      KS     90006898896
9616B965191521   ROCIO           BURCIAGA                  TX     90014879651
9617115643164B   JONATHAN        WATTS                     KS     90007011564
96171258172B56   RUBY            LOERA                     CO     33009572581
9617238147B444   KIMBERLIE       FLEMINGS                  NC     11014353814
9617269A672B24   GUADALUPE       CRUZ                      CO     90013906906
96173313A33B51   AMBER           HARRISON                  OH     90009103130
96174272972B22   CORY            HODGE                     CO     33070492729
9617459A58594B   NICEFORO        LOPEZ                     KY     90010345905
9617569665B383   CARA            BALSKE                    OR     44520676966
961763A9972B62   JIM             PULFREY JR                CO     90008603099
96176516297B59   ASA AARON       WALDSTEIN                 CO     90009355162
96176571172B24   ANA             ROJAS                     CO     90001645711
961775A3A2B981   RAUL            SERRANO                   CA     45017245030
961775A3A97B59   CARLY           KING                      CO     90015125030
9617767A872B32   CRISTIAN        REYES                     CO     90012806708
9617829357B444   ROBIN           WILSON                    NC     90013072935
9617849715B548   CRYSTAL         TRUJILLO                  NM     90014414971
96179768372B62   CHELSEA         GEORGE                    CO     90009287683
9617977A297123   SABRINA         ANN RILEY                 OR     90012697702
9617B22743B348   SARAH           SCHEULTZ                  CO     90001522274
9617B681797B59   FRANCINE        YBARRA                    CO     90012586817
96181298972B56   JESSE           JAMES                     CO     90014162989
96182573372B36   VINCENT         KELLNER                   CO     90013765733
9618266369712B   JUSTIN          WILLS                     OR     90005716636
9618293168B175   JUAN            TRUJILLO                  UT     90004259316
96182979272B56   ELISAMA         GUTIERREZ                 CO     90001939792
961833A4872B56   TONY            FIERRO                    CO     90014163048
96183A62A91599   VERONICA        HERNANDEZ                 TX     90012350620
9618443A691599   JOSE            ARZOLA                    TX     90001534306
96184744372B32   CYNTHIA         HERRERA                   CO     90001187443
9618538523164B   ATHZIRY         AGUILAR                   KS     90014703852
96185622A97123   AUJAH CAMILLE   WILLIAMS                  OR     90008926220
96187186933B21   DAVID           BRAUN                     OH     90014851869
9618816A197123   MISAEL          VIVANCO BAEZ              OR     90012241601
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1754 of 2350


9618833217B444   KANIEL            WILSON                  NC     11038033321
9618842525B361   PEDRO             MOREOLOS                OR     44575374252
961888A8191951   HERASTO           NUNEZ                   NC     17067698081
9618B244972B24   TROY              THOMAS                  CO     90008292449
9618B34A693736   DAVID             WELLS                   OH     90001703406
9618B362161977   ANA               OSUNA                   CA     46089483621
9618B55A43363B   CHRIS             DELANELY                NC     90004305504
9619198448594B   JUSTIN            GABBARD                 KY     90015459844
96192236A5B361   MARISA            CARTER                  OR     90012042360
961925A8191951   KEIA              GORDON                  NC     90012425081
9619282565B264   BIKEYTA           SUMMERS                 KY     90013588256
96192A76272B42   ROBERT            BROEMELING              CO     33014830762
9619321A18B175   SCOTT             DIMMITT                 UT     31024662101
9619362238B173   KAREN             WOODRUFF                UT     90002226223
96193A43591399   LUIS              RODRIGUEZ               KS     29014690435
96193A47A91531   ESTHER            BARRAZA                 TX     90014920470
9619427465597B   MARCO             CARRILLO                CA     90004662746
9619491838B175   ADAN              SOBERANIS               UT     90014749183
96195199A2B869   BRITTNEY          SCHAFFER                ID     90005611990
9619529A472B22   MICHAEL           LAFRANCE                CO     90004092904
961956A7172B24   EMILIA            LOMELI                  CO     90009336071
9619591838B175   ADAN              SOBERANIS               UT     90014749183
961961A7277537   JOSE              SALCE                   NV     90011251072
96196354172B24   YOUN SUN          GAITAN                  CO     33005703541
9619652295B383   THERESA           ARMINGTON               OR     44523715229
9619665A691521   ADRIAN            ZAMILPA                 TX     75099006506
9619674255B525   CARLA             TORRES                  NM     90014707425
961972A279B194   SERAFIN           CASTANON                MS     90001472027
9619734155B531   WENDY             WILLIAMS                NM     90013663415
96197636972B22   JULIA             ALVARENGA               CO     90014036369
961978AA78594B   JOSHUA            TURVEY                  KY     90013408007
96197A2395B361   DONNA             GREER                   OR     44568810239
96197A44791599   ROBERT            CASHMAN                 TX     90015000447
961981A7277537   JOSE              SALCE                   NV     90011251072
96198321972B22   WIRELESS          CALLER                  CO     90006563219
9619851535B531   EVANGELINA        URIBE                   NM     90012345153
96198AA995B548   EDWARD            COTE                    NM     35096650099
961994A9593755   JOHN              ROWE                    OH     90009644095
9619962217B444   HUMBERTO          PLACIDO                 NC     90013306221
961997A2691599   DANE              ALLEY                   TX     75048687026
96199A55491531   GERARDO           ROCHA                   TX     90014920554
9619B558892825   DANIEL            ACOSTA                  AZ     90014185588
9619B85A98594B   KAREN             MASTERS                 KY     90005688509
9619B991851342   JAMES             BRAND                   OH     90006739918
961B1437497B59   FREDDY            MARQUEZ                 CO     90004434374
961B21A3272B56   JAVIER            MENDOZA                 CO     90005161032
961B2283972B24   DAWN              HERNANDEZ               CO     90011022839
961B2711A97B59   ALFREDO           SOTO                    CO     90014187110
961B2A7918B175   LIGIA             PACHECO                 UT     31077020791
961B3653572B24   JOSE              GONZALES                CO     90014006535
961B369A15B361   BRYANT            CHURCHWELL              OR     90015186901
961B414424B588   JESSICA           JETTON                  OK     21577111442
961B4266472B56   NATALIO           GUERRERO-SIMON          CO     33095962664
961B485568B175   BIAM              KUENY                   UT     90014748556
961B4949172B22   JESSICA           PALMER                  CO     90008889491
961B5128891531   JONATHAN          RAMIREZ                 TX     90010841288
961B5287172B62   VICKI             WILLIAMS                CO     33047212871
961B538725B531   KANISEA           DAVIS                   NM     90013343872
961B612824B554   PAUL              COMPTON                 OK     90007871282
961B6221991951   SHERINA           ANDREWS                 NC     90014752219
961B646A197B59   LEE               HERRERA- SCANNAPIECO    CO     90013694601
961B6665572B32   GREGORIO          LEIVA                   CO     33016676655
961B667783164B   LISA              MCDANIEL                KS     90004746778
961B6711A91521   LAURA             BUSTILLOS               TX     90012727110
961B6826997B59   SANDY             MOLINARI                CO     90014188269
961B6A19191599   DANIEL            HERNANDEZ               TX     90010870191
961B7126A72B42   JENNIFER RACHEL   MAES                    CO     90005751260
961B718A13164B   CALEB             JAYNESAHKLUAH           KS     90010361801
961B7459572B62   ANTONIO           MARTINEZ                CO     33095434595
961B753AA91951   PACHECO           CHEVEZ                  NC     90014915300
961B765155B361   ANDRES            MARTINEZ                OR     90006186515
961B783925B383   JAMES             PRICE                   OR     90009688392
961B7A36A33B2B   VERONICA          EARLEY                  OH     90011000360
961B7A5885B531   SARA              CAMPOS                  NM     35073370588
961B8561872B24   CAROLINA          CHAVEZ                  CO     90011295618
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1755 of 2350


961B8682591599   JESUS        MACMARGRIE                   TX     90009866825
961B8949572B22   JANELLE      MIMS                         CO     33079249495
961B895125417B   JUAN         BAUTISTA                     OR     90012689512
961B9124191599   MARIA        SAUCEDO                      TX     75012281241
961B919978594B   KELLY        CAUDILL                      KY     90014851997
961B95A325B361   STEPHANIE    DEAN                         OR     44550885032
961B9995761977   JENNIFER     HUERTA                       CA     90012809957
961B9A79A91399   CHRIS        WALKER                       KS     90014490790
961BB132355957   IRENE        CARO                         CA     90014151323
961BB292872B22   JOSE CRUZ    MEDINA                       CO     33093232928
961BB539141296   PATRICIA     STEVENSON                    PA     90006935391
961BB578391599   STEPHANIE    RODRIGUEZ                    TX     90012115783
961BB617391399   ESMERALDA    MALDONADO                    KS     90013876173
961BB672297123   CHRISTINE    FULFER                       OR     44018706722
961BB817891531   JULIO        FERNANDEZ                    TX     90006298178
961BB83265B531   VICTOR       VALENZUELA-MOLINAR           NM     35024068326
961BB868791399   ESMERALDA    MALDONADO                    KS     90013328687
961BB994597B59   ALFREDO      DELARIVA GONZALEZ            CO     90011629945
9621151858B134   ERIKA        SILVA                        UT     90007945185
96211714372B24   JOANN        AGUIRRE                      CO     33003567143
962123A578B175   BRYAN        SYMONETTE                    UT     90008103057
96212775872B56   RENEE        SOTTER                       CO     33097097758
96213122A97B59   ANTHONY      MAY                          CO     90012221220
962133A4672B24   BRIANNE      BUTTLER                      CO     90014903046
96213458A8B175   KERI         BUONOCORE                    UT     90013894580
96213461472B22   JESUS        LOZANO                       CO     90015144614
9621376529712B   SHAWN        KINGMAN                      OR     90005827652
96214353172B3B   BOGGS        LESLIE                       CO     33050123531
96214635872B56   RUTHIE       CHAVEZ                       CO     90008126358
96214A59191531   ESTHER       BARRAZA                      TX     90014920591
96214A99572B42   JUSTIN       STRIEGEL                     CO     33074220995
96215578A5B531   LUCERO       JOSE                         NM     90011095780
9621569697B464   DANGELO      CHISHOLRN                    NC     90014166969
96216A44472B62   YESENIA      MENDEZ                       CO     90012840444
9621719643164B   LATONJA      SHUGART                      KS     22007471964
962171A8372B62   MARIA        ARANDA                       CO     90014191083
962172A4472B62   MARK         ORTIZ                        CO     90012762044
96217A61591531   ABIGAIL      RASCON                       TX     90014920615
96218186472B62   SHERRYL      ROBINSON                     CO     33005661864
96218883272B3B   JOEL         ANGEL                        CO     33090488832
9621897555B361   MARYANN      DICKINSON                    OR     90003789755
96219194A97B59   MONICA       GUTIERRIEZ                   CO     90012261940
96219994172B24   MARTHA       RODRIGUEZ BUSTOS             CO     33043049941
96219A61591531   ABIGAIL      RASCON                       TX     90014920615
9621B982A61977   JOHN         PEARIS                       CA     90005079820
9621BA17877537   ALAN         COOLEY                       NV     90013030178
9622154525B361   FELIPE       MORALES                      OR     90004915452
96221A6A18B175   SHELDON      UNDERWOOD                    UT     31063550601
96222577A8B175   ELIZABETH    LOPEZ                        UT     90014765770
9622356A155957   JOHN         DOMINGUEZ                    CA     90009095601
96223653A91863   RANEE        BLAND                        OK     90015026530
9622381A372B56   EDENILSON    GUERRA ALEMAN                CO     90014408103
9622384965B548   JOHNNY       BACA                         NM     90010388496
96224259872B24   JOSEPH       THOMPSON                     CO     90013822598
9622493A897123   KELLIEJO     WLAKER                       OR     44055639308
9622528352B862   ANGELA       GAHRIG                       ID     90001152835
96225877872B56   MARIA        CHAVEZ                       CO     33042078778
962263AA77B444   ALMA         EASTER                       NC     90008573007
9622683584B588   FRIDAY       ROBERTS                      OK     21548768358
9622728AA61977   JESUS        PONCE                        CA     90008022800
96227581A97B59   SANDRA       GONZALEZ                     CO     90010595810
96227A34A5B361   LOYD         HERSEN                       OR     90013160340
9622837A161977   ROSALVA      RIOJAS                       CA     90015163701
9622883584B588   FRIDAY       ROBERTS                      OK     21548768358
96228AA139188B   ANA          MARTINEZ                     OK     90011140013
96228AA1A5B531   LEONARDO     IBARRA                       NM     35060900010
96229358A55957   BYRON RENE   CASTILLO MARTINEZ            CA     90010283580
9622B26785B548   SOCORRO      SILVA-VALLADARES             NM     35072962678
9622B29215B531   MARIA        FLORES                       NM     35088682921
9622B755191951   LUCY         AGALA                        NC     17014697551
9622B82253B341   JAMES        SAYLES                       CO     33004918225
96231818172B22   STEVE        MEDRANO                      CO     33016228181
9623182235B531   VANESSA      MARTINEZ                     NM     90012448223
96231996A91951   LETISHA      HARRIS                       NC     17006339960
9623258147B444   OSCAR        ANDRADE                      NC     90010375814
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1756 of 2350


96232A14A5B531   TALIA        GARCIA                       NM     90013760140
96233289A93721   JOSEPH       WATSON                       OH     90005232890
96234264A97123   ROSA MARIA   ASCENCIO DE JESUS            OR     90006102640
96234281372B32   JANETTE      TRUJILLO                     CO     90010972813
9623451AA55957   REYLENE      RUESGA                       CA     90010845100
962347A4972B22   MDINA        EVA                          CO     90011587049
9623483758594B   JUAN         ESQUIVEL                     KY     90015298375
96234A8575B531   MARTHA       CRUZ ARELLANO                NM     90012870857
96235329672B56   DEBRA        GOMNES                       CO     90014163296
96235481A77537   PAYGO        IVR ACTIVATION               NV     90011354810
9623555944B271   KRISTINA     FURRY                        NE     27055435594
96235621272B24   DANIELA      TRUJILLO                     CO     90011296212
9623597A597B59   JEREMY       ESPINOSA                     CO     90014419705
9623696158B175   KASEY        PARRA                        UT     90010609615
96237237672B56   MARYAM       RAWESH                       CO     90006682376
96238166972B32   JOSHUA       HARBERT                      CO     90004991669
96238895672B24   BRENDA       CASTRO                       CO     33055658956
9623988335B361   SHELLY       LOVETT                       OR     90007578833
9623B69538B12B   RICHARD      KASTELER                     UT     90014206953
9623B82A755957   VANESSA      HURTADO                      CA     90006228207
9623B9AA291399   LORI         WHISLER                      KS     29023469002
9623BA14372B84   BELINDA      CRAWFORD                     CO     33084760143
9624115643164B   JONATHAN     WATTS                        KS     90007011564
9624142575B361   JOSE LUIS    RAMIREZ                      OR     90013964257
96241473472B22   MIGUEL       CASTILLO                     CO     33064224734
962416A718594B   GOLDIE       NASH                         KY     90014436071
96241747A5B531   ALEJANDRA    REYES                        NM     90012847470
96242442272B32   PATRICK      BERNAL                       CO     90011274422
9624247A35B531   BERNADETTE   SALAZAR                      NM     90000224703
96242597A91951   MELISSA      WINBORENE                    NC     90014915970
962434A4477537   KAREN        NEVAREZ                      NV     90011864044
96243A57A2B824   ANTHONY      ARMAS                        ID     90006450570
96243A74A91531   VALERIA      ARMENDARIZ                   TX     90014920740
9624445A491951   LAZARO       HERNANDEZ                    NC     90007904504
96245174872B32   ANA          RODRIGUEZ                    CO     33028681748
96245545A93738   ADRIAN       JACKSON                      OH     90009915450
96245A3A991399   KEVIN        MCKENDRICK                   MO     90012060309
96246525A72B32   GOMEZ        MELVA                        CO     90012405250
96247556372B3B   LAURA        FRANKLIN                     CO     90012635563
962475A385B361   ARACELI      CADENA                       OR     44567935038
9624764875B548   GRACE        MADRID                       NM     90013436487
9624816148B175   VALERIE      STEERE                       UT     31079081614
9624833317248B   CONNIE       MELONE                       PA     51016223331
96248915272B62   ISAMARK      CASALEZ ENRIQUEZ             CO     90012929152
96249121A72B3B   CELSO        COCA                         CO     90006921210
9624951A67B444   CALVIN       GRIER                        NC     90015025106
9624961614B949   ISMAEL       VARGAR                       TX     90001936161
9624B187455957   STEVE        SHARP                        CA     90008161874
9624B742991521   KIMBERLY     HERNANDEZ                    TX     90010327429
962518A6761977   ROBERTO      MONTOYA                      CA     90003188067
9625228A55B383   CURTIS       PURDY                        OR     90013882805
96252331272B62   REBECCA      SMITH                        CO     33050933312
96252A11997123   DAVID        HERNANDEZ MERCADO            OR     44072850119
9625313635B361   DEBORAH      COLE                         OR     90014701363
9625315A372B62   TRESSA       TULIAU                       CO     33036731503
9625357427B444   TRACY        FAULKENBURY                  NC     11078955742
9625393825B531   MARK         CHAVEZ                       NM     90014109382
9625551397B444   SHARENEA     BROWN                        NC     90013685139
9625577273B335   RAFAEL       MIRANDA-ESCOBA               CO     90011167727
9625586A572B56   JORGE        MARTINEZ                     CO     33025328605
9625592872B94B   FRANK        PACAHUALA                    CA     90004629287
9625657673164B   PATRICIA     BARKUS                       KS     90014575767
96256763A91532   GRICELDA     VERDISCO                     TX     90008407630
96256811472B24   HADLEY       MORALES                      CO     90014588114
96256847997B59   OSVALDO      FLORES                       CO     39069878479
9625771AA91531   CRISTINA     GUZMAN                       TX     75009907100
9625874377B444   MANUEL       OVANDO                       NC     90008687437
9625945145B531   ROCKY        SANCHEZ                      NM     90005884514
9625966AA3B391   APRIL        HAFER                        CO     33045586600
96259992872B32   ANTHONY      BLEVINS                      CO     90010709928
96259A61372B56   BRENT        RUBY                         CO     33028210613
9625B419991531   DANIEL       BARRERA                      TX     90005554199
9625B959733647   JIMENA       BUGARIN                      NC     90005299597
9625BA83791521   CHRISTIAN    MENDOZA                      TX     90014880837
96261236A4B554   EDIS         MORGA                        OK     90006052360
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1757 of 2350


96261357772B3B   TIFFANY         HORTA                     CO     90007663577
9626171AA91531   CRISTINA        GUZMAN                    TX     75009907100
96262225272B3B   GARCIA          ROSA                      CO     90011772252
9626226A15417B   DANIEL          JUAREZ                    OR     90014252601
962624A215B381   PHYLLIS         GILBERT                   OR     44524274021
96262813372B24   VICENTE         DOMINGUEZ                 CO     33045318133
9626289975B383   MERRIEL         MIS MOO                   OR     90007818997
96263541197B59   RAMON           GALLEGOS                  CO     90007675411
9626354795B548   NICHOLE         SANDOVAL                  NM     35041815479
96263A67291521   GRACIELA        OJEDA                     TX     90002610672
96264616472B32   RONNIE          TACORONTE                 CO     90002546164
9626544A52B976   JOSE            AGUILAR                   CA     90013074405
96265734572B32   MERCEDES        HESS                      CO     90012987345
9626612778594B   ANGEL           TOLENTINO                 KY     90007341277
96266367A72B22   SOM             RODPAI                    CO     90012553670
9626645425B383   MARK            PERRY                     OR     90009894542
962667AA53164B   LYNN            STEWART                   KS     90013687005
96266983572B22   ALYSSA          MANNINO                   CO     90014489835
96267A16891531   SYLVIA          VACIO                     TX     90006230168
9626821743164B   FAITH           SHELLMAN                  KS     90013752174
9626848753164B   FAITH           SHELLMAN                  KS     90010154875
9626856155B531   DOROTHY         ROMEO                     NM     90014485615
962685A725B361   LAURA           BAUTISTA                  OR     44546955072
9626893325B548   FRANKY          GALLEGOS                  NM     35044759332
96268A19372B3B   MARGARET        MARTINEZ                  CO     33032540193
96269547A91399   MIKE            RAGAN                     KS     29046245470
9626B163931584   DORIS           WIERS                     NY     53087321639
9626B1A647B436   NATALIA         PALACIOS                  NC     90011441064
9626B387891599   IVONNE          GIRON                     TX     90012343878
9626B586691951   SHIRLEY         RUTLEDGE                  NC     90009785866
9626B68A861977   CAROLINA        VALENZUELA                CA     90011546808
9626B9A7172B22   RAMON           SANDOVAL                  CO     90012819071
96271418A3164B   ADASHA          EVANS                     KS     90014624180
9627145238B175   ISMAL           ABDULLAHI                 UT     90014774523
9627192215B548   CHRISTINA       MAESTAS                   NM     90012369221
96272112272B62   VERONICA        ORTIZ                     CO     33002171122
96272541A61977   DANIEL          MENDOZA                   CA     90002345410
9627259215B531   GAIL            SHOLTIS                   NM     35038475921
9627296A177537   EDWIN           CARSON                    NV     90014729601
9627311855B383   LIBORIO         ALCANTAR                  OR     90012961185
9627321A393732   NONA            WILLIAMS                  OH     64564662103
96273367A5B383   ELBERTO         TEH                       OR     90015123670
96274626972B3B   CHRIS           DUCHESNE                  CO     90001966269
96275166A91951   FRANCES         WOODS                     NC     90015471660
96276492272B22   MELISSA         SANCHEZ                   CO     33091214922
9627684525B361   BRANDON         KITTRELL                  OR     44573978452
9627713A772B24   EMMY            SHEETS                    CO     90012471307
9627715AA3162B   KATINA          SUTTER                    KS     90012661500
96277612572B24   MISTY           SANDATE                   CO     90012646125
9627837AA97B59   CAROLYN         LANCASTER                 CO     90009333700
96278A95991521   PATRICIA        SIFUENTES                 TX     90014880959
962791AA697B59   CURTIS          MARTINEZ                  CO     90011001006
96279574A91531   MARIA           CENICEROS                 TX     75050915740
9627B4A3991599   DENNIS          YBARRA                    TX     90014844039
9627B877957131   ANDERSON        MARTINEZ                  VA     90007518779
9628174863164B   DMIA            THOMPSON                  KS     90014497486
96281873A91521   LETICIA         RODRIGUEZ                 TX     75004768730
9628192768594B   JOHNNY          SMITH                     KY     90011919276
9628231713B379   TERRY           DATZ                      CO     33063273171
9628247378594B   DANIELLE        FAZIER                    OH     90001874737
962829A1697B59   FELINA          ROMERO                    CO     90012939016
96283237672B56   JONES           CHANDA                    CO     33087982376
9628335698594B   TONYA           MITCHEM                   KY     90011683569
96283455697B59   ROSIO           BUSTAMANTE                CO     90014474556
9628374675B378   CAROL           LIERMAN                   OR     90002037467
9628391835B361   IRMA            PACHECO MARTINEZ          OR     90000659183
96283A4159712B   JENAH REBEKAH   KUBLI                     OR     90004660415
96283A91891521   MIGUEL          SORIA                     TX     75086690918
9628484555B383   RUBEN           MAYMIS                    OR     44509868455
9628642848594B   DENISE          KINMAN                    KY     66081954284
962866A5872B22   CESAR           AMAYA                     CO     90013006058
96286A26A5B531   TANYA           CONTRERAS                 NM     90015140260
96286A28391599   THELMA          BUSTILLOS                 TX     90005320283
9628711978B175   CAROLINA        ROMAN                     UT     90009641197
96287442A51342   LOUISE          MORGAN                    OH     66039834420
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1758 of 2350


96288588872B32   ERICA               DEFFEBAUGH            CO     33084635888
9628869467B444   TINA                KINARD                NC     11053326946
962888A2191531   ALVARA              TOVAR                 TX     90012058021
9628B225A7B444   LADI                MCGILL                NC     90004032250
9628B628A93721   MICHAEL             IRBY                  OH     90001076280
9628B718A91951   ALONDRA             SANTOS                NC     90010467180
9628B739191521   ANNA                GUTIERREZ             TX     90009317391
9628B747997123   DAMIAN              CARTMELL              OR     90012967479
9628B8A525B531   ALDO                HUERTA                NM     35027898052
9629187A276B42   LUCIANO             RODARTE               CA     90004188702
96291AAA555951   ALFREDO             AMESCUA               CA     90009280005
96292522472B62   MICHAEL             MABEL                 CO     90008725224
9629252578B175   JAMES               MASSEY                UT     31098015257
96292574172B24   TED                 JARAMILLO             CO     33048415741
96293665A72B56   JUAN                GAMEZ                 CO     33097106650
96294151A41296   RUSSELL             PARAS                 PA     90005401510
9629436A891399   TOYA                ABERNATHY             MO     29043343608
9629547938594B   LAVETTE             WILLIAMS              KY     90006854793
96295541772B32   VICENT              THOMAS                CO     33045255417
96295958772B22   THERESA             CAMACHO               CO     33013819587
96296619A55951   ERIC                CARILLO               CA     90010526190
962966A1A8594B   DONNIE              SIZEMORE              KY     90010556010
962972AA691399   SHANEQUA            MAXWELL               KS     29089572006
9629761225B383   DAVID               CHARLEY               OR     90014626122
9629767517B444   TAYONNA             BROWN                 NC     11075746751
9629771795B383   ALICIA              JOLI                  OR     90002267179
96297779A97123   KATIE               HALVORSON             OR     90010247790
9629811A691531   JESSICA             RIVERA                TX     90014921106
96298742497B59   ELVIS               ABARCA                CO     90014717424
96298896872B22   ASHLEY              BROWNLEE              CO     90015148968
96298A52555951   PEGGY               ALVIAR                CA     90009280525
9629913A55B361   ANTONIO             LOPEZ                 OR     44551931305
9629944255B531   JESSE               ORNELAS               NM     35008354425
96299924572B24   BRENDA              CALDERA               CO     90014839245
96299992A77537   ZENON               MARTINEZ              GA     90014309920
9629BA7344B588   BOBBIE              DAVIS                 OK     21569880734
9629BA9A241268   CHRISTIAN           OKITONDO              PA     90012180902
962B158755B548   ROSE                ARAGON                NM     35023825875
962B1765891951   JOE                 JOHNSON               NC     90012157658
962B1A3518594B   DEBRA               KISSICK               KY     90007970351
962B213A297B59   EVA                 MEJIA                 CO     90009021302
962B2329A91399   GUSTAVO             ALVARADO              KS     90013603290
962B2348491521   DIANA               LUNA                  TX     75086063484
962B254528594B   KRISTOPHER          BROWN                 KY     90008865452
962B2658191531   ROGELIO             BUSTAMANTE            TX     90010026581
962B2745271962   JOSE                CASAS                 CO     90011257452
962B2945855957   MA                  RUIZ                  CA     90013029458
962B295534B29B   JAZMIN              GOMEZ                 NE     27000289553
962B296388B175   CONSANTINE GEORGE   GEROS JR              UT     90004259638
962B347823164B   ZACH                WARD                  KS     90011864782
962B3657522926   TARA                CRAWFORD              GA     90014666575
962B3667687B48   GEORGE              RUSSELL               AR     90013976676
962B3844572B42   MARY                GUTIERREZ             CO     90000288445
962B3A2AA3164B   ELVIN               ALVAREZ               KS     90009060200
962B3AA385B548   PAUL                TAFOYA                NM     90009820038
962B42A6655957   TERESA              FRANCO                CA     49051312066
962B46A9472B24   FLORIAN             MUCIO                 CO     33090016094
962B5191451342   ELIZABETH           GONZALEZ              OH     66012641914
962B5339A93755   SYLVIE              INSHUTI               OH     90000633390
962B661A391521   EMANUEL             ROBINSON              TX     90013256103
962B67AA572B62   DOMINIC             CISNEROS              CO     90009627005
962B6A91391531   JESUS               GOMEZ                 TX     90010460913
962B715165B531   IRENE               ARAGON                NM     35079751516
962B742133164B   CHRIS               MCINTYRE              KS     90011774213
962B7453372B56   DORIS               VEGA                  CO     90015214533
962B7566A55957   DIANE               NICASIO               CA     49008185660
962B8165593755   JARREN              BROOKS                OH     90013821655
962B8455893732   BRADLEY             HERBST                OH     64516294558
962B927625B361   SAMIRO              ALI                   OR     90014232762
962B9816791531   MARIA               CARDIEL               TX     75098818167
962BB1A855B531   ALEX                BARELA                NM     35018711085
962BB216172B24   EVANGELINE          MARTINEZ              CO     33087172161
962BB5A875B548   KEENAN              CORDOVA               NM     90009535087
9631157595B548   APOSTOLIC           ASSEMBLY              NM     90011895759
96312629272B22   JASON               NORWOOD               CO     33094436292
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1759 of 2350


9631361395B548   DONNA         CHAVEZ                      NM     90013756139
9631373A15B361   URIEL         PEREZ                       OR     44549317301
96314688A72B42   MICHAEL       RENELLI                     CO     90001386880
96315275A72B42   ALEXIS        PEDRAZA                     CO     90010362750
9631552868B175   CASEY         MARTIN                      UT     90011755286
96316268972B56   STACEY        NIES                        CO     33079942689
96316A57861937   CHRISTOPHER   ROSTRO                      CA     90006220578
96317333172B42   RACHEL        SOURS                       CO     90010343331
96317561A91531   RENE          VELAZQUEZ                   TX     90013325610
96317744A77537   LAURA         CARDENAS                    NV     90014367440
96318561A91531   RENE          VELAZQUEZ                   TX     90013325610
963187A3491951   PAW           MAY                         NC     90015407034
96318A1554B268   MARGARITA     OCHOA                       NE     90012080155
96318A6A472B24   MARY          GONZALEZ                    CO     90015140604
9631953767B444   TAURICE       STOWE                       NC     90014625376
9631964558B175   GENEVIVE      FINCH                       UT     90001386455
9631B147172B56   BOB           CARMES                      CO     33024581471
9631B157691951   DALE          TOLER                       NC     90015581576
9631BA58261977   ALAN          NEELEY                      CA     90014890582
9631BA66691531   JANETH        LOPEZ                       TX     90003120666
9632165665137B   RACHELE       WHITE                       OH     90002896566
9632243A761977   ALANN         ESCAMILLA                   CA     46061764307
9632244A57B444   MICHELE       SMITH                       NC     90006934405
96322AA9272B56   LORENZO       HERNANDEZ                   CO     33082490092
9632342128B175   JOSEPHINE     REYES                       UT     90008954212
96323922A97123   SARAH         SMITH                       OR     90008559220
96323A3AA8B197   CALVIN        MEAD                        UT     31061710300
963244A285B361   GREGORY       IVORY                       OR     90014424028
96324821797B59   TAMMY         OBANNON                     CO     90006248217
96325446A91521   JUAN          GUERRA                      TX     75088354460
9632572448B175   ZACHARY       HUTCHINSON                  UT     90006607244
96325A69472B24   MICHAEL       KELSO                       CO     90012770694
963263A7772B62   CARLOS        CORTES                      CO     33047373077
963266A4491399   DEYSI         RAMOS                       KS     90013356044
96326A31461927   RICHARD       BRILL                       CA     46046030314
96327AA6591521   VERONICA      CANO                        TX     75090050065
96328171872B24   SILVIA        VILLA                       CO     33039311718
9632822787B26B   CAROL         SIELAWA                     NV     90012982278
9632873A891923   KENYADA       FAISON                      NC     90000637308
96328923597B59   MELINA        ARREGUI-RODRIGUEZ           CO     90005899235
96328A6A65B383   SUSAN         BENNETT                     OR     44504670606
96329285172B56   NICHOLAS      MEYER                       CO     90011772851
9632949168B175   AUSTIN        BOUGE                       UT     90014774916
9632B13A991521   LEONEL        SIGALA                      TX     90002371309
9632B441755957   FRANSICO      PUENTES                     CA     90014894417
9632B648293755   ANGEL         BURTON                      OH     90003476482
9632B6A8841296   DAVID         WILSON                      PA     90005686088
9633119418B175   FERNANDA      ELIAS MONTEZ                UT     90015221941
9633235A17192B   DEBRA         FREEMAN                     CO     32006613501
9633236934B588   JUAN          BANUELOS                    OK     21549633693
96332395872B51   DEIDRE        RAY                         CO     90006043958
9633271565B361   FERMIN        LOPEZ-PEREZ                 OR     90007597156
9633339518B175   JOHN          HOUGHTON                    UT     90014783951
96334396272B56   ESTER         GARCIA                      CO     33056903962
9633481A45B548   ROXANNE       BLOW                        NM     90004038104
96334911372B22   CLIFFORD      PUPPE                       CO     90012829113
96334964672B32   MICHAEL       CHAVEZ                      CO     90012029646
96335417397B59   RICHARD       BUCKENDORF                  CO     90009784173
96335A4A48594B   STEPHANIE     BARNETT                     KY     90007070404
96336851A8B175   TARA          HURST                       UT     90013158510
9633688188B175   LOSANA        KAUFUSI                     UT     90010608818
9633749828B175   JOE           JENSEN                      UT     90014774982
96337899472B22   GUADALUPE     MENDOZA                     CO     33054748994
96337899A72B3B   DENISE        MIKEPA LONG                 CO     90011128990
9633947418594B   JUNETTA       WELTZER                     KY     66048914741
9633967855B548   MONICA        ATKINSON                    NM     35009636785
96339A62691399   ROSALIA       MARTHA                      KS     90013170626
963412A897B444   EMILY         CONDER                      NC     90011452089
9634167645B383   BONITA        RICHARDSON                  OR     90009246764
96341842A72B42   VANESSA       LOPEZ                       CO     90003168420
9634199A35B548   JUSTIN        ISMOND                      NM     35076679903
96341A21A97B59   CATELYN       FERRARO                     CO     39015840210
96343774A72B56   WILHELMINA    WRIGHT                      CO     90000457740
96343A75497B59   MICHAEL       FRAZIER                     CO     90011660754
96343A91A55951   WILLIAM       LUJANO                      CA     90009280910
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1760 of 2350


96345785672B56   CARLOS               SANTANA              CO     90012667856
96346829372B3B   ALIDA                BRITT                CO     33023568293
96346987A91521   CARLOS               ORONA                TX     90010519870
96347466597B59   MARLENE              MANN                 CO     39015844665
9634794928B175   ARISLAY              SUAREZ               UT     90010609492
96348355A5136B   DEBORAH              JACKSON              OH     90013293550
9634845A84B554   JENNIFER             FISHER               OK     90009004508
96348691972B24   BRANDON              WALTERS              CO     90013656919
9634877767B444   MESHA                JACKS                NC     90011397776
96348A11672B32   JEFFERY              COLLINS              CO     90012870116
9634939145B361   AUTUMN               FORBES               OR     90014443914
96349475A91951   GERARDO              RAMIREZ              NC     90010114750
9634977358B175   CINDI                MCDONALD             UT     31028447735
9634996749712B   THOMAS               MISIK                OR     90005989674
9634B174691951   PABLINA              GALO                 NC     90013401746
9634B177A5B526   CAROL                ORTEGA               NM     90001991770
9634B19455B361   JASON                NYE                  OR     90000661945
9634B975472B22   RODOLFO              JIMENEZ              CO     90014849754
9635151478B175   VINCE                RODRIGUEZ            UT     90013115147
96351537672B32   SUSAN                YAZZIE               CO     90012905376
96351951A72B56   MARTINEZ             ABRAN                CO     33036789510
9635216884B267   JOHN AND CHARLOTTE   CHOVANEC             NE     90012651688
9635246AA5B388   JAMIE                WATKINS              OR     90008584600
96352553672B56   GUILLERMINA          SANCHES              CO     90010815536
96352618372B24   LOC                  NGUYEN               CO     90012416183
9635262935B531   ANGELIQUE            SANCHEZ              NM     90013436293
963527A167B444   RENNE                BOULWARE             NC     90001567016
9635344645B548   BETHANI              WHITE                NM     90011614464
9635373277B444   MANUEL               MOLINA               NC     90002937327
96353A7755B531   FLAVIO               PRADO-AVALOS         NM     90012710775
9635494A472B22   MARIBEL              SENA                 CO     90012819404
96355198A4B554   VERONICA             NORWAY               OK     90001771980
96355645972B62   DESHAWN              RICE                 CO     90012126459
9635591477B444   JOE                  DOLLAR               NC     90014769147
9635783A33363B   ROBERT               STEVENSON JR         NC     90010998303
9635793A18B175   CINDY                GORE                 UT     31037519301
96357A1365B361   JOHN                 PERALES              OR     90008940136
96357AA3755957   ENOE                 ESTEBOR              CA     90013250037
9635876A472B42   GRISEL               GARCIA RENOVA        CO     33090977604
9635886495B531   JOHNNY               AMEZCUA              NM     90010068649
96358865172B62   ANTHONETTE           YOUNG                CO     33091878651
9635938318B175   KAREN                GONZALEZ             UT     90008123831
96359A52397B59   ADRIANA              MARTINEZ             CO     39000940523
96359A5A671933   TIMOTHY              JOHNSON              CO     90002380506
9635B53228B175   DANIEL               JONES                UT     90014775322
9635B83A993755   SABRINA              BREWER               OH     90015048309
9635BA1768594B   DONALD               LOCK                 KY     90012330176
9636189A477537   STEPHEN              DEMUTH               NV     90012538904
96361A86A4B565   MARIA                PRIETO               OK     90011500860
9636214413164B   PATRICK              ROGES                KS     22094041441
963623A3272B56   ROB                  VALDEZ               CO     90011773032
96362444A7B628   AMANDA               DELGADO              AL     90014474440
9636278A85B531   JUSTIN               ROMERO               NM     35086607808
9636363A891521   MIRIAM               CROSBY               TX     90004186308
96363774272B62   SARRAH               CASTRO               CO     90012307742
96364813272B3B   OLIVIA               MEDINA               CO     90014488132
963649A6A8B347   COLVEN               ADAMS                SC     90014879060
96365331272B62   REBECCA              SMITH                CO     33050933312
96365386972B24   JESUS                FUENTES              CO     33054373869
96365728A5B361   FILIMON              BASARGIN             OR     90001977280
9636572A991399   NATHAN               WILSON               KS     90013927209
96365815472B22   DEVONTAE             WYATT                CO     90013138154
9636662995B531   ADELI                GARCIA               NM     90013436299
9636683458594B   MICHAEL              SOARD                KY     66070348345
96367418A72B42   MARIAH               CCORMICK             CO     90007114180
9636748718B175   JUAN                 RIVERA               UT     31078464871
963674A3197123   NORA                 CHAVEZ               OR     90010394031
9636785685B383   TYSON                ZOREN                OR     90012558568
96368496A72B32   JOY                  COFFEY               CO     90003864960
9636879167B696   WILLIAM              REED                 OK     90013977916
96368944A7B39B   DAVID                DILLON               VA     90006399440
96368982572B56   ANNABEL              CHAVARRIA            CO     90002139825
9636994A472B22   MARIBEL              SENA                 CO     90012819404
96369954A8B125   EUGENIA              CHEA                 UT     90007689540
9636B47A591951   JORGE                LAZO FLORES          NC     90013944705
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1761 of 2350


9636B4A1772B56   MARI         SANCHEZ                      CO     33058954017
9636B668672B24   SHANE        WILCOX                       CO     90011296686
9636B72284B949   JULIO        LOPEZ                        TX     76570977228
9636B928172B62   MARIA        SALGADO                      CO     33056019281
9636B954591399   MARCO        HERNANDEZ                    KS     29092539545
96371379572B62   MODESTO      GUEVARA GUTIERREZ            CO     33080493795
9637172264435B   GREGORY      GRISHAM                      MD     90013997226
96371A25291599   DEE          TWIZZ                        TX     90010910252
96371A38A3164B   ROBERTO      TREJO                        KS     90006170380
96371A67855957   NANCY        JIMENEZ                      CA     90002820678
9637234793164B   SIMMETHIA    GRAVES                       KS     90012113479
96373391172B32   DENNIS       ETTER                        CO     33062043911
96373898A91951   PAMELA       BUSBY                        NC     90010798980
96374A4A791951   DENNIS       YETSKO                       NC     90010820407
96375378672B56   MANUEL       GONZALES                     CO     90014163786
963755A5891951   CLAUDIA      SANDOVAL                     NC     90014425058
9637579AA97B59   DANIELLE     LANGLEY                      CO     90012477900
96375854A5B531   TJUNG        GIMIN                        NM     90010148540
96375A1983164B   MICOLE       MOORE                        KS     90013620198
9637611437B444   OLIVER       ROBLES                       NC     90013591143
96376482372B32   ALYSSA       BROWN                        CO     33006314823
96376525197B59   MEGAN        CHASE                        CO     39032115251
9637757134B554   LORRIE       BAKER                        OK     21540705713
9637789A972B32   MAYTE G      OLAGUE                       CO     90012748909
96377A3A397123   ALBERTO      MARQUEZ                      OR     90009520303
96378385872B56   JULIA        ARELLANO                     CO     90009243858
96378AA7493768   DELBERT      MARTIN                       OH     90008760074
9637921A572B3B   TAMMY        WEISENBERGER                 CO     33096252105
9637926245B569   JOSE         ZAPATA                       NM     90011982624
9637926A691599   ELIZABETH    MCGEE                        TX     75005492606
96379A1478B175   KAVATAKUA    MALU                         UT     90014260147
96379A51872B42   JOHN         VIGIL                        CO     90009680518
96379AA7493768   DELBERT      MARTIN                       OH     90008760074
9637B8A165B361   KARY         AGOSTO                       OR     44517698016
96381269A91399   NICOLE       HISLOP                       KS     90005522690
9638139435B383   VERONICA     TAPIA                        OR     90014823943
963819A1272B56   OMAR         GRANADOS LARA                CO     90011729012
96382738672B62   JAVIER       BENCOMO                      CO     90006507386
96382A6585B531   MELANIE      CHAVEZ                       NM     35094770658
963831A8691951   ELEUTERIO    SANCHEZ                      NC     90014621086
9638335AA5B361   JUSTIN       SAUTER                       OR     90010283500
96383941372B22   XIOMARA      MEDINA                       CO     90012819413
96383A86397B59   TY           HILDERMAN                    CO     39033530863
9638415717B444   TYLA         GREEN                        NC     90009951571
96384496172B56   ALEJANDRO    MEDINA                       CO     33066224961
9638475799153B   ABIGAIL      CEDILLO                      TX     75090377579
9638553388B175   LARRISEN     MANN                         UT     90014775338
96385944872B22   MELLISA      ACEVEDO                      CO     90012819448
96385AA235B383   ROBERT       HARMAN                       OR     90015130023
96386134172B3B   ISABEL       MARQUEZ-MENDOZA              CO     90013931341
9638684982B981   ROBIN        ALEXANDER                    CA     45017598498
96386A32591531   CARLOS       MARQUEZ                      TX     75041400325
9638712995B531   DANIELA      RAMOS                        NM     90009101299
9638712A37B39B   FRANCIS      PETITT                       VA     90014581203
96387562897B59   MERCURY      SMITH                        CO     90009195628
96387612772B56   JUANCARLOS   VASQUEZ                      CO     90000316127
9638782286B984   CATARINO     GARCIA                       NJ     90010968228
963882A277B444   RICARDO      MESILLAS                     NC     90013982027
9638838A872B56   GERERDO      ABARCA                       CO     90014163808
96388886772B21   SONIA        DE RENDEROS                  CO     90000768867
96389114372B3B   ESPERANZA    DENA                         CO     90002641143
9638944163164B   CHRISTY      TRACY                        KS     90012814416
96389672772B32   CARL         HOUCHINS                     CO     90005246727
9638993A377537   ADELA        GURROLA                      NV     43047019303
9638B542172B3B   GERARDO      SALGADO                      CO     90000935421
9638B64465B361   NATASHA      LISHER                       OR     44539836446
9638B66995B531   PERLA        SANDOVAL                     NM     90010456699
9638B67873164B   ZACH         COLLINS                      KS     90013886787
9638B787791521   MANNY        VALLES                       TX     90012247877
9638B79AA97B59   DANIELLE     LANGLEY                      CO     90012477900
9638B821272B22   PEYMAN       MOTTAGHI                     CO     33009088212
9638B96813B322   BOBBY        MALONE                       CO     90007979681
96391343772B32   MAESTAS      ALFONSO                      CO     33056033437
96391441172B56   JOHN         BECKWITH                     CO     33041244411
96391522572B22   LARRY        ABRAM                        CO     90014475225
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1762 of 2350


96391547172B3B   BRITTANI     NULL                         CO     90013035471
96391785A5B531   JAMES        JENKINS                      NM     35072457850
9639243688B347   REGGIE       BYRD                         SC     90012144368
96392564A72B42   SANTIAGO     BARRAZA                      CO     33074235640
9639275915B361   JULIO        ISLAS                        OR     90012987591
96392A31393755   DERRICK      FOSTER                       OH     90013680313
9639317674B27B   MARTIN       FREYRE                       NE     90007661767
963931A6391399   YESENIA      GUACHUZ-MIRANDA              KS     90012101063
96393381772B56   GUS          NICKELL                      CO     90014163817
963935A113164B   LARRY        WILSON                       KS     90011265011
96393732172B62   JERAMY       HUFF                         CO     90014077321
9639389A491599   YAAVONNE     CUEVAS                       TX     90004398904
96394199A5B531   VERONICA     QUIRO                        NM     90009011990
96394629A72B3B   BRIANA       NUNEZ                        CO     90011176290
96395576572B3B   SHALITA      GREEN                        CO     33051305765
96395688772B42   GUILLERMO    MAGANA CISNEROS              CO     33044056887
96395956972B24   ALMA         ANTILLON                     CO     90013389569
9639724988B175   CORY         PALMER                       UT     90004422498
96398381972B56   ISAIAS       BARRON                       CO     90014163819
9639874A361955   DONALD       GARRETT                      CA     90010217403
96398964172B24   THERESA      GARNER                       CO     33041999641
96398AA9155951   VERONICA     MENDOZA                      CA     90010920091
9639B29428594B   MICHAEL      HUTCHINSON                   KY     66072772942
9639B528A72B56   ALANNA       BROWDER                      CO     90008555280
9639B67A691951   NOE          CAZARES                      NC     90013946706
9639B82965B361   FERNANDO     REYES                        OR     90015148296
9639B949A5B548   ANGELINA     GALVAN OCHOA                 NM     35022179490
9639BA3389712B   SCOTT        SCHLEGEL                     OR     90007370338
963B11A5491399   CHRIS        KELLY                        MO     90000621054
963B139132B831   JEREMY       SMITH                        ID     90010163913
963B1483A72B62   JANETTE      RODRIGUEZ                    CO     90006744830
963B1666272B24   ROBERTO      CASTANEDA                    CO     90011536662
963B268534B949   ROSA         BENNETT                      TX     90006746853
963B2798161977   RODOLFO      HERNANDEZ VERGARA            CA     90003627981
963B2A59591521   JESUS        RUBIO                        TX     90008140595
963B3217A5B383   PARTICK      SMITH                        OR     90009552170
963B3354272B56   JUANA        DEL VAL                      CO     90014163542
963B341518B175   FRANCISCO    HERNADEZ                     UT     90014784151
963B3545673297   ALEXIS       RUIZ                         NJ     90015395456
963B3561A97B59   KULDEEP      BHATTI                       CO     90003125610
963B398763B381   BRUCE        CANTOR                       CO     90001849876
963B4448461988   SIKANDER     LODHI                        CA     46080604484
963B455A191599   THOMAS S     TARANGO                      TX     90002195501
963B4745255951   HELEN        SILVA                        CA     90012587452
963B478A85B383   JOYCE        WATSON                       OR     44537867808
963B4845691599   ISELA        LUNA                         TX     90007648456
963B49A5691521   SALVADOR     CASTANEDA                    TX     90010869056
963B4A5685B531   RICARDO      SANCHEZ                      NM     90013750568
963B5A44172B22   MARIA        ARMENDARIZ                   CO     33060680441
963B5A6A355957   CHRIS        GOLDIE                       CA     90004390603
963B6885755957   ISAIAH       SAUCEDA                      CA     90013308857
963B7123455957   JOHN         FLANAGAN                     CA     90013171234
963B7443961928   WALTER       PICENO                       CA     90012214439
963B7822A5B531   ESTELA       BOJORQUEZ                    NM     90011188220
963B7923791521   IGNACIO      VAZQUEZ                      TX     75016929237
963B836135B334   BRITTANY     TAYLOR                       OR     90003193613
963B841682B891   JOSE         SERRANO                      ID     90013854168
963B858265B531   BRITTANY     BACA                         NM     90014085826
963B8786572B22   KEITH        MACDOUGALL                   CO     90010397865
963B8A49291599   LORENZO      VERA                         TX     90011340492
963B9599172B22   LINDA        BUCKLIN                      CO     90005535991
963B971A872B3B   VICTORIA     SUNN                         CO     90011417108
963BB646272B22   GRACIELA     BOJAS                        CO     90014746462
963BB854661977   ESPERANZA    RODRIGUEZ                    CA     90012018546
9641116835B548   CRISTIAN     JAQUEZ-CHACON                NM     90003051683
96411851A91354   MOSQUITO     FLYY                         KS     90007768510
96411865397B59   GENIVA       PACHECO                      CO     90014588653
96411A3A191531   BRENDA       CONTRERAS                    TX     75047640301
96411A86A33B21   PAYGO        IVR ACTIVATION               OH     90008910860
96412548172B56   JUANITA      PICAZO                       CO     90007285481
964125AA797123   BYRON        DOUGLAS                      OR     90014685007
9641295A572B22   YESSICA      CANO                         CO     90012819505
9641332278B175   KENNETH      FLORES                       UT     90010563227
96413841772B98   BRIAN        ALEX                         CO     33059228417
9641397A197B59   MARY         ENGLISH                      CO     90014949701
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1763 of 2350


9641489718B175   JIMMY         URLAND                      UT     31051538971
96414A65397B59   JEFFREY       KIRBY                       CO     90006170653
9641571113164B   REGINAL       COOPER                      KS     22069467111
96415946A72B22   JEFFREY       HARRIS                      CO     33088139460
96416688872B32   KRISTENE      CARLETON                    CO     90009386888
96417266A97123   SILVIA        PRIETO                      OR     44094262660
964174A5536148   SUSANA        PALACIOS GAMBOA             TX     90010184055
9641774745B383   JUAN CARLOS   VALDEZ HERNANDEZ            OR     90007597474
96418381872B62   HUMBERTO      MORALES                     CO     33051943818
9641839A572B56   RICARDO       MIRAMONTES                  CO     90014163905
9641925795B531   JANIS         THOMAS                      NM     90014902579
9641939AA91969   ANGELIA       SCHOEFIELD                  NC     17006493900
96419A4A28594B   JOHNNY        CHU                         KY     90014970402
96419AAA193723   ROLAND        TENNYSON                    OH     90010100001
9641B538591399   ANNE MARIE    JOHNSON                     KS     90014695385
964218A478B175   BRANDEN       WEBB                        UT     90013868047
9642215458B175   BOBBIE        WICHAEL                     UT     90012511545
964225AA272B62   MARILYN       MEYERS                      CO     33056175002
9642333627B481   SHARON        WOOD                        NC     90004773362
964236A6491531   MONICA        SANCHEZ                     NM     90011356064
96423A68A91521   DALILA        VELEZ                       TX     75022410680
9642415668B175   SONIA         GARCIA                      UT     90011901566
964246A7391399   RANESHA       DODD                        KS     90013086073
96425393172B56   GRACIELA      MOJICA                      CO     90014163931
9642548A991599   ANGIE         FRAUSTO                     TX     90009514809
96425A67491951   OTON          APARICIO SOTO               NC     90011180674
9642613A755957   ANGEL         PUENTES                     CA     90009501307
96427922372B62   ADAM          CARDONA                     CO     90010899223
964279A4891531   CAROLINE      PONCE                       TX     90014929048
96427A24997B59   MEGAN         BEAMS                       CO     90014710249
96428375A72B24   RACHEL        SACK                        CO     90003143750
9642849A78594B   JOSH          CLAGG                       KY     90012974907
9642857A791531   MARIA         ESPINOZA                    TX     90010985707
96428849172B29   RODNEY        MARTINEZ                    CO     90007298491
9642933A67B444   JACQUELINE    SMITH                       NC     90010693306
96429393172B56   GRACIELA      MOJICA                      CO     90014163931
9642B84584B554   SHERRIE       CHILDS                      OK     90002548458
9642BA49172B56   LILY          TRUONG                      CO     90013960491
9642BA6815B361   GENY          SANTIBANEZ                  OR     44550910681
96431261472B22   DAVID         SMITH                       CO     90011852614
96431395472B56   NICHOLAS      CHESTER                     CO     90014163954
9643141955B361   JUAN DAVID    GONZALEZ                    OR     90009124195
9643147245B548   REYNA         VILLALVA                    NM     35086964724
96432988697B59   MARIA         VALADEZ                     CO     90006249886
96433118897B59   RUBICELA      VAZQUEZ-GONZALEZ            CO     90014721188
9643363429193B   CHESSON       BROWN                       NC     17069326342
9643368A893755   JENIE         TOTTEN                      OH     90007576808
9643434725B548   TARA          MCCOOK                      NM     90010613472
96434397772B56   ALAN          VOGAL                       CO     90014163977
9643466335B361   ISRAEL        HORTON                      OR     44586246633
96434942472B3B   JULIO         CRUZ                        CO     90007169424
964354A2A85953   BILL          THOMPSON                    KY     67005414020
964355A6177537   CRUZ          VENTIMILLA                  NV     43081265061
9643736AA8594B   VICTOR        PEREZ                       KY     90015113600
96437779472B3B   MARK          SINGER                      CO     33037977794
9643841618B175   ROARKE        BLUNDELL                    UT     90014784161
96438638372B56   MIREYA        LIRA                        CO     33097126383
9643868A991521   ELIZABETH     RAMIREZ                     TX     90004186809
96438794697B59   KARRIE        ELKIN                       CO     90010407946
96438817A5B548   ALICE         MARTINEZ                    NM     35045578170
96439535597B59   NANCY         OCHOA                       CO     90008735355
9643B39A161977   MOSES         REYES                       CA     90006893901
96441299572B62   MARINA        GAIMALDO                    CO     90006202995
96441398472B32   RENE          RAMOS                       CO     90010343984
9644149675B548   RALPH         HIGDON                      NM     90004724967
96441628397B59   ELLIOT        JANSMA                      CO     39089616283
9644192633164B   MARIO         BELTRAN                     KS     90011259263
96441A32751342   LAURIE        BROWN                       OH     66084160327
96442126172B62   ORALIA        AMARO                       CO     90009861261
96442591472B98   JON           MEDRANO                     CO     90004015914
96442818172B3B   KARLA         CARDONA                     CO     33055308181
96442A2845B361   GEORGE        ORNELAS                     OR     90015290284
96443494697B59   ELSA          RAMOS HERNANDEZ             CO     90012814946
96443527572B24   RICHARD       KNYBEL                      CO     90004195275
9644362A672B22   AMANDA        JONES                       CO     90011366206
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1764 of 2350


96443924A93755   DEBRA        KLEIN                        OH     64568719240
96444A36171942   CANDICE      YACCARINO                    CO     90011450361
96445166997B59   JUAN         CAMARILLO                    CO     90014721669
9644532695B383   ARTHUR       GOFF                         OR     44509903269
96445347597B59   LYNITA       THOMAS                       CO     90010613475
96445447172B62   FAUSTINE     NEWBURY                      CO     90013844471
96445625172B24   TOM          BRADLEY                      CO     33071266251
96445AA6855951   LATORI       WILLIAMS                     CA     90010370068
9644638523363B   JENNIFER     JAIMES                       NC     90011533852
96446416A77537   YEIMI        CRESPO                       NV     43054604160
96447449672B62   CHAD         ALBANESE                     CO     90014444496
96447594372B62   DEBRA        DAHL ROOM 213                CO     90014415943
96447A78155999   ARLEE        JOHNSON                      CA     49097910781
96447AA7691951   JAMYIA       SPINKS                       NC     90013360076
96448191497B59   REYES        VEGA                         CO     90014721914
96448392376B42   TIM          BROLASKI                     CA     46013633923
96448842172B24   HEIDI        SHAVILL                      CO     33003908421
96449581372B62   LIA          LOFTON                       CO     90006515813
9644B355651342   BARBARA      PEREZ                        OH     90013343556
9644B362451342   BARBARA      PEREZ                        OH     90010723624
9644B51858B134   ERIKA        SILVA                        UT     90007945185
9644B54144B554   ALICIA       FREEMAN                      OK     21519005414
9644B661A72B32   LILLIE       SMALLWOOD                    CO     33046766610
9644B75985B361   JAMIE        LAGANO                       OR     44515117598
9645166839712B   DEYSI        HERNANDEZ                    OR     90006006683
9645184A991531   ERBECK       BEJARANO                     TX     90014658409
96451875197B59   NANCY        MAYORGA                      CO     39040668751
96451A2117B444   DOMINIQUE    ENNINGS                      NC     90014470211
9645247625B361   KHAMAEL      ISMAEL                       OR     90009914762
96452823872B32   TERESA       PARKER                       CO     33027658238
9645291593164B   OSCAR        MENDEZ                       KS     90014849159
9645342A16B957   SHAWN        BARNES                       NJ     90001524201
9645371578B175   STEVEN       HEINER                       UT     90012127157
9645494835B548   ELSA         VELETA                       NM     35003149483
9645496474B554   JAUN         HERNANDEZ                    OK     90001289647
9645497225B383   SAMANTHA     DOLER                        OR     90000389722
9645497A55B361   MEGAN        WHITTED-BEALS                OR     44585109705
9645519A77B444   JORDAN       LINDSAY                      NC     90013891907
9645589A35B548   MANUEL       LOZOYA                       NM     35058338903
96455A32985948   RAMON        CANO                         KY     67087710329
96455A9685B361   HAYDEE       CRUZ                         OR     44581120968
96456218197B59   CRISTI       MYERS                        CO     90014722181
9645633285B548   LILIANA      MORENO                       NM     35017843328
9645662A491951   SHAMEKIA     RICHARDSON                   NC     90005636204
96456A62572B3B   JOHNNY       GOMMEZ                       CO     90011810625
96456A63972B56   AMANDA       MACIAS                       CO     90011870639
96457218197B59   CRISTI       MYERS                        CO     90014722181
96457374272B62   SHEENA       WARD                         CO     90003483742
96457458572B32   JAMES        ELLIOTT                      CO     33085564585
9645775A68B175   JAMES        BRIGGS                       UT     90012157506
96457A26155957   NEIROVE      HERMOSO                      CA     49095360261
9645818A891521   MARISOL      RAMIREZ                      TX     90014881808
96458237697B59   BRENDA       ROGERS                       CO     90014722376
9645844AA72B42   ANTHONY      ROBERTSON                    CO     90001784400
9645866838B175   PAUL         AJAYI                        UT     90009856683
96458936972B62   CIERRA       DELTRRERA                    CO     90004839369
9645897A472B24   MICHELLE     MARQUEZ                      CO     90012149704
9645898448B175   SUSAN        JETTIE                       UT     90015179844
9645915645B599   KELLY        ANALLA                       NM     90012271564
96459453197B59   KATIE        SEXSON                       CO     39013304531
96459455A77537   JUSTINE      ABEL                         NV     43079394550
96459696672B24   VERONICA     DAVIS                        CO     90013906966
9645979678594B   DAVID        MURPHY                       KY     90004177967
9645B36845B383   LUCY         DRENNAN                      OR     90012243684
9645B58124B977   BRYAN        TURNER                       TX     90001805812
9645BA6A691531   CHRISTINA    HERNANDEZ                    TX     90006270606
9645BAA1191521   MAURO        JIMENEZ                      TX     75097840011
9645BAA7455957   ANGELA       OCHOA                        CA     90004600074
9646218A891521   MARISOL      RAMIREZ                      TX     90014881808
964623A6372B32   MARIA        GARCIA                       CO     90010613063
9646318A891521   MARISOL      RAMIREZ                      TX     90014881808
96463291372B3B   ADRIAN       HERNANDEZ                    CO     33094122913
96463453A91951   DESHAUN      MCCASKILL                    NC     90008314530
9646369178594B   CHRISTY      STROUD                       KY     90012136917
9646418A891521   MARISOL      RAMIREZ                      TX     90014881808
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1765 of 2350


9646424A34B971   CHRIS        WEBER                        TX     90001342403
96464346272B3B   MACHO        PRIETO                       CO     90013203462
9646462535B531   SERGIO       PENA                         NM     90012546253
9646546A691599   SERGIO       MAGALLANEZ                   TX     90004184606
96465777A72B22   ISSAC        LERMA                        CO     90011587770
964662A868B175   MIKE         DAVIS                        UT     31036382086
9646692A15B394   YOLANDA      MARTINEZ                     OR     44094279201
96468246372B32   BRETT        ATEN                         CO     90014502463
96468396A72B24   LOUIS        CASTILLO                     CO     90013933960
964684A5372B56   ALEXIS       SMITH                        CO     90011774053
964695A9A72B62   MARIA        BANUELOS                     CO     90007115090
9646B43355B361   CARA         CUNNINGHAM                   OR     44580094335
9646B565755967   LIDIA        CORDOVA                      CA     90007895657
9646B59817B444   JANELLE      MCKOY                        NC     90013295981
9646B813472B32   KAR          SEN                          CO     90013318134
9646B837397123   JOSHUE       AIKMAN                       OR     90014308373
9646B866972B56   RENATE       OCHOA                        CO     33045308669
96471A87691399   CARLA        CANO                         KS     90015090876
9647235583B361   RAMON        RODRIGUEZ                    CO     90013583558
9647239886B984   ALEJANDRO    FERNANDEZ                    NJ     90011073988
9647251A351334   SILVIA       JUAREZ                       OH     90011125103
96472988172B3B   MEHRETAB     GEBREMESKEL                  CO     90003429881
9647328155B531   JENIFFER     PLESHEK                      NM     35056692815
964737A2886B63   OLGA         KACHORWSKY                   CT     90014507028
96473966772B56   CRISTINA     MEREJILDO                    CO     33038169667
96474677772B32   GONZALEZ     GONZALO                      CO     33083896777
9647488594B249   LAURA        STEVENSON                    NE     90003548859
96475416272B56   JERRY L      CUPPS                        CO     90011774162
964756A5951347   STEPHANIE    MILLER                       OH     90011116059
96475863172B56   JESUS        CONTRERAS                    CO     90012078631
96475A5A691599   DANIELA      FERNANDEZ                    TX     90014910506
9647623555B548   JOANA        AGUIRRE                      NM     90014902355
96476324A5B548   PERLA        FLORES                       NM     90010643240
9647634A791579   LETICIA      GERMES                       TX     90006533407
96476821272B22   FLORES       VERONICA                     CO     33010088212
9647711A597B59   LOGAN        SMITH                        CO     90013661105
96477223572B56   DELORES      JONES                        CO     33067752235
9647723938594B   CHERIE       DARBY                        KY     90014192393
9647744225B531   DARLINE      GONZALES                     NM     35075004422
9647757A255947   CARLOS       BONILLA                      CA     49095205702
9647778594B949   JOHNNY       JAMES                        TX     90002517859
964779A212B831   MURAGIZI     SEBASTUTSI                   ID     42001819021
96478872772B62   RAMONA       BARRIOS                      CO     90010288727
964788A5991951   ADELFA       SANTIAGO                     NC     90013948059
964793A1572B62   DWIGHT       ROLISON                      CO     33050483015
9647975188B175   MARIA        MADRID                       UT     90011797518
96479759272B56   ISMAEL       DIAZ                         CO     33016357592
96479A84621832   JACKIE       BURGER                       MN     90015430846
9647B14478594B   BARBARA      BATTAGLIA                    KY     90008411447
9647B561197B59   DAVID        JOHNSON                      CO     90012815611
9647B734A8B152   JESUS        CORREA                       UT     90006777340
9647B7A2272B42   RAUL         MOJICA                       CO     90004347022
9647BA36391951   BERTHA       STRAYHORN                    NC     90014800363
96481582A72B24   LEVI         THOMPSON                     CO     90004805820
96481646772B3B   SHARON       PRIDY                        CO     33064386467
96481844397B59   BRITTINI     RODRIGUEZ                    CO     90012478443
96481916472B22   SUSAN        ZABALA                       CO     90012829164
96482677172B56   SIHERRA      SHACOLE-CRAVEN               CO     33093716771
96482686897B59   RICARDA      CERVANTES                    CO     90008606868
9648323A45B383   HAROLD       CLARK                        OR     90009662304
964836A1872B32   MARIA        ELIAS                        CO     33090876018
96483A61491599   CESAR        PAYAN                        TX     90012210614
9648681A355957   DIANA        GONZALES                     CA     90003378103
9648698A85B548   ISAIAS       RODRIGUEZ                    NM     35096049808
96486A3415B361   JAVIER       FERNANDEZ MARDOMINGO         OR     90012300341
96487486A5B548   VICTORIA     LOPEZ                        NM     90014834860
96487772672B62   ALYSSA       SOLIS                        CO     33087877726
96487AA1172B56   JUDY         ARGUELLO                     CO     90012830011
96488199A91521   CRISTELL     GUTIERREZ                    TX     90014881990
9648834386B984   ELIAS        PEREZ                        NJ     90010503438
96488925672B24   ISABEL       DOMINGUEZ                    CO     90012789256
96488A3555B361   KARSTEN      TRAPP                        OR     90012110355
964893A1572B22   ANGELA       ROJAS-FLORES                 CO     90007593015
9648975AA72B32   MARLENE      REYES                        CO     90005187500
9648995A891531   PERLA        FLORES                       TX     90014929508
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1766 of 2350


9648B312841296   ARIELLE      MARSH                        PA     51070123128
9648B479197B59   MICHAEL      VALDEZ                       CO     90014924791
9648B4A9872B56   MIRELLA      GUZMAN                       CO     90014164098
9648B572891521   JOSEFINA     TREJO                        TX     90006085728
9648B946172B62   MARTHA       BAUTISTA                     CO     33089959461
96491169897B59   OCTAVIO      OVALLE                       CO     90006251698
9649127615B531   DILLON       BYRNE                        NM     90015072761
9649147734B949   JOANA        DECUIR                       TX     76573344773
96491478172B56   DULCE        BANCHEZ                      CO     90011294781
964914A6A91531   GIOVANA      FERNANDEZ                    TX     90006284060
96491691472B62   JULIE        SCHALE                       CO     33056986914
96492193197B59   ROCIO        VARELA                       CO     39042971931
9649266218B175   JOSE         MANUE;                       UT     31095116621
964927A8A5B356   ARACELI      VENANCIO                     OR     90003347080
96492A19172B56   KARINA       AGUILAR                      CO     33091660191
964931A346B984   HEMANUEL     RODRIGUEZ                    NJ     90012751034
96493538172B32   TRICHA       HEIT                         CO     33073555381
96493624772B62   MARIA        ZEPEDA                       CO     90003766247
9649398A497123   ABRAHAM      BONNEY                       OR     90014869804
96494344A5B281   TARA         THOMPSON                     KY     90001383440
964954A4155999   ANGELA       TUTTLE                       CA     90008104041
9649555743B399   LUIS         GONZANLEZ                    CO     33051315574
96496481272B62   SAL          GUERRERO JR                  CO     33012624812
96496516797B59   MATHEW       PYLES                        CO     39031755167
9649679955B361   ANA ROSA     JIMENEZ IBARRA               OR     90012057995
964971A315B367   OLIVIA       PENEYRA                      OR     44529531031
964973A6472B3B   DOROTHY      OHLINGER                     CO     90013093064
9649751455B33B   BRENDA       JIMENEZ-DE LEON              OR     90011865145
96497717472B22   TY           LATTIMORE                    CO     33034007174
96497926A91951   ALAN         HIDALGO                      NC     90013949260
9649849915B361   MICHAEL      PAULUS                       OR     90000644991
9649863558B175   ANTONIO      MONTES DE OCA                UT     90013366355
96498693172B32   DARRIN       GONZALES                     CO     90012996931
964986A6A93778   SHANNON      CARRIGAN                     OH     90008156060
96498A9745B548   ROBERT       ARAGON                       NM     90012010974
9649946215B361   PAULA        KUSNIER                      OR     44577534621
9649B273391521   JESSICA      GUTIERREZ                    TX     75007122733
9649B459755957   TRAVIS       ANGERAM                      CA     90013484597
9649B95A891531   PERLA        FLORES                       TX     90014929508
964B143A172B24   CHANTELLE    ROBLES                       CO     33000924301
964B1538597123   SUSANA       ROCHA                        OR     90011605385
964B199A893778   AISHIA       WITHE                        OH     90014679908
964B19A5972B56   RAVI         AMARALA                      CO     90013049059
964B1A46A5B531   DOMENICA     QUIROZ                       NM     90000540460
964B2488277537   MA ARACELI   GOMEZ-DECANSECO              NV     43065914882
964B2733672B3B   MARK         MCKERNAN                     CO     33070967336
964B2845A55957   ROSELIA      SALAZAR                      CA     49000248450
964B3639897B59   JOSE         GARCIA                       CO     90005626398
964B4522272B22   THERESA      MIONTEZ                      CO     90003325222
964B4759272B56   ISMAEL       DIAZ                         CO     33016357592
964B4762981679   SHENIQUE     JACKSON                      MO     90009547629
964B4767A33698   JERRY        BENNETT                      NC     12002677670
964B4787791521   MANNY        VALLES                       TX     90012247877
964B48A9497B59   CELESTINA    PATRICIO                     CO     39090498094
964B5236191521   MIGUEL       DE LA HOYA                   TX     90009562361
964B538947B444   PHILLIP      ROBINSON                     NC     90014303894
964B56A7572B3B   OSCAR        DUARTE                       CO     33072906075
964B6238991599   NORMA        ANGUIANO                     TX     90013042389
964B6326981651   CHRIS        STRICKLAND                   MO     90011603269
964B6659891531   ELIZABETH    ENCINAS                      TX     90014936598
964B6746741296   SAMANTHA     JAMES                        PA     90010457467
964B6A58361977   JOCELYN      GONZALEZ                     CA     46086390583
964B7267672B3B   STEPHEN      BAILEY                       CO     33054922676
964B756665B531   EDGAR        RAMOS                        NM     90002625666
964B7782955951   MONTRICE     BOWLIN                       CA     90011197829
964B7936272B56   SHAWNTEL     WILSON                       CO     90013029362
964B796215B383   KATLIN       MAHONEY                      OR     44526439621
964B7A13561977   JULIA        FONTENEAUX                   CA     90000120135
964B812445B531   FRANCISCO    GONZALEZ                     NM     35091291244
964B88A965B383   ISAAC F      LEEDOM                       OR     90015008096
964B891765B548   DAVID        STROUD                       NM     90010009176
964B8947361977   RAMON        RUIZ                         CA     90012889473
964B8957772B24   ISREAL       ESTRADA                      CO     90013389577
964B9767987B48   ZINNIE       ANDERSON                     AR     90013547679
964B9843A31465   AIDAN        SALMERI                      MO     90008788430
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1767 of 2350


964B9891A93721   JUAN          JENNINGS                    OH     90003098910
964B9A98372B24   ABELINO       PACHECO                     CO     33084960983
964BB126161977   DAVID         MARTINEZ                    CA     90010691261
964BB18472B981   SANDRA L      RICE                        CA     90005321847
964BB315555947   ELIZABETH     OSUNA                       CA     90012563155
964BB31885B361   JOSHUA        DYKHORST                    OR     90010453188
964BB334672B24   ERIC          ROBERTSON                   CO     33087173346
964BB3A9755957   SHERYA        HARRIS                      CA     90013933097
964BB726A91521   ROCIO         PALOMARES                   TX     90002827260
964BB949A91951   LLYNETTE      HUNTER                      NC     90014949490
96511238972B3B   CHRISTINE     RUSSELL                     CO     33043542389
9651184A521684   BETSY         SERRANO                     OH     90015388405
96511929A8594B   GREGORY       BLACK JR                    KY     90014209290
96511A39991531   PABLO         ROMERO                      TX     75079600399
96512366A97123   GUILLERMO     PEREZ                       OR     90000553660
9651293A172B62   ALMA          JUAREZ CORONA               CO     33051069301
96512A8A441296   LOUIS         ARMSTRONG                   PA     90013960804
965133A4872B24   LEO           PAIK                        CO     90014903048
96513938A72B62   GUADALUPE     MONTES                      CO     90003749380
96513A43A5B383   BAUDELIA      ASCENCION MUNIZ             OR     90015090430
9651436653164B   CHRISTOPHER   SMITH                       KS     90002183665
96514AA155B361   KRISTI        NAY                         OR     90003150015
9651574415B361   MORGAN        SUTTON                      OR     90011217441
96516A23844B33   IVAN          GARCIA                      OH     90015190238
96517372272B56   HILDA         ORDAZ                       CO     90014093722
965176A4172B24   JESUS         VILLAR                      CO     90011326041
965177A2691531   ESPERANZA     MUNIZ                       TX     90014937026
96517918172B22   DAVID         BERLIN                      CO     90012829181
96517A1485B383   CARMEN        CORDERO                     OR     90013740148
96517A72672B56   ULISSES       ANDRADE                     CO     90013000726
96518211472B32   LORI          MONTOYA                     CO     33075912114
96518437772B56   JORGE         JIMENEZ                     CO     90014164377
96518721972B24   FRANCES       CALL                        CO     33005467219
9651894A68594B   TARSHA        HENDERSON                   KY     66036219406
96519A69797123   MIBELLE       CHURCH                      OR     90006900697
96519A85855957   JOSE          AVILA                       CA     90015130858
9651B343472B22   ERIQUE        NERI                        CO     33065323434
9651BA88A91521   DIANA         MORALES                     TX     90000150880
96521214A91521   ERNESTO       PEREZ                       TX     90014882140
96521455172B62   FRANCISCO     PEDROZA                     CO     90013624551
9652149657B444   OMAR          DAMERON                     NC     90010574965
96521757472B62   MOSES         SILALAH                     CO     90010087574
96521A6268B175   JUSITN        JONES                       UT     31040870626
96521A97A72B32   JEFF CARL     SORCE                       CO     90015120970
965223A375B548   MARY          DE NAJERA                   NM     90009873037
96522564A5B383   MARIA         LEWIS                       OR     90014585640
965234A7791521   ROSA          NUNEZ                       TX     75042594077
965236A8972B42   SARAH         NUNEZ                       CO     33065296089
96523917272B22   STEVE         NELSON                      CO     90013169172
965239A6291951   LOUIS         TRIBBY                      NC     90014159062
9652413267B444   NATASHA       MCWINE                      NC     90013561326
96524418A72B32   DUANE         THREATS                     CO     33053984180
96524575397B59   SHAMBREYA     JOHNSON                     CO     90012815753
96524866572B3B   JANEAL        FREYTA                      CO     90014338665
965251A815B548   TIFFANY       GRAHAM                      NM     90011941081
9652543A35B548   ELIZABETH     NEVAREZ                     NM     90014154303
965255A4872B24   RACHEL        ROSALES                     CO     90010485048
96525827197B59   JOHANNA       OLAN LOPEZ                  CO     39004698271
965258A8691521   JESUS         ZAMORA                      TX     75019118086
96525A99591599   ARGELIA       ARVIZO                      TX     90012260995
96526341A41296   CHAZARAE      BUFKIN                      PA     90002663410
9652647997B444   JOCELYN       BATISTA                     NC     90010654799
9652682A891521   RICARD        MIRAMONTES                  TX     90014888208
96527216872B56   DAVID         TORRES                      CO     90005162168
96528326697B59   JEREMY        BATMAN                      CO     39044663266
96528341572B32   HEATHER       DAY                         CO     90011513415
96528423A51391   KATHLEEN      KRAFT                       OH     90003514230
9652859A951342   ANTHONY       BODEN                       OH     66000695909
96529113A93755   LIZANDRO      PEREZ                       OH     90014231130
965291A3691526   NOEMI         CORTEZ CALDERON             TX     90010541036
96529335A55957   CAITLAN       PRUM                        CA     90014693350
96529374972B2B   CHRISTOPHER   DAVIS                       CO     90004103749
96529387472B24   AMALIA        GONZALAS                    CO     90004963874
965298A6377537   ANTHONY       HALE                        NV     43027228063
96529994697B59   CHERYL        FENDRICH                    CO     90013009946
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1768 of 2350


96529A45A91951   PRIMITIVO       TRUJILLO                  NC     90013950450
9652B398A5B548   VALERIE         LAGRANGE                  NM     35002953980
9652B919891521   ROBERTO         LUCERO                    TX     75005059198
96531742972B56   ANA             MORENO                    CO     90013877429
96531A2A197123   MARIA           ORTA-VALDOVINA            OR     90011100201
9653211A88B175   VALIANT         TARA                      UT     90004261108
9653245AA72B56   TULONDA         LANDERS                   CO     90014164500
9653351168594B   DEXTER          HAMBLIN                   KY     90012745116
96533538872B3B   OLIVIA          GARCIA                    CO     90004185388
96534374672B24   CECILY          BOLEY                     CO     33082593746
9653448365137B   DONAN           NIXSON                    OH     90000124836
96534633972B62   SAMMY           SWEET                     CO     90010636339
96534859997B59   DARRIN W        LONG                      CO     90004908599
9653556445B548   DAVID           ALDERETE                  NM     90004835644
96535623972B56   LUCIANO         FLORES-VERA               CO     90010426239
96535747772B62   FELIPE          CARRANZA                  CO     90002817477
96537237272B22   ROSA            BLEA                      CO     90013502372
9653786A78594B   JERRY           HOSKINS                   KY     90002368607
96538435A97B59   BRIAN           WEGNER                    CO     39032844350
96538932372B42   JUSTIN HAREL    MACK                      CO     90005599323
96538A21331429   DEMARKAS        CONNELLY                  MO     90008920213
96539768272B22   NORMA           RODRIGUEZ                 NM     33031547682
96539815672B24   RENE            ROMERO                    CO     33041338156
9653991A177537   THADDEUS        MORALES                   NV     90014319101
9653B215472B56   MARVIN          ALVARES                   CO     90012942154
9653B36817B444   ANN             YOUNG                     NC     90010783681
9653B37627B33B   DEBRA           SOTELO                    VA     90002123762
9653B47275B531   ISABELLA        BURCIAGA                  NM     90013934727
9653B565A97B59   LUIS            TORRES                    CO     90014745650
9653B596A8B197   LILIANA         GOMEZ                     UT     31013645960
9653B722672B22   JACK            MINTER                    CO     33039607226
9653B94112B257   DARREN          O'NEAL                    DC     81085239411
9653B987791521   MERCEDES        RANGEL                    NM     75066379877
9653B995972B3B   STEVE           JOHNSON                   CO     90015049959
9654181585B531   ANDREA          DEER                      NM     90011098158
96541824A5B548   ARELY           ROMERO                    NM     90003698240
96542383972B32   TIMOTHY         SULLIVAN                  CO     33016333839
9654241285B383   ALONZO          NOLAN                     OR     90012124128
9654247A391599   NESTOR          LOPEZ                     TX     90014164703
9654248868B175   KIM             SULLIVAN                  UT     90014784886
9654277915B548   DOLORES         TELLO                     NM     35089087791
9654286A772B24   CHRISTIAN       MARIN                     CO     90014668607
96542A38393755   SALEETA         NABORS                    OH     64589860383
9654363A972B42   STEPHANIE       FURNESS                   CO     33079106309
9654395147B444   SOKCHAMROEURM   WILKINS                   NC     90013339514
96544124972B24   MIKE            WISZ                      CO     90008911249
9654419AA72B42   CARRIENNA       JAMES                     CO     90010691900
9654427757B444   MYA             KUNG                      NC     90014442775
96544519A91531   JOSE            PANTOJA                   TX     75027815190
9654499365B361   JOEL            WARREN                    OR     90002209936
965453A3772B22   JOE             GARCIA                    CO     90007673037
9654596365B361   ANZHELA         MONTGOMERY                OR     90006719636
96546A99191531   NORMA           SEPULVEDA                 TX     90011150991
9654794A972B32   GERALDINE       CORDOVA                   CO     33079299409
9654891965B548   ARTURO          RODRIGUEZ                 NM     90012039196
9654929495B565   LUIS            PENA                      NM     90011422949
9654937515B383   DECI            CORDEIRO                  OR     90013183751
9654939627B444   JOSE            LOPEZ                     NC     90012963962
9654964A85B531   ROCK            VAL                       NM     35038646408
9654975A53164B   JESSICA         DEAN                      KS     90013207505
9654979AA93732   LARRY           FOUT                      OH     64516397900
96549883197B59   MARTHA          BANUELOS                  CO     39092718831
9654991A75B531   JANNETTE        GONZALES                  NM     35043809107
9654B211A41296   ELLEN           BURTON                    PA     90011022110
9654B39785B531   MARCOS          JARAMILLO                 NM     90014613978
9654B467A72B42   SHIRLEEN        BORJAS                    CO     90002714670
96551695A72B3B   ERICKA          CASAREZ                   CO     90012926950
96551864A72B56   KARLA           HIDALGO                   CO     90009648640
96551A93491399   ALEX            GLASS                     KS     90015090934
96552116672B56   BRANDY          BUENO                     CO     90011821166
96552157A91951   RUBILIO         VELASQUEZ                 NC     90013951570
9655224765B531   JOE             DOUGHERTY                 NM     35084582476
9655264355B531   LUIS            VARELA-RIVERA             NM     90010456435
96552961A77537   CELIA           JACINTO                   NV     90005099610
9655327747B464   LASHANDA        WILLIAMS                  NC     11000612774
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1769 of 2350


96553572A8B175   JUSTIN       CLAPP                        UT     90014975720
9655453A58594B   DONOVAN      HAYES                        KY     90013155305
96554545A5B361   SANNE        GODFREY                      OR     44583505450
9655469885B548   CECILIA      MANRIQUEZ                    NM     90008796988
96554A63491599   LUI          ORNELAS                      TX     90013810634
96555248597B59   OSEAS        SANCHEZ                      CO     39036992485
965554A5297123   JENNIFER     TORRES                       OR     90014654052
96555573272B3B   BRENDA       MACIAS                       CO     90013645732
96555946572B42   HUGO         LOYO                         CO     33076589465
9655654384B268   MARILYN      GOODWIN                      NE     27074725438
96556A2725B361   MELANIE      CHURILLA                     OR     90012420272
965572A3151342   WILLIAM      PRICE                        OH     90003212031
96558572672B3B   FERMIN       ROJAS-DOMINGUEZ              CO     90001575726
96558575272B56   GORDON       DIAZ                         CO     90004215752
96559229A41296   CHRISTINE    JAMES                        PA     90005972290
9655969115B275   VIOLET       LAFOLLETTE                   KY     68080466911
96559731772B3B   JOEL         RODRIGUEZ                    CO     90012947317
9655B234597B59   TINA         WAINWRIGHT                   CO     90012132345
9655B58A993755   AMY          MOYER                        OH     90014695809
9655B84775B531   JOJOLA       DARLENE                      NM     90013168477
9656122967B444   REBECA       BARRERA                      NC     90012382296
965615AA58B175   GERALD       BATES                        UT     90014785005
96561A25672B21   KODY H       GREEN                        CO     90012860256
96562356A91531   ALFREDO      AGUILERA                     TX     75087413560
96562373572B32   AMBERLEE     ALVARADO                     CO     90014833735
96562793672B22   BERTHA       CARDENAESQUIVEL              CO     90011587936
96562A63261941   MONICA       CERVANTES                    CA     46071140632
96563679972B24   TEODORO      CASTREJON                    CO     33094436799
9656386A891521   JOSE         LUNA                         TX     90014888608
96564338472B22   DAYSI        GARCIA                       CO     90007673384
965647A7172B24   DANIEL       LECLAIR                      CO     90011537071
965648A8555957   GREGORY      RIETH                        CA     49065918085
9656546667B444   MARK         DOLIVE                       NC     90010684666
965661A9355951   MARTIN       GARABEDIAN                   CA     49089241093
9656646945B548   IVALIA       LOZANO                       NM     35011574694
9656682A891521   RICARD       MIRAMONTES                   TX     90014888208
96567342572B3B   REYES        LERMA                        CO     90012903425
96567896872B24   GREGORY      BROOKS                       CO     90014458968
96568192572B24   CRYSTAL      SCULLEY                      CO     33093531925
96568667A61977   PAIGE        ZDY                          CA     90011116670
9656886165B383   LISA         GREVE                        OR     44567098616
965692A8193755   CHERYL       MOSS                         OH     64516362081
9656952928B175   ADAM         STARK                        UT     90010615292
96569A8145B548   MAYRA        GUERRERO                     NM     90007050814
9656B953193726   DYLAN        HUGHES                       OH     90013659531
9656BA56891531   TRACY        MARTIN                       TX     90002620568
96571385797B59   DANIELLE     HARVEY                       CO     90014763857
96571425A55951   MARBELLA     ARIAS                        CA     90011834250
96573A93497123   HORTENCIA    NAVARRETTE                   OR     44003770934
96575145872B32   MARIO        BUSTILLOS                    CO     90013931458
9657533685B548   ERIKA        CARBAJAL                     NM     90003693368
96576116A7B444   SANTOS       PEREZ                        NC     90011891160
9657636735B383   RALPH        PRENTICE                     OR     90009043673
96576892897B59   LUIS         FLORES-NAVA                  CO     90012218928
9657746948594B   CHARLEAH     JOHNSON                      KY     90014274694
9657785365B531   CARLOS       ARAGON                       NM     90014308536
96578139372B56   ROBIN        KINKLE                       CO     90013081393
96578278A2B277   TASHA        CHAMBERS                     DC     90014622780
96578964497B59   MANUEL       ESPINOZA                     CO     90002509644
96578A19191575   TERESITA     RODRIGUEZ                    TX     90011780191
96579226A91951   MARIA        FUENTES                      NC     90013952260
9657929255B383   SHAWNACI     SMITH                        OR     90013482925
9657948868B175   KIM          SULLIVAN                     UT     90014784886
965795A8672B62   SUZANNE      SCHUMAN                      CO     90014825086
96579653697B59   TERRI        GOMEZ                        CO     90000246536
96579829572B3B   MARIA        NOLASCO                      CO     33071578295
9657B491391599   JAVIER       ALCANTAR                     TX     90012484913
9657B953572B62   JENNIFER     JONES                        CO     90002289535
9658134465B383   DEON         PARKER                       OR     44510003446
96581366772B42   MICHELLE     RAEL                         CO     33018243667
9658154A88B175   CHRISTINA    ROCKWOOD                     UT     90010615408
96581627A91531   DANIEL       REYES                        TX     90005216270
96581A37141243   EMMAU        CROSBY                       PA     90012050371
9658226A35B361   NANCY        DOLOREZ GARCIA               OR     90000202603
9658229495B565   LUIS         PENA                         NM     90011422949
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1770 of 2350


9658242269712B   PATRICIA     WEIR                         OR     90014034226
96582455897B59   DAVE         VIGIL                        CO     39016064558
96582627A91531   DANIEL       REYES                        TX     90005216270
96583182472B62   ROSALBA      ORTIZ                        CO     90002611824
9658359765B548   MIRELLA      RIVERA                       NM     90013715976
9658445368B175   SAUL         RODRIGUEZ                    UT     90001034536
9658489A991521   LUIS         QUIROZ                       TX     90014888909
965862A9997B59   NORMA        ROMERO                       CO     39088302099
96586A12191951   LATASHA      ALSTON                       NC     90010810121
965879A574B588   KENNETH      JOHNSON                      OK     21593859057
96587A7935B383   MICHAEL      MULLEN                       OR     44576780793
96588377A72B3B   DEVON        RELAFORD                     CO     33056323770
96588977A7B444   MARIE        COFFEY                       NC     11032079770
9658897A43164B   ANANZA       JAMES                        KS     90002799704
96588A6A88B175   SIONE        HEIMULI                      UT     90008960608
9658937627B33B   DEBRA        SOTELO                       VA     90002123762
9658967A793755   PAUL         HARBISON                     OH     64553466707
9658BA2172B981   TYRONE       TURNER                       CA     90009370217
9659143A697B59   JASON        CASIAS                       CO     90014764306
96591757472B22   MARY         MACIEL                       CO     33098887574
96591A5655B548   MARIA        GUEVARA                      NM     35094030565
965924A2697B59   MELISSA      SEBRASKY                     CO     39050064026
9659274488B835   SUMMER       VEGA                         HI     90015177448
9659323346B733   CRYSTAL      WARREN                       OR     90014062334
9659443A697B59   JASON        CASIAS                       CO     90014764306
96594472A72B42   MADALYN      JIMENEZ                      CO     33089444720
9659452A172B24   LEWIS        BROOMS                       CO     33051015201
9659494245B383   BRITTANY     LYONS                        OR     90005439424
9659498735B134   MARQUITA     CURLEY                       AR     90013759873
9659522A291399   LAQUATA      WILLIAMS                     KS     90014162202
96595634A97123   HEATHER      DUNTON                       OR     90010996340
96595743972B3B   LAURA        GUEVARA                      CO     33006587439
96595938872B42   MARYSOLA     MENEUDEZ                     CO     90000289388
9659649797B424   DAMINIKUS    MASSEY                       NC     90011274979
96596642A61977   ELSA         BERMUDEZ                     CA     90014696420
9659688594B249   LAURA        STEVENSON                    NE     90003548859
96597598672B22   BEATRIZ      ESTEBAN                      CO     33019015986
965984A8172B22   MELISSA      GIEBENRATH                   CO     90013934081
965989A2651342   STEPHANIE    DENNIS                       OH     66050419026
96598A3138B693   MARIA        ESTRADA                      TX     90014130313
965994AA951396   DONALD       WEST                         OH     90013894009
9659B16114B554   RENA         PHILLIPS                     OK     21594191611
9659B22A291399   LAQUATA      WILLIAMS                     KS     90014162202
9659B474572B56   NORMA        OROZCO                       CO     33046794745
9659B655A55957   EFREN        SOTELO                       CA     90012006550
9659B77365B548   ROBERTA      MAES                         NM     90009077736
9659B777341296   MOLLY        SWORDS                       PA     90013507773
965B136AA41296   GERELLE      MLLER                        PA     90014993600
965B157A155951   EUGENIA      PEREZ                        CA     49042705701
965B17A6897123   ASHLEY       BURTLOW                      OR     90012907068
965B1941891951   DAGOBERTO    JIMENEZ                      NC     90013949418
965B1A97972B3B   CELISA       GALLEGOS                     CO     90008670979
965B229174B554   ROBERTS      FRED                         OK     21550602917
965B2418A3164B   ADASHA       EVANS                        KS     90014624180
965B252947B444   LISA         SINGLETON                    NC     90015025294
965B256598B175   WENDY        DAVIS                        UT     31043225659
965B26A857B26B   JAMES        LAUVER                       AZ     90013046085
965B2787755951   ANTHONY      JOHNSON                      CA     49000097877
965B2822741296   KALEIB       ODEN                         PA     90012508227
965B327655B383   NAOMI        ETTA                         OR     90014812765
965B3432972B56   JOEL         MARROQUIN                    CO     90011774329
965B3A73472B24   TAMISHA      JOHNSON                      CO     33066290734
965B3AA918B175   LAURIE       MCKNIGHT                     UT     90014790091
965B4289377537   PABLO        SANCHEZ                      NV     90014172893
965B4526A5B383   LETA         HOBBS                        OR     90004825260
965B54A165B531   LILA         CASIAS                       NM     90008044016
965B5575671964   JOHN         THOMAS                       CO     90007855756
965B577353B382   SOSTENES     PRIETO                       CO     90011347735
965B588818B175   QUANNAH      ZAHONY                       UT     90014438881
965B58A7291531   DEMETRIO     HANTZOPULOS                  TX     90008458072
965B5957A72B56   ANGEL        RUIZ                         CO     90013009570
965B5A88A91521   DIANA        MORALES                      TX     90000150880
965B6168955957   ANGEL        RODRIGUEZ                    CA     90010721689
965B696A772B2B   NOWERINA     NAKAYIZA                     CO     90000429607
965B734A35B531   KELLY        KING                         NM     90008933403
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1771 of 2350


965B76A9772B24   JOSHUA        WOOD                        CO     90014646097
965B774415B361   MORGAN        SUTTON                      OR     90011217441
965B784675B548   MICHELLE      MINGURA                     NM     35029018467
965B7867561977   NEYDIN        SANDOVAL                    CA     90003768675
965B816748594B   JOSHUA        WIDENER                     KY     90010341674
965B819117B444   JOVAN         ABRAMS                      NC     90013891911
965B8817A5B548   GEROGE        ARAGON                      NM     90012808170
965B898A491399   OSCAR         SIGALA                      KS     90007899804
965B912986B984   ROJELIO       VASQUEZ                     NJ     90011111298
965B9A12791521   PATRICIA      MILLARD                     TX     75039290127
965BB31253164B   TERRY         ROSS                        KS     90014783125
965BB334891951   MANUEL        BOTELLO                     NC     90014513348
96611234597B59   TINA          WAINWRIGHT                  CO     90012132345
966112A5591521   ANA           ARROYO                      TX     75071652055
966115A752B229   LAUREN        WILLIAMS                    DC     90012475075
9661193388594B   KAREN         NORRIS                      OH     66009699338
9661242517B444   JOHNETTA      WALKER                      NC     90001174251
96612485872B56   DESTINE       NEWMAN                      CO     90014164858
96612A8A855957   ANGEL         MENDOZA                     CA     49058860808
96613392A72B24   MICHELLE      HARLESS                     CO     90012303920
96613422A5B383   JENNIFER      DURKIN                      OR     90014704220
9661396995B548   GABRIELA      NERI                        NM     35076979699
96613A86421832   JERAMIAH      BURGER                      MN     90015430864
96614139372B32   GABRIELA      ALBA                        CO     90011181393
96614947A72B3B   SYLVIA        JOHNSON                     CO     33089319470
9661522A65B383   CHARLESTON    GATES                       OR     44583302206
96615294972B32   SONIA         MORALES                     CO     33095392949
96615786697B59   JOSE          AVALOS                      CO     39058197866
9661612395B361   JASSIM        AL MARRIKHI                 OR     90014881239
966162A5591521   ANA           ARROYO                      TX     75071652055
9661637375B548   MARCUS        DIANIA                      NM     90010163737
966167A4372B3B   DAVID         STEEHLER                    CO     33015947043
9661751A597123   CHRISTINA     SOTO SANCHEZ R              OR     90014685105
9661785515B531   MICHELLE      LUNA                        NM     35014928551
9661841375B353   STEVEN        BRACKENBROUGH               OR     90007894137
9661882896B984   CONSUELO      MORALES                     NJ     90009468289
96618A39572B3B   ALAN          FULLER                      CO     33037410395
96618A79291599   CARLOS        GONZALEZ                    TX     90009130792
96619385972B3B   TRAVIS        VANCE                       CO     90007663859
96619487772B56   DAVID         BENSON                      CO     90014164877
96619A21131474   TANISHA       BLOCKER                     MO     90007420211
9661B457697123   BRENDA        JOHNSON                     OR     90004824576
9661B727977537   DENNA         SMOUT                       NV     90012607279
9661B794891531   FRANCISCO     RANGEL                      TX     90014937948
9661BA64655957   HERLINDA      VANG                        CA     90011190646
9662128A44B588   ALLAN         WOOD                        OK     90005612804
966229A6877537   MONIQUE       SEE                         NV     90001179068
9662321A355957   MAXIMINO      HERNANDEZ                   CA     49098592103
96623423572B32   PAUL          CRIHFIELD                   CO     90012164235
9662424358594B   OTONIEL       PEREZ-GONZALEZ              KY     66072602435
96624367897B59   JOSE          LOPEZ                       CO     90014773678
96625376A5B383   JESUS         FARFAN                      OR     90013183760
96625598A72B24   JESSYCA       MILLER                      CO     33009045980
96625777176B53   PAOLA         CRUZ                        CA     46084167771
966259A2655957   JOSE          MORALES                     CA     90014999026
96625A99872B62   MARIA         LEDESMA                     CO     90012950998
96626465172B42   SANTOS        EDITH-GALLEGOS              CO     33067934651
96626A29272B3B   SHAYLA        HILLIPS                     CO     90012420292
966273A3497123   MARIBEL       HERNANDEZ CARMONA           OR     44085163034
966275A2972B62   MARIA         ALCANTAR                    CO     90010475029
9662783723164B   DAVID         FLEMING                     KS     90012868372
9662843795B383   TACIA         CAMPBELL                    OR     90011604379
96628895972B22   NORA          SALAS                       CO     90000888959
9662931162B958   RENE          MALDONADO                   CA     90015243116
96629331572B3B   JULIA         BANUELOS                    CO     90012483315
966296AA18B175   AYALA         NANCY                       UT     90014786001
96629A3894B588   MYCHAEL       HARDING                     OK     90003750389
96629AAA15B548   MARIA         SANCHEZ VALDIVIEZO          NM     90010480001
9662B44467B444   KANENTI       BEY                         NC     90003794446
9662B493961977   BLANCA        RUIZ                        CA     90013054939
9662B49758594B   MELBOURNE     CORETT                      KY     90006694975
9662B586872B24   WALTER        WILLIAMS                    CO     33059995868
9662B635272B62   ALEJANDRINA   OJEDA                       CO     90010106352
9662BA14472B22   MICHELLE      RASMUSSEN                   CO     90015160144
966315A3497B59   ANGELO        MONDRAGON                   CO     90014765034
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1772 of 2350


9663184583B39B   CHARLES      VALLANDINGHAM                CO     90004998458
9663241518B175   KELLY        JESSICA                      UT     31090504151
96633675772B62   KATY         MARTINEZ                     CO     90011906757
9663376614B588   REGINA       ASHLEY                       OK     21501687661
96633A5495B229   CRISTINA     STOTTMANN                    KY     90014810549
966346AA18B175   AYALA        NANCY                        UT     90014786001
966359AA68594B   JANET        CRADDOCK                     KY     90011949006
96635A58272B3B   CRYSTAL      GIRON                        CO     33015160582
96635A88697123   MICHAEL      PAMPLIN                      OR     90013620886
96635A9338594B   JANET        CRADDOCK                     KY     90014580933
9663648A85B394   STEVEN       SMITH                        OR     90006324808
96636864397B59   CHERYL       KORDICK                      CO     39014468643
9663713A45B361   NICK         TOWNSEND                     OR     90015091304
96637889897B59   LUIS         CISNEROS                     CO     90013158898
96637A56491531   NATALIE      MARINES                      TX     90005600564
966381A7772B42   MIGUEL       GUERRERO                     CO     90004961077
96638A42256349   ANGELA       STICKEL                      IA     90014670422
96638A62241296   JASMINE      MOORE                        PA     90014800622
96638A82A8594B   TRAVIS       NOLAN                        KY     90014690820
9663923517B444   GERALDINE    BYERS                        NC     11071702351
9663927495B548   JOSIE        GONZALES                     NM     35096262749
96639327172B56   KALLI        BUENO                        CO     33033733271
9663952428594B   AMANDA       SIZEMORE                     KY     90015195242
9663997412B865   CHRISTY      MYERS                        ID     41080189741
9663B82764B554   LILLIE       ARMSTRONG                    OK     90005448276
9663BAA7872B22   MORRIS       LINDA                        CO     90009930078
9664142A38B175   JESUS DOMI   GONZALEZ                     UT     90000574203
96641499A72B56   JEFFREY      EVANS                        CO     90014164990
9664162A991951   VICTORIO     HERNANDEZ                    NC     90010466209
9664165643B385   ROQUE        BARRAGAN                     CO     90013066564
966421A2172B22   ALEJANDRO    VELAZQUEZ                    CO     90008631021
96642354172B24   YOUN SUN     GAITAN                       CO     33005703541
966436A414B554   ROLPHEAL     LOCKHART                     OK     90011166041
966438A9772B62   ALVARO       FIERROS                      CO     90014998097
9664411615B268   SUSAN        THOMAS                       KY     90013021161
966444A7572B22   NATHANIEL    FITZPATRICK                  CO     90014754075
96644577472B24   MIGUEL       FRANCO                       CO     90004155774
96644744372B3B   YVETTE       MARTINEZ                     CO     33012767443
9664565A65B383   TRACY        MC LAIN                      OR     44509916506
9664589A197B59   LUIS         SERRANO                      CO     39049308901
96646496797B59   REYEZ        MARTINEZ                     CO     39040294967
9664754715B531   COREY        AGUILAR                      NM     90014895471
9664758A697B59   ALFONSO      TOVAR                        CO     90011615806
96648517497B59   KEVIN        MOORE                        CO     90012185174
966486A3972B3B   JOHNNY       TORRES                       CO     90004656039
96649A55272B22   JONATHAN     LUNA                         CO     90012970552
96649A7858B175   RYAN         CRAIG                        UT     90002290785
9664B6AA18B175   AYALA        NANCY                        UT     90014786001
9664B767372B22   SUSANA       ALDAZ                        CO     90015167673
96651A32872B3B   ZACHERY      LEE                          CO     90010950328
96651A79672B62   JILL         WHITEHEAD                    CO     33047280796
9665227597B444   LUBY         PALMA                        NC     90014052759
96652618572B56   RHONDA       HOFFMANN                     CO     33071426185
96653517672B56   MARIA        ALBAREZ                      CO     33067565176
9665361598B175   ANAKIN       DAWSON                       UT     90014786159
9665368137B444   COURTNEY     R                            NC     90014286813
96653682272B2B   ALEXANDRIA   WATTERWORTH                  CO     33068816822
9665383A83B391   ABEL         REGINO                       CO     33065188308
96653A1548B138   DEBRA        ZIMMER                       UT     90010770154
96653A32891531   JESUS        RONQUILLO                    TX     75046830328
9665446752B981   ADRIANA      CHIA                         CA     90005684675
9665471228594B   DANIELLE     MCQUEEN                      KY     90013387122
9665523AA5B531   DENISSE      DOMINGUEZ-GARCIA             NM     90014782300
966553A8191531   AQUIRRE      STEPANIE                     TX     90013083081
96655A39272B24   LATOYA       MCKINNEY                     CO     33024320392
96655A7385B531   ANNA         MARQUEZ                      NM     90013830738
96656272A97B59   LUBIA        FERNANDEZ                    CO     90014782720
9665627328B134   PRISSILLA    RIPPEE                       UT     90013512732
9665669485B531   LISA         MARTINEZ                     NM     35013636948
9665674858B175   BRET         HUTCHINGS                    UT     90011967485
966567A365133B   JUAN         TORRES                       OH     90012457036
9665711495B548   CLASRISSA    CHAVEZ                       NM     90015091149
9665719138B175   ALICIA       KESLER                       UT     90004261913
9665722A872B56   JOSE         DELGADE VEGA                 CO     33064712208
96657327A97B59   JAMIE        BEACH                        CO     39006313270
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1773 of 2350


9665739483147B   CHIQUITA      BROWN                       MO     90013963948
96657878672B24   HELENA        DEHERRERA                   CO     90011378786
96657A14572B83   MONIQUE       TUGGLE                      CO     90011040145
96658162472B56   MARY          MAJEKODUNMI-AKINREMI        CO     90004211624
96658376272B22   GREGG         WOODCOCK                    CO     90011243762
96658421797B59   ROCHELLE      GARCIA                      CO     90014774217
96658592A5B531   SYLVIA        JARAMILLO                   NM     90013145920
96658A2215B531   SYLVIA        JARAMILLO                   NM     35087530221
96659699A77521   JUAN CARLOS   LOPEZ                       NV     90011776990
9665976297B444   CHLOE         MEDINA                      NC     90010477629
9665979A54B554   ERICKA        BULOCK                      OK     90010347905
9665981315B378   HUGO          MARTINEZ                    OR     90013038131
96659AA3472B22   KORSHIE       HART                        CO     90012820034
9665B411355957   NUVIA         MATA                        CA     90013794113
9665B814791599   PAULINA       GUILLEN                     TX     90012978147
96661421797B59   ROCHELLE      GARCIA                      CO     90014774217
96661914A4B565   EDWARD        HILL                        OK     90005719140
9666199A661977   JESSICA       SHROUDER                    CA     90012229906
96661A65955957   JOHNNY        CLEARY                      CA     49005950659
96662225972B3B   TRISHA        KIMBLE                      CO     33097512259
9666255555B548   SONIA         THOMPSON                    NM     35086295555
96663856672B24   MA DEL        VALLES                      CO     33028068566
9666393645B361   ARTURO        LOPEZ                       OR     90013249364
96663A19872B42   JOSHUA        TRUJILLO                    CO     90008970198
96664288672B32   JEREMIAH      ALBERT                      CO     90013682886
96665619A72B56   CLINT         BUNTYN                      CO     90014646190
9666591235B548   LOLA          ELIBARRI                    NM     35027279123
96666878172B62   CLARENCE      SENA                        CO     90013198781
96667332172B62   JESUS         TORRES                      CO     90009243321
9666739A957125   ANTONIO       HENRIQUE                    VA     81067043909
9666773817B345   AGAPITO       MEDRANO CASTRO              VA     81038797381
9666823164B554   WILNESHA      ANDERSON                    OK     21540392316
9666868918B345   CHARLES       MCKENZIE                    SC     90014086891
966688A265B548   JAMES         TIMMONS                     NM     90012058026
9666959914B554   CHRISTY       SAMPLE                      OK     21590455991
9666962358594B   LINDA         PRUENT                      KY     90002096235
96669A7A172B24   JAMES         ZIEGLER                     CO     90012770701
9666B127772B56   ANNETTE       CASIAS                      CO     33039451277
9666B2A5272B3B   JANICE        NAVE                        CO     90013482052
9666B445977537   YURI          ANDRADE                     NV     90008964459
9666B45215B361   CARY          DEHNE                       OR     90012904521
9666B96124B588   JUAN          FRANCISCO                   OK     21549999612
96671335672B62   JASON         THOMAS                      CO     90000793356
9667148425B531   ANNA          TRUJILLO                    NM     35004494842
96671815372B22   MARIA         BARRERA-MORALES             CO     90010398153
9667184365B383   GREGR         KINCAID                     OR     90010058436
9667362575B361   REBECCA       CUYLER                      OR     90000426257
9667431428594B   JUSTIN        LOUDEN                      KY     90000143142
96675292A3164B   WILLIAM       CLITES                      KS     90002522920
96675551972B22   ALIX          MAYFIELD                    CO     33014725519
96675A1529712B   ATENOGENES    VIEYRA                      OR     90010780152
96676219A5B361   ROLANDO       RIOS                        OR     90007982190
96676329872B56   IMELDA        CRUZ                        CO     33083013298
96676497472B32   GUADALUPE     VALLEJO                     CO     90009014974
9667652525B383   ANGELA        MCMAHAN                     OR     44521195252
9667782235B548   LORRAINE      SANCHEZ                     NM     90013638223
96678157872B56   JONATHAN      OSBORNE                     CO     33053021578
9667824375B545   PAUL          GONZALES                    NM     90006522437
966782A7172B32   JUDY LYNN     WOLCOTT                     CO     33036532071
9667852168594B   JOSPEH        LLOYD                       KY     90014275216
9667852933164B   ROCHELLE      LESTER                      KS     22042085293
966789A4A77537   SHAWN         KOFFLER                     NV     90007889040
96679571597B59   MANUEL        SANTOS                      CO     39090375715
9667B15327B444   RUTH          ZESATI                      NC     90005961532
9667B534772B24   MARIO         RAMIREZ                     CO     90010485347
9667B7A5655957   PHIA          XIONG                       CA     90004197056
9667B8A734B522   CYNTHIA       ROBINET                     OK     90003478073
9668128865B361   JAQUELINE     FITZPATRICK                 OR     90009072886
96681582A8B175   KAMI          MERRILL                     UT     90010105820
96681778A72B3B   ABEL          UCAN                        CO     90001577780
96682452272B56   CECILIA       ECHEVERRIA                  CO     90012464522
9668313258594B   JORGE         GARCIA                      KY     90007891325
96683927197B59   KOLTYN        SCHUESSLER                  CO     90009019271
96683A61272B42   SUSAN         GUTIERREZ                   CO     33056720612
9668434A75B548   PHILIP        BACA                        NM     90012433407
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1774 of 2350


9668453A172B56   MANUEL             ZAMARRON               CO     33087845301
96684763372B24   DEVIN              JOHNSON                CO     90011297633
966847A3191951   ALEJANDRO          CRUZ ALVAREZ           NC     90013957031
96684A81272B24   TANYA              SCHAFFER               CO     90008750812
966852A3377537   CRISTINA           CAMACHO                NV     90013322033
96685516A91599   JESSICA            MONTES                 TX     75038555160
9668556438B175   LETTICIA C         GUTIERREZ              UT     90012425643
9668577976B984   JORGE              CABRERA                NJ     90013957797
96686329A72B51   GREGORY            HARGROVE               CO     90007053290
96686396272B24   SERGIO             DIAZ                   CO     90013233962
9668669823164B   DIANE              HASKINS                KS     22005196982
96686728A8B597   JOSE               PITAYO                 CA     90014217280
9668682775B361   JOSE               HERNANDEZ              OR     44582178277
966869A3572B22   LENNY              COLE                   CO     90010779035
96686A12691521   NANCY              GONZALEZ               TX     90014890126
966874A725B383   NDIFRKE            EDET                   OR     90007604072
966879A3472B22   VALENTE            GONZALES               CO     90014049034
966883A4461977   EDGAR              SOLIS                  CA     90013833044
96689419A91399   SU                 MOUA                   KS     90014994190
9668996A55B361   AMBER              HERMAN                 OR     90015079605
9668B565597123   STEVEN             WALKER                 OR     90010395655
9668B947761977   MILISSA            SANCHEZ                CA     90004049477
9668B953572B22   PADAM              SHARESTHA              CO     90004049535
9668BA28591399   LISA               MANN                   KS     90008250285
96691227472B32   EDUARDO            FLORES                 CO     90000152274
96691868572B62   DICKY              KUSUMA                 CO     90012778685
96691A9462B981   MARIA              CHAVEZ                 CA     90005740946
9669224924B949   ROBLEDO            CASTILLO               TX     90000822492
96693136A5B361   ALEXANDER          POOR                   OR     90013481360
9669364628B175   MARIO              CHAHIN                 UT     90014786462
96693A5638B158   ORVILLE            GARDNER                UT     90012390563
9669416978B597   MARTHA             ANGEL                  CA     90014401697
9669423965B531   NELLIE             LENTE                  NM     90012622396
96694878A77537   VIOLA              RAMIREZ                NV     90013888780
9669495135B361   JENNIFER           JACOBS                 OR     90010199513
9669548184B588   CLAUDE AND LINDA   WASHINGTON             OK     90006734818
9669575A491526   JOSE               URANGA                 TX     90013427504
9669577A872B62   FERMIN             MOLINAGALARZA          CO     90011827708
966958A8593755   KEYTA              CAMP                   OH     90007588085
9669594778594B   GREGORY            GRIFFITH               KY     90012599477
96696622A8594B   JESSE              WEHRMAN                KY     90014076220
9669664698B175   STACEY             MULLEN                 UT     90014786469
96696891A91599   MARINA             MENDOZA                TX     75079098910
9669719855B531   HILDA              GOMEZ                  NM     90013671985
966981A1891399   MARIA              GUERRERO               KS     90015121018
96699391A72B42   JUANA MARIA        LUNA                   CO     90004463910
966994A4677537   RYAN               ALFORD                 NV     90011264046
96699955672B51   RAVEN              MOETTE                 CO     90001479556
9669B166A5B361   VERONICA           PLIEGO                 OR     44516851660
9669B1A3A93755   LATASHA            KNIGHT                 OH     90004241030
9669B212A72B24   CHATA              ARELLANO               CO     33021482120
9669B641955957   AIOTEST1           DONOTTOUCH             CA     90015116419
9669B991261456   DAVID              HENSON                 OH     90015089912
9669BA57884346   SONIA              COBIN                  SC     90005860578
966B11A1772B56   TIFFANY            MEDINA                 CO     33098251017
966B1629672B22   BESSY              CALDERON               CO     33096136296
966B1792672B62   PRESTON            DENNING                CO     90013897926
966B1891A91599   MARINA             MENDOZA                TX     75079098910
966B193AA93755   KELLY              STONE                  OH     64566229300
966B1A23291399   MARK               GONZALES               KS     29078050232
966B2758477537   MIKE               SIMONS                 NV     43056117584
966B2837372B24   DENISE             BRISTOL                CO     33012028373
966B28A5572B56   CLAUDIA            KOPRINOCK              CO     33097138055
966B335387B444   SHELINA            BOSTON                 NC     90011843538
966B3356491599   LEO                V                      TX     90009873564
966B3484691951   JAVIER             NOLASCO                NC     90015504846
966B384A63164B   CHESTER            IRVING                 KS     90013968406
966B3A1A197123   BENITO             SANCHEZ                OR     44022490101
966B4311291951   JAIME              MARTINEZ               NC     90010253112
966B445A172B22   CARLOS             RODRIGUEZ              CO     90013674501
966B4556255957   MARIA DEL CARMEN   AVILA                  CA     90014445562
966B463545B531   CARLOS             SANCHEZ                NM     90013966354
966B558735B548   NATHAN             PRICE                  NM     35093365873
966B5985161977   CHRISTINA          VAUGHAN                CA     46010479851
966B6129791599   VANESSA            GONZALEZ               NM     75040601297
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1775 of 2350


966B6279472B3B   DORIS           MELGAR                    CO     33093422794
966B62AA391531   OSCAR           NUNEZ                     TX     75051532003
966B6436391951   OMAR            GOMEZ                     NC     90012334363
966B6712461992   MARIA           RAMIREZ                   CA     90012777124
966B6915192825   LEO             FIERRO                    AZ     90014249151
966B6A12855957   SANDRA          YBARRA                    CA     90014080128
966B732278594B   TARA            MCDANIEL                  KY     90013853227
966B7752855957   GERRI           SMITH                     CA     49070307528
966B7769372B56   BABY DOLL       RIFFLE                    CO     90012667693
966B776A48165B   RODOLFO         RODRIGUEZ                 KS     29078227604
966B7794891531   FRANCISCO       RANGEL                    TX     90014937948
966B7936181669   DEBORA          GRIFFEY                   MO     90013169361
966B8392A5B361   JOHN            BECHTOLD                  OR     90013603920
966B857975B383   LORRI           ERICKSON                  OR     90002485797
966B882A877537   AQUILES         TRINIDAD                  NV     90012888208
966B887A28B175   ANDY            NAVARRO                   UT     90013358702
966B8A85572B32   SARA            VALLECILLO                CO     90015180855
966B9561191531   BONNIE          QUINTANA                  TX     75075455611
966B9794891531   FRANCISCO       RANGEL                    TX     90014937948
966B9A64A61977   CHRISTINA       ARECHIGA                  CA     90013860640
966BB187141296   SYLVIA          LANIOUS                   PA     51087261871
966BB23738B175   RIGO            GOMEZ                     UT     90013092373
966BB426277537   AMANDA          LOWREY                    NV     90014994262
966BB998491951   DION            HAYWOOD                   NC     90014159984
96711454772B42   LIDA            TRUIJLLO                  CO     90008394547
967119A7397B59   LUISA           GARCIA                    CO     39078179073
9671216A45B531   MARY            MILLARD                   NM     90004401604
9671253A172B56   IAN             HESLEP                    CO     90014165301
96712747272B3B   PATSY           HAMMONS                   CO     90005517472
96712A84491531   ALFONSO         RODRIGUEZ                 TX     75092490844
9671339435B383   VERONICA        TAPIA                     OR     90014823943
96713487A5B548   CHRISTINA       PADILLA                   NM     35092174870
9671423A97B359   ALIREZA         SAKHAR                    VA     90014142309
96714363572B22   JUAN            LUNA                      CO     90005293635
96714645A91951   MARKESSIO       CROWDER                   NC     90014926450
96714A64355951   CHA             YANG                      CA     90010860643
96716169A5B383   PASSIONATE      WOODS                     OR     44514031690
9671687A377537   MARY ANNE       LA TORRE                  NV     90013298703
96716A24191521   CARLOS          HERNANDEZ                 TX     90014890241
96716A82972B22   SONJA           JONES                     CO     33088790829
96717219172B56   ALEJANDRA       GONZALEZ                  CO     90001942191
96717611A2B236   STEVEN          WILLIAMS                  DC     90010716110
9671762945B383   LAURA           PLAMONDON                 OR     44511206294
96717A24191521   CARLOS          HERNANDEZ                 TX     90014890241
9671874275B548   MICHELLE        REAL                      NM     90008677427
967187A985B383   KATHLEEN        DIESSNER                  OR     44542097098
9671882A672B56   TARIBIO         SAGUILAN                  CO     33051798206
9671899998B175   MARIA           GUTIERREZ                 UT     31079229999
9671929783164B   KIMBER          HARVEY                    KS     90012652978
9671968A797B59   CONNIE YVETTE   MARTINEZ                  CO     90009636807
967197A6461977   OSCAR           GONZALEZ                  CA     90011547064
96719823972B32   SHARON          ENGLEDOW                  CO     33014428239
96719869372B24   ANDREW          MAXWELL                   CO     90002038693
9671993192B877   MARIA           SANCHEZ                   ID     90004099319
9671B17918594B   NATHAN          MONTGOMERY                KY     66011291791
9671B21925B531   DEBBIE          CUSTER                    NM     35038162192
9671B68A772B62   HECTOR          GASCA                     CO     33049326807
9671B974972B22   MARIA           MUNOZ                     CO     33036899749
9671B991577537   LOLITA          THOMAS                    NV     90013919915
9672166985B548   MARGARITA       DUARTE                    NM     90010306698
96721732772B56   REBECCA         HASKIN                    CO     90006487327
96721A26A91521   RAMON           GUILLEN                   TX     90014890260
96722133A97B59   IRENE           SIRRATT                   CO     90002531330
96723243572B22   SHAY            ESTESQ                    CO     90003912435
9672332A972B24   ROBERT          PRICE                     CO     90006703209
9672354375B383   PEDRO           GIL                       OR     90006925437
9672386875B548   IRAM            HERNANDEZ-OGAZ            NM     35079798687
96723A7A38B175   AMI             FITISEMANU                UT     31016930703
9672451A197123   LARRY           SMITH                     OR     90013965101
96724A74977537   NANCY           HERNADEZ REYS             NV     90005570749
9672515A991531   ELENA           PENA                      TX     75023561509
9672545565B548   RAQUEL          PERCIVAL                  NM     35003624556
9672593A391951   CARLOS          VASQUEZ                   NC     17015389303
96726231872B42   ERIN            MC NURLIN                 CO     90000292318
9672641455B361   MAURICIO        PACHECO                   OR     90001864145
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1776 of 2350


9672671217B444   KEYA          JEFFERSON                   NC     90013667121
9672692915B548   BLANCA        GALLEGOS                    NM     35050629291
9672718548B158   HEATHER       NOAKES                      UT     90004551854
96727194197B59   JILL          LOPEZ                       CO     39052621941
96727313A5B531   JESUS         REUTER                      NM     90009413130
9672763194B588   MONIQUE       PEREZ                       OK     21550056319
967279A1872B2B   EVELIA        ESPEJO                      CO     90002299018
96727A5125B548   JOSEPH        SCALA                       NM     90014370512
9672844765B531   DANDRE        MITCHELL                    NM     90011744476
96728514172B42   ANDY          MOGUEZ                      CO     33084905141
96728514A72B32   NORA          SANDRA GONZALEZ             CO     33053905140
96728519597B59   RICHARDSON    QUINTIN                     CO     90014785195
96728544472B24   CHARVAS       THOMAS                      CO     90010485444
9672894A95B531   MELISSA       GALLEGOS                    NM     35070979409
96728A22497123   ERIC          PHILLIPS                    OR     44074030224
96728A4483164B   JOSEPH        VILLARREAL                  KS     90015430448
96729249A72B42   IVAN          PAREDES                     CO     90011262490
9672927318B175   SHANTEL       SMITH                       UT     90010542731
9672976A697B59   AUDREY        KELLEMEYER                  CO     39062587606
9672986937737B   DANIEL        HANEY                       IL     90015328693
96729886A93755   DESHAWNA      OWENSBY                     OH     90011328860
9672B6AA172B62   CELIA         ARAU                        CO     33094026001
96731414172B22   SALVADOR      OLGUIN                      CO     90013934141
9673216263B322   JOHN          FRENCH                      CO     90001711626
96732397772B62   JOE           CASH                        CO     90015003977
9673263558B175   ANTONIO       MONTES DE OCA               UT     90013366355
96732839172B56   NORMA         HERNANDEZ                   CO     90013918391
9673298564B554   STEPHANIE     FREEMAN                     OK     90005449856
9673341335B383   SERGIO        LOPEZ                       OR     90014654133
96733462872B62   ESMERALDA     CASAS                       CO     33017044628
967334A545B548   MARIA         MENDEZ                      NM     90015114054
9673376412B885   JULIE         CLEMONS                     ID     42080717641
9673498564B554   STEPHANIE     FREEMAN                     OK     90005449856
967353A3385851   ROGER         KOHLBECK                    CA     90012203033
96735923272B24   ANTONIO       FIGUEROA                    CO     90013049232
96735996A41296   MICHELLE      ERNY                        PA     90013769960
96736616A51338   CHERYL        ROACH                       OH     90001406160
96736869772B56   LOPEZ         ELMA                        CO     33017518697
9673714545B548   JOSEPH        DORN                        NM     90013901454
967378A2672B56   SANDRA        RUIZ                        CO     90012668026
96737A1A491399   MARVIN        PORTILLO                    KS     90003710104
96738365672B62   ADELAIDA A    MARCAIDA                    CO     33097773656
96738A11693732   SUZIE         LAMBERT                     OH     90003310116
96738A9425B361   KAYLENE       VARNEY                      OR     90000240942
96739577772B56   FELIPE        MONTALVO                    CO     90014425777
96739A22972B22   JONATHAN      OLSON                       CO     90012820229
9673B178597B59   DAISY         RIVAS                       CO     90010441785
9673B657391521   SARA          OCHOA                       TX     90010526573
9673B68518B175   LINDA         SALAZAR                     UT     31051806851
9673B7A7391951   JOY           HEDGEPETH                   NC     17024677073
9673B822177537   SOLIA         BALDIZON                    NV     90013578221
9673B993A5B548   BERNADETTE    LONG                        NM     35033759930
9673BA1AA86B63   WANDA         COLON                       CT     90014270100
967412A785B531   MANUEL        ARELLANO                    NM     90013482078
967413A9372B32   COOLEY        JOHN                        CO     90009013093
96741785A61977   MARIELA       PEREZ                       CA     90011117850
967419A7172B56   WILLEBALDO    COLLADO                     CO     90012159071
9674257A65B531   DENNIS        TAYLOR                      NM     90013015706
967425A4591828   MIGUEL        OITEGA                      OK     90002605045
9674319518B175   REBECCA       AIONO                       UT     90014801951
967438A2391599   JORGE         GARCIA                      TX     90012828023
96743A4517B444   WILLIAM       TEAQUE                      NC     90012120451
9674435825B344   SHAUNA        LEERS                       OR     90012213582
9674482A791599   CHRISTOPHER   JIMENEZ                     TX     90007958207
96744A19972B24   LORENA        RIVAS                       CO     90013260199
96745884272B24   ESPERANZA     DOMINGUEZ                   CO     90012778842
96745A23872B22   NORMA         MATA                        CO     90012820238
96745A3814B267   KURT          LARSON                      NE     90015110381
96746597372B32   BUEKNER       KANEA                       CO     90012555973
9674689A95B548   JOSE          CARILLO                     NM     90012188909
9674692225B548   CELOTILDE     FERNANDEZ                   NM     35035309222
96747499A41296   TRACEY        JENNINGS                    PA     51091584990
96748245572B56   RAFAEL        GUTIRREZ-CASTANEDA          CO     33091372455
96748727272B62   SPRUELL       WILLIAM                     CO     90006977272
96748AA9791521   CELIA         MARTINEZ                    TX     75016320097
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1777 of 2350


96749A23472B56   NIKORA         SHELLMAN                   CO     90011010234
96749AAAA72B24   STEVEN         MEYER                      CO     33005970000
9674B541855999   KEENA          MARTIN                     CA     90002805418
96751291672B56   JOE            HERNANDEZ                  CO     90012802916
96751654A91521   ADRIAN         CASTILLO                   TX     90010686540
96751A42485B45   SOPHIA         YOUNG                      FL     90012040424
96751A4738B175   DAVIS          RYTTING                    UT     90014790473
9675222757B444   DIVONE         JAMES                      NC     90014692275
96752347997B21   BRIANNA        BELL                       CO     90010763479
9675376135597B   ANGELIC        CAPOZZI                    CA     90012607613
96753A5237B471   MANUEL         AMIGON JR                  NC     90006230523
9675432A991521   MIRIAM         VARGAS                     TX     90013623209
96754577972B2B   JANEY          GRENZ                      CO     90014045779
9675467888B175   SILVIA         DEAQUINO                   UT     90014786788
9675483978B175   TONIA          MILLER                     UT     31014838397
96754A1167B491   DAVID          CAULDER                    NC     90010850116
967555A545B383   D AMICE        FRAZIER                    OR     90001465054
9675567888B175   SILVIA         DEAQUINO                   UT     90014786788
967556A4797B59   CHARLES        STASKEL                    CO     90014786047
96755A57472B32   MARIA          CORTES                     CO     33049430574
9675656617B444   ANDRES         RAMIREZ                    NC     90013615661
9675759915B361   TRACY          HUTSELL                    OR     90010935991
9675765A472B62   LIZETTE        RAMIREZ                    CO     33081156504
9675794364B554   TENYSHA        GREEN                      OK     21519449436
96757A1265B177   CAMESHA        MEREDITH                   AR     90005810126
96757A83777537   ISESHA         FOX                        NV     90015040837
9675995647B444   AMP ARO        LOPEZ                      NC     90013929564
9675B521172B3B   MARIA          CRUZ                       CO     90012815211
9675B8A2561977   KELLY          RAMSEY                     CA     90005038025
96761113A91531   VANESA         CARNONA                    TX     90005621130
9676118AA5B361   ALFREDO        MARTINEZ                   OR     44522661800
9676169375B531   JUAN           AVILA                      NM     90014826937
96762733272B56   KATERI         ORTIZ                      CO     90001587332
967627A4172B42   JORY           WALKER                     CO     33095297041
967628A4841296   HEATHER        GOVENKIS                   PA     90011188048
96763296372B32   JOSE           WILFREDO MIRA              CO     90009232963
967632AA15B531   ANTHONY        GUTIERREZ                  NM     90012792001
9676337985B361   GREGORY        LILLY                      OR     44570283798
96763536572B32   HAYLEY         FIGUEROA                   CO     90012145365
9676361147B444   GUADALUPE      TORRES                     NC     90011726114
9676369168B175   MARIA          ESPITIA                    UT     31025556916
9676398733B358   MARIA          MONTENEGRO                 CO     90008899873
96763A23491399   ALVINA         ORTEGA                     KS     90012980234
96764355572B3B   CARLOS         CARHUAMACA                 CO     90013723555
96764359772B56   DANIEL         BERKOWITZ                  CO     33002513597
9676446945B383   AURELIO        LOPEZ                      OR     90013184694
9676489387B444   MICHAEL        ROBINSON                   NC     90012168938
96765523A55957   JENNIE         CARDIEL                    CA     49066285230
96765977A91599   VANESSA        HILL                       TX     90000409770
96766399A91599   UNKNOWN        ALICIA G COL0RADO          TX     75028723990
96766434A2B98B   TERESA         GONZALES                   CA     90006774340
96766873272B22   OCTAVIO        VALENCIA                   CO     90004778732
96766A29A5B383   PETER          FRANTZ                     OR     90007720290
9676719318B175   MIRIAM         SALTO                      UT     31026491931
96767553A5B531   JESUS          CHAVEZ                     NM     90011895530
96767859997B59   DARRIN W       LONG                       CO     90004908599
96767A2992B958   JODI           LEE                        CA     90003900299
9676811765B361   JANET          FOULKES                    OR     90013741176
9676824834B588   DEWAYNE        CONWAY                     OK     21549172483
967683A8372B42   ZOBEYDA        FLORES                     CO     33013613083
9676858228B158   ROBERT         DOLLEN                     UT     31081445822
96769113A97123   ANTHONY        FISHER                     OR     90014881130
967692AAA4B263   TERRY          DUNAWAY                    NE     90000552000
96769871172B42   ROSA           ARCINIEGA                  CO     33096818711
9676B293897123   JERRY          SHELDON                    OR     44086182938
9676B62435B531   ERELYS         RIVERO                     NM     35089756243
9676B824472B24   MARIANA        VALENCIA                   CO     33076618244
967715A9277537   YUKI           FIGUEROA                   NV     90011545092
967722A5872B62   HECTOR         FLORES                     CO     90012762058
96772465397B59   VICTOR         LUCIO                      CO     90014914653
9677422985B548   HERMENEGILDO   VILLALOBOS                 NM     90003302298
96774A42772B56   KRUSTAL        BELLENDER                  CO     90001430427
96774A64391531   ERNESTINA      MACIAS                     TX     90010770643
9677538A84B558   EUGENE         FRIAS                      OK     90006423808
9677583A151342   OHMAR          GIBSON                     OH     66090628301
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1778 of 2350


9677594627B444   MARIA ELEN   ALVAREZ                      NC     11073809462
9677631688B175   JASWANT      KAUR                         UT     31070173168
96776568972B24   MARTHA       ARREOLA                      CO     90012575689
967765A2772B3B   TYLER        WILFRED                      CO     90013225027
9677722655B383   KELLIE       GOODWIN                      OR     90001782265
96778242572B3B   RONALD       COLLINS                      CO     90001902425
967782AAA91521   MARCELA      ARANDA                       TX     90014902000
96778321A72B56   YANET        VAZQUEZ-SERRANO              CO     33081003210
9677857235B537   CHARISSE     COOK                         NM     90012335723
9677897278B175   EVA          RAMIREZ                      UT     90006789727
96778A78472B32   KYLE         HANZE                        CO     90003790784
9677923617B444   AARON        SHIPP                        NC     11089482361
9677936A28B175   JOHN         ARCHULETA                    UT     31067823602
9677938A84B558   EUGENE       FRIAS                        OK     90006423808
967795A294B554   DAVID        PHILLIPS                     OK     90006165029
96779713772B24   CODY         DUFFY                        CO     90014467137
96779974372B3B   BRIAN        ABEYTA                       CO     90010869743
96779A57397B59   CATHENINA    LEWERKE                      CO     90009100573
9677B5A5A5B548   LIZBET       CARRASCO                     NM     90011365050
9677B765291521   IRIS         MARRUFO                      TX     90010527652
9678151AA72B42   PARADA       OCHOA                        CO     33064275100
9678152288B166   BRAD         PETERSEN                     UT     90005545228
96781A64491521   YAMELL       RAMIREZ                      TX     90014890644
9678268A697B59   LAURA        TENORIO                      CO     90008726806
9678279814B588   SHARON       CONWAY                       OK     21549177981
9678284945B361   KYLIE        MOORE                        OR     90014938494
96782A64491521   YAMELL       RAMIREZ                      TX     90014890644
96783188772B3B   JASON        PADILLO                      CO     90000531887
96783583672B32   ALBERT       JOHNSON                      CO     90007625836
967836A925B361   RALPH        ABRARIA                      OR     44512076092
9678449A58594B   SHERRY       TILLINGHAST                  KY     66052404905
96784623172B24   BORIS        COCHAJIL                     CO     33091746231
967846A1672B22   DONNA        TATRO                        CO     90013356016
96785315933B21   BILLIE       MARTHA                       OH     90013303159
9678563395B548   BARBARA      MCCOY-CAMPBELL               NM     35078926339
96786566172B56   ROSHONDA     GERTIE                       CO     90014165661
9678658667B444   PORCIA       GATTLING                     NC     90013775866
9678676835B383   GARY         COFFMAN                      OR     90010197683
96786A63472B22   JEAN         MONTES                       CO     90003470634
96786A66A91521   LEODEGARIO   ADAME                        TX     90014890660
9678711324B588   RESHINDA     PERRY                        OK     21584511132
96787224897B59   BRIAN        SNEIDER                      CO     90014792248
96787599172B56   IVAN         HERNANDEZ                    CO     90014165991
9678767A95B361   CHELSEA      MOORE                        OR     90015156709
967876A164B554   SHEENA       PERRY                        OK     90005596016
96787A66291521   DANIEL       SIGALA                       TX     90014890662
96788516272B62   CHRIS        BARELA                       CO     90002675162
96788538A5B531   OLGA         MUNIZ                        NM     35022855380
96788664472B3B   ABIGAIL      JOHNSON                      CO     33077506644
96789919A61982   REUBEN       HERRERA                      CA     90007919190
9678993A291951   REYNA        CASTANEDA                    NC     17040149302
9678995585B531   MARTY        VIGIL                        NM     90011099558
9678999A991521   MARGARITA    GURROLA                      NM     90010529909
9678B7A2561977   JAMAL        SHIVERS                      CA     90010817025
9678B888A97B59   DONALD       HOUSTON                      CO     90015088880
9678B999172B42   GREGORY      CRAWFORD                     CO     33029769991
9678BA64491521   YAMELL       RAMIREZ                      TX     90014890644
9678BA86A55999   SUSAN        MILLER                       CA     90010320860
9679161843B358   RANJA S      MAJEED                       CO     90012046184
96791639A5B361   RICARDO      RODRIGUZ                     OR     90010936390
96791A69291521   MARIA        SANDOVAL                     TX     90014890692
96792581972B42   LENRIE       ASUMADU                      CO     90001575819
96792A69291521   MARIA        SANDOVAL                     TX     90014890692
9679362A972B42   YANIRA       AYALA-ROMERO                 CO     33080156209
96793939772B56   VICTOR       CESPEDES                     CO     33098739397
96793A56151342   DARIEN       MATTOCKS                     OH     66042920561
96793A69291521   MARIA        SANDOVAL                     TX     90014890692
96794455A31469   MICHAEL      JONES                        MO     90007894550
96794786372B29   CHRISTIAN    MARTINEZ                     CO     90011807863
9679488628B175   VAILLETI     CEGERS                       UT     90012748862
96794A1A993755   JOEL         CALDWELL                     OH     90012930109
96794A55191599   JOSE         AMPARAN                      NM     90014910551
9679513626B17B   KAVON        RATLIFF                      MS     90014371362
96795A2A591399   ADRIANNA     RODRIGUEZ                    KS     90014910205
96795A66597123   JOSE         FERNANDEZ                    OR     90001030665
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1779 of 2350


9679686455B361   SILVIA        HERRERA                     OR     90013298645
9679733A272B62   GEORGE        GOTTMANN                    CO     33017463302
9679791727B444   LASANDRA      ASAMS                       NC     90014769172
96797A4738B175   DAVIS         RYTTING                     UT     90014790473
9679852428594B   AMANDA        SIZEMORE                    KY     90015195242
9679912735B383   EGBEVADO      ANAMOUKO                    OR     90009801273
96799664672B56   MARIE         TOLEDO                      CO     33053436646
96799AA5A72B24   EUGENIO       MARTINEZ                    CO     90014880050
9679B11324B588   RESHINDA      PERRY                       OK     21584511132
9679B16463B322   CALVIN        ROBINSON                    CO     90006851646
9679B238A97B59   JOSEPH        BENAVIDEZ                   CO     90014792380
9679B47665B383   VALENTINA     GUDEV                       OR     90007604766
9679B5A2A5B361   SHARON        GARCIA                      OR     90015175020
9679B76767B444   DOMINIQUE     THOMPSON                    NC     90010717676
967B124A75B548   GALLEGOS      MICHELLE                    NM     90013532407
967B1735297123   GRISELDA      CASTILLO                    OR     90009607352
967B2452972B24   GABRIEL       RAMOS                       CO     90014774529
967B264698B175   STACEY        MULLEN                      UT     90014786469
967B3125A97B59   GEORGIANN     ROMERO                      CO     90012521250
967B34A2A61977   GLADYS AYON   JASON LIRA                  CA     90012384020
967B3887691531   JOSE          QUINTANA                    TX     90014938876
967B3924955957   JESUS         BENITIEZ                    CA     90012169249
967B3AA8497123   FRANCISCO     CERVANTES                   OR     90013450084
967B4276255957   ANGELICA      GAMEZ                       CA     90009832762
967B4349855932   JORGE         LANDEROS-LEON               CA     90014473498
967B4581197123   HEIDY         ALTEZ                       OR     90010395811
967B45A9472B3B   JAMES         VALENTINE                   CO     90014885094
967B4937272B62   KRISTINE      GRAY-KIRKLEN                CO     90004839372
967B4963A91951   NORMA         RIVAS-CONTRERRAS            NC     17012079630
967B5125A97B59   GEORGIANN     ROMERO                      CO     90012521250
967B5262691531   VICKY         RAVELO                      TX     90010842626
967B5327A97B59   BROOKS        MICHEL                      CO     90009083270
967B5641955957   AIOTEST1      DONOTTOUCH                  CA     90015116419
967B5792272B56   JOANNA        MENDOZA                     CO     90014677922
967B635A177537   GUADALUPE     MADRIGAL                    NV     43098883501
967B6581497B59   MARK          WRIGHT                      CO     39021755814
967B6677941296   DARRELL       OAKS                        PA     90014816779
967B6A41741296   JOSEPH        KASPER JR                   PA     51006600417
967B7563791951   ALONZO        BOWEN JR                    NC     90010935637
967B771165B383   MARTA         URBIEA                      OR     90008787116
967B8244A72B42   JOSHUA        SPEARS                      CO     90011262440
967B8323A72B32   CHARLES       MARTILLARO                  CO     90013653230
967B88A4991532   SYLVIA        HERNANDEZ                   TX     90013028049
967B8947291599   RICARDO       HERNANDEZ                   TX     90012569472
967B8A24191521   CARLOS        HERNANDEZ                   TX     90014890241
967B8A6728594B   TIM           NUNN                        KY     66017840672
967B9A37472B62   MAURICE       LOPEZ                       CO     33012610374
967BB147455951   EVELIA        CERVANTES                   CA     90008691474
967BB152241296   JESSICA       MARSH                       PA     90013661522
967BB468651342   DOUGLAS       ALLEN                       OH     66043214686
967BB472497B59   MARIBEL       APOLONIO GUERRA             CO     90014824724
967BB532455951   EVELIA        CERVANTES                   CA     90014575324
9681128A791521   MELISSA       HERNANDEZ                   TX     90013732807
9681155A172B3B   LORENA        CERVANTES                   CO     33080865501
9681214A17B444   CALTOARICE    HINKS                       NC     90012261401
9681223258B166   AMY           PEARCE                      UT     90012492325
968123A3393755   MARYANN       FAULKNER                    OH     90010123033
96812984372B42   ROBERT        BONILLA                     CO     90007819843
96813129897B59   BENJAMIN      NOEL                        CO     90003171298
96813136272B56   MIGUEL        ESPINOZA                    CO     90010761362
9681314A68B175   TERESA        WELLS                       UT     90014791406
9681354A23164B   LEO           LEONARD                     KS     90011085402
968138A5A41296   THEA          THOMAS                      PA     90013598050
9681391695B383   MARIA         DE JESUS LASCANO            OR     90012479169
96814295172B32   OLIVER        PATRICK                     CO     90002602951
9681429A25B383   TEPI          EKLEBERRY                   OR     90014542902
9681461A43164B   AMBER         HANCOCK                     KS     22050856104
9681533275B383   JAZMINE       WILSON                      OR     90007883327
96815444972B32   ARICA         JOHNSON                     CO     33070114449
96816369197B59   NATHAN        HUCKFELDT                   CO     90014793691
96816872A91951   EMMA          TORRENTON                   NC     90009468720
9681689663B391   KIRK          NORBLOM                     CO     90009998966
9681756835B531   PHILLLIP      HUMPHRIES                   NM     90009875683
96817893872B32   JESUS         VALDEZ                      CO     90010278938
96818369197B59   NATHAN        HUCKFELDT                   CO     90014793691
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1780 of 2350


9681914628B175   MIGUEL         VASQUEZ                    UT     90014791462
96819647872B3B   GUADALUPE      AVITIA                     CO     90004896478
9681989172B98B   JOSEFINA       LARES                      CA     90009788917
9681B11195B531   FLOR           ORDONEZ                    NM     35073391119
9681B568891521   VALENTIN       DIAZ                       TX     90012995688
9681BA59891531   ADRIAN         SALDIVAR                   TX     90010790598
9682117525B548   LORNA          WILSON                     NM     90002971752
9682135319712B   LORI           FLOYD                      OR     44007813531
9682146418B175   FELICIA        VASQUEZ                    UT     31007414641
9682162287B444   FRANCISCO      MONTES                     NC     90012456228
96821A77633625   JONATHON       WATSON                     NC     90008790776
9682215858B175   LEAH           BILLS                      UT     90014791585
9682241425B548   GLORIA         ARMENTA                    NM     90015054142
9682319635B531   JOHNSON        GENEVIEVE                  NM     35091771963
9682381543164B   SUMMER         OWENS                      KS     90002158154
96823A9172B981   LAUREN         HERNANDEZ                  CA     90005870917
9682453185B548   LYDIA          AUTHEMENT                  NM     35036485318
96825281372B32   MICHELLA       ZEILISKO                   CO     90013852813
96825364A7B444   SHEILA         ALEXANDER                  NC     90008643640
96825442672B62   AZALEA         MUNOZ                      CO     90001894426
968254A315B361   MARLE          ACKERMAN                   OR     90013194031
96825543972B22   ERIK           GILLESPIE                  CO     90007345439
96825886772B3B   LOUIE          REYES                      CO     90012058867
968268A8872B22   LINDA          ARINIEGA                   CO     90012448088
9682694245B361   LUZ SELENE     LOPEZ-PIMENTEL             OR     90010039424
9682697425B531   MARGARITA      CRUZ                       NM     90000639742
9682698675B383   CASSIE         DORFLER                    OR     90013709867
9682718828B175   JHOANNA        HERNANDEZ                  UT     90014791882
96827A18391399   GUSTAVO        PEREZ                      KS     29063670183
9682855755B548   ANGELIC        VILLALOBOS                 NM     90005655575
96828A99672B22   PHILMORE       MCKENIZIE                  CO     33094670996
968292A178B175   FARREL         NEILSON                    UT     90014802017
9682B574672B56   LUIS           ARGUETA                    CO     90014165746
9682B865672B93   MIKE           ZINK                       CO     33061958656
9682B8A4155957   JANELL         RAMIREZ                    CA     90001548041
9682BA11972B3B   KASEY          GERRISH                    CO     90000330119
968311A8291521   ARMIDA         HERNANDEZ                  TX     90014891082
9683127845B548   WANDA MARIA    SAIZ                       NM     90011052784
96831462372B56   TRICINDA       JENKINS                    CO     33096974623
96831712497B59   STEPHANIE      SCHROERS                   CO     90014797124
96832352A97B59   DWIGHT         BOLDT                      CO     90007983520
968329A318594B   FREDA          OSEI-PARKER                KY     66040639031
968333A685B531   REANNA         SANCHEZ                    NM     90006383068
96833577172B56   FERNANDO GIL   DUARTE                     CO     90014165771
9683394634B249   KATIE          HAUPTMAN                   NE     26092909463
9683399434B949   CHAD           PERKINS                    TX     76522579943
96833A3318594B   BRIAN          HALL                       KY     66075940331
96833A6725B548   VICTOR         VILLALOBOS                 NM     90008920672
9683447A597B59   RITCHIE E      PENDLAY                    CO     90003164705
9683499739182B   MICHAEL        CROSS                      OK     90006429973
96834A27991599   TERRY          READ                       TX     90001480279
968351A3772B24   CHARLENE       REED                       CO     90011281037
9683535495B548   REINALDO       DELEON                     NM     90008973549
96835578172B56   ALEX           WRIGHT                     CO     90014165781
96836674472B56   CLAUDIA        POOLER                     CO     33049806744
96836A3A672B22   CARIN          CLUSE                      CO     90014380306
968375AA591399   SAMUEL         BROWN                      KS     90012525005
96837989472B22   ARNULFO        GOMEZ                      CO     33076929894
96838266297B59   SHEAFFER       STEPHEN                    CO     39074232662
9683828615B383   GREGORYANA     MORRIS                     OR     90014812861
9683829888594B   EVAN           LAWRENCE                   KY     90014822988
9683836145B531   VALERI         CHAVEZ                     NM     90014873614
9683856978594B   ROBERT         REYNOLDS                   KY     90013025697
9683888234B588   JESSICA        MILIA                      OK     90010308823
9683B148691951   ENRIQUE        RIVAS                      NC     17066791486
9683B282591599   JAVIER         RAMIREZ                    TX     90009512825
9683B28675B548   MONICA         PEREZ                      NM     90009412867
9683B784672B22   QUINTAN        MCKENNA                    CO     33076057846
9683BA94593755   LAKUAWN        NEWLAND                    OH     64529140945
9684125618594B   JASON          BARROW                     KY     90008672561
9684153185B548   LYDIA          AUTHEMENT                  NM     35036485318
968421A393164B   KYLE           WILLIAM                    KS     90012061039
96842873272B22   REBECCA        MOORE                      CO     33026588732
9684362948594B   LEACHA         TURNER                     KY     90013986294
9684372163B38B   JESUS          LUEVANO                    CO     33097257216
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1781 of 2350


96843816A72B24   BRENDAN       CALHOUN                     CO     90014428160
96844A36951533   ANCELMO       MOLINA                      IA     90014010369
96845568772B24   BOOM          JACKSON                     CO     90009875687
96845788272B56   LIZETH        TORRES                      CO     90011777882
968462AA272B42   RAUL          MORALES                     CO     90009022002
96847141572B3B   GARY          ELLIS                       CO     90013931415
9684752448594B   EMILLY        GOINES                      KY     90008995244
96847734A72B42   JENNIFER      REARICK                     CO     90011547340
96847887A72B56   MARIA         LUNA                        CO     90015208870
9684791717B444   EBLIN         CASTRO                      NC     90005329171
9684837617B444   SHATAVIA      BARNETT                     NC     11009733761
968483A2372B32   EDUARDO       BADILLO                     CO     90004913023
9684853793B335   MORGAN        HUNT                        CO     90010455379
96848589872B56   JESUS         AGUILAR                     CO     90014165898
968485A8672B62   SUZANNE       SCHUMAN                     CO     90014825086
96849757172B32   SILVIA        CHAVEZ-VERDUGO              CO     33025587571
96849827172B3B   VERONICA      FLORES                      CO     90002638271
96849A47A55957   IGNACIO       GUTIERREZ                   CA     90012840470
96849A54A72B22   JESSICA       SYKES                       CO     90012820540
96849A9834B588   GRACIELA      LANE                        OK     90001540983
9684B43348B175   ANTONI JOSE   DU                          UT     90015024334
9684B844172B22   JOHANNA       WELCH                       CO     33031988441
96851582172B56   ANDRES        PERES                       CO     90014425821
968524A357B444   VERNARD       JONES                       NC     90004384035
96853593172B56   MARIALUISA    DELE GARZA                  CO     90014165931
968535A3291399   DEIDRA        BLOCK                       KS     90012205032
9685432A772B24   CASEY         EICHENAUER                  CO     33097573207
96854386772B3B   SALVADOR      FELIPE                      CO     90002653867
9685447855B361   JAMI          BOEN                        OR     44547764785
96854A43A72B22   ANGELINA      DAVILA                      CO     33093070430
96855282A8B175   MONIQUE       MENDOZA                     UT     90014792820
96855481372B62   JEFFREY       PETERSON                    CO     90013614813
96855673172B24   MARVIN        GAULE                       CO     90011886731
9685584424B554   SALENA        SUNDE                       OK     21524228442
9685584533164B   OSCAR         LOPEZ                       KS     90012218453
968568A6372B62   JAE           LIM                         CO     90011898063
96857282A8B175   MONIQUE       MENDOZA                     UT     90014792820
96857682397B59   TERESA        CALDERON                    CO     90014796823
96857887A72B56   MARIA         LUNA                        CO     90015208870
96857A69591951   EBONY         PAUL                        NC     90013890695
96858338A31952   ROMAN         SCHULZ                      IA     90014233380
9685837415B383   KALIE         CAGLE                       OR     44521273741
9685839995B548   MONCE         SOLIS                       NM     90006353999
968594A237B444   CECIL         LLOYD                       NC     90005604023
9685984A751342   JENNIFER      STOVER                      OH     66009648407
96859856172B62   ANDRES        MAGANA                      CO     90009298561
9685B227391521   MAYBLE        VILLA                       TX     90014682273
9685B258397B59   JENNIFER      MARTINEZ                    CO     90014802583
9685B398591521   TANIA         LICON                       TX     90004493985
9685B752672B32   NOREEN        ROMERO                      CO     90014547526
9685B97357B444   RITA          JACOBS                      NC     90006859735
9686146515B531   ANDREW        MONTOYA                     NM     35016704651
9686247A277537   KARINA        MONTANO                     NV     90015214702
96862939672B56   LORENA        PEREZ                       CO     33091179396
9686294655B548   ALVIN         TODACHEENE                  NM     90005619465
96863143472B32   NICHOLAS      AARAGON                     CO     33092221434
96863162A8B175   AGUSTIN       RAMIREZ ALARCON             UT     31096801620
9686319A455957   MANUELA       MOLINA                      CA     90009141904
968635A9472B56   MARY          VAN VALKENBURG              CO     33005955094
96864258397B59   JENNIFER      MARTINEZ                    CO     90014802583
9686447465B548   FRANCISCO     ARAGON                      NM     35025314746
96864629172B3B   TERRIE        PATINO                      CO     33060806291
9686472A83164B   LATISHA       HAMM                        KS     90012347208
9686497A472B24   MICHELLE      MARQUEZ                     CO     90012149704
9686583264B554   MISTY         WALKER                      OK     90001238326
96865A79297123   WANDA         JACKSON                     OR     44005140792
96866374172B56   VIRGINIA      GIBSON                      CO     33033383741
96866A76991399   ZACHARY       COURTNEY                    KS     90011510769
9686732943164B   BRITTANY      DUNN                        KS     90012733294
9686793425B383   DANNY         GRAGG                       OR     44515169342
9686835465B361   SANTA         FERNANDEZ                   OR     90008813546
9686845945B333   CHRISTOPHE    DYE                         OR     90001714594
9686858518B175   DEZERAE       SHARPE                      UT     90005405851
968685A3491951   JOSE          VERASTEGUI                  NC     17063655034
96869359697B59   TIMOTHY       HELMAN                      CO     90014803596
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1782 of 2350


96869798372B62   RODNEY        LEWIS                       CO     90012377983
9686B241397123   ROGELIO       SAINZ                       OR     90012042413
9686B52428594B   AMANDA        SIZEMORE                    KY     90015195242
9686B716591531   SARA          PEREA                       TX     90010217165
9686BA49493732   NEICY         NEICY                       OH     90001730494
9687187275B361   SEAN          TIMMONS                     OR     90014938727
96871A5428B175   WILLIAM       DAMIAN                      UT     90015120542
96872177672B3B   RANDI         DELACRUZ                    CO     90013071776
9687245185B531   VANTRESE      CHAVEZ                      NM     90011154518
96872918272B56   ISAIAH        JIRON                       CO     90013389182
96873212A97B59   REBECCA       MURRAY                      CO     39033032120
96873385872B56   JULIA         ARELLANO                    CO     90009243858
96873413772B32   SHANELLE      LOPEZ                       CO     33071434137
96873953572B22   LETICIA       GASPAR JUAREZ               CO     33007319535
96874A25497B59   JOHN          TOFOYA                      CO     90012990254
96875657372B32   LETICIA       SANTANA                     CO     90013386573
96876329A3164B   TED           ENSIGN                      KS     22009623290
9687751A476B52   SUSANNA       AARON                       CA     90008405104
968775A618B175   MIKE          VINA                        UT     31075485061
96878653A97123   BLANCA        GUZMAN                      OR     90013276530
96879678772B56   JOHN          GILMORE                     CO     90010436787
9687B1A8777537   DEIDRA        ANGLEY                      NV     43087561087
9687B224372B3B   PHILLIP       MANCUSO                     CO     90014032243
9687B22819374B   ANYA          COOPER                      OH     90001142281
9687B267872B42   RICK          REITHER                     CO     90002372678
9687B71A47B444   ROGER         WHITE                       NC     90013867104
9687B752341296   CORRIE        YANKO                       PA     90010307523
968818A2177537   ALBERT        CERVANTES                   NV     90012998021
96882246A76B53   BALDOMERO     HARNANDEZ                   CA     90013972460
9688234A397123   RAYMUNDO      CELESTINO CORTEZ            OR     44067223403
96882357572B62   PARWATI       DARJEE                      CO     90015313575
96882A25661977   ROXANNE       MOODY                       CA     90009460256
96883222272B3B   ROCIO         ARELLANO                    CO     90003482222
968833A1A72B22   JANET         BOAKGE                      CO     90001993010
96883774772B32   MIKE          RIOS                        CO     90010677747
9688483425B361   ERICKA        WALDEN                      OR     90014408342
9688514215B361   LIZA          GUERRERO                    OR     44506341421
9688531A797B59   OMAR          VALIENTE                    CO     39033963107
96885668172B33   ROBERT        DEGENNARO                   CO     33059986681
9688573A472B22   ALLYSON       HOSELTON                    CO     33004797304
9688758A741296   DAVID         JABLONSKI                   PA     90004965807
9688797A755957   PHILLIP       MARQUEZ                     CA     90008089707
96887A49493755   TRINA         ELLINGTON                   OH     90014230494
96888146897B59   DAVID         CANO                        CO     90007981468
96888354172B3B   MAYRA         DURAN                       CO     90014103541
96888A16A72B62   MARTHA        QUINONES                    CO     33013820160
96888A34397123   JANET         HUNT                        OR     44034500343
96889664997B59   ELIZABETH     SNYDER                      CO     39091296649
96889827672B56   JESSE         GEMME                       CO     90011778276
9688B111391399   KIANA         HODGES                      KS     90012511113
9688B32592B894   MICHAEL       WILLIAMS                    ID     42081383259
9689121A25B361   CHRISTOPHER   MESSENGER                   OR     90014692102
96891537A72B62   PATTERSON     DONNA                       CO     33072445370
9689186A955985   NICK          O                           CA     90007808609
968928A6191521   NELLY         LOZOYA                      TX     75083198061
9689367775597B   SONIA         MONTANTO                    CA     90005926777
9689427665B531   AMANDA        GONZALES                    NM     35023832766
9689457A272B3B   JENNIFER      AGUIRRE                     CO     90008025702
96894844172B32   LUCIA         ARMENTA DE CASTILLO         CO     33000568441
96896638A72B24   STEFANIE      BLACKBURN                   CO     33071536380
9689691158594B   SAM           VEITH                       KY     66002119115
96897326A5B361   ATHINA        SCAMARONE                   OR     44584513260
96898134A91399   BRYCE         COPELAND                    KS     90009301340
968981A555B383   GRAFFER       DEAN                        OR     44532991055
96898352972B56   JOSE          DELGADO                     CO     33047073529
96898532872B62   JOSEPH        GALLEGOS                    CO     90008575328
9689878558594B   ANGELA        HOKINS                      KY     90006897855
96898877472B24   ANTONIO       ORTIZ                       CO     90012918774
9689892848B175   BRIANNE       BUTTERFIELD                 UT     90014039284
96899282672B56   LINDSAY       FOURNIER                    CO     90013232826
9689978168594B   GEOGRE        ILES                        KY     90014157816
9689B288A5B383   JAMES         MOORE                       OR     90014812880
9689B445155957   EDWARD        MARTIN                      CA     90013794451
9689B6A1672B62   EROKA         THURMAN                     CO     90003096016
9689B75194B949   ANTONIO       GABRIELA                    TX     90001937519
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1783 of 2350


9689BA14291521   VERONICA     JARAMILLO                    TX     75074540142
968B124375B531   COLLEEN      BURKE                        NM     90005852437
968B1824891951   ALMETTA      DAVIS                        NC     90004818248
968B183877B444   IVONNE       AZUA                         NC     90014158387
968B1A7798B175   PAYGO        IVR ACTIVATION               UT     90014790779
968B2159641296   TIM          WINSTON                      PA     90012601596
968B321358B169   SAMMIE       STAM                         UT     31063612135
968B3A25972B42   MIRANDA      HOFER                        CO     90009790259
968B4162391531   JORGE        HERNANDEZ                    TX     90006011623
968B437553164B   TIFFANY      DAVENPORT                    KS     90002713755
968B4392751342   ANTHONY      LOUIS                        KY     90009123927
968B4498691599   EDELMIRA     MARTELL                      TX     75091824986
968B456645B548   JORGE        SOTELO                       NM     90010045664
968B4691991951   ESTER        BELTRAN                      NC     17094486919
968B5322697B59   ERIN         WILSON                       CO     90014793226
968B545A572B62   LORI         HERNANDEZ                    CO     90006864505
968B5535372B3B   JOSE         PORTILLO                     CO     90010215353
968B5552577537   SANDRA       ZAMORA                       NV     43051025525
968B6336491599   JUAN         MORENO                       TX     90014593364
968B678AA8B175   MARIA        MENES                        UT     90014607800
968B69AA491951   SHEILA       PERRY                        NC     17074389004
968B6A66A91521   LEODEGARIO   ADAME                        TX     90014890660
968B711785B383   EULICES      IBARRA                       OR     90009121178
968B7119572B32   JUDITH       PRIMERO                      CO     33089571195
968B721415593B   LUZELENA     CAOILE                       CA     48064992141
968B778618594B   MICHELLE     HAAS                         KY     90010317861
968B7859991531   LETY         VELASQUEZ                    TX     75093738599
968B7998977537   JOANA        HICKS                        NV     90008189989
968B8127A8B175   DANNIELLE    HINES                        UT     90014791270
968B8597672B99   BRITTANY     MILLER                       CO     90010375976
968B8661893755   THOMAS       RICHARDSON                   OH     90012256618
968B8686455947   DEBORA       ROMERO                       CA     90001996864
968B8887A72B56   MARIA        LUNA                         CO     90015208870
968B8A66291521   DANIEL       SIGALA                       TX     90014890662
968B9341591599   FRANCISO     YZAGUIRRE                    TX     90014963415
968B9482773261   CARA         KING                         NJ     90012184827
968B9A26391951   UDOCHUKWU    NKWAZEMA                     NC     90009350263
968BB4AA54B949   LINDA        WHITTE                       TX     76537704005
968BB583291599   MARIO        ESCARCEGA                    TX     75090975832
968BB69A361977   MEGRA        TEKLU                        CA     90014576903
968BB8A765B548   LAURA        RAMIREZ                      NM     90012268076
968BBA27772B42   HECTOR       BARON                        CO     90012600277
9691178865B548   MICHELLE     GALLEGOS                     NM     90003007886
96911853272B56   DURON        FRANCISCO-JAVIER             CO     90011778532
9691193AA93755   KELLY        STONE                        OH     64566229300
9691237235B531   SHANDA       FURRU                        NM     35074643723
96912765672B62   RAYMUNDO     RAMIREZ                      CO     90012477656
96912954472B24   KYLIN        BEEDE                        CO     90013159544
96912A1A177537   JUAN         RODRIGUEZ                    NV     43027440101
96912A1A472B32   CLAUDE       RIDLEY                       CO     33092170104
96913455872B24   BLANCA       CORRAL                       CO     90012904558
9691473A972B62   KIMBERLY     CHAVEZ                       CO     33083937309
96914998672B32   SALVADOR     CHAVEZ                       CO     90010259986
9691515252B98B   MIGUEL       PINEDO                       CA     90011541525
9691646A18B175   DOUG         HAYES                        UT     90014794601
96916474A5B361   ALEX         VILLATORO                    OR     90010734740
9691678868594B   SARAH        NAPIER                       KY     66041627886
96916811872B56   PATRICK      BRENNAN                      CO     90012668118
9691688895B383   RICHARD      KLIMEK                       OR     44573378889
9691863285B383   DENISE       PATTERSON                    OR     90001646328
9691872385B361   APRIL        THORSEN                      OR     90010107238
969188A3572B32   KATRICE      BAILEY                       CO     90011458035
96918999298B32   NATALIA      SANTANA                      NC     90011319992
96918A2A291951   RICHARD      DRAYTON                      NC     90015030202
96918AA2222926   SHANTEL      BELL                         GA     90015090022
9691929385B361   KRISSTINA    WRIGHT                       OR     90000132938
9691938657B444   LISA         SEWELL                       NC     90007003865
9691941A891951   KATESHA      MIKELL                       NC     90012074108
9691945483164B   NICOLE       DAVIS                        KS     90011344548
96919618772B56   RAUL         RAMIREZ                      CO     90014166187
9691B34155B531   JEREMY       JONES                        NM     90006113415
9691B359297123   TERRI        WILSON                       OR     90014603592
9691B494397B59   KENIA        MERAZ                        CO     90011694943
9691B756291399   BRITTANY     LESTER                       KS     90014627562
9692129655B548   JASON        HEAD                         NM     90005562965
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1784 of 2350


9692195363164B   MELISSA         DRAPER-BRUNNER            KS     22075209536
96922147172B32   BOB             CARMES                    CO     33024581471
9692231162B262   SHANEQUA        GLOVER                    VA     90011553116
9692251915B548   MARIA           ZARRAGA                   NM     90000485191
9692343848B128   XAVIER          RILEY                     UT     90007814384
9692359955B531   JOSEPH          SERNA                     NM     90014515995
9692366343B361   LOU             GRUBIN                    CO     33053466634
96924716172B56   MARIA           PAYAN                     CO     33016727161
96924953597B59   ERENDIDA        VEGA PEREZ                CO     39034039535
96925248372B3B   CODY            OCHIUZZO                  CO     90014712483
96925328497B59   SARAH           RAYA                      CO     90014933284
969266A678B175   JODI            STEFFENSEN                UT     31001456067
9692686117B444   DAIZHA          DANCY                     NC     90014758611
96927273A5B548   ABEL            ZAMORA                    NM     90011502730
9692756928B175   DAVID           MARTINEZ                  UT     90006895692
9692773A172B22   IVAN            CASTILLO                  CO     33058537301
96927785672B56   CHRISTINE       DREYER                    CO     90007427856
96927A3A691599   DANIEL          VEGA                      TX     90006590306
96928254872B22   JOSE            LUNA                      CO     90015212548
9692855A321929   FREDERICK       FRANK                     IN     90015365503
96928A78297123   LILIANA         MENDEZ                    OR     44098310782
96929415A72B22   CIRILO          VIALPANDO                 CO     90015114150
9692973A65B383   ANTHONY         WHITE                     OR     90009077306
9692B224291521   YVETTE          ALVAREZ                   TX     90014902242
9692B26A55B531   LORRAINE        GONZALES                  NM     90012562605
9692B446841296   MARK            BRAXTON                   PA     90013264468
9692B979197123   BLANCA          ESTELA                    OR     90014339791
9693132728B175   MARISSA         ROSE                      UT     90014113272
9693134A35B361   JOSE            GUZMAN                    OR     44526453403
96931919A93755   DWIGHT          LEWIS                     OH     90010219190
9693221747B444   JEREMIAH        BALLARD                   NC     90013872174
9693224525B383   CHERIE          MATHEWS                   OR     90014942452
969324A8155951   COCHISE         DAVIS                     CA     90009954081
9693295632B981   ERICA           AGUILAR                   CA     90005989563
9693315687B32B   VICTOR          VASQUEZ                   VA     90003751568
96934A3468B175   LYNETTE         PERRY                     UT     31012460346
9693553A172B62   MARY            GORDILLO                  CO     33070235301
96935A9112B869   CINDY           RADAVICH                  ID     41006010911
96936512272B62   QUINTIN         DARBY                     CO     90012675122
96936867972B56   MARIELA         GONZALEZ                  CO     90011778679
96937219A72B22   KENDRA          AGUIRRE                   CO     90000722190
9693753A691521   MARIA           INIGUEZ                   TX     75093945306
9693769A841296   KIMBERLY        HOLMES                    PA     51097306908
9693856A672B32   HUGO            SANCHEZ                   CO     90014865606
9693932995B355   RANDY M         HARPER                    OR     90003883299
9693B419541296   KELLY           SUMMERS                   PA     51074874195
9693B51673164B   JAMES           MCCLAIN                   KS     22089835167
9693B51998B175   KESLEY          LAROSE                    UT     90014795199
9693B7A2693723   BREONNA         JONES                     OH     90000367026
9693B966191531   JORGE LUIS      ACOSTA                    TX     75026009661
96942354A97B59   CILFFORD        MCCOY                     CO     39088503540
9694244898B136   RYAN            FORD                      UT     90010584489
96942752472B32   CHRISTOPHE      SANCHEZ                   CO     33025577524
96942871272B56   MARCO           TORRES                    CO     90011778712
96942A48491531   JESSICA         CARLOS                    TX     75032220484
96943557572B56   LARISSA         GARCIA                    CO     90002635575
96943635672B56   JACOB           KARTES                    CO     90014166356
96943A56291951   APRIL           WEBBER                    NC     90014490562
969442A754B588   KANETTA         ALEXANDER                 OK     90008692075
9694459A172B3B   JOSE            PATINO                    CO     33040465901
9694495867B444   MYRTLE          MEANS                     NC     90014559586
969452A415B531   CIHUATL         GONZALES                  NM     35091282041
9694533612B981   NANCY           LOPEZ                     CA     90005993361
9694538717B444   RONALD JOSEPH   SMITH                     NC     90013083871
96945565372B62   TIMOTHY         ESPINOZA                  CO     90013915653
9694558A52B981   NANCY           LOPEZ                     CA     90013495805
9694651145B361   PROSPERO        CRUZ-MORALES              OR     44558045114
9694656668B175   MARGARETTA      GRECO                     UT     90014795666
969466AA691531   MONICA          BELTRAN                   TX     90010636006
96946834672B24   MEGAN           PORTALES                  CO     90011298346
96946A4A861977   REBECCA         CALDERON                  CA     90013790408
96947844172B32   LUCIA           ARMENTA DE CASTILLO       CO     33000568441
96947A7495B531   SANDI           PRECIADO                  NM     90011370749
9694823A461992   ROCIO           LOPEZ                     CA     90007022304
96948336197B59   MARIO           BEECHER                   CO     39002693361
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1785 of 2350


96948971772B62   ROCIO         CORTEZ                      CO     33090309717
96948A37872B42   GORDON        SCOTT VOEGTLIN              CO     33095300378
96949287272B22   GAMA          NDONGALARI                  CO     33054742872
9694945424435B   CRYSTAL       SANTIFUL                    MD     90009734542
9694976729712B   MARK          SANDERS                     OR     90007007672
9694B178797B59   JERRY         NICHOLS                     CO     39016591787
9694B228497123   GUILLERMINA   SIERRA                      OR     90013792284
9694B23815B531   REBECCA       PEET                        NM     35005972381
9694B3A7772B62   NICO          ARROYO                      CO     90004943077
9694B547391521   RIGOBERTO     DURONSLET                   TX     90010535473
9694B561655957   VIRGINIA      JONES                       CA     90014865616
9694B843A5B361   SANDRA        MAYES                       OR     90012758430
9694BA6A27B444   LAZARO        AGUIRRE                     NC     90015080602
969515A7655951   MILAGROS      ROCHA                       CA     90009285076
9695181785B361   JOHN          BARRAGAN                    OR     90011218178
96951839772B56   YOLANDA       VIALPANDO                   CO     90015058397
9695193928594B   SANDRA        LILLIE                      KY     90012529392
96952712272B21   WILLIAM       WRIGHT III                  CO     90000377122
96952A8944B588   VICTOR        DIAZ                        OK     90000480894
9695382355B326   JUANA         GUZMAN CASTRO               OR     90013498235
96954234A41296   KIM           OMALLEY                     PA     90009622340
969544A8761977   ROBERTO       BERUMEN                     CA     90010674087
96954536872B3B   BEVERLY       FIDRAM                      CO     33029325368
96954A51991531   MARISSA       FRANCO                      TX     90011800519
9695547195B383   KRYSTA        SIBERZ                      OR     90014474719
969562A3741296   MONICA        SCOTT                       PA     90015052037
9695765354B588   JESSE         WALTON                      OK     90001536535
96957917597B59   LAURA         FINLEY                      CO     90012979175
96958578A8B175   FERNANDO      RINCON                      UT     90014795780
96958842472B56   JOHN          HOOPES                      CO     90014578424
9695885A361977   MICHAEL       SOTO                        CA     90004508503
969593A915B531   ARDIS         THOMAS                      NM     35069213091
9695997485B548   ANDRES        CHAVEZ                      NM     90013409748
9695B144741296   DAVID         MCGUIRE                     PA     51048621447
9695B269872B56   JOSE          CRUZ                        CO     33039762698
9695B71827B444   HANNAH        HERBERT                     NC     11007977182
9695BA89A7B429   RODRIGO       HERNANDEZ                   NC     90010550890
969611A8797123   SHELLI        KERN                        OR     90013521087
969614A6741296   NETRA         RIMAL                       PA     90011954067
9696188A497123   RYAN          SNOOK                       OR     90011018804
9696218755B361   CAMILLIE      STORM                       OR     90010871875
969621A8472B3B   JASON         GARCIA                      CO     90006461084
9696225935B531   NAJEB         ZEYAEE                      NM     90011402593
9696258A972B22   ANGELO        SWAGERTY                    CO     90015005809
9696312A155934   WYNDOM        WESTCOTT                    CA     90012041201
96963221A7B444   TALEIA        BUSH                        NC     90014812210
9696437968B187   LARRY         HANSEN                      UT     31083863796
9696437A672B62   ROSA          RUIZ                        CO     33046793706
96964A78744346   SHANINE       WARNER                      MD     90004450787
96964A88372B42   ANDREA        GIRON                       CO     33083980883
9696515175B548   KEVIN         CALDWELL                    NM     90013961517
9696665535B548   ALBERTO       OROZCO                      NM     35086996553
9696666617B444   BRIAN         BULLOCK                     NC     11063396661
9696683564B588   JAON          STINER                      OK     21508418356
969673A1697123   JOSE          BRAVO                       OR     44043963016
9696741425B361   KRYSTEN       MCCALL                      OR     90008124142
96967493772B22   IGNACIO       RUIZ                        CO     33017024937
96967718A72B32   JACKI         MONSIVIAIS                  CO     33082027180
9696858248B175   CHARLENE      HALL                        UT     90014795824
96969526872B32   DANNY         BASS                        CO     90014625268
96969587372B62   MIKE          MIN                         CO     90008675873
96969837272B24   NICHOLAS      SALTZMN                     CO     90011298372
96969A16572B42   MATTHEW       MORRIS                      CO     90007430165
9696B57818B175   SIERA         BRAND                       UT     90014795781
9696B831872B24   JEOVANY       CALDERON                    CO     90012478318
9696B871291521   IRMA          RODRIGUEZ                   TX     90014668712
9697119854B588   EDWIN         GOMEZ                       OK     90004191985
9697152574B588   EDWIN         GOMEZ                       OK     90011735257
96971578172B24   ALEX          WRIGHT                      CO     90014165781
96971638672B56   LEE           BLUM                        CO     90014166386
9697179818B175   REINA         MIGUEL                      UT     31040747981
969718A4155957   JANELL        RAMIREZ                     CA     90001548041
9697263A461977   MARGARITA     KASTLIE                     CA     90012006304
9697285AA97123   MATTHEW       KHONGPHOU                   OR     90012908500
9697367717B444   YANNARA       TORRES                      NC     90015096771
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1786 of 2350


96973A27893732   RICH DINER        RICH BEATS              OH     64543480278
969748A4472B56   MARIA DEL ROCIO   CASAS-HERNANDEZ         CO     90010638044
9697495335B548   ANITA             QUEZADA                 NM     90010269533
9697532684B588   ALESHA            DAVIS                   OK     21556773268
9697561195B531   LARRY             SANTILLANES             NM     90010766119
9697573379712B   HECTOR            LOYA                    OR     90004917337
9697582132162B   SEINNA            MUNOZ                   OH     90014138213
96976688297B59   HEATHER           MONSEES                 CO     90011696882
96978214472B32   LESA              CHADWICK                CO     33045002144
96978A27155925   JULIANA           XIONG                   CA     90013260271
96978A74872B22   VERONICA          CONCHAS                 CO     90012820748
96979843272B56   TAVIS             MYERS                   CO     90014698432
96979A6A355957   CHRIS             GOLDIE                  CA     90004390603
96979A88A91399   LARAISHA          JHONSON                 KS     90012790880
9697B24A87B389   NELSON            MARTINEZ                VA     81002292408
9697B6A9691521   JOSE              MARTINEZ                TX     75089566096
9697B974141296   SURINDER          VASHISHT                PA     90014069741
9697B98774B554   CLARENCE          STEVENS                 OK     21531069877
9698112355B531   SALENA            ARAGON                  NM     90012431235
96981523872B62   GENOVEVA          HOLGUIN                 CO     33014165238
9698155427B444   LINDA             MAKI                    NC     11014635542
96981683297B59   GUSTAVO           HEREDIA                 CO     90014816832
96981759672B93   BROOK             MARIE                   CO     90009837596
969818AA655946   JUAN              DIAZ                    CA     90007698006
9698197355B361   MARISSA           DOTSON                  OR     90011629735
9698244753148B   SAIMON            TESFAMARIAM             MO     90010774475
9698262A272B24   MANUEL            GARCIA                  CO     33004616202
96982A93597B59   DONA              BURBACK                 CO     39004610935
9698336835B383   ARIDAHI           VELARDE                 OR     44584363683
9698339518594B   KIMBERLY          GEBHARDT                KY     90013173951
969836A5397123   SANDI             LINK                    OR     90015176053
969842A4972B22   LINDA             GOMEZ                   CO     90004642049
96984321572B56   DANIEL            LOPEZ GUERRA            CO     90006153215
9698484875B548   TRIXI             MARIE-PHAL              NM     90013328487
96985118A2B958   SAYDE             HERNANDEZ               CA     90000971180
9698575378594B   SHEILA            BERNING                 KY     66085587537
9698738415B361   MARK              LEO                     OR     90008583841
969878A5193755   KENNY             SIMPSON                 OH     64516928051
969883A4991521   LETICIA           VALDEZ                  TX     90014903049
969894A5A5B548   MICHELLE          CELZO                   NM     35090764050
9698962738B175   JESSICA           MARTINEZ                UT     90014796273
96989AA757B444   DORA              NKASHAMA                NC     90005240075
9698B54A555957   ROBERT            ANDERSON                CA     49096885405
9698B796391399   ALEXIS            SARGENT                 KS     90014587963
96991213397B59   BEN               KUTSCHER                CO     90011982133
9699213575B548   ANDREW            ULIBARRI                NM     90003121357
9699249A95B531   DANIELLE          RODRIGUEZ               NM     90012324909
969926A777B468   CARRIE            CARTER                  NC     90005226077
969928A8497123   JULIETA           ORTIZ ISLAS             OR     90009148084
96993A76A72B62   JANICE            BONILLA                 CO     90003520760
96993A91597B59   DIOCELINA         TERRAZAS-RICO           CO     39052060915
96994554A97123   ELIZABETH         MARTINEZ                OR     90012215540
96994661A8B175   GOVERT            VANDERMEYDEN            UT     31066906610
96995256A97123   ALTON             GRIFFITH                OR     90012922560
9699549915B361   MICHAEL           PAULUS                  OR     90000644991
9699558258594B   ASHLEY            ELLIS                   KY     90010695825
9699592A391531   RODOLFO           ANAYA                   TX     90004259203
96995A23372B22   MARK              BANNAN                  CO     90003840233
9699619A87B444   CHASATEA          WOOD                    NC     90014831908
9699628518594B   TRINA             MARLEY                  KY     66071262851
96996566197B59   JAMI              JURGENSEN               CO     90004995661
969967A7172B24   FRANCELIA         NAVA                    CO     33071547071
9699692A177537   JUSTIN            ROGERS                  NV     90015149201
96997859172B22   ANGELA            ARCHULETA               CO     33046458591
96998373272B32   TERESA            GONZALEZ                CO     90011893732
9699938175B546   CARLOS            VALDEZ                  NM     90003243817
96999421A5B548   JESSICA           MARTINEZ                NM     90014594210
969994A9872B24   LARON             YOUNGER                 CO     33090814098
96999669A93732   ASHLEY            HAYES                   OH     64583646690
9699B17739153B   AMANIE            TORRES                  TX     90013351773
9699B3A4991521   LETICIA           VALDEZ                  TX     90014903049
9699B93412B25B   OLGA              GARCIA                  DC     90008509341
9699BA4375B531   MEGAN             BUTLER                  NM     90014850437
969B1371491599   ISRAEL            HERRERA                 TX     90002683714
969B1541A8B149   JASON             BLAIR                   UT     31014725410
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1787 of 2350


969B15AA172B42   BRUCE        CAPRON                       CO     90008395001
969B1964877537   TRAVIS       ASKINS                       NV     90011269648
969B1979861571   FREDRICK     MACK                         TN     90015209798
969B1A23793755   JOLEEN       NORMAN                       OH     90002530237
969B234218594B   AVERY        GODDARD                      KY     66071953421
969B237885B548   TIFFANY      GARRETT                      NM     35069643788
969B29A825B383   YUDMILA      MACHADO                      OR     90012469082
969B3969391951   SESLY        CHAVIS                       NC     90011499693
969B43A3791521   REBECA       SCALES                       TX     90010533037
969B4466951342   ANTONY       CATLIN                       OH     66042934669
969B4691672B42   SUSAN        MEDICIS                      CO     90001226916
969B6198472B3B   HUNG         MAI                          CO     90010711984
969B6212A3164B   MARIA        PARGA                        KS     22082392120
969B669A855957   ROBERT       STILL                        CA     49092326908
969B6855A91599   ELIZABETH    HERNANDEZ                    TX     75028728550
969B725859137B   BECKY        ETNIER                       IA     90014162585
969B75A7A72B53   NAOMI        GISON                        CO     90013095070
969B783358594B   TIM          MULLINS                      KY     90014158335
969B8A63A41296   MIKE         LUCAS                        PA     90013400630
969B916455B531   COLTON       JONES                        NM     90015241645
969B96A538594B   SHAWNA       LILES                        KY     90011006053
969B9952197B59   JO BETH      HULBERT                      CO     90003169521
969BB353591531   CLAUDIA      SIFUENTES                    TX     90014833535
969BB463277537   ANA ROSA     ROMERO                       NV     90006054632
969BB578372B3B   CRISTINA     NUNEZ                        CO     90013175783
969BB72482B981   HELSA        JAUREGUI                     CA     90005977248
969BB867161977   STEPHANIE    BRUNSON                      CA     46097528671
969BB87852B948   KEYOSHA      ARDERY                       CA     90012518785
96B1127A855978   ALMA         MADRIGAL                     CA     90001922708
96B1129A885689   DANTE        PREZ-ALFONSECA               NJ     90010072908
96B11937133698   NICHELLE     CAUDLE                       NC     12002019371
96B1195248B175   JOSE         MOLINA                       UT     90010029524
96B11A7A391553   IMELDA       MENDOZA                      TX     90010170703
96B12133891521   MANZANO      ADRRIANA                     TX     75000241338
96B12276197123   MARIA        ROMERO                       OR     90005942761
96B1233515B531   LAWRENCE     RAMBES                       NM     90002043351
96B1258312B23B   GARRETT      HOWARD                       DC     81055085831
96B12987893755   RUBY         REED                         OH     64597619878
96B12A4A74B588   CHARLES      HOLT                         OK     90005250407
96B12A67A72B32   DESIREE      ROMERO BENCOMO               CO     90014360670
96B13536571928   CHRIS        HANSON                       CO     90011655365
96B13778891599   MAGALY       GARCIA                       TX     90010247788
96B14144372B24   GABRIEL      LESPERANCE                   CO     33048501443
96B1414A87B444   EDWIN        ESCOBAR                      NC     90004491408
96B1418A591521   SERGIO       CORONA                       TX     75021051805
96B14643372B3B   BRANDI       VITEZ                        CO     33097536433
96B14685A97123   LIDIA        ROMERO HERNANDEZ             OR     90009056850
96B14788872B22   JESSE        SELLERS                      CO     33014447888
96B1485A397B59   CINDY        FIDDLER                      CO     39015498503
96B15169172B56   EFRAIN       GARCIA                       CO     33093861691
96B15515657563   JORGE        CASTRO                       NM     90007285156
96B155A7372B32   WILLIAM      LAWRENCE                     CO     33013625073
96B1561A57B444   DANIELLE     PRAYOR                       NC     90012946105
96B1595248B175   JOSE         MOLINA                       UT     90010029524
96B16282372B24   PAUL         MONTOYA                      CO     90014742823
96B16429191531   JOEL         RAMIREZ                      TX     90014904291
96B1666A351342   JHONNY       SANTANA                      OH     66017846603
96B1694589137B   DOUG         PUETT                        KS     90004069458
96B16AA6555951   AMY MARIE    CLAUDIO                      CA     90007870065
96B1716A893755   RICHARD      DUNLAVY                      OH     90004991608
96B17299172B24   ROSA         BUSTOS                       CO     33057952991
96B17429991531   JOSE         VELA                         TX     90014904299
96B17676241296   ROBERT       MONTI                        PA     90014816762
96B1795248B175   JOSE         MOLINA                       UT     90010029524
96B179A4872B56   DAVID        MEILER                       CO     90011769048
96B1838A272B22   JAMES        KINNALY                      CO     33093603802
96B1838AA5B361   MARY         GRANT                        OR     90010643800
96B18585197B59   ANA          ARROYO HAROS                 CO     39038435851
96B18A38472B24   ANGEL        REDD                         CO     33009040384
96B19834755957   ISABEL       BANUELOS                     CA     90015298347
96B1986965B548   EMANUEL      SIFUENTES                    NM     90013028696
96B19883141296   JORDAN       TRUMP                        PA     51041948831
96B19973891399   TABITHA      TATE                         KS     90009049738
96B19A83893755   CASSANDRA    WITTMAN                      OH     64547910838
96B1B29825B599   CARLOS       PEREZ                        NM     90003322982
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1788 of 2350


96B1B565572B24   BERNARDINA    CRUZ                        CO     90012485655
96B1B658477537   LUCINA        MAJALCA                     NV     90013496584
96B1B868697B59   JOSH          LESTER                      CO     90009478686
96B1B954591399   MARCO         HERNANDEZ                   KS     29092539545
96B1BA4A74B588   CHARLES       HOLT                        OK     90005250407
96B2111195B383   MONERRAT      MENDOZA                     OR     90011111119
96B213A3697B59   BRENT         CROOKS                      CO     90014183036
96B221A3A7B444   REGIANE       PAINS                       NC     11067471030
96B2241555B531   JOEL          ESQUIBEL                    NM     90008284155
96B22573172B3B   JORGE         BERNAL                      CO     33037625731
96B226A828B175   DEANNA        REID                        UT     90012966082
96B22826355951   STEVE         WHEELER                     CA     90009908263
96B22865672B56   LAWRENCE      RICE                        CO     90013548656
96B2295248B175   JOSE          MOLINA                      UT     90010029524
96B23282791531   BETHANY       LIVINGSTON                  NM     75012892827
96B23346591521   MIGUEL        ZAMARRON                    TX     90011443465
96B233A3697B59   BRENT         CROOKS                      CO     90014183036
96B23426155951   GERARDO       MORA                        CA     90006064261
96B23543891599   KIMBERLY      ANDRADE                     TX     75079365438
96B2363A35B531   EFREN         CALDERON                    NM     90011296303
96B236A2161972   JOSE          GONZALEZ                    CA     46000576021
96B248A6261928   MARCELA       RAMIREZ                     CA     90011868062
96B24A54497123   TERESA        CEJA NAVARRO                OR     44042850544
96B25141672B42   HANNAH        JULIANO                     CO     90001841416
96B2515797B444   DEBUTANTE     JOHNSON                     NC     90012291579
96B25245397123   MARIAH        MILES                       OR     90000532453
96B25281A97B59   TIM           JONES                       CO     90008482810
96B2551458594B   DEBORA        SONTAY                      KY     90014015145
96B25515972B62   DREW          PIERSON                     CO     90013875159
96B25627472B32   DULCEPAOLA    SANCHEZ-HUERTA              CO     90006306274
96B25A8A77B359   ELIZABETH     CASTRO                      VA     81035480807
96B2611A561977   EDWARD        VERDUZCO                    CA     90000971105
96B261A7391531   SARA          BULL SILVA                  TX     90010841073
96B2647413164B   ANGELICA      STEPHANIE                   KS     22057354741
96B2694445B548   JOHNNY        NIPP                        NM     90015019444
96B26AA7A72B42   FELIPA        ORTIZ                       CO     90007430070
96B27679A72B3B   GERALDINE     LOPEZ                       CO     33065226790
96B28673597123   PEDRO         CONTRERAS                   OR     90002316735
96B2899425B389   MARIA         HERNANDEZ                   OR     44531069942
96B29472791951   CARMEN        BERLANGA                    NC     17094974727
96B29527191521   KEILA         TOVAR                       TX     75010465271
96B2984415B361   ALIX          ALLISON                     OR     90005778441
96B29846672B62   SARAH         RINGLEMAN                   CO     90008588466
96B2991A23B361   KYLE          MENUEZ                      CO     33049709102
96B2B215391399   MARSHAWN      FLOYD                       KS     90013602153
96B2B42A391951   JAMIE         NIEMIROSKI                  NC     90015124203
96B2B615777537   MARCOS        ZUNIGA                      NV     90001726157
96B2B638972B42   MICHAEL       GARLINGTON                  CO     90013456389
96B2B67846B984   CARLOS        ALEX                        NJ     90008986784
96B2B819972B22   DURGA         MISHRA                      CO     90012818199
96B2BA12491521   LEANDRA       SOLIS                       TX     90001550124
96B2BA85191599   FELICIANO     GONZALEZ                    NM     75023130851
96B311A4291826   AMANDA        EWING                       OK     90012731042
96B3142A591399   JOSE          OLIVAS-ALDERETE             KS     90014774205
96B3194316B984   MARTIN        MORALES                     NJ     90014809431
96B31954697B59   CORY          KOONTZ                      CO     39039359546
96B31A8165B531   CINDY         REYES                       NM     90007570816
96B32466291521   JESSICA       MARQUEZ                     TX     75069354662
96B33248191531   ADRIANNA      CARRILLO                    TX     90014912481
96B33534972B56   GUADALUPE     LAYNES                      CO     33016895349
96B33616891579   NORMA         AMADOR                      TX     90007166168
96B3375A891521   MARCELINO     LEON                        TX     90010627508
96B338A145B531   MOQUETTE      PARION                      NM     90012688014
96B34345597B59   ELIZABETH     MARTINEZ                    CO     90014183455
96B34431491521   BENJAMIN      PONCE                       TX     90014144314
96B34518193755   AMANDA        FLORES                      OH     90009455181
96B345A125B548   SARA          YALCH                       NM     90014455012
96B34853A8594B   ANNA MARRIE   ABBOTT                      KY     90013258530
96B3535A491521   KIMBERLY      HOLGUIN                     TX     90011443504
96B35985891599   KEYTT         ARAGON                      TX     90013459858
96B35987341296   CHARLES       LEPPERD                     PA     51074039873
96B36317791951   CLAUDIA       PADILLA                     NC     90014593177
96B36731891399   FRANCISCA     PONCE                       KS     90015237318
96B3722A472B56   ROSA          MORALES                     CO     90014162204
96B37527172B22   GUADALUPE     CASTILLO-ARMENTA            CO     90012895271
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1789 of 2350


96B3774157B444   MARIA               OLIVERA               NC     90014917415
96B37832A77537   DON                 CARLSON               NV     90014138320
96B37A2A791951   CASILDO             RUIZ                  NC     90013940207
96B3858498B191   ISIDRA              MARTINEZ              UT     90012155849
96B3883373164B   SIERRA              TYLER                 KS     90014848337
96B38863A3164B   KOBERLY             ROBBINS               KS     90003558630
96B38874997B59   AZALIA              ALVARADO              CO     39004928749
96B38879972B42   SHAUN               GROSSNICKLE           CO     33080538799
96B38A65172B24   MARGA               VALENTIN              CO     90007480651
96B39174997123   CINDY               GUEVARA               OR     90014011749
96B39346351351   PORTIA              STARKS                OH     90008883463
96B3937298594B   REGINA              DOMASCHKO             KY     90010203729
96B3B767391399   MARIA               VALENCIA-RIOS         KS     90014877673
96B3B866551342   BARBARAH            WILSON                OH     66051978665
96B3B91594B588   ALLIYYAH            OMAR                  OK     21558029159
96B41474172B22   ELMO                LOPEZ                 CO     90004264741
96B415AA191599   EDUARDO             SAUCEDO               TX     75029495001
96B41651291531   SUSANA              TERRAZAS              TX     75020776512
96B4188512B256   LARESE              BUTLER                DC     90006258851
96B41A6A83B39B   BRITTNI             SMITH                 CO     33090930608
96B41A7778594B   LAURA               DUNN                  KY     66026030777
96B4265393164B   DANA                BRUNER                KS     22053966539
96B42742177537   ALICIA              PADRON                NV     90011247421
96B4287AA91531   IRMA                MONTELONGO            TX     90010148700
96B4331A691951   JORGE               AGUILAR               NC     90014983106
96B437A478B175   TONY                MILAR                 UT     90014177047
96B43972861977   ZOILA               SAMANO                CA     90011099728
96B44546991521   MARIA               RAMIREZ               TX     90012615469
96B44759861977   MELINDA             HORNE                 CA     46018917598
96B44814555957   JOE                 ARVISO                CA     49017078145
96B4495A75B548   KRISHNER            WAITES                NM     90013869507
96B44A7115B531   SHARON              GARCIA                MN     90001640711
96B455A667B444   ERIKA               JAMES                 NC     90010375066
96B4571A355946   ALMA                NOYOLA                CA     90010737103
96B4647933164B   DIHALIA             COLE                  KS     90003734793
96B464AA572B22   RIKKI               WARMUS                CO     90010624005
96B465A8191521   JULIAN              TARANGO JR.           TX     75087705081
96B46997197B59   JOSE                HERNANDEZ             CO     39018139971
96B47181872B62   KAREN               ARROYO                CO     33033961818
96B47266672B56   MARILU              MURILLO               CO     90014162666
96B4766882B84B   MELISSA             CABRERA               ID     90001206688
96B4797285B531   ELISHA              RIVERA                NM     90001799728
96B47AA9691951   LUIS HIRAM          TORRES-ALVAREZ        NC     90013790096
96B48847891521   ELIZABETH SAAVERA   RANGEL                TX     90010638478
96B4966744B554   ADAM                PARKER                OK     21519226674
96B49836272B22   TYRE                FALLS                 CO     90012818362
96B49A86572B32   ANNA                SERRANO               CO     90003360865
96B4B232376B42   MANUEL              ZAPIEN                CA     90009652323
96B4B554161977   JAY                 BROWNING              CA     90009275541
96B4B579672B62   TRACY               HAYNES                CO     33096025796
96B511A5472B32   MORRIS              COCHRAN               CO     33039851054
96B51228872B3B   LISA                GARCIA                CO     90007782288
96B5183955B361   ANTONIO             PACHECO               OR     90009828395
96B52187891531   ANTONIO             VAZQUEZ               TX     90009501878
96B52557A5B531   DANIELLE            SPEAR                 NM     90011995570
96B5275A272B32   IRMA                ESPINOZA              CO     90011457502
96B52A53791399   CAROL               BARNETT               KS     90007460537
96B53433897123   CESAR               VELASCO               OR     90002444338
96B5357868594B   TIFFANY             SESTER                KY     90001575786
96B53892676B85   MARIA               CABRERA               CA     90005188926
96B53926672B42   SARAH               DEHERRERA             CO     33068499266
96B53A6327B491   MONICA              HERRERA               NC     90010320632
96B5411497B349   JOSE                PAIZ                  VA     90004291149
96B54256472B62   LATASHA             FITCH                 CO     33059052564
96B542A3777537   ANGEL               MEZA                  NV     43095652037
96B54554672B24   SIGOURNEY           KEITH                 CO     90011295546
96B5493595B361   SUZAN               JACKSON               OR     90004059359
96B55213A97B59   SARAH D             HOVI                  CO     90003212130
96B55215255967   IRASEMA             GONZALEZ              CA     48055172152
96B55835A91951   MARVIN              CABRERA               NC     90015588350
96B56234A72B56   KEVIN               JACOBE                CO     90014162340
96B5633574B949   HERIBERTO           GARCIA                TX     90000513357
96B5674418B175   JANET               VILLACIS              UT     90014747441
96B56769672B32   SARAH               VIGO                  CO     90013167696
96B56915693755   AARON               OTNEAL                OH     64508209156
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1790 of 2350


96B57231972B56   TYSON        LOSEY                        CO     90014442319
96B57391A9712B   RIGORBERTO   CARRASCO PEREZ               OR     90007143910
96B5746585B361   AMEN         TALABANI                     OR     90014074658
96B57559193732   ALICIA       NORRIS                       OH     90003945591
96B576A1572B3B   FAITH        NICOLE APPELGREN             CO     33006106015
96B5843145B361   MARIA        GARFIAS                      OR     90003674314
96B5858A172B24   ANGELA       BRIZA                        CO     90015235801
96B5874418B175   JANET        VILLACIS                     UT     90014747441
96B58838A72B22   LEO          NAPUTI                       CO     90012818380
96B59518591951   JEFF         PARKER                       NC     90011125185
96B59753391951   JOHN         WILLIAMS                     NC     90014457533
96B59756955951   MONICA       LOPEZ                        CA     49039447569
96B5979A572B62   SHELLEY      GORDON                       CO     33008857905
96B5B31285B361   ISIDRO       BERNABE ANDRADE              OR     90001613128
96B5B36567B444   CHIQUITA     WEST                         NC     90014993656
96B5B566A72B22   SILVIA       ROLDAN                       CO     90011315660
96B5B66744B554   ADAM         PARKER                       OK     21519226674
96B61467291521   HEIDI        ESCOBEDO                     TX     90010354672
96B61721872B32   MIKE         GALLEGOS                     CO     33009787218
96B6182A591531   MARIBEL      VALENZUELA                   TX     90009018205
96B62479897B59   ABRHAM       GEBRESILASE                  CO     90011794798
96B63413391951   CALVIN       PALMER                       NC     90014464133
96B63569172B32   BRITNEY      BEDFORD                      CO     90008635691
96B637A4791399   GUILLERMO    GONZALEZ                     KS     90013777047
96B63959291599   JOE          HOFFMAN                      TX     75033379592
96B63A1A672B32   IRMA         LEYVA                        CO     90013420106
96B64457161977   ELIZABETH    SEGOVIA                      CA     90012664571
96B64715991521   LAURA        CHAPARRO                     TX     75094507159
96B6473465B531   CHRISTINA    BENAVIDEZ                    NM     35072147346
96B64866A8B175   VICTORIA     CANO                         UT     90009268660
96B64955172B24   DENISE       PETREE                       CO     33039639551
96B6514814B588   TIM          BISWELL                      OK     21598491481
96B6521A372B24   DARYL        HEDLAY                       CO     33082592103
96B65371491599   ISRAEL       HERRERA                      TX     90002683714
96B65749372B62   MARTHA       HERNANDEZ                    CO     33042347493
96B65767A91531   JOEY         SAENZ                        TX     75079077670
96B666A7391399   RANESHA      DODD                         KS     90013086073
96B67121772B3B   JESUS        ACOSTA                       CO     33064431217
96B67199455957   OMAR         PENA                         CA     90012131994
96B676AA761977   ANA          OSORIO                       CA     90012206007
96B67944272B32   GUTIERREZ    ANTONIA                      CO     90011849442
96B6795668B175   JAY LYNN     MARSHELL                     UT     90005679566
96B68265351384   CARLY        RIDELL                       OH     90001172653
96B68281671943   KYLE         KIRKLAND                     NE     27039442816
96B68725151342   TAPRICA      MOSLEY                       OH     66098287251
96B69169891399   CLAUDIA      GALLEGOS                     KS     90013651698
96B69191972B22   PAUL         ARRELLANO                    CO     90007941919
96B6934747B444   DANIEL       HOGAN                        NC     11042553474
96B6B281197123   JANET        SANDERS                      OR     44096482811
96B6B72698B175   GLOSPER      BOWMAN                       UT     90013297269
96B6BA8315B259   BECKY        SCHANK                       KY     90005980831
96B71245A72B56   JAVIER       IBARRA                       CO     90014162450
96B7137A872B32   MARA         LINGAD                       CO     90014833708
96B717A6972B62   LINDA        LESLIE                       CO     90000607069
96B71972391599   FELIPE       MARTINEZ                     TX     90012429723
96B71972A77537   ROCIO        LOPEZ                        NV     90014309720
96B71A5A191399   KAREN        NAVAS                        KS     90005160501
96B71AA5897B59   KYLE         MILON                        CO     39075920058
96B7215988594B   MARTIN       WHITAKER                     KY     66060441598
96B7255A261977   ALEJANDRA    SOLIS                        CA     90011535502
96B72A67172B24   JONATHAN     SANCHEZ                      CO     33077720671
96B733A4491531   EDMOND       CIRIZA                       TX     90013883044
96B73487591521   SUSANA       MEZA                         TX     90008344875
96B73624972B99   MICHELLE     VALDEZ                       CO     90001366249
96B73686497123   KYLE         WHEELER                      OR     90013306864
96B736AA193782   SHARON       BARTON                       OH     90003036001
96B73871A72B56   IGNACIO      RODRIGUEZ                    CO     90015208710
96B738AA693755   ERICA        BOBO                         OH     90011328006
96B73999961977   NOEMI        OCHOA                        CA     90011099999
96B73A7995B229   TERRY        DAVENPORT                    KY     90004770799
96B74336755957   CHRISTINA    CABRAL                       CA     90011603367
96B74685591399   NORBERTO     ROMERO                       KS     29044766855
96B7484498B175   NIKII        BLACK                        UT     90005608449
96B74A17A91531   ROBERT       GUTIERREZ                    TX     75014520170
96B75333772B56   ASHLEY       KEMPKES                      CO     90005253337
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1791 of 2350


96B75456491531   ALMA         AGUINAGA                     TX     90014904564
96B75984172B32   DAVID        RIEGLER                      CO     90010019841
96B7676465B383   MARIE        BENNETT                      OR     44595447646
96B76893597B59   JENNY        CHAVEZ                       CO     39031108935
96B77372297B59   DU ZA        LER                          CO     90012173722
96B773A6755951   DANNY        YARBRAUGH                    CA     90000823067
96B77425891599   ROSA         OLVERA                       TX     90003624258
96B7788297B471   ZULEIMA      RAMIREZ                      NC     90009088829
96B77A12591884   RACHEL       MOTON                        OK     90012360125
96B78259951334   ARIN         LOPEZ                        OH     90014612599
96B7829825B599   CARLOS       PEREZ                        NM     90003322982
96B7833448594B   MATTHEW      PARNELL                      KY     90012023344
96B78347991951   ORPHEUS      GYANT                        NC     90005463479
96B7923823164B   KELLI        GRIFFIN                      KS     22019452382
96B79241161977   PEARL        MORALEJA                     CA     90002712411
96B79349691531   KARINA       ARMENDARIZ                   NM     75022053496
96B79648293755   ANGEL        BURTON                       OH     90003476482
96B79732172B56   CORRINE      GIPSON                       CO     90012557321
96B79A11391951   JUAN         RAMIREZ                      NC     90011520113
96B7B5A9172B24   KAREN        DOMINGUEZ                    CO     33074645091
96B7BA24997B59   MEGAN        BEAMS                        CO     90014710249
96B81261897123   TABETHA      FINLEY                       OR     90013242618
96B8161395B548   DONNA        CHAVEZ                       NM     90013756139
96B81811561988   IRMA         ARTEAGA                      CA     90007548115
96B81A31A91521   LEONOR       ESTRADA                      TX     75094030310
96B82256872B22   LADY         JORDAN                       CO     90014242568
96B823A9557564   DEBBRA       ORTEGA                       NM     90008073095
96B82465691531   RICHARD      MARTINEZ                     TX     90014904656
96B82737372B24   MIGUEL       REYES                        CO     90014607373
96B8322165B531   LAURYN       DUBERRY                      NM     90013082216
96B83558497B59   ANTONIO      GARCIA ESPINOZA              CO     90013875584
96B8368A55B383   JAVIER       MARTINEZ                     OR     90012786805
96B83962733647   GUADALUPE    GARCIA                       NC     90011429627
96B841A1972B42   LUIS         CRUZ                         CO     33029191019
96B84377651396   RONISHA      TAYLOR                       OH     90013723776
96B84557191531   MARCELLA     MINJAREZ                     TX     75035345571
96B84592297B59   SADINE       BAUNE                        CO     90008555922
96B845A6691399   AKBAR        ABDULLAH                     MO     90012485066
96B8525365B383   PEDRO        MARTINEZ                     OR     90011852536
96B8547A972B32   TIANA        WILSON                       CO     90005564709
96B85556872B22   DIEGO        LOPEZ                        CO     90012915568
96B8578A351388   KATRINA      HENRY                        OH     90014007803
96B85952777537   CORTNEY      STRUTHERS                    NV     90014889527
96B85A2175B531   YOLANDA      MCGINN                       NM     90013320217
96B86356791521   ISABEL       ROJAS                        TX     75040823567
96B869A3A72B22   ALEJANDRO    NEPALA                       CO     33013819030
96B87127A72B32   MOLLIE       OLIVAS                       CO     33057331270
96B87722891399   JESUS        GOMEZ                        KS     29063167228
96B8779235B548   PHILLIP      NUNEZ                        NM     35015927923
96B87954697B59   CORY         KOONTZ                       CO     39039359546
96B88152141296   ALICIA       MOORE                        PA     90003871521
96B8834395B548   JOSHUA       GALLEGOS                     NM     90011053439
96B8841359712B   LAURA        PEREZ-                       OR     90005554135
96B8847738594B   ALINE        UMUPFASONI                   KY     90001994773
96B8862577B444   CHANDRA      GAITHER                      NC     90014336257
96B8933565B548   VELMA        ANDRADE                      NM     35040093356
96B8941359712B   LAURA        PEREZ-                       OR     90005554135
96B89461A72B93   TERESA       ANDRADE                      CO     33062144610
96B8955A261977   ALEJANDRA    SOLIS                        CA     90011535502
96B8B19A17B481   KELDA        MINGO                        NC     11005221901
96B8B23A172B56   THALIA       CARTER                       CO     33018152301
96B8B389197B59   THELMA       MOSER                        CO     90004003891
96B8B518972B3B   DANIEL       GRAHAM                       CO     33045065189
96B8B638391599   JORGE        GOMEZ                        TX     90015206383
96B9117465B383   MERLE        ACKERMAN                     OR     90012561746
96B91662797123   CATHERINE    FOX                          OR     44064106627
96B91961972B62   DEZAREE      RUIZ                         CO     90010989619
96B921A8493755   BETHANI      HERNDON-ALLEN                OH     90011231084
96B92361272B3B   ADAM         KAYE                         CO     90004103612
96B9319313B334   ALFONSO      SILVA                        CO     90012651931
96B93379872B22   PEDRO        HERNANDEZ                    CO     90009223798
96B9372118B175   ROCIO        MEJIA                        UT     31043377211
96B9384565B383   NATHAN       BURGESS                      OR     90007308456
96B9399A97B444   RONALD       CLAYTON                      NC     90008969909
96B9417235B531   STEVEN       CHAVEZ                       NM     90013351723
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1792 of 2350


96B94869272B32   MARSHA       BROWN                        CO     33038768692
96B9494925B548   MICHAEL      BEGAY                        NM     90003869492
96B9526225B531   IVONNE       CUESTAS SOTO                 NM     35086152622
96B95737172B32   MARIA        MACIAS-ARELLANO              CO     90013327371
96B95815591531   MOISES       SOZA                         TX     90011028155
96B962A5272B3B   JANICE       NAVE                         CO     90013482052
96B96A81397123   JEFFREY      SMITH                        OR     90010960813
96B97139991521   ROBERTO      MORALES                      TX     75031351399
96B97537997123   RENESSA      LOPEZ                        OR     90012735379
96B975A3372B3B   MEGAN        VANPORTTFLIET                CO     90010385033
96B977A3261977   MARIA        ALARID                       CA     90013967032
96B97A95491521   HAYDEE       ALVARADO                     TX     90014870954
96B98154572B3B   CRISTINA     KELLEY                       CO     33074851545
96B985A6897B59   EDGAR        RESENDIZ                     CO     90012095068
96B98974891951   FABIAN       SANTOS                       NC     90007579748
96B99197572B24   KARLENE      OLSEN                        CO     90009861975
96B9923122B831   MITZI        MEDSKER                      ID     90001762312
96B9935A65B524   JOHN         YINGLING                     NM     90009873506
96B993A8A72B32   FREDA        RHEUBOTTOM                   CO     90013573080
96B9978388B175   RAY          WARDLE                       UT     90012307838
96B99A5838B175   RAY          WARDLE                       UT     90013080583
96B99A99391521   KARINA       GARCIA                       TX     90014870993
96B9B467591951   TC           NEWMAN                       NC     90010924675
96B9B95988594B   TYSON        TORBUSH                      KY     90014829598
96B9BA5945B531   JULIO        BARRAGAN                     NM     90003210594
96B9BAA9755957   JOSE         JIMENEZ                      CA     90002760097
96BB126933B331   BLAIR        CONNORS                      CO     90005072693
96BB133578594B   ERIC         STANTON                      KY     90013183357
96BB159675B531   ESTEVAN      SALAZAR                      NM     35081245967
96BB1635591521   KIRA         GOSNELL                      TX     90010536355
96BB1A62155957   JOSE         MAGANIA                      CA     49052390621
96BB265873164B   AMBER        NESSMITH                     KS     90005076587
96BB3132A85953   FREDERICKA   TURNER                       KY     90000811320
96BB321717B444   BRIDGET      KELLEY                       NC     90013882171
96BB3321655957   MICHELLE     LOZANO                       CA     90003993216
96BB336235B531   PAM          AGUILAR                      NM     35026393623
96BB3644A5B383   SHELLY       UPTAIN                       OR     90013806440
96BB4383357563   LESLIE       BUMGARNER                    NM     90007283833
96BB449915B548   JONATHAN     RIVERA                       NM     90010054991
96BB4765A72B32   KABA         MBALOU                       CO     33093727650
96BB4778291521   RIVERA       MARIA                        TX     75074747782
96BB4794431952   LYDIA        KENNEH                       IA     90015377944
96BB4A48997123   MELISSA      M BRYSON                     OR     90004680489
96BB5271472B3B   CHRISTINE    MILLER                       CO     33092182714
96BB52A7577537   JEROMY       ASIS                         NV     90005912075
96BB5376591951   SHAMICKA     NORWOOD                      NC     90009573765
96BB538277B444   IRMA         GASSETT                      NC     90012033827
96BB5466455957   THOMAS       CUMMINGS                     CA     90010114664
96BB577A755951   YVETTE       LUNA                         CA     90009277707
96BB584A193732   RICHARD      SAVOIE                       OH     64542798401
96BB6596251342   JACK         PARSONS                      OH     66065915962
96BB7168272B32   ZACH         YOST                         CO     33092721682
96BB7596591399   JASMINE      SCOTT                        KS     29011765965
96BB7598355967   JULES        SABBAGH                      CA     90001505983
96BB759838B175   CLETE        GROVER                       UT     90012965983
96BB7645877537   DIANA        REDDEN                       NV     90013716458
96BB7875297123   GINARAI      MYRICK                       OR     90002358752
96BB81A3441296   TRACY        HOUSTON                      PA     90001371034
96BB8269191521   CINTHIA      RIOS                         TX     75090042691
96BB8328555957   EDUARDO      PEREZ CRUZ                   CA     49089303285
96BB83A4491531   EDMOND       CIRIZA                       TX     90013883044
96BB8418691399   RICHARD      NEWTON                       KS     90014774186
96BB8491591599   EDMUNDO      SALINAS                      TX     90013554915
96BB8A5675B531   JESSICA J    LEO                          NM     90007570567
96BB916928B175   ANE          FIEFIA                       UT     90013881692
96BB92A585B548   IMELDA       OLIVARRIA                    NM     35007652058
96BB9564493755   JESSICA      HAFSAAS                      OH     64566455644
96BB9648691399   LEONEL       CARILLO                      MO     90014176486
96BB9987991599   BRITNIE      COMER                        TX     90009829879
96BB9A66855957   JIMMIE       URISTA                       CA     90014560668
96BBB433761973   SERGIO       MIRANDA                      CA     90009624337
96BBB526391531   GABRIELA     RUIZ                         TX     90011245263
96BBB73895B388   JOSEPH       PRICE                        OR     90001267389
96BBB79825B531   STEPH        ESPANOZA                     NM     35003927982
97111251172B56   NICHOLAS     KIMBALL                      CO     90011842511
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1793 of 2350


971112A7A61979   TRICIA         REED                       CA     90014862070
971117A3872B22   ROBERT         AKE                        CO     90011557038
97111853372B62   MICHAEL        RAYMOND JESKE              CO     90000248533
97111A39891882   MARCUS         GROOMS                     OK     21070280398
971125A7233638   RESTONI        WREN                       NC     12097375072
971132A8A4B554   DEREK          KIGHT                      OK     90013732080
97113771672B32   HANDER         FREYAT                     CO     90013167716
971138AA597123   ROGELIO        IBARRA                     OR     90004078005
971141A7A85844   ANAS           NAJEM                      CA     90013611070
97114228472B42   DESIREE        ROBERTS                    CO     33095032284
97114568A4B588   ADRIANA        MUNOZ                      OK     90013255680
9711465AA7192B   BRENDA         GONZALES                   CO     90014376500
9711476328594B   ERIN           FEY                        KY     66065997632
9711528387B449   DANA           WALLACE                    NC     90002132838
9711528584B949   JANIE          THOMAS                     TX     90012702858
97115312172B62   JEANNIE        KRUSE                      CO     33050703121
97115A38761979   ANGELICA       FUENTES                    CA     90014170387
9711628A272B3B   GUL            KHAZI                      CO     90013162802
9711637A272B22   MICHAEL        MEDINA                     CO     90014303702
971164A4277537   ASHLEY         BROWN                      NV     90014854042
97116A5A94B949   STEPHANIE      HARPER                     TX     90009610509
9711751823164B   SAVANAH        KELLY                      KS     90007805182
9711931517B444   RACHEL         LITTLE                     NC     11084163151
9711938274B588   LASHELLLE      WINSTIN                    OK     90001823827
9711B228872B3B   JOHN           JONES                      CO     33028182288
9711B911693755   VICKIE         BOWERS                     OH     90013889116
9711BA1553164B   BRYANT         HERMAN                     KS     90005070155
9711BA95241233   DANIEL         FIELDS                     PA     90013240952
9712131695B367   TRAVIS         HARPER                     OR     90011753169
97121629A61979   AIOTEST1       DONOTTOUCH                 CA     90015116290
97121698672B24   JUAN           SANTANA                    CO     90009796986
97122141772B32   EDUARDO        RODRIGUEZ                  CO     90009451417
9712233378B175   MARIA          LOPEZ                      UT     90014423337
97122516172B56   LONNIE         BLAKE                      CO     33003115161
97122A6717B449   JOSEPH         MIDDLETON                  NC     11095690671
9712324344B588   PAMELA         VAZQUEZ PEREZ              OK     90003262434
97123422472B42   DEMETRIUS      BUCKINGHAM                 CO     90001664224
9712368437B386   ADALBERTO      MEJIA                      VA     90001736843
9712379A291599   CARMEN         HERNANDEZ                  TX     90006077902
9712497754B588   MARK           PARKER                     OK     90015519775
971249A4777537   PATRICIA       NGATA                      NV     43089449047
97124AA8A5B151   NICK           DAVID                      AR     90015130080
97125163372B32   FREDDY FREDY   BARRENTOS RENTOS           CO     90008171633
9712546234B554   GLENDA         CRUZ                       OK     90008764623
97125488672B42   AMANDA         SALAZAR                    CO     90005524886
971259A1572B62   DOMINIC        RIGGS                      CO     90014879015
97126833A5B383   MIVLE          MARKS                      OR     90015168330
971269A7141296   ILARIO         SILLA                      PA     90014789071
97127AA894B588   BEATRIZ        MAYA                       OK     90000630089
9712833157B444   JUAN FELIPE    HERNANDEZ ORTIZ            NC     90014293315
971283A1977537   ANTHONY        YOUNG                      NV     90003813019
971291A839188B   TIFFANI        ATKINS                     OK     90014581083
97129456772B22   FERMIN         TORRES                     CO     33038694567
9712946275B531   JAVIER         ROMAN                      NM     35055014627
9712949425B383   RAHAMATOLL     DERAKHTI                   OR     44516154942
9712B78264B554   CRYSTAL        HAYES                      OK     90010227826
9712B85A591882   CINDY          PATTERSON                  OK     21048718505
9712B883A72435   GABRIELLE      KURTOCK                    PA     90014978830
97131163972B62   NORBERHTA      MARTINEZ-GARCIA            CO     33043881639
97131784172B3B   VALERIE M      ROBLES                     CO     33085067841
97132774372B32   JAVIER         MORALES                    CO     90013167743
9713323777B444   JOHN           HEERSCHAP                  NC     90011732377
971332A1372B3B   CHARLIE        WINCHESTER                 CO     90012862013
97133363463B8B   JOE            SCHOEPP                    IL     90004673634
97133531472B22   BLANCA         GUIGON                     CO     90014785314
9713429A572B22   FLOR           ESCOBAR                    CO     90007332905
97134914A3164B   LEON           JACKSON                    KS     22096439140
97134932772B42   GINA           SANDOVAL                   CO     90015169327
971353A827B444   MICHAEL        SHKUT                      NC     90013303082
9713583397B444   WEIXIONG       ZHONG                      NC     90015158339
97136395A7B429   TESARTA        LEE                        NC     90013653950
9713657734B588   JOSE           GONZALEZ                   OK     90013255773
9713684875B383   KATHLEEN       WILLIAMS                   OR     90003578487
9713747764B554   ZACH           SHRIVER                    OK     90008184776
97137818A72B32   JHON           SALINAS                    CO     90012138180
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1794 of 2350


9713812235B361   MAURICIO      DEGANTE                     OR     90006101223
971384A8472B42   ERIN          REGIS                       CO     33003224084
9713881188594B   SAMANTHA      HOWARD                      KY     90014918118
971398A372B855   HEYRA         LOPEZ                       ID     90014328037
971398A5291951   SAMIYA        MOORE                       NC     90014698052
971399A7433698   MICHELLE      REECE                       NC     90009859074
9713B37A791955   ERIC          OLSEN                       NC     90011753707
9714138728B175   KENNETH       FORTUNE                     UT     31001303872
9714141194B554   ROXANA        GALVAN                      OK     21506364119
9714174414B949   ANTOINEO      HERNANDEZ                   TX     76513807441
9714177954B588   SAM           GRISBY                      OK     90012377795
9714181385B361   SCOTT         WARR                        OR     90013698138
97141A69272B3B   ALYSIA        GALLEGOS                    CO     90012830692
9714213765B383   ROBERT        THOMPSON                    OR     44523591376
9714236345B548   JOSHUA        COHEN                       NM     90014903634
9714281188594B   SAMANTHA      HOWARD                      KY     90014918118
97142A6717B429   DAVID         SAMUELS                     NC     90009070671
97143252772B56   MARIO         GUTIERREZ                   CO     33097202527
9714328534B554   HILLARY       HATCHETT                    OK     90014032853
9714329AA72B3B   MONICA        SAMORO                      CO     90012892900
97143554A72B3B   DAVID         MCCLENDON                   CO     90008835540
9714383699376B   MARY          ROEDER                      OH     90000698369
97143A76A72B3B   ARACELI       HALL                        CO     90014470760
97144616672B42   JANAYA        JOHNSON                     CO     90013416166
97145131272B22   LEE           DAVIS                       CO     90004751312
9714554618B175   BRENDA        CAMPBELL                    UT     31079515461
97145746772B42   MARIA         NUNEZ                       CO     90009727467
9714592924B588   JONATHAN      TOBON                       OK     90013239292
97145A8AA8594B   MISTY         TUPMAN                      KY     66011110800
97145A9845B531   CHARLES       LOPEZ                       NM     35060500984
971465A338B175   DEANN         ANDREASON                   UT     90012805033
97146A2A993732   TIFFANY       BROWN                       OH     90005950209
97146A76391938   SHANI         JOHNSON                     NC     90012660763
97147A78772B62   RONALD        WARNER                      CO     33086320787
97148217372B3B   FRANCISCO     DELGADO                     CO     90014812173
97148475A97123   FREDDIE       ANDRADE                     OR     90015334750
971491A9372435   RIKKI         MOLTER                      PA     90015521093
9714937558B175   DEAN          MOCHIZUKI                   UT     90014183755
9714971925B383   THOMAS        SHAWN                       OR     90013967192
97149A87A7B444   DEVIN         KERLEY                      NC     90014000870
9714B218333641   SHANNON       ALSTON                      NC     12053592183
9714B276A72B56   CHERYL        SMITH                       CO     90011842760
9714B586A72435   ELFY          SPRICK                      PA     90014135860
9714B69315B361   JUAN          LOPEZ PEREZ                 OR     44538966931
9715161235B548   TOBY          VILLANUEVA                  NM     35034546123
9715282A981634   DAVID         STRODE                      MO     90013858209
97152855272B42   ELIS          SEPULVEDA                   CO     33049848552
9715326638594B   CHRISTOPHER   LINDON                      KY     90002392663
9715369135B361   EVER          BARRIOS                     OR     90014786913
971537A7577537   RUBY          CARDENAS                    NV     90015377075
9715537A472B22   ANA           TAMAYO                      CO     90000933704
9715563A393755   DIANTE        SENTER                      OH     90014476303
97155758A72B42   CLAUDIA       ROMERO                      CO     90008187580
9715579A78B175   JERED         CRIST                       UT     90011587907
97155A74497123   ASUNCION      VALLES                      OR     90009640744
97156199272B3B   CINDIE        KOMOCZI                     CO     33077221992
9715687265B531   JUSTIN        CRESPIN                     NM     90012518726
9715848145B383   JAYRO         SANTAMAIA                   OR     90012474814
97158888A8B175   JEFFREY       JOHNSON                     UT     90012458880
9715938A54B588   AUSTIN        CANALES                     OK     90015613805
97159769172B32   JENNIFER      WEBB                        CO     90012757691
9715991A472B42   MARIA         HERRERA                     CO     90013789104
971599A235B548   GAY           BROWN                       NM     90006539023
9715B15815B361   MARIAM        AHMED                       OR     90003981581
9715B399A72B42   SARA          MORALES                     CO     33098233990
9715B86217B444   SHERRI        WLEFFORD                    NC     11097098621
9715B9A424B554   DEDRA         FRANKLIN                    OK     90009709042
9716122195B361   ROSEANN       BERLANDI                    OR     90012942219
97161253672B32   LATHAN        LAMAR                       CO     90011112536
9716136568594B   SYDNI         KINEBREW                    KY     90004233656
97161953572B42   JOSE          HERNANDEZ-MEZA              CO     90014039535
97161A7574B588   JADE          WALKER                      OK     90013460757
97162531A5B54B   URSALA        LEWIS                       NM     90014175310
97162757372B24   MICHAEL       CLANTON                     CO     33032937573
97162A3A281634   JOHN          MYERS                       MO     29003810302
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1795 of 2350


971643A5672B56   RAY           WASHINGTON                  CO     90011843056
97164728872B32   DORA          SEAWALT                     CO     90004907288
9716476425B531   STEPHANIE     TRUJILLO                    NM     35041397642
9716487958594B   SARAH         CATTERTON                   KY     90013598795
97164A5282B891   RICHARD       WALLEY                      ID     90005990528
97164A55272B24   ALISON        FLETCHER                    CO     90008610552
97165428772B56   LORRAINE      LOPEZ                       CO     33005464287
971656A675B531   RICHARD       ORDONEZ                     NM     90008016067
9716697855B531   ROB           ADAMS                       NM     35075559785
9716711A872B62   BRANDON       RICHARD                     CO     90008051108
9716738468594B   MELISSA       OWANS                       KY     90006333846
97167418472B56   GUADALUPE     AQUINO                      CO     33025004184
9716797174B949   APRIL         SWAYNE                      TX     90004239717
9716933A98B175   SALVADOR      SAN PEDRO SANTIAGO          UT     90011963309
9716947974B521   ASHLEE        CODY                        OK     90002264797
9716989A872B56   ALLISON       HOLLOWAY                    CO     33069008908
9716B18217B444   SARAH         PENDRY                      NC     90011101821
9716B892991399   MARTHA        ABBOTT                      KS     29085408929
971715A5597123   REBECA        SANCHEZ RICO                OR     44093085055
9717186825B383   KATHLEEN      HIBBERT                     OR     90012868682
97171A34733698   JAMAL         PEGUES                      NC     90013280347
9717229865B383   JOSE          CALDERON                    OR     90000432986
97172379A8B175   OSCAR         ESCOBAR                     UT     90014183790
9717246975B361   RON           BOWERS                      OR     44578524697
9717289A94B588   RACHEL        MORRISON                    OK     21531908909
971737A2972B62   MARIAH        GARCIA                      CO     90013047029
97173A42777537   THERESA       JERSEY                      NV     90008970427
97174157A72B22   REBECCA       UTECHT                      CO     33002661570
9717533995B361   VIRGINIA      ALVARADO                    OR     44585703399
9717545A893755   STEVE         HOPKINS                     OH     64558464508
97175A8A891599   JULIO         CASTANEDA                   TX     75040430808
9717641947B449   TERRY T       WRIGHT                      NC     11042534194
9717771A34B554   MARICRUZ      MARCIAS                     OK     21552797103
97177A74655979   JANET         KRUGH                       CA     90013020746
9717914A141296   ROBERT        MIDDLEBROOK                 PA     90013931401
9717965135B531   JACK          MANNES                      NM     90013166513
9717B144581634   AMBER         PILCHER                     MO     90012441445
9717B82214B235   DEBORAH       DAVIS                       NE     27090298221
9718163764B588   DIANA         LOPEZ                       OK     90012886376
97181773872B28   JAKE          BLACKBURN                   CO     33096977738
9718184928594B   KRISTINA      ADCOCK                      KY     90013838492
97181992472B42   MARIA         GARCIA                      CO     33072809924
97182A8715B548   LUIS          LOZOYA                      NM     35095640871
9718329615B383   ATHENA        VANARSDELL                  OR     44550272961
971832A7A81639   ROMAINE       MINME                       MO     90011652070
9718363475B361   CHRISTIAN     VAZQUEZ-RAMOS               OR     90012366347
97183A58372B56   DESTINY       CONNORS                     CO     90010030583
97184384A72435   KARRIE        HOCKENBERRY                 PA     90013443840
97184635A5B361   CHRISTIAN     VAZQUEZ-RAMOS               OR     90012366350
97184A7135B548   DEBBIE        ORONA                       NM     35075940713
97185A5282B891   RICHARD       WALLEY                      ID     90005990528
9718615664B949   CORY          DREYMALA                    TX     90002371566
9718672374B231   LAWRENCE      WALTERS                     NE     27009547237
9718731488B175   MARK          ROOTHOFF                    UT     31098103148
971874A325B548   LLUVIA        GARCIA                      NM     90014904032
97187549272B22   PRESLEY       PALMS                       CO     90014785492
971884A364B588   SHAYNA        GILDAY                      OK     90003564036
97188A38572B56   IRMA          MARTINEZ-SANTIAGO           CO     90000460385
9718B313672B56   NATHANIEL     RICHMOND                    CO     90011843136
9718B672A72B3B   TIFFANY       JOHNSON                     CO     90014156720
9718B86562B269   EDWARD        LOWE SR                     DC     90004388656
9718B869871936   SHAROL        KUTCHER                     CO     90014588698
9718B974872435   KEVIN         FOREMAN                     PA     90012459748
9719138957B449   SHARON        MITCHELL                    NC     90008853895
971914A364B588   SHAYNA        GILDAY                      OK     90003564036
97191817972B42   FELIX         YBARRA                      CO     90009578179
971921A8772B56   FLORENCE      MARTINEZ                    CO     90005541087
9719256628594B   CANDACE       WILLIS                      KY     90012125662
97192689A5B361   CESAR         SANCHEZ                     OR     44581816890
971927A1297123   CHRISTIAN     SERRANO MARTINEZ            OR     90010917012
9719319777B444   MALCOLM       GIBSON                      NC     90015191977
97193AA595B531   KANDICE       FOX                         NM     90010460059
9719444278594B   TARA          KOPPLE                      KY     90013364427
9719447A377537   CHRISTOPHER   PEIERS                      NV     90012194703
9719472987B429   ABELARDO      MOCTEZUMA                   NC     90002307298
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1796 of 2350


97194773172B22   FLORENTINO         RODRIGUEZ              CO     33004217731
971948A9572421   KAREN              STEWART                PA     90013468095
97194A25791599   IVETH              SANCHEZ                TX     90011400257
971952A312B891   DOTTIE             CHAVEZ                 ID     42014672031
9719556184B949   CELIE              ELMORE                 TX     90009645618
97195975472B62   KEYON              STEGALL                CO     90015319754
97195AAA27B444   JOSE MARIA         MENDOZA                NC     90015100002
97196497872B62   CHRISTINA          BAXMAN                 CO     90010814978
971964A655B548   DANIEL             PUENTES                NM     90014904065
97196886172B22   LANG               CHEN                   CO     90011258861
9719786973164B   ALANA              CARTER                 KS     90010508697
97197A7A833641   ANGELIQUE          TOWNSEND               NC     12088320708
9719846124B588   TABITHA            TREXLER                OK     90015284612
9719892295B361   JUSTIN             LUNDBERG               OR     90000179229
97199579772B24   MARIA              VENEGAS                CO     33005555797
9719983A297123   DANIEL ALEXANDER   ROQUE OSTORGA          OR     90008068302
9719B3A894B588   CECY               RAMIREZ                OK     90013883089
9719B67597B444   LAKEEDRA           LUNGSFORD              NC     90005146759
9719B735A61979   DORINA             VARGAS                 CA     90011727350
9719B74345B531   VIRGINIA           SILVA                  NM     35003467434
971B1131272B22   LEE                DAVIS                  CO     90004751312
971B1224581634   AMEERAH            TROOTT                 MO     90005472245
971B1291393782   PATRICK            WOOLUM                 OH     90013682913
971B12A7172B56   SHAWN              ROLLINS                CO     90011842071
971B24A753164B   EMILIO             ACOSTA                 KS     90014294075
971B2594772B3B   NEFTALY            AMECA VIDAL            CO     90011435947
971B324128594B   SHANA              MEADOWS                KY     90015222412
971B3A1365B383   STANLEY            CLARK                  OR     90009680136
971B431535B548   JOHN               OLES                   NM     90014903153
971B442A772B46   MEGHAN             WIDHALM                CO     90012684207
971B44A9172435   CANARD             TATES                  PA     51098054091
971B46A6A76B41   CARMEN             SOLIS                  CA     90002576060
971B477448B175   ROCIO              CHAVEZ                 UT     90014167744
971B494645B548   JOSE               SEANZ                  NM     90009519464
971B4961481634   JESENIA            PADILLA                MO     90011379614
971B521A972B32   CHELESE            HULL                   CO     33012252109
971B531535B548   JOHN               OLES                   NM     90014903153
971B532A572B62   HEATHER            MICONI                 CO     90006373205
971B539A94B273   THEODORE           GILLIAM                NE     90015083909
971B559625B531   ELAINE             FLORES                 NM     90009585962
971B57AA17B449   CRYSTAL            TRUESDALE              NC     11006967001
971B5973893755   JUSTIN             BASCOM                 OH     90012649738
971B5A1182B891   DANIEL             MATTHEWS               ID     90009710118
971B6528642361   CHAD               COLEY                  GA     90001705286
971B662285B361   TYRIQUE            HARDETT                OR     90014776228
971B6776272435   RENE               MARTINEZ               PA     90015507762
971B6A35961979   CAROLINA           ELIZARRARAS            CA     90014170359
971B7616877537   JENNY              CHILDS                 NV     90013646168
971B7A37661979   MARIANNA           ALCARAZ                CA     90014170376
971B9664772B42   KATHY              FOX                    CO     90000106647
971B989844B949   LAURA              PEREZ                  TX     90011778984
971B9978591399   GUADALUPE          CRUZ                   KS     29058029785
971BB11355B383   EMILIO             CHAVEZ                 OR     90012261135
9721117245B361   ANTONINO           RAMIREZ                OR     90011431724
9721154745B383   DOUGLAS            DILLON                 OR     44556405474
97211AA1191951   MONTREL            WILLIAMS               NC     90014710011
97212A87791882   GUILLERMO          QUINTERO               OK     21066610877
97212AA1191951   MONTREL            WILLIAMS               NC     90014710011
9721329A78594B   KAYLA              KEEN                   KY     90014902907
9721344275B383   JUAN               SAAVERDRA              OR     90007264427
9721344A24B588   KEVIN              DOWNING                OK     90009534402
972142A3A41296   ANDREW             DICARLO                PA     51086072030
9721456A693732   JESSICA            KICHARDSON             OH     90006695606
97214695A61979   DAREEN             FONG                   CA     90014186950
97215222872B32   CRYSTAL            REEDY                  CO     90014582228
9721562365B361   ALIDDIN            TABANI                 OR     90008346236
97215875A8B175   AMANDA             HOUCK                  UT     90014168750
97216122972B32   VRGINIA            ALBIN                  CO     33000641229
97216424A5B361   ROSA               LUNA                   OR     90014434240
9721675A95B531   ERICA              REYNA                  NM     35001117509
97216914872B22   INDERPAL           SINGH                  CO     90013849148
9721756292B891   KORI               BATT                   ID     90002355629
9721773A55B531   JAZMIN             ITURRALDE              NM     35088747305
9721786155B383   FELIP              CRUZ                   OR     90002728615
9721797915B361   FRANK              SQUEGLIA               OR     44597169791
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1797 of 2350


972182AA84B588   NORA          OUBRE                       OK     90012142008
97218914872B22   INDERPAL      SINGH                       CO     90013849148
97218AA5A91951   TYRONE        FLINTALL                    NC     90010840050
972191A8491399   SPENCER       HOOKER                      KS     90014671084
9721952214B949   MALCOLM       LOPEZ                       TX     76556625221
9721B56455B383   BRAULIO       GUADARRAMA                  OR     90014665645
9721B793697123   DULCE         AGUILAR                     OR     90012667936
9722122A797123   ROGELIO       SAINZ LINARES               OR     44096332207
97221926A4B588   SOCORRO       VILLALAZ                    OK     90012299260
97222289672B3B   STEPHEN       WOOLDRIDGE                  CO     90000432896
97222485772B56   NEIL          BALLENSKY                   CO     90007454857
97222754A91951   CRYSTAL       KANDT                       NC     90013167540
972227A1861979   THANIA        HERRERA NUNEZ               CA     90014187018
972232A125B383   CHRISTOPHER   WISHNIA                     OR     90014532012
972238A8461979   DEBORAH       ORTIZ                       CA     90013368084
97224324372B56   LAURA         PENALOZA                    CO     90010123243
97225926672B62   AARON         HINOJOSA                    CO     90014859266
97225A45A81634   DRE           PONDS                       MO     90014650450
9722616744B588   SHACORIONTE   WEBB                        OK     90012151674
9722649914B554   LINDA         DEPEW                       OK     90003654991
9722739A555981   GERARDO       JACOBO                      CA     90007693905
9722762A897123   MARIA         SALGADO                     OR     44023896208
9722775895B548   VERONICA      ALFEREZ                     NM     35072707589
9722817325B383   GARY          HOLMES                      OR     44543471732
97228562572B22   BRACHELLE     WASHINGTON                  CO     90014785625
9722891A272B62   REBEKAH       TERRY                       CO     90009569102
97228947172B24   SARA          STEWART                     CO     90010489471
972296A918B175   JUAN          RAMIREZ MONDRAGON           UT     31079696091
97229A28372B62   MUHAMMAD      GHAFR                       CO     33011760283
9722B792A4B949   ELSIE         LAFLEUR                     TX     90008577920
97231245A4B588   TANA          WESTROPE                    OK     90003262450
9723137863164B   MONTY         CARPENTER                   KS     90014423786
9723225AA5593B   VICTORIA      RAMIREZ                     CA     90014192500
9723242124B27B   ELIAS         KARENJU                     NE     90009624212
9723261A24B949   JASMINE       JONES                       TX     90004006102
9723273A872B42   ASHLEY        LUCERO                      CO     90014737308
97232A5A972B32   RAFAELA       MELANDEZ                    CO     90004850509
9723363314B588   KELEVETTA     NWAJAGU                     OK     21570056331
9723447754B588   NICHOLE       MCDOWELL                    OK     21555664775
97234545572B56   JUANA         RAMOS                       CO     33066285455
97235424A5B361   ROSA          LUNA                        OR     90014434240
97235A94393755   LATOYA        MILLER                      OH     64518020943
9723676855B548   ROBERT        BEGAY                       NM     90014167685
97236A2385B383   JOANNE        BLAKLEY                     OR     44537610238
97237685A97123   LIDIA         ROMERO HERNANDEZ            OR     90009056850
97237828272B56   ANDREW        CASE                        CO     33059728282
9723892118B175   CATALINA      JUNGLING                    UT     31038509211
97238A2995B361   ZUZAN         LANE                        OR     90014790299
97238A36577537   AMETHYST      PAYNE                       NV     43014760365
9723946694B588   PATRINA       WAINSCOTT                   OK     90013264669
97239517972B42   OMAR          RIVERA                      CO     90005525179
972396A9A91399   JENNY         MCINTYRE                    KS     90005706090
9723996A65B531   KATHI         BROWN                       NM     35017839606
97239A2A472B62   JOEL          SIFUENTES                   CO     90003660204
9723B41925B548   SHARON        JIRON                       NM     90014904192
9723B424A5B361   ROSA          LUNA                        OR     90014434240
9723B924481635   CHELSEA       HALFORD                     KS     90006459244
972413A4493755   THEODORE      ROSS                        OH     64549363044
9724171445B383   CHENISE       WILDER                      OR     90013717144
97242623472B42   ANTONIO       RITKA                       CO     90013416234
9724276855B548   ROBERT        BEGAY                       NM     90014167685
9724294A781639   WILLIAM       HALL                        MO     90005499407
9724338A68B175   LEON          VASQUEZ                     UT     90012763806
9724352698B194   WILLIAM       NEWPORT                     UT     90008155269
97243642572B22   MARIA         ESTRELLA                    CO     90006166425
9724364A44B554   DENICE        WILLIAMS                    OK     90008756404
97243A28191994   SALOMON       BENITEZ                     NC     90011910281
97245443172B22   DAVE          TRUJILLO                    CO     33042154431
97246278172B32   RAQUEL        YAZZIE                      CO     90009072781
972464A5A7B444   ERENDIRA      JUAREZ                      NC     90012324050
9724669694B554   JENA          CASTILLO                    OK     90013506969
97246973A77537   CARLOS        BARBOZA                     NV     43000989730
9724697783164B   LARRY         PETE                        KS     90012949778
972474A4A81639   CLAUDIA       HERNANDEZ                   KS     90002804040
97248A63A8B175   JOHN          DESMET                      UT     90014900630
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1798 of 2350


9724957234B588   ABEL         PEREZ                        OK     90013565723
97249751A7B444   SANDRA       MACKEY                       NC     11009057510
97249846A3B391   AMY          HERN                         CO     90005598460
97249AA6972B62   GLORIA       ROMAN                        CO     33032480069
9724B149691951   NINA         OUTEN                        NC     90013021496
9724B226472B62   MARIA        MARQUEZ                      CO     90002052264
9724B321172B32   FRANK        REAVES                       CO     90010583211
9724B715661979   CARLOS       GARDUNO                      CA     90014187156
9724BA45A81635   LATANIA      CEESAY                       MO     90010300450
972511A895B548   MARIA        QUEZADA                      NM     90014911089
972516A594B588   HAP          DO                           OK     90009136059
9725228A172B22   MARRISA      CARBAJAL                     CO     90008502801
97252A17677537   SILVIA       MORALES-CHAVEZ               NV     90015150176
97253481472B42   MARTHA       BECERRA IBARRA               CO     90013234814
97253989972B32   BRENDA       BRAWNAR                      CO     90011379899
97253A88491951   DENISE K     REAVES                       NC     90009110884
972543A6572435   KIMBERLY     NELSON                       PA     90015193065
9725445335B548   CRYSTAL      MARTINEZ                     NM     90014904533
97255162772B62   ARIANA       LOMELI                       CO     90006341627
97255A6A333676   DENARD       SIMMONS                      NC     90004880603
972564A644B949   EMILIO       VALDEZ                       TX     90011914064
972569AA14B263   SHELLY       JEFFRIES                     NE     27092569001
97257282872B24   PAULINE      LUBO                         CO     90002142828
9725742475B361   TIMOTHY      MCNICHOL                     OR     90013944247
97258152672B32   LINDA        INGRAM                       CO     90012381526
97258514A97123   DANIEL       DIAZ-CHACON                  OR     90002325140
972586A874B554   BRITTANY     REDNOSE                      OK     90014316087
9725898924B949   KENDRA       TURNER                       TX     90009069892
9725916394B554   CHAVELLA     CASTILLO                     OK     90005111639
9725973345B383   BRIDGETTE    MORRISON                     OR     90007887334
9725B292633638   BALTAZAR     ALONSO                       NC     90001302926
9725B335A72B3B   ALEJANDRO    MORENO-VASQUEZ               CO     33082253350
9725B489A72B22   MARY         CRUZ SANCHEZ                 CO     33094794890
9725B612191599   GUILLERMO    VIESCAS                      TX     90008596121
9725B6A9A91399   JENNY        MCINTYRE                     KS     90005706090
9725BA6755B361   DEBI         DAVIS                        OR     90011210675
9726128255B361   GRABIEL      GRACIA LUGO                  OR     44525152825
9726129364B554   CARNESHA     POWELL                       OK     90012312936
972618A215B383   BRANDI       MINCH                        OR     90012898021
97261A5664B949   JUAQUIEN     GUITERREZ                    TX     90015310566
97262397A33698   VIVAN        BROWN                        NC     90005643970
97262624572B32   ERNESTO      MARTINEZ                     CO     33089836245
97262714972B42   SALINA       NEWMAN                       CO     90011897149
9726275395B361   DANIEL       FIELDS                       OR     44502197539
97262A3A241296   KAREN        GIESY                        PA     51058160302
9726399322B891   BRIAN        FULKERSON                    ID     42035829932
972645A2272435   GERALD       VUKOVCAN                     PA     51089425022
972645A6572B62   ROY          BOLTON                       CO     33047125065
9726466224B949   FRANK        HALBERT                      TX     90012826622
97264A93A5B361   TERRY        PRUETT                       OR     44530860930
9726513465B383   DON          JORGENSEN                    OR     44516511346
97265625272B24   CHRISTIAN    CARDENAS                     CO     90004456252
97266116172B22   ANTONIA      ROBLES                       CO     33033251161
97266672372B42   IVONNA       POTTER                       CO     90009116723
97266A48597123   PRESTON      COLE                         OR     90010780485
9726744144B588   ARACELY      APODACA                      OK     21553824414
9726825774B949   JOSEPH       SCOTT                        TX     76586282577
97268411A93755   CAYSE        WILLIAMS                     OH     90012624110
9726866478594B   JAMES        BILLINGS                     KY     66001966647
97268769A9B848   GABRIEL      CORTES                       NJ     90010317690
97269116172B22   ANTONIA      ROBLES                       CO     33033251161
97269539172B42   LUDI         BONILLA                      CO     90005145391
97269913872B24   JAVON        MILES                        CO     90011719138
9726998712B836   JOSE RENE    RAYON                        ID     90003579871
97269A3A272435   TAMEKA       GOMEZ                        PA     90010890302
97269AA428594B   JUSTIN       KENDALL                      KY     90012600042
9726B534172B32   DUANE        DRAYER                       CO     33038435341
9726B717191951   JENNIFER     LEIVA                        NC     90013377171
97271424A5B361   ROSA         LUNA                         OR     90014434240
9727151455B361   DON          WILSON                       OR     44544675145
97272487972B62   ISRAEL       TRUJILLO                     CO     90010314879
9727283954B554   DENISE       AYOTTE                       OK     21542248395
97273583A72B22   DOMINICK     DELGADO                      CO     90014785830
972738A7791599   MANUEL       MONTENEGRO                   TX     90001238077
97274994A5B548   THERESA      FERNANDEZ                    NM     35039759940
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1799 of 2350


9727513365B383   MARIA        RAMIREZ                      OR     90015041336
9727555A791399   CLAUDIA      DIAZ                         KS     90005645507
97275A78972B62   ROBERT       SHORE                        CO     33097660789
97276458272B56   TODD         TABOR                        CO     90010384582
9727687A872B62   ERIC         MONTOYA                      CO     90007668708
972772A838B175   IVAN         LOPEZ                        UT     90005792083
97277589572B22   DORA         MEDINA-OLIVAS                CO     90014785895
9727776A44B588   HAYLEY       SHEETS                       OK     90009577604
9727781344B235   JAMES        SINNETT                      NE     90006658134
9727837498B125   HEATH        CARVER                       UT     90005383749
9727883255B531   LAVONE       BELL                         NM     90007938325
97278954172B42   BILLY        GARCIA-ROMERO                CO     90014039541
9727919784B554   KIMBERLY     DOWLING                      OK     90010971978
97279831472B62   JAMIE        TORRICO                      CO     90013688314
97279AA158594B   TESSA        BYRUM                        KY     90015250015
9727B15865B548   MEGAN        BARELA                       NM     90011581586
9727B31395B383   NATHLAN      BAIRD                        OR     90014573139
9727B41898B175   CASSANDRA    AVILA                        UT     90010854189
9727B72325B361   QUSAY        ALWAN                        OR     44583197232
9727B948A4B588   WILLIAM      WOOD                         OK     90000279480
9727BA35161979   MARIA        AGUILA                       CA     46061740351
9728129A74B554   ADAM         CREECH                       OK     90013332907
9728139474B588   KIMBERLY     KANTENBERGER                 OK     90010913947
97281A46777537   MELISSA      MACIAS-SANCHEZ               NV     90012400467
972826A2472B32   JOHN         GARNER                       CO     90012456024
97283191333B63   JOSE         LOPEZ                        OH     90014531913
97283282A61979   MARCO        CORONADO                     CA     46066752820
97284123272B42   ANTHONY      CONCEPCION                   CO     90010311232
9728445315B361   CHRISTINA    BLANCO                       OR     90013944531
9728445A472B62   FROILAN      BARRALES                     CO     90011864504
97285118372B3B   LUIS         GARCIA                       CO     90013041183
972854A7297123   ESTEBAN      HERNANDEZ                    OR     90014974072
97285577672B24   JORGE        HERNANDEZ                    CO     33005565776
972867A5A72B24   JESSICA      GARCIA                       CO     90002897050
9728713833164B   ADRIANNA     GRADO                        KS     90011241383
972871A9A61979   GABRIELA     CECENA                       CA     90014921090
97287826672B42   ANA          ORTIZ                        CO     90014938266
972885A214B949   JERMAINE     MANSFIELD                    TX     90013905021
97288726772B24   DARVELL      WARE                         CO     90009317267
972893A6772435   PAYGO        IVR ACTIVATION               PA     90008303067
9728952535B531   JENNA        WIGGINS                      NM     90014415253
9728B13A572B56   CRYSTAL      VIGIL                        CO     90001831305
9728B229755935   JOSE         CEVALLOS                     CA     90006782297
9728B342541296   JAMES        VINCENTI                     PA     51054043425
9729155818B175   NATHAN       WHITE                        UT     31080105581
97291635672B3B   JOHN         GARCIA                       CO     33035256356
9729174645B383   JESSICA      VANORSOW                     OR     44581307464
9729244725B361   ANDREA       BERGEN                       OR     90012954472
9729312415B33B   HEBERTO S    REYES                        OR     90004741241
97293712872B3B   SHAWNEE      FLEMING                      CO     33073497128
9729376814B554   TRISTAN      LEWIS-COCKREAM               OK     90007787681
97294932772B42   GINA         SANDOVAL                     CO     90015169327
97294A8832B25B   JEFFREY      WRIGHT                       DC     90001300883
97295245A4B588   TANA         WESTROPE                     OK     90003262450
9729587188B175   RUDY         HALLOWELL                    UT     90015268718
9729595628594B   KACEY        CLAYPOOLE                    KY     90014179562
97296318572B62   ANGEL        SAINZ                        CO     90011163185
9729781325B383   DALLAS       COLLINGSWORTH                OR     90007068132
9729814268B187   GENNY        CACERES                      UT     90012181426
97298796972B32   TERRENCE     BROUSSARD                    CO     33042537969
9729929432B891   NICK         GILPIN                       ID     90003882943
9729939A34B949   MICHELE      CALVIN                       TX     90014863903
97299479A4B588   CLIFFORD     MILLIKEN                     OK     90005064790
9729989875B361   MARIA        OTZIN                        OR     90003068987
9729B373761979   JESSE        ARRIAGA                      CA     90010363737
9729B71964B588   JUANA        ESPARZA                      OK     21512357196
9729B78A12B25B   TAMILA       SMITH                        VA     90004517801
9729B89875B361   MARIA        OTZIN                        OR     90003068987
972B127688168B   GEORGE       FRANCK                       MO     29092012768
972B1816572B42   MELISSA      TWOCROW                      CO     90010608165
972B1935772B24   JACKSON      MARSHALL                     CO     33055179357
972B1A89891399   OSCAR        CUX                          KS     90009930898
972B2312297B21   VALERIA      BELTRAN                      CO     90010613122
972B282145B548   LORELLA      MIERA                        NM     35018218214
972B2968491599   FIGUEROA     CANDELARIA                   TX     75051809684
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1800 of 2350


972B2A12572B56   JUAN         VASQUEZ                      CO     90012390125
972B4221872B22   LUCY         ORTIZ                        CO     33091482218
972B4555472B22   APRIL        DRISCOLL                     CO     90014785554
972B4659791951   PORFIRIO     CRUZ                         NC     90013026597
972B5211472B62   JULIO        VERGARA                      CO     90013792114
972B53A314B588   JESUS        HERNANDEZ                    OK     90015313031
972B5489172B56   ERIKA        PEREZ                        CO     90008294891
972B5555472B22   APRIL        DRISCOLL                     CO     90014785554
972B5681991882   OLANSON      JANE                         OK     21035386819
972B5812572435   PAUL         LAWRENCE                     PA     51014948125
972B615455B531   SARA         QUEZADA                      NM     90008831545
972B6156961979   MICHELLE     STOOT                        CA     90014881569
972B6291472B24   MARIA        GARZA                        CO     33062372914
972B641A55B548   ELIAS        MORALES                      NM     90014904105
972B646755B361   MICHAEL      LAZORINA                     OR     90003464675
972B64A9461979   ERIKA        MARTINEZ                     CA     90010254094
972B668795B383   ANNETTE      CAMPBELL                     OR     44579136879
972B6A5214B235   DAVID        VALENTIN                     NE     27071200521
972B6A56A43584   ELISAR       LUNA                         UT     90011790560
972B6A84A55999   ESTELLA      JIMENEZ                      CA     90012990840
972B723A272B56   KENDRA       MORELAND                     CO     90005012302
972B728A172B22   MARRISA      CARBAJAL                     CO     90008502801
972B74AA391951   WILLIAM      WALLACE                      NC     90002094003
972B7A1A44B588   EDWARD       AMARAL                       OK     90012850104
972B7A56A43584   ELISAR       LUNA                         UT     90011790560
972B839365B361   RICARDO      MARTINEZ                     OR     90010283936
972B888194B588   AMANDA       MANNING                      OK     90001798819
972B943A98594B   EMANUEL      JUREZ                        KY     66024804309
972B97A774B949   VONCHISHA    RUBEN                        TX     90013147077
972B985715B531   WILLIAM      LOWERY                       NM     90008278571
972BB739391599   ALBERT       MENDEZ                       TX     90012567393
972BB769381669   JENNIFER     RODRIGUEZ                    KS     90002417693
972BB96268437B   CRYSTAL      PORCHER                      SC     90006239626
972BBA33943584   EDWARD       SAMMILEE                     UT     90009180339
972BBA7835B548   MARCIANO     PINEIRO                      NM     35096470783
97311411372B56   JOSE         RAMIREZ                      CO     33043514113
9731142A54B554   TERRY        HOSKINS                      OK     90013224205
973122A5691599   CLAUDIA      HERNANDEZ                    TX     90007302056
97312635A41296   ANGELO       AMADOR                       PA     90008656350
973129A1272B24   ISIDRO       CISNEROS                     CO     33009819012
97313733172B42   PAULA        RUIZ-AROSTEGUI               CO     33002577331
9731386355B383   CHERYL       CRECELIUS                    OR     90002728635
9731395958B175   ERASMO       LOPEZ                        UT     90014169595
97313A63297123   LAURA        DIAZ DOMINGUEZ               OR     90006620632
9731427714B554   RENE         MANZANO                      OK     90010972771
9731468184B554   BOBBY        CHAMBERS                     OK     90007666818
9731471A471936   ANNA         KARIEGE                      CO     90011967104
9731475255B383   JASON        BIGGS                        OR     44551627525
97315254A97123   ABDUS        AHMAD                        OR     90001882540
97316798272B3B   MANEL VIC    MONTES                       CO     33077997982
97317612A5B531   JOSEPH       ANAYA                        NM     90008596120
973178A8A61979   SHARON       ZARAZUA                      CA     90014188080
97317A9A172B62   LUIS         PENA                         CO     33096270901
9731865664B554   DONNA        JAMESON                      OK     90007336566
973186A6591399   ATIYA        BRADLEY                      KS     90010016065
9731889847B444   RUSSELL      DANIEL                       NC     90013678984
97319115A72B42   SHANNON      CLARK                        CO     90011921150
9731916145B548   DENNIS       PLATERO                      NM     90014911614
97319458572B3B   DONNA        BELCHER                      CO     33092854585
97319A28591579   DANIEL       SARIANA                      TX     90009070285
9731B16637B444   TIMIKA       MARTIN                       NC     11088611663
9731B393755946   TORI         GARDNER                      CA     90009553937
9731B668672435   ROOSEVELT    KIRBY                        PA     90006366686
9731BA39272B24   JOSE         ROJAS                        CO     33034040392
9732112264B588   LETICIA      DOMINGUEZ                    OK     90015331226
97322A7395B383   LETICIA      SANCHEZ                      OR     44585570739
973243AA74B554   MORGAN       TUGGLE                       OK     90010973007
9732441195B548   ESCAMILLA    ALEJANDRA                    NM     90007194119
973245A8461979   ELIZABETH    HERNANADEZ GONZALES          CA     90012405084
97324A3145B361   FRANCISCO    VILLEGAS                     OR     90014980314
9732517725B548   ESPERANCE    KAZUNGU                      NM     90014911772
97325862672B3B   MARIO        JASO                         CO     90012848626
97326222A4B588   GLORIA       CALDERON                     OK     90007592220
9732626615B361   YECICA       GARCIA                       OR     44505452661
9732686945B383   IVAN         GALEANA MEDINA               OR     44589538694
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1801 of 2350


97326A17997123   CHRISTOPHER   LANCE STEGALL               OR     90004080179
9732712572B865   STEVE         ARESVIK                     ID     90001571257
9732736A74B588   JAVIER        ARBALLO-NAJERA              OK     21550133607
97328A9A972B32   MICHAEL       IMBRAGUGLIO                 CO     90013810909
9732B14224B554   RICHARD       COOKS                       OK     90012781422
9732B191272B22   ASHLEY        GAY                         CO     90015111912
9732B76667B444   SHAMEKA       WRIGHT                      NC     90014547666
97331164572B62   PHILLIP       DILOSA                      CO     33054811645
973313A2A97123   ROBERT        COX                         OR     90009853020
9733147477B444   TANZIE        AMDERSON                    NC     90014084747
97331A63591951   ANGELINA      VAZQUEZ                     NC     90014720635
9733318855B548   ANNA          SEDILLO                     NM     90014911885
97333821A61979   JODY          PARKER                      CA     90014188210
9733389A372435   CHRISTINA     SKIDMORE                    PA     90003128903
97333A87293732   LIYLA         SMIEH                       OH     90006340872
97333A9792B891   KIENNETH      TRAN                        ID     42016110979
973345A374B588   JUAN M        CASTRO                      OK     90012435037
97335151872B3B   JOVON         SHAWNTE MARTINEZ            CO     33045011518
9733563977B449   CANDAE        LOVELL                      NC     90006526397
973362A784B235   LOU           COTTONE                     NE     90003522078
97336333472B32   CESAR         ADRIANO                     CO     90012573334
97336798172B42   SHARUNN       PHILLIPS                    CO     33055797981
97336985A5B383   ALTON         DUKES                       OR     90014769850
9733719A95B548   ALEXIS        ANAYA                       NM     90014911909
9733746175B531   REESE         KANESTA                     NM     90012904617
9733776745B393   KREGG         DAVENPORT                   OR     90012667674
9733857378594B   MELVIN        RIFFLE                      KY     90014625737
9733865A333638   MONIQUE       MOORE                       NC     90013006503
9733887468B175   RAYMUNDO      LOMA                        UT     31060878746
97338928A72B62   VERONICA      URBINA                      CO     33054489280
97339611872B22   RONDA         VIGIL                       CO     90014786118
97339933A41296   TAMARA        GREEN                       PA     90009289330
97339A14372B3B   CHRISTOPHER   SANDOVAL                    CO     90013210143
9733B148A5B383   SUZIE         DAVIS                       OR     44511551480
9733B3AA272B3B   OSCAR         FAVELA                      CO     90007073002
9733B671481635   NATHAN        WEST                        MO     90009736714
9733B75598B175   LESLIE        ELLER                       UT     31074727559
9733BA74781635   WRETHA        MADRIGAL                    MO     90005520747
97341819A4B588   JOSUE         GARCIA                      OK     90011038190
97342284172B32   JACQUELINE    MENDOZA                     CO     33014382841
9734246934B949   LAJONTE       SIMS                        TX     90012924693
9734273A52B891   CHERI         WOLFE                       ID     90004257305
973428A7672B3B   DAWN          ROE                         CO     90011988076
97342A75972B22   JENNIFER      KRICHAU                     CO     90008160759
97343135A81639   SHAUN         HORTON                      MO     29006021350
97343243172B51   DANA          MORTON                      CO     90014822431
9734335194B554   JOSE          PEREZ                       OK     90014523519
97343566372B51   DANA          MORTON                      CO     90014815663
97343765172B22   JAIME         CONNER                      CO     33010917651
97343A48A4B588   LUCAS         WHITE                       OK     90005580480
9734446644B949   STEPHENE      DOBBINS                     TX     90014694664
97344619472B22   ROSIO         FLORES                      CO     90014786194
9734536472B891   MARANDA       MARIANO                     ID     42016123647
97346475772B32   KARL          SNYDER                      CO     33077394757
9734677A193755   SHELLY        HUTCHINSON                  OH     90011147701
9734694853164B   SALVADOR      MARROQUIN                   KS     22083539485
97347718A72B42   PONCH         MASON                       CO     90013097180
97348A9255B548   ELENA         VASQUEZ                     NM     35073970925
9734923823164B   SILVIA        PULIDO                      KS     22090802382
97349623A72B22   BRYAN         FOOSE                       CO     90014786230
9734974773B392   FELIPE        CARRANZA                    CO     90002817477
97349874572B3B   EDUARDO       CAONA                       CO     90007038745
9734996687B444   JUAN          ARGUETA                     NC     90012389668
9734B11A891951   CORDAY        WASHINGTON                  NC     90015171108
9734B17A272B32   TANIA         GRANADOS                    CO     90004971702
9734B428672B56   JUAN          LOPEZ                       CO     90011844286
9734B443491599   ADAM          CARRILLO                    TX     90014684434
9734B44A191599   LIDIA         ADAME                       TX     90014704401
97351474572B62   CRYSTAL       JARAMILLO                   CO     90000314745
973516A8A53B2B   NACY          AGUILAR                     CA     90014136080
973527AA731651   HANNA         OWEN                        KS     90012697007
973529A2293799   DANA          DAY                         OH     90011529022
97352A61591599   JACQUELINE    DE LUNA                     TX     90013290615
97353645672B62   JEANNETTE     MEDINA                      CO     90010156456
97353A24993747   TERESA        HILTERBRAN                  OH     90012570249
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1802 of 2350


97353A3695B548   MARICELA     MEDINA-MOREIRA               NM     35025440369
97353A9324B588   JUSTIN       WILLIAMS                     OK     90012760932
9735414A691399   CORITA       PHILLIPS                     KS     90002151406
973554A825B361   ROSA         MERINO APARICIO              OR     90014794082
9735593675B383   LETICIA      PETERS                       OR     90006859367
97355974572B22   ALISHA       PENAFLOR                     CO     33046759745
97355A46474B68   BRYAN        GRIFFITH                     OH     90014620464
9735636227B444   PADAM        PRASAI                       NC     90013373622
973564A825B361   ROSA         MERINO APARICIO              OR     90014794082
9735663977B449   CANDAE       LOVELL                       NC     90006526397
97356825972B32   JESUS        GALDAMEZ                     CO     90010148259
9735797A872B32   BASILIO      DAVALOS                      CO     90015129708
9735888945B383   MITCHELL     SHUKURA MYLECE JAMIRA        OR     90005948894
97358A1984B588   RAUL         BENAVIDES                    OK     90014270198
97358A29572B24   GUILLERMO    SIC                          CO     90009790295
973591AAA81635   MARY         DUNLAP                       MO     90012071000
9735936A372B22   SANJUANA     SOTO                         CO     33006583603
9735978495B548   JOHNNY       BARELA                       NM     90014927849
9735B427172B24   JAIR         ACUNA                        CO     90005544271
9735B624372B22   CLAUDIA      CHAVEZ                       CO     90014786243
9735B652493727   DRISS        BELGUELLOUCHE                OH     90012396524
9735B69364B949   CATALINA     PONCE                        TX     76576176936
9735B98288B175   ARMANDO      OROZCO                       UT     90014169828
9735B984481635   CRISTINA     HERNANDEZ                    KS     90015139844
9735BA3A291951   TONY         BLAND                        NC     90004850302
9736112184B588   SHAWANA      TURNER                       OK     90009341218
97361323872B42   FLAVIO       VICENTE                      CO     90009943238
97361A92A72B62   ANA          WILLSON                      CO     90005210920
973622A547B444   BRITTANY     SHARPE                       NC     90013582054
97362391A5B356   RIGORBERTO   CARRASCO PEREZ               OR     90007143910
9736252913164B   DORA         REYES                        KS     22035305291
97362597572B24   KASIE        MEMMER                       CO     33017005975
9736299112B891   VERONICA     MENDEZ                       ID     42098219911
9736322135B361   SERGY        YUFEREV                      OR     44510612213
9736343585B531   MICHELLE     BEGAYE                       NM     90011124358
97363439472B56   ELVIS        LEMUS                        CO     90011844394
973635A788594B   KELLY        MCMILLIAN                    KY     90014425078
9736367544B588   TODD         GUNTER                       OK     90012086754
9736388963164B   DARREN       JONES                        KS     90009468896
973639A368594B   BILLY        MCMILLIAN                    KY     90007959036
9736422475B548   ISAIAH       LOPEZ                        NM     90011582247
9736424A472B42   LYDIA        RUIZ                         CO     33015312404
9736438A261979   ALEXIA       MARSDEN-HERNANDEZ            CA     90010363802
97364421372B32   DANIEL       MORA                         CO     90014324213
9736445758594B   KEITH        PARTIN                       KY     90014574575
9736523A372435   LISA         GRAY                         PA     51042662303
97365582572B62   RAYNA        FIERRO                       CO     90007365825
9736561333164B   LUIS         BOTELLO                      KS     90005406133
9736572525B548   DAVID        ATENCIO                      NM     90010487252
97365AA5881634   DANA         WEST                         MO     29046580058
9736631667B444   TELACIA      JONES                        NC     90014853166
9736725684B949   CHESTER      BECKETT                      TX     90014442568
973672A425B548   LIZBETH      MARTEN                       NM     90014912042
973674A825B361   ROSA         MERINO APARICIO              OR     90014794082
9736768A893755   REGINA       WATKINS                      OH     90002696808
9736791475B531   DIANA        LOVATO                       NM     90012999147
9736854A95B531   ANDREA       GABALDON                     NM     90014415409
973685A3891599   ELSA         OJEDA                        TX     90009545038
9736872485B383   ENRIQUE      ESTRADA                      OR     90013717248
97368944A72B62   JOSEPH       DANIEL                       CO     90010249440
9736899A691544   JOSIE        GACHUPIN                     TX     90006449906
97369197572B3B   JENE         THOMAS                       CO     33018151975
9736945444B949   ENRIQUE      HERNANDEZ                    TX     90013844544
9736978648B175   JESSICA      SHORTT                       UT     90004657864
9736B2A1A8B352   KELLY        WILLIAMS                     SC     90015362010
97371196A5B531   MARINA       ROJAS DE VALDOVINOS          NM     35077001960
9737213663164B   JUSTIN       ANDERSON                     KS     22086851366
973724A825B361   ROSA         MERINO APARICIO              OR     90014794082
97373217472B32   ARMANDO      ELIZALDE                     CO     33028112174
9737352145B361   REIKINA      MODOU                        OR     90013945214
9737359317B343   ROBIN        PINE                         VA     81062895931
9737421A172B24   ROMELIA      MORALES-LECHUGA              CO     33042462101
973742A765B548   AMPARO       PONCE                        NM     90007982076
97374AA524B949   TONJIA       JONES                        TX     90012010052
9737527A772435   CARA         LANPHEAR                     PA     90014852707
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1803 of 2350


97375A9694B554   MELISSA       WALLS                       OK     90015260969
97376252572B32   SHANIELLE     RODRIGUEZ                   CO     90014832525
97376A6233164B   FRANKIE       SHINN                       KS     22080770623
97376A7717B444   LATISHA       BATTS                       NC     11042410771
97378113872B57   KIMBERLY      GONZALEZ                    CO     90012501138
9737821554B524   CANDIS        WHITE                       OK     90015202155
97378253172B22   JORGE         MARTINEZ                    CO     33028332531
9737882228594B   VIRGINIA      SCHWAB                      KY     66037268222
97378879672B42   THOMAS        LITTLETON                   CO     90001708796
9737899758B175   LEVI          RICE                        UT     90014169975
97378A1854B554   BRENDA        HANNAH                      OK     90000120185
97379265372B32   CHRIS         JENKINS                     CO     33066782653
97379345272B22   MIRTA         GARCIA                      CO     90012503452
9737954AA91951   JANISE        BALDWIN                     NC     90014725400
97379A9868594B   LISA          SHOOK                       KY     90014160986
9737B772A81639   YEMESRACH     ESHETE                      MO     90009837720
9738114A15B361   ABRIANNA      WILLIAMS                    OR     90011191401
9738169345B361   BRI           WILLIAMS                    OR     90012736934
9738177A772435   EDWARD        BRIDGE                      PA     90012077707
9738181615B531   ERIKA         BARRAZA                     NM     90013268161
9738199938B175   ASHLEY        LAWRENCE                    UT     90014169993
973822A675B548   JOEL DAMIAN   DORADO ALVARADO             NM     90014912067
9738231415B383   SHAY          WALKER                      OR     44538483141
9738264312B891   DEBBIE        DEVILLIERS                  ID     42008866431
9738278395B548   MARCUZ        SANCHEZ                     NM     90014927839
9738281874B949   MARY          LAZARO                      TX     90000418187
97383286372B62   ELIZABETH     HOFFSCHNEIDER               CO     33030722863
97383379972B42   DEREK         BOSTWICK                    CO     90013113799
9738367A17B444   DANIEL        CHARLES                     NC     11043096701
973837A7581635   CAROLYN       ZOLLAR                      MO     90007557075
9738395298594B   JACKIE        NAPIER                      KY     66006929529
973842A675B548   JOEL DAMIAN   DORADO ALVARADO             NM     90014912067
9738442118594B   NIKKI         MAHONEY                     KY     66063334211
97384518272B42   JERRYME       MORALES                     CO     90005245182
97384827A5B383   JASON         VLAS                        OR     90002628270
97385142172B42   YOUNG         SMOOTH                      CO     90014871421
9738549124B554   JULIAN        TODD                        OK     90013534912
9738677314B949   SERGIO        MARTINEZ                    TX     90015147731
97387298A7B449   KENISHA       BILLUPS                     NC     90011252980
973877A3472B3B   LOUISE        EASLEY                      CO     90002387034
97388519A72B24   JOHN          VIZZI                       CO     90005635190
9738852675B361   MARINA        PITALENKO                   OR     90012955267
9738859555B531   FRANCES       GONZALES                    NM     35053845955
973886A763164B   ZOEY          ROMERO                      KS     90015126076
9738893997B471   VERONICA      RANGEL                      SC     90002739399
973894A5572B42   JOSEPH        MARVELLE                    CO     90012874055
9738999824B588   EZEQUIEL      MARTINEZ                    OK     90015099982
97389A4493B358   VALERIE       LANI                        CO     33030360449
9738B2A7472B22   CARMEN        BANDA-CONEJO                CO     33005962074
9738B382961927   CHRISTOPHER   LAWRENCE                    CA     90003103829
9738B39735B548   JACINTO       CONTRERAS-ORDONEZ           NM     90008203973
9738B991677537   HEIDY         MANZO                       NV     43076709916
97391636772B22   MICHAEL       REYES                       CO     90014786367
9739166414B949   JUAN          HERNANDEZ                   TX     90015106641
97391948A5B361   MARIE         LIMPAHAN                    OR     90000769480
9739231425B34B   KELLY         KLIPPEL                     OR     90000953142
97392682272B3B   MARIA         BANKHEAD                    CO     90009946822
97393456772B22   FERMIN        TORRES                      CO     33038694567
97393675672B42   MICHELLE      SCHREIBER                   CO     33087586756
9739423679153B   ANABEL        ESCOBER                     TX     90009622367
9739429A85B548   LEIGH         VANBUSKIRK                  NM     90001012908
9739431425B34B   KELLY         KLIPPEL                     OR     90000953142
973947A445B361   VELINA        CASTRO                      OR     44545567044
9739491565B525   RANDY         MAPES                       NM     35082059156
9739535267B444   PRISCILLA     HINES                       NC     11098553526
9739544A591951   RHONESHIA     ALLEN                       NC     90013404405
9739633514B56B   ENEDINA       BULLOCK                     OK     90011603351
97397382972B42   IDA           DOMINGUEZ GARCIA            CO     90009283829
9739739245B548   ERIKA         TAFOYA                      NM     35045003924
9739786455B531   CARLOS        MELENDEZ                    NM     90013388645
9739791235B383   LUKE          THOMAS                      OR     90009839123
9739793A75B383   ALBERTO       CAMARENA                    OR     90014349307
97398853A5B548   DEEANNA       CHAVEZ                      NM     35061638530
9739895555B361   VANESSA       OLDS                        OR     44584709555
97398A74A91951   EZEQUIEL      SANDOVAL                    NC     90012800740
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1804 of 2350


97399886472B3B   APRIL        VANWAGONER                   CO     90008458864
97399A32361979   JACKIE       GARCIA                       CA     90007870323
9739B122861982   DIANE        REYES                        CA     90010061228
9739B214872B22   JOSE         FELICAN                      CO     90014412148
9739B348972B32   HECTOR       RAMOS                        CO     33056053489
9739B767177537   STEPHANY     LOPEZ-REYES                  NV     43094437671
9739B834661979   ANGELICA     CORNEJO                      CA     90014188346
973B118245B361   BRENDA       MAGGARD                      OR     90014791824
973B1484691599   ENRIQUE      TREJO                        TX     90013374846
973B1826672B42   ANA          ORTIZ                        CO     90014938266
973B2589372B3B   BRADLEY      DEVER                        CO     33002775893
973B285588594B   MARK         MORENO                       KY     90010218558
973B286925B531   AJAY         VERMA                        NM     90012448692
973B295A28B175   NATE         MORGAN                       UT     90014169502
973B33A1A72B3B   JANETTA      KIRBY                        CO     33064533010
973B3728733B63   CORY         WADSWARTH                    OH     90014497287
973B426243164B   LADAHL       BURK                         KS     90014232624
973B4599672B22   ISAAC        SALAS                        CO     90014785996
973B4873541296   DAVID        SHUMARD                      PA     90014258735
973B519A14B588   SYDNEY       KEITH                        OK     90013281901
973B5811697123   ABRAHAM      GUZMAN                       OR     90002428116
973B5837772B56   JOSI         STEWART                      CO     90000308377
973B59A4681639   MARCIA       VANDERGRIFF                  MO     29066999046
973B6185A81639   JOSE         LOPEZ                        MO     90008291850
973B6261872435   STANLEY      MORRIS                       PA     90015592618
973B7687A81634   OSCAR        RIVERA                       MO     29069536870
973B7A92197123   COSSETTE     MARTINEZ                     OR     90011610921
973B836725B383   BRETT        WOOLSTENHULME                OR     44558823672
973B8822272B22   MARIA        ALBA                         CO     33003828222
973B8829A72B3B   BRITTANY     WILSON                       CO     33046788290
973B8A2A73164B   AURORA       GUARDADO                     KS     22089030207
973B916422B891   LORI         LUNA                         ID     42006801642
973B943488B175   RUBEN        FRANCO                       UT     31079894348
973B9477277537   MIKE         LIMAN                        NV     90012634772
973B9833472B32   GERARDO      SANCHEZ                      CO     90012348334
973BB862881635   RYAN         GRAVES                       MO     90006768628
9741135498B175   JOSH         RAY                          UT     90009093549
974115A744B554   CLEMMIT      SHANNON                      OK     90014315074
97411861A91599   MARGARITA    LOPEZ                        TX     75017108610
97411991372B24   ROBERT       ALLAN                        CO     90004049913
9741222838594B   MATT         PENICK                       KY     90001762283
9741223615B548   TAITUM       MACE                         NM     90014912361
97412A8483164B   LARNELL      JAMES                        KS     90013130848
97412A93797123   MARIA        DELGADO                      OR     44052830937
9741352112B891   BRANDI       MCCONKEY                     ID     42092285211
9741423825B548   ISABEL       RODRIGUEZ-MENA               NM     90014912382
97414474876B52   GUILLERMIN   SALDIVAR                     CA     46096714748
97414A2394B554   SANDY        PHAM                         OK     90013550239
9741523825B548   ISABEL       RODRIGUEZ-MENA               NM     90014912382
97415A29872B22   MIRIAM       DIAZ                         CO     33029860298
97415A2A58B175   SELENE       CHINO                        UT     90014170205
974161A3572B42   ROXANNE      MARQUEZ                      CO     33013731035
9741623825B548   ISABEL       RODRIGUEZ-MENA               NM     90014912382
9741632535B531   AUDREY       GARCIA                       NM     90000763253
97416678A81634   RENITA       SUMMERVILLE                  MO     90014176780
97416847172B56   EVA          ROSALES                      CO     33091418471
9741745712B891   TREVELYN     CLOVER                       ID     90013944571
9741769835B361   MIGUEL       GUERRERO                     OR     90010296983
9741787894B588   RICKEY       SMITH                        OK     90015008789
9741823825B548   ISABEL       RODRIGUEZ-MENA               NM     90014912382
9741849378B175   YVETTE       ROMAN                        UT     90006484937
9741865815B361   ANGELICA     MAYA                         OR     90002726581
9741868A28594B   SHANE        TAYLOR                       KY     90011816802
9741897167B449   PATRICIA     MACKIN                       NC     11096509716
9741947A472B22   WATERBURY    DONALD                       CO     90004884704
97419649872B22   JOLENE       CARRERAS                     CO     90014786498
9741B587691532   MARIBEL      ARTEAGA                      TX     90010455876
9741B5A2191399   FLORA        RIVERA                       MO     90014715021
9741BA8594B949   JEFFEREY     FURR                         TX     90002980859
97421679572B62   MISTY        REED                         CO     90012316795
9742168282B891   WILLIE       WRIGHT                       ID     90003956828
974217A895B548   JEANETTE     MORA                         NM     35034597089
97421AAA591551   NANCY        VILLALOBOS                   TX     90011750005
97422244A72B3B   MUNUEL       COVARRUBIAS                  CO     90012072440
9742237A872B32   MARIKA       MCMEANS                      CO     33012233708
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1805 of 2350


9742282845B268   CRYSTAL        STRATTON                   KY     90013258284
97422892A91399   MARIA          MOTA                       KS     90013218920
97422A4984B949   EDDIE          STEWART                    TX     90001370498
97424338572B32   DIANA          GANT                       CO     90004193385
9742494465B548   LUIS           MELGAR                     NM     35093829446
97424998972B42   JERONIMO       MORALES                    CO     33096269989
9742556823164B   LUTHER         OWENS                      KS     22035415682
974261A168594B   BEVERLY        SAMS                       KY     90014161016
974263A2672B22   ROBERTA        HANDBOY                    CO     90014423026
9742671565B361   RICARDO        MERCADO                    OR     90013337156
9742686854B588   BILLY          WILLIMS                    OK     90015558685
97427126A5B383   BILL           CURINGTON                  OR     90012231260
97427181A97123   MONICA         CHAVEZ                     OR     90005451810
974271A168594B   BEVERLY        SAMS                       KY     90014161016
9742724525B548   LUCAS          QUINOES                    NM     90014912452
97427892A91399   MARIA          MOTA                       KS     90013218920
974278A283B394   KATHRYN        CHAVEZ                     CO     90009338028
9742799215B394   JODIE          EASTON                     OR     90012689921
9742824725B548   JEROME         GARCIA                     NM     90014912472
9742825524B949   NEAQUEL        HULL                       TX     76566882552
9742831667B444   HADTEMICHALE   BAIRU                      NC     90007583166
97428539872B42   MICHAEL        BUDDENHAGEN                CO     90014745398
9742855665B383   ANGEL          BASILIO                    OR     90014865566
9742857414B588   VICTOR         RODRIGUEZ                  OK     90013105741
9742871985B361   ALVIN          KINNEY                     OR     90010297198
9742876268B149   JARED          CHRISTENSEN                UT     31032127626
97428937A77521   AL             GORANSON                   NV     90001229370
97428A98A5B531   JORGE          OLIVAS                     NM     90011310980
9742914455B383   CHELSEA        ACTKINSON                  OR     90005011445
97429A19472B3B   FELICIA        ONSTOTT                    CO     33080640194
97429A3984B588   SUNNY          SMITH                      OK     90011890398
9742B65A291951   ISAURO         HERNANDEZ                  NC     90011496502
97431625372B3B   NANSI          CASTRO                     CO     90006326253
9743184285B548   SAMMY          MONTGOMERY                 NM     90015278428
9743192A281634   KENYA          JOHNS                      MO     29084589202
9743192A991951   BERARDME       DABRE                      NC     90014729209
97432693372B32   TERESITA       RAMIREZ                    CO     90000406933
97432958972B42   AUDRA          GEDNALSKE                  CO     90014929589
97432AA1193755   MICHELLE       ALLEN                      OH     90014690011
9743385148B175   JUAN           VARGAS                     UT     31088278514
9743393427B444   EDITH          CARO                       NC     90013039342
97433A21991951   SHAKELL        DEGRAFFENREIDT             NC     90014740219
97434138472B62   AMANDA         MEZA                       CO     90008691384
9743431688B175   LISA           CLARK                      UT     90014703168
97434441A5B383   JONES          GLYNN                      OR     90013064410
97434629A61979   AIOTEST1       DONOTTOUCH                 CA     90015116290
9743492157B365   NADEEM M       MIRZA                      VA     90000559215
97434A25272B32   GENESIS        RIVERA                     CO     33028770252
9743541464B949   JASMINE        BAILEY                     TX     90012984146
9743548465B531   ISIDOR         GARCIA                     NM     90013474846
97435669A5B361   SCOTT          MALENOVITCH                OR     90013946690
97435A6844B554   GEORGE         HEMPHILL                   OK     21585450684
97436496372B62   SANDRA ANN     WYATT                      CO     90012414963
9743653AA54172   ASHLIE         ORTIZ-TOWNER               OR     90012405300
97437138972B62   ROGER          HERNANDEZ                  CO     90012921389
974374A937B444   SPENCER        THOMAS                     NC     90013784093
974375A4461941   RODRIGO        RIVAS                      CA     90008575044
974377AA672B22   JOSEFINA       SAUCEDO                    CO     33074457006
97437945A97123   SHELBY         HOLCOMB                    OR     90001699450
9743825925B548   NYOMI          LOPEZ                      NM     90014912592
9743832A872B24   JUAN           GONZALEZ                   CO     90009253208
9743839A87B444   LAURIE         MELTON                     NC     90011143908
974383AA15B361   TIFFANY        LEWIS                      OR     44507873001
9743954185B383   MARCUS         EIVERS                     OR     90010675418
9743B178A5B383   LUCIEN         LAVOIE                     OR     90008311780
9743B26A44B949   DEVIN          BAKER                      TX     90013242604
9743B529372B62   FRANCISCA      MAYO TADEO                 CO     33076115293
9743B619741296   ABIGALE        DELANCEY                   PA     51076916197
9743B64915B548   LEISA          CASADOS                    NM     35044556491
9743B66854B554   AAREN          STEVENSON                  OK     90013136685
9743B745533698   BULMARO        CRUZ                       NC     90003117455
9743BAA5781635   CYNTHIA        WEYHOFEN                   MO     90013450057
97441743933B63   JESSICA        ROSE                       OH     90014527439
9744272578594B   MAGGIE         CAMPBELL                   KY     90014757257
9744337A797B21   SHERRI         WELLMANN                   CO     90010613707
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1806 of 2350


9744349117B444   TARA            MILLER                    NC     11002544911
97443A47381634   JOEL            SOTO                      MO     90014390473
97443A52A81639   LANARD          GREEN                     MO     29008330520
97443AA6A3164B   BRENDA          ROWE                      KS     90013760060
97444AA124B554   AMANDA          MOORE                     OK     90013860012
97445854A61979   JENNIFER        LEWIS                     CA     90014188540
9744593455B361   MIGUEL          OCAMPO FERNANDEZ          OR     90014849345
97445A14291951   TIQUESHA        MILLER                    NC     90014730142
974467AA972435   MELANIE         RICE                      PA     51025337009
97446968572B62   REBECCA         WEST                      CO     33092549685
9744763468B187   RACHEL          HALL                      UT     31095666346
9744773963164B   CAROL           EDWARDS                   KS     90004147396
97447994972B42   ERIKA           GARCIA                    CO     90001129949
97448649572B42   PAULINA         CRUZ                      CO     90010426495
97449229172B56   ANDY            GARCIA                    CO     33000272291
97449AA2372B42   JUANITA         DOMINGUEZ                 CO     33051710023
9744B282181641   DARELL          COOPER                    MO     90015252821
9744B386791399   MONICA          CONDE                     KS     90006033867
9744B491681634   ELIZABETH       ARACELY                   MO     90015174916
9744B4AA75B531   FRANCISCO       DIAZ                      NM     90014424007
9744B94A17B444   KENNETH         MCKOY                     NC     90014769401
9744B955491599   FAUSTINO        GONZALEZ                  TX     90005579554
9745124435B531   MANUEL          ROMERO                    NM     90004972443
9745196113B394   CHAD            BABCOCK                   CO     90008949611
974519A5791951   TELISHA         HALL-COX                  NC     17041959057
97451A2124B588   DENNESCIA       ROBINSON                  OK     90000710212
97452332172B22   NAI AHYUK       CHIT                      CO     90009773321
9745272294B554   JERRY           ROLLINS                   OK     90006067229
9745274195B361   HIPOLITO        GONZALEZ GOVEA            OR     90013947419
97452A57854B42   ZERIAH          HODGINS                   VA     90004310578
9745323924B588   AURORA          MALDONADO                 OK     90010832392
97453248187B48   STEVE           MOORE                     AR     23045042481
9745335772B276   CARL            PAYTON                    DC     90008693577
9745394A57B444   JOSE            PINEDA                    NC     90012959405
97453A22891951   STEVE           O                         NC     90014730228
9745414934B554   JIMMY           THOMAS                    OK     90013991493
974542A6A4B588   STEPHANIE       HOOD                      OK     90014702060
97454593472B42   JEREMIAH        HAPING                    CO     33094025934
9745573A54B235   GUADALUPE       RAMIREZ                   NE     27092027305
97455829572B22   KENNETH         ZIEGLER                   CO     33055158295
9745595235B383   ANNA MICHELLE   JIMENEZ- FLORES           OR     90006029523
97456594972B22   JOHN            BEAVER LLL                CO     33015235949
974565A4697123   LORENA          GARCIA                    OR     90010215046
97456A43972B32   SHELLY          VASQUEZ                   CO     33081380439
97456A5A791951   MICAH           GOODWIN                   NC     90014740507
9745731614B588   WILLIAM         SMITH                     OK     90013883161
974574AA372B3B   REBECCA         FLORES                    CO     90010774003
97457571172B56   LISA JANE       GRANIEL                   CO     90010185711
97457793672B42   JORGE           GARCIA                    CO     33059507936
9745828A45B548   ELIZABETH       VILLA                     NM     90014912804
974583A528594B   BENJAMIN        HACKER                    KY     90014483052
9745841387B444   EBONY           PICKENS                   NC     11029594138
97458722572B62   SAVOI           MORRIS                    CO     90014237225
9745886A472B56   JOSE            SUAREZ                    CO     90006888604
97458987172B22   DESEREA         WOODFORD                  CO     90006099871
9745947A84B588   JENNY           BLAINE                    OK     90012674708
9745951A872B3B   CARLOS          GOMEZ                     CO     90009935108
97459539872B42   MICHAEL         BUDDENHAGEN               CO     90014745398
97459666372B3B   CARLOS          IBARRA                    CO     90013576663
974598A158B175   JUDY            CURTIS                    UT     31012678015
9745B26595B548   JUDITH          ENRIQUEZ                  NM     90014912659
9745B45847B444   JUAN            TORRES                    NC     11004594584
97461123772B62   BREANNA         ELKINS                    CO     90013311237
9746129365B548   DANIEL          MAREZ                     NM     90014912936
9746149455B361   ABIGAIL         GARCIA                    OR     44577764945
97462123A5B531   LAURA           PALMER                    NM     90013381230
9746294587B449   EMANUEL         SEEGARS                   NC     11001699458
97463A5135B531   DENISE          ARAUJO                    NM     35004110513
97463A6A35B361   GENNE           REILLY                    OR     44573380603
9746442A15B361   DEAN            DINSMORE                  OR     44511594201
97464A79491599   VILLANUEVA      DANIEL                    NM     90012010794
97464A8954435B   KAREN           FRANCIS                   MD     90014690895
974658A9A72B62   VINCENT         VARGAS                    CO     33090738090
97465A3128594B   DEAN            ARVIN                     KY     66001300312
97466271572B3B   RUBI            RODRIGUEZ                 CO     33052992715
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1807 of 2350


97466292A7B444   MARIA        HERNANDEZ                    NC     11044752920
97467358A91399   KENNETH      LONG                         MO     90014633580
9746736695B288   MAMUDOU      SALLAH                       KY     90011643669
97467459A72B42   R            MYERS                        CO     33095204590
97468682A91399   MICHEAL      POOL                         KS     90003306820
97468929572B62   ANGELICA     CARRASCO                     CO     33042319295
97468A99472435   DONALD       DUCHENE                      PA     90015480994
9746972215B569   MARGARET     HERRERA                      NM     90000387221
9746996214B554   DESTINY      YEINGST                      OK     90012369621
9746B361A5B548   ELIZABETH    NEWMAN                       NM     90008023610
9746B4A6A5B383   HEATHER      BOLDS                        OR     90010184060
9746B535557564   IRENE        SAENZ                        NM     90012945355
9746B811772B56   JAMES        DRAIN                        CO     33010678117
9746B963793755   SHALANDA     STEVENS                      OH     64570119637
9746B96474B588   JAUN         HERNANDEZ                    OK     90001289647
9746BA8445B548   LISA         NEWMAN                       NM     90012570844
97471438A91599   RUDY         BERTOLLI                     TX     90012424380
9747156735B531   IVAN         HERRERA                      NM     90009945673
9747173A55B134   NIKKIA       RATILFF                      AR     90011807305
97471A52691882   DEMARKO      JONES                        OK     21062200526
9747255A733638   JEREMY       MAYNARD                      NC     90006495507
9747279284B588   TMMOY        JEFFERSON                    OK     90009387928
97473186672B22   KATHY        GARCIA                       CO     90008041866
97474186672B22   KATHY        GARCIA                       CO     90008041866
974744A324B949   NANCY        HULETT                       TX     90007924032
9747479A17B449   JOHNNIE      FLETCHER                     NC     11092627901
9747542A372B62   PEDRO        AGUILAR                      CO     90014124203
9747686435B531   ALEJANDRIN   AVALOS SANCHEZ               NM     35009208643
97476874372B56   CHANA        PEREZ                        CO     90000308743
9747744A872B42   ILDEFONSO    MONTES                       CO     33088994408
974778A538594B   KRISTIE      JEWELL                       KY     90012128053
9747857728B175   ROY          DALE                         UT     90013365772
9747924497B386   NATALIE      BRISENO                      VA     90006492449
9747958A25B361   MARIA        BECERA                       OR     44566925802
97479A94791951   ZEDA         ROCHELLE                     NC     90002720947
9747B434691399   RICHARD      ISABELL                      KS     29041084346
9747B534172B3B   DUANE        DRAYER                       CO     33038435341
9747B835672B62   ANDREA       HAMILTON                     CO     90006068356
97481A11791399   MARIA        VALDEZ CASTANON              MO     90002050117
9748225A372B3B   ROBIDEAU     ZACHARY                      CO     33021722503
9748237497B491   LASHONDA     JOHNSON                      NC     11014513749
97482827A4B554   SHELLA       HUTCHINGS                    OK     21520818270
97482AA7241296   TODD         DETMAN                       PA     90013420072
9748327238B175   SANDRA       GARCIA                       UT     90011592723
9748425A191399   GUILLERMIN   QUINTANA                     KS     29051822501
97484774972B3B   BRIGITTE     ESPINOZA                     CO     33057977749
9748567A68594B   LISA         TOWNSEND                     KY     66043116706
9748651355B361   JOSHUA       HOOKIE                       OR     90014795135
97486842A91399   CAMILLEA     KEYS                         KS     90014708420
974869AA572B32   AMBER        WILLIAMS                     CO     90014509005
9748761A75B531   REBECCA      ARAGON                       NM     90004046107
9748767A672B22   PHALISIA     PRICE                        CO     90014786706
9748861454B588   SHERRI       ELWELL                       OK     90007826145
97488842A91399   CAMILLEA     KEYS                         KS     90014708420
9748886A24B949   ALEJANDRA    ABARCA                       TX     90013418602
97488A7154B588   DANIEL       GUARDADO                     OK     90014750715
9748939159132B   KARA         SMITH                        KS     90010863915
9748942478B175   EDGAR        VICENTE                      UT     90014184247
97489899A81635   JAQUAN       BRYANT                       KS     90015148990
9748B222241296   MATT         GRIBBIN                      PA     51004852222
9748B51234B554   JAY          SHROPSHIRE                   OK     21597515123
9748B822291399   MARIA        MALDONADO                    KS     90014708222
9748B889291599   MARIA        ACOSTA                       TX     90000458892
9748B8A824B949   JANICE       STOKER                       TX     90012788082
9748BA5A261979   ANTHONY      REYES                        CA     46015550502
974912AA891599   NICOLE       ARZATE                       TX     90014742008
9749177945B361   RAY          CARRIER                      OR     44564047794
97491A24A4B588   TOMAS        RIVAS                        OK     90010200240
9749233814B949   BILLY        JOHNSON JR                   TX     90009393381
97492912972B42   DARLENE      AI                           CO     33094809129
97493266872B56   MARC         ARNOLD                       CO     33079952668
9749389668B175   HOWARD       ROBERTS                      UT     31045248966
97493984A41296   DANIELLE     JONES                        PA     90014799840
9749469A772B56   JORGE        SANCHEZ                      CO     90001836907
9749497A45B361   MARIA        TAPIA SANCHEZ                OR     90014849704
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1808 of 2350


97494A7863164B   STAN         BOYER                        KS     22007170786
97495161672B22   ANTOINETTE   AVILA                        CO     90014791616
974957A8372B62   TOMMY        SOUTHERLAND                  CO     90013727083
97496489672B24   GREGORY      BUCKHART                     CO     33075754896
9749737935B531   PATRICIA     DURAN                        NM     35093883793
97497662872B42   JUSTIN       FOSTER                       CO     90004936628
97498472A8594B   BRECKIN      WILSON                       KY     90014574720
97498A9388B175   ANNDEE       RUIZ                         UT     90014170938
9749923535B383   SUSANA       PASILLAS                     OR     44565682353
9749975975B361   CEASAR       LOPEZ                        OR     90013947597
9749B94A161979   VERONICA     FLORES                       CA     90006419401
974B1187761979   HERMINIA     MIRANDA                      CA     90012761877
974B1485591599   MONICA       RODRIGUEZ                    TX     75030734855
974B1733933B63   JONTHAN      AUL                          OH     90014527339
974B187418B175   CHAD         PAIZ                         UT     90010348741
974B1A6197B444   TAQUESHA     SANDERS                      NC     90015460619
974B2127872B62   MERCEDES     GONZALES                     CO     33001851278
974B229535B361   DAWN         QUIRARTE                     OR     90006462953
974B2656472B22   ROQUE        BARRAGAN                     CO     90013066564
974B2761491951   CHRISTIAN    MORALES                      NC     90014727614
974B2783172B42   BEATRIZ      ALVAREZ                      CO     90003027831
974B2841561979   NATHANAEL    MILLER                       CA     90014188415
974B2929191894   CURTIS       JOSIE                        OK     90010689291
974B297A476B85   TERESA       JUAREZ                       CA     46079209704
974B3187A5B361   ELSA         SOLIS                        OR     90012511870
974B3334997123   DIONISIO     ROJAS                        OR     90004033349
974B3539872B42   MICHAEL      BUDDENHAGEN                  CO     90014745398
974B3841561979   NATHANAEL    MILLER                       CA     90014188415
974B3A7863164B   STAN         BOYER                        KS     22007170786
974B4225272B3B   GRACIELA     GUTIERREZ                    CO     90002112252
974B4299672B22   VELINDA      NELSON                       CO     90006402996
974B453387B449   MELINDA      LEONARD                      NC     11091135338
974B4753991399   HARLYN       ROSALES                      KS     90014697539
974B4841961979   MARK         MORGAN                       CA     90014188419
974B484365B548   PEDRO        PEREGRINO                    NM     90013588436
974B4AAA78B175   LUIS         TORRES                       UT     90014170007
974B6114872B56   MARIA        SANTOS                       CO     90000291148
974B6286777521   MOISES       DUENAS                       NV     90009732867
974B6327491531   ROCIO        FLORES                       TX     90012243274
974B643864B949   ROSHODDA     PRICE                        TX     90014154386
974B66A555B548   JUAN         RODRIGUEZ                    NM     90005006055
974B6A62A72B62   CLINT        GUTTHRIE                     CO     33094290620
974B7424572B32   KERRY        MCNABB                       CO     90012594245
974B7619A8B18B   JAYLENE      MORLEY                       UT     31024886190
974B779765B345   TRINA        GARBARINO                    OR     44507027976
974B7919872B22   CARLOS       OROSCO                       CO     33052369198
974B8157172B24   BEAR         GARCIA                       CO     33003621571
974B8546191951   ANTHONY      CATES                        NC     90013235461
974B863175B361   ABRAHAM      SATELO                       OR     90013946317
974B8638872B42   BRITTANY     HOOD                         CO     90013416388
974B9327877537   RICHARD      ATKINSON                     NV     90014023278
974B9415461979   JOHN         CORTEZ                       CA     90001714154
974B95A2A91399   BRITTANY     TURNER                       KS     90014715020
974BB165491951   JACKQUELIN   HAMLETT                      NC     90005981654
974BB443797123   LISA         TEISL                        OR     44067394437
974BB539181639   KRISTEN      LEWETZOW                     MO     29075295391
974BB54924B949   ABELINO      BELASQUE                     TX     90014325492
974BB58574B554   TERENCE      TOEGEL                       OK     90009915857
974BBA6368594B   MONIKA       FREY                         KY     90014410636
97511639A93755   BRIAN        CULPEPPER                    OH     90009126390
97512529472B22   GARY         HEIRSHBERG                   CO     33072015294
9751275A572435   DONNIE       HIGGINS                      PA     90014447505
97512915972B3B   CORRINE      ANDERSON                     CO     33022299159
97512A7224B588   JOYCE        WOODS                        OK     90009170722
97512A85581639   KK           REDMOND                      MO     90008310855
9751378625B545   RAMSEY       TRIANA                       NM     35091957862
975137A5781635   SHONETTE     CANADY                       MO     90005377057
97513A6A397123   MARIA        OCHOA                        OR     90009020603
9751431A641296   BARRY        LONG                         PA     90006253106
9751446195B531   KRYSTAL      SALAS                        NM     90005824619
97514619872B42   ANDREA       VELASQUEZ                    CO     33079546198
9751476855B383   ANAHI        MENDEZ                       OR     90014417685
975155A5891599   ANA          FLORES                       TX     75095955058
9751692414B588   JERRY        HARPER                       OK     90012969241
9751738234B554   STEVEN       JONES                        OK     90010973823
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1809 of 2350


9751753828594B   KAITLYN      REYNOLDS                     KY     90014635382
9751768825B361   PLACIDO      PARRA                        OR     90010336882
9751797937B322   CARLOS       AMPUERO                      VA     90000219793
9751814434B588   ROBERT       LAWRENCE                     OK     90008011443
975184A2793778   ANNA         SCHULTZ                      OH     90004114027
97518584A5B361   NANCY        QUADE                        OR     90008865840
9751B136741296   MARANDA      LONG                         PA     90010391367
9751B261781639   RASHANDA     WILLIAMS                     MO     29057122617
9751BA3774B588   JOSHUA       STROTHER                     OK     90014390377
9751BAA6238543   ARINA        VALLANUEVA                   UT     90011460062
9752137284B554   TARIKKA      COLLINS                      OK     90013493728
9752224217B449   MIRIAM       GARCIA                       NC     90008882421
9752298944B554   SHERMAN      KARNS                        OK     90012949894
97522A1817B424   DWAYNE       HEMPHILL                     NC     90012610181
9752313345B361   VIOLETA      BARDALES NORA                OR     90010301334
9752361A361988   CHARLES      KRAMER                       CA     90008176103
97523A8614B949   TROY         EVANS                        TX     90007330861
97524253A7B444   BREANNA      HAILEY                       NC     90014692530
9752431737B444   SERET        MOORE                        NC     90015353173
9752433644B235   DAWN         INZAURO                      NE     27094753364
9752443A272B56   LUIS         MELENDEZ                     CO     33061394302
9752461A361988   CHARLES      KRAMER                       CA     90008176103
975248A2381634   THEODORE     MCCORD                       MO     90010878023
97524A57372B42   PAUL         VALENZUELA                   CO     90011660573
97525515972B56   DELPECHE     BEAUGE                       CO     90007455159
97525788872B62   TOMAS        AGUILAR                      CO     90015097888
9752585875B361   GABRIEL      HERNANDEZ                    OR     90013948587
9752626318B175   VICKI        CRANE                        UT     31004432631
97526458872B32   JOHN         MUIR                         CO     90013784588
97526A4465B548   FIDENCIO     MENDEZ                       NM     90008290446
97527114272B22   CRYSTAL      FLORES                       CO     90007721142
975272A3872B62   JUSTIN       HOWARD                       CO     33011152038
9752792A281639   KENYA        JOHNS                        MO     29084589202
9752794668594B   BRANDON      BREWER                       KY     90007469466
9752979A755999   JOSHUA       MAUK                         CA     90012587907
9752B27A35B548   HILDA        NEVAREZ                      NM     90005062703
9752B328872B62   SHAWNTAY     CORDOVA                      CO     90012293288
9752B457A8B175   LUIS         BELTRAN                      UT     31016234570
9752B677672B22   SUSANA       HERNANDEZ                    CO     90014786776
9752BA14661979   JULIE        DAVE                         CA     90005350146
9753143157B449   LUCY         GRANDERSON                   NC     11085534315
97532672772B24   DARIAN       BLEA                         CO     33016986727
975331A645B361   ANGELICA     VARGAS                       OR     44595521064
97533AA437B326   ALFREDO      BUSTILLO                     VA     90005970043
97534135A5B548   GABRIEL      JURADO-ESQUIVEL              NM     35030181350
975341AAA81634   JAWANA       WILLIAMS                     MO     29013701000
9753447623164B   CHRISTINA    ZEPEDA                       KS     90015334762
9753459672B891   AMANDA       ALEXANDER                    ID     90004075967
975346A8341296   DANIELE      SIPPOS                       PA     51053656083
97534A7778594B   NIKKI        SEBASTIAN                    KY     90015120777
97535598772B42   AMBER        SUCHANEK                     CO     33074955987
9753582A54B949   TIBURCIA     CASTILLO                     TX     90007428205
9753618867B444   RAFAELA      GAMEZ                        NC     90010931886
97536A9544B949   SHENA        BARKER                       TX     90007700954
9753762258594B   LANA         HARPER                       KY     90012776225
97537696572B32   RITA         SALLINS                      CO     90000796965
97537749672B62   JOSE LUIS    MARTINEZ                     CO     90012887496
97537A2315B361   DELMI        SAMUY                        OR     44513780231
975382A995B531   CATHERINE    BRANNAN                      NM     35032612099
9753917A27B449   PAMELA       KERNS                        NC     11099601702
975396A485B526   ALLEN        GERMAINE                     NM     90012906048
97539877272B62   JEFF         HAMPTON                      CO     33079758772
9753B25488594B   REBECCA      ABBOTT                       KY     90012992548
9753B439885932   MATTHEW      CARRIER                      KY     90014214398
9753B5A9361979   MARIA        GALVAN                       CA     90012115093
9753B7AA872435   WILLIAM      KIDD                         PA     90012567008
9753B879A41296   ASSATA       LIDDELL                      PA     90014258790
9753BA57372B42   PAUL         VALENZUELA                   CO     90011660573
9754127AA41296   KELLY        GROW                         PA     90011722700
975413A334B949   CANDICE      DUHON                        TX     90014783033
9754164237B358   ROBERTO      GOMEZ                        VA     81011726423
975422A3872B62   JUSTIN       HOWARD                       CO     33011152038
975425A687323B   FRANCO       ROSAS                        NJ     90011165068
9754266AA8B175   BLACKWATER   MELISSA                      UT     90009646600
975428A7161979   MARIA        CAMPOS                       CA     90012678071
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1810 of 2350


975428A883164B   TIMOTHY      KEMP                         KS     90014038088
9754317965B361   KENNETH      YEO                          OR     90010301796
975433A827B444   MICHAEL      SHKUT                        NC     90013303082
97543A15372B24   BRENDA       AGUIRRE                      CO     33088590153
97544585672B62   HUGO         ESTRADA                      CO     90000535856
975448A614B588   SARA         CHEMAYME                     OK     90012118061
9754498713164B   SHAUNNA      TAYLOR                       KS     22004179871
9754585355B531   DELAIN       MENDEZ                       NM     90010908535
97546134172B3B   AINSWORTH    DEBORAH                      CO     33058451341
9754627AA41296   KELLY        GROW                         PA     90011722700
975464A4333698   DONNA        TEAGUE                       NC     90009874043
97546685472B22   KHADEJAH     TRAMMELL                     CO     90014786854
9754692A95B548   SERGIO       VILLEGAS PEDROSA             NM     35058229209
975471A4841296   TERRY        MELISKO                      PA     90013931048
97547891372B42   TAQUISHA     MARIE                        CO     90009458913
9754815122B891   SHEILA       GRIMES                       ID     42084961512
9754844245B531   WILLIAM      RHOADES                      NM     90011424424
9754853944B949   TYLER        HILL                         TX     90012365394
9754861AA97123   MIGUEL       ENCARNACION                  OR     44002196100
9754914528594B   ERIC         EWING                        KY     66095071452
9754927618B175   JON          KOLLINGER                    UT     31016282761
9754931297B43B   EDWIN        CHAVES                       NC     90008793129
97549888A72B42   BRANT        STANLEY                      CO     90013498880
9754992364B588   KEZIA        BERRY                        OK     90014489236
9754B191572B42   LILIANA      TIZNADO                      CO     90010061915
9754B248691951   REBECA       FLORES                       NC     90014742486
9754B775172B32   SANDRA       NICHOLE                      CO     90012757751
9754BA48761956   STEVEN       PETERSONWEST                 CA     90009020487
97551189A9188B   JASON        FOSTER                       OK     90011871890
975511A3991599   VANESSA      LOPEZ                        TX     75033871039
9755138894B949   KAMMIE       CHANDLER                     TX     90010653889
9755141954B554   JOSE         CAMACHO                      OK     90007964195
97552648A5B383   SERGIO       JIMENEZ                      OR     90005066480
97553154A91599   ROXANA       MONCAYO                      NM     75052201540
975543A8672B32   MICHAEL      ENGELHARDT                   CO     33091573086
9755452934B588   CYNTHIA      BRUWER                       OK     90012695293
97554A36272B62   COKORY       FRAMPTON                     CO     90002710362
9755548A28594B   TARA         JOHNSON                      KY     66051474802
975573A164B588   JESSICA      WRIGHT                       OK     90014713016
975573A1872B62   PABLO        SOTO                         CO     90002803018
9755751678B175   MICHAEL      RIVADENEIDA                  UT     90014185167
975576A5861979   IMELDA       LOPEZ                        CA     46015726058
9755776814B235   CINDY        JOHNSON                      NE     27093257681
9755784928B175   VANESSA      BUENO                        UT     90010658492
97558965972B62   FRANCISCO    MINJAREZ                     CO     33007979659
97558A22A5B29B   NASHAE       HADDER                       KY     90013190220
9755945234B949   RICKY        MASSEY                       TX     90015364523
975594A628594B   BRYAN        LEWALLEN                     KY     90012904062
97559695A72435   AMBER        GREENE                       PA     90014766950
9755993A377537   OLGA         RUIZ                         NV     90015109303
9755B169A91599   AMY          LARKIN                       TX     75072121690
9755B45237B444   KENNEDY      JAMES                        NC     90012444523
9755B78A172B32   TRACY        JOKELA                       CO     90011367801
9755B943893755   AMBER        VANCE                        OH     64534159438
9755B99884B554   MARY         REYES                        OK     90013339988
9756144465B531   GILBERT      GALLEGOS                     NM     90014224446
97562275472B32   MARRISA      VINSON                       CO     90014032754
97562623172B24   MAMADOU      OUATTARA                     CO     33039116231
97562841272B42   PEDRO        SALAZAR                      CO     90012858412
9756398614B588   SAMANTHA     ZAMARRON                     OK     90000289861
97563A4835B548   ISSAC        AVILES                       NM     90002730483
97563A8125B383   TYSON        BEAVERS                      OR     90009810812
97563AA497B428   JONAS        BROWN                        NC     90012740049
975642A172B891   MACKENZY     TAYLOR                       ID     90011962017
9756442A491951   MALIK        DAVIS                        NC     90014744204
9756471468B175   MELINDA      FLEENOR                      UT     90004097146
97564714772B42   MIGUEL       FUENTES                      CO     90002067147
9756483578594B   RONALD       MADRID                       KY     90010848357
9756485685B548   SOBEILLENA   JOLIBOIS                     NM     90014928568
9756557463164B   KIMBERLY     METCALFE                     KS     90013405746
9756618692B891   JESSICA      CESLER                       ID     42039941869
97566674172B42   ISIDRO       GARCIA                       CO     33001066741
9756669785B383   THEVUTH      OUM                          OR     44593096978
97566798172B62   ERIC         DALTON                       CO     33092247981
9756713A472B42   LUIS         JAMIES                       CO     33078011304
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1811 of 2350


9756787227B444   CASSIE       FOLKS                        NC     90013508722
97567A49991951   JESUS        RODREGES                     NC     17017040499
97568862A5B361   JUANA        SALAZAR                      OR     90013948620
97568A3954B554   OMAR         RIVERA                       OK     90009290395
975698A4391599   SABRINA      LEWIS                        TX     90014878043
97569A65861979   JEROME       NERO                         CA     90012240658
9757173878594B   EDWARD       HOFFMAN                      KY     90009587387
97571A1A64B588   MONOLO       RECINOS                      OK     90004010106
9757232955B548   KRISSY       ELLIS                        NM     90005243295
97572862A5B361   JUANA        SALAZAR                      OR     90013948620
97572A2488B356   HEIDI        DORO                         SC     90015440248
97572A25972B24   MICKEY       GARCIA                       CO     90000610259
97573348672B42   EZEQUIEL     MUNOZ                        CO     90015183486
9757415914B235   CHESTER      CARTER                       NE     27008771591
9757419735B383   MIRIAH       MUNSEY                       OR     44528821973
97574725372B3B   CORDOVA      JOSH                         CO     33060987253
97574A29261979   DAN          MONJARAZ                     CA     90008680292
97574A5434B588   WILLIAM      FORD JR.                     OK     21562460543
9757511242B276   LINETTE      CAMPBELL                     DC     90011191124
975754A6581634   KIMBERLY     S VICKERS                    MO     29082414065
97575585A7B449   LATONYA      JOHNSON                      NC     90013365850
97575889472B42   JASMIN       CISNEROS                     CO     90013498894
9757858935B548   JOELLEN      MANUELITO                    NM     90012525893
9757888A172B51   RENEE        COOK                         CO     90001728801
97578A28977537   ROBERT       MUHLHAUSER                   NV     90005160289
97578AA9972B85   ADOLFO       FUENTES                      CO     90003590099
975792A1A72435   STEVE        KILCHENSTEIN                 PA     90014152010
97579352872B22   LIDIA        PEREZ CHAIREZ                CO     90013483528
975793A3972B24   CAVALLERO    HART                         CO     90011723039
975797A5A91599   JESSICA      LOPEZ                        TX     75005817050
9757987215B548   SERANE       AMBRIZ                       NM     90014928721
9757BA37191599   ALEJANDRO    MUNOZ DE LA CRUZ             TX     90014210371
97581178372B22   JACOB        BEAR                         CO     90014791783
97581372272B62   NAUTICA      LOVE                         CO     90013793722
97581517372B3B   RUBEN        BERMUNDEZ JR                 CO     90007775173
9758178754B949   JASHAD       EAGLIN                       TX     76518207875
9758263675B361   SONYA        HABIBI                       OR     90014796367
97582A25972B24   MICKEY       GARCIA                       CO     90000610259
9758316535B361   FLOR         BENITES                      OR     44504231653
9758374775136B   DIXIE        WOOD                         OH     90014817477
9758384317B449   SHERELL      GONZALEZ                     NC     90014358431
97583A34A91882   LEONOR       MENDOZA                      OK     90005100340
97583A66477537   MICHAEL      EDWARDS                      NV     90012400664
9758488615B383   ALMAZ        ABATE                        OR     90002018861
9758497A791882   KERRY        LOGAN                        OK     21072159707
9758595744B588   CHRISTA      SMITH                        OK     21570219574
97586766572B42   LIZETH       TORRES                       CO     90014737665
9758741A65B545   LEE          TIETJEN                      NM     35061754106
97587442972B56   ALLISON      WALSH                        CO     33036014429
97587514472B22   DANIEL       LUCKE                        CO     90003605144
975878A5372B32   VANESSA      CARRASCO                     CO     90011368053
97588365A8594B   MIKE         ROTTENBERGER                 KY     90012603650
9758875665B361   DAVID        HERNANDEZ AGUILAR            OR     90014947566
975893A4A91599   ITATI        SALCEDO                      TX     90001543040
97589514472B22   DANIEL       LUCKE                        CO     90003605144
97589553A9137B   SUSAN        MULIDIRE                     KS     90000535530
9758993395B361   DIEGO        LOPEZ                        OR     90013949339
9758B113572B3B   KALEB        FIELDS                       CO     90012221135
9758B277A5B531   PETRA        ANTUNEZ                      NM     90014842770
9758B5A5781634   JASON        RAY                          MO     29038865057
9758BA97697123   BRITTANY     RODGERS                      OR     90009940976
97591766572B42   LIZETH       TORRES                       CO     90014737665
9759179395B237   FRANCES      COLBURN                      KY     90007927939
97591A26A61927   ELVIA        DEL REAL                     CA     90007070260
97591A75193747   THOMAS       LADD                         OH     90001920751
97592517272B62   CHRISTINA    CARLIN                       CO     90012575172
9759253148594B   ELICIA       BROWN                        KY     90013365314
9759351875B361   SHELLEY      SINCLAIR                     OR     90013665187
97593A2765B383   LONZIE       GOLDEN                       OR     90014060276
97593A4113164B   JOSHUA       GROUNDS                      KS     22096580411
97593AA8761979   TAYNA        SUAREZ                       CA     90012190087
97594111497B53   KAREN        ZAMORA                       CO     90001031114
9759495414B588   ANGELA       MOORE                        OK     21573129541
97594968272B22   LEILA        RICALDE                      CO     90009869682
97594A25972B24   MICKEY       GARCIA                       CO     90000610259
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1812 of 2350


97595286372B3B   ABIMALEC       TAPIA                      CO     33075082863
9759544A881634   CARLOS         COLLINS                    MO     90010064408
9759554515B361   KATHERINE      POLON                      OR     90014555451
9759611A872B3B   BRANDON        RICHARD                    CO     90008051108
9759675A15B361   FRANCISCO      BURBOA                     OR     90010977501
9759681955B383   JENNIE         FARR                       OR     44510298195
97598316572B22   DEAN           REGAZZI                    CO     90006873165
9759858A172B3B   MANUEL         LEAL                       CO     33097865801
97598A7468594B   RONALD         MEYER                      KY     66005200746
9759B19927B362   ABEL           RODRIGUEZ                  VA     90009551992
9759B37A64B554   ERNESTO        TELLES                     OK     90014523706
9759B3A9A5B383   JARYD          MIDDLETON                  OR     90014583090
9759B896131435   CHARITY        JONES                      MO     90002428961
9759B91A591399   KARINA         GUTIERRIEZ                 KS     90014499105
975B1157291599   MARTIN         ACEVES                     TX     90005881572
975B1552591399   ORLANDO        AGUIERRE                   KS     90014015525
975B2261A51577   MIKELE         SHANI                      IA     90012592610
975B2552261979   ANTONIA        BARAJAS DE ZATARAIN        CA     90012155522
975B2693A4B588   RIAN           HUTTON                     OK     90011556930
975B281A95B361   LETICIA        HERNANDEZ                  OR     90013948109
975B2832672B22   JEIDI          ORTEGA                     CO     33000218326
975B3192572B32   CORAL NATALI   ROSALES SOLORIO            CO     90014961925
975B373A43164B   JASMINE        PRICE                      KS     90013187304
975B434337B444   NORMA          PACHECO                    NC     90013263433
975B4483851325   SUSAN          PEARSON                    OH     66006284838
975B4675672B62   MARK           WELAZIER                   CO     90012526756
975B4751A33698   CHRISTHEL      VELASCO                    NC     90007947510
975B476315B54B   SHAYN          BENALLY                    NM     90014367631
975B4958372B56   ESMERALDA      ROMERO                     CO     33008729583
975B4A18991399   DIANA          LONA                       KS     90014710189
975B4A9575B361   DAVID          PHILLIPS                   OR     90012430957
975B5323A8B175   KAITLIN        TURNER                     UT     90011593230
975B5467472B32   JARED          HARDING                    CO     90013804674
975B564324B588   DANIEL         ENCARNACION                OK     90012696432
975B6167193755   RAYMON         JOHNSON                    OH     90013431671
975B6584A5B361   NANCY          QUADE                      OR     90008865840
975B6737191599   ALEXANDER      RIVERA CANDELARIO          TX     90012977371
975B7854491599   MINERVA        BERNAL                     TX     90014918544
975B7A2A891399   FRANCISCO      MORA                       KS     90014710208
975B8176A72B22   RENAY          HOFFSCHNEIDER              CO     90014791760
975B8194677537   ENRIQUE        ARELLANO                   NV     90013021946
975B823834B949   MARY           SALAZAR                    TX     76588952383
975B8834472435   HUMBERTO       MARTINEZ                   PA     90015558344
975B9186272B42   SYLVIA         HERNANDEZ                  CO     90011931862
975B9276672B3B   MICHELLE       ROSENBERGER                CO     90012982766
975B9439972B42   KIM            PERKINS                    CO     90012604399
975B997917B444   JAYLYN         STREETER                   NC     90014069791
975B99A4777537   PATRICIA       NGATA                      NV     43089449047
975BB168972B24   RICK           RUDD                       CO     33021591689
975BB78885B531   OLGA           BRYANT                     NM     35021587888
9761113215B361   KERRI          CRONIN                     OR     90015141321
9761177834B588   EMMANUEL       G                          OK     90004407783
976123A8191599   VASHTY         VIGIL                      TX     90003113081
9761326A772B32   GLORIA         MORENO                     CO     90013922607
97613561172B62   ARNULFO        CALDERON                   CO     90011425611
97613636572B42   JANILLA        WILLIAMS                   CO     90014906365
976139A4672B42   JANILLA        WILLIAMS                   CO     90012869046
97613A24172B22   EDITH          BENTON                     CO     90008520241
97613A9564B266   MARY           HUFFMAN                    NE     27008430956
9761413525B383   LOUIS          VAUGHN                     OR     90002581352
97614139772B24   LESLY          LANDA                      CO     90008441397
9761416465B531   GLORIA         LARA                       NM     90015141646
9761478A833698   NIKIMA         ALLEN                      NC     90011127808
97614A48197123   MIGUEL         REYES SANTOS               OR     44089400481
9761535544B588   OLIVIA         CABELLERO                  OK     90015523554
97615AA218594B   DANIEL         MYRICK                     KY     90003110021
9761618217B444   SARAH          PENDRY                     NC     90011101821
976162A1681639   SHANNON        CLARK                      MO     90006072016
976173A464B949   MARIO          MEJIA COZ                  TX     90012373046
97617A8614B554   CATHY          REYES                      OK     90012120861
97617A96A4B554   ADRIANNE       COBB                       OK     90014930960
97618175572B3B   GILBERT        GARCIA                     CO     90011821755
976182A984B554   BRANDI         PRINCE                     OK     90008482098
9761861A55B548   EVELYN         FRAYRE                     NM     90015026105
9761B234972B32   AMEENAH        SMITH                      CO     90014142349
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1813 of 2350


9761B56114B554   RAY          BALDERAS                     OK     21559815611
9761BA56897123   TYLER        GOOLSBY                      OR     90013220568
9762155828B175   CLARK        ERICKSEN                     UT     90014185582
9762234135B548   CATHY        SINGLETON                    NM     90011583413
9762299955B531   NORDIS       ALVAREZ-RODRIGUEZ            NM     90013929995
97622A15772B22   FERNANDO     ALCANTAR                     CO     33093790157
97622A2334B949   SHAWNIQUE    GALLIEN                      TX     90015210233
97623444A41271   MICHAEL      HARTIGAN                     PA     90012344440
9762367325B361   LUKUNDO      SIMWANZA                     OR     90014796732
9762374325B383   DENISE       CHIENKU                      OR     90011317432
9762374325B548   VICTORIA     DUPRIEST                     NM     90012607432
97624271372B3B   RAY          SALAZAR                      CO     90014622713
976243A1772B22   THOMAS       STEARNS                      CO     90010813017
9762475448B175   JHONATAN     HERNANDEZ                    UT     90013277544
97624971172B62   MANUEL       CHAVEZ                       CO     33009099711
9762517865B548   CIUDAD       JUAREZ                       NM     35064951786
9762529164B949   JILBERTO     MARTINEZ                     TX     90014852916
9762571A12B891   ELVIA        CARDENAS                     ID     90004077101
9762579427B444   DAWN         ELLIOT                       NC     90012947942
9762583193164B   SYED         JILLANI                      KS     22088018319
97625854272B22   REBECCA      LEYBA                        CO     90006318542
976262AA891599   NICOLE       ARZATE                       TX     90014742008
97626692472B62   NOHEMI       HERRERA                      CO     33087876924
97626723472B32   ENRIQUE      DOMINGUEZ                    CO     90005007234
9762678697B444   RICARDO      MARTINEZ                     NC     11080877869
97626A2358594B   CATHY        STEPHENSON                   KY     66007450235
97626A8925B361   ELBA         RODRIGUEZ                    OR     90013000892
97626A9A272B24   DOLORES      QUINTANA                     CO     90004070902
97627314772B24   MARCELO      ROSAS DE LA CRUZ             CO     90011723147
976278A774B588   STEVEN       MACKEY                       OK     90008178077
97627A49372B32   GUADALUPE    YBARRA                       CO     90004840493
97628145A4B554   BRAD         ROBEY                        OK     90014681450
97628189A72B22   RENAY        PADILLA                      CO     90014791890
97628A65272B3B   JOANN        GIRON                        CO     33004130652
9762981884B554   TROYCE       MATELSKY                     OK     90012868188
9762B39A14B588   SHIVON       SOLOMON                      OK     90007893901
9762B458191951   LEJULES      PEGRAM                       NC     90011464581
9762B568255928   DOMINGO      LOPEZ                        CA     90002915682
9762B75725B531   BRANDON      ALBERT                       NM     90009427572
9762B88395B383   PRANEEL      SIWAN                        OR     90009628839
976311A1A7B326   GLORIA       PILLADO                      VA     90013471010
97632134A93727   MONICA       HOCKETT                      OH     90001351340
9763224558594B   ANGELA       VICKERS                      KY     90006932455
97632A34536148   JEFFREY      JONES                        TX     90006150345
976336A6597123   ANICETO      SALAZAR LIMON                OR     90007526065
97633766572B42   LIZETH       TORRES                       CO     90014737665
97634371872B32   MAYRA        MONCADA                      CO     33067563718
9763443334B235   SEAN         WEILANDT                     NE     27032114333
97634489A4B588   GARY         UNDERWOOD                    OK     90010134890
9763587695B275   TONI         BUCKHOLZ                     KY     90013898769
97635939372B42   DAVID        WASBY                        CO     90013009393
97637294872B32   RENAE        PARRA                        CO     33098792948
9763816148B849   J            JOHANES                      HI     90014451614
976383A3681634   RUDY         CARCAMO                      MO     90014843036
97638634A61979   CRUZ         MEDRANO                      CA     46015796340
9763947477B444   TANZIE       AMDERSON                     NC     90014084747
9763954415B361   ROCIO        RAMIREZ                      OR     90013665441
97639883A91951   SHAQUITA     CAMPBELL                     NC     90007758830
976399A863B38B   SAM          MULIS                        CO     33017399086
9763B19814B949   ROSHAWNDA    GROGAN                       TX     76587611981
9763B36A393755   ERICA        KENDRICK                     OH     90005593603
9763B391856345   TENNILLE     DAVIS                        IA     90014093918
9763B4A3972B3B   MICHELLE     TRUJILLO                     CO     90011854039
9763B937661979   INGRID       GALLEGOS                     CA     90014939376
9764148A272B3B   EBRIMA       CONTEH                       CO     90014674802
9764193627B449   CARLOS       CRUZ ABURTO                  NC     90008009362
97641971172B24   ANA          RODRIGUEZ                    CO     90010489711
97642543472B42   DORIS        KNIGHT                       CO     33072665434
9764295685B383   ISAIAH       MARION                       OR     90014409568
9764327A172B22   SEVEN        MARSHALL                     CO     90009882701
97643935A4B949   ROBYN        RELFORD                      TX     76528909350
9764458525B548   DENISE       RUBIO                        NM     35093815852
9764478A57B389   JOSE         FRANCO                       GA     81092447805
97645774772B42   KINGSLEY     ANI                          CO     90014737747
9764577AA5B361   DEAN         CHRISTENSEN                  OR     90000427700
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1814 of 2350


9764614124B949   DEVON        COOK                         TX     90012631412
9764672218595B   DOUG         WELLS                        KY     67025787221
9764681828B175   RONALD       LARSEN                       UT     31069318182
9764752464B949   STEPHEN      PROVOST                      TX     90013545246
9764772557B444   FELICIA      SMITH                        NC     90010697255
9764793744B588   TERESA       HARTLINE                     OK     90009079374
97647956972B22   JOSE         PALACIOS                     CO     90004899569
97647A9555B548   JUDITH       GUTIERREZ                    NM     35034920955
9764842245B248   LEITER       PEREZ                        KY     90012854224
97649239972B62   LORENA       SANCHEZ                      CO     90009152399
976493A215B548   MONICA       DE LEON                      NM     90003863021
9764959298B175   WILLEY       PETERSON                     UT     90014185929
9764B149677537   JOSEPH       MINER                        NV     90001701496
9764B149941296   BRANDON      BOYD                         PA     90012141499
9764B16465B531   GLORIA       LARA                         NM     90015141646
9764B852972B24   STEPHEN      RONQUILLO                    CO     33046998529
9765139569188B   ELIZABETH    SALDIVAR                     OK     90003813956
9765159A88B175   TODD         COSSEY                       UT     31008575908
97651A2135B383   DUANE        DAVIDSON                     OR     90012410213
9765237395B531   NICOLE       WALTERS                      NM     35086033739
97652667672B62   ACUILLY      AKO                          CO     90012656676
97652749372B32   MICHAEL      RIGGS                        CO     33090427493
9765282155B361   ANGEL        VILLALVIR                    OR     90005398215
976533A2272B56   TIFFANY      NAGEL                        CO     90010003022
97653761772B62   ANGELA       CEJA                         CO     33011157617
97653892A91399   DOROTHY      JOYNER                       KS     90007548920
97653A45881634   PAT          MCCARTNEY                    MO     90003940458
9765448194B949   JUSTON       WESTBROOK                    TX     90014094819
9765463A38594B   LARRY        PARKER                       OH     90014176303
9765472817B357   SUSAN        COTTRELL                     VA     90000907281
9765557935B531   MIRIAM       TREJO                        NM     90008825793
9765573928B356   ENRIQUE      PEREZ                        SC     90014157392
9765613777B468   RICKY        MELTON                       NC     90013061377
97656172672B42   JEREMY       MORRISON                     CO     90011931726
976565A575B383   ESPERANZA    DIAZ URTIZ                   OR     90007445057
9765677345B531   ARTHUR       LUCERO                       NM     90013157734
97656926A61979   DAVID        MORA                         CA     90009959260
976569A9955975   MARITZA      FLETES                       CA     90011139099
97656A52291951   ANDREA       COX                          NC     90014780522
976575A424B588   DEANNA       SULLIVAN                     OK     90011025042
9765773AA7B449   ROSY         GASPAR                       NC     11005437300
97657749672B42   JOSE LUIS    MARTINEZ                     CO     90012887496
97657A4818B576   MORGEN       STANLEY                      CA     90011290481
9765853662B891   BETTY        RAINE                        ID     42079445366
97658A38A41296   MICHELLE     NEWBY                        PA     90010570380
9765969785B361   GREYSON      SIMWANZA                     OR     90014796978
9765B46A84B554   DEMETRIA     MASON                        OK     90010974608
9765B83865B548   LEELA G      RICHARDSON                   NM     90007168386
9765B841272B42   PEDRO        SALAZAR                      CO     90012858412
9765B855291951   ALEJANDRO    ORTIZ                        NC     90010038552
9766126634B588   ERIKA        ARBERTHA                     OK     90010832663
9766128787B444   DIBYA        RAJBHANDARI                  NC     90007272878
9766246648B12B   LORENA       MAZZARO                      UT     90002744664
976631A168594B   BEVERLY      SAMS                         KY     90014161016
9766383197B444   TESHIA       CARTER                       NC     11040808319
97663857872B3B   MELINDA      TABOR                        CO     90002248578
97663A85472B32   OMAR         VALLE                        CO     33035250854
9766433218B158   JOHN         GUNTHER                      UT     90009893321
976649A2981635   VANESSA      COLLINS                      MO     29042759029
9766576A55B361   FRANCISCO    ORTIZ                        OR     90015007605
9766661778B175   MIGUEL       GAMBINO                      UT     90014186177
9766663955B548   CECILIA      SANCHEZ                      NM     35095986395
97666A2918594B   KELLI        MARTIN                       KY     90013650291
976674A4372B42   ANDRES       MUNOZ                        CO     90013234043
97667586172B3B   MARY         ROYBAL                       CO     33050235861
9766773285417B   SANTIAGO     MIRANDA                      ID     90011787328
9766837A18594B   PATRICIA     SCHOEMAKER                   KY     90013193701
9766849114B949   VANESSA      LEBLANC                      TX     76586304911
9766961998B175   JOSE         FRANCO                       UT     90014186199
9766998145B383   CAROL        PEARSON                      OR     44535819814
976699A157B444   SHERMISE     ALEXANDER                    NC     90007659015
97669A63A4B588   FELICIA      JONES                        OK     90009260630
9766B248791399   REBBECA      CHAVEZ                       KS     90003952487
9766B592A4B588   JAMES        MEEH                         OK     90015335920
9766B683172B3B   VERONICA     SHELLHORN                    CO     90014226831
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1815 of 2350


9766B868772B22   JOSEPH ANTHONY     BARNES                 CO     90013898687
9766B8A2472B62   TAKISHA            AKEESEE                CO     33087718024
9766BA61781635   TIFFANY            THOMPSON               MO     90015050617
97671118872B22   JASON              LYNCH                  CO     33061911188
9767122667B444   TAYLOR             BUSH                   NC     90014812266
9767139814B554   SHAVAE             CLOGSTON               OK     90012993981
97671626A72B42   ANITA              ROJO                   CO     90007836260
97671A93797123   MARIA              DELGADO                OR     44052830937
97671AA274B588   STEVEN             ANDERSON               OK     90009190027
976734A754B949   REGINA             PERRY                  TX     90005634075
9767428263164B   REGINA             RILEY                  KS     22014332826
976742A234B554   GREGG              BURDON                 OK     90010152023
9767546894B554   NASHUNNA           STEWARD                OK     90010974689
9767555217B391   WILLIAM            E CASTELLON            VA     81070275521
9767574635B383   SALLY              GIRAND                 OR     90011617463
9767583569376B   CARLETHA M         POINTER                OH     64516898356
9767586165B531   APRYLL             STEPHENS               NM     35017798616
976759A2372B56   LENNY              DEWITT                 CO     90004999023
97676214872B22   JORGE              ARAIZA                 CO     90014792148
97677A49172B3B   TERESA             RUIZ                   CO     33006520491
97678214872B22   JORGE              ARAIZA                 CO     90014792148
9767839633B357   TARA               SHAHEEN                CO     33078643963
9767846168B175   FERNANDO           HERNANDEZ              UT     31090084616
9767862985B361   DANIEL             FISCAL CARRETO         OR     90012406298
9767913797B444   JEREMY             PULDA                  NC     90014541379
9767917135B537   DAMIAN             GUTIERREZ              NM     90005321713
97679674572B3B   PAYGO              IVR ACTIVATION         CO     90013106745
9767B551741296   JOHN               WATSON                 PA     90011175517
9767B64894B949   TAMMY              SELF                   TX     76583316489
9767B67A172435   ADALBERTO FLORES   SANCHEZ                PA     90015106701
97681859A97123   VANESSA            RIVERA                 OR     90011548590
9768291317B449   ROSIE              ABELL                  NC     11002989131
9768329275B548   AMBER              VALERIO ROMERO         NM     35011812927
97683311272B32   YURIDIA            RASCON                 CO     33007443112
9768336635B531   KERRY              JACKSON                NM     35002883663
9768365215B383   NISHA              LOVE                   OR     44516506521
9768365A497123   PARTRICA           KRAEMER                OR     90013476504
97683A19372B3B   VICTOR             MENDOZA                CO     90007430193
97684641572B32   LARINA             CASIAS                 CO     90014326415
97684932272B42   CARISSA            DOUGLAS                CO     90009899322
97684952A72435   ERIC               LLOYD                  PA     90015319520
9768498945B548   JULIO              ARZAVALA               NM     35062169894
9768642435B361   MIRNA              ALVILA                 OR     90014754243
976866A5885948   ADAM               BREWSTER               KY     67079576058
97686A18641271   BRENDA             THOMAS                 PA     51014450186
97686A76A8594B   MIGDALIA           ORTIZ                  KY     66014600760
97687127672B3B   ARIADNA            GARCIA-RAMIREZ         CO     33000121276
976871A2491599   GUSTAVO            FLORES                 TX     75033841024
976874A655B531   YAZMIN             QUEZADA                NM     35099644065
9768773A831459   JAMIE              WARD                   MO     90013947308
97687A3968B175   TUAN               CHAU                   UT     90012530396
9768836A881634   TOYA               ABERNATHY              MO     29043343608
976889A8461937   JOSE A             MIRANDA                CA     90004129084
97689189672B22   ULISES ALEJANDRO   DUENAS LOPEZ           CO     90014291896
9768934395B599   NORMAN             QUIGGLE                NM     90012613439
9768938A44B949   TANYA              RICHARDSON             TX     90012853804
9768967587B449   GRACIELA           SOLIS LOPEZ            NC     11048936758
97689AAAA72B32   COREY              WEBBER                 CO     90013400000
9768B419972B24   JAMES              HOLMES                 CO     90014454199
9768B46894B554   NASHUNNA           STEWARD                OK     90010974689
9768B68144B554   TRINH              MAI                    OK     90011376814
9768B75A45B383   DARRELL            SINGLETON              OR     44598827504
9768BA38881635   TERESA             SMITH                  MO     90012060388
976919AA972B42   BONNIE             BULLOCK                CO     90014169009
97692264672B3B   JESSE              MOLINAR                CO     90014892646
97692333A91399   DANIEL             MORALES                KS     90014733330
976924A847B33B   ROBERT             BOOHER                 VA     90007804084
9769275A733641   ANDORIA            BROWN                  NC     90012507507
97693225A72B22   TRAVIS             FELLMAN                CO     90014792250
976934A7391599   MICHELLE           MILAM                  TX     90015314073
9769384825B361   DELIA              RUIZ                   OR     44531838482
976943A1544346   CHRISPINE          LANDO                  MD     90009053015
97694945A72B22   JESUS              TORRES                 CO     33028789450
9769532267B444   JAMIE              ROSE                   NC     11087623226
9769573A372B22   JASON              SANTISTEVAN            CO     90012457303
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1816 of 2350


9769612754B554   KIMBERLEY     HUDSON                      OK     90013281275
9769632725B548   CAYETANO      ARVISO-ESTRADA              NM     35094403272
976966A2272B3B   ANDREA        HERRERA                     CO     90010666022
976967A2377537   JASON         COLE                        NV     90013887023
976968A3997123   GENARO        LIBRADO                     OR     90014468039
97696916172B24   RANDAL        SEIFERT                     CO     33005609161
97696A4775B361   SUAD          MURAD                       OR     90013950477
97696A64281639   TERRENCE      JORDAN                      MO     29055910642
9769761998B175   JOSE          FRANCO                      UT     90014186199
97697AA4972B22   STEPH         MORALES                     CO     90011260049
97698236472B22   EVA           UTERA-HERNANDEZ             CO     33005222364
97699335272B32   FRANK         ARAGON                      CO     90014923352
9769944418B175   RENE          GARCIA                      UT     90001664441
97699A8783B334   WENDY         THOMAS                      CO     33085660878
9769B174A33698   ISRAEL        RORIE                       NC     90009371740
9769B1A624B588   RENNE         SLAGEL                      OK     90012021062
9769B729881635   JESUS         CALDERON                    MO     90006697298
976B19A9A91399   ELIZABETH     HAYWOOD                     KS     29071849090
976B262633164B   LEOPOLDO      GARZA                       KS     90014636263
976B2A4125B361   LUCAS         DURALIA                     OR     44580240412
976B3739772435   LOUIS         LONG                        PA     90005637397
976B3874A72B56   ANTONIO       GONZALEZ                    CO     33061398740
976B434415B548   CHRISTINA     GRIEGO                      NM     35033383441
976B4664533698   MICHELLE      KELLY                       NC     90011126645
976B54A894B949   KIERRA        SPEARS                      TX     90014444089
976B557212B891   SARAH         HOLFORD                     ID     90007475721
976B5598777537   KRISTINA      CRANK                       NV     90011325987
976B55A4A77537   TONYA         JOHNSON                     NV     90008405040
976B579A981639   PAUL          JAMISON                     MO     29035657909
976B6153793755   EVA           BOSTON                      OH     64502441537
976B6267691326   HOLLY         SCANLON                     KS     90011792676
976B63A7272B3B   JOHN          HUGHES                      CO     90011003072
976B6449891599   GRISELDA      GARCIA                      TX     75035974498
976B6768641296   JOHN          MCCLENDON                   PA     90014617686
976B6862481635   BOBBIE        SILLER                      MO     90009498624
976B749698594B   DARCEL        GARCIA                      KY     90014484969
976B7658672B62   DIAMOND       HOLIDAY                     CO     90012946586
976B8372672B62   GLORIA        DELACRUZ                    CO     90013873726
976B8381597123   URIEL         PINEDA CAMPOS               OR     44051203815
976B838A381635   BETHANY       JOHNSON                     MO     90011113803
976B8493291399   RAHMAN        REE                         KS     90000234932
976B882944B949   DEMETRICE     SEREAL                      TX     90012148294
976B8968272B32   JAVIER        ALVARADO                    CO     90008059682
976B924A991951   JOHNNIE       GOLDSMITH                   NC     17050602409
976B9816672B3B   LISA          CROCKETT                    CO     33085808166
976B9A32672B32   STEVEN        NORFLEET                    CO     90008130326
976BB34125B361   ALICE MARIE   BAINBRIDGE                  OR     90011983412
976BB434A61927   ARLENE        SAUCEDO                     CA     90011324340
976BB47254B235   MILDRED       ALCARAZ                     NE     27027564725
9771111257B444   ASHLEY        BLAKE                       SC     11069561125
9771117A671936   STACEY        VANGELDER                   CO     38087101706
977115A4261927   CHRISTINA     LEATH                       CA     90011415042
9771269A897123   OMAR          ESPINO                      OR     90011876908
9771292424B554   WILBERT       RATTLER                     OK     90008389242
9771337A677537   ROGER         BECKER                      NV     43034683706
9771338745B531   TINA          MARTINEZ                    NM     35055633874
9771362A491951   SHAMEKIA      RICHARDSON                  NC     90005636204
97714719133B51   CARPER        MCMILLAN                    OH     90013967191
9771536654B949   TINA          SIMPSON                     TX     76571143665
9771559AA3164B   DANILLE       YBARRA                      KS     90013865900
9771565A372B32   SEAN          DEGRANDE                    CO     33015896503
9771585277B444   ADRIAN        JAVIER                      NC     90012988527
97716762A7B444   DASHAUNA      FULWALEY                    NC     90008667620
9771679755B383   DEVON         POE                         OR     90008687975
97717A64497123   LEOPOLDINA    FLORES MENDEZ               OR     90013250644
97718176572B32   SEANNA        HOFFMAN                     CO     33019131765
9771871825B383   KELLI         DUNN                        OR     44503707182
9771872364B949   LOQUINTA      JONES                       TX     90012827236
977189A1581641   MARIJA        RADOVIS                     KS     90014139015
9771982354B554   LANCE         MCCALLISTER                 OK     90013408235
9771B33924B588   STEPHANIE     DOUGLAS                     OK     90013883392
9771B342572435   JODESSA       KIRKLAND                    PA     51072083425
9771B3A1881639   KARINA        DE LA CRUZ                  MO     90014643018
9771B427372B62   BERENICE      DAVIS                       CO     90009704273
9771B647372B42   JULIE         HERRERA                     CO     90002606473
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1817 of 2350


9771B98814B52B   QUYEN        HOANG                        OK     90009349881
977213A6772B22   ARMANDO      HERNANDES                    CO     33081463067
97721469372B3B   JOSE         VERA                         CO     33071674693
9772189AA71933   ROBERT       ESQUIBEL                     CO     90010618900
9772195178B175   HEATHER      SWAFFORD                     UT     90012029517
97721A92172B62   ALICIA       GUIGEN                       CO     33090480921
977222A314B235   STORM        HILL                         NE     27021182031
9772298A53164B   DAVID        CARTER                       KS     22031699805
97723155A4B967   ERIC         GALLIER                      TX     90013581550
9772326845B361   JESSICA      WAYEM                        OR     90011432684
97723534472B62   JA'QUAVIA    BRAXTON                      CO     33018305344
9772366318B175   MARIA        OCHOA                        UT     90014186631
97723A34593755   CHELSEA      RAY                          OH     90000120345
97724379A72B42   HEATHER      KLATT                        CO     33080153790
9772456562B25B   MONTIKO      WILSON                       DC     90012745656
9772482A45B383   JOHN         COCKE                        OR     90009448204
97724A54161972   VALERIE      SPURLING                     CA     46018210541
97725591672B22   FLORENCIA    SIGALA                       CO     33005225916
977264A257B444   LIZBETH      CARPIO                       NC     90014824025
9772693A15B548   YVETTE       RODRIGUEZ                    NM     35076609301
97726A18477537   MELISSA      ARECENAUX                    NV     90011490184
97727364A61937   EDMUNDO      PEDRO                        CA     90012833640
97727A81691882   ORLANDO      TAYLOR                       OK     21002810816
97727A9575B361   DAVID        PHILLIPS                     OR     90012430957
97728218372B32   GABRIEL      GODOY CURIEL                 CO     90010072183
9772821A681639   MICHAEL      MCKINZY                      MO     90011662106
97729562172B42   HERNANDEZ    GERARDO                      CO     90010065621
9772976A35B548   SARAH        MONTOYA                      NM     90014937603
97729A1124B235   JOEL         WHITE                        NE     27048680112
9772B142893755   TANYA        LAKIN                        OH     90012411428
9772B46194B554   GUILLERMO    GOMEZ                        OK     21554744619
9772B48174B949   ELIZABETH    MARTINEZ                     TX     76542614817
9772B492772435   VIRGINIA     WALLACE                      PA     51092824927
9772B89624B588   HARRIS       JACOB                        OK     90010928962
9773175284B554   DOROTHY A    RECKNER                      OK     21575087528
977319A634B588   NORMA        ALICIA                       OK     21526119063
97732471A72B62   DAVID        VASKIN                       CO     33019714710
9773264413164B   TONYA        MERRITT                      KS     22062476441
9773319AA33698   THERESA      JONES                        NC     90009891900
97733953272B62   DUANE        HIGGINS                      CO     90003129532
97734239872B3B   MARIA        CASTILLO                     CO     90002302398
9773459955B531   PHILLIP      LOPEZ                        NM     90013535995
97734779A8594B   LORI         FRANKLIN                     KY     90005717790
97734A81541296   ROB          MATEY                        PA     51005000815
9773529543164B   ELIZABETH    HARRIS                       KS     90001142954
9773567478B175   JANETTE      MILER                        UT     90014186747
977356A9972B42   GILDARDO     MUNOZ                        CO     90000176099
977357A827B464   JARED        WARD                         SC     90006127082
97735A72691599   ALBERTO      KING                         TX     90008050726
97735A95172B22   JENNIFER     GONZALEZ                     CO     90014530951
9773626575B361   JOESPH       EDWARD                       OR     90010992657
97736565172B22   JACQUELINE   BURNS                        CO     90011385651
97736973272B3B   ROLANDO      PEREZ                        CO     90008119732
977376A2997123   KELSEY       TULL                         OR     90011246029
9773789355B361   SHANE        CRAIG                        OR     90012168935
97738391A81635   SKEET        SPOSTER                      MO     29055273910
97738718A73297   NELSON       MENJIBAR                     NJ     90015477180
9773965A191599   MONICA       GARCIA                       TX     75048376501
977396A812B243   SHARON       MOZO                         DC     90009266081
97739748672B42   RYAN         JORDAN                       CO     90012667486
97739A95172B24   MONICA       DALTON                       CO     33096560951
9773B37484B949   CORY         SHAW                         TX     90001053748
9773B65915B383   TIMOTHY      KELMAN                       OR     90013846591
9773B68745B531   CHRIS        ARAGON                       NM     35091076874
9773B739861979   CAMDEN       PRIESTER                     CA     90009547398
9773B99717B444   JOSHEPH      CRENSHAW                     NC     90007049971
9774148A972B3B   THOMAS       BRUCE                        CO     90010744809
9774149814B554   NICOLE       SMITH                        OK     90003124981
9774152245B361   MOHAMED      AHMED                        OR     90005555224
9774157354B588   TERESA       FALL                         OK     90015025735
977415AA681634   LAURIE       KRATZKE                      MO     90012025006
9774172958594B   TANYA        HASKINS                      KY     90014227295
97741825972B42   ANGIE        FORD                         CO     90013048259
9774263194B929   ROBERT       GILL                         TX     90001276319
97742A73233638   LESLIE       CARTER                       NC     90006890732
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1818 of 2350


977431A4A2B25B   MARIA        BOLANDS                      DC     90012581040
97743817172B22   JUAN         CASILLAS                     CO     90004688171
977442A164B554   CRYSTAL      MUNCY                        OK     90012602016
97744987A72B3B   ANA          COBURN                       CO     33052089870
9774515A35B548   CARLOS       LUERAS                       NM     35072331503
9774522525B531   NANCY        GANDARA                      NM     90011902252
9774522538594B   JESSICA      FREEMAN                      KY     66091812253
9774539217B444   RAFAEL       DUARTE                       NC     90008273921
9774566A181638   ROSALIND     RHODES                       MO     29063306601
97745692772B32   DE LA CRUZ   AARON                        CO     90011316927
9774612657B444   TIFFANE      REID                         NC     90012571265
977465A625B361   SEAN         ODOM                         OR     44510255062
97747A7668B152   CARLOS       SOSA                         UT     90008150766
97747A99277537   VANESSA      HILLBERG                     NV     90007030992
97748279172B32   KEISHA       MOSLEY                       CO     33082262791
97748558A72B62   DEBRA        FRITTS                       CO     33015945580
977485AA587B93   ANGELA       MORGAN                       AR     90006365005
9774894A561979   ABIGAIL      GONZALEZ                     CA     90012699405
97749317372B22   JOSE         MONTOYA                      CO     90014013173
977495A6777537   DEVON        JOHNSON                      NV     90012795067
977498A2472B42   ALISHA       WALENTA                      CO     90015028024
97749A7818B175   MANUEL       MOLINA                       UT     90014900781
9774B339A5B361   LISA         LARGENT                      OR     90010993390
9774B42A872B24   SENAIDA      MADERA                       CO     33068334208
9774B48638B175   ANGIE        HARKER                       UT     31073334863
9774B792772B62   NATHANIEL    BETTS                        CO     90015097927
9774B836572435   FRANCES      WRIGHT                       PA     90014728365
9774B982861979   JESSICA      ORTUNO                       CA     90014939828
977516A225B531   ARCELIA      VALDEZ                       NM     90010896022
9775173527B444   THAWN        THANG                        NC     90013817352
97751A93172B3B   NOE          REZA JR                      CO     90003170931
97751AA715B548   GUSTAVO      LOYA                         NM     35014480071
9775223317B444   ASHLEY       MOORE                        NC     90009802331
97752276A4B949   DARVIN       GATLIN                       TX     90009262760
9775254145B361   JOSE         CASTRO                       OR     90010215414
97752759172B22   JAMES        ESPINOZA                     CO     90011557591
97752A67172B62   JESSICA      BOYES                        CO     33007610671
9775311824B554   NANCY        BARBOSA                      OK     90008431182
97753A63872B24   MELISSA      MATHENA                      CO     90011140638
9775484275B531   TIFFANY      ARUNDALE                     NM     35055768427
97754A5484B949   MARIA        DEL TORO                     TX     90012470548
9775518777B444   GLORIA       RIVERA                       NC     90011861877
9775543557B449   DEEPAK       PRADHAN                      NC     90007164355
9775546A181639   MEGAN        MURDOCK                      MO     90012404601
97755535472B62   GABE         BLEA                         CO     33085495354
9775575875B361   GUADALUPE    RIOS VAZQUEZ                 OR     44528307587
9775596295B531   ERASMO       PRESIADO                     NM     35089839629
97755A17981635   TERRI        JO                           MO     90014890179
97756885572B22   SALVADOR     DURAN                        CO     33037868855
97756A7695B361   ANGELICA     RIOS NAVARRO                 OR     90013950769
97757444872B24   CHRISTINA    MARTINEZ                     CO     33091554448
9775831297B444   REINA        CASTELLON                    NC     90008913129
97758428A33698   MARTA        HERNANDEZ                    NC     90007314280
97758999672B62   ENRIQUE      MOLINA                       CO     33080569996
977591A737B34B   FEDERICO     CRUZ                         VA     90003781073
9775928AA72B56   ANGELES      MACHORRA                     CO     33061252800
97759974372B42   SILVIA       MARTINEZ                     CO     90013009743
9775B345477537   WILLIAM      GUERRA                       NV     43007823454
9775B491172B56   ADRIAN       VARELA                       CO     33031404911
9775B71978B175   SHANNON      HAEGER                       UT     31006097197
9775B898572B3B   JOSIE        SCHEEL                       CO     33068568985
9775B8A1781635   TAMMARIA     WHITFIELD                    MO     90012498017
9775BA6594B554   PATHANA      CHANTHALAKEO                 OK     90010390659
9776272378594B   GABRIELA     NUNEZ PELAYO                 KY     66063137237
9776337878594B   SCOTT        MOSS                         KY     90013933787
9776348AA72B56   VAN          MCGEE                        CO     33003284800
9776454A15B361   DOMINIC      DAMBROSIO                    OR     90014805401
97764A6515B531   DENISE       BRIDGES                      NM     35068140651
9776516A84B949   ESMERALDA    MARTINEZ                     TX     90013911608
977654A3172B22   LINDA        POMPEO                       CO     33037674031
9776594815B548   DIEGO        CAMPOS                       NM     90011009481
97766254972B22   MICHELLE     BANNING                      CO     90014792549
9776695A972B56   YVETTE       BACA                         CO     90004229509
977671A4572B56   MARIA        CORIA                        CO     90005121045
9776735A291951   PORCHE       HARDY                        NC     90014783502
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1819 of 2350


977673A6872B62   MARCETTE      DE LEON                     CO     33009103068
9776794A54B554   JEREMY        BUTLER                      OK     90015139405
97767A12493721   JOSE          RODRIGEZ                    OH     90002550124
97767A4775B548   JAMES         MONGE                       NM     90011010477
97768196A77537   CARRISSA      WATSON                      NV     90015091960
97768A7695B361   ANGELICA      RIOS NAVARRO                OR     90013950769
9776977688B175   RAUL          LUNA                        UT     90012617768
9776BA63872B42   VERNON        HARRINGTON                  CO     90000870638
97771522A4B588   CHRISTO       SHARP                       OK     90014635220
977715A3191951   THADENE       PEACE                       NC     90014505031
9777161A55B383   ELIZA         MCCLINTON                   OR     90012256105
9777248463164B   DUANE         JUDIE                       KS     90013664846
9777268544B588   ENRIQUE       RESENDIZ-CHAVEZ             OK     90012786854
9777273A972B22   JOSHUA        BASQUEZ                     CO     90010027309
977728A4172B62   ANGEL         FLORES                      CO     33053688041
97773277972B22   ALBERTO       FLORES                      CO     90003812779
9777443738B175   PAMELA        MCSHANE                     UT     90007074373
9777454A35B548   CHARLENE      VALLEJOS                    NM     90011855403
97774746272B62   MARIA         GUERRERO                    CO     90009427462
9777556918B175   CHELSEA       RIDDLE                      UT     90014185691
9777567794B588   JHAMAR        BRADLEY                     OK     90015116779
9777693748594B   FELICIA       KINDOLL                     KY     90013519374
97776A7137B444   SHRUNDE       SAORT                       NC     11078780713
9777716225B361   SAMUEL        SANTOS                      OR     90012991622
977771A9291951   MARIA         LOPEZ                       NC     90010111092
9777725898B152   ELWOOD        SHIFFLETT                   UT     90003762589
9777812824B235   CHANDRU       GULLEY                      NE     27077231282
977781A8151337   TABITHA       BEARE                       OH     90014641081
977784A2172B32   GUIELLERMO    LOPEZ                       CO     33091514021
97778A43291399   ALEJANDRA     DE LA CRUZ                  KS     90007550432
9777927A972B3B   ROSEMARY      AMADOR                      CO     90014822709
9777931188594B   L. ANNIKA     SMITH                       KY     66094973118
9777BA7695B361   ANGELICA      RIOS NAVARRO                OR     90013950769
9777BA7A68B175   MARIA         MORADO                      UT     90015140706
977812A2981639   JEREMY        SALLAS                      MO     29015352029
9778157615B531   SUSANA        PADILLA                     NM     35079195761
97781A37791599   ELIDA         GUERRERO                    TX     90014970377
9778252765B531   YURIANA       CHAVEZ                      NM     90013815276
97782A7A68B175   MARIA         MORADO                      UT     90015140706
9778355A181639   ERAINA        COLLIER                     MO     29018965501
9778389254B949   CLIFVONNA     LENISE                      TX     90011058925
97783A65993748   DEZARE        VANHOOK                     OH     90012550659
97784722A77537   IGNACIO       DURAN                       NV     90009457220
97784877A7B468   DANNY         BENAVIDES                   NC     90006228770
977849A4A72B22   OSCAR         PEREZ                       CO     33000939040
97785322572B22   FRANK         GONZALES                    CO     90009773225
9778534135B383   SANDRA        CLOSSER                     OR     44551713413
9778536194B554   ISAAC         HERNANDEZ                   OK     90013093619
9778542354B949   COURTNEY      ARVIE                       TX     90007924235
977855A815B361   SHAWNA        BAXTER                      OR     44552115081
9778565225B531   JOHN          ARMIJO                      NM     35026336522
9778574A833698   CECIL         MCADOO                      NC     90011137408
9778615618594B   JAMIE         BRADY                       KY     66047161561
9778621365B383   ROSEANN       HILL                        OR     90006962136
977869A1177537   WAYNE         BROWN                       NV     90014279011
9778763644B235   KOLINA        RIEPER                      NE     27062126364
9778928A991399   MGK           BEERY                       KS     90014882809
9778939A25B545   CELIA         ROCHA                       NM     90014773902
97789A29A91951   CHRISTOPHER   MARTIN                      NC     90014790290
9778B352272B42   JESUS         REYES                       CO     33002903522
9778B515172B56   JOSE          MUNOZ                       CO     33017575151
9778B675677537   CHRIS         ENGELL                      NV     43004866756
9778B927841296   ANTHONY       FRAUENHOLTZ                 PA     51073079278
97791277972B22   ALBERTO       FLORES                      CO     90003812779
977914A3172B56   JADE          STOLL                       CO     33065544031
97791AA535B361   LLANA         COOPER                      OR     44584740053
9779324614B588   DEEPAK        KONDAL                      OK     90014962461
977941A645B361   ANGELICA      VARGAS                      OR     44595521064
9779421535B531   MARIBEL       MARTINEZ                    NM     35009562153
9779421994B235   DOLORES       WOODSON                     NE     27096392199
97794413672B42   NIGEL         KIRKWOOD                    CO     33033164136
9779469687B444   KASHIF        KHWAWAJA                    NC     90015426968
9779483945B548   DANIEL        LUJAN                       NM     90014938394
9779589745B548   SERGIO        GONZALEZ                    NM     35004708974
977958A7A8B175   JOSEPH        WIGHT                       UT     90014188070
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1820 of 2350


97795AA6891951   GREGORIO     TOVAR                        NC     90012970068
9779657AA72B62   BLANCA       MARTINEZ                     CO     90002695700
9779683945B548   DANIEL       LUJAN                        NM     90014938394
9779688395B383   JOHNNIE      TATE                         OR     90013728839
97797267672B3B   LEONIDAS     SAMPSON                      CO     90002482676
9779756755B361   LUIS         MORAN                        OR     90014805675
97797927A4B588   TEQUETTA     ADAMS                        OK     90013379270
97798314672B3B   JAVIER       ALTAMIRANO                   CO     90004393146
9779883945B548   DANIEL       LUJAN                        NM     90014938394
97798A25981635   ADRIAN       HUDSON                       MO     29061450259
9779924563164B   CHARLES      COESTER                      KS     22066302456
97799254572B42   MARIA        DOMINGUEZ                    CO     33067752545
9779926857B449   MARIA        HERNANDEZ                    NC     11055462685
9779969238B175   CARLOS       DUENAS                       UT     90012816923
9779972444B554   ANA          DE LA ROSA                   OK     90012047244
9779973A991399   JUDY         SHAHAN                       KS     90014177309
9779B169771945   SHEENAH      CHRISTION                    CO     90009891697
9779B39A641296   JOSEPHINE    GATTO                        PA     51085683906
9779B54724B949   JERRY        GREER                        TX     90014525472
9779B56654B588   JAQUEZ       GORDON                       OK     90015165665
977B176A85B548   ANNETE       ARCHULETA                    NM     35012127608
977B1854872B42   JUAN         ENRIQUE GONZALEZ             CO     33028688548
977B1935591951   DARSHAWN     TAYLOR                       NC     17085759355
977B225515B531   JAMESMICHA   NIETO                        NM     35038112551
977B251164B949   MARGIE       MCGOWAN                      TX     90013595116
977B2599872B3B   ARTURO       TALAMANTES                   CO     90011925998
977B287784B235   DJENGLA      BAGNANGA                     NE     90003248778
977B29A8981635   JESSICA      MARSHALL                     MO     90011889089
977B2A7682B886   GEORGE       MACRIS                       ID     90010720768
977B2AA4972B22   STEPH        MORALES                      CO     90011260049
977B2AAA572B3B   ARTURO       TALAMANTES                   CO     90013380005
977B361375B361   JOHN         CONCANNON                    OR     44550246137
977B481315B548   GUILLERMO    CALDERON                     NM     35073878131
977B4A45461979   RYAN         MALBROUGH                    CA     90013140454
977B5373281634   ANDREA       SANDERS                      KS     90014483732
977B5569281635   BOBBY        JOHNSON                      MO     90007525692
977B5811241258   JAMELLA      WOODY                        PA     51091058112
977B5995161979   HECTOR       BARRAZA                      CA     90014929951
977B5A5314B588   MIRIAM       LOPEZ                        OK     90012920531
977B631A34B588   ANTONIO      TAYLOR                       OK     90011003103
977B6363391599   KARLA        VALENZUELA                   TX     90013543633
977B637644B949   TONICA       SIMON                        TX     90010813764
977B6493677537   JOHN         VEGA                         NV     90013614936
977B6654255973   HECTOR       MAGANA                       CA     90014796542
977B6735751396   BROOKE       WEBB                         OH     90001567357
977B6961161979   RACHAL       LONG                         CA     90014939611
977B7452572435   ANTOINE      MYERS                        PA     90014324525
977B7687872B62   MIREYA       RIVADENEYRA                  CO     33014766878
977B7963661979   SABRINA      MORA                         CA     90014939636
977B8811772B22   GENARO       CORRALES                     CO     33094208117
977B8983A4B522   MICHAEL      THORNSBURG                   OK     90004939830
977B9298341296   EESTHER      SHUCETT                      PA     90002872983
977B935485B383   JON          SHULTS                       OR     44510323548
977B9471281635   ERNEST       BLACK                        MO     90015244712
977B9625793755   SAMANTHA     WARD                         OH     90011356257
977B9656872B3B   JOSE         ROBERTO                      CO     90012746568
977B9691372B22   THERESA      SANDOVAL                     CO     33039186913
977BB275191399   SOFIO        MERA                         KS     29019172751
977BB446833B2B   ANDRES       OLACON                       OH     90014424468
977BB59718594B   CHARLES      DAVIS                        KY     90003305971
977BB965972B22   CELESTIE     KENTRIS                      CO     90013679659
9781149A261979   MIGUEL       MUNOZ                        CA     90011654902
9781195145B361   JONATHAN     PITNER                       OR     90002319514
9781248515B383   CORALYNN     HATTON                       OR     90014924851
9781376827B444   RENYA        MENCHUN                      NC     90011977682
978143A2772B3B   MARIBEL      PASILLAS                     CO     33079933027
97814811976B41   PERLA        PEREZ                        CA     90007938119
97814835A5B548   DENISE       WILSON                       NM     90014938350
9781498A291399   CONCEPCION   MORALES                      KS     29007199802
978153A3A72B3B   FERNANDO     NUNOTORREES                  CO     33031923030
978157AA372B42   AURORA       NAVARRETE                    CO     90010417003
978158AA64B554   JESSICA      ROBERTSON                    OK     90013868006
97815A5315B241   JENNIFER     THORTON                      KY     90004360531
9781656797B477   KERRI        COLEMAN                      NC     90012525679
978175A7261979   SHARLYN      MITCHELL                     CA     90011655072
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1821 of 2350


9781778385B548   RAUL            ESCOBAR                   NM     90013837838
9781816425B531   SAMANTHA        FOWLER                    NM     90004261642
9781829664B554   ANA             DELGADO                   OK     90010012966
97818367472B62   CALEB           HARE                      CO     90012293674
9781934524B588   DAVYN           HERTZ                     OK     90014113452
9781939735B361   RAFAEL          NAVARRO                   OR     90014423973
97819462172B62   GREGORY         SCHWAB                    CO     33064614621
9781B153881635   KOME            KEY                       MO     29023801538
9781B228291599   MARISELA        MARTINEZ                  TX     75067302282
9781B56643B324   CATHERINE       BLAKELEY                  CO     33055125664
9781B66315B548   MICHELLE        CORRAL                    NM     35081656631
9781B757A72B32   LONNIE          HICKMAN II                CO     90009737570
97821279772B22   DARLENE         PORTILLO                  CO     90014792797
9782178527B444   TOY             TATE                      NC     90011447852
97821A4A372435   DAN             ZACK                      PA     90012030403
9782213415B33B   JANIS           RUBIO                     OR     44584901341
97822135A72B32   ALMA            CORTEZ                    CO     33013431350
978222A3472B42   SUSANA          ORTEGA                    CO     90014882034
97822417A72B3B   IRIS            RODRIGUEZ                 CO     33090614170
97822734A5B383   CELIA           RIVERA                    OR     90003317340
9782377679374B   AMELIA          MOOR                      OH     90011827767
97823A7988B136   SHAYNA          HENKE                     UT     90005780798
97824286972B22   CELESTE         STRAUSS                   CO     90014792869
9782487595B548   GEORGE          PLAWSKI                   NM     90014938759
9782511A933698   TAMMIE          BILLINGS                  NC     90011151109
9782513435B383   JASON           REGIER                    OR     90012961343
9782642695B548   MARIA ANTONIA   MUNOZ                     NM     90004384269
97826A3454B588   RUBEN           FRAIRE                    OK     90012410345
97826A59472435   PAUL            LUTZ                      PA     90006610594
978273A725B531   PATRICK         FARFAN                    NM     90000873072
97827A55A3164B   SHIRLEY         LEKRON                    KS     22055200550
9782881317B449   EDWIN           LOPEZ                     NC     11011818131
9782899A172B32   VICTORIA        BARD                      CO     33004359901
978289A1681634   CARMEN          DAWKINS                   MO     29004849016
9782955185B531   ARTURO          FLOREZ-LOPEZ              NM     35099225518
9782B11675B33B   LIVIU           TOMUA                     OR     44511671167
9782B325291599   JORGE           TERRAZA                   TX     90010163252
9782B831433623   LESLIE          HAMILTON                  NC     90011108314
9782B928677537   NANCY           CABRERA                   NV     90001879286
9783113945B361   ANGELICA        RIOS                      OR     90013951394
9783168355B531   MANUEL          ANTUNEZ                   NM     90013046835
97831835672B32   KARINA          SALAZAR                   CO     90012348356
978325A955B361   NANCY           HUNT                      OR     90005585095
9783264A161464   SCOTT           SWAGGERTY                 OH     90014656401
97832734772B42   NDIHVKUBMAYO    SCHOLASTICA               CO     90013097347
9783391918594B   KIMBERLY K      ALLEN                     KY     90000239191
9783393A377537   OLGA            RUIZ                      NV     90015109303
97833A2934B588   TYLER           WAGONER                   OK     21503320293
97834196A77537   CARRISSA        WATSON                    NV     90015091960
9783462382B949   ROBERT          DE LOS RIOS               CA     90014046238
97834646472B3B   HECTOR          PUENTE                    CO     90014806464
9783476365B383   RITA            MAQDAS HASO               OR     90011417636
9783524A472B42   TABITHA         GALLEGOS                  CO     90013612404
9783554915B531   GENET           ADAMS                     NM     90011215491
97835561A97123   ANDREW          ARGUELLES                 OR     90014695610
9783566445B548   ELIZABETH       JUARDO                    NM     90000236644
9783627325B548   RUTH            JURADO                    NM     35094682732
97836653A72435   LENAE           HUMPHRIES                 PA     90015346530
9783665613164B   VANCE           ATHA                      KS     90000276561
9783757234B554   RENITA          MITCHELL                  OK     90009955723
9783765A761474   SHERREE         ROSE                      OH     90015126507
9783838A772B42   JOSEPH          SINK HORN                 CO     33016723807
97838A13593755   NELDA           CLARK                     OH     90006190135
97838A64272B32   NEHEMIAH        GARCIA                    CO     90012850642
9783972438B175   TROY            STROUD                    UT     31096547243
9783981A97B449   HAGOS           BAHTA                     NC     90003258109
9783988754B588   TEIONNA         LEACH                     OK     21570338875
97839A2164B554   WEENA           PORRAS                    OK     90008760216
9783B49895B531   ANGELA          ARANDA                    NM     90010314989
9783BA13833698   LYNETTE         WILLIAMS                  NC     90006520138
9784182716193B   CELIA           RAMIREZ                   CA     46063348271
97841889372B62   ZACHARY         FLACH                     CO     90009218893
97842587A61979   NORMA           TORRES                    CA     90013125870
9784268772B229   FERNANDO        RODRIGUEZ                 DC     90007376877
97842731A61979   LUIS MANUEL     PADILLA LAMADRIS          CA     90014947310
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1822 of 2350


9784469814B554   AUTUMN           LEYBA                    OK     90010986981
97846713472B3B   DANA             ALEXANDER                CO     33000347134
9784685365B531   LAWRENCE         RANDY-BACA               NM     35068988536
9784737995B548   SILVESTRE        ESPARZA                  NM     90011343799
9784747785B531   PHILIP           LOPEZ                    NM     90014154778
97847581572B62   EMILY            GREEN                    CO     33051385815
9784813945B361   ANGELICA         RIOS                     OR     90013951394
97848454472B22   ABBIGGLLE        GOETSDH                  CO     90012304544
9784853684B949   MONICA           MARTINEZ                 TX     90001865368
9784949758594B   RACHEL           BARRIE                   KY     90010414975
9784979128B175   EDGAR            PEREZ                    UT     90013357912
9784B518933698   LAKESHIA         WELCH                    NC     90010235189
9784B85744B588   CHRISTY          GUNTER                   OK     90013828574
9785133A772B22   CRUZ             HERNADEZ                 CO     33094983307
9785139A181638   RITA PAOLA       MORALES                  MO     29005333901
9785185528B175   JUSTIN           GOODRICH                 UT     90008828552
97851987572B42   ESPERANZA        MONTANO                  CO     33068439875
97852796A72435   SARA             VINCENTI                 PA     90010477960
9785293417B491   JESSY            ALONZO                   NC     90010919341
9785356445B134   DEMARCUS         ATKINS                   AR     90015125644
9785383727B444   MYLIA            STINSON                  NC     90013128372
9785397A591951   LOVE             MORRIS                   NC     90014869705
9785419684B949   GINGER           VICTOR                   TX     76570191968
97854281A4B949   HELEN            WILLIAMS                 TX     90003412810
97854698187B48   TREENA           NELSON                   AR     90001706981
97854A43297123   JOHN             HICKS                    OR     90000380432
978553A1372B22   JOSEPH           LERRINDA                 CO     90014793013
9785543864B949   ROSHODDA         PRICE                    TX     90014154386
97855A45791951   JENNIFER         OWENS                    NC     90015130457
97856166972B32   CHERI            BROADRICK                CO     90012491669
9785658864B554   ASHLEY           WARNER                   OK     90010975886
9785755818B175   MOHAMED          MOHAMED                  UT     90007135581
97857771A61979   VICTOR           ESPINOZA                 CA     90014947710
97857A6773164B   SIMON            MAYO                     KS     90014320677
97857A6A481635   FRANCISCO        GONZALEZ                 MO     90011140604
97858549A7192B   SHANIQUA         PHILLIPS                 CO     32012195490
9785873878594B   EDWARD           HOFFMAN                  KY     90009587387
9785877824B588   RODRIGO          GONZALEZ                 OK     90008647782
9785878934B235   JACOB            BANIK                    IA     90013677893
9785896654B554   ARTHUR           WILLIAMS                 OK     21504799665
9785965515B531   SANDRA           VEGA                     NM     35051436551
9785973A955985   JOSE RIGOBERTO   CEDENO                   CA     90005677309
9785997A791951   JOSHUA           JOHNSON                  NC     90014869707
9785B574A81635   DANA             VANDIVER                 MO     29082165740
9785B658772B3B   MICHAEL          GALLEGOS                 CO     90013026587
9786169224B588   MYRNA            MEDINA                   OK     90014846922
9786188194B588   ASHLEY           BRADY                    OK     21585488819
97863833A72B3B   JAMES            MORGAN                   CO     90000658330
9786385852162B   DANIELLE         MOORE                    OH     90014138585
97863A2327B628   GREG             WILSON                   GA     90009660232
9786427249376B   DANIEL           RITTENHOUSE              OH     90014832724
97864431A72B62   VIRGINA          AGUIRRE GONZALEZ         NM     33080774310
9786486115B383   JEFFREY          ALBRIGHT                 OR     44547648611
9786492577B444   RACHELLE         KIMBLE                   NC     90004169257
9786495615B531   KENNY            GABALDON                 NM     35088639561
97865371672B56   KEO              SIVIXAI                  CO     33095283716
9786552487B349   JOSE             ANGEL LEMUS              VA     90001855248
97865859472B42   ADRIAN           MONTES                   CO     90013308594
97865885772B3B   GUSTAVO          ROJAS                    CO     33027418857
97866166372B22   MICHELLE         BARRINGER                CO     33008501663
9786661355B326   SAN JUANA        REYEZ BEJAR              OR     90007446135
97866682672B3B   ARMANDO          GARCIA                   CO     90005756826
9786678727B449   STEPHANIE        FRIERSON                 NC     90013347872
9786756818B175   SILVIA           SANCHEZ                  UT     90006485681
9786794664B588   LOISHA           JACKSON                  OK     90014729466
97868191372B32   CLARISSA         CORNCH                   CO     90010961913
97868A4185B531   CAROL            ORTEGA                   NM     35050940418
97868A57672B3B   LEHA             LOVELAND                 CO     33035300576
97869357172B42   JEREMY           ANDERSON                 CO     90014123571
978695A9A93755   CHRISTOPHER      MADISON                  OH     90014335090
9786991A44B235   EMILY            CRAWFORD                 NE     27032299104
97869933772B42   TIMOTHY          LEWAN                    CO     90015169337
9786B614981638   COREY            BUSH                     MO     29079796149
9786B637791599   PERLA            SANTIESTEBAN             TX     75042606377
9786B712881634   CHANAY           CUFFEE                   KS     90006147128
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1823 of 2350


9786B772951334   TERRI        HOLLOWAY                     OH     90012687729
9786B879272435   ALAUNA       WEST                         PA     90011068792
97871471A3164B   ISMAEL       AYALA                        KS     90011914710
97871911A61979   TIM          PANG                         CA     90015199110
9787195967B449   AKEVIA       MCCULLOUGH                   NC     11030889596
9787211355B548   PATRICK      HATFIELD                     NM     90006431135
978721A445B361   RICARDO      CHIMELIS                     OR     90000201044
978724AA28B191   REBECCA      AYLWORTH                     UT     90012604002
9787297527B359   ONDINA       VALLECILLO                   VA     90003449752
9787323334B554   EMILY        PETERS                       OK     90004232333
97873985972B42   REGINA       ARCHIBEQUE                   CO     90013159859
9787435128594B   PENNY        LITTLE                       KY     66020403512
97874471A41296   EMERSON      LOPEZ                        PA     90003734710
97874894A4B554   LYNDSEY      REEVES                       OK     90011488940
97874A9115B548   MAURO        GARCIA                       NM     90012480911
978752A6141296   GEORGE       HAZLETT                      PA     90013932061
978753A155B383   MARIE        FEGOND                       OR     90005343015
9787623624B554   TIFFANI      METCALF                      OK     90014852362
9787634654B588   EVELYN       STEVENS                      OK     90003573465
9787653A55B943   LEONILA      MIRANDA                      WA     90014505305
9787654837B449   ROSE         ADAMS                        NC     11086725483
97876832272B32   SADAT        PAREDES                      CO     90011178322
9787723A591399   DAVID        HAMEL                        KS     90014862305
978782A1691399   ADAM         CALDWELL                     KS     90013202016
9787913945B361   ANGELICA     RIOS                         OR     90013951394
97879937A81634   BRIANNA      FISK                         MO     90013559370
9787B42294B588   PAUL         SIDDONS                      OK     90014034229
9787B52A693755   ASHLEY       GOOD                         OH     90008055206
9787B82254B588   PATRICIA     RODRIGUEZ                    OK     90010778225
9787BA4114B588   DOMINIQUE    FOY                          OK     90012620411
9788134494B554   JESUS        RAMIREZ                      OK     90014883449
9788159454B949   MARTIN       GUERRA                       TX     90007105945
9788161218B175   DANIEL       GEORGE                       UT     31096156121
9788286248B175   DONAVON      WATCHORN                     UT     31003928624
978832A3761979   YAZMIN       ESTALA                       CA     90012912037
9788362174B949   MARY         KIBODEAUX                    TX     90012626217
9788499427B444   KEVIN        STRICKLIN                    NC     11065489942
97884A4565B361   JESSICA      MCBEE                        OR     90013220456
9788532A681634   TYRON        SMITH                        MO     90014843206
97886668572B32   PEDRO        RUBIO                        CO     90007696685
97886749672B42   JOSE LUIS    MARTINEZ                     CO     90012887496
9788684A72B889   ROBERT       BARNHILL                     ID     42003768407
9788695A25B361   AMPARO       TALAVERA MARTINEZ            OR     90012439502
9788745645B383   ERICK        FOUTS                        OR     90012094564
9788751298594B   TODD         FRYMAN                       KY     90014425129
9788829367B444   TAKEYA       SANDERS                      NC     90007772936
9788848894B554   DANNY        ELLIOTT                      OK     90011424889
9788858325B361   ADRIAN       FLORES VILLA                 OR     90013105832
9788912985B383   JESSICA      JEFFREY                      OR     90012231298
9788948615B548   LUIS         TARANGO                      NM     90011584861
9788971815B361   HYACINTH     BALTAZAR                     OR     44537937181
978898A5181634   JOSE         RICO-AGUILAR                 KS     90014448051
97889911372B62   DORA         GARCIA                       CO     90007829113
97889A32534793   HAROLD       MARSHALL                     PA     90014660325
9788B272491599   KODY         THROOP                       TX     90012142724
9788B28A341296   MIGUEL       GRACIA                       PA     90013402803
9788B52A85B345   KIM          NAREHOOD                     OR     90012085208
9788B553891951   LINDA        HAYES                        NC     90013245538
9788B714972B32   EDNA         LOZANO VILLEGA               CO     33060897149
9788BA83A97123   ADAM         HERNANDEZ                    OR     90011160830
9789137255B383   TIFFINY      MCCULLOUGH                   OR     90010873725
9789159454B949   MARTIN       GUERRA                       TX     90007105945
978917A4381634   NICOLE       LEWIS                        MO     29037327043
97892714A91399   ALICIA       HERRERA                      MO     90014747140
9789323435B563   RHIANNON     SALAZAR                      NM     90012302343
97894219872B22   JESSIE       MOLLERUD                     CO     90009302198
97894426A5B383   JESHUA       BLACK                        OR     90007894260
9789461934B949   HERLAN       JONES JR                     TX     76591486193
9789466A23164B   CHRISTY      RILEY                        KS     22095586602
9789516A491599   ERNESTO      ORTIZ                        TX     90011351604
9789521145B361   CANDELARIA   GARCIA BAUTISTA              OR     44502692114
9789563623B358   ELIA         BOCK                         CO     90002876362
9789649175B531   JOSE         RODRIGUEZ                    NM     90014714917
97898155872B28   SCOTT        WAID                         CO     90012961558
9789844695B361   DONN         SAKAMOTO                     OR     90010364469
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1824 of 2350


9789848579188B   DARIN         WELLS                       OK     90010914857
978988A2172B62   CORTLAND      TRIMM                       CO     90014958021
97899473172B3B   OKAMATSU      THOMAS                      CO     33072594731
9789947A393755   SELVIN        GUEVARA                     OH     90009724703
978998A754B949   TONYA         RICHARD                     TX     76524728075
9789B318A72B24   MILAGROS      TEJADA                      CO     90011983180
9789B428791951   JESSICA       CULBRETH                    NC     90014874287
9789B82384B554   SHARRON       PROBY                       OK     90001218238
9789BA87972B62   JENNY         PULIDO                      CO     90003660879
978B1649972B3B   NICOLE        MORRIS                      CO     90011176499
978B1694733638   BONNIE        KING                        NC     12033226947
978B16A955B229   AMANDA        KUEHN                       KY     90007306095
978B175A472B22   JUSTIN        PATTERSON                   CO     33089257504
978B297A855928   LANA          AGUILAR                     CA     90015409708
978B3111A72435   PEARLY        OTRADOVEC                   PA     51043451110
978B3149472B32   GEORGIA       MARLETT                     CO     33062751494
978B375A393755   MICHELE       GREENE                      OH     64563507503
978B4153A91599   CRISTINA      CARRERA                     TX     90013761530
978B417213164B   NACOLE        COLE                        KS     22006081721
978B45A2355923   CHRISTINA     MASON                       CA     90010995023
978B487A661979   LUIS          LEIVA                       CA     90014718706
978B4A54481634   CHRIS         TIGNOR                      MO     29076470544
978B5432691399   LAWRENCE      OVERBAUGH                   KS     90014744326
978B5849381635   CAROL         CLAY                        MO     90014848493
978B6551372B42   JASON         COPS                        CO     90014745513
978B6659991599   CHRIS         ACOSTA                      TX     90000346599
978B6A16855946   JESUS         LUNA-RAMIREZ                CA     48082890168
978B6A63491951   MARCELO       VALTIRRA                    NC     90012970634
978B7495891888   KEENA         THOMPSON                    OK     90009804958
978B76A244B554   DARIUS        BUFORD                      OK     90009046024
978B76A9172B3B   CONNOR        KINNON                      CO     33037086091
978B775A772B62   BRIAN         HOLCOMB                     CO     90013897507
978B7792472B42   MAYRA         JARAMILLO                   CO     33072317924
978B825174B566   TRINIDAD      PEREZ                       OK     90011622517
978B8732972B62   JAY           PARKER                      CO     90002567329
978B8819591599   GALVAN        SIXT                        TX     90007688195
978B947314B521   ROLANDO       HERNANDEZ                   OK     90011434731
978B954145B361   JOSE          CASTRO                      OR     90010215414
978B95A584B949   TRACI         GONZALEZ                    TX     90002985058
978BB12A141296   HARRIET       WILSON                      PA     51053671201
978BB194772B24   OMAR          MEDINA                      CO     90004071947
978BB29754B588   LIONEL        TRAYLOR                     OK     90006522975
978BB317333676   CHIQUITA      DUNCAN                      NC     90011443173
978BB5A577B444   PASION        FOSTER                      NC     90002165057
978BB69285B548   JUANITA       CORONADO                    NM     90013196928
97911621A77537   KYLE          MEHRMOFAKHAM                NV     90007256210
97912441872B32   TAMMY         GUERRA                      CO     33021414418
9791331527B444   JOHNNY        LEMUS                       NC     90011363152
97913662772B42   KODI          JUMPER                      CO     90004236627
9791368195B531   SERENA        POWELL                      NM     90010896819
979143A5541296   DAVID         WARNER                      PA     90013473055
9791444A272435   BRITTANY      PRIMAC                      PA     90011114402
9791454A75B383   LINDA         PIATT                       OR     90001995407
9791463417B628   SHANEKA       PARKER                      GA     90011396341
97915248672B32   ALEXANDER     ADALEN                      CO     90014812486
9791573924B949   ABRAHAM       GUTIERREZ                   TX     90015307392
9791632487B444   LATONIA       MCCLURE                     NC     90014873248
97916358472B56   PAUL          MORALES                     CO     33051193584
9791679517B24B   CANDELARIO    MENDEZ-OVANDO               NJ     40525827951
9791692595B548   BRYON         MONTOYA                     NM     90008939259
9791736A272B22   COLLEEN       OCONNELL                    CO     90014793602
97917429772B56   SANTOS        ARIAS                       CO     33046404297
9791793595B383   JESSICA       WARNER                      OR     44564679359
97917A4295B531   ROSS          BERGMAN                     NM     90009270429
9791821464B588   RICK          CALDWELL                    OK     90012852146
9791927177B449   CHRISTOPHER   WILLIAMS                    NC     90005212717
9791959854B949   KASIA         HOWARD                      TX     90014815985
9791998A481634   JAMI          WILKINS                     KS     90014799804
9791B294633698   LISA          ALLEN                       NC     90010432946
9791B421681635   BENNY         CRENSHAW                    MO     90012284216
9791B476772B42   WILLIAM       LEWIS                       CO     90014784767
9791B57A14B588   SHAYLA        PARKER                      OK     90013355701
9791B7A7693755   KELLY         BACK                        OH     64561927076
97922111172B42   ZACHARY       JOHNSTON                    CO     90015151111
97922388272B24   DAVID         RENTERIA                    CO     33081483882
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1825 of 2350


979227A7693755   KELLY         BACK                        OH     64561927076
9792285A772435   KENISHA       PEARSON                     PA     51072728507
97922A81661979   LAURA         URIBE                       CA     90004190816
9792311754B554   HAIDEN        POP                         OK     90014001175
9792316A15B361   JESUS         TREJO RAMIREZ               OR     44597841601
9792336638594B   ANGELLE       BRUNER                      KY     66069053663
9792338364B235   SAMANTHA      BANISTER                    NE     90003193836
97924731872B24   LUCERO        JOSH                        CO     90009717318
97924A1248594B   LISA          GOODIN                      KY     66007550124
97926183972B42   ISABELLA      RIEB                        CO     90011661839
9792636A472B22   JOSEPH        VELAZQUEZ                   CO     90014793604
9792729593164B   SHEILA        JEFFERY                     KS     90012902959
9792736A672B22   CHRISTOPHER   NELSON                      CO     90014793606
9792742885B383   MARIA         SOLARES                     OR     44570244288
9792761324B554   RUDOLPH       HEMINOKEKY                  OK     90013776132
97928563672B62   ASHLY         LANG                        CO     90013655636
97928944572B24   EDWARD        CABELLO                     CO     33097859445
97929224572B62   GARRETT       HILL                        CO     90012742245
97929A61A61979   MAYRA         SANCHEZ                     CA     90005620610
9792B31758594B   REBECCA       BRUMMETT                    KY     90014513175
9792B32393164B   CASEY         COBLE                       KS     22003953239
9792B817A77537   FELIPE        ARIAS-MARTINEZ              NV     90008738170
9793111A147971   ANTONIO       HERRERA                     AR     90012011101
9793141915B383   SHANNON       EDWARDS                     OR     44587874191
9793155595B548   STEVEN        SARRATINO                   NM     35017605559
9793255774B949   BETTY         STEEN                       TX     90005445577
9793273118B175   JACKIE        WELLS                       UT     31043767311
97932745772B62   JENNY         MADRIGAL                    CO     90013237457
9793277AA93755   MALACHI       HORRELL                     OH     90012957700
9793287497B444   ORLANDO       PAULING                     NC     11003068749
9793312324B554   WENDY         HOUSLEY                     OK     90009361232
9793323594B949   JACOULINE     FRANCIS                     TX     90008352359
979337A3972B62   GRAG          CAROLLO                     CO     33057957039
979338A4391599   SABRINA       LEWIS                       TX     90014878043
9793488A172B3B   ANGELA        MADINA                      CO     33067628801
97934941A81638   MORALES       AMY                         MO     29012829410
97934A7843164B   ARIANA        NORTH                       KS     90011880784
97934AA375B383   TAMI          SHANNON                     OR     90015120037
97936181572B24   NIKESHA       HOLLIDAY                    CO     33097331815
979365A974B554   MERLE         MARTIN                      OK     90010985097
9793792764B554   BENJIMON      LOPEZ ROJAS                 OK     90004409276
97937951272B24   MARIE         HERRERA                     CO     33017009512
9793811485B361   ALEX JACOB    POND                        OR     90013221148
9793954377B326   GUY           CAUSE                       VA     90001145437
97939585372B32   ALEXANDRA     JACKSON                     CO     90015245853
9793991394B588   MARCUS        HUNTER                      OK     90013589139
979399A3772B24   SELENE        MARTINEZ                    CO     90001769037
9793B12975B548   ZECHARIAH     HOLMES                      NM     90011011297
9793B359A5B531   SERGIO        FIGUEROA-CORDERO            NM     90002463590
9793B54474B588   KYLA          BARNES                      OK     21554125447
9794154845B531   MADEL         MONTES                      NM     90011925484
9794162345B361   WAYNE         BACKLUND                    OR     90005996234
979416A5797123   THOMAS        CORONA                      OR     90014856057
9794178984B949   GWYDION       DAVIS                       TX     90013527898
97941A5A191882   DARIO         HERNANDEZ                   OK     90011370501
9794215158B175   MISTY         WOODS                       UT     31014801515
979431A8A81639   JESSICA       ANDERSON                    MO     90010711080
97943473A72B56   MARGARITA     MARQUEZ                     CO     33035994730
9794353814B235   MARIA         RIVERA                      NE     27095085381
9794387515B548   STEVEN        BALDONADO                   NM     90011768751
9794496A161979   CECELIA       BROWN                       CA     46014719601
9794612773164B   KATHERINE     TUCKER                      KS     90011201277
97946418A72B56   ARIEL         LOBATO                      CO     90002294180
979465A3297123   AUDRA         BENTLEY                     OR     90009065032
97946645972B21   JOSE MARTI    MARTINEZ                    CO     90002056459
9794671454B949   MICHELLE      PARKER                      TX     76516597145
9794689495B361   MATTHEW       HARDER                      OR     90014168949
979476A2541296   LINDA         MCCARTHY                    PA     90012386025
97947985A4B949   JOSE          CASTRO                      TX     90012639850
97947A91A91599   EDGAR         VILLANUEVA                  TX     75040680910
9794832795B548   JESSICA       GUTIERREZ                   NM     90008643279
9794846A533638   MARANDA       TEAGUE                      NC     90003164605
979489AA693755   ERICA         HUNTER                      OH     90014769006
9794947133164B   DIANNA        ADAMS                       KS     90005384713
979494A9855979   JEFF          SMITH                       CA     90013554098
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1826 of 2350


97949A28197123   CARLMAI        RALPHO                     OR     90014880281
97949A5A87B449   AGUSTIN        MARCOS                     NC     90012360508
97949AA4491951   KEITH          HARRIS                     NC     90014880044
9794B229861979   HECTOR         JIMENEZ                    CA     90006292298
9794B299A72B22   CARLOS         ARAEZA                     CO     33063512990
9794B62995B531   ZACHARY A      PRIMROSE                   NM     35096596299
9794B882572435   MORGAN         GLITSCH                    PA     90000518825
9794B95374B588   JANIECE        COOKS                      OK     21508119537
9795114444B554   KIMBERLY       MCAULEY                    OK     90003481444
97951698472B56   KAYLA          DOHERTY                    CO     33014566984
97952198672B42   RONALD         STAWSKY                    CO     90011661986
9795224467248B   JAMES          QUARESIMA                  PA     90006832446
9795234A15B383   TOD            SPAUGY                     OR     44505483401
97952A89772B3B   PAUL           PRICE                      CO     90014330897
97953264672B24   WILLIAM        LUCERO                     CO     90004072646
97953842372B22   STEPHANIE      JO-GIDLEY                  CO     33009158423
97953A6285B361   STEVEN         MOORE                      OR     90011160628
9795431244B554   KRYSTINA       TAPLEY                     OK     90001653124
9795453495B531   PENNY          DAVIS                      NM     35033425349
97954718672B42   YOHANNS        GANZAY                     CO     90013727186
9795517925B383   AMBER          BENTZ                      OR     44582221792
9795531637B444   MARCO          MCDOWELL                   NC     11042863163
97955AA975B383   SARAH          SKEREI                     OR     90011880097
9795633557B444   DONNELL        GRAY                       NC     90014873355
979568A414B554   SUZETTE        HOPKINS                    OK     21583438041
9795721AA2B98B   STEVEN         TURNER                     CA     90012982100
97958A44972B3B   DANIEL         CRUZ                       CO     90014830449
9795969495B383   TAMEKA         COBBS                      OR     44567186949
97959AA6285932   RUBEN          PABLO                      KY     90015460062
9795B764872435   KARA           FOX                        PA     90015337648
9795BA8787B444   GREORY         MINOR                      NC     90014000878
979613A8861979   GRACE          DELGADO                    CA     90010803088
9796161795B531   AARON          PIERCE                     NM     90013156179
9796162413164B   JAMES          MILLER                     KS     22097766241
9796185318B175   TERRY          STEWART                    UT     90005918531
9796197574B554   STACEY         PHILLIPS                   OK     90013779757
97961A34672B22   ANDREW         PERCIVAL                   CO     90011260346
97961A6A191951   MAGDALINDA     ROBLERO                    NC     90014880601
9796271955B531   BERNA          GONZALEZ                   NM     90010897195
979627A834B588   ELVIN          PEREZ                      OK     90010837083
9796292168594B   DEANDRA        JACKSON                    KY     90013599216
9796353A34B554   SHEREKA        WOODS                      OK     90013005303
97963585A97123   DOLLO AMANDA   ROBINSON                   OR     90014645850
9796387AA81669   VANISSA        HAGGARD                    MO     90010888700
979638A6361973   IRASEMA        SEYDE                      CA     90002908063
9796413663B385   DAVID          OCHOA                      CO     33053041366
97964871472B3B   MARIO          VELETA                     CO     90002798714
97964A51381634   KEVIN          LUNA                       MO     90015010513
9796527695B531   VALERIE        CHAVEZ                     NM     35079222769
97965315172B3B   AMPARO         MARTINEZ-DE LA TORE        CO     90003563151
9796541748B175   ANA MARIA      LAGUNAS                    UT     90005904174
9796569298B136   PHIL           CRAWFORD                   UT     31059046929
97965911572B56   JOSE LUIS      BARRON                     CO     90005899115
97965AA5A72B42   TERRELL        WRIGHT                     CO     90008090050
9796624624B588   DEANDRE        RATLIFF                    OK     90010862462
9796653148B175   MARIO          RUIZ                       UT     90015205314
97966751472B22   GAIL           LONG                       CO     90009317514
9796722827B444   MAIKEL         JAMAIKINO                  NC     90010152282
97967741972B24   KRISTINA       STOLL                      CO     33097437419
97968512A5B531   ANTHONY        GRIEGO                     NM     35001035120
9796958597B628   JOHNNIE        THOMAS                     GA     90014845859
979698A2172B32   MARIA          FERNANDEZ                  NM     33055868021
9796B178172435   LORI           MARROW                     PA     51047131781
9796B27495B531   CLAUDIA        MADRID                     NM     90013232749
9796B2AA891599   NICOLE         ARZATE                     TX     90014742008
9796B572977521   MIGUEL         LINAN                      NV     90013205729
9796B582A5B361   MONICA         ACUNA                      OR     90008675820
9796B59A68B175   CARLA          HESS                       UT     90014405906
9796B628A77537   LESLIE         SALAZ                      NV     43007416280
9796B75265B54B   MIKE           LOSHO                      NM     90013277526
9796B943A72B22   KAINA          NOURDINE                   CO     33005519430
9797214364B588   WILLIE         LLOYD III                  OK     21517841436
9797233564B554   KEVIN          HALL                       OK     21521123356
9797321615B361   MARIELA        VALVINA ESCALANTE          OR     90001852161
97973293972B42   GORGE          GONZALES                   CO     90015242939
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1827 of 2350


9797433564B554   KEVIN        HALL                         OK     21521123356
979749AAA72B42   MAYRA        RAMIREZ                      CO     90013499000
9797562A393755   DANIEL       YOUNG                        OH     64519396203
97976724672B3B   RONALD       BURNETT                      CO     33061707246
97976A96A72B24   JENNIFER     CURTIS                       CO     33029650960
97977186172B3B   MICHELLE     GONZALES                     CO     33038711861
97977457972B36   PAVEL        NAUMENKOV                    CO     90009814579
979775A4981634   JAIHAD       MUHAIDEEN                    MO     90014535049
97978182272B24   ROSAURA      LOPEZ                        CO     33087591822
979785A478B175   JUAN         ANDRADE                      UT     31004275047
97979529472B24   MARIA        CRUZ                         CO     90010335294
9797991525B54B   BETTY        HARVEY                       NM     90014869152
9797B15915B383   STEPHANIE    BATES                        OR     90014601591
9797B24775B361   JESSICA      NORTH                        OR     90013952477
9797B315172B3B   AMPARO       MARTINEZ-DE LA TORE          CO     90003563151
9797B58185B531   BOBBIE       MUNOZ                        NM     90001965818
9797B746181634   JENNIFER     FORTNER                      MO     90006667461
9797BA94172B32   MAURO        REGALADO                     CO     33017810941
9798114415B361   RIQUEL       MENDOZA                      OR     90013411441
97981836472B42   TOM          HARRISON                     CO     33089238364
9798245445B361   CLARE        HIMES                        OR     44531564544
979827A4872B22   TARA         KOLACNY                      CO     90000237048
9798336524B554   JAMES        WARNER                       OK     90001443652
97983A2A43164B   WILLIAM      HARMON                       KS     90005070204
97983A32681639   STEPHEN      BAILEY                       MO     29023960326
9798515973164B   BREASHA      HARRIS                       KS     90014211597
9798528185B361   PABLO        VILLARALDO                   OR     90015202818
9798546654B588   FELICIA      JENKINS                      OK     21551554665
97986669672B32   BRENDA       LIRA                         CO     33036516696
97986675572B3B   BRYAN        BAROLUY                      CO     90012796755
9798975275B548   FRANCISCO    CORDOVA                      NM     35048127527
9798976734B588   AMADONNA     SHAPUTIS                     OK     90012237673
97989A3A672B24   PAM          FAIRCHILD                    CO     90010490306
9798B14A45B548   MARIE        ARMIJO                       NM     90011011404
9798B668398B22   MELVIN       MENDOZA                      NC     90001386683
9798B84435B361   SILVIA       HERRERA                      OR     90001238443
979916A5697123   SARAH        PEQUENO                      OR     90014646056
9799183817B444   DARLENE      ANDERSEN                     SC     11044808381
9799243A64B554   JUSTIN       GRANT                        OK     90013204306
9799278A393755   CORNELL      AKEMON                       OH     90005327803
9799316584B554   FRANZ        BONILLA                      OK     21549191658
979931AA65B383   CHAD         MARTELL                      OR     90002631006
97993263A71936   DESTINY      ANGSTER                      CO     38014102630
979933A4793732   GULNORA      MURSALOVA                    OH     90000983047
9799381915B361   PETER        GIL                          OR     90001198191
9799417778B175   ADAM         FINN                         UT     90005841777
97994245A72B22   ROSALIE      MARES                        CO     90007382450
9799429A78594B   KAYLA        KEEN                         KY     90014902907
97994692572B62   JONATHEN     ROBLES                       CO     33069636925
9799487A34B588   JOAN         SPAKE                        OK     90014928703
97995248372B62   VERONICA     HERNANDEZ                    CO     33022352483
979952A1181634   FEDERICO     SAPATA                       MO     29053052011
9799546778B343   LUIS         SANCHEZ                      SC     90013894677
9799573798B175   CRYSTAL      FULTON                       UT     31053667379
97997253A55975   MARIA        MARTINEZ                     CA     90006912530
97997441372B62   ENEDINA      BALLINES                     CO     90000994413
97997858472B24   QUEEN        PHILLIPS                     CO     90006608584
9799787678B175   KEVIN        WESTENSKOW                   UT     31000678767
97997A57957132   MIRNA        FUENTES                      VA     90010500579
97998883A72B62   MARIA        CERRITOS                     CO     33027508830
97998916A81667   YOAB         ISRAELIAN                    MO     29004529160
97999A53161979   CHRISTINE    WEBB                         CA     90011970531
9799B44885B531   DEVIN        HUERTA                       NM     90012374488
9799B747572B22   VICKY        AGUILAR                      CO     90013487475
9799B7A7372B3B   DAN          ROLANDO                      CO     90011357073
979B11AAA3B348   JODY         NEIMAN                       CO     33094041000
979B125718594B   MICHELLE     STEVENS                      KY     66011062571
979B185724B554   DOMINIC      WILSON                       OK     21556838572
979B3259872B32   DONTE        NAPUE                        CO     90012882598
979B3455A4B949   ANGELICA     MEDINA                       TX     90013964550
979B3546191599   IRENE        SALAZAR                      TX     90014835461
979B38A4391599   SABRINA      LEWIS                        TX     90014878043
979B415944B532   DAVID        MCDONALD                     OK     90012571594
979B436364B554   RALPH        DUNN                         OK     90014503636
979B5214581634   HECTOR       TORRES                       MO     29024982145
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1828 of 2350


979B5226177537   FRANCISCO    CARRANZA CERVANTES           NV     43038892261
979B5423172B22   GUADALUPE    SANCHEZ                      CO     33094984231
979B5493A33638   REGINALD     MILLER                       NC     90013174930
979B552A672B56   MIKE         VASQUEZ                      CO     33014445206
979B5617141251   SARA         GAGNER                       PA     51016066171
979B637A85B361   MARTHA       RUELAS                       OR     90014213708
979B648A47B444   DAMIEN       COXTON                       NC     90013824804
979B695645B531   GREGORY      ARMANTA                      NM     90013219564
979B7231672B62   JOSEPHINE    CUNNINGHAM                   CO     90001562316
979B735255B548   EVONNE       SANCHEZ                      NM     35068633525
979B7426193727   WORTHEN      CONTONA                      OH     90000764261
979B7759291951   SANDRA       MONTERROSO                   NC     90014877592
979B7814761979   MARCELA      PAREJA                       CA     90014948147
979B7A95781634   EZEKIEL      ULREY                        MO     90015110957
979B816A297123   JOSHUA       MENZIE                       OR     90005081602
979B8351493755   CAROLYN      COLSON                       OH     64563243514
979B8642A91399   GENRY        PACHECO                      KS     90012266420
979B876495B531   KIMBERELY    ARMIJO                       NM     90005707649
979B8A4175B383   GLENDA       WANN                         OR     44560020417
979B9444A7B444   BRENDA       HERNANDEZ                    NC     11041824440
979B9681272B24   HAGEN        WEBER                        CO     33029166812
979B98AA172435   ROBERT       BROWN                        PA     90015108001
979BB34657B449   JOSE         CADENA                       NC     90007463465
979BB65483164B   MATT         WHEELER                      KS     90012736548
979BB659841251   CHRISTY      MITCHELL                     PA     90000586598
97B11857255975   JAIME        RANGEL                       CA     90000688572
97B1257685B383   JACQUE       LAVADOUR                     OR     90009895768
97B12579433B2B   KAITLIN      BLANKENSHIP                  OH     90015215794
97B13141472B56   VERONICA     RAMIREZ                      CO     90011841414
97B1315825B361   JOHN         BRANNAN                      OR     90011431582
97B13271572B3B   MIGUEL       LEMUS                        CO     33095182715
97B132A9191951   PRISCILLA    YELVERTON                    NC     90010262091
97B13584661979   ABBEY        GONZALEZ                     CA     46060265846
97B1377243164B   VIRGINIA     KNOWLES                      KS     90014457724
97B137A3572B32   MARIBEL      SIFUENTES                    CO     90009197035
97B13837533698   ELLEN        HORN                         NC     90011068375
97B13927A4B554   ALEJANDRA    RAMIREZ                      OK     21509849270
97B1414965B383   ALLISON      GUIDA                        OR     44513131496
97B14186272B42   SYLVIA       HERNANDEZ                    CO     90011931862
97B14235791399   PATRICIA     CAILLAS                      KS     90009182357
97B14716972435   TERRANCE     JOHNSON                      PA     90009557169
97B15242691399   JENNIFER     MASON                        KS     90004832426
97B15412672B49   BEATRIZ      GUTIERREZ                    CO     90014754126
97B15619A72B22   SARA         TOMS                         CO     90014766190
97B1572887B444   DESHAWN      ALEXANDER                    NC     90012767288
97B15854981651   DAVID        NORMAN                       MO     90010748549
97B15A17272B3B   KENNETH      DURAN                        CO     90008030172
97B161AA15B531   ANAMARIA     GUERRA-MARTINEZ              NM     90014091001
97B16357A72B42   VICTOR       RAEL III                     CO     33098023570
97B1679A472B24   EMERSON      KELLY                        CO     90011717904
97B16835172B62   KENNETH      MARTINEZ                     CO     90007778351
97B16A7195B383   AL           CENDER                       OR     44559020719
97B16A75172B84   GEORGINA     MILLAN                       CO     90000630751
97B17517191599   MARISSELA    RAMOS                        TX     90014455171
97B17718A91399   BILL         HOWARD                       KS     90010357180
97B181A115B548   CLAUDIA      FLORES                       NM     90014891011
97B1856885B383   EDWARD       STEVENS                      OR     44516995688
97B1872A893726   ELIZABETH    THARP                        OH     90009397208
97B1873A597123   GREGORIO     SOLORIO                      OR     44037267305
97B1945795B361   TERRY        DAVIS                        OR     90014814579
97B1948485B383   SAWSO        EMU                          OR     90013184848
97B19549691599   MONCERRAT    GRANADOS                     TX     90007685496
97B1969517B349   WILBER       UMANZOR                      VA     81032246951
97B1999778B175   CURTIS       DORSEY                       UT     90012639977
97B1B12754B554   KIMBERLEY    HUDSON                       OK     90013281275
97B1B54464B554   AMY          HALSLEY                      OK     90014735446
97B1B551481638   ALLENDA      WILSON                       MO     29016235514
97B1B7A7491951   WILLIAM      JONES                        NC     90014857074
97B21727A7B444   MARY         DIXON                        NC     90004057270
97B21954733626   KELLI        BAYS                         GA     90008989547
97B21A1974B554   JESUS        CHAVEZ                       OK     90010460197
97B2225274B949   CRYSTAL      ALAMIA                       TX     90013242527
97B2242528B175   SALVADOR     FIGUEROA                     UT     90015034252
97B2245A65B531   MELISSA      SALAZAR                      NM     90013474506
97B2246225B548   ROMERO       ASHLEY                       NM     90009564622
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1829 of 2350


97B22619A72B22   SARA              TOMS                    CO     90014766190
97B2293445B361   KASSANDRA         LACOMBE                 OR     90012519344
97B234A2487B32   TENKIA            CARROLL                 AR     90012784024
97B234A8154127   CARLOS            ROJAS                   OR     90014244081
97B23878572B3B   ROSA              TORREZ                  CO     33094808785
97B24161643584   LAVONNE           JOHNSON                 UT     90001421616
97B2443865B383   DAVID             JACOBO                  OR     44542944386
97B25238971964   TON               MCCAMBELL               CO     32011792389
97B254A5585882   GLEN              CARDINAL                CA     46086664055
97B2551A351887   MATT              FUERY                   NY     90010205103
97B257A1797123   MAYRA             VILLALVAZO              OR     90015387017
97B26152372B22   IRMA              GARCIA                  CO     90014431523
97B26682761979   JOSE              CASTRO                  CA     90012446827
97B2678A691599   LUIS              ROMAN                   TX     90014927806
97B2689615B562   JESSICA           VARGAS                  NM     90003708961
97B27246491951   GIOVONNI          BELL                    NC     17033732464
97B27295191599   MAYRA             RUIZ                    TX     75092122951
97B2759485B531   MARIA             CASTILLO                NM     90005235948
97B27773972B42   DARYL             JOHNSON SINOR           CO     33039017739
97B27778881639   MAURICE           LARS                    MO     29072617788
97B27848297123   KATIA             ARELLANO MACHUCA        OR     90014498482
97B2789615B562   JESSICA           VARGAS                  NM     90003708961
97B2793118B175   MICHELLE          WILLIS                  UT     31006579311
97B28A14491399   ESPINOSA          WILBER                  KS     90003060144
97B2914735B531   CHARLENE          LUJAN                   NM     90015141473
97B29198A72B22   MARIA             BRAVO                   CO     90002591980
97B2932315B361   INDIRAH GANDY     LOPEZ SANCHEZ           OR     90015133231
97B2B412191599   GEORGINA          ORTEGA                  TX     90012834121
97B2B5A843164B   AIMEE             MARRERO-WILLIAMS        KS     90012725084
97B2B786591951   ORENN             GREENE                  NC     90010587865
97B2B99827B449   DA VONTE          WILSON                  NC     90014449982
97B2BA4395B531   VICTORIA          WEATHERS                NM     35082150439
97B2BA55361979   FERNANDO          SILVIA                  CA     90015030553
97B31182281634   WILLIAM           WORKMAN                 MO     29064831822
97B31364977537   DONNELL           KEMPER                  NV     90014353649
97B31516491599   ARLY              VELASCO                 TX     75041055164
97B31827A72B84   STACEY            THRAP                   CO     33076968270
97B31847297123   RENEE             SCHILLER                OR     90014838472
97B31924572B22   VICKY             GOMEZ                   CO     33009019245
97B3215288B175   STEVEN            KINGSBURY               UT     90012211528
97B32245872B62   BEV               NOWAK                   CO     33056052458
97B3235464B228   RICHARD           OREJEL                  NE     90013833546
97B32683191882   JEREMIAH          EDWARDS                 OK     21033026831
97B32A43372B32   JONATHAN          MUNIZ                   CO     90014570433
97B33318785951   ISRAEL            ROMO                    KY     90011703187
97B341AA743584   JOSH              HUNT                    UT     31089561007
97B344A358B175   SYDNEE            SOTER                   UT     90000934035
97B3487344B588   TANISHA           MURPHY                  OK     90010928734
97B34933932582   DIQUATHA          MILLER                  TX     90014359339
97B3516327B444   GILBERTO          HERNANDEZ               NC     11058101632
97B35323141296   SHARON            TERRY                   PA     51045063231
97B3625A35B531   FULISHA           ARMSTRONG               NM     90010892503
97B3659954B949   CRYSTAL           ESTILLETTE              TX     90011615995
97B36766381634   SHAREE            THOMPSON                MO     90011977663
97B3677724B554   SHAYLA            GARRETT                 OK     90011167772
97B3847872182B   KATIE             RUTLEDGE                MN     90015414787
97B38A1647B449   DARRICK           WOODS                   NC     11088690164
97B38A8848B175   JOSE              MOSTACERO               UT     90014590884
97B39187672B32   EAMONN            MILLER                  CO     90010131876
97B39415672B62   NATALIE           ARROYO                  CO     90013234156
97B39623172B22   MYKAYLA           JOHNSON                 CO     90014766231
97B3B19753164B   SUE               WASHINGTON              KS     22053001975
97B3B33733B394   KURT              MAYO                    CO     33096033373
97B3B79695B361   ESTHER            SUMMERVILLE             OR     90009557969
97B3B826761979   MARIANA           MARQUEZ                 CA     90013078267
97B41177172435   CONNIE            PSOMAS                  PA     90002951771
97B41627472B22   GABRIELLA DURAN   SALAS                   CO     90014766274
97B4163918B175   AMY               ROBERTS WYNDHAM         UT     90006786391
97B41A9A27B444   KWAN              LEE                     NC     90011420902
97B42123697123   ROLIANNA          SNIGHT                  OR     90014571236
97B42427191399   LESLIE            SOTO                    KS     90009954271
97B436A1397123   HANNAH            CORTES RODRIGUEZ        OR     90012236013
97B4376624B949   ERIC              B                       TX     90014287662
97B437A994B235   GEORGE T          PLOFKIN JR              NE     27037137099
97B43A76372B32   EUAY              SAENGSAVATH             CO     90006870763
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1830 of 2350


97B4434367B444   REGINALD     NATHANIEL STITT JR           NC     90014713436
97B44594893755   HENRY        MCBETH                       OH     90012745948
97B4479824B554   MAGON        HARRIS                       OK     90012687982
97B44962961979   CLARISSA     MANCILLA                     CA     90008489629
97B44A12A72435   CHARLES      CHORPE                       PA     90015580120
97B45165981635   LAUREN       DEPETRE                      MO     90014741659
97B45456991988   CHRIS        BURNS                        NC     90011444569
97B4551744B554   SHAQUILE     ROBINSON                     OK     90015235174
97B4564744B949   ROBERT       MONTGOMERY                   TX     90010576474
97B45744291599   JOSE         SANCHEZ                      TX     75010317442
97B46652172B3B   CHARITY      SALAZAR                      CO     33070316521
97B467A398B175   HILLARY      WINGER                       UT     90014167039
97B46986233698   RANITA       GIBRIL                       NC     90011059862
97B46A2334B949   TROY         HANDY                        TX     90009500233
97B46A7825B383   RICHARD      ORTIZ                        OR     90009520782
97B48167941296   TONY         REED                         PA     90008521679
97B48227572435   ROSALIE      ARCHER                       PA     51068652275
97B48322772B62   REBEKAH      INGLIS                       CO     33028773227
97B4846694B588   PATRINA      WAINSCOTT                    OK     90013264669
97B4874517B444   RHONDA       CHRISTENBURY                 NC     11068907451
97B48848861979   GERARDO      SANCHEZ HERNANDEZ            CA     90013268488
97B488A6891828   KYLE         DIFFEE                       OK     21054428068
97B48A7A14B554   NATALIE      BROWN                        OK     90010960701
97B4914735B531   CHARLENE     LUJAN                        NM     90015141473
97B49329272B46   THERESA      SWEETWINE                    CO     90012513292
97B49972A72B56   OLGA         RODRIGUEZ                    CO     33018249720
97B4B465761979   KEN          FLUET                        CA     46015354657
97B514A585B531   VICTORIA     SINGER                       NM     35004064058
97B51854572B62   HILARIA      DELGADO                      CO     33062648545
97B51A86793755   CHARLES      SMITH                        OH     90010870867
97B52223A41296   AMINA        JACKSON                      PA     90014812230
97B5225335B383   SONIA        RAMIREZ                      OR     44551112533
97B52335791599   JOSE         LOPEZ                        TX     90013543357
97B5277954B588   SAM          GRISBY                       OK     90012377795
97B52921161979   JAZMIN       SANCHEZ                      CA     90014939211
97B52A88372B22   BRANDON      LEE                          CO     90009300883
97B5342395B531   CAMILLE      CONTRERAS                    NM     90009324239
97B53571872B32   PATRICK      VAUGHN                       CO     90014725718
97B5371694B588   JULIA        GLENDINNING                  OK     90014897169
97B5398125593B   YOVANNE      HERNANDEZ                    CA     90013159812
97B53AA9197123   IMELDA       VIORATO NARVAEZ              OR     90010090091
97B5461A784372   AMANDA       COOPER                       SC     90012856107
97B54871772B62   BEATRIZ      DELGADO DE MENDONZA          CO     33051828717
97B54884472B42   CHRISTINE    MORENO                       CO     90002668844
97B54953881635   STEPHEN      LINDSEY                      MO     90013449538
97B55339972435   SAMANTHA     KOONTZ                       PA     90014643399
97B55377672B3B   QUINNOVAN    PERRY                        CO     90011713776
97B55863472B22   MARIA        LARA-PEREZ                   CO     90011258634
97B5617278B175   DELVIN       FIEFIA                       UT     31009331727
97B5618597B444   JAZMERIA     LOSTON                       NC     90012011859
97B56839491826   SAUL         ROJAS                        OK     21008628394
97B56841372B62   CHRISTIAN    CHAVEZ                       CO     33057528413
97B57458A2B84B   CECILIA      DELTORO                      ID     90012434580
97B57671993755   FELICIA      BRICE                        OH     64570226719
97B576A2772B24   GABRIELA     CARMONA                      CO     90008416027
97B576A383164B   WELDON       SMITH JR                     KS     22044736038
97B57848272B56   CHRIS        MOSMAN                       CO     33048108482
97B5798798B175   KRISTOPHER   ROMERO                       UT     90003809879
97B5827167192B   AARON        JOSEF                        CO     90010822716
97B58384A41296   LISA         KING                         PA     51014923840
97B5844334B554   DANESHA      DOUGLAS                      OK     90005694433
97B584A345B361   GRACE        GONZALEZ                     OR     44583094034
97B5881865B367   SHANDA       KIMBER                       OR     90010418186
97B58869291951   EULALIO      HERNANDEZ RIVERA             NC     90014858692
97B5888425B288   JOHN         GATZ                         KY     90011058842
97B5891314B949   MORAL        HAMPTON                      TX     90013429131
97B59161472435   JESSICA      MCDONALD                     PA     90014821614
97B5938874B949   MONICKA      SMITH                        TX     76511633887
97B59612472B62   JOSE         CERVANTEZ                    CO     33059086124
97B5BA6143164B   PATRIC       BLANKE                       KS     90012130614
97B5BA99154B42   PATRICIA     KEITH                        VA     81010530991
97B61362172B22   ISAURA       VALDOVINOS                   CO     33088073621
97B6154828594B   STEVEN       JOHNSON                      KY     90014565482
97B6158455B548   JASON        KISSAM                       NM     35095235845
97B61733891399   LUKE         GERARD                       KS     90011937338
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1831 of 2350


97B62234A72435   KIMBERLY     POORE                        PA     90004582340
97B62612361979   JESSICA      SOTO                         CA     90005146123
97B62A33A8594B   MELISSA      WITTER                       KY     90011450330
97B62A59172B42   BARBARA      HOMES                        CO     90013750591
97B62A9448594B   CHRISTINE    STIDHAM                      KY     90012760944
97B6314553164B   REBECCA      MOORE                        KS     90005691455
97B6339799132B   VOYCE        FAISON                       MO     90008193979
97B6412788594B   OLGARINA     BURGOS                       KY     90013931278
97B64144672B62   PAIGE        BARLASS                      CO     33088431446
97B642A3972B24   ABNER        GONZALES                     CO     90006562039
97B64741443584   RAE          CLEMENTS                     UT     90008517414
97B64A69997123   LESLIE       HAWKINS                      OR     44030110699
97B65462193755   CODY         MCDANIEL                     OH     90002624621
97B65569691951   NICOLAS      MARTINEZ                     NC     90012005696
97B65937872B42   BRANDON      ZIELBAUER                    CO     90013009378
97B6656A981639   SONYA        RHODES                       MO     29078715609
97B6657945B361   ELIZABETH    EBERT                        OR     90010545794
97B6676157B444   EDWARD       DOLAN                        NC     11068727615
97B6688494B554   KEITH        OLSON                        OK     90009998849
97B66931377537   JENNIFER     KURTS                        NV     43007299313
97B67338291599   CAROLINE     MOLINA                       TX     90013543382
97B6741A75B383   YERANIA      SMITH                        OR     90013644107
97B67A1A461979   JUAN         GONZALES                     CA     90014170104
97B68425591599   MANDO        GUZMAN                       TX     90013254255
97B68548272435   ALISHA       INMAN                        PA     90014755482
97B68617772B3B   CLINTON      YOUNG                        CO     90006086177
97B68628572B57   DEBRA        CUBA                         CO     33014826285
97B6912AA72B56   MACARIO      VARGAS                       CO     90013311200
97B69148381634   MICHELLE     THOMPSON                     MO     90002331483
97B69362A72B32   MARTIN       DAY                          CO     90012683620
97B6956AA43584   RACHELLE     SWEENEY                      UT     90011875600
97B697A7481635   JOSEPH       BREWER                       MO     90013167074
97B69A98A77537   YARA         CABRERA                      NV     90010800980
97B6B28587B444   ANITA        HOOD                         NC     11047092858
97B6B41513164B   JESSCINA     SIMPSON                      KS     90014384151
97B6BA32591599   JORGE        ZAMONSETT                    TX     90012150325
97B71161291951   BRITTNEY     COPELAND                     NC     17071011612
97B72236772B42   LINDA        LEGAT                        CO     90010422367
97B7225244B554   BREANA       COLEMAN                      OK     90015002524
97B727AA272B22   EVELYN       MOLINA                       CO     90011557002
97B72947291951   JENNA        LEANNA                       NC     90009239472
97B72971A8594B   SEAN         LYONS                        KY     90000369710
97B73487672B22   THOMAS       SNYDER                       CO     90014784876
97B7376498B175   REBECCA      SCHLIPMAN                    UT     90014167649
97B7383892B269   KATRICE      SMITH                        DC     90007558389
97B74532291951   DENNIS       YETSKO                       NC     90014695322
97B745A918B175   LEILANI      ROSALEZ                      UT     31050465091
97B74A8A191551   HUGH         FREITAS                      TX     90011650801
97B7552295B531   SHAWNA       CORIZ                        NM     90015035229
97B7553A572B32   JACQUE       HILL                         CO     90003305305
97B7572328B175   TORI         FLINDERS                     UT     90012617232
97B75AA9272B22   LORENZO      HERNANDEZ                    CO     33082490092
97B76216843584   KATHERINE    KOTYK                        UT     90011692168
97B7635484B588   LAQUANN      GILKEY                       OK     90014153548
97B76621672B36   FELICIA      ABRAM                        CO     90013656216
97B7662A193755   EBONY        LEWIS                        OH     64561786201
97B76A65881639   ABIGAIL      GUZMAN                       MO     90003220658
97B76AA815B531   TAWNY        GRIEGO                       NM     90012170081
97B77127A72B29   MAUREEN      HYDE                         CO     90012801270
97B7752184B588   GUILLERMO    GONZALES                     OK     90003285218
97B77773A93755   PATRICIA     WILSON                       OH     90014647730
97B777A277B449   TYRIE        ERVIN                        NC     11095837027
97B7785A872B62   MAIRA        DIAS                         CO     33095678508
97B7788A891951   MICKIALA     FUENTEZ                      NC     90014738808
97B77A42372435   MICHAEL      NOVISKI                      PA     90015600423
97B7823985B531   LOREN        SMITH                        NM     90013242398
97B7871925B383   ROWENA       RIPLEY                       OR     44528227192
97B789A4181635   NICOLE       CASE                         MO     29027069041
97B79532291951   DENNIS       YETSKO                       NC     90014695322
97B79659472B42   MICHAEL      SANBORN                      CO     90014526594
97B7973928B18B   MICAH        REESE                        UT     90009337392
97B79A13391599   CARROLL      WILSON                       TX     75035680133
97B7B21275B548   FRANK        AVALO                        NM     90004552127
97B7B26977B444   CARLOS       HERNANDEZ                    NC     90003272697
97B7B34378B175   KEVIN        KIZER                        UT     90014183437
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1832 of 2350


97B7B585681639   JOSE ANGEL    LOPEZ                       MO     90012325856
97B7B63315B383   SUSAN         KHLIU                       OR     90002466331
97B7B693351328   SONJA         MCDOWELL                    OH     90002106933
97B7B695572B62   CARLA         MUNOZ                       CO     33071676955
97B7B94828594B   ANGELA        THOMPSON                    OH     90010959482
97B7B99973B365   DAVID         WALKER                      CO     33032729997
97B81494372B22   RONALD        MCCOY                       CO     90014784943
97B81569A91599   ISELA         GUZMAN                      TX     90014175690
97B8176768B175   IZAAK         CUPP                        UT     90014167676
97B8177238594B   STELLA        FITZER                      KY     90012287723
97B824A6772B32   MARY          PENA                        CO     33065454067
97B83155561979   ETELVINA      TINOCO RODRIGUEZ            CA     90014871555
97B8337745B563   MERCEDES      MOREJON                     NM     35048393774
97B8359954B949   CRYSTAL       ESTILLETTE                  TX     90011615995
97B8379325B361   STEPHEN       FERY                        OR     90011197932
97B8412218B576   GLORIA        VIALLERA                    CA     90014951221
97B84198991599   HUMBERTO      LOPEZ                       TX     90014701989
97B8436A693768   WHITNEY       BAILEY                      OH     90012493606
97B84573997123   KACEY         FERGUSON                    OR     90012455739
97B8487715B361   RUST          SMITH                       OR     90013488771
97B8492348594B   MELISSA       HASTY                       KY     90013759234
97B84A5A772B62   DAVID         KRIST                       CO     33045090507
97B853A755B361   KHANDALY      KHINGRATSAPHONE             OR     90013823075
97B85444872B22   GEBRESLASIE   GEBREKIDAN                  CO     90011584448
97B8588A972B62   MARY          MACHIN                      CO     33008408809
97B86197291553   YVONNE        GALINDO                     TX     75044961972
97B86588281638   GUADALUPE     GONZALEZ                    MO     90000395882
97B86735A97123   MARIA         CORA                        OR     90013277350
97B86833791882   DAVID         WALKER                      OK     21090328337
97B86867461979   SARAH         PACE                        CA     90013268674
97B8697664B588   TITIA         KINCHION                    OK     21590109766
97B8732155B361   MICHAEL       GUZMAN                      OR     44521263215
97B87513A81679   TEREZA        MENDOZA                     KS     90011655130
97B8757958594B   CARMEN        STROUDE                     KY     90002495795
97B8793918594B   AMBER         BARNES                      KY     66059719391
97B8834124B949   DAVID         TURNER                      TX     90014753412
97B8841664B949   GEORGE        LINCOLN                     TX     90013914166
97B8846385B531   SUSIE         DOMINGUEZ                   NM     90008684638
97B88732357132   CARLOS        QUINTEROS                   VA     90011547323
97B8877842B95B   MONICA        VASQUEZ                     CA     90006157784
97B89265591547   JOSE          CORRAL                      TX     90012082655
97B8934647B449   MALIKA        WILLIAMS                    NC     90002143464
97B8982762B24B   MAYEN         PABLO                       DC     81019718276
97B8995344B588   TAMIE         POWELL                      OK     21503239534
97B89AA715B531   TONY          SENA                        NM     35023830071
97B8B226341238   GLENN         PAYNE                       PA     90007942263
97B8B286577537   MITCHELL      SERIAL                      NV     43011362865
97B8B58937B632   MORGEN        FROST                       GA     90010435893
97B8B651941296   THEODORE      HILL                        PA     51084096519
97B8B748A72B3B   MARIA         MARTINEZ                    CO     33079477480
97B91113872B42   JUAN CARLOS   RODRIGUEZ-SALGADO           CO     90013031138
97B91218577521   ARACELI       FLORES                      NV     43067452185
97B9123A881634   DEBBIE        WELLS                       MO     90003442308
97B91537791599   PAOLA         LOPEZ                       TX     90011045377
97B91691851334   WANDA         WADDELL                     OH     90007696918
97B91748372B62   BRIANNA       DECIDERIA                   CO     90014467483
97B91784A4B588   JORGE         MARTINEZ                    OK     21505367840
97B91824997123   ANA           JUAREZ                      OR     44046658249
97B92159293732   TIM           HOWARD                      OH     64544511592
97B9245375B531   ROSEMARY      ZAMORA                      NM     90013474537
97B927A7777537   FERNANDO      RICO                        NV     90015347077
97B92887772B22   SIDDHARTHA    BARAL                       CO     90010258877
97B92923932582   ALEXIS        EVANS                       TX     90010679239
97B93332572B62   FREDY         QUIJADA                     CO     90014043325
97B9399824B588   EZEQUIEL      MARTINEZ                    OK     90015099982
97B93A6637B444   JASON         BABB                        NC     90014930663
97B945A6572B22   MANUEL        GARCIA                      CO     90014785065
97B946A5461979   STEVEN        SPIRAKES                    CA     90012966054
97B94829391399   CARLA         SMALLWOOD                   KS     90011338293
97B94978797123   SANDY         RIOS                        OR     90006139787
97B95185781634   INGEBORG      CODILLA                     MO     90015241857
97B9545A54B235   CHERE         WASHINGTON                  NE     90001694505
97B9557A84B588   MAURICIO      DELGADO                     OK     90013845708
97B95932172435   MICHELLE      MIXTER                      PA     51016339321
97B95973461979   BALDOMERO     MUNOZ                       CA     90011299734
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1833 of 2350


97B96A8628594B   MARY ANNE    BARRACOSA                    KY     90008980862
97B97883681639   JUAN         GARZA                        KS     29092508836
97B9866588B175   JASON        BOULTER                      UT     90012126658
97B99171A5B361   AMBER        BEHRENS                      OR     90012631710
97B99461533698   ANNA         MATTHEWS                     NC     90011174615
97B99471641296   TIERA        CUURINGTON                   PA     90011914716
97B99611393748   KARA         MILLER                       OH     90012536113
97B99752691951   VICTOR       CUBAS                        NC     90012757526
97B9B516672B3B   TERESA       GOMEZ                        CO     33001265166
97B9B789161979   LILIANA      SIERRA                       CA     90012087891
97B9BA47891882   MICHELLE     ONTIVEROS                    OK     21076000478
97B9BA72172B62   ALONZO       EZPINOZA                     CO     90013370721
97B9BAA1981639   JEREMY       ROBINSON                     MO     90009130019
97BB118114B588   NATASHA      KNIGHT                       OK     90007331811
97BB152518594B   DANNY        ACRA                         KY     90000365251
97BB155A172B56   SHAUNDRA     RAY                          CO     33083735501
97BB178285B383   LIZYA        MCCLINTON                    OR     44551647828
97BB1893672435   MARIA        SUPPA                        PA     51087828936
97BB231455B531   JAMES        PIAR                         NM     90010363145
97BB2548881639   KARLA        SMITH                        MO     90010215488
97BB2575872B42   QUINONES     JOSEPH                       CO     90007735758
97BB2586A72B56   CLARISSA     BROUSSARD                    CO     33089415860
97BB2679733698   BILAL        AHMAD                        NC     90012456797
97BB2695681635   SILIVIA      FUENTES                      MO     90006366956
97BB283174B949   MARINA       MARTINEZ                     TX     90002368317
97BB3521A81639   TOYANA       HICKMAN                      MO     29045295210
97BB378827B444   DANTE        ROBERTSON                    NC     90010137882
97BB418324B554   TAMARA       RODRIGREZ                    OK     21542451832
97BB4522355933   ELOI         MARIN                        CA     90012255223
97BB499A191882   LASHEA       LAWS                         OK     90011549901
97BB5144272B42   ISRAEL       SANCHEZ                      CO     90012281442
97BB5428A57125   BACILIO      CRUZ                         VA     90010914280
97BB643193164B   JESSE        RAU                          KS     22013624319
97BB67A3372B24   MARILYN J    VANBLARICON                  CO     90008417033
97BB689A981638   ANTONIO      ESPARZA                      MO     90002418909
97BB692678B175   BRANDON      WHIPPLE                      UT     90007719267
97BB699415B361   ERIK         CANCHE                       OR     44517219941
97BB723A591399   SHARON       WALKER                       MO     29042872305
97BB729255B361   EDWARD       TUPA                         OR     90011132925
97BB7422772B56   NORMA        AMES                         CO     90009974227
97BB749A533698   GERONIMO     GARCIA                       NC     90013654905
97BB7595A72B62   MARTA        ZAMARRIPA                    CO     33044085950
97BB8177772B42   ADRIANNA     LOPEZ                        CO     90012481777
97BB825814B588   LEE          WILLIAMS                     OK     90015612581
97BB8264281639   KARL         VIETH                        MO     29000672642
97BB8282772B56   JAMIE        BAREBO                       CO     33061382827
97BB8368691599   SARA         MARTINEZ                     TX     75043373686
97BB855212B891   COLLEEN      CONDON                       ID     42001485521
97BB8953461979   DULCE        RODRIGUEZ                    CA     90014169534
97BB9161693755   SHEDRICK     JOHNSON                      OH     90008461616
97BB929824B949   RONALD       CARROL                       TX     90014472982
97BB9418A93755   ASHLEY       CORNELL                      OH     90014284180
97BB95A5561979   MICHELE      CORNELL                      CA     90008965055
97BB981214B588   CARLA        WALSH                        OK     21551998121
97BBB17177B449   CRISTINA     JOSEPH                       NC     90014991717
97BBB468172B42   DAVID        SMITH                        CO     90012794681
9811168A397B59   GERARDO      MARTINEZ RAMOS               CO     39035836803
9811197A393755   ALEC         NEWBERG                      OH     90015199703
98111A13941251   JOHN         FALCONE                      PA     51093680139
98111A4654B554   KAYLON       WILLIAMS                     OK     90010110465
981126AA172B42   VANESSA      ORTEGA                       CO     33064446001
9811275295B25B   JOEY         SHUFF                        KY     68060077529
98112757272B3B   LORENA       FERNANDEZ                    CO     90003437572
98112A83661977   SERGIO       JUAREZ                       CA     90011990836
98113A44381639   GUSTAVO      REYES                        MO     90003090443
9811415638B175   BARIEENEE    NWIYIRA                      UT     31088551563
9811434A272B22   PATRICIA     RAMIREZ                      CO     33046533402
981144A9481637   KARELI       MARTINEZ                     MO     90013374094
9811494A641296   MOSES        MENIFIELD                    PA     51080829406
98115117797B59   SHANE        KRAMER                       CO     39087021177
9811519287B444   SHONPAYE     RICE                         NC     90002241928
981153A924B949   KHAILIA      SANDERS                      TX     90014403092
98115985772B3B   STEVEN       ABEYTA                       CO     33069649857
981166A2472B3B   ANTHONY      MIELO                        CO     90014936024
9811695265B531   JACOB        THOMPSON                     NM     90010409526
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1834 of 2350


9811722AA77537   STEPHANIE    HEATHCOTE                    NV     90008102200
98117783672B22   CLAUDIA      COLINDRES                    CO     90014747836
98117999897B59   CHRISTAL     VALANZUELA                   CO     90015029998
981182A5A61927   EVELYIN      ORTIZ                        CA     46021042050
9811852868B175   CASEY        MARTIN                       UT     90011755286
98118845A8B154   ASHLEE       STEWART                      UT     90004208450
98118A66572B32   FRANK        CARNAHAN                     CO     33036770665
9811914313164B   CHRIS        HURSEY                       KS     22096191431
98119A9982B299   DENISE       FORTSON                      DC     90001510998
9811B25434B588   RACHEL       MOORE                        OK     21567992543
9811B427772B42   BRENDA       GONZALEZ                     CO     90006284277
9811B5A2341296   RONA         BROWN                        PA     51036765023
98121283472B24   KERK         COX                          CO     90007862834
98121544272B3B   MARIA        HERNANDEZ                    CO     90013105442
981215A3972B62   JOAQUIN      ARAMBULA                     CO     33061885039
9812338A172B22   SARAHI       MARTINEZ                     CO     33039133801
98123A19757563   SHAUNDRA     BOGERT                       NM     90014630197
9812428143164B   SHAKEILA     BRICKLEY                     KS     90010642814
981245AA17B326   MOHAMMAD     AMIRI                        VA     90013795001
98124A33772B24   FERNANDO     HERNADEZ                     CO     90006220337
98124A84481639   NETTE        WILLIAMS                     MO     29053130844
9812533565B151   SYLVIA       ROGERS                       AR     90013633356
9812543AA57563   MIGUEL       LERMA                        NM     35518824300
98125786A72B22   GEORGE       LABONTE                      CO     90014747860
98125A28191599   JESSICA I    MARTINEZ SAENZ               TX     90008070281
98126563272B32   EZEQUIEL     CASTELLANOS                  CO     33008245632
9812692A555951   STEPHANIE    GARZA                        CA     90014539205
98127241197B59   ALFREDO      VIDAL-MONCADA                CO     39094102411
9812744775B383   KENNETH      WILSON                       OR     90014714477
9812767174B554   CHRISTI      CROSS                        OK     90013596717
9812787748B175   VICENTE      LLAMAS                       UT     90014048774
98128416A97B59   NANCY        BUSTAMANTE                   CO     90006964160
98129458472B24   ANGELICA     SERNA                        CO     90015024584
98129523672B32   ORLANDO      PINZON                       CO     90005485236
98129616372B3B   KATERINA     CANAS                        CO     90013646163
98129A55772B42   JOSHUA       LILLYBLAD                    CO     33061490557
98129A93381634   PATRICIA     HERNANDEZ                    MO     29064100933
9812B618672435   LAWANDA      PRYOR                        PA     51095706186
9812B752981634   RANDY        SNYDER                       MO     29096167529
9812B758191399   FERNANDO     HERNANDEZ                    KS     29079217581
9812B97214B949   FREDDIE      PARKERSON                    TX     90006689721
98131465572B62   MARC         SANCHEZ                      CO     33001314655
98131915272B24   DANIEL       ZAMARRIPA                    CO     90014989152
9813222375B548   GINGER       PENNELL                      NM     90009442237
98132326572B24   TODD         PHIPPS                       CO     33060303265
9813236485B378   BUZZ         A MURRAY                     OR     90000803648
98132A75872435   EFRAIN       ELIAS                        PA     90010500758
9813335124B554   GUY          WILLIAMS                     OK     90013493512
981334A2372B32   AMY          MARTINEZ                     CO     90010124023
98134642372B42   ISRAEL       RAMOS                        CO     33010216423
98134646972B62   RODOLFO      HERNANDEZ                    CO     33015646469
9813488A957563   CONRAD       ESTRADA                      NM     90011238809
98135839A81639   DAE SHAWN    WEBB                         MO     90012758390
981358A3172B3B   MARIBEL      SILERIO                      CO     90000168031
98136713772B24   SUZANN       LUCAS                        CO     33004197137
98136A1735B383   JUSTINA      SARPEE                       OR     90014240173
98138559672B62   DANIEL       MORENO                       CO     90010215596
98138856572B22   PAVEL        RAMIREZ                      CO     90012468565
98138953572B24   RAFAEL       GARCIA                       CO     33042259535
9813974A972B32   ANTHONY      BELLO                        CO     33091547409
9813B253A91399   JESUS        DE SANTIAGO MERAZ            KS     90013852530
9813B2A2581634   DANIELLE     MOORE                        MO     90014352025
9813B487872B62   ROSE MARY    ENRICO                       CO     90009944878
9813B973172B62   AZUCENA      HURTADO                      CO     90013939731
98141944172B32   CELIA        ALMEIDA                      CO     33047419441
9814214965B383   ROMAN        NACHTIGAL                    OR     90013661496
9814233358B175   HUGO         DAMIAN                       UT     90011773335
9814237A591399   JOSE         ALFARO                       KS     90014013705
98142944572B32   VINCENT      MARTINEZ                     CO     90012759445
98142944A72B62   ALICIA       SOLIS                        CO     90008359440
981435A9691399   ORLANDO      MONTOYA                      KS     90015035096
98144668A5B383   SHELBY       WINTERS                      OR     90013096680
98144A2965B545   LILLIAN      CAZARES                      NM     35058240296
98144A89472B24   PINEDA       TERESO                       CO     33037360894
98145612A81634   BECKET       MEAD                         MO     29085446120
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1835 of 2350


9814596875B25B   CARLOS        DEL TORO                    KY     90005009687
98147A45881637   PAT           MCCARTNEY                   MO     90003940458
98148145A55951   JOHN          KAMPMANN                    CA     49024671450
9814846253164B   PARIS         ALVAREZ                     KS     90009304625
98149118A5B383   DEBORAH       MORRIS                      OR     90001411180
9814922412B886   TOLLIE        RODGERS                     ID     90006782241
981493A1157563   MONETTE       BAEZA                       NM     90014633011
98149839272B42   TINA          BOGUHN                      CO     33079818392
9814B14277B424   ADRIANA       CASTILLO                    NC     90011801427
9814B789972B22   GABRIEL       IKEDA                       CO     90014747899
9814B8A9555951   NAPOLEON      YANES                       CA     90014158095
9814B94A997B59   SARAH         MORALES                     CO     90015169409
9814BA2334B977   GARY          SWANSON                     TX     90004850233
98151567472B3B   RONALD        BREWER                      CO     90012275674
9815173264B588   JOSE          WONCADA                     OK     90013507326
98152427172B3B   MARIO         COLIN                       CO     90012104271
98152983672B42   BRANDON       BRYANT                      CO     33074339836
9815318195B531   THERESA       LILLY                       NM     90007661819
9815441867B163   MLONGOLELWA   SALEHE                      ND     90015054186
98154A1545B531   LINDSY        SMITH                       NM     90009020154
98154A9A15B548   HERMELINDA    PEREA                       NM     35086730901
981555A1772B24   CHRISTY       BARTON                      CO     90000895017
98155A2385B383   JULIE         VANRYSWYK                   OR     90009540238
981567A8697B59   JOSEPH        SANCHEZ                     CO     90013867086
98156A6865B531   YVETTE        SILVA                       NM     35066210686
98156A97497B59   BRETT         HEINZER                     CO     90002840974
9815758735B531   ANDREW        M MONTOYA                   NM     90001145873
98157A12377537   CLARA         ALAMO                       NV     90001720123
98158241172B22   AUSTIN        VERSTEEG                    CO     90012522411
98158967A55951   GUADALUPE     VENEGAS                     CA     90009869670
9815B983672B42   BRANDON       BRYANT                      CO     33074339836
9816215978B175   TAMMY         MARRELLI                    UT     90012531597
9816263144B588   MERRILL       CANYON                      OK     90014406314
981634A4291599   ERNESTO       VARGAS                      TX     75092734042
9816418184B949   MICHAEL       WARD                        TX     90010431818
9816424385B531   ABIGAIL       CORRALES                    NM     35014772438
98164427A72B42   JOEL          JUAREZ                      CO     90007194270
98164594672B62   ANTHONY       WALKER                      CO     90014005946
98164A72172B22   JAMES         BRIGHT                      CO     33039130721
98165663972B3B   MARIA         GUEVARA                     CO     33075836639
98165765272B22   KRISTIN       MARQUEZ                     CO     33079427652
9816591484B554   MARGARET      OTTO                        OK     21518099148
98165A5836193B   PEDRO         LEDEZMA                     CA     46019460583
98166A2365B383   CASSANDRA     MATHIESON                   OR     44509370236
98167112A97B59   BAQUIEX       SAMUEL                      CO     39075871120
98167277A5B548   CE            SATTERFIELD                 NM     90010072770
981678AAA4B588   MICHAEL       MCKINZY                     OK     90011158000
981683A1272B32   PLASTER       SHASTA                      CO     33058663012
9816861638B175   EDITH         SOSA                        UT     90007266163
9816911935B344   JESSICA       STAFFORD                    OR     90008841193
9816B343472435   MARCUS        ALTMAN                      PA     90013613434
9816B797572B22   LISA          GOOD                        CO     90014747975
9816B91A497B59   PEDRO         VIVEROS-CIRILO              CO     90013609104
9816B927872B24   JUANA         MARTINEZ                    CO     90014989278
9816B9AA54B588   SOTERA        OCAMPO                      OK     90013929005
9817141835B531   JAIME         FLORES                      NM     90002574183
9817141A781628   GERRY A       CRAY                        MO     90010874107
9817147A191544   CARMEN        BONILLA                     TX     75074384701
981714A1861977   MARTHA        MARTINEZ                    CA     90012764018
981714A1A57563   ANDREW        GARCIA                      NM     90014644010
9817229A93164B   OMAR          MARTIN                      KS     90009112909
9817332145B531   DOLORES       SOSA                        NM     35047923214
981733A9455951   JACKIE        HOMERIN                     CA     49017343094
9817382114B554   JULIA         ROLEN                       OK     90011088211
98174663A91599   JOEL          MACIAS                      TX     90013446630
9817517518B175   DENEDI        GOMEZ                       UT     31048921751
98175452797B59   JUAN          MONTANEZ                    CO     90015134527
9817599435B383   TEQUILA       LEDAY                       OR     90014819943
98176422172B56   CHRISTOPHER   WINTERS                     CO     90006794221
98176491197B59   NATASHA       BIRD                        CO     90002424911
9817655727B444   RICARDO       GONZALES                    NC     90002205572
98176619172B3B   BONIFACIO     MAZA-VILLARAUZ              CO     33042486191
981768A9655951   LETICIA       RUIZ                        CA     49012858096
981769A6577537   GLORIA        GARCIA                      NV     90014349065
98176A38272B32   AISHA         SCOTT                       CO     90011100382
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1836 of 2350


98176AA674B588   SHANNON        HOLDEN                     OK     90007970067
9817749A872B42   SUE            HEACOOK                    CO     90000244908
981775A555B548   JOE            PRESTON                    NM     90003865055
9817791A572B62   RODOLFO        SANCHEZ                    CO     90013939105
981784A5A61977   EVELIN         EUILLEN                    CA     90012764050
9817885659376B   MARISOL        SAN MIGUE                  OH     90002638565
9817921A38B175   JOSE LUIS      AVELINO DE LA CRUZ         UT     31074422103
9817928676197B   SALVADOR       LOPEZ                      CA     90012392867
98179459A72B62   NANCY          GARCIA                     CO     33073374590
9817B115791399   ROMY           THAN                       KS     90011771157
9817B334461927   JESUS          LOPEZ-CRUZ                 CA     46013593344
9817B52765B383   ISAAC          WATSON                     OR     90012565276
9817B68454B588   BRENDA         VARELA                     OK     90011366845
9817BA47961977   EFRAIN         CAMACHO                    CA     90014150479
98181158A9125B   KRYSTAL        EDWARDS                    GA     90011781580
9818166175B383   ERIC           JACKSON                    OR     90013906617
98181923672B83   MIRIAM         TSOKA MITCHELL             CO     33099119236
98181A2336B687   DALE           EDWARDS                    KY     90014190233
98181A24333698   SCHULYER       CLARK                      NC     90003670243
98181A6AA91599   JAROS ALEXIS   GUZMAN                     TX     90008580600
98182279272B22   CRYSTAL        ARCHULETA                  CO     33065622792
98182589372B24   RUBEN          SAUCEDO                    CO     90014995893
9818284244B588   DAVION         ROSS                       OK     90011158424
9818297494B554   RYAN           VINCINT                    OK     21544619749
98182A92997B59   KATIE          LANE                       CO     90014660929
98183773972B24   DARYL          JOHNSON SINOR              CO     33039017739
98183873A55951   MARYLOU        CERVANTEZ                  CA     49073018730
98184572872B51   JOSE           BLAS                       CO     33098065728
9818531523162B   EBONY          ASKEW                      KS     22077313152
981858A3393755   GARY           MASHBURN                   OH     90002368033
98185A4A772B22   GIULIANA       ROSAS                      CO     90008280407
98185A53881639   CHRISTINA      WILLIAMS                   MO     90006600538
9818679584B949   JEREMY         SWEAT                      TX     90007587958
9818694395B531   GEORGE         VENTURA                    NM     90013149439
9818697194B554   FELICIA        DICKERSON                  OK     90003999719
98186A13291547   ALEX           SAYA                       TX     90012240132
98187545172B3B   CLYDE          PROCTOR                    CO     33094495451
98187727A91399   SAMEL          GUTIRRREZ                  MO     90010297270
981877A6155951   LYDIA          PEREZ                      CA     90005697061
9818786725B383   VANESSA        PAEZ                       OR     90013518672
9818938A672B22   OSCAR          SANCHEZ                    CO     33038203806
98189761972B62   MAXX           PASSANTINO                 CO     33063727619
98189A8694B554   JOE            COOPER                     OK     90003510869
9818B44A75B548   BRANDON        SIMMONS                    NM     35007394407
9818B482655951   JOERAY         MOANNNNN                   CA     90003454826
9818B778172B62   JOSEPHINE      MECILLAS                   CO     33070077781
9818B823781639   TYLER          BUTLER                     MO     90006688237
9818B9A532B245   DUANE          THOMAS                     DC     90001939053
9819176484B554   BRAYDEN        TAYLOR                     OK     90015547648
981917A3472B3B   PABLO          ALVAREZ                    CO     90014157034
981925A4561927   BRADLEY        LONG                       CA     90007365045
981926A114B949   JUAN           SEGURA                     TX     76596086011
9819273934B554   KATIE          BREEDEN                    OK     21530897393
9819281125B548   TEARSA         CORRALES                   NM     90011988112
9819295965B562   STEPHEN        MARTINEZ                   NM     90012099596
98193A5655593B   OLIVIA         PEREZ                      CA     90004580565
9819458A972B3B   DENNIS         GIBBONS                    CO     90014525809
9819463928B175   ERNESTO        CORDOVA                    UT     90013316392
98194A82972435   MATTHEW        MOX                        PA     90003560829
9819528715B531   JESUS          SANTIAGO                   NM     90007562871
98195463A72B42   ANTONIO        SANCHEZ                    CO     90013624630
9819587A381639   BRANDON        LARSON                     MO     90013158703
98196126572B62   PATRICIA       CISNEROS                   CO     90006101265
98196223472B56   MARILEN        MULLINS                    CO     90006172234
9819626AA93755   JENNIFER       SIGLER                     OH     90003102600
98197188997B59   MARIA          RESENDA                    CO     90008621889
98197475372B24   JUAN           MONTOYA                    CO     33034794753
98197585472B32   AMBER          BATSON VASQUEZ             CO     90012935854
9819773355B531   JAIME          HERNANDEZ                  NM     35081657335
9819774612B254   KAREN          SCOTT                      DC     90011257461
98198492A72B62   JEFFREY        PAULSON                    CO     90009944920
98198644A97B59   DAWN           CRAWFORD                   CO     39034976440
98199483A5B548   DANIELLE       JARAMILLO                  NM     90011564830
98199598697B59   KRISTINE       VAKDEZ                     CO     90012955986
9819983A793755   AMBER          STEINER                    OH     90014578307
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1837 of 2350


9819B12A893748   TIMOTHY           GREGORY                 OH     90013581208
9819B44415B531   MELLANIE          AMMONS                  NM     35054044441
9819B8A6191532   ANNA              DOMINGUEZ               TX     90002268061
981B137814B554   GABRIEL           RODRIGUEZ               OK     90010013781
981B16A5455951   BERABET           RUBINOS                 CA     90014786054
981B219886B933   ERINA             CABRAL                  NJ     90015041988
981B239195B545   NICOLE            CHINO                   NM     35047453919
981B2571491399   SAUL              MONREAL                 KS     90006745714
981B2625772B62   PATTY             GARCIA                  CO     90001286257
981B291767B444   YOLANDA           ROJAS                   NC     90010939176
981B3166591599   GABRIELA          ARREOLA                 TX     90001001665
981B321467B469   AORON             PLUMRER                 NC     90012592146
981B329A472B22   EUGENIA           RAMIREZ                 CO     33020182904
981B3452157563   BRENDA AGUILERA   AGUILERA                NM     90010024521
981B3827841296   MARK              KOGER                   PA     90010868278
981B3A65272B32   TOMMY             SENA                    CO     33065460652
981B4257891553   ANGELICA          HERNANDEZ               TX     90007842578
981B4912361464   LISA              HILL                    OH     90014659123
981B5223293755   GARY              PAYNE                   OH     90008782232
981B544514B554   MARIO             HERNANDEZ               OK     90001544451
981B556135B383   KENIA             ESPINO                  OR     90011865613
981B5842355951   MARIO             MARTINEZ                CA     49060618423
981B5993491599   BONNIE            JUAREZ                  TX     90008789934
981B6153593799   ALEXANDRIA        OAKES                   OH     90012951535
981B664514B588   KYLE              DRAIN                   OK     21532606451
981B667764B554   MARIA             HERNANDEZ               OK     90002816776
981B6873972B32   EZEQUIEL          MARQUEZ                 CO     90010308739
981B6887761977   RAVEN             WHITE                   CA     90008948877
981B6A8265B383   TERASONA          JONES                   OR     44509910826
981B7165172B22   TOBIAS            JOHNS                   CO     90012471651
981B7872972B32   WILLIAM           ERICKSON                CO     33091778729
981B82A865B383   JAVONTAE          STEWART                 OR     90013452086
981B854474B554   WILLIAM           DAY                     OK     90013195447
981B8779972B22   AUCKAREON         CUNMINGHAM              CO     90014747799
981B9411861977   DIEGO             MELINA                  CA     46063764118
981B9579372B32   MANUEL            DIAZ DELEON             CO     90005165793
981BB19227B429   KOMI              SOWOU                   NC     90013051922
981BB464793755   ANGELA            FERGUSON                OH     90010234647
981BB586141296   GEORGE            HUNT                    PA     51087215861
981BB842881639   DEBRA             MORGAN                  MO     90012238428
981BB8A3861977   ROBERTO           CERVANTEZ               CA     90009118038
981BBA14572B42   LASHAWNDA         HORTON                  CO     33096140145
981BBA6225B33B   DAANYEL           MCKELVEY                OR     44508570622
981BBAA9177537   HILIVANDO         LOPEZ                   NV     90003450091
9821193365B383   ROBERTO           ESCORCIA                OR     90009689336
982119A1A3164B   TANGIENETTE       HARDAWAY                KS     90011749010
9821238A34B588   CRYSTAL           DAILEY                  OK     90015003803
9821264355B548   LUIS              VARELA-RIVERA           NM     90010456435
9821274188B175   MARLON            MUNOZ                   UT     90011897418
9821345173164B   JESSICA           KLINGRIECK              KS     22010504517
98213557372B62   DESTINY           SCOTT                   CO     90012645573
98214192372B3B   AMANDA            SIFUENTES               CO     33029981923
9821494624B949   ALAN              PENNISSON               TX     76583779462
98215138A4B949   SHEILA            BRADY                   TX     90007901380
9821594A355951   AMANDO            GONZALES                CA     90013839403
98216167672B3B   EDGAR             RESENDIZ                CO     90009021676
98216A1615B531   JACQUELYN         HAMPTON                 NM     90014950161
98217534597B59   MARIA             GOWEA                   CO     90002405345
98219613A4B588   JOHNATHON         BELL                    OK     21564756130
9821B597972B62   SHERI             RHINES                  CO     33066745979
9822153A44B554   SUSAN             ROLLANS                 OK     90013085304
982221A915B25B   JULIE             PETERSON                KY     68084071091
9822271378B175   KATIE             MARTIN                  UT     90012067137
982228A8472B62   JONATHAN          WILLIAMS                CO     90008488084
9822336A13B361   COLLEEN           BOOTHE                  CO     33058963601
9822337AA61977   ERIC              BUSS                    CA     90007593700
9822348A95B545   SHAWN             STEVING                 NM     90011014809
9822351695B383   LUCY              GARADWEY                OR     90011105169
98223626772B62   BRITTANY          LITTRELL                CO     33046006267
9822371754B588   LETICIA           ORTEGA                  OK     90014167175
9822432464B949   DOMINIQUE         OLIVAREZ                TX     90013103246
9822432A35B531   DIEGO             FIGUEROA                NM     35086483203
98226561872B62   DANIEL            GONZALES                CO     90013645618
9822658A65B383   MARCELLO          SWAN                    OR     90002705806
9822674723148B   LOUIS             FAGGETTI                MO     27598287472
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1838 of 2350


982269A955B548   MARTIN       WILBANKS                     NM     90013939095
9822756733164B   ANTHONY      ROSS                         KS     90011495673
9822774634B554   JAMES        FLORES                       OK     90013967463
98227997A4B949   JOHNATHAN    ZUNIGA                       TX     90010449970
98228298172B32   ROSA         GONZALEZ                     CO     33076632981
9822871225B548   MARIA        PLATA                        NM     90004237122
9822876285B531   JIMMY        SANTIAGO                     NM     90005477628
9822958A84B554   INGRID       CORADO                       OK     90010435808
9822B164A72B32   RITA         MULQUEEN                     CO     90012571640
9822B171A5B531   DEBRA        NARBOE                       NM     35064971710
9822B18572B886   SHAWN        WHITTAKER                    ID     42095601857
9822B583772B3B   DAVYNE       LUCERO                       CO     90014525837
9822B622A72B62   SABRINA      CORNISH                      CO     90013676220
98231912572B62   EDITH        TERAN                        CO     90013939125
982319A5172B32   JASON        ESSIG                        CO     33071189051
9823296255B531   DONNETTE     MIRABAL                      NM     35069879625
98233278A5B548   GEORGE       RODRIGUEZ                    NM     35028372780
9823335745B548   DEBRA        COLEMAN                      NM     90014313574
9823378AA91531   CHRISTINA    GONZALEZ                     TX     90001897800
98233862272B3B   WHITNEY      JONES                        CO     90004118622
98234A62293732   JERRI        SWITZER                      OH     90010640622
9823558245B531   MIGUEL       VASQUEZ                      NM     35094215824
9823641835B531   JAIME        FLORES                       NM     90002574183
982368A8191399   JAZMIN       JIMENEZ                      KS     90012418081
98237159172B62   CAROLINE     HERRERA                      CO     33046991591
98237935A61977   PATRICIA     OCHOA                        CA     90013289350
9823872434B588   JACKIE       ESQUIVEL                     OK     21571647243
9823952984B949   TONIA        SMITH                        TX     90013965298
98239689272B3B   RUMALDA      VILLALBA                     CO     33052316892
98239689272B42   LISA         GALLEGOS                     CO     90011626892
9823B241873261   VIRIDIANA    VILLA                        NJ     90014602418
9823B27748B175   SERGIO       HIGUERA                      UT     31082522774
9823B286781639   KEVIN        MURRAY                       MO     29021442867
9824137624B554   CHASE        HOLMES                       OK     90010213762
98242142497B59   SAMANTHA     MUELLER                      CO     90004701424
982424A1872B42   ANGELO       SANCHEZ                      CO     90005514018
98243152597B59   JASON        NORTH                        CO     90011241525
98243825272B22   AREMI        OCHOA                        CO     90014748252
98243879A72B24   SHELLY       MARTINEZ                     CO     33051658790
9824444749125B   AALIYAH      GREEN                        GA     90006324474
9824462475B531   LINA         RAMOS                        NM     35080126247
98244987787B48   RAINEY       MOTHERSHED                   AR     90009259877
98245297A81634   JERILYN      BROWN                        MO     90001822970
98245A66781639   JANET        ROBINSON                     MO     29032240667
9824636184B554   TYI          BOWMAN                       OK     21590173618
982463A2561977   JOSÉ         CUADROS                      CA     46004443025
9824779234B554   BRYAN        BALL                         OK     90008187923
98247929A93755   PHILLIP      JENKINS                      OH     90013239290
98248292197B59   EVERARDO     CERVANTES                    CO     90013742921
98248679A72B22   MARIA        LEDESMA                      CO     90005966790
9824949655B536   SEBASTIAN    LEE                          NM     90013404965
9824994294B554   ELISHA       FINCH                        OK     90011849429
98249952A72B32   JULIA        RAMIREZ                      CO     33046109520
9824B164591854   ASHLEY       OXFORD                       OK     90008631645
9824B235297B59   JAVIER       HERNANDEZ                    CO     90000252352
9824B58454B554   JAYLON       JOHNSTON                     OK     90015125845
9824B96974B588   JENNIFER     BATT                         OK     90003459697
98251117197B59   JOSE         GUADALUPE                    CO     90010531171
98251132572B22   CRYSTAL      FIELD                        CO     33040271325
982512A355B928   FILIBERTO    AUVALCABA                    WA     90015432035
9825139335B548   JESSICA      FORD                         NM     90014623933
98251783497B59   SHERRY       WALKER                       CO     90014877834
9825213414B949   MARIO        GONZALEZ                     TX     90014911341
98252771272B62   LAKIYA       TURNER                       CO     33011667712
98252AA8972B22   GERALDO      HILL                         CO     90014190089
9825317A25B383   LISA         MELFI                        OR     90014211702
98253586872B62   JORGE        MEJIA                        CO     90012275868
9825393135B531   ASHLYN       HARRINGTONG                  NM     35044369313
98254257A8B175   EVER         SANCHEZ                      UT     90011902570
98254778872B62   CHRIS        MENZARES                     CO     90014857788
9825478358B175   ALONDRA      MARTINEZ                     UT     90011117835
98255313472B32   HERLANDA     DAVIS                        CO     90013933134
9825571178B175   SABRINA      AMAYA                        UT     90004257117
98255A53593755   RAMON        CARDONA                      OH     90009950535
9825654A355933   FLORENTINO   HERNANDEZ                    CA     90008115403
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1839 of 2350


9825679A372B32   REBECCA         STARK                     CO     90015117903
9825699574B588   SHANICE         MCKINNEY                  OK     90008209957
98256A4715B548   ANDRES          CHAVEZ                    NM     90012600471
982572A1791599   MAYRA ARACELI   SANCHEZ                   TX     90011012017
982575A3181634   AMY             EICKMEIER                 MO     29050175031
9825873454B588   RANDY           BOTTERO                   OK     21551427345
9825932644B588   TOMMY           SANDERS                   OK     90013153264
982593A1772B22   THOMAS          STEARNS                   CO     90010813017
9825B198172B62   CHERYL          PETRARCA                  CO     33018751981
9825B359757563   JORGE           QUEZADA                   NM     90014193597
9825B379777537   JODY            SAMANIEGO                 NV     90011053797
9825B3A9481634   BRITTANEY       ALEXANDER                 MO     90006673094
9825BA81272B22   TANYA           SCHAFFER                  CO     90008750812
98261A38493755   LORETTA         WEDLAKE                   OH     90013540384
9826232644B588   TOMMY           SANDERS                   OK     90013153264
98262727872B3B   MARIA           LOOR                      CO     90012587278
98262951972B24   SABRINA         EVANS                     CO     33032209519
98263252872B3B   ANA             HEREDIA                   CO     90005362528
98263472A91354   VIRGIL          CRUMPTON                  KS     90010344720
982643A8A93738   ASHLEY          ADAMS                     OH     90011533080
9826477638B175   ADAM            DOPORTO                   UT     90014617763
98264836472B22   EZRAH           SHERCK                    CO     90014748364
98264A2438B175   JASON           MILLET                    UT     90011100243
982651A7A8B175   SANDRA          MOORE                     UT     90014241070
9826523333164B   JOHN            COOLEY                    KS     90012012333
98265A23991551   JUAN            MEJIA                     TX     90013160239
9826614725B548   WANDA           BRYANT                    NM     35074041472
98266838672B22   EDUARDO         RODRIGUEZ                 CO     90014748386
98266861A91599   JOE             VELEZ                     TX     90011238610
982671A5955951   MARTIN          LUNAR                     CA     90011511059
9826721195B548   ALBERT          BARELA                    NM     35005072119
98267631472B62   KAILON          WILLINGHAM                CO     90013676314
9826792844B554   SAMANTHA        SMITH                     OK     90013419284
9826799249125B   TAMANISHA       JAMES                     GA     90008859924
9826827168B175   JAIME           GONZALEZ                  UT     31087582716
9826843134B554   CAROL           HUSHELPECK                OK     90011974313
9826845A85B25B   EUGENE          NELSON                    KY     90003114508
98268971972B3B   JESSICA         MENDOZA                   CO     33034059719
98268A59272B62   BRITTNEY        EVANS                     CO     90013990592
982693A9872B32   PEDRO           LOPEZ                     CO     90013103098
9826957348B175   ALLEN           BRROKSQ                   UT     90013195734
98269A9475B531   KEVIN           BENAVIDEZ                 NM     90007700947
9826B37544B949   VERNA           WILSON                    TX     90013203754
9826B625472B62   PHILIP          LAQUEY                    CO     90013676254
9827169684B554   OSCAR           ESPINOZA                  OK     21518196968
9827211614B588   ANGELA          AUNQUOE                   OK     90011161161
982723A8533623   LESLIE          PATTON                    NC     90008623085
982738A6461977   MARIO           PRECIADO                  CA     90010418064
98273A6778B187   LEIF            CARPENTER                 UT     90009830677
98274452797B59   JUAN            MONTANEZ                  CO     90015134527
9827483297B444   ASHLEY          BENNETT                   NC     90011148329
98275976372B22   SALINA          ARCHULETA                 CO     90013069763
982761A724B554   ARTURO          QUIROZ BENAVIDEZ          OK     90010311072
9827621684B588   MARTHA          OLVERA                    OK     21555602168
9827678485B383   KELLY           SCHLAHT                   OR     90006247848
98277188A55951   ROSALINDA       POLIN                     CA     90012741880
9827759A772B32   LEONARDO        CRUZ                      CO     90014955907
9827769295B383   JR              ALVAREZ                   OR     90003536929
9827793325B531   FRANKY          GALLEGOS                  NM     35044759332
9827794444B554   KELLY           THORNBURG                 OK     21576329444
98278275A4B554   CANDELARIA      WENDOZA                   OK     90006172750
9827979977B444   DIANE           LINK                      NC     11028847997
9827B25A697B59   GENEVIEVE       AHERN                     CO     90013902506
9827B67495B548   VANESSA         LUCERO                    NM     35040926749
9827B75A85B383   JODI            DOBLE                     OR     90013517508
9827BA41477537   TERI            CHAVEZ                    NV     90009000414
9828151534B554   BRITTANY        HUFF                      OK     90009325153
9828158A361978   LEONSIO         MAGANA                    CA     90007195803
9828164249125B   ELIJAH          BROOMFIEL                 GA     90008096424
9828164A472B24   DIONE           CLAFER                    CO     33000546404
9828365A672B24   GABRIEL         FERRRUSQUILLA             CO     33041216506
98283A59A55951   FRANCISCO       ROJAS                     CA     90007780590
982842A3672B32   ANGEL           MACIAS                    CO     90014422036
98284517472B22   REINA           AYALA                     CO     90010575174
9828465827B444   MARINA          TUESTA                    NC     11025516582
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1840 of 2350


98284874A61977   ANGELICA     CAMPIS                       CA     90013458740
982849A9191599   ELIZABETH    TARANGO                      TX     75013269091
9828557415B383   JERONIMO     PENA                         OR     44532385741
9828571124B588   LACY         LOVATO                       OK     90013077112
98285936197B59   CELIA        CASTANEDA                    CO     90012979361
982878A917B444   DARRYL       GRAVES                       NC     11058968091
98287984372B42   PAMELA       LOPEZ                        CO     90008729843
9828835818B175   LAURA        RODRIGUEZ                    UT     90015123581
9828841A291951   ROBERTO      ALVARADO                     NC     90011744102
9828873384B588   HECTOR       QUIROGA                      OK     90012177338
98289575372B24   STEPHANIE    MCCOY                        CO     33038995753
982895A1677537   GUADALUPE    ENRIQUEZ                     NV     90007715016
9828961752B229   BENJAMIN     SCOTT                        DC     90015266175
9828967A472B3B   EVONNE       SPRINGER                     CO     90013276704
98289756797B59   ROBERT G     FERGUSON                     CO     90014177567
98289975A5B383   CAPRICE      HOWARD                       OR     90011029750
98289A1427B389   CARLOS       PENA                         VA     90005970142
9828B27168B175   JAIME        GONZALEZ                     UT     31087582716
9828B99415B383   ERIK         CANCHE                       OR     44517219941
9828BA4267B444   DWAYNE       GANTT                        NC     11094350426
9829157864B588   JUAN         GONZALES                     OK     90014455786
9829176657B464   SAMMIE       BASKINS                      NC     90003257665
9829368483B341   MANUEL       VIGIL-NUNEZ                  CO     90001456848
9829432265B383   NATANAEL     LOPEZ-CASTILLO               OR     90004503226
98294729897B59   MICHAEL      CLAYBROOK                    CO     90010347298
98296127472B62   JESSICA      FORCE                        CO     33010131274
98296139672B32   ANTONIO      SHEPERD                      CO     33028491396
9829616375B531   ELLEN        COFFMAN                      NM     35001431637
9829629464B554   DAVID        ROMERO                       OK     90011852946
982969A5A91599   ZULEMA       MORELES                      TX     90009989050
98296A41872B24   CAMIL0       GUERRA                       CO     33011590418
98297288A91599   ALFONSO      GARCIA                       TX     90013342880
9829783765B548   MANUEL       SUAREZ                       NM     90003978376
9829784A491265   KANARI       JENKINS                      GA     90013958404
982987A8572B84   CHRISTINE    BUNCH                        CO     90007787085
98298917172B62   RAUL         GANCHOLA                     CO     90013939171
98299119876B8B   APRIL        MUELLER                      CA     90009301198
9829913955B531   LAWANNA      GREATHOUSE                   NM     90009181395
9829B342972B3B   LAWRENCE     ATKISSON                     CO     90009163429
9829B582672B62   NATOYA       LEWIS                        CO     90012705826
9829B671372B22   SONIA        MARTINEZ                     CO     33020516713
9829B776357563   RODRIGO A    ESTRADA                      NM     90001247763
9829B797857563   JOSE         REALIVASQUEZ                 NM     90011247978
9829B874681639   SELWYN       THOMES                       MO     90008098746
982B173A772B32   DEREK        BROCK                        CO     33058347307
982B1929197B59   LATESHA      FRANKS                       CO     90013399291
982B2154391599   DEBBIE       WILSON                       TX     90012631543
982B2474472B22   KEVIN        FRED                         CO     33091764744
982B2634757563   RODRIGUEZ    NANCY                        NM     90006486347
982B2886A81634   SANDRA       DE HARO                      MO     90008708860
982B328735597B   DAVE         SMITH                        CA     49055672873
982B3767A57563   CESAR        TORRES                       NM     35515447670
982B3A92A8B175   SKYLER       LOTT                         UT     90015120920
982B451A791599   DALIA        ELIAS                        TX     90013885107
982B479548B175   AMY          ROBINSON                     UT     90014697954
982B5949981639   JOANNA       MARTIN                       MO     29075639499
982B6157961977   DOUGLES      WOOD                         CA     90011991579
982B6274981635   THEODORE     BRANCH                       MO     29005582749
982B6A78291599   VERONICA     MOLINAR                      TX     75018220782
982B6AA5593755   LASHAY       CURRY                        OH     90010750055
982B7253461977   ROEL         ESPINOZA                     CA     46074262534
982B753A64B588   JACINA       DRAKEFORD                    OK     90013965306
982B772784B588   MONIQUE      PARKER                       OK     90013787278
982B8372297B59   BELINDA      DAVIS                        CO     39092363722
982B838275B383   OLIVIA       POKORNY                      OR     90001623827
982B8417231479   ABDULLAH     AHMED                        MO     90009164172
982B8552172B22   LIVINIA      VOIGT                        CO     33022465521
982B8631A81639   ANTONIA      JONES                        MO     29021436310
982B8656557563   DEANDRE      WITHSPOON                    NM     90014646565
982B8845381637   TEENA        WILLIS                       MO     29040418453
982B92A4984346   ED           BROWN                        SC     90001192049
982B9889372B42   JORGE        FLORES                       CO     33095128893
982B9A12493755   VERONICA     WELLS                        OH     64565410124
982BB51A181639   CALVIN       PENNING                      MO     29053205101
982BB598697B59   KRISTINE     VAKDEZ                       CO     90012955986
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1841 of 2350


982BB7A1A91399   YENI             REYES                    KS     90014847010
98311741233B2B   JOSE ARMANDO     MENDEZ GOMEZ             OH     90014287412
9831213124B565   NAOMY            CAMACHO                  OK     90010411312
98313324672B62   ROSA             CABRAL                   CO     33045733246
98313414272B42   LETICIA          LOPEZ                    CO     90000674142
98313A1415B531   KENNETH          LARSEN                   NM     90010840141
98315253A91399   BRIAN            WILLIAMS                 KS     29017662530
9831586A561927   JAVIER           LARIOS                   CA     90006928605
98315AA1172B32   DEBORAH L        LOVATO                   CO     33001930011
983161AA955951   JAVIER           HERNANDEZ                CA     90012421009
98317341572B24   SAYRA            GONZALEZ                 CO     33039013415
9831752275B225   RYAN             MAYER                    KY     90010185227
9831754134B554   ROOY             AGUNDIS                  OK     90013275413
9831769537B444   ANTHONY          HIGGINS                  NC     90010826953
98317848597B59   MARIA            AVILA                    CO     90008378485
983192A5772B32   GLADYS           PUENTES                  CO     90011542057
98319572497B59   DAVID            JOHNSON                  CO     39026555724
98319A3A372B32   LAWRENCE         WOODS                    CO     90015120303
9831B135772B56   BRIAN            LUNA                     CO     90001271357
9831B226A97B59   JOHN             WITMER                   CO     90014382260
9831B46645B344   PATRICIA         ANDERSON                 OR     90010754664
9831B665372435   VALERIE          BORKOVICH                PA     90014186653
9831B734472B3B   GRISELDA         MARRUFO                  CO     90014067344
9831B785793732   WAYNE            LASLIE                   OH     90014617857
9831B97862B948   MARIA            UDAVE                    CA     90014949786
98321344A5B531   ANDY             FRANCO                   NM     90009973440
98321632197B59   CARPIO           NIRA                     CO     90012456321
98321A35272435   NICOLE           MILLS                    PA     51037560352
98322471197B59   PAUL             HARTZ                    CO     90004154711
98322517472B22   REINA            AYALA                    CO     90010575174
9832251A991553   MARINA           SIFUENTES                TX     75086925109
9832262A791354   LUANA            VANDAWALKER              KS     90007506207
98323187A5B548   AGUSTIN          BALDERRAMA               NM     90010071870
983231A637B444   JUAN             MARTINEZ                 NC     90014211063
9832332214B949   ELISEO           MARTINEZ                 TX     90015583221
9832341418434B   ANDRE            ADDISON                  SC     90013884141
9832348AA91599   ALFREDO          FIERRO                   TX     75089714800
98323663A5B531   CARLOS           RUIZ                     NM     90010496630
9832379657B628   TOPORSHEA        LATTIMOR                 GA     90009647965
98326413497B59   ANGELICA         MOSQUEDA                 CO     39066904134
98326915172B42   MICHAEL          MANNING                  CO     90008779151
98326A58861977   JOSE CHRISTIAN   ALONZO GARDUNO           CA     90012780588
98326A85A91399   IVETTE           VIVEROS                  KS     90008510850
98327264672B24   JESSICA          HERNANDEZ                CO     90014912646
9832783964B554   SONIA            ARRIOLA                  OK     90015138396
98327A89797B59   RICHARD          BAIRD                    CO     90012980897
9832976924B554   VALERIE          RICHARDSON               OK     21537937692
9832B174A91951   JOANNA           SMITH                    NC     17071351740
9832B387872B22   JOSE             SOSA                     CO     33007893878
9832B491561927   BARRAGANN        ALMA                     CA     46013604915
9832B514A72B32   NOLA             GARCIA                   CO     33084535140
98331193A97B59   SUSAN            DRAGON                   CO     90013861930
98331264672B24   JESSICA          HERNANDEZ                CO     90014912646
983312A9442526   RAMON            TINAL-CAAMAL             WA     90015402094
98331A75572435   TOYA             LAVETTE                  PA     90009330755
98332177872B32   LEO              SANTOVENA                CO     90008381778
98332681172B62   TOM              GRUPE                    CO     90010956811
9833342798B183   ALAN             HARRIS                   UT     90009254279
9833419357B386   LIDYA            BESHIR                   VA     90013241935
98334644472B56   FEDERICO         ROSAS                    CO     90005626444
983346A913B37B   CHARLES          RHODES                   CO     33084666091
98335273897B59   BUTCH            SALAZAR                  CO     90014672738
9833547314B554   TORRE            GALE                     OK     90005074731
98335869572B62   VERONICA         SANCHEZ                  CO     90002148695
9833619384B554   DAISY            MENESE                   OK     90012121938
983363A254B588   TIFFANI          MEYER                    OK     90013993025
98336566897B59   ISRAEL           HERNANDEZ                CO     90002455668
9833671825B548   ALONDRA          CERA                     NM     90009607182
983383A364B554   SHAWN            MASON                    OK     90012203036
98339A49797B59   JOHN             JACOBSEN                 CO     39035880497
9833B51715B548   BARBARA          MUNOZ                    NM     35025495171
9834166255B548   URIAH            APACHE                   NM     90008066625
9834211235B548   THOMAS           TOLEDO                   NM     90003471123
9834215228B175   JUSTINA          JACOBSEN                 UT     90014911522
9834246A85B383   STEVEN           MALENA                   OR     44586504608
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1842 of 2350


9834298144B588   EDILBER          RODAS                    OK     90013319814
98342A3734B554   RONNIE           THOMAS                   OK     90011430373
9834321214B949   WALTER           NUNEZ                    TX     90014632121
98343316972B22   CATHERINE        MONTGOMERY               CO     33066943169
9834338225714B   VERNELL          GLENN                    VA     90008353822
983433A4177537   RAMON            CAVARRUBIAS              NV     43008403041
9834341A38B175   ANN              TOME                     UT     31091044103
98343A45351396   JAVON            CAMERON                  OH     90013830453
98343A49855951   ROBIN            ROBINSON                 CA     90005970498
98343A66472B42   CARLOS           PERALTA                  CO     90010540664
98344134372B62   NORA             VILLEGAS                 CO     90007891343
9834455124B554   JUAN             MEDINA                   OK     21508825512
9834476A17B458   SUSANA           ORELLANA                 NC     90012547601
98344A48657122   KESHAY           SHANDELLE                VA     90001640486
98345195797B59   ERIC             MARSH                    CO     90012981957
9834528534B588   LESLIE           HARRISON                 OK     90013872853
98345829172B32   GRACE            SILVA                    CO     33020658291
98345A38991579   GERARDO          GALLARDO                 TX     90010780389
9834667A881639   JACOB            ACKERMAN                 MO     90006676708
98346959A4B554   JIMMY            KLAUS                    OK     90010919590
98346A3214B588   DARRYL           BODLEY                   OK     90009520321
98346A84291399   MATT             STEWART                  KS     29003940842
9834713454B949   MARIO            MONITA                   TX     90015281345
98348694672B42   AMANDA           GONZALEZ                 CO     90007476946
9834885195B531   DAVID            LAW                      NM     90013908519
98348A95A72B62   ARACELY          SALVADOR                 CO     33022180950
983492A5591399   KIMEESHA         BRAND                    KS     90014742055
9834934117B444   CHRISTOPHER      DEROSE                   NC     90009073411
983494A3572B22   JORGE            GONZALES                 CO     33093494035
9834971473B382   SHANNON          WRIGHT                   CO     90007007147
9834B183397B59   SHANE            JONES                    CO     90012981833
9834B478872435   RICHARD          KASPER                   PA     51071614788
9834B5AA655951   CALEB            SCHWEER                  CA     90014745006
9834B743457563   CELIA            CARBAJAL                 NM     90014697434
9834B99A64B554   STEVE            STEWART                  OK     90013709906
9834B9A1A72B62   MARIA            VARGAS                   CO     90002319010
9835184555B531   EVERTT           GOMEZ                    NM     90012788455
9835223A591599   SANDRA           RODRIGUEZ                TX     90011012305
98352758572B62   JOSE             MORALES                  CO     90013967585
98352823997B59   TRACY            SANTISTEVAN              CO     90014888239
98352839A4B554   CHRYSTA          BROUSSARD                OK     90011338390
98352959A4B554   JIMMY            KLAUS                    OK     90010919590
98352AA824B949   RUBY             REDEAU                   TX     90008740082
983535A1772B22   CHRISTY          BARTON                   CO     90000895017
9835468724B588   OLIVERIO         LOPEZ                    OK     21571696872
98354963172B22   KAREN            RAY                      CO     90008289631
9835513764B554   MALACHIA         BATTLE                   OK     90003971376
9835528A55B548   BEATRIZ          HERNANDEZ                NM     90012042805
9835572264B949   MIREYA           REYNA                    TX     90015387226
9835574654B554   MALACHIA         BATTLE                   OK     90013297465
98355A68757198   CHAD             MILLS                    VA     90008400687
9835657A297B59   JUSTIN           GLASS                    CO     90003835702
98356A77561977   MARICRUZ         HURTADO NAVARRETE        CA     90012780775
9835838988B175   AMBER            LEE                      UT     31004373898
98358427A7B358   GUY              CAUSE                    VA     90002054270
98358615372B24   MICHAEL          CHAIREZ                  CO     90014996153
9835995564B588   VALENTINE        CORONADO                 OK     90013859556
98359A38171922   LILA             TORRES-MERAZ             CO     90007610381
9835B21A98B175   ANGELO           DELPINO                  UT     31026572109
9835B38A781639   MARY             PORTER                   MO     29001623807
9835B42294B949   COURTNEY MARIE   JASINTO-BERNAL           TX     90015094229
9835B757872B22   NORMA            CASTANON RAMIREZ         CO     90008157578
9836119287B444   LAKECHIC         HEARN                    NC     90014211928
98361375A57563   VALERIE          HEIMBECKER               NM     90014813750
98361738372B3B   ADRIAN           MARTINEZ                 CO     33015957383
983619A3672B24   JESSICA          VALENZUELA               CO     90009709036
983625A5957563   CLARK            MICHAEL                  NM     90006535059
98362A88472B56   KHALID           BELFAGEOUA               CO     33098760884
9836319287B444   LAKECHIC         HEARN                    NC     90014211928
98363211372B32   JOSE             TRAVSTO                  CO     90011042113
983635A6361927   ALEJANDRO        MORALES                  CA     90001925063
98363819A41296   STACEY           WRAY                     PA     90013928190
9836417594B588   ROSA             MINJARES                 OK     90011801759
9836444142B245   CHANTEL          BURNS                    DC     90006934414
98365218497B59   LUIZ             ORTIZ                    CO     90012982184
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1843 of 2350


9836531A15B531   SAMANTHA     PALACIOS                     NM     90013063101
9836581198B175   CECILIA      LATAKI                       UT     90011118119
98365984A72435   JUSTIN       KOSSUTH                      PA     90014249840
9836636765B383   SCOTT ALAN   MCKINNEY                     OR     90013743676
98366449172B3B   RYAN         PATRICK                      CO     90005534491
9836668865B548   ARMIJO       ROBERT                       NM     90007996886
98367768572B22   PAMELA       SISNEROS                     CO     33043827685
98367A24481639   JUAN         ROMERO                       KS     90013160244
9836819215B548   CHARMAINE    ROMERO                       NM     35052491921
98368A8967B458   JULIAN       HASENZAHLI                   NC     90011520896
98369445672B62   JENNIFER     ARNOLD                       CO     90007874456
983694A515B383   TRISHA       TRUEAX                       OR     44571754051
98369513A77537   ALFREDO      GARCIA                       NV     90006985130
9836963775B531   ROCHELLE     GINSBERG                     NM     90013226377
98369877372B22   EDWIN        ALEXANDER                    CO     90014748773
9836992A772B42   MYRA         ALMANZA                      CO     90012349207
98369A8614B554   CATHY        REYES                        OK     90012120861
98369A93772B32   MINDY        HIRST                        CO     33034260937
9836B143A77537   VIRGINIA     OROZCO                       NV     43054751430
9836B19A181637   THERESA      GALE-SCOTT                   MO     90005091901
9836B653593755   DENNIS       HINZMAN                      OH     90013376535
9836B716257126   ERICK        ZUNIGA                       VA     90006587162
9837113698596B   KARLA        COVINGTON                    KY     90000701369
98371614A97B59   ANDREW       CARBERRY                     CO     39095026140
98371717A57563   ROBERT       DUBOIS                       NM     90006537170
98372A15697B59   KAYLA        KLINKER                      CO     90014760156
9837316394B588   JENNIE       JACKSON                      OK     90014871639
9837492A191882   LINDSAY      HUTCHINS                     OK     21016769201
98374A9AA81639   SILVANO      VARGAS                       MO     90014930900
9837529584B554   SAIRA        OCHOA                        OK     21584942958
98375876A41296   EDDIE        LOCKE                        PA     90014508760
9837587A191882   FRANCISCO    SILVA                        OK     21059178701
98375949772B62   DARRELL      JONES                        CO     90013149497
98376489772B22   ERICA        TORRES                       CO     33063664897
983772A914B554   JAMIE        ALFORD                       OK     90008822091
9837735A657563   JOE          MARQUEZ                      NM     90008793506
98377A8594B949   JEFFEREY     FURR                         TX     90002980859
98378141672B42   WILLIAM      COOK                         CO     90004421416
9837856672B229   FRANK        EDMONDS                      DC     90004545667
983787A4241296   CAROL        TAUSCHER                     PA     51060957042
98379715172B42   VERNON       HARRIS                       CO     33056887151
98379A93857563   KELLEY       CREED                        NM     90011210938
9837B17364B554   GLENDA       KELLY                        OK     90011311736
9837BA13993748   JERROD       PAHSSEN                      OH     90005470139
9837BA9444B588   RICHARD      KENNY                        OK     90014000944
9837BAA3261982   ANTONIO      MAGDALENAD                   CA     90008430032
9838167AA2B948   ALAN         CARDENAS                     CA     90007636700
98381A9815B383   NICKESHA     BRYAN                        OR     90007260981
983826A294B554   JASON        MOORE                        OK     90009926029
983831A3872B22   MICHAEL      LUEVANO                      CO     90000291038
98383348A7B444   CARMEN       LAWRENCE                     NC     90014893480
9838336A377537   VANESSA      ORTIZ                        NV     90013733603
9838343935B383   DINA         DEXHEIMER                    OR     90014174393
9838432423164B   JESSICA      GUFFEY                       KS     90004463242
9838436115B531   ANTHONY      SANCHEZ                      NM     35086063611
98384627A72B56   JAVIER       VILLANUEVA                   CO     33014336270
9838476218B175   ROSARIO      ANDRADE                      UT     31015327621
98384971A72B22   KI           RA                           CO     33012359710
9838499467B481   JAICLLE      WHITEHAD                     NC     90011319946
9838515362B982   ANDREA       SANCHEZ                      CA     90011411536
983852A7661927   JAY          CARTER                       CA     46013492076
98385361872B24   KAY          YATES                        CO     90009723618
98385499872B22   JACQUELYN    SIMS                         CO     90011404998
9838559365B25B   ERICA        PHILPOT                      KY     90005275936
98386392A4B554   CORRIANNA    GOLDSMITH                    OK     90004753920
98386A76772B62   ALFREDO      TOVAR-PINEDA                 CO     33014270767
9838821924B588   AMY          WHITE                        OK     90011182192
983884A5272B24   MARIA        BORUNDA                      CO     33066894052
9838853A64B588   DARRIN       FREDERICK                    OK     90013265306
9838872194B949   ERIC         JACKSON                      TX     76514447219
9838878845B383   TYRONE       KELLY                        OR     90003147884
98389116A81634   DISHAY       LASLEY                       MO     90012181160
9838949138B175   RAM          RAI                          UT     90012974913
9838967AA3164B   JALAYNE      HARBERT                      KS     90015086700
98389A3275B548   NOE          HERNANDEZ-BARRERAS           NM     90013940327
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1844 of 2350


9838B539877537   ANA MARIA     MONTALVO                    NV     90006605398
9838B798672B56   GILBERT       MENDEZ                      CO     33023927986
98391178672B32   RAQUEL        ROCHA                       CO     90000101786
98391246A61977   ANGEL         NUNEZ                       CA     90011172460
9839128895B548   EDINA         PORTER                      NM     35010122889
983913A8272B62   BRENDA        CORDOVA                     CO     90014193082
983917A3A4B949   MARELENE      MORROW                      TX     76592767030
9839211A88B347   TAMERA        JONES                       SC     90011291108
9839227785B392   SHARON        MOORE                       OR     90012652778
98392559172B24   LONNELLE      CHAVEZ                      CO     33027365591
98392A5865B548   DENNIS        GARCIA                      NM     35060960586
9839315865B383   LINDA         MARCUM                      OR     90014601586
9839336214B949   JANA          OZMENT                      TX     76578423621
9839361387B444   NEREO         BETANCUR                    NC     90009526138
9839372543164B   CHRIS         SHAW                        KS     22005547254
983949A3555951   JEFF          NOBLE                       CA     90008899035
98395798897B59   ANDRES        GONZALEZ                    CO     39073107988
98396337572B62   RASHONDA      CLEMONS                     CO     90011113375
9839689988B131   DORA          RIVAS                       UT     90004978998
983977A9141296   RODNEY        WHITE                       PA     51077277091
9839788695B531   FELIPE        SERNA-ZUÑIGA                NM     35095858869
98397933372B62   CLAUDIA       BARDIN                      CO     90013939333
98397A62A72435   ELSIE         HARKER                      PA     51001890620
983988A144B588   REBECCA       FRALEY                      OK     90010618014
9839B453691882   RAFAEL        LOPEZ                       OK     21084174536
9839B936A5B383   TERESA J.     MARSHALL                    OR     90009469360
983B1253572B22   MARY          FLORES                      CO     33049122535
983B282A991399   QUINTON       LARSON                      KS     29068778209
983B2853172B22   RODERICK      BRITTON                     CO     90014748531
983B2969891599   ROSE          GONZALEZ                    TX     75034039698
983B3387361977   ZAYDE         BARCENAS                    CA     90012033873
983B356684B561   TRINIKA       MCCLURE                     OK     21586555668
983B3A8495B548   LUZ           SAUCEDO                     NM     90009880849
983B438744B949   CARL          READ                        TX     90013623874
983B4484693755   SHELLY        KNOX                        OH     64593264846
983B4486857122   JUANA         BONILLA                     VA     90001854868
983B4A8774B554   DERICKA       BOLDEN                      OK     90013760877
983B5173772B62   JEREMY        VALDEZ                      CO     90015231737
983B5455393755   ASHLEY        SHANK                       OH     90014954553
983B5641672B56   ANTHONY       FERNANDEZ                   CO     33088936416
983B569A772B42   JOSUE         DELA PUENTA                 CO     90007476907
983B59A7357563   GABRIELA      PADILLA                     NM     90011399073
983B6259872B24   ALEJANDRO     LUCAS                       CO     90014682598
983B6498257563   LORENA        RUBIO                       NM     90014024982
983B6A54872B62   TINA          KRAMER                      CO     90006250548
983B7129477537   DANIEL        JACOBSON                    NV     90002851294
983B8555561927   ARACELI       GARCIA                      CA     46087965555
983B9659681639   ANGIE         RICO                        MO     90014716596
983BB51A957563   LUIS          GUTIERRES                   NM     35509855109
983BB673641296   DARREN        MCFARLAND                   PA     90012476736
983BB67547B444   ANTONIA       DUBON                       NC     90011466754
983BB824772B32   VICTOR        CASTRO                      CO     90012418247
983BB91914B588   MARK          MILLS                       OK     90002829191
983BB964197B59   JOSE          MARTINEZ                    CO     90014919641
98411529A4B949   TYESHA        BOWAN                       TX     90014185290
9841173869125B   MAHALIA       ALLEN-ELLIS                 GA     90011797386
98411A34381639   ANNIE         PLOTNER                     MO     90014720343
984129A8793755   EUGENE        MOOTY                       OH     90014329087
9841337994B954   CHRISTOPHER   MONTGOMERY                  TX     90001653799
9841341A572B22   BRANDI        SMITH                       CO     90010004105
98413747A4B554   CHRISTINA     KILLINGER                   OK     90013097470
9841387145B548   ATHENA        YAZZIE                      NM     90007068714
98413A84761977   SEFCHOVICH    GABRIEL                     CA     90007150847
984141A998B175   GAROLD        REED                        UT     90014071099
9841556434B554   MARY          CARTER                      OK     90013695643
98415623A61973   DAISY         LOPEZ                       CA     90008396230
98415759472B22   KRISTY        VALDEZ                      CO     33005317594
984158A835B259   FRANK         PARSONS                     KY     90004728083
98415A1934B588   ASHANTI       COMMEY                      OK     90013100193
9841654444B554   JAMES         GREAM                       OK     90014835444
98416975A8B175   JOEL          GOMEZ RODRIGUEZ             UT     90006239750
9841736813164B   MATTHEW       DENSON                      KS     90013933681
98417568A8B175   CYNTHIA       CLEMENTS                    UT     90012655680
98417965372B56   RACHELLE      KAAN                        CO     90005089653
9841834238B175   XAVIER        DONELL                      UT     90012533423
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1845 of 2350


98418A31A55951   FRANCISCO    JUAREZ                       CA     90012870310
9841929144B949   MARTHA       ORDONEZ                      TX     90009952914
9841959278B175   KIANTE       POSTWAITE                    UT     90013195927
98419954697B59   LORENZO      QUINTANA-GIO                 CO     39078969546
9841996854B588   COLE         ANDERSON                     OK     90002219685
9841B89685B548   JONATHAN     MONA                         NM     90014608968
9841BA58191599   MARIA        ROBLES                       TX     75092740581
9842111647B444   KRISTY       PEARSON                      NC     11059871164
984215AAA93755   DANIELLE     KEITH                        OH     64590575000
9842162A597B59   DAVID        SHOENINGER                   CO     90013166205
98422473A72B32   STEPHEN      CRAFT                        CO     33036474730
9842264175B275   MARISSA      AVERY                        KY     90001426417
98422A4654B949   THARIAN      CELESTINE                    TX     90013520465
9842318584B554   CINTHIA      MORAN                        OK     90014031858
98423A42481639   EDGAR        HERRERA                      KS     90014720424
98424428172B56   MANUELA      VERA                         CO     33081714281
98424666672B62   EDGAR PAUL   MENA                         CO     90012986666
9842485A661977   VENTURA      GUERRERO                     CA     90013818506
98424894572B3B   ALVA         SANCHEZ                      CO     33014478945
984253A1981639   TYREE        HAMILTON                     MO     90012293019
98425A8A84B949   KENYA        YOUNG                        TX     90012580808
98426589872B24   YAMILETH     TORRES                       CO     90014135898
98426892272B22   AARON        GRANGE                       CO     90014748922
98427464172B56   NANCY        GARCIA                       CO     33013084641
98427628A55951   GEORGIA      AGUILAR                      CA     49043266280
98427AA5581639   JENNIFER     BLACK                        MO     90014720055
9842819193164B   JOHN         CAMPOS                       KS     90010661919
98428341A93755   DARLENE      SEIBERT                      OH     64584103410
98428983A55951   APRIL        HANDY                        CA     90014869830
98428A9898B175   AARON        FAVRO                        UT     90007440989
9842966735B599   JOANNA       GARCIA                       NM     90010666673
98429892272B22   AARON        GRANGE                       CO     90014748922
98429A6175B548   HENRY        RAMIREZ                      NM     90013940617
98429A97672B62   ALMA         RAMIREZ                      CO     33001380976
9842B1A3872B22   MICHAEL      LUEVANO                      CO     90000291038
9842B619661927   MARISELVA    MERAZ                        CA     46090826196
9842B882733638   BRITTANY     HARRIS                       NC     90011268827
9842B962197B59   JULIO        MARTINEZ                     CO     90003329621
98431A53677537   DAX          MCKNIGHT                     NV     90014360536
9843249A397B59   SHAWNA       BERNABE                      CO     39036214903
9843283964B554   SONIA        ARRIOLA                      OK     90015138396
9843368AA72B62   JESSICA      MATTHEWS                     CO     90014576800
98433737A7248B   SCOTT        WESLY                        PA     90011057370
98433A8AA97B59   EDNA         MENDOZA-MARQUEZ              CO     90013020800
9843426295B545   NINETTE      DELUNA                       NM     90011942629
9843514A597B59   MIGUEL       VICENTE                      CO     90004031405
9843518695B531   IVONNE       VAZQUEZ                      NM     90015301869
9843557A34B591   JERRY        HOLLAND                      OK     90011865703
984367A855B331   KELLI        KING                         OR     90000927085
98438337A72B94   CAMILLE      PICKETT                      CO     90013793370
9843833AA91599   BURGNER      STEVEN                       TX     75047623300
98438648672B24   YEZICA       VALENCIANA                   CO     90014996486
9843893315B548   DELIA        GUARDADO                     NM     90010109331
98438A66272B22   JESUS        SANCHEZ                      CO     33090830662
9843913244B554   MARK         SMITH                        OK     90007171324
9843997A391553   ANTONIO      VIDALEZ                      TX     90011609703
98439A14957563   JUAN         SAENZ                        NM     90011030149
9843B6A424B588   FELIX        DIAZ                         OK     90011196042
9843B78225B531   JOSE         MACIAS                       NM     90013067822
9843B78415B548   VELMA        JACQUEZ                      NM     35049387841
9843B874A72B62   MARIA        PEREZ                        CO     33093498740
9844172425B548   JULIANA      HOUSTON                      NM     90007997242
9844174A472B62   REJINA       BENEDITA FARRAR              CO     33067807404
98441816A2B262   ANDREA       JONES                        DC     90008958160
98441959572B32   ROSA         TAMAYO                       CO     33020669595
98441A32938525   JANETH       CABALLERO                    UT     90011510329
9844264134B588   AMANDA       LOPEZ                        OK     90011196413
98442688472B62   IRMA         URBINA                       CO     33056656884
9844273713164B   MARIA        GALARZA                      KS     22073257371
98442A75676B63   ORTEGA       PEDRO                        CA     90012480756
9844314238B175   AHMED        HUSSEIN                      UT     90014071423
98443991A5B344   ZONIA        ESCOBAR ANZUETO              OR     44555549910
98444773672B56   MIKE         BRENZIKOFER                  CO     90012197736
9844492328B175   DAVID        OSORIO                       UT     90011119232
9844533825B383   MICHEAL      HARDMAN                      OR     44537113382
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1846 of 2350


98445343A3164B   TED          BRANSON                      KS     22088983430
984455A728B175   EDGAR        MARTINEZ REYES               UT     90013345072
9844591A255951   BIVIANA      VIRGEN                       CA     90011119102
9844627AA5B548   VICTOR       ALCOCER                      NM     35026212700
98446A4984B588   ASUSENA      JIMENEZ                      OK     90005510498
98447259172B22   JESSICA      LOUISE JACCAR                CO     33044772591
984473A7491599   JESUS        MORENO                       TX     90005293074
98447957172B62   PENNY        MARTINEZ                     CO     90013939571
9844831444B554   DANA         VALLEROY                     OK     90014333144
9844843A94B554   JORDAN       ELMORE                       OK     90014364309
9844957635B383   JUSTIN       AGENA                        OR     44597975763
9844967942B98B   ALEXANDRIA   NEVAREZ                      CA     90012416794
9844972A141296   COLEMAN      MCCOWN                       PA     90007877201
9844B31188B175   CASSEY       ANDERSON                     UT     90013463118
9844B38965B531   ELENA        VOLPERT                      NM     90013643896
9844B41194B949   PAYGO        IVR ACTIVATION               TX     90014234119
9844B619551391   BOB          WIZE                         OH     90010516195
98451378572B32   MARI-CAMEN   GOMEZ                        CO     90011873785
9845237138B352   CHUCK        ROTTMAN                      SC     90015373713
9845246A193732   JAMES        ROBINSON                     OH     64544194601
9845261163B399   JOSE         ROSARIO-GAMBOA               CO     33090566116
9845264AA2B886   JASON        RETHERFORD                   ID     42087636400
98452722372B56   ELIZABETH    YNSUNZA                      CO     33058067223
98453A91993755   SHARITTA     JONES                        OH     64575120919
9845413A272B3B   KARLA        SANCHEZ                      CO     90014481302
9845447744B588   JERMAINE     BROOKS                       OK     90013334774
9845461A14B588   CHERRI       BARBER                       OK     90014156101
98454935172B22   MARISOL      VELOZ                        CO     33098109351
98454A49897B59   JOEL         CASTNER                      CO     90013410498
984557A3291599   PAULA        JAQUEZ                       TX     90012347032
984562A925B548   MICHAEL      BOLIN                        NM     90012732092
98456356472B24   TERESA       DE RAMIREZ BARRIENTOS        CO     90013623564
98456A4944B554   MARIANA      PADILLA                      OK     90010920494
9845732344B524   RACHEL       HOGG                         OK     90008883234
98457385272B62   PATRICK      SMITH                        CO     33094173852
98457577972B62   FILOMENA     VENEGAS                      CO     90015115779
98458256897B59   PATRICIA     MOLINA                       CO     90013032568
9845828745B393   SHAUN        FLOYD                        OR     90005802874
9845847AA72B42   GABRIELA     MORALES                      CO     90009274700
984585A8A2B925   POR          LEE                          CA     90008155080
98458A2A472B62   KARI         POOLMAN                      CO     90000720204
98458A4A972B32   ALFREDO      ZAVALA                       CO     33013960409
98459A79541296   TROY         CYPHERT                      PA     90004760795
9845B486672B3B   MICHELLE     JEFFERSON                    CO     90000814866
9845B86399125B   MARCUS       BRIGHT                       GA     90009878639
98461378872B62   ROSA         PEREZ                        CO     90009253788
9846154A85B545   ROGER        ARNOLD                       NM     35086975408
98461A9AA71928   NATHANIEL    ROGERS                       CO     90013080900
9846211518B131   JONATHON     CORNEJO                      UT     31076981151
984623A8A2B925   JESSICA      TRIPP                        CA     90008183080
9846328A591399   JOSE         FELICIANO                    KS     90001602805
98463292372B32   JENNY        GIRON                        CO     33082382923
98463521172B3B   MARIA        CRUZ                         CO     90012815211
9846377594B998   MARCIE       GONZALEZ                     TX     90013837759
9846381283164B   RUBY         VARGUS                       KS     90012808128
98464627A72B32   ALEXA        WHITE                        CO     90012606270
98464827797B59   DANIEL       LUNDEEN                      CO     39038758277
98464935A5B548   OFELIA       HERNANDEZ                    NM     35057039350
984652A3155951   KENNETH      DOLAND                       CA     90014132031
98465476272B24   HUE          VO                           CO     33073654762
9846563A761977   SARAH        GARCIA                       CA     90007596307
98465918872B51   ALLISON      DAY                          CO     90002099188
98465AA7797B59   CHRIS        MAY                          CO     90014170077
9846633AA81635   CHARLENE     FULLER                       MO     90014863300
98466636572B62   HECTOR       HERNANDEZ                    CO     90013676365
98466637672B3B   ALEXIS       LARA                         CO     90009426376
9846679135B548   MARGARET     ANAYA                        NM     90013537913
984677A5191599   JOSE         BARRIOS                      TX     75092667051
984684A7281634   REMIE        WALLAIMS                     MO     90006144072
98468A93891399   JEREMY       NEIL                         KS     90014800938
984691A693B391   HEATHER      OMALLON                      CO     33009071069
9846923A572B32   VINCENT      HENNAGER                     CO     90014002305
9846B149861977   JOSE LUIS    VERGARA                      CA     90010871498
9846B47775B531   JOSE         MALDONADO                    NM     35087924777
9846B516193755   KEVIN        JONES                        OH     90014585161
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1847 of 2350


9846B792261977   ELVER        CAMACHO                      CA     90015027922
9846B826872435   JOHN         FRY                          PA     90014678268
9846B981A72B22   BOONE        SENGALOUNE                   CO     33089319810
9847125A997B59   BOBBY        MARTINEZ                     CO     90007992509
98471842972B62   GLENDA       SMITH                        CO     90009978429
9847185A25B281   DESIRE       NSHIMIRIMANA                 KY     68017668502
98472637A2B894   KIRBY        WIDDICOMBE                   ID     90007796370
98472823372B42   ANTONIO      BERNAL                       CO     90003698233
9847421A272435   JUSTIN       TEETS                        PA     90014802102
98474A12141296   THEODORE     SPENCER                      PA     51091290121
9847552218432B   OLIVIA       REESE                        SC     90010695221
98475841972B56   LERAY        SMITH                        CO     33039608419
9847589325B25B   JEFFREY      EPLEY                        KY     68086908932
9847615454B554   DANA         VINEY                        OK     90010921545
98476326197B59   JESUS        GARCIA                       CO     39053693261
98476358972B3B   SHELI        ESPINOZA                     CO     90008333589
98476545372B42   MARIA        DE RODRIGUEZ                 CO     33058915453
9847656764B588   JEFFREY      BRITE                        OK     90014815676
98477223572B62   JUAN         GARCIA                       CO     90002482235
98477764A72B42   BRIELLE      SANCHEZ                      CO     90002447640
9847941624B554   WILLIE       LINDSEY                      OK     90013854162
98479994172B3B   LISA         MUNGUIA                      CO     33033769941
9847B12547B444   NARISHA      FOXX                         NC     11007141254
9847B51485B548   NICOLE       SANCHEZ                      NM     90006425148
9847B533193755   DESTINEY     SPIVEY                       OH     90014585331
9847B917255951   JESSICA      FERNANDEZ                    CA     90011119172
98481422572B22   LEVCESAR     GONZALES                     CO     90005084225
984814A2777537   CLAUDIA      SAN JUAN ALZAGA              NV     43017104027
9848163255B531   LORRE        SHEMEK                       NM     35048216325
984818A439125B   MISTY        HURST                        GA     90007508043
98482516772B62   BRYAN        HUTSON                       CO     90000255167
9848254834B949   BRANDON      JORDAN                       TX     90009025483
9848373288B175   DANIELLE     SANDOVAL                     UT     31011077328
98483A37355933   JUANA        PANIAGUA                     CA     90000890373
98483A43341296   JOHNIE       BATTEN                       PA     90012400433
9848473927B444   MARCUS       OGLESEY                      NC     90010937392
9848483A347871   SHARITHA     RIDGEWAY                     GA     90008348303
98484919A55951   KEVIN        NEWBILL                      CA     90011119190
9848534A581639   ENRIQUE      CORONADO                     MO     90004363405
984861A414B554   SIRILO       MARTINEZ                     OK     90012041041
9848638894B949   KAMMIE       CHANDLER                     TX     90010653889
98486A45172B22   MATTHEW      MANTHE                       CO     90008290451
9848715975137B   CHRISTINA    CRUZ                         OH     66008361597
984874A5961977   JESUS        MARTINEZ                     CA     90011414059
9848778154B249   HEATHER      SCHLUCKEBIER                 NE     90010717815
98487961A72B24   AGUSTIN      PATRICIO                     CO     90005539610
98488613272B32   OAKLEY       EISEL                        CO     90011966132
984886A6293755   KEVIN        TRAPP                        OH     64553296062
98489558772B62   ALFONSO      SILVA                        CO     90011665587
9848B194181634   MARTHA       KELLEY                       MO     29012971941
9848B577472B62   JUAN         HERRERA                      CO     90015115774
9848B756861977   CARLOS       RAMIREZ                      CA     46001207568
9848BA93972B42   FELICIA      HERNANDEZ                    CO     33058410939
98491566A2B982   JENNIFER     DOCTORS                      CA     90014695660
9849185A472435   DAILYNN      MURIEL                       PA     90014888504
984921A1977537   GERARDO      AMAYA                        NV     90014131019
9849239A65B531   MATSEN       RENEE                        NM     90008843906
98492AA1672B3B   SERGIO       CHAVIRA CORRALES             CO     90012800016
9849326384B949   JESSICA      KENDRICK                     TX     90015172638
984933A9572B42   JOSE         LOPEZ                        CO     33015863095
98493935A4B588   YASMIN       MENDEZ                       OK     90013089350
9849424A672B3B   ANA MARIE    LACEY                        CO     90013022406
9849427AA5B548   VICTOR       ALCOCER                      NM     35026212700
9849433877B163   GABINO       SANDOVAL                     ND     90015183387
98494449272B24   SACARMENTO   GUZMAN                       CO     90011744492
98494721972B32   ADRIAN       REYES                        CO     90011467219
98494885372B62   CARMELLA     JONES                        CO     33050498853
9849512474B554   STACIE       COLEMAN                      OK     90014421247
98495361A97B59   PATRICK      SOLORZANO                    CO     90013293610
9849562334B588   LORENZO      ACOSTA                       OK     90014146233
9849617665B548   SARA         SIGALA                       NM     35090241766
9849734A27B163   RAYMONDO     GUERRERO                     ND     90015183402
98498218A57563   MANUEL       RIVERA                       NM     90011372180
9849871364B949   WILLIAM      MARTINEZ                     TX     90015207136
9849891814B588   CHARLENE     FALEPOUONO                   OK     90015229181
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1848 of 2350


98498A98291599   LOURDES      VILLA                        TX     90002270982
984992A3261927   BETTY        RUTH                         CA     90007842032
9849984472B263   LEONCIO      NAVA-FLORES                  DC     81064398447
9849997AA5B531   LANHUONGTH   TRAN                         NM     35014119700
98499A26881626   ASHLEY       BLAIR                        MO     90006380268
98499A33397B59   LUIS         SALDIVAR                     CO     90005990333
9849B235A4B554   JESSICA      STRUCKER                     OK     90014192350
9849B399791321   GARAY        BONIFACIA                    KS     29004363997
9849B491372B24   CORY         OTT                          CO     33086954913
9849B511255951   KEOSUPHANH   SNOW                         CA     90011155112
9849B786A5B548   MARK         RODRIGUEZ                    NM     90011227860
984B1179572B62   FAUSTINA     ADZO                         CO     33083531795
984B1511A7B464   CESAR        SYKES                        NC     90005295110
984B1997897B59   TRAVIS       DUVALL                       CO     39086699978
984B1A4894B949   NATIVIDAD    SAVALA                       TX     90011750489
984B236A377537   VANESSA      ORTIZ                        NV     90013733603
984B2519557563   JEREMY       MARQUEZ                      NM     90010415195
984B2544172B3B   JEFFREY      BALDON                       CO     33083285441
984B2728997B59   STEPHANIE    PALMIER                      CO     90005877289
984B2745377537   JOHN         ANDERSON                     NV     90010877453
984B3145872B42   RITA         COOPER                       CO     90004421458
984B3181761977   GRISELDA     FABIAN                       CA     90012771817
984B3198581639   HOWARD       JACKSON                      MO     90014731985
984B3836872435   MELISSA      WILFANG                      PA     90014528368
984B4755193732   JAMOUL       LAWSON                       OH     64516707551
984B528615B383   JASMINE      PEREZ                        OR     90013652861
984B533497B444   LAVERNE      AGURS                        NC     11087383349
984B5613191357   ROBERT       GRANTZ                       KS     29094876131
984B6492672B32   MARGARET     ARGUELLO                     CO     90007974926
984B6895497B59   NEIRA        MOLINAR                      CO     90003098954
984B6911772B56   HECTOR       DIAZ                         CO     90009859117
984B7184A61977   DREABON      MCGEE                        CA     90002111840
984B71A4172B22   BRYAN        KNIGHT                       CO     33010051041
984B7392393755   DAINA        GRAY                         OH     90011403923
984B7576477537   ROBERTO      VAZQUEZ-NAVARRO              NV     90011385764
984B7679691882   JESUS        HARO                         OK     90013696796
984B83A2791399   STARR        RODRIGUEZ                    KS     29001993027
984B853468B175   SHELLTON     JEAN BAPTISTE                UT     90014525346
984B8934472B3B   ROGER        ABEYTA                       CO     90007879344
984B912545B548   JESSICA      REYNOLDS                     NM     90012511254
984B9136A81634   JAIME        MOORE                        MO     29003191360
984B9159872B24   SERGIO       HERNANDEZ                    CO     33054351598
984B9163A8B175   RAUL         RENOBA                       UT     90015231630
984B9225972B3B   JORGE        FLORES                       CO     90012722259
984B993A291526   MARK         BROWN                        TX     90002769302
984BB31615B548   AIDA         RAMOS                        NM     35094503161
984BB376855951   IVAN         FERRUZOLA                    CA     90003873768
984BB418457126   YOLISS       ZELADA                       VA     90007964184
984BB5A9191399   MARY         WALKER                       KS     29042005091
984BB88713164B   MARIA        DOVE                         KS     90012028871
9851144255B548   JEWELIANA    URBAN                        NM     90007794425
9851168624B523   MARGARITA    HERNANDEZ                    OK     90009046862
985118A3161977   ZENOBIA      ANDERSON                     CA     46004238031
98511A19472B62   VERONICA     VILLANUEVA                   CO     33083400194
9851246377B444   VALORY       DUNN                         NC     90000904637
985124A5291599   ESTELA       MARTINEZ                     TX     75038544052
9851252998B175   LARRY        HANSEN                       UT     90014355299
9851281595B548   CIERA        BLACKSHEAR                   NM     90011228159
985131A344B588   EDNA         WARE                         OK     90010991034
9851368375B281   YOLANDA      REDMOND-GLENN                KY     90006426837
98513A29261977   DAN          MONJARAZ                     CA     90008680292
98514248472B56   ERIKA        PALACIOS                     CO     90009842484
98514253A91399   BRIAN        WILLIAMS                     KS     29017662530
985142A7A7B434   ALMA         SANCHEZ                      NC     90007422070
9851512245B524   RICK         TRUJILLO                     NM     90012911224
9851554314B588   MINDY        KIPLINGER                    OK     90014585431
9851591328B175   AL           AL-BAYATI                    UT     90014729132
9851596685B383   JOSE         BARRANCA                     OR     90015239668
98515A92641296   JASMINE      HART-MIKE                    PA     90014840926
9851627714B588   CHRIS        JOHNSON                      OK     21597462771
98516598572B24   ALEX         HERNANDEZ                    CO     90011685985
985169A7472B22   ARDON        GUEVARA                      CO     90014749074
9851733125B548   CECILIO      HERNANDEZ                    NM     35031713312
985178A375B383   DESIREE      THORN                        OR     44523618037
98517A9368B181   JAMIE        SMITH                        UT     90009230936
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1849 of 2350


98518583A91399   JOAN         RODRIGUEZ                    KS     90014965830
98518A67591599   CRISTINA     LOPEZ                        TX     90012310675
98519296172B3B   MARIA        DE IBARRA                    CO     90010712961
98519432672B32   MARCO        MIRNADA                      CO     90009564326
985195A8297B59   FELICIA      MUNOZ                        CO     90013645082
9851B163493755   CORY         PRATT                        OH     90010751634
9851B244A72B62   BRANDIE      CHAVEZ                       CO     33038672440
9851B613472B24   GARY         DESMARIS                     CO     33086956134
9851B8A8881634   ERIKA        RIOS TECORICHE               MO     90014178088
9852111914B565   LARRY        THOMPSON                     OK     90008001191
9852114464B554   YOLANDA      KING                         OK     90012041446
985212A475B275   FELICIA      SMYZER                       KY     90008672047
98521486672B3B   MICHELLE     JEFFERSON                    CO     90000814866
98521A34684348   MAHLON       DRAKE                        SC     14586890346
9852227A255951   CENOBIO      BENITEZ                      CA     49073022702
98522337472B42   TONY         REYES                        CO     90011713374
9852243844B949   RAUL         DIAZ                         TX     90009434384
985227A3157563   NANCY        GOMEZ                        NM     90014737031
9852298514B554   SIERRA       RAY                          OK     90012119851
98522A17677537   DWAYNE       LAWRENCE                     NV     43067050176
9852345295B531   APRIL        ROMERO                       NM     35090154529
9852381545B383   ELISHA       WESLEY                       OR     90009518154
98523981672B24   JOVANNY      MELENDEZ                     CO     90014999816
98524849772B32   HELGA        CRAWFORD                     CO     90004868497
98524A1A95714B   GERMAN       MALDONADO                    VA     90001770109
9852511495B383   A            MOE                          OR     44510711149
98526396672B22   IVAN         LANDEROS                     CO     90005553966
98526934172B24   MICHAEL      SCHISSLER                    CO     33062069341
9852722893164B   CANDACE      SCHOENBERGER                 KS     90010652289
9852748715B383   KARA         CHURCH                       OR     90014574871
98527AA2372B22   JUANITA      DOMINGUEZ                    CO     33051710023
9852898274B949   JUAN         HERNANDEZ                    TX     90012519827
98528A5A19125B   EVE          HEYWARD                      GA     90010480501
98528A7188B175   NICHOLAS     MATSON                       UT     90013080718
9852919574B554   EDUARDO      VALENZULEA                   OK     90010921957
9852942294B563   PAUL         SIDDONS                      OK     90014034229
9852997555B383   LAURA        RITCHIE                      OR     90014769755
98529A2A277537   CECILIA      AVALOS                       NV     90009090202
9852B34585B383   RYAN         KUMM                         OR     90013333458
9852B663972B3B   TSIGE        WOLDEYES                     CO     90011436639
9852B722A93755   TAMARA       FROST                        OH     90004517220
9852B825A72B62   ANTONIO      MALDONADO                    CO     33049608250
9852B91494B949   ALBERTO      GARCIA                       TX     90006369149
9853113375B548   DEANDRE      BROWN                        NM     90013941337
98531279872B42   KEN          ZAMORA                       CO     33010012798
9853163A172B22   TIFFANY      ELLIS                        CO     90010576301
9853211595B383   SILVER       LUEY                         OR     90014161159
98532278872B3B   JOHN         NEWMAN                       CO     90013652788
98532547572B62   JUSTIN       MONTOYA                      CO     90013805475
98532914572B22   JAMIE        HENRY                        CO     90011089145
98532A2A877537   DARREN       BAKONDI                      NV     43036460208
985339A235B531   GAY          BROWN                        NM     90006539023
98534577472B62   JUAN         HERRERA                      CO     90015115774
9853488985B548   MAMIE        YBARRA                       NM     90012398898
9853537614B554   NOHEMI       REYES                        OK     90014873761
98535396672B22   IVAN         LANDEROS                     CO     90005553966
9853541238B175   JORGE        BUSTAMANTE                   UT     90012534123
98536254A91592   MARLOU       ALVAREZ                      TX     90010842540
9853634398B175   BANDY        MAR                          UT     90006013439
9853698974B588   TERRESA      STRECK                       OK     21571789897
98536A64872B62   SHOBY        HANNAH                       CO     90013990648
98537138472B3B   NANCY        GUTIERREZ                    CO     90012611384
98537321A81634   NICHELLE     HOLLND-HAWKINS               MO     29061443210
98537354A77537   JOCLYN       FRAZIER                      NV     43060833540
985376A124B554   DOUGLAS      JUERGENS                     OK     90011576012
9853772A941296   JASON        GENTILE                      PA     51088517209
98538271A93755   LAUREN       WHITMAN                      OH     90000332710
9853847625B531   KATHERINE    HANNING                      NM     90012184762
9853887AA97B59   CHON         WATSON                       CO     90014418700
9853973784B588   LINDSAY      WILSON                       OK     90010107378
98539751A7B444   JESSICA      GREEN                        NC     90015027510
9853B53785B531   ANABEL       DURON                        NM     90010555378
9853B734657563   NANCY        SALAS                        NM     90014737346
9853B895197B59   DIANA        GUERRERO                     CO     90013038951
98541457972B56   BARTHA       ZUNIGA                       CO     33026004579
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1850 of 2350


9854241A25B531   JOHN         FONTANEZ                     NM     90012274102
98543173A4B588   DASHAREY     HOWETH                       OK     90011211730
98543311472B42   ASTAN        DAOU                         CO     33071983114
985434A8481639   WILLIAM      DENNIS                       MO     90014764084
9854385264B949   DOUGLAS      BAKER                        TX     90010398526
9854418A64B554   ANGELO       COOPER                       OK     90009531806
9854432744B588   DEAN         MORGAN                       OK     21553973274
9854457484B949   KIMBERLY     ROYER                        TX     90012975748
9854465A672B3B   MANUEL       CASTILLO                     CO     33088736506
98544A44657563   CELIA        ONTIVEROS                    NM     90011180446
9854536225B531   DIANA        PINTO                        NM     90010293622
985454A4A5B548   LAMONIQUE    DAVIDSON                     NM     90012344040
9854574188B175   CASIE        FOSTER                       UT     90013887418
9854598348B175   PAYGO        IVR ACTIVATION               UT     90011119834
98545A44657563   CELIA        ONTIVEROS                    NM     90011180446
98545A6A955951   GABRIEL      LOPEZ                        CA     90010460609
9854618194B588   MELVIN       SWAN                         OK     90011211819
985472A8397B59   ROBET        SABALA                       CO     90009222083
9854749568B175   COURTNEY     CLARKE                       UT     90009814956
985474A833164B   PATRICIA     BARRERA                      KS     22064884083
98547821272B42   LUANNE       ROMERO                       CO     90012418212
9854786A55B531   ERIKA        FACIO                        NM     90014058605
9854793135B548   LAURA        HANEAHAN                     NM     90002599313
9854795434B554   IRMA         RAMIREZ                      OK     90009999543
98547957972B22   MARCUS       MEDINA                       CO     33040989579
9854845217B444   ROCIO        SAUCEDO                      NC     90014214521
9854911A172B24   NATALIE      FRESQUEZ                     CO     33097781101
9854942274B949   ELIEZER      FUENTES CENTRO               TX     90014334227
98549A54391599   MIREYA       GARCIA                       TX     90008060543
9854B272491599   VILMA        MACIAS                       TX     90010172724
9854B436381639   DARTANIAL    JACKSON                      MO     90014734363
9854B869672B24   APRIL        CHAPA                        CO     33087958696
98551481472B32   NATHEN       WILSON                       CO     33056764814
98551831372B56   JANIE        BREACKENRIDGE                CO     90002878313
98551A92781634   NOLAN        YOUNG                        MO     29088030927
985527A374B26B   FLOR         LOPEZ                        NE     90004547037
985529A654B949   JASON        GOLSTON                      TX     90012719065
9855455894B588   ROJELIO      GONZALEZ                     OK     90015285589
98554A28793755   PIERESAUN    COMMINEY                     OH     90013030287
985555A5297B59   MICHAEL      SANTANA                      CO     90011855052
98555815872B3B   JUAN         FLORES FELICIANO             CO     90014448158
985561A7357563   SONIA        RODRIGUEZ                    NM     90011271073
98556419A91399   DIGNA ROSA   GAMES-REYES                  KS     90011794190
9855661953B37B   JAIME        DIAZ                         CO     90009816195
985571A864B588   CASEY        LARIMORE                     OK     90014131086
9855766A83164B   WESLEY       YOUNG                        KS     90012256608
98557A93441296   KIMBERLY     SHOESCRAFT                   PA     90010740934
985582A3941296   D            YOUNG                        PA     90012262039
98559354A72B42   PAOLA        ROSAS                        CO     90011713540
9855942565B399   SARAH-ANN    TORRES                       OR     90002694256
9855976725B383   LEAH         EGOS                         OR     90012507672
9855B21925B531   DEBBIE       CUSTER                       NM     35038162192
9855B367A55951   PATRICK      STEVENS                      CA     90012193670
9855B98514B554   SIERRA       RAY                          OK     90012119851
9855B991681634   MONET        THOMPSON                     MO     29081159916
9855B9AAA91399   ANDREA       KISEE                        KS     90005839000
9855BA58A5B383   LAURA        HEINER                       OR     44510720580
9856146377B444   VALORY       DUNN                         NC     90000904637
985615A6357563   ERASMO       AGUIRRE                      NM     90011275063
98561757172B62   SILVIA       CHAVEZ-VERDUGO               CO     33025587571
98561A15891599   JOSE         MADRID                       TX     90011920158
98561A7495B548   GLORIA       ALIRES                       NM     35091500749
98561AA8731422   HANNAH       DOLLINGER                    MO     90006960087
9856351144B588   HUGO         ROJO                         OK     90011215114
9856376667B444   GERRIA       FORMAN                       NC     90014527666
9856384A15B548   JOANNA       RIOS                         NM     35005318401
98563963272B62   MANUEL       ROYBAL                       CO     90013939632
9856418484435B   LAURETTA     JENKINS                      MD     90015471848
98564878972B32   TANIA        COMPEAN                      CO     90014858789
98564942A61977   OCTAVIO      ORDAZ                        CA     90014699420
98565163A4B949   RAMIRO       MARQUEZ                      TX     90006351630
9856541445B383   AMY          OWOTOR                       OR     90015024144
98565A49457132   NICK         COFER                        DC     90004650494
98565A62855951   LUIS         BENAVIDEZ                    CA     90008870628
98565A98372B22   OCTAVIO      MUNOZ                        CO     33081210983
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1851 of 2350


9856635A15B531   ESTEVAN       GARCIA                      NM     90014393501
98566877497B59   ADIJA         DIAMANT                     CO     90006288774
98566971972B62   MEGAN         WOLF                        CO     90013939719
98566A98372B22   OCTAVIO       MUNOZ                       CO     33081210983
98567135A72B22   ALMA          CORTEZ                      CO     33013431350
9856768285B383   TRACY         LONG                        OR     90011316828
98567A4AA72B56   LISA          PEREZ                       CO     33003490400
9856834A85B531   KIMBERLEY     HARRIS                      NM     90013513408
98568622497B59   FRANCISCO     SILVA                       CO     90013416224
98568A39772B24   LISA          KNOBBS                      CO     90001870397
98569482972B22   STEPHEN       RETTIG                      CO     33012364829
9856951265B383   VERA          KATLAPS                     OR     90010375126
9856975A58B175   KYLE          CURTIS                      UT     90011897505
9856B486897B21   MERRITT       HARTSON                     CO     90007814868
9856B68285B383   TRACY         LONG                        OR     90011316828
9856B797855951   MELISSA       FONTANILLA                  CA     90012507978
9856B9A325B548   TIM           BUCKLER                     NM     35045389032
9856BA98372B22   OCTAVIO       MUNOZ                       CO     33081210983
985711A574B588   JUSTIN        HOBBS                       OK     90013091057
9857124475B54B   BORRIAS       PONCE                       NM     90013452447
9857176997B444   GREGORY       WATKINS                     NC     90010467699
9857185818B175   SIMMONS       KESHA                       UT     31088498581
9857263A672B3B   DENISE        LEJA                        CO     90007826306
9857489714B588   JESSIE        SCOTT                       OK     90010688971
98575798972B32   MIA           MOORE                       CO     33036247989
98576122472B24   DAVID         NAJERA                      CO     33088521224
9857625A177537   TANEISHA      MITCHELL                    NV     43098672501
98576A36255979   ROSARIO       RANGEL                      CA     90010360362
98577655672B22   BEVERLY       HARPER                      CO     90010576556
985776A7581639   VIKKI         FREE                        MO     90009876075
9857817225B548   YENY          FLORES-CORONADO             NM     90013941722
98578221772B3B   JENNIFER      BARSI                       CO     90014092217
9857858A35B531   CHRISTOPHER   VIGIL                       NM     90012935803
985788A6393755   DAWNA         MILLER                      OH     64591178063
985794A498B175   CLARENCE      HOLMES                      UT     31060744049
98579785372B32   DYLAN         LATOSKI                     CO     90000907853
9857B32518B175   LAUREN        HARDY                       UT     31054163251
9857B32915B394   ROB           GUNN                        OR     44017043291
9857B577757563   EVANGELINA    RIOS                        NM     90014745777
9857B5A7991599   CARLOS        MANRIQUEZ                   TX     90013015079
9857B815872B3B   MARMOLEJO     JOSE                        CO     90007108158
9857BA5AA72B32   JOSH          SURNER                      CO     90012300500
9857BA98493755   TIFFANY       HENSLEY                     OH     64541360984
9858193944B554   ANIKA         MIDDLETON                   OK     90014249394
98581942772B32   VICKI         BLAIR                       CO     33019699427
9858196133164B   JANAYA        PAYNE                       KS     90001689613
98582369172B24   ANTONIO       JARAMILLO                   CO     33078213691
985823A5561977   DENISE        MANGE                       CA     90004493055
9858329A741296   DEBRA         GRAY                        PA     51092582907
9858394845B548   GIL           RENE VARELA                 NM     35054119484
98584A34177537   AUTUMN        HEPNER                      NV     43063490341
9858578765B383   ARUNA         K ANAND                     CA     44505567876
98587457972B56   BARTHA        ZUNIGA                      CO     33026004579
9858857A861977   SARAH         COTA                        CA     90013445708
98588A1824B554   CASTRO        MORENO                      OK     90001990182
9858912624B588   JOSE          LIRA                        OK     90013101262
9858924778B175   JUAN          MEDINA                      UT     31075882477
98589571597B59   VANESSA       GARCIA                      CO     90014005715
9858B287A72B22   MANUEL        LUNA                        CO     90011342870
9858B38A75B548   MIGUEL        LOPEZ DIAZ                  NM     90014953807
9858B529181639   TYRELL        MONTGOMERY                  MO     90014735291
9858B683955951   MARTHA        HERNANDEZ                   CA     90015006839
9858B72194B554   JAVIER        RODRIGUEZ                   OK     90013057219
9858B787591399   MELISSA       PILCHER                     MO     29009547875
985918A5141296   THOMAS        WALAS                       PA     51074678051
98592A71531447   BILL          HILL                        MO     90004640715
98592A81272B22   EVER          VILLA MOLINA                CO     90008290812
9859366584B588   SHANNON       JACKSON                     OK     90011216658
9859466584B588   SHANNON       JACKSON                     OK     90011216658
9859513944B588   DANI          PORTERFIELD                 OK     90013101394
985955A2971922   DIANE         CHANCY                      CO     90014095029
98595A19357563   VANESSA       AMADOR                      NM     90006840193
9859629333B399   VANESSA       SIERRA                      CO     90009422933
98596343972B42   ULISES        SALGADO                     CO     90010083439
9859641884B554   JENNIFER      RIGGLES                     OK     90007344188
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1852 of 2350


98596797A91599   KENNY             DOMINQUEZ               TX     90013267970
98596A19357563   VANESSA           AMADOR                  NM     90006840193
985974AA14B554   LOURDES           MOREL                   OK     90012754001
9859769775B548   SILVIA            BARRIENTOS              NM     35091636977
98598991372B22   ROSARIO           CHAVEZ                  CO     90001929913
9859914724B588   JOEY              WOLF                    OK     90013101472
9859917794B949   EULISICA          MOFFETT                 TX     90012521779
98599898472B22   ENRIQUE           RODRIGUEZ               CO     90010888984
98599982672B24   JOSE              ORLANDO                 CO     90014999826
9859B444A5B383   RENEE             MADRID                  OR     90013724440
9859B46A781634   JESSICA S MEALS   ON WHEELZ LLC           MO     90013154607
9859B648673297   OSCAR             PACHECO                 NJ     90014846486
9859B72175B25B   RUTH              REED                    KY     68001537217
985B1278561977   MELISSA           RODRIGUEZ               CA     90012772785
985B1465997B59   DAVID             AUSTIN                  CO     90010574659
985B156825B531   JOSEPH            MAES                    NM     35045295682
985B2352281639   RAMIRO            MEJIA                   MO     90014733522
985B2527572B62   NERY              LIZETH                  CO     90003425275
985B278658B175   ABBIE             ENOS                    UT     90015087865
985B3163755951   JASON             CRAIG                   CA     49092501637
985B335A88B175   DEAN              PEARSON                 UT     90011133508
985B342595B548   EMILY             MONTGOMERY              NM     90013204259
985B3AA5191399   JUANA             DERAS                   KS     90000440051
985B4151972B42   KARL              WANEKA                  CO     33018081519
985B4353881639   AMALIO            CABALLERO FLORES        MO     90014733538
985B4643457563   JULIE             TRIPLETT                NM     90014736434
985B4855861927   HUGO              JUAREZ                  CA     46083378558
985B4A71572B3B   BYRON             FROMM                   CO     33077750715
985B5547A4B949   TOMMY             WOODCOCK                TX     90005145470
985B5557561977   WAKYSE            CASEY                   CA     90012225575
985B5558A72B56   ISAAC             VILLA-VILLA             CO     33074885580
985B5814661977   TONI              MILLER                  CA     90011478146
985B5923577537   RICHARD           CONTRERAS               NV     43043549235
985B6346A7B163   BRANDO            HURTADO                 ND     90015183460
985B653534B588   JESSICA           POTTER                  OK     90014865353
985B762965B344   CHARLES           NEMETH                  OR     90009506296
985B7727591599   JOHNNY            DEANDA                  TX     90009237275
985B7842861977   ERIBERTO          BECERRA                 CA     90014878428
985B7972391882   MARIAH            WELCH                   OK     21083569723
985B8111891399   KENNETH           HARRIS                  KS     90015131118
985B861A693732   CHAD              KENNEDY                 OH     64516856106
985B887144B554   LEYMAN            BARRIOS                 OK     90009458714
985B8958772B3B   DANIEL            SMITH                   CO     90007879587
985B9365881639   MARGIE            MONROE                  MO     90014733658
985B9821381634   SETH              HORTON                  MO     90011938213
985B9994891955   KENDRA            COOPER                  NC     17038979948
985B999934B588   RAUL              BUSTOS                  OK     90013089993
985BB26924B554   CASSANDRA         WALKER                  OK     90008822692
985BB436177537   GARY              SCHAIDLE                NV     43084804361
98612454972B87   ROSIO             MARTINEZ                CO     90010674549
986125A1472B22   RICARDO           ZARATE                  CO     90011405014
9861279398B141   DEVAN             PETERSEN                UT     90011017939
9861279755B548   MARK              KESSLER                 NM     35087037975
98612856A3164B   JOSE              LOPEZ                   KS     90008408560
98612A49A93755   KENNETH           RUSSELL                 OH     64539630490
98613172472B62   SAVANNA           GUERRA                  CO     33014681724
98613219A5B548   CRYSTAL           CHAVEZ                  NM     35046312190
9861331A881658   STEPHANIE         SMITH                   MO     90013553108
98613917172B32   ERIC              FACAIN                  CO     33069279171
98613994372B24   DONALD            ROACH                   CO     90014999943
9861447A272B3B   ROBERT            KEETON                  CO     90006074702
9861483664B588   WILLIAM           JORDAN                  OK     90013768366
98614A6713164B   JUAN              LAGONAS                 KS     90013210671
98615429472B22   MARIA             LOPEZ                   CO     33015714294
98616117572B56   JOHN              GIBSON                  CO     90000521175
986161AA94B554   SHEILA            KRUEGER                 OK     90009811009
98616AA9361927   JOSE              RAYA                    CA     46074460093
986186A4193755   JOHN              WARNER                  OH     90014586041
98618A4A14B949   JOHANNA           ANDERSON                TX     76522320401
9861B299357563   DOMINIQUE         MONTES                  NM     90012122993
9861B516193755   MYKELLE           FREEMAN                 OH     90013385161
9861B653191951   MICHEAL           GURRY                   NC     90011816531
9861B69A472B42   SINNETT           MARTHA                  CO     33096156904
9861B6A7381634   KATHERINE         TURNER                  MO     90014516073
9861BA66972B98   BRIANNA           CARTER                  CO     33090530669
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1853 of 2350


9862133A25B383   DELILAH           VILLEGIS                OR     44540403302
986214A595B548   ELLIS             SMITH                   NM     90006614059
9862176129376B   STEVEN            WHITE                   OH     90014657612
98621A2528B175   FRANKIE           CADALIAC                UT     90012300252
98621A31A93755   MICHAEL           JUSTICE                 OH     64558540310
986221A935B383   MAXIMINO          LUIS SANTOS             OR     90015101093
98622232572B32   BRENNAN LAIRD     SONIA MARIN             CO     90010422325
986223A4361977   AMANDA            LYNCH                   CA     90013613043
986226A235B581   JOEY              SANDOVAL                NM     90014746023
98622962472B3B   BRIAN             RAHN                    CO     90013919624
986233A2881634   KEITH             STARR                   MO     90012343028
98623AA1557563   MARIA             PRADO                   NM     90011280015
98624243572B3B   ELISHA            BALLARD                 CO     90013192435
98624581872B56   APOLONIA          BARRAZA                 CO     90013125818
9862465A94B949   TRAVRON           PARKERSON               TX     90013456509
9862514A472B62   CARLENE           SOWERS                  CO     33096661404
9862543484B588   JERMAINE          WASHINGTON              OK     90011434348
98625472A72B22   CHANTAY           GALLEGOS                CO     90005784720
9862552A657563   RUBY              VALENZUELA              NM     90014765206
9862652A657563   RUBY              VALENZUELA              NM     90014765206
98626736472B56   IRMA              BEJARANO                CO     33083197364
98626939872B22   TONYA             STOCKWELL               CO     33072479398
98626AA7531952   QUANISHA          HUGHES                  IA     90015080075
98627644A97B59   PORFIRIO          SAUCEDO                 CO     90003866440
98627943872B62   YESICA            MATA                    CO     33002499438
9862815A461977   LILIANA           LOPEZ                   CA     90012781504
9862886478B175   MUTASIM           ARBAB                   UT     90012348647
9862997AA77537   STEVEN            CURIEL                  NV     43042689700
98629981A91399   YOLANDA           DELEON                  KS     29004969810
9862B483181652   BRANDY            WHITE                   MO     90003344831
9863196654B588   BRIANA            SMITH                   OK     90013989665
98631A57477537   RUTH              NOGUERA                 NV     43074430574
9863231375B548   CLAUDIA           LOPEZ                   NM     90007513137
9863232254B554   BALTAZAR          PANDO                   OK     90013063225
98632583972B22   REBECA            HERNANDEZ               CO     33063765839
9863334568B175   CODY              ANDERSON                UT     90013413456
9863351A591934   NELSON            MENJIVAR                NC     90012365105
98633522672B24   CARMEN            ALVAREZ                 CO     33062935226
98634716972B22   MARTHA            UROZA                   CO     90007897169
98634A16191399   JOHN              HAWKINS                 KS     90013990161
98635596297B59   NICKOLAS          SCHAFER                 CO     90013275962
9863573548B175   KEVIN AND APRIL   WADE                    UT     90006077354
9863621A272B56   JORGE             RUIZ                    CO     33051722102
986365A783363B   DWIGHT            TERRY                   NC     90011945078
986371A7A61977   MONICA            BARAJAS                 CA     90006741070
98637315A41296   S POLITO          DIANE                   PA     51054743150
98637763672B24   MICHAEL           HASSALL                 CO     90004377636
9863781148B175   CAROLINA          SANCHEZ                 UT     31039148114
98638147A61977   MONICA            OXENDINE                CA     46066411470
986398A5993732   ASHLEY            SAYLOR                  OH     64516778059
98639967372B62   HARRY             LEVIN                   CO     33011259673
98639A51672B3B   BRITTANY          TURNER                  CO     90014630516
9863B413191599   RALPH             SELLERS                 TX     90013814131
9863B876255951   VANESSA           CERVANTES               CA     90010248762
9863B8A6177537   LILY              ROSS                    NV     43089108061
9863B961797B59   ROBERTO           IBARRA                  CO     90012169617
9863B987657563   OSCAR             GALVAN                  NM     90010619876
98642553397B59   EVA               MUNGUIA                 CO     39047805533
98642965A4B588   MITZIE            HARPER                  OK     90006799650
98642A2615B548   MAYRA             SOUCHET                 NM     90006240261
9864346592B949   PATRICIA          CISNEROZ                CA     90000644659
986434A995B548   EMILIANO          MARRUFO                 NM     35077024099
9864383638B175   ROBERT            BLACK                   UT     90004648363
98643A29A5B531   CHRISTOPHER D     DAVIS                   NM     90012830290
986441A1597B59   BEATRIZ           VENTURA                 CO     90013221015
9864476625B383   MIKE              NGUYEN                  OR     90011977662
9864515A93164B   VANKHAM           VONGNAVANH              KS     90012881509
98645218697B59   CYNTHIA           COLE                    CO     90002752186
986459A4591599   JOSE              SAAVEDRA                TX     75077919045
98645A24472B42   NEFF              CANDELA                 CO     90001930244
9864619AA4B558   BRADLEY           ZUST                    OK     90007661900
9864644425B531   MAURA             MONGE                   NM     90013014442
986464AA972B24   AQUILEO           BARRAGAN                CO     33070374009
986467A6581634   BRANDY            AL HAIDARY              MO     29073857065
98646A98172B62   FRANK             VANBOCKERN              CO     90003810981
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1854 of 2350


98647189197B59   MIKE         GRAHAM                       CO     39047511891
9864719A572B3B   LEEANN       GATEWOOD                     CO     33049161905
98648179172B3B   ALEMAYEHU    ESHETU                       CO     90010701791
9864897155B531   DANIEL       VENZOR                       NM     35097549715
98649279397B59   ISRAEL       CORONADO                     CO     90014762793
98649534672B3B   MARIA        IRIVARREN                    CO     33067565346
9864955A881639   ANTHONY      ZARANTONELLO                 MO     90014905508
9864B4A9981634   TALEAH       STEVENSON                    KS     90011824099
9864B715977537   ENDEMANN     VISA                         NV     90013677159
9864B83745B531   BERNADINE    SANCHEZ                      NM     90009678374
9864BA22172B24   NOVELA       JENNINGS                     CO     33053520221
9864BA79A72B32   LYNN         RICH                         CO     90012390790
9865157875B531   MARIO        MEDRANO                      NM     35075495787
98651A66672B32   RANDY        DURAN                        CO     90012130666
9865227374B949   ALVARO       FLORES                       TX     90013482737
9865265135B537   ROSE         JAQUEZ                       NM     90007536513
98652A36381639   ANDREA       ROBINSON                     MO     90011070363
986535A6372B32   MARHA        DEPAUL                       CO     90004865063
98653A12393755   JOYCE        OKTELA                       OH     90007770123
986541A8972B62   RAQUEL       DIAZ                         CO     90014231089
98654535A4B554   ROBIN        HOGG                         OK     90013295350
9865521AA61977   CHOPHIE      BORREL                       CA     90012962100
9865531754B588   NICOLE       COFFEY                       OK     21571863175
9865555285B531   ARTURO       CRUZ                         NM     90014555528
98656239A5B383   MATTHEW      WILLIAMSON                   OR     90012672390
9865673A172B22   MARIA        RIVERA                       CO     33091657301
9865692344B588   BRIANNA      HARDCASTLE                   OK     90011219234
98657221572B62   DAMIAN       GUERRERO                     CO     90010552215
9865839215B383   JEAN         WEBSTER                      OR     44584703921
9865867373164B   LUCIA        HERNANDEZ                    KS     90012426737
9865926894B949   RUTH         YANCEY                       TX     90013222689
98659698A81637   SHIRLEY      FARLEY                       MO     29072146980
9865985375B545   SAMANTHA     SCHWARTZ                     NM     90012708537
98659866672B62   MARIA        MARTINEZ                     CO     90011058666
9865B13284B949   DEBRA        PAYTON                       TX     90011881328
9865B189357563   ERIKA        BARRAGAN-MARTINEZ            NM     90014781893
9865B22928B175   BRAXTON      SAINSBURY                    UT     90013352292
9865B31437B444   FAHAD        ARNOUS                       NC     11047383143
9865B4A4355967   MARIA        FISKIN                       CA     90008114043
98661355172B3B   VICTOR       LOPEZ                        CO     90013813551
986615A5843565   DAVID        KAHN                         UT     90007675058
9866171473164B   PATRICIA     ROBERTS                      KS     90014427147
98661827A7B36B   MARCELLA     BROWN                        VA     81039348270
9866191685B548   CARLOS       RODRIGUEZ                    NM     90004409168
98662759A61977   MARK         VENAVIDES                    CA     90007597590
98662945172B32   THERESA      GORDON                       CO     90003989451
98662971972B62   MEGAN        WOLF                         CO     90013939719
9866313913164B   RAECHELLE    MOORE                        KS     90011681391
9866425715B383   JENNIFER     LAY                          OR     90015162571
9866464344B554   FOXY         STARNES                      OK     21566436434
98664A26691951   NICOLE       MANN                         NC     17072000266
9866531A472B24   ELVIA        GARCIA SANCHEZ               CO     33002073104
9866535364B949   JOSE         OLIVALARA                    TX     76554523536
98665577472B62   JUAN         HERRERA                      CO     90015115774
9866584723B331   ROBERT       DAVILA                       CO     33082308472
98665A5424B554   DETRICK      LINTON                       OK     90014740542
98666314A55951   ESTEFANIA    JAUREGUI                     CA     49039923140
986663A854B588   WENDI        WEBB                         OK     90009093085
98666937297B59   ZACH         RIGGS                        CO     90014879372
986676A7772B62   OSCAR        ANDRADE                      CO     90011466077
9866776137B444   SAMUEL       SAMUEL                       NC     90005697613
98667A77177537   LISA         THOMAS                       NV     90013250771
98668262597B59   ANTHONY      KILGORE II                   CO     39096292625
9866848434B588   ASHLEY       LAWRENCE                     OK     90013114843
9866871784B949   JOSE         ARROYO                       TX     90013887178
98668A76172B3B   MARCENE      MILLER                       CO     33087040761
98669545672B24   LAY          YANKHAM                      CO     33081585456
986697A6781639   KYLE         CRONK                        MO     90011277067
98669891A55951   ARMANDO      SOLIS                        CA     90009448910
98669A4A65B531   ANGELINA     ESQUIVEL                     NM     35007490406
9866B14878B175   ANTONIA      GARCIA                       UT     90002131487
9866B214372435   STACIE       PARKER                       PA     51002062143
9866B243172B3B   AUGUSTO      PINO                         CO     90010432431
9866B29A957563   CRUZ         SOTO                         NM     35508512909
9866B387772B22   JOSEPH       MCGILL                       CO     90011533877
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1855 of 2350


9866BA47791882   RONDA        POTTER                       OK     21059520477
9867146A34B588   JESUS        TORRES                       OK     90011434603
98671548572B24   TIA          HENDERSON                    CO     90012665485
98671566A55951   DALIA        HARPER                       CA     90009645660
9867183495B383   FUAD         ABDULLE                      OR     90013768349
9867196244B554   LAKESHA      JACKSON                      OK     90013329624
9867198927B444   SHAMYRA      HARP                         NC     11062429892
9867224434B949   KARI         WILLIAMS                     TX     90013732443
98673165A3368B   CATHERINE    SUMMERS                      NC     90010141650
9867323AA91399   DANIEL       DIAZ                         KS     90010812300
986736A7A5B383   CALEB        ONERDICK                     OR     90005386070
98674766A81635   KIM          BROWN                        MO     90001657660
98675138172B3B   OSCAR        HERNANDEZ                    CO     33053771381
98675762472B24   BLANCA       BUSTAMANTES                  CO     33055017624
9867627313B399   JEHOAN       AHMAD                        CO     90008522731
98676541372B32   STEPHANIE    SPENCER                      CO     90012975413
98676583172B42   TREY         SCOTT                        CO     33045325831
986765A4372B22   JUANITA      LOVATO                       CO     90014765043
9867781885B548   SILVIA       RIVERA                       NM     90009638188
9867782A75B25B   MICHAEL      STORM                        KY     90012578207
98678565697B59   DAVID        CARBAJAL                     CO     39017745656
986785A4291399   ANNETTE      HALL                         KS     90014345042
98678618A72B3B   NEIL         COTTINGHAM                   CO     90011166180
9867864685B383   TARYN        FELGAIR                      OR     44578356468
9867976A557563   ALMA         RODARTE                      NM     90004257605
98679913A72B42   SHAWNTELL    CALVIN                       CO     90006649130
9867B744A72B62   JOSEPH       TRUJILLO JR                  CO     90014837440
9867B843697B59   LEIGHA       SINGLETON                    CO     90013088436
9867BA17572B3B   THOMAS       PETERS                       CO     33052930175
9868143834B949   JEAN         THOMAS                       TX     90012254383
986816A565B545   PHILLIP      LUCERO                       NM     90009596056
98682915A8B175   ORTON        CARL                         UT     31042789150
98683663972B32   PHILLIP      WICKS                        CO     33037806639
986838A365B25B   TONY         FREY                         KY     68010358036
9868414565B383   RICHARD      BAKER                        OR     90013451456
9868449844B554   DANELLE      ANDREWS                      OK     90014504984
98684784A5B383   CINDY        SIERRA                       OR     90013297840
9868492375B548   ERIC         SANCHEZ                      NM     90002659237
98685541772B62   THOMAS       GILE                         CO     33037265417
9868581A197B59   RICARDO      HERNANDEZ                    CO     39058818101
98685846172B42   MICHAEL      ATKINS                       CO     33064738461
98685A67172B3B   BELINDA      DEHOYOS                      CO     33041170671
9868629454B949   MARVIN       JOHNSON                      TX     90009952945
9868688974B554   TYLER        DAY                          OK     90010058897
9868717674B554   MAIA         DAVIS                        OK     90015131767
9868794475B25B   CHARLES      HOLLEY                       KY     90003259447
9868797A955951   IGNOSO       MENDEZ                       CA     90015019709
98688621672B62   VINCE        COLITTI                      CO     90014716216
986893AA697B59   TONYA        GREER                        CO     39076183006
98689762672B62   ANGIE        MARTINEZ                     CO     90010437626
98689A54772B24   ZAYRA        TREJO                        CO     90008340547
9868B1AA25B261   MARIO        MORALES                      KY     90001071002
9868B485A57563   AARON        GONZALEZ                     NM     90014784850
9868B645461977   RYAN         DEOCAMPO                     CA     90014926454
9868B899493755   CHRISTOPHR   BROWN                        OH     64543008994
9869116293B399   PASSION      PAXTON                       CO     90010601629
9869121195B548   ALEX         SALAZAR                      NM     90013942119
98691424A93732   ELI          BISHOP                       OH     64563274240
9869182A89125B   LASHIRA      ISRAEL                       GA     90001908208
9869186239153B   BRUCE        VANDERVORT                   TX     75016198623
986924A4821665   LATASHA      RENEE                        OH     90012834048
98692626872B62   LIZBETH      UCTEC                        CO     90012616268
98693272772B3B   CARLEY       SORENSEN                     CO     90013172727
9869363783365B   CYRLETT      BANKS                        NC     90004346378
9869374577B491   MIGUEL       CALDERON                     NC     90009437457
98693974272B56   MAGGIE       BRADFORD                     CO     33078359742
98694163172B3B   KIMBERLY     ROMERO                       CO     90007481631
9869482778B188   CAMERON      STOCKING                     UT     90010248277
98694A69855951   JORGE        GALICIA                      CA     90002070698
98694A6A391592   PEDRO        ESTRADA                      TX     75046170603
98694A88897B59   JOHN         JENKS                        CO     90011840888
9869531A45B548   ISRAEL       MEDINA                       NM     90010573104
98695917A81634   GEORGE       DILAURO                      MO     90014859170
98695A46A72B62   TYAUNA       COE                          CO     90013940460
98695AA9172B32   BRITTNEY     WINDHOLZ                     CO     90011380091
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1856 of 2350


98696881272B42   BRANDON      GRAY                         CO     33089738812
9869729674B554   EDITH        FLORES                       OK     90010922967
98697581472B22   ELIZABETH    DELEON                       CO     33016315814
98697688572B24   RAMON        AMBRIZZ                      CO     90009166885
9869793A772B56   MALVIN       BURRIS                       CO     90012999307
98697A83A81634   NAKEYA       BLAND                        MO     29003510830
98698327772B56   ROBERTO      MARTINEZ                     CO     33010463277
98698429197B59   HORTENCIA    PONCE DE LOS SANTOS          CO     39019964291
98698617172B57   MARKKA       INEZ-ADAMS                   CO     33087736171
98698891772B3B   MARLENE      RODRIGUES                    CO     90000238917
98699982472B24   BENJANMIN    WILDEMAN                     CO     33011089824
98699AA2655951   DELIA        ROMERO                       CA     90008440026
9869B198521621   SHIRLEY      MCGAW                        OH     90014271985
9869B36746193B   SARAI        GONZALEZ                     CA     90013583674
9869B38298B175   BRENT        TAYLOR                       UT     31090553829
9869B87784B554   JOSE         AGUILAR                      OK     90014438778
986B117685B548   RYAN         DARK                         NM     90013941768
986B1214281639   MARTHA       ZAVALA                       MO     90014352142
986B2461893755   SETH         GALLION                      OH     90011924618
986B2583257563   MEDRANO      MELISA                       NM     90006865832
986B272A161977   MARIA        DIAZ                         CA     46013637201
986B288858B175   ELVIRA       SANTOS                       UT     90013018885
986B375A94B561   BRITTANY     HENSLEY                      OK     90011117509
986B3762761927   BERNARDO     VILLANUEVA                   CA     90008737627
986B4371172B3B   TRACY        HUSAKDAVIS                   CO     33041783711
986B454954B949   ANDREW       ARCENEAUX                    TX     90010345495
986B4878591951   IBRAHIM      BELLEBNA                     NC     90001008785
986B4978972B22   RICHARD      CHOVAN                       CO     90012329789
986B4A84A81639   SHAWN        HOGAN                        MO     90014180840
986B5633281639   BELIA        ESTRADA                      MO     90014736332
986B6276441296   PHILLIP      HAMPTON                      PA     90011692764
986B681894B554   SHAQUILLE    TRAYLOR                      OK     90013218189
986B6A9117B24B   HUNTER       HAYWARD                      AZ     90011950911
986B721534B554   LYSANDRA     WASHINGTON                   OK     90004162153
986B7A25193755   RICKY        WALLACE                      OH     64596600251
986B7A6A991599   ALAN         CORREA                       TX     90005590609
986B81A3681635   ISAAC        HARPER                       MO     90012281036
986B81A8A61977   NAHUN        NUNEZ                        CA     90013071080
986B8674172B42   ADRIAN       CARRASCO                     CO     33085056741
986B871984B522   MARK         DUPUY                        OK     90010387198
986B8745957563   TIMOTHY      BEERS                        NM     90014747459
986B946338B175   RICHARD      NESTMAN                      UT     90012984633
986B9975391599   CRYSTAL      PENA                         TX     90015319753
986B997A472B32   MONIE        LAW                          CO     90010739704
986B9A44991399   GAIL         STEWART                      KS     90003600449
986BB442857563   MAMARTHA     LUCERO                       NM     90006864428
986BB54AA5B531   LISA         GARCIA                       NM     90001365400
986BB612281639   CELASTINA    PEREZ                        KS     90014736122
986BB9A3172B24   WIRELESS     CALLER                       CO     33075889031
986BBA6375B383   CHARLOTTE    EMERY                        OR     90013510637
9871167A581634   DANA         MCKENZIE                     MO     90013396705
987117A8181639   MICHAEL      WEINTRAULO                   MO     90014747081
98712A17157563   FELIPE       CALDERON                     NM     90014820171
98713658672B22   HEATHER      SHEAD                        CO     90012286586
98713A48893755   CHAUNCEY     DRAKE                        OH     90013350488
98714127472B32   JESSICA      FORCE                        CO     33010131274
98714624672B62   JAMES        ROSE                         CO     33005666246
9871468A655951   JOCELIN      URIAS                        CA     90012076806
9871475755B25B   DESTINY      PURVIS                       KY     90014597575
98714965497B59   GABRIELA     FLORES                       CO     39042699654
9871498A491599   SILVIA       CASTANON                     TX     90014119804
9871552584B554   ROCIO        HERNANDEZ                    OK     90014445258
98716215272B56   ERNEST       FERGUSON                     CO     33087922152
98716597A81637   DIANA        VARGAS                       MO     29079235970
9871712224B588   TIM          BOYCE                        OK     21572201222
987177A6781639   KYLE         CRONK                        MO     90011277067
9871816914B588   GLORIANA     MARTINEZ                     OK     90011221691
98718241372B62   BARBARA      HERNANDEZ                    CO     90010992413
98718382172B42   FANNY        FLORES                       CO     90002783821
98718528A61977   FLOR         LUNA                         CA     90015035280
987189A425B548   BRANDON      CRUZ                         NM     90007179042
9871942858B175   SUSAN        HYNEK                        UT     90014214285
9871955675B548   BRENDA       HELMICK                      NM     35087075567
98719566397B59   WILLIAM      BRANDT                       CO     39041035663
9871B21A49125B   ASIA         JONES                        GA     90011822104
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1857 of 2350


9871B417193755   ALFREDO          ANDRES                   OH     90005314171
9871B4A118B154   BRADLEY          BRADLEY                  UT     90004184011
9871B67758B175   RON              HAR                      UT     90014846775
9871B778772B24   ROSA             MARQUEZ                  CO     90013077787
9871BA9A361978   MARIANNY         GALVAN                   CA     90008650903
9872144688434B   STEPHANIE        ABRAMS                   SC     90014164468
98721652A85869   GURRERO          J MANCIA                 CA     90005206520
9872194A161977   CONSEPCION       ROSAS                    CA     46006499401
98722139A8B175   CODY             JARVIS                   UT     90014631390
987222A3861977   ELSA             SITTHIVONG               CA     90012782038
98722326A81634   SHERRELL         SMITH                    MO     90014613260
98722568172B22   PAUL             RICHARD PADILLA          CO     90008445681
9872298A697B59   IVY              ALBA                     CO     90005589806
98723A66961977   ALLAN            CAMPOS                   CA     90013450669
9872412234B554   SHERI            SHOCK                    OK     90009621223
987242A754B949   FLORIDA          JOHNSON                  TX     90013262075
98724368672B42   TAMMIE           DRAPER                   CO     90010663686
9872449354B588   JORDAN           WILLIAMS                 OK     90014464935
9872473688B175   RAY              ARBIZU                   UT     90013377368
98725545572B3B   AMANDA           CASTILLO                 CO     90013555455
98725647572B62   CHLOE            SEGURA                   CO     90013066475
9872564A355951   ELISA            SENESAMRANE              CA     90003276403
9872578414B949   DALE             HILL                     TX     76525847841
9872595965B548   LEO              SENA                     NM     35082129596
987259A125B531   LINNA            JOHN                     NM     90005769012
98726579A72B22   CHRISTIAN        PERKINS                  CO     90014765790
98727579A72B22   CHRISTIAN        PERKINS                  CO     90014765790
9872779975B531   THERESA          ANGLADA                  NM     90009007997
9872824A15B548   MICHAEL          BORREGO                  NM     90013942401
98728765872B24   MARCUS           GARCIA                   CO     33000697658
98728862997B59   LISA             ONATIVIA                 CO     90013098629
9872895134B588   MEGAN            WILLIAMS                 OK     90015129513
9872B132572B32   CRYSTAL          FIELD                    CO     33040271325
9872B179A5B383   DAMIEN           ADAMS                    OR     90015111790
9872B1A3193755   RUSSELL          ABERNATHY                OH     90006871031
9872B359941299   LISA             LEMMLER                  PA     90000223599
9872B566397B59   WILLIAM          BRANDT                   CO     39041035663
98731464272B22   BETTY            GARCIA                   CO     33056174642
9873194634B554   TRASHEL          SAMAD                    OK     90015119463
98731AA6277537   NATALIE          AQUINO                   NV     90013680062
9873241583B391   MICHELLE         DAADE                    CO     33021724158
98732577972B62   FILOMENA         VENEGAS                  CO     90015115779
98732A14381639   JEAN             TOLAND                   MO     90011740143
98733AA7772B62   ORIN             SAUL                     CO     90009460077
9873426915B548   JACKLYN          PRATER                   NM     90013942691
987353A224B554   STEPHANIE M      WAGNER                   OK     90012763022
98735663597B59   SARAH            VASQUEZ                  CO     90004956635
98735694872B62   CARMEN           MARTINEZ                 CO     33049236948
98735833372B32   JAMANI           PATTERSON                CO     90013758333
98736271272B32   SERGIO           GUERRERO                 CO     90015132712
987365A1572B3B   KIM              FRIESS                   CO     90003475015
98736734197B59   DANIEL           KECHTER                  CO     39074117341
98736AA2472B62   JASON            DEDIS                    CO     90001480024
987374A937B444   MICHELE          WASHINGTON               NC     90009124093
98737599A41296   LEOVARDO         POLANCO                  PA     51023265990
987375A2957563   HUMBERTO         LOPEZ                    NM     90014805029
9873779117B363   WILLIAM          CAMPOS                   VA     90004697911
9873823984B588   LAURA            CLARK- MERRITT           OK     90010972398
9873992A672B3B   PEDRO CATARINO   CRUZ                     CO     90008949206
98739984A91399   FELICIA          GRAHAM                   KS     90013169840
9873B13658B175   DANIEL           ROLAND                   UT     90004231365
9873B5A325B531   GARY             BOGDAN                   NM     90004145032
9873B697772B3B   DIANA            QUINTERO                 CO     90003826977
9873B896141233   LARRY            HILL                     PA     51080968961
9873BA9775B548   MARIAH           VALDEZ                   NM     90010470977
9874162324B554   RONDA            MENDOZA                  OK     90006486232
98741A1174B588   BRANDI           PARO                     OK     90009420117
98741A9844B949   MARIE            WILLIAMS                 TX     76557990984
9874264724B554   DAPHNE           HASKINS                  OK     90009336472
9874297545B548   JAZMIN           DOMINGUEZ                NM     35062829754
9874297644B588   ASHLEY           SHEFFEY                  OK     90013349764
98742986572B22   ANGELINA         RODRIGUEZ                CO     90014139865
98742A27891399   JUAN             RODRIGUEZ MORENO         KS     90011810278
9874331133B322   MICHELE          JIMENEZ                  CO     90011203113
98745188A5B383   ARTURO           MARIN                    OR     90014831880
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1858 of 2350


98745347A61977   REX             WHITEHEAD                 CA     90014683470
9874563254B554   REBECCA         WHIBBEY                   OK     90011706325
9874586198B175   ISAAC           AHMED                     UT     90014108619
9874597195B531   MAGO            ALARCON                   NM     35070649719
98746295A3367B   BRITTANY        MCCORKLE                  NC     90012722950
9874658794B588   ADAM            CRAWFORD                  OK     90008375879
9874678345B548   MICHAEL         PAISANO                   NM     90003867834
987474A4391826   JOE             ROBINSON                  OK     90013414043
98747936272B3B   ESMERALDA       ZELAYA                    CO     90010719362
98747A9364B588   BETINA          VARGAS                    OK     90004710936
9874814467B444   LATOYA          TEZINO                    NC     90001161446
9874829A161977   ORLANDO         PERKINS                   CA     90012872901
98749118572B24   TERESA          MENDOZA                   CO     33045541185
98749628772B32   BLANCA          CASILLAS                  CO     33085256287
9874972198B175   ROLENI          TAFI                      UT     31098497219
9874B245881639   SHELLY          JOHNSON                   MO     90012182458
9874B297354172   ADELA           GUILLEN                   OR     47083312973
9874B362372B62   MARIA LUIZA     ZARAGOZA                  CO     90004953623
9874B57A85B383   DANIEL          TENDERO FLORES            OR     90009375708
9874B875272B3B   IDALIA          DIAZ                      CO     90012248752
9874B894341288   JILL            SAVKA                     PA     90001068943
9874B918277537   COURTNEY        LAMBDIN                   NV     90012719182
98751184A8B175   SHARON          DEAN                      UT     31047011840
9875186863164B   DANIEL          WELLS                     KS     90007658686
9875194994B554   ADAM            LARKIN                    OK     90011089499
98751A5374B554   MARCO ANTONIO   MONTES DE OSA             OK     90012910537
9875273757B444   JOSLEY          TELLERIA                  NC     90014227375
9875364A655951   REBECCA         HERNANDEZ                 CA     49008596406
98753725A81637   LA SHONDA       KNOX                      MO     29084017250
98753842A81639   RONIE           PEEL                      MO     90014748420
9875552874B554   CYNDAL          WRIGHT                    OK     90014665287
9875679A94B521   HERIBERTO       BUSTOS                    OK     90012427909
9875692745B531   MARIA           BERUMEN                   NM     90013319274
9875771134B949   BLANCA          RAMIREZ                   TX     90011207113
9875777685B531   MARIA           HERNANDEZ                 NM     90010807768
98757989272B62   LESLIE          SALAS                     CO     90000579892
98757A8148B175   BRANDON         ALLEN                     UT     90014100814
98758126372B22   HECTOR          SOLTERO                   CO     90000261263
9875828A43164B   NATASHIA        GAFFORD                   KS     90011372804
9875858A481634   BRIANNA         WEAVER                    MO     90014605804
9875885A181639   SMILEY          JAY                       MO     90014748501
98759499272B24   ALYSHA          MARTINEZ                  CO     33056664992
987595A9691951   IVONE           KOREANO                   NC     90010145096
9875B14338B181   VALENCIA        GABRIELA                  UT     90012801433
9875B592271936   ALBERT          GASPERETTI                CO     38039575922
9875B854972468   STEVAN          LONG-ANGELO               PA     90011248549
9875BA7A691399   JOHN            SHOEMAKER                 KS     29016720706
98761583572B3B   GLORIA          BORJAS                    CO     33067805835
9876168564B949   LEKESHA         CARTER                    TX     90011876856
9876243A385872   LUIS            GUTIERREZ                 CA     90001684303
9876278642B23B   SAMUEL          ALLEN                     DC     90013107864
98762954772B42   LANCE           EVENS                     CO     90009209547
98763553A5B383   MONICA R        BROWN                     OR     90012815530
987638A1961977   DENNIS          MARTINEZ                  CA     90006218019
987638A7957563   ROSE M          ACOSTA                    NM     90011558079
9876419435B334   JERRY           D HAWKINS                 OR     90006751943
98766768772B62   CHRISTO         CHERRY                    CO     90013007687
987679A9555951   SAMUEL          NAVEZ                     CA     90015319095
9876821358B175   SAMMIE          STAM                      UT     31063612135
98768248672B3B   JOSE            GARCIA                    CO     33009082486
9876841445B531   KELLY           CARABAJAL                 NM     90010914144
98768562A97959   JESSICA         RAMIREZ                   TX     90010065620
9876873195B548   GARY            PRESTON                   NM     90013057319
98768932497B59   BLOSS           ALANIZ                    CO     90010469324
98768A87561977   ANGEL           CORTEZ MARTINEZ           CA     46066800875
9876B456481634   MARTINA         HANEY                     MO     90007084564
9876B67884B554   MISTY           WATTERSON                 OK     90013596788
9876B761757563   ROBERT          LAMBE                     NM     90014807617
9876B93449125B   URSULA          MCCLOUD                   GA     90009939344
9876B93A372B22   MARICELA        RIVERA                    CO     90010919303
9877239A691599   LUZ MARIA       MARQUEZ                   TX     90011153906
9877243635B548   DAVID           MARTINEZ                  NM     90007104363
98772856372B62   SANDRA          ESTRADA                   CO     33068648563
98772A35455951   JESSIE          BARR                      CA     90013380354
98772A4835B383   JAMES           FOWLKES                   OR     90009320483
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1859 of 2350


98773A5A172B24   AMELIA       HELLYER                      CO     33058550501
9877428A461977   WHITNEY      HOWARD                       CA     90012792804
98774537A77537   TERESA       TEAGUE                       NV     90001735370
9877513344126B   THOMAS       RICHARDSON JR                PA     90014541334
98775219A5B367   RHONDA M     EGGLESTON                    OR     90000282190
9877528A372B56   MIGUEL       OROZCO                       CO     90004512803
9877531315B548   ANTONIO      GONZALES                     NM     90013943131
98775655397B59   LINDSEY      STAGMEYER                    CO     39079186553
9877654365B383   SHERRY       DUREN                        OR     90009205436
98776916A41296   HEIDI        ZAGORSKI                     PA     51023759160
9877698993164B   KOSHA        TUCKER                       KS     22013769899
987769A2872B22   JESSICA      MEDINA                       CO     90014589028
987769A7333638   KYNDRA       VANCE                        NC     90005249073
9877743A355951   MARSHA       DOLAND                       CA     90012184303
9877835A497B59   JAROD        MONDRAGON                    CO     90014233504
98778565A72B22   CHRISTINA    GUILLEN                      CO     33037715650
9877888535B531   JAVIER       LOPEZ                        NM     35077658853
98779439772B3B   ANNA         APODACA                      CO     90015004397
98779485272B22   LUZ          MCCLENDON                    CO     90003254852
98779956A81639   SHERRELL     CRAIG                        MO     90005899560
9878131583164B   ROBERT       LOPEZ                        KS     22085643158
9878133824B52B   MELISSA      JACKSON                      OK     90010013382
98781628772B56   LUCAS        GRAHAM                       CO     90001706287
987817A835B383   ELEONORA     SLOVODA                      OR     44565587083
987827A7361977   STEVE        NIXON                        CA     90011887073
98783A5AA72B3B   LORI         GRIFFIN                      CO     90013860500
9878463425B548   PORFIRIO     CONTRERAS                    NM     90012446342
98784664272B24   BRUCE        ALLEE                        CO     90011686642
9878472935B383   JONI         HAMBRICK                     OR     90013097293
9878532A45B531   ANA          CONTRERAS                    NM     90002163204
98785699A7B444   RORY         MAXWELL                      NC     11027356990
98785839A91599   LUZ          DOMINGUEZ                    TX     75037898390
98785882972B22   RAMIRO       GUTIERREZ                    CO     33077588829
9878615547B444   CANDIDO      SOLANO                       NC     90013421554
987867A215B383   ALLEN        GARL                         OR     90005047021
987878A6593755   JENNIFER     MORTER                       OH     64522118065
9878811745B383   MARIYAH      JONES                        OR     90012741174
98789A25A8B356   ALFONSO      PEREZ                        SC     90015360250
98789A94191399   JEANETTE     HEUER                        KS     90014730941
9878B129A57563   MARK         JONES                        NM     90009281290
9878B243781639   NICOLE       STUART                       MO     90000692437
9878B275172B3B   BENJAMIN     SMITH                        CO     90015012751
9878B4A454B588   FLORENCE     MCCORKEL                     OK     90004654045
9878B554372B33   NORBOTO      RAMIREZ                      CO     90001785543
9878B64915B531   KELVIN       POUNCIL                      NM     35057936491
9878BA5414B554   KELLYANN     ZAIKIS                       OK     21517540541
98791252172B98   MIRIAM       GAUTIER                      CO     33079242521
987913A8972B24   TIFFANY      BONNER                       CO     33055443089
98791A74572B62   ALII         TATIANA                      CO     90013990745
98792122172B42   MELISSA      RAMIREZ                      CO     90009231221
9879239A45B383   JOLONDA      MILLS                        OR     90011053904
98792552197B59   INGRID       FLORIAN                      CO     90015115521
9879255573164B   DEVAUGHN     BROWN                        KS     22057275557
98793A17781634   TAMARA       LARKINS                      KS     29074240177
98793A45861956   HENRIETTA    MUNOZ                        CA     90009100458
9879484732B949   JAHAZIEL     GARCIA                       CA     45069838473
98795A94572B62   DANIEL       PEOPLES                      CO     90015120945
9879679755B548   MARK         KESSLER                      NM     35087037975
98796A32272B22   MIRIAM       PEREZ                        CO     33060120322
98796A51261927   CHRIS        DAVISON                      CA     90005060512
98797113A8B197   JEFFREY      JANSEN                       UT     90000841130
987973A979153B   ELVIA        MENDEZ                       TX     75083273097
98797421A91599   FERNANDO     RODRIGUEZ                    TX     90013624210
9879795645B548   CHING        LU                           NM     90013019564
9879813495B531   MILAGROS     RUYVALIND                    NM     90013681349
987989A634B588   NORMA        ALICIA                       OK     21526119063
98799345A4B949   TY           WALKER                       TX     76558193450
987995A897B491   LETICIA      LOPEZ DE LA CRUZ             NC     90000605089
9879B295381634   PAMELA       O HARE                       MO     90014172953
9879B881677537   EVELIN       RIVERA                       NV     90012778816
987B1296197B59   LISA         LIGHTFOOT                    CO     90011732961
987B163934435B   ADILSON      CRUZ                         MD     90015346393
987B188454B588   EARNESTO     CAMACHO                      OK     90014768845
987B2397991399   TASHA        NASH                         KS     90014773979
987B2628657563   ANDRES       PETALCU                      NM     90014786286
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1860 of 2350


987B283AA91988   TYEESE          CHANDLER                  NC     90007538300
987B2A23A97B59   MARY            BREIDENBACH               CO     39080130230
987B4536972B32   KIRTLAND        MAX                       CO     33000305369
987B473968B175   HORACIO         GARCIA                    UT     90012067396
987B4914A5B548   JAIME           GOMEZ                     NM     90002889140
987B4A81957563   MARTINA         GALLEGOS                  NM     90004190819
987B5187661977   JUAN            CARDENAS                  CA     90011521876
987B5513972B22   ROBERTO         LOPEZ-FLORES              CO     90014765139
987B561554B523   CHRISTINE       WEBB                      OK     90006296155
987B6246A41296   BOBBY           JENKINS                   PA     90012832460
987B6885A4B588   AMBER           JONES                     OK     21585668850
987B68A1372B62   STEVEN          BAY                       CO     33077608013
987B694545B531   MICHELLE        ODELL                     NM     35092689454
987B6A18272B24   DARREN          TEMPLETON                 CO     90015000182
987B6A31972B32   CESAR           MARTINEZ                  CO     90015120319
987B6A77181637   SHANELLE        BROOKSHOP                 MO     90013640771
987B735547192B   EUGENA          DECENA-TOLEDO             CO     90009013554
987B73AA457563   TONI            SILVA                     NM     90014793004
987B772A95B548   KATHY           CHAVEZ                    NM     90005417209
987B7858555951   SONYA           GONZALES                  CA     49082788585
987B7A17157563   FELIPE          CALDERON                  NM     90014820171
987B8315893755   GERRARD         CARSON                    OH     64595343158
987B8882191599   ADRIAN          FLORES                    TX     90012778821
987B8954657563   ANGEL           FLORES                    NM     90009519546
987B9192381639   TAMATA          FITI                      MO     90011861923
987B9438841296   PAUL            TIMLIN                    PA     90007294388
987B9577972B62   FILOMENA        VENEGAS                   CO     90015115779
987B9933761956   HAIDAR          SALAH                     CA     90012169337
987BB23165B548   ANTONIO         GONZALES                  NM     90013942316
987BB246972B32   NELSI           GONZALEZ                  CO     33011972469
987BB3AA64B554   ALESHA J        CARTER                    OK     90010923006
987BB864481639   ALEX            BARAJAS                   KS     90013268644
98811279772B42   CLAUDIA         SOTO                      CO     90005892797
988119A2897B59   SIMA            PIERCE                    CO     39030519028
9881223935B585   RUBY            RODRIGUEZ                 NM     90011622393
9881264A37B444   EFINE           SHISSO                    NC     90003296403
9881322664B588   COLLETTE        COVERT                    OK     90013122266
9881324225B383   JONATHAN        HALL                      OR     90010212422
9881386434B554   MANUEL          CASTRUITA                 OK     90010058643
98813A34372B3B   CESAR           FREYRE                    CO     90013840343
988146A674B588   BRYANT          ASHWILL                   OK     90012306067
98814A91372B32   JOSE            GUTIERREZ                 CO     33034210913
9881548495B383   VIVIANA         ORTIZ                     OR     90008954849
9881561757B43B   SANDRA          ORTEGA                    NC     90001336175
988158A7272B3B   PAULINO         CESTA                     CO     33067338072
98816256A72B42   RUBEN           MARTINEZ                  CO     33002922560
98816549772B62   MANUELA         GALLEGOS                  CO     33068765497
98816A79857563   SEGURA          ANGELA                    NM     90009500798
98817164572B56   JAVIER          CUEVAS                    CO     33080841645
988174A5777537   FIDEL           MADRIGAL                  NV     43012184057
9881754868B18B   TERRENCE        BEEVER                    UT     31068085486
9881773665B531   CHAVIRA         HECTOR                    NM     35019797366
98818146972B3B   JUSTINE         ARELLANO                  CO     90013751469
988183A544B949   CHAD            ALLISON                   TX     90015363054
988183A8257563   JULISSA         MUNOZ                     NM     90010093082
98818594772B62   CYNTHIA         GONZALEZ                  CO     90008045947
9881948674B588   REGINALD        RAYMOND                   OK     90005504867
98819726472B24   JOSE            RODRIGUEZ                 CO     90015007264
9881983445B531   ISRAEL          WEBB                      NM     90013138344
98819A45872B22   DANIEL          ELLIS                     CO     33065240458
9881B218941296   DAKOTA          ERB                       PA     90015022189
9881B276A4B588   CHRIS           PARKS                     OK     21594512760
9881B483533638   MATTHEW         SPENCER                   NC     90006914835
9881B565481639   LA VONDA        STEVENS                   MO     90007965654
9881B996277537   BONIFACIO       TORRES-VILLALOBOS         NV     43089859962
988211A824B588   ALICIA          SANCHEZ                   OK     21553801082
98821531272B62   MARIA CLAUDIO   NUNEZ                     CO     90003185312
9882226787B163   PAYGO           IVR ACTIVATION            ND     90010302678
9882249964B554   MARAE           WILLIAMS                  OK     90007194996
9882254A74B588   CHANDLER        THOMAS                    OK     90010225407
98823273A91951   JOSE            RAMO                      NC     17073562730
988238A5A41296   KELLY           KIRCHNER                  PA     90009928050
9882421774B554   LEMORRIS        WALTON                    OK     90013362177
98824562872B22   LOLO            TISSEGLO                  CO     90014765628
98824668672B3B   MICHELLE        VENZOR                    CO     90010196686
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1861 of 2350


98824673872B32   FRANCISCO    MORENO                       CO     90007706738
98824792772B42   NAI          SEIN                         CO     33061517927
98824842297B59   AMELIA       ROCHA                        CO     90014708422
98824A25993755   DERRICK      PURTER                       OH     90013540259
98825239997B59   JESSICA      SALAZAR                      CO     90004432399
98825457772B22   ESTEBAN      GUTIERREZ                    CO     90001774577
98825A61681639   LADONNA      SANDERS                      MO     90005890616
9882611754B588   HAIDEN       POP                          OK     90014001175
9882664653164B   CHARLOTTE    MCCABE                       KS     22045406465
98826761A4B554   BRYANNA      GAINES                       OK     90014307610
988269A3561927   JESSIE       TORRES                       CA     90006929035
988271A975B29B   KRISHTEN     KAISER                       KY     90007161097
98827384672B22   THERESA      VENTERS                      CO     33048413846
9882749665714B   PABLO        ROMERO                       VA     90013244966
9882756744B267   DAWN         RUBEK                        NE     90006795674
98827A86572B24   ANNA         SERRANO                      CO     90003360865
98828452872B62   WILMAR       VENTURA                      CO     90013234528
9882862329153B   PAUL         CARRILLO                     TX     90011616232
988291A2461977   ERICK        OTANEZ                       CA     90015191024
988291A8741296   JENNIFER     HUNTER                       PA     51032751087
98829316A5B548   STEVE        CANDELARIA                   NM     90013993160
988293A5384361   LAVONNE      LAWRENCE                     SC     90014453053
988294A3577537   ELIZABETH    PECK                         NV     90007024035
98829592972B32   SYLVESTER    GRANT                        CO     90010265929
9882982723164B   JOSHUA       JOHNSON                      KS     90015308272
98829A22972B22   ALBERTO      PALOMO CABRERA               CO     90008760229
98829A5A34B554   ERSILIA      DE LEON                      OK     90010270503
9882B44375137B   HARDY        REDEEMED                     OH     90012944437
9882B55845B548   NANCY        DRANE                        NM     35097695584
9882B562872B22   LOLO         TISSEGLO                     CO     90014765628
9882B58398B175   SUZANA       SAMANO                       UT     90013255839
9882B835693732   CARLETHA M   POINTER                      OH     64516898356
9882BA96A72B56   ROBERTO      HERRERA MADRID               CO     33003700960
9882BAA8785689   MICHAEL      SPENCER                      NJ     90004590087
9883129355B54B   GLORIA       GARCIA                       NM     90014732935
98831838A72B32   GERARDO      ROJAS                        CO     33000758380
98831A92A55951   DESIREE      MARTINEZ                     CA     90013300920
9883222455B531   BENINO       LOPEZ                        NM     90013292245
98832257472B42   CLAUDIO      RODRIGUEZ                    CO     33080082574
9883227345B25B   RITA         BRINEGAR                     KY     68084502734
98832553872B22   DANIEL       SMITH                        CO     90014765538
98833648654B42   VANESSA      HAUCK                        VA     90007266486
9883367AA3164B   JALAYNE      HARBERT                      KS     90015086700
9883387368B175   TODD         LAWRENCE                     UT     90014108736
9883392A34B588   LAWANEA      STEVENS                      OK     90014769203
9883518827B444   MCKINLEY     BARNES                       NC     90002601882
9883562A55B548   VANGIE       CHAVEZ                       NM     90013216205
9883581A35B383   CHRISTOPHE   COOK                         OR     44523258103
98835883A72B62   CARLOS       AYON                         CO     33026148830
9883591817B491   GODDESS      LOVECHILD                    NC     11010499181
9883592174B588   ADRIANA      CAZARES                      OK     90014999217
9883614313164B   CHRIS        HURSEY                       KS     22096191431
9883676815137B   ALONZO       CAMBEL                       OH     90010647681
9883687894B588   MAJESTA      BROOKINS                     OK     90014078789
9883691A331476   MYA          STRINGFELLOW                 MO     90004389103
98837441972B56   ESTHER       GATES                        CO     33096494419
9883752795B548   SHERI        COLE                         NM     90010205279
9883822A655951   DENI         JIRON                        CA     90015312206
9883843A95B548   CAROLINA     GARCIA                       NM     35025854309
98838454972B22   TAYATANIA    BROWN                        CO     90014764549
9883898A893755   TAYLOR       CRASE                        OH     90014599808
9883945664B588   NIKITA       MOSLEY                       OK     90009724566
98839536A72B22   SUSAN        MCKEON                       CO     33038055360
9883958825B526   KENNY        SANDOVAL                     NM     90007595882
9883B38495B383   JESSE        MCCORMICK                    OR     90012823849
9883B53424B554   LMO          THAGREAT                     OK     90010945342
9883B673272B24   BRENDON      WRIGHT                       CO     90011686732
9883B71A85B548   DAVID        LOYA                         NM     90010687108
9883B748672B62   MYRNA        GALARZA                      CO     90006297486
98841448272B32   SHAH         HUGH                         CO     90013014482
9884157A881634   MINYUN       DANIELS                      MO     90007555708
9884182363164B   CAROL        EARLE                        KS     90015238236
98841AA614B554   REGINA       BAYS                         OK     90010000061
9884283A997B59   NIKOLAI      DRAKE                        CO     90013598309
98842979A81634   JAMES        MCDONALD                     MO     90010079790
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1862 of 2350


98843299172B24   MELISSA        ROMERO                     CO     33097362991
9884346784B543   KEVIN          SIMMS                      OK     90012574678
9884457555B548   DUNCAN         MURPHY                     NM     90009465755
98844591A5B25B   RON            HOLCOMB                    KY     90006755910
98844684A81635   LATRICE        PURNELL                    MO     90010696840
988446A464B588   JASMYN         DAVIS                      OK     90013256046
9884515625B531   GREGROY        HALLSTORM                  NM     90012511562
9884534112B836   CHAD           RENSINK                    ID     90009993411
9884536835B383   WILLIAM        MCAIN                      OR     90012553683
988456A8655951   ROSE           ROSE                       CA     49009486086
9884599768B175   LGWA           PATRICK                    UT     90005019976
98846318A57563   ERIKA          ESTRADA                    NM     90002683180
98846692172B56   HAYDEE         RODRIGUEZ                  CO     33081966921
98846848172B42   TIM            BURDEN                     CO     33003068481
98846A58A81634   KALENA         THOMPSON                   MO     90015030580
988471A7572B3B   HUGO           FLORES                     CO     90007161075
9884765A597B59   JOSE           LARIO                      CO     90008946505
9884794194B588   LATRICIA       EZELL                      OK     90014179419
9884844A372B3B   LILIAN         SINAITELLO                 CO     90011044403
98848A28191599   JUVENAL        RAMIREZ                    TX     75009960281
9884992844B554   SAMANTHA       SMITH                      OK     90013419284
9884B121361977   VICKY          RICE                       CA     90014791213
9884B12A472B3B   PABLO          MARTINEZ                   CO     33060871204
9884B1A7A81634   MARTHA         VELASCO                    KS     29098871070
9884B264157563   ADRIANA        GARCIA                     NM     90011292641
9885113A772B3B   GRACE          OROZCO                     CO     90012851307
98851232672B24   GABRIELA       RODRIGUEZ                  CO     33021192326
988515A555B548   LEANN          SANCHEZ                    NM     90005305055
98851759797B59   RUSSELL        ROWLAND                    CO     90013337597
9885178A877537   JESSE          STAFFORD                   NV     90010927808
98851938972B3B   MARY           REINSMITH                  CO     90012979389
98851A66781635   JAMIE          JIMENEZ                    MO     90008590667
9885314482B277   MARQUISHA      COATES                     DC     90011961448
98853348172B32   BENITO         MARTA                      CO     33009593481
98853631A81639   CLAUDIA        THOMAS                     MO     90014766310
988537A264B949   DON            ROSS                       TX     90013927026
988541A624B949   MARVIN         SAVANT                     TX     90000931062
98854292197B59   EVERARDO       CERVANTES                  CO     90013742921
9885443734B998   PATRICIA       FAIRMAN                    TX     90003954373
9885497438B187   SHERMAN        NIELSEN                    UT     31091089743
98855428972B56   AMBROISE       LIKELE                     CO     90006474289
9885552264B554   GABRIELLE      HILTERBRAN                 OK     90008085226
98856725497B59   JAMES          OWINY                      CO     90010227254
98856884A72B42   JACQUELINE     NGAYIZIGA                  CO     33038078840
9885726A291399   MARIA          MORALES                    KS     90007262602
98857389972B42   MARLEM         CHAVARRIA                  CO     90009083899
98857457A97B59   OSCAR          REYEZ                      CO     90012794570
9885759A357122   GAYE           STAFFORD                   VA     90014175903
988585A927B444   TALISHA        TOBIN                      NC     90002405092
98859825372B24   ELIZABETH      AVILA                      CO     90010278253
98859A13372B62   JASON          HAMILTON                   CO     90012840133
9885B121297B59   RAUL           MONCIVAIS                  CO     90011261212
9885B3A8581634   CHRISTINA      PALAAMO                    MO     29091983085
9885B586A61977   LEA            BENITEZ                    CA     90012935860
9885B679377537   CARLEY         MERZ                       NV     43008096793
9885B714691599   LUIS ANTONIO   NEVEREZ                    TX     90010247146
9885B72455B548   TRINIDAD       GALLEGOS                   NM     90011567245
9885B91A455951   AMELIA         ANDRADE                    CA     49039139104
9886127445B25B   SHENISE        HENDERSON                  KY     68026522744
9886215A94B949   STACIE         MOORE                      TX     90013661509
9886217415B531   PEGGY          FAHRENHORST                NM     35094071741
9886231A577537   GINA           CANDELARIA                 NV     90000943105
988624A5393732   BRITTNEY       CHAPEL                     OH     64587494053
9886291585B548   LESTTER        MAC-BROWN                  NM     35049659158
98862AA7891599   JUAN           SORIANO                    TX     75048360078
98863529372B22   WILBERT        SANDOVAL                   CO     33036465293
9886471528B175   BECKY          JEFFERSON                  UT     31080937152
9886485255B531   ANTHONY        AGUIRRE                    NM     90014528525
98864A57477537   CHRISTINE      COMSTOCK                   NV     90012180574
9886532365B548   JORDAN         GOHNS                      NM     90013943236
98865688472B24   IRMA           URBINA                     CO     33056656884
98865A49291599   ALDO           RINCON                     TX     90013610492
9886652153164B   SYLVIA         MANUEL                     KS     22072615215
98866962572B22   ESWIN GEOV     RAMIREZ LOPEZ              CO     33039219625
98867529372B22   WILBERT        SANDOVAL                   CO     33036465293
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1863 of 2350


98867A53355951   RICH         CRUZ                         CA     90010470533
9886815295B531   CHRIS        MEDINA                       NM     90007621529
9886832665B531   ANDRES       PEREA                        NM     90013923266
98869112A57563   JOSE         CASTANEDA                    NM     90007181120
98869166172B42   RAQUEL       NUNEZ CARPIO                 CO     33075611661
9886B413272B42   DEBBIE       TAFOYA                       CO     33096364132
9886B771397B59   CYDNEY       MARTIN                       CO     90007747713
9887188794B588   MICHAEL      PADILLA                      OK     90011228879
98871A1145B531   ANNABEL F    DELGADO                      CO     35034590114
98872188A61977   RUSSEL       GREEN                        CA     90012011880
9887263215B531   LUCIELA      REQUENES                     NM     90004326321
9887263465B548   TOM          LAWRENCE                     NM     90014256346
9887331633164B   CANDY        SULLIVAN                     KS     90010793163
98873786772B62   MICHELLE     BELL                         CO     90012137867
98873839472B22   ANTHONY      MADRIL                       CO     33094258394
98873938172B56   KATIE        KINNEY                       CO     33000309381
98874A4395B531   VICTORIA     WEATHERS                     NM     35082150439
9887546954B949   CONCETTA     GREEN                        TX     90014534695
98875692472B32   JENNIFER     TUCSON                       CO     90011146924
988759A727B444   VICTORIA     RIVERA                       NC     90014229072
98876247872B51   JAMIE        MARIE BEALL                  CO     90003712478
9887717739153B   AMANIE       TORRES                       TX     90013351773
9887767535B523   NITA         HORTTOR                      NM     90014866753
9887769934B588   KIANNA       MITCHELL                     OK     90009986993
988778AA972B93   ZULMA        PEREZ                        CO     90009848009
9887795145B383   CELERINA     MODESTO                      OR     44504569514
98877A2175B531   YOLANDA      MCGINN                       NM     90013320217
98877A8516193B   ERICA        HUNTER                       CA     90007710851
98878A66681639   BYRON        MARSHALL                     MO     90008100666
98878A86872B3B   JASON        BACON                        CO     33075240868
98878AA6257563   LUIS         REYES                        NM     90014890062
98879215772B32   SHAUNA       PALACIOS                     CO     33064832157
9887951919153B   ALBERTO      SONORA                       NV     75087035191
9887979675B548   ERNESTO      BACA                         NM     35045437967
9887B16954B588   DALINA       LOZANO                       OK     90014831695
9887B828393732   CESAR        SANCHEZ                      OH     64501148283
9887B927872B3B   JOHN         DANLEY                       CO     33073809278
98881125A57563   RAMON        RIOS                         NM     90014881250
98882125A57563   RAMON        RIOS                         NM     90014881250
988822A9872B32   DOLORES      GALLEGOS                     CO     33085092098
9888248715B383   KARA         CHURCH                       OR     90014574871
988824AA84B949   DEXTER       WILLIAMS                     TX     90000204008
98882952A4B588   CHRISTINA    SCHRECK-PRICE                OK     90013329520
98882A61772B3B   YESICA       REYES                        CO     33018680617
98883125A57563   RAMON        RIOS                         NM     90014881250
98883745372B24   MARY MAR     RIVERA                       CO     90015007453
9888431A355926   SENG         MOUA                         CA     90008143103
9888438834B949   MARK         GRUSECKI                     TX     90015243883
98884549872B56   ELIZABETH    GAMINO                       CO     33074165498
9888471514B588   KENT         BAILEY                       OK     90013197151
9888476514B949   ADRIANA      ARELLANO                     TX     90012987651
98884A8A83164B   STEVE        FREEMAN                      KS     90011440808
988853AA14B554   HAROLD       DYE                          OK     21519693001
98886142297B59   JUAN         ZAMORA                       CO     90011541422
9888619887192B   JENNIFER     WOOD                         CO     90010121988
9888676115B25B   WHITNEY      BELL                         KY     68036937611
98886AA634B588   TRACY        HICKOK                       OK     90013350063
9888743955B599   KRISTEN      LOVATO                       NM     35078484395
988883AA172B42   KARLA        HERNANDEZ                    CO     33003073001
9888922554B949   ARIEL        TURNER                       TX     90015192255
9888B328261977   LUIS         MENDOZA                      CA     90002483282
9888B559181634   PATRICE      ROBINSON                     MO     90013805591
9888B768281634   PATRICE      HAWKINS                      MO     90014877682
9888B982157563   ELIA         DELAISLA                     NM     90014839821
9888B991191399   TEENA        HERRICK                      KS     29008419911
9889173423B399   DOCHTERMAN   JOHN                         CO     90013827342
98891A3315B548   SERENA       FAZIO                        NM     90006300331
98891AA5672B24   DANICA       GONZALES                     CO     90014920056
98893344272B42   KAYLA LYNN   FORREST                      CO     90009943442
98893753A2B898   FAITH        BOOTH                        ID     42079907530
9889399945B531   MICHAEL      LAFFERTY                     NM     90015129994
98894347A72B97   LUISA        RUNNO                        CO     90012143470
9889476586196B   JILIAN       RAYMOND                      CA     90007917658
9889616A272B22   JEREMY       CORTEZ                       CO     33048991602
9889669735B383   IRMA         RAMIREZ HERRERA              OR     44561996973
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1864 of 2350


9889688724B949   PAUL           KING                       TX     90007278872
9889734964B949   MIGUEL         MARTINIEZ                  TX     90005213496
98898686272B83   FRANCISCO      CAMPOS                     CO     90014186862
9889951AA72B56   SHARLINE       MONTGOMERY                 CO     33003715100
9889988A991951   JOSE NOEL      YANEZ                      NC     17034468809
98899987372B22   GREGORIO       SEGUNDO                    CO     33018259873
9889B27164B588   TRICIA         HERRERA                    OK     90013622716
9889B852A81639   RHONDA         SHORTS                     MO     90011268520
988B18A2172B24   NOE            ALVARENGA                  CO     90007858021
988B2169991599   EMMA           CARDOZA                    TX     90009281699
988B2694555951   JOSE           JUAREZ                     CA     90008476945
988B3218841296   JOHN           MCILVAIN                   PA     90015022188
988B33A1361977   DEREK          MITCHELL                   CA     90012903013
988B3431191599   ROQUE          GOMEZ                      TX     75010844311
988B3549581634   JESSE          NASH                       MO     29080795495
988B434418B175   MELISSA        DULLE                      UT     31011503441
988B4367A97B59   CRISTIAN       BASURTO                    CO     90013113670
988B4442472B22   JASON          DUBIS                      CO     90005554424
988B5325777537   KRISTI         GREVELINK                  NV     90002443257
988B535763368B   SHERITA        HATCHER                    NC     90014853576
988B53A1133623   KEONA          MORRISON                   NC     90012653011
988B53A9A91399   SENNEAH        SHIRLEY                    MO     29035503090
988B6496493755   ANGELA         SELMON                     OH     90012674964
988B6619755951   SOFIA          QUINTERO                   CA     49003426197
988B6A41981628   MARVA          ABROUGHT                   MO     90013950419
988B74A925B548   HAYEN          HERNANDES ALEJANDRO        NM     90015174092
988B7578572B3B   ANTONIA        MARTINEZ                   CO     90014835785
988B782583164B   JEREMY         BROWN                      KS     90001118258
988B796298B175   PRUM           TY                         UT     90014319629
988B7A3A872B62   AMY            GONZALEZ                   CO     33024080308
988B8134A93732   JULIANN        PRICE                      OH     90008831340
988B81A8791399   SANJUANA       MEDRANO                    KS     29086631087
988B8352572B3B   JULIA          ROMERO                     CO     90008113525
988B837785B383   KAILA          GEORGE                     OR     90010293778
988B895915597B   ANNA           OVALLE                     CA     49009179591
988B8A39861977   MARIA          GALAN                      CA     90012800398
988BB663972B62   CHRISSY        DOLENSKI                   CO     33068766639
988BB96274B554   MITCHELL       CLAUNCH                    OK     90003719627
9891127934B588   NORMA          GOMEZ                      OK     21553812793
989115AA472B3B   ISRAEL         SALAZAR                    CO     33025035004
98911A1A85B531   RAFAEL         AGUILAR                    NM     90014490108
98912994272B22   JOSE           DELGAD0                    CO     33051059942
989134AA74B554   EDY            SARAT                      OK     90013304007
989135A3872B62   RONALD         LESIUK                     CO     90008355038
98913A4A777537   DANIEL         ODNEAL                     NV     90015280407
9891419854B949   JONATHAN       CASTRO                     TX     90014821985
98914A1A857124   JOSE           CHAVEZ                     VA     90002150108
98915398672B22   KACEE          JONES                      CO     33091673986
98916267372B22   NYDIA          ORTIZ                      CO     90014332673
98916672A4B949   GENECA MARIE   HOWARD                     TX     90014876720
98916961A7B444   DEMORICK       BLAKELY                    NC     90014229610
98916A75A4B949   SAENZ          TABERNIER                  TX     90009310750
9891779824B554   NICK           KARK                       OK     90014307982
989177A965B548   SHAYNA         VANBUREN                   NM     35008987096
98918145197B59   EGON           WIED                       CO     39007481451
9891834297B444   RICK           MCGRIFF                    NC     11048633429
989184A5391399   JOHANA         RODRIGUEZ                  KS     90004494053
98918A37761924   MEDINA         VELAZQUEZ                  CA     90012140377
9891917735B548   ORDONEZ        MERLY                      NM     90012891773
9891976358B175   JERRI          DENNY                      UT     90009297635
9891B135255951   LUIS           ZUNIGA                     CA     90007621352
9891B598957563   DICK           PERREZ                     NM     90013845989
9891B697557135   ANITA          JACKSON                    VA     90010026975
9891B73775B531   CORY           GRAY                       NM     90015117377
989211A1672B56   YESENIA        ALONSO                     CO     33047171016
9892129615B548   SONIA          MACHADO                    NM     90013072961
98921A47961977   PEDRO          RAMIREZ                    CA     46061930479
9892297477B444   FERNANDO       MANZANO                    NC     90014229747
98922A62691599   GEORGINA       MARISCAL                   TX     90012430626
989238A5761977   JAIME          RAMIREZ                    CA     90011228057
9892436354B949   MARGARITO      MEDRANO                    TX     90013213635
9892456A772B22   DIANA          CISNEROS                   CO     90013885607
98924593372B32   MICHAEL        BACA                       CO     90014775933
98924685372B62   EFRAIN         MONSIVAIS                  CO     90010186853
9892475353368B   MARIA          BERROSPE                   NC     90013387535
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1865 of 2350


98925319A5B531   HENRY         ACCILINE                    NM     35092963190
98925797172B42   RODRICK       HOLMES                      CO     90002177971
98927171A3B394   ROSELLA       BREITBACH                   CO     90008871710
98927445A91399   RACHEAL       MUCHORI                     KS     90013934450
98927757672B24   JEFFERY       RILEY                       CO     90015007576
98927A8164B554   EBONY         HADLEY                      OK     90012910816
989281A1838543   RON           FORD                        UT     90009511018
9892856285B383   JOSH          RAY                         OR     90012255628
9892863A872B32   ELENA         LOMELI                      CO     33055966308
98928986672B22   ROSANN        MAEZ                        CO     90002929866
98929188272B22   DONNA         JACKSON                     CO     90012051882
9892925145B548   RYAN          TOLEDO                      NM     35053402514
989297A7261977   DORIS         CANAWAY                     CA     46014187072
9892B193172B32   CARLOS        ANDRES                      CO     90014361931
9892B1A974B949   NGAN          BAILEY                      TX     90011571097
9892B332341296   PAULA         SAPIENZA                    PA     90013203323
9892B546191399   JACOB         BLACKMAN                    KS     29017015461
9892B9AA472B36   WENDY         EARLS                       CO     90013389004
989313A6391399   JUAN          GONZALEZ                    KS     90000113063
9893151A477537   ROY           MACCHIETTO                  NV     90001835104
989318A944B588   ANNETTE       WILLIAMS                    OK     21555408094
98932588772B22   BRIAN         ARELLANO                    CO     90014765887
9893356A772B22   DIANA         CISNEROS                    CO     90013885607
98933A2394B588   SANDY         PHAM                        OK     90013550239
98934164A91921   VEDA          PEARSALL                    NC     90009271640
9893463715B548   RONALD        ROMERO                      NM     90012706371
9893468715B531   JORDAN        HERNANDEZ                   NM     90015366871
9893471AA72B24   VIOLETA       HERRERA                     CO     90011687100
98935146772B24   DARCY         DENTON                      CO     90012601467
9893549974B588   ROSA          MIRELES                     OK     90010984997
989355A6A72B42   JULIO         DE LA ROSA                  CO     90011715060
9893562695B548   ALMA          ANDAZOLA                    NM     90001826269
98935628772B32   ABUNDIO       MONTECANO                   CO     90011846287
98936432172B56   SALVADOR      CASTRO                      CO     33029254321
98937227272B32   YVETTE        ROLISON                     CO     33091162272
9893732525B548   ASHLEY        TAFOYA                      NM     90013713252
9893752A993755   JADE          JOHNSON                     OH     90013915209
9893762174B949   PRISCILLA     SCOTT                       TX     90012636217
98937A5639125B   MICHAEL       MASON                       GA     90002830563
9893879488B175   JESSIE        BENEFIELD                   UT     90011827948
989393A365B548   RICARDO       FACIO-RODRIGUEZ             NM     35087683036
98939553272B32   IRENE         MARTINEZ                    CO     33002115532
98939593472B22   ANNA          MARTINEZ                    CO     90014765934
9893974445B383   KERRI         HATTIG                      OR     90011357444
9893977584B554   MICHELLE      MCCORMACK                   OK     90012027758
98939A64172B51   MARIA         MARTINEZ                    CO     90004340641
9893B197557563   JESUS         DOMINGUEZ                   NM     90014891975
9893B1A1838543   RON           FORD                        UT     90009511018
9893B386291551   ELIZABETH     RIVERA                      TX     90014393862
9893B483141296   NAOMI         THOMPSON                    PA     51008944831
9893B56135B548   JOSE          SERGIO                      NM     35004685613
9893B586891951   DEMETRIA      BENJAMIN                    NC     17025425868
9893B971261977   JUAN          RUIZ                        CA     90010489712
9893BA3433164B   LOTOYA        REED                        KS     90012580343
98941124272B22   REBECCA       NAJERA                      CO     33037061242
9894219329125B   NICOLAZ       GOMEZ                       GA     90007811932
9894237294B554   NICOLE        ERVIN                       OK     21592793729
9894246922B262   EARL          BROWN                       DC     90011154692
98942731572B22   LUIS          NEGRON                      CO     90014767315
9894315848B175   ANDREW        ENGLISH                     UT     90012521584
989431A278B175   TERESA        HERNANDEZ                   UT     31074331027
98943512327B88   RONESHEA      MAJORS                      KY     90011575123
9894386954B588   JUAN          HERNANDEZ                   OK     90014898695
98943A29A81639   TYRESHIA      BARKSDALE                   MO     90014770290
98944594772B22   SALVADOR      VEGA                        CO     90014765947
98944695A41296   SALEEMAH      WATSON                      PA     90014596950
9894758A172B32   FRANK         QUARTZ                      CO     33007835801
9894897438B187   SHERMAN       NIELSEN                     UT     31091089743
9894928627B345   LUIS          TREJO                       VA     90006292862
9894949A772B42   NINA          GARCIA                      CO     90008744907
98949943472B22   JAIME         NAVAS                       CO     33039229434
98949A3115B383   ANNJEANETTE   DIMICK                      OR     90012440311
98949AAAA4B949   RIGOBERTO     MEJA-JUAREZ                 TX     76510610000
9894B969372B22   MARCELO       OROZCO                      CO     90013649693
9895119984B554   NICHOLAS      MENDENHALL                  OK     90011071998
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1866 of 2350


9895127A872B32   MATEO        RAMIREZ                      CO     33090272708
98951319A5B531   HENRY        ACCILINE                     NM     35092963190
9895135125B548   JANET        CUARON                       NM     90011233512
98952341A55951   ARIANNA      PETERS                       CA     90013193410
989524A687B444   NATALIE      DANIELS                      NC     90011004068
9895277494B949   KERNIKA      GARY                         TX     90012197749
98952A2225B548   JOEL         RIOS                         NM     35091200222
9895318595B548   ABIGAIL      ZARRAZOLA                    NM     90008001859
98953567672B42   RUBEN        MORALES                      CO     90010505676
98953813A72B56   DEIMA        DENAVIDEZ                    CO     33002058130
9895418A25B531   LORRAINE     MARTINEZ-MESTAS              NM     90013331802
9895443A797B59   KARLA        FLORES                       CO     90013124307
989546A554B588   THOMAS       REBECCA                      OK     90008096055
98954878772B3B   JEFFREY      HIMES                        CO     33034988787
989553A5691951   KENNETH      FOWLER                       NC     17093213056
98955647772B22   YOLANDA      GONZALES                     CO     33069906477
9895598585B383   CHRISTIE     RICE                         OR     90010319858
98956296372B42   CELESTE      MENUEZ                       CO     33081402963
989566A669137B   CECILY       HARRIS                       KS     90008816066
9895699A38B175   JUAN         RHODAS                       UT     31053899903
9895763843164B   CONSTANCE    WETBACK                      KS     90013606384
9895872577B32B   RONNY        VARGAS                       VA     81091407257
9895878475B525   PHIL         MARTINEZ                     NM     90001017847
9895953515417B   JOSEFINA     ESOBEDO                      OR     90012815351
98959558497B59   ANTONIO      GARCIA ESPINOZA              CO     90013875584
98959597572B22   MELISSA      GARCIA                       CO     90014765975
9895995525713B   PRINCESS     NEAL                         VA     90006629552
9895B314881639   KISHA        HERVEY                       KS     90014783148
9895B45853164B   DIANE        EVANS                        KS     90014954585
9895B62452B254   BARBARA      GREEN                        DC     90009686245
9895B638977537   RYAN         JONES                        NV     90015286389
9895B65444B954   SONYA        GONZALES STEWART             TX     90011006544
98961967A97B59   SHELLEY      STEPHENS                     CO     90014179670
98961994272B22   JOSE         DELGAD0                      CO     33051059942
989625A827B394   JOHANETTE    TERRY                        VA     90009385082
98962677A81634   ALTHEA       THOMPSON                     MO     90012046770
98962A4545B383   BRAIN        SANDERS                      OR     44578630454
9896355974B554   ERIC         FINKS                        OK     90006135597
9896399A893732   AMY          BYERLY                       OH     64514019908
9896415A85B548   MICHIKO      SHENDO                       NM     90008891508
9896417415B383   OSCAR        SANCHEZ                      OR     44575371741
9896422A94B588   ALEXIA       GOMEZ                        OK     90014732209
989645A584B949   KAYLA        KELLY                        TX     90012835058
98964A67697B59   NORMA        RODRIGUEZ                    CO     90012620676
98964AA3572B3B   ESPARONZA    GALINDO                      CO     90007880035
9896536164B554   MICHAEL      DIMANGO                      OK     90012763616
98965A11957563   OSCAR        BUSTAMANTE                   NM     90014920119
98965A63172B56   PAULA        DANIELS                      CO     33003200631
989661AA681639   BENITA       TIMBERLAKE                   MO     90014771006
9896636164B554   MICHAEL      DIMANGO                      OK     90012763616
98966626297B59   GOSH         MONIZ                        CO     90013166262
98967343697B59   ESTELA       GUZMAN                       CO     39003213436
989673A3172B62   OSCAR        LARA                         CO     33040633031
9896782895B25B   TIMOTHY      HANCOCK                      KY     68049718289
98967916372B62   SARAH        MARR                         CO     90013939163
98967994272B22   JOSE         DELGAD0                      CO     33051059942
9896882664B554   ANA          CHAVES                       OK     90001948266
9896891667B389   JEREMIAS     ARGUETA                      VA     90002639166
9896B624572B62   KEVIN        HOWARD                       CO     90000526245
9896B991297B59   YESENIA      DIAZ                         CO     39033769912
9896B9A995B377   PAULA        COFFELT                      OR     44092289099
9897137A14B554   FLORETHA     DAMAS                        OK     90011483701
9897159925B531   WILLIAM      RIVERA                       NM     35074085992
9897235565B548   LEN          CLEVELAND                    NM     90011233556
9897382455B531   SUSAN        DINGMAN                      NM     90012778245
989738A1771932   SHANNON      ZIMMERMAN                    CO     32020468017
98973A7A25B548   BETTY        BOOP                         NM     90005250702
9897411775B548   ARTURO       GRIJALVA                     NM     35040021177
9897472913164B   ESTHER       RIVERA                       KS     90004867291
989748AAA61857   AMANDA       WILD                         IL     90014608000
9897548834B554   KANDICE      JONES                        OK     90008124883
98976566572B22   ANGIE        TAFOYA                       CO     33089745665
98976A1AA72B62   MARIA        IBARRA                       CO     90013940100
98976A67793755   PATRICK      NOLAN                        OH     90010160677
98976AAA597B59   JAMIE        WAREMBOURG                   CO     90004880005
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1867 of 2350


9897714453164B   JESUS        REYES-SEANEZ                 KS     90009141445
98977A29491399   HUGO         ESPINOZA                     KS     29032060294
98977A51891599   JUAN         DIAZ FLORES                  TX     90013610518
98978347572B24   BENJAMIN     GARCIA                       CO     33097493475
9897847678B175   ANA          MORENO                       UT     31054174767
9897884314B588   YAWN         JONES                        OK     90013128431
98978998172B62   KRYSTAL      SANCHEZ CASTANEDA            CO     90011939981
98979334672B24   ERIC         ROBERTSON                    CO     33087173346
9897968217B444   SUEKANIA     GRAES                        NC     90010166821
9897B37644B588   CHRIS        MAHONEY                      OK     21522943764
9897B3A6893755   DAVID        DEETER                       OH     64577063068
9897B5A534B554   DINA         DE LEON                      OK     90005505053
9897B63895B383   SANDOR       ALFARO                       OR     90014156389
9897B79414B949   MARIO        CANTUE                       TX     90007197941
9897B97415B531   JUAN         PANAMA                       NM     90013839741
9897BA7945B599   JAMIE        VALVERDE                     NM     90012410794
9897BAAA597B59   JAMIE        WAREMBOURG                   CO     90004880005
98981318772B24   KARLA        MORALES                      CO     33070303187
989816A8972B22   CHRISTINE    JOHNSON                      CO     90014766089
98981753A3164B   GLORIA       LLAMAS                       KS     22095447530
989818A795B569   JONATHAN     GONZALES                     NM     90012548079
98981971597B59   BRITTNEY     ROBERTSON                    CO     90014709715
9898358A34B588   MIKE         DAVIS                        OK     90011235803
9898441214B588   TERESA       FORD                         OK     90013154121
989848AA291399   AUNDREA      SHADY                        KS     90006518002
98985391472B42   KORY         LOFTON                       CO     90005913914
9898561A44B554   JESUS        SAAVEDERA                    OK     90013256104
989856A8972B22   CHRISTINE    JOHNSON                      CO     90014766089
9898578A972B62   DENNIS       BRANNON                      CO     90014857809
98985A75861977   ANNA         FIELDING                     CA     90010490758
98986692672B22   PABLO        DEL RIO                      CO     90001086926
989876A7641296   JOVECA       LEONARD                      PA     51035526076
989878A8672B62   SANDRA       MUNOZ                        CO     90013968086
9898813294B949   CHARLES      LYONS                        TX     76562801329
9898847644B588   SERGIO       URIBE                        OK     90013124764
9898857618B175   MARIA        MUNOZ                        UT     90009635761
989888AA891399   LINDA        MCGEHEEPAYNE                 KS     90012288008
98988951A72B22   CHIQUITHIA   PERSON                       CO     90012169510
98989132672B32   TARA         SMITH                        CO     33042571326
9898986A755975   SALVADOR     SALDANA                      CA     90006488607
9898996AA72B22   GLENN        WELLS                        CO     33012369600
9898B458377537   NANCY        ZACATZI                      NV     90013744583
9898B47A84B554   JENNY        BLAINE                       OK     90012674708
9898B66A657563   BLANCA       TOVAR                        NM     90007276606
9898B735781639   PLATINUM     BABY                         KS     29095427357
9899128928165B   SANDY        DEAN                         MO     29007652892
9899129915B531   CONNI        MARINO                       NM     35020552991
989919A7493747   RONALD       BARNETT III                  OH     64511689074
9899218755B326   GABRIEL      ZAMORA                       OR     90001771875
98992A91A81634   CHRISTY      BAILEY                       MO     90013890910
9899327592B98B   KOREY        GRIMECOMBE                   CA     90008332759
9899387AA72B32   BRENT        OKONSKI                      CO     90009438700
98993A12372B24   DAVID        BLOCK                        CO     90014260123
9899433155B268   ROBERT       TROXELL                      KY     90008763315
9899435775B383   MICHELE      TORLAND                      OR     44585483577
9899669987B444   LAUREN       RAYMOND                      NC     90008976998
9899692A572B22   CHARLES      DIXON                        CO     33005399205
98997367933B51   GARY         MCELROY                      OH     90015313679
98997898A81639   SHAWN        EDMUNDS                      MO     90012238980
98997999A72B22   TAMMY        GALLEGOS                     CO     33073579990
9899916215B531   MARGIE       CONWAY                       NM     90013681621
9899B66975B531   MONA         VARGAS                       NM     90013166697
9899B79595714B   DARLYN       CARDONA                      VA     90012387959
9899B874A8B175   MICHAEL      JENSEN                       UT     31032098740
9899B888291599   VALERY       HERNANDEZ                    TX     90007178882
9899B951781639   NIKO         SMITH                        MO     90013549517
989B1481A8B175   KATIA        LEYVA                        UT     31059024810
989B1687872B22   KARNILAH     JONES                        CO     33014876878
989B1932441296   KIMBERLY     FARLS                        PA     90014379324
989B233824B588   BRIAN        SOLIS                        OK     90013123382
989B2746172B42   JESUS        COSS-VILLA                   CO     33084207461
989B28A435B383   CHAREE       SYKES                        OR     44538118043
989B2A96A72B62   CLAUDIA      HINOJOSA                     CO     90004600960
989B315A23164B   MARCUS       HADLEY                       KS     90012321502
989B3227355951   VICTOR       VIDALES                      CA     90015312273
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1868 of 2350


989B338954B588   ERIK          VANECK                      OK     90008153895
989B389A572B22   ARTURO        LARA                        CO     90002848905
989B3952791399   JOSE          HERRERA                     KS     90002759527
989B43A8531651   JOHN          WESTLIE                     KS     90012163085
989B4536572B42   SANDY         HERNANDEZ                   CO     90009355365
989B475A497B59   JERRY         BACA                        CO     90009277504
989B5313193755   AMBREIA       MICKLER                     OH     90013053131
989B5393941296   PHILIP        SMITH                       PA     90010303939
989B5AA7891599   JUAN          SORIANO                     TX     75048360078
989B615A761977   KARINA        HERNANDEZ                   CA     90013191507
989B655488B164   RAMON         CRUZ                        UT     90000335548
989B662794B949   SERGIO        MARTINEZ                    TX     90015476279
989B6636672B24   ALISON        NEZ                         CO     90012666366
989B6995472B22   ALIYYAH       ABDULLAH                    CO     90010929954
989B713493164B   EARNEST       ROSS                        KS     22080431349
989B718384B588   COLE          BULLEN                      OK     90011231838
989B7366297B59   SERGIO        ROMANO                      CO     90014473662
989B738364B588   DARIUS        SADLER                      OK     90014573836
989B7678772B24   ALMA          MARQUEZ                     CO     90012746787
989B81A354B554   CASSANDRA     FLENOY                      OK     90009061035
989B8421981639   MARIA         ERICKSON                    MO     90011284219
989B8856857563   JOSE          CORONA                      NM     90006028568
989B886174B588   JANELLE       GREEN                       OK     90002908617
989B8968A81634   FALENTINO     ALVAREZ                     MO     90013539680
989B9166197126   MARIA         COLIN                       OR     90013761661
989B9188891599   CLAUDIA       BARRON                      TX     90010131888
989B91A354B554   CASSANDRA     FLENOY                      OK     90009061035
989BB55A755951   LUCY          FERNANDEZ                   CA     90013095507
98B11643281634   REVA          JONES                       MO     90004966432
98B11869161977   YADIRA        AYALA                       CA     90010378691
98B12693491599   PETRA         JUAREZ                      TX     90011996934
98B1289A27B444   JOSEANTONI    CABRAL                      NC     11033588902
98B13352572B24   ALFONSO       GUERRERO SAUCEDO            CO     90011623525
98B13412172B24   ALFONSO       GUERRERO SAUCEDO            CO     90010424121
98B13956663669   SANDRA        KING                        MO     27581399566
98B14245A5B25B   DAVID         FOOTE                       KY     90013092450
98B1429194B588   TARA          CORTEZ                      OK     90013032919
98B1474A55B548   MICHALE       LAWING                      NM     90013207405
98B14792672B22   KINDALYN      PHELPS                      CO     90014167926
98B1488195B25B   DAVID         FOOTE                       KY     90003248819
98B14AA3872B62   WALID         WAHAEREBI                   CO     90013030038
98B15335581635   HAMADI        MOHAMED                     MO     90008983355
98B15776A81637   BOBBI         LOVE                        MO     29085497760
98B1587367B444   CHRISTOPHER   BYNUM                       NC     90013278736
98B168A5872B62   CHRISTINA     ANTONIO                     CO     33002698058
98B16987297B61   VALERIE       QUINTANA                    CO     90009599872
98B17163676B42   ISAY          ALVAREZ                     CA     90004691636
98B1716AA72B32   JUSTINA       JONES                       CO     90013591600
98B17311591399   VALENTINA     MENDOZA                     KS     90013673115
98B17357A4B588   PEGGY         PAGE                        OK     21539033570
98B17398972B56   ZANE          GARRISON                    CO     90010433989
98B1756447B444   MICHAEL       BRIDGES                     NC     90014185644
98B1776315B293   THERESE       BOSH                        KY     68074627631
98B17992772B22   JANELLE       PEREZ                       CO     90014639927
98B17A29355951   SHEYENNE      BOGGS                       CA     90007780293
98B18118A55946   MARGARITA     RODRIGUEZ                   CA     48065861180
98B1816694B554   DIANA         FLORES                      OK     90011341669
98B1834914B588   JOSEPH        FULLER                      OK     90011153491
98B18542572B42   JOSE          CRESPO                      CO     90004265425
98B187A415B548   JUAN          LOPEZ                       NM     90000287041
98B1995595B531   FRANCISCO     CASTILLO                    NM     35058279559
98B19A49872435   JASON         CARR                        PA     90005200498
98B1B27165B548   RUTH          SHORTER                     NM     90014452716
98B1B333A61977   DIANA         FIGUEROA                    CA     46012203330
98B1B54177B444   ROSETTA       WHITE                       NC     90014185417
98B1B7A1472B22   CYNTHIA       WYZARD                      CO     90014747014
98B1B999972B62   JODECI        SLAUGHTHER                  CO     90011409999
98B2114344B949   MICAH         GRAVETT                     TX     90015341434
98B21248A81634   NIURKA        LAVERO                      MO     90010012480
98B2136767B43B   SHIRLEY       SOWELL                      NC     11011863676
98B22385161499   LAURA         ROJAS                       OH     90014943851
98B2281965B548   DAISY         CHAVEZ                      NM     90013938196
98B22A45291599   CLAUDIA       GUTIERREZ                   TX     90010060452
98B23594872B42   SAID          BENJELLOUN                  CO     90002785948
98B23664772B22   KATHY         FOX                         CO     90000106647
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1869 of 2350


98B23914191599   ANTONIO         HERNANDEZ                 TX     75040079141
98B2394A44B554   AMANDA          LAMSON                    OK     90015119404
98B2416AA81634   AIDA REYES      MORA                      MO     90013951600
98B24187457563   PERLA           GUADIAN                   NM     90010861874
98B24387591399   CHARLENE        SMITH                     KS     90012423875
98B249A3557563   JOSE            LOYA                      NM     90013129035
98B25737691599   KEVIN           DURAN                     TX     90008057376
98B2579A661977   DIANE           MAYA                      CA     90000807906
98B2598513B331   DIANA           WERSEN                    CO     33063219851
98B26315197B59   CATRINA         JAIME                     CO     90002733151
98B2639564B588   ALEXIS          VILLASENOR                OK     90013033956
98B268A6655951   MICHELLE        HERRERA                   CA     90014058066
98B27145772B24   JESUS           GONZALEZ                  CO     33054551457
98B2719712B245   JOANNA          CONDE                     DC     90013921971
98B2791363164B   ANDRES          CAMACHO                   KS     90011819136
98B2796465B25B   CAMILO          LOPEZ                     KY     90003999646
98B28182981634   ERICA           WALTON                    MO     29008351829
98B2843465B591   LUIS            PAYARES                   NM     90014374346
98B28586955951   ALMA            MORENO                    CA     90014695869
98B2863725B548   MARIA           JARQUEN                   NM     35003556372
98B2864A84B588   DAWN            HICKMAN                   OK     90014226408
98B29256657563   TERESA          ARZAPALO                  NM     90014352566
98B2936174B554   KAYLA           MURRIA                    OK     90009033617
98B2B326591599   AARON           MOLONE                    TX     90014323265
98B2B58218B175   FILI            FILI                      UT     90012185821
98B2B67288B17B   ALFREDO         PELAYO                    UT     31039136728
98B2B85718B175   ANGELICA        BARCENAS                  UT     31016908571
98B2BA34A81635   MARTINA         CABRERA                   MO     90010310340
98B2BA71681637   LETICIA         MARTINEZ                  MO     29040400716
98B31358155951   SHELLY          CLINTON                   CA     90013983581
98B31686991399   FRANCISCO       AYALA                     KS     90014516869
98B31726291599   FERNANDO        CAMACHO                   TX     75027317262
98B31848772B42   ROSA            RUIZ                      CO     33071588487
98B32436472B32   CORINA          VILLEGAS                  CO     90013694364
98B32664697B59   ANDREW          BARNES                    CO     90003476646
98B32A8A872B3B   ERIKA           MUNIZ                     CO     90011950808
98B33322581637   MIKE            BRONN                     MO     90000993225
98B33434455975   MARIA           REYNOSO                   CA     90007674344
98B33668772B28   NANCY           JONES                     CO     90001866687
98B3377A481634   CHEYENNE        HENDRICKSON               MO     90013687704
98B3483335B355   ROGELIO         HERNANDEZ                 OR     90008238333
98B34A15A72B3B   SCOTT           MCELROY                   CO     90014570150
98B35235355951   FRANCISCO       GARCIA                    CA     49042152353
98B357A1272B62   ERBERTO         MANZARDEZ                 CO     90015157012
98B36354481634   BRENDA          MILLER                    MO     29021423544
98B36752672435   BETTY           MOORE                     PA     90013787526
98B369A354B554   BARBARA         DUKE                      OK     90001159035
98B371A1972B21   LISA            BUELL                     CO     90000251019
98B37685781637   ANDRE           JONES                     MO     90006906857
98B3768917B444   JASHIA          CLARK                     NC     90014186891
98B3779292B824   JOEL            WHITE                     ID     42003997929
98B3784285B548   ANTOINETTE      ANAYA                     NM     90013938428
98B37994357563   TELMA           DELGADO                   NM     90009839943
98B37A16591399   MARCO ANTONIO   RUTIA                     KS     90009200165
98B37AA2197B59   ROSAICELA       CANALES                   CO     90012480021
98B38235472435   AMBER           MICHEL                    PA     90014152354
98B3841A657563   MARIA           ORTIZ                     NM     35500884106
98B38741391599   JAMES           RODMAN                    TX     90011877413
98B38979A4B554   MARIO           DE LEON                   OK     90012469790
98B39137591599   VERONICA        ACOSTA                    TX     90011011375
98B3924994B588   BRENDA          BLACKBURN                 OK     90009062499
98B39665A91399   ALFONSO         GONZALEZ                  KS     90015096650
98B39932441296   KIMBERLY        FARLS                     PA     90014379324
98B3B18958B175   JASMIN          MUNOZ                     UT     90012251895
98B3B561897B59   JASON           STILLMAN                  CO     39063645618
98B3B723572B4B   OTONIEL         PEREZ                     CO     90010687235
98B3B795472B42   PEDRO           BAUTISTA                  CO     33082377954
98B3B9A1A72B57   AXEL            MADDEN                    CO     90010779010
98B3BA9815B383   NICKESHA        BRYAN                     OR     90007260981
98B41185761933   YOLANDA         MORENO                    CA     90007821857
98B41394A4B588   TWYLA           GAINES                    OK     90011153940
98B41894593732   VERNA           WINCHESTER                OH     90003148945
98B42215A5B531   KAMI            BOYNTON                   NM     35075932150
98B4222355B241   LINDA           MILLS                     KY     90007462235
98B425AA172B51   REINA           OLIVAS                    CO     90001525001
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1870 of 2350


98B4272A172B22   ROSITA       SANDOVAL                     CO     33091247201
98B42752555951   ISMAEL       DIAS                         CA     90012677525
98B42A56497B59   LIDY         DE LA ROSA                   CO     90012910564
98B42A64557563   ASHLEY       NUNEZ                        NM     35561340645
98B4343A193732   KATRINA      TAYLER                       OH     64516584301
98B4346717B429   CAMESHIA     HAMILTON                     NC     90005844671
98B43544972B56   CHRISTIAN    MARTINEZ                     CO     90005285449
98B4472A172B22   ROSITA       SANDOVAL                     CO     33091247201
98B45194872B62   ARMAN        GUERRERO                     CO     90014371948
98B45357A5B548   JOHNSON      ELSIE                        NM     90004963570
98B4552A95B531   FRANKIE      BENAVIDEZ                    NM     90014515209
98B45825193732   WILLIAM      ASHLEY                       OH     64563568251
98B4599144B949   MARIO        RODRIGUEZ                    TX     90013989914
98B45A8A94B558   REBEKAH      BRADSHAW                     OK     90008880809
98B462A6141296   KIM          DAVIS                        PA     51007392061
98B462A7431424   CARI         DALTON                       MO     90008852074
98B4642295B531   FREDDY       SANDAVOL                     NM     90013894229
98B4686554B588   MOISES       GUZMAN                       OK     90000968655
98B46865891951   MARTHA       CAPLE                        NC     17056138658
98B468A1872B3B   CATALINA     SALAZAR                      CO     90001738018
98B4783287B363   ISMAEL       GODOY                        VA     90008028328
98B47964491599   WENDY        ROMERO                       TX     75032029644
98B47A81272B62   EVER         VILLA MOLINA                 CO     90008290812
98B4835374B554   KEVIN        LITTLE                       OK     21518013537
98B484A994B588   EDBRION      BATES                        OK     90011154099
98B48832693799   NEANA        TAYLOR                       OH     90006078326
98B48A64397B59   VICENTE      BALDERRAMA                   CO     90012910643
98B49127672B3B   ELVIA        GALLEGOS                     CO     33082141276
98B4934457B444   LAVONDA      ALEXANDER                    NC     90010123445
98B4941184B588   LATOYA       LIGONS                       OK     90011154118
98B49415891399   ROLANDA      SUTER                        KS     29016264158
98B49516197B59   ANDRIA       SOLIS                        CO     90000605161
98B4979775137B   TAYLOR       LASTER                       OH     90010577977
98B4995A361558   AMY          MOTT                         TN     90014979503
98B4B147A81637   TOMMY        NASEF                        MO     90003321470
98B4B581291532   LUIS         ALVARADO                     TX     90012185812
98B51381A77537   SHIRLEY      DEES                         NV     90010653810
98B52459A91399   KOURTNEY     JACKSON                      KS     29016264590
98B5248535B531   MARIO        VERA                         NM     90012814853
98B52539A5B531   DEDRA        LEYBA                        NM     90010275390
98B5262994B949   VERNELLA     THOMAS                       TX     90010646299
98B52834481639   SUSAN        SMITH                        MO     29062278344
98B52844181634   MACKENZIE    CLAPPER                      MO     90013448441
98B53447291882   RHONDA       WEAVER                       OK     21061114472
98B5353435B531   SANDRA       PACHECO-GARDEA               NM     90013015343
98B53871772B24   TIM          GOEBEL                       CO     33032098717
98B5414618B175   RAQUEL       HERRARA                      UT     90014911461
98B54A74381634   BRYAN        EASLEY                       MO     90009950743
98B5511518B175   BELLOSO      SANTOS                       UT     90013781151
98B5516774B588   SHYQUASE     JENKINS                      OK     21550141677
98B5534A541238   RUDOLPH      STROTHERS                    PA     90007963405
98B55353881634   ALANA        MCNEERY                      MO     90014143538
98B5558494B554   ISMAEL       SALAS                        OK     90010905849
98B555A4372B3B   MARCO        SANTOS                       CO     90014575043
98B55879A5B383   JOANNE       HEADRICK                     OR     90013258790
98B5594695B531   JAVIER       REYNA-GARCIA                 NM     90012379469
98B55971641296   WIRELESS     CALLER                       PA     90015239716
98B562A4172B22   LOUISE       MORALES                      CO     90003412041
98B564A8655951   DEANNA       SMILEY                       CA     90011384086
98B5748913164B   ADRIAN       TORRES                       KS     22088904891
98B57643572B42   WILL         NEWMAN                       CO     33054506435
98B57645141296   PAUL         LOCKERBIE                    PA     51065056451
98B57861561977   DAVID        TABBERT                      CA     90010398615
98B5835425B531   ADAM         MATTHEWS                     NM     35086033542
98B58664133B2B   CHARLES      WEBSTER                      OH     90013826641
98B5876415B548   EMILY        GROS                         NM     35022417641
98B5886837B444   CHRISTINE    MUSEWU                       NC     90014188683
98B58A25497B59   AMANDA       SAUNDERS                     CO     90012920254
98B59123341296   KALPANA      KAMI                         PA     90014911233
98B59363893755   ANTHONY      DAVIS                        OH     90012333638
98B595A914B554   RAEANNA      YOUNG                        OK     21595415091
98B59864655951   ANGELA       WATKINS                      CA     49099638646
98B59975391399   SUSAN        EICKHOFF                     KS     29061259753
98B5B31197B359   LUIS         AGUIRRE                      VA     90001173119
98B5B669272B3B   DANIEL       SHER                         CO     90013276692
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1871 of 2350


98B5B729372B24   MARIA            CALDERON                 CO     90010007293
98B5B85485B548   SANTIAGO         MOLINAR-CARMONA          NM     90013938548
98B5BA5147B444   TANEEKA          MCKNABB                  NC     90010250514
98B61518781634   RENSO            CHAVARRIA                KS     90014485187
98B61643881635   JASON            GIVENS                   MO     29028526438
98B616A688B175   MICHELLE         GONZALES                 UT     90013486068
98B61877597B59   BALNCA           GARCIA                   CO     90014898775
98B61997481634   TIA              KIDD                     MO     29042189974
98B6212145B399   JACK             WELLS                    OR     44058421214
98B62281341296   TANITA           MILLER                   PA     90010512813
98B6257A44B949   ANTHONY          JOHNSON                  TX     90015515704
98B62951172B22   ZACHARIE         HABIMANA                 CO     33002009511
98B63373572B56   LUIS             SANTOS                   CO     90000643735
98B6343774B588   SAVANNAHA        GADDIS                   OK     90011154377
98B636A527192B   RONDA            WEIMAN                   CO     90002676052
98B63781A5B383   MARTI            THORSON                  OR     44592657810
98B63797A4B554   ALEXIS           DAVIS                    OK     90015137970
98B63A55576B57   JOSE             MORALES                  CA     90013320555
98B64686172B62   ELSA             SILVA                    CO     33027926861
98B6489614B949   MEGAN            KING                     TX     90013768961
98B6491A972435   JULIE KK         ZEWE                     PA     90013489109
98B65518455951   TARLOK           CHEEMA                   CA     90014605184
98B65671881634   ANTHONY          SPEARS                   MO     90013266718
98B65763A72B62   SANDRA           ORTEGA                   CO     90013007630
98B65838955951   LILY             RILEY                    CA     90012938389
98B65992781639   LAPANDA          MASON                    MO     90014699927
98B664A7A4B588   MARY KATHERINE   RHEA                     OK     90003074070
98B66657191599   MIRIAM           ALVARADO                 NM     75072406571
98B66944391399   CHEVY            JOHNSON                  KS     90013109443
98B67335591399   ESMERALDA        SALDANA                  MO     90013233355
98B67516581639   ELICIA           BANUELOS                 MO     90010405165
98B6759517B444   NEMESSIS         MARRERO                  NC     90014655951
98B67769393755   TIFFANY          BLUE                     OH     90014577693
98B67775557563   RAFAEL           LEDESMA                  NM     90014607755
98B67A3875B548   LISA             RICH                     NM     90013330387
98B68169791399   THOMAS           FOSTER                   KS     90012651697
98B68375481634   MIKALA           THOMAS                   MO     90014593754
98B6839624B588   LYNN             HARRINGTON               OK     90015343962
98B6844A981634   MIKALA           THOMAS                   MO     90015264409
98B6846345B548   ROCIO            CORTES MARTINEZ          NM     90015304634
98B68539372B22   MARY             STIDHAM                  CO     33054455393
98B69134A77537   BRENDA           LAPIANA                  NV     43019791340
98B691A4281634   ELIZABETH        SIEVERS                  MO     90012011042
98B6947644B588   SEVERO           FLORES                   OK     90011154764
98B69644357563   SANDRA           CHAVEZ                   NM     35581546443
98B6964455B545   JANNETTE         QUEZADA                  NM     90005306445
98B6966348B175   XOTCHILT         RAMOS                    UT     31054206634
98B6B439A72B24   TANYA            MONTANO                  CO     90008474390
98B6B46995B383   JASON            CLARKE                   OR     90013404699
98B6B652891599   ERIC             SIGALA                   TX     90013096528
98B6B848A5B383   SCOTT            GRIBBLE                  OR     90013388480
98B7138A557563   LAURA            CAMPOS                   NM     90007253805
98B71888297B59   CHRISTOPHER      SHARP                    CO     90014918882
98B71928A91399   CHELLEY          MAYS                     MO     90013989280
98B71966955951   LUPE             CORREA                   CA     49012909669
98B7248464B554   JACQUELINE       DANCY                    OK     90013234846
98B72714861977   JOEL             GOMEZ                    CA     90004827148
98B72898372B62   CLAUDIO          MERCADO                  CO     90011848983
98B72A82572B42   ERIC             BASEY                    CO     33074320825
98B73475255951   JOSE             ALVAREZ                  CA     90003164752
98B735A365B25B   DELFINA          ESTRADA                  KY     68054105036
98B7373734B554   DANIEL           JOHNSON                  OK     90012717373
98B73772797B59   LATISHA          RODRIGUEZ                CO     39067677727
98B73A98791399   LELAND           HAMM                     KS     90012460987
98B7418225B383   J GUADALUPE      RAMIREZ                  OR     90015171822
98B74277A81635   PHY-LISS         BROCKMAN                 MO     29026522770
98B7515A591599   SAMANTHA         BORJA                    TX     90011011505
98B75273A91399   JOSE             TORRES                   KS     90011762730
98B757A5141296   IVAN             CASTANEDA                PA     90012797051
98B75821272B62   ANTHONY          REYES                    CO     90011118212
98B75851393755   EDDIE            CROWDER                  OH     90012628513
98B76154591399   MAURO            ORTIZ                    KS     90011711545
98B76161191599   LAURA            PEREZ                    TX     75001101611
98B762AA377537   GUADALUPE        LOPEZ                    NV     90014332003
98B7659418B175   MARY             OSCARSON                 UT     90010065941
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1872 of 2350


98B768A335B531   KILL         CEDELLA                      NM     90014078033
98B77732293755   MATTHEW      HILLER                       OH     90015137322
98B7821398B125   RONALD       KIND                         UT     90006042139
98B786A518B175   BRENDA       ROBINSON                     UT     90013356051
98B79141A77537   LETICIA      QUEZADA                      NV     43007291410
98B7962A191599   RANDY        MACIAS                       TX     90004866201
98B7985815B25B   ROBIN        LEE                          KY     90013598581
98B7B323455951   SETH         MANGLORNA                    CA     90007613234
98B7B42A691599   KAREN        BETA                         TX     90012054206
98B7B529193732   STACEY       ELLIS                        OH     64592605291
98B7B7A934B588   NJUME        EPOLLE                       OK     90004857093
98B7BA2484B588   TARA         JONES                        OK     90014070248
98B8219627B444   MARIA        MARTINEZ                     NC     90014201962
98B8236884B588   MORGAN       WHITE                        OK     90013033688
98B8284533164B   TOMMY        MCCLURE                      KS     90009078453
98B82A44991599   ROGELIO      TREJO                        TX     90009260449
98B83164A72435   EDWIN        MONHEY                       PA     90012191640
98B83362A55938   ADF          SDF                          CA     90000293620
98B83479897B59   ANNA         GONZALES                     CO     90011004798
98B83568293755   LAKISHA      BURGER                       OH     90012145682
98B83826872435   JOHN         FRY                          PA     90014678268
98B8387844B554   WILLIAM      MOSES                        OR     90010918784
98B8433878B175   JEREMY       SLADE                        UT     31096853387
98B84452172B22   SHAWN        JONES                        CO     90005414521
98B84892157563   DALILA       PALLARES                     NM     90014618921
98B8587482B248   CHRISTOPHR   SCIPIO                       DC     81097618748
98B8618584B588   JULIA        JONES                        OK     21586421858
98B86465972B62   JOSEPH       MONTOYA                      CO     90013074659
98B8738344B949   JENNIFER     OSZCZAKIEWICZ                TX     76588163834
98B8768524B554   MARCUS       FOSTER                       OK     90013566852
98B8772378B175   ROSSMAN      JAMI                         UT     31011037237
98B8795949125B   KATHY        FORMAN                       GA     90014789594
98B88265897B59   TASHA        GILLESPIE                    CO     39087012658
98B8834954B554   SHERIK       HOBBS                        OK     21518043495
98B8858397B163   FRANCISCO    RIOS                         ND     90013975839
98B88598193755   JEREMY       DAVIS                        OH     64573145981
98B88928957563   LUIS         GALLEGOS                     NM     90014619289
98B88A19493732   MEGAN        PRICE                        OH     64598820194
98B88A9347B394   CHANG        CHOE                         VA     90008800934
98B8938234B588   BIRGETT      WILLIAMS                     OK     90013033823
98B8947A991399   DONNA        WHITLOW                      KS     90013474709
98B8963AA4B554   JOSE         MOJARRO                      OK     90011306300
98B8991555B548   JOSE         WASETA                       NM     90013939155
98B8B63854B588   CYNTHIA      AGUIRRE                      OK     90011366385
98B8B69985B531   ELSIE        LUCERO                       NM     90010036998
98B8B766472B42   IRAN         MEZA                         CO     33077447664
98B8B9A1571936   JACQUELINE   ANGEL                        CO     90012439015
98B8BA42597B59   CAMILLE      CONTRERAS                    CO     90014400425
98B9119A54B588   ROMAN        GONZALEZ                     OK     90002681905
98B91271757563   CLAUDIA      HERNANDEZ                    NM     90008052717
98B91495A72B62   ANTONIO      GARCIA                       CO     90007584950
98B91666372B3B   ARTHUR       MARQUEZ                      CO     90009406663
98B9199A272435   BRITNEY      MALONE                       PA     90013959902
98B91A1735B548   MAEZ         DEBORAH                      NM     90013600173
98B92176177537   LORENA       QUINTANILLA                  NV     90009021761
98B92529191938   ROGER        KOPSHINA JR                  NC     17047315291
98B92581293755   CHAISE       BARNES                       OH     90014635812
98B9357674B588   MARIA        HUGHES                       OK     90011155767
98B93616A85932   JERRY        MATHES                       KY     90010316160
98B937A8761954   GLENN        CRAIG                        CA     90009587087
98B9412997B381   CECILIA      CHINCHILLA                   VA     90011661299
98B94165741296   CLARENCE     JOHNSON                      PA     90015331657
98B941A1491399   JANICE       SCOTT                        KS     29089931014
98B94339891599   IVETTE       PEREZ                        NM     90012183398
98B9486594B949   ALFREDO      LUCERO                       TX     90012858659
98B9541524B554   GABRIEL      ARREDONDO                    OK     90012494152
98B9541A891399   MANUEL       FRANCO                       KS     29016284108
98B95711A5B531   ELSIE        LUCERO                       NM     90010037110
98B95944955951   RICARDO      SOLANO                       CA     49099219449
98B96125291526   KATHLEEN     MYERS                        TX     90007651252
98B9643288B134   VINCINT      LANE                         UT     90012454328
98B9651894B949   JUAN         CAMPOS                       TX     90006195189
98B96531255938   ALEJANDRO    RANGEL                       CA     90003845312
98B96772A72B22   CHRISTINA    HENZE                        CO     90014747720
98B98331481634   THERESA      GRAVES                       MO     90012353314
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1873 of 2350


98B99571972B62   VICTOR             SERVIN                 CO     90015115719
98B99879A61977   BRUCE              JACKSON                CA     90010398790
98B9B661997B59   JESUS              CHAVEZ                 CO     90011576619
98B9B67655B383   HEATHER            JOHNSON                OR     90012676765
98B9B867951325   JAMES              CARVER                 OH     90012828679
98B9B899681634   EUGENE             HUDSON                 MO     90010198996
98BB1281A91599   MARIA DE LOURDES   FLORES DE MENDEZ       TX     90012102810
98BB171764B554   MARQUETTA          THOMAS                 OK     90015347176
98BB1779572435   TISNISHA           PRIMER                 PA     90013777795
98BB228764B554   TYQUEASHA          JACKSON                OK     90003852876
98BB2339257563   ERIKA              RAMIREZ                TX     90012243392
98BB2995681639   BRANDY             GONZALES               MO     90013989956
98BB3183561977   SANDRA             ESTRENERA              CA     46025491835
98BB3412497B59   GISELA             ONTIVEROS              CO     90010334124
98BB3654755951   JERRY              CHAPA                  CA     90015306547
98BB3732172B84   STEVEN             ATKINS                 CO     90011907321
98BB383A781634   BRIANNA            PROCTOR                MO     90014568307
98BB39A6481635   DANYALE            COOPER                 MO     90006589064
98BB3A7974B554   MAEFRANCES         DAVIS                  OK     90013820797
98BB45A1472B3B   CAMILLE            SHOGREEN               CO     33086515014
98BB4A36557563   JOSEFINA           PADILLA                NM     90014490365
98BB5193597B59   ELVIRA             PORTILLO               CO     39034731935
98BB5418572B24   JILLIAN            HOLMAN                 CO     90014974185
98BB558734B588   KYSHA              WILLIAMS               OK     90010335873
98BB5725293755   KIMBERLY           CLEMONS                OH     64522717252
98BB5894377537   JENNIFER           SOUZA                  NV     43008728943
98BB6136244B33   FELIX              STANIS                 OH     90013851362
98BB669735B531   PAMELA             BACHICHA               NM     90013676973
98BB6847197B59   MARIA              ESTALA                 CO     90014628471
98BB6AA1272B24   GUILLERMO          CABRAL                 CO     90004810012
98BB726692B925   JESUS              FUENTES                CA     90011782669
98BB7711172B22   PATRICK            SHAUGHNESSY            CO     33081617111
98BB8152191951   ARNETTE            GIPSON                 NC     17034191521
98BB845A541296   SCOTT              CLARK                  PA     90015074505
98BB859947B444   BRAD               PARSANKO               NC     90013075994
98BB8746972B84   SUZANNE            HOLLEY                 CO     33050667469
98BB8AA2361977   ANASTASIA          CAPPELLO               CA     90007830023
98BB9112172B24   JOSE               MARTINEZ               CO     33005661121
98BB93A744B949   KENNETH            PARKER                 TX     90014043074
98BB941475B531   RICHARD            ROWTON                 NM     90010234147
98BB9522581639   CHANDRA            DENISE                 MO     29034705225
98BB9592672B3B   MELISSA            RAMIREZ                CO     33073445926
98BB963644B554   MARISSA            BUCKMAN                OK     90014146364
98BB976997B386   ANTHONY            KELLEY                 VA     90012787699
98BBB291A55951   EDWARD             SERRANO                CA     90013292910
98BBB473161977   TRAMAINE           WILLIAMS               CA     46087274731
98BBB642772B62   HIGINIO            LOREDO                 CO     90014926427
98BBB732481639   CECELIA            SMITH                  MO     90008167324
99111339297B61   ANA                BURCIAGA               CO     39068433392
9911165814B949   MELVIN             HUNTER                 TX     90012556581
991122A133164B   GRABRIEL           ENRIQUEZ               KS     90007432013
9911274765B531   JAMIE              DURAN                  NM     90008037476
99112967936B44   BREENA             FITCHTER               OR     90001049679
991133A2685966   VICKI              PENROD                 KY     90001403026
99113A29172B62   BRANDON            REEV                   CO     90010850291
99113A3565B383   JOHN               LAMARR                 OR     90009710356
9911416754B949   BHAVAN             PARIKH                 TX     90013021675
99114264772B24   SEAN               ANGELY                 CO     90013822647
9911488467B444   LATOYA             MCMURRAY               NC     90014788846
9911518135B548   SANDRA             ARCHIBEQUE             NM     90010311813
99115823297B61   DAVID              CRUZ                   CO     90009988232
9911595212B891   MARISOL            SANDOVAL               ID     90011799521
99115957872B56   MARIA              OLGUIN                 CO     33074359578
9911686975B261   NINA               CRIDER                 KY     90012428697
99117489472B24   GRISELDA           SANCHEZ-RAMIREZ        CO     90013274894
99117739172B62   MARJORIE           PALMER                 CO     33011047391
99118376A97B61   MARTHA             SANCHEZ                CO     90008933760
9911847567B444   TOM                SAVIN                  NC     11081724756
99118488972B24   JOANDRA            ROMERO                 CO     90009514889
9911889864B949   ARTOMIO            SANTOS                 TX     76507768986
99119392897B59   ROY                MILLER                 CO     90014203928
9911B17455B531   ANGELA             SALAS                  NM     90013611745
9911B386A97B59   SARA               KOPE                   CO     90012853860
9911B485497B61   MARC               SCHRA                  CO     90009864854
9911BA27972B62   MARTHA             SALCIDO                CO     90011990279
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1874 of 2350


99122432872B22   ANTHONY       BLEA                        CO     90010224328
99122A36272B24   CRYSTAL       TRUJILLO                    CO     90012690362
9912329A171922   TAMMY         DAVIDSON                    CO     90007902901
9912345425B548   TANYA         VAISA                       NM     90012664542
9912378417B499   MIGDALIA      RIVERA                      NC     90006217841
99123874A72B26   MARIA         PEREZ                       CO     33093498740
9912488717B444   JOSE          ROJAS                       NC     11043838871
9912488874B949   DEBRA         JONES                       TX     90012768887
9912559A261992   LIDIA         ALCARAZ                     CA     90001005902
991263A178B175   GABRIEL       PERSZ                       UT     90003093017
99126653172B22   TERESA        ALAVARADO                   CO     90008806531
99127157A91951   LAURA         CLAYTON                     NC     90014011570
99127634372B24   JAIME         OLIVAS FALCON               CO     33063026343
9912828348B175   PHILLIP       PARK                        UT     90007202834
9912929AA51364   IMRAN         IQBAL                       OH     90008622900
9912931A597B61   JUANA         GONZALES                    CO     90001093105
991293A835B531   ANDRES        MIERA                       NM     90010423083
9912941356B954   THOMAS        FULLER                      NJ     90010794135
99129715672B32   ESEYAS        WELDYE                      CO     90007827156
9912B12298B175   MARIA         HERNANDEZ                   UT     90015151229
9912B296481635   MARCUS        RHINEHART                   MO     90010882964
9912B634572B62   MATTHEW       MORSE                       CO     33087506345
9912B669855957   MARTIN        ECHEVERRIA                  CA     90006806698
9913149975B548   SERINA        MARQUEZ                     NM     90006964997
9913186A577537   CATHERINE     TOURAND                     NV     90009428605
99131927372B56   ROBERT        LOPEZ                       CO     33004939273
9913257495B531   GRISELDA      GARCIA                      NM     90007605749
99132613A97B61   VERONICA      BENCONO                     CO     90006906130
9913264965B548   YAMHILETTE    LICON MUNOZ                 NM     90003196496
9913381468B175   MARTA         MORALES                     UT     90003948146
9913383963B331   JEWELS        LEONETTI                    CO     33072688396
9913388A972B62   MONICA        FRANCO                      CO     90010278809
9913412865B548   MERCEDES      GUTIERREZ                   NM     90009751286
9913421517B444   ROBERTO       SANTOS                      NC     90010452151
99134467597B61   BRIGIT        MAGAGNA                     CO     90002234675
99134822797B59   DAVID         RENDON                      CO     90009638227
99134858872B3B   LAZARO        GARCIA-RIOS                 CO     33089848588
9913519198B175   KASSIE        MATSON                      UT     90007151919
9913579924B588   BRIAUNA       CHANTEL                     OK     90015317992
99135916A72B32   DIANA         HOLGUIN                     CO     90013989160
99136587772B62   YUTAKA        MAGEE                       CO     90005345877
99136679697B59   THOMAS        UMBERGER                    CO     90013636796
991372A965597B   ASHLEY        REYES                       CA     90014322096
99137324572B22   CHAVELA       GALLEGOS                    CO     33052123245
9913782272B891   JUNIOR        WATALEE                     ID     90015208227
9913868335B548   FABILALE      RAMOS                       NM     90000196833
99138992A72B42   TAMESHA       NASHA                       CO     90010679920
99139319A72B22   ANTONIA       MANTINEZ                    CO     33051113190
9913936332B891   LENNA         GARCIA                      ID     90012403633
9913936862B728   MARIO         GUTIERREZ-RAMIREZ           ME     90015413686
99139435872B22   CLAUDE        GBORO                       CO     90013924358
99139514772B24   JAY           GELOCK                      CO     90007725147
9913979227B444   VORINE        NIGGANS                     NC     11077137922
9913B816492821   ROY           MARTINEZ                    AZ     90014948164
9913B97A82B891   PADEN         JACOBSEN                    ID     90013969708
9913BA94291599   BLANCA        ACOSTA                      TX     90013480942
99141429A72B62   NICOLE        ANDERSON                    CO     90003844290
991419A645B548   LUIS          LOYA                        NM     90014789064
9914281835B383   VALENTIN      ANAYA                       OR     90003698183
991433A5772B62   CHRISTINE     CORDOVA                     CO     33050793057
99143541497B59   DILLON        BOWMAN                      CO     90001055414
99143877772B22   ROUSE-SMITH   ANDREW                      CO     90012588777
9914398872B891   SELENA        GONZALES                    ID     90013969887
9914399148B17B   ERIKA         AVILA                       UT     90013379914
9914433678B175   CHUY          PEREZ                       UT     90009193367
9914447A877537   DENISE        MORSE                       NV     43005024708
99144751372B24   JEREMY        BRESLOW                     CO     90011127513
99144993A3164B   COLBEY        JHOSHON                     KS     90012889930
99144A4A572B26   SHERRY        SMITH                       CO     33075800405
9914523A161971   AARON         KOVAR                       CA     90013112301
99146139A36B44   BLANCA        ARROYO                      OR     90002831390
9914616355B531   TIFFANY       WOODWARD                    NM     35013171635
99146876672B62   MARGRET       REBAZA                      CO     33087678766
99146AA835B548   LOUIE         MALDONADO                   NM     90010430083
99147A5677B477   SHARON        SMALLS                      NC     90013750567
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1875 of 2350


9914852118B175   ALEJANDRO       ESCOBAR                   UT     90012835211
99148621197B59   STEVEN          CORDOVA                   CO     39060016211
9914871222B891   PAYGO           IVR ACTIVATION            ID     90013957122
991487A4477537   BLANCA          FLORES-LOZANO             NV     90006757044
99148A8628B125   ALEJANDRA       PONCE                     UT     90012620862
9914932797B389   ALEXANDER       FLORES                    VA     81016613279
991494A6391399   JEAN            STEPHENS                  KS     29001934063
9914B494A72B26   JOSE            RANGEL                    CO     90002434940
9914B667772B56   HEATHER         HOLT                      CO     90010146677
99151447272B24   SONIA           BLANCAS                   CO     90012964472
9915157745B261   JOHN            WHISENHUNT                KY     90013485774
99151A44277537   DANILO          COLOCHO                   NV     90001170442
99152197A91951   ANSELMO         VASQUES                   NC     90005811970
9915253434B949   JESUS           GONZALEZ                  TX     90013405343
99152949497B59   ANAVEL          LEPE-OLIVIA               CO     39090929494
9915318798596B   JEFFREY         STAMPER                   KY     90006431879
9915389A772B26   GUADALUPE       NAVA                      CO     33093618907
9915421295B548   MARIA           DOMINGUEZ                 NM     35013432129
9915495822B891   JENNIFER        QUIROZ                    ID     90008039582
99154A58941296   ELLA MAE        MADISON                   PA     51068790589
9915529A88B169   BERNITA         ORR                       UT     90006242908
99155554272B22   ANTHONY         BURNSON                   CO     90005695542
9915586A155951   SOFIA           SUSANA TOSCANO            CA     49066888601
99156764397B61   MARIA           ARCOS GIL                 CO     90012467643
99158318A91951   MICHAEL         BYRD                      NC     90013383180
9915939155B548   ALBERT          CHAVEZ                    NM     90013073915
9915985965B531   ERIC            ROMERO                    NM     90012248596
9915B196772B62   JOYCE           MARTINEZ                  CO     33044401967
9915B1A7681634   JESSICA         MCCART                    MO     29012211076
9915B323333B32   DAVID           HINES                     OH     90014393233
9915B453A97B59   BILLIE          FIELDS                    CO     39004794530
9915B5A655B548   MICHELLE        TSETHLIKAI                NM     35073335065
9915B6AA555932   JUAN            SANTACRUZ                 CA     90006696005
9915B985461954   TALAL           JABBO                     CA     90003529854
9916135A672B24   EGYPT           MIGUEL                    CO     33087793506
9916153385B548   LISA            RITTER                    NM     35072535338
9916173138B835   VIRGINIA        MADRIAGA                  HI     90013907313
99161A44881635   SILVIANO        GONZALES                  MO     29039710448
9916223818B175   FABIEN          BAHATI                    UT     31098692381
9916258357B628   TIERA           JACKSON                   GA     90007845835
99162A36997B59   AMBER           SIRIO                     CO     39003200369
99163193A81669   JESUS           CARREON                   MO     29012671930
9916355295B383   ROSA            CORNEJO                   OR     90001155529
99163715597B61   HEATHER         GARZA                     CO     39001577155
99163723872B32   MARIA           GUARDADO                  CO     90004117238
9916467733B388   ANNA            TREXLER                   CO     90009526773
99164A84481635   RAYJEANA        LEWIS                     MO     29004460844
99165744372B56   XAVIERA         JACKSON                   CO     33029917443
99166A4748B175   JAYSON          TEIXEIRA                  UT     31037190474
9916747474B949   CHRISTOPHER     LEYENDECKER               TX     90014464747
9916897274B588   AMANDA          BARTLETT                  OK     90008929727
99169134872B3B   RONALD          NUANEZ                    CO     33088741348
991694A7155951   DOMINIQUE       TORRES                    CA     49057924071
99169A15297B59   ADAN            RUEDA-DURAN               CO     39047220152
9916B294A72B62   SONYA           BRUNGAREDT                CO     33040782940
9916B663991599   JESUS           DIAZ                      TX     90012156639
9916B863A2B891   BLAKE           SPENCER                   ID     90001938630
99171247A72B32   NORMA           FABELA-BORREGO            CO     33014022470
9917348162B891   GRETHEL         RODRIGUEZ                 ID     90014184816
99174418A72B22   LUIS            ALVAREZ                   CO     33042024180
99174675497B59   BENITA ISABEL   LUNA GOMEZ                CO     90014176754
9917476375B383   SEAN            SMITH                     OR     90008327637
99175465197B59   MARIAH          TRUJILLO                  CO     90008194651
991754A9793755   BONNIE          STUEFFEN                  OH     64597784097
99175696A4B949   KYTHIA          DAVIS                     TX     90013456960
99175775A61971   DANA            GALAEGOS                  CA     90008587750
99175AA958B175   JASON           REEVE                     UT     90011760095
991761A1497B61   PAM             BROOKS                    CO     90014641014
9917695845B531   MICHAEL         BASEY                     NM     90009669584
99177298A57B3B   JESSICA         MCGOWAN                   PA     90014052980
99177318672B22   JOSHUA          WORLEY                    CO     90013733186
99177843997B61   ANGELICA        HERDANDEZ                 CO     90012168439
99178127372B26   PALOMA          MORALES                   CO     90011701273
9917842AA72B24   ELIZABETH       K                         CO     90011514200
9917886297B444   BRENDA          BROWN                     NC     11065838629
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1876 of 2350


9917B173A2B891   CHRIS          HOLMES                     ID     90007571730
9917B323181635   LENAH          IREGI                      MO     90012253231
9918148227B444   EFRAIN         DOMINGUEZ                  NC     90006384822
991814AA872B42   MARK           JAIME                      CO     33096634008
9918162655B371   LUIS           CUELLAR                    OR     44515886265
99181668172B24   LEROY          MARQUEZ                    CO     33009426681
991818A1172B3B   NICOLE         MOLINE                     CO     33016898011
99181A6A15B548   JULIE          AVITIA                     NM     35071130601
99183899197B59   MARIE          ROMERO                     CO     39067468991
9918389953B382   BRENNAN        FONTAINE                   CO     90001808995
99185933797B59   MARTIN         ALONSO                     CO     90013989337
99186279A72B22   KIA            GRISSIN                    CO     90012532790
9918649A33B394   JOSETTE        MARES                      CO     33089784903
9918677622B891   NEREIDA        MUNOZ                      ID     42015457762
99187648A55951   MARK           MARTINEZ                   CA     49009586480
99188737197B59   ZELDA          GALLEGOS                   CO     90005817371
99189113972B32   PATRICIA       DE LEON                    CO     90014851139
9918B238A91399   BROOKE         PAGE                       KS     29088682380
9918B246627B83   TRACY          TAYLOR                     KY     90007732466
9918B334451325   LEA FELICIA    ROSE                       OH     90011893344
9918B51A997B61   ANGEL          SANCHEZ                    CO     90013905109
9918B595172B62   LUZ            MARIA MENDEZ               CO     33095935951
9919189962B891   ALAN           SHIPLEY                    ID     42091478996
99191A84731429   CHERYL         REESE                      MO     90008390847
99191A99772B22   PHAEDRA        HIGH                       CO     33091050997
99191AA277B444   JENNIFER       POLK                       NC     11006180027
99192331A41296   MICHAEL        FICHTENMAYER               PA     51094023310
99192449172B22   MESTAS         LEONA                      CO     90010054491
99192A76293755   ERIC           WILSON                     OH     90010380762
99192A78881635   SARA           GLASS                      KS     29034680788
9919562A977537   JHONATHAN      MORENO                     NV     90012496209
99195711672B62   PEDRO          CASTRO                     CO     33098447116
9919591972B524   ALAN           GAGE                       AL     90015199197
99195A84291599   DAENA          SOTO                       TX     90010460842
99196175A5B383   EVAN           GUYANT                     OR     90014861750
9919631AA57B3B   JEIMY          REYES                      PA     90011623100
9919687A62B889   KATHY          REINHOLTZ                  ID     90001658706
99197319A91951   RENEE          AMERSON                    NC     90006583190
9919737695B383   MICHELLE       LAVALEE                    OR     44510983769
991979AA855951   CHRISTOPHE     WHITTON                    CA     49014019008
991987A3161971   AGUSTO         CASTILLO                   CA     90002717031
99198A3884B949   VICTORIA       JOSEPH                     TX     90011950388
991992A943164B   DEQUINCEY      CALDWELL                   KS     90012512094
9919B188781635   WOOYUNG        JIN                        MO     90008371887
9919B42584B585   JUNIOR         LOPEZ                      OK     90010034258
9919B525655951   CARRI          ZACK                       NV     49001385256
9919B6A8572B62   MARIO MARTIN   LARA                       CO     90015176085
991B1446255951   TERESA         OZUNA                      CA     49001384462
991B1637698B93   CARLOS         AMAYA                      NC     90013296376
991B1676172B42   WAYNE          SANCHEZ                    CO     33048576761
991B193A34B588   MARTHA         TORRES                     OK     90012989303
991B1A38593755   MONICA         TALKINGTON                 OH     64544220385
991B2356372B62   TIMOTHY        BOGAN                      CO     33082493563
991B2368141296   BRITTNEY       DANIEL                     PA     90014443681
991B239415B531   SAVANNAH       ATWOOD                     NM     90015093941
991B2971161971   NORMITA        DOJILLO                    CA     90011559711
991B2A62441296   MICHAEL        HURD                       PA     51081510624
991B328454B56B   DAVID          RIDENER                    OK     90002142845
991B3858191524   GUADALUPE      DIAZ                       TX     90011478581
991B3929661937   ERIC           STEVENSON                  CA     90005059296
991B4739A91599   JORGE          VEGA                       TX     90003027390
991B4768981635   BRANDIE        WRIGHT                     MO     29048497689
991B483124B949   COURTNEY       BOB                        TX     90008848312
991B485A672B24   MELISSA        HALEY                      CO     90007228506
991B4997372B62   LISA           SAMAIN                     CO     33048249973
991B5321772B26   SILVIA         RAMIREZ ACEVEDO            CO     33087233217
991B5843572B42   JEANETTE       PALM                       CO     90005978435
991B588AA91951   TASHEERIA      HEMMINGWAY                 NC     90007408800
991B59A4281634   MIKE           PITCHFORD                  MO     90014789042
991B627A73164B   CAROLYN        DAILEY                     KS     22077052707
991B6318972B62   CECILIA        AGUIRRE                    CO     33025023189
991B68A6491599   CRISTIN        HILLS                      TX     75048558064
991B698547B444   DOUGLAS        WALDEN                     NC     90012189854
991B6A68655951   NICHOLE        PEREZ                      CA     49043270686
991B7336755951   HERNIKA        BAKER                      CA     49049673367
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1877 of 2350


991B7393161971   YVONNE         GONZALEZ                   CA     46061693931
991B739A893752   ROBERT         LETTERMAN                  OH     90010123908
991B7437991938   PAMELA         ROPER                      NC     90011974379
991B74A8627B21   SCOTT          HOUSLER                    KY     90014754086
991B753389376B   ANTHONY        REEDER                     OH     90012555338
991B7566172B22   ROGELIO        STRAKER                    CO     90008915661
991B843A797B59   ABEL           COHEN                      CO     90013624307
991B847294B588   RANDALL        TILLET                     OK     21567874729
991B847342B223   KIARA          BRUMFIELD                  DC     90010874734
991B8857961971   APRIL          HORVATH                    CA     90015188579
991B948A55B531   FELIBERTO      OTERO-ORDONEZ              NM     90012494805
991BB242A72B32   LIZET          MENDOZA                    CO     33062452420
991BB669A4B54B   DERRICK        WHITE                      OK     90004356690
991BB93424B588   CHELLY         WELLS                      OK     90012469342
991BBA8387B444   ANASTASIA      CARTER                     NC     90006570838
9921159A62B891   GATES          JASON                      ID     42000935906
9921224695B377   TIM            BLAIR                      OR     90010442469
9921249528B175   VALERIE        GREEN                      UT     90011774952
9921255185B531   ARTURO         FLOREZ-LOPEZ               NM     35099225518
992126AA572B22   LEONILA        AGUIRRE                    CO     90013646005
9921323328B175   ELIZABETH      RODRIGUEZ                  UT     90005702332
99213264A77537   JEREMY         LEE                        NV     90014572640
9921348892B891   JAIME          GARCIA                     ID     42070534889
9921523725593B   ANDREW         YOUNGBLOOD                 CA     90009692372
9921535A797B61   CLAUDETH       CASTELLANOS                CO     90014753507
9921572A381635   GARY           STALLINGS                  MO     29015237203
99215799672B42   MATTHEW        COBLE                      CO     33030597996
9921584884B588   JAMES          BELL                       OK     21568388488
99215924A8B175   NELSEN DAVID   CONTRERAS                  UT     90014859240
9921624647B444   DEWAYNE        EDGE                       NC     90014762464
99216446572B56   ISRAEL         CASTRO                     CO     33025014465
9921694212B891   DELORES        MARTINEZ                   ID     42029519421
99216984298B72   SANDRA         VELAZQUEZ                  NC     90009969842
99217566872B24   KENT           CAMPBELL                   CO     33030065668
9921762178B175   DEBRA          ISBELL                     UT     90008586217
9921777874B588   VANESSA        BAILEY                     OK     90012297787
99217A2715B523   LUIS           RODRIGUEZ                  NM     35017160271
99218222997B59   ALCIDES        VENTURA-QUILCA             CO     90000512229
99218A29836B44   TRACY          CORBETT                    OR     90004650298
9921911AA72B56   SERINA         ALENCIO                    CO     33081291100
9921948254B949   CHARLES        MOORE                      TX     90011594825
9921B31315B531   LAWRENCE       MONTANO                    NM     90014503131
9921B42A94B554   KRISTI         ENGMANN                    OK     90006574209
9921B4A388B175   BRYAN          DUFFIN                     UT     90009254038
9921B734172B22   NARAD          DAHAL                      CO     90014047341
9921BA54872B32   LUZ            PALMA                      CO     33017950548
9922215858B18B   PETE           SAWYER                     UT     31028701585
9922221875B383   SHASTA         TABAKA                     OR     90001342187
9922229324B588   REGINALD       GLOVER                     OK     90014342932
992222A7897B59   DANNY          REYNOLDS                   CO     90006812078
9922252A572B32   RAUL           RUELAS                     CO     33048695205
99223262697B61   MICHEAL        TURNER                     CO     90013292626
99223941497B59   ROSANNE        LOVELL                     CO     39014219414
99224218A3B335   GUILLERMINA    VILLARREAL                 CO     90004512180
99224459A93755   ROBERT         BAILEY                     OH     64579444590
9922488828B191   RUMUALDO       ORTEGA                     UT     90010318882
99225584772B22   TIMMARRA       DOTSON                     CO     90004895847
9922565434B954   LIZBETH        PAREDES                    TX     90012646543
992258A6272B24   JANICE         HARGAN                     CO     33091048062
99225A32491599   VERONICA       SANDERS                    TX     90010480324
9922624A77B334   MARIA          DE PAZ                     VA     81007642407
992263AA877537   RONALD         DRIVER                     NV     90009853008
9922655544B949   CAROLYN        STEWART                    TX     90011595554
99226563272B62   WILLIAMS       KEYYNNA                    CO     33054265632
9922669568B175   MARIBEL        MOJARO                     UT     90008586956
9922738967B458   ORVIN          ALEMAN                     NC     90011133896
99227458197B59   JUAN           MARTINEZ                   CO     90013854581
99227A21291599   SELENE         TORRES                     TX     90006740212
99227A95A91599   SELENE         TORRES                     TX     90014400950
9922835214B588   SHAE           POTS                       OK     90012393521
99228534972B22   ESPERANZA      MAGDALENO                  CO     90000245349
99228A33A72B32   SHELLY         KELLY                      CO     90008540330
99228A81761971   MARIO          GONZALEZ                   CA     90012840817
9922B139572B26   DANY           REYES                      CO     90011701395
9922B296391599   ANGEL          LECHUGA                    TX     90015162963
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1878 of 2350


9922B39635B548   RAUL            MEDINA                    NM     90013233963
9922B63265B548   JUSTIN          JARAMILLO                 NM     90008856326
9922B6AA67B436   MUSU            PAEGAR                    NC     11009986006
9922B913181635   CYNTHIA         KEETON                    MO     90014409131
9923184225B383   SHALYNA         CURRY                     OR     44512088422
99231955A72B22   DANIEL          HIMES                     CO     90010579550
99232A4798B187   EMILY           LAUDER                    UT     90006430479
9923317455B531   ANGELA          SALAS                     NM     90013611745
99233A69A72B56   NAYELI          REYES                     CO     90000610690
9923421422B524   TORIA           SELMON                    AL     90014042142
992345A2261969   JESSE           FLEISCHMANN               CA     46005685022
99234952A72B22   LASTAR          SAUNDERS                  CO     90014419520
99234A93272B42   JANNA           FISHER                    CO     33080400932
9923526A497B61   LEROY           GARZA                     CO     90005252604
99235624272B22   MARSHA          TAYLOR                    CO     90014936242
99235672A2B891   CASSANDRA       DELGADO                   ID     90013416720
99236369572B42   SHANNA          KINGRY                    CO     33079103695
99237A9A481635   JAMILA          CRAWFORD                  MO     29004470904
9923852535B548   THERESA         SANCHEZ                   NM     90010565253
992388A1A51342   AUDIMAR         VELASQUES                 OH     90001968010
99238931772B56   CHAZ JOBY       KOBAYASHI                 CO     90002409317
99238A27172B62   CECILIA         VELOZ                     CO     90010990271
9923946145B383   MIKE            ORTLOFF                   OR     90013244614
9923981854B588   DEBBIE          ELLIS                     OK     21591858185
9923B15865B548   EILEEN          BACA                      NM     35045981586
9923B314197B59   JOSEPH          DELAROSA                  CO     39092833141
9923B467A4B588   WILSON          EMORY                     OK     90013104670
9923B525472B62   XOCHITL         ANDRADE                   CO     90011445254
9923BA18381634   DOMINIQUE       PIPPENS                   MO     90013590183
99241373672B22   PEARL           AUDELO                    CO     33082993736
9924151AA5B371   PAU             CIN                       OR     90013095100
99242321272B22   ELAINE          SMILEY                    CO     90013593212
99242475472B26   SHELLY          JACKSON                   CO     90005164754
9924268997B444   LETICIA         TOSCA                     NC     11016306899
9924272313164B   KAVA            KENNEDY                   KS     22041817231
99242811172B62   BOWEN           YANG                      CO     90014858111
9924294125B531   ALICIA          ANDRADE                   NM     90005059412
99242AAA797B61   DOMINIQUE       MOORE                     CO     90010700007
99243A88561971   DIANA           FLORES                    CA     90010170885
9924528938B175   LUIS            URIBE                     UT     90001102893
9924541275B548   WHITNEY         MARTINEZ                  NM     90012324127
99245655A72B26   ESTEBAN         GARCIA                    CO     90006136550
99245A36841296   MEGAN           MCCAUSLAND                PA     90002550368
99245A71661971   CHARLES         CONYERS                   CA     90012780716
99245A78972B3B   YARED           MERID                     CO     33045130789
99246273672B22   JOHN            MOORE                     CO     90013912736
9924634328435B   CHARMAINE       THOMPSON                  SC     90010553432
99246667A4B949   DETRONIA        ROBINSON                  TX     90013076670
992475A615B383   HEATHER         MOORE                     OR     44588695061
99247A51591599   YOLANDA         ROJAS                     TX     90008380515
99248179972B22   TIM             OKONSKI                   CO     33013371799
9924871A35B531   ANTHONY         AYLAYA                    NM     35036057103
99248828A5593B   JESUS           MAYA                      CA     90011928280
99248A32561971   RIDWAN          YEROW                     CA     90012940325
99248A94A61971   VIRTOR          CASTANEDA                 CA     90012920940
9924B281661955   DOLORES         BOYAINYGOTIA              CA     90010442816
9924B74425B548   APOLINAR        SIMBRON                   NM     90000637442
9924B921172B32   ANTOLI          LENARD                    CO     90013959211
9924BA3415B383   CING            MANG                      OR     90014670341
99251458772B24   KARINA          GAITAN                    CO     90001574587
99251823872B24   DEIDRA          DEHERRERA                 CO     90014888238
9925265265B54B   DOMINIC         VIGIL                     NM     90014066526
9925266324B554   NADENA          OSBORN                    OK     90009796632
992526A7777537   LUIS            MUNOS                     NV     90013896077
9925272215B383   SARAH           ROARK                     OR     90013697221
99252952A72B22   LASTAR          SAUNDERS                  CO     90014419520
992531AA797122   MIGUEL          GALLARDO                  OR     90010811007
9925382284B949   MELIKA          JAMES                     TX     90014938228
9925454128B175   SYLVIA          ESPINOZA                  UT     90013405412
99254654A55951   TRACY           DE LOS SANTOS             CA     90008306540
99255197197B61   JOSE            GUZMAN                    CO     90013631971
9925574815B548   KATHY           GONZALES                  NM     35025417481
99255A1185B531   MARIA           MARTIN                    NM     35051900118
9925669585B383   SHALYNN MARIE   HICKS                     OR     90015126958
99256A7882B891   JOSE            RODRIGUEZ                 ID     90006220788
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1879 of 2350


9925723A372B26   ALYSSA        PEREZ                       CO     33087752303
99257A33397B61   JORGE         REYES                       CO     39093850333
99258146497B61   JAMIE         RAMIREZ                     CO     39061701464
99258A8772B891   DALILA        HERNANDEZ                   ID     90011990877
99259177297B61   SIDNE         JENSON                      CO     90010281772
9925918232B891   DUSTIN        EDISON                      ID     42086161823
9925943615B531   VERONICA      COMPEAN                     NM     35000024361
9925946674B949   MAGDALENA     ALMARAZ ALONSO              TX     90014784667
9925B395433623   CHRISTY       HARGROVE                    NC     90014353954
9925B44125B548   RAUL          GARCIA AGUILAR              NM     90008394412
9926161917B444   KIAREAL       BOLTON                      NC     90000476191
99261642972B24   ARTURO        ARVIZU                      CO     90012956429
99262195A3164B   MILISSA       HAWKINS                     KS     90014401950
99262518797B59   GUADALUPE     VILLALOBOS                  CO     90013855187
99262567572B22   HUSEYN        NEMAT-ZODA                  CO     90014825675
99262576397B61   FRANCINE      AMADO                       CO     39055155763
9926292575B531   EVARISTO      MONTOYA                     NM     90006349257
99262AA6261971   JUNIOR        FLORES                      CA     90011910062
9926314114B588   CRYSTAL       JONES                       OK     90013061411
99263548197B61   JORGE         NEVAREZ                     CO     90013425481
9926398335B237   NAKEA         SWEENEY                     KY     90010379833
9926419752B891   SHAYLA        WORCESTER                   ID     90013991975
9926422518B175   SANDRA        AGUILAR                     UT     90001422251
9926468195B383   TARA          WORKMAN                     OR     44503246819
9926481144B949   MARKAJIA      HOLLOMAN                    TX     76588288114
99264832772B56   NANCY         MUNOS                       CO     33023428327
99264A11281634   LANETTE       WALKER                      MO     29001340112
992655AA391599   MELANIE       SAMANIEGO                   TX     90013385003
99265676197B61   CODY          PREMUS                      CO     90000446761
99265786697B59   JEFFREY       THYFAULT                    CO     90014857866
99265A9322B891   SUSAN         REIMANN                     ID     90002110932
99266382372B62   ALBERT        BREACKENRIDGE               CO     90014293823
99266861872B26   MARIO         SILVA                       CO     90008678618
9926737395B548   KENNETH       LEICHMAN                    NM     90012183739
9926884648B149   WENDY         FINK                        UT     90005188464
9926B17324B588   JESSICA       GERHART                     OK     90011901732
9926B66425B383   MARITZA       GUEVARA                     OR     90006706642
9926B893281634   DIANA         DOUGLASS                    MO     29024418932
9926B9A7161971   REYNA         HERNANDEZ                   CA     90002629071
99271732772B42   GENEVIVE      DUAH                        CO     33080777327
99271A62697B61   CAROLINE      TRENHOLM                    CO     90012390626
9927251172B891   KEVIN         SCHAFER                     ID     42037105117
99272692657B58   JOHN          SERKOSKY                    PA     90014816926
99273258A4B588   DEANNA        HURTT                       OK     21518192580
9927347718B175   ANTHONY       TEDESCO                     UT     90012434771
992739A7251393   BETTY         ESTES                       OH     90009389072
99274264572B42   BRITTANY      GILMORE                     CO     33017892645
99274448A8B849   ISTINA        EICHY                       HI     90014754480
99275132697B59   MICHAEL       HAMMAN                      CO     90001481326
9927553A361971   CAROL         RAMIREZ                     CA     90014165303
992756A7191599   LETICIA       GRANADOS                    TX     90004126071
99276165672B83   BETTY         LEWIS                       CO     90011351656
9927645925B548   SAUL          QUIROZ-IBARRA               NM     90008394592
99276576997B59   JUAN CARLOS   TORRES                      CO     90014215769
99277358397B59   RICHARD       NAVARRO                     CO     90012453583
9927796787B444   GENEA         SLAUGHTER                   NC     90014459678
992781A1181634   RYAN          COLEMAN                     MO     29001341011
9927835A672B22   ROSA          HERNANDEZ                   CO     90012883506
9927843418B175   EDGAR         DIAZ                        UT     31037384341
99278514A3164B   ELVIRA        OJEDA                       KS     90015215140
99278864197B59   MARTHA        CABRERA                     CO     39074068641
9927892754B949   AGUSTIN       PULIDO                      TX     90007909275
9927916A18B175   VELYN         NICHOLES                    UT     31016671601
99279313272B62   CHRISTINA     MARQUEZ                     CO     90011983132
9927951A761971   HUNG          PHAM                        CA     46001425107
99279A42A55967   MARIA         PONCE                       CA     90008710420
9927B378472B24   ANDRE         BURNETT                     CO     90007973784
9927B897A4B949   JUNE          ELLEN                       TX     90013218970
99281562772B24   VILMA         DE LA FUENTE                CO     90014895627
99281911A4B277   ANA           RODRIGUEZ                   NE     90010019110
99281A96972B97   JOSHUA        LITTLE                      CO     90013020969
992822A433164B   OLGA          MENDEZ                      KS     22051312043
9928285268B175   KAYLA         ESTONE                      UT     90010568526
992829A4877537   TARZEE        CASTRO                      NV     90005859048
99283281772B49   TIFFANY       AUSTIN                      CO     90012442817
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1880 of 2350


99283485A72B21   WENDY         KANOHO TORRES               CO     90013864850
9928355425B383   ABDON         DELGADO                     OR     90013235542
992835A3293755   CONITA        FLOYD                       OH     64543045032
9928447A693738   THEO          PERSONS                     OH     90012554706
992855A8181634   ALEX          ACOSTA                      KS     90014785081
9928565385B383   BRUCE         VELARDE                     OR     90008166538
9928584484B588   MARTHA        NORIEGA                     OK     90010668448
9928588412B862   APRIL         RODRIGUEZ                   ID     42015148841
99285A12172B32   FRANCES       GARCIA                      CO     90012140121
9928635675B548   JESUS         ORTIZ                       NM     90015313567
992863A9272B32   LOWAN         THOMAS                      CO     90013313092
99286444872B24   CATHY         HANSON                      CO     33087794448
9928782398B175   MA ELENA      RODRIGUEZ                   UT     90013538239
99287A4715B531   JUAN          RODRIGUEZ                   NM     35004910471
99288528472B62   HOLLY         MORGAN                      CO     33020875284
992886A5972B24   ADRIAN        MARTINEZ                    CO     90006086059
99289786772B22   GHEBREKIDAN   ABRHA                       CO     90014957867
99289AA2A24B61   PRISCILLA     GAILLARD                    DC     90012550020
9928B3A6797B59   CHRISTOPHE    LOWEN                       CO     39086713067
9929152395B548   NOAH          LEYBA                       NM     90009495239
9929166A285951   ANDREW        TAYLOR                      KY     90001076602
99291A32691599   NANCY         MARTINEZ                    TX     75060930326
99292313572B22   ALEXIS        ARMAS                       CO     90014683135
99292634772B32   KEVIN         SENA                        CO     33073376347
9929274955B531   ESTELLA       SMITH                       NM     90012477495
99292A7115B281   ANNA          BLANTON                     KY     90009230711
9929361165B548   JUAN          HERNANDEZ                   NM     35012186116
99293A4998B175   JOSMELL       VILCHEZ                     UT     31059530499
9929438734B949   JOHNETTA      PINKSTON                    TX     76562793873
99294399A93755   AUDRA         STREHLE                     OH     90012313990
9929496355B548   NANCY         HERNANDEZ                   NM     90013799635
99295237497B61   NAYOMI        MARTINEZ                    CO     90003582374
99295397472B32   ANA           MACIAS                      CO     90013283974
99295439497B61   ROSA          MARTINEZ                    CO     39074484394
99295512A7B444   ERENDIRA      MIRAMONTES                  NC     90013075120
9929572642B891   JANEL         CRUZE                       ID     90009077264
9929576945B548   DEBBIE        RODRIGUEZ                   NM     90000197694
992958A5A72B22   EVAN          ESTRADA                     CO     90011438050
9929615A172B32   ROGER         NEAL                        CO     90013491501
9929661A27B491   LUIS          MARTINEZ                    NC     90003476102
9929662298B175   FARTUN        AWALE                       UT     90014816229
992967A665B383   ROCHELLE      JONES                       OR     44527647066
99296A54772B24   BALTAZAR      MARTINEZ-HERNANDEZ          CO     33019220547
99296AA115B548   CARLA         SANCHEZ                     NM     35004430011
99297113A97B61   GLORIA        RAMIREZ IBARRA              CO     39063251130
9929712865B548   MERCEDES      GUTIERREZ                   NM     90009751286
992973A5641296   MONICA        BLAIR                       PA     90013863056
9929747525B531   LUIS          TRUJILLO                    NM     90012084752
99297888297B59   JOSEPH        MCGUIRE                     CO     90013228882
99297A13772B24   VICTOR        RANGEL                      CO     90006420137
99298181772B32   YOLANDA       TORRES                      CO     33081691817
99298498597B61   JACK M        CULOTTA                     CO     90002644985
9929851754B949   ANTONIO       ESTRADA                     TX     90015045175
9929889614B588   MISTY         KRICK                       OK     90009818961
9929B31244B554   ARIKA         STEVENSON                   OK     90011423124
9929B329681634   AMILCAR       MELGAR                      MO     29025273296
9929B4A4672B32   ALBERTO       ARREDONDO                   CO     33075294046
9929B614472B62   JOY           STEVENSON                   CO     33056846144
9929B914177537   CARLOS        PINTOR                      NV     90002069141
992B1236A61971   CARLOS        DE LEON                     CA     90010462360
992B1381993755   JAMES         DEATON                      OH     90014113819
992B17A9897B59   CODY          MOORE                       CO     90002097098
992B2124472B22   CHARLES       SMITH                       CO     90014951244
992B242633164B   GINA          PAGE                        KS     90008354263
992B2598A72B32   ARLENE        BOSQUEZ                     CO     90012345980
992B395212B891   MARISOL       SANDOVAL                    ID     90011799521
992B3A86A3164B   TIMOTHY       WHITFIELD                   KS     90014230860
992B425545B548   DEBBIE        KLEM                        NM     90002662554
992B4446191599   LORENA        CARDENAS                    TX     90004104461
992B4456191951   MARQUIS       BARRETT                     NC     90008524561
992B4751472B22   KASACHA       GAINES                      CO     90010987514
992B4999155951   JUAN          VENEGAS                     CA     90013009991
992B533417B444   ESDRAS        TREJO                       NC     90013963341
992B53A1777537   OSCAR         MENDIVIL                    NV     90000783017
992B5479597B61   DANA          BRUNTMYER                   CO     90013424795
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1881 of 2350


992B5996A91951   LETISHA         HARRIS                    NC     17006339960
992B6132555951   RIKARDO         FRANCO                    CA     90014381325
992B6469672B22   YOLANDA         TSINNIJINNIE              CO     90000824696
992B715787B444   MONIQUE         HUBERT                    NC     11095431578
992B7237572B22   JOHN            FLORES                    CO     90013652375
992B7445191599   RUTH            SAENZ                     NM     75032674451
992B7661693755   MARK            FYFFE                     OH     64582656616
992B7894277537   JOSE            DELALUZ                   NV     43098828942
992B793592B266   LINDA           GREEN                     DC     81044729359
992B8751472B22   KASACHA         GAINES                    CO     90010987514
992B9147461988   FANNY           ROJAS                     CA     90011691474
992B968165B548   JOSEPH          ESQUIBEL                  NM     90014716816
992B9725972B32   ENEDINA         LOPEZ                     CO     90002457259
992B974797B444   JORGE           SANDOVAL                  NC     11084797479
992B977715B548   JOSE            RAMIREZ                   NM     90013827771
992B9A2A73164B   AURORA          GUARDADO                  KS     22089030207
992BB324491599   OLGA            PENA                      NM     75090863244
992BB447971936   NATALIE         CABRERA                   CO     33049024479
992BB934A61971   TRISTAN         KORN                      CA     46028079340
9931136764B588   KENDRA          MBANEME                   OK     90013403676
9931245A88B175   THOMAS          HARR                      UT     90003584508
99312573272B62   SANDRA          CARDIEL                   CO     33041515732
9931262695B531   MONIQUE         VIGIL                     NM     90012866269
99314142672B32   KIA             TUCK                      CO     33015351426
9931421815B548   ELSA            CORDOVA                   NM     35014962181
99314741997B59   ROSLYNN         LEONHART                  CO     90013877419
9931498745B531   FABIAN          SAAVEDRA                  NM     90010649874
9931637557B628   EJINKONYE       ANEKWE                    GA     15000333755
99316563372B62   ALBERTO         PAREDES                   CO     90002215633
99317182772B22   SALOMON         TORRES                    CO     90003281827
9931745174B588   TERESA          BELLER                    OK     90013784517
99317951372B32   MARCO ANTONIO   PADILLA                   CO     90013129513
99318195672B22   CAMBRIA         REDMOND                   CO     33004801956
9931847195B383   LUCIO           MENDOZA CORONA            OR     90013924719
9931883A497B61   DIEGO           ORTIZ                     CO     90007568304
9931988927B444   SHERRIE         HILL                      NC     90015108892
9931B84182B891   MICHAEL         SNOW                      ID     90014758418
9932119768B357   BRAND           QUINN                     SC     90009141976
9932135A797B61   CLAUDETH        CASTELLANOS               CO     90014753507
9932215489184B   EVANGELINA      JUAREZ                    OK     90010951548
99322373797B59   NOEMI           MEDINA                    CO     90011283737
99322A2995B383   DARLENE         WHITE                     OR     90011730299
993235A2291951   DETRIA          YAQOUB                    NC     90010975022
99323646572B24   ILZE            HUMPHREY                  CO     90014736465
99323A77A97B61   NORMA           MARTINEZ                  CO     90013230770
9932425495B531   RICHARD         GARCIA                    NM     90014812549
9932499787B444   ANTHONY         FULWILEY                  NC     11059249978
99325362872B24   CARMEN          LAWRANCE                  CO     90013833628
9932552525B393   BRITTNEY        ROGERS                    OR     90004105252
9932571925B383   ASHLEIGH        BUMPUS-MARTIN             OR     90001187192
99325A72397122   JESUS           VILLA                     OR     90003800723
993262A3297B61   CHRISTOPHER     TAFOYA                    CO     90014642032
9932683A155951   TREO            WHALES                    CA     49078178301
9932688A872B62   CHELSEA         WELLS                     CO     33087428808
99328324A72B62   MICHELE         JOHNSTON                  CO     90013673240
99328343A91532   VICTOR A        DOMINGUEZ                 TX     75002123430
993291A8291599   SALVADOR        MORALES                   TX     75077701082
99329A85357131   OSMARO          ROJAS                     VA     90001880853
9932B25297B444   MICHEAL         ROBINSON                  NC     11044272529
9932BA64391599   ERNESTINA       MACIAS                    TX     90010770643
99331297172B26   JUAN            TORREZ                    CO     90014312971
9933136714B542   LUIS            DELOERA                   OK     90006353671
9933155767B444   MELISSA         LAIRD                     NC     11035965576
9933156974B588   HILARIO         ORTIZ                     OK     21575575697
99332248A5B531   PATRICIA A      PRATHER                   NM     90007802480
9933228187B444   FRANCISCO       BONILLA                   NC     90014262818
9933254722B891   JOSHUA          PEDROZA                   ID     90014185472
99332A21A91951   RODNEKA         DAVIS                     NC     90006630210
99333436598B72   PEDRO           RIZO                      NC     90012574365
9933355A772B22   JACQUELYN       MADRID                    CO     90013495507
9933374889184B   ASHLEE          LEWIS                     OK     90008497488
993338A4461982   RICARDO         LARES                     CA     90007798044
99334665A5B383   IVAN            RIVERA                    OR     90014006650
99334776672B24   ADRIANNA        KOCAK                     CO     90012857766
9933488687B444   NELSON          GOMEZ                     NC     90014018868
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1882 of 2350


99334A44497B61   BENJAMIN          BOWERMAN                CO     90014980444
9933512345B548   MIRIAM            VELETA                  NM     90014301234
993352A8397B61   KEVIN             FREES                   CO     90013232083
99335538372B29   KATY              HENDERSON               CO     90012485383
9933573823164B   ANGELINE          BURKS                   KS     90010647382
99335A51A55934   ANTONIO           GRADO                   CA     90004650510
99335A84872B26   OMAR              PALOMINO                CO     33096400848
993363A647B444   SONIA             BAUTISTA                NC     11064543064
9933644A65B383   DAVID             SCARPELLI               OR     44544854406
9933691AA72B62   MIGUEL            CAMACHO                 CO     33008309100
993373A765152B   OSCAR             GONZALEZ                IA     90014183076
9933745A85B383   EMILY             LEONARD                 OR     44510794508
99339223397B59   AMBER             BUCY                    CO     90003102233
9933933A372B26   DANA              MAY                     CO     90007423303
9933957214B588   DARVAE            BROWN                   OK     90011575721
99339A25A91951   MAURO             MORENO                  NC     90013930250
9933B46934B949   LAJONTE           SIMS                    TX     90012924693
9933B61962B891   ELLEN             FREEMAN                 ID     42083506196
9933B999872498   TENO              CHRISTOFANO             PA     90008009998
9934179A397B59   DUSTIN            BARTH                   CO     90015207903
99342135A97B61   JAMIE             HARRIS                  CO     90008441350
9934237815B383   CHRIS             MCHALE                  OR     44505453781
9934253795B393   ROBERTO           ORTIZ                   OR     90013845379
9934489295B326   MIGUEL            ALTAMIRANDO             OR     44019718929
9934495A52B891   KARIMA            QASIMI                  ID     90011859505
99345329A72B62   COREY             LUMAN                   CO     90013063290
99345885A72B24   INEZ              MARIE CHACON            CO     90008178850
99346398A72B32   MICHAEL           MENDEZ                  CO     90013283980
993469A4672B22   THAYNE            LACKEY                  CO     33093959046
99347947297B59   DAVID             FRAGOSO                 CO     90013989472
99347A5374B949   TRAVIS            TALBERT                 TX     76502100537
99347A53891951   YELSIN            CINTO                   NC     90013930538
99347A94561971   BRENDA            LEYVA                   CA     90006570945
99347A96555951   STEPHANIE         SANCHEZ                 CA     90012010965
993484AA672B32   DANIEL            DAVIS                   CO     33065854006
9934868528B175   ZENAIDA           MARFIL                  UT     90013676852
9934874A591951   DANIEL            ACEVEDO OLMOS           NC     90013687405
99348819572B22   ROD               VOYLES                  CO     90015248195
99348961872B22   JOE               MEDINA                  CO     90013989618
9934946684B949   TIFFANY           BEGGS                   TX     90013124668
9934973875B383   MARTIN            PETRY                   OR     44522117387
9934B23764B588   TIFFANY           BROWN                   OK     90014082376
9934B33A972B56   CAYETANO          RAMIREZ                 CO     33050923309
9934B715481635   SLYVIA            MALDONADO               MO     90009997154
99351253A81635   JAMI              STRAUCH                 MO     90009292530
993513A6372B22   MEGAN             GEIGLE                  CO     90012533063
99351A32497B59   ASHLEY            BROWNING                CO     90006560324
9935245715B531   AERIN             DEAN                    NM     35037084571
993524AA97B444   DIANCA            MILLS                   NC     90013224009
99352576572B26   NORMA             MARTINEZ                CO     33080755765
99353188272B24   DONNA             JACKSON                 CO     90012051882
9935365A181635   KRISTY            SULLIVAN                MO     29014926501
99353A73281634   TREVOR            WYATT                   MO     90012290732
993549A1372B24   JUANITA           PERES                   CO     33086049013
99354A9265B531   DIANA             ANDREWS                 NM     90015110926
9935528894B588   MICHAEL           ERVIN                   OK     90014872889
9935626334B588   MEGAN             SMITH                   OK     90011822633
99356453A97B61   TOM               SALINAS                 CO     39028574530
99356893597B59   EVA MARIE         FIFER                   CO     39048478935
99356A35891399   LOLITTA           RUCKER                  KS     90012420358
9935745A972B56   JOANNA            ESCALANTE               CO     90008284509
9935759878B693   MARIA MARGARITA   ORTEGA                  TX     90014185987
9935768173164B   ROBYN             COLSON                  KS     90011646817
9935773A35B531   MARCIA            ACUNA                   NM     90012787303
99358393898B82   BRITNEY           MEADS                   NC     90013623938
9935846773164B   LEVI              FOUST                   KS     90014874677
9935913A193755   AMY               BOWLING                 OH     90013161301
99359358572B62   MICHELLE          DVURAK                  CO     90014753585
9935964742B891   JARED             ACKERLAND               ID     90005386474
9935969114B23B   SAMANTHA          BURTON                  NE     90002196911
9935991A636B44   BOBBY             TUMM                    OR     44542689106
9935B36872B33B   MIGUEL            PAZ                     CT     90014673687
9935B681A91951   TERESA            HOLT                    NC     90008116810
9935B696591599   AMBER             ALVAREZ                 TX     90010776965
9935B6A867B444   WILLIAM           MEJIA                   NC     90003576086
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1883 of 2350


9935B833172B3B   ARTURO       RESENDIZ                     CO     33022958331
9935B974697B61   MICHAEL      LANDIS                       CO     39032049746
9936221315B383   MICHAEL      BURT                         OR     44533762131
99362274772B22   MARIO        ZEPEDA                       CO     90013912747
99362326272B24   PAMELA       LANHAM                       CO     33081593262
9936253644B949   CRYSTAL      JOHNSON                      TX     90007345364
99362656972B24   MARIANO      HERNANDEZ                    CO     90014736569
99363979172B32   FRANCISCO    CAMARILLO                    CO     90008719791
99364248972B62   HILDA        MARES                        CO     90012672489
99364677797B59   DOLORES      ARANA                        CO     39093056777
9936469615B548   REED         PAGE                         NM     90006706961
9936485A35B383   DENISE       BARRON                       OR     90014468503
993649A6341296   TAWANNA      JAMES                        PA     90013719063
99365138A51334   PAYGO        IVR ACTIVATION               OH     90006801380
9936559AA5B599   DAMON        DAVIS                        NM     90013285900
993657A4681634   MANUEL       BONILLA                      MO     90012667046
9936639968436B   JENNIFER A   DIAMOND                      SC     90003453996
9936645544B588   STANLEY      POLK                         OK     21592004554
99366495A72B62   KEINO        COLEMAN                      CO     90007934950
99366754A54135   DANILO       AGUILERA                     OR     47094137540
99366A4A82B891   ARMANDO      BENITES                      ID     90010090408
99367666957B3B   ISMAEL       SOTO                         PA     90014166669
9936811755B531   ROBIN        JONES                        NM     35087721175
9936829658B347   TITA         TUCKER                       SC     90014052965
9936832318B175   JEFF         DELOBEL                      UT     90006053231
993684A935B383   TIMOTHY      TIPTON                       OR     90010944093
99368561972B42   MARIO        PENN                         CO     33041295619
99368682672B3B   LORENA       RAMIREZ                      CO     33096766826
99368718772B62   JAIRO        DOMINGUEZ                    CO     33002997187
99369118997B59   DANIELLE     POFFENROTH                   CO     90008871189
99369618172B26   DONALD       SCHROEDER                    CO     90005546181
99369A39A81634   BRENDA       RHODES                       MO     90002870390
99369A4AA5B548   CHRISTINA    DUTCHER                      NM     35012580400
9936B52935B383   PAM          HALBERSMA                    OR     44588775293
99371723172B32   JAMES        WALLIS                       CO     90014997231
99371742772B22   CALEB        SCOTT                        OK     90014477427
9937254288B175   MICKEY       MOUSSE                       UT     90012835428
9937266247B49B   JESSICA      MCINNIS                      NC     90003686624
99372737397B61   KRISTIN      HERNANDEZ                    CO     90008017373
99372987A72B32   ALBERT       SCOTT                        CO     90008929870
99372A46641296   ARTURO       PEREZ HUERTA                 PA     51071760466
99373298472B3B   NICOLE       WILLIAMS                     CO     33082752984
99373586672B21   NANCY        DAITER                       CO     33042255866
9937364895B383   RONNA        CALKINS                      OR     90006536489
993738A5155951   JOSEPHINA    HERRERA                      CA     49079008051
99373A75A97122   RAY          BELFIELD                     OR     90012660750
99373A8664B588   AMBROSE      ODIA                         OK     21572280866
9937436592B891   BLANCHE      BEICKEL                      ID     90005233659
9937437755B383   BRYAN        NELSON                       OR     44546833775
99374746672B42   CHRISTINA    ZAMORA                       CO     33010737466
9937495394B554   CORA         ARMSTRONG                    OK     90008199539
99375482472B24   BRENDA       ALVARADO                     CO     33068584824
9937554884B588   LORENSO      RAMOS                        OK     90011855488
99375633497B59   ROGELIO      APOLONIO-PATRICIO            CO     90005346334
99375867697B61   MATTHEW      GREATHOUSE                   CO     90012408676
99375A76472B22   KIMBERLY     MANZANARES                   CO     90008120764
9937672334B588   AMY          CLEMONS                      OK     90012837233
99376A82991951   ANTHONY      JONES                        NC     90013930829
9937725124B259   SHARON       FLOCK                        NE     90009432512
9937738873164B   REANNON      MILLER                       KS     90014693887
99377571997B61   CLEMENTINA   MATA                         CO     90004935719
9937763A872B42   ELENA        LOMELI                       CO     33055966308
9937777A791599   KIMBERLY     MARTINEZ                     TX     75052917707
9937778A261971   CHARLES      CREHORE                      CA     90009217802
99378256772B62   ASHLEY       ALMANZA                      CO     90015282567
9937854244B588   LEDOVIONE    HUDDLESTON                   OK     90013755424
9937883A65B531   VLORENA      CANO-VEGA                    NM     90001258306
99378A3718B347   JANET        ROBINSON                     SC     90014030371
9937B346597B61   JEREMY       POTTER                       CO     90014743465
9937B67535B548   NITA         HORTTOR                      NM     90014866753
9937B874772B24   YALR         MARTINEZ                     CO     90015118747
99381888297B59   JOSEPH       MCGUIRE                      CO     90013228882
99381982597B61   CARMEN       TREVINO                      CO     90013579825
993819A4191599   MARIA        RENTERIA                     TX     90012629041
9938239335B548   ROSA         ARTEAGA-BURROLA              NM     90003053933
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1884 of 2350


99382A11472B42   ANDRES            DIAZ                    CO     90003170114
99382A6438B175   ERMILO            AYALA                   UT     31088670643
99382A8757B444   SHAQUILLE         THOMAS                  NC     90014780875
993832A8277537   JASON             REILE                   NV     90013992082
993835A457B444   GERALD            MILLER                  NC     90012125045
9938381635B383   WENDY             HARDESTY                OR     44570328163
993839A8A7B34B   HENRY ADALBERTO   OLIVA                   VA     90008539080
99383A95672B22   JORGE             CHACON                  CO     33096130956
99384313A97B59   JEREMY            USHER                   CO     39004803130
99384975272B42   YOLONDA           QUINTALLA               CO     33092649752
99384A81372B56   CONSTANCE         HARRIS                  CO     90006330813
9938519654B554   DECARLOS          BANKS                   OK     90004411965
9938558A972B24   APRIL             SULLIVAN                CO     33095415809
99385AA8193755   VICKI             PITMAN                  OH     90002500081
9938631A393755   ANGELA            PETERSON                OH     90012323103
99386471497B59   ELVIA             GARCIA CHAVEZ           CO     39039904714
99386883A81676   LACRESHA          JACKSON                 KS     90012588830
99386A76172B24   RUBYCELIA         BELLO                   CO     33053740761
9938833375B531   VALERIE           SANCHEZ                 NM     90011513337
99388371372B26   STEPHANIE         CAVAZOS                 CO     33018353713
9938844A672B32   CHUN              GOI                     CO     90013764406
9938892467B444   MARY              MCCLAIN                 NC     11059989246
99389382597B59   DEDE              KUECHLER                CO     90006393825
9938995555B545   CARMEN            RIVERA                  NM     35096449555
9938B32A591951   LAKESHA           DAVIS                   NC     90013243205
9938B51434B949   JULIO             SANTOS                  TX     90013085143
9938B537177537   JAMES             OWEN                    NV     90013475371
9938B58478B175   CINDY             GARCIA                  UT     90007215847
9938B589872B22   CONSTANCE         ROBBINS                 CO     90011735898
9938B825791951   LAKESHA           DAVIS                   NC     90003578257
9938B92525B569   BEVERLY           ALDERETE                NM     90005899252
99391535172B22   RAFAEL            GARCIA                  CO     33086245351
99391A44497B61   BENJAMIN          BOWERMAN                CO     90014980444
99392375672B62   JESUS             AVILA                   CO     90013683756
99392552597B61   ANNA              G REVITIA               CO     90007995525
9939318A791599   MEDINA            ALICE                   TX     90008631807
99393A6448B357   MARIO             GRANDE                  NC     90012020644
9939466584B949   GUADALUPE         BADILLO                 TX     90010076658
99394679172B24   MEGHAN            BENTLEY                 CO     90012956791
9939481895593B   KATHRINE          RUSH                    CA     48092148189
9939483A993755   LAKISHA           WYNN                    OH     64555488309
99394A6A52B246   KEITH             GREENE                  DC     90012460605
99395372A77537   ALFONSO           CRUZ                    NV     90013233720
99395481A93755   ERIN              NICHOLE WEBB            OH     64511094810
99395713A5B531   ANTHONY           BASS                    NM     90013937130
9939588355137B   TONIA             BROOKS                  OH     90013608835
99395A9914B588   GHOLAMREZA        DEHDHANI                OK     90012010991
99396432A98B72   SHAWANDER         ALSTON                  NC     90013384320
99396733372B22   NGUOT             REAT                    CO     90012057333
99396A43872B62   BRETT             TARBELL                 CO     90011860438
99397629472B32   REBECCA           TOFOYA                  CO     33048016294
9939767314B588   LISA              HOLLADAY                OK     90008436731
9939885142B891   ALEXIS            HINDS                   ID     90004678514
9939892115B531   PHILANA           BOOQUA                  NM     90010909211
99399252697B61   AARON             TRUJILLO                CO     90005692526
9939B63755B367   DENNIS            POTTER                  OR     90005186375
993B126734B949   CHRISTIN          DODGE                   TX     90008692673
993B1635872B32   SILVIA            ARRIAZA                 CO     90010766358
993B1693381634   CHERY             MRAYYYAN                MO     90014146933
993B1837755926   GLORIA            RAMIREZ                 CA     90009828377
993B2645591951   CRYSTAL           DANIEL                  NC     90011106455
993B279A761971   DAVID             PENA                    CA     46034757907
993B3552597B61   ANNA              G REVITIA               CO     90007995525
993B4A95591599   SUSANA            HORNER                  TX     90004190955
993B585917B464   JANAE             WEATHERS                NC     90013508591
993B58AA59375B   MARTY             BENNETT                 OH     90013158005
993B5A6314B588   PEDRO             RICO                    OK     90010810631
993B6372741296   PAUL              DELGRANDE               PA     90007473727
993B6575672B32   PATRICK           CRAINE                  CO     90014535756
993B8152155951   ANITA             APODACA                 CA     90013551521
993B865A181635   KRISTY            SULLIVAN                MO     29014926501
993B883A772B24   ROSA              VILLA                   CO     33039138307
993B8A73297B61   JOSE              ALDANA                  CO     90011930732
993B952A15B383   JANET             MORGAN                  OR     44522115201
993B9983393755   RYAN              ROBINSON                OH     90011609833
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1885 of 2350


993B9A4453164B   MICHELLE         OTT                      KS     22089270445
993B9A4954B588   DONALD           ALLEN                    OK     90014570495
993BB457797B61   PEDRO            NAVA                     CO     90008004577
99411891672B3B   DEANNA           MARTINEZ                 CO     33033008916
9941262928B175   ANTHONY THOMAS   WOOD                     UT     90009636292
9941267338B175   ADRIAN           AGUILAR VALENZUELA       UT     90012746733
9941482A772B32   JOSE             HERNANDEZ                CO     33043278207
9941492525B548   TONY             TAPIA                    NM     90006309252
99414AA1855951   HEATHER          ROSWELL                  CA     90013010018
99415511972B32   PAULA            LOVATO                   CO     90014805119
9941569269139B   DANIELA          ROBLES                   KS     29010676926
99415884A72B24   FRANSISCO        BEJARANO                 CO     33094368840
99416292172B62   KEN              LEISTMAN JR              CO     33074902921
99416321972B26   SARA             LOVE                     CO     90005283219
9941668862B891   JABIER           CONTRERSS                ID     90014186886
99416692172B32   WALTER           SEEGRIST                 CO     33007396921
99416A9265B383   DANIELA          ALAVEZ                   OR     90001770926
99417594997B61   AMANDA           VALDEZ                   CO     90012955949
99417A9365137B   ANTHONY          HARTLAUB                 OH     90012950936
99418178A55951   DEMETRIO         CAAL                     CA     49090981780
9941829395B531   ERIC             RASBAND                  NM     90010802939
994184A1772B24   ROBERT           GRAVELLE                 CO     90011994017
9941919455B383   AMY              MCDANIEL                 OR     90015111945
994192A6241296   SEE              MICHAEL                  PA     90013502062
99419567572B62   SHIRLEY          PERKINS                  CO     33031625675
99419A62993726   DAVID            SHANKS                   OH     64506100629
9941B46975B599   VICTOR           SAAVEDRA 2ND             NM     35073114697
9941B981A4B949   JOAN             DERISE                   TX     90014609810
9941BA11672B24   KELLY            TRUJILLO                 CO     90013990116
9941BA78772B22   ZACH             ABAD                     CO     90010580787
99421369672B56   ISAAC            FLORES-OCHOA             CO     33093813696
994213A175B383   AMBER            SPISLA                   OR     90015183017
99421719472B24   BRYAN            GARCIA                   CO     90012957194
99421A96331465   YVONNE           WOODS                    MO     90004490963
99422494A91951   ELISA            WEBB                     NC     90014454940
9942259688B175   HERMON           SHOFLNIA                 UT     90008485968
994225A585B548   THALIA           MUNIZ                    NM     35008485058
99422A81441296   ASHLEY           MAY                      PA     51004170814
99422A91672B22   CAMERON          MARCH                    CO     90010580916
99423352197B61   AMANDA           MARTIN                   CO     90013073521
994241A5772B22   JAMES            KEMP                     CO     90015221057
994242A3452B4B   JESUS            VALENZUELA               CA     90014192034
9942517A272B56   MARIE            TRUJILLO                 CO     90005861702
99425216697B59   NICK             GRIFFIN                  CO     90012102166
99425419A4B554   JOHN             FURLONG                  OK     90004414190
99425A81455946   GABRIEL          CAZARES                  CA     90008890814
9942625458B175   LESLIE           PULSIPHER                UT     90001812545
9942858365B383   NICHOLE          DUVALL                   OR     90007525836
99429444872B24   CATHY            HANSON                   CO     33087794448
9942957A35B383   SCOTTQ           TAYLOR                   OR     90011735703
9942959324B581   PAUL             ROJAS FLORES             OK     90008465932
9942B421991599   REBECCA          PALLERES                 TX     75065154219
9942B49A997B61   CLINT            MORGAN                   CO     90015554909
9942B97274B588   AMANDA           BARTLETT                 OK     90008929727
9942BAA274B554   STEVEN           ANDERSON                 OK     90009190027
99431318472B62   LUIS             RIOS                     CO     33005703184
994324A7397B61   ANABEL           RIOS HERNANDEZ           CO     90004204073
99432A5627B444   JOSE             ESTRELLA                 NC     90006540562
99432A7592B248   BERTA            CORTES                   DC     90000660759
9943321A33164B   RAYMOND          KIMBLE                   KS     22002102103
99433344A4B588   ROSHAE           HOOKS                    OK     90014803440
9943346A93166B   CARMEN           LOPEZ                    KS     90012244609
99433938497B61   STACIE           HARTFELDER               CO     39015029384
994346A745B531   ZERO             AAKIL-BEY                NM     90002276074
994352A9297B59   AMY              GARCIA                   CO     90008382092
99435556272B42   MARIA            SANCHEZ                  CO     90007175562
99435AA615B531   LINDA            JAIMES                   NM     90012560061
9943672A481635   LENA             ADAMS                    MO     29079897204
99436952872B33   STEPHEN          CADENHEAD                CO     90006349528
99437379372B62   WILLIAM          STEPHENS                 CO     33098523793
9943776323164B   DALECIA          ANTHONY                  KS     90013097632
99438349A4B949   FREDI            QUINTANILLA              TX     90013513490
99438442997B59   MEGAN            KINION                   CO     90014974429
994386A2797B61   JOEL             GUTIERREZ MONTANEZ       CO     39097106027
99438924541B64   ERIC             ANDERSON                 MD     90013449245
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1886 of 2350


99439841772B24   FRANCES      CARILLO                      CO     90014088417
9943B13848B175   RICKY        JOHNSON                      UT     90013451384
9943B339572B22   SHERRY       MARTIN                       CO     90010933395
9943B42A977537   MICHAEL      CHRISTIAN                    NV     43077154209
9943B557561971   ANA          GARCIA                       CA     90014165575
9943B782691524   ROBERT       CHAVEZ                       TX     90014747826
9943B95715B548   ANTHONY      MARTINEZ                     NM     90013529571
9943B995181634   JANICE       PARRY                        MO     90009159951
99441517A72B32   JESUS        MORALES                      CO     33012465170
994419A8461971   VERONICA     ESTRADA                      CA     46059229084
99443468A91599   ADRIAN       GALINDO                      TX     90014754680
99444596A9152B   MELISA       COURTLAND                    TX     90011475960
994446A4672B62   SIMON        MARTINEZ                     CO     90014826046
9944472254B588   JAMES        MICHAEL                      OK     21509167225
99444878A81634   KAROLYN      DIXON                        MO     90008178780
9944568444B588   BRANDY       JOHNSON                      OK     90013396844
99445872472B24   BRENDA       ARMIJO                       CO     33029018724
99448459772B24   JULIANNA     STEVENS                      CO     90012964597
99448517872B56   ELIZABETH    PADILLA                      CO     33001895178
99448719197B61   SHAWN        PEREZ                        CO     90006357191
9944895A281635   KEVIN        BOWEN                        MO     29052559502
99449244372B22   RENEE        SANTANGELO                   CO     33064232443
99449678897B59   EDUARDO      ALVAREZ                      CO     90011876788
9944B2A2291599   BRENDA       ROJAS                        TX     90014362022
9944B69374B949   CHAENTELL    JONES                        TX     76509486937
99451326A5B531   MARGARET     PINTO                        NM     35005103260
9945152952B891   JASON        GAITAN                       ID     90012805295
99451848A33623   CHRISTINA    MCKEE                        NC     90013598480
99452219A84381   TEAKA        FOGLE                        SC     90010112190
9945262354B949   PAVON        FIELDS                       TX     90011996235
99452882A72B22   SONIA        GOOMAN                       CO     90002818820
99454577A5B383   DESIREE      ADAMS                        OR     90011735770
99454584297B61   DOUGLAS      BARKLEY                      CO     90013965842
9945472742B891   CHELSEA      VONARMFELT                   ID     90014557274
9945499AA5B531   STACEY       SAMPSON                      NM     35004739900
99455132272B22   NORMA        RODRIGUEZ-LUEVANO            CO     90009221322
99455577472B32   PATTI        WHITE                        CO     33018995774
9945631154B588   MICHELLE     PARRIS                       OK     90012623115
9945646358B175   LORINA       RUTH                         UT     90011034635
99457193372B24   ORDENOZ      FRANCISCO                    CO     33013021933
9945818A981634   SUZETTE      WOODS                        MO     29088891809
99458747197B59   APRIL        GUTIERREZ                    CO     90012027471
99459243772B22   FRANCISCO    PENA                         CO     90012392437
9945991255B383   ABRAHAM      MURILLO                      OR     44523789125
9945995192B891   VERONICA     DUARTE                       ID     90012479519
9945B221661971   ANNAMARIE    CURTIS                       CA     46098922216
9945B55485B531   GREGORY      MCCLARD                      NM     35055685548
9945B819A72B42   ALEJANDRO    GUTIERREZ                    CO     90011678190
9945B924A91951   MATTHEW      CAMERON                      NC     90014449240
9946118838B175   DARINEL      BERNAL                       UT     90010461883
994611A813164B   MARY         BLEA                         KS     90008031081
9946125935B383   RAMONA       EDWARDS                      OR     90005472593
9946147374B588   ELAINE       WILLIAMS                     OK     90009724737
99461A3547B444   JUNIOR       ZUNIGA                       NC     11028580354
99462173872B62   MARIA        SALAZAR                      CO     90006811738
9946227457B436   SANDRA       TRIGUERO                     NC     90001662745
99462387172B42   LEAH         DENTON                       CO     90009303871
99462582272B32   LAMB         WILLIAN                      CO     90013755822
9946263615B241   TARA         FINDLEY                      KY     90012786361
99462AA6691951   JOSE         AMAYA                        NC     90015270066
9946379354B588   BRANDON      OLDHAM                       OK     90014787935
994652A6493721   SARGENT      ENGLE                        OH     90005472064
9946543767B444   TRACY        COLEMAN                      NC     90011454376
9946545688B175   EDWIN        MOREIRA                      UT     31042074568
99466371172B62   TRACY        HUSAKDAVIS                   CO     33041783711
994668A1872B31   CATALINA     SALAZAR                      CO     90001738018
99467313372B24   KINDRA       WILLSON                      CO     90012653133
994675A9581635   RACHELLE     ACEVEDO                      MO     90012645095
99467A31661971   DONALD       PRUITT                       CA     46001160316
99467A65A72B32   COURTNEY     STODDARD                     CO     90013320650
99468458472B42   DAVID        BILLINGS                     CO     33096294584
9946878592B891   ROBERT       CALDWELL                     ID     42077647859
9946B29248B175   JUDY         TERRAZAS                     UT     90012452924
9946B58615B383   GILBERTO     CANCHE                       OR     90011735861
9946B73432B891   TERESA       GOMEZ                        ID     90013917343
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1887 of 2350


9946B876A93755   CRAIG         GEORGE                      OH     90013298760
9947153A397B59   CINDY         CHAVEZ                      CO     39066745303
9947184162B891   JOSE          MORENO                      ID     90014188416
99471992372B24   LILIANA       MIRAMONTEZ                  CO     90002489923
99471A2AA3164B   ELVIN         ALVAREZ                     KS     90009060200
994721A614B554   RICHARED      PIGG                        OK     21597011061
9947247898B175   MARCO         BRITO                       UT     90010864789
99472857872B32   GABY          GODINEZ                     CO     90011148578
99473482A5B531   DANIEL        BALDONADO                   NM     90008994820
994751A1272B42   CYNTHIA       BORDEN                      CO     33024561012
9947536234B588   LATISHA       GARRETT                     OK     90006623623
99475373A4B581   ANGELA        PRINCE                      OK     21593113730
9947617674B588   MAIA          DAVIS                       OK     90015131767
9947658A357B58   JESSE         HEIMBROOK                   PA     90015505803
9947681A541296   DONAVON       DUMAS                       PA     90012788105
99476914572B62   LAKESHA       MANLEY                      CO     90010149145
9947745A191599   NINA          SEGOVIANO                   TX     90003094501
99478388A72B26   MARIA         RUIZ                        CO     33055943880
99478821172B24   EMMERSON      NEWBILL                     CO     33052418211
99478852372B22   NICHOLAS      BALSICK                     CO     90014848523
9947932315B383   ABDULKADIR    MOHAMED                     OR     90012963231
9947B259172475   STANLEY       MCKRELL SR                  PA     90008552591
9947B546191579   JORGE         HERNANDEZ                   TX     75075005461
9947B745561971   CLAUDIA       QUEZADA                     CA     90000767455
9947B88152B891   MICHAEL       O'MALLEY                    ID     42049948815
9947B892172B3B   RYAN          STEPHEN                     CO     33063098921
9947B949991544   LAURA         VILLALOBOS                  TX     90011429499
9948116A597B59   MELISSA       MERCER                      CO     90013421605
99481338572B24   MATT          WILKERSON                   CO     33049723385
9948244185B531   SANDRA        NANEZ                       NM     35069484418
994824A1141296   RUTH          GLOVER                      PA     51030074011
99482572272B22   WILLIAMENA    CAMPBELL                    CO     90008875722
99482839372B26   MONICA        CONTRERAS                   CO     33004668393
99483261172B22   PHILLIP       WOLF                        CO     33005012611
9948379185714B   BISMARK       ADDO                        VA     90011547918
99483888497B61   CELVIN        RIVERA                      CO     90012978884
9948438232B891   ANITA         CAMARA                      ID     42076713823
99484468672B62   CIERA         WILLIAMS                    CO     90014584686
9948449A697B59   LJ            BURNHAM JR                  CO     39086744906
9948478A655928   JENNIFER      CORTES                      CA     90008307806
9948512274B588   MICHAEL       PARKER                      OK     90013621227
99485126297B61   JORGE         HERRERA                     CO     90014531262
99485338172B24   DANIEL        HOWELL                      CO     33076793381
9948551A197122   KATI          SERMENIO                    OR     44504675101
99486514472B32   STARTA        STUBBLEFIELD                CO     90009645144
99486663372B24   CHRISTOPHER   MONTEZ                      CO     90014736633
9948668135B548   LARA          MASCAREINAS                 NM     90009256813
9948691118B175   CADENA        MOSHER                      UT     31028729111
99487514597B59   BRIAN         ESPINOZA                    CO     90012485145
99487A43197B59   GUILLERMO     MARCELO-GUERRERO            CO     90015200431
9948929827B43B   ILDA          NOLASCO                     NC     90002732982
99489985497B59   DUSTIN        WARNER                      CO     90014159854
9948B469897B61   NATASHA       MERCADO                     CO     39012164698
9948B844672B24   TERESITA      JESUS                       CO     90007198446
9948B946193755   RENEE         MARTIN                      OH     90011319461
994911A145B531   CRYSTAL       JURADO                      NM     90004011014
9949121A791951   FRANCO        PENA                        NC     90013932107
99491345A4B949   THOMAS        REAGAN                      TX     76555433450
9949185883B385   RICARDO       ESPARZA                     CO     90012668588
9949223987B444   MARIA         SANCHEZ                     NC     90014772398
9949236A372B26   SANJUANA      SOTO                        CO     33006583603
9949237A52B891   ROGER         PARDO                       ID     42023053705
9949242418B175   SANDRA        TORRES                      UT     31069514241
99493729472B22   YOLANDA       GURULE                      CO     33080387294
9949391355B126   GREGORY       HALLY                       AR     90010339135
99494166172B22   PILAR         GRANILLO                    CO     33038921661
9949424A15B531   CARLYE        WOODARD                     NM     35008452401
9949443565B545   EDDY          ANDINO                      NM     90008164356
9949454125B383   LANDA         ARACELY GONZALEZ            OR     44515445412
99494548172B32   SHANNON       POOLE                       CO     33022535481
9949516437B444   AMETHYST      JONES                       NC     90014801643
994952A4572B32   JAMES         BOOKER                      CO     90015152045
9949541514B949   GEARY         SENIGAUR JR.                TX     76581074151
99495782A81634   JON           MONTEIL                     MO     90011057820
9949598985B531   ROSENDO       ROMERO                      NM     90014059898
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1888 of 2350


99495A36197B61   KRISITIN       WHITE                      CO     90011610361
9949659348B18B   COLLEEN        ELDRIDGE                   UT     90001845934
99496812A93755   JACKIE         GORDON                     OH     64595448120
99496A9244B588   ROBERTO        ALVAREZ                    OK     90013380924
994972A6193755   LISA           ANDERSON                   OH     64538312061
99497418997B61   GERMAN         JIMENEZ PEREZ              CO     90003994189
9949782587B444   VICKI          HAYNES                     NC     90010368258
99497A4835B383   DANIELLE       WHESLY                     OR     90011780483
99497A63661971   MARIE          DESRIVIERES                CA     90013110636
9949813237B444   MIRANDA        LUZ                        NC     11098651323
99498545772B62   JON            BURBACK                    CO     90012015457
99498816897B59   JOSE EDUARDO   PEREZ-DE JESUS             CO     90009488168
99498A7135B383   JOSE           LETTENMAIER                OR     90011140713
9949911A272B22   HUGO           VENZOR                     CO     90008491102
9949934664B588   RICHARD        PARKER                     OK     90012903466
9949B2A8277537   JASON          REILE                      NV     90013992082
9949B427491599   ROBERT         ULLRICH                    TX     90007384274
994B165975B548   MARIO          MOLINA                     NM     90013156597
994B1886877537   KERMONT        BUCHANAN                   NV     90011118868
994B23A2A2B891   DANNY          SUMMERS                    ID     90002203020
994B2424131465   DARLENE        MCKINNEY                   MO     90006154241
994B2946691599   JESSICA        GARCIA                     NM     75041159466
994B3188972B24   RETHA          BYROM                      CO     33006761889
994B3382791882   SISSI          REYES                      OK     90009983827
994B3616172B32   JESSICA        GARCIA                     CO     33035166161
994B3769A91599   JESUS          GONZALEZ                   TX     90009337690
994B3832797B61   DARA           KAPSON                     CO     90015128327
994B3949961971   SHEILA         SIMSUEANGCO                CA     90012909499
994B4187155951   GLORIA         BENITEZ                    CA     49084011871
994B429995B548   ERIC           GIOVANNI                   NM     90010842999
994B4434973297   LIN            LOPEZ                      NJ     90014824349
994B4714881634   HILDA          GOMEZ-MARTINEZ             KS     90013697148
994B474742B891   JOCELYNN       GARCIA                     ID     90012447474
994B4922497B59   EZEQUIEL       MARTINEZ                   CO     90007849224
994B5568477537   BIANCA         MANRIQUEZ                  NV     90012835684
994B598175713B   YAMA           NOORI                      VA     90014259817
994B6128391599   PIZARRO        ALFREDO                    TX     90010871283
994B6366691599   JAVIER         SALINAS                    TX     90013903666
994B652715B399   PAMELA         BARNES                     OR     90014025271
994B6952172B62   JOSEPHINE      LOPEZ                      CO     33046369521
994B7148297B61   MARTIN         PEEL                       CO     90012931482
994B72A264B949   SHERRY         CLEMONS                    TX     90012862026
994B742795B548   VICTORIA       LOBATO                     NM     90008944279
994B7697A41296   VERONICA       JOHNSON                    PA     51098436970
994B7863798B72   ANA            GUTIERREZ                  NC     90013398637
994B8472172B62   JOAQUIN        JUAREZ                     CO     90008894721
994B8631381634   LUIS           FLORES                     MO     90004796313
994B916A281634   MICHAEL        BURNS                      MO     29001351602
994B924A877537   MARIA          SOLIS                      NV     90012522408
994B9585361971   JEANETTE       JIMENEZ                    CA     46007045853
994B9651A2B891   SHARON         MCNEAL                     ID     90014186510
994B9892472B42   CHRISTIAN      SOZA                       CO     90011668924
994BB313472B22   ROBERTO        FLORES                     CO     90012533134
994BB521872B62   TARA           CLARK                      CO     33038855218
994BB58718B175   LARRY          VALDEZ                     UT     31073175871
994BB646281635   MCICO          JOHNSON                    KS     90013266462
9951118134B949   GWEN           MIDLLIFF                   TX     90013171813
99511521772B42   SANDRA         RIVAS                      CO     90007675217
9951243113164B   MARY           ADAMS                      KS     22027064311
9951269A155951   SALVADOR       GARCIA                     CA     90000396901
995129A5597B61   BLANCA         SANCHEZ                    CO     90013549055
99513287A91599   MARIA          RENETERIA                  TX     90012742870
9951348445B383   MIKHAIL        YASINSKIY                  OR     44560974844
9951363128B175   AMANDA         MACE                       UT     90004646312
9951363872B891   JACOB          LEBLANC                    ID     90009596387
99514311A97B61   DOUGLAS        COLLINS                    CO     90014393110
99514A74772B26   KATHLEEN R     STRUNA                     CO     90005800747
9951577347B444   LESLIE         BEASLEY                    NC     90012577734
99515798A3164B   ELIZABETH      SLIETER                    KS     90005877980
995158A4472B22   WENDY          GARAY                      CO     33060158044
99516159972B56   SANCHEZ        FIDEL                      CO     90010451599
99516386272B62   GUADALUPE      MUNOZ                      CO     90011313862
9951663345B548   SELINA         ROBLES                     NM     90008396334
9951663953164B   WILBERT        BOND                       KS     22035086395
995169A5597B61   BLANCA         SANCHEZ                    CO     90013549055
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1889 of 2350


99517311A97B61   DOUGLAS      COLLINS                      CO     90014393110
99518885172B97   DENNIS       BRODERICK                    CO     90000808851
99519A66681635   ANDARI       CARTER                       KS     90009370666
99519A94593755   LAKUAWN      NEWLAND                      OH     64529140945
9951B66178B175   GARY         ADAMS                        UT     90008166617
9951B763972B24   VINCENT      FUENTES                      CO     33088837639
9952156727B444   WILLIE       WILSON                       NC     90014925672
99521579997B59   IGNACIO      ZARATE REYES                 CO     90002855799
9952213A43164B   DEVIN        YOUNG                        KS     90005381304
9952238297B398   GLORIA       GONZALEZ                     VA     90014763829
995224AA581635   JOSHUA       COY                          MO     90014244005
9952259A34B949   DOMINIQUE    RELFORD                      TX     90013655903
9952263243164B   SHARON       HARBIN                       KS     90014866324
99522969998B94   QUINDELL     JOSEPH                       NC     90013019699
9952326A961971   ROSA         MARTHA SAAVEDRA              CA     90009252609
995233A4797B61   BELINDA      TRAMBING                     CO     90003703047
9952369794B588   APRIL        ARMENDARIZ                   OK     90003656979
99524292472B42   HERMILA      LUJAN                        CO     33014222924
995245A1681672   STEVEN       FULTON                       MO     90013845016
9952478A35B535   ANDREW       GARCIA                       NM     90008027803
99524895772B32   PORFIRIO     CRUZ GALVAN                  CO     90015178957
9952592253164B   JESSICA      DIDACIE                      KS     90011899225
9952597425B383   JESSICA      KELLER                       OR     90000539742
99526147572B26   RAMON        MARTINEZ                     CO     90004501475
99526286333B32   WAH          SAY NAY                      OH     90014322863
9952736317B444   SARON        MONTGOMERY                   NC     90014273631
99527A76197B59   JOHNATHAN    BENSON                       CO     90012380761
99528117272B32   FLOR         BEAL                         CO     33059831172
99528242172B24   MANUEL       GONZALEZ                     CO     33006202421
9952872883363B   KIMBERLY     DIOP                         NC     90008587288
9952931724B588   JULIO        GARAY SALINAS                OK     90013473172
9952939412B891   ERICA        PINEDA                       ID     90014013941
99529554172B22   FADHILA      LEKMINE                      CO     33090175541
9952979574B54B   DEMETRIA     GOODLOW                      OK     90001487957
9952994167B444   JEREMY       FRANKLIN                     NC     90014729416
99529A12181634   TERESA       THOMAS                       MO     29044980121
9952B641A72B22   ANAH         CARDENAS                     CO     90014646410
9952BA9A697B61   KRISTEN      STEVENS                      CO     39080350906
9953139134B588   BRANDE       KISER                        OK     90012963913
9953142945B383   PETER        ROSSING                      OR     90008824294
99531728197B59   CAROL        YOUNG                        CO     90013887281
9953226288B175   MICHEAL      SMITH                        UT     90011962628
99533381597B61   JESUS        FREGOSO                      CO     39018003815
99533444972B22   BERENICE     ARCHULETA                    CO     90004504449
9953348225B531   NAOMI        ANGEL                        NM     90014134822
99533643472B26   CHARLES      TURNER                       CO     33057466434
9953373457B444   LUCANIA      LANIER                       NC     90010937345
9953376465B241   SHERYL       BITELY                       KY     90000887646
99533957A91951   JAMES        BOWMAN                       NC     90006919570
99534313572B32   JUAN         GONZALEZ                     CO     90013913135
995345A524B554   GUY          DESHAZO                      OK     21545135052
99534AA455B383   GALEN        BURNS                        OR     90012590045
9953556A972B26   LORRIE       LEAL                         CO     90004425609
9953571942B891   ROCIO        REYES                        ID     90012417194
99535879A72B22   JONATHAN     STERLING                     CO     90002388790
99535935A72B53   ANNORA       OLATUNJI                     CO     90013229350
9953661668B149   JESSICA      KILPATRICK                   UT     90010156166
9953673A97B444   ERIK         JACKSON                      NC     90014517309
9953674638B175   MARNIE       TIMMS                        UT     90007347463
995368A2772B32   KIMBERLY     KIMBER                       CO     90012828027
99537326A72B32   RAY          GARCIA                       CO     90013723260
995379A744B588   CATHERINE    GABRIEL                      OK     90007379074
995381A443164B   LOURELLA     VAUGHN                       KS     90008571044
9953823517B444   CARMICHAEL   STREETER                     NC     90010452351
9953836A191951   GABRIELA     ROMENS                       NC     90013933601
9953846AA81635   MARIAN       BELL                         MO     90014554600
9953931A54B588   JULIO        HERNANDEZ                    OK     90008993105
9953939628B175   MARIA        ARELLANO                     UT     31095453962
99539891272B32   SPENCER      BARRETT                      CO     33067198912
9953B28A48B175   AMBER        THOMAS                       UT     90012902804
9953B44172B891   PHILLIP      CABRERA                      ID     90013424417
9953B491A41296   JACKIE       JONES                        PA     90012944910
9953B5A1A4B949   LINDA        WELLS                        TX     90002985010
9953B684672B22   BLANKLEY     RAY                          CO     90014126846
9953B84A24B588   LOLA         SMITH                        OK     90005988402
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1890 of 2350


9953BAA4693755   ISAAC           WILDER                    OH     90009970046
9954142564B588   MANDA JANE      MACIAS                    OK     90012884256
99541475772B24   NANCY           RIVERA                    CO     90012964757
99542771597B59   CYDNEY          MARTIN                    CO     90013157715
9954344912B891   LORANA          VAZQUEZ                   ID     42065824491
9954348A85B383   ANTHONY         JAGER                     OR     44528604808
99543539472B62   ANTONIO         PEREZ                     CO     90011445394
9954398875B531   CINDY           MIRANDA                   NM     35010539887
9954445674B949   MARIA           ULIN                      TX     90012304567
9954483995B383   MISTY           DUFFY                     OR     90012638399
995448A6A91579   MICHELLE        REYES                     TX     75057478060
99545365772B24   LEEANN          BROWN                     CO     33088003657
99545A24641296   DONNA           FITZGERALD                PA     90003590246
99546131772B62   BRENDA          CASTRO                    CO     90008571317
99547151436B44   RICARDO         ALANIS                    OR     44507121514
99547618872B24   JUAN            RAMOS                     CO     90011866188
99547721A55951   ANGELA L        GROSE                     CA     90014977210
99547762172B22   ERNESTO         ZEPEDA                    CO     33088617621
99547771697B61   JERAN           KRAUSE                    CO     39005697716
995479A5A76B98   ARMANDO         VILLAFONA                 CA     90014779050
99548462397B59   CESAR           ZAVALA                    CO     90012084623
9954855823164B   JACK            SIMPSON                   KS     90012045582
99548853397B61   JOSE            REYES                     CO     90014848533
9954896355B548   NANCY           HERNANDEZ                 NM     90013799635
9954963745B383   GLORIA          MARCELINO                 OR     44559406374
99549A2463362B   EMMANUEL        CLARK                     NC     90001380246
99549A63772B62   MARCEY          GOLDIS                    CO     90007450637
9954B792572B62   ASHLEY          JUDKINS                   CO     90012627925
9954B959A61558   VICTOR          LOPEZ                     TN     90014779590
99551668A77537   FRANCISCO       CERVANTES                 NV     43061556680
9955195572B891   DORA            STINNETT                  ID     42090479557
99554196A77537   JOSE            GATICA                    NV     90012491960
99554368A91951   ANA             MARTINEZ                  NC     90013933680
9955496865B548   FIDEL           CASTRO                    NM     35021919686
9955527745B548   COLTON          BLACK                     NM     35048202774
995554AA772B24   FANNY           CABRERA                   CO     33070444007
9955624764B588   ALEXANDER       LOPEZ                     OK     90011372476
99556477572B32   PAUL            SCHULZ                    CO     33067714775
995564A1177537   AZUCENA         REAL-CASTILLO             NV     90000444011
995569A5191599   JOSEFINA        DE ANDA                   TX     90007999051
995576AA672B62   ANDREW          HERNANDEZ                 CO     90003926006
99558463797B59   BARBARA A       MORGAN                    CO     39017164637
99559288597B59   TERRI           WADENA                    CO     39091722885
99559342872B22   JOSGE ALBERTO   MORALEZ DIAZ              CO     90006813428
99559697A5B383   LAMONICA        WALKER                    OR     90000496970
99559792172B32   JUDITH          IRONWING                  CO     90012377921
9955985695B386   BJARNE          FROJD                     OR     90012468569
9955B278A97B61   JOSHUA          MORGAN                    CO     90011582780
9955B462781635   BRITNEY         RUTH                      MO     90014614627
9955B725961988   JUAN            OCAMPO                    CA     46067267259
9955B74614B588   JESSIE          BURNS                     OK     90011127461
99561232A41296   LYNN            HULINGS                   PA     90008742320
9956132725B531   RANDY           SNEDDY                    NM     90013343272
99561399972B22   MONIQUIE        OBARSKI                   CO     90007473999
99561485A7B444   CHRISTIAN       GUERRERO                  NC     90013414850
9956152435B548   ANTONIO         LOVATO                    NM     90003525243
99561552297B59   ALEX            GARCIA                    CO     90003405522
9956158A697B61   ALFONSO         TOVAR                     CO     90011615806
9956248158B175   SHAKER          AL-DIKHIL                 UT     90013164815
99562711A8B849   VICTOR          KURESA                    HI     90015237110
99562813972B32   JOSE            ANGULO-RIOS               CO     33089098139
995629A5191599   JOSEFINA        DE ANDA                   TX     90007999051
99563427A2B399   JONETTE         CIRANO                    CT     90010934270
9956382485B383   RANDY           VOLK                      OR     90001228248
99564221A72B62   DANA            THOMAS                    CO     90009022210
99564654772B24   MANUEL          QUINONES                  CO     90014786547
99564942497B59   JESSICA         BENAVIDEZ                 CO     90010579424
9956521728B175   CARL            GIAMBONI                  UT     90011912172
99565394472B26   ALBERTO         CAMPUZANO                 CO     33090223944
99565447A97122   BRANDI          BORN                      OR     90006854470
9956575877B444   ASHLEY          RETTIS                    NC     90009247587
99566848A2B891   HRAFNHILDUR     CARLSON                   ID     90015208480
995672A5672B32   JOSH            WASHINGTON                CO     90010092056
995673A6555951   KASSANDRA       ORTEGA                    CA     90014083065
9956747394B588   ELMER           RODAS                     OK     90012494739
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1891 of 2350


9956758989184B   MICHAEL      MULLAENAX                    OK     90001655898
99567A55997B61   APOLINARIO   ROMERO                       CO     39080370559
99567A67377344   JOSE         CEPEDA JR                    CO     90007060673
9956923618B175   LARLA        ABBOTT                       UT     90013412361
9956B283497122   MATT         CALKINS                      OR     90006852834
9956B73275B383   APRIL        JAMES                        OR     90015237327
9956B76558B175   MITZY        RODRIGUEZ                    UT     90004627655
99571274772B22   ZARATE       LIDIA                        CO     33041742747
99571413172B56   DANIEL       VARGAS                       CO     33077364131
9957146437B444   DEMETRA      F BALDWIN                    NC     90001064643
99573A95A5B548   SUSAN        KUROSU                       NM     90015350950
99574865272B22   BLAS         OTERO                        CO     90014698652
995748A5A93755   NIKLA        TRAMMELL                     OH     64525488050
99575343597B59   RACHEL       BACCA                        CO     90014373435
995753A6672B24   CORIE        CASHMAN                      CO     90002953066
99575898497B61   ROBIN        ZINN                         CO     39069898984
99575A14272B22   SALVADOR     CORDOVA                      CO     33044870142
99576581A97B61   HEATHER      BLUEL                        CO     39080375810
99576A5725B548   JUSTIN       QUINTANA                     NM     90011450572
99577857272B97   LAURA        MARTINEZ                     CO     90012478572
99577A9314B949   COURTNEY     RICHMOND                     TX     76509650931
99578638872B42   KARI         MACAULEY                     CO     90000526388
9957886A87B39B   WILLIAM      LOPEZ                        VA     81016518608
995788A3A4B588   MESIELE      SERVANTES                    OK     90015318030
9957922658B185   BRAIDEE      SHAW                         UT     90009032265
99579646972B22   ALEXIS       LOPEZ                        CO     90013716469
9957B374763621   CHARLES      RUNNELS                      MO     90005853747
9957B466A57132   MARIA        SANTOS                       VA     90014734660
9957B74414B949   ANTOINEO     HERNANDEZ                    TX     76513807441
9957BA21A3164B   GORDON       BRIDGES                      KS     90012220210
99581233A4B949   DESIREE      IRVING                       TX     90014272330
9958156925B531   SADANANDA    ACHARYA                      NM     90009135692
9958255243164B   CYRUS        JONES                        KS     22074875524
99582745772B32   ANGELIC      VIGIL                        CO     90014147457
99582832872B24   MIKE         HERRERA                      CO     90011098328
995829A5A97B61   DEREK        SMITH                        CO     90014849050
99583161572B22   KIMBERLY     HERNANDEZ                    CO     90010581615
9958349444B588   PATRICK      JORDAN                       OK     21526194944
99584468A91599   ADRIAN       GALINDO                      TX     90014754680
9958524A597B59   JASON        TURGEON                      CO     90012412405
99585362872B24   CARMEN       LAWRANCE                     CO     90013833628
99585532472B22   TANISHA      RANDALL                      CO     90012835324
9958554474B556   SPENCER      HARRELL                      OK     90013695447
99585984172B24   JOHN         GARCIA                       CO     90014179841
99586236772B22   KEVIN        BREITKREUTZ                  CO     90014132367
99586A65A3B334   MARIA        MONTORO                      CO     90008870650
9958765A797B59   KAREN        CORONA                       CO     90014466507
9958782154B554   MELINDA      HILL                         OK     90005198215
99587A7A577537   JUSTIN       HARMAN                       NV     90014530705
9958832252B891   CHRISTINE    BENNETT                      ID     90000673225
9958854A297B61   JUAN         SALAS                        CO     90015495402
995887AAA5B548   NAYELY       LAZO-LUJAN                   NM     90008397000
99588863372B62   PAOLA        GOMEZ                        CO     90014538633
99589297472B62   ANNETTE      ORTIZ                        CO     90001612974
9958935854B949   DAMIAN       LEAN                         TX     90014323585
9958954952B862   JOSE         CAPUCHINO                    ID     42016105495
9958B325A97B61   JAMES        WILLIS                       CO     90015163250
9958B6A5372B62   ANGGARESTI   VO                           CO     90014826053
99591135472B24   GEUILLERMO   GUTIERREZ                    CO     90013371354
99591A21391599   NATALIE      NUNEZ                        TX     90008970213
99591AA5141296   DELICIOUS    WILLIAMS                     PA     51072940051
99592826A91599   SYLVIA       HERNANDEZ                    TX     75024468260
9959292A597B61   ALLISON      RODGERS                      CO     90010759205
99593238972B62   CHRISTINE    RUSSELL                      CO     33043542389
99593652172B32   CHARITY      SALAZAR                      CO     33070316521
99593855172B24   JOE          SANCHEZ                      CO     90009238551
99593A69874B27   BRIAN        WILSON                       OH     90015310698
99594461A93741   JILL         FRIES                        OH     90012524610
9959476764B588   CHRISTOPHE   BUCKMASTER                   OK     21526197676
99595261A5B153   REGINALD     WOOPS                        AR     90013712610
99595567697B61   GREGORY      DESHAZER                     CO     90011345676
9959596864B949   SAMUEL       JOHNSON                      TX     90010539686
9959763A251334   CARMEN       BAKER                        OH     90008716302
9959775377B46B   DALIA        VILLATORO                    NC     90000347537
99598243197B59   CLAUDIO      LOAIZA                       CO     90013422431
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1892 of 2350


99598593772B22   BUDHI        TAMANG                       CO     90015045937
99599462872B22   JANELLE      CHILLIS                      CO     90011144628
99599613A72B42   NICHOLAS     GARCIA JR                    CO     33011906130
99599823872B24   BERINICE     SALAS                        CO     90014048238
99599922772B32   DIANE        STEWART                      CO     33016819227
99599A7137B444   BOBBY        YOUNG                        NC     90009970713
9959B241A91599   VICTOR       GARCIA                       TX     75023202410
9959B32655B383   CAMILLE      JONES                        OR     90015183265
9959B678597B61   JAMIE        GINGERY                      CO     90002316785
995B1185461971   MANNY        CAPERON                      CA     90013111854
995B161115B548   JOHN         SMITH                        NM     90015026111
995B1696881639   CALVIN       RIGNEY                       MO     90012216968
995B1785993755   MEELANA      LYLES                        OH     90015087859
995B17A5941296   KAREN        SKLENKA                      PA     51038897059
995B1961972B32   AGUILLARD    GUIDOA                       CO     33020159619
995B1A9652B891   GENIECE      BOEHNLEIN                    ID     90014780965
995B2434241296   TYRA         PENNIX                       PA     90014844342
995B259797B444   SHAYLA       RICHARDS                     NC     90014715979
995B265944B949   CHRISTINE    DEBINE                       TX     90014826594
995B2A5827B457   ANA          MONDRAGON                    NC     90012510582
995B3873972B22   JUAN         MONTOYA                      CO     33014068739
995B3882972B26   DARLENE      MONTOYA                      CO     33067208829
995B3A6182B891   ARON         HOLM                         ID     90009500618
995B4129972B22   DAWN         BEACH                        CO     90010581299
995B4193197B61   ROCIO        VARELA                       CO     39042971931
995B41A1172B56   MOLLY        WENZ                         CO     33004991011
995B4212172B32   KNIFFEN      WILL                         CO     33007162121
995B4224491599   MANUELA      MARISCAL                     TX     90015202244
995B4434697B59   CESAR        DE LA TORRE                  CO     90013244346
995B49A9693755   DAVID        FERGUS                       OH     90011919096
995B4A61941296   MEGHAN       GATTS                        PA     90014650619
995B535242B891   MELISSA      DUFF                         ID     42045813524
995B552495B531   JACK         DANIELS                      NM     90010735249
995B57A7897B61   ELIZABETH    DEEMING                      CO     90012627078
995B5A38A5B548   CAROL        LOPEZ                        NM     35057200380
995B626287B359   ORLANDO      LINARES                      VA     90000632628
995B6397657196   JONATHAN     KENNY                        VA     90005533976
995B652868B175   ZACHARY      MOORE                        UT     90014905286
995B6872755951   ISAAC        SCHOOLEY                     CA     49046848727
995B7128591951   KENNETH      MCCLAIN                      NC     90008971285
995B7161572B32   REYNA        CASTILLO                     CO     90007911615
995B7226697B61   RAYMOND      ALFARO JR                    CO     90009592266
995B7469555951   CHRISTINA    IMELL                        CA     49027854695
995B7544572B24   ALBINO       TEHUACANERO                  CO     33054135445
995B774232B891   JUDITH       CALDERON                     ID     90003737423
995B7A7867B444   JAMES        HOYLE                        NC     11001230786
995B8128197B61   FIDELA       HERNANDEZ                    CO     39065611281
995B8886A72B62   KATHLYNE     MERRYMAN                     CO     90013768860
995B9145793755   ALISA        STONE                        OH     90009391457
995B9A74197122   FRED         COURTNEY                     OR     90006850741
995BB454A97B61   PAULINA      VASQUEZ                      CO     39080344540
995BB56AA5B548   ANGELIQUE    HERRERA                      NM     90009035600
995BB849781635   CHRISTY      BAILEY                       MO     90014758497
995BBA37797122   ROSMERI      GUSMAN                       OR     90006850377
99611A31172B22   ALFONSO      MARQUEZ                      CO     33066880311
99612326A72B32   RAY          GARCIA                       CO     90013723260
996124A8191599   GUADALUPE    IGLESIAS                     TX     75015104081
9961271574B588   SHENNA       THOMAS                       OK     90010787157
996133A3172B22   MARK         ESPINOSA                     CO     90014243031
9961366A25B531   ELISA        CREMER                       NM     90007526602
9961384A977537   CECELIA      WEISS                        NV     90013538409
99613853497B59   DAN          HOLLAND                      CO     90014858534
99613A79897B61   CESAR        GARCIA                       CO     90014180798
996142A8197B61   SHANIA       CORDES                       CO     39082122081
9961446AA81635   MARIAN       BELL                         MO     90014554600
9961494933164B   CHRIS        SCHMIDT                      KS     90013009493
99614A18372B62   JOSEPH       MORENO                       CO     90013760183
99615414272B62   ELIZABETH    MORTENSEN                    CO     33086904142
99615533772B26   BRITTANY     SMITH                        CO     90011705337
9961555637247B   TICARA       BOARD                        PA     51088325563
9961579A197B59   JULIANNA     CORTEZ                       CO     90000347901
99616171272B22   JOB          MARTINEZ                     CO     90011351712
99616727153B2B   CHENELLE     CROFF                        CA     90013907271
99616836A72B24   APRIL        ROSALES                      CO     90012268360
9961765A491599   JORGE        SUSTAITA                     TX     90010836504
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1893 of 2350


9961822A597122   STEPHANIE     HARRIS                      OR     90012792205
99618459172B42   JESUS         CACHO                       CO     90009064591
996185A5291889   JOSE          ACOSTA HERRERA              OK     90014525052
99618655A4B551   SHAWN         BRYANT                      OK     90011496550
9961867898B175   JOSEPH        URBAN                       UT     90011476789
9961894763B335   ENJOLI        BRUNS                       CO     90007769476
99618A4272B891   ADAM          ALLEN                       ID     90011680427
996191A913164B   CHRISTINE     MCINTOSH                    KS     22024001091
9961976927B444   HUGO          VILLAGREZ                   NC     90013177692
9961B3A933B351   JAMES         MCNEIL                      CO     90009083093
9961B52855B383   CHRISTOPHER   GOULD                       OR     90012185285
9961B953572B62   LETICIA       GASPAR JUAREZ               CO     33007319535
9961BA97891599   JORGE         GUERRERO                    TX     90013930978
9962114564B977   BEULAH        VITAL                       TX     90002071456
99622376797B59   TAYLORE       FLORELL                     CO     90008503767
9962255753164B   CASARA        FLORES                      KS     90014935575
99622953A4B277   MONA          LOWERY                      NE     27096099530
99622A2455B548   JANICE        ATCHLEY                     NM     35023050245
99622A5585B383   SCOTT         CLAUS                       OR     90014100558
996231AA97B444   STOWE         JANELLE                     NC     11075981009
99623576397B61   FRANCINE      AMADO                       CO     39055155763
9962366A755951   RICHARD       HER                         CA     49091096607
99623781372B24   ALMA          FLORES                      CO     33034827813
99625376797B59   TAYLORE       FLORELL                     CO     90008503767
99625468A91599   ADRIAN        GALINDO                     TX     90014754680
9962553914B588   PAUL          LACK                        OK     90014545391
9962554725B548   MICHAEL       ROBERTS                     NM     35092845472
99625783597B61   NINFA         REYES SANCHEZ               CO     90006797835
99625A73297B59   JOSE          ALDANA                      CO     90011930732
9962653785B531   GLADIS        ROSALES                     NM     90012305378
99626886172B32   WAYNE         KIRKPATRICK                 CO     33073008861
99626A3555B548   HANNA         SMITH                       NM     90012980355
99627591A41296   EMANUEL       HOUSTON                     PA     90013825910
996275A635B383   ASCENCION     CARMNA CERVANTES            OR     44566265063
99627847A5B548   ANNETTE       NESTOR-MENDOZA              NM     35078338470
99628442797B59   RENE          PARRA                       CO     90013894427
99628469A72B62   MYRIAM        OJEDA                       CO     33006064690
9962895322B891   PABLO         YEBRA                       ID     42003599532
99629A9224B554   JERRELL       BROWN                       OK     21509070922
9962B214377344   STEVEN        SHELTON                     IL     90004342143
9963117455B531   ANGELA        SALAS                       NM     90013611745
99631554672B26   STEVEN        CHARLES                     CO     90009675546
9963174A477537   ALEJANDRO     RODRIGUEZ                   NV     90003467404
9963381942B891   JENNIFER      MERCER                      ID     90012598194
9963585A14B588   MATHEW        NICKERSON                   OK     90013688501
99636267A5B531   MARISA        MORALES                     NM     35077822670
9963645578163B   PENNY         GRISWOLD                    MO     90014554557
99636A3718B175   FAITH         MMBOROTHI                   UT     31031640371
9963725435B531   ERIKA         ESTRADA                     NM     35075662543
9963732A672B32   KRISTIAN      NORRIS                      CO     90014353206
99637A44721771   SCOTT         PRINCE                      IL     90015300447
99637A8212B891   STEVEN        JOHNSON                     ID     90015190821
9963884568B175   JOSEPH        DIAZ                        UT     90012928456
99639613172B22   TASHAUNA      BECKAHAM                    CO     90012296131
9963B153697B61   JOEL          GUTIERREZ MONTANEZ          CO     90012771536
9963B78152B98B   ANA           NOYOLA                      CA     90011377815
99641168972B22   JORGE         DOMINGUEZ                   CO     90011971689
99641355572B62   BLANCA        DUARTE                      CO     90013963555
996414A9972B62   JULIO         SALAS                       CO     90010904099
9964239717B389   BOBSON        BANGURA                     VA     81036533971
99642469A2B891   MARCUS        DOUTHIT                     ID     90005144690
99642791972B24   ANNETTE       ORTIZ                       CO     90009837919
996427A3A5B548   MARCOS        LEGARDA                     NM     90013397030
9964281817B444   TRAVIS        HAWARD                      NC     11084778181
99643673A71945   WINSTON       DOEMAN                      CO     32063496730
9964411A851341   PATRICIA      CHILDERS                    OH     66047941108
99644489A81635   RODNEY        ANDREWS                     MO     90014674890
9964532358B175   MICHAEL       HERRERA                     UT     90009943235
99645547A51386   ELAINE        EVERSOLE                    OH     90013495470
99645757A81634   SELENE        MALDONADO                   KS     90011567570
9964611738B175   ANGELA        LOSCHER                     UT     90013451173
9964624A991599   BRYAN         BARRON                      TX     75027262409
9964728A34B588   RAYNESSA      RENTIE                      OK     90011192803
9964755895B153   KULUWAIMAKA   ANDERSON                    AR     90006355589
99647581A33633   TREMAYNE      BLACKWELL                   NC     90011205810
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1894 of 2350


99647863972B22   JOSE            HERNANDEZ                 CO     33013198639
996488A655B548   BARBARA         KEADY                     NM     35028588065
99649337A5B383   JENNIFER        DIETL                     OR     90007863370
99649347872B32   ALEXANDRA       SILVA VOLPE               CO     90013103478
9964B151972B24   CESAR           ROJAS                     CO     90000251519
9964B765791599   REBECCA         SALGADO                   TX     90003027657
9964BA65555951   FREDRICK        MITCHELL                  CA     49093380655
9964BA7435B548   CHRISTINE       LOVATO                    NM     90008770743
9965123755B383   KENDRA          LIPOWSKI                  OR     90014482375
9965123A177537   JAMES           WILSON                    NV     43043722301
9965232642B891   HASIBULLAH      ALAMI                     ID     90008333264
9965247A593755   JOSEPH          FRITZ                     OH     64535224705
99652631A5B548   ERNESTINE       FRANK                     NM     90014946310
9965285515B383   LAURA           PENNINGTON                OR     44597118551
9965311844B949   MICHAEL         BRISENO                   TX     90012051184
996532AAA91951   RHONDA          SLOAN                     NC     90013372000
996534A3A97B59   EVA             TJADEN                    CO     90000904030
9965568632B891   DEANNA          NAVA                      ID     90012706863
99656993A91951   MILLICHE        SEABROOKS                 NC     90009559930
9965759638B175   DANIEL          BAICH                     UT     90014615963
99658274233B55   SHANELLE        CLINKSCALE                OH     90011582742
9965834392B232   DEBORAH         ASMITH                    DC     90000233439
99658452A91599   CYNTHIA         BARRAZA                   TX     90012084520
9965847A681634   SHERRY          LOVE                      MO     90008284706
9965927958B175   SAIL WITH       SEA MONKEYS               UT     31075002795
9965961647B444   LARRY           CALDWELL                  NC     11036316164
996596A2772B42   FERMIN          RAMOS                     CO     33095166027
9965989125B591   JARENDA         ORTIZ                     NM     90010178912
9965B499591599   JORGE           MARTINEZ                  TX     90012784995
9965B699481634   BRIAN           WILSON                    MO     29001236994
9965B6A2177537   MARY            CLEMENSEN                 NV     43091016021
99661284772B29   MARGARET        WILLIAMS                  CO     90013902847
99661347772B62   MARVIN          NEWTON                    CO     90015123477
9966177855B531   HEIDI           LISA                      NM     90011307785
9966177A481635   VICTOR          MAKRIS                    MO     29004587704
996618A9172B22   BENNETTE        WATTS                     CO     33084498091
99661A56993746   ROBYN           WALLACE                   OH     90011810569
99662A35277537   JADA            SUTTON                    NV     90012800352
996641A615B548   DIANA           COLE                      NM     35079641061
9966464958B175   ANGEL           PINEDA                    UT     31098886495
996651A615B548   DIANA           COLE                      NM     35079641061
9966559413164B   HAROLD          KOVACH                    KS     90013305941
99665A3678B175   LETICIA         PEREZ                     UT     90009480367
996667A9872B4B   LUIS            AGUILAR                   CO     90008027098
99666A98A8B197   WOOD            RODGER                    UT     31098870980
996673A5997B59   DESIREE         GROSSETETE                CO     90000533059
9966812178B175   BRITTANY        WALTON                    UT     90014291217
99668A16155951   TROY            RECTOR                    CA     49076910161
99668A3A472B84   ALFREDO         JIMENEZ                   CO     33012550304
99668A49A81635   DAVID           BROWN                     MO     90013350490
99669159872B24   CLIFFORD        MORADO                    CO     90013021598
9966966225B383   BRADLY          TITUS                     OR     90001586622
9966995155B548   DANNY           GLASS                     NM     90003049515
996699A3997B61   MIRYAM          HERNANDEZ                 CO     39054909039
99669AA5181635   MARY            SMITH                     MO     29096140051
9966B6A1772B22   DANNY           TORES                     CO     90004896017
9966B765A72B24   MAYTHE          ESCALANTE                 CO     90010417650
9966B851872B24   RAUDELIO        HERNANDEZ                 CO     90011098518
9966B93A48B175   OCTAVIO         HERNANDEZ                 UT     90009309304
9966BA32A7B444   DEWAYNE         CHAVIS                    NC     90013020320
9967158195B531   ANDREW          GALLEGOS                  NM     90012155819
99671A4145B384   ISAIAH          RITCHEY                   OR     44074660414
9967241562B891   MIRANDA         RINEHART                  ID     90008454156
9967349A891599   LIZZETTE        VALDEZ                    TX     90012644908
9967375914B554   MEREDITH        BRITT                     OK     21597167591
99673974272B62   CARLOS          RUIZ                      CO     90013239742
99673A8A281634   MICHAEL         KELLY                     MO     90011240802
9967414424B588   JESSICA         JETTON                    OK     21577111442
99674221197B61   ANGELA          BURGOS                    CO     39003272211
99674239472B62   MARIA EUGENIA   TREJO SALAZAR             CO     90009022394
9967452A15B531   DIANA           ANTILLON                  NM     90014155201
99675193572B24   MARCY           ROBY                      CO     90012341935
9967538715B531   KRISTIN         MELTON                    NM     90006433871
99675455672B62   KRISTOPHER      BRONISH                   CO     33000574556
99676325172B24   ROBERTA         JARAMILLO                 CO     33039723251
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1895 of 2350


9967661595B383   SOFIA        VELA                         OR     44515756159
996773A1677537   LISA         MCILRAITH                    NV     90014563016
99677518272B24   PHAT DADDY   DADDY P                      CO     90006315182
99677A9442B241   ANITA        SHORT                        DC     90011870944
99677A9932B241   ANITA        SHORT                        DC     90008050993
9967872574B588   JANELLE      YOST                         OK     90015137257
99678A21372B22   EMILIO       RODRIGUEZ                    CO     90015200213
99678A2843164B   FAYE MARIE   MILLS                        KS     22084250284
9967973A37B444   ALICIA       CLAY                         NC     90011427303
99679877A72B32   JENNIFER     WILLIAMS                     CO     90012278770
9967B255891951   TONYA Y      COLE                         NC     17008282558
9967B333261969   KENNETH      ANDERSON                     CA     90007293332
9967B67788B352   ARTHUR       BEATLEY                      SC     90014216778
9967B789681635   JOHN         WILLEY                       MO     90014437896
9967B98713164B   SHAUNNA      TAYLOR                       KS     22004179871
9967B9A1377537   BRIAN        CRUZ                         NV     90012649013
99681A58572B32   AUBREY       BONILLA                      CO     90013410585
9968338317B444   THOMAS       TOMLIN                       NC     11012733831
99683547A97B59   REBECCA      BRUNSON                      CO     90010555470
996835A138B187   SCOTT        STAKER                       UT     90010865013
99683818A72B32   MARLEN       MENDOZA                      CO     90015228180
9968382475B383   SEAN         OLIVIER                      OR     90012178247
9968417825B548   BETTY        CANDELARIA                   NM     35070691782
99684537397B59   MARGARITA    GUTIERREZ                    CO     90013935373
9968495378167B   ERIC         SANDERS                      MO     90014069537
99684A9A44B588   DORA         LOPEZ                        OK     90002030904
996851A1991599   LEONARDO     MENDEZ                       TX     90005111019
9968543357B424   JONATHAN     ALCALA                       NC     90001204335
99685757772B24   VERONICA     ORTIZ-ORTIZ                  CO     33065047577
9968592994B949   LONNIE       JOHNSON                      TX     90014509299
9968599694B588   BRITTANY     NAPOLEON                     OK     90006749969
99686487A55951   ROGELIO      HERRERA                      CA     49086384870
99686546772B62   DONALD       GONZALES                     CO     90011445467
996865AA272B24   SALLY        BRAUCH                       CO     33000735002
99686A87791599   TINO         RAMIREZ                      TX     90013080877
99686A9784B588   KEITH        MCGEE                        OK     21572640978
9968777115B531   SANDRA       SEYMOUR                      NM     35043137711
99687894172B26   STACEY L     DEKRAKER                     CO     33049918941
99687932A91951   JAMIE        THAXTON                      NC     90012099320
99687A74381635   ALEXIA       SCOTT                        MO     90014310743
9968814A87B444   CHANIQUE     SMITH                        NC     90006701408
99688559472B62   ANGELA       MASBY                        CO     33030045594
99689889A72B22   EVA          MILLAN                       CO     90013458890
9968B226355951   DIANNE       TOWNSEND                     CA     90011502263
9968B238341284   DONALD       RUSCHAK                      PA     90014182383
99691341A4B949   VIRGINIA     PRICE                        TX     90014753410
9969149757B444   THOMAS       COX                          NC     11072664975
996915A4972B26   JIM          SANDERS                      CO     90009185049
9969297865B548   MIRIAM       DELGADO ARRIETA              NM     90013799786
9969314735B531   VANESSA      RUIZ                         NM     35005951473
9969342A697B61   ANTONIO      RAMIREZ                      CO     39043364206
99694346797B61   LIZ          CALDERON                     CO     90010173467
99694491497B59   ANGELICA     MARGARITA                    CO     90013894914
99694965972B24   FRANCISCO    MINJAREZ                     CO     33007979659
99694A63641296   DONALD       MCCARTER                     PA     51090940636
9969617544B271   JENNIFER     LOCKWOOD                     NE     90011841754
996962A2197B59   CONCEPCION   PALMA                        CO     39088632021
9969632664B588   CHRISTINA    WHITE                        OK     90007373266
9969642814B588   ADRIANE      WASHINGTON                   OK     90015104281
99696468A61977   WILLIE       GRENT                        CA     90013944680
9969691364B271   RYAN         RUSSELL                      NE     90001079136
99696A49655951   GARY         KEPLINGER                    CA     49088320496
9969722A25B531   CARMEN       CHAVIRA                      NM     90006552202
9969728275B383   RUSS         RANDALL                      OR     44525192827
99697A16991599   ARACELI      GARCIA                       TX     90007430169
99698788672B32   LORISE       ROON                         CO     33027327886
996989A854B949   HUGO         GUTIERREZ                    TX     90012249085
9969965A54B554   ALEJANDRA    ORTIZ                        OK     90004786505
996996A193164B   AMANDA       EGINA                        KS     22011876019
99699752897B61   ROSALINDA    SOLIS                        CO     90014467528
9969B382297B61   JILLENE      SOWL                         CO     39085353822
9969B484693755   SHELLY       KNOX                         OH     64593264846
9969B98492B824   BRANDEN      RAMBOW                       ID     90008069849
9969BA51991553   MARISSA      FRANCO                       TX     90011800519
996B1236891951   ADALGISA     ASTICO                       NC     90013182368
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1896 of 2350


996B1415777537   DAVID             MCNIEL                  NV     90010874157
996B14A7791599   BEATRIZ           GARCIA                  TX     90012534077
996B1A25472B62   SHANNON           WOICIK                  CO     90013010254
996B223833164B   CRYSTAL           ESPARZA                 KS     90012792383
996B2333691592   FERNANDO          FORNELLI                TX     90013683336
996B25A123164B   CRYSTAL           ESPARZA                 KS     90014485012
996B26A7872B62   JUAN              AGUIRRE                 CO     90007966078
996B327912B241   MARKIESHA         CONNER                  DC     90006062791
996B34A212B891   ALICIA            MCGRATH                 ID     90003014021
996B35A5455951   MARICELA          OLIVO                   CA     90014625054
996B4413593755   DEBRA             MOORE                   OH     90001054135
996B457298B239   ANTWAUN           TWITTY                  VT     90012695729
996B476AA81634   ISAAC             HANDLEY                 MO     29001227600
996B496798B175   JASON             ANGEL                   UT     90006949679
996B49AA67B444   MARAYAH           BAKER                   NC     90014679006
996B4A83997B59   DILLION           MAGDELANO               CO     90008050839
996B5372391951   TYANNE            COMICK                  NC     90015323723
996B5877391599   RAUL              ESTRADA                 TX     90004648773
996B594128B169   GUILHERME         IMBICO                  UT     90006269412
996B618134B949   GWEN              MIDLLIFF                TX     90013171813
996B645126192B   MARIA             VELASQUEZ               CA     90007444512
996B64A8291951   TAVARES           BOSTIC                  NC     90013934082
996B654185B531   ARTURO            AMAROO                  NM     90005155418
996B65A3777537   JOHNNY            JONES                   NV     90015025037
996B7186491951   NATASHA           BROWN                   NC     90002941864
996B811A472B24   MELANIE           RENEE LIMKE             CO     33085401104
996B8398793726   TASHA             TAGUACTA                OH     90012283987
996B893868B175   AMANDA            ABBOTT                  UT     90001529386
996B91A574B588   JUSTIN            HOBBS                   OK     90013091057
996B98A5793755   SONYA             HAGANS                  OH     90002688057
996B9A68A61927   PATTY             DELGADO                 CA     90012260680
996BB141751393   JOHN              KRAMER                  OH     90011531417
996BB1AAA7B444   DOTTIE            LANE                    NC     90012041000
996BB553177537   LUCIO             LARA-MACIAS             NV     43052675531
996BB741272B62   ETHEL             GOMEZ                   CO     33071567412
996BB952591951   SYLVIA            TAPP                    NC     90014809525
9971125267B444   TOWAHELA          CHAVIS                  NC     90014762526
99711654597B59   SAMUEL            DOSSEY                  CO     39081876545
99711983A91599   RUDY              VALDEZPINO              TX     90007999830
9971266827B444   CHANEL            SMITH                   NC     90014036682
99712829997B59   CAROL             HARPER                  CO     90009208299
9971349335B531   MARGARITA         REYNAGA                 NM     90012984933
99713563372B26   MARIA             HERNANDEZ               CO     90002365633
9971378645B383   JOSE              RENDON                  OR     90007117864
9971481A672B22   SANDRA            TREVINO                 CO     90013638106
997161A155B548   KLEANTONY         SMITH                   NM     35096111015
99716382297B61   JILLENE           SOWL                    CO     39085353822
99716948772B62   PAULEINE          CASTRO                  CO     33010009487
99716A87291599   CLAUDIA           MENDOZA                 TX     75006130872
997171A664B588   DONNA             ELSWICK                 OK     90012731066
997174A8A7B444   KIMBERLY          PRICE                   NC     11065414080
9971755448B183   MARIELA           OROZCO                  UT     31062425544
997178AA855951   LAOREANO          CORREA                  CA     90008408008
99718416A93755   LISA              SEMELSBERGER            OH     90009544160
99718688A91599   ALBA              MARES                   TX     75069876880
99718743672B26   FABIOLA           RAMIREZ                 CO     33067857436
997191A1591599   ANDRES            LECHUGA                 TX     90012241015
99719494197B61   JOSE              SALAS                   CO     90000404941
9971978A681635   SCOTT             ASA                     MO     90013477806
9971998762B891   DARIA             MARTINEZ                ID     42060129876
9971B32517B36B   FELIPE            ORTUNO                  VA     81094033251
9971B516697B61   CINTHIA           GALVEZ                  CO     90008925166
9971BA53161971   NAVOR             MARTINEZ                CA     90011570531
9972134565B383   BRITTANY          HILL                    OR     90005893456
9972174A991599   CHRIS             ROCHA                   TX     90014457409
99721AA3793755   JAMIE             HOLMAN                  OH     90012390037
9972249592B891   OMAR              VASQUEZ                 ID     90014244959
99722731572B26   PEDRO             MURILLO                 CO     90005947315
99722A41777537   KELLY             PRAY                    NV     90014150417
99723251172B22   MONIQUE           MERWIN                  CO     90010582511
99723455A41296   JUSTIN            CLAXON                  PA     90012704550
99724195472B22   NOEL              VENALONZO BELLO         CO     33005131954
9972467649136B   PAULA             COMMODORE               KS     90015126764
997246A1381635   PATRICIA NICOLE   MANRING                 MO     90011486013
9972496945B383   VANNIDA           PHAENEPHOM              OR     90014839694
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1897 of 2350


997249A8A72B56   VERONICA         GONZALES                 CO     33036109080
9972664A872B62   ANA              MARBAN                   CO     90009836408
9972679975B565   THERESA          ANGLADA                  NM     90009007997
9972779188B175   SARAH            SINGLETON                UT     90010367918
997277A2391599   KEVIN            WHITE                    TX     90014067023
99727884441B94   KISHA            BERRY                    MD     90008408844
99727A12872B42   SHANNON          SOZA                     CO     90011670128
99728223797B61   JAMES            KEENE                    CO     90002832237
9972832A493755   GARY             SAVAGE                   OH     64542113204
9972961415B383   JAVIER           MARTHINEZ                OR     90005756141
9972981165B548   AMANDA           DIAZ                     NM     90014888116
9972B17A12B891   DEBORAH          SEARLES                  ID     90015271701
9973239A897B59   JASON            HEIMANN                  CO     90009133908
9973256183B366   NADEZHDA         CONSTANT                 CO     33085925618
99732A8777B444   TAN              FRANKS                   NC     90009580877
9973311A44B949   KISHA            LOVETT                   TX     76560661104
99733361372B22   ADRIAN           SAUCEDO                  CO     90012533613
9973346A577537   CHRISTIAN        WINTER                   NV     90012864605
99733AA2272B24   ALEJANDRO        GARAY                    CO     90007850022
99734336472B56   MARIA            MILLAN                   CO     90006313364
99734387697B61   JOSE             DE JESUS                 CO     90010543876
99735A48491599   ANA              LEYVA                    TX     90013770484
99736455872B53   VERONICA         SHELTON                  CO     90005844558
99736548272B42   EDWARD           GOODMAN                  CO     33035055482
99736564772B26   VERONICA         CALDERON                 CO     90011705647
9973662A38B175   MATT             SABEY                    UT     90007446203
99736915497B61   SONYA            SANCHEZ                  CO     90012289154
99737137572B62   SARAH            LUCAS                    CO     90011131375
9973725915B531   SHERI            HENDERSON                NM     35076302591
9973773573164B   MATTHEW          BROGAN                   KS     22017007357
9973774212B891   LYLE             LEARY                    ID     90009577421
99737954A5B383   MARGARET         HOPKINS                  OR     44559109540
99738156797B61   ROSANNA          HERNANDEZ                CO     90006961567
997381A2197B59   ROXANNE          DELGADILLO               CO     90010801021
99738319A72B22   LAURA ELENA      VARELA M                 CO     90008143190
9973885578B175   CESAR            SANCHEZ                  UT     90008918557
99738A13972B42   FRANK            VIGIL                    CO     90011670139
99739358172B26   GWYN             RHOADES                  CO     90005283581
99739859272B22   MAYRA            ALMANZA LOZANO           CO     33092278592
9973B355797B59   JOLIZA           SANDOVAL                 CO     90010083557
9973B566693755   CHRISTA          DOIZER                   OH     90011145666
9973B83A84B949   BRIDNEY          JOSEPH                   TX     90014398308
9973B917741296   LUCRETIA         LIGHTFOOT                PA     51092179177
9973B9A6772B22   BENJAMIN         ROY SHERMAN              CO     33041529067
9974124512B891   SUSAN            HILL                     ID     42037852451
9974129235B531   HEATHER          FISHBACK                 NM     90014842923
99741797497B59   PABLO            CARILLO                  CO     90015127974
9974198152B881   JAYNECCA         HERKELRATH               ID     90001529815
99741993872B42   RONDA            MORGER                   CO     90011669938
99741A3545714B   ROMMEL STANLEY   CALDERON                 VA     90011920354
99742191972B32   RONALD           NOGAL                    CO     33011441919
9974235915B383   FELIPE           PEREZ RAMIREZ            OR     44585093591
9974245A341955   JOSE             RESENDIZ                 OH     90013854503
9974312515B383   LAMAR            WALLACE                  OR     90001561251
99743618897B61   LEYLA            KELLY                    CO     90000406188
99743841A77537   LARRY            SAWYER                   NV     43051378410
99743A8898436B   MARVIN           CHAMPAIGNE               SC     90013390889
997444A2697B61   MAYOLA           DE LA FUENTE             CO     39002644026
9974451619152B   SIMON            SOTO                     TX     75083565161
99744579672B32   PAULA            SILVA                    CO     33018235796
9974463134B588   GUSTAVO          LUNA                     OK     21572536313
9974472294B949   JOSE             SANDALO                  TX     90013177229
99745635A97B59   STEPHEN          HOLDEN                   CO     90013906350
99745719872B22   ISAIAH           WARD                     CO     90013537198
997461A6691951   JOY              DIAZ                     NC     90013021066
9974649493164B   GILLDARDO        HIGAREDA                 KS     90011654949
99747918497B61   MICHELLE         RODRIGUEZ                CO     90014699184
9974798152B881   JAYNECCA         HERKELRATH               ID     90001529815
99748328172B22   ALICE            BALDWIN                  CO     33060413281
9974874462B891   CHAILA           SANCHEZ                  ID     90011237446
99749158697B59   SAMANTHA         MOSCO                    CO     90000531586
997491A8972B22   NICHOLE          MARTINEZ                 CO     90010521089
99749A53572B24   KATHERIN         PRIEN                    CO     33015240535
9974B22165B548   FLORE            LUCERO                   NM     90003982216
9974B388A41296   ROY              CLANAGAN JR              PA     51030733880
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1898 of 2350


9974B638993755   JORGE          MEDINA                     OH     90009416389
9974B72667B444   CHARLES        MCNEILL                    NC     11083327266
9974B726936B44   CALVIN         CUNNINGHAM                 OR     90014937269
9974B98442B891   DAWNA          KETTER                     ID     90011609844
9974B987872B32   NICOL          DOWNING                    CO     90013959878
9975154635B383   BRIAN          PARMER                     OR     90003025463
9975181574B588   TRACY          BEAGLE                     OK     90014518157
9975181795B531   RYAN           GARCIA                     NM     35097758179
9975187684B588   TRACY          BEAGLE                     OK     90012928768
99751A7365B599   DAMON          DAVIS                      NM     90014850736
99752724272B32   JOE            NUZ                        CO     90014167242
99753334A97B61   EVARISTO       FLORES                     CO     90015163340
9975367964B588   JEANETTE       BOWMAN                     OK     90001016796
99753A5685B531   ARFAEL         VARELA                     NM     90010220568
9975418A84B554   MURPHY         HILL                       OK     21571571808
9975449215593B   ANNA           HOLLAND                    CA     90001324921
99754744472B22   CLAUDIA        ZAPIEN                     CO     90014477444
9975497A68B175   JORGE          CARILLO                    UT     90014709706
997552A458B175   MARCOS         PINA                       UT     31064072045
99757129772B22   DOMINICK       MIMS                       CO     90013361297
99757911A2B891   JUAN           FIGUEROA                   ID     42077689110
9975791698B175   DIANA          MOSQUEDA                   UT     90011979169
9975828725B531   JESSICA        GARCIA                     NM     35023522872
9975844A855951   CASSIE         VILLA                      CA     90010864408
99759668A55963   ADAM           MEDRANO                    CA     90003636680
9975B336881634   LINDA          BAKER                      MO     90014773368
9975B676387B93   MICHELLE       COBBS                      AR     90006836763
9975B768672B62   RHONDA         HARRIS                     CO     90013207686
9976184A193755   LATASHA        KNIGHT                     OH     90014788401
99762835897B61   MICHAELA       TORREZ                     CO     90004698358
9976287A75B383   B              NORIEGA                    OR     90014818707
997636A7193755   TABETHA        SNOW                       OH     90001006071
99763832272B62   KELLY A        BALDWIN                    CO     33048248322
9976386A961971   MELAKU         MENGASHA BONGO             CA     90013488609
9976413117B628   DEBORAH        SEALS                      GA     90001001311
99764A56655951   MANUEL         JASSO                      CA     49014670566
99764A7A52B891   LORENZO        MORENO                     ID     90009330705
99765617172B26   DON            MILLER                     CO     33082476171
9976563A772B22   MARIA          MORALES                    CO     90014006307
9976587173164B   WILLIAMS       EARLE                      KS     90013098717
9976591A797B61   JORGE          ZAMORA                     CO     90013639107
99766443387B48   WALLACE        LEVESTER                   AR     90014624433
9976672A44B588   IAN            SMITH                      OK     90007697204
99766884272B62   OLGA           RAMIREZ                    CO     33028968842
99766A65991951   SAMUEL         GATTIS                     NC     90008000659
997677A4A4B588   CARRIE         SMITH                      OK     90015167040
99768175572B22   SANDRA         MIELENZ                    CO     33021011755
99768824772B26   JAZMIN         RIVERA                     CO     33068248247
997688A2372B32   LAURA          GONZALEZ                   CO     90002068023
99768A52893755   GARY           BROWN                      OH     90013070528
99769488397B59   MARIO          LOPEZ                      CO     90009004883
9976952A997B61   ELIDA          RODRIGUEZ                  CO     90014655209
99769A79391599   JOE            MARTINEZ                   TX     90007320793
99771311957B58   NATHAN         KLIMASIEWFSKI              PA     90014003119
99771954A5B383   MARGARET       HOPKINS                    OR     44559109540
9977244194B949   BARBARA        RHODES                     TX     76560564419
9977323A67B444   CHARI          LOVELACE                   NC     90009842306
99774239A3164B   JOHN           BANKS                      KS     90002772390
9977439124B588   CHRISTAL       CONTRERAS                  OK     90005533912
99774A62372B24   EDGAR          HERNANDEZ                  CO     90013370623
9977552A34B554   KATHY          PATTERSON                  OK     21552365203
9977574755B531   SYLVIA         DURAN                      NM     90011307475
9977628164B949   CYNTHIA        REDOU                      TX     76588152816
9977925424B588   JOSHUA         CARDENAS                   OK     90014582542
9977926242B891   PAUL           WEBER                      ID     90014842624
99779395476B8B   ROSARIO        ROMO                       CA     90012763954
99779478A97B59   JEREMIAH       FONTANA                    CO     90012954780
99779562972B62   RAFAEL         ZAPATA QUIROZ              CO     90007935629
9977B134161971   DAVID          IGLESIAS                   CA     90015151341
9977B225641296   JOSHUA         AINSCO                     PA     90014752256
9977B85255B531   ANTHONY        AGUIRRE                    NM     90014528525
9977B968191951   EDWARD         SMITH                      NC     90006679681
9977B969981635   DEJARAE        BRYANT                     MO     90014859699
997818A8291599   BRENDA GISEL   RODRIGUEZ                  TX     90010778082
99782598472B32   DEBROAH        LUCERO                     CO     90012885984
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1899 of 2350


99783367972B22   LESLIE        VAZQUEZ                     CO     90012533679
99783745472B56   ROSA          ARMENDARIZ                  CO     90009537454
9978383114B949   DARRELL       CELESTINE                   TX     90012828311
99783A29181635   FALESHA       ROBERTSON                   MO     90002870291
9978414A177537   CESARIO       GUILLEN                     NV     90014851401
9978429454B949   MARVIN        JOHNSON                     TX     90009952945
9978434485B548   JENNIFER      GONZALES                    NM     35088923448
99784444472B62   LISA          MARTINEZ                    CO     90012604444
9978467195B531   FRANSISCO     ROYBAL                      NM     90010496719
9978511947B444   LAPORSHA      HAYES                       NC     90006851194
9978548A15B383   DANIEL        STOCKER                     OR     90013664801
9978549185B548   IVAN          LUJAN                       NM     90012604918
99786155372B62   CHRISTINE     DOERING                     CO     33004061553
99787244297B59   MATTHEW       PRIDDY                      CO     39063172442
99787337372B24   MICHELLE      SERRANO                     CO     33075673373
99787389997B61   MANUEL        PULIDO                      CO     39073773899
99787A1573164B   TASHA         KIRK                        KS     90012890157
99788195572B32   NORMA         OLGUIN                      CO     33006841955
9978861A861979   KATHLEEN      CULLERS                     CA     90008816108
9978875A82B891   SARAH         GIBBSON                     ID     90008747508
9978972A44B588   IAN           SMITH                       OK     90007697204
99789A76493755   LARRY         JANIEL                      OH     64547780764
9978B83464B949   FABEL         CARCAMO                     TX     90013708346
99791378A7B444   MUANA         MUKUAMU                     NC     11074553780
99791578597B61   MARIA         MARTINEZ                    CO     90013655785
99791751897B59   SAVANNAH      COBLE                       CO     90005897518
9979228295B383   CATHY         BASTING                     OR     44513012829
99792A49A72B22   DREW          FISHER                      CO     33077990490
99793A2A777522   ELIZETH       CUELLAR                     NV     90012520207
99795244897B59   TINA          GONZALES                    CO     39063182448
9979565918B175   JOAQUIN       ROSALES                     UT     90014556591
9979596872B891   TRAVIS        HOLSTE                      ID     42015299687
997959A7391951   ARICA         WINSTON                     NC     90002469073
99796147797B59   SAVINO        ESPINO                      CO     39027011477
9979644473164B   GREGORIO      GARCIA                      KS     22004634447
99796556372B22   ROBERTO       HERNADNEZ                   CO     33009245563
99796888172B32   KIMBERLEY     WOOD                        CO     90013378881
99796942A8B175   SHONTAY M     JUAREZ                      UT     90011969420
997969A2261971   BRENDA        GARRETT                     CA     90015179022
9979761AA5B383   LISA          ERICKSON                    OR     90014736100
9979798134B588   JERROD        PEDRO                       OK     90014439813
9979837925B531   SANTANA       RAMIREZ                     NM     90013993792
9979844385B548   DORA          MORENO                      NM     35005034438
99798A68657B3B   PURUSOTTAMI   POKHVEL                     PA     90015370686
9979B5A6593755   DONALD        PROFITT                     OH     64553935065
997B1388681634   MYCHAL        JACKSON                     MO     90013783886
997B164218B149   DESIREE       LUND                        UT     31097716421
997B1754A41296   DARRYL        LEE                         PA     90011917540
997B185A472B32   CHRISTOPHER   RABORN                      CO     90012928504
997B1A97291352   BRIAN         FOECKING                    MO     90010750972
997B231A62B891   CAROLINE      ST CLAIR                    ID     90010083106
997B2369472B24   MARIA         BORJAS                      CO     33029713694
997B2545393782   LESLIE        HARBARGER                   OH     90008375453
997B265338B175   CARMEN        TOSCANA                     UT     90011036533
997B2854A72B26   MARLENY       QUEZADA                     CO     33015038540
997B2981291599   CATHY         NUNEZ                       TX     90005739812
997B4118497B59   LUIS          SOTO-ESCARCEGA              CO     90008231184
997B455728B175   FARSHAD       POURI                       UT     90015035572
997B5163872B62   KRYSTLE       PROPERNICK                  CO     90010921638
997B6422661971   JOSE          SANCHEZ                     CA     46056094226
997B667242B891   JACOB         RYAN                        ID     90012616724
997B682595B383   DAN           MORLAN                      OR     44510938259
997B7229A2B891   CRIS          GALLEGOS                    ID     42089172290
997B7875272B62   AURELIO       SANCHEZ                     CO     33048938752
997B8335341296   ROBIN         ROGERS                      PA     90012243353
997B83A1872B42   MARIBEL       ACEVEDO                     CO     33091993018
997B9522372B22   DEBRALEE      CATALAN                     CO     90004215223
997B9525441296   ANDRE         JOHNSON                     PA     51069275254
997B9637131422   MIA           SUTTON                      MO     27512976371
997B9794A81634   DEMARCO       MCABEE                      KS     90001867940
997B99A234B949   PEDRO         MEJIA                       TX     90012759023
997B9A5678B175   PRAJA         KATEL                       UT     90001850567
997B9A85393755   MARY          BOLE                        OH     90015030853
997BB498797B59   JESSICA       LACOME                      CO     90013894987
997BB843672B24   STEPHEN       POINTE                      CO     90005948436
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1900 of 2350


997BB896A77537   BETTY           JOHNSON                   NV     90013198960
99811581797B59   SHAWN           DAUBERT                   CO     90007265817
99811612472B26   ANTHONY         DUNCAN II                 CO     90011706124
99811948772B62   PAULEINE        CASTRO                    CO     33010009487
99811975172B56   GLORIA          ESTRADA                   CO     33020219751
998121A925B383   DOUGLAS         WARREN                    OR     90011761092
9981269A155951   SALVADOR        GARCIA                    CA     90000396901
9981282532B891   ANTHONY         PRICHARD                  ID     90001958253
99812A25872B42   NATALIE         VALDEZ                    CO     90011670258
99813944472B22   SILVER          VELASQUEZ                 CO     33095449444
99813A87661971   JUSTIN          VIKRE                     CA     90012990876
99814795A91951   RHENDA          WILSON                    NC     90013227950
99815147A5B531   MIR             AMIRI                     NM     90013351470
9981599238167B   NICOLE          WRIGHT                    MO     90007549923
9981655539137B   CHRISTOPHE      KITAVI                    KS     90000795553
9981668497B444   ALI             A ALNAHASH                NC     90012636849
99817694972B24   RICHARD         RADILLA                   CO     90014736949
9981971955B531   MARC            GELEN MILLR               NM     90014057195
99819A85197B61   CAROLINE        MITCHELL                  CO     90000410851
9981B959A8B175   CODY            KENNEDY                   UT     90013219590
99821134A97B61   OLAYA           LOPEZ TERVINO             CO     39059651340
99821285272B22   CRISTINA        URIOSTEGUI                CO     90011442852
998214A633164B   RANDY           ROSS                      KS     22081264063
99823A96172B24   MONICA          GARCIA                    CO     33034370961
9982453995B383   JOHN            DURAN                     OR     90013245399
99824734572B62   JOSE            SANTOS                    CO     33079157345
998259A8A4B588   MARCO           CRUZ                      OK     90010689080
99825A45872B32   BLANCA          VASQUEZ                   CO     33087400458
99826353772B42   FABIOLA         VILLANUEVA BUENO          CO     33085873537
9982673795B383   MAGGIE          LORENZ                    OR     90011287379
998274AA12B84B   PATRICIA        HILL                      ID     90005654001
9982847875B548   RUBY            CLEVELAND                 NM     90008884787
9982B73A77B444   SHEMEKIA        WITHERSPOON               NC     11009827307
9982B944461933   JENNIFER        TOLEDO                    CA     90012269444
998311A585B548   EDMUND DWAYNE   LUCERO                    NM     90011471058
998313AA84B949   SHAWNA          MELANCON                  TX     90014573008
99831559472B32   DAVID           MOSHER                    CO     33084855594
9983169812B891   RYIN            CROFUTT                   ID     90003686981
9983192642B256   MICHAEL         OBERTS                    DC     90004599264
998324A4455986   JEMIE           QUEMQUEM                  CA     90012734044
99832547A8B175   TASHA           SANDOVAL                  UT     90012835470
99832845272B62   GILMAR          BRIONES                   CO     90013568452
9983325845B556   COLETTE         MAHKEE                    NM     90011282584
99833262772B62   ERNEST AND      THERSA MASMAN             CO     33076132627
9983422A272B26   RICARDO         CASILLAS                  CO     90011572202
9983481395B531   PHILLIP         CAMPOS                    NM     90011158139
9983491245B383   JESSICA         BLANTON                   OR     90013009124
99834A35572B42   SAMANTHA        DEVERDE                   CO     90001550355
99835492772B56   EDUARDO         CARBAJAL                  CO     90005864927
998354A324B588   DARRELL         COX                       OK     90006474032
9983564918B175   DELL            LARSEN                    UT     31056216491
99835982372B32   MELISSA         YARBROUGH                 CO     33015959823
99836584972B42   ARTURO          FRAIRE                    CO     33002805849
99837322997B59   KELCEY          SNODDY                    CO     90013963229
9983734A391599   LOURDES         TERAN                     TX     90013963403
99837A76974B27   MISTY           MCKENZIE                  OH     90014190769
9983812A88B175   MARTHA          ROBLES                    UT     90011191208
99838229A61924   KAPRISHA        HUGES                     CA     90012672290
99838271472B62   VANEISHA        FARRIS                    CO     90012192714
99838851572B22   RAYGINA         CHAVEZ                    CO     90000298515
9983982715B531   LUIS            GAMBOA                    NM     35072738271
9983B186191599   GUS             RAMIREZ                   TX     90010981861
9983B228372B62   LUZ             RAMIREZ-GUTIERREZ         CO     33004522283
9983B753772B22   JOLEEN          LOPEZ                     CO     90010857537
9984118A12B891   VICTORIA        NSABIMANA                 ID     90011211801
99841199872B62   FABIOUA         VILLAUEUEA                CO     33082571998
99842437372B22   CARLOS          GALLEGOS                  CO     90001604373
9984243A57B444   TAWANNA         EVANS                     NC     90015124305
99842496572B42   JANET           BARIZONTE                 CO     90004424965
998425A6481634   MONICA          FALCON                    MO     29066715064
99842A57A5B548   EDWARD          HAGGIN                    NM     90013540570
99843213972B22   DOMINIC         DOLTON                    CO     90008572139
99843656172B42   JAMES           ZITO                      CO     33006196561
99843A31977537   ANGEL           VELEZ                     NV     90014110319
99843A4A97B444   ANDREA          MOORE                     NC     11053100409
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1901 of 2350


998442AA972B62   CECILIA      SERRANO                      CO     33074772009
9984474917B464   NISSILEI     MACHADO                      NC     11084387491
99844A93A4B588   CHARLES      CHILDERS                     OK     90015030930
9984526AA7B444   ERIKA        ZAVALA                       NC     90013672600
9984599513164B   CONCEPCION   VITAL                        KS     22035999951
9984663144B554   GREGORY      O DANIEL                     OK     90007686314
99849327472B42   ROSARIO      RODRIGUEZ                    CO     33014413274
99849886A72B62   KATHLYNE     MERRYMAN                     CO     90013768860
9984B4A3172B56   CYNTHIA      ENRIQUEZ                     CO     33037764031
9984B578A3852B   NATASHA      GOODMAN                      UT     90013765780
9984B8A5772B22   MARIA        ALMARAZ                      CO     90001288057
998511A6372B24   ROBERT       DEAN                         CO     90014881063
99851333972B62   SCOTT        BUCK                         CO     33038853339
99851A34172B26   TONY         MARTINEZ                     CO     33067040341
99852263272B24   JOSE         JIMENEZ                      CO     90011502632
9985229144B949   KEVIN        ARMEALINE                    TX     90014802914
99852681A8B175   SHANNA       MATHESON                     UT     31087386810
9985292918B149   LISA         FARMER                       UT     31001159291
998531A675B548   LILIANA      ORNELAS                      NM     90005471067
99853732A2B891   DAVID        ESPARZA                      ID     90010667320
9985373583B381   STEPHEN      EHN                          CO     90013977358
9985385338B175   MIGUEL       BURQUEZ                      UT     31063308533
99853A9A877537   ROSENDO      RAMIREZ-SALAS                NV     43004230908
9985434264B588   MITCHELL     STAPLETON                    OK     90013483426
9985467A891951   MARTHA       WHITFIELD                    NC     90010176708
998549A3897B61   MARCOS       CALDERON                     CO     90011169038
99854A32372B42   TESSE        DAVIS                        CO     90011670323
99855987472B22   DECARLO      HERRERA                      CO     90014419874
9985621862B891   RUTHANNA     MANETTA                      ID     90006072186
9985657918B175   ROGELIO      VELAZQUEZ                    UT     90015135791
9985666765B531   ARMANDO      GONZALES                     NM     90009846676
99856A8494B949   GRACIELA     CONTRERAS                    TX     90006150849
9985756A172B32   TAMMY        HARDEN                       CO     33066125601
9985798945B531   JULIO        ARZAVALA                     NM     35062169894
99858272172B32   BRIAN        VONDERSMITH                  CO     33002462721
9985846A197B61   LEE          HERRERA- SCANNAPIECO         CO     90013694601
9985863A92B891   JOSE         ORELLANA                     ID     90004406309
9985894884B949   VALENTIN     VILLANUEVA                   TX     90014849488
9985899545B531   TRACI        MCNEIL                       NM     90007369954
9985955395B383   BETHANY      LONGCHAMPS                   OR     90014945539
998597A974B588   ZETH         THOMAS                       OK     90000707097
9985B34244B588   QUALYSHIA    JOHNSON                      OK     90015123424
9985B538391951   LATEIST      SHAW                         NC     90011145383
9985B79335B531   PATSY        RATION                       NM     90010227933
9985B842597B59   JEFFREY      FAIRBANKS                    CO     39064778425
9986156A172B32   RODRIGO      SANCHEZ                      CO     90009055601
99862629198B93   SHAKITA      LEWIS                        NC     90013236291
9986365345B548   MONICA       ZAMORA                       NM     90013996534
9986373A55B548   MICHELLE     BENAVIDEZ                    NM     90010167305
9986424574B949   PHILLIP      HODGES                       TX     76595932457
998646A3472B26   LAURA        JOHNSON                      CO     33037676034
99864A84481635   NETTE        WILLIAMS                     MO     29053130844
998676AA977537   DAWN         SHAY                         NV     90005916009
9986773217B444   LAURA        ROSARIO                      NC     90014847321
99867741697B59   MODESTA      GARCIA-OJEDA                 CO     90011877416
9986777A972B32   ANDRE        GURULE                       CO     90001367709
99868143472B32   GAIL         THOMAS                       CO     33069061434
9986841225B383   KATHLEEN     NESSLIN                      OR     90005184122
9986874A241255   ADA          COSTELLO                     PA     90005547402
99868886572B26   RACHELLE     RAMIREZ                      CO     90006608865
9986965A461971   MIGUEL       CORELLA                      CA     90012306504
99869857272B32   MARGARITE    MONTANO                      CO     90014778572
9986999654B588   BRANDY       JORDAN                       OK     90014739965
99869A9195B928   FERNANDO     MURILLO                      WA     90015480919
9986B712172B22   GREG         JOHNSON                      CO     33008487121
9986B753461971   JESUS        CUNNINGHAN                   CA     90005827534
9986B77155B548   HELEN        GARCIA                       NM     90014227715
9987137113164B   JORGE        CARVAJAL                     KS     90012213711
998722A7236148   JOSE         CANO                         TX     90010312072
998725A3661971   SAMUEL       MONTANEZ                     CA     90009225036
99872774172B56   SWCOTT       WEAVER                       CO     33066727741
99872A6AA81635   CONNIE       DUROSSETTE                   MO     90014340600
9987389515B383   JULIO        TAPIA                        OR     90013588951
99873927A7B444   KEIRY        FUENTES                      NC     90014539270
998739A9997B61   EDURDO       GARCIA                       CO     90012979099
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1902 of 2350


998745AA272B24   SALLY        BRAUCH                       CO     33000735002
99875AA255B383   SHANA        TRAVER                       OR     90013970025
99876243172B42   JEREMY       HOFMAN                       CO     90009942431
99876346597B59   JEREMY       POTTER                       CO     90014743465
998765A5791599   RUDY         ZUBIA                        TX     75088205057
998767A2741296   ROBIN        BENJAMIN                     PA     51006637027
9987688542B891   FABIO        FERREIRA                     ID     90015208854
9987774475B531   VELIA        ARRAS-PENA                   NM     90006127447
9987784578B169   LOUIS        DELGADO                      UT     90009658457
9987811217B444   RAVHON       LANEY                        NC     90015261121
9987874365B531   MANUEL       MENDEZ                       NM     35024197436
99878AA7A3164B   MEKEYBA      POWELL                       KS     90015270070
998791A334B949   LYNETTE      LEWIS                        TX     90014331033
9987932A881634   JENNIFER     SHADDOX                      MO     90014763208
99879378A51323   ANTONIO      MATOM                        OH     90011723780
9987B68867B386   JOSE         MEJIA                        VA     90002306886
9987B946A93755   SEBASTIAN    GALLEGOS                     OH     90015079460
998819A7572B22   INDO         TYLER                        CO     90015019075
9988262484B588   DAISY        PLASCENCIA                   OK     90006986248
998829A6893755   HISAM        CALDERON                     OH     90006979068
99883823497B59   MARIA        DOLORES                      CO     39080768234
99883838972B42   TAMMY        ESQUIBEL                     CO     90010248389
99883A1A272B24   CHELSEA      LEE                          CO     90008170102
9988416515B399   EMMA         WILLIAMS                     OR     90008751651
99884556797B61   AMALIA       HERNANDEZ                    CO     39073705567
99884A2775B531   SEDILLO      ALEX                         NM     90010810277
99884A2843164B   FAYE MARIE   MILLS                        KS     22084250284
99885388A81635   DENVER       BRONCOS                      KS     90012473880
99885667A5B531   DANIELLE     DELGADO                      NM     35074836670
99885A45A72B56   JUAN         MENDOZA                      CO     90006050450
99885A5287B444   IVELLA       BARRINGER                    NC     90013870528
99885A65A8B175   ALVIN        GRAY                         UT     90013890650
9988617438B175   REBECCA      MALIN                        UT     90014851743
9988648964B949   ROGELIO      HERNANDEZ                    TX     90004654896
9988725394B949   CURTIS       SUTTON                       TX     90012932539
9988744A94B949   LORENA       MARTINEZ                     TX     90014324409
99887A9713164B   RACHEL       OWEN                         KS     90013840971
99888246172B42   AMBER        ELLIS                        CO     33061162461
998887A8A77537   RUBICELLA    VALDES                       NV     90001507080
9988945344B949   DESTINI      OWENS                        TX     90008964534
99889631372B62   GUILLERMO    GUTIERREZ                    CO     90012436313
998898A6177537   LILY         ROSS                         NV     43089108061
9989143335B548   ELVIRA       LUJAN-CARBAJAL               NM     90013234333
9989163117B436   TAMARA       BOYD                         NC     90001556311
998918A5651388   DIEGO        SEYOURANO                    OH     66053988056
9989196594B588   TA-MYRA      ADAMS                        OK     90013599659
9989225A472B26   MAXIMO       OLVERA                       CO     90002232504
998925A1441296   ANTHONY      BARRON                       PA     51084495014
998939AA572B22   MARCOS       MIRANDA                      CO     90012589005
99893A25881635   ALDO         OROZCO ESPINAL               KS     90001130258
998942A6772B56   PARADISE     FRANK                        CO     90000612067
9989468A697122   GUY          BURCH                        OR     90006946806
9989686654B523   LETICIA      HURST                        OK     90004418665
9989716355B531   TIFFANY      WOODWARD                     NM     35013171635
99897864497B61   MANOLO       ABARCA                       CO     90013668644
9989871565B531   ALMA         ORTIZ                        NM     90009277156
9989893A661971   RICARDO      VALLEGO                      CA     90006579306
998991A3755951   CLARISA      SHOFFNER                     CA     49025211037
99899577672B62   ALFRED       ROMERO                       CO     90007935776
99899652997B59   PHILLIP      LEWIS                        CO     90002486529
99899A7924B588   CHRISTINA    BASSETT                      OK     90014680792
9989B689791599   GUSTAVO      MOLINA                       NM     75087566897
9989BA3A155951   ANDRE        DIAZ                         CA     90011360301
998B148258B835   EMILY        DECANO                       HI     90014424825
998B2112197B59   GERARDO      LUGO A                       CO     39096031121
998B234283164B   IVAN         AGUILERA                     KS     90000223428
998B2628197122   MARIA        DOE                          OR     90007626281
998B266347B444   RONALD       ALEXANDER                    NC     90013916634
998B2948A4B588   ALISHA       POWELL                       OK     90013199480
998B3133455963   BLANCA       ORTIZ                        CA     90005841334
998B31A1A91599   SARAH        MEDINA                       TX     90013931010
998B3767281634   QUINYANNA    VALENTINE                    KS     90013297672
998B435235B531   CLAUDIA      RUIZ-RODRIGUEZ               NM     90013003523
998B5283441297   JOSEPH       OWENS                        PA     90010382834
998B554765B531   MARK         MAITO                        NM     90012715476
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1903 of 2350


998B595657B444   ROBERT       THOMPSON                     NC     90006279565
998B6992A8B343   TEONNA       ALEXADER                     SC     90014819920
998B7366391951   CRISTINA     ABARCA                       NC     90015113663
998B743645B531   KARISSA      TORIVIO                      NM     90012444364
998B749568B175   ELIZABETH    ALVAREZ                      UT     90004054956
998B7688973261   EVELYN       LOPEZ                        NJ     90014246889
998B774645B531   MARK         BALDUCCI                     NM     90010467464
998B7812355951   LIA          VANG                         CA     90005728123
998B794AA72B42   PHILLIP      LOPEZ                        CO     90004429400
998B8547991599   BERTHA       CERVIN                       TX     75097805479
998B858885B531   DANIEL       OLIVAS                       NM     90010695888
998B8741197B59   LUIA         RODRIGUEZ                    CO     39001167411
998B8979572B62   ANDREW       GONZALEZ                     CO     90003549795
998B8A62391599   HERBERT      SERRANO                      TX     90010950623
998B998AA3164B   ROSALIND     TRIPLETT                     KS     22049869800
998B9A32985948   RAMON        CANO                         KY     67087710329
998BB121472B22   JOSE         ARROYO                       CO     33009551214
998BB178677537   MONICA       PLUMMER                      NV     90005281786
998BB76654B588   DON          THOMAS                       OK     90014187665
99911425572B56   ANGEL        RODARTE                      CO     90010574255
999116A7772B26   ROSA MA      CASTILLO                     CO     33062456077
99911A77A97B59   NORMA        MARTINEZ                     CO     90013230770
9991212784B949   DAVID        RICHARD                      CO     76593551278
99912173872B62   MARIA        SALAZAR                      CO     90006811738
999124A443164B   ASHLEE       VERBECK                      KS     22009704044
99913574772B32   CONCILIO     PEREZ                        CO     90010645747
9991364227B444   SHAVOLO      WALKER                       NC     90002606422
9991374415B531   CRYSTAL      MOYA                         NM     35026087441
99914185A4B949   SANDRA       MARTINEZ                     TX     90008241850
99914251697B59   TREVOR       CHRISP                       CO     39005942516
99914333572B22   TINELLE      LOUIS                        CO     33044263335
99915666672B62   REGINA       JEFFERSON                    CO     90014816666
9991573A577537   BONNIE       RIGGS                        NV     90001427305
99916343697B59   ESTELA       GUZMAN                       CO     39003213436
999163AAA72B62   JOSIAH       MATHEWS                      CO     33033643000
9991662535B383   ADRIAN       LARVIE                       OR     90013316253
99917535A97B59   TONY         LYNCH                        CO     39063555350
99918131772B62   BRENDA       CASTRO                       CO     90008571317
9991845AA5B383   KENDRA       REASONER                     OR     44500234500
9991857555B356   JENNIFER     WHITTECAR                    OR     90010655755
9991892494B588   AUTREY       LUKE                         OK     90014379249
99919227797B59   STACEY       FURNELL                      CO     90001802277
9991968A161971   VERONICA     ZENON                        CA     46023966801
99919777372B62   RAQUEL       GUERRERA                     CO     33050767773
9991B49337B429   MARLENIS     MARQUEZ                      NC     90014784933
9992191A757132   ELMER        ADONAY                       VA     90008089107
99922251372B22   MORALES      GABRIELA                     CO     90012902513
99922315A4B967   CYNTHIA      GUIDREY                      TX     90011233150
9992241214B588   JUDY         BURRESS                      OK     21572784121
99923524A72B56   ANNA         PRYER                        CO     33075575240
9992388115B531   ROBERT       SANCHEZ                      NM     90015048811
9992426128B175   ABIGALE      HUTCHINGS                    UT     31088252612
9992466A357124   MARLON       CISNEROS                     VA     81014526603
9992473985B531   KELLY        MCFARLANE                    NM     35031157398
9992556A23164B   KENNETH      DAVIS                        KS     90015245602
9992577752B891   CELEDONIO    PEREZ                        ID     90012027775
99925A4994B588   RENE         CAVAZOS                      OK     90004290499
999274A2191951   CHERRELLE    BIRDINE                      NC     90013844021
99927552172B24   DONNA        BELL                         CO     33009375521
999282A9172B62   MALINELI     HERNANDEZ                    CO     33009992091
9992864314B949   LESLIE       PELICO                       TX     90013676431
9992957A77B444   KENIONA      THOMAS                       NC     90010135707
999295A5455951   MARICELA     OLIVO                        CA     90014625054
9992999188B134   GLEN         MCEWAN                       UT     31002099918
9992B21438B175   CATHERINE    KASTLER                      UT     31029042143
9992B235897B59   EVA          MENDOZA TOLEDO               CO     39043942358
9992B56375B383   FRANCESCO    AMADOR                       OR     90002965637
9992B878872B42   ANGELA       CARGILL                      CO     90005488788
9992B92978168B   FREDERICK    HUBBARD                      MO     90006039297
99931299172B42   CELENA       SUAZO                        CO     33069382991
99931A46A2B891   ASHLEIGH     BLANCHARD                    ID     90014270460
99931AA5772B22   GILBERTO     DIAZ                         CO     90011700057
99932447472B24   BRIAN        MORTENSON                    CO     90002254474
99932477972B42   CARLOS       LARA                         CO     90011844779
99932762A3B341   ROMAN        YUSUFOV                      CO     33028077620
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1904 of 2350


99933A73772B22   MARINA       FRANCO                       CO     33019850737
999348A2172B22   ROXANNE      MARTINEZ                     CO     90003058021
99934A3A155951   ANDRE        DIAZ                         CA     90011360301
9993516228B175   JORDAN       BALLAS                       UT     90013921622
9993543637B444   JEREMY       ISLES                        NC     90013544363
99935A78997B59   JASON        TRACEWELL                    CO     90015240789
99936269172B22   NORMA        OROPEZA                      CO     33083032691
9993689142B891   CHARLIE      WHITE                        ID     90014278914
9993722438B175   JOSE         AMAYA                        UT     90013602243
9993767338B175   ANGEL        AGUILAR                      UT     90008156733
999378A134B949   ALFERRICA    TRAINER                      TX     90004028013
9993797872B891   TONY         MARTINEZ                     ID     42055779787
9993853585B383   GUADELUPE    FRANSISCO                    OR     90013535358
99938558297B61   MIGUEL       GUTIRREZ-TREJO               CO     90013935582
9993884935B548   CHRISTINE    GONZALEZ                     NM     90011418493
999388A4872B62   TEAIRRA      COLQUITT                     CO     90010268048
99938935272B26   DARLENE      CASTRO                       CO     33031189352
9993913513164B   SHELLY       ALBERTSON                    KS     22058181351
9993933164B588   LONNIE       FEEMSTER                     OK     90013043316
9993961445B548   ROSA         VALDERRAMA                   NM     90015386144
999397A9872B24   BRIANNA      NUNEZ                        CO     90014737098
9993B225A93755   HIND         AHMAD                        OH     90007622250
9993B228972B22   ANAPATRICI   CONTRERAS                    CO     33023932289
9993B896572B24   LUIS         MURILLO                      CO     90011098965
9993B9A8136B44   URSULA       FREITAS                      WA     44575299081
99941243672B56   MARIA        GUADALUPE                    CO     90002412436
9994169A155951   SALVADOR     GARCIA                       CA     90000396901
9994189A82B891   DEANN        KOCHMEIER                    ID     42087068908
99941A27A61971   CLAUDIA      AGUILERA                     CA     90009490270
999426A615B548   DANIELLE     RODRIGUEZ                    NM     35080386061
99942A1A972B22   MANDY        PATIAG                       CO     33009250109
99943148872B42   SHERRI       MILLICAN                     CO     33025901488
9994321428B356   HUMBERTO     ARANDA                       SC     90015242142
99943261972B62   ANGELA       BOTELLO                      CO     33078632619
99943642397B61   DUSTIN       HARMON                       CO     90010896423
99943826A5B531   FRANK        DONOVAN                      NM     35093678260
9994389A461971   MAILE        MCGEE                        CA     90004468904
99943AA7771696   LACEY        BARKER                       NY     90015530077
9994476225B383   JAVIER       VEGA CRUZ                    OR     90009777622
99944A3583B326   CNJ          MOVING COMPANY               CO     90001710358
99945398397B59   JOSE         SORIANO                      CO     39064323983
99945436A7B444   THANTALUS    FAIR                         NC     11074204360
9994573868B188   MONICA       NUNEZ                        UT     90002647386
9994576554B588   JOSE         TORRES                       OK     90013587655
99946571772B32   ENRIQUE      MUNOZ                        CO     90011225717
99946A4A381634   SHALUNDA     MCGILL                       MO     90011060403
99946A97855951   REBECCA      RODRIGUEZ                    CA     90012010978
999475A5471933   MARLEE       EDER                         CO     32052205054
9994773868B188   MONICA       NUNEZ                        UT     90002647386
9994888495B383   CISNEROS     LUZ MARIA                    OR     90011728849
99949386472B22   MICKY        WILKINS                      CO     33014073864
9994999A972B32   ARMANDO      LIMONES                      CO     33026039909
9994B25738B175   NANCY        MORRILL                      UT     90008722573
9994B335372B24   JOSE         CASTILLO                     CO     90008253353
9994B35175593B   BENJAMIN     CORDEIRO                     CA     48005183517
99951284772B22   ELSY         SOLTERO                      CO     90013912847
999516A645B383   SADIA        ALASOW                       OR     90012006064
99951851A77537   CESAR        CALDERON TORRES              NV     90015148510
9995268957B444   MARK         NELSON                       NC     90014036895
99952765372B56   TAQUAILA     THOMAS                       CO     33042307653
99953613298B93   JASEMINE     GARCIA                       NC     90012676132
9995364494B588   BENJAMIN     GORDON                       OK     21566906449
99953A94655951   FELICIA      ESQUIBEL                     CA     90014370946
9995469A14B554   PAYGO        IVR ACTIVATION               OK     90004476901
99955136872B22   JOANNA       RAY                          CO     90013481368
99955136972B32   JOSE         SALAZAR                      CO     90012411369
99956142536B44   MIGUEL       ARROYO                       OR     90013221425
99956162A5B383   LATISHA      HENDERSON                    OR     90014721620
999563A1172B24   ADRIANA      RODARTE                      CO     33000373011
99956633497B61   ROGELIO      APOLONIO-PATRICIO            CO     90005346334
9995694394B588   AVERY        DAY                          OK     90013229439
99956A5814B949   SHANICE      EDWARDS                      TX     76560310581
9995713A37B444   WILMER       PORTILLO                     NC     90014451303
9995735964B588   DAVID        JENKINS                      OK     90013483596
9995754917B444   NICOLE       WITHERSPOON                  NC     90013075491
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1905 of 2350


99957569372B26   SELENA         HERRERA                    CO     90003095693
9995781444B949   VALARIE        GRIFFIN                    TX     76573098144
99957A66372B42   SUSANA         DOZAL                      CO     90003170663
999587A7793755   NICOLE         MCINTOSH                   OH     64593167077
999587AA797B59   IVAN           NAJERA                     CO     90003317007
99958862272B24   JORGE          CUEVAS-PEREGRINO           CO     90006158622
99958A4754127B   PAUL           DORN                       PA     90015230475
99959256A7B444   CARL           PRITCHETT                  NC     90011512560
99959273272B22   CARO           LANE                       CO     90015302732
99959296A72B24   LAURA          GALLADRO                   CO     90014542960
99959526A5B334   CHRISTINA      CAYTON                     OR     90013465260
9995B18412B891   JUAN           MENDOZA                    ID     90000381841
9995B3A7A55951   YOLANDA        MUNOZ                      CA     90015323070
9995BA1A297122   APRIL          DINSMORE                   OR     90006950102
9996119964B588   ALICIA         CARTER                     OK     90014421996
99961264A9376B   ANJEL          GIVNER                     OH     90005792640
99961427572B24   JOE            MAZEROLLE                  CO     90011514275
9996155484B949   HECOR          GUERRO                     TX     90013805548
9996195658434B   DAEASHA        DENNIS                     SC     90015169565
99961982A55951   PATRICK        POWE                       CA     90014759820
9996281932B891   REBECCA        ACAMO                      ID     90012758193
9996317A372B62   JOHNNY ANGEL   VALLES                     CO     90012411703
9996327537B444   BRAD           LONG                       NC     90012712753
9996348552B948   JOSEFINA       OCHOA                      CA     90012344855
9996419373164B   KIMBERLY       CARLYLE                    KS     22046141937
99964362172B22   ZABRINA        PEREZ                      CO     90003103621
99964557372B32   KARLA          PEREZ                      CO     90013695573
99964595872B24   ADAN           CHACON                     CO     90012965958
99965116172B24   RYAN           REMMEN                     OR     33024581161
9996511A63164B   BENTURA        GARCIA                     KS     90011661106
9996524787B499   DEMARICK       LYNCH                      NC     90003592478
99965264472B22   HENRY          WARDWELL                   CO     90015282644
9996537A772B22   HENRY          WARDWELL JR                CO     90010583707
99965473497B59   MIRIAH         WOODY                      CO     90011634734
99965485672B22   AMY            VANMETER                   CO     33008114856
99965563A5B383   KATHY          CARTER                     OR     44500385630
99965564372B62   ROSETTA        DAY                        CO     90011445643
99965653972B32   LARISSA        LAGO                       CO     90014906539
99965832372B32   JANETH         ORTEGA-ROJAS               CO     33022978323
9996619287B491   PACIDO         COMPIAN                    NC     90010171928
999665A9977537   DORENE         VANCE                      NV     43056895099
9996697A744346   CORTNEY        THOMAS                     MD     90015469707
9996744925B548   RALPH          PEREA                      NM     90013234492
99967942297B59   KANDI          NIRA                       CO     39003029422
999682A914B52B   NANCY          DONALDSON                  OK     90012082091
999686A8572B26   MIRNA          GALLEGOS                   CO     33077106085
9996883525B389   LONNY          ROWLEY                     OR     44568798352
9996914A272B62   MARIA          DELGADO                    CO     90014431402
99969398A97B4B   LORENA         SOTO                       CO     90008973980
99969A88155947   CAMILLE        BROWN                      CA     90001200881
9996B29585B383   PEDRO          YEH CETINA                 OR     90011742958
9996B453372B32   TOMMY          LYNCH                      CO     90007474533
9996B73462B891   HECTOR         IGLESIAS                   ID     90011687346
9997115678B175   JESSICA        TELLES                     UT     90006131567
99971263572B62   FABIOLA        CRUZ                       CO     90008922635
99971998A5B548   DIANE          LUCERO                     NM     90009259980
9997228298B175   BETTIE         CISCO                      UT     31027882829
99972477472B24   ERIC           QUINLAN                    CO     33008534774
99972926297B59   DANIELLE       RODRIQUEZ                  CO     90014639262
9997299672B891   CAMILLE        ROE                        ID     90012989967
9997362124B588   LUIS           TORRES                     OK     21571646212
9997469344B949   LUKE           ALPO                       TX     90014826934
9997469373164B   FELISHA        WALLACE                    KS     22083656937
99974716A57128   LEONOR         REQUENO                    VA     90007807160
9997477A597B61   ABEL           PEREZ                      CO     39005527705
9997545A455946   ANA            ALVARADO                   CA     90013244504
99976194A2B94B   AKIN           ARRIAGA                    CA     90013621940
99976368A5B383   BRYAN          LOBTO                      OR     90012273680
99976974997B59   JENNIFER       CASTANEDA                  CO     39008579749
99976AA695B383   CODY           BURROW                     OR     90013970069
99977692172B62   ANGELICA       SONORA                     CO     33057776921
9997862A772B26   REYNA          LUEVANO                    CO     90009776207
9997B1A3772B32   ERNESTO        AGUILERA                   CO     90012621037
9997B25135B383   LEQUATA        MONTGOMERY                 OR     44514802513
9997B284991599   INDIA          ESPINOZA                   TX     90015302849
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1906 of 2350


9997B2A3397B61   PEDRO        RUEDA                        CO     90013682033
9997B4A4472B22   ROBERT       MENDER                       CO     90013184044
9997B522561971   MIGUEL       GUZMAN                       CA     90013085225
99981269372B42   ELENA        GREEN                        CO     33004362693
9998242275B531   MELISSA      ROJO                         NM     90012364227
9998242862B891   MANUEL       ALCARAZ                      ID     90001574286
99983171697B59   BRENDA       JACOBSEN                     CO     90012381716
9998321845B531   IVETTE       PACHECO                      NM     90015002184
9998329A972B22   CARLOS       ROMERO                       CO     90013912909
9998348443164B   LAURA        ROMO                         KS     90014554844
99983A52297B61   AIRIELLE     ZANDERS                      CO     90010780522
99984111A72B26   RONALD       LEWIS                        CO     33080741110
9998447912B898   BRANDON      ADAMSON                      ID     90001094791
999844A7191599   CARMEN       DE HARO                      TX     75081094071
99984558997B61   JACOB        JANECKA                      CO     90013675589
99984A15155951   MARANDA      DAWN SOTO                    CA     90011360151
99985659397B59   CYNTHIA      ARAGON                       CO     90013616593
99985775436B71   BLANCA       PAT                          OR     90009997754
9998612163164B   VERONICA     BENJAMIN                     KS     90009741216
9998667A74B554   EVELYN       RIVERS                       OK     90008596707
99987279497B61   SAMANTHA     SCRAGGS                      CO     90014772794
9998767A481635   DEREY        PENNY                        MO     90014536704
99988A47641296   KAITLAN      KUNKEL                       PA     90001540476
9998935825B531   KELLY        MONGIELLO                    NM     35033733582
99989697972B62   ANGELIC      TAFOYA                       CO     33043966979
99989A4625B523   HENRIETA     AGUILAR                      NM     90002190462
99989A77772B42   COURTNEY     LEMMINGS                     CO     90011670777
9998B5A2172B42   LEONILA      ESTRADA                      CO     90006725021
99991144A97B61   BROOKLYN     MUNSON                       CO     90008091440
9999314844B949   BRENDA       KYLES                        TX     90013731484
9999335A461971   EQUIVEL      KEVINN                       CA     46046463504
999934A518B175   BREEANNE     CASE                         UT     90010004051
99993757372B22   MICHAEL      CLANTON                      CO     33032937573
99994121A4B949   BRITTNEY     WILLIAMS                     TX     90014131210
99994135672B42   HOLLY        SHAFER                       CO     90009591356
99994299697B59   LUCIO        GUZMAN                       CO     90002222996
99994313772B22   CORY         JOHNSON                      CO     33039503137
99994597372B56   MILES        DAVIS                        CO     90005865973
99994984472B24   RODOLFO      VARGAS-ROMERO                CO     90014179844
9999499974B588   INSOLINA     CARRILLO                     OK     21515119997
9999525945B531   JESSICA      PARRA                        NM     90013612594
99996477772B32   BARBARA      CHAVEZ                       CO     90010644777
99996A66293755   PAMELA       MCKELVY                      OH     90014700662
99997131A4B588   MATTHEW      HARMON                       OK     90013721310
9999758137B444   APRIL        CHASTAIN                     NC     90010285813
9999789937B444   JERRY LEE    CHASTAIN                     NC     90012918993
9999797A297B59   MANUELA      FRAGOSO                      CO     39085479702
9999867858B175   ELIRIA       MARTINEZ                     UT     90011896785
9999887515B531   BERNABE      MENDOZA TENA                 NM     90007608751
99998A21372B22   EMILIO       RODRIGUEZ                    CO     90015200213
999992A114B554   DWIGHT       HODGENS                      OK     21520542011
9999978518B835   LESLI        QUINONEZ                     HI     90014257851
9999B14244B949   VALERIE      KENEBRNW                     TX     90009371424
9999B14A53164B   SARA         HOCH                         KS     90009081405
9999B27A372B22   ROBERTA      ALARCON                      CO     90001392703
9999B32A797B61   ARTURO       CHAVEZ                       CO     90013923207
9999B445255951   ELVIRA       MARTINEZ                     CA     90013844452
9999B87454B588   AMBER        MCCABE                       OK     90013958745
999B1162372B26   ROSEMARIE    LEON                         CO     33027961623
999B1898393755   DONNA        ROCHE                        OH     90010898983
999B1A9365B386   ELYSA        WATKINS                      OR     90007960936
999B2192791599   GEORGE       BLANCO                       TX     75065331927
999B2351A97B59   MARIA        MARTINEZ                     CO     90010593510
999B332983164B   TONI         FIFER                        KS     90013473298
999B3346541296   ATHALIAH     ISRAEL                       PA     90002493465
999B334912B891   MELISSA      CARVER                       ID     42051463491
999B3558955951   RAMON        MEZA                         CA     90014805589
999B36A9A72B24   DELIA        MARQUEZ                      CO     33063296090
999B4572572B24   ANDREW       FLORES                       CO     90013655725
999B492835B531   ANGELO       GALLEGOS                     NM     35009649283
999B4AA3281634   JAMIE        MCGEE                        MO     90001680032
999B584959153B   SAUL         HERNANDEZ                    TX     90014248495
999B586358B175   GENE         WEIDEMAN                     UT     31058398635
999B6569A8B175   GLENNA       FACCENETTI                   UT     31086915690
999B6658881634   ISMAEL       CHACON                       MO     29031076588
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1907 of 2350


999B672885B383   KAREN         BROOKS                      OR     44510847288
999B69A7777537   ALICIA        LEON                        NV     90013299077
999B6A56872B56   ANGELICA      CUEVAS RAYA                 CO     33001030568
999B6A67361971   JOSUE         RIVERA-NAVA                 CA     90013000673
999B7358955951   CRISTAL       VELASQUEZ                   CA     90012323589
999B7734772B22   DEREK         ALEXANDER                   CO     90014607347
999B7997197B59   JOSE          HERNANDEZ                   CO     39018139971
999B8695741296   AMY           WILLIAMS                    PA     90013026957
999B8896961971   OSCAR         TOVA                        CA     46001218969
999BB149691951   NINA          OUTEN                       NC     90013021496
999BB24272B248   LEON          BROWN-SMITH                 DC     90001542427
999BB554141296   KATHIE        HODGE                       PA     51085975541
999BB752772B26   PEREZ         ULISESS                     CO     33040367527
999BB754472B62   JUANA         CARDONA                     CO     33052937544
999BB787172B24   ZEPHANIAH     ARCHULETA                   CO     90012847871
999BB8A6972B32   JULIA         MERINO                      CO     90012548069
999BBA1117B444   JESSICA       DAVIS                       NC     90014400111
99B11565191599   PHYLLIS       CORONADO                    TX     75053255651
99B12365697B61   THA KYE       TWE                         CO     90015333656
99B1241828B175   SERGIO        QUINTERO                    UT     90009844182
99B12468693755   MELISSA       TRAUFLLER                   OH     90010964686
99B12995997B61   NINA          SANDERSON                   CO     90012889959
99B12AA8561955   SERFERINO     CIENFUEGOS                  CA     90006310085
99B13295481635   JOSE MANUEL   CONTRERAS                   MO     90012612954
99B13359572B42   PEDRO         SOSA                        CO     33069213595
99B1337AA8B169   CINDY         GIBBS                       UT     31034253700
99B13424181635   RASHAD        MOORNING                    MO     90014874241
99B13724597B61   JOHN          GARCIA                      CO     39079527245
99B14536672B33   JOSEPH        BUTTS                       CO     90014105366
99B14682397B61   LAUREN        VINING                      CO     90006746823
99B14879772B24   YOLANDA       TREVINO                     CO     33095038797
99B15612355951   MIGUEL        CARRERO                     CA     90010876123
99B15878691579   ALEJANDRO     ROCHA                       TX     90010828786
99B1642A15B383   JAISHA-LEE    MCGOWAN                     OR     90013244201
99B17255772B22   ELIZABETH     ECKHOUT                     CO     90012532557
99B1745425B383   SHULENA       NELSON                      OR     44524454542
99B17494491951   SHANA         DAVID                       NC     90010424944
99B1781215B531   MICHEAL       MARTIN                      NM     35008748121
99B178A798B175   OLIVER        ROMERO                      UT     90010698079
99B17928A9714B   JAMES         WASHBURN                    OR     90011299280
99B1853585B548   MAKAYLA       ARCHIBEQUE                  NM     90013475358
99B18612772B2B   KENNETH       TOLBERT                     CO     90005016127
99B1897A38B17B   ERIC          JENSEN                      UT     90000149703
99B18A76272B56   ROBERT        BROEMELING                  CO     33014830762
99B19639891599   BRIAN         RANSOM                      TX     90014836398
99B1B458372B84   MARIA         PEREZRODELAS                CO     33035934583
99B1B484597B59   ELIZABETH     AGUILAR                     CO     90014004845
99B1B59924B554   ELIZABETH     MADRID                      OK     21532365992
99B21276393755   JERRY         GRIESELHUBER                OH     64592142763
99B21635797B59   TONY          MATA                        CO     90015196357
99B216A3572B56   PATRICIA      TALAMANTES                  CO     90002236035
99B21751497B59   NAYELIE       SANCHEZ                     CO     90013007514
99B22629A72B22   SAVANNAH      SCOTT                       CO     90013806290
99B22A7155B531   JAMES         ESQUIBEL                    NM     35012150715
99B2317373164B   ELSA          RIVERA                      KS     22089861737
99B2322A751342   IRENE         ROBERSON                    OH     66015742207
99B2345AA4B949   KEASHA        YARBROUGH                   TX     90011274500
99B2348735B548   CLAUDIA       CASTILLO                    NM     35054224873
99B23583A97B59   DONNA         SWARTOUT                    CO     90012175830
99B2359447B444   BENJAMIN      CRUZ                        NC     90010395944
99B23787881634   ANGEL         FOSTER                      MO     90009917878
99B23826872B26   LINDA         HARRIS                      CO     33048798268
99B24639261971   PHOENICIA     BYAS                        CA     46020516392
99B256A5191579   KAROL         CHAVEZ                      TX     90011486051
99B2591915B548   JAMES         LOPEZ                       NM     35029249191
99B2598564B554   JOSEPH        PATTERSON                   OK     21560859856
99B2598765B383   JESSICA       WILKS                       OR     90001919876
99B25A4325B54B   GARILYN       MOONE                       NM     90015050432
99B25A75372B42   CARLOS        SALAZAR                     CO     33046800753
99B26318797B61   HILARY        MIECZKOWSKI                 CO     90005683187
99B26696293755   MARCHEL       POTTS                       OH     64565176962
99B28326172B22   MARIO         LARA                        CO     90012533261
99B28AAA797B61   DOMINIQUE     MOORE                       CO     90010700007
99B2927424B588   TAYLOR        WARRIOR                     OK     90014852742
99B29297955951   JOSE          BENNITS                     CA     90010242979
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1908 of 2350


99B296A3893755   STACY        CRISWELL                     OH     90013996038
99B3127425B548   ELIZABETH    MONTOYA                      NM     90015172742
99B31328177537   ADELA        AGUILAR                      NV     43090343281
99B3145519184B   LESLIE       GARDNER                      OK     21006234551
99B31A54755979   ELDA         MARTINEZ                     CA     90001360547
99B31A9634B588   SELENA       ESCALERA                     OK     90013620963
99B32279997B59   JOSH         RODRIGUEZ                    CO     90010002799
99B32283A5B383   PAULETTA     SHAVER                       OR     90003982830
99B3284A972B62   MANUELA      TORRES                       CO     90012178409
99B32A6A291951   J MARTIN     MARTINEZ                     NC     90014700602
99B33397772B22   DESIREE      VIGIL                        CO     90010873977
99B33573797B59   ERICA        RODRIGUEZ                    CO     90011165737
99B3385972B891   BEVERLY      LAMITINA                     ID     90010458597
99B3487895B54B   YIANA        MUNOZ                        NM     90015398789
99B3497995B393   CHRISTINA    POTTER                       OR     90000219799
99B34A15372B24   EVAN         MCGUIER                      CO     90014860153
99B3562695B531   MONIQUE      VIGIL                        NM     90012866269
99B3597167B444   RICHARD      HAGGIT                       SC     11096399716
99B359A194B554   ROSEMARY     VERITY                       OK     90007749019
99B35A76691599   EDUARDO      MARTINEZ                     TX     90012240766
99B36254661971   PABLO        MENDOZA                      CA     90005522546
99B362A8891951   CHERYL       REAVIS                       NC     90009622088
99B36599272B24   CELESTE      HERNANDEZ                    CO     90012955992
99B36645191554   ANGEL        PEREZ                        TX     90014366451
99B36898255951   DELFINO      VASQUEZ                      CA     49006358982
99B3694385B548   MILLER       KIMBERLEE                    NM     90013529438
99B36A2AA8B175   TAYLOR       HALL                         UT     90013140200
99B371A9977537   TALANOA      PANUVE                       NV     90014231099
99B37229681635   YANETH       MENDEZ                       MO     90009812296
99B3732252B891   CHRISTINE    BENNETT                      ID     90000673225
99B37443141296   KAYLA        YOUNG                        PA     90015024431
99B37463258521   JAIME        RODRIGUEZ                    NY     90015614632
99B3811265B531   JUSTIN       SKYLER                       NM     90001871126
99B3813327B444   TIFFANNY     DUBOSE                       NC     11013451332
99B3865945B383   YVONNE       WALDEN                       OR     90002266594
99B3881A65B548   BRENDA       PUGH                         NM     35064178106
99B3888254B588   NANCY        RODRIGUEZ                    OK     90010208825
99B39253697B59   BEVERLY      WALKER                       CO     90013922536
99B397A3A91951   MANUEL       RAMOS                        NC     90013887030
99B3B44915B531   MANUEL       MIRAMONTES                   NM     35005774491
99B3B46846B621   ANTHONY      NEWELL                       KY     90015094684
99B3B77A672B22   JULIE        BINDISI                      CO     33070757706
99B3B994291951   ERIXAN       FUENTES                      NC     90008499942
99B41152561971   NATASHA      THURMAN                      CA     90013451525
99B41255897B59   AUSTIN       HOWELL                       CO     90013852558
99B4174544B588   CANDANCE     BEAVER                       OK     90006707454
99B42529A91951   DESTINEE     RODGERS                      NC     90011565290
99B42623881635   TRAVIS       PINNICK                      MO     90002766238
99B42856997B59   ANDREW       GERLOLD                      CO     90011268569
99B4313654B949   CELINA       VALDEZ                       TX     90006061365
99B43168787B81   MAQSOOD      ALI MAUGHAL                  AR     28023621687
99B4339794B588   DESTIN       GRANT                        OK     90003103979
99B433A9261971   JUAN JOSE    BENAVIDES                    CA     46028003092
99B43631172B26   MELISSA      STAPLEY                      CO     33030486311
99B4369728B175   RAYMUNDO     RODRIGUEZ                    UT     31028476972
99B437A8691599   ISAAC        BECERA                       TX     75001297086
99B44A5A593755   SHATARA      CONNER                       OH     90009740505
99B4537132B891   MARIAH       CORREA                       ID     90011223713
99B454A9372B3B   NICHOLE      PEREZ                        CO     33018224093
99B45623593755   PATRICIA     WATTS                        OH     90003386235
99B4575A87B444   TERRANCE     TAYLOR                       NC     11067657508
99B46293777537   JESSE        SALINAS                      NV     90010702937
99B4653933164B   MICHELLE     WILLIAMS                     KS     22040745393
99B4665768B175   MARIA        CASH                         UT     90014496576
99B46893491599   TANYA        MARTIS                       TX     90012248934
99B46978A4B949   JACQUES      HARRIS                       TX     90013209780
99B4719A45B548   JOSE         ABEITA                       NM     90013891904
99B4732795B531   JESUS        MONTES                       NM     90013533279
99B47522161971   ANTHONY      JONES                        CA     90014815221
99B47841A5B383   BRANDY       MAESTESS                     OR     90014628410
99B479A3884349   LATONYA      WOODBERRY                    SC     90003689038
99B48179284332   KENNETH      WRIGHT                       SC     90009601792
99B4842715B531   ROXANAN      SANDOBAL                     NM     90007814271
99B48468A61971   AMBER        HARRIS                       CA     90014244680
99B48726781634   LATREASHA    RANSBURG                     MO     29065807267
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1909 of 2350


99B48A65372B32   MONIQUE      SMITH                        CO     33020680653
99B48A69391599   REMI         GARCIA                       TX     75053160693
99B4934595B548   GORDAN       LEASE                        NM     35008693459
99B49393993755   BRIAN        DECKARD                      OH     90012113939
99B49773597B61   NAOMI        CHAVEZ                       CO     39080567735
99B4B5A9572B22   ERGIO        CIFUENTES                    CO     90014775095
99B4BA4AA72B3B   J.W.         KIMMONS                      CO     33059260400
99B51161561971   BRIANNA      JOHNSON                      CA     90015141615
99B5118814B949   TERMIRA      JOLIVETTE                    TX     90015061881
99B514A1272B32   TOBY         MONTOYA                      CO     90010644012
99B519A9472B24   ROYCE        GIBSON                       CO     90013569094
99B52359455951   JUANA        RIOS                         CA     49074963594
99B5254584B588   LONNIE       FREEMAN                      OK     90004695458
99B52686977537   EVELYN       VIVAR                        NV     43093896869
99B53157A72B32   JOSE         POBLANO                      CO     90011501570
99B53259341296   HARLEE       CLOUSE                       PA     90012142593
99B534A393164B   KANDI        HARRALL                      KS     90009674039
99B5365427B444   ALEITA       KEZIAH                       NC     11072296542
99B54A41777537   KELLY        PRAY                         NV     90014150417
99B5515678B175   JESSICA      TELLES                       UT     90006131567
99B5519324B949   TIISHA       WASHINGTON                   TX     90013031932
99B5536AA97122   TAMARA       KEELING                      OR     90006713600
99B55391472B24   CHARLES      STORTS                       CO     90014933914
99B5572795714B   MIEKE        FRISHMAN                     VA     90012367279
99B5576374B588   ELVUS        KISHKETON                    OK     90007687637
99B56284991599   INDIA        ESPINOZA                     TX     90015302849
99B56586461971   ERNESTO      RAMOS                        CA     90012035864
99B5667657B444   BRITTANY     DIXON                        NC     90014856765
99B56916A5B288   TATISHA      CRISS                        KY     90011939160
99B5694455B548   STEVEN       MAESTAS                      NM     90013259445
99B571AA24B588   ANGELA       CISZYNSKY                    OK     90015091002
99B5756A481634   OSCAR        AGUIRRE                      MO     90010385604
99B57613972B24   JOE          GALLEGOS                     CO     90012466139
99B57A96658521   JOHN         ZANDENBURGH                  NY     90015410966
99B58228672B22   NATHALEEN    GONZALEZ                     CO     90013512286
99B58288491951   VINCENTE     GOMEZ                        NC     90005902884
99B5837A441296   GERALD       TERRY                        PA     90014403704
99B58591597B61   JOLLY        GARCIA                       CO     90008285915
99B5887342B891   YOLANDA      MARTINEZ                     ID     90005378734
99B5971915B548   LEONORR      LOPEZ                        NM     90015257191
99B5B5AA161971   JESSICA      LACKEY                       CA     90014165001
99B5B71114B949   JUSTIN       BOBBITT                      TX     90010547111
99B5B78774B588   PAYGO        IVR ACTIVATION               OK     90011927877
99B61124772B3B   FRANKIE      CASTILLO                     CO     33015221247
99B61184772B24   GINA         SMITH                        CO     33080671847
99B6182263164B   DONNA        CHADDOCK                     KS     22028628226
99B6225882B891   ANNA         HERANDEZ                     ID     90005732588
99B6233A95B536   FLOR         ARCIA                        NM     90005513309
99B62599191599   JASHUA       LUTAN                        TX     90003735991
99B626A8877537   ELDA         DELAPUENTE                   NV     43080996088
99B62982761977   BRUCE        DAVIS                        CA     90009419827
99B63615841296   GREGORY      STARKS                       PA     90011506158
99B6447915B531   ALISSA       SEARBY                       NM     35043104791
99B64997A22937   LESSIE       MCKINNEY                     GA     90014669970
99B64A34672B42   ANDY         VIGIL                        CO     33075810346
99B65377591951   CARLA        ALVARADO                     NC     90008503775
99B65646A51533   HECTOR       GONZALEZ                     IA     90015416460
99B65986A3B366   ARON         CRUNKILTON                   CO     90008139860
99B6648394B588   JACOB        SCHMIDT                      OK     90011454839
99B6716574B588   JOSE         AVILA                        OK     90013241657
99B6747748B185   CAMILLE      NIESER                       UT     90013784774
99B67552497B61   MEGAN        PESINA                       CO     39080445524
99B67989981635   CURTIS       ROSA                         MO     90011409899
99B6875228B175   JESUS        VALENZUELA                   UT     31075167522
99B68818177537   DAVID        AGUIRRE RAMIREZ              NV     90014868181
99B6914277B444   QUINN        THOMPSON                     NC     90000621427
99B6942A92B891   VERONICA     KINNEY                       ID     90013954209
99B6982A461971   LUIS         GARCIA                       CA     90013008204
99B69A9395B548   VANESSA      MULLER                       NM     90014770939
99B6B25744B949   DEQUIAN      BRANNON                      TX     90014142574
99B6B687497B59   MELISSA      HERMAN                       CO     39005106874
99B6B932A3B322   TERRI        JONES                        CO     33006559320
99B6BAA6277537   RAQUEL       REYMERS                      NV     90013630062
99B7135AA4B588   JASON        STEELE                       OK     90014453500
99B71459372B32   HAL          HALL                         CO     90007654593
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1910 of 2350


99B72125541296   JANET         THOMPSON                    PA     90015451255
99B72175977537   JAYE          NELSON                      NV     90014391759
99B7221A972B24   SHERRY        GARCIA                      CO     90013112109
99B72293897B59   JESSICA       LEDOUX                      CO     90013852938
99B74479472B42   DEVIN         SELIGSOHN                   CO     33071534794
99B746A494B949   RENUKA        HOLIDAY                     TX     90002636049
99B74A15455951   JOANNE        ESQUEDA                     CA     49052710154
99B74A1912B891   WADE          WENTWORTH                   ID     90008190191
99B7534257B444   BARTOLO       MENDEZ                      NC     90012353425
99B757A2581634   CRAIG         STRONG                      MO     90012457025
99B75846181639   ARTHUR        TAYLOR                      MO     90010798461
99B75993697B61   ROMAN         MUNOZ                       CO     90011559936
99B7636295B383   MICHELE       DOREN                       OR     44589943629
99B76568172B56   JAZMIN        PONCE                       CO     33017885681
99B76588472B32   MANUEL        VILLANUEVA BUSTILLOS        CO     90013045884
99B76917393755   ANGELA        MILLER                      OH     90011319173
99B77539981634   JOHN          DAIGHERTY                   KS     90012305399
99B7769355B344   MARIBEL       SALAS                       OR     90013876935
99B7774365B531   MANUEL        MENDEZ                      NM     35024197436
99B78212972B3B   DAVID         BANKS                       CO     33098802129
99B7838375B531   DEANNA        PEREA                       NM     90013623837
99B7859224B588   CHRISTOPHER   IVORY                       OK     90012035922
99B7878262B891   JHOVANA       HERNANDEZ                   ID     42026957826
99B78AA445B383   ROBERT        R CRAFTS                    OR     90006340044
99B7936413B358   PATRICA       COX                         CO     33096473641
99B7961847B444   LATANYA       MOORE                       NC     11087236184
99B79779972B22   JORGE         ZAVALA                      CO     90011907799
99B79A32672B26   ANA           MOLINA                      CO     33031520326
99B7B217A63B58   EMELDA        HOPKINS                     IL     90015112170
99B7B281158521   JORDAN        DECRAMER                    NY     90015482811
99B7B676197B59   CODY          PREMUS                      CO     90000446761
99B7B965591599   LORENZO       GOMEZ                       TX     75053659655
99B7B9A8981634   ROBERT        MAXBERRY                    MO     90015159089
99B813A578B175   BRYAN         SYMONETTE                   UT     90008103057
99B8142545B383   ALLISON       PEREZ                       OR     90008074254
99B8164533164B   TOSHJANAE     VALENTINE                   KS     90013386453
99B81811993738   TIMOTHY       FREEMAN                     OH     90007538119
99B81911197B59   KELLEY        MAHONEY                     CO     90011589111
99B81958372B62   RENEE         MONTOYA                     CO     33095979583
99B81991355951   ANNA          OLIVAREZ                    CA     90011359913
99B8226235B548   BILL          STRAHL                      NM     35000692623
99B82481977537   LARRY         CLIFF                       NV     43086354819
99B82987572B32   CRYSTAL       STORM                       CO     90012429875
99B82A3A872B22   SHANNON       ISENHOUR                    CO     33009240308
99B8316584B949   BERENICE      PONCE                       TX     90010251658
99B8316834B27B   JESSICA       ZONKER                      NE     90000351683
99B8349838B175   FRANKIE       MAYES                       UT     90015134983
99B838AA297122   JESSE         PARKS                       OR     90011378002
99B83A3415B535   MARGARITA     HERNANDEZ                   NM     90014660341
99B83A3777247B   BRANDY        BEARD                       PA     90000980377
99B842A975B531   JACOB         FENDER                      NM     90013852097
99B84937777537   ARELI         ADAME                       NV     90009199377
99B86298681634   MANUEL        MARQUEZ                     MO     29014492986
99B86484A36B44   ERIBERTO      PARRA                       OR     90002574840
99B86AA812B891   JUDITH        ORTEGA                      ID     90002940081
99B875A9672B32   EDIE          VALDEZ                      CO     33090195096
99B87756693755   KIM           KINSLER                     OH     64536857566
99B87766681635   NANCY         BOWMAN                      MO     90011477666
99B87836181634   COX           ROCHELLE                    MO     90012138361
99B87A93672B62   FRANCES       SERGIO                      CO     90010900936
99B88218891951   ALBERT        GASPER                      NC     90015002188
99B882A8461925   GRACIELA      DOMINGUEZ                   CA     90012782084
99B88575781635   MARK          BEST                        MO     90014155757
99B8888935B531   MANUEL F      GARCIA                      NM     35060668893
99B89985272B42   SANDRA        ARGUELLO                    CO     90003169852
99B8B13482B891   CINTHIA       FRANCO                      ID     90013991348
99B8B478857563   RACHEL        ESQUIVEL                    NM     90013314788
99B8B8A5272B3B   JASON         BOLTZ                       CO     33097298052
99B8B93A772B24   LUIS          GONZALES                    CO     33059319307
99B9115954B554   BRANDI        HURT                        OK     21580601595
99B91826872B22   ADRIANNA      KOCAK                       CO     90012828268
99B91933472B32   BEGGS         BILLY                       CO     33056509334
99B91972A7B444   JOSE          MENDEZ                      NC     90014859720
99B91A49A6B396   KARISTIE      HARTFORD                    NH     90014120490
99B91A6832B885   SCOTT         ZIMMERMAN                   ID     42098200683
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1911 of 2350


99B9287215B383   TIMOTHY      GEIGLE                       OR     90004748721
99B92A19372B26   ANGELINA     CHINO                        CO     90001640193
99B92A29181635   ROGDERS      LYNTONA                      MO     29019860291
99B92A8875B531   DIANA        VALENCIA                     NM     90011950887
99B93177377537   SANTIAGO     LOPEZ                        NV     90001641773
99B931A2491599   ERNEST       RAY                          TX     90010821024
99B9329296B957   ESTELA       MORENO                       NJ     90010122929
99B9364713164B   SHELLY       LEITZEL                      KS     90006166471
99B9382662B891   ROBERT       NEWFIELD                     ID     90012648266
99B93882A72B32   NATALIA      SILVA                        CO     33063108820
99B9388495B383   CISNEROS     LUZ MARIA                    OR     90011728849
99B94565672B62   BRITTANY     STOPPER                      CO     33034655656
99B94683491599   SUKIE        MEDINA                       TX     75032856834
99B9564A34B949   FABIOLA      PEREZ                        TX     90013766403
99B956A4191599   EDNA         ANTILLON                     TX     75001926041
99B95A73172B24   MARIA        CHAVEZ                       CO     90013770731
99B96138572B22   NATASHA      DYER                         CO     90004961385
99B9631834B588   ASHLEE       WOOD                         OK     90015303183
99B97135672B42   HOLLY        SHAFER                       CO     90009591356
99B97497A91599   MARIA        MENDOZA                      TX     90014154970
99B97522933623   SANDRA       CARMACK                      NC     90011005229
99B98137261971   JENNIFER     SIMMONS                      CA     90014551372
99B9817AA97B59   TAMMY        MCKEE                        CO     39029691700
99B9821795B531   JESUS        TORRES                       NM     35024052179
99B9827547B444   LUIS         PINEDA                       NC     90013922754
99B98A37A72B62   MARCUS       BACA                         CO     90007030370
99B98A62972B26   RENEE        STAPLETON                    CO     90012870629
99B99622291599   MARIA        SANCHEZ                      TX     90010776222
99B99853393755   BILLY        KRAFT                        OH     90013178533
99B9B815121832   KIMBERLY     COBB-WILSON                  MN     90010858151
99BB1461277521   MICHAEL      HEUBERGER                    NV     90007024612
99BB1825172B62   JENNIFER     UPTERGROVE                   CO     33040138251
99BB18A4991599   NICOLE       NAVARETTE                    TX     90014028049
99BB2348672B22   CRISTIAN     MALDONAD                     CO     90013933486
99BB2437761971   NANCY        LUCCAS                       CA     46005534377
99BB2489872B62   MICHAEL      ANAYA                        CO     90003774898
99BB256455B383   ARNOLD       PINKOWSKY                    OR     90014835645
99BB349667B444   TARQUITA     BARNETTE                     NC     90013884966
99BB3711A72B62   EVER         VILLORDO                     CO     33025747110
99BB3A46A72B32   NORA         SAENZ                        CO     90014020460
99BB4449672B62   CANDIS       ALBRIGHT                     CO     33076544496
99BB4766136B44   DANELLE      WAKEFIELD                    OR     44518007661
99BB534A47B444   MARIO        MEJIA                        NC     11039323404
99BB534AA4B588   DRUCILIA     BRUNER                       OK     90014863400
99BB5389591532   DAVID        SANCHEZ                      TX     90013953895
99BB5611291532   CRUUZ        RUBEN                        TX     90001646112
99BB6428455951   JESUS        BARBA                        CA     90013034284
99BB678127B322   BRIAN        PALOMBO                      VA     81043427812
99BB6A4378B175   MONICA       MURPHY                       UT     90000700437
99BB7537981634   ALEXANDRA    TORRES                       MO     29080515379
99BB768A172B62   LORENA       MENDEZ                       CO     90012976801
99BB7A5894B588   KAREN A.     LEWIS                        OK     90015100589
99BB8146661971   SAMUEL       CEBALLOS                     CA     90013761466
99BB822257B444   LAPROSHA     NANCE                        NC     90014772225
99BB8334272B62   DIANA        CALDERON                     CO     90002463342
99BB8418972B24   ANTONIO      SANDOVAL                     CO     33072264189
99BB863895B548   NUBIA        VALENZUELA                   NM     35080056389
99BB873A697B59   TYLER        JOHNS                        CO     90011267306
99BB899215B383   AUDRA        CRONEN                       OR     44547949921
99BB8A6A381635   MARIO        GOMEZ                        MO     29055110603
99BB927AA72B26   HECTOR       CARDOZA                      CO     33055372700
99BB9662197B59   MARTIN       ARREOLA MARQUEZ              CO     90012716621
99BB9919491399   CRAIG        BATES                        MO     29090089194
99BBB177355951   LEOPOLDO     SOTELO                       CA     49001381773
99BBB527197B59   KIM          REEVES                       CO     90013055271
99BBB688272B24   JANNELLE     BACA                         CO     33094096882
99BBB914141296   GEORGE       CINCALA JR                   PA     51040379141
9B1112AA755957   DELLA        WILSON                       CA     90015302007
9B111476891368   ANTONIA      DUE?AS                       KS     29016224768
9B111515772B42   TIMOTHY      HONEYCUTT                    CO     33041005157
9B11163972B268   LINDA        CAMPBELL                     DC     90001226397
9B11172A851342   TASHA        ARROWOOD                     OH     66037227208
9B1119A7561977   JOSE         MARTINEZ                     CA     90011139075
9B111A63272491   TIFFANY      PIPER                        PA     90010710632
9B112155493778   JOEI         BORCHERS                     OH     90010261554
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1912 of 2350


9B11242458B188   ERIKA         VIGIL                       UT     90013554245
9B112481955951   TRISTAN       RUIZ                        CA     90015344819
9B11266245B565   MOHAMMAD      AWAD                        NM     90002586624
9B112827372B32   BRYAN         DROWNE                      CO     90013608273
9B112867272B56   KATIE         JONES                       CO     33052058672
9B11289A14B554   MEGAN         CORTEZ                      OK     90014818901
9B112917457122   HECTOR        MARTINEZ                    VA     90003729174
9B112989272B42   RICHARD       CRATEN                      CO     33095519892
9B113189581634   JOANN         MONACO                      MO     90004041895
9B113218781635   MARCUS        MORTON                      MO     90013082187
9B11329A87B444   LINDA         EVANS                       NC     90013862908
9B11343873164B   DALIA         GALLEGOS                    KS     22017434387
9B113575997B59   DESTINAE      DEBOER                      CO     90012785759
9B11394722B981   MARY ANN      MORENO                      CA     90014399472
9B114692297B59   NONA          VANDERFORD                  CO     90003456922
9B114775172491   BONNIE        RASCHIATORE                 PA     51026937751
9B11523A391354   LORENA        LEDEZMA                     KS     90012362303
9B115298951342   DONNA         RUDD                        OH     90015002989
9B1152A2872B56   TUYEN         NGUYEN                      CO     33089592028
9B115488155951   KEVIN         ORMSBEE                     CA     90013924881
9B115758772B32   ROBERTO       ESPARZA                     CO     90013967587
9B11593862B891   DARLENE       TWEEDY                      ID     90010919386
9B11596665B548   YOLANDA       FACIO                       NM     35008069666
9B11623785B371   ZORAYA        MAYA                        OR     90009202378
9B116245372B42   ALICIA        FLORES                      CO     33089082453
9B11636252B27B   SHADONNA      WILLIAMS                    DC     90012853625
9B11657844B588   OSCAR         CASTRO                      OK     21510635784
9B11666A977537   CALEY         PAINTER                     NV     90014796609
9B116AA3551342   PAT           BISHOP                      OH     90015440035
9B117147A8B187   BRANDY        HENDERSON                   UT     90010061470
9B11716AA72B42   LINDA         SUE KNAPP                   CO     90009121600
9B117212433698   RHONDA        PRATT                       NC     12061912124
9B11734139712B   AMELIA        MARIE PLATA                 OR     90009303413
9B11734A791951   JENNY         RODRIGUEZ                   NC     90011763407
9B11737AA81634   CORNEALIA     MIMS                        MO     90010023700
9B117394A72B3B   GISSEL        VENZOR                      CO     90004753940
9B117A2385B531   MICHELLE      GUTIERREZ                   NM     35006610238
9B11827234B235   TAESHA        ALFREDSON                   NE     90009822723
9B11844988B188   MERCY         MORALES                     UT     90013554498
9B118735772B32   CHRISTIAN     HERRERA                     CO     90005107357
9B118849272B98   LESTER        FRITZLER                    CO     33063978492
9B119337547834   RASHEEN       GILFORD                     GA     90013333375
9B119771497B59   JEREMY        MILLER                      CO     90002817714
9B119A46541296   CHRIS         RUSSELL                     PA     90011010465
9B119A54A72B42   JUSTIN        STONE                       CO     90012150540
9B11B9A285B565   OMAR          ALVAREZ                     NM     35012669028
9B11BA24581634   JEANETTE L    JACKSON                     MO     29031730245
9B121196693778   DINEAH        JACKSON                     OH     90003921966
9B121229551342   KYLE          SMITH                       KY     90011602295
9B12126A572B98   MARIA         AGUAYO                      CO     33035332605
9B12131838B175   HEATHER       MACKAY                      UT     31048793183
9B121678977537   DEANDRE       BABINO                      NV     90014796789
9B12191A53164B   ROSA          MARTINEZ                    KS     22040079105
9B122142791532   MARLA         SAINT LEON                  TX     90012101427
9B12251A24B588   DONNA         MILAS                       OK     21590645102
9B12298725B565   KARISA        TRUJILLO                    NM     90006679872
9B1232A2461977   LEA           RODRIGUEZ                   CA     90012612024
9B123368933698   JOSE          RAMOZ                       NC     90012773689
9B123414572B32   JESUS         ORTIZ                       CO     90005044145
9B12397515B531   FRANCHESSCA   SANDOVAL                    NM     90013239751
9B124322533698   GLASHA        SOUTHERLAND                 NC     90013973225
9B1243A715B383   JUSTUS        AKWENUKE                    OR     90012773071
9B124539A91882   DAMON         BAKER                       OK     90015305390
9B12455A791399   CLAUDIA       DIAZ                        KS     90005645507
9B12476A35133B   AMBER         SWITZER                     OH     66083167603
9B124A2948B152   JUSTIN        PUTZSTUCK                   UT     90003330294
9B12529175B565   RACHEL        JIMENEZ                     NM     90005912917
9B125444391599   ARTIE         ARANDA                      TX     75002874443
9B125591161977   OSCAR         PEREZ                       CA     90008365911
9B12581A141296   BRUCE         THORNTON                    PA     51030198101
9B12598A491521   DANIEL        ORTEGA                      TX     90012849804
9B1259A8193769   MEGAN         TRIO                        OH     90015419081
9B126142A5B548   TERESA        SETH                        NM     90006901420
9B126219255951   TRICIA        MILLS                       CA     90015232192
9B12678A18B152   DARON         WILLIAMS                    UT     90011257801
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1913 of 2350


9B12692484B554   SARAH          ALVARADO                   OK     90014819248
9B127137451342   CHARLES        BIEBRICH                   OH     90002071374
9B127459A5B537   TERINA         SANCHEZ                    NM     35066484590
9B12749678B175   DELLY          MUSHENGEZI                 UT     90011014967
9B127549A33698   ROBERTO        HERNANDZ                   NC     90013565490
9B127818791951   KEDRA          JOHNSON                    NC     90011088187
9B1278A884B554   TIMESHA        HOPGOOD                    OK     90014858088
9B128232A93755   MICHAEL        RANDALL                    OH     64500802320
9B12854328B188   ANTHONY        LAVULO                     UT     90013555432
9B12861A391521   EMANUEL        ROBINSON                   TX     90013256103
9B128688772B42   THOMAS         COMER                      CO     90006136887
9B12893234B554   KRISTOPHER     RODRIGUEZ                  OK     90014819323
9B128A91191882   DUSTIN         LINKS                      OK     90014760911
9B12933793164B   SERGIO         ARREOLA-CARRILLO           KS     90015063379
9B12943948436B   RODOLFO        MARTINEZ-GABRIEL           SC     90015094394
9B1294AA272B98   HECTOR         MARQUEZ                    CO     33020314002
9B12962154B554   TONY           BAQUERA                    OK     90000976215
9B12962A14B588   ROSEMARY       TAYLOR                     OK     90010066201
9B129682172491   JEREMY         ORGOKSY                    PA     90013516821
9B129897981635   MELISSA        MCNUTT                     MO     90004018979
9B12B177891521   JESUS          PORTILLO                   TX     75089761778
9B12B226972B32   NANCY          RAMIREZ                    CO     33098032269
9B12B618172B62   LAURA          RAMIREZ                    CO     90009566181
9B12B63AA97B59   GABINO         SANCHEZ                    CO     90013226300
9B131111772B3B   ELIZABETH      MIRELS                     CO     90013081117
9B131132691521   VANESSA        GONZALES                   TX     90014461326
9B13148A155957   MARIA          BUENO                      CA     49077674801
9B13152168B152   THOMAS         JONES                      UT     31069155216
9B131535372B42   GALA           MONTGOMERY                 CO     33036805353
9B13181264B554   MARIA          GONZALEZ                   OK     90014858126
9B131847655951   ALFREDO        RIVERA                     CA     90013938476
9B131A82772B56   CHARLES        MCCALL                     CO     33036000827
9B132186577521   ALAJANDRO      GONZALEZ                   NV     90013761865
9B132621597B59   PATRICIA       PANZO GINEZ                CO     90010726215
9B13263A75B928   RODRIGO        DELGADO                    WA     90015416307
9B13281898B152   RICHARD        MILEWSKI                   UT     31008128189
9B13281A141296   BRUCE          THORNTON                   PA     51030198101
9B132962172B32   TONI           KENNEDY                    CO     33056369621
9B13299987B444   PAMALA         WILLIAM                    NC     90005579998
9B133197472B62   TIFFANY        GONZALES                   CO     90010461974
9B133228561979   ELSY           ILLESCAS DE BAUTISTA       CA     90013862285
9B133434372B32   LATISHA        MARIN                      CO     33009954343
9B133567A8B188   NESHMA         SHADE                      UT     90013555670
9B133958372B62   PEDRO J        REYES                      CO     90011549583
9B134253891521   MIKE           STAHL                      TX     90010812538
9B134399572B56   JAMES          BURINS                     CO     90013833995
9B134453393778   PATRICK        LONG                       OH     90014064533
9B13456958B188   BRENT          LUHRING                    UT     90013555695
9B134923A55951   WILLIAM        HARRIS                     CA     90008709230
9B135119741251   BRANDY         SCHNEIDER                  PA     90013291197
9B135156261977   COTA           MARTIN                     CA     46060531562
9B13559A472B32   OLIVIA         VALLE ARREDONDO            CO     33059625904
9B13582388B152   FELICIA        RODGERS                    UT     90004688238
9B135A4619712B   CAMI           CADWALLADER                OR     44098890461
9B136155A2B891   DENIESE        JOHNSON                    ID     90007151550
9B13653793B366   MORGAN         HUNT                       CO     90010455379
9B136767961979   JEREMY         PIERCE                     CA     90012007679
9B136773A55957   JAMES          HORN                       CA     90012967730
9B13683955B531   PATRICIA       ESCAJEDA                   NM     90011768395
9B13686643B334   FANNY          ALONSO                     CO     90005838664
9B1369AA485689   MIGUEL         MARTINEZ                   NJ     85017879004
9B13727A751342   GREG           PAYNE                      OH     90011412707
9B13736545B548   TRENTON        WALTON                     NM     90009843654
9B137668961979   PABLO          RAMIREZ                    CA     90014786689
9B13767142B891   AMBER          COTRONEO                   ID     90012696714
9B137A28572B3B   ALEXA LOUISE   ELLIS                      CO     90013560285
9B137A96281635   GEORGORY       COPENHAVER                 MO     90008440962
9B1381A9A72B62   RALPH          GARZA                      CO     90011151090
9B1388A6255951   PAULA          ALEC                       CA     49008458062
9B13895444B554   JONATHAN       CARNEJO                    OK     90014819544
9B138A37A5B548   LORNA          JOHNSON                    NM     90008720370
9B138A85297B59   DUSTIN         OLSEN                      CO     39092300852
9B139132172491   GLEN           VANTRYFLE                  PA     90014771321
9B139228561979   ELSY           ILLESCAS DE BAUTISTA       CA     90013862285
9B1392A6693769   DYNASHA        SAMS                       OH     90012072066
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1914 of 2350


9B13938568436B   LUCRETIA      TOWNS                       SC     90010493856
9B139558755951   ANTHONY       GONZALEZ                    CA     49094035587
9B1395A2581635   ROBERT        NITSCH                      MO     90012515025
9B13977554B588   JOEPH         PESTI                       OK     21593307755
9B139862881634   SCOUTT        BRIANCA                     MO     90014858628
9B13999743162B   VALERIA       RODRIGUEZ                   KS     90006999974
9B139A9525B531   TINA          KING                        NM     90010100952
9B13B569672B42   CLARA         ACOSTA                      CO     33041005696
9B13B729172B32   EVELYN        CARBAJAL                    CO     33057367291
9B13B751755957   DAVID         DAVIS                       CA     49079957517
9B13B8A4991882   DONALD        WALKER                      OK     90013618049
9B13BA83581634   LACHEER       YOUNG                       MO     90015410835
9B14118185B371   JOSE LUIS     MARTINEZ                    OR     90013101818
9B14119198436B   BRENDA        KNOWLES                     SC     19086821919
9B14136527B444   DEMETRIUS     RICHARDSON                  NC     90014623652
9B141484272B42   DIEGO         SANCHEZ                     CO     90011674842
9B14155568B188   TIM           SMIT                        UT     90008965556
9B1421A3797B59   MARCO         ANTONIO                     CO     90012741037
9B14228A861979   CANE          BATTLE                      CA     90009732808
9B14238762B981   HAILI         BERRY ROBLES                CA     90002223876
9B14238798B175   ANGELA        BREIVIK                     UT     31091563879
9B142546972B56   BEATRIZ       ANGELEZ                     CO     90004105469
9B142629781634   GABRIEL       HERNANDEZ                   KS     90013676297
9B142645393769   JAMES         BLOMQUIST                   OH     64528736453
9B142832197B59   MARCO         ANTONIO                     CO     90013948321
9B14284357B444   JOSE MANUEL   REYES HERNANDEZ             NC     90010688435
9B14342738B152   MARVIN        MARTINEZ                    UT     90012144273
9B14364925B548   MARTHA        GALLEGOS                    NM     35084906492
9B14388412B981   JENNY         VANG                        CA     90011558841
9B14443488B175   JESSICA       MARTINEZ                    UT     90011414348
9B144535181634   EUGENE        WALLS                       MO     90004325351
9B14463A261977   AIOTEST1      DONOTTOUCH                  CA     90015116302
9B144832993755   LYNDA         SHERMAN                     OH     64551118329
9B14527285597B   ROXANA        AREVALO                     CA     90001452728
9B145626761979   ALICIA        BAILEY                      CA     90011426267
9B14568994B554   CHERIE        TUCKER                      OK     90011436899
9B145772681635   JOSEPH        GWARDERA                    MO     29061147726
9B1459A2833698   TAMARA        HERNANDEZ                   NC     90003389028
9B146165293769   MEKEEA        HANSON                      OH     90014831652
9B146A45193778   EDWARD        LEIFFER                     OH     90000430451
9B147123A91399   TONI          INIQUEZ                     KS     29047441230
9B147228791521   LORENA        IZAGUIRRE                   TX     75037692287
9B147636455951   NINA          GUTIERREZ                   CA     90013096364
9B14785A191599   ROBERTO       GARCIA                      TX     90014098501
9B14843A87B444   HARRY         DALEURE                     NC     90014984308
9B14851A172B36   JOHN          CANTU                       CO     90007505101
9B148AA9193769   BRIAN         SHACKELFORD                 OH     64557800091
9B149475772B98   LAURIE        PENA                        CO     33019814757
9B14957415B531   PEDRO         LUJAN                       NM     90012065741
9B1495A5155957   GABRIELA      AISPURO                     CA     90015135051
9B149882691882   APRIL         LEWIS                       OK     90004118826
9B14B1A845B531   EDUVIJEN M    LINDSEY                     NM     90014931084
9B14B24185B383   DELFINO       MEJIA-HERNANDEZ             OR     90015132418
9B14B599872B62   LUIS          ALVAREZ                     CO     90008355998
9B14B878993755   JEFFREY       PATRICK                     OH     64537018789
9B14BA73497B59   MINERVA       ESCOBAR                     CO     90006690734
9B151498697B59   JOANN         MARTINEZ                    CO     39041824986
9B151846572B3B   JORGE         DELATORRE                   CO     90014758465
9B15188298B152   ANGEL         SERRANO                     UT     90012198829
9B151931893755   JOHN          ENDICOTT                    OH     90011429318
9B1519A7485869   LEIGH         DEVAULT                     CA     90001019074
9B152587172491   MEGAN         CRISSMAN                    PA     51082325871
9B152791861979   MANUEL        FLORES                      CA     90014687918
9B152865191882   FILIBERTO     AGUILAR                     OK     21000768651
9B153448477537   JUSTIN        SEGUIN                      NV     90006724484
9B15386992B94B   CARMELA       GINES-SANTOS                CA     90011468699
9B15387742B891   JESUS         GAONA                       ID     90012908774
9B15432412B981   PAUL          OLIVAREZ                    CA     45057703241
9B15498124B554   JOSE          MENDEZ                      OK     90014819812
9B154A71477537   RAMIREZ       MARISOL                     NV     43052480714
9B154A9619712B   LORENZO       OCHOA                       OR     90011840961
9B15511959712B   AMBER         RODRIGUEZ                   OR     44062571195
9B1553AA54B55B   DENAE         ROBERTS                     OK     90011363005
9B15543A87B444   HARRY         DALEURE                     NC     90014984308
9B15582343164B   JAMIE         WHITFIELD                   KS     90012578234
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1915 of 2350


9B155972491399   ELIZABETH    ARITA                        KS     90013009724
9B15664A174B45   BECKY        HARRIMAN                     OH     90013936401
9B1569A968436B   ASHLEY       MIDDLETON                    SC     90013019096
9B156A39972491   RAYMOND      SHANER                       PA     90013410399
9B156A6A897B59   HILDA        BERNAL                       CO     90012970608
9B157278191882   BEATRIZ      LANDEROS                     OK     90014902781
9B157474393755   PHILLIP      POWELL                       OH     90012864743
9B1574A4497B59   LISA         REYNOLDS                     CO     90013364044
9B157739477537   ISLYN        MORALES                      NV     90014797394
9B1577A655B565   MANUEL       MASCARENAS                   NM     35062087065
9B15781138436B   ISMENIA      HERNADEZ                     SC     90015238113
9B157813991599   GLORIA       CHAVARRIA                    TX     90012598139
9B15781733164B   CODY         DUNN                         KS     90015538173
9B158238372B43   GUADALUPE    VALENCIAZE                   CO     90007232383
9B158253693769   ASHLEY       WALTERS                      OH     90012222536
9B158448391882   IRMA         RUIZ                         OK     90011254483
9B158476361979   LORENA       GONZALEZ                     CA     90009914763
9B158685897B59   STACIE       LAUE                         CO     90014326858
9B15869948B188   MOHAMED      DIGALE                       UT     90013556994
9B158815991368   CALIXTO      SANDOVAL                     KS     90004988159
9B1589A6472B42   MELISSA      LUALLEN                      CO     90004699064
9B159119755957   NOE          LUIS ORTEGA                  CA     90015151197
9B159486872B42   JEREMY       SCAGGS                       CO     90011674868
9B159739477537   ISLYN        MORALES                      NV     90014797394
9B1597A1141296   MARGUERITE   FLEMING                      PA     51007067011
9B159922A93769   DENNY        WALL                         OH     90013859220
9B159A23761977   LAURA        GARCIA                       CA     90011140237
9B159AA3897B59   JARON        EGGERT                       CO     90013830038
9B15B416472B32   MARIA        PEREZ                        CO     33026614164
9B15B41962B27B   DIAMOND      ADAMS                        DC     90012854196
9B15B71632B27B   DIAMOND      ADAMS                        DC     90015097163
9B15B92952B891   BORIS        MARTINEZ                     ID     42048629295
9B161141755951   MARTHA       ROSALES                      CA     90010831417
9B161158455957   SNOWDEN      ASSOCIATES                   CA     49019061584
9B161253793769   ANNICE       HATLEY                       OH     90015552537
9B16138518436B   FRANKIE      ADAMS                        SC     90009113851
9B161493591599   MAYRANY      VEGA                         TX     90012064935
9B161594293767   KRISTA       EVANS                        OH     90008185942
9B16185518B175   COLIN        FITTON                       UT     31024948551
9B161A91597B59   BENJAMIN     CACHE                        CO     39076390915
9B162459372B42   HAL          HALL                         CO     90007654593
9B16257A93164B   MARIA        VEGA                         KS     90007465709
9B16291A14B588   KATRINA      HARRINGTON                   OK     21562529101
9B16294688B152   BOYD         WELLARD                      UT     31041169468
9B1629A1293778   JANET        DAVIDSON                     OH     64514499012
9B162A91372B56   ANDRES       RODRIGUEZ                    CO     33030530913
9B163217393769   AMY          GELLEGANI                    OH     90012152173
9B163342272B56   BIANCA       VALDEZ                       CO     90008343422
9B1635A928B152   BILLIE       STANFIELD                    UT     31079875092
9B163623772B98   HECTOR       LOPEZ                        CO     33029536237
9B163968A91951   FRANCISA     RUIZ PORTILLO                NC     90011899680
9B163A94631462   JESSICA      KINZEY                       MO     90010710946
9B164172293778   AMBER        NAL                          OH     90000841722
9B1641A125B565   VERONICA     DURAN                        NM     35012521012
9B16449844B554   REUBEN       CURRY                        OK     21574544984
9B16449A691882   JERRY J      DRIVER                       OK     90004234906
9B164535397B59   AMBROSIA     AVILA                        CO     39019565353
9B164562961979   ALVERT       CASSILLAS                    CA     90003865629
9B164665A8B152   ROBLES       MARGARITA                    UT     90007966650
9B164698393769   LAKEISHA     WILSON                       OH     90011816983
9B164768533698   HENRY        TYRONE                       NC     90015317685
9B164A1965B383   JANEESE      MITCHELL                     OR     90015090196
9B16524785B548   ADAM         ABEYTA                       NM     90014552478
9B165252A4B554   LYNNETTE     ABRAHAM                      OK     90010892520
9B165362A5B383   JESSE        HANDY                        OR     90015293620
9B1653A698B152   CHANELLE     MARTINEZ                     UT     31003203069
9B16553124B235   JACK         GILSTRAP                     NE     90002185312
9B165996397B59   EUSTAQUIO    CHINO-CORDOVA                CO     90012169963
9B166552241284   D ZEKLER     MICHELE                      PA     51049525522
9B166782893782   TAMIKA       BUFORD                       OH     90011347828
9B166844191532   PEDRO        JIMENEZ                      TX     75038698441
9B166972A91951   SHAMAN       SELF                         NC     17023619720
9B1669A5A61977   MILDRED      BARRON                       CA     90004509050
9B166A79A7B444   DWAYNE       EFREM FRANCIS                NC     90010950790
9B167565391521   NANCY        PORRAS Y                     TX     90007545653
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1916 of 2350


9B167694891951   LA KENDRA      HINES                      NC     90008316948
9B16775162B891   MALLISSA       MORRIS                     ID     42043967516
9B167817872B56   ENEIDA         MENDOZA                    CO     90014818178
9B167831351343   CINDY          WELLING                    OH     90011838313
9B167964261979   ABRAHAM        SALCEDO                    CA     90011399642
9B167A3665B565   ROBERTO        RIVERA                     NM     90011910366
9B16818A52B27B   EDGAR          HERNANDEZ                  DC     90004221805
9B16873218B188   TERRY          SESSIONS                   UT     90013557321
9B168779A85689   CHRISTINA      SWENSON                    NJ     90005267790
9B169151577927   SYLVIA         BARTUSIEWICZ               IL     90015431515
9B169249461979   ABIDAL         CISNEROS                   CA     90014912494
9B16947664B588   DANIEL         HOLLEY                     OK     90001054766
9B169588255957   MARIA ESTHER   FLORES                     CA     90014745882
9B169612484346   MICHAEL        QUATTLEBAUM                SC     90010176124
9B16973218B188   TERRY          SESSIONS                   UT     90013557321
9B16994453164B   ROXANA         AYALA                      KS     90012679445
9B169A18293769   DUSTIN         RAGLAND                    OH     90014570182
9B16B17632B27B   BAKARI         RAHMAN                     DC     90014721763
9B16B222A55951   FRANCISCO      QIRINO                     CA     90013992220
9B16B27195B531   MARIO          CARAVEO                    NM     35037422719
9B16B995672491   JOYCE          ST VINCENT                 PA     51075109956
9B171145A72B62   KELLI          LOPEZ                      CO     90014751450
9B171151193778   ELIZABETH      OSBORNE                    OH     64582201511
9B17118695B531   MARCELLO       ARAGON                     NM     35092091869
9B1711A2872B56   GONZALEZ       DANIELLE                   CO     90008131028
9B17137A261928   NADINE         LUQUIN                     CA     90013493702
9B17143915B599   BETTINA        ZUBIATE                    NM     90001774391
9B17152128B152   ROMEO          BUGGS                      UT     90008505212
9B171637291882   PAYGO          IVR ACTIVATION             OK     90013426372
9B171A5785B383   SEAN           JORDAN                     OR     90009860578
9B17229642B981   ALVARO         VALDEZ RUIZ                CA     90012942964
9B1724A2433698   ARDIS          ABNEY                      NC     90014914024
9B17252A561977   SOCORRO        REYES                      CA     90013155205
9B1727AA95B548   RAFAELA        GOMEZ                      NM     35036997009
9B17299A97B444   VERLYN         CRAWFORD                   NC     11088109909
9B172A19581635   LATRICSHA      MONDAINE                   MO     90013480195
9B173284197B59   JANET          SIBELL                     CO     39086692841
9B1732A325B565   DANIEL         QUINTANA                   NM     35081232032
9B173846393746   LESLIE         BREATHETT                  OH     90003998463
9B174132972491   THOMAS         SIDUN                      PA     90014911329
9B174631861986   JORGE          VARGAS-VALENZUELA          CA     90007526318
9B174644781634   DERRICK        ELSNER                     MO     90011236447
9B174813177537   JOSHUA         POLAK                      NV     43075868131
9B17493388B152   LEON           SHUMWAY                    UT     90012309338
9B174A31691882   SUAN           MANG                       OK     90015310316
9B175152855957   ORTEGA         DAVID                      CA     49065471528
9B175332961979   EDUARDO        VERDUGO                    CA     46046083329
9B175626A41296   JESSICA        YOUNGE                     PA     90014416260
9B175773293755   AMANDA         DEDOMINICI                 OH     90014967732
9B175774261977   JORGE          VARGAS                     CA     90011187742
9B1759A195B383   DANIEL         CARROLL                    OR     90004299019
9B17658275B383   DIANE          BELL                       OR     44534785827
9B176623972B32   NYLE           FORD                       CO     33003956239
9B176684851342   ERWIN          MORALES                    OH     90004536848
9B176988572491   JOANNE         REYNOLDS ARROYO            PA     51064949885
9B176AA7A72B42   EDNA           CASTELA                    CO     90007120070
9B17723395B565   MARIA          CAMPOS                     NM     90009432339
9B17735475B531   CARMEN         MONTOYA                    NM     35023623547
9B17761A161979   YESENIA        MENDOZA                    CA     90012816101
9B177821791882   JESSICA        LESLIE                     OK     90005608217
9B178845A91882   GABRIELA       EDOXIGES                   OK     90010578450
9B17886884B588   ALEJANDRO      TREJO-CRUZ                 OK     90015328688
9B178995281635   THOMAS         WALLACE                    MO     90013289952
9B178A72A55957   CYNTHIA        HERNANDEZ                  CA     49077990720
9B179185572446   SUSAN          MCCARTAN                   PA     51003621855
9B179448391882   IRMA           RUIZ                       OK     90011254483
9B1798A3855957   DEBRA          RUBIO                      CA     90011148038
9B179949172B56   JORGE          SANDOVAL-SANCHEZ           CO     90013329491
9B179AA2891521   CINDY          LOYA                       NM     75002770028
9B17B469981635   CHRISTOPHER    THOMAS                     MO     90011464699
9B17B562361558   KAY            BROWN                      TN     90015605623
9B17B73218B188   TERRY          SESSIONS                   UT     90013557321
9B17B82962B981   JORGE          PRIETO                     CA     90012798296
9B17BA3964B588   AMY            SEABRIGHT                  OK     90002290396
9B17BA41372B62   MARIA          DELGADO                    CO     90008670413
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1917 of 2350


9B17BA56A61977   LAURA             LOPEZ                   CA     46039620560
9B181129355957   LISA              MARTINEZ                CA     90015151293
9B181373393769   FAHED             SALEH                   OH     90010793733
9B18171627B499   VONNIE            BECKHAM                 NC     90009327162
9B181771693755   BRIAN             BAKER                   OH     64516567716
9B18185395597B   RANJANA           SHANKAR                 CA     90001548539
9B181918393778   JANET             WASHABAUGH              OH     90002719183
9B18213962B891   ELENITA           HAWKS                   ID     90014381396
9B182278151342   LATOYA            PRICE                   OH     66099422781
9B182338A72B42   MICHAEL           CASTILLO                CO     90013233380
9B182427A81634   CHRISTOPHER       HOWARD                  MO     90014454270
9B18278858B188   DEMETRIA          COPRICH                 UT     90013557885
9B182791961977   LAUREN            PITHCELL                CA     46008367919
9B18281345B383   JUAN CARLOS       BRICENO MANRIQUE        OR     90010208134
9B182815772B56   ERNEST            HATFIELD                CO     90014818157
9B18285395597B   RANJANA           SHANKAR                 CA     90001548539
9B182937191599   FERNANDO          DIAZ                    TX     90013859371
9B182944333698   TEMPESTT          WALLACE                 NC     90010009443
9B18317A35B371   LARRY             MONROE                  OR     90010901703
9B18342914B588   MITZI             MCBEATH                 OK     90009754291
9B18374645B548   MAXIMILLON        BENAVEIDEZ              NM     90013237464
9B183853955951   ERICA             PHELPS                  CA     90010248539
9B183878691863   DLANA             MILLER                  OK     90006428786
9B183A34872B3B   ZACHARIAH         MICHAELS                CO     90012190348
9B18461448B152   JAKE              STEVENS                 UT     90013286144
9B184729681634   LORENZO           WELDON                  MO     29023537296
9B18489A95B371   LUCIA             PEREZ C                 OR     90009898909
9B184913972B42   MARLENA           GARBER                  CO     90014519139
9B184987872B42   NICOL             DOWNING                 CO     90013959878
9B185353A72B42   ALICIA            MOENNING                CO     90014753530
9B186136593738   BRIAN             SCALES                  OH     90013751365
9B186186851362   AMANDA            HANCOCK                 KY     90010071868
9B186691941296   BARBARA           KING                    PA     90014746919
9B186756A97B59   GREGORY           HARDING                 CO     39096677560
9B186868993769   DEVON             LAUDERDALE              OH     64513288689
9B18687518B152   WHITE             DAVID                   UT     90005238751
9B18714757B444   JOSE              HERRERA                 NC     90015071475
9B187344447924   JESUS             GONZALEZ                AR     90008643444
9B18736718B175   SANTOS            RAMIREZ                 UT     90008383671
9B187467491951   JAVIER            POLK                    NC     90012014674
9B18747544B588   YAUSHAUNDA        BUNCH                   OK     90011004754
9B18776918B158   JASON             WALLACE                 UT     31037767691
9B18786982B891   RAUDEL            GONZALEZ                ID     42018038698
9B188347477537   SILVIA            PONCE                   NV     43083193474
9B18845925B548   JOSEPH            MARTINEZ                NM     35087894592
9B18852295B383   DAN               SULLIVAN                OR     90012345229
9B1886A1A61558   BEN               STEWART                 TN     90015486010
9B188A44561977   RHONDA            RIGDON                  CA     90014110445
9B188A94572B43   DAVID             GUTIERREZ               CO     33017140945
9B1891A8891521   EDITH             HOLGUIN                 TX     90011291088
9B189356181635   MARY              DAVID                   MO     29011703561
9B18B13913164B   DEBRA             STEELE                  KS     22075001391
9B18B152491951   CHATIBA           BULLOCK                 NC     17093521524
9B18B159A8B175   LAURA             DIAZ                    UT     90010451590
9B18B372991368   LARRY             LAUGHLIN                KS     29029473729
9B18B881A91882   ML                WALLIS                  OK     90009118810
9B18B89335B383   JONATHON          RICKER                  OR     44548118933
9B191196197B59   TONYA             GOLDING                 CO     39044911961
9B191248977537   KELLY             HENKE                   NV     90015202489
9B1912A354B554   JANINA            MATHIS                  OK     90006992035
9B191377981634   JOY               PADILLA                 KS     29075363779
9B19164A555951   JOSE              VACA                    CA     90013046405
9B19197A43164B   ANANZA            JAMES                   KS     90002799704
9B192129497B59   FELIPE PATRICIO   CALDERON                CO     90010131294
9B192513691951   JERMICHEAL        SMITH                   NC     90006685136
9B192528555957   CATALINA          ROBLES                  CA     90002295285
9B192866181634   ALEXANDRA         CROCKETT                MO     90006428661
9B193239993778   FELIX             KELLY                   OH     64565962399
9B19367867B444   LATONYA           MATTHEWS                NC     90015016786
9B19413A85B371   TAMMAY            SENNER                  OR     44509981308
9B194632A72B62   ALEJANDRO         GUTIERREZ               CO     90014736320
9B194711677537   DANA              MCGILLIVRAY             NV     43082767116
9B194783881667   DANIEL            ALCORN                  MO     90010507838
9B19523112B891   PATRICK           MORRISON                ID     42035022311
9B195232561979   KAYLA             HERNADEZ                CA     90013862325
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1918 of 2350


9B195296172B98   MARTHA             VARGAS                 CO     33022732961
9B195542691521   ELIZABETH          SILVA                  TX     90011205426
9B195718493769   LEWIS              ALSPAUGH               OH     90015077184
9B196269393778   CHRIS              CLARK                  OH     90000902693
9B196324251364   MICHELLE           NELSON                 OH     90000323242
9B19664765B565   CRYSTAL            LINN                   NM     90007276476
9B196A43955957   JENNIFER           MENDEZ                 CA     90013060439
9B19714445B398   ROB                LUTON                  OR     90001151444
9B197346A72B3B   PAULA              GRAY                   CO     90012863460
9B197516193755   PATRICIA           HAWLEY                 OH     64519785161
9B1977A143B361   TROY               LUCERO                 CO     33001567014
9B198288461979   GINGER             CRIPPEN                CA     90002222884
9B198359441296   THOMAS             LUBANOVIC              PA     51020973594
9B19844A19712B   LEWIS              PATNODE                OR     90006914401
9B19872588B188   ERIKA              FUENTES                UT     90009057258
9B19879825B531   IDELIA             GARCIA                 NM     90014897982
9B198A1618B152   KEVIN              BAIRD                  UT     31009790161
9B198A18684349   QUIRINA            SANTIAGO               SC     90010830186
9B199325961979   ELIZABET           MENDEZ                 CA     90010923259
9B199812177537   LUCIA              ORTIZ                  NV     43015288121
9B199825272B56   VERONICA           MASCARENAS             CO     90014818252
9B199A2778B188   MARIA DE JESUS     SANDOVAL LOPEZ         UT     90013560277
9B199A6A65B371   GRACE              ERICKSON               OR     44507980606
9B19B214491521   JOE                ZAMORA                 TX     75077172144
9B19B26112B891   ALAJANDRO          SILVA                  ID     42004332611
9B19B346251342   EMI                COFFEY                 OH     90014513462
9B19B352361977   OSCAR              PONCE                  CA     90010503523
9B19B711755951   ABEL               REYES                  CA     90013057117
9B19B71537B26B   RICARDO            DOMINGUEZ              NV     40533837153
9B19BA15755957   MARIO              GUTIERREZ              CA     90000630157
9B1B116898B175   CARLA              DALTON                 UT     90013931689
9B1B135655B383   GLEN               BARLOW                 OR     90015293565
9B1B141835B531   KATHLEEN           TENORIO                NM     90010914183
9B1B147A197B59   JEFFREY            MUNN                   CO     90013494701
9B1B166564B554   CARLOS             DUARTE                 OK     90014736656
9B1B16A638165B   SHY                COBB                   MO     90011266063
9B1B216794B558   BRIAN              OWENS                  OK     90000851679
9B1B232574B554   WILLIAM            HAMILTON               OK     90010723257
9B1B236A44B588   ANTHONY            JOHNSON                OK     21566083604
9B1B2654893755   GLOTFELTER         CHRIS                  OH     64506586548
9B1B2772672B56   JONATHAN           LOZOYA                 CO     90014817726
9B1B286785B565   MAURILIO           MALDONADO              NM     90011778678
9B1B3195461977   JULIANNA           A                      CA     90010491954
9B1B3267A5B531   BENITO             VIGIL                  NM     90014922670
9B1B3395181634   BRIAN              LOPEZ                  KS     90015413951
9B1B366564B554   CARLOS             DUARTE                 OK     90014736656
9B1B3A39185689   JUAN               LEON                   NJ     85062820391
9B1B4613477537   RYAN               LONG                   NV     90014796134
9B1B461892B891   ERIN               PINEDA                 ID     90009906189
9B1B466564B554   CARLOS             DUARTE                 OK     90014736656
9B1B4AA5393778   TIFFANY            JAVINS                 OH     90011510053
9B1B513375B371   VICTORINA          PEREZ                  OR     44559781337
9B1B5598872B62   DIANNE             MIRANDA                CO     90012015988
9B1B5634291863   LINDA              CARPENTER              OK     21011286342
9B1B5641555957   FONG               XIONG                  CA     49019476415
9B1B5A88997B59   MARIA DEL CARMEN   BEZOR                  CO     90003970889
9B1B6413281635   JOSE               AYALA                  MO     29014664132
9B1B651A18436B   SARAH              ISON                   SC     19001335101
9B1B656A12B27B   VONESHIA           PHILLIPS               DC     90014815601
9B1B675595B371   JODI               NEWELL                 OR     44501027559
9B1B695312B981   MELISSA            OCHOA                  CA     45099049531
9B1B7316691521   ANGIE              ALMANZAR               TX     90004403166
9B1B7476291951   JUVENAL            IBARRA                 NC     90014274762
9B1B7682397B59   LAUREN             VINING                 CO     90006746823
9B1B7755681635   LINDA              GARCIA                 MO     90002957556
9B1B783868B152   HOLFELTZ           K VALEEN               UT     90008738386
9B1B8158433698   LEON               JR                     NC     12093311584
9B1B8161141296   SARA               COVATO                 PA     90011111611
9B1B8335A8436B   JOSE               BANDA                  SC     90015583350
9B1B8644877927   JOSE JESUS         MAGANA                 IL     90015456448
9B1B8686872B43   GUILLERMO          ALVARADO               CO     90003296868
9B1B87A374B554   DESHUN             JONES                  OK     21552937037
9B1B9121A61979   CLAUDIA            DE LA TORRE            CA     90012811210
9B1B9358691882   BILLIE             JOHNSON                OK     90013883586
9B1B9462191521   ARACELI            RODRIGUEZ              NM     75030084621
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1919 of 2350


9B1B9841191526   RICARDO      RODRIGUEZ                    TX     75077988411
9B1BB12888B175   JOSE         HERNANDEZ                    UT     90009541288
9B1BB19175B383   MEGAN        HANNER                       OR     90012081917
9B1BB65395B565   JASON        HUDSON                       NM     90004566539
9B1BB66564B554   CARLOS       DUARTE                       OK     90014736656
9B1BB745847834   LATIESHA     GROOVER                      GA     90012357458
9B1BB757691599   VALERIE      SALAZAR                      TX     75067817576
9B1BB951772B3B   ELVA         HERNANDEZ                    CO     33066989517
9B21116A797B59   KATHERINE    JONES                        CO     90014191607
9B21146445B383   GINO         ALFORD                       OR     90009664644
9B211587591526   RICARDO      CARRASCO                     TX     90012925875
9B21161415B565   BJ           WINCHESTER                   NM     90006506141
9B211785461979   MARLON       LEON                         CA     90014987854
9B211847472B42   YESSICA      GUERRERO                     CO     90001388474
9B211991772B62   ANNETTE      MOCTEZUMA                    CO     90010149917
9B211A83991882   ISABEL       ESCOTO                       OK     21045360839
9B21233282B27B   KRISTIAN     GALICIA                      DC     90012933328
9B21291278B181   CALVIN       BRYANT                       UT     31035649127
9B2129AAA72B42   BENICE       ZARAGOZA                     CO     90010439000
9B21317A172B43   ANTONIA      RODRIGUEZ                    CO     33021371701
9B21319178B175   CASSANDRA    SNOOK                        UT     90014651917
9B213416881634   JEANNETTE    ROBINSON                     KS     90004764168
9B213649372B56   ROBERT       CARILLO                      CO     90011346493
9B213729533698   NOE N        ACEVEDO                      NC     90001977295
9B213743397B59   FRANCISCO    ORTEGA ALDABA                CO     90010417433
9B21381915B383   SHANNON      MEADOWS                      OR     44501088191
9B21382A97B394   JOHNATHAN    RILEY                        VA     90006528209
9B213858A72B62   SARAH        STEPP                        CO     90012488580
9B213981161979   MARCO        BARRON                       CA     90015089811
9B213A43755957   NATHANEL     ROJAS                        CA     90013970437
9B214226372B42   ARON         WALTER                       CO     90009812263
9B214247977537   NICHOLAS     WESTRYAN                     NV     90003512479
9B214622593769   PAUL         HEATHERLY                    OH     90014156225
9B214689161558   VICTOR       MATINEZ                      TN     90004256891
9B214812272B62   KATHERINE    ALFREY                       CO     33049378122
9B2151A1151342   PAULINA      PEREZ                        OH     90012331011
9B21567158436B   JOE          LITCHFIELD                   SC     90014076715
9B21591114B554   MARGARET     JOHNSON                      OK     90014859111
9B215A45172B62   JOSE         GUZMAN                       CO     90012390451
9B216372391951   EMANUEL      APARICIO                     NC     90011973723
9B216711A4B554   GODOFREDO    RIVERA                       OK     21567627110
9B216748472B42   JUAN         RODRIGUEZ                    CO     90009097484
9B216812877537   MILLER       TENE                         NV     90014808128
9B21681A48B152   TISHA        WALLACE                      UT     90000538104
9B21682797B444   LOLA         ROWE                         NC     90012798279
9B21752564B268   LAURA L      BOYLE                        NE     90003295256
9B217845772B56   LISA         IWAGOSHI                     CO     90014818457
9B217864893755   JOSHUA       GILES                        OH     64532068648
9B217A1A991521   HUGO         RODRIGUEZ                    TX     90012870109
9B218A69372B42   ROYAL        DANIELS                      CO     90014400693
9B21936A897B59   ELIZABETH    GONZALEZ                     CO     90013203608
9B21952587B444   MIGUEL       HERNANDEZ                    NC     90007505258
9B219776561979   PAUL         FREDERICK                    CA     90006297765
9B219819477537   WILLIAM      WYNN                         NV     90014808194
9B219828991554   IDA          GOMEZ                        TX     90003378289
9B219A71561879   DAYSHIA      EDDINS                       MO     90013080715
9B21B166A5B548   ARACELY      GARCIA                       NM     35021711660
9B21B18158B175   RYAN         MAXWELL                      UT     90005931815
9B21B362372B32   DILLON       WALKER                       CO     90013723623
9B21B523791521   ROBERT       ALDERETE                     NM     90000345237
9B21B834461977   RICARDO      RICCA                        CA     90013298344
9B21BA37A71928   KEVIN        HUHN                         CO     90008560370
9B21BAA4262332   CHANNELLE    BREED-TORRES                 AZ     90014020042
9B2211A998436B   ORA          GLOVER                       SC     90005261099
9B221463472B3B   A            BEATY                        CO     33092804634
9B221472A2B27B   TAJAE        JONES                        DC     90012854720
9B22154262B27B   JOSSELINE    MOLINA VILLATORO             DC     90014855426
9B22157172B981   SERINA       CORNELIO                     CA     45008505717
9B2215A8972B42   ALEJANDRO    ARZATE                       CO     90011675089
9B221691A61928   JULIA        ELIZALTE                     CA     90010656910
9B22184325B531   ARMANDO      ARVIZO                       NM     35011498432
9B2218A4657128   MAYRA        CALDERON                     VA     90010758046
9B2218A6772B56   KATHRYN      PROCTOR                      CO     90014818067
9B221A55591951   DORA         ALVAREZ                      NC     90011320555
9B221A94491882   ADRIAN       ROLLE                        OK     90014760944
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1920 of 2350


9B222297151396   SYDNEY        WILLIAMS                    OH     90011092971
9B22234A441296   MIKE          PANTALONE                   PA     90010573404
9B222534A72B56   GABRIELA      CORRAL                      CO     90010415340
9B222872A91599   LORENA        MARQUEZ                     TX     75079568720
9B222934A4B554   ANGEL         SPICER                      OK     90014859340
9B222A6585B548   CLAUDIA       PARRA                       NM     90011020658
9B222AA944B588   CLARISA       PIATT                       OK     90013520094
9B2231AA44B588   DENNIS        MCGASKEY                    OK     90011891004
9B2236A6197B53   GARY/MARIA    SECREST                     CO     39090686061
9B22381A397B59   CINDY         KILMER                      CO     39011578103
9B223A24551342   D ANGELO      CREW                        OH     90013930245
9B223A51141296   JENNY         PINEDA                      PA     51047420511
9B223A8345B531   TONY          CHIMENTO                    NM     35030640834
9B224234885689   ISAIAH        COTTMAN                     NJ     90004812348
9B22435638B152   KELLSA        AFTON                       UT     90013883563
9B224699693778   JAMES         CLARK                       OH     90008716996
9B224787755957   PATRICIA      COOPER                      CA     90011877877
9B2248A118B181   JERRY         REIMANN                     UT     31019918011
9B225175A91521   EDGAR         BUSTAMANTE                  TX     90013561750
9B22524434B588   ASHLEIGH      WATSON                      OK     90013852443
9B22575195B531   LETICIA       MUNIZ                       NM     35072977519
9B225788561558   ANTONIO       MARTEL                      TN     90015547885
9B226418561977   BEATRICE      OROZCO                      CA     90010504185
9B226512133698   GRACE         ESCALANTE                   NC     90012835121
9B226611A5B565   CARMEN        VILLANUEVA                  NM     90008666110
9B226813855957   HECTOR        ZAMORA                      CA     90013808138
9B22692795B332   PRESTON       PAAKKONEN                   OR     44596029279
9B22727974B588   ROBIN         DRYER                       OK     90011462797
9B22736A272B56   PAULA         SERDO RIVERA                CO     33085053602
9B227518877399   JOAQUIN       CALDERON                    IL     20569895188
9B2275A6A97B59   REBECCA       WILLIAMS                    CO     90008745060
9B2277A1761977   KRISHNA       HERNANDEZ                   CA     90008367017
9B22797214B588   UVADA         HEATH                       OK     90012919721
9B228487677537   JOSHUA        PHILLIPS                    NV     90010024876
9B228731781634   SAMUEL        WARTENBEE                   MO     90011237317
9B228792193778   DONALD        MOON                        OH     64514547921
9B22879814B588   AUGUSTIN      SALAZAR                     OK     90009977981
9B228813A91951   JEANETTE      CLAYTON                     NC     17016258130
9B2289A6472491   MICHAEL       CLARK                       PA     90001669064
9B229451391951   MONTREAL      MCLENDON                    NC     90015274513
9B229556591882   CORIE         MIZE                        OK     90013085565
9B229612A97B59   BRANDY        MASCARENAS                  CO     90010876120
9B22998793164B   DOUG          BENG                        KS     90008419879
9B229A69472B29   ISAIAS        ARNADA                      CO     90007020694
9B229A9333B324   MICHELLE      GARCIA                      CO     33013490933
9B22B459881634   DERON         BARNER                      MO     90009854598
9B22B562371956   TEENA         DODSON                      CO     38003855623
9B22B76118B181   MARIA         DECENDEJAS                  UT     31059737611
9B22B98217B444   WAYNE         GAITHER                     NC     11098659821
9B23134AA72B42   JESSE         TUPPER                      CO     90013233400
9B23135117B444   BALTAZAR      HERNANDEZ                   NC     90007653511
9B231591291599   GUILLERMO     ESPINOZA                    TX     75030435912
9B23161519137B   MIGUEL        MALDONADO                   KS     29081246151
9B23174115B565   VANESSA       GABALDON                    NM     35023427411
9B231845472B3B   ANGEL         FREDDY                      CO     90010978454
9B23188A45B356   RYAN          SNOOK                       OR     90011018804
9B231893561928   MARIA ELENA   PAREDES                     CA     90012878935
9B23193964B554   ZEKYRIAH      MCKINNEY                    OK     90014859396
9B231A18697B59   ROBERT        COLDIRON                    CO     90015020186
9B231A24693755   ROBIN         YANKIE                      OH     90014300246
9B231A9654B235   BERTIHER      DE LA CRUZ TRINIDAD         NE     27035840965
9B232139697B59   GRACIELA      GARCIA                      CO     39011001396
9B232511361977   EDLINE        JEAN                        CA     90014075113
9B232885693755   MONICA        GIBSON                      OH     90007368856
9B232913972B42   MARLENA       GARBER                      CO     90014519139
9B232915A72B42   FERNANDO      QUEZADA                     CO     90014579150
9B23293868436B   NECOLETTE     GRANT                       SC     19053649386
9B233132972491   THOMAS        SIDUN                       PA     90014911329
9B2332A8455957   ISSAC         GONZALEZ                    CA     90015302084
9B23344665B548   JUDY          MARQUEZ                     NM     35067144466
9B23347874B949   ROBERT        PERSLEY                     TX     90003314787
9B233512833698   SHANICE       HENDRY                      NC     90015025128
9B23372774B554   MICHAEL       STEVEN                      OK     90014877277
9B233741861979   NIKKI         MORONES                     CA     90013967418
9B23433595B531   COURTNEY      GUTIERREZ                   NM     90012593359
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1921 of 2350


9B23451984B588   ANGELES           CECILIO                 OK     90010125198
9B23461195B548   CHRISTIAN         HANSON                  NM     35005396119
9B234828593755   ERICA             WILLIAMS                OH     64588028285
9B235613751342   MICHAEL           DERMON                  OH     90014146137
9B23567232B891   NICK              SEFEROS                 ID     90010966723
9B235A43893755   VEDA              KELLY                   OH     64586510438
9B235A55291521   SSERGIO           CISNEROS SERRATOS       TX     90013760552
9B2361A7A81635   WILLIAM           RANDALL                 MO     29073951070
9B23696724B554   MATTHEW           CARILLO                 OK     90014859672
9B237111A55951   MIKE              QUINONEZ                CA     49081101110
9B237132972491   THOMAS            SIDUN                   PA     90014911329
9B23796724B554   MATTHEW           CARILLO                 OK     90014859672
9B237A35A97B59   ANTHONY           FARRIS                  CO     90013780350
9B23828968B175   KEVIN             HAWKINS                 UT     90007892896
9B238936472B3B   MARK              NUSSBAUM                CO     90011869364
9B23927A191882   FAYE              HALEY                   OK     21012032701
9B2392A415B371   BRANDON           FELD                    OR     90014492041
9B239368855951   ALEJANDRO         RIOS                    CA     90013983688
9B23938142B891   BONNIE            SPICER                  ID     42016283814
9B239554A55951   JANIE             ZACARIAS                CA     90015135540
9B23964344B588   FOXY              STARNES                 OK     21566436434
9B23985442B27B   LAKESHA           GRAYS                   DC     81017018544
9B23B75A94B554   ARDELL            DANDRIDEGE              OK     90014867509
9B241143793778   STACEY            CURTIS                  OH     90014561437
9B24132A48B188   SUSAN             GURSIN                  UT     90013563204
9B241454A72B3B   KIMBERLY          SMITH                   CO     90011974540
9B241538951342   KRISTINE          RICHTER                 OH     90009715389
9B24178915B371   WILLIAM           KRAMER                  OR     90013607891
9B241833572B56   LUIS              RDRIGZ                  CO     90012908335
9B2418A7977537   TREVOR            ELLIOTT                 NV     90014818079
9B241A35955951   KATHLEEN          HART                    CA     90001250359
9B242677561977   JAZMIN            AREVALO                 CA     90004686775
9B242755372B56   ADRIAN            MEDRANO                 CO     90014817553
9B242937972B62   JULIA             LOYA                    CO     33012229379
9B242A64761977   JAMES             WOLFSON                 CA     90015140647
9B243356997B59   FRANCES           PFOHL                   CO     39008603569
9B243615572491   TRACEY            NEAL                    PA     90000966155
9B243723255957   FRANCISCO         HERNANDEZ               CA     49084987232
9B24398394B554   ABNER             IXCOY                   OK     90014859839
9B2446A7393769   AMY               BRINER                  OH     64515326073
9B244732943565   TAHNA             ASMUSSEN                UT     90007037329
9B244AA834B554   SHERIDA           TALTON                  OK     90014860083
9B2454A985B383   MADLEEN           REYES                   OR     90014974098
9B245654493778   JASON             GIER                    OH     64552526544
9B24567A772B42   JOSE              GUTIERREZ               CO     33061126707
9B24581578B152   CARDENAS ROBLES   YOLANDA                 UT     90009858157
9B24582615B371   HECTOR            COPADO                  OR     90011358261
9B245A1384B588   MARIO             VILLEGAS                OK     90009460138
9B246148761927   VINCENT           WEST                    CA     46002631487
9B2462A1841296   JANELLE           HILL                    PA     90011012018
9B2462A577B394   ALVIN             SIMANGCA                VA     90006542057
9B24664765B371   DANNY             BIRD                    OR     90010376476
9B24699234B554   ERIKA             PIGGIE                  OK     90014859923
9B246998793778   JENNIFER          FUGATE                  OH     64561809987
9B24723115B548   JOSE              ARAGON                  NM     90009912311
9B247263493755   RICHARD           BROWN                   OH     90012592634
9B247595881634   STEAL YO          GIRL                    MO     90012725958
9B24763782B981   ENEDINA           RUIZ                    CA     90014066378
9B247726991242   SHAWN             HINES                   GA     90010657269
9B247824641296   ASHLEY            BROWN                   PA     51068378246
9B24826314B554   ANDREA SIMONE     THEUS                   OK     90014502631
9B248438555957   JOHN              ZAMORA                  CA     90013144385
9B24844A44B554   RICKY             WALDROUBE               OK     90007944404
9B248893591521   JESSICA           VILLALOBOS              TX     90013168935
9B248A2238436B   AUGUST            POWELL                  SC     90013290223
9B249269993778   PRISCILLA         MARSHALL                OH     90002332699
9B249367A4B554   TERESA            CASS                    OK     90013233670
9B249589A97B59   KEVIN             FINNEY                  CO     90013045890
9B249948672B3B   AURELIO           TAMAYO                  CO     90010459486
9B24B7A628436B   JOEL              PAZ                     SC     19064447062
9B251364755942   JULIA             URIVE                   CA     90013893647
9B251668177537   ANGULO            LOPEZ                   NV     90008506681
9B25167332B891   ISABELLE          ABREGO                  ID     90012436733
9B252248977537   KELLY             HENKE                   NV     90015202489
9B252671491399   EFRAIN            LANDAVERDE              KS     29056856714
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1922 of 2350


9B252672161928   CRISTINA     GUERENA                      CA     90009676721
9B252AA644B554   LAFRAN       ALVAREZ                      OK     90014860064
9B253165391599   ANNETTE      DELGADO                      TX     90014701653
9B253286293755   PHILLIP      JOHNSON                      OH     90008122862
9B253924281635   ALWAYZ       LYELOW                       MO     90014229242
9B25393A83164B   CARLA        PHILLIPS                     KS     22070959308
9B25395345B259   PHILIP M.    BULLOCK                      KY     68011289534
9B254651461982   CARLA        SEELEY                       CA     90005336514
9B25498515B548   SARA         NALL                         NM     35036909851
9B254A71172B42   LOVEADA      MARTINEZ                     CO     33075500711
9B255259A4B588   ELAINE       SHEA                         OK     90013312590
9B2553A835B531   ANA          YOUNG                        NM     90014363083
9B255795585689   ENRIQUE      IGLESIAS                     NJ     90006717955
9B255873361979   MELANIE      AREIZAGA                     CA     90003978733
9B2558A7977537   TREVOR       ELLIOTT                      NV     90014818079
9B255995593755   ANN          KORNER                       OH     64504879955
9B255AA1191599   MAURO        JIMENEZ                      TX     75097840011
9B25634615B531   OMAR         DIAZ                         NM     90013053461
9B25637767B444   WILSON       PERES                        NC     90014383776
9B25659965B383   ORAN         GOSHORN                      OR     44594855996
9B256767961558   ADRIAN       DAVIS                        TN     90015467679
9B256A87561977   ERIKA        GARCIA                       CA     90011140875
9B257122297B59   MICHEAL      MALLARD                      CO     90011971222
9B257421181635   EDRIAN       POWELL                       MO     29027214211
9B257475661928   ESAY         CARRILLO                     CA     90013504756
9B25768A75B383   JOLANDRA     BROWN                        OR     90015126807
9B257864155951   MELISSA      ADAMCZYK                     CA     90010888641
9B257969791521   MONICA       HOLGUIN                      TX     90008039697
9B257A1124B554   AMANDA       HUBARD                       OK     90014860112
9B257A86461979   JESSICA      SANDOVAL                     CA     90013990864
9B25836A172B3B   RAYELLE      MURILLO                      CO     90015343601
9B25851465B548   YVONNE       HERRERA                      NM     90008795146
9B2589A428B175   JUDY         MAEZ                         UT     90002429042
9B25916537B444   GARY         HOFF                         NC     11030521653
9B259188191521   CESAR        RAMOS                        TX     90010751881
9B259233A91524   JOSE         RAMIREZ                      TX     90013022330
9B25928558436B   BYRAM        BARBER                       SC     90011102855
9B25931132B824   NIKI         JOLLEY                       ID     90010553113
9B259464255957   ELIZABETH    FRANCO                       CA     90010224642
9B259538472B32   MANUEL       LOVATO                       CO     33044495384
9B25B39137B444   MAURO        MOCTEZUMA                    NC     11008353913
9B25B49535B565   AVILA        LILIA                        NM     90005344953
9B25B685193782   SHASTA       HAWKER                       OH     90007636851
9B25B724372B3B   JOSE         PAYAN                        CO     33022367243
9B25B7A628436B   JOEL         PAZ                          SC     19064447062
9B25B977141296   JOSEPH       KRAIL                        PA     51085129771
9B25BA37193755   JUNE         BRYANT                       OH     90014990371
9B2611A654B588   FELIPE       ALBINO                       OK     90015121065
9B26163A377537   MARIA        RAMIREZ                      NV     90010046303
9B26253A85B371   HEATHER      ZEINERT                      OR     90013125308
9B26263A377537   MARIA        RAMIREZ                      NV     90010046303
9B26296A27B444   ADRIAN       PHARR                        NC     11063529602
9B263221A72B42   LAWRENCE     GAYTAN                       CO     90004272210
9B26338228B352   ABRAMS       KASHOAM                      SC     90015343822
9B26347528436B   BEVERLY      SMITH                        SC     90010544752
9B263599772B62   YARELI       FONSECA                      CO     90005045997
9B2636A5391399   KATREINA     COPPAGE                      KS     29001616053
9B263A62A5B548   AUGUSTIN     BARRERA                      NM     90001070620
9B263A79841296   CHARLES      KITTZ                        PA     90014790798
9B264274161556   MAURICE      DARBY                        TN     90008702741
9B26429554B554   SYNITRA      EDDENS                       OK     90004582955
9B26429635B371   TIM          SKIPPER                      OR     44582652963
9B264356361979   FLORENTINO   RODRIGUEZ                    CA     46085963563
9B264414831448   SHEENA       MILLER                       MO     90001524148
9B26443812B27B   TIA          IVEY                         DC     90001394381
9B264536972B32   KORRIN       SHAFER                       CO     90006155369
9B264794133682   ANGEL        CANTY                        NC     90004837941
9B26493455B531   ROSA         BENAVIDEZ                    NM     90013719345
9B26495A797B59   DIANE        HANAK                        CO     90013609507
9B26495AA72B62   ALAN         FORD                         CO     90013139500
9B26544563164B   NICHOLAS     EDWARDS                      KS     90013874456
9B265477672B43   LOURDES      NOPHAL                       CO     33073664776
9B265543472B32   JESUS        FIERRO                       CO     90001515434
9B2655A5A72B62   HILDA        AGUILAR                      CO     90005255050
9B2659A715B531   LYNN         HERRINGTON                   NM     35070839071
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1923 of 2350


9B265A87561977   ERIKA        GARCIA                       CA     90011140875
9B266312291599   WAYNE        WIILLIAMS                    TX     90005003122
9B266725693778   BRETT        BAKER                        OH     64573527256
9B267112577537   DIONE        BUCKEYBILE                   NV     43088371125
9B267865172B56   NATASHA      BARNES                       CO     90014818651
9B267967961979   KAYE         LINN                         CA     90008899679
9B26837382B891   SHAUN        SAVELL                       ID     90012563738
9B268447961979   YOLANDA      CASTRO                       CA     90007374479
9B268455597B59   GABRIEL      SALAZAR                      CO     90007974555
9B268973661979   MATHA        MEDINA                       CA     90013869736
9B269621A7B444   INES         BO                           NC     90015296210
9B269866677537   FRANCISCO    ZUNO-GIL                     NV     90014818666
9B26988A98436B   RAQUELL      SPELLS                       SC     90010658809
9B2699A555B383   ALISON       OLIVER                       OR     90013909055
9B26B21284B241   TRISHA       HABERMAN                     NE     90002012128
9B26B32322B27B   ROBERT       LEE                          DC     90002483232
9B26B367891521   SALVADOR     DELAISLA                     TX     75086773678
9B26B4A7672B56   BRENDA       GUZMAN                       CO     33073354076
9B26B62915B531   FRANCESKA    NARANJO                      NM     90012926291
9B26B78965B548   DAWN         ATLER                        NM     35074817896
9B26B7A4591951   MARTA        MOLINA                       NC     90012787045
9B26B86645B371   CARLOS       CHAVEZ                       OR     90012348664
9B26B949A93778   MAC          WARE                         OH     90013679490
9B26BA1744B554   DALE         CUDE                         OK     90014860174
9B2711A8972B42   NICHOLE      MARTINEZ                     CO     90010521089
9B271253472B46   HANNAH       MALIK                        CO     90012542534
9B271285A91599   ANGEL        VALENZUELA                   TX     90014712850
9B27162A63164B   SAMONA       JONES                        KS     90012866206
9B27172842B27B   NAMARSHA     BROWN                        DC     90014847284
9B271A66477537   HANNAH       SITZE                        NV     90001320664
9B27219635B565   PATRICIA     DELATRINIDA                  NM     35017661963
9B27224793164B   KIESHA       ANDERSON                     KS     90013462479
9B272431A5B383   GUILLE       ESPINOZA                     OR     90009944310
9B272A61877927   NICK         PARISE                       IL     90015440618
9B272A91255951   DEE SHAWN    GREENE                       CA     90010000912
9B27311515B383   CRAIG        RIBBON                       OR     44506041151
9B27315A871936   BRUCE        OLIVAS                       CO     90000211508
9B27336568B152   MICHAEL      FITZGERALD                   UT     90013393656
9B27339654B588   JACQUELINE   BAKER                        OK     90008403965
9B273784691882   TIMOTHY      GEENEN                       OK     90013507846
9B27395A95B548   ORLANDO      BENAVIDEZ                    NM     90003189509
9B273A9982B981   OMAR         ALGHAZALI                    CA     90010300998
9B2741A7941296   SHINEKA      LINNING                      PA     90014791079
9B274346372B62   MARISA       SCHMIDT                      CO     90011333463
9B274445551342   MELINDA      SMITH                        OH     90013814455
9B274814672B62   DHYA         BAIDHANI                     CO     90013018146
9B274865877537   EDUARDO      GAVILAN-MARTINEZ             NV     43051288658
9B27536A64B52B   VIRGINIA     HARRIS                       OK     90014883606
9B275718641296   JEREMY       SONNER                       PA     90014777186
9B275A3495B371   MYNT         THAUNG                       OR     44564790349
9B27632827B444   LISA         SPENCER                      NC     90014943282
9B276771A4B554   RICO         CASTILLO                     OK     90000447710
9B27684333164B   HEATHER      HORNER                       KS     22005318433
9B276874761979   GLONDY       RENDON                       CA     90009888747
9B2768A1391882   VIRGINIA     AGUIRRE                      OK     90011258013
9B276A3562B27B   NILKA        HALL                         DC     90008290356
9B276A7364B554   DANIEL       ARVIZO                       OK     90014860736
9B27737783164B   MALLORY      WOOD                         KS     90014743778
9B2773AA58B175   SARA         DIAMOND                      UT     90010803005
9B27779725B383   BATAFIA      NARRUHN                      OR     90004707972
9B277822A91882   AMANDA       BLOWERS                      OK     90011258220
9B277A42A91599   CHRIS        HAYNES                       TX     75032320420
9B27813665B531   RICALDAY     RIOS ARCELIA                 NM     90012621366
9B2784A3777537   TINA         SIDLES                       NV     43019534037
9B278546772B42   JESSICA      HARRISON                     CO     90012275467
9B27981564B949   JULIETTE     BOUTTE                       TX     90003038156
9B27982213164B   ZAYR         DELAY                        KS     22091558221
9B279828361979   JOHANNA      FUENTES                      CA     90012268283
9B279AA6A91399   KARLA        PENQ                         KS     90003400060
9B27B527A93778   JEFFERY      THACKER                      OH     64579045270
9B27B664581635   PABLO        MEDINA                       MO     90012346645
9B27B918A93778   CAROLINE     HUDSON                       OH     90012989180
9B281262733698   ISAAC        WILSON                       NC     90010202627
9B28128824B949   APRIL        JANISE                       TX     90005192882
9B281645761977   ROSALINDA    JENSEN                       CA     46096716457
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1924 of 2350


9B281723481635   RHONDA        WRIGHT                      MO     90014847234
9B28187469712B   ELMER         CHASE                       OR     44035708746
9B2821A774B554   JOE           STOWE                       OK     90014861077
9B282589961977   ESTEBAN       ASCENCIO                    CA     90013575899
9B282681772B56   FRANSISCO     REYES                       CO     33062366817
9B28277124B588   TERRELL       GLAZE                       OK     90014037712
9B2831A774B554   JOE           STOWE                       OK     90014861077
9B2833AAA8B175   DEMETRIUS     OWENS                       UT     90015043000
9B283551672B56   MARIAH        MARTINEZ                    CO     90009185516
9B283717793755   CHASITY       JOHNSON                     OH     64520777177
9B28431198B175   ALEXIS        MACKAY                      UT     90010803119
9B284354A61977   ERCIK         GUTIERREZ                   CA     90015173540
9B28447617B444   JERRREY       CROSAND                     NC     90014834761
9B28457495B531   GRISELDA      GARCIA                      NM     90007605749
9B28497418B152   BRIAN         DURAIN                      UT     90009649741
9B284977393769   BRIAN         WARNER                      OH     64553579773
9B284A15772B56   JUAN          MANUEL                      CO     33018210157
9B28526648B175   CHANTELLE     FALLOWS                     UT     90012812664
9B2858A525B565   DEBBIE        ALMAREZ                     NM     90011788052
9B285A9A872B98   SELENA        VILLALPANDO                 CO     33061550908
9B28622217B444   LAQUESHA      JOHNSON                     NC     90013762221
9B28659958B175   KATRINA       MACIAS                      UT     90014105995
9B28676964B554   MATTHEW       WHITEHEAD                   OK     90014867696
9B28759215B383   RACHEAL       MALLORY                     OR     90010245921
9B28766A59712B   CANDELARIA    LEMUS-ANDREADE-             OR     90009746605
9B287823172B3B   AMY           BORREGO                     CO     33034258231
9B288928397B68   ANGELICA      VARELA                      CO     90013389283
9B289186272B42   BRYAN         CORTEZ                      CO     90013861862
9B28919228B175   ANA           CRUZ                        UT     90010211922
9B2891A422B27B   ROBERT        WILSON                      DC     90012881042
9B2893A548B152   DEBORAH       CALDWELL                    UT     90014203054
9B28B119A72B56   JESUS         CABRAL                      CO     90014861190
9B28B123991521   ROSA          GONZALEZ                    TX     75067051239
9B28B133755957   JOHNNEY       GUTIERREZ                   CA     90015151337
9B28B13A261977   VICENTE       GONZALEZ                    CA     46045881302
9B28B227655957   MICHAEL       COLE                        CA     90012982276
9B28B374772B32   MISTI         WRIGHT                      CO     90007303747
9B28B64377B481   LATOYA        LITTLEJOHN                  NC     11022046437
9B28B6A5172B98   YESSENIA      TORRES                      CO     90008396051
9B2913A8281637   JENNIFER      DUNNING                     MO     90013123082
9B29174998436B   CHERRELLE     WHITE                       SC     90012977499
9B2918A5461977   CYTINA        NEWBON                      CA     46077728054
9B291A3A751342   WHITNEY       PARKER                      OH     90013600307
9B292538572B42   JOEL          PORTILLO                    CO     90011675385
9B2927A2293755   APRIL         LOVATO                      OH     90000157022
9B293153991882   IFE           BARKER                      OK     90010881539
9B29328479712B   LINDA         BIRDSONG                    OR     90011722847
9B29457A472B42   MARTIN        ZAVOLA                      CO     90002515704
9B29486588436B   PATRICIA      PARKER                      SC     90008878658
9B29497762B27B   CINDY         STILL                       DC     90014059776
9B295795593755   KHAYERADDIN   YUSUPOV                     OH     90013027955
9B295AA9961977   MANUEL        MEDINA                      CA     90011460099
9B29624725B531   LISA          ROLLER                      NM     90008582472
9B29628864B554   VALENTIN      SANCHEZ                     OK     21505592886
9B296397A41296   JUDY          STEPHENSON                  PA     90009643970
9B297244993769   KEITH         SINK JR                     OH     90014882449
9B297284641296   OLIVIA        COLEMAN                     PA     90014802846
9B297378591544   LUCI          LEYVA                       TX     75010393785
9B29858165B383   STEVEN        DAILY                       OR     90014505816
9B29884265B531   PAUL          PINEAU                      NM     90010778426
9B299569561979   CAROLINA      DEGADILLO                   CA     90013435695
9B299613772B42   ROSA          ROCHA-BALDERAS              CO     90012256137
9B299635472B3B   KIMBERLY      SMITH                       CO     33029506354
9B299A83497B59   SHERONNE      RADLEY                      CO     90014650834
9B29B359941255   LOUISE        SMITROVICH                  PA     90013393599
9B29B518872B3B   KARLOS        FIELDS                      CO     90014455188
9B29B837933698   MARTIN        PAREDES- FERNANDEZ          NC     90013848379
9B29B851461977   FREDERICK     LUMALU                      CA     90011058514
9B2B116898B175   CARLA         DALTON                      UT     90013931689
9B2B1234261979   JUAN          TORRES                      CA     90013862342
9B2B12A415B371   BRANDON       FELD                        OR     90014492041
9B2B1517172B78   ERIC          ANDRE                       CO     90011525171
9B2B152122B27B   TORTISHA      HOLLAND                     DC     90014175212
9B2B156658B152   ELISEO        HERRERA                     UT     90014705665
9B2B1581572B42   STEVEN        GOLD                        CO     33068425815
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1925 of 2350


9B2B1652455957   MARCO        NAYA                         CA     49087736524
9B2B1A4A872B98   MARIUS       ANDERSON                     CO     90003420408
9B2B218788B175   KANDI        GOFF                         UT     31075181878
9B2B231985B356   MARIA        HERNANDEZ                    OR     90010543198
9B2B2351897B59   JUAN         ACEVEDO MARTINEZ             CO     39086943518
9B2B2439597B68   ROSALBA      PEREZ-CAMARENA               CO     39041264395
9B2B272725B356   MARIA        HERNANDEZ                    OR     90012497272
9B2B2746991599   CRUZ         CHAVEZ                       TX     75055667469
9B2B2853181634   JOHN         HUNT                         MO     29041258531
9B2B289184B554   ELMIRA       THOMPSON                     OK     90014858918
9B2B2949172B56   JORGE        SANDOVAL-SANCHEZ             CO     90013329491
9B2B295294B588   CAROLL       IZQUIERDO                    OK     90012209529
9B2B2A58772B32   JESSICA      ROBLEDO                      CO     90013810587
9B2B2A93172B32   ROGER        ZWART                        CO     90012870931
9B2B3173933698   LATASHA      ROBBINS                      NC     90002401739
9B2B3662861979   EMANUEL      CAUDILL                      CA     90012816628
9B2B3792172B32   JOSE         MARDOQUEO                    CO     33013187921
9B2B386618436B   JOSHUA       SINGLETON                    SC     90014888661
9B2B426132B981   PICK         UP                           CA     90004032613
9B2B4362951342   PHIL         HART                         OH     90000173629
9B2B4514955951   NAYELI       ALTAMIRANO                   CA     49082775149
9B2B4681761979   RAMONA       VALENZUELA                   CA     90011576817
9B2B4939191599   CLAUDIA      LOZANO                       TX     75054149391
9B2B512142B863   STEVEN       BLAKE                        ID     90006241214
9B2B516A42B27B   HNERY        LOPEZ                        DC     90013261604
9B2B5A8865B371   MARY         XIONG                        OR     90013090886
9B2B6246151342   HEATHER      GRAMANN                      OH     66033692461
9B2B6315A91521   CHRISTINA    GUADALAJARA                  TX     90015153150
9B2B6716161979   SOCORRO      ARVAYO BLAKE                 CA     46071177161
9B2B6735872B62   BEVERLY      DEMARB                       CO     33085627358
9B2B67A8561977   ALEX         DEL RIO                      CA     90014497085
9B2B6A41781634   DAQUAN       SMITH                        MO     90011540417
9B2B6A85491951   KISHLA       YWISE                        NC     90015140854
9B2B7234493755   ELIZABETH    HILL                         OH     90001522344
9B2B74A145B548   JESSICA      WILEY                        NM     90005594014
9B2B7969272B62   LANCE        CASTILLO                     CO     90012919692
9B2B8347672B3B   RUDY         BETTINI                      CO     90003323476
9B2B834992B27B   BERNICE      GENUS                        DC     90013163499
9B2B836474B588   ERIKA        BENNETT                      OK     90013373647
9B2B837374B554   SANDRA       ROSS                         OK     90011633737
9B2B8468891399   JESUS        RAMIREZ                      KS     29096094688
9B2B8517172B78   ERIC         ANDRE                        CO     90011525171
9B2B8856481635   RITA         BURRIS                       MO     90015218564
9B2B88A7661979   ANDREW       GARCIA                       CA     90012008076
9B2B894A681634   CARLOS       ALFONSO MUNGUIA              MO     90013559406
9B2B9419577537   DANIELLE     RECORD                       NV     43009744195
9B2B9461272B32   JESUS        PEREZ                        CO     90015224612
9B2B98A6772B56   KATHRYN      PROCTOR                      CO     90014818067
9B2BB72364B554   ANTONIO      CHAY                         OK     90014877236
9B2BB791A55957   FRANCISCO    ECHEVERRIA LAINEZ            CA     90012967910
9B2BB84584B588   ANTONIA      FOMUNYAM                     OK     90007118458
9B31143567B444   JOSE         MOZA                         NC     11086524356
9B31147795B548   JASON        CLARK                        NM     90011004779
9B311526877927   CHRIS        SLENING                      IL     90015445268
9B311749191521   MONICA       FORTI                        TX     90013547491
9B311844355957   ERIKA        MARTINEZ                     CA     49098098443
9B311929A3164B   GREG         WOLFE                        KS     22005219290
9B31215A85B371   MELISSA      TURNER                       OR     90006131508
9B31236825B383   CHRISTINA    ESPINOZA                     OR     90015293682
9B312413872B3B   ALFONSO      GARCIA                       CO     90010904138
9B312474A8B152   KESETE       ASHLEY                       UT     90014384740
9B31295548B152   WILLIAM      HUERTA                       UT     90012999554
9B312A3292B981   JOANNE       RIVERA                       CA     90012820329
9B312A71493769   JUAN         PONCIANO                     OH     90015560714
9B312A78561956   RONALD LEE   LEWIS                        CA     90015090785
9B313231155957   MARTHA       CERVANTES                    CA     90012982311
9B313925461979   JUAN         REBOLLAR                     CA     46071419254
9B313974391599   ISRAEL       CHAVEZ                       TX     75030559743
9B314159391599   LUIS         ROSILES                      TX     75028951593
9B314535633698   MONICA       MCINTOSH                     NC     90013145356
9B314595181635   KAYDEN       SUMNER                       MO     90010545951
9B314699A72B32   MARGARITO    QUINTANA                     CO     33074806990
9B314877A3164B   HARVEY       GARRETT                      KS     22062238770
9B314A42177537   CARLOS       MORENO                       NV     90008130421
9B315361355975   JOSE         PEREZ                        CA     90005083613
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1926 of 2350


9B315515172B32   ANNETTE       PORTIS                      CO     33023375151
9B315786A72B98   JOSE          JUAN ARAIZA                 CO     90000467860
9B315863581635   DONA          SAMPSON                     MO     29003278635
9B315893477537   MIRSA         RODRIGUEZ                   NV     90006528934
9B315938155951   DONELD        CASTILLO                    CA     90009919381
9B316184791882   DONALD        MONHOLLAND                  OK     90008201847
9B31624137B444   BERTHA        DELGADO                     NC     90014152413
9B316833881635   CHRISTOPHER   COY                         MO     90012438338
9B316953555957   MICHAEL       GARCIA                      CA     90014839535
9B316AA7861977   PABLO         GAMEZ                       CA     90012750078
9B317538191951   MANUEL        HERNANDEZ                   NC     90013975381
9B31774325B383   SERGE         KASHUL                      OR     90013757432
9B317777393755   DAWN          MAGILL                      OH     64537437773
9B318371491599   CLAUDIA       TORRES                      TX     75098403714
9B31854222B27B   MARIA         HERNANDEZ                   DC     90013835422
9B318731297B59   MYNOR         SONTAY                      CO     39017377312
9B318737861979   JOSE          SANCHEZ                     CA     46081087378
9B31881664B554   JOSE          MAZARIEGOS                  OK     21570228166
9B318A42377537   MARTIN        MACIAS                      NV     90014820423
9B319227291599   LAURA         ALONZO                      TX     75030562272
9B319343151323   KATY          ROSE                        OH     90012283431
9B319399872B62   BRIAN         ARMSTRONG                   CO     90012573998
9B31943818B175   MARION .B     KING                        UT     90010954381
9B319462641296   LUCAS         CARTWRWIGHT                 PA     90010274626
9B3194A3557129   SAUL          MEJIA                       VA     90007484035
9B319551772B42   JENNIFER      WATKINS                     CO     90011675517
9B319555581635   COURTNEY      BURTON                      MO     90013965555
9B31965222B891   JAMES         KASTEN                      ID     90009336522
9B3196A8661977   HERNANDEZ     IVAN                        CA     46035356086
9B31984624B554   ERIN          DODD                        OK     90014868462
9B319931672B3B   AYESHA        SMITH                       CO     33074399316
9B319958A8B188   ANGELINCA     ALEXANDRA                   UT     90013569580
9B319A38772B42   LOIS          DENNIS                      CO     90012070387
9B31B16385B548   JOAN          GRIEGO                      NM     90014941638
9B31B1A3372B42   MARITZABEL    MOLINAR                     CO     90014981033
9B31B244597B59   TONYA         BRINKHOFF                   CO     90013082445
9B31B352A2B27B   ANTONIE       GRAY                        DC     90014863520
9B31B498672B62   JOSE          FRIAS                       CO     90012484986
9B31B848A91882   LAMONT        QILLIAMS                    OK     90012098480
9B321294691521   DAVID         SANDNER                     TX     90012152946
9B32141A55B383   HAYLEY        POWELL                      OR     90011334105
9B32174764B565   JEFFREY       YOUNG                       OK     90011107476
9B321857133698   TIM           BROOKS                      NC     12051608571
9B32239258B188   JEFF          BARNETT                     UT     90000463925
9B322854193755   JENNIFER      SNYDER                      OH     90013438541
9B3228A6672B42   TEOFILO       PANTOJA                     CO     90013048066
9B322A96A91599   ESTRELLA      RODRIGUEZ                   TX     90009470960
9B323381191599   PATRICIA      GUTIERREZ                   TX     90012363811
9B32345A181634   AMANDA        PERKINS                     MO     90008074501
9B3235A5293769   BARRY         SMITH                       OH     90009765052
9B323629672B56   GISELA        LOPEZ                       CO     90012896296
9B32379AA81635   DARRIN        WEBSTER                     MO     29079447900
9B3238A3872B43   ESTRELLA      GARCIA                      CO     33073668038
9B324468391599   PEDRO         TOVAR                       TX     90006794683
9B32451762B891   RAFAEL        HERNANDEZ                   ID     42073185176
9B32471474B554   KEVIN         GRZYBOWSKI                  OK     90014887147
9B324A64A72B56   DAVID         LERMA                       CO     90013790640
9B325444A5B383   LISA          DZIB                        OR     90014894440
9B32568A691882   SHELBY        LEJEUNE                     OK     90007886806
9B325769591951   ALEX          FUENTES                     NC     90003797695
9B326213241296   NICHLOAS      SIDICK                      PA     90014792132
9B326396291951   DARRELL       LONG                        NC     90008273962
9B3263A965B383   DAVON         RODRIGUE                    OR     90014263096
9B32698428B188   HAMDY         EISSA                       UT     90013569842
9B327264681634   DANIELLE      LEE                         MO     29069112646
9B32732A955951   JOHN          BERNAL                      CA     49084353209
9B327341891882   BIDY          AGUILAR                     OK     90009573418
9B32752A63164B   ALEX          MARTINEZ                    KS     90015555206
9B32758875B531   VIRGINIA      GREATHOUSE                  NM     90010145887
9B3277A9372B32   ERNESTINA     ROMAN                       CO     33029437093
9B32784348436B   NICHOLAS      BAILEY                      SC     90003428434
9B32788554B554   EVILIO        HERNANDEZ                   OK     90014868855
9B328545655951   NICOLE        MARQUEZ                     CA     90012115456
9B328551281635   LCALVIN       FOSTER II                   MO     90000475512
9B32897A861979   JODIE         BURNHAUSER                  CA     90010109708
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1927 of 2350


9B328982761973   BRUCE            DAVIS                    CA     90009419827
9B329489255951   RACHEL           ADAMS                    CA     90009364892
9B32951462B27B   TRAYDANS         ENTERPRIZE INC           DC     90012855146
9B329556172B32   MARY             BENTANQUEZ               CO     33046425561
9B32962455B565   LETICIA          MARTINEZ                 NM     90003346245
9B329893672B56   MAH              SA DA                    CO     90014818936
9B3298A9872B62   DIANA            SANCHEZ                  CO     90011428098
9B32B113555951   DAVID            MENDOZA                  CA     90014791135
9B32B13235B548   KAREN            BACA                     NM     90014401323
9B32B1A3572B32   ROXANNE          MARQUEZ                  CO     33013731035
9B32B38A455951   LORENA           MORALES                  CA     90002963804
9B32B427181635   DANIEL           IVAN                     MO     90011674271
9B32B553955957   SAMUEL           GARCIA                   CA     49081615539
9B32B554161977   JAY              BROWNING                 CA     90009275541
9B32B613A91599   FRANCISCO        GONZALEZ                 TX     75015546130
9B33122382B891   JASON            BLOCHING                 ID     42031502238
9B331258355951   ANGEL            SILVA                    CA     49007562583
9B331345891399   REFUJIO          VAZQUEZ                  KS     29062383458
9B331594393778   TERESA           STEINEMAN                OH     90012425943
9B331676561977   LUIS             CHAVEZ                   CA     90010476765
9B33229A24B554   DEANDRA          ALLEN                    OK     90014922902
9B332484A72B62   RAMONA           MENDEZ                   CO     90014924840
9B332861A55951   JOSE             BARRERA                  CA     90015228610
9B332894972B56   BARBARA          GARCIA                   CO     90014818949
9B332973491882   KRISTY           POPLIN                   OK     90012479734
9B333137191599   RUTH             PORTILLO                 NM     75016711371
9B333164193778   NATHAN           HUMERICK                 OH     64569691641
9B333686155951   CHRISTINA        ORTIZ                    CA     90014016861
9B3337A874B554   NOE              LOPEZ                    OK     21584907087
9B333A42551342   LAMONE           HUNTER                   OH     90012290425
9B3341A375B548   DANIEL           GUTIERREZ                NM     90014531037
9B33445A251342   SHERRIE          SIMS                     OH     90008504502
9B334973872B3B   JASON            CAMPBELL                 CO     90013399738
9B334976155957   SCRIVNER         GENE                     CA     90015019761
9B334A57A81634   ANA              RODRIGUEZ                MO     90013730570
9B335861531448   CHARLOTTE J      WILSON                   MO     90010188615
9B33619A772B42   MARTIN           ENRIQUEZ                 CO     33083441907
9B33656812B981   LUCRECIA         CARDENAS                 CA     90004755681
9B33695528B175   URSULA           ELDRIDGE                 UT     31000169552
9B337468393778   HIND             DERKAOUI                 OH     90011814683
9B33758578B175   LINDA            VAN HOY                  UT     31088325857
9B337975855957   MARIA            TORRES                   CA     90012639758
9B3379A954B554   ALONSO           LECHUGA                  OK     90014869095
9B33832484B259   ANTHONY          SISSEL                   NE     90001343248
9B338447972B3B   CITLALI          CERVANTES                CO     90012914479
9B338488772B56   CRISTINA         GONZALEZ                 CO     33064654887
9B338711177537   NANCY            OBISPO                   NV     43058677111
9B33872718B152   CAMI             KIMBALL                  UT     31008107271
9B338945A81635   ARLEY            ORCUTT                   MO     90014229450
9B338A43A8B188   JOSE             GAYTAN LEMUS             UT     90013570430
9B33926A141296   MARIAH           THOMAS                   PA     90014792601
9B339412A2B27B   BENNIE           BYARS                    DC     90012944120
9B339933677537   JESSICA          CASTILLO                 NV     90014879336
9B33996845B548   RIGOBERTO        NAVARRO-DIAZ             NM     35080269684
9B33B121591599   CARLOS           MOLINA                   TX     90004831215
9B33B218691951   NICOLE           BULLOCK                  NC     90013772186
9B33B45A893755   STEVE            HOPKINS                  OH     64558464508
9B33B4A945137B   CAROLANE MARIE   WITHROW                  OH     90013644094
9B33B677555985   LORENA           LUA                      CA     90007816775
9B33B76583164B   GUILLERMO        CONTRERAS                KS     90012397658
9B33B963481635   DANIEL           HILGEDICK                MO     90013119634
9B34118A472B3B   KARLA            RIZZON                   CO     33050411804
9B341239993769   JANE             HARRING                  OH     90015522399
9B341262771928   NICOLE           ASHTON                   CO     90012792627
9B341562872B62   SAMUEL A         DOBBS                    CO     33022575628
9B342196633698   BRITTANY         MORRISON                 NC     90011081966
9B342526561977   GLORIA           ROBLES                   CA     90010675265
9B342588472B42   MARCELO          FABIAN                   CO     90002465884
9B34321454B554   SHARON           MORTON                   OK     90010812145
9B343262841296   JENNIFER         STOUT                    PA     90014792628
9B343276491599   JUANA            QUIROZ                   TX     75094402764
9B3433A3A97B59   PAUL             GREEN                    CO     90011183030
9B3434A7491521   JEFFREY          WEAVER                   TX     75036824074
9B343732772B43   REBECCA          HASKIN                   CO     90006487327
9B343737261977   RUBY             VIDES                    CA     90013267372
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1928 of 2350


9B34455778436B   MARILYN      KEMPER                       SC     19001115577
9B34464615B531   CHRISTINE    KATESIGWA                    NM     35096306461
9B344652891951   KATHERINE    MEDINA                       NC     90009516528
9B34466615B565   EDUARDO      ARCINIEGA                    NM     90003346661
9B34477273164B   TAMMY        ANDERSON                     KS     90008047727
9B344964A72B56   AMAYA        ESTES                        CO     90014359640
9B344A32172B32   RUDY         TORRES                       CO     90012770321
9B345561772B42   ROCHELLE     NICODEMUS                    CO     90001735617
9B345A58333698   JORGE        MAJICA                       NC     90008370583
9B346744A5B531   BRITTNY      DELLINGER                    NM     90010887440
9B346A29272B32   KEVI         ARCHIBEQUE                   CO     90012980292
9B347483A72B42   THERESA      TONITA DAVIS                 CO     33046694830
9B347A42172B98   ROSA         BLANCO                       CO     33044820421
9B348318772B32   JESSICA      EVANS                        CO     33012063187
9B348323872B42   MERCEDES     CANALES                      CO     90013793238
9B34859698B152   JACOB        BUTHMANN                     UT     90013085969
9B349194772B43   MANUEL       BARO                         CO     33017151947
9B349252872B62   JAMES        BATCHO                       CO     33042042528
9B349395877937   PAYGO        IVR ACTIVATION               IL     90008793958
9B34959965B383   GRISELDA     REYES                        OR     44598095996
9B34961425B371   PATRICIA     FOWLER                       OR     44515136142
9B34978A42B891   AMANDA       MGINNIS                      ID     90010787804
9B34B221993755   JONATHAN     BRANHAM                      OH     90012972219
9B34B231981634   SMITH        LOWIE                        MO     90013702319
9B34B342785689   OVAIN        GOMEZ                        NJ     85010013427
9B34B75565B371   CHARLEEN     KELLER                       OR     44504497556
9B351387A4B235   RON          HUNTOON                      IA     27072063870
9B351795441296   TATUM        SHIELDS                      PA     51070857954
9B3521A8A91882   CHRIS        MILLER                       OK     90004261080
9B3526A787B444   LATASHA      CRAWFORD                     NC     11010866078
9B3527A935B548   ANTHONY      HARRISON                     NM     35016587093
9B352933972B98   RHIAN        STANDLEY                     CO     90008979339
9B353217772B42   SAMANTHA     RUIZ                         CO     33014882177
9B35324984B588   CORY         TRUBY                        OK     90013852498
9B353271161977   VICTORIA     GARCIA                       CA     90014042711
9B353355851342   JACOB        GADDIS                       OH     90013553558
9B353A46191521   ANDREA       ALVARADO                     TX     90012410461
9B354177372B32   JOHN         WALTZ                        CO     33034411773
9B354312693782   TAMIKA       WATERS                       OH     90009333126
9B35451A791526   SAUL         SEPULVEDA                    TX     75096055107
9B354578372B62   FRANSISCA    GARCIA                       CO     90014885783
9B354921191882   BILL         POFFINBARGER                 OK     21084769211
9B354A34993755   DARREL       MCLEMORE                     OH     90010550349
9B354A8494B949   GRACIELA     CONTRERAS                    TX     90006150849
9B355268141296   THOMAS       KEARNEY                      PA     90014792681
9B35554762B981   CHINOU       VUE                          CA     90009495476
9B35595978B152   JOHN         DEANS                        UT     31048649597
9B35644228B175   JENIFER      MCCRALEY                     UT     31085684422
9B35656A993755   ALEXIS       BROGAN                       OH     90013735609
9B3565A3597B59   SCOTT        ROSENBAUM                    CO     90015135035
9B357178A57563   CRYSTAL      LOERA                        NM     90011131780
9B35721882B27B   PAULA        SWALES                       DC     90015152188
9B357224972B42   LETISHA      WASHINGTON                   CO     90013222249
9B3577A1A72B42   JORGE        OLIVA                        CO     90014257010
9B35825612B27B   KEVIN        BARNES                       DC     81075782561
9B358384361879   ASIA         LEBELS                       IL     90015533843
9B358687891521   AIDA         CARBAJAL                     TX     90014376878
9B358831293769   DAVID        BOECKMAN                     OH     90011128312
9B358A4A255951   EDUARDO      PARRA                        CA     90005040402
9B35932A64B949   LEROY        HOWARD JR.                   TX     76563683206
9B35937675B383   RICARDO      AMBRIZ                       OR     90000223767
9B359AA7A72B42   EDNA         CASTELA                      CO     90007120070
9B35B1A925B371   PATRICIA     CHAVARRIA                    OR     90010181092
9B35B224661977   KRISTI       MANION                       CA     46045702246
9B35B27A697B59   TORI         MAY                          CO     39094562706
9B35B395172B42   GLENN        SCHRAETZLMAYER               CO     90013113951
9B35B519591599   MAYRA        BROWER                       TX     90008075195
9B35B77622B824   NEREIDA      MUNOZ                        ID     42015457762
9B35B83665B531   SANDRA       LUCERO                       NM     35098478366
9B35BA96872B56   DENISE       SMITH                        CO     90005620968
9B361139155951   LOIS         MELLO                        CA     90012791391
9B36155198B175   STEPHANIE    KING                         UT     90012545519
9B36165625B531   SHANNON      TOWNSEND                     NM     90014766562
9B361851272B43   LANE         TYLER                        CO     90010828512
9B361911172B56   TEODORO      MUNOZ                        CO     33000459111
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1929 of 2350


9B362622A91521   FRANCISCO    GARAY                        TX     75088566220
9B363193393767   SHAWN        KIMBALL                      OH     90007101933
9B36351AA61977   BRANDY       CLARK                        CA     90008365100
9B36356768B545   YONAS        YOHANNES                     CA     90010275676
9B36395937B444   DONNA        KING                         NC     90014359593
9B363A2155B371   ERI          GUTIERREZ                    OR     90014100215
9B36447525B531   LUIS         TRUJILLO                     NM     90012084752
9B3646AA65B548   ANNA         MADRID                       NM     35005456006
9B36471675B565   JULIANITA    GARCIA                       NM     90010927167
9B365539972B56   MARYEN       CABANAS                      CO     90004535399
9B36556665B548   EDGAR        RAMOS                        NM     90002625666
9B36573319198B   LEKISHA      SMITH                        NC     90004977331
9B3658A9991882   CLAUDE       JOHNSON                      OK     90013508099
9B365989272B98   CASSANDRA    THAXTON                      CO     90004509892
9B36635725B548   RICARDO      ACOSTA                       NM     90006023572
9B366493761879   ERRON        WHITE                        IL     90015074937
9B366547672B43   JOHN         ANTOINE                      CO     33073675476
9B36661282B891   MAYA         SAADALLAH                    ID     90013086128
9B367144261977   GILBERT      CANDELARIA                   CA     90013351442
9B367281991599   TONY         RUIZ                         TX     90014052819
9B36735164B235   CALISO       SCOTT                        NE     27072663516
9B367715577537   ROSALVA      MOLINA                       NV     90009117155
9B367768733698   MARIA        AVILA                        NC     90001697687
9B367A26951342   HERALDO      ESCALANTE                    OH     90013930269
9B368383461979   JACOB        MORALES                      CA     90010853834
9B36848685B383   JACQUELINE   ALVARADO                     OR     44567024868
9B368665391599   MOISES       APODACA                      NM     90011906653
9B368844661977   ANDRE        JEMPSON                      CA     90013538446
9B3689A8272B56   LUZ          RAMIREZ                      CO     90014819082
9B369136A72B98   JUANA        LANDEROS                     CO     33020211360
9B369AA3672B43   YOVANNA      MUNOZ                        CO     90003300036
9B36B338191599   MARIA        BURCIAGA                     TX     75090013381
9B36B55658436B   GERALD       CROSSON                      SC     90013935565
9B36B87A191951   REGINALD     TERRY                        NC     90009218701
9B36B897772B56   NARCISO      SAENZ                        CO     33086388977
9B371134872B62   EMILY        NORMAN                       CO     90014001348
9B37125938B188   LEON         WHEELER                      UT     90013572593
9B37138974B949   JOYCE        MCKINNEY                     TX     76512703897
9B37159875B371   TEODOCIO     RODRIGUEZ PEREZ              OR     90013125987
9B37186A277537   MICHELLE     MULHALL                      NV     90007358602
9B37199614B554   SHAWN        LEHMAN                       OK     90014869961
9B372294893778   LINDA        WATTERS                      OH     64525132948
9B372364491599   MARTHA       MONTELLANO                   TX     90015303644
9B3726A275B383   CALVIN       TABORN                       OR     90014016027
9B372748781634   JAELIN       SPEARS                       MO     90014937487
9B372847772B84   HECTOR       MARIN                        CO     33022438477
9B37298394B588   BELINDA      SCHMIDT                      OK     90013029839
9B37299614B554   SHAWN        LEHMAN                       OK     90014869961
9B3729A2A72B3B   DAYANA       FAUVER                       CO     90013119020
9B372A13241296   JOSE         ALEJANDRO                    PA     90002270132
9B372A6A52B891   LYNEE        NOSEWORTHY                   ID     42036440605
9B372A85493755   CHRYSTAL     CHANEY                       OH     90007140854
9B37312685B548   PATRICA      YAZZIE                       NM     90004231268
9B373279591951   SHYNIQUE     DAVIS                        NC     90011302795
9B37331A281635   JOHN         DE SUZA                      MO     29043143102
9B373655661979   CHARLIE      CUMMINGS                     CA     90011376556
9B373878377537   NATHAN       DAVIS                        NV     90012378783
9B3739A4555951   ERIKA        GONZALEZ                     CA     49002449045
9B37427938436B   KIMBERLY     SIMMONS                      SC     90011362793
9B37427A972B62   RAUL         AVILA                        CO     90007062709
9B374283541296   JAMES        SMITH                        PA     90014792835
9B374337455957   CHOMSANITH   PHOUANGKEO                   CA     90013533374
9B37439513164B   NORMAN       KARNS                        KS     22065553951
9B37459514B588   DEORAH       NEVORE                       OK     90014015951
9B3751A657B444   MYRON        CHAPMAN                      NC     11085421065
9B375269491951   KRYSTLE      JACKSON                      NC     90007922694
9B375582872B42   DURGA        SARKI                        CO     90015225828
9B37599914B554   LACEY        WELCHEL                      OK     90014869991
9B375A7912B27B   COYON        ATCHERSON                    DC     90007780791
9B37636545B281   TANNESHIA    GUY                          KY     90011313654
9B376523691599   MARTIN       SILVA                        TX     90009445236
9B376633355957   JULISA       ZAZUETA                      CA     90015176333
9B376711393769   AMANDA       DRESSEL                      OH     90006117113
9B376AA994B554   CASSANDRA    THOMPSON                     OK     90014870099
9B37729792B27B   LAURA        ABDELAZIZ                    DC     81078542979
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1930 of 2350


9B377763872B42   OLGA                 ESCARCEGA            CO     33067247638
9B377795355957   ISAAC                ESPARZA              CA     90009857953
9B37791A861979   MAGDALENA            HERNANDEZ            CA     90004779108
9B377987691521   GUSTAVO              ROMAN                TX     90011669876
9B378156272B42   PABLO                CARDENAS             CO     90014911562
9B37829327B444   KENYA                PEVIE                NC     90014702932
9B378417933698   HANNAH               LEWIS                NC     90015134179
9B378713A55951   MARICRUZ             VASQUEZ              CA     90012207130
9B3789A2A93778   SHANE                RACHELSON            OH     90011879020
9B379557A97B59   YASMIN               WIDMAR               CO     90013305570
9B37959295B531   MIKE                 CASTANEDA            NM     90014665929
9B379799461979   HECTOR               MEDINA               CA     90013927994
9B37986AA5133B   STEPHEN              HIGH                 OH     66067518600
9B37999242B891   KATRINA              REYES                ID     90012099924
9B379A19A93755   CLAYTON              MOORE                OH     90010240190
9B37B14A82B27B   JAYNEECE             THOMPSON             DC     90014731408
9B37B168A77537   TRINITY              GRAHAM               NV     90014881680
9B37B37622B27B   VICTOR               SIMMONS              DC     90006613762
9B37B423193755   JUDITH               RAGLAND              OH     64570014231
9B37B54278436B   TAMEKA               GREEN                SC     90009015427
9B37B586A3164B   JOE                  MITCHELL             KS     90014255860
9B37B826472B42   ADALID               AGUILAR              CO     90013358264
9B37B84AA91521   ANA                  ENRIQUEZ             TX     90000488400
9B37BA61872B42   KRISTEN              REYNOLDS             CO     90012150618
9B3811A154B597   FFR 21221 SALVADOR   ALAS                 OK     90010001015
9B381283541296   JAMES                SMITH                PA     90014792835
9B381417772B62   EDWIN                ABEYTA               CO     90012514177
9B381424291599   ADRIANA              CONTRERAS            TX     75086374242
9B38166734B588   LINDA                SMITH                OK     90009146673
9B38167593164B   IVONNE               MARTINEZ             KS     22029096759
9B381753991521   JESSICA              MACIAS               TX     90009947539
9B381889161977   ZULANIL              RAMIREZ              CA     90014638891
9B381965891951   FRANCIS              MBUJI                NC     90011059658
9B381A2385B565   FEDERICO             LOPEZ                NM     90011790238
9B382145791521   ESTHER               AVALOS               TX     90015321457
9B382165691368   JIM                  BUCKLEY              KS     29063001656
9B38224735B531   GIATAN               GLORIANA             NM     90013362473
9B382281261979   GABRIELA             RODRIGUEZ            CA     90009732812
9B382473777537   ELVIRA               GOMEZ                NV     43015064737
9B382875555951   MARIA                ALATORRE             CA     90000778755
9B382875A81635   PHILLIP              CONTRERAS            MO     90013288750
9B382885291882   KUNDAYI              JANGIRA              OK     90013158852
9B382887933698   PEDRO                FERRER               NC     90013108879
9B383227477399   MERVIN               HUBBARD              IL     90001732274
9B383512651342   MELISSA              ALDER                OH     90014915126
9B383535155951   MIGUEL               GARCIA               CA     90012355351
9B383826593769   NICK                 RIDER                OH     90015178265
9B383848172B3B   CANDELSRIA           DAVILA               CO     90011438481
9B38392A34B588   LAWANEA              STEVENS              OK     90014769203
9B383985491532   JOSE                 SOTO                 TX     75066899854
9B383AA237B421   SHONN                MOSER                NC     90010370023
9B384484A72B32   MARLENYE             PORRAS               CO     33029614840
9B38465533164B   STEPHANIE            DARNALL              KS     22096996553
9B384936481637   RAHSHEDA             HENSON               MO     90011329364
9B384966193778   TRENTON              WALLACE              OH     90012659661
9B384969591951   SASHA                JACKSON              NC     17077229695
9B38515628B152   JOSH                 JAMISON              UT     90013381562
9B38521A777537   SERGIO               PEREZ                NV     90014882107
9B38529A872B42   WILLIE               RAINEY               CO     90012872908
9B38564A972B62   JORGE                CHAVARRIA            CO     90013826409
9B385714572B56   LEONARDO             VASQUEZ              CO     90014347145
9B38572A472B43   IRAN                 BLANCO               CO     90006967204
9B38572AA91599   POLA                 MARRUFO              TX     90012687200
9B385831193778   DENISE               LAYNE-BURNETT        OH     64564148311
9B38598225B383   LANCE                RUSCHMAN             OR     90014329822
9B385A96A61879   OSCAR                PAZ                  IL     90015540960
9B38636828B188   CHARLI               SALAS                UT     90013573682
9B386385172B62   JUAN MARTIN          BARRIOS FLORES       CO     90014843851
9B38647275B326   ALEX                 AGUILAR              OR     44091614727
9B38675125B531   JUAN                 SALGAO               NM     35066687512
9B386844781658   DEANNA               BRESHEARS            MO     90011138447
9B38696337B444   NATHAN               SUTTLE               NC     90014569633
9B3869A9591521   EVA                  TAME                 TX     75057579095
9B387219551396   LARELLE              BRUCE                OH     90005312195
9B3872AA272B98   2                    SWEET                CO     90001322002
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1931 of 2350


9B38745A672B56   ANA           SANCHEZ                     CO     90010844506
9B387A65A72B42   EFRAIN        AGUIRRE                     CO     33030320650
9B38816917B444   FREDERICK     WIDEMAN                     NC     11023571691
9B3886A8A97B59   FERNANDO      SOLOGUREN HERNANDEZ         CO     90004706080
9B388862151342   JORDAN        ANDERSON                    OH     66098488621
9B388919372B56   KIMBERLY      BARNES                      CO     90014819193
9B388987481635   KRISTINE      GENSHAW                     MO     90012659874
9B3893A9293778   CHARLES       TUCKER                      OH     90009933092
9B389647261556   RAMIRO        FERNANDEZ                   TN     90015416472
9B389761A3B351   SARA          BOYETT                      CO     90005137610
9B389822581634   JAMES         GANNON                      MO     90010358225
9B389865891599   MARYLOU       MORRILL                     TX     90013248658
9B389A2218B152   JERRY         MEAKIN                      UT     31082880221
9B38B112A97B59   MICHELLE      NEWMAN                      CO     39022861120
9B38B263A57137   JOSE          MARTINES                    VA     90010762630
9B38B41A272B32   HEATHER       WATSON                      CO     90011704102
9B38B6A3361979   JORGE         DE PABLOS-VELEZ             CA     90012406033
9B38B83974B588   JENNIFER      DODD                        OK     90008708397
9B39126298436B   DARRON        MILLIGAN                    SC     90014082629
9B39127778B181   RICKY         MCCLEERY                    UT     31058832777
9B39129674B554   EDITH         FLORES                      OK     90010922967
9B391352261879   JAJUAN        WALLACE                     MO     90014863522
9B391365861977   HELDA         LOPEZ                       CA     90014813658
9B391766572B43   MONICA        ESTRADA                     CO     33073677665
9B391834191951   JOSELYN       APARICIO HERNANDEZ          NC     90015168341
9B392134961979   AALIYAH       WADE                        CA     90002791349
9B392242551342   CASANDRA      THREATTS                    OH     90009482425
9B39227318B175   KIMBERLY      OVERDIEK                    UT     90003232731
9B392976433698   DAYLIN        MORENO                      NC     90014679764
9B392A26572B32   ARNULFO       MANI-RODRIGUEZ              CO     33086450265
9B392A3844B554   HORTENCIA     MARTINEZ                    OK     90014870384
9B393146951342   JEREMY        BOOKER                      OH     90002771469
9B393244455957   EDUARDO       ROJAS                       CA     90012982444
9B393441172B32   CIMINIE       SMITH                       CO     33081464411
9B39348135B531   GAIL          GARZA                       NM     90010104813
9B3934A3772B53   GARY          BARELA                      CO     90013604037
9B394214972B56   SHERRY        MONTOYA                     CO     90006612149
9B39428614B554   REYNA         WILLIAMS                    OK     21505502861
9B394352491521   ERMINIA       ESPARZA                     TX     75095233524
9B39439475B531   LARA          WINE                        NM     90010243947
9B39481874B949   MARY          LAZARO                      TX     90000418187
9B39495862B399   JOSE          DIAZ                        CT     90014239586
9B39513468B159   TRACY         TOMICH                      UT     90000991346
9B39513AA72B32   KARLA         RODRIGUEZ                   CO     33094881300
9B39557595B565   ARNOLD        OCZON                       NM     35040995759
9B395913772B56   DEREK         RUIZ                        CO     90014819137
9B395967593778   VANESSA       MORELOCK                    OH     64509819675
9B395A32433639   MAYLO         ORTEGA SCOSTA               NC     90013830324
9B395A3964B554   KELVIN        BLAINE                      OK     90014870396
9B395A85A91599   RAMON         FIERRO                      TX     75045490850
9B396473251342   MICHAEL       DECAMP                      OH     90011074732
9B396914772B56   AMANDA        RANDOLPH                    CO     90014819147
9B39694A261979   RAQUEL        CASTELLANOS                 CA     90012859402
9B396A13972B32   NADINE        MCLEMORE                    CO     33096620139
9B39719894B554   ERIC          MCCLARENCE                  OK     21596891989
9B397316541296   JACK          BOONE                       PA     90014793165
9B397469493778   SHAKAIL       MOORE                       OH     90003874694
9B398538672B32   SABRINA       ARGUELLO                    CO     90013065386
9B3985A8251343   ANTHONY       CLEARY                      OH     90006935082
9B39911555B565   MARC          BARRAZA                     NM     90011791155
9B39918635B531   CHRISTINE     LOPEZ                       NM     35079961863
9B3991A765B548   GREGORY       WINTER                      NM     35050321076
9B399249555957   MARK          MCCLELLAN                   CA     90012982495
9B39926279376B   PHYLNIESHIA   STREATY                     OH     90009492627
9B399696672B3B   ANJEL         ALVAREZ                     CO     90011886966
9B399846772B3B   LUZ           MORENO MORALES              CO     33039658467
9B39B188272B62   LORETTA       HOWARD                      CO     90009491882
9B39B35754B554   CHRISTOPHER   POOR                        OK     90004233575
9B39B473251342   MICHAEL       DECAMP                      OH     90011074732
9B39B635855951   TINA          JACKSON                     CA     49014926358
9B39B723255957   FRANCISCO     HERNANDEZ                   CA     49084987232
9B39B87175B548   ABRAN         SANCHEZ                     NM     90011798717
9B3B115A17B362   JUAN CARLOS   CRUZ                        VA     90012611501
9B3B151765B371   SCHEIRBECK    JIM                         OR     44529755176
9B3B1629672B56   GISELA        LOPEZ                       CO     90012896296
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1932 of 2350


9B3B163672B891   ADELAIDA     VAZQUEZ                      ID     42059996367
9B3B178824B554   ROSETTA      BOWEN                        OK     90014867882
9B3B2715291882   JORGE        ZUNIHA                       OK     90010527152
9B3B279A897922   REVA         JEFFERSON                    TX     90004377908
9B3B3225272B32   ELIZABETH    MEYER                        CO     33018222252
9B3B334565B548   KELLY        MONTOYA                      NM     35090403456
9B3B372744B588   TRISHA       HUNT                         OK     90009827274
9B3B3744A5B383   ERICA        OTT                          OR     90014257440
9B3B3886977537   TALANOA      PANUVE                       NV     43010128869
9B3B389775B344   OCTAVIO      DE LA HOZ LOYO               OR     90011838977
9B3B3A6925B383   TAMIKA       TAYLOR                       OR     44578100692
9B3B412998436B   JODY         MELVIN                       SC     90013261299
9B3B43A3A97B59   PAUL         GREEN                        CO     90011183030
9B3B459892B981   ROSARIO      TORRES                       CA     45040795989
9B3B5434526797   WILLIAM      ROBERTS                      NC     83070414345
9B3B5641693755   CURTIS       WEST                         OH     90007906416
9B3B5773872B56   DONITA       BREWER                       CO     33036127738
9B3B5858297B59   DESIREE      SULLIVAN                     CO     90011128582
9B3B667A62B27B   ERIC         COFFEN                       DC     90001716706
9B3B679814B554   BILLY        MALOTT                       OK     90014867981
9B3B687175B548   GARY         MOYA                         NM     35031358717
9B3B6893591882   SHANICE      DEW                          OK     90011258935
9B3B7122577537   KATHLEEN     NELSON                       NV     43091711225
9B3B7421891994   DEMETRICE    JACKSON                      NC     90013724218
9B3B766565B371   DEVIN        PORTER                       OR     44581676656
9B3B76A1991544   ROBERT       CALDERON                     TX     90002786019
9B3B837528B188   PAMELA       GOMEZ                        UT     31037163752
9B3B837767B444   WILSON       PERES                        NC     90014383776
9B3B866838B175   VICTORIA     WYASKET                      UT     90014086683
9B3B8892677537   MICHAEL      CORONADO                     NV     90012288926
9B3B8A66293778   PAMELA       MCKELVY                      OH     90014700662
9B3B8A7AA5B548   RANDY        HANSEN                       NM     90011960700
9B3B8AA4191521   MARCUS       MCKAIGE                      TX     90014470041
9B3B9269233698   MATHEW       JONES                        NC     90010912692
9B3B936A54B235   JOSEPH       ARELLANO                     NE     27011333605
9B3B984392B891   KATRINA      DURENA                       ID     90001568439
9B3B9A36772B32   GUILLERMO    VAZQUEZ                      CO     33020070367
9B3BB465472B32   RAFAIL       KOLMANOVICH                  CO     33021834654
9B3BB547472B42   JAZMIN       PORRAS                       CO     90011675474
9B3BB735272B3B   KAMERON      TYLER                        CO     33007937352
9B3BB78585B383   MATHEW       KLOCK                        OR     44591747858
9B3BB844191951   JONTA        THOMPSON                     NC     90005178441
9B3BBA9688B152   THOMAS       BERAZ                        UT     31022770968
9B411592181638   TERESA       AGUIRRE                      MO     90013425921
9B411639A3B37B   TRACEY       MARTINEZ                     CO     90003346390
9B411867172B42   KELSEY       EGAN                         CO     90013268671
9B411982372B56   GARY         MCBRIDE                      CO     90001279823
9B41225838436B   COURTNEY     BROWN                        SC     90005332583
9B412933433698   TARA         POMALES                      NC     90013099334
9B413361891951   SHANNA       CLAXTON                      NC     90007903618
9B41349962B981   LORENA       HERNANDEZ                    CA     90013444996
9B41349A82B891   WENDY        WEST                         ID     90014404908
9B4134AA293778   DAWN         KUHNS                        OH     64592394002
9B41364942B981   LORENA       HERNANDEZ                    CA     90010826494
9B41374A491882   MIKE         VAZQUEZ                      OK     90015027404
9B413877561979   ADAN         LOPEZ                        CA     46015668775
9B4138A5433698   SERGIO       VERGAS MORALES               NC     90003238054
9B4138A6255951   JOSE         LEAL                         CA     90009948062
9B414235372B3B   LAMONT       BRYSON                       CO     90011962353
9B414478372B56   ESRIN        CHICGARCIAN                  CO     90010554783
9B414524777537   SHAWN        DESILVA                      NV     90015035247
9B414559333698   CHARLES      MCREAD                       NC     90011415593
9B414877561979   ADAN         LOPEZ                        CA     46015668775
9B41489365B565   GERARDO      VAZQUEZ                      NM     90003908936
9B414A4282B891   ARACELI      BARROSO                      ID     90012490428
9B414A8115B371   JEWELEAN     BROWN                        OR     90012330811
9B415148381635   MICHELLE     THOMPSON                     MO     90002331483
9B41557939714B   EUPHEMIA     RENGILL                      OR     90006275793
9B41566A14B588   TIFFANY      CHAMBERS                     OK     90006716601
9B416213197B59   LESLIE       MEILS                        CO     90012712131
9B416535193778   JENNIFER     HUMSTON                      OH     64501685351
9B41668574B588   ELIZABETH    PALACIOS                     OK     90014166857
9B416789991599   ALICE        GUTIERREZ                    TX     90011007899
9B416A8244B554   KIM          MCGILL                       OK     90014870824
9B41721113164B   EVELYN       TILLIS                       KS     22065602111
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1933 of 2350


9B41723534B581   BRANDON      BOOHER                       OK     90010012353
9B41728A391521   MARTY        ACOSTA                       TX     90007792803
9B41742A198B22   BELKIN       MEJIA                        NC     90011324201
9B417546172B3B   ALICIA       MARTINEZ                     CO     33064055461
9B41789477B471   GLENDA       GUTIERREZ                    NC     90008198947
9B418289455975   LESA         HARLESS                      CA     90002572894
9B418569821929   PAYGO        IVR ACTIVATION               IN     90011775698
9B418633261977   AIOTEST1     DONOTTOUCH                   CA     90015116332
9B418678191882   CHRISTINA    TERRAZAS                     OK     21028266781
9B418812672B3B   ANDREA       LOCKLEAR                     CO     33050128126
9B418A63572B42   KATTYA       CUBAS                        CO     90012150635
9B41964444B949   VICTOR       POLVO                        TX     90009416444
9B41976814B554   TIMOTHY      TUNNELL                      OK     90014877681
9B419A9AA61979   DEBRA        VILLARREAL                   CA     90012820900
9B41B233251342   DWANA        STAPLES                      OH     90014832332
9B41B349133698   JOHNNY       MITCHELL                     NC     12078423491
9B42112934B588   LETITIA      SKIDMORE                     OK     21555271293
9B421441191521   MIKAL        MINTON                       TX     90013344411
9B4216A769712B   GAIL         MESSINA                      OR     90000846076
9B421999191521   ADRIAN       LUGO LOPEZ                   TX     90014559991
9B421A61191882   ALICIA ANN   JOHNSON                      OK     90005990611
9B421A79181635   DANIELLE     ARNOLD                       MO     29011920791
9B421A89872B3B   ERNEST       STANTON                      CO     90009810898
9B42216394B554   JENNIE       JACKSON                      OK     90014871639
9B42221828436B   PHILLIP      HARRIS                       SC     90006672182
9B42244398B175   JOHN         CARLSON                      UT     90006014439
9B42282885B371   EDWIN        KIAHD                        OR     90013808288
9B422911391599   ARACELI      CAMACHO                      TX     90005329113
9B42328618B175   JESSE        SILVA                        UT     31072542861
9B4234AAA93778   DONNA        COLEMAN                      OH     90007794000
9B42358734B597   KYSHA        WILLIAMS                     OK     90010335873
9B423691291882   STEVEN       THOMAS                       OK     90012476912
9B42385824B588   LATASHA      REED-LA GRANGE               OK     90008438582
9B424348941296   RENEE        LALLEMENT                    PA     90014793489
9B4243A118B175   JOHN         HILDT                        UT     31041843011
9B4246AA272B32   DEREK        GARCIA                       CO     33084016002
9B424717581673   JESSICA      EDKIN                        MO     90004207175
9B42479A572B62   ARTURO       ANGELES                      CO     90011387905
9B424873281635   JACKIE       POIRE                        MO     90014868732
9B424A3258B181   ERIKA        VALDIVIA                     UT     90012290325
9B4251A3581634   KAYLA        JOHNSON                      MO     90006481035
9B425268477537   SELVIN       FLAMENCO                     NV     90014912684
9B425798591399   REGULO       RUIZ                         MO     90003417985
9B425836391882   JASHANNA     MCWILLIAMS                   OK     90013618363
9B425A3A772B56   ADAR         ALI                          CO     90014820307
9B42611A261979   GERARDO      HERNANDEZ                    CA     90013991102
9B427189997B59   JOSE         RAMOS-GARCIA                 CO     39077731899
9B42722832B891   LAURA        ENGELSTAD                    ID     90012502283
9B427352541296   ANISSIA      LINDSEY                      PA     90014793525
9B427497593755   MARY         HOSKINS                      OH     90013804975
9B42761AA5B531   AMIEL        LEIBLEIN                     NM     90015226100
9B427AA5261977   CARY L       PRESCOTT                     CA     90005170052
9B428274777537   JOSE         AGUILAR                      NV     90014912747
9B428344691882   MARIO        MCCASKILL                    OK     90011263446
9B428592672B56   VICTOR       GONZALEZ-RUBIO               CO     90015225926
9B428745361979   NICOLE       KAPULE                       CA     90012957453
9B428A1135B383   TEENA        GUNTER                       OR     90011940113
9B429239793769   RENAE        HATTON-SMELKO                OH     90008152397
9B429623961979   SHERYL       SINGLETARY                   CA     90013876239
9B429632191592   ERNESTO      TRIANA                       TX     75088866321
9B429882591599   VERONICA     BETANCOURT                   TX     75000458825
9B42989465B383   JEORGE       MAYTIN                       OR     90010078946
9B429928455951   BEATRIS      DELGADILLO                   CA     90013209284
9B42B212A55951   DEANNA       XIONG                        CA     90014332120
9B42B38213164B   JACOB        HILL                         KS     90014213821
9B42BAA1491951   JERON        ROBERTSON                    NC     90014650014
9B431647872B42   JANEL        ROSALES                      CO     90006826478
9B43184378B152   COLTON       MEACHAM                      UT     90014918437
9B43184818B175   ALICIA       ARNONE                       UT     31075188481
9B431A45872B98   RODERICK     BRAGG                        CO     90005240458
9B432138A91599   RACHEL       HUENNEKE                     TX     90012901380
9B432181251343   CARL         GODFREY                      OH     90001341812
9B432428471922   JOSHUA       WELLS                        CO     32004064284
9B43272418B188   PATRICK      HIGGINS                      UT     90013577241
9B432827733698   JAMES        MORTON                       NC     12015598277
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1934 of 2350


9B43295645B383   MARIA        STALLON                      OR     90014729564
9B43295698435B   TAHESHIA     WRIGHT                       SC     90008569569
9B43319533164B   LATIS        HOBBY                        KS     90011481953
9B43325A972B98   DEANNA       BARAJAS                      CO     90008342509
9B43326588B194   RON          PARKER                       UT     90001382658
9B4332A5672B42   JOSH         WASHINGTON                   CO     90010092056
9B433386791399   MARION       WILLIAMS                     KS     29039483867
9B43392972B981   HERNANDEZ    ROBERTO                      CA     90000839297
9B433A7885133B   LORI         MAY                          OH     66012140788
9B433A91372B33   STEPHANIE    MILLER                       CO     90012940913
9B434198491521   JACQUELINE   URBINA                       TX     90013561984
9B43449558B152   BRIAN        BOWMAN                       UT     31084584955
9B434549A2B27B   JUAN         CARILLO                      DC     81053885490
9B435621191882   ANDRE        DOYLE                        OK     21060416211
9B43582A44B554   TYEISHA      JONES                        OK     90014878204
9B435994155951   ELISEO       PACHECO                      CA     90009989941
9B435A5135B383   LORETTA      TAPP                         OR     90011360513
9B436326377537   OLIVIA       SORIANO                      NV     90011183263
9B4364A488436B   CATHERINE    EDWARDS                      SC     19026764048
9B4365A314B235   JULIE        BUTLER                       NE     27055275031
9B436825A4B554   SYDNEY       HARMON                       OK     90014878250
9B436848155951   PATTY        MICHELI                      CA     90013358481
9B43693162B981   DAFNEY       CABRERA                      CA     90013819316
9B436983672B62   MIGUEL       HEREDIA                      CO     90014899836
9B43698715B531   NICK         RAYES                        NM     35086029871
9B43711A497B59   VICTORIA     BENJAMIN                     CO     90000271104
9B43724625B371   BETH         ELLINGSON                    OR     90013492462
9B437275897B59   EVARISTO     GRANADOS                     CO     90008072758
9B43745195B137   SHEKIA       CARLOCK                      AR     90007744519
9B437479172B56   ROBERTA      REEVES                       CO     33083804791
9B437635955951   GABRIELA     SANTANA                      CA     90015306359
9B43783A655951   ROBERT       VASQUEZ                      CA     49010508306
9B437843255957   RAUL         FIERRO                       CA     90014678432
9B437925672B62   JENNIFER     RAMSOUR                      CO     90009389256
9B43796242B891   DANIEL       HUNTER                       ID     90012979624
9B437975172B98   GLORIA       ESTRADA                      CO     33020219751
9B437A8122B27B   JAMEL        HODGES                       DC     90014730812
9B437AA2491882   MARIA        RODRIGUEZ                    OK     21051990024
9B438312751342   LATONIA      SMITH                        OH     90012123127
9B43858A172B56   ANNIE        MCCARTY                      CO     90012345801
9B438653772B56   BRIANNE      JANZEN                       CO     90011346537
9B43884332B981   YESENIA      COBARRUBIAS                  CA     45026718433
9B438A18261977   WALTER       MAAKE                        CA     90014780182
9B438A24141296   STEFAUNA     HUGHES                       PA     90004110241
9B439157472B56   JESSICA      BARRON                       CO     33064241574
9B439397561977   CALDERON     ANDREA                       CA     90000213975
9B4393A3391882   ANTONIO      RODRIGUEZ                    OK     21059063033
9B439511361879   TAMAL        MCMORRIS                     MO     90014045113
9B439884293755   LENA         THOMPSON                     OH     90009308842
9B43B24277B444   CANNON       LONG                         NC     90014152427
9B43B273677537   RUBEN        RAMIREZ                      NV     43027542736
9B43B37228B181   MICHELLE     DAVIS                        UT     31051293722
9B43B552797B59   AMANDA       POTTORFF                     CO     90011535527
9B43B821A8B152   BRET         RYVER                        UT     90011288210
9B43B864255951   ANGEL        JAIMES                       CA     90002708642
9B441228681635   LINDA        KOPFER                       MO     90002982286
9B441251541296   KATRINIA     KNIGHT                       PA     90009532515
9B44129985B383   NORMA        VARELA                       OR     90014412998
9B441387341296   TINA         AQUILINE                     PA     90014793873
9B441664161979   YOLI         DAVALOS                      CA     90007346641
9B441832593769   MACKENZIE    QUEEN                        OH     90014168325
9B44211488B152   ABDELL       STAGGERS                     UT     90002941148
9B44227A833698   ADOLFO       GARCIA                       NC     90014922708
9B44234622B891   MISTY        MOODY                        ID     90004193462
9B442545181635   DEANDRE      PEREZ                        MO     90012995451
9B44255478B175   DEE DEE      BECKS                        UT     31092965547
9B44274A697B59   CHAUNTELLE   SAXBURY                      CO     39072297406
9B442974251342   CYNTHIA      EVANS                        OH     66088019742
9B442A74481635   MICHAEL      FETTERLY                     MO     90013390744
9B443176191368   DON          BENNETT                      MO     29067101761
9B44339898B175   JENNIFER     THORNTON                     UT     90004153989
9B44381182B27B   CECILIA      QUINTANILLA                  DC     81086828118
9B443A51472B62   ABRAHAM      SALAZAR                      CO     90015280514
9B44425317B444   AGUSTIN      ALVAREZ                      NC     90014752531
9B444567672B62   MESFIN       MANE                         CO     90007565676
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1935 of 2350


9B4447A6555957   SANDRA          ARNOLD                    CA     49065647065
9B44488A281635   APRIL           WINSTON                   MO     90015218802
9B444A41485689   SABRINA         SOLOMON                   NJ     85017980414
9B445113681634   KEMBERLY        COWELL                    MO     90014711136
9B445197355957   BURGESS         VALERIE                   CA     90014731973
9B44525A977537   ROGER ANTONIO   PINTO                     NV     90006722509
9B44628622B27B   DARRYL          JOHNSON                   DC     90011032862
9B446693A2B891   CHRIS           DARCO                     ID     90012436930
9B44676334B554   ELADIO          MELENDEZ                  OK     90011457633
9B446A8784B588   RAUL            VASEVEZ                   OK     21566980878
9B447466191599   MICHAEL         HERNANDEZ                 TX     75082204661
9B447536872B43   BEVERLY         FIDRAM                    CO     33029325368
9B447951372B56   EDWARD          BURKE                     CO     90014819513
9B44816285B368   ANGEL           MARTINEZ                  OR     90012331628
9B44832537B444   CRYZTAL         BROWN                     NC     90012993253
9B448411851342   LIZA            GLASPER                   OH     90009894118
9B448768A61979   INES            GALLEGOS                  CA     90001057680
9B44877348B188   MILTON          SOLLOY-SANCHEZ            UT     90013577734
9B448876861977   OSVALDO         RIOS                      CA     90008388768
9B448A36A55951   GONZALEZZ       NOMA                      CA     49010620360
9B449429291521   RAUL            VILLALOBS                 TX     90013634292
9B449528255957   CASSANDRA       GIMINEZ                   CA     90007995282
9B44973A94B588   MARIO           GARCIA                    OK     90012787309
9B449A9448B152   RICHARD         JENSEN                    UT     31014950944
9B44B734151342   ROBERT          BENTON                    OH     66039697341
9B44B97A191599   ZULEMMA         CARRANZA                  NM     75064299701
9B44BA42181634   BREEANA         MARTINEZ                  MO     90011600421
9B4511A282B27B   CANDICE         JONES                     DC     90013061028
9B45161282B891   MAYA            SAADALLAH                 ID     90013086128
9B451675351342   QUENTIN         CAREY                     OH     90011516753
9B451954361979   EVELYN          PEGUES                    CA     90012859543
9B45217213164B   NACOLE          COLE                      KS     22006081721
9B452196655957   DEBORAH         GEORGESON                 CA     90007381966
9B45219724B588   ERNESTO         SORIA                     OK     90011991972
9B452416333698   LATRICIA        DAVIS                     NC     90004584163
9B453961255951   ROSAURA         RODRIGUEZ                 CA     49009729612
9B454129497B59   REBECCA         ESPINOZA                  CO     90013781294
9B45439288B134   JAY             MERRILL                   UT     90012543928
9B454439672B56   BARBEE          VIGIL                     CO     33042324396
9B45446345597B   TARA            CANADY                    CA     90009344634
9B45452379712B   SIOBHAM         LAVERTY                   OR     90014105237
9B45471A291599   MARIANO         MENDOZA                   TX     90013167102
9B45487144B588   MELLISSA        WOODS                     OK     90011928714
9B454895472B62   DOTTIE          DANIELS                   CO     33006728954
9B454942761979   ROBERTA         CAMPOS                    CA     90008139427
9B45523292B891   QUINCY          SILAS                     ID     90013632329
9B45553965B383   PALMER          AUTY                      OR     44518105396
9B4559A954B554   KARIN           BAILON                    OK     90014879095
9B455A22772B42   LUIS            RAMIREZ                   CO     90009990227
9B456148855957   MICHAEL         PADILLA                   CA     90012991488
9B456296333698   BRITTANY        MORRISON                  NC     90012922963
9B45637A761979   PALOMINO        IBARRA PALOMINO           CA     90010023707
9B45652913164B   DORA            REYES                     KS     22035305291
9B4565A2293769   CINDY           KESLER                    OH     90015335022
9B45673762B891   MARTHA          MAXWELL                   ID     42041807376
9B456836961977   LAYZA           MEDRANO                   CA     90013298369
9B456A24991599   MARIA           BANUELOS                  TX     90002690249
9B45724528B188   ALEXIS          KING                      UT     90011612452
9B45734415B383   TREVOR          BOWLES                    OR     90006393441
9B457364691521   VICTOR          ALVARADO                  TX     90012483646
9B4575A3451342   DESTINY         NEW                       OH     90014095034
9B457752891599   MARISOL         BARRERA                   NM     90011497528
9B457A96191951   AZARIA          WOODY                     NC     90008010961
9B458554772446   HEATHER         DZUBAY                    PA     90007635547
9B45871334B588   KEVIN           RUSH                      OK     90013327133
9B458771391599   DEZIREE         PENA                      TX     90014467713
9B45878A461979   JONATHAN        RODRIGUEZ                 CA     90010057804
9B458877391521   BEATRIZ         REYES                     TX     75018958773
9B45893538436B   ALICIA          ALVAREZ                   SC     90014609353
9B45915A655957   ERICA           ORTEGA                    CA     49088981506
9B45924762B27B   JOCELYN         HAMER                     DC     90014742476
9B459548397B59   SAIDA IBET      QUINTANA-ESTRADA          CO     90001405483
9B45974612B981   AGUSTIN         MORENP                    CA     45088067461
9B459855261979   AIOTEST1        DONOTTOUCH                CA     90015128552
9B45B279793778   JERRY           PENNER                    OH     90009842797
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1936 of 2350


9B45B47943164B   AUMUNEKE      BROOKS                      KS     90009904794
9B45B515581634   MARK          WILLIAMS                    MO     90009295155
9B45B585641296   ROSALIE       SANTORIELLO                 PA     51054695856
9B45B6A1262B89   MELISSA       GADBERRY                    KS     90013466012
9B45B953261979   LUIS          AVILA                       CA     90012859532
9B45B9A1777537   INES          GOMEZ                       NV     90014939017
9B461213891521   EDUARDO       VALDEZ                      TX     90010292138
9B461897591882   JANIECE       GARDNER                     OK     21013938975
9B462427891399   KENT          REDENIUS                    KS     90005484278
9B462568581634   CHASE         THURSTON                    MO     90010385685
9B46258A55B548   PHILIP        KIERNAN                     NM     90007535805
9B46274A25B383   NURAINI       MOHAMED                     OR     90001187402
9B46289152B981   SARAH         GREENLEE                    CA     90012128915
9B462945A4B554   CRISTINA      COKER                       OK     90014879450
9B462A15891599   DANIEL        SEGURA                      TX     90004100158
9B46332768B343   BROOKLYNN     BUFF                        SC     90014093276
9B463459A3164B   HELEN         LAMBERT                     KS     90012334590
9B464159741296   JOSEPH        HUDYMA                      PA     51093431597
9B4641A4491599   RAQUEL        FAVELA                      TX     90011251044
9B464258577537   KODY          KLECKNER                    NV     90014132585
9B464427891399   KENT          REDENIUS                    KS     90005484278
9B464661491882   GARCIA        RAFA                        OK     90005366614
9B46475332B27B   MICHELLE      BADGETT                     DC     90014847533
9B46494169712B   ANGELIA       GLAFIRA VAZQUEZ             OR     44048409416
9B464945A4B554   CRISTINA      COKER                       OK     90014879450
9B465167A4B554   MARIE         BERGER                      OK     90014911670
9B465472893769   LINDSY        ROBERTS                     OH     90002764728
9B46557354B554   OSCAR         SAMPLE                      OK     21557205735
9B46564242B27B   SALEM         ESSAM                       DC     90013236424
9B4658A6855957   CARLOS        MERCADO                     CA     90002128068
9B465941893755   JUAN          MESA                        OH     90013279418
9B466214281635   MARTHA        ZAVALA                      MO     90014352142
9B466231591521   ERENDIRA      FUNETES                     TX     90009632315
9B46633678B152   JOSE          OSEGUERA                    UT     31096003367
9B466357293755   JACINTA       WALKER                      OH     64542863572
9B46641122B981   DIRK          HERNANDEZ                   CA     90012724112
9B466656597B59   ANDREA        BALDIVIA                    CO     39055486565
9B467374491951   DANIEL        JIMENEZ                     NC     90008833744
9B467612A5B383   ABRAHAM       ATWOOD                      OR     44534176120
9B46799875B531   STEPHAN       FIELDS                      NM     90010869987
9B467A4A88B152   BILLIE        OLSEN                       UT     90010570408
9B467A9818436B   DEVILLE       SIMMONS                     SC     90011310981
9B468331255951   HEATHER       PENAMANTE                   CA     49056333312
9B468378572B56   MARI-CAMEN    GOMEZ                       CO     90011873785
9B46848239376B   JEFF          HEINRICH                    OH     64570264823
9B468572272B98   BETH          HARMON                      CO     90010615722
9B4685A9533698   RICHARD       HOWZE                       NC     90006565095
9B46886572B891   MARGARITA     URRUTIA                     ID     90014208657
9B469156A72B43   MARTHA        ANAYA                       CO     90003301560
9B469158A72B98   NICHOLAS      CAMPBELL-BERNASKI           CO     90011291580
9B4694A594B554   BARBARA       CARLTON                     OK     21518904059
9B469617197B59   MARCELO       VELARDE                     CO     39087746171
9B469943655957   LORI          ZUNIGA                      CA     49039149436
9B46B44A35B531   DESIREE       AGUILAR                     NM     90014114403
9B46B787561979   ADRIANA       MAGANA                      CA     90010057875
9B46B996651342   STEPHEN       BRANCH                      OH     66072069966
9B46BA42A97B59   RANDY         MANDELL                     CO     90002350420
9B471192297B59   MICHAEL       LANDEN                      CO     90003631922
9B471475A72B3B   EDGAR         QUINTANA                    CO     90010814750
9B47156958B152   MIKE          CHILSON                     UT     90012125695
9B471617672B32   CHRISTOPHER   LUCERO                      CO     90012706176
9B47167384B588   MONICA        SILORO                      OK     90008676738
9B47178325B383   CHANTELL      HENRY                       OR     90013537832
9B47189412B227   CANDRA        GILES                       DC     90008298941
9B471914A72B98   NORMA         ALMARAZ                     CO     33061009140
9B471926477537   MIKE          DELGADO                     NV     43004149264
9B47195A941296   KRISTIAN      MOSKALA                     PA     90014879509
9B471A55A5B531   HENRY         VIGIL                       NM     90009040550
9B47249AA72B42   LUIS          SOSA                        CO     90008694900
9B472549672B62   LAURIE        CROWE                       CO     33000535496
9B47259515B383   KIANA         EDWARDS                     OR     90010975951
9B472674672B3B   BUSH          DEAN                        CO     90010296746
9B47275775B531   BARBARA       OXFORD                      NM     90013827577
9B472A3125B383   KIANA         EDWARDS                     OR     90014340312
9B472A5238436B   JOHN          HENDERSON                   SC     90010400523
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1937 of 2350


9B4732A6972B32   MANUEL         BASQUEZ                    CO     90012702069
9B47331A48B188   TIMA           HIROSHI                    UT     90013583104
9B473514597B59   DIANA          WASHINGTON                 CO     90010475145
9B473713491599   JESUS          ARRIETA                    TX     90009867134
9B473722A7B444   NOLVIA         RAMOS                      NC     90014457220
9B4738A8561979   MELINA         PINO                       CA     46075808085
9B473963481635   ALLEN          JONES                      MO     90014779634
9B473A4964B235   JESSICA        NICHOLAS                   NE     90000870496
9B473AA8A72B98   ANGEL          GUEVARA                    CO     90004510080
9B474286861979   CLAUDIA        ARRIOLA                    CA     90009762868
9B474482193721   VICTORIA       JOHNSON                    OH     90002844821
9B47474288436B   JOANN          EDWARDS                    SC     90004207428
9B47485472B891   AMBER          WICK                       ID     90009898547
9B474963491599   DIANA          CAMACHO                    TX     90015059634
9B474979661977   ANA            FLORES                     CA     90000139796
9B475724333698   JOHNATHON      JONES                      NC     90014347243
9B476172A93769   MICHAEL        NEWMAN                     OH     90013951720
9B476178155951   JAMIE          GRIM                       CA     90011881781
9B476523172B42   HECTOR         SOTO                       CO     33079915231
9B47675AA4B554   JOHN           KELLEY                     OK     90014887500
9B47682442B27B   RUTH           CACERES                    VA     90008058244
9B4768A7A61977   NATHAN         HICKS                      CA     46001838070
9B4769A2A55957   AERIAL APRYL   ORTEZ                      CA     90014619020
9B47722514B588   LACY           LOPEZ                      OK     90012602251
9B477445941296   SAMUEL         TARAX                      PA     51007164459
9B477486581634   MILDRED        MERRITT                    MO     29011844865
9B477496A54B41   RAMON          OCHOA                      VA     90014824960
9B477545181635   DEANDRE        PEREZ                      MO     90012995451
9B477553791521   MICHELLE       GOMEZ                      TX     90003545537
9B477789861979   MARIA          GROVES                     CA     46086287898
9B478216A91882   BRITTANY       LEWIS                      OK     90015222160
9B478334A61979   KELLEENA       JENNINGS                   CA     90001243340
9B478352891882   ALEXIS         MACIAS                     OK     90013113528
9B47837965B548   LARRY          MOSE                       NM     90014433796
9B478461777537   EDWARD         RANSON                     NV     43017314617
9B478913581635   TICEY          ACOSTA                     MO     90014259135
9B479365433698   JOHN           ROBERSON                   NC     12073093654
9B4795A5372B62   FRANK          ORTEGA                     CO     33076165053
9B4796A8891951   ROSENA         FREEMAN                    NC     17016636088
9B479857191521   DANIEL         HERNANDEZ                  TX     90013228571
9B479959361979   IDALIA         PORTILLO ARIAS             CA     90012859593
9B47B319991599   UBALDO         GOMEZ                      TX     90010343199
9B47B55A65B383   REBECCA        JIMENEZ                    OR     90004025506
9B481117233698   KIARA          DIAZ                       NC     90015141172
9B48112138B188   LISA           WILEY                      UT     90000251213
9B481312855951   GABRIELA       DELGADO                    CA     49021073128
9B481717161977   CAMERON        STONE                      CA     90011797171
9B48217A372B98   MIREYA         DE LA PAZ COSIO            CO     90015121703
9B482214491521   HARVEY         BERNAL                     TX     90000672144
9B4828AA272B42   BRITTANY       COOK                       CO     90013808002
9B482A5915B531   MONICA         GONZALES WOODS             NM     35040890591
9B483166955957   SHAWNIEE       JACKSON                    CA     90012991669
9B483224377537   STEVEN         COOPER                     NV     90011212243
9B48338563164B   KAREN          AWANSON                    KS     90007523856
9B4834A958B175   HCKMAN         STEVE                      UT     90008394095
9B484284861977   EMILY          SCHAEDLER                  CA     46070772848
9B484289731459   SHAUNTA        JOHNSON                    MO     27542092897
9B48443437B444   MARTIN         WILSON                     NC     90013214343
9B484565A93755   TAYLOR         MOSS                       OH     90013735650
9B484615655957   GLORIA         FLORES                     CA     49012706156
9B484983872B62   RICARDO        RODRIGUEZ                  CO     33072429838
9B484999A2B27B   MARIO          JONES                      DC     81061839990
9B48527772B891   STEPHANIE      WILSON                     ID     90011962777
9B485551555957   CHASTETY       CARDIEL                    CA     49007015515
9B485881893755   BRIAN          FECKE                      OH     90002478818
9B485981991521   ISAIAH         WHITE                      TX     90010839819
9B48599814B554   PATRICK        FARRIS                     OK     90014879981
9B485A4988B175   MARTHELLA      REVERE                     UT     90006380498
9B486335355957   NORMA          SEGOVIA                    CA     90007983353
9B486497955951   SARA           MARTINEZ                   CA     49094854979
9B486632A93778   ARRIA          WATSON                     OH     90004236320
9B486894A4B554   YOLANDA        PUENTE                     OK     21592098940
9B48693385B371   EVONNE         TEAL                       OR     44558649338
9B4875A9541296   ROBERT         BARNETT                    PA     90014795095
9B4876A752B981   VANNESSA       SOLIS                      CA     90005796075
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1938 of 2350


9B4876A8651342   JOSE         SOTO                         OH     90015156086
9B48799814B554   PATRICK      FARRIS                       OK     90014879981
9B4881A6155942   JANET        WANN                         CA     90012471061
9B48823582B27B   PATRICIA     ROBINSON                     DC     90014682358
9B488713881635   AARON        STANLEY                      MO     90008447138
9B48873728432B   DEAN         SINGARELLA                   SC     90012217372
9B4888AA83164B   GARY         SWINGER                      KS     90012508008
9B488A63991599   BRYAN        LAMBOY                       TX     90013290639
9B48921583B929   CARMEN       WILMA                        IL     90015552158
9B489359161879   CHRISTINE    HARRIS                       MO     90012863591
9B489777241296   NATALIE      RUNCO                        PA     90000517772
9B489876691521   PAOLA        GARCIA                       TX     90012378766
9B489963A91951   LUIS         GUZMAN A                     NC     90014309630
9B48B21238B175   JOHN         KNIGHT                       UT     31058962123
9B48B298172B56   IRENE        ROMERO                       CO     90013142981
9B48B561A3164B   CATHY        TILLMAN                      KS     90010085610
9B48B747877522   DANIA        TOLEDO-GUZMAN                NV     90013277478
9B48B821941296   BRIDGET      THOMAS                       PA     90013518219
9B48B945591882   DANIEL       COLLINS                      OK     90014729455
9B49161484B588   ODILIA       HERNANDEZ                    OK     90014866148
9B491744477537   CURTIS       DAVIS                        NV     90014947444
9B49216868436B   DONNIE       MAZYCK                       SC     19095441686
9B492842691521   JESUS        GARCIA                       TX     90013858426
9B492931772B3B   SHELANA      DAVIS                        CO     90014239317
9B492975472B56   GABRIELLA    DAVIS                        CO     90014819754
9B493315255951   SHADY        THAO                         CA     90014083152
9B49332732B891   ANITA        LINARES                      ID     90006663273
9B493457197B59   RUSSELL      HASTINGS                     CO     39035934571
9B49363818B181   MARIE        FACKRELL                     UT     31068556381
9B49365614B588   HOLLY        FRENTZ                       OK     90013826561
9B493867A72B42   GLORIA       ARREDONDO                    CO     90014668670
9B49422375B565   ALEX         MAGANA                       NM     35012902237
9B494532761558   SHAWN        HOWARD                       TN     90015515327
9B494A1784B554   ALFONSO      GAYTAN                       OK     90014880178
9B49513572B27B   TWAVONNE     WALKER                       DC     90014731357
9B49525725B548   RUBEN        PAREA                        NM     35049292572
9B49553A44B554   FIRST        LAST                         OK     90004235304
9B495A67972B3B   MAURICE      MALONE                       CO     90010820679
9B49629422B891   RALPH        ADERMANN                     ID     90009762942
9B496789555975   JUAN         MELANO                       CA     48017637895
9B496884293769   SARA         ALFONSO                      OH     90013958842
9B496A39855957   MARIA        TOORES                       CA     90011910398
9B497228193755   AMBER        TRENT                        OH     90014872281
9B497319191521   RUBY         PEREZ                        TX     90015123191
9B49733118B175   EMILEE       ROSENHAN                     UT     90003423311
9B49741627B444   ETHEL        LEE                          NC     11054814162
9B497484861979   ROBERTA      VAN MECHELEN                 CA     90006874848
9B498651A81634   EBONY        BELL                         MO     29060176510
9B498754691521   BRENDA       CORONA                       TX     90007117546
9B4988A2372B62   LUKA         KULJIS                       CO     90012548023
9B498A25133698   LINDA        RICE                         NC     12041310251
9B499382872B62   MARIA        ALEMAN                       CO     90011873828
9B4996A973164B   ROBERT       STRUNK                       KS     90009046097
9B499A3664B554   DOUGLAS      CHAVARRIA                    OK     90014880366
9B499A43793778   JOSEPH       JOBES                        OH     90011510437
9B49B293272B42   AARON        CARILLO                      CO     90004272932
9B49B873193755   CHARLES      COATES                       OH     90012318731
9B49B915172B98   ALEJANDRO    PEREZ                        CO     33036969151
9B49BA8575B531   MARTHA       CRUZ ARELLANO                NM     90012870857
9B4B183717192B   SANJUANA     GONZALEZ                     CO     90010648371
9B4B1A78172B3B   LAZARO       HERNANDEZ                    CO     90009170781
9B4B26A9997B59   MIRNA        AZUCENA                      CO     90012426099
9B4B291197B444   SHEREE       HOVIS                        NC     90013399119
9B4B3477681635   BRANDY       WOODS                        MO     29039304776
9B4B4238381635   DOROTHY      SPRAGGS                      MO     90011142383
9B4B4285851364   CORRILL      JESSICA                      OH     66027332858
9B4B4462691585   LYDIA        MORENO                       TX     75000034626
9B4B466AA8B175   FETZER       AUDREEY                      UT     31042866600
9B4B4732772B3B   JOSE         REYES                        CO     90002307327
9B4B5122872B56   MARIA        TORRES                       CO     33009231228
9B4B52A2497B59   JESSICA      CARAVEO                      CO     90009512024
9B4B5555793769   VIRGINIA     MCDANIELS                    OH     64594915557
9B4B5671397B61   MEAGEN       KOZISEK                      CO     90001636713
9B4B5969271956   OTIS         WILLIAMS                     CO     90000959692
9B4B5A12832582   ISABELL      CAVAZOS                      TX     90013830128
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1939 of 2350


9B4B5A1773164B   MICHEAL      DEANDRA                      KS     90013560177
9B4B623A991882   CHRISTA      KENNEDY                      OK     90001562309
9B4B624942B891   KYLEIGH      KING                         ID     90002982494
9B4B6445172B3B   ANGELA       LOPEZ                        CO     33095554451
9B4B655767B444   ROBERT       HALL                         NC     90012765576
9B4B6671397B61   MEAGEN       KOZISEK                      CO     90001636713
9B4B682537B471   JOSE         TORRES                       NC     90010958253
9B4B6932491531   ELISA        SALAZAR                      TX     75087609324
9B4B6A65A61979   GERARDO      VAZQUEZ                      CA     90012820650
9B4B752178B343   JUSTIN       JUSTIN                       SC     90011435217
9B4B77A3191882   NIESHA       WILLIAMSON                   OK     90013097031
9B4B7A33A72B56   MERCEDES     MARTINEZ-ARROYO              CO     33028690330
9B4B8125A97B59   DUSTIN       MJELDE                       CO     90012211250
9B4B8127761979   KYLE         GARCIA                       CA     90014151277
9B4B8593572B42   GUILLERMIN   DE SIERRA                    CO     33056345935
9B4B8A44991599   ROGELIO      CUETO                        TX     75009330449
9B4B9338291521   JESSICA      ROMINSKY                     TX     90006013382
9B4B9363572B32   JOSE         GOMEZ                        CO     90013963635
9B4B99A1981635   EDWARD       COLE                         MO     90014969019
9B4BB33A491882   ASHLEY       MCCOMBS                      OK     90014573304
9B4BB387A91951   LUZ          WATKINS                      NC     90013813870
9B4BB42A693755   JAMES        HAYNES                       OH     64567924206
9B4BB45467B444   AYALA        ALDO                         NC     90015184546
9B4BB498581635   NICOLE       JOHNSON                      KS     90001684985
9B4BB888A91951   JEFFREY      DUGAN                        NC     90010708880
9B4BB967672B32   CLAUDIA      JASSO                        CO     90009619676
9B4BB9A8891399   VANESSA      MARTINEZ                     KS     90007019088
9B511432355957   NAVOR        LUNA                         CA     90014904323
9B511593172B42   SHERICE      MARTINEZ                     CO     90001735931
9B51169718B152   SIHELNIK     RANDALYNN                    UT     90003896971
9B51191757B444   FORTINO      HERNANDEZ                    NC     90009949175
9B511943A4B588   SHERYL       WILLIAMS                     OK     21576299430
9B51261A261977   SERGIO       RIOS                         CA     90012856102
9B512797991882   LINDSAY      CRAIG                        OK     90013087979
9B51293552B981   BRANDON      CONCHAS                      CA     90013219355
9B51315782B27B   NATHAN       MCNATT                       DC     90014731578
9B51329257B444   ESMERALDA    MATINEZ                      NC     90004442925
9B513797991882   LINDSAY      CRAIG                        OK     90013087979
9B514159672B98   ERIC         WALLEN                       CO     90011291596
9B5141A2361879   TIM          LACK                         IL     90015411023
9B51432485B371   JOSHUA       HANSON                       OR     90010433248
9B514654872B3B   JAKKI        CONNER                       CO     90011396548
9B51465722B27B   RICARDO      MUNOZ                        DC     90012856572
9B514814993778   JESSICA      CHAPPELL                     OH     90010968149
9B51481653164B   NELIDA       BUCHON                       KS     22078848165
9B51492A991599   AARON        MENDOZA                      TX     90013349209
9B51493178B188   LESLIE       VAN NOY                      UT     31033889317
9B514AA4993755   JASON        MCCLELLAND                   OH     64510240049
9B515685461956   CHANTHY      LYNCH                        CA     90000966854
9B515781433627   JORGE        LUIS                         NC     90014917814
9B51584622B27B   ANNETTE      HAGENS                       DC     90012868462
9B51641824B588   TAMMARA      JONES                        OK     90005194182
9B516429172B3B   JOSEPH       SANCHEZ                      CO     90009164291
9B51666A65B548   RAQUEL       ORDONEZ                      NM     90015106606
9B516782372B32   GULLERMO     GONZALEZ                     CO     33090827823
9B5172A655B525   STEPHANIE    MARTINEZ                     NM     90014792065
9B51749195B531   MARGARITA    MANCHA                       NM     90014934919
9B5174A3A61977   SOFIA        MARTINEZ                     CA     90013734030
9B517996672B98   ARMENDARIZ   CLAUDIA                      CO     33037849966
9B517A31A91951   RUBEN        FLORES                       NC     90010710310
9B51816442B27B   TYUNIN       WITHERSPOON                  DC     90014731644
9B518191572B3B   ANNE         MACIAS-PEREZ                 CO     90013361915
9B51832485B371   JOSHUA       HANSON                       OR     90010433248
9B518398433698   STACY        JOHNSON                      NC     90009153984
9B51872434B588   TERRENCE     CAREY                        OK     90013917243
9B51883512B27B   LUISA        CORNEJO                      VA     90011068351
9B51887485B531   FRANCISCO    TREJO                        NM     90000158748
9B518888193769   JAMES        CUNNINGHAM                   OH     90014008881
9B519111772428   MICHAEL      WUKICH                       PA     51097431117
9B51917732B27B   ELIZABETH    PHIFER                       DC     90014731773
9B519469691961   KIM          BRECKLING-PEARCE             NC     90001144696
9B519628472B42   JOEL         BARON                        CO     90014646284
9B51968534B949   ROSA         BENNETT                      TX     90006746853
9B519984A51541   TIA          PARKER                       IA     90014049840
9B5199A3761977   MATILDE      LAGUNAS                      CA     90011019037
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1940 of 2350


9B519A39355957   REYNALDO         CORTEZ                   CA     90014880393
9B51B16515B383   ARELIA           LUA                      OR     90015221651
9B51B71AA72B42   YAZMIN           ACOSTA                   CO     33072427100
9B51B732177537   KELLY            PERRY                    NV     90002907321
9B51B874593778   ERIC             ANDERSEN-VIE             OH     64565968745
9B51B95242B891   TIANA            WHITE                    ID     90011089524
9B51BA57572B56   PATSY            GARCIA                   CO     90014350575
9B52151142B891   JOEL             ROSALES                  ID     42003985114
9B521684A8B175   ERIC             RODRIGUEZ                UT     90014676840
9B521A86A91882   GARRET           TUCKER                   OK     90015190860
9B522299572B3B   IVETT            AGUILAR-MURILLO          CO     33075632995
9B522452472B42   GLORIA           RUIZ                     CO     33075144524
9B52252518B175   FABIO            REDES OWCZARZAK          UT     90012055251
9B522917791599   VERONICA         ZEPEDA                   TX     90009879177
9B52295854B554   SANDRA           VILLEGAS                 OK     90009589585
9B522A29772B32   BRITTANY         WEBB                     CO     33053370297
9B52355498B175   MELISSA          BUTCHER-BRYANT           UT     90014465549
9B52389465B383   JEORGE           MAYTIN                   OR     90010078946
9B5238A8881635   ERIKA            RIOS TECORICHE           MO     90014178088
9B52447245417B   JUAN JOSE        ALMARAZ                  OR     90010114724
9B524A9755B383   ROBIN            CARLSON                  OR     90004790975
9B524A99A4B554   ANTHONY          LEWIS                    OK     90014880990
9B525138372B62   SHANNON          ASHBROOK                 CO     33080231383
9B52515114B554   PRISCILLA        JARAMILLO                OK     21560191511
9B5253A772B27B   LORETTA          JACKSON                  DC     81018733077
9B525535581634   EBONY            DAVIS                    MO     90013055355
9B525711A51342   DONALD           BALSLEY JR               OH     66012437110
9B525883361977   STEPHEN          LESLIE                   CA     90010128833
9B526211A2B891   TERESA           WEST                     ID     90007762110
9B52645485B548   JUAN             GONZALES                 NM     35017464548
9B526745761979   JOSHUA           MAESSE                   CA     46071767457
9B526784293755   HEATHER          FLANIGAN                 OH     90013987842
9B52682917B444   REESHENAH        AGEEE                    NC     90005198291
9B5272A9355957   STACY            KIRKPATRICK              CA     49075262093
9B52739985B531   MARIAGUADALUPE   SANCHEZ                  NM     90013503998
9B52767412B27B   DANELLE          BELL                     DC     90012856741
9B52799A35B371   TROY             HUBERT                   OR     90015169903
9B527A75491951   EDWARD           COOPER                   NC     90014410754
9B52833745B531   GISSELLE         RODRIGUEZ                NM     90010893374
9B52837A38B152   SABRINA          THACKER                  UT     90001773703
9B528721781634   ISAIAH           FULSON                   MO     90014137217
9B528888791521   LUZ              MENDOZA                  TX     75019288887
9B52897A42B891   ANGEL            RIVERA                   ID     90013679704
9B52911334B554   LUSHUNDA         ROGERS                   OK     90014881133
9B529362A91882   STEPHANIE        HERMAN                   OK     90015213620
9B529524991521   MANUEL           ARRELLANO                TX     90011375249
9B529579572B42   LIDIA            MIRALDA                  CO     90012585795
9B52999974B588   JAMES            BLACKWOOD                OK     90000789997
9B529A4565B548   TOBY             OLDAKER                  NM     90013480456
9B52B113591547   NOE              PICHARDO                 TX     90001101135
9B52B52944B554   MUH              MU                       OK     21563495294
9B52B957572B28   MICHELLE         FAIRCHILD                CO     90011749575
9B52BA54661979   RICARDO          GARCIA                   CA     90012960546
9B53112484B554   DERRICK          MCDONALD                 OK     90014881248
9B531469961879   TARA             LYNCH                    IL     90015474699
9B53161A572B3B   RUBEN            SANCHEZ                  CO     33028946105
9B53163995B531   FRANCESCA        HENRY                    NM     90013456399
9B531835372B56   MIRNA            MENDOZA                  CO     33011578353
9B531A6824B588   BRITTNEY         NASH                     OK     90012950682
9B532155977537   CASTULA          LOPEZ                    NV     90014951559
9B53217728B152   TIMOTHY          THURGOOD                 UT     90011561772
9B532479241268   LATRINA          RANDOLPH                 PA     90008054792
9B53277393B348   AXEL             AGUILAR RAMIREZ          CO     90010627739
9B53277A591951   LEION            THOMAS CAROLINS          NC     90015017705
9B532964872B32   DOROTHY          GALLEGOS                 CO     33075879648
9B53312484B554   DERRICK          MCDONALD                 OK     90014881248
9B533533672B42   GABRIELA         PEREZ                    CO     90011815336
9B533769993769   TRACY            PRICE-PERKINS            OH     90010187699
9B534529997B59   JACOB            LIEDER                   CO     39039335299
9B534622755957   ROSA             MALDONADO                CA     90009336227
9B5346AA63164B   MICHAEL          WELLS                    KS     90013926006
9B534784291368   ASHLEY           MILLER                   KS     29058037842
9B535258A61979   EARL             JORDAN                   CA     90009782580
9B5352A188B623   NOEMI            MARTINEZ                 TX     90014652018
9B535542172B42   KIRSTIN          CHRISTILAW               CO     90012485421
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1941 of 2350


9B53558918B188   CHELSEA       FORD                        UT     31034855891
9B535612772B3B   JOSEPH        AVILA                       CO     33078766127
9B53568518436B   NALLELY       MARTINEZ                    SC     90015316851
9B53572535593B   MARTHA        RIVERA LOPEZ                CA     90013387253
9B536192181635   KENYA D       CLARDY                      MO     90009841921
9B536559661977   CHAUNCEY      FOLLETT                     CA     46070775596
9B53669A78436B   GABRIELA      SMITH                       SC     90014126907
9B53692A597B59   MITCHELL      JEANNOUTOT                  CO     90012279205
9B53697A24B588   ANTONIO       HERNANDEZ CASTRO            OK     90015319702
9B53712774B554   CAYLA         ACEBO                       OK     90014881277
9B5371A342B981   DAVINA        ORTIZ                       CA     45023281034
9B537237655957   VALERIE       FIERRO                      CA     49095412376
9B537355A72B42   VERONICA      GALINDO                     CO     33045703550
9B53738A35B548   JAMES         BRISCOE                     NM     35084563803
9B537424661977   JESSICA       QUINTERO                    CA     90009084246
9B537624693769   BRIAN         CLARK                       OH     64583676246
9B5376A482B266   CHARLES       COFIELD                     DC     90007366048
9B53776A62B27B   BRITANY       MILLER                      DC     90008317606
9B537789A72B32   NANCY         ALVARADO                    CO     90007517890
9B53783917B444   LEONARD       GORDON                      NC     90013118391
9B53791688B175   JOY           WOZAB                       UT     90013799168
9B53842144B588   TINA          PARTON                      OK     90009324214
9B538432172B98   TIMOTHY       AUSTIN                      CO     90004414321
9B538462677537   ELAINE        SOLOMON                     NV     90008974626
9B53882A77B444   WILMER        LEZAMA                      NC     11006098207
9B53893A972B42   AARYN         KNOWLES                     CO     90012429309
9B53898A74B554   TANIQUA       GREEN                       OK     90013689807
9B539116563621   PATRICIA      BARTEAU                     MO     90008001165
9B539511381635   DAMIEL        TANON                       MO     90014915113
9B539586891882   MIGUEL        RODRIGUEZ                   OK     90014565868
9B539949681634   SAMUEL        ESTRADA                     KS     90013559496
9B53B55A73164B   SHANE         EAST                        KS     90013905507
9B53B64A791599   EDGAR         GORDILLO                    TX     75056556407
9B53B812881635   HEATHER       LEIMBACH                    MO     90015078128
9B54114935B548   LUIS          SANCHEZ                     NM     35072521493
9B54119754B554   STACIA        DAVIS                       OK     90014881975
9B5414A2191951   CHERRELLE     BIRDINE                     NC     90013844021
9B54152A95B229   DELSIA        JONES                       KY     90009385209
9B54159395B371   VIOLET        NAPOLI                      OR     44591365939
9B54165A572B42   KAREN         STRONG                      CO     90009596505
9B54187352B27B   KISHA         GRAHAM                      DC     90002468735
9B54217654B554   MENDOZA       DELGADO                     OK     90014881765
9B54239294B588   CHARLES       NJARAMBA                    OK     90009603929
9B542513741296   JACQUELINE    HENDERSON                   PA     90002695137
9B543276161979   WALTER        MURILLO                     CA     90013182761
9B543316533698   SILVIA        MORAN                       NC     90012063165
9B54348259153B   JOHN THOMAS   WICKER                      TX     90013334825
9B543572455957   SCOTT         MCDONALD                    CA     49082515724
9B54359185B548   GERALDINE     DURAN                       NM     90012905918
9B54369754B554   MICHAEL       HUTCHINS                    OK     90004236975
9B5436A2991399   SANTIAGO      DIAZ                        KS     90005546029
9B54375A272B42   REBECA        MORALES                     CO     90010807502
9B543954541296   RAQUEL        COSBY                       PA     90014879545
9B54399115593B   SONIA         FLORES                      CA     48016079911
9B54419864B554   DEANGELO      WALKER                      OK     90014881986
9B544471191599   YOLANDA       CONTRERAS                   TX     90008434711
9B5444A3A72B42   GABRIEL       GUZMAN                      CO     90013114030
9B544893355957   ROBERTA       HERNANDEZ                   CA     90014578933
9B54521A572B62   ERLINDA       GUERRERO                    CO     33001642105
9B545255772B42   JOSH          MCCARTNEY                   CO     90012002557
9B54546185B565   GUADALUPE     MORENO                      NM     35076564618
9B545638333698   JUAN          MONCALEANO                  NC     90012756383
9B545638A91521   CAROLA        LAMBERT                     TX     90001986380
9B545681A55951   ANGEL         AGUIRRE                     CA     90008886810
9B545694777537   SANTINO       DMARTINI                    NV     90010426947
9B54622A133698   KENNETH       BULLARD                     NC     12073922201
9B546298A2B981   NICHOLL       MOORE                       CA     90012502980
9B546692991882   CAMRON        SMITH                       OK     21051136929
9B546827461979   YESENIA       CRESPO                      CA     90012878274
9B546A75861879   MICHAEL       DEAN                        IL     90015440758
9B54717A961979   FRANCISCO     MARTINEZ                    CA     90003331709
9B54737782B891   SYLVIA        ZARAGOZA                    ID     90012333778
9B547464A7B444   DARRIN        BOULWARE                    NC     90013594640
9B547514161977   ROCIO         RUIZ                        CA     46046245141
9B547751472B42   PORTER        MARCUS                      CO     90014637514
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1942 of 2350


9B54876932B891   SOPHIA             BAUTISTA               ID     90004797693
9B548856261979   PATRICIA           GONZALEZ               CA     90012878562
9B548989472B56   GENEVA             ICHAKA                 CO     90014819894
9B548A23981635   SARA MARIE         PACHECO                MO     29037620239
9B54924664B554   LYRC               MCINTOSH               OK     90014882466
9B549A81355957   CINDY              ZAPATA                 CA     90004860813
9B54B273172B29   MELISSA            GENTRY                 CO     90006202731
9B54B35542B27B   KATRINA            PYLES                  VA     90014863554
9B54B76382B891   STEPHEN            DESROCHER              ID     42090977638
9B54B844191531   PEDRO              JIMENEZ                TX     75038698441
9B54B96265B531   GLADIS             GRANADOS               NM     90013909626
9B54BA85472B32   JOSE               PAVON                  CO     90012740854
9B551134741296   MELISSA            SNYDER                 PA     51032441347
9B551229481635   VIRGINIA           MCCURLEY               MO     29011752294
9B55125372B981   SINAI              BALDERAS               CA     90011912537
9B55187528B188   JULIE              ANDRUS                 UT     90013588752
9B55199A972B56   CELINA             CARDOZA                CO     90014819909
9B551A3758436B   DENISE             MOSLEY                 SC     90013930375
9B552134741296   MELISSA            SNYDER                 PA     51032441347
9B55216825B531   JORGE              CHAVES                 NM     35068161682
9B552221A5B371   JULIE              MUNSON                 OR     90014272210
9B552616451342   JAZZMIN            ILLIAMS                OH     90012856164
9B55276394B588   MICHELL            WILLIAMS               OK     90013597639
9B552773193778   CHAPMAN            KELLY                  OH     64556067731
9B552856A5B548   YADIRA             TALAMANTES             NM     35005688560
9B552924933698   RICHARD            MAY                    NC     12038789249
9B552944297B59   KANDY              ALLEN                  CO     90012859442
9B55315A291599   JESSE              ROBLES                 TX     75037371502
9B553472161979   AARON              HILL                   CA     90009084721
9B553534191882   NICOLE             NORMAN                 OK     90009965341
9B553571681634   MICHELLE           JACKSON                MO     29069185716
9B55371938B175   SANDRA ELIZABETH   SANCHEZ                UT     90014547193
9B55372585B531   REINA              FOLRES                 NM     90007587258
9B55413A293778   LAQDONNA           SPEARS                 OH     90007931302
9B55423567B444   IVAN               CASANGA                NC     90008682356
9B554614372B56   NICHOLAS           WOOD                   CO     90001626143
9B55472924B554   NORMA              BAQUERA                OK     90014437292
9B5547A578436B   RAINEE             VAREFOOT               SC     90015417057
9B554926A8B175   CANDICE            DEVARGAS               UT     90012929260
9B554A14491951   SAMANTHA           BARBEE                 NC     90008970144
9B554A26A72B62   DIANA              PAREDES ARROYO         CO     90009160260
9B554A6A85B548   LIBRADO            BANDA                  NM     90001340608
9B55516447B444   LAKISHA            WORTHY                 NC     90004421644
9B555177391951   DALONICA           MASSENBURG             NC     90002881773
9B555312491882   JAMES              JOHNSON                OK     21095073124
9B555342491599   FERNANDO           IBARRA                 TX     90010583424
9B556233491521   JOSE               DUARTE                 TX     90014282334
9B556494372B56   SHUNRONICA         DOUCETT                CO     33010324943
9B556554297B59   RYO                MATSUMOTO              CO     90012985542
9B556876261979   KIPPY              KRUCKENBERG            CA     90012878762
9B556A1644B235   BERNADETTE         GUIMENES               NE     90005540164
9B55716A33164B   LAURALEE           HOFFMAN                KS     22084341603
9B5571A3961977   VICTOR             GARCIA                 CA     90002531039
9B5575A3772B42   LINDA              KING                   CO     90008695037
9B557826972B32   AI                 SOE                    CO     90015118269
9B55835295B383   WILLIAM            DAVIS                  OR     90012503529
9B558714872B32   LYNN               WALKER                 CO     90013747148
9B5588AAA97B59   TREMAYNE           JACKSON                CO     90009918000
9B558976933698   OLLIE              COBB                   NC     90002119769
9B559129A2B27B   TYTENA             JACKSON                DC     90013181290
9B55914648B175   SHERRY             CHITTY                 UT     90012411464
9B559383991599   AMY                FRIAS                  TX     90014583839
9B5594A995B371   GIN KHAN           MANG                   OR     90013134099
9B55966A497B59   PRISCILLA          WEDDERDURN             CO     90014666604
9B5598A3481635   APRIL              HARRIS                 MO     29042288034
9B5599A3661977   LUCY               ALVAREZ                CA     90002479036
9B559A54561977   NOEL               COVINGSTON             CA     90012990545
9B559A5459712B   TONY               LUNA                   OR     44073390545
9B55B11AA97B59   DANIELLE           FINDLEY                CO     39087901100
9B55B156A5B371   OSMAN              CASTENEDA              OR     90007741560
9B55B598793778   SHARMA             GODWIN                 OH     90005465987
9B55B99A972B56   CELINA             CARDOZA                CO     90014819909
9B55BA7A293738   BRUCE              HOBSON                 OH     90000300702
9B561418A5B383   JAMES              MCECHRON               OR     90010734180
9B561876261979   KIPPY              KRUCKENBERG            CA     90012878762
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1943 of 2350


9B561947991882   MARCO EUGENE       SELLS                  OK     90013349479
9B561A15961977   CHRISTIAN          JIMENEZ                CA     46009500159
9B562166872B98   MELANIE            DOUGLAS                CO     90011291668
9B5623A312B27B   SARI               DELGADO                DC     90014823031
9B562816741296   WALTER             GARNER                 PA     90010868167
9B562878824B61   AMANDA             AUSTIN                 DC     90011798788
9B562886572B62   CODY               AARON                  CO     90012228865
9B562A18581634   ERICA              WHEATCRAFT             MO     90014860185
9B563164555957   NATAILE            FLORES                 CA     90015151645
9B56353358B152   RELEFORD           SHERRI                 UT     90010215335
9B563626872B3B   ALEX               GUERRERO               CO     90012386268
9B563627272B2B   MARIA              MORENO                 CO     90011716272
9B56362A95B531   MICHAEL            MCNEIL                 NM     90007806209
9B563897781635   DERRICK            JACOBS                 MO     90003748977
9B56391962B27B   DAVID              MORGAN                 DC     90010879196
9B563971A61977   EDUARDO            CORTEZ                 CA     90013099710
9B56449525B531   LORENZO            ELWOOD                 NM     90010104952
9B5644AA58436B   REGINALD           ROBINSON               SC     90014314005
9B56492675B531   LORENZO            ELWOOD                 NM     90012949267
9B564A71A2B891   THOMAS             FREINWALD              ID     90014710710
9B56514218B152   DASHON             OWENS                  UT     90014311421
9B565343A51342   TYLER              HUGHES                 OH     90015373430
9B56581694B588   EVE                RAZA                   OK     90012428169
9B566134A91399   DAVID              FLOYD                  KS     29095731340
9B566194172B42   LESLIE             FULLER                 CO     33059931941
9B56621872B981   JANELLE            REHLING                CA     90010392187
9B56626774B588   ASHLEY             ELMORE                 OK     90014332677
9B566274193778   TERESA             REWTZ                  OH     64575102741
9B566279193755   CURTIS             BAILEY                 OH     64505392791
9B56672642B27B   ELIZABETH          JARDINES               DC     90012857264
9B566738572B62   ANDREA             SCARBOROUGH            CO     90015247385
9B566949233698   TINE               KEARSE                 NC     90011389492
9B567A6728436B   VALARIE            RIVERS                 SC     90013600672
9B568134741296   MELISSA            SNYDER                 PA     51032441347
9B56831A22B27B   CLARA              MENDEZ                 DC     90009263102
9B568335572B42   DESARAY ONETOONE   STHOENFELDER           CO     90004263355
9B56843695B531   ROBERT             MORENO                 NM     90004734369
9B568545891554   HENRY              SLACK                  TX     75027795458
9B568857172B42   JEREMIAH           LESPERANCE             CO     90013488571
9B568864751342   HEATHER            MILLER                 OH     66077778647
9B568893572B62   TERRANCE           SIMMONS                CO     33096568935
9B5694A3891882   JESSIE             MONTOGOMERY            OK     90014484038
9B56B24A82B27B   MARIE              WILSON                 DC     90014762408
9B56B27885B275   JAMES              HAGAN                  KY     68097262788
9B56B326961924   STEVEN             HARRIS                 CA     90004843269
9B56B432351342   JONATHON           WILLIAMS               PA     90012374323
9B56B69A55B383   MARK               KAY                    OR     90011436905
9B56B93638B175   JOSE               LUIS ESTRADA           UT     90013329363
9B56BA7795B565   HELEN              BATES                  NM     90005700779
9B57173552B27B   LAKISHA            WASHINGTON             DC     90012857355
9B57176648B175   ENRIQUE            FLORES                 UT     90012027664
9B57182A94B554   NYKEYLA            LIGONS                 OK     90014888209
9B571865151342   CHASITY            LYKINS                 OH     90011938651
9B571895693778   JOYIS              JONES                  OH     90007518956
9B572134741296   MELISSA            SNYDER                 PA     51032441347
9B57214695B383   MARY               RINI                   OR     90010961469
9B572552472B98   DORA               MARTINEZ               CO     90013555524
9B572695191882   ANGELA             VANDIVER               OK     90013626951
9B5726A4172B62   MIGUEL             CARES                  CO     33097186041
9B572718372B56   LINDA              DAVIES                 CO     90011727183
9B57317313164B   DUSTIN             BAKER                  KS     90012651731
9B57341423B37B   LETICIA            LOPEZ                  CO     90000674142
9B5738A8881635   ERIKA              RIOS TECORICHE         MO     90014178088
9B573A2A25B565   JANETH             ALVIDREZ               NM     35068070202
9B574169641296   JOHN               WOLFE                  PA     90014891696
9B57446238B169   RENA               ELDREDGE               UT     90004984623
9B57447775B371   SHAWN              JOHNSTON               OR     90009084777
9B57453295B383   SARAH              SERATT                 OR     90005715329
9B57467A95B531   SHONDA             MURILLO                NM     35026956709
9B5746A4172B43   PAYGO              IVR ACTIVATION         CO     90006506041
9B575318377522   MARIA              HERNANDEZ              NV     90006983183
9B575579351342   AMANDA             MARKS                  OH     90011865793
9B575978A93755   BRANDY             LAWRENCE               OH     64577319780
9B575A76A72B3B   JANICE             BONILLA                CO     90003520760
9B576143533698   KENNETH            DECAMP                 NC     90014031435
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1944 of 2350


9B5761A1A2B981   CYTHIA        PARGA                       CA     90014031010
9B5761A7155957   MIACHEL       JONES                       CA     90011961071
9B5764A645B383   JIMMY         ANDERSON                    OR     90013444064
9B576795A93755   SELVIN        LOPEZ                       OH     64586837950
9B576A33193769   CRYSTAL       HOLKENA                     OH     90014200331
9B576A56A57132   LATRESA       RANDALL                     VA     90001170560
9B576AA7972B42   MANUEL        ALEJANDRO SALAZAR           CO     90013790079
9B57712773164B   KATHERINE     TUCKER                      KS     90011201277
9B57729718436B   LUWANDA       DARGAN                      SC     90013542971
9B577574981634   RICHARD       VOLK                        MO     90013055749
9B577625661972   GERALD        SMITH                       CA     90011656256
9B577796751328   GORDON        KALEVOR                     OH     90008177967
9B57782954B554   SHELBI        MATHIS                      OK     90014888295
9B577844A55951   ARELI         CORTEZ DE PAZ               CA     90014838440
9B577A76755957   CARLOS        CEGURRA                     CA     90013010767
9B578154471928   CHRISTOPHER   LUNGREN                     CO     90004291544
9B578338991882   EBONY         SMITH                       OK     90005163389
9B57842314B235   KIRYL         PRODJINOTHO                 NE     27091814231
9B578694A4B588   AMY           OLLISON                     OK     90012176940
9B57882954B554   SHELBI        MATHIS                      OK     90014888295
9B578A97141296   LAURENE       DURRETT                     PA     90014880971
9B579312997B59   VICTOR        GUERRA                      CO     90003463129
9B579328891521   ROSARIO       VALLES                      NM     75065003288
9B579376555951   JADE          XIONG                       CA     90012433765
9B579498A55957   HOUA          YANG                        CA     90010814980
9B579646872B56   RAUL          SALAS                       CO     90014266468
9B57974325B371   ANTHONY       PEDRO                       OR     90013937432
9B579829191553   ANABEL        HEBBEN                      TX     75073078291
9B57982954B554   SHELBI        MATHIS                      OK     90014888295
9B57B235A4B554   SHEENA        PITTMAN                     OK     90014902350
9B57B6A168436B   RASHAD        HARRIS                      SC     90015146016
9B581836961977   LAYZA         MEDRANO                     CA     90013298369
9B581AA7391521   ESMERALDA     MORALES                     TX     90009130073
9B582387197B59   ROBERT        LUNA                        CO     39095693871
9B58271638436B   RICHARD       MOODY                       SC     19064087163
9B58299638B152   EDDIE         CUDE                        UT     90007689963
9B5829A724B235   JAIME         HAYES                       NE     27004829072
9B582A49472B56   MARIA         CANTILLAN                   CO     90011100494
9B58342342B891   DUANE         WATERMAN                    ID     42007614234
9B583A3758436B   DENISE        MOSLEY                      SC     90013930375
9B583A8938B175   DAN           MASSEY                      UT     90010050893
9B583A9A45B531   THOMAS        CONSTANTINO                 NM     90014540904
9B58414188B188   CRYSTAL       CISNEROS                    UT     90013591418
9B584246381634   DOMONIC       WATKINS                     MO     90014022463
9B584665172B56   ENEDINA       LONGORIA                    CO     33021256651
9B584761797B59   DAVID         HARRIS                      CO     39011147617
9B5847A6191599   ANGELICA      GOMEZ                       TX     75081937061
9B5851A358B175   ROXANN        AUSTIN                      UT     90012481035
9B585319872B99   KIMBERLY      MC ENTEE                    CO     90006103198
9B585539393769   ANTHONY       COCHENOUR                   OH     90011875393
9B585554991599   ELVA          PAZ                         TX     90008995549
9B58572523164B   STEPHANIE     SEARS                       KS     22037607252
9B58583824B554   DOMINICK      ADAM                        OK     90014888382
9B58659A561977   GAELLE        VIRIOT                      CA     90001295905
9B586AA3172B56   TIMOTHY       GARCIA                      CO     90014820031
9B587235772B42   JOHN          MARTINEZ                    CO     90014202357
9B587327351342   JOHN          SWIFT                       OH     90013853273
9B587479672B42   PEARL         HERRERA                     CO     33012304796
9B587562872B3B   CARMELO       JARAMILLO                   CO     90007705628
9B58772645B548   AMY           CHAVEZ                      NM     90007377264
9B58819695B371   KYLE          MCVAE                       OR     90012231969
9B58829845B548   BARBARA       LEZA                        NM     35063092984
9B588391A72B98   JUANA MARIA   LUNA                        CO     90004463910
9B588487772B62   JUDY          JARAMILLO                   CO     90003874877
9B588794961979   TERESA        HICKS                       CA     90009897949
9B58884834B554   INGRIS        NUNEZ                       OK     90014888483
9B588A96472B42   EVELYN        VAZQUEZ                     CO     90012770964
9B589199272B32   FRANCISCO     GUTIERREZ                   CO     90014431992
9B589228151342   JUAN          GALAN                       OH     66098112281
9B58923152B27B   JAMES         HALL                        DC     90014732315
9B589298955957   FAITH         RAMIREZ                     CA     49000822989
9B589553372B62   DANIEL        DOLAN                       CO     90014575533
9B58973A55B371   JEROME        ROZIER DUKES                OR     90003697305
9B589833393769   TANIESIA      JORDAN                      OH     90000858333
9B589967261977   VICTOR        DE LA CRUZ                  CA     46098349672
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1945 of 2350


9B589A38855951   EVER                BERMUDEZ              CA     49030100388
9B58B21342B981   GUSTAVO             BELTRAN               CA     90011582134
9B58B47A72B27B   KEYONA              JOHNSON               DC     90011034707
9B58B9A3841296   LAMAR               JOHNSON               PA     51001269038
9B59112A54B588   MICHAEL             ROGERS                OK     90001191205
9B59123614B235   BRITTANY            BOBIER                NE     27008372361
9B591411781634   KARINA              CHAVEZ                MO     90008014117
9B59159555B383   TYRONE              KOWALKOWSKI           OR     90014845955
9B591836991521   MAITE               KNUDSEN               TX     90000278369
9B591862591882   NETERRI             BARNES                OK     90013088625
9B5922A448B175   KIPP                LEE                   UT     90004872044
9B5922A6372B3B   TIL                 KHADKA                CO     33008992063
9B592497593778   MARY                HOSKINS               OH     90013804975
9B59292725B531   DWAN                CHAVEZ                NM     90006459272
9B592AAAA55951   MATHEW              WILKINS               CA     90009840000
9B593115991521   EZE                 SUAREZ                TX     75065781159
9B59334A191399   CHRIS               EASTMAN               KS     29008583401
9B59338768B152   WANDA               JENSEN                UT     90014783876
9B593493372B83   VERONICA            HALL                  CO     90011764933
9B593A4622B981   REGINO              RAMIREZ               CA     90013220462
9B593A66251342   JOEY                IRWIN                 OH     90015420662
9B594244172B32   JORGE               GUIJARRO              CO     90006702441
9B594458791951   SURAYAH             WILLIAMS              NC     90008734587
9B59451272B27B   CHRISTIANA          JONES                 DC     90001995127
9B59458275B383   ZACH                BUTLER                OR     44511485827
9B59471562B891   STACY               BIRD                  ID     42048267156
9B59478538B152   LUISA               DE LA FUENTE          UT     31075487853
9B59515615B371   ANTONIO             LOPEZ SANCHEZ         OR     90002341561
9B595211891599   MARIA DEL ROSARIO   CARRANZA              NM     90011742118
9B595345572B62   JUAN                OLYVAS                CO     90006233455
9B595488185844   LAURA               GREBEN                CA     46079014881
9B59596118B152   AFTON               JONES                 UT     31034539611
9B595A4A891882   LINDELL             WALKER                OK     90011270408
9B5964A6197B59   MARTIN              MENDOZA               CO     39065414061
9B59665925B383   TIRSO               RIVERA                OR     44567336592
9B596714972B32   ANGELA              REYES                 CO     90002537149
9B59678698B175   ANGELINA            JONES                 UT     90000397869
9B59683632B981   LILIA               CARRASCO              CA     90014688363
9B596851961879   PAULA               SANTIAGO              IL     90015378519
9B59692513164B   ASHTON              COOLY                 KS     90010419251
9B596AA7A33698   PATRICK             THOMAS                NC     90012900070
9B597234366B34   ADRIAN              EVANS                 MO     90013392343
9B59724498B354   DIAMOND             HOLLIDAY              SC     90014592449
9B597562577399   JOHN                CASINO                IL     90001905625
9B597572497B59   DAVID               JOHNSON               CO     39026555724
9B597872872B32   LORILEE             JUST                  CO     90007578728
9B59796915B383   JADE                BALDWIN               OR     44579489691
9B598249691368   PENNY               YOUNG                 KS     29063232496
9B59854334B588   BREANNA             MORROW                OK     21515055433
9B598A92455957   MARIA               PEREZ                 CA     90013000924
9B599364472B43   DOMINICK            PORQUIS               CO     90003303644
9B599865A55957   ANDREA              HANDY                 CA     90012348650
9B59B255955957   KAYLA               MAYS                  CA     49087522559
9B59B386693755   DANIELLE            JENKINS               OH     90015083866
9B59B48275B371   KEARA               HAGER                 OR     44549024827
9B59B851191882   CREA                CHATMAN               OK     21093318511
9B59B852155951   DAM                 SRIMALA               CA     49048008521
9B5B1132291882   MELODY              GLOVER                OK     90009111322
9B5B1137155951   MARIA               LEDESMA               CA     90010791371
9B5B119225B548   CHRISTIAN           LUNA                  NM     90012951922
9B5B1312855951   GABRIELA            DELGADO               CA     49021073128
9B5B137815B531   EDWARD              MEDINA                NM     90012713781
9B5B1461272B42   SHERRI              BALCH                 CO     90009534612
9B5B1769772B85   MULU                ABRAHAM               CO     33064157697
9B5B1A8A863621   JOSEPH              DUBOIS                MO     90006750808
9B5B22A5672B42   JOSH                WASHINGTON            CO     90010092056
9B5B2782893782   TAMIKA              BUFORD                OH     90011347828
9B5B33A198436B   ALBER               RAMIREZ               SC     19004203019
9B5B36A575B548   JAMIE               ORTEGA                NM     90001896057
9B5B3A5652B254   KAREN               WILLIAMS              DC     90009890565
9B5B411245B152   SHEENA              METCALF               AR     90010281124
9B5B4356381634   MARTIN              CARRILLO              MO     90013353563
9B5B4451391951   WILLIAM             DEAN                  NC     90015174513
9B5B44AA372B42   RODELL              JOHNSON               CO     90013114003
9B5B455248B188   BRYAN               MUNO                  UT     90013585524
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1946 of 2350


9B5B457A155951   GRASELDA      VERDUZCO                    CA     90011405701
9B5B465474B588   KELVIN        ROSE                        OK     90013696547
9B5B4683197B59   CLIFFORD      STEWART                     CO     90011536831
9B5B4685372B3B   MARIELENA     MARQUEZ                     CO     90004916853
9B5B521A68B175   JASON         TORREZ                      UT     90006072106
9B5B5646872B32   JUAN          ROMERO                      CO     90014156468
9B5B58A4A61979   NOEL          A CUEVAS                    CA     90012878040
9B5B5933751342   MARY          JOHNSON                     OH     90007469337
9B5B594898B188   VAKE          MAAMALOA                    UT     90011359489
9B5B5A5224B554   DIANA         TARPLEY                     OK     90014880522
9B5B5A78A72B42   RHONDA        MAESTAS                     CO     90015140780
9B5B616155599B   SEAN          PACKARD                     CA     90005171615
9B5B6812A51342   SHANTEL       BLEVINS                     OH     90013638120
9B5B683112B27B   DWAYNE        SMITH                       DC     81084948311
9B5B6952491521   VICKY         GASTELUM                    TX     75082689524
9B5B6A5224B554   DIANA         TARPLEY                     OK     90014880522
9B5B7512661977   MIKE          MACIEL                      CA     90003675126
9B5B8136733698   MANUEL        FLORES                      NC     90015321367
9B5B8278491951   SHANNON       ALLEN                       NC     90014822784
9B5B862A561977   JOSE          MUNOZ                       CA     90007446205
9B5B8A5224B554   DIANA         TARPLEY                     OK     90014880522
9B5B8A7635B548   ERIK          RIVERA                      NM     90014260763
9B5B9277551342   BRENDA        GOINGS                      OH     90009482775
9B5B977A691951   DWHITE        EVANS                       NC     90011747706
9B5BB52A78B188   ANTONIA       MONTELONGO                  UT     90013585207
9B5BB715281635   ARLANDO       BURNS                       MO     90010897152
9B5BB98848B152   JOHN          HORTON                      UT     90012999884
9B5BBA3944B554   SHANAE        JONES                       OK     90014880394
9B5BBA53293778   SEDIA         JAMES                       OH     90013510532
9B5BBA76161979   LIDYA         FLORES                      CA     90013630761
9B611791361979   JEFFERY       JOHNSON                     CA     90009427913
9B611A92572B42   THOMAS        WADE                        CO     90012150925
9B612432191521   MYRA          MARTINEZ                    TX     90010944321
9B61267177B444   ALEXIS        CARDORSA                    NC     90009946717
9B61291818436B   ALYSA         FIELDS                      SC     90011049181
9B613247572B62   GABRIELA      JIMENEZ                     CO     90013792475
9B61334674B235   PATRICK       ANSON                       NE     27062553467
9B6133A385B548   JUAN CARLOS   PACHECO                     NM     90014923038
9B6133AA48B188   THEODORA      ALESANA                     UT     90013593004
9B613513633698   RICHARD       CHILCO                      NC     90012595136
9B613574172B32   EUSTOLIA      HERNANDEZ                   CO     90014255741
9B6135A3741296   JAMES         MOODY                       PA     90014805037
9B614123933698   BRITTANY      JONES                       NC     90011881239
9B614313241296   PENA          RODRIGO                     PA     51075413132
9B61432A793769   MANDI         SMITH                       OH     64504803207
9B61439673B322   MARY          BREWER                      CO     90000313967
9B61491364B554   MELISSA       GASTELUM                    OK     90014889136
9B615141172B32   SANDRA        ORNELAS                     CO     90001611411
9B615191997B59   JOSE          DE LA CRUZ                  CO     90006191919
9B61523152B27B   JAMES         HALL                        DC     90014732315
9B615591633698   LARRY         PRATT                       NC     90008505916
9B615795991882   MICHAEL       BORTS                       OK     21037527959
9B61587965B35B   JOAN          GRACE                       OR     90013178796
9B615976472B62   FRANSISCO     ORTEGA                      CO     33006729764
9B615A6A82B891   WENDY         GRIEVE                      ID     90002070608
9B616134797B59   MARIA         GONZALEZ                    CO     39085951347
9B616311261979   JOSE          LARIOS                      CA     90014793112
9B61633958B188   DENA          BEAL                        UT     90013593395
9B61639324B235   JOSE          CALDERON                    NE     27087883932
9B61675297B444   ESHETU        TOLA                        NC     90013957529
9B616774572B3B   RUBEN         BACA                        CO     33046047745
9B61682445B531   TRUTH         TELLER                      NM     90012868244
9B61689872B27B   TIGIST        YITAYEW                     DC     90015178987
9B616A92791524   TIM           SHUTT                       TX     90013960927
9B617471A41296   JACQUELINE    ULOKOVIC                    PA     51082014710
9B617741772B56   TISHA         L MAES                      CO     90010577417
9B617829291521   ALFONSO       GUTIERREZ                   TX     90013138292
9B617AAA58436B   LASHAUNTA     SINGLETON                   SC     19016280005
9B618187991599   EDGAR         AGUILERA                    TX     90010431879
9B618197955951   RUBEN         ARELLANO                    CA     90004711979
9B61826493164B   RUBY          LEWIS                       KS     90013752649
9B6187A448B175   REGINA        GURR                        UT     31003127044
9B618869997B59   RATRISHA      HERNANDEZ                   CO     90015108699
9B619365861977   HELDA         LOPEZ                       CA     90014813658
9B61936685B548   VIVIEN        CHAVEZ                      NM     90014283668
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1947 of 2350


9B61965845B531   LAURA               NELSON                NM     90014046584
9B61B168751334   VALERIE             JACKSON               OH     90006171687
9B61B18878B152   JERIMIAH            SALINAS               UT     90015211887
9B61B992172B98   GERALD              RITCHLIN              CO     33074239921
9B61BA11572B42   TEODORA             AGUIRRE               CO     90013790115
9B61BA34371965   DONALD              MYERS                 CO     33010630343
9B61BAA7472B56   DANASIA             PITTMAN               CO     90014820074
9B62128869712B   MARIAN              MAYA                  OR     90005392886
9B62132714B554   TEIRRA              BROWN                 OK     21536463271
9B62153538B152   TAMI                DENNING               UT     90013245353
9B621713861979   MIKE                BRAGIEL               CA     90000887138
9B621863641296   DONALD              PERKINS               PA     51091188636
9B621865455942   JAZMIN              GARCIA                CA     48007698654
9B622277A2B881   KYLIE               REED                  ID     90013652770
9B6225A518436B   STANLEY             REESE                 SC     19084215051
9B622611591399   MARIZA              GARNICA               KS     90011666115
9B622833655951   HECTOR              VIRAMONTES            CA     90012808336
9B622994697B59   CODY                KRETSCHMER            CO     90003809946
9B62314A755975   JACKELINE           RUIZ                  CA     48000871407
9B623352191521   DAVID               IRIZARRY              TX     75065003521
9B62351785B548   FRED                GRIEGO                NM     35051115178
9B62389215B383   ROCKY               BALANGITAO            OR     90011518921
9B623A3A72B27B   ALEXANDER           RAMIRES               VA     90013070307
9B624268672B42   CRISTINA            RAMOS                 CO     33098182686
9B6242A3172B32   KURT                MUSZYNSKI             CO     33065492031
9B624522941296   MARCUS              KENNEDY               PA     90014805229
9B62456252B27B   JESSENIA            ALFARO                DC     81096585625
9B6246A8955951   LEE                 XIONG                 CA     49010766089
9B624A49351342   JOHN                EDWERD                OH     90009250493
9B62578A18436B   SAUL                DIEGUEZ               SC     90010137801
9B625885551342   MICHAEL             WEAVER                OH     90012428855
9B625997761979   ARIELA              READORE               CA     90014839977
9B62616A18436B   THOMAS              MEREE                 SC     90014701601
9B626273155975   ANTHONY             CONTRERAS             CA     90013972731
9B626599A8B152   MIRTHA              SOLORIO               UT     90015035990
9B626669A5B383   SHANEE              BURNEY                OR     90001646690
9B626795561977   MARIA               DIAZ                  CA     46046917955
9B62688542B27B   DARIUS              ANDERSON              DC     90012858854
9B626911477537   VALERIE             JACKSON               NV     43028329114
9B626974663625   PEDRO               JASSO                 MO     90013559746
9B626A2A572B56   ASCENCION           GONZALEZ              CO     90014820205
9B626A82A72B32   VANESSA             VELENZUELA            CO     90014770820
9B626AA6891521   CLAUDIA             RODRIGUEZ             TX     90013930068
9B62722955B548   TINA                ROMERO                NM     35037032295
9B62739775B565   LEONARD             MARTINEZ              NM     35005173977
9B62751AA5B383   PAU                 CIN                   OR     90013095100
9B62753153B366   SONYA               VELARDE               CO     90001445315
9B627663281635   GABY                OLALDE                MO     29004196632
9B627844A61979   MILA                NATHAN                CA     90009458440
9B627911891882   MARY                HARDEN                OK     90013089118
9B62795A34B554   THURMAN             JOSLIN                OK     90014889503
9B627A1585B383   JUAN                REYES                 OR     90015320158
9B628196A31467   ELONDA              GATEWOOD              MO     90004461960
9B6281A3777537   MARTINA             HERNANDEZ             NV     90009801037
9B62823784B554   BYRON               RODAS                 OK     90007362378
9B628244471928   TONY                SANCHEZEZ             CO     90014282444
9B6286A973164B   ROBERT              STRUNK                KS     90009046097
9B62894A48B188   KIMBERLE            MCDANIEL              UT     31097169404
9B629261741296   CALEB               HENRY                 PA     90011012617
9B629279772B42   ANGELICA            ROSADO                CO     90009472797
9B62928648B175   SHAWN CHRISTOPHER   ELDER                 UT     90014932864
9B629532391951   TERESA              DOLORES               NC     90014435323
9B6297A785B548   SHAVANNA            PERRY                 NM     35003687078
9B629876291882   JEANELL             GOODING               OK     21047108762
9B62998448B159   MARY                SWALLOW               UT     90007959844
9B62B15813164B   LARA                TREGO                 KS     22084541581
9B62B339572B42   JUAN                SAENZ AGUIRE          CO     33028193395
9B62B418A7B444   ALFRED              GOGGINS JR            NC     90013564180
9B62B584293769   KIMBERLY            KNOX                  OH     90014595842
9B62B71A92B667   MAGI                ORNELAS               WA     90011347109
9B631419661979   ANA                 MAGANA BARAJAS        CA     90010394196
9B63145A772B62   RICK                MADRIGAL              CO     90010894507
9B631521A72B42   JAMIE               GORDON                CO     90008695210
9B631817891521   JULIO               FERNANDEZ             TX     90006298178
9B631871597B59   JESÚS               VILLALOBOS            CO     90015108715
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1948 of 2350


9B63188A691951   MICHEAL       BRANDON                     NC     17091288806
9B63212838B175   LAMAR         CROSS                       UT     31002311283
9B63216882B27B   KEVIN         GREGORY                     DC     90010251688
9B63218284B588   LUSAI         LOPEZ                       OK     90012211828
9B632484977537   FERNANDO      VILLANEUVA                  NV     90014114849
9B632538233698   JESSICA       ANDERSON                    NC     90015155382
9B63257515B548   PATRICIA      TRUJILLO                    NM     35060035751
9B632698791599   LORENA        ENRIQUEZ                    TX     75048416987
9B632732A93769   PAYGO         IVR ACTIVATION              OH     90010567320
9B633447561979   RICKY         AHLEM                       CA     90010024475
9B633476355951   ALESLIE       TORRES                      CA     90013924763
9B63379448B352   TANYA         MORRIS                      SC     90013967944
9B633837791521   ENRIQUE       JAIME                       TX     75007608377
9B633911891882   MARY          HARDEN                      OK     90013089118
9B633989172B56   KRISTI        WEBBER                      CO     33083809891
9B6339A3991554   RUBEN         URANGA                      TX     90003509039
9B63415A655957   ERICA         ORTEGA                      CA     49088981506
9B63434142B891   JACK          SPATH                       ID     90013263414
9B634925955957   MELINDA       FIGUEROA                    CA     90010059259
9B634946972B62   GRACIELA      MARQUEZ                     CO     90015109469
9B634A8348B188   RICHARD       HODGES                      UT     90013080834
9B63516A17B35B   AIMEE         ANNUR                       VA     81058491601
9B635362A91599   AMANDA        ENRIQUEZ                    TX     90010983620
9B635434691599   ANGELICA      LOPEZ                       TX     90006894346
9B635452A81634   ADRIANA       VARGAS-GARCIA               MO     90000574520
9B63578795B24B   JENNIFER      HARDY                       KY     90004707879
9B63629434B554   KENNETH       JACK                        OK     90013132943
9B63634493164B   LACONDA       SELLERS                     KS     22014643449
9B636932497B59   ALLAN         FRUEHAN                     CO     90008359324
9B636A33272B98   CLAUDIO       DE LA ROSA                  CO     33015720332
9B636AA7993769   CHRISTOPHER   BLACKBURN                   OH     90014780079
9B6374A559712B   ROBERT        JOHNSON                     OR     44075074055
9B637817A5B383   GARY          NASH                        OR     44517858170
9B63829434B554   KENNETH       JACK                        OK     90013132943
9B63829A52B891   GLORIA        BALBIN                      ID     90006102905
9B638325681634   YVETTA        HAMPTON                     MO     29075913256
9B63837815B548   STEFAN        LOPEZ                       NM     35006423781
9B6384A3472B56   PATRICK       AGELLON                     CO     90001594034
9B638519481635   CATHERINE     FRANCO                      MO     90013525194
9B638547A5B531   MICHELLE      CASTELLANO                  NM     35095105470
9B6388AA84B588   RONECHIA      LANE                        OK     90012988008
9B638A28A91521   JULIAN        MORALES                     TX     90012620280
9B638A81657142   MAXIMINA      BORGES                      VA     90004300816
9B639236191521   MIGUEL        DE LA HOYA                  TX     90009562361
9B639345181634   FELICIA       WILSON                      MO     29032093451
9B63937985B531   ZACHARY       WEISS                       NM     90015533798
9B639857172B32   MICHAEL       EVERETT                     CO     33017678571
9B639A3A793755   CHRISTOPHER   TURNER                      OH     90013390307
9B63B311261979   JOSE          LARIOS                      CA     90014793112
9B63B86575B531   DAWN          MONTOYA                     NM     35015148657
9B63B91364B554   MELISSA       GASTELUM                    OK     90014889136
9B63B94125B371   ORALIA        ALCASA                      OR     90011469412
9B63BA53672B42   MATTHEW       BRINK                       CO     90009210536
9B641118591882   BETTY         SCHIRR                      OK     90010591185
9B64115A272B3B   LASHAWNDA     THOMAS                      CO     33001191502
9B641266872B98   TRAYCE        ESQUIBEL                    CO     90010662668
9B6413A5777537   KAYLA         WOELLER                     NV     43030693057
9B64173818B175   CHARLIEN      MCCRAY                      UT     31049217381
9B641A21272B56   JACOB         KOSKINEN                    CO     90014820212
9B641A64891521   MARIA         HERNANDEZ                   TX     90010920648
9B642456661977   CRISTAL       GOMEZ                       CA     90004184566
9B6425AA12B865   SUSANNA       CHAMBERLAIN                 ID     90001175001
9B64283915B565   DIANA         ORTEGA                      NM     35013608391
9B643178761474   AARON         FORD                        OH     90015051787
9B643586393778   ANDREA        HEARY                       OH     64589275863
9B643933291882   WINSTON       BARNES                      OK     90013089332
9B64398228B152   JRO           RODARTE                     UT     90011139822
9B644445933698   JENNIFER      MANWARREN                   NC     90014784459
9B644451924B61   ERIC          DAVIS                       DC     90002554519
9B64479838B188   MARY          BARTLEY                     UT     90013597983
9B644893355957   ROBERTA       HERNANDEZ                   CA     90014578933
9B645493472B42   RICHARD       VALDEZ                      CO     90011524934
9B645A7A491521   LUCILA        RODRIGUES                   TX     90011240704
9B646168681634   BRITTNEY      NEWNUM                      MO     29088481686
9B64629828436B   CHRIS         STICKNEY                    SC     90013672982
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1949 of 2350


9B646488641296   DARRYL               KEEN                   PA   90014494886
9B64664A95B383   JENNIFER CHRISTINE   DEVINE                 OR   90012896409
9B646A68372B42   KRISTINA             BURDIC                 CO   33022090683
9B646A75791399   JASON                KENNEDY                KS   90005520757
9B64711522B268   MUHAMMED             HASNAIN                DC   90001271152
9B64772A14B554   INESHA               JONES                  OK   90012877201
9B647863697B59   JAMIE                COVARRUBIAS            CO   90011538636
9B647923A2B27B   KEISHA               BERRY                  DC   90012859230
9B64798512B27B   CHARLOTTE            HIGGINBOTHAM           DC   90014739851
9B648459572B56   SABINA               VALLES                 CO   90013954595
9B648485372B3B   MARIA                MEDRANO                CO   90015314853
9B648887A5B565   SILVIA               FLORES                 NM   35040628870
9B648A3885B565   WENDY                VALENCIANO             NM   90011800388
9B64931735B383   TWITCH               MONKEY                 OR   90009393173
9B649413651342   RYAN                 VARNUM                 OH   90015114136
9B649558955957   CALVIN               BYNUM                  CA   49075775589
9B649624297B59   SARAH                VIANNA                 CO   90015216242
9B64963AA72B42   RAMIRO               BORJAS                 CO   90011676300
9B649A18872B3B   BRIAN                SHULL                  CO   90003890188
9B64B243391592   VERONICA             RODARTE                TX   90012212433
9B64B82895B548   RITA                 NEVAREZ                NM   35017458289
9B64B97534B554   DARIAN               WAREHIME               OK   90014889753
9B64BA8367B444   JARON                JOHNSON                NC   90014330836
9B651175755957   JORGE A              MUNEZ                  CA   90015151757
9B651811572B32   CHARLES              ARNOLD                 CO   90009648115
9B651867797B59   WILLAM               PRIDDY                 CO   90011538677
9B65239354B588   WASHINGTON           BRIAN                  OK   90012873935
9B65347525B531   LUIS                 TRUJILLO               NM   90012084752
9B653A89961979   DEBORAH              PANELL                 CA   90012890899
9B654295272B32   ERIN                 KUSMIERSKI             CO   33060762952
9B654315881634   SUSAN                COUTURE                MO   90011523158
9B654325681634   SUSAN                COUTURE                MO   29028533256
9B654363777537   JAMAHL               PATTERSON              NV   90010583637
9B6545A354B588   BERNITA              FOY                    OK   90014875035
9B65494112B27B   CRISTIAN             CABALCANTI GENEBROSO   DC   90012859411
9B654973997B59   IRIS                 BLAIR                  CO   90010749739
9B65538A493778   EMILY                CARTER                 OH   90005333804
9B655413851342   ERICA                DAWSON                 OH   90015024138
9B655785291882   SUMMER-TRACI         SMITH                  OK   90013137852
9B655861193755   NAOMI                SHIELDS                OH   90013458611
9B65598A472B42   LUCERITO             GUTIERREZ              CO   90008219804
9B656378961977   RUBEN                DURANTE                CA   90015173789
9B656539351342   DONNIE               WATKINS                OH   90014305393
9B65658692B891   JOSHUA               HEPWORTH               ID   90008765869
9B656655993778   JAQUETTA             SMITH                  OH   64507346559
9B656837593755   KAYLA                ABNER                  OH   64548508375
9B657113951364   TIFFANY              FAUL                   OH   90013621139
9B65728A48B181   ERLINDA              RECK                   UT   31059582804
9B657875A81635   JOSE                 ORIHUELA               MO   29003408750
9B657A8867B444   BANITA               DEWS                   NC   90001460886
9B65823758B188   PETULISA             KOKOHU                 UT   90006112375
9B65824612B27B   WAYNE                MCNEIL                 DC   90014732461
9B658269A91399   NICOLE               HISLOP                 KS   90005522690
9B6592A168B152   SIMONE               GIMMON                 UT   90010002016
9B659674772B32   EVETTE               ELDRIDGE               CO   33038016747
9B659937891882   ANTONIO              MILLER                 OK   90013089378
9B659962291599   JULIO                ESTRADA                TX   90011229622
9B65B139161979   DELMA                ROUSTON                CA   46051141391
9B65B575A55957   GLORIA               GUTIERREZ              CA   90013645750
9B65B733391951   CHRISTINA            PAIR                   NC   17034637333
9B65B87987B444   LEDIS                CASTRO                 NC   11062738798
9B65B897751342   JONAH                MERRITT                OH   90012888977
9B65B98714B554   NICHOLAS             JOHNSON                OK   90014889871
9B66114188B175   ROBERTO              CASTRO                 UT   90014561418
9B661613191951   DESHAWN              HESTER                 NC   17087406131
9B661752351373   JENNIFER             MONDY                  OH   66010077523
9B661769881634   CRISTINA             VALADEZ                MO   90011267698
9B661814691521   EDNA                 NEVAREZ                TX   90005538146
9B66186564B588   JOREL                CASTILLO               OK   90014838656
9B662469155951   ELAINE               ESTRADA                CA   90012564691
9B66263A333698   JACOB                INGRAM                 NC   12001406303
9B662864161977   HUGO                 CERVANTES              CA   46080258641
9B662997751342   JORDAN               PHELPS                 OH   90013029977
9B66315273B334   LINDA                PERES                  CO   33028571527
9B66316814B588   STANLEY              MUSGRAVE               OK   21567081681
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1950 of 2350


9B6631A9261977   LORENA         GRIJALVA                   CA     90011161092
9B66323559153B   FIDEL          ELKABACHI                  TX     75086922355
9B663282772B32   FREDA          SANTISTEVAN                CO     33078642827
9B663564372B98   JESSE          MEDINA                     CO     90008765643
9B663613A2B27B   JULIAN         RIOS                       DC     90014816130
9B663795772B42   JASON          MCCORMICK                  CO     90007467957
9B663A1344B554   TARRAH         PARTIN                     OK     90014890134
9B66411413162B   HEATH          CATRON                     KS     90009591141
9B664122261979   NELLY          AREVALO                    CA     90010511222
9B664123276B42   PAULA          LIRA                       CA     90012431232
9B664663591521   PATRICIA       BERNAL                     TX     75044646635
9B664A1344B554   TARRAH         PARTIN                     OK     90014890134
9B664A3A772B32   YOUSSEF        OUAJANI                    CO     90006870307
9B664A53572B62   HEATHER        DAVIS                      CO     90013240535
9B66532A981634   KHALEELAH      GOLDSBY                    MO     90014583209
9B665771191521   LINA           SANCHEZ                    TX     75015047711
9B6658A7681635   LASHON         CARSON                     KS     90009238076
9B666348491951   MULBAH         DOLO                       NC     90011303484
9B666412991521   JOSE           BONHOME                    TX     90012434129
9B66648315599B   VALERIE        OYERVIDEZ                  CA     90001454831
9B66659895B383   DORA           RASMUSSEN                  OR     90012725989
9B667396793769   IRENE          CARPENTER                  OH     90014903967
9B667454955957   CYNTHIA        LOVE                       CA     90013514549
9B667991972B3B   GREGORY        MARTINEZ                   CO     33066499919
9B667A1974B554   RACHEL         NELSON                     OK     90014890197
9B66813342B981   ELOISA         LUCERO                     CA     90014911334
9B668167991599   JESUS          HERNANDEZ                  NM     75051111679
9B66829478B152   TRACY          OLESKY                     UT     31041902947
9B668436A72B32   JASON          FULSTER                    CO     90008074360
9B668884972B3B   APRIL          HILL                       CO     90011018849
9B66895528B188   SIERRA         MILLER                     UT     90013599552
9B668963372B42   LINDA          BORGES                     CO     90001849633
9B6691A5A91521   CRYSTAL        RENTERIA                   TX     90011111050
9B669398693755   MARTINA        RAYGOZA                    OH     90013963986
9B669764591599   EZPERANZA      LERMA                      TX     75008467645
9B66998568B188   KAYLEE         MERRILL                    UT     90013599856
9B66B186A93778   AMBER          OXLEY                      OH     90010731860
9B66B19284B235   A              SMITH                      NE     27031041928
9B66B44143164B   APRIL          SMITH                      KS     22006624414
9B66B844A55951   ARELI          CORTEZ DE PAZ              CA     90014838440
9B66B872172B62   JEREMY         SHADDOCK                   CO     33093878721
9B66B8A4772B42   NOEMI          GOMEZ                      CO     90013808047
9B67121538436B   TIFFANY        PRESSLEY                   SC     90014922153
9B671284A8B336   BREEANNA       SCOTT                      SC     90014512840
9B671755A2B891   MERCEDES       VALDEZ                     ID     90013197550
9B67181AA91599   JONATHAN       ZUBIATE                    TX     90014468100
9B671863193778   ROOSEVELT      ELLIS                      OH     64536118631
9B671A1684B588   RHONDA         CHALEPAH                   OK     90013470168
9B672433372B62   RANDY          KNGHT                      CO     90013544333
9B672682681635   LARRY          LOVE                       MO     90014106826
9B67278778436B   TYE            COLSTON                    SC     19097537877
9B672874472B42   HOLLY          SMITH                      CO     90013938744
9B672913991951   EARL           POWELL                     NC     17024199139
9B672917457122   HECTOR         MARTINEZ                   VA     90003729174
9B67294488B175   GREGORY        VINCENT                    UT     90015089448
9B673115972B56   MONICA         SANCHEZ                    CO     33029191159
9B67346A633698   ISAIAS         PEREYDA                    NC     90014314606
9B6736A3297B59   TEODORA        SAUCEDA                    CO     90010486032
9B67379863164B   JUANA          SANCHEZ                    KS     90012567986
9B67382954B554   SHELBI         MATHIS                     OK     90014888295
9B67397938B188   SHELBY         PATTERSON                  UT     90013599793
9B674194797B59   DALIA          GARCIA                     CO     90006341947
9B6744AA191951   MONTAE         FULTON                     NC     17068434001
9B67475592B27B   DAESHAUNDA     WILLIAMS                   DC     90011337559
9B67478664B588   ALAYSHAIA      LEWIS                      OK     90006107866
9B67537698436B   ASHLEY         CARPENTER                  SC     90014463769
9B675559555957   GENOVEVA       SANCHEZ                    CA     49048785595
9B67557A32B891   TRISHA         BARNETT                    ID     90011985703
9B675582581634   SERGIO         MORALES                    MO     90013055825
9B67576915B383   BRANDON EARL   TOWNSEND                   OR     90012987691
9B675985A2B27B   OSIRIS         MULDROW                    DC     90012859850
9B67623514B554   STACIE         JACKSON                    OK     90012102351
9B677462291521   TANNER         MILROY                     TX     90013704622
9B67763665B383   RAMIREZ        JASMINE                    OR     44591476366
9B6776A3297B59   TEODORA        SAUCEDA                    CO     90010486032
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1951 of 2350


9B67834A75B531   PHILIP        BACA                        NM     90012433407
9B678711361979   RICARDO       DIAZ                        CA     90011177113
9B678A7184B554   JARED         GLOVER                      OK     90014890718
9B678A91372B56   ROGELIO       BOLIVAR                     CO     90011920913
9B679239A61977   CRISTIAN      CABELLO                     CA     46068132390
9B679392281635   MATTHEW       FISH                        MO     90015273922
9B679497772B98   JOSE          DIAZ                        CO     90001144977
9B679692472B42   NOHEMI        HERRERA                     CO     33087876924
9B679771891521   RAUL          GONZALEZ SILVA              TX     90007547718
9B679A3A681634   MELYSA        BROWN                       MO     90015220306
9B679A95655957   OSCAR         BELTRAN                     CA     90013010956
9B67B12749712B   BRIAN         MEAD                        OR     44016951274
9B67B6A8A91951   NANCY         PACHECO                     NC     90014886080
9B67BA7995B371   ROSALIO       DIEGO                       OR     44527680799
9B68117262B27B   JOHN          JOHN                        VA     90013251726
9B681578161977   JESSICA       GUTIERREZ                   CA     46002115781
9B681629A93755   REGINA        SMITH                       OH     64547436290
9B682376261979   ALEXIS        ZAVALA                      CA     90014793762
9B682588377537   CURSHAYA      JACKSON                     NV     90002975883
9B682645493738   CHRIS         WILLIAMS                    OH     90004966454
9B68278635593B   WENDY         CARCAMO                     CA     90000987863
9B683376261979   ALEXIS        ZAVALA                      CA     90014793762
9B6833A837B444   BENITA        THOMPSON                    NC     90014113083
9B68359934B273   ROBERTO       GARCIA                      NE     90014385993
9B683A86576B88   PATRICIA      COHEN                       CA     90009100865
9B684177461556   WILLIAM       WASHINGTON                  TN     90015581774
9B68548A77B444   BARRY         ADAMS                       NC     90014884807
9B686121555951   ADAN          GOMEZ                       CA     90009211215
9B686692172B3B   SHERRY        GARCIA                      CO     90015036921
9B68675838B152   KASIE         LEE                         UT     90013267583
9B686841655957   GERRY         VANG                        CA     90015408416
9B687117993778   KAYLA         MYERS                       OH     90014511179
9B687311961979   CHRISTOPHER   MURILLO                     CA     90004003119
9B68825512B27B   MARIA         FLORES                      DC     90014762551
9B68826144B949   TAMMIE        TYLER                       TX     76575512614
9B68832812B27B   EDMOND        BYNUM                       VA     90008173281
9B688384691399   CLAUDIA       LARKIN                      KS     90009453846
9B6886AA593755   JESSICA       LYLE                        OH     64526056005
9B688747772B32   ANGELA        SHAW                        CO     33000857477
9B688987481634   TIFFANY       THRIDGE                     MO     90012929874
9B68911554B588   CARMALETTA    MENDENHALL                  OK     90010991155
9B68953A28436B   TERRANCE      WILLIAMS                    SC     19051965302
9B689675972B62   MARTHA        ROMERO-GUTIERREZ            CO     33022856759
9B68979342B27B   DEREK         DAVIS                       DC     90013837934
9B689A98755957   JASON         WILSON                      CA     90013010987
9B68B419955951   ISABEL        HERNANDEZ                   CA     90012504199
9B691134772B98   CLAUDIA       LUNA                        CO     33011381347
9B6912A1761979   BEATRIZ       BARCELO                     CA     90013882017
9B691324955957   THOMAS        MAZZEO                      CA     90010353249
9B691348891554   ERIKA         AIZA                        TX     90006653488
9B691533191521   IVAN          BUSTAMANTE                  TX     90007275331
9B691565761977   RICARDO       GARCIA                      CA     90003885657
9B69158A197B59   JOSEPH        MASTERS                     CO     39017785801
9B691658672B32   LUIS          MINJARES                    CO     33001556586
9B69165A693778   JODIE         SAGE                        OH     64577436506
9B691885581635   CHARETHA      WALKER                      MO     90011158855
9B69192487B444   RENE          TURCIOS                     NC     90015139248
9B691927472B42   JOSE          VALLEJO                     CO     33068499274
9B691957455951   JUSTIN        ROBINSON                    CA     90010229574
9B69241928B152   VICENTE       CAMACHO                     UT     31016244192
9B692779591521   ARACELY       ALVARADO                    TX     90013547795
9B6933A125B383   TIMOTHY       WARLEN                      OR     90012513012
9B693542197B59   KIM           PORTER                      CO     90003465421
9B693933172B3B   VINCENT       LUCERO                      CO     33098909331
9B694241A61977   JASON         KNUTSON                     CA     90010452410
9B694334A61979   KENNETH       MOTON                       CA     90010923340
9B694763172B32   AMBER         DELAY                       CO     33070827631
9B694799A51342   MARC          CHANDLER                    OH     66091837990
9B694A7548B188   VANESSA       REYNOLDS                    UT     31036040754
9B69559552B27B   VANTASIA      WASHINGTON                  DC     90011915955
9B69624265B531   RIGOBERTO     ESTRADA-FLORES              NM     35040502426
9B696266781635   MELISSIA      NIECE                       MO     90014652667
9B69671733B358   RICHARD       VALDEZ                      CO     33057837173
9B697178755951   JACKIE        ORELLANA                    CA     90013731787
9B69737998B152   JESSICA       CATROW                      UT     90014713799
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1952 of 2350


9B69781A191599   CAROLINA           JIMENEZ                TX     90013538101
9B697829772B42   JESSICA            GRADO-LOYA             CO     90013358297
9B69794912B886   BRADLEY            ELUMBAUGH              ID     90008559491
9B69819A25B526   BRIAN              CHAVEZ                 NM     90000541902
9B69822438B188   JOSE               AMAYA                  UT     90013602243
9B69827245B531   TRINIA             HUNTER                 NM     90003132724
9B698312972B56   TIMOTHY            LINAN                  CO     90003233129
9B698475533B32   CHRISTINA          ERVIN                  OH     90015484755
9B69859675B34B   MARIA              MARIQUEZ               OR     90007475967
9B69873A197B59   LUCINDA            GUTIERREZ              CO     90010487301
9B698952985953   JENNIFER           JOHNSON                KY     90014639529
9B69896772B891   DANIELLE           GUTIERREZ              ID     90011089677
9B698979A8B175   PATY               CORTEZ                 UT     90012629790
9B699336372B98   DERON              JOHNSON                CO     90009693363
9B69948362162B   SAUL               HERNANDEZ              OH     90014084836
9B699556A93778   PAULA              DAUGHERTY              OH     64566375560
9B69986A65B371   DUANE              COOK                   OR     90013358606
9B69B634161977   DANIELA            GARCIA                 CA     90013966341
9B69B712691951   NELSON             HERNANDEZ              NC     90014707126
9B6B1259897B59   VERONICA           MORENO                 CO     39008622598
9B6B13A6541296   ALEESHA            ELLIS                  PA     51074723065
9B6B1586191882   LASHUN             LANDRUM                OK     21014965861
9B6B188A14B554   ALBA               LOPEZ                  OK     90014888801
9B6B3236261979   WILBUR             RILEY                  CA     46092372362
9B6B3297891521   DUENAS             PABLO                  TX     90001712978
9B6B346835B372   JAKE               HAMMON                 OR     44512254683
9B6B3889155951   DIEGO              BETANCOURT             CA     49016018891
9B6B4352A4B588   MEAGAN             WATKINS                OK     90008103520
9B6B439797B469   MARCUS             MILLER                 NC     11091733979
9B6B448A961979   MARTIN             HERNANDEZ              CA     90014444809
9B6B4A78955957   LOUIS              CRENSHAW               CA     90013010789
9B6B5367933647   CHRISTOPHER        JOHNSON                NC     90011913679
9B6B548553164B   AMY                COLUCCI                KS     22030244855
9B6B54A7993769   MATT               RODRIGUEZ              OH     90014424079
9B6B55A1197B59   JODIE              BRUNGARDT              CO     39083445011
9B6B5719793769   MISTY              BROOKS                 OH     90007797197
9B6B5AA9972B56   GUILLERMO          RIVERA                 CO     90014820099
9B6B617138B175   TRENT              TINGEY                 UT     90013931713
9B6B6293291599   EVANGELINA         GONZALEZ               TX     90009772932
9B6B66A9272B42   MARTIN             RODRIGUEZ              CO     90015196092
9B6B6979791882   ERIC               HARPER                 OK     21037139797
9B6B7678561924   ZARA               JEFFREY                CA     46053356785
9B6B781A37B444   JESSICA            HERNADEZ               NC     11089778103
9B6B7857755957   JAMAL              ROLAND                 CA     90013938577
9B6B7AA6672B56   JARED              SMITH                  CO     90014820066
9B6B817A333698   SIERRA             PATTERSON              NC     90010641703
9B6B8264855951   LETICIA            REYES                  CA     49009512648
9B6B853975B383   DAVID              KIBBONS                OR     90004355397
9B6B8899781635   LINDSAY            JORDAN                 MO     90014428997
9B6B8A78A4B588   DONITA             JACKSON                OK     90010990780
9B6B9385872B78   HANNAH             SMITH                  CO     90013733858
9B6B945795B371   MARIA              BECERRA                OR     90013134579
9B6B9537681635   SAMEER             BROWN                  MO     29050415376
9B6B9668572B3B   DEMETRIA           GONZALEZ               CO     33070146685
9B6B9737372B62   TUN                AYE                    CO     33087557373
9B6B982148B152   SCOTT              EDGINGTON              UT     90007118214
9B6B9897A5B565   CORNE              ARMIJO                 NM     90011798970
9B6B9A84291521   EDUARDO            NIETO                  TX     90001520842
9B6BB33978B175   RAYMOND            SILVAS                 UT     90010783397
9B6BB3A985B565   BRENDA             KEATY                  NM     35031093098
9B6BB986491521   ELIDA              OZUNA                  TX     75093999864
9B6BBA2888436B   PAMELA             LEGARE                 SC     90010860288
9B7112A847B444   ANA                RAMIREZ                NC     90012452084
9B7112A9491951   DANY               REYES                  NC     90013792094
9B71152845B383   JENNIFER           ANDERSON               OR     90014665284
9B711614A72B42   AARON              GERLICK                CO     90013086140
9B71174A172B98   YOLANDA            RODRIGUEZ              CO     33062597401
9B711863991599   MICHELLE ANNETTE   QUINONEZ               TX     90014158639
9B711893172B56   GLORIA             TORRES                 CO     33069958931
9B71216354B554   DAKOTA             FACTOR                 OK     90014891635
9B712321172B32   BLANCA             ACEVES                 CO     33077833211
9B712493361979   KARLA              MANJARREZ              CA     90013584933
9B712A3748436B   CATHERINE          EVANS                  SC     19016280374
9B712A4918B152   TRACY              SWENSEN                UT     90012520491
9B71326637B444   ROSALINDA          ACOSTA                 NC     11087552663
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1953 of 2350


9B7133A3A72B62   ALBERTA      BARRANCO                     CO     33017013030
9B713455193778   RONALD       BOHANNON                     OH     90014874551
9B713768155951   HAROLEAN     NORRIS                       CA     90012997681
9B71382615B371   HECTOR       COPADO                       OR     90011358261
9B713941293778   FRANK        WILSON                       OH     90010349412
9B714136172B42   KEVIN        DUANE LOWE                   CO     90014401361
9B714A63172B42   FALLON       CORRINGTON                   CO     90009080631
9B715165581634   HEAVEN       PEBLEY                       MO     90008971655
9B715486672B56   MICHELLE     JEFFERSON                    CO     90000814866
9B715643372B3B   AMY          HUTSON                       CO     90013166433
9B716384461879   PROKE        KINZANION                    IL     90015593844
9B7165A768436B   KEVA         DANIELLE HOLDER              NC     90008155076
9B716641197B59   NICHOLAS     BATEMAN                      CO     90012426411
9B71677614B523   STEPHANIE    FOWLER                       OK     90008337761
9B716895A91599   SERGIO       CAMACHO                      TX     75091778950
9B7169A6A5B383   COURTNY      ZILKE                        OR     90013499060
9B716A28261924   ROBERT       TREADWELL                    CA     46007700282
9B716A31855951   HERON        CARRASCO                     CA     90013970318
9B716A52291882   DELORES      NORMAN                       OK     21085640522
9B716A9918B188   HOPE         GABALDON                     UT     90006180991
9B717356377537   MARIA        MEDINA                       NV     90015043563
9B7174A1591599   PABLO        ENRIQUEZ                     TX     90012994015
9B717573A61979   SUSANA       B RODRIGUEZ                  CA     90006385730
9B7175A7A97B59   KELLIE       CHAMBERS                     CO     90013005070
9B717792881635   JASON        HICKEN                       KS     90014637928
9B71783395B371   MARIA        NAVARRO                      OR     44512098339
9B7178A8591531   MARIA        GOMEZ                        TX     75064748085
9B717A3292B891   STEVEN       LEWIS                        ID     90006090329
9B718329272B98   BRISA        CENTENO                      CO     90005383292
9B718A5175B565   JANISA       CASILLAS                     NM     35009010517
9B719187293746   MAGED        ISSA                         OH     90009631872
9B719568561977   ALEJANDRA    VERDUZCO                     CA     90013555685
9B719752A93755   DESYANEY     ELZEY                        OH     90011657520
9B719779697B59   COLLEEN      RIDDLE                       CO     90014067796
9B71989545B371   ROBERT       JUSTICE                      OR     44558708954
9B71B14612B891   JAMES        SCHEVERS                     ID     42010501461
9B71B195481635   AMANDA       JORDAN                       MO     90013301954
9B71B21812B667   MELLISA      MURPHEY                      WA     90014392181
9B71B45935B531   CARLOS       SANCHEZ                      NM     90003564593
9B71B46767B444   XIOMARA      ORTEZ                        NC     90014594676
9B71B88282B27B   CARLA        SIMMS                        DC     90007958828
9B721251555957   NICOLE       REYES                        CA     90014452515
9B721311441296   MATT         KASTLE                       PA     90012683114
9B721337172B62   JEROME       LEAL                         CO     33012463371
9B72157458B152   DESIRE       MARTEL                       UT     90009595745
9B72194225B371   CATRESSE     WOLFE                        OR     90011079422
9B72217A572B56   DANIELLE     MANKA                        CO     90014861705
9B722247172B62   ITZEL        MUNOZ                        CO     90010462471
9B722261491521   VERONICA     GOVEA                        TX     90001992614
9B722453497B59   SHANTELLE    GARCIA                       CO     90010374534
9B722584A5B383   NANCY        QUADE                        OR     90008865840
9B72311328B181   BRETT        BRIGGS                       UT     31026581132
9B7232A7A5B383   KARI         MILER                        OR     90014992070
9B7234A4961977   ELIZABETH    GASTELUN                     CA     90000484049
9B723874197B59   NICHOLAS     TREVINO                      CO     90015108741
9B723A8418B175   AARON        SAXON                        UT     31025140841
9B724139251342   LUTHER       BUIE                         OH     90014971392
9B72444A33164B   CYNTHIA      COTE                         KS     90002164403
9B72452935B371   LOLA         PEREZ                        OR     90002155293
9B7245AA62B981   ANGELICA     DURAN                        CA     90008795006
9B724924191951   JOHN         LOCKLEAR                     NC     90015199241
9B72529A857563   CYNTHIA      RENTERIA                     NM     90005782908
9B725314481652   SYLVESTER    HILL                         MO     90013423144
9B7253A292B27B   MEKWANINT    AYELE                        DC     90000143029
9B725722291875   DANE         BROWN                        OK     90013127222
9B725769591521   DEBRA        SMULLEN                      TX     90015467695
9B72634AA4B288   KAREN        ROGERS                       NE     90010543400
9B72648275B371   KEARA        HAGER                        OR     44549024827
9B72719135B531   MARY         CHAVEZ                       NM     35061311913
9B72759144B588   REX          BIBLE                        OK     90015115914
9B727897593778   DERON        WATSON JR                    OH     64511288975
9B728148A5B565   DAVID        PANN                         NM     90003361480
9B728517597159   JULIENNE     TETERS                       OR     90008345175
9B728581A55951   WILLIAM      SPAGNUOLA                    CA     49011825810
9B728A6955B371   DIEGO        PACHECO                      OR     90009520695
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1954 of 2350


9B72931263164B   JOEL            VAQUERA                   KS     90013463126
9B72973A372B42   EVARISTA        REYES                     CO     90001377303
9B729973833698   LATRICE         BURTON                    NC     90014569738
9B72B371277537   ANA             HERNANDEZ                 NV     90015043712
9B72B397491882   BRITTNEY        PORTER                    OK     90011273974
9B72B497172B98   SHAWNA          HERMAN                    CO     90002804971
9B72B772172B43   KANA            FLORES                    CO     90003307721
9B72B839293755   JASMINE         DAWSON                    OH     90012388392
9B731449454127   OMAR            MORENO                    OR     90015224494
9B731755941296   KATRINA         BURKHARD                  PA     90014807559
9B731A75A72B56   SUSAN           STEPHENS                  CO     90011060750
9B73241588B188   ERIKA           GONZALEZ                  UT     90013604158
9B732496671935   AMANDA          HARRIS                    CO     90010994966
9B732575593778   STEPHANIE       JOHNSTON                  OH     90000605755
9B732654954157   AMANDA          HATTON                    OR     90005956549
9B732755941296   KATRINA         BURKHARD                  PA     90014807559
9B732894485689   BRITTANY        LORE                      NJ     85015778944
9B7329A532B268   JUANITA         JACOBS                    DC     90007779053
9B7329A6251342   GERALD          HALL                      OH     90012939062
9B73324185B383   MELINDA         DEL RIL                   OR     90011342418
9B733321772B32   HORTENSIA       DOMINGUEZ-SANDOVAL        CO     33050753217
9B733326493738   DEE             JOHNSON                   OH     90006513264
9B733443A2B981   GLEN            HAYNES                    CA     45068794430
9B73344768B188   FERNANDA        VAZQUEZ                   UT     90013604476
9B733943881635   LISA            FULTE                     MO     90005829438
9B733966193755   LAMAR           COLEMAN                   OH     64562989661
9B73416452B27B   SHALLSEA        FORD                      DC     90014741645
9B7345A427B444   QUANEISHA       HARRISON                  NC     90012895042
9B73462278B152   SPENCER         ANDERSON                  UT     31007816227
9B73462915B531   MICHAEL         ALLSBROOK                 NM     90010966291
9B734714693769   JEREMY          CRAIG                     OH     64576957146
9B73483465B371   MARIO           QUINTANA                  OR     90013808346
9B734984261977   JULISSA         LUQUIN                    CA     90012689842
9B73575362B891   MATTHEW         WRIGHT                    ID     90013437536
9B735755941296   KATRINA         BURKHARD                  PA     90014807559
9B735A64985948   JOEL            LANDOLT                   KY     90012710649
9B73672523164B   STEPHANIE       SEARS                     KS     22037607252
9B736835A97B59   RICHARD         BOSELEY                   CO     90003978350
9B73698612B981   RAMONA          DACUYAN                   CA     90009819861
9B73752478B175   SAVANNAH        WILKES                    UT     90008395247
9B73785152B27B   LUIS            BELTRAN                   VA     81094118515
9B73786477B343   WILFIDO         VASQUEZ                   VA     90002098647
9B73877A34B588   TIARA           RICHMOND                  OK     90011167703
9B7389A665B124   SHANTA          WALLACE                   AR     90001129066
9B7396A295137B   PAULA           TATMAN                    OH     66015736029
9B739897955967   REBECCA         TERRONEZ                  CA     48095238979
9B739918761973   JAMES D         MICKELSON                 CA     46064359187
9B73B59A93B357   LAURIE          ARELLANO                  CO     90002575909
9B73B5AA681635   LISA            MCKEEHA                   MO     90013905006
9B73B62A191951   PAMELA          WRIGHT                    NC     17024596201
9B73B645461979   MARTHA          HERDOCIA                  CA     90010826454
9B73B652497B59   JORGE ALBERTO   LEOS-OROZCO               CO     90013646524
9B73BA82A5B565   KALIOPE         MCKENLY                   NM     90004240820
9B73BA9754B588   SOUTHERN        BOYS                      OK     90014290975
9B74111567B444   SAFFYAH         HAMILTON                  NC     90012741156
9B74111618B175   TABYTHA         PANDO                     UT     90013221161
9B74121825B548   MARIA           NEVAREZ QUINONEZ          NM     90001492182
9B741286791882   REIMUNDO        HERRERA                   OK     90004242867
9B74135392B27B   JOHN            BROADWAY                  DC     90008433539
9B7413A854B554   DAN             HORA                      OK     21589363085
9B741427372B3B   MARK            DEBELL                    CO     90013384273
9B741488155951   KEVIN           ORMSBEE                   CA     90013924881
9B74159589712B   DEISY           FLORES                    OR     90003075958
9B74189395B548   SHARLENE        GOMEZ                     NM     90015178939
9B7424A6293778   CATHERINE       HUFFMAN                   OH     90004974062
9B74286A65B371   KEVONNA         WATSON                    OR     90014988606
9B742898491521   OMAR            ESCOBEDO                  TX     90013458984
9B74324652B27B   CAROLYN         MILLER                    DC     90012842465
9B74334534B554   DWAYNE          KING                      OK     90014903453
9B743365A77537   MARTIN          HERNANDEZ                 NV     90012263650
9B743681A61558   JAVARIS         HOPE                      TN     90015606810
9B743833A81634   CHAMARI         CHILLEN                   MO     90010358330
9B7443AA493778   MICHAEL S       EASTERLING                OH     64533413004
9B74482264B554   KARINA          UMANZOR                   OK     90011058226
9B74484A281635   BARBARA         MORMINO                   MO     90008698402
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1955 of 2350


9B74488A197B59   CHERYL       SMITH                        CO     90014238801
9B744A7764B588   JORGE        MULERO                       OK     90015230776
9B74512163164B   VERONICA     BENJAMIN                     KS     90009741216
9B74581A45B531   ROXANNE      BLOW                         NM     90004038104
9B746257491951   BRITTANY     CHAPPELL                     NC     17077382574
9B74661888436B   SHAWISHI     MIDDLETON                    SC     19022146188
9B74678A761979   BILLY        REBELEZ                      CA     46004327807
9B74687735B383   XABIELLE     LOPEZ                        OR     90013178773
9B747182161977   FRANCISCO    PEREZ                        CA     90015031821
9B747384851342   BRADLEE      RUGGLES                      OH     66051783848
9B747487172B42   JOHN         FECTEAU                      CO     90003414871
9B747773941296   JOSEPH       PIZZO                        PA     90014807739
9B747975697B59   LORI         SYMINGTY                     CO     39076519756
9B747A64A72B56   DAVID        LERMA                        CO     90013790640
9B748412697B59   ANGELICA     GUEDEA                       CO     90013344126
9B748427855957   JANICE       KING                         CA     90013744278
9B748671572B32   JOSE         SOLIS                        CO     33095176715
9B748727672B62   LOUIS        SAUCEDO                      CO     90014067276
9B748975697B59   LORI         SYMINGTY                     CO     39076519756
9B7489A6472446   MICHAEL      CLARK                        PA     90001669064
9B7489A9891521   MAYRA        CARRILLO                     TX     90013649098
9B749296493755   BRITTANY     POSTELL                      OH     90001502964
9B749338472B42   SALVADOR     CASTANEDA                    CO     33061453384
9B74947145B565   FLOR         CASAS                        NM     35051184714
9B74964718B347   JOSE         GARCIA                       SC     90015446471
9B749773941296   JOSEPH       PIZZO                        PA     90014807739
9B7499A6472446   MICHAEL      CLARK                        PA     90001669064
9B749A48951342   SALVADOR     SANDOVAL                     OH     90013820489
9B74B12635B548   JOHNNY       SANTILLANES                  NM     35025341263
9B74B397455957   AMELIA       OSORIO                       CA     90007753974
9B74B48AA31435   MICHAEL      BROWN                        MO     90002744800
9B74B69828436B   GALE         JOHNSON                      SC     90010796982
9B74BA3315B383   DIANA        GONZALEZ                     OR     90007750331
9B7512A3A7B444   KUMAR        COLLINS                      NC     11083752030
9B751454751342   JEFF         KELLY                        OH     90001184547
9B751585772B98   SAMUEL       FLOREZ                       CO     33061635857
9B752255A72B43   RODRIGO      SANCHEZ VALLEGOS             CO     90005742550
9B752398281634   TARESSA      SWYGERT                      KS     90014243982
9B752436861977   CAMERON      IBRAHIM                      CA     90012094368
9B752751793778   CHRISTINA    WHITMER                      OH     64523977517
9B75293912B981   MAIRA        ALVARADO                     CA     45052419391
9B7529A614B965   LYNETTE      BLOYD                        TX     76517379061
9B752A1717B444   KENYA        NELSON                       NC     90014770171
9B75367683164B   TONJA        PAYNE                        KS     90009396768
9B75375A172B3B   NATIVIDAD    CERVANTEZ                    CO     33021097501
9B75379524B588   JUSTIN       CARTER                       OK     90011177952
9B754335A91599   RUBEN        QUINTERO                     TX     75088943350
9B75453852B981   JUDY         VANN                         CA     45002435385
9B75499672B27B   SHANETRIAH   KEITH                        DC     90012869967
9B75499747B444   KIANA        ROBINSON                     NC     90015029974
9B75512798B152   SYNDI        MONTOYA-MILLER               UT     31011851279
9B75528465B383   CLARE        POTER                        OR     90012652846
9B75534525B531   GERARDO      VARGAS                       NM     35021663452
9B755735661979   ROBERT       WESLEY                       CA     90013277356
9B75599A172B42   ROSARIO      JUAREZ                       CO     33095729901
9B755AA474B588   TONY         MCCUTCHEN                    OK     90015140047
9B7563A4861979   MARIA        LOPEZ                        CA     46013053048
9B75675545B383   RITA         HARTMANN                     OR     90012837554
9B756883451396   SANDRA       COLE                         OH     66067748834
9B756A52691882   REGINA       GEETER                       OK     90012370526
9B75711A472B62   THEODORE     TORRES                       CO     33011261104
9B757155593778   GAILE        MCLEMORE                     OH     90012181555
9B75736812B27B   MAHDE        ABDUL QAWI                   DC     81014433681
9B75746792B891   RICK         SMITH                        ID     42098274679
9B7577A375B548   NATALIE      RODRIGUEZ                    NM     35057547037
9B758142255951   CONSUELO     MENCHACA                     CA     90013921422
9B758263151342   CINDY        RIVERA                       OH     90002552631
9B7582A744B949   TANYA        CELESTINE                    TX     90003912074
9B75836592B27B   LATISHA      MORRISON                     DC     90011103659
9B7583A695B565   CHELSEY      CORRGUEST                    NM     90011803069
9B7583A745B383   FERNANDO     PAEZ                         OR     90013843074
9B75859593164B   WAYNE        KINNEY                       KS     90014675959
9B758679972B62   FEDERICO     BECERRA                      CO     33090536799
9B758823893769   CHAD         SLONE                        OH     64525818238
9B758A4448B197   NATALIE      PLAYER                       UT     90012090444
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1956 of 2350


9B758A89855957   DAWN         BAIN                         CA     90015160898
9B759388155957   VERNON       MARTIN                       CA     90012033881
9B759495851342   MICHELLE     TSCHEINER                    OH     90014354958
9B75952132B891   AARON        RUSH                         ID     90009485213
9B75954987B444   LENORA       TRISVAN                      NC     90012775498
9B7595A4872B3B   KAREN        JACKSON                      CO     90009105048
9B75B25994B235   MANDIE       GAFFNEY                      NE     27026392599
9B75B3A172B27B   JAMES        VALENTINE                    DC     90014733017
9B75B453361977   MELVIN       HARRIS                       CA     90013404533
9B75B54428B188   HINEMOA      KAUFUSI                      UT     31049875442
9B75B97334B588   ERIC         SIMMONS                      OK     90014899733
9B75B9AA291925   JENELLE      TORAIN                       NC     90005209002
9B761244933698   MARLO        MAZE                         NC     90013002449
9B761572772B32   SARAH        VIGIL                        CO     90013345727
9B761597193778   BRANDON      KYNE                         OH     90012755971
9B76174188B152   LAWRENCE     COLE                         UT     90014347418
9B761836472B98   TOM          HARRISON                     CO     33089238364
9B761881741296   KEVIN        OWENS                        PA     90011878817
9B762622177537   KIMBERLY     WISEMAN                      NV     43086696221
9B762A2482B27B   DORIANE      NGAFFI                       DC     81064310248
9B763131555957   ARTESIA      FENNER                       CA     90013011315
9B7631A9572B3B   MICHAEL      MCWADE                       CO     90014991095
9B7632A3372B98   LUKE         SWEDLUND                     CO     90011292033
9B76342294B554   JESSE        OBERMILLER                   OK     90014904229
9B7634A945B545   JOSEPH       ARAGON                       NM     90000644094
9B763621372B62   ANA          RODRIGUEZ                    CO     90011186213
9B76369A855951   WILLIAM W    MILLS                        CA     49076456908
9B763875691521   MACIAS       MARIA                        TX     90004518756
9B763958772B62   MARIA        HERNANDEZ                    CO     33088769587
9B76417428B125   AUDRA        THOMPSON                     UT     90008891742
9B764846155951   SARAH        VARNI                        CA     90014718461
9B76518833164B   SARAH        BALL                         KS     22082941883
9B765293A72B42   STACY        TEMPLER                      CO     33029362930
9B765A9485B548   CHARLES      SEDILLO                      NM     90012580948
9B765AA5693769   SARA         MUSQANO                      OH     90003380056
9B767541172B62   BALTAZAR     AYALA                        CO     90013695411
9B767546561979   FRANK        LATLIP                       CA     90013945465
9B76783724B588   THOMAS       NOLAN JR                     OK     90001558372
9B767A17455957   KA           YANG                         CA     90014880174
9B767A49591951   MICHAEL      ALLEN                        NC     17024470495
9B767A76793778   RASOOL       HUSSEIN                      OH     90010810767
9B767AA368B175   PABLO        OSEGUERA                     UT     31048020036
9B768173172B3B   EMILIO       RAMIREZ                      CO     90012591731
9B768632793778   JEANNETTE    POWELL                       OH     90013486327
9B768926355957   LAURA        SANTACRUZ                    CA     90014659263
9B769569972B42   JERRI        HARRIS                       CO     90012735699
9B76964994B588   CANDACE      BEARMAN                      OK     90008106499
9B7697AA281634   BEVERLY      ALLEN                        MO     29053237002
9B769A39651342   LANA         SMITH                        OH     90013930396
9B76B551891521   OLGA         TRIANA                       TX     90007265518
9B771235A72B42   FAVIOLA      DIAZ                         CO     90009812350
9B77164144B588   RICHARD      SCHROEDER                    OK     21513786414
9B771941985689   LATASHA      DAYS                         NJ     90010599419
9B772284781635   JAMIE        STEWART                      MO     90014652847
9B77232268B181   BERADJE      JUSTIN                       UT     31098263226
9B77244A35B531   DESIREE      AGUILAR                      NM     90014114403
9B77266167B389   JUAN         HERNANDEZ                    VA     81059866616
9B77279782B249   JAY          ALEXANDER                    DC     90004347978
9B77288765B371   RON          KAY                          OR     90014528876
9B77332612B891   RICHARD      CHAUVIN                      ID     90014753261
9B77333A841296   CARRIE       COOK                         PA     90011013308
9B773647655951   MANUEL       FRUTOS                       CA     90007136476
9B773781441277   RUSSELL      ESHMAN                       PA     90002857814
9B773841472B62   KARINA       GARCIA                       CO     90000138414
9B77388856B229   RUSSELL      BROWN                        AZ     90014558885
9B773A29A81635   I NEED       MONEY                        MO     90003750290
9B773A81872B3B   ASHLEY       MARES                        CO     90013890818
9B77443324B588   NICHOLAS     SKAGGS                       OK     90014574332
9B774665791882   KI-ERIA      KNOX                         OK     21009026657
9B77469AA93769   CORBIN       BROWN                        OH     64595576900
9B7748AA83164B   JUQUEE       GREEN                        KS     90012828008
9B77518814B554   RAMON        EDUARDO                      OK     90014911881
9B77522575B383   TERRY        NICHOLS                      OR     90013342257
9B77526A25B548   STEVEN       GALLEGOS                     NM     90014802602
9B775934393778   DANNY        DENNY                        OH     90014899343
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1957 of 2350


9B775961572B56   KENNETH      BELL                         CO     33038149615
9B7761A5572B32   RICHARD      SCHAVE                       CO     90015331055
9B776382172B56   NATASHA      RUGLEY                       CO     90011513821
9B776591A91951   KEESHA       BROWN                        NC     90012015910
9B7765A3593755   KRISTIN      SUTHERLAND                   OH     90012025035
9B77662972B981   RAYMUNDO     MARTINEZ                     CA     90004906297
9B776639A3B37B   TRACEY       MARTINEZ                     CO     90003346390
9B7767A268B13B   DANIELLE     PETERSON                     UT     90012937026
9B776978972B32   KARLA        QUINTANA                     CO     90013999789
9B77761815B383   PEDRO        GARCIA                       OR     44553066181
9B777724761979   CONCEPCION   CEBALLOS                     CA     90013877247
9B77811362B27B   KENNETH      POGE                         DC     90012881136
9B77848A177537   LUIS         CASTENEDA-LARA               NV     90015064801
9B778681981634   MARIA        URIZAR                       MO     90006926819
9B778839833698   DEBRA        DUNLAP                       NC     90014548398
9B779513972B32   ABDUL        MUHAMMED                     CO     90013545139
9B77959A791951   ELIOD        HERNANDEZ                    NC     90012705907
9B779819181634   NICOLE       ROSS                         MO     90008428191
9B7799A7391521   ALMA         VALDEZ                       TX     90000279073
9B77B451141296   TINA         MEHLMAUER                    PA     51017834511
9B77B569197B59   ESPERENZA    MALTOS-DELGADO               CO     39011385691
9B78112877B444   ROBINSON     BAHEEM                       NC     90011781287
9B78147954B554   TINA         SMITH                        OK     90014904795
9B7814A8257B59   ALI          CLARK                        PA     90012954082
9B7816A4281634   TIARA        WHITE                        MO     90012256042
9B781755A2B891   MERCEDES     VALDEZ                       ID     90013197550
9B781A3A572457   TAKEEYA      MORRIS                       PA     90005380305
9B7822AA961977   DANIEL       JAIMES                       CA     90013322009
9B782321772B42   MAYTE        PAREDES                      CO     33010003217
9B782381391526   EDGAR        AGUERO                       TX     90011443813
9B78257A55B383   CARLENE      FRANTZ                       OR     90009355705
9B782646A91521   MANUEL       RIVERO                       TX     75065986460
9B78316655B548   JUAN         QUESADA                      NM     35048261665
9B78322975B371   KAYLA        OLEARY                       OR     90013142297
9B78336528B158   KELLIE E     DURBIN                       UT     90011393652
9B783A6345B531   MANUEL       LOPEZ                        NM     90012800634
9B784252881635   TONIA        STAVA                        MO     90009742528
9B784267572B62   JESSE        SERNA                        CO     33034252675
9B784358893778   JESSICA      LAYMAN                       OH     90013413588
9B784692261977   AMBER        CLEMENT                      CA     46076256922
9B78477245B383   MARTIN       VENTURA                      OR     90009337724
9B784879181634   DETRICIA     PATRICK                      MO     90014088791
9B784883355957   PRISCILLA    CORTEZ                       CA     90013018833
9B785489491599   JAMIE        DELGADO                      TX     75030764894
9B785553A72B42   PEDRO        RAMIREZ                      CO     90008695530
9B785684393778   MIRANDA      BLEVINS                      OH     90014256843
9B785868A72B62   SERGIO       BAROJAS                      CO     33075668680
9B786564A4B588   MICHEAL      COLTER                       OK     21566085640
9B786624593778   SHAQUIDA     BENSON                       OH     64516726245
9B786994491951   CHEVELLA     SINGLETARY                   NC     17015599944
9B78712945B565   LUIS         CANO                         NM     35008911294
9B78716735B548   ANDRES       LUERAS                       NM     35013291673
9B78733335B531   TINA         DEBARY                       NM     35001443333
9B787354491599   GUADALUPE    PULIDO                       NM     75012923544
9B787811827B71   STEPHANIE    MARTIN                       KY     90006648118
9B7878A794B588   COREY        HOWARD                       OK     90013228079
9B788132672B32   EDITH        PEREZ                        CO     90013511326
9B78882528B171   TYLER        ENGLAND                      UT     90010388252
9B78914625B565   ANALILIA     RODRIGUEZ                    NM     35061191462
9B78919A872B3B   MARIE        GALINDO                      CO     90003511908
9B7891A455B548   KATHYRN A    SAIZ                         NM     90003931045
9B789273A72B56   DESIREE      WILSON                       CO     90010872730
9B78987316197B   MEREDITH     JOHNS                        CA     90005078731
9B78B27755B383   MICHELLE     ALLEN                        OR     90015132775
9B78B34A261979   RYAN         NARVAEZ                      CA     90006533402
9B78B42144B588   ASHLEY       ROSS                         OK     90010254214
9B78BA4275B229   ANNA         BLANTON                      KY     90009230427
9B79113313164B   DALLAS       CARTER                       KS     22028151331
9B79118294B588   CATHERINE    BRANSON                      OK     21560921829
9B791291231465   TONGELA      BOLDEN                       MO     90006012912
9B79138AA91521   LIVELY       CASTRO                       TX     75000623800
9B79146248436B   ARTHUR       BURNS                        SC     90006954624
9B79157632B27B   SYLVIA       GRIPPER                      DC     90014725763
9B791657372B42   RALPH        MARTINEZ                     CO     90010336573
9B791931933698   TAKNIA       ROSS                         NC     90009599319
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1958 of 2350


9B7922A374B588   CHERYL       BEARD                        OK     21556542037
9B7922A524B554   NICHOLAS     GURROLA                      OK     90014912052
9B79232284B554   AUTHOR       WATSON                       OK     90014923228
9B7924A6491599   VICTORIA     MARQUEZ                      TX     90014654064
9B792583333698   LATEESHA     HOUSTON                      NC     90014475833
9B792679772B42   LORENA       HOLLE                        CO     90010236797
9B792844A41296   CHRISTINA    JONES-TIPPETT                PA     51091408440
9B79293432B891   LEXY         DANIELS                      ID     90010769343
9B793781461973   VERONICA     HERNANDEZ                    CA     90004327814
9B794217A61979   ALICIA       NEVAREZ                      CA     90015082170
9B79426218B188   BENIGNO      QUINTANA                     UT     90010322621
9B794349497B59   MARIA        AGUILAR                      CO     39075933494
9B794735391599   VICTOR       CERVANTES-FRIAS              TX     75013297353
9B794861A55957   JOSE         BARRERA                      CA     90015228610
9B794912291882   RADONNA      PARKER                       OK     90006789122
9B79517939712B   AMBER        LESLIE-STOCKWELL-            OR     90004461793
9B795244A5B548   JORGE        BURCIAGA CAMPOS              NM     35085022440
9B79527225B531   JOSUE        RUIZ-RODRIGUEZ               NM     90013792722
9B795471193769   TASHA        PATTERSON                    OH     64566344711
9B795573361979   TAWNA        GRISHAM                      CA     90014715733
9B7955A6177537   CRUZ         VENTIMILLA                   NV     43081265061
9B79582A591599   MAIRA        LOPEZ                        TX     90010158205
9B79587A493755   TARA         DYER                         OH     90012638704
9B795892472B3B   TAMMY        CANNON                       CO     90007668924
9B795991A72B78   ANTHONY      WHEELER                      CO     90008199910
9B795A9A885689   BENITO       PERALTA                      NJ     85016190908
9B796152791599   RAY          PICHARDO                     TX     90013831527
9B79721583365B   PARIS        STIMPSON                     NC     12087622158
9B797383191521   NELIDA       VAZQUEZ                      TX     90009143831
9B79741A493769   STEVE        WILLIAMS                     OH     90005954104
9B79766A981634   NESTOR       BAUTISTA PEREZ               KS     90012436609
9B79769388B131   TANGA        BECKSTROM                    UT     90013106938
9B797724172B62   LORETTA      CAMPBELL                     CO     33097917241
9B798163A3164B   AIMEE        PINEDA                       KS     22079701630
9B79823115B371   DEBORAH      POE                          OR     44524562311
9B798346291955   NUBIA        HUDSON                       NC     90009953462
9B798489333698   PAMELA       BENJAMIN                     NC     12050684893
9B799225791599   FREDDIE      JACKSON                      TX     90015142257
9B799318951342   ASHLEY       SANDERS                      OH     90012723189
9B799647255951   JESSE JAME   ACUNIA                       CA     49086916472
9B799947551342   SHARIFA      BROWN                        OH     90011089475
9B79996437B444   LILLIE       WILLIAMS                     NC     90008549643
9B79B16372B891   JUSTINE      HOSER                        ID     90012601637
9B79B24172B891   NIKKI        ROLLINS                      ID     90008442417
9B79BA7445B548   ANTHONY      VARGAS                       NM     35014200744
9B7B1672633698   ANTHONY      HUGHES                       NC     90014876726
9B7B1695591599   ALEJANDRA    PACHECO                      TX     90013196955
9B7B218A28B175   HEATHER      KNIGHTON                     UT     90013661802
9B7B2723293778   TRACY        BOWLING                      OH     90013567232
9B7B27A3372B42   BRANDON      CHAVEZ                       CO     33034757033
9B7B334595B531   GORDAN       LEASE                        NM     35008693459
9B7B342A455957   RENEE        CARDOZA                      CA     90009084204
9B7B3743991951   YOLANDA      MARQUEZ                      NC     90010557439
9B7B3A12893755   BRANDON      BESS                         OH     90005210128
9B7B4182172B56   JENNIFER     REY                          CO     90001571821
9B7B439A67B444   MARIA        ACEVEDO                      NC     90008793906
9B7B486A491521   MARIA        TERESA                       TX     90001028604
9B7B495A62B981   EDUARDO      HERNANDEZ                    CA     90014819506
9B7B49A748B152   JULIE        JIMENEZ                      UT     31017799074
9B7B4A18172B42   MEDINA       DANIELLE                     CO     90011700181
9B7B512834B554   CRISTA       PAYTON                       OK     90014891283
9B7B513985B371   ROBIN        STONER                       OR     90014871398
9B7B522146362B   STEPHANIE    LINDAMAN                     MO     90003792214
9B7B5713A91599   SERGIO       DIAZ                         TX     90011577130
9B7B5924A93778   MELINDA      LEAGUE                       OH     90003349240
9B7B5933872B43   EDMUND       DEHERRERA                    CO     33056369338
9B7B622612B891   ALEJANDRO    CAPUCHINO                    ID     42000062261
9B7B6749991951   FRANCISCO    GONZALEZ                     NC     90012497499
9B7B6A55972B56   LUCIA        MENDOZA                      CO     90014820559
9B7B7634172B62   GEORGE       ALPS JR                      CO     33044246341
9B7B8118991526   STEPHANIE    TORRES                       TX     90010151189
9B7B8139191882   COLE         CURTIS                       OK     90012521391
9B7B8284955957   FRANCISCO    HERNANDEZ                    CA     49030972849
9B7B8333891599   JULIAN       TORRES                       TX     90013773338
9B7B8336172B56   DAVID        GRAMAJO                      CO     33055603361
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1959 of 2350


9B7B8554593755   CHRISTOPHE     BRETELSON                  OH     64508285545
9B7B8AA8A33698   JUAN           PRIETO FLORES              NC     90008920080
9B7B9194897B59   LEONA          MATA                       CO     90013601948
9B7B961A572B32   BURTON         DIBBLE                     CO     33086196105
9B7B992154B554   JAVIER         ROJO                       OK     90005389215
9B7B99A1772B21   WILLIAM        RAMSEY                     CO     90001429017
9B7B9A4312B891   CYNTHIA        STANDEFER                  ID     90014800431
9B7B9A56355957   JASON          STONE                      CA     90011360563
9B7BB11AA4B554   GERARDO        GUEREQUE                   OK     90014891100
9B7BB12378B152   MELLISA        LEWIS                      UT     90012781237
9B7BB342791882   DESMAN PAUL    HICKS                      OK     90011273427
9B7BB47455B548   SARAH          SIERRA                     NM     35071204745
9B7BB517461879   CHARLOTTE      KIBBLE                     MO     90004615174
9B7BB63A67B444   ARLEEN         WATTS                      NC     90014926306
9B7BB65A42B27B   CHARLENE       FOX                        DC     90012046504
9B7BB776661977   EUNIZE         HERNANDEZ                  CA     90013547766
9B7BB8A914B588   GLOREYA        DELEON                     OK     90014038091
9B7BBAA4472B3B   CHRIS          PERRY                      CO     90011610044
9B81121AA91951   JAVIER         VUNEZ                      NC     17046572100
9B811378291521   ANDREW LEWIS   NEVAREZ                    TX     90012483782
9B811724772B42   RICARDO        MEDINA                     CO     33076267247
9B811833A72B32   SHADANA        HUFFAKER                   CO     33041678330
9B811872461979   COREY          MANUEL                     CA     90010078724
9B811A36751342   MIKE           HICKS                      OH     90010240367
9B812446261977   GUADALUPE      MEDINA                     CA     90006324462
9B81263674B554   COREY          SMITH                      OK     21515166367
9B81291845B371   VIRIDIANA      RIOS ROJAS                 OR     44502549184
9B812938991521   MARTHA         THOMAS                     TX     90003649389
9B813499855951   NAOMI          TORRES                     CA     90013924998
9B81436418B152   LANA           HUGHES                     UT     31067393641
9B814555593778   DANIELLE       GRINSTEAD                  OH     64597635555
9B814912872B3B   SANTIAGO       GARCIA                     CO     33073109128
9B81497243164B   DEKEMIA        RHONE                      KS     90008709724
9B8149A4297127   REGINA         FALLOWFIELD                OR     90010009042
9B814A16572B32   BRITTANY       GOMEZ                      CO     90010930165
9B815626191521   CARLOS         RAMIREZ                    TX     75066366261
9B81612432B886   CHRISTINA      SOTEROPOULOS               ID     42090191243
9B81632385B548   DANIEL         ALBERTO                    NM     90012973238
9B816793A5B531   JOHN           GAMBREL                    NM     35003557930
9B817418155951   ELLINGTON      JORDAN                     CA     90012424181
9B817445172B62   RAMON          RAMIREZ                    CO     90012654451
9B817467193769   ADRIANNE       BARNEY                     OH     64567574671
9B817669661979   JUAN           RAMIREZ                    CA     90007646696
9B81772978B175   L ADRIANA      TREJO                      UT     31036307297
9B817924431479   JOHNNIE        MCCABE                     MO     90006239244
9B81815328B152   RECK           RHODNEY                    UT     90014401532
9B81824933164B   AMANDA         COMBS                      KS     90000822493
9B818414693778   UZARAMA        FORTUNE                    KY     64584154146
9B818441361556   ANDREW         COREY                      TN     90015514413
9B818866472B62   LISA           GATEWOOD                   CO     33029778664
9B8193A4451362   CARLA          HASAN                      OH     66071983044
9B8193AAA51342   MICHAEL        TARTER                     OH     90014383000
9B81988329712B   JOHN           BRAINERD                   OR     90006578832
9B819898455957   MARGARET       LOPEZ                      CA     90006558984
9B819AA628B188   EMMA           PEREX                      UT     90013610062
9B81B126291521   CHRIS          MUNOZ                      TX     90010831262
9B81B322872B42   APRIL          ZAPOYA                     CO     90010733228
9B81B727891882   PHILLIP        HAWTHORNE                  OK     90013097278
9B81B79385B371   MARICELA       RANGEL                     OR     90012627938
9B81B897172B42   GREG           SMITH                      CO     90014178971
9B81B947597B59   TERRY          HANN                       CO     90013829475
9B81B9A467B444   YOLANDA        ROBINSON                   NC     90000829046
9B81B9AA972446   DANIEL         HENNESSY                   PA     90001419009
9B81BA72572B98   JOSE           DIERA                      CO     90004510725
9B81BAAA62B94B   MARIA          SANCHEZ                    CA     90008380006
9B82111A38436B   CEDRIC         SMITH                      SC     90014091103
9B821149197B59   FERMIN         MEDRANO LUCERO             CO     39070761491
9B82146238B169   RENA           ELDREDGE                   UT     90004984623
9B82195918B175   JOSE           ACOSTA                     UT     90014639591
9B821A3745B379   SAMANTHA       KRAGERUD                   OR     90013970374
9B821A4373B394   IRMA           HERNANDEZ                  CO     33046730437
9B822177691399   GRECIA         ARROYO                     KS     90005681776
9B822512655957   LETICIA        JAIME                      CA     49041625126
9B822A5725B545   LUCRETIA       RICHMOND                   NM     35066800572
9B823171A5B548   NORMAN         WHATLEY                    NM     35084961710
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1960 of 2350


9B823199672B42   CARESSA      PERRY                        CO     90009081996
9B823237A55957   JUAN         RODRIGUEZ                    CA     49092952370
9B823453251396   CATRINA      ANDERSON                     KY     90006744532
9B8235A6A72B98   ROSEMARY     CAVAZOS                      CO     33039895060
9B82369672B891   JERID        HUNTSINGER                   ID     90012346967
9B82374214B588   PRESTIN      BARNHILL                     OK     90008107421
9B823961861979   RODNEY       LANE                         CA     46081959618
9B823A7943164B   LLOYD        CARR JR                      KS     90013730794
9B824154881635   JENNIFER     ROTHENBERGER                 MO     90008531548
9B8241A4177537   EDDIE        VELASQUEZ                    NV     43002481041
9B824338297B59   EVA          M. SUEL                      CO     39087133382
9B8244A442B981   KRISTEN      OTT                          CA     90012634044
9B825144585689   ESTEBAN      AVILEZ                       NJ     85016291445
9B82547AA4B551   IVET         DE LOERA                     OK     90006984700
9B825A5534B588   SHANELL      BACCUS                       OK     90012080553
9B82614512B891   COREY        BLAKE                        ID     42086641451
9B82642A391951   CHERLY       RAGAN                        NC     90012254203
9B826542191399   DAVID        TURNER                       KS     29044135421
9B826579281692   JANET        SUMMERS                      MO     29003385792
9B826678155951   JOAQUIN      CONTRERAS                    CA     49080276781
9B8266A8A2B27B   BYRON        LINDSAY                      DC     90010576080
9B82689AA55957   FABIOLA      LOPEZ                        CA     90013018900
9B826A21A55951   VINCENT      VERDUZCO                     CA     90012000210
9B826A61693778   KATHRYN      COKER                        OH     64539570616
9B826A83572B98   ANTONIO      GALARZA-CAMACHO              CO     90004510835
9B8275A6372B32   JORGE        ARAMBULA                     CO     33050035063
9B827715677522   GLORIA       QUEZADA                      NV     90014797156
9B827777493755   STACIE       GRIDER                       OH     90013987774
9B82782A65B383   MARK D       VALBERG                      OR     90011528206
9B827877155957   ERIK         GARCIA                       CA     90013018771
9B829483672B42   VERONICA     LEDEZMA                      CO     90015574836
9B829491291599   GUADALUPE    MEZA TREJO                   TX     90013314912
9B829562372B42   VERONICA     LEDEZMA                      CO     90014775623
9B82977628B152   CODY         BOWERS                       UT     90015287762
9B82979297B444   LORELLY      GONZALEZ                     NC     90015087929
9B829987397B59   ADAM         SEQURA                       CO     90007719873
9B8299AA833698   DEMEACHDRA   MOCK                         NC     90012199008
9B829A93A55951   BRITTNEY     COLE                         CA     49088350930
9B82B326861977   ROGELIO      J                            CA     90009003268
9B82B457372B3B   DALE         KENNEDY                      CO     90014664573
9B82B913255957   NELLIE       DE LA ROSA                   CA     49089359132
9B82B932872B62   CYNTHIA      DURON                        CO     90009879328
9B82B96364B554   MONICA       MINJARES-FIERRO              OK     90014919636
9B82B99578B152   GARRET       MALLOY                       UT     90014419957
9B82BA2A791521   JAIME        CARRERA                      TX     75057310207
9B831255772B56   ALLEN        MAPLES                       CO     90005952557
9B831968841296   ROSALIE      RUTKOWSKI                    PA     51051419688
9B831A27797B59   MAYRENE      MELENDEZ                     CO     90011540277
9B832346277537   SHARMANE     JOHNSON                      NV     90007903462
9B832764461977   MICAEL       MARVIN                       CA     90008397644
9B83298484B554   KERRI        ELLIS                        OK     90014919848
9B833244A72B98   BRANDIE      CHAVEZ                       CO     33038672440
9B83324815B548   SCOTT        RASMUSSEN                    NM     35013472481
9B83353834B588   JOYCE        KEITH                        OK     21592175383
9B833779472B42   KIM          FISHER                       CO     90014087794
9B83385338436B   RONALD       GRAVES                       SC     90014768533
9B83398484B554   KERRI        ELLIS                        OK     90014919848
9B834626877537   ROSA         LEMUS                        NV     90014586268
9B834756677537   BEATRIZ      ACOSTA                       NV     90011217566
9B835221161979   COLMAN       ELIZABETH                    CA     46072742211
9B835557893778   STANFORD     LATIMORE                     OH     64547965578
9B83557A672B98   CARRTEO      CARLOS                       CO     90007105706
9B835595372B42   ALFRED       SISCO                        CO     90009575953
9B835966855957   JOEL         PENA                         CA     90013019668
9B836394961977   LUISANA      YANEZ                        CA     90013073949
9B836624272B56   DOMINIQUE    DICKERSON                    CO     90002736242
9B836727A8436B   MAURO        CRUISINBERRY                 SC     90015287270
9B836961555957   TINA         MOORE                        CA     90012919615
9B836971171956   SCOTT        STRENGER                     CO     90010179711
9B83698A55B383   DAMIEN       JEFFERSON                    OR     90004169805
9B836A65472B43   JULIAN       RAYMOND MAESTAS              CO     90003310654
9B837169493778   DEAISHA      WILLIAMS-HUGHES              OH     90013511694
9B83718978436B   JOSE         FIGUEROA                     SC     90006741897
9B83729282B27B   LATOYA       LYLES                        DC     90014762928
9B83745547B444   RAMON        BENITEZ                      NC     90015094554
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1961 of 2350


9B837789891882   MARIA          ANDRADE                    OK     90011277898
9B837884677537   DEANNA         SCHMIDT                    NV     90015208846
9B838134691951   LUIS           GUZMAN                     NC     90015201346
9B838216A81634   CHRISHONNA     JACKSON                    MO     90008962160
9B83843858B152   VICKIE         K HOPKINS                  UT     90014604385
9B83861642B236   LAJETTA        MCDOWNEY                   DC     90001316164
9B838629561979   AKESHIA        CHRISTIAN                  CA     90004886295
9B838733A61924   DEBERAH        BAILEY                     CA     90011037330
9B838988293738   VERONIQUE      BATES                      OH     90001369882
9B838A1495B548   DENISE         LUCERO                     NM     35094890149
9B83915119712B   JOSE           VENEGAS                    OR     44009431511
9B839266597B59   MARY           ORTIZ                      CO     90010502665
9B839464491882   DEBBIE         PARRISH                    OK     90010024644
9B839737A8B152   HUGHS          AMBER                      UT     90012227370
9B83B36735B548   MICHAEL        GARCIA                     NM     90015523673
9B83B58315B371   TYRONE         HANKS                      OR     44544295831
9B84114373164B   SARA           MAUS                       KS     22005381437
9B841181297B59   MIKE           MIKESELL                   CO     90013781812
9B84157A193755   VICTORIA       JONES                      OH     64513705701
9B84159895B383   DORA           RASMUSSEN                  OR     90012725989
9B84162338B152   CHRISTIE       MCDOWELL                   UT     31075406233
9B8417A1691521   JUAN           CARRILLO                   TX     90012927016
9B841859372B62   AARON          BENNETT                    CO     33091158593
9B841891433698   TANEIKA        COBB                       NC     90014208914
9B841A16291882   BRITTANY       RITCHIE                    OK     90009480162
9B842373A4B588   ROBERT         MILLER                     OK     90013343730
9B842559991599   THOMAS         CHAZ                       TX     90012945599
9B8425AA48B175   BRYAN          WINN                       UT     90013535004
9B84265125B548   SWEETYE        BROWN                      NM     35085566512
9B842862972B3B   SILVIA         BRISENO-MOLINA             CO     90008688629
9B84429AA91599   LICELDY        GONZALEZ                   TX     75061162900
9B8444A6272B32   EMILY          ROSE MELLO                 CO     90012164062
9B844633261979   STARLENE       LAGUNA                     CA     90000776332
9B84467325B371   ROBERT         HARDY                      OR     90014016732
9B844A43372B3B   ROXANN         VIEWEG                     CO     90005090433
9B844A7A755951   JOVI           THAO                       CA     90005880707
9B8456A9A91399   JENNY          MCINTYRE                   KS     90005706090
9B84579915B326   IGNACIO        GONZALEZ                   OR     90002277991
9B8458AA891882   EARNEST        DEAN                       OK     90011278008
9B845938355957   JOVANNI        BARIOS                     CA     90010059383
9B845A94231448   JACOB          QUICK                      MO     90010460942
9B84653359188B   CECIL          CREAMER                    OK     90004145335
9B84689385B331   RIAN           SMITH                      OR     90010608938
9B84729282B27B   LATOYA         LYLES                      DC     90014762928
9B847495451342   MARTA          WENDISRW                   OH     90010224954
9B847995891882   ALBERTO        RODRIGUEZ                  OK     21057439958
9B848316577537   ISAAC          TIONGCO                    NV     90015223165
9B84858A663627   JARED          GUION                      MO     90012165806
9B848666291951   MARIA          CONTRERAS                  NC     90010856662
9B84927945B548   MELISSA        TENORIO                    NM     90014902794
9B849313291547   CECILIA        SOBAL-VARRO                TX     90014473132
9B84932645B548   MELISSA        TENORIO                    NM     90012613264
9B84954335B531   JESSE          SANTILLANES                NM     90003445433
9B849646381635   GLENN          EVERHART                   MO     29022366463
9B84981925B371   CHESLEY        ANDRES                     OR     90013158192
9B849828291882   ROBBIE         ARNOLD                     OK     21078838282
9B84B353861972   ROBERTO        ABURTO                     CA     90001763538
9B84B374193755   EDWARD         HOSKINS                    OH     64509963741
9B84B539893749   MARESA         SCOTT                      OH     90008615398
9B84B789891882   MARIA          ANDRADE                    OK     90011277898
9B84B8A5772B98   HECTOR         REYES                      CO     33037318057
9B84B968472457   MONICA         OAKLEY                     PA     90010059684
9B851117791599   RAMIREZ        ANA GABRIELA               TX     75093361177
9B8511A875B371   ANDREA         ESTRADA                    OR     44580241087
9B851465955957   SOUTSADA       PHENGDY                    CA     49093014659
9B85173715B531   CURTIS         FITTS                      NM     90012107371
9B851896191882   BRENDA         MORAN                      OK     90013158961
9B8522A935B548   BERNICE        ARELLANO                   NM     35065182093
9B852753791599   JEREMEY JOHN   MAZZA                      TX     90005987537
9B852755291521   GUILLERMO      COVARRUBIAS                TX     75000037552
9B853656355951   JOSE           GUTIERREZ                  CA     90012816563
9B853A9A44B588   DORA           LOPEZ                      OK     90002030904
9B85419A172B98   LIZBETH        CALDERA                    CO     90011551901
9B8541A9741296   WILLIAM        RIEGER                     PA     90014931097
9B8542A3893778   JULIE          BINGHAM                    OH     90014982038
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1962 of 2350


9B854445372B42   JESSICA      FITZI                        CO     90014104453
9B854914351342   MICHAEL      DENTON                       OH     90011079143
9B854947597B59   TERRY        HANN                         CO     90013829475
9B854A5822162B   BETTY        WHITE-DAY                    OH     90014370582
9B85537A672B3B   ERIC         SCOTT                        CO     33006043706
9B855616361979   ZEBRA        JACKSON                      CA     90000846163
9B855621391521   KIMBERLY     TALAVERA                     TX     90009656213
9B855845191599   LUCIA        HAMIDAN                      TX     75079198451
9B85587865B531   JOSEPH       CRESPIN                      NM     35090118786
9B85591143B335   THOMAS       PETERSON                     CO     90005879114
9B855916641268   JESSE        HARRIS                       PA     90003879166
9B855A7654B554   JOSE         SANTAMARIA                   OK     90014920765
9B855AA712B27B   NAKITA       DELANEY                      DC     90011320071
9B856582881635   SHAY         WEATHERS                     MO     90012995828
9B856831297B59   SHANNON      HENRY                        CO     39085198312
9B85687178436B   LAQUANDAE    MILLER                       SC     90014998717
9B8568A8693778   FERNADES     ROBERT                       OH     90002438086
9B85697954B949   ELIZABETH    MARRIQUIN                    TX     90000759795
9B856AA372B824   RONALD       SKUBAN                       ID     90009130037
9B857147172B32   EVA          DARDANO                      CO     33001941471
9B857281981634   STEVEN       WALSER                       MO     90013982819
9B857592776B8B   YVETTE       GARCIA                       CA     90009615927
9B857595791521   TERRY        HAMMEL                       TX     90008975957
9B857A36555951   SOCORO       LEAL                         CA     90005030365
9B8581A9741296   WILLIAM      RIEGER                       PA     90014931097
9B858537961977   LUIS         SARABIA                      CA     90014995379
9B858566172B56   MERCEDES     HERNANDEZ                    CO     90010525661
9B85858458436B   JESUS        MORALES GASPAR               SC     90002565845
9B858914761979   MONICA       RAMIREZ                      CA     90014699147
9B858A2248B152   BRYAN        COOK                         UT     31001860224
9B859286772B62   EMIGDIO      DE DIOS-IGNACIO              CO     90005632867
9B859A25361879   SANDRA       MATTHEWS                     IL     90015370253
9B85B213A3164B   BRANDON      BLOCKER                      KS     90010292130
9B85B291433698   REBECCA      MABE                         NC     90010012914
9B85B2A2672B56   MICAELA      JAQUEZ                       CO     90013152026
9B85B593872B43   JOSE         HERRADA-CHAVEZ               CO     33090315938
9B85B61A831461   LONNIEL      TRAMMELL                     MO     90002136108
9B85B747591882   ELIZABETH    OROSCO                       OK     21048527475
9B85B988493778   BRENDA       SMITH                        OH     90010449884
9B861147491951   MATTHEW      KELLY                        NC     90010931474
9B861316791951   MONIKA       WILLIAMS                     NC     90009003167
9B861332961977   CHARELS      LAVERING                     CA     90011183329
9B8616A5A4B588   NICHOLAS     ARRON                        OK     90014856050
9B861812361977   EDUARDO      FUENTES                      CA     90012708123
9B861966372B3B   DARLENE      MIMS                         CO     90008419663
9B86211244B554   ANGELA       BRYCE                        OK     90014921124
9B862612A93778   EDE          YOUNG                        OH     90011386120
9B862718655951   LILIANA      CEJA                         CA     90012617186
9B86313A24B554   TINA         SMITH                        OK     90014921302
9B86331695B371   JEFFREY      KREISCHER                    OR     90014243169
9B863629472B3B   NICOLE       KIMREY                       CO     33008476294
9B863A15155951   AMANDA       HILL                         CA     90013120151
9B863A36451577   SEBASTIEN    SEBAGABO                     IA     90015080364
9B8641A9741296   WILLIAM      RIEGER                       PA     90014931097
9B864543791521   DANIELA      VASQUEZ                      TX     90002455437
9B864626191951   SPNDHLA      MAKARIOES                    NC     17006576261
9B86482AA81683   ANGELINA     ALLINDER                     MO     90004358200
9B8656A2591882   JOSPEHINE    REYES                        OK     90004246025
9B865892872B98   ANTONIO      RODRIGUEZ                    CO     33034558928
9B86626258B188   ARMANDO      SUAREZ                       UT     90013592625
9B86628573164B   SURRETHA     GARCIA                       KS     90015432857
9B866286341296   THOMAS       COLAGRANDE                   PA     90007392863
9B86674299139B   BRUCE        JOHNSON                      KS     90013527429
9B866A49A55957   ERIC         GAONA                        CA     90013020490
9B867124A72B43   JERRY        VALDEZ                       CO     33042451240
9B86716368B188   TYLER        MOORE                        UT     90010711636
9B86751878436B   AUDRA        BROWN                        SC     19047735187
9B8675A235B531   ALEXANDRIA   RIMBERT                      NM     35004365023
9B867842172B42   HEIDI        SHAVILL                      CO     33003908421
9B86817248B181   BLANCA       MARTINEZ                     UT     90009331724
9B86818435B368   HEIDI        RANDALL                      OR     90012001843
9B86831698B188   VICTOR       AVINA                        UT     90013613169
9B86892A12B27B   ADRIENNE     MAVRITTE                     DC     81028419201
9B869587A41296   MELISA       MICHELSON                    PA     51007915870
9B86B13568B152   WINDA        COMMEREE                     UT     90014981356
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1963 of 2350


9B86B75A99712B   KEVIN        MAWHINNEY                    OR     44013907509
9B87144A78436B   DERRICK      GADSDEN                      SC     19088854407
9B87216368B188   TYLER        MOORE                        UT     90010711636
9B872246761977   ALBERTO      SALGADO                      CA     46012352467
9B872422A72B32   LEWIS        QUINN                        CO     90007344220
9B872434151342   WILLIAM      WEST                         OH     66031414341
9B872553972B32   LEWIS        QUINN                        CO     90013885539
9B87264322B981   CARLOS       SANCHEZ                      CA     90014746432
9B8731A9741296   WILLIAM      RIEGER                       PA     90014931097
9B87334744B554   RANJEL       SANCHEZ                      OK     90014923474
9B873427672B56   JULIETA      BASTIDA                      CO     33086944276
9B873657572B32   GLORIA       LOPEZ                        CO     33081676575
9B87367135B33B   CARMEN       CORDERO                      OR     90010766713
9B8737AA591951   KRYSTLE      JONES                        NC     90013217005
9B874561A3164B   CRAIG        LEONARD                      KS     90015125610
9B875358A5B383   NICHOLE      CLOUTIER                     OR     90014963580
9B875388851342   LONNIE       JOHNSON                      OH     90012713888
9B875A12293778   DESTINY      BULLIS                       OH     90010380122
9B87627714B554   CHRIS        JOHNSON                      OK     21597462771
9B8762A9A5B383   FELIPE       MORENO                       OR     44515332090
9B876555391882   JAMES        JACKSON                      OK     21048525553
9B87677A172B56   ALBERTO      HERNANDEZ                    CO     33055687701
9B876791172B3B   LUCINDA      DEVRIES                      CO     90002347911
9B876811872B43   JACK         BARRECA                      CO     90007518118
9B87714615B371   BRITTANNI    RENNER                       OR     90005711461
9B877395561979   ELIZABETH    WILLIAMS                     CA     90009413955
9B87746852B891   LEA          NUTTER                       ID     90006374685
9B877595651342   MICHAEL      LLOYD                        OH     90014165956
9B87762693164B   BIANCA       HANKERSON                    KS     90013706269
9B877821791882   ROBERT       ALLEN                        OK     90013688217
9B877A8655B548   OLGA         CAMPOS DE GARCIA             NM     35037770865
9B877AA4891521   JOB          GOMEZ                        TX     90014500048
9B8781A9741296   WILLIAM      RIEGER                       PA     90014931097
9B878516697B59   FRANCISCO    FLORES-RAMOS                 CO     90003315166
9B878671491599   DAVID        ZUBIA                        TX     90009026714
9B878937472B56   HURCULES     PRITCHARD                    CO     90011029374
9B87898398B188   DANIELLE     DURAN                        UT     90013279839
9B879243661979   RONALD       GUERRERO                     CA     90013882436
9B879274755957   VIDA         MORENO                       CA     90003442747
9B879332172B42   MARIA        LIRA                         CO     90014123321
9B87955694B588   DANEE        COKER                        OK     21569175569
9B8795A8191882   JASON        BARRENS                      OK     21062775081
9B87974AA91951   TAMMY        WALTON                       NC     90004897400
9B87B17478B175   ANA          LEE                          UT     90010811747
9B87B1A6172B3B   ALEXIS       CANDELLA                     CO     90013661061
9B87B546555951   JAVIER       GIRON                        CA     90012115465
9B87B62838B198   ALFREDO      ORDONES                      UT     90000916283
9B87B67897B444   AMY          EDENBURN                     NC     90012096789
9B87B74515B531   NORA         ALAMOS                       NM     35026657451
9B87BA3268436B   JOYCE        THOMAS                       SC     90007570326
9B881227872B42   ROSE         ROBERTSON                    CO     33096102278
9B881323A77537   ADAM         REGALA                       NV     43038373230
9B881651972B56   DAWN         MARTINEZ                     CO     33066346519
9B881654A61979   KARLA        MUNOZ                        CA     90014796540
9B881734A4B949   JULIO        PEREZ                        TX     76563207340
9B88175A62B981   CARRIE       GRAVES                       CA     90009687506
9B881897A2B27B   QUESHAAWN    MARTIN                       DC     90010488970
9B88192A672B42   SOFIA        MIETZ                        CO     90014579206
9B88233125B531   BLANCA       LOZOYA                       NM     90012433312
9B882926191599   SARAH        GUTIERREZ                    TX     75093139261
9B88295348B152   ANAHI        MALDONADO                    UT     90008709534
9B882A63661979   MARGARITA    AGUIRRE                      CA     90013320636
9B883782791882   VANNA        DORSEY                       OK     90013167827
9B883835272B32   ESTHER       WINGRED                      CO     90012778352
9B883A39193778   MAIETZA      MARTINEZ                     OH     90007620391
9B8842A748436B   HEATHER      CLARK                        SC     90003242074
9B884375681634   JOHNELL      COLLINS                      MO     90011243756
9B88441AA97B59   CHANTELL     NAVA                         CO     90010504100
9B884517172B98   IRAFEMA      ENRRIQUEZ                    CO     33002545171
9B8846A7361977   BRENDA       ROBLES                       CA     90015026073
9B88485285B531   LENETTE      HILL                         NM     35009278528
9B88496A893738   TILLIS       LATIMER                      OH     90006719608
9B88515534B949   LADERRY      BRUNO                        TX     90000291553
9B885187991524   JUAN         GONZALEZ                     TX     90004091879
9B885549472B56   REBECCA      SERVANTES                    CO     90008345494
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1964 of 2350


9B88556395B383   DANDRE        LARISON                     OR     90012995639
9B885844161979   REBECA        CASTANEDA                   CA     90011988441
9B885916891951   MALISA        HOLDER                      NC     90005279168
9B885967A2B891   JOSEPH        LUCERO                      ID     42052979670
9B885A57972B32   HOLLY         WARRIOR                     OK     33003920579
9B886488572B56   ERNESTO       VALDEZ                      CO     33041204885
9B886945193755   HEATHER       COX                         OH     64523769451
9B886962133698   ALEJANDRO     PACHECO                     NC     90010839621
9B88711422B27B   IMANI         HOWARD                      DC     90012871142
9B887251472B56   MARIAN        RODRIGUEZ                   CO     33041002514
9B887665791951   BARBARA       TRICE                       NC     90015206657
9B88775AA81634   MS            ROBINS                      MO     90001877500
9B88796A991521   GABRIEL       IBARRA                      TX     90012839609
9B88872955B548   KENNETH       BARRETT                     NM     35005227295
9B888793881634   SUSANA        HERRERA                     MO     90012837938
9B888A7172B891   JOSE MANUEL   LARA                        ID     90008450717
9B88912192B27B   JAY           ALSTON                      DC     90012871219
9B88923795B371   HOWARD        WASHINGTON                  OR     90014132379
9B889272297B59   BENY          HERNANDEZ                   CO     90008352722
9B889449793778   DOUGLAS       LEMASTER                    OH     64518434497
9B88957117B444   MARISHA       PEARCE                      NC     90004115711
9B889758272B56   KYLE          SHUERGER                    CO     90012677582
9B889979A5B548   GEORGE        LOPEZ                       NM     35083469790
9B889A1535B383   DALE          STEWART                     OR     90005250153
9B889A1548B175   BRISA         RODRIGUEZ                   UT     90011350154
9B889A89572B62   LUPE          ROMERO                      CO     90012870895
9B88B239291599   GERARDO       E                           TX     75033132392
9B89111384B588   CLAUDIE       JOHNSON                     OK     90014291138
9B891291751342   TRACIE        WARMAN                      OH     66017382917
9B89143845B531   EMILIO        ACOSTA                      NM     90002294384
9B891534955957   FRANCISCO     RODRIGUEZ                   CA     90015425349
9B891761661977   MOISES        MEDINA                      CA     90010517616
9B891893A72B56   STACY         DOSS                        CO     90008618930
9B891936291599   LACEY         PORRAS                      NM     90012509362
9B89216785B565   ANDREA        TRUJILLO                    NM     35039451678
9B89222155B548   LESLIE        PREVATT                     NM     90007602215
9B8926A8291599   CRISTINA      VARGAS                      TX     90010806082
9B892742841296   PAMELA        YOCHUM                      PA     90000727428
9B892A92781635   HEATHER       PARRY                       MO     90015120927
9B8933A947B444   MONIQUE       ROBINSON                    NC     11049493094
9B89345A855957   MERCEDES      HERNANDEZ                   CA     90003414508
9B89364A791599   EDGAR         GORDILLO                    TX     75056556407
9B893748672B56   ANA           GUTIERREZ                   CO     33010047486
9B893761772B98   ISAAC         MORA                        CO     90011807617
9B893781451342   PEVLA         MORAN                       OH     66017777814
9B89381315B371   TEODULO       GARCIA                      OR     44502848131
9B8939AA74B949   KRISTINA      LABEAUX                     TX     76588549007
9B89412AA91599   CORINA        CHAVEZ                      TX     90014601200
9B894159551342   RAINA         PIERCE                      OH     66089421595
9B894264A4B588   PATRICIA      BOTELLO                     OK     90012022640
9B895346193755   RAKIA         THOMPSON                    OH     90010413461
9B89564483164B   IBRAHIM       IBRAHIM                     KS     90012336448
9B895A21A3164B   ESTEPHANA     TUCKER                      KS     90014550210
9B895AA5991399   ERICA         MCCOLLUM                    KS     29000990059
9B896236784752   RICHARD       BROWN                       IL     90009112367
9B896281191599   ADRIANA       SALIDO                      TX     90008082811
9B896393472B32   EVAN          T MOORE                     CO     90009393934
9B89661892B891   ERIN          PINEDA                      ID     90009906189
9B89672885B548   CRISTYN       THOMPSON                    NM     35043277288
9B897111193769   TERRI         POOH                        OH     90008841111
9B89735592B891   ANTONIO       GARCIA                      ID     90015093559
9B897441341296   CADIADRA      KENDRICK                    PA     51043844413
9B897957172B62   CHAVEZ        RUTH                        CO     90009019571
9B897A5198B152   RYLAN         STECKELBURG                 UT     90010390519
9B897A9A981634   DEONTAY       HOLLY                       MO     90012040909
9B8982A6591882   JOHNETTE      SMITH                       OK     90015262065
9B898681561979   PEDRO         SALAZAR                     CA     90014796815
9B898797972B42   LAURA         JIMENEZ                     CO     90012157979
9B898888793755   NICOLE        VERNITTA                    OH     90007238887
9B898A24A2B891   JESSE         SWAIN                       ID     42017500240
9B899281193769   STACY         CARROLL                     OH     64598122811
9B89939A172B32   LOUIE         PIZARRO                     CO     90014823901
9B8995A9681634   JACINDA       MARTINEZ                    MO     90012285096
9B8998A8155957   BRITTANY      BELL                        CA     90011868081
9B89996485B565   ROBERT        DENIPAH                     NM     90011809648
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1965 of 2350


9B89B15212B891   DARIN        BANGHAM                      ID     90008741521
9B89B154A2B27B   JOAN         LINDSAY                      DC     90013181540
9B89B579481634   BOB          SANDERS                      MO     90005415794
9B89B656597B59   ANDREA       BALDIVIA                     CO     39055486565
9B89B76345B268   STEWARD      POWELL                       KY     90009457634
9B89B79765B371   GREGORY      SERRATO                      OR     44585917976
9B8B153A855957   EDGAR        HARO                         CA     90006895308
9B8B1778193755   MICHAEL      FOLARIN                      OH     64591447781
9B8B1796291368   MICHELLE     TAYLOR                       KS     29007227962
9B8B198818B188   RYAN         ANDRA                        UT     31049789881
9B8B2665481635   KAREN        PORTER                       MO     90001956654
9B8B2A31691521   MARGARITA    LOPEZ                        TX     75019470316
9B8B2A85793755   SANTIAGO     SAAVEDRA                     OH     90000160857
9B8B2A95A72B32   ALBERT       BLAW                         CO     33062380950
9B8B3533961979   MARTHA       PEREZ                        CA     90014615339
9B8B354264B588   JOHNNI       LEE                          OK     21573315426
9B8B3568577537   OMAR         RAMIREZ                      NV     90000795685
9B8B3747455957   RICK         BRASE                        CA     49093337474
9B8B3812651342   ISAC         MORRIS                       OH     90015368126
9B8B397814B554   BRITTANY     HENSLEY                      OK     90014099781
9B8B398492B27B   ANNIE        THOMPSON                     DC     90013659849
9B8B42A118436B   ROSE         LINDSLEY                     SC     90012442011
9B8B4353172B62   NDAYISENGA   LEONCE                       CO     33053523531
9B8B4485541296   DANIELLE     HAZLIP                       PA     51088864855
9B8B4614281634   ROSA         ALVARADO                     MO     90008926142
9B8B492197B444   ANTHONY      FUNG                         NC     90015009219
9B8B5181155957   JESUS        CORONADO                     CA     49084521811
9B8B6125391951   CANDACE      ELLIOTT                      NC     90013521253
9B8B632A63B39B   LISA         HORNAFIUS                    CO     33056983206
9B8B6599297B59   TIMOTHY      RIFE                         CO     90012975992
9B8B674775B371   DAVID        SANCHEZ                      OR     90013937477
9B8B691185B383   SAMANTHA     GALLINGER                    OR     90013129118
9B8B694A98B188   SUSAN        LONG                         UT     90013609409
9B8B69A9477537   FRANCISCO    GARCIA                       NV     90014749094
9B8B6A72961977   PAMELA       MONROY                       CA     90011460729
9B8B717814B235   PEDRO        GONZAGA                      NE     27077731781
9B8B7592185977   CALVIN       ISAACS                       KY     90012145921
9B8B762972B981   RAYMUNDO     MARTINEZ                     CA     90004906297
9B8B7677751342   ANTTONETTE   WILLIAMS                     OH     90009726777
9B8B776189712B   ANNA         REYNA                        OR     44040167618
9B8B7AA482B891   ALICIA       WEAVER                       ID     90011090048
9B8B823248B181   CAMILLE      SLATER                       UT     31080572324
9B8B8559751386   CHRIS        BARRETT                      OH     90014985597
9B8B8687593755   CRAIG        REED                         OH     90014326875
9B8B8A96A93778   PAULA        IVEY                         OH     90001730960
9B8B914A157122   WOLANSA      KEBEDE                       VA     81071041401
9B8B9153891521   ISMAEL       FLORES                       TX     90012091538
9B8B919738B152   MICHELLE     GARCIA                       UT     31089311973
9B8B9864891951   DORTHY       WALLS                        NC     90007078648
9B8BB33592B27B   LATOYA       HARVELL                      DC     90014733359
9B8BB35188B175   EMMA         MOTA                         UT     90014813518
9B8BB385893782   MOHAMED      REDHA                        OH     90008013858
9B8BB5A7A91951   ELDRACO      HOBSON                       NC     17096185070
9B8BB842833698   SHANTEL      PRICE                        NC     90014958428
9B8BB847155957   CYNTHIA      ROMAN                        CA     49093008471
9B8BB885A72B3B   DENISE       ROBINSON                     CO     90015238850
9B8BB92678B188   BRITTANY     VERVERS                      UT     90013609267
9B8BB962891521   JOANNA       ALCARAZ                      TX     75019469628
9B8BB968851351   SUE          WUEBBLING                    OH     66000039688
9B91129A472B56   MARK         NELSON                       CO     90007242904
9B912221655951   BUDDY        PHELPS                       CA     49001312216
9B912386872B98   LAUREN       KULLHEM                      CO     33061643868
9B912392955957   CRUZ         GONZALEZ                     CA     90000213929
9B91251A172B36   JOHN         CANTU                        CO     90007505101
9B91263892B981   DONALD       MAYFIELD                     CA     45006056389
9B912777591599   JUAN         HERNANDEZ                    TX     90014907775
9B912827561986   ANTONIO      MORALES FLORES               CA     90004118275
9B91314525B371   SAMUEL       HERNANDEZ                    OR     90014871452
9B913873661879   MARIO        EILAND                       MO     90013118736
9B91399572B891   CLAUDE       TISDALE                      ID     90012309957
9B913AAA591547   MIGUEL       AGUILAR                      TX     90011540005
9B914221A93778   MATTHEW      TENNEY                       OH     90012352210
9B914626872B42   SARA         HOCKHALTER                   CO     90014826268
9B91495192B891   VERONICA     DUARTE                       ID     90012479519
9B91496625B124   BETTY        TAYLOR                       AR     90012319662
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1966 of 2350


9B915465897B59   BLANCA          CASTILLO                  CO     90010504658
9B91562135B565   MANUAL          RODRIGUEZ                 NM     35088166213
9B915A11881634   NIKKIA          NELSON                    MO     90013340118
9B91613212B27B   TIARRA          SMITH                     DC     90012871321
9B91624725B565   ELIZABETH       NEVAREZ                   NM     35002702472
9B916351A72B98   SABRIYA         JOHNSON                   CO     90009793510
9B916592177537   SARENA          WEBSTER                   NV     43097345921
9B91749754B554   KIMBERLY        REDD                      OK     90014924975
9B917686681635   VINCENT         VACA                      MO     29077516866
9B91772A65B548   ISABEL          ROMAN                     NM     90014247206
9B918134491599   MICHELLE        GOMEZ                     TX     75067821344
9B918149172B62   JUAN CARLOS     PONCE-CARILLO             CO     90011311491
9B918342761977   JONATHAN        REYES                     CA     90012013427
9B91851A791399   MALINDA         BROWNLEE                  KS     29000995107
9B91878A45B371   FELIPE          ZARCO                     OR     90001277804
9B91944594B558   ROSEMARY        STOWE                     OK     90004584459
9B919539155957   BENJAMIN        OLIVAS                    CA     49091495391
9B919964372B62   SEYED           FARD                      CO     33052589643
9B919A8352B27B   CHRIS           NESBIT                    DC     81018770835
9B91B411872B32   AMY             MURPHY                    CO     90014094118
9B91B426651343   TRICIA          BIEHL                     OH     90008574266
9B91B714872B3B   LYNN            WALKER                    CO     90013747148
9B91B755593778   ZACHARY         BELCHER                   OH     90013607555
9B921664472B3B   STEPHANIE       ARGUELLO                  CO     90014626644
9B921712A5B531   BROOK           COLLINS                   NM     90015257120
9B92253355B548   CAROLINA        JURADO                    NM     35002345335
9B922886555957   SARAH           RODRIGUEZ                 CA     90010068865
9B922A9A961977   MARCO ANTONIO   DIAZ BAEZ                 CA     90011460909
9B92312578436B   SHAKARA         SPEARING                  SC     19077721257
9B923187655957   DANIEL          VILLAFANA                 CA     90013021876
9B92329565B548   STEPHANIE       GARCIA                    NM     35078432956
9B923325772B51   GRISELDA        RIOS                      CO     33049693257
9B923591472B32   RUSSINA         VALE                      CO     33027455914
9B923797972B42   LAURA           JIMENEZ                   CO     90012157979
9B92413A891531   EVA             GARCIA                    TX     75098921308
9B924258772B98   KATLIN          HAPP                      CO     90011292587
9B92429225B548   ROSENDO         MEDINA                    NM     35079262922
9B92431A75B531   SIMEON          ORNELAS                   NM     90014703107
9B924599391882   ROSA            FIERRO                    OK     90015305993
9B92523A25B531   DIANA           CERVANTES                 NM     90014802302
9B925255472B98   JOSE            RAMIREZ                   CO     90008412554
9B9252A2255957   SARAH           BARELA                    CA     90013022022
9B92547883164B   KEITH           FOOTE                     KS     22068864788
9B925741322824   BARRION         KELLY                     MS     90014187413
9B925882933698   WILDA           STEWART                   NC     12001518829
9B925A9824B588   MARIA           PUENTES                   OK     90011900982
9B926172572B32   JOSE            GOMEZ                     CO     33017681725
9B92617A68B152   NICKLOLAS       HOWARD                    UT     90014471706
9B926416A51342   GEORGE          PIERRE                    OH     66069634160
9B926643591882   BRIANNA         HARPER                    OK     90006796435
9B92671377B444   BRAD            GATEWOOD                  NC     90012757137
9B927244972B98   JEANNIE         DEANGELIS                 CO     90010112449
9B927595321929   THOMAS          IVEY                      IN     90012175953
9B927848891599   LUPE            AVEITIA                   TX     75042558488
9B927A24A5B565   ROSE            LIMASTER                  NM     90011810240
9B927AA715B371   NOEMI           RAMIREZ                   OR     44558750071
9B92812715B548   EMILIO          REYNA                     NM     35091571271
9B928466533698   SELLY           KIM                       NC     90011664665
9B92861722B27B   CERA            WILLIAMS                  DC     90014816172
9B92869A572B43   ANGEL           RODRIGUEZ                 CO     90003316905
9B92872335B548   EMILIO          REYNA                     NM     90010637233
9B928961451342   ROJER           RIVERERA                  OH     90013659614
9B928A8965B565   CHANDRA         CROPPER                   NM     90003370896
9B929286161979   REED            LANGLOIS                  CA     90007152861
9B929626455951   CRYSTAL         MENDOZA                   CA     90012546264
9B92982112B891   HEATHER         KECKHAFER                 ID     42017718211
9B92B29A472B56   MARK            NELSON                    CO     90007242904
9B92B76235B548   NORMA           RODRIGUEZ                 NM     35093647623
9B92B815A4B949   PAMELA          FORD                      TX     90003488150
9B92B88195B565   NICOLAS         MADERA                    NM     35059248819
9B9312A2255957   SARAH           BARELA                    CA     90013022022
9B931456172B42   NATHALY         SANCHEZ                   CO     33038904561
9B931531891951   THOMAS          LITTLE                    NC     90003125318
9B931564877537   MARIA           SILVA                     NV     43038995648
9B93179338B152   KRISTEN         ACOSTA                    UT     90014467933
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1967 of 2350


9B93182173164B   JUAN         GUERRERO                     KS     90013528217
9B93243A472B42   ETHEL        CHANEY                       CO     33061324304
9B932615991599   DANIEL       MUNOZ                        TX     90005936159
9B93316992B27B   LENETTE      BISHOP                       DC     90012871699
9B933184141296   AMBER        HARBISON                     PA     90014931841
9B933345472B62   CRYSTAL      ESQUIBEL                     CO     90011043454
9B93337AA8B188   CINDY        GIBBS                        UT     31034253700
9B93352312B891   ALFRED       STOFFER                      ID     42077525231
9B933A2935B383   DENISE       WOODS                        OR     90012120293
9B934142297B59   JUAN         ZAMORA                       CO     90011541422
9B9344A6472B42   GILBERTO     VALENZUELA                   CO     33097054064
9B934511772B32   PORSHA       MIKAHAIEL BREWTON            CO     90013775117
9B934959976B42   DAVE         HILL                         CA     90012689599
9B93499148436B   HANNAH       CROY                         SC     90010329914
9B935424872B32   MICHELLE     HAMM                         CO     90003674248
9B935838291951   ANTONIO      SANTOS CASTILLO              NC     90013848382
9B93589A897B59   SERENITY     GRIFFITH                     CO     90013128908
9B93597894B588   MARLON       FERGUSON                     OK     90012979789
9B93617182B27B   BOBBY        BRADLEY                      DC     90012871718
9B9361A9891882   SUSAN        COUNTRYMAN                   OK     90011481098
9B936777172B56   LAURA        GARCIA                       CO     33047887771
9B936872881634   MIRACLE      BROWN                        MO     90013618728
9B937178A2B27B   KENDRA       EVANS                        DC     90012871780
9B937533961979   MARTHA       PEREZ                        CA     90014615339
9B93794827B444   KENDRA       CUNNINGHAM                   NC     90002659482
9B93827A855957   JORGE        JACINTO                      CA     90013312708
9B938496272B56   JORGE        ROCHA                        CO     33036004962
9B93849A666B34   JACQUES      MUTELA                       MO     90013974906
9B938598872B62   DIANNE       MIRANDA                      CO     90012015988
9B93918278436B   RONALD       JACOBSEN                     SC     90014701827
9B939245141296   LISA         BATTLE                       PA     51090962451
9B9392A665B241   CLARISSA     MILES                        KY     90013132066
9B939525451342   DARNELL      JOHNSON                      OH     66008395254
9B9399A2591882   PHILLIP      STONE                        OK     90013159025
9B939A2568B188   JOESPH       STRASBURG                    UT     90013620256
9B939A61872B56   YVONNE       CARSTEN                      CO     33079480618
9B93B63895B371   SARA         GOWER                        OR     90014806389
9B93BA8667B396   BOBBY        POOLE                        VA     90008990866
9B941616931479   ARTHUR       HERR                         MO     90009746169
9B941718697B59   ALFRED       SANDOVAL                     CO     90014337186
9B942218561979   VANCE        HIVORAL                      CA     46086352185
9B94254A472B42   VERONICA     ZANTELLO                     CO     33096105404
9B942585A91599   ANTONIO      FLORES                       TX     75098905850
9B942783155957   MARK         NEAL                         CA     49078737831
9B942862161977   MONICA       BEJARANO                     CA     90012878621
9B942979A31448   PAULINE      BURT                         MO     90001429790
9B942A75981628   LEE          CRITES                       MO     90010680759
9B943151681635   KRYSTAL      SAMS                         MO     90011161516
9B94343A87B444   HARRY        DALEURE                      NC     90014984308
9B943474251342   LARISSA      THOMAS                       OH     66009784742
9B94352625B399   GABRIELA     ESTEBAN SOTO                 OR     90013385262
9B943535371928   SHAWNA       STEIR                        CO     90011145353
9B943577A41296   TAMECA       EKUNFEO                      PA     90009725770
9B943623772B42   AMBER        EASLEY                       CO     90011926237
9B944256172B3B   GREGORIA     FLORENTINO                   CO     33041892561
9B944373361924   AMERICA      ALGANDAR                     CA     90012593733
9B9443AA54B588   SARA         PATTERSON                    OK     90008913005
9B94444467B481   MARTHA       BROWN                        NC     90012354446
9B94469A872B42   SANTANA      THOMAS                       CO     90014636908
9B944757561558   JESSICA      NIKHAIL                      TN     90015537575
9B945211841296   ANGELIC      LEWIS                        PA     90014932118
9B9456A7A97B59   OCTAVIO      NERIA                        CO     90008976070
9B945712755951   TIFFANY      LOPEZ                        CA     90010217127
9B945788972B3B   NINA         GALLEGOS                     CO     90009267889
9B94581452B891   TIFFANY      AGANS                        ID     90011868145
9B94585A62B891   VERNON       DOUGAL                       ID     90007448506
9B945946381634   SHAKEENA     STRICKLAND                   MO     90013209463
9B945969291521   IVETTE       MONTESINOS                   TX     90014039692
9B945A48772B42   JANESSA      ACOSTA                       CO     90013990487
9B946674372B42   ANTHONY      SANCHEZ                      CO     33068526743
9B946713651342   REGINA       CHANEY                       KY     90009237136
9B9468A6361979   MARTHA       FAJARDO                      CA     90009428063
9B947224672B98   GONZALES     ANTONIA                      CO     33018812246
9B947935931431   KIM          LANE                         MO     90006889359
9B94793A691599   CYNTHIA      VASQUEZ                      TX     75054659306
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1968 of 2350


9B94797655B548   ROBERT          VOSS                      NM     90015069765
9B94817A14B588   SHELBY TAYLOR   BARNHART                  OK     90011401701
9B94826A991599   ADRIAN          NAVARRO                   TX     90012032609
9B94849234B235   LAMUNA          YUVAN                     NE     90007404923
9B948685741296   DINO            ROTHRAUFF                 PA     90009296857
9B9486A9161977   LILIANA         MARTINEZ                  CA     90011866091
9B948987191399   ROBIN           PATTERSON                 KS     90014029871
9B949553372B3B   MOISES          GOMEZ                     CO     33042775533
9B9498A782B981   DAVIA           FUGATE                    CA     45004468078
9B949979661979   JILAS           CHRISTIAN                 CA     90010299796
9B94B152991599   RICHARD         PEREA                     TX     75030821529
9B94B33A277537   KATHRYN         MARTIN                    NV     90015243302
9B94B64315B548   LUZ             COPAS                     NM     35072426431
9B94B864991399   FRANCISCO       URRUTIA                   KS     90005738649
9B951189272B98   RHONDA          BECK                      CO     33046641892
9B951216355957   KENNETH         WALLACE                   CA     90013022163
9B951234255957   MARINA          TORRES                    CA     90009542342
9B951328677537   DAVID           KIRK                      NV     90014573286
9B951914593778   NATHANAEL       SPRINGER                  OH     90010749145
9B95199745B371   CATHERINE       BIGLER                    OR     90013159974
9B952381791599   HERNANDES       JAMES ALEXANDER           TX     90013093817
9B95243675B383   ARMONDO         PARKER                    OR     90011004367
9B952718393778   RICH            HAMMOND                   OH     90006377183
9B952A8878B188   TOETU           PILIMAI                   UT     90013620887
9B95319655B383   KRISTINA        LEWIS                     OR     44506111965
9B953337172B62   MICHAEL         LOGAN                     CO     33039863371
9B95341A52B27B   DARNELL         MCNIEL                    DC     90014794105
9B953525A3164B   WILMA           FOSTER                    KS     22022625250
9B9537A735B371   JENNIFER        WILDER                    OR     44511727073
9B95389198B152   GAMBINO         GONZALES                  UT     90014758919
9B95422833164B   KELLI           BUTLER                    KS     90013302283
9B954777377537   PAULA           DAVIS                     NV     90006577773
9B9551A8393755   ANGEL           SANCHEZ                   OH     90001941083
9B9554A848B152   MOTA            LOURDES                   UT     31054104084
9B95552272B27B   ELIZAH          HUNTER                    DC     90014735227
9B95595218436B   ANDREA          GARVIN                    SC     90000269521
9B955A15844299   SABRINA         SAENZ                     CA     90012440158
9B95613368B152   SUBRINA         BOEHLENDORF               UT     31006461336
9B956249855951   JOHNATHAN       NOLEN                     CA     49041772498
9B956432293778   KENNETH         TOLIVER                   OH     64529954322
9B956468772B62   CAMERON         WARRINER                  CO     90006244687
9B956815472B62   LORI            MCPHERRON                 CO     90014728154
9B956821751342   ROB             MERGY                     OH     90014668217
9B95685783B331   LAN             COUMBASSA                 CO     90009048578
9B956896691524   MELISSA         LUGO                      TX     90007448966
9B956A4882B27B   KENNETH         LAMB                      DC     90012580488
9B956A71872B32   JOHN            VERNETTI                  CO     90009150718
9B957277481635   KRISTIN         MAHONE                    KS     29003542774
9B957319272B56   ROSALINDA       OROCIO                    CO     33044653192
9B957363272B42   LATISHA         WRIGHT                    CO     90012663632
9B95752272B27B   ELIZAH          HUNTER                    DC     90014735227
9B95766435B548   SALLIE          VALENZUELA                NM     90011916643
9B957A6448436B   GEORGE          HEINEN                    SC     90014840644
9B958739193755   SARA            HICKS                     OH     90007717391
9B958A6875B531   RON             CASIAS                    NM     35003720687
9B959351A4B588   JESSICA         WOLF                      OK     21564563510
9B959372197B59   PETRA           SCHIEBERL                 CO     39015473721
9B959A46372B56   JOE HIGINO      MEDINA                    CO     90014870463
9B95B26862B268   JERRY           BLACKSTON                 DC     81019732686
9B95B41A18B152   LUPE            CONTRERAS                 UT     90013424101
9B95B684461977   RALPH           EDWARDS                   CA     90013996844
9B95B793791599   HILDA           REYES                     TX     90006267937
9B961561872B78   NAOMI           HUGHES                    CO     90004865618
9B961588381634   ROSA            SILIEZAR                  MO     90012015883
9B9615A5972B56   DANIEL          ALMANZAN PRIETO           CO     90010845059
9B961872A55957   TAMARA          ZEPEDA                    CA     90011438720
9B961936772B3B   MARIA           FERREIRA                  CO     33024589367
9B96216478B188   MARIA           AVILA                     UT     90013621647
9B962224897B59   MARCELA         SIERRA-ROJO               CO     39098032248
9B96224634B554   TERESA          GREEN                     OK     90004792463
9B96243512B891   LOIS            HORN                      ID     42038304351
9B96247435B565   IRMA            RODRIGUEZ                 NM     35091924743
9B962A4A141296   YOLANDA         OTT                       PA     51044120401
9B96322942B27B   BRANDI          TAYLOR                    DC     90012872294
9B96324715B548   SALVADOR        VERGARA MEJIA             NM     90006172471
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1969 of 2350


9B96325417B444   AMBER            TAYLOR                   NC     90011382541
9B96341A58B175   ARLET            SALINAS                  UT     90014834105
9B9634A2672B3B   MARIA            ORTEGA                   CO     90006974026
9B9636A5761979   LAUREN           LEVARIO                  CA     46072146057
9B963756691951   ANTOINE          BALDWIN                  NC     17068327566
9B963926477537   KAYLA            RAZO                     NV     90009409264
9B963A75851342   TALITA           PEGNO                    OH     90008480758
9B96419788B175   KRISTY           CARRILLO                 UT     31003381978
9B964415A4B588   MICHAEL          LITTLE                   OK     90014524150
9B964425191599   ALBERT           SALAZAR                  TX     75038094251
9B96442867B444   LATESHIA         POLK                     NC     90014874286
9B96468572B891   ELDAN            HAMZIC                   ID     90014486857
9B964965A51342   TANEE            POPE                     OH     90010069650
9B965987172B42   MARIA DE PILAR   MEDINA VELAZQUEZ         CO     90011679871
9B96632AA81635   EVA              PEREZ                    MO     29033313200
9B966637171936   CLIFFORD         TORRES                   CO     90009796371
9B966862161979   RENITA           STEWART                  CA     46084208621
9B96697A15B531   CARLINE          MARTINEZ                 NM     35065329701
9B967252755935   PEDRO            BARAJAS                  CA     48037462527
9B967299891599   MIKE             PEOPLES                  TX     75043772998
9B967454772B56   MYRA             GUTIERREZ                CO     33080514547
9B967561772B43   LUIS             VALLES                   CO     90006725617
9B967723461979   MARIO            NAVARRO                  CA     90014797234
9B96789432B891   BU               DAH                      ID     90012688943
9B9681A7A57183   STACIE           SCOTT                    VA     90010601070
9B96845575B548   SHARANDA         SANCHEZ                  NM     90015144557
9B968974977537   TERRY            BALLARD                  NV     43035429749
9B968979972B62   CELIA            ARRIAGA                  CO     33073769799
9B969277255957   BRENDA           AVINA                    CA     90013022772
9B969431672B43   BLANCA           SOLIS                    CO     90003314316
9B969556A91354   ROBERTO          PICHARDO                 KS     90002415560
9B969693141296   DEIRDRE          EDMOND                   PA     51002216931
9B96997A155928   SCOTT            PETERS                   CA     90008229701
9B96B286191882   BARBARA          TULK                     OK     21091922861
9B96B493171933   ARNOLD           CULLUM                   CO     33050664931
9B96B98A25B371   LARRY            KARASCH                  OR     90013159802
9B971438291599   CORAL            RANGEL                   TX     90014474382
9B97172983164B   DEZENNE          ADAMS                    KS     90012337298
9B97175713164B   ROBERT           MOSES                    KS     90013787571
9B971A5A172B56   MARIA            DE JESUS                 CO     90014870501
9B972214372B56   TRISA            PEREZ                    CO     90014872143
9B97226455B383   DANIEL           FILKINS                  OR     90012082645
9B972642A81634   VICTORIA         COBURN                   MO     90010696420
9B97274134B554   REGINA           FEDERICO                 OK     90014927413
9B97274724B588   JUAN             ESTRADA                  OK     90012787472
9B97277755B371   HENERY           THOMPSON                 OR     90011417775
9B972828491951   YONINA           POWELL                   NC     90000218284
9B972A58391521   ANTONIO          OLIVAS                   TX     90013850583
9B97312973164B   CRYSTAL          CARR                     KS     22010291297
9B973163A97B59   AMBER            MARTINEZ                 CO     90004871630
9B97347132B891   LOUIE            HANSEN                   ID     42047684713
9B9734A668B152   BAYLEE           MCQUIRK                  UT     90014714066
9B973745972B62   MARNIE           ANDERSON                 CO     33073817459
9B973A82A8436B   JESSE            SCHOFIELD                SC     90010450820
9B97467348B188   BLAS             MOCTEZUMA MAYO           UT     31034276734
9B9746A722B981   PAUL             JOHSON                   CA     45081276072
9B975441641296   GEORGETTE        PELKOFER                 PA     90007404416
9B97559214B588   DARNELL          MYLES                    OK     90012525921
9B975663991399   SAMUEL           MADRIGAL                 KS     29044096639
9B9761A9891882   SUSAN            COUNTRYMAN               OK     90011481098
9B976719891599   TORREAN          PARKER                   TX     90010967198
9B977126A5B548   MELISA           STARKS                   NM     35043521260
9B97745662B891   BILL             BARNETT                  ID     90005634566
9B977471672B98   ERIC             HARDER                   CO     90010394716
9B977578A61979   CYNTHIA          RODRINGUEZ               CA     90015095780
9B9781A2872B32   FABIOLA          GONZALEZ                 CO     90013461028
9B978264731447   MONTEZ           BURKS                    MO     90013212647
9B978281133698   PAYGO            IVR ACTIVATION           NC     90009452811
9B978312993778   DAISEY           BOMAN                    OH     64504863129
9B97864655B383   ANGEL            CATZIN                   OR     90005816465
9B978813861979   CLAUDIA          AGUILAR                  CA     90014088138
9B9788A468B175   MINDIE           DAVIS                    UT     90009868046
9B978A26877537   LAURA            AGUIRRE                  NV     90006160268
9B979558155951   MELISSA          CLAYTON                  CA     90013775581
9B979975291599   JORGE            OLIVARES                 TX     90015259752
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1970 of 2350


9B97B442351342   MARKIA        BOWERS                      OH     90014864423
9B97B478391521   ALFRDO        BALENZUELA                  TX     90007924783
9B97B51239712B   DARRELL       CLINE                       OR     44040195123
9B97B62715B371   AMBER         YARBOROUGH                  OR     44511486271
9B97B636977537   LILY          HARIAN                      NV     90012516369
9B97BA8622B27B   CAROLYN       WRIGHT                      DC     90012900862
9B981128272B62   JOSE          CONTRERAS                   CO     90004491282
9B981259A5B334   GARY          LLOYD                       OR     90008702590
9B98157A52B981   DAWN          YANEZ                       CA     90012685705
9B981655385689   SERGIO        ROSARIO                     NJ     85017566553
9B981817161977   CESAR         BELTRAN                     CA     90012708171
9B98189695B565   GEORGE        MARTINEZ                    NM     90003338969
9B982126181634   DAVID         MCCLENTON                   MO     90007771261
9B98219665B565   OLIVIA        PEREZ-SOSA                  NM     90011811966
9B982256A41296   DEBORAH       PATTERSON                   PA     90014932560
9B98256464B235   TRAVIS        FRANKLIN                    NE     90008545646
9B98279894B554   MICHAEL       NEWLIN                      OK     90014927989
9B9827A4472B43   LUIS          DIAZ                        CO     33083707044
9B982847872B3B   TOMY          MARTINEZ                    CO     90005458478
9B98348A577537   PAULA         DAVIS                       NV     90013264805
9B98349698436B   DEBRA         COOLER                      SC     90012384969
9B984263872B56   JOE           TOBAR                       CO     90013752638
9B98427595B383   DAWN          BOUTWELL                    OR     90014562759
9B984342555957   SHANNA        BATLEY                      CA     90013663425
9B985119672471   STEPHANIE     PRYOR                       PA     90009871196
9B985167672B43   SAMUEL        LAYTON III                  CO     33039781676
9B985414241296   JON           POLODON                     PA     90013064142
9B985924751361   JAMIEE        GRIGGS                      OH     66076149247
9B98597295B548   BENJAMIN      CHAVEZ                      NM     35006079729
9B986175391599   MAURICIO      CAMPUZANO                   TX     90010731753
9B986179272B98   BETTY         CHAVEZ                      CO     33089321792
9B98625724B235   SHIRLEY       THORSON                     NE     90003162572
9B986268291521   ALEX          VALENZUELA                  TX     90014712682
9B98666A497B59   PRISCILLA     WEDDERDURN                  CO     90014666604
9B9866A567B429   PHYLLIS       WHITLOCK                    NC     90010296056
9B98724587B393   MARIELA       NUNEZ                       VA     90001212458
9B987322593755   LARRY         MANLEY                      OH     90011563225
9B98744425B599   MISTEEQ       VIGIL                       NM     90010714442
9B987591A5B383   SUSAN         CROSSMAN                    OR     44592885910
9B987817461979   RIGOBERTO     LIRA                        CA     90000828174
9B987817755951   ANITA         CASTILLO                    CA     90014698177
9B98782474B554   CRAIG         IVY                         OK     90014928247
9B987A78191599   ANDRES        RAMIREZ                     TX     75030830781
9B988857555957   JAVIER        MADRIGAL                    CA     90014478575
9B9889A3691599   CRYSTAL       MERAZ                       TX     75063729036
9B988A53391951   CHARISSE      ANDERSON                    NC     90014690533
9B989118251342   TAYLOR        VOGEL                       OH     90013431182
9B989183255951   SUSANA        IBARRA                      CA     90014231832
9B98974675B565   ALBERTO       TARANGO                     NM     90000537467
9B98977724B588   SHAYLA        GARRETT                     OK     90011167772
9B989793261979   MARIA         TORRES                      CA     90012907932
9B98B376391399   GUADALUPEE    MIRANDA                     KS     90005743763
9B98B55A75B531   YANET         FLORES-TOBANCHE             NM     90006325507
9B98B63672B981   ANDREA        DELGADO                     CA     45042016367
9B98B82A661979   KASSANDRA     COVARRUBIAS                 CA     90013968206
9B98BA8672B891   ANDREW        KEELE                       ID     90008450867
9B991155981635   ANTONIO       GAITAN                      KS     90015071559
9B991245772B42   HILDEBERTO    MORALES                     CO     33062292457
9B991353672B3B   MICHELLE      LOVATO                      CO     90009333536
9B991436861977   CAMERON       IBRAHIM                     CA     90012094368
9B991534651541   ADUM          TEREZA                      IA     90009295346
9B991558A4B554   YADIRA        PORRAS                      OK     90012815580
9B9916A7333698   CHRIS         WIGGS                       NC     90014906073
9B991838761977   CHRISTOPHER   BURGESS                     CA     90013548387
9B992443291526   ELVIA         ESTELLA                     TX     90010574432
9B99255A391599   JESSICA       RIOS                        TX     90012625503
9B992832A97B59   JUDITH        VASQUEZ                     CO     90013458320
9B99296254B554   MICHAEL       RAKESTRAW                   OK     90004269625
9B993163991521   ABIGAIL       GARCIA                      TX     75011741639
9B9935AA92B981   STEVEN        CURL                        CA     90007285009
9B99364393164B   CODY          BAKER                       KS     90010926439
9B993A86377927   ASHLEY        LESNIEWSKI                  IL     90012330863
9B993AA7461977   TEMY          GONZALEZ                    CA     90012350074
9B994265672B42   RAYMOND       FAZ                         CO     90012182656
9B99438272B891   WENDY         STEWART                     ID     90001373827
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1971 of 2350


9B99457563164B   DAVID         KIMBERLIN                   KS     90015245756
9B99471768436B   TARA          TROTTER                     SC     19055057176
9B994843791951   CHANESHA      RAGLAND                     NC     90013678437
9B9948A728B175   KENDELL       MCCALLISTER                 UT     90013158072
9B99491645B371   TANYA         BARKER                      OR     90014699164
9B995225A5B565   KATHRYN       WILLIAMS                    NM     90011812250
9B99534518436B   HERBERTO      GARCIA-LOPEZ                SC     90004823451
9B995433991368   JUAN          MACIAS                      KS     90007204339
9B995492881634   MISTY         WHITE                       MO     90008084928
9B995539191599   LUIS CARLOS   NARANJO                     TX     90012585391
9B99579765B371   JOSHUA        OSTEEN                      OR     90013937976
9B995864897B59   TIRZAH        ADAMSON                     CO     39019058648
9B996258A5B565   MARY          SILVA                       NM     35056562580
9B996345461977   JONATHAN      MIRANDA                     CA     90012803454
9B996351881634   MARY          JOHNSON                     MO     29059003518
9B996A6728436B   VALARIE       RIVERS                      SC     90013600672
9B9971A3172B98   RICK          BIZICKI                     CO     33079801031
9B997246172B3B   GUILLERMO     MELENDEZ                    CO     90007122461
9B997273591951   LUIS          ZETINO MENDEZ               NC     90009842735
9B997319991599   UBALDO        GOMEZ                       TX     90010343199
9B997374572B56   JESUS         ABREGO                      CO     90000703745
9B997634681634   SERGIO        RODRIGUEZ                   MO     29002516346
9B9976A855B332   RATTANA       SAN                         OR     90009266085
9B997762733698   ANA           SANCHEZ                     NC     90012027627
9B997883161977   RUBEN         BARRIOS                     CA     90004308831
9B997A7342B27B   SHAWNTEE      ROWE                        DC     90011060734
9B99815A793769   TIFFANY       MANNS                       OH     64515021507
9B99822584B235   CANDICE       WILLIAMS                    NE     27037882258
9B99825A25B531   KYLE          COOLER                      NM     90008332502
9B998277A5B398   ELIBERTO      LOPEZ                       OR     44081772770
9B998346251342   JESSICA       KLEIMAN                     OH     90014713462
9B99838A57B444   PORSCHE       SEARLS                      NC     90004203805
9B998392793755   ALEX          JOHNSON                     OH     90000993927
9B9983A3791599   RICARDO       RAYGOZA                     TX     75035943037
9B99853915B371   MEL           LINDSAY                     OR     90002335391
9B998A57372B56   SARAI         MENDOZA                     CO     90014870573
9B99915715B398   NATASHA       RYDER                       OR     90010691571
9B99915949188B   COEKIE        MAXWELL                     OK     90010021594
9B999187551342   CARL          WALKER                      OH     90015181875
9B999313172B98   ANDRES        FLORES                      CO     33040363131
9B99931A24B235   CHRISTINA     COSTANZO                    NE     27062583102
9B999533961979   MARTHA        PEREZ                       CA     90014615339
9B999963457129   LYNN          ASHTON                      VA     90003639634
9B999A23272B42   MENDOZA       ALFREDO                     CO     90015190232
9B99B31638B188   KARI          HOLDING                     UT     90013623163
9B99B374572B56   JESUS         ABREGO                      CO     90000703745
9B99B38913164B   ASHLEY        PARKS                       KS     22006273891
9B99B532797B59   SUSAN         JENNINGS                    CO     39049565327
9B99B5A4572B3B   ROBERTO       CONTRERAS                   CO     90003995045
9B99B5A5877344   EDDIE         ORLICH                      IL     90015475058
9B99B96188B152   LAURA         APARICO                     UT     90013259618
9B9B1A43772B56   NATASHA       MARITINEZ                   CO     33072540437
9B9B1A4942B27B   LUCIA         MELENDEZ                    DC     81050710494
9B9B2285733698   CASSANDRA     GILMER                      NC     90012692857
9B9B2489A8B336   MARIA         LOPEZVELEZ                  SC     90014524890
9B9B2722155957   DARLENE       MONTOYA                     CA     49085607221
9B9B2971431467   MIKO          GRAHAM                      MO     90002429714
9B9B2A47772B56   SALLY         MARQUEZ                     CO     33033090477
9B9B3182255957   KENNETH       WHITE                       CA     49038691822
9B9B3473291368   GARETT        JOHNSON                     KS     29063364732
9B9B3592493778   BRITTANY      BARNES                      OH     90014545924
9B9B3681561979   PEDRO         SALAZAR                     CA     90014796815
9B9B38A378436B   URIEL         PEREZ                       SC     90014828037
9B9B422755B531   REGINA        GARCIA                      NM     90014802275
9B9B4299391882   JUAN          OLVERA                      OK     90003422993
9B9B438A261977   ANGELICA      UZARRAGA                    CA     90011183802
9B9B4698131651   AMBER         MARZAN                      KS     90011626981
9B9B4882A2B27B   NICOLE        ADAMS                       DC     90001258820
9B9B4A92781635   HEATHER       PARRY                       MO     90015120927
9B9B557A161979   ANDRE         SORIANO                     CA     90003945701
9B9B562838B198   ALFREDO       ORDONES                     UT     90000916283
9B9B5882797B59   GISELLE       CARTER                      CO     39094988827
9B9B5952891526   BEATRIZ       FRANCO                      TX     90009199528
9B9B6172872B98   JEMMY         HENRY JR.                   CO     33046641728
9B9B62A447737B   JUAN          CASTRO                      IL     90013812044
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1972 of 2350


9B9B6728793769   BERNARDO       SANCHEZ                    OH     90006507287
9B9B681655B383   GENA           BIDEMA                     OR     44535648165
9B9B695A377537   ANDREW         LEEPER                     NV     90011219503
9B9B78A172B891   RAYMOND        VIDALES                    ID     90012028017
9B9B8214672B32   DANIEL         RODRIGUEZ                  CO     90013852146
9B9B8314572B3B   LISSETH        CHAVEZ                     CO     33088063145
9B9B8744672B56   REGINA         WEBB                       CO     90010557446
9B9B8A2688B175   MICHAEL EARL   PACKHAM                    UT     90004800268
9B9B914525B371   SAMUEL         HERNANDEZ                  OR     90014871452
9B9B925968B175   ADAM           SCHWERDT                   UT     90010812596
9B9B9416891951   RONALD         ROPER                      NC     90013764168
9B9B94A3181634   NACY           TAMEZ ULLOA                MO     90011244031
9B9B963412B27B   RANDY          THOMAS                     DC     90011346341
9B9B9681561979   PEDRO          SALAZAR                    CA     90014796815
9B9B993665B531   GLORIA         CHAVEZ                     NM     35092489366
9B9B9991281669   RAIVEN         HOSE                       MO     90011249912
9B9B99AAA4B235   HELEN          VISOCKY                    NE     27079989000
9B9B9A8A981635   HOPE           ROBERTSON                  KS     90001980809
9B9BB177572B3B   VERONICA       ALCAREZ                    CO     90014831775
9B9BB219251342   CASANDRA       DALLAS                     OH     66073742192
9B9BB272755957   MARCELO        DIAZ                       CA     90015182727
9B9BB45184B554   ANA            GARCIA                     OK     90014924518
9B9BB48478B138   JAMES          TAYLOR                     UT     90009144847
9B9BB565677537   STEPHANIE      JARAMILLO                  NV     43046985656
9B9BB569972B42   JERRI          HARRIS                     CO     90012735699
9B9BB931772B32   LUIS           DE LA TORRE MARTINEZ       CO     33018679317
9BB1142225B531   LINDA          GARCIA                     NM     35005524222
9BB115AA633698   JOHNNY         THORPE                     NC     12083775006
9BB11623791521   CARLOS         GONZALEZ                   TX     90011286237
9BB11663491882   CHRISTOPHER    HALEY                      OK     90013076634
9BB12298272B32   NATHAN         MIDDLETON                  CO     90010282982
9BB12436872B3B   SUJEY          JUAREZ                     CO     33095804368
9BB12763772B62   LOPEZ          OCTAVIO                    CO     90012347637
9BB12878272B56   SARAH          HOLLEY                     CO     90014808782
9BB1289218436B   SAMANTHEIS     CAMPBELL                   SC     90008228921
9BB129A3697B59   FERNANDO       LUIS                       CO     90014159036
9BB12A36271945   RUSSELL        BODE                       CO     90003970362
9BB132A187B389   NURIA          GARCIA                     VA     81012582018
9BB1353A672B62   NICHOLAS       ALGER                      CO     90013695306
9BB1354A951342   PRECIOUS       PRICE                      OH     90009015409
9BB1361323164B   CURTISS        HOWARD                     KS     90013096132
9BB13A41891544   DAWN           RATHBUN                    TX     90014300418
9BB14194A5B531   DEBBIE         WEBB                       NM     35053031940
9BB14593981635   SELVIN         RAMIREZ                    MO     90001305939
9BB14954791521   FRANCISCA      MILLARD                    NM     75069499547
9BB14A98255957   ANDRES         PARRA                      CA     49049770982
9BB1566585B548   ANDRES         DAZA-GOVEA                 NM     35088116658
9BB1568654B554   SAMANTHA       GREGORY                    OK     90014806865
9BB1574428B175   JESUS          LUQUE                      UT     90005397442
9BB15895A54197   CHRISTOPHER    HENNESS                    OR     90008738950
9BB15987261979   MYRIAM         VERDUZCO                   CA     90014839872
9BB1645874B554   JOSE           FRANCISCO                  OK     90004124587
9BB16648A72B42   CHANTELL       LUJAN                      CO     90013906480
9BB16A7435B383   JAMES          WEATHERSPOON               OR     90011010743
9BB17153941296   NIKAYLA        CHANEY                     PA     90014731539
9BB1736185B288   KYLE           CURL                       KY     90010113618
9BB17371933698   REBECCA        INGRAM                     NC     90004203719
9BB1752315B383   NAVELLIE       CLARK                      OR     90002775231
9BB179A7172B43   PAIGE          BUTKUS                     CO     90003299071
9BB18138472B42   MARIAH         MONTANO                    CO     33062321384
9BB18334391521   AMANDA         RENTERIA                   TX     75030383343
9BB18391955957   OSMEIL         AMADOR                     CA     90011193919
9BB188A975B383   SHERRY         OWENS                      OR     44505158097
9BB1913A672B56   MELINDA        MORALES                    CO     33093661306
9BB1923787B444   CHAPPIE        DEAN                       NC     90006632378
9BB19258591882   CLINT          ELAM                       OK     21064642585
9BB19575A2B27B   LAMONT         WILKS                      DC     90011015750
9BB19645577537   MAYA           BRITO                      NV     90014786455
9BB1974744B554   TAQIYA         WRIGHT                     OK     90014817474
9BB19791981634   ARMANDO        FERNANDEZ                  MO     90012047919
9BB1984348436B   KIMBERLY       WALKER                     SC     90013788434
9BB1B356961979   MANUEL         PADILLA                    CA     90006733569
9BB1B52985B371   CALVIN         CURRY                      OR     90007735298
9BB1B71642B27B   SYDNEY         TOLER                      DC     90011747164
9BB1B86338436B   TAYLIN         GREENE                     SC     90014118633
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1973 of 2350


9BB1B8A718B152   BRIGHT         ANDREW KEITH               UT     90009628071
9BB1B94264B588   LATOYA         RELEFORD                   OK     90013609426
9BB1B978972B32   KARLA          QUINTANA                   CO     90013999789
9BB21132A91951   JANAY          WILLIAMSON                 NC     17062561320
9BB2113A672B3B   MELINDA        MORALES                    CO     33093661306
9BB21291341296   REMIKA         MCCORMICK                  PA     90009582913
9BB2142673164B   SHARRON        WILLARD                    KS     90013354267
9BB2159367B444   CARLOS         MORALES                    NC     90011845936
9BB21A96981635   JAMES          JENKINS                    MO     90007260969
9BB2219658B175   ALEX           WILLIAMS                   UT     90010341965
9BB22257272B56   JULIE          NKOKA                      CO     33048192572
9BB22261491547   ESTHER         TAYLOR                     TX     90011792614
9BB22648861979   DANIEL         SALAS                      CA     90011376488
9BB22811655951   ROCIO          ARREOLA DE LEON            CA     90015128116
9BB231A9393755   ERIKA          CLARK                      OH     64583841093
9BB23283A51325   STACEY         BROWN                      OH     90008532830
9BB23376672B98   BRANDON        BUDERUS                    CO     90010393766
9BB23469555957   CHRISTINA      IMELL                      CA     49027854695
9BB23682572B62   ARMANDO        FERNANDEZ                  CO     33071276825
9BB23866943584   GAVIN          ROGERS                     UT     90012508669
9BB23A2A372B42   EDWIN          RUBIO                      CO     90015190203
9BB2417422B981   SAMUEL         CAHOW                      CA     90010961742
9BB24257272B56   JULIE          NKOKA                      CO     33048192572
9BB2425855B548   MICHELE        MAURER                     NM     90006332585
9BB2447A69712B   RANDY          JOHNSON                    OR     44003234706
9BB2454638B18B   EMRAL          OZZEHIR                    UT     90002515463
9BB24AA8681635   RUBY           VANNORMAN                  MO     29031460086
9BB25341533B2B   CATHI          BIRIS                      OH     90015033415
9BB25371891599   ERIC           GAMBOA                     TX     90003923718
9BB2548258B175   ROBERT QUINN   ADAM                       UT     90012284825
9BB25653672B56   KEVIN          MCGILLICK                  CO     33083816536
9BB25832191882   JONATHAN       PHILLIPS                   OK     21011348321
9BB2585A161979   MARIA          FIELD                      CA     46076388501
9BB259A4872491   LISA           FINNEY                     PA     90001569048
9BB26284297B59   JOSEPH         CARTWRIGHT                 CO     90013662842
9BB26473672B42   PAYGO          IVR ACTIVATION             CO     90013604736
9BB26654A72B62   VERONICA       HILT                       CO     33091816540
9BB26897351367   GLORIA         RICHARDSON                 OH     90005878973
9BB26A3A872B98   JAY            SMITH                      CO     90011290308
9BB27165A72B56   EMMANUEL       ORTEGA                     CO     33081461650
9BB2734A92B891   KYLEA          DARRAH                     ID     42043603409
9BB27629A2B981   ALI            ALHOMAIDI                  CA     90012356290
9BB27822A93755   KEVIN          PITTMAN                    OH     90014568220
9BB281A4A5B565   FIDEL          MALDONADO                  NM     90007211040
9BB2839975B531   MARCO          ZUBIA                      NM     90013293997
9BB28582781635   TYISHA         MODRE                      MO     90011155827
9BB2899735B383   TANYA          UMERENKO                   OR     90003519973
9BB2916588B181   COREY          FRYER                      UT     31035331658
9BB2973324B267   EDDY           WUERFELE                   NE     90005377332
9BB29967155951   LUCY EVE       GARCIA                     CA     90004129671
9BB29974786427   CHRIST         SHUGHEO                    SC     90015269747
9BB29A73897B59   DANIEL         GARCIA                     CO     90012390738
9BB2B183955957   ABEL           HERNANDEZ                  CA     90012781839
9BB2B22673164B   ANDY           WHITE                      KS     90015232267
9BB2B31715B555   CELIA          DE-ANDA                    NM     90008103171
9BB2B371491599   CLAUDIA        TORRES                     TX     75098403714
9BB2B52985B371   MANUEL         OROZSO                     OR     90011745298
9BB2B556A3164B   SUSIE          PINO                       KS     22000905560
9BB2B7A294B949   WILLAM         WHITFEILD                  TX     76500527029
9BB2B942361979   JANETH         MEZA                       CA     90008159423
9BB3112582B27B   KENNETH        PAIGE                      DC     90011121258
9BB3162695B928   NELSON         CRUZ                       WA     90015416269
9BB31857155957   GRACE          DURAN                      CA     49027058571
9BB31864593755   CALLISON       AMANDA                     OH     90009038645
9BB31A6665B371   DEE ANN        PLUMPLEE                   OR     90010900666
9BB31A73891521   ADRIAN         ESPINOZA                   TX     90013070738
9BB32321A61979   BRIELLE        SELLERS                    CA     90010923210
9BB3244488B188   CORTNIE        BROOKS-HARDY               UT     31057684448
9BB32468972B98   FREDY A        CASTANEDA                  CO     33019804689
9BB32522A61973   CHARAINE       WOODS                      CA     90001385220
9BB32544A72B56   NORMA          MACIAS-HOLGUIN             CO     90014785440
9BB327A3577537   ROSALIO        SALAS- HERNANDEZ           NV     90014787035
9BB33332433698   MARCUS         SKEEN                      NC     12088763324
9BB33461693778   LISA           BEACH                      OH     90002804616
9BB3355585B383   DANIELLE       LANEY                      OR     90003095558
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1974 of 2350


9BB3379624B554   BARBARA          TERNES                   OK     90014807962
9BB33816872B62   LUIS             BIRRIEL                  CO     90013198168
9BB33914172491   SUZANNE          MUNDY                    PA     51031709141
9BB33A8A68436B   UNICA            BEAMER                   SC     90007670806
9BB33A99355957   NOE              VEGA                     CA     49091180993
9BB34414172B56   RAYMOND          TRUJILLO                 CO     33040394141
9BB3462A555957   MYRA             DELATOBA                 CA     90014146205
9BB34719481635   DAVID            PETERSON                 MO     90013157194
9BB34912877537   CLAUDIA          HERNANDEZ                NV     90011119128
9BB3495558B152   MARCI JO         UDY                      UT     90009369555
9BB34966793769   AUBRIE           MORRIS                   OH     90014529667
9BB353A2355951   JUAN             GUTIERREZ                CA     90012073023
9BB35429272B56   CHRISTINA        CHAVEZ                   CO     33012144292
9BB3543369712B   JANET            SHELTON                  OR     90011794336
9BB35A71761979   JENNIFER         PARKINSON                CA     46000940717
9BB35A9A78B152   JANA             DOBBINS                  UT     90012500907
9BB36115455951   ALISA            PATRICK                  CA     49074291154
9BB36158672B56   FABIOLA          ESTRADA                  CO     90011611586
9BB36314691521   NATALIE          ENRIQUEZ                 TX     90012443146
9BB36397647834   ALEJANDRA        NAVA                     SC     90007753976
9BB36532261977   ANTONIO          VARGAS III               CA     90009685322
9BB371A6761977   RENE             NAVARRO                  CA     90014831067
9BB3792A98436B   LILLIAN          BATISTE                  SC     19015739209
9BB37A56541296   MESTER           DANA                     PA     90012410565
9BB3865355B383   RAMON            CHUTA                    OR     90005536535
9BB3884878B197   EMERY            BRITTANY                 UT     90011638487
9BB3887738B152   HALEY ALYS       WALTERS                  UT     90006688773
9BB38A14751342   ANGEL            RILEY                    OH     90013930147
9BB38A86455951   JOSHUA           JACOBS                   CA     90010780864
9BB39113A41296   TAMESHEA         GODFREY                  PA     51074381130
9BB3927414B554   SANDRA           VALENZUELA               OK     21513592741
9BB39738861977   MARICELA         DOMINGUEZ                CA     90012657388
9BB39A49491969   LATASHA          HENDERSON                NC     90004010494
9BB39A7A672B3B   LUIS             RODRIGUEZ                CO     90009850706
9BB3B162493755   CHRISTOPHER      DECKER                   OH     90010271624
9BB3B75244B554   CHRISTOPHER      ROBINSON                 OK     90014807524
9BB3B767A47834   CHANTEL          BOBIAN                   GA     90013617670
9BB3B931493769   MARKCO           BANKS                    OH     90014489314
9BB3BA38272491   JONAH            TRAPUZZANO               PA     90010020382
9BB41251447834   RUTH SHAQUETTA   LEE                      SC     90009992514
9BB4136577B444   ISRAEL           REYES                    NC     11062423657
9BB414A125B383   ELONTENE         BANKS                    OR     90014834012
9BB41533672B43   REYNA            BARRERA                  CO     90006505336
9BB4171372B981   VANESSA          REED                     CA     90004777137
9BB4175A577537   JESUS            ALVAREZ                  NV     90014817505
9BB41841841296   JAYLYNN          YOUNGBLOOD               PA     51069558418
9BB41881255951   MATTHEW          COFFEY                   CA     49097058812
9BB4195788B175   CANDICE          SIMONS                   UT     90014759578
9BB41961977537   RICHARD          JAMES                    NV     43040699619
9BB41A3A872B98   JAY              SMITH                    CO     90011290308
9BB41A59291882   JAMAL            WOLFE                    OK     90011250592
9BB41A7A172B32   ALICE            FISHER                   CO     33025980701
9BB41AA6555975   BILLY'S          DRYWALL                  CA     90007950065
9BB4217422B981   SAMUEL           CAHOW                    CA     90010961742
9BB422A9A77537   JEREMY           JONES                    NV     90014792090
9BB42352972B56   JESUS            CRUS                     CO     33075713529
9BB4246233B361   AUBREY           SCHULZ                   CO     39004784623
9BB42687455957   JUAN             OROZCO                   CA     90012966874
9BB42917A55957   CINDY            DONALDSON                CA     90013459170
9BB43366355951   KOUAPOR          HER                      CA     90014443663
9BB4393A74B588   DOROTHY          UNDERHILL                OK     90012859307
9BB442AA881635   FRANCISCO        DE LA ROSA               MO     90015102008
9BB44829191521   MARTIN           BANDA                    NM     90013618291
9BB4532998B152   LOUISE           DIAZ                     UT     90011243299
9BB45413691599   MARICARMEN       MENDOZA DE RUIZ          TX     90013214136
9BB45461172491   JAMIE            BRANDT                   PA     90015454611
9BB4557185B565   LAURA            GONZALES                 NM     35091215718
9BB45687A61977   NORMA            ALICIA                   CA     90013066870
9BB45689555957   PHOEUTH          SEAP                     CA     90012966895
9BB45776161928   JESUS            PEREZ                    CA     90012977761
9BB45A17751342   JUAN             DIAZ                     OH     90007550177
9BB4618323164B   VINH             HA                       KS     90010521832
9BB46325172B42   CRISTINA         ARMENTA                  CO     90010913251
9BB46495A72B56   GAYLE            MANZANERAS               CO     90004104950
9BB4659935B383   TONY             FLAKE                    OR     90001555993
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1975 of 2350


9BB4668A172491   JASON        JACKSON                      PA     90015136801
9BB46957731949   PAYGO        IVR ACTIVATION               IA     90012629577
9BB4698625B531   PERLA        CARAVEO-LEDEZMA              NM     35091789862
9BB47212193769   IRENE        FLICK                        OH     64590712121
9BB47255761977   NORA         BARBOSA                      CA     90014362557
9BB4782753164B   JUDE         KASTER                       KS     90015398275
9BB47896A72B3B   BELIA        FERGUSON                     CO     33081588960
9BB4793287B24B   CAROL A      LEATHERWOOD                  AZ     90012729328
9BB47999191521   ADRIAN       LUGO LOPEZ                   TX     90014559991
9BB48242677537   LINDA        CONDON                       NV     90012052426
9BB4835277B444   KIM          CURL                         NC     90006443527
9BB48381872B56   IRENE        SALVIDREZ                    CO     90010843818
9BB48399672B62   MARISA       ANITA AMIN                   CO     33086483996
9BB48543591521   ANNEL        OJEDA                        TX     75096975435
9BB48559191951   ALFONSO      ZUNIGA                       NC     90015195591
9BB48612A93778   ALEXANDRIA   ALSUP                        OH     90010176120
9BB4868555B548   CHARLENE     RODRIGUEZ                    NM     35079486855
9BB486A6A55951   GEORGE       PERALTA                      CA     90001926060
9BB486A743164B   MARIA        ADAME                        KS     90014436074
9BB48767A47834   CHANTEL      BOBIAN                       GA     90013617670
9BB4885115B371   DAVID        JOHNSON                      OR     90014058511
9BB4921A447834   KODEISHA     JENKINS                      GA     90014622104
9BB49221993755   JONATHAN     BRANHAM                      OH     90012972219
9BB495AA14B235   RONELL       GRECO                        NE     27094105001
9BB49646972B3B   CRISELDA     PEREZ                        CO     33085886469
9BB49957381634   GUSTAVO      ZEPEDA                       MO     29008569573
9BB4B1A4555957   DAN          GRECO                        CA     90006521045
9BB4B37544B949   TYRONE       WILLIAMS                     TX     90015103754
9BB4B76494B554   ALYSHA       NELSON                       OK     90014817649
9BB4B82124B588   SONIA        SHUTT                        OK     90000808212
9BB4BA23172B62   ALEJANDRO    JABALERA                     CO     33089870231
9BB4BA51772B56   GONZALO      ESCARENA-DURAN               CO     33092070517
9BB51728497B59   KRYSTAL      FEHLMANN                     CO     90002587284
9BB517A512B252   SAUNDRA      ASANTE                       DC     81082917051
9BB51886591599   ROSA         ONTIVEROS                    TX     90014178865
9BB521AA555957   RICK         BIDEGAIN                     CA     90013521005
9BB526A1672B98   EROKA        THURMAN                      CO     90003096016
9BB52822391882   SANDRA       PATTON                       OK     21063198223
9BB52891172B3B   FRANK        PARISH                       CO     90013108911
9BB52975A41296   DAVID        OELSCHLAGER                  PA     90014889750
9BB53533672B43   REYNA        BARRERA                      CO     90006505336
9BB53761572491   JOHN         HAIRSTON                     PA     90007947615
9BB5396625B371   JACQUELINE   FACTOR                       OR     90015169662
9BB53A74472B62   DANIEL       DUGAN                        CO     90005840744
9BB54344477537   HEATHER      RODRIGUEZ                    NV     90014793444
9BB54414561979   REBECA       DOMINGUEZ                    CA     90006994145
9BB5455A972B98   PRIMITIVO    BRITO                        CO     90007105509
9BB54A47691951   TERRY        BRANDON                      NC     17004750476
9BB5537528B152   KAYLEEN      WRIGHT                       UT     31098273752
9BB55419A72B32   YAHAIRA      DORANTES                     CO     33045484190
9BB55462272B42   EUGENIO      SALAZAR                      CO     90011674622
9BB5569A491882   ADAM TYLER   JONES                        OK     90013076904
9BB55847A77537   VERONICA     BARAJAS                      NV     90009128470
9BB5595294B588   JAMES        SYKES                        OK     90012779529
9BB5625A63164B   LYDIA        WILLHITE                     KS     90015482506
9BB56672172B98   ANTHONY      MCCOY                        CO     90011316721
9BB56749861977   ELIZABETH    HERNANDEZ                    CA     90012707498
9BB567A6372B3B   BRITTNIE     WALKER                       CO     90014437063
9BB5695A193769   ALIKAI       HOWARD                       OH     64590119501
9BB57274857183   NOELIA       HERNADEZ                     VA     90011352748
9BB57533357561   DIVENA       COVINGTON                    NM     90013085333
9BB57729531462   ANNETTA      SYKES                        MO     90001477295
9BB5787A381692   PAUL         KIRKRNDALL                   MO     90001148703
9BB5792465B548   MOISES       ABARCA                       NM     90012629246
9BB58135755957   TYLER        COOK                         CA     90012991357
9BB5813837B481   SAMORA       MORROW                       NC     90010651383
9BB5854334B588   BREANNA      MORROW                       OK     21515055433
9BB58589A8B175   JANSCOT      TORSON                       UT     90014155890
9BB58696672B42   CRYSTAL      THILL                        CO     33098496966
9BB58954455951   BORNY        VANG                         CA     90014629544
9BB59219241296   ANDREW       MAKARA                       PA     90014732192
9BB5927315B241   SCOTT        SASTRE                       KY     68059552731
9BB59277147834   JAIME        LINDALL                      GA     90015262771
9BB59419255957   JOEL         MUNOZ                        CA     90004294192
9BB59435191882   SADY         ARTIAGA                      OK     21053494351
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1976 of 2350


9BB5948484B588   JASON        REYNOLDS                     OK     90014804848
9BB5B197A84348   JOSE LUIS    DELECRUZ                     SC     14571561970
9BB5B233561879   JAMES        JOHN                         IL     90015422335
9BB5B23A85B371   AMBER        DANIELS                      OR     90011352308
9BB5B449472B42   JOYCE        BOGAN                        CO     90011674494
9BB5B553A91521   VERONICA     VELAZQUEZ                    TX     90013975530
9BB5B57818436B   VICTORIA     FIELDS                       SC     19026495781
9BB5B66758B188   CASSANDRA    GROW                         UT     90013266675
9BB5B834A57125   SHIRLEY      HUFFMAN                      VA     90013648340
9BB61191961977   MARLON       CABEBE                       CA     90003941919
9BB61192472B62   MARTHA       WERTZ                        CO     33044181924
9BB61247461879   DOMINYQUE    HARDIMON                     IL     90015372474
9BB61565647834   PRECIOUS     ALLEN                        GA     90011105656
9BB61755372B56   ADRIAN       MEDRANO                      CO     90014817553
9BB61797A4B235   JOSE         ACEVEDO-LUCERO               NE     27016157970
9BB61972881635   FERNANDO     LINIRES                      MO     90004019728
9BB62395772B98   VIVIANA      ROBLES MARTINEZ              CO     90000873957
9BB62418161977   LETICIA      SANCHEZ                      CA     90005734181
9BB62461272B32   JESUS        PEREZ                        CO     90015224612
9BB6264A981635   KENDRA       JACKSON                      KS     90012986409
9BB6269655B383   RAYSHAWN     LEWIS                        OR     44564426965
9BB6271634B235   WILLIAM      LANE                         NE     90004157163
9BB628A438B175   JOSE         NAVARRO                      UT     31007308043
9BB63135191882   CHAMPAGNE    STEWART                      OK     90011251351
9BB6315149712B   AARON        FORD                         OR     90013281514
9BB6322885155B   LISA         KILLMEL                      IA     90010042288
9BB6323144B588   AMANDA       BRUESTER                     OK     90008082314
9BB63442A21929   NOAH         WAY                          IN     90012504420
9BB6344A485689   JOSE         JIMENEZ                      NJ     90005164404
9BB63A2135B537   MATTHEW      WOLL                         NM     90008140213
9BB641A395B383   LEONEL       LOPEZ-MARTINEZ               OR     90012431039
9BB64344477537   HEATHER      RODRIGUEZ                    NV     90014793444
9BB6452A191521   JOSE         BAUTISTA                     TX     75019455201
9BB6478254126B   SYLVIA       KING                         PA     90008177825
9BB6492238436B   MONIQUE      JOHNSON                      SC     19009549223
9BB6523144B588   AMANDA       BRUESTER                     OK     90008082314
9BB6565A454B36   RENATO       MENDIETA                     VA     90005506504
9BB65694497B59   SHANNON      DEVORE                       CO     90013166944
9BB6579725B399   HEATHER      YELEY                        OR     44024487972
9BB6588875B548   NIXON        PESINA                       NM     90012088887
9BB66211497B59   BRENDA       VALDEZ                       CO     90013152114
9BB66351272B42   ROSA         CARBAJAL                     CO     33043653512
9BB6637974B949   RAY          LARZO                        TX     90003563797
9BB66435193778   STEVEN       WILSON                       OH     90011374351
9BB66535572B32   LETITIA      NESBY                        CO     33093175355
9BB66693672B56   ARTURO       PILLADO                      CO     33002736936
9BB669A9961977   PAUL         GONZALEZ                     CA     90004249099
9BB6733535B371   ASHLEE       MCGILL                       OR     90009183353
9BB675A6255957   MARTELL      MAHONE                       CA     90009375062
9BB67AA1A7B444   LUISE        PACHECO LUIS                 NC     90012970010
9BB68448561977   ALEJANDRA    ARAUJO                       CA     46095494485
9BB68624533698   KINYA        DAVIS                        NC     12009016245
9BB6869A293782   RUTH         WALUGEMBE                    OH     90010856902
9BB69182891951   DION         DOWNEY                       NC     17018861828
9BB6931118436B   ANTONIO      SALAZAR                      SC     90013563111
9BB693A4872B33   ENOCH        LOPEZ                        CO     90007803048
9BB69633691599   JOSE         CASAS                        TX     90013076336
9BB69865593755   REBECCA      HAMILTON                     OH     90009778655
9BB69912A81634   BRANDI       KINDRED                      MO     90014469120
9BB6B11624B588   NELSON       YOVANNY                      OK     90013131162
9BB6B182972B93   NANCY        ALVEAR-DELGADO               CO     90002771829
9BB6B1A8161979   JOSE         ALVARADO                     CA     46071241081
9BB6B319A2B27B   JAMES        GAGE                         DC     90012853190
9BB6B327961977   NARANJO      SYD                          CA     46038453279
9BB6B666693778   GARY         KING                         OH     90008166666
9BB7115A65B383   DESIDERIO    RAMIREZ MARTINEZ             OR     90015161506
9BB71234855951   ANDREW       BURCIAGA                     CA     90007392348
9BB71414677537   SALVADOR     DELALUZ                      NV     90014794146
9BB71741993769   RICHARD      PRATT                        OH     90012097419
9BB71A6A761928   JOHVANY      AVILA                        CA     90012980607
9BB724A7951328   BIANCA       HOLLEY                       OH     90011704079
9BB7283644B554   XAVIER       VEALES                       OK     90014818364
9BB72931172491   CRAIG        KING                         PA     90015529311
9BB72961161977   KEVIN        YOUNG                        CA     46077619611
9BB72A4497B444   IKEYA        WALLACE                      NC     90014470449
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1977 of 2350


9BB732A8397B59   JOSEPH          LOUSHIN                   CO     90010892083
9BB7333555B548   ALBERT JAMES    HOUSTON                   NM     90015583355
9BB73657181634   SHERICE         JONES                     MO     90011006571
9BB74156391951   ELIZABETH       SANTOYO                   NC     90014111563
9BB74343791265   DANNY           ROQUE                     GA     14511343437
9BB74665172B42   JEFFERY         JOHNSON                   CO     90011846651
9BB74759833698   DAVID           BARTLY                    NC     90012487598
9BB74851861977   DAVID           PEACOCK                   CA     90011138518
9BB7493425B371   DANNY           GRAGG                     OR     44515169342
9BB7518218B188   ANGELA          MCLEOD                    UT     90013551821
9BB75197172B32   LUCYLA          DIAZ                      CO     33077651971
9BB751A8593755   MONTGOMERY      DONNA                     OH     64591061085
9BB75278333698   TAHIR           KHAN                      NC     12028402783
9BB7548484B235   CASEY           PHILLIPS                  NE     27039434848
9BB7551483164B   JORDAN          PEACH                     KS     90013905148
9BB75566772B98   ALECZANDER      SILVA                     CO     90008395667
9BB75929661977   SHERYL          GRANADOS                  CA     90011979296
9BB75A49391882   DANNY           PIC                       OK     90013860493
9BB75A73341296   TODD            BOXLEY                    PA     51028280733
9BB7616535B548   MARIA           MUNOZ                     NM     90005951653
9BB76427672B56   ARACELI         BELOERA                   CO     90003544276
9BB76468877537   EFRAIN          GONZALES                  NV     90014794688
9BB76536A61979   CLAUDIA         ASCENCIO                  CA     90014805360
9BB76544A72B56   NORMA           MACIAS-HOLGUIN            CO     90014785440
9BB76587172491   MEGAN           CRISSMAN                  PA     51082325871
9BB76599547834   ADILL           VENTURA                   SC     90015125995
9BB7724188B175   CARMEN          FLORES                    UT     90012902418
9BB7744AA93778   DELIANA         GORGE                     OH     90012184400
9BB77475491599   CHUN            SHAW                      TX     75027924754
9BB77666A61977   ANDAR           MAHJABIN                  CA     90010336660
9BB7783A14B554   TRUVEDA         DEERE                     OK     90014818301
9BB77A19A85997   CEREL           HOLT                      KY     90002030190
9BB7818755B356   GABRIEL         ZAMORA                    OR     90001771875
9BB7822934B554   DANNY           DOWDY                     OK     21517762293
9BB78251A41296   DONALD          DEAN                      PA     90014732510
9BB78327497B59   JUSTIN          MCCRELLIAS                CO     90007383274
9BB78464A72491   TINA            MARTIN                    PA     90010924640
9BB78496321929   REBECCA         GARCIA                    IN     90009104963
9BB78A2868436B   SARAH           WHITE                     SC     90011050286
9BB78A5275B393   DANNA           MCMILLEN                  OR     90005410527
9BB79132972B32   TIFFANY         RHINES                    CO     90013591329
9BB79261291521   WELLINGTON      FIGARO                    TX     75015282612
9BB7977725B548   CHRISTINE       ESPINOSA                  NM     90012107772
9BB79785555957   JIMMY           ORDENANA                  CA     90006727855
9BB79883761977   CHRISTIAN       RODRIGUEZ                 CA     90004538837
9BB7B146751342   KEVIN           BARNES                    OH     90014691467
9BB7B32A785689   ROBIN           CARNEY                    NJ     90003133207
9BB7B444233698   ISAIAS          LARA PEREIDA              NC     90014154442
9BB7B44A45593B   JANET           MENDOZA                   CA     90009454404
9BB7B484772B42   JARED           WELSH                     CO     90011124847
9BB7B49568B188   SCOTT           BUTLER                    UT     90010814956
9BB7BA39372B98   JEFF            FREDERICK                 CO     90011290393
9BB81343181635   MIGUEL          NUNEZ                     MO     90003853431
9BB815A5761879   JASMINE         DOSS                      MO     90014035057
9BB81828151342   JOSEPH ANDREW   BITTNER                   OH     90009568281
9BB81914761979   MONICA          RAMIREZ                   CA     90014699147
9BB81935772B83   JACKSON         MARSHALL                  CO     33055179357
9BB82551161977   GLORIA          SANFORD                   CA     46067605511
9BB82563493755   MARCY           BOYD                      OH     64572675634
9BB82591733698   TIA             WRIGHT                    NC     90011205917
9BB82745172B98   MELBA           QUINTERO                  CO     33015617451
9BB8276214B588   RICHARD         HACKEY                    OK     90010977621
9BB8278294B26B   REFUGIO         SANTOS                    NE     90011797829
9BB83229561955   JOSEPH          SMITH                     CA     46021552295
9BB8326A18B175   MICHAEL         GOMEZ                     UT     90010802601
9BB8331967B444   JESSICA         PUCHETA                   NC     90006923196
9BB8344218B152   LYLY            TRAN                      UT     90011244421
9BB83758547834   RHONDESIA       ENGLUM                    SC     90005157585
9BB8383764B554   IVAN            MELENDEZ                  OK     90014818376
9BB84143393769   REYNEIRO        DELEON RIVERA             OH     64558511433
9BB84163961977   ADRIAN          RODRIGUEZ                 CA     90012661639
9BB84269341296   ZACHARY         PODOLAK                   PA     90014732693
9BB84483791599   JASON           WARD                      TX     75029474837
9BB844A3833698   ERICK           CABRERA                   NC     90005724038
9BB8476214B588   RICHARD         HACKEY                    OK     90010977621
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1978 of 2350


9BB852AA972B42   ANGELA              WHITMILL              CO     90006962009
9BB8547A45B548   RAIN                UTAMI                 NM     90015094704
9BB8559992B27B   LATIA               JOHNSON               DC     81071325999
9BB8598445B565   TAMMY               PAM                   NM     90011209844
9BB85A4125B531   MARIA               RAMAIREZ              NM     90010850412
9BB85AAA491521   BERENICE            MARTINEZ              TX     90012850004
9BB85AAA872B56   CELIN               RAMOS                 CO     33081880008
9BB861A7472B29   MICHAEL             JORDAN                CO     33064491074
9BB86239A93769   PAUL                PRETONI               OH     64548312390
9BB86917172B32   LAURA               JARAMILLO             CO     33039239171
9BB87432254157   MANDY               LONGACRE              OR     90012404322
9BB87553191521   VALERIE             MASCORRO              TX     90013395531
9BB875A1393778   REBECCA             GAMON                 OH     64592425013
9BB8763735B548   MARGARET            LAMAGNA               NM     90008486373
9BB87791797B59   AUSTIN              FESSENDEN             CO     90012217917
9BB87959251334   BRIAN               DEAN                  OH     66082799592
9BB8814812B891   PETER               NGUYEN                ID     90010801481
9BB88758397B59   KIALEA              WILLIAMS              CO     90004967583
9BB88994A41238   LUANNA              VENNERI               PA     90000339940
9BB89588977537   ESCELANDEZ          DONRE                 NV     90014795889
9BB89743751367   TOYKIA              DYE                   OH     90007667437
9BB8983692B981   CHRIS               CLINTON               CA     45009668369
9BB89885791882   LUIS                HERRERA               OK     90013838857
9BB8B33515B33B   VIRGINIA            BAKKER                OR     44585473351
9BB8B477872B32   EVABTHIA            KAVAS                 CO     90010934778
9BB8B493372B3B   BRENDA              RIVERA                CO     33011644933
9BB8B95A58B152   VOISARD             MIKE                  UT     90009329505
9BB8B99777B444   TRAVIS              PEARCE                NC     90014689977
9BB91282555957   RICARDO             REYNA                 CA     90011922825
9BB914A585B383   ALEX                LUNSKI                OR     90014704058
9BB9191225B592   ROSIE               MARTINEZ              NM     90000389122
9BB91A93491554   SHANE               GREEDER               TX     90012040934
9BB9219134B52B   LORENZA             DOMINGUEZ             OK     90013841913
9BB9223A172B98   LAWRENCE            GALLEGOS              CO     33019972301
9BB9238A972B3B   ARNOLDO             GONZALEZ              CO     33000093809
9BB923AA591521   KARLA               THOMAS                TX     75064573005
9BB92625372491   JEFFREY             CONTRAEL              PA     51097426253
9BB92634572B62   JOSE                CARDONA RUIZ          CO     90013826345
9BB93332661977   SILVIA              RODRIGUEZ             CA     90011063326
9BB93787991521   DAVID               ORTEGA                TX     90013147879
9BB93867233698   JACQUELINE          VARNUM                NC     90008208672
9BB93963361979   CAROLINA            LOPEZ                 CA     90014039633
9BB93A27A2B891   SPENCER             HARMER                ID     42026200270
9BB9417518B175   MISTY               SLADE                 UT     90008791751
9BB943A2141296   RAYAN               BORESKE               PA     90014733021
9BB94842372B32   WILLIAM             BLACKBURN             CO     33083268423
9BB9526A472B56   GEORGE              ORITZ                 CO     90011472604
9BB95351261977   PATRICIA PENELOPE   MARTINEZ              CA     90012373512
9BB95354141296   SCOTT               YNIGUEZ               PA     90014783541
9BB9558A35B565   CHRISTIAN           TOMMASO               NM     35033555803
9BB9559A191882   GABRIELLE           LOTT                  OK     90014365901
9BB9562A94B588   KEANDRA             BRYANT                OK     90014076209
9BB95754272B32   NONI                MACHARIA              CO     90001757542
9BB95871597B59   MAXIMO              ESCARCEGA             CO     39043458715
9BB961A8151361   DARLENE             CROWELL               OH     66030251081
9BB96372291521   MELISSA             MARTINEZ              TX     75030083722
9BB9649583164B   NOA                 CERVANTES             KS     90013254958
9BB97356172B32   KATHERYN            OLIVAN                CO     90013723561
9BB9755A861977   VERONICA            CABRERA               CA     90010475508
9BB9768A95B531   CLAUDINA            SCHWEITZER            NM     90014466809
9BB97912393755   SHAYLEE             SAOYER                OH     90014559123
9BB97A78193778   SANDRA              FLORES-NOLASCO        OH     64584030781
9BB98569497B59   MICHAEL             MITCHELL              CO     90012425694
9BB98635661879   BRITNEY             LITTON-MCG            IL     90015526356
9BB99263855957   ARTHUR              BECERRA               CA     90012972638
9BB99264691521   BETH                MENDOZA               TX     75087012646
9BB99498947834   SHADONNA            MITCHELL              GA     90014774989
9BB9986984B554   TAMMY               EASTMAN               OK     90014818698
9BB99959691951   ANGELA              BROCKINGTON           NC     17058999596
9BB99987593769   TRAVIS              WOODRUFF              OH     90010809875
9BB99A7322B27B   TAK                 LAM                   DC     81006430732
9BB9B299341296   JULIUS              WRIGHT                PA     90014732993
9BB9B526772B56   GRACIELA            GARCIA                CO     90007595267
9BB9B74664B554   ADA                 GALEAS                OK     90012877466
9BB9B84478168B   AMBER               BLEDSOE               MO     90013528447
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1979 of 2350


9BB9B9A918B188   GABRIEL          SANCHEZ                  UT     31066359091
9BBB1189455957   CEJA             MARIO                    CA     49059811894
9BBB1556272B42   AIDIL            SERNA                    CO     90002435562
9BBB1659A47834   PAYGO            IVR ACTIVATION           GA     90014066590
9BBB1867691521   YVONEE           DIAZ DE LEON             TX     90011128676
9BBB1A48855951   CASEY            RUIZ                     CA     90012980488
9BBB251415B548   MABLE            CHAVEZ                   NM     35096095141
9BBB2679291599   SANTARAIN        CONSTRUCTION INC         TX     90004166792
9BBB316192B981   MATTHEW LUCIO    PEREZ                    CA     90013321619
9BBB3181372491   MEGAN            DIXON                    PA     51012991813
9BBB333A397B59   ANDREA           PETRARCA                 CO     90014313303
9BBB3A8427B444   PAMELA           KABBAH                   NC     11025270842
9BBB3AA7851342   KYLE             WATERS                   OH     90014770078
9BBB4169793755   CAMERON          TREVINO                  OH     90014391697
9BBB4313461979   LEONOR           GARAYZAR                 CA     90012303134
9BBB4397893769   BRANDY           RUDY                     OH     90012113978
9BBB4457561928   IVAN             TORRES                   CA     90012974575
9BBB46A7153B2B   JOSE             BARRIOS                  CA     90014336071
9BBB4744361977   JASMINE          RAMOS                    CA     90011137443
9BBB4837891951   DAMAR            YATES                    NC     90013908378
9BBB4857257183   MARIA            HAUSAUER                 VA     90011468572
9BBB51A3755975   MARY             MCCLANAHAN               CA     90005191037
9BBB5481972B3B   DARWIN           ALMONTE                  CO     90013694819
9BBB5488241296   LINDA            LACEY                    PA     51051564882
9BBB563514B554   LYTICIA          YOUNG                    OK     90014806351
9BBB5A79497B59   CHRIS            DAVIS                    CO     90009220794
9BBB615967B444   MYRON            LAWRANCE                 NC     90013571596
9BBB617AA91882   BRASHIA          GOREE                    OK     21030191700
9BBB632795B548   HELEN            MARTINEZ                 NM     90007513279
9BBB6397593755   ARIS             ALLEN                    OH     90013723975
9BBB6516177537   LORI             SINGH                    NV     90001635161
9BBB656A29712B   JENNIFER         MORRIS                   OR     90014535602
9BBB7126951342   ANTOINE          BEIGHLE                  OH     90015271269
9BBB73A5177537   RAMON            ALCANTAR                 NV     43021113051
9BBB7419561977   ADRIANA          RODRIGUEZ                CA     46070324195
9BBB749764B554   DEMETRIA         GREEN                    OK     90009784976
9BBB7518A72B32   TOD              LETTENEY                 CO     33072255180
9BBB7711648B35   VAZQUEZ          IVONNE                   NM     90000127116
9BBB781AA2B891   INNOCENT         KIMAZI                   ID     90012798100
9BBB7878272B56   SARAH            HOLLEY                   CO     90014808782
9BBB7A2292B891   CLEMENTINE       CYIRAMAHORO              ID     90011150229
9BBB858A68B152   MATT             ADAMS                    UT     31078055806
9BBB8597991882   LUCILA           VALDIVIEZO VAZQUEZ       OK     21068625979
9BBB8794A72B56   BRANDEN          BRITTON                  CO     90005077940
9BBB884428436B   CHARLOTTE        OSLEN                    SC     90015328442
9BBB916A691599   IRIS             CUEVAS                   TX     90007241606
9BBB9257A2B27B   NERRISSA         BARNES                   DC     90012852570
9BBB941A75B531   MONIQUE          NUNN                     NM     35027424107
9BBB965834B554   KELLY            ONEAL                    OK     90014806583
9BBBB377751342   DAVID            NYAGA                    OH     90008183777
9BBBB47835B371   CARESSA          MARTINEZ                 OR     90003154783
9BBBB579A2B891   AUSENCIA         CHAVEZ                   ID     90013715790
9BBBB648561979   ROSALIA          GUTIERREZ                CA     90013356485
B1111141355992   PAM              VELETA                   CA     90010621413
B1111621655972   RICHARD          OBERG                    CA     90011676216
B11117A215B327   JAMILLIA         FARRAKHAN                OR     44542887021
B11117A482B941   MARIA            BECERRA                  CA     45095747048
B1111833172B62   ELIZABETH        LEAHY                    CO     33037388331
B1112183391554   JESUS            JIMENEZ                  TX     90001361833
B1112392955959   LINDA            WISE                     CA     90004823929
B111274A43363B   LISA             TERRY                    NC     90012767404
B1112839831699   IVA              WILLIAMS                 KS     90004708398
B1112A5347B489   SAVINO           SOLIX                    NC     90014390534
B111341A255959   CLAUDIO          CERNA                    CA     90000394102
B1113643A3363B   TERESA           THOMAS                   NC     90012926430
B1114577A72B69   JUSTIN           BASH                     CO     90002195770
B1114855593745   ROBERT           HOY                      OH     64514388555
B1115236455953   STACY            HERNANDEZ                CA     90015092364
B1115A66355959   JOSE             ORTEGA                   CA     48002690663
B111638857B489   TONY             MARSHALL                 NC     90014843885
B111666A993771   MATT             CHARLES                  OH     90005686609
B1116963172B62   NAVARRO          MANUEL                   CO     33037999631
B1117486576B27   ALFREDO ARAGON   MATA                     CA     90004324865
B1117574391885   WALTER           BELL                     OK     90014565743
B1117A92A93745   SAMARTRA         ANDERSON                 OH     90015210920
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1980 of 2350


B1118177277583   PETER             GALERA                  NV     90008591772
B11184A6793752   CHARLES           THOMASON                OH     90013574067
B111855A331688   IGNACIO           SANDOVAL                KS     22040395503
B1119637A2B941   ADRIANA           RAMOS                   CA     90011656370
B1119711855959   VICTORIA          MEDINA                  CA     90013557118
B1119A43733B4B   TY                LEE                     OH     90014300437
B111B851493745   SHARI             STONE HINES             OH     90009188514
B111BA67255953   GAIL              SANDALL                 CA     90014310672
B112148A63363B   TASHA             HOV                     NC     12042504806
B112181942B941   NICOLE            RANGEL                  CA     90012558194
B112184A893745   VICTORIA          JOHNSON                 OH     90013478408
B1122232584373   DONNA             MCCAULEY                SC     19033602325
B1122245133647   CHRIS             VONCANNON               NC     90007602451
B1122617993752   BONNIE            BAKER                   OH     64524086179
B1122717693745   ERIN              STEVENS                 OH     90011467176
B112278948B139   JOHN              SUCILLON                UT     31005867894
B11229A4397124   SAMANTHA          JEFFERS                 OR     90007399043
B1123532355997   GUADALUPE         OJEDA                   CA     90007655323
B1123542791941   SHERINA           ALEXANDER               NC     90008455427
B1123553A2B857   STACY             SEEGMILLER              ID     90003315530
B112385429194B   LOUIS             MARCIA                  NC     90010798542
B1123868397124   MARIA             NUNO                    OR     90013928683
B1123A37485927   WILLIAM           CLIFFORD JONES JUNIOR   KY     90012660374
B1124332885927   PATRICIA          STACY                   KY     90015303328
B11244A1951343   ALEXANDRIA        KURZ                    OH     90013754019
B1124579A2B857   AUSENCIA          CHAVEZ                  ID     90013715790
B112486457B489   FELIPA            CORTEZ                  NC     11020488645
B112589132B941   ANGEL             GARZA                   CA     90005638913
B1125A32A72B69   CHRIST            HAE                     CO     33069330320
B1125A87933641   JERONA            TRIEGLAFF               NC     90006190879
B112623943363B   CHERYL            CAPLE                   NC     90014772394
B1126288697124   MARIAN            MAYA                    OR     90005392886
B1126938493758   DANIEL            GUILMETTE               OH     90013019384
B1126AA8A93771   CINDY             PURTEE                  OH     90005700080
B112731912B248   SANDRA            MCCOY                   DC     90014923191
B11275A8572B62   FRANKIE           SHIFFER                 CO     33090465085
B112842323363B   KAREN             REDMON                  NC     90014764232
B112887935B265   JENNIFER          BENNETT                 KY     90013658793
B11288A8176B5B   ELVIA             ROMAN                   CA     46062238081
B1129153276B27   CESAR             GARCIA                  CA     90014761532
B112965915B265   LINDA             LEVERETT                KY     68026406591
B1129983693745   WESLEY            MILLER                  OH     90015609836
B112B249633635   TANISHA           WHITE                   NC     90009682496
B11315A5293771   SHERYL            ALLEN                   OH     90005705052
B113196915B396   CHARITY           KELLEY                  OR     44562469691
B1131A55485927   MELINDA           FLORENCE                KY     90013930554
B113242178B531   CARLOS            LUNA                    CA     90014094217
B1132595991883   MARIA             HERNANDEZ               OK     90008205959
B1132716893758   BILLY             KRAFT                   OH     90004617168
B113288A35B327   JAMES             PARKER                  OR     90003128803
B113342865B124   LATINA            ROBINSON                AR     90014774286
B1133A13391563   GEORGE            CRUZ                    TX     75017090133
B1134174A93745   JAKE              ARCHBOLD                OH     64533951740
B1134569A93727   LISA              SHAW                    OH     90002515690
B1135211193752   DEB               MCCAFFREY               OH     90004162111
B113537382B26B   ANA               CRUZ                    DC     90008643738
B1135637155953   MARIA GUADALUPE   AMBRIZ JASSO            CA     90012276371
B113576352B941   WILLIAM           BURTON                  CA     90005847635
B1135A25776B27   FLORENCIA         ORTEGA GALVAN           CA     90013250257
B113611332B248   STEPHEN           BARNES                  DC     81093201133
B1136146272B62   JASON RAY         JOHNSTON                CO     90007781462
B1136326933635   SHARON            BALDWIN                 NC     18052953269
B1136391524B3B   YANIRA            MORENO                  DC     90013623915
B1136436772B69   ALEX              DIAZ                    CO     90000934367
B1136677393758   MICHAEL           HUMPHREY                OH     64591916773
B1136864297124   EUANELL           CRAWFORD                OR     90003218642
B1137434585927   CAROLYN           JENNINGS                KY     90012694345
B1137449891563   NIDIA             FUENTES                 TX     75093664498
B1137549372B62   MANUEL            DIAZ                    CO     90007625493
B1137986831639   KALEB             SHOCK                   KS     90014449868
B1138738233674   JOANN             DAVIS                   NC     90008757382
B113884822B248   JOEL              ESTRADA                 VA     90012118482
B1138A61A7B489   VERNYLISSA        MCLEAN                  NC     90003340610
B1138A7655B327   AARON             HANSEL                  OR     90012300765
B113918142B857   AMANDA            PAINE                   ID     90014031814
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1981 of 2350


B1139A27993745   REGINA       BURNS                        OH     90002510279
B113B14277B489   ROSA         RODRIGUEZ                    NC     90004201427
B113B79463363B   WENDY        MANN                         NC     90003237946
B1141325155953   RONALD       BRIGHTWELL                   CA     48088533251
B114162A472B62   SERGIO       RUIZ                         CO     33068526204
B1141A3839194B   TAWANAH      PUSEY                        NC     90004330383
B1141AA3376B27   JANICA       TABOR                        CA     90012580033
B114246A33363B   MARISSA      SPOONER                      NC     90014764603
B1142533372B62   LUCY         DUNLAP                       CO     90013055333
B114277665B265   HEATHER      SHIPLEY                      KY     90012917766
B1142AA7855947   ANGELIC      LIGTFOOT                     CA     90005100078
B1143473A7B489   JESUS        BROOME                       NC     90013004730
B1143547772B69   MARIA        CHAVEZ                       CO     33087865477
B1143785293758   GRETCHEN     KELLEY                       OH     90012347852
B1143895955959   GILBERTO     RANGEL                       CA     90008748959
B1144265955953   TIAH         FIELDS                       CA     90013602659
B1144464397B42   TREVIN       HOMACK                       CO     90009504643
B1144667784333   CHONTE       THOMPSON                     SC     90007336677
B1144795772465   KENNETH E    THORNTON                     PA     90002227957
B114573512B941   SCUBA        STEVE                        CA     90012997351
B1145765172B62   JOH          DAVIS                        CO     90003917651
B11459A652B248   BESSIE       DAVIS                        DC     90011449065
B1146257891563   MARIA        ARVIZO                       TX     90014122578
B1146453254B94   BRANDICE     EPPS                         VA     90008164532
B1146546124B3B   EDWARD       STRICKLAND                   DC     90014985461
B1146966655953   ERICA        OROSCO                       CA     90011349666
B11472A2697124   GEORGE       LOPEZ                        OR     90012352026
B1147451A93758   SHERINA      BUNCH                        OH     90003174510
B114796A62B271   DARNEVON     RAY                          DC     90004689606
B1148524555953   JUSTIN       STEPHENS                     CA     90007265245
B114858642B857   ISAAC        GALLEGOS                     ID     90011245864
B1148646861952   ELENA        TAMAYO                       CA     90010016468
B1148766991257   ERIN         MAPLES                       GA     90011997669
B1149837633635   JENNIFER     CANNON                       NC     90015188376
B1149923185927   WANDA        CONWAY                       KY     90001989231
B114BAAA593766   DIONNE       BARKER                       OH     90004430005
B115128A855959   MELISSA      SALDIVAR                     CA     90010632808
B1151446593727   RONNIE       STEELE                       OH     90012824465
B1151711671931   GLORIA       LEON                         CO     90006027116
B11518A187B489   HELBERT      JACKSON                      NC     90014788018
B1152585955947   SYNETHIA     PRINGLE                      CA     90012775859
B1152668355953   ROSA         PINEDA HERRERA               CA     90013866683
B1152933985927   ELIZABETH    PENCE                        KY     90013279339
B115367875B572   MARTINA      RIVAS                        NM     90003496787
B1153771293771   CLINTON      MANN                         OH     90005607712
B1154399493727   LATIA        HARRIS                       OH     90012163994
B1154435455972   CYNTHIA      IBARRA GALVAN                CA     90006244354
B115453645B327   MHMOUD       HASSAN                       OR     90011425364
B1154973193752   CINDY        NOLAN                        OH     64568339731
B1154AA9276B27   HUTCH        HUTCHINSON                   CA     90013000092
B1156323572B69   CECILIA      OLIVAS                       CO     90014833235
B1156528455959   KEVIN        HARRIS                       CA     90005255284
B1156888A93745   DEIDRE       CORDELL                      OH     90008578880
B1156996484373   JULIE        TURNER                       SC     90011759964
B115743412B864   WES          ARNAL                        ID     90008634341
B115748477B489   SHEANDRA     PERRY                        NC     90014974847
B115754622B248   MICHELLE     YOUNG                        NC     81067665462
B115766AA55959   MARIA        HERNANDEZ                    CA     90008486600
B115788213B164   ELBA         CIFUENTES                    VA     81044778821
B11579A8993758   DEBBIE       LONG                         OH     90011949089
B1158143485927   RAUL         CAMPOS                       KY     90013831434
B115828724B258   STEVE        SCHOONOVER                   NE     26093412872
B115856143363B   CANDACE      WALSER                       NC     90014615614
B1159313A5B327   ELAINE       VELU                         OR     44590263130
B115931482B248   JASPER       FERRELL                      DC     90006223148
B115956275B349   JOSH         BOWEN                        OR     90001275627
B115995463363B   BRANDIE      WILLIAMSON                   NC     90012719546
B1159A48A76B27   JESUS        AVALOS                       CA     90014980480
B115B12612B248   JULIA        ACAHABON                     DC     81008681261
B115B353A5B396   DAVID        DE PASS                      OR     90002933530
B115B397885927   CARMALITTA   GIVENS                       KY     67074473978
B115B473255947   PEDRO        REYES                        CA     90012794732
B115B473A7B489   JESUS        BROOME                       NC     90013004730
B115B575697124   MATTHEW      FRANKS                       OR     90013915756
B115B84A672465   DARCELE      MASON                        PA     90003688406
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1982 of 2350


B115B94A193758   STANLEY      BURRAG                       OH     90013019401
B11613AAA93752   JEFF         HUNT                         OH     64583233000
B116144385B265   SCOTT        LEE                          KY     90013784438
B116246825B327   DIANA        FARFAN                       OR     90011984682
B116255932B248   JIM          JONES                        DC     90011505593
B116312A485927   LOLETA       INGRAM                       KY     67079341204
B1163758493745   JOHN         LAMONICA                     OH     90010617584
B1164435A2B857   DINA         SANCHEZ                      ID     42019764350
B1164598672B62   FAITH        MEDINA                       CO     90014855986
B11645A745B396   BERNABE      LOPEZ                        OR     90013895074
B1164849491978   CHARMAINE    BOLTON                       NC     90005658494
B1164A6A477363   PAYGO        IVR ACTIVATION               IL     90013530604
B1165196655947   DEBORAH      GEORGESON                    CA     90007381966
B116567315B396   VIVIAN       LIHPAI                       OR     90014666731
B116583527B443   SHERMAN      WALTON                       NC     90003408352
B1166424393745   BEANDI       OTY                          OH     90014544243
B116663145B327   ADAN         BARRAGAN                     OR     44563806314
B1167157693745   LACEY        WELLIFORD                    OH     90009901576
B116728577B489   ZAMENG       SUNG                         NC     90015092857
B1167328531639   KEYA         PEARSON                      KS     90009403285
B1167474172B69   MELISSA      KENNEY-SMITH                 CO     90000174741
B1169934531639   CELIA        GARZA                        KS     90014779345
B116B21A372B4B   ELEANOR      MENDEZ                       CO     90011032103
B116B38765B327   DEJA         OVERTON                      OR     90009363876
B117224789194B   ODIM         CHUKWUMA                     NC     90006892478
B1172258993727   AQUILLA      CARTER                       OH     90000662589
B117251A741272   JOANN        MILLER                       PA     90014745107
B117267917B489   MARY         WALLACE                      NC     90012396791
B1172766872465   HEATHER      PROBST                       PA     51077457668
B1172886384353   RONNIE       BERRY                        SC     90002828863
B1173256855953   DEBORA       HARRIS                       CA     48013422568
B1173265191257   LARRY        HURT                         GA     14574272651
B117356143363B   CANDACE      WALSER                       NC     90014615614
B1174187193758   SAMANTHA     LINE                         OH     90011181871
B117419552B248   MARIO        MURILLO                      DC     90010201955
B1174475A55947   ZOUA         XIONG                        CA     90014664750
B1174752422465   ADAM         ROMANO                       IL     90015467524
B1174948731688   ARMANDO      BARROSO                      KS     22040399487
B1175367455947   JUAN         MADRIGAL                     CA     49095303674
B117567452B248   CHARISSE     DORSEY                       DC     90012146745
B1175834372B69   LILIANA      JAQUEZ                       CO     33089688343
B1175998593758   TIMOTHY      GENERETTE                    OH     64512659985
B1176211631639   ROYALE       SEBASTIAN-WALKER             KS     90014582116
B117638A785927   MICHELLE     GOFORTH                      KY     90013673807
B1176448333635   JOHNNIE      JORDAN                       NC     90008254483
B1176843755947   ALEJANDRO    ABARCA                       CA     49093318437
B1176916797124   KIMBERLY     MILLER                       OR     44065349167
B1177781391257   SHARLOTTE    HALLFORD                     GA     90011147813
B117785565B265   TARA         KELLER                       KY     90014718556
B1177899454B94   TYRONE       ADAMS JR                     VA     90013348994
B1177A1315B396   GABRIEL      EVANS                        OR     44559770131
B1177AA619198B   DEBRAH       CAMPBELL                     NC     90008000061
B1178977655947   MIKE         RODRIGUEZ                    CA     90014709776
B1178978631639   JOHN         BRILL                        KS     90014829786
B1179129255947   BERTHA       ROMERO                       CA     49018621292
B117915739194B   CHUTNEY      PERELL                       NC     17009541573
B117952482B941   DANIEL       WAYBRIGHT                    CA     90008115248
B1179772493764   SHANNON      OCONNOR                      OH     90013917724
B1179882793745   BRITNEY      DIXON                        OH     90006008827
B1179A78376B27   SILVINO      ROSALES                      CA     90009640783
B117B384193745   SHERLYN      BROWN                        OH     64580913841
B117B43A424B3B   MONTREAL     ELLERBE                      DC     90013584304
B118155562B857   CHRISTINA    MELLEMA                      ID     90006135556
B1181689593745   TAMMY        WILLIAMS                     OH     90012376895
B1181984255947   ANGEL        AGUAYO                       CA     90014709842
B1181AA2276B27   JOSE         LOPEZ                        CA     90013900022
B1182481397124   JASMINE      SANCHEZ                      OR     90011874813
B1182756472B69   MARIA        TAPIA                        CO     90010177564
B118275A793752   ADRIENNE     BARKER                       OH     90012527507
B118355566619B   ERIN         GORBETT                      CA     90015525556
B11841A4A5B327   DMYTRO       OZDOYEV                      OR     90009661040
B1184475A2B857   ERIC         QUINTERO                     ID     90014164750
B1184768297124   AMANDA       ARNOLD                       OR     90008867682
B1184881655953   SUMMER       TERRELL                      CA     90014528816
B1184A4382B857   ANNA         PAYNE                        ID     90010610438
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1983 of 2350


B1185119293745   JULIA         HARRIS                      OH     90003621192
B118533332B248   JUNE          GAYLE                       DC     90007533333
B11856A9177364   LATEEFAH      HOOPER                      IL     90014996091
B1185882993758   GARRY         FRANTZ                      OH     90013938829
B1186332331639   KATHERINE     PAYTON                      KS     90014353323
B1186416A76B27   CLIFFORD      SANDERS                     CA     90014974160
B1187461793758   LAWRENCE      TUCKER                      OH     64505204617
B1187475A55947   ZOUA          XIONG                       CA     90014664750
B1187481872B53   DAN           BROWNE                      CO     90009044818
B1187514293745   HEIDI         SMITH                       OH     90007035142
B1188467355953   BEATRICE      MORA                        CA     90008514673
B1188AA9172465   LISA          STOLARISKI                  PA     51042200091
B118989AA6193B   MARCOS        CASTANEDA                   CA     46025218900
B118B336A72B69   ENRIQUE       ALMARAZ                     CO     90009393360
B118B399855959   JOSE          PICENO                      CA     90014373998
B119125245B389   JOSE          DIEGO                       OR     90006542524
B1191357A33635   TONY          YELLOCK                     NC     18041783570
B1191489361825   ROCHELLE      JOHNSON                     IL     90014794893
B1191498793752   AMANDA        KASEY                       OH     90008014987
B1191683193745   KEVIN         HARRISON                    OH     90012536831
B11917AA554B94   REINA         ANDRADE                     VA     90013247005
B1192475A55947   ZOUA          XIONG                       CA     90014664750
B1192517693745   AMY           ZINK                        OH     64573055176
B11925A1972B62   SUSAN         GREEN                       CO     33091405019
B119294993146B   CATHRINA      CHARESTAL                   MO     90006349499
B119351157B489   NANCY         GRAHAM                      NC     90013535115
B119366A65B265   ERIC          KIRCHHUBEL                  KY     68079786606
B119435335B265   VIVIAN        MS                          KY     68010413533
B119446747B493   CARLOS        MARTINEZ                    NC     11084794674
B119454875B327   HEATHER       WEBB                        OR     90013205487
B1195215585942   PAUL          TAYLOR                      KY     67079802155
B1195671251339   RHONDA        CARTER                      OH     90010496712
B119567A62B857   ELIZABETH     PERRY                       ID     90008526706
B1195877433643   STACY         PAYNE                       NC     90009498774
B119598547B489   VICTOR        ZELAYA                      NC     90013679854
B119612587B489   GERSON        VILLATORO                   NC     90014751258
B1196231693745   DEBBIE        CALMES                      OH     64595732316
B1196444A72B69   LEWIS         JACKSON                     CO     90014914440
B119649A154B94   JENNIE        DELLINGER                   VA     81087044901
B1197268272B62   KRISTI        ARELLANO                    CO     90012802682
B1197996176B58   WILL          UMBANHOWER                  CA     46015309961
B119823A355953   KENDRA        GEAR                        CA     90014962303
B1198784955947   JAVIER        MONTES                      CA     90010517849
B11987A2355953   JORGE         ACEVES                      CA     90012137023
B1198996331639   ERRICKA       TODD                        KS     90013339963
B119B16585B396   ANGEL         LEBLANC                     OR     44528881658
B119B6AA484354   DEIDRE        YOUNG                       SC     90011856004
B119B719993752   SHANE         JOHNSON                     OH     90004837199
B119BA4A672465   KEITH         FLINCHUM                    PA     90004450406
B11B123462B941   ESTHER        HERRERA                     CA     90013052346
B11B151AA97124   GUSTAVO       DIAZ                        OR     90010095100
B11B175965B572   PADILLA       MONIQUE                     NM     90006447596
B11B17A3597124   BETTY         MCCORMICK                   OR     90012167035
B11B1A4317B489   WENDY         TUNNELL                     NC     90013210431
B11B27A3754B94   ALBA          JIMENEZ                     VA     90012367037
B11B28A9376B27   MARISA        REBER                       CA     90014918093
B11B3224476B27   AARON         VAN DOLSON                  CA     90010712244
B11B3587497124   RYAN          MONAGHAN                    OR     44078895874
B11B38A8593727   CHAD          YOUNGLOVE                   OH     90014568085
B11B3992A55947   LETICIA       VELAZQUEZ                   CA     90014699920
B11B3A2445B396   MARIA         SALAZAR                     OR     44537570244
B11B44A615B196   TASHA         MASON                       AR     90012394061
B11B457875B327   JENNIFER      JACKSON                     OR     90009005787
B11B4594297124   MICHAEL       GILLIAM                     OR     90012055942
B11B46A6676B27   CHERYLE       MCIVER                      CA     90014006066
B11B473118B168   JACKIE        WELLS                       UT     31043767311
B11B5472131639   GLADYS        MURRAY                      KS     90003934721
B11B5834593771   AMY           MCNUTT                      OH     90014858345
B11B652144126B   CHERYL        SMITH                       PA     90012945214
B11B745113363B   MICHAELLA     COBBS                       NC     12035944511
B11B7637393745   CHRISTOPHER   CHOBOT                      OH     90010326373
B11B767763B198   CRISTIAN      DIAZ                        VA     90001106776
B11B7932A76B27   ENRIQUTA      SALGADO                     CA     90003829320
B11B7AA913B391   SUSAN         GILLAN                      CO     90001780091
B11B8117872B62   REBECCA       SHOOPMAN                    CO     90009181178
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1984 of 2350


B11B818825B265   SHARNICE      SINGLETON                   KY     90015341882
B11B821125B396   JOHNATHAN     DYTON                       OR     44579772112
B11B8232A22465   JENNY         ORIVE                       IL     90015432320
B11B8727455959   ANTONIO       HERNANDEZ                   CA     90012877274
B11B885A593745   CHRIS         HOPKINS                     OH     90008348505
B11B9193255953   VICTORIA      DEAN                        CA     90013861932
B11B9312A5B327   MIRANDA       RODELO                      OR     44591033120
B11B94A2655959   PORFIRIO      SANTOS                      CA     90009844026
B11B955A131444   MARK          WILLIAMS                    MO     27563685501
B11B974655B265   TAMMY         PLOOF                       KY     90014887465
B11BB193255953   VICTORIA      DEAN                        CA     90013861932
B11BB72612B26B   DEVITA        ATKINSON                    DC     81065077261
B11BB9A212B941   SHERON        JAMES                       CA     45085069021
B121132485B327   MARIA         HERNANDEZ                   OR     90011883248
B1211628993745   MIKE          ROBINSON                    OH     90009546289
B1211A8177B489   NIKITA        HALL                        NC     90012090817
B121219684B283   LOUIS         ZENDEJAS                    NE     90012491968
B121226A155959   PATRICIA      BRIENO                      CA     90000832601
B121227829194B   BREON         SCARBOROUGH                 NC     90006022782
B121228432B886   DEAN          VARGASON                    ID     90000562843
B1212324954B94   MARVIN        RAMAOS                      VA     90013353249
B1212423893738   CARLA         PORTER                      OH     64514084238
B121242A12B248   ISAAC         WILSON                      DC     81013934201
B121251532B857   DONALD        DEARDORFF                   ID     90008825153
B12125A6A91257   TOMMY         JEFFREY                     GA     90012055060
B121294A12B26B   WILLIAM       ANDERSON                    DC     90010939401
B1212A2844B283   ARMANDO       CRUZ                        NE     90014070284
B1213646876B27   JOVANNI       MARTINEZ                    CA     90015306468
B12136A835B327   JUAN CARLOS   ARIAS CARASCO               OR     90012936083
B1214371454B94   LARRY         BAILEY III                  VA     90014733714
B121454662B857   JAMIE         GOETTLING                   ID     90008505466
B1214692142332   NITA          PAYNE                       TN     90014266921
B1214999993752   STEVEN        TAYLOR                      OH     90013669999
B121551225B327   JESSICA       KURTC                       OR     90014315122
B1215697755972   KRISTINA      MIRELES                     CA     49089196977
B1215988593771   CHERIE        CHERRY                      OH     64579229885
B121623A92B248   LINDSAE       TIFFANY                     DC     90012842309
B12162A8944374   DIANIA        DABNEY                      MD     82065102089
B1216A83455947   DIANA         SANCHEZ                     CA     90005540834
B1217294857565   DAYAN         BELMONTES                   NM     90013302948
B1217295231639   AMY           GRUNDEN                     KS     22087322952
B121755615B265   AMELIA        JEFFERSON                   KY     90013765561
B1217618691257   LATESHA       LOVITT                      GA     90013006186
B1218214993727   ANA           CABRERA                     OH     90014372149
B1218872491544   KARLA         GUTIERREZ                   TX     90006788724
B1218891793758   NOAH          LOWE                        OH     90013938917
B1218AA9A72465   SHIELA        COOPER                      PA     90010690090
B121923955B265   LOUIS         JAMES                       KY     68054812395
B1219766772B81   TRACEY        ANN-TROUT                   CO     90001457667
B121986A997124   ALESSANDRO    CANTU                       OR     44075088609
B121B127133635   DEANA         OWENS                       NC     90014581271
B121B16145B269   VICKIE        WEST                        KY     68040951614
B121B71717B489   ROSARIO       RAMIREZ                     NC     11076907171
B1222234477553   JOHN          SATTERFIELD                 NV     90012122344
B1222428177553   JOHN          SATTERFIELD                 NV     90011884281
B122261A455953   ANAYA         PATRICK                     CA     90008396104
B12233A5685927   TAMMY         EDWARDS                     KY     90013993056
B1223531472B69   BERTHA        SALAIZ                      CO     90001315314
B122393885B327   ALEXA         MOYA-MEYER                  OR     90012999388
B1223949755953   GONZALO       PEREZ                       CA     90011999497
B1224124341229   MICHELE       CAPACCIO                    PA     90011471243
B1224434193758   MICHAEL       PARKS                       OH     64574984341
B1224645291257   DAVID         LIVINGSTON                  GA     90011466452
B1224A7642B941   DANIEL        NIEBLAS                     CA     90012230764
B1225161793758   DAMIAN        RENDER                      OH     90008871617
B1225442797124   ISABEL        CARRILLO                    OR     90013504427
B1225471272B69   CASHUNDRA     JONES                       CO     90001794712
B1225481161821   KAITLYN       BURRIS                      IL     90014814811
B12258A7985927   DANA          WALLACE                     KY     67095268079
B1226262A97124   DORA          MICHEL                      OR     90008082620
B1226311372B62   CARMEN        ESTRADA                     CO     33063203113
B122673385B327   JEMES         DEVINE                      OR     90013017338
B122684A533635   CHRISTOPHER   EDWARDS                     NC     90014608405
B1227349A85927   RANDELL       NORTHCUTT                   KY     90015303490
B1227524572B62   ELVIRA        RUELAS                      CO     33094545245
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1985 of 2350


B122813A32B857   IRMA         LARA                         ID     90015121303
B1228378593745   MICHELE      WACHTER                      OH     90014103785
B1228394172B69   JORGE        CATALAN                      CO     90003573941
B122845452B248   MOHAMED      MOHAMED                      VA     90010354545
B1228715476B27   LUZMARIA     LICONA                       CA     90004867154
B1228874A5B265   TRINA        HIGDON                       KY     90012598740
B122897372B923   GUADALUPE    GUDINO                       CA     90009259737
B1229181455953   ISREAL       VILLANUEVA                   CA     90006871814
B1229447555959   JOSE         MATIAS                       CA     90014184475
B1229715493745   HEIDI        GRIFFITH                     OH     90009807154
B1229729A5B396   ASUNCION     CABALLERO VASQUEZ            OR     90012317290
B12298AA22B271   TOMMY        ARMSTRONG                    VA     81055098002
B1229962872B69   JOHN         CURRY                        CO     90004119628
B122B143655972   CARLOS       MIRANDA                      CA     90000911436
B122B3AAA76B27   EDWIN        CARRION                      CA     90012373000
B122B81122B857   AAARON       COTA                         ID     90009178112
B1231257185927   JAVIER       DELGADO                      KY     67013782571
B123142237B489   CLAUDIA      MEZA                         NC     90014854223
B1231456676B27   EDWIN        GREGORIO SANTOS              CA     46043404566
B123146782B248   ROSIE        RAMIREZ                      DC     90014494678
B1231475A55947   ZOUA         XIONG                        CA     90014664750
B123189118B12B   LYNN         PETERSON                     UT     90008268911
B1231A67893752   REBECCA      WATKINS                      OH     90014560678
B123211A92B26B   NICOLE       MATTHEWS                     DC     90007161109
B1233256593745   STEVEN       RYMAN                        OH     64579392565
B1233323A93764   MATT         ELAM                         OH     90007103230
B1233411955959   JOSE         HERNANDEZ                    CA     90013924119
B1233946424B44   LEEZA        HENRIQUEZ                    MD     90013149464
B1235764455959   MARIA        AGUAYO                       CA     90003867644
B1235842655953   EMA          RUIZ                         CA     90012868426
B1235A1AA33635   RONNIE       HOOPER                       NC     18090350100
B1236274676B27   TERESO       ARRIETA                      CA     46080062746
B1236328A54B94   ABDULAZIZ    ALBIKAIRI                    VA     90011193280
B123658A251352   SCOTT        LITTLE                       OH     90007015802
B12365AA92B857   ERIC         QUINTERO                     ID     90014165009
B1236645372B69   IRENE        SEGURA                       CO     90000356453
B123725935B396   RAMONA       EDWARDS                      OR     90005472593
B1237376177977   OMAR         HERRERA                      IL     90015533761
B1238887193745   JAMES        VANHOOSE                     OH     90011068871
B1238961676B27   KAROLINA     RODRIGUEZ                    CA     90014849616
B1238A12793758   MEDHONIE     JERIO                        OH     90014030127
B1239374997124   JOANNE       SCHULTHIES                   OR     44093053749
B1239478172465   KRISTIE      NAPLES                       PA     51090084781
B1239796585942   RUBIEL       JUAREZ                       KY     90013947965
B123982A655953   ANGELICA     LOERA                        CA     90001148206
B1239965191257   ALEXANDER    SMILEY                       GA     90004999651
B123B49A876B27   GORGINA      CAPIRSTO                     CA     90014814908
B123B547255959   GERARDO      VELASCO                      CA     48064915472
B123B581293745   TONYA        NEFF                         OH     64559895812
B123B796A2B248   OSCAR        PINO                         DC     90013457960
B123BA43255947   RAUL         NAJERA                       CA     90002590432
B1241194336B72   FRANCISCO    VARGAS                       WA     90015431943
B1241314293727   CRYSTAL      JONES                        OH     64592423142
B124134175B952   TINA         SMITH                        OK     90014933417
B1241376293752   ELISIUS      HOWARD                       OH     90011953762
B1241448255947   DONITA       PULIDO                       CA     90002184482
B124154965B269   MELISSA      GRANT                        KY     68087715496
B1241579372B69   RICKY        NELSON                       CO     33092065793
B1242219576B27   JAMES        GENTRY                       CA     90015312195
B12426A895B327   ED           RAIFORD                      OR     90011666089
B1242718A93758   BRANDY       TAYLOR                       OH     90012967180
B1242798176B27   JULIA        RIVERA                       CA     90012007981
B1243721591257   KEVIN        MILIAN                       GA     90011227215
B124411A976B27   ANOTHONY     SEARLES                      CA     90000491109
B124473A354B94   CHRIS        BUSWELL                      VA     90014187303
B1244823455953   JUAN         RODRIGUEZ                    CA     90012738234
B12449A8993758   DEBBIE       LONG                         OH     90011949089
B1244AA8742376   JEREMY       CLOUDUS                      GA     90013550087
B1245169831688   PAMELA       SHAW                         KS     22062201698
B124555A933635   TREVOR       PETTIFORD                    NC     90009755509
B1245A6217B489   TULA         VALDIVIA                     NC     90013880621
B12463AA15B265   BRANDY       ROPER                        KY     68084293001
B124663392B26B   BRIONNA      CRAWFORD                     DC     90013776339
B1247169893764   BENJAM       ALLEN JR                     OH     64589491698
B124779A391257   WENDY        FERNANDEZ                    GA     90012487903
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1986 of 2350


B124794A55B265   DONNA          JOHNSTON                   KY     90011319405
B124812A893758   DAWNNITA       RUCKER                     OH     90010071208
B1248236655959   FRANK          CHAVEZ                     CA     90008702366
B1249157393752   MICHAEL        FERLOW                     OH     90010861573
B124948A172465   TRISHA         HASHMAN                    PA     51009984801
B1249583393727   TARA           ATKINS                     OH     90000835833
B1249835493752   MISTY          VIVIANO                    OH     90013658354
B1249A1782B941   EVA            REID                       CA     45027400178
B124B965A5B54B   ARTHUR         NUNEZ                      NM     35055159650
B125127525B194   SHAMIKA        BOXLEY                     AR     90014822752
B1251A49A5B396   KRISTIN        HOARD                      OR     90010930490
B125377482B941   FIDENCIO       ZARAGOZA                   CA     90006417748
B125381717B877   TERRENCE       JEFFERSON                  IL     90015408171
B1253A37A93745   JEREMY         FLOWERS                    OH     90013540370
B1253A73197124   JOHN           ONEALL                     OR     90014230731
B1254345355959   BERENICE       ZAMUDIO                    CA     90006093453
B125452272B857   RACHEL         NASH                       ID     90014765227
B1255352531639   BRENT          NOFSINGER                  KS     22057833525
B1255473993771   ELIZABETH      DEATS                      OH     64587074739
B1255526693758   NICOLE         BROWN                      OH     64527275266
B125648395B396   ARNALDO        PARDO                      OR     90008644839
B125657942B248   DAVID          PADGETT                    DC     90011235794
B1256864791563   BRENDA         RAYOS                      TX     90007568647
B1256995593771   CERIA          MAYO                       OH     90001629955
B1256A28251329   MARIE          STOECKLIN                  OH     90002380282
B1256A36693746   KAMEO          TOOSON                     OH     64563450366
B1257115991978   TRADISHA       REID                       NC     90009341159
B125717945B534   BOGER          VALLES                     NM     90008821794
B1257283531639   LISA           BENNING                    KS     90010332835
B1257374972B62   JUAN           GONZALEZ                   CO     90005063749
B1257935976B27   LLAMA          IMELDA                     CA     90002199359
B1257A73893745   STACY          HARRISON                   OH     90011050738
B125814183363B   STACY          WILSON                     NC     90012611418
B1258958355959   ALEJANDRO      RODRIGUEZ                  CA     90013249583
B1259241655947   VINNY          XIONG                      CA     90013142416
B125932222B271   ANGELA         LEONARD                    DC     90008573222
B1259355A93771   NORMAN         JOUETT                     OH     90008353550
B125935975B799   EULOGIO        MORENO-CRUZ                MN     90015053597
B1259811A91524   VIVIAN         GARCIA                     TX     90012778110
B125B372354B94   DARRELL        CALLOWAY                   VA     90010413723
B125B88542B239   SAUNDRA        WARING                     DC     90008488854
B1261474631688   KAREN          GARRETT                    KS     22074704746
B126151272B857   MATTIE         HANCOCK                    ID     42065125127
B1261514393745   ASHLEY         LAVENDER                   OH     64516105143
B1261826972B62   AARON          GREEN                      CO     90010638269
B1262331476B58   VICENTE        CARRERA                    CA     46000443314
B1262477991978   EDWARD K       KURIA                      NC     90004864779
B126256373363B   PRINCESS       RICE                       NC     90010455637
B1262855176B27   ANGELICA       TRIEU                      CA     46073938551
B1262934676B27   TRAM           PHAM                       CA     90010249346
B1263631851324   LASHELLE       SHABAZZ                    OH     90007506318
B1263857785927   DENISE         WILSON                     KY     90012128577
B1263A25193745   ANDRAE         CAREY                      OH     64588940251
B126418695B232   DON            MITCHELL                   KY     90008741869
B1264237676B27   ANGELICA       RODRIGUEZ                  CA     46015182376
B126423A476B27   PHILLIP        ROMERO                     CA     90014352304
B1264A79297124   WANDA          JACKSON                    OR     44005140792
B126568A885927   ERICA          GILL                       KY     67023316808
B1265952793758   MARK           BASS                       OH     64519209527
B12667A443363B   TERESA         DAY                        NC     90008667044
B1267595348B43   LISA           CORDOVA                    CO     33032275953
B126823642B941   ANGELA         HAUSER                     CA     90015302364
B1268938631688   CHRISTOPHE     PORTER                     KS     22075729386
B126898487B489   TERRESSA       TOLAND                     NC     90014499848
B1268A6A672465   ADAM           O                          PA     90010540606
B1269939233635   VANITY         JONES                      NC     18010339392
B1269963191973   CARLOS         ORELLANA                   NC     90005899631
B126B12562B941   ALICIA         ESTRADA                    CA     45046601256
B126B367993727   SANDRA         AREVALO                    OH     64554403679
B1271294197124   JEFFERY        DUNCAN                     OR     44081132941
B1271354593766   LATICIA        RUTLEDGE                   OH     64511843545
B127174422B857   JESSICA        HOWINGTON                  ID     90013157442
B1271786255947   SHEENA         MOUA                       CA     49042107862
B1272226572B62   STACIE MARIE   MCKINNEY                   CO     90012852265
B127224122B26B   TERESA         JACKSON                    DC     81004492412
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1987 of 2350


B1272641185927   MACARIA      FLORES                       KY     67093636411
B127295295B269   MELVIN       EPPS                         KY     90000409529
B1273261993758   REASHON      BATTLE                       OH     90008872619
B127329A193745   JOHN         RAY                          OH     64550272901
B1273473993771   ELIZABETH    DEATS                        OH     64587074739
B127348393363B   LASHELLA D   CREAMER                      NC     12050234839
B1273618A93738   LAQUISHA     WRIGHT                       OH     90010966180
B1273945A55959   NICOLE       LICEA                        CA     90010929450
B127437255B231   BRANDON      STEWART                      KY     90010513725
B1274776A72B69   LETICIA      GALVAN                       CO     33081167760
B1274AA415B396   NANCY        WELLMAN                      OR     90001080041
B127588A885927   MICKEY       BRUNER                       KY     67085178808
B12762A7972B28   DEREK        ANTHONY MARTINEZ             CO     90001172079
B1276751393745   DORA         LAWSON                       OH     90014237513
B12767A125B396   SHYANBNE     SALAZAR                      OR     90015007012
B1277279355953   OSCAR        POLIN                        CA     90011922793
B12775A142B857   JACKIE       DOWNEN                       ID     90012655014
B1277776585927   KELVIN       WHITE                        KY     90010467765
B127795295B269   MELVIN       EPPS                         KY     90000409529
B1278126555959   JOSE         ESPINOZA                     CA     90012521265
B127878485B265   MARY         COX                          KY     90002637848
B1278943131639   KRISTI       JONES                        KS     22068949431
B127913A87B443   SOLOMAN      GARRETT                      NC     11056631308
B1279588455953   SANTIAGO     TAVAREZ                      CA     90001735884
B127973A961927   ABRAHAM      LARTUNDO                     CA     90011807309
B12798A7131639   JOSEPH       BRABEC                       KS     90006408071
B127B368372B62   ADRIANA      GARCIA                       CO     33071773683
B127B852255953   JOINOR       LOPEZ                        CA     90002168522
B127BA88285927   RACHEL       WASHINGTON                   KY     90012000882
B1281218A31639   MICHELLE     KELLER                       KS     22072252180
B1281995497125   KEATON       STEPHENS                     OR     90012639954
B1282224931639   MARY         BELL                         KS     90013192249
B1282626976B27   MIKE         BERGER                       CA     46078526269
B1282929A93745   LATOYA       KERBY                        OH     64528389290
B1282943861924   JULIO        RUIZ                         CA     90009809438
B1282AAA62B941   DEMETRIO     ESPARZA                      CA     90006990006
B128317982B26B   CRYSTAL      GRAY                         DC     81090481798
B128319AA31639   TYLER        SHADE                        KS     90010371900
B1284155172B62   DARRIN       POTTER                       CO     90000201551
B128442323363B   KAREN        REDMON                       NC     90014764232
B1285943393758   MATTHEW      ANDERSON                     OH     90013939433
B128615484B243   WILLIAM      FISHER                       NE     26010101548
B128627132B941   ASHLEY       MORDONEDO                    CA     90012302713
B1286634193727   KEITH        MCGUFFIE                     OH     90009476341
B128667765B327   GLORIA       HAIG                         OR     90000396776
B1287268697124   TOMMYLYN     WALLER                       OR     44028912686
B1287359372B69   DERRALL      STROCK                       CO     90014563593
B1288422391257   FRANCIS      JOHNSON                      GA     90013054223
B1288862993736   MAMADOU      DIALLO                       OH     90013648629
B1289167291994   KIMBERLY     POPE                         NC     17028211672
B1289176A5B593   JUAN         TERRAZAS                     NM     90007901760
B128B257785927   SUNNY        SINGH                        KY     90015512577
B128B6A515B265   CANDACE      CLARK                        KY     90009816051
B128B751697124   JESSIE       BRATCHER                     OR     44015397516
B129122A655959   VENUSTIO     MARCIAL DIAZ                 CA     48002212206
B1291317593727   RODNEY       SCOTT                        OH     64598673175
B1291381272B69   DAVID        RAMIREZ                      CO     90014373812
B129172132B941   AUCELIA      FAGUNDES                     CA     90012137213
B1291955485927   STANLEY      PERRY                        KY     90008069554
B1291977A55947   LUPE         SUAREZ                       CA     49007579770
B129215122B248   CATLINA      TZUBAN-PU                    DC     90000421512
B129219169194B   BOBBIE       JOHNSON                      NC     90008571916
B1292447697124   JESUS        CEJA                         OR     44091064476
B1292561672B62   NADER        MUHAISEN                     CO     33071825616
B1292967455953   OLIVIA       HENEGAR                      CA     90001519674
B1292A65A2B857   JERRY        MANGUM                       ID     90012470650
B129318873363B   KAREN        LOWERY                       NC     90014621887
B129328185B265   DENNIS       HICKS                        KY     90007302818
B129329879194B   DEICY        ALVAREZ                      NC     17092012987
B129376315B396   GRACE        AMOO                         OR     90012387631
B129386475B327   MELISSA      REEVES                       OR     90013228647
B129418212B248   DANNY        WORTHAN                      DC     90012561821
B129438615B327   DAVID        BROWN                        OR     90010943861
B129444212B941   KRISTY       AVALOS                       CA     90013404421
B1294565472465   OMAR         RIVERA                       PA     90010555654
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1988 of 2350


B1294A3292B857   TIMOTHY         BELAU                     ID     90012180329
B1296463655972   SAUSHA          DIXON                     CA     90008844636
B129692213363B   CARRIE          WISE                      NC     90014739221
B129694292B232   RONALD          BRADFORD                  DC     81011869429
B129728A197124   JEFFREY         SCOTT                     OR     44090832801
B1297695433635   MELKIS          MORALES                   NC     90014706954
B1297A43A55947   SCARLET         DURAN                     CA     90014710430
B129814183363B   STACY           WILSON                    NC     90012611418
B1298162197124   BRADLEY         MCELROY                   OR     90012211621
B129825883363B   CIARA           REDFEARM                  NC     90013932588
B129833692B857   VIVICKA         ADAMS                     ID     90003173369
B129834715B333   SONGA           FRANKS                    OR     90008993471
B1298629393727   RACHEL          HERMAN                    OH     90006766293
B1298965A84373   CHILENIA        JAMISON                   SC     90008919650
B129942938B237   ORRIN           DOMINA                    VT     90015164293
B1299471793745   PAULA           GUTIERREZ                 OH     90014074717
B1299851971931   ISABELLA        BIERI                     CO     32031558519
B1299965591921   ONYX            HARDY                     NC     90014019655
B129B88245B265   ANGEL           LATHAN                    KY     68033948824
B12B113855B396   LACEY           GONZALEZ                  OR     90014311385
B12B1362761952   RICHARD         FREITAS                   CA     46001313627
B12B137682B26B   ROCHELLE        HALL                      DC     90001363768
B12B1589255953   MANUEL          SERRANO                   CA     90007475892
B12B164AA85927   KALISA          FREDERIC                  KY     90008816400
B12B1A73497124   MICHAEL         BROWN                     OR     90014770734
B12B273185B338   HECTOR          GIL                       OR     90009427318
B12B2852291885   SARAH           FOSTER                    OK     90008358522
B12B289625B327   MILO            RUIZ                      OR     90011538962
B12B2915984373   ANTHONY         JOHNSON                   SC     90006799159
B12B3286691257   JUSTIN          POULSEN                   GA     90010762866
B12B3433A2B271   TRACEY          HARRIS                    DC     81091314330
B12B3795A24B64   NELYS           ROVIRA                    DC     81018147950
B12B3817693751   JOHN            MOORE                     OH     90006048176
B12B5551272B62   MARIA           RAMIREZ                   CO     33093845512
B12B5592655959   VICTOR MANUEL   NUNEZ                     CA     90013225926
B12B596882B857   DONNA           GRAVES                    ID     42091489688
B12B6254657149   GETACHEW        AYELE                     VA     81098772546
B12B62A2697124   GEORGE          LOPEZ                     OR     90012352026
B12B648413363B   CURTIS          LEWIS                     NC     12043904841
B12B6A3745B269   MARIE           EDWARDS                   KY     90001870374
B12B7259655947   JESSE           JIMENEZ                   CA     90014732596
B12B74A6793752   CHARLES         THOMASON                  OH     90013574067
B12B7664397124   JENNIFER        CEVALLOS                  OR     90008646643
B12B786152B857   KAREN           OWENS                     ID     42022738615
B12B79A4231639   DONALD          BOOR                      KS     22065479042
B12B7A65493758   WENDY           BOWMAN                    OH     90013450654
B12B8125593727   SUSAN           TAYLOR                    OH     64569481255
B12B8444833635   JANIE           ROBERTS                   NC     90014754448
B12B848A87B489   JOSELYN         GUZMAN                    NC     90013864808
B12B8672155959   JOSE            LOZA                      CA     48057446721
B12B878533363B   JOSHUA          JORDAN                    NC     90013347853
B12B87A9941243   MOHAMED         ALI                       PA     90009497099
B12B9288697124   MARIAN          MAYA                      OR     90005392886
B12B9296493764   EBONY           HICKMAN                   OH     64570232964
B12B9823293745   DEIRDRE         CORDELL                   OH     90014138232
B12BB198131639   CARLA           HARRISON                  KS     22060451981
B12BB425A5133B   BRIAN           NORRIS                    OH     66004754250
B12BB66185B327   VINESSA         ROLEY                     OR     44508586618
B12BB933872B27   EDMUND          DEHERRERA                 CO     33056369338
B12BB969455959   ALEXANDRIA      MURILLO                   CA     90014639694
B131183A871936   VICTORIA        ULIBARRI                  CO     90009608308
B1311A6298B19B   SHER            CARD                      UT     90010780629
B131232345B372   PETER           ZAIK                      OR     44572823234
B1312676472465   BARBARA         MARSILIO                  PA     51045586764
B13126A3733635   EVELIA          ROBLES SALAZAR            NC     90014756037
B131282A654B94   CARLA           BOYCE                     VA     90011898206
B1313685A57564   MELINA          GAYTAN                    NM     90012476850
B131417A472B62   GUADALUPE       PEREZ                     CO     90012871704
B1314228A9194B   TIM             HAYES                     NC     90009282280
B1314316893752   TAMMY           ARNOLD                    OH     64511413168
B1314646A31639   MINDY           HEDRICK                   KS     90015136460
B1314958276B27   WAYNE           WILLIAM                   CA     46069649582
B1315537672B62   VALERIE         OSBORN                    CO     33010225376
B1315597476B27   ZESAR           ELIZARRARAS               CA     90008205974
B131589417B489   DWANA           TRUESDALE                 NC     11058078941
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1989 of 2350


B1315A1685B265   C                  CARDWELL               KY     90013810168
B1315A24993758   VANESSA            JONES                  OH     64527290249
B1316254272B62   APRIL              SALINAS                CO     33008422542
B1316794233635   JUAN               HERNANDEZ              NC     90008497942
B1317167872B62   ADALBERTO          OLIVAS                 CO     33004411678
B1317677493727   TAMARA             THOMAS                 OH     90001456774
B1317881993764   CHRISTINE          MILLSAP                OH     90010718819
B1318239791978   ROBERT             THOMAS                 NC     17010112397
B13182A7955959   SONIA              HUERTA                 CA     90005902079
B131838842B857   DARRELL            HAMLIN                 ID     42094793884
B1318656976B27   ROBERT DANIEL      BAEZ                   CA     90015306569
B1318662676B27   LUIS               LOPEZ                  CA     90012896626
B1318A74924B3B   LONELL             HAYES                  DC     90014680749
B1319321333635   LAQUANDA           WOODS                  NC     90014733213
B1319333A55947   NORA               GONZALEZ               CA     90011693330
B131966132B248   LASHEDA            MCNEIL                 DC     90011226613
B1319674355953   VICTOR             OROZCO                 CA     48014826743
B1319A11A7B851   BEN                THOMPSON               IL     90015570110
B1319A37A93745   JEREMY             FLOWERS                OH     90013540370
B131B58799713B   VERONICA           TORO                   OR     90013955879
B131B5A1893745   DESTINY            ST JOHN                OH     90015475018
B132111146693B   JENNY              YANG                   CA     90015151114
B13213A2A54B94   WILLIAM            DIAZ                   VA     90013923020
B1321429872465   DANIELLE           ALLEN                  PA     90009214298
B132152475B265   SAMANTHA           ESTEP                  KY     90015255247
B1322136793745   HEATHER            RICE                   OH     90012041367
B132213722B248   LINDSEY            FINN                   DC     90013861372
B1322347333635   NICKEY             ALSTON                 NC     90014713473
B1322A59861952   ANTONIO            IBARRA                 CA     90012340598
B1323347333635   NICKEY             ALSTON                 NC     90014713473
B1323382455924   EBELIA FARIAS DE   BARRAGAN               CA     90014013824
B1323539A55959   NORMA              SANDOVAL               CA     48011865390
B1323617772B69   BRENNA             HALL                   CO     90014576177
B1323743655953   RICKEY             GARCIA                 CA     90013217436
B1323919A2B941   CHULIZ             RWC                    CA     90015139190
B1324398A5B131   JEQWEISHA          ROSS                   AR     90014133980
B1324844391972   OMAR               RUIZ                   NC     90009248443
B1324852391972   ANA                PEREZ                  NC     90002028523
B1325227A8B14B   CLARISSA           WALSH                  UT     90004192270
B1325377693745   SHARON             GALLAMORE              OH     90004533776
B1325658655959   LIDIA              HERNANDEZ              CA     90006446586
B1325A84255953   DANIEL             MARES                  CA     90015150842
B1326219576B27   JAMES              GENTRY                 CA     90015312195
B1326378155947   ADRIANA            REYES-MAGANA           CA     90011693781
B1326472985927   NANCY              MCKEE                  KY     90015034729
B132662872B26B   SHEILA             MATTHEWS               DC     81016086287
B1326A4752B857   GABRIEL            VELASQUEZ              ID     42086080475
B1327965776B27   YENY               IBANEZ                 CA     46057689657
B1328326A31639   LINDA              TAYLOR                 KS     22063183260
B1328395431688   DANNY              BRASHAR                KS     90009403954
B1328469493727   SHAWN              DOEPEL                 OH     64551924694
B132881125B265   ADRIAN             CARTER                 KY     90012928112
B13288A5255979   CINDY              MORALES                CA     90011128052
B1328991993758   YUMAN              WEI                    OH     90013939919
B132935783B321   DUTTCH             HOLIDAY                CO     33049533578
B132B527376B27   CAROLINA           VELAZQUEZ              CA     90009925273
B132B64822B941   JOSE               MURATALLA              CA     90014876482
B132B72832B945   MIGUEL             OLIVARES               CA     90009957283
B132B754293746   RALPH              EVANS                  OH     64530847542
B132B989493758   GLENNA             BAKER                  OH     90013939894
B13311A8A5B265   DAVINA             POINTER                KY     90014901080
B1331216193752   BRANDON            SHANKS                 OH     90012872161
B1331283131639   CHARLES            SUOMINEN               KS     22005892831
B1331567457565   YESENIA            PEREZ                  NM     35595125674
B1331864255953   NENA               DAVIS                  CA     48082208642
B1332139172465   PATRICIA           GETTINGS               PA     51080051391
B13322A5155959   ROSA               TAPIA                  CA     90014542051
B1332517993745   RICHARD            ROWLAND                OH     64559965179
B133267292B941   MICHEAL            HUNEKE                 CA     45085646729
B13326A5155953   OSCAR              RODRIGUEZ              CA     90002376051
B133284475B396   ALLEN              MCNACK                 OR     44572788447
B1333199555953   VERONICA           MARTINEZ               CA     90011411995
B133374A193771   BARBARA            GREENBAUM              OH     64584627401
B1333771185927   NOE                GUZMAN                 KY     90014097711
B133444A672465   CHRISTOPER         GATES                  PA     51010184406
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1990 of 2350


B1335195133635   BETELHEM     AMARE                        NC     90006991951
B133522185B396   KEREN        OLISA                        OR     90015272218
B1335232876B27   LAURA        FONSECA                      CA     90008242328
B133537562B941   VERONICA     MARISCAL                     CA     90003443756
B133571432B248   TANGELA D    LIDDELL                      DC     90013617143
B1335881751332   KRISTA       EARLEY                       OH     90012028817
B1335957341229   PAUL         DOUGLAS                      PA     90012259573
B1335973893752   ELLEN        BODDIE-KELLEY                OH     64512509738
B133645175B327   YOJANA       RODRIGUEZ VALLEJOS           OR     90010374517
B1336558791978   ROSEMARY     GUZMAN                       NC     90004125587
B133699935B265   THURMAN      BENFORD                      KY     68042819993
B1336A74A76B27   JULIE        DELGADO                      CA     90012740740
B1337161754B94   JOE          SEGRETTO                     VA     90006901617
B133722184B243   JOSEPH       BYLER                        NE     90012712218
B1337995433635   CYNTHIA      MORALES                      NC     90010119954
B13387A295B327   JENNIFER     BAGGE                        OR     44571617029
B1338A73A9194B   JUANS        LANDSCAPING                  NC     17007940730
B133925A22B248   CARLOS       BLANCO                       DC     90007352502
B1339368693758   MELISSA      DUNFORD                      OH     64594253686
B13393A6633635   KELLY        ALLEN                        NC     90014743066
B1339446155947   JOSE         HUERTA                       CA     90011694461
B133964A15B265   TAKEYA       WEAKLEY                      KY     90007816401
B1339892A3363B   TAMARCUS     CONYERS                      NC     90014358920
B1339894891257   CHRISTINA    MCARTHUR                     GA     90011638948
B133999937B489   JUAN         RANGEL                       NC     90014529993
B133B16722B248   ARELI        LEON                         DC     90013051672
B133B357854B94   CRYSTAL L    DODSON                       VA     90011613578
B133B3AA27B489   DEMETERUS    GOODE                        NC     90011653002
B133B665591563   LYNA         BALLEZA                      TX     90006366655
B133B6A745B265   VONDA        BOWEN                        KY     90009806074
B133B975693727   BRENT        SNYDER                       OH     64514829756
B133B979A55947   EBONY        ABALOS                       CA     90014719790
B1341317A54B94   SANDRA       ARIAS                        VA     90013953170
B1341615772B62   BETH         BLIZZARD                     CO     90013536157
B1341A2A82B248   LASHAWN      LEWIS                        DC     90011870208
B1342434A55959   SONIA        ZAPATA                       CA     90014374340
B134282374B954   ROGELIO      CHAVEZ                       TX     90002948237
B134315A876B27   SERGIO       VALENCIA                     CA     90012421508
B1343555376B27   STEVE        BACA                         CA     90012375553
B134366942B26B   LATONYA      MCCREARY                     DC     90002086694
B134411552242B   MARIANO      ORTEGA                       IL     90007771155
B134416A55B269   MICHAEL      WALLEN                       KY     90001011605
B1344369591353   RANDOL       CONE                         KS     90008453695
B1344722372B62   LEROY        DIAZ                         CO     90010667223
B134486782B941   STEVE        FLOWER                       CA     90011038678
B134493A62B857   ALSHLEY      REEVES                       ID     90014299306
B1344954A5B396   MATTHEW      BROWN                        OR     90013749540
B1345682A55947   MAYRA        SNOWDEN                      CA     90012306820
B1345A2115B265   SHANE        KENDALL                      KY     90009270211
B1345A65A2B857   JERRY        MANGUM                       ID     90012470650
B1346974498B23   CRISTINA     VINGLEY                      NC     90014159744
B1347439A97124   ANGELA       WILLIAMS                     OR     90014344390
B134796A25B327   PEDRO        ZUNIGA                       OR     44581529602
B13479A2155973   MARTIN       LOPEZ                        CA     90008059021
B1347AA3A91978   DAYSI        DADIS                        NC     90013930030
B1348259655947   JESSE        JIMENEZ                      CA     90014732596
B134829A385927   LEON         JOHNSON                      KY     90009532903
B1348654A33635   MARK         VAUGHAN                      NC     90014746540
B1348953924B3B   JOANNE       WILLIAMS                     DC     90009389539
B134898895B327   PAMELA       LAULAINEN                    OR     90012689889
B1349116433635   STEPHANIE    ROSE                         NC     90009191164
B1349374293758   TAMMY        DECKARD                      OH     90014113742
B134937482B857   VICKY        HEREDIA                      ID     42079483748
B1349646555947   YESENIA      MARTINEZ                     CA     49019456465
B1349738355953   JUAN         ALGUILAR-GARCIA              CA     90009957383
B134976895B396   JOSHUA       MACKLIET                     OR     90012317689
B1349931193764   ANNELIESE    BLACKBURN                    OH     90007179311
B134B175697B43   LACY         LOWE                         CO     90007661756
B134B387A55947   CARLOS       SANCHEZ                      CA     90010763870
B134B955885927   VERONICA     VARGAS                       KY     90015139558
B1351219576B27   JAMES        GENTRY                       CA     90015312195
B1352867431639   JODY         CURRY                        KS     90007618674
B1353239791978   ROBERT       THOMAS                       NC     17010112397
B1353261293727   TIFFANY      RUSSELL                      OH     90013762612
B1353298661989   LATIJERA     MACON-WILSON                 CA     90006912986
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1991 of 2350


B1354195893727   BRANDON           EMBRY                   OH     90006581958
B135457335B396   SARAH             VERLIY                  OR     90015135733
B13547A792B248   CRYSTAL           ROBINSON                CO     81091847079
B1355324372B69   CAROL             GALVAN                  CO     90013663243
B135559475B327   BRITTANY          SORENSEN                OR     90010675947
B1355717341278   TRICIA            CARTER                  PA     51085747173
B13557A5385927   SERENA            FLORENTINO              KY     90012427053
B1355896633635   KENTRELL          FULLER                  NC     90014758966
B1355943624B3B   CARLOS            JACKSON                 DC     90014569436
B135615575B265   WAYLE             RICKETS                 KY     90009941557
B135639195414B   JUAN              LOPEZ                   OR     90015293919
B1356567485927   SHALONDA          HAWKINS                 KY     90002925674
B1356926893752   DEBORAH           RYAN                    OH     90010879268
B1357A77733635   LAKEINA           CHANDLER                NC     90014760777
B135813975B265   TERESE            HENDRIX                 KY     90013401397
B135825857B489   ALFREDO           MENDOZA                 NC     90012112585
B1359118455947   EDWARD            CHILDRESS               CA     90014981184
B1359577733635   ALESANDRA         MCCOLLUM                NC     90014765777
B1359744A97124   DAVID             YOUNG                   OR     90010327440
B1359872184348   ANNA              RICCIO                  SC     90010998721
B135B81652B248   NELSON            MENJIVAR                DC     90012688165
B1361319593745   GEORGE            SCOTT                   OH     90014883195
B13615A4693745   JACQUES           WHITE                   OH     90010335046
B136237A97B489   DELORIS           CLARK                   NC     11064713709
B1362381855947   KENDALL           FINCHER                 CA     49074243818
B13624A3555947   KENDALL           FINCHER                 CA     90014584035
B136285229185B   PAULETT           STARR                   OK     90014308522
B1363451131699   ANGELA            PAYTON                  KS     22017244511
B1363651872B28   DENEA             JUNEVICAS               CO     90004166518
B136371A23363B   VERONICA          LANE                    NC     12009257102
B1363738533635   JOSHUA            ROGERS                  NC     90014727385
B136414715B541   BLACNA            ZAPATA                  NM     90013451471
B136416A572B69   FLORA             ROSAS                   CO     90014341605
B1364613597124   ELSA              QUEZADA                 OR     44090716135
B136499237B489   CHARLES           HOOPER                  NC     90010169923
B136555582B248   ALEX RAFAEL       MARQUEZ                 DC     90007535558
B136564235B265   TARA              SMITH                   KY     90014106423
B1365714A85927   STACY             LYVERS                  KY     90015547140
B136583A62B941   RAFAEL            GARIBAY                 CA     90013538306
B1365983721929   VERONICA          HUERTA                  IN     20582319837
B136661485B396   LAETITIA          YELENGANOU              OR     90002476148
B1366722A72B26   JOANNE            VASQUEZ                 CO     33072567220
B1366A22497124   LEE               MAUN                    OR     90014510224
B1366A72142376   AMY               JONES                   GA     90013530721
B136733785B327   CATHY             RODRIGUEZ               OR     90010993378
B136753425B265   LAUREN            BOLIN                   KY     90015165342
B136779A155953   GUADALUPE         MEDINA                  CA     90011177901
B1367A3877B877   OSCAR             QUINONES                IL     90015500387
B1368889A97124   KRYSTAN           FROST                   OR     90013218890
B1368897793745   HELEN             SALYER                  OH     90014648977
B1368975143288   RAYMOND           ARENIVAS                NM     90013679751
B1368AA477B489   OSCAR ADRIAN      GALICIA LOPEZ           NC     90013890047
B1369181193758   KYLA              SANTIAGO                OH     90009401811
B1369224931639   MARY              BELL                    KS     90013192249
B1369467472B62   PEDRO             RIVERA                  CO     90015184674
B136B188455959   RENE              REBIA                   CA     90012681884
B136B259655947   JESSE             JIMENEZ                 CA     90014732596
B136B276172B62   TEMPLE            MONTOYA                 CO     90009872761
B136B568633635   TIFFANI           ROSS                    NC     18040715686
B136B579855953   ALICIA            RENTERIA                CA     90001835798
B136B713376B27   GABRIEL           CERMANO                 CA     90013677133
B136B81272B941   CHRISTOPHER       BARCELLOS               CA     90011078127
B136B99735B327   RICO              DE VERA                 OR     90007339973
B137114762B941   LINDA             JANTZ                   CA     45010141476
B1371567472B69   ERIC              OCONNELL                CO     90005585674
B137169415B327   LUDVING           COTOM BARRIOS           OR     44591086941
B137187117B489   MARY              MCCLAIN                 NC     11034278711
B137196789194B   LASHANDA          MCGOUGAN                NC     90001719678
B137197623B396   LEIGH AND JASON   HAGIN                   CO     90009989762
B1372219993752   HEATHER           RYAN                    OH     90013692199
B13725A7955947   MICHAEL           CLARK                   CA     90012795079
B1372A95272465   RANDALL           GRAY                    PA     51041020952
B137331A985927   BOBBY             COUBERT                 KY     90014623109
B13733A337B489   MONICA            PARDO                   NC     11083913033
B1373946693764   BRANDON           MARSHALL                OH     90014559466
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1992 of 2350


B137417163363B   DANIEL       HAIRSTON                     NC     90013331716
B1374415497124   JOHN         TIMOTHY                      OR     44014444154
B137443A82B941   YVONNE       Z GUTIERREZ                  CA     45094384308
B13747A442B857   STEVEN       MARTINSEN                    ID     90011247044
B137482445B396   MARY         GRIFFEY                      OR     90005748244
B1374854672B62   NOEMI        CASILLAS                     CO     33063698546
B1374955A97124   TIMOTHY      CAYLOR                       OR     90013509550
B13755A345B396   GLENN        ELLIS                        OR     90009465034
B1375638A55947   MARIA        DIAZ                         CA     90000826380
B137575988B337   STACEY       DUNCAN                       SC     90004427598
B137619A491574   JANETH G     RIVERA                       TX     90008251904
B137689A155947   MAI          VUE                          CA     90014848901
B1376962731639   SHANTIA      SUNDERLAND                   KS     90014269627
B137714695B327   ALREATA      LUCKY                        OR     90007681469
B1377225855921   RAYMOND      LONG                         CA     90001872258
B1377279493752   CHANELLE     DAVIS                        OH     90014042794
B137814715B396   LEASA        WICKERHAM                    OR     44583941471
B1378428355953   DANIEL       MARTINEZ                     CA     90000674283
B1378944654B94   ISMAEL       SOLEDAD                      VA     90014669446
B137953A555947   KATHERINE    OLDHAM                       CA     49084385305
B1379543A91978   IRA          HERANS                       NC     90006855430
B137964822B941   JOSE         MURATALLA                    CA     90014876482
B137968367B851   PAYGO        IVR ACTIVATION               IL     90012406836
B1379721233635   TONY         COUSIN                       NC     18063797212
B137B18617B493   MARIA        BARAHONA                     NC     90009221861
B137B796585927   DEANTE       HILL                         KY     90010847965
B137B992955947   JOSEPH       SUSON                        CA     90014709929
B137BA66793745   KEISHA       MARSHALL                     OH     90013540667
B138138142B26B   SANDRA       REDDING                      DC     90010063814
B138182682B271   DON          MORGAN                       DC     81072478268
B1381A3433B352   JESUS        LEON                         CO     90014920343
B1381A6862B857   DIANE        KENNEY                       ID     90012690686
B138288972B248   SHENEQUE     MINOR                        DC     90013348897
B1383563672B69   ANTHONY      LACY                         CO     90011165636
B138392752162B   MI MEE MEE   LAY                          OH     90013829275
B138421A222465   LEKAN        AGUNIBIALDE                  IL     90014442102
B138444A655959   MANUEL       MARAVILLA OCHOA              CA     90001184406
B138469A155947   NANCY        PEREZ                        CA     49044526901
B138512862B857   JANICE       WARD                         ID     90014591286
B1385947472B62   CONIAH       RAPP                         CO     90009999474
B1385A7622B941   RUBY         BEHRENS                      CA     45090410762
B1386369A72B62   RICARDO      ESTRADA                      CO     33083623690
B138683212B248   DONOVAN      HINNANT                      DC     90014768321
B1386862A91978   JOSHUA       RUFFIN                       NC     90011048620
B13875AA255959   MARIA        CHAVEZ                       CA     90007995002
B138794A355947   YOLANDA      GARCIA                       CA     90004579403
B1387A9A793745   STACY        DANIELS                      OH     90006080907
B138832642B857   PATRICIA     CEJA                         ID     42082243264
B138836478B154   CONNIE       HARTMANN                     UT     31096213647
B138846122B745   SHAWN        OCONEO                       ME     90015454612
B138874775B327   EFRAIN       INOCENCIO VEGA               OR     90011317477
B138874A655959   MONICA       ORTIZ                        CA     90015237406
B138899A35B396   TIFFANY      BAILEY                       OR     90010529903
B138935445B382   JOSE         GARCIA OSORIO                OR     90011403544
B1389434272B69   HAROLD       CLARENCE PAUL                CO     90012424342
B1389512372465   MICHAEL      MCCULLOUGH                   PA     90010605123
B1389681A2B857   MARIA        GARCIA                       ID     90013676810
B138991532B248   JOHNNY       WILEY                        DC     90001939153
B138B155554B94   LOUYDES      GAMEZ                        VA     90014201555
B138B718576B27   GEORGINA     CAPRICIO                     CA     90014277185
B138B8A928B131   GIUSEPPE     MARTINENGO                   UT     31082958092
B138B926893745   ANGELA       MCKENZIE                     OH     64599169268
B138B998A61998   ADRIANA      DIAZ                         CA     46027789980
B1391153854B94   MINA         COEVAS                       VA     90007931538
B1391343855959   VICTOR       CONEJO                       CA     90010923438
B139173397B489   SIHUMARA     CRUZ                         NC     11002447339
B139187725B269   STEPHANIE    DAVIS                        KY     68077488772
B139232415B389   BLAINE       WELLS                        OR     44548723241
B139247A83363B   TELIA        MCNEAIR                      NC     90012174708
B139295232B236   TEKELACHEW   GEBRE                        VA     81020059523
B139332955B396   MAJOR        STEVE WILLIS                 OR     90011993295
B139368A92B941   MARIA        AZEVEDO                      CA     90003576809
B139395A772B69   JAQUELINE    GARCIA                       CO     90010969507
B139452755B327   MELODY       GUEST                        OR     44576955275
B1394742A5B396   JUSTIN       MOSHER                       OR     90014517420
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1993 of 2350


B1394786322963   CANDELARIO    NAVARRO                     GA     90014997863
B1395236193745   DARRIUS       EVANS                       OH     90013902361
B139564A197124   AMANDA        DUCK                        OR     44016016401
B1395A6862B857   DIANE         KENNEY                      ID     90012690686
B139645A555959   YARID         FLORES                      CA     90013434505
B1396924172B69   JENNIFER      BURCH                       CO     90015329241
B1396974255947   SHELIA        ARWOOD                      CA     49018379742
B139716922B271   ERICA         SHORTER                     DC     81030221692
B13971A6393758   MEAGAN        RICHARD                     OH     90010031063
B139766135B327   JOHN          PEARSON                     OR     90005186613
B139857782B26B   AGUSTINA      DIAZ                        DC     81058325778
B139867433363B   OMAR          VELAZQUEZ                   NC     90014806743
B1398692955947   MARIA         HERNANDEZ                   CA     90011696929
B13987A435B396   LARISSA S.    HUTHCINSON                  OR     44594767043
B1398981293758   KATHY         MITCHELL                    OH     64527679812
B1399135155947   ANDREA        SUMMERS                     CA     90014721351
B1399192276B27   PAULETTE      FAJARDO                     CA     90005271922
B13994A5593752   SHAWN         CONLEY                      OH     64572224055
B1399622991257   GEORGE        STEWART                     GA     14570846229
B139B54572B941   LUCIA         PEREIRA                     CA     45003995457
B139B718833635   DEBRA         PHILSON                     NC     90014807188
B139B73849194B   CARLOS        MANUEL BURGOS               NC     90006617384
B139B7A685B269   RICHARD       EWING                       KY     68068487068
B139B972247832   AUDREY        KENDRICK                    GA     90014359722
B13B1162742332   DENISE        SANFORD                     TN     90010161627
B13B123137B443   SARAH         THOMPSON                    NC     11046382313
B13B1558585927   DAVID         MOYES                       KY     90015175585
B13B1A4943363B   CHRISTOPHER   MCRAE                       NC     90013080494
B13B2215972B62   MARIA         PICHARDO AGUILAR            CO     33001702159
B13B2347333635   NICKEY        ALSTON                      NC     90014713473
B13B2A26176B27   NATHAN        PILLEN                      CA     90000460261
B13B3177955959   MARIA         ANDRADE                     CA     90005791779
B13B323572B248   MOE           BRIGGS                      DC     90015002357
B13B342A472B69   DAMIAN        ARAMBULA                    CO     33003024204
B13B3499A33635   LAWRENCE      ALLEN                       NC     90014714990
B13B398332B26B   BERTINA       RANSOM                      DC     90009059833
B13B4316A3363B   SOKNY         SARY                        NC     90000363160
B13B4515533635   FAITH         SMELTZER                    NC     90014715155
B13B4591455931   DANIEL        LEDESMA                     CA     48096125914
B13B473122B248   ANTHONY       STRADFORD                   DC     90008707312
B13B477473B387   BENJAMIN      DEVAULT                     CO     90010707747
B13B47A295B327   JENNIFER      BAGGE                       OR     44571617029
B13B5135551329   JOHN          GARNER                      OH     90005551355
B13B523795B231   CIRA          TELLEZ                      KY     90013412379
B13B53A535B265   LAWRENCE      WILSON                      KY     90011203053
B13B5515533635   FAITH         SMELTZER                    NC     90014715155
B13B5634591257   TODGE         JACKSON                     GA     90012056345
B13B5718A5B396   TONDA         SMITH                       OR     90014987180
B13B5856955953   ANDREA        RODRIGUEZ                   CA     90012498569
B13B5921661429   JONATHAN      WORDLAW                     OH     90014099216
B13B6165193745   SUSAN         EMMONS                      OH     64551791651
B13B648879194B   MARK          SPENCE                      NC     90006734887
B13B6514193727   GABRIELLE     LOVATO                      OH     90013005141
B13B6546A33635   KEON          MOSER                       NC     90014715460
B13B6681155947   DEMITA        PINCHBACK                   CA     49093966811
B13B6A1132B857   CHRISTINA     HOWE                        ID     90008510113
B13B6A75A5B327   RAY           BELFIELD                    OR     90012660750
B13B7296A7B489   ALYSSA        JACKSON                     NC     11071862960
B13B7322297B59   FATIMA        BANUELOS                    CO     39081533222
B13B752A172B69   RICHARD       VIGIL                       CO     33039135201
B13B7999222465   MOLLY         HENDERSON                   IL     90006689992
B13B799A92B26B   SHIRAL        WALLS                       DC     90010449909
B13B8254326222   ANGEL         MILLAN                      WI     90013802543
B13B834142B857   TONYA         CRONISTER                   ID     90002263414
B13B8353172B53   TAMARA        RANDLES                     CO     33081613531
B13B853365B327   AMBER         APPLE                       OR     90014325336
B13B8653291554   IRMA          GONZALEZ                    TX     90004786532
B13B8A9A997124   YAZMIN        ALFARO                      OR     90011800909
B13B9269397124   ROSA          OLIVAREZ                    OR     90004742693
B13B9AAA62B941   DEMETRIO      ESPARZA                     CA     90006990006
B13BB723A91592   CARLOS        SAUCEDO                     TX     90014467230
B14115A927B443   TALISHA       TOBIN                       NC     90002405092
B141266135B327   LAURI         HANSEN                      OR     44532786613
B1412872372B69   JIMMY         HERNANDEZ                   CO     90005568723
B1412994233646   JENNY         LING                        NC     90006529942
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1994 of 2350


B1413711272B69   JOSE LUIS     MANDEZNIETO                 CO     90011877112
B141415A176B27   LACEY         HICKS                       CA     46022021501
B141484462B271   CECILIA       ANAMARIA                    DC     81036728446
B1416378872465   ISAAC         TAYLOR                      PA     51015243788
B141656245B265   HAROLD        DOUGLAS                     KY     90013615624
B1416693255947   REGINA        REYNOSO                     CA     90013416932
B1416843197124   EDWARD        ALBERT                      OR     90009638431
B1416883555953   SALLY         LEON                        CA     48053668835
B1416A25885927   JOSEPH        STEWART                     KY     90015590258
B141717683363B   ERIC          PAYNE                       NC     12068211768
B1417749A7B443   SHADIAMOND    PENNY                       NC     11008397490
B14179A2293771   NOAH          BEHN                        OH     90009399022
B141816372B26B   SHANEKA       DAMMONS                     DC     90011341637
B141878375B327   ORLANDO       BARCENAS                    OR     90015117837
B1418877476B27   ANTONIO       LOPEZ                       CA     46043628774
B1418A47131688   ANGELA        GRITTEN                     KS     22073740471
B1418A91591257   ROBERT        ALTACHO                     SC     14585530915
B14193A5676B27   ALISHA        LIRA                        CA     90004923056
B1419A35685927   YOLANDA       DOMINGUEZ                   KY     67066530356
B141B219A55953   FAVIO         CAMACHO                     CA     90011622190
B141B527893727   JOE           MCMILLEN                    OH     64529745278
B141B753A2B941   ALEXANDER     PEREZ                       CA     90007257530
B141BA88676B27   MARICELA      MARTINEZ                    CA     90013970886
B14214A1976B27   LEONARO       ALMARAZ                     CA     90013794019
B1421565584353   MONTEZ        JOHNSON                     SC     90013325655
B1421642A93727   EARL          PETERMAN                    OH     90012526420
B14216A5693745   CASEY         JONES                       OH     90006246056
B14228AA95B396   JOAQUINA      DE-LUNA                     OR     90005648009
B1422946255959   JOSE          ARCIGA                      CA     90003029462
B1422985172B69   ALEX          MCDANIEL                    CO     33089959851
B1423259655947   JESSE         JIMENEZ                     CA     90014732596
B142386945B327   IVAN          GALEANA MEDINA              OR     44589538694
B14239A1A97124   DUANE         RUTHERFORD                  OR     90012049010
B1424675693752   JAMAICA       SIROKY                      OH     90008656756
B142558792B941   JUAN          PARRA                       CA     90006915879
B1425A4953363B   JAVIER        VASQUEZ                     NC     12081120495
B1425A56893745   SHALENE       RADFORD                     OH     90014790568
B1426314285964   JUSTIN        LOUDEN                      KY     90000143142
B1426833655959   MARIA         SALINAS                     CA     48018118336
B1426894591978   LUIS          MATIAS                      NC     17027208945
B1427961955953   TINA          VALDEZ                      CA     90009299619
B1428241893752   PAUL          LONG                        OH     64526842418
B1428463191222   JAZETTE       JOHNSON                     GA     90006124631
B142846A655959   TERRY         KALA                        CA     90013244606
B14293A232B857   MELISSA       BISER                       ID     42033713023
B1429564591266   SUSANA        BALTAZAR                    GA     90001265645
B1429A65285927   MAREL         GARCIA                      KY     90013930652
B1429AA3993752   SARAH         KUKDAY                      OH     90013360039
B142B18A872B62   MADELINE      PEREA                       CO     90010831808
B142B548993758   STEWART       JEREMY                      OH     90015175489
B142BA96154B94   ANTHONY       LEWIS                       VA     90012030961
B1431628A54B94   SUHEYLI       PADILLA                     VA     90014676280
B143184782B857   STEPHANIE     BRINNON                     ID     42011728478
B1431A7719182B   ELIZABETH     SIMONTON-NIEMEYER           OK     90014480771
B1432262A31688   CRUZ          MARTINEZ                    KS     22087952620
B1432281172B69   JAMAL         AYERS                       CO     90012452811
B1433247831688   NICHOLUS      COX                         KS     90002802478
B1433513593752   MATTHEW       VANCE                       OH     90008915135
B1433614491248   TANISHA       BARNES                      GA     90004596144
B14339AA954B94   KYANDRA       WEST                        VA     90014409009
B1434339972B62   JACOB         BRECHEISEN                  CO     90005503399
B1434416A5B399   FERNANDO      APARICIO                    OR     90005144160
B1434613A2B248   RENEE         HAWKINS                     DC     90007536130
B143467897B489   PATRICE       NICHOLSON                   NC     90013806789
B1435357155959   DAISY         QUIROZ                      CA     90009223571
B14355AA997124   GABRIELA      ROMERO                      OR     90010985009
B1435A95672B62   MICHELLE      TIJERINA                    CO     33080560956
B143622372B941   ESTEFANIA     ALVAREZ                     CA     90014002237
B1436273955947   ERIC          DELGADO                     CA     90013142739
B1436374A93764   STEPHEN       VAN HOOSE                   OH     90007193740
B1437815431639   IRISH         ENGLEHART                   KS     90012608154
B14378A4831668   MARTHA        RODRIGUEZ                   KS     90001428048
B14378A7585927   CHRISTOPHER   KARAGO                      KY     90004518075
B1437923731639   CASIMIRE      JUAREZ                      KS     90010969237
B1437932133635   JAEL          ALVAREZ                     NC     90011049321
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1995 of 2350


B1437997133635   LINDA         LAWSON                      NC     90014899971
B1437A29155979   IRLANDA       DE LOS SANTOS               CA     90011730291
B1438128591257   KIRK          WILLIAMS                    GA     90003801285
B1438472676B27   GUADALUPE     MENERA                      CA     46008644726
B143854865B265   DOUGLAS       WORTH                       KY     90012385486
B1438854672B62   PETRA         RUIZ                        CO     33017568546
B143949698B13B   ROBERT        BOWERBANK                   UT     90006314969
B1439568172B62   CHRISTOPHER   WILSON                      CO     90014825681
B143976A455947   CLARK         DSOUZA                      CA     90011697604
B143995655B265   LAQUITA       TROWELL                     KY     90002669565
B143B599893752   JOHN R        YOUNG                       OH     90008565998
B1441132172B94   DOMINGO       PINA                        CO     90005681321
B144152A233635   MARY          TYREE                       NC     18020305202
B1441578955953   MICHELLE      YORK                        CA     90013495789
B144185895B396   ERIC          NELSEN                      OR     44540728589
B1442521472B62   WALTER        ROBLES                      CO     90001455214
B14426A4655959   CRYSTAL       THURMAN                     CA     48057756046
B1443184A93745   TODD          DELONG                      OH     90013261840
B1443366555947   SARINA        FLORES                      CA     90014263665
B1443392576B27   KRISTINA      LUZERO                      CA     46008663925
B1443472593758   RHONDA        DAILEY                      OH     64503534725
B144347315B327   HEIDI         SERRANO-GUTIERREZ           OR     90011854731
B1443554693727   CHERYL        SPEARMAN                    OH     64574535546
B14444A8872B62   SALENA        SMITH                       CO     90015344088
B144462138B123   KHENDRA       FENTON                      UT     90003766213
B1444924A41248   WILLIAM       WEISHORN                    PA     90005809240
B1445195955953   ROMANY        MEDINA                      CA     90010971959
B144535335B269   TIFFANY       FIELDS                      KY     90006813533
B1445452493758   MICHELLE      JONES                       OH     90012714524
B144549A993745   PETTY         KNIGHT                      OH     90006564909
B1445962A7B489   CHARABOO      BOOKER                      NC     90010559620
B14463A2293771   HELEN         ALLEN                       OH     64528883022
B1446691491978   NELSON        MARISCAL                    NC     17027236914
B144691645B269   THERESA       LESLIE                      KY     90003399164
B144697735B567   VENESSA       CDE-VACA                    NM     90013159773
B1447229233635   LACHANTELL    WALKER                      NC     90014902292
B1447334A5B327   DONNA         DANIELSON                   OR     44564943340
B1447512672B22   JAMIN         GONZALEZ                    CO     90003935126
B1447523A55947   ANA           CALDERON                    CA     90012795230
B144765439194B   JESSICA       JONES                       NC     90005276543
B1447794376B27   RODOLFO       BANUELOS DE LA ROSA         CA     90010707943
B1448246376B27   MONICA        ORTIZ                       CA     90010972463
B14486A2497124   CHARLES       LARSON                      OR     90010316024
B1448899893758   GENEVA        BURTUN                      OH     90013968998
B1449451A55963   STEVEN        SCALIA                      CA     90012484510
B144945462B857   LISA          FULKERSON                   ID     90009944546
B144961652B941   GABRIEL       CHAVEZ                      CA     90011116165
B1449775655947   SUSAN         KAPRIELIAN                  CA     90011697756
B1449982A2B941   JOSEPHINE     VANLIER                     CA     90011349820
B144B56172B248   ROBERT        PETERSON                    DC     81068055617
B144B626877583   ROSA          LEMUS                       NV     90014586268
B144B6A1A55959   ANNA          NUNEZ                       CA     90014626010
B144B865993783   RICK          VOLZ                        OH     90012278659
B144B984A55959   JOSE          RODRIGUEZ                   CA     90012119840
B144BA91A72B69   ANGEL         WILLIAMS                    CO     90006340910
B1451211A5B396   ASHLEY        ROCHELLE                    OR     90001112110
B1451215691563   JOSEFINA      MALDONADO                   TX     90011372156
B1451299297124   MILES         MURRAY                      OR     90010312992
B1451583793745   BRIAN         EDWARDS                     OH     90012015837
B145184637B851   ALANNA        OWENS                       IL     90015358463
B1452284593758   NICOLE        BROWN                       OH     64554242845
B145257A893764   MICHELLE      NETH                        OH     64510115708
B1452783993727   JOHN          SETSER                      OH     90014967839
B1452875576B27   ERICA         GONZALES                    CA     90011208755
B1452877733635   KRISANN       AVENDANO                    NC     90014918777
B145312852B259   LATOYA        JACKSON                     DC     90011751285
B1453541993727   TONISHA       JONES                       OH     90014935419
B1453562A2242B   MIKE          LOCKS                       IL     90007785620
B1453612672465   SHANELL       HENRY                       PA     51083466126
B145367977B489   LATOYA        ANGRAM                      NC     90014756797
B145397732B26B   ESTHER        TURNER                      DC     81004289773
B1454498197124   CARY          MCCOLD                      OR     44015574981
B145454315B544   SIMENTAL      CRYSTAL                     NM     90004655431
B145476537B449   RUY           SANDOVAL                    NC     90014497653
B1455144276B27   GISELLE       GARCIA                      CA     90012431442
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1996 of 2350


B1455366555947   SARINA        FLORES                      CA     90014263665
B1455598893727   TAMIKA        WARREN                      OH     90003205988
B1455A15993745   NEWT          THORNSBURY                  OH     90011880159
B145665515B327   MANUEL        FLORES ZALDANA              OR     90010476551
B1457238972B62   ROMAN         GONZALEZ                    CO     90012402389
B1457494272B69   MAXIMO E      ROSA                        CO     90004144942
B145785A376B27   JUAN          LOPEZ                       CA     90013178503
B1457921672B69   CESAR         BRENA                       CO     90013549216
B1458175677375   FELIZ         BUSTAMANTE                  IL     90014941756
B1458249272465   JONATHAN      BRICKNER                    PA     90001392492
B145885A291257   JOHNNY        JENKINS                     SC     14581388502
B1459258355947   JOSEPH        GARCIA                      CA     90005512583
B1459425331699   RONNEISHA     BALLINGER                   KS     90003444253
B145958267B493   REAL          HOSKINS                     NC     90008735826
B1459629872B38   HEATHER       SAMORA                      CO     90013156298
B1459A17872B81   COURTNEY      COE                         CO     90007660178
B145B6A185B327   SELONE        JIMENEZ                     OR     90002526018
B145B775472B69   IRMA          YOLANDA DE DIOS             CO     90013357754
B145B776755947   PANG          YANG                        CA     90011697767
B145B77815B265   LORETTA       WALDRIDGE                   KY     90001877781
B145B79A933635   KENDRA        PEGUES                      NC     90014917909
B145B91A497124   HECTOR        GARIBAY GARIBAY             OR     90002769104
B145B9A8176B27   DIANA         MARTINEZ                    CA     90004979081
B1461247455927   ANGELICA      TETUAN                      CA     90008312474
B146128682B248   NMADILAKA     AHAGHOTU                    DC     90014172868
B1461428255953   PEDRO         QUIROZ                      CA     90014334282
B1462749654B94   CHRISTOPHER   EDELEN                      VA     90014797496
B1462771293745   MICHELLE      ABNER                       OH     64585257712
B1463393531639   SHARLA        DEANNE                      KS     90010333935
B1463454693752   DOUGLAS       AGEE                        OH     64580054546
B1463851A55947   REBECCA       ALMARAZ                     CA     90014838510
B1463A13431639   SHARLA        DEANNE                      KS     90015240134
B146443212B857   REGINALD      SAYLES                      ID     90013404321
B1464626133635   ROBYN         FAUCETTE                    NC     90014936261
B14646A5A55953   LEANN         MEDINA                      CA     90006946050
B1464729A91585   MARGARITA     DE LA PENA                  TX     75011367290
B1464823891573   SERAFIN       LOPEZ                       TX     90011738238
B1464853A55959   HUGO          PEREZ                       CA     90010938530
B1464863377553   KAREN         ROSSELLI                    NV     43016608633
B1465733572B62   BEN           BOOKMAN                     CO     33052687335
B1465A32685927   ANTHONY       LAYNE                       KY     90005810326
B14663A632B857   TASHA         CRAWFORD                    ID     42089203063
B1467358293745   GARY          MELTON                      OH     90015123582
B1467588993758   DORIE         JACKSON                     OH     64583845889
B1467736193745   LINDA         REED                        OH     90003907361
B1467885497124   ADALBERTO     HERNANDEZ                   OR     44074938854
B1467979272B24   GLORIA        ZAVALA                      CO     90013159792
B14679A8793752   TERESA        COTTINGHAM                  OH     64545069087
B1468549872B62   PATRICIO      MEDALLIN                    CO     90010015498
B146869882B941   BRYAN         DARBY                       CA     45098136988
B146873142B941   MELISSA       ADAMS                       CA     90013137314
B1468838855953   NICHOLAS      SILVERIA                    CA     90013298388
B1468A24631639   BRADLEY       ROEDER                      KS     90013960246
B1469391772B98   CHRISTOPHER   VETERE                      CO     90013603917
B14693A8891582   LUZ           CASTILLO                    NM     90001893088
B146953942B941   JOE           ENOS                        CA     45060805394
B1469845191585   ROBERT        SAMANIEGO                   TX     90007588451
B146B535733635   SONYA         HARRIS                      NC     90014935357
B146B841291978   BERNARD       NYAMBANE                    NC     90002818412
B147147312B857   PHENELOPE     JUPP                        ID     90001114731
B1471747461999   LEON          MORTON                      CA     46013767474
B1472739524B3B   BONITA        BROWN                       DC     90011927395
B1472782272B62   ERICA         ESTRADA                     CO     33093567822
B1472798A55959   YUSDIVIA      GUTIERREZ                   CA     90013937980
B14731A822B857   HOSSEINI      FATEMEH                     ID     90010081082
B147348A63363B   TASHA         HOV                         NC     12042504806
B147447125B265   DEMOND        BUTLER                      KY     68056564712
B1475133355953   SALVADOR      ARIAS                       CA     90008501333
B1475339231639   TALI          SMITH                       KS     22024143392
B1475645485927   HERSHEL       SLONE                       KY     67023086454
B1476217624B3B   YONATAN       AMARE                       DC     90014002176
B147814342B941   NATALIE       LOPEZ                       CA     90013581434
B14785A4572B62   ORTIZ         JORGE LUIS                  CO     33047705045
B147888A655953   JOSE          VARGAS                      CO     90013568806
B1478A3842B248   VERONICA      ANDREWS                     DC     90012460384
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1997 of 2350


B1478A7973363B   GEORGES      WASOUF                       NC     90010280797
B1479A79997124   PATRICIA     ZAMUDIO                      OR     90008140799
B147B239493727   GAYLA        PRICE                        OH     90015382394
B147B326354B94   SECKIN       AKMAN                        VA     90002303263
B147BA4A993752   CARLOS       CARTER                       OH     64511790409
B148138A554B94   RYAN         KENNEDY                      VA     90015163805
B1481419484373   JAYE         SMITH                        SC     90010014194
B1481479672B69   PEARL        HERRERA                      CO     33012304796
B14815A797B489   COURTNEY     SATTERFIELD                  SC     90013915079
B1481955191576   VERONICA     QUINTERO                     TX     90008729551
B1482152A55953   HOLLIE       MAROON                       CA     90008501520
B1482259331639   JUDI         DUONGKHAMHUNG                KS     22041542593
B1482A2335B396   WENDY        SANCHEZ                      OR     90007990233
B14831A835B264   JILL         MITCHELL                     KY     68088301083
B148331A77B489   LINDA        MAIN                         NC     90012983107
B1483372A93758   NATHANIEL    COFFMAN                      OH     90001423720
B1483555193745   AMBER        TURNER                       OH     90011065551
B1483752791257   SHIDAVA      TILLMAN                      GA     90010607527
B148375892B26B   FRANCESCA    MORRIS                       DC     81065497589
B148376992B857   DANIEL       SIMMONS                      ID     90015207699
B1484472893727   LINDSY       ROBERTS                      OH     90002764728
B1484614493752   MIKE         AKEMON                       OH     64514146144
B1484A34985874   DAVID        FESTA                        CA     90014290349
B1485185855953   BRIAN        STRAWN                       CA     90008501858
B1485423455959   BENJERMAN    TORRES                       CA     90012054234
B148582253363B   TIMOTHY      CLODFIELD                    NC     90011008225
B1485A97697124   BRITTANY     RODGERS                      OR     90009940976
B1486187721929   DONTE        ALEXANDER                    IN     90015571877
B1486192A2B862   JARED        MOORE                        ID     90011501920
B148624465B265   DUSTIN       POWERS                       KY     90013162446
B14862A8355959   IMELDA       BALDAZO                      CA     90000892083
B1486A78A31639   MINNIE       PEARSON                      KS     90013340780
B148721122B248   BANORA       BROOKS                       DC     90008582112
B1487616893752   DERON        HYDER                        OH     64539116168
B148772962B941   SHANE        JAMES                        CA     90013827296
B1487932133635   JAEL         ALVAREZ                      NC     90011049321
B1488199176B27   FREDID       VARGAS                       CA     46038411991
B148856A73363B   ELIZABETH    CANTRELL                     NC     90010495607
B1489126A2B271   HARRY        ROBINSON                     DC     90004341260
B148935312B394   EDGAR        HERNANDEZ                    CT     90013773531
B1489642A5B327   AMY          MILLER                       OR     44500196420
B1489735893745   DAVID        PAYNE                        OH     64519397358
B148977745B265   MEGAN        NASH                         KY     90011937774
B148B43613363B   KEVIN        TRIMPEY                      NC     90011144361
B148B534855972   TRISHA       WOLFE                        CA     90005325348
B148B7AA555959   GURPREET     KAUR                         CA     90001407005
B1491413855959   DIANA        OROZCO                       CA     48061964138
B149148562B857   ELMA         BASEVIC                      ID     42062694856
B1491613455953   GILBERT      MAGANA                       CA     90001206134
B1491896972B69   CRYSTAL      JACKSON                      CO     90012688969
B1492385393727   MYCHAL       CARSON                       OH     64541403853
B14923A182B248   SHENEICE     LASSITER                     DC     90012463018
B149248A17B42B   KRAIG        HARRIS                       NC     90008014801
B1493773381452   ROBERT       THAYER                       PA     90014137733
B149393695B327   SERAIA       CAMARA                       OR     90009939369
B149395152B923   TEENA        ORTIZ                        CA     90009029515
B149434A955947   CHA          MOUA                         CA     90003083409
B14943A2855959   JIOVANNI     ROMERO                       CA     48058503028
B149455775B265   DAWN         DAVIDSON                     KY     90015015577
B149481937B489   EBONY        MCMILLAN                     NC     90001468193
B149546282B941   JOSHUA       NORDYKE                      CA     90013054628
B149592396196B   TERESITA     MACIAS                       CA     90003139239
B149615575B265   WAYLE        RICKETS                      KY     90009941557
B1496338854B94   PAYGO        IVR ACTIVATION               VA     90014963388
B1496A21872B69   MALCOLM      PENA                         CO     90012030218
B149711585B265   LUIS         BACA                         KY     90014901158
B149724322B26B   JACQUELINE   BYRD                         DC     90010952432
B1498238155947   PEO          IEM                          CA     90014722381
B1498779397124   VALLERIE     MELTON                       OR     44074387793
B149894673363B   PHILLIP      NOYES                        NC     12090679467
B1499399355953   ANA          ZUNIGA                       CA     90008503993
B1499752781681   MARCUS       FUQUA                        KS     90007027527
B149B614491248   TANISHA      BARNES                       GA     90004596144
B149B66427B443   DUSHIME      DORELLE                      NC     90002406642
B149B815991257   EMMANUEL     OKUDARE                      GA     90010608159
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1998 of 2350


B14B1232A5B327   SALANA           BYARS                    OR     44592982320
B14B189953363B   SHAMEKA          HILL                     NC     90013608995
B14B252A993745   AMANDA           HAERR                    OH     90011025209
B14B2598372B69   NICOLE           WILLIAMS                 CO     90011115983
B14B261A933635   JENECIA          HARRIS                   NC     90011156109
B14B2886393758   MARTA            TEKLE                    OH     90013968863
B14B3172172498   CRYSTAL          REMBERT                  PA     90013651721
B14B3247A72B29   LISA             ANDREWS                  CO     90006912470
B14B3895293745   MARCIA           PETERSON                 OH     90015328952
B14B4533372B69   JOSE             ROMERO                   CO     33073285333
B14B4675355947   WENDY            MCINTOSH                 CA     49014516753
B14B519855B399   BYRON            STOLTZ                   OR     90012081985
B14B6181455953   ISREAL           VILLANUEVA               CA     90006871814
B14B6451172B62   CARLOS           GONZALEZ                 CO     90014034511
B14B645975B396   LUISA            PAREDES CHAPARRO         OR     90007114597
B14B6619A91563   MARIA            PEREZ                    TX     90013246190
B14B6A47131688   ANGELA           GRITTEN                  KS     22073740471
B14B7231654B94   CHRIS            BILLINGSLY               VA     90014252316
B14B7A1315B396   GABRIEL          EVANS                    OR     44559770131
B14B841377B489   LOUIS            ROCKWELL                 NC     11059394137
B14B855A45B265   MARY             COX                      KY     90015015504
B14B8899A93758   ROBERT           BRENT                    OH     90013968990
B14B8988372B69   HECTOR           NAVARRO                  CO     90011499883
B14B9297376B27   COSTA            RAMIREZ                  CA     90011552973
B14B93A8A91978   ERIC             WRIGHT                   NC     17073203080
B14B95AA35B269   BETH             HAYS                     KY     90006355003
B14BB47635B382   SUSANNE          MARIE                    OR     90008294763
B14BB631672465   CHELSEA          KROBOT                   PA     90011756316
B14BB67463363B   NEREIDA          GARCIA                   NC     90012096746
B14BB967493727   NAPIER           LAKI                     OH     90001369674
B14BBAA3555953   CHRIS            RAMIREZ                  CA     48015170035
B1511188955959   LILIANA          BUCIO                    CA     90012621889
B151121525B396   MARIE A          COULSON                  OR     44575262152
B1511464193745   MICHAEL          GANT                     OH     90008914641
B151147315B327   HEIDI            SERRANO-GUTIERREZ        OR     90011854731
B151174652B857   MATHEW           GRETZNER                 ID     90013367465
B1512161193758   JAMMEL           WILLIAMS                 OH     90010891611
B151225412B857   ENRIQUE          RAMIREZ                  ID     42047132541
B151234853363B   CLARENCE         MCINTYRE                 NC     90006773485
B151271215B327   RACHELLE         FLINT                    OR     90013447121
B151276A654B94   JOANN            BOONE                    VA     90010537606
B1512A24A2B857   NORMA            AGUAYO                   ID     90009480240
B1513252561999   JENNIFER M       TISONE                   CA     46000212525
B1513611472B62   MARK             PACHECO                  CO     90014646114
B1514258855959   TED              ROBERTS                  CA     90011682588
B1514646997124   AMALIA           HOLT                     OR     90001976469
B1515197172465   JEFFREY          SLOWINSKI                PA     51082611971
B1515482172B62   JOSE             ROLDAN                   NM     33057444821
B1515625185927   HARVEY           REEVES                   KY     90015496251
B151598542B941   JESSICA          MESA                     CA     90011949854
B151693823363B   ALLISON          REICH                    NC     90014329382
B1517144755947   VALERIE          ROUW                     CA     90014061447
B151739475B265   RHIANNON         MOTT                     KY     90013983947
B1517575355959   MIGUEL ANGEL     RIVERA SALAZAR           CA     90008775753
B1518936172B98   ANA              SALCEDO                  CO     90014939361
B151938A485927   NANCY            LOMAN                    KY     90008003804
B1519443976B27   JESUS            COUTYNO                  CA     46091254439
B1519524155947   KEYSHA           RODGERS                  CA     90010905241
B1519633955953   VICENTE          GARCIA                   CA     48036496339
B1519A4742B248   FRED             HOLMES                   DC     81095650474
B151B414A5B265   DAMETRIA         PUGH                     KY     90012994140
B1521562476B27   EDUARDO          LOPEZ                    CA     46035355624
B1521762286B94   ED               KLESZCZ                  CT     90013637622
B1521852826222   WILLIAM          MACH                     IL     90015548528
B1521948A2B857   ESSA             ISHAG                    ID     90014709480
B1521A35872B27   TED              TAPPARO                  CO     90012330358
B1522546854B94   ALICIA           FORTUNE                  VA     90015275468
B1522821833635   ELLIOT           FLORENCE                 NC     90012098218
B152297795B265   STEVE            KINNINMONTH              KY     90014399779
B1522A52693758   SANDRA           MCCULLOUGH               OH     90010090526
B1522A78593745   AMY              STEINHAUER-SANDERS       OH     90012190785
B1524263255972   MARCO            CORONA                   CA     90003312632
B152426A197124   HECTOR EDUARDO   ESTEVEZ REYES            OR     90013052601
B1524567784373   JAMES            WILSON                   SC     19070385677
B1524A4A23363B   ARRONNA          HARLING                  NC     90011050402
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 1999 of 2350


B152546685B534   LOPEZ           JESUS                     NM     90006604668
B152574385B25B   MIRIAM          RAMOS                     KY     90006817438
B1525847A93727   JALLA           GROVES                    OH     90013958470
B1525849693752   MARCUS          BURCH                     OH     64512998496
B1525A1255B265   JUSTIN          HARLAN                    KY     90015220125
B1525A45393758   ROGER           ROWLAND JR                OH     64513270453
B152646685B534   LOPEZ           JESUS                     NM     90006604668
B152662A293758   MARY            CARTER                    OH     90014986202
B1526823997124   JOE             ALVIS                     OR     90014118239
B1526845531639   SHENELLA        GALBRAITH                 KS     22008528455
B1526935955953   FREDDY          GONZELES                  CA     48015689359
B1527128385927   ELWOOD          RITCHIE JR                KY     67095731283
B1527367455953   ANNETTE         BRUCE                     CA     90012793674
B152749242B857   FAWNEL          WAREING                   ID     90012824924
B1527726A93758   GEORGE          STEWARD                   OH     64579607260
B15277A6197124   TINA            DEVINNY                   OR     44001447061
B1528179355947   JOSE            PADILLA                   CA     90014021793
B152841682B857   CODY            LUKE                      ID     42077114168
B152859A561952   LUIS            MARIN                     CA     90009165905
B1528979993764   JOE             SALES                     OH     90007279799
B1528A98A85927   LEATTA          HILL                      KY     90014790980
B152986A53363B   ALEJANDRA       CARRILLO                  NC     90014718605
B152B743754B94   MOISES GARCIA   GARCIA                    VA     90015267437
B152B871593745   TODD            RICE                      OH     90012788715
B153114542B941   MARIA ELENA     CASTILLO                  CA     90011181454
B1531385676B27   ATENAS          MONZALVO                  CA     90010953856
B1531432A9194B   ZENA            DUNMEYERS                 NC     90005174320
B1531672154B94   DEBORAH         BIRKL                     VA     90006146721
B1531957172465   AUTUMN          BURKE                     PA     90004549571
B1532222572465   DONNA           PLAISTED                  PA     51095402225
B1532294893745   CAROLE          FOSTER                    OH     64510152948
B15326A8A55947   LUIS            SANCHEZ                   CA     49029006080
B1533297693758   ROBERT          SLAUGHTER                 OH     90011742976
B153351619194B   LOURDES         CANDELARIO                NC     90010325161
B1534321184373   CHARLES         VANCE                     SC     19015463211
B153526292B941   WENDY           ESTRADA                   CA     90012582629
B153554997B32B   JUANA           CAMPOS                    VA     90011045499
B1535636593758   ASHLEY          DARST                     OH     64577646365
B153591AA72B62   ADOLFO          LOPEZ TORRES              CO     33081279100
B1535957A3363B   TERENCE         BARRIET                   NC     90014339570
B1535A51155959   MICHELLE        VIDRIO                    CA     90013030511
B153638285B265   ANNA            ZAMBRZYCKI                KY     68001633828
B1536479476B27   VANESSA         MONTESINOS                CA     90014994794
B15365A5593727   REBECCA         RUTHERFORD                OH     64566375055
B1536893A72B69   LUIS MIGUEL     GARCIA                    CO     90014438930
B15369AA191257   ERICA           HINOJOSA                  GA     90011669001
B1537216455959   FERNANDO        VARGAS                    CA     90012622164
B1537931A2B857   MANUELA         SOSE                      ID     42094929310
B1538324593752   LAUREN          BROWN                     OH     90003773245
B1538379293727   QUINTON         BROWN                     OH     90014453792
B1539449155972   ELIZA           FERNANDEZ                 CA     49071724491
B1539A73A31639   CATHY           GROSS                     KS     22053620730
B153B557A93745   LINDSEY         JOHNSON                   OH     64591855570
B153B97245B396   ASUNCION        AGUSTIN                   OR     90014889724
B153BA53472B69   CRISTOPHER      HUDSON                    CO     90015030534
B1541255626222   FABIOLA         GALVAN                    WI     90010832556
B15415AA491563   RAY E           MCNUTT COMPAY             TX     90012025004
B1541934531639   CELIA           GARZA                     KS     90014779345
B154194225B356   STEPHEN         SCHRADER                  OR     90007769422
B1544712172B62   DAN             DIX                       CO     33031097121
B15447AA25B327   RYAN            DEATHERAGE                OR     90015247002
B1544827255953   ROSALINDA       SANTOS                    CA     90005628272
B1545325255947   ARMANDO         MORALES                   CA     90014733252
B1545792554B94   NICOLE          LEHMANN                   VA     90011747925
B1545A1225B396   CALEB           CROTEAU                   OR     90010710122
B1545A2772B923   PATRICIA        TORRES                    CA     90004990277
B154665692B248   LATISHA         FINCH                     DC     90013186569
B15466A8A2B941   TIFFENY         HINDS                     CA     90014696080
B154676763363B   SHANDA          BROWN                     NC     90014597676
B1546943676B27   HILARION        LEON                      CA     46003319436
B1546988A3B372   CHELSEA         FAIOLA                    CO     90012479880
B154748245B396   RAMIREZ         COCEPCION                 OR     90009574824
B15481A1272465   JENNIFER        WAGGONER                  PA     90001361012
B154875585B265   MARK            RUSSELL                   KY     90010847558
B1549268655947   LEOPOLDO        ALTAMIRANOGARCIA          CA     90014722686
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2000 of 2350


B1549341476B27   ROSA          ZANELLA                     CA     90006023414
B154943A691524   MINERVA       BARRIOS                     TX     75071924306
B1549442172B62   JUNE          PULLIE                      CO     33032174421
B154955383162B   AMBER         RAICH                       KS     90014425538
B154971282B248   SHAQUITA      DAVIS                       DC     90013827128
B154986245B396   KIMBERLY      PRESTON                     OR     90012348624
B154B219785927   ANGIE         MARIE                       KY     90014612197
B154B241655959   SAUL          SALINAS                     CA     90015012416
B154B242893727   BYRON         STEPHENS                    OH     64579672428
B154B413155947   LORRADE       STOOPS                      CA     90014384131
B154B631751339   PAMELA        MCAMIS                      OH     90010046317
B154B752355953   JENNIE M      HORN                        CA     90003177523
B1551683772B62   LUIS          TRIANA                      CO     90012456837
B155259A15B327   MARIA         TORRES                      OR     90002305901
B155269782B941   LORI          BIDDIE                      CA     90014586978
B1552752291834   NAVE          JUAN M                      OK     90001707522
B1552833933635   GORGE         MORGADO                     NC     90009228339
B1552976331422   KERRY         WILSON                      MO     90013019763
B1553253197124   CRAIG         JOHNSON                     OR     44085412531
B1553827155953   STEVEN        RUTTER                      CA     48035988271
B1554175192831   PERLA         NEVAREZ                     AZ     90015281751
B1554182293745   LUCIEN        LAUDERDALE                  OH     90009111822
B155444A35B327   SHANNON       SCHIEDLER                   OR     90007354403
B1554572A97124   MARISSA       FRANCO                      OR     90002205720
B155472155B327   JESSICA       LARSEN                      OR     90009997215
B1555364955953   ANTONIO       MARTINEZ                    CA     48015893649
B1555427155947   JESUS         CALDERON QUEZADA            CA     90010024271
B1555582597124   CHRISTINA     HOLMAN                      OR     44012785825
B155561643363B   TOMMY         EFFINGER                    NC     12065306164
B155566558B151   BURGINDI      SATHER                      UT     31051546655
B15559A762B248   RICHARD       BRANCH                      DC     90001399076
B1555A24393752   RICK          TRAVINO                     OH     90009690243
B155655A35B396   ANGELA        WILLIAMS                    OR     44569745503
B155723822B248   MARGUERITE    OLIVER                      DC     90012842382
B15576A1855953   GUADALUPE     MOSQUEDA                    CA     48013356018
B1557727A93758   ABBYGAIL      OBURN                       OH     64512687270
B155778993B341   SHERRI        WOOD                        CO     90015207899
B155816A673267   PAYGO         IVR ACTIVATION              NJ     90014171606
B155857445B327   NICKI         RACHELLE                    OR     90011545744
B1559312493745   CHRISTOPHE    WINANS                      OH     64578573124
B1559375372B69   VERONICA      TARANGO                     CO     90008953753
B155965222B857   DONNA         KRAMER                      ID     42092736522
B1559A42655972   WAYNE         RANSIER                     CA     49021080426
B155B167731665   ROMAN         GONZALEZ                    KS     22046121677
B155B271655959   ANA           CORTEZ                      CA     90012522716
B155B993A72B69   MARINO        PONCE                       CO     33064649930
B155BA1885B396   PAUL          JOHNSON                     OR     44528070188
B1561487357552   PAUL          MCBRIDE                     NM     90008524873
B156187195B572   MELODY        JONES                       NM     35057128719
B1561A9A385927   JESSICA       HOOP                        KY     90005430903
B1562214585927   MARY          FROST                       KY     90013932145
B1562427155947   JESUS         CALDERON QUEZADA            CA     90010024271
B156327585B265   DEVAN         ALEXANDER                   KY     68066622758
B15636A982B248   FREDESVINDA   SARAVIA                     DC     90009796098
B1564583A72B69   DORA          ESTRADA                     CO     33075345830
B156512265B327   DANIEL        SMALL                       OR     90014741226
B1565A35255947   ANDREA        RUSBOLDT                    CA     90012370352
B1566561855953   LETICIA       MARTINEZ                    CA     90012605618
B1566617772B69   BRENNA        HALL                        CO     90014576177
B156729A876B27   ERIKA         RODRIGUEZ                   CA     90010572908
B156775753B372   APRIL         NICHOLS                     CO     33087167575
B1568159555947   JOANNA        PAZ                         CA     90013211595
B156884972B248   ANNETT        MCCRAY                      DC     90014898497
B1568973931639   GOLDIE        BERGER                      KS     90009159739
B1568A15A72B69   JAMAINE       HILL                        CO     33001670150
B1568A55A5B327   STEPHENIE     REYNOLDS                    OR     90014510550
B156955A255947   MANUEL        BARRAZA                     CA     90001475502
B1569A59291257   THOMAS        WILLIAMS                    GA     90011700592
B1569AA6393758   LEONARD       RAINER                      OH     90013700063
B156B19A14792B   JOSEPH        JACKMAN                     AR     90009191901
B156B5AAA33635   LEONEL        SILVA                       NC     18024025000
B156B727393783   JENELL        ENGLISH                     OH     90004957273
B156B898872B62   MARIA         DEL SOCORRO                 CO     33058358988
B1571339593745   MARY          ZEMBAR                      OH     90000763395
B1571385431688   MELODY        AST                         KS     90006633854
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2001 of 2350


B1571389273267   PAYGO          IVR ACTIVATION             NJ     90014663892
B157189695B396   FRANSISCO      XEAP                       OR     90000738969
B157212637192B   CHRISTINE      CORKAMP                    CO     90013801263
B15723A465B327   ANTONIO        LUCATERO                   OR     44594723046
B1572641A55953   ALEX           RAMIREZ                    CA     90008896410
B157272722B941   ANABELA        SOUSA                      CA     90013007272
B1572A26981652   CESAR          MIRANDA                    MO     90001150269
B1573565855947   ROBERTO        RIVERA                     CA     49015395658
B157393655B265   APRIL          JOHNSON                    KY     90013379365
B1574195655959   ALMA           FELIX                      CA     90006401956
B15741A4A72B69   ANYA           BOYD                       CO     90012841040
B157498A45B396   KRISTA         MONROE                     OR     90012499804
B157543215B269   DONRITA        COOK                       KY     90007174321
B1575581855959   MIGUEL         SALAZAR                    CA     90010995818
B1575777493746   GARY           ZINN                       OH     90003257774
B1575A8A45B265   STEPHEN        DAVIS                      KY     68026150804
B1576364397124   NORMA          RODRIGUEZ                  OR     90009953643
B1576614572B62   MARIA          ALVARADO                   CO     33076966145
B1576733A55959   CARMEN         HERNANDEZ                  CA     90002477330
B157714A955959   YOLANDA        RIVERA                     CA     48015891409
B157728729194B   JUAN           JIMINEZ                    NC     17093722872
B1577421555947   THELMA         DRONES                     CA     49080054215
B157743AA85927   BETTY          FERQUSON                   KY     90007664300
B15777AA491257   ROMELIA        DOMINGO                    NC     90000627004
B1577876641229   NICK           SHEEHAN                    PA     90014828766
B1577882A93745   NICOLE         CONLEY                     OH     90013958820
B1578557824B3B   ALBA           CASTRO                     DC     90011245578
B1578658893764   BRANNON        FIELDS                     OH     64591826588
B1578692855953   JOSE           PEREZ                      CA     90001006928
B1578731791878   DELECIA        DAVISON                    OK     90012527317
B1579158376B27   LIDIA          HERRERA                    CA     46026611583
B157935A555947   NINA           NUNEZ                      CA     90012413505
B157964257B489   MYETTA         HARRIS                     NC     90013546425
B1579782993758   RANDY          LANE                       OH     64527697829
B1579815784373   DONNA          BENNETT                    SC     90010608157
B15798A5385927   LATRICE        WEBSTAR                    KY     90013288053
B157B136272B69   JOHN           TESKE                      CO     90006831362
B157B27522B248   SHENIKA        JONES                      DC     90014082752
B157B4AA331688   MELODY         AST                        KS     90006634003
B157B589893727   RODERICA       BRADLEY                    OH     90014345898
B157B93A572B62   GIDIEL         HUICOCHEU                  CO     90011969305
B1582143A2B248   NASHEIKA       WILLIAMS                   DC     90014691430
B1582281693752   KEITH          HAVENS                     OH     64557782816
B158271422B26B   MARVELL        JOHNSON                    DC     81007707142
B158385162B236   DONNA          EDWARDS                    DC     90012148516
B1584136991592   GUADALUPE      CHAVIRA                    TX     90011841369
B158432732B248   LAMONT         WHITNEY                    DC     90012733273
B1584629355953   ELLEN          CAUGHELL                   CA     90010816293
B1584964171931   PATRICIA       BRANT                      CO     90014969641
B158497777B489   SIERRA         ARCHIE                     NC     90013959777
B1585169155947   ARMANDO        ZARATE                     CA     90013211691
B15851A645B396   AARON          SCHALLOCK                  OR     44572221064
B158526842B941   ALEX           VITORINO                   CA     90012722684
B1585614461937   ROBERTO        CARLIN                     CA     90004566144
B158571275B265   DERAY          CHESTER                    KY     90012767127
B1585787372B69   BRIAN          WEIMER                     CO     90013387873
B1585815784373   DONNA          BENNETT                    SC     90010608157
B158646195B327   JUAN           NAVARRO                    OR     90007794619
B1586498555953   DUSTIN         HALEY                      CA     90014824985
B1586565584353   MONTEZ         JOHNSON                    SC     90013325655
B158668A37B489   LUIS ALBERTO   CASTILLO MORA              NC     90013806803
B1586797693745   MARY           KELLIS                     OH     90014967976
B15868A4893757   CHARLES        GALYON                     OH     90013408048
B1586922172B69   JOANN          ARMIJO                     CO     90013769221
B15877A1291582   NICHOLAS       FAVELA                     TX     90010077012
B158799A255959   MARIA          SANDOVAL                   CA     48056169902
B15879A7172B69   JOSE           CHAVEZ                     CO     33081519071
B158821682B941   JUAN           PINEDA                     CA     90011212168
B1588378393727   MICHELLE       COMBS                      OH     90014913783
B15884A762B248   NOKOMIS        SIMKINS                    DC     90000324076
B1589219993745   MINDY          SCOTT                      OH     90012902199
B158984233363B   WILLIE         SMITH                      NC     90014388423
B158B923985927   JOSE           MEDRANO                    KY     90011189239
B1591294372B69   AMY            POTTRUFF                   CO     33075942943
B1591314797B71   GLENDA         MENDINA                    CO     90015343147
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2002 of 2350


B1591658693727   KIM               JUNGUN                  OH     90014446586
B1591833A91248   CHARLENE          PRIESTER                GA     90015178330
B159211865B327   JASON             DEGOEY                  OR     90012601186
B1592183133635   CHRYSTAN          MEBANE                  NC     90002791831
B1592196A93745   BUFFEE            REIGELSPERGER           OH     90010011960
B1592422A91885   DEWON             SANFORD                 OK     90010674220
B1592717626222   DONYANHA          HARVEY                  WI     90015437176
B1592916176B27   JOHN              WALKER                  CA     46096809161
B1593287A5B327   AMANDA            HILL                    OR     90006562870
B1593565891573   OMAR              ESTRADA1                TX     90007205658
B1593655A84373   TERRANCE          GRANT                   SC     90010686550
B1593797493727   NAKESHA           CARMONA                 OH     90009037974
B1594172131639   CASSANDRA         SWEET                   KS     90014841721
B1594585291585   ALICIA            CORDOVA                 TX     90009605852
B1595264831688   LORI              SHEETZ                  KS     22095102648
B159544A455953   JANET             MENDOZA                 CA     90009454404
B15957A6697124   DIXIE             BUTTS                   OR     44047507066
B1596564555959   ERNESTO           LARA                    CA     90014185645
B15969A425B265   ERIKA             BARROW                  KY     90014179042
B15986A2955953   ENRIQUETA         PEREZ                   CA     48015916029
B1598746155959   ARGELIA           GARCIA                  CA     48011677461
B159917A393745   DARIENNE          JOHNSON                 OH     90011121703
B159B645255947   LUCIA             ROMERO                  CA     90001266452
B15B17A3693758   AL ALUDDIN        AL MANEA                OH     64587497036
B15B192962B58B   JOSH              WATKINS                 AL     90012699296
B15B2162697B31   JOSE L            RODRIGUEZ               CO     90009371626
B15B2324991873   JOE               WILLIAMS                OK     90006433249
B15B2471233635   ADDIE             RAMIREZ                 NC     90015034712
B15B2627997124   CHARLOTTE JAWAH   MADISON                 OR     90014986279
B15B2665672B49   JAIME             CHANCOOL                CO     90001336656
B15B3353897125   LARISA            MOROZOVA                OR     44509723538
B15B336912B248   MICHELLE          BAILEY                  DC     90005053691
B15B384665B396   JODI              BOTTLER                 OR     44577778466
B15B3941893758   NELLIE            BAILEY                  OH     90013009418
B15B3A26855959   VALERIA           BANUELOS                CA     90013030268
B15B469615B265   SHANNON           KATS                    KY     68062846961
B15B491A291248   GINGER            LANIER                  GA     14595619102
B15B5394493758   TAMMY             PERRY                   OH     90012363944
B15B558947B825   MARCUS            MALLORY                 IL     90001075894
B15B561A95133B   DENISE            POWERS                  OH     90010706109
B15B58A965B327   TIFFANY           CLEARY                  OR     44584288096
B15B5936385927   JESUS             HERNANDEZ               KY     90015339363
B15B617362B248   VANESSA           ELLIS                   DC     81017011736
B15B6373997124   SANTOS            SOSA GONZALEZ           OR     90014553739
B15B647655B265   GABRIELA          HOBBS                   KY     90012134765
B15B662855B327   MARIA             GRACIANO                OR     44544316285
B15B675829194B   TIFFANY           RUSSELL                 NC     17061117582
B15B68A5197124   CASANDRA          HARMON                  OR     44055218051
B15B723352B857   ROSS              BROOKS                  ID     42044202335
B15B7716451324   JEFFREY           WEINHEIMER              OH     90000687164
B15B7843155953   GEORGIA           JACQUES                 CA     90011348431
B15B7977591851   VINCENT           SANDERS                 OK     21091689775
B15B7A99172B69   DOUGLASS          HERNANDEZ               CO     90010780991
B15B8499555959   LUPITA            HERNANDEZ               CA     90010844995
B15B86A985B396   BRETT             ESPELAND                OR     90004356098
B15B8852772465   GEORGE            BEIGHEY                 PA     51057088527
B15B8882224B64   JOHN              WALL                    VA     90006338822
B15B8914385927   CARLOS            SANTACRUZ               KY     90015399143
B15B8A5AA3363B   MICHUNDRIA        HAIRSTON                NC     90010810500
B15B927355B396   JOSE              ESPARZA                 OR     90015182735
B15B972342B941   VERNA             DAVIDSON                CA     90014967234
B15BB66133363B   JAMES             DAVIS                   NC     90008726613
B15BB75548B131   SANDRA            MCDADE                  UT     90004247554
B15BB82657B443   OCTAVIA           BLACKMON                NC     90012228265
B161136825B265   MICHEL            INGRAM                  KY     68032373682
B16114A4372B62   SARAI             ROMERO                  CO     90015144043
B1611612591978   MARIANY           SIERRA                  NC     17089726125
B161163A655953   NANCY             HERNANDEZ               CA     90002126306
B161181A193752   VICTORIA          KIRK                    OH     90014318101
B1611829372B69   CHRISTIAN         YOUNG                   CO     90005538293
B1611A1AA31639   GARY              COX                     KS     22066940100
B1611A29754B94   SANTOS            ENRIQUE                 VA     90006510297
B1612341485927   JOLISA            MARTIN                  KY     90014623414
B1612366442376   IOLA              DILLINGER               GA     90009673664
B1612725755953   JORGE             HERRERA                 CA     90006697257
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2003 of 2350


B1612A17A33635   EVA                ESPINOZA               NC     90007530170
B1613875993745   SERN               NELSON                 OH     64576948759
B1614448385927   SAMANTHA           CONWAY                 KY     90008374483
B16151AAA33635   PRINCESTON         WESLEY                 NC     90011121000
B161548275B396   KEARA              HAGER                  OR     44549024827
B1615792155953   HERACLIO           VENTURA                CA     90000917921
B1615A24772B62   JAVIER             TORRES                 CO     90013480247
B1615A49855953   MERCEDEZ           GONZALEZ               CA     90005080498
B1616239793727   AMIN               BINDUBEN               OH     64517842397
B1616287272B62   RYAN               ECKLER                 CO     90015132872
B1616492176B27   ARACELI            FILARES                CA     90013944921
B1617127955953   SANDRA             CONTRERAS RIVERA       CA     90012241279
B1617249672B62   GREGORY            OPPERMAN               CO     90015012496
B1617316693752   JACOB              ASHER                  OH     90014933166
B161735187B489   HUGO               HERNADEZ               NC     90012433518
B1617A16593758   BRANDI             VOILES                 OH     90010850165
B1618292655953   ANTONIO            PEREZ                  CA     90012412926
B161838388B12B   TRISH              EGGETT                 UT     31014293838
B161842313363B   CHARLES            VESS                   NC     90013084231
B1618462A5B396   DAYANA             GOMEZ                  OR     90006814620
B161847312B23B   LATOYA             EDWARDS                DC     90014914731
B1618893971964   JESSICA            HARO                   CO     90001528939
B1619419376B27   JUAN               BARRERA                CA     46093254193
B161971825B265   ROBERT             BENNETT                KY     68092917182
B161B38483363B   CRYSTAL            NUNN                   NC     90003063848
B161B458985927   ALMA               BAUTISTA               KY     67071284589
B161B83735B548   ELIAS              GARCIA                 NM     90007608373
B161B887A77977   SHEY               REH                    IL     90012618870
B1621344685927   SHANITA            HOGAN                  KY     90012403446
B1621469172B69   PATIENCE           STEPHENS               CO     33054054691
B162175225B265   SHIRLEY            BURGIN                 KY     90015327522
B162178A25B396   JESSICA            STOURD                 OR     90010657802
B1622563197124   FREDERICK          CASNER                 OR     90009915631
B1622591391257   EDGAR              PENA                   GA     14598265913
B1622A3265B396   RAQUEL             OSORNIO                OR     90008930326
B1623425224B64   REGGIE             GRIFFITH               VA     81013384252
B1623727751391   BRANDON            WILSON                 OH     66040107277
B162373A65B265   NIKKI              FRANKLIN               KY     90007717306
B162388935B396   ADRIANA            GARCIA                 OR     90009898893
B1623967872465   RHONDA             CHURILLA               PA     51047619678
B1625171785927   BREANNA            BOND                   KY     90009761717
B162535117B489   FRANCISCA          MENDOZA                NC     90007003511
B1625919621929   CAITLIN            COX                    IN     90015499196
B1626811884373   DASHAWN            HOLMES                 SC     90007348118
B1627161193758   JAMMEL             WILLIAMS               OH     90010891611
B1627166855947   ANGELIQUE          FERNANDEZ              CA     90012911668
B162735A493745   HEATHER            BAUGHMAN               OH     90012003504
B1627A7145B327   EDWARD             HOCHSTETLER            OR     44509770714
B162822742B93B   GLEN               MCDOWELL               CA     90012312274
B1628384193745   SHERLYN            BROWN                  OH     64580913841
B162855A32B941   NICOLE             WELLINGTON             CA     90012295503
B16286AA93363B   ANTHONY            CRAVEN                 NC     90009656009
B1628A96272B69   NICHELLE           CHAMBERS               CO     33092850962
B162977713B352   ALEX               RODRIGUEZ              CO     90001847771
B1629966276B27   ERIKA              LOPEZ                  CA     90014299662
B1629978933635   JUAN               THORPE                 NC     18012959789
B1629A7473363B   RICARDO            MARTINEZ               NC     90013320747
B162B15192B941   SIMERJEET          SINGH                  CA     90010271519
B162B426671929   TEAM UNDERGROUND   FIGHT CENTER           CO     90010254266
B162B579255953   ROBERT             MURPHY                 CA     90015305792
B162B828997124   SALVADOR           AYALA                  OR     90012398289
B162B914376B27   STEPHANIE          MIRANDA                CA     90012059143
B162B924254152   ELIAS              ALVEREZ ALEMAN         OR     47009539242
B163112852B857   IVONNE             CASIANO                ID     90012521285
B1631A26472B62   CORLISS            CASE                   CO     90014100264
B1632784672B62   ARACELY            RODRIGUEZ              CO     90013987846
B1632811A55959   JACOB              EVENS                  CA     90012858110
B16328A3572B69   LOUNSBURY          DUSTIN                 CO     90009588035
B16329A2A55953   MARTIN             RODRIGUEZ              CA     90014909020
B1632A7262B857   MELISSA            HODGES                 ID     90001260726
B163313A32B857   IRMA               LARA                   ID     90015121303
B1633842897124   LETICIA            PELAYO                 OR     90012378428
B16343A7476B31   CAYETANO           GUZMAN                 CA     46078323074
B16343AA576B27   ASUSENA            IBARRA                 CA     90013743005
B1634782672465   ZACHARY            BAKER                  PA     90004597826
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2004 of 2350


B1634881155953   JOE          BANUELOS                     CA     90001898811
B1634A95331639   SHERI        GONZALEZ                     KS     90014750953
B16352A3784373   KARLA        SERGURA                      SC     90009862037
B163577962B857   THOMAS       FREINWALD                    ID     90014707796
B1636261855959   JUAN         TORRES                       CA     90005942618
B1636326172B69   CHARLES      DEWEY                        CO     33088653261
B163635A893758   BOHANNON     TRACY                        OH     64507213508
B163644152B248   JAAMONTAE    JETER                        DC     90014714415
B1636762A7B489   ANTONIO      LOPEZ                        NC     90013607620
B1637268872B62   NICOLE       CASIAS                       CO     33010572688
B163764935B265   HEATHER      COMBS                        KY     90014856493
B163798835B327   MARIA        AMAYA                        OR     44538509883
B1637A78593745   AMY          STEINHAUER-SANDERS           OH     90012190785
B1638945593758   KENNETH      HUIET                        OH     90013969455
B1638986655947   ALICIA       URBIETA                      CA     90012089866
B1639112533635   GUY          VERMILLION                   NC     18077301125
B163914868B169   BRIAN        SHUPE                        UT     90002181486
B16392A955B327   CORREYGENE   NEWMAN                       OR     90004962095
B163961265B327   STACY        RUDE                         OR     90013316126
B163974457B489   BETTY        LOWERY                       NC     11089307445
B163989677B443   KATIA        KARIEDES                     NC     11036138967
B163997745B396   MARTHA       DAVIS                        OR     44573479774
B163B5A7172B69   JUSTIN       DEWEY                        CO     90013655071
B163B61A331468   KARA         SHEPERD                      MO     90001176103
B1642551A24B3B   MICHAEL      GARDNER                      DC     90001095510
B164264497B489   SAMUEL       MBANE                        NC     90010096449
B16426A7A85927   LESLEE       REYNOLDS                     KY     67006916070
B16427A3993752   JEREMY       ELAM                         OH     90010807039
B164298745B396   AUTUMN       WHITECLOUD                   OR     90014549874
B1643433793752   RENEE        HEYAS                        OH     90008364337
B1643661484373   SHAVON       HANNAH                       SC     90009146614
B1644716772B69   GABRIELA     GRAJEDA                      CO     90013937167
B1644881233635   EVELIO       CAMPOS                       NC     18061408812
B1645842831639   TONISHA      MANYAGA                      KS     90015218428
B1645896631639   MARIBEL      ANDRADE                      KS     90010128966
B164595755B265   TERRI        CLAYTON                      KY     90014299575
B1646869276B27   JOSE         SOTO                         CA     46054468692
B1646879893745   ANTHONY      CONLEY                       OH     90013958798
B164721855B389   MARK         HIRONS                       OR     44559132185
B1647424793745   NATHAN       PETERS                       OH     90013394247
B1647836872B62   STEPHANIE    SENG                         CO     90004928368
B1647868A7B489   ELSI         LEIVA                        NC     90013858680
B1647A63155979   ADA          LOPEZ                        CA     90014340631
B1648134A3363B   AMELIA       PANTOJA                      NC     90014521340
B1648358931639   FRANCES      GONZALEZ                     KS     90012373589
B1648761172B62   MATTHEW      NOLAN                        CO     90014917611
B16487A2855959   CATALINA     DIAZ                         CA     90007427028
B1648A7515B396   JULIJA       ANDERSON                     OR     90012760751
B1649A4595B327   ELIZABETH    VAN WORMER                   OR     44512690459
B1649A7652B857   STEVEN       WHITE                        ID     90012560765
B164B675691257   TRESSEA      STOVALL                      GA     90011476756
B164B8A5472B29   BRENDA       MENDOZA                      CO     33028568054
B164BA7927B489   LAURA        WHITE                        NC     90010020792
B1651342193758   STEVEN       MERCER                       OH     90014623421
B1651411872B62   RAYMOND      UICK                         CO     90013404118
B165189482B857   ANTHONY      TRICKETT                     ID     90014658948
B165212312B26B   TRUDY        MURRAY                       DC     81015431231
B16523A6155959   CHRISTINA    RAMIREZ                      CA     90014593061
B1652446591592   ARACELI      GARCIA                       TX     90012454465
B1652453972465   CRAIG        PRATT                        PA     90009484539
B165247623363B   DALE         HARGRAVE                     NC     90009344762
B1652514372B62   JOHN         DORCHAK                      CO     33039295143
B165251452B857   ANTHONY      MARSH                        ID     90013545145
B1653444593758   LINDSEY      MARTIN                       OH     90015004445
B165362375B396   EDJAR        ALEJO PABLO                  OR     90007676237
B1653979772B62   JOAQUIN      GARDEA                       CO     33072589797
B1654144255953   SERGIO       VELOZ                        CA     90012241442
B16541A497B489   FELITA       COUSART                      NC     90010241049
B165429675B265   SHAREE       GARH                         KY     90014712967
B16542A5393745   VALERIE      DEANN HENSLEY                OH     90013772053
B1654869671932   BRANDON      ARAGON                       CO     90008438696
B1654A19172B69   LITISHA      HERRERA                      CO     33000050191
B165526A472465   NICHOLAS     ZAK                          PA     90006842604
B1655393993758   LATRICE      PRICE                        OH     90002533939
B1655423233635   SILVIA       HERNANDEZ                    NC     90011204232
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2005 of 2350


B165542A12B248   ISAAC         WILSON                      DC     81013934201
B1655661484373   SHAVON        HANNAH                      SC     90009146614
B1655685A72B69   LUIS          RIVAS                       CO     90007966850
B1655871A55959   CONCOPCION    MENDOZA                     CA     90009898710
B165595418B131   REBECCA       ROCQUE                      UT     31084409541
B1655981755947   JUAN          RODRIGUEZ                   CA     90013159817
B1656327431639   KAITLIN       MEADOWS                     KS     90009463274
B1656513172B62   MARLON        MEZA MENDEZ                 CO     33052105131
B1656945424B64   TRACEY        LYONS                       DC     90014609454
B165719A48B63B   JOSHUA        ABILA                       TX     90014861904
B1657224755953   JODYNE        TRIPLETTE                   CA     90008722247
B1657375472B69   MARIA         PULIDO                      CO     33042063754
B1657A27493758   REBECCA       WEAVER                      OH     90012000274
B16585A8385927   JUAN          HERNANDEZ                   KY     90014685083
B16586A262B248   DARLENE       CLARK                       DC     90013466026
B165935662B248   NZINGA        LOUIS                       DC     90001723566
B1659372676B27   YADIRA        LOPEZ                       CA     90012673726
B1659647493745   DWAYNE        ROUSH                       OH     90010066474
B1659753531639   CHAD          SCHOFIELD                   KS     90002777535
B166119562B941   JOSE          VAZQUEZ                     CA     90014481956
B166154A75B531   GABRIELA      MONTOYA                     NM     36003005407
B16618AA493752   DOLA          LANDIS                      OH     64571958004
B1662561693745   MARQUES       AVERY                       OH     90013735616
B1662653655947   VICTOR        PUEBLA                      CA     90003266536
B166265395B269   ERIC          WILSON                      KY     90009666539
B1663296791582   JOSE JAVIER   CORTEZ                      TX     90004342967
B1664124172B69   DONNA         LUERAS                      CO     90014541241
B16649A2284373   GEORGE        CONKLIN                     SC     19017729022
B1665351A2B941   ROBIN         SHAW                        CA     90008093510
B1665372255947   ROSAURA       MIRAMONTES                  CA     90014733722
B166569599194B   RICARDO       ZAPATA                      NC     17088386959
B1665864793745   ROXANNA       HAMRICK                     OH     90003188647
B1665A7A472B69   DENISE        PRUIETT-WILLIAMS            CO     33012790704
B166636845B592   KATHERINE     PEREZ                       NM     36039883684
B1666438672B69   ANDREW        TROWBRIDGE                  CO     90000734386
B1666697455959   LAURA         MEJIA                       CA     90000126974
B166764825B265   LAURA         KLATZ                       KY     90008926482
B166842662B941   CHARLES       DELHART                     CA     90003684266
B16691A429194B   OLIVIA        ESTRADA-GARCIA              NC     90013041042
B1669281241286   KAYLEIGH      POTTER                      PA     90011602812
B166959A855953   ELISSA        GORDON                      CA     90011925908
B1669746885927   JEFFERY       PHILLIPS                    KY     67095587468
B1669785972B62   ALLEN         LAWLER                      CO     90011667859
B1669A53472B69   CRISTOPHER    HUDSON                      CO     90015030534
B166B22142B248   GERMAN        VILLANUEVA DIAZ             DC     81095452214
B166B75582B857   CHAD          LINKEL                      ID     42001137558
B166B91A291248   MOLLY         MOISE                       GA     90011209102
B166B9A3685927   ETHIOPIA      MOORMAN                     KY     90009979036
B167111A672B69   ROY           AGUIRRE                     CO     33009601106
B1671238626222   PHYLLIS       BOONE                       WI     29578682386
B1671371A5B265   MARK          MILLIGAN                    KY     90014983710
B1671AA667B34B   LUIS          AYALA                       VA     81012910066
B1672913942332   KARA          LANKFORD                    GA     90014669139
B167299348B151   KEITH         ERNSBERGER                  UT     90006939934
B1673124A72B62   LINDA         YODER                       CO     33049221240
B167334372B248   SHINIQUA      BRADY                       DC     90010263437
B167357365B265   KENNETH       SMITH                       KY     90014195736
B167373582B857   JASON         CZECH                       ID     90014047358
B1674195524B3B   AVA           MCKINNEY                    DC     90013831955
B1674222191952   HECTOR        MIRA FUENTES                NC     90013512221
B16742A5933635   VICTORINA     SECUNDINO                   NC     18054332059
B1674491772465   WESTLEY       ASTON                       PA     51094954917
B1674631284373   SHAKERA       BRADLEY                     SC     90007886312
B167468925B265   HOLLY         POWELL                      KY     90014756892
B1674A5822B26B   KENNETH       BUTLER                      DC     81012880582
B167541197B489   TADELE        MARYEA                      NC     90012944119
B1675447376B27   VIRGINO       ARCE                        CA     46077154473
B167563835B549   MEGAN         SAIZ                        NM     90013286383
B1675721397B98   SONYA         COLEMAN                     CO     90013397213
B167585495B265   DEVIN         HISTMAN                     KY     90006008549
B16758A9672B69   JAMES         SCHEUER                     CO     90013298096
B1675957572B62   FABIAN        TENA                        CO     90013029575
B1676685393758   JOI           WRIGHT                      OH     90013556853
B167672167B347   ROSAICELA     SUAREZ                      VA     81027057216
B1676877421929   CHRISTINE     GOMEZ                       IN     90015008774
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2006 of 2350


B1677326172B69   CHARLES         DEWEY                     CO     33088653261
B1677557A97124   MARIANA         PEREZ                     OR     90001685570
B1677738855959   HERIBERTO       GARCIA                    CA     90012627388
B1677915831639   CRAIG           BERG                      KS     22016039158
B167793685B327   BRADY           SHEETS                    OR     90000679368
B167862165B327   KEVIN           SAUL                      OR     44595116216
B1678A2235B265   PRESCILLA       ADKINS                    KY     90014180223
B1678A31355972   LUISA           PONCE                     CA     90006140313
B1679218233688   ROBIN           JOHNSON                   NC     12027212182
B1679487793745   SONJA           ROUNDTREE                 OH     90008594877
B167B285A5B396   STEPHEN         ASHER                     OR     90013462850
B1681A6925B265   DESERA          SNARDON                   KY     90012310692
B1682245493752   PAMELS          HOSKINS                   OH     64523612454
B1682353155959   SILVIA          MEJIA                     CA     90011383531
B168291645B269   TARA            MATTHEWS                  KY     68075699164
B16832AA35B396   ANITA           LUND                      OR     90004232003
B168359A15B265   CHRIS           MILLER                    KY     90009575901
B1683796276B27   JUSTIN          BELLOWS                   CA     90014537962
B1683943893758   ELDONWAN        LONG                      OH     90012589438
B168395392B941   JULIO           MARTINEZ                  CA     90012769539
B1684223A72B69   JAMES           HLIPALA                   CO     33069802230
B1684338691257   LUIS            AGUILAR                   GA     14500383386
B1684578372B62   BILLIE JO       ALEXANDER                 CO     90014695783
B1684597184373   MAX             REIS                      SC     90006995971
B1684789855947   DERRICK         MANNIUGS                  CA     90011707898
B168486212B857   DAVID           GORDON                    ID     42089548621
B1684966276B27   ERIKA           LOPEZ                     CA     90014299662
B1685411797124   JEFF            STALNAKER                 OR     90012044117
B1685444184383   MARCO           GALVEZ                    SC     90010154441
B168548112B941   FRANCISCO       TASCON                    CA     90014734811
B1686367A4B232   FLORIDALMA      HERRERA HERRARTE          NE     90012863670
B168672A293745   LONNIE          REED                      OH     90014597202
B1686925554139   SELENA          DARDEN                    OR     90015059255
B1686925A5B265   JOHN            MAURUS                    KY     90005719250
B168718A27B443   MONA            MCPHERSON                 NC     90005281802
B1687753693752   ALTHEA          DENISE                    OH     90014917536
B1687A7785B265   BRANDON         JOHNSON                   KY     90012680778
B1687A97691978   JOHN            KRESS                     NC     90006590976
B168838625B327   MONICA          FERN                      OR     90005283862
B1689373626222   STEVE           GORTER                    IL     90015513736
B1689524993745   LATOYA          CROWE                     OH     64527035249
B16895AA855959   SILVIA          RAZO                      CA     90014985008
B168963745B327   RICHARD TOMAS   PERRY                     OR     90013166374
B1689742172B69   CAROL           GUESS                     CO     33055917421
B168B532741231   PHILIP          HAUGHEY                   PA     90014055327
B1691149397124   CARMEN          BARBOSA                   OR     90012621493
B169188113363B   ABAY            YOHANNS                   NC     90013518811
B169197183363B   RANDALL         RYALS                     NC     90012069718
B169274A293745   DEMETRIUS       TRAYLOR                   OH     90012407402
B169285A172B62   JAMES           MCKAY                     CO     33093568501
B169311182B248   ALMA            GALEAS                    DC     90001471118
B169328827B489   CANDIDO         RIOS                      NC     90002302882
B1693A9A14435B   JESSICA         ZAROW                     MD     90013930901
B169416A65B572   BRENDA          GARCIA                    NM     90011791606
B1694839972B62   SHADDA          ELAMIN                    CO     33058828399
B169513235B545   GOODMAN         LAUREN                    NM     90008721323
B1695496A76B27   MADIAM          BRAVO                     CA     90006054960
B1695A3AA85927   JESUS           NAVARRETE                 KY     67039240300
B1695A58255947   KATHY           WOODWARD                  CA     49042320582
B1696155297124   NANCY           OLEA                      OR     90012681552
B169641412B857   ASHLEY          SANDERS                   ID     90014974141
B169698675B327   LORI            CUBIT                     OR     44555959867
B1696A75A5B265   JEANNETTE       RODRIGUEZ                 KY     90013590750
B1697529497B42   PAUL            BROUILLARD                CO     90002315294
B169752A631639   PROCORO         LOPEZ                     KS     22011595206
B1698161147832   TEQUILLA        JOHNSON                   GA     14016451611
B1698211672B24   ERIC            RAMIREZ                   CO     90006272116
B169845925B327   CAROLINE        BIRMINGHAM                OR     90014934592
B169864995B396   ALEJANDRA       RESENDIZ                  OR     90012296499
B169887A82B941   ARTEMISA        RAMOS                     CA     90014628708
B1698915593745   BRANSON         PYLES                     OH     90010339155
B169896512B941   TOCILE          SANDOVAL                  CA     90013869651
B169B13465B327   MICHAEL         HARREL                    OR     90014391346
B169B1A6993745   IAN             GILL                      OH     90001691069
B169B246955953   TATIANA         GOMEZ                     CA     90014842469
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2007 of 2350


B169B25335B548   RICARDO      SANCHEZ                      NM     90012562533
B169B656572B69   MARIANA      PEREZ                        CO     90013846565
B169B825593727   CHANDRA      DUNIGAN                      OH     64570058255
B169B899893758   GENEVA       BURTUN                       OH     90013968998
B169BA29493727   CHANDRA      DUNIGAN                      OH     64573080294
B16B154732B26B   LYNETTE      GARETT                       DC     90007755473
B16B1798891248   VICTORIA     MORAN                        GA     14593987988
B16B279762B941   HUGO         PADILLA                      CA     90013057976
B16B2A44A9194B   ANGELA       WILLIAMS                     NC     90002510440
B16B351777B489   INGRID       PAKSTOR                      NC     90012125177
B16B376A861429   ANDREW       JOHNS                        OH     90014107608
B16B386967B387   SCOTT        BRADFORD                     VA     90014928696
B16B3922293727   UNISES       VASQUEZ-PEREZ                OH     64562079222
B16B3976A2B941   CRYSTAL      BRAY                         CA     45049659760
B16B4111785927   ANTHONY      CLARK                        KY     90015591117
B16B54A5A2B857   CHRISELDA    PEREZ ALANIZ                 ID     90012754050
B16B64A5A2B857   CHRISELDA    PEREZ ALANIZ                 ID     90012754050
B16B6512672B69   OMAR         SANTOYO                      CO     33016305126
B16B751135B265   KAYLA        WELLS                        KY     90015195113
B16B752A63363B   RONNY        BUGG                         NC     90005915206
B16B781A597124   MATTEW       GENTRY                       OR     90002078105
B16B8128293758   ZACHARY      BAIRD                        OH     64527391282
B16B8291A93727   DASHA        JONES                        OH     90008472910
B16B9257997124   LIDIA        BARRON                       OR     90010842579
B16B964372B248   AMILCAR      GARCIA                       DC     81088856437
B16B973719194B   DEAN         HEBERT                       NC     90010327371
B16B9A47693758   LESLIE       PARKER                       OH     90013970476
B16BB295385927   SARAH        DAMON                        KY     90009172953
B16BB36265B265   ERIC         DEAN                         KY     90014983626
B16BB71A997124   SEAN         KIRK                         OR     90012767109
B16BB75A63363B   LORELEI      CAGLE                        NC     90010207506
B16BB968455953   CHRISTINA    WILBORN                      CA     48013059684
B171114513363B   MARIO        GARCIA                       NC     90012771451
B1711154155953   ROSEMARIE    TAMAYO                       CA     90011071541
B171123893363B   JADE         STRAITER                     NC     90012752389
B1711314693727   DEREK        HOWARD                       OH     90013863146
B17114A994B933   RICK         OREBO                        TX     76514184099
B171154A455947   SHERRY       TABB                         CA     90002775404
B1711788A2B857   MARIA        JUAREZ                       ID     42064317880
B1711A92955972   OLIVIAANA    RUIZ                         CA     49011830929
B171215A45B265   SARAMIA      SEALES                       KY     90015101504
B17125A9476B27   ANTONIO      EZPINOZA                     CA     90014455094
B1712A48822465   ALEASHIA     MORGAN                       IL     90014200488
B1712A66291574   CARLOS       FLORES                       TX     90011300662
B1713265955953   JESSICA      MIRELES                      CA     48004002659
B1713A67A2B246   MARIA        CASTRO CRUZ                  VA     90006310670
B1713A72193752   ERIC         JENNINGS                     OH     64510400721
B1714123272B69   DEBRA        WARNER                       CO     90014741232
B1714226255972   OLIVIA       PALAFOX                      CA     49008642262
B1714253A2B248   ALINA        JOHNSON                      DC     90005472530
B1714714855953   ALEXANDER    LOYOLA                       CA     90002917148
B1714722884373   JAMES        SMALLS                       SC     19015747228
B1715267A72B62   MANUEL       PEREA                        CO     90009512670
B1715363843583   KATHY        LARSEN                       UT     90014213638
B171576642B941   VICKY        HERNANDEZ                    CA     90009197664
B1715863755953   DEANNA       WETTERLING                   CA     90011918637
B171615127B489   FIDELINA     BARTAZAR                     NC     11056781512
B1716762972B69   DESIREE      LOVE                         CO     90012357629
B171733932242B   CARLOS       ROMAN                        IL     20591593393
B171736A63363B   JOSIE        MARSH                        NC     90014653606
B171746172B252   TYREKE       FARMER                       DC     90003654617
B17175A6793745   UVALDO       GONZALEZ                     OH     90012115067
B1717822855953   KELLY        DOBBINS                      CA     90001548228
B1717A26493745   ALYSON       GROFF                        OH     90013460264
B1718662891248   ANTWAAINE    SNITE                        GA     90006526628
B171961A272B62   CLINT        HAINES                       CO     90009426102
B1719626A76B27   ALVARO       BARRIOS                      CA     46067796260
B171B81473363B   BOSS         GENREAL                      NC     90012868147
B171B973776B27   NICK         SALDANA                      CA     90014119737
B1721178993758   CAROLYN      WILLIAMS                     OH     90010891789
B1721464193745   MICHAEL      GANT                         OH     90008914641
B1721474676B27   ARNULFO      BEDOLLA                      CA     46092884746
B1721531131639   VICTOR       CHAVEZ-PARGA                 KS     90007855311
B172191137B489   CASSANDRA    STACEY                       NC     90013239113
B1721922A72B62   KENNY        BINSL                        CO     90014629220
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2008 of 2350


B1722159293745   CHRISTINE         MADISON                 OH     64546351592
B172265A87B335   SOLOMON           BANJAW                  VA     81016516508
B1722A2655B265   TAMEEKA           JOHNSON                 KY     90012880265
B1722A5467B489   ANGELIA           HAYES                   NC     11066510546
B17233A3876B27   LOURDES           VILLAGRAN               CA     90012593038
B1723482755947   CHRISTOPHER       RIVERA                  CA     90014734827
B172367A242332   ANGEL             GRIMES                  GA     90014706702
B1723748985927   LATESSA           JOHNSON                 KY     90013227489
B1723888293758   SHAD              ANKENEY                 OH     64510068882
B172515823363B   JOSEPH            PORTER                  NC     90014081582
B172542A42B248   DIONNE            SINGH                   DC     90005944204
B1725448355953   MARY              MOYER                   CA     90010284483
B172552147B465   GERALD            BRISBANE                NC     11043605214
B172567A42B941   NENA              OLIVA                   CA     90014026704
B172578212B857   MIGUEL            BARROSO                 ID     90009917821
B1726178993758   CAROLYN           WILLIAMS                OH     90010891789
B17266A6976B27   DAYANIRA          RESENDIZ                CA     46025616069
B1726799272B69   JOAQUIN           HERRERA                 CO     33090157992
B1726888293758   SHAD              ANKENEY                 OH     64510068882
B1727163791873   BRITTANY          DEAN                    OK     90014621637
B172771357B489   RUDIS             YONALDI                 NC     90012457135
B1727954293745   SAMANTHA          SENZEK                  OH     90015509542
B1728475493745   JAMES             SMITH                   OH     90013394754
B172856449132B   CIRO              VASQUEZ-DELGADO         KS     90011415644
B1728A32684373   DARESSE           SAULTERS                SC     90007000326
B172926235B573   KEVIN             HANEY                   NM     90000962623
B172951A27B489   WILLIAM           FAIN                    NC     90006015102
B172991595B265   CALVIN            CRAWFORD                KY     90000239159
B172B176471921   TYLER             MAU                     CO     90013351764
B172B289193745   JESSICA           MONEY                   OH     90014982891
B172B41327192B   MARIA             MANCERA                 CO     90011164132
B172B57365B327   DONNIE            GRIEVE                  OR     44524585736
B172BA4547B489   JASIEL            SOLOREUNO               NC     90013520454
B1731236193745   DARRIUS           EVANS                   OH     90013902361
B1731451193745   TARA              CARON                   OH     90011024511
B1731543255947   MARIA             REZA                    CA     90012795432
B1731876185927   STAN              COLLINS                 KY     90014538761
B17326AA45B327   QUICHE            NEELY                   OR     90014176004
B1732939333635   CRYSTAL           RIGGINS                 NC     90011319393
B173316422B248   MOHAMED           TRAAD                   VA     90011631642
B173395A52B857   ANTHONY           ROTONDO                 ID     90013479505
B1733A54355953   IDELFONSO         GOMEZ                   CA     90013150543
B173417887B489   RONNIA KRISTINA   HOWARD-VANDIVER         NC     90013291788
B173474672B857   KATHY             HARRISON                ID     90001237467
B1734825155947   SANDRA            GONZALEZ                CA     90011018251
B173492715B396   ROBERTO           VARGAS                  OR     44583149271
B1734A66942332   CHARLES           HUNTER IV               TN     90003580669
B173572146B62B   NIKKI             FURLOCK                 KY     90015517214
B173582A92B248   CATHERINE         MCCULLOUGH              DC     90009818209
B1736726393758   EMERSON           JETER                   OH     64552707263
B173693912B941   MARIELA           LOPEZ                   CA     90012139391
B173776582B248   JOHN              WARD                    DC     90012637658
B173779A255953   ALEXJHANDRE       HOOPER                  CA     90011377902
B1738796155953   JUAN JOSE         ARCOS JAUREGUI          CA     90012917961
B173895365B396   MARIA             HERNANDEZ               OR     90012949536
B1739251697124   FRANCISCO         VALENCIA BARCENA        OR     44010612516
B17394A8A5B269   MILLIE            CABEZA                  KY     68006004080
B1739A96576B27   ANSELMO           CARRIO                  CA     46076870965
B173B293855953   IRENE             GOMEZ                   CA     90014692938
B173B812772B62   ANTONIA           RAMOS                   CO     90008668127
B173B8A485B265   DANIEL            SNAWDER                 KY     90013178048
B174274562B857   RANDEE            ROOKS                   ID     90012697456
B1743527121929   ANGELICA          NEGRON                  IN     20562875271
B1743541155959   CAMARENA          PEREZ                   CA     48073675411
B174373823363B   EUGINA            WILLITTS                NC     90014057382
B1743823672465   DENNIS            SZYMONIAK               PA     51024788236
B1743935891978   MAEKELE           YEIBIYO                 NC     17098739358
B174423637B877   AL                BURCHERI                IL     90014222363
B174432757B489   SHARDARRELL       JACKSON                 NC     90009163275
B1744623693736   JIMMY             DAVIS JR                OH     90005316236
B1744717472B62   NICOLE            ASBERRY                 CO     33095557174
B1744975393727   SHELIA            MAZE                    OH     90006739753
B174528197B489   NATHANIEL         MCGOWAN JR              NC     11030572819
B17452A3791878   MICHAEL           CARSON                  OK     90011592037
B174585985B327   DALTON            COULTER                 OR     90015268598
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2009 of 2350


B1746253285927   STEPHANIE    TAYLOR                       KY     90011052532
B174678585B196   ADRIAN       JACKSON                      AR     90012137858
B174715823363B   JOSEPH       PORTER                       NC     90014081582
B174874912B248   JUQUAN       WHITSEY                      DC     81097857491
B1749217672B69   SARA         BEHAN                        CO     90015112176
B174968135B327   MOHAMMAD     JAMA                         OR     90014066813
B17497A4955953   MARIA        LARA                         CA     90013557049
B174B22A92B857   TIM          DUNBAR                       ID     90007242209
B174B27985B531   JOHN         HERNANDEZ                    NM     90012212798
B1751279585927   MARCUS       AVERA                        KY     90012322795
B1751482793745   CARLA        LOGAN                        OH     90011874827
B1751639976B27   ALFREDO      MARQUEZ                      CA     90013016399
B1751911584373   RAYMOND      HOLLIBAUGH                   SC     90013679115
B175198375B265   JOHNICA      LOGAN                        KY     90004229837
B1752346493771   FRED         HILYARD                      OH     64504443464
B175238863B137   RAYMUNDO     RODAS                        MD     90013133886
B1752511A2B857   JODIE        DIBBEN-BERKS                 ID     42000465110
B175365266B947   FERNANDO     PEREZ                        NJ     90007126526
B175369425B265   BRITTNEY     BROWN                        KY     90015076942
B1753896472B69   SANDRA       NAREZ                        CO     90011958964
B1754163A85927   MICHELLE     CERNEK                       KY     67075371630
B1754675385927   ERIC         SANDOVAL                     KY     90015146753
B1755153176B27   VENTURA      ALVARADO                     CA     46093721531
B1756237755972   CHEYANNE     COLITTI                      CA     90002482377
B1756587A93758   STERLING     HANCOCK                      OH     90005415870
B1756A3385B327   BRITTNEY     PEWONKA                      OR     44587590338
B1757185893745   MIKE         RODDY                        OH     90006971858
B1757488A84373   NATHAN       TOBEY                        SC     90008924880
B1757673272B69   KATIE        BOSWELL                      CO     90013046732
B175794395B265   DUSTIN       DEINDOERFER                  KY     90013599439
B17579A1355959   LLUVIA       CABRERA                      CA     90010299013
B1758353455947   STEPHANIE    NAVARRO                      CA     90008183534
B175973882B248   MAQUETTE     CLARK                        DC     90012557388
B175976262B857   SHARI        KETTERING                    ID     90010647626
B175991775B332   TADIMIKA     EDWARDS                      OR     90012129177
B175B74449286B   VICTORIA     WILLIE                       AZ     90014717444
B175B831597124   MARK         CARTER                       OR     44043868315
B175B8A925B396   HENRY        GARCIA                       OR     90014688092
B1761463955953   WENDY        LINO                         CA     90011094639
B1761727793752   EUGENE       ALRIDGE                      OH     90010847277
B1761885344B31   SCOTT        CHAPPLE                      OH     90014398853
B1762216A2B248   T            SMOKE                        DC     90007232160
B176286434B585   LILLIAN      ABUNAW                       OK     90008858643
B1762875372B69   REINA        BAUTISTA                     CO     33031918753
B1762966593745   ASHLEY       HOWARD                       OH     90010049665
B1763654585927   BESSIE       RHINEHIMER                   KY     90008806545
B176468369194B   ALBERTO      HERNANDEZ                    NC     90012036836
B1764822284373   TONYA        FULMER                       SC     90003448222
B176494287B489   AESHA        MONTGOMERY                   NC     90013209428
B1764AA552B941   DAISY        DRAPER                       CA     90013750055
B176522525B265   JAMIE        LYNN                         KY     90010342252
B1766169693745   LYNNETTE     LAWSON                       OH     90011391696
B176626945B396   BLAKE        JESSUP                       OR     90013312694
B1767573684373   MONALISA     SMALLS                       SC     19074935736
B1768488993758   ALICIA       WAKEFIELD                    OH     64595434889
B1768989A55947   BALTAZAR     DE LA RIVA                   CA     90011709890
B1769715397124   PRISCILLA    BELK                         OR     90012627153
B176981472B26B   DEONTE       BRADLEY                      DC     90002688147
B176B27952B857   RUSSELL      BUFFINGTON                   ID     42089812795
B176B661A91549   DAVID        REYES                        TX     75095836610
B176B72229713B   BRIANNA      ALVAREZ                      OR     90012437222
B1771493342376   STACI        SHERLIN                      GA     90006954933
B1771A71131639   KEVIN        SHIPMAN                      KS     90000790711
B1772541493752   LESLIE       CARGILE                      OH     64518135414
B17726A9831639   FRANCISCO    GARNICA                      KS     90010346098
B1772933293727   KIMBERLY     ANDERSON                     OH     90011679332
B1773346893727   KEVIN        SIMMONS                      OH     90009133468
B17733A635B265   LEANN        PHEPLS                       KY     90014713063
B1773521161429   DANIELLE     GORE                         OH     90014105211
B1773664972B69   TIMOTHY      TURNER                       CO     33067666649
B1773A37693752   JOHN         GIFFORD                      OH     64528440376
B1774142772B62   JUANA        GONZALEZ                     CO     90013111427
B1774158672B69   ANTOINETTE   VEGA                         CO     33057251586
B1774254355947   ALEX         GONZALES                     CA     49008872543
B177425622B251   MANUEL       MORALES                      DC     90006372562
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2010 of 2350


B17743AA193727   DEIRDRE      JOINS                        OH     90008463001
B1774A23333635   ANITA        BRYANT                       NC     18052580233
B177532835B265   LAURA        GARCIA                       KY     90011103283
B177542955B265   HAYWARD      EMBRY                        KY     90014834295
B1775643676B27   HANNAH       LAIN                         CA     46006386436
B177582725B327   AMANDA       RILEY LEE                    OR     90007198272
B1776587A93758   STERLING     HANCOCK                      OH     90005415870
B1776644A84333   URSULA       NELSON                       SC     90002286440
B177673525B356   LORRIANA     MARTINEZ                     OR     90012947352
B1776751191978   JOANN        MCDANIEL-JARMAN              NC     17097697511
B1777215472465   C            SOFRANKO                     PA     51059142154
B177721A397124   JAMES        WAKEFIELD                    OR     90010842103
B1777373941231   TEIONDRE     JONES                        PA     90010723739
B177814A872B44   ARACELI      CORDOVA                      CO     90011941408
B1778258933635   JUDY         JEFFRIES                     NC     18066972589
B1778422455953   OLIVIA       ARROYO                       CA     90004044224
B1778A7A75B265   NOBIA        CORDOBA                      KY     90013030707
B177953222B857   RUSTEE       SCHADE                       ID     90010215322
B17796A6785938   ROBERT       SCOTT                        KY     90010696067
B177B19A497124   SHAWN        DICKINSON                    OR     90013511904
B177B217693727   JENNIFER     NACKERT-SMITH                OH     64500032176
B177B31A493752   NIDAL        MAROUF                       OH     90011813104
B177B49425B327   ESMERALDA    VALENCIA                     OR     90015284942
B177BA76185927   STACY        EL HARRAB                    KY     90014250761
B178132843363B   MICHELLE     BORDEN                       NC     90012753284
B178133932242B   CARLOS       ROMAN                        IL     20591593393
B178167313363B   BRIAN        POTTS                        NC     90011666731
B1782365572B62   JESSICA      IMPOLA                       CO     33009803655
B1782855972B69   JAMES        MARTINEZ JR                  CO     90013018559
B1782A54497124   MANUEL       GARCIA                       OR     44042740544
B1783182631465   TRINA        STEEPLES                     MO     90009161826
B1783483A93758   GREGORY      PARRIMAN                     OH     64581854830
B17836A5376B27   DYLAN        LUTTRULL                     CA     90005066053
B178427485B327   RAUL         FLORES GUTIERREZ             OR     90006312748
B178484A955947   ERICKA       BRIMMER                      CA     90013428409
B1784914955953   TEVIN        PENEDA                       CA     90002939149
B178534465B396   TARA         CLIFFORD                     OR     90014033446
B17853A3A97B29   PAUL         GREEN                        CO     90011183030
B1785546576B27   NOELIA       ASTORGA                      CA     90013285465
B1785AA7A93745   RACHEL       POWELL                       OH     64586910070
B178613215B327   JUAN         MUNIZ                        OR     44550131321
B178631155B396   MARIA        AGUILAR                      OR     44512843115
B1786757193758   NINA         CHILDS                       OH     64531867571
B17875A295B265   ALYSSA       LAUBHEIMER                   KY     90013365029
B1787945677977   JAVIER       ALBARRAN                     IL     90012349456
B1787947855959   EUSELSIO     GOMEZ                        CA     48020049478
B1787A59393752   TIFFANY      WELLS                        OH     90011390593
B1787A6147B489   DEZIRA       BAXTER                       NC     90013510614
B1788492531639   TAMMY L.     WILLARD                      KS     90012504925
B1788595955953   JUAN         BORJAS                       CA     90012995959
B178874165B327   SHARLA       SAVAGE                       OR     44571757416
B1788783455953   MONICA       FLORES                       CA     90002877834
B1789158821929   DERRICK      STEELE                       IN     90015561588
B1789165A93745   AARON        DANIELS                      OH     90011851650
B1789314A2B248   JEFFERY      BARNES                       DC     81067953140
B178969A572B62   GISELA       CHACON                       CO     33093306905
B178992A391978   KEITH        WILLIAMS                     NC     90014889203
B178B66A12B248   JASON        MCAVOY                       DC     90014546601
B178B768872B69   CASSANDRA    ROMERO                       CO     90004017688
B1791174555959   KARLA        MATA                         CA     90014401745
B1791648793727   JAMIE        MILLER                       OH     64514106487
B1792262655947   MARIA        HERNANDEZ                    CA     90004032626
B1792799793752   SHALARON     WHITE                        OH     90014727997
B17927A7197124   KATHERINE    ADAMS                        OR     90015057071
B179281443363B   JESSICA      CASTRO                       NC     90008638144
B1793247255953   JESUS        BUSTAMANTE                   CA     90011262472
B1793588584373   JALEAYA      JENKINS                      SC     90001865885
B179372637192B   KRYSTAL      PAXTON                       CO     90014807263
B179388462B248   ASHLEY       WIGGINS                      DC     90010758846
B179389895B265   BILLY        SHECKLES                     KY     68015758989
B1794536676B27   LIZBETH      LIVZ                         CA     90013305366
B179528295B396   FANNIE       PHILLIPS                     OR     44509912829
B179619A63363B   IVONNE       HERNANDEZ                    NC     90010841906
B1796222555979   JOSE         SANCHEZ                      CA     90014472225
B1796458955972   AVELARDO     PEREZ CONTRERAS              CA     90002344589
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2011 of 2350


B1796467955953   LEANNA            AMBRIZ                  CA     90013284679
B1796555A8B13B   MARK              HOFFMAN                 UT     90014655550
B1796833293752   DEANNA            SHIFFERT                OH     64537208332
B17969A8184373   PATRICE           HOLMES                  SC     90011809081
B1796A73272B69   CANDICE           GRIDER                  CO     90009550732
B1797186671993   REBECCA           MASON                   CO     90012701866
B1797444193758   LAURA             COX                     OH     90013944441
B179757323363B   PAYGO             IVR ACTIVATION          NC     90008985732
B1798793733635   MICHELLE          BISHOP                  NC     90012717937
B179887935B265   CLARA             WRIGHT                  KY     90006448793
B1798959831688   KATHERINE         JOHNSON                 KS     22000099598
B1798A9285B152   DEYANIRA          GARCIA                  AR     23000080928
B1799177493727   RONI              JACKSON                 OH     90012331774
B179922842B26B   VICTOR            BALL                    DC     90011522284
B1799233593727   HADIYAH           WASHINGTON              OH     64557872335
B179975975B265   CHARLES           HARRIS                  KY     68016247597
B179B25523363B   CHARLES           FLETCHER                NC     90009492552
B179B343793727   LISA              KING                    OH     90014143437
B179B5A7A76B27   EDGARDO           ROQUE                   CA     46035535070
B179B98A293758   CRYSTAL           HARRIS                  OH     90010049802
B179BA78897124   AUJONAE           DELKETTIE               OR     90011190788
B179BA9A397B71   NORLY             RIVAR                   CO     90015090903
B17B1534155947   IRENE             SALINAS                 CA     90014905341
B17B1594655953   AIMEE             HERNANDEZ               CA     90012645946
B17B1757393727   DAPHANE           CARNES                  OH     64500617573
B17B1A85293766   KAWANDA           JAUDON                  OH     90000240852
B17B2141A93758   LARUKO            WOODS                   OH     64557101410
B17B2177993752   LESLIE            CURTIS                  OH     90009761779
B17B2247393727   JENNIFER          ARNETT                  OH     64528382473
B17B252897B489   KAYA              CARTER                  NC     11096665289
B17B32A8393758   HEATHER           MILLER                  OH     90001542083
B17B36A6172B69   JANET             HEINEN                  CO     33077916061
B17B3741A76B27   VERONICA          GARCIA                  CA     46058887410
B17B3A1612B941   JAIME             KUNKEL                  CA     90002590161
B17B4767955953   EDWARD            OXFORD                  CA     90002907679
B17B482A572B69   IRENE             MONTOYA                 CO     33081708205
B17B4999655959   LESLIE            LLAMAS                  CA     90010389996
B17B4A18693758   DESTINY           ROBINETT                OH     90010110186
B17B5157985927   ISAMAR            NOLASCO                 KY     90015451579
B17B521114435B   JOEL              OROZCO                  MD     82025952111
B17B58A122B265   DAWNJANICA        THOMAS                  DC     90009738012
B17B62A5897124   SONIA             ROSILLO                 OR     44040882058
B17B6427A55959   CARLA             MANYOK                  CA     90010524270
B17B6638685927   SHANEEZA          WARNER                  KY     90001806386
B17B6851484373   ANTHONY           RIVERA                  SC     90009058514
B17B74A3172B69   LINDA             POMPEO                  CO     33037674031
B17B7791191978   D.J               RICHARDSON              NC     17057057911
B17B832443363B   ANDREA            DAVIS                   NC     90005413244
B17B833A397124   ANGELA            JAUREGUI                OR     90007103303
B17B88A8831639   TIMOTHY           KEMP                    KS     90014038088
B17B9217293752   AARIN             CANE                    OH     90008952172
B17B966255B265   SHAUNDA           LOVE                    KY     90005336625
B17B979A655947   KEITH             FORD                    CA     49065857906
B17BB73555B265   AUSTIN            THOMPSON                KY     90013217355
B17BB75825B221   DAVID             SHAW                    KY     90015107582
B17BB91595B327   PAUL              MILLER                  OR     90012799159
B18112A445B327   HERNAN AND LACY   MARTINEZ CRUZ           OR     90006062044
B1811349393752   ALYSIA            BUCKNER KRUMMEN         OH     90004933493
B1811739591563   MAYELA            RAMIREZ                 TX     75024027395
B1811784993758   MIREYA            MELTON                  OH     64565147849
B181217397B393   MAXIMINO          OTERO                   VA     90000821739
B181279785B327   JORGE             CRUZ                    OR     90001537978
B181283257B438   AMANDA            DAVIDSON                NC     90011698325
B1812A4A697B31   AIMEE             HURST                   CO     90011710406
B181316725B265   JENNIFER          PATTON                  KY     90006071672
B1813455497124   CASSANDRA         MARTINEZ                OR     90014954554
B1814252885927   SHERRY            JOHNSON                 KY     90004672528
B181491832B248   LATOYA            SIMMONS                 DC     90011259183
B1814A65555959   GUSTAVO           SANCHEZ                 CA     90012120655
B1815433872B69   ADAN              DURAN                   CO     90007574338
B1815535585927   KENNETH           NAPIER                  KY     90013315355
B181562817B489   RICH              CHRISTIE                NC     90009216281
B1816185291582   JESUS             SOTO                    NM     90000621852
B1816385793752   ELBERT            PENNINGTON              OH     64566513857
B1816475772B69   SHADONNA          MEYERS                  CO     33081374757
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2012 of 2350


B181735682B248   KWESI         IBRAHIM                     DC     90012993568
B1817533572B69   SCOTT         HARTZ                       CO     33017695335
B181829422162B   CUTBERTO      RODRIGUEZ                   OH     90014782942
B1818565672B62   STEVEN        MARK                        CO     33008735656
B1818633281626   KATHLEEN      KIRKHAM                     MO     90007546332
B181922368B185   DANNY         KNUDSEN                     UT     90008672236
B1819597855947   KRYSTLE       NOMBRANO                    CA     90014735978
B1819984293727   MARY          HAWES                       OH     64527579842
B181B242655953   ALEXANDER     FOLORIO                     CA     90010302426
B181B44215B327   CHRISTOPHER   BUSH                        OR     90015314421
B181B567131688   SCOTT         BEARD                       KS     22013395671
B181B66745B265   ELIJAH        YOUNG                       KY     90014856674
B181B93547B489   CYNTHIA       FEWELL                      NC     11050999354
B182232145B327   ESTELA        GARCIA                      OR     90000193214
B1822392191592   CESAR         GUTIERREZ                   TX     75091073921
B182242657B489   ELIZABITH     FLETCHER                    NC     90013544265
B1822768993758   RHONDA        DAVIS                       OH     64538567689
B1822858524B64   DANIEL        KINDRACK                    OR     81092668585
B1823295131639   VEOLA         AUSTIN                      KS     90007052951
B18236A4755947   MARIA         PEREDIA                     CA     90014736047
B1823761272B69   URIEL         ESPINOZA                    CO     90012647612
B182425A22B248   TONIJAH       WILSON                      DC     90012842502
B182433313B355   LESLIE        ESTRADA                     CO     90001663331
B18246A4755947   MARIA         PEREDIA                     CA     90014736047
B182478443363B   ALEGRIA       ANTONIO                     NC     90012387844
B1824819493758   JONIL         KOGER                       OH     90008788194
B1824957A91885   ARDELIA       JACKSON                     OK     90010059570
B182562613162B   NATASHA       MILLER                      KS     90004386261
B18256A4755947   MARIA         PEREDIA                     CA     90014736047
B1825A4477B489   ALEXIS        GONZALEZ                    NC     90006440447
B182617113363B   BENJAMIN      MEJIA                       NC     90013921711
B182677713B352   ALEX          RODRIGUEZ                   CO     90001847771
B18267A9631639   JAMES         BRUCE                       KS     90005087096
B1826945155953   LANA          FRANK                       CA     48088459451
B182696727B489   IRENE         SIERRA                      NC     11091679672
B182714935B396   EVELYN        LEWIS                       OR     90013151493
B1827372385927   MIRNA         CERRADAS                    KY     90012973723
B1828373755959   KRISSY        MALDONADO                   CA     90002183737
B1828736A93727   WALTER        MIRANDA                     OH     64525737360
B1828771A93752   KAREN         CRAWL                       OH     90008037710
B182886457B489   MANDI         BAKER                       NC     90010708645
B1829391185927   ANDREA        SANCHEZ                     KY     90014103911
B1829575855959   LIZBETH       SALAZAR                     CA     90014895758
B1829588955947   BRANDIE       BROWN                       CA     90014735889
B1829626733635   WANDA         MCBROOM                     NC     18042886267
B1829A3415B396   JOEL          GARCIA                      OR     44584820341
B182B21345B265   RICHARD       SCHNIEDER                   KY     68096582134
B182B42892B857   MARISELDA     MEDINA                      ID     90013174289
B182BA8395B561   ADAM          WARRINGTON                  NM     90009010839
B183116712B941   CANDELARIA    LOPEZ TENA                  CA     90014121671
B18316A1593752   KAREN         PHILLIPS                    OH     64512806015
B1831847793727   JAMES         PARKER                      OH     64595768477
B1831949555972   JENELL        GILBERT                     CA     49062309495
B1832221391563   MARIA         JAIME                       TX     75073082213
B1832469A55959   MAURO         VICUNA                      CA     90007414690
B183248275B396   KEARA         HAGER                       OR     44549024827
B1832847793727   JAMES         PARKER                      OH     64595768477
B18328AA67B489   ROSA          RAMOS                       NC     90013568006
B183331A731688   ANA           ANDRADE                     KS     22062233107
B1833887A31639   JERAMIE       SANTEE                      KS     22092338870
B1834148751385   JONATHAN      MAYFIELD                    OH     90008281487
B183476215B269   CORY          SIMPSON                     KY     68045557621
B183616125B396   MATT          LINDERMAN                   OR     90015091612
B18368AA82B857   TARAH         MAUGHAN                     ID     42018088008
B1837244833635   SIMON         SANCHEZ                     NC     90011172448
B18376A385B396   SCOTT         MALONE                      OR     44516736038
B1837883885927   LORI          HART                        KY     67095898838
B1838119272B3B   RADAEL        PINON GAMA                  CO     90011091192
B183831912B248   SANDRA        MCCOY                       DC     90014923191
B1838656771936   SUNG          YI                          CO     32026546567
B1838A3A55B327   FREEDOM       HERNANDEZ                   OR     90008110305
B1839167231688   PAMELA        NEVERGALL                   KS     22052391672
B1839274272B62   AMY           THAYER                      CO     90002012742
B1839333372B69   DANIEL        ODELL                       CO     90013593333
B1839435455973   AMBER         LOCHEN                      CA     90005334354
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2013 of 2350


B183B112976B27   MARISOL        MARTINEZ                   CA     90015191129
B183B55A155959   AMY            GARCIA                     CA     90003445501
B183B6AA25B327   RUQAYA         ISMAIL                     OR     90009926002
B183B819385927   ADRAIN         SINGLETON                  KY     90012668193
B183B8A327B489   SOBRINA        CONCEPCION                 NC     90011258032
B183B94852B857   THOMAS         JENSEN                     ID     90012779485
B183BA1A15B396   EMILIO         MATA                       OR     90012340101
B1841A51A76B27   KILLINA        BAKER                      CA     90010140510
B1841A96A5B327   CARLOS         TORRES                     OR     90002200960
B1842794593752   BLAIR          NORTH                      OH     90008037945
B1842795772465   KENNETH E      THORNTON                   PA     90002227957
B18428A1A97124   LADONNA        STONE                      OR     44092348010
B1843112191943   ROGELIO        ROSALES                    NC     17052871121
B18431A642B941   YESENIA        MORFIN                     CA     90014591064
B18436A6591248   MAIDEE         SALAAM                     GA     90006326065
B184373112B857   ALMA           DELGADO                    ID     90013717311
B1843914724B64   NELSON         MARTINEZ                   VA     81046259147
B1843915597124   AUTUMN         CHERRY                     OR     90012849155
B1843A18777977   NIKIE          PAYNE                      IL     90015600187
B1843A45572B62   MONICA         LOPEZ                      CO     90014130455
B184416A25B265   PAULETTA       MABSON                     KY     68002401602
B1844468993758   JASMYNE        JACKSON                    OH     90013944689
B18449AA855953   XOCHITL        MELCHOR                    CA     90006679008
B184514A297124   LINDA          SULLIVAN                   OR     44057431402
B184537412B941   ROBERTO        CERVANTES                  CA     90015143741
B1845711793758   LEAH           WHITT                      OH     90011127117
B1845791755959   YESSENIA       ESPINOZA                   CA     90013867917
B18462A1261992   RODOLFO        BENTACOURT                 CA     90007852012
B1846352855947   ESTHER         BENAVIDES                  CA     49097073528
B184644662B857   ERRINN         HANNIGAN                   ID     90011164466
B1846693176B27   JOSE           GUZMAN                     CA     46080256931
B1847339972B62   JACOB          BRECHEISEN                 CO     90005503399
B184779557B489   JASMINE        SAMS                       NC     11048747955
B1847862372465   LEON           SMITH                      PA     51085158623
B1847A28255947   LETICIA        GARCIA                     CA     49049570282
B184847A897124   DOLORES        DUPON                      OR     44084924708
B1848488676B27   RAFAEL         PONCE                      CA     90010714886
B1848616955959   SERGIO         CRUZ                       CA     90014326169
B1848699955959   SIOMARA        MENDOZA                    CA     90014076999
B1848724855953   GERARDO        HERNANDEZ                  CA     48016877248
B1849187824B3B   IZAAK          SPRIGGS                    VA     81037701878
B184997A77B443   YAMILKA        GARCIA                     NC     90005539707
B184B169862B96   TIMOTHY        THOMAS                     KS     90013121698
B184B18827B489   LUCIO          CHAVEZ                     NC     90014111882
B184B23562B941   JUSTIN         BRATCHER                   CA     90012922356
B184B467576B27   ADAM           RAMIREZ                    CA     90012484675
B184B4A9291592   MARISOL        LARA                       TX     90004614092
B184B71412B259   SHANEIKA       PARKER                     DC     90012697141
B184B85312B857   YUVANELI       CARDONA                    ID     42025198531
B185128A397124   AMBER          REDINGER                   OR     90009562803
B1852482485927   REBECCA J      MCCARTY                    KY     90002974824
B1852566455979   FLORENCE       RODRIGUEZ                  CA     48067575664
B1852A51A76B27   KILLINA        BAKER                      CA     90010140510
B185334853363B   CLARENCE       MCINTYRE                   NC     90006773485
B185339232B857   MARY           NACLERIO                   ID     42089143923
B1854591A93745   JUSTIN         MYERS                      OH     90006465910
B1854627A2B26B   BREIDY         PAVON                      VA     90010206270
B185531255B327   NELTON         BROOKS                     OR     90013153125
B185543A485927   BRITTANY       L                          KY     90009784304
B185582523363B   LETICIA        CRUZ                       NC     90009408252
B1856227743576   ERIC           SORENSEN                   UT     90001022277
B1856334693727   NICOLE         HARLEMAN                   OH     90012813346
B1857891555953   AVELINA        BRENES                     CA     90014528915
B1857943293758   SHAWNA         ISAACS                     OH     64537129432
B185818A642332   LAURA          TATE                       GA     90014731806
B1858755451326   ANTHONY        QUINN                      OH     90004227554
B185918A642332   LAURA          TATE                       GA     90014731806
B1859691755947   BARBIE         BARNES                     CA     90008356917
B185B72625B327   ROBIN          SWEARINGEN                 OR     44536707262
B186126735B327   PABLO CAESAR   CRUZ MARTINEZ              OR     90007612673
B1862329285927   LINDA          TABOR                      KY     90008913292
B18631A1355959   VERONICA       CASTANEDA                  CA     90014431013
B186337153B333   REYNA          LUCERO                     CO     90011533715
B1864556685927   LUIS           CARRIZALES                 KY     90015035566
B1864649772B62   EVER           LOZOYA                     CO     90013196497
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2014 of 2350


B1866181193727   KYLA          SANTIAGO                    OH     90009401811
B186636937B12B   MICHAEL       ASUMIN                      ND     90014133693
B1866376293758   ELISIUS       HOWARD                      OH     90011953762
B1867154A3363B   DEVON         ROGERS                      NC     90013971540
B18673A7455953   ANDREW        TINSLEY                     CA     90008593074
B186741A22B248   TAWANA        DOUGHTIE                    DC     90014864102
B1867862497124   ROBERTO       BANEY-MATEOS                OR     90011028624
B1868114155959   MARIA         LOPEZ                       CA     48079471141
B1868118872B62   SHIRLEY       VILLEGAS                    CO     90013401188
B186824A35B327   LUCY          FOUST                       OR     90012002403
B1868883691576   LIDIA         PRECIADO                    TX     90010858836
B1869187655959   GEORGE        FERNEZ                      CA     90014741876
B186925922B941   DEIVY         BUENROSTRO                  CA     90003342592
B1869369185927   CHRISTOPHER   CADDOCK                     KY     90013363691
B186996A172B62   ABRAHAM       QUERO                       CO     90015139601
B186B25A92B248   MARGARITA     CRESPO                      DC     90010482509
B186B315676B27   DALE          WHITLMAN                    CA     90012113156
B186B723455953   LAURA         DURAN                       CA     90011927234
B186BA55472B62   LISA          GONZALES                    CO     90012840554
B1871168293745   ADAM          MCOWEN                      OH     90007191682
B18711A4772B69   KIRA          GONZALEZ                    CO     33091161047
B18725A2785927   DONOVEN       KIRKPATRICK                 KY     90015505027
B1872682393758   SHELLY        LOCKWOOD                    OH     64546896823
B1873637A5B269   REBECCA       SCOTT                       KY     68086376370
B1873658755947   LORENA        ESTRADA CHAVARIA            CA     90014736587
B1873866693745   ROBIN         SMITH                       OH     90000678666
B1873A79485927   ANTHONY       MOORE                       KY     90013830794
B1874229A4B254   MINA          NITZ                        NE     90010282290
B18747AA255953   ROBERT        ELLIS                       CA     48042947002
B1874847893752   PAULA         WEST                        OH     90003938478
B1875386355959   SERGIO        NUNEZ                       CA     90014963863
B1875865655947   EFRAIN        GUTIERREZ                   CA     49098978656
B187587A691248   TAMATHA       JOHNSON                     GA     90015008706
B187588A272B62   REBECCA       ROBERTS                     CO     33039778802
B187614662B941   MARGARITA     MENDOZA                     CA     45015581466
B1876268372B69   JASON         MARTINEZ                    CO     33017792683
B1877289993727   CHRISTOFFER   EVANS                       OH     90014872899
B1877396491978   MINTANGU      TUYEKYNYL                   NC     17091143964
B1877869697124   SHERRY        DUNN                        OR     44012548696
B1878174224B64   RENEE         LOPEZ                       DC     90013041742
B187824525B396   ERIC          PRICE                       OR     90009222452
B1878A3A85B396   BRYCE         KING                        OR     90014450308
B1879272993745   WILLIAM       HARPER                      OH     64552232729
B187951677B851   PATRICIA      GRIFFIN                     IL     90013495167
B1879658755947   LORENA        ESTRADA CHAVARIA            CA     90014736587
B18796A945B327   JOHNNY        VALDEZ                      OR     90012776094
B187979495B327   JOHNNY        VALDEZ                      OR     90013047949
B1879A18693758   ERICA         KRUSE                       OH     90013380186
B1879A31455959   ISSAC         GALVAN                      CA     90005300314
B187B25792B248   ERIC          SHAW                        DC     90014262579
B187B579293752   APRIL         STINE                       OH     90010745792
B187B74252B941   ISAIAS        GONZALEZ                    CA     90012137425
B188112995B327   ALICIA        MONTES                      OR     90006221299
B188167862B857   MICHAEL       TREJO                       ID     42042596786
B1881974524B3B   ASHLEY        GREENE                      DC     90001819745
B1882658755947   LORENA        ESTRADA CHAVARIA            CA     90014736587
B18827A3893727   GREGORY       CHINN                       OH     64551647038
B1882823455947   CHARLES       DURAN                       CA     90013068234
B1882973572B49   PABLO         TORRES                      CO     90010029735
B188328253363B   FRANKIE       SIERRA                      NC     90012632825
B188432252B857   JESSICA       GONZALEZ                    ID     42084053225
B188452AA5B396   ANGELA        BRONKHORST                  OR     44511325200
B1884731A5B331   JAMES         JONES                       OR     90000627310
B1884A9413363B   JOSH          HOLBROOK                    SC     12085040941
B188519195B131   ANTHONY       SMITH                       AR     90014981919
B1885455355959   JESUS         MATIAS                      CA     90004244553
B188569232B857   JESUS         RUIZ                        ID     90014816923
B188579715B327   PAMELA        FEVES                       OR     44561157971
B1885912384373   LEANN         HANNER                      SC     90011819123
B188672A18B192   WILLIAM       AVIS                        UT     31005747201
B1886877985927   PATRICIA      TIBBITS                     KY     67041098779
B1886AA7672465   ANNETTE       NORMAN                      PA     51081060076
B188711757B443   YAJAIRA       GOMEZ                       NC     90000791175
B188732135B265   FRANKIE       MURRELL                     KY     90014843213
B1887628885927   JOYCE         GRAY                        KY     90001126288
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2015 of 2350


B18878AA855959   MANUEL       REYES                        CA     90013508008
B1888912384373   LEANN        HANNER                       SC     90011819123
B1888927431639   SHERIKA      LAMON                        KS     22093519274
B188893915B541   JANET        MONTOYA                      NM     90014229391
B1889125993758   MARCEL       HAWKINS                      OH     64594561259
B188951572B941   AMARAL M     JULEEN                       CA     45088595157
B1889727372B62   REUBEN       MARTINEZ                     CO     90014877273
B188B571372B62   TEAR         FRANSUA                      CO     33014725713
B188B658755947   LORENA       ESTRADA CHAVARIA             CA     90014736587
B188B91842B857   JOSEPH       POOLE                        ID     90014619184
B1891945455924   KEN          YANG                         CA     49016439454
B1892191693758   BELONTE      MURPHY                       OH     90014581916
B1892365A5B548   ERIKA        MORALES MACIAS               NM     90007563650
B189255A38B833   JOHN         DOE                          HI     90014305503
B189261975B573   HELEN        LUERAS                       NM     90012666197
B1892692A55959   MARTHA       ARIZAG                       CA     90009966920
B189334395B327   KEVIN        CUNNINGHAM                   OR     90014773439
B1894A4445B265   ANGELA       TAYLOR                       KY     68049590444
B189512328B833   ERIC         POKAKAA-CARTER               HI     90014301232
B1895154155947   LORA         MERICLE                      CA     90005391541
B189516A45B265   CHARLES      HOBSON                       KY     90013401604
B1895253391978   ARTURO       ARGUIJO                      NC     17056402533
B1895397872465   DONALD       DUNCAN                       PA     90001393978
B18954A785B396   DOUG         NAVAL                        OR     90012644078
B1895722481626   DENISE       WOODS                        MO     90005187224
B1895A54A55953   LEE          TAMAYO                       CA     90004680540
B1896776472465   PHILLIP      DAVIS SR                     PA     51018717764
B1896924A93727   CHELSEY      TRUESDALE                    OH     90012969240
B1896AA5A55959   MARIA        CORTEZ                       CA     90014110050
B1897131955972   MERANDA      LUJAN                        CA     49068531319
B1897389472B69   JOSUE        GONZALEZ                     CO     90013733894
B189836145B396   CANOTANCE    KELLY                        OR     44500463614
B1898759355953   MARY         BROWN                        CA     48017197593
B18988A595B327   JESSICA      BOOTH                        OR     44582458059
B1898996276B27   MELISSA      MONTEFORTE                   CA     90012199962
B1898A8845B541   MIKE         DAIGLE                       NM     90014820884
B1899468393752   HOWARD       INGRAM                       OH     90012864683
B1899529972B69   MARIA        SANROMAN                     CO     90013335299
B1899822441494   MARVIN       ZINGLER                      WI     90009258224
B189B16812B248   KAILAH       HARRIS                       DC     90014021681
B189B787355941   TRACI        BEVENS                       CA     90008037873
B189B97765B327   ERIC         JENNINGS                     OR     90014979776
B18B112952B248   JON          KENNEDY                      DC     90015301295
B18B1444193758   LAURA        COX                          OH     90013944441
B18B1788391563   MAYRA        VERDUZCO                     TX     90001297883
B18B1877855953   MARCO        AVILA                        CA     90011408778
B18B1A72142376   AMY          JONES                        GA     90013530721
B18B2777491834   MELISSA      COX                          OK     90004337774
B18B29AA691576   NANCY        YBERRIGOMEZ                  TX     90004779006
B18B3426255997   REYNALDO     CORRAL                       CA     49036124262
B18B352895B327   THERESA      JEWETT                       OR     44515525289
B18B3534472B69   CHRISTINE    KULAS-VENCES                 CO     33051955344
B18B358AA2B835   DEBORAH      PEARSON                      ID     90002535800
B18B417642B941   ROBERT       BASS                         CA     90013081764
B18B4939593758   DARLENE      HARDIN                       OH     90009849395
B18B4A4A555953   ROSA         BAUTISTA                     CA     48092930405
B18B551765B265   TAYAMI       NUNEZ                        KY     90013355176
B18B55A3A84373   ARISTEO      RAMIREZ                      SC     19073675030
B18B5626193752   ALONZO       DIGGS                        OH     90010906261
B18B5767793758   STEVEN       HENDRICKSON                  OH     90009307677
B18B6164855959   RUDDY        HERNANDEZ                    CA     90012921648
B18B618485B265   DEBRA        BAILEY                       KY     90014701848
B18B61A8893758   AMANDA       HUMERICK                     OH     90012391088
B18B68AA12B941   UBALDO       ESQUEDA                      CA     90008058001
B18B725253363B   ELLIS        WELLS                        NC     90010382525
B18B725447B489   EDWARD       DUNN                         NC     11052792544
B18B78AA797124   KEVIN        WILLIAMS                     OR     90008928007
B18B7921755953   OLIVIA       LOYA                         CA     90009899217
B18B82A2133635   CALVIN       SPRAUVE                      NC     18036892021
B18B835832B941   OFELIA       VERA                         CA     90012423583
B18B9588955947   BRANDIE      BROWN                        CA     90014735889
B18B9822A55959   AARO         PEREZ                        CA     90009908220
B18B9873293727   CHRIS        WEIMER                       OH     90006398732
B18BB429131639   JOSHUA       DUNCAN                       KS     22008034291
B18BB52A893758   HOLLYLE      LAYTON                       OH     90007985208
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2016 of 2350


B18BB889733634   RODNEY       A WOOTEN                     NC     12005658897
B1911173771931   RODERICK     JERN                         CO     32003831737
B191171AA93745   PAMELA       MULKEY                       OH     90003527100
B1912312172B69   LOPEZ        DANIEL                       CO     33038863121
B19127A1255947   TAQMMY       HAGGERTY                     CA     90014737012
B191286A82B857   ROBYN        ALRCON                       ID     90010188608
B191339752B941   MELISSA      VASQUEZ                      CA     90008953975
B191344285B534   JUSTIN       GABALDON                     NM     90011974428
B1913558A55947   CARLOS       PINULA                       CA     90012795580
B19136A7472B62   TROY         OLESON                       CO     33078736074
B1913A21A2B271   JACQUELINE   ROBINSON                     DC     90005270210
B19142A775B269   JAMES        SHARP                        KY     90013552077
B1914637193727   JASON        BREWER                       OH     90011496371
B1914882633635   MARIE        BUTLER                       NC     18054348826
B1914969942376   OMEGA        HARKLESS                     GA     90014119699
B1914A82593758   CHRISTOPHE   BAILEY                       OH     90014800825
B19151A4485927   JUAN         ESPINO                       KY     67092051044
B1915252877977   TIBRIA       STARKS                       IL     90015522528
B19154A4572B62   DAVID        MENDER                       CO     90015144045
B1915742A2B857   YANCE        BURGER                       ID     90014827420
B1916177593752   KATAVIA      GABRIEL                      OH     64563571775
B191652A555947   JENNIFER     COLEMAN                      CA     90011855205
B1916554661982   LARAMIE      OHLUND                       CA     90006545546
B1916A6315B25B   TAMEKA       FUQUA                        KY     90002470631
B1917798797124   SHEREE       JONEZ                        OR     90015567987
B1918243455924   ARACELI      CAMPAS                       CA     90011622434
B191857422B941   NANCY        MENDOZA                      CA     90014985742
B1918637776B27   SEIZAR       YOUHANA                      CA     90014126377
B191888A793758   SHANNON      BRAWLEY                      OH     90010298807
B1918A87272B69   DEBBIE       HERRERA                      CO     33096620872
B191911243363B   KATHYN       HAIRSTON                     NC     90012261124
B19194A425B557   VIOLETA      PAVON                        NM     36007854042
B19196A9A76B27   EDITH        GARCIA                       CA     90000746090
B1919962772461   MEGAN        GUTKOWSKI                    PA     90006859627
B191998717B464   TAMMY        PATTON                       NC     11045649871
B191B385697124   ROSARIO      VAZQUEZ                      OR     44073873856
B191B62365B396   ANNE-MARIE   URUKUNDO                     OR     90006076236
B191B749477977   CYNTHIA      GARY                         IL     90015397494
B191B7AA17B44B   OSVALDO      MONTOYA                      NC     90006387001
B191B979993758   ANNA         NEWMAN                       OH     90013149799
B192187A45B265   SHANANA      FLORENCE                     KY     90009118704
B1922251755972   RUBEN        CASARES                      CA     90005352517
B1922445155947   EDWARD       MARTIN                       CA     90013794451
B192297762B857   JENNIFER     MURPHY                       ID     90000819776
B1922A23372B62   MARIA        LUCERO                       CO     90012920233
B1922AA7761825   KHIMMEL      BLOUNT                       MO     90007670077
B192346373363B   MENDILO      TREJO                        NC     90008204637
B1923558655953   JANETE       RAMIREZ                      CA     90001925586
B192432A472B69   MANUEL       BURCIAGA                     CO     90013663204
B1924456A93752   CHRIS        BIBBS                        OH     90008334560
B192475A885927   LEESHA       SOUTHWORTH                   KY     90006957508
B1925486193745   BRANDY       MCKINNEY                     OH     90010494861
B1925926497124   LIDIA        CARDONA                      OR     90013469264
B1925AA5A5B265   TYMESHA      BOYD                         KY     90012010050
B1926398A72B62   REGINA       KAMEES                       CO     90009333980
B1926828431688   E            GRATNEY                      KS     22045508284
B192688545B327   TAYLOR       STEVENS                      OR     90015118854
B1927427555959   MANUEL       SALAZAR                      CA     90011444275
B192765112B857   RYAN         STUARD                       ID     90010296511
B1929575A76B27   MARVIN       CORDERO                      CA     90012725750
B1929579797124   CORY         MCLEOD                       OR     90012895797
B192993365B265   ERICA        BOWLING                      KY     90013459336
B1929A35597124   DERECK       DILLMAN                      OR     90015520355
B192B44995B327   RAUL         JUAREZ COPADO                OR     44540824499
B192B87119196B   DUKE         MAISIBA                      NC     90012698711
B192B88A793758   SHANNON      BRAWLEY                      OH     90010298807
B192BA29485927   JOHN         GAINES                       KY     90010880294
B1931265131639   RYAN         SCHULTZ                      KS     90007632651
B193155355B269   CHER         WHITE                        KY     68067305535
B1931571976B27   SUPERMAN     SEXY                         CA     90009435719
B19315A4772B69   RICKY        ALEXANDER                    CO     33008575047
B1931676185927   SUSANA       ALGUERA                      KY     90013776761
B1931853384373   QUINTINA     MAZYCK                       SC     90007758533
B1932575A76B27   MARVIN       CORDERO                      CA     90012725750
B1932832793752   JOEY         PEAGLER                      OH     64513158327
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2017 of 2350


B19334AA493758   RICKY        KEITH                        OH     90013154004
B1933656A3363B   CRYSTAL      GEBHART                      NC     90008916560
B1934134A93752   DYNISTY      MCFARLAND                    OH     90013271340
B193473482B941   MARC         MC DONALD                    CA     90006427348
B1934A94855959   SUSANA       LIRA                         CA     90012740948
B1935673155947   ARACELI      NIETO                        CA     90002566731
B193568793B396   TOMAS        MENCHACA                     CO     90002216879
B1935724772B69   MICHAEL      HUGHES                       CO     33077847247
B19364A9976B27   CASEY        COLON                        CA     90008414099
B1936617276B27   MARIANO      CORREA                       CA     90015236172
B1936638793745   BRANDON      TAGG                         OH     90011106387
B1936917955947   LUCIA        MENDEZ                       CA     90004999179
B1937367A97124   JESSE        MCBRIDE                      OR     90014813670
B193813465B327   ENWARD       GRADY                        OR     90014401346
B1938577393745   BIANCA       PALOMINO                     OH     90013745773
B193915432B857   KELDON       PATTERSON                    ID     90015271543
B1939352655959   ISABEL       TORRES                       CA     90014473526
B1939359793727   EBONY        TWITTY                       OH     64575183597
B193951675B265   CANDICE      BENTLEY                      KY     68052355167
B1939818431639   AMANDA       PATTERSON                    KS     90013068184
B193B4A8A97124   DUSTIN       BALZER                       OR     90011344080
B193B555472465   CHERYL       MCFARLAND                    PA     51096845554
B193B584855953   ANTONIO      AGUILAR                      CA     90009085848
B193B88375B396   JOJO MILO    BRITTAIN                     OR     90010718837
B193B9A8897124   AZUCENA      GUDINO                       OR     44078199088
B19411A662B248   ZAKIYYAH     SALAAM                       DC     90012851066
B194137195B265   HEBER        MORALES-RUIZ                 KY     90010763719
B194146A95B396   ERIKA        MORAN                        OR     44512274609
B1942421993758   BOYB         MULLINS                      OH     90009144219
B1942932591257   LA TOSHA     GADSON                       GA     90012909325
B1942974155947   CATHERINE    HOEMBERG                     CA     90000569741
B194299347B489   JOSE         CATILLO                      NC     90011899934
B1942A8A15B327   ALAIN        RODRIGUEZ                    OR     90014600801
B1943317355953   SILVIA       ANGELES                      CA     90002243173
B194349753363B   KADEDE       LOMO                         NC     90014104975
B194351955B396   HALLIE       WILLIAMS                     OR     90003195195
B194352835B265   TUCKER       GILMER                       KY     90013355283
B19437A7993758   NICOLE       EVASHENK                     OH     90014877079
B1943A2294B521   DERRICK      HOWARD                       OK     90001420229
B1943A5A797124   FRANCES      VENTO                        OR     90003520507
B194521662B248   RESHAWN      JOHNSON                      VA     90005912166
B1945357255959   MARIA        ARIAS                        CA     48014673572
B194541978B38B   VALERIAVIO   OZUNA                        SC     90011604197
B1945A47393758   CANDICE      REID                         OH     90005420473
B1945A6582B857   PETE         RIMKUS                       ID     42012700658
B1946515997124   BRITTANY     KERN                         OR     90007875159
B1946861324B64   LOUIS        CORRAL                       VA     90006808613
B194699845B185   LAQUINTA     HARDY                        AR     90010989984
B1947152672B69   STEPHANIE    RUIZ                         CO     90013791526
B194832485B269   CHARLADANE   BRADLEY                      OH     68010593248
B194856235B396   NATHANIEL    MOSES                        OR     90013275623
B194872A13363B   CHARISE      CLARK                        NC     90013597201
B1948A95631639   ROBERT       MOUNT                        KS     22063680956
B194921325B265   SAVANNAH     CHADWELL                     KY     68039332132
B1949724355947   MIGUEL       TORRES                       CA     90014737243
B1949A1765B555   ANTONIO      PENA                         NM     90012190176
B1949A41228169   LISA         SCOTT                        TX     90012860412
B194B141A5B265   ASHLEY       SANDERS                      KY     90013541410
B194B16953B396   JUANITA      ARCHULETTA                   CO     90012981695
B194B268493758   JARED        RUBLE                        OH     90007262684
B194B316193727   LEON         WATSON                       OH     64504623161
B194B562176B27   OSCAR        ROSALES                      CA     90005885621
B194B773497124   HEYDEN       BUSH                         OR     90012027734
B194B9A2433635   TIAWANN      CORBETT                      NC     18016209024
B1952383772B62   JANIS        AUMILLER                     CO     90014933837
B19523A8A5B265   PJ           LIVELY                       KY     68080253080
B1952A3195B396   RYAN         TUOHY                        OR     90012340319
B1953336272B62   DERRICK      THOMAS                       CO     90015333362
B195534857192B   CHAD         FOLLETT                      CO     32096743485
B195541553363B   LATONYA      JACKSON                      NC     90010684155
B1956833172B69   DARWIN       APLICANO                     CO     90013498331
B195736542B248   MATHILDE     FOULAH                       DC     90000693654
B19579A892B271   DARRELL      MELCHOR                      DC     81037159089
B1957A14372B62   RAY          TORRES                       CO     33050930143
B195876765B555   ROBERTO      CUEVAS RICALDAY              NM     35019467676
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2018 of 2350


B19587AA87B489   TONYA         SIMMONS                     NC     90006717008
B1959127255959   HECTOR        ARIZAGA                     CA     90007841272
B1959158293758   MARK          PESHABA                     OH     90011591582
B1959254597124   ASHA          TUCKER                      OR     90015002545
B195956772B248   EZANA         PEART                       DC     90007545677
B1959645172B69   THALESSA      HAYES                       CO     90012386451
B1959936993745   CHRISTOPHER   GILBERT                     OH     90014559369
B1959A6785B569   ANN           PACHECO                     NM     90008750678
B195B576A5B327   RODRIGO       PAZ                         OR     90011035760
B195B747731688   KEJENEE       JOHNSON                     KS     22043617477
B196111285B396   SHERRY        FENTRESS                    OR     44507991128
B1961353193754   DIANNA        IRVEN                       OH     90005853531
B196211415B327   CARMEN        ROOKER                      OR     44552461141
B1962186A93727   JANIER        ALONSO                      OH     90007651860
B1962253193745   BRITTANY      KERN                        OH     64592282531
B1963554142332   JEFF          FOSTER                      GA     90014745541
B1963948785927   CODY          PEEL                        KY     90012519487
B1963A89793745   JAMES         WILLIS                      OH     90010980897
B196419417B489   LILIAN        LOPEZ                       NC     90012731941
B19642A5897124   SONIA         ROSILLO                     OR     44040882058
B196524135B327   NIKKI         STEFANOWICZ                 OR     90011892413
B1965544321929   DAVID         COTNER                      IN     90015415443
B1965633672B62   TONA          ORTIZ                       CO     33067386336
B1965927A93758   LATESA        MCCOY                       OH     64510349270
B1965A8829194B   TAKOYA        LEACH                       NC     90012510882
B19666A1155947   SUMMER        RODRIGUEZ                   CA     49059556011
B1967251351331   VERONICA      KOCH                        OH     90014602513
B19678AA34B229   TAMMY         BARGHOUTI                   NE     90013808003
B196826872B248   SALVADOR      MORALES                     DC     90006792687
B1968485833635   VANESSA       VASQUEZ                     NC     90008404858
B196849A673247   PABLO         PACHUCA                     NJ     90015114906
B196868855B327   TRENA         KIRBY-WOODRUFF              OR     44574496885
B196878A491978   BRYANT        MOFFITT                     NC     17056777804
B196951A997124   PHILLIP       BRAY                        OR     44070165109
B196B788A55947   YOLANDA       ZEREGA                      CA     90003957880
B196B8A177B489   JUAN DE LA    CRUZ                        NC     90013568017
B1971626693758   CONSTANCE     MUNDEY                      OH     64596456266
B1971997A72B62   PETER         ABBEY                       CO     33095989970
B197247A255959   JESUS         SARAGOZA                    CA     90011424702
B197264567B489   LEON          SIMPSON                     NC     90013046456
B1972691285927   JASON         NEELEY                      KY     90010806912
B1972756A33635   CAROL         PATTERSON                   NC     90011437560
B1972844472B62   BESSIE        SANCHEZ                     CO     33015958444
B1972988393752   LISA          NEAL                        OH     64512669883
B1972A63331639   JOHN          ROBERTSON                   KS     22007510633
B1973259685927   SONIA         SOLOZANO                    KY     90013742596
B197423A155959   CESAR         CALDERON                    CA     48025032301
B197519A791585   ERIKA         ARCHULETA                   TX     90008081907
B1975274555953   JOHANA        HEREDIA                     CA     90008592745
B1975431157552   ANA           GUTIERREZ-ALVIDREZ          NM     35573154311
B1975849A2B248   DEVEN         FLOOD                       DC     90012688490
B1975AA155B265   MARQUES       SCOTT                       KY     90000240015
B197627812B248   MAXIMILIANO   MEJIA                       DC     90012262781
B1976691597124   JULIE         LOPEZ                       OR     44043076915
B19769A225B396   MIGUEL        COTOC                       OR     90013389022
B1978235455972   THAI          LEE                         CA     90002712354
B1978A47393758   CANDICE       REID                        OH     90005420473
B197919885B396   JESSE         RHODES                      OR     90011971988
B197942A87B443   REBECCA       CULP                        NC     11008294208
B197BA6882B941   ANTHONY       ARIZA                       CA     90009350688
B1981472997124   DEANN         BAKER                       OR     90009174729
B1982256855953   DEBORA        HARRIS                      CA     48013422568
B19822A5233635   PAULETTE      PRIDE                       NC     18064462052
B198327A533635   TRACI         DIXON                       NC     90010992705
B1983452833683   FARRAH        MORENO                      NC     90013304528
B1983841A85927   ZANE          YOUNG                       KY     67055968410
B1984292693766   ISAIAS        SANCHEZ                     OH     90004462926
B198442652B227   FRANCIS       EKUNDAYO                    DC     81013704265
B198464915B396   KELSEA        MCBEE                       OR     90014266491
B1985211655947   LYDIA         MARIZETTE                   CA     90011852116
B1985472297124   JUAN          MARTINEZ                    OR     90001264722
B19855A2272465   GERALD        VUKOVCAN                    PA     51089425022
B1985AAA393745   JAMES         BARNHOUSE                   OH     90007190003
B1986635542332   DAVID         PARKER                      GA     90014746355
B198716A62B248   GLEN          JORDAN JR.                  DC     81015101606
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2019 of 2350


B1987294393727   KERRY        BUCKNER                      OH     90009142943
B1987341442376   EDDIE        BATES                        GA     90010303414
B198737A191978   VICTOR       CINTA                        NC     17070783701
B198774A15B396   RODENY       NEWBROUGH                    OR     90004947401
B198932122B941   JUANITA      PRECIADO                     CA     45086063212
B198962A55B265   MARY         MARTIN                       KY     90004946205
B198B363A8B142   JOHN         DURRANT                      UT     90006463630
B198B91597B443   LUIS         MORENO                       NC     11031359159
B198B982A5B327   RICARDO      PUERTO MARTINEZ              OR     90013759820
B198B989493745   MARIA        FREEMAN                      OH     64573069894
B199133A27B443   YOLANDA      REID                         NC     11082263302
B199134A14B235   CHRIS        EVITCH                       NE     90011333401
B1991376555953   THERESA      MARTINEZ                     CA     90011863765
B1991748772B69   SHELLEY      STANLEY                      CO     90010307487
B1992327893752   LYNDSEY      PITTMAN                      OH     90013533278
B199237415B165   WALLS        HAROLD                       AR     23073783741
B199267173363B   MALYNDA      TALBERT                      NC     90012946717
B199269A87B489   ANDREA       BENTON                       NC     90015136908
B1992959172B62   VANESSA      VELASQUEZ                    CO     90008789591
B1993279655953   ELENA        VEGA                         CA     48017522796
B199328712B857   ANDRES       WALTERS                      ID     90012532871
B199331922B248   CATHY        LITTLE                       DC     90005423192
B199337373363B   CARLOS       VIDAL                        NC     90012153737
B1993A2895B396   ERICK        MENDOCA                      OR     90010940289
B1994686855953   ANN NARIE    CORDERO                      CA     90012786868
B1995719591978   BETTY        WATSON                       NC     90000947195
B199615533B371   RANDALL      PATRICK                      CO     90009501553
B199673A997124   RACHEL       BELL                         OR     90011767309
B1996A79572B62   FRANK        ALBA                         CO     33011150795
B199716352B857   DALLAS       BATES                        ID     90014781635
B1997715476B27   LUZMARIA     LICONA                       CA     90004867154
B199776A25B265   RICHARD      CLEMONS                      KY     68037087602
B199782795B327   JESSE        HALLETT                      OR     90015318279
B199841622B857   THERESA      GOIN                         ID     42088734162
B1998633793745   DWAYNE       TOLES                        OH     90004646337
B199923177B443   ROSIE        CARTER                       NC     11047712317
B1999896193752   MARGARET     LANDERS                      OH     64539268961
B1999A45531688   ALVIN        JOHNSON                      KS     90003260455
B199B35A872B62   SONYA        TRACY                        CO     90010843508
B199B584A76B27   LISA         VINCI                        CA     46009755840
B199B653893727   TONDRA       JONES                        OH     64540896538
B199B87824B229   TERRI        MARSHALL                     NE     90010728782
B19B1266A97124   SILVIA       PRIETO                       OR     44094262660
B19B1494831639   NEISES       ROB                          KS     22095994948
B19B1692A55947   ZENON        ALAVEZ                       CA     90014736920
B19B28A1A2B941   KLOTIN       BENYAMIN                     CA     90003458010
B19B326612B248   KEIA         DAVIS                        DC     90014662661
B19B342232B941   DANIEL       COTA                         CA     90013084223
B19B3695955947   ROBERT       MUNOZ                        CA     90007546959
B19B3984A7B489   ROSALBA      SILVERIO                     NC     90013319840
B19B4288393745   FRANCES      WAGNER                       OH     90013642883
B19B453842B248   SHERRY       ANDREWS                      DC     90011245384
B19B462623363B   TABITHA      NANCE                        NC     90010936262
B19B4A6147B489   DEZIRA       BAXTER                       NC     90013510614
B19B4A7475B396   JENNIFER     PERKINS                      OR     90014350747
B19B512737B465   DENIS        RONDINA                      NC     11092941273
B19B5487172B69   JEFF         BUCCELLATO                   CO     90007924871
B19B566515B396   VERONICA     PEREZ                        OR     90013356651
B19B7122697124   ERIC         PETTIT                       OR     44085451226
B19B743965B396   STEVIE       MAILE                        OR     90009614396
B19B7A27855947   JOSE         PEREZ                        CA     49087350278
B19B8735772481   ALEXIS       PRYOR                        PA     90013447357
B19B88A122B857   SONJA        HOOEERMUNOZ                  ID     90003558012
B19B8A81355959   VICTOR       VILLAREAL                    CA     90007430813
B19B983895B232   TERRANCE     HOCKER                       KY     68077098389
B19BB364493727   FOREST       ROBERTS                      OH     64501283644
B19BB553755947   SHAMARRIE    FOSTER                       CA     90012795537
B19BB862355972   ZAYDA        DOMINGUEZ                    CA     49021128623
B19BB951A7B489   SHAVOLO      WALKER                       NC     11044709510
B1B11338854B94   KIM          MAERTZIG                     VA     90014653388
B1B11417A72B62   VERONICA     DUARTE PACHECO               CO     33027584170
B1B11773333635   JOSHUA       LAWLER                       NC     18028597733
B1B1313A555953   JUAN         NUNEZ                        CA     90013911305
B1B13564455959   ROSA         MARTINEZ                     CA     48088625644
B1B13A13933635   ANA          LAGUNAS                      NC     18020540139
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2020 of 2350


B1B14333922465   LAVELLE      MCCLENDON                    IL     90015353339
B1B1442413363B   SARAHI       LOPEZ                        NC     90012714241
B1B14484454B94   ARMANDO      CHAPAS                       VA     90010804844
B1B14A61385927   ASIA         ABADDORA                     KY     90010860613
B1B152A5472B62   QUAJONNA     COLLINS                      CO     90008482054
B1B1578A255953   TRACI        LUNDIN                       CA     90010957802
B1B15AA192B857   KANDY        LEE                          ID     90006470019
B1B1612235B265   ANNYSSA      BRAUGHER                     KY     90013481223
B1B16322231639   DEBRA        CARRIKER                     KS     90015143222
B1B1667783363B   YASMIN       HILTON                       NC     90010666778
B1B167AA555959   MAYRA        CAMACHO                      CA     90007417005
B1B1745363363B   ASHLEY       JOYCE                        NC     90009914536
B1B1773965B265   NATE         BURGET                       KY     90014757396
B1B17775354B94   DENNIS       LAUGHERY                     VA     90015007753
B1B1778522B26B   LATINA       FOLK                         DC     81011927852
B1B17A31491257   LESTER       SEVIER                       GA     90011380314
B1B18151A5B396   PETER        KOLLN                        OR     44554291510
B1B182A967B489   JAYE         HALL                         NC     90013712096
B1B18896493764   KYLE         COLLINS                      OH     90007018964
B1B18A2795B265   SANDRA       HAYES                        KY     68015750279
B1B19469876B27   ELIZABETH    GOODE                        CA     90013944698
B1B19527776B27   EMILIO       BLANCO                       CA     90015235277
B1B199AA15B293   JIMEISHA     JEFFREYS                     KY     68007799001
B1B1B694161429   MITCHELL     PHILLIPS                     OH     90014096941
B1B21226876B27   ELISHA       DAVIS                        CA     90013422268
B1B21593755972   KRISTI       VANG                         CA     49016945937
B1B2181AA55953   MONICA       RAMIREZ                      CA     90014618100
B1B218A5631245   ANN          WESLEY                       IL     90015398056
B1B2289695B396   BRITTANY     GRASSL                       OR     90008188969
B1B22961293783   MARKDERR     DERRICK                      OH     64544899612
B1B22994893771   RYAN         SILCOX                       OH     90011829948
B1B23228941243   AAMINA       SALAAM                       NC     90014092289
B1B23345393745   ANDREW       ROLLINS                      OH     90011953453
B1B2349482B857   SAMANTHA     BURNETT                      ID     90005794948
B1B235AA25B269   HEATHER      LEE                          KY     90013575002
B1B23727372B62   REUBEN       MARTINEZ                     CO     90014877273
B1B237A2872B69   ELIO         MARTINEZ                     CO     90013787028
B1B24441155972   BOBBY        GARZA                        CA     49005614411
B1B2446257B489   TREMAINE     SLOAN                        NC     90015084625
B1B24565497124   SOLVEG       PEDERSEN                     OR     90002105654
B1B2526375B396   LISA         VESELY                       OR     44578122637
B1B25534954B94   FRED         SCRIMGER                     VA     90013415349
B1B25786A72B62   JUAN         HERRERA                      CO     90012897860
B1B25927793727   STACY        CRASE                        OH     90013539277
B1B26284854B94   EDWARD       PATTERSON                    VA     90013922848
B1B2688A155959   BLANCA       AGUILAR                      CA     90014528801
B1B2699592B941   ROBERTO      MAGANA                       CA     90012559959
B1B27A76A8B14B   MELANIE      MAIR                         UT     31028430760
B1B27A8A376B27   JUDITH       ISELA RODRIGUEZ              CA     46041010803
B1B28126772465   DENISE       ARNOLD                       PA     90011241267
B1B28137676B27   LUIS         PERALTA                      CA     46092521376
B1B2816A884373   BRANDI       WRIGHT                       SC     90001621608
B1B28264493771   ANDILENA     LONGBRAKE                    OH     90014812644
B1B28463585927   ROBERT       FLYNN                        KY     67029274635
B1B28547493727   CURTIS       RENNER                       OH     90010195474
B1B28767372B62   SHANNON      CEHURA                       CO     90013987673
B1B291A775B265   JESSICA      HYKES                        KY     90014901077
B1B29592176B27   VIDALA       GOPAR                        CA     90014155921
B1B2997452B941   FLOR         SOTO                         CA     90012209745
B1B29A1A773267   NICOLE       MORGAN                       NJ     90014290107
B1B2B118533635   FARRAH       SAUNDERS                     NC     90013971185
B1B2B395955947   BEE          MOUA                         CA     90012543959
B1B2B734273247   DIEGO        GUADALUPE                    NJ     90009107342
B1B31872431461   CHRISTINE    HAMILTON                     MO     27565918724
B1B31893693745   BRANDON      WEATHERS                     OH     64593388936
B1B3198632B248   KIMBERLY     THOMAS                       DC     90008349863
B1B32335355953   MARIA        RAMOS                        CA     48006173353
B1B325A6593745   KIMBERLY     BURNS                        OH     90010685065
B1B328A3672B62   VALENTIN     MEDINA                       CO     90010088036
B1B3319A631465   JOSEPH       BROWN                        MO     90009031906
B1B33694655947   OSVALDO      REYES                        CA     49030526946
B1B3425A72B857   RICK         FOX                          ID     42095412507
B1B34719855959   HECTOR       FIGUEROA                     CA     90000207198
B1B3493115B593   JEFF         APODACA                      NM     36096949311
B1B34998A93727   LEA          DILLOW                       OH     90012799980
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2021 of 2350


B1B34A3137B489   ANGELA       MASKE                        NC     11056490313
B1B34A6A455953   DEBRA        ARMENDARIZ                   CA     90012570604
B1B3539A976B27   MARIA        JIMENEZ                      CA     90013463909
B1B3541A154B94   KENNETH      CAISON                       VA     90012834101
B1B3542A793758   PHYLLIS      LANIER                       OH     64519974207
B1B3596A555947   NOE          ESCALERA                     CA     90014699605
B1B359A494B221   RODERICO     SEBASTIAN                    NE     90010119049
B1B3618817B44B   CALVIN       AUSTIN                       NC     90006261881
B1B36596955953   DOROTHY      KOSTIELNEY                   CA     90014275969
B1B3666A972B62   SHIRLEY      DOMINGUEZ                    CO     90010706609
B1B36969631639   JACK         CASSEL                       KS     90014499696
B1B37A58155972   BEN          LOWREY                       CA     49012570581
B1B3816975B525   THERESA      LAWRENCE                     NM     35008661697
B1B3864822B941   JOSE         MURATALLA                    CA     90014876482
B1B38AA685B396   MARLON       WATERS                       OR     44500690068
B1B39268855953   ROLANDO      TRUJILLO                     CA     90010942688
B1B39827376B27   PATRICIA     DUKES                        CA     90012838273
B1B3B252655947   HERMIKO      WILEY                        CA     90011682526
B1B3B43462B857   TONY         PRADO                        ID     90014684346
B1B3B997572B81   LACEY        TUTTLE                       CO     90005579975
B1B3BA9487B489   SHANITA      DOUGLAS                      NC     90011230948
B1B41149776B27   MARTHA       RUIZ                         CA     90007491497
B1B4136432B248   RAYMOND      WEST                         DC     90012613643
B1B41462484373   ZACK         KOURIS                       SC     90006774624
B1B4148632B857   LORENA       CARDENAS                     ID     90013674863
B1B41577991257   MICHELLE     TAYLOR                       GA     90014875779
B1B41769655947   VICTOR       HERNANDEZ                    CA     90007397696
B1B42276455972   RANISHA      HARRIS                       CA     90012402764
B1B42375155959   HUGO         LOPEZ                        CA     90010833751
B1B42498687B53   STACIE       HEARD                        AR     28091214986
B1B4253893363B   SHADEANA     AUSBORNE                     NC     90010625389
B1B42856185927   SHERRY       COLMAN                       KY     67072398561
B1B43294593727   JEFFREY      STOKES                       OH     64506222945
B1B4359335B269   BARBARA      KOOS                         KY     68071815933
B1B43831955947   ASHLEY       SARMENT                      CA     90011038319
B1B44826954B94   KAY          WRIGHT                       VA     90003308269
B1B44877593771   STEPHANIE    LONG                         OH     90002158775
B1B44A17276B27   GUADALUPE    RAMIREZ                      CA     90007630172
B1B45157772465   STAR         RICHARDSON                   PA     51088121577
B1B45313443584   JIM          LEMMON                       UT     90006993134
B1B4569477B489   FABIAN       AGUIRRE                      NC     90001876947
B1B456A242B857   JULIETTE     MUKUNA                       ID     90009506024
B1B45831893752   FERNANDO     LOPEZ                        OH     90011988318
B1B46161972B69   ISAIAH       RUIZ                         CO     90014991619
B1B46293897124   JERRY        SHELDON                      OR     44086182938
B1B4688385B396   MARIA        MORALES                      OR     44590608838
B1B4723328B123   SANNY        PASS                         UT     90002412332
B1B4728515B265   PATRICIA     WILLIAMS                     KY     68015702851
B1B47324933635   HORACIO      GONZALEZ                     NC     90014053249
B1B4788495B269   AMANDA       UNDERWOOD                    KY     90000408849
B1B48186A97124   JASON        ZACHARY                      OR     44055901860
B1B49233272B62   MARIA        CASTRO                       CO     33060762332
B1B49258355947   JOSEPH       GARCIA                       CA     90005512583
B1B4939A585927   JESSICA      NOLAZCO                      KY     67015743905
B1B49427891248   FAYE         JENKINS                      GA     14501214278
B1B4B696993727   SHAVONNIE    BROUGHTON                    OH     90013586969
B1B4B771772B62   EMMA         BELL                         CO     33078067717
B1B4B798136122   PETE         MCCLAUGHERTY                 TX     73564307981
B1B4BA42797124   HEATHER      WEST                         OR     90010840427
B1B51954772B69   KARINA       MARSHALL                     CO     90014159547
B1B52452A2B941   TONY         VON GUNTEN                   CA     90009594520
B1B52483691978   CASSANDRA    ROGERS                       NC     17066194836
B1B53463793758   PATRICIA     DUNN                         OH     90013744637
B1B5396365B396   TONY         MIDDLETON                    OR     90014889636
B1B54864122465   MRIA         AYALA                        IL     90015618641
B1B54915A5B531   ANTONIO      ROMERO                       NM     90012969150
B1B54963155953   ANNA         MOREO                        CA     90007309631
B1B5521463B13B   MARVIN       LOPEZ                        VA     90000782146
B1B5523992B271   DENISE       WHITE                        DC     81003532399
B1B55281193727   REBECCA      HARVEY                       OH     64514502811
B1B55312255959   PAULINO      SANTOS                       CA     90014253122
B1B55A52993752   ANDREW       CHIROMO                      OH     64542560529
B1B56477321664   TIM          ERB                          OH     90014394773
B1B5727392B857   LUZ          ESTRADA                      ID     42057222739
B1B578A9A2B248   MELVIN       HARRIS                       DC     81093758090
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2022 of 2350


B1B57A95736B72   DEMETRIUS         WALL                    WA     90015510957
B1B58867522963   JAMINA            ALONSO                  GA     90013928675
B1B59571972B69   SILVIA            MOLINA                  CO     33073785719
B1B5964A593771   COTY              OPSOMER                 OH     90014756405
B1B59668954B94   DEYSI             GONZALEZ                VA     90012826689
B1B5B253393764   APRIL             HABROWSKI               OH     90008982533
B1B5B31812B941   CHRIS             RODRIGUEZ               CA     90007883181
B1B61474133635   DONNA             PRESLEY                 NC     90003184741
B1B6161A555953   MIGUEL            ZUNIGA                  CA     90015176105
B1B619A3372B69   ANDIE ALEXANDRA   ZAMORA                  CO     90014149033
B1B62474133635   DONNA             PRESLEY                 NC     90003184741
B1B63342157444   LYNZIE            MORTON                  IN     20505553421
B1B63683551356   MELVIN            BUCKLEY                 OH     90011396835
B1B6372495B573   ANTOINETTE        GARCIA                  NM     90008817249
B1B6381363363B   HOPE              SIMERSON                NC     90015458136
B1B63824572B69   ORLANDO           MARTINEZ                CO     90007298245
B1B6414555B265   ALTON             FRITCHER                KY     90013701455
B1B6456775B269   BRITTNEY          RUTLEDGE                KY     68003695677
B1B65245A2B248   DORA              PEREZ                   DC     81006102450
B1B65563A2B941   MARIAELENA        CASTILLO                CA     90013975630
B1B6575384B283   ASHLEY            ERICHA                  NE     90013747538
B1B6576275B396   KARISSA           LYNN                    OR     90012947627
B1B6577662B941   LAURA             JOHNSON                 CA     90013117766
B1B6577A272B69   VERONICA          MARTINEZ                CO     33004557702
B1B6592A676B27   JAKE              TROUT                   CA     90015299206
B1B65974755947   VALENTIN          FEKETE                  CA     90014699747
B1B66472155953   ALICIA            SOLORZANO               CA     90011924721
B1B67169A84373   GREGORY           SHEDD                   SC     90006781690
B1B67329393752   TONYA             LEWIS                   OH     64542893293
B1B676A2161941   ELIZABETH         CABRERA                 CA     90012406021
B1B67A3A172B62   MAGDALINA         PAIZ                    CO     33033270301
B1B68345131421   MARGHERITA        CHIRCO                  MO     27593593451
B1B68416384373   KEVIN             BAKER                   SC     90009144163
B1B6926947B851   KYRA              WILLIAMS                IL     20598702694
B1B69847454B94   THEOTTIS          MACK                    VA     90010498474
B1B69A37A5B573   LORENA            RUIZ                    NM     90009720370
B1B6B271433635   JOSE              GARCIA                  NC     90014182714
B1B6B397A98B2B   AUDREY            BAKER                   NC     90008663970
B1B6B611572B69   LILLIAN           MARTINEZ                CO     33033006115
B1B6B64A593771   COTY              OPSOMER                 OH     90014756405
B1B71167993771   WILLIAM           EPLEY                   OH     90014761679
B1B71178193752   TIFFANY           OLINGER                 OH     64587731781
B1B712AA855959   MARIO             VILLA                   CA     90010212008
B1B72167993771   WILLIAM           EPLEY                   OH     90014761679
B1B72771272B69   LETASHA           SCHIELE                 CO     90013357712
B1B7277957B489   CANDANCE          WILSON                  NC     11041247795
B1B7327665B265   NAFEESHA          BRAMLEY                 KY     68009302766
B1B73282455959   ANAID             BERNAGA                 CA     48097112824
B1B73446224B64   MARIA             ANGLES                  DC     90004014462
B1B7346A976B27   GUADALUPE         PEREZ                   CA     46064744609
B1B73494593727   JEREMY            RIFE                    OH     64526154945
B1B73524972B62   ANGEL             OLIVAS                  CO     90012645249
B1B73545172B62   PHILIP            RODRIGUEZ               CO     90014585451
B1B7448112B941   FRANCISCO         TASCON                  CA     90014734811
B1B7456677B443   KRISTI            GOLLADAY                NC     11065495667
B1B753A8131639   YUKO              NOEL                    KS     90009343081
B1B75469472465   DEBORAH           ALLISON                 PA     51057044694
B1B75525551329   THEODORE          HONERLAW                OH     66009005255
B1B7592112B857   DANIEL            HANEY                   ID     90014579211
B1B761A1672B69   JEFF              RILEY                   CO     90010811016
B1B76675255959   ARMANDO           VALENZUELA              CA     90012526752
B1B7684213B396   SANTOS            GUARDADO                CO     90009338421
B1B76A59393771   DENISE            LILLEY                  OH     90014780593
B1B77274476B5B   DANIEL            DENNIS                  CA     90007142744
B1B7831762B248   AARON             HOLLOWAY                DC     90013583176
B1B78622593771   DEREK             DETRICK                 OH     90014776225
B1B78769972B69   KRISTIN           GASKINS                 CO     90014557699
B1B7935A155947   JENNY             LIZANA                  CA     49076823501
B1B79498687B53   STACIE            HEARD                   AR     28091214986
B1B79632955959   FERNANDO          GONZALEZ                CA     48003436329
B1B79642397124   TAYLOR            COLOMBO                 OR     90012276423
B1B79687824B4B   MILDREN           GUTIERRES               VA     81010356878
B1B7976717B851   WILL              COLLINS                 IL     90015587671
B1B79A59393771   DENISE            LILLEY                  OH     90014780593
B1B7B184831639   EMMA              GALLEGOS                KS     90014681848
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2023 of 2350


B1B7B198855947   JESSICA            TUCKER                 CA     90012921988
B1B7B93834B574   KAY                SAMARIPA               OK     90004579383
B1B81292A33635   NAFIFITTI          RANKIN                 NC     90004212920
B1B8189643B398   IRENE              DAVIS                  CO     90004888964
B1B81A25A5B396   ANAGRLI GRICELDA   VARGAS                 OR     90013790250
B1B8212215B265   LAKEISHA           JOHNSON                KY     90013541221
B1B8227537B443   DONALD             GEBO                   NC     11063682753
B1B82452793758   DENISE             COLEMAN                OH     64595414527
B1B8271A23363B   VERONICA           LANE                   NC     12009257102
B1B828A772B941   DARIN              GRAVES                 CA     90014498077
B1B82A8982B857   SANDRA             SOTO                   ID     90012930898
B1B83517955959   MARTA              FRANCISCO              CA     90013275179
B1B8356695B338   PATRICIA           AVELAR                 OR     44532365669
B1B83795354B94   HOPE               TURNER                 VA     90008397953
B1B84142593745   SHYANE             KNISLEY                OH     90014051425
B1B84154A3363B   DEVON              ROGERS                 NC     90013971540
B1B84342455947   DIAMOND            HICKS                  CA     90012773424
B1B84599585927   MIGUEL             GARCIA                 KY     90010255995
B1B847A962B248   SHANNON            EDWARDS                DC     90012367096
B1B8483652B248   CHANNON            EDWARDS                DC     90008478365
B1B85256876B27   JACOB              RIOS                   CA     90012982568
B1B85463A3363B   DIANNA             NIXON                  NC     90013964630
B1B85489954B94   ROSA               GUTIERREZ              VA     90015104899
B1B8552877B489   PHYLLIS            REID                   NC     90013095287
B1B85562961984   SONSERRAY          HALLOWAY               CA     90014705629
B1B85985A7B443   ANABEL             ESCOBAR                NC     90002389850
B1B85997993745   BENNIE             KING                   OH     90009889979
B1B85A68655953   ROTELIO            APOLINAR               CA     90012570686
B1B8645615B396   JORDAN             PERRY ADAMS            OR     90013854561
B1B8682924B277   AMBER              VANWEY                 NE     90006388292
B1B8684252B941   GONZALO            MORALES                CA     90013438425
B1B87624172B62   JAMES              MONROE                 CO     33052486241
B1B8792112B857   DANIEL             HANEY                  ID     90014579211
B1B8798875B265   STEPHEN            BISHOP                 KY     68003409887
B1B88374A3B357   BILL               STANION                CO     33012983740
B1B88416572B44   DAVID              VIGIL                  CO     90014164165
B1B88446224B64   MARIA              ANGLES                 DC     90004014462
B1B8867333363B   AUDRESS            STRATTON               NC     90014126733
B1B88A19A55936   MARIA              PEREZ                  CA     90002760190
B1B89474224B3B   CARIOCO            GRIMES                 DC     90011224742
B1B89847493758   JUAKESHA           MEANS                  OH     90013938474
B1B8B438355947   JOSEPH             GALVAN                 CA     90012794383
B1B8B484472B62   EDUARDO            MOSQUEDA               CO     90001454844
B1B8BA8627B489   JOHNNY             MILLER                 NC     90013280862
B1B91697881692   MARITZA            PLATA                  MO     90011806978
B1B9171552B941   ANTONIO            CASILLAS               CA     90013167155
B1B91A6A633635   JORDAN             ALSTON                 NC     90012860606
B1B91A8515B396   JOSEPH             MARKEL                 OR     44588180851
B1B92397755972   HECTOR             YAHUITL                CA     49036493977
B1B929AA993771   MARY               SICKLES                OH     64529249009
B1B92A27933B4B   CLYTHIE            SHARP                  OH     90014300279
B1B92A95593758   SYDNEY             HOOKS                  OH     90010810955
B1B93311A93752   LINDA              HILL                   OH     90005093110
B1B93737593727   MIKE               BUSH                   OH     90006347375
B1B9412882B258   KADEDRA            DIXON                  DC     90001201288
B1B94236533635   BETTY              BLEWEAY                NC     90003732365
B1B94313372B69   JUAN               IBARRA                 CO     33041783133
B1B94431855975   ANTONIA            COVARRUBIAS            CA     90012854318
B1B9467483363B   MARY               SEALS                  NC     12090336748
B1B94743A54B94   TIONA              CAULS                  VA     90012827430
B1B9484627B489   JAMES              GILMER                 NC     90013028462
B1B9511342B248   LAURA              REDDIX                 DC     81067631134
B1B9537AA33635   MARIA              PEREZ                  NC     90014573700
B1B95455193727   CASANDRA           BUMGARNER              OH     64584644551
B1B96362A55959   MARTIN             TORRES                 CA     90015133620
B1B964A183363B   MARY               MYERS                  NC     90014604018
B1B965A6791257   CINDY              BEANUM                 GA     90010695067
B1B96718597124   ARTEAGA            MARCOS                 OR     90010627185
B1B968A495B25B   MARIA              ALVAREZ                KY     90013688049
B1B96A9112B248   ERNEST             PAYNE                  DC     81021510911
B1B97144431639   PEDRO              PEREZ                  KS     90013431444
B1B97248372B62   SARAH              ALBRIGHT               CO     90012372483
B1B97551A72B62   MARCELLA           PONCE                  CO     90011485510
B1B9766A55B396   JESSICA            MCMANNIS               OR     90011536605
B1B97895655953   RAMIRO             GARCIA                 CA     90014478956
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2024 of 2350


B1B98A4317B489   WENDY        TUNNELL                      NC     90013210431
B1B998AA772B4B   ANSELA       PEARSON                      CO     90009838007
B1B99941272B62   JUAN GERAR   DO ZAMORA LIRA               CO     33001269412
B1B9B655572B62   CYNTHIA      LARCON                       CO     90014086555
B1B9B86263B388   ROCKY        GARCIA                       CO     33093938626
B1BB1452A55972   TATIANA      CUCUK                        CA     90011224520
B1BB1A59893752   AKOSHA       ROBINSON                     OH     90015070598
B1BB212A493745   MELVINA      COLQUITT                     OH     64561021204
B1BB2417655947   ANTIWONE     PERKINS                      CA     90014804176
B1BB2653955941   GEORGE       CASARES                      CA     90011966539
B1BB2714785975   ADAM         CARROLL                      KY     90009997147
B1BB2853885927   ANTANETTE    JONES                        KY     90009128538
B1BB321162B248   MARY         CARROLL                      DC     90001412116
B1BB3281193752   LETA         GALLOWAY                     OH     90010882811
B1BB411262B248   SUBRINA      AVANT                        DC     90009241126
B1BB4311A55947   GUADALUPE    RAMOS                        CA     49061383110
B1BB447817B443   LITTLE       BOSS INC.                    NC     11007284781
B1BB4771154B94   JOHN         MARSHALL                     VA     90014057711
B1BB4A76493745   JOANN        EMONDS                       OH     90015320764
B1BB5115372B62   EPIFANIO     CHAVEZ                       CO     90012761153
B1BB5654131465   RICK         SCHWEIZER                    MO     90010376541
B1BB5712591574   KARINA       HOGGAN                       TX     75086537125
B1BB5AAA591257   LEEDELL      GADSON                       GA     90004830005
B1BB633326192B   GLORIA       MORFIN OCHOA                 CA     90014143332
B1BB6443793771   DUSTIN       JENKINS                      OH     90011344437
B1BB6767893758   BREONNA      HUNTER                       OH     90007187678
B1BB726972B26B   FRANCIS      BLAINE                       DC     90002762697
B1BB753A554B94   DHAN         MAGAR                        VA     90013845305
B1BB78A9376B27   MARISA       REBER                        CA     90014918093
B1BB824172B857   NIKKI        ROLLINS                      ID     90008442417
B1BB874472B941   MAUREENA     DURAN                        CA     90007737447
B1BB8931A72B62   JESUS        PONCE                        CO     33061009310
B1BB9288697124   MARIAN       MAYA                         OR     90005392886
B1BB9293993752   JAI          GANT                         OH     64540502939
B1BB9333291257   ZEE          REID                         GA     90009333332
B1BB9396293727   JOSHUA       HYDER                        OH     64584553962
B1BB961815B544   ERIC         MARTINEZ                     NM     90011116181
B1BB9939771993   SANDRA       MCBROOM                      CO     32053739397
B1BB998355B544   EDITH        CHAIDEZ                      NM     90010319835
B1BBB259255947   SANDERS      DON                          CA     49015682592
B1BBB2A498B329   FREDRICK     GLENN                        SC     90009032049
B1BBB51784B289   TRACY        MACKEY                       NE     90006605178
B1BBBA32297124   KEVIN        THOMPSON                     OR     44009840322
B2111871485927   ASHLEY       HUFNAGLE                     KY     90012888714
B2112415457444   RICKY        KING                         IN     90015514154
B2113256147825   ASHLEY       FULLER                       GA     90007812561
B211357172B857   MARGARITA    ORTEGA-CASAREZ               ID     90014785717
B2114155A5B342   JASON        STONE                        OR     90005491550
B2114644A84326   ROBERT       MITCHELL                     SC     90009316440
B211513397B443   FELIPA       GARCIA                       NC     11076981339
B211539125B265   BIR          BHUJEL                       KY     90006153912
B2115773297124   ELIZABETH    FENTON                       OR     44055057732
B2115A2612B271   TEKABE       ATEYE                        DC     81087000261
B2116332493752   CAMMIE       JONES                        OH     90013053324
B2116416976B27   ALICIA       STRATFORD                    CA     90007554169
B2116465233635   JOSE         RAMIREZ                      NC     90000234652
B2116768272B62   LORRAINE     CORONADO                     CO     33081797682
B21168A9555947   AMANDA       JONES                        CA     90014908095
B2117439391978   YESHEVA      HERCULES                     NC     90011284393
B2117866A55927   NICOLE C     CABRERA                      CA     90001728660
B211986AA72B62   HELEN        CORDOVA                      CO     90007338600
B211BA3A531639   JUAN         ALVARADO-ARELLANO            KS     90010700305
B211BA7677B489   NELSON       STEELE                       NC     90013310767
B2121319833635   GREG         TYNER                        NC     90014553198
B212145935593B   DON          BEST                         CA     90009794593
B21216AA52B923   GRACY        FARIAS                       CA     90010196005
B21222A2297124   SUSANA       AGUILAR                      OR     90002862022
B2122493855947   CARLOS       MEDINA                       CA     90012484938
B2122933685927   THOMAS       HARDEN                       KY     90013359336
B2124558961924   YOLANDA      VALDEZ                       CA     90008245589
B212462482B857   SONIA        ARELLANO                     ID     90014786248
B212642147B489   TONYA        BRICE                        NC     90013214214
B2126574A76B27   VERONICA     CASTRO                       CA     90001065740
B2126948333635   PAYGO        IVR ACTIVATION               NC     90013539483
B2126987824B64   FREDY        GIRON                        DC     90003209878
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2025 of 2350


B21273AA97B489   YOLANDA      JOHNSON                      NC     90012703009
B212836525B799   HELENA       ABROM                        MN     90014413652
B2128849193727   JAPNEOS      JONES                        OH     90014268491
B212B426961925   ALFREDO      SAUCEDO                      CA     46026604269
B212B546772B62   ALAN         WALIGORA                     CO     33058705467
B212B667172B69   DAWN         JORDAN                       CO     33027316671
B212BA54755972   KATIE        STILLMAN                     CA     49082570547
B213112268B123   NICOLE       JENSEN                       UT     31010341226
B213159A933635   PAMELA       VAZQUEZ                      NC     18042915909
B2131672571932   JUSTIN       PARADISO                     CO     90012646725
B21318A9341276   SHANA        WEISS                        PA     90004988093
B213195782B857   ALLISON      RIBORDY                      ID     42095839578
B21329AA67B489   ANTHONY D    DOUGLAS                      NC     90010909006
B2132A6592B271   JOSHUA       RICHARDSON                   DC     90012030659
B213364365B265   SHARON       WILLIAMS                     KY     90008666436
B2134254A97124   ABDUS        AHMAD                        OR     90001882540
B213436152B857   TREVOR       MILLER                       ID     90010453615
B2134399593745   NATASHA      CRABTREE                     OH     90011963995
B2134462672B62   ZAKIYA       TURNER                       CO     90013084626
B2134771533634   LARRY        WRIGHT                       NC     90013907715
B213512462B857   ANTONIO      CHAVEZ                       ID     90012941246
B213554312B857   ANTONIO      CHAVEZ                       ID     90013335431
B2135574672B62   ANTHONY      DURAN                        CO     33022785746
B213611895B265   YOGESH       RAI                          KY     90011131189
B213612A533635   CRISTINA     LAUREANO                     NC     18035021205
B21373A8691978   ERIC         WEST                         NC     90006903086
B213798A293745   MATTHEW      HAWKINS                      OH     90014649802
B2138875161994   MARIA        GRANDE                       CA     46001558751
B2138A55555947   IRMA         VILLANUEVA                   CA     90012890555
B2139346397124   MELISSA      BOREN                        OR     90007503463
B2139965171936   LEDUAN       REYES                        CO     32041179651
B213B52442B857   KASEY        ARISMENDE                    ID     42045105244
B2141436531639   AMANDA       FLORES                       KS     90007814365
B214177198B169   AUBREE       ROCHE                        UT     90011097719
B2141895493727   PHAM         SY VAN                       OH     90012798954
B214214665B396   ROBERT       FLEMING                      OR     90010091466
B214248112B941   FRANCISCO    TASCON                       CA     90014734811
B214341453B371   JENNIFER     DEWING                       CO     90010194145
B21443A9954125   JESSICA      JOHNSON                      OR     90009473099
B2144598A55947   BETTY ANN    GOMEZ                        CA     49002045980
B2145A83733635   NATASHA      STEPHENS                     NC     90015130837
B214796815B396   TONY         MONFILS                      OR     90008809681
B2147976A33635   MARCELINO    HERNANDEZ                    NC     90013339760
B2147A46431639   MAURICE      BROWN                        KS     90010700464
B2148233151355   BRIAN        LAMBERT                      OH     90015042331
B214868614B585   MARCUS       PECK                         OK     90012136861
B2148A1A997124   ANSELMO      NAJAR ESCAMILLA              OR     90004990109
B2148A51572B62   MARIA        OLIVERA                      CO     90000120515
B214B3A3833635   TAVON        LEE                          NC     90000713038
B214B49A272B62   JUDY         MOORE                        CO     33062454902
B2151672571932   JUSTIN       PARADISO                     CO     90012646725
B2152367271929   TONEY        MCCRAY                       CO     90012703672
B2152772172B69   PADMANI      STONE                        CO     90013807721
B2153237493727   JORGE        BRUNETT                      OH     64577122374
B2153256285927   BEJAMIN      KUCHERA                      KY     90012862562
B215356495B265   LISA         MOORE                        KY     68095135649
B21538A2733635   TYESHA       MURPHY                       NC     90014908027
B2153967791248   BRIANA       LEE                          GA     90004759677
B2153A91255947   RALPH        WESLEY STYLES                CA     90001010912
B215415855B231   TOMISHA      LEWIS                        KY     68012111585
B2154354533635   JAMES        FULK                         NC     90007583545
B2154628493752   KAITLYN      WEAVER                       OH     90008886284
B2155327824B64   BENICISHA    GLEATON                      DC     90002983278
B215589615B265   MARK         TAYLOR                       KY     90011008961
B2155931A8B329   KIMBERLY     DUBOSE                       SC     90010119310
B2156466461924   STEPHANIE    HERRERA                      CA     90010004664
B2156A6592B857   RISKY        XAYSOMBATH                   ID     90014790659
B2157123876B27   SAUL         CORONA                       CA     46053831238
B215753436619B   CARLOS       HERNANDEZ                    CA     90014035343
B2157648393745   CRAIG        MCMULLEN                     OH     90014756483
B215824427B489   YURIK        MAGANA                       NC     90013622442
B2158837133635   MW           CHAPMAN                      NC     90014638371
B2158A4232B941   ALVARO       TORRES                       CA     90011710423
B215949A63B391   ALEX         TOWNSEND                     CO     90010644906
B2159985872B62   JAY          BROWN                        CO     90012709858
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2026 of 2350


B215B26135B396   ELPHY           KERTZMAN                  OR     44547222613
B215B352572B62   JULIA           ROMERO                    CO     90008113525
B215B837A84373   DAYNA           SMALLS                    SC     90005678370
B215B91322B941   ALYSSIA         MORGAN                    CA     90002669132
B2161138672B62   ERENDIDA        MARQUEZ                   CO     90012231386
B2161A17997124   CHRISTOPHER     LANCE STEGALL             OR     90004080179
B2161AA5833635   GREGORIO        CARRIZALES                NC     18044650058
B2162268793745   ANGELA          GALVAN                    OH     64512722687
B2162475A93752   BRANDY          VANEGAS                   OH     90014714750
B21627A772B271   DEBBY           NAIPAUL                   DC     90001117077
B2162946461825   ANGELINA        THOMPSON                  MO     90008159464
B216366767B489   CRUZ KARINA     PEREZ SUAREZ              NC     90012766676
B216396114B564   MELANIE         TIJERINA                  OK     90010029611
B2164432872B62   GENA            AYALA                     CO     33040794328
B2164517593727   DEANNA          BARNETT                   OH     90014335175
B216483732B857   LYNN            BRASHER                   ID     90008758373
B2165154372B62   RAMIRO          LOERA                     CO     33057471543
B216561292B941   NIDIA K         ROY-ARELLANO              CA     90014776129
B2165728193727   TERRI           HANCOCK                   OH     90007947281
B2165844293752   MARIA           LUISA                     OH     64554978442
B2166352476B27   CARMEN          MARTINEZ                  CA     46049193524
B2167876155972   NYLZA           SAINZ                     CA     49025648761
B2168664793745   CAROLYN         LEGER                     OH     90013466647
B2168A84691978   BRENDA          TORRES                    NC     90012630846
B2169857693745   AMANDA          STEPHENSON                OH     90009848576
B2169858471699   DALLIS          CHATMAN                   NY     90014778584
B216986982B857   RAUDEL          GONZALEZ                  ID     42018038698
B216B25635B571   MARIA           CHAVEZ                    NM     35089692563
B216B36567B347   JEFF            TWOMEY                    VA     90009543656
B216B55279194B   ROSALIA         CRUZ                      NC     90006735527
B216B68872B271   LAKEICHA        HILL                      DC     90013316887
B216B819724B3B   FREDY           GONZALEZ                  VA     90014708197
B2171345433635   DEANA           MADDEN                    NC     90010183454
B2171914A85927   TERA            WELLS                     KY     90014859140
B217275962B857   ANTONIETA       SEDANO                    ID     42088867596
B217311185B265   JONI            DIXON                     KY     90009441118
B2173422793752   KIMBERLY        KASSOUMEH                 OH     64593174227
B2173524377324   JUAN            ACEVEDO                   IL     90014565243
B217365975B396   ALYSSA          CARRION                   OR     90013116597
B2173727191585   JESUS           LICON                     TX     90012477271
B21742A932162B   TYEISHIA        LONG                      OH     90014782093
B2174531A76B42   EDUARDO         RIOS                      CA     90014265310
B21753A1484373   DIANDRA         WALKER                    SC     90004363014
B2175457931639   KENDALL         HEARD                     KS     90002204579
B217564415B396   TERESA          MCKINNEY                  OR     90006086441
B2175A17993752   AIMEE           GIBSON                    OH     90012730179
B2176211431639   JASMIN          BUSTILLOS                 KS     90015192114
B217622565B396   ANTOINETTE      GARRETT                   OR     90009332256
B217661292B941   NIDIA K         ROY-ARELLANO              CA     90014776129
B2176AA7893752   ASHLEY          WADE                      OH     90011880078
B21771A1A33688   MARY            BYERLY                    NC     90012211010
B217755922B271   TREYSHAWN       CURRY                     DC     90005335592
B217798265B265   FELICIA         JACKSON                   KY     90008419826
B21783A1A2B857   MARCELO         MONTALVO                  ID     90011063010
B217855662B246   MIRIAM          GUTIERREZ                 DC     90008275566
B2178627431639   DAWN            KOERNER                   KS     90015166274
B2178886498B2B   TAWANA          EVERETT                   NC     90012578864
B217895625B561   KARLA ADRIANA   PEREZZ                    NM     90005039562
B2179336624B64   WALTER          MEDRANO                   VA     90004693366
B2179469972B81   CRISTINA        ROMERO                    CO     90000854699
B218189262B236   LINUS           MAXIMAY                   DC     81063898926
B2181A38391582   JUAN            RIOS                      TX     90007650383
B218243A585927   ALEJANDRO       RUBIN                     KY     90013914305
B218289245B799   DYLEN           DOUANGMYCHIT              MN     90014418924
B2182898691978   BEAU            DORMAN                    NC     90011578986
B218298A193745   CARRIE          WARD                      OH     64587589801
B2183156493745   JESSE           WEBB                      OH     90013001564
B218341AA24B44   HAROLD          WILSON                    MD     90002634100
B2183757585927   TIM             HALFEY                    KY     90014917575
B218484A333635   MAUDA           VALLADARES                NC     90015378403
B2185645972B69   JOSE MARTI      MARTINEZ                  CO     90002056459
B2185A56797124   CARINA          FLORES                    OR     44069310567
B218697A872B69   CORINTHIA       WEATHERSPOON              CO     90012789708
B218741292B271   JAMES           PORTIS                    DC     90014584129
B2187944133621   ATIVA           GRAVES                    NC     90001239441
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2027 of 2350


B2188195955947   HERMAN         PACHECO                    CA     90013111959
B2188376976B27   CORNELIO       PATRICIO                   CA     90009963769
B218849A593745   KATHY          NICEWANER                  OH     64520914905
B2188515255947   HERMAN         PACHECO                    CA     90014005152
B2188555693738   OLA            WHITE                      OH     90007885556
B218869198B136   ANNETTE        HOVEY                      UT     31095416919
B2189633A5B265   PATRICIA       THORNSBERRY                KY     90012836330
B218967AA97B69   CHRISTINE      BURAK                      CO     90010596700
B2189A9137B877   JOSEPHINE      HUSEIN                     IL     90011650913
B218B21A693745   KENDRICK       ANDERSON                   OH     90012252106
B218B568A76B27   MARIA          SILVA                      CA     90010615680
B218B8A6372B62   JOHNNY         LILGEROSE                  CO     90013008063
B218B94A32B271   ROZITTA        WILLIAMS                   DC     90012889403
B218BA9A43365B   CHRISTINA      FARGASON                   NC     90004240904
B219112A22B941   KENNETH        PADILLA                    CA     45089611202
B2191621A72B62   ALICIA ELENA   GARCIA                     CO     90013366210
B219276322B857   PAMELA         DOTY                       ID     42033757632
B2193211A91574   MONSERRAT      SERRANO                    TX     90010412110
B2193258693752   KATHY          JENKINS                    OH     64556742586
B219345362B941   ANDRES         SOARES                     CA     90014904536
B2193652684373   MELANIE        PARKER                     SC     90005696526
B219428A355947   ALEXADRA       BYRON                      CA     90008582803
B219478627B489   SAMUEL         STRANGE                    NC     90012227862
B219511977B489   ED             CAMP                       NC     90005801197
B2195119A93752   RAMONA         PAYNE                      OH     64591151190
B2195321972B62   MANUEL         SANLUIS                    CO     90007233219
B21955A845B265   KATELYN        HALL                       KY     90014705084
B219611355B592   CHRISTOPHE     SENA                       NM     36043441135
B219619829132B   SAUDIA         BELCHER                    MO     90005251982
B219631865B265   LANISHA        BANNOM                     KY     90006553186
B2197125793726   ERIKA          MCBRIDE                    OH     90011671257
B219731865B265   LANISHA        BANNOM                     KY     90006553186
B2197782572B62   EDUARDO        AGUILAR                    CO     90010687825
B2198536772B62   LINDA          SCHILLINGER                CO     90010815367
B2198823993727   MICHELLE       SANCHEZ                    OH     90015188239
B2199295A76B27   ASHLEY         MARZAN                     CA     46082692950
B2199517391554   MARIA          RUBIO                      TX     90013225173
B21999A4193727   JEAN           DAVIES                     OH     64557979041
B219B293124B64   THURMAN        GREENE                     DC     90007772931
B219B349657444   BRIONNE        MARTIN                     IN     90012353496
B219BA8812B857   MICA           MCKAY                      ID     90014790881
B21B1895493745   KEVIN          RAY                        OH     90002048954
B21B235277B322   MERY           BECERRA                    VA     81017143527
B21B2937333635   BRITTNAY       MORROW                     NC     90015169373
B21B2981776B27   SALVADOR       GARCIA                     CA     46009899817
B21B3429836122   CINDY          LOREDO                     TX     73513204298
B21B3432293727   ALEXANDRIA     DALTON                     OH     90014394322
B21B353812B857   SUMMER         WHITE                      ID     90014785381
B21B3565391324   JESSICA        SHEPHERD                   KS     90009985653
B21B412A493727   ANGELA         CRAWL                      OH     90013051204
B21B4A62193752   RENITA         MAYS                       OH     90005400621
B21B517A93B355   LARISSA        MULDER                     CO     90005161709
B21B6A58172B62   JEREMY         MEDLEY                     CO     90005190581
B21B6A78772B69   OLGA           PORTILLO                   CO     90014880787
B21B6AA337B489   ELIZABETH      CRUZ                       NC     90012960033
B21B7327697124   VIRGIL         LANE                       OR     90005543276
B21B7647591978   LEU            YAK                        NC     90011576475
B21B76A212B857   NICANOR        DIAZ                       ID     90014786021
B21B7964772B62   SARA           AGUILERA                   CO     90013199647
B21B7A2162B271   KERRY          PRICE                      DC     90001880216
B21B8913893727   DEXTER         DIXON                      OH     90010809138
B21B9421971993   HANNAH         FRENCH                     CO     90015214219
B21BB11165B265   WANDA          MCGREW                     KY     90011131116
B21BB232A91978   OCTAVIS        LATASHA EDWARDS            NC     90008792320
B21BB742491972   RUBY           CHASE                      NC     90012157424
B221149145B265   JASHAY         MOSS                       KY     90014704914
B22116A1491881   LORRAINE       KANDLE                     OK     90006456014
B2211947393745   BRIAN          RESPRESS                   OH     90013929473
B2212948791978   MANUEL         M                          NC     90011579487
B221318287B489   LATOYA         WOLFE                      NC     90013721828
B221437795B548   REYNA          OROZCO                     NM     90014103779
B221482195B265   SANDRA         MCDONALD                   KY     90012428219
B2214A65397124   MA TRINIDAD    TORRES RAMIREZ             OR     90013580653
B221519142B239   SHARETTA       HESTER                     DC     90004211914
B221571864B272   KAYANNA        NEWMAN                     NE     27078437186
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2028 of 2350


B2215759597124   GARNICE      CARR                         OR     44075777595
B2217A71A93727   MICKEY       BERAN                        OH     90015010710
B2218379976B27   SANDRA       BROWN                        CA     46031073799
B2218681A31882   PAYGO        IVR ACTIVATION               LA     90013076810
B2218891A72B62   ANGELO       SANTISTEVAN                  CO     90006708910
B2219249793727   CHRISTOPHE   HALE                         OH     64533442497
B2219325A72B62   SIDNEY       WILLIS                       CO     90011723250
B2219487924B64   ASHERA       DIRAR                        DC     90002234879
B221B266393727   DAWN         SIBLEY                       OH     64595832663
B221B34A55B396   RUSSELL      BRIGGS                       OR     90008973405
B221B51715B265   KAREN        MITCHELL                     KY     90011085171
B221B652A93752   MELANIE      TAYLOR                       OH     64530296520
B222119713B372   ANDREA       MEDINA                       CO     33089651971
B2222353424B64   ERIKA        GRANDE                       DC     90009373534
B2222563831688   JUSTIN       KHOL                         KS     90008575638
B222323552B857   HEATHER      BURTON                       ID     90014792355
B2224362A7B489   ZULEYMA      ORTIZ                        NC     90013103620
B2224865A55947   ANDREA       HANDY                        CA     90012348650
B2225282572B69   LORENA       MOTA                         CO     33060862825
B2225972672B69   VERNON       JOHLE                        CO     90012789726
B2226271393752   KAITLYN      BOWMAN                       OH     90013642713
B2226634933635   ROBERT       COBB                         NC     90015016349
B222676432B271   STACY        SIMON                        DC     90013127643
B2227889991978   VICTOR       VELASCO                      NC     90013658899
B2228858472B69   VERNALYNN    CRUZ                         CO     90009728584
B222886A191585   CLAUDIA      HERNANDEZ                    TX     90001088601
B2228952331639   ANDREW       FLEMING                      KS     90000439523
B222944652B857   JESSICA      LAMBERT                      ID     90010744465
B222969522B941   NINVA        BABAEI                       CA     90014966952
B222999183146B   TUNYA        BARNETT                      MO     90005539918
B222B19345B265   PADAM        RAI                          KY     90011131934
B222B77A39194B   JAIME        BAUTISTA                     NC     17013077703
B222B935493764   SUSAN        WILLIAMS                     OH     90006759354
B222BA1812B857   STEFANIE     LOPEZ                        ID     90004590181
B222BA9462B271   ROGELIO      GODINEZ                      VA     81039800946
B223148A885927   JEAN         DUMAY                        KY     90012164808
B223153177B489   CRYSTAL      CROWEDR                      NC     90013165317
B2232192372B69   PERRY        YELLOW HAWK                  CO     90011031923
B2233353691978   KYLE         STRICKLAND                   NC     90012873536
B223337A393727   PAUL         BODY                         OH     64505393703
B2233627197124   TAMBERLIE    ECKLUND                      OR     44041396271
B223381127B443   MICHELLE     GALLMAN                      NC     11035098112
B2233A8322B271   ANTONIO      BONILLA                      VA     90012670832
B2234292493745   ASHLEY       CARTER                       OH     90015322924
B22342A5397124   JACOB        HENNE                        OR     90014612053
B2234449A91978   REBECCA      NOEL                         NC     90011624490
B223497925B396   MERCEDES     BULLITT                      OR     44560049792
B2234A3475B331   MICHAEL      TERLESKI                     OR     90012210347
B22353AA393745   CRAIG        MILLER                       OH     90013213003
B2235492676B27   SUSANA       CRUZ VERANO                  CA     46040064926
B2235737172B62   LUCIA        GONZALES                     CO     33045127371
B223577A272B69   MICHAEL      CORDOVA                      CO     33055507702
B223595A285927   DOROTHY      FLECHER                      KY     90014569502
B223627312B857   CECILILA     OBRIEN                       ID     90014792731
B223727382B857   KEITH        ARMISTEAD                    ID     90014792738
B2237551155947   ROSA         URENA                        CA     90011625511
B2237731793745   VASHAWNA     CARTER                       OH     90008637317
B223814932B941   SALVADOR     DOMINGUEZ                    CA     90008161493
B223885167B443   MARY         ELLIOT                       NC     11007108516
B2239295793745   ALICIA C     LEE                          OH     90012082957
B223936A85B231   GLENN        DALE                         KY     90001423608
B2239513631639   ANDRES       SANCHEZ                      KS     22083405136
B22396A5133635   JONATHAN     JACKSON                      NC     18088106051
B2242233A97124   TERESO       LOPEZ                        OR     90014992330
B22422A4931688   ANGIE        SEE                          KS     90006082049
B22424A6324B64   BALTIMORE    AGUIRRE                      VA     90013284063
B2242839172B35   DONALD       SODERLUND                    CO     33075218391
B2242922355947   JULIAN       RODRIGUEZ                    CA     90004389223
B2242961993727   FRANKI       BARKER                       OH     90009219619
B224322437B489   ANTONIO      DUARTE                       NC     90011372243
B2243389A72B69   LETICIA      RAMIREZ                      CO     90011153890
B224356232B857   JOSHUA       STUTTE                       ID     90003025623
B2244114672B69   CESAR        CUEVAS                       CO     33046321146
B2244A32191978   GRACIA       TORRES                       NC     90011290321
B2245333893745   BRIAN        PITTS                        OH     90005523338
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2029 of 2350


B224553A931639   FELICIA       SLIETER                     KS     90010705309
B224554795B265   JOSH          JEKINS                      KY     90014705479
B224559737B443   TERRY         TOUSSAINT                   NC     90012925973
B2245918397124   NICKOLAUS     OUTHOUSE                    OR     90012549183
B2246663433635   WILLIAM       HILTON                      NC     90013166634
B2246725772B35   ORTIZ         CLAUDIA                     CO     90010627257
B2247446631688   MOYER         RACHEL                      KS     22003994466
B2248783493745   ERIC          MITCHEM                     OH     90012957834
B2249652697124   ELIZABETH     WILLIS                      OR     90014976526
B2249833385962   PATSY         SESTER                      KY     66001278333
B224B816293752   SCHWUAN       CURRY                       OH     90012718162
B224B95973363B   JIMENA        BUGARIN                     NC     90005299597
B2251159A2B941   JUANA         PEREZ                       CA     90015151590
B22516A7171925   JENNIFER      ADKINS                      CO     38015846071
B2251768793727   CHRIS         HUSSONG                     OH     90013897687
B2251769654B85   MAURICIO      ESCALANTE                   VA     90001997696
B225234A22B857   MAREE         COFFMAN                     ID     90014793402
B225245615B265   DEBRA         BLACK                       KY     90010334561
B225246A77B443   KAREN         LOVE                        NC     11094184607
B2253414297124   LINDA         TOLAND                      OR     44089094142
B225382A385927   JAMIE         GARNER                      KY     90006198203
B2254573A2B271   WILLIAM       HAYNES                      DC     90010685730
B2255439A31639   CARLA         BARNES                      KS     90008184390
B2255585376B27   ELIZABETH     VALDOVINOS                  CA     90003565853
B225658AA21624   GARY          CERVELLI                    OH     90014375800
B22567A422B941   AIBA          RUANO                       CA     90015097042
B2256915A55947   MARTINA       FLORES                      CA     49045059150
B2256AA4A72B4B   NATASHA       YORK                        CO     90003490040
B2257233991936   ASHLEY        WOOD                        NC     90006772339
B2257851961941   MAGGIE        GRAHAM                      CA     46080588519
B225785455B265   LATONIA       LUMPKINS                    KY     68004088545
B2257A82A2B941   CHRISTOPHER   BARCELLOS                   CA     90010560820
B2258346171628   ASHLEY        METRO                       NY     90013323461
B2259593572B62   GUILLERMIN    DE SIERRA                   CO     33056345935
B22597A422B941   AIBA          RUANO                       CA     90015097042
B225994735B342   BLAS          PEREZ                       OR     90013949473
B2259A9A393745   DIAKA         FREEMAN                     OH     90002140903
B225B257493752   SAM           CHURCH                      OH     90006592574
B2261772393752   ARCHIE        BANDY                       OH     90011067723
B22617A422B941   AIBA          RUANO                       CA     90015097042
B226183767B489   GASTON        SEGURA                      NC     90013728376
B22627A422B941   AIBA          RUANO                       CA     90015097042
B2262846955963   ARIC          MARTIN                      CA     48011478469
B226311797B443   JEROME        FLOWERS                     NC     90002081179
B226331913363B   ANTONIO       EVANS                       NC     12075813191
B2263956643585   JAY LYNN      MARSHELL                    UT     90005679566
B226474A472B69   DANIEL        HOFFMANN                    CO     90015157404
B226477755B396   BRAULIO       GUADARRAMA                  OR     90003457775
B22656A745B265   JAMES         LANGDON                     KY     90014706074
B226593A172B69   MICHAEL       WITTE                       CO     90011379301
B2266184755972   ANA           SANCHEZ                     CA     90000961847
B22666A3576B27   ROBERTO       MATIAS                      CA     46029206035
B2267179293727   SCOTT         PARKER                      OH     90003421792
B2267687497124   CHRYSTAL      STEADMAN                    OR     90008956874
B2267996691549   TERESA        ESPARAZA                    NM     90012589966
B226818157B489   LATISHA       MELTON                      NC     11003901815
B2268944293745   SHERRY        BOWMAN                      OH     90011329442
B2268A6132B271   DAMIKA        COVINGTON                   DC     90011340613
B226994435B265   LINDA         DORSEY                      KY     68034989443
B226B137193752   JOI           WHITE                       OH     90007251371
B227189A98433B   ALBERTO       MEDINA                      SC     90001098909
B2272497681492   SANDY         SHOULTZ                     PA     90015344976
B227251322B941   KENNETH       MOORE                       CA     90002785132
B2272665433635   ASHLEY        DAVIS                       NC     90015146654
B2272956643585   JAY LYNN      MARSHELL                    UT     90005679566
B22729A9993745   MICHELLE      REED                        OH     90014569099
B2273543A72B62   ALFREDO       RIOS                        CO     90011155430
B22735A622B857   TERRY         YOUNG                       ID     90014795062
B227364A191978   JOCELIN       MOREL                       NC     17086196401
B227429352B941   EARVIN        MENDOZA                     CA     90010572935
B2274959631639   BRIAN         PENROD                      KS     22009879596
B2275358A72B62   JACOB         THOMPSON                    CO     90006053580
B2275364793745   NICOLE        SOLES                       OH     90012903647
B227556232B857   JOSHUA        STUTTE                      ID     90003025623
B22756A7A33635   TANYA         DEYO                        NC     90014466070
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2030 of 2350


B2275A8665B396   MARIA         NEGRETE                     OR     90008810866
B2276168176B27   MARIA         SALDANA                     CA     46089671681
B227746582B857   CHRISTOPHER   BIRMINGHAM                  ID     90014794658
B2277A86831639   MEKISHA       BENFORD                     KS     22086230868
B227846982B857   RHONDA        CAFARELLI                   ID     90014794698
B2278563955947   FRANCISCO     OSUNA                       CA     90011625639
B2278671891978   ISMAEL        LOPEZ                       NC     17055726718
B2278763931621   TABITHA       MOORE                       KS     22024657639
B2278854393727   KENNETH       SILCOTT                     OH     90013428543
B2278871772B62   SALLEY        REBECCA                     CO     90008288717
B2279681331688   VICKI         BACA                        KS     90002166813
B227B847493727   TAMMY         BREWER                      OH     64576968474
B227B94753B387   DIANE         MUNOZ                       CO     90002219475
B22811A789194B   ANDREA        GAYE CHAMP                  NC     17056171078
B2281623755947   ALEJANDRO     CENDEJAS                    CA     90009386237
B228183982B941   ADRIANA       GONZALEZ                    CA     45037858398
B228186347B489   NIAJIMA       BROCKINGTON                 NC     90012798634
B228188475B396   ANTONIO       LOPEZ                       OR     90013488847
B2282255897157   TANYA         BRADFORD                    OR     90003382558
B228281A172B62   MARGARET      PROCTOR                     CO     33050168101
B2283279155927   ALFONSO       SALAZAR                     CA     49033692791
B2283541585927   TABITHA       NEWLAND                     KY     90014955415
B228357A37B489   BRISA         JUAREZ                      NC     90012585703
B228387882B857   SHANE         MARTIN                      ID     90014108788
B228462525B265   KELLY         DAVIS                       KY     68087656252
B2284826341229   MAANDEEP      SHARMA                      PA     90013968263
B228515848B337   ADA           GUTIERREZ                   SC     90001571584
B228521A585927   NICOLE        CAUDILL                     KY     90015162105
B2287475461825   LAWRENCE      PRISTON                     MO     90015444754
B228767245B265   KIRSTEN       JOHNSON                     KY     90014706724
B228777152B941   GLORIA        MENDOZA                     CA     45082517715
B22882A2936122   JOE           AGUAYO                      TX     90008202029
B2288494385927   ELIZABETH     HELTON                      KY     67027174943
B2288549293745   KATLYN        STRAIGHT                    OH     90014835492
B2289752997124   PEACE         DREYER                      OR     90015577529
B228B166291978   ANDRES        VILLRGAS                    NC     90011291662
B228B773A61998   JORGE         LEYVA                       CA     90013497730
B2291686551378   JAMEZENA      HAMPTON                     OH     90007336865
B229229652B271   JUDY          WASHINGTON                  DC     90004622965
B2294181293745   JON           BOZICK                      OH     90013841812
B2294A13A91978   MARKUS        WILLIAMS                    NC     90010300130
B2295876284373   BRANDON       MC PERSON                   SC     90010328762
B229637958B138   BRITTNY       RUST                        UT     90005813795
B22965A3491573   JULIAN        ESPINOZA                    TX     90003585034
B2298348961825   ROCHELLE      TATE                        IL     90013443489
B229844A293752   DEBRA         WHITE                       OH     90004004402
B22985A9172B62   LESLEE        ARCHULETA                   CO     90001815091
B2299496A72B69   AMELIA        TORRES                      CO     90001204960
B229B485992871   DAMIAN        OTERO                       AZ     90015044859
B229B66352B941   LAURA         GAYTAN                      CA     90010346635
B229B98A17B489   CANDACE       CANE                        NC     90005129801
B22B1669593752   CASSANDRA     DENSON LEE                  OH     90009406695
B22B226962B857   ELIZABETH     RIVAS                       ID     90012492696
B22B265857B489   JUDVERNIA     BAXTER                      NC     90004256585
B22B268145B222   WILLIAM       BLACK                       KY     68068056814
B22B2AA5172B62   JOSE          MORALES                     CO     90010000051
B22B314A672B69   DUANE         SMITH                       CO     90012261406
B22B359298433B   GRACE         RIVERA                      SC     90007835929
B22B383412B941   ABDON         NASSER                      CA     90014928341
B22B3867655947   LUPE          COTA                        CA     90010378676
B22B3A9725B396   JENNIFER      BEASLEY                     OR     90011660972
B22B4176985927   LILIAN        EDMONDS                     KY     90014711769
B22B428322B271   CHAKITA       WILSON                      DC     90007802832
B22B452675B34B   MYRNA         TAYLOR                      OR     90001235267
B22B4A99155947   HUMBERO       GARCIA                      CA     90013370991
B22B5135172B62   DOMINIC       SALAZAR                     CO     33086231351
B22B518977B489   SHANEA        MITCHELL                    NC     90013921897
B22B592A193752   JERRY         SCHLICHER                   OH     90013289201
B22B5A71597124   STEVE         SHUCK                       OR     44078320715
B22B626215B396   KIMBERLEE     WOLGAMOTT                   OR     90012012621
B22B6736455994   ANGIE         CASTILLO                    CA     90013857364
B22B677315B265   CHRISTOPHER   LEWIS                       KY     90013617731
B22B714A32B941   GIVARGIS      YOUHEUE                     CA     90006121403
B22B733752B271   GARY          BRUN                        VA     90003593375
B22B771A555927   MARLENE       MACK                        CA     90011097105
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2031 of 2350


B22B7941A72B69   RICO          EAMILAO                     CO     33016189410
B22B813777B432   BONIFACE      BOKELE                      NC     90001791377
B22B81A825B396   STACEY        BRANCH                      OR     90011661082
B22B8486576B27   DAVID         MARRTA                      CA     46033184865
B22B8818431639   JORGE         MORALES                     KS     90003648184
B22B8878993745   JON           MUNDY                       OH     90011918789
B22B944319194B   ALEXANDRIA    SMITH                       NC     90001374431
B22B9577985927   RONALD        POLLARD JR                  KY     90013045779
B22BB139A3B333   ALVAREZ       MARISSA                     CO     33087291390
B22BB279351329   ALLICIA       NELSON                      OH     66043422793
B22BB42A65B265   DOUGLAS       NICHOLS                     KY     68040954206
B22BB43A224B35   NELSON        DELEON                      VA     81050794302
B22BB5AA931688   MARIO         RAMIREZ                     KS     90001945009
B22BB643A2B857   HEATHER       HENSON                      ID     90005056430
B22BB83412B941   ABDON         NASSER                      CA     90014928341
B22BB924733635   LAURA         HOLT                        NC     90010659247
B2311737A84373   NAKIA         MITCHELL                    SC     19017447370
B231233A87B489   CATALINA      GONZALES                    NC     90014323308
B231274A17B434   RADIEK        PEACE                       NC     90010607401
B2313268297124   RYAN          VANDERZANDEN                OR     90008382682
B2314451161825   CHANDLER      FELCHLIN                    IL     90015504511
B231447AA93727   APRIL         PATE                        OH     64591284700
B231458A65B396   JOHN          TAYLOR                      OR     90003845806
B231529947B489   NIKKI         BARROW                      NC     90014512994
B2315664297124   CITLALY       LIRA GARCIA                 OR     90013226642
B231625A29182B   KODELL        NELSON                      OK     21090732502
B23167A762B857   MICHAEL       SPENCE                      ID     90014837076
B2316A9595B265   FRANK         GRIDER                      KY     68061450959
B2317199297124   ANGELINA      HOWARD                      OR     90012011992
B2319451591978   SHANTELL      SANTIAGO                    NC     90011624515
B231B68892B857   KENNETH       HOILAND                     ID     90002586889
B231B997242332   VICTORINO     MARTINEZ GONZALES           TN     90015599972
B232154A176B27   GABRIEL       MIRANDA                     CA     46010175401
B2322423171932   DAVID         KORINEK                     CO     38010144231
B2323188497124   BRANDE        BRACKEN                     OR     44010621884
B2323437491248   JASON         SMALLS                      GA     90001924374
B2325661397124   MILAGRO       SOLANO                      OR     44011966613
B2325791A93752   JEWELL        JESSUP                      OH     90014787910
B2326531897124   CHRISTOPHRE   VALENTINE                   OR     90009465318
B2326991831639   JAEL          KHRE                        KS     90012909918
B2326A37855947   LOBO          ARAGON                      CA     49088440378
B2327A11193745   JASON         RICHARDS                    OH     90001910111
B2328338172B69   APRIL         NELSON                      CO     33086973381
B2328453372B38   CATARINO      HINOJOZA                    CO     90013534533
B2328778333635   PAUL          REYES                       NC     90013957783
B2328825272B62   NIKOLE        LONG                        CO     90013268252
B2328996772B69   MARIA         GONZALEZ                    CO     90007099967
B2329181733635   AMINA         BROWN                       NC     90012021817
B232918312B857   MARK          STEELE                      ID     42090361831
B2329261355947   JENNIE        PIERCE                      CA     49061352613
B232994585B396   HEATHERLEI    WELDON                      OR     44518039458
B232B73255B265   FRED          JOHNSON                     KY     90014707325
B2331165933635   CASSIE        BRANNON                     NC     90013471659
B2331763A5B265   JENNIFER      JOHNSON                     KY     90014707630
B2332586897124   IVORY         JEAN-JOSEPH                 OR     90013555868
B2332763A5B265   JENNIFER      JOHNSON                     KY     90014707630
B2332896472B62   RUBEN         AGUERO                      CO     90011208964
B2332A53131639   JOSE          RAMIREZ                     KS     90014680531
B2332A71555947   OSVALDO       PRECIADO                    CA     90013410715
B2333279272B69   MELANIE       GONZALES                    CO     90014542792
B2333336293745   TIONNA        BATES                       OH     90015203362
B2333444291582   ERIKA         MEDINA                      TX     90008204442
B2333922131639   ANTHONY       DENARD                      KS     90013659221
B2333A18172B69   DANIEL        DELLINGER                   CO     90009850181
B2334255133635   ANA           LEON                        NC     90013762551
B23346A4293752   MARCOS        PAZ                         OH     90013696042
B233471552B857   SAMANTHA      LASARTE                     ID     90011417155
B2334782A72B69   SAMANTHA      MAES                        CO     90008367820
B23349A785B265   TIFENEE       SAUNDERS                    KY     90014729078
B2334A37A61994   DENNIS        HAGGERTY                    CA     46001810370
B2335166242332   KEDRICK       BUSH                        TN     90015461662
B23352A795B333   REBEKAH       MORENO                      OR     90006312079
B2335779397124   ECHO          BROWN                       OR     90015257793
B23358AA372B69   DABNEY        SALOME                      CO     90007098003
B2335A23955972   EDDIE         JASSO                       CA     90002020239
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2032 of 2350


B233633713B371   BERNADINE     HERNANDEZ                   CO     90012303371
B2337158133635   BERNARDO      DIAZ                        NC     18072661581
B2337582955947   VELARMINO     SANCHEZ                     CA     90014865829
B233839155B355   BECKY         BERGER                      OR     90011243915
B2338417661975   PATRICK       WALSH                       CA     46042944176
B2339176A72B69   ANTONIO       ANGEL                       CO     90013421760
B2339A8456192B   HINDS         ADEN                        CA     90007070845
B233B61257B489   HANNAH        WUBBE                       NC     90012946125
B233B75565B265   JADA          TOWNS                       KY     90014707556
B233B83152B857   JEANETTA      BUZZARD                     ID     90014818315
B2341563593745   TOMISHA       CHAMBERS                    OH     64594195635
B2341962955947   CATINA        ROMO                        CA     90013099629
B2341A66291574   CARLOS        FLORES                      TX     90011300662
B2343118597124   IVY           ENRIGHT                     OR     90013621185
B2343213498B23   ARELI         PARADA                      NC     90012102134
B2343754231639   ARACELY       BAIRD                       KS     22095217542
B2343A31333635   JENA          DUPREE                      NC     90015010313
B2344319893745   MELISSA       SAMS                        OH     90003493198
B234457245B265   DANYELL       MUNFORD                     KY     68016415724
B2344891191978   FLOR          CHAVEZ                      NC     17084198911
B2344A61224B46   TAMMY         LEE                         DC     81012220612
B2345283591978   QIANA         HENDRICKS                   NC     90011292835
B234583A32B271   AMINADAB      MESSEL                      VA     81004018303
B2346696A5B265   SHELBY        JANSING                     KY     90014716960
B234728A872B69   VICTOR        FLORES                      CO     33030142808
B23474A817B489   LAURSTINE     MARSHALL GRISSOM            NC     90014544081
B2347531897124   CHRISTOPHRE   VALENTINE                   OR     90009465318
B234777455B265   JEANNIE       CEASE                       KY     90014707745
B234931685B265   KELLI         LEVEQUE                     KY     90014643168
B2349653393745   GARY          GILBERT                     OH     64539026533
B234981365B396   JAMES         COBB                        OR     90003458136
B23499A4993752   DONNA         HAYES                       OH     90012099049
B234B692A5B265   JARD          MCCLURE                     KY     90011146920
B234BA95476B27   SILVESTRE     SALVADOR                    CA     90002680954
B235124345B265   JAMIE         HARRIS                      KY     68089582434
B235279AA2B857   MCCORD        LAURIE                      ID     42010787900
B235349628B186   JENIFFER      WILEY                       UT     90005874962
B2353722857148   DAWIT         ALAMBO                      VA     90013937228
B2354255655947   RIYADH        MUTHANNA                    CA     49094202556
B2354697387B33   JOSE          CARGAS                      AR     90014016973
B235474825B265   ANTONIO       TINO                        KY     90007957482
B235483756193B   GREG          KRICK                       CA     90006778375
B2355165933635   CASSIE        BRANNON                     NC     90013471659
B2355324185927   JERRY         SHEARER                     KY     67063463241
B2355628855947   YOLANDA       SALDANA                     CA     90011626288
B2355764476B27   JOSE          BAZA                        CA     46091887644
B235685622B857   TOMAS         ROBERTO                     ID     90010538562
B2356A89793745   JAMES         WILLIS                      OH     90010980897
B23571A3891873   RAMONA        HERNANDEZ                   OK     90012731038
B235727232B857   CLARISA       LEON                        ID     90013892723
B2357481431639   AMILLEON      JOSLIN                      KS     90007664814
B235755129194B   ROSETTA       MCCRAY                      NC     17083165512
B235814A97B443   NICOLE        GREEN                       NC     90009561409
B2358373133635   MELINDA       ROBENSON                    NC     90015203731
B235848972B857   HANNA         BRITTON                     ID     90009214897
B2358A5995B265   CHAD          RYAN                        KY     90009970599
B2359232A2B857   STEPHANIE     SCUKA                       ID     42033292320
B235978965B265   LAVONNE       COOPER                      KY     90014707896
B23599A3597124   LATASHA       MATHEWS                     OR     90011999035
B235B5A4572B62   ROBERTO       CONTRERAS                   CO     90003995045
B2361261872B62   GARY          RIMBERT                     CO     33079312618
B236133245B396   RICARDO       MEJIA                       OR     90014233324
B2362652655947   IRENE         HERNANDEZ                   CA     90011626526
B236265394B299   KATIE         RISING                      NE     90005726539
B2362995281452   KEVIN         BURROWS                     PA     90009899952
B236341522B23B   PAMULA        GLOVER                      DC     90011024152
B23637A552B857   JEFFERY       TIBBETS                     ID     90007877055
B236382A772B62   DIANE         JOHNSON                     CO     90011258207
B2363A24643576   MIKE          SCHWAB                      UT     90011810246
B236416197B34B   ANA           PINEDA                      VA     90007531619
B236428723363B   KALEE         LAURA                       NC     90005642872
B236528723363B   KALEE         LAURA                       NC     90005642872
B23656A1724B64   MARIA         VALLADARES                  VA     90008936017
B2365877693745   CLARENCE      TODD JR                     OH     64559848776
B236692812B857   ANDREA        BREWER                      ID     90014819281
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2033 of 2350


B2367279A5B265   NEAL         HANCOCK                      KY     90001252790
B236754A231639   LEO          LEONARD                      KS     90011085402
B236766592B271   RAUL         HERNANDEZ                    DC     90012546659
B2367744393764   DEZARAE      BELL                         OH     90009417443
B2367773A72B69   DUKE         MARTIN                       CO     90003737730
B2367919A24B64   LAVINA       PAYNE                        DC     90010789190
B2368183355947   JADE         BESSETTE                     CA     90014741833
B2368412797124   KARINA       GUIMENEZ                     OR     90011394127
B236868A32242B   NATASHA      WALKER                       IL     90015476803
B2369333876B5B   VICENTE      MARTINEZ                     CA     90008423338
B236993A955947   CASSIE       CASTILLO                     CA     90005739309
B2369989972B62   LOREN        JEFFRIES                     CO     90012609899
B2369A35493726   PATRICIA     HOWARD                       OH     64509690354
B236B334985927   MELINDA      BALDWIN                      KY     67022693349
B236B3A9493752   CATHERINE    JACKSON                      OH     90012283094
B236B51215598B   ROMELIA      RODRIGUEZ                    CA     90010315121
B236B8A872B857   MIGEL        VILLASENOR                   ID     90014928087
B236B92142B857   MIGEL        VILLASENOR                   ID     90014819214
B2371A95185927   BRENDA       HARRISON                     KY     90003320951
B237262482B857   SONIA        ARELLANO                     ID     90014786248
B23734A5441267   DAVID        PUCKA                        PA     51081154054
B2373985433635   TIMOTHY      MOOREFIELD                   NC     90013299854
B237425737B489   NATHAN       TURNER                       NC     11082932573
B2374583672B69   MARISSA      GOMEZ                        CO     90014795836
B237496762B857   SHANELLE     GONZALEZ                     ID     90014819676
B2375673755947   MICHELLE     HERNANDEZ                    CA     90010336737
B2375942793727   KATTIA       LANDERS                      OH     64570509427
B23759A3472B69   JOE          SMITH                        CO     90012929034
B2376325A7B489   ERICA        MENJIVAR                     NC     90013393250
B2376519697124   CAROL        THOMPSON                     OR     44034495196
B237787A62B857   JUAN         GARCIA                       ID     42030768706
B2378247733635   CAMILL       LONG                         NC     90015012477
B2378546572B62   JOE          CARRILLO                     CO     90012645465
B2378744493764   CONSTANCE    WHITE                        OH     90001437444
B2379181A84329   WILLIAM      POWELL                       SC     90009581810
B237938117B489   KIMBERLY     STIREWALT                    NC     11069143811
B237941A824B64   TASHA        PORTEE                       MD     90015424108
B237973222B271   MARTIN       SALVADOR                     DC     90012627322
B23797A712B857   ERIC         WARDLAW                      ID     42022657071
B237B25315B396   NORMA        WYLAND                       OR     90008812531
B237B28A17B489   TAYZHAH      BUSH                         NC     90014812801
B238121A151347   PAULA        DORNBUSCH                    OH     90007312101
B238124212B271   QUEEN        MONTGOMERY-JONES             DC     90012642421
B2381273231448   SHAVONNE     STARKS                       MO     90009272732
B238139A79286B   GINA         SHINSAKO                     AZ     90012713907
B2382384793752   TERESA       BURKE                        OH     64593533847
B2382477293727   CHRISTINA    SUDDETH                      OH     64535554772
B238261A32B857   TERESA       GERMAN                       ID     90002596103
B238283372B243   TIPHANIE     WILLIAMS                     DC     90004038337
B238322A772B62   MELANIE      GOMPF                        CO     90004012207
B2383683497B69   BLANCA       ONTIVEROS                    CO     90008616834
B238415215B396   BRANDOM      WATSON                       OR     44595141521
B2384652891574   ARACELI      MORALES                      TX     90009156528
B2384AA512B941   CYNTHIA      HINOJOSA                     CA     90011670051
B2385566691248   TAMMY        STONE                        GA     14586565666
B238718295B265   JENNIFER     CLARK                        KY     90009351829
B2387392671951   MARK         GREGG                        CO     90001223926
B23874A2272B69   SAMANTHA     RILES                        CO     90015124022
B238789122B941   SUELLEN      MCGOWEN                      CA     45041868912
B2387982991585   EDGAR        RODRIGUEZ                    TX     90004189829
B2388522172B62   FRANK        ELWESS                       CO     33075975221
B238892833B371   SILVIA       AVILA                        CO     33010799283
B23891A9A2B271   OCTAVIA      THOMAS                       DC     90014891090
B23892A985B535   ROSANNE      MCCASLIN                     NM     90006962098
B23898A6255947   PAULA        ALEC                         CA     49008458062
B2389A6285B396   GARY         REED                         OR     90012070628
B238B218985927   MAJEED       KARATI                       KY     90014172189
B238B437433456   LEON         HUDSON                       GA     15012124374
B238B647597124   DAVID        JONATHAN BATES               OR     44019706475
B238BA23793727   KERRA        BROWN                        OH     90009790237
B239124A133635   SABRENA      CATES                        NC     90014282401
B239139A72B271   LAHEERA      BRIDGERS                     DC     90000813907
B2391A61A93745   KEVIN        KOOGLER                      OH     90013360610
B2392247393752   PRISCILLA    REESE                        OH     90014552473
B2392319591978   CHRIS        DUNLAP                       NC     90011583195
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2034 of 2350


B2394334885927   DEMARTIS      JOHNSON                     KY     90010723348
B2394692272B62   LANGIN        MOLLET                      CO     90012156922
B23946A367B489   NITA          WILLIAMS                    NC     90012586036
B2394AA5876B27   JORGE         SANTIAGO                    CA     90005020058
B2395327393745   JODIE         GAMBILL                     OH     90013443273
B2395528785927   KIMBERLY      SWITZER                     KY     90008305287
B239596AA97124   LEE ANN       JESSE                       OR     90015109600
B2395A4785B265   CERNISHA      GRUBBS                      KY     68095480478
B23969A2693752   JESSICA       MADOENER                    OH     90013179026
B239788A885927   MICKEY        BRUNER                      KY     67085178808
B23981A812B271   MARKAS        ARRINGTON                   DC     81025541081
B2398928776B27   NANCY         CERVANTES                   CA     90011769287
B2399685385927   LATAYA        JOUETT                      KY     67024556853
B239996333363B   AKITHA        MCCANDIES                   NC     90005789633
B239BA43693745   JEFFREY       MCDARGH                     OH     90001440436
B239BA59185927   MICHELLE      WASHINGTON                  KY     90005990591
B23B151A42B941   LOPEZ         ESPINO                      CA     45099195104
B23B2444172B69   DAVID         MARTINEZ                    CO     33082264441
B23B347625B531   EDGAR         GALLARDO                    NM     90007474762
B23B3861A93745   ANDY          ESTES                       OH     90006238610
B23B3986372B49   DIANE         GARCIA                      CO     33053929863
B23B3A7685B265   ANGELA        MINOR                       KY     68060320768
B23B4569593727   BRITTANY      MITCHELL                    OH     90013745695
B23B563495B265   KRISTY        POLLOCK                     KY     90014716349
B23B5791993752   RAYMOND       KYLE                        OH     90014787919
B23B5847493745   EDMUND        LEWIS                       OH     90009598474
B23B5986772B62   MARIANA       MEJIA                       OK     90002289867
B23B6191A92831   JOSE          ANDRADE                     AZ     90015121910
B23B656875B265   EDWARD        BRYANT                      KY     68015185687
B23B7364793745   NICOLE        SOLES                       OH     90012903647
B23B74A675B265   JOHNETTA      VERNER                      KY     90003874067
B23B81A3793745   SAMANTHA      RIDDLE                      OH     90014811037
B23B8228393727   RAY           TOWNSEND                    OH     90010912283
B23B833882B941   ELVIA         GALVAN                      CA     90015223388
B23B92A8633635   MAYRA         CCALDERON                   NC     18074052086
B23B9377391248   RAUL          ARIAS                       GA     14596383773
B23B99A852B271   CESAR         VALDEZ                      DC     90015169085
B23BB915333635   SHANESE       MCGEE                       NC     90013369153
B23BB996161924   ALICIA        LUEVANO                     CA     90008109961
B2411292355972   CHRISTOPHER   REYNA                       CA     90004602923
B2411713733635   EVELIA        ROBLES                      NC     90015277137
B2411775631688   GERALD        PORRORFF                    KS     90008227756
B241231AA5B265   SHENEKA       STARNES                     KY     90010293100
B241255177B877   JESSICA       DONICA                      IL     90015365517
B2412693133635   TREASURE      HOPPER                      NC     90014356931
B2413466561825   PAYGO         IVR ACTIVATION              IL     90008854665
B2413626A72B62   OLGA          DELFIN                      CO     90002816260
B241375AA72B35   ABEL          PALMA                       CO     90011247500
B2413A24176B27   SERGIO        UGALDE                      CA     46088380241
B2414283533635   IRMA          LOPEZCARRANZA               NC     90014482835
B241459675B396   JOSSIE        JOHNSON                     OR     44517005967
B2414778A5B265   MARY          RAGGS                       KY     90014717780
B241492744B521   SHARON        CAMBELL                     OK     90015079274
B2415441472B3B   CESAR         EGOAVIL                     CO     90011624414
B2416216685927   DYER          KASAKOFF                    KY     90014152166
B2416979993746   ADAM          BYERS                       OH     90010729799
B2417375972B69   NESTOR        ROMO                        CO     90013173759
B2417499785927   ALFREDO       BENITEZ                     KY     90014924997
B2417722585927   MANUEL        DIAZ                        KY     90012387225
B2417999697124   TIMOTHY       BREWTER                     OR     90010289996
B2419255376B27   RONI          TAYLOR                      CA     46076492553
B241B22142B271   ELISE         JOHNSON                     DC     90013302214
B242125A355947   RAQUEL        CALVILLO                    CA     90014712503
B242161A751326   ERIK          WOOLFORK                    OH     90013006107
B2421671133635   BRITTANY      COBLE                       NC     90014486711
B242195617B489   IESHA         WHITE                       NC     90012199561
B24219A5257133   LEE           RICKS                       VA     90001639052
B242256A231639   KARISA        HERREN                      KS     90013095602
B242279845B265   ALEJANDRO     LOPEZ                       KY     90014717984
B242312A151326   DEMITRIOUS    PITTMAN                     OH     90008251201
B2423187357133   VICTOR        TORRES                      VA     81026741873
B2423993872B69   LYDIA         WEEKES                      CO     33036959938
B2423A15391973   JOE           HOPKINS                     NC     90012280153
B2423A99993752   REGINA        BUCHANAN                    OH     90010700999
B2424184333635   JORDAN        CRISP                       NC     90014821843
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2035 of 2350


B2424513A93727   LOIS           DIXON                      OH     64511825130
B2424569593764   DANNY          WATTS                      OH     90006775695
B242496172B271   SHELVEY        JOHNSON                    DC     81039919617
B2425456697124   EDUARDO        GONZALEZ                   OR     90008424566
B2426752572B69   SABRINA        MARTINEZ                   CO     90005907525
B242681265B265   NATHAN         HAYDON                     KY     90014718126
B2426871A93752   KIMBERLY       HETZEL                     OH     64594188710
B2427546A92871   KATIE          PRILL                      AZ     90015365460
B2428321485927   WARREN         HATTON                     KY     90013973214
B2428957593745   AMBER          DAY                        OH     90006779575
B24291A2676B27   YARELI         VASQUEZ                    CA     90014671026
B242948738B192   LANA           K EZELL                    UT     90008404873
B242987282B857   BROOKE         SPENCE                     ID     90014838728
B242B822833635   GRABRICCA      ANZORA                     NC     90012938228
B242B99622B857   MARY           PIPER                      ID     42051929962
B2431216355947   CHEE           YANG                       CA     49000802163
B2432361685927   RONALD         MARTIN                     KY     90013373616
B2432442893727   LATRENA        HERSEY                     OH     90012944428
B243248755B396   MELISSA        MCKENZIE                   OR     90001594875
B2432766272B62   ADRIENNE       KNIGHT                     CO     90011007662
B2433A11655972   MARIA          SALAZAR                    CA     49037860116
B2434344293727   TRACY          CAYLOR                     OH     90009503442
B2434472193745   JUDY           SCOTT                      OH     90009834721
B24349A422B941   ZUGEL          CHAVEZ                     CA     90011869042
B24349A8955947   FREDDY         LOPEZ                      CA     90011909089
B243527A19286B   PERLA          FAVLA                      AZ     90014212701
B24356A945B396   ZACHARY        DEPUE                      OR     90014616094
B2436317133635   PHELECIA       ODIMA                      NC     90012893171
B24363A635B265   LEANN          PHEPLS                     KY     90014713063
B2436A51A33456   CHARLETTE      ROGERS                     GA     90009260510
B2437544785927   GLEN           MAGNESS                    KY     90012535447
B24378A2855947   WHITNEY        GREEN                      CA     90015118028
B2437A18A2B825   STEVEN         SNOW                       ID     90009330180
B2438158797124   JESSICA        CARR                       OR     44087401587
B2438317693727   TISHA          FAULKNER                   OH     90007323176
B2438834472B69   DIANA          JUAREZ                     CO     90010388344
B2438AA4A5B541   PEARL          MARQUEZ                    NM     35015700040
B2439714193727   DARRELL        SMITH                      OH     64515527141
B243B667297124   BELSER         RICHARD DALE               OR     90011316672
B2441326671921   CYNTHIA        JOHNSON                    CO     90012243266
B244182665B25B   TAYA           BARBER                     KY     90009418266
B2442377751326   RODNEY         FRYE                       OH     66003413777
B2443337593752   TIMOTHY        NICKELL                    OH     90009043375
B24434AAA24B3B   SHERIL         SPIVEY                     DC     90011654000
B2443732455947   RODGER         RAMIREZ                    CA     90013717324
B244394542B857   GUALALUPE      GARCIA-ANGELES             ID     42070919454
B2444412533635   CHRIS          SMITH                      NC     90013224125
B2444541593745   KELSEY         HAAS                       OH     90012895415
B244496395B265   CHARLENE       ALLEN                      KY     90001879639
B244523246618B   JESSICA        DUENAS                     CA     90013792324
B244572772164B   ARIANA         DEICHLER                   OH     90013837277
B244578559713B   YASMINE        CASTELLANO                 OR     90012727855
B2445932884373   MICHELLE       THOMPSOM                   SC     90012429328
B244642362B857   MERCEDES       VALLEJO                    ID     90009944236
B2446558764121   LUIS ENRIQUE   TORRES HERRERA             IA     90015425587
B2446A6112B251   DEIDRA         FAIR JAMES                 DC     90010830611
B244884A25B265   JOHNATHAN      PETTERS                    KY     90014718402
B244939A55B396   COLLEEN        HILL                       OR     44500843905
B244962447B489   ANDREW         TAMPER                     NC     90012436244
B245155A591563   ELIZABETH      ROJO                       TX     75072475505
B245184A67B489   IVY            MADISON                    NC     90013728406
B245262A993745   AMANDA         FROST                      OH     64592266209
B2452746781681   FRANSICO       RINCON                     MO     90012437467
B245285385B265   TRISTAN        GASTON                     KY     90014718538
B245298115B396   CURTIS         TOOLEY                     OR     90009739811
B24533A3872B62   SOCORRO        AGUILAR                    CO     33010973038
B2453541593727   SUSAN          DEARTH                     OH     64527725415
B245384A524B64   SANDRA         MORALES                    DC     90013698405
B2454233A97124   TERESO         LOPEZ                      OR     90014992330
B2454739831688   CASEY          GRUNDEN                    KS     22011117398
B2454782876B27   MARIA          AGUAS                      CA     90011787828
B24551A155B265   QUANITA        CAMPBELL                   KY     90010361015
B24551A569194B   LEWIS          HOLLOWAY                   NC     17083551056
B2455746893745   CHRISTOPHER    DONOHOE                    OH     90015577468
B2455781391978   MONICA         MUNGUIA                    NC     90007087813
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2036 of 2350


B2455795391524   TERESA           SAAVEDRA                 TX     75051357953
B245594A22B857   LISA             BONDS                    ID     90014869402
B2455952724B3B   RUFFIN           KAMIANTAKO               KY     90013019527
B2455A59693727   ELIUD            OWINO                    OH     64571680596
B245627A993752   KELSIE           SACRA                    OH     90011392709
B245691255B231   BRENDA           BUCKNER                  KY     90011199125
B2457674133635   MANDIE           HUGHES                   NC     90014656741
B245785463B399   SHANITA          TRUJILLO                 CO     33098668546
B2457895933635   EDUARDO          LOPEZ ALEMAN             NC     90013318959
B2458264172B62   ANTHONY          COLLINS                  CO     90010902641
B2458993631639   MAGDALENA        LARIOS                   KS     90011989936
B2459168791978   GABRIELA         RENTERIA                 NC     17066931687
B245B11495B265   STEVEN           SINGLETON                KY     90014751149
B245B156493764   JACQUAN          GIVENS                   OH     90010211564
B245B38A385927   FISTON           OLENGA                   KY     90012523803
B245B836976B27   ISRAEL           ALEJO                    CA     90000918369
B2461344293727   TRACY            CAYLOR                   OH     90009503442
B2461739655947   SONJA            HENDRIX                  CA     90006447396
B2462258533635   RAFAEL           RAMIREZ                  NC     90014152585
B2462421293745   STEVEN           HAWK                     OH     90014374212
B2462623393752   BETHANY          WARE                     OH     64592596233
B246334622B857   MISTY            MOODY                    ID     90004193462
B246356597B443   AGUSTIN          ROJAS                    NC     11077495659
B2464142851339   KENYATTA         GIBSON                   OH     66006971428
B2464456697124   EDUARDO          GONZALEZ                 OR     90008424566
B24644A2372B22   LE'CRETIA        JOHNSON                  CO     33055714023
B2464573285927   TAKIA            KING PULLUMS             KY     90013605732
B246545925B396   ESTERA           MAGDA                    OR     90015144592
B2465568A51355   MARK             SIEMER                   OH     90007725680
B2466639172B62   MARIA            MORALES                  CO     33060536391
B2466649291585   IVAN             DE LA RIVA               TX     90005236492
B2466A36493745   JOHN             ADAMS                    OH     64547650364
B2467252172B62   MARINA           ARCHULETA                CO     90013622521
B2467271555972   CHEE             HER                      CA     49025812715
B2467462233635   JEDCIA           GRANTHAM                 NC     90014114622
B24674A668B141   CARLOS ROBERTO   NUFIO                    UT     90003864066
B246752687B443   ANDRE            JONES                    NC     11059675268
B2467791355947   MARTIN           GOMEZ                    CA     90013067913
B246873A655947   ESTHER           BLANCO                   CA     90011777306
B246891655B265   AMANDA           LUCAS                    KY     90014719165
B2468948893727   DANTE            DUNLAP                   OH     90012349488
B2468A72397124   FABIOLA          SANCHEZ                  OR     90007540723
B24694AA45B265   KAYSHELLE        THOMAS                   KY     90011134004
B2469948372B69   RAE              WINKLER                  CO     33091689483
B246B443833635   LACEY            RAMIREZ RIVERA           NC     90013564438
B246B962293752   BRAD             GABBARD                  OH     90000639622
B247141618432B   JUAN             CARLOS                   SC     90011154161
B247185142B941   LILI             CABRALES                 CA     90012138514
B2472185572B62   SURELY           PINZON                   CO     33040251855
B24725A9433635   JASMINE          PAYLOR                   NC     90011095094
B2472625691978   EDITH            HARRIS                   NC     90008556256
B2472871393745   LISA             COTRELL                  OH     90014128713
B247292777B443   WILLIAM          BASTIDAS                 NC     11035469277
B247322857B443   DIANA            KOOSER                   NC     90001262285
B2473678784373   JAKE             RODGERS                  SC     90005776787
B247391725593B   ROBERT           VAUGHN                   CA     48016429172
B2473A96785927   TABITHA LYNN     ELLIS                    KY     90010190967
B247495532162B   VIVAN            CAMPBELL                 OH     90015159553
B2474984A97124   ROSA PATRICIA    VENEGAS                  OR     90013049840
B247622857B443   DIANA            KOOSER                   NC     90001262285
B2476583433635   JONATHAN         MEBANE                   NC     90014755834
B2476786384373   KAMAL            PATEL                    SC     90004427863
B2476819161994   TOM              GONZALES                 CA     46002038191
B247696395B265   CONTRELLA        PILOT                    KY     90008149639
B2477917293727   JAMES            WINCHESTER               OH     90008739172
B2478135133635   RAUL             CRUZ                     NC     90009161351
B247842A35B396   GILBERTO         MEJIA                    OR     44555974203
B2478466431639   TONY             SNOW                     KS     90001004664
B2479135472B62   JAMISA           LONG                     CO     33027481354
B2479948697124   MARIA            HERRERA                  OR     44051199486
B2479A25193745   ZACH             CLOUSE                   OH     90015210251
B2479AA5585927   GERARDO          ROSALES                  KY     90008040055
B247B187842332   SHANNON          RESHERD                  TN     90015591878
B247B238593752   JORDAN           BRANDON                  OH     90011052385
B24813A9172B62   JORGE            JIMENEZ                  CO     33057473091
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2037 of 2350


B248237A733635   BRIAN         GAUDINO                     NC     18041123707
B2482558A72B62   CESAR         GARCILAZO                   CO     90010815580
B248283A797124   LEON          MARCEL                      OR     90013318307
B248383913B352   SARAHU        SILOS                       CO     90008568391
B248392475B265   MADONNA       SULLIVAN                    KY     68011649247
B2483A2649194B   STEPHANIE     TOMLINSON                   NC     90003870264
B24841A3793745   SAMANTHA      RIDDLE                      OH     90014811037
B248433585B396   KARIN         KEITA                       OR     44509903358
B2484793455947   JESUS         ARIZAGA BERBER              CA     90013067934
B248493325B265   DONETA        DENNIS                      KY     90014719332
B2484959755947   FLOWER        VANG                        CA     90009209597
B2484AA7293752   DEDRID        JOHNSON                     OH     90013800072
B248532448B191   CHRISTOPHER   GROVER                      UT     90010583244
B2485327472B62   MELINA        ZOUNIS                      CO     90010283274
B2485761793745   REBECCA       WAGNER                      OH     90009977617
B2487484A2B857   MARY          ALICE                       OR     42067224840
B24882A1193727   DANIEL        DEVER                       OH     90007222011
B24883AA37B489   MOHAMED       HAJIBANA                    NC     11050883003
B2488485893745   LYDIA         LEMASTER                    OH     64509184858
B248977178B139   SARA          UKENA                       UT     31017547717
B248B165455993   ROSALBA       DIAZ                        CA     90012271654
B249158757B489   CAROLINA      MEDINA                      NC     11042425875
B249194632B857   ARNIE         MAES                        ID     90014869463
B2492565472B69   ANAIS         QUINONEZ                    CO     90005135654
B2492643757444   PAYGO         IVR ACTIVATION              IN     90012786437
B2493527455936   CHRISTELLE    CORTEZ                      CA     90014705274
B2493783172B62   JOSEPH        BARTOSH                     CO     33018997831
B2493A3A35B396   KAREN         SARGEANT                    OR     90003860303
B2494365941258   ARIANNA       ROSEMOND                    PA     51040633659
B249466435B396   ROBERT        JOHNSON                     OR     90008446643
B2494969297124   KRISTEN       SATTELBERG                  OR     90010179692
B249594165B265   SHAWN         HERALD                      KY     90014719416
B24962A213363B   JOSE          GALLEGOS                    NC     90006492021
B2496A11693745   LINDSEY       CRAWFORD                    OH     90013890116
B249716442B271   JULIO         BENDANA                     DC     90010471644
B2497418285927   CHRISTOPHER   JONES                       KY     90010804182
B2497542A55972   LIZBETH       PEREZ                       CA     90013315420
B249766A397124   LINDA         FLINT                       OR     90010826603
B2497686293752   MATTHEW       CARICO                      OH     90011706862
B2499385676B27   REYNA         MONTIEL                     CA     46065733856
B2499394A2B857   ANNALEN       HAUSER                      ID     90003093940
B249B442793752   CYNTHIA       GIBSON                      OH     64583024427
B249B674585927   STACY         CUTWRIGHT                   KY     90007886745
B249B84942B22B   BARBARA       EVANS                       DC     90001128494
B249B899793727   BRENDA        RHODES                      OH     90015198997
B24B1914197124   CARISSA       BUOL                        OR     44058299141
B24B191645B265   CAROLYN       PARKER                      KY     90014729164
B24B2253355972   SOUA          LEE                         CA     90002612533
B24B245932B857   VIKKI         MCNEIL                      ID     90005444593
B24B285335B396   MELEAH        MILLER                      OR     44573208533
B24B3156293752   JEFF          WILSON                      OH     90013721562
B24B315772B271   PROKOSHIA     LONG                        DC     90013341577
B24B3462785927   CHRISTOPHER   LESTER                      KY     90006094627
B24B372895B265   MEDGAR        WALKER                      KY     90014717289
B24B4259533635   FREDDY        MENJIVAR                    NC     90014912595
B24B4282997124   FRANCISCO     TREJO                       OR     90008312829
B24B4328755947   SENG          XIONG                       CA     90012563287
B24B4339393752   SHARON        WILLIAMSON                  OH     64575753393
B24B4521692871   JACOB         HYSELL                      AZ     90015295216
B24B46A4A5B265   IRMA          RAMIREZ                     KY     68095646040
B24B4976A2B857   SCHATTON      MOONEY                      ID     90010539760
B24B564A25B396   BRADLEY       ALDERMAN                    OR     90015306402
B24B567237B489   JESSICA       ZUEGE                       NC     90009916723
B24B592A193752   JERRY         SCHLICHER                   OH     90013289201
B24B5973172B62   LUIS          RODRIGUEZ                   CO     33058069731
B24B5A7A18B158   ZULMA         GALVAN                      UT     31089890701
B24B6753593783   BRIAN         LONG                        OH     90013637535
B24B7479393727   EARL          DAVIS                       OH     64591834793
B24B8166893745   ANTONIO       JOHNSON                     OH     90015561668
B24B8548372B69   TIFFANY       GRANT                       CO     33077005483
B24B8746876B27   JOVANI        MARTINEZ                    CA     90011777468
B24BB515861975   JOSHUA        MCGUIRE                     CA     46046005158
B24BBA74855947   VERNA         LOPEZ                       CA     49082380748
B251145722B271   CHRISTOPHER   LOVE                        DC     90010294572
B25117AA491585   CLAUDIA       DE LEON                     TX     90010137004
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2038 of 2350


B25121A4933635   NICOLE           ALSTON                   NC     18014011049
B2512692155947   YESENIA          RENTERIA                 CA     90015156921
B2512838931639   MICHEAL          SAMPSON                  KS     90009578389
B2513529593727   QUENTIN          DECEMBLY                 OH     90013755295
B2513866997B42   KASI             GARCIA                   CO     33017768669
B251437322B271   REGINA           COATES                   DC     90013193732
B251523112B857   TAMMIE           COREA                    ID     90005782311
B25155AA493745   ASHLEE           HILL                     OH     64528015004
B251569635B396   PRESTON          BRAND                    OR     44563686963
B2516624857444   ROSARIO          LOPEZ                    IN     90015526248
B2516929272457   BOBBY            BROWNFIELD               PA     90013499292
B2516A12A93764   JONATHAN         STRONG                   OH     90011580120
B251752667B489   MAURICE          HEATH                    NC     90014855266
B251829365B265   CHRISTINA        WEIGER                   KY     90014082936
B2518674A5B548   KEVIN            GEARY                    NM     90011156740
B2518718A5B396   KANDI            BALLEW                   OR     44526947180
B2518898333635   EBONY            STADLER                  NC     90003038983
B251913415B396   JANIS            RUBIO                    OR     44584901341
B2519238585927   SHARNIKA         JOHNSON                  KY     90013062385
B2519515A93745   NASHAE           BYRD                     OH     90013045150
B251B151693752   FRANK            BRANDT                   OH     90014011516
B251B27947B489   MARIA            JAIME                    NC     90014112794
B251B78A772B69   MARIA            GUTIERREZ                CO     33018117807
B251BA94393745   LAROSA           TURNER                   OH     90010980943
B25218A4285927   ANORA            MORTON                   KY     90007888042
B25219A3191972   CHYNA            ROBERTS                  NC     90012429031
B2522154893745   JENNIFER         MENDOZA                  OH     90000561548
B2522263631688   SULEMA           ARELLANO                 KS     90007922636
B252236925B265   SAMANTHA         CARNAHAN                 KY     90013413692
B2522593355935   JAMES            CORNELIUS                CA     48083815933
B2522A25A2B857   MICHELLE         SCOTT                    ID     90014870250
B2523A11A2B857   RAYMUNDO         HERNANDEZ                ID     90013890110
B2523A8517B489   IRENE            GOLLEGOS                 NC     90013820851
B2524425831688   JAVANITA         PONDER                   KS     22045804258
B2524791493745   TERRY            WAUGH                    OH     64522357914
B2524A6982B857   TANYA            TUTTLE                   ID     90014870698
B2525248472B69   MICHAEL          SERRANO                  CO     33098682484
B2525354591978   LARRY            ALSTON                   NC     90010383545
B2525367A93752   CARRIE           MARTIN                   OH     90014533670
B2525712855972   AMANDA           PALOMARES                CA     49038547128
B2525794893727   KAREN            POWELL                   OH     90011177948
B2525848433635   ANDRI            MURRITA                  NC     90013928484
B252611245B535   BRIAN            HAVENS                   NM     35064201124
B2526844155947   MAYSEE           YANG                     CA     90001528441
B252747192B271   LAKENYA          TWITTY                   DC     90005854719
B2527528472B62   JORGE            ANDRADE                  CO     90012665284
B2527689A33635   CAMERON          HUGHES                   NC     90014656890
B2527A4965B265   ADAM AND KAYSI   KERR                     KY     90014720496
B252842A35B396   GILBERTO         MEJIA                    OR     44555974203
B2528A3875B265   THERESA          RANDOLPH                 KY     90001620387
B252954412B857   CHARMAINE F      SKAGGS                   ID     90010345441
B2529623524B3B   CARLOS           ROBLES                   VA     81046216235
B252967117B489   RON              STEWART                  NC     90012986711
B252B188593745   CHRISTOPHER      GILBERT                  OH     90010881885
B252BA7622B271   JAMES            KYLE                     DC     90011340762
B253172145133B   ALAZAR           BERHE                    OH     90013087214
B253196A161941   ISAIAS           MC GRANN                 CA     90011109601
B25324A1472B69   AMBER            BORREGO                  CO     90011234014
B2532621384373   DERRICK          PERRY                    SC     19015526213
B2532A4965B265   ADAM AND KAYSI   KERR                     KY     90014720496
B253331839194B   EDWARD           MARTINEZ                 NC     17014183183
B2533423193727   JASON            DURHAM                   OH     64597654231
B253346A35B265   COREY            BLANKEN                  KY     90007724603
B25335A525B396   EVE              DORNER                   OR     90005915052
B2533689A7B489   JESSICA          DRAYTON                  NC     90013176890
B253384A52B857   ASHLEE           HORTON                   ID     42078128405
B2535194633635   DRO              DAVIS                    NC     90015131946
B2535959397124   GABRIEL          AMBRIZ                   OR     90012369593
B25377A5885927   LETRACI          BRADLEY                  KY     90005947058
B2538A6982B857   TANYA            TUTTLE                   ID     90014870698
B253956222B271   TARSHA           WILLIAMS                 DC     81007985622
B2539914A93745   MATT             WOLFE                    OH     90008499140
B253999AA93727   JESSIE           SHAWDAWGED               OH     64563389900
B253B33A65B396   NICHOLE          MARSDEN                  OR     44564153306
B253B527697124   ANDREA           FORSYTH                  OR     90011125276
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2039 of 2350


B253BA64124B64   ANGELA       HAYESWORTH                   DC     81014930641
B254132992B271   JOY          HERBERT                      DC     90011363299
B2541A41493727   COTRICEE     WRIGHT                       OH     90002220414
B2541A6982B857   TANYA        TUTTLE                       ID     90014870698
B2542277572B69   CLAUDIA      ARMENDARIZ                   CO     90005382775
B2542A5185B396   DON          OLLERTON                     OR     44585570518
B2543516391952   ANNA         MORA                         NC     90007775163
B2543632297124   JOANNE       MIRANDA                      OR     90010936322
B2544114343583   JOHN         TERRY                        UT     31008491143
B25441A3855947   GENESIS      FONSECA                      CA     90012481038
B2544A61A7B489   VERNYLISSA   MCLEAN                       NC     90003340610
B2545117785927   JESSICA      BARNES                       KY     90012551177
B254512115B265   DANIEL       HERRERA                      KY     90014721211
B2545852731688   RACHELLE     KLINE                        KS     22068478527
B2547191933635   DAVID        FOLLY                        NC     90015081919
B2547212976B27   CHILTON      MAHIN                        CA     46022322129
B2547531733635   JUAN         CORONA                       NC     90013695317
B254756412B271   JAMAL        WOODS                        DC     90001705641
B2547618955947   CLAUDIA      RANHEL                       CA     49012776189
B2547656924B64   URSULA       DAVIS                        DC     90010386569
B2547774893745   JEANNIE      GAYTS                        OH     90009537748
B254867618B337   DAWN         JACOB                        SC     90012556761
B2548825231639   KHAMPHAN     BENH                         KS     90012508252
B254935788B123   SUSAN        GONZALES                     UT     90002663578
B25495A6393764   ALISON       WRIGHT                       OH     64592625063
B254B463185927   KIM          WAINSCOTT                    KY     90011364631
B2551AA4A72B62   ASHLEY       RODRIGUEZ                    CO     90014570040
B2552169293727   AMY          RION                         OH     90014851692
B2552973755947   MILTON B.    MCDOWELL                     CA     49044689737
B2552A7652B857   ANGEL        RODRIGUEZ                    ID     90014870765
B255345985B396   SABRINA      JACKSON                      OR     90011294598
B2553624876B27   RICARDO      VASQUEZ                      CA     46052036248
B25536A3393745   DEREK        KIBBE                        OH     90003786033
B2553A7662B857   RAY          HENSON                       ID     90014870766
B2554453876B73   MIRJANA      RACIC                        CA     90004424538
B255482627B489   TABITHA      CAMPBELL                     NC     90005378262
B25565A2A4B582   RODERICK     LEWIS                        OK     90002605020
B2556647293745   YOLANDA      SIMS                         OH     64575516472
B2557691585927   ENREQUE      RUIZ                         KY     67046326915
B255769167B489   CLIFTON      MASSEY                       NC     11086666916
B25576A254B256   REBECCA      MCKESSAN                     NE     26000016025
B2557A32341243   STEPHEN      SOROCHMAN                    PA     90011820323
B2558116931639   ANDRES       BONELLA                      KS     90011501169
B255837A233635   ARMANDO      JIMENEZ                      NC     90014813702
B2559762A7B34B   TONY         REYES                        VA     90007287620
B255B23517B489   DANQUIRS     FRANKLIN                     NC     11010812351
B255B25885B569   KELLY        MILLER                       NM     90012232588
B255B288755927   CRAIG        PADILLA                      CA     90011282887
B2561528572B62   MEAGAN       HOLLEY                       CO     90005565285
B256199835B265   REBECCA      JOHNS                        KY     90014479983
B2562261384373   CARLOS       RAMOS                        SC     19015882613
B2562897185927   SANDRA       DAVIS                        KY     67061028971
B2563661572B62   BRUCE        BRODSKO                      CO     33082526615
B2564215193727   RONNESE      WESSON                       OH     90013702151
B2564881176B27   ARTURO       MORALES                      CA     46070978811
B2564967997124   JUSTEN       HILL                         OR     90015119679
B25649A162B857   ERNESTO      MORALES                      ID     42098899016
B256513695B396   MARK         MCGRAW                       OR     44557661369
B256578933B399   KIMBERLY     SIMPSON                      CO     90004677893
B2566556193745   TASHA        ALNIMRI                      OH     90013535561
B25678A5493727   JASON        SPONAUGLE                    OH     90002498054
B256829939286B   EZEQUIEL     CASTRUITA                    AZ     90015402993
B2568934557133   CHISTIAN     LOPEZ                        VA     90000799345
B256937872B857   ANA          OROZCO-LUNA                  ID     42083603787
B2569415631688   GRISELDA     VELAZQUEZ                    KS     22077694156
B256962A293752   MARY         CARTER                       OH     90014986202
B2569976A72B69   ESTEBAN      VALENZO                      CO     90013429760
B257187349713B   JUAN         REGINO                       OR     90007468734
B2571927554151   JASON        LAMBERT                      OR     90011769275
B2571A6427B489   YHON         BEY                          NC     90006050642
B257232969194B   TERESA       LOPEZ                        NC     90009833296
B2572918397124   NICKOLAUS    OUTHOUSE                     OR     90012549183
B25738A4433635   JESSICA      COLEMAN                      NC     90000278044
B25742A1724B3B   ANDREW       WEVER                        VA     90011682017
B25742AA555947   VICTORIANO   FELIX                        CA     90014912005
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2040 of 2350


B2574563661825   KALEB        DUNBAR                       IL     90015445636
B2574694972B62   SHERRY       MARTINEZ                     CO     33097776949
B257482A372B69   JOLEEN       MARES                        CO     90011178203
B2575237A72B69   DEZZERAE     VIGIL                        CO     90010222370
B2575457131639   TAMARA       JOHNSTON                     KS     22016364571
B2576171161994   KARINA       CARVAHAL                     CA     46022511711
B257634AA57444   ANGEL        YOUNG                        IN     90013333400
B2577732793727   ROYCE        MAYS                         OH     90006127327
B2577883993752   JOVON        ROBINSON                     OH     90013648839
B2578467772B62   JELEIGHNA    KILLETT                      CO     90011074677
B25789A1476B27   ROSEMARY     AMBRIZ                       CA     90003119014
B2578A7AA8B38B   LESLIE       JARVIS                       SC     90010510700
B257B22558165B   ANNY         TOUSSEAU                     KS     90001762255
B257B46A65B265   JAKYEONG     SANTIAGO                     KY     90000254606
B25813A6277324   RUBY         GARCIA                       IL     20586703062
B2581453155972   KARMINA      SALCEDO                      CA     90001774531
B258199439194B   LUIS         MARTINEZ                     NC     90006449943
B258266472B857   ROBERT       AYRES                        ID     90011036647
B258329152B271   AARON        CHERRY                       DC     90012912915
B2583926855947   DAVID        ALVAREZ                      CA     90004389268
B2584264493745   ANDILENA     LONGBRAKE                    OH     90014812644
B2584467191978   BREIDA       SANCHEZ                      NC     90001354671
B2584788197124   LORI         MORRIS                       OR     90009417881
B2585549193752   CECILIA      MILLERTON                    OH     90006855491
B2585949872B69   ERICA        RAMIREZ                      CO     90001679498
B258617757B489   CARLOS       VENZELOWU                    NC     90013601775
B2586675942332   JOE          MCKEE                        TN     90013516759
B2587156793745   SHERYL       BLESSING                     OH     64522881567
B258781A897124   VANESSA      WHITE                        OR     90013698108
B258794293363B   HECTOR       PEREZ COUTO                  NC     90007229429
B258948A79194B   TRACY        TOOMER                       NC     17004724807
B258956A885927   ASHLEE       TARRENCE                     KY     90015155608
B258961167B489   JOSE         OCHOA                        NC     11082726116
B2589A2A255947   TRACY        SAHAGUN                      CA     49001360202
B258B671A72B69   THIARA       CAMBELL                      CO     90012716710
B25915A3A72B62   DAVID        PERREAULT                    CO     90015095030
B25918A412B844   ADAM         SISNEROZ                     ID     90010058041
B2592546193745   NOEL         PEREZ                        OH     90014515461
B2592AA425B265   JOHN         DOE                          KY     90014730042
B259364662B271   JOY          GILLISPIE                    DC     90012796466
B2594442893727   JAKITA       BROWN                        OH     90002054428
B259493352B271   BRIAN        READ                         DC     90015169335
B2594AA822B857   WILLIAM      OCONNER                      ID     90014880082
B2595A96655947   ALFREDO      GARCIA                       CA     90008240966
B259656899194B   ANGEL        WILLIAMS                     NC     17098515689
B259739735B562   RICARDO      JARAMILLO                    NM     90013423973
B25985A225B265   LYNNESE      BOWMAN                       KY     90011135022
B259866132B857   GREG         CHATOIAN                     ID     90006156613
B2598A3A75B265   ALEVORATO    ADAMS                        KY     90014730307
B2599155A5B342   JASON        STONE                        OR     90005491550
B259915A185927   PAUL         HELMBURG II                  KY     67096471501
B259929177B489   STEVIE       MASSEY                       NC     90014812917
B2599494631639   MATTHEW      WIREY                        KS     90011524946
B259B19717B489   CLOUDE       NOTTINGHAM                   NC     90014171971
B259B295593752   JHAMARI      SMITH-BRYANT                 OH     90014852955
B259B327593764   PAULA        SENNER                       OH     90007003275
B259B614493727   MIKE         AKEMON                       OH     64514146144
B259BAA265B265   DONNA        NORFLEET                     KY     90014730026
B25B1426533635   CHARLIE      SCOTT                        NC     90014864265
B25B1663493727   VERONICA     CHIPIEZ                      OH     90014576634
B25B1722733635   JOHNNIE      JORDAN                       NC     90013937227
B25B2271572B62   JULIANNA     LARSON                       CO     33053032715
B25B2679355927   SILVIA       CAZARES                      CA     90014566793
B25B2A1599194B   ACHAH        MITCHELL                     NC     90004370159
B25B3828A85927   DESSIE       SWITZER                      KY     90011438280
B25B3A5A27B443   ZULEMA       CARCAMO                      NC     11064320502
B25B4A96A5B396   BOBBY        HOARD                        OR     90013840960
B25B513742B88B   HUMBERTO     TORRES                       ID     90015071374
B25B51A262B271   WILLIAM      GARDNER                      DC     90013811026
B25B5495555947   CAROLINA     LOPEZ                        CA     49092414955
B25B6174755992   GLORIA       DURAN                        CA     48091591747
B25B6323972B3B   VUE          BER                          CO     90013013239
B25B697595B265   PHILLIP      WADE                         KY     90014719759
B25B758282B941   PHILIP       HERNANDEZ                    CA     45069075828
B25B75AAA93727   DANIELLE     KEITH                        OH     64590575000
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2041 of 2350


B25B7927955947   LUIS             HUERTA                   CA     49000709279
B25B8742197124   BROOKE           MULL                     OR     90013977421
B25B874739194B   APRIL            PENNY                    NC     90003257473
B25B8996924B55   ANGELA           DIAZ RIVERA              MD     90014029969
B25B8A51185927   LARRY            MOORE                    KY     90006150511
B25B927A97B443   JOEL             HINSON                   NC     11049792709
B25BB139693745   JAMES            WASHINGTON               OH     90013131396
B25BB7A9772B69   ANTHONY          RIOS                     CO     33068577097
B25BB86A893752   JEFFRERY         HEDGES                   OH     64573248608
B26111A4131639   JOSHUA           BOWLER                   KS     22074711041
B261165565133B   MARIE            LEWIS                    OH     66091716556
B2612326477326   MAVA             HILL                     IL     20509113264
B2612562972B62   JILLIAN          BREWER                   CO     90010815629
B2612689672B62   ADOLFO           BARRON                   CO     90013306896
B2612757193727   NINA             CHILDS                   OH     64531867571
B261288852B271   DERRICK          LILLY                    DC     90011758885
B261334665B264   AMBER            HAEBERLIN                KY     90001733466
B2613653591573   BRENDA           CEBALLOS                 TX     75097486535
B2613AA169182B   GARY             FOX                      OK     90000500016
B2614115355947   LETICIA          ALDANA                   CA     49081011153
B2614171197157   IL WOO           LEE                      OR     90013971711
B261427282B271   ANTHONY          JOHNSON                  DC     90013982728
B26143A532B857   ANGIE            SHOECRAFT                ID     42080003053
B2614486193745   BRANDY           MCKINNEY                 OH     90010494861
B2615293297124   ANDREA           HUBERT                   OR     44015562932
B26162A1993727   AARON            KROGGEL                  OH     64516682019
B2616857155972   DAWN             PORTER                   CA     49025898571
B26169A3833635   RONALD           SPRUILL                  NC     90014879038
B2616A2332B886   GLENN            OVERACRE                 ID     42063230233
B2617439872B69   VERONICA         VENZOR                   CO     33049684398
B2617681191978   ZION             CARR                     NC     90010386811
B2617872824B3B   REINA DELA PAZ   CHAVEZ ALEMAN            DC     90002818728
B261798312B857   RAIDER           DEAN                     ID     90008089831
B261799445B396   MANDY            AGUILAR                  OR     90012289944
B2618111755972   JIM              HERBERT                  CA     90006291117
B2618733293727   ASIA             LEE                      OH     90003767332
B2618917297124   JARED            NEIL BERTOCH             OR     44092899172
B2618A7115B265   TAMARA           GENTRY                   KY     90013560711
B261977982B887   SHANNON          KRUEGER                  ID     90001197798
B2619814484373   LASHAWNDA        CLARIDY                  SC     90005828144
B2619992972B62   LACIE            BLEAK                    CO     90011919929
B261B356A72B69   JESUS            LOPEZ                    CO     90009803560
B261B89AA72B69   INGRID           PAREDES                  CO     90012528900
B2621755A97124   KATHARINE        LONDIN                   OR     44045787550
B2621796A91573   LETICIA          OROZCO                   TX     90010977960
B262212485B265   BRANDON          GUARNERA                 KY     90014411248
B2623465224B64   WIL              VARLACK                  VA     90007334652
B2623A21931688   ASHLE            KAUFMAN                  KS     22011950219
B2623A76631639   KATHLEEN         FABER                    KS     90005280766
B2623A87791362   ALFONSO          DELGADO DIAZ             KS     90012800877
B2624529972B62   TANYA            VANMETER                 CO     90009935299
B2624A9395B265   JEREMY           SWAM                     KY     90014730939
B2625262231688   MARIA            GEIGER                   KS     22093942622
B2625642833635   RODERICK         STINSON                  NC     90001696428
B2625A6655B265   TYLER            MOORS                    KY     90012660665
B2626123657565   ROSANNE          RAMIREZ                  NM     90013871236
B2626268831639   CHEYENNE         CANNON                   KS     90012432688
B2626329972B32   MELINDA          DUNNING                  CO     90000983299
B2626A6A472B69   DESARAY          GARCIA                   CO     90013780604
B2627333893727   DEANN            HILL                     OH     64554373338
B2627587791978   JOSE             MENDEZ                   NC     90011625877
B2627798633635   MARGARET         FELIPE                   NC     90010897986
B262867A15598B   RENEE            LOPEZ                    CA     90007966701
B26287A7441B53   JOANNE           FURLEY                   MD     90013757074
B2628A5735B396   CHARLES          WALTON                   OR     44590170573
B262926715B265   CHRISTOPHER      BENOCK                   KY     90010952671
B2629959391248   TONY             ANUNGKA                  GA     90007149593
B262B12257B489   THONYA           FISHER                   NC     90014611225
B262B9A8193727   MAMBER           WILLS                    OH     90007609081
B2631612A93745   DAMON            DANIELS                  OH     90012736120
B26319A3472B69   JOE              SMITH                    CO     90012929034
B2631A8752B857   CRYSTAL          THOMPSON                 ID     90005300875
B263225765B265   TAMIKA           BURNS                    KY     90011082576
B2632361331639   ALBERT           WATSON                   KS     90014343613
B263239A655947   EDNA             RODRIGUEZ                CA     90014593906
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2042 of 2350


B263244572B271   TENISHA      EDWARDS                      DC     90014414457
B2632446185927   CODY         LOPEZ                        KY     90015174461
B263415767B489   SHIYEVA      WILSON                       NC     90003281576
B26348A7193745   ROBIN        SMITH                        OH     90009558071
B2634997A57148   REBECA       AREBALO                      VA     90009379970
B2634A9A561994   FRANCELIA    MORALES                      CA     46002160905
B2635422791582   DANTE        VANCE                        TX     90012564227
B2635583A72B62   YENI         GONZALEZ                     CO     90014315830
B2636115261429   ANGEL        FERGUSON                     OH     90014121152
B263616825B396   CINDY        DITTMER                      OR     44508341682
B263629689194B   TYRONE       DUPREE                       NC     90006822968
B2636343155972   LILY         TEJEDA                       CA     49098583431
B2637624933635   BRANDI       POTEAT                       NC     90012736249
B26379A2325333   FERNANDO     CRUZ                         WA     90014279023
B26382AA597124   BRIANA       RICHARDS                     OR     90014432005
B263857295B356   VERNON       PLANCK                       OR     90014005729
B2639247531639   KAYLA        MCDANIEL                     KS     90011882475
B2639715193727   BECKY        COTEREL                      OH     64584227151
B2639A9237B489   OLEGARIO     CARDONA                      NC     11004910923
B263B245957444   BILL         BELL                         IN     90015532459
B264113A95B265   AARON        MINGS                        KY     90014731309
B264114192B271   MOHAMMAD     KHAN                         DC     90012371419
B264191524B256   RUSS         PINYAN                       NE     90012959152
B2642322572B69   ELOISE       MORENO                       CO     33082303225
B2642782697124   MARIA        CARLOS                       OR     44014477826
B2642A84A7B443   YANNIK       LOYDE                        NC     90005000840
B2643143247953   SARAH        FALDON                       AR     25002791432
B2643457A77351   DONALD       DORHAM                       IL     90001454570
B264372935B265   KEELIE       KENDALL                      KY     68037007293
B2644267731639   CASEY        MASHANEY                     KS     90014082677
B2644764251324   BARBARA      PRICE                        OH     90009227642
B26462A1231688   RICKY        RUCKLE                       KS     90011022012
B264631743B396   MINELY       MONTES                       CO     90011773174
B2646435993764   TINA         BRYANT                       OH     90006794359
B26471A8131639   FAYE         WILLIAMS                     KS     90009031081
B2647631593727   WILLIAM      BLANTON                      OH     64538826315
B2647738193745   RAELONDA     WHITE                        OH     90008387381
B264913945B265   AMANDA       FULTZ                        KY     90014731394
B264938395B265   DYLAN        CLOSE                        KY     90010473839
B2649422733635   AMANDA       BAUGHN                       NC     90009544227
B2649759A51333   CHERYL       BUCHANAN                     OH     90006687590
B264B36312B271   MAHOGANY     MCFADDEN                     DC     90012193631
B264B979197124   BLANCA       ESTELA                       OR     90014339791
B264BA49A93745   DEBBIE       WRIGHT                       OH     90013620490
B2651161631665   KARLEEN      JAUREGUI                     KS     22092871616
B265184497B421   RHONDA       CURETON                      NC     90006808449
B2652122697124   ERIC         PETTIT                       OR     44085451226
B265214982B857   IGNACIO      MACHUCA                      ID     90001021498
B2652225761984   GERARD       DECAROLIS                    CA     46096272257
B2652497955947   LILLY        GALLARDO                     CA     90007374979
B265277A35B265   TIFFANY      PRICE                        KY     90010117703
B2652892731465   CHRISTA      BAILEY                       MO     90008308927
B265369222B941   ARASELI      CASTELLANOS                  CA     90006406922
B2653699A2B941   ARASELI      CASTELLANOS                  CA     90006406990
B26536A2272B69   SCOTT        GONSALVES                    CO     90008946022
B2653A96193752   SANDRA       JACKO                        OH     90011310961
B2654223743573   LISA         REARDON                      UT     90011592237
B265434797B462   JAMES        WORTHY                       NC     90008613479
B265477A35B265   TIFFANY      PRICE                        KY     90010117703
B2654A6657B489   MARCUS       MASON                        NC     11073920665
B2655127657564   CHARLENE     AVALOS                       NM     90014861276
B265515825B265   CHAD         WHITE                        KY     90014731582
B265531317B489   ISABEL       VASQUEZ                      NC     11081543131
B265537A293745   DAVID        LAMBERT                      OH     90005153702
B265538395B265   DYLAN        CLOSE                        KY     90010473839
B265557165B396   MARTIN       ZAMORA                       OR     90011665716
B26558A9455947   ADRIANA      VASQUEZ                      CA     49097378094
B26561A8354187   LLOYD        GOODE                        OR     47079411083
B265657615B265   ANGEL        STOVALL                      KY     68035695761
B2656634872B69   RICKY        SCOTT                        CO     90013116348
B265678442B857   SIERRA       TESEO                        ID     90007687844
B265764439194B   DESHAWN      SMITH                        NC     17015256443
B265777422B941   ANTONIO      MAGANA                       CA     90014667742
B265816345B265   LAREN        THORNTON                     KY     90014731634
B2658252493745   KENNETH      PUHALA                       OH     90006452524
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2043 of 2350


B26582A4342376   MICHAEL       GERLACH                     GA     90000272043
B2658313197124   MARIA         MARTINEZ                    OR     44016263131
B2658616A93727   MARIA         WILSON                      OH     64551786160
B265922275B265   YVONNE        MUHORAKEYE                  KY     90012092227
B265969A897124   JOSE          GARIBAY                     OR     90004736908
B2659826193745   DENNIS        MANIES                      OH     90015318261
B265B419331639   MARIA         SERRANO                     KS     90014154193
B2661359172B62   BENJAMIN      CHAVEZ                      CO     33072633591
B2661744831639   LANETTE       JOHNSON                     KS     90011167448
B2662554333635   ROCHELLE      FARRISH                     NC     90011075543
B266284722B271   ROBYN         JAMISON                     DC     90014018472
B2663256876B27   SALVADOR      PAULIN                      CA     90011822568
B266353462B941   EVIRA         CASTILLO                    CA     90006965346
B2663A33972B69   VIOLA M       MARTINEZ                    CO     90014160339
B2663A9862B238   STEPHEN       YATES                       DC     90002150986
B266471A155947   TOMAS         RIVERA                      CA     49098717101
B2664A1287B489   LAQUINTA      PAIGE                       NC     90011820128
B266533935B396   TEFERI        MEKONNEN                    OR     90007303393
B266587A985927   ARLINDA       HOWARD                      KY     90013798709
B266619712B857   TABITHA       W-CAMPBELL                  ID     90013981971
B2666342691973   BRADLEY       ROSTER                      NC     90001093426
B266642812B271   MARAYA        BUSH                        DC     90015134281
B2666586A8B337   GERALDINE     WYLIE                       SC     90002535860
B266679857B489   LUIS ALONSO   ORTEZ                       NC     90012717985
B2666863797124   ROXANNE       COLLINS                     OR     90011368637
B2666928A2B941   ADRIAN        AVILA                       CA     90011869280
B266719185B265   SHANTE        RITCHIE                     KY     90014731918
B2667256876B27   SALVADOR      PAULIN                      CA     90011822568
B2667282885927   BECKY         CRIM                        KY     67093752828
B2667776172465   JOHN          CLEAR                       PA     51016577761
B2668126593752   HUGO          LOPEZ                       OH     90015611265
B266821365B265   MARCELLUS     HOWIE                       KY     68031392136
B2668278872B62   ANNA          COVEY                       CO     33055432788
B2668776172465   JOHN          CLEAR                       PA     51016577761
B2669334133635   BRANDON       BREWER                      NC     90005183341
B266989282B271   ROSA          VILLEGAS                    DC     90013398928
B266B613836122   ANITA         GEORGE                      TX     73516266138
B26714A9372442   KENNETH       SKELTON                     PA     90011494093
B267215459194B   ISID          GOME                        NC     17001661545
B2672352576B27   MICHELLE      PROVENCE                    CA     90012953525
B2672AA9793745   SABRINA       SAVERY                      OH     90008350097
B267319345B396   LISA          FORKS                       OR     90015091934
B2673323455996   ERICA         LOPEZ                       CA     90011723234
B267358A193745   JOSE          GARCIA                      OH     90014985801
B2673716272B22   JESSICA       ESPINOZA                    CO     90013827162
B267376A977591   AL            ICETON                      NV     90013967609
B2674118672B62   ELVIRA        AMBRIZ                      CO     90013421186
B2674385933635   CECILA        COLE                        NC     18014143859
B267448517B489   ANNETTE       BARRINGER                   NC     90004764851
B2674789976B27   LUZ MARIA     HERNANDEZ                   CA     90009137899
B267487492B271   MARIA         BENITEZ                     DC     90006598749
B267555965B265   MIKE          HEAD                        KY     90010195596
B267565117B489   ADELE         PIETROMARTIRE               NC     11007596511
B267623345B265   GEORGE        GORDON                      KY     90014732334
B2676649733635   PAYGO         IVR ACTIVATION              NC     90006326497
B267665285B396   DEON          DUNKINSELL                  OR     90014936528
B2676886733635   MARK          HAMLETT                     NC     90014668867
B2676944921739   NATONIA       BLOUNT                      IL     90015429449
B2677769777542   VITO          CASSETTARI                  NV     43055797697
B26781A185B396   PEDRO         MACHIC                      OR     90013961018
B2678286597124   JUVENAL       NUNEZ                       OR     90012122865
B26792A8197124   LOURDES       VASQUEZ                     OR     44051942081
B267947815B396   GREGORY       LOTZE                       OR     90005594781
B267B146697124   RAMON         ZAPIEN                      OR     90000621466
B267B34775B231   CRISTINA      ULLOA                       KY     90005993477
B267B741A7B489   GISELLE       RAZO                        NC     90012597410
B267B75A791978   JOSE          MARTINEZ                    NC     90010387507
B267B778A91585   FLOR          LOPEZ                       TX     90008287780
B267B96A393764   MELISSA       WHITT                       OH     64557909603
B268137A293745   DAVID         LAMBERT                     OH     90005153702
B268175132B271   TALISHA       FOSTER                      DC     90014717513
B2682714955947   JOE           VALENCIA                    CA     49098727149
B26827A8393745   ESTEBAN       CORONA                      OH     64523547083
B268332A542332   VICTORINO     MARTINEZ                    TN     90015583205
B268352599194B   YOLANDA       MARTINEZ                    NC     17013815259
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2044 of 2350


B2685252293745   DERRIK            GRAHAM                  OH     90010642522
B268536A372B69   MIKE              MILLER                  CO     90012853603
B268542842B857   LILLIAN           HARRELL                 ID     42099554284
B268552839194B   JOSE              ANTONIO RAMIREZ         NC     17013815283
B26862A2893752   BRANDI            WAGNER                  OH     90008852028
B2687338272488   ROBERT            LERDA                   PA     90008893382
B268735745B224   LORETTA           PEARSON                 KY     90006693574
B2687563361924   ERICKA            VERGARA                 CA     90014685633
B2688727191585   JESUS             LICON                   TX     90012477271
B26889A1166242   JAMES             SHIPP                   MS     90013479011
B2688A6A893727   SAMANTHA          BRICKLES                OH     90015290608
B268922315B396   ISHMAEL           KOFI                    OR     90000192231
B26898A162B271   UNIQUE            BROWN                   DC     81013618016
B268B79558B169   NIELSON           JANETTE                 UT     90008097955
B268BA32655947   RAFAEL            RUIZ                    CA     90005900326
B2691A8622B271   CAROLYN           WRIGHT                  DC     90012900862
B2693A8643B381   AMARPREET         KAUR                    CO     33010040864
B2694364955972   ISIDRO            GARCIA                  CA     49082913649
B2694778143585   ROXY              RYAN                    UT     90009787781
B2695166433635   KAREN             HARNACKE                NC     90008361664
B2695353672B69   CRUZ              OROZCO                  CO     33041313536
B2695387193745   AMANDA            HOOTEN                  OH     64509463871
B2695984693727   VICKIE            VANNUYS                 OH     90011899846
B269665745B396   RICKY             JACOB                   OR     90006656574
B26969A5993752   SHANELL           ANDERSON                OH     64511379059
B269722815B396   CAMERON           SIMS                    OR     90013512281
B269816285B396   MARTHA            CEDILLO                 OR     90012371628
B2698419A5B265   LUCIA             LOPEZ GOMEZ             KY     90014734190
B2698611555947   JEANETTE          CONTRERAS               CA     49087696115
B26998A872B271   NIKITA            RECTOR                  DC     90005148087
B2699A99191978   VIOLETTA          ALICKA                  NC     90001510991
B269B643197124   HERMELINDA        FRANCO                  OR     90014416431
B269B9A912B857   VANESSA           RAMOS                   ID     90002349091
B269BA1637B489   MICHAEL           BANKS                   NC     90012960163
B26B118595B265   PAYGO             IVR ACTIVATION          KY     90006831859
B26B1619A33635   SCOTT             CRONIN                  NC     90014116190
B26B1913993775   DAKOTA            WILLIS                  OH     90012619139
B26B2515233635   TIFANNY           SWANSON                 NC     90015195152
B26B2933172B62   VINCENT           LUCERO                  CO     33098909331
B26B3131793727   TAYLOR            ALTMAN                  OH     90014051317
B26B33AA17B443   SALVADOR          NUNEZ                   NC     90006523001
B26B3964455972   STACY             DIAZ                    CA     90005389644
B26B3A95524B3B   AGUILAR           ELVIA                   DC     81061620955
B26B5139133624   ROSEMARY          BYRD                    NC     90008121391
B26B61A8231688   LYNSEY            JOHNSON                 KS     90003711082
B26B621A893764   CRYSTAL           RUSSELL                 OH     90006792108
B26B6A4495B265   MARQUITA          CHAPMAN                 KY     90014730449
B26B73A2A97124   SARA              ALCANTAR                OR     90014263020
B26B7695684373   SANTIAGO          FERIA                   SC     90001266956
B26B7A9185B265   TIMOTHY           HINTON                  KY     68060350918
B26B8173893745   DANIEL            COCHENOUR               OH     90013661738
B26B819A224B64   JUSTIN            LAMAR                   DC     90012841902
B26B9154985927   KATOTO            HUSSEIN                 KY     90013701549
B26B9443697124   MICHAEL           MEYER                   OR     90014834436
B26BB596955972   JUANITA           FLOREZ                  CA     49076855969
B27111A432B857   MARIA             HOWARD                  ID     90014911043
B271122913B355   MARIA             MORENO                  CO     33059242291
B27113A478B131   JAMES             BURNINGHAM              UT     31040853047
B2711411655947   JENINA            FERNANDEZ               CA     90007304116
B271142195B265   RONALD            NANTELL                 KY     90014734219
B2712175172B62   BRANDON           MATHEWS                 CO     90011951751
B271224672B857   TYLER             MCLEAN                  ID     90005302467
B2712325472B69   MAN               POUDEL                  CO     90013623254
B271298A593745   JONITA MICHELLE   ROLLINS                 OH     90013929805
B2713298272B53   JOSEPH            BUTLAND                 CO     90005112982
B271369697B489   ABEL              PEREZ                   NC     90012766969
B271376345B265   DARRELLICA        OLDHAM                  KY     68094787634
B271383857B489   ABEL              PEREZ                   NC     90013858385
B2713967297124   SUSAN             STEWART                 OR     90015129672
B27146AA79194B   NETTESTEVE        PERRY                   NC     90003826007
B271512795B374   JUANA             RAMIREZ                 OR     90009541279
B2715798333635   TYESHS            MURPHY                  NC     90014127983
B271621152242B   JACKIE            ROSE                    IL     90015342115
B271666A755947   MARIA             LOPEZ                   CA     49010436607
B2716967972B69   TERRY             CAMPBELL                CO     33092919679
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2045 of 2350


B27172A362B271   YOLANDA      PRINCE                       DC     90012842036
B271761987B449   SARA         ELIZABETH SOSEBEE            NC     11032726198
B2718225391385   MARGARITA    VALENZUELA                   KS     22022902253
B271857215B265   TRACY        MORGAN                       KY     90014735721
B271861987B449   SARA         ELIZABETH SOSEBEE            NC     11032726198
B271913482B857   CATHY        PERIGEN                      ID     90014911348
B271957215B265   TRACY        MORGAN                       KY     90014735721
B2719781255979   JUANITA      RODIGUEZ                     CA     90013217812
B271987729155B   BERTHA       VALADEZ                      TX     75087048772
B271B741672B69   MARGARITA    VALADEZ                      CO     90014367416
B271B84975B396   DMITRIY      DRONOV                       OR     90012518497
B271B917893727   TAMALA       BRITT                        OH     64564509178
B272128135B396   ALBERT       LANE                         OR     90006932813
B2721362672B62   PETE         RUIZ                         CO     33000103626
B272172589194B   BRIAN        CONYERS                      NC     90003887258
B2721A39155972   CHRIS        HALL                         CA     49078990391
B272257215B265   TRACY        MORGAN                       KY     90014735721
B2722776793752   LISA         KELLEY                       OH     64563397767
B272283497B489   DAJAIAH      JONES                        NC     90008368349
B27228A3255947   SIA          LEE                          CA     90004088032
B27229A4931688   KENNETH      SOUTHWORTH                   KS     90006339049
B272342A972B62   IVAN         GONZALEZ                     CO     90012104209
B2723815757444   PAYGO        IVR ACTIVATION               IN     90013408157
B2724183797124   MILAGROS     GARIBAY                      OR     90010711837
B2724611133635   PORSHA       TURNER                       NC     90008846111
B2725333872B62   HOLLY        DAVIS                        CO     90014293338
B2725613755972   RAFAELA      MIRANDA                      CA     49046476137
B2725AAA27B443   PEGGY        WASHKO                       NC     11087100002
B2726134693727   DESTINY      SPURGEON                     OH     90010421346
B272645A793745   BUFORD       PAGE                         OH     90011924507
B2726862172B26   STEVEN       RODRIGUEZ                    CO     33028858621
B27278A1772B62   CHRIS        SIERRA                       CO     90013828017
B272837715B384   ROBERT       HINTZ                        OR     90010873771
B272875325B265   JESSICA      JONES                        KY     90014737532
B2729415141248   JOHN         WOYSTEK                      PA     51073584151
B2729594455947   ANGEL        DELAROSA JR                  CA     49061365944
B272B325333635   CRUZ         ESTRADA                      NC     90012323253
B272B57215B265   TRACY        MORGAN                       KY     90014735721
B273158157B877   AMINA        GAYLES                       IL     90012725815
B2731865891978   JAMIE        MYERS                        NC     90013118658
B27329AA785927   LEAH         PREWITT                      KY     90015119007
B273338638B139   MARION       BRYANT                       UT     31041703863
B273344A924B3B   NANCY        IGLESIAS                     DC     90011724409
B2733513793745   SCOTT        HOWARD                       OH     90015265137
B2735138471944   VANESSA      LOPEZ                        CO     90011931384
B2735514372B69   SAMUEL       TRAVIS BULLARD               CO     90014815143
B273566595B265   STEVE        SHEPPERDSON                  KY     90014736659
B273595517B489   CINDY        FLORES                       SC     90013929551
B2736699653B74   MARIA        ORNELAS                      CA     90015196996
B273692A29194B   JOSE LUIS    CRUZ                         NC     90003269202
B2737476331444   ERIC         MAYES                        MO     27596144763
B2737828797124   MANUEL       GONZALEZ LARA                OR     44084698287
B2738281372B69   KATHERINE    YOST                         CO     90011112813
B27396A152B271   NICOLE       WILLIAMS                     DC     90004316015
B273984872B857   GARIN        ELLIS                        ID     42033798487
B2739992276B27   MARTA        COLIN                        CA     90004389922
B2739A58693752   KAYE         BAKER                        OH     64574180586
B273B652993727   NICHOLAS     DOBZYNECKI                   OH     90013456529
B273B794261984   DEAN         HAMBY                        CA     90013877942
B274123725B396   AMANDA       MORALES                      OR     90002052372
B274129172B271   MARLENE      LOPEZ                        DC     90013002917
B27414A8597124   MICHELE      PAYNTER                      OR     90010434085
B2741988291885   ANGELA       PRICE                        OK     90012229882
B274376AA93752   KAREN        PETERS                       OH     64527187600
B274378174B239   COLLEEN      DUDLEY                       NE     90001327817
B274455675B561   BRENDA       HELMICK                      NM     35087075567
B2744851872B62   IBERIA       SILLEMON                     CO     90014768518
B2744955892871   DAVID        EIKER                        AZ     90015369558
B2744A8445B396   STEPHANIE    STAUFFER                     OR     90011560844
B2746737297124   JEANENE      WOLF                         OR     44073127372
B2746763184373   SHARRELL     RUSSELL'BLAKE                SC     19013037631
B274783682B857   FAIRY        HITCHCOCK                    ID     90010718368
B27478A982B941   SYLVIA       GARZA                        CA     90005428098
B2747A21993745   PATRICK      FAIN                         OH     90012780219
B2748216333635   SHEMIKA      ROGERS                       NC     90014712163
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2046 of 2350


B274835217B489   AXEL          GARCIA                      NC     11054023521
B274837515B58B   MARIANA       ESTRADA                     NM     90012663751
B2748757772B62   ONESIMO       DURAN                       CO     33094937577
B2749152955935   ADINA         FEEMSTER                    CA     90005131529
B27493A585B396   MICHELLE      LANDRE                      OR     90003013058
B2749481572B62   WAYNE         RENFROE                     CO     90011534815
B274B12482B941   DIEGO         MALDONADO                   CA     45096411248
B274B423A51391   KATHLEEN      KRAFT                       OH     90003514230
B274B577772B62   REY           MADERO                      CO     90014885777
B2751125793726   ERIKA         MCBRIDE                     OH     90011671257
B2751A71372B69   MARTHA        CALDERON                    CO     33062070713
B2752114393752   RICHARD       NEWPORT                     OH     90013541143
B2752168772B69   ERIC          STEDELIN                    CO     90012091687
B2753269593738   BILL          GERVERS                     OH     90012612695
B2753633A84373   EMILY         PERRY                       SC     90005856330
B2753798533635   PAYGO         IVR ACTIVATION              NC     90012657985
B2753A21831639   SIERRA        WATERMAN                    KS     90012040218
B2754456541229   HEATHER       KAHL                        PA     90002544565
B2754561672B69   GIOVANNI      STEFFANI                    CO     90009615616
B275458715B396   ALEXIS        RODRIGUEZ                   OR     90010485871
B275512637B489   JEANNIE       DAVILA                      NC     90010661263
B2755812971929   JENNIFER      DEFORD                      CO     90005978129
B2755A94931639   JOHNATHAN     HERNANDEZ                   KS     90012980949
B2756276871933   CHRISTINA     CARDINALE                   CO     90004172768
B2757113655947   GLORIA        CASTILLO                    CA     49017591136
B2757217772B62   VERONICA      LOPEZ                       CO     33094402177
B275723249182B   HERBERT       BELL                        OK     90001842324
B2757498697124   LISA          PELCHAT                     OR     90014274986
B275764454435B   MARVIN        HOLSOME                     NM     82027066445
B2758229191978   TERRY         LUCAS                       NC     17069322291
B275852175B383   IRMA          ANDRADE                     OR     90001485217
B2758A46897124   GINA          CARDOZA                     OR     90004790468
B275913925B396   SARA          BLAIR                       OR     90001411392
B2759371633635   AMELIA        COX                         NC     90009853716
B2759814393745   CLARA         ELAM                        OH     64513368143
B275B582931688   KELSEY        STAFFORD                    KS     90006805829
B275B85485B265   ISAAC         ORR                         KY     90006018548
B2761A18524B3B   FRANKI        RUFFIN                      DC     90011870185
B2762444972B69   MELISS        GARCIA                      CO     90008454449
B2762566A72B62   KACEE         LOTTMAN                     CO     90010815660
B2763255193752   LEVAR         WILLIAMS                    OH     64512972551
B2763417155972   PATRICK       LAVIGNA                     CA     49097414171
B2763797531639   CARDYN        LOGSDON                     KS     90008947975
B27637A595B396   MARICELA      CORDERO                     OR     90013117059
B2763863831465   KEVIN         PARKS                       MO     90007968638
B2763A9855B396   DARREN        BRODINE                     OR     90013110985
B2764793955947   AURELIANO     GRANADOS                    CA     49097477939
B276481662B857   MICHAEL       MAIN                        ID     90006508166
B276529442B271   CHRISTOPHER   JONES                       DC     90014702944
B27653A727B489   SHARON        MCLELLAND                   NC     11092853072
B2765566A72B62   KACEE         LOTTMAN                     CO     90010815660
B27655A6755947   VERONICA      ROSADO                      CA     90013875067
B2766515861975   JOSHUA        MCGUIRE                     CA     46046005158
B276698335B265   MAYORICO      RAMIREZ                     KY     68009859833
B276763225B396   DAVID         KAISER                      OR     90004006322
B2767679272B69   NANETTE       GARCIA                      CO     90015236792
B2767A58472B62   MAIKUDI       SHOAGA                      CO     90012980584
B2768119297124   JENNIFER      NEAL                        OR     90013351192
B276839175B396   UCHECHI       LOUD                        OR     90015333917
B2768457131639   TAMARA        JOHNSTON                    KS     22016364571
B2768633A93764   CHAD          EDGINGTON                   OH     90008456330
B2768911355947   VANG          LENG                        CA     90013669113
B27689A8155947   GUILLERMO     SILVA                       CA     90011869081
B2769528693752   CRAIG         BOGAN                       OH     90011305286
B276976225B396   MATT          MARSHALL                    OR     90007197622
B2769AA685B399   EDUARDO       FLORES                      OR     44006190068
B276B643572B69   REGINA        TAFOYA                      CO     90008386435
B276BA2342B857   SCOTT         STEVENS                     ID     90010240234
B2771244197124   MANDY         ROGERS                      OR     90009422441
B2771849385927   STEPHANIE     REYNOLDS                    KY     67033438493
B2772251671925   MIGUEL        LIBERATO                    CO     90009132516
B277292975B265   KARLA         GRIFFITH                    KY     68039969297
B2773131897124   DIRK          DEYER                       OR     90015531318
B2773653772B69   STEVEN        MAES                        CO     90012886537
B2774476972B69   ABLE          REYES                       CO     90009274769
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2047 of 2350


B2774997872B62   JOCIE           BARAJAS                   CO     90009969978
B277531992B271   LATOYA          BROWN                     DC     90013433199
B2776132124B3B   TOWANDA         COATES                    DC     90013031321
B2776167293745   STEPHANIE       STRAYER                   OH     90012591672
B277669282B271   CESAR           SIMEON                    DC     81004836928
B2776971776B27   JOHN            DESHIELDS                 CA     46086269717
B2777179372B69   CONSEPCION      BRISENO                   CO     90001981793
B2777A7892B271   SHUNT           WARE                      VA     90012660789
B27787A257B489   VICTOR          MENDEZ                    NC     90012427025
B2778881A84373   TERENCE         JOHNSON                   SC     90008718810
B2779585133635   PORFIRIO        GARCIA                    NC     18038255851
B2779659A2B271   KEVIN           GARY                      DC     90014076590
B277B3A4A2B239   V. SAKHET       MCCONNELL                 DC     81044263040
B277B65259155B   JESUS           MARTINEZ                  TX     90014966525
B277B91A372B69   OMEGA           AVILA                     CO     90010679103
B278145A97B338   ROBERTO         VILLATORO                 VA     90008574509
B2782443155947   ESTEFANIA       MEDINA                    CA     90015334431
B2782799893752   JANET           JAMESON                   OH     90011067998
B278282637B489   SHIRLEY         GLENN                     NC     11068838263
B2782995697124   ALAN            FIELDS                    OR     90015269956
B2783579385927   PEDRO           LARA                      KY     67020895793
B27841A8857133   JANICE          ARTHUR                    VA     81060531088
B2784517391554   MARIA           RUBIO                     TX     90013225173
B2785516255947   ISIDRO          MEJIA                     CA     49086505162
B2785741291978   CYNTHIA         VANCE                     NC     90011597412
B2785938824B55   CLAUDIA         CABELLO                   VA     90004949388
B2787717155947   AIOTEST1        DONOTTOUCH                CA     90015117171
B278775312B962   GUIOMAR         FAGUNDES                  CA     90012607531
B2788127691585   MARIO           RAMIREZ                   TX     90010051276
B2788247391978   SELENA          DIAZ                      NC     90011592473
B2788627893727   ALPHONSO        HUGHES                    OH     90010656278
B27886A6A97124   JOSE            NAVARRO                   OR     90009916060
B2789247391978   SELENA          DIAZ                      NC     90011592473
B2789631955972   JUANITA         LEDGER                    CA     49096146319
B2789713624B3B   RATEKA          HAWKINS                   DC     90013007136
B278B249491563   XAVIER          ESCOBEDO                  TX     90001872494
B278B99A572B62   KAREN ROBERTA   BUFFUM                    CO     90012509905
B279143119194B   MELODY          WALKER                    NC     17005484311
B279173145B342   KIM             LOMAX                     OR     90008917314
B279175622B857   JEREMY          FORD                      ID     90014927562
B2791852493752   TORREY          ROBINSON                  OH     90011528524
B27919A715593B   ANDREA          ARNDT                     CA     90011409071
B2791A1937B443   CARLOS          SANCHEZ                   NC     11021060193
B27927A8384373   MONICA          BONTAMPO                  SC     19091057083
B2792A29497124   CUVELIER        RUSELL                    OR     90012150294
B2794322A24B64   TRENEE          HUDSON                    DC     90014503220
B2794A34433635   RAYMOND         SCHIJVIJNCK               NC     90011890344
B2794A76993752   DEBBI           J ROBERT                  OH     64590480769
B279514735B396   JOSE            FERNANDEZ                 OR     44578771473
B279549899194B   CARLOS          ORTIZ                     NC     90003274989
B2795823393745   BILLIE          CRUZ                      OH     90012328233
B279668472B825   STEVEN          GRAHAM                    ID     90012156847
B279734877B443   MARION          MCELWAINE                 NC     90013223487
B279749899194B   CARLOS          ORTIZ                     NC     90003274989
B279753132B857   MARIA           FIGUEROA-CUEVAS           ID     90004255313
B2797583991563   MARGARITA       LUCIO                     TX     90009035839
B279798A27B489   ELEONORA        JEFFREYS                  NC     11086619802
B2798424591978   AARON           VEGA                      NC     90011174245
B2798515955927   SENIA           JUAREZ                    CA     90011475159
B279854A272B62   TANNER          PETERSEN                  CO     90013725402
B27992AA85B396   ELLIOTT         GOOD                      OR     90009852008
B2799366961941   MARTIN          PEREZ                     CA     90001733669
B279B868272B55   MARY            MESTAS                    CO     90015148682
B279B99692B857   MONIQUE         SHAKLEE                   ID     90013879969
B27B133282B857   SASHA           HOUGHTALING               ID     90010873328
B27B1545351324   MARGO           IVORY                     OH     66093355453
B27B2342A5B265   RACHEL          WILLIAMS                  KY     90014733420
B27B2348A2B246   LATIA           CUNNINGHAM                DC     90001573480
B27B2A12793764   KEITH           PRUZZO                    OH     90011010127
B27B334235B231   DIANELIS        SOTOLONGO                 KY     90006093423
B27B3399A5B265   SHAWN           WADE                      KY     90014733990
B27B36A8472B62   JULIO           ESPINOZA                  CO     90012906084
B27B394415B373   MICHELLE        MORSE                     OR     44587269441
B27B3A44185927   GARY            SEARS                     KY     90013300441
B27B4222255947   MICHAEL         MEDINA                    CA     49079092222
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2048 of 2350


B27B4264972B62   SHANNAN       REINPOLD                    CO     33094402649
B27B451617B489   RUSSELL       WILLIAMS                    NC     90014865161
B27B5272993745   ANGEL         GODSEY                      OH     90009922729
B27B54A395B265   KARLA         RODRIGUEZ                   KY     90014734039
B27B5691533635   TRACY LYNNE   PHILLIPS DOYLE              NC     90009316915
B27B5732255974   GEORGINA      PARRA                       CA     90005727322
B27B5855385927   PAYGO         IVR ACTIVATION              KY     90011438553
B27B589674B251   JEFFREY       BELMONT                     NE     27098598967
B27B6331242376   ROBIN         MINES                       GA     90009903312
B27B6844397124   JERRY DALE    CASSITY                     OR     90013328443
B27B693227B489   LUIS          CAMPUZANO                   NC     90002049322
B27B7763A93727   DAWANDA       REEDER                      OH     90011807630
B27B8344772B69   INDRA         TIMSINA                     CO     33012303447
B27B8527A97124   MICHEAL       FISHER                      OR     90012205270
B27B8938155947   DONELD        CASTILLO                    CA     90009919381
B27B8A4A572B62   SAMUEL        ALONSO                      CO     90000770405
B27B911845B396   ANGELA        BEAUDOIN                    OR     90010511184
B27B927415B265   PAMELA        DICKERSON                   KY     68050302741
B27B9322757444   PAYGO         IVR ACTIVATION              IN     90013473227
B27B9412261825   LOGAN         EYSTER                      IL     90015434122
B27B9472972B62   KARLA         HERNANDEZ                   CO     90013084729
B27B9542655947   ADAM          RUIZ                        CA     90008645426
B27BB181193764   NATHANIEL     ALBERTSON                   OH     90010561811
B27BB545351324   MARGO         IVORY                       OH     66093355453
B27BB554293752   TIMOTHY       WILEY                       OH     90010965542
B27BB96915B396   JADE          BALDWIN                     OR     44579489691
B2811881A85927   VICTOR        RODRIGEZ                    KY     90012128810
B2811A4338B154   MICHAEL       COYLE                       UT     90009770433
B281242287B489   RANA          PARSAI                      NC     90013904228
B2812522361994   JOANNA        MAGUIRE                     CA     46033145223
B2812552172B62   EVA           GONZALEZ                    CO     33069655521
B281315A576B27   ERIN          SEALEY                      CA     90003981505
B2813976893745   ELIZABETH     MINTER                      OH     64539719768
B281478817B443   DAVID         VARGAS                      NC     90006077881
B28153A6484373   SHARNESE      POKE                        SC     90011363064
B28182A152B857   JOSH          PRESCOTT                    ID     90011002015
B281854552B857   BARBARA       COVEY                       ID     90010795455
B28188A6593745   RONNIE        JONES                       OH     90010168065
B2818949193752   ANITA         CAREY-JONES                 OH     90006689491
B2819243571924   GUILLERMO     GUARDA-ABARCA               CO     38006662435
B281933362162B   LINDA         TROWER                      OH     90015353336
B2819398993745   NOE           ALAS                        OH     90010773989
B281B66377B489   LUCIA         MORALES                     NC     90012586637
B2821474893745   CHARLOTTE     TOMS                        OH     64529294748
B2821738885927   JERRY         SANCHEZ                     KY     90014447388
B2822458291978   DERAQUL       VILLANUEVA                  NC     90011594582
B2822781222963   CURTESEA      DIXON                       GA     90013587812
B282298377B489   JOSEPH        RUSSELL                     NC     90012309837
B2823122455947   TOMAS         LOPEZ PEREZ                 CA     90014231224
B2823267793752   ADAM          SMITH                       OH     90012352677
B282378272B857   DIANE         RIVERA                      ID     90014927827
B2824287476B27   MANUEL        SOTELO                      CA     46008482874
B282491645B265   VALERIE       RUCKER                      KY     68095689164
B28251A1A42332   MICHAEL       MORGAN                      TN     90015601010
B282551874B265   ARMANDO       GONZALEZ                    NE     90000465187
B2826478872B62   STEPHEN       GARCIA                      CO     90011074788
B2826777855947   JULIE         CASTRO                      CA     49097497778
B2827415861924   STEVEN        CROW                        CA     90012584158
B282749977B443   MAYRA         CABRIALES                   NC     90002744997
B2827643128169   JASMINE       ANDERSON                    TX     90014736431
B2827A38791585   CYNTHIA       CRUZ                        TX     90011600387
B2827A78193727   REBECCA       MILLER                      OH     90011240781
B282818662B857   CHRISTY       JARBOE                      ID     90013141866
B2829114593757   MATTHEW       WAGNER                      OH     90007391145
B2829197491222   JERUSALEMA    HAQQ                        GA     90013921974
B282921182346B   ROBERT        MANCINI                     OH     90014792118
B28295A372B857   ANGELA        BARTON                      ID     90014345037
B2829613551331   JOHN          LAPED                       OH     90013946135
B2831116433635   STEPHANIE     ROSE                        NC     90009191164
B2831514A97124   DANIEL        DIAZ-CHACON                 OR     90002325140
B2831928472B62   KEN           VILLANUEBA                  CO     90009989284
B2831944731569   PAYGO         IVR ACTIVATION              NY     90013259447
B283195985B396   BILLIE JEAN   BIDWELL                     OR     90015109598
B2832256A72B62   EMMA          JIMENEZ                     CO     33056082560
B283288495B265   AMANDA        UNDERWOOD                   KY     90000408849
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2049 of 2350


B2833624A72B62   ROLANDO      GARCIA                       CO     33044806240
B2833755221929   JAMES        JONES                        IN     90015337552
B28338A525B265   NATHALIE     CLARKSON                     KY     90011138052
B28343A3972B69   CHENELLE     ANSON                        CO     90015033039
B283487A191248   MICHAEL      EPLEY                        GA     14598748701
B2834A4922B857   KIM          DIAMOND                      ID     90007340492
B283516A593745   AARON        TAYLOR                       OH     90013291605
B283528A693752   DIANE        ANDERSON                     OH     90011232806
B2836251A93752   JULIE        MOSS                         OH     64539972510
B283682837B32B   NANCY        GONZALES                     VA     90006418283
B2837A5877B489   DAVID        GAMBOA                       NC     90013740587
B283818812B857   GODINEZ      EDGAR                        ID     42000861881
B2838565233635   KELLIE       KENNEDY                      NC     90014025652
B2839344393745   DEBRA        THOMAS                       OH     90014173443
B28396A1A5B396   PAUL         MAKUCH                       OR     90004946010
B2839AA472B857   JESSICA      JOHNS                        ID     90008110047
B283B52AA76B27   JEVON        JOSLYN                       CA     46010235200
B283B59992B256   PEDRO        BALBUENA                     DC     81082955999
B283B89777B443   KEISHA       MARTIN                       NC     11076818977
B283B8A952B857   KRISTY       ROBERTSON                    ID     90014928095
B284195A493764   KIMBERLY     HARDWICK                     OH     90006809504
B2842283166242   DYLAN        LOE                          MS     90015592831
B284297345B592   JUAN         HERNANDEZ                    NM     36055439734
B2844592A5B231   MARIANA      MACHIN                       KY     90010355920
B2846166172B69   FRANSICO     AGUIRRE                      CO     33085861661
B284631A45B396   TARA         NEYER                        OR     44509503104
B284688882B857   TYLER        EYRE                         ID     90014928888
B2848673372B62   CESAR        PEREZ                        CO     90007336733
B284868929195B   ISRAEL       VELASQUEZ                    NC     90012586892
B2848768961825   MICHELLE     GLASPIE                      IL     90014707689
B284B696931639   CHELSEA      MCFADDEN                     KS     90011836969
B285164645B371   NORBERTO     TOMAS                        OR     90001656464
B2851656884373   WILLIE       WESTER                       SC     90005866568
B28521A2555947   HUADALUPE    SOLOEVRANES                  CA     90012891025
B2852271A2B271   ELLEN        MORRIS                       DC     90014972710
B2852482391978   VANESSA      PATTERSON                    NC     17004174823
B28529A5654168   DAVID        MILLER                       OR     90014759056
B2852A4796196B   DOUG         PIPITONE                     CA     90001130479
B2853365697124   JESSICA      GRAHAM                       OR     44018713656
B2853544A5B396   DAVIDE       COOK                         OR     90014475440
B285377572B271   JOSE         MENDOZA                      DC     90010677757
B28547A227B443   BRITTANY     DUPREE                       NC     90001267022
B2854812372B69   JON          ROBISON                      CO     90005888123
B2855712491978   MELLISSA     NISHIKAWA                    NC     90011747124
B285575675B527   CALIXTO      REZA                         NM     35012837567
B2855A21293764   CRYSTAL      GRAHAM                       OH     90006810212
B2856117693727   PAYGO        IVR ACTIVATION               OH     90008111176
B2856919681452   SHAYNIECE    TETUAN                       PA     90015389196
B28573A427B462   SALVADOR     MARTINEZ                     NC     90015023042
B285744A955947   ALEX         SALMERON                     CA     90007304409
B2858643391978   LAMONT       PARKER                       NC     90008286433
B2858A29284387   TAMIKA       GRIMES                       SC     90013080292
B285919475B265   THOMAS       STYERS                       KY     90009991947
B285924319194B   FRANKLIN     DIAZ                         NC     17014022431
B2859431393745   STEPHANIE    NICHOLL                      OH     90001734313
B285B22677B489   DAMION       HOWELL                       NC     90012792267
B285B442893727   ANDRE        ROSS                         OH     64575604428
B285B923872B69   KARLA        HERNANDEZ                    CO     90010799238
B2861438424B44   SHARA        MCCARLEY                     SC     90007564384
B286155A12B857   JESSE        STARKEY                      ID     42086185501
B2861586593752   SARAH        MASON                        OH     90011495865
B2862436A2B271   ANGEL        HOUGH                        DC     90008824360
B2862A88A55947   RAYMOND      ALVAREZ                      CA     90010830880
B2863A6135B396   JUAN         GUTIERREZ DESEANO            OR     90014970613
B28643A262B271   LAPREA       RILEY                        DC     90012913026
B2864A3A193745   ANDREA       HEATH                        OH     90015110301
B2865499393752   TERRISETA    PHILLIPS                     OH     64536144993
B2865512472B69   REZA         ANTONIO                      CO     33087865124
B28658A4433635   JESSICA      COLEMAN                      NC     90000278044
B28658AA572465   RONALD       BENTZ                        PA     90005628005
B2866564772B62   KRIS         SCHULTZ                      CO     90007925647
B2866822585927   BRIANA       BARNS                        KY     90014908225
B2866874293727   ALEJANDRO    MALAGA SANTOS                OH     90014098742
B286692542B857   CATHY        LAWTON                       ID     90010839254
B2866976385927   BRIAUNA      BARNES                       KY     90015599763
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2050 of 2350


B28672AA32B857   BARRY         BALLEW                      ID     42053872003
B2868225761984   GERARD        DECAROLIS                   CA     46096272257
B2868724276B27   CESAR         MANI                        CA     46092417242
B2868921697124   WILLIAM       JONES                       OR     90015249216
B2868931A55947   ANA           DIAZ                        CA     90013669310
B2868A2817B443   HERMELINDO    RAMIREZ                     NC     90001710281
B28692A3433635   ROBERTO       VELEZ                       NC     90013532034
B286B331A5B396   NICHOLAS      WILLIAM                     OR     90009813310
B286B444393745   JOE           SKAGGS                      OH     90012014443
B286B544455947   MONICA        PEREZ                       CA     49051345444
B286B668297124   BRANDON       LILES                       OR     90009276682
B2871925597124   ANTHONY       LOPEZ                       OR     90014899255
B2872548793745   BROOKE        SOLIZ                       OH     90012055487
B2872618897124   DINA          MUNIZ                       OR     44074776188
B28729AA393745   DAWN          FENT                        OH     90015289003
B2874121A5B265   JAKE          KEYS                        KY     90014741210
B28741AA693727   KIMBERLY      FAULKNER                    OH     90013041006
B2874774261994   CRYSTAL       MIGNOGNA                    CA     46023067742
B2875697291248   JAMES         SHIPLEY                     GA     90012386972
B287575A541286   PATTI         RILEY                       PA     90007117505
B2876976772B62   JORGE         MIRANDA                     CO     90006739767
B28771A832B271   JOSE          LUIS                        VA     90014901083
B2877875A5B396   LUIS          MORENO                      OR     44533568750
B2877A22A72B62   FRED          KUNGES                      CO     90011820220
B287895525B54B   ALEXANDER     CAMPBELL                    NM     90004189552
B2879177954B85   FLOYD         HUMBERT                     VA     90013471779
B2879425672B62   RICARDO       SOTO                        CO     90015234256
B287997A355947   MARIA         SOTO                        CA     49075669703
B287B26135B165   JENE          WYATT                       AR     23063862613
B2881134276B27   GEORGE        OLIVERIA                    CA     46011331342
B288123AA9194B   ANTWAN        WARD                        NC     90003282300
B288146582B271   CIARA         FURR                        DC     90014374658
B2881742A33635   DENISE        TURNER                      NC     90011177420
B2881A27685927   SHINA         KING                        KY     90014440276
B2883982593727   MICHELLE      GEORGE                      OH     64521819825
B288412A393745   BRIAN         FRANTZ                      OH     64560411203
B28843A467B486   ROXANA        ANGELES                     NC     11046243046
B2884945572B62   CECILIA       GARCIA                      CO     33041249455
B288513A931688   VICKI         THOMAS                      KS     22051261309
B288534A22B857   CHRISTOPHER   DEGIORGIO                   ID     90006373402
B2885666772B69   NATHAN        WOODS                       CO     90009876667
B288623AA9194B   ANTWAN        WARD                        NC     90003282300
B2886728693727   BRITTANY      ALEXANDER                   OH     90009517286
B2886982955947   JASMIN        GOMEZ                       CA     49089879829
B2887339655947   JOSE          RICO GUTIERREZ              CA     90011633396
B2887395871932   CHARLES       RICHARDSON                  CO     90008503958
B2887481472B69   ALLISON       WENHOLZ                     CO     90006054814
B2887756593727   MARCIE        PARKER                      OH     64596587565
B288789229194B   DAWN          AL-MESAD                    NC     90011238922
B288835492B22B   LEANNE        PAGE                        DC     90009693549
B288845595B396   CRUZ          PEREZ                       OR     44580924559
B2889879693727   MONICA R      HEFLIN                      OH     64511708796
B288B588855947   DERRICK       HARPER                      CA     90000995888
B2891565993727   SCOTT         WILSON                      OH     90010045659
B289184155B396   SALIH         MOHAMMED                    OR     90003798415
B2891A96924B64   DEMARIS       SPIRES                      DC     90014480969
B2892223976B27   MARINO        SANTIAGO                    CA     90004452239
B2892328733635   ANGELA        ARGUETA                     NC     90011393287
B289312A393745   BRIAN         FRANTZ                      OH     64560411203
B289321582B271   CYNTHIA       SULLIVAN                    DC     81049282158
B2893879A55972   JOSE          PERALTA                     CA     90004128790
B2894276872B69   KIRSTIN       KAHLER                      CO     90014242768
B289527587B489   SHERMAN       MCCLINTON                   NC     90013872758
B289544215B396   TIMOTHY       FARRIS                      OR     90013234421
B2895672A5B396   TERA          ROB                         OR     90015306720
B28957AA493752   MELINDA       HOLLINGSHEAD                OH     64583987004
B2896398285927   GANJA         SHARMA                      KY     90008483982
B2896437A61994   ORALIA        GONZALEZ                    CA     46015864370
B289651A37B32B   JULIO         DURAND                      VA     90007405103
B2896677371628   CARLY         ROBINSON                    NY     90013986773
B289681435B562   MERCEDES      GUTIERREZ                   NM     90010798143
B289691627B489   EMANUEL       CASTREJON                   NC     90012279162
B2897174631639   DONALD        BUMPS                       KS     22047621746
B2897268493745   BETTY         LOREDO                      OH     90009952684
B28979A145B331   KEVIN         KIRKHAM                     OR     90000779014
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2051 of 2350


B28981A1972B62   LUIS         CRUZ                         CO     33029191019
B2898357231688   ANNEMARIE    WHITE                        KS     90003833572
B2898489893752   TAMMIE       HERNANDEZ                    OH     64576274898
B2899124433635   LASHANDA     ADAMS                        NC     18032731244
B2899AA6733635   ANDRELA      LLOYD                        NC     90013700067
B289B371497124   THEA         DAVIS                        OR     90014813714
B289B583993764   HUSTON       HEWITT                       OH     64589055839
B289B693697124   JORGE        RIVERA                       OR     90005426936
B289BA97991978   PATRICIA     MCDANIEL                     NC     90007360979
B28B129672242B   MARQELL      BALL                         IL     90004742967
B28B2191984373   ODESSA       HICKS                        SC     19091061919
B28B3297885927   GABRIELA     AGUILAR                      KY     90014692978
B28B3385193745   SAMANTHA     SMITH                        OH     90013373851
B28B3451197124   VICTOR       ARRONIZ                      OR     90007804511
B28B3835572B62   THOMAS       HAIRSTON                     CO     90010228355
B28B422485B384   SHALLY       WOLF                         OR     90014062248
B28B4351291261   DONDRE       LOVE                         GA     90002843512
B28B443972B857   MARK         HUCKABY                      ID     90010554397
B28B4987785927   DAVID        SUMNER                       KY     90007899877
B28B49AA233635   PHYLLIS      CHAVIS                       NC     90013199002
B28B5444393745   JOE          SKAGGS                       OH     90012014443
B28B5611A7B443   EVIGENIA     DELGADO                      NC     11057036110
B28B5844833635   DORIS        BALDWIN                      NC     90007868448
B28B6677533635   KNTASHA      HERRING                      NC     90008086775
B28B667A49194B   TAMMY        CIAMPA                       NC     90008626704
B28B717A593727   CARLOS       BENITEZ                      OH     90014851705
B28B7787A91585   MIGUEL       GUTIERREZ                    TX     90009657870
B28B8784472B62   KENDRICK     WEBB                         CO     90013387844
B28B93A2976B27   JOSE         CUADROS                      CA     46011153029
B28B952487B489   LAKISHA      BURNS                        NC     90012695248
B28B971667B489   LAKISHA      BURNS                        NC     90010447166
B28B9A53285927   FLANCISCO    MUNOZ RANGEL                 KY     90007900532
B28BB94717B489   ADAM         PALMER                       NC     90011559471
B2911279255947   MARIA        SANCHEZ                      CA     90009182792
B2911345433635   DEANA        MADDEN                       NC     90010183454
B2911764293752   JASON        BREWER                       OH     64558367642
B2912442731688   DEBORAH      DAVIS                        KS     90003834427
B2912444693745   PAMELA       PERRY                        OH     64549944446
B291266832B857   ISAIAH       BELL                         ID     90011806683
B29126A4661994   WASEEM       HABIB                        CA     46041016046
B291277578B323   SHANE        LIBERTY                      SC     90011657757
B2912862191978   JUAN         PACHECO-ZAMBRANO             NC     90010388621
B2912873772B69   ERIKA        MARQUEZ                      CO     33095128737
B2913186155947   ORLANDO      AGUILERA                     CA     49011191861
B291336A731639   BRIAN        BENALLY                      KS     90015533607
B2913646961941   ALFONSO      HERNANDEZ                    CA     90009226469
B2913769393752   APRIL        HAYS                         OH     64589987693
B2914586493727   ZACHARY      WILLIAMS                     OH     90012025864
B29148A7393745   STEVEN       KINNISON                     OH     90013348073
B29149A3391573   KENETH       QUINONES                     TX     90011169033
B2915166355972   DREA         MARKS                        CA     49090921663
B291583A872B81   ABEL         REGINO                       CO     33065188308
B2916276993727   ERIC         GRIFFIN                      OH     90012842769
B2916514693727   BRADLEY      DANIELS                      OH     90015255146
B291717775B265   KERSTIN      SMITH                        KY     90014741777
B2917294A57444   JENNIFER     CHAPMAN                      IN     90010252940
B2918898A9194B   LAMARIA      WALKER                       NC     90009808980
B2919444693745   SHANNON      SMITH                        OH     90015084446
B291B8A122B857   SONJA        HOOEERMUNOZ                  ID     90003558012
B2921249885938   JOSE         LUIS                         KY     90010822498
B2921322293727   BRIANA       HODGE                        OH     64582463222
B2921896472B62   RUBEN        AGUERO                       CO     90011208964
B292266A298B23   ASHLEY       LAMP                         NC     90001696602
B292317697B489   LACHELLE     BROWN                        NC     90007931769
B292352A64126B   STACY        MCDONALD                     PA     51080605206
B2923567A33635   GREEN        LYNN                         NC     18029925670
B2923753893745   KRAIG        BYRUM                        OH     90009457538
B2924415831639   AMAL         MEKAEIL                      KS     90003824158
B29248A1597124   NORBERTO     MARTINEZ                     OR     90014158015
B2924A41A33635   HERNALDO     ALGUERA                      NC     90009090410
B2925517421B29   ROXANNE      RODRIGUEZ                    TX     90014935174
B292551A431639   PAYGO        IVR ACTIVATION               KS     90014455104
B2925716593764   KYLE         WARNER                       OH     90006817165
B292592715B396   TELISA       KOFE                         OR     44519969271
B2926145593752   JAMIE        KING                         OH     90011171455
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2052 of 2350


B2926364198B2B   MARIA        DIAZ                         NC     90012963641
B292636A37B489   TOMOKO       MATTHEWS                     NC     90014683603
B2926736157444   CLEMENTINE   FORD                         IN     90009317361
B292679232B857   JESUS        CAMPOS                       ID     42080417923
B2927468551339   WILLIAM      STINNETT                     OH     90014494685
B2927594385927   MONICA       JOHNSON                      KY     90000275943
B2927789972B69   OLU          VILLALOBOS                   CO     90005737899
B292779232B857   JESUS        CAMPOS                       ID     42080417923
B2927A7A393745   CHRISTY      HARRIS                       OH     90014570703
B2928858931639   JONATHAN     SHELINBARGER                 KS     22013138589
B292898A455947   DELGADO      LUIS ALFREDO                 CA     49096329804
B292967385B592   SAMUEL       SANDOVAL                     NM     90008526738
B2929993876B27   ANTONIO      AGUILAR                      CA     46092419938
B2929A74993752   SUSAN        SLY                          OH     90006240749
B292B3A3497124   DUSTIN       PAGE                         OR     90014563034
B292B841893752   TANGEE       OLINGER                      OH     90012288418
B292BA16824B64   DANIEL       BROWN                        DC     90009040168
B29318A912B857   ANNA MAY     CALSON                       ID     90000558091
B293244465B571   TOMASA       MOLINAR                      NM     35075824446
B293267299194B   RAKIM        ATKINSON                     NC     90006506729
B293275722B857   JACOB        ILG                          ID     90014937572
B293318867B489   MARKEITH     RIVERS                       NC     90003461886
B29333A7241298   JOSEPHINE    OWENS                        PA     51054493072
B293374A95B396   PHARA        FRANCOIS                     OR     90006797409
B293397328B337   NATALIE      GUNTER                       SC     90002329732
B2933A7642B857   MISTY        WADE                         ID     90012240764
B2934177993752   LESLIE       CURTIS                       OH     90009761779
B29342AA35B265   VICKIE       FOREHAND                     KY     90014742003
B2935386157444   JOAQUIN      BECERRA                      IN     90015353861
B2935664697124   MARIA        MORALES MARQUEZ              OR     44075466646
B293578232B857   FALLON R     WHETZEL                      ID     42014897823
B2937AA4272B69   NICK         BARELA                       CO     33087550042
B2938286A7B489   EBONY        PORTLOW                      NC     90011412860
B2938492293745   SHANNON      THOMPSON                     OH     90005334922
B2938496372B62   DONOVAN      STUBBS                       CO     90012114963
B2939663271929   ANGELA       ALCALA                       CO     32040856632
B2939899293752   PATICIA      MOORE                        OH     90012658992
B293B165793745   CHRISTOL     CAFFEE                       OH     90015601657
B293B641472B62   FABIAN       SILVA                        CO     33095966414
B293B742672B69   MARIA        VALLE                        CO     90000667426
B294113345B396   DUSTIN       JOHNSON                      OR     90013771334
B294118745B396   DUSTIN       JOHNSON                      OR     90003941874
B294118785B572   ODELIA       TRUJILLO                     NM     90002091878
B2941668724B3B   VALERIA      PERSON                       DC     90013946687
B294174685B265   ALICIA       MOORE                        KY     68072267468
B2941945A97124   JOSH         IVERSON                      OR     90009919450
B2941A1382B857   ALEJANDRO    GONZALES                     ID     90014940138
B2942178193727   LAKESHA      HERRON                       OH     90014851781
B294222A65B265   PAUL         PRYOR                        KY     90014742206
B2942434272B62   KAYLA        DENNIS                       CO     90014454342
B2942489493746   MICHELLE     CAMERON                      OH     90013164894
B2942A9412B941   LISA         EPPERLEY                     CA     45063480941
B2943259372B62   IVAN         RODRIGUEZ                    CO     90012542593
B2943392633635   CHERRELLE    BRYANT                       NC     90014083926
B2943A49172B62   CARLOS       ZEDILLO                      CO     90006100491
B2944649661825   KELSEY       HAWKINS                      IL     90015446496
B2945581A5B14B   PRECIOUS     MILLER                       AR     90001535810
B2945795141229   SPENCER      BUCHANAN                     PA     90013937951
B2947479872B69   DEBRA        ALPS                         CO     90008474798
B2947986743585   EDWARD       SCHNEIDER                    UT     90003389867
B294811A593727   DERRON       CLEMENTS                     OH     90013881105
B2948848893745   SHELLY       GREATHOUSE                   OH     64538948488
B2949251193727   MICHAEL      ALLEN                        OH     64586162511
B2949475491978   LATONYA      CARTER                       NC     90003684754
B29494A2A93752   ERIN         GREEN                        OH     90014534020
B294984739286B   BEVIN        YUYAHEOVA                    AZ     90015458473
B294B267676B27   JOSE         CASTRO                       CA     46025852676
B294B9A6733635   CHRIS        CARROLL                      NC     90013669067
B2951258297124   REBECCA      KELTZ                        OR     44037022582
B295132762B271   SHANEIKA     ROBINSON                     DC     90005513276
B295133A285927   ROBERT       MENEFEE                      KY     67024343302
B2951867572B62   DESTINY      MANZANARES                   CO     90013018675
B2951992633635   LETITIA      FOUST                        NC     90010289926
B2951A26655947   CHAI         XIONG                        CA     90000970266
B2951A49993752   BILLY        BACK                         OH     64529230499
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2053 of 2350


B2952473591983   XENIA        WILLIAMS                     NC     90001914735
B2952692961825   TAMEKA       TURNER                       IL     90014726929
B2952733297124   MICHELLE     DOW                          OR     90009677332
B2953514324B64   ALEXIS       MARQUEZ                      DC     90004905143
B295436A193745   NICOLE       POOLE                        OH     90012003601
B2954641891978   QIANA        MCCAIN                       NC     90011626418
B2954A92A72B62   ANA          WILLSON                      CO     90005210920
B295531932B271   KENNETH      ROBIN                        DC     90015213193
B2955AA9993745   GLADIS       RAMIREZ                      OH     90001630099
B29571A1293745   LATRINA      PORTER                       OH     64594251012
B295756735B396   SARAH        LAYTON                       OR     90013405673
B2957854231639   RONALD       BOOKOUT                      KS     90013018542
B2958581A5B14B   PRECIOUS     MILLER                       AR     90001535810
B2958981372B69   REBECA       COOPER                       CO     90009369813
B295924694B537   EDGAR        DAVIA                        OK     90009702469
B2959364997124   PATRICIA     JOHNSON                      OR     90009533649
B2959A9A172B69   CHARLES      LAWAGA                       CO     33023360901
B295B164693727   KATHLEEN     BAIRD                        OH     90014171646
B295B213272B69   GISELLE      BUSTILLOS-CANO               CO     33006632132
B295B669793752   ELAINE       DRAKE                        OH     90008796697
B295B69759194B   SHEYLON      WILLIAMS                     NC     90010516975
B296282362B857   STEPHANIE    JOHNSON                      ID     90014938236
B2962833993727   SCOTT        MUNOZ                        OH     64536648339
B29629A847B443   ALISHA       LIGHTHER                     NC     90001269084
B296336258B185   PERLA        TOLMAN                       UT     90007623625
B29633A387752B   JULIA        SMITH                        NV     43003133038
B296365A976B27   SABAS        LOPEZ                        CA     90002656509
B296382362B857   STEPHANIE    JOHNSON                      ID     90014938236
B296431972B271   RUDGLE       WILLIAMS                     DC     90015213197
B2964581A5B14B   PRECIOUS     MILLER                       AR     90001535810
B2965163672B69   DESTINY      STONE                        CO     90006001636
B2965351A7B489   VIVIAN       JOHNSON                      NC     90011173510
B29654A1281621   LOUIS        CARTER                       MO     90002514012
B29667AA493752   MELINDA      HOLLINGSHEAD                 OH     64583987004
B2966913833635   JENNIFER     MEBMAE                       NC     90012759138
B296732184B243   SANDRA       ANDERSON                     NE     26016583218
B296779A36192B   LYDIA        AGUILAR                      CA     90004577903
B2968247872B69   CHRISTINE    MEDINA                       CO     90013512478
B2968358872B62   GLENDERIKA   GARCIA                       CO     90008463588
B29694A2231688   DONITA       KELLOGG                      KS     22012534022
B296B365891973   MARIA        CRUZ                         NC     90013003658
B296B439A97124   BRANDY       PHILLIPS                     OR     90009484390
B297164792B271   ALLEN        SHEILA                       DC     90015176479
B2971958493752   SARAH        KUHNS                        OH     90013339584
B297228755B265   ANTHONY      BOARD                        KY     90014742875
B297241133B333   AMELIA       WALDRON                      CO     33096964113
B297246A59194B   MARCELINO    GUEVARA PRIMERO              NC     17083934605
B297328647B489   JAMILLA      STALLWORTH-CURRY             NC     90013042864
B2973362631639   JEREMY       COLLINS                      KS     22061563626
B2973879855947   MONICO       SANSON                       CA     90013308798
B2973951393745   GARE         STARBUCK                     OH     90012869513
B2973A4529194B   MELUDI       ESPINAL                      NC     90002470452
B2974775A93727   KASEY        LOWE                         OH     90013897750
B2974A78A33635   ANTHONY      MOORE                        NC     90006660780
B297511A972B69   OSCAR        GARCIA                       CO     90006721109
B2975189193745   PAMELA       FITZWATER                    OH     64529041891
B2975273297124   FERNANDO     ACOSTA                       OR     90002332732
B2975A48555947   MARISA       CANEL                        CA     90001000485
B2976326433635   INDIA        COBLE                        NC     90014563264
B297676324B232   SONIA        GATICA                       NE     90013867632
B297825855B561   DANNY        BROOKS                       NM     35010962585
B2978792555972   ANDRE        ROBINSON                     CA     90005477925
B297B666824B3B   LAMOUNT      PAYNE                        DC     90014096668
B297B676193752   INDIA        BOLDWARE                     OH     90012196761
B298163772B271   ISHMAEL      DADE                         DC     90013676377
B2982172A5B25B   JULIO        LOPEZ                        KY     90006251720
B2982567133635   CESAR        SALAS LOPEZ                  NC     90013695671
B298273A593745   TANYA        JOHNSON-WILSON               OH     90013637305
B2982748393727   DENICE       FAVORS                       OH     64589497483
B2983334793727   QUENTINN     NORRIS                       OH     90014533347
B2983929593752   TERESA       WELLS                        OH     64569299295
B298396425B991   FELIPE       ANGUIANO                     WA     90015389642
B298489987B489   JOSE         PALMA                        NC     11073168998
B298492AA91978   FRANK        VETERE                       NC     90010389200
B2985A61655947   ROBERT       INOCENSIO                    CA     90008310616
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2054 of 2350


B2986241393745   CHAD            DORMAN                    OH     90015602413
B298643464B564   CRYSTAL         KEELER                    OK     90014884346
B2986539184373   DONALD          WARREN                    SC     19091295391
B2986637A9194B   CHERYL          NELSON                    NC     90014836370
B298695655B396   MALLORY         CARRILLO                  OR     90014079565
B2986A46893745   ANGELA          POARCH                    OH     90011000468
B2986A64124B3B   KANYA           GRIPPER                   VA     90013950641
B2987253672B69   ULYSSES         DICKENS                   CO     33061332536
B298736197B489   ANABELA         DUBON                     NC     11002663619
B29886A9793745   DUANE           CHILDRESS                 OH     90013696097
B2988A76A76B27   JOSE            CRESPIN                   CA     46094120760
B298973482B941   MARC            MC DONALD                 CA     90006427348
B298B816193727   OSCAR           FERNANDEZ                 OH     90012218161
B299151A551329   SHIRL           HOWARD                    OH     90008995105
B299153A17B489   JOAN A          OMUZURUIKE                NC     90010205301
B299177545B265   KOCHURANI J     THOMAS                    KY     90004817754
B29919A5A72B69   SONIA           OROZCO                    CO     90014179050
B2992443851324   TERESA          GRISSOM                   OH     66063364438
B2993A94685927   PATRICIA        LAWSON                    KY     90012960946
B2994281A93764   BRIAN           PERRY                     OH     90005392810
B2994486431688   PHILLIP         GREEN                     KS     22028894864
B2994716433635   CHANCE          MASHBURN                  NC     90013757164
B29948A925B396   RULLA           AL SAEDI                  OR     90012558092
B2995245293726   LISA            KAY                       OH     90014832452
B2995512A93727   BRANDON         RYAN                      OH     90012885120
B299586378B12B   DELILA          LARSEN                    UT     90011858637
B299596215B396   DARCY           WILLIAMS                  OR     90014079621
B2996235757444   MARQUITA        POLLINS                   IN     90015412357
B299722495B545   PAULA R         APODACA                   NM     90009982249
B299774772B271   SAVONYA         SMITH                     DC     90003787477
B29978A385B545   PAULA           APODACA                   NM     90014808038
B2998168191978   MARIA           PAREDES                   NC     17082661681
B2999237524B3B   MALIK           SHAKUR                    DC     90013952375
B2999915293752   BRIDGET         WIELATZ                   OH     64583929152
B299B138964121   JAUN            CEJA                      IA     90013941389
B299B638493752   TAMARA          ORDING                    OH     64560996384
B29B1281372B62   ANGELA          GONZALES                  CO     33099762813
B29B172162B857   JUANITA         OWENS                     ID     90010557216
B29B2312333635   JOY             HARRIS                    NC     18009243123
B29B261232B941   AZEEZ           KOSHABA                   CA     45030756123
B29B4894384373   MICHAEL         PACK                      SC     90006588943
B29B5341193727   ERIKA           WARD                      OH     64501953411
B29B5832391261   MONIQUE         HENDERSON                 GA     14564688323
B29B5835231639   VINCENT         GALLARDO                  KS     90012938352
B29B5915891978   JASMINE         MERRITT                   NC     90010109158
B29B5A68691574   EDMUNDO         MARTINEZ                  TX     90001260686
B29B616A55B265   COURTNEY        MOHAMED                   KY     90014741605
B29B6449972B69   RUTH            APODACA                   CO     90013644499
B29B761759194B   TIAWANNA        GOLDSTON                  NC     17014316175
B29B8126455974   ABEL            VILLA                     CA     90014121264
B29B8357231688   ANNEMARIE       WHITE                     KS     90003833572
B29B8963593763   GEORGE          DANGERFIELD               OH     90012599635
B29B958212B974   ENJOLI          HALL                      CA     90008635821
B29B9624572B62   KEVIN           HOWARD                    CO     90000526245
B29BB14625B265   AMILCAR         MORALES                   KY     90014751462
B29BB82142B857   ROCIO           ANGUIANO                  ID     90008128214
B2B11196491978   SYLVIA          MCLAUGHIN                 NC     90013911964
B2B1142632B941   FRANCES         BRAGGS                    CA     90013954263
B2B1151292B857   JAMIE           HAGEN                     ID     90014775129
B2B11626593752   DEBORAH         BENSON                    OH     64512906265
B2B1211472242B   CESAR           ORTIZ                     IL     90015611147
B2B13193593752   CHERYL          PAYNE                     OH     64575751935
B2B1334939194B   SANTORA         ERANS                     NC     90003233493
B2B1382A32B857   ELIZABETH       PACKINEAU                 ID     90005548203
B2B1384455B541   SHASTA          ROMERO                    NM     90011678445
B2B138A165B265   WILLIAM         SMITH                     KY     68050588016
B2B13978A91978   PAYGO           IVR ACTIVATION            NC     90006879780
B2B14415441258   BRINNANY        HILLINGER                 PA     90001404154
B2B14547793727   DEIDRA          THOMAS                    OH     90009685477
B2B1454A172B69   JOLEEN MARRIE   BLAIR                     CO     90007875401
B2B1461525B396   NICOLE          SMITH                     OR     90015306152
B2B15274693745   STEPHANIE       CRAIG                     OH     90009752746
B2B15364372B69   SARAH           PEDIGO                    CO     90013963643
B2B157A4291971   JAMES           PHILLIPS                  NC     90013947042
B2B1585A193752   NASHONDA        HAWKINS                   OH     90003508501
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2055 of 2350


B2B1598195B265   JOYCE        BORDERS                      KY     90001559819
B2B15A5125B396   JESSICA      LEWIS                        OR     90008860512
B2B16153485927   JALIL        BEARD                        KY     90012331534
B2B16473261825   CRYSTAL      PRISTON                      MO     90015444732
B2B1651292B857   JAMIE        HAGEN                        ID     90014775129
B2B16762331688   MARTIN       AGUILAR                      KS     22040147623
B2B17339854B76   MANUEL       REYES                        VA     81061173398
B2B1741292B271   JAMES        PORTIS                       DC     90014584129
B2B17612898B23   LASONYA      JORDAN                       NC     90004376128
B2B17654A5B555   LILLIAN      GRIEGO                       NM     90011506540
B2B17A9A45B396   ERVIN        HEILMAN                      OR     44587530904
B2B18A55572B69   LORENA       MARISCAL                     CO     33058170555
B2B1932A533635   PAYGO        IVR ACTIVATION               NC     90011493205
B2B1988125B265   JOHN         ISON                         KY     90013938812
B2B1B42A25B265   RENITA       SHAW                         KY     68017274202
B2B1B59712B271   RICH         BROOKS                       DC     90014455971
B2B21769593745   SAMANTHA     MARCUM                       OH     64573467695
B2B21882155947   GABRIELA     NUNO                         CA     49075688821
B2B22424755947   DESIREE      VICTORIA                     CA     49012694247
B2B236A3393745   MARCOS       GOMEZ                        OH     90003766033
B2B23877872B62   TYREL        DESMARAIS                    CO     90013748778
B2B2475248B13B   LANGAKALI    IONGI                        UT     90008547524
B2B25A65233635   LAKESHIA     JAMES                        NC     90013540652
B2B2661935B396   NATHEN       LEWALLEN                     OR     90015306193
B2B267A5655947   PHIA         XIONG                        CA     90004197056
B2B28236A5B265   JESSICA      KARNER                       KY     90008922360
B2B2855338B197   HEIDI        WILLIAMS                     UT     90012255533
B2B28691561429   SHELLEY      BROWN                        OH     90014106915
B2B2875742B271   MARTINA      GOMEZ                        DC     90010737574
B2B2877522B941   ELIZABETH    LUNA                         CA     90013977752
B2B289A7897124   ANNIE        MATA                         OR     44038509078
B2B2947639713B   ZAINAB       COLE                         OR     90011524763
B2B29592A2B857   THOMAS       FREINWALD                    ID     90014765920
B2B295A9433635   JASMINE      PAYLOR                       NC     90011095094
B2B2B375A5B338   RACHELLE     ZUPAN                        OR     90013133750
B2B2BA5937B489   JERICHO      MOORE                        NC     90013810593
B2B31558A7B489   TYREU        LUNCH                        NC     90014955580
B2B31943A91248   MAREASIA     JOHNSON                      GA     90005209430
B2B31A2117B489   ANTRELL      NEAL                         NC     11019170211
B2B3255167B335   DAWIT        TSEGAYE                      VA     81096725516
B2B32799285927   JAMES        RAYFORD                      KY     90013617992
B2B33222293727   WILLIAM      MURPHY                       OH     64551862222
B2B3331872B271   MICHOLE      NELL                         DC     90015133187
B2B33938372B62   CARMEAL      REDD                         CO     33089599383
B2B33AA755B265   KELLY        SHERRARD                     KY     68053690075
B2B34121572B62   CASSANDRA    KOLE                         CO     33072931215
B2B346A5A4B996   ESTER/JAIM   VASQUEZ/ RALDA               TX     76500916050
B2B34738A24B55   DANIEL       JONES                        DC     90011797380
B2B34748443577   DUSTIN       BURCH                        UT     31012877484
B2B3545927B489   MARIA        HERNANDEZ CRUZ               NC     90013984592
B2B35996791248   BODUA        GORDON                       GA     14596589967
B2B35A36885927   SUZANA       MUKANDAMA                    KY     90011450368
B2B36226593764   APRIL        ROBERTS                      OH     90006742265
B2B3721A393766   JUAN         VALLAVARES                   OH     90002212103
B2B37224193752   JERLE        HOUSTON                      OH     90012252241
B2B3737187B489   JESSICA      JARRELL                      NC     90012463718
B2B38148193752   ALICE        THOMAS                       OH     64543671481
B2B3852245B396   MOHAMED      AHMED                        OR     90005555224
B2B3B131872B69   BRANDON      WASHINGTON                   CO     90013211318
B2B3B51112B271   MICHEAL      THOMAS                       DC     90013465111
B2B3B542397124   WYNTER       ATKESON                      OR     90014025423
B2B3B847693745   SAUL         RAMIREZ                      OH     90013828476
B2B416A4A2B857   CARMEN       ADAMS                        ID     42059246040
B2B41914593745   SETYS        KELLY                        OH     64550489145
B2B42197193752   MICHAEL      FISHER                       OH     90010861971
B2B4231155B265   THOMAS       LEVETT                       KY     68074443115
B2B42736533635   NATHAN       STANLEY                      NC     90008347365
B2B4288192B857   NAOMI        GOMEZ                        ID     90013158819
B2B43575193745   KIM          PRICE                        OH     64553225751
B2B43A76947839   JEROME       VANZANT                      GA     90011880769
B2B4528645B265   OFELIA       CHAVEZ                       KY     90011422864
B2B45416A5B396   MARCELLA     ANDERSON                     OR     90012314160
B2B46152793752   BLANCHE      WRIGHT                       OH     90005561527
B2B46564672B62   BOBBIE       ROLLINS                      CO     90014615646
B2B4677689194B   EMILY        MAC RAE                      NC     90003237768
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2056 of 2350


B2B4679513B352   GILVERTO     LOZANO                       CO     90000507951
B2B46826357149   AHMADPOUR    MONICA                       VA     81070868263
B2B474A1433635   SUK          CRICKET                      NC     90013064014
B2B4757645B396   KEITH        MONORE                       OR     90015125764
B2B4761754B521   HERIBERTO    ROSALES                      OK     90008406175
B2B48381493727   JORDAN       PECK                         OH     90011433814
B2B48484485927   KRISTIN      MATTINGLY                    KY     90006294844
B2B485A2955947   GUADALUE     VALENCIA                     CA     90014835029
B2B4B284572B69   JOY          MEDINA                       CO     90002652845
B2B4B29412B271   BARBARA      RAYE                         DC     90011292941
B2B4B52A897124   HEATHER      AKIN                         OR     44065415208
B2B4B899293752   PATICIA      MOORE                        OH     90012658992
B2B5121517B489   ROBERTO      SANTOS                       NC     90010452151
B2B51A43297124   KIMBERLY     LOUDON                       OR     44035090432
B2B5232755B265   BROOKE       LINDSEY                      KY     90014693275
B2B5245432B271   CHARVE       ALLEN                        DC     81012074543
B2B52521A76B27   CLARA        MAYOR                        CA     46072085210
B2B525A8197982   ANASTACIO    CARLOS                       TX     90003165081
B2B53116193752   JEREMY       YOUNDER                      OH     90015461161
B2B53295251347   BETH         IRWIN                        OH     66014792952
B2B54161991978   REDAE        GOITOM                       NC     90012481619
B2B5547145B265   BRITTNAY     DAWSON                       KY     90010304714
B2B55AA667B489   MARCELINA    CASTREJON                    NC     90015210066
B2B56166961925   ALLASON      MCCABE                       CA     90002771669
B2B56334372B69   MARIA        HOUCHINS                     CO     90012853343
B2B5649A891582   MARIA        PONCE                        TX     90012084908
B2B56781A85927   CASEI        TACKETT                      KY     90012947810
B2B56896733635   LEAH         GUSMAN                       NC     90013398967
B2B57A7255B396   RASHAUD      HORSLEY                      OR     90008620725
B2B58332531639   AMANDA       WATSON                       KS     90013923325
B2B5837595B265   NICHOLAS     ROBERTS                      KY     90014693759
B2B59145291573   VANESSA      PUENTES                      TX     90010701452
B2B59432A72B69   ANGIE        URIARTE                      CO     90014564320
B2B5946592B857   SYLVIA       MARTINEZ                     ID     90007894659
B2B59552933635   SHEILA       BURHAN                       NC     90015005529
B2B5991495B396   JENNY        DAVILA                       OR     90015109149
B2B5B194855947   OLIVIA       SQUAGLIA                     CA     90012681948
B2B5B492672B69   LETICIA      MACIAS                       CO     33030954926
B2B61666572B62   ALLAN        WALLACE                      CO     33042966665
B2B6274A42B941   JUAN         SOTELO                       CA     90014187404
B2B62957355947   SOPHAT       YIN                          CA     90003069573
B2B63629431639   ANDREA       BUSH                         KS     22086726294
B2B63753972B69   RUBEN        CASTANEDA                    CO     33055427539
B2B63A33593727   ADOLFO       HERNANDEZ                    OH     64523770335
B2B6481472B941   SELINA       MUNOZ                        CA     90014188147
B2B64847593727   JOE          HOPKINS                      OH     90013718475
B2B64991993727   JOE          HOPKINS                      OH     90014599919
B2B65421772B62   DOMINGO      FLORES                       CO     33081354217
B2B65977872B22   TAMMIE       JATKO                        CO     90010309778
B2B6631122B841   AFEWORKI     WOLDEMICHAEL                 ID     90015253112
B2B66457493764   JAVIER       LLANO PIAGO                  OH     90006744574
B2B67257493727   TINA         CUNNINGHAM                   OH     90011242574
B2B6844295B265   DARTHY       NOBLE                        KY     90014694429
B2B6856192B857   LISA         CASCINO                      ID     90014775619
B2B68648893727   JALIA        WILLIAMS                     OH     64564706488
B2B69315372B69   SONIA        GONZALES                     CO     90009473153
B2B69361972B62   DAVID        FOX                          CO     90014553619
B2B69392591978   LAURO        MELGAR                       NC     90011283925
B2B69726A55947   JUAN         ROSALAS                      CA     90013707260
B2B698A5193727   BELINDA      COTTRELL                     OH     64503678051
B2B6B438431639   ROBERT       TREFETHEN                    KS     90005664384
B2B6B687572B62   MATT         CLEM                         CO     90013976875
B2B6B993272B69   MARY         SCHOEN                       CO     33032499932
B2B71648293745   BRITTANY     YOUNG                        OH     90014346482
B2B71892191978   BIANCA       SMITH                        NC     17048818921
B2B71A8632B625   PETER        PARLETTE                     WA     90015350863
B2B7242662B941   CHARLES      DELHART                      CA     90003684266
B2B7545465B265   PATRICIA     BOWERS                       KY     90014694546
B2B75472172B69   EMMA         LEE                          CO     33086284721
B2B7569255B396   TWILA LEE    TURTURA                      OR     90014016925
B2B76237255947   MARY         SANDOVAL                     CA     90014682372
B2B77469272B69   SOCORRO      PEREZ                        CO     90005414692
B2B77A4482B844   KATHIE       MARTINEZ                     ID     90013170448
B2B7898967B489   PAUL         FINGERLE                     NC     90012959896
B2B78A3395B265   LARHONDA     HARRISON                     KY     90011050339
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2057 of 2350


B2B79655892871   ESTELLA      MARTINEZ                     AZ     90014986558
B2B79683793727   CAROL        HEREDIA                      OH     90010666837
B2B7983A92B941   DANIEL       LOPEZ                        CA     90014218309
B2B7B55692B941   RAYMUNDO     GARCIA                       CA     90014205569
B2B81435472B69   FERNANDO     URVINA                       CO     90012104354
B2B8152333363B   GLENDA       POTTS                        NC     90004275233
B2B81976872B62   ELIZABETH    SANDOVAL                     CO     33011269768
B2B82227A93745   JUSTIN       BOSTIC                       OH     90013882270
B2B82428472B62   SHAWN        BRYANT                       CO     33019464284
B2B8269A57B489   BRANDY       CAUDILLO                     NC     90002346905
B2B82A3395B265   LARHONDA     HARRISON                     KY     90011050339
B2B83446185927   CODY         LOPEZ                        KY     90015174461
B2B83687993745   DARLA        MCCLANAHAN                   OH     64515156879
B2B83958593764   SHERICE L    KING                         OH     90000279585
B2B8413A62B941   GUADALUPE    GONZALEZ                     CA     90009641306
B2B84559761982   SAMUEL       NEHEMIAH                     CA     46064535597
B2B85457191978   MARVIN       CRUZ                         NC     90001364571
B2B85496355947   ASHLEY       DAY                          CA     90013044963
B2B86283693745   JEFFERY      HODSON                       OH     64540272836
B2B8719699194B   KEVIN        HAMSKI                       NC     17013511969
B2B87389493745   SHANNA       DEROSA                       OH     90013493894
B2B87677A97124   MARIA        MOLINA                       OR     90007526770
B2B8829647B489   ARANDA       PEDRO                        NC     90012222964
B2B88844172B69   LUCIA        ARMENTA DE CASTILLO          CO     33000568441
B2B8891877B489   BRITTANY     FULWILEY                     NC     90014769187
B2B8892595B572   DAWN         SLAWSHI                      NM     90004689259
B2B89712A55947   CONSUELO     VILLASENOR                   CA     90004197120
B2B8B263997124   ISRAEL       AGUILAR                      OR     90013942639
B2B8B731855947   DANIEL       CAMPOS                       CA     90014517318
B2B926AAA31639   CHRIS        MCDONELL                     KS     90012196000
B2B93382177344   MARIA        DUNU                         DC     90010533821
B2B9356A92B227   DENINE       PRAILOW                      DC     90012855609
B2B9454A62B271   ANGIE        SPEARS                       DC     90002795406
B2B9456377B489   ANGELA       PORTER                       NC     90012835637
B2B95661493752   CYNTHIA      FOSTER                       OH     64541166614
B2B95748572B62   ASHLEY       JONES                        CO     90008657485
B2B96641495624   JUANITA      LOREDO                       TX     90011546414
B2B97448855947   MARIA        GUTIERREZ                    CA     90009164488
B2B97475A91978   EDWARDO      ANGEL                        NC     90009334750
B2B97556A5B265   PAPY         MONGA                        KY     90014695560
B2B99329784373   SHANIKE      HABERSHAM                    SC     19090273297
B2B99355451332   DARLENE      BREEDLOVE                    OH     90011213554
B2B99A37971925   JENNIFER     LADUKE                       CO     90002100379
B2B9B495A85927   MONEY        TONY                         KY     90007614950
B2B9B68555B396   NOEMY        VASQUEZ CASTRO               OR     90011246855
B2B9B755A97124   JORDAN       WEAGER                       OR     90015607550
B2B9B97287B489   TERRY        REID                         NC     90013069728
B2BB1649142376   SELENA       SHAVERS                      GA     90003936491
B2BB257687B489   LAREKA       NICHOLS                      NC     90010965768
B2BB26A8693745   JAMES        REILLEY                      OH     90012766086
B2BB289282B271   STELLVONNE   JACKSON                      VA     90005008928
B2BB3927554151   JASON        LAMBERT                      OR     90011769275
B2BB4239A93727   SAM          CURRY                        OH     90005262390
B2BB473775B265   ANNA         BONTEMPO                     KY     68091297377
B2BB4815233635   JEANMYCHAL   THORPE                       NC     90012538152
B2BB5797A3B321   LAUREN       MANSANARES                   CO     90008087970
B2BB71A3672B69   CLAUDIA      ALCALA                       CO     90013511036
B2BB7649555941   LORETTA      SALAS                        CA     90006506495
B2BB8671A5B396   FIONA        PARSONS                      OR     90014016710
B2BB86A785B221   MICHEAL      BRIGGS                       KY     90012196078
B2BB884355B396   KIMBERLY     KELLY                        OR     90014038435
B2BB8922672B62   MARIA        LUEVANO-PEREZ                CO     33038629226
B2BB965879194B   NATRISHA     SHARPE                       NC     90001356587
B2BBB865197124   ANNA         MELZER                       OR     44008508651
B2BBB95297B489   DAVID        GERBER                       NC     11010789529
B2BBBA33461925   MARIO        BERNACHI                     CA     90007490334
B3111158855947   REBECCA      FERNANDEZ                    CA     90014791588
B311128742B266   HILDA        CLARK                        DC     90013402874
B31116A6A2B523   LASHAWN      HILL                         AL     90011106060
B3112282A93745   JOSH         CUTLIP                       OH     90010432820
B311247623363B   CODY         TAYLOR                       NC     90009574762
B31125A6655972   YOUA         KHANG                        CA     90002255066
B3112797285927   PAYGO        IVR ACTIVATION               KY     90013907972
B3113215572B69   RUSSELL      BURNS                        CO     90014122155
B3113228193752   AMBER        TRENT                        OH     90014872281
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2058 of 2350


B311353345B265   DORIAN           JOSEPH                   KY     90010535334
B31138A3355947   GUILLERMO        MOTA                     CA     90013668033
B3113A81191585   EDWARD           JOHNSON                  TX     90013010811
B311416435B571   GAIL             TAFOYA                   NM     90011891643
B3114497A97124   JAMES            FREDERICK                OR     90013934970
B3114695154122   ASHLEY           HANEL                    OR     90009336951
B311478A393745   MARCUS           BANKS                    OH     90008967803
B3115114785927   BRADLEY          THOMPSON                 KY     90014941147
B3115544297124   HABIBA           ABDI                     OR     90014815442
B311557A77B42B   JOSE             MARQUINA-CRUZ            NC     90012035707
B3115A77A72B69   BLANCO           GUERRERO                 CO     90011210770
B311638313363B   STEVEN           HOCKER                   NC     90006693831
B311665A891585   JORGE            ARMENDARIZ               TX     90007746508
B3116A9A136B98   SHARON           MYLES                    OR     44522790901
B311725957B443   ERICA            GAYTON                   NC     11011892595
B3117318A55986   RENEE            TORRE                    CA     90007473180
B3117576691585   JOSHUA           ROSS                     TX     90013755766
B3118114672B62   NATASHA          RUIZ                     CO     90011101146
B3118417555986   ELLIE            GAGE                     CA     90012734175
B31189A8291585   RAUL             RAMIREZ                  TX     90010169082
B311964AA31688   COOPER           GENIA                    KS     22063416400
B3119668643584   LYNDA            YODER                    UT     90010016686
B3119A19793752   FLORENCE         OWENS                    OH     90010880197
B311B46A691961   TORIANO          PERRY                    NC     90014744606
B311B558531639   SHAMETRA         ROSS                     KS     90002635585
B311BAA2461994   KIMBERLY         FERNAL                   CA     90003230024
B3121535191961   EMMANUEL PEREZ   MORALES                  NC     90014745351
B3121584872B69   CHER             NEWELL                   CO     33060915848
B3121A31591579   MARTHA           AGUILAR                  TX     75090800315
B3122171A2B941   PEDRO            ACOSTA                   CA     90006111710
B312218A572B69   STACY            CLARK                    CO     90007371805
B3122582997124   NICOLE           RAQUENA                  OR     90007195829
B3122691793727   CHRISTINA        MANESS                   OH     90011866917
B312273A472B69   ANTONIO          ROGEL                    CO     90014517304
B3123257197124   JAMES            VERINER                  OR     90015202571
B3123739157148   JAIRO            VAZQUEZ                  VA     90005967391
B312412A724B27   IKEA             FULMORE                  DC     90010571207
B312523562B941   JUSTIN           BRATCHER                 CA     90012922356
B31252A647B489   COREY            DURHAM                   NC     90014482064
B31253A1691579   SONIA            JAIME                    TX     90005583016
B3125443193752   JAENEAH          ISHMAN                   OH     90014674431
B3125844485927   VALERIA          DERISO                   KY     90009038444
B3125872455986   GILBERT          QUINTEROS                CA     49062108724
B3125A9A876B52   GABRIELA         GUTIERES                 CA     46026990908
B312629995B396   JAMES            BROADDUS                 OR     90010172999
B3126335855947   JESUS            LEON                     CA     90011853358
B3126438897124   ASHLEY           PERRY                    OR     44016384388
B312648775B999   TAMERA           KNAPP                    WA     90014814877
B3127128633646   KIM THOMAS       COVINGTON                NC     90010831286
B3127397993727   GREGORY          LEWIS                    OH     90010663979
B3127729593745   STEVE            JOHNSON                  OH     90005617295
B3128329991582   FELIPE           ROCHA                    TX     90006293299
B3128739191961   MARLEN           RODRIGUEZ                NC     17082237391
B31288A5A55947   NICOLAS          SHARP                    CA     90012778050
B3129486831688   JABULANI         SENTWALI                 KS     90002624868
B31294A155B571   ROBERT           LUNA                     NM     90014784015
B312B737972B62   PATRICIA         POAGE                    CO     90014847379
B312B79463363B   WENDY            MANN                     NC     90003237946
B312BA3962B99B   KATHY            GUTIERREZ                CA     90011430396
B3131147791248   JEDIAH           MORRIS                   GA     90010261477
B313123183363B   BILLY            BOYD                     NC     90012842318
B313147255B799   JORGE            HERNANDEZ                MN     90015344725
B3131598236B98   NANCY            MUNOZ                    OR     90015005982
B3131625472B69   PHILIP           LAQUEY                   CO     90013676254
B3132936991579   VICKY            GONZALEZ                 TX     75040679369
B3133227593727   JOSHUA           ONEAL                    OH     90011532275
B3133332224B3B   ANA              CORMAS                   VA     90011833322
B313426135B547   FAYE             GIBSON                   NM     35046592613
B313544857B489   ALEXANDER        REYES                    NC     11010044485
B3135549624B64   TAMARA           MCELRATH                 DC     90009135496
B3136364155986   STEVE            CHAIDEZ                  CA     49009433641
B3136A73936B98   LETICIA          SANCHEZ                  OR     44585570739
B313727322B99B   RAQUEL           MARTINEZ                 CA     90012562732
B3137314876B27   HAROLD           MARTINEZ                 CA     46017233148
B3137624143566   KARINA           VASQUEZ                  UT     90015306241
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2059 of 2350


B313771167B489   ERIC          POWELL                      NC     90014167116
B3137A95172B69   OSCAR         MENDOZA                     CO     33000810951
B3138214A91579   LUIS          ZAVALA                      TX     90009312140
B313834277B489   JAVIER        RIVAZ                       NC     90013923427
B313884A461963   SANDRA        ZEIGLER                     CA     46070998404
B3139277357123   MELBA         MORAN                       VA     90000212773
B313931612B99B   LINDA         SALGADO                     CA     90013673161
B313B735655986   MIGUEL        REYES                       CA     90014967356
B313BA35672B62   REBECCA       GIBBS                       CO     90003710356
B3141189372B62   DOLORES       LOPEZ                       CO     90011131893
B3141688955947   MARTHA        OROSCO                      CA     49085646889
B31417A8143566   STEVEN        BARRY                       UT     90012197081
B314261698B175   JOSHUA        SEDANO                      UT     90011086169
B314267285B527   MADISON       AYALA                       NM     90013096728
B3143123291585   CHRISTINA     VARGAS                      TX     90003851232
B3143957697124   JOEL          ELY LOPEZ PEREZ             OR     44078529576
B3144173591579   VICTOR        OLIVARES                    TX     90012951735
B314455182B99B   SONIA         DORADO                      CA     90013945518
B3144844981452   MAURA         TARASKI                     PA     90011728449
B3145223243566   DANIELLE      DRAGER                      UT     90015272232
B314585932B99B   ANGEL         MURITALLA                   CA     90014518593
B31461A8193727   STEPHEN       ENGLE                       OH     90011961081
B3146334391585   AMANDA        RENTERIA                    TX     75030383343
B3146632291961   KARINA        GARCIABAUTISTA              NC     90014746322
B3146699593745   REBECCA       JOHNSON                     OH     90003506995
B314689132B99B   ANGEL         GARZA                       CA     90005638913
B3147166433635   KAREN         HARNACKE                    NC     90008361664
B31472A577B33B   RUTH          RIVAS                       VA     90014902057
B314778254B259   KAYLA         HILEMAN                     NE     27008797825
B3147A98131688   ROBERT        NYABITI                     KS     22033200981
B314914798B141   IVANA         WASHBURN                    UT     90012481479
B3149367493727   JUSTIN        EAVERS                      OH     90015203674
B3149484451324   CLAUDE        RAINES                      OH     90006744844
B3149863872B62   ZACHARIAH     MCKINNEY                    CO     90010228638
B314B128633646   KIM THOMAS    COVINGTON                   NC     90010831286
B314B13725B381   DEVIN         DOMINGUEZ                   OR     44506391372
B3151693472B62   TAMMY         VITELA                      CO     33052286934
B31516A1891585   LISSETTE      TARANGO                     TX     90002046018
B3152356A9286B   YORDY         POZOS                       AZ     90014473560
B315244A35B396   BRITTANY      KYLLO                       OR     90010174403
B3153126A3363B   TAMEKA        HARDIN                      NC     90004431260
B3153185193752   JARED         CAIN                        OH     64521301851
B3154227255941   RICARDO       MEDINA                      CA     90000302272
B3154531193727   JANESE        ANDERSON                    OH     64509085311
B315457352B941   ELIZABETH     BRAVO                       CA     90011445735
B315516A454122   JOSHUA        LUNSKI                      OR     90012331604
B315661612B835   ANGELICA      DE LEON                     ID     90015256161
B3156617172B62   DARREN        SILVEY                      CO     33007996171
B315736352B99B   MINGUEL       RODRIGUEZ                   CA     90012003635
B315752544B52B   JUAN          VASQUEZ                     OK     90007365254
B3157811197124   ROBERT        RICKARD                     OR     44003668111
B3157826791961   ABIGAIL       CARBAJALZABALET             NC     90014748267
B315785919194B   RICHARD       MOORE                       NC     90003398591
B315851222B941   CAMMY         WOODY                       CA     90004185122
B315876615B265   ABELARDO      HEREDIA                     KY     68069167661
B3158A16491579   WENDY         NINO                        TX     90007640164
B315929A64B259   ROBERT        HAFFKE                      NE     90013432906
B31598A8993745   JOHN          OCONNOR                     OH     90006598089
B31599A8672B62   ORLANDO       ANGLADA                     CO     33096989086
B315B185772B69   LYN           BURG                        CO     33081631857
B315B35427B496   CHRISTOPHER   BOLDER                      NC     90008803542
B315B521591961   CARL          HORTON                      NC     90014745215
B315B6A642B271   DAJA          WILLIAMS                    DC     90013296064
B315B938A72B62   LEAH          MILAN                       CO     90012219380
B315B9A4A4B259   ISREAL        SANCHEZ                     NE     90002789040
B316136575B265   RENITA        THOMPSON                    KY     90010543657
B3161376495664   AUDREY        WALKER                      TX     90012863764
B3161491154122   JOSH          PANKAU                      OR     47004574911
B316171917B489   SHANNON       PLYLER                      NC     90014547191
B316262862B99B   JAMES         FULLMER                     CA     90008126286
B3163197A2B271   JOSE          QUINTANILLA                 DC     81061991970
B316339652B941   ANGELA        OURIQUE                     CA     45067673965
B31634A632B99B   DJ            NUNES                       CA     90010214063
B3164141891585   RAMON         RODRIGUEZ                   TX     90006201418
B31651A4455947   THERON        SENEGAL                     CA     90005461044
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2060 of 2350


B3165369955986   ANDRES        PINA                        CA     90014973699
B316544A691582   CARLOS        CORONA                      TX     75087664406
B3165454543566   CATHERINE     NICHOLS                     UT     90014974545
B3165A3894B521   MARCOS        LARA                        OK     90007720389
B3165A6354B259   JOSHUA        MILLER                      IA     90007280635
B316678462B941   KARINA        VARGAS                      CA     90013777846
B3166856491961   AMARI         MCCRAY                      NC     90014748564
B3167242493745   VIRGINIA      PORTILLO                    OH     90010152424
B316756894B259   MARCHY        INCHIN                      NE     27080115689
B3167616691961   KRISTIN       GREEN                       NC     90010866166
B316794A881452   JOE           GIBBS                       PA     90015289408
B3168268671931   HERMINIO      LOPEZ                       CO     90013502686
B3168332354122   LORIE         STUDEBAKER                  OR     47083933323
B3168455373247   JOE           RIVERA-PONCIANO             NJ     90014684553
B316872465B396   NADINE        PEIRCE                      OR     90006437246
B3168A27231688   HOLLY         NEAL                        KS     22091350272
B3169217472B69   MARIBEL       CORTES                      CO     33030912174
B3169459361994   BYINA         JIMENEZ                     CA     90005944593
B31694A7591579   GUADALUPE     CARDENAS                    TX     75053854075
B316996853B352   KIJAHFA       RICHARD                     CO     90010539685
B3169A41543566   PAYGO         IVR ACTIVATION              UT     90009710415
B316B694343566   KAMI          OLSON                       UT     90012056943
B316B748955947   ANDREA        CLAY                        CA     90014787489
B316BA68672B62   GIENN         SEHOEFBERGER                CO     33091360686
B31712A8591961   MONICA        CASTANON HOLGUIN            NC     90014262085
B317319AA91579   JESUS         TERRONES                    TX     90013181900
B31732A8591961   MONICA        CASTANON HOLGUIN            NC     90014262085
B3173553197124   SHAWN         LINDSAY                     OR     90004875531
B3173712354122   SHAWN LYNN    AMAN                        OR     90003807123
B317379355B265   HERBERT       ELLIS                       KY     90012257935
B3173882291579   OSCER         IBARRA                      TX     90010938822
B31742A7555947   DANIEL        MARIN                       CA     90014792075
B3174478991961   NATASHA       ROSE                        NC     17049604789
B3174881493752   ANTENISE      DENNIS                      OH     90015008814
B3174AA567B443   WENDELL       WEATHERS                    NC     90004030056
B3175143933635   PAYGO         IVR ACTIVATION              NC     90004321439
B3176167925632   RUSSELL       MALONE                      AL     90014511679
B317626A72B271   SHARON        JAMISON                     DC     90011292607
B31765A1155986   STELLA        ARCHULETA                   CA     90012755011
B3177471991579   SONIA         BATISTA                     TX     75083494719
B317751A372B69   JORGE         ARSINERA                    CO     90010375103
B3177751561994   ALEX          BEACH                       CA     90007817515
B31779A6193745   VALISHA       MOSS                        OH     64520059061
B3178567955947   TYLISHA       DELEON                      CA     90012295679
B317972919194B   TIFFANY       CHAMBERS                    NC     90010967291
B3179789343566   ROBINSON      BASHUALDO                   UT     90007297893
B3179866491585   JOE           DURAN                       TX     90001888664
B317B24A655986   DAVID         VAIDEZ                      CA     90010602406
B317B699291579   LILIANA       MELENDEZ                    TX     90012736992
B317B755791585   VERONICA      BRIONES                     TX     75095737557
B317B954161963   ROSALINDA     CRUZ                        CA     46001919541
B3181131293752   MAYRA         VAZQUEZ                     OH     64566671312
B318117A197124   CAMPOS        VERONICA                    OR     90012601701
B3181226A2B99B   MARTA         DAVILA                      CA     90013992260
B3181226A55947   VALENTIN      RANGEL                      CA     90014562260
B3181466855986   NEFTALI       ATLAHUA                     CA     90012104668
B3181558A7B443   SANDRA        CISNEROS                    NC     90001175580
B3181691A97124   MACKENZIE     TAYLOR PERFECTO             OR     44022486910
B318243A891579   MICHAEL       REYES                       TX     90007584308
B3182A7A75B265   MIRIAM        SOTO                        KY     90008920707
B3183145472B69   OSCAR         MORENO                      CO     90005731454
B3183295A2B99B   JUAN          ESPARZA                     CA     45051642950
B318332372B941   JUAN CARLOS   MORALES                     CA     90014053237
B3183369185927   CHRISTOPHER   CADDOCK                     KY     90013363691
B3183512272B62   ARACELY       RODRIGUEZ                   CO     33093315122
B3183536A93745   FRANKLIN      CASEY                       OH     90010305360
B3183A21593727   KARLA         WARNER                      OH     90012620215
B3184336493727   LETITIA       ORR                         OH     64592113364
B3184796197124   JUSTIN        PHILIPPS                    OR     90011357961
B318589717B489   ALEXANDRIA    FOSTER                      NC     90013658971
B318589A22B941   TOMASA        GALVON                      CA     90012948902
B3185979976B27   PAULA         CRUZ                        CA     90011159799
B3185A41151332   CHIQUITA      BREWSTER                    OH     90010900411
B3186213355972   JENNIE        SALINAS                     CA     90005752133
B3187914833635   HONORINA      MALDONADO                   NC     18075149148
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2061 of 2350


B3187A2392B99B   MIKE          PEREZ                       CA     90012800239
B3188144591961   THAXTON       SURLES                      NC     90010081445
B3188728793745   BERNARDO      SANCHEZ                     OH     90006507287
B3188A7774B259   JAMIE         MCNEAR                      NE     27012610777
B3189639A2B941   LINDA         DELEMOS                     CA     45021066390
B3189757372B62   TONYA         ATHERTON                    CO     33042877573
B3189939761921   MARIA         ABREGO                      CA     90008059397
B3189962A24B3B   MARIA         GODOY                       DC     90004429620
B3189A51555972   RUDY          ALMARAZ                     CA     90010200515
B318B213136B98   ANGELA        HAMILTON                    OR     44514692131
B318B214955947   EDGAR         RUIZ                        CA     90014792149
B318B628A97124   EFRAIN        MORA                        OR     90012276280
B319119777B347   MARIA         MIRANDA                     VA     90013941977
B319119932B271   ALANDA        BUCEY                       DC     90002511993
B319121299286B   JEROLD        THOMAS                      AZ     90014572129
B3191271291961   VICENTE       AVILA MARTINEZ              NC     90014762712
B319143717B489   CLARISSA      HOOVER                      NC     11066384371
B31916A815B396   ANNA          JACKSON                     OR     44537906081
B3191796197124   JUSTIN        PHILIPPS                    OR     90011357961
B3191831391592   GLORIA        LEVINS                      TX     75012078313
B3191A57391585   AARON         MEDINA                      TX     90004180573
B3191A97197124   CODY          HUDSON                      OR     90012470971
B3192221A43566   KATHY         BUTLER                      UT     31073522210
B319277A854122   DAYLA         CHERRY                      OR     90011807708
B3192837872B69   AMANDA        MENDOZA                     CO     33013378378
B3192962655972   SUNSHINE      THOR                        CA     90008679626
B3193712354122   SHAWN LYNN    AMAN                        OR     90003807123
B319434622B941   MARY          PHATCHER                    CA     45014193462
B3194456397124   CORY          RHYNE                       OR     90001174563
B319486697B489   JORGE         REGALADO                    NC     90012438669
B3194881391579   ANTONIO       FIERRO                      TX     75042528813
B3194916655972   MARIELA       PEREZ                       CA     90000389166
B319512612B271   JULIA         ACAHABON                    DC     81008681261
B3196119154122   ADAM          SZENCZI-MOLNAR              OR     47005331191
B31963A2A31452   VICKEY        HARRIS                      MO     27573973020
B3196A45598B23   CELIA         CARRILLO                    NC     11035400455
B3197258931474   CELIA         MACK                        MO     90010082589
B319755795B374   LUIS          ABREGO                      OR     90001245579
B319778442B941   DAVID         OTTE                        CA     45034707844
B3197895491248   JASMINE       WILLIAMS                    GA     90000598954
B3197A47254122   GEROD L       MARTIN                      OR     90003030472
B3197AA1572B69   HECTOR        GONZALEZ                    CO     90003240015
B3198178191961   KISHA         LESLIE                      NC     90014771781
B31983A315B383   JB            BROWN                       OR     90009823031
B319952135B396   MATTHEW       MCCONNELL HEGLAND           OR     44561915213
B319969465B221   MICHAEL       MASTERSON                   KY     90002356946
B319B499947825   SADIE         DAVIS                       GA     90008094999
B319B77A854122   DAYLA         CHERRY                      OR     90011807708
B31B115252B99B   MIGUEL        PINEDO                      CA     90011541525
B31B1419191961   ONEAL LATAY   TONYA                       NC     90013714191
B31B1728443566   DUSTY         GALLEGOS                    UT     90015097284
B31B2694393745   TOSHA         JONES                       OH     64598466943
B31B291837B489   JOSE          CACHO                       NC     90008049183
B31B3653A91961   ABDIEL        VELASQUEZ                   NC     17045236530
B31B3A17985927   BARBARA       JONES                       KY     90013150179
B31B4284791585   RUBEN         FERNANDEZ                   TX     90013872847
B31B472273363B   ROBERT        KNOTTS JR                   NC     90012757227
B31B4732A43566   CHARLES       TUIGAMALA                   UT     90013837320
B31B5573755947   ADOLFO        IBARRA                      CA     90006265737
B31B615137B489   JAMIE         BECK                        NC     11000591513
B31B6257791248   TOCCARA       WASHINGTON                  GA     90005452577
B31B6722A5B265   COREY         TAYLOR                      KY     90014977220
B31B711AA55986   SEEKHAI       VANG                        CA     90010601100
B31B739577B493   BRIDGEET      HOLMES                      NC     90013353957
B31B7576A7B489   GABRIELLE     THOMPSON                    NC     90012965760
B31B821755B396   DONNA         LENERVILLE                  OR     90013652175
B31B8475572B69   EDUARDO       PINEDO                      CO     90013104755
B31B871482B99B   FRANCISCO     DELOS SANTOS                CA     90014797148
B31B877272B99B   ELAINE        ESPINO                      CA     90011557727
B31B8834955972   JOSE          LOPEZ                       CA     49095508349
B31B941A891961   LUCY          EVANS                       NC     90014744108
B31B988614B259   AMBER         GOLIGHTLY                   NE     27001968861
B31BB157A97124   SHELBY        COLOMBO                     OR     44097141570
B31BB696A43566   ALICE         MORE                        UT     90009706960
B31BB83274B259   JULY          SHERMAN                     NE     27049298327
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2062 of 2350


B321134523363B   EDWARD           MEDLEY                   NC     90014693452
B3211351391961   MYRIAH           PUGH                     NC     90014763513
B321137192B271   JOSE             GARCIA                   DC     81040863719
B3212477691961   HERIBERTO        RENDOM                   NC     17040344776
B321297395B265   CLINT            FERGUSON                 KY     90010549739
B3213247597124   JANET            HUEBNER                  OR     90004032475
B321379388B825   KILI             MADRID                   HI     90013667938
B3213A87972B62   SIMEON           FREELAND                 CO     90013690879
B3214625561945   JOSE             TORRES                   CA     90013566255
B3214838991366   HEATHER          TRUEBLOOD                KS     29077408389
B3215371191961   JADE             GREEN                    NC     90014763711
B321592A193727   JASON            COLLINS                  OH     64536589201
B3215994A7B489   MICHELLE         EDWARDS                  NC     90011329940
B3215A24A4B259   ROSHEA           JONES                    NE     27000140240
B32161A7491579   CONTRERAS        OBED                     TX     90012841074
B3216375131639   PARRISHON        MARSHALL                 KS     90010213751
B321649872B271   DONELLA          DARBY                    DC     81040864987
B321745327B478   OSMAR            ZAPATA                   NC     90014704532
B3217723172B69   TAMARA           HARRA                    CO     90000987231
B321839633363B   SHAKILA          MOORE                    NC     90013643963
B3218418454122   IRMA             SANCHEZ                  OR     47035304184
B3218628955947   AIOTEST1         DONOTTOUCH               CA     90015116289
B321888572B99B   GRACIELA         HERNANDEZ                CA     90012698857
B3219551454122   MIKE             JOHNSTON                 OR     90011695514
B32197A7691579   ALINA            SAVAGE                   TX     75070467076
B3219915151331   DAKOTA           WATSON                   OH     90013009151
B32199A242B941   MARIA            GONZALEZ                 CA     90014169024
B3219A22861982   EYAAD            KAREEM                   CA     90012380228
B321B22568B138   MICHELLE         CLARK                    UT     90006122256
B321B25612B99B   CINDY            SANDOVAL                 CA     90013952561
B321B2A2655947   BLANCA           PENA                     CA     90014792026
B321B826297124   JUAN ALEJANDRO   TORRES MORENO            OR     90011258262
B3221329793745   LISA             JONES                    OH     90013063297
B3221A3637B378   BLANCA           MELGAR                   VA     90001050363
B32223A612B99B   ASHUR            ISHA                     CA     90013953061
B3222616691961   KRISTIN          GREEN                    NC     90010866166
B322329142B99B   RICARDO          ARGONA                   CA     90013952914
B3223384191961   EULALIO          DE LEON                  NC     90014763841
B3223811493727   DAWN             HASTY                    OH     90007708114
B3223826491585   SONIA ISELA      MARTINEZ                 TX     90011148264
B322399A472B62   HERNANDEZ        AURELIO                  CO     33059069904
B3224244443566   TRACA            RUPPER                   UT     90015102444
B322445A772B62   JESUS            PAEZ                     CO     90010234507
B322474842B941   DENNY            SOUSA                    CA     45024247484
B322516415B265   DEBBIE           RIDGWAY                  KY     90013601641
B322522A272B62   DOUG             DURR                     CO     90012442202
B3225377891585   ANGEL            TORRES                   TX     90010733778
B32255A915B265   FRANCISCO        FLORES                   KY     90015175091
B3225658281492   DUANE            GORTON                   PA     90014806582
B322598362B271   BEVERLEY         ANDERSON- SAVAGE         DC     90013799836
B3225AA8693727   CHARLENA         BROWN                    OH     90012510086
B322612443363B   MARGARITA        CORTES                   NC     90012511244
B322635958B138   JENNIFER         FROST                    UT     31072973595
B322643222B271   DANICA           PENN                     DC     90008944322
B322667A191585   JULIO            MENDOZA                  TX     75052936701
B3226843297124   GUZMAN           HERNANDEZ                OR     90008448432
B322715A893727   JANAE            VICKERS                  OH     64549311508
B3228114185927   PAYGO            IVR ACTIVATION           KY     90013811141
B3228168993745   TYQUAN           DAVIS-JACKSON            OH     90013071689
B322824A15B265   RACHEAL          HUGGINS                  KY     68070942401
B3228374993727   BRANDON          LEE                      OH     90011823749
B322837592B271   MELODY           SOYER-POLLARD            DC     90011293759
B322889143363B   RICKY            THOMPSON                 NC     90012078914
B3228A7285B396   MICHELLE         JACKSON                  OR     90002060728
B3229346155947   CELSO            GARCIA                   CA     90011663461
B3229498233643   ERIC             CHIN                     NC     90000424982
B32297A1872B62   JUSTIN           MCWILLIAMS               CO     33015047018
B322991225B265   VIOLA            REESE                    KY     90008579122
B322B35912B941   DALE             KISNER                   CA     45034563591
B322B631591324   LUIS             SALDIVAR                 KS     90005936315
B322B91563363B   SERGIO           HERNANDEZ                NC     90002619156
B323118765B572   MELINDA          SHISLER MONTOYA          NM     90013481876
B3231232891579   JOSHUA           MILLARD                  TX     90012602328
B323132615B141   ANGELA           HARMON                   AR     23034303261
B3231711555972   SEILA            AYALA                    CA     49081157115
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2063 of 2350


B323175A15B221   TERESA          PARKER                    KY     90001877501
B3231A42A42332   MOCHA           JACKSON                   TN     90015510420
B3232261A54122   NICOLE          WEAVER                    OR     47062232610
B32322A955B265   STEPANIE        RILLEY                    KY     90005212095
B3232328291579   PAMELA          GARCIA                    TX     75002153282
B3232714493727   JAMES           FLANNERY                  OH     90013257144
B3232779391582   REDE            LIDIA                     TX     90012037793
B323327A955947   ADRIANA         ZAPIEN                    CA     90014792709
B323363545B396   DENISE          CHARLTON                  OR     44562496354
B32337A792B271   GEREMIAS        MENJIVAR                  DC     81019027079
B323421814B259   SHAWNTEL        MAXWELL                   NE     27045132181
B3234652193752   DANIELLE        WALTERS                   OH     90012376521
B3235339155972   ISMAEL          ARIAS                     CA     90004413391
B3235931391961   BARBARA         GONZALEZ                  NC     90010069313
B3236215593752   MORENA          CORDOVA                   OH     64506552155
B3236234472B62   HUFF            ROSEMARY                  CO     90007082344
B3237821754122   DIANA           BROOKS                    OR     90012608217
B323858A15B265   ANETH           TELLEZ                    KY     68039745801
B323865572B941   GIOVANNI        VASQUEZ                   CA     90012416557
B3238982172B62   NAE             TAYLOR                    CO     33000259821
B323945675B162   TAKARA          LAWSON                    AR     90005474567
B323B333585927   CORTNEY         CAMPBELL                  KY     67088283335
B323B39553363B   BOKI            RAZZAK                    NC     90014663955
B323B634231428   RICHARD         MOSHER                    MO     90015296342
B323B865291579   JESUS           SANTANA                   TX     90013648652
B324119122B99B   FRANCISCO       GALLO                     CA     90014881912
B324137592B271   MELODY          SOYER-POLLARD             DC     90011293759
B3241498191579   MENDES          PATRICIA                  TX     75096964981
B3241662791585   VIVIAN          AVILA                     TX     90013076627
B3242198A72B62   OMAR            RODRIGUEZ                 CO     33081211980
B324283548B18B   ANA             ROBLES                    UT     90011768354
B3242989891961   BRITTANY        WILLAMS                   NC     90010069898
B3242A83524B27   GLORIA          PARADA                    DC     90010560835
B3242A88293727   SCOTT           PORTER                    OH     64562060882
B3243257572B69   WILLIAM         SMITH                     CO     33002642575
B3243312791579   JOSE            TORRES                    TX     90015173127
B324336455B396   MIKE            NEELY                     OR     44535023645
B324347462B941   PRISCILLA       TERRY                     CA     90014244746
B3243493691961   PAUL            LEAK                      NC     90014764936
B3243582591585   ERICKA          GOMEZ                     TX     90011465825
B324438242B99B   JADE            MERCADO                   CA     90006023824
B3244693A72B62   MIKAL           STEELE                    CO     90013016930
B3245499593745   TIFFANY         MCCLANAHAN                OH     90011104995
B324578257B489   JUANA           RAMIREZ                   NC     90014867825
B324582452B99B   IRMA            ROBLES                    CA     90009448245
B324693453363B   RIGOBERTO       BARRIENTOS                NC     12079999345
B3247467885927   ERICA           HALL                      KY     90001334678
B3247469443566   KRISTA          CARTER                    UT     90010264694
B3247922255947   CATHY           ROMERO                    CA     48097499222
B3248179843566   ROLF            PAWELEK                   UT     90002351798
B324894625B369   MARLENE         HORN                      OR     90013949462
B3248977385927   JULIE           CORNETT                   KY     90008359773
B3249116755947   ESTEBAN         MONTOY                    CA     49031101167
B3249594291579   REBECA          LARRINUA                  TX     90013775942
B3249A3752B941   MIGUEL          ORTIZ                     CA     90014470375
B324B248291961   MIKE            JONES                     NC     90014772482
B324B2A552B271   JAMES           THOMAS                    DC     90002512055
B324B53517B489   ROSETTE         SINGLETON                 NC     11077685351
B324B59232B271   RITA            INGRAM                    DC     90013975923
B324B862593727   SHAWN           IRVIN                     OH     64581808625
B324BA89361994   MARK            DANIEL                    CA     90003420893
B325123792B258   RICK            JAMES                     DC     90004282379
B325162672B271   BRENDA          GADDIS                    DC     81046816267
B325181883B333   APOLINAR        ISLAS                     CO     33096238188
B3251826391579   ANTONIO         SANCHEZ                   TX     90013798263
B325252235B264   BRENDA          CRAIG                     KY     90007395223
B325257693363B   DARNELL         WINSTON                   NC     90004095769
B3252738A4B259   JONNA           YOUNG                     IA     90002017380
B3252794A7B489   FELICIA         WILLIAMS                  NC     90010797940
B325296862B99B   BUNRORTH T      ROEUN                     CA     90014839686
B3253463371921   HANANE          HOLLINGSWORTH             CO     32068394633
B3253518261994   VICTORIA        RODRIGUEZ                 CA     46019825182
B3253974791585   DAHIEN          DE LA SIERRA              TX     90008789747
B3253988272B62   MANUEL          TAYLOR                    CO     33077549882
B3255328A7B489   TK THANG TANG   KUNG                      NC     90010103280
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2064 of 2350


B32556A225B265   TEVIN        JEWELL                       KY     90002056022
B325579812B99B   TONY         PALACIOS                     CA     90010917981
B3255823542332   SHARON       LINDSEY                      TN     90015108235
B3257262791961   CATRINA      PIERCE                       NC     90014772627
B3257621985927   LISA         JACKSON                      KY     67082946219
B325893925B356   CINNAMON     SLATER                       OR     90011279392
B325894775B396   CHAD         BETTENCOURT                  OR     90011079477
B3258A89185927   ANDREW       BARGER                       KY     90014390891
B325947215B389   APRIL        BLAUSER                      OR     90008984721
B3259594861994   DEBORA       CISNEROS                     CA     46019825948
B3259798285927   JOLENE       SMITH                        KY     67042507982
B32597A352B941   CHAD         GILBREATH                    CA     90010307035
B3259AA8661989   LESLI        QUINTERO                     CA     46029380086
B325B19437B43B   ZULEMA       VARGAS                       NC     90013431943
B325B248291961   MIKE         JONES                        NC     90014772482
B325B559285927   SCOTT        FRANKLIN                     KY     90014915592
B325B71917B489   SAUL         FRANCO                       NC     90007797191
B326157982B99B   SALVADOR     CHAVEZ                       CA     90015045798
B3261594791961   MORRIS       EVANS                        NC     90013925947
B3262434A91579   CYNTHIA      QUINTANA                     TX     90010284340
B326269A22B221   LATOYA       HILLARD                      DC     90010756902
B32627A2A93752   JESUS        JARILLO                      OH     90013377020
B326311A231639   MINDY        KERSHAW                      KS     22085821102
B326365717B489   DARNELL      BRANNON                      NC     11045776571
B3263672791961   CATALINA     VARGAS                       NC     90013586727
B32637A385B396   MICHAEL      VOGT                         OR     90005757038
B3264229793752   FIONA        DAVIS                        OH     90008132297
B3264236355972   SHONDRA      CLARK                        CA     90007322363
B3264874572B69   DEVORON      MARTINEZ                     CO     90012338745
B3264955593727   JANICE D     REESE                        OH     90006069555
B3264965385927   DONALD       JONES                        KY     67063849653
B326578A291585   ANA          RINCON                       TX     90011957802
B3265857293752   DEBRA        STEWART                      OH     90013348572
B32659A4293727   DEONE        JEFFERSON                    OH     90005409042
B326631A755947   AUDRE        LEWIS                        CA     90014793107
B326664735B265   VICTOR       HODGE                        KY     90008356473
B326681A23363B   MANUEL       TORRES                       NC     90014758102
B3267741447942   FRANCISA     LOPEZ                        AR     90001457414
B326847862B271   JOANNE       ADDISON                      DC     90006574786
B32684AA985927   JEANNA       WALLACE                      KY     90012604009
B326887639194B   ERICA        NAJERA FLORES                NC     17046638763
B3269868291885   JULIAN       WILSON                       OK     90005018682
B326B179755947   DOMINIQUE    BORRACCINO                   CA     90011721797
B326B255172B69   AURORA       BARRERA                      CO     33011832551
B326B97835B396   JUANITA      ELLIS                        OR     44545519783
B326B987531639   ERIC         MCNEAL                       KS     90010119875
B326BA29485927   ASH          JOHNSON                      KY     90012650294
B3271244755947   ROBERT       BLUNT                        CA     49084512447
B3271452491248   WILLIAM      MORGAN                       GA     90005484524
B327157352B99B   ELIZABETH    BRAVO                        CA     90011445735
B32717A3785927   GENAH        THORTON                      KY     90010917037
B3271A1127B443   SHAKIRA      MALLETTE                     NC     11046520112
B3271AA1931688   MARTIN       ZAPOTE                       KS     22094220019
B327216245B373   GARY         GETCHELL                     OR     90007631624
B3272317455947   HERNAN       GONZALEZ                     CA     90014793174
B3272A83A72B62   JOHN         RECHARD                      CO     90014780830
B327339692B271   JOSE         HERNANDEZ                    DC     90011563969
B32738A9993752   DORA         CORNWELL                     OH     90013598099
B327446AA72B69   ERNESTO      GARCIA                       CO     33015054600
B3274661331639   JOSE         LOPEZ                        KS     90011556613
B3274811697124   JOE          D KEENER                     OR     44088458116
B3275377393745   KRISTEN      ZIEGELER                     OH     90009013773
B32757A1872B62   JUSTIN       MCWILLIAMS                   CO     33015047018
B3275967493752   NAPIER       LAKI                         OH     90001369674
B327641392B271   KISHA        BERRY                        DC     90014484139
B3276559472B69   VIRGINIA     CORDOVA                      CO     33014395594
B327737957B489   HUMBERTO     NIETO                        NC     90013033795
B327746882B271   NAKIA        CHAMBERS                     DC     90011294688
B3277552376B27   ALEJANDRO    HERNANDEZ                    CA     46045325523
B327872225B375   WILLIAM      MACFARLAND                   OR     44525027222
B3278786293745   JOSEPH       LAPP                         OH     90003477862
B327925365B396   HILARIA      AYALA                        OR     44500112536
B327932122B99B   CLAUDIA      ALCALA                       CA     90007233212
B327933512B941   CLARA        HERNANDEZ                    CA     45020753351
B327B268393745   STEPHAN      BREWINGTON                   OH     90014152683
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2065 of 2350


B327B463961994   DANI          HILTON                      CA     46020214639
B327B486A31639   BEVERLY       BROWN                       KS     22056004860
B327B622272B69   JORGE         OLIVAS                      CO     33072436222
B3281365772B62   YURI          ARANDA                      CO     90007263657
B328145A785927   AUSTIN        STELLA                      KY     90014874507
B328148772B99B   JOYCE         AUSTIN                      CA     90013014877
B3281A33472B69   LACRISIA      EN LINDA HOWARD             CO     90011940334
B3282374993727   BRANDON       LEE                         OH     90011823749
B3282424793745   SEAN          MCKINNEY                    OH     90012714247
B3282528831639   JOHANNE       VANVESSUM                   KS     22097765288
B3283382655947   CHINDA        VONGHAMPHA                  CA     90014813826
B32834A2333635   DEIDRE        MAPP                        NC     18071484023
B3283516491961   MILAGRO       RODRIGUEZ                   NC     17065565164
B3283561176B27   JENNA         HOOSIER                     CA     90013785611
B3284136585927   PERCILLA      GEH                         KY     67096231365
B328423592B271   SABIS         ADAIMS                      DC     90013502359
B328426933363B   PARIS         GILES                       NC     90005382693
B328437A85B396   PAT           WHITE                       OR     90012663708
B3284AA815B265   VENICE        RANSOM                      KY     90013220081
B328534675B396   BRETT         WELLS                       OR     44567563467
B3285391372B24   DAVID         ALLMER                      CO     90001523913
B328545855B376   JAVIER        RENDON                      OR     44507994585
B32857A7A77556   MATTHEW       GREGORY                     NV     43034947070
B3285861455972   DEEDEE        FINN                        CA     49025448614
B328625A455972   ELIZABETH     RAMOS                       CA     90008692504
B3286545976B33   JOSE          MAYORAL LOPEZ               CA     90009505459
B3287344593745   BRYANT        BURTON                      OH     64578963445
B32873A6972B69   GERARDO       MORALES                     CO     90013243069
B328746142B99B   LASHELL       COWAN                       CA     90012084614
B3287A2655B265   KATIE         THORP                       KY     68032970265
B328814643363B   LISA          MEANS                       NC     12004191464
B3288378131639   CORINE        CORDOVA                     KS     22045673781
B3289317955947   ELIZABETH     CAMACHO                     CA     90012243179
B3289355691961   JACOB         JONES                       NC     90014773556
B3289413A93752   LATASHA       BENNETT                     OH     90012654130
B3289835885927   KARLA         RING                        KY     90013008358
B328B379A91585   CARLOS        MARTINEZ                    TX     75027573790
B328B599261963   EVAN          SANDOVAL                    CA     46064895992
B328B9A5455947   JOSE          HERNANDEZ                   CA     49052169054
B3291324433635   CESAR         MANDIOLA                    NC     18015113244
B329133A972B62   ELIZABETH     GAMEZ                       CO     90013933309
B3291558A93745   JESSE         AGERTER                     OH     90002925580
B3291794671925   BONNIE        BEURMAN                     CO     90010057946
B3292734131639   AHIDA         VELASCO                     KS     22081767341
B329311437B443   VERDINA       EDWARDS                     NC     90002921143
B32933A4536B98   ALBERTO       MARIN                       OR     90004963045
B3293434291961   PAUL          VANNOORT                    NC     90014774342
B329424AA93752   MARY          FALL                        OH     90010882400
B329492A361925   VERONICA      CELICEO                     CA     90013049203
B329573567B335   JOSE          BRAUO                       VA     90001717356
B329589A193752   MARICELA      CARBAJAL                    OH     90005028901
B3297459455972   PEDRO         RODRIGUEZ                   CA     49023874594
B329769619156B   HANNAH        LIMPIC                      TX     90012536961
B3298385655947   MARIA         DELARIVA                    CA     90014793856
B329863272B99B   DONNA         STOMMEL                     CA     90013716327
B3298AA9A97124   JUAN CARLOS   SANCHEZ CRUZ                OR     90013050090
B3299832385927   ANITA         MALUMBA                     KY     90012638323
B329B115591579   YVONNE        PUCHI                       TX     90014811155
B32B136915B383   TIFFANY       WOODARD                     OR     44520803691
B32B1458151324   ANTHONY       KREIDENWEIS                 OH     66070974581
B32B155122B99B   ANNA          TREVINO                     CA     90011445512
B32B186753B357   SHELLEY       HERNANDEZ                   CO     33073688675
B32B2291285927   DEKONNA       VAUGHN                      KY     90012842912
B32B256912B271   RIGOEERTO     GARCIA                      VA     81074295691
B32B2717443566   STEPHANIE     REESE                       UT     90014607174
B32B3A61293752   BETSY         NIANG                       OH     90008850612
B32B457A372B69   CARRA         GARCIA                      CO     90009275703
B32B488614B259   AMBER         GOLIGHTLY                   NE     27001968861
B32B565A35B396   CINDY         NORBERG                     OR     44531546503
B32B5799A43566   JOSHUA        SLADE                       UT     31072427990
B32B5829497124   CESAR         REYES SALAZAR               OR     90009608294
B32B6313A55972   JOSEPH P      GALINDO JR                  CA     49056233130
B32B6622172B62   NUEZ LOE      YOVANI LIZEH                CO     33073776221
B32B6943285927   CARLOS        LOPEZ                       KY     67073019432
B32B694A742332   CLAUDIA       BARRA                       GA     90014779407
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2066 of 2350


B32B6A27A31688   VALENCAA     CHAVEZ                       KS     90005830270
B32B7271985927   PEDRO        COCHE                        KY     90013762719
B32B7427676B27   MARBELLA     JIMENEZ                      CA     90001044276
B32B7862554122   ANNISSA      OROZCO                       CA     90011688625
B32B7925672B62   CARLOS       RIOS                         CO     90007919256
B32B8141291585   GUADALUPE    PEREA                        TX     90006041412
B32B8291893752   KRISTINA     MUSIC                        OH     64509472918
B32B8571133635   WILLIS       BRIGGS                       NC     90002895711
B32B8595371929   GENE         HARRIS                       CO     32095025953
B32B865277B484   BRITTANY     JONES                        NC     90011166527
B32B9317A54122   TONY         BUSHONG                      OR     90012343170
B32B996455B265   KENNIETH     MCGILL                       KY     90010549645
B32BB125791585   RALPH        GAY                          TX     90010991257
B32BB3A7A3363B   DARRYL       CAMPBELL                     NC     90012173070
B32BB48A95B326   STEVEN       CAMPANA                      OR     90003884809
B32BB92232B941   JOSE         BEDOLLA                      CA     90007439223
B331111345B548   JUANA        VELASCO                      NM     90007991134
B3311155354122   MEYERS       ROLAN                        OR     90002851553
B3311278791585   MAYRA        MENDOZA                      NM     75009792787
B3311A9A22B99B   DAMEON       TOLBERT                      CA     90012910902
B3312573491585   GALVAN       ELENA                        NM     90004855734
B3313397755947   NICOLE       BUTZ                         CA     90014793977
B3313454791961   DANIEL       GAMBOA                       NC     90014774547
B3314468793727   LILLIAN      NORTON                       OH     64532764687
B3314924572B69   CRYSTAL      DUARTE                       CO     90010249245
B3315447633625   RODOLFO      GEORGIA                      NC     90011404476
B3315525991585   GUSTAVO      NAVAR                        TX     90011025259
B331568595B265   TERRY        MERPHY                       KY     68005146859
B331588A325632   FRANKLIN     JAVIER                       AL     90014488803
B331623687B42B   MARTIN       DOE                          NC     11016862368
B3316323455947   ERICA        LOPEZ                        CA     90011723234
B3316643193752   SONIA        WRIGHT                       OH     90014756431
B3316667893745   SIERRA       POLLOCK                      OH     90013166678
B33175A1855947   ROXANE       GONZALEZ                     CA     90010845018
B3318529472B69   LEONARDO     FLORES                       CO     90011515294
B3318536472B62   ELIZABETH    FLORES                       CO     33068085364
B3319241491885   ERICA        BECERRA                      OK     90010022414
B331931757B443   SALIAKE      HUNTLEY                      NC     11025603175
B3319535A5B333   BRAD         THEABOLT                     OR     90007525350
B331B32912B941   JORGE        GARCIA                       CA     45091683291
B331B5A2591579   JAIME        RODRIGUEZ                    TX     75075125025
B331B971561937   KENNETH      MARABLE                      CA     90007409715
B331BA92976B27   MARTIN       DE LA FUENTE                 CA     46043330929
B332224575B265   BRIAN        GREER                        KY     90014512457
B332272325598B   FRANCISCO    HERNANDEZ                    CA     49084987232
B3323138854122   AMBER        HULL                         OR     47009561388
B332338375B131   BRIDGETT     LEBRON                       AR     90013633837
B3323937461963   MAGARY       DAMICO                       CA     90014349374
B3323984755947   EDGARDO      CHAVEZ                       CA     90013089847
B3324614972B62   LUIS         LOPEZ                        CO     33040936149
B3324834172B62   ERNESTINA    SEGURA                       CO     90009338341
B332485567B489   TERI         THOMAS                       NC     90008868556
B33253A8A2B274   PAULINE      CLARK                        VA     81057673080
B332541165B396   DAVID        RASH                         OR     90014074116
B3325863A55947   ROZENDO      TELLO                        CA     49015598630
B3325A25991961   ADRIANA      GUZMAN-RODRIGUEZ             NC     90014780259
B332638A493752   TERRANCE     WALTON                       OH     90003393804
B3326418131639   SCOTT        GARRETTS                     KS     90000384181
B3326596255947   MARIBEL      ROMAN                        CA     90012545962
B3326A59191585   RIGO         ESPARZA                      TX     90013540591
B3327495755947   RUBIA        FLORES                       CA     90002094957
B332769597B443   ROSA         ALVAREZ                      NC     11011936959
B332797722B99B   BUNRORTH T   ROEUN                        CA     90014839772
B3327994955979   DANIEL       SOTO                         CA     49080089949
B332864A972B62   SENTORRIA    PATRICE CARTER               CO     90008466409
B332872915B265   JACK         RAIN                         KY     68087197291
B3328913531639   RUSTY        PAPPS                        KS     22006509135
B332897367B489   RODNEY J     BURKS                        NC     90009859736
B332922242B271   NIKKIA       FRANKS                       DC     81050692224
B3329567633635   ASHLEY       SMALL                        NC     90002385676
B3329893493752   BETTY        ENTINGH                      OH     90004188934
B332B29172162B   VICTOR       KULURIS                      OH     90015392917
B332B624191961   ANTONIO      GUNTER                       NC     17045776241
B3331228693752   M            NEER                         OH     64579642286
B333163A591579   RAUL         HERNANDEZ                    TX     90012636305
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2067 of 2350


B333252552B271   TANESIA           WHEELER                 DC     90011295255
B3332A19755972   MELISSA           COLMENERO               CA     90011430197
B3332A4638B38B   JUAN              ARANDA                  SC     90015120463
B3333227254122   STEPHEN           QUINIAN                 OR     90011762272
B3333457291961   OSMAN             MENDOZA                 NC     90008664572
B333365573363B   SUTHA             SOMKHUON                NC     90011596557
B3333716555935   MAIRA             SANCHEZ                 CA     90008647165
B333394AA61976   BENJAMIN          YOUSIF                  CA     90002949400
B333424832B271   JOSE              MENJIVAR-LOPEZ          DC     81015432483
B3334413531639   SHARON            PETERS                  KS     90011094135
B3334629191585   MANNY             MARTINEZ                TX     90010696291
B333471A391961   TRESA             SCOTT                   NC     90014127103
B3334782855974   AYLSSA            HINOJOS                 CA     90011897828
B3334977661467   ELI               FRAN                    OH     90015189776
B3334A76593752   MICHAEL           TAYLOR                  OH     64596580765
B3335237391585   JENNIFER          MARTINEZ                TX     75096572373
B333575435B396   AUDUM             BELL                    OR     90015157543
B333577274B259   DEBRA             JOHNSON                 NE     27095147727
B333577A481655   CINDA             CHAPMAN                 MO     90001517704
B3335A45272B69   DONNY             FIGUEIREDO              CO     33003860452
B3336398993745   NOE               ALAS                    OH     90010773989
B3336A6255B396   KATHLEEN          SMITH                   OR     90012110625
B3337129191579   GUSTAVO           SANCHEZ                 TX     90014751291
B3337216481492   DESMOND           MERZIUS                 PA     90015052164
B3337497297124   HANNAH            WILLIAMS                OR     44051304972
B3337622955986   SALVADOR          SOLIS                   CA     90011666229
B333815747B443   ANGEL             BOLANOS                 NC     11006481574
B3338714261994   COURTNEY          HEFEL                   CA     46093277142
B3339943655986   JOSE DE JESUS     REINAGA                 CA     90009019436
B333B2A847B489   MARTHA            VILLALTA                NC     90000302084
B333B591172B69   TARA              BLACKSHEAR              CO     33073525911
B333B87273162B   SONDRA            PEARSON                 KS     22084798727
B333B99445B265   TAMMY             FORREST                 KY     90010619944
B333BA4922B271   RAYCHEO           FORD                    DC     90003490492
B334172622B941   NIDIA             ROY-ARELLANO            CA     90011567262
B3341891685927   BRENDA            NEWBY                   KY     90004268916
B3341943655986   JOSE DE JESUS     REINAGA                 CA     90009019436
B334235882B248   ANISSA            GILL                    DC     90002943588
B334272827B489   EDNA              GRAHAM                  NC     11074417282
B3343152A31688   TERESA            LOERA                   KS     22003731520
B3343619172B62   ELIZABETH         MICHEL                  CO     90013286191
B33437A5A7B489   JORGE             BELLO JUAREZ            NC     90012047050
B3344A31A85927   ISAC              MOLINA                  KY     90008540310
B3344A33531639   JOSE              HERMOSILLO              KS     22045290335
B33452A8291961   NANCY             MOORE                   NC     90000562082
B33452A912B99B   CRESTON           WANZY                   CA     90006852091
B3345661443566   GILBERT           MILNE                   UT     90013136614
B3345826191585   GUILLEN           MONICA                  TX     75016168261
B334585735B265   DMARCO            ANDERSON                KY     90012508573
B33463A9391961   CUTBERTO          PEREZ                   NC     90010093093
B3346818172B62   ANTONIO           REZAALCALA              CO     33093668181
B3347749497124   AUGUSTO           LEMUS                   OR     90015167494
B33482A8291961   NANCY             MOORE                   NC     90000562082
B33486A7197124   STACEY            VINSON                  OR     44090826071
B334884138B141   SEAN              JARVIS                  UT     90008088413
B3348962A91585   STEVEN            SCHAFFINO               TX     90013789620
B3348A8A685927   CORI              ROBERTS                 KY     90013150806
B3349263197124   WLFRANO           BEDOLLA                 OR     90014742631
B3349337985927   WHITNI            NELLE                   KY     90011053379
B3349373972B62   KARINA            ROMERO                  CO     90007163739
B334973548B168   KEVIN AND APRIL   WADE                    UT     90006077354
B3349792897B29   JOSE              RAMIREZ                 CO     90012667928
B3349878384346   SHADE             CARDEN                  SC     90012008783
B3349969297124   RONALD            BERGGREN                OR     44087169692
B3349A82876B27   LUIS              ESPARZA                 CA     90007540828
B334B618691579   JAZZE             SANCHEZ                 TX     90006626186
B3351186422963   ERMINIO           LOPEZ                   GA     90015481864
B335142882B243   TIFFANY           EVANS                   DC     90011344288
B3351774A3363B   TROY              CASH                    NC     12081547740
B3351799872B62   PAUL              LUCERO                  CO     90013377998
B33518A327B489   SOBRINA           CONCEPCION              NC     90011258032
B3351A54291878   OSCAR             CERDA CASTILLO          OK     90010700542
B3352273555947   MARIA             PEREZ                   CA     90014742735
B3353284547953   DIEGO             OSWALDO                 AR     90004172845
B3353293155972   STEVEN            SCOTT                   CA     90011502931
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2068 of 2350


B3353797991585   MARIA           CARRENO                   TX     90010967979
B3354137193752   JOI             WHITE                     OH     90007251371
B33548A777B489   HARREGE         HAGOS                     NC     90014728077
B3354977861984   MEGAN           HOFFNER                   CA     90011019778
B3354A67697124   GRISELDA        CORRO                     OR     90013590676
B3355342193746   ROGER           WATTS                     OH     64513003421
B335547462B941   PRISCILLA       TERRY                     CA     90014244746
B335583862B99B   ANTONIO         MONTALVO                  CA     90004048386
B3356467755972   LEEROY          HOLLEY                    CA     49024504677
B3356516176B27   MARCO           RAMIREZ                   CA     90010005161
B3356AA465B396   VICTORIA        MANDUJANO GAMINO          OR     44552990046
B3357113A55972   MARIELA         MENDOZA                   CA     90000891130
B335734615B265   ADAM            GURLEY                    KY     90014523461
B335749657B489   GEORGE          MOORE                     NC     11068864965
B3357644885927   RENADA          BOONE                     KY     90011536448
B335855422B99B   MAUDE           KNIGHT                    CA     90006065542
B335927617B489   MARIA           VILLEGAS                  NC     90015142761
B335B616197124   ERIN            FOX                       OR     90014406161
B335B643531688   BRANDI          TOSTADO                   KS     22026546435
B335BAA1461984   MICHAEL         CROUCH                    CA     46023320014
B336148745B231   MELISSA         MEARSE                    KY     90001264874
B336188877B489   DANIEL          GRAHAM                    NC     90011218887
B3361958551339   JESSICA         BASS                      OH     90006149585
B336229442B99B   ALYSSA          LAWTON                    CA     90009472944
B3362422193745   TERESA          JOHNSON                   OH     90000214221
B3363511354122   DAVID           THOMPSON                  OR     90005905113
B3363635693726   MICHELLE        HAGENMAIER                OH     90014866356
B3363797791579   PATRICIA        PONCE                     TX     75088657977
B336392792B99B   JOSE            ALVAREZ                   CA     90002549279
B3364238571951   STEPHEN         HALL                      CO     90004752385
B33643A7755947   TERRY           PLATA                     CA     90012803077
B336446352B233   CELESTINE       SMITH                     DC     81042724635
B3364A53293745   WILBUR          GAMBILL                   OH     90014900532
B336524A993727   SHAWN           LEVAN                     OH     90008562409
B3365316155972   DANIEL          EMERSON                   CA     90003203161
B33659AA55B265   CURTS           POWERS                    KY     90013719005
B3366593A3363B   VALENTE         HERNANDEZ REYES           NC     90013855930
B3366735885927   KIMBERLY        COLLINS                   KY     67005147358
B336719283363B   MARIA ANTONIA   CHAINS                    NC     90011151928
B336846335B592   TONY            QUINTANA                  NM     36048104633
B336857975B265   SUSAN           WILKINSON                 KY     90015125797
B3369161797124   JONATHAN        KELLER                    OR     90007231617
B33692A3191961   JAMES           JONES                     NC     90014782031
B3369573885927   TABITHA         WHITNECK                  KY     90014715738
B3369A2834B541   BRIDGETTE       RHODES                    OK     90008660283
B336B174672B69   GUADALUPE       ROJAS                     CO     33094321746
B336B77272B99B   ELAINE          ESPINO                    CA     90011557727
B336B7A6893752   NED             OURS                      OH     90009157068
B336B83865B265   TARA            ARTHURSDOTTIR             KY     68086608386
B336BA77655986   MILL            SHANTELL                  CA     49071600776
B337114A65B265   PATRICK         MOYNAGH                   KY     90010871406
B3371691793727   CHRISTINA       MANESS                    OH     90011866917
B3372289A55986   SABRINA         GARCIA                    CA     90013122890
B3372494261994   LINDA           RATSABOUTH                CA     46092154942
B337262257B489   LAURA           SALGADO                   NC     90011546225
B3372748293745   ISSAC           HOLTZAPPLE                OH     90013467482
B3372A19355947   FELICIA         HURTADO                   CA     90012820193
B3373A12793745   CURTIS          OWENS                     OH     90013230127
B337532513363B   SHAUITA         KEESEE                    NC     90014733251
B33756A663B371   JUDY            GILMORE                   CO     90010276066
B3375928293727   KENNETH         BROGAN                    OH     64578109282
B337634615B265   ADAM            GURLEY                    KY     90014523461
B3376448855947   LORENZO         LOYOLA                    CA     49015534488
B337669A472B62   ANA             MORALES                   CO     33021756904
B3376751872B69   TONYA           PEIRCE                    CO     90004897518
B3377A5A15B265   ERNESTO         PEREZ                     KY     68086540501
B3378389855947   SELINA          MARTINEZ                  CA     90014813898
B337848AA97124   ANDREW          SHANE                     OR     44009004800
B3378524155947   ERASMO          TINAJERO                  CA     90014795241
B337886949194B   CASEY           JOHNSON                   NC     17015648694
B3378994555941   DAGOBERTO       VALENCIA                  CA     48064049945
B3378A1A484387   TONY            BUENTING                  SC     90011610104
B337915683363B   SARAH           ARELLANO                  NC     90010471568
B3379778825632   TRACY           HEGLER                    AL     90014307788
B337B921193752   JEROME          HOLMES                    OH     90010999211
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2069 of 2350


B3381284791961   JUSTIN       WILLIAMS                     NC     90014782847
B3381814891579   CHARLES      MCENTEE                      TX     90014068148
B338243A955947   SEANDREA     ROSE                         CA     90011724309
B3382684797124   GEOFFREY     GOODE                        OR     90007646847
B3383211941298   ERIC         FRISCO                       PA     90004642119
B3383248755986   FANNY        AVILA                        CA     49090822487
B3383755897B42   JENELL       ROSSI                        CO     90008057558
B3383768272B69   BILLI        WRIGHT                       CO     33062287682
B33838A8A47965   H SUSAN      HUMPHREYS                    AR     24014728080
B338418877B443   LEE          VUE                          NC     90002921887
B338418A193745   ALICIA       MILLER                       OH     64585411801
B3384479A2B99B   BRAIN        BLAIR                        CA     90012504790
B3385211784348   CHRISSY      BRYANT                       SC     90007582117
B338552562B941   JOE          GARIBAY                      CA     90011875256
B3385545A97124   NOEMI        SANTOS                       OR     90014115450
B3385629991579   ERIKA        GAMBOA                       TX     90012906299
B338626282B834   RENZORI      ROCKWELL                     ID     90008642628
B338683434B259   KOKOU        FOLI                         NE     90013338343
B3386875624B27   TONY         BROWN                        DC     90009168756
B3386A87A72B69   ESMERALDA    LOPEZ                        CO     90008270870
B338744345B265   MATTHEW T    HUBER                        KY     90008594434
B3387456293752   CANDY        SMITH                        OH     90006454562
B3388116293727   KIMBERLY     OLSON                        OH     64517311162
B3388447461971   BERTHA       MIRAMONTES-MONTES            CA     90006774474
B33884A882B99B   JULIE        OROSCO                       CA     45017874088
B338851AA98B2B   BRITTNEY     BAMSEUR                      NC     90011875100
B3388534855947   ASHLEY       FUNEZ                        CA     90014795348
B338925A676B27   GREGORIO     ARANDA                       CA     46090932506
B3389644355986   BERENICE     DIAZ                         CA     90011666443
B3389924A93745   BRITTANY     SHARROCK                     OH     90014399240
B338B7A625B399   REBECCA      GARCIA                       OR     90012977062
B338B892891961   APOLINAR     GALLEGOS                     NC     90013658928
B33912A855B396   RYAN         WILLIAMSON                   OR     90009392085
B3391413755986   VINCENT      GOMEZ                        CA     90012794137
B3391447285927   ANNA         CUPP                         KY     67037024472
B339225445B265   TIFFANY      BLAIR                        KY     90014272544
B339278A172B81   MARLENE      MESENBRINK                   CO     33036237801
B3392959676B27   ALTAGRACIA   NERI                         CA     46014369596
B3393292255947   LEXXIE       VENEGAS                      CA     90008942922
B339347495B265   TERESA       CRAWFORD                     KY     90010554749
B339466142B99B   BRANDON      ORTIZ                        CA     90014006614
B3394676293745   ROCHELLE     WOODS                        OH     64536046762
B33951A112B271   JOSE         GONZALEZ                     DC     81095081011
B339556944B259   WILLIAM      HARTSO                       NE     27002155694
B339558A251352   SCOTT        LITTLE                       OH     90007015802
B3395973572B62   MARIO        CASTELLANOS                  CO     90013199735
B3395A59955972   CLIFFORD     THOMAS                       CA     90010200599
B339626A27B443   ROBERT       SHERRILL                     NC     90012042602
B339643A672B69   MATT         BOOTS                        CO     90003734306
B3397385497124   JONATHAN     GARCIA PEREZ                 OR     90009383854
B339739753146B   MARVELL      BROOKS                       MO     27555583975
B33973A417B385   ROSE         META                         VA     81015513041
B3397543655947   ABBEY        HER                          CA     90014795436
B3397818172B62   DAVID        MOYA                         CO     33073458181
B33983A143363B   STEFON       COX                          NC     90011953014
B339857975B265   SUSAN        WILKINSON                    KY     90015125797
B3398784561925   RONALDO      PEREZ                        CA     90003467845
B339882A572B69   KIMBERLEE    STRAUSE                      CO     33075448205
B339897777B489   ASHLEY       STINSON                      NC     90008869777
B3399543655947   ABBEY        HER                          CA     90014795436
B339958A593727   CHRIS        ROHR                         OH     64564815805
B339B325791585   MANDY        JOHNSON                      TX     90007133257
B339B539355947   ANGELITA     HOPPER                       CA     90014795393
B339B679922963   TRENEISHA    ROBERSON                     GA     90014906799
B33B133667B489   ANNA         BUESO                        NC     90012633366
B33B1526185927   TERRI        JEWETT                       KY     90008555261
B33B164378B192   ROSARIO      RUIZ                         UT     90013366437
B33B2672885927   JAMES        STIDHAM                      KY     90014646728
B33B2672891579   LAKEISHA     JOHNSON                      TX     90011826728
B33B2A77254122   JULIE G      WILLIAMS                     OR     90011730772
B33B3178185927   REFUGIO      GOMEZ                        KY     90010851781
B33B3511291824   COURTNEY     BOYD                         OK     90006405112
B33B3749A5B396   NICOLE       LEE                          OR     44528567490
B33B3855655986   ENRIQUE      VEGA                         CA     49001698556
B33B4231355947   CASSANDRA    BARRAGAN                     CA     49015592313
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2070 of 2350


B33B4929476B42   JOSE         CERVANTES                    CA     90003159294
B33B4955591579   DANIEL       LUNA                         TX     90001039555
B33B4A59A97124   CARLO        LIVINGSTON                   OR     90010090590
B33B5296593745   KEVIN        MARSHALL                     OH     90013712965
B33B559113363B   KEYLA        LOPEZ                        NC     90002985911
B33B6155354122   MEYERS       ROLAN                        OR     90002851553
B33B6273991579   GUSTAVO      GARCIA                       TX     90014392739
B33B694194B259   RENE         YANEZ                        NE     27032509419
B33B6966255972   JAIME        GARCIA-ABAD                  CA     49083709662
B33B7187177583   HEATHER      MCVEIGH                      NV     43091951871
B33B7243872B62   COREY        CINGEL                       CO     90012182438
B33B7377272B44   APRIL        COSTELLO                     CO     90009943772
B33B794737B489   MARIA        RUIZ                         NC     90007949473
B33B797895B396   JANET        TAYLOR                       OR     90013759789
B33B8265255972   DELORES      GUZMAN                       CA     90010042652
B33B8342685927   GERALD       KAGOMA                       KY     90012413426
B33B857585B325   COURTNEY     NEWBERRY                     OR     90000665758
B33B8895397124   JONATHAN     WOOD                         OR     90010868953
B33B947195B265   ADAM         PAYTON                       KY     68041614719
B33B975889286B   FREDERICK    MORRIS                       AZ     90015107588
B33B996A685927   DESIREE      OSBORNE                      KY     90012789606
B33B9A77872B69   TOSSIAS      NAVARRO                      CO     90011210778
B33BB198A2B22B   SANDY        MCKOY                        DC     90006491980
B33BB385655947   MARIA        DELARIVA                     CA     90014793856
B33BB935672B47   SCOTT        JONES                        CO     90007319356
B33BB97147B489   CHIQUITA     FERGUSON                     NC     11096579714
B33BBA34A5B265   RENIER       TEJEDA                       KY     90013930340
B34113A7193727   BEN          BENNETT SR                   OH     64527683071
B3411533791248   MARIA        MIDDLETON                    GA     90010045337
B3411545991961   KAWON        WOOD                         NC     90006305459
B3412657191585   ERIBERTO     CHAVEZ                       TX     75076766571
B3412828255947   JOY          SANDOVAL                     CA     90012538282
B3412A17285963   JOHN         DAVIS                        KY     66006350172
B34131A422B941   LETICIA      ESPINO                       CA     90012171042
B3413564255947   ANDREA       CUVEAS                       CA     90014795642
B3413823391585   ARTURO       CARLOS JR                    TX     90012698233
B341467832B99B   LUZ          CAMACHO                      CA     90014026783
B3415377493727   TERESA       ADDISON                      OH     64505913774
B3415384191579   HECTOR       ARRIETA                      TX     75090943841
B34155A3241237   ALICIA       ROSFELD                      PA     51092965032
B341658478B329   JUSTIN       BINNICKER                    SC     90015505847
B3416AA2924B64   MARCEDEZ     SANCHEZ ALVARDADO            VA     90012210029
B3417219393727   WILLIAM      DAVIDSON                     OH     64593812193
B3417926161994   JASON        FOLCHETTI                    CA     46088199261
B34183A3A72B3B   JESUS        RODRIGUEZ                    CO     90001353030
B341857882B271   MEJIA        DIAZ                         VA     81040955788
B3418746955947   JANICE       HOWARD                       CA     49057757469
B341923A155947   CARMEN       HUERTA                       CA     49005792301
B3419A4122B941   GUY          SOLIZ                        CA     90013380412
B341B388193752   CHEYENNE     RIGGS                        OH     90008703881
B341B397A7B489   SHEMIKA      MCBUFFIE                     NC     90013033970
B341B511793727   JUSTIN       NEVILLE                      OH     90014005117
B3421328993727   COREY        JOHNSON                      OH     90014583289
B3421492885927   DOMINIQUE    HERBERT                      KY     67030474928
B34223AA83363B   MANDI        OROZCO                       NC     12018563008
B342272A82B271   SAMUEL       KNOTT                        DC     90010057208
B3422A42951391   HOLLAND      PHILLIPS                     OH     90005690429
B342323662B941   JOEL         FLORES                       CA     45037322366
B342363342B99B   LISA         COOPER                       CA     90011306334
B3423A57785927   ASHLEY       HUFF                         KY     67056810577
B342416462B941   SERVANDO     PINEDA                       CA     90006211646
B3424645872B62   JAMES        SCOVIL                       CO     90012206458
B342511394B259   PEDRO        PANI                         NE     27088191139
B342516A491961   SHERRIE      NIASSE                       NC     90003531604
B3425327155947   KARMA        BADD                         CA     90013113271
B3426279391585   GRACIELA     GRADO                        TX     90014582793
B3426575172B69   MARIA        GUILLEN                      CO     33045125751
B342692914B259   RICH         TINNELL                      NE     27008689291
B3427117691585   DAVID        TOVAR                        TX     75072651176
B3427399555986   TERESA L     ROMERO                       CA     90010603995
B3427439551383   KELLEY       GLENN                        OH     90001004395
B3427888972B69   CHRIS        BLACK                        CO     90002828889
B3427A56691579   GRICELDA     CASTILLO                     TX     75081350566
B342833258B138   DANIEL       STUPRICH                     UT     31067453325
B342848924B259   MARY         DAVENPORT                    NE     27056854892
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2071 of 2350


B342919268B329   HARVEY       BEN                          SC     90015541926
B3429412691961   BRITTNEY     BALLENTINE                   NC     90014784126
B342953624B259   CHANDRA      PIERCE                       NE     90006135362
B342954152B99B   JOSE         ACUNA                        CA     90013015415
B342B335861963   MARISOL      VASQUEZ                      CA     46046073358
B342B441155972   DANIEL       RESENDEZ                     CA     49013604411
B342B7A5485927   TERRIKA      ONEAL                        KY     67034227054
B342B958455972   DANIEL       RESENDEZ                     CA     90013779584
B3431185172B62   ANGELA       AYALA                        CO     90011431851
B3431229797124   ANDREW       BEARDSLEY                    OR     44083442297
B34312AA62B271   SHYHEIM      WASHINGTON                   DC     90014772006
B3431536A55947   ANGELA       CARMONA                      CA     90013235360
B3431555161963   ISMELA       CANSECO                      CA     90001685551
B343188817B443   MAGDALENA    SORTO                        NC     11058728881
B3432695891563   JESSICA      ORTEGA                       TX     90009136958
B3433186272B62   SYLVIA       HERNANDEZ                    CO     90011931862
B343318965B265   TIFFANY      RAMSEY                       KY     90003411896
B343362385B389   CANDICE      RAPHAEL                      OR     90006276238
B3433695693776   JEFF         TAMMEE                       OH     64593856956
B343371655B265   TAMEKI       REMLEY                       KY     90014827165
B3434569393745   VIRGINIA     GRESS                        OH     90011455693
B3435426491961   PATRICIA     GALEANNA                     NC     90014784264
B343576837B489   HECTOR       GIL                          NC     90012167683
B343599A73363B   LESTER       BASS                         NC     90011369907
B3435A47161963   BEVERLY      SAENZ                        CA     46092380471
B343675715B396   FRANCISCO    RODRIGO                      OR     90014877571
B3437582355947   KEVIN        VUE                          CA     90011725823
B343761875B265   CRYSTAL      MCELROY                      KY     90009656187
B3438322885927   BIRDSONG     DESTINY                      KY     90005293228
B343887695B396   ASHLEY       HIPSHER                      OR     90006218769
B3438A28661994   MARIE        AKENS                        CA     90003310286
B3438A7672B941   KAREN        FALKENBERG                   CA     45034660767
B3439245155972   ERMIAS       KEBEDE                       CA     49086582451
B3439578991585   ESTRELLA     GALVEZ                       NM     75086175789
B3439654591554   HENRY        ACOSTA                       TX     90012226545
B343B14832B941   ISABEL       ZAZUETA                      CA     90008001483
B343B23552B221   FATOU        JOBE                         DC     81004982355
B343B599261963   EVAN         SANDOVAL                     CA     46064895992
B343B68A73363B   CASSANDRA    HENDERSON                    NC     90005966807
B344116815B265   DEWEY        SCHWENKER                    KY     90001351681
B3441243272B69   JESUS        VALERIO                      CO     90004102432
B344133595B332   JASON        CHRISTIANSEN                 OR     90006393359
B3441985754122   ALICEA       JOYNER                       OR     47039859857
B3441A32691579   NANCY        MARTINEZ                     TX     75060930326
B344211212B99B   BREANN       SALAS                        CA     90012471121
B3442298A72B62   REXANNE      WRIGHT                       CO     90008082980
B34422A585B571   CHARLOTTE    ESPOSITO                     NM     90010492058
B34423A152B99B   JESSICA      HERRERA                      CA     90012103015
B3442494893738   JORDAN       MUELLER                      OH     90006044948
B3442623191961   BREANA       LAWRENCE                     NC     17040696231
B3443155855986   ROBIN        RIDEAUX                      CA     90012541558
B344326A891585   JUAN         HERNANDEZ                    TX     75058542608
B3443436672B84   LUELLA       MCCOY                        CO     33025304366
B3443556777977   PAYGO        IVR ACTIVATION               IL     90014225567
B3443951A2B99B   CATHY        ROBERTS                      CA     90006099510
B3444213997124   MARIA        ARREDONDO                    OR     90014122139
B344422372B941   ESTEFANIA    ALVAREZ                      CA     90014002237
B3444615A55947   JACQUELYN    MENDOZA                      CA     90014216150
B3444831193727   DENISE       LAYNE-BURNETT                OH     64564148311
B3444A6925B265   DESERA       SNARDON                      KY     90012310692
B344526922B99B   ANGELES      CORONA                       CA     90011572692
B34454A9755986   RODRIGO      MANUEL                       CA     90010604097
B344561965B265   PHAEDRA      CHAPMAN                      KY     90014726196
B3445A7A555947   SANDRA       VENTURA                      CA     90012820705
B344621683363B   YANET        VALEDIAZ                     NC     90013262168
B3446558376B27   HECTOR       RAMIREZ                      CA     90000225583
B3446A5912B941   ARTURO       ALCALA                       CA     45050390591
B344851428B13B   TEENA        JEPPSON                      UT     90007435142
B3448897897B57   ANTHONY      TORRES                       CO     90014528978
B344899A83363B   GENARO       HERNANDEZ                    NC     12089099908
B3449271361994   OSCAR        MENDOZA                      CA     46036472713
B3449411355986   CAROLYN      SMITH                        CA     49076194113
B3449527A97124   MARIA        GONZALEZ                     OR     44080465270
B344B1A632B99B   GLORIA       CAMPOS                       CA     90012471063
B344B437431639   VAUNDA       WHITE                        KS     22077524374
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2072 of 2350


B345125493363B   TRAVIS         BURNS                      NC     90010722549
B3451277491579   MARIA ISABEL   LUJAN                      TX     90014392774
B345159922B99B   MELISSA        TAYLOR                     CA     90012205992
B3452399391961   MONICA         CHEEK                      NC     90010743993
B3452484893752   NATE           ROBERTS                    OH     90003414848
B3452612891961   TANGENEKA      DESOUZA                    NC     90014236128
B3452894272B69   MARIA TERESA   MAGDALENO-GOMEZ            CO     90012338942
B3452914A31639   LEON           JACKSON                    KS     22096439140
B3452A9A291563   JANICE         LUGO                       TX     90008770902
B3453314255986   ROGER          WATSON                     CA     90011613142
B3454413472B69   BLANCA         SALMERON-LOPEZ             CO     90010554134
B345443472B99B   PAULA          HARVEY                     CA     90012244347
B3454474A54122   PAISLEY        NYQUEST                    OR     90011834740
B345465495B396   CORY           COLE                       OR     90013676549
B3454686A97124   JUAN           MIRANDA                    OR     44020676860
B3454A34255947   LORENA         VASQUEZ                    CA     90012820342
B345543512B923   STACEY         AVILA                      CA     90001584351
B3455588A55947   CHRISRINE      SANDOVAL                   CA     90014795880
B34556A2693752   ANGELA         PATRICK                    OH     64522586026
B3456675291585   SHANE          HAGGERTY                   TX     90003006752
B3456A98441262   CRYSTAL        BARNER                     PA     90008450984
B345717A54B259   WILLIAM        ROMERO                     NE     90005381705
B3457376255986   BRENDA         SEGOVIANO                  CA     90009233762
B3457535591961   JOSE           MARTINEZ                   NC     90014785355
B3457837172B62   CECILIA        GARCIA                     CO     90012908371
B3457934291576   LORENA         ESQUIVEL                   TX     90010849342
B3458489561994   RUBEN          MORALES                    CA     46019934895
B3458535591961   JOSE           MARTINEZ                   NC     90014785355
B3458828131688   JASON          MURDOCK                    KS     90008738281
B345991492B99B   TAYNA          GALLIHER                   CA     90014349149
B345992513363B   WILEY          JALISA                     NC     12017849251
B3459A87293727   SHIRLEY        CODDINGTON                 OH     64530030872
B345B57122B271   LATANYA        CHARLES                    DC     90007955712
B345B588A55947   CHRISRINE      SANDOVAL                   CA     90014795880
B3461552393752   DYLAN          LEWIS                      OH     90008975523
B346173A361985   NIKKI          VEGA                       CA     90004677303
B3461974476B27   ENAYAT         SHAIKH                     CA     90010369744
B3462A67755947   DIANE          CHAVEZ                     CA     90014830677
B3463535591961   JOSE           MARTINEZ                   NC     90014785355
B3463539591579   HUGO           RODRIGUEZ                  TX     90012975395
B346391492B99B   TAYNA          GALLIHER                   CA     90014349149
B3463966461994   ANGELA         TELLEZ                     CA     46015079664
B3463972755947   MARIO          MENDOZA                    CA     90009609727
B346449A72B271   ZENOBIA        JOHNSON                    DC     90006014907
B346473673363B   TIFFANY        GEORGE                     NC     90010927367
B346485A991827   BRIAN          VULGAMORE                  OK     90014358509
B3464914431688   JESSICA        ASHLOCK                    KS     22040109144
B3464982384333   FAITH          FILLMORE                   SC     90005729823
B346511A985927   GRISELDA       RICARDO                    KY     90013961109
B3465194993727   ANN            ROBERTS                    OH     64504381949
B3465999672B62   ENRIQUE        MOLINA                     CO     33080569996
B34661A4361994   MARI           MALDONADO                  CA     90003801043
B346621327B489   MONIQUE        HEMPHILL                   NC     11031012132
B346642982B941   LIVIER         CUEVAS                     CA     90012534298
B346693A572B62   MAURISIO       RUIZ                       CO     90012349305
B3466948191961   JERRY          EBERHARDT                  NC     90011749481
B3467899491579   VICENTE        OLVERA                     TX     75035528994
B34678A9991585   RICHARD        ROLLINS                    TX     90014758099
B3467A49191585   CARLOS         ALDERETE                   TX     75043500491
B346811A361994   AARON          ANDERSON                   CA     90003311103
B34681AA82B945   BERTHA         CORTEZ                     CA     90001241008
B3468892893752   BRENDA         DUDLEY                     OH     64587568928
B34689AA67B489   MARIA          MONTOYA                    NC     90014899006
B346919A685927   ANISSA         WEBB                       KY     90014461906
B346931152B941   OSCAR          VARGAS                     CA     45025283115
B34696A1291585   JESUS          SAENZ                      TX     75090276012
B3469743993745   AMANDA         BARNHOUSE                  OH     90009817439
B346B32713B388   ELLEN          BRYANT                     CO     33073513271
B346B486431688   PHILLIP        GREEN                      KS     22028894864
B346B535591961   JOSE           MARTINEZ                   NC     90014785355
B346B55963363B   WALTER         PARKER                     NC     90013445596
B346B82673363B   JUAN           CHAIRES                    NC     90013418267
B346B86A485927   BOBBY          SLONE                      KY     90014668604
B3472166A55972   GONZALO        RODRIGUEZ                  CA     90011141660
B3472529191579   JUAN           CORONEL                    TX     75015895291
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2073 of 2350


B3472922173247   MARIA        ESCARENO                     NJ     90015329221
B3472A3927B489   SOMALIA      SCOTT                        NC     90011330392
B3474958985927   LISA         GIBSON                       KY     90009759589
B3474A4AA2B941   ALEXIS       AGUILAR                      CA     90013010400
B3476439691248   MARIA        SMALL                        GA     90006024396
B3476492A93727   SANDY        WALLACE                      OH     90006194920
B3476575191585   ERICK        GARCIA                       TX     90014455751
B34765A3A7B489   DAVID        BENJAMIN                     NC     90010515030
B3476618893745   JAMES        SIMPSON                      OH     90013146188
B3476914A2B271   DANEA        BERRIOS                      DC     81077829140
B3476922A61994   JAMES        DAVIES                       CA     90001459220
B3476926291579   ESMERALDA    RAMOS                        TX     90012909262
B3476967772B38   ASHLEY       FRANZ                        CO     90011779677
B347722A94B259   JAYME        JACKSON                      NE     27045032209
B3477438533697   JOY          LACY                         NC     90012844385
B3477521385927   THAD         WELCH                        KY     90007785213
B347777A791961   STELLA       RHODES                       NC     90015217707
B347789935B396   NICK         DOWNARD                      OR     90015318993
B3477993876B27   EMILIO       GAYTAN                       CA     46006419938
B3477A48697124   ROCIO        PEREZ                        OR     90015020486
B347814578B123   KAELONI      JACK                         UT     90004401457
B347836322B941   187          CLUB                         CA     45027333632
B347856845B396   RASHAE       COOPER                       OR     90012075684
B34786A8455947   STEPHANIE    RODRIGUEZ                    CA     90014796084
B3478731376B27   JOSE         FLORES                       CA     46081517313
B3479154791585   ROSALBA      NEVAREZ                      TX     90014051547
B34792A6597124   SYLVIA       ESPERICUELA                  OR     44004342065
B347998632B99B   AZALEA       BANDEROS                     CA     90014039863
B347B1A2193745   TREVOR       ARNOLD                       OH     90012721021
B347B8A734B259   ASHLEY       WULF                         NE     27087598073
B347BA78161994   ALIA         BATES                        CA     46081960781
B348167259194B   JOSE ENIAS   MALDONADO VELASQUEZ          NC     90006746725
B3481989455972   FRANCISCO    CONDO                        CA     90008729894
B3481AA912B99B   ELVA         GUTIERREZ                    CA     90014040091
B3482234893752   LINDSAY      JUSAKE                       OH     64511812348
B3482339555986   JESSICA      ENRIQUEZ                     CA     90015093395
B348257667B489   MONIQUE      KNIGHT                       NC     90010335766
B34826A8855947   NATALIE      BONILLA                      CA     90014796088
B3482848955986   MICHAEL      BARNER                       CA     90013218489
B3482984A5B265   YOSBEL       CRUZ                         KY     68016999840
B34833A835598B   ROSLYN       SIMS                         CA     90010623083
B3483728655972   MARIA        GILL                         CA     49094987286
B3483893391961   TALICIA      SCOTT                        NC     90014788933
B348414A22B99B   JOSE         AVALOS                       CA     90014891402
B34843A4955986   PETER        SANTIKHAM                    CA     90015333049
B3484833871931   NORBERTO     VALDOVINES                   CO     90003278338
B3484893391961   TALICIA      SCOTT                        NC     90014788933
B348552565B265   DANIERKIS    LEGON                        KY     90011915256
B348588913363B   KATINA       JAMES                        NC     90014798891
B3485893391961   TALICIA      SCOTT                        NC     90014788933
B348661152B271   TYNESHA      BUSH                         DC     90012846115
B348679555B349   RON          LIEB                         OR     90013177955
B3486A74191585   AMANDA       BURNS                        TX     90012300741
B348742495B265   MIKEKEISHA   GRAY                         KY     68090544249
B348746477B856   VAKEDA       JONES                        IL     90002564647
B348763637B489   DIANA        ASKEW                        NC     90013086363
B3487663A7754B   ARIANA       ESTRADA                      NV     90012676630
B3487A88155972   STEVEN       GONZALES                     CA     49056650881
B3488578131468   ALONDA       LOVE                         MO     90001735781
B348859A591579   JOSE         CANDELARIA                   TX     90006305905
B348864AA91266   TOSHA        MOULTRIE                     GA     90006406400
B3488895876B27   ELIZABETH    PARRA                        CA     90011538958
B3488A2665B374   KEITH        BAKER                        OR     44508570266
B348919432B99B   MARIBEL      MENDOZA                      CA     90006131943
B3489597A24B3B   PRISCILLA    MATHIS                       DC     90004605970
B348B935391585   KAREN        AYALA                        TX     90012409353
B3491896191961   KOUASSI      TIPOH                        NC     17050148961
B3492849155986   FREDERICO    VENEGAS                      CA     90012158491
B349288163363B   RICHARD      TERRY                        NC     90010338816
B3493162291579   DEBORAH      HILBERT CRUM                 TX     75040021622
B3493568572B69   MANUEL       SANCHEZ                      CO     90013015685
B3493883993752   TRACY        MINOR                        OH     64591218839
B3493A43893738   ADRIANNE     HARDY                        OH     90010920438
B349438187B489   LEONARDO     SANCHEZ                      NC     90012003818
B3494522691585   DIANA        DEL RIO                      TX     75084065226
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2074 of 2350


B3494925893727   ALLAN         BARBE JR                    OH     90009039258
B349555495B396   CRISTOBUL     SANCHEZ                     OR     90003235549
B3495587833635   LINDSAY       RUSSELL                     NC     90006315878
B349692A893745   BRANDI        MORRISON                    OH     90014739208
B3497267191585   GUADALUPE     MARQUEZ                     TX     75029322671
B349765382B941   EDDIE         REEVO                       CA     45009486538
B349773673363B   TIFFANY       GEORGE                      NC     90010927367
B3497747731639   KEJENEE       JOHNSON                     KS     22043617477
B3497751436B98   LISA          HILLIARD                    OR     90006757514
B3497A17191579   CHRISTINE     BELL                        TX     75073260171
B3498493693727   JODY          WILLIAMS                    OH     64505994936
B3498521472B69   RAUL          GALVAN                      CO     90012455214
B349921375B265   JOSHUA        MEYER                       KY     90013602137
B349955A154168   JOSE          ESPINOZA-CATALAN            OR     90014825501
B349967735B265   GREG          SIMPSON                     KY     90015066773
B3499943455947   FELIMON       VILLEGAS                    CA     90012229434
B349B354455947   DOROTHY       JOHNSON                     CA     49076273544
B349B648693727   BARBARA       DODRIDGE                    OH     90012086486
B349B896891961   YRIS LORENA   CHAMBERGO                   NC     90014788968
B34B197575B349   ROSAURA       MUNOZ                       OR     90015199757
B34B29A8191579   LUIS          MARTINEZ                    TX     90003909081
B34B3317A91961   ANISHA        HOLDER                      NC     90014783170
B34B331912B941   KRYSTAL       HOGAN                       CA     90012533191
B34B3787991579   RAMIRO        OZAETA                      TX     90001597879
B34B3A7455B544   JERRI         JOHNSON                     NM     90012360745
B34B4624255972   EFER          ARREAGA                     CA     90009186242
B34B467948B323   FERNANDO      GUTIERREZ                   SC     90002266794
B34B46A275B265   LETA          BARCLAY                     KY     68098486027
B34B4747A72B62   RAUL          RODRIGUEZ                   CO     33016157470
B34B4839691961   SHAQUAN       LESANE                      NC     90014788396
B34B4A55154122   ANGELA        JOYNER                      OR     47069530551
B34B5323891961   DYSHEA        BRYAN                       NC     90014783238
B34B5561155972   EDGAR         SILVA                       CA     90010025611
B34B59A4231639   DONALD        BOOR                        KS     22065479042
B34B7228393745   THOMAS        DORAN                       OH     90013362283
B34B7529972B69   PAULA         JIMINEZ                     CO     33097255299
B34B7571541464   BRYAN         WINTERS                     WI     90014915715
B34B7573293752   DANIELLE      JENKINS                     OH     90010735732
B34B7725933641   LORI          GARDNER                     NC     90002277259
B34B8323891961   DYSHEA        BRYAN                       NC     90014783238
B34B84A6872B69   JAVIER        DIAZ                        CO     90015124068
B34B86A575B265   ANDREW        SUMMERS                     KY     90004836057
B34B9315A72B69   MARIA         GUTIERREZ                   CO     90012723150
B34BB317A91961   ANISHA        HOLDER                      NC     90014783170
B34BBA17855947   DARREN        LANEY                       CA     90013010178
B34BBA31485927   JANE          MURRAY                      KY     90013020314
B34BBA51172B62   JOHN          TAYLOR                      CO     33091030511
B3511A38485927   DARIEL        VELASQUEZ                   KY     90012790384
B3511A87A9194B   JOSE          GUZZMAN                     NC     90014420870
B351297439194B   CORWIN        WILLAMS                     NC     17016709743
B3512A34593745   JUSTINE       JORDAN                      OH     90002000345
B351353965B169   KENDALL       FOSTER                      AR     90011215396
B35135A5791585   JADIRA        LUNA                        TX     90014865057
B351375A261963   PEDRO         ALCARAZ                     CA     46006547502
B3514465585927   BRIANNA       SHARPES                     KY     90013044655
B35145AA633634   CHRISTINA     MURPHY                      NC     90014305006
B351469563363B   DUSTIN        ARCHIE                      NC     90007986956
B3514727491585   JENNIFER      STIDHAM                     TX     90014247274
B3514749372B62   VALERIE       MARTINEZ                    CO     90012737493
B3515119A55986   PETE          SALCIDO                     CA     49034811190
B3515429555986   RAQUEL        LOPEZ                       CA     90012534295
B351552785B265   KENYATA       LESLIE                      KY     68036935278
B35158A5991585   RUBYANN       GARCIA                      TX     90007878059
B3516137A61963   SAI           SAVAIICANA                  CA     46001231370
B351646772B99B   MYRNA         RUEDA                       CA     90012194677
B351657A893745   MATTHEW       SMITH                       OH     90015545708
B3516685997922   JOHNNY        CHRISTON                    TX     90005766859
B3516AA2885927   GABRIEL       CASTILLO                    KY     90011930028
B3517583655947   ARLENE        HERNANDEZ                   CA     90014465836
B351771172B941   NICHOLAS      HERNANDEZ                   CA     90014027117
B351865442B99B   LAURA         MARKS                       CA     90014696544
B351876A771921   JOSE          SANCHEZ                     CO     90011227607
B3518A8A672B69   ADRIANA       LOPEZ                       CO     90012500806
B3519161491961   HERIBERTO     CRUZ                        NC     90002081614
B351B15382B271   DEVON         LLOYD                       DC     90015251538
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2075 of 2350


B351B468521642   SAMAR         SMITH                       OH     90014114685
B351B979791961   KRONG         PANGTING                    NC     90014789797
B351BA35285927   MATTHEW       FLYNN                       KY     90013640352
B352117657B443   SHAPRESHIA    DANIELS                     NC     90008731765
B352123155B396   MICHAEL       TEREAU                      OR     44584192315
B352129672B99B   BRENDA        RIOS                        CA     90011712967
B352161882B271   CHARNECE      FISHER                      DC     90014946188
B3522727372B62   YEIMY         VILLA                       CO     33045457273
B3522A8527B489   NICOLAS       GARCIA                      NC     90010940852
B35243A995B265   MARCELLA      DUNCAN                      KY     90007093099
B3524682855986   SAMMANTHA     SISSON                      CA     90014676828
B35246A8161994   ANGELA        FRITZ                       CA     46087766081
B3524944A5B221   NARCISA       VERA                        KY     90005719440
B352529987B489   CHRIS         SHEPPARD                    NC     11014842998
B3525375391579   JOSEFA        CHAVIRA                     TX     90013853753
B3525628972B62   RAUL          JARAMILLO                   CO     90013296289
B3525894272B62   RAUL          JARAMILLO                   CO     90014658942
B3525A92672B69   DONNA         MELANSON                    CO     33088680926
B352617365B399   DEBRA         CALL                        OR     90006151736
B35261A2791961   KIANA         OBERY                       NC     90014791027
B3526367261994   RONA          JOHNSON                     CA     46020043672
B3527A31293752   DAMON         DANIELS                     OH     90012850312
B3527A4352B99B   IRENE         DE LA TORRE                 CA     90012130435
B352823A693745   SARA          CRACE                       OH     64545772306
B3528418193752   VINCENT       JONES                       OH     90011464181
B3528495A5B265   NIESHA        JONES                       KY     90014884950
B352967652B25B   TANESHA       UNDERWOOD                   DC     90012516765
B352983A491961   SHANIKKA      RASBERRY                    NC     90008848304
B352B861A91579   MARGARITA     LOPEZ                       TX     75017108610
B3531214997124   JORGE         LUIS                        OR     90014532149
B3531636155947   AIOTEST1      DONOTTOUCH                  CA     90015116361
B353236929194B   JASSI         SCHULTZ                     NC     90006493692
B3532395A2B271   LINDA         BETHEA                      DC     90012153950
B3532525761994   VANESSA       SALGADO                     CA     46018835257
B3532537A72B62   NICOLE        HAWKS                       CO     33087095370
B35326A8693727   ADRIAN        HARRISON                    OH     90000866086
B3532895A72B69   ANDREA        CRUZ                        CO     90012338950
B353293A391576   VICTORIA      TORRES                      TX     90013119303
B3533118855947   SUSAN         HERNANDEZ                   CA     90006341188
B3533153991961   KATRINA       AUTRY                       NC     90014791539
B353329655B265   SONIA         GALICIA                     KY     90014992965
B353361A177363   LEVINE        SEALS                       IL     90014806101
B3534191685927   MAURISHA      TRENT                       KY     90010251916
B35342A345B396   KATHY         NORLIN                      OR     44541442034
B3534369591353   RANDOL        CONE                        KS     90008453695
B35344AA636B98   MARK          ROGERS                      OR     44568284006
B3534967655986   LYNETTE       SANDOVAL                    CA     90012589676
B3535178785927   SHAWNEE       YOUNG                       KY     90009671787
B3535696154122   ROGER         RICHARDSON                  OR     90007396961
B353571815B265   BRENDA        FORD                        KY     90014827181
B3535A93991585   ESTELLA       VASQUEZ                     TX     90009570939
B353624A261994   HOLBROOK      MARY                        CA     46009062402
B353625722B271   LACHELLE      WALKER                      DC     90010782572
B353675362B941   JANETH        VENEGAS                     CA     90009787536
B353713972B941   ELIZABETH     JARAMILLO                   CA     90000981397
B353777274B259   DEBRA         JOHNSON                     NE     27095147727
B353816882B99B   JOSE          LOPEZ                       CA     90014911688
B3539149391943   MARGARET      MANGUM                      NC     17043251493
B3539172585927   LODA          POWELL                      KY     67070141725
B3539449176B27   MIGUEL A      CARRASCO, JR                CA     90010494491
B3539946191961   SHYALA        JOHNSON                     NC     90010409461
B3539A13593727   RENEE         FRAZIER                     OH     90010950135
B353B113A55992   KELLY         MCLUNG                      CA     90013381130
B353B11472B923   PAMELA        COLE                        CA     90002491147
B353B119591961   CHRISTOPHER   BOWENS                      NC     90014791195
B353B173697124   DUSTON        HICKEY                      OR     44014411736
B353B353A72B35   JILL MARIE    QUEDENFELD                  CO     90003283530
B353B868A55947   VINCE         MESA                        CA     90011728680
B353BA32493727   CHRISTOPHE    M REID                      OH     64558790324
B354124489194B   RACHEL        NKUNDA                      NC     90007202448
B3541399291961   DAVID         CARWFORD                    NC     90011523992
B3541867A7B443   JUAN          SANTON                      NC     11014338670
B35418A2672B62   ANTHONY       MCGINLEY                    CO     33006658026
B3541931A4B259   CHARLES       BIBBS                       NE     90010029310
B3542449272B62   SKYELLER      LEONARD                     CO     90003164492
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2076 of 2350


B3542577261994   JUANA        SANCHEZ                      CA     46009655772
B3542647555947   YVETTE       ARANDULES                    CA     90014786475
B3543481493752   DEBBIE       SANDIFER                     OH     64552864814
B35436A2272447   NICOLE       HENDERSON                    PA     90001236022
B3543A7177B489   KENDREK      MCDANIEL                     NC     90011220717
B3544117831688   HUGO         CASTILLO                     KS     22055631178
B35444A9591579   MENDOZA      KARYNA                       TX     90013904095
B3544935193752   ALVINE       YEWAH                        OH     64550329351
B3544975655986   GRISELDA     HUERTA                       CA     90014989756
B3544A44854122   STEVEN       JAYNE                        OR     47044540448
B3545559454122   MARY         ASH-MURPHY                   OR     90006095594
B3545614372B62   JOSE         MENDEZ                       CO     90013286143
B3545747176B27   NABOR        HIDALGO                      CA     46012987471
B35458A2155972   CHRISTINA    ALVAREZ                      CA     49056688021
B3545962455986   CARLOS       SANTIAGO                     CA     90006729624
B3545965191961   EDWARD       HARRIS                       NC     90010409651
B3545A46797124   THEO         WHITEHORSE                   OR     90013250467
B3548472693752   JILL         DAY                          OH     90001794726
B3549363455972   JOSE         ESCOBAR                      CA     90008693634
B3549444155986   LYDIA        FLORES                       CA     49082164441
B3549687793752   HOWARD       PERKINS                      OH     64546516877
B3549919693727   CRYSTAL      ROTHER                       OH     90012399196
B354B197A3363B   MORGAN       BROWN                        NC     12049011970
B354B989185927   SHAWNNEE     JONES                        KY     67021719891
B355157212B99B   SANDY        VILLEGAS                     CA     90011975721
B3551651191585   TRAVELL      HARMON                       TX     75054586511
B3552143897124   ALYSON       SEDLOCK                      OR     44013681438
B3552627261976   DONALD       LENTES                       CA     90001456272
B3552926655947   MAI XIONG    GARCIA                       CA     90011729266
B355377447B489   HERSHEY      BROADWAY                     NC     11024017744
B3553925754122   ROSE         DAVIS                        OR     47093069257
B3554633491579   JOSE         RAMIREZ                      TX     75078386334
B3554642293745   DONNIE       WILLIS                       OH     90012466422
B3554694172B69   WILL         STERRETT                     CO     33090956941
B355533385B265   ANTOINE      PEARSON                      KY     90014603338
B3555664655947   BEATRICE     ROSALES                      CA     90006436646
B3555676A91579   SANDRA       BURNETT                      TX     90010256760
B3556192255972   TONY         THIK                         CA     90011141922
B355626943363B   GERARDO      CARDOZ                       NC     12091322694
B3556A24761994   LUIS         MILANEZ                      CA     90009470247
B355728392B99B   TARINA       LEWIS                        CA     90007502839
B355757A355986   YOLANDA      BERNAL                       CA     90013115703
B3557711655947   MARIA        JACOBO                       CA     90014227116
B355778125B265   KRISTIN      KEELING                      KY     68006837812
B35577AA84B521   S.           MAYHEW                       OK     21543707008
B3557851791579   AGUSTIN      GONZALES                     TX     75056158517
B3557932155947   MEE          LOR                          CA     90011729321
B3558174997124   CARINA       MARTINEZ                     OR     44085231749
B3558281A55972   MICHELE      CRUSE                        CA     90000342810
B3558496172B62   MARIELA      PINEDA                       CO     33093414961
B3558769354122   SERGIO       RUBIO                        OR     47041687693
B3559822372B62   ANNAJADE     CHUNGGOLTERMANN              CO     33084838223
B355B114371932   DANTE        ARCHULETTA                   CO     90011841143
B355B131955947   PAUL         DAVIS                        CA     90006521319
B355B847351372   LESLIE       JONES                        OH     90013288473
B35614A957B658   JASMINE      MAHONE                       GA     90001324095
B3562892885927   LISA         ANDERSON                     KY     90008868928
B35628AA893762   BRENDA       BEAR                         OH     90002138008
B3562A1695853B   DONALD       RYAN                         NY     90014390169
B3563482256365   MONEE        KING                         IA     90009064822
B356368243363B   RITA         SEAN                         NC     90009996824
B3564714172B69   BRIAN        BLANCK                       CO     33015287141
B356496453363B   SARA         SMITH                        NC     90007969645
B3565122191579   SANDRA       SALAZAR                      TX     75038591221
B356514758B156   JODY         METCALFE                     UT     31011671475
B3565668577523   AUSTIN       YODER                        NV     90009876685
B35657A667B489   AMANDA       GRIFFIN                      NC     90013087066
B3566213991961   LILLIAN      WILLIAMS                     NC     90014792139
B3566432393745   LELAND       ADAMS                        OH     90011774323
B3567344591579   ROBERT       SAUSEDO                      TX     90012663445
B3567839A3363B   CARL         SMITH JR                     NC     90011928390
B35678A762B271   TRANITA      PALMER                       DC     90011298076
B356811122B271   WILLIAM      FLEET                        DC     81063391112
B3568479555928   SHANE        BLY                          CA     90010094795
B3568593354168   JEANETTE     REED                         OR     90014025933
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2077 of 2350


B35687A667B489   AMANDA        GRIFFIN                     NC     90013087066
B356881572B941   SHARIEL       GIVAGIVOOD                  CA     90010238157
B3569137772B69   MICHELLE      MARCHAND                    CO     33074451377
B3569385361994   PETER         BIEL LUAL                   CA     90014323853
B3569574791961   ANTONIO       SMITH                       NC     17013155747
B356969A755947   FABIAN        SANTANA                     CA     90014796907
B356B561193745   LAURA         BAKER                       OH     64516355611
B356B62234B259   KRISTEL       ASHMORE                     NE     27063136223
B356B859454122   TERESA        FLORO                       OR     90008798594
B356B911291961   RAMIRO        FLORES                      NC     90000279112
B356B91A43363B   ASHLEY        RENO                        NC     90013349104
B356B973255986   GINA LOUISE   GRIFFIS                     CA     90010609732
B357111212B99B   BREANN        SALAS                       CA     90012471121
B357111A72B25B   DELANTAE      WOOD                        DC     90001571107
B3571153597124   VICTOR        SALINAS                     OR     90013801535
B3571337855947   LAURIE        SERRANO                     CA     49006663378
B357177692B941   ANGEL         PARRA                       CA     90005567769
B357186133363B   JENNIFER      BAUGUESS                    NC     12089108613
B35718AA881626   A             MILLER                      MO     29005138008
B357289232B99B   TRACY         GIBSON                      CA     90013048923
B35736AAA72B55   JANELLE       CAMERON                     CO     90013556000
B357413775B265   ROSLIND       THOMAS                      KY     68018061377
B35742A2655947   BLANCA        PENA                        CA     90014792026
B35746A7293752   PAOLA         YIRLANDY                    OH     64563606072
B3575148391582   MICHAEL       HUEREQUE                    TX     75054551483
B35752A2297124   SUSANA        AGUILAR                     OR     90002862022
B357533585B396   JODI          BLUE                        OR     90005973358
B3575851451324   AMBER         MORRIS                      OH     66015618514
B3575936691248   EARLONDA      ZIEGLER                     GA     14598049366
B3575A5592B271   CRYSTAL       BARNES                      DC     90008070559
B3576315691961   OMAR          BOJANG                      NC     90003113156
B357663875B265   MILANES       NARANJO                     KY     68098246387
B3576A59954122   JOHN          ALBRIGHT                    OR     47042100599
B35778A2491585   MARIA         ACOSTA                      TX     90006948024
B35778A762B271   TRANITA       PALMER                      DC     90011298076
B357798582B941   EDDIE         SALDIVAR                    CA     90011539858
B357838614B259   MAX           OLVERA                      NE     90006923861
B3579256791961   JESUS         VENEGAS                     NC     90014792567
B3579282A93745   RICHARD       ADAMS                       OH     90001582820
B3579682655947   CALVIN        PACKERD                     CA     90014716826
B357986413363B   GRACE         ESAMBE                      NC     90009118641
B357997814B576   JAIME         AGUIRRE                     OK     90011539781
B3581411A72B38   PAYGO         IVR ACTIVATION              CO     90012544110
B358168154B259   BILL          MORGAN                      NE     27047406815
B35816A9931639   PAMELA        BURGHARDT                   KS     22026956099
B3581745693727   SHAMEEKA      WILLIAMS                    OH     64590217456
B3581A9412B271   JACQUELINE    VENABLE                     DC     90009110941
B358284133363B   DAVID         COLEMAN                     NC     90013468413
B3582A2832B271   DAISY         DAVIDSON                    DC     90008740283
B3582A48A2B941   BONNY         CLAYTOR                     CA     45098820480
B3583696855947   JUAN          GONZALEZ                    CA     90014796968
B358418593363B   ALVARO        AGUILAR                     NC     90007561859
B3584469185927   BERNARDO      VASQUEZ                     KY     67059784691
B35845A828B825   DIANA         BAEE                        HI     90010895082
B3584883542332   JALISA        HALL                        TN     90015448835
B3584A7522B99B   JOEL          OSBORN                      CA     90006160752
B3585197455986   MY            THAO                        CA     90012931974
B3585A26472B62   SHANNON       WALKER                      CO     90014250264
B3586655391961   ERICA         BENITEZ                     NC     90012696553
B3587275891961   KAREN         THOMAS                      NC     90014792758
B358732AA91961   MARCELO       SOUZA                       NC     90014813200
B3587531451339   LEA           ROSS                        OH     90011995314
B35878A7A85927   WALTER        HALL                        KY     67041138070
B358872825B396   JAMIE         RODENBAUGH                  OR     90011877282
B3588A72193727   TRACIE        THOMAS                      OH     64503900721
B358944232B271   ANDREW        PHOMTGAVONG                 VA     90012294423
B358963233363B   SHAE          JAMES                       NC     90014686323
B358B248672B69   LUIS          ZAMARRIPA                   CO     90007952486
B358B61855B231   DANA          PAYTON                      KY     90000906185
B358B6A7685927   ISRAEL        NORTON                      KY     90009546076
B358BAA9855997   ALEXAUNDRA    GRANDISON                   CA     90014210098
B3591383A2B271   ROBERT        CRISTWELL                   DC     90008643830
B3591452791961   ALESHEA       HARRIS                      NC     90014144527
B3591472691579   AUGUSTINE     MANCERA                     TX     90008614726
B359155984B946   DEREK         MALLORY                     TX     90010265598
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2078 of 2350


B3591559A3363B   ESPERANZA      TOLEDO                     NC     90014335590
B3591786361994   VICENTE        AMEZCUA                    CA     46080987863
B3592337A91961   CLAUDIA        COTA                       NC     90014793370
B3592978691827   MARQUES        SUTTON                     OK     21006449786
B359321152B941   NILTON         QUINTO                     CA     90007782115
B359538683363B   MICHEL         LANE                       NC     90014723868
B3595582672B62   ANA            GUZMAN                     CO     90014355826
B3595A41293727   JAIME          CHIGO                      OH     90013170412
B35962AA85B396   ELLIOTT        GOOD                       OR     90009852008
B3597159693745   JOHNIKA        MORGAN                     OH     64556371596
B35976A7272B62   KATARINA       LOBATO                     CO     90005646072
B3597966161963   SKYLAR         CRAIN                      CA     46088219661
B3598358A72B62   FRANCISCO      VILLASENOR                 CO     90007143580
B35994A4572B62   DAVID          RUDNIK                     CO     33037244045
B359953A584333   ANGELA         SINGLETON                  SC     90009765305
B359993115B396   FRANCIS        THARANGMED                 OR     90014279311
B3599A26493745   ALYSON         GROFF                      OH     90013460264
B359B288291579   MICHAEL        MITCHELL                   TX     90005202882
B359B463297124   JORGE          GANDARILLA                 OR     90014604632
B359B84117B489   RONALD         JONES                      NC     11080008411
B35B12A3461925   MELISSA        AYALA                      CA     90008142034
B35B146372B271   DOMINIQUE      ROBISON                    DC     90004874637
B35B193A991961   ANA            HERNANDEZ                  NC     90014789309
B35B1A39793752   JAMES          COTTER                     OH     90015400397
B35B223A193752   KAREN          METZNER                    OH     64575912301
B35B226142B99B   LYNN           TAYLOR                     CA     90011762614
B35B227393363B   JOHN           SLADEK                     NC     90013962739
B35B2367272B69   ISELA          CERVANTES                  CO     33021353672
B35B2986297124   JENNIFFER      SANCHEZ                    OR     90014639862
B35B3A38172B69   ROSANNA        CASTILLO                   CO     33025290381
B35B3A9922B271   LEXUS          ROBINSON                   DC     90015250992
B35B416A35B265   RASHEDA        ISSAC                      KY     68072551603
B35B432662B99B   AZ             HARDEN                     CA     90014903266
B35B435362B941   TAYLOR         PERKINS                    CA     90014583536
B35B468A672B69   VERONICA       MARTIN                     CO     33076036806
B35B511594B235   CAROLYN        WEISFLOCK                  NE     27000071159
B35B532625B265   NIKITA         PRINCE                     KY     90014173262
B35B551348B142   MA GUADALUPE   TREJO                      UT     90007445134
B35B5521355986   TRACY          MENDOZA                    CA     90013425213
B35B5747A91585   ELVA           ARRIAGA                    TX     90012827470
B35B585A841267   BRUCE          SCHIFINO                   PA     90002858508
B35B5957691885   MELISSA        WATSON                     OK     90006259576
B35B6119A55986   PETE           SALCIDO                    CA     49034811190
B35B637937B489   SHIRLEY        BEAN                       NC     90009803793
B35B681735B265   CHERECE        RANDOLPH                   KY     68089588173
B35B7494793727   TONJA          JOHNSON                    OH     90011534947
B35B7649155986   EVA            MANCILLA                   CA     90008046491
B35B897439194B   CORWIN         WILLAMS                    NC     17016709743
B35B8A46797124   RAINLEEN       ATIN                       OR     90013380467
B35B9282791961   STEPHANIE      CLARK                      NC     90014802827
B35BB3A9293745   CARLENE        SHAW                       OH     64548273092
B36113A5391961   AMELIA         REDD                       NC     90013283053
B3611432597124   STEPHANIE      RANDALL                    OR     90000514325
B361172222B835   SHANNON        VENDETTI                   ID     90002817222
B3612122272B62   SILERIO        MARTINEZ                   CO     90013231222
B3612681255947   STACY          YANG                       CA     90014796812
B3612699955986   CHRISTINA      SALAZAR                    CA     49082986999
B36127A4531688   JENNIFER       HARVEY                     KS     90000807045
B361386854B537   MAKIA          SUTTON                     OK     90013928685
B361398682B99B   DANIEL         RODRIGUEZ                  CA     90014079868
B3614324185927   TIMIKA         YOCUM                      KY     90013803241
B36144A8624B64   LOREN          CARTHENS                   DC     90014174086
B3615116491585   TULIA          MORALES                    TX     75093701164
B3615681255947   STACY          YANG                       CA     90014796812
B3615982593745   JOHNATHAN      ERICSON                    OH     90015219825
B3615A34131688   BLANCA         AYALA                      KS     22008800341
B3616593155986   ASHLEY         FRAGA                      CA     49000705931
B36168A6372B62   RAMON          MARTINEZ                   CO     90011468063
B3616933731639   ESTEBAN        GRANADOS                   KS     90003019337
B3616A11697124   ALBINO         GONZALEZ                   OR     90013330116
B361745614B259   JENNA          STEWART                    NE     27044974561
B36178A7193745   EMMA           WALLACE                    OH     90012558071
B36185A8691961   LINDA          MIAL                       NC     90014795086
B3618676431639   IGNACIO        ROBLES                     KS     22011296764
B3618A1AA3363B   TERRENCE       HENDERSON                  NC     90009730100
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2079 of 2350


B3619186485927   AMBER         HAAG                        KY     67068641864
B3619472A5B396   JOHN          MAGLIANA                    OR     90014934720
B36195A8691961   LINDA         MIAL                        NC     90014795086
B3619799872B62   PAUL          LUCERO                      CO     90013377998
B361991982B99B   CARL          WALL                        CA     90013049198
B3619977972B69   ARTURO        SAUCEDO                     CO     90003599779
B361B511572B62   JENNY         COPPLE                      CO     90001665115
B361B681255947   STACY         YANG                        CA     90014796812
B361B911A2B941   ANTONIO       HERNANDEZ                   CA     90009839110
B361B9A4372464   BRADLEY       READEL                      PA     51017219043
B362148A731639   TIFFANY       LAWRENCE                    KS     90007414807
B3621647391579   ROGELIO       SEGURA                      TX     90004016473
B3622319661954   LUCIA         RIVERA                      CA     90006653196
B362234715B333   SONGA         FRANKS                      OR     90008993471
B3622932555947   APOLINAR      CASTANEDA                   CA     90003229325
B3623359572B62   AMANDA        CAFFEY                      CO     90007083595
B3623951255986   GINA          GUERRERO                    CA     90010299512
B36239AA697124   VERONICA      LEOS                        OR     44061129006
B3624399955986   GLEDIS        SANCHEZ                     CA     90013263999
B36244A5597124   ROBERT        JOHNSON                     OR     44075074055
B3624744731688   VALERIE       RAMIREZ                     KS     90005917447
B3625351385927   SETH          VANCE                       KY     67028423513
B362575A571936   JOANNE        LLAMAS                      CO     32062867505
B3625789955986   SOCORRO       LOPEZ                       CA     90015007899
B36257AA243572   SANDRA        ORTEGA                      UT     90012637002
B3626341691585   CRYSTAL       BROWN                       TX     90014143416
B3626517231688   EVELYN        CENICEROS                   KS     90009385172
B362678A572B3B   BEVERLY       ROTH                        CO     33050807805
B3626A67955972   FELICITAS     MEDEROS                     CA     90000900679
B362716854B541   ROBERTO       GUTIERREZ                   OK     90009081685
B36275A8555947   MARIA         SALDANA                     CA     90003005085
B362847A67B489   CHIQUITA      DANIELS                     NC     90008874706
B3628531891961   KIMBERLY      SALLAH                      NC     90014795318
B3628614485927   ANDREW        SPAETH                      KY     90013256144
B3628676684346   TRACY         LUCAS                       SC     90008166766
B3628841555947   SONIA         GOMEZ                       CA     90013068415
B36292A512B99B   EVARISTO      JUAREZ                      CA     90009542051
B362968977B493   MAYTE         VALENZUELA-CRUZ             NC     90012056897
B362B146172B69   YANETH        PENA                        CO     33011271461
B362B162691585   MIGUEL        OCHOA ZUNIGA                TX     90012331626
B362B637755947   RUBEN         MARQUEZ                     CA     90010426377
B3631441755986   THERESA       ROCHA                       CA     90012194417
B3631731191585   DANIEL        GUERRERO                    TX     75089167311
B363177965B265   CHAD          BEST                        KY     90013947796
B3631A25193727   KRISTIE       MITCHELL                    OH     64511030251
B3631A8964B259   JUNE          CHANDLER                    NE     27044830896
B3632248672B62   RAMON         MOCTEZUMA                   CO     90013312486
B3632447285927   ANNA          CUPP                        KY     67037024472
B3633471131639   CYNTHIA       UNDERWOOD                   KS     22039524711
B363361455598B   BLANCA        MOLINA                      CA     90011286145
B363371A572B69   SANDY         RANGEL                      CO     90015177105
B3634269791585   DEANNA        STEWART                     TX     90012902697
B363434472B99B   RONALD        HOULTON                     CA     90014523447
B3634345193743   CORY          GREER                       OH     90011343451
B3634444A97124   MARTIN        ARREDONDO                   OR     90009414440
B3634636485927   CAROL         FARRIS                      KY     67096506364
B363586122B99B   PEDRO         DIAZ                        CA     90014088612
B363638A172B62   ANN           DAVES                       CO     33062953801
B3636396493783   OMAR          ODEH                        OH     90006583964
B3636422391579   JEANNIE       NORIEGA                     TX     90010124223
B3636536491961   ELVIRA        PISCAL                      NC     90014795364
B3636639693727   KANESHA       KIRK                        OH     90012986396
B3637721955947   CHRISTOPHER   CORTEZ                      CA     90014797219
B3637956793752   A             DAVIS                       OH     64582839567
B3637A5792B99B   BRADLEY       GORKUM                      CA     90010300579
B3638152891579   AUSTON        CLARK                       TX     90013531528
B3638413272B69   MATTHEW       ROE                         CO     33012064132
B3638536491961   ELVIRA        PISCAL                      NC     90014795364
B3638612485927   LATASHA       WRAY                        KY     90014986124
B363865192B941   KRISTEN       NICOLINI                    CA     90010246519
B3638794655972   NANCY         MARTINEZ                    CA     90006607946
B36394A7793752   MICHAEL       HENSLEY                     OH     64589494077
B363995A872B69   ANGELINA      INIGUEZ                     CO     90009029508
B363B277376B27   QUINCE        PARK APARTMENTS             CA     46060902773
B36412A285B396   GERALD        HAWKINS                     OR     90010942028
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2080 of 2350


B3641382A85927   GABRIEL       ROMERO                      KY     90010223820
B3641554755986   NICK          REYES                       CA     90006765547
B3641695491579   CYNTHIA       BERNAL                      TX     75021806954
B3641A3418B131   CHARLES       BENTLEY                     UT     90009130341
B3641A56172B62   MARCELLO      GARCIA                      CO     90011990561
B36422A443363B   LUCIO         FUENTES                     NC     90013602044
B36432A365B265   GLADYS        DACKER                      KY     68015462036
B364436864B946   BYRON         RICE                        TX     90011233686
B3644417572B35   DISRAELI      MORRISON                    CO     90001274175
B364453895B265   ALEXIS        JOHNSON                     KY     90002145389
B3644764693745   JASON         BURKHART                    OH     90012987646
B364523312B941   LENNY         NORVISE                     CA     45075462331
B364568A991585   MARISSA       QUITAS                      TX     90011426809
B3646251424B64   ANTUANE       MYERS                       DC     90013982514
B36469A623B325   BOB LAURIE    BENGTSON                    CO     33091679062
B3646A89393727   JEREMY        TRICK                       OH     64573310893
B364757213363B   RONNIE        SPARKS                      NC     90012875721
B3647861791961   MARIA         RODRIGUEZ                   NC     90011508617
B3648255541232   RICHARD       KLEIN JR                    PA     90010432555
B3648612691961   DEDE          JONES                       NC     90014796126
B364937183363B   JOSE RAFAEL   FISCAL                      NC     90013263718
B364964A12B941   ROBERT        JANES                       CA     90013126401
B3649782793745   ARLYNN        PARKER                      OH     90012247827
B364B188397124   GRISELDA      DIAZ GARCIA                 OR     90014011883
B364B741293752   THEDA         JACKSON                     OH     90012477412
B364B923561976   MANUEL        GARCIA                      CA     90013839235
B3651727872B69   MARIA         LOOR                        CO     90012587278
B3651A32493752   SARAH         SCHAFFER                    OH     90012770324
B3651A55636B98   CESAR         RAMIREZ                     OR     44597800556
B36521A8491579   JORGE         ROBLES                      TX     90014021084
B3652731455947   WILLIE        CONTRERAS                   CA     90014797314
B365314443363B   JOSHUA        MCINTOSH                    NC     90013821444
B365318A791592   MEDINA        ALICE                       TX     90008631807
B3653231393745   BRIAN         FENTON                      OH     90013662313
B3653548961994   SHILA         WEBB                        CA     90005915489
B3654834272B62   COURTNEY      WYLIE                       CO     33081648342
B365522A155986   MIGUEL        GARCIA                      CA     90010462201
B3657293393745   TIM           BIRD                        OH     64528082933
B3657768491585   MICHAEL       LOPEZ                       TX     75088017684
B365786122B99B   PEDRO         DIAZ                        CA     90014088612
B365833763363B   CASTANEDA     SALVADOR                    NC     90013963376
B365839582B271   ANTONIKA      JOHNSON                     DC     90011913958
B3658513491579   SONIA         VALDEZ                      TX     90013875134
B3658635791961   TAQUAN        NIX                         NC     90014796357
B3659585772B62   SAMUEL        FLOREZ                      CO     33061635857
B3659822297124   CHRISTOPHE    HOLLIDAY                    OR     44031128222
B365986122B99B   PEDRO         DIAZ                        CA     90014088612
B3659A47193745   CHARLES       HARRIS                      OH     64549840471
B365B7A2793745   JASMINE       CLEMENTS                    OH     90002157027
B3661569172B69   NATHAN        LASHER                      CO     33012315691
B366171485B265   CHRISTY       WILLIAMS                    KY     90010567148
B366243A697124   JESSICA A     DARBY                       OR     90013144306
B3662548572B69   ALEXI         SANCHEZ                     CO     33089375485
B366258A92B941   JENNIFER      HINDS                       CA     90008375809
B366272A44B259   ROD           SMITH                       IA     27044967204
B3663859876B27   JUSTINE       HERNANDEZ                   CA     90003848598
B3663A49A91579   MARYSSA       CHAVEZ                      TX     90010220490
B3664589872B69   MARICELA      LARA                        CO     33057285898
B3664719961963   ZAPATA        JOSE                        CA     46040387199
B366529175B396   YURIY         LUPEKHA                     OR     44535482917
B3665531697124   JOSE LUIS     PEREZ                       OR     90014455316
B36659A9393745   CLIFFORD      ROBINSON                    OH     90015089093
B366616745B338   DESIREE       FORD                        OR     44563711674
B366676742B271   ANNA          SMITH                       DC     90012997674
B3666951A93727   LUANN         LEWIS                       OH     90011609510
B366699A64B525   STEVE         STEWART                     OK     90013709906
B3666AA7157552   JOHNELLE      BAKER                       NM     90009420071
B36673A432B271   LISA          WILKINS                     DC     90005673043
B3667469A3363B   DELAINE       HAIRSTON                    NC     90004044690
B3668246A91874   NANCY         RUBY                        OK     90001962460
B3668323793738   SASHA         HOBBS                       OH     90009683237
B3668396191961   MARK          WETHERBEE                   NC     90014803961
B3668657272B98   TERRY         OEHLER                      CO     33080696572
B3669319A76B27   ALMA          ARIZMENDI                   CA     90007573190
B3669684454122   CHELLSY       RASH                        OR     90004416844
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2081 of 2350


B36697A5681692   MICKELL          HOPKINS                  MO     90014747056
B366B341276B27   ISAY             SALDANA                  CA     90002053412
B366B352597124   FEDOSIA          MAMETIEV                 OR     90014503525
B366B842272457   DAVID L          MILLER                   PA     90014828422
B366B86122B99B   PEDRO            DIAZ                     CA     90014088612
B367168353363B   PLACIDO          HERNANDEZ                NC     90010026835
B36717A1193727   TRUTH            HEART                    OH     64563757011
B3672116155986   JOSE             PEITO                    CA     90015021161
B3672554698B2B   AARON            HOUSTON                  NC     90014665546
B367377633363B   EVELYN           CARMONA                  NC     90012377763
B3674559355947   FUTSUMBERHAN     TESFAI                   CA     90011735593
B36748A7285927   BARBARA          HORN                     KY     90010458072
B3674A23891579   FRAUSTO          RUBEN                    TX     90010320238
B3675619631688   MEGHAN           KARR                     KS     22008806196
B367579557B489   JUAN             ZERON                    NC     90010497955
B367617385B265   PATRICIA         ROCHA                    KY     68018381738
B3676279977553   JOHN             WATSON                   NV     90011532799
B3677727731639   DOMINIC          SMITH                    KS     22084397277
B3678492393752   HEAVEN           WELLS                    OH     90013204923
B367866232B835   MODESTO          PINA                     ID     90013626623
B367876A172B69   SYLVIA           TRIJUILLO                CO     90011267601
B3679511693745   BRANDON          IMBER                    OH     64577045116
B367951A65B378   GUILLERMO        QUINONEZ                 OR     90004185106
B3681213955972   FREDRICK         BRINKLEY                 CA     90011142139
B3681451A55986   ROCIO            APARICIO                 CA     90015014510
B368151435B265   KAMERON          LONG                     KY     90014395143
B36823A8497124   AMBER            WEED                     OR     90010233084
B3682581555947   MANUEL           TREJO                    CA     90011735815
B3682881272B24   DANIEL           FEARHEILEY               CO     90003118812
B3682A22172B62   SOPHIA           TAYLOR                   CO     90014500221
B3684244176B27   JEANETTE         HELM                     CA     90007292441
B368443782B271   KEYANNA          HYMES                    DC     90015214378
B3684739972B62   LOUISE           RODARTE                  CO     90008947399
B3685196A93745   BUFFEE           REIGELSPERGER            OH     90010011960
B3685214872B62   ANGELIC          PEREZ                    CO     90014322148
B3685518291961   ELINOR           MCCRAY                   NC     90014805182
B368569112B834   PATRICA          KNIGHT                   ID     90007326911
B3685752972B62   RAUL             BALTIERRA                CO     90012817529
B368637A355986   JESUS            ESPINOZA                 CA     90010613703
B3686763293752   LINDSEY          RIDENOUR                 OH     64592457632
B3686835593745   GREGORY          GOFF                     OH     90007678355
B3686A31572B62   CARLOS           GUZMAN GONZALES          CO     33054980315
B368922AA85927   OSHA             BISHOP                   KY     67086502200
B3689671491961   ANTONIO          GARCIA                   NC     90010436714
B368B118731466   EUYLAN           WELCH                    MO     27558551187
B368B169493727   KRISSY           OILER                    OH     64542771694
B368B22375B265   AMANDA           VOZZO                    KY     90013602237
B368B3A2493745   AARON            COX                      OH     90015533024
B368B3A7997124   LACY             GUSTAFSON                OR     90014803079
B368B486533647   ERIC             KING                     NC     90010694865
B368B76212B941   ALVARO           RAMOS-SANCHEZ            CA     90013507621
B368B9A1754122   SAMUEL           MENDOZA                  OR     90009349017
B3691273755947   ZISKA F          WOODRUP                  CA     90014882737
B369144687B443   MONISE           CRAWFORD                 NC     90013824468
B3691A69572B62   KRISTEN          LOPEZ                    CO     33048560695
B3692363693752   MICHELLE         BRADLEY                  OH     90009823636
B3692814891579   CHARLES          MCENTEE                  TX     90014068148
B3692A3695B265   SHARMAINE        COVINGTON                KY     90013930369
B3694263172488   DARINA           SARAGE                   PA     90000522631
B369554AA55947   EMILY J          MELLO                    CA     90014805400
B369571A291579   JAQUELINE        ZUNIGA                   TX     90010797102
B3695858A5B265   DENNYS           MICHELENA-ZIZCAINO       KY     90010568580
B3695A12993752   WENDY            OLIVER                   OH     90015210129
B3695AA6191585   JESSE            REYES                    TX     75017880061
B3696544677345   ANTHONY          BADEJO                   OH     20557435446
B3696979785927   TAYLOR           YORK                     KY     90012979797
B3696A7892B271   SHUNT            WARE                     VA     90012660789
B3697175255986   LEONOR           MARTINEZ                 CA     90013221752
B369735A555974   REGINA           BUSTOS                   CA     90013003505
B369738383363B   ELECIA           DAVIS                    NC     12050463838
B369745AA5B396   KENDRA           REASONER                 OR     44500234500
B3697577955947   ADAM             ALVARADO                 CA     90013245779
B3698312A2B941   MAYLESI          JASSO                    CA     90010583120
B3698756555947   DESTINEE MONEE   BENITEZ                  CA     90014797565
B3699199372B62   SANTANA          SALAZA                   CO     90011431993
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2082 of 2350


B369948A48B133   ROBYN        EDGERTON                     UT     90008434804
B369B25A55B396   IONGI        SITIVENI                     OR     90013262505
B369B368A91579   BITIA        MIRANDA                      TX     90014263680
B369BA75A5B265   JEANNETTE    RODRIGUEZ                    KY     90013590750
B36B1A6729194B   C            MADILA NGALAMULUME           NC     90004270672
B36B2218333643   SHANNON      ALSTON                       NC     12053592183
B36B2218A97124   YUDITH       ORTIZ LOPEZ                  OR     44012902180
B36B259227B489   VINCE        MASCIANTONIO                 NC     11034235922
B36B2641477591   JACOB        WIEGELE                      NV     90015526414
B36B294A155972   ANTOINE      CHILDREY                     CA     49056469401
B36B3714155947   CHEYENNE     ERICKSON                     CA     90014797141
B36B447AA72B62   ISABELLA     MARTINEZ                     CO     33083954700
B36B455485B265   ROBERT       LAWSON                       KY     90014875548
B36B4989991579   ZULMA        SMALLS                       TX     75090689899
B36B4A5483363B   ASHLEY       GANTT                        NC     90014760548
B36B5226872B62   NALALIE      PEREDA                       CO     90011132268
B36B5346893752   KEVIN        SIMMONS                      OH     90009133468
B36B5429A72B32   VERONICA     CONTRERAS                    CO     33001114290
B36B597752B99B   ENOCH        BOATMAN                      CA     90014079775
B36B64A5891585   MARTHA       TREVIZO                      TX     90012894058
B36B6779172B62   DENICIO      DOGUE                        CO     90014037791
B36B73A6855986   CHARLES      HAMBY                        CA     90012763068
B36B8286691961   WILLIAM      GOLDEN                       NC     90010412866
B36B8433991961   ROGELIO      AZAMAR                       NC     90014794339
B36B8766393776   BRENDA       SCHIESSLER                   OH     90010597663
B36B8929393727   BREANNE      MEDLAR                       OH     90014829293
B36B9344591961   JUAN         LOPEZ                        NC     90014813445
B36B9381385927   NANCY        RODAS                        KY     90013363813
B36B9437A91961   REGINA       SHRIEVES                     NC     90014794370
B36B9456893752   MELISSA      STJOHN                       OH     64503304568
B36B956A53363B   RITA         SLONE                        NC     90014725605
B36BB17552B274   NIA          DAVIS                        DC     90010091755
B36BB221655972   JOSE         TORRES                       CA     49013422216
B36BBA75555947   NORMA        RODRIGUEZ                    CA     90012820755
B3711319A76B27   ALMA         ARIZMENDI                    CA     90007573190
B3712198255972   GABRIEL      SANCHES                      CA     90009201982
B3713436885927   ANGELA       TAYLOR                       KY     90010804368
B3713545593752   PAMELA       SIMS                         OH     64593675455
B3713648A91961   ADRIAN       DEMETRIUS                    NC     90014806480
B3713794655972   NANCY        MARTINEZ                     CA     90006607946
B3713818297124   JASON        FRIEDRICH                    OR     90004878182
B3713873772B62   ARTURO       GUZMAN ALMAZAN               CO     90013728737
B37139A4472B69   GARRITTE     GLOVEZ                       CO     90012339044
B3714557797B29   PATRICIA     RIOS                         CO     90011225577
B3714A85A55972   LETICIA      REYES                        CA     90010200850
B371525315B265   DELANEY      TOBIN                        KY     68036992531
B3715298A2B271   ASLEY        SPENCER                      DC     90012122980
B3715816A5B373   STEVEN       CLAGGETT                     OR     90012388160
B3715861861963   BIANCA       OLDENBURG                    CA     46080188618
B3715A79297124   JESSICA      LYNN-PEARCE-                 OR     90005610792
B371624637B443   OLGA         MOREL                        NC     90007312463
B3716683285927   TELEGRA      RIGGS                        KY     67026076832
B3717643891579   LORENA       VILLEGAS                     TX     90007146438
B3717951755947   ALICE        BEARDEN                      CA     49013639517
B3718869972B69   BRYAN        MARTINEZ                     CO     90014958699
B3719769793752   THOMAS       SHORT                        OH     90014007697
B371983873B344   LAWRENCE     LOZOSKI                      CO     90009248387
B371988A191579   PATRICK      CANTO                        TX     90014398801
B371B91932B99B   YESICA       MURILLO                      CA     90013049193
B371B92122B941   TENNILLE     LANE                         CA     90013139212
B371B94225B396   STEPHEN      SCHRADER                     OR     90007769422
B372116143163B   JENNIFER     COOPER                       KS     90007671614
B372126A291585   YANET        AMAYA                        TX     75017302602
B3721378155972   CATALINA     CASTRO                       CA     90000843781
B3722A76672B62   TERESA       SOTO                         CO     90014130766
B3722A8263363B   COLLEEN      ALLEN                        NC     90013740826
B3723186842528   GREG         TAIGEN                       WA     90013271868
B3723A6A25B396   MEGAN        MONTERO                      OR     44522190602
B3724135391579   WALKER       MAUNTEL                      TX     75057241353
B372416312B941   ELIZABETH    CONTRERAS                    CA     90013171631
B3724826672B62   DORLA        HOUSTON                      CO     90010938266
B372535345B541   JAMES        BRIDGEN                      NM     35049693534
B3725752372B62   JOSEPH       RAMIREZ                      CO     90014087523
B3725A21191585   MANUEL       ELIZALDE                     TX     90004020211
B372643827B489   DONQWAVIAS   DAVIS                        NC     90015164382
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2083 of 2350


B3726575791874   TONI           GROSS                      OK     90013885757
B3727435491961   KAREN          DAVIS                      NC     90013204354
B3727488A5B799   JESUS          PEREZ                      MN     90014184880
B3727616793752   RHYAN          JACKSON                    OH     64568436167
B372936575B396   RACHELLE       THOMPSON                   OR     44528803657
B3729369191554   INES           MEDEL                      TX     75083053691
B3729526172B69   DESIREE        WATKINS                    CO     90013535261
B3729585891585   RED FOX        CARRIERS                   TX     90015185858
B3729663693727   LUIS ALBERTO   CRUZ                       OH     90014656636
B3729717372B62   GINA           MARTINEZ                   CO     90014367173
B372971A87B478   WILLIAM        WHITE                      NC     90011007108
B3729A51772B62   IRENE          HARD                       CO     90012980517
B372B145197124   KAREN          SURGON                     OR     90013711451
B372B23627B443   WENDELL        MCFADDEN II                NC     90014022362
B372B876672B62   MARGRET        REBAZA                     CO     33087678766
B372B886397B31   ANNA           ELLSWORTH                  CO     39096138863
B372B89A82B941   VICTOR         JUAREZ                     CA     90012358908
B3731133255986   ISABEL         CORRAL                     CA     49038761332
B373135A15B396   JAIME          HERNANDEZ                  OR     44577093501
B3731392991585   CARL           WILLIAMS                   TX     90001213929
B3731574761963   TED            STEWART                    CA     46086395747
B373179892B271   KENYA          THORNTON                   DC     90012837989
B37319A2593757   ROSALEE        WOODS                      OH     90011659025
B3732731493752   SHANIQUA       ANDERSON                   OH     90001767314
B3732951172B69   HELEN          LANE                       CO     33053709511
B373364662B99B   ESMERALDA      SALGADO                    CA     90012856466
B37337A3691961   STORMI         DUNN                       NC     90014807036
B373413913363B   ELIZABETH      THOMAS                     NC     90013141391
B3734321955947   CARLOS         JUAREZ                     CA     90013033219
B373476945B346   FRANCISCO      CLAROS                     OR     44572637694
B37347A692B99B   JASMIN         ESPINOZA VALENCIA          CA     90011727069
B3735149891961   KIM            SANDERS                    NC     90003211498
B3735455691585   HECTOR         MURILLO                    TX     90012554556
B3735914385927   MICHAEL        BERRY                      KY     90013209143
B3735AA1A5B396   MARICELA       SALAZAR AVILA              OR     44534030010
B373616825B265   HOLLY          DRAGOO                     KY     90013651682
B373634293363B   LADERIUS       GRANT                      NC     90014693429
B3736726142332   KYLE           CRAIG                      GA     90014787261
B3736727691961   QUADREE        BARNES                     NC     90014807276
B373719372B941   VALERIA        RIVERA                     CA     90013171937
B373721A872B62   MIREYA         ALVAREZ                    CO     90007152108
B373828587B489   ANTOINETTE     BARNETT                    NC     90012842858
B3738715636B98   FERMIN         LOPEZ-PEREZ                OR     90007597156
B3738AA6891579   BRYAN          URRUTIA                    TX     90009310068
B373914A62B941   EVELIN         SANCHEZ                    CA     90013141406
B373983972B228   SHANDA         WASHINGTON                 DC     81008908397
B373B16182B99B   ANH            THAI                       CA     90013221618
B373B399236B72   ELISABETH      SORG                       WA     90011593992
B373BA3A191585   YOLANDA        AGUILERA                   TX     75016790301
B3741659372B62   ONJARRAE       SINS                       CO     90012206593
B3741927193745   GARY           FERGUSON                   OH     64550569271
B3742212397124   HOLLY          ALVAREZ                    OR     44017012123
B3742595291585   ERIKA          ZAMORA                     TX     75068325952
B3742731793745   VASHAWNA       CARTER                     OH     90008637317
B374279A67B489   TIFFANY        WILLIAMS                   NC     90013087906
B3742A93697B29   ARRON          KENNER                     CO     90013020936
B3743322A2B99B   MARCIA         CULVER                     CA     90006253220
B37434A7572B62   NANCY          CASILLAS                   CO     90009474075
B374351387B489   CARLOS         PEREZ                      NC     11040945138
B3743929591961   LETICIA        TEMU                       NC     90010439295
B3743A99285927   BRIGITTE       POWELL                     KY     67016720992
B3744117993727   JEFFERY        JOHNSON                    OH     90009571179
B3744A8A672B69   HENRIETTA      CARTER                     CO     90012870806
B37461A5236B98   ANDRES         TORREZ                     OR     44517431052
B3746236276B27   JAVIER         MALDONADO                  CA     90000872362
B374721A77B489   PRASAI         SOM                        NC     90011222107
B3747472261975   ANJANETTE      BERRY                      CA     90002474722
B3747663A61963   ALBERTO        MUNOZ                      CA     90008056630
B374882992B923   TAMMY          MORRIS                     CA     90011418299
B374886A472B62   MARY           REDDY                      CO     33012388604
B374953357B489   DENIST         JORDAN                     NC     90014665335
B3749667A93745   MICHAEL        CARR                       OH     64547706670
B3749884672B69   0CTAVIO        GARCIA                     CO     33081588846
B3749A37193752   KEITH          HUNTSBERGER                OH     64564290371
B374B44A131639   ANTHONY        HARRIS                     KS     22027984401
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2084 of 2350


B374B976372461   PHIL           BLAIR                      PA     90012359763
B374B978591961   ORISTER        CHICAS                     NC     90001659785
B375128862B99B   JOHN           SCHMIDT                    CA     90012222886
B37531A1593746   WILLIAMM       SMITH                      OH     90008291015
B37532A677B489   LUIS           VALENCIA                   NC     90009122067
B3753484685927   LUSAMBO        MUDERHWA                   KY     67087034846
B3753579793727   CHELSEY        LEE                        OH     64586545797
B37542A5591961   CANDACE        RODRIGUEZ                  NC     90014622055
B3754536355947   BRIA           WILLIAMS                   CA     90008355363
B3754546272B69   DANIELA        VASQUEZ                    CO     90013005462
B3754768293752   BRIAN          JOYCE                      OH     90014827682
B3754842A24B64   TSEDALE        ZEWDIE                     DC     90011508420
B3755499131639   STEFANIE       DEAHL                      KS     90007094991
B37554A4885927   ROBERT         DOBBINS                    KY     67043814048
B375551A272B62   CAMERON        DOTSON                     CO     90014425102
B3755A3773363B   PENNY          UCHANAN                    NC     90012960377
B3756453472B62   JULIO          HEREDIA                    CO     90010234534
B37566AAA81452   KEITH          SANFELICE                  PA     90014166000
B3757131255972   MIGUEL         CARRETO                    CA     90001251312
B3757783A93727   GREGORY        RICHARDS                   OH     64564097830
B3757971855986   MAI            THAO                       CA     90015009718
B3757A3252B99B   SHERIKA        THOMAS                     CA     90009350325
B375834145B396   DAVID          SCHMIDT                    OR     90010213414
B37584A4776B27   JOSE           FLORES                     CA     90002054047
B3758649155947   LUIS ANTONIO   RIVERA                     CA     90003236491
B3758727393752   MELISSA        DODGE                      OH     90013437273
B3758881885927   LADAWNA        GARRISON                   KY     67030368818
B3759196A93745   BUFFEE         REIGELSPERGER              OH     90010011960
B3759268A24B27   CAROL          WADE                       DC     90008782680
B3759442897B29   TAMMY          SOSSAMON                   CO     90008304428
B3759558955947   RAMON          MEZA                       CA     90014805589
B375974A193727   RACHEL         BERNARD                    OH     90009047401
B3759759151346   RONNIE L       SMITH                      OH     90003447591
B3759A27271933   DARREN         HANEY                      CO     90007150272
B3759A9AA5B396   TA LEA         LEA                        OR     90013030900
B375B15155B396   JASON          OLDS                       OR     90014431515
B375B1A5A2B945   CHRISTIAN      LOPEZ                      CA     90001251050
B3761413155972   JOANA          ALCALA                     CA     90008984131
B3761567593727   JAMES          LONG                       OH     64573995675
B3761633285927   PEDRO          QUIROS                     KY     90012156332
B3762422A97124   PABLO          JIMENEZ                    OR     90012764220
B376299233363B   ANTHONY        CORNER                     NC     90010089923
B3763582A91585   CECILIA        MIRAMONTES                 NM     75031165820
B3764337461963   DAVID          GARCIA                     CA     46040443374
B376475152B271   JULIO          LOPEZ                      DC     81026847515
B3765329291961   JAZMYNE        WHITE                      NC     90007403292
B376538183363B   JASMINE        BUSH                       NC     90013473818
B3765399172B69   CANDACE        CONLEY                     CO     33008813991
B376576925B58B   DANIELA        PALMA                      NM     90014477692
B3765787191961   JONATHAN       BOWDEN                     NC     90014807871
B3766474654122   CARMEN         LABAR                      OR     90010264746
B37668A7331688   OTTIS          BRANCH                     KS     22001118073
B3767798455947   ABEL           ALVAREZ                    CA     90009287984
B376789125593B   BRENT          BAGLEY                     CA     48092208912
B37687A227B489   ANGELA         FARRAR                     NC     90011437022
B376891413363B   GLENNA         TURNER                     NC     12085179141
B3768A12872B62   ARACELI        RODRIGUEZ                  CO     90004830128
B376988185B265   TAMILA         GLENN                      KY     90007388818
B376B256891961   NICOLE         SHELTON                    NC     90014862568
B376B49995B265   KENYA          COOKSEY                    KY     90003524999
B376B563993745   KODY           SMITH                      OH     90013685639
B376B648372B69   WENDY          ZAMORA                     CO     90011526483
B376B659155947   ARACELI        GONZALEZ                   CA     49007116591
B377116567B489   NEKESHA        STEELE                     NC     90006041656
B377158385B265   DARRELL        RENDER                     KY     90004265838
B3772276772B3B   ANA            ALVAREZ                    CO     90002242767
B3772441355947   DANIEL         GONZALEZ                   CA     90013034413
B3773131A91961   SHYLENA        DAY                        NC     17040031310
B377426222B99B   THOMAS         HERNANDEZ                  CA     90012522622
B3774541293745   GAIL           GRIFFITH                   OH     64591175412
B377476493363B   LIDIA          ALVARADO                   NC     90011437649
B377568785B396   PETER          OECINGER                   OR     44528826878
B3775988476B27   ARMANDO        LOPEZ                      CA     46052609884
B3775A35961963   BEVERLY        GIBSON                     CA     46064990359
B3775A59393745   JAMES          PRITCHETT                  OH     64599080593
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2085 of 2350


B3776478581683   ROBERTO       GARCIA                      MO     90010794785
B377657225B396   FRANSISCO     RAMOS HERNANDEZ             OR     44582265722
B3776581955947   TYREE         RICHARDSON                  CA     90014805819
B377678982B99B   VERONICA      CORONA                      CA     90014947898
B3776928672B62   RITA          GUDDINGS                    CO     90010509286
B3776993793727   NATHAN        SHARP                       OH     90015209937
B3777191397124   TIMOTHY       PERDUE                      OR     44072301913
B377762215B265   CALHOUN       JOSHUA                      KY     90004836221
B377766A461994   DAVID         GARCIA                      CA     46033186604
B377788837B489   IRENE         CRUZ                        NC     90013928883
B3777981491579   MARIA         RUBIO                       TX     90014119814
B377832A15B396   MARGARET      TAMAYO                      OR     90011473201
B3778462172B62   CHANTAL       LUNA                        CO     90006174621
B3778A77A76B27   CATHERINE     LEMUS                       CA     46059880770
B377B342693745   DAVID         ARCHIE                      OH     90015303426
B377B342A93727   REBEKAH       CHAMBERS                    OH     90013353420
B377B357193745   HOLLY         HOLLAND                     OH     64575863571
B377B54A372B69   BONILLA       CORDOVA                     CO     90009425403
B377B83A83363B   ASIA          BECKWITH                    NC     90002888308
B378113969194B   RODNEY        COLLINS                     NC     90004751396
B378135775B374   MICHELE       TORLAND                     OR     44585483577
B3781714393727   FAWNETTE      THOMAS                      OH     64502647143
B37817A142B99B   JERRY         PABST                       CA     90007427014
B3781829255986   SANDRA        VALLIN                      CA     90015028292
B3781958A5B265   RICHARD       JEREMY                      KY     90014289580
B3781961155941   LILIANA       ESPINOZA                    CA     90009389611
B378213183363B   CASTARLA      RICHARDSON                  NC     90012851318
B378245788B133   TAYLOR        BARTON                      UT     90003544578
B3782498876B27   JONATHAN      HOLLIDAY                    CA     46023554988
B3782795A93727   KERRI         ST CLAIR                    OH     64589047950
B378286235B562   NICOLAS       ROMERO                      NM     90002638623
B378392A772B62   RONALD        BURDEN                      CO     90002899207
B3783A22591579   SUSANA        LOZANO                      TX     90000210225
B378455A27B443   LERONNE       WHITHE                      NC     11082105502
B3785798455947   ABEL          ALVAREZ                     CA     90009287984
B3785943191585   STEPHANIE     HERNANDEZ                   TX     90014329431
B3786592993727   TYSON         JOHNSON                     OH     90014465929
B378693992B99B   ANTHONY       KARLEGAN                    CA     90004959399
B378748312B941   MANUEL        LINDO                       CA     90001434831
B37879A2433635   TIAWANN       CORBETT                     NC     18016209024
B3788199997124   JENNIFER      CADOTTE                     OR     90001671999
B3788656493752   FEATHER       LEWIS                       OH     90011106564
B3789924A97124   CHRISTOPHER   ELLENBERGER                 OR     90010209240
B378B45788B133   TAYLOR        BARTON                      UT     90003544578
B378B595172B28   MICHAEL       ANDERSON                    CO     90010915951
B379316227B489   WENDY         TUTT                        NC     11074151622
B3793758372B62   KYANDRA       MRTINEZ                     CO     90013337583
B3793779293752   BRANDY        HOFF                        OH     90010437792
B37938A465B265   PATRICIA      YOUNG                       KY     90011438046
B3794499555972   KATIYA        ANDREWS                     CA     49013424995
B3794745972B62   CARLA         MUNOZ                       CO     90012607459
B37947A5941268   ERIC          TOTO                        PA     90011807059
B37947AA82B271   MALCOLM       ALEXANDER                   DC     90011567008
B3794811A93752   BRITTANY      LANGFITT                    OH     90013658110
B3795293272B69   NALLELY       MARTINEZ                    CO     33010872932
B379557218B175   LYLE          GOODRICK                    UT     31089605721
B37959AA271931   BLANCA        JUAREZ                      CO     90007389002
B3795A86397124   KEVIN         GUZMAN VILLEGAS             OR     90012840863
B3795AA5872B62   LEONEL        LARA                        CO     90007920058
B3796116991585   JESSICA       LOPEZ                       TX     75068691169
B3796222A91248   SEAN          KEACHER                     GA     14500082220
B3796433433635   ANTOINETTE    JEFFRIES                    NC     18073564334
B3796589A93727   MICHAEL       BADGETT                     OH     64549665890
B3796843581681   JOHN          COX                         MO     90001138435
B379763612B99B   JOAQUIN       RAMIREZ                     CA     90014946361
B3797999885927   ZACHARY       YORK                        KY     90012979998
B379832435B265   OSNIEL        RUIZ                        KY     90006663243
B379882712B99B   ROBERT        SMITH                       CA     90014948271
B379921A42B941   MARIA         CHAVEZ                      CA     90014532104
B3799818724B64   JERRIKA       ROBERTS                     DC     81081828187
B37999A4591585   ARTURO        MANZANERA                   TX     90013479045
B3799A67885927   WESLEY        JONES                       KY     90014160678
B379B248893745   OLIVIA        TAYLOR                      OH     90015172488
B379B2A258B337   CHRISTINA     CROSBY                      NC     90008282025
B379B447855947   CHRISTINA     ROMERO                      CA     90014814478
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2086 of 2350


B37B134715B231   JAMES         TYRONE HOWARD               KY     90000473471
B37B145654B537   JAMES         ORANGE                      OK     90010904565
B37B152969194B   NADIA         FEELEY                      NC     90006775296
B37B157915B265   ELIZABETH     CROOM                       KY     68020395791
B37B16A3A33641   WALTER        WALL                        NC     90010526030
B37B1913991961   ANDRE         MCKENNIE                    NC     90013089139
B37B21A1731639   PAVLISHA      LEWIS                       KS     22037051017
B37B253952B99B   AMBER         CORDOVA                     CA     90012755395
B37B2A17591585   JESUS         CAMACHO                     TX     75088010175
B37B385524B259   ADRIAN        COSGROVE                    NE     27045538552
B37B3A9A431639   ROCHELLE      OROUKE                      KS     22085380904
B37B4911591585   MERCEDES      CASTORENA                   TX     75074659115
B37B498163363B   TERBRENDA     MARTIN                      NC     12028259816
B37B534A43363B   ESTELA        ACUNA                       NC     90012803404
B37B5A35555986   DIEGO         PEREZ                       CA     90006790355
B37B5A61191585   ANTONIA       MALDONADO                   TX     75000430611
B37B638197B489   JACINTA       RODRIGUEZ                   NC     11072583819
B37B6647797124   SHANESHA      ROUSE                       OR     90014346477
B37B6781A55986   DANIEL        BELL                        CA     49063417810
B37B67A3A91961   LAVETTE       SMITH                       NC     90010437030
B37B718373363B   ERICA         SAUNDERS                    NC     90014761837
B37B741775B598   MARCUS        TAYLOR                      NM     90011364177
B37B791A185927   CAROL         ALLEN                       KY     90000339101
B37B8272491585   EDDIE         CORRAL                      TX     75054042724
B37B8813372B69   EDIE          ESPINOZA                    CO     90012708133
B37B8868993727   HOLOZHINE     GUAMAN                      OH     64512588689
B37B8973A54168   ROBIN         POWERS                      OR     90014069730
B37B9138491585   CHARLIE       JALIL                       TX     90004461384
B37B953783363B   ENRIQUE       ALVARADO                    NC     90001055378
B37B9632691582   ANGELICA      HERNANDEZ                   TX     75075516326
B37B974A733635   ELVA          VARGAS                      NC     90003557407
B37B976827B489   ROBERTA       TUFTS                       NC     90013087682
B37B97A4893727   DEV           MAXWELL                     OH     90007457048
B37B994AA5B336   LAVON         STANFIELD                   OR     90008739400
B37B9A68855986   BIANCA        SEPULVEDA                   CA     90012820688
B37BB435791585   FATIMA        VALLES                      TX     75037024357
B3811157A97124   ADRIAN        PERFECTO                    OR     90009401570
B381116942B941   JENNIFER      BELTRAN                     CA     90015231694
B3811634272B62   DAISY         FUENTES                     CO     90011116342
B381197443363B   CRISTOPHER    ALLEN                       NC     90003349744
B381213873363B   MARK          DUNCAN                      NC     90013451387
B381216567B489   NEKESHA       STEELE                      NC     90006041656
B381221182B941   LIZBETH       PACHECO                     CA     90010292118
B3812375893745   PATRICIA      WHALEY                      OH     90012823758
B3812583A93752   ARIANA        DOMINICK                    OH     64508525830
B381284A95B396   TIFANI        KNIGHT                      OR     44533498409
B3813296291585   GABRIELA      NAVARRO                     TX     75088442962
B381329825B389   KARL          ANDERSON                    OR     90008282982
B381344963B372   SARAH IRENE   KNILL                       CO     90003544496
B3813824655972   SABASTIAN     PRUDENTE                    CA     49083718246
B3814531454122   LOUISE        HELDER                      OR     90005715314
B38147A815B396   JOEY          SCOTT                       OR     90011107081
B3814964593745   TERESA        KUNS                        OH     90014759645
B3814A46A76B27   WILLIAM       WENBERT                     CA     90011160460
B3815227655947   MARTHA        PALMENO                     CA     90001022276
B3815531454122   LOUISE        HELDER                      OR     90005715314
B3815584A76B27   AARON         FROTHINGER                  CA     90011275840
B3815665172B69   FEDERICO      NERI                        CO     33054166651
B381584543B388   ALLISON       HOLMES                      CO     90013668454
B3816421A93745   ANNA          KILGORE                     OH     90012684210
B381651572B941   AMARAL M      JULEEN                      CA     45088595157
B38176A8491579   LAURA         SOTO                        TX     75009856084
B3818184793746   JWAUN         PRESTON                     OH     90012051847
B3818369A5B396   EDWARD        MITCHELL                    OR     90014333690
B3818623831688   ROBERT        NICHOLS                     KS     22094116238
B3818A63561429   BECKI         HARVY                       OH     90014370635
B3819282191585   ROBERT        HERNANDEZ                   TX     75095932821
B381932558B141   ALEXANDER     NELSON                      UT     90003653255
B381947577B478   CAPRIVA       BRANDON                     NC     90010794757
B381961815B396   ANTHONY       BROWN                       OR     44593486181
B38198A397B489   RICKY         GAUVIN                      NC     90015178039
B381997612B941   DEBBIE        MARTINEZ                    CA     90015179761
B381B194791961   HAGOS         GEBREMICAEL                 NC     17014531947
B381B51572B941   AMARAL M      JULEEN                      CA     45088595157
B381B56A151346   NATHAN        SPENCER                     OH     66001145601
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2087 of 2350


B381B87134B285   ANDREW       LEIBMAN                      NE     90005858713
B382144A25B396   SHAWNA       OLSON                        OR     90013624402
B382151752B99B   VICTOR       RUIZ                         CA     90011595175
B3821612655947   ROBERT       ARANDA                       CA     90013246126
B382179162B271   LATASHA      BROCK                        DC     90012077916
B382185A171921   ANA          MANZO-GARCIA                 CO     90011028501
B382215895B351   JUAN         MONTEZ                       OR     90014891589
B3822626697124   HERRERA      JULIO                        OR     90011286266
B382285222B99B   DESTINY      THOMPSON                     CA     90011238522
B38228A3493752   PAULETTE     COLLINS                      OH     90015228034
B3822A53891961   VICTORIA     ALSTON                       NC     90009420538
B3823839993752   ASIA         JOHNSON                      OH     90013418399
B382414865B265   JOHNATHAN    PRICE                        KY     90012871486
B3824227655947   MARTHA       PALMENO                      CA     90001022276
B382425317B489   MAYLENNY     SANTANA                      NC     90012362531
B382436363363B   NICODEMO     CRUZ                         NC     90013663636
B382437255B374   BARBARA      AMENS                        OR     90008243725
B3824851351385   HEATHER      DAVIS                        OH     90005998513
B3825239255972   PHILIP       DEL RIO                      CA     90009202392
B382527973363B   KIMYOUTA     DAVIS                        NC     90014802797
B382569385B396   STEPHEN      COURSON                      OR     90012016938
B3825978585963   BRITTANY     BOWMAN                       KY     90005539785
B3826836685927   EMILIO       ESCARENO                     KY     90010178366
B38274A735B265   LISA         RENFROW                      KY     90013804073
B3827784355986   RUBEN        HERNANDEZ                    CA     90011907843
B3828255A93745   RICHARD      ROLLINS                      OH     90015172550
B3828375531639   TIFFANY      DAVENPORT                    KS     90002713755
B38291AA12B328   JOSE         TORRES                       CT     90013621001
B3829A87555986   TONY         CABRERA                      CA     90005780875
B382B818131462   DANIEL       HERNANDEZ                    MO     90009458181
B3831362555972   ALEX         ZAAROUR                      CA     49083453625
B3831715977523   DAWN         NAHORNIAK                    NV     90007607159
B38317A4472B62   CHERAMIE     DUDLEY                       CO     33017367044
B3831A31191579   JOE          HERMANDEZ                    TX     75053720311
B3832998291592   DAISY        MORENO                       TX     75091929982
B3832A99255947   MARY         GUTIERREZ                    CA     90012820992
B38335A685B396   TANYA        NITZKE                       OR     44516885068
B3833967941262   TERESA       MINOR                        PA     90007439679
B383397142B99B   BECKY        LARSEN                       CA     90010889714
B383414362B941   ANDREA       REQUENA                      CA     90008991436
B3834262291585   SUSANA       DIAZ                         TX     75088102622
B383466A755986   JESSICA      HOWARD                       CA     90010616607
B3834727985927   MARGARET     STORY                        KY     90010967279
B38348A332B221   ROBERT       DANIELS                      DC     90001688033
B3835264891579   DENISE       BALLI                        TX     75087712648
B383624A621929   BYRON        FLORENCE                     IL     90008012406
B3837174791585   MICHAEL      COOK                         TX     90013431747
B383796612B271   ANDY         PINEDA                       DC     90014589661
B383796965B396   TERRI        PENN                         OR     90001559696
B3837A98591579   PATTY        DIAZ                         TX     75011520985
B3838447855947   CHRISTINA    ROMERO                       CA     90014814478
B3838463A5B396   GERRY        FEWELL                       OR     90014074630
B3839438731639   DALIA        GALLEGOS                     KS     22017434387
B3839754397124   OBDULIA      CORNEJO                      OR     44040457543
B383B126A41286   ERIC         HALL                         PA     90002571260
B383B414181683   BETTE        PURTLE                       MO     90012804141
B383B4A3931639   KANDI        HARRALL                      KS     90009674039
B383B533777371   EDDIE        COLEEMAN                     IL     90003375337
B383B56A393752   ROSEA        CAMMON                       OH     90015255603
B383B827272442   ELEANOR      SOLTIS                       PA     90004958272
B3841255A55972   DAVID        SANCHEZ                      CA     90011142550
B3841355697124   MELISSA      QUESADA                      OR     44054073556
B3841475593745   LISA         JONES                        OH     90013054755
B384152488B128   MICHAEL      BRADLEY                      UT     90006175248
B38427A562B941   CHARLIE      MANN                         CA     90002257056
B3843523572B62   CARMEN       MEDINA                       CO     90011895235
B3844336972B62   TRACY        ELDRIDGE                     CO     33058413369
B3844365291585   GARCIA       JOSE-LUIS                    TX     90004113652
B3844369772B69   JOSEPH       SOLTESIZ                     CO     90004133697
B3844419A91579   FERNANDO     FLORES                       TX     90002794190
B3844714A55972   HEATHER      GUTIERREZ                    CA     49056927140
B38451A4755947   ESMERALDA    VILLA                        CA     49060851047
B3845563791994   WILMA        JONES                        NC     17037935637
B38457A3A4B257   HEATHER      HEFNER                       NE     90004957030
B384582582B271   KHISHA       HARRIS                       DC     81049168258
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2088 of 2350


B3846531172B69   CLARA        VALDEZ                       CO     90014945311
B384693822B271   SABRINA      DANDIRDGE                    DC     90009279382
B384832222B941   DANA         SIMMONS                      CA     45075683222
B3848721A97124   ELVIRA       VALLADORES                   OR     90013277210
B3849119431665   BILLY        SMITH                        KS     90008641194
B3849869993727   LAURA        STRAUGHN                     OH     64586548699
B384999385B396   AMY          PERKINS                      OR     90004729938
B3849A53324B27   YANIRA       PENA                         DC     90011580533
B3849A86661994   ANA          LEMUS                        CA     46019730866
B384B3A3685976   ROGER        BABB                         KY     90006163036
B384B531172B69   CLARA        VALDEZ                       CO     90014945311
B384B731991579   FERNIE       ARRIAGA                      TX     90013177319
B384B771493745   TAWANA       HIGGINS                      OH     90014077714
B385122A82B99B   MARIA        MIRANDA                      CA     90014132208
B3851754993745   RHONDA       MILLER                       OH     90014817549
B385197445B265   DORIS        HALL                         KY     90005909744
B3852141285927   DEBRA        DOMINGUEZ                    KY     90010951412
B3852625A91579   ANNA         CHAVEZ                       TX     90003446250
B385279365B399   DULCE        AGUILAR                      OR     90012667936
B3852965891961   THERICHIA    HENDERSON                    NC     90014459658
B3853151991585   SEBASTIAN    INZURRIAGA                   TX     90014991519
B38531A6285861   JOY          HERNNDEZ                     CA     90008771062
B3853425472B69   ARMIDA       MONTANEZ                     CO     90003274254
B385354653363B   VERONICA     MOUZON                       NC     90011435465
B3853853151362   TARRY        FRAZIER                      OH     90012658531
B38542A5293727   AMANDA       COOPER                       OH     64518872052
B3854589A61963   DE JESUS     VARGAS                       CA     46076445890
B38548A848B152   SHAUN        CLARK                        UT     31030648084
B3855352655986   APRIL        GONZALEZ                     CA     90013063526
B3856374355972   GARDELIA     MORALES                      CA     49056933743
B3856886A91585   SARA         MARTINE                      TX     75000168860
B3856A7A693752   ETHAN        HOWARD                       OH     90015110706
B385734295B396   ANGELA       JOHNSON                      OR     90009413429
B385736327B443   FELICIA      ANDERSON                     NC     11009043632
B3857539A55986   SUMMER       TAYLOR                       CA     90004015390
B3857649336B98   OSORIO       REYNALDO                     OR     90010616493
B3857986772B62   ERICK        LUNA                         CO     90013749867
B3858131372B3B   GUILLERMO    DELGADO                      CO     33016331313
B3858412593752   LON          WELZ                         OH     90012634125
B385843622B99B   EVERETT      FREEMAN                      CA     90009334362
B385862135B265   BRADLEY      DEBRA                        KY     68092526213
B385877A655947   HEATHER      TREVINO                      CA     90005427706
B3858824A93745   JENNIFER     CRAIG                        OH     90009368240
B3859283693745   JEFFERY      HODSON                       OH     64540272836
B3859443872B62   LILI         ESCUDERO LOPEZ               CO     33011114438
B385952962B941   STAN         SMITH                        CA     90013235296
B3859AA253363B   GARY         AUNTLEY                      NC     90013350025
B385B353A28169   YOUNG        SON                          TX     90013943530
B385B643372B69   LYNN         SHANGREAUX                   CO     90014536433
B385B663191579   ROSA         SEPUVELDA                    TX     75099066631
B386122A82B99B   MARIA        MIRANDA                      CA     90014132208
B386132575B396   WILMER       GUERRERO                     OR     90013043257
B3861353872B62   NATHANIEL    MARTIN                       CO     90010013538
B3861355491579   MARIA E      GAITAN                       TX     90009613554
B3861536955986   KRISTINE     BRASSEAUX                    CA     90011675369
B3861A25854122   CHARLE       WALLING                      OR     90005950258
B3861A41A55947   RIGOBERTO    MILLAN                       CA     49015740410
B386271212B99B   MIKO         THOMAS                       CA     90014357121
B38627A3755947   VICENTE      ALVAREZ                      CA     90014807037
B3862A37185927   JON          SILVA                        KY     90009290371
B386323289194B   BAMBI        HILL                         NC     17082592328
B3864648A7B489   LOREDA       MARTIN                       NC     90008986480
B3864651172B69   ARIEL        RODRIGUEZ                    CO     90011526511
B3864715497124   CARLOS       DEGADILLO                    OR     90011287154
B386479333B391   AARON        JONES                        CO     90012767933
B386514687B489   MICHELLE     RAY                          NC     90014961468
B386564A48B328   PAM          MATLOCK                      SC     90008376404
B386624323363B   BONNIE       CARTER                       NC     12005032432
B3866378293745   BERNADETTE   KIDD                         OH     90013963782
B38663A287B489   JASMINE      ROBINSON                     NC     90011223028
B38663A5997124   FRANCISCO    ZAVALA                       OR     90010133059
B3866547691579   OSCAR        GUILLEN                      TX     90012345476
B3867212A5B124   JOSE         TORRES                       AR     90009292120
B3867253872B22   JEFF         COUSE                        CO     33015682538
B386733845B396   GRAHAM       STEVEN CHANDLER              OR     44595723384
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2089 of 2350


B3867A19855947   RAYMOND      CARBAJAL                     CA     90005740198
B3868239255972   PHILIP       DEL RIO                      CA     90009202392
B386837958B14B   BRITTNY      RUST                         UT     90005813795
B386853A255986   ANGELICA     VALADEZ                      CA     90008115302
B3868754997124   ISAAC        DAHL                         OR     90009627549
B3868A97A5B265   VALADA       DANIEL                       KY     90012610970
B3869629951861   MALANA       MORRISON                     NY     90014656299
B3871223491579   WENDY        NEVAREZ                      TX     90011862234
B3871235154151   BRIAN        RIVERS                       OR     90013982351
B387128A236B98   JOSE         TELLAS                       OR     90009082802
B3871446954151   BRIAN        RIVERS                       OR     90007754469
B3871911693752   DANIELLE     JONES                        OH     90012419116
B387194462B941   ISRAEL       MUJICA                       CA     90014959446
B387228A891961   LICIA        FELTON                       NC     90014822808
B387252327B443   JOSUE C      CARRILLO PARADA              NC     90001255232
B3872798691585   DOLORES      DIAZ                         TX     90013907986
B387323642B271   GENEVA       LUCAS                        DC     90011442364
B3873322155986   MARIA        SANTOS                       CA     49060273221
B387347492B941   WILLIAMS     GUIERRES                     CA     90013384749
B38739A9991579   LILIANA      MARQUEZ                      TX     90015139099
B3874742676B27   LUIS         ESPUSITTO                    CA     90010047426
B3875159797124   ROLANDO      GUERRERO                     OR     90004721597
B3875857491585   DANIEL       CAZARES                      TX     90010308574
B3875A5432B99B   DANIEL       GARCIA                       CA     45095270543
B3876411976B42   JOSE         ZAMORA CRUZ                  CA     90006374119
B3876475491585   ANTONIO      ORTEGA                       TX     90014554754
B3876882891961   JULIO        CORTEZ GONZALEZ              NC     90011508828
B3876965A7B489   MARSHALL     CHAQUITA                     NC     90013089650
B3876984997124   GUSTAVO      CORIA                        OR     44083769849
B3877159A91579   CHANTELLE    PAULDO                       TX     90012271590
B3877A64493752   PATRICIA     HOLLEY                       OH     90003620644
B38783A6393745   CATHERINE    HOFSTETTER                   OH     90011523063
B3878466272B62   ANGEL        SAENZ SANCHEZ                CO     33059344662
B3878A5545B264   HERU         AMEMEMHET                    KY     90003410554
B3879771955947   JOSELINE     CARRILLO                     CA     90014337719
B387B123A2B99B   JAMES N      SMITH                        CA     90006351230
B387B228955994   BLANCA       TOBIAS                       CA     90008252289
B387B618455947   FEDERICO     GARCIA                       CA     90013246184
B387B84AA91961   ANTHONY      KNIGHT                       NC     90014818400
B38828A4297124   VIOLLY       MASASY                       OR     90014848042
B3882A71691961   VERONICA     ENGLISH                      NC     17040550716
B3883966491961   TESHIA       HOLLEY                       NC     90014819664
B388424A693727   TAMEKA       JONES                        OH     90014852406
B3884533761825   FREIDA       PARKS                        IL     90005585337
B388454653363B   VERONICA     MOUZON                       NC     90011435465
B38845A325B336   JERMEY       SELINGER                     OR     90009515032
B3884614461999   ROBERTO      CARLIN                       CA     90004566144
B388468322B941   STEVEN       MCKEE                        CA     90007536832
B3884835997124   BRITANY      GUINN                        OR     90010128359
B388593A797124   ANTONIO      MORA                         OR     90014309307
B3886A38993745   RUTH         LONG                         OH     64548090389
B3886AA2A84825   XAVIER       SHORT                        NJ     90014170020
B38875A752B99B   NORA         RAMIREZ                      CA     90001575075
B3887776436B98   TABITHA      EDIE                         OR     90010387764
B3887957536B61   CARLOS       BONILLA                      WA     90015409575
B3888151136B98   KADEEM       COBETTE                      OR     90011891511
B388815812B271   TIMOTHY      CRITCHFIELD                  VA     90001401581
B388946952B99B   ALICIA       SAVALA                       CA     90011744695
B3889558193745   JAMES        CARMICHAEL                   OH     64584625581
B38895A6285927   CHERYL       KELLEY                       KY     90014525062
B388B448A93745   BRION        BLANKENSHIP                  OH     90011464480
B389182665B265   ANTWON       EARSERY                      KY     90012508266
B3891949893745   DANIEL       BRYAN                        OH     90013409498
B38921A3672B69   CLAUDIA      ALCALA                       CO     90013511036
B3892649672B62   XUE          XIONG                        CO     90012206496
B389342435B396   MIRNA        ALVILA                       OR     90014754243
B3893652A55986   CINDY        BURI-BLAIR                   CA     90015036520
B389395A285927   DOROTHY      FLECHER                      KY     90014569502
B3894416A7B443   ROSALINA     FLORES                       NC     11039474160
B389448523B391   KEVIN        GREENE                       CO     90000494852
B3894495291579   ANGELICA     VELAZCO                      TX     90008344952
B3894585393745   RACHEL       VAN GUNDY                    OH     90003895853
B3895234891961   RICARDO      MCCULLERS                    NC     90014822348
B3895A97885942   SOCORRO      GUTIERREZ                    KY     67011500978
B3896158991821   SOFIA        COLE                         OK     90012361589
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2090 of 2350


B3896353197124   LEWIE        LOVE                         OR     90008493531
B38969A4891961   THEO         EASTERLING                   NC     17078529048
B389716455B396   SUZETTE      TINKESS                      OR     90011931645
B389766982B941   SOCORRO      MENDOZA                      CA     90013306698
B3897893693727   WANDA        BURNEY                       OH     90014798936
B3898613731639   CASEY        ROBBINS                      KS     22037156137
B3898745455936   LYDELL       WILLIS                       CA     90008267454
B389876982B258   THOMAS       WILLIAMS                     DC     90003037698
B38988AA291961   RACHEL       WHITE                        NC     90010458002
B3898929872B69   SCOTT P      ARENDS                       CO     90012339298
B3898A77877587   SHANE        JONES                        NV     90010780778
B3899113472B62   SERGIO       QUINTANA                     CO     90014871134
B3899242791961   SHELBI       CARROLL                      NC     90014822427
B389927A25B396   DONNA        OLSEN                        OR     90014112702
B389948A471921   MARIO        GUAVARA                      CO     90002534804
B389963AA55986   AIOTEST1     DONOTTOUCH                   CA     90015116300
B3899719293752   SHAMEKA      THOMAS                       OH     90010737192
B389971A77B489   TRACY        GAITEN                       NC     11042477107
B389B141691579   NORMA        DELOERA                      TX     90015281416
B389B338485927   NYEMA        MORALIS                      KY     90009583384
B389B523691585   JOSE R       PARTIDA                      TX     90010725236
B38B1122376B27   DAVID        NELSON                       CA     90004521223
B38B2143791585   GRACIELA     ACOSTA                       TX     90006111437
B38B2187793727   MONIQUE      JOHNSON                      OH     90015191877
B38B375335B396   JACQUELYN    SMITH                        OR     44596977533
B38B417462B941   JOE          CORDEIRO                     CA     90013221746
B38B4568191961   SOSIMO       RAMIREZ-MARTINEZ             NC     90014815681
B38B4613455947   KELLY        RICHARDSON                   CA     90014806134
B38B497955B265   VICTOR       MUNDERERE                    KY     68028049795
B38B5255A93745   THEREINA     THOMPSON                     OH     90014782550
B38B5568191961   SOSIMO       RAMIREZ-MARTINEZ             NC     90014815681
B38B5786272B69   SODORRO      ORTIZ                        CO     90013267862
B38B6197A55947   ADOLFO       BECERRA                      CA     90012941970
B38B6723976B27   ASHLEY       RODIGUEZ                     CA     46074807239
B38B7252385923   KARLEN       COLLIER-JETT                 KY     90009662523
B38B7271A91579   MARCO        CHACON                       TX     90007272710
B38B778814B542   CINDY        GUTIERREZ                    OK     90007837881
B38B7A3635B396   DAVE         RENFRO                       OR     90013000363
B38B8217591961   PETER        MWANGI                       NC     17068142175
B38B826715B336   RICHARD      MILLER                       OR     90008652671
B38B8385355947   MAGDALENO    ALTA                         CA     90008673853
B38B861675B338   PATRICK      GIBBS                        OR     44526616167
B38B8672497124   FABIAN       PERALES                      OR     44063626724
B38B8762191579   DIANA        ESCAMILLA                    TX     90009877621
B38B8955191585   RAQUEL       ALMANZA                      TX     90014079551
B38B8A2825B396   SHANNON      HAMPTON                      OR     44580840282
B38B9398124B64   SHAWNA       MURRAY                       DC     81032103981
B38B9553A91961   ANGEL        CHAVEZ                       NC     90000555530
B38BB494593752   JEREMY       RIFE                         OH     64526154945
B38BB668555947   MARYANN      GASTELUM                     CA     49084526685
B3911A91631639   DOMINIC      TISDALE                      KS     90001860916
B39121AA491585   ALEJANDRA    GAMBOA                       TX     90013361004
B3913464424B27   PAUL         GUANILO                      VA     90012804644
B3913775555986   NELLY        ROBLES                       CA     90012677755
B3913977493745   PENELOPE     GIBSON                       OH     64563869774
B3914626391961   TYSHA        CARVER                       NC     90004166263
B391543587B489   TWANA J      REID                         NC     90009314358
B3915737972B62   PATRICIA     POAGE                        CO     90014847379
B391578985B396   NELSON       VILLANUEVA                   OR     44539847898
B391597755B265   LAKISHAIA    THOMAS                       KY     90002009775
B3916162791579   MARIA        HERNANDEZ                    TX     90013261627
B3916479285927   CHAD         MUDDIMAN                     KY     90010954792
B391689413162B   DANNY        SPEAR                        KS     90010358941
B3917356855972   JAIME        GUADALUPE                    CA     90006763568
B3917742784329   OLIVIA       GONZALEZ HERNANDEZ           SC     90008157427
B3917A5345B396   PHOEBE       SMITH                        OR     90013580534
B3918486491585   WILLIAM      EZR                          TX     90014824864
B3918558A97124   NATHAN       HALE                         OR     44047365580
B39188AA455947   KYESHA       BEASLEY                      CA     90014808004
B3919751391579   ALBERT       CORONADO                     TX     90002757513
B391B38A62B99B   NYEMA        CAROTHERS                    CA     90014183806
B392119532B99B   JEFF         SMITH                        CA     90013781953
B392155624B243   ELIZABETH    ESPINOSA                     NE     90007195562
B3921875693727   HERSHEL      COLLINS                      OH     64586278756
B392194357B489   FIDEL        VIDIANO                      NC     90015359435
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2091 of 2350


B3921A9453363B   RAQUEL         CHAIREZ                    NC     90011450945
B3922162631639   CARYN          LLAMAS                     KS     90010471626
B3922644693752   SHAWNTA        POWELL                     OH     90012126446
B392265912B941   JUAN           FLORES                     CA     90013656591
B3922A7192B99B   STEPHANIE      NUNEZ                      CA     90010860719
B392341A872B69   LYNETTE        HOOVER                     CO     90013924108
B39236A2691579   ROJO           CHRISTINA                  TX     90010066026
B3924462391585   CLUDIA         HERNANDEZ                  TX     90001894623
B3924467493752   KATIE          HUBER                      OH     90013494674
B3924816955947   KYESHA         BEASLEY                    CA     90014808169
B3925264A84373   GRACE          LORIMOR                    SC     90005222640
B3925976172B62   CRUZ           CHACON-MONTES              CO     33020259761
B392632A655947   CONGMING       THAO                       CA     49047623206
B392647968B328   MELITA         WILLIAMS                   SC     90005094796
B392647A64B576   BARNABUS       FAIRFIELD                  OK     90011144706
B3926514393745   ASHLEY         LAVENDER                   OH     64516105143
B392659AA31639   CORNELIUS      HARRIS SR                  KS     22009185900
B392714452B271   JERMAINE       JACKSON                    DC     90007101445
B3927329793745   LISA           JONES                      OH     90013063297
B3927958493745   DAWN           SHIRK                      OH     90010039584
B392796492B246   KASHAWN        PERSON                     DC     90001429649
B3928232576B27   ANTHONY        STEPHENS                   CA     46056632325
B392853122B271   ANTIONETTE     REDMOND                    DC     90010845312
B39286A612B99B   LANCE          PECK                       CA     90014186061
B392938683363B   ANGEL          BYERLY                     NC     90013983868
B3929771491961   MARVIN         SCURLOCK                   NC     90002997714
B392B356291585   NANCY          HERNANDEZ                  TX     90014843562
B392BA43A3363B   ANGELA         BECKOM                     NC     12085980430
B3931171972B27   JENNIFER       GARCIA                     CO     90012701719
B393125A891585   ROSA           CINTRON                    TX     75066362508
B3931293455986   MARIBEL        PEREZ                      CA     90012542934
B3931298931459   TAMIKA         SHANNON                    MO     90007662989
B3931555272B69   VICKI          WILLIAMS                   CO     33087635552
B3931A2A241268   EBONY          L DENDY                    PA     51018670202
B393234345B265   MISTY          OBRIEN                     KY     90011023434
B393279A691585   RAMON          CONTRERAS                  TX     90002867906
B3933518155986   MARIA          ESCOLBAR                   CA     49016655181
B393366287B489   KARLA          CASTILLO                   NC     11092056628
B393381312B99B   GARY           LESTER                     CA     90012728131
B3933834191585   KELLY          PIERREND                   TX     75038878341
B3933868893745   ROBERT         REGES                      OH     90013928688
B3934143691579   SANDRA         GARCIA                     NM     90012901436
B393459727B489   AMARO          BURGOS JR                  NC     11040585972
B3934643455986   ALEJANDRA      CARRILLO                   CA     90011676434
B39347A1A91961   KASEEM         VICK                       NC     90011347010
B3934934972B69   JUAN           GUZMAN                     CO     90012349349
B3935432172B69   MATTHEW        MORALES                    CO     90014034321
B393553A69286B   OSCAR          SERRETO                    AZ     90014735306
B3935A89685927   KIMBERLY       DUNN                       KY     90006960896
B3936471255947   TRINIDAD       PASCUAL                    CA     90014814712
B3936476193752   ALEXIS         ALLEN                      OH     64562314761
B3936574131639   CORY           MENEFEE                    KS     22063935741
B393712533363B   CARLOS         LEMUS                      NC     12079841253
B393827157B489   PAMELA         TOLEDO                     NC     90014152715
B393839855B396   KOREY          DEMENT                     OR     90001103985
B3938928993745   TAMIKA         HARRIS                     OH     64502269289
B393896937B439   MIGUEL ANGEL   SALINAS                    NC     90002239693
B3939153A91585   NANCY          TORRES                     NM     90010421530
B3939471A31639   ANGELA         MYERS                      KS     22071354710
B3939868193727   STACEY         JOHNSON                    OH     64586548681
B393B191533625   ISAIAH         JORDAN                     NC     90011761915
B393B27935B265   ROBERT         HENSLEY                    KY     90014152793
B393B929872B69   SCOTT P        ARENDS                     CO     90012339298
B393BA37791579   DARRELL        MOND                       TX     75025880377
B39412A4672B69   ELOY           ALVAREZ                    CO     90005612046
B394137A82B271   ASLEY          JOHNSON                    DC     90012283708
B3941399A72B69   ROBERT         LOVATO                     CO     90013063990
B3941472672B69   PRINCESS       LAWRENCE                   CO     90007684726
B3941479291579   ANTONIO        GARCIA                     TX     75040164792
B394188652B835   MICHAELA       IRACHETTA                  ID     90010278865
B3941A22A97124   LYNNETTE       HERNANDEZ                  OR     90012590220
B394223692B941   CHRIS          TURNBOUGH                  CA     90013592369
B3942946A5B265   LYNSY          BOGGS                      KY     90012599460
B394344478B862   CHARLES        ODOM                       HI     90014114447
B3943883972B62   GENE           LOPEZ                      CO     90002058839
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2092 of 2350


B3943A21155947   EFRAIN         ROQUE                      CA     90013960211
B3944333593752   CHARLES        WORMAN                     OH     90013693335
B3944657572B69   OMAR           LOPEZ                      CO     90011196575
B3945183791579   RENE           DIAZ                       TX     90007131837
B3945798172B69   MARKETTA       BRISCOE                    CO     33005547981
B3945878A93745   DANNY          STORCK                     OH     90013928780
B3945A2315B396   SHARON         RAMSEY                     OR     90012030231
B3946155972B69   ROBBY          ORR                        CO     90002771559
B39463AA72B941   CESAR          MACIAS                     CA     45096163007
B3946679651339   SHERYL         SPITLER                    OH     66053526796
B3946713293752   FREDRIX        SAVORS                     OH     64593297132
B3947274161941   RICHARD        OROZCO                     CA     90011862741
B394759AA31639   CORNELIUS      HARRIS SR                  KS     22009185900
B39475AA497124   LUIS           SALAS                      OR     90015035004
B394774AA93745   MICHELLE       DEAN                       OH     90014407400
B3947A63172B69   NANCY          CONTRERAS                  CO     33069700631
B3948546555947   GEORGE         RIVERA                     CA     49016065465
B3949721691579   RUBEN          ALTAMIRANO                 TX     90009557216
B3949A7774B221   SAMUEL         LOPEZ                      NE     90002810777
B394B357391579   OLICARPIO      DURAN                      TX     90009613573
B395114352B271   VICTOR         COCHE                      DC     90011571435
B3951182793727   JESUS          MEDINA-ACOSTA              OH     90015341827
B3951277291948   FLORIDALMA     SERRVANO                   NC     90006132772
B395136393363B   JOHANNA        MATTHEW                    NC     90006523639
B3951577A24B64   ANGELITA       YOUNG                      DC     90008895770
B395178A572B69   CIARA          GUERRERO                   CO     90009887805
B3951915591876   BEVERLY        SASSER                     OK     90009589155
B3951A8982B835   RUDY           DAVILA                     ID     90009060898
B395222235B991   ARMANDO        RADILLO                    WA     90015522223
B3952588191585   LILIA          GONZALEZ                   TX     75093145881
B39543A883363B   JUAN           SMALL                      NC     90003433088
B3954836593745   JAMES          HENRY                      OH     90014758365
B3954967455986   GLENDA         VASQUEZ                    CA     90001299674
B3955261355986   JENNIE         PIERCE                     CA     49061352613
B395537665B349   MARIA          ROJAS                      OR     90000463766
B3955663755972   MARIA          MORALES                    CA     90008696637
B395714762B941   LINDA          JANTZ                      CA     45010141476
B395783862B271   MEDIN          NUNEZ                      DC     90013838386
B3957A64197124   VALERIE        TRUJILLO                   OR     44080970641
B3957A8AA72B53   DAVID          GRAY                       CO     90006760800
B395943347B489   MAETZIN        CRUZ                       NC     90011604334
B3959751A3363B   CHRISTHEL      VELASCO                    NC     90007947510
B39597A6297124   REBECCA        GARCIA                     OR     90012977062
B395981A571993   SABRINA        FOSTER                     CO     90001678105
B3961137355986   ALEJANDRA      MORALES                    CA     90012911373
B396158482B99B   ZACK           DUKE                       CA     90011755848
B3961663191524   JUAN CARLOS    MARTINEZ                   TX     90012326631
B3961991555947   LUIS           AMAYA                      CA     90013039915
B3962931397B69   SHERRY         MOULTON                    CO     39007069313
B39632A912B99B   CRESTON        WANZY                      CA     90006852091
B396377945B265   LESLIE         WARREN                     KY     68086657794
B3963A9175B265   ANTONIO        WILSON                     KY     90015060917
B3963A9672B271   HERMITT        MOSLEY                     DC     90013680967
B396429A291579   ROSA           RAMIREZ                    TX     75064092902
B396473A855947   JOSE           CISNEROS                   CA     90013417308
B39647A6893752   NED            OURS                       OH     90009157068
B396534A15B265   MIATA          STEVENSON                  KY     68030493401
B396541875B573   ANGELICA       HERNANDEZ                  NM     90012604187
B3966162455972   SERGIO         GARCIA                     CA     49088091624
B396622A52B99B   JUSTIN         MYLAR                      CA     90014612205
B3966789391592   GERARDO        LOPEZ                      TX     90011257893
B3966888693745   TRACY          MILLER                     OH     64586568886
B39672A7791579   MARK           LUNA                       TX     75013312077
B396781873363B   WALTER         REICHARDT                  NC     90013678187
B396795A993745   CATHERINE      GREGORY                    OH     90010169509
B3968271855972   KAROLINA       CABANILLAS                 CA     90009202718
B3968346591585   ROSA           TERAN                      TX     90004253465
B396835939194B   JESSICA        MCSWEENEY                  NC     90004373593
B3968645372B62   KARLI          GOOS                       CO     90008626453
B3968784297124   ROBERT         WILLIS                     OR     90007437842
B3968A84997124   BRYANNA        BALL                       OR     90015140849
B3969129997124   MARC           PUHLMAN                    OR     90015141299
B3969173955972   ROSEMARY ANN   ZAPATA                     CA     90010411739
B3969647961976   MELISSA        BYNNOM                     CA     90005006479
B3969847655947   ANGELA         GOMEZ                      CA     90014808476
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2093 of 2350


B396B524272B69   AUBREY        PARKS                       CO     90012455242
B396B656697124   ADRIANA       MARTIN                      OR     90014006566
B396B931493727   DONNIE        MURRAY                      OH     90001819314
B397144285B548   JUSTIN        GABALDON                    NM     90011974428
B3971859555947   SAMANTHA      WALLACE                     CA     90014808595
B397191982B252   THERESA       MCBRIDE                     DC     90001099198
B397192638B171   AUDREY        SUITOS                      UT     31068369263
B3971A2A331688   JEREMIAH      WALKER                      KS     90012950203
B3972337693746   LEEANNA       COTTRELL                    OH     90007723376
B3972338755986   ROCIO         GALVEZ                      CA     90012893387
B397269155B265   JAMES         LENNON                      KY     90010576915
B39726A963363B   JEFFREY       CRAVEN                      NC     90006136096
B3972835591961   CATHY         JONES                       NC     90014828355
B3973137372B69   WILLIAM       LENT                        CO     90014061373
B3973153A91961   COURTNEY      BOYCE                       NC     90010801530
B397331A793745   KERRI         WINKLEMAN                   OH     90014423107
B3973636155947   AIOTEST1      DONOTTOUCH                  CA     90015116361
B3974141172B69   CHARLA        COX                         CO     90012431411
B3974471255947   TRINIDAD      PASCUAL                     CA     90014814712
B3974565897124   TITIANA       HILL                        OR     90009595658
B3974767772B62   JORGE         ALBERTO                     CO     90006387677
B397497987B489   JAMIL         COLE                        NC     90015339798
B3974AA6655972   ISIDRA        OROZCO                      CA     49075480066
B397522142B99B   KEN           CAVE                        CA     90012772214
B397544A62B941   ANTONIO       MONTANO                     CA     90007424406
B3975817876B27   STONER        JOE SAMANTHA                CA     90001508178
B3976383891579   GUADALUPE     GONZALEZ                    TX     75090823838
B3976899661994   KIMBERLY      RAMIREZ                     CA     90004998996
B397752543363B   SUSAN         HARRISON                    NC     90008375254
B397763432B941   CARLOS        CARRANZA                    CA     90013966343
B3977749985927   JOSE          LUCAS                       KY     90013697499
B397799875B396   DOMITA        CALVIN                      OR     90013569987
B397883AA7B489   CESAR         SILVA                       NC     90014998300
B397933A17B433   RUDY          HERNANDEZ                   NC     11067733301
B397943453363B   JOSEPH        NOBLES                      NC     90012964345
B397943885B331   CYNTHIA       ROUW                        OR     90011154388
B3979484172B62   SANJUANITA    COVARRUBIAS                 CO     90014784841
B397B564991961   LYNETTE       DIXON                       NC     90014755649
B397B915991248   SANDRA        RUFF                        GA     90009829159
B39814A1991579   RAMIRO        SANDOVAL                    TX     75069814019
B398181992164B   ANJANETTE     MAYBERRY                    OH     90015098199
B3982159891579   OSCAR         AYALA                       TX     90012271598
B398269246619B   BRIAN         ADNEY                       CA     90014006924
B3982748955947   ANDREA        CLAY                        CA     90014787489
B398296415B222   LINDA         ADKISSON                    KY     68008159641
B3982969493745   AMY           HOLMAN                      OH     90015549694
B39829A6391961   JOSE          RIVERA                      NC     90014829063
B3982A25454168   REBEKKAH      BEUCKWICH                   OR     90014200254
B3983755772B62   JORGE         MARTINEZ                    CO     90012657557
B398393787B12B   AMBER         JEVNE                       ND     90015049378
B3983A13A61994   LISA          LUNSFORD                    CA     90007390130
B3983A94991371   REGINA        FATAJO                      KS     90012280949
B398473253363B   JESSICA       SMITH                       NC     90012817325
B3984936391579   VICTOR        ACEVEDO                     TX     90013279363
B398495A572B62   BRETT         BRADSHAW                    CO     33058479505
B3985472193727   DARRELL       GOOLEY                      OH     64558064721
B3985543761994   NORMA         VANEGAS                     CA     90014465437
B398598944B259   CHRISTOPHER   MILLER                      NE     90003859894
B398648A755947   ADELINE       TRUJILLO                    CA     90014814807
B3986A6A42B228   TAFOUNYA      BORN                        DC     90013930604
B3987261793736   ERIN          HAULMAN                     OH     90004652617
B3988378255947   ESMAERALDA    LOPEZ                       CA     90011743782
B398884923363B   SHEILS        AIKENS                      NC     12034328492
B398988A755947   FEDERICO      ZAVALA                      CA     90014808807
B3989A2A754122   TANIA         GARCIA                      OR     90014050207
B398B567331639   ANTHONY       ROSS                        KS     90011495673
B398B832593745   NOELIA        BASQUEZ                     OH     90012778325
B398B883391961   BLANDINE      NGOMA                       NC     90014828833
B398BA36A2B941   MARISSA       GONZALEZ                    CA     90007370360
B399131382B234   WILLIE        WARREN                      DC     90013383138
B399142A485927   MACY          PAYTON                      KY     90013354204
B39922A7772B62   HELADIO       CASTRUITA-CALDERON          CO     90012742077
B39925A757B439   FALLON        SHANIA                      NC     90011305075
B399272192B835   IVAN          BARROSO                     ID     90013297219
B399359683363B   SUSANA        ARELLANO                    NC     12010275968
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2094 of 2350


B3993795931688   THADDEUS     BARNES                       KS     22085917959
B3994537261994   VALAR        ALEX                         CA     90001665372
B399527855B265   HARI         ACHARYA                      KY     90014422785
B39952A1993752   AARON        KROGGEL                      OH     64516682019
B3995738872B62   DALILA       AGUILAR                      CO     90013977388
B39959A462B941   MARIA        MARRERO                      CA     90014109046
B399646A161963   VIRGINIA     MORENO                       CA     46006214601
B39964AA15B396   EMAN         NAJEN                        OR     90011554001
B3996584793745   KYLE         CARTER                       OH     64576245847
B3996989176B27   MICHAEL      JORGENSEN                    CA     46043019891
B399745972B99B   KENNETH      NEWTON                       CA     90010504597
B3997666A72B62   STEVEN       SANCHEZ                      CO     90012206660
B39976A437B489   FELIX        ARREOLA                      NC     90014176043
B39982AA391549   GONZALEZ     DAGOBERTO M                  TX     75059332003
B399832253363B   ERIC         CONTRETTE                    NC     90014763225
B3998457891248   ROBIN        SHELTON                      GA     90001024578
B399933314B259   CHRIS        MORROW                       NE     27005133331
B399949892B271   STEVE        CARPENTER                    DC     90013874989
B3999A56993727   WANDA        STEWART                      OH     64529500569
B399B557993752   SUSAN        LEMASTER                     OH     90012155579
B399B584A72B62   NATHAN       ENRIGHT                      CO     90002295840
B399B92A691961   SHALAINA     FINCH                        NC     90014829206
B39B1419831639   FORREST      WILLIAMS                     KS     90010094198
B39B1875636B98   SCOTT        GAMEROS                      OR     90004408756
B39B1A71A72B62   MICHAEL      NOLAND                       CO     90010730710
B39B2341591961   RONNIE       HARGROVE                     NC     90014823415
B39B3958993745   PAMELA       COPE                         OH     90006329589
B39B3A62297124   ROSA         ROMERO                       OR     90008900622
B39B4273755947   ZISKA F      WOODRUP                      CA     90014882737
B39B4421772B62   ADNAN        ABID                         CO     33016924217
B39B511937323B   ALEZ         MEXQUITITLA                  NJ     90014811193
B39B537A555972   MATTHEW      SZALAY                       CA     90004743705
B39B57A3A93752   DONALD       ESTELLE                      OH     64513767030
B39B5921191585   ARTURO       ALDERETE                     TX     75087119211
B39B5981136B98   SHAUN        FAIR                         OR     90015219811
B39B6996397124   JUSTIN       ALDRIDGE                     OR     90013789963
B39B7382191952   JULIO        OLIVARES MORALES             NC     90008893821
B39B7623555986   MARK         CHATMAN                      CA     90011676235
B39B8391691961   TONIA        PULLEY                       NC     90014823916
B39B8427661976   RAYMON       ARABO                        CA     46064834276
B39B8623555986   MARK         CHATMAN                      CA     90011676235
B39B86A995B265   CATHERINE    CHAPMAN                      KY     90014956099
B39B874A32B99B   HEATHER      WREDE                        CA     90014357403
B39B884795B265   YADIRA       RAMIREZ                      KY     90007328479
B39B895982B941   ISRAEL       MUJICA                       CA     90014959598
B39B9647897124   JULIO        SALAZAR                      OR     90014006478
B39B98A6193727   MARIA        GARSIA                       OH     64517888061
B39B9A55391585   VICTOR       RAMIREZ                      TX     90005620553
B39B9AA412B941   MADELINE     SCOTT                        CA     90014310041
B39BB28A85B396   ERIKA        RUSSUM                       OR     90006432808
B3B1161243363B   LASHUAN      COOPER                       NC     12092756124
B3B1163A676B27   JUANA        LOPEZ                        CA     46003996306
B3B11672693752   JALISA       DAVIS                        OH     90013016726
B3B1176362B941   CHRISTINA    PEREZ                        CA     90010777636
B3B1184784B259   RAY          SUAREZ                       NE     27008788478
B3B11A8955B396   SCOTT        DES ROSAIERS                 OR     90004820895
B3B1225812B941   ANTHONY      CABRERA                      CA     45083642581
B3B122A9A91582   BLANCA       MORAN                        TX     90012532090
B3B1299932B99B   MARTHA       GUTIERREZ                    CA     90008719993
B3B1367674B265   ERIC         LOEHR                        NE     27072586767
B3B14773497124   JOY          LAWRENCE                     OR     90013497734
B3B1479812B271   APRIL        SCOTT                        VA     90013197981
B3B15151131639   BULMARO      MONDRAGON                    KS     22053851511
B3B1527963363B   LACEY        ASBURY                       NC     90013772796
B3B15342691585   ISELA        ROJAS                        TX     75075883426
B3B15593A2B271   SABRINA      MCLEAN                       DC     90012755930
B3B1576322B941   RON          ELLIOTT                      CA     45009947632
B3B1622A955994   CASSIE       SANTELLAN                    CA     90008692209
B3B16533A93727   GREG         MARTIN                       OH     90013925330
B3B165A2554122   JOHN         FAVOR                        OR     90001725025
B3B16731443566   PAYGO        IVR ACTIVATION               UT     90013747314
B3B17455372B69   SANTOS       OLIVAS                       CO     90013044553
B3B17821993727   ELKE         HARRISON                     OH     64535258219
B3B17824797124   BRANDON      O NEIL                       OR     90003618247
B3B17A4415B265   SHERITA      CLAY                         KY     90013550441
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2095 of 2350


B3B18193591585   MARIO         SALAZAR                     TX     90013021935
B3B182A993363B   HERMINIO      PUENTE                      NC     90012742099
B3B18638455947   JACQUELYN     CONTRERAS                   CA     90014786384
B3B18729A72B69   MIRIAM        ROJAS                       CO     33045017290
B3B1892745B265   CHARMELE      HOBSON                      KY     90012599274
B3B1913755B265   KRISTEN       ASHER                       KY     68073611375
B3B19376154122   NATASHA       LOPEZ                       OR     90013113761
B3B19591785927   CLADIA        OSORIO                      KY     67054385917
B3B19754454122   NATASHA       LOPEZ                       OR     47050357544
B3B19968355992   JOSE          MONTENEGRO                  CA     90006019683
B3B199A5893752   BILLY         RICHARDS                    OH     90008399058
B3B1B13733B352   WILLIAM       LENT                        CO     90014061373
B3B1B81127B443   KATIE         VALENCIA                    NC     90011088112
B3B1B96493363B   CHRISTOPHER   PAYNE                       NC     90013339649
B3B21769393752   APRIL         HAYS                        OH     64589987693
B3B21A48572B62   JASON         GUEVARA                     CO     90014450485
B3B22259255941   THOMAS        SMITH                       CA     90005642592
B3B22314831639   CASEY         BAKKER                      KS     22020373148
B3B22692742332   MEL           BRYANT                      GA     90011446927
B3B22A86854151   BETTY         ODEGARD                     OR     90012040868
B3B2318315B265   RUBEN         ORDONEZ                     KY     90013871831
B3B23912191257   BEVERLY       LINDSEY                     GA     14570849121
B3B25147176B27   AGUSTIN       LUT                         CA     90011691471
B3B25299154122   MEGAN         KOLLING                     OR     47047052991
B3B25619743566   LANCE         JUSTET                      UT     90011816197
B3B25958A8B142   JOSIE         SAVAGE                      UT     90007739580
B3B26168A2B99B   JOSE          MEDINA                      CA     90014861680
B3B263A4191961   TAYLOR        MILLER                      NC     90014733041
B3B2644765B393   JESUS         CEJA                        OR     44091064476
B3B2682152B99B   ABRAHAM       FRANCO                      CA     90012888215
B3B27312193745   TONYA         REYNOLDS                    OH     64542823121
B3B28116291585   ARMANDO       OROZCO                      TX     90001821162
B3B28247A2B271   SHERRILL      GRAY                        DC     90011562470
B3B28367476B27   SALVADOR      FLORES                      CA     90007553674
B3B283A3891961   ROBERT        STECHER                     NC     90014733038
B3B284A2A55972   ANDRES        GARCIA                      CA     90000374020
B3B2913517192B   ANGELA        MARTINEZ                    CO     32004671351
B3B2916712B941   CANDELARIA    LOPEZ TENA                  CA     90014121671
B3B2937697B34B   MARLENE       MEJIA                       VA     81012533769
B3B2B268755972   JUANA         CASAROTES                   CA     90008662687
B3B2B313154122   JAMES         JACKS                       OR     47009703131
B3B2B7A895B265   GEORGE        FANT JR                     KY     68050627089
B3B3153782B99B   ROGELIO       GALAN                       CA     90013305378
B3B3182725B396   PHUL          GAJMER                      OR     44594408272
B3B31962191585   ORLANDO       ZAPATA                      TX     75041659621
B3B319A6554122   ANETTE        HARKER                      OR     90004859065
B3B322A8424B64   KEVIN         WINKEY                      DC     90013582084
B3B32879572B62   TYRONE        JONES                       CO     33077178795
B3B32911193752   HILL          STEPHANIE                   OH     90010469111
B3B33777597124   SHAINA        FELGER                      OR     90013267775
B3B33A16885927   JOSHUA        BROWN                       KY     67011860168
B3B33A9812B271   SANIYA        LYLES                       DC     90014600981
B3B34599991579   ANGIE         SIMENTAL                    NM     90012075999
B3B34976A91579   ELIZABETH     SANTOS                      TX     90008859760
B3B35663691582   LORENA        MEJORADO                    TX     90002556636
B3B3584299156B   MIGUEL        MURILLO                     TX     75024408429
B3B35992A31688   BARBARA       ADAMS                       KS     22096399920
B3B36359493727   SHEILA        BELL                        OH     64546663594
B3B37878991579   CATHERINE     PENA                        TX     90014058789
B3B3814457B489   ALINA         STANTON                     NC     90014801445
B3B3826172B99B   ARMANDO       ARUVZA                      CA     90008332617
B3B39379691579   BRISSA        ZUBIATE                     NM     75086543796
B3B39792A72B69   TRISHA        KESSLER                     CO     90014377920
B3B39927585927   AMANDA        VIOS                        KY     67045359275
B3B39A75A93776   SHANNON       HAWN                        OH     90001180750
B3B3B22537B489   FERMIN        GUEVARA                     NC     90014102253
B3B3B459361963   LAURA         BRAVO                       CA     46058774593
B3B3B552172B62   SHANTEL       QUINTANA                    CO     33087695521
B3B3B782891582   RAMIRO        MIRAMONTES                  TX     90009687828
B3B3B97325B396   MATA CARLOS   GONZALEZ                    OR     90012439732
B3B3BA21593727   KARLA         WARNER                      OH     90012620215
B3B3BA2373B13B   OTILIA        MAMANI                      VA     90005570237
B3B3BAA662B941   TONY          SILVA                       CA     90015130066
B3B41334397124   CHRISANTHY    TURNBOW                     OR     90014563343
B3B41687372B62   BLANCA        ORTEGA                      CO     90013276873
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2096 of 2350


B3B41722391592   JENNIFER        LERMA                     TX     90011397223
B3B41725A7B489   EDWARDO         ARITA                     NC     90009437250
B3B41744991585   EFREN           SANCHEZ                   TX     90012237449
B3B41812131639   ZULEIKHA        ABDI                      KS     90009058121
B3B4211A191961   URIEL           SILVA MACAYO              NC     90014761101
B3B4212332B252   TARESSA         FRAZIER                   DC     90003771233
B3B42343191961   MARY            SAUNDERS                  NC     90014733431
B3B4234472B99B   RON             HAMMONDS                  CA     90012213447
B3B4242837B443   LOUISE          YEARGIN                   NC     90003154283
B3B42811972B27   RAMONA          RIVAS                     CO     90012598119
B3B4296747B489   SHAKINA         BOYD                      NC     11015329674
B3B42999591585   RAMSEY          RIOS                      TX     75098799995
B3B4312582B271   JOESPH          WILSON                    DC     90008921258
B3B43346991961   DEMARCUS        TILLIRY                   NC     90014733469
B3B43784272B69   JULINETTE       NUNEZ                     CO     33080617842
B3B43A45691582   IVAN            RIOS                      TX     90007910456
B3B44372272B62   BOBBIEARS       GARCIA                    CO     90013083722
B3B44552177524   JESUS           GOMEZ                     NV     90004925521
B3B4466793363B   CRYSTAL         CRAVEN                    NC     90012946679
B3B4525855B592   GEORGE          RODRIGUEZ                 NM     90011682585
B3B45617993727   LILLIANA        ARIAS                     OH     90012986179
B3B458A3255947   SIA             LEE                       CA     90004088032
B3B45AA277B489   JENNIFER        POLK                      NC     11006180027
B3B461A1293745   CHELSEA         WEBER                     OH     90008291012
B3B46381872B69   SARAN           SYLLA                     CO     90012573818
B3B4639593363B   MARCOS          GUTIERREZ                 NC     90013883959
B3B467A6493745   SAMANTHA        MAPES                     OH     90014817064
B3B47286143566   JESSE           SILVA                     UT     31072542861
B3B4755A355972   ISIDRO          MEZA                      CA     90000645503
B3B476A537B478   TRAJAR          JETER                     NC     90005346053
B3B47A87293727   RAHEEM          STRODES                   OH     90011000872
B3B48372A93727   NATHANIEL       COFFMAN                   OH     90001423720
B3B48624293745   TYLA            BEVERLY                   OH     90003836242
B3B49327931688   RAYMOND         HERNANDEZ                 KS     22060443279
B3B49A8112B941   MAGDALENA       MORALEZ                   CA     45045790811
B3B4B231454122   HEATHER         SHIELDS                   OR     90007332314
B3B4B265961963   LUIS            SUAREZ                    CA     46064892659
B3B4B343191961   MARY            SAUNDERS                  NC     90014733431
B3B4B821372B69   MELISSA         ZARATE                    CO     90011858213
B3B4BAA7955986   ANDRAYA         VOLZ                      CA     90012140079
B3B511A1343566   BERNIE          RODRIGUEZ                 UT     31065301013
B3B5223237B489   CRYSTAL         MCCOLLOUGH                NC     90014692323
B3B52423772B62   YVETTE          MARTINEZ                  CO     33069684237
B3B526A9793745   DUANE           CHILDRESS                 OH     90013696097
B3B53236A2B941   JOEL            SEGURA                    CA     90010702360
B3B5373A172B62   JOHN            QUINTANA                  CO     90007007301
B3B53866943583   GAVIN           ROGERS                    UT     90012508669
B3B54459272B69   BONNIE          MAHANA                    CO     90011794592
B3B55886572B69   RACHELLE        RAMIREZ                   CO     90006608865
B3B559A183363B   DAVID           DILLARD                   NC     90014939018
B3B56253293745   BRETT           GARTIN                    OH     90004792532
B3B56A8642B99B   JASMIN          VARGAS                    CA     90013210864
B3B57321754122   ADULT           THE                       OR     47000313217
B3B5738355B396   JENNIFER        LYNN                      OR     90010413835
B3B573A717B489   ROSA            BILLER                    NC     90014613071
B3B57464591585   CYNTHIA         ESTRADA                   TX     90006214645
B3B57784542332   TAYLOR          FOX                       GA     90015107845
B3B57959885927   LINDIN          LAIRSON                   KY     90010899598
B3B57984A97124   ROSA PATRICIA   VENEGAS                   OR     90013049840
B3B5837672B271   AUDREY          CURTIS                    DC     90010533767
B3B585AA191549   CARLOS          ECHEVARRIA                TX     90008605001
B3B58756172B69   JUAN            REYES                     CO     90012807561
B3B59162A93727   AUDRA           THOMAS                    OH     90013831620
B3B594A6261994   JOSHUA          WILSON                    CA     90007314062
B3B59696331639   ROSE MARY       KRAUTER                   KS     22046366963
B3B59888855972   CYNTHIA         MUNIZ                     CA     90010248888
B3B59939955986   ANTHONY         PADILLA                   CA     49077859399
B3B5B8A2A76B27   EUSEBIO         CHAVEZ                    CA     46011908020
B3B5B992861985   BEATRIZ         RANGEL                    CA     90011779928
B3B6148772B99B   JOYCE           AUSTIN                    CA     90013014877
B3B61543255986   GRISELDA        FERNANDEZ                 CA     90000885432
B3B6181A885927   SHAQUANNA       RATLIFF                   KY     90012398108
B3B61984A91579   MARAIANA        VASQUEZ                   TX     90013339840
B3B61A49A5B396   CODY            NASSAR                    OR     90012710490
B3B62267955972   SILVA           ATHENA                    CA     49045512679
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2097 of 2350


B3B62317685927   DENISE       JACKSON                      KY     67046743176
B3B63351493752   RICKY        THOMAS                       OH     64502133514
B3B6335845B396   HU SA        MAN                          OR     90013453584
B3B63465955986   SOUTSADA     PHENGDY                      CA     49093014659
B3B6371A94B259   FELIX        SANTIAGO                     NE     27064447109
B3B63888491961   JACKY        GARCIA                       NC     90014948884
B3B645AA57B489   KENNEDY      CUTHBERTSON                  NC     11032495005
B3B64725697124   ANDREA       SMITH                        OR     90014107256
B3B64983A5B265   COURTENAY    WALKER                       KY     90010539830
B3B64A84991579   ANA          AGUILAR                      TX     75087580849
B3B64AAA391961   MALIK        HARRIS                       NC     90010110003
B3B654A9491585   LYDIA        RODRIGUES                    TX     90014664094
B3B6552445B393   ERIN         THOMPSON                     OR     90014765244
B3B6572732B239   YARED        GIZAW                        DC     90000257273
B3B65AAA22B271   ZACHARIAH    BOODIE                       DC     90013680002
B3B663A995B265   MARCELLA     DUNCAN                       KY     90007093099
B3B67494A2B941   BONNIE       ALCANTAR                     CA     45016164940
B3B67683891961   JONELLE      MCNEIL                       NC     90008566838
B3B677A7791585   VICTOR       MARISCAL                     TX     90012197077
B3B6818612B271   SEAN         HACKSHAW                     VA     90010211861
B3B68387672B69   VICTOR       ACUNA                        CO     33066353876
B3B68389755947   LINA         SANDOVAL                     CA     49051793897
B3B6896992B941   JUAN         GUTIERREZ                    CA     90010949699
B3B69369291585   ADRIAN       CHAVEZ                       TX     90013773692
B3B69641893731   MARCOM       COVER                        OH     90012146418
B3B69A79631688   RHONDA       NEWTON                       KS     22093760796
B3B6BA23255972   JESSICA      FISHER                       CA     49056220232
B3B6BA7135B158   GINA         MCCULLOR                     AR     90012680713
B3B71446155986   ERIKA        REYNA                        CA     49040534461
B3B71898272B62   MARY         ADLER                        CO     90007918982
B3B72226133687   ALFREDA      HIGGS                        NC     90001762261
B3B72446155986   ERIKA        REYNA                        CA     49040534461
B3B7264A15B573   LORRIE       LUCERO                       NM     90002856401
B3B73127A55986   LUIS         ROBLES                       CA     90013221270
B3B7328A87B489   ZAVOLA       CARTER                       NC     90013262808
B3B74614472B69   GARY         JOHN                         CO     90013376144
B3B7625A191961   ALAYA        SPENCE                       NC     90014742501
B3B76594143566   MARY         OSCARSON                     UT     90010065941
B3B76944691852   LINDSAY      CHAMBERS                     OK     90008269446
B3B7725A191961   ALAYA        SPENCE                       NC     90014742501
B3B77442797124   SALVADOR     VALLE                        OR     90010154427
B3B77626697982   ANGELICA     PEREZ                        TX     90005096266
B3B77785491592   ALAN         MENA                         TX     75004817854
B3B77819493727   JOHN         MCKENZIE                     OH     90014058194
B3B7815848B337   ADA          GUTIERREZ                    SC     90001571584
B3B78573A57543   DEANDRE      ARROYO                       NM     90007345730
B3B78717443566   STEPHANIE    REESE                        UT     90014607174
B3B79186A85927   TACARRA      POWELL                       KY     90014281860
B3B79579454122   VALERIE      DYER                         OR     90015135794
B3B7974A55B265   BRIDGET      FOX                          KY     90013827405
B3B7B21AA31688   ASHLEY       CHAMBERS                     KS     22012292100
B3B7B43A772B69   DAKOTA       MILLER                       CO     90014034307
B3B7BA6817192B   TARA         MAZON                        CO     90008810681
B3B8119A872B69   ROBERT       KNIGHT                       CO     90011971908
B3B814A8631639   DONNA        BLACK                        KS     90004444086
B3B81749891579   MARGIE       RONQUILLO                    TX     90008327498
B3B81781185927   ALICIA       OWENS                        KY     67036967811
B3B81A12793745   CURTIS       OWENS                        OH     90013230127
B3B8214372B941   OMAR         AVALOS                       CA     90014461437
B3B82A5785B265   VERNIQUE     WILLIAMS                     KY     90010540578
B3B8312297B432   ROBERTO      NICOLAS                      NC     90011761229
B3B8338417B443   DANIELLE     SWAN                         NC     90004383841
B3B83799A72B62   JONATHAN     TELLO                        CO     90011897990
B3B83A35655986   SUMMER       JAMES                        CA     90013210356
B3B84395291362   JEREL        BROOKS                       KS     90007733952
B3B84623172B81   RECENDIZ     CARLOS                       CO     90007946231
B3B84687755947   VICTORA      LIMA                         CA     90014786877
B3B8513414B259   TORRES       RUTH                         NE     27045341341
B3B8524412B849   MAHAL        ADAM                         ID     90014422441
B3B852A6172B62   ARAMINTA     JOHNSON                      CO     33077612061
B3B8562253363B   MIGUEL       URRUTIA                      NC     90014756225
B3B85655272B62   RAMON        MARQUEZ                      CO     33052306552
B3B858A823363B   ADOLFO       GARCIA                       NC     90013818082
B3B8617762B99B   JOSE         POSADA                       CA     90013761776
B3B8647A581492   WILL         MANLEY                       PA     90014784705
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2098 of 2350


B3B86585376B27   JACKI        MENDEZ                       CA     90012325853
B3B8662217B489   SHALISHA     COOK                         NC     90013636221
B3B8667167B489   LUCIA        PALMA                        NC     90013606716
B3B8697745B265   CONESHA      YATES                        KY     90012839774
B3B87443493752   JAMIE        MAY                          OH     90002894434
B3B87472A2B99B   BRADFORD     SANTIAGO SR                  CA     45093274720
B3B88356493752   ALBERT       BLACK                        OH     90010963564
B3B89813454122   ILENE        DAVIS                        OR     90008628134
B3B89AA6897B69   NAYELI       OCEGUERA                     CO     90012410068
B3B8B11A677397   MARISA       SAUCEDO                      IL     20576831106
B3B8B52A291579   MONICA       ALMANZA                      TX     90011495202
B3B8B57A276B27   LINDA        MCMAHAN                      CA     46045125702
B3B91624143566   KARINA       VASQUEZ                      UT     90015306241
B3B917A5393745   KIM          CLIPPINGER                   OH     64595067053
B3B9192927B489   REBECCA      ROBERTSON                    SC     90012109292
B3B92235243566   OWENS        KRISTY                       UT     31045932352
B3B92251155972   MAYRA        VELAZQUEZ                    CA     49074042511
B3B9251222B941   CAMMY        WOODY                        CA     90004185122
B3B925A3685927   KYLE         BOTTO                        KY     67004425036
B3B92749972B98   EUSEBIO      RUIZ-HERNANDEZ               CO     90010037499
B3B9298674B259   JOSEPH       NEUMEISTER                   NE     90006389867
B3B93773193752   CHERYL       GOODALL                      OH     64543167731
B3B9384795B221   YADIRA       RAMIREZ                      KY     90007328479
B3B94269991579   CLAUDIA      GARCIA                       TX     90014082699
B3B94616197124   ERIN         FOX                          OR     90014406161
B3B95327891961   JALISA       KEYES                        NC     90014743278
B3B9537922B945   MARINA       JUAREZ                       CA     45058043792
B3B954A9931639   BRADY        ALLENSWORTH                  KS     22009234099
B3B9568637B489   JOSE         VELASQUEZ                    NC     90012046863
B3B956A822B941   RACHELLE     BARAJAS                      CA     90003166082
B3B9574224B537   DARIO        SANTOS                       OK     90010677422
B3B95762591585   JOSUE        TOLEDANO                     TX     90006647625
B3B9582273363B   ELIZABETH    MEJIA                        NC     90013118227
B3B95962597124   TODD         TRUMBLY                      OR     90005119625
B3B9645595B396   PAULA        SOWARDS                      OR     44553094559
B3B96539955931   KATIE        STAFFORD                     CA     90013425399
B3B96766A55986   VALENCIA     REINA                        CA     90001227660
B3B96A34291961   ARIEL        BURT                         NC     90013480342
B3B97374285927   JONATHAN     THOMPSON                     KY     90013633742
B3B98698393752   DOROTHY      MARLOW                       OH     90001766983
B3B99759136B98   JENISE       BRAULT                       OR     44537447591
B3B99787255986   ISABEL       DOMINGUEZ                    CA     90000367872
B3B9B113791579   GABRIEL      REYES                        TX     90012161137
B3B9B162822444   EMERALDA     RAMIREZ                      IL     90011971628
B3B9B37A17B489   LAMONT       DAVIS                        NC     11094373701
B3BB121132B99B   ROBERT       SUPERNOR                     CA     90007772113
B3BB1485693745   AMBER        ADAMS                        OH     90000984856
B3BB1617155947   CASSANDRA    CORONADO                     CA     90014786171
B3BB16A3391579   JENNIFER     JIMENEZ                      TX     90009156033
B3BB18A1561994   DONALD       ODOM                         CA     90003298015
B3BB1A67831688   CHRIS        SLATELER                     KS     90004310678
B3BB2357293752   MONICA       GIBSON                       OH     90003933572
B3BB2396797124   ALYSSA       LONGACRE                     OR     90012743967
B3BB2543791961   HOPE         MCCLOUD                      NC     90014365437
B3BB2624955947   ANGELICA     MENDOZA                      CA     90006376249
B3BB264922B941   ROSEANNE     DURHAM                       CA     90005156492
B3BB272822B268   JULIANA      BIRD                         DC     90004917282
B3BB3548155986   CRISTINA     GUTIERREZ                    CA     90014795481
B3BB3928993731   DONALD       SUTTON                       OH     90013409289
B3BB3A4482B99B   JANIENE      JEWELL                       CA     90013210448
B3BB418512B23B   ANTOINETTE   SWEETNEY                     DC     90001731851
B3BB4247572B62   MARK         SMITH                        CO     33067702475
B3BB4279993745   TYLER        GARNER                       OH     90013132799
B3BB499A455986   ERIKA        ORTIGOZA                     CA     90014959904
B3BB591764B583   PAMELA       BURR                         OK     90007419176
B3BB6A65154122   MICHELLE     CORNELLO                     OR     90006080651
B3BB7153272B69   JANAKI       SHARMA                       CO     90009851532
B3BB7163871932   BETTINA      GARCIA                       CO     90001951638
B3BB748242B271   AARON        MULHERON                     DC     90005984824
B3BB7483491585   ROBERT       RAMIREZ                      TX     90014064834
B3BB74A416619B   LUIS         ZEPEDA                       CA     90014744041
B3BB762532B271   AARON        MULHERON                     DC     90012636253
B3BB7653A5B265   ALISHA       FOSTER                       KY     90009206530
B3BB7A15591579   MAGDALENA    BENCOMO                      TX     75004840155
B3BB8191891366   MICHAEL      EISELE                       KS     90010411918
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2099 of 2350


B3BB826646192B   DAVID          MULVANEY                   CA     46016312664
B3BB82A855B265   BARBARA        JACKSON                    KY     90010182085
B3BB83A4343566   JOSH           KNAPP                      UT     90015403043
B3BB846645B396   PATRICIA       ANDERSON                   OR     90010754664
B3BB883685B571   CHRISTINA      EDWARDS                    NM     35026438368
B3BB884155B396   YVONNA         ONTI                       OR     90015138415
B3BB8951172B69   CARLOS         CARRILLO                   CO     33019469511
B3BB8A43361429   TODD           MICHAEL                    OH     90014130433
B3BB9113833635   DANITA         CEARNAL                    NC     90000471138
B3BB9353955947   ADRIANA        OCHOA                      CA     90002643539
B3BB95A2855947   JUAN           LAZARO                     CA     90014805028
B3BB976322B99B   RON            ELLIOTT                    CA     45009947632
B3BBB485693745   AMBER          ADAMS                      OH     90000984856
B3BBB56A893752   DANITA         RICHARDSON                 OH     64546055608
B3BBB5A8685927   DONTRAE        GUNN                       KY     90014155086
B3BBB845441286   SCOTT          PRONTIKER                  PA     51014678454
B3BBB922891579   FLOR           RETANA                     TX     90003989228
B3BBB92462B941   MENDOZA        TERESA                     CA     45029759246
B4111114224B28   TAY            NIXON                      DC     90012211142
B4111462572B62   JARED          CAFFEY                     CO     90014094625
B4112336293727   TAREK          HUSSEIN                    OH     90009583362
B4113469176B52   SERGIO         TORES                      CA     46038454691
B4114234871929   SAUL           ESTRADA                    CO     90006262348
B4114834151356   RENICUL        KELLEY                     OH     66035878341
B4115641A8B185   TAMARA         DIDAS                      UT     90004886410
B4115892193745   LORI           EL'AMIN                    OH     64592218921
B4116376891831   CREE           ROBINSON                   OK     90014943768
B4116535676B27   JORGE          LOPEZ                      CA     90011285356
B4116989354122   ISAIAH         RUSSELL                    OR     90012279893
B4116A15693745   NIKKI          PEMBLETON                  OH     90005010156
B411728A576B27   ANGELICA       LOPEZ                      CA     46091682805
B411757AA71929   ERIN           GARCIA                     CO     90011695700
B411759125B25B   MIKE           BEST                       KY     90001675912
B4117A7A65593B   MARIA          GARCIA                     CA     90013970706
B4118153985927   KATHERINEANN   KOSIENIAK                  KY     90014491539
B411826A172B62   EDGAR          GARCIA                     CO     90013932601
B4118464285927   STEPHEN        TUCKER                     KY     90009154642
B4118696793745   DANA           GONEZ                      OH     90015026967
B41187A9891585   JONATHON       VILLASENOR                 TX     90012977098
B4119357393745   NORMA          CHAVEZ                     OH     90014133573
B4119367371929   WILLIAM        VALENTINE                  CO     90011553673
B411938445B383   ARTURO         MARQUEZ                    OR     90008843844
B4119419191585   CARMEN         ALVAREZ                    TX     75056784191
B411954568B32B   ANTONIO        PIXLEY                     SC     90014535456
B4119666691831   DANNY          SMITH                      OK     90013076666
B4119756485936   ANIVAL         AGUILAR                    KY     66015407564
B4119A12A55972   MELISSA        JOHNSON                    CA     90011780120
B411B218A33635   GABRIELA       VIDAL                      NC     90015322180
B411B6A7991585   ELSA           ENCERRADO                  TX     90012076079
B4121973A93727   PETER          DERKSEN                    OH     90003729730
B4122754391B55   VERNON         AUTHER                     NC     90014817543
B4122827155973   HERMINIO       GONZALEZ                   CA     90006688271
B4122855771929   DAVID          MANJIVAR                   CO     32078758557
B41229A4A85927   ROBERT         SITHER                     CO     67037339040
B412338A454122   JESSICA        MCLAUGHLIN                 OR     90014043804
B4123634493752   SEAN           KLINE                      OH     64501456344
B4123722776B27   ROLANDO        JUAN                       CA     90007967227
B4123947172B62   DEBBIE         GOENS                      CO     90006349471
B4124264154122   CAITLIN        MAHAFFEY                   OR     90014062641
B4124411693745   HEATHER        SICKELS                    OH     90013064116
B41244A2193758   MATTIE         GREEN                      OH     90014164021
B4124679991831   CYNTHIA        ROSS                       OK     90014386799
B4124893993727   TAMMY          HALL                       OH     90006328939
B4124945272B62   ROSA           PITTMAN                    CO     90013709452
B4125145791585   VIRGINIA       LUDWIG                     TX     90013801457
B412518782B53B   GARY           COOPER                     AL     90014311878
B412521922B886   ADAM           BRUCE                      ID     90006102192
B4125345372B62   DALIA          MALDONADO                  CO     90012603453
B4125395772B69   JUAN           ROMERO                     CO     90013743957
B412564A491831   TYLER          BOOTS                      OK     90013086404
B4125748361952   JOSE           GARCIA                     CA     90009617483
B4125893454122   JUAN           SANTOS-CRUZ                OR     90011748934
B412592A931688   JOY            ARMSTRONG                  KS     22069699209
B4126514655973   ANTHONY        BAGA                       CA     90010505146
B4127527454122   DONNA          STEELE                     OR     90012755274
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2100 of 2350


B4127618472B69   ROJELIO      FAUDOA                       CO     90014006184
B4127739976B27   CYNTHIA      LOPEZ                        CA     90014817399
B4127979651339   LAKISHA      GRIFFIN                      OH     90011269796
B4128115993758   DOROTHEA     NORVELL                      OH     64564351159
B4128328A5B265   NATHANIEL    TAYLOR                       KY     90005583280
B4128571133635   WILLIS       BRIGGS                       NC     90002895711
B4128988A54122   BRIAN        PHEPLS                       OR     90013039880
B4129446172B69   SAUL         MARTINEZ                     CO     90005594461
B412B129A33635   TONY         BLEVINS                      NC     90015501290
B412B212524B64   ANTHONY      MURRAY                       DC     90011462125
B412B268393745   JOHN         LOCKE                        OH     90014712683
B412B82612B271   TYANNA       DOWDY                        DC     90012328261
B4131349193758   DESHAU       GULLATTE                     OH     64564473491
B4131487A54122   SETH         BALDWIN                      OR     90014044870
B4131544233625   JESSICA      PINNIX                       NC     90013355442
B4131683491385   SELENA       HERNANDEZ                    OK     21093056834
B4132335885936   KEVIN        CLEM                         KY     90006043358
B4132535791585   ERNESTO      PAYNE                        TX     75049545357
B413256135B396   MIESHA       BROWN                        OR     90014575613
B4132918393752   CURTIS       DAVIS                        OH     90014659183
B413328953B357   RODNEY       BREWER                       CO     90010022895
B41334A6185936   MAGDALENA    GOMEZ                        KY     90012344061
B41335A1731664   JOHN         REHLIN                       KS     90010505017
B4133913972B69   SABRINA      KING                         CO     90014869139
B4134488691831   FAWN         CLAUNTS                      OK     90011534886
B4134722576B27   WILLIAN      MORENO PAZ                   CA     90015337225
B413474895B265   STACEY       GASTON                       KY     90012597489
B41349AAA91983   ASILI        HASHI                        NC     90013859000
B4134A7495B396   RUBY         RODRIGUEZ                    OR     44564480749
B4135184485927   IGNANCE      HATEGEKIMANA                 KY     90012391844
B4135612A51343   SCOTT        NIEMEIER                     OH     90011496120
B4135617224B28   ELMER        SANTA CRUZ                   VA     90014976172
B4135793155973   RENNE        GUTIERREZ                    CA     48088077931
B413611472B24B   MARJHA       FORD                         DC     90003821147
B4136399555973   AMANDA       AGUILAR                      CA     90010543995
B4136756885936   MARK         OBRIEN                       KY     90011107568
B4136998261987   RODERICK     ALEXANDER                    CA     90006359982
B4136A21872B69   DEVYN        VICK                         CO     33037090218
B413835132B923   SOUA         YANG                         CA     90015033513
B4138543572B69   SALVADOR     RANGEL                       CO     90009265435
B4138748972B62   THOMAS       JIMENEZ                      CO     90012627489
B4139242691831   TYREAUNA     DAVIDSON                     OK     90015432426
B41395A458B175   RYAN         MILSON                       UT     90012625045
B4142289861987   RAGAN        TRYIAL                       CA     90003262898
B414277A993727   RICHARD      MAXWELL                      OH     90011607709
B4142818191585   ERIC         MONTANEZ                     TX     90012038181
B4143438576B27   DESIREE      CHAVEZ                       CA     90006994385
B4143723433635   JONATHAN     INGRAM                       NC     90013797234
B4143858391585   CRISTOPHER   MCCLINTON                    TX     90012848583
B414398A993752   DESTINY      RODRIGUEZ                    OH     90013809809
B4144135776B27   XOCHIL       AVILA                        CA     90013841357
B4144295291831   DENISE       ELY                          OK     90011722952
B4144588991554   DAVID        MADRID                       TX     90007755889
B4144741393745   PEGGY        ANKROM                       OH     90015137413
B4144761584381   ANDREW       MURRAY                       SC     90011857615
B414479415B571   ROSARIO      BLEA                         NM     35098137941
B4144835476B27   ALICIA       MILLAN                       CA     90013568354
B4145487155973   MATTHEW      VASQUEZ                      CA     90014644871
B4145587391831   DEWITT       WALKER                       OK     90011565873
B4145622191585   LUIS         SARINANA                     TX     90003896221
B4146312677353   CONSTANCE    WIGGINS                      IL     90013673126
B4146423954122   GLENN        OWENS                        OR     47040274239
B4146818431639   ROSA         DE LEON                      KS     90013938184
B414687197B489   FREDERICK    WITHERS                      NC     11011708719
B414688A291831   THOMAS       HARPER                       OK     90014768802
B4146A3857B429   MANUEL       CHAVEZ                       NC     90014740385
B4147128993745   WILLIAM      WEBB                         OH     64505041289
B4147641971929   CHERRELLE    JONES                        CO     90014186419
B414833355B265   ROBERT       FLEMING                      KY     90003533335
B414849A75B396   LWELL        NOBLYTT                      OR     90015454907
B414866564B259   KIANA        BRYANT                       IA     27087446656
B41486A3493758   LISA         COLEY                        OH     64538156034
B414989125B396   SEAN         SIGLEY                       OR     90009218912
B4149A24471929   YALENI       MCCONE                       CO     90002090244
B415125A376B27   ANTONIO      HERNANDEZ                    CA     90013612503
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2101 of 2350


B4151562876B52   ALEJANDRA    MARTINEZ                     CA     90014245628
B4152182172491   KELVIN       DECKER                       PA     90014321821
B415257658B185   DANIEL       COTA                         UT     31018795765
B41534A957B489   GENINE       DRY                          NC     90014604095
B4153592793758   MEECHELLE    DICKERSON                    OH     64569155927
B4153854393752   SHANTE       JOHNSON                      OH     90008488543
B415388A691585   RICK         HERNANDEZ                    TX     75050758806
B4154179255973   FRANK        HUERTA                       CA     48040741792
B4155399472B62   ALEXANDRA    TOOLEY                       CO     33016753994
B4155864593745   ANTHONY      ARTIS                        OH     90014258645
B415617A293745   LILLIE       MCROBIE                      OH     64576371702
B41561A7585927   JULIE        LUNSFORD                     KY     90014491075
B4156246A51355   SHALINA      GILLAM                       OH     90009752460
B415641497B489   KATRINA      SUMMERVILLE                  NC     90014604149
B4156545A72B69   KATRINA      STEINER                      CO     90009265450
B4156876176B27   MONICA       SANCHEZ                      CA     90013988761
B4156A64391585   CARLOS       RIVERA                       TX     75003480643
B4157A61872B69   YVONNE       CARSTEN                      CO     33079480618
B4158589276B52   LEWIS        SNYDER                       CA     90004945892
B4158678554122   ROBERT       SALAS                        OR     90013206785
B4158842531639   ROSA         DE LEON                      KS     90013938425
B415934248B185   BELEN        HARO                         UT     90005883424
B4159398A93745   RAUSHINDA    COOPER                       OH     90014713980
B4159599672B69   MICHAEL      NELSON                       CO     90013845996
B4159A48676B52   HORTENCIA    MENDEZ                       CA     90008690486
B415B161372B69   GRACIELA     ALDAVA                       CO     33053621613
B415B56A776B52   ESTEFANI     SALAS                        CA     90014245607
B415B61A371929   SUMMER       MORGAN                       CO     90012406103
B415B6A2855973   EVARISTO     ARELLANO                     CA     48039896028
B415BA4747B489   SONJA        MYRIE                        NC     90010310474
B4161434955972   JOHNNY       MARTINEZ                     CA     90013034349
B416156952B271   BALTAZAR     MARTINEZ CASTILLO            DC     90009415695
B4162597631639   LANE         TURNER                       KS     90000145976
B4162A73171929   JUAREZ       OMAR                         CO     32073320731
B4162A77291831   RICHARD      PERRY                        OK     90010860772
B4163533155973   ERNEST       REID                         CA     90014645331
B41635A965B265   ANGELIA      BEAMS                        KY     68004975096
B4163663971929   GLADYS       REYES-ARROYO                 CO     90014186639
B416366AA5B386   YESENIA      ELIZARRARAS-HONESTO          OR     90006536600
B4163699193752   MELISSA      BERGHOLZ                     OH     90014766991
B4163988771929   HOLLY        MOBLEY                       CO     90010469887
B416441A891585   ISAAC        INGO                         TX     75039004108
B416563332B271   JOE          SIMTH                        VA     90012756333
B4165712173267   NICOLE       MORGAN                       NJ     90014127121
B416573A685927   BRITTANY     CONRAD                       KY     90014767306
B4165898554122   TODD         POMEROY                      OR     47088698985
B416636355B396   MONET        PERIKILA                     OR     90014563635
B4166445293745   MEGAN        BRINK                        OH     90011944452
B4166A24891585   EUNICE       JIMENEZ                      TX     90011100248
B4167258291831   ANGELA       LEMON                        OK     90014782582
B4167434385927   JUSTIN       BUTLER                       KY     90014844343
B4167533155973   ERNEST       REID                         CA     90014645331
B4167661A76B27   MINNIE       CURRY                        CA     90014216610
B4167A7A461987   CAMELIA      GALLEGOS                     CA     46081940704
B4168198776B27   NAHID        HABIB                        CA     90014361987
B41682A6831639   MARIA        YOUNG                        KS     90012642068
B416837635B396   DENA         BLACKFORD                    OR     90013053763
B4168533155973   ERNEST       REID                         CA     90014645331
B416926A45B265   JOHN         ALLEN                        KY     90007002604
B416934A293727   ANDREA       REEVES                       OH     90013923402
B4169558693758   LORA         MYERS                        OH     90014165586
B416965435B326   ALIEU        SAIDY                        OR     90009656543
B416968A371929   NICHOLE      ANDERSON                     CO     90014186803
B4169779A55973   TEONNA       NOLEN                        CA     48079817790
B416B2A455B396   ABBY         DE SANCHEZ                   OR     90007572045
B416B473693745   MELANIE      SCOTT                        OH     90014134736
B416B56A671929   JEREMY       VILLA                        CO     32026485606
B416B628131639   REBECCA      MARTINEZ-AREVALO             KS     22034956281
B416B6A792B271   AMANDA       PALMER                       DC     90011186079
B416B821754122   DIANA        BROOKS                       OR     90012608217
B4171114933635   CESAR        CABALLERO                    NC     90012801149
B417125A355972   MARICELA     LEYVA                        CA     90000952503
B4171293A5B371   HENRY        BAKER                        OR     90005652930
B417228629286B   IVAN         NOLASCO                      AZ     90015482862
B4172715776B52   ELVRIA       PADILLA                      CA     90014257157
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2102 of 2350


B4175413476B52   PAT          VACCARINO                    CA     90014764134
B4175517693758   YASMEEN      ALSALIH                      OH     90014165176
B417584A15B396   KRISTINA     FLATH                        OR     90011508401
B417588884B259   MICKI        VENCLAUSKAS                  NE     27073498888
B4176137691831   HOLLY        ROCK                         OK     21011851376
B4176225A72B62   MARCOS       SEDANO                       CO     33010472250
B4176291993758   LLEKI        LOSE                         OH     64549142919
B4176934255972   BAMBI        CANTU                        CA     90007919342
B4177386391585   ALFREDO      BERRA                        TX     90012873863
B4177481155994   LETICIA      SIMMONS                      CA     49024484811
B4177925133635   KRISTY       MELTON                       NC     90011059251
B4177955A3B352   KATHRYN      CARVER                       CO     90009029550
B4178371872B62   CECILIO      HERNADEZ                     CO     90013903718
B4178982985927   DEVIN        BOWMAN                       KY     90015119829
B417899797B489   TANGELA      ALLEN                        NC     90008009979
B4178A91631639   DOMINIC      TISDALE                      KS     90001860916
B4179178193727   JOHN         GARBER                       OH     90006851781
B4179216331635   KAELYNE      DREW                         KS     90007462163
B417BA77A33635   CECILIA      FRIAS                        NC     90012800770
B418148934B521   TAMMIE       COOK                         OK     90014724893
B4181614493727   MIKE         AKEMON                       OH     64514146144
B41819A3131639   JOSE         FEREGRINO                    KS     90013939031
B4182299A31688   CINDY        WOOD                         KS     90011262990
B41824A975B396   NOE          REYNA                        OR     90014934097
B41826A487B32B   MARTHA       RODAS                        VA     81059116048
B4183176972B69   BEVERLY      BLEVINS                      CO     33079511769
B418325A893727   DOUGLAS      SHINDELDECKER                OH     90013282508
B4183848593745   DEVONTE      MOORE                        OH     90013538485
B4184518393752   TREASA       VIVIANO                      OH     64541595183
B4185282591585   CARMEN       ELIZONDO                     TX     75096382825
B418542A155972   ROBERT       CARPENTER                    CA     90011004201
B4185466354168   MUHAMMAD     MESBOOB                      OR     90014304663
B41858A1A61987   JOEL         RODARTE                      CA     46083178010
B4185999972B69   TIFFANY      SPEARS                       CO     90014919999
B41861A3272B62   JOSHUA       DAVENPORT                    CO     33077761032
B4186353476B52   JOSE         PONCE                        CA     90007203534
B418649727B489   BLANCA       GUERRERO                     NC     90014604972
B418664A655943   ADAM         AGUILAR                      CA     90013456406
B4186791A72B69   ANDE         SPAULDING                    CO     90011077910
B418694755B396   JENNIFER     DOUGLAS                      OR     44526159475
B4186A19A31639   JOHN         CONKLIN                      KS     90014970190
B4187176791554   JIMMY        MARTINEZ                     TX     90009041767
B41873A9A76B27   JASON        SANFORD                      CA     46068363090
B4187466771929   KELSEY       YEOMANS                      CO     32070514667
B418774A472B69   CHRIS        MITCHELL                     CO     90011077404
B4187977531639   PATRICIA     ROBERTS                      KS     90014429775
B41889A275B396   IVA          CUNNINGHAM                   OR     44517949027
B4188AA9833635   MARISSA      BOOTHE                       NC     90011080098
B4189372891585   MARGARITA    HERRERA                      TX     90008303728
B4189633433625   YASIR        IBRAHIM                      NC     90011806334
B418978628B185   MARK         LOWER                        UT     31089457862
B4189A32393745   JEFF         BELFORD                      OH     64527590323
B418B435631639   ROBERT       CHANILER                     KS     90013664356
B418B515491585   VICENTE      CASTRO                       TX     90010675154
B418B628A93758   ERIC         KAMPERR                      OH     64528106280
B418B8A7393745   STEVEN       KINNISON                     OH     90013348073
B418BA33924B64   IVI          VAQUERANO                    MD     90013510339
B4191747A91831   TABBITHA     ROSS                         OK     90013137470
B4191783871929   ALYSSA       JONES                        CO     90000537838
B419215A393745   CONNIE       SCHNEIDER                    OH     90013931503
B4192251593758   JORDAN       BLUNTON                      OH     90015082515
B4192366654122   SUZANNE      JERABEK                      OR     90014743666
B4192395772B62   LILIANA      CASILLAS                     CO     33063813957
B4192837293727   THADDEUS     EARL                         OH     90014508372
B419286425B396   NAADRA       MCKINNEY                     OR     90013698642
B4192891161954   MARGARITA    GARCIA-MOREIRA               CA     90004918911
B4192A1365B265   APRYLE       MILLER                       KY     90013960136
B4193355655972   RUFINO       GALLARDO                     CA     90015313556
B4193375185927   ASHLEY       STONE                        KY     90010403751
B4193627193727   TOCCARRA     HENLEY                       OH     90001386271
B419377127B489   LOLOTTE      MBIKI                        NC     11089967712
B4193A89491831   ANGELEA      CURRIN                       OK     90013930894
B4194968724B28   RENE         JIMENEZ                      DC     90007909687
B4194986676B27   MARTIN       SILVABOOST                   CA     90004129866
B41949A6931639   DARREN       ANDERSON                     KS     90013939069
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2103 of 2350


B4195732772B69   WILLIAM             MELLOTT               CO     90014417327
B4195A12271929   ALVINA              VALDEZ                CO     32063880122
B4195A66755972   JOSE                ROJAS                 CA     90010830667
B4196843491585   VANESSA             SALAIS                TX     90013628434
B4196958854122   JOHN                PARMALEE              OR     47069309588
B4197524991585   ORLANDO             ALARCON               TX     90014455249
B419757AA93727   MICHAEL             VARGA                 OH     64517145700
B4197A25572B62   DAMIAN              LOVLACE               CO     90008000255
B419866193B357   TIM                 PEDEN                 CO     33050176619
B4198917491831   ROBERT              HANSEN                OK     90012259174
B4199118955972   LEONOR              LOPEZ                 CA     49007471189
B4199239391585   JUAN                PINEDO                TX     75090582393
B4199511172B62   JANIE               FISCHER               CO     90012955111
B4199635155973   KEVEN               WARREN                CA     90014646351
B4199A4A485936   DARLENE             CARTER                KY     66089560404
B419B542754122   KATHRYN             BOND                  OR     90010355427
B419B697693727   ELANA               ALLEN                 OH     90015086976
B41B13A1591585   CESAR               TARANGO               TX     90008443015
B41B278AA5B265   SHERRELL            SANFORD               KY     90014887800
B41B285A497B39   NORBERTO            PALMA                 CO     90003218504
B41B3332585927   NADYA               HAWLEY                KY     67000153325
B41B3369755973   JOSEPH              GARCIA                CA     90013143697
B41B3A2572B823   MIKE                LOVE                  ID     90012210257
B41B4133793745   APRIL               EVANS                 OH     90013231337
B41B4148193758   CHRIS               MONEY                 OH     64532151481
B41B4152472B69   CHUCK               DIAZ                  CO     90013211524
B41B435A15B232   EMILY               CATRON                KY     90012933501
B41B4A4158B138   GREG                JUDY                  UT     90003220415
B41B4A43A7B489   CHARLA              WINBUSH               NC     90014590430
B41B5132755972   ARTURO              FREIJO                CA     90002191327
B41B5369755973   JOSEPH              GARCIA                CA     90013143697
B41B5694291831   ANJANNETE           COOPER                OK     21051076942
B41B573235B991   PATRICIA            BUSTAMANTE            WA     90015517323
B41B6974A5B396   CLAUDIA             PINON GARCIA          OR     90014539740
B41B699355B265   ERIC                HOBB                  KY     90009189935
B41B769A972B62   LAURETTA            PIERCE                CO     33027926909
B41B7976972B69   DAWN                CEJA                  CO     33079279769
B41B8554491322   LORIE               MATHIS                KS     90007345544
B41B913265B265   RACHAEL ANN VESTA   BREEN                 KY     90012731326
B41B9714855973   AARON               MAGALLON              CA     90010917148
B41B977A242332   APRIL               BAILEY                TN     90015407702
B41B99A327B439   DANIELLA            DIXON                 NC     90002319032
B41B9A15985936   BRANDON             PUMPHREY              KY     66070800159
B41BB22847B42B   BLANCA              RODRIGUEZ             NC     11020122284
B41BB238A91585   BLANCA              GONZALEZ              TX     75088212380
B41BB572485936   GREGORY             COLLINS               OH     90010645724
B41BB62215B265   MELANIE             DUNN                  KY     90014346221
B41BB655593745   LISA                JONES                 OH     90013056555
B41BB94187B398   CHRIS               FULLER                VA     81081829418
B42114AA193727   MIKE                ONES                  OH     90012014001
B4212377472B69   ANTONIETTE          MANZANO               CO     90013813774
B4212389391554   ELVA                FERNANDEZ             TX     75085733893
B4212537391585   SOPHIA              GARCIA                TX     90013255373
B4212995A31639   TAMMY               COLEMAN               KS     90013939950
B4213594771936   SCOTT               NICKEL                CO     90011525947
B4213A1247B489   LASONYA             WATSON-SINGH          NC     90013280124
B4214138385927   THOMAS              HUDSON                KY     67014031383
B4214263671929   MARILYN             RUSSELL               CO     32076942636
B4214642485936   KELLI               TAYLOR                KY     90012166424
B421466A793745   DOMINIQUE           JONES                 OH     90014726607
B4214711476B27   ANTHONY             HOWARD                CA     90013717114
B4214987A54122   IGNACIO             CASTANEDA             OR     90004139870
B421545AA61987   LUZ                 PARSLEY               CA     46046884500
B421559868B123   DALLIN              RASMUSSEN             UT     31076045986
B4215632655973   COTY                FRENCH                CA     48061396326
B4215987A54122   IGNACIO             CASTANEDA             OR     90004139870
B4216637193727   NICOLE              HARTMAN               OH     90012976371
B4216698397B31   ASHISH              BANTHIA               CA     90010256983
B4216715A8B185   SAUL                FLORES                UT     31035887150
B4216718681621   TANISHA             ROBINSON              MO     90003137186
B421683895B265   BRIDGETT            JOHNSON               KY     68026808389
B42181A5454122   GENEVA              JOHNSON               OR     90014891054
B4218713355972   RAMON               RUIZ                  CA     90015047133
B4218A8278B197   CATHERINE           BROWN                 UT     90014820827
B4218AA4976B52   ANA                 DIAZ                  CA     90003740049
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2104 of 2350


B4219116A91585   ANTONIO        ROBLES                     TX     75075671160
B421B647A55973   JEREMIAH       JONES                      CA     90014646470
B421B737172B69   AARON          FISH                       CO     33041227371
B421B965371929   AMBER          POREE                      CO     32061009653
B422156A693758   ADAM           STONE                      OH     90014165606
B42218A6393752   RAYMOND        BAS                        OH     64586828063
B4222152371929   JAYCOB         HUNT                       CO     90012501523
B4222593772B69   FRANKIE        HAMILTON                   CO     90004785937
B422285A691831   MATTHEW        SORRELL                    OK     90011678506
B4223147293745   BROOKE         SOLIZ                      OH     90009701472
B4223363361925   JOSE ANTONIO   BARAJAS                    CA     90010293633
B4223777272B94   LORENA         BLANCO                     CO     90011917772
B4223889976B27   LORENZO        DIEGO                      CA     90010108899
B422397A133635   PATRICIA       JONES                      NC     90015349701
B4224234131639   CRYSTAL        BROWNING                   KS     90011812341
B4224285791831   JADE           MCJUNKIN                   OK     90013932857
B4224654572B62   JUAN           REYES                      CO     90015196545
B422466112B271   KIANNA         MURPHY                     DC     90010736611
B422476A771929   HAILEY         BACKES                     CO     90010307607
B4225335971929   TRACY          TRUELY                     CO     90014203359
B4226388733635   CHRIS          JOHANSON                   NC     90015563887
B4226573A93758   DONNA          CUMMINS                    OH     90014165730
B42265A557B489   ESTRELLA       ROBINSON                   NC     90014615055
B4226987A54122   IGNACIO        CASTANEDA                  OR     90004139870
B4227411693745   HEATHER        SICKELS                    OH     90013064116
B4227779476B27   IRMA           ZAVALA                     CA     46025477794
B42288A3793727   MOHAMMED       SHAIKH                     OH     64545778037
B4228A41161975   ANGELICA       GUILLER                    CA     90012820411
B422914842B271   TIRRELLE       ROBINSON                   DC     81006461484
B422981255B396   MELISSA        BYWATER                    OR     90013378125
B4229A8A871929   JUDY           HARVEY                     CO     90012870808
B422B382155972   JOEY           VASQUEZ                    CA     90011783821
B422B9A7176B27   OSCAR          MARTINEZ                   CA     46064119071
B422BA7A85B396   EDDIE          CASTRO                     OR     90012950708
B4231211872B62   JOSE           CORDERO                    CO     33001192118
B423137A293758   LAUREEN        LIPKA                      OH     90007263702
B4231545961924   MICHAEL        PAIS                       CA     90011595459
B4232151A93745   JOE            GIVENS                     OH     90013931510
B423216615B535   FRANK          RAMIREZ                    NM     90008891661
B423252148B185   FREDDY         GAJARDO                    UT     31018825214
B4232638993758   JIM            JONES                      OH     90014176389
B4232669291831   ASHLEY         BENTON                     OK     21081356692
B423288A885927   MICKEY         BRUNER                     KY     67085178808
B4233171676B52   DAISY          CUEVAS                     CA     46048561716
B423338A17B877   CHUCK          JAIME                      IL     20560403801
B42334A317B489   ELIUD          OMWANGE                    NC     90009464031
B4233747591831   LORENZO        RUCKER                     OK     21092597475
B423377215B396   TENESHA        TINKER                     OR     90003177721
B423392712B945   COLETTE        ZAVALA                     CA     90001709271
B423417A82B271   CONNIE         FLEMMINGS                  DC     90010551708
B423434755B548   MAYRA          REYES                      NM     90007283475
B423445892B271   HAILEMICHAEL   SEYOUM                     DC     90015044589
B42347A2A93727   JESUS          JARILLO                    OH     90013377020
B4235129576B27   ROSS           BENTLEY                    CA     90011861295
B423626184B259   LOURDES        BUSTOS                     NE     90011022618
B423756A572B69   CARMEN         BRYANT                     CO     90006745605
B423887A461825   CECILIA        STIVALET                   MO     90015218704
B423899A72B229   TACCARRA       BROWN                      DC     90000659907
B4238A16133635   ROSALINDA      GABRIEL                    NC     90013930161
B423956644B537   ASIA           REED                       OK     90009605664
B423994265B396   JOSEFA         DAMIAN                     OR     90011569426
B423B321185927   RAQUEL         DEVINE                     KY     67013663211
B423B438A76B27   DULCE          MARTINEZ                   CA     90014054380
B423B484972B69   CRISPIN        HERNANDEZ                  CO     90012414849
B423B863971929   FELIPE         TENORIO                    CO     32095458639
B4241822971929   CARISSA        ALLEN                      CO     90012888229
B4242578A85927   ASHLEY         COLE                       KY     90015415780
B424341595B265   DONNA          WALKER                     KY     68080584159
B4243458255972   ORLANDO        RAMIREZ                    CA     90013034582
B424382337B443   COREY          BUTLER                     NC     90001088233
B4243863533635   NORA           DIAZ                       NC     90011428635
B4245259891585   LETICIA        FLORES                     NM     90001082598
B424591A77B34B   LUIS           ROBALINO                   VA     90007589107
B4246281991585   ERNESTO        TORRES                     TX     90007912819
B4246398233635   PARICHAT       GLAMSANG                   NC     90013933982
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2105 of 2350


B4246925493758   BONITA        SMITH                       OH     90011399254
B4247798631639   BROOKE        JONES                       KS     90013957986
B42477A4654122   VIRGINIA      PARKER                      OR     90012617046
B42478A4A5B265   BRANDON       BOND                        KY     90014548040
B4248135391831   PAYGO         IVR ACTIVATION              OK     90014271353
B42484AAA93727   TIERRA        ROLLAND                     OH     90008454000
B4248663355973   LUIS          CEJA                        CA     90014656633
B4249219476B52   CONCEPCION    GONZALEZ                    CA     46032882194
B42494A5A2B271   MARCELL       HUBBARD                     DC     90014444050
B4249722971929   ERIK          BRINKOPF                    CO     90012417229
B424976A854122   JUAN MANUEL   ROMERO                      OR     90014797608
B424B73A885927   MESHANA       JUSTICE                     KY     67064767308
B425183988165B   GRACIELA      RODRIGUEZ                   MO     90000678398
B425193195B265   RICHIE        WILLIAMS                    KY     90014379319
B4251943291524   CELIA         ESPINO                      TX     90007669432
B425222A231639   HERACELIO     PEREZ                       KS     22081512202
B4252323141248   JAMES         STEPHENS                    PA     90008193231
B425259897B489   SARAH         GLOVER                      NC     90014605989
B4252617672B69   GRACIELA      ALVARES ROSALES             CO     90011986176
B4252661271929   CINDY         THOMASON                    CO     32072216612
B425277A493758   RYAN          PORTER                      OH     90013647704
B4252923A5B396   JASON         BALL                        OR     90011859230
B42529A7951355   TINA          GRIFFIN                     OH     66007419079
B425322435B265   VIC           FERRAN                      KY     90012862243
B4253287355972   SALLEE Y      NEIMOYER                    CA     90015052873
B4253724555921   DANIEL        HORINE                      CA     49081557245
B4253982955972   MANUEL        VEGA                        CA     90013049829
B4253999331639   DILEUW        RODRIGUEZ                   KS     90013939993
B4254155976B52   JUAN          MARTINEZ                    CA     90012781559
B4254415185927   AMANDA        NALLY                       KY     90015204151
B4254691593758   ELIZABETH     NEAL                        OH     90014846915
B425542A291585   WENDY         ORDONEZ                     TX     90010454202
B4255452476B27   KYLE          SPRINGS                     CA     90014054524
B4255568993727   JOSH          MASSEY                      OH     90013445689
B42555A4491585   WENDY         ORDONEZ                     TX     90013095044
B4255613972B62   BELEN         VASQUEZ                     CO     90001656139
B4255788893745   DANNY         DISHON                      OH     64585057888
B4255791393752   ERIC          LEWIS                       OH     90013847913
B4256291981626   RACHELLE E    ESPINOZA                    MO     29081202919
B4256797533635   DANA          HUNTER                      NC     90014387975
B4256815993727   CAROLYN       MARSHALL                    OH     90013258159
B4256946577977   TANAISHA      WOODS                       IL     90015359465
B4257129591831   AMANDA        KEITH                       OK     90011721295
B4257714991585   JUANA         GARCIA                      TX     90002047149
B425845482B888   COLLEEN       GREENE                      ID     42037734548
B425849528162B   MICHAEL       BOWMAN                      MO     90011784952
B4259A4964B259   JESSICA       NICHOLAS                    NE     90000870496
B425B452155972   ESMERALDA     ROSALES                     CA     90011784521
B425B52388B138   WAYNE         ALLRED                      UT     90009785238
B425B666176B27   KAREN         BRUYETTE                    CA     90004296661
B425B953572B62   JANET         SENA                        CO     90013049535
B425BA88531639   KELCI         EVANS                       KS     90012550885
B4261486372B62   CHRISTOPHE    FLEISCHER                   CO     33069754863
B4261617193758   CYNTHIA       COLLINS                     OH     90011836171
B4261945985927   ANTWI         KWANING                     KY     90015369459
B426212262B271   LEVIA         BERRYMAN                    DC     81009891226
B4262185136B98   MERILYN       DUNN                        OR     90015071851
B42632A615B396   TIFFANY       MONTANO                     OR     44593792061
B4263363191585   FRANCISCO     ACOSTA                      TX     75074563631
B426427257B489   DOROTHY       JACKSON                     NC     90012092725
B4264318A72B62   ALENA         MORGAN                      CO     33066823180
B4264793A93758   PATRICIA      SELWITSCHKA                 OH     90004657930
B4264823193752   TANYA         BOYD                        OH     90000318231
B4265292672B69   LARRY         WRIGHT                      CO     90008012926
B4265919893745   DERION        WHALEY                      OH     90012279198
B426592A631688   ANNETTA       JAROS                       KS     22017879206
B4266118971929   MARGARET      BECERRA                     CO     32023261189
B4266143176B27   RONNIE        PIERCE                      CA     46027431431
B4266273441258   KEITH         BETTS                       PA     90008782734
B4266365791585   SONIA         CONTRERAS                   TX     90014463657
B426637955B396   JOSHUA        DEWBERRY                    OR     90014753795
B4266A2A654122   REED          MEYERS                      OR     90010310206
B4267887272B62   LAUREANO      OLVERA-BATRES               CO     33092708872
B4268779971929   JORGE         PIRVAL                      CO     90012617799
B4268A9665B396   ARNOLD        BRONSON                     OR     90002930966
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2106 of 2350


B42691A9572B69   KHADAR         HAJI                       CO     90015141095
B42697A8A93727   KEVIN          BURR                       OH     90002187080
B426993A85593B   HARLEY         WHITENER                   CA     90010349308
B426B657754122   FELICIA        PETERSON                   OR     90014786577
B426B74587B489   MAYURY         CHHOEUNG                   NC     11096257458
B4271187985941   PETER          PADOVA                     KY     90012381879
B4271478755972   SHIRLEY        ROCHA                      CA     90013034787
B427151987B322   MARTIN         AMAYA                      VA     90005835198
B4271941591585   ALONSO         GARCIA                     TX     90013989415
B4271A88985936   JOSEPH         STIENE                     KY     66087720889
B4272295524B64   NEFTALI        HERNANDEZ                  DC     90012542955
B4272584785936   NIYA           COTTIE                     KY     66046695847
B4272876541268   YUSEF          WASHINGTON                 PA     90012368765
B4273636572B29   GINO           WOLFORO                    CO     90002946365
B4273916371929   DANIELLE       CHRISTIENSEN               CO     90014909163
B4273A1AA93727   SUSAN          PHILLIPS                   OH     90013750100
B4273A25572B62   DAMIAN         LOVLACE                    CO     90008000255
B4273A7465B265   KIMBERLY       MCGEE                      KY     68085120746
B427418A55B566   ROBERTA        RAEL-SOLIS                 NM     90004861805
B4274215A5B332   AMY            MOSLEY                     OR     44529952150
B4275175791851   CAYLEE         OBRYAN                     OK     90010241757
B42756A5131639   JAEL           VAN BOENING                KS     22088996051
B4275715A8B185   TONI           ALLEN                      UT     90009687150
B4275868271929   RICHARD        RAMOS                      CO     90007108682
B4275877976B27   RICARDO        FONSECA                    CA     90003808779
B42758A7285936   BILL           TRAVIS                     KY     90001108072
B4276174A33635   GWENDOLYN      COLLINS                    NC     90015291740
B42761A762B271   SABRINA        CREEK                      DC     90010011076
B427653675B522   CHARLES-NITA   BURNS                      NM     90005835367
B427671425B265   JOHN           PEAK                       KY     90007457142
B4276798155973   JUSTINO        LEON                       CA     48006607981
B4276A81876B52   GUSTAVO        RAMIREZ SICAIROS           CA     90013080818
B427729642B271   JOHN           WASHINGTON                 DC     90010192964
B42772A874B221   ELAINE         LEIBERT                    NE     90002252087
B427768995B396   EARL           RAMSEY                     OR     44553486899
B4278187985941   PETER          PADOVA                     KY     90012381879
B4278468255972   ADRIANA        ARRIAGA                    CA     90011784682
B427888748B185   STACY          BELSHAW                    UT     31066428874
B4278A8A871929   JUDY           HARVEY                     CO     90012870808
B427925465B598   KATIE          MALDONADO                  NM     90005892546
B4279274424B64   ALDO           VELASQUEZ                  DC     90013922744
B42797A5871929   ANGELO         JUVERA                     CO     90000987058
B427982A44B232   ANA            QUIROZ                     NE     90005438204
B4279875776B27   CAROL          LEE                        CA     90014138757
B4279A83993752   PORTIA         WILLIAMSON                 OH     90013330839
B427B142A93745   BONNIE         DANIEL                     OH     90002271420
B427B451793752   TREY           DUNN                       OH     90011974517
B428124A75B396   RUSSELL        JOHNSON                    OR     44569302407
B428125778B185   DARLA          HOLDAWAY                   UT     31096192577
B4281311561952   ARTHUR         URREA                      CA     90010903115
B4281627891585   JOSE           TREVINO                    TX     90014726278
B42818AA891585   LUIS           LOPEZ                      TX     90011308008
B428276968B185   LUCIA          REAL                       UT     90006157696
B4282A15472B69   JEFF           SUTHERLAND                 CO     90003490154
B4282A61184825   KERRY          KNEER                      NJ     90014290611
B428376477B32B   MILTON         ROJAS                      VA     81056447647
B4283885224B28   NORMAN         BOWLES                     VA     90009228852
B428441625B338   TINA           PURDY                      OR     90003424162
B4285142876B27   APRIL          ILNICKI                    CA     90008651428
B428597975B265   GEORGE         CHESSER                    KY     90015309797
B4285A47693745   CRAIG          LESLIE                     OH     90008600476
B4285A7A455973   CAROLINE       RAMIREZ                    CA     90014670704
B4286366724B64   SUREE          BROWN                      DC     90014503667
B4286372691585   GUMARA         MATA                       TX     75096203726
B428671385B396   SANTAJ         EDWARDS                    OR     44510917138
B4286921A85936   KIMBERLY       DOLWICK                    KY     66061989210
B4287238754122   DEBRA          KRANZLER                   OR     90014722387
B4287589491831   ANGELICA       NUNEZ                      OK     90013935894
B4287714393745   DANIEL         MALONE                     OH     64572667143
B428833AA76B27   ALVARO         PABLO                      CA     90012763300
B4288426193752   JAMES          CHITWOOD                   OH     90010204261
B428884542B271   BRANDON        DAVAUGHN                   DC     90013878454
B4288942442332   JONATHAN       MASON                      TN     90015469424
B4288A21233635   KRISTIE        HERRING                    NC     18059800212
B4289131885927   ANDREW         GREENE                     KY     90013931318
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2107 of 2350


B4289622672B69   KAITLIN       DYSON                       CO     90012356226
B428962AA5B396   NANCY         DELFIN                      OR     90013656200
B4289687685936   KATRINA       COX                         KY     66043786876
B428973A45B389   FILIBERTO     DOMINGUEZ                   OR     90010517304
B428B563224B64   ROLANDO       REYNOSO                     VA     90010595632
B428B67A993758   MICHAEL       WEINBERG                    OH     90014176709
B4291168972B62   MICHELLE      MUSALLAM                    CO     33072761689
B4291559671936   BARABRA       GONZALEZ                    CO     90012945596
B4291612385927   DUQUION       BAXTER                      KY     90015146123
B4291734972B69   TYLER         MUNIZ                       CO     90013807349
B4291877A71929   DAVID         PIZARRO                     CO     32091028770
B42918A2591831   PRADO         GUILLERMO                   OK     90013938025
B429193215B396   ROBERT        BARONDESS                   OR     90013209321
B4292357147839   ANGIE         REESE                       GA     90009993571
B42925A2493783   GAIL          WATSON-LAMB                 OH     90010895024
B429289812B271   WONELL        JONES                       DC     90014878981
B4292A6AA5B265   KATHERINE     BOARD                       KY     90014960600
B429351955B396   ROSALIA       HERNANDEZ BAUTISTA          OR     90013845195
B4293522672B69   CARMEN        ALVAREZ                     CO     33062935226
B4293715776B27   ELVRIA        PADILLA                     CA     90014257157
B4293853455979   ARNOLDO       FLORES                      CA     90001628534
B4294284476B27   LUCAS         MOSCINSKI                   CA     90006332844
B42944A1176B52   ALBERTO       IBANEZ                      CA     46090164011
B42957A8591831   SANDRA        JOHNSON                     OK     21065557085
B4295A22672B62   LIZ           DIAZ                        CO     90010360226
B4296619633625   WILLIE        PRATT                       NC     90011816196
B429699A75B265   SCOTT         HUTCHINS                    KY     90003629907
B4297125971929   FATIMA        JURADO-HERNANDEZ            CO     90003061259
B42971A125B396   ROBERTO       HERNANDEZ                   OR     44529601012
B4297944185936   MARLYS        POORE                       KY     90014609441
B429859218B144   DENNIS        VALERIO                     UT     90012935921
B42992A2893745   BRITTANY      BENNING                     OH     90003622028
B429939652B941   ANGELA        OURIQUE                     CA     45067673965
B429988A654122   WALTER        KUELCHER                    OR     90006058806
B4299963257568   LEANN         MARTINEZ                    NM     90011069632
B4299A25591831   JOSHUA        BROWN                       OK     90013160255
B429B1A5A76B52   RAYMUNDO      VALLE                       CA     46006781050
B429B76325B396   CHRISTOPHER   HAMAN                       OR     90015117632
B429B84A891585   CLAUDIA       HERRERA                     TX     90014758408
B429B98125B396   SARAH         LAFLEUR                     OR     90015009812
B429B982293745   LISA          SPRINGER                    OH     90008869822
B429BA71191831   TAMMY         GILLENWATER                 OK     21037070711
B42B1A19154168   CRISTOVAL     CARREON                     OR     90014310191
B42B2138854122   AMBER         HULL                        OR     47009561388
B42B249145B265   DORIS         WILSON                      KY     68037874914
B42B2913431639   PEDRO         MARTINEZ                    KS     90013939134
B42B3313471929   LEANNA        OCHOA                       CO     90009843134
B42B3989A5B265   MARSHALL      JORDON                      KY     90011839890
B42B416537B489   LUIS          AMEZQUITA                   NC     11076901653
B42B4956833635   ROBERT        TROXLER                     NC     18079589568
B42B4A27285927   TANDA         LYDIE                       KY     67064960272
B42B4A66693752   GETU          FANTA                       OH     90007730666
B42B5631791831   CARLA         MILTON                      OK     90010016317
B42B564A891585   FRANCISCO     CERRILLO                    TX     90014176408
B42B5714293745   ALISHA        BRADLEY                     OH     90010107142
B42B6218991831   MORGAN        ENNIS                       OK     90014232189
B42B6522993745   DALE          BURTON                      OH     90005465229
B42B732285B265   DONTREL       YOUNG                       KY     90014713228
B42B7598272B62   JOSE          LAZCANO                     CO     33008625982
B42B7769231639   SHANNA        MCCRACKEN                   KS     22093197692
B42B7849471929   CATHERINE     COLLINS                     CO     90001098494
B42B8811A5B265   YOLANDA       BOWMAN                      KY     90014958110
B42B8848691585   JESUS         TERRAZAS                    TX     75079878486
B42B8987272B69   LUZ ELENA     SALAS                       CO     90013989872
B42B8A63A93758   KENYATTA      BOZEMAN                     OH     64590760630
B42B94A4371929   LYUDMILA      MISYURA                     CO     90014324043
B42B9763A31639   CYNTHIA       HAND                        KS     90015567630
B42B981415B396   CHARLES       LAMB                        OR     44576828141
B42BBA14385927   DAWN          BARNES                      KY     90008210143
B4311246591585   JESSICA       PARGA                       TX     90007202465
B431138A38B185   ADAM          SMUIN                       UT     90007653803
B43113A3872B62   DEE           GARZA                       CO     33091743038
B4311529293745   ANGEL         BAISDEN                     OH     90012725292
B4311539985936   BEVERLY       BOTTS                       KY     90009685399
B431168A376B27   JUAN          GUZMAN                      CA     90006836803
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2108 of 2350


B4311758176B52   OMAR           CRESCENCIO                 CA     90000527581
B4312767693727   RONNIE         VEST                       OH     90010937676
B4313372A72B69   JESSE          MILLER                     CO     90011983720
B431341A785936   JAMES          POFF                       KY     90014014107
B4313781285936   JAMES          POFF                       KY     66084667812
B4314131971929   MARLENE        SMITH                      CO     90001661319
B4314667485927   DEBRA          CAUDILL                    KY     90011516674
B4314735291831   ERIKA          ESTRADA                    OK     90013947352
B4315682536B98   ALEXANDER      BOOKER                     OR     90011356825
B43156A7593727   JOHN           MALVEN                     OH     90006286075
B4315776776B27   MARTIN         OLGUIN                     CA     46080347767
B4315948272B62   ZACHARY        KELL                       CO     90012869482
B43162A4885936   AIMEE          JAEGER                     KY     90009172048
B4316735291831   ERIKA          ESTRADA                    OK     90013947352
B43171A7231688   MICHAEL        WILLARD                    KS     90000571072
B4317481691585   HENRY          SALAZAR                    TX     90012094816
B4317989872B69   MICHELLE       PINON                      CO     33002869898
B4317A1196B229   JAMES          CALLAWAY                   CO     90010900119
B4318268593727   CHARLES        JONES                      OH     64569262685
B4318964476B27   MAZIO          VALENZUELA                 CA     90015249644
B43194A8893727   PATRESSE       JOHNSON                    OH     90013474088
B431957385B338   MIRIAM         MARQUEZ                    OR     90005955738
B431967777B489   ESTELLA        SEKLE                      NC     11088316777
B4319799771929   CONSTANCE      STEVENSON                  CO     90001317997
B4321448254122   SHYLEA         THOMAS                     OR     90013084482
B4321659691B55   NOAH           BROCK                      NC     90015036596
B4322378933641   MATTHEW        LOCKLEAR                   NC     90003943789
B432247285135B   CARLA          DIXON                      OH     90010494728
B4322735976B52   ZURI           WHITE-HUGHES               CA     90009347359
B43232A7A55973   ALAN           STEVENS                    CA     90005732070
B4323655961924   JESUS E        CRUZ                       CA     90013436559
B4323672655972   BILL           FIELDS                     CA     90013106726
B432425778B185   DARLA          HOLDAWAY                   UT     31096192577
B432434865B265   PAUL GREGORY   ABREN                      KY     90013523486
B4324832472B69   DARRYL         MULLIN                     CO     33051678324
B4324885591831   ALYSON         MADEWELL                   OK     90013948855
B4324966243584   BRYSON         FENIMORE                   UT     90012629662
B4325895255973   FRANCES        LOPEZ                      CA     90007148952
B4326255293745   GARY           FURAY                      OH     90013932552
B432666A376B27   SAMUEL         CRUZ                       CA     90010256603
B4327A52176B27   WAYNE          TEMPLIN                    CA     90014140521
B4328629A76B52   TODD           CUMMING                    CA     90012056290
B43291A7231688   MICHAEL        WILLARD                    KS     90000571072
B43292A9A72B62   JOSE LUIS      MARQUEZ                    CO     90010212090
B4329395485927   JASMINE        LEE                        KY     90014713954
B4329514472B69   KARYN          SUROVIK                    CO     33085445144
B4329823785927   NOHEMI         ROBLERO                    KY     90015368237
B432997332B225   CAROLYN        CLEMONS                    DC     90014499733
B432B86922B941   MAYRA          RODRIGUEZ                  CA     45005708692
B4331A9495B265   DAWN           OAKLEAF                    KY     90012070949
B4332166876B27   FIDEL          LARA                       CA     90006121668
B4332295671929   ROSA           VIGIL                      CO     32090462956
B4332545954122   JONATHAN       NAFTZGER                   OR     90008775459
B4332794372B69   DERRICK        CORDONA                    CO     90011077943
B4332914572B62   GREG           CHAVEZ                     CO     90003249145
B4333735261921   ERIC           MERAZ                      CA     90008377352
B433385388B185   THERESA        EASTWOOD                   UT     31065798538
B433416AA76B52   MONICA         RUBALACA                   CA     46098131600
B4334867291585   LUZ            HOLGUIN                    TX     75012148672
B433539438B185   NICHOLAS       OZUNA                      UT     90002053943
B433632425B265   OMAR           ROMERO                     KY     90011153242
B4336565293727   KYLE           COPELAND                   OH     90003345652
B4336818A71929   ROBERT         MCSPADDEN                  CO     32094568180
B433757A424B64   RAYMOND        LEWIS                      DC     90001915704
B4337A8747B489   HECTOR         CARDONA                    NC     11086760874
B4338715655973   PRISCILLA      DELGADILLO                 CA     90010527156
B4338A37593758   BETH           BOOKER                     OH     64599470375
B4338A4513B333   ERIC           ADAMS                      CO     90002230451
B4338A88A4B259   KRISTINA       KRENS                      NE     90006980880
B433992A393727   BOBBY          MILLER                     OH     64586569203
B433B77915B265   JEFFERY        WISDOM                     KY     90014487791
B433B794176B52   LAURA          GARCIA                     CA     46001867941
B4341295793736   DEBORAH        JORDAN                     OH     90011882957
B4341539954122   ANDRIA         WEST                       OR     90003165399
B4341668191585   SAMUEL         SILVAS                     TX     90009726681
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2109 of 2350


B4341918991851   VENA          GILL                        OK     90009039189
B4342314576B52   KRISTAL       GONZALEZ                    CA     90011243145
B4342373833635   JUAN          LOPEZ                       NC     90012973738
B4342733A54122   KRISTY        FRAKES                      OR     90009787330
B4343271133635   ARTURO        CUEVAS                      NC     90008252711
B434335588B192   RON           MEDEIROS                    UT     31031973558
B4343433393745   LARRY         MUHAMMAD                    OH     90007824333
B4343946171929   JUSTIN        COOK                        CO     32010709461
B4343A82393752   VERONICA      RICHARDSON                  OH     90012380823
B434481612B271   SHAINA        MCNEILL                     DC     81077978161
B4344828485927   PHILLIP       THACKER JR.                 KY     67090508284
B4344A1A672B69   JEAN          KEITA                       CO     33065040106
B4345672491831   BRITTANY      WELCH                       OK     90010306724
B4345682393752   SHELLY        LOCKWOOD                    OH     64546896823
B4346432272B69   JARED         WOODSMALL                   CO     90002464322
B4346593693752   CHARLES       COTEREL                     OH     90014125936
B4346746555973   KENNA         ZIMMERMAN                   CA     90010527465
B4347239376B52   JOSE          MILLAN                      CA     46032982393
B434725168B197   MAYOLA        GARCIA                      UT     90006912516
B4347298693752   REBECCA       PRINDLE                     OH     64517702986
B4347387854122   TAMMY         MADDOX                      OR     90014243878
B4347654241268   ALBERT        HERROD                      PA     90012516542
B4347682985927   ERIC          CLEVELAND                   KY     90014156829
B4347699131639   MICHAEL       GEE                         KS     90012026991
B4348369385936   CHRISTOPHER   FORD                        KY     90008403693
B4348385471929   JUAN          CHAVEZ                      CO     90010843854
B4348525624B64   NORIS         BONILLA                     VA     81014245256
B434894715B399   EVA           GARCIA                      OR     90014979471
B4348A42A2B948   ASHUR         PAULUS                      CA     90009470420
B4348A57772B69   STEPHANIE     WILEY                       CO     90009560577
B43493A995B265   MARCELLA      DUNCAN                      KY     90007093099
B434973482B889   JERRY         BOYCE                       ID     42068487348
B434B477671921   BARBARA       FISHER                      CO     90011764776
B434B849255973   BRYAN         HERNANDEZ                   CA     90010528492
B43513AA672B69   ROCCO         EGGLESTON                   CO     90005343006
B435157877B489   MASHAYLA      SHEAPERED                   NC     90014615787
B435171225B383   LACERRA       MCKENZIE                    OR     90004977122
B4351823855972   ROMEY         ALVAREZ                     CA     49089238238
B4351A47254122   GEROD L       MARTIN                      OR     90003030472
B435233487B489   STEPHANIE     ADAMS                       NC     11034243348
B4352944254122   CAROLINE      PAPESH-SCHMIDT              OR     90008149442
B4353671691585   NEREIDA       AGUILAR                     TX     90009726716
B4353837676B52   MAYRA         AGUILAR                     CA     90010388376
B435427A254122   RONALD        CRAFT                       OR     47007932702
B43543A9657565   ALBERT        FERNANDEZ                   NM     90013753096
B4354762791585   ARMIDA        PRIETO                      TX     90013667627
B4354948A72B69   PHILIP        HODGKINSON                  CO     90009279480
B4356573393745   JAMES         MOLLETTE                    OH     90012485733
B435756618B197   TIFFANY       HUMPHREYS                   UT     90010785661
B435774A485927   DERRICK       WASHINGTON                  KY     90012837404
B4357A44555973   MAGDALENO     DURAN                       CA     90014660445
B4358225261976   DAVID         MAGANA                      CA     90006232252
B435899437B489   MIKE          YEBOAH                      NC     11005539943
B43589A7A72B69   LEAHI         LOLOTAI                     CO     90014139070
B4359376891831   CREE          ROBINSON                    OK     90014943768
B4359517671929   GERALD        GONZALES                    CO     90009305176
B4359568693745   AURIA         TAYLOR                      OH     90012125686
B435B159691B55   FELICIANO     GIL                         NC     90010211596
B435B19AA93752   BRAD          YERIAN                      OH     90014441900
B435B4A6172B62   JESUS         BAYLON                      CO     33001774061
B435B536655972   YOLANDA       VASQUEZ                     CA     90012855366
B436121844B259   SANDRA        SMITH                       NE     90003612184
B4361336A93745   HEATHER       GLASKOX                     OH     64593043360
B43615A565B396   LISA          HIBDON                      OR     90004875056
B4361713755973   YESENIA       FIGUEROA                    CA     90002077137
B43617A5191585   YANET         RAMIREZ                     TX     90012927051
B4361A61855973   YESENIA       FIGUEROA                    CA     90013580618
B4362219185927   CHANDIE       JEFFERSON                   KY     90010662191
B436318A32B941   ISABEL        SILVA                       CA     90006191803
B436413823B372   CLARENCE      MOSELY                      CO     90011491382
B4364182557568   JOSUE         PONCE                       NM     90013781825
B4364256893727   CHRISTINE     EVANS                       OH     64555342568
B4364525554122   DAVE          EMBREE                      OR     90011325255
B43647A1A55972   CRYSTAL       BARRIOS                     CA     49082557010
B4365146872B69   KELLY         RAY STUNES                  CO     90008431468
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2110 of 2350


B4365764976B27   ERIK         TELLES                       CA     46040927649
B4365AA6555973   BILLY'S      DRYWALL                      CA     90007950065
B436657917B484   DINA         HOWZE                        NC     11090645791
B4367227693752   ASSADIQ      ADAM                         OH     90014592276
B43672A455B396   ABBY         DE SANCHEZ                   OR     90007572045
B4367622351385   JOHN         KRINER                       OH     90009896223
B4368328A4B96B   LERIEL       ROUGEAU                      TX     90014873280
B4369281185927   ROBERT       STOUDT                       KY     67007002811
B436942715B265   CHE CHE      MILLER                       KY     68040034271
B4369476572B62   AMY          LANYON                       CO     90012014765
B43694A2A4B244   CHEYENNE     LUSSIER                      NE     26066214020
B436B148176B52   MARIA        SEGURA                       CA     46042051481
B436B67435B396   JOSE JUAN    REYES JIMENEZ                OR     90012016743
B4371557393727   DUANE        HUTCHINSON                   OH     90013365573
B437172A354122   ANNE         PHILLIPS                     OR     90011417203
B437184122B271   MICHAEL      THOMAS                       DC     90010958412
B4371921972B69   DANIEL       SUMMERS                      CO     33043659219
B4371AA7A93745   RACHEL       POWELL                       OH     64586910070
B4372181985936   SHERRIE      HARRIS                       KY     90014921819
B4372439991585   VICTOR       SALDIVAR                     TX     90013904399
B437248275B541   VANESSA      DOMINGUEZ                    NM     90005414827
B437287952B923   NORMA        CHAVEZ                       CA     90008328795
B4373584172B62   ROBERTO      HERRERA-HAM                  CO     33067415841
B437361A285927   SYLVIE       NGANDU SANKAYI               KY     90013466102
B4374833493758   JAMES        GILLIAM                      OH     90014168334
B4374A21155972   MONIQUE      HERNANDEZ                    CA     90011790211
B4375833493758   JAMES        GILLIAM                      OH     90014168334
B4375872991831   JOHN         BRYANT                       OK     90012428729
B4376459555972   MARCUS       GONSALVEZ                    CA     90015054595
B4377176171929   DEBBY        HARMON                       CO     32042011761
B437745A272B62   ANDREA PAZ   TORRES                       CO     90011134502
B4377878755973   RUSSELL      POLES                        CA     48068828787
B4378433172B69   TIFFANY      JONES                        CO     90006674331
B437852A571929   GUSTAVO      COLIN                        CO     90011135205
B4378613576B52   KENNETH      WEBB                         CA     46072416135
B437942365B265   IRMA         ALVAREZ                      KY     90009054236
B4379913471929   PAMELA       MARTINEZ                     CO     32035939134
B437B17285B265   ANTHONY      SLOAN                        KY     90013341728
B437B332842332   PAHLYBIST    ADERNATHY                    TN     90015413328
B437B763291324   BREONA       HORAN                        KS     90011087632
B437B84677B489   BRITTANY     PEEC                         NC     90010748467
B438134975B389   DANIELLE     SOC LOPEZ                    OR     44505103497
B4381428472B62   BAUDELIO     GARCIA                       CO     90013284284
B4381439133635   GABRIELA     DOMINGUES                    NC     18026894391
B438165AA71929   BRENDA       GONZALES                     CO     90014376500
B4382158585936   ASHLEE       BEDFORD                      KY     90014701585
B438233A255973   ALEJANDRA    ANGUINANO                    CA     90010693302
B4382A13793752   ADESINA      BENTON                       OH     90010640137
B43836A7155972   DONNA        CARTER                       CA     49024956071
B438385494B259   DALIA        GONZALEZ                     NE     27050758549
B43839A9776B27   ARMANDO      SERENA                       CA     90002299097
B4384119372B62   BRIANNA      BROWN                        CO     90014391193
B4384587276B27   JOSE         RIVERA                       CA     46071715872
B4384A3395B396   NELSON       MORALES-VIERA                OR     44593320339
B4385233476B27   ROCIO        REYES                        CA     90011372334
B4385235193752   IDA          BARBER                       OH     90012602351
B4385618272B69   RAUL         LOPEZ                        CO     90014826182
B43856A1672B69   SOPHRONIA    DUNLAP                       CO     90012566016
B438579A94B285   DONNY        MULDREW                      NE     90012337909
B4385894A93758   COURTNEY     GEE                          OH     90014168940
B438589857B439   NAKIA        BYERS                        NC     90002428985
B43862A5131699   ELIZABETH    VALENCIA                     KS     90001362051
B4386496693727   MAKENNA      TAYLOR                       OH     90014624966
B43864A877B489   LUIS         DAVILA                       NC     11006634087
B4386A44554122   DEBORRAH     EMMONS                       OR     90013470445
B438712A154122   AMY          HUTCHISON                    OR     47095461201
B4387335776B27   JASON        ALVAREZ                      CA     90012963357
B438795A861975   JOSH         HUGHES                       CA     90005909508
B4387A91972B38   MARIA        CASTILLO                     CO     90012730919
B438839355B265   CLERENCE     HOWARD                       KY     90008993935
B4388559593752   ERIN         BUCK                         OH     64546405595
B43887AA576B52   ROCIO        FLORES                       CA     46098157005
B4388819676B27   NICASIO      TORAL MORALES                CA     90007048196
B4388A38893745   FLORENCE     BOYD                         OH     64509340388
B4388A76591831   JENNIFER     BROWN                        OK     90014130765
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2111 of 2350


B438B714972B69   BEATRIZ      FIGUEROA                     CO     90013267149
B439112215B265   SUZZANA      CASTANEDA ESCALONA           KY     90010641221
B4391475133635   BRANDI       TUCKER                       NC     90013584751
B439163AA85861   DAE          KIM                          CA     46015196300
B4392657176B52   ERIC         AGUILAR                      CA     46053426571
B4392934A93758   ANDREA       ALVAREZ                      OH     90014169340
B439294A371929   SERGIO       CABRERA                      CO     32028579403
B4393252333635   TYSON        HINTON                       NC     90014662523
B4393268871964   LIZETH       MORALES                      CO     90000872688
B4393629293752   CHRIS        SWEEZY                       OH     90012766292
B4393672672B69   ROBERT       ROMERO                       CO     90014816726
B4393929355972   RAMON        TORRES                       CA     90004319293
B4394243561987   MARLENE      ECHEVERRIA                   CA     90003292435
B4394862933635   ELMER        RODRIGUEZ                    NC     90015548629
B4394915876B58   CLOVER       MCLAUGHLIN                   CA     90003249158
B4394923154122   BLANCA       MONICO                       OR     90014689231
B43952AA172B22   HAROLD       RICHARDS                     CO     33005712001
B4395429671929   JOSE         SANTOS                       CO     90010844296
B4396488691831   FAWN         CLAUNTS                      OK     90011534886
B4396767A55973   SARA         VERISSIMO                    CA     48088367670
B4397115755972   SHARON       CACAL                        CA     90011791157
B439737272B271   NATE         SMITH                        DC     90014593727
B4397578376B27   STEVE        BELISARIO JR                 CA     90013255783
B4398193397B69   JOSH         HALL                         CO     90011881933
B4398318954122   TIM          VAUGHAN                      OR     90014293189
B439835575B396   MARVIN       ENGLISH                      OR     44504743557
B4398429671929   JOSE         SANTOS                       CO     90010844296
B4398929A31639   JIM          SUTTLE                       KS     90012929290
B4398932355973   NICOLE       HICKS                        CA     48085139323
B4399294391585   LAURA        HERNANDEZ                    TX     75084262943
B4399463477353   MARIA        HERNANDEZ                    IL     90014894634
B4399495871929   BECKY        MILLER                       CO     90014204958
B439973545B265   IDOLAIDA     PEREZ                        KY     90014877354
B4399838593727   JARED        SMITH                        OH     90013328385
B4399A12A76B52   ALFREDO      MORALES                      CA     90013050120
B439B723793727   BRITTANY     REAVES                       OH     90013207237
B43B122964B266   MAWUNYEGA    MIHEAYE                      NE     90004132296
B43B1615493758   MARLA        HOLMES                       OH     90004466154
B43B1714476B27   ADAM         HERNADEZ                     CA     90013657144
B43B2254155973   GLORIA       ESCOBAR                      CA     48013402541
B43B3221476B52   VALERIA      LOZANO                       CA     90012782214
B43B369269156B   FELIX        MOLINA                       TX     90012516926
B43B3784933635   JEREMY       LONG                         NC     90000657849
B43B3A89185927   JENEE        HARLEY                       KY     90011390891
B43B454265B397   LUCAS        KNEELAND                     OR     90014415426
B43B465AA71929   BRENDA       GONZALES                     CO     90014376500
B43B46AA224B35   ALISHA       MCDOWELL                     VA     90010546002
B43B4859A93758   CARMEN       MONDRADON                    OH     90014168590
B43B48AA985874   HELEN        BARR                         CA     90011298009
B43B49A5776B52   ANTONIO      LOPEZ                        CA     46098559057
B43B515285B396   GARY         SWARTWOUT                    OR     90011921528
B43B536112B271   MAURICE      JOHNSON                      DC     81055183611
B43B5586691585   JESSICA      BEARDEN                      TX     90010965866
B43B5692293758   DERRICK      TOLBERT                      OH     90014176922
B43B582A393752   JOSHUA       FROWEIN                      OH     64532338203
B43B6823A93758   JOSE         MARTINEZ CERVANTES           OH     90002158230
B43B69A9147896   JERRY        SAMPLE                       GA     90007869091
B43B715667B484   CHRIS        DOTY                         NC     11085851566
B43B7588876B27   MAYRA        SOTO                         CA     90015205888
B43B8441331639   JAMIE        HUNTER                       KS     90012284413
B43B858A955972   COLLEEN      BAKER                        CA     49024905809
B43B8663493727   STEFFANIE    SWINFORD                     OH     90001356634
B43B8746785927   TARLA        DERANGER                     KY     67028197467
B43B9611255972   FELIPE       REYES                        CA     49024906112
B43BB326884825   AMANTHIA     LEON                         NJ     90014903268
B43BB461793745   MALYNDA      FRAZIER                      OH     64502884617
B43BB635976B52   ELIN         MOLINA                       CA     46045526359
B43BB765993727   DONALD       LODEN                        OH     90012797659
B43BB969A5B396   ARTEMISA     BEDOY                        OR     90003829690
B43BB97617B484   ROBERT       THOMAS                       NC     90000649761
B4411158A71929   LORRIE       KING                         CO     90009791580
B44112A3672B62   ANGEL        MACIAS                       CO     90014422036
B441155217B443   DAVID        WATLINGTON                   NC     11030165521
B4411767A93745   KRISTIE      FANNON                       OH     64557727670
B4412498991831   BILLY        FORD                         OK     90014174989
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2112 of 2350


B4412943591585   MINI         OLIVAS                       TX     90010809435
B441331418B185   JEROD        PEAY                         UT     90005923141
B441347515B389   BARBARA      MC GUIRE                     OR     44596104751
B44135A5891831   DOROTHY      FORD                         OK     90014175058
B4413A21872B3B   MARK         ONSTOTT                      CO     33097060218
B4414616585927   JALVER       PABLO                        KY     90014876165
B4415362793752   NATALIE      BELL                         OH     90000473627
B441572A85B396   LO           SAMONTRY                     OR     90005067208
B4415759A76B52   YARIELA      CRUZ                         CA     90008027590
B4415875691831   CHRISTINA    HENDERSON                    OK     90011138756
B4416165972B62   MARJORIE     SAMOUR                       CO     33078711659
B441683A75B396   ERIC         PERSON                       OR     90013738307
B4416889133635   TONI         BLEVINS                      NC     90006128891
B4417A15176B52   NATASHA      MARTINEZ                     CA     90013050151
B4417A19433635   QUASHAWN     LLOYD                        NC     90013340194
B4418565371929   APRIL        GREGG JACKSON                CO     32003765653
B4418618233635   DAISI        MORGADO                      NC     90015276182
B4418853891585   SOCORRO      PORTILLO                     TX     75022318538
B44195A5491585   LISA         VACIO                        TX     90008735054
B4419A78333625   MITTIE       HEATH                        NC     90008150783
B441B157591585   RENE         VASQUEZ                      TX     90014801575
B441B25485B14B   MAUREEN      THROWER                      AR     90012832548
B441B358855973   TYRAESHA     NOLEN                        CA     48008023588
B441B755176B27   EDGAR        AGUILAR                      CA     46071137551
B441B8A1576B52   NOEMI        GARCIA                       CA     90004298015
B4421747172B62   FERNANDO     RODRIGUEZ                    CO     33014117471
B4421787393745   SHERITA      BLOXOM                       OH     90011827873
B4421812493758   IRMA         MASON                        OH     90014178124
B4422225693752   JUNE         SMITH                        OH     90012142256
B4422376476B27   ALMA         VILLASENOR                   CA     90013453764
B44223AA593752   JESUS        JASO                         OH     90010163005
B4422536791585   RAYMOND      BOUTILIER                    TX     90014925367
B4422697A93752   TISHA        NELSON                       OH     90014116970
B4422A28691B55   NEKEIA       ANDERSON                     NC     90015080286
B4423245971929   L            SPURLOCK                     CO     90010612459
B4423815A5B124   SHEKITA      COLEMAN                      AR     23002028150
B4423848585927   TE'ONA       ADAMAS                       KY     67050778485
B4423A83172B62   CHARLES      MONTOYA                      CO     90013830831
B442419A785975   LARRY        FAHEY                        KY     90006991907
B442425A376B27   ANTONIO      HERNANDEZ                    CA     90013612503
B44243A9176B52   JOSE         RIOS                         CA     46005783091
B4424834593758   RAYMOND      HENN                         OH     90014178345
B4424A8965B265   ROBERT       PENA                         KY     90014840896
B442516977B489   LATOIA       SMITH                        NC     90006981697
B4425238872B69   INES         ESCUDERO                     CO     33063402388
B4425495871929   BECKY        MILLER                       CO     90014204958
B44257AA624B28   LATEEFAH     HUNTER                       VA     90008937006
B4425813372B62   EDIE         ESPINOZA                     CO     90012708133
B442597145B265   BRANDON      NIETO                        KY     90009219714
B442615937B489   MARION       WINSLOW                      NC     90014361593
B4426978976B52   NATALIE      ARTEAGA                      CA     90014629789
B4427132151347   MARY         SCHALLER                     OH     90008961321
B4427511755972   GARY         GURRUSQUIETA                 CA     90015055117
B442783A476B27   BRANDON      BAKER                        CA     90004908304
B442784225B265   TIMOTHY      HENRY                        KY     90011328422
B4428585693758   ROCKY        HORNBECK                     OH     90014745856
B4428635754122   NATHAN       BROWN                        OR     47004566357
B4428767172B62   JENIFER      BROWN- GONZELES              CO     90012537671
B4429158593727   CAROLE       AHOSSIN                      OH     90011121585
B4429AA4185936   BOBBIE       MILLER                       KY     90009090041
B442B55115B396   VANESSA      DE JESUS                     OR     44525295511
B442B76A433625   MICHAEL      SIMMONS                      NC     90008157604
B4431494454122   ALEX         DELAMORA                     OR     90015204944
B4431526A5B265   FRANKIE      THOMAS                       KY     68016065260
B4432377454122   SHAWNA       ROBLES                       OR     90014293774
B4432511A72B62   YVONNE       BARGAS                       CO     90014465110
B443258717B489   J.CARMEN     AGUILAR                      NC     11087805871
B4432656861573   FELIPE       MOTA                         TN     90014976568
B443271243B191   TRACY        BROWN                        DC     90000877124
B4432787172B69   MIKE         GOODSELL                     CO     33093637871
B4432A67976B27   ANGELA       DIAZ                         CA     90005520679
B443338385B396   GUILLERMIN   RAMIREZ                      OR     90009833838
B4433412A76B27   CYNTHIA      PEREZ                        CA     90015144120
B443455115B396   VANESSA      DE JESUS                     OR     44525295511
B443456235B265   LATIA        GREENWELL                    KY     90012695623
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2113 of 2350


B4434648354122   MELISSA      ROSS                         OR     90012606483
B443518245B265   ROBERT       CARROLL                      KY     90015211824
B4436264A77398   JOHN         LEFLORIE                     IL     90008632640
B443631A793745   SIERRA       BOYD                         OH     64508203107
B4436568791585   ERM LINES    LLC                          TX     90013875687
B443661815B572   LAVERNA      MARTINEZ                     NM     90003396181
B4436A47933635   ALEJANDRO    CRUZ                         NC     90015100479
B4437249A93727   MICHAEL      PARKER                       OH     90009932490
B44375A4A72B69   JEREMY       NORMAN                       CO     33093165040
B443769627B489   QUILA        MARTIN                       NC     90014616962
B443816147B489   BRIDGET      KELLEY                       NC     90010291614
B4438557393727   DUANE        HUTCHINSON                   OH     90013365573
B44385A715B396   PABLO        AGUILAR                      OR     44585115071
B443862825B265   EMILY        GIBSON                       KY     90013056282
B4438824672B69   ANA          RIOS                         CO     90011078246
B4438893785927   NICHOLE      TRAVIS                       KY     90007348937
B4439293393745   TIM          BIRD                         OH     64528082933
B44392A5255973   MICHELLE     SCHEELER                     CA     90014672052
B4439364185927   ALEJANDRO    GONZALEZ                     KY     90006873641
B4439495871929   BECKY        MILLER                       CO     90014204958
B443B87538B185   CARLOS       RIVERA                       UT     90014658753
B4441669447964   SUZANNE      COOPER                       AR     25018066694
B4442142576B52   LEE          EVERETT                      CA     90014631425
B444354115B265   LATOSHA      SMITH                        KY     90014835411
B4443896A93758   DARION       LEE                          OH     90014178960
B4444455372B69   APOLINAR     TRUJILLO                     CO     33050104553
B444488423B387   ALANA        OLSEN                        CO     90007848842
B4445689691324   PATRICK J    CASTIN                       KS     90001856896
B4446227976B52   MARIBEL      REYES                        CA     90014632279
B4446546741229   PAMELA       YASKO                        PA     51012585467
B4446682593745   KAREN        NAPIER                       OH     64593876825
B444676414B562   VICKY        KELLY                        OK     21587727641
B444689345B396   MICHAEL      SVENSON                      OR     44550608934
B4446A14631639   HOLLY        EVANS                        KS     22004770146
B4447351A91585   MIGUEL       VENTURA                      TX     90013283510
B4447462593752   LAMIYAN      KNOX                         OH     90012644625
B4447587893745   ELIJAH       RATLIFF                      OH     90010405878
B4447A85733635   WALTER       RAINEY                       NC     90015220857
B4448263154122   BRETT        WOOD                         OR     90009122631
B4448313455973   LUCINA       LARA                         CA     90007773134
B4448A85893745   JOSEPH       MUNZ                         OH     90014780858
B444926A355973   VICTORIA     LASTIRI                      CA     90014672603
B4449368993745   MIKE         BELLENGER                    OH     90003573689
B4449511951341   TIFFANY      FOX                          OH     66017185119
B4449556272B62   MELANIE      MCLAIN                       CO     33062315562
B4449AA2924B64   NACHE        REESE                        DC     90011220029
B444B575A8B131   ALISHA       JAMESON                      UT     90008165750
B444B728955973   PEDRO        RODRIGUEZ                    CA     48088367289
B444B788893745   RHONDA       VALDEZ                       OH     90009907888
B44511AA876B52   LESLIE       QUINTANILLA                  CA     46024801008
B445135A17B443   DANA         FORD                         NC     11040213501
B4451782531639   ANDRES       BONILLA                      KS     90012697825
B4451A52185936   DEBBIE       BOYERS                       KY     66066870521
B4452357754122   TERESA       HERLEIN                      OR     90014543577
B445318642B271   JEREMY       CAMPBELL                     DC     90014361864
B445337955B396   JOSHUA       DEWBERRY                     OR     90014753795
B445358A872B69   ESPERANZA    BALCAZAR                     CO     90001815808
B445377A481656   CINDA        CHAPMAN                      MO     90001517704
B4454212454122   JAMIE        WHITE                        OR     47032692124
B445537792B258   KYOMI        ALLEN                        DC     81010073779
B4455498955972   JOE          CAVAZOS                      CA     90013034989
B44554A2193758   AMANDA       BOWEN                        OH     64517954021
B4455535691585   CLARK        FLETCHER                     TX     90014415356
B44558AA476B52   RICARDO      AGUIRRE                      CA     90012888004
B4456451631639   ANTHONY      PAMETICKY                    KS     90013944516
B4456679271929   LISA         SEGURA                       CO     32061186792
B445716248B185   KYLE         PAYTON                       UT     90001001624
B4457183276B52   ANTONIA      BAUTISTA                     CA     90014631832
B4457456A91582   EDUARDO      REYES                        TX     90004594560
B445831682B271   ALLEN        PITTS                        VA     90013223168
B4458794233635   JUAN         HERNANDEZ                    NC     90008497942
B4458811624B28   STAFFORD     CROSS                        MD     90015448116
B4459368493745   BRANDI       TURNER                       OH     90015213684
B445989345B396   MICHAEL      SVENSON                      OR     44550608934
B445B188831639   DIANN        HAZELTON                     KS     22084331888
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2114 of 2350


B445B4A3485927   ASHLEY       CORTEZ                       KY     90014714034
B445B57642B941   RICK         WINTERS                      CA     45028525764
B446116797B489   EMILIANA     YOS                          NC     90011691679
B446186765B265   DELTA        ALVAREZ                      KY     90012808676
B446242137B489   ROBIN        LNGRAM                       NC     90014654213
B4462428A91585   VIRGINIA     SOLANO                       TX     90013854280
B4462817272B62   PATRICK      MCREYNOLDS                   CO     33057568172
B4462A6A491585   LYDIA        GONZALEZ                     TX     90008100604
B4463185191585   VERONICA     SANCHEZ                      TX     75003021851
B446323457B489   RODRIGO      LEAL                         NC     90009002345
B4463283555973   DARLENE      RICO                         CA     90014672835
B44632A5276B27   MARBELLA     PIZA                         CA     46042782052
B4463924493752   SHANE        COLLINS                      OH     90015129244
B4464322572B69   ANTONIO      LUNA                         CO     90007813225
B4464693876B27   DAVID        MONTES                       CA     46029916938
B4464739193752   SARA         HICKS                        OH     90007717391
B446498A555972   CHRISTINE    PLATAS                       CA     90001569805
B446516662B271   AMBER        BORROGHS                     DC     90014971666
B4466211185936   CADE         ALLSHOUSE                    KY     90014522111
B446656247B489   RAFAEL       GUERRA                       NC     11077605624
B4466772631478   YOLANDA      COLE                         MO     90013767726
B4466934933634   SHAMA        BAKHET                       NC     90010069349
B446716815B265   HEATHER      ADKINS                       KY     68063131681
B4467284971929   EDITH        CONSAVAGE                    CO     32023162849
B4467496856365   DARRK        ESLEY                        IA     90014624968
B446757A485927   ANDEL        SOSA                         KY     90012125704
B4467924357142   JAIRO        BONILLA                      VA     90006349243
B4468234191831   JAMIE        RAGAN                        OK     90014382341
B4468491572B62   HECTOR       FERNANDEZ                    CO     33016754915
B4468634154122   ENRIQUE      HERRERA                      OR     90013476341
B4469163293727   ERIKA        LEONARDO DIAZ                OH     90010351632
B4469591531664   AMBER        PALMITIER                    KS     22069865915
B446998765B396   JESSICA      WILKS                        OR     90001919876
B446B87422B844   MARK         STEVENS                      ID     42072118742
B447149252B271   JELA         DEAN                         VA     90003204925
B4471543561924   DARREN       SEGANTI                      CA     90004335435
B44715A5991585   GUADALUPE    BORREGO                      TX     90013665059
B4472498791831   CRYSTAL      HOLLEY                       OK     90014384987
B4472694571929   DEREK        JONES                        CO     90011876945
B44727A2893727   BRAD         ADAMSON                      OH     90006247028
B4472A6997B489   ADAN         NUNEZ                        NC     90008040699
B4473462485927   DELORIA      KAVANAUGH                    KY     90014724624
B44734A7461987   ARY          SANCHEZ                      CA     90004414074
B4473745781656   PHILIP       BEAUDOIN                     MO     29024767457
B4473791855973   BERNARDO     LOPEZ                        CA     90014667918
B447381627B489   ROKEISHA     REID                         NC     90014618162
B4473A44572B62   JACOB        HARTMAN                      CO     33004030445
B4474558593745   CHARLES      WALKER                       OH     90013935585
B4474558691831   BECKY        ENNIS                        OK     90014385586
B447558A876B27   CHRISTIAN    IBARRA                       CA     90013555808
B447563A585927   CICELY       COLEMAN                      KY     90014416305
B44758A4872B62   RADINE       DEHERRERA                    CO     33047348048
B4475A26A5B265   CHANDRA      HOBBS                        KY     68096060260
B447619165B265   ROKOLA       JEWELL                       KY     90005171916
B4476545A31639   ROBYN        MARKS                        KS     90015525450
B447656512B229   GLENDA       GOLDRING                     DC     90008035651
B4476644255973   MARK         BARTLEY                      CA     90002936442
B447666859132B   ALLISON      RANGEL                       KS     90009266685
B447673215135B   RANNIE       CROSS                        OH     90014047321
B4477939285936   SANDRA       LILLIE                       KY     90012529392
B4477998176B52   LICEHT       HERNANDEZ                    CA     90009559981
B44779A8271699   HEATHER      WASHBON                      NY     52035709082
B4478142471929   OSCAR        GALLEGOS RIOS                CO     90010451424
B4478583172B69   MONICA       GALAVIZ                      CO     90012665831
B44788A7331688   CHERYL       BIGGARS                      KS     22044518073
B447897A893758   BRENDA       TAMREUTHER                   OH     90014179708
B4478A86954122   MARK         FRANCIS                      OR     90013590869
B4479343593752   SARAH        JEWETT                       OH     64592953435
B4479381993745   AMY          PENNYWITT                    OH     64512463819
B4479545671929   NATALIE      STERLING                     CO     90014205456
B447962127B421   RODERICK     FISHER                       NC     90009536212
B44797A5571929   NORMA        SILVA                        CO     90011877055
B447B36A133635   CARLOS       RODRIGUEZ                    NC     18034953601
B447B83A691831   INGER        JOHNS                        OK     90007058306
B4481365671929   TWYLA        ESPINOZA                     CO     90007713656
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2115 of 2350


B4481483593745   MARY JO      BEACH                        OH     64594124835
B4481612176B52   MATTHEW      BRICENO                      CA     46088636121
B4482192A55957   ENGRACIA     VAZQUEZ                      CA     90013901920
B44821A2276B52   ARACELI      MORALES                      CA     46046481022
B4482475171929   KATHINE      CHACON                       CO     32043224751
B4482833591549   JUDI         WRIGHT                       TX     90008128335
B448322365B396   DENNIS       MACDONALD                    OR     90014602236
B44833A5891585   LILIANA      DE LA ROSA                   TX     75024633058
B4483518A76B27   IZABELLE     DOUCET                       CA     90012045180
B4483622193745   EARL         STEWART                      OH     90013936221
B4483769593727   ELIZABETH    ROEGGE                       OH     90011887695
B4483984993758   VONDELIA     LAYNE                        OH     90014179849
B4484222271929   PEBBLES      LONG                         CO     32040912222
B4485212531457   MARY         SPARKS                       MO     27598772125
B4485484A76B52   DELFY        HERNANDEZ                    CA     90006154840
B4486147131688   CASANDRA     GILBERT                      KS     90014241471
B448632838B185   BETTE        FRASER                       UT     31044183283
B448647994B259   SHERMAN      GOULD                        NE     27000504799
B4486627793727   MONIGUE      HEARD                        OH     90013226277
B4486692276B52   MARIA        NOVOA                        CA     90011246922
B4486763A61941   JULIO        LAPENSEE                     CA     90008187630
B4486861171929   JOSE LUIS    NAVA                         CO     32003568611
B4486871931688   CASANDRA     GILBERT                      KS     22041838719
B4487214793727   CHRISTIN     OLDHAM                       OH     90003712147
B4487258833625   LAKESHA      WILSON                       NC     90008172588
B4487755576B27   FRANCISCA    SONANEZ                      CA     46059927555
B4487826193727   WILLIAM      LARKIN                       OH     90013408261
B4487862572B62   CRISTINA     BEECH                        CO     33073048625
B4487884161998   SYLVIA       ADAMS                        CA     46012308841
B4488227272B69   MUNOZ        VALERIA                      CO     33081442272
B4488232993758   DEVONNA      JACKSON                      OH     90006002329
B4489545391585   CHRISTINE    PARTIDA                      TX     90003405453
B448955295B336   RUBIA        VEGA                         OR     90014145529
B4489746255973   DAWN         TWING                        CA     90014287462
B4489877493745   JAMES        OWEN                         OH     90009068774
B448B771531639   ARLENE       LUTZ                         KS     90000147715
B448B947A4B259   JEFEREY      HETTINGER                    NE     27040979470
B448B961972B62   JERRICA      LEE                          CO     90013819619
B4491112472B62   STACY        ALLEN                        CO     90008001124
B4491325A76B52   ROBERT       HEIL                         CA     90008653250
B449134622B271   ROBERTO      CONTRERAS                    DC     90007623462
B449142647B489   VALERIE      FRATIER                      NC     90014654264
B4491621A36B98   ALEJANDRO    GARCIA                       OR     90009226210
B4491997493745   ERIC         WOOTEN                       OH     90012719974
B449279135B265   ASHLEY       LATTIS                       KY     90014447913
B44928A5A77977   AMBER        SWAN                         IL     90007868050
B4493574771929   TROY         WILLIAMS                     CO     90014205747
B449433243B372   MARK         HEMPEL                       CO     90012833324
B4494384A33643   GUADALUPE    AMBROS                       NC     90003603840
B4494412972B69   GLORIA       FLORES                       CO     90010174129
B44944AA685927   JUSTICE      MORTON                       KY     67096624006
B44946A6A76B27   MARK         MATTISON                     CA     90014326060
B449515A75B265   BROOKE       SMITH                        KY     90008501507
B4495243531639   ANTONIA      RODRIGUEZ                    KS     90008382435
B44954AA771929   CHANTEL      PHILLIPS                     CO     90014414007
B449566A193736   GAYLE        SARFF                        OH     64517646601
B4495887293758   JEFF         KURBE                        OH     64518048872
B4496943385936   TOBY         HAMBY                        KY     90014509433
B449699197B489   MARINA       GUZMAN                       NC     90002409919
B4497222593752   JULIA        BINGHAM                      OH     90012652225
B4498A27591585   SAMUEL       LOPEZ                        TX     75019520275
B4498A9325B396   CATALINA     VASQUEZ                      OR     90011700932
B449B511255972   FEDERICO     GARCIA                       CA     90013035112
B449B619185927   MATTHEW      BURRUS                       KY     90014876191
B449B88A771929   NANCY        HERNANDEZ                    CO     32017408807
B449BA84872B69   OMAR         PALOMINO                     CO     33096400848
B44B17A792B221   DONISE       DUNCAN                       DC     90001447079
B44B2313A91585   IVAN         CALZADA                      TX     90013083130
B44B323A973247   IVETH        HILARIO                      NJ     90014942309
B44B429625B534   JOCLIN       NICASIO                      NM     35057152962
B44B4324293745   MATTHEW      HARTING                      OH     90013933242
B44B4642776B27   RUDY         CHAUEZ                       CA     90011196427
B44B46A2155973   LEE          SEE                          CA     48070026021
B44B4978976B52   NATALIE      ARTEAGA                      CA     90014629789
B44B5326272B69   MICHELLE     CHAVEZ                       CO     33069403262
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2116 of 2350


B44B5928A55973   JERRY        LITTLE                       CA     90000309280
B44B6141372B62   ROSE         SILVA                        CO     90007511413
B44B616638B185   JESUS        ACOSTA                       UT     90005651663
B44B6227693758   MONICA       MILLS                        OH     90012692276
B44B627A391831   JEANE        MCNAC                        OK     90015012703
B44B6434385927   JUSTIN       BUTLER                       KY     90014844343
B44B6972854122   SHELLENE     FOSTER                       OR     47071769728
B44B6A46572B69   MARTHA       ARANGO                       CO     90012840465
B44B7181193745   JIMMIE       COLQUITT JR                  OH     64528021811
B44B7666255973   TRAVIS       SANDOVAL                     CA     90009376662
B44B7A68361987   DIANA        LYNN                         CA     90008640683
B44B811288B185   OLGA         DEALBA                       UT     31076911128
B44B834587B443   DESEANTE     THOMPSON                     NC     11073733458
B44B834A655973   SHADI        ANAYA                        CA     90009443406
B44B891A454122   TONI         MARTINEZ                     OR     90012669104
B44B9135371929   CHRIS        CORDERO                      CO     32071991353
B44B9484955924   JULIE        LAFLEUR                      CA     90006404849
B44B963232B271   MANUEL       ALVARADO                     DC     90015066323
B44BB2A6791585   ALEJANDRA    LARA                         TX     90012662067
B44BB458133635   JEZELLE      WILDER                       NC     90008984581
B44BB786991585   ADRIA        MORALES                      TX     90014077869
B4511585391831   ART          LITTLEFIELD                  OK     90014465853
B4511A4A933635   MORIA        ORNELAS                      NC     90012190409
B4512172655973   SHAHAN       SHAHAN                       CA     48000451726
B4512383693752   KAREN        MOTT                         OH     64511233836
B451244232B271   ANDREW       PHOMTGAVONG                  VA     90012294423
B451368995B265   CAROLYN      WITCHARD                     KY     90005576899
B4513A39793758   KRIS         PEAVY                        OH     90014180397
B4514434A61921   ALFREDO      RODRIGUEZ                    CA     90012534340
B45147A1593752   RAFAEL       CRUZ                         OH     90013247015
B4514822585927   ANN          COOPER                       KY     90008938225
B451532165133B   ELIZABETH    WEBSTER                      OH     90004153216
B451555858B185   KENT         SMITH                        UT     90005715585
B4515892476B27   THOMAS       WOLF                         CA     46014648924
B451627315B265   JOSE         HERNANDEZ                    KY     68037942731
B4516936254122   SHEILA       SCOTT                        OR     90013329362
B4517136231639   REYNALDA     BERNARDINO                   KS     22034351362
B4517219772B69   ANGEL        ROMERO                       CO     90015222197
B4517352155973   SANDRA       LUNA                         CA     90014183521
B4517447155972   POM          BOUR                         CA     90011794471
B4518446A55973   MARIBEL      SIGALA                       CA     90010454460
B4518521976B52   IRVIN        MUSGROVE                     CA     46051155219
B4518639171929   ALICIA       MONTOYA                      CO     90007726391
B45188A8A93745   HAROLD       HENRY                        OH     90014818080
B451938282B271   ALICIA       JACKSON                      DC     90002583828
B4519941772B27   TERESA       REYES                        CO     90007289417
B4519A46572B69   MARTHA       ARANGO                       CO     90012840465
B4519AA9855972   ERNESTINA    H GARCIA                     CA     49077040098
B451B333572B69   JORGE        FABELA                       CO     33073383335
B451B931433635   NATOSHA      DAWLUNG                      NC     90012979314
B451BA6A576B52   ARACELI      HUERTA                       CA     90000640605
B452113635B396   JOSEPH       MERCHANT                     OR     90009731363
B4521918A5B265   NICHOLAS     LUCKETT                      KY     90014649180
B4521A2668B185   PARKER       RANGEL                       UT     90006270266
B452255A82B225   JOSE         BENAVIDEZ                    DC     90010245508
B452261A14B259   IRIS         SORTO                        NE     27010696101
B4522A39A93758   KAREN        DIXON                        OH     64584670390
B4522A8A77B489   BOBBIE       KIRKPATRICK                  NC     90013530807
B45231A185B396   PEDRO        MACHIC                       OR     90013961018
B452326437B443   ROSA         FONTECHA                     NC     90001012643
B4523853433635   BRITTANY     FOUST                        NC     90013238534
B452434A27B49B   CHUN         CHAN                         NC     90009803402
B4525737572B69   ELIZABETH    DANNER-JOHNSON               CO     90013487375
B4525795193743   THOMAS       DREISCHARF                   OH     64590087951
B4526999955973   AMALIA       SOLIS                        CA     48010729999
B4526A91993758   JACOB        WILLIAMS                     OH     90014180919
B4527342361987   ANGEL        RODRIGUEZ                    CA     90004423423
B4527712555973   ROGER        OROSCO                       CA     90014687125
B452799737B489   ELLER        STINSON                      NC     90014619973
B4529344A72B62   JORGE        SEGOVIA                      CO     33081463440
B4529462254161   YANET        HERNANDEZ                    OR     90014804622
B4529532291831   LORNA        WILLIAMS                     OK     21084565322
B4529741455973   JUAN         ARJONA                       CA     90014687414
B4529883185936   JASON        STEPHENS                     KY     66085508831
B452B948454122   MICHEAL      POTTER                       OR     47013839484
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2117 of 2350


B4531186793758   CLARA        TAYLOR                       OH     90013021867
B45315A8972B69   JUAN         ALANIZ                       CO     33012205089
B45316A735B396   YOLANDA      MANZANARES                   OR     90014706073
B4532499991831   TANISHA      BLACKSHEAR                   OK     90014514999
B4532546372B62   ELAINE       CISNEROS                     CO     90007045463
B453256692B271   GERALD E     SHAW                         DC     90005745669
B453279A44B259   LARRY        ORVIL                        IA     90000607904
B45327A3972B69   CHRIS        WILTSE                       CO     90000287039
B4532A45791585   CHRISTINE    SANCHEZ                      TX     90004040457
B4533429272B62   REBECCA      CASTILLO                     CO     90015264292
B4534178727B3B   DANIELLE     GEARY                        KY     90014841787
B4534328172B62   VERONICA     LOPEZ                        CO     33016893281
B4534518191585   OSCAR        MACEDO                       TX     75084895181
B4535125A93758   ANTHONY      GORDON                       OH     90014181250
B4535614272B69   JAMES        PRIGG                        CO     90009266142
B4535634593745   STACEY       JONES                        OH     90010256345
B4535869893727   MELISSA      SUTTER                       OH     64502888698
B453656225B396   PATRICIA     ADAMS                        OR     90001215622
B45372A244126B   ROBIN        GIBSON                       PA     90009582024
B4537929872B62   JO ANN       VARGAS ESPINOZA              CO     33060749298
B4538486655972   PATRICIA     RANGEL                       CA     90011794866
B4538AA9955973   MARTIN       ISAIS                        CA     90011540099
B453994818B185   SHAWN        BROUILETTE                   UT     31087599481
B453B244833635   VICTORIA     ALAS                         NC     90011452448
B453B747155973   MARTIN       JUAREZ ALVARADO              CA     90014687471
B453B7AA793727   JAMIE        SPAGNOLI                     OH     64592957007
B453B862276B27   OCTAVIO      CHAVEZ                       CA     90013358622
B453BA19472B62   MARK         BERGNER                      CO     90002050194
B4541354693727   CARL         PERRY                        OH     64508473546
B4541873993745   STEVEN       ROZELL                       OH     64575838739
B4542981A2B93B   CHARLES      JOHNSON                      CA     90012569810
B4543128685936   DONALD       CALHOUN                      KY     66049241286
B4543259885927   SANDRA       HAMMOCK                      KY     90007222598
B4543272276B27   TERESA       PEREZ                        CA     46051112722
B4543917931639   TAMMY        YORK                         KS     90012089179
B4543937185976   DAN          POWERS                       KY     90011599371
B454414275B265   BARBARA      KATZMAN                      KY     90012251427
B4544323271929   OLGA         QUINONES                     CO     32045963232
B454457985B396   KEVIN        MCDONALD                     OR     90015595798
B454556335B32B   MICHAEL      AITCHISON                    OR     90007865633
B4545579A91831   NEANDREA     HARRIS                       OK     90011065790
B45457A2771993   MEGAN        HOUSTON                      CO     90012167027
B4545923571955   DIANA        GALLARZA                     CO     32041949235
B4545978231639   LULU         SANTILLAN                    KS     90002899782
B4546415231688   CECILIA      GALINDO                      KS     90002394152
B4546518481621   DAVID        JOHNSON                      MO     29023785184
B4546A27355972   JUAN         VILLANUEVA                   CA     90013040273
B4547689693758   AMY          SIBLEY                       OH     64578236896
B4548556776B27   BRUNO        HERNANDEZ                    CA     90004655567
B454878A271929   SAMANTHA     HART                         CO     90010307802
B45491A2433635   LEYELL       JONES                        NC     90015351024
B4549482391831   AMOUS        HERRING                      OK     90014564823
B4549559171929   KENTE        CADE                         CO     90014895591
B454957185B396   STACY        ROYSE                        OR     44513135718
B454B21A341258   MICHAEL      GREEN                        PA     90006482103
B454B282876B27   ROMY         MARTINEZ                     CA     90007412828
B454B494133635   NICHOLE      SMITH                        NC     18080184941
B454BA7272B221   LARRY        HOLT                         DC     81013340727
B454BA98155973   MONICA       LARA                         CA     48092920981
B45512A6185936   BRANDI       SOLOMON                      KY     90011292061
B4551416A31639   GUSTAVO      CARRILLO CRUZ                KS     22063754160
B4551587331639   STEPHANIE    URBAN                        KS     90013805873
B4551976872B62   DAVID        LUBBERS                      CO     90010019768
B4552814277397   WILFRED      CASTRO                       IL     90000248142
B4552A27833635   CHRISTINA    FREEMAN                      NC     90014750278
B4553417272B62   STEPHANIE    FIGUEROA                     CO     90000394172
B4553A96591831   RAYMOND      MANN                         OK     90014570965
B455435113B388   JOHN         PANDO                        CO     33059313511
B4554359855972   ALMA         RUIZ                         CA     49025823598
B4555137143589   JAKE         HUNSAKER                     UT     90009251371
B455519A991823   ALAN         COUCH                        OK     90007511909
B4555428A91585   RODOLFO      DIAZ                         TX     75045684280
B4555625893758   KRISTINE     CLAXTON                      OH     90013216258
B4555A15993745   NEWT         THORNSBURY                   OH     90011880159
B4555A96391831   SASHA        HOUSTON                      OK     90013450963
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2118 of 2350


B4556116191371   BRYAN        STOKES                       KS     90011941161
B4556342393745   STEVEN       STEINER                      OH     90007583423
B4556518972B62   CARMEN       LEDOUX                       CO     90007355189
B45569A7771929   CHRIS        RILEY                        CO     32023109077
B4557521297157   KATRINA      SCHWENK                      OR     90004715212
B4557722957183   ANNA         ANANGFACK                    VA     90001077229
B4557892791831   JASON        MINCKS                       OK     90006378927
B4557AA4155973   CRISTINA     IBARRA                       CA     48041050041
B4558A57A76B52   MIRIAM       SNYDER                       CA     90014660570
B4559226654122   KYLE         JACO                         OR     90010742266
B455923517B443   BERNETTA     LATRICE POLK                 NC     11060532351
B4559698A76B27   FIDENCIO     MARTINEZ                     CA     46017606980
B4559918785927   SANSONIA     ISON                         KY     90010319187
B4559949554122   DAWN         ELLIOTT                      OR     90014669495
B455B964672B69   SIMON        PEREZ                        CO     33069689646
B45618A745B358   LEONEL       LOMELI                       OR     90001628074
B4561A9A393752   TIMOTHY      GARRETT                      OH     64592630903
B4562245693745   DELORIS      PECK                         OH     90014152456
B4563341454122   THOMAS       WEBSTER                      OR     47076683414
B456391342B271   MARGARET     WILLIAMS                     DC     81013029134
B45639A8633635   BETH         PERRY                        NC     90014099086
B45641A7A33635   JAVIER       BERNAL                       NC     90014161070
B456422A654122   MONYETTE     DICKSON                      OR     90010102206
B456471A693727   CHESTER      ELY                          OH     64506887106
B4564786372B62   NICHOLAS     DUGARD                       CO     90009927863
B4565271985936   MARETTA      OTTER                        KY     90014152719
B45652A2793758   ELENOR       PINKARD                      OH     90014182027
B456567118B185   GARY         POWELL                       UT     31005676711
B4565837485927   TIFFANEY     WILLS                        KY     90012918374
B45658A745B358   LEONEL       LOMELI                       OR     90001628074
B456666A133635   GERMAN       GAMBOA                       NC     90013916601
B4567142785927   DEENA        ROSS                         KY     90006961427
B45672A5493727   ALICIA D     RINGLER                      OH     90003032054
B45672A8893745   FRANK        CREECH                       OH     64595872088
B4567464A55973   KANE         AGUILAR                      CA     90000514640
B456752A172B62   APRIL        BALDERSTON                   CO     33049205201
B4567634A93745   LAURA        GREGORY                      OH     90011066340
B4568366491831   RAECHELLE    JAMESON                      OK     90014583664
B45683A4872B69   LEO          PAIK                         CO     90014903048
B4568598793758   MIKE         JONES                        OH     90011705987
B4568792361987   MYKEL        TATUM                        CA     90004427923
B4569366491831   RAECHELLE    JAMESON                      OK     90014583664
B4569395193727   ANGELACA     PLEASANT                     OH     90011393951
B4569777891574   OSCAR        MATA                         TX     90010887778
B456984917B489   ANGELICA     MONROY                       SC     90006738491
B456985882B941   REBECA       MONTOYA                      CA     45010628588
B456B751133635   FABIAN       BALDERAS                     NC     90010297511
B456B8A5272B69   ALDO         GALLEGOS                     CO     90013578052
B456BA78576B52   REBECA       ALVARES                      CA     90014660785
B457126437B443   ROSA         FONTECHA                     NC     90001012643
B45715A6193758   JOHN         REESE                        OH     90013155061
B4572177871929   ENRIQUE      MARQUEZ                      CO     90015271778
B45728A7576B27   ROSAURA      GARCIA                       CA     46037298075
B4572987355973   ARMANDO      GASTELUM                     CA     48043819873
B457318565B393   JOSE         CEJA                         OR     90003221856
B4573695731639   GUSTAVO      NAVA                         KS     90013946957
B45739A8755973   CARRIE       RODRIGUEZ                    CA     48007049087
B457431784B298   CHARMAINE    WALKER                       NE     27067363178
B457484812B271   MARQUITA     CARTER                       VA     90014918481
B4574A89A76B27   JUSTINO      ORTEGA                       CA     46022000890
B4575881993745   JOHN         APPLIN                       OH     90013938819
B4575952872B62   MAURO        MUNGIA                       CO     90002609528
B4576492172B62   MARILE       SWIFT                        CO     90007354921
B45766A3655973   YOLANDA      MEJIA                        CA     90010546036
B4577188393758   SHAWN        MATTISON                     OH     90014181883
B457722232B271   MONICA       HAYES                        DC     90008622223
B45772A332B883   SUSAN        SYNDER                       ID     90011942033
B4577379691585   MINERVA      ACOSTA                       TX     90008303796
B457742A976B52   HUMBERTO     GALLEGOS                     CA     90003134209
B4577721972B62   KHALED       MOHAMED                      CO     90011377219
B4577AA5931639   BILLY        AGEE                         KS     22019570059
B4578134733635   LATOYA       CLARK                        NC     90014691347
B4578338391852   HUMBERTO     RAMIRES                      OK     21097583383
B4578496772457   COURTNEY     WINGARD                      PA     90012674967
B4578549193745   LYNETTE      KRITZWISER                   OH     64515395491
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2119 of 2350


B4578775972B53   SCOTT           REGAN                     CO     33088097759
B45799A8755973   CANDY           BUENO                     CA     90014689087
B4579A36385936   BRYAN           MCCULLEY                  KY     90014830363
B457B527285927   SANDI           RODRIGUEZ                 KY     90009215272
B4581231785936   AMY             MULLER                    KY     90014642317
B4582332A93727   BRITTANY        TANKERSLEY                OH     90012993320
B4582465972B62   DARRELL         SMITH                     CO     90014094659
B4582687554122   BRANDI          THAMA                     OR     90013616875
B458289A776B27   JULIO           VALDEZ SILVA              CA     90013358907
B4582948771929   HEATHER         WILLIAMS                  CO     90011559487
B458465617B489   ARTURO          RAMIREZ                   NC     11059666561
B458472A685936   JASON           ROBBINS                   KY     66077387206
B4584899176B27   SALOMON         GARCIA                    CA     90014858991
B4585116624B64   HENRY           FUENTES                   VA     90007981166
B4585346793752   ANGELA          BAKER                     OH     90010303467
B458578167B489   MARIA           ECHEVERRI                 NC     90006547816
B4585861691831   CORY            BIAS                      OK     90014758616
B4585929185927   DRESHAWN        TRAVIS                    KY     90014539291
B4586398A97B69   TIM             STUART                    CO     39092113980
B4586496531688   SHEILA          TODD                      KS     90005034965
B4588498654B22   DALIANA         GANDARILLAS               VA     81083144986
B45884A9293727   SHARIDA         JOHNSON                   OH     90013274092
B4589161693738   EUNICE          KERRIGAN                  OH     90012681616
B4589637772B62   JENNIFER        THOMAS                    CO     90012666377
B4589A99393758   KOBI            ONEIL                     OH     90011850993
B458B111193752   TRICIA          TANKERSLEY                OH     90013041111
B458B372541226   KING            MATULULA                  PA     51014573725
B458B82683363B   NELLY           ZARRANO                   NC     90014828268
B458BA3162B271   IVAN            CASTILLO                  DC     90000780316
B45913AA37B334   COURTNEY        CONNOR                    VA     90006493003
B4591952233635   MARICELA        NIETO                     NC     90014379522
B4591A67676B27   DAVE            CLARK                     CA     90007420676
B4592813176B27   LINDA           GRAFFIN                   CA     46081168131
B4592827376B52   BRIAUN          GROOTONK                  CA     90014668273
B4592928493745   PATRICIA        SHEPPEARD                 OH     90013939284
B4592A48185927   LAVELLA         WOFFORD                   KY     90009090481
B4593685193758   SHASTA          HAWKER                    OH     90007636851
B459389A572B69   SARA            GRANADOS                  CO     33029628905
B4594273593745   DARNELLA        THOMPSON                  OH     64528662735
B4594537391585   SOPHIA          GARCIA                    TX     90013255373
B4594939776B27   ELIZBETH LORI   GUEVARA                   CA     90010789397
B459516243148B   PHILIP          KELTON                    MO     90002471624
B459518A171929   JULIUS          PATTERSON                 CO     90013511801
B459551AA85927   ROSEATTA        COOPER                    KY     90007555100
B459561378B197   ALMA            CAMPOS                    UT     90006966137
B4595713593745   DEREK           GREEN                     OH     90008647135
B4595824955973   PEDRO           QUEZADAS                  CA     90010968249
B4595859131639   JOHN            SMITH                     KS     90015448591
B4595A41593752   TINA            JORDAN                    OH     64514070415
B4595A69685936   BERTA           PEREZ                     KY     66040830696
B4596232491585   LINE            KALEOPA                   TX     90007482324
B4596316972B69   CATHERINE       MONTGOMERY                CO     33066943169
B4597898431639   SHELLY          ALBERTSON                 KS     90009478984
B459844485B265   MARISHA         MCDANIELS                 KY     90014924448
B45985A4A2B271   TYRONE          BRADLEY                   DC     90010605040
B4598A33A33635   NATASHA         BUMPASS                   NC     90013060330
B4598A83491585   FERNANDO        DE SANTIAGO BAEZA         TX     90013770834
B459923A92B271   BROCK           DOLLY                     DC     90007812309
B459981327B489   CAMILLA         ERVIN                     NC     90010358132
B459B146857543   HUMBERTO        RODRIGUEZ                 NM     90011571468
B459B186893745   JUDITH          CRAWFORD                  OH     64505851868
B459B38A285927   WILLIAM         FRANKLING                 KY     90002013802
B459B572A61987   MICHAEL         CARRILLO                  CA     90012315720
B459B9A7655973   GONZALO         SANCHEZ                   CA     48005919076
B45B29A5831639   CLARK           GODSY                     KS     22057979058
B45B2A8A871929   JUDY            HARVEY                    CO     90012870808
B45B3339493727   ROBERT          STRINGER                  OH     64551333394
B45B3779955924   IVAN            ALVARADO                  CA     48015487799
B45B4117372B69   DESTANI         FOSTER                    CO     90013321173
B45B4482585936   NICOLE          TURNER                    KY     66004894825
B45B4A4947B443   ARKYRA          BLACKWELL                 NC     11067310494
B45B5447172B69   LORAY           HAYES                     CO     33003674471
B45B5484471929   LUCRECIA        CARDOZA                   CO     90001774844
B45B5587391585   NOHEMI          MARTINEZ                  TX     90012695873
B45B5732A8B185   MARK            LARSON                    UT     31061147320
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2120 of 2350


B45B668815B265   JELMER       VASQUEZ                      KY     68054306881
B45B6745172B62   ARACELY      VELASQUEZ                    CO     90012107451
B45B6834393752   DSHAWN       WILLIAMS                     OH     90015008343
B45B7186793758   CLARA        TAYLOR                       OH     90013021867
B45B8519776B52   PEDRO        LOPEZ                        CA     90014645197
B45B8A81991585   ROSA         RIVAS                        TX     90010820819
B45B913565B331   IRWIN        BEST                         OR     90011601356
B45B92A9293727   CARLY        BRYANT                       OH     90014662092
B45B9642685936   KAREN        HANNON                       KY     90015186426
B45B9936355973   LETICIA      CASTILLO                     CA     48096379363
B45BB3AAA93745   LEAH         REED                         OH     90013683000
B45BB459A93758   DOMINIQUE    MERINER                      OH     64556914590
B45BB522655992   TERESA       INFANTE                      CA     48016705226
B45BB722A71929   FELIPE       MANZANARES                   CO     90012897220
B45BB918493736   MICHAEL      SHY                          OH     90008869184
B45BBA23391831   BIRCH        CULLUM                       OK     90014450233
B461116145B265   VICKIE       WEST                         KY     68040951614
B4611535271929   EDUARDO      ACEVES-GARCIA                CO     32059225352
B4611687593752   SARAH        SISCO                        OH     64595586875
B4611742876B27   CRISTINA     ESTRADA                      CA     90000667428
B46136A9131639   CELINA       CANTU                        KS     22091226091
B461387965B396   REFUJIO      CRUZ                         OR     44573298796
B46153A8591592   ABLE         MONTELONGO                   TX     90011043085
B4615A36585936   STACY        PATE                         KY     66049670365
B4615A58476B52   BEATRIZ      CASTILLO                     CA     46024820584
B4615A75993745   DENA         SMITHES                      OH     90013170759
B461684398B197   ANTHONY      JOHNSTON                     UT     90002258439
B4617632324B28   REVA         PERRY                        DC     81092436323
B4617957993745   KIERSTIN     FISHER                       OH     90003789579
B4617997A5B265   ARAON        ARANDA                       KY     90011659970
B4617A51393752   TONYA        CUNNINGHAM                   OH     90014840513
B4617A97831688   MELISSA      JURADO                       KS     90001440978
B4618343593752   SARAH        JEWETT                       OH     64592953435
B46183A4571929   ANGELICA     JOHNSON                      CO     90012903045
B461853A87B489   DJ           JACKSON                      NC     90014655308
B4618733472B69   NICK         MARSHALL                     CO     90014457334
B4619199372B62   ROGELIO      MANJARREZ                    CO     33037261993
B461946958B185   JOSE         DELGADO                      UT     90003984695
B46199A4A55973   PATRICIA     SALINAS                      CA     90014689040
B461B348376B42   FRANCISCO    CORTEZ                       CA     90011503483
B461B87934B537   ROBIN        LEONARD                      OK     90011698793
B461B884854122   NORMA        CAVILEE                      OR     90013498848
B461B941591831   CYNTHIA      FIELDS                       OK     90011669415
B461BA35572B62   LINDA        ROMERO                       CO     33058160355
B461BA61797B59   EODEGARIO    GONZALES                     CO     90003480617
B46216A8693752   ADRIAN       HARRISON                     OH     90000866086
B4622149A93745   LATOYA       NESBITT                      OH     90013341490
B4622485185927   MOHAMED      DIOP                         KY     90014844851
B462268524B542   SHERESA      HOLDERBEE                    OK     90009586852
B462283214B259   JENNIFER     KLITZ                        NE     27059428321
B46234A628B185   CECILIA      LUNA                         UT     90001004062
B4623562A93752   PAUL         MASTERS                      OH     90000915620
B462385475B396   PAUL         BITTER                       OR     90013758547
B462388A472B62   MICHAEL      WOZNIAK                      CO     90010068804
B4623A1982B271   FAITH        DAVIS                        DC     90013980198
B462455557B489   JESSICA      RICE                         NC     90012915555
B4624AA7955972   NIKKI        GARCIA                       CA     90013040079
B4625248371929   ISABELLA     JONES                        CO     90007212483
B4625265661987   MIGUEL       MORROW                       CA     90006462656
B4625599555973   SYLVIA       GUTIERREZ                    CA     90002375995
B46256A592B271   PAMELA       JONES                        DC     90013216059
B4625774A76B52   CORI         DIXON                        CA     90014697740
B4625871761987   MIGUEL       MORROW                       CA     90013938717
B4625884472B69   JERRY        ARCHULETA                    CO     90010708844
B4625915785994   SHAWN        BEISLER                      KY     90010339157
B4626299361987   RITA         MONTES                       CA     90004792993
B4626847476B27   JULIA        VASQUEZZ                     CA     90013368474
B4627125551347   BYRON        MORRIS                       OH     90005591255
B46272A6891872   REBECCA      JUDD                         OK     90001612068
B4627484A5B265   KENNY        TERRY                        KY     68089814840
B4627897291585   KELLY        ACOSTA                       TX     90012978972
B4628369876B27   DANIEL       ARENA                        CA     46018543698
B4628623671929   FELISHA      JOHNSON                      CO     32072906236
B4628695285936   JON          MONDARY                      KY     90006686952
B4628991142332   KEISHA       JACKSON                      TN     90014789911
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2121 of 2350


B4629781271929   ANDREW            NELSON                  CO     90009117812
B4629848555973   FLORES            CELSA                   CA     48002568485
B462B176776B27   JOE               GAERLAN                 CA     90012741767
B463112A393745   ANDREW            SNIDER                  OH     90006451203
B4631329931639   DEANNE            MCKEE                   KS     22028343299
B4631624985927   JOHN              GLASS                   KY     90014876249
B4632A43941276   ROBERT            MIRT                    PA     90008470439
B4633276472B69   BEAUTIFUL         ONE                     CO     33027732764
B4633433693752   THOMAS            LARKIN                  OH     90010804336
B463354A17B489   LAKISHA           MAYNARD                 NC     90014655401
B4633643285927   HOLLY             HUDSON                  KY     67000106432
B4633A13176B52   SHEILA            PALACIOS                CA     90013710131
B4634223993752   JOHAUNNA          HAMPTON                 OH     64535622239
B4634283293745   LOGAN             RIGSBY                  OH     90012572832
B4634786771929   LOANA             ESPARZA                 CO     90007387867
B4634796672B69   GOLDIE MICHELLE   MOSES                   CO     90007317966
B4634917A93758   DAVID             GAINES SR               OH     90012579170
B4634A6462B271   JEROME            BAKER                   DC     81041430646
B4635875155973   FELIPE            HUATO                   CA     90014708751
B46361A3A31688   STEPHANIE         STEPHENS                KS     22005641030
B4636A68676B27   FLORIDA           LOPEZ                   CA     90010790686
B463716885B265   SCOTT             FRANKLIN                KY     90013081688
B4637267676B52   JUAN              GONZALES                CA     90000532676
B463789744B259   SHARLA            EDERINGTON              NE     90006028974
B46379A1355973   STEVE             WOJTAS                  CA     48072989013
B4638244255973   BENITO            GALINBO                 CA     48005392442
B463874965B265   DESIREE           YOUNG                   KY     90010777496
B463931614B557   GERMAN            CRUZ                    OK     90006563161
B4639354454122   DANIELLE          ELROD                   OR     90013123544
B46395AA791585   CYNTHIA           MORALEZ                 TX     90009885007
B463981927B489   LISA              CLEMENTS                NC     90012328192
B4639933731639   ESTEBAN           GRANADOS                KS     90003019337
B463B46965B265   DAVID             BROWN                   KY     68003124696
B463B599861982   KEN               ARCHER                  CA     46075765998
B463B5A4355972   KELLY             PATTERSON               CA     49080425043
B463B69A493758   ED                BARNETTE                OH     90001486904
B463B969A76B52   CLAUDIA           SUMMERSON               CA     90007829690
B4641291693745   SHAYLA            SAYLOR                  OH     90012132916
B4641327255973   BYNUM             CANDELARIA              CA     90012343272
B4641962372B69   MONICA            FORD                    CO     33054679623
B4642335A41277   JACKIE            PAGE                    PA     90005373350
B4642432193758   NATALIE           DUNSON                  OH     64501814321
B4642699285936   SHANNON           BEACH                   KY     90010166992
B4642795A93727   GOHANNA           PHILPOT                 OH     90005607950
B4643479672B69   DANIEL            FRANCO                  CO     90012604796
B4643594476B52   DANTE             LEWIS                   CA     90011135944
B4643747A93745   YOLANDA           MEDINA                  OH     90005337470
B4643A27833635   CHRISTINA         FREEMAN                 NC     90014750278
B4645217A3B357   DIAMOND           PORTER                  CO     90003062170
B4645326933635   SHARON            BALDWIN                 NC     18052953269
B4645393254122   CECILIA           AYALA                   OR     90013123932
B4645516372B69   JODY              JHONSON                 CO     90015135163
B464561425B545   CURTIS            BOWMAN                  NM     90014496142
B4645798591524   MARICELA          GUERRERO                TX     90012927985
B4646154493745   LAMAR             STEVENS                 OH     90013941544
B4646549155973   SUSAN             PEREZ                   CA     48089235491
B464687AA76B27   CARLOS            MORALES                 CA     90008798700
B464769947B489   YADIRA            ALVAREZ                 NC     90014666994
B4648451757568   JANETH            MENDOZA                 NM     90002804517
B4648475654122   MARLA             GRAY                    OR     90013954756
B4648689871929   STACY             GALVEZ                  CO     32042406898
B46493A8A5B536   PAULINA           MASON                   NM     90014253080
B4649424171929   JERICO            LOSTAUNAU               CO     32054734241
B4649661854122   JORDAN            FARRIS                  OR     90013956618
B4649936991831   CRYSTAL           RILEY                   OK     90014369369
B464B5A382B271   MINORI            WHITAKER                DC     90005005038
B464B726893752   MOSLEY            SHIRLEY                 OH     90007807268
B464B81927B489   LISA              CLEMENTS                NC     90012328192
B4651161993745   COLONEL           RAGLAND                 OH     90013941619
B4651234391585   LORENA            MARTINEZ                TX     75013842343
B46514A4985927   SARAH             CRUMBIE                 KY     90014684049
B46518A2351339   KENYA             METZ                    OH     90012568023
B46521A4885936   BRITTNAY          BLACK                   KY     90013581048
B465223285B265   MICA              HAWKINS                 KY     90012292328
B465291A12B271   SHANELL           WILLIAMS                DC     90011559101
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2122 of 2350


B4652A1377B334   CLAUDIA      PICADO                       VA     90011490137
B4653298685927   SHERYL       PETERSON                     KY     90011072986
B46532A1993745   ETHAN        COCHRAN                      OH     90013942019
B465331718B142   RYAN         BEECHER                      UT     31085143171
B4653547191585   IRENE        PEREZ                        TX     90007635471
B4653668655973   MICAELA      CARRILLO                     CA     90014466686
B4653928693752   TONYA        BURNS                        OH     90013259286
B4653A66272457   SHANICE      EILAM                        PA     90002180662
B4654212191585   ESTELA       MEDRANO                      TX     90010592121
B4654875155973   FELIPE       HUATO                        CA     90014708751
B4654928691831   ONOVELLA     TITSWORTH                    OK     90014719286
B4654A81191325   MATT         CAMMACK                      KS     90011770811
B4655257493758   SAM          CHURCH                       OH     90006592574
B4655294676B27   CLAUDIA      PEREZ                        CA     90014762946
B465535A455973   MARIA        GARCIA                       CA     48008833504
B465539348B185   LORENA       LOMELI                       UT     31026053934
B4656264154122   RACHAEL      NEUMAN                       OR     90010342641
B4656764A85936   ROBERT       KRAWIEC                      KY     90009417640
B4657349A55973   ANDREW       MOJICA                       CA     90008343490
B4657A13291831   KELLY        FAULKS                       OK     90014730132
B4658246591885   NYITTI       AVINGTON                     OK     21008982465
B4658349A55973   ANDREW       MOJICA                       CA     90008343490
B4658573731639   VALERIE      ADAMS                        KS     90013945737
B4659184891831   TABITHA      JESSIE                       OK     90014731848
B465923527B489   KARYN        ELLEBY                       NC     90008042352
B4659439493758   TAYLOR       MCCATHERINE                  OH     90014184394
B465B439493758   TAYLOR       MCCATHERINE                  OH     90014184394
B465B751591831   BIANCA       MONTOYA                      OK     90014717515
B465B823655973   REBECCA      QUINTANA                     CA     48071698236
B465BA39893727   CLORAL       CLINARD                      OH     90007650398
B4661355691831   ALTHEA       PIERCE                       OK     90014733556
B4661757333635   REINA        CASTANEDA                    NC     90008687573
B4661871454122   MATT         HINER                        OR     47042888714
B4661949991831   SASHA        EDWARD                       OK     90014769499
B4662435272457   DEREK        ALLER                        PA     90012704352
B46624A4791831   CORTEZ       ELSTON                       OK     90014734047
B466295372B888   JENIFER      DAVISON                      ID     42000169537
B466321592B271   CHAPALE      WARREN                       DC     90012842159
B46634A4791831   CORTEZ       ELSTON                       OK     90014734047
B46635AA854122   JOHN         WYSE                         OR     90014785008
B4663661277577   DAVID        BROOKS                       NV     90013886612
B466369947B489   YADIRA       ALVAREZ                      NC     90014666994
B4663861A31639   MIGUEL       TRUJILLO                     KS     90000148610
B4663A5938B185   LYNN         HONE                         UT     90007490593
B4664259391831   JOSH         FALGOUT                      OK     90008852593
B466435158B185   KIM          ROBISON                      UT     31000463515
B4664564A5B396   MARIA        LEWIS                        OR     90014585640
B4664587371929   OMAR         PEREZ MOLINA                 CO     32073875873
B4664711691585   KARLA        TARIN                        TX     90007927116
B4665452555927   MARIO        VEJAR                        CA     90011534525
B46656AAA5B165   CARLOS       MUNOZ                        AR     90013306000
B466633A376B52   DIANA        RODRIGUEZ                    CA     46053833303
B466644A15B265   MARGARET     WOOSLEY                      KY     90006744401
B4666934176B52   GEOVANNI     ORTIZ GUZMAN                 CA     90013039341
B4667131191585   NATIVIDAD    GUERRERO                     TX     90012181311
B4667284971929   EDITH        CONSAVAGE                    CO     32023162849
B4667588376B52   DOUG         ALBERT                       CA     90001565883
B4667677672B69   LEONOR       GONZALEZ                     CO     33072686776
B4667799193752   JEROME       WALKER                       OH     90014337991
B4668365655973   ALEX         ALAFA                        CA     90011073656
B4668428133635   SELENE       VALDIVIAS                    NC     90015254281
B466863A191831   BRITTNEY     AMANN                        OK     90014736301
B466911435B396   ESPERANZA    CAMACHO                      OR     90009131143
B4669563672B62   LAZARO       MENCHACA                     CO     90013875636
B46696A939286B   JENNIFER     SANDOVAL                     AZ     90014646093
B466B726555972   RAFAEL       MARTINEZ                     CA     49004437265
B466B851877977   MELISSA      MOHR                         IL     29500568518
B4671278961987   ERIKA        LOPEZ                        CA     90008662789
B4671762A33635   TESHIA       SUMMERS                      NC     90011427620
B4671A73A93727   LAKEYSHA     HUBBARD                      OH     64574730730
B4671AA218B131   TERESA       GAJEWSKI                     UT     31038050021
B467253548B185   MICHAEL      HAYS                         UT     90002585354
B4672868A93745   RONNIE       PRICE JR                     OH     64561278680
B4674479936B98   ANNA         SYRBU                        OR     90011984799
B4674692A76B27   LAUREN       LONGACRE                     CA     90011126920
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2123 of 2350


B4675199A72B69   CHRISTOPHER    MASON                      CO     90010361990
B4675618493727   MR             HARRIS                     OH     90011176184
B4675759A2B271   DONTRE         HILL                       VA     90013017590
B4675796A71929   SEAN           GROSS                      CO     90004407960
B4675841185936   CAMERON        POWELL                     KY     90009398411
B4676584772B69   ABEL           RICALDY                    CO     90004015847
B4676A6514B259   ANTHONY        MATLEY                     NE     27038630651
B46777A1A7B489   DAWNTAY        CANTY                      NC     90014667010
B4678364393745   NATE           SAMPLE                     OH     90013103643
B4678444872B69   CATHY          HANSON                     CO     33087794448
B4678948891831   CASSANDRA      COLE                       OK     90014749488
B4678A2212B945   SCOTT          GRAY                       CA     90010650221
B4679487533635   HAROLIN        GERVACIO                   NC     90011254875
B467998A633635   KIMBERLY       KERR                       NC     90015119806
B4679A31855973   SANDRA         CERVANTEZ                  CA     90014710318
B4679A7918B185   TERRY          LACRUE                     UT     31002180791
B4681237676B52   ANGELICA       RODRIGUEZ                  CA     46015182376
B468148954B259   CRISTOBALINA   VASQUEZ                    NE     90003944895
B46814A1191973   RODNEY         WILLIAMS                   NC     17017634011
B4681522731688   GOLDA          FRALIN                     KS     90008185227
B4681962976B27   JACQUELINE     SANCHEZ                    CA     90009579629
B468242755B396   CRYSTAL        MANNING                    OR     90014504275
B468293262B271   REGINALD       SMITH                      DC     90014599326
B4683265791524   CARLOS         RODRIGUEZ                  TX     75057582657
B46839A575B265   JASON          HOLT                       KY     90015149057
B4684239291831   LISA           HANSON                     OK     90014772392
B4684A31855973   SANDRA         CERVANTEZ                  CA     90014710318
B4684A98285927   NURU           LUFUNGULO                  KY     90005110982
B4685A3177B443   JUAN           ALVARADO                   NC     90003220317
B4686526A93758   REBECCA        BLAZER                     OH     90014185260
B4686569955973   ISRAEL         MELO                       CA     90014425699
B468663647B489   LAKISHA        BURNS                      NC     90014656364
B468673335B396   SCOTT          OGGERO                     OR     90013997333
B4686845172B3B   MELINDA        HERNANDEZ                  CO     33094538451
B4686851A2B271   DWIGHT         DENT                       DC     90013588510
B4686919436B98   MARISOL        SANCHEZ FFR14391           OR     90008999194
B4686958485936   CLINT          PATTON                     KY     90012599584
B4686A39776B27   LINDA          CARSON                     CA     46015230397
B4687336861937   ASHLEY         BROADBENT                  CA     90012563368
B4687365A91585   JOSE           SANCHEZ                    TX     75064023650
B4687511891831   JESSICA        DUGAN                      OK     90014775118
B468766A872B69   JEFFREY        ABRAHAM                    CO     90009446608
B4688158831639   MELODY         MOSES                      KS     22003821588
B4688457876B27   VANUSTIANO     VASQUEZ                    CA     90010084578
B4688647672B69   SHELSEA        LLOYD                      CO     90015236476
B4688736354122   MARIA          TORRES                     OR     90014157363
B4689539793758   MAIRA          PEREZ                      OH     90014185397
B468B312533635   JUAN           HUERTA                     NC     90012713125
B468B315A93745   DONOVAN        GILLIAM                    OH     90013943150
B468B63A37B489   JANETTA        GUIM                       NC     90014656303
B468B81218B133   MARILYN        PETTY                      UT     31011888121
B4691134693758   CHRIS          LONG                       OH     90009351346
B469129A33B352   WILLIAM        COOK                       CO     90012782903
B4691338691831   MICHELLE       ANDERSON                   OK     90014783386
B4691641185927   STEPHANIE      WOODS                      KY     67093656411
B4691945793783   AMY            SMYER                      OH     64591209457
B46921A6436B98   BRANDON        BRODDY                     OR     90012891064
B46926A7676B27   ANGELICA       VIDAURRI                   CA     90014326076
B469273215B265   JERMAINE       COLEMAN                    KY     90007977321
B4692778255973   CRISTINA       PALMA                      CA     90014717782
B4693879293752   SHELLY         WHITE                      OH     64509378792
B4694332585936   SHARON         DUVALL                     KY     90014533325
B4694561472B62   SYERA          DIGGINS                    CO     90010375614
B4694678391823   ANN            SAXMAN                     OK     21009566783
B469475852B265   SILVIA         YOUNG                      DC     90002427585
B46949A275B396   TIMOTHY        RAYMOND                    OR     90013939027
B46949A5472B69   JOEL           VILLASANA                  CO     33022689054
B4695359A93752   MEGHAN         MEFFORD                    OH     90008663590
B4695A31354122   AMY            DECHELLIS                  OR     90013160313
B4695A31872429   MEGAN          RICE                       PA     90013470318
B4696467991831   AMBER          CLEVELAND                  OK     90007064679
B469663A693727   LACHELLE       PHILPOT                    OH     90007906306
B469672A17B493   CHRISHAWNA     HAMMOND                    NC     90013997201
B4697458372B62   BLANCA         BLANFORD                   CO     90010344583
B4697582291874   TRESSA         DOWDY                      OK     90004745822
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2124 of 2350


B4697977676B52   RUFINA       SOLANO HERNADEZ              CA     90013179776
B4698365891831   REBECCA      SMELSER                      OK     90014793658
B4698453693727   CRYSTAL      HEFLIN                       OH     90001824536
B4698818355973   MAISABEL     ANALCO                       CA     90014718183
B469895625B265   JENNIFER     QUIRE                        KY     68096259562
B469921472B271   JOHNNY       HACKETT                      DC     81030562147
B4699414171929   LEO          ESELY                        CO     32035494141
B4699724461987   ARIEL        FREANER                      CA     90004437244
B4699913155972   LOURDES      GOMEZ                        CA     90008899131
B469B73848B185   CELINA       CALVILLO                     UT     90006527384
B469B998976B52   NATALIE      STANLEY                      CA     90014699989
B46B1284991831   AUDREANNA    SWART                        OK     90014642849
B46B1839571929   GRETA        BRUAN                        CO     90009918395
B46B223282B271   ANGELA       BOLDEN                       DC     90005982328
B46B238415B561   TONYE        BIAGA                        NM     90009553841
B46B2584A54122   BRYAN        NISLER                       OR     90002965840
B46B417597B489   KINDORIA     BURWELL                      NC     90008041759
B46B5157461921   EDWARD       MUNOZ                        CA     46071141574
B46B51A7493745   FEATHER      PARKS                        OH     90010991074
B46B5433572B94   GLORIA       AVILA                        CO     33006644335
B46B5444471929   SCOTT        ROME                         CO     90013414444
B46B62A292B271   JOYCINNA     GRAVES                       DC     90000782029
B46B7245433635   DANIEL       GOMEZ                        NC     90014162454
B46B7351272B69   LOYDA        CAMACHO                      CO     90012273512
B46B7517891585   HERNANDEZ    MIGUEL                       TX     90012995178
B46B8394A93727   LATRICIA     BASS                         OH     64580183940
B46B8A8A933635   ROBERT       BAYS                         NC     90012060809
B46B979A44B259   LARRY        ORVIL                        IA     90000607904
B46B981A355973   CARMEN       JONES                        CA     90010548103
B46B9882531639   DESTA        ABRAHA                       KS     90008178825
B46BB27A27B387   EVA          RIVERA                       VA     90013112702
B46BB378A85927   JERMOL       SIMMONS                      KY     90012523780
B46BB53815B396   DEBORAH      TRAVIS                       OR     90015325381
B46BB921555994   ALFREDO      ZARATE                       CA     49084469215
B46BB955172B27   WILLIAM      JACKSON                      CO     90012919551
B4711183977397   WILMON       MONMAN                       IL     90001601839
B4711598A55973   ANDRES       OCHOA                        CA     90003895980
B47115A2554122   JOHN         FAVOR                        OR     90001725025
B4711653931639   DANA         BRUNER                       KS     22053966539
B471182224B225   SHAYLA       KARNISH                      NE     27090448222
B4711913684353   EVODIO       HAYA                         SC     90005109136
B471194897B484   SCHAMONA     LEWIS                        NC     11082939489
B471254A176B52   MARIA        GAMEZ                        CA     46062795401
B4712729272B62   TRISH        BALLHAGEN                    CO     33056707292
B4713955955973   ASUSENA      HABA                         CA     90014719559
B4714545593743   KASIE M      KIRBY                        OH     66017005455
B471455828B185   SCOTT        HAYNES                       UT     31061185582
B471456145B396   ROBERT       TOTH                         OR     90014575614
B4714639991831   CHEREE       MONDAINE                     OK     90012416399
B4714A29755973   ESTEBAN      VARGAS                       CA     48095860297
B4715178393736   TRAVIS       SHARP                        OH     90003791783
B4715313493752   BOBBY        MORGAN                       OH     64522513134
B4715386876B27   JAVIER       GARCIA                       CA     90011593868
B47157A337B489   JAVIER       SANTOS                       NC     90014667033
B4716187391563   JOSE         RIVERA                       TX     90007821873
B471618A276B27   JACQUELINE   DENMARK                      CA     46073281802
B4716562922963   JOSE         SANCHEZ                      GA     90015145629
B471731428B185   DANIEL       POPE                         UT     90010103142
B4717458372B69   CRUZ         GARCIA                       CO     90000454583
B471758A954122   BRITTAIN     BOWLING                      OR     90010955809
B4718132381651   SAMUEL       LOPEZ                        MO     90011691323
B471864A193758   TYLER        SOUTHERLAND                  OH     90014186401
B4718744876B27   CHERYLE      J MCIVER                     CA     90013457448
B4718913631639   WILLIAM      MITCHELL                     KS     22004799136
B471917A276B27   DELANDA      CLARK                        CA     46050471702
B471927285B265   DENISE       BELL                         KY     90014172728
B4719712871929   NICOLE       BLEVINS                      CO     90012457128
B471B68815B265   JELMER       VASQUEZ                      KY     68054306881
B4721222385927   EDUARDO      RODRIGES                     KY     90012852223
B4721793972B69   AQUILINA     IBANEZ                       CO     33028827939
B4722141A72B69   BRANDON      BASAURA                      CO     90013761410
B4722259A93752   NICOLE       ROYALTY                      OH     90010772590
B4722435933635   TANEESHA     MIDDLETON                    NC     90014034359
B472266537B439   ELIDA        ROMERO                       NC     90008326653
B4722836171929   WILLIAM      WARNER                       CO     90014488361
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2125 of 2350


B47231A7533635   LAVITA        LEE                         NC     90014701075
B47236A3772B62   VERONICA      OLVERA                      CO     33036486037
B4723937791831   WYATT         LOONEY                      OK     90014869377
B472411914B552   JOHNATHAN     BROOKLEYN                   OK     90001561191
B4724476393727   VERONICA      CAMP                        OH     90013084763
B472461A171929   SAMUEL        ROGERS                      CO     90015126101
B472551599286B   OSCAR         HERNANDEZ                   AZ     90014505159
B4726156293758   ANGEIA        CURTIS                      OH     90002571562
B4726247791585   SUSAN         OLIVAS                      TX     75038692477
B4726286393745   JULIE         POWELL                      OH     90012712863
B4726339A72B69   YESSENIA      ARTEAGA                     CO     90011993390
B4726739191831   JULIE         ROBINSON                    OK     21016697391
B472683145B265   MARICIO       HAMMON                      KY     90014538314
B4727554291831   BRITTANY      WALLINGTON                  OK     90014875542
B4727847554122   TEDDY         TETZLAFF                    OR     90014338475
B472845427B661   JOEDAVE       ROBERSON                    GA     15012964542
B4729181772B62   DANIELEDGAR   CARBAJALEDGAR               CO     90008021817
B472941A872B69   BUFFORD       RICKEY                      CO     90014804108
B4729515555973   ANNA          GARCIA                      CA     48016965155
B472B229793758   FIONA         DAVIS                       OH     90008132297
B472B3A4854122   CALUB         SHOULDERS                   OR     47035963048
B472B646A33635   RONDO         NAEL                        NC     90002346460
B4731438A36B98   TIMOTHY       RUSH                        OR     90010984380
B4731627191585   NICANDRO      MIJAREZ                     TX     75084906271
B473181AA42332   VONGOREE      COONROD                     TN     90003578100
B4732366654122   SUZANNE       JERABEK                     OR     90014743666
B4732623991585   LINDA         GREGORY                     NM     75087226239
B4732895A91831   MELISSA       OSBORN                      OK     90014878950
B4733134A85927   CARLOS        ARANDA                      KY     90002051340
B4733639A91585   ROQUE         NUVIA                       TX     90011366390
B4733823571929   CINDY         KUHN                        CO     90015208235
B4733926A91831   AMBER         MORTON                      OK     90014879260
B4733A8115B396   SHANE         BOWLAND                     OR     44538540811
B4734151771929   CHEYANNE      WILEY                       CO     90013021517
B473416327B489   GILBERTO      HERNANDEZ                   NC     11058101632
B473433A27752B   KATHRYN       MARTIN                      NV     90015243302
B473443A172B69   BRENDA        AGUALLO                     CO     33029634301
B47345A9455973   TERI          TAYLOR                      CA     90006785094
B473557A442332   PAYGO         IVR ACTIVATION              TN     90014895704
B4735A33154122   VICTORIA      SMITH                       OR     47024200331
B47361A4372B69   VANCE         GARNER                      CO     33039021043
B4736349876B52   LUIS          CHAVEZ VASQUEZ              CA     46065033498
B4736445197B29   JANET         ALLERHEILIGEN               CO     90011654451
B473647312B271   CAMARYN       CHICHESTER                  DC     90002754731
B4736968455973   ROSA          PEREZ                       CA     90010559684
B47369A5793745   JESSICA       LONG                        OH     90011209057
B4738294A5B265   TANISHA       JOHNSON                     KY     68030852940
B473876647B489   DONNICA       ROYCE                       NC     90014657664
B4738A1AA31639   GARY          COX                         KS     22066940100
B4739286736B72   RAFAEL        MERINO                      WA     90015412867
B4739367385927   MIKE          BUFFINGTON                  KY     90008993673
B4739547785936   ERICA         WHITE                       KY     90010685477
B4739873193758   ISAAC         FLOYD                       OH     90004548731
B4739A54676B27   VALENTINO     LOPEZ                       CA     90002300546
B473B695691872   KEITH         WILLIAMS                    OK     90007506956
B473B727872B69   MANUEL        HERRERA                     CO     90013007278
B473B941593752   ALEX          CAMPBELL                    OH     90000649415
B473B9A4431639   MISTY         BIAS                        KS     90013949044
B4741448333635   JOHNNIE       JORDAN                      NC     90008254483
B4741565A81655   DEBRA         SMITH                       MO     90014585650
B47415A8491592   EDUARDO       OCON                        TX     75018245084
B4743253A93758   SUSAN         WILLIAMS                    OH     64557102530
B4743275493745   DANIELLE      WRIGHT                      OH     90011452754
B4743539955979   DANNY         CONTRERAS                   CA     49015945399
B4743975777363   HILDA         FIGUEROA                    IL     90015349757
B474399A693783   ANGEL         BLOCKER                     OH     90007259906
B4743A29485927   ASH           JOHNSON                     KY     90012650294
B4744137936B98   SHAILA        LOZANO                      OR     90000841379
B474443665B265   LESTER        LATOYA                      KY     90008084366
B47445A8455973   YOLANDA       STOCKTON                    CA     48036995084
B4744693985927   MANUEL        ESPINOZA                    KY     90007556939
B4745131393758   SHAWN         MABRY                       OH     90000471313
B4745285871929   SABRINA       NEU                         CO     90010852858
B4745332A85927   JIMMIE        MASON                       KY     67098503320
B4745465593727   TANA          STEWART                     OH     90013824655
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2126 of 2350


B4745586285936   YAQUEZE      MARTIN                       KY     90008055862
B4746876193745   SHANNON      ASHLEY                       OH     90013948761
B474715262B93B   IRMA         AYON                         CA     90012651526
B4747859955973   MELISSA      RENTERIA                     CA     90015088599
B4747911291585   MARIA        VASGUEZ                      TX     75041469112
B47482A337B421   SABINO       SANTANA                      NC     90009602033
B4748358A91585   LUIS         ESQUIVEL                     TX     75087053580
B4748742154122   MADELINE     STUBBS                       OR     47083177421
B47487A9893745   DAVID        WELLS                        OH     64571217098
B4748A42633635   RICKY        THOMPSON                     NC     90015110426
B4749486871929   JUSTIN       JONES                        CO     90015034868
B474979A37B489   FRANCISCO    TIMAS                        NC     90014657903
B474B64935B396   JEROMY       MCFADDEN                     OR     90014876493
B474B667A76B27   SAMANTHA     RINCON                       CA     46064326670
B47511A8855973   JAIR         VILLALOBOS                   CA     90014721088
B475223225B396   JAMES        ABBOTT                       OR     44529902322
B47531A5355972   MATT         BLANCO                       CA     90013161053
B4753222291585   ADRIANA      CORONA                       TX     90013292222
B47536A187B489   VICTOR       ZELAYA                       NC     90013946018
B4753967976B27   JOSE LUIS    AGUILAR                      CA     46086709679
B4754357971929   ANNA         CHIPLLETTI                   CO     32076853579
B475485812B271   ANDRETTE     LEE                          DC     81054998581
B4755386324B64   GREGORY      HEAD                         DC     90014883863
B475567753B396   GARCIA       CAMI                         CO     90012146775
B475567A35B396   MANRIQUE     RAMIREZ                      OR     90008166703
B4755947A7B489   DANIEL       GARCIA                       NC     11060539470
B4756793A76B27   GUADALUPE    DOMINGUEZ                    CA     46017157930
B47573A2773272   MARIA        GARRIDO                      NJ     90014183027
B475775A16192B   SUSAN        WYATT                        CA     46089687501
B475785AA72B69   ANTHONY      BISESTO JR                   CO     33049588500
B4758158A7B489   JOSE         SALINAS                      NC     90002731580
B4758183461924   FRANK        AGTANG                       CA     90010811834
B4758362A7B443   ANTHONY      BENTON                       NC     90011483620
B4758A13998B23   JAZMIN       RAMIREZ E                    NC     90008180139
B4758A54391585   RUBY         RAMIREZ                      TX     90012050543
B4759411751324   CONNIE       JONES                        OH     90012454117
B475B18315B265   RUBEN        ORDONEZ                      KY     90013871831
B475B1A8855973   JAIR         VILLALOBOS                   CA     90014721088
B475B473671932   CHRISTINA    CONTRERAS                    CO     90013294736
B475B738876B52   SHANE        GREENE                       CA     90014737388
B475B75915B265   BEATRICE     MAYES                        KY     90007917591
B476136968B32B   ALEXIS       NOYOLA                       SC     90014793696
B4761376891831   CREE         ROBINSON                     OK     90014943768
B4761641272B62   STEVE        COLWELL                      CO     90013396412
B47616AA972B62   STEVE        COLWELL                      CO     90013496009
B476171672B271   ALIMAMY      TURAY                        DC     81008477167
B476179325B265   LUCRETIA     REEDER                       KY     90013657932
B476228A291831   GEORGE       SMITH                        OK     21089692802
B4762331171929   BALDOMERO    PARRA                        CO     32007783311
B4762992476B52   MARIA        NIETO                        CA     90012939924
B476353417B489   PAMELA       MCPHAUL                      NC     11006595341
B4763991472B62   RAYMONE      LEE                          CO     33013059914
B4764252255973   MICHEAL      PEREZ                        CA     48014832522
B476446A85B544   ANTHONY      BAZAN                        NM     90000714608
B4764675993727   RACHEAL      HILL                         OH     64579326759
B4764A54A71929   JAMES        TEEJAN                       CO     90010000540
B4765191385936   JEREMIAH     AUSTIN                       KY     90013571913
B4766155172B62   CARLY        MCQUISTON                    CO     33090221551
B4766173255973   SARA         GAONA                        CA     90014721732
B4766328531639   KEYA         PEARSON                      KS     90009403285
B4766895554122   KEVIN        COOLEY                       OR     90014168955
B476691838B833   MARGINA      RUBEN                        HI     90014589183
B4766A3715B265   LOUIS        THOMPSON                     KY     90015230371
B4766A85185936   MELISS       WATTS                        KY     90005880851
B4767255272B69   AMALIA       SALAS                        CO     33013582552
B4767338231639   MARIA        FELISIANO                    KS     90014973382
B476746145B396   DAN          JARRETT                      OR     90014504614
B4767763476B52   YADIRA       PIEDRA                       CA     90014737634
B4767A8795B396   DAN          JARRETT                      OR     90015190879
B4768129255973   LURDES       AGUILERA                     CA     90014671292
B4768941493745   MARIE        GANO                         OH     90013949414
B4769937831639   KEVIN        GODSEY                       KS     90013949378
B476B645772B62   RICHARD      SANCHEZ                      CO     33003126457
B476B91A685927   DARLENE      MOHAMMAD                     KY     90010239106
B476B965255973   IVETTE       NAVARRO                      CA     90014539652
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2127 of 2350


B476B981791585   ARTHUR        CRAWFORD                    TX     90009739817
B4771421793745   ROBERT        NICKELS                     OH     90009724217
B4771762733635   JACQUELINE    PRICE                       NC     90004537627
B4771A19993758   ANNA          DORN                        OH     90014350199
B477238A272B62   DEANNA        DIVINO                      CO     33044933802
B477242A65B265   LARA          HIBBS                       KY     68059174206
B4773339654122   LEANNA        DUNBAR                      OR     90013433396
B4773558293752   VALERIE       BROWN                       OH     64527895582
B4775434185936   HOPE          OSBORNE                     KY     66001264341
B47759A9131639   ERIKA         QUINTANILLA                 KS     90012619091
B4776334572B69   ASENCION      DE LOS SANTOS               CO     33092273345
B4776599A93752   DARELL        WILLIS                      OH     90012255990
B477666345B396   JUAN          MENDIOLA                    OR     44576106634
B4776A2812B271   LAKESHA       STEWART                     DC     90005500281
B477736399132B   MOHAMMED      MAHMOOD                     KS     29029453639
B4777485572B69   SHIRLEY       THOMAS                      CO     90006024855
B4777563872B62   DAVID         ALVARADO                    CO     90011135638
B4777A37A7246B   STEFANIE      HENRY                       PA     90012540370
B4778216855973   RUBEN         ALEMAN                      CA     90014722168
B4778842A4B259   KATHRYN       PASEKA                      NE     27006128420
B477891397B489   SHMIKA        TAYLOR                      NC     90014659139
B47793A1321755   ISAEL         VAZQUEZ                     IL     90015373013
B4779481972B69   SHAMEL        JEFFERSON                   CO     90012604819
B47795A3372B62   ANGELIQUE B   REVOAL                      CO     90012255033
B47796A7597B69   TREVOR        CARLSON                     CO     90003666075
B477B383691585   GUADALUPE     FAVELA                      TX     90012143836
B477B3A4185936   FELIX         MARTINES                    KY     90007083041
B477BA7612B271   ARTURO        ASPNCIO                     VA     90015120761
B4781127393727   ETHEL         MCGHEE                      OH     90004971273
B478115647B489   TAMARA        BRIGHT                      NC     90013951564
B47815AA25B396   RICHARD       SICKLES                     OR     90013005002
B4781729672B62   MERCEDES      TRAVICK                     CO     90011377296
B4781745771929   MARCUS        MARTINEZ                    CO     90013007457
B4782251457133   LIANA         SORTO                       VA     90008672514
B478234452B271   JUAWANA       HARRIS                      DC     90014623445
B47824A3791585   DIANA         DURAN                       TX     90014354037
B4782878793752   BEVERLY       NEWPORT                     OH     64500498787
B4782918485936   MORGAN        UNDERWOOD                   KY     90011839184
B4783546554122   NATHAN        STEPHENSON                  OR     90007975465
B4784116993745   RAYNESCHA     RHODES                      OH     90012021169
B4784645276B52   WALTER        BALTAZAR                    CA     90003236452
B478467A84B259   MARCELINO     BARAJAS                     NE     90007236708
B478476677B429   CHRISTOPHE    MCCAULLEY                   NC     90000807667
B4784851391585   GUADALUPE     CASTAÑEDA                   TX     75004098513
B478548212242B   ALEJANDRA     DOMINGUEZ                   IL     20523894821
B4785876191585   LAURA         INFANTE                     TX     75096448761
B4786252185927   ANGELA        RICHARDSON                  KY     67002262521
B4786282593758   HARRY         NEWCOMER                    OH     90005102825
B4786478272B62   AMY           BAKER                       CO     90000164782
B4786595472B69   GLORIA        RODRIGUEZ                   CO     33031705954
B4787425893727   ANGELA        WHITE                       OH     64577774258
B478759A272B62   MICHAEL       PENA                        CO     90013295902
B47879A4A33635   RALPH         KESSLER                     NC     90014559040
B47879AA95B555   ALMA          CANO                        NM     90003709009
B4788628885927   JOYCE         GRAY                        KY     90001126288
B4788845231639   RANDALL       TIDWELL                     KS     90004928452
B4788A37276B52   GUILLERMO     LEON                        CA     90008190372
B478916A65B265   CARMENCITA    RHODES                      KY     68022471606
B4789242291585   DALIA         ELIAS                       TX     90000412422
B478932A52B271   DEMARIS       LOWERY                      DC     81013603205
B478951A791585   DALIA         ELIAS                       TX     90013885107
B4789584654122   BASILA        RUIZ                        OR     47035135846
B478B39477B489   DEREK         CARTER                      NC     90011303947
B478B5A5976B52   DESTRY        SCACCI                      CA     90014765059
B478BA17493745   JOSH          ELLIOTT                     OH     90013950174
B4791161372B69   DANIEL        ROSSOW                      CO     90012951613
B4791241191585   OSCAR         CAMPUSANO                   TX     90007782411
B4791243655973   ASHLEY        TRAVIS                      CA     90011372436
B4791A67654122   DESTINEE      HALTER                      OR     90000720676
B4792276476B52   ANTONIO       ZACARIAS                    CA     90006722764
B4792288455973   JORGE         LIMA                        CA     90014722884
B4792431571929   ROBERTO       RASCON                      CO     90008984315
B4792447193745   NORMA         PENCE                       OH     90012104471
B4792534993745   TIFFANY       BUSTOS                      OH     64595055349
B4792624493752   JESSICA       SPEARS                      OH     90013856244
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2128 of 2350


B4793252591831   TERRY               CANTRELL              OK     90015032525
B479378A47B443   BAYE                DIAKHATE              NC     11078947804
B4793848576B27   FLORIBERTA          BELASQUEZ             CA     90003928485
B4793889133635   KATHERYN            HARAGA                NC     18062518891
B4794293993745   STACIE              TRAVIS                OH     64518262939
B4794399555973   LEANARD             HUGHES                CA     90010563995
B4794534176B27   LINDA               INDA                  CA     90012805341
B4795116991585   SAENZZ              MONICA                TX     90010241169
B4795529391563   RODOLFO             MELENDEZ              TX     90002685293
B479621A331688   RAYMOND             KIMBLE                KS     22002102103
B479637778B192   ANTHONY             LAUB                  UT     31033333777
B47963A8533634   JACQUELINE          JOHNSON               NC     12006273085
B4796591676B52   MARIA DEL ROSARIO   MAGALLON              CA     90014765916
B4797528536B98   JASON               NEIKES                OR     90012955285
B479787A272B69   PAUL                HAYWARD               CO     90011688702
B479828A785936   SHERRY              PITTS                 KY     90014862807
B47983A5572B62   MARTIN              GONZALEZ              CO     90013383055
B4798795855973   MIGUEL              GARCIA                CA     48081107958
B4799318131639   JUAN                AGUILERA              KS     90013923181
B479936915B265   ISIDRO              VALLE                 KY     90012673691
B479983482B271   DAMEKA              CARPENTER             DC     90011458348
B479B243655973   ASHLEY              TRAVIS                CA     90011372436
B47B1195172B62   SHELINA             DELGADO               CO     33021911951
B47B1581291831   SHONDA              JACKSON               OK     90014805812
B47B17A127B489   TABITHA             OLOFSSON              NC     90014657012
B47B19A8293745   PERA                BUSH                  OH     64585719082
B47B211A171929   TOMAS               NADAL                 CO     90007161101
B47B223387B489   YENSI               RAMOS                 NC     11086762338
B47B2598133635   BRIAN               VINCENT               NC     90013875981
B47B2862593727   KARL                COSPY                 OH     90013258625
B47B3214576B52   KAREN               MCINTIRE              CA     90009562145
B47B33AAA93752   JEFF                HUNT                  OH     64583233000
B47B355624B542   RICKY               DYER                  OK     90009005562
B47B3597893745   SOPHIA              OWENS                 OH     90013865978
B47B3636376B27   ASHLEY              CAVERO                CA     90012726363
B47B366754B259   RACHAEL             ZELENY                NE     27010716675
B47B41A295B265   RICHARD             SEVERSON              KY     68010801029
B47B4221385927   JESUS               PEREZ                 KY     90013582213
B47B43A5A91896   JEFFREY             SMITH                 OK     90014633050
B47B482945B396   NICOLE              FRANZEN               OR     90002708294
B47B4A19371932   WANDA               VIGIL                 CO     90011140193
B47B55A2554122   JOHN                FAVOR                 OR     90001725025
B47B595578B185   CODY                ELLIOTT               UT     90010209557
B47B6197471929   ROBERTO             BARGAS                CO     90010021974
B47B6375576B27   DIANA               GARCIA                CA     90011593755
B47B6642972B84   JOSEPH              SCHOLZ                CO     33001976429
B47B7643655973   DUSTIN              LEWIS                 CA     48021626436
B47B771815B396   JESSICA             MURRAY                OR     90011907181
B47B7819876B52   GREGORY             SCHNIEIDER            CA     90012888198
B47B83A8655973   ALICIA              ZARAGOZA              CA     48088853086
B47B8578791585   ANA                 PEREZ                 TX     90013385787
B47B897912B271   SHAWNA              SMITH                 DC     90009359791
B47B991A95B265   TOM                 GOODMAN               KY     90012409109
B47BBA2812B271   LAKESHA             STEWART               DC     90005500281
B481224A62B22B   TANYA               MOORE                 DC     90012702406
B4812389A2B252   JOSEA               HICKS                 DC     90008473890
B4812399172B69   SANJUANA            RODRIGUEZ             CO     33043423991
B4812591755973   ALEXIS              TORRES                CA     90013885917
B481276A95B265   NANO                MOVSISYAN             KY     90013977609
B4813366A76B52   TIM                 MAZON                 CA     90013233660
B4813813391831   DESHAUN             REED                  OK     90015088133
B4814151176B27   JOSE                SANCHEZ               CA     90014731511
B4814813176B27   LINDA               GRAFFIN               CA     46081168131
B4814A13955973   AMANDA              CLARK                 CA     48088090139
B4815148733635   DONNA               BUTLER                NC     90015361487
B4816187955972   JOHN                HERNANDEZ             CA     90011801879
B4816189461825   JOHNATHAN           TURNER                MO     90000341894
B4816389593752   JOCEL               COCHRAN               OH     90013713895
B4817813A5B396   NOAH                AGUILAA               OR     90000468130
B4817A38A3146B   JAMES               SARROLL               MO     90008060380
B4818472131688   JEREMY              CULVER                KS     22026424721
B481861414B259   BOURAIMA            LASSISSI              NE     27045496141
B4818684254122   DAVID               GASPARD               OR     90014186842
B4818913472B22   LARISA              LORY                  CO     90004499134
B4819535691835   MAKEA               WILLIAMS              OK     90012945356
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2129 of 2350


B4819867691585   BARBARA       SPANGLER                    TX     90009428676
B4819999984353   FREDERICA     BROWN                       SC     90008809999
B481B226A31688   ROBERT        ISBELL                      KS     22078522260
B481B591755973   ALEXIS        TORRES                      CA     90013885917
B481BA8275B396   JOAN          FINHOLT                     OR     90012620827
B4821371672B69   SANTIAGO      VALENTINO                   CO     90012223716
B482153625B349   MARIA         MANGIAMELLI                 OR     90010085362
B4821594691585   CHRISTIAN     ILLAN                       TX     90013315946
B48215A2985927   LADELL        BOGGS                       KY     90011545029
B4821685A7752B   MELISSA       KERSEY                      NV     90008376850
B48219A2376B27   MARK          MCCAFFERY                   CA     46065339023
B4822395876B27   CHRIS         SONNEY                      CA     46003913958
B482262915B396   CHASE         HURT                        OR     44501316291
B4822696485927   MELISSA       SHARP                       KY     90013866964
B482284AA93745   NATISHA       HOLDER                      OH     64577838400
B4822992971932   AMANDA        DEHERRERA                   CO     90011789929
B4823386A5B396   BENJAMIN      GALLENTINE                  OR     90014333860
B4823819293752   REEDI         ALLEN                       OH     64574548192
B4823992971932   AMANDA        DEHERRERA                   CO     90011789929
B482437A45B396   SERGIO        ALVAREZ                     OR     90003143704
B4825594793752   JUSTIN        HOWARD                      OH     90005155947
B4825673793727   CYNTHIA       COLLINS                     OH     90013766737
B4825873A76B27   ALBERTO       REYES                       CA     46056728730
B482592A57B443   ALTON         PEQUES                      NC     11073509205
B4826722733635   JOHNNIE       JORDAN                      NC     90013937227
B4826825993752   DEBRA         RIVERA                      OH     90010948259
B482688337B443   EDUARDO       LOPEZ                       NC     11010038833
B4826A29972B62   URBANO        FLORES                      CO     33032720299
B4827352293727   TONEE         DELELLIS                    OH     90013533522
B4827368255925   FRANCISCO     RAMIREZ                     CA     90011523682
B4827413A93745   PAUL          CAUGHMAN                    OH     90015174130
B4828987A93752   CRYSTAL       MILLER                      OH     90011059870
B4829461555972   ELIORDRO      DELAO                       CA     90011554615
B4829556771929   SELENE        INCLAN                      CO     32009565567
B4829788185936   HOUSSEYNE     YURO                        KY     90014767881
B482B47784B576   PAULETTAJO    HOFFMAN                     OK     90009994778
B482B513191585   MIGUEL        ORTIZ                       TX     90011595131
B482B91342B271   MARGARET      WILLIAMS                    DC     81013029134
B482B91545B541   RIGOBERTO     GONZALEZ CHAVEZ             NM     90005599154
B4831252391554   VICTOR        MELENDEZ                    TX     90008072523
B4831382154122   LINDSEY       EARP                        OR     90001113821
B4831651555992   SANTOS        BARAJAS                     CA     90000336515
B4831821293752   KADISHA       DAVIS                       OH     90005328212
B4831997955972   JESSICA       COHETERO                    CA     90013049979
B483215515B545   RAEANNA       RAMIREZ                     NM     90006211551
B4832231471929   ARA           SMITH                       CO     32085332314
B4832518131639   CAMERON       CLAYTON                     KS     22066255181
B483268535B396   WENONA        KIMBRO                      OR     90013656853
B4833183A72B62   KRISTI        BISHOP                      CO     90010281830
B4833398685927   PAMELA        DARLY                       KY     90013873986
B483371947B489   ANNIE         WILLIAMS                    NC     11068507194
B4834118693727   CHRISTOPHER   CHURCH                      OH     90013721186
B4834627855973   JULIO         PALACIOS                    CA     90014736278
B4834A87276B52   MARIA         NAVARRO                     CA     90014100872
B4835868193727   ASHLEY        HOWARD                      OH     90001648681
B4835A13191831   TRICIA        PARKER                      OK     90013630131
B4836613493745   ABRAM         BRESLIN                     OH     90012136134
B4836775393752   LOGAN         SCARBERRY                   OH     90012437753
B483682992B886   RICKY         MURPHY                      ID     90015308299
B4837235491831   IRMA          CASTRO                      OK     90015132354
B483734A191585   PABLO         SIMENTA                     TX     90001623401
B4837554576B27   AMY           LECHER                      CA     90014825545
B483781385B396   JOHNNY        HOANG                       OR     90002708138
B4837A82955973   MAX           GRACIA                      CA     90014200829
B4838836193745   ANTHONY       SINGMON                     OH     64514888361
B4838879793727   JESSICA       GRASSAN                     OH     90011068797
B4838A48576B27   GABRIELA      MULATA                      CA     46005160485
B4839437991831   ANTOINETTE    DAVIS                       OK     90015134379
B4839817193745   PATRICIA      CLARK                       OH     64512308171
B483B248255973   VASQUEZ       LOGAN                       CA     90010162482
B483B32A993745   JEFFERSON     DAVIS                       OH     90012553209
B4841493391831   KENRIC        MCFRAZIER                   OK     90015134933
B4841547A55973   SAMUEL        MANSKER                     CA     48041775470
B484159438B139   BRANDON       READ                        UT     31077515943
B4841AAA393758   CINDY         TIGG                        OH     64572980003
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2130 of 2350


B4842138255973   HECTOR        FELIX                       CA     90012421382
B4842167954122   JAMIE         POWERS                      OR     47096971679
B4842236985927   MELISSA       HALL                        KY     67098782369
B484318382B283   RONIKA        RANSFORD                    DC     90013291838
B4843467461987   CARLOS        CEBALLOS                    CA     90010194674
B484389A772B69   RAE           GONZALEZ                    CO     33067698907
B4844A48455973   LORRAINE      SAMUELS                     CA     48082190484
B4845137455973   SALLY         RIOS                        CA     90014741374
B484572A171929   DAVID         HANCOCK                     CO     90004257201
B48459A4255972   DIAZ          RAMIREZ                     CA     90012859042
B484615A755972   JESSICA       FIGUEROA                    CA     90007411507
B4846172655973   MARTHA        HERNANDEZ                   CA     90011541726
B4846831191831   JASMINE       SWANSON                     OK     90015168311
B4847137455973   SALLY         RIOS                        CA     90014741374
B4847152A72B69   BERNADETTE    FIELDS                      CO     90002281520
B4847228654122   STEPHANIE     BUTLER                      OR     90009022286
B4847298685927   SHERYL        PETERSON                    KY     90011072986
B4847916993752   WALTER        THOMAS                      OH     90014799169
B4848343355973   ANTHONY       AREVALO                     CA     90005703433
B4848395172B69   KRISTEN       J ELLIS                     CO     90011983951
B4848579491831   WENDY         PENNEY                      OK     90011115794
B4848962855927   MANUEL        GONZALEZ                    CA     90013629628
B4849488491973   REGINA        WILLIAMS                    NC     17017354884
B484951815B396   MICHEAL       BRAMBORA                    OR     90005835181
B4849579491831   WENDY         PENNEY                      OK     90011115794
B48496A1185927   BILL          UNSELD                      KY     67037326011
B485112A131688   MICHAEL       VERSNEL                     KS     22062121201
B4851563872B62   DAVID         ALVARADO                    CO     90011135638
B485174992B271   THOMAS        HACKERSON                   DC     90011407499
B485186A285927   DEVIN         SLONE                       KY     90014308602
B485226A451339   LAURA         KUCHERA                     OH     90013652604
B4852391976B27   SILVIA        ACOSTA                      CA     90010773919
B4852734576B27   NIOME         DALEY                       CA     90009147345
B485379A991585   ELADIA        ORTIZ                       TX     75094897909
B485386A993752   SEAN          MULLINS                     OH     64550738609
B4854488191585   MAGDALENA     MEJIA                       TX     90007384881
B485472A476B27   MARLENE       GARCIA                      CA     90013717204
B4854747254122   ANGELICA      MANZO                       OR     90011487472
B4855136485936   JUSTYNA       TYMOSZUK                    KY     66015021364
B485524985B534   VICTORIA      WILLIAMS                    NM     35089302498
B485614A724B55   MEKDES        GEMEDA                      DC     90013591407
B485672753B13B   NORMA         SERRANO                     VA     81069977275
B4856821355972   JOSE          ALVAREZ                     CA     49025188213
B4857769493758   NOVA          SMITH                       OH     90005867694
B4858375A76B52   VERONICA      CRUZ                        CA     90012033750
B485864595B265   KATOSHA       ROBINSON                    KY     90014346459
B4858973A93727   PETER         DERKSEN                     OH     90003729730
B4858A93431688   ALFREDO       SALAS                       KS     90001710934
B4859975A2B271   LISA          BOYCE                       DC     90014879750
B485B293393745   TIM           BIRD                        OH     64528082933
B485B343355973   ANTHONY       AREVALO                     CA     90005703433
B485B346272B62   TERESA        HERRRERA DIAZ               CO     90013053462
B485B913372B69   LEON          GRAY                        CO     90011079133
B4861347891585   CHRISTINA     COREA                       TX     75050103478
B4861A61193745   SHARON        SMITH                       OH     90002500611
B4862235255973   LYDIA         HUERTA                      CA     48084742352
B4862665133635   ANGELA        JOHNSON                     NC     18089806651
B4862715191585   VANESSA       RAMIREZ                     TX     75097217151
B4862854755972   RAMONA        OREGON                      CA     90011688547
B4862AA2585927   SARAH         VUKMIR                      KY     90012570025
B4863298291585   EDGAR         RODRIGUEZ                   TX     75089882982
B4863368231639   WYEVETTA      VICK                        KS     90013623682
B48633AAA93745   JOE           YONTZ                       OH     90008733000
B4863446693752   QUNISHKA      TATE                        OH     90002244466
B486362688B186   CECILIA       SANCHEZ                     UT     90009296268
B4864235255973   LYDIA         HUERTA                      CA     48084742352
B486454135B396   KRISTAL KAY   KINNEY                      OR     90014835413
B4864814A54122   RACHAN        HOPKINS                     OR     47044388140
B4865541855973   FREDY         DIAZ                        CA     48005305418
B4865682693745   STACY         GALLEGOS                    OH     90014616826
B4865767654122   RONALD        VINCENT                     OR     47094017676
B48657A264B946   SHANTE        SMITH                       TX     90013777026
B486669A25B265   SHANE         GAHAFER                     KY     90012486902
B486687497B489   BLISS         MCINTOSH GREEN              NC     11035278749
B4866A15576B52   REYNA         GUDINO                      CA     90010460155
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2131 of 2350


B4867613754168   MYRON          TOBIAS                     OR     90014576137
B4867A64631639   DEANGELA       HARVELL                    KS     90013950646
B48686A3831639   WELDON         SMITH JR                   KS     22044736038
B4868753476B27   DINO           ARELLANO                   CA     90013877534
B4868A3A671929   ANDRE          JONES                      CO     90002100306
B486933595B265   GRIFFY         HEATHER                    KY     90005923359
B4869464193745   MICHAEL        GANT                       OH     90008914641
B486948A693752   KATHERINE      FLINT                      OH     64522054806
B486953395B265   DEBORAH        ENRIQUEZ                   KY     68088945339
B486954265B396   MICHAEL        CHESTER                    OR     90013845426
B486956952B271   BALTAZAR       MARTINEZ CASTILLO          DC     90009415695
B486B486291554   WALTER         JIMENEZ                    TX     90012154862
B486B566572B62   DORRIS         BYRD                       CO     90008995665
B486B597291585   LUIS           VILLAREAL                  TX     90012515972
B4871A48A91585   JOSE           OCAMPO                     TX     90004460480
B48722AA533634   GLENDA         COLES                      NC     90008032005
B4872428A93745   JOHN           WHETSTONE                  OH     90001524280
B4872A8735B265   CHRISTOPHER    NYBERG                     KY     90014770873
B4873148276B52   DANIEL         HUFF                       CA     90013221482
B487317728B185   SHANNA         KEETCH                     UT     31080121772
B4873754676B27   MAYRA          LOPEZ                      CA     46077177546
B4874984A5B265   CHARLES        JONES                      KY     90003519840
B487583A691831   INGER          JOHNS                      OK     90007058306
B4876727A93727   TIFFANY        LITTON                     OH     64586167270
B4877149591592   DELLA          DIAZ                       TX     90001291495
B4877281493745   DOYLE          ROBINSON                   OH     90014022814
B4877349176B52   JOSE           FELIPE ACOSTA              CA     90008453491
B4877577376B52   JOSE           FELIPE ACOSTA              CA     90014735773
B487797372B246   JAQUAN         HELM                       DC     90013089737
B4878171185936   RHONDA         CONLEY                     KY     66077471711
B487858A772B62   OCHOA          EMMANUEL                   CO     90011085807
B4879213A72B62   JOAN           DURAN                      CO     90008002130
B4879571633635   KELLI          JENNINGS                   NC     90009855716
B4879781477363   SHAVON         GIBSON                     IL     20590777814
B48798A722B271   LEONARD        SMITH                      DC     90011968072
B4879A79A91585   CRYSTAL        ROSA                       TX     90003690790
B487B185291831   CHELSEY        WHITE                      OK     90015201852
B487B587972B62   GRACE          MACK                       CO     90011135879
B487B694493727   JOSH           ARTZ                       OH     90006646944
B487B912531688   MARIA          CAMACHO                    KS     22043909125
B487B927585927   CRYSTAL        PARKER                     KY     90012609275
B488182297B489   KELLY          BLAKE                      NC     90014668229
B4881849493727   BRANDY         MCCUBBINS                  OH     90013688494
B4882287131665   KAREN          SCHENK                     KS     90001282871
B488232A385927   SIERRA         COFFEY                     KY     90014613203
B488292A972B69   DYLAN          FRANKOWSKI                 CO     90011079209
B4883151971929   JESSIE         LAHR                       CO     90013021519
B4883289355973   RICARDO        CARDENAS-VILLA             CA     48045722893
B4883339976B27   LUCINA         VALENCIA                   CA     46029023399
B4883857454122   LEE            CATES                      OR     90015028574
B488411732242B   GREGORIO       CRESPO                     IL     90006561173
B4884279285927   TAYLER         BEATTY                     KY     90013282792
B488433A493758   CHARLES        CHILDS                     OH     90014203304
B488525A193752   JENE           YOUNG                      OH     64532762501
B4886236772B62   AMY            HANSEN                     CO     90014482367
B48862A2485938   GARY           CARLISLE                   KY     90013472024
B4886623976B52   SARA           CARRLILLO                  CA     90014776239
B4886AA672B271   TIMOTHY        BUTLER                     DC     90007050067
B4887542372B47   MAJEST         RIDGE INC                  CO     33021545423
B4887616585822   JORGE          MEDINA                     CA     90002756165
B4888677793727   ADOLFO         HERNANDEZ                  OH     64537876777
B488887978B191   CHARLES        PROWS                      UT     31098168797
B4889123185936   CHRISTINA      MALOTT                     KY     90007861231
B488917545B571   JOSUE          ELIAS                      NM     90012941754
B4889292993745   CORETTA L      THOMAS                     OH     90014022929
B4889426533635   CHARLIE        SCOTT                      NC     90014864265
B4889555176B27   MARIBEL        ONSTOTT                    CA     90009405551
B488962525B265   KELLY          DAVIS                      KY     68087656252
B48897AA993727   SEAN           FLAG                       OH     64593477009
B488981A97B489   REDEENA        CRAWFORD                   NC     90014208109
B4889832676B52   BERNADINA      MAYA                       CA     90011478326
B488B22674B259   DEBRA          BOLDEN                     NE     27021672267
B488B329193758   ANGLE          HICKS                      OH     90014203291
B488B699291585   NORMA LORENA   ROSALES                    TX     90014786992
B488B81A233635   CHIQUITA       MCGHEE                     NC     90014788102
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2132 of 2350


B488B917572B69   RAQUEL              PEREZ                 CO     90011079175
B488BA23891831   JEAN                MARTIN                OK     90015210238
B4891394936B98   KHISNEEL            LAL                   OR     90013893949
B4891927554151   JASON               LAMBERT               OR     90011769275
B4891A58A5B396   GREGORIA            LIMON                 OR     90013960580
B4892354671929   ABEL                ORTIZ                 CO     32088673546
B489249A585936   TERRY               HURST                 KY     66045224905
B4892889A72B62   KARLA               QUEZADA               CO     90014928890
B4893346A91574   GEORGINA            TORRES                TX     90011123460
B4893812993752   STEVEN              GATES                 OH     90007978129
B4893813176B27   LINDA               GRAFFIN               CA     46081168131
B4893987233635   JOSILYNE            NUNEZ                 NC     90013939872
B4894714A72B62   MAURO               FONSECA               CO     33052487140
B48947A6854122   THOMAS              SCHMUDE               OR     90012007068
B4894979154122   CASEY               BODTKER               OR     90011569791
B48952A8724B28   EVA                 VILLANUEVA            DC     90013242087
B4895A36693745   KAMEO               TOOSON                OH     64563450366
B4897178A72B69   ALFONSO             PERES                 CO     90008371780
B4897335971929   MALINDA             DETWEILER             CO     32090903359
B489737A65B231   RICHARD             BOTTOMS               KY     90010183706
B4897515324B28   SYLVIA              HILL                  DC     90013195153
B489759AA93745   DEBORAH             SCARBROUGH            OH     64572635900
B4897714A31468   KAREN               PARSON                MO     90001657140
B4897774193752   RASHAWNDA           YOUNG                 OH     90005297741
B4897881593758   OWENS               ANN                   OH     90009778815
B4898115333635   CHRIS               MILES                 NC     90009431153
B4898222555972   JOSHUA              ANDERSON              CA     90006512225
B489831939286B   IVAN                NOLASCO               AZ     90015483193
B4898841126797   DUANE               MARION                DC     90012698411
B489885A55B396   JOHNATHON           SCHNEIDER             OR     90013378505
B489937835B265   CHRIS               JONES                 KY     90010733783
B489939AA93745   CANDANCE            PRUNTY                OH     90011343900
B4899631272B69   CHRISTY             GRAYUM                CO     90002766312
B4899A4A776B27   ASHLEIGH            ASHTON                CA     46018790407
B489B1A8724B64   BARBARA             JOHNSON               DC     81018171087
B489B35385B396   GABRIELA            GENCHI                OR     44567743538
B489BA63591843   ROSA                GONZALEZ              OK     90012420635
B48B1154A85936   JOHN                FRANK                 KY     90011721540
B48B125242B271   ROY                 BATTLE                DC     90010032524
B48B154777B489   FNNY                PINEDA                NC     11006145477
B48B17A3131639   DELBERT             DOTSON                KS     90015267031
B48B1A26485927   TRACY               COX                   KY     90013140264
B48B2687572B69   ERIC                THOMPSON              CO     90014086875
B48B3633691222   ENRIQUE             ARCOS HERRERA         GA     90000366336
B48B3826972B69   SEAN                DAWSON                CO     90003108269
B48B415A493727   REGINA              WAGERS                OH     90003151504
B48B4A39A24B28   ELSA                LOPEZ REYES           DC     90003170390
B48B5369876B52   GRECIA              GUERRA                CA     90013023698
B48B5375272B69   KENNETH             FRANCIS               CO     90008693752
B48B5A71385927   MARIANA             ORTEGA                KY     90011870713
B48B617752B271   JA MEL              WINSTON               DC     90012831775
B48B6212151332   KATHY               ADAMS                 OH     90004272121
B48B6815671929   MARIO               TREVIZO               CO     90012458156
B48B6861955973   SILVIA              GODINEZ               CA     90009428619
B48B7261784381   GEORGETTE           GREEN                 SC     90007102617
B48B7442133635   MARLITA             NEVILLES              NC     90014654421
B48B7886272B62   DONALD              MONTGOMERY            CO     90008158862
B48B89A1172B69   ELISE               YORK                  CO     90014009011
B48B91A515B541   SHELLY              BEGAY                 NM     90008661051
B48B9299193758   JAMES               GRIFFIE               OH     90010542991
B48B9591676B52   MARIA DEL ROSARIO   MAGALLON              CA     90014765916
B48B9946A91585   MARTIN              MORALES               TX     90004549460
B48B999A955972   HERLIN              TORRES                CA     90013049909
B48B9A53954139   AMADOR              TINTO                 OR     90015420539
B48BB574472B62   RICHARD             GARCIA                CO     90007815744
B48BB79135B265   JESUS               FERIA                 KY     90012267913
B48BB8A3A91585   JHANE               LOVAZO-WALKER         TX     75011088030
B48BB927936B98   VANESSA AND         BARON                 OR     90010369279
B48BB9A635B396   MAYELINA            GUERRA CASTANO        OR     90013569063
B4911781154122   CINDI               WILLIAMS              OR     90010457811
B4911822191585   LEDEZMA             SKYLER                NM     90007928221
B4911872593745   SEQUAN              GIBSON                OH     90012268725
B49119A685B368   ELSA                SAN JUAN              OR     90011799068
B491275A555973   ANGELICA            FLORES                CA     90014737505
B491334515B265   JERRAD              SIMON                 KY     90012013451
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2133 of 2350


B4914112631639   SHELLEY      MCLOUD                       KS     90013951126
B4914922671929   ANTONIO      RUIZ                         CO     90012459226
B49151A172B923   ROSA         GONZALEZ                     CA     90001381017
B4915754455973   JOSHUA       RIVERA                       CA     90014737544
B4916485A76B52   FERNANDO     CABRERA                      CA     90010504850
B4916A8942B941   DANIEL       WILLIAMS                     CA     45050540894
B491712235B325   RICARDO      BELLO                        OR     90008761223
B4917457171965   ROBB         HEWETT                       CO     90002984571
B4917A42471929   ELAINE       TRUJILLO                     CO     90013000424
B4918716A31639   MARYLOU      VILLAGRANA                   KS     90013577160
B491889A876B52   CAROLINA     BENITEZ                      CA     90000538908
B491945675B396   ALEKSANDRA   RODRIGUEZ                    OR     90008964567
B491B84144B259   MANDY        BLACKBURN                    NE     90003578414
B491B96358B185   CHUCK        DAVIS                        UT     90010959635
B4921296685936   EVAN         HUGHES                       KY     90014662966
B49216A4A72B69   CLAUDIA      RIVERA                       CO     33071636040
B49225A9A28177   MILAYA       TAYLOR                       CO     90005505090
B4922A4A455973   SONIA        MENDES                       CA     48053630404
B4923436733635   LETICIA      MARTINEZ                     NC     90013944367
B4923983955972   NANCY        FLORES                       CA     90000569839
B4924499477545   FRANCISCO    NUNEZ                        NV     90011844994
B492478445B265   ADRIENNE     OLIVER                       KY     68004827844
B4924879372B94   JODI         RICHARDSON                   CO     90007908793
B492534A231639   CHRISTAL     ROSS                         KS     22049643402
B4925678855973   RAYMOND      WITTMAN                      CA     90001646788
B4925A2154B259   RON          SAENZ                        NE     27057270215
B4926371984329   ELIZABETH    CLAVEL                       SC     90008503719
B492671275B396   UKPABI       UKPABI                       OR     44589267127
B4926987885936   LISA         JONES                        KY     66005709878
B4927149861987   ANGELINA     GALVAN                       CA     90004581498
B4927445954122   ERIC         DREW                         OR     90004104459
B492745A693758   BRENDA       CUNDIFF                      OH     90014204506
B4928154254122   DONALD       BERGOUNE                     OR     90015241542
B4928221972B69   MCCLOUD      ADREAN                       CO     90011012219
B4928877933635   FARNADO      BENITEZ                      NC     90011958779
B4928999554122   DONALD       BERGOUNE                     OR     90014409995
B4928A2232B629   SATURN       JONES                        WA     90015390223
B492935663B399   KYLE         LUEBKE                       CO     90014313566
B4929361993752   RONNESHA     JONES                        OH     90011083619
B4929481631639   ALBERTO      ALVAREZ                      KS     90013814816
B4929733584353   CYNTHIA      CLEVELAND                    SC     90001607335
B492B227291585   ANA          CANALES                      TX     75007402272
B492B819443583   KAITRIN      MATTHEWS                     UT     90013638194
B492B89A876B52   CAROLINA     BENITEZ                      CA     90000538908
B4931141372B69   JACQUELINE   JACKSON                      CO     90007281413
B4931713347839   JENNIFER     QUICK                        GA     90010277133
B493218A25B333   LATEEA       MARTIN                       OR     90009751802
B493245757B443   ALMA         ALFONSO                      NC     90006814575
B4932469685936   EVIE         MYERS                        KY     66005004696
B4933528755973   MONICA       RAMIREZ                      CA     90014245287
B4933757641229   LILLIAN      KRATOCHVIL                   PA     51002887576
B493393948B825   CRYSTAL      GARCIA                       HI     90014489394
B4935394221831   DUSTIN       SHABAIASH                    MN     90015483942
B4936146431699   KIM          HOCKMAN                      KS     22007391464
B4936456476B27   JEREMY       SPOCK                        CA     46027824564
B4936521131639   EVELYN       CARTER                       KS     22035095211
B49365A6636B98   CARMEN       NAGY                         OR     44588485066
B493751A471929   NORMA        PORTILLO                     CO     90000145104
B4937564354122   DAWN         FOX                          OR     90014735643
B493838917B489   ANECIA       SMITH                        NC     90000913891
B493844528B185   MARTINEZ     JORGE                        UT     90005614452
B4938559255973   ROGELIO      ARRELLANO                    CA     90014745592
B493859615B265   ERIC         TOOLEY                       KY     90015125961
B4938616776B52   RAFAEL       MARTINEZ                     CA     90014786167
B493895A45B396   PHO          TU                           OR     90011859504
B493987A676B27   JOSHUA       MEYER                        CA     90006788706
B493991397B347   MARIBEL      MARTINEZ                     VA     90010009139
B493B3A315B265   TIESHA       CALBERT                      KY     68031203031
B493B547376B52   ROSA         GONSALEZ                     CA     90014785473
B493B577591585   V            NAVARRO                      TX     75088115775
B493B832193752   DOUGLAS      AGEE                         OH     64584288321
B493BA78193727   SANDRA       FLORES-NOLASCO               OH     64584030781
B494187A772B62   FRANK        SANTIAGO                     CO     33012288707
B4941883985927   BOBBY        LADY                         KY     90014308839
B4942812A5B396   STEVEN       CHAMPAYGNE                   OR     90011058120
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2134 of 2350


B4943723672B62   CYNTHIA       FIORAVANTI                  CO     90008757236
B4943753A98B2B   PAULETTE      FAULK                       NC     90001527530
B4944366654122   SUZANNE       JERABEK                     OR     90014743666
B4944594355973   JOSE          SALINAS                     CA     90001855943
B4944655536B98   SAVANNAN      CRAWFORD                    OR     90002816555
B49447A7293752   ADRIANA       GUZMAN                      OH     90013247072
B494538292B271   ROBERT        JOHNSON                     DC     81041993829
B4945653955972   LORENA        MORALES                     CA     49092666539
B4945A59954122   JOHN          ALBRIGHT                    OR     47042100599
B4946857A33635   RUSSEL        BOLTON                      NC     90005908570
B494686415B265   CHAD          BRADING                     KY     90011838641
B4947667671929   JENNIFER      SANCHEZ                     CO     90012676676
B4947711331639   KENNY         COBERLEY                    KS     90009057113
B4947891791585   RODRIGO       BAFIDIS                     TX     90008168917
B494865635B265   JACKIE        SWENSON                     KY     90015336563
B494933195B265   RHONDA        BRISCOE-MURPHY              KY     68009553319
B494949492B271   KEVINA        SMITH                       DC     90012974949
B494966515B396   KETURA        PENGRA                      OR     90015056651
B4949931172B27   JAMI          SABELL                      CO     33053149311
B494B319A76B52   EDUARDO       LOPEZ                       CA     90002193190
B494B841754122   MICHAEL       CRUZ                        OR     90014938417
B494B894791585   CARL          WALLACE                     TX     90007928947
B4951663385936   CRYSTAL       VON HAGEL                   KY     90001956633
B49517A2931639   TYLESHA       WALKER                      KS     90010667029
B4952116293752   KIMBERLY      OLSON                       OH     64517311162
B4952141976B52   JUANA         GARCIA                      CA     46084081419
B4952586985927   ABLAM         TOULASSI                    KY     67018155869
B4952723985936   SHADAWNDRA    DIXON SMITH                 KY     90009327239
B4953169A4B259   SELENA        HANKS                       NE     90005971690
B49531AA871929   DAWN          ROSS                        CO     90001571008
B4953418585936   DIONNE        BURRESS                     KY     90011974185
B4953657754122   FELICIA       PETERSON                    OR     90014786577
B495418865B396   DERAY         WILLS                       OR     90012191886
B495474847192B   JOVEL         MORALES                     CO     90014137484
B4955652293745   LEE           LANDY                       OH     90012136522
B495591A493745   JESSE         STILLGESS                   OH     90014029104
B4955954961985   OSWALDO       TRINIDAD                    CA     46092349549
B4956137572B69   CHRISTIAN     AGUILAR                     CO     90013681375
B4956146893727   KIM           WATSON                      OH     90014411468
B4956169293745   JOE           JOHNSON                     OH     90013491692
B495625A691592   JESUS         MORALES                     TX     90013662506
B4957562454122   RYAN          ROSS                        OR     90015035624
B4957665255973   ANDRE         CHAVEZ                      CA     90014746652
B495784172B225   DARLENE       ROBINSON                    DC     90009358417
B4958215A77977   GENAT         ELIAS                       SC     29522092150
B495917A63B13B   MIGUEL        JIMENEZ                     VA     90008191706
B495925347B489   TYRONE        LANGLEY                     NC     11090342534
B4959438193727   MELANIE       ELKINS                      OH     64585674381
B4959818291585   ALVARO        CASTILLO                    TX     90012788182
B495988AA55927   STACY         GUARDADO                    CA     90013818800
B4959983672B62   CARLOS        PEREZ                       CO     33079709836
B495B363A5B396   MARY          TRENTADUE                   OR     44538943630
B495B424885927   JOSE          PEREZ                       KY     90013694248
B495B632291554   LUZ EVELIA    ZAMBRANO REYES              TX     90002886322
B495BAA4793745   LEIGHANN      SCOTT                       OH     90011030047
B4961345272B69   ALFONSO       ORENDAI FRAUSTO             CO     33088993452
B4961451993752   JOHN          MONTANARI                   OH     90013204519
B496169A172B62   GABRIEL       ESCOBAR                     CO     33004226901
B4962227833635   AURORA        GARCIA                      NC     90013952278
B4962A6512B271   MELISSA       MOORE                       DC     90013440651
B4963178A72B69   ALFREDO       CALDERON                    CO     90010171780
B496345995B396   SCOTT         ENGDAHL                     OR     90006204599
B4963473A55973   MEGAN         NEAL                        CA     48002434730
B4963524436B98   JORGE         MARTINEZ                    OR     90011055244
B4963987391585   CLAUDIA       SANCHEZ                     TX     90014899873
B4963994393745   DANTE         REYNOLDS                    OH     90014229943
B49639A2133635   PATRICE       THAMPSON                    NC     90009809021
B4963A42A71929   YODIRA        MONQUERO                    CO     32038560420
B4964387324B64   TONY          LOVE                        DC     90014883873
B496454755B265   MICHAEL       BROCK                       KY     90014185475
B496476A854122   JUAN MANUEL   ROMERO                      OR     90014797608
B4964A63693745   KIM           BEAL                        OH     64589130636
B4965259933635   BRITTNEY      MILLER                      NC     90013952599
B496576A854122   JUAN MANUEL   ROMERO                      OR     90014797608
B4965967272B69   MARIO         FALCONI                     CO     33012599672
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2135 of 2350


B4965A35A7B393   CRISTINO     PANAMENO                     VA     90006340350
B496611AA98B2B   SELENIA      BONILLA                      NC     90004601100
B496672A476B52   MERCEDES     NIETO                        CA     90014787204
B49673A6293745   ANGIE        DAY                          OH     90011463062
B4967512191585   GEORGE       DE LA O                      TX     90010095121
B4967831593752   AARON        WESTFALL                     OH     90009458315
B4968843472B69   LAURA        MENDOZA                      CO     90013268434
B4968861761984   REYNALDO     SANDOVAL                     CA     46017798617
B496922A193752   TEBBIN       ALFORD                       OH     64568122201
B4969735176B52   CARRI        STARWALT                     CA     90014787351
B4969749276B27   TAMMARA      TITUS                        CA     90013067492
B496987714B525   MICHAEL      ISBELL                       OK     21573928771
B496997A47B489   SHIRLEY      ROBINSON                     NC     90014669704
B4969A2A555972   ARMEL        BAUTISTA                     CA     90013050205
B496B299A2B271   ANDRE        BARRITEAU                    DC     90012782990
B4971217533635   TERESA       GARCIA                       NC     90014262175
B497151A876B27   PATRICIA     ST PIERRE                    CA     90014655108
B4971699A93727   ROBERT       STACY                        OH     64541896990
B497236582B271   ALTAGRACIA   MARTES DE GONZALEZ           DC     90000103658
B4972443493752   JAMIE        MAY                          OH     90002894434
B4972955677363   CARLOS       RODRIGUEZ                    IL     90009009556
B4972A55185927   BETH         HOLT                         KY     90012050551
B4973496876B52   MARIO        NOLASCO                      CA     90014114968
B497373184B288   NICHOLAS     KOCK                         NE     90002877318
B4974177576B52   CYNTHIA      DAVIS                        CA     90014401775
B497441972B271   MICHAEL      REID                         VA     81083274197
B497456877B489   MARY         SMITH                        NC     11082805687
B49749A325B396   JORGE        CRUZ                         OR     90010859032
B4975123176B27   GUSTAVO      RAMIREZ MONTERO              CA     90013691231
B497526764B259   ANGELA       JONES                        IA     27038422676
B4976384A72B62   JAIME        MORALEZ                      CO     33010983840
B4976478233635   ERINEO       VERGARA                      NC     90011944782
B497661A455972   MARTHA       BUENROSTRO                   CA     49096656104
B4976846A54122   BONNIE       BALDWIN                      OR     90014808460
B4977364376B52   JEFFREY      WADELL                       CA     90014503643
B4977444A91585   LUCY         LEDESMA                      TX     75020284440
B49775A9431639   TR NELE      DOUGLAS                      KS     90012235094
B4977681793727   SALES        CALL                         OH     90007636817
B497854A88B192   ANDREA       RODRIGUEZ                    UT     90003475408
B497856575B396   LUCAS        MILLER                       OR     90012175657
B49785A7A5B265   HECTOR       SANCHEZ-LOPEZ                KY     90012775070
B4978882841298   KELLY        REED                         PA     51077498828
B497914945B396   CODY         BROWN                        OR     44596581494
B497942277B493   JOSE         MORAN                        NC     90001394227
B4979685976B27   EVA          BALDERAS                     CA     90005166859
B4979736455973   MIGUEL       OSORNIA                      CA     90014747364
B49797AA87B439   BERNICE      NORMAN                       NC     90010957008
B497B122793752   CAROLYN      GIBSON                       OH     90010051227
B497B647933635   SUSAN        IVR ACTIVATION               NC     90013216479
B4981A36293758   KEVIN        STOTT                        OH     64580600362
B4982246891585   LILIA        VIGIL                        TX     90013672468
B498234648B185   LUIS         VERA                         UT     31004043464
B4982599972B69   HOLLY        ELLIS                        CO     33079745999
B49829A6585936   NICOLE       GIBBS                        KY     66025999065
B498316982B252   ZACHARY      SMITH                        DC     90012501698
B4983572393752   ELIZABETH    SHUPERT                      OH     90009925723
B498441915B396   HELGA        JACKSON                      OR     90006874191
B4984819376B27   LUIS         FIGUEROA                     CA     90007968193
B4985442871929   BRIAN        WILLIAMS                     CO     90014494428
B498571842B246   MYRA         CRUZ                         DC     90003967184
B4987364633635   BRAULIO      GONZALEZ                     NC     90015333646
B4987423172B62   VERONICA     CARMEN FERRER                CO     90010784231
B4987554576B27   AMY          LECHER                       CA     90014825545
B4988182672B3B   JANETH       RAMIREZ BERMUDEZ             CO     90012221826
B4988329161987   MARCOS       RODARTE                      CA     90004363291
B4988331293762   EUGENIA      MOORE                        OH     90012053312
B4988362397B31   GRANT        EVERITT                      CO     39081243623
B4988573291585   JUSTIN       INGRAM                       TX     90010675732
B4988882851355   KENNETH      COOKE                        OH     90011938828
B4989267591585   ERNESTO      SIMENTAL                     TX     90009702675
B4989395893745   VIOLA        UNDERDUE                     OH     64563503958
B498947375B396   GRISELDA     RODRIGUEZ MEZA               OR     44542454737
B498972755B531   MAX          BACA                         NM     90010157275
B4989753831639   KALAYNA      RANSOM                       KS     90012157538
B498B22A52B271   SHAWNIECE    GAINES                       DC     90012842205
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2136 of 2350


B498B736455973   MIGUEL       OSORNIA                      CA     90014747364
B498B74155B375   MULUGETA     ALEGA                        OR     90009647415
B498B964686B94   KELLY        SANTANIELLO                  CT     90014299646
B49912A6793727   ROBIN        CUNNINGHAM                   OH     64510442067
B499173312B271   LAWANDA      BAKER                        DC     90015017331
B4992259933635   BRITTNEY     MILLER                       NC     90013952599
B4992322885936   MICHELLE     NELSON                       KY     90014803228
B4993233955972   BRENDA       ACOSTA                       CA     49013842339
B4993536A71929   CHARLOTTE    ALVARADO                     CO     32029605360
B4993564893745   CHARLES      CORDLE                       OH     90014035648
B4993617472B62   AARON        LEE GIVEN                    CO     90011136174
B49936A1172B62   VICTORIA     HERNANDEZ                    CO     90013296011
B4993922841236   NICKEYA      GRAY                         PA     90011799228
B499426458B185   DAVID        BARON                        UT     90001012645
B4994394372B69   CUITLAHUAC   SAUCEDO                      CO     33029673943
B4994399376B52   ZAMORA       SERGIO                       CA     46077013993
B4994674155972   HEATHER      NOBLE                        CA     90011806741
B4994813193752   CYNTHIA      CRAUSE                       OH     90012938131
B4994982391554   DAVID        RAMOS                        TX     90013259823
B499536522B941   SARAH        GARCIA                       CA     45056423652
B4996123955973   ROSE MARY    ABRICA                       CA     48098831239
B4996534372B62   AMY          PFEIFFER                     CO     90015125343
B499699A254122   ROB          SMITH                        OR     90015109902
B4996A8167B439   VANESSA      EVANS                        NC     90006440816
B4997439533635   ANTONIO      PARREDES                     NC     90013954395
B4997841376B52   MACEDONIO    CERRANO                      CA     90012048413
B499815A672B69   RASHAD       KING                         CO     90012161506
B49982AA751391   CRYSTAL      HOWARD-SCOTT                 OH     66059172007
B499862742B271   REGINALD     MITCHELL                     DC     90010976274
B4998734472B69   GRISELDA     HERRERA CAMPUZANO            CO     90014417344
B4999133985936   WILLIAMS     HENSLEY                      KY     90009441339
B49993A678B139   SUSAN        TRUMP                        UT     31005773067
B499B77574B259   DUSTIN       SOASH                        NE     27053117757
B499B82212B271   DIAMOND      SESSION                      DC     90002368221
B49B1416491844   JERRI        LAIRD                        OK     90009364164
B49B1591485936   ADAM         DORSEY                       KY     90001875914
B49B3319357134   JANET        SIMS                         VA     90005813193
B49B3491872B62   LOUIS        THALLEY                      CO     90014024918
B49B3562272B62   LAWRENCE     HRUDA                        CO     33092475622
B49B3745593745   ROBERT       REES                         OH     90000977455
B49B4623593758   ALICIA       ALEXANDER                    OH     90014506235
B49B492822B271   MARIA        YOLANDA FRANCO               DC     90012309282
B49B493997B489   VERONICA     RANGEL                       SC     90002739399
B49B4A86272B27   MARIA        OLIVAS                       CO     90013690862
B49B515219714B   ANGELA       FULPS                        OR     90000971521
B49B5195376B27   ROSA         QUIROS                       CA     90009021953
B49B5367685927   CHANTAL      ROBINSON                     KY     90014933676
B49B598715B265   WHHITNEY     ANDERSON                     KY     90014909871
B49B6737691585   GEORGE       ESSENBERG                    TX     75087797376
B49B6A22A76B52   ARMANDO      RAMIREZ                      CA     90007100220
B49B7638476B52   SAUL         ALVAREZ                      CA     90014776384
B49B7A78972B62   JULIA        GONZALEZ                     CO     90010170789
B49B8371893758   HOWARD       DILLARD                      OH     90012883718
B49B879265B265   CHASITY      THOMPSON                     KY     90005907926
B49B95A2793745   TEARA        JARREL                       OH     90014025027
B49B9945772B62   KENNETH      KOEPPEN                      CO     33041619457
B49BB918476B27   NAOMI        RIVERA                       CA     46082559184
B4B11334293752   ANDREW       HOLMAN                       OH     90013223342
B4B11651176B52   MATT         BARTLETT                     CA     46030986511
B4B12A43854187   AMY          ANDERSON                     OR     90014010438
B4B13551293758   RUSSELL      ROUSH                        OH     90014995512
B4B13575885927   LAKETTA      SHELTON                      KY     90011305758
B4B13962885936   FRANK        TIRKALA                      KY     66072869628
B4B13997491585   MARGARITA    DOMINGUEZ                    NM     90014769974
B4B15219A5B265   LATONDA      BROOKS                       KY     68021332190
B4B15298385936   DARVIN       HICKS                        KY     90013562983
B4B15492431639   ALICIA       LOPEZ                        KS     90013934924
B4B15814A41475   ANDREA       GROHALL                      WI     90014348140
B4B15949191585   CARLOS       FERNANDEZ                    TX     75001179491
B4B15A81455973   MANUEL       QUINONEZ                     CA     90010490814
B4B16233A6193B   YOLANDA      GOMEZ                        CA     46011862330
B4B16A8A472B62   JAZMINE      MARTINEZ                     CO     90012940804
B4B1729127B443   BENE         JIMENEZ                      NC     90010122912
B4B1741245B396   PATRICK      NEWBERRY                     OR     90010954124
B4B17996A76B27   BRENT        HOWELL                       CA     90014159960
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2137 of 2350


B4B1834622B941   JAIME             GONZALES                CA     45055973462
B4B18492493752   TIFFANY           FIELDS                  OH     64563604924
B4B19228791585   LORENA            IZAGUIRRE               TX     75037692287
B4B19593A93758   SARAH             WILLIAMS                OH     64568225930
B4B19844971929   KENZIW            MILLIS                  CO     90013138449
B4B1992292B258   WILLIAM           YOUNG                   DC     90010599229
B4B19A4222B271   TAYANA            TOLEN                   DC     90011710422
B4B1B261693745   KATHY             ENGLE                   OH     90012432616
B4B1B665131688   BARBARA           JONES                   KS     22081486651
B4B1B882172B62   JORGE ALBERTO     ALEMAN LLAMAS           CO     90014838821
B4B21885771929   SHAWN             SAMPLE                  CO     90014908857
B4B23322131688   ANABELLE          MITCHELL                KS     22094353221
B4B23333122963   ROSENDO           HERNANDEZ               GA     90013873331
B4B23488491585   KIMBERLY          LOPEZ                   TX     90004724884
B4B23692572B62   ANTIONETTE        VALDEZ                  CO     90014716925
B4B23722933635   TYSON             MILLER                  NC     90013567229
B4B23989685927   DAMIAN            CLEMONS                 KY     67013609896
B4B23A7A271929   DENNIS            FALCON                  CO     90012790702
B4B24339393752   BRITTANY          BOWLING                 OH     90009913393
B4B24841285927   PETER N           MOORE                   KY     90013978412
B4B24872955973   LUPE              FRAUSTO                 CA     48002808729
B4B25125993745   PATRICIA          RICKMON                 OH     90010951259
B4B25976191585   MAYRA             RIOS                    TX     90009029761
B4B2625325B396   EDITH             CIFUENTES               OR     90000182532
B4B26268393745   JOHN              LOCKE                   OH     90014712683
B4B26585172B69   RELLA             FIGUEROA                CO     33011465851
B4B2685622B246   DADITU            MOSISSA                 DC     90001838562
B4B27332354122   LORIE             STUDEBAKER              OR     47083933323
B4B27352591592   LUPE              SALAZAR                 TX     75039073525
B4B27A89785938   MIKE              MALLOT                  KY     90010710897
B4B28935791831   MARISELA          YEBRA                   OK     21088679357
B4B28973876B52   MELANY            C                       CA     90012249738
B4B28984491585   ELIDA             HERNANDEZ               TX     90006319844
B4B29332585936   DAWN              HARRELL                 KY     90002763325
B4B29573493752   ASHLEIGH          SMITH                   OH     90014235734
B4B29615172B69   GEORGE            DIAZ                    TX     90010436151
B4B2978887B443   JOSE              DIAZ                    NC     90002207888
B4B29861272B69   MARIE             DIAZ                    CO     90012488612
B4B29895A31639   PEARL             FROST                   KS     22041918950
B4B2B128591831   CAMISHA           BARNES                  OK     90014161285
B4B2B242A5B396   DANA              PETERSON                OR     44579382420
B4B2B286361987   JAMES             NOCOSTE                 CA     90012882863
B4B2B885771929   SHAWN             SAMPLE                  CO     90014908857
B4B2BA33791585   CLAUDIA           VAZQUEZ                 TX     75026200337
B4B3126A193752   THORNTON          WILTON                  OH     64516602601
B4B3129335B265   LODIA             PADILLA                 KY     90014342933
B4B31A21993745   PATRICK           FAIN                    OH     90012780219
B4B32262476B52   JOSE              SOTO                    CA     90010192624
B4B32454193758   STEPHANIE         MADDEN                  OH     90012434541
B4B32A25254122   JULIE             SLENNING                OR     47098270252
B4B33595276B27   AMANDA            ARINGTON                CA     90013885952
B4B33862572B69   CHRISTINE         SMEDLEY                 CO     33051218625
B4B33A51593745   ALEECE            ROBERTS                 OH     90005520515
B4B33A55654122   KYLE              JACO                    OR     90012340556
B4B33AA417B489   SHAQUALA          STEWART                 NC     90014590041
B4B34318A91831   ANGELA            MILLS                   OK     90014873180
B4B34459172B69   DANIEL            ALTER                   CO     33028314591
B4B34842971929   RENE              DOE                     CO     90007228429
B4B35231171929   VERA              NOBLE                   CO     90004372311
B4B35634391585   WILLIAM           RODRIGUEZ               TX     90012936343
B4B35756393758   DANIEL            ROBISON                 OH     64530727563
B4B35882793745   BRITNEY           DIXON                   OH     90006008827
B4B35885231639   JAMES             CAMERON                 KS     90014758852
B4B35A42533635   CATHERINE         WHITE                   NC     18068380425
B4B3659A754122   ROBERT            SUTHERLIN               OR     47022795907
B4B36923485936   CHARLES           HOMER                   KY     90007579234
B4B3698A593745   JONITA MICHELLE   ROLLINS                 OH     90013929805
B4B36A71791585   ARTURO            VASQUEZ                 TX     75040940717
B4B36A8A885927   MARVIN            ROBERTSON               KY     67075470808
B4B36AA6172B62   RAMIREZ           TRINA                   CO     33040180061
B4B371A3355973   JOSE              A ALVARADO              CA     48018411033
B4B37878393752   ITAYETZY          PADILLA                 OH     90014948783
B4B37AA9991831   SHENIA            WILLIMAS                OK     90015010099
B4B38714171929   SHARON            JOHNSON                 CO     32072517141
B4B3889355B562   MARY              JONES                   NM     90011958935
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2138 of 2350


B4B39198177977   KIMBERLY     MONJE                        IL     90015361981
B4B39243155973   SALLY        DE OCHOA                     CA     90010492431
B4B39265876B27   LYLE         SANTOS                       CA     90013432658
B4B39318685927   AGUSTIN      PEREZ                        KY     90012683186
B4B39756393758   DANIEL       ROBISON                      OH     64530727563
B4B3B165136B98   KAREN        NAVA                         OR     44584241651
B4B3B632276B27   JEFFREY      DOZLOWSKI                    CA     90011276322
B4B3B94426149B   STEVEN       DALRYMPLE                    OH     90015359442
B4B4126333B396   MICHELLE     GARNICA                      CO     90010892633
B4B41464A72B69   GABRIELA     ZAMORA                       CO     90009194640
B4B41A1A85B566   MARCO        SUAREZ                       NM     90010020108
B4B4231745B399   BENJAMIN     GLAUS                        OR     90009593174
B4B42497172B69   EDLYN        RODRIGUEZ                    CO     90009264971
B4B42724955973   GUSTAVO      IBARRA                       CA     48032767249
B4B42912976B52   SAMANTHA     BECIRRIL                     CA     90006569129
B4B43829955972   MARTHA       VALLADARES                   CA     49069948299
B4B43856771929   CAMERON      SCHIEVE                      CO     90004228567
B4B4396A585927   RHONDA       MEEKS                        KY     90003429605
B4B44165485936   MELISSA      SAFI                         KY     66063571654
B4B44246854122   FELICIA      GOMEZ                        OR     47076882468
B4B44321831289   ALEX         BURTON                       IL     90014783218
B4B4433A17B32B   HENRY        OMAR                         VA     81090123301
B4B44449A2B941   JUAN LUIS    OCHOA                        CA     45066644490
B4B44527293745   ASIA         SWAIN                        OH     90000525272
B4B4455932B271   CHAKA        VAN                          DC     90013975593
B4B4466854B264   CYNTHIA      MAXWELL                      NE     90014026685
B4B446A1176B52   ANGELINA     ESCALANTE                    CA     90014206011
B4B45165485936   MELISSA      SAFI                         KY     66063571654
B4B45183A72B69   LUCILLE      HERNANDEZ                    CO     33064491830
B4B45294191585   KARLA        CARRANZA                     TX     90007942941
B4B4566834B56B   LAWANDA      EDWARDS                      OK     90009456683
B4B4658562242B   ARTURO       BARAJAS-MURILLO              IL     20556135856
B4B46635776B27   AIOTEST1     DONOTTOUCH                   CA     90015116357
B4B46641676B52   EDGER        TALAVERA                     CA     90012296416
B4B46848971929   CESAR        RAMIREZ                      CO     90015018489
B4B4696815B265   REYNA        GUERRERO                     KY     90015309681
B4B47271576B52   MARIA        MIRELES                      CA     90000802715
B4B47512691585   JOANNA       PALOMARES                    TX     90011275126
B4B47675976B27   JAMES        TITUS                        CA     90014586759
B4B476A9531639   ANDREA       HERNANDEZ                    KS     90012016095
B4B48116131639   AMY          LAWRENCE                     KS     90014411161
B4B48148872B69   DANIA        GUTIERRES                    CO     90002341488
B4B48357876B52   EGGERT       ROSALINDA                    CA     46097113578
B4B48794A4B259   CARMETTA     ROSS                         NE     27039337940
B4B49775276B27   LETICIA      CARRILLO                     CA     90013007752
B4B4983A171929   ALBERT       ATKINS                       CO     90007738301
B4B4B243155973   SALLY        DE OCHOA                     CA     90010492431
B4B4B267991585   MARICELA     MORA                         TX     75072432679
B4B51462493727   MISTY        MOORE                        OH     90013444624
B4B52499533634   SHARON       SIMS                         NC     90008094995
B4B52592851341   STEPHANIE    SNEED                        OH     90005855928
B4B525A7472B62   TERESA       COPELAND                     CO     90013105074
B4B5324A993752   SHAWN        LEVAN                        OH     90008562409
B4B53887131639   CHANNAH      ARP                          KS     22001758871
B4B53A54897B59   KEVIN        KATO                         CO     90005090548
B4B54381993758   ADRIA        SCOTT                        OH     90007653819
B4B54469955973   BETTY        GARZA                        CA     90014644699
B4B5525559716B   ALBERT       LEWIS                        OR     90006982555
B4B56666393745   SARA         WHIPP                        OH     64594906663
B4B5677245B265   JACKIE       DALE                         KY     90012147724
B4B56979572B62   MELLISSA     SHORT                        CO     33085689795
B4B57376391831   DONNA        ENNIS                        OK     90015203763
B4B5775728B337   CALVIN       BROWN                        SC     90012287572
B4B58192193727   JANET        COURAGE                      OH     64548131921
B4B58745633635   RICARDO      GRANADOS                     NC     90013247456
B4B58942654122   ANGELA       BUSH                         OR     90010619426
B4B5898718B185   MATT         SCHAELLING                   UT     31039829871
B4B5916675B545   ANITA        BLYTHE                       NM     90013891667
B4B59245185936   ASHLEY       MILLER                       KY     90003102451
B4B5973972B941   JOSE         MORALES                      CA     45030657397
B4B5991A572B62   ANNA         LAMERS                       CO     90008119105
B4B59942A85927   DARREN       TURNER                       KY     90012019420
B4B59A21993745   PATRICK      FAIN                         OH     90012780219
B4B5B264893758   SAMUEL       GEBREWAHID                   OH     90014162648
B4B5B3A6A8B185   MARIA        MENJIVAR                     UT     90005013060
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2139 of 2350


B4B5B61974B259   RAFIU             BRAIMAH                 NE     27004936197
B4B5B948A5B396   AUDREY            LEWIS                   OR     90006049480
B4B5BA1A65B265   CAROLINA          HERNANDEZ               KY     68086840106
B4B61152333635   KIEVANHAN         RORIE                   NC     90013961523
B4B61252991952   KAVITA            WELDON                  NC     90005312529
B4B61795876B27   JAVIER            MUNOZ                   CA     90013357958
B4B62366654122   SUZANNE           JERABEK                 OR     90014743666
B4B6246A842575   LISA              FANT                    WA     90015384608
B4B632A5861987   LIZBETH           PACHEO                  CA     90003252058
B4B63359855972   ALMA              RUIZ                    CA     49025823598
B4B63415555972   MICHAEL           DE LA CRUZ              CA     90013034155
B4B63685193758   TRACY             GIBSON                  OH     64506006851
B4B6529852B271   PATRICIA          GAMBLE                  DC     90012562985
B4B6543165598B   ALLONA            CARLTON                 CA     90008974316
B4B65451454122   JILLIAN           MEEKS                   OR     90010934514
B4B6548227B489   MARIAH            WILSON                  NC     90014614822
B4B65956493752   STEPHANIE         JACO                    OH     90009589564
B4B66579171929   DON               POMELEO                 CO     32043355791
B4B67232133635   IDAN              HERNANDEZ               NC     90013722321
B4B6726A361987   BRENDA            CASTRO FRIAS            CA     90003252603
B4B67526176B52   ANDREENA          YOUNG                   CA     90014595261
B4B675A7285927   BENJAMIN          CORNETT                 KY     90014525072
B4B67833776B27   BERNARD           HERNANDEZ               CA     90009198337
B4B68276993727   ANDREW            DENARDO                 OH     90012822769
B4B68654931639   PATRICIA          SCHARTZ                 KS     90013936549
B4B68995976B27   ALMA              TRUJILLO                CA     90011949959
B4B69945193727   SAM               MELGOZA                 OH     90013759451
B4B6B15A633635   LOLITA            GANT                    NC     18086501506
B4B6B53155B562   MAURICIO          LOZANO-CONTRERAS        NM     90007675315
B4B71AA2372B69   KRISTOFFER        ROGERS                  CO     90012470023
B4B7376A131639   JERRY             WALKER                  KS     90012267601
B4B74243672B62   GARY              THOMAS                  CO     33010982436
B4B74364851349   RICKY             MORT                    KY     90012963648
B4B74612476B52   VERONICA          MARTINEZ                CA     90014326124
B4B74955593727   JANICE D          REESE                   OH     90006069555
B4B75521133635   MCQEDA            GRANADOS                NC     90015495211
B4B75688361921   JUSN              FRANCH                  CA     90001656883
B4B75699993745   ROBERT            MOWERS                  OH     90013536999
B4B75A24171929   JANET             ANSELL                  CO     90004230241
B4B76148A93752   NICOLE            HAYES                   OH     90014041480
B4B76317755973   LOURDES           RECONCO                 CA     90013143177
B4B76353633635   DAVID             ROGERS                  NC     90013583536
B4B763A914B263   LISA              BARANISHYN              NE     90014793091
B4B76732993783   BRENDA            STARK                   OH     64589867329
B4B76A36691585   JOSH              PAZ                     TX     90004790366
B4B7749197B322   MIKE              BENNETT                 VA     90011854919
B4B78585257142   ZAYRA             MEDINA                  VA     90012585852
B4B78643231639   MATHEW            LOW                     KS     22067936432
B4B78A59893746   JAIME             BARON                   OH     90011660598
B4B792AAA61987   CHRISTINE         HANSEN                  CA     46091852000
B4B79438131639   IESHA             WALKER                  KS     22058194381
B4B7948248B878   DAMIEN            HANUNA                  HI     90014384824
B4B7957A55B196   SHANNON           MURRAY                  AR     90012515705
B4B79A37891585   ALEX              LERMA                   TX     75037900378
B4B7B26818B185   DAWN              MURDOCK                 UT     31034582681
B4B7B465976B52   RAFAELA           PEREZ                   CA     46007404659
B4B7B7A915B265   DOMINIK           DOPATKA                 KY     90013587091
B4B7B83722B271   MIA               WILLIAMS                DC     90007828372
B4B7B852A91844   HOLLY             ANDERS                  OK     90009368520
B4B81449454122   BRYAN             ZINNERMAN               OR     90014764494
B4B81749476B52   EMERSAN ANTANIO   DE LEAON VALLES         CA     90014217494
B4B81787A91563   ELIVIER           GARCIA                  TX     90002877870
B4B82293371929   DYLAN             GREEN                   CO     32013012933
B4B82694193745   ANGEL             ANTHONY                 OH     90001036941
B4B82753891973   LANCE             SHEPARD                 NC     90002447538
B4B82859855973   ROSA              ROGRIGUEZ               CA     90013988598
B4B828AA291831   FERNANDO          WEBSTER                 OK     90012388002
B4B82922472B69   ROLANDO           OSORIO                  CO     33078349224
B4B8294798B185   SANTA             RODRIGUEZ               UT     31041449479
B4B82A97685927   SALOME            UTUY-ITZEP              KY     90000500976
B4B83127571929   DAVID             PEREZ                   CO     90010841275
B4B832A8A5B265   TAMATHA           MCDONALD                KY     90013502080
B4B83328861987   JOAN              BURRELL                 CA     90005093288
B4B83594872B62   EDGAR             VILCHIS                 CO     33024455948
B4B8366832B941   MARITZEL          MONTERO                 CA     90000546683
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2140 of 2350


B4B83948A91831   VERONIC      ADAMS                        OK     90013759480
B4B84733831639   DIANA        ROMERO                       KS     90006837338
B4B8489448165B   BART         WHORTON                      MO     90013018944
B4B84946155973   CRYSTAL      ARRIAGA                      CA     90011109461
B4B85394255973   MARIA        BARRON                       CA     90014633942
B4B86573491831   THOMAS       JOHNSON                      OK     90011295734
B4B86691885936   DAVID        BYRD                         KY     90002846918
B4B86694A93745   RONALD       DIXON                        OH     90010246940
B4B86A48555953   ROBERT       KNOX                         CA     90014920485
B4B86A75233635   TIKA         IRELAND                      NC     90012830752
B4B87592291831   EDWENA       BROWN                        OK     90011295922
B4B8768A785927   CHRIS        LANE                         KY     90014156807
B4B87774522963   FELICIA      SMITH                        GA     90015217745
B4B87926A2B271   ANGELA       GIBSON                       DC     90014799260
B4B88528693727   TASHA        COCHRAN                      OH     90011105286
B4B8858A355973   STEVEN       NORMAN                       CA     90000425803
B4B88A4A555979   EDWARD       OWSLEY                       CA     90007400405
B4B89972855973   JEREMY       BROPHY                       CA     90006579728
B4B8B177624B21   SHAMEKA      L ROBINSON                   DC     90003431776
B4B8B319193758   TRAMMEL      JOHNSON                      OH     90014163191
B4B8B37A655972   MANUELA      MEDINA                       CA     90013033706
B4B8B588331639   ASIA         MITCHELL                     KS     90011585883
B4B8B628A76B52   RYAN         CHRISTIANSON                 CA     90014206280
B4B91184933635   YANELY       HERNANDEZ                    NC     18009701849
B4B911A8572B69   SANDRA       CRUZ                         CO     33025931085
B4B91456585927   TEREKA       GUIN                         KY     90011164565
B4B91565791585   GABRIEL G    HERNANDEZ                    TX     90006995657
B4B9271362B22B   MIGUEL       FUENTES                      DC     90012497136
B4B94377391831   ANGEL        HUGHES                       OK     90011373773
B4B94928993745   PHILLIP      CASTLE                       OH     90001029289
B4B949A4155973   NATALIE      NIXON                        CA     48038919041
B4B9542927B443   SHEARRON     KELLY                        NC     11080694292
B4B9558287B489   CYNTHIA      LINCOLN                      NC     90007335828
B4B95685A7752B   MELISSA      KERSEY                       NV     90008376850
B4B95736324B64   WALTER       ENRIQUE                      DC     90015337363
B4B96454261952   CARLOS       BARAJAS                      CA     90008634542
B4B96523831468   PATRICIA     FLETCHER                     MO     90003965238
B4B96644291585   VALRYE       MEDINA                       TX     90004206442
B4B9671438B185   MARIA        RUIZ                         UT     90013097143
B4B96734972B69   TYLER        MUNIZ                        CO     90013807349
B4B9726A172B62   EDGAR        GARCIA                       CO     90013932601
B4B9756A871929   MICHAEL      HUDAK                        CO     90014185608
B4B97716981452   SIERRA       RIMPSON                      PA     90013937169
B4B98819976B27   JAIME        LUNA                         CA     90015418199
B4B9935567B489   DAYZA        JONES                        NC     90014603556
B4B99675191831   HARDY        CULLOM                       OK     90007196751
B4B99A13A76B52   BRENDA       PEREZ                        CA     46066980130
B4B99A43A7B489   CHARLA       WINBUSH                      NC     90014590430
B4B9B524731639   AUDREY       BURROW                       KS     90002735247
B4B9B667655973   LY           SEK                          CA     48072526676
B4BB1163A91831   LUCIA        BARRACA                      OK     90012491630
B4BB124775B389   CHRISTIAN    RAMIREZ                      OR     90006812477
B4BB1324A55972   SAM          MUM                          CA     90015043240
B4BB1484A31639   RAFAEL       DIAZ                         KS     90013934840
B4BB154597B489   LIDIA        MEJIA                        NC     90008035459
B4BB185884B259   ALEXIS       WILSON                       NE     90001508588
B4BB3281691939   JOSE         AYALA                        NC     90009132816
B4BB4874A93752   ROBERT       TARTER                       OH     90012398740
B4BB4926455973   MARI         LOPEZ-MORENO                 CA     90010489264
B4BB4A3AA93745   SHAWN        RICKMON                      OH     90010950300
B4BB5475521B48   CHRIS        MARTINEZ                     TX     90014754755
B4BB6999A33635   ANTHONY      BURTON                       NC     90014469990
B4BB6A31791585   BLANCA       ESQUIVEL                     TX     75084250317
B4BB6A6A371929   JOSHUA       BROWN                        CO     90014480603
B4BB7224A55973   ANGEL        VIGIL                        CA     90014632240
B4BB7627A91831   RICO         DAVIS                        OK     90011156270
B4BB7656797157   LOUISE       JOHNSON                      OR     44509186567
B4BB7835361987   MARIA        RAMIREZ                      CA     90013058353
B4BB8213A31639   MARIA        SALACAR                      KS     22004312130
B4BB8436A2B24B   ANGEL        HOUGH                        DC     90008824360
B4BB8494291585   JUAN         PAREDES                      TX     90010404942
B4BB851AA57552   JOHN         FIGART                       NM     90003905100
B4BB8A6325B396   EDUARDO      RODRIGUEZ                    OR     90012620632
B4BB966257B84B   MARISSA      JINKS                        IL     90007386625
B4BB9759A76B27   KANDEE       MADDALENLA                   CA     46006187590
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2141 of 2350


B4BB9881993745   DEBORAH      THOMPSON                     OH     90014798819
B4BB996475B265   LORI         EPPLER                       KY     68042299647
B4BBB277854122   DUANE        CLARK                        OR     90009952778
B4BBB71A38B185   FRANCIS      NORDMEYER                    UT     31067427103
B51113A557B489   SHERRY       KAMINSKI                     NC     90014923055
B5111592772B62   MICHAEL      LAMORIE                      CO     33008925927
B511168A776B27   JENNIFER     GUERRERO                     CA     46038296807
B5112194A91582   GEORGE       CLARK                        TX     90004821940
B5112867272B69   JORGE        LEMOS                        CO     90013038672
B5112A45A5B396   MATT         BEILENBERG                   OR     90009960450
B5113174476B27   JOSE         OCHOA                        CA     90007431744
B51135A3972B62   MARINA       PITONES                      CO     33047745039
B5113838843589   REYNA        ROJAS                        UT     90013198388
B5114166255947   MARY         GUTIERREZ                    CA     49081001662
B511474A172B69   MARIA        AMAYA                        CO     33068777401
B511483A393745   IYANA        CARR                         OH     90015148303
B5114A67193727   SAMANTHA     DURST                        OH     90014670671
B511544394B254   ERIN         SAUNDERS                     NE     90004904439
B5115529451329   HENRIETTA    GUTTER                       OH     90010745294
B5115583693758   MARIA        LEON                         OH     90005565836
B5115659943589   TAYSON       SNARR                        ID     90014976599
B5115A2157B489   SHAKEISHA    TAYLOR                       NC     90006760215
B511637295598B   KIETH        TAYLOR                       CA     90011393729
B5116373A93758   TAMMY        WILLIAMS                     OH     90014363730
B5116796A54122   KRISTA       OEHRING                      OR     90015207960
B5117184191585   DENNY        GARCIA                       TX     75096061841
B51175A3593752   KRISTIN      SUTHERLAND                   OH     90012025035
B511771A343589   ALVARO       DIAZ                         UT     90011147103
B5117729755959   CRISTINA     ARIAS                        CA     48068267297
B5118125476B27   GRADY        LYNCH                        CA     46067231254
B5118377236B98   MARIA        AYALA                        OR     90013943772
B511839975B396   ERWIN        MORRIS                       OR     44578073997
B5118AA787B443   LARRY        SMITH                        NC     11084520078
B5119516424B64   DAVIA        CARTER                       DC     90013465164
B5119679172B69   ROB          BENDER                       CO     90006196791
B511989A72B271   IRA          THOMAS                       DC     90014768907
B5119A65955947   SOUA         THAO                         CA     90010470659
B511BA64951343   JENNIFER     HOBBS                        OH     90008040649
B5121259A93752   ASHLEY       RICE                         OH     90012332590
B51212A8541236   MICHEAL      WEIBLINGER                   PA     90003622085
B5121312543589   CANON        SOUTH                        UT     90014583125
B5122421843589   BRETT        GYLLENSKOG                   UT     90007244218
B5122581355959   GENARO       RUIZ                         CA     90013585813
B5122746A91585   MARIA        LOPEZ                        TX     75008857460
B5122872651332   JAMES        KNISLEY                      OH     90001268726
B5123292855972   ZEFF         BRANADYR                     CA     49024452928
B5123566272B69   DANIEL       FERNANDEZ                    CO     90011285662
B5124511685927   BRANDON R    HAMILTON                     KY     90000305116
B5125162393727   PHILLIP      MURPHY                       OH     64561651623
B512521825B396   JAMES        BOND                         OR     90004972182
B5125311772B69   HERLINDA     RAMOS NEWTON                 CO     33020433117
B5125762676B27   CARLOS       CARRILLO                     CA     46063757626
B51263A3293752   HASTY        CRAIG                        OH     64571413032
B5126829A72B62   ROBERTO      BELMONTES                    CO     90002898290
B5127274655972   CAMI         CARRILLO                     CA     90014212746
B5127386154122   ANTHONY      PUGEDA                       OR     90011353861
B5127449155947   ELIZA        FERNANDEZ                    CA     49071724491
B5127532476B27   ELENA        VASQUEZ                      CA     90014835324
B512931622B246   TENEYA       EVENS                        DC     90006013162
B5129773A55938   MARY         WILLIAMS                     CA     48064817730
B512B3A682B271   TENICA       SANDERS                      DC     90002933068
B512B895A72B69   GERARDO      ALUAREZ                      CO     33068768950
B512BA37A72B62   BRENDA       BUSTILLOS                    CO     33090960370
B513123162B271   VICTORIA     PRINCE                       DC     90008352316
B5131276591585   FERNANDO     ALVAREZ                      TX     75070092765
B5131565131639   MARTIN       NIETO                        KS     90009195651
B5132276661925   CESAR        REBOLLEDO                    CA     46043032766
B5132481155972   MARIA        AGUILAR                      CA     49017634811
B513251954B288   FRANK        BROWN                        NE     90005265195
B513363A86149B   MATT         WIMBISH                      OH     90015476308
B5133651393752   NICOLE       ESKEW                        OH     90012496513
B5133692893745   TIFFANY      SODDERS                      OH     90013586928
B5133A2312B349   FRANCINE     BOYD                         CT     90013960231
B5134491161987   MARIO        ORTEGA                       CA     46049524911
B513499558B32B   VENA         DAVIS                        SC     90014939955
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2142 of 2350


B513514A555959   FRANCISCO          JUAREZ                 CA     90011061405
B5135268893727   JOSEPH             SHELLEY                OH     90012842688
B513529987B489   CHRIS              SHEPPARD               NC     11014842998
B51358A3231639   CYNTHIA            GRIFFITH               KS     90011298032
B51361A3772B62   SARA               HOLSELTON              CO     90013541037
B5138A81876B27   GUSTAVO            RAMIREZ SICAIROS       CA     90013080818
B513986465B396   SAVANNAH           CHANEY                 OR     44542518646
B5139973A22963   PHILLIP            MOORE                  GA     90013959730
B513B145955959   ANGEL              TREJO                  CA     90013621459
B513BA46631688   BORDEAN            POTTS                  KS     22095850466
B5141165455947   BLANCA             RUELAS                 CA     90013461654
B5141414A8B12B   JOSH               FLORENCE               UT     90009924140
B51416A4384387   NATHANIEL          GUESS                  SC     90005406043
B5142398391585   ROSA               SALAZAR                TX     90013893983
B514252A343589   JUAN               VELAZQUEZ              UT     31047995203
B5142A46631688   BORDEAN            POTTS                  KS     22095850466
B5142A5762B244   BILLY              WILLIAMSON             DC     90012550576
B5143587593727   JACOB              SMITH                  OH     90013755875
B5143AA9272B62   KARIMA             ELOUALI                CO     90013010092
B5144247655959   MARICELA           PENALOZA               CA     90011922476
B5144459872B62   GILBERT            ERIC                   CO     33047744598
B5145586676B27   MARBELLA BEATRIS   TOSCANO                CA     90014935866
B5145778672B62   ROBERT             STEVENS                CO     90009917786
B5148218A43589   JAN                BENSON                 UT     90009552180
B514877175B399   JUAN               VELAZQUES              OR     90011527717
B5148A7832B271   TANGELA            FERRELL                DC     90012920783
B514912A154122   AMY                HUTCHISON              OR     47095461201
B5149572A2B271   CRYSTAL            WHITE                  DC     90006075720
B5149A52972B62   NANCY              ESCARCEGA              CO     90013320529
B514B511685927   BRANDON R          HAMILTON               KY     90000305116
B514B547A77525   LUCILA             MELENDREZ              NV     90002525470
B514B54A572B69   KELLY              JAMES                  CO     33055115405
B514B843781626   MICHELLE           WILSON                 KS     90002238437
B514BA6862B825   DIANE              KENNEY                 ID     90012690686
B5151334455953   MIKE               MILLER                 CA     90001263344
B5151493143589   SHANNON            BARNES                 UT     31094674931
B51515A1955994   LANCE              POFAHL                 CA     90008635019
B5151925871932   MARIBEL            IBARRA                 CO     90013929258
B5151A33572B62   ALEXIS             CRUZ                   CO     90011980335
B5151A51872B69   MAYRA              TORRES                 CO     33040440518
B5153353672B69   EVELYN             CANDELARIA             CO     33039723536
B515381A991585   JACKIE             GUERRA                 TX     75098398109
B515384AA4B565   ANITA              GRANT                  OK     21595278400
B5154235A2B271   SONATA             SONATA                 DC     90002742350
B5154581343589   BRITTNEY           MAGOON                 UT     90014695813
B5155353631639   PAMELA             BERRY                  KS     90007773536
B5155376A2B271   JOSE               GUEVARA                DC     81035963760
B5155482455947   RUBEN              VELA                   CA     90009104824
B5156131691585   VICTOR             LEGARDA                TX     90014021316
B515713517B489   ARTHENIUS          LATTAKER               NC     90014801351
B5157548891232   DUNIELYS           MENDEZ                 GA     90012695488
B5158242693758   LISA               BARNEY                 OH     90012512426
B5158827393745   KAREN              CASTO                  OH     90002578273
B5159223691585   MARY               WESTON                 TX     90012022236
B5159277A7B489   ETONIA             WILLIAMS               NC     90014172770
B5159325277385   ADRIANA            HERRERA                IL     90015143252
B515935254B284   MARGY              PARRA                  NE     26038903525
B515981725B396   MATTHEW            PAYNE                  OR     44537908172
B515B411572B69   ROBERT             HARRISON               CO     33015354115
B515B797691563   AMELIA             GUEVARA                TX     90011077976
B51612A8A31688   JESUS              TREVIDO                KS     22088202080
B516158A193758   DEANNA             WILSON                 OH     64571675801
B5161637985927   BEONCA             WRIGHT                 KY     90015336379
B5161751572B62   MARIA              ARCE                   CO     33028757515
B51619A5993727   SHANELL            ANDERSON               OH     64511379059
B5162311355947   ROSA               MARTINEZ               CA     90013033113
B5163127A55959   MARIA              MARTINEZ               CA     90014771270
B5163296891585   JAMEZ              LOPEZ                  TX     90014932968
B5165AA9872B62   REBECCA            HYER                   CO     90013010098
B5166194772B4B   RYAN               BASS                   CO     90010871947
B51673A3185927   MISTY              SHELTON                KY     90014683031
B516759A931639   STEPHINE           MARTINEZ               KS     90013405909
B5167AA9872B62   REBECCA            HYER                   CO     90013010098
B516866283B355   LOUBETH            SUNBLADE               CO     33092676628
B51688A3272B62   PATRICIA           ASIMUS                 CO     90005568032
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2143 of 2350


B5168A4165B396   KATHLEEN            HAMMOND               OR     90008870416
B51695A1933635   WENDY               CARRILLO              NC     18064135019
B516B19372B271   TELEKA              LEWIS                 DC     90015011937
B516B731285927   JOHN                STONE                 KY     90010677312
B516B7A3231639   CINDY               SAMS                  KS     90014837032
B516B815476B27   MATTHEW             DATTAGE               CA     90013468154
B516B852224B55   GAIL                BICKERSON             DC     90009178522
B5171158991585   CYNTHIA             GONZALEZ              TX     90007131589
B5171231954122   LYNICE              BROWN                 OR     90012602319
B5171499855959   MARIO               COLIN                 CA     90015114998
B517166225B396   EVA                 JONES                 OR     90014876622
B517245A493745   PAUL                CONNELLY              OH     64517264504
B517248A424B35   JULIO C.            HERNANDEZ             VA     81017154804
B5172882393758   MARK                THOMAS                OH     64547978823
B5173174161987   MARIA               CHAVEZ                CA     90009701741
B5173755443589   JESUS               BELTRAN               UT     90013367554
B5173832755947   FRANCISCA           ORTIZ                 CA     49006518327
B5174A38191585   LORI                JOLLEY                TX     90014910381
B5174AA7A72B69   STEVIE              SONGSTAD              CO     33048660070
B5175142455959   JASMIN              LONA                  CA     90010221424
B5175786285927   CHRISTINA           CLOUD                 KY     67034267862
B5177A12A72B62   PEETER              SLEE                  CO     90013010120
B5178654285927   SHAWNA              LILLY                 KY     67015516542
B5179549685927   SUZANNE             TASAYCO               KY     90013245496
B5179624543589   HELEN               LASLEY                UT     31011506245
B517B545954122   JONATHAN            NAFTZGER              OR     90008775459
B517B85252B271   PAUL                OWENS                 DC     90010738525
B5181A43872B62   SAMUEL              LEAL                  CO     33019250438
B5182243255959   JAVIER ROSENDO      ZAPOTECO              CA     90013712432
B5182431672447   JESSICA             MURREN                PA     90011484316
B5182994A33635   ROBERT              MILLER                NC     18018789940
B5182A3A493727   JOE                 TANIS                 OH     90005500304
B5183346897B98   DANE                LINGO                 CO     90013933468
B518412AA55947   SHERRYL             EVERITT               CA     90006221200
B5184469461998   CHRISTOPHE          E SEDGWICK            CA     46017844694
B5184825A43589   JENNIFER            GOROSTIETA            UT     31092908250
B5184964455959   ESTEBAN             DE LOERA              CA     90014099644
B518514415B265   JAMIE               DENTON                KY     90001481441
B5185411272B62   LUIS A.             LOPEZ                 CO     33008664112
B5185633476B27   GUADALUPE           ESCALERA              CA     90006706334
B5185943385927   ERICA               RICO                  KY     67007909433
B5185AA495B396   AJ                  KELLER                OR     90014420049
B5186727876B27   ROSE                ARGUELLES             CA     90012247278
B51867A2A72B62   OSCAR               MERCADO               CO     33061257020
B5186917193758   CHRISTINA           COFFMAN               OH     90008629171
B5186A97141232   KIRK                GONZALES              PA     90012710971
B5187231791585   MONICA              NEVAREZ               TX     75096522317
B518771457B443   LATAVEA             HUGHES                NC     90003047145
B5187795843589   LISA                BLYTHE                UT     31091847958
B51879AAA54122   TRINA CONSTANTINE   CONSTANTINE           OR     90008889000
B5188117A31639   DAVID               SOLOMON               KS     90013721170
B5189535591554   ANA                 ALVIDREZ              TX     90008875355
B518B143693727   LIYLA               SMIEH                 OH     90006341436
B518B34A672B69   YVONNE              DEHERRERA             CO     90008143406
B518B683155959   DIONICIO            OLIVARES              CA     48007386831
B5191146793745   HELEN               DIETSCH               OH     90013921467
B519135762B271   JUDITH              MARROQUIN             DC     90013963576
B51913A6243589   JOHNATHAN           ROMERO                UT     90009973062
B519146A47B489   MARIA               LOPEZ                 NC     90010344604
B51914A1154122   PAYGO               IVR ACTIVATION        OR     90013314011
B5191533843589   ORLANDO             GUTIERREZ             UT     90006805338
B5191956691585   ADRIAN              AGUILAR               NM     75013679566
B5192391993752   MELONY              DECKER                OH     90004083919
B5193976893745   ELIZABETH           MINTER                OH     64539719768
B5193A71A43589   DAN                 HIGHAM                UT     90006110710
B5194298A85927   CRYSTAL             CARSON                KY     90012852980
B5194733636166   CRYSTAL             CHAVEZ                TX     90007757336
B5194812754122   KEN                 DOWNING               OR     90011088127
B519488622B271   JASMINE             CLIPPER               DC     90009358862
B519495637B489   LATONYA             WOODS                 NC     90012989563
B5195255893758   TEESHA              GIPSON                OH     90014942558
B51962A1355959   LUIS                FLORES                CA     48004682013
B5196525931639   LONDUS              STOREY                KS     22028125259
B5196765391585   MANUEL              ALMANZA               TX     90002587653
B519715A843589   STEPHANIE           HAUDLEY               UT     90015081508
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2144 of 2350


B5197447193758   TIFFANY           BRADLEY                 OH     90014174471
B5198224391585   MICHELLE          GARCIA                  NM     90011852243
B5199198193758   DENISE            SCHAUB                  OH     64559891981
B5199794A91585   MARIBEL           PALOMARES               TX     75006797940
B5199988155947   NACIO             DELGADO                 CA     90010769881
B519B296493752   MEGHAN            SHIVELY                 OH     90000232964
B519B319755972   VICKI             HER                     CA     90004033197
B519B351184346   JENNIFER          HARRISON                SC     90000403511
B519B831893727   FERNANDO          LOPEZ                   OH     90011988318
B519BA79155947   MIGUEL            RUIZ                    CA     90009630791
B51B1451A85927   STEVEN            DUNCAN                  KY     90003674510
B51B14A3954122   TERRY             DODSON                  OR     47001314039
B51B185A731639   JOHN              BRANDON                 KS     22062218507
B51B191645B265   TARA              MATTHEWS                KY     68075699164
B51B2656372B69   VONNIE            ASBERRY                 CO     90010126563
B51B399A972B62   SHAYLA            MANNING                 CO     90013009909
B51B3A9154B56B   ELVIS             MBATU                   OK     90011130915
B51B3AA778B133   JUAN              PEREZ                   UT     90012240077
B51B43A367B489   RONALD            BARNETT                 NC     90014853036
B51B4661354122   TISHA             LEE                     OR     47026996613
B51B4763685927   CHELSEA           SAYLOR                  KY     90011217636
B51B5499254122   OMAR              PEREZ                   OR     90010904992
B51B6152422963   JOSEPH            CRAWFORD                GA     90014171524
B51B619448B863   CELESTE           FERNANDEZ               HI     90015361944
B51B6469543589   JOSE              ARCE                    UT     90011544695
B51B6511161987   VIVIAN            SHARP                   CA     46045555111
B51B73A497B443   QUEEN CLEOPATRA   COLLECTION              NC     90004523049
B51B7A74471929   MICHAEL           LOPEZ                   CO     32005460744
B51B8456955959   ALEJANDRO         LOPEZ                   CA     90014894569
B51B8488893727   MONICA            HENDERSON               OH     90010924888
B51B8788793745   AMANDA            DIAZ                    OH     90011677887
B51B8A44698B2B   UBALDO            BUMILLA                 NC     90014730446
B51B8A72976B27   ANTOINE           OCCLENE                 CA     46079650729
B51B8AA9331639   GUADALUPE         VASQUEZ                 KS     90008880093
B51B982125B585   BRIAN             GARCIA                  NM     90009838212
B51B9856A93752   JACQUELINE        HARDY                   OH     64526968560
B51B98A8755947   SELENA            MARTINEZ                CA     90012878087
B51BB383872B62   JACOB             OLAH                    CO     90009743838
B51BBA52785927   MARTIN            BROTHERS                KY     90013470527
B52118A8243589   SHANNON           BARNES                  UT     90014758082
B521193685B396   WALLACE           ROULHAC                 OR     90011499368
B5212766791323   APRIL             NEVILS                  KS     90012497667
B5213772351391   JEREMIE           WHEELER                 OH     90000877723
B5214173524B64   CESAR             HERNANDEZ               DC     90007341735
B5214453793745   DAVID             HAYES                   OH     90013994537
B521455A55B561   BENJAMIN          WILLOUGHBY              NM     90012285505
B521495957B434   PATRICIA          WILLIAMS                NC     11042759595
B5215A22248B43   BRANDON           CARLINO                 AZ     90014350222
B5216453472B62   FELICIA           MARTINEZ                CO     33005054534
B5217829455959   SILVIA            OCHOA                   CA     48052058294
B52178A2976B27   MARTHA            BALENCIA                CA     46054408029
B52185A2554122   JOHN              FAVOR                   OR     90001725025
B52187A612B271   ADRIAN            THOMAS                  DC     90013427061
B52196AA34B541   MANUEL            ARTURO                  OK     90015046003
B5219763476B27   DENEED            BAKER                   CA     90014667634
B521B2A6124B64   ROSA              PINON                   DC     90013922061
B521B793131688   CALLEEN           MCCULLOCH               KS     90000227931
B522175767B443   KIMBERLY          ALEXANDER               NC     90009027576
B522263967B443   ARTURO            PONCIANA                NC     90014836396
B5223336A2B271   JAMIE             BATTLE                  DC     90001403360
B5223363855947   JASMIN            LOPEZ                   CA     90013023638
B52238A4354122   OCTAVIA           SILVESTRE               OR     90013948043
B5223A52991585   CORINA            LAZCANO                 TX     75025950529
B5223AA5A5B548   JESUS             GONZALES                NM     90005080050
B52245AA585927   DAVID             CLAY                    KY     90011195005
B5224731172B69   JULIO             GARCIA                  CO     33025887311
B5224A62476B27   ARELY             SEGURA                  CA     90013370624
B5225196993727   DENNIS            BUFORD                  OH     64530381969
B522565594B541   LEYDIANA          PICHARDO                OK     90005436559
B5226419333635   TARAH             RILEY                   NC     90005194193
B5227422691585   BRENDA            MEJIA                   TX     90013344226
B5227687554122   BRANDI            THAMA                   OR     90013616875
B5228478655959   CHRISTIAN         GOMEZ                   CA     90013974786
B52285AA585927   DAVID             CLAY                    KY     90011195005
B5228636772B69   REYES             MONCADA                 CO     33038956367
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2145 of 2350


B5228756872B94   TOSHA           HOLLIDAY                  CO     90013037568
B5228781393746   CARISSA         NEAL                      OH     90011637813
B5229981372B69   JAMES           ABEYTA                    CO     90015089813
B522B179276B27   DONNA           ORTIZ                     CA     46016591792
B522B5AA585927   DAVID           CLAY                      KY     90011195005
B522B87325B396   ELI             ZUBER                     OR     90013528732
B522BAA9443589   TAMMY           JENSEN                    UT     31028450094
B523164355B544   LUIS            VARELA-RIVERA             NM     90010456435
B5231A25985927   KEIRA           JOHNSON                   KY     90014090259
B523212167B489   DELISSA         BOULAR                    NC     90013261216
B5233355731688   MISTY           PANTLE                    KS     90012163557
B523347367B489   EVERETT         MORRIS                    NC     90013074736
B5233784555959   MARTHA          OLIVAREZ                  CA     90003137845
B5234241185927   BARRY           JACKSON                   KY     67067612411
B5234351293745   ROBERT          ROBINSON                  OH     90013783512
B523495625B561   KARLA ADRIANA   PEREZZ                    NM     90005039562
B5235487254122   BRIANNE         OWENS                     OR     90012834872
B5235693A72B69   CLAYTON         BOLTON                    CO     90014836930
B523578A554122   DEBBIE          OWENS                     OR     90011317805
B5236146A91585   JABARI          JENNINGS                  TX     90009921460
B5236425476B27   CRISTAL         OROZCO                    CA     90008744254
B5236726693758   HEATHER         MARKLAND                  OH     90013777266
B5236937631639   WARREN          GROVER                    KS     22093839376
B5237345955959   SANTOS          FRIAS                     CA     90014783459
B5237464A77977   JAY             CLARK                     IL     90015464640
B5238179193727   ASTRYD          RAMOS                     OH     64511571791
B5238264A5B541   ANTHONY         PETTIT                    NM     35084442640
B5238472991574   OMAR            BALLESTEROS               TX     90002914729
B5238A65455947   FERNANDO        HERNANDEZ                 CA     49072670654
B5239347393752   KARLA           BENTRUP                   OH     64566713473
B5239999391585   YOLANDA         VALENCIA                  TX     75086649993
B5239A37655947   LUIS            MURATALLA                 CA     90011300376
B523B566676B27   LESLIE          REYNOSO                   CA     90013715666
B5241249572B69   BRENDA          DOLORES                   CO     90005112495
B524159A193745   TAMMY           RICHARDSON                OH     64548925901
B5241882576B27   ROSEMARY        DOHRER                    CA     90015148825
B5242313843589   CHRIS           PODGORSKI                 UT     90012123138
B524244452B271   THEO            HARRISON                  DC     90009984445
B5242A34972B62   MARIO           PEREZ                     CO     33086950349
B52438A8455959   ISAAC           OSORNIO                   CA     48034738084
B5243A16761985   BRIANA          CAMPUZANO                 CA     46094250167
B5244413691524   DELGADO         BENJAMIN                  TX     90009624136
B5245127151343   LYDIA           AYERS                     OH     90009921271
B5245131391585   GABRIELA        OCHOA                     TX     90005171313
B5245863172B69   KEVIN           ASHCRAFT                  CO     33075728631
B5245A4552B271   NOBUNTU         MOYO                      DC     90014670455
B5245A52293752   JAMILA          MCCLAIN                   OH     90015200522
B5246138672B69   OLGA            BACA                      CO     90014911386
B5246182291585   LUDYNN          ZAVALA                    TX     90014571822
B5246965A77353   ARTHUR          LUCADO                    IL     90012539650
B5247315A72B26   TAMMY           THOMAS                    CO     33072083150
B5248487A5B265   DOMINIQUE       RHODES                    KY     90003004870
B5248514793738   BAKARI          ALSTON                    OH     90009195147
B524851635B265   DOMINIQUE       RHODES                    KY     90014975163
B5248534893752   CRISTIN         GESSMAN                   OH     90009025348
B524863555B555   VENESSA         JAMERO                    NM     90002716355
B5248687154122   JAVIER          LAZO                      OR     47048026871
B5249299293758   WILLIAM         WHITLOW                   OH     90009422992
B5249365993746   TONYA           STAPLETON                 OH     64566103659
B5249718972B49   BOOKANAKERE     NIRANJAN                  CO     90013177189
B524997952B271   MICHAEL         BLAND                     DC     90007999795
B524998A355947   JORGE           CONTRERAS                 CA     90014789803
B524B44897B347   NEGASH          SENBETA                   VA     81008974489
B524B72657B489   SCOTT           MCKINNEY                  NC     90013167265
B524B739391585   DERICK          COTTMAN                   TX     90012757393
B524B857993745   MICHAEL         BROOKS                    OH     90013208579
B524BA91455947   KIMBERLY        LOUISE WASHINGTON         CA     49096690914
B5251168955947   MONICA          RODRIGUEZ                 CA     90010971689
B5251493143589   SHANNON         BARNES                    UT     31094674931
B5251533333635   MICHAEL         CRISP                     NC     90014305333
B5251722131639   DIANE           MATNEY                    KS     22074447221
B5252138672B69   OLGA            BACA                      CO     90014911386
B52521A7491863   SKYLER          BORUM                     OK     90008141074
B525231465B396   ANNA            BECK                      OR     44573213146
B5253164593758   JAMES           CUSHBERRY                 OH     90008831645
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2146 of 2350


B5253324672B62   ANGELA       THOMAS                       CO     90007983246
B5253931357565   CYNTHIA      DELANOY                      NM     90008189313
B5254131824B64   JOANN        GOODMAN                      DC     90006991318
B5254354585927   KRYSTAL      FROST                        KY     90014703545
B5255488771929   PRESTON      BECKMON                      CO     90007794887
B5255886333625   TAMARA       WALKER                       NC     90012238863
B5256224A72B69   MEDIA        MUNDY                        CO     33035132240
B5256A55A54122   KRYSTA       MEYERS                       OR     90010230550
B5257343331639   KAYLA        MADRIGAL                     KS     90011523433
B5257A3A54B52B   KRISTEL      WHITE                        OK     90005080305
B5257AA7791881   DAVID        DAVISON                      OK     90010510077
B5258767A5B396   DENISE       CUDE                         OR     90013327670
B5258784343589   ADRIANA      CARDONA                      UT     90004997843
B5258818572B69   SILVIA       RAYES                        CO     90011068185
B52589A766149B   BREANA       HOLLOWAY                     OH     90012139076
B5259167793752   ANN          TAYLOR                       OH     90010931677
B5259524972B62   KRISTINA     RETANA                       CO     90000665249
B5259666176B27   KAREN        BRUYETTE                     CA     90004296661
B5259A26554122   MELISSA      EVENHUS                      OR     90007540265
B525B126355947   LEA          SANCHEZ                      CA     90014641263
B525B383661987   JOSE ABEL    AGUAYO                       CA     90005743836
B525B42745B396   WHITEHOUSE   MEGAN                        OR     44549574274
B5261327661925   MOISSE       CARRILLO                     CA     90009393276
B5261919791585   ELLOA        PEREZ                        NM     75016559197
B5262174291585   OSCAR        ABRAHAM                      TX     90014431742
B5262661354122   TISHA        LEE                          OR     47026996613
B5263171672B69   CLOTILDE     FERGUSON                     CO     33079141716
B5263457355959   BLANCA       BARRON                       CA     90000964573
B5263735993745   ANTHONY      WOLLUM                       OH     90013587359
B5264198743589   BRENDA       LOYA                         UT     90013151987
B5264342831688   CRYSTAL      JOHNSON                      KS     22097153428
B5264411231639   MARLANA      SORRELS                      KS     90000904112
B526485827B489   TIFFANY      SADLER                       NC     11072398582
B5265647576B27   RONALD       SCHAEFER                     CA     90012226475
B5267238943589   ALFREDO      RODRIGUEZ                    UT     90011572389
B526744A991585   JUAN         LOERA                        TX     90009774409
B5267485161987   SAUL         MELENDEZ                     CA     90005744851
B526845937B489   TANICA       WILKERSON                    NC     90013544593
B5269385493758   CAROLYN      WOODS                        OH     90000953854
B5269884655959   GUSTAVO      MENDOZA                      CA     90012338846
B5269952793745   KIMBERLY     MILLER                       OH     64572959527
B526B239676B27   ALEX         FIGUEROA                     CA     90004942396
B526B43945B265   SAMANTHA     WALNEY                       KY     90009464394
B526B625143589   JENNIFER     FRANCHINA                    UT     31046636251
B526B821993745   CASEY        BAILEY                       OH     90000928219
B527242212B246   MARQUES E    LABBE                        DC     90007044221
B5272436393752   TONEE        DELELLIS                     OH     90009604363
B527243A891585   MICHAEL      REYES                        TX     90007584308
B527249432B271   JOVAN        JOHNSON                      DC     90014874943
B52726AA243589   LANDON       WHITTINGTON                  UT     90010976002
B527321A843589   MARK         STEWART                      UT     90014482108
B5273226185941   KAYLA        BROWN                        KY     90015162261
B5273524993745   DESTINY      HARVEL                       OH     90012965249
B5273867991585   ENRIQUE      CABRAL                       TX     90013838679
B5274142A42332   JONATHAN     SHRUM                        GA     90002521420
B5274593593758   SHANNON      LEDFORD                      OH     90014135935
B5274662461971   ELIUTH       MONTERRUBIO                  CA     90010646624
B5275282455959   ANAID        BERNAGA                      CA     48097112824
B527533387B489   JUAN         LOPEZ                        SC     90007593338
B5275362972B69   IMANI        SIFULRASUL-LATIF             CO     33053833629
B5276879677523   JESSE        STACKHOUSE                   NV     90011398796
B5277126A72B62   JOSHUA       VELASQUEZ                    CO     33097821260
B5277A74155947   DEBORA       RIOS                         CA     90014670741
B5278526843589   KIMBERLY     FACKRELL                     UT     90009245268
B527863265B396   MEMORY       STRONG                       OR     90004706326
B52792A4372B94   OLGA         HERNANDEZ                    CO     90006752043
B527955A731639   SHANE        EAST                         KS     90013905507
B527988552B841   FISSEHA      BEIN                         ID     90014108855
B527B378193745   TAMIKA       MCMAHON                      OH     90012523781
B527B41375B541   KARLA        PALOMINO                     NM     90013304137
B527B662731639   SARENA       OLIVER                       KS     90008676627
B527B86274B563   EMERSON      LOPEZ                        OK     90008468627
B5281519193758   JOSEPH       MCGOVERN                     OH     64559755191
B5281A3A97B443   JURNEE       CUNNINGHAM                   NC     11058410309
B5281A95693752   TRACIE       BROWN                        KY     64536270956
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2147 of 2350


B528248AA54122   CASY         MARMON                       OR     90012324800
B5282537285927   RAYMOND      STONE                        KY     90000465372
B5282962333634   SAMYA        TUQAL                        NC     90010069623
B528298222B271   MARCUS       HILL                         DC     90013849822
B5283498787B54   SHAMEISHA    MCCLAIN                      AR     90013004987
B5283583231639   SETH         SHEPHARD                     KS     90003415832
B528387553B359   JAY          CARPENTER                    CO     90005868755
B5283A79143589   LIGIA        PACHECO                      UT     31077020791
B528411132B271   SARAH        JONES                        DC     90008841113
B5284A8545B396   JESSICA      POPE                         OR     90012850854
B5284AA275598B   PHILIP       BRUCH                        CA     90015040027
B5285145A51347   JODI         GLASER                       OH     90013941450
B5285268893727   JOSEPH       SHELLEY                      OH     90012842688
B52853A3185927   MISTY        SHELTON                      KY     90014683031
B5285741A93752   NAILAH       RHOADES                      OH     90014067410
B5286198776B27   NAHID        HABIB                        CA     90014361987
B528712962B271   MICHAEL      WALKER                       DC     90013261296
B5287136776B27   MARIA        MARTINEZ                     CA     90014551367
B5287687A5B396   SARAH        STOLP                        OR     44511056870
B5287876793745   KELLY        BINEGAR                      OH     90014738767
B528789695B265   DOMINEQUE    FOWLER                       KY     90008808969
B5287A47393752   RICK         HOWARD                       OH     64518720473
B5287A65172B62   AMANDAJEAN   JEAN                         CO     90013010651
B5288224821B42   CARLOS       FIGUEROA                     TX     90013222248
B5288337755959   ESMERALDA    ROBLES                       CA     90014423377
B5288487943589   TODD         FRANK                        UT     90015264879
B528B169191573   JAQUELINE    BOUCHE                       TX     90010691691
B528B255A93752   THOMAS       HOSKEN                       OH     90011972550
B528B445841237   KRISTIE      MARRACCINI                   PA     90004634458
B528B497993727   SHUNN        CASLIN                       OH     64568394979
B528B746472B69   MARTA        OLIVIA CHACON                CO     90012927464
B528B98852B271   SHAUNTA      JACKSON                      DC     90000409885
B529198A293745   DONOVAN      BODDIE                       OH     90014769802
B529264218B859   DANILO       ISIDRO                       HI     90014356421
B5292672A76B27   GABY         MORALES                      CA     46076626720
B5292775A2B271   MARK         WOODARD                      DC     90012937750
B5292797A93727   BERNIECE     BLACKBURN                    OH     90015257970
B5292938655959   RUED         LUZAN                        CA     90007509386
B529347385B396   MARIA        HERNANDEZ                    OR     44562574738
B5293787A72B62   ALISON       HAMMOND                      CO     90009137870
B5294894176B27   ANTONIO      REYES                        CA     46043988941
B5294953793758   TERRY        ELDER                        OH     90010329537
B5295136572B69   JOANNE       BENNETT                      CO     33068771365
B5295236893727   JOSEPH       SIMPKINS                     OH     90013012368
B5295475293745   JOHN         WHEELER                      OH     90013824752
B5295566676B27   EVA          RODRIGUEZ                    CA     90014895666
B5295995A43589   BECKY        STIVERS                      UT     90011029950
B529617565B592   JESUS        SALAS PAREDES                NM     36051341756
B5296259491585   VANESSA      SOTO                         TX     90014472594
B5296397191248   FRIPP        MEGAN                        GA     14587643971
B5296567391585   JANIS        CARROLL                      TX     75013725673
B5296656293752   COLTON       GEIGER                       OH     90013836562
B5296678193758   ROGER        LESTER                       OH     64562466781
B529729735B396   LAURIE       MORRIS                       OR     90004642973
B5298161A72B69   LAURA        MORITA                       CO     90005671610
B529876985B338   ROLAND       REED                         OR     90000447698
B5299274476B5B   DANIEL       DENNIS                       CA     90007142744
B529B537493758   ROSALIND     LEININGER                    OH     90003395374
B529BA63143589   JULIE        ROMERO                       UT     90014610631
B52B1334455959   PETRA        GONZALEZ                     CA     90014943344
B52B1489143589   JUDITH       JOE                          UT     31043374891
B52B1837385927   ABDOULIE     DARBOE                       KY     90014118373
B52B1A61355947   ANTHONY      KROPF                        CA     90013230613
B52B26A685B541   MISAEL       GONZALEZ                     NM     90007946068
B52B3785743589   CODY         MILLER                       UT     90014727857
B52B3873966242   JAMES        WRIGHT                       MS     90014138739
B52B4588972B62   MOLLY        WILSON                       CO     33087855889
B52B4921493758   JOHN         PERSON                       OH     90010989214
B52B587825B265   ANTONIO      BOSWELL                      KY     68041528782
B52B6553A5B332   DIANE        KOLIBABA                     OR     90002405530
B52B7323843589   EDGAR        MENDIOLA                     UT     90010813238
B52B7784761987   JESUS        ROSALES                      CA     46008057847
B52B8411585927   REBECCA      GUYN                         KY     90011194115
B52B866224B537   CHARLES      LOWE                         OK     90011126622
B52B91A9336B98   LINDSAY      BAKER                        OR     90008071093
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2148 of 2350


B52B9433785927   REBECCA       GUYN                        KY     90011194337
B52B9461631428   JEFFERY       HANKS                       MO     90012474616
B52B95A273B388   ELLEN         GILBERT                     CO     90014175027
B52BB469555947   CHRISTINA     IMELL                       CA     49027854695
B52BB476193745   ASHLEY        DAVIDSON                    OH     64540504761
B52BBA21472B62   IRENE         ARAGON                      CO     90013010214
B5311979A91554   VERONICA      ALVARADO                    TX     90007849790
B53119A1555972   VALERIE       MEDELLIN                    CA     49042859015
B5312286372B69   JACOB         GINN                        CO     90014752863
B5312943491222   ADORACION V   HEROLD                      GA     90011849434
B5312A89191885   CURTIS        CARSON                      OK     21091240891
B53135A7555959   NEDA          ROMAN                       CA     90009005075
B531416757B443   ROSS          LEVALLEY                    NC     90014671675
B5314272976B27   SONIA         PEDRO                       CA     46005672729
B5314364233635   KARINA        MORALES                     NC     18006733642
B5314998685927   BRANDON       WRIGHT                      KY     90015309986
B5315244191585   GONZALO       MARTINEZ                    TX     90003212441
B531644A42B271   ROBIN D       RICHARDSON                  DC     90013144404
B5316713693758   ANN           CASKEY                      OH     64559687136
B5317254985927   CORRAI        CEBREROS                    KY     67065472549
B5317354393727   JOHN          KENNARD                     OH     90014383543
B5317827254122   SONDER        SHERMAN                     OR     90011458272
B5318143931639   DON           SIMLER                      KS     22039801439
B531851A171964   SHAYLA        BENNET                      CO     32098715101
B5318581343589   BRITTNEY      MAGOON                      UT     90014695813
B5318884954122   MARTA         TRAXTLE                     OR     47037608849
B5318A9A943589   MOISES        ORILLANO                    UT     90012730909
B5319899655997   MONICA        MARIZETTE                   CA     49037768996
B531B849831688   RICHARD       UHRICH                      KS     22018578498
B531B8AA993726   STEVEN        KAHMSE                      OH     90005168009
B531BA62293727   JERRI         SWITZER                     OH     90010640622
B5321982655947   MARLA         KETCHUM                     CA     49040789826
B5322171831639   MALEIK        MILNER                      KS     90010211718
B5322628791585   VERONICA      PADILLA                     TX     75045236287
B5322637A2B841   JUSTIN        STENBACK                    ID     90013956370
B5322839191222   COURTNEY      MCGROT                      GA     90011328391
B5323676193752   BRANDI        ANDERSEN                    OH     64565566761
B5324157A93752   SIRAK         YOSEF                       OH     90012561570
B5324244891585   JULIAN        ORQUIZ                      TX     90012642448
B5324755954122   ADRIEL        NEVLER                      OR     90008677559
B5325345291585   VALERIE       DEREGO                      TX     90002243452
B5325718855959   MARIBEL       ORTEGA                      CA     90011537188
B5326561693758   SHAWN         ROSCOE                      OH     90012905616
B5326998185927   BETTY         PAYTON                      KY     67045409981
B53271A9391585   JUAN          SALCIDO                     TX     90012221093
B53277A3393758   THERESA       FRY                         OH     64501737033
B53277A9672B69   JASON         SPRINGFIELD                 CO     90004897096
B5327A53785927   CRYSTAL       JAMES                       KY     90000260537
B53286A1293727   EDITH         TURPIN                      OH     90011766012
B5328998285927   JAMES         CAUDILL                     KY     90013409982
B532B44185B396   ANGEL         ZAMORA                      OR     90013984418
B532B849591585   LUTTER        MELISSA                     TX     75077508495
B532B953485927   LUZ ELENA     ENRIQUEZ                    KY     90013759534
B532BA96A7323B   NANCY         LAQUINT                     NJ     90012880960
B533141225B25B   TROY          BROWN                       KY     68001504122
B5331899391585   NORMA         MARTINEZ                    TX     90010248993
B5331A72654122   HUMBERTO      GASPAR                      OR     90013990726
B5332216372B62   MARK          JACQUEZ                     CO     33089602163
B533266615B265   TAMMI         PURKINS                     KY     68012396661
B5332A16843589   TERESA        PATINO                      UT     90012440168
B5332A97555947   EMETERIO      GUTIEREZ                    CA     90013030975
B533312452B271   TISA          DAVIS                       DC     90008961245
B53331A1255947   SALLY         PERAZA                      CA     90000971012
B5334997455947   RENEE         MUNOZ                       CA     90012289974
B5334A52984354   CARISSA       CHISOLM                     SC     90004720529
B5335684872B69   SARA          RYAN                        CO     90012466848
B5335967736B98   ROBERT        BROWN                       OR     90011519677
B5336184454122   JESSICA       WOLKERS                     OR     90010311844
B53372A6943589   RON           RIDLEY                      UT     90014032069
B5338443176B27   CAROLE        PUAAULI                     CA     90012184431
B5339247861987   HUGO          GUZMAN                      CA     90009222478
B5339455891248   JENNIFER      MATHENIA                    GA     90012434558
B5339561693758   SHAWN         ROSCOE                      OH     90012905616
B533B426191585   MARCO         LUNA                        TX     75091334261
B533B922172B56   GENO          MARCHETTI                   CO     33026399221
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2149 of 2350


B5341143131639   CHRIS          HURSEY                     KS     22096191431
B534149655B265   PHIL           CHERRY                     KY     90009054965
B5341547255959   GERARDO        VELASCO                    CA     48064915472
B534192163B325   NANCY          ALFARO                     CO     33084939216
B5342824761987   CARMEN         MADERA                     CA     90005828247
B5342A4577B489   ANNER          GARCIA                     NC     90011770457
B5343163331688   JOSEPH         ARAGON                     KS     90006391633
B5343282255947   GUADALUPE      BAEZ                       CA     90012762822
B534341725B569   MICHAEL        PIOTTI                     NM     90013164172
B5343761593745   MATTHEW        WHALEY                     OH     90011177615
B5343775A54122   NOLA           PIERSON                    OR     47066207750
B5343927555947   ANGEL          MELENDEZ                   CA     90009899275
B5344539291585   JOSE           MANCILLAS                  TX     75023985392
B53447A3372B69   HUGO           MARTINEZ                   CO     90006317033
B5345815555947   BELLA          GONZALEZ                   CA     90002518155
B5346186893752   JANITA         THOMAS                     OH     90014151868
B5347114272B62   CLAUDIA        ORTIZ-MATA                 CO     90013021142
B534723A37B334   SANTOS         MARTINEZ                   VA     81004742303
B5348126424B28   MICHELLE       WINTERS                    DC     81035601264
B5348384531639   CYNTHIA        DEERFIELD                  KS     90004123845
B5348671424B55   JEFFREY        SWEENEY                    MD     90015536714
B5348A81872B98   JESSICA        THOMPSON                   CO     90005940818
B5349495172B69   REBEKKA        SANCHEZ                    CO     33072664951
B534B672A71936   LAURA          SILVA-RODGRIGUEZ           CO     90012236720
B534B848591248   JOHN G         FERGUSON                   GA     14598308485
B5351114972B62   TIMOTHY        RADCLIFFE                  CO     90013021149
B5352257A43589   CHAD           MANGUM                     UT     90001572570
B5353528754122   TRAVIS         STEWART                    OR     90015495287
B535371687B489   HONG           CHULKIM                    NC     90014897168
B5354357676B27   GREGORY        WORKMAN                    CA     90003033576
B535482865B396   JOHN           HUBBARD                    OR     90014718286
B53551A9555947   SEANTEYVIA     ROBINSON                   CA     90009091095
B5355535261987   YADIRA         TURNER                     CA     90005855352
B5355639293746   CODY           DORNON                     OH     90007606392
B5355951491585   DENISE         PRIEVE                     TX     75081839514
B5356888954122   NICHOLAS       KENDRICK                   OR     90014448889
B5357156A93745   JUSTIN         SILVERS                    OH     90010251560
B5358123A61976   EFRAIN         ANGUIANO                   CA     90000971230
B5358326772B69   EDWIN          MAZARIEGO                  CO     90013603267
B5358564731639   JOHN           BOHN                       KS     22037855647
B5358A73855997   ERICK          PEREZ                      CA     49091470738
B5358AA4654122   DEONDRE        CLOMAN                     OR     90015520046
B5359586A93727   LAURA          RIVERA                     OH     90012115860
B535B21374B576   KAREN          SURLOUGH                   OK     21576042137
B535B688593745   TIMOTHY        AKINS                      OH     64590476885
B535B82A393752   NICOLE         HODGES                     OH     64589248203
B5361459555959   OFELIA         MEZA                       CA     90012234595
B5362198454122   SCOTT          BLOMBERG                   OR     90015141984
B536223892B271   TIERRA         BUTLER                     DC     90015212389
B536252115B548   DAVID          NARVAIZ                    NM     35017855211
B5362644943589   MEADE          MATT                       UT     90007416449
B5362886493758   LADONNA        STEELE                     OH     90013688864
B536337918B14B   BRIAN          SIMPSON                    UT     90004303791
B5363A69A72B69   RICARDO        MUNIZ                      CO     90008410690
B536445995B396   CYNTHIA        WASHINGTON                 OR     44545484599
B5364637693727   CELINA         COX                        OH     64517956376
B53646A8872B69   NICOLE         NINEMIRE                   CO     90003526088
B5366336693727   NATASHA        HUNT                       OH     90010573366
B536675187B478   OLIVIA         SPANN                      NC     90009737518
B536686A472B62   JORGE          SEGOVIA ORDAZ              CO     33013308604
B5366A4964B232   CRAIG          BENNETT                    NE     90000970496
B5366A51231639   JANELL         EDRIS                      KS     22095520512
B5367651191585   TRAVELL        HARMON                     TX     75054586511
B536771442B271   FRANCISCO      PEREZ                      DC     90013937144
B5368182A43589   MANDI          ROBERTS                    UT     90014281820
B5368259772B69   SHAKIRAH       MANN                       CO     90010222597
B53683AA451391   MICHAEL        LUTTRELL                   OH     90010013004
B5368815491574   VIRGINIA       VASQUEZ                    TX     90009098154
B5368837155972   MARGARET       MEDINA                     CA     49047918371
B5368A98176B27   CHRISTY        DAVIS                      CA     46029380981
B536912858B183   LUIS EDUARDO   SOSA                       UT     90005601285
B5369265285927   JOSH           SOUTHWORD                  KY     90012812652
B5369679672B62   FRNCISCO       ZAMBRANO                   CO     33023436796
B536B466931468   JUDI           ROURKE                     MO     90010824669
B536B479291585   KARLA          CORREA                     TX     90014074792
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2150 of 2350


B537179415B396   TAILEE         MATHIS                     OR     90006327941
B537194812B883   TOMMY          ESLICK                     ID     90012259481
B537223847B489   KENNETH        LITTLE                     NC     90004992384
B537267A272B69   MARIA          HERNANDEZ                  CO     90010766702
B5373592755972   ANDREA         CARRILLO                   CA     90005395927
B537363292B271   EBONY          LEWIS                      DC     90014886329
B5374767555959   LETICIA        FLORES                     CA     90005567675
B5374873772455   THOMAS         WOGAN                      PA     90011508737
B5375547255947   SITLALIT       BALDERRAMA                 CA     90012355472
B537596462B277   MARKEITH       HARVIN                     DC     90014719646
B5375A3275B396   CRYSTLAL       GALLAGER                   OR     90006840327
B5376247431688   PAULA          ABRAHAM                    KS     22039282474
B5376825376B27   DONNA          BLACKMON                   CA     90013958253
B5376A74293758   CONNIE         THOMAS                     OH     90010990742
B537756685B548   DAVIREE        PENA                       NM     90012935668
B537771965B548   DAVIREE C      PENA                       NM     90014727196
B5377A2A95B396   LINDA          GUTIERREZ                  OR     90014640209
B5378219393752   RANDALL        BURKE                      OH     90013432193
B5378828693758   ERICA          NORMAN                     OH     90015218286
B537886895B396   MATTHEW        HILL                       OR     90006048689
B537892AA85927   COURTNEY       GREENWELL                  KY     90014639200
B5378942624B64   FREDERICK      FLETCHER                   DC     90011879426
B537947995B396   JEREMIAH       FULLER                     OR     90008154799
B53798A3271944   CHRISTI        JAMISON                    CO     32067308032
B537B776A55959   LURDES         VELES                      CA     48083457760
B5382266972B62   ANGELA         LOMBARDI                   CO     90012702669
B5382387536B98   YAIR           OCHOA                      OR     44550873875
B5383365555972   JAVIER         MACIAS                     CA     90006763655
B5383426531688   RON            WATSON                     KS     22006394265
B5383453493758   TRACY          RUCKER                     OH     64559754534
B5383594A43589   LARRY          PILLIAM                    UT     90011215940
B5383687672B69   NESTOR         AMAYA                      CO     90011146876
B5383866736B98   DENNIS         FOSTER                     OR     90014538667
B5385368693745   KAMI           MASSIE                     OH     90013543686
B5385A63143589   JULIE          ROMERO                     UT     90014610631
B53861A6991585   IVAN           JARAMILLO                  TX     90010191069
B5386215A5B396   FAITHANN       KING                       OR     90003722150
B5386226A93745   AMBER          JEFFRIES                   OH     64520452260
B538644A37B443   JOSE           AMAYA                      NC     90005154403
B538743A393727   BRANDI         FOSHOT                     OH     90005724303
B538779435B396   MARIUS         MUTARA                     OR     90010927943
B5387963876B27   ROCEICELA      SANCHEZ                    CA     46044819638
B5387993191585   JENNIFER       SAMANIEGO                  TX     90008739931
B5387A93A55959   ROGELIO        OROZCO                     CA     90011970930
B538891A572B29   THERESA        CARDONA                    CO     90008719105
B538949573B396   MUNKHTSETSEG   CHADRAABAL                 CO     90007824957
B5389998843589   KATHIE         TAYLOR                     UT     90008979988
B5389A24331639   CLASSIE        TOWNES                     KS     90010440243
B538B186A55927   NANCY          ROJAS                      CA     90006011860
B539114325B396   CHRISTINA      RODRIGUEZ                  OR     90015071432
B53914A9461925   ERIKA          MARTINEZ                   CA     90010254094
B53923A9855959   IRENE          LOPEZ                      CA     48043583098
B5392797293727   MARGARET       BOHMAN-STEFAN              OH     90013647972
B5393625585927   DARIEN         MCELROE                    KY     90013706255
B53943A367B489   RONALD         BARNETT                    NC     90014853036
B5394625193758   ANDRE          COKES                      OH     90010276251
B5395463555959   BERENICE       URRUTIA                    CA     90012104635
B5395896631639   BRIAN          HOY                        KS     90013848966
B5396295776B27   JUAREZ         JUANIT                     CA     90006522957
B539716485B396   LESLIE         LUVIA                      OR     90013761648
B5397679355959   CARLOS         REYES                      CA     90006846793
B5397A43685927   TWO            LACE                       KY     90013060436
B5398325985927   FEDERICO       VELAZQUEZ                  KY     90011483259
B5398613693752   STEVE          CARRERA                    OH     64534136136
B5399313272B69   CINDY          GONZALEZ                   CO     90014373132
B5399A13391585   KRISTIANZE     ESPINOZA                   TX     75027580133
B539B455891248   JENNIFER       MATHENIA                   GA     90012434558
B539BA65555972   STEVE          BROWN                      CA     90006410655
B539BA86872B62   JOSE           ACOSTA                     CO     90013010868
B53B1172455947   MAURICIO       HERNANDEZ                  CA     90013841724
B53B1963593752   GEORGE         DANGERFIELD                OH     90012599635
B53B2948291585   ROBIN          VELEZ                      TX     75087209482
B53B4246691554   ADOLFO         SEPULVEDA                  TX     90010362466
B53B4778955959   MARIBEL        ESPARZA                    CA     90011377789
B53B5668293745   COURTNEY       COOPER                     OH     90015106682
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2151 of 2350


B53B6526755959   ADAN            VARGAS                    CA     90010405267
B53B6627A91585   LOURDES         RODELO                    TX     90009506270
B53B6A78A93758   CASEY           TOWNSEND                  OH     64510400780
B53B747837B489   BRENDA          PLESS                     NC     90013054783
B53B7797791585   ROBERTO         MELENDEZ                  TX     90014237977
B53B7893272B69   NANCY           RODRIGUEZ                 CO     33027848932
B53B7924693758   BILLIE          BITTNER                   OH     90002559246
B53B7A9144B283   KISHA           MOORE                     NE     90011070914
B53B8816197B31   HEIDI           MASLOBOEV                 CO     90006728161
B53B8A3557B489   CHASITY         WICKS                     NC     90015510355
B53B9764743589   JARED           KELLY                     UT     90013757647
B53BB184885927   CANDACE         MADISON                   KY     90014581848
B53BB239172B62   MELODY          MCALLISTER                CO     33008702391
B53BB629193758   PATRICK         MARSHALL                  OH     90010356291
B53BB969A3B365   TAMMY           KIMBREL                   CO     33030109690
B53BBA13255972   OSCAR           FLOWERS                   CA     49058440132
B541113662B221   SHAKARA         RANDOLPH                  DC     90013721366
B5411516755972   JOHN            ALATORRE                  CA     49000905167
B5412372455959   RIGOBERTO       DE LA CRUZ                CA     48097573724
B5413849676B27   MARY            BERA                      CA     46087778496
B541395742B271   BILL            HERNANDEZ                 DC     90012939574
B5414A56355947   LARRY           OHANO                     CA     49041340563
B5415933291928   VICTOR MANUEL   ESCOBAR                   NC     90011469332
B541631175B265   TAMMY           LEONHARDT                 KY     90009683117
B5416341193752   ONA             UPSHAW                    OH     64502233411
B5416757972B62   SHAWNNA         DURHAM                    CO     33090417579
B541728A885927   MARK            SMITH                     KY     67009842808
B5417377791524   EDUARDO         URENA                     TX     90013963777
B5417387155959   JUAN            CARRASCO                  CA     90012043871
B5417699831639   MICHELLE        FRANKLIN                  KS     90013576998
B5417741555947   PABLO           AVILA                     CA     90013367415
B5417831A7B489   JOSE QUNTIN     ARITA                     NC     90013178310
B541818A233635   WENDY           SIMMONS                   NC     18014081802
B54187A9355963   IVAN            RODRIGUEZ                 CA     90013847093
B541938177B443   ISMAEL          PALACIOS                  NC     90004423817
B5419714593727   BARBA           SIRGIO                    OH     64587027145
B541B426A31639   MARKEETTA       PRYOR                     KS     90004614260
B541B566885927   SUBHI           ALI                       KY     67061605668
B541BA42151339   BREE            BERRY                     OH     90012780421
B5421183355959   GENE            JUSTO                     CA     90015271833
B5421824131639   FLORENDA        MONTGOMERY                KS     22073818241
B5421971885927   TANYA           SMITH                     KY     90011209718
B5422768172B69   AMY JO          SUTTON                    CO     90009917681
B542289797B387   MONIQUE         JORDAN                    VA     90013018979
B5422913172B62   JANESE          STAGGS                    CO     33054599131
B5422A77A91248   VERONICA        ROGERS                    GA     90012120770
B5423158193745   BARBARA         ALLEN                     OH     90014331581
B5423672491585   JOSE            MIRAMONTES                TX     75021126724
B5423696555959   RAFAEL          AYALA                     CA     90005756965
B5423862472B62   JOEL            ARIAS                     CO     90011568624
B542389A876B27   CAROLINA        BENITEZ                   CA     90000538908
B542442A172B62   ARMIDA          MORENO                    CO     33072174201
B542452545593B   PATRICIA        MUNOZ-GARZA               CA     90001735254
B5424A53A93758   JOCELYN         LOVE                      OH     90008700530
B5425139A2B271   MICHAEL         KEMP                      DC     90006941390
B5425311993758   TOSHA           CLEMMER                   OH     64588353119
B5425363372B62   MARCO           MARTINEZ                  CO     90009743633
B5425397455959   JOSEPH          ROBINSON                  CA     90014093974
B542569252B271   JOSE LUIS       RAZO                      DC     90013526925
B5426759361937   ANDRES          MARTINEZ                  CA     90011587593
B54273A4872B69   SYLVIA          RODRIGUEZ                 CO     90007143048
B5427696672B62   IRASELA         CORDOBA                   CO     90007316966
B54276A3855947   RICARDO         MAYORGA                   CA     90014596038
B542796722B271   NWABUNWANNE     EMEKA                     DC     90012939672
B5428499293745   DANIEL          SHAW                      OH     64538404992
B5428513172B62   ERNESTO         FRIAS                     CO     90000445131
B542888165B265   SHAYLA          RHODES                    KY     90002508816
B5429A74785927   DEBRA           HAMM                      KY     90002040747
B5429A94572B62   RUTH            YAC PASTOR                CO     90013010945
B542B56A593752   MONICA          WOLFORD                   OH     64527035605
B542B96782B271   LAURENCE        PARKS                     DC     90012939678
B5431144636B98   KARRIE          JOHNSON                   OR     90014301446
B5431311993758   TOSHA           CLEMMER                   OH     64588353119
B5431772972B62   DESSEREY        FLORES                    CO     90014477729
B5431792231688   SCOTT           DELANEY                   KS     22077227922
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2152 of 2350


B5432394193752   JOSH         MEYER                        OH     90012423941
B5433457791585   FRANCISCO    RUIZ-AGUILAR                 TX     75017894577
B5434777A55947   LUZ          LARIOS                       CA     49096177770
B543565312B232   JUSTINA      PETTWAY                      DC     90008736531
B5435734572B62   CAMACHO      CARLOS RICARDO               CO     33090207345
B54358A9885927   ASHLEY       JOHNSON                      KY     90006598098
B5437144A76B45   ADRIAN       BAILON                       CA     90013971440
B5437886872B69   JAY          HADDOCK                      CO     33096248868
B5438351554122   RAMONA-RON   WILKINSON                    OR     90012103515
B5438791757568   ZULEMA       RHOADES                      NM     90011957917
B5438846291972   JOHN         TINSLEY                      NC     90008738462
B5438A19724B33   CARLOS       GIRON                        DC     90012210197
B5439241672B69   MITCHEL      BICKFORD                     CO     90009092416
B5439343755947   DER          VANG                         CA     49097913437
B5439491A72B62   DIANA        ESTRADA                      CO     33050434910
B543B462993745   AMANDA       HODSON                       OH     64511434629
B543B822A93758   RETINA       WHALEN                       OH     64579308220
B543B84A58B139   KORY         POULSEN                      UT     31013358405
B543B948454122   MICHEAL      POTTER                       OR     47013839484
B544111218B13B   CAROLINA     PAZ                          UT     90004141121
B54412A724B235   MICHAEL      GONZALEZ                     NE     90010112072
B5441343755947   DER          VANG                         CA     49097913437
B5441363972B62   THERESA      RATCLIFF                     CO     90003813639
B5441888885927   TOMONICA     COOPER                       KY     90013198888
B544191182B26B   DAVID        SANDERS                      DC     90013079118
B54419A8231639   LEONARD      WEBB                         KS     22094099082
B5441A72991585   OLGA         HERNANDEZ                    TX     90006780729
B5442513843589   MARTHA       HERNANDEZ                    UT     90013985138
B5442796372B62   BRANDON      CORTEZ                       CO     90002357963
B544359A95B396   ANTHONY      VARRA                        OR     44555715909
B5443924172B62   TESFAYE      TUSSA                        CO     90011299241
B544468864B583   ROBIN        SWEARINGEN                   OK     90012446886
B5444751A7B489   MELLISSA     MALCOLM                      NC     90009397510
B544481657B32B   RONALD       TILLER                       VA     90001808165
B544552225B396   SALLY        WILLIAMS                     OR     90009785222
B544565897B489   SHAYNA       DOWNEY                       NC     11045426589
B5446147572B84   BYRON        MEIER                        CO     33002061475
B5446169991585   MATHA        GONZALEZ                     TX     75078171699
B5446542441236   MICHELLE     SUNDY                        PA     90004145424
B544668535B561   NATHANIEL    ORTIZ                        NM     90001696853
B5446918131639   IRIS         FLORES                       KS     90008269181
B5448286751329   SEAN         EDWARDS                      OH     66093362867
B5448A97A72B62   PEDRO        CABALLERO                    CO     90013010970
B544952AA2B271   GAIL         PEELE                        DC     81077185200
B5449555555959   MARIA        TRUJILLO                     CA     90013245555
B544965A572B69   KAREN        STRONG                       CO     90009596505
B5449839141464   TENIA        WELCH                        WI     90002508391
B5449A5484B248   JASON        MARKS                        NE     90008520548
B5449AA2393745   HEATHER      TOPPINS                      OH     90009390023
B544B695893758   KEVIN        GREENE                       OH     64510406958
B544BA3232B271   ANTONIA      MOLINA                       DC     90012940323
B54515AA872B69   ALBERTO      DOMINGUEZ                    CO     33062885008
B5451A43872B62   SAMUEL       LEAL                         CO     33019250438
B5451AA4554122   LISA         PATCHETT                     OR     90009840045
B545211A876B27   LORENZO      LUCAS                        CA     46067931108
B545239A891585   TIANA        ACOSTA                       TX     90014833908
B545253327B489   MARCOS       VALVERDE                     NC     90009195332
B545261A85B396   DELMI        RUIZ                         OR     90013946108
B5452659271946   ARTHUR       FUENTEZ                      CO     90000956592
B5452673193727   SHIRLETA     NAPIER                       OH     90007586731
B5453456441236   RICKY        DAVIS                        PA     51041514564
B545361763B352   BRENDA       PATTERSON                    CO     90013776176
B545382692B271   LATOYA       JACKSON                      DC     90004088269
B545415197B489   ASHLEY       ADAMS                        NC     90012771519
B5454735993745   ANTHONY      WOLLUM                       OH     90013587359
B5455169193745   MICHAEL      TROUTWINE                    OH     64545581691
B5455322885927   BIRDSONG     DESTINY                      KY     90005293228
B5455587276B27   JOSE         RIVERA                       CA     46071715872
B5455896A2B271   WILLIE       MCPHERSON                    DC     90014758960
B5455964493758   DEVON        HAUK                         OH     90013449644
B5456164391844   JAIME        MARTINEZ                     OK     90008241643
B5456262355959   DENISE       VARGAS                       CA     90014082623
B545628638B145   CHAD         BENNION                      UT     31013532863
B5456522543589   VANESSA      CISNEROS                     UT     90014615225
B5456614885927   TAMESHA      CHENAULT                     KY     90014926148
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2153 of 2350


B5456A44676B27   AMANDA        KOHR                        CA     90014120446
B5457185A7B489   TAMARA        LEBRON                      NC     90014711850
B5457222185927   CRYSTAL       ELLINGTON                   KY     67058402221
B5459A8A35B396   VYCHESLAV     SKOBILEV                    OR     90004580803
B545B13472B948   JENNIFER      VALDEZ                      ID     42017251347
B545B596843589   JOANNE        DUESER                      UT     31074275968
B545B79A976B27   CRISTOBAL     ROMERO                      CA     90009577909
B545B836485927   MICHAEL       TINCHER                     KY     90005328364
B545B983193745   ANDREA        CLAYPOOL                    OH     64566999831
B5461353554122   THOMAS        KETCHUM JR                  OR     90013103535
B546178128592B   JAVIER        PARKS                       KY     67015217812
B5461916872B62   ALICIA        GUZMAN                      CO     33080339168
B5461986472B69   BRANDON       BARTGES                     CO     90000529864
B54619A1393745   FRANK         GUERRA                      OH     64556779013
B546252A793727   BRYAN         ROYCE                       OH     90011995207
B5462673891585   MARCO         DE LA CRUZ                  TX     90011036738
B5464347472B69   CHRISTOPHER   WILLS                       CO     90012723474
B5464669A5B396   JENNIFER      IXCOLIN                     OR     44528716690
B5464799455959   STEVE         ARDILES                     CA     48077977994
B5465241193745   DARRYL        DANIEL                      OH     90014652411
B5465952693752   WENDY         YOUNG                       OH     90002799526
B5466822484346   MARY          BANASZEWSKI                 SC     19059628224
B5466A4A243589   EDUARADO      GASSCA                      UT     90008590402
B546785195B265   DARAYELLE     SHAFFER                     KY     90006328519
B546834A155959   MIGUEL        MENDOZA                     CA     90012373401
B546876A57B489   SUMMER        MCALPINE                    NC     90006427605
B5468A52193745   SAMANTHA      JONES                       OH     90015010521
B5469667593752   RANDY         WRIGHT                      OH     64560496675
B5469688A61925   LEIGH-ANN     DREILLY                     CA     46028186880
B5469743955959   ALBERTO       MENDOZA                     CA     90004467439
B546B17A991592   DIANA         JAQUEZ                      TX     90013121709
B546B6A4672B69   LUCIO         RAMIREZ                     CO     90014006046
B5472754A7B489   LIDIA         LOPEZ                       NC     90012777540
B5473373993758   RUSSELL       HARMON                      OH     64564793739
B5473A87276B27   MARIA         NAVARRO                     CA     90014100872
B5474434831639   TAMIKA        DEMPSEY                     KS     90010314348
B5474467885927   LELAND        HOLLIS                      KY     90001894678
B5474721431639   RAYMOND       POMPA                       KS     90002117214
B5474886791585   FRANCISCA     GONZALEZ                    TX     90012918867
B547489515B396   SALVADOR      MARTINEZ                    OR     90011228951
B5475122A72B69   RICARDO       MUNOZ                       CO     33081541220
B5475394A72B62   GISSEL        VENZOR                      CO     90004753940
B54761A5755959   PEDRO         REYES                       CA     90014321057
B547651695B265   CHARLES       OTTMAN                      KY     90011815169
B547654A18B183   NATALEE       REDHAIR                     UT     31070005401
B5476726131468   NAZA          SEFEROVIC                   MO     90008287261
B5477318585976   JOSH          JENSEN                      KY     90009523185
B5477545985927   KENYA         WILLIAMS                    KY     90011215459
B54776A2393745   KING          MOSES                       OH     90014956023
B547798317B489   LEAH          KOFFLER                     NC     90013979831
B5478537155947   MAGDALENA     GONZALES                    CA     90013305371
B547871A672B69   MARTIN        CRUZ                        CO     33022427106
B54789A697B489   SHASTHA       SMITH                       NC     90007689069
B5479418376B27   MAYRA         GOMEZ                       CA     90013554183
B547B296A3B387   JERRY         EVERHART                    CO     90002212960
B547B29712B234   THOMAS        ERICKSON                    DC     81085762971
B547B913954122   REBECCA       SHIELDS                     OR     90014239139
B54813A4284353   TERRELL       BROWN                       SC     90007463042
B5481698272B62   SERGIO        COLUNGA                     CO     90014566982
B5482325592871   TARRELL       DANIELS                     AZ     90014593255
B5484311655959   SARA          DEL BOSQUE                  CA     90006043116
B548449434B254   VALERIE       FAIR                        NE     27076834943
B5485912772B69   AUGUSTINE     VILLALOBOS                  CO     33079489127
B54864A1A91248   CELEST        LADD                        GA     14598444010
B5486551581683   MILTON        THOMPSON                    MO     29004915515
B5486633376B27   LORENA        GURULE                      CA     46001446333
B5486664371931   FRANCISCO     NAVARRO                     CO     90005216643
B548744A491585   JAQUELINE     GARCIA                      TX     90013194404
B548747659713B   ASHLEY        SMITH                       OR     90010004765
B54877A1193745   ROBERT        BOS                         OH     64537727011
B548811A693727   DAVID         ESTES                       OH     90014841106
B548B264672B62   RAMIRO        MUNIZ                       CO     33056862646
B549132144B574   JACQUELINE    MCKINNEY                    OK     90010573214
B5491825391585   LORENA        VAZQUEZ                     TX     75036618253
B549251382B841   MOHAMED       ADAM                        ID     90014825138
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2154 of 2350


B54926A6972B69   MA            MATA                        CO     90014006069
B54927A5293745   CURTIS        HENRY                       OH     64514607052
B5492896A5B396   MICHAEL       KNIGHT                      OR     90011228960
B5493872793752   ANGIE         GROBES                      OH     64509528727
B5494234455959   JAY           GONZALEZ                    CA     90010052344
B5494255372B62   CHARDAE       ROSE                        CO     90014672553
B5494693472B69   BLANCA        LOPEZ                       CO     90004006934
B5495461A55959   MAYRA         ALEJANDRO                   CA     90009334610
B5495499391585   JOHNNY        JACQUEZ                     TX     75086134993
B54954A4A2B271   HILDA         PEREYRA                     VA     81077584040
B5495661393758   MICHAEL       DOUGHTY II                  OH     64538086613
B54957A3785927   JAMIECE       MCDOWELL                    KY     90014837037
B5496382691585   SONIA         MARTINEZ                    TX     90012963826
B549728894B268   CHRISTOPHER   BUFORD                      NE     90009522889
B5498342193745   ROGER         WATTS                       OH     64513003421
B549871AA2B271   CORNELIA      PRUE                        DC     90014697100
B5498A21485927   CALVIN        BOYLSTON                    KY     90011900214
B5499379876B27   RICARDO       AGUIRRE                     CA     46008443798
B5499835772B62   JESUS         MORALES                     CO     90009118357
B549B133133625   CARLOS        SANTOS                      NC     90008381331
B549B165691573   VIRGINIA      MONTOYA                     TX     90009511656
B54B111678B12B   RANDI         RUSHTON                     UT     90006431167
B54B113A993745   KESUAN        CHANNELS                    OH     64516081309
B54B1523355953   MARISO        HERNANDEZ                   CA     90013955233
B54B231325B265   LAUREN        HARPRING                    KY     90010163132
B54B3455155947   ERENDIRA      HERNANDEZ                   CA     90013894551
B54B3835691582   SILVIA        CONTRERAS                   TX     90004308356
B54B4448255947   ELEBESBAN     BEJAR                       CA     90014754482
B54B4557143589   MARIO         PIMENTEL                    UT     90011605571
B54B4727576B27   BUDDY ELI     BURLAMACHI                  CA     90015167275
B54B5412191585   GONZALO       RENTERIA                    TX     75013544121
B54B54A275B396   TOMAS         LARIOS                      OR     90008424027
B54B6187793752   JERRY         POLAND                      OH     90004371877
B54B817354B265   JOSEPH        BARDEN                      NE     90006171735
B54B857142B271   GAVIN         LOOMER                      VA     90013275714
B54B8572472B69   ALYDA         ALCALA                      CO     90002425724
B54B8A83671932   DONALD        TIENDA                      CO     90006040836
B54B9844843589   MICHAEL       MCDOWELL                    UT     90009898448
B54B992825B336   SHAWN         OLSEN                       OR     90011609282
B54B9A9625B396   SALVADOR      ALVAREZ                     OR     90006210962
B54BB438254122   KAILA         BUTLER                      OR     90011064382
B54BB544693745   JACK          HOLTON                      OH     90014895446
B54BB581155959   OSCAR         ORELLANA                    CA     90014155811
B54BB585672B69   ISIDRO        ORTIZ                       CO     90004735856
B54BB669391585   LILIANA       LOPEZ                       TX     90009176693
B54BB76617B489   TORI          WADE                        NC     90011447661
B551237A733635   BRIAN         GAUDINO                     NC     18041123707
B5512839376B27   ALBERTO       HERNANDEZ S                 CA     46066748393
B5512876272B69   REBECCA       VALDEZ                      CO     33061318762
B5512878871931   JESSE         HANSON                      CO     32089548788
B551298567B489   JOSE          GAMA                        NC     90003829856
B5513165743589   DAVID         KING                        UT     90007441657
B551339547B489   EVVA          GUIJOSA                     NC     90013973954
B5514521A54122   ALISHA        SMITH                       OR     90012895210
B5514674985994   KENNETH       ENOS                        KY     67023766749
B5514759A55947   LETICIA       CORIA                       CA     49020157590
B5514763693745   ROBERT        WILLIAMS                    OH     90014477636
B5515664991585   DELBERT       MOTTLEY L                   TX     75067516649
B5515A99A72B27   TAUNYA        STILLMAN                    CO     90003010990
B5516389893752   CHARLES       JOHNSON                     OH     64587823898
B5516741591592   TERESA        CASTRO                      TX     75099047415
B551675485B573   RIGOBERTO     RIVAS                       NM     90014367548
B5516791743589   LACY          ROBERTSON                   UT     90013627917
B55197A2693745   KAILA         DEPRIEST                    OH     90011087026
B551B341472B62   RUBY          CHAVEZ                      CO     90002403414
B551B346A91585   ISELA         ORNELAS                     TX     90009673460
B551B375591831   ISALIA        MARTINEZ                    OK     90011753755
B551B619993745   BERNICE       NYE                         OH     90011086199
B551B822533625   TIMOTHY       CLODFIELD                   NC     90011008225
B552114877B489   GRACE         TAMISHA                     NC     90011121487
B55215A8A24B64   SAMUEL        CHAVARRIA                   MD     90010005080
B5521749955947   SANDRA        SERVANTES                   CA     90013447499
B5522488555959   MISTY         LOPEZ                       CA     90014864885
B55224A7477337   KIMBERLY      GUNN                        IL     90012344074
B552272542B271   DELONIA       HOLLAND                     DC     90014697254
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2155 of 2350


B5522735955938   MIRANDA      BACKUS                       CA     48017147359
B55227A2855947   ALONSO       ROBINSON                     CA     90011897028
B5522A1A471932   SAMANTHA     FOSSECO                      CO     90011540104
B552319A784346   LUCAS        SILVA                        SC     90007111907
B5523557985927   GREGORY      JACKSON                      KY     90014195579
B5525274276B27   SANDRA       GRIEGO                       CA     90015302742
B5525299843589   AARON        COVINGTON                    UT     90013932998
B5525754791585   JENNIFER     MARTINEZ                     TX     90003447547
B5526723885927   BRITTANY     OGDEN                        KY     90014837238
B5526743972B62   MARLA        TURNER                       CO     90012967439
B5527128576B27   MARIA        AGUILA                       CA     90010791285
B5527683393758   RENA         HILL                         OH     64527976833
B5527929A72B69   MONICA       MUNOZ                        CO     90012339290
B5527987361977   DEBBIE       LOPEZ                        CA     90012359873
B5528252693758   SANDRA       MAYE                         OH     90014712526
B552866615B265   MICHAEL      CUNNINGHAM                   KY     90011816661
B552878624B537   GEORGE       GALBREATH                    OK     90007797862
B552893A261987   PRISCILLA    ESTRADA                      CA     90002919302
B5528A98655941   MERLIN       CORDERS                      CA     90008960986
B5529196293727   KATELYN      LANTZ                        OH     90015111962
B5529293A5B396   LOREN        PLUNK                        OR     90015012930
B5529359657565   HECTOR       CASTRO                       NM     90005683596
B5529727972B62   RAYNA        RICHARDON                    CO     90012137279
B5529836491371   PATRICIA     WISE                         KS     90001218364
B5529949993745   STEPHANIE    FOUTS                        OH     90011439499
B5529A9118B143   JOLENE       MARKER                       UT     90002070911
B552B761757565   DONALD       BROWN                        TX     35513527617
B552B895872B69   GESSICA      PHLLIPS                      CO     90013198958
B552BA6792B271   NICKY        TUNER                        DC     81095540679
B553115987B489   IVAN         RIVERA                       NC     90001841598
B5531435891585   HARRY        COLLINS                      TX     75040214358
B5531529172B62   JEFFEREY     MUNIZ                        CO     90014965291
B5532192291585   CARLOS       VALADEZ                      TX     90013871922
B5532377472B62   THONG        DAO-PHILAVONG                CO     33095263774
B5532624593758   ALONA        REED                         OH     90013036245
B5532714193745   RICHARD      EXON                         OH     90011407141
B553358A755997   MIA          ALONSO                       CA     90014805807
B55337A284B525   NYTINA       HAGGINS                      OK     90012487028
B5533828124B64   BRAIN        BRISCOE                      VA     81076518281
B5533834776B27   SUE          BASNETTE                     CA     90012038347
B5533849972B69   SARAH        MALBROUGH                    CO     33025758499
B5533A2AA5B396   WAYNE        BUNKER                       OR     90014540200
B5534473676B27   ANGEL        ASTORGA                      CA     90009914736
B5535119A91585   ROSA         ARANDA                       TX     75015601190
B5535386461975   AFRA         PEREZ                        CA     90014203864
B5535535693758   KIMBERLY     NELSON                       OH     64511835356
B553571A972B69   AUDREY       TORREZ                       CO     33041667109
B5535815355947   DANNY        MARTINEZ                     CA     90007198153
B553593182B271   EDWIN        GREEN                        DC     81036229318
B5535963455959   KYLE         GARZA                        CA     90004879634
B553617847752B   TONY         DAVIDSON                     NV     43006601784
B55363A745B397   KENNITH      RUSSELL                      OR     90012723074
B5536716285927   JASMINE      FRYE                         KY     90014937162
B5536A11555947   KARINA       CHILENO                      CA     90013970115
B5537264672B62   RAMIRO       MUNIZ                        CO     33056862646
B553955832B271   MARIA        MEMBRENO HERNANDEZ           DC     90006615583
B553967555B397   LEVI         BARTLETT                     OR     90009296755
B553B165743589   DAVID        KING                         UT     90007441657
B553B72935B535   MELINDA      GARZA                        NM     35010307293
B5541969172B62   LAURA        HELEN GARCIA                 CO     33041669691
B5541A8A193758   AMY          HORROCKS                     OH     64548790801
B554295872B271   KENDRA       MOSLEY                       DC     90007969587
B5543584433642   KWAME        CANNON                       NC     12092515844
B5543675136B98   COLLETE      STRAUB                       OR     44506826751
B5543998643589   SHAUNA       HUGO                         UT     90011809986
B5544318193758   SAMANTHA     WITT                         OH     64562303181
B55445A6593727   JEFFERY      KOOSER                       OH     64546535065
B5544732493745   LAURA        MELLOTTE                     OH     90011107324
B55447A5A36B98   JUANISHA     SPICER                       OR     90012587050
B5545312776B27   JUAN         HERNANDEZ                    CA     46005243127
B5545395355959   CRISTINA     HOLGUIN                      CA     48071293953
B5545527393758   RANDY        MIXON                        OH     90014845273
B554654157B496   MARCUS       SHINN                        NC     90011095415
B5547728493727   TIFFANY      CARRUBBA                     OH     64578757284
B5547744A61987   ALEJANDRA    PEDROZA                      CA     90010957440
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2156 of 2350


B554827995B396   PHILIPP       GREENWOOD                   OR     90015242799
B5548548193745   STACY         BOWLING                     OH     90012245481
B5549135372B62   GREG          HUDSON                      CO     90013011353
B55491A6991585   GREG          GRIM                        TX     90004161069
B5549A8947B489   IVAN          VARGAS                      NC     11078630894
B554B23A761971   JUAN          VALENCIA                    CA     90008172307
B554B651176B27   MATT          BARTLETT                    CA     46030986511
B5551321243589   KATHERINE     HOLBROOK                    UT     90013413212
B5551471355959   SERGIO        VILLA                       CA     90012104713
B5551479454122   BRANDIE       LAKE                        OR     90011344794
B5551816493745   CHRIS         DAVIS                       OH     90013318164
B5551A2954B232   NYAYUAL       TUT                         NE     90010510295
B5552144861971   LEONARDA      IBARRA                      CA     90010211448
B5552573293758   CHRISTINA     SNYDER                      OH     64535585732
B5553619376B27   CRUZ          GONZALEZ                    CA     90014486193
B5553693572B28   WENDY         MAUNU                       CO     90005476935
B55539A9992871   NICHOLAS      ASCOTA                      AZ     90013729099
B5554135991371   DORIS         ROBINSON                    KS     90004851359
B5554156176B27   YOLANDA       ESTRADA                     CA     46009241561
B5554315155959   CHARLES       MITTIE JR                   CA     48007923151
B5554621193727   JAIME         CRUM                        OH     64535246211
B555476A854122   JUAN MANUEL   ROMERO                      OR     90014797608
B55552AA17B489   ANA           BERNAL                      NC     11093722001
B5555337455959   LUIS          HERNANDEZ                   CA     90012873374
B55562A4685927   DAVID         HARTZELL                    KY     90014582046
B5557156643589   RODNEY        ABEL                        UT     90013191566
B5557795643589   AUSTIN        ABEL                        UT     90014697956
B555779815B265   LEANDRA       WATKINS                     KY     90011817981
B5557A6A89132B   KIA           TAYLOR                      KS     90012310608
B5558369543589   CHRISTY       UNDERWOOD                   UT     90009123695
B555941AA5B265   ADAM          BURT                        KY     68064864100
B5561668491563   PATRICIA      SANTIVANEZ                  TX     90007616684
B5562943755947   RENA          ROSE                        CA     90014709437
B556329885B396   JOSE          ZARATE                      OR     90010452988
B5563AAA155959   ROSE          CORTEZ                      CA     48040060001
B556448732B825   MARY          BAIRD                       ID     90005304873
B556487445B265   ELIZABETH     MAYES                       KY     90013828744
B5564877493745   JAMES         OWEN                        OH     90009068774
B5564A74A2B841   MIGUEL        HERNANDEZ                   ID     90014140740
B5565137A72B62   MAYDIU        PERDOMO                     CO     90013021370
B5565563655959   JUAN          SANCHEZ                     CA     90012215636
B5565958A55947   LINDA         DELGADO                     CA     49052159580
B556656725B396   MOALIM        ALI                         OR     90015035672
B5566A55154122   ANGELA        JOYNER                      OR     47069530551
B5567286A93758   AMANDA        FOX                         OH     90014032860
B55672A1755959   KARINA        VARGAS                      CA     90006852017
B5567613772B28   JUAN          SANTOYO                     CO     90010416137
B556791A92B271   BELINDA       MOORE                       DC     90001049109
B5567924172B62   TESFAYE       TUSSA                       CO     90011299241
B556887335B374   LINDA         HALISKI                     OR     90008378733
B5568A9945B333   ALBERTO       LUNA                        OR     90001250994
B5569589536B98   DANIEL        BARRIOS                     OR     90010695895
B5569957154122   SCOTT         BLOMBERG                    OR     90011459571
B556B27A87B489   JUAN CARLO    ZARCENO                     NC     90001302708
B557117895B265   DAPHNE        OVERSTREET                  KY     68013781789
B557125A99182B   TABISH        HAMEED                      OK     90010042509
B5571328455947   STEVIE        LEBAR                       CA     90014543284
B5572127455947   ANDREA        ANDERSON                    CA     90012581274
B5573132A93745   MONTAGUE      JOYCE                       OH     90011861320
B5573385793758   JUSTIN        WIDNER                      OH     90011753857
B5573657493746   ROSE          PETTY                       OH     90008316574
B55739A9A31639   SERGIO        JORGE                       KS     22008079090
B5574137A72B62   MAYDIU        PERDOMO                     CO     90013021370
B5574262293752   JAMES         ALEXANDER                   OH     90013622622
B5574727155959   MARIA         GONSALEZ                    CA     48000297271
B5574982993758   JAMIE         RICHARDS                    OH     90014119829
B5575318531639   ALICE         BATES                       KS     22079773185
B557563142B227   ANDREA        KEY                         DC     90005496314
B55756A1693727   AMANDA        FRANKS                      OH     64559136016
B5576473291585   ERNIE         DE LA CRUZ                  TX     75034324732
B5576555291585   JOSE          ORONA                       TX     90014715552
B557663A155947   ANTONIO       VENTURA                     CA     90012406301
B5576A3477B489   MARIO         BAKER                       NC     90011240347
B557765252B883   PENNY         SERRIA                      ID     90009136525
B5577966331688   REBECCA       CARSON                      KS     22018119663
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2157 of 2350


B5578268654122   BRIAN        KAUCHER                      OR     90012742686
B5579754A43589   NORMA        QUEZADA                      UT     90005057540
B557B395485927   JUSTIN       SOUTHWORTH                   KY     67073723954
B557B595143589   ALLISON      STAPLETON                    UT     90010335951
B557B735593758   ALEXIS       MAYS                         OH     90014067355
B55811A6655959   ISRAEL       VILLASENOR                   CA     48083241066
B5581233191585   LUIS         REY                          TX     90010262331
B558139A955947   MARIA        HERNANDEZ                    CA     49015013909
B5581772476B27   ANA          GUTIERREZ                    CA     46017207724
B5581A3A643589   LORI         ELIZARRARAZ                  UT     31050330306
B5581A9197B489   STACY        EDMOND                       NC     90008810919
B5582598372B62   UDIA         NAJERA                       CO     33038905983
B5583176843589   LENI         AMAYA                        UT     90008531768
B5584946A7B489   THOMAS       ANDREWS                      NC     90004399460
B5585218A77977   SAVANAH      CRABTREE                     IL     90015292180
B5585592954122   FLAVIO       LOPEZ                        OR     90011975929
B5585788361925   ANTONIO      HERNANDEZ                    CA     90007977883
B558748482B271   JAZMERE      HOLLOWAY                     DC     90014704848
B5587778391585   RAUN         MUIR                         TX     90014057783
B5588526971964   RODNEY       STEARNE                      CO     32004715269
B5588578743589   VICTOR       MACIEL                       UT     90014965787
B5588984572498   LATOSHIA     MAXWELL                      PA     90011569845
B5588A5A543589   VICTOR       MACIEL                       UT     90014140505
B558937A733635   BRIAN        GAUDINO                      NC     18041123707
B558962A685927   DESIREE      WEARREN                      KY     90008506206
B5589875393752   CHAD         MASON                        OH     90013518753
B55913A4493752   THEODORE     ROSS                         OH     64549363044
B559174A793745   VICTORIA     GALBERT                      OH     90011127407
B559189372B271   DION         THOMAS                       DC     90012948937
B5592317193745   ROSEANN      WELLS                        OH     90013363171
B5592626155972   MALA         VANG                         CA     49016586261
B5592685193727   TRACY        GIBSON                       OH     64506006851
B559286132B271   JOHN         THOMPSON                     DC     90015118613
B559291AA5B534   MICHELLE     QUIROZ                       NM     90012919100
B5593187854122   NATALIE      OEDER                        OR     90012131878
B5593197793758   RACHEL       WATTS                        OH     90011991977
B5593696693727   LEANDRA      GREEN                        OH     90009126966
B559379222B271   CARLON       LYLES                        DC     90014697922
B5593884972B69   LUVIA        CONTRERAS                    CO     90000258849
B5593A6115B396   MICHAEL      HIDALGO                      OR     90015200611
B5594563631639   ELVIRA       HERNANDEZ                    KS     22023185636
B5594587472B69   ANITA        ALDABA                       CO     90008015874
B5594962885927   WILLIAM      DAVIS                        KY     90013999628
B5594973554122   JOHN         MCCOARD                      OR     90005459735
B5596312136B98   ELIZABETH    MARTINEZ                     OR     90007423121
B5597175893758   ANTONIO      REID                         OH     90012671758
B5597715585927   ANGEL        JACKSON                      KY     90002407155
B5597A54593745   KELLY        MESSER                       OH     64539610545
B559811A355947   THOMAS       RATHWICK                     CA     90015101103
B5598621A4B52B   JOSHUA       HAMMOND                      OK     90004506210
B5598989676B27   ANDRES       MORALES                      CA     46042199896
B5598A18A55959   YOBANA       MARQUEZ                      CA     90014890180
B5598A3174B56B   AMANDA       AMMONS                       OK     90014490317
B55991A2A55947   POHOUA       THAO                         CA     90006221020
B5599246191585   ANTONIO      ALVAREZ                      TX     90004822461
B559929617B489   LEONEL       OROZCO                       NC     11001002961
B5599349376B27   SHEYNA       BARLEY                       CA     90014903493
B5599484393745   BRIDGETT     LEWIS                        OH     90012914843
B5599533593745   BRIDGETT     LEWIS                        OH     90004815335
B559987A172B62   LAURA        OLIVER                       CO     33004068701
B5599927554151   JASON        LAMBERT                      OR     90011769275
B559B593A85927   BRADLEY      SHEARER                      KY     90008595930
B559B5A1331639   MISTY        CRUM                         KS     22094395013
B559B6A9872B69   DENNIS       GARRETT                      CO     90013296098
B559BA61A54122   MARIA        ALVAREZ                      OR     90013930610
B55B1177193758   ALBERTO      ARENAS                       OH     90013681771
B55B134AA93745   LINDA        VIRTS                        OH     64537453400
B55B1397A7B443   A            HOOD                         NC     11008623970
B55B174755B265   ANTHONY      LIVERS                       KY     90000797475
B55B27A6293758   JENNIFER     BURNSIDE                     OH     90006437062
B55B2855691585   IRMA         PORRAS                       TX     90012368556
B55B3191643589   MANUEL       GARCIA                       UT     90015211916
B55B345932B229   AYALEW       EMERU                        DC     90000804593
B55B3727254122   SAHARA       SMITH                        OR     90014727272
B55B379A772B62   MANUEL       MIRANDA                      CO     90013987907
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2158 of 2350


B55B4369231639   BRANDON            BOLLINGER              KS     90011593692
B55B517A271924   RICK               GOMEZ                  CO     38004741702
B55B5777893758   KEVIN              DAVIS                  OH     90012527778
B55B5AA9655947   LLOYD              BELTRAN                CA     90013970096
B55B642924B988   ANGELA             HOWARD                 TX     90014374292
B55B7396272B69   APRIL              CAMPOS                 CO     33043653962
B55B7427743589   MARSH              JACLYN                 UT     90008674277
B55B7937A55947   JESUS              ROSALES                CA     49003989370
B55B82A7893736   TERRY              LEONARD                OH     64515982078
B55B844A491585   JAQUELINE          GARCIA                 TX     90013194404
B55B8664555959   DANNY              ZUNIGA                 CA     90014376645
B55B996692B271   BRITTANY           MURRAY                 DC     81059269669
B55B9A33A93727   STEVEN             EASTERLING             OH     64584100330
B55BB649293745   JAMES              BRUNER                 OH     90015056492
B55BB84454B274   DICK               MENDENHALL             NE     90009568445
B55BB935976B58   LLAMA              IMELDA                 CA     90002199359
B55BBA39591585   LEO                MANRIQUEZ              TX     90011540395
B5611159872B62   CLIFFORD           MORADO                 CO     90013021598
B5611676131639   LAMONT             THOMAS                 KS     90012876761
B5611765355972   GONZALEZ           BELINDA                CA     90005397653
B5611992991394   EDDIE              SHIVERS                KS     29040579929
B561237874126B   REBECCA            CRAIG                  PA     90005193787
B561242195B396   HEIDI              SUMMERS                OR     44509564219
B56124A7584825   AYDA               RAMIREZ                NJ     90015034075
B5612761655959   KEVIN              STRAUB                 CA     90012837616
B5613527533635   BREANNA            VERMILLION             NC     18000875275
B5613666255959   AMANDA             STEELMAN               CA     90010126662
B561384A793758   ROBERT             JOHNSON                OH     90012528407
B561388545B396   KEYLANI            MARIE                  OR     90012028854
B5614A86691928   ROBERT             MARRIOT                NC     90012740866
B5615245441229   BHAWANI            BARKER                 PA     90015212454
B561555A691972   JULIO              LOPEZ                  NC     17036045506
B5615913954122   REBECCA            SHIELDS                OR     90014239139
B5616475A93752   LINDA              TACKETT                OH     90013774750
B5617253393752   JENNIFER           KRAUTMANN              OH     64589942533
B561737675B358   WIMBERLY           KAYLA                  OR     90007553767
B5617894A72B62   MARIA DEL CARMEN   RODRIGUEZ              CO     90012998940
B5617A34172B69   ROGER              BUZARD                 CO     33000980341
B5618695255947   PAULATTE           PULLEN                 CA     90011576952
B5619335372B62   JOSE               CASTILLO               CO     90008253353
B56197A9572B28   DANIEL             ALCARAZ                CO     90007587095
B5619969761975   SANDY              LITTLE                 CA     90005159697
B561B187854122   NATALIE            OEDER                  OR     90012131878
B561B221593752   DONALD             PIERCE                 OH     90009802215
B561B351772B26   SYNDNEY            CHAMBERS               CO     90011283517
B561B57425B396   LISA               MITCHELLDYER           OR     44530805742
B561BA5A455959   JOSE               BANDERAS               CA     90010310504
B562123172B665   MIGUEL             OLVERA                 WA     90015462317
B562157595B396   MARIA              GOMEZ                  OR     44565515759
B5621712331625   SUSAN              KLINGENBERG            KS     22094437123
B56217A2391585   KEVIN              WHITE                  TX     90014067023
B5621825142332   RONDA              AXMACHER               TN     90015558251
B5621A5727B489   ARTHURLYN          MONCONJAY CEE          NC     90011240572
B562218A155972   MARIA              NAVARRO                CA     49060501801
B5622536255959   HERIBERTO          BENITEZ                CA     90013935362
B5623764793752   JAMES              LAMBERT                OH     90011757647
B5623A7A455947   MAYRA              ZUBIETA                CA     90012990704
B5624126461987   MARLO              JOHNSON                CA     90005951264
B562426257B489   GIOVANNI           RODRIGUEZ              NC     90014032625
B5624769855959   ANDREW             ALVAREZ                CA     90008517698
B562548297B489   MICHAEL            WELLS                  NC     90011914829
B5625A74524B28   LAKEYA             HALL                   MD     90008830745
B5625A82891585   MARIELA            PEREZ                  TX     90012170828
B5626177555947   DESIREE            LUJANO                 CA     90012921775
B5626851355959   ANGELA             ALVAREZ                CA     90013758513
B56268A2993758   TIFFANY            TOMPSON                OH     90008708029
B5627253143589   BRUCE              RAWLINS                UT     90006682531
B5628183124B28   VINZEL             BROWN                  DC     90012191831
B5628211355959   ROBERTO            VELAZQUEZ              CA     90013292113
B5628271143589   YESENIA            TURRUBIARTES           UT     90006902711
B562829A936B98   NATASHA            NAKAGAWA               OR     90002502909
B5628424376B27   JOSE               RODRIGUEZ              CA     90008494243
B562865938B139   ROBERT             LAWLER                 UT     90014536593
B5628787291554   RICHARD            KUNARD                 TX     90008027872
B56287A7A72B62   SMITH              HEATHER                CO     33000897070
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2159 of 2350


B5628A61293745   STACY                 CARROLL               OH   90001640612
B5629624143589   SCOTT                 NIEWALD               UT   90007296241
B5629659833635   PORCHIA               MCMILLIAN             NC   90012556598
B562B7A5172B62   JAMES                 MILNE                 CO   90002557051
B562BA2525B396   PATRICIA              MORTON                OR   90013520252
B563117A293758   DANISHA               WILLAD                OH   90010991702
B56313AA591585   NAHOMI                ESTRADA               TX   90013453005
B5631628876B27   JORGE                 AMBRIZ MURILLO        CA   46076636288
B5631A7AA7B489   RICHARD               BAKER                 NC   90011240700
B5632152672B69   STEPHANIE             RUIZ                  CO   90013791526
B5632717A76B27   KATY                  NYE                   CA   90012637170
B563275512B271   EMMANUEL              TUMUSHABE             DC   90008017551
B5632A59393727   TIFFANY               WELLS                 OH   90011390593
B5633228657B55   EILEEN                SWERDON               PA   90014432286
B5633338693745   CHUCK                 STUART                OH   90008153386
B5633634393758   MATT                  OWEN                  OH   90009566343
B5633868724B64   ALEYA                 REED                  DC   90013998687
B5633952793752   DAIJONNA              HARDEMAN              OH   90013749527
B5633958893752   LEANNA                SLORP                 OH   90014559588
B5633A49993752   SHANIECE              MCCULLLAR             OH   90011500499
B563444A193727   TIMOTHY               FULTON                OH   64516224401
B563466352B271   CHARLOTTE             MORGAN                DC   81064386635
B56346A695B396   EMILIANO              HERNANDEZ             OR   90011906069
B5635694393745   MATTHEW               WRIGHT                OH   90012896943
B563582977B489   VANITY                WILLIAMS              NC   90013348297
B56363AA793752   BRIANNA               SLAVEN                OH   90015173007
B5636621554122   ROY                   ORR                   OR   90012866215
B5636943657134   ROXANA                ARNEZ                 VA   90008159436
B5636A6547B489   MICHELLE              DENNIS                NC   11086010654
B563717A255959   JERRY                 DELGADO               CA   90014771702
B563786AA31688   JENNIFER              CALDWELL              KS   90003978600
B5637A4872B825   IVONNE                CERVANTES             ID   90010220487
B5638115155959   JONATHAN              PEREZ                 CA   90015051151
B5638223155947   VANESSA               GARCIA                CA   49077472231
B5638236633634   PATRICIA              MAYSE                 NC   90011772366
B5638577191585   RICARDO               GARCIA                TX   75078425771
B5638689593758   JAMES                 RICE                  OH   90012466895
B56386A9866242   KAMERON AND DEVARIO   HARRIS AND RICHMOND   MS   90014126098
B5639675643589   STEVEN                SHARP                 UT   90008706756
B563B769255959   MARIA                 ALVARADO              CA   90001627692
B564215A355947   JUAN JOSE             ROMAN                 CA   90014881503
B5642382157564   DIANA                 VALTIERRA             NM   90012443821
B564243A785927   RENE                  MARTINEZ              KY   90007254307
B5642476755972   MICHELLE              SMITH                 CA   49046244767
B5642537372B69   ANGELA LYNN           ANDERSON              CO   90014515373
B564329815B396   JOSE                  ARENCIBIA             OR   90015012981
B5644115155959   BLANCA                FARIAS                CA   90013021151
B5644684793745   DAVID                 DIXON                 OH   64544556847
B5644714155947   NANCY                 CHAVEZ                CA   90011967141
B56448A7455959   BLANCA                FARIAS                CA   90011378074
B564571342B886   GUY                   NASH                  ID   42041267134
B5646239193758   JENNIFER              TYREE                 OH   64505502391
B564669215B396   STEVE                 WILKINSON             OR   44508976921
B5646897241236   SHATAYA               EVANS                 PA   90001378972
B564745A493745   MEGAN                 WARD                  OH   90012864504
B5647744593727   SMITH                 ANGEL                 OH   90011307445
B5649526377525   JANELL                WHITEHEAD             NV   90006735263
B564975A543589   KATHY                 HARVEY                UT   31036857505
B5649771972B62   CATHERINE             SITZMANN              CO   90010217719
B564B394A85927   DANIELLE              COLE                  KY   90014703940
B564B8A1193752   CARLTON               CRISP                 OH   90013568011
B5651318676B27   HILDA                 DIAZ                  CA   46093413186
B565149922B271   WENDY                 VASQUEZ               DC   90009904992
B565167947B489   SARAH                 HART                  NC   90012676794
B5652812893758   CHRIS                 MACKEY                OH   90014778128
B5653153855947   LANIAN                LEE                   CA   90014881538
B5653566861987   ITAL                  MARQUIS               CA   90005955668
B5654439655959   HILDA                 LOMBERA               CA   49094734396
B5654962893727   LUCIA                 ALVAREZ               OH   64518149628
B5655519772B69   CANDICE               MARIZ                 CO   90012295197
B5655629633635   JAMES                 CRUMPTON              NC   90012086296
B5655A6645B396   GREGORY               WHITEAKER             OR   90000370664
B565651667B489   JUAN                  MALDONADO             NC   11046655166
B56565A525593B   ARMANDO               LOPEZ                 CA   90008345052
B5657166176B27   ALEJANDRA             SANTIAGO              CA   90000391661
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2160 of 2350


B5657562491549   JAMES        ALEGRE                       TX     90014445624
B5657A56833621   PILACIE      BIOKA                        NC     90012130568
B5658584193758   JEFFREY      MOLTON                       OH     64515235841
B5658782897134   GREGORY      GREEN                        OR     90009137828
B565896565B396   TAYLOR       ENDERS                       OR     44560349656
B5658AA1272B69   GUILLERMO    CABRAL                       CO     90004810012
B5659397155947   ANTONIO      CARDENAS                     CA     49013183971
B56596A2491248   TILWANA      BARNWELL                     GA     90001246024
B5659A7A943589   ANGELA       SMITH                        UT     31035680709
B565B118872B62   SHIRLEY      VILLEGAS                     CO     90013401188
B565B482172B62   HEATHER      PEGRAM                       CO     90010024821
B565B6A9393727   DARLENE      MATTESON                     OH     90011086093
B56616AA391585   GONZALEZ     MAYRA                        TX     75042176003
B5662373793752   NICOLE       SCHMIDT                      OH     90002923737
B566268A854122   STEVE        HAYES                        OR     90009036808
B5662812372B69   JON          ROBISON                      CO     90005888123
B5663365685927   JANUE        BLACKBURN                    KY     90013653656
B56633A818B825   AZLYNN       MOMOA                        HI     90014063081
B5663851591585   JOANA        TAPIA                        TX     75031418515
B566488458B158   OSCAR        GONZALEZ                     UT     31085948845
B5665423893727   TRAE         SMITH                        OH     64587304238
B5665522891585   JAQUELINE    RAMOS                        TX     90014345228
B5665786861987   HARRY        CELESTIN                     CA     90006237868
B5666227131639   JESSICA      TUTEN                        KS     22020092271
B5666317693727   SHARONDA     MORRISON                     OH     90015303176
B5666463391585   DIAMOND      COLON                        TX     90012924633
B566724643B182   JOSE         MENDEZ                       VA     90014142464
B5667295543589   TIM          PIERCE                       UT     90012272955
B566825287B489   SHAKHARA     SIMPSON                      NC     90014312528
B56686A5693752   MONICA       GARY                         OH     90012606056
B5668874A72B62   FELIPE       ZUBIATE                      CO     90014658740
B5669392184333   LAURA        AGUILAR                      SC     90010463921
B566B329191585   MARGARITA    VASQUES                      TX     75051393291
B566B837455959   ALEXIS       SANCHEZ                      CA     48085718374
B567149692B841   MAUSIE       MEB                          ID     90014214969
B567195A35B799   NORMA        GARCIA                       MN     90013769503
B5672279372B62   SAMUEL       PINA SANCHEZ                 CO     33040062793
B567267965B522   CHARMAINE    WALLACE-VALDEZ               NM     90005056796
B567342A75B265   VICKIE       HENDREN                      KY     68076864207
B5673465A54122   DANA         HAWORTH                      OR     47038584650
B5673488791948   ALBERTO      BONAVIDES                    NC     90001444887
B5673758855959   ESTELLA      RANGEL                       CA     90010657588
B5674597993745   AMBER        HUDSON                       OH     90010465979
B5674697861987   JOSE         GUTIERREZ                    CA     90005956978
B567476A231639   KRYSTAL      ESPERANZA                    KS     90014727602
B5674AA5955947   SHAWN        TOPPING                      CA     49003750059
B5675432193745   ANTHONY      PRATT                        OH     64511294321
B567549577B489   SANTOS       HERNANDEZ                    NC     11032314957
B567611A95B396   TERA         STANTON                      OR     90000711109
B5676377891585   BRIANNA      BENNETT                      TX     90011163778
B5677479372B62   JOSE         MEDINA                       CO     90014244793
B56774A4354122   MARK         PODD                         OR     90013574043
B5677591955959   AARON        RAMIREZ                      CA     90014455919
B5677652561975   MANUELA      WHALLEY                      CA     90012826525
B5677838372B69   AMANDA       HALL                         CO     33032828383
B5678549372B69   REBECCA      BARRON                       CO     33031545493
B5678712854122   SANDRA       HARRIS                       OR     90000857128
B5678976185927   DAVID        CORNELIO                     KY     67077729761
B5678A51272B62   AARON        GRAY                         CO     90012010512
B5678A75947839   BRIANA       STEPHENS                     GA     90010210759
B5679675731639   BRENT        BARRY                        KS     90013756757
B567B393741239   ARTAZZI      ROBERTS                      PA     90002123937
B5681131576B27   VIANEY       SANTILLAN                    CA     90002441315
B568138A254122   ARTURO       MENDOZA                      OR     90013233802
B5681784924B64   GEORGE       JONES                        DC     81037867849
B5681798685927   ANDREA       NORFLEET                     KY     67053337986
B56835AA591554   REYES        ALICIA                       TX     90009985005
B5683623843589   MARK         RAWLINS                      UT     90014656238
B5683A59285927   STEPHEN      SMITH                        KY     90004780592
B5684185472B62   DANIEL       HARRISON                     CO     90013021854
B5684193154122   DAVID        JOHNSON                      OR     90007661931
B5684288893758   TIM          BOWMAN                       OK     90003052888
B5684561647855   MEKA         JONES                        GA     90007855616
B5684AA382B271   STANLEY      SIMMONS                      DC     90012950038
B5685555798B2B   LETTICIA     BEACHEM                      NC     90009345557
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2161 of 2350


B568556488B123   ROBYN           ADAMSON                   UT     31094665648
B5685619833635   SHUNTIA         HASKINS                   NC     18094286198
B5685A8448B123   KIJANA          ADAMSON                   UT     90001080844
B5686147272B69   YUREN           OLIVAS                    CO     33087441472
B5686418355972   TRENNIQUA       GARRETT                   CA     49016614183
B5686441A85925   BRITTNEY        LEMON                     KY     90013444410
B56869AA82B271   SHIRLENA        JEFFERSON                 DC     90014699008
B5686AA277B489   RICHARD DAVID   MCCORKLE                  NC     90014560027
B5688228A33635   LAVERNE         RICHMOND                  NC     90005732280
B5688962521B43   KEVIN           CLINE                     KS     73005829625
B5689325555959   JOSE            MARTINEZ                  CA     90012733255
B568952197B489   CRUZ MARIA      ARIAS                     NC     90013685219
B5689886431639   SHANNON         WALKER                    KS     90008708864
B568B32617B443   CHANTRELL       LINDSAY                   NC     11018013261
B568B583161921   ANA             GUZMAN                    CA     90014545831
B5691316385927   TIM             GUY                       KY     67012373163
B5691421542332   TEDDY           GILREATH                  GA     90014154215
B5691733293752   JORDAN          SEWELL                    OH     90001777332
B569215997B489   CHRIS           ANDERSON                  NC     90009201599
B5692561743589   ABRAHAM         HERRERA                   UT     90008645617
B5692768993758   CANDACE         WOODS                     OH     90013767689
B5692862172B69   ANGELIQUE       HENDRICKS                 CO     90015108621
B569288A85B571   DENISE          BISHOP                    NM     90012698808
B5692A17555947   SHYANN          AGCAOILI                  CA     90013970175
B56935A118B32B   ROSARIO         ESCOBEDO                  SC     90015035011
B569382A872B69   AMANDA          SMITH                     CO     90010788208
B5694428355959   KARINA          GARCIA                    CA     90015114283
B5695325A55947   ADRIANA         RODRIGUEZ                 CA     90008943250
B5695327824B64   BENICISHA       GLEATON                   DC     90002983278
B5695675254122   AMANDA          TUKE                      OR     90012206752
B5697264593745   TINA            HESS                      OH     90014152645
B569732A75B396   DARBZ           STEWART                   OR     90009753207
B5697571372B69   YOAN            ORTEGA                    CO     90008075713
B569783A855959   ISIS            LLAMAS                    CA     48000298308
B5697981143589   ALEJANDRO       MENDOZA                   UT     90014659811
B569837615B265   ARTHUR          RAY                       KY     90011953761
B5698867676B27   SARA            BALLARDO                  CA     46080938676
B5698975157133   PORFIRIO        BENAVIDES                 VA     81080339751
B5699A87391585   RACHEL          HERNANDEZ                 TX     75088280873
B569B418A2B271   DEWAYNE         HALL                      DC     90003694180
B56B1351476B27   JOSUE           GONZALEZ                  CA     90013003514
B56B2288136B91   AARON           BOEDEKER                  OR     90007222881
B56B22A7655959   SILVIA          HERNANDEZ                 CA     48006822076
B56B284A82B271   ALICIA          PERRY                     VA     81045738408
B56B367125B265   ROBERT          FALLER                    KY     68062766712
B56B3795391585   ANGELICA        GONZALEZ                  TX     90013027953
B56B4197793758   RACHEL          WATTS                     OH     90011991977
B56B44A967B489   ALIYAH          IVEY                      NC     11091734096
B56B4548493752   BRITINEY        ENGLISH                   OH     90011355484
B56B489845B265   AMANDA          MATTINGLY                 KY     90010918984
B56B57A6A55959   WILLIAM         TAFOYA                    CA     90006877060
B56B6294872B69   KELY            MENJIA                    CO     90013792948
B56B6336254122   AARON           KIRK                      OR     90013393362
B56B6396655959   CJ              EKIZIAN                   CA     90014043966
B56B6775791585   OSCAR           MARTINEZ                  TX     75030077757
B56B7A6525B991   TINA            DE JESUS                  WA     90015350652
B56B8121A47839   TANZANIA        THOMAS                    GA     90008151210
B56B8345524B28   JOEL            ZAPETA                    DC     90011493455
B56B8A2682B239   ANDREA          AVENT SWEETNEY            DC     90008120268
B56B9184454122   JESSICA         WOLKERS                   OR     90010311844
B56BB141255959   LORENZO         GONZALEZ                  CA     90013981412
B56BB556A85927   ARCELDA         LOPEZ                     KY     90010495560
B56BB57875B396   JOSE            VILLANUEVA                OR     90009815787
B56BBA13333647   GRACIELA        GARCIA MAYA               NC     12030150133
B5711322755947   BYRON           WYATT                     CA     49098123227
B5711389A7B489   JEFFREY         RORIE                     NC     11088163890
B5711A21855992   VICTOR          BEDOLLA                   CA     90008160218
B57125A5772B69   ERNESTO         GONZALEZ                  CO     33017965057
B571274737B44B   DEMETRIES       NELSON                    NC     11010647473
B571358225598B   PERYNA          WASHINGTON                CA     90012605822
B5713628491585   MIRIAM          ALONSO                    TX     75071206284
B5713675254122   AMANDA          TUKE                      OR     90012206752
B57137A2155947   ANITA           CASTILLO                  CA     90014697021
B5714951555959   ROBERT          LOPEZ                     CA     90011139515
B571497512B271   CANIA           AYERS                     DC     90009439751
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2162 of 2350


B5715238893752   TUSSEY            SANDRA                  OH     90008562388
B5715287276B27   BEATRIZ           PEREZ                   CA     90013922872
B57154A5236B98   KIRSTON           LARSON                  OR     90010754052
B5715867A91585   ANGEL R           PEREZ                   NM     90000698670
B5715923672B62   SCHERYL           MURRAIN                 CO     90008689236
B5716635776B27   AIOTEST1          DONOTTOUCH              CA     90015116357
B5716988791585   JONATHON          HERRERA                 TX     90009889887
B5717622393726   ASHLEY            CLARK                   OH     90008696223
B5718453A55959   MARIA             ROCHA                   CA     48001174530
B5718532831639   KEMPER            JACKSON                 KS     22071855328
B5719574393727   SONYA             WILLIAMS                OH     90006095743
B5719687593752   PARRIS BEARD      LOVELLE                 OH     90013576875
B5719AA7A71993   RODGER            COLE                    CO     32069700070
B571B1A5593758   BROCK             POLLY                   OH     90010361055
B571B58A891366   TAMIKA            SMITH                   MO     90001365808
B571B742A91585   ALEJANDRO         ZAVALA                  TX     90004257420
B572191917B489   ORALIA ALICIA     RUIZ                    NC     90008329191
B5721AA2272B69   JOHN              LYNN                    CO     90013990022
B5722955743589   WILLIAM           CARDON                  UT     90009989557
B5722A8AA7B658   LATOYA            BENTON                  GA     90012750800
B5723568331639   EDUARDO           PACHECO                 KS     22011545683
B5723826355959   CANDELARIA        TOSCANO                 CA     90010658263
B572383A693727   EMILY             STANTON                 OH     90010948306
B572434AA43589   ERIC              ROGERS                  UT     90011683400
B572443A993758   JABAN             THOMAS                  OH     90015224309
B57251A525B396   KURTIS            PAIVA                   OR     90010271052
B5725246177525   RINNA             GEORGE                  NV     90009422461
B5725695154122   ASHLEY            HANEL                   OR     90009336951
B5725831643589   AMELIA            SORCI                   UT     90008998316
B572627A272B62   ENRIQUE           VALLES                  CO     90006512702
B5726591555947   MONICA            CHAVEZ                  CA     90012885915
B572686575B356   OLGA              FLORES                  OR     90007968657
B572815257B489   LATOYA            WILLIAMS                NC     90009221525
B5728257324B33   JERMAINE          BUTLER                  DC     90013882573
B572892487B489   JOHN              ARTHUR                  NC     90002829248
B5729254124B28   LEDON             CARROLL                 DC     90014812541
B5729382376B27   HILDA             RENDON                  CA     90012853823
B5729743172B62   CORINA            JIMENEZ                 CO     90008517431
B5729A45924B64   SANTOS            CABRERA                 VA     90014950459
B573277298B186   MARGARET          PARSONS                 UT     90008187729
B57332A3172B69   KEVIN             MCADAMS                 CO     33084342031
B5733512155947   LEA               HAAR                    CA     49005335121
B573352467B489   IRMA              DEJUAN                  NC     90010285246
B5733831976B27   KENYA             LINARES                 CA     90014608319
B5733A5852B271   TRINITA           SUGGS                   DC     90012950585
B5734363854122   LIDIA             FRANCISCO               OR     47017143638
B5734786861987   HARRY             CELESTIN                CA     90006237868
B573492775B991   PAYGO             IVR ACTIVATION          WA     90015299277
B5735972655947   TERESA L          ROMERO                  CA     90010349726
B5735A62991585   DRAGSTAR          KUSTOMS                 TX     90015230629
B573633A433625   PAM               VANNATTA                NC     90013163304
B57364A512B252   HENRY             POPE                    DC     90006244051
B5736896872B69   FRANCISCO         PENA                    CO     90013198968
B573776415B265   DARRYL            CAIN                    KY     90011827641
B5738A1712242B   VERONICA          RIVERA                  IL     90008310171
B573923515B396   RAMON             JACKSON                 OR     90000722351
B57393A1243589   KAYLA AND JESSE   OWENS                   UT     90014713012
B573B955743589   WILLIAM           CARDON                  UT     90009989557
B573BA1588B12B   TISA              BURR                    UT     90008230158
B5741455A93758   MONICA            WHITE                   OH     64535514550
B574158985B527   MARC              CHENIER                 NM     90010825898
B57419A2593757   ROSALEE           WOODS                   OH     90011659025
B5742288493752   JAMIE             BROWN                   OH     90014342884
B5742482576B27   ALICIA            ROSALES                 CA     90005184825
B574335A761984   SHEILA            COLON                   CA     90006733507
B5743751893746   JAMIE             CLINE                   OH     90011067518
B574382332B271   ANGEL             JUAREZ                  DC     90001218233
B574393995B396   SENG              TURNG                   OR     90007749399
B5744762676B27   MARTHA            CHAVEZ                  CA     90010197626
B574499815133B   MOLLY             MCCAFFERTY              OH     90014759981
B5744A12693727   TIFFANY           GIOLITTO                OH     90002970126
B5745377954122   VICTORIA          VULLAND                 OR     90011473779
B574545A661985   ZACK              BILBREY                 CA     90000334506
B5745797585927   JERRY             ROBERTS                 KY     90000717975
B574585712B259   TRACY             SMITH                   DC     90005198571
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2163 of 2350


B5746361361987   TERESA              RHEA                  CA     90002323613
B5746418943589   JOSE                VASQUEZ               UT     90012924189
B5746596193758   MARY                BINES                 OH     64508835961
B5747274636B98   BOBBY               LARENZO               OR     44558542746
B5747635755947   GUADALUPE           RAMIREZ               CA     49073406357
B574768518B14B   TYSON               BARNES                UT     31058246851
B5748232772B62   CHERI               BEJARANO              CO     90013022327
B5748924A31639   KAREN               ELLIS                 KS     90011599240
B5749548843589   ABBY                VALLES                UT     90013555488
B5749622393758   KYLE                JOHNSON               OH     90002656223
B574969267B443   CYNTHIA             MOODY                 NC     90009766926
B5749988231433   CHERIE              HAHN                  MO     90001559882
B574B45A77B489   DARIUS              LANEY                 NC     90006844507
B574B586363B74   SARAH M             PORFILIO              IL     90002155863
B574B624143589   SCOTT               NIEWALD               UT     90007296241
B574B92927192B   TAMELA              RADER                 CO     90001379292
B5751791293745   ASHLEY              OGULA                 OH     90011107912
B5752AAA843589   JORDAN              JENSEN                UT     90008750008
B5753485533621   CANDICE             SHOCKLEY              NC     90004954855
B5753676131639   LAMONT              THOMAS                KS     90012876761
B5754241155947   YING MAY            VANG                  CA     90002322411
B575427462B232   MARK                HOPSON                DC     90014932746
B5755293157565   DIANE               GALLEGOS              NM     90000732931
B5756289555959   CELIA               HERRERA               CA     90007292895
B5756716A93745   TAJIA               HUMPHERY              OH     90014957160
B5757164185942   MELITA              CHENAULT              KY     90001511641
B5757678A31639   SUSAN               JACKSON               KS     22095576780
B575788735B396   GABRIEL             HOGG                  OR     44594348873
B5758839255972   ISABEL              PLACENCIA             CA     49049218392
B5758899472B62   NOEMI               REYES TORRES          CO     90011568994
B5758A81555947   MUNECA              BASUA                 CA     90014890815
B5759231931639   ALONSO              BORJON                KS     22004772319
B575939A593758   BEN                 BREWER                OH     90013623905
B5759576A85927   REGIENA             BWELL                 KY     90013675760
B5759832693752   SHERI               CANTRELL              OH     64575718326
B5759851372B69   DELAROSA            LAURA                 CO     33066388513
B575B411143589   ELIAS               PEREZ                 UT     90013244111
B575B4A2724B64   NOEL                REYES                 VA     81090774027
B575B52AA93752   LAWRENCE            CASEY                 OH     90014125200
B575B696791585   GUADALUPE           GONZALEZ              TX     75039536967
B57626A5693758   MOISES              HERRERA               OH     90012906056
B5763379854122   RANDY               KILGORE               OR     47087243798
B5764489593758   BRIAN               HILL                  OH     90005664895
B576452A95B265   REGGIE              BROWN                 KY     68013265209
B5764583472B69   SABRINA             TAYLOR                CO     90010105834
B5764A2A15B592   SOCORRO             DOMINGUEZ             NM     90000790201
B5765211255972   JAMES               MURPHY                CA     90009542112
B576521A672B62   GINA                GARCIA                CO     90013022106
B5765379855947   ANGELICA            GUEVARA               CA     90010393798
B5765516A91585   VELMA               CAUDILLO              TX     90010305160
B5765A1542B246   TIESHA              JOHNSON               DC     81004130154
B57668A7555947   LIDIA               CRUZ-SILVA            CA     90012458075
B5766943876B5B   MIGUEL              SILVAS                CA     90014689438
B5767736A55947   JORDAN              GRAYS                 CA     90013847360
B5767749185927   HILARIO             BENITREZ              KY     67091117491
B5767AA4372B47   ERICK               RUIZ                  CO     90002840043
B5768211172B62   JACOB               THOMPSON              CO     90013022111
B5768453A55959   MARIA               ROCHA                 CA     48001174530
B576862A391585   DAVID               NUNEZ                 TX     90002546203
B5768A27536B98   GABRIEL             MENDEZ                OR     90007950275
B5769137624B64   KARVITA             BRICE                 DC     90013441376
B5769347477977   PAYGO               IVR ACTIVATION        IL     90014333474
B5769646491573   JOSE ADRIAN         GUITERREZ             TX     90011236464
B576969778B192   CLINTON             LARSON                UT     90012026977
B5769996691585   YHALI               CALDERON              TX     90010219966
B576B245921831   SARA                MCCARTHY              MN     90009162459
B5771454772B62   MARIA DEL REFUGIO   CERVANTES             CO     90012834547
B5771A46472B4B   ADRIAN              RUELAS                CO     90012150464
B5772232655959   MARIA               MARTINEZ              CA     48019282326
B577246695B265   KEITH               ZOELLER               KY     68077094669
B57725A1593758   JOHNNA              NORTH                 OH     90008595015
B5773193A93745   SHANTE              WINDERS               OH     90014501930
B5773917893727   EMILY               BREWER                OH     64585639178
B5774173455972   AMALIA              VARRETO               CA     49016441734
B5774274793752   CHRISTY             WHITE                 OH     64547152747
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2164 of 2350


B5774498655947   VERONICA     MEJIA                        CA     90014804986
B577464917B34B   EVELIO       VALDEZ                       VA     90013696491
B5774844543589   JESUS        MARIN                        UT     90014178445
B5775394A85927   DANIELLE     COLE                         KY     90014703940
B577613145B333   IRMA         SANCHEZ                      OR     90004861314
B5776873585927   RAEIQ        MESMAR                       KY     90005198735
B5777497472B69   DEBRA        ROMERO                       CO     90013494974
B577784275B265   DEREK        WILKINS                      KY     90011828427
B5777918155959   ERNESTO      MARIN                        CA     90014729181
B5778323485963   MARGARET     CORDRAY                      KY     90011863234
B5778698272B62   SERGIO       COLUNGA                      CO     90014566982
B577911A331639   DARLINE      BROWN                        KS     22075571103
B5779234891592   ANGEL        GOMEZ                        TX     90013592348
B57793A8491592   ANGEL        GOMEZ                        TX     90013603084
B5779642155947   EVELYN       FERNANDEZ                    CA     90001996421
B5779746A91872   CECILIA      TORRES                       OK     90009977460
B5781142A93745   BONNIE       DANIEL                       OH     90002271420
B578168A293727   BRANDI       DAVIDSON                     OH     64500746802
B5781955155959   PAYGO        IVR ACTIVATION               CA     90012249551
B5782181591585   GUADALUPE    CERVANTES                    TX     75005111815
B5782692A55959   GUADALUPE    MARTINEZ                     CA     90002316920
B578292782B271   DARREN       ANDREWS                      DC     90008979278
B578319697B489   MAGGIE       WINGLER                      NC     90011241969
B5784622631688   DYANN        NEWHOUSE                     KS     22064876226
B5784765172B69   RANDALL      GARCIA                       CO     33010937651
B5784912355959   ARELI        SALAZAR                      CA     48033589123
B5784978293745   CHERYL       SHARMA                       OH     64513949782
B5785119393745   SAMANTHA     PLAIR                        OH     90011111193
B57855A8272B62   ADRIAN       A PONCE MARTINEZ             CO     90011665082
B5786444255947   VICTORIA     RIPPSTEIN                    CA     90000674442
B5786719172B69   NICHOLE      MCTAGGERT                    CO     90011507191
B5787741A91585   LORENZO      ACOSTA                       TX     90012747410
B5788425A85927   NOEL         MARTINEZ                     KY     90011374250
B578843397B489   TANESHIA     BRICE                        NC     90013784339
B5788662343589   MAYRA        BUSTOS                       UT     90015106623
B578879614B933   KATHY        LEBAUNC                      TX     76517757961
B5788867A72B62   JOSE         BASURTO                      CO     33082698670
B578B47882B271   LASHAUNA     PUGH                         DC     81007664788
B578BA2A64B541   JUDY         ADAME                        OK     21515130206
B5791144636B98   KARRIE       JOHNSON                      OR     90014301446
B57914AA285927   JESSICA      HOWARD                       KY     90011224002
B5791557272B27   LULA         BRANDY                       CO     90010805572
B5792597A55947   MIKE         WHITE                        CA     90010425970
B5793642831639   TEYAUNA      HOLT                         KS     22049426428
B5793863843589   MAGGIE       ALVARADO                     UT     90005118638
B579391A685927   DARLENE      MOHAMMAD                     KY     90010239106
B5794279A54122   ANGELA       ROMAN                        OR     90005212790
B5794318472B49   JAVIER       VILLALOBOS                   CO     90012493184
B57943A957B489   TANYA        RAY                          NC     11069503095
B57952A6155959   MARIA        RESENDIZ                     CA     90015202061
B5795552961987   DAVID        LUCERO                       CA     46060285529
B57955A5254122   ADAM         BATES                        OR     90007805052
B5795685791585   JONATHAN     MESSORE                      TX     90013416857
B5795947861973   GEORGE       HERMEZ                       CA     46065769478
B579672AA72B27   ASUNCIAN     AGUILAR                      CO     90011417200
B5797483485927   ISAAC        LAMEKE                       KY     90004954834
B5797767655959   YAIR         FLORES                       CA     90007367676
B579779517B489   IRMA         GASSETT                      NC     90003887951
B5798875643589   GRISELDA     ARCE                         UT     90010228756
B579891594B557   ARTHUR       WILLIAMS                     OK     90010759159
B579947645B265   ANTHONY      CAREY                        KY     68086734764
B579949615B396   ROBERT       JOHNSON                      OR     44500754961
B5799992185927   LISA         COUCH                        KY     90014369921
B579B196291585   EDGAR        HOLGUIN                      TX     90011001962
B579B736931639   MARIA        LEAL                         KS     22054527369
B57B1251961987   RAFFAELE     ABBRUZZESE                   CA     90005972519
B57B1587A5B396   SUMMER       DEAL                         OR     90007905870
B57B164183146B   SAMANTH      GARNER                       MO     90008466418
B57B212445B265   LILKEESHA    JOHNSON                      KY     68095901244
B57B21A5893727   CRYSTAL      THOMAS                       OH     64568391058
B57B274432B825   LUCIEN       BRINKERHOFF                  ID     90012457443
B57B299A454122   KERRY        RAVERT                       OR     47041139904
B57B4636A31639   TONY         CASE                         KS     90000676360
B57B49A947B443   LATONYA      BOWMAN                       NC     90005669094
B57B4A1644B289   TERESA       MCKINSTRY                    NE     90004410164
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2165 of 2350


B57B4A85185927   MATT           SMITH                      KY     67041570851
B57B5272193745   ROBIN          LITTLE                     OH     90014652721
B57B5292355947   CHRISTOPHER    REYNA                      CA     90004602923
B57B5382172B69   AURORA         ESTRADA                    CO     33070253821
B57B566885B356   RAYMOND        MINCHE                     OR     90011086688
B57B62A3693752   RICHARD        LONG                       OH     90009052036
B57B731167B428   BERENICE       CRUZ                       NC     90012333116
B57B766397B443   DAWN           BOLDEN                     NC     11041496639
B57B7686891554   ROMELIA        VASQUEZ                    TX     90011196868
B57B8349554122   MAX            NORTON                     OR     90009033495
B57B9251576B27   KATELYN        WENTZ                      CA     90013242515
B57B9395922963   CARMA          WRIGHT                     GA     90015193959
B57B9655693745   DAWN           COX                        OH     64564276556
B57BB3AA87B489   CURTIS         COVINGTON                  NC     90010733008
B57BBA23A55972   MAY            YANG                       CA     49016620230
B58119A7191585   ISABEL         BURGOS                     TX     90010319071
B58119AA272B69   JUAN           PUENTES                    CO     33068609002
B5812666543589   BRENT          BOUNDS                     UT     31015176665
B5812856655959   RAMONA         SAUCEDO                    CA     48035368566
B5814228355959   ROXANA         CASTRO                     CA     90013082283
B5814243372B94   KURT           PAGE                       CO     90009412433
B5815363455959   LISA           GALAVIZ                    CA     48028563634
B5815441751356   YANCEY         JONES                      OH     90006164417
B5815823A31639   JEFFREY        RICKETS                    KS     90013048230
B581591A854122   CASSANDRA      WEISS                      OR     90007539108
B5815A6842B857   CODY           BOND                       ID     90012620684
B58168A4A85927   MIGUEL ANGEL   MONDRAGON                  KY     90012998040
B5817766476B27   ISAAC          MYERS                      CA     90004897664
B5817AA457B489   DEBORAH        JUNIOUS                    NC     90014560045
B58181A6172B62   MARIA          CASTORENA                  CO     90007991061
B5818383193745   LISA           RICE                       OH     64556463831
B58186AA58B833   TERFI          CHEIPOT                    HI     90014656005
B5818823572B69   MARCUS         WILLIAMS                   CO     33093608235
B5819318193727   MELINDA        EVERHART                   OH     90007483181
B5819367755959   NORMA          AVALOS                     CA     90012223677
B581953997B489   JOSHUA         HALL                       NC     90015335399
B5819645185927   LOGAN          SOWERS                     KY     90014086451
B5819686672B62   GEORGE         MULINDE                    CO     33076936866
B5819746672B62   KYLE           NEPTUNE                    CO     90014847466
B581B69875B396   JULIENE        BENNETT                    OR     44558836987
B581B95542B271   TIMOTHY        LADSON                     VA     90003119554
B5821986254122   ANTHONY        WILLIS                     OR     90012929862
B582229312B271   THURMAN        GREENE                     DC     90007772931
B582235A876B27   ERVIN          RUIZ                       CA     46019923508
B582238A931639   DAVID          CARR                       KS     90008713809
B582296934B56B   THOMA          EUGENE                     OK     90008699693
B5823148455947   ZACH           JIMENEZ                    CA     90013031484
B5823994754122   JAMISON        FISHER                     OR     90013009947
B5823A4815B265   JOSEPH         ISABEL                     KY     90011830481
B5824862691585   MARISELA       ALARCON                    TX     90009538626
B5825899954122   MIKAL          SMELTZER                   OR     47063128999
B5826273272B62   CHRISTOPHER    HENO                       CO     90013022732
B5826419555959   TRINO          CUEVAS                     CA     90013964195
B582645A185927   BRITTANY       CLINE                      KY     90014714501
B582654A291585   VERONICA       MIRAMONTES                 TX     75036605402
B5827A45691585   MARIA D        SANCHEZ                    TX     75096340456
B5829537A2B271   SOPHIA         PRINGLE                    DC     90014875370
B58296A7685927   EDITHO         HERNANDEZ                  KY     67022816076
B5829875643589   GRISELDA       ARCE                       UT     90010228756
B582998A655959   YOLANDA        ZUNIGA                     CA     90012439806
B582B319343589   AMANDA         GUZMAN                     UT     90009263193
B582B326993752   MICHEAL        MAXSON                     OH     90012433269
B582B456785927   MIGUEL         REYES                      KY     67097884567
B582BA2752B259   HENRY          GARMON JR                  DC     90010980275
B582BA39293758   BRIAN          KING                       OH     90004750392
B5831486193745   BRANDY         MCKINNEY                   OH     90010494861
B5831911143589   ISAIAS         NAVA                       UT     31087359111
B5832A83172B69   HILDA          LOPEZ                      CO     33049060831
B583325875B396   ESTHER         CAMPUZANO                  OR     90002242587
B5834A14454122   CORY           THOMA                      OR     90013330144
B5834A42193727   TIFFANY        BAKER                      OH     64509240421
B5835167672B69   ENRIQUE        LUNA                       CO     90012851676
B5835274293745   AMANDA         VEST                       OH     90011112742
B5835815993752   CASSEY         MORRIS                     OH     90014478159
B583587382B271   DARIUS         CABELL                     DC     90014268738
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2166 of 2350


B5835A26431639   NATHAN        STEPHENSON                  KS     22068410264
B5836721255959   ELMER         BLANCO                      CA     90012207212
B583684965B265   BRITTANIE     SMITH                       KY     90003798496
B58368A884B249   BETHANY       PAULSON                     NE     90005558088
B5837463654122   CHAD          LUNSKI                      OR     90014104636
B583863952B271   MONIQUE       SIMS                        DC     90011306395
B583884965B265   BRITTANIE     SMITH                       KY     90003798496
B583B46A893738   SUREKA        NORTH                       OH     90009154608
B583B677385927   RAY           ROWLETT                     KY     90014876773
B583BA5957B489   ROSALVA       SILVERIO                    NC     90013730595
B583BA94793758   JAROD         THRUSH                      OH     64564450947
B5841262543589   DEVIN         GITTINS                     UT     90011922625
B5841422172B62   CHRISTOPHER   WINTERS                     CO     90006794221
B5841431585927   VERONICA      MONTELONGO                  KY     90014894315
B58418A8193745   ANTHONY       TORY                        OH     90005238081
B5842216376B27   JAMES         PERRY                       CA     90013142163
B5842419355959   GUILLERMO     DOMINGUEZ                   CA     90011094193
B5843216993752   JUAN          JAQUEZ                      OH     64519262169
B5843418276B27   CYNTHIA       HEREDIA                     CA     90001604182
B5843492624B28   ALBERTO       VAZQUEZ                     MD     90014284926
B584355422242B   MODESTA       MENDOZA                     IL     90012815542
B584427255B396   SENORINA      NOYOLA                      OR     90013842725
B5844289355959   ROSALINDA     BECERRA                     CA     48027462893
B5844348471944   KEVIN         BAXTER                      CO     32084283484
B58445A8285927   KENORA        RELFORD                     KY     90015025082
B5845224555947   GABRIEL       HERNANDEZ                   CA     90013452245
B584526757B489   PORSCHE       CHAPMAN                     NC     90009222675
B5845884693752   PAUL          BUCHHOLZ                    OH     90000238846
B5845912557552   TRICIA        CLARK                       NM     90014539125
B5846286485927   LEE ANN       SULLIVAN                    KY     90006362864
B5846A4442B271   ASHLEY        JONES                       DC     90013820444
B5847255572B62   REGGIE        BARNES                      CO     90013022555
B5847638761825   TAMARA        MILLER                      MO     90000146387
B584767364435B   TIARA         MCCOY                       MD     90015346736
B5848941872B69   MARC          BELLAPIANTA                 CO     33005069418
B5849263754122   DAWN          CASTLEBERRY                 OR     47088312637
B5849A42585925   ADA           WALLS                       KY     90010730425
B584B1A5593758   LUCIEN        WRIGHT                      OH     90013931055
B584B519354122   JULIE         JONES                       OR     47045125193
B584B71A172435   DAVID         GRUDI                       PA     90012747101
B584B873693752   PAMELA        BLEVINS                     OH     90007358736
B585121472B271   JOHNNY        HACKETT                     DC     81030562147
B58514A4524B64   JENRY         ESCOBAR                     DC     90012344045
B5851626943589   LEAH          BEDOLLA                     UT     90013676269
B5851981393758   CRYSTOL       HAYNES                      OH     90005229813
B58524A6843589   ABRAHAM       MOURRA                      UT     90013934068
B5853145154176   EMILY         MONTERO                     OR     44512501451
B5853382972B69   MADELYN       BABCOCK                     CO     90013083829
B5853427841239   DIANNE        STEINER                     PA     90014804278
B5853617672B62   PHILLIP       HARRIS                      CO     33098826176
B58537A9193727   DORIS         MORALES                     OH     64549917091
B5853896193727   KATIE         SMALLWOOD                   OH     90015198961
B58541A8972B69   REGGIE        ELLIS                       CO     90006131089
B5854623555993   JULIETA       LUPERCIO                    CA     49069686235
B58559A912B271   ALBA          MONTOYA                     VA     90014719091
B5856576555947   ALICIA        GALLARDO                    CA     90013045765
B5856853472B62   JORGE         GONGORA                     CO     90001318534
B585718742B271   MEGAN         COLEMAN                     DC     90012181874
B5857719831688   TIMOTHY       HOUSER                      KS     22026967198
B585891525B396   IGNACIO       GONZALEZ                    OR     44503859152
B5859285A41226   LAUREN        RUPERT                      PA     90013942850
B5859586A72B69   CHUCK         PUGLIESE                    CO     90000765860
B585B117293745   LYNETTE       JENT                        OH     90004941172
B585B37633B381   ASHLEY        COCHRAN                     CO     90012143763
B585B616391585   FOASEPI       TOEAINA                     TX     90007586163
B585B63435B265   ANDRE         FRAZIER                     KY     68083136343
B585B71395B396   JUDY          RUSSELL                     OR     90011397139
B5861144636B98   KARRIE        JOHNSON                     OR     90014301446
B586115A298B23   KAMILAH       COBB                        NC     90009341502
B5861373493758   TWANA         MCGINNIS                    OH     90011413734
B5861558A55959   AMELIA        RODRIGUES                   CA     48026045580
B5861737685927   JEANE         MUDD                        KY     90008257376
B5862219955947   ALEX          GARCIA                      CA     90003722199
B586249A385927   ANGELA        WEBB                        KY     90014314903
B5862A68393745   MICHEAL       COLPSTON                    OH     90009480683
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2167 of 2350


B5863785A41298   KAYLA            KUNCO                    PA     90010747850
B5863946731639   SARA             FLANIGAN                 KS     22090129467
B586512A472B69   LESLIE           MONTES                   CO     33068781204
B5865814393758   TAMMY            HUGHES                   OH     90014698143
B5865962961941   VALERIE          ULM                      CA     90004249629
B5866179572B62   SERGIO           JOHNSON                  CO     33026431795
B5867334891585   MAGDALENA        RIVERA                   TX     75016343348
B5867591955959   MARIA            SANTANA                  CA     90012915919
B5868434776B27   SUSANA           CARMONA                  CA     90013724347
B5868596872B29   LUCY             ANN-RIVERA               CO     33001125968
B5868736A72B29   LUCY             ANN-RIVERA               CO     90013367360
B5868754461925   CARLOS           GALAN                    CA     90008797544
B58697A1454122   JENNIFER         AYOUTT                   OR     90013707014
B5869979785927   DORMAL           YOUNGBLOOD               KY     90011519797
B586B879572B62   ANA MARIA        VENEGAS                  CO     90013638795
B587174A554122   JOHN             MOWDY                    OR     90014527405
B5871A79991585   EVELYN           LOPEZ                    TX     90007840799
B5872753631688   DONALD           WATSON                   KS     22067057536
B5875857855947   TINA             LAMBERT                  CA     90014688578
B5875933872B69   ANEYA            CORDOVA                  CO     90004779338
B5875AA628B196   EMMA             PEREX                    UT     90013610062
B5876655A85927   JAMIE            BROCK                    KY     90015256550
B5876892576B27   CAMILLE          MUNOZ                    CA     90013028925
B5877874477977   HAILEE           NEWELL                   IL     90015438744
B5878334331639   JACOB            STRAUSBERG               KS     90013803343
B5878A99276B27   DAWN             BAXTER                   CA     46015270992
B5879144372B62   ANGEL            HERNANDEZ                CO     90013801443
B587929918B145   ROBERT           LAMBE                    UT     90005882991
B5879816972B69   PABLO            JUAREZ                   CO     33055718169
B587984492B271   ANTIONETTE       TILLER                   DC     90006048449
B5879859855947   MARIBLE          REYES                    CA     90006338598
B587B14554B296   CATHERINE        MASS                     NE     27088151455
B5881777372B69   RENE             MATINEZ                  CO     90010417773
B588249547B486   GARRETT          LEWIS                    NC     90008754954
B5882791354122   LANA             SCOTT                    OR     90006607913
B5882951855959   MARINA           ISLAS                    CA     90005369518
B58829A4972B69   BRIAN            TICE                     CO     33040899049
B58839A6793752   AMANDA           KUHL                     OH     90010779067
B5884352172B62   ADRINA           MARTINEZ                 CO     33054403521
B5884461A76B27   RAFAEL           PASCUAL                  CA     90009464610
B588457A693745   TANYA            PAHL                     OH     64515445706
B5884726A54122   TERRY            MCCLEARY                 OR     90012837260
B5884817491394   JERI OR DAMIEN   WOMACK                   KS     90013908174
B5884943485927   JANESHA          PHILLIPS                 KY     90014059434
B5885356355947   JOSE             VARGAS                   CA     49087963563
B588566815B396   KIP              COURTNEY                 OR     44570376681
B5886222893745   LAKESHA          BRADFORD                 OH     64501842228
B588712A254122   CARMEN           HILLS                    OR     90005801202
B5887A46772B69   JOSELUIS         MONTES                   CO     33044460467
B5887AAA65B396   JENNER           TELLEZ BELTRAN           OR     90000510006
B5888848776B27   WENDY            ALDANA                   CA     46013838487
B588939517B443   MATHEW           HOBSON                   NC     11009613951
B5889451655947   ALICE            MURILLO                  CA     49065854516
B5889551654122   JERRY            BARNETT                  OR     90011275516
B5889649A93752   PAMELA           LANDER                   OH     64550726490
B5889A78793752   ROBERT           HALL                     OH     90014690787
B5891577372B69   AIDA             LUNA                     CO     33013165773
B5891A13893758   JESSE            BOOKER                   OH     90012560138
B5891A53455959   MYEISHA          WORMLEY-JOHNSON          CA     90013460534
B5893153972B62   KRISTINE         MUELLER                  CO     90013831539
B5893781873233   TOM              DIPALMA                  NJ     90015467818
B589378437B489   ADRIENNE         REDDICK                  NC     11039257843
B589385835B396   VALERIE          SCOLLARD                 OR     44512518583
B5894572772B84   CRYSTAL          LOLMAUGH                 CO     90012275727
B5894574A2B271   EYVONNE          THREADGILL               DC     90008035740
B589487477B489   ALISHA           MCCLELLAN                NC     90012938747
B589524257B489   SONYA            HAGAN                    NC     90011242425
B589543A255938   MARIA TERESA     BOCANEGRA                CA     90010504302
B589719A493745   GABRIEL          MUWWAKKIL                OH     90013061904
B58972A597B443   THERESA          HENNEGAN                 NC     11058592059
B5897357741248   DEBRA            ANDERSON                 PA     90014153577
B5897658893758   JULIO            ALVAREZ                  OH     90015086588
B5897677155959   ERICA            OSORIO                   CA     48001876771
B5897894472B69   JANINE           VIALPANDO                CO     90014068944
B5897A3A17B489   JUAN             ROMERO                   NC     11067030301
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2168 of 2350


B5898762993758   DAVID         GLANCY                      OH     64590717629
B5898891191585   ILIANA        MARTINEZ                    TX     90014908911
B5898896176B27   VNAESSA       LUGO                        CA     90014708961
B5899212491585   CAROLINA      OROZCO                      TX     90015172124
B5899463A72B69   JAMES         MACALUSO                    CO     90011074630
B5899744554122   HON           SOLO                        OR     90007697445
B5899A2542B271   OCTAVIA       HARRIS                      DC     90012620254
B5899A43331639   WILLIAM       WADE                        KS     90011770433
B5899A7835B265   BRYAN         ROGERS                      KY     90011230783
B589B24A77B489   BEONICA       BESS                        NC     90011242407
B589B51117B489   SANTOS        HERMILDO ALMARAZ            NC     90013615111
B589B517A55972   CYNTHIA       GARCIA                      CA     49036785170
B589B543272B69   MAURO         MONTES                      CO     90005625432
B58B11A9A31639   TIMOTHY       PAULY                       KS     90013381090
B58B1446193758   ADRIAN        ESPARZA                     OH     90015324461
B58B2167231639   PAMELA        NEVERGALL                   KS     22052391672
B58B2217393727   ASHLEY        PETTIGREW                   OH     90008042173
B58B2222572B62   ABRAHM        GARCIA                      CO     90013022225
B58B2677855959   MARICELA      ORTEGA                      CA     90015196778
B58B26A7343589   AZUCENA       PEREZ                       UT     90014196073
B58B283395B396   MARIA         NAVARRO                     OR     44512098339
B58B3286355959   MANUEL        LICEA                       CA     90014812863
B58B371475B548   PEGGY         PADILLA                     NM     90000147147
B58B393A391585   ALBERT        BARBA                       TX     75086259303
B58B446965B396   ISRAEL        ORTIZ                       OR     90012754696
B58B4692843589   JARED         SORENSON                    UT     90008826928
B58B4815193758   EMILY         KINCAID                     OH     90014778151
B58B4975291585   KIRK          BAUER                       TX     90010019752
B58B54A5124B64   IVAN          HURTA                       DC     81094654051
B58B57A8251331   STEPHANIE     MCDAY                       OH     90010857082
B58B6215176B27   JOVONNY       JAIME                       CA     90007622151
B58B664A355953   FAVIOLA       LOPEZ                       CA     90014916403
B58B681AA55953   FABIOLA       LOPEZ                       CA     90014728100
B58B6949972B69   ROBERT        COMBS                       CO     90010669499
B58B794764B555   KAREN         POPE                        OK     90011359476
B58B8131593745   NADINE        WIENEKE                     OH     64577481315
B58B8229472B62   JOSE          GONZALES                    CO     33073902294
B58B958772B271   DEBORAH       LANGHORNE                   DC     90014705877
B58B988498B133   SHANE         THOMAS                      UT     90007738849
B58B9975393758   MICHAEL S     SEVERT                      OH     90012529753
B58BB14612B271   ROCHELLE      PITTMAN                     DC     90014421461
B58BB317243589   THOMAS        PEARCE                      UT     90013813172
B58BB852384329   ELMER         VELASQUEZ                   SC     90008018523
B5911432243589   JULIO         CHAVEZ                      UT     90009304322
B591143953B174   RAUL          NOVELO                      VA     90001584395
B5911472185927   HEATHER       ALCORN                      KY     90012674721
B5911512191585   MARIA         FELIX                       TX     75088245121
B591259954B245   NIKOLE        KNIGHT                      NE     90001115995
B5912944291585   JAVIER        VALDEZ                      TX     75044969442
B5912A2A95B396   LINDA         GUTIERREZ                   OR     90014640209
B5913187957564   LUIS          MUNOZ                       NM     90013781879
B59137A1943589   JUAN          CARLOS                      UT     90005767019
B591422A254122   WILLIAM       GREINER                     OR     47068302202
B5915A82655947   MARIBEL       CARDENAS                    CA     90012990826
B5916324193758   AMANDA        LYNN                        OH     90010993241
B59165A192B271   JERMYH        HOLIDAY                     DC     90012955019
B5916633454122   CINDY         RISLER                      OR     90010546334
B5916724391582   MRS PHYLLIS   GORDON                      TX     90011437243
B5917844185927   JUAN          JUAREZ                      KY     67011568441
B5918335585927   SHANIKA       PENMAN                      KY     90013483355
B5919288772B81   JUANA         CALZADA                     CO     33081062887
B591951A855959   ROSA          VERDIN                      CA     90014095108
B591B438376B27   SAMANTHA      NEAL                        CA     90013324383
B591BA91443589   LUIS          MENDEZ                      UT     90008930914
B592136558B32B   DARVARUS      GUESS                       SC     90014943655
B59227A5385942   SERENA        FLORENTINO                  KY     90012427053
B5922845854122   RICH          DEXTER                      OR     90013178458
B592288A555947   MARTIN        QUINONEZ                    CA     90009208805
B59233A6493758   NORMA         ADAIR                       OH     90010993064
B59238A6A76B27   ANTONIO       OLIVOS                      CA     90014178060
B5924449976B27   GERARDO       LEON                        CA     90001604499
B5924468193758   JAMES         ALLEN                       OH     64553754681
B5924768372B69   THERESA       URBAN                       CO     90002157683
B5925539343589   JAMES         PARKER                      UT     90014935393
B5927199643589   ANTONIO       ESCARENO                    UT     90014791996
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2169 of 2350


B592735A27B489   KIEL               DAVIS                  NC     90014553502
B5927553693758   ASHLEY             JAYNES                 OH     90013025536
B5927592985927   KATHY              STEPHENS               KY     90013675929
B5928249155959   JOHANN             ZAPIEN                 CA     48066442491
B59286A8836B98   TIMOTHY            NEILSON                OR     90014006088
B5929517555959   BENITO             MARTINEZ               CA     90014185175
B5929A31172B62   PAUL               GONZALES               CO     90013010311
B5932312693752   JAMES              HALE                   OH     64590803126
B593242A472B69   MICHAEL            WOLFF                  CO     90015114204
B593265152B271   ESMAEL             NURI                   DC     90013046515
B593296A89286B   YANET              MARTINEZ               AZ     90014449608
B5933338231639   MARIA              FELISIANO              KS     90014973382
B5933438936B98   JEREMY             ATWOOD                 OR     90011194389
B59342A8491248   SHANNON            LEWIS                  GA     90005992084
B593466317B657   WILLIE             MANUEL                 GA     15075416631
B5934689455959   JAVIER             RODRIGUEZ              CA     90002536894
B593513317B489   QUEEN              EDWARDS                NC     90013551331
B593515A461998   ELLEN              MAHR                   CA     90008131504
B593518165B265   JOHN               CHILDERS               KY     68064671816
B59356A9731639   FREDDY             HERNANDEZ              KS     22004426097
B5935792172B69   DIONNA             ROMERO                 CO     90002647921
B5936252185927   ANGELA             RICHARDSON             KY     67002262521
B5936948555959   ELEANOR            LOPEZ                  CA     90012239485
B5937473693745   MELANIE            SCOTT                  OH     90014134736
B593754452B271   SHERRY             GRAVES                 DC     90014875445
B5938967951355   MARY               SCALF                  OH     90004989679
B5939588476B27   DANIELA            CASIMIRO               CA     90015115884
B5939812993758   MICHEAL            BROWNING               OH     90013948129
B593B218A43589   TERRY              HOOD                   UT     90006282180
B593B54295B265   STEVEN T           WALLACE                KY     90011835429
B594123778B12B   PETER              SALTER                 UT     90012402377
B5941319176B27   SANDRA             GALLEGOS               CA     46091383191
B5941638672B81   LEE                BLUM                   CO     90014166386
B5941813972B62   VERONICA           CHAVARRIA              CO     33037448139
B5942796943589   TONY               ALLEN                  UT     90013837969
B5942835885927   KARLA              RING                   KY     90013008358
B594325357B489   RYAN               SIMPSON                NC     90014312535
B5943432A72B62   GIOBANNI           CASTRO                 CO     90015144320
B5944355276B27   DOMINGO            VELASCO                CA     46072763552
B594514845B396   MIGUEL             LOPEZ                  OR     90012511484
B594516A772B62   JIM                VALLEJOS               CO     90014781607
B5945A23655959   MARIA              GARCIA                 CA     90013350236
B5945A89A24B28   CHARLES            ANTHONY                DC     90011020890
B5945AA9333635   TOSCOA             MURRAY                 NC     18045850093
B594689565B396   JOSEPH             AUBUCHON               OR     90010268956
B5947336A93758   TERRI              HEIDEMAN               OH     90013213360
B5948965293727   TONYA              MARTIN                 OH     90011899652
B5948A48693727   TONYA              MARTIN                 OH     90013650486
B5949477A43589   CHANTEL            LOMAX                  UT     90008764770
B594958425B562   ELSA               SMITH                  NM     90001425842
B594B224591585   LINDA              DELUNA                 TX     75005612245
B594B4A8343589   LAURA              GREENWOOD              ID     90011354083
B594B4A845B799   HILARIO            RAMIREZ                MN     90014964084
B594B93AA76B58   MARTIN             ROMERO                 CA     90009239300
B594BA39985927   ANDRES             PEREZ                  KY     67005530399
B5951263293752   SUSAN              SCHMITT                OH     64555162632
B5951352693745   CHRISTOPHE         HOFSTETTER             OH     64585153526
B5952253143589   BRUCE              RAWLINS                UT     90006682531
B5952511355959   GILBERTO           QUEVEDO JR             CA     48079495113
B5952962A85927   JOSE               LOPEZ                  KY     90011449620
B595332417B489   CHRIS              BROWN                  NC     11086443241
B5953538893727   YOLANDA            AVERY                  OH     64510965388
B5953564354122   DAVID              DIERKSEN               OR     90012895643
B5953644476B27   JUAN               PEDRO                  CA     46096946444
B5953A98477575   SUZETTE            MILLER                 NV     43005280984
B5954522185927   JOHN               BLACK                  KY     90011435221
B59554A9955959   JAIME              BAIRES                 CA     48055024099
B5955528957331   JESSICA            WHEAT                  MO     90010385289
B595638975B396   AUDREY             KNOWLES                OR     44592153897
B5956696293758   MARK               JORDAN                 OH     90009646962
B595715235B265   ANGEL              HENDERSON              KY     90012111523
B595753522B834   VICKIE             LOWE                   ID     90004465352
B59589A6472B62   SONIA              RIOS                   CO     90005789064
B595972414B296   SKYLER SPRACKLIN   BRANDEN JONES          NE     90006997241
B595B138131639   JULIA              LAYTON                 KS     22063841381
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2170 of 2350


B596128A961977   JOANNA             HERNANDEZ              CA     90008532809
B59612A397B889   BERENICE           POINTER                IL     90014822039
B5961434431639   VERONIKA           MCHENRY                KS     90007204344
B5962325272B62   ARMANDO            CADENAS                CO     33069143252
B59629A6793752   CHANGE             R U READY              OH     90002779067
B5963429A93752   TAMMY              JACKSON                OH     90013274290
B5963A7144B231   JANICE             SHAFER                 NE     90010610714
B596414485B799   SAVIVANH           SRISOMPHOU             MN     90011291448
B596423882B271   TAYLOR             WASHINGTON             DC     90012992388
B596445A38B152   SERAFINA           GARCIA                 UT     31068124503
B5964544177977   VICTOR             SILVA                  IL     29583825441
B5964625272B69   ELVA               KEMP                   CO     90013016252
B596543A793752   DAVID              DALTON                 OH     90012574307
B5965468454122   TYSON              MORRIS                 OR     90013334684
B5967265191585   JESUS              CARREON                TX     75083932651
B5967344685927   LAWRENCE           SMITH                  KY     90013893446
B5967497133625   ANDRE              FITZHUGH               NC     90012854971
B5968274193727   JAYSON             GRAHAM                 OH     64547362741
B5968922A93745   DENNY              WALL                   OH     90013859220
B596B153793752   STACY              HENDRICKSON            OH     64501081537
B596B296A85927   BRITTAIN           GILL                   KY     90015192960
B596B37415B374   VELVET             PERSON                 OR     44591933741
B596B39822B271   DIEGO ARMANDO      PULIDO                 DC     90015113982
B596BAA2991585   CORINA             CHAVEZ                 TX     90013010029
B5971644771993   ROBERT AND REYNA   BRUNTON                CO     90012456447
B5971719893745   JERRY              WRIGHT                 OH     90015187198
B59739A8A72B62   CLEOFAS            QUINTANA               CO     90009959080
B5974527555947   ANGELA             NAVARO                 CA     90006615275
B5974538793745   TARA               WORLEY                 OH     90009825387
B5975498124B28   ERIKA MARISOL      AMAYA                  VA     90011654981
B5975858A91585   CHRISTI            UNRUH                  TX     90012428580
B5975A69476B27   MAXIMO             CRUZ                   CA     90012130694
B597616A95B396   MOHAUGANY          CHERRY                 OR     90012081609
B5976586154168   PAYGO              IVR ACTIVATION         OR     90010625861
B5976658291248   JAMAL              STEWART                GA     90007496582
B5976753247942   MARICELA           LUEVANO                AR     90012847532
B5977361A72B62   AMANDA             FELKY                  CO     33036363610
B597743A155972   SALVADOR           MARCIAL PACHECO        CA     90007104301
B59783A9593727   SHANNON            STANIFER               OH     90008163095
B5978A19876B27   DIANA              AYALA                  CA     90009910198
B59791A4472B69   CHERRIE            BETANCOURT             CO     33027921044
B597947A391585   EDWARD             VERA                   TX     90012834703
B597B484993752   JANETTA            HOUSER                 OH     90013774849
B597B7A5154122   DYLAN              MURPHY                 OR     90013337051
B598147412B259   WILFREDO           ZELAYA                 DC     81066524741
B5981A44854122   STEVEN             JAYNE                  OR     47044540448
B5981AA265598B   JAZMIN             VARGAS                 CA     90014180026
B598221742B24B   LATANYA            WARD                   DC     90002162174
B598347AA93758   GEANETTA           PHILLIPS               OH     90014594700
B5984935943589   RON                JACKSON                UT     90009459359
B598522538B166   CAMERON            BYBEE                  UT     90011822253
B5985247993752   CRYSTAL            ENGLISH                OH     64583982479
B598537888B166   BYBEE              CAMERON                UT     90010153788
B5985456A2B271   DIDEOLU            DAWODU                 DC     90010844560
B59855A225B333   PERSEPHANE         ARNOLD                 OR     90011885022
B5985631943589   EMBER              TROSETH                UT     90015176319
B598564429286B   TERRY              FRANK                  AZ     90014536442
B598585A666242   JANICE             NUNNALLY               MS     90008338506
B5986366143589   MELISSA            LESCE                  UT     90013813661
B5986884493758   STEVEN             OBRYAN                 OH     90013918844
B598771A631639   AMANDA             ROGERS                 KS     90013547106
B5987977643589   LATISHA            ALVAREZ                UT     90013999776
B598944328B14B   JANELLE            COX                    UT     90008954432
B5989626A71699   RUEBEN             CHEATCHM               NY     90015456260
B5989761391872   SHAWN              HARRINGTON             OK     90012357613
B5989899954122   MIKAL              SMELTZER               OR     47063128999
B5989A81491222   SHINTERIA          HILL                   GA     90012530814
B598B113254122   JENNIFER           RICHMOND               OR     47076051132
B598B17665B265   PEDRO              CASTRO                 KY     68057521766
B598B26887B489   JORGE              ZELAYA                 NC     90014342688
B5991547255941   SHEILA             RODRIGUES              CA     90014535472
B5992397472B69   ANA                MACIAS                 CO     90013283974
B59924A8343589   LAURA              GREENWOOD              ID     90011354083
B5992513885927   ERICA              VANDERPOOL             KY     90013055138
B5992682155959   ANTONIO            CARILLO                CA     90015196821
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2171 of 2350


B5992744193752   JANICE        MCGEE                       OH     64560017441
B5992834891939   DELAROSA      SANCHEZ                     NC     90013858348
B599294A991585   EDUARDO       DELGADO                     TX     90002569409
B5993239272B69   NORIEGA       JONATHAN                    CO     90008702392
B5993421693758   ASHLEY        HERRIS                      OH     90014024216
B599354717B489   JASON         SAUNDERS                    NC     11096585471
B59937A5872B62   MANUEL        VASQUEZ                     CO     90014837058
B5993A96155972   EDWARD        CLOYD                       CA     49016520961
B5994127872B62   JAZMIN        CASTILLO                    CO     33098411278
B5994AA3472B69   CONSUELO      PACHECO                     CO     90013990034
B5996A3688B168   ARIANA        LOPEZ                       UT     90013030368
B5997126854122   LINDA         PERRONE                     OR     90007041268
B59978A6491585   JEFFREY       HARBISON                    TX     90009828064
B5998133A5B396   TYCE          PHILLIPPI                   OR     90012191330
B5998328855959   LUIS          ALVAREZ                     CA     90012963288
B5998352943589   JOHN          HARMON                      UT     90014263529
B5999471777977   ANNA          ANEES                       IL     90015384717
B599959285B592   DAMON         ROMERO                      NM     36064075928
B599B217193758   SANDRA        BORGERDING                  OH     64536682171
B599BA24491585   JAVIER        MORENO                      TX     90011420244
B59B1164155959   JOSE          CRUZ-NUNEZ                  CA     90002331641
B59B214242B271   JESSICA       GOMEZ                       DC     90013911424
B59B2689391585   RAPHAEL       MARTINEZ                    TX     90008886893
B59B2726A54122   TERRY         MCCLEARY                    OR     90012837260
B59B2821793758   SHENIKA       TAYLOR                      OH     64586058217
B59B379124B262   STEPHANIE     MASON                       NE     26008337912
B59B38A7543589   CHARAMAYNE    BEGAY                       UT     90014428075
B59B3988A55947   CELESTE       DURAN                       CA     49015999880
B59B5259151326   LASHANDA      MINTER                      OH     90006672591
B59B571475B384   MARIBEL       CABRERA                     OR     90012007147
B59B5931A3B391   JESSICA       WOOD                        CO     90007449310
B59B6655A93758   JOSEPH        COX                         OH     90011916550
B59B7111697B69   TAMMY         SAUNDERS                    CO     90006951116
B59B7226155994   CHRISTINE     MATASSA                     CA     49091732261
B59B8422951343   ELLIS         COLEMAN                     OH     90007974229
B59B9725A55959   KARINA        LOZOYA                      CA     90010137250
B59B979775B396   CALL          ONE                         OR     44596467977
B59B9935A4B988   ROBYN         RELFORD                     TX     76528909350
B59B9A27A2B229   SOLOMON       GUDTA                       DC     90003260270
B59B9A58943589   CHRISTOPHER   LARSEN                      UT     90007370589
B59BB151355947   GUADALUPE     PEREZ                       CA     90013031513
B59BB199893752   DAMBRA        HENDERSON                   OH     90014151998
B5B113A7391585   JOAQUIN       DURAN                       TX     75056933073
B5B11636843589   MARK          SMITH                       UT     90012656368
B5B1184943B352   MARIA         PINEDO                      CO     33066778494
B5B12586272B62   JENNIE        HUNT                        CO     90000965862
B5B13989285927   ADAN          VARAJAS                     KY     90013929892
B5B1529142B271   ANTHONY       AARON                       DC     90015182914
B5B15317376B27   DANIEL        GRANADOS                    CA     46016003173
B5B15376A8B337   RON           BARNETTE                    SC     90002043760
B5B153A8893727   KEVINE        JONES                       OH     90013763088
B5B1629439286B   MICHAEL       HANSEN                      AZ     90014282943
B5B1641675B562   DANIEL        GLIDDEN                     NM     90010504167
B5B16487693745   BROOKE        CARTER                      OH     64554654876
B5B16849776B27   JUAN          TORRES                      CA     46013878497
B5B1721175B545   FRANCISCO     CASTRO                      NM     90012402117
B5B17264355959   GRISELDA      ARVIZU                      CA     90011182643
B5B17274772B69   ROSA          CORTEZ                      CO     33095892747
B5B17586172B62   DORA          MARTINEZ                    CO     33065215861
B5B17713993727   TIMOTHY       KEATON-DIX                  OH     64590677139
B5B18857691222   RIGO          PEREZ                       GA     90013958576
B5B18937A91585   LUIS          ORTIZ HOLGUIN               TX     90007879370
B5B19255254122   PATRICIA      GILLASPIE                   OR     90006232552
B5B19587185927   JAMES         CURRY                       KY     90012285871
B5B1B341693752   GREGORY       PRICE                       OH     64513193416
B5B1B495172488   THOMAS        PETTY                       PA     90012764951
B5B1B758343589   VANG          MOUA                        UT     90012477583
B5B1B7A1455959   LORENA        QUINTANIA                   CA     90009697014
B5B21942155947   CHUE          YANG                        CA     90014419421
B5B22161272B69   ELOISA        RODRIGUEZ                   CO     33040351612
B5B22555172B62   JUAN          DE LA ROSA                  CO     33052975551
B5B22969A54122   ANTRUNETTA    HATFIELD                    OR     90005199690
B5B23182193738   CHRISHANA     WALKER                      OH     90009271821
B5B23266A85927   TRESSA        CHESNUT                     KY     90015562660
B5B23817593745   CHRISTINA     GILBERT                     OH     64577288175
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2172 of 2350


B5B2485712B271   SABRINA      WEBB                         DC     90012908571
B5B26479454122   BRANDIE      LAKE                         OR     90011344794
B5B26997A42332   MAKENSEY     ADAMS                        GA     90015569970
B5B26A2365B396   JOHNATHON    DAVIS                        OR     90013380236
B5B27521572B62   CERENA       GALLEGOS                     CO     90013815215
B5B2771A655959   JENNIFER     HILL                         CA     90012587106
B5B278A8693758   AMANDA       ABRAMS                       OH     64569408086
B5B28221976B27   BRYAN        MUNDY                        CA     90012232219
B5B29754193745   ANDRE        MITCHELL                     OH     64511427541
B5B29817555947   YOLANDA      MELLO                        CA     90006758175
B5B2B289291585   MARIA        VELAZQUEZ                    TX     90013452892
B5B2B594855947   THERESA      LOPEZ                        CA     49053565948
B5B3163652B227   KIARA        HATTON                       DC     90012556365
B5B31A2884B988   BRUCE        EDWARDS                      TX     76504090288
B5B3236135B396   BRITTANY     TAYLOR                       OR     90003193613
B5B32A55A55947   KELLI        MADRIGAL                     CA     49097650550
B5B33116936B98   ABISAI       SANCHEZ                      OR     90013941169
B5B33217A93745   LACEY        LANNOM                       OH     90007562170
B5B34129776B27   RAMON        HINOJOZA                     CA     90001571297
B5B34575393727   JAMES        VARVEL                       OH     90012115753
B5B3566685B555   ABBY         HERRERA                      NM     90005626668
B5B356A2243589   PAMELA       SNOOK                        UT     90009466022
B5B35A6A655959   EMMA         HERNANDEZ                    CA     90010920606
B5B36217591248   KARYN        KITCHEN                      GA     90007852175
B5B3672A193758   NICOLE       HINDS                        OH     90013817201
B5B367A952B271   H            EVANS II                     DC     90014167095
B5B3728A791585   SAMANTHA     BARRERA                      TX     90013462807
B5B37434885927   WILLIAM      HAYES                        KY     90013984348
B5B3764685B265   SHAWN        BOSWELL                      KY     68084186468
B5B38A85393758   MARY         BOLE                         OH     90015030853
B5B39957A31639   KAYLA        CLAYTON                      KS     22079349570
B5B39AA6643589   JUAN DIEGO   MENDEZ                       UT     90014030066
B5B3B291793758   JACK         KING                         OH     64507942917
B5B3B983672B62   JASON        HEAD                         CO     90013009836
B5B41777931639   MIGUEL       GANDARA                      KS     90008647779
B5B4188375B265   ALHAGIE      CHAM                         KY     68010198837
B5B41A1358B63B   PHYLLIS      SIZEMORE                     TX     90014360135
B5B42865781683   BLAKE        COULTER                      MO     90010658657
B5B42A65876B27   JESUS        GUILLERMO                    CA     46005330658
B5B4317A155959   RICARDO      GARCIA                       CA     90014511701
B5B43846391248   QUENITRA     MORRIS                       GA     90013788463
B5B44786931639   LEKEITHA     BROWN                        KS     90008647869
B5B44925893727   FREED        REED                         OH     90007419258
B5B45137554122   TAMAR        FANCY                        OR     47088171375
B5B46297255959   ARIANA       GUILLEN                      CA     90009952972
B5B46786931639   LEKEITHA     BROWN                        KS     90008647869
B5B4724AA93758   IMMANUEL     ADAMS                        OH     90003042400
B5B4815A654122   MINDY        GATHING                      OR     90013651506
B5B4817875B396   THAN         TUN                          OR     90011471787
B5B481A639286B   LUIS         VELASCO                      AZ     90013771063
B5B48656922444   KIRSTEN      LOID                         IA     20515676569
B5B48993172B62   ZACH         WEBER                        CO     90006409931
B5B48A4592B885   DAVID        HUNSAKER                     ID     42086300459
B5B49397772B62   DESIREE      VIGIL                        CO     90010873977
B5B49562343589   BRACKEN      ANDERSON                     UT     90010725623
B5B4975635598B   MELISSA      LOZA                         CA     90000847563
B5B4B181991573   DAMARIS      TOVAR                        TX     75021391819
B5B4B713255959   LORENA       QUINTANIA                    CA     90009697132
B5B4BA34A5B265   TABITHA      BONDS                        KY     68048070340
B5B511A2493727   JULIE        KITCHEN                      OH     64513781024
B5B51759976B5B   WESLEY       WILLIAMS                     CA     46094227599
B5B51854A55947   MICHAEL      KING                         CA     90014618540
B5B5223A685927   PATRICIA     BROWN                        KY     90012582306
B5B52333593752   TANGIE       HILL                         OH     64514003335
B5B52478472B62   OMAR         SIERRA                       CO     90014244784
B5B52738131639   GUSTAVO      PEREZ VIOLANTE               KS     22062527381
B5B53991291874   JASON        BULINGTON                    OK     90011919912
B5B54327536B98   MARQUETTA    JACKSON                      OR     90012123275
B5B554A737B489   VICKIE       LADD                         NC     11055954073
B5B56349555947   JAIME        COLIN                        CA     90013023495
B5B5732657B443   SHAYLA       BROWN                        NC     11041163265
B5B57579293727   ROY          BLANTON JR                   OH     64589865792
B5B57919572B62   ANTONIO      REYES                        CO     90010259195
B5B5827A67B489   TRUDIE       WALKER                       NC     90014172706
B5B58684155959   MARIA        RODRIGUEZ                    CA     48024656841
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2173 of 2350


B5B58739391585   DERICK       COTTMAN                      TX     90012757393
B5B59617672B69   CJ           TOVIN                        CO     90014526176
B5B59685755947   ROYER        RAMIREZ                      CA     49011896857
B5B5B125391585   MELIZA       GUYE                         TX     75088801253
B5B5B221A93758   BECKY        ROWE                         OH     64548812210
B5B5BA63593727   SHANELLE     KINSER                       OH     90014030635
B5B6145A693758   JAMIE        RINEHARP                     OH     90001484506
B5B62692433624   KATHERINE    NEELY                        NC     90008006924
B5B62889293727   DEBBIE       WILLIAMS                     OH     64586528892
B5B63271655959   ANA          CORTEZ                       CA     90012522716
B5B63313631639   TONYA        MADDUX                       KS     22026583136
B5B6364465B265   FREDEIJA     MALONE                       KY     90000606446
B5B64649451343   GLENNA       KELTNER                      OH     90009666494
B5B64A4615B389   KRISSIA      MARTINEZ                     OR     90010150461
B5B6522735B396   DANNY        LAYTON                       OR     90006062273
B5B65424793745   KRISTINA     JONES                        OH     90013224247
B5B6562962B271   DAMARIS      WARREN                       DC     90014696296
B5B65762172B69   MARLENA      MCELHANEY                    CO     33037337621
B5B65812255947   BARNEY       RAMERO                       CA     90002948122
B5B65856572B62   JENNIFFER    GONZALEZ                     CO     90011298565
B5B66265954122   IGOR         YURCHENKO                    OR     90012162659
B5B67183331688   EDITH        VALENCIA                     KS     22001641833
B5B6745A572B69   FABIAN       GONZALEZ                     CO     90012554505
B5B68253455947   AGUIRRE      TERESA RODRIGUEZ             CA     49094302534
B5B68726621929   LAWRENCE     JOHNSON                      IN     90006217266
B5B68744176B27   ARNALDO      ELIZARASAS                   CA     90008697441
B5B6916245B396   ASHLEIGH     BRIDGES                      OR     90012011624
B5B69535572B62   ROLANDO      GUERRERO                     CO     33012735355
B5B6B768485927   RITA         LUNA                         KY     90013937684
B5B6BA64951343   JENNIFER     HOBBS                        OH     90008040649
B5B7118A491585   JORGE        VARGAS                       TX     90014481804
B5B71897593752   EDWARD       BRUGGEMAN                    OH     90013958975
B5B719A585B168   LATONNA      MCDONNELL                    AR     90007789058
B5B7215327B489   RUTH         ZESATI                       NC     90005961532
B5B72786772B62   ANGELA       MASINELLI                    CO     33095007867
B5B72887431688   COURTNEY     HULL                         KS     22018438874
B5B72A23A2B271   MARVIN       JOHNSON                      DC     90012910230
B5B7392AA55959   LAURA        MORENO                       CA     48037279200
B5B7395A855947   LINDA D      MOORE                        CA     90014719508
B5B7519558B138   JIM          SANDOVAL                     UT     31098731955
B5B75814A54122   RACHAN       HOPKINS                      OR     47044388140
B5B75A1795B396   DOROTHY      WICKERSHAM                   OR     90013200179
B5B75A79272B69   MARLEM       ORTIZ                        CO     33077570792
B5B75A8592B228   LARRY        SULLIVAN                     DC     90007870859
B5B76174476B27   JOSE         OCHOA                        CA     90007431744
B5B76567172B27   KEVIN        GUIN                         CO     33053485671
B5B7735AA2B271   DAVETTA      SIMPSON                      DC     81060933500
B5B7831A155959   NELSON       SANCHEZ                      CA     48004613101
B5B7951AA7B489   DARRELL      ALEXANDER                    NC     11088645100
B5B79585731639   ERIN         PATRICK                      KS     22085215857
B5B7966315B265   CRYSTAL      GILBERT                      KY     90011796631
B5B79A72393758   ANA          PEREZ                        OH     90014970723
B5B81265676B27   ROQUE        GALAN                        CA     90006342656
B5B81421854122   TREVOR       HARRIS                       OR     90013204218
B5B8242785B396   AMY          HUNT                         OR     90011644278
B5B82634772B62   PEDRO        MARTINES                     CO     90010836347
B5B82755736B98   WILLIAM      GONZALES                     OR     90009467557
B5B83173593758   VALERIE      MCLANE                       OH     90014901735
B5B83551284329   JOSE         LAGUNA SANCHEZ               SC     90008035512
B5B83659193758   DONALD       HULSEY                       OH     90012646591
B5B84285754139   RICHARD      JOHNSON                      OR     90014612857
B5B84839A93745   ROBIN        PARKER                       OH     90013718390
B5B84948343589   ROSA         SEGOVIA                      UT     90009469483
B5B8545937B489   FRED         TRACY                        NC     90010704593
B5B8568AA72B69   MARTIN       ZUNIGA                       CO     90013426800
B5B85948941258   AL           FALCIONE                     PA     51021059489
B5B85A78593745   ANDREA       ROSALES                      OH     90013410785
B5B86514731474   RICHARD      MEYER                        MO     90006365147
B5B8666735B265   TRAVIS       MULLINS                      KY     90011796673
B5B8696162B271   LEQUITA      MARSHALL                     DC     90012959616
B5B87396351378   BRANDON      THOMAS                       OH     90013373963
B5B87973785927   KIMBERLY     BUTLER                       KY     67011819737
B5B88137151334   STEVE        HALL                         OH     90003141371
B5B88651591585   JOSE         HENANDEZ                     TX     75041856515
B5B89226272B69   SELENA       HERNANDEZ                    CO     90013242262
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2174 of 2350


B5B89338366242   DEWAYNE      RICHMOND                     MS     90001283383
B5B89488893727   CATHY        SAMMONS                      OH     64502314888
B5B89628442526   JOSE         KOYOC-CUYTUN                 WA     90015506284
B5B89738872B81   ALEXIS       WALLACE                      CO     33072827388
B5B899AA82B271   NERSES       ROSALES                      DC     90014669008
B5B8B19495B265   VENUS        EDELEN                       KY     90003791949
B5B8B384A85927   RAQUEL       JUAREZ                       KY     90008403840
B5B91117372B22   AMANDA       DENZER                       CO     90000561173
B5B91574191983   THOMAS       CONRAD NEWMAN                NC     17096505741
B5B91728391573   LAURA        CALLEROS                     TX     90012637283
B5B91A7995B265   WAYNE        GRAHAM                       KY     90007820799
B5B925A4A55959   JORGE        PORRAS                       CA     90013615040
B5B92655791585   EUGENIA      ORTIZ                        TX     75088366557
B5B92975193758   AARON        NOVAL                        OH     64506629751
B5B93528193745   JULIE        SHAW                         OH     64526115281
B5B94624931639   DOMINIQUE    LUNA                         KS     90014536249
B5B94876661941   LETICIA      MARTINEZ                     CA     90013918766
B5B948A9843589   ALEJANDRO    MOSIAS                       UT     90012358098
B5B949AA82B271   NERSES       ROSALES                      DC     90014669008
B5B94A33785927   TOCCARA      DOUGLAS                      KY     90013470337
B5B956A4384387   NATHANIEL    GUESS                        SC     90005406043
B5B9598625B555   JESSE        PURCELLA                     NM     90009489862
B5B96258293783   SONNIE       WILKINS                      OH     90012502582
B5B96262A55947   DIANA        CARILLO                      CA     90008992620
B5B97116A91585   ADALMIN      HERNANDEZ                    TX     90009921160
B5B9763338B183   TAMMY        DANKERT                      UT     31084376333
B5B97727854122   SHIRLEY      MCBRIDE                      OR     90005657278
B5B97849593727   LORRI        SIPES                        OH     90009158495
B5B9847965B396   JESS         CLARK                        OR     90013934796
B5B9859A991585   SAUL         CASTANEDA                    TX     75088365909
B5B98914693752   CRAIG        MYERS                        OH     90015119146
B5B9B46667B489   MICHAEL      SMITH                        NC     11090174666
B5B9B51237B443   MELISSA      PARKER                       SC     11008735123
B5B9B71A355947   JOSE         MERCADO                      CA     90000347103
B5B9B941793745   RENADA       JACKSON                      OH     90013339417
B5BB1936272432   KEVIN        PRICE                        PA     90013679362
B5BB1A51633647   TIMOTHY      BRYAN                        NC     90013060516
B5BB1A65193745   CARL         GILLILAND                    OH     64572620651
B5BB2936961987   FORREST      DOTTS                        CA     90004619369
B5BB3177324B28   RONALD       COLEMAN                      DC     90012811773
B5BB33A9A72B69   RICHARD      SEALOCK                      CO     33036873090
B5BB3544391585   MORGAN       ARACELI                      TX     90010625443
B5BB391967B489   NICOLE       MILLER                       NC     90015089196
B5BB5518972B69   GUILLERMO    MENDOZA                      CO     90010435189
B5BB5975393758   SHELIA       MAZE                         OH     90006739753
B5BB5A86272B62   ZACHARIAH    KRENKE                       CO     90013000862
B5BB6245976B27   ANTHONY      LOVE                         CA     46079642459
B5BB6556543589   JEREMY       SHIELDS                      ID     90010695565
B5BB6587447832   TAMMI        DANIELS                      GA     90013205874
B5BB783872B271   ANDRES       MENDOZA                      DC     90012908387
B5BB8116936B98   ABISAI       SANCHEZ                      OR     90013941169
B5BB8186954122   TIFFANY      BENNETT                      OR     90012071869
B5BB833134B56B   BETTY        MALLETTE                     OK     90008163313
B5BB8544543589   MAURICIO     RODRIGUEZ                    UT     31092645445
B5BB8769A72B69   KRYSTENA     ANDERSON                     CO     90013537690
B5BB882247B489   FITZROY      ROBINSON                     NC     90009178224
B5BB89AA55B222   WILLIAM      RITTER                       KY     90010269005
B5BB9261993758   CHANTILLY    COLQUITT                     OH     90009302619
B5BB9267331639   ALMA         RICO                         KS     22001872673
B5BB945975B378   OSCAR        GARCIA MARTINEZ              OR     90012704597
B5BB9959672B69   DIONDRA      ARCHIBEQUE                   CO     90008499596
B5BBB746643589   RENE         GUADARRAMA                   UT     90006817466
B6111541143589   RICARDO      MENDEZ                       UT     31079205411
B61121A215B265   LATRICE      YORK                         KY     68008481021
B611269959182B   MARILUS      BERGARA                      OK     90010136995
B61127A2A5B396   THYDA        KONG                         OR     44513287020
B6113186893745   JUDITH       CRAWFORD                     OH     64505851868
B6113699143589   VANESSA      CISNEROS                     UT     90013426991
B6114183176B27   MIGUEL       ROSAS                        CA     90014861831
B6114188943589   GARY         MATHER                       UT     90012581889
B611423725B396   BRENT        LYMAN                        OR     44539052372
B6114413372B62   MIGUEL       JAUREGUI                     CO     33042454133
B61144A5755953   JAVIER       REYES                        CA     90008794057
B6114726576B27   RAFAEL       OSUNA                        CA     90013117265
B6114A36784327   PHILISA      CLARIDY                      SC     19018140367
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2175 of 2350


B6115177491582   MARIA        VELASQUEZ                    TX     75053021774
B611522A291563   LUZ          RIVAS                        TX     75035102202
B611525872B864   VERNON       CHAPMAN                      ID     90015032587
B611531A555941   BRANDIE      HANKEY                       CA     90014743105
B6115AA4276B27   YOLANDA      LOPEZ                        CA     90006470042
B6116359733646   PAYGO        IVR ACTIVATION               NC     90015313597
B611646898642B   BREEANN      SAMPLES                      SC     90010434689
B6116A41131639   JORGE        GUADARRAMU                   KS     90013930411
B6117185724B28   SABA         NEGASH                       DC     81031971857
B6117255955953   ALEX         RAMIREZ                      CA     48093802559
B6117554724B64   SIEKEI       ASIEDU                       VA     90012745547
B611759745B265   KAREN        DRAKE                        KY     68071995974
B6119948843589   GUADLUPE     GOMEZ                        UT     90010359488
B6119A74955953   TIMOTHY      YOUNG                        CA     90015020749
B611B472A5B396   DAVE         LOCICERO                     OR     44587384720
B611B551793745   ROBERT       HAYDEN                       OH     90004355517
B611B851991579   CLAUDIA      ALONSO                       TX     90010638519
B611B95635B548   CHRISTOPHE   DURAN                        NM     90001389563
B6121557393745   ADRIENE      AUCKERMAN                    OH     64555195573
B61226A6672B69   ROBERT       SEBBY                        CO     33001066066
B6122895731639   WILLIAM      VANDER GIESEN                KS     90013118957
B61231A2A24B28   ROSHAWN      TREADWELL                    DC     81031981020
B612429235B396   NICOLE       DEFFES                       OR     90003162923
B6124396A72B69   CASTILLO     CHRISTOPHER                  CO     33058903960
B6124972643589   MARIANO      CHAVEZ                       UT     90005549726
B6125147172B69   BOB          CARMES                       CO     33024581471
B6125649A61963   JESUS        MENDIOLA                     CA     46040616490
B612634A97B489   LATOYA       BLAKENEY                     NC     90005173409
B6126767985927   MARK         SEARS                        KY     67004727679
B6126856693752   BRITTANY     FLYNN                        OH     90010488566
B6126875393752   CHAUNTEL     GAINES                       OH     90009138753
B6126944541276   DOLORES      GOULD                        PA     51055089445
B6127726991579   LORENZO      OGAZ                         TX     75041927269
B612791812B271   DOMINIC      ISHMELL                      DC     90012759181
B6127995176B27   DORA         ORTIZ                        CA     46066659951
B612812895B265   HEATHER      MCMILLAN                     KY     90012211289
B61287A7572B62   MIKE         MORALES                      CO     90010667075
B6129356942332   RACHAEL      BLEDSOE                      GA     90012063569
B6129378524B28   DEWAND       MILFORD                      DC     81058803785
B6129542243589   JULIE        SAXTON                       UT     90014105422
B6129592331639   MARCELLA     HANSEN                       KS     90012025923
B612B46A17B489   RED DOOR     AUTO SALES                   NC     90010704601
B612B4AA75B265   KAYLA        MANFIELD                     KY     90005964007
B612B545572B69   PHIL         MUNOZ                        CO     90013425455
B613138377B489   DANIELLE     LEONARD                      NC     90012093837
B6132A8142B271   MARVIN       GRANADO                      VA     90011920814
B61333AA297B42   KATHRYN      TACKETT                      CO     90001493002
B6133643231639   ANGELICA     RAMIREZ                      KS     90014476432
B6134534172497   CHERYL       WILLIAMS                     PA     90014935341
B613497952B864   ANDREW       HENDERSON                    ID     41003709795
B613539734B298   LAURA        HOAGLAND                     NE     27007113973
B613568A976B27   CECILIA      DEYTA                        CA     90004656809
B61361AA176B27   DOMINGO      LUCAS                        CA     90011331001
B6136345791921   BERNADETTE   GREGORY                      NC     90003243457
B61364A675B265   AARON        SMITH                        KY     90015134067
B613656245B265   MARKITA      OLIVER                       KY     90013275624
B6136592A72B62   MOSES        MICHAEL                      CO     90012185920
B613662787B428   SACHA        RIOS                         NC     90011066278
B6136921872B69   YAVICELA     RIZO MUNOZ                   CO     90005509218
B6137145172B69   ANA SOPHIA   BARRAZA                      CO     90003171451
B6137154172B62   MANUEL       ESTRADA                      CO     90010011541
B613745A95B265   ERIN         PALMER                       KY     90014274509
B613858815B396   HOSE         MARTINEZ                     OR     44562315881
B6139311993758   TOSHA        CLEMMER                      OH     64588353119
B6139381993752   FABIAN       FLORES                       OH     90006423819
B6139A64776B27   IRENE        VARGAS                       CA     46075510647
B613B795472B81   KATHY        PETERSEN                     CO     33090257954
B613B889A55953   JEROME       ADAMS                        CA     90015108890
B613B92457B489   BERTHA       MONROY                       NC     11063729245
B614121A143589   ANABEL       GUADARRAMA                   UT     90001482101
B614161182B271   ABSALOM      DAVIS                        DC     90007046118
B6141727524B64   DIONNE       LEWIS                        DC     90011737275
B6142191772B62   ARTURO       MARQUEZ                      CO     33075711917
B6142237393727   FELECIA      BAREFIELD                    OH     64509362373
B6142991193752   ARIKA        CARNES                       OH     90009649911
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2176 of 2350


B6143129993758   CHAD         BRANHAM                      OH     90010551299
B614327A69286B   MARTHA       ANDARDE                      AZ     90014292706
B614399A691592   LETICIA      MONTES                       TX     90010059906
B6144338A91563   LORENZA      SAENZ                        TX     75068963380
B61445A9A21752   ERNESTO      VARGAS                       IL     90015445090
B6145765785927   CHARRA       LEWIS                        KY     90014157657
B614825245B265   JOSHUA       LEE                          KY     90014772524
B6148535531639   EDGAR        RENTERIA                     KS     90013495355
B6148667472B69   JOSE         DURAN                        CO     90009376674
B6149256955953   CORINA       MARTINEZ                     CA     90012922569
B6149288124B28   MARIA        MENDEZ                       DC     81018172881
B6149878598B23   NOVIA        ROBINSON                     NC     90005228785
B614B533933635   LACHANLTLL   WALKER                       NC     90006555339
B614B68927246B   ANGELA       PERKEY                       PA     90006876892
B615168A671993   ANTHONY      ROGERS                       CO     90011016806
B6151813693745   SALLY        WILSON                       OH     90008498136
B6152542741261   GARY         WEYANDT II                   PA     51083585427
B615382829182B   ROBBIE       ARNOLD                       OK     21078838282
B6153925A5B265   JOHONYNA     GABRIEL                      KY     90013879250
B6153A26193727   DEBBIE       PROBST                       OH     64567960261
B615439A17B489   JAMES        AUSTIN                       NC     90009413901
B6154447872B62   ALEJANDRO    DELGADO                      CO     33057764478
B615458A95B265   KENNTH       KEEFE                        KY     68015245809
B6154A1384B235   CATHARINE    DEVOLL                       IA     90012530138
B6155165143589   EDUARDO      LOPEZ                        UT     90013341651
B6155561785888   SERGIO       CALDERON CERVANTES           CA     90012235617
B6156652476B27   MARIA        RAMIREZ                      CA     90012116524
B6157AA4455953   MARIO        JIMENEZ                      CA     90012280044
B6158279161825   BETTY        THORNTON                     MO     27563022791
B6158363376B27   MATILDE      GARCIA                       CA     46062713633
B6158538531456   SHARON       CARR                         MO     90011535385
B61587A8124B64   REGIS        SOYE SARABE                  DC     81055737081
B6158845272B69   GILMAR       BRIONES                      CO     90013568452
B6159275893727   SAMANTHA     GULLEY                       OH     90003442758
B6159591331468   NICOLE       ROBINSON                     MO     90006195913
B615B194A5B265   BILLY        TOBIN                        KY     68001321940
B615B731855972   WALTER       FONSECA                      CA     90004437318
B615B773872B21   OSCAR        RAMIREZ                      CO     33084977738
B6161142172B28   NANCY        VEGA                         CO     33025851421
B6161694455972   JOHN         BERNAL                       CA     49047306944
B616264A998B23   JOSE         MAXIMO RODRIGUEZ             NC     90008786409
B6162677391524   AMADA        TORRES                       TX     90010026773
B6162812243589   EDGAR        CARLOS                       UT     90007778122
B6163122276B27   ATTILA       HADNAGY                      CA     90013091222
B6163297A77353   JUAN PABLO   ALMAGUER-HERNDEZ             IL     90007282970
B6164582A7B489   SHANNON      DAVIS                        NC     90010835820
B6164965A36B98   ERICA        SALINAS                      OR     90007429650
B616526A472B62   ERIKA        ALCANTAR PETTY               CO     33043742604
B616576935B349   MARGARITA    FLOREZ                       OR     90009177693
B616625962B271   SHEENA       JONES                        DC     90013012596
B6166567872B69   MARIA        DOMINGUEZ                    CO     33058225678
B6166764972B62   ROBERT       BAGEIN                       CO     33078167649
B6167264155953   RODOLFO      ALVAREZ                      CA     90012332641
B6167793772B62   MAXIMUS      WATSON                       CO     90013697937
B616788155B265   ANGIE        FAIRCLOTH                    KY     90007938815
B6167A98143589   SHAILEE      DAVIES                       UT     90014200981
B61682A667B434   RUFUS        JONES                        NC     90009662066
B6168369155953   REY          GAMBLE                       CA     90013253691
B6168944385927   HENRY        JACKSON                      KY     90014159443
B61689A6593727   TODD         GRUBBS SR.                   OH     64502759065
B616927A355953   KIRSTEN      ROBINSON                     CA     90013462703
B616996985B265   BORIS        PEREZ                        KY     90012239698
B616B379A5B265   ASHLEY       WHYTE                        KY     90006093790
B616B91482B271   CELENY       BERNAL                       DC     90008569148
B617135A79712B   JOSEPH       GIBSON                       OR     90009483507
B617167925B265   AJAANG       DENG                         KY     90010086792
B6171A94893752   GREGORY      THOMPSON                     OH     64522760948
B6172179A91579   IRMA         MEDINA                       TX     75093971790
B6172286972B62   JUAN         VILLEGAS                     CO     90012732869
B6172688193727   GEORGIA      THOMPSON                     OH     64583876881
B6172839193752   HEATHER      DAUGHERTY                    OH     64539818391
B6172A78193745   JANICE       WEAVER                       OH     90011120781
B6173351955972   WHITNEY      YOCKEY                       CA     90003903519
B61734A658562B   ADAM         SANTIAGO                     NJ     90008824065
B6173A87331639   AMY          GROVER                       KS     22092430873
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2177 of 2350


B617578155B265   ROSE         ROSE                         KY     90010177815
B61761A392B23B   SHIMERE      PAYNE                        DC     90001201039
B61781A345B381   LYNN         LUCKY                        OR     90002411034
B61785A127192B   JEANETTE     NORTH                        CO     90007245012
B6178639855953   WILLIAM      WRIGHT                       CA     90013656398
B617867515B265   SHANNON      DAILEY                       KY     90013926751
B6178886793745   LISA         SMITH                        OH     64577048867
B6179218A31639   MARIE        NUNCIO                       KS     90014282180
B6179937A72B62   BERNADETTE   RIVERA                       CO     33016919370
B6181181351332   DARIN        WILLIS                       OH     90010361813
B6181524A5B396   VICTORIA     AVILA                        OR     90010895240
B6181786A76B27   MARIANA      REYES                        CA     90010037860
B6182245772B62   DANIEL       MARTINEZ                     CO     90013272457
B6182A61293745   FELICIA      HIGGINBOTHAM                 OH     64554110612
B6183A5292B271   WAYNE        WALKER                       DC     90003470529
B6184414936166   HECTOR       ZEPEDA                       TX     73586954149
B6185186993727   STEVEN       BAKER                        OH     90005811869
B618649A655953   JACQUE       HUNT                         CA     90014184906
B6187488A5B396   GABRIEL      FONSECA                      OR     44551684880
B6188177333635   WILLIAM      STARR                        NC     90007481773
B61886A7342332   BRANDI       MAYS                         GA     90013226073
B6188724672B69   JAVIER       RAMIREZ                      CO     33078967246
B6189876591554   LILIA        CASTILLO                     TX     90012478765
B618B13577B489   DAMARIS      GRIJALVA                     NC     11094841357
B6191296893727   CHARLES      LEE                          OH     64568502968
B619144A35B396   BRITTANY     KYLLO                        OR     90010174403
B6192141176B27   DFIAN        HENRI BEONAL                 CA     90013091411
B6192598693745   KARENA       DURST                        OH     64564555986
B6192937A91579   DIANA        CORRAL                       TX     75038929370
B6193257A93745   LAWRENCE     BEAVERS                      OH     90010332570
B619338722B271   LATOYA       MATHEWS                      DC     90012993872
B6193499157564   ROSY         HERNANDEZ                    NM     90006884991
B6193A3218B843   JOSE         MEJIA                        HI     90015320321
B6194285193752   CHRISTINA    MARTIN                       OH     90005092851
B6194331531639   ANGELA       OLIPHANT                     KS     90013633315
B6194A86572B69   APRIL        MAEZ                         CO     33016460865
B6195167872B69   CHARLENE     FAGRELIUS-BRIN               CO     90009691678
B6196239761825   JAMES        CORBITT                      MO     90014522397
B619653AA55953   ADRIAN       ZEPEDA                       CA     90014185300
B619766685B592   OMAR         OROZCO-GARCIA                NM     90002756668
B6197782476B27   SMERALDA     JIMENEZ                      CA     90006697824
B6197A71A43589   DAN          HIGHAM                       UT     90006110710
B6198949672B62   PATRICK      DICKMAN                      CO     90014799496
B6198983372B69   RICHIE       SOSA                         CO     90011009833
B6199312493745   CHRISTOPHE   WINANS                       OH     64578573124
B6199814493758   CHARLES      SPENCER                      OH     90014448144
B619983936193B   EDDIE        CASILLAS                     CA     46059348393
B6199A92791579   STEPHANIE    OLIVARES                     TX     90003540927
B619B524976B27   FRANCISCA    LOPEZ                        CA     90008985249
B61B14A5331639   BETHANY      FREEMAN                      KS     90015154053
B61B1528293745   DEARA        FREEMAN                      OH     90012295282
B61B1684393752   MICHAEL      TROMBLEY                     OH     90002076843
B61B1786A91579   OSCAR        ESTRADA                      TX     90007027860
B61B1855493745   DEARA        FREEMAN                      OH     90013818554
B61B19A8455953   HARMONY      GARCIA                       CA     90011019084
B61B2236172B69   BONNIE       LEVITT                       CO     90012762361
B61B2872272B62   SAMUEL       HIDALGO                      CO     33022758722
B61B2885843589   CHRISTINA    MARRUFO                      UT     90011158858
B61B35A2255953   GUADALUPE    MARTINEZ                     CA     90010115022
B61B4257143589   BRANDON      KING                         UT     90015232571
B61B477785B265   ROBERT       SEADLER                      KY     90012987778
B61B5744591883   CHRIS        ANDERSON                     OK     90012767445
B61B5826A61971   ESTHER       BELTRAN                      CA     90009488260
B61B5854A43589   MARIO        ARCE                         UT     90014778540
B61B6216355953   MARIA        PACHECO                      CA     90012922163
B61B684327B489   PAMELA       WHITE                        NC     90001968432
B61B7639624B64   ANTIONETTE   BUTLER                       DC     90015136396
B61B7957551356   TRACEY       TONKOCICH                    OH     90012789575
B61B8195772B62   MICHAEL      CLINKINBEARD                 CO     90013791957
B61B8224893752   MURANDA      SCHULTE                      OH     64508802248
B61B9195155953   FELIPE       ORTEGA                       CA     90012161951
B61BB22975B571   MIGUEL       CHAVEZ                       NM     35052352297
B61BB672655953   JASON        SALINAS                      CA     90005456726
B6211471676B27   JESUS        MARTINEZ                     CA     46049064716
B6211662A55953   HEIDI        JONES                        CA     48059076620
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2178 of 2350


B6212294293758   MARIBEL       SAAVEDRA                    OH     64569552942
B621365A143589   AJ            REED                        UT     90010016501
B621415887B489   KRISTI        BURNETTE                    NC     90006081588
B621418352B271   KARA          LEWIS                       DC     90009671835
B6214625591544   PEDRO         MALDONADO                   TX     90013956255
B621483697B493   KENNETH       GRAVES                      NC     90013628369
B6215367372B69   DJON          PLANT                       CO     33045593673
B6215455755953   JOSHUA        SAUCEDO                     CA     90011324557
B6216314293727   MORGAN        PRATHER                     OH     90003813142
B621631948B328   TEARIA        MCCROREY                    SC     90010293194
B6217191772B62   CRISTAL       RODRIGUEZ                   CO     90011471917
B6217323443589   ELVIRA        TORRES                      UT     90013893234
B6217396955953   MIGUEL        FERNANDEZ                   CA     90014853969
B621743A793745   CHRIS         BOSTIC                      OH     90013824307
B6217598576B27   EMILY         ROWE                        CA     90013125985
B6217639972B69   FLORENCIA     RAMOS CABANAS               CO     33037756399
B6217754993758   CAMISHA       TURNER                      OH     90014877549
B621872369712B   STANLEY       PIETRZAK                    OR     90005457236
B621876894B551   JACOB         ELIZARES                    OK     90015037689
B6219283431639   ADRIANA       BACAHAR                     KS     90012832834
B6221555943589   BIANCA        SUAREZ                      UT     31054465559
B622184A772B69   ALEJANDRA     LOPEZ                       CO     33077888407
B622212395B389   DEVONNA       MACK                        OR     90011671239
B622329A78B527   ANTHONY       VOYLES                      CA     90013992907
B6223854472B69   MARIA         REVEROL                     CO     90011698544
B6224514885927   DEANDRE       ANDERSON                    KY     90014165148
B6225463742332   DANNY         BURTON                      GA     90010324637
B6225583156728   FLORENTINO    OCAMPO                      OH     90015525831
B622565A631639   FRANCINE      INYANG                      KS     90000946506
B6225962476B27   RYAN          CORREA                      CA     90014939624
B6226626733635   WANDA         MCBROOM                     NC     18042886267
B6226726893745   EMILY         BREWER                      OH     64582297268
B6226A64391579   FEDERICO      RODRIGUEZ                   TX     75026890643
B62271A793B335   VALERIE       HAMPTON                     CO     33001201079
B6227325593752   SHALETA       VEAL                        OH     64555363255
B6227416357B84   MATT          PARKER                      PA     90015374163
B6227962476B27   RYAN          CORREA                      CA     90014939624
B622813855B541   MARTHA        CONTRERAS                   NM     90004121385
B622865188B171   GODINA        ABRAHAM                     UT     90008266518
B62289A635B396   JOSE          ORTIZ                       OR     90008449063
B6229652493752   DRISS         BELGUELLOUCHE               OH     90012396524
B6229793A93758   DARRELL       LONG                        OH     90014877930
B622B4A6472B62   MAGDALENA     CHORENS                     CO     90014124064
B622B77132B271   DON-ANTONIO   BEST                        DC     90012747713
B622B944972B62   MAGDALENA     CHORENS                     CO     90014109449
B623161AA85927   ANTHONY       CLARK                       KY     90014166100
B6231858772B69   ALEJANDRINA   CORAL                       CO     90013698587
B623266A193736   GAYLE         SARFF                       OH     64517646601
B6233679172B69   SAMNANG       KEO                         CO     33097566791
B6233911891579   KARISSA       THOMPSON                    TX     75088669118
B6234577191579   VERONICA      VILLEGAS                    TX     75030185771
B62345A1672B62   SONJA         LLOYD                       CO     33028975016
B6234635A9712B   ANA MARIA     SAMBRANO MORALES            OR     90009536350
B623494177B489   TYRIE         MILLER                      NC     11076029417
B6234966484364   RITCHIE       HENSON                      SC     90005079664
B6235A2A855938   SAUL          RODRIGUEZ                   CA     90013130208
B6237598693745   KARENA        DURST                       OH     64564555986
B6237996855953   NORMA         LOPEZ                       CA     90012749968
B6237A3155B571   SANDRA        RIVERA                      NM     90008120315
B623845A62B25B   ERIKA         MCINTYRE                    DC     90004904506
B623868A272B62   SILVIA        DEJAQUEZ                    CO     33028756802
B6238A23272B69   CARLOS        RAMIREZ-FERNANDEZ           CO     90013030232
B6238A86693752   MICHAEL       DANKWORTH                   OH     64595850866
B6239649485927   MICHAL        WORTHAM                     KY     90014166494
B6239A18972B69   VIGIL         JOEL                        CO     33060820189
B623B18972B271   EDGAR         LOPEZ                       VA     90006441897
B623B388751385   JOSE          MOLINA                      OH     90008013887
B623B399691544   IVONNE        OCHOA                       TX     90011023996
B623B431976B27   RODOLFO       MARTINEZ                    CA     46010674319
B623BA59255953   ANGELICA      ANGEL                       CA     90012630592
B6241284655953   DEVANEE       VILLEGAS                    CA     90013822846
B6241459772B21   SUZANNE       ETTA                        CO     90009264597
B624185478B843   BRUC          WILLIAMS                    HI     90014678547
B6241924872B69   NIEVES        COBOS                       CO     90014709248
B6241966143589   PAUL          BARKER                      UT     90012369661
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2179 of 2350


B6242A19155953   FRANCISCA    MORALES                        CA   48052720191
B624311443B335   FRANCISCO    DECLAW                         CO   33056881144
B6243375793727   ANTHONY      STUART                         OH   90006573757
B6243387A43589   JONATHAN     LARSON                         UT   90014703870
B624355425B396   SUSAN        GRAMLICH                       OR   90014695542
B6243677A43589   BRENDA       GALLARDO                       UT   90012316770
B6244242872B4B   CORISSA      POWERS                         CO   90012682428
B6244557272B62   VICTOR       LUJAN                          CO   90013095572
B6245743985927   TRACEY       COOPER                         KY   90014167439
B624639845B265   JUSTIN       OWENS                          KY   90015213984
B6246743985927   TRACEY       COOPER                         KY   90014167439
B624778597B489   AGNES        BLACKETT                       NC   11003857859
B6247834691579   ISAAC        ARAMBULA                       TX   90013028346
B6247985291544   OMAR         LOPEZ                          TX   90011449852
B62483A3872B24   CHERYL       LOWELL                         CO   33018113038
B6248622343589   ANNE         RALLISON                       UT   90003696223
B624982A293745   JOANNA       WARD                           OH   90010848202
B6249A6135B396   JUAN         GUTIERREZ DESEANO              OR   90014970613
B6249A9769712B   SHANON       PIZANA                         OR   90005460976
B6249AA7272B84   BRITTANY     ARGUELLO                       CO   33051230072
B624B763331639   DORAL        GWYN                           KS   90014757633
B624B96A672B69   DENNIS       LOWE                           CO   33008749606
B624BA2A431639   WILLIAM      HARMON                         KS   90005070204
B625131A293752   KNISHA       HURT                           OH   64584823102
B6251431672447   JESSICA      MURREN                         PA   90011484316
B6251459A84327   VAL          SMITH                          SC   90011504590
B625149288B131   NICOLE       NIELSEN                        UT   31061774928
B6251788893745   DANNY        DISHON                         OH   64585057888
B6251942985927   JOSE         BAXICIN                        KY   90004019429
B6252174892871   AMANDA       MCMURREN                       AZ   90013981748
B6252913493758   KIRSTEN      BATTLE                         OH   90015129134
B62536A286192B   METRIUS      ELECTRICAL SER                 CA   90005246028
B6253A78991885   TIA          MCKITTRICK                     OK   90010710789
B625451345B396   CAITLIN      SMYTHE                         OR   90010315134
B6254745A5B265   KRISTINA     HUDDLESTON                     KY   90005237450
B6254889343589   NESTOR       NINO                           UT   31085668893
B6254A96891579   FABIAN       HUERTA                         TX   90012710968
B6255143372B62   YANIN        HERNANDEZ                      CO   90012211433
B6255165743589   DAVID        KING                           UT   90007441657
B62557A628B123   PRESTON      JONES                          UT   90008767062
B6255A75176B27   MARIA        GARCIA                         CA   90013110751
B6256199993752   ERIC         BURT                           OH   90013701999
B6257283193775   DIANNIAS     COLEMAN                        OH   64517562831
B6257338131456   DE WAYNE     PETTY                          MO   90001813381
B6258649142332   EPIFANIO     DOMINGUEZ                      GA   90003826491
B625893325B265   PL           INTERIOR-EXTERIOR REMODELING   KY   90011929332
B6259598672B62   FAITH        MEDINA                         CO   90014855986
B625B142372B69   ERNESTO      HERNANDEZ                      CO   90013321423
B625B156893783   KELLY        POWELL                         OH   90006391568
B625B29847B489   JERRY        GLOVER                         NC   90010592984
B625B51A193727   SHYRA        MILINER                        OH   64514175101
B625B776436B98   TABITHA      EDIE                           OR   90010387764
B625B833376B27   LUCY         VAZQUEZ                        CA   90010398333
B625BA1692B271   JACKIE       KEARNEY                        DC   90011280169
B6261134693752   FRANK        BURGOS                         OH   64543131346
B626121254B277   JAYSON       NICHOLSON                      NE   90010112125
B6261939393745   JOSHUA       WOLBERT                        OH   90000309393
B626199465B396   FREDERICK    KAMPER                         OR   44507949946
B6262394543589   TORI         BUTTARS                        UT   90012493945
B6262859393758   CHARLES      BREMER                         OH   90014878593
B6262A6178B168   CHRISTINA    BISCHOFF                       UT   90005510617
B6262A82176B27   TANYA        WILLIAMSON                     CA   46008500821
B626321114B582   AMY          MERCER                         OK   21544602111
B626324289712B   GUILLIAN     STANLEY                        OR   90008022428
B6263454A93745   RON          WOODCOCK                       OH   90011364540
B6264354376B27   GABRIEL      QUIROZ                         CA   90015183543
B626573125B265   MICHAEL      DORN                           KY   90014507312
B6266433191579   MARIA        ORTEGA                         TX   75064414331
B626643A15B396   WESTLEY      MENDEZ                         OR   90007774301
B6266623A72B62   BLACNA       HERRERA                        CO   90012916230
B6266638272B62   JAY          WILSON                         CO   90014866382
B626776635B396   KRISTEN      MCNATT                         OR   44560827663
B6267874493758   ANNIE        RUFFING                        OH   90014878744
B6267947755997   MARGARITA    NERIA                          CA   90011379477
B626828785B522   HUGO         MACIAS                         NM   90007412878
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2180 of 2350


B6268544161976   ERNESTO      MARQUEZ                      CA     90001615441
B626862385B396   RUTH         HADLEY                       OR     44542996238
B6268983755953   JOHN         ROSE                         CA     90013209837
B6269238293745   STACY        JEFFERIES                    OH     90004232382
B6269738885927   MIRANDA      GRIFFIETH                    KY     90003057388
B626987A676B27   JOSHUA       MEYER                        CA     90006788706
B626B24AA5B265   DIANELIS     VILA-SANTOS                  KY     90010052400
B626B652143589   PERCY        ATEQUIPA                     UT     90012966521
B626B811355953   BLANCA       SANCHEZ                      CA     90015028113
B626B8A6972B47   CARYN        SUTHERLAND                   CO     33084338069
B626B931672B69   JOSE         GUTIERREZ                    CO     90014719316
B626B94592B271   DARNELLE     JAMES                        DC     81091619459
B627127622B844   JOHN         ASHMAN                       ID     42020612762
B627143A972B62   DEJANAY      PEELE                        CO     90014924309
B627164A25B265   CASSANDRA    JETTER                       KY     90009416402
B6272899A72B62   DINA         TRUJILLO                     CO     33096688990
B6273384393758   ELIZABETH    CARLISLE                     OH     64512463843
B6273914355953   RUDY         ARREDONDO                    CA     90012339143
B6274292591579   MARIA        REYES                        TX     75065812925
B6274371243589   MELISSA      FELLER                       UT     90012653712
B6274987A93745   SARAH        KODUS                        OH     64586799870
B6275158755953   CRYSTAL      ALDAMA                       CA     90010691587
B62753A9831639   HERBERT      HARDWELL                     KS     22041313098
B627561A43B377   MARK         COLLINS                      CO     90004796104
B6275712833635   SABRINA      HARRIS                       NC     90007097128
B6277659661963   GRISELA      ROBLES                       CA     46040046596
B6277881393758   TEQUILA      DANSBY                       OH     90014878813
B62781A5672B69   DESTINEE     ROBERTSON                    CO     90012471056
B6278AA7672B62   ERNESTO      FLORES                       CO     33075200076
B627914889B149   ROBERT       INGRAM                       KS     90008671488
B62793A5372B47   JOSIE        GARCIA                       CO     90005843053
B627B31A355972   MARIA        GODINEZ                      CA     90002083103
B627B776A4B537   MICHAEL      JOHNSON                      OK     90007997760
B6281125761963   ANA          AYALA                        CA     46060961257
B628151975B396   ROSALBA      HERRERA                      OR     44561705197
B6281822A93727   SHAUNTAVIA   RUSSELL                      OH     90011488220
B6281831291582   SAMUEL       ROMO                         TX     90010198312
B628231472B271   KEITH        HOFFMAN                      DC     90007363147
B628251A95B265   CARLA        SILERIO                      KY     90007665109
B6282A47355972   PEDRO        DUENAS                       CA     49015840473
B6283533A84364   EILEEN       CONCEPCIO                    SC     90008165330
B6283988485927   LEKISHIA     MCALLISTER                   KY     90001589884
B6283A45824B28   ROSY         ESCOBAR                      MD     90000610458
B628443557B489   KATRINA      BOST                         NC     11073584355
B628513A943589   MARCOS       LOPEZ                        UT     90014881309
B628563745B265   JOHNNY       OCONNOR                      KY     90012146374
B628564A777583   JENNIFER     PENLAND                      NV     90009836407
B6286172772B62   PRICILLA     ORTEGON                      CO     90012731727
B628654614B585   TERRY        DICKEY                       OK     90014585461
B6286644255975   JOSEPH       DEALY                        CA     90012456442
B6287291572B29   JONTHAN      VIGIL                        CO     90011802915
B628899332B271   DONALD       BAILEY                       DC     90008349933
B628987135B396   GABRIELA     BOYD                         OR     90012588713
B6289949491579   NATALI       BRINDAS                      TX     90009729494
B629115A68B843   DEBORAH F    WHEELER                      HI     90014141506
B6291743141266   WIRELESS     CALLER                       PA     90014927431
B6293883831639   LATASHA      JOHNSON                      KS     90010608838
B6293936736B98   VERONICA     DORAME                       OR     90014169367
B6294111885927   PATRICIA     VALDEZ                       KY     90014181118
B62944A1793752   CAROLANN     HARRISON                     OH     64584214017
B6294911193727   STANFORD     SMITH                        OH     64593139111
B6296638555973   JUANITA      FRANCO                       CA     90003426385
B6297538A7B489   JUAN         MARTINEZ                     NC     90010595380
B6297A4A776B27   JEFFRE       EBELT                        CA     46069520407
B6298127591579   JORGE        MARQUEZ                      TX     90000151275
B6298545885927   DIANE        SULLIVAN                     KY     67052535458
B629864758B187   ERIN         BIGLER                       UT     90003146475
B6299655971965   JESSICA      CUMMINGS                     CO     90007726559
B6299882393758   CODY         JACKMAN                      OH     90014888823
B629B312293745   TROY         MISENHEIMER                  OH     90013403122
B629B513791579   ADRIAN       MARIN                        TX     90011595137
B62B121787B489   WILLIAM      MARTINEZ                     NC     90010592178
B62B1548336B98   RAMONA       CAMPOS                       OR     90010735483
B62B1862A41232   STEPHEN      WEIS                         PA     90002108620
B62B1A53A33647   SHAKEIA      WILBURN                      NC     90011750530
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2181 of 2350


B62B2294685927   LUIS           NOLASCO                    KY     90001492946
B62B2352572B62   ERIN           TODD                       CO     90000233525
B62B2587272B24   JEANETT        MEDINA                     CO     90001505872
B62B295282B271   CECILIA        MOLINA                     VA     90002139528
B62B6172936B98   JESSE          BUTRICK                    WA     90015461729
B62B626572B271   BRANDON        JEFFERSON                  DC     81092162657
B62B6A26522963   JOSE ALVERTO   GIRON                      GA     90015550265
B62B7421955953   RYAN           GREEN                      CA     90013084219
B62B794755B396   NICOLE         HOPKINS                    OR     90010649475
B62B799192B238   KUFFA          HINSENE                    DC     90005379919
B62B8785393758   TARA           DUGGER                     OH     64514447853
B62B8929585927   RIVERA         RICARDO                    KY     90006779295
B62B9131691952   BELINDA        MURILLO                    NC     90007891316
B62B91A6755953   RICHARD        DELAVEGA                   CA     48077991067
B62B9777A85927   NIKKI          MITCHELL                   KY     67008157770
B62B9783472B21   TAMMY          GLANDON                    CO     90014117834
B62BB46A376B27   MARIA          VERGARA                    CA     90009994603
B62BB86855B396   JANOI          RODRIGUEZ                  OR     90010778685
B62BB95935B265   NARAD          DHUNGEL                    KY     90011879593
B62BB99A472B62   JERRY          CUNNINGHAM                 CO     33080829904
B6311478743589   TYRELL         GREER                      UT     90011524787
B6311712991579   BEATRIZ        LOPEZ                      TX     75000807129
B631258192B271   WALTER         COLINDRES                  DC     90012935819
B631271A976B27   LUIS           GONZALEZ                   CA     90015177109
B631315269712B   KARLYN         NESTING                    OR     90012101526
B631338375B396   LAQUASHA       THOMPSON                   OR     44526893837
B6313A6427B489   YHON           BEY                        NC     90006050642
B6314897393758   SHCONYA        GREEN                      OH     64509108973
B6315211543589   PATRICIA       POWERS                     UT     90015362115
B631667335B396   SHALLA         TAYLOR                     OR     44578756733
B631671525B265   LISA           BORDERS                    KY     68082197152
B6317253585927   LUIS           GONZALEZ                   KY     90014182535
B631725889712B   SILVIA         VALENTE                    OR     90005492588
B6317487A72B69   LU             LU                         CO     33011774870
B6317924A61825   RANDALL        SALINAS                    IL     90014839240
B6318491351347   MIKE           SMITH                      OH     90008904913
B6318A5A593758   BRANDON        MYERS                      OH     90014880505
B6319A53793758   CHRISTOPHER    NIXON                      OH     90014880537
B631B732191579   OSCAR          GARCIA                     TX     90010667321
B6321282885927   RACHEL         ADAMS                      KY     90014182828
B6321999491579   CECILIO        RAMOS                      TX     90013209994
B6321A53793758   CHRISTOPHER    NIXON                      OH     90014880537
B632218392B242   AMINATA        NDIR                       DC     90001861839
B632225862B242   AMINATA        NDIR                       DC     90014702586
B6322713593727   KRISTINE       THEOBALD                   OH     90013237135
B632275795B265   EMILY          GRUBBS                     KY     68015617579
B6323287385927   PAULA          JONES                      KY     90014182873
B6323A48A54172   NICOLAS        GARCILAZO                  OR     90012470480
B6323A51176B27   TWIN TREE      SERVICES                   CA     46018310511
B63241A7951337   JUSTIN         FOX                        OH     90008471079
B63243A2285927   NANI           JONES                      KY     90014183022
B6324864643589   ALMA           MOTA                       UT     90005588646
B632515862B271   TYWONDA        ELLISON                    DC     90010811586
B632571627B489   AKEINA         KIRKLAND                   NC     90008327162
B6325945255953   MIGUEL         LOPEZ                      CA     90013199452
B632674385B396   RONNY          GOWAN                      OR     90014917438
B6326761855953   IDANIA         UMANZOR                    CA     90012877618
B63268A1572B69   BLANKENSHIP    MICHELLE                   CO     90011618015
B632727537B489   DONALD         GEBO                       NC     11063682753
B6327483872B69   SAMUEL         BAIONES                    CO     90000224838
B632756815B389   SHERRITA       MYERS                      OR     44570535681
B63277A4755972   AMY            BUSSEY                     CA     49024157047
B6327A5A15B265   TORON          GRUBBS                     KY     90003850501
B6328311693747   HENRY          AKERS                      OH     90000303116
B6329781255953   YAZMIN         CORTEZ                     CA     90012057812
B632B162A72B69   ALEX           IBARRA                     CO     33007671620
B632B265585927   MARIO          MARTINEZ                   KY     90014182655
B632B31262B24B   LAKETHA        WELCHER                    DC     90004683126
B632B315443589   JOSE LUIS      VEGA                       UT     90012063154
B6331433531639   AMY            MATHERS                    KS     22027574335
B633178155B265   ISAAC          BODINE                     KY     90013087815
B6331827893758   CORY           SNELL                      OH     90010558278
B633191375B396   JAMES          GABRIELSON                 OR     90006589137
B63321A5691579   MELISSA        RAMIREZ                    TX     90009171056
B6332785955953   ROSELYN        MARQUEZ                    CA     90010537859
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2182 of 2350


B6333137554122   TAMAR            FANCY                    OR     47088171375
B6333871393745   SCOTT            FERRYMAN                 OH     64556568713
B6334259772B62   RENE             CARO                     CO     33039242597
B63343AA155953   MARICELA         SOLORIO                  CA     90012273001
B6334921641223   JOELLE           ONEAL                    PA     90013469216
B6335245791579   ANGELICA         SAMANIEGO                TX     90014412457
B633596764B221   IMRAN            WAHEED                   NE     90011589676
B63363A2976B27   JOSE             CUADROS                  CA     46011153029
B633686397B489   TOSHA            SIMPSON                  NC     90008308639
B6338152193745   MARTHA           SMITH                    OH     64591021521
B6338726485927   ELIZBRETH        GILBERT                  KY     90014187264
B6339339976B27   CHAN             VORACHAK                 CA     90011333399
B6339752955953   NAOMI            AGUINAGA                 CA     90014697529
B633B2A595B169   DEMETRIC         SETTLES                  AR     23057082059
B633B841393758   TASHALA          KENNEDY                  OH     64595008413
B633B865793727   DAVID            LOWERY                   OH     90015008657
B633BAA9443589   TAMMY            JENSEN                   UT     31028450094
B634113472B948   JENNIFER         VALDEZ                   ID     42017251347
B6341512584364   ALEJANDRA        CABRERA                  SC     19063545125
B634171525B265   LISA             BORDERS                  KY     68082197152
B6341A74972B69   ERICK            ZUASO                    CO     33088260749
B6342795A93745   MICHELE          JACKSON                  OH     64572007950
B63429A3393752   TAMARA           BROWN                    OH     64546589033
B6343264391579   IRMA             SALAZAR                  TX     90014162643
B6343544A9182B   CAROLINE         DAVIS                    OK     21078165440
B6345185A76B27   EDM0ND           SCOTT                    CA     46090321850
B6346265393745   JENNIFER         GREEN                    OH     90014602653
B6346955855953   ALBA             PEREZ                    CA     90012339558
B6346A66193727   TASHA            SUTTON                   OH     90014700661
B6347391A7B387   ZAINEB           MUNIR                    VA     90003733910
B634813252B271   LISA             STEPHENS                 DC     90004031325
B6348779972B69   CHRIS            AGUILAR                  CO     90006907799
B6348867636B98   CHRISTINA        RODRIGUEZ                OR     90010768676
B6348933A43589   JENNIE           ANDERSON                 UT     90015309330
B6348A35993727   MARCUS           MONTGOMERY               OH     90014500359
B6349428972B69   SHERLOCK         AMBER                    CO     33081124289
B6349486155953   LYNELLE          MARTIN                   CA     48040224861
B6349681993752   KEVIN            PEETS                    OH     90013606819
B6349945993758   RACHELLE         YOUNG                    OH     90009529459
B6349A3A972B62   MICHAEL          RAEL                     CO     33022920309
B634B37152B271   KIAH             STUBBS                   DC     90008343715
B634B515585927   ALDANA           GONZALEZ                 KY     90012395155
B634B582A55953   GUILLERMINA      ALFARO                   CA     90014705820
B635139152B271   KATRINA          HUNTER                   DC     90002493915
B63514A3984364   TONYA            ANCRUM                   SC     90000954039
B6351626493752   SARA             GUMBERT                  OH     90007546264
B6351762872B69   MARTHA           RIOS                     CO     33035877628
B6352225293727   MICHAEL          MORGAN                   OH     64541052252
B6352535643589   DENISE           ROJAS                    UT     90013935356
B6353966881683   MARIA            DAVIDSON                 MO     90003789668
B63543A645B396   KHERTA           NOOR                     OR     90012393064
B63546A9355953   SABRINA          FRANCO                   CA     90012966093
B635575945B265   LATAUSHA         ALPHONSE                 KY     90006497594
B635647545B396   LUHUMU           MUPEPE                   OR     90015304754
B6356742955953   SANDY            CASAS                    CA     90014977429
B6357163891579   DENISE           GARVIN                   TX     75026701638
B6357377172B62   MARIA DE JESUS   ANAYA                    CO     90015253771
B6357828893752   QUINA            LAWRENCE                 OH     90012378288
B6358146393745   CASEY            NORTHUP                  OH     64569821463
B6358297972B69   ASHACA           HICKS                    CO     90014732979
B6358572331639   CARSON           SINCLAIR                 KS     90014825723
B63599A289712B   TOMI             ILER                     OR     90005519028
B635B116355953   MONIQUE          JENNINGS                 CA     90012631163
B635B527A43589   ERIKA            BIEYRA                   UT     90013935270
B635B6A1793752   MARY             DOUGLAS                  OH     64589856017
B6361629A24B64   ANGELA           FOSTER                   DC     90014516290
B636283949182B   ADARYL           BOWEN                    OK     21038668394
B6362985591579   JOHNATHAN        SALAS                    TX     90002309855
B6363114793752   NANCY            DRAKE                    OH     90005231147
B6363724976B27   YESENIA          CORTEZ                   CA     90002107249
B636424227B489   LISA             FOREMAN                  NC     11046352422
B6365459455953   RODRIGO          GARCIA                   CA     90015014594
B6365762385927   STEPHANIE        WEBB                     KY     90014187623
B6365932A72B62   ROBERT           HEINZMAN                 CO     90014619320
B6365998193758   CLARENCE         WILLIAMS                 OH     90012989981
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2183 of 2350


B6367857393752   JACKIE            SCHOOLER                OH     64510418573
B6368AA575B265   URIEL             SALAZAR                 KY     90003480057
B6369249293758   KEANI             GRAY                    OH     90007902492
B6369A57785927   DONNA             BOND                    KY     67092670577
B6369A58A36B98   MAX               AWESOME                 OR     90012840580
B637125275B396   RHOCHONDA         MELSON                  OR     44507632527
B6371424726222   VAVI              JONES                   WI     90015374247
B6371736472B62   IRMA              BEJARANO                CO     33083197364
B6371961443589   PAULETTE          PEDICONE                UT     90002639614
B6372674172B69   ISIDRO            GARCIA                  CO     33001066741
B6372A7462B889   BRADLEY           MCKNOWN                 ID     90011900746
B6375635272B62   ALEJANDRINA       OJEDA                   CO     90010106352
B6375965385927   KELLY             SMITH                   KY     90012819653
B6376237272B69   ROSA              BLEA                    CO     90013502372
B637627A777525   LIDIA             MORA-GUTIERREZ          NV     90013332707
B6376362355953   DARWIN            AUBREY                  CA     48019263623
B6376736751368   TIFFANY           TAYLOR                  OH     90010647367
B6377243831639   NIKKI             WAGNER                  KS     22073002438
B63778A318B843   MICHAEL           SOBICH                  HI     90013438031
B6377935193752   ALVINE            YEWAH                   OH     64550329351
B637817A431639   JASON             CEBALLOS                KS     90011261704
B63784A855B265   JENNY             TORRES                  KY     90015214085
B637861679182B   BRANDON           COLE                    OK     90014546167
B6378A57561825   MARY              BURBANK                 MO     27561250575
B637B12A176B27   RODNEY            PRIZE                   CA     90013141201
B637B361291579   PATRICK           LEDEAY                  TX     90013773612
B637B78155B265   ISAAC             BODINE                  KY     90013087815
B637B963455953   FAVIAN            MORENO                  CA     90012339634
B6381563224B64   ROLANDO           REYNOSO                 VA     90010595632
B638212559712B   ROBERT            SORIA                   OR     90005521255
B6382165A72B62   VELQUIN           GUEVARA                 CO     90007121650
B6382595193752   LATONIA           ROLIINS                 OH     90009385951
B6383471A9182B   MICHAEL           BROWER                  OK     21010594710
B63838A1793751   STACEY            ALSPAUGH                OH     90010668017
B6383974255953   JUANITA           NAVA                    CA     90013199742
B638449615B265   SHARIKA           BUCKNER                 KY     90014714961
B6384A25743589   ADAM AND AURORA   DURFEE                  UT     90012330257
B6384A33893727   ERIC              VINCENT                 OH     64591900338
B6385134693758   CHRIS             LONG                    OH     90009351346
B638599692B271   LATONYA           PRICE                   DC     90008479969
B6387A15193752   NICOLE            KELLER                  OH     90013520151
B6388195293727   SAMANTHA          TIPTON                  OH     90007461952
B6388288676B42   MARIO             MENDOZA                 CA     90001912886
B6388912955927   PATRICIA A        BUCHANAN                CA     90000889129
B638918228B194   SUZIE             VILLAREAL               UT     90000981822
B6389246A5B232   EDEN              RIDDLE                  KY     90008502460
B6389514A2B271   GARY              SMITH                   DC     90013835140
B638962614B562   NAKITA            CREAR                   OK     90010046261
B63896A2991323   SANTIAGO          DIAZ                    KS     90005546029
B6389799993727   ALICIA            SMITH                   OH     90015477999
B638988935B396   ALYSHA            WINDON                  OR     90007958893
B638B153493758   DEATRA            ADAMS                   OH     64595371534
B638B729243589   JAVIER            GONZALEZ                UT     90002617292
B6391352943589   JOHN              HARMON                  UT     90014263529
B6391442676B27   ALEJANDRO         YANEZ                   CA     46032544426
B639173365B265   ASHLEY            HATFIELD                KY     68039387336
B6391A3A972B62   MICHAEL           RAEL                    CO     33022920309
B6392234198B2B   ERICA             STEVENSON               NC     90012402341
B6392496A2B271   DIAMOND           MILES                   DC     90010974960
B6392777693758   NEZIAH            ISRAEL                  OH     64575307776
B639311824B232   LOREN             FRANCES                 IA     90003391182
B6393A84831639   KELLY             TATUM                   KS     90013360848
B639436265B265   TODD              CHAMBLEE                KY     90003133626
B639516953B352   JAMES             NATIVIDAD               CO     33044741695
B63953A9A76B27   JASON             SANFORD                 CA     46068363090
B639583458B825   CARMENCITE        LAMPITOC                HI     90015128345
B6396223176B39   BLANCA            CRUZ                    CA     90001772231
B6396372785927   BEEN              MCCORMICK               KY     90007583727
B6396A17393758   MINDY             PACK                    OH     90014890173
B639799464B296   DEBRA             MARCO                   NE     90014289946
B6398177661949   CHRISTINE         FEDON                   CA     90010791776
B6398469193727   EMORY             BATTLE                  OH     90011874691
B639874915B265   NICHOLAS          KENT                    KY     90014457491
B639896628B175   RYAN              PEARSON                 UT     90011959662
B639944A293758   JEREMIAH          MCGHEE                  OH     90013464402
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2184 of 2350


B6399A96693727   JESSICA           LACEY                   OH     90013670966
B639B418A5B573   JAMES             STEELE                  NM     35098854180
B63B1193491579   ROSA              MARTINEZ                TX     75092591934
B63B1198855997   DIXIE             RICHARDSON              CA     49096911988
B63B158A255925   MELISSA           WALKER                  CA     49096625802
B63B1A5A65B265   ONEL              REYES CHAVEZ            KY     90008650506
B63B376853B369   ROBIN             HUMPHREYS               CO     90009037685
B63B4156361984   ELIZABETH         ZAVALA                  CA     90008131563
B63B43A7872B62   HERNANDEZ         DIEGO                   CO     33076073078
B63B4629672B69   BESSY             CALDERON                CO     33096136296
B63B5513133645   FIYERY            GEBREMEDHIN             NC     90012685131
B63B5539793745   JENNIFER          MOORE                   OH     90002735397
B63B599A276B27   JESUS             RAMIREZ                 CA     46092179902
B63B6265993752   TERRI             ASHMAN                  OH     64563922659
B63B6535524B28   SAKIA             GAITHER                 DC     90014705355
B63B6758893745   MARK              BROWN                   OH     64577107588
B63B6964672B62   JENNIE            SIVIXAI                 CO     90014119646
B63B8A11293758   AHMAD             ROGERS                  OH     90014880112
B63B93A6751339   MIKE              JONES                   OH     90007753067
B63B9537172B69   JILL              ROMERO                  CO     90013275371
B63B9A47685927   JORGE             BARGAS                  KY     90011700476
B63BB4A6343585   ADELE             CONNELL                 UT     90000264063
B63BB875176B67   VICTORIA          GOODING                 CA     90011378751
B6411344898B23   ANECIA            SMITH                   NC     90000913448
B6411482384354   BENJAMIN          CERVANTES               SC     90010164823
B6412115172B69   FRANCES           CHAVEZ                  CO     33067591151
B641286AA41961   DAWN              STEWARD                 OH     90014778600
B6413285755953   FRANK             CORDERO                 CA     48024732857
B6413615257559   PAYGO             IVR ACTIVATION          NM     90012076152
B641363A155972   KA                MOUA                    CA     49050096301
B6413835A91579   MARIA             VASQUEZ                 TX     75050628350
B641393117B428   FAYE              BAKER                   NC     11072829311
B6413A77322425   LUETISH           LEE                     IL     20516920773
B6414431957568   STEVE             EISERLING               NM     35517924319
B6414A8567B489   ADRIANA           SILVA                   NC     11086830856
B641623A593758   IBRAHIMA          BERTHE                  OH     90005812305
B641685A172B69   SHELLY            BECK                    CO     33055758501
B6416879443589   DAVID             WEBB                    UT     90014938794
B6416896485927   ANDREA            DUNN                    KY     90010088964
B6417142193727   ERIKA             DILLON                  OH     90001621421
B6418524772B62   ABEL              RODRIGUEZ               CO     90012095247
B6418A8485B124   WLADIMIR          DELGADO                 AR     90013410848
B6419197443589   GILDARDO          GOMEZ DAVILA            ID     90015311974
B6419322693727   LEAH              KELLER CLAY             OH     90012663226
B641936A976B27   TEENA             MARIE                   CA     90010283609
B641964495B265   HENRY             JACOME                  KY     90013666449
B6419726272B69   BRENDA            LOPEZ                   CO     90012887262
B641B224931639   MARLA             BEESON                  KS     22010652249
B641B252955928   SYEEDA            WASHINGTON              CA     48023552529
B642158975B396   KAYLA             WALKER                  OR     44555645897
B6421766593727   HANNAH            MARIE                   OH     90012567665
B6421782897134   GREGORY           GREEN                   OR     90009137828
B6421838972B62   SHERRA            STURGEON                CO     90013818389
B6421864442332   HEATHER           COLLINS                 GA     90011068644
B642192778B527   JOHN              BLOCK                   CA     90015399277
B642238582B271   DARIOUS           LEWIS                   DC     90011923858
B6422447676B27   RICARDO           RUEDA                   CA     90015014476
B64224A8793745   AMBER             DAVIS                   OH     64591894087
B64225A982B229   MEZGEB            OUKBAGABIR              DC     90010165098
B6422882593727   ROBERT            TEETER                  OH     90013928825
B6423119555931   ARIANA            PALOMERA                CA     90004031195
B6423128393727   JAMES             NAKAMURA                OH     64545671283
B6424183831639   SHARLENE          DAUTEL                  KS     90014811838
B642428552B346   BEATIRCE          CUGUANA                 CT     90015112855
B6424488976B27   LINDSEY           FRIEND                  CA     90014314889
B6425374785927   JEREMY            DAVIS                   KY     90000883747
B6426174972B69   KIMBERLY          KINNALLY                CO     33064561749
B642625A955953   ERNESTO           DEHOYOS                 CA     90011632509
B6426486991579   JAIME             JORDAN                  TX     90011544869
B642686199712B   TAUNA             TATE                    OR     90010638619
B64269A862B945   BRENDA            JIMENEZ                 CA     90011369086
B6426A25743589   ADAM AND AURORA   DURFEE                  UT     90012330257
B642716932B883   BETH              ROBINSON                CA     42001101693
B6427232785927   KATHY             BROTHERS                KY     67005152327
B6427513A55953   ERNESTO           HERNANDEZ               CA     90015235130
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2185 of 2350


B642772585B265   ARMENIA        PEREZ MORALES              KY     68084217258
B6427842991877   CHRIS          JONES                      OK     90001288429
B642785A572B62   KIMBERLY       EVANS                      CO     90006448505
B6427AA3593727   THELMA         ARDEN                      OH     90014010035
B6428342943589   SCOTT          JENSEN                     UT     90008933429
B642B624443589   JARED          LEGASSE                    UT     90010296244
B642BA85372B69   JOLENE         ESPINOZA                   CO     33053270853
B6431153493745   RAMAN          SOLANO                     OH     90012401534
B6431454A3B333   HERMAN         DELATORRE                  CO     33082634540
B64314A392B271   SAFIYA         HOWARD                     DC     90011974039
B64317AA176B27   DOMINIQUE      KIRKENDILE                 CA     90015047001
B6433776372B69   GABRIELA       MENDOZA                    CO     90012637763
B6434617791579   DARRON         THOMAS                     TX     90003606177
B64346A8124B28   SHARON         MOZO                       DC     90009266081
B6434768431699   TODD           DEWEY                      KS     90010267684
B6435624143589   SCOTT          NIEWALD                    UT     90007296241
B6436155772B62   CHRIS          ALEXIS                     CO     33029501557
B643643A78B154   KEITH          NEVILLE                    UT     90006744307
B643724A793758   CANDACE        JONES                      OH     90005812407
B6437958272B67   STEPHANIE      VIGIL                      CO     90002249582
B643946A15B265   ROGER          GOLDEN                     KY     90012314601
B6439499593745   TIFFANY        MCCLANAHAN                 OH     90011104995
B6439A3712B271   DANIELLE       RENEE                      DC     90015120371
B6439A8932B271   DON            W                          DC     90014270893
B643B515733675   LISA           TRIVETTE                   NC     12011205157
B643B572131639   VIVIANA        GARCIA                     KS     90013865721
B6441181193758   NATHANIEL      ALBERTSON                  OH     90010561811
B644152225B396   MISS DERONIA   JAMES                      OR     90007935222
B6441733972B69   JOHN           TREJO                      CO     33095397339
B64418AA39286B   JESUS          VELASCO                    AZ     90015088003
B6443789872B69   MICHAEL        COLUNGA                    CO     90014607898
B644412537B489   NOEL           TOLENTINO                  NC     90010601253
B6444655172B69   KAREN          HOWARD                     CO     90005196551
B6445265A7B489   MELONY         MASON                      NC     11073922650
B6445778A55953   JOSE           MELINDEZ                   CA     90010547780
B6446215193752   AMY            GRANT                      OH     90013292151
B6446252293727   DAVID          ANDERSON                   OH     90015142522
B6446945672B62   ANTONIO        RUIZ                       CO     33063209456
B6447281443589   SHELIA         ELDER                      UT     90013952814
B6447392972B69   ELENA          SILVA                      CO     90010853929
B644753335B396   JOSHUA         POWE                       OR     90007505333
B6447938A8B12B   DALE           ROBBINS                    UT     90008889380
B6447A22891554   MARIA          GRISANTI                   TX     90007820228
B6448738993752   BRADFORD       CUBBIE                     OH     64515087389
B64491A2193727   JAMES          BLYTHE                     OH     64511861021
B644969345B265   RHONDA         ENGLISH                    KY     90010776934
B6449986593752   TAWANA         LARRY                      OH     64543919865
B644BA62155953   TOMMY          CARRAWAY                   CA     90012340621
B6451639A54187   DONALD         SLETTEN                    OR     90002556390
B6452281443589   SHELIA         ELDER                      UT     90013952814
B6452668131639   ELIZABETH      COUNTER                    KS     90013996681
B645345545B374   AMY            HANSEN                     OR     90014524554
B645366878B527   ESWIN          HERNADEZ                   CA     90014976687
B6453986993726   FALISHIA       SMITH                      OH     90008929869
B64543A9491579   MR. DANIEL     GARCIA                     TX     75045513094
B6454413172B62   TERESA         CASILLAS-VASQUEZ           CO     33061374131
B645446AA85927   ANDRE          FRANKLIN                   KY     90011554600
B6454685572B69   GRETCHEN       TAYLOR                     CO     33017496855
B6456115776B27   KELLY          VERTREES                   CA     90013161157
B6456455743589   DEKOW          ABDULLAHI                  UT     90010674557
B645763234B225   RANDOLPH       COX                        NE     90010906323
B6457684372B62   MARIA          DEUBALDO                   CO     33089056843
B6459686572B62   ANITA          GEIST                      CO     90014196865
B64598AA755953   JESS           ZAMORA                     CA     90014878007
B645997A893752   ISMAIL         GULA                       OH     64553839708
B6459998872B62   NICOLE         MARQUEZ                    CO     90011939988
B645B133391579   VANESSA        SARINANA                   TX     90014011333
B645B142624B55   CARLENE        BURTON                     DC     81019951426
B645B281443589   SHELIA         ELDER                      UT     90013952814
B645B772972B62   JUANITA        DANIELS                    CO     33083487729
B645BA56433675   CHARLENE       WALLACE                    NC     90009890564
B6461625861963   ARIANA         GONZALEZ                   CA     90012646258
B646168295B391   FONG           CARMELO                    OR     90004896829
B6461756824B64   JOSE           GONZALEZ                   VA     90009047568
B64619A9A85927   ROGER          BERTRAM                    KY     90015029090
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2186 of 2350


B6462272272B69   EDUARDO      VIELICH                      CO     90014932722
B64634A835B396   SARAH        KEINTZ                       OR     90013964083
B6463752955953   NAOMI        AGUINAGA                     CA     90014697529
B6463986455972   TRACY        AANERUB                      CA     90003289864
B6463AA9A72B69   JOSE G       ROSALES                      CO     33022900090
B64645A1872B62   RANDALL      HARMUTH                      CO     90006605018
B64646A1393752   KEVIN        COSNER                       OH     90014966013
B6464717693745   ERIN         STEVENS                      OH     90011467176
B646522475B333   JOE          MARQUEZ                      OR     90013122247
B6465983793745   LANCE        RYDER                        OH     90005259837
B6466667793758   ADRIONNA     SMITH                        OH     90014926677
B6466699A76B27   JACOB        VASQUEZ                      CA     46055126990
B6466954493758   MONTREL      CARSON                       OH     90002589544
B64669A1193745   LEONARD      DUPLESSIS                    OH     64501229011
B6467791591864   MICHAEL      ANGELO                       OK     90007907915
B64679A7A93727   PRINCESS     PARKER                       OH     90011179070
B6468598272B62   NICOLE       ARRINGTON                    CO     90014875982
B6468911855953   MATT         ATILANO                      CA     90014579118
B6468912872B69   MA DOLORES   MARTINEZ                     CO     33033239128
B646996A972B69   DURAN        MARK                         CO     33095509609
B646B491831688   BRIDGETTE    STEWART                      KS     22019924918
B646B491861963   PATRICIA     HALSELL                      CA     46078454918
B646B534661955   ROCIO        GURROLA                      CA     90014265346
B646B762561825   KAY          DAVIS                        IL     27553137625
B6471424755953   DAVID        LEBER                        CA     48000714247
B6471585693752   ROCKY        HORNBECK                     OH     90014745856
B6471AA3672B69   MELISA       ZARAGOZA                     CO     90008440036
B6472A59376B27   KATALINA     CHAVERO                      CA     90012150593
B6474266843589   MAGDALI      DOMINGUEZ                    UT     90010732668
B64743A1855953   NICOLE       BROWN                        CA     90005923018
B6474456131639   SERAFIN      TORRES                       KS     90010404561
B647452249712B   MOHAMED      AHMED                        OR     90005555224
B6474643793727   NIKOLE       SHELEY                       OH     90008936437
B64746A8393745   NICHOLE      PENWELL                      OH     90013026083
B6474869485927   DERRICK      BYRD                         KY     90005498694
B6475581655972   NICOLAS      SALDANA                      CA     90001635816
B6475624291579   MICHEAL      GUTIEREZ                     TX     90015156242
B6476126355972   ATZIRI       CONTRERAS                    CA     90014071263
B647648A172B69   NICK         KEEN                         CO     90012574801
B647653335B396   JOSHUA       POWE                         OR     90007505333
B647721A193752   TRACI        STORMER                      OH     64572262101
B6477581A72B62   JENNIFER     SWETWOOD                     CO     90004255810
B6478859972B62   NICOLE       CHRISTOS                     CO     33021258599
B64788A749182B   CONNIE       MCCALL                       OK     21052108074
B6479372A31664   STEVEN       COLEMAN                      KS     90013093720
B647B337A55953   DEBRA        ARMENDARIZ                   CA     90013823370
B647BA56555953   LUPITA       REYES                        CA     90007820565
B648143582B271   ANITA        THOMAS                       DC     90011534358
B6481452893752   ADAM         DALTON                       OH     90008194528
B6481513391579   YVETTE       DIAZ                         TX     75048675133
B6481561355972   ADILENE      CRUZ                         CA     49087655613
B648187A985927   JASON        HIGGINS                      KY     90014248709
B648217178B156   JENNIFER     MOSHER                       UT     90000811717
B648256145B396   CHRISTINA    WICKBERG                     OR     90011445614
B6482946791579   ERICKA       ROMO                         TX     90010909467
B6482A37791574   LAURA        RUBALCABA                    TX     90010840377
B648311535B396   ANTHONY      LAWSON                       OR     90014641153
B6483A56572B69   JESSICA      DICKHAUT                     CO     90013760565
B6484643155953   LOIS         MIRANDA                      CA     48083336431
B6484AA3657552   ESTEFANIA    SANCHEZ                      NM     90013970036
B6485479455972   MIGUEL       TOLEDO                       CA     49047884794
B648562445B396   SPENCER      WATTS                        OR     90012716244
B64861A4785927   PATRICK      CARPENTER                    KY     90009281047
B648661A593758   BARBARA      DUKES                        OH     90011526105
B648674A955953   SILVIA       JACQUES                      CA     90013077409
B64868AA67B489   TREVOR       MOORE                        NC     11077998006
B6488516272B69   JUANA        DORANTES                     CO     33096455162
B6489291743589   WINONA       PERRY                        UT     90012702917
B64892A953B381   MONICA       GONZALEZ                     CO     33014972095
B648939885B396   HELEN        PINEDA                       OR     90004963988
B6489A14443589   JESSE        PETERSON                     UT     90014580144
B648B51455B265   RACHEL       CRICK                        KY     90014275145
B648B93532B271   MICHAEL      FERRELL                      DC     90010129353
B648B954291579   JEN          VALLES                       TX     90004689542
B648BA27143589   BOGUSLAW     ZAWADZKI                     UT     90014980271
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2187 of 2350


B648BA7362B227   MARVIN                 LEIVA              DC     90010130736
B6491713243589   KARL                   SEETHALER          UT     90014107132
B64917A9A5B265   DANIELLE               JOHNSON            KY     90013197090
B649317215B265   SHANE                  RANSCHAERT         KY     68001581721
B64934A4193727   ANITA                  LAWHORN            OH     64565784041
B6493696A43589   ALICE                  MORE               UT     90009706960
B649387747B489   TEREZA                 MOREIRA            NC     11062138774
B6494339A8B825   SERLINDA               ARDOS              HI     90014673390
B649438853363B   SARA                   SANCHEZ            NC     90005793885
B6494732442332   THOMAS                 MOORE              GA     90011997324
B6494A19293758   CALVERT                WHALEY             OH     90002550192
B64958A9242332   PEDRO                  IZQUIERDO          GA     90000788092
B649597714B523   LUCAS                  SHANK              OK     90009419771
B649661A95B396   MANIKA                 JACKSON            OR     90002436109
B6497A91785927   STARLA                 BRADSHAW           KY     90005850917
B6498155761925   RUBEN                  ZAMBRANO           CA     90004691557
B6498197755953   ALMA                   LOPEZ DIAZ         CA     90005021977
B649841882B271   WENDELL                DIGGS              DC     90013434188
B6498595343589   SHANNON                STEVENSON          UT     90014515953
B6499488355938   SEARCH 4 U INSURANCE   SERVICE            CA     90010734883
B6499A2899712B   MIKE                   CARLSON            OR     90005600289
B649B358193745   ERIC                   BAILEY             OH     90014853581
B649B75645B265   TAYUAN                 GRUNDY             KY     90004487564
B649B846493758   STEWART                BUTLER             OH     90014918464
B649B98895B265   PATRICK                ALEXANDER          KY     90011879889
B649B99719712B   JESSE                  EICHSTAT           OR     90012699971
B64B11A648B527   ALBERTO                MALDA              CA     90014851064
B64B12A2A91579   MARIA                  NAJERA             TX     90000672020
B64B175A155932   FRANCISCO              MOJICA             CA     90009607501
B64B2122955953   CHRISTINE              CRUZ               CA     90009941229
B64B2593536B98   MARTINA                SALAMANCA          OR     90008365935
B64B3664272B69   DANIEL                 LIZZARRAGA         CO     90009966642
B64B3815731639   RUSSELL                DEMPSEY            KS     90009698157
B64B4477A43589   CHANTEL                LOMAX              UT     90008764770
B64B4754893727   JAMES                  BAKER              OH     90007327548
B64B53A9A76B27   JASON                  SANFORD            CA     46068363090
B64B5434172B69   JOSH                   KELIHER            CO     33054464341
B64B5569155953   CATALINA               PEREZ              CA     48085545691
B64B6156755953   BRANDI                 TRAVIS             CA     90013651567
B64B6939372B69   BILLY                  WELLS              CO     90014709393
B64B743655B265   CARLA                  YOUNGER            KY     90015134365
B64B74A8991579   TASHA                  BERGSTRAND         TX     90013164089
B64B7528193727   CAYLA                  WALKER             OH     90015265281
B64B8924A93757   LLOYD                  SMITH              OH     90008639240
B64B9663872B69   LYNETTE                HALL-JONES         CO     33087266638
B64B9948531639   SALVADOR               MARROQUIN          KS     22083539485
B64BB199272B62   STEPHEN                EDWARDS            CO     90003601992
B64BB39A472B69   JOSE                   URENA              CO     90015323904
B64BB475343589   ALVIN                  HENSON             UT     90013944753
B64BBA43855953   JACLIN                 LEIGH              CA     90014730438
B6511336893752   ANGELLICA              TORY               OH     90007363368
B651172A193745   HAROLD                 KNISLEY            OH     90013227201
B6511888624B28   NAJEE                  BROWN              DC     81014968886
B6512179985927   TYRENA                 JONES              KY     90014241799
B6512273193727   CHRISTOPHER            HOWARD             OH     90013872731
B6512A65193752   HEATHER                NICOLE             OH     64593200651
B651431A893727   ELIZABETH              STOCKMAN           OH     90013203108
B6514454472B69   HUMBERTO               POZOS              CO     90012354544
B6514738576B27   SHANNON                BUTLER             CA     90015177385
B651482822B271   MARIA                  PINEDA             DC     90000938282
B6515419993758   EARL                   CHIVERS            OH     90013354199
B6515823891579   LUZ                    SOTO               TX     90010308238
B651625A55B141   AHMAD                  MUSALLAM           AR     90015192505
B6516373A91579   LUCRECIA               DUARTE             TX     75095843730
B651869A893745   TYLER                  KLEISMIT           OH     90013026908
B651886817B366   MARIA                  BAIRES             VA     90007608681
B6519358193745   ERIC                   BAILEY             OH     90014853581
B65194A7572B62   LUIS                   SANCHEZ            CO     33076534075
B651B3A147B489   PAYGO                  IVR ACTIVATION     NC     90010603014
B651B91568B833   JOCYANN                EDMOND             HI     90014679156
B651B979176B27   ROSA                   GARCIA             CA     46004229791
B652111598B183   JUSTIN                 ALLRED             UT     90003201159
B65213AA355953   SANTANA                YANEZ              CA     90012173003
B6521691831462   WILLIAM                PRATT              MO     90002196918
B65219A3991579   LUIS                   CONTRERAS          TX     75090409039
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2188 of 2350


B6522259785963   CHRISTINA    FOLTZ                        KY     90011002597
B652287195B265   LYNDA        LANTHREM                     KY     90013648719
B6523259785963   CHRISTINA    FOLTZ                        KY     90011002597
B652333332B351   EDLIRA       UZHUII                       CT     90015333333
B652381172B271   AAREON       LIVERPOOL                    DC     90010288117
B652423535B396   SUSANA       PASILLAS                     OR     44565682353
B6524AA3772B62   CANDICE      DOLOS                        CO     33052090037
B652523515B265   DOMONIQUE    HOCKMAN                      KY     68031382351
B6525741136B98   JAMES        LAMAR                        OR     90012007411
B6526271155953   DELFINA      GARCIA                       CA     90014162711
B65263AA355953   SANTANA      YANEZ                        CA     90012173003
B652696997B489   KEVIN        POTTS                        NC     11075039699
B652732828B151   CHAD         HANSEN                       UT     31092683282
B6527364791579   JESUS        GUEL                         TX     90010503647
B6528229272B69   DIANA        SILVA                        CO     33096392292
B6528286155953   JONATHAN     LAPALME                      CA     90005972861
B6528568A54139   RUBIN        MUNOZ                        OR     90014785680
B6529137193752   JOI          WHITE                        OH     90007251371
B6529844391579   CINDY        ALONSO                       TX     75041708443
B652B51815B265   VIVIAN       ACOSTA                       KY     90013505181
B652BA9935B396   BENJAMIN     JACOBSEN                     OR     44532030993
B6531377343589   FRED         DONE                         UT     90007633773
B6531A3A74B542   ROBERT       KINCANNON                    OK     90000360307
B6532377343589   FRED         DONE                         UT     90007633773
B653443975B396   JULIE        MCCALMONT                    OR     44560714397
B653473515B561   TRACY        FENNER                       NM     35009497351
B653511A52B271   LAPREA       SPENCER                      DC     90013701105
B6538185A76B27   EDM0ND       SCOTT                        CA     46090321850
B6538585693752   ROCKY        HORNBECK                     OH     90014745856
B6539192A93727   ALEX         MARTINDALE                   OH     90012321920
B6539215193752   AMY          GRANT                        OH     90013292151
B65392A6A2B271   DARRYL       BRONSON                      DC     90009672060
B653947518B154   REBECCA      FEDEL                        UT     31084364751
B653972554B244   BURDETT      HEIDEMANN                    NE     90006667255
B653B1A5972B3B   MARTHA       PACHECO                      CO     33098231059
B653B824472B22   PATRICK      BAUMANN                      CO     90012158244
B6541226998B23   LAMONT       SIMMONS                      NC     90012042269
B6542495772457   JOHN         SWIFT                        PA     90006334957
B6542619276B27   LOEL         MEJIA                        CA     90010126192
B654355252B887   DAVID        SCOTT                        ID     90005825525
B65443A7A72B62   ALBURY       VALERIE                      CO     33091283070
B6544459576B67   WILLIE       ROBLES                       CA     90001484595
B65448A2155972   WILLIAM      SHEEN                        CA     49027788021
B654495A672B69   JERMEY       LUCERO                       CO     90014709506
B6544A8345B265   CARLOS       HERNANDEZ                    KY     90015040834
B6545431991222   ANABELL      MARTINEZ                     GA     14599084319
B654565435B326   ALIEU        SAIDY                        OR     90009656543
B65478A4793727   SUSAN        SMITH                        OH     90014828047
B6547A14355953   MARIA        CERVANTES                    CA     90013050143
B6548488A55953   THOMAS       SPINKS                       CA     90013354880
B6548642593745   RITA         JEWETT                       OH     90011516425
B654898A472B69   MITCH        SCHWARTZ                     CO     90011479804
B6549366855953   EDUARDO      AYALA                        CA     90012383668
B6549563593727   JACARE       BLANKS                       OH     90001935635
B654B37A772B62   MANUEL       GONZALEZ                     CO     90012903707
B654B55755593B   RUBY         AVILA                        CA     90013945575
B655193692B271   TONDELAYA    THOMAS                       DC     90012769369
B6553113293761   CHRISTINE    SHARPE                       OH     90008241132
B655324155B265   LANA         ALBIN                        KY     90001672415
B655393515B396   RAMONA       AUSTIN                       OR     90013789351
B6553A58191579   JOSE         BALDERAS                     TX     90009530581
B6553A8812B271   TIERRA       BOYD                         DC     81009980881
B6554162393727   HEATHER      BOWLES                       OH     90010281623
B6554474193745   CHARLES      HIGGINBOTHAM                 OH     90012324741
B655471A993745   TARA         MANCY                        OH     90009677109
B655499965B265   OBAMA        OBAMA                        KY     68077849996
B6554A71472B62   STEPHANIE    CINEROS                      CO     90013930714
B6555334693758   MIKE         FOLEY                        OH     90008713346
B655572A272463   CHRISTOPHE   KNUTH                        PA     51096587202
B655578737B489   SABIT        LOUGA                        NC     11040487873
B6555897243589   ANNA         PEREZ                        UT     90015568972
B6555938631639   HILDARGO     RUIZ                         KS     90000879386
B6556162891579   LAURA        ZALCE                        TX     90013221628
B65566A715B265   SUZANNA      JAMES                        KY     90012586071
B655743A27B338   MARTHA       HURTADO                      VA     81062354302
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2189 of 2350


B655788763B362   CHRIS         PAULSON                     CO     90008228876
B655853283B352   LEE           YOUNG                       CO     90001975328
B6558697A93727   JAMES         KNIPP                       OH     64574286970
B655899965B265   OBAMA         OBAMA                       KY     68077849996
B6558A39493752   HEATHER       LUNSFORD                    OH     90015210394
B6559598793758   TIFFAN        ENGLAND                     OH     90004605987
B655B5A9231458   CHRISTOPHER   HARRIS                      MO     90008625092
B6561249955972   KRANAE        YVETTE                      CA     90003292499
B6561634155953   EVA           LOPEZ                       CA     48033176341
B6562563676B27   HIDA          DIAZ                        CA     46040775636
B6562678891579   ISIDORO       ARMENDARIZ                  TX     90010326788
B6562946293758   ROSEMARY      GIBSON                      OH     64555399462
B6562A25272B62   JESSYCA       STIEF                       CO     90012370252
B6564255751341   JENNY         DAWSON                      OH     90011982557
B6566184155953   BERNARD       BENSON                      CA     90008871841
B6567383543589   BRITTNEY      ESTRADA                     UT     90012443835
B6567963355953   THOMAS        LAMBETH                     CA     90014579633
B6569823843589   RAMONI        LASISI                      UT     90001898238
B6569A96491579   JOSE          ALVARADO                    TX     90010280964
B656B348221929   EVA           FERNANDEZ                   IL     90004103482
B656BA88293752   NATHAN        WAULK                       OH     90014570882
B6571594942332   MISTY         IBANEZ                      GA     90009445949
B657187537B489   KELLIE        NAILS                       NC     90012598753
B65724A8455953   VIOLETA       GARCIA                      CA     90005994084
B6573153A55953   DONNA         CASTRO                      CA     90014781530
B65731A7A85927   TABO          GAYTAN                      KY     90015111070
B6573622657149   JOSE          VILLALOBOS                  VA     90008156226
B6575712A93758   ZANA          HUTCHINSON                  OH     90014927120
B6575919A93727   DWIGHT        LEWIS                       OH     90010219190
B6576467A54139   ALVARO        RIVAS                       OR     90013884670
B6576813831639   BRYAN         DAVIS                       KS     90007158138
B6577253631639   LORETTA       OGDEN                       KS     90014042536
B65773A8393752   KIMBERLY      WILDER                      OH     90004183083
B6578284576B27   MINA          PEREZ                       CA     90009662845
B6578A9855B396   ROBIN         SMITH-DEVRAY                OR     44501180985
B6579442491563   JANET         RODRIGUEZ                   TX     90003094424
B657B57A631639   DWAYNE        CHANDLER                    KS     90012165706
B6581624143589   SCOTT         NIEWALD                     UT     90007296241
B6581A42893745   MONIKA        CHANNELS                    OH     64569130428
B65822A837B439   EYBY          ZAMBRANO                    NC     90011872083
B6582494293727   CHRIS         PUETT                       OH     90013914942
B658321A843589   MARK          STEWART                     UT     90014482108
B658335515B389   DANIEL        SANTIAGO                    OR     90001943551
B658347A19712B   MEGAN         SKJOLDAGER                  OR     90005654701
B6585239672B69   GABE          ALVARADO                    CO     90014242396
B6585A38531444   NIKIE         EDWARDS                     MO     90009010385
B6586432A7B489   KEVEN         BOST                        NC     11018194320
B6586615343589   DENNIS        CONOVER                     UT     90010826153
B658782945B562   NICOLE        OLIVAS                      NM     35075528294
B658786862B271   ANTOINE       HAWKINS                     DC     90013718686
B6587AA6572435   JOHN          JONES                       PA     90001520065
B65886A232B866   GAIL          JOHNSON                     ID     90012026023
B6588847376B27   THOMAS        NYANG                       CA     46058958473
B6588917372B69   ISAIAS        CONTRERAS                   CO     90014719173
B658982725B389   ANGEL         CHAN                        OR     44584028272
B6589834943589   BEN           BARBEN                      UT     90010798349
B6589A44A91582   SALMA         BUHAYA                      TX     90008870440
B658B115491579   ELDA          ESTRADA                     TX     90015241154
B658B5A4893727   JACKIE        LAUBER                      OH     64581125048
B658B739624B28   KUNTUMI       BUNDU                       VA     90013227396
B658B81A893752   SHANNON       HUBBS                       OH     90001478108
B6591153431639   RAUL          LOPEZ                       KS     22088321534
B6591863843589   MAGGIE        ALVARADO                    UT     90005118638
B6591994157133   CHARLES       KATO                        VA     81089339941
B6592317772B62   ROSA          MENDEZ                      CO     90003483177
B6592321543589   J SCOTT       ZAPPITELLO                  UT     90006843215
B6592481155972   MARIA         AGUILAR                     CA     49017634811
B659251415B396   TONY          NIGRO                       OR     90014175141
B6592689355953   JOSE          LEANDRO                     CA     90012636893
B6592735855997   MARTIN        ALMANZA                     CA     90013097358
B659285642B256   NOLLY         ROBERTS                     DC     90008508564
B6593412172B62   STWEART       ERNEST                      CO     33014174121
B6593815731639   RUSSELL       DEMPSEY                     KS     90009698157
B659384A472B69   SCOTT         GADBOIS                     CO     90005508404
B659412155B525   JANET         GUTIERREZ                   NM     35017191215
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2190 of 2350


B6594179231688   ARACELY        CHAVEZ                     KS     22013361792
B6594369355953   PEDRO          PULIDO                     CA     90012383693
B6594582193745   STAR           CHURCH                     OH     90003825821
B6594A15772B69   RAFAEL         CARAVEO                    CO     33051530157
B6594AA9A25236   BRITTANY       HAMM                       NC     90012400090
B6595124672B69   ALBERTO        PAREDES                    CO     90012801246
B6596379976B27   PETER          GLESSNER                   CA     46039643799
B659648195B396   PATRICK        BUCCELLIERI                OR     44587384819
B6596782591579   VICTOR         HERNANDEZ                  NM     75067007825
B659693489286B   MARICRUZ       VALDEZ                     AZ     90014629348
B659797475B169   ABRAHAM        JOHNSON                    AR     90013779747
B6598948772B69   JUANA          DE LA ROSA-CHINAS          CO     90012699487
B6598A81193745   CHRIS          LIVINGSTON                 OH     90004560811
B6599168793758   DEBI           WALLER                     OH     90002831687
B6599539872B69   WYNN           HOBDY                      CO     90004565398
B659955569712B   ABE            THOMAS                     OR     90005655556
B65B1257743589   BLAS           DIAZ-IRIGOLLEN             UT     31077232577
B65B1675931452   GRANT          PACKAGING LLC              MO     27550776759
B65B1973321739   PEDRO          LAYNEC                     IL     90015379733
B65B245725B265   FRITZ          RUHL                       KY     90013914572
B65B2A73485927   SONIA          GARCIA                     KY     90014240734
B65B3736A76B65   YOBANA         MORENO                     CA     90010637360
B65B4245892831   VERONICA       GONZALES                   AZ     90014502458
B65B457A92B271   KAREN          CARTER                     DC     81015105709
B65B471A472B69   MIGUEL         MARTINEZ                   CO     90014107104
B65B5185472B69   DAVID          CERCEDA                    CO     33047881854
B65B537573B391   JEFFFREY       JOHNSON                    CO     33000083757
B65B6232293752   WILLIAM        WENING                     OH     64514812322
B65B6234A55953   CEZAR          VASQUEZ                    CA     90010562340
B65B6727493727   NOTOSHA        SMITH                      OH     90013157274
B65B684855B265   MICHEL         BERRIELL                   KY     90008868485
B65B73A645B265   MICHEAL        JONES                      KY     90008333064
B65B7716691366   MAVEL          TORRES                     KS     90001267166
B65B865A293745   ELEANOR        ADAMS                      OH     90001566502
B65B882422B271   CHANNELL       HAWKINS                    DC     81009468242
B65B926242B271   PERSEBERANDA   SEGUNDO                    DC     90013792624
B65B958A79182B   JOSE           SALDIVAR                   OK     21053485807
B65B9631991579   ADRIANA        CASTOR                     TX     75090046319
B65B973AA76B27   HABRAN         GONZALEZ                   CA     90015177300
B65B977A95B562   BETHANY        KAROKI                     NM     35009917709
B6611137493727   HEATHER        JUSTICE                    OH     64591951374
B6612295891579   MIGUEL         CARILLO                    TX     90013572958
B6612421372B62   CHRIS          ENRIGHT                    CO     90000234213
B6612657A9712B   NAKAYA         KENNERLY                   OR     90005656570
B66126A565B265   SARY           SHALASH                    KY     90013276056
B6612A3A75B396   ROMERO         SANDERS                    OR     90002930307
B6613757A93752   JASON          ANDERSON                   OH     90010657570
B661388315135B   LELISE         TILAHUN                    OH     90002658831
B661419A472B62   ESTRELLA       ABARCA                     CO     90015031904
B661483877B478   THEODOR        B                          NC     90010708387
B661512A876B27   LV             MCCREE                     CA     90004361208
B6615A2545B396   GLEN           LIVINGSTON                 OR     90015130254
B661672A593745   STEVEN         NAN                        OH     90001107205
B661692952B271   DANIELLE       HAMMOND                    DC     81078579295
B66169A2872B69   MRANDA         MCREERY                    CO     90004099028
B661738822B271   MELVIN         CAMPBELL                   DC     90014663882
B6617565554151   AMANDA         MORRIS                     OR     90001665655
B661786AA85963   ROBERT         DAVIS                      KY     90014828600
B661829724B225   WALTER         GOODWIN                    NE     90009462972
B6618651972B62   TEKLE          MEHARI                     CO     90010466519
B661955458B12B   TONY           VIGIL                      UT     90007625545
B6619778872B69   TERRY          DEHERRERA                  CO     90015027788
B661B181991579   GLORIA         PEREZ                      TX     75090381819
B661B624191574   MARIBEL        ZAMORA                     TX     90009606241
B661BA2165B396   CHRISTY        OKEATH                     OR     44500130216
B6621178193727   JOHN           GARBER                     OH     90006851781
B6621978943589   ROB            JOHNSTON                   UT     31097549789
B662224A572B69   GEORGE         CARBAJAL                   CO     33038632405
B6622965585927   TORI           LISATH                     KY     90014319655
B662319147B489   LETICIA        TRISTAN                    NC     90001481914
B66233AA95135B   BRENDA         BALLEK                     OH     90014983009
B6624137661976   MELISSA        AVALOS                     CA     90012491376
B6624224531639   LYNN           PEIER                      KS     22091672245
B662493734B599   BRANDY         IVEY                       OK     90011259373
B66249AAA5B396   EDNA           PINNELL                    OR     44574479000
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2191 of 2350


B66251A295B265   CYNTHIA        FIELDS                     KY     68063701029
B6625781641298   JOHN           GARGURAS                   PA     90013747816
B6625997572B84   ANDREW         CHURILLA                   CO     90008869975
B662731252B271   KEITH          JAMES                      DC     90013963125
B6627965372B62   AMANI          GERMANY                    CO     90013709653
B6628319A7B33B   MARIBEL        JIMENEZ                    VA     90003253190
B66291AA172B69   JOSE           MARQUEZ                    CO     33091761001
B6629383793758   CHAUTAN        GRAHAM                     OH     90015073837
B662B72697B489   TIFFANY        SMITH                      NC     90010607269
B66312A2A5B396   MICHAEL        MCLAUGHLIN                 OR     90012532020
B6631362A55953   FRANK          ROCHA                      CA     90010583620
B66313A9976B27   PAULA          CRUZ                       CA     90010103099
B6632567A5B396   MARSITA        WAINES                     OR     44524655670
B6632837393727   AIMEE          SEABOURN                   OH     90015608373
B663341512B271   MARISOL        CASARRUBIAS                DC     90010334151
B6633481393758   AMBER          COX                        OH     90014934813
B663353952B246   CHEF KEN       ACCLAR                     DC     90008075395
B6633613791585   GERARDO        CADENA                     TX     90014716137
B663533468B833   JENNIFER       ROBERT                     HI     90014673346
B6635431755953   ALFREDO        DIAZ                       CA     90012384317
B6635944593727   STANLEY        JACKSON                    OH     90014609445
B6636233972B53   ROSE           HARRISON                   CO     33085712339
B6636686532548   ROSALINDA      WHITE                      TX     90015236865
B6636755293727   DIAMOND        LEE                        OH     90013817552
B663676895B265   ANNA           CRABTREE                   KY     68040277689
B6636851A55953   JOHANNA        ESCALERA                   CA     90014588510
B6636945A43589   BRANDON        BOOTH                      UT     90007839450
B6637955972B69   DAVID          PEASE                      CO     90014709559
B6638454576B27   JOANA          VALADEZ                    CA     90010904545
B6638529A5B265   MIKE           REYNOLDS                   KY     68065625290
B663B14A593752   DEZARAY        PRATHER                    OH     64533401405
B663BA62A5B388   HEIDI          TATE                       OR     90012150620
B6641298493758   NATHANIEL      PITTS                      OH     64561182984
B664168AA93745   KERRI          HOFFMAN                    OH     64585796800
B6641A48272B69   NATALIE        CORTEZ                     CO     90013210482
B6642A16257142   MOISES         GUZMAN                     VA     90001020162
B6644959172B62   BRENDA         VARGAS                     CO     90011179591
B664524A285927   DOMINIQUE      MABSON                     KY     90005232402
B664538792B271   AKIRA          WRIGHT                     DC     90014753879
B664543A593752   AARON          BONNER                     OH     64518634305
B6645737872B62   SHANNON        MILLS                      CO     90011897378
B664589455B396   NORMA          MARTINEZ                   OR     90006578945
B664696167B489   FREDY          LOPEZ                      NC     90004489616
B6647166143589   CHALRES        LEE                        UT     90010801661
B664725A32B271   DEB            BHATTACHARJEE              DC     90001472503
B664739375B265   BOYINGTON      NATHANIEL                  KY     90010883937
B6647441743589   KYLIE          POULSON                    UT     90014184417
B6647581355953   KELLY          GONZALES                   CA     90014915813
B664814132B227   MARK           WILLIAMS                   DC     81062121413
B6648277593752   RHAYIA         SMITH                      OH     90012732775
B6648678572B62   GARY           ALLEN                      CO     90004296785
B6649352255953   EDITH          MARTINEZ                   CA     90007333522
B6649393643589   TESFAMICHAEL   TESFAYE                    UT     90015553936
B6649598643589   KIBROM         TEKLE                      UT     90013405986
B6649829198B23   GILMA          BARAHONA                   NC     90011818291
B664B365A72B62   VIRGINIA       LATHROP                    CO     33086773650
B664B52734B235   DANIELE        BULFON                     NE     90007385273
B664B5A8931639   TERRY          EVANS                      KS     22008355089
B664B974872B69   NINA           FALASCO                    CO     33082019748
B665163255B396   TONY           SOTO                       OR     44509526325
B6652383431688   JEFF           MANN                       KS     22034733834
B6652469585927   SUMMER         HIGLER                     KY     90004884695
B6652925993758   KEANA          THOMPSON                   OH     90010569259
B6652A15393727   MONICA         BLAKE                      OH     90013550153
B6653224693758   EBONIE         FRAZIER                    OH     90010022246
B665358992B271   JOSE           PINEDA                     DC     81014825899
B6653869276B27   ADRIANA        DURAN                      CA     90008748692
B6654287593745   BLAIR          SALYERS                    OH     90011982875
B66551A1155953   JAIME          FLORES                     CA     48088201011
B6657687255953   EUNICE         VILLANUEVA                 CA     90014716872
B6657919A93745   LISA           TATE                       OH     90012559190
B6657A85172B62   BEVERLY        SOUSER                     CO     33095050851
B6658837493727   PAMELA         HARRIS                     OH     90014798374
B665965A947839   ZANTAVIA       LESTER                     GA     90011176509
B6659696285963   JIM            LAMBERT                    KY     90001266962
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2192 of 2350


B665B296955953   KARINA       BARAJAS                      CA     90012752969
B6661385343589   CHRISTINE    HARRIS                       UT     90012433853
B6662165A93745   AARON        DANIELS                      OH     90011851650
B6663A64493761   JOSEPH       INGLES                       OH     90007990644
B666432145B265   CODY         BREWER                       KY     90013353214
B6664429243589   MINDY        ALLEN                        UT     31074764292
B666447535B396   LORI         GREGOR                       OR     44503504753
B666522A591873   CANDICE      PROZNICK                     OK     90006152205
B6665674931639   LUIS         FRANCISCO                    KS     90015336749
B6666179393752   KENNETH      MARSHALL                     OH     90014151793
B66668A795B396   RAY          PATRICK                      OR     90015068079
B6666955372B69   THOMAS       MORRISSEY                    CO     90014709553
B6667358A5B265   TALISHA      JOHNSON                      KY     68023123580
B6667773A43589   JORGE        HUATO                        UT     90004957730
B6668349231639   BAKER        BARRY                        KS     22043163492
B6668A1A52B271   DANIEL       SHOULARS                     DC     90008480105
B6669338891579   DAVID        MORALES                      TX     90013483388
B6669597191885   CHARLES      RICE                         OK     21015765971
B6669A3A455953   MICHAEL      ESPARZA                      CA     90008700304
B666B475893758   JILL         CHATTMAN                     OH     90003114758
B666B52452B271   MONIQUE      COLLIER                      VA     90013465245
B666B864793745   ROXANNA      HAMRICK                      OH     90003188647
B6671A44224B64   KEVIN        FARMER                       DC     90007670442
B6671A46855997   TONY         DEGIDIO                      CA     90014770468
B6672668393752   STANLEY      MALLARD                      OH     64588616683
B6673623472B62   DAVID        SOGO                         CO     90008736234
B6673659893758   MISTIE       THOMAS                       OH     64540806598
B6674916272B26   DIANNE       LOVATO                       CO     33093689162
B6674952693752   DASHAWNDA    WHEATON                      OH     90013219526
B6675498993752   ALISHA       WILLIAMS                     OH     90015504989
B6675659893758   MISTIE       THOMAS                       OH     64540806598
B6676132985927   BILLIE       ROSSER                       KY     67025211329
B6676253A72B62   TORRIE       ANN                          CO     90012032530
B6676631931688   ALETA        ALLISON                      KS     22012316319
B6676A5778B139   CESAR        MEJIA                        UT     90014170577
B6677289A93745   DWIGHT       EVANS                        OH     64553512890
B6677427885927   CHRISTOPHE   CUNNINGHAM                   KY     67001244278
B667756145B396   CHRISTINA    WICKBERG                     OR     90011445614
B6678596693745   NATHAN       FINLEY                       OH     90012335966
B6679298A51326   JONATHAN     JACOBS                       OH     66031092980
B6679475455953   KARINA       BALLESTEROS                  CA     90006434754
B6679616193745   ANDREW       VENNEMAN                     OH     64535846161
B6679949772B69   IDELFONSO    TORRES                       CO     90001259497
B667B947593727   LINDSAY      WHITTLE                      OH     90014609475
B6681AA3993752   ERIC         WALTERS                      OH     64521500039
B6682333291579   ENRIQUE      SALAZAR                      TX     90010813332
B6682994893758   DUSTY        CARTER                       OH     64502179948
B6683414993752   JOHN         SMITH                        OH     90002614149
B6683431572B69   ALYSSA       SANUDO                       CO     90007844315
B66839A2684524   CEENEN       MORLEY                       NY     90009749026
B668437582B271   LANG         THANG                        VA     90015003758
B6684517A5B265   DORIAN       HAZARD                       KY     90014995170
B668455A15B265   ROSE         BROOKS                       KY     90013595501
B6684763743589   TORI         JAYNES                       UT     90015337637
B6684A3AA55992   MANUEL       LONGORIA                     CA     90014650300
B6685149893758   MIKE         VANARTSDALEN                 OH     90002521498
B668518115B265   FELECIA      LEE                          KY     90006361811
B668568999182B   VALERIE      KAY                          OK     21013546899
B6685844493727   ASHLEY       ROSE                         OH     90012548444
B6686571993752   KEN          ROBERTSON                    OH     90011815719
B668674A248B43   ANDREA       KANE                         CO     90004997402
B6687455755953   JOSHUA       SAUCEDO                      CA     90011324557
B6687473472B69   RODRIGUEZ    FERNANDO                     CO     90010334734
B6687526131639   KRIS         URBAN                        KS     22026055261
B668753449712B   MARIA        IZQUIERDO                    OR     90005715344
B668774175B265   BETHANY      IRELAND                      KY     68000957417
B6687755293758   CHARLENE     MORELAND                     OH     90014817552
B66881A382B271   NASHONNA     SMITH                        DC     90000451038
B6688559843589   KANG         CHIV                         UT     31023645598
B6688AA492B24B   TYRA         BLAKE                        DC     90015010049
B6689159872B94   SERGIO       HERNANDEZ                    CO     33054351598
B6689416293745   KYLE L       KNISLEY                      OH     90011984162
B668966797B446   ROSE         SEXTON                       NC     90012286679
B6689965A72B62   RENE         GARCIA                       CO     33034069650
B668B37819182B   BEL          MARTIN                       OK     21078273781
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2193 of 2350


B668B37959712B   PALMER        BUTLER                      OR     90005713795
B668B493143589   SHANNON       BARNES                      UT     31094674931
B668B79A572B4B   KHALED        SABBAGH                     CO     90006027905
B668B835373247   JUAN          LOPEZ                       NJ     90009308353
B668BA26433624   DORA          BRIBIESCA                   NC     90014130264
B6691734291579   RICARDO       CORRAL                      TX     90014587342
B669269535B396   NAKEELA       JENKINS                     OR     44526316953
B66939A9391579   MAYRA         ORIBE                       TX     90013889093
B66953A9561989   MARAGARITA    GOMEZ                       CA     90003953095
B6695721361955   CARLOS        IZAGUIRRE                   CA     90004117213
B6695924297134   JOSE LUIS     GAMBOA                      OR     90001459242
B6695A93472B62   HARRY         GARCIA                      CO     33095640934
B6696563991579   MARTIN        DURAN                       NM     75039195639
B6696924A7B489   MARIA         BADILLO                     NC     90010779240
B66973A2593727   CHARLES       TOWNSEND                    OH     90013013025
B669745A35B332   KELLY         WELKE                       OR     44515844503
B6697A71843589   CHRISTOPHER   KAAE                        UT     90009540718
B6698861193727   REBECCA       TURNER                      OH     64514098611
B669923345B396   JENNIFER      JONES                       OR     90012532334
B66994A7455953   ELIZABETH     VEGA                        CA     90002604074
B66B1638255953   JUAN          GARCIA                      CA     90014586382
B66B189A472B21   ERIKA         AGUILAR                     CO     90001468904
B66B3543691579   DINA          OZETA                       TX     75082825436
B66B355432B271   VERMEL        JOHNSON                     DC     90014285543
B66B412A17B851   REGIN         CADENHEAD                   IL     90014931201
B66B4491842332   ANTHONY       JONES                       TN     90015344918
B66B4728893745   GARY          GILBERT                     OH     64512357288
B66B5593A61825   SIERRA        LYNCH                       IL     90014155930
B66B573312B271   LAWANDA       BAKER                       DC     90015017331
B66B587338B145   MARCO         TREVINO                     UT     31051758733
B66B5A8685B548   GREGORY       ORTIZ                       NM     90011670868
B66B7621672B29   DORIS         OJEDA                       CO     90010776216
B66B8186991579   IRMA          FLORES                      TX     90001211869
B66B8237972B69   JULIO         RODRIGUEZ                   CO     33093972379
B66B8883731639   JACQUE        HEMEL                       KS     22020698837
B66B8958755972   AURELIA       PADILLA                     CA     49063179587
B66B9423293727   SHARICA       PERKINS                     OH     90015294232
B66B94A4893758   SHAMANE       HOWE                        KY     64537744048
B66BB697493727   AARON         WASHINGTON                  OH     90004526974
B67116A9893758   ZACK          BREWER                      OH     90014936098
B6711A34593727   TISHA         HORNICK                     OH     64508420345
B6712464785927   ELOISE        MACK                        KY     90009464647
B6713276972B69   MARK          JACOBS                      CO     90005012769
B671354485B265   RHONDA        BERRY-SMITH                 KY     68057845448
B671497815B396   JIM           SMART                       OR     44500439781
B6715642293745   NICHOLE       ROWLAND                     OH     90012336422
B6716161491821   CODY          PATE                        OK     90014531614
B671652815B265   JESSICA       SKAGGS                      KY     90011455281
B67175A1385927   ALBERTIN      ROQUE                       KY     67027475013
B6717718593727   DELONTE       SWAIN                       OH     90014767185
B6718111657122   CIRO          PINTO                       VA     90009901116
B6718126A41277   ASHLEY        BEMIS                       PA     51005571260
B6718466236B98   ASHLEY        NIEHUSSE                    OR     90007424662
B6718765832548   MARGARITO     GARCIA                      TX     90015247658
B6719155931639   LACEY         REIDA                       KS     90014501559
B6719547772B69   ISAI          MARTINEZ                    CO     33043215477
B6719614685927   HANNAH        KARPOVICH                   KY     90014576146
B671B676172B69   MARICELA      TELLEZ                      CO     33061246761
B671B91A493758   MATTHEW       TOLLE                       OH     64552699104
B6721576291579   MARYLOU       GARCIA                      TX     90008885762
B672168775B396   HEATHER       ANDREWS                     OR     90010056877
B67216A182B271   VALERIE       WILLIAMS                    DC     90008306018
B6721A95541229   THOMAS        GAVULIC                     PA     51015270955
B672261A843589   TYLER         MCNEY                       UT     90013496108
B6722623885927   LAVANDA JOY   TIPTON                      KY     90014576238
B6722836593745   JAMES         HENRY                       OH     90014758365
B6722A95541229   THOMAS        GAVULIC                     PA     51015270955
B6723564531639   LORIE         RAMIREZ                     KS     90014865645
B6723712591876   PAUL          RAPE                        OK     90000297125
B6724463936B98   ANGEL         VASQUEZ                     OR     44550204639
B67246A2531639   ANGELA        GRAVES                      KS     22078906025
B6725375872B62   ANGEL         ARMENTA                     CO     33038163758
B672647A793758   RITCHIE       GODSEY                      OH     66004134707
B6727485672B62   SOUTHWEST     STONE LLC                   CO     90014824856
B6727756172B69   ALEXANDRA     MIRANDA                     CO     33011047561
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2194 of 2350


B672832342B889   TOM            O'DELL                     ID     90006373234
B672894915B547   DYLAN          BIRCHEFF                   NM     90011209491
B672895285B356   MANUELA        ZAPATA                     OR     90005569528
B6729168236B98   MARTIN         GONZALEZ                   OR     90008451682
B672B614685927   HANNAH         KARPOVICH                  KY     90014576146
B672B68645B396   SHANE          HART                       OR     44548806864
B672BA71843589   CHRISTOPHER    KAAE                       UT     90009540718
B673173515B265   LYNETTA        JENNINGS                   KY     90014927351
B6731855191579   SILVIA         MENDIVAL                   TX     75032948551
B6731A48472B69   JENNIFER       COMBS                      CO     90013210484
B6731AA7285927   CATHTY         CAPPICCIE                  KY     67000970072
B673236918B355   ROBERTO        HERRERA                    SC     90011013691
B67327A9155953   BRYAN          GRASSMAN                   CA     90009777091
B673333425B396   KENT           GRIDLEY                    OR     90005543342
B6734419955953   MONICA         PERICO                     CA     48082254199
B6734A8645B396   KBOY           KANO                       OR     90011180864
B6735531572B53   PATRICIA       HERNANDEZ                  CO     90011035315
B6735A1815B265   FRANSHESCA     NIEVES                     KY     90013480181
B6735A28A43589   ADRIAN         SILOS                      UT     90012910280
B6736331A2B271   ROSA           GARCIA                     DC     81041453310
B6736462624B28   CARLOS         MORALES                    VA     90006874626
B67376A6A91579   JAVIER         ORTIZ                      TX     75029886060
B673793A193752   LAWRENCE       BRAY                       OH     64549809301
B6738188131639   CARESS         ADAMS                      KS     90004881881
B6738431572B69   ALYSSA         SANUDO                     CO     90007844315
B67386A6193745   AMANDA         DISHON                     OH     90005466061
B673921332B271   ROBERT         WASHINGTON                 DC     90002382133
B6739994891579   JUAN           CASAS                      TX     75084929948
B673B56275B349   JOSH           BOWEN                      OR     90001275627
B673B77415B349   MELISSA        PANIT                      OR     90013507741
B673B891543589   MAYRA JANETH   LOPEZ                      UT     90014278915
B6742111A93758   KYRY           MOTON                      OH     90010571110
B6742423943589   LAURA          PALOMINO                   UT     90011514239
B674245134792B   TAMMY          LANDERS                    AR     90010514513
B674245612B271   TYRONE         BURROWS                    DC     81041454561
B674341A391579   JORGE          HERAS                      TX     75075094103
B6743635843589   SETH           SMITH                      UT     90014526358
B6743693285927   IVAN           CARRILLO                   KY     90014576932
B6743715772B62   ABRAHAM        FLORES                     CO     90001577157
B6743769293758   SARAH          BLAKLEY                    OH     90010727692
B67438A2155953   VICTORIA       BONOLLA                    CA     90010458021
B6744247997B98   MILTON         CACERES                    CO     90012352479
B6744427193758   CHARLES        LOCKHART                   OH     64510644271
B6744997972B62   RODNEY         CORDOVA                    CO     33072669979
B6745344143589   WADE           GARR                       UT     31004013441
B674558A45B131   MARCUS         MATHIS                     OH     90014745804
B6745594755953   BRENDA         MEDINA                     CA     90012435947
B6746444A91544   ALEJANDRA      CORRAL                     TX     90009284440
B6747625191579   LORENZO        RAMIREZ                    TX     90014006251
B6747662572B69   EVELIA         CORDOVA                    CO     90010986625
B6748748A93727   RICHARD        WILLIAMS                   OH     64580147480
B6749325A93745   BURKE          STEVEN                     OH     90012053250
B6749673A4B525   CRYSTAL        GRANT                      OK     90012446730
B67498A4593752   DONNA          HANNA                      OH     64553548045
B6749911143589   ISAIAS         NAVA                       UT     31087359111
B674BA7755B265   WILLIAM B      KERSEY                     KY     68063170775
B6752287371932   LYNETTE        VALDEZ                     CO     90011312873
B6753111693752   JOSE           ORONA                      AR     90015051116
B6753858693758   WES            GUSEMAN                    OH     64536358586
B6753964A91582   GABRIELA       FAULKNER                   TX     90009839640
B6753A76655953   C              DELAPAZ                    CA     90012470766
B6755629555973   JENNY          GUILLORY                   CA     48079446295
B67563A6A91579   DAVID          ORTEGA                     TX     75008623060
B675651117B489   ORLANDUS       REYNOLDS                   NC     11019935111
B675665375B396   ROSE           BOTTARO                    OR     90014156537
B6756939855953   JEREMY         AGUIRRE                    CA     90014589398
B67578A2531688   NOVA           DOCHOW                     KS     22096558025
B675847A385964   MONIQUE        SPENCER                    KY     66077054703
B6758759A55953   LATANYA        IYAMU                      CA     90010877590
B6758838872B62   KENIA          SOLIS                      CO     90013008388
B6758A8212B271   TIFFANY        WILLIAMS-EDMONDS           DC     81041460821
B6759567372B69   RITA           GARCIA                     CO     33098545673
B675981625B396   SHANNA         MCGHEE                     OR     44547148162
B67599AA951325   CHELSEA        HUDDLESTON                 OH     90014759009
B6759A26793727   DORIAN         TAYLOR                     OH     90013930267
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2195 of 2350


B6761481572B62   AMY          GRESHAM                      CO     90005644815
B6761496485927   ANGLA        ROBIN                        KY     90015314964
B6761865554B22   VANESSA      MACK                         VA     90002398655
B67626A5893783   BRANDON      JONES                        OH     90010326058
B6762A6813B362   JUAN         MARTINEZ                     CO     90006040681
B6763267272B69   GLENDA       MELENDEZ                     CO     90001062672
B6763335355972   ELENOR       PERALTA                      CA     90004773353
B6763499A8B329   LEE          HARTWELL                     SC     90013954990
B6763816624B28   RUSSELL      LAHTI                        DC     81075358166
B67639A8476B3B   CESAR        MARTINEZ                     CA     90010619084
B6764158491579   TACOS        DON CUCO                     TX     90012561584
B6764235143589   WINTER       PAINTER                      UT     90014952351
B67643A798589B   TROY         WILLE                        CA     90008993079
B6764495743577   JOSEPH       CARDON                       UT     90001994957
B676468415B396   MELANIE      DALLAS                       OR     90013386841
B6764731A5B196   ASHLEY       HOLLIS                       AR     90013787310
B6765845293727   MICHAEL      JOSEPH                       OH     90013508452
B6766442193745   JULIE        WICK                         OH     90014814421
B6767428A85927   JOHN         CRUTCHER                     KY     90014584280
B676771763B388   ERIC         PEREZ                        CO     90013017176
B6767721A7B489   DENNISE      HINOJOSA                     NC     90009297210
B6768633893727   LINDA        DICKERSON                    OH     64507346338
B6769427193758   CHARLES      LOCKHART                     OH     64510644271
B6769429485927   RICKY        ARNETT                       KY     90014584294
B6769736443589   KORY         CROMPTON                     UT     90009247364
B6769A59472B69   LISA         MARTINEZ                     CO     90010470594
B676B22A655953   ANTONIA      HERNANDEZ                    CA     90010612206
B676B39582B271   BRIAN        BOWMAN                       DC     90002493958
B676B3A1493752   SALLY A      HILL                         OH     64539413014
B676B972A85927   ANGELA       PAYTON                       KY     67041549720
B677179765B265   STEVEN       TURNER                       KY     90003337976
B6771915993745   DEANNA       FLOSS                        OH     90000589159
B677216115B535   TERRANCE     VALENCIA                     NM     35033991611
B6772287543589   ADALBERTO    PIMENTAL                     UT     31004372875
B6772389131639   ASHLEY       PARKS                        KS     22006273891
B6772948772B69   JEFFERY      MAXEY                        CO     90014929487
B677321295B265   REYNALDO     URBINA-CASTANEDA             KY     90006912129
B6773672843589   HANNA        MELENDEZ                     UT     90014466728
B67743A4472B69   MIKE         LOPEZ                        CO     90010733044
B6775132993752   RICHARD      WEBB                         OH     90014431329
B6775275424B28   JOELLE       STEVENSON                    DC     90014812754
B6775913793752   ALYSIA       GOSS                         OH     90015499137
B6775963291579   JESUS J      BUENO                        TX     75095669632
B677643945B265   LADASIA      EDWARDS                      KY     90014564394
B677685335B396   DAN          FARNSWORTH                   OR     44521558533
B6777353793745   DAVE         JENKINS                      OH     64523403537
B67775A1355972   MELQUIADIS   VENEGAS                      CA     90015305013
B6777698A91582   VIANEY       RAMIREZ                      TX     75001176980
B6777927485927   K            ROBERTS-RELFORD              KY     90005669274
B6778129A31639   ADRIAN       MIRELES                      KS     90015201290
B677851555B396   KIMBERLY     DILLON                       OR     90000575155
B6779217831639   JOHNATHON    GREEN                        KS     90003402178
B677B644493727   CANDACE      CASTLE                       OH     90010166444
B677B71395B265   MASON        THOMAS                       KY     68001597139
B677BA43693727   CANDACE      CASTLE                       OH     90013740436
B6781321543589   J SCOTT      ZAPPITELLO                   UT     90006843215
B678152A685927   CHARLENE     LOWDER                       KY     90014585206
B6782296424B64   IKEA         MARSHALL                     VA     81086722964
B67822A4155996   ANNA MARIE   LAZCANO                      CA     49072682041
B6782394193745   JESSICA      LEWIS                        OH     90007823941
B6782612341278   KRISTEN      DOMONSKI                     PA     90002236123
B678325544B273   JASON        VERMEER                      NE     90009032554
B678329A55B265   FELICIA      CANNON                       KY     90011282905
B678384495B265   CODY         TERRY                        KY     90014728449
B6784318891554   DAVID        DELGADO                      TX     90010023188
B678482A693758   MARVIN       MILLNER                      OH     90014938206
B6785635255953   MIGUEL       MALDANADO                    CA     90010616352
B678577AA76B27   LUZ          MONTIEL                      CA     90000777700
B6786365593727   KENDRA       WAHL                         OH     90010463655
B6786442193745   JULIE        WICK                         OH     90014814421
B6786452893758   RICK         HALL                         OH     64589614528
B67868A7884329   BALDOMERO    JAUREGUI                     SC     90013018078
B678696315B396   JENNIFER     ARNETT                       OR     90012869631
B678743859712B   HERLINA      MOLENS                       OR     90012724385
B6787594393745   TARA         SCHRAEDER                    OH     90011185943
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2196 of 2350


B678B27345B265   LYNIKA        CARTER                      KY     68049342734
B678B779255972   JAIME         SOLTERO                     CA     49015987792
B6791324643589   NATHAN        WILLIAMS                    UT     90009263246
B6791334555953   BLANCA        ARELLANO                    CA     90014753345
B6791461972B62   PANFILO       SANDOVAL                    CO     90014324619
B679188685B265   DELMETA       HARRIS                      KY     90013098868
B6792261172B62   ALICIA        CERVANTEZ                   CO     33074682611
B6792321361975   MARIA         PEREZ                       CA     90013233213
B679252A74B52B   OLGA          DE TORRES                   OK     21515225207
B6793284255972   JOHNNY        XIONG                       CA     90006462842
B679348A792871   KIRK          HECKER                      AZ     90014324807
B6793546885927   VENUS         GRIFFIN                     KY     90014585468
B6793933855953   SELESTE       NUNO                        CA     90005439338
B6793972643589   MARIANO       CHAVEZ                      UT     90005549726
B67939A412B271   JUANA         SORIANO                     DC     90005359041
B679425544B273   JASON         VERMEER                     NE     90009032554
B6794514572B69   NICOLAS       SEANEZ                      CO     90006825145
B679456AA43589   DOUG          BROWN                       UT     90013685600
B679463AA72B62   MANUEL        MARQUEZ                     CO     33063006300
B6794A14685927   LOUISE        WILLIAMS                    KY     67048660146
B6795141455972   CESAR         MORALES                     CA     49073391414
B6796181455953   ISREAL        VILLANUEVA                  CA     90006871814
B6796434631639   CODY          CUMMINGS                    KS     22008564346
B6796835972B62   CARLOS        RUBIO                       CO     33093718359
B6796A2A45B265   CHANNEL       BAKER                       KY     90014650204
B679719A59182B   MICHELLE      SIDES                       OK     21043131905
B6797461872B69   BRENDA        VERHOEFF                    CO     90001174618
B6797576491579   LETICIA       VILLASENOR                  TX     90010965764
B679794973B399   IDELFONSO     TORRES                      CO     90001259497
B6797A96331639   BRENT         STAUB                       KS     90013360963
B6798146A5B265   LISA          GARCIA                      KY     68015381460
B6798645131667   TINA          COULTAS                     KS     90007366451
B6798713585927   ALLI          ALFANI                      KY     67047807135
B679921567B489   TRACY         RICO                        NC     11000652156
B6799242191579   DIAZX         HILDA                       TX     90003992421
B6799649655979   MICHAEL       TUCCI                       CA     90000206496
B679968512B271   TWANA         DICKINSON                   DC     90000726851
B6799A89A5B265   CONSTANCE     PRYOR                       KY     90013420890
B679B519643589   JUAN CARLOS   CARPINTEYRO                 UT     90012275196
B679B5A4741961   HILORY        MONETTE                     OH     90014185047
B679B93A293752   SHANNEL       HAWLEY                      OH     64515119302
B67B1886A71951   MARTY         MERTZ                       CO     32038508860
B67B281995593B   DIANA N       JONES                       CA     90002718199
B67B2895791524   JESUS         HERNANDEZ                   TX     90011738957
B67B39A287B851   DIANE         RAMIREZ                     IL     20551409028
B67B6138893727   TIMOTHY       DOSS                        OH     90013111388
B67B6432191579   MAYRA         LOPEZ                       TX     90009294321
B67B6492985927   SHANELLE      HOGAN                       KY     90014574929
B67B656935B396   DENISE        WARNER                      OR     44512925693
B67B715625B265   CIARA         PARDUE                      KY     90013871562
B67B715945B265   NOLVIA        OSEGUERA                    KY     90013191594
B67B7176993752   GERI          JOHNSON                     OH     64511741769
B67B7642293745   NICHOLE       ROWLAND                     OH     90012336422
B67B7821A9286B   EDITH         CRUZ                        AZ     90015368210
B67B794842B825   SCOTT         SLATER                      ID     90010459484
B67B862579712B   MARK          PERRYMAN                    OR     90005716257
B67B8752672B69   DAVID         ZARRAZOLA                   CO     33027677526
B67B91A322B271   VANESSE       TERRELL                     DC     90015031032
B67B925497B434   NELY          ACEVEDO                     NC     90010772549
B67B9353693745   DAWN          MILLER                      OH     90012823536
B67B962579712B   MARK          PERRYMAN                    OR     90005716257
B67BB21663B321   FRANK         TRICAMO                     CO     90000812166
B67BB592193758   KEISHA        ARONE                       OH     90014935921
B67BB8A472B271   JAMES         JACKSON                     DC     90013418047
B67BBA49293727   BRENT         NAPIER                      OH     90014930492
B681143A143589   JUAN          SILVA                       UT     90011744301
B681155A793745   STEPHEN       DUER                        OH     90015005507
B6811A42285975   RYAN          SAWYER                      KY     90010820422
B6812A57785927   ASHLEY        HUFF                        KY     67056810577
B6813836993758   ROSALIO       BALCAZAR-CASTILLO           OH     64585108369
B6813A29824B28   ROSA          JIMENEZ                     VA     81076070298
B68151A7343589   TERESA        PATINO                      UT     90012401073
B68157A9293745   GENEVA        WILLIAMS                    OH     64512047092
B6816766955953   NICOLAS       MOROLES                     CA     90006727669
B6816783397B98   CHARLOTTE     KELSEY                      CO     39049217833
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2197 of 2350


B6817754985927   PAYGO        IVR ACTIVATION               KY     90014587549
B681787195B265   LYNDA        LANTHREM                     KY     90013648719
B681864AA55953   FAYE         PEREZ                        CA     90011116400
B681882A822444   SHANITA      MCCLAIN                      IL     90005338208
B6818926272447   BRIAN        BERGSTEDT                    PA     90012169262
B6819447A93758   KATRINA      ISOM                         OH     90014944470
B68198A1785927   SUSAN        GRIFFIN                      KY     90010168017
B681B1A1255953   DUSTIN       OGLE                         CA     90011101012
B681B479393745   KENNETH      ACKLEY                       OH     90010734793
B6821394872B69   THOMAS       JACOB                        CO     90007073948
B6822272A43589   GREGORY      JOHNSON                      UT     90013262720
B682256A193752   DAVID        SAMUELS                      OH     90013695601
B6822792733645   ELIZABETH    HINES                        NC     90006307927
B6823673891579   JORGE        MARQUEZ                      TX     75082466738
B6823A46291371   JULIAN       ZOZAYA                       KS     90010950462
B6825524455953   REYES        GARCIA-ARREOLA               CA     48098655244
B6825554A33647   MICHAEL      ROBERTS                      NC     90004165540
B6825A79A76B27   TONY         CAGIANO                      CA     46046160790
B6826295136B98   PELSAR       MORAN BARILLAS               OR     90000242951
B68266A7843589   DAVE         FONNESBECK                   UT     31013736078
B6827349993758   SHAWN        OWENSBY                      OH     64559513499
B682844265B573   ARELY        JAQUEZ                       NM     90010004426
B6829374691579   SANJUANA     VALTIERRA                    TX     75090433746
B682972A172B62   ELOISA       LOPEZ                        CO     33083807201
B6829829755953   ROSA         CRUZ                         CA     90011118297
B682B146572B62   JUAN         DOMINGUEZ                    CO     90012211465
B682B242426222   KRYSTAL      LOFGREN                      WI     90012182424
B682B26473B387   AMMON        CARSON                       CO     90005062647
B682B26597B489   JONATHAN     LOPEZ GONZALEZ               NC     90010612659
B683145A793758   MAE          ROBINSON                     OH     90001934507
B683167457B489   EMERSON      MONTOYA                      NC     11067466745
B6831A98572B69   OCTAVIO      LOPEZ                        CO     33037730985
B683243677B387   MARK         CRUZ                         VA     90002354367
B683247A693758   ANTHONY      BRIDENTHAL                   OH     90014944706
B6832A74831444   MICHAEL      HART                         MO     90005910748
B6833A1672B271   ROBERT       WARDRICK                     DC     81092950167
B683411665B348   MAX          LUCEY                        OR     90009401166
B6834824276B27   CLAUDIA      MARTINEZ                     CA     90012138242
B6835443372B62   SUSANA       GUTIERREZ                    CO     33012814433
B6835842A55953   MANUEL       ANDRADE                      CA     90011118420
B68359A8293745   PERA         BUSH                         OH     64585719082
B6835A38861927   SHEILA       CENTER                       CA     90007650388
B6836574193745   MARIA        COX                          OH     90008885741
B6836955655956   SILVIA       ALMANZA                      CA     90007059556
B6836A81185838   ONEEDA       ARCHER                       CA     46002720811
B6837584772B62   ASFAW        NEKNEK                       CO     33053935847
B68375A5655953   KATY         BLAGG                        CA     48006215056
B6837A8332B271   DJUAN        SHEPPARD                     MD     90013080833
B6838213131639   PAUL         DUFF                         KS     22026072131
B683883A755953   GLADYS       PEREZ                        CA     90013888307
B6839A79485927   KIERRA       HANLEY                       KY     90014590794
B683B396993752   JERMIEL      FARRAR                       OH     90014873969
B683B4A6343589   MARIA        ROQUE                        UT     90014864063
B683B532493758   SANDRA D.    CLAIRBORNE-WAFER             OH     64532255324
B683B546155953   SAIDA        ELENA                        CA     90010345461
B6841344655953   CINDI        VELAQUEZ                     CA     90011133446
B6842238255975   FLORENCIA    RODRIGUEZ                    CA     90011622382
B6842356655953   RAMIRO       VENTURA                      CA     90006523566
B6842472593727   JAMES        JONES                        OH     90009404725
B6842595693758   AMANDA       ROACH                        OH     90010125956
B6842977585927   COLE JR      GILES                        KY     90011029775
B6842A74443589   KAREN        VALDERAS                     UT     90011540744
B6843334472B47   BEVERLY      CISNEROS                     CO     33051683344
B6843356655953   RAMIRO       VENTURA                      CA     90006523566
B6845475293752   NEEMA        CIZA                         OH     90000244752
B684686A543589   JOLENE       LOMAX                        UT     90009398605
B6847674591582   DANNY        RODRIGUEZ                    TX     90010726745
B6847685693752   LORETTA      TALTY                        OH     90010436856
B6847A16743589   PAYGO        IVR ACTIVATION               UT     90012450167
B684817325B265   DAVE         ZACKLE                       KY     90013271732
B684875684B256   NANCY        KING                         NE     90013637568
B684887A755953   MANUEL       ESPINOZA                     CA     90010418707
B684933155B333   SHAWN        ZIMMERMAN                    OR     90005313315
B6849847293727   ANTONIO      ADDISON                      OH     64512178472
B684B4A6877575   GUADALUPE    GUTIERREZ                    NV     43085794068
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2198 of 2350


B684B65742B271   CRYSRTAL       WHITE                      DC     90014056574
B684B842393783   RAYSHAWNA      JEFFERSON                  OH     90012518423
B684B917293745   DANIELLE       DAVIS                      OH     90012809172
B684BA84993727   JAJUANA        FORD                       OH     90014380849
B6851335893745   TAYLOR         WICK                       OH     90010473358
B6851796776B27   ERICKA         DE LA CRUZ                 CA     90007067967
B6852471943589   HERNAN         LOPEZ                      UT     90011114719
B6852622472B22   ALAN           CUMMINS                    CO     90013106224
B685282AA5B368   CHRISTIE       SCOTT                      OR     90002568200
B6853261A93745   BONNIE         HAULMAN                    OH     90002432610
B6853A87272B62   LORENZO        MORALEZ                    CO     90004500872
B685428A491579   CELINA         JUAREZ                     TX     90014962804
B6854454755953   GUADALUPE      ARREOLA                    CA     90014644547
B6854682793758   SARAH          PAULASKAS                  OH     64549846827
B6855167A72B69   MARGARITA      SANCHEZ                    CO     90012371670
B6855845676B27   ALICIA         MENDOZA                    CA     90008918456
B6856166A91579   JESSICA        DAVIDSON                   TX     90011001660
B685617275B265   LAMAR          BOOKER                     KY     68001611727
B685624599712B   OSCAR          OLVARES                    OR     90008242459
B6856829755953   ROSA           CRUZ                       CA     90011118297
B6856A67291948   JAMES          BOSPMAN                    NC     90012030672
B6857279A93727   AMY            SNAVELY                    OH     90006202790
B6857351793745   LISA           JONES                      OH     90013063517
B6857386793745   CHARITY        COLLIER                    OH     90010473867
B685778779712B   KAYLA          LITKE                      OR     90005857877
B6857833131639   NORA           NICKERSON                  KS     22012178331
B6859546376B27   ALBA           RIVERA                     CA     90011175463
B6859719693752   BRYCE          TALBERT                    OH     90013897196
B6859966785927   TIFFANY        DAGETTE                    KY     90001629667
B6859A62855953   JOSE           ZAMORA                     CA     90012440628
B685B13229286B   ANAI           LONGORIA                   AZ     90014891322
B685B153684329   VIRGINIA       SAY                        SC     90004191536
B685B89652B271   PATRICE        HARDEMAN                   DC     90008228965
B685BA5468B63B   ALEXIS         GONZALES                   TX     90014170546
B6861122955953   CHRISTINE      CRUZ                       CA     90009941229
B6861434171966   RYAN           MIDDLETON                  CO     32069684341
B686173485B25B   KESHA          DENNING                    KY     90013307348
B6861769772B62   MARK           ORTIZ                      CO     90015137697
B6861A47724B28   THOMAS         BOWENS                     DC     90012450477
B68634A167B489   CAYETANO       CRUZ                       NC     90010614016
B6863A2263B357   KEVIN          GREEN                      CO     90003590226
B6864313155953   CLAUDIA        CONTRERAS                  CA     90013763131
B686479787B489   STEPHANIE      HUMBHREY                   NC     11046167978
B6865278293758   SHAWN          ELY                        OH     64575522782
B6865A3818B186   LYDIA          CARTER                     UT     90006330381
B6866335972B69   ROBERTA        RODRIGUEZ                  CO     33078473359
B686673517B489   CHRIS          LIPSCOMB                   NC     90010557351
B6866975755972   PEGGY          SMITH                      CA     49016019757
B6867135255948   JUAN           BUSTOS                     CA     90008001352
B686727A472B57   MICHAEL        MARQUEZ                    CO     90010702704
B6867824991579   CYNTHIA        RAMIREZ                    TX     90008758249
B6868489255953   ALEX           RODRIGUEZ                  CA     90008514892
B686917275B396   JUAN           HERNANDEZ                  OR     90008671727
B6869172893727   DESHANAY       HOLBERT                    OH     90010141728
B6869497893745   MILBURN        ROBERTS                    OH     90015024978
B6869991555953   ESTEPHANIE     SANDOVAL                   CA     90012989915
B6869A6155B396   VIKTOR         BARNA                      OR     90014970615
B686B39297B489   BULMARO        COSTANEDA                  NC     90010613929
B686BA72876B42   BARBARA-ANN    KAIDY                      CA     90005950728
B6871826293727   JULIE          COLEMAN                    OH     64559868262
B6871A9477B489   ARLINGTON      CORNEJO                    NC     11044170947
B6872124755926   ESPERANZA      NAVA                       CA     49042711247
B6872435393727   CHELESA        IVORY                      OH     90011534353
B68726A875B265   ALEXIS         ROBERTSON                  KY     90013736087
B6872881831639   LAVELL         HUTTON                     KS     90014898818
B6872941A2B271   MIKE           SMITH                      DC     90008229410
B6873141185927   CANDICE        HAMILTON                   KY     90005221411
B6873215872B62   DIANA          AGUILAR HERNANDEZ          CO     33034482158
B687338A87B489   MARCIA         TRUESDALE                  NC     11043733808
B68742A4755953   EMILIO         BARRAZ                     CA     90008912047
B6874532A85927   MICHAEL        KING                       KY     90011505320
B6874639A91579   VICTOR         MATA                       TX     90005576390
B687483934B555   JAMES          JEFFERSON                  OK     90012668393
B6874A61976B27   NICKO          MARTINEZ                   CA     46038760619
B6875891543589   MAYRA JANETH   LOPEZ                      UT     90014278915
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2199 of 2350


B6875A48385927   ANGELA         TURNER                     KY     90011030483
B6876177572B69   ROB            HARDY                      CO     90010481775
B68762A445B528   MAURICE        MAISEL                     NM     35094012044
B6876745555953   LUCIA          MORALES                    CA     90011377455
B6876829171964   SACRAMENTO     RODRIGUEZ                  CO     32090788291
B6876AA3293745   ROBERT         STAPLETON                  OH     90012600032
B6877243491524   ERNEST         RAMIREZ                    TX     75002692434
B6877357372B69   MARIA          MARTINEZ                   CO     90007993573
B6878251631639   PORSHA         MYERS                      KS     90008182516
B6878597991579   ANDRE          WASHINGTON                 TX     75056985979
B687869632B271   AUDREY         STEWART                    DC     81074366963
B6878715685927   JUDY           HURT                       KY     90010487156
B6878775793727   DESMONA        WIGGINS                    OH     90010907757
B6878933A43589   ALICIA         MORENO                     UT     90014639330
B6879461793745   AMILEE         RUPE                       OH     90007834617
B687B152576B27   MICHELLE       RODRIGUEZ                  CA     90006051525
B687B173793752   RENA           EASTERLING                 OH     90005051737
B687B6A7393758   NICHELLE       CORDELL                    OH     90010576073
B6881536993752   TIFFANY        CONNER                     OH     90004565369
B68822AA743589   ZACH           THORNLEY                   UT     90011182007
B688268A193752   RON            FLECHER                    OH     90013696801
B6882966333621   MONICA         MAJAK                      NC     90012309663
B6883248624B28   JOEL           MORAN                      MD     90015602486
B6883A32371957   MAGGIE         MILLAN                     CO     32064830323
B6883A3A361921   DENISSE        OLIVERA                    CA     90012380303
B6884325693727   NORVELL        ROBINSON                   OH     64509913256
B688454737B45B   GUADALUPE      SALGUERO                   NC     90011695473
B6884771493745   RON            HONEYMAN                   OH     90010477714
B68854A7161941   SHARON         SHAPIRO                    CA     46090754071
B688557112B271   PALKINA        LAMELL                     DC     90011535711
B688697AA43589   JASON          JONES                      UT     31010299700
B6886A51455953   RHONDA         COTTA                      CA     90006530514
B6887123972B69   RUDY           CORADO                     CO     90012921239
B6887311743589   SANDRA         MARQUEZ                    UT     90014943117
B6887644A55953   LORENA         FRANCO                     CA     90013676440
B688781482B271   MOHAMED        ABUKELA                    DC     90012748148
B688935225B265   TINA           LALLA                      KY     90008713522
B6889593943589   KEN            HUGHES                     UT     31064675939
B688959756196B   VICTOR         AGUILAR                    CA     90003755975
B6889674193727   HOLLIE         LUNSFORD                   OH     90012546741
B688BA38193745   KENDRA         HICMAN                     OH     64588660381
B689116269712B   KRISTIE        MORRIS                     OR     90005861626
B689159756196B   VICTOR         AGUILAR                    CA     90003755975
B689172A85B396   HAILEMICHAEL   TESFAMARIAM                OR     90005207208
B689216269712B   KRISTIE        MORRIS                     OR     90005861626
B689273852B271   WILLIAM        BROWN                      DC     90013187385
B6893536331639   DEBBIE         HECHT                      KS     90007105363
B6894386991579   CHRISTINA      GALLEGOS                   TX     90013773869
B689572595B396   KATHRYN        LEE                        OR     90014867259
B68962A125B194   TANYA          WASHINGTON                 AR     23065872012
B6896729533B51   JEREMY         ABELS                      OH     90015357295
B6896A9A824B37   DANIELLE       THOMPSON                   DC     90006110908
B6896AA8772B69   JACQUELINE     BARRAZA                    CO     33082440087
B6897143A5B327   JOSE           BARRAGAN                   OR     90011541430
B6897294393752   KERRY          BUCKNER                    OH     90009142943
B6897321755948   ADOLFO         ROSENDO                    CA     90013873217
B6898333372B69   BERENICE       TORRES                     CO     90011473333
B689893655B396   MONICA         QUINTERO                   OR     90015109365
B689938A143589   ALBERTO        RANGEL                     UT     90005913801
B6899767993745   COREY          HARRIS                     OH     90010737679
B6899844593727   LAQUETTE       EDWARDE                    OH     90003938445
B6899859255953   PHILLIP        LOPEZ                      CA     90014108592
B689B38187B489   LEONARDO       SANCHEZ                    NC     90012003818
B689B727172B69   GORGE          HERNANDEZ                  CO     90009137271
B689B7A3385927   JOE            BUTTS                      KY     90010437033
B689B885393752   SANDRA         FRANTZ                     OH     64593128853
B68B122A393758   GINA           REGES                      OH     64511052203
B68B138615B396   ROSA           BAUTIZTA                   OR     90014113861
B68B2191893758   REGINALD       WILLIAMS                   OH     90008971918
B68B2522172B62   SUSANNE        WILSON                     CO     33033255221
B68B266299712B   LAURIE         PHELAN                     OR     90005846629
B68B4114372B69   JUANITA        RUIZ                       CO     90013291143
B68B487957B449   BEAUFUS        MILLER                     NC     90010338795
B68B4975793745   ANGELA         ROBINSON                   OH     90014429757
B68B5353793745   DAVE           JENKINS                    OH     64523403537
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2200 of 2350


B68B5976893758   NANETTE L           STURDY                OH     90014939768
B68B615128B168   DRAKE               SHATTUCK              UT     31002191512
B68B624827B34B   VINICIO             GONZALEZ LOPEZ        VA     90000112482
B68B637795B265   MICHALE             MITCHELL              KY     68016663779
B68B6554993745   AERIAL              HARRIS                OH     90013575549
B68B676985B396   MICHAEL             SMITH                 OR     90008327698
B68B719665B396   MARIA               BOCANEGRA LUNA        OR     44583881966
B68B812562B271   JOSE                GONZALEZ              VA     90003491256
B68B879335B396   ROBERT              LISTON                OR     44591737933
B68B9379155953   SYDNEY              REYES                 CA     90004833791
B68B9421593752   KATIE               CULPEPPER             OH     90005464215
B68B9691A55953   EUSEBIO             AGUILERA              CA     90012416910
B68B9841493727   SANCHIA             GREEN                 OH     90013978414
B68B997A272B69   MAYA                PEREZ                 CO     90014709702
B68BB635293745   CHELSEA             KURUZOVICH            OH     90014536352
B68BB83895B389   CHRISTINA           FAREN                 OR     90003188389
B6911324193752   ERICA               REECE                 OH     64539813241
B6911495561924   JEFFREY             HARDMAN               CA     90011654955
B6911574272B69   SANCHEZ             OLGA F                CO     90011515742
B6911A42131639   SALLY               CLAYTON               KS     22075050421
B6912663291579   CINDY               GUERRA                TX     75009756632
B6912811531639   ROBERT              MCDONALD              KS     22092458115
B6913649142332   EPIFANIO            DOMINGUEZ             GA     90003826491
B6913941791579   RAUL                RUIZ                  TX     90011949417
B6914553A72B62   FRANCES             ROMERO                CO     33053005530
B6914589943589   BECKY               CHRISTENSEN           UT     90007905899
B6914788293745   SHEILA              RUTHERFORD            OH     64517747882
B6915425885927   BRANDY              CRAYCRAFT             KY     67060214258
B691582A272B62   PEDRO               CHAVEZ                CO     33020428202
B691677112B271   SYDNEY              GRIFFIN               DC     90009477711
B69169A8791948   KYLIE               PARKE                 NC     90010539087
B6916A98143589   MELADIS             LOPEZ                 UT     31090120981
B6918225743589   NATHAN              BARKER                UT     90014582257
B6918295855953   FLORA               OROZCO                CA     90011442958
B6918675255953   EMILIO              VALDENEGRO            CA     90013876752
B6918A59893727   MONICA              JOHNSON               OH     90013560598
B6919682793758   SARAH               PAULASKAS             OH     64549846827
B691B367472B27   MARSHEA             TAYLOR                CO     90008003674
B691B37A58B825   RONNIE              RICO                  HI     90014483705
B691B399A76B27   ALFREDO             MONTIEL               CA     46064783990
B691B497A93745   MARY                KAFFEBARGER           OH     90001654970
B691B64A672B62   RAUL                ARMANDO GONZALEZ      CO     90008406406
B691B9A129182B   BRENDA              DRAPP                 OK     21078519012
B6921313251334   MAC                 ROBINSON              OH     90006493132
B6921325193758   MARKITA             CARBER                OH     90013493251
B6922123293758   LISA                LAWSON                OH     64530691232
B69224A8731688   MICAH               MILLER                KS     22055504087
B6923A8A95B397   ADAMS               SIEVERS               OR     90010140809
B692412525B396   MARGARITA           SAUCEDO GAONA         OR     90009461252
B6924249491579   VERENICE            MORENO                TX     90014102494
B6924667355953   BRANDYN             JONES                 CA     90013356673
B6924A64743589   SINIA               GARCIA                UT     90008790647
B69251A9A7B489   PEDRO               ESTRADA               NC     11063811090
B69253A4355953   JOHN                PRECIADO              CA     90013993043
B6926429893727   RACHEL              TERRELL               OH     64550184298
B6926A11591579   STEPHANIE           RODRIGUEZ             TX     90013900115
B692785915B396   MATT                MCKINLEY              OR     44555678591
B692874A193745   ANGELIQUE           TRAYLOR               OH     90012407401
B6928839191B55   LUIS                ESCORCIA              NC     90010818391
B6929421843589   BRETT               GYLLENSKOG            UT     90007244218
B69313A7293758   JESSICA             LYONS                 OH     90009013072
B6931773685927   ANNA                BURTON                KY     90014597736
B69326A285B396   RAYMOND             BRINKLEY              OR     90006456028
B6932AA9143589   SERGIO              GUTIERREZ             UT     90009960091
B69332A3991579   MATTHEW ALEXANDER   PARGA                 TX     90015012039
B6933661293745   MICHELLE            HALL                  OH     90013466612
B6933757755943   YONI                MACHUCA               CA     90012337577
B6933944572B69   ASHLEY              MOLINA                CO     90014719445
B6933A6974B298   JUANITA             WILSON                NE     27036850697
B693435333B396   DOUGLAS             KEGERREIS             CO     33018753533
B6934366976B27   JAMES               JOSEPH                CA     90010283669
B6934591743589   RYAN                PATERERU              UT     90007045917
B6934771172B62   JAMES               GARCIA                CO     90013057711
B693493A72B271   ROBERT              DUNBAR                DC     90013959307
B693498646192B   JORGE               MENDIAS               CA     46017589864
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2201 of 2350


B6935497A2B271   TIERRA       COOPER                       DC     81060764970
B693599A385927   CHANDA       HARWELL                      KY     90012079903
B6936A38984364   JOANNARE     MITCHELL                     SC     90010130389
B693744275B265   RHONDA       BIVEN                        KY     90011544427
B6937496924B64   FAITH        MANUEL                       DC     90004864969
B6937554393727   CHRIS        WEIDNER                      OH     90009855543
B6937647591322   KATRINA      THOMPSON                     MO     29081716475
B6937654476B27   JACK         EISENBACM                    CA     90008446544
B6937784555953   MARISSA      SANCHEZ                      CA     90014857845
B6938999731639   MARK         JACKSON                      KS     90001169997
B69389A3131688   MARIA        ORTEGA                       KS     90004839031
B6939526893752   RASHEL       GREEN                        OH     90003475268
B693984A655972   HERNANDEZ    BRITANNY                     CA     49050108406
B6939A7124B225   LENORA       JACKSON                      NE     27090940712
B693B616293752   BRIDGETTE    LUCAS                        OH     90013856162
B693B782A91579   KAREN        SANTOS                       NM     90008597820
B693B975155953   ANA          AGUILAR                      CA     90015169751
B6941336261825   DONIELLE     SPATES                       MO     90015013362
B69415A1A4B221   WILLIAM      SLEECH                       NE     90003155010
B6941761433621   YVONNE       DIGGS                        NC     12085807614
B694176622B227   EMIL         ALVAREZ                      DC     90011617662
B6941886493727   THOMPSEN     SANDRA                       OH     90010618864
B6941899391579   MARGARITA    RIVAS                        TX     75058368993
B6942131993727   WILLIAM      LAIRSON                      OH     90009161319
B6943424591579   DIANA        ACOSTA                       TX     90010794245
B6943545993758   JACK         AVERY                        OH     90004165459
B694418A772B69   KELLY        SCHULTS                      CO     90013231807
B694485637B489   ADELAIDO     ROMERO                       NC     90010788563
B694521A193752   TRACI        STORMER                      OH     64572262101
B69466A487752B   ALEXIS       DRAKOS                       NV     90011946048
B6946854993752   TRACY        STATEN                       OH     64540788549
B6946891472B69   JAMES        ZURHEIDE                     CO     90013798914
B6946978385927   STEPHANIE    MOORE                        KY     90014599783
B694733622B271   JONETTE      GELISSEN                     DC     90012453362
B6948585691585   ABIGAIL      ROMO                         TX     75043095856
B6948676555953   IESHA        BANDA                        CA     90006696765
B6948832372B62   CASSIDY      CHAVIRA                      CO     90014438323
B694883A685927   DANIELLE     EVICK                        KY     90011088306
B6949694593746   MELINDA      CAPPER                       OH     90008866945
B6949875485927   HARKA        GHALLEY                      KY     90000398754
B694B173472B69   JENNIFER     MOSCARIELLO                  CO     90000341734
B694B56445B14B   DEMARCUS     ATKINS                       AR     90015125644
B694B714224B64   JOSHUA       MATTHEWS                     DC     90014767142
B694B991155953   SHAD         CHAFFIN                      CA     90015109911
B694BA9995B141   PATRINA      BENNETT                      AR     90007220999
B6951297191579   SALVADOR     CAMPOS                       TX     75054722971
B69512A5376B27   CHRIS        DAY                          CA     46051602053
B695223818B131   TRAVIS       MORRILL                      UT     90009172381
B6952492955953   CYNTHIA      RODRIGUEZ                    CA     90014644929
B6952496293727   ANDREA       MOMAN                        OH     90014634962
B6952833698B2B   RUSSEL       TIFFERT RENGIFO              NC     90012558336
B695287192B223   ROWLAND      WHITE                        DC     90001668719
B6952A12885927   RONALD       MONTGOMERY                   KY     90014600128
B6953752293745   ANGIE        KIMMELL                      OH     90010487522
B6953822585927   ANN          COOPER                       KY     90008938225
B6953842555953   GABRIEL      MAGEE                        CA     90012598425
B6954392791579   LAKESIA      JOHNSON                      TX     90014933927
B6954678A72B69   CORAL        LUCERO                       CO     90012706780
B6954728743589   JOSE         DURON                        UT     90001457287
B695485AA93758   BRANDON      HYDER                        OH     90012228500
B6954A6427B489   CONCEPCION   ARIAS                        NC     11077130642
B6955324231688   JESSICA      GUFFEY                       KS     90004463242
B6955948A5B265   JAMES        HASTY                        KY     90013539480
B6955A99255953   SCOTT        STEWART                      CA     90014910992
B6956198976B27   SHANEL       JONES                        CA     90006051989
B695627685B265   ANGELA       SIMMS                        KY     68077522768
B695649175B396   DASHAWN      TERRY                        OR     44502074917
B69565A9772B62   NADINE       HERNANDEZ                    CO     90013055097
B6956887A72B84   NANCY        IGLESIAS                     CO     90012398870
B6957311272B62   MARCELA      PEREZ                        CO     33015873112
B6957452A5B265   KATHERINE    FULTON                       KY     90008724520
B695752757B493   REYNALDO     PINEDA                       NC     90014025275
B695755A293758   ERIC         MORRIS                       OH     90001695502
B695756515B396   MARY         BANGIRO                      OR     44562075651
B6958621793727   MICHAEL      MCCONNELL                    OH     90006576217
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2202 of 2350


B6958698172B69   EDUARDO             CONTRERAS             CO     90013366981
B69591AAA5B265   CHRIS               GUYNES                KY     90010431000
B6959729372B69   SAMANTHA            LOPEZ                 CO     90012887293
B6959729385927   SUSAN               MARTIN                KY     67090997293
B69597A143B333   LAURIE              LAMBORN               CO     90012707014
B6962263191579   VICTOR              QUEZADA               TX     90008432631
B6963113755972   ELIAS               ZAMORA                CA     49048791137
B69638A9491579   GUSTAVO             CAMPOS                TX     90014758094
B696423AA93745   JAMES               CAMDEN                OH     90006922300
B6964245791579   ANGELICA            SAMANIEGO             TX     90014412457
B696446A48B337   BARBARA             ALDRIDGE              SC     11007864604
B6964814343589   LESLIE              LOUNSBURY             UT     90009068143
B696484A472B69   SCOTT               GADBOIS               CO     90005508404
B6964A3A631456   CRAIG               JURGENSEN             MO     27574670306
B6965119561925   DANIEL              MARTINEZ              CA     90009481195
B696575735B265   SHERRYL             PENROSE               KY     68077527573
B6965819A72B62   GUADALUPE           CORONA                CO     33052108190
B6966228155953   EMC                 MINOR                 CA     90001492281
B6966381972B69   TOYA                ROBY                  CO     90013413819
B696652822B271   NYTAVIA             WARREN                DC     90012995282
B6968984655953   MARIA DEL ROSARIO   CRUZ                  CA     90014619846
B6969292991579   KRYSTAL             PEDROZA               TX     90010642929
B69695A1293745   CARRIE              THOMAS                OH     90013755012
B69697A9976B27   DAVID               PAVIA                 CA     46025927099
B6969985972B69   ARZOLA              CONSEPCION            CO     33084529859
B6969A12393758   SANDERS             JESSICA               OH     90005440123
B696B283791579   CYNTHIA             ARAIZA                TX     90012152837
B696B6A8A93752   LAYER               HEATHER               OH     90005126080
B697112625B265   DARLENE             SHRAMM                KY     68048891262
B69716A8685927   IESHIA              FORD                  KY     90010196086
B6971855793758   JENNIFER            ALLEN                 OH     90010578557
B69724A5A5B265   RICHARD             GIVIDEN               KY     68026644050
B6973274772B36   DAVID               LIRA                  CO     90013792747
B69736A4955936   LISA                MALDONADO             CA     49016896049
B6973765155953   LISA                VIDANA                CA     90013077651
B6973948385927   ADRIENNE            RAUCH                 KY     90014609483
B6974459272B69   JENISE              RUIZ                  CO     90013474592
B6975515443589   CALISHA             HUGO                  UT     90011955154
B6975771493745   RON                 HONEYMAN              OH     90010477714
B6976617931639   ERIN                COOPER                KS     90014726179
B697693858B131   MARK                MOTT                  UT     90006769385
B6978181772B69   YOLANDA             TORRES                CO     33081691817
B697832A77B489   JASMINE             BROWN                 NC     90010963207
B697842215B396   EVELIA              ALFONSO-HERNANDEZ     OR     90000434221
B69785AA191579   EDUARDO             SAUCEDO               TX     75029495001
B6978A71955953   VICTOR              VELA                  CA     90012780719
B6979464636B98   NICOLAS             GIL                   OR     90014374646
B6979644A55953   LORENA              FRANCO                CA     90013676440
B6979715A24B28   MIRIAM              MURILLO               VA     90008167150
B6979722291579   CLAUDIA             MENDEZ                TX     90013627222
B697B591243589   K                   TREGO                 UT     90009835912
B697B75A172B62   AUVAE DANYELL       GRANT                 CO     90013337501
B698117A431639   JASON               CEBALLOS              KS     90011261704
B6983386A5B396   MARCIE              SMETOUNA              OR     90009063860
B6983589793745   DENISE              LOGAN                 OH     90014175897
B6983963543589   EFRAIN              CAMAYO                UT     90014959635
B6984556A5B541   VICTOR              ROYABL                NM     90011875560
B69849A7193745   PATRICK             MARTIN                OH     64511409071
B6984A3A65B396   KENDRA              JONES                 OR     90008410306
B6984A92455974   RICARDO             GUZMAN LOPEZ          CA     90008100924
B6985956355953   RITA                ZAVALA                CA     90013009563
B6987439155931   SANDRA              GODINEZ               CO     90014474391
B6987757693745   KATHY               WOOD                  OH     90010497576
B69879A1A5B396   KEITH               RODRIGUEZ             OR     90011999010
B6988257185927   JESSE               HOLT                  KY     90014602571
B698916989712B   MARIA ESTHER        VILLA MARTINEZ        OR     90005871698
B6989A32631688   NICOLE              WILSON                KS     90006710326
B6991317593758   RODNEY              SCOTT                 OH     64598673175
B6991949631639   EDITH               DUARTE                KS     90013819496
B69922A8831639   ROBINSON            DANIELS               KS     90013262088
B6992396491579   ANABEL              LOYA                  TX     90011173964
B69925AAA91371   ANNETTE             KAUSHAL               KS     29007325000
B699267342B972   GRACIELA            CRUZ                  CA     90011966734
B699289992B972   GRACIELA            CRUZ                  CA     90011488999
B6992A18A93727   SERJTTA             SMITH                 OH     64515630180
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2203 of 2350


B6993414855953   SALVADOR     CARRILLO                     CA     90006714148
B699363342B972   DAVID        PINTO                        CA     90001666334
B6993711391579   MIRIAM       HERNANDEZ                    TX     75053327113
B69937A2176B27   GLORIA       RIOS                         CA     90011917021
B699398A493745   MATTHEW      KOEPP                        OH     64593139804
B6994593191579   ELIZABETH    CRUZ                         TX     75081095931
B6994648A7B489   LOREDA       MARTIN                       NC     90008986480
B6994737841237   ROSE         WALKER                       PA     51086227378
B6994934343589   BRIANNA      WILKES                       UT     90012289343
B6995123355953   MACARIO      FELIX                        CA     90010461233
B6995788693752   COURTNEY     LUNSFORD                     OH     90005877886
B6995833751356   PATRICK      FERNBACH                     OH     90004418337
B6996127372B69   SHANTE       NIEVES                       CO     90011011273
B699654184B557   DARRELL      SHERMAN                      OK     90007595418
B6996969472B62   DENISE       MALDONADO                    CO     90014449694
B69972A9343589   ELEAZAR      BASALDUA                     UT     90007972093
B6997955293758   HECTOR       CANO                         OH     90010579552
B69981A1872B62   NORMA        GONZALEZ                     CO     33017611018
B6999243555953   LOURDES      ORTIZ                        CA     48089602435
B6999941791579   RAUL         RUIZ                         TX     90011949417
B69B133A893783   JESSICA      MARTINEZ                     OH     90006183308
B69B1815455972   ALMA         ANDRADE                      CA     90010708154
B69B2163393752   JAMIA        WORTHAM                      OH     90004121633
B69B2172655974   RICARDO      GUZMAN                       CA     90008101726
B69B263125B396   LISA         GARCIA                       OR     90012706312
B69B2746A91579   PEGGY        GARRISON                     TX     90013607460
B69B3373891579   NICOLE       PENA                         TX     90011763738
B69B4372351332   RANDY        WHITLOCK                     OH     90007623723
B69B4613393752   JEFFREY      SIGMON                       OH     90009686133
B69B5447A5B265   MONIKA       PUMPHREY                     KY     90012854470
B69B5527A93752   MELANIE      DAVENPORT                    OH     90004575270
B69B5639793745   JEANA        BOYD                         OH     90012906397
B69B5AA9A91579   GONZALEZ     JOSE                         TX     90003060090
B69B65A6672B62   DOUGLAS      SMITH                        CO     90012685066
B69B6625191579   LUIS         VARGAS                       TX     75032386251
B69B7272643589   RORIE        TAFOYA                       UT     90006042726
B69B7872693727   KORY         MIDDLEBROOKS                 OH     90013508726
B69B7938785927   ENEMECIO     REYES                        KY     90014609387
B69B851519182B   ERIC         MOLL                         OK     21083715151
B69B924157B489   MARY         CLINE                        NC     90006912415
B69B928A593727   KEVIN        WALKER                       OH     64590822805
B69B9351343589   SESAR        AYALA                        UT     90014903513
B69BB293393745   TIM          BIRD                         OH     64528082933
B69BB689A91579   ROSA         LOZANO                       TX     75008036890
B69BB711291574   ERIC         MAGALLANES                   TX     90002647112
B69BB735372B67   BLANCA       GALLARDO                     CO     90006297353
B69BBA14A3B335   JANETTE      MILLS                        CO     90007870140
B69BBA93172B62   RODOLFO      ALVARADO DIAZ                CO     33034580931
B6B111A727B851   KEITH        BUNCH                        IL     90015531072
B6B11955593758   AMBER        STEWART                      OH     90014819555
B6B11AA3854B3B   YLENA        JUGGINS                      VA     90005770038
B6B12468955972   PRISCILLA    ARAMBULA                     CA     49015784689
B6B13955593758   AMBER        STEWART                      OH     90014819555
B6B13A11154161   KIMBERLY L   CARY                         OR     90015120111
B6B145A137B489   RODREIKA     TAYLOR                       NC     90010955013
B6B15929776B27   DONAIL       DIAZ                         CA     90013059297
B6B15964593758   TAWNY        MULLINS                      OH     90014819645
B6B16665972B62   DENNIS       GREGORY                      CO     90012306659
B6B172A4A91579   ERICKA       ROACHO-ORTIZ                 TX     90012072040
B6B17457A72B62   CAROL        SMITH                        CO     33016634570
B6B1778295B396   ELIZABETH    SHIELDS                      OR     90014837829
B6B17A5827B489   CAROLYN      MORROW                       NC     90006470582
B6B18233476B27   ROCIO        REYES                        CA     90011372334
B6B18557272B62   VICTOR       LUJAN                        CO     90013095572
B6B18A15391579   LUIS         GUITIERREZ                   TX     90013320153
B6B19128172B62   JARROD       ROWE                         CO     33055681281
B6B19162572B69   MARISOL      VILLAPANDO                   CO     33031981625
B6B196A7924B64   ANGELICA     DODSON                       DC     81097726079
B6B19796993745   MARCUS       RIGGINS                      OH     90014787969
B6B199A7176B27   OSCAR        MARTINEZ                     CA     46064119071
B6B1B237293745   ROGER        BROWN                        OH     90010782372
B6B1B346193727   JESSICA      ROUCH                        OH     90004233461
B6B1B74315B396   NORMA        RODRIGUEZ                    OR     44546297431
B6B1B7A4993738   D            SNOWDEN                      OH     90012017049
B6B1BAA3854B3B   YLENA        JUGGINS                      VA     90005770038
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2204 of 2350


B6B21829A54168   ANA MARIE       RUIV                      OR     90015088290
B6B2263669712B   JEREMY          THOMPSON                  OR     90007096366
B6B23911876B27   SKY             WALKER                    CA     46000559118
B6B24224893745   BUFFEE          REIGELSPERGER             OH     90014622248
B6B2475A193752   MARY            PHILLIPS                  OH     64560687501
B6B25961793758   RAQUEL          SPEARS                    OH     90014849617
B6B2638A493758   EMILY           CARTER                    OH     90005333804
B6B2668A431668   NICHOLAS        GLAQSGOW                  KS     90013836804
B6B26963976B27   MISAEL          CRUZ                      CA     46044949639
B6B27614791579   MICHEAL         MAULDIN                   TX     90013266147
B6B28926771921   BRIDGETT        CARNES                    CO     90002779267
B6B2918327B432   OMAR            SOSA CAMACHO              NC     90011571832
B6B29361A93745   AMY             ROWLAND                   OH     90014693610
B6B29442585927   DOUG            MILLER                    KY     90011004425
B6B29488A5B396   JESUS           SANCHEZ                   OR     90012784880
B6B2B211291579   CHRISTINA       GRANT                     TX     75091262112
B6B2BA89685927   SHAWN           BUMPASE                   KY     90012650896
B6B31511891972   ELMER           ADAN ROMERO R             NC     90007595118
B6B31678261825   SHAWN           STOECKEL                  IL     27563236782
B6B31929993752   JAIMEE          TAYLOR                    OH     90013889299
B6B32235885927   JEROME          SPENCER                   KY     90015032358
B6B32441255953   JUAN            HUERTA                    CA     90013624412
B6B32572331639   CARSON          SINCLAIR                  KS     90014825723
B6B32614172B69   VIOLA           MARGARET                  CO     90011576141
B6B33229455953   BRYNNA          BART                      CA     90013272294
B6B3382223163B   SHONDA          HILL                      KS     90012478222
B6B342A1A9182B   HERMELINDA      MOLINA                    OK     21080252010
B6B3432AA7B34B   SEGIDLEAB       GHEBREMICHAEL             VA     81005163200
B6B34393372B62   DOWNING         KHE-MARA                  CO     33064353933
B6B34A62A72B69   FRAN            RIVAS                     CO     90012270620
B6B35588393745   MELISSA         RODRIGUEZ                 OH     90013505883
B6B36285293752   JANET           HARGRAVE                  OH     90009222852
B6B3632343B362   LUIS            CARROLA                   CO     90010433234
B6B36549155953   APRIL           COLOCADO                  CA     90007385491
B6B36696293758   TASTEE          WILLIAMS                  OH     90013826962
B6B37517391579   OLMOS           CRIST                     TX     75016295173
B6B37529A85927   ESSENCE         WILLIAMS                  KY     90014145290
B6B3774919182B   TONYA           JOHNSON                   OK     21078237491
B6B37854176B27   JORGE           SILVA                     CA     90013068541
B6B37953855953   CHRISTOPHER     HART                      CA     90012769538
B6B38136443589   STEVE           CARMEN                    UT     90010161364
B6B3865355B396   JOSHUA          KOEHLER                   OR     44530016535
B6B39469A93752   TASHA           FRISON                    OH     64598134690
B6B39715297933   VERONICA        YANCEY                    NC     90009197152
B6B39951285927   ANTHONY         MCCOY                     KY     90011659512
B6B3B99112B271   LACHE           JETER                     DC     90010789911
B6B4185875B525   CAMERON         ENTRINGER                 TX     90010018587
B6B42532172B62   DEVIN           MARTINEZ                  CO     33049985321
B6B42598293745   MELISSA         BEHRENS                   OH     90013385982
B6B42918643589   JESSICA         HERZOG                    UT     90014859186
B6B4382A85B396   ALEJANDRA       CUPA BARRON               OR     44516458208
B6B43841672B69   LUCINA          RENTERIA                  CO     33063408416
B6B44216724B28   SARAH           KABIA                     MD     81046872167
B6B44587672B62   MARISSA         METZLER                   CO     90010145876
B6B44A16876B27   EDUARDO         VALDEZ                    CA     90012140168
B6B45983893727   MARTIN          RAN                       OH     90000779838
B6B4598685B396   AMBER           THATCHER                  OR     44504589868
B6B463A543B335   MARCO ANTONIO   LOOM ZAPATA               CO     90012093054
B6B46471561963   SANI            MAROOKI                   CA     90004964715
B6B46481755953   LUIS            SANCHEZ                   CA     90011034817
B6B4652A95B396   ERIKA           RAMOS                     OR     90007425209
B6B46538191579   GRISELDA        ROMERO                    TX     75047705381
B6B46946272B69   TEGAN           STUBBLEFIELD              CO     90011009462
B6B4718914B257   PAUL            CLARK                     NE     90014081891
B6B4745655B265   EUGENIA         HOWARD                    KY     90003324565
B6B48214657552   TERESA          WITT                      NM     90009832146
B6B48246531688   JAKALE          EARSERY                   KS     90004362465
B6B483A265133B   JASON           MESSER                    KY     90008043026
B6B4856792B271   OSCAR           TRAVILLIAN                DC     90012935679
B6B488A9776B27   ERENDIRA        ROSALES                   CA     90013078097
B6B4949345B265   YENIFER         MOREJON                   KY     90011954934
B6B49A81876B27   LUPE            CAMACHO                   CA     90014820818
B6B5165355B396   JOSHUA          KOEHLER                   OR     44530016535
B6B5221294B576   DEYSI           CORTEZ                    OK     90000622129
B6B52828893752   QUINA           LAWRENCE                  OH     90012378288
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2205 of 2350


B6B52A17A93758   DANIEL       SARCENO                      OH     90006570170
B6B53262A93745   KASSANDRA    MEDDOCK                      OH     90009272620
B6B5369312B271   SHEDONNA     JORDAN                       DC     90002506931
B6B53A64857565   FREDDY       ESPINO                       NM     90011360648
B6B55221891871   LATONYA      BUTLER                       OK     90009692218
B6B55351255953   BRENDA       TORRES                       CA     90010073512
B6B5542A872B69   EFRAIN       GALVAN                       CO     90010504208
B6B5591832B271   CYNTHIA      BASSIL                       DC     90011899183
B6B55A9515B265   KELSEY       THOMAS                       KY     90014360951
B6B5634AA72B69   DMITRI       STONE                        CO     33061423400
B6B5645465B396   REBECCA      RIDER                        OR     44530024546
B6B5686747B387   RENEE        POWELL                       VA     90010518674
B6B568A9776B27   ERENDIRA     ROSALES                      CA     90013078097
B6B57478A36B98   FAUSTINO     AVALOS                       OR     44569034780
B6B57976772B62   JOSEPH       CUNNINGHAM                   CO     90013249767
B6B57A21676B27   ARIANA       MILIAN                       CA     90012140216
B6B5872A955972   JAIME        CRUZ                         CA     49015797209
B6B5894A255953   VICTOR       CRUZ                         CA     90013389402
B6B58999291324   ANTHONY      EDWARDS                      KS     90013279992
B6B5972945B396   NICHOLE      DOWNS                        OR     44530027294
B6B59939191579   JOSEPH       JONSTON                      TX     90015139391
B6B6128A857133   RONALD       MC GRILL                     VA     81095082808
B6B61577885938   JOE          GRAF                         KY     90011255778
B6B61695272429   TARA         FRANK                        PA     90012476952
B6B62345255953   JOSE         VILLA                        CA     90010943452
B6B63558A76B27   PEDRO        OJEDA                        CA     90014275580
B6B64562543589   AMANDA       HOVEY                        UT     90012845625
B6B6477A593745   CHRISTINA    KENNEDY                      OH     90013647705
B6B64A37A76B27   GABRIEL      CARDOSA                      CA     90007770370
B6B65319331639   JESSE        NICHOLS                      KS     22018003193
B6B6595AA93758   CORY         MITCHELL                     OH     90014609500
B6B662A1241286   ELIZABETH    SHUCK                        PA     51008812012
B6B66337893727   PAYGO        IVR ACTIVATION               OH     90009653378
B6B6699225B265   JAMES        MADORS                       KY     90010579922
B6B669A5831639   CLARK        GODSY                        KS     22057979058
B6B6815944B229   BOB          NAPRAVNIK                    NE     27086841594
B6B68598293745   MELISSA      BEHRENS                      OH     90013385982
B6B685A484B552   BONIFACIO    SOLIS                        OK     90001665048
B6B68946791579   ERICKA       ROMO                         TX     90010909467
B6B69621293745   DAVID        GILBERT                      OH     64567826212
B6B69814843589   JUAN         CASTRO CORTEZ                UT     90013448148
B6B69846424B64   FATIMA       ESPINOZA                     VA     90013228464
B6B6B31175B265   TAMMY        LEONHARDT                    KY     90009683117
B6B6B636793746   AYMAN        LATIF                        OH     90012376367
B6B6BA86293758   MARTHA       MACHADO                      OH     90011790862
B6B71918643589   JESSICA      HERZOG                       UT     90014859186
B6B71A4514B52B   ROBIN        LOPEZ                        OK     90013550451
B6B71A9615B265   LYNNETTE     DAKE                         KY     68098800961
B6B7224985B396   FRANK        VIBOCH                       OR     44517152498
B6B72626591579   RAUL         GARCIA                       TX     75022366265
B6B73263476B27   MARIA        JOSE                         CA     90004012634
B6B73841972B69   EDUARDO      LOPEZ                        CO     90013988419
B6B73867691579   BARBARA      SPANGLER                     TX     90009428676
B6B74382372B62   LEO          GARCIA                       CO     90009673823
B6B74A92955953   MARIO        SALAS                        CA     90014850929
B6B75625372B62   DAVID        TATE                         CO     90000646253
B6B75635943589   ELIZABETH    SMITH                        UT     31087556359
B6B75745154B3B   ALTON        CRIDER                       VA     90002747451
B6B76132336B98   ARACELI      VILLAFUERTE                  OR     90014861323
B6B76496361924   ALEX         SOTO                         CA     90009844963
B6B768A3384327   JUANA        HERNANDEZ                    SC     90013898033
B6B77377791574   EDUARDO      URENA                        TX     90013963777
B6B7738A493752   EMILY        CARTER                       OH     90005333804
B6B779AA955953   ERIC         HERNANDEZ                    CA     90014479009
B6B7846142B271   TRINA        BADGETT                      DC     81045494614
B6B7B298233635   SHANIKA      MASH-SHERIDAN                NC     90006432982
B6B7BA55942332   RANDALL      SIMMONS                      GA     90013390559
B6B8146825B265   GEORGE       KIRBY                        KY     90012464682
B6B82168576B27   ROLANDO      MATEO PEDRO                  CA     90014861685
B6B8217335134B   APRIL        JONES                        OH     90008071733
B6B827A365B265   YVONNIE      GRADY                        KY     68032877036
B6B82A99691579   STEVEN       NAJARA                       TX     90010330996
B6B83812A85927   JOHN         POWELL                       KY     90007628120
B6B84566893752   SEAN         JARRELLS                     OH     64554065668
B6B845A3491579   GISSELLE     TORRES                       NM     90011525034
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2206 of 2350


B6B84614593727   GARRYON       MCCLURE                     OH     64591366145
B6B84893993758   AERIN         LOGAN                       OH     90014858939
B6B8512A955953   CLAUDIO       MONTERO                     CA     90014851209
B6B85216885927   WENSESLAO     CURIEL                      KY     67025532168
B6B86A4A176B27   NARCISO       RUIS                        CA     46042840401
B6B87729531688   SIDNEY        FRANKLIN                    KS     22013497295
B6B8795117B483   JOSEPH        NICHOLS                     NC     11020419511
B6B88199785927   CASSANDRA     PRESTON                     KY     90008601997
B6B881A625B396   HEATHER       PEARCE                      OR     90003391062
B6B8832945B265   OLLISHA       EASLEY                      KY     90013483294
B6B89145291579   ELAYNE        MORGAN                      TX     90014151452
B6B8B464372B69   LATISHA       TRUJILLO                    CO     90014804643
B6B8B655372B62   VILMA         ESTELA CHANTA               CO     90015186553
B6B8B815393775   ARRON         MILLER                      OH     90014238153
B6B8B87733363B   KIMBERLY      LEE                         NC     90006558773
B6B8BA7345B585   ALYSHIA       RAEL                        NM     90010080734
B6B91527831688   MILDRED       HALL-RICKS                  KS     22086205278
B6B9237835B396   LINA          LAUN                        OR     90015323783
B6B92471176B27   DONNA         WISCARSON                   CA     46013494711
B6B929A7793758   SARAH         GROSS                       OH     90014859077
B6B94174193752   MARY          PATTERSON                   OH     64509671741
B6B957A932B271   TAWANNA       LEACH                       DC     90002837093
B6B96178791579   JANET         LASCANO                     TX     90004721787
B6B96182647839   PHILIKEIA     BOWENS                      GA     90008031826
B6B96398893745   DENISE        WOODFORK-SMITH              OH     90012923988
B6B96842776B27   JUAN CARLOS   RAYO                        CA     90013078427
B6B97134555953   HELIS         DE LOS SANTOS               CA     90014851345
B6B9723865B396   ASHLEY        JIMENEZ                     OR     90011062386
B6B97348572B62   DANIEL        HERNANDEZ                   CO     90012123485
B6B97582384373   DANAEL        THERAN                      SC     90014165823
B6B9826517B387   ROGELIA       ARNEZ                       VA     81096912651
B6B98673224B28   DARRIN        RILEY                       DC     90015066732
B6B98888193745   JULIE         POWELL                      OH     64567398881
B6B9938567B851   CRISTHIAN     JAMISON                     IL     90015503856
B6B99677543589   TED           ARCHULETA                   UT     90008386775
B6B99A94A72B62   ALEXZANDRA    ROBLES                      CO     90011490940
B6B9B844143589   HUGO          ZEPEDA                      UT     31011378441
B6BB1512355972   MICHELLE      CALHOUN                     CA     90013385123
B6BB1848776B27   CRISTIN       NICOLAS                     CA     90014808487
B6BB2147161941   ARANSAZU      MONTANO                     CA     90012471471
B6BB2223472B21   BRUCE         WAYNE                       CO     90014092234
B6BB2864293727   SCOTT         KOOB                        OH     90012098642
B6BB3751772B69   ANDRE         MCDONALD                    CO     90010997517
B6BB4936893727   CHANDA        BORKO                       OH     90007879368
B6BB5552461976   DILOVAN       DAWOOD                      CA     90007315524
B6BB5785193745   CRYSTAL       BLAZER                      OH     64500567851
B6BB6366531639   CHRISTOPHER   SMITH                       KS     90002183665
B6BB739122B271   CARLOS        GUZMAN                      DC     90013633912
B6BB7436A72B69   BRIAN         BUELL                       CO     90014754360
B6BB8333743589   DENNIS        BANFORD                     UT     31037163337
B6BB8469793727   AFTAN         DOTSON                      OH     90001314697
B6BB9468385927   SHARON        ADAMS                       KY     90014974683
B6BBB848776B27   CRISTIN       NICOLAS                     CA     90014808487
B7111447772B69   PAMELA JEAN   CARRIER                     CO     90012584477
B7111619893752   CHERYL        CANTRELL                    OH     90007836198
B7111964493751   LINDSAY       COPPOCK                     OH     90012539644
B7111A8625B396   OLGA          MARTINEZ                    OR     90010760862
B7112612172B69   TOBY          GALVAN                      CO     90012606121
B7113472A55953   MARIA         VARGAS                      CA     90015114720
B711434855B265   LORETTA       BREWER                      KY     68005363485
B7114514993758   RYAN          STUBBLEFIELD                OH     90000565149
B711467127B489   LAURA         GUITIERREZ                  NC     90010606712
B711598433B396   EMBERT        THOMPSON                    CO     90012309843
B7116177155953   CHELSEA       SEALAND                     CA     90012771771
B7117A47431639   ERNIE         GARZA                       KS     22061470474
B7118132791579   FIDEL         FERNANDEZ                   TX     90000771327
B7118149485927   ARIK          CROWE                       KY     90008381494
B7118151972B69   KEVIN         WRIGHT                      CO     33086591519
B7119517A93752   WILLIE        STUDSTILL                   OH     90014515170
B7119861461429   ALEXANDRIA    PECK                        OH     90014178614
B711B319581642   RICARDO       CHATMAN                     KS     90014783195
B711B45145B396   HANNAH        MOORE                       OR     90000794514
B711B975372B69   YURIPSY       MUNOZ                       CO     90013229753
B7121569671932   ROBERTA       RODRIQUEZ                   CO     90003775696
B7121866A55953   ADRIAN        PICENO                      CA     90014708660
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2207 of 2350


B712222682B271   MATOKA       GREEN                        DC     90014872268
B7122249372B62   ELENA        BELTRAN-MEDINA               CO     90008472493
B7123196555953   SEAN         MOODLE                       CA     90012771965
B7123641147832   TIAWANA      WASHINGTON                   GA     90010886411
B7123A5A691579   EDGAR        RAMIREZ                      TX     90009670506
B7123AA4581642   JACLYN       BROOKSHIER                   MO     90014790045
B7124463551326   RENATE       VON HOLLE                    OH     90012674635
B7124742891579   NONANNA      FINLEY                       TX     75041647428
B712533A471921   TONY         BRASWELL                     CO     32046863304
B7125372485927   MEGAN        DAWSON                       KY     90002123724
B712592A893745   BRANDI       MORRISON                     OH     90014739208
B7125A25472B62   JESSICA      SANCHEZ                      CO     90011490254
B7125A65A91592   LORENA       GALINDO                      TX     75084980650
B712663A641961   NASHELLE     MITCHELL                     OH     90012836306
B7126A1255B224   SHEANDAH     ALLGOOD                      KY     90009380125
B7127314893745   PAYGO        IVR ACTIVATION               OH     90014863148
B7127442131639   GERARDO      MONTANEZ                     KS     22045534421
B7127472A55953   MARIA        VARGAS                       CA     90015114720
B7128385391257   NATASHA      CAMERON                      GA     14581053853
B712899975B265   ANGELA       LAFAILLE                     KY     90000669997
B71293AAA72B69   FRANCISCO    ASCGNICIO                    CO     90010923000
B71299A3636B98   SONIA        HALLUCKY                     WA     90015389036
B712B238272B69   ISSIAC       TAFOYA                       CO     90007962382
B712B86385B396   SONIA        GENCHI                       OR     90010788638
B7131278591579   ELIZABETH    LOPEZ                        TX     75093472785
B713133A285927   EFREN        LEON                         KY     90014863302
B71317A3243589   CONSUELO     MANZO                        UT     31079247032
B7131877751391   MELODYANN    ORR                          OH     66040708777
B71319A2993758   ALEX         NUNERY                       OH     64501979029
B713227A972B62   MARIA        VILLALOBOS                   CO     90008982709
B7133442291579   RITA         RIOS                         TX     90008584422
B7133813441288   BRANDI       SHAFFER                      PA     90004618134
B7133857472B69   DANIEL       TRIONFERA                    CO     90012918574
B7133A6A28B63B   ANGEL        JONES                        TX     90014710602
B713452247B12B   ELDIN        IBRHINOVIC                   ND     90013785224
B7134641255953   TOMMY        GARCIA                       CA     90013086412
B7134A11291257   DEVAN        CHERRY                       GA     14511290112
B7135225493752   ISAIAH       AARON                        OH     90010172254
B7135623972B3B   LUCIANO      FLORES-VERA                  CO     90010426239
B713575138B151   JEANINE      ALLRED                       UT     31044077513
B7135863485927   JAMIE        DEARINGER                    KY     67053988634
B713649197B429   GILBERT      JOHNSON                      NC     90009854919
B7136675A72B27   ANTONIO      CASTILLO                     CO     33030976750
B713678442B889   SIERRA       TESEO                        ID     90007687844
B7139117336B98   BRANDEE      CRESAP                       OR     44539091173
B7139769493727   DANIEL       HURST                        OH     90014777694
B71399A3772B62   JOSE         MELARA                       CO     90010299037
B713B31AA93752   JODI         WILLIAMS                     OH     90014613100
B713B337372B62   ESPERANZA    MARTINEZ                     CO     33087563373
B713B469585923   DAVID        FRITCHER                     KY     90013754695
B7141182155953   MARIA        RAMIREZ                      CA     90010751821
B71415A134435B   DONALD       MCKENZIE                     OH     90014405013
B71423A9243589   MICHELLE     ASHLEY                       UT     90014843092
B7142A1685B396   MICHAEL      BRUCE                        OR     90014500168
B7142AA415B265   MARRY        ROBINSON                     KY     90012100041
B7143941481642   VICKIE       MERSMAN                      MO     90012479414
B7145964593745   TERESA       KUNS                         OH     90014759645
B71461A9831639   MITCHELL     POST                         KS     90015321098
B7146394A72B69   NANCY        CHAMBI                       CO     33004343940
B71467A494126B   JAMIE        POUCH                        PA     90007977049
B714731665B571   WILLIAM      GRANDSTAFF                   NM     90009053166
B7148335A3B352   WILLARD      EVANS                        CO     90001523350
B714882295B265   EDWINA       BASEY-ANDERSON               KY     90013938229
B7149523A2B271   FLORENCE     NDI                          DC     90011435230
B714B486A85665   AMELIA       MARISCAL                     NJ     90011434860
B714B4A8371966   ALICIA       OLIVAS                       CO     32087304083
B714B52A493727   MICHAEL      BILLINGSLEY                  OH     90012745204
B714B847172429   RICHARD      DITTMAN JR                   PA     90003048471
B714B866991579   RHIANNON     ASH                          TX     75012028669
B715123285B265   MICA         HAWKINS                      KY     90012292328
B715158915B396   TAMARA       WILLIAMS                     OR     44529275891
B715239485B265   MAY          HALE                         KY     90014563948
B7152538655953   ARACELI      JIMENEZ                      CA     90004195386
B7152666472B69   ANA          TREVINO                      CO     90008056664
B7152698843589   ORIBIO       EVA LUZ                      UT     31006256988
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2208 of 2350


B7152A24A93752   JOHN         BURNS                        OH     90013070240
B7153492892871   ANNETTE      CASTILLO                     AZ     90012984928
B715369A893752   CIPRIANA     MARTINEZ-TREJIO              OH     64528606908
B7153A39693745   LAWRENCE     CARTER                       OH     64519940396
B71545A462B22B   IYANNA       TORRES                       DC     90011125046
B715492585B396   KEVIN        KLENKE                       OR     90014389258
B71551A522B271   CARLOS       ORELLANA                     DC     90012511052
B7155256693758   PAMELA       FINLEY                       OH     90011922566
B715528125B396   ANDY         MAES                         OR     90001002812
B71553A5A93745   CHEYENNE     GRIMM                        OH     90011793050
B7155493955953   HECTOR       BARRON                       CA     90014204939
B7155855291257   BRIAN        DUFFY                        GA     14512048552
B7156324393745   TERESA       STEVENS                      OH     90014733243
B71572A1524B64   ELIAS        SANCHEZ                      VA     90012802015
B715819962B271   RE QUAN      DAVIS                        DC     90015381996
B7158538493727   TIMOTHY      HOERNER                      OH     90015325384
B7159355155972   CARMEN       RODRIGUEZ                    CA     90002723551
B7159541693745   WILLIAM      TAYLOR                       OH     90000475416
B7159799677556   ROBERT       EFFENBERGER                  NV     90004687996
B715B542A91579   SURY         MOLINAR                      TX     75032505420
B715B59A972B69   GRISELDA     VILLEGAS                     CO     90012885909
B715B749772B62   SUSAN        JENNINGS                     CO     90015127497
B716122A576B71   ERIK         GUNDERSEN                    CA     90005972205
B7161513655953   LETICIA      BOOKER                       CA     90005055136
B7162541693745   WILLIAM      TAYLOR                       OH     90000475416
B7162632893727   STEPHEN      BIVENS                       OH     90013516328
B716265A155956   GUADALUPE    SERVIN                       CA     90004126501
B71626A255B396   NATASHA      GOODELL                      OR     90015026025
B7163315455953   ARNOLD       JARAMILLO                    CA     90000563154
B7164452672B69   RODOLFO      SANTOS CHAVEZ                CO     33063734526
B71649A6461975   BOBBI        CAHILL                       CA     90001539064
B716522687B489   OZLEM        UGUR                         NC     90013492268
B7165471793727   RUSTY        TYREE                        OH     90014354717
B716591822B271   DEBORAH      WILLIAMS                     DC     81016609182
B716665742B638   CHAPAS       NAVARRO                      WA     90015356574
B7166A86193727   ROBERT       KOZEE                        OH     64523340861
B7167577731639   ROGER        COTTON                       KS     22070255777
B7167869831428   KELVIN       PHILLIPS                     MO     90009878698
B7169499743589   ROBERT       GONZALES                     UT     90011984997
B7169938572B62   MADELCARME   HELGUERA                     CO     33001879385
B716B238943589   ALFREDO      RODRIGUEZ                    UT     90011572389
B716B255A93745   THEREINA     THOMPSON                     OH     90014782550
B716B558293752   DANIKA       BARKER                       OH     90011075582
B717163237B432   GEORGE       HOOD                         NC     90008486323
B7171846393745   DUSTIN       MILER                        OH     90013748463
B7171A7845B265   ERIN         ASHLEY                       KY     90005500784
B7173181691579   GLORIA       MACIAS                       TX     90014091816
B7173389493758   DONNIE       HARRIS                       OH     64596983894
B717349552B271   TIFFANY      HARRIS                       DC     90011874955
B717351869182B   TOM          TILLY                        OK     21080755186
B7173939772B69   VICTOR       CESPEDES                     CO     33098739397
B717418285B265   JONATHAN     TACKETT                      KY     90009361828
B7174433843589   BLAIRE       SKINNER                      UT     90015124338
B7174723872B62   KARA         COLLINGE                     CO     90011597238
B7175467643589   CESAR        GUZMAN                       UT     90015134676
B717555625B265   DAILYN       CRUZ                         KY     90002335562
B717574A97B489   LETIA        MORRET                       NC     90011807409
B7175A61381642   DONOVAN      WHITE                        MO     90011680613
B7176179793758   BILLY        GAMBREL                      OH     90014011797
B717673825B265   JOHNATHAN    HACKETT                      KY     90015167382
B717674997B483   BELINDA      KINGSTON                     NC     90013497499
B717687A57B34B   ANGELA       PORTILLO                     VA     90005678705
B7176955785927   DIANA        CASON                        KY     90013289557
B7177278191579   ISMAEL       QUINTANA                     TX     75006122781
B7177A3325B396   CASEY        COLE                         OR     90014650332
B7178866791579   ADAM         GARZA                        TX     75037898667
B7179469455953   STEVEN       TORALEZ                      CA     90002534694
B7179711A93752   STERLING     BLAIR                        OH     90011167110
B717979A35B396   JERAD        KIMBALL                      OR     90013787903
B7179879181642   TEKISHA      WATSON                       MO     90000958791
B7179A36331639   NATALIE      SWITZER-HAULE                KS     90004200363
B717B895585927   MELLISA      BARKLEY                      KY     90010948955
B7181475A7B489   HECTOR       SOLIS                        NC     11055444750
B7181759A55953   LATANYA      IYAMU                        CA     90010877590
B7182459A43589   MARK         STROCK                       UT     90005504590
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2209 of 2350


B71825A4A31639   ANGIE         HELPER                      KS     22061305040
B718281275B265   STEVEN        WOOD                        KY     90010968127
B7183961381642   PIERRE        RENE                        MO     90008939613
B7183A97A72B69   JEFF CARL     SORCE                       CO     90015120970
B71845A8181642   ALEX          ACOSTA                      KS     90014785081
B7184963491579   LESLIE        SOLIS                       TX     90013349634
B7185279455953   MARGARITA     ZEPEDA                      CA     90010362794
B7185755543589   JESUS         GARZA                       UT     90015127555
B7186279455953   MARGARITA     ZEPEDA                      CA     90010362794
B7186313324B64   JERRIANNE     ANTHONY                     DC     90013463133
B7186755543589   JESUS         GARZA                       UT     90015127555
B7186915572B62   MARIA         MARTINEZ                    CO     90002199155
B7187489A31688   JULIE         MIDDLETON                   KS     22062934890
B7187A6539182B   RODERICK      BROWN                       OK     21016080653
B7188676291576   AURELIA       NEVAREZ                     TX     75015316762
B7188AA8A93745   NATASHA       CANTRELL                    OH     90014740080
B718936125B265   TONJA         STEPHENS                    KY     68090443612
B718B1A3172B69   MERCEDEZ      LOPEZ                       CO     90014061031
B718B31685B265   MAHOGANY      FANT                        KY     68025923168
B718B9A3972B69   MARYVEL       MOLINA                      CO     90015109039
B718BA73193752   RUSSELL       LONG                        OH     90014910731
B719156675B265   KAMISHA       JONES                       KY     68043195667
B7191691A93758   MATTHEW       SEARLS                      OH     90007226910
B71916A5A55953   LEANN         MEDINA                      CA     90006946050
B719269617B32B   HAROLD        MORENO                      VA     81040166961
B7192992891582   GLORIA        SANCHEZ                     TX     90014889928
B7193343833683   ALEYAH        BLACKWELL                   NC     90014693438
B7194168681642   MACIAS        MARTIN                      KS     29092351686
B71952A6755953   ERIC          LOPEZ                       CA     90007032067
B7195343431639   VERONICA      GARCIA                      KS     90014293434
B71959A122B945   DANIELLE      MACHADO                     CA     90014839012
B7196496972B69   DANIELA       LARA                        CO     90012724969
B7196749631688   FREDGRICO     DAVIS                       KS     90012427496
B7197187143589   BUFFY         COONS                       UT     31016301871
B7197536172B67   SAMUEL        MAHNKE                      CO     33031545361
B719762642B271   GILDARDO      SALVADOR                    DC     81097706264
B7197A38A93745   GINGER        ADKINS                      OH     90014740380
B7197A65293758   JENELLE       BLACKWELL                   OH     90010010652
B719894382B271   ROBIN         DEAHL                       DC     81090709438
B7199115393727   FANTESHA      GOTINBERG                   OH     90013061153
B719921A393745   ANGELA        SMITH                       OH     90015222103
B719969625B396   AARON         SACCHI                      OR     90007616962
B7199788A4126B   DAMIAN        GORALSKI                    PA     90012957880
B7199931785927   LEANGELA      DRAKE                       KY     67076289317
B719B2AA285927   CHRISTOPHER   DALTON                      KY     90013352002
B71B12A7885927   SAMANTHA      ADAMS                       KY     90011842078
B71B1876793758   STANLEY       GOLOMSKI                    OH     90013708767
B71B1A18143589   JAMEY         TEMPLE                      UT     90012400181
B71B1A2175B527   MICHELLE      ARMIJO                      NM     90011080217
B71B213875B396   AMELIA        CHAVEZ                      OR     90006541387
B71B2772972B69   KIMBERLY      SABLAN                      CO     33014387729
B71B3217885927   HOPE          GEORGE                      KY     90011022178
B71B4428193727   KEVIN         WARNER                      OH     90012934281
B71B5477991579   FABIOLA       LARA                        TX     90014844779
B71B5A6A772B62   ANDREA        URIOSTE                     CO     90014630607
B71B6A35591579   SEBASTIAN     MARTINEZ                    TX     90011920355
B71B79A822B271   WANDA         RIDDICK                     DC     81057779082
B71B825A491579   VICTOR        CORRAL                      TX     75091172504
B71B8319581642   RICARDO       CHATMAN                     KS     90014783195
B71B8685A57564   MELINA        GAYTAN                      NM     90012476850
B71B8789881656   ANTHONY       DAVIS                       MO     90009627898
B71B9319581642   RICARDO       CHATMAN                     KS     90014783195
B71B9532772B62   KATE          BATTAGLIA                   CO     90012405327
B71B966745B396   GLORIA        BOSSY                       OR     90014126674
B71B9792574B5B   GINGER        OTT                         OH     90015377925
B71BB92A443589   ADRIENNE      HATCH                       UT     31063329204
B71BB99745B346   ERIK          SANDERS                     OR     90003559974
B7211182393745   ARTHUR        RAGLAND                     OH     90014741823
B7211652155953   JIM           BONE                        CA     90015236521
B7211666272B69   JARED         DOWNY                       CO     90015026662
B7212361172B62   AUTUMN        WHEELER                     CO     90009593611
B7213163655953   BERTHA        FRANCO                      CA     48092281636
B7213557A93727   RAMIRO        SANCHEZ                     OH     90009755570
B7215668872B62   ADRIAN        ONTIVEROS                   CO     33023376688
B721582147B12B   MATTHEW       STEFFENS                    ND     90015228214
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2210 of 2350


B7215A71693727   MITCH         NORMAN                      OH     64539520716
B7216561A5B265   DERRICKECIA   COOPER                      KY     90014875610
B7216771272B62   ISAIAH        TRUJILLO                    CO     90013487712
B7216AA1631639   JUANA         LOPEZ                       KS     90013660016
B721735A831639   TIMOTHY       BROYLES                     KS     22092643508
B7217429185927   ERICA         MITCHELL                    KY     67034074291
B7217445785927   CHRISTOPHER   PERDUE                      KY     90015164457
B72184AA193745   CHAD          VANBEBER                    OH     90014744001
B7219124385927   JEANA         JONES                       KY     67090751243
B7219294793752   STEFANIE      BEVARD                      OH     90008772947
B721936A543589   PAYGO         IVR ACTIVATION              UT     90011823605
B7219532393727   JAVON         WILSON                      OH     90009145323
B721993267B34B   BRISALA       RODRIGUEZ                   VA     81034939326
B721BA19993727   BRANDY        MCELRATH                    OH     90004560199
B7221297472B69   KATHERINE     VILLEJO                     CO     90000342974
B7222623693745   KANIKA        ELDER                       OH     90010516236
B7223592281642   MARK          EAKINS II                   MO     90014785922
B7223647293745   CRYSTAL       WARREN                      OH     90014746472
B722391482B271   JOSE          MORENO                      DC     90012519148
B722453782B271   MARCELO       RIVERA                      DC     81059555378
B7225689791579   CARLOS        ESCARENO                    TX     90011956897
B7225714393745   JOSHUA        WARREN                      OH     90014747143
B7226186693752   JENNIFER      SURBAUGH                    OH     90012341866
B722661A593758   RACHAEL       SMITH                       OH     90011056105
B72268A9385927   AJ            ROMO                        KY     90009858093
B7226A9AA76B31   REBEKAH       HOLLOWAY                    CA     90009860900
B7227126A91324   NIDA          ROBERTS                     KS     29069391260
B7227328272B62   STEVEN        SMITH                       CO     33070483282
B7227851291582   JESUS         PEREZ                       TX     90000298512
B722852777B489   ROCIO         SANCHEZ                     NC     11043795277
B7228646693752   MARIA         ROBINSON                    OH     64520706466
B722879A185927   JENNIFER      BURTON                      KY     67010067901
B722B142A93745   BONNIE        DANIEL                      OH     90002271420
B722B397455953   NICHOLAS      JORDAN                      CA     90014963974
B7231338791579   RAMON         RODRIGUEZ                   TX     75048363387
B723138787B489   ELOHOR        ONOJEGBE                    NC     11038783878
B7231934455953   SHANEICE      JOSEPH                      CA     90007039344
B7232413755948   JAVIER        ROLDAN                      CA     90004614137
B7232497443589   ANDREW        DELIUS                      UT     90011854974
B723285582B841   AUTUMN        TRULSON                     ID     90014138558
B723288A931639   MARIBEL       ROMO                        KS     90008088809
B723352562B841   SOLOMON       KAHSAY                      ID     90014485256
B723358282B271   DECORIA       MARTIN                      DC     90015015828
B7233A79931639   CARL          WILLIS                      KS     90003010799
B723496A15B396   BRIAN         CHADWICK                    OR     44548409601
B723522A35B561   MICHAEL       MCCALMONT                   NM     90013042203
B7235A72591579   RACHEL        MATTHAEI                    TX     90004310725
B723647952B239   TIFFANI       LANG                        DC     90000894795
B723711A881642   BRANDY        WEBB                        MO     90014791108
B723783475B548   NANCY         BRITT                       NM     90003168347
B7238329755953   RAUL          RAMIREZ                     CA     90008893297
B7238A7475B396   JENNIFER      PERKINS                     OR     90014350747
B723927A885927   NATHAN        GABBARD                     KY     90010972708
B723974255B396   MARIIA        STEIN                       OR     90013687425
B723989645B265   LATERON       HARGROVE                    KY     90005568964
B723B417A41267   CARMINE       BELLINI III                 PA     51093744170
B723B5A4991579   MARIA         FELIX                       TX     75050475049
B723B772485927   NICOLAS       FOSTER                      KY     90012937724
B723B85A15B396   TRAVIS        STONUM                      OR     90013018501
B723BA12955953   NOEMI         FLORES                      CA     90011630129
B7241694631639   LAJOYCE       DIXON                       KS     90015146946
B724169A45B25B   MARY          ESTON                       KY     90014616904
B724171762B271   MARY          BROWN                       DC     90012557176
B7242A6489286B   ROBERT        ROMO                        AZ     90015440648
B7242A9AA33675   CRISTABEL     PEREZ                       NC     12010000900
B7244164431639   TONYA         FISHER                      KS     90000621644
B724441152B271   JACQUELINE    THOMPSON                    DC     90012974115
B724461A391257   CHARIESE      MCCOY                       GA     14549816103
B7244673272B62   CHRISTINA     LUCERO                      CO     90004776732
B7245383955972   EIVY          MARTINEZ                    CA     90005923839
B7245A75393727   ALEXA         RAYBUCK                     OH     90014610753
B724688382B271   TROY          SMILEY                      VA     90013658838
B72474A957B489   CONSUELO      ASCENCIO                    NC     90007034095
B724843A12B271   YVETTE        HUTCHINSON                  DC     90001934301
B7248565372B84   ANABEL        SALGADO                     CO     90000995653
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2211 of 2350


B72488A3893758   MICHELLE        ADDUCI                    OH     64592408038
B7248939A55953   MIGUEL          ESQUIVEL                  CA     90014629390
B724992392B271   JUMOKA          BISHOP                    DC     90014079239
B724B323A5B396   ISA             ISLAM                     OR     44595803230
B724B786471921   THOMAS          ARAGON                    CO     90001057864
B7251849271921   RACHEAL         JACKSON                   CO     90009728492
B7251A1975B569   FRANCIS         PHILLIPS                  NM     90012220197
B7253286693752   STEVEN          MCCAREL                   OH     90013102866
B7254935555953   BERNADETTE      PEARCE                    CA     90008729355
B7254A18731639   MELLISSA        HOBBS                     KS     22009330187
B7255235491579   VICTORIA        MEDINA                    TX     90005642354
B7255A6137B489   ANDREINA        SMAWLEY                   NC     90015170613
B7256A58A36B98   MAX             AWESOME                   OR     90012840580
B7257263A7B32B   BLANCA BELEN    LEMUS                     VA     90008102630
B7257666893752   CHARLEEN        BUTLER                    OH     90012746668
B725797227B851   LUIS ALBERTO    CAMPECHANO                IL     90015059722
B725811315B396   RICHARD         POPE                      OR     44551741131
B7259116A7B489   TRACE           RIGGAN                    NC     11000911160
B7259334272B69   DUSTIN          FRITTS                    CO     90012563342
B725989585B547   RAUL            MENDOZA                   NM     90000938958
B725B831993727   AIMEE           UWINEZA                   OH     90011628319
B7262A62572B69   TROY            WARREN                    CO     33004950625
B7262AA7581642   NICOLE          FRAZIER                   MO     90005150075
B7263369185927   SHAY            DOBSON                    KY     90010333691
B7263829743589   JUSTIN          STREEPER                  UT     90004078297
B7264172393758   NAASEH          HENDERSON                 OH     90004421723
B726473474B521   CAMERON         STEVENSON                 OK     90010417347
B7265A4282B256   BRYAN           FERNANDEZ                 DC     90000610428
B7266949193727   AMBER           COMBS                     OH     64544509491
B7266A49A7B489   OSCAR           CORTES                    NC     90011810490
B726748A731639   CONSUELA        SANDERS                   KS     90014714807
B726789225136B   CHRIS           OSBORN                    OH     66014718922
B72679A3472B69   TABITHA         ATKINS                    CO     90012679034
B726826A285927   SONYA           HUMPHREY                  KY     90011342602
B7268376A93752   ARICA           HOBSON                    OH     90015203760
B7268875755953   CINDY           ESCAMILLA                 CA     90012518757
B7268948272B62   DAVID           MAESTAS                   CO     90013869482
B7269284A72B69   EVA             MORALES DE LA ROSA        CO     90014602840
B7269431172B69   ANDREW GERARD   PETERS                    CO     90013284311
B726973653B381   VICTORIA        MAESTAS                   CO     90008767365
B726983A772B62   ROSA            VILLA                     CO     33039138307
B726B54942B244   QUINTON         EVANS                     DC     90007945494
B7271388A93745   TRACI           EATON                     OH     64553993880
B7271621191579   ENRIQUEZ        HILDA                     TX     90009236211
B7271675372B69   SABRINA         OLIVA                     CO     33008156753
B7271766333643   LUIS            ORTEGA                    NC     90013477663
B7271A5575B585   EVELYN          ROMERO                    NM     35059310557
B7272147155953   RENE            BRIZUELA                  CA     90013321471
B7272439A93727   MELISSA         MILLER                    OH     90011034390
B72725A4672B69   MARIA           ESCOBEDO                  CO     33024755046
B7273524672B56   MARIANNE        WINDROW                   CO     33034375246
B7273565793758   JAN             JONES                     OH     90012645657
B7273637385927   COSSONDRA       FREEMAN                   KY     67048446373
B72751A422B271   KIM             DAVIS                     DC     90011131042
B727556745B265   KAITLIN         WELLS                     KY     90015435674
B727624A393745   KIM             LOOKABAUGH                OH     90015052403
B7276442293727   JOSECRUZ        MEDINA                    OH     90007814422
B7276557293758   KITTEN          MORREL                    OH     90008445572
B72773A7572B62   PIVEN           HUGHES                    CO     90012723075
B7277A9A87B489   SALOMON         BARRERA                   NC     90011810908
B7278175755953   ALMA            SALGADO                   CA     90012231757
B7278198881642   KAMIE           TOLLIVER                  MO     90014791988
B7279149381642   MICHELLE        KATHLEEN                  MO     90007271493
B7279261472B81   CHRISTIAN       AXTELL                    CO     90010992614
B7279549891257   OMAR            WASHINGTON                GA     14584545498
B727977732B271   DEVAUGHN        JONES                     DC     90012717773
B7279844231639   ASHLEY          MOON                      KS     90014238442
B7281298861971   JORGE           RODRIGUEZ                 CA     90010022988
B7281869433B51   ANTWAIN         VINSON                    OH     90014228694
B7282256A72B69   MANUEL          MOSQUEDA                  CO     33077982560
B7283472A55953   MARIA           VARGAS                    CA     90015114720
B7283834172442   ATTRICIA        KERNS                     PA     51013798341
B728391929182B   IAN             KIRK                      OK     90005279192
B7283923985927   LANISA          BLANDIN                   KY     90009009239
B7284186A5B265   TEVIN           HAYDEN                    KY     90002681860
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2212 of 2350


B7285499685927   NORA          WITT                        KY     90005574996
B7285578A5B582   OFELIA G      PINEDA                      NM     36048805780
B728559244B221   VERONICA      LOPEZ                       NE     90013845924
B7286277733B51   LORIE         GIORGIO                     OH     90014722777
B7286814A31475   STELLA        JONES                       MO     90011088140
B7286846791579   OSCAR         TORRES                      TX     90005128467
B7286A49293752   SIEDAH        BUCKLEY                     OH     90009390492
B728722A981642   JOSHUA        SIMPSON                     MO     90014792209
B7287362591579   ANDY          RIVAZ                       TX     90015033625
B728765285B396   LEO           LANDRY                      OR     44529696528
B72879A6693745   NATHAN        ROBINSON                    OH     90014799066
B728893A893745   HEATHER       HUFFMAN                     OH     90014789308
B728954375B396   PEDRO         GIL                         OR     90006925437
B7289731955953   JUAN          GONZALEZ                    CA     90013087319
B7289878A93758   AIMEE         MINTON                      OH     90013528780
B7289892285927   MARIA         RODRIGUEZ                   KY     67020408922
B7289A71272B21   OSCAR         CARRILLO                    CO     90000950712
B728B215A81642   JASMINE       STAPLES                     MO     90014792150
B728B42375B265   FLORINDA      MORALES                     KY     90002514237
B7291135421929   VERONICA      VIDAURRI                    IN     90008081354
B7291182755953   SAMUEL        NAVARO                      CA     90012781827
B7291274636B98   SHANNON       CORBIN                      OR     90007842746
B7291459372B62   JUAN          MEJIA CHICAS                CO     33017824593
B7291514585927   BERTIE        YOUNG                       KY     90013695145
B729188478433B   ROBERT        DUVUQUE                     SC     90007718847
B729198485B265   DORIS         HENISEN                     KY     68006799848
B7292141857565   MARIA         TOVAR                       NM     90007911418
B72921A7472B21   RICHARD       MEYER                       CO     90010911074
B729226155B396   CARLOS        KU RUIZ                     OR     90011112615
B7292332991574   BEATRIZ       MORENO                      TX     90009413329
B7292886491579   JOYCE         HESTER                      TX     75091088864
B7293172A7B489   BRYAN         CAMPOS                      NC     90011811720
B7293427251346   HARRY A       PUCKETT                     OH     90015154272
B729342815B265   TERA          PRUITT                      KY     90012334281
B7294863261984   JUAN RAFAEL   AGUILA                      CA     90012438632
B7294923843589   DREZDON       MARTIN                      UT     90009999238
B7294AAA793745   CONSTANCE     WEBSTER                     OH     64556090007
B72956AA831688   CRAIG         SPRINGFIELD                 KS     90009826008
B7296244833634   KEA           KING                        NC     90001572448
B729663559286B   CAROLE        KELLEY                      AZ     90015396355
B7296641531639   JIMMY         KING                        KS     22041526415
B7296771172B69   SHUGGS        ALLEN                       CO     90008557711
B7296877593727   CECILIA       PRICE                       OH     64555268775
B7297A4917B489   SIDNIE        HILL                        NC     11016190491
B7297A75A93745   LINDSEY       WEBSTER                     OH     90014790750
B7298335631639   DEANA         KIBBE                       KS     22069633356
B7298761193758   PAM           DAILEY                      OH     90002537611
B7299134855953   BRIANDA       SANCHEZ                     CA     90007061348
B7299267781642   ALISA         SMITH                       MO     90014792677
B729982865B396   ALFREDO       CARDINEZ                    OR     44571668286
B729B235193727   CHARLES       ROBINSON                    OH     90015022351
B72B127A443589   DOUG          BROWN                       UT     90015212704
B72B1557657173   GIDEON        NEFTALIEM                   VA     81012885576
B72B159364B225   GINA          GARCIA                      NE     90012205936
B72B2556181642   TANEISHA      GORDON                      MO     90014785561
B72B2A96A93745   SHERRY        DOOLEY                      OH     90014740960
B72B3417A91579   DEIDRE        PORTILLO                    TX     90011484170
B72B3671293745   FANTA         FURR                        OH     90014386712
B72B455252B271   RIYAUNIE      PROCTOR                     DC     81094575525
B72B4995955953   VICTORIA      SANCHEZ                     CA     90007029959
B72B512165B573   ROSARIO       GUSTAMANTE                  NM     90011991216
B72B521A143589   ANABEL        GUADARRAMA                  UT     90001482101
B72B5775457183   VICTOR        VENTURA                     VA     90003097754
B72B57A169182B   CLINT         OSCEOLA                     OK     21095777016
B72B5826855953   HEATHER       FORTUNY                     CA     48009198268
B72B59A6636B98   SONIA         HALLUCKY                    WA     90015389066
B72B611AA93727   AUSTIN        BALTAZAR                    OH     90013531100
B72B612165B573   ROSARIO       GUSTAMANTE                  NM     90011991216
B72B6387A93745   DESMOND       MOSLEY                      OH     90011053870
B72B6426A91579   PATRICIA      VIDALES                     TX     75087974260
B72B6632633687   SARAH         BROADIE                     NC     90013056326
B72B6A3592B271   GLORIA        GARLINGTON                  DC     81040210359
B72B7176991579   VERONICA      PALOMARES                   TX     90005671769
B72B781A35B562   OCTAVIANO     OROSCO                      NM     90001678103
B72B7AA735B265   VANESSA       WATSON                      KY     90015180073
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2213 of 2350


B72B814A872B62   MARIA        PEREZ                        CO     90013841408
B72B8313324B64   JERRIANNE    ANTHONY                      DC     90013463133
B72B8971455972   CARLOS       MORALES                      CA     90008059714
B72B8A52193745   MICHELLE     RHOADS                       OH     64539320521
B72B989A655953   PATRICK      SEXTON                       CA     90004708906
B72B998333B396   AMBER A      DAVIES                       CO     33091179833
B7311649293758   THEODORE     SHAVERS                      OH     90003726492
B731247A761937   ENSHURAH     BACA                         CA     46033694707
B7313253193745   BRITTANY     KERN                         OH     64592282531
B7313529355953   ABIGAIL      LANDEROS                     CA     90013945293
B7313955893752   LINDA        STUMPFF                      OH     64506539558
B73151AA972B69   KRISTINA     BUNCH                        CO     90012811009
B7315324631639   LACEY        WINING                       KS     90013433246
B731563742B271   NORMA        BENAVIDES                    DC     90015106374
B731616A381642   AMORETTE     BRYANT                       MO     90014801603
B731664449286B   BARBARA      ROJAS                        AZ     90015496444
B7317A4865B384   BEN          YANCEY                       OR     90006110486
B7318295491579   HECTOR       LOPEZ                        TX     90013922954
B7319397472B69   RACHEL       QUINTANA                     CO     90004723974
B7319468A93745   ANTOINE      CHANNELS                     OH     90014794680
B731973525B265   DIETRA       HAMMON                       KY     68051247352
B7319A93391B89   EBONI        RHODES                       NC     90014010933
B731B153191257   ANDREA       ROBINSON                     GA     90001711531
B731B264331639   KASIE        REEVES                       KS     90014472643
B731B288A81642   CURTIS       WESLEY                       MO     90014792880
B731B42955B265   HAYWARD      EMBRY                        KY     90014834295
B731B524A55953   DIANA        NAVA                         CA     90013945240
B731B588393745   MELISSA      RODRIGUEZ                    OH     90013505883
B731BA42772B62   ALAN         CAMPBELL                     CO     33044520427
B7321189155953   ETHEL        JIMENEZ                      CA     90012931891
B7321611861941   SANTOS       ROMERO                       CA     90008566118
B732174875B25B   THURMAN      NICHOLS                      KY     90005377487
B732192AA55972   PEDRO        GODINEZ                      CA     49063509200
B7321A62991579   MIGUEL       MOLINA                       TX     90013960629
B732331132B271   MARIAN       LINDSEY                      DC     90013223113
B7323872555956   MARIBEL      RAMIREZ                      CA     90001428725
B7324552355953   ANGIE        JIMENEZ                      CA     90013945523
B73245A7555956   HERIBERTO    OSORIO                       CA     90005315075
B732473835B265   ERICKA       GLASS                        KY     68041227383
B7324951A31639   SHERIA       MILLSAPS                     KS     22065049510
B7324997172B62   ALEXANDRA    CASTILLO                     CO     33066799971
B7325144A2B271   NELSON       ORELLANA                     DC     81025051440
B7325319172B69   NICOLE       GRAY                         CO     90007243191
B7326649231639   NATHANIEL    VINSON                       KS     90015046492
B7326818991579   EDDIE        CASE                         TX     90011658189
B7326848893745   ROBERT       TULLER                       OH     90004408488
B7327292672B62   ALEJANDRA    CARDONA                      CO     90008452926
B73272A365B265   GLADYS       DACKER                       KY     68015462036
B7327546893745   KARENA       CLAY                         OH     90014795468
B7327A33185927   THOMAS       MAVAMBU                      KY     90014030331
B7327A4149182B   MA DE        JESUS                        OK     21098500414
B732817295B265   CHRIS        WILSON                       KY     68006691729
B732824A243589   ERIN         SKINNER                      UT     90012022402
B7328692472B69   MACDALENA    SOLARES                      CO     33073046924
B732916165B396   SCOTT        KNUTSON                      OR     44550151616
B732B11435B396   ESPERANZA    CAMACHO                      OR     90009131143
B732B932355972   RUMPHANH     KHAMNHOTH                    CA     49063509323
B732BA97943589   JOHN         JONES                        UT     90012070979
B733111A35B265   CLARISSA     COCHRAN                      KY     90003801103
B7331281193752   RAYSINE      THOMPKINS                    OH     64565232811
B7331618331639   JONATHON     PLATT                        KS     90004546183
B7332171793745   JENNIFER     BARTH                        OH     90014801717
B733224554B552   MARIA CRUZ   CHAVEZ                       OK     90002082455
B7332266A5B371   SANDRA       SALAZAR                      OR     90002102660
B7332869655972   JESUS        LOPEZ                        CA     49088208696
B7333396191579   GINA         TOVAR                        TX     75034333961
B7333498372B62   ARLENE       GARCIA                       CO     90015064983
B7333871293727   DIONNA       BIRDSONG                     OH     90014858712
B7333886672B69   ELAINE       FLORES                       CO     33010398866
B733428AA72B62   YEIRA        ESTRADA                      CO     90013822800
B7334377772B62   YEIRA        ESTRADA                      CO     90012413777
B733571A191579   LINDA        MARTINEZ                     TX     75026717101
B7336119555953   CUAUHTEMOC   SOLORIO                      CA     90007071195
B733646A684348   CORETTA      WILSON                       SC     90006974606
B73367A792B271   GEREMIAS     MENJIVAR                     DC     81019027079
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2214 of 2350


B73371A837B723   ISSAC        MARTINEZ                     CA     90013951083
B733752A372B62   EDDIE        TALAMANTES                   CO     90015135203
B7337843A2B271   ANGELA       HARLEY                       DC     81074028430
B7338958793745   BRITTANY     STUDER                       OH     90013949587
B7339311572B69   DAVID        FERMAN                       CO     33097953115
B7339314693745   DEREK        HOWARD                       OH     90013863146
B7339334191965   FAUSTO       HERNANDEZ-SALAS              NC     90006023341
B73395A2255953   MIGUEL       MONSON                       CA     90013115022
B734126277B489   LUIS         MORALES                      NC     90012402627
B734137427B489   TALYIAH      SMITH                        NC     90012363742
B7342322193752   TERRELL      DANIEL                       OH     90010883221
B734232675B265   GLENN        ORR                          KY     90014353267
B7343685493752   KYLE         WILLIAMS                     OH     90007796854
B7343775431639   JULIAN       MEEHAN                       KS     90014957754
B73442A349182B   LC           MCLAUGHLIN                   OK     90000142034
B734554125B349   LANDA        ARACELY GONZALEZ             OR     44515445412
B7345868831639   WILMA        WILLIAMS                     KS     22026978688
B734632744B599   DEAN         MORGAN                       OK     21553973274
B7347373A93727   JENNIFER     ROYAL                        OH     90013263730
B7347562972B62   EDGAR        JAVALERA                     CO     90012405629
B734851917B489   ANASTASIA    WITHERS                      NC     90011815191
B7348553293745   TALISA       HALL                         OH     90014805532
B7348969A4B946   KUMASIAHA    EAGLIN                       TX     76533379690
B7348A54393758   VERNON       THOMAS                       OH     64562620543
B73497A6685927   CHERYL       CLARK                        KY     67041047066
B734B31172B271   JOE          DORSEY                       DC     90014223117
B734B3A1393745   DEALAUN      SMITH                        OH     90014803013
B734B538155953   SOPHIA       CHISOM                       CA     90011655381
B734B787372B62   JEFFREY      MILBRATH                     CO     90014037873
B7351936472B62   KEVIN        MARTIN                       CO     33067269364
B73525A8A5B221   TOYA         WASHINGTON                   KY     90011255080
B7352644172B69   CHARLES      SHERMAN                      CO     90008126441
B735282A985964   MICHAEL      SCOTHORN                     KY     90008638209
B735353112B223   TANIA        CASTILLO                     DC     81003185311
B7353645836B98   TR           POE                          OR     44554866458
B7354771493745   AMY          BAUMGARDNER                  OH     90014807714
B7354A4172B223   EDUARDO      CASTILLO                     DC     81003180417
B735527815B561   JOSE         GAMBOA                       NM     90011192781
B735531718B142   RYAN         BEECHER                      UT     31085143171
B7355762685927   ANGELA       WALLACE                      KY     90013217626
B735587AA31621   ADEN         RIVAS                        KS     90012818700
B7356784536B98   JOSE         SANTOS                       OR     90014087845
B7357117581642   KARLA        CASTRO                       MO     29062941175
B7357134472B62   MICHAEL      RAMIREZ                      CO     90001811344
B735775967B478   GENARO       HERNANDEZ                    SC     90002887596
B7357938855972   JESUS        SALMERON                     CA     90005929388
B7358122291852   CHARLES      SMITH                        OK     21003631222
B735849A831639   RACHEL       SPANCER                      KS     90014684908
B7358966854161   MANUEL       RUVALCABA                    OR     90013789668
B73592A9985927   LYNN         WHITAMORE                    KY     90008152099
B7359354A41223   JOSEPH       HINES                        PA     90009603540
B7359618672B62   SUSANA       FLORES                       CO     90010686186
B735B135857134   PEDRO        APARICIO                     VA     81065301358
B735B416781642   BRIONNA      HERNDERSON                   MO     90014794167
B735B859272B69   CLAUDIA      ALBA                         CO     90006128592
B7361394193758   SANDRA       SPENCER                      OH     90013633941
B7361434681642   TAYLOR       SCALES                       MO     90014794346
B7361762685927   ANGELA       WALLACE                      KY     90013217626
B736228515B265   KAREN        CHAVEZ                       KY     68016952851
B7362835143589   MELINDA      BROWN                        UT     90006438351
B7363361172B69   ISAAC        MARTINEZ                     CO     33008843611
B736371A355953   VERONICA     SCRUGGS                      CA     90008697103
B7363918A5B396   TONY         BROWN                        OR     90013679180
B7363968284825   SEAN         LANCE                        NJ     90012149682
B7363974493758   JOHN         DOE                          OH     90012569744
B7363975755972   SARA         GONZAGA                      CA     90005929757
B7364677485927   JEFF         CRAIG                        KY     90014896774
B7365389993752   STEVIE       HAWKINS                      OH     90012973899
B7366479772B62   JAQUELYN     MONAHON                      CO     90006794797
B7368138893745   JACOB        BRADLEY                      OH     90014851388
B7368361755953   VICTOR       CARDIEL                      CA     90004963617
B736846485B535   CHARLENE     DAN                          NM     90010904648
B73684A9485927   BRANDY       TOLENTINO                    KY     90014824094
B736874877B489   JOSE         GONZALEZ                     NC     90006317487
B736925A881452   TANIESHA     KEITH                        PA     90010702508
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2215 of 2350


B736949287B489   KONDRA          WHITEHEAD                 NC     90006484928
B736B336572B62   LOURDES         RIVERA                    CO     90004013365
B7371263981452   RICHARD         KEITH                     PA     90010702639
B737165152B271   KENNISON        BATTLE                    DC     90015066515
B7371869972B69   CLEO            ROMERO                    CO     33012628699
B7372222655953   CARMELA         AVALOS                    CA     90011662226
B73726A9442332   OLIVIA          SUCHER                    GA     90000766094
B7374191472B69   JODY            SMITH                     CO     33029301914
B7374325155953   GEORGIA         GUTIERREZ                 CA     48038833251
B7374473A2B271   GEORGE          WILSON                    DC     81036624730
B7374786A51577   JOCYLYN         FIESER                    IA     90014237860
B7375566172B62   JUSTION         NIETO                     CO     90012405661
B73755A6372B98   SALVADOR        BANUELOS                  CO     90005945063
B7375A6722B271   GLORISMEL       SORTO                     DC     90012520672
B7377836555953   ALBERT          AMBRIS                    CA     90013948365
B7378228461976   ELYSE           BABLEWSKI                 CA     90011802284
B737869AA93745   BROOKE          HOWARD                    OH     90014856900
B7378773431639   BETTYE          AMEND                     KS     90005447734
B7378817955953   JANET           PUGA                      CA     48047448179
B7379246742332   ERICA           SMITH                     GA     90013952467
B7379919972B62   CANDY           ARAGON                    CO     90013759199
B737B855391257   CARMEN          MOLINA                    GA     14555798553
B7381285693727   WILASA          RHINES                    OH     90010932856
B7381394655953   ROSARIO         FRANCO                    CA     90006433946
B738231515B32B   JENNIFER        KAUFMAN                   OR     90007723151
B738258478B329   JUSTIN          BINNICKER                 SC     90015505847
B7382661693727   SIERRA          HICKLAND                  OH     90011876616
B7383246742332   ERICA           SMITH                     GA     90013952467
B7383856272B69   BERNICE         SERRANO                   CO     90014918562
B738396985B265   RUQAYYA         ABDULLAH                  KY     90011449698
B7384361993727   TAMMY           PARNELL                   OH     90004103619
B738492885B396   SIDNEY          SPELTS                    OR     90014699288
B7385624272442   MICHELLE        BITTNER                   PA     90009916242
B738627382B271   CHERHONDA       MIDDLETON                 DC     90012842738
B7386276993758   ERIC            GRIFFIN                   OH     90012842769
B738633898B186   NOE             VALLE                     UT     31017523389
B7386724793752   JESSICA         SAXTON                    OH     90011077247
B7387869293758   VICKI           HENRY                     OH     90009248692
B7387A95743589   DONOVAN         CRANE                     UT     90001930957
B7388681A72B38   ROBERT          HUBBARD                   CO     90014526810
B7388739524B64   FIDEL           VARGAS                    DC     90011387395
B7388753955953   ELIAS           VALTIERRA                 CA     90014717539
B738949A781642   JASMINE         GATES                     MO     90014794907
B738B1A715B265   KIM             ELLIS                     KY     68028891071
B738B98767B491   EDWARD          NEWBERRY                  NC     90003229876
B739124362B271   SHAMIKA         YOUNG                     DC     90014792436
B7391349193758   ANDREA          MCDONALD                  OH     90014563491
B739198385B358   ANAHI           BARRAGAN                  OR     90007779838
B7392255355927   ELVA PATRICIA   SIBRIAN                   CA     90010472553
B7392331743589   STEVE           COULSON                   UT     90007143317
B7392586685927   LAVERN          BLYTHE                    KY     90001105866
B739369262B271   THERESA         ALLEN                     DC     90010036926
B7395183185927   PAYGO           IVR ACTIVATION            KY     90012281831
B7395331455953   GARY            COTTON                    CA     90012773314
B7395527355953   NANCY           CERVANTES                 CA     90013055273
B7395689981642   VALENTINO       ROLLIE                    MO     90009216899
B739585A272B67   AUDREY          MARTINEZ                  CO     90006718502
B7395867293727   MICHELLE        BINEGAR                   OH     90006328672
B739639485593B   VERONICA        RAMIREZ                   CA     90007143948
B739668A591873   STEVEN          GAASTH                    OK     90009266805
B7397471855953   SERGIO          CUEVAS                    CA     90015134718
B73975A1972B62   BRENDA          RIVAS                     CO     90014555019
B739776625B396   TAI             WALTON                    OR     90008327662
B7397A18491579   JOSE            SALAYANDIA                NM     90014510184
B7399692985942   TAUNYA          HUFF                      KY     90013006929
B739984295B265   JAMES           SHACKLETT                 KY     90012908429
B7399A34893752   JAY             WASHINGTION               OH     64575300348
B7399A5617B496   TIERA           STITT                     NC     11010830561
B7399AA9A85927   SIMON           HERNANDEZ                 KY     67073660090
B739B296485927   ASHLEY          JACKSON                   KY     90003182964
B73B1191A9286B   JOSE            ANDRADE                   AZ     90015121910
B73B2135893745   JAMES           LYKINS                    OH     90014791358
B73B2783981642   BECKY           OLLER                     MO     29080487839
B73B3AA8193745   KARI            BURKHARDT                 OH     64515280081
B73B492495B396   SHANE           ARNOLD                    OR     90012849249
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2216 of 2350


B73B552525B991   SALVADOR     RUIZ                         WA     90015405252
B73B554658B156   NICK         DEFEE                        UT     90004165465
B73B555947B489   JOAQUIN      MEJIA                        NC     90007215594
B73B678945B396   NATHAN       SURPRENANT                   OR     44514737894
B73B779A393727   JANICE       LEVY                         OH     64568237903
B73B9328693758   JACOB        WEAVER                       OH     90006643286
B73B9656991579   ADAN         LUNA                         TX     90015006569
B73BB32162B256   ELVRECA      CALDWELL                     DC     81019733216
B73BB37414B299   STEPHEN      FUCCIO                       NE     27083973741
B73BB37A393758   ADAM         AQRABAWI                     OH     90014083703
B73BB772841233   ASHLEY       EATON                        PA     90010567728
B73BB81872B271   MELVIN       PERKINS                      DC     90013408187
B73BBA23472B69   ROLANDO      ALVARENGA                    CO     90010310234
B74112A7993727   JOSEPH       KEMPF                        OH     64589922079
B741131482B271   BRANDY       KELLER                       DC     81014353148
B7411527193745   KRYSTAL      TONER                        OH     90014885271
B7411664231639   SHILOH       MEAIRS                       KS     22014426642
B7412871393758   MARK         NEYMAN                       OH     64562498713
B74131A4191579   RAISA        MCINTYRE                     TX     90009071041
B7413545781642   HAYGOOD      BERNARD                      MO     90014795457
B7413814372B62   BRANDON      MARTINEZ                     CO     33066378143
B741455142B271   MAYCO        CRESPO-CASSARUBIAS           DC     90011895514
B7414872172B62   MARIA        CERON                        CO     33090788721
B7415137993758   REBECCA      VANCE                        OH     90002101379
B7415265393727   KHALILAH     SCOTT                        OH     90014872653
B741615A493727   REGINA       WAGERS                       OH     90003151504
B7416193A5B222   SHAWN        WADE                         KY     90006111930
B741644895B265   GABRIEL      TORRES                       KY     90009824489
B74165AA693752   AARON        BURNS                        OH     90013775006
B7416635855953   EDGAR        GARCIA                       CA     90014356358
B7417323255979   CARLYN       RICHBURG                     CA     49015673232
B7417397A2B271   KIMBERLY     BANKS                        DC     90010993970
B741774815B265   NACIMIENTO   HONDURENO POR                KY     90003887481
B7418211872B62   JOSE         CORDERO                      CO     33001192118
B741971725139B   SHAWN        ROGERS                       OH     90011837172
B7419793A93752   JAMES        PRICE                        OH     90011077930
B7419884355953   ARAMIDES     MARTINEZ                     CA     90012648843
B741B117455953   MARCOPOLO    MEZA                         CA     90015021174
B741B937893758   DONNA        PAULL                        OH     90010229378
B7421135691579   ISSAC        VASQUEZ                      TX     90004751356
B7421A92791579   TIM          SHUTT                        TX     90013960927
B7422268293727   SHANEQUIA    LOVELESS                     OH     90014872682
B7422625172B69   GARCIA       SHALINDA                     CO     90008376251
B7422678793727   BRITTANY     WHITACRE                     OH     90013506787
B7422747491579   RAFAEL       EZPINOZA                     TX     90009697474
B7423482955953   MARIA        VILLARREAL                   CA     90011674829
B7423494293745   HEATHER      BLATON                       OH     90014114942
B7423936472B62   KEVIN        MARTIN                       CO     33067269364
B742418A893727   NATONIA      JONES                        OH     90009711808
B742425192B271   RAYMOND      FENWICK                      DC     90014862519
B7424425841278   JENNIFER     FRITCHMAN                    PA     90007274258
B742462445B265   REBECCA      PIKE                         KY     90007746244
B742484A272B38   LYNAE        TOY                          CO     90013438402
B7425119355953   DORA         SHAW                         CA     90013941193
B742517472B271   FEVEN        ERMIAS                       VA     90015291747
B7425689493758   SERGIO       GALLARDO-AGUILA              OH     90011056894
B742582412B271   MARCIA       BRYANT                       DC     90008688241
B7425884193745   ALIJA        CORNELISON                   OH     90014888841
B7425AA2955953   JUAN         SALAZAR                      CA     90013950029
B7426432972B69   JACOB        LOONEY                       CO     33053514329
B7426A23455953   EBONY        SILKWOOD                     CA     90013950234
B7427591193752   MARISSA      PHIPPS                       OH     90007585911
B7427599455953   MARCUS       MCFARLAND                    CA     90011675994
B7427743A9182B   JEANNINE     COKER                        OK     21032127430
B7428568885927   VINCENT      CHAD                         KY     90013205688
B74285A972B271   DENNIS       THORNTON                     DC     81040555097
B7429571A8B138   MARIE        ORTIZ                        UT     31096045710
B7429A91631639   HOLLY        RICHARDSON                   KS     90015080916
B742B49677B489   SEAN         THOMPSON                     NC     90002374967
B743123A743589   GEORGE       TAGGART                      UT     31086842307
B743154768B154   MOE          SADEGHI                      UT     31095325476
B743181A75B525   JOHNNY       BACA                         NM     35079618107
B74318A2393752   ESTHER       WILLIASON                    OH     64547498023
B7431A61293727   SARA         PELFREY                      OH     90013490612
B743223575B265   CAREN        BURKE                        KY     68030362357
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2217 of 2350


B7432261891257   MARK         S CARPENTER                  GA     14535102618
B7432A57355953   TONY         DIAZ                         CA     90013950573
B74333A7293758   JESSICA      LYONS                        OH     90009013072
B7433527272B69   SHERRY       JONES                        CO     33049175272
B7434196255953   JOSE         MENDOZA                      CA     48005581962
B74346A2791579   JAQUELINE    MUNOZ                        TX     90001316027
B743496752B271   JAMEKA       SMITH                        DC     90013249675
B743569485B396   PATSY        GREGORY                      OR     90000286948
B743585A22B25B   JANELLE      SMITH                        DC     90006038502
B7435894591952   VICTORIA     ALEMAN                       NC     90014848945
B7436376172B69   MARTHA       MARCOS                       CO     33061313761
B7437633593758   KRISTIN      WALKER                       OH     90000446335
B7438716393758   ETHAN        KOSKI                        OH     64538617163
B7439167991579   MELINA       VALDEZ                       TX     90004401679
B7439172193727   STEPHEN      MILES                        OH     64532311721
B74395A4472B69   BERG         DAWN                         CO     90013915044
B743971A855953   SAELA        CUEVAS                       CA     90007237108
B743B1A425B396   STEVEE       MATAMORO                     OR     90015191042
B744112A384333   DAVID        JERIDEAU                     SC     19046371203
B7442199293727   TAMARA       FLYNN                        OH     64512211992
B744246338B144   JULIA        SANCHEZ                      UT     90009214633
B7443372991579   JOSHUA       MACIAS                       TX     75090633729
B7443444985927   PAYGO        IVR ACTIVATION               KY     90010244449
B7443559293745   STACY        BINKLEY                      OH     90012455592
B74438AA85B396   JENNIFER     ALEXANDER                    OR     44526388008
B7444149536B98   STEVE        JOHNSON                      OR     44585081495
B7444784181642   CHRIS        CLASBY                       MO     29017757841
B7445542393727   DIAMOND      LINCH                        OH     90012845423
B744572547B489   RONNA        HORTON                       NC     11000307254
B7446485293745   DIANNA       DAVILA                       OH     90005444852
B74478A2A4435B   MARIA        MAERWA                       MD     90012778020
B7447A44A91579   ANDY         TOLLEY                       TX     90012910440
B744837362B271   SHANNON      WALLS                        DC     81049603736
B7448757193758   NINA         CHILDS                       OH     64531867571
B7449617385927   TOI          DEAN                         KY     90014626173
B7449655193745   ISAIAS       MENDEZ                       OH     90013866551
B7451596881642   LAJONNA      EVANS                        MO     90014795968
B745193524B576   TEQUEZIA     BOLDEN                       OK     90012409352
B7452363885927   ANGELA       MONTERUBIO                   KY     90015573638
B7452453172B62   CLAUDIA      BARRERA                      CO     33034114531
B7453A65872B69   PAMELA       JEPSON                       CO     33041470658
B7455437391582   SONIA        LEOS                         TX     90011974373
B7456413372B69   ADAM         LACHER                       CO     33006154133
B745666653B355   HAROLD B.    KING                         CO     90011746665
B7456951285927   AMANDA       WIDBURN                      KY     90013859512
B7457139885927   DERRICK      THOMAS                       KY     67073881398
B7457145191579   THELMA       GARCIA                       TX     75020891451
B7457274861925   MIGUEL       CERVANTES                    CA     90008982748
B7457539472B69   JULIE        RODRIGUEZ                    CO     90011515394
B745996315B378   CORY         RENDON                       OR     90004979631
B7459A58285927   NICHOLAS     CHRISTANSEN                  KY     90014940582
B745B47748B171   REBECCA      GUILLEN                      UT     90005974774
B745B493931468   AMEENAH      GORDON                       MO     90008104939
B745B526655953   VINCENT      HOOD                         CA     90013495266
B745B6A3472B62   JERAMIAH     STROLE                       CO     90012856034
B7461158593727   JAMILA       MALLORY                      OH     90014111585
B746179435B265   EDIE         ACKERMAN                     KY     90009557943
B7462299593727   LINDSAY      PIGMAN                       OH     64598382995
B7463117455953   MARCOPOLO    MEZA                         CA     90015021174
B7463237972B69   CHRISTINA    DOAN                         CO     33079392379
B7463546993752   JOHN         RIEGLE                       OH     90014745469
B7463623293745   CHARM        FITZPATRICK                  OH     90004646232
B7463721A81642   DINA         SAELTON                      MO     90014797210
B7463A38191579   GEORGE       PONCE                        TX     90007720381
B746469565B396   CARLOS       MIRANDA                      OR     90013386956
B7464928272B38   RICARDO      NAVARRO                      CO     90012839282
B7464AA454B552   JOHN         MCDONALD                     OK     90012350045
B7464AA8A93752   ASHLEY       THORNTON                     OH     90014570080
B7465162493758   MIKE         JONES                        OH     90010441624
B746519157B489   EDITH        UBAKA                        NC     11067611915
B7465477A43589   AMBERLEE     ROLAND                       UT     90009574770
B7465515793745   MICHAEL      SULLINS                      OH     90000135157
B746627AA93745   JESSE        VOSE                         OH     90014932700
B7468253393727   JO ELLEN     STUMP                        OH     64522982533
B7468336172B69   RON          CHAVEZ                       CO     33009233361
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2218 of 2350


B7469262791579   MARLENE         VILLALOBOS                TX     90012492627
B7469AA359286B   OSCAR           MONTES                    AZ     90014080035
B746B1AA761954   NUNIEK          GATES                     CA     90010321007
B746B4A3272B69   RENEE           HAILEY                    CO     33044434032
B747182587B489   PORSCHE         STRICKLAND                NC     90011818258
B7471A6A285927   BILL            STURGILL                  KY     67091980602
B747323612B271   DANIEL          PEYTON                    DC     81040582361
B747334427B335   ANKETSEBRAHAN   TADESSE                   VA     90008623442
B7473847655992   ALMA            RIVAS                     CA     90008168476
B74739A872B25B   PRICILLIA       NMN BODGER                DC     81091679087
B7473A98A85927   JAMIE           MOSES                     KY     90014830980
B74751A3585927   BALDEMAR        RAMIREZ                   KY     90000451035
B74761AA85B265   TODD            OLLER                     KY     90012741008
B747742955B265   HAYWARD         EMBRY                     KY     90014834295
B74775A4461989   RODRIGO         RIVAS                     CA     90008575044
B7477645691576   ANALI           AGUIRRE                   TX     90010936456
B7478868142332   PAYGO           IVR ACTIVATION            TN     90014988681
B7479238181642   LATOSHA         RILEY                     MO     90014802381
B7479267744354   MANUEL          RENTERIA                  VA     82060012677
B7479389993745   KATHY           BAYES                     OH     90014933899
B747968375B238   YOLANDA         REDMOND-GLENN             KY     90006426837
B747B23228B139   ELIZEBETH       ROBBINS                   UT     90005102322
B747B241A81642   MICHEAL         DAVIS                     MO     90007962410
B747B2A242B271   CAITLIN         ARCHER                    DC     90002332024
B747B735233694   SHEREECE        ALLEN                     NC     90012787352
B747B97822B841   DAWIT           GEBREGIABHER              ID     90014859782
B748165A491579   PILAR           GUERRERO                  TX     75021916504
B748165AA93745   TYLER           DAVIS                     OH     90009076500
B748177559182B   CLAUDETT        BROWN                     OK     21014247755
B7483553681642   MOISE           QUIJANU                   MO     90014965536
B748438739182B   KELLEY          COHN                      OK     90010623873
B748461552B271   TANYA           INGRAM                    DC     90014476155
B7484638755953   GABRIEL         RAMIREZ                   CA     90008976387
B748555387B489   AVELARDO        QUINTERO                  NC     90011945538
B7485595593752   WILLIAM         ABNER                     OH     90014435955
B7485949731639   BAMBI           COUCH                     KS     90010999497
B748697642B271   TAMETHIA        GREENE                    DC     90008329764
B7486A1875B396   DENYSE          SCHWENGELS                OR     90012440187
B74876A7243589   KENNETH         MOCKLER                   UT     90006006072
B7488283472B69   SANTIAGO        GONZALES                  CO     33027672834
B7488748155953   ANTHONY         ALMEIDA                   CA     90007137481
B74889A8291579   KABREENA        VASQUEZ                   TX     90005079082
B7488A49331639   JOEY            MARTIN                    KS     90011960493
B7489A45893752   COURTENEY       WILLIS                    OH     90014480458
B7489A55355972   ALVARO          LARIOS                    CA     49091110553
B748B49465B396   JOSEPH          RUSSO                     OR     90014264946
B748B513793727   CHRIS           MORELAND                  OH     90000545137
B748B699255953   ASHLEY          SANCHEZ                   CA     90011686992
B748B75A181642   DORIS           BROWN                     MO     29097397501
B748B9A795B265   PURPLE          MITCHELL                  KY     68027699079
B749121195B265   JOSH            BARNES                    KY     90014362119
B7491613572B62   MARIBEL         PONCEDELOEN               CO     33037206135
B74918A5972B69   DANIEL          CISNEROS                  CO     90012698059
B7491946176B33   MAX             RUSSELL                   CA     90012169461
B7492173291579   MARIO           BARRON                    TX     90004471732
B74921A642B271   SELEMUN         KIDANEMARIAM              DC     90014421064
B749229768B32B   MARIA           GUTIERREZ                 SC     90015042976
B7492774431639   SHERMAN         JULIE                     KS     22092177744
B7494478755953   TREVER          BROWN                     CA     90013234787
B7495687181642   JASMINE         PRECIADO                  MO     90014816871
B749663735B265   KAREN           DRUIN                     KY     68057996373
B749734A181642   ANTHONY         FORD                      MO     90014803401
B7497758955953   MARTIN          VALDIVIA                  CA     90011847589
B7497A6862B271   DANA            WILDS                     DC     90014090686
B7498136972B69   CHRIS           JOHNSON                   CO     90009541369
B7498262355953   ANAYELI         GARCIA                    CA     90013242623
B7498298893752   MIKE            TREGGETT                  OH     90013462988
B7498429893745   SYLVIA          DOUTHITT                  OH     90014934298
B749911478B12B   JENI            NUNN                      UT     90005891147
B7499377372B62   DAVID           DINSMORE                  CO     90015003773
B749956A255953   ERNESTINA       RODRIGUEZ                 CA     90007585602
B7499677A85927   ROBERT          WORLEY                    KY     90014136770
B749B718991579   JUAN            MENDEZ                    TX     90008587189
B749B79A355953   EMILY           GALLARDO                  CA     90011687903
B74B167462B23B   CASSANDRA       QUICK                     DC     90012126746
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2219 of 2350


B74B221683B396   JOSEPH       AUSTIN                       CO     33074832168
B74B245972B271   DAVID        WILLIAMS                     DC     90015154597
B74B2761755953   MARCO        MENDOZA                      CA     90007097617
B74B31A1293745   LATRINA      PORTER                       OH     64594251012
B74B33A8891579   RAFA         SANDOVAL                     TX     75050013088
B74B3698A2B252   RENITA       TERRELL                      DC     90001396980
B74B4A38254161   ZACHARY      WICK                         OR     90013790382
B74B553975B383   MARLEEN      HARP                         OR     90009175397
B74B6179585927   JAVIER       AGUILAR                      KY     67039601795
B74B778512B271   HOWARD       GARNER                       DC     81065377851
B74B9419455953   ALICIA       MEDINA                       CA     48016584194
B74B986A972B28   CHRISTINA    TURNER                       CO     90004748609
B74BB153A5B265   DANNY        WOODS                        KY     90013881530
B74BB217A81683   TONYA        SANDERS                      MO     90002642170
B74BB761755953   MARCO        MENDOZA                      CA     90007097617
B74BB93825B396   GENEVIEVE    MORSE                        OR     90013639382
B74BBA78293752   CHRIS        JONES                        OH     90015270782
B7511298455953   JOSE         MALDONADO                    CA     90013952984
B7511755493745   GEORGE       RAGER                        OH     64540757554
B7511773672B62   MANUEL       ESTALA                       CO     33096717736
B7511A24484373   KYANNA       GIBBS                        SC     90014160244
B7512251A55953   SUSANA       FLORES                       CA     90012382510
B7512863791563   REYES        SANDOVAL                     TX     90010838637
B751341245B396   BRADLEY      JOHNSON                      OR     90000374124
B7513711155926   KEITH        MORDEN                       CA     90006987111
B7513864A31639   VIRGINIA     PERRYMAN                     KS     90005498640
B751397A793758   ASHLEY       POWERS                       OH     90012739707
B7514412555953   DANIEL       HASTON                       CA     90007144125
B7514A14693758   MELISSA      VAUGHN                       OH     90012390146
B7515555872B21   ELMER        VILLEDA                      CO     90008895558
B751595922B271   DONNELL      BROADWAY                     DC     90010749592
B7515979991257   RASHAD       GLOVER                       GA     90003669799
B75163A947B489   LESA         HORNE                        NC     90011313094
B7516515772B69   AMBER        VOORHIS                      CO     90014895157
B751739AA4B979   RICKEY       PATIN                        TX     90001113900
B7517435993745   MIGNON       CLAY                         OH     90011154359
B7517924655953   DAVID        DELGADO                      CA     90013139246
B7518729593745   STEVE        JOHNSON                      OH     90005617295
B751873A981642   OSCAR        GONZALEZ                     MO     29087167309
B751919552B923   LAURA        VAL                          CA     45084041955
B751B165172B62   ARACELY      ARBALLO DE MONTES            CO     33078861651
B752148887B489   BEVERLY      GRIM                         NC     11016964888
B7521A65993758   PRESTON      ATKINS                       OH     90013930659
B7522343393758   BRITANE      SINK                         OH     90013693433
B752353A79286B   SERDIO       ROMERO                       AZ     90014655307
B7523978681681   DOUGLAS      YOUGER                       MO     29017699786
B752474515B265   ANNTONISHA   JONES                        KY     90004337451
B7524778593758   MICHAEL      BAKER                        OH     90015097785
B752486518B136   KATHRYN      GOWANS                       UT     31029278651
B7525678893745   KARLA        BYRD                         OH     90014936788
B7526678893745   KARLA        BYRD                         OH     90014936788
B7526724131639   DAVID        GOOD                         KS     90009767241
B7526848A93752   MIKE         BRANNON                      OH     64544698480
B752695A35B265   MARK         ROGERS                       KY     90013989503
B752755995B265   PAYGO        IVR ACTIVATION               KY     90013445599
B7527935A55925   MARIA        GARCIA                       CA     90011209350
B7527982885927   ALEAYA       JORDAN                       KY     90010459828
B7528112393752   COREYONA     HARMEN                       OH     90014761123
B7528132336B98   ARACELI      VILLAFUERTE                  OR     90014861323
B752B1A6455953   KEVIN        WILLIAMS                     CA     90011381064
B752B594291592   FLOR         PENA                         TX     90013245942
B7531362281642   KATHERINE    OWENS                        MO     90014803622
B7531859172B69   FILADELFO    MENJIVAR                     CO     33077508591
B753234713B342   MICHAEL C    CARSON                       CO     33000723471
B753244815B374   KRISTINA     FOBY                         OR     44582644481
B7532847893727   ANGELA       ANDERSON-VAUGHN              OH     64528088478
B753293825B396   GENEVIEVE    MORSE                        OR     90013639382
B7532A4AA5B384   VICENTE      ALATORRE AGUIRRE             OR     90007540400
B753315695B545   LYNETTE      ORTIZ                        NM     90011501569
B7533381591257   NORMAN       JONES                        GA     14505753815
B7533515491871   TAMMY        BRUNER                       OK     90008855154
B753425957B322   GIOCONDA     CHAVEZ                       VA     90010412595
B7534667155924   JESUS        GUTIERREZ                    CA     90013646671
B7536286255953   CRISPIN      ESPINOZA                     CA     48063732862
B7536293991579   EMILY        BORGES                       TX     75088572939
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2220 of 2350


B7536522291563   SERGIO       LOPEZ                        TX     90011295222
B7537128191579   SUSAN        CARDENAS                     TX     90014971281
B753737712B271   DEBRAY       SMITH                        VA     90011003771
B7537713785927   RAUL         RICO                         KY     90012837137
B753787A272B62   ROY          SANTILLANES                  CO     90004498702
B753793235B396   DARCI        WYLAM                        OR     44550159323
B7538132655953   CHARLIE      EMFINGER                     CA     90014861326
B7538A33191579   CRYSTAL      CARRILLO                     TX     90002690331
B7539594855972   ALVARADO     CALDERO                      CA     49041675948
B7539661791579   MATHEW       GONZALEZ                     TX     90010806617
B7539AA218B192   LONNIE       SUTTON                       UT     90002960021
B7541923972B62   GARNETT      ESTES                        CO     90002839239
B7542726754161   JESSICA      REEGER                       OR     90013807267
B754294885B396   RICADO       WRAY                         OR     90012459488
B7544545A91592   CRESCENCIA   CADENA                       NM     75040725450
B7544729793727   MICHAEL      AVERY                        OH     64521727297
B7545451555953   RENE         AGUINIGA                     CA     90013954515
B7546464485927   ROSY         SANTIAGO                     KY     90014174644
B7546A9A593745   CINDY        HALEY                        OH     64516390905
B7547542672B62   MITCHEL      WEINREICH                    CO     90013815426
B754818128B143   BURTON       WILLIAM                      UT     90003521812
B7548475481642   KERRY        WILLIAMS                     MO     90014804754
B7549246993727   ROYAL        CURRY                        OH     90010652469
B754986632B271   QUEEN        PACK                         DC     90012838663
B754B387A81642   TRACY        NUNNERY                      MO     90014803870
B754B92A99714B   DAVID        SCHUBLIN                     OR     90001279209
B7551297A91579   BORDER       REFRIGERATION                TX     75059852970
B755189A672B62   CELINA       GALLEGOS                     CO     90010458906
B75519A3393758   BRETT        HENDRICKSON                  OH     90008089033
B7552497791873   RUBY         DUNN                         OK     90014414977
B755328965B265   CHRISTINA    KRAUSE                       KY     90007602896
B7553642772B69   LEOPOLDO     MORENO-MORALES               CO     33004806427
B7554446293745   AMANDA       HUGNKISS                     OH     90014894462
B7554757931639   JESSE        TRIMMELL                     KS     90009247579
B7554AA485B396   DIONNE       HUFFMAN                      OR     44583770048
B7555192493745   REBECCA      CASTLE                       OH     90002741924
B755562552B271   KATHERINE    EDITH                        DC     90015106255
B755577217B489   YOLANDA      SWITZER                      NC     11022147721
B7556179A72B62   EDWARDS      TRACI                        CO     90002251790
B7556523355953   MARISO       HERNANDEZ                    CA     90013955233
B7556681331639   KIMBERLY     VAUGHN                       KS     90009926813
B7557843491574   DONNA        DALY                         TX     90012888434
B7557A81293745   JOYCE        ROBINSON                     OH     90009830812
B75585A9181642   SCHAVON      SAYLES                       KS     90014805091
B7558731A91579   BLANCA       VAZQUEZ                      TX     90003857310
B755911152B271   ROBERT       DUNBAR                       DC     90010381115
B755938547B489   SHANDAL      WALKER                       NC     90012363854
B755938728B168   KENNETH      FORTUNE                      UT     31001303872
B7559421891579   FILEMON      RIVERA                       TX     90013254218
B7559658533687   ERENDIRA     GARCIA DE LEON               NC     90011466585
B756141635B396   TIGRA        SADLER                       OR     90012654163
B7561A92893758   RUSTY        GILES                        OH     90006130928
B7562219393752   WILLIAM      DAVIDSON                     OH     64593812193
B7563224A76B56   JEFF         BOZIGIAN                     CA     90000782240
B7563A7817192B   GEORGIA      KANZLER                      CO     90004990781
B7563A98793727   LISA         ADAMS                        OH     64538360987
B7564568855953   BECKY        ARROYO                       CA     90013955688
B7564638491579   OLIVIA       HERMOSILLO                   TX     90010966384
B756534342B271   TRAVIS       HUDNALL                      DC     81005833434
B7565735593758   ISRAEL       GALVAN                       OH     90000767355
B75673A2381642   JESUS        GUTIERREZ                    MO     90008323023
B756758A455953   LISA         PADILLA                      CA     90013955804
B756846172B271   PHILIP       WHEELER                      DC     90015154617
B7568745972B94   IAN          BUECHELE                     CO     90012547459
B7568A1525B32B   MARTIN       NOEL                         OR     90007190152
B756976A793745   AUGSTINE     CORONA                       OH     90015137607
B7569772A41298   PATRIA       PABON                        PA     90013967720
B7569817277364   C.           CHIP                         IL     20512958172
B756B269991579   NOEL         JIMENEZ                      TX     90010992699
B756B282491579   FERNIE       ZAPATA                       TX     75098422824
B756B675571932   GARRETT      SALAMENA                     CO     90011456755
B756BA37772B62   CARLOS       MELGAR                       CO     90013790377
B7571178891579   SAMUEL       GARCIA                       TX     90013951788
B757133A985927   TYRONE       COLEMOAN                     KY     90012203309
B757179AA42332   ALISHA       BARBER                       GA     90011797900
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2221 of 2350


B757222362B271   MERL          LOGAN                       DC     90013092236
B7572356691257   TIMOTHY       SAPP                        GA     90002373566
B7573818851339   KALEB         PARKS                       OH     90008138188
B7574573461937   RITA          COLLINS                     CA     90008695734
B7574722A5B238   JAMIE         KINSER                      KY     90015147220
B7574734781642   HENRY         CALLES                      MO     90001907347
B7574A57A55972   ROBERTO       LOPEZ                       CA     49013980570
B7575178885927   DONNA         HOWARD                      KY     67090321788
B75765A7472B69   CONCEPCION    SILVA-AYALA                 CO     90001265074
B7577568855953   BECKY         ARROYO                      CA     90013955688
B757858825B396   NICK          PICKARD                     OR     44508455882
B7578673541469   ASHLEE        JACKSON                     AR     90012916735
B7578769A85927   AMANDA        MARTINEZ                    KY     90014597690
B7578923491592   MONICA        AGUILAR                     TX     90002039234
B7578941793752   CLINTON       MAHONEY                     OH     90011899417
B7579336A93758   TERRI         HEIDEMAN                    OH     90013213360
B757B369293727   AMANDA        POLSTON                     OH     64580813692
B757B488A2B24B   ANGEL         LUCAS                       DC     90006904880
B757B633593727   KIM           EVERHART                    OH     90013516335
B757B778124B64   TONYA         JOHNSON                     DC     81009587781
B757B779885927   TRENTON       HENSLEY                     KY     90013527798
B7581156872B69   CARLOS        AMBROSIO                    CO     33029451568
B758232472242B   PATRICIA      MURRY                       IL     90014313247
B758242955B265   HAYWARD       EMBRY                       KY     90014834295
B7582A21972B62   LORRAINE      ALVA                        CO     90013140219
B7583895993758   LAURA         BRYAN                       OH     90013278959
B758513685B265   MICHELLE      WHITE                       KY     90015071368
B758536975B375   LAURA         BURDA                       OR     90002183697
B7585488472B62   DENETA        WALKER                      CO     33079244884
B7587712985927   UNEQUE        BIRCH                       KY     90005567129
B7587727A8B192   CASSIE        STEVENSON                   UT     31017657270
B7587936181642   AMANDA        MORGAN                      MO     90013519361
B7587948893745   NICOLE        CAMPBELL                    OH     90015139488
B7588891185927   BRITTANY      COOPER                      KY     90013018911
B7589318681642   ASHLEY        GILLILAND                   MO     90009713186
B758987477B489   ADRIENNE      SMALL                       NC     11079008747
B758996A124B64   LISA          ROBINSON                    DC     90008679601
B758B214172B69   CARLOS        MAJERA                      CO     33053682141
B758B331455953   JOSE          GONZALEZ                    CA     90014373314
B758B822572B62   RAUL          ROSAS                       CO     33059768225
B758B893A93758   PANDORA       KILGOR                      OH     64535558930
B758B97A393743   SOBRIYA       RUCKER                      OH     90002799703
B7591854172B62   LISETTE       DEWIT                       CO     90014098541
B759251A191579   FRANK         CANALES                     TX     75095345101
B759298985B396   SANDRA JEAN   TRACY MANNING               OR     90014829898
B7593237555953   ALEX          ESTRADA                     CA     90013122375
B75934A517B338   TERESA        HERNANDEZ                   VA     81042344051
B7593667791579   BLANCA        GAYTAN                      TX     90015126677
B759444375B265   SHERRY        WALKER                      KY     90014834437
B7594454591579   KALLISTI      VALENZUELA                  TX     90012474545
B759463A193752   ELVIRA        SHABANOVA                   OH     90013286301
B7595534455953   LUIS          HERNANDEZ                   CA     90012795344
B7595638477553   MICHAEL       CALLAHAM                    NV     90010786384
B759565AA5B265   MATT          MUELLER                     KY     90012286500
B7595A63A93758   PAMELA        JENKINS                     OH     90001720630
B7596689472B26   JOSE          DIAZ GARCIA                 CO     90008326894
B7597775993758   ERICA         BROOKS                      OH     90011057759
B7598637972B62   HERNANDEZ     ADAN                        CO     33000866379
B7598A34393752   ZELAYA        SAUL                        OH     64594710343
B7599117455953   MARCOPOLO     MEZA                        CA     90015021174
B7599AA932B271   LAKISHA       SMITH                       VA     81062560093
B759B1AA791257   VERNESSA      REED                        GA     14588601007
B759B419791579   ZAMORA        WILLIAM                     TX     90007134197
B759B559355953   ANGELA        AGUILAR                     CA     90006005593
B759B72422B271   MS.SHANI      OFFUTT                      DC     81093877242
B75B1994A72B69   JANET         THORNALL                    CO     90012139940
B75B2194A91582   GEORGE        CLARK                       TX     90004821940
B75B28A7891579   RAQUEL        DOMINGUEZ                   TX     90005088078
B75B2A46A85927   BILLY         MCCULLOUGH                  KY     90013730460
B75B37A8597134   IGOR          TKACHEV                     OR     90002077085
B75B519795B265   CARMEN        BROWN                       KY     68077621979
B75B5557172B69   CARLTON J     FERRY JR                    CO     33081055571
B75B5A8A572B62   JACKIE        ORTEGA                      CO     90001660805
B75B6335981642   CASHALEA      FINLEY                      MO     90014803359
B75B659A75B265   MARLENA       MCDONALD                    KY     68033085907
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2222 of 2350


B75B6912393758   NATHAN        SOWDER                      OH     90007429123
B75B72A4797134   HURRUY        ASFAHA                      OR     90005322047
B75B76A3161982   PERRY         WILLIAMS                    CA     90000946031
B75B7942891579   ANDRES        MONTELONGO                  TX     90012679428
B75B815975B265   EDUARDO       ARGUETA                     KY     68018151597
B75B8647131639   SHELLY        LEITZEL                     KS     90006166471
B75B94A645B396   JIMMY         ANDERSON                    OR     90013444064
B75B9A6674B555   PAMELA        HELMS                       OK     90013220667
B75BB53173B321   SHANTELL      ROACH                       CO     90013785317
B75BB6A7593745   KATHY         YOUNG                       OH     90004426075
B75BB88534B52B   HEIDI         HARVEY                      OK     90009438853
B7611522272B69   AMERICA       MITCHELL                    CO     90014425222
B7611683991579   JORGE         DELAFUENTE                  TX     75008216839
B7611966593752   KIMBERLY      HOLMAN                      OH     90009599665
B7612518593758   RYAN          HEBEL                       OH     90014715185
B7613252931639   WILLIAM       GORMAN                      KS     90008202529
B7613411693736   HEATHER       SICKELS                     OH     90013064116
B7613A4A35B396   STEVE         LARA                        OR     90014530403
B7613A57981642   MUKAMBILWA    MUKULU                      MO     90013320579
B76142AA285927   CHRISTOPHER   DALTON                      KY     90013352002
B7615114831639   ALEJANDRA     SEGURA                      KS     22000331148
B7615879593752   KIMBERLY      COX                         OH     90015198795
B761627195B265   SHELINA       CHESSER                     KY     90002992719
B7617763A97B43   JOHNNY        GAINES                      CO     90013017630
B76177A8281642   JESSICA       CLELLAND                    MO     90014807082
B7618A2667B431   STEPHANIE     ROBINSON                    NC     90011280266
B761922A75B396   MARIA         VAZQUEZ                     OR     90011352207
B7619434591579   ANA           AVILA                       TX     75019674345
B7619967736B98   ROBERT        BROWN                       OR     90011519677
B761B394381642   NATHAN        JONES                       MO     90009563943
B761B49A691579   EDGAR         ROSAS                       TX     90012694906
B761B522555953   MICHELLE      FIERO                       CA     90011725225
B761B988131639   AMANDA        ROGERS                      KS     90014059881
B7623138931639   TYARRA        JONES                       KS     90015501389
B762356212B271   JC            JACKSON                     DC     81015715621
B762366548B186   NATHAN        STALLINGS                   UT     90000946654
B7623699272B69   BARRY         HURD                        CO     90013866992
B7623A13993758   SHERINA       LOLLAR                      OH     90013700139
B7624516372B62   OTILIA        BECERRA                     CO     90012675163
B7624697493758   AARON         WASHINGTON                  OH     90004526974
B7626695393758   ERICA         HOBSON                      OH     64587206953
B7626889636155   VICTOR        GUERRA                      TX     73513188896
B7627272961937   EVERTA        TOWNSEND                    CA     90012522729
B7627352277522   THOMAS        PIPES                       NV     43088603522
B762742358B158   RUSSELL       BLAYLOCK                    UT     31079404235
B762749863163B   KELVIN        HICKS                       KS     90000134986
B7627943685927   AYRION        ADAMS                       KY     90002699436
B7627A58476B69   ELVIA         GARCIA                      CA     90014320584
B7627A72486B71   JOSH          SANTANA                     CT     90010110724
B7628196172B62   ROBERT        ROURKE                      CO     33089831961
B7628352277522   THOMAS        PIPES                       NV     43088603522
B7628829393758   ROB           SINK                        OH     90010188293
B7628995172B69   ANTELMO       REYNOSO                     CO     90012139951
B7629261472B62   NICOLE        GENTILLI                    CO     90013732614
B7629A76376B5B   JORGELINA     MORENO                      CA     90010760763
B7629AA6891579   JUAN          MARQUEZ                     TX     75061210068
B762B284772B62   GINA          DURAN                       CO     90006732847
B762B588355953   MARIA         NALEONADO                   CA     90014005883
B762B8A7891579   BLANCA        GARCIA                      TX     90009548078
B762B93662B227   KEVIN         ADAMS                       DC     90001069366
B762B9A4672B69   VERONICA      FELIX                       CO     33055709046
B7631731A3146B   RYAN          HOWARD                      MO     90004547310
B7631821372B69   HERBERT       HIGHLAND                    CO     90011398213
B7631919493758   AMBER         BLACK                       OH     90012509194
B7632448593727   THOMAS        WILLIAMSON                  OH     90010174485
B7632A47172B69   JUAN          JIMENEZ                     CO     33019470471
B7632A93881642   SADONNA       STATON                      MO     90001870938
B763335285B396   WENDI         RESENDIZ                    OR     44548303528
B7633AA7336B98   NIKALAI       LUKENOVICH                  OR     90008500073
B7634385931688   NIESHA        RENEE                       KS     90007243859
B7634663281642   RUTH          LARSON                      MO     90014566632
B7634942455953   KEENEN        KENNEDY                     CA     90011729424
B7635175351356   TAMMY         MILLS                       OH     90006791753
B7635736A81642   DEIDRA        LEWIS                       MO     90014807360
B7635839891579   MARTIN        FELIX                       TX     90014388398
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2223 of 2350


B7635A3935B265   SHAQUEISHA       DAVIS                    KY     90014070393
B7636474472B28   NANCY            FRITCHELL                CO     90009194744
B763648897B489   KENNETH W        BLACK                    NC     90011824889
B7636937955953   ANA              ROMERO                   CA     90014109379
B763745125B396   LONNIE           FISHER                   OR     44580734512
B7637464693752   SHAWNA           DAVIS                    OH     90014714646
B7637477993745   THOMAS           GREER                    OH     64512174779
B7637696655972   MARTIN           THORNTON                 CA     49065136966
B7638276A72B69   DAJUAN           HURD                     CO     90010392760
B7638587493752   CHRISTINE        HAMILTON                 OH     90013055874
B76385A3693745   GEORGE           CARTER                   OH     90011175036
B763876325B265   KEVIN            RALSTON                  KY     90012787632
B76387A5631639   JESSICA          MARTINEZ                 KS     90009927056
B7639438A31688   JEAN             HUDDLESTON               KS     22068774380
B7639A41755953   THEODORE         RAMIREZ                  CA     90004010417
B763B759693758   RANDY            MORRIS                   OH     64555497596
B763B89A381642   SHARITA          JOHNSON                  MO     29057448903
B763B96A185927   APRIL            POLSTON                  KY     90005629601
B7641274A91579   JUANA            GARCIA                   TX     75062892740
B7641646191579   VERONICA         SOTO                     TX     90009116461
B7642439285927   DANA             CASKEY                   KY     90013194392
B7642443391579   DIANA            MARTINEZ                 TX     90010144433
B76426A9291582   ARACELI          MARTINEZ                 TX     75009416092
B764282635B265   AMORELYS         TRUJILLO                 KY     90008658263
B7643181172B62   MARIA            CHAVEZ                   CO     33053811811
B7644471585927   EUGENA           HOWARD                   KY     67077114715
B764458565B396   JOHNNY           DAVIS                    OR     90014175856
B7645396993752   MATTHEW          BOSTWICK                 OH     90012973969
B7645799881642   LORI             FACKLER                  MO     90014807998
B764587665B396   CRISTOBAL        GONZALEZ                 OR     90004378766
B7645A93591579   AARON            CAMACHO                  TX     75003000935
B7646674A5B527   KEVIN            GEARY                    NM     90011156740
B7646682393745   GINA             SPRINGER                 OH     64516636823
B7646851293758   JESICA           HULSEY                   OH     90010148512
B764726AA7B249   MARIA            AGUILAR                  CO     40557012600
B7647623372B69   MARIO            RAMIREZ                  CO     33011496233
B76476A1593758   LAWRENCE         HAGLER                   OH     64532026015
B76477A7541231   BLAKE            GELET                    PA     90012747075
B7648955461987   JUAN             AGUINO                   CA     90011959554
B764952A772B69   KATRINA          RUBY                     CO     90006145207
B764965A32B271   ELY              PINEDA                   DC     90015106503
B7649773393745   JESSICA          HUBER                    OH     90015257733
B764B235693727   CHASITY          RITCHIE                  OH     90005842356
B764B8A7385927   TIFFANY          HARRIS                   KY     90013008073
B765298AA93758   LARRY            BAXTER                   OH     90008089800
B7653198872B69   STACY            BUTTRAM                  CO     33090851988
B7653251893758   TIFFANY          CROLLEY                  OH     90013332518
B7653497493752   ANTHONY          DUHART                   OH     90005054974
B7653775993758   ERICA            BROOKS                   OH     90011057759
B7653819881642   ROSARIO          VALDEZ                   MO     90010208198
B765394A955923   BLANCA           BERNAL                   CA     90012559409
B76539A573163B   CYNTHIA          REED                     KS     90001739057
B7655747293752   TERRY            BELL                     OH     64515737472
B7657378255928   KIMBERLY         FREEMAN                  CA     48059413782
B765757A17B489   LARRY            LINKER                   NC     11092125701
B765876625B396   TAI              WALTON                   OR     90008327662
B7658831131639   DEVONTE          BROOKS                   KS     90011308311
B765B422731639   LISBET           RUIZ                     KS     22052954227
B765B638591579   OLIVIA           MERAZ                    TX     90003296385
B765B978193727   CARLA            PRINTUP                  OH     90002499781
B7663627693752   ANDRE            PRICE                    OH     90012256276
B7664647672B62   RIQUA            DELAROSA                 CO     90010266476
B766465854B563   SARAH            BROWN                    OK     90009866585
B766483A472B69   RACHEL           DIXON                    CO     33089438304
B7665657672B69   JOE              SILLETO                  CO     90014416576
B766583955B535   PATRICIA         ESCAJEDA                 NM     90011768395
B76658AA772463   MARY             CAMESI                   PA     90010928007
B7666878A5B265   MICHELLE         WEBB                     KY     90008938780
B7667182A93745   IMAR IZQUIERDO   VELAZQUEZ                OH     90015251820
B7667413A93752   JESSICA          FULLER                   OH     90015314130
B7668323672B62   MICHAEL          POST                     CO     33034173236
B766848565B396   MARRY            SILVA                    OR     44510364856
B76686AA733624   JULIAN           JANEZ                    NC     90010786007
B7669114755953   JOSE ERNESTO     FERNANDEZ                CA     90009461147
B766B416931688   ALBERTO          REYES                    KS     90002904169
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2224 of 2350


B7671745581642   JUAN            BERNAL                    MO     90014817455
B7671786431639   TIM             VINTHER                   KS     90007327864
B7671A65872B69   PAMELA          JEPSON                    CO     33041470658
B7672A73893758   ZACHARY         MILLER                    OH     90015240738
B767372715B265   CATHY           MCABEE                    KY     90015107271
B7674115372B62   FRANCISCA       MARTINEZ                  CO     33095301153
B76741A6993752   SHARON          NOOKS                     OH     90015101069
B767595695B522   MARY            MENDOZA                   NM     90007029569
B7676545393727   AMBER           BLACK                     OH     64586675453
B7677123355953   MACARIO         FELIX                     CA     90010461233
B7677398472B62   JESSEE          RIEPE                     CO     90014023984
B7677833593727   BRYAN           KNAFF                     OH     90009208335
B767854175B265   KAY-TINA        BRODGEN                   KY     68042175417
B7678867891579   ABIGAIL         CASTANEDA                 TX     75060788678
B7679689193752   TRAVIS          HOLT                      OH     90014916891
B767B174991881   JEONG           KIM                       OK     90013811749
B767B536572B62   HAYLEY          FIGUEROA                  CO     90012145365
B767B745581642   JUAN            BERNAL                    MO     90014817455
B7682365124B64   EBONY           MAKEL                     DC     90001403651
B7682771154151   KILA            HOWARD                    OR     90010827711
B7682A2A485927   CHERIE          COOPER                    KY     90010230204
B7683133A72461   LAUREEN         SHOOK                     PA     90004881330
B7683388491579   VALERIE         SEPULVEDA                 TX     90014273884
B768387465B265   GARY            PETRIE                    KY     90015188746
B7683A82193752   MATTHEW         LONG                      OH     90014420821
B7684399984329   FARID           BEJAR                     SC     90011713999
B7684AA8993727   JULIEM          KNIGHT                    OH     90014370089
B7687271172B69   HEAVEN          MONTOUR                   CO     33028832711
B7687733A2B271   MARY            HUESTIS                   VA     90011857330
B7687982281642   MIKE            AKERS                     MO     90007999822
B768851732B271   TOSIA           BARROW                    DC     90002245173
B768893775B573   TERICA          HOWARD                    NM     90008689377
B768989695B396   FORTUNADO       VASQUEZ PACHECO           OR     90013898969
B768B96AA72B69   CERVANTES       BLANCA                    CO     33075539600
B7691537693727   AMBER           DANIELLE                  OH     90009555376
B769214845B265   MARY VICTORIA   GRIFFITH                  KY     90013281484
B7692223455972   TANIKA          ROMIAS                    CA     49063602234
B7692773631639   JUANITA         TAYLOR                    KS     22087607736
B7693184331639   LAWANA          PINEDA                    KS     22019861843
B769358277B489   KARINA          SUAREZ                    NC     90011825827
B769465854B563   SARAH           BROWN                     OK     90009866585
B7694736785927   CHARELL         HOLMAN                    KY     90002427367
B7694919133452   MARITES         BRATTON                   AL     90006739191
B769541245B396   BRADLEY         JOHNSON                   OR     90000374124
B769666A655953   JAIME           VIDAL                     CA     90012806606
B7697258393752   BRANDI          COCHRAN                   OH     64584442583
B76976A6255953   RICARDO         JIMENEZ                   CA     90011746062
B769829755B265   KENESHA         CHESTER                   KY     90013272975
B7698563971993   JUAN            MUNIZ                     CO     32084905639
B7698855A55953   MARTIN          ESTEBAN                   CA     90011748550
B7699642972B69   MANUEL          GUTIERREZ                 CO     90010246429
B7699911876B31   LIDIA           VAZQUEZ                   CA     90004809118
B769B548293745   TRACEY          GOINES                    OH     90008495482
B76B184A993758   GUADALUPE       FUENTES                   OH     64572338409
B76B1A96441239   CINDY           TASSONE                   PA     90005330964
B76B2146A55953   SAMUEL          GLASS                     CA     90011721460
B76B2423485927   TAMERA          HARTSFIELD                KY     90012204234
B76B2597A55923   KATHALEEN       POK                       CA     90014465970
B76B328272B271   EMILIO          GREEN                     DC     81033002827
B76B41A9555932   TOMAS           MEDEROS                   CA     90000901095
B76B4235361998   DORA            CERROS                    CA     90010442353
B76B4548355953   MICHELLE        NAVARETTE                 CA     90014005483
B76B464672B271   LINETTE         ANDERSON                  DC     90015106467
B76B4664A97B43   MARGARITA       ACREE                     CO     90004036640
B76B4A5675B396   JOHN            CREIGHTON                 OR     90001990567
B76B5128993745   ASHLEY          KILGORE                   OH     90015181289
B76B5194555953   CARLOS          GUZMAN                    CA     90012931945
B76B565A381642   CONSUELO        CASTILLO                  MO     90014806503
B76B5799491973   JERRY           HEDGEPATH                 NC     90013327994
B76B6811A72B69   EDDIE           SONS                      CO     90010358110
B76B7123472B62   JORGE           VILLA                     CO     33079211234
B76B774248B329   WIKESHA         WILSON                    SC     90014277424
B76B783A893752   JOSH            CHANEY                    OH     64578988308
B76B817365B396   DONNY WAYNE     GASKILL                   OR     90012471736
B76B8221884348   QUANG           MAI                       SC     90011152218
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2225 of 2350


B76B82A5493758   CHARLES      TALLEY                       OH     90012842054
B76B869252B271   LEO          KEYEN                        DC     90001556925
B76B8822131639   TONIA        HAMMER                       KS     22048278221
B76B9488172B62   CHANTELL     SOLIS                        CO     90000794881
B76B9557291952   ERICA        WOMBLE                       NC     90011995572
B76BB219872B69   STACEY       COPELAND                     CO     90012532198
B76BB8A7385927   TIFFANY      HARRIS                       KY     90013008073
B76BBA1735B396   BETH         JOHNSON                      OR     90007370173
B76BBA6889286B   ROBERT       ROMO                         AZ     90015440688
B7711265393758   SKYLAR       REID                         OH     90012572653
B771226695B265   GERALD       ELDRIDGE                     KY     90013062669
B7712515681642   FELICIA      BRADDY                       MO     90010185156
B7712543585927   ZACHARY      HARRISON                     KY     90011085435
B7713311193727   BRANDY       HICKS                        OH     90014863111
B7713849793758   BRITTANY     GUNTER                       OH     90011788497
B7713A22172B69   PORTERS      TRANS                        CO     33020830221
B7714682693752   JOHNNIE      MARSH                        OH     90013326826
B7714851772B62   FRANCISCO    CORDOVA                      CO     33011068517
B771512757B489   ABNEL        CALDERON                     NC     90007511275
B7715584A91927   SABRINA      WHITLEY                      NC     17077805840
B771587A181642   MINDY        SYNDER                       MO     29006448701
B7715A1685B396   KATIE        MICHALKE                     OR     90012480168
B771724A57B489   ROMI         REYES                        NC     11050752405
B7717821481642   MICHAEL      MCINTOSH                     MO     90014818214
B7717826172B69   ERICA        COONS                        CO     90012828261
B7717A1928B38B   NORMAN       WALKER                       SC     90015430192
B7718184593758   JAKAORA      BAXTER                       OH     90011461845
B7718847272B69   SYLVIA       PORTUGAL LOVATO              CO     90011178472
B7719425831621   JAVANITA     PONDER                       KS     22045804258
B7719467885927   LELAND       HOLLIS                       KY     90001894678
B7719575331639   BRANDON      TAYLOR                       KS     90008205753
B7719686985927   VANESSA      COLLINS                      KY     90015376869
B7719821481642   MICHAEL      MCINTOSH                     MO     90014818214
B771B731A72B69   ERICK        MARTINEZ                     CO     90013197310
B771B896393752   ANTONIO      HUGUELY                      OH     64587298963
B771B949191324   ROBERT       ROBINSON                     KS     90010999491
B771BA98972B69   OSVALDO      SOLTERO                      CO     90008610989
B7721317593727   RODNEY       SCOTT                        OH     64598673175
B772212335B396   RONALD       JONES                        OR     90014461233
B7722989893752   ALLAYNE      FIELDS                       OH     90001669898
B7723176272B62   MANUELA      MARRUFO                      CO     90014761762
B772327398B325   KENDALL      LITTLE                       SC     90014232739
B772479795B265   ADDIE        PEAVY                        KY     68085987979
B7724AA8976B5B   GABRIEL      ZAMORA                       CA     90015280089
B7726494591579   MARTHA       REYES                        TX     90008554945
B7727A22172B69   PORTERS      TRANS                        CO     33020830221
B7727A7AA91579   SYLVIA       PEREZ                        NM     75005140700
B7728135472B62   SILVERS      TRACY                        CO     33071661354
B772956575593B   JOYCE        CONWAY                       CA     90011775657
B7729973893727   STEPHAINE    AVERY                        OH     90013729738
B772B486985927   SHELIA       NUTTER                       KY     67009274869
B772BA87993752   DUSTIN       KOCH                         OH     90009320879
B7731778381642   ARVEY        TOREZ                        MO     90014077783
B773177987B489   LYNERA       INGRAM                       NC     11052497798
B7731918193758   DANIELL      SOUERS                       OH     90011059181
B7732192131639   ARTHUR       ANDERSON                     KS     90011611921
B7732858355953   JOSE         CHIVEDO                      CA     90014048583
B7734575331639   BRANDON      TAYLOR                       KS     90008205753
B77351A7231639   MICHAEL      WILLARD                      KS     90000571072
B7735565361982   BRETTNEY     CLARK                        CA     90012965653
B7735765793757   NICOLE       WATERS                       OH     90001267657
B7736A9859182B   ALLISON      MAHONEY                      OK     21083460985
B773763742B271   NORMA        BENAVIDES                    DC     90015106374
B7737717691579   ABRAHAM      MELCHOR                      TX     90009847176
B7738AA637B489   ODETTE       GRANT                        NC     11061080063
B7739246172B47   MANUEL       MEDINA                       CO     33030422461
B77392A7772B69   DIANA        QUINTANA                     CO     90002072077
B773B84715B396   VIC          KIOLE                        OR     44504698471
B773B92645B265   CASIMIRO     PEREZ                        KY     90015479264
B7741285781642   ANNETTE      TURNER                       MO     90014392857
B7741547572B62   TRACE        SMITH                        CO     90014705475
B7741A14472B69   DAVID        LEWIS                        CO     33076460144
B7741A9859182B   ALLISON      MAHONEY                      OK     21083460985
B7742894A24B55   JOSEPH       QUEEN                        DC     81020438940
B77428A1993752   SAMANTHA     MAPES                        OH     90011178019
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2226 of 2350


B7743262191579   ROBERT       JORDAN                       TX     90014812621
B7743823793758   VIRGINIA     HUGHES                       OH     64540968237
B7743878A5B265   MICHELLE     WEBB                         KY     90008938780
B774414756193B   ISMAEL       MORALES                      CA     90005621475
B7745159855953   YSENIA       VALLADARES                   CA     90011761598
B774722682B271   MATOKA       GREEN                        DC     90014872268
B774726864B277   DENNIS       ZAGER                        NE     90013002686
B774727628B142   RUTH         JEPSON                       UT     90003382762
B77475A9A55953   MARTINA      AVILA                        CA     90015115090
B7747791872B69   COTY         OLIVER                       CO     33047467918
B774873555B265   ADIANEZ      SOLER                        KY     90013847355
B7748962585927   ESTEPP       LIDIA                        KY     90014639625
B77489A4181642   JOSE         ORTIZ                        KS     90014819041
B7749388872B69   TAWNY        TAPIA                        CO     90006093888
B774B63545B265   SHAUN        BURCH                        KY     68084556354
B774B65A69713B   TRACY        MC LAIN                      OR     44509916506
B774B9A5273272   FLIPE        GARICA                       NJ     90014259052
B7751237493752   LA SHONDA    MCCOY                        OH     90001352374
B7751277472B69   ROBERTO      CAMACHO                      CO     33054062774
B775157A791579   BATISTA      RAMON                        TX     75033795707
B7751589A91563   ADRIANA      CHACON                       TX     75012155890
B775221A655953   MIGUEL       GONZALEZ                     CA     90012042106
B775321A85B396   CING         KIM                          OR     90008442108
B7753264A5B555   DEVLIN       LARA                         NM     90013032640
B77534A6A91579   CRISTIAN     PONCE                        TX     90014314060
B7753657633634   PORSCHE      CRAWFORD                     NC     90012646576
B775514A385927   PAYGO        IVR ACTIVATION               KY     90014491403
B7755716393727   CHABELA      GRAVES                       OH     90011877163
B7756822472B69   CATHY        RODRIGUEZ                    CO     90013318224
B7757663193758   GARY         TOLLIVER                     OH     64592796631
B775832262B271   DASHONE      BYERS                        DC     90011253226
B775855468B144   RICK         GILLETT                      UT     90011945546
B77588A2A31639   MARIA        SALAZAR                      KS     22086388020
B7759398491579   DELIA        DIAZ                         TX     90014273984
B77595A837B322   JORGE        FRAPICCINI                   VA     81076435083
B775B12122B274   NAOMI        TERRANOVA                    DC     90014901212
B775B2A6172B62   PAT          JOHNSON                      CO     33021382061
B775B884293752   IVAN         GRAVES                       OH     90015198842
B7761129A8B825   JESS         MERCADO                      HI     90009641290
B7761151581642   JONATHON     SNELL                        MO     90010911515
B7761234A55953   EDGAR        PULIDO                       CA     90012892340
B7761772872B62   JEREMY       PAIZ                         CO     90013307728
B776257156192B   RAY          CHAVEZ                       CA     90014675715
B7763233672B69   CARLOS       SANTIZO                      CO     90007232336
B7763714272B62   BRENDA       TALAMANTES                   CO     90013877142
B7763753972B69   PATRICIA     HARRIS                       CO     90012807539
B776415A372B69   OBDULIA      DURAN                        CO     90014901503
B7764732397157   BENNY        NISPEROS                     OR     90000697323
B77655A6331639   RICHARD      EMERSON                      KS     22069155063
B7766268124B64   TERENCE      BROWN                        DC     90012342681
B7766793924B55   TOMMY        CARTER                       DC     81021877939
B77679A234B542   KERRY        HALL                         OK     21558609023
B7768244985927   ELIZABETH    JONES                        KY     90014152449
B7768389291574   PALMIRA      ORTIZ                        TX     75012163892
B7768532681642   SERGIO       LARA                         KS     29077745326
B776881112B271   TERRY        DOUGLAS                      DC     81040728111
B7769739472B89   JOEL         ROJAS                        CO     90006047394
B776B51967B489   ERICA        MILLER                       NC     11015595196
B7771359A91579   DAVID        SKUES                        TX     75016813590
B7771511172B69   ANTONIO      CASTILLO                     CO     33014305111
B7772471893752   KELLY        RIGGS                        OH     64567204718
B7772619171932   ALEXA        SHAWCROFT                    CO     90004726191
B777375A35B396   TREVOR       LARSEN                       OR     90015107503
B7774947A3148B   STEPHEN      MEYERS                       MO     27594049470
B7774A56991579   ALICIA       REYES                        TX     90006100569
B7775937A5B396   VERONICA     ENVORO                       OR     44596549370
B7776612172B69   MONETTE      ROBERTS                      CO     33095636121
B777735592B271   GIERMO       BATRES                       DC     90015113559
B777736692B22B   DESCHAWN     GREENWOOD                    DC     90013223669
B777835914B52B   SAVANNAH     DAVIS                        OK     90007533591
B7778523293758   CHANTAL      FAVORS                       OH     64553655232
B7778957172B62   ELIZABETH    GOMEZ                        CO     33009989571
B777927A45B265   MICHAEL      HORAN                        KY     90014702704
B777B924A93757   LLOYD        SMITH                        OH     90008639240
B777BA53385927   MIGUEL       SANCHEZ                      KY     90010280533
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2227 of 2350


B7781565672B62   ARACELI            LOPEZ                  CO     33002775656
B7781788931639   KEITH              RATHER                 KS     90010737889
B7781861A55953   CRISTOPHER         BOATMAN                CA     90014698610
B7781A8A45B396   PABLO              FRAGA                  OR     90012980804
B7782A23191579   ROXANA             GONZALEZ               TX     75062760231
B7784198491579   ALEJANDRO          ROBLES                 TX     90012701984
B778517A293727   NICOLE             HISERMAN               OH     64599121702
B778561358B131   JOHN               KOVALENKO              UT     90010476135
B77856A4793758   LORI               SCHMIDT                OH     90012466047
B778672A493752   NAOMI              THOMPSON               OH     64599567204
B778832835B396   ELBERT             OSTEEN                 OR     44567003283
B7788541531639   DARYEL             NELOMS                 KS     90009735415
B7788578972B62   CHRIS              WILLIAMS               CO     90010945789
B7788A36A93752   SUMMER             KNIGHT                 OH     90011090360
B778922165B265   LEONARDO           JARA                   KY     90011132216
B7789275393752   DAWN               MOORE                  OH     90005662753
B7789AA7572B69   VIANNEY            NARANJO                CO     90002010075
B778B17455B396   WESTLEY JOSEPH     WESTFALL               OR     90010721745
B778B64325B396   TERRY              STEWART                OR     90014166432
B778B753285927   PAYGO              IVR ACTIVATION         KY     90012207532
B778B95435B396   TIM                MILLER                 OR     90013639543
B7791213955931   ALMA               DE LA CRUZ             CA     90005102139
B7791322555953   PAUL               PERRY                  CA     90003923225
B779141965B396   ALAN               BAKER                  OR     90013334196
B7791588493758   MARLEY             PEOPLES                OH     90015155884
B7792361A55953   CHAD               DAMIANI                CA     90013023610
B7792398171951   JASON              OSBORN                 CO     32043843981
B7792A48972B69   EVA                HOWELL                 CO     90009440489
B779323626192B   ALLEN              CANALES                CA     90005112362
B7793741972B69   JOEL               ESTRADA                CO     90010677419
B779399A15B396   WILLIAM            COSTON                 OR     44509399901
B7794185791579   RAYMOND            GARCIA                 TX     90013871857
B77955AA272B69   MARILYN            MEYERS                 CO     33056175002
B7795937A51339   NICOLE             STEVENS                OH     66093289370
B7796975151378   JACQUELINE         CHAMBERS               OH     90012799751
B7797414A5B396   AUGUST             PECKAHAM               OR     90010864140
B7797678381642   ALEJANDRO          TOBON                  MO     29068346783
B779799472B841   ATTA               HOURI                  ID     90015379947
B779842385B265   MARIN              GOMEZ                  KY     90014104238
B7798778331639   PAYGO              IVR ACTIVATION         KS     90013667783
B7798889193752   BLANCA             DOMINGUEZ              OH     90008328891
B7799853493727   ROBERT             STROUD                 OH     90011508534
B7799AA4455953   MARIO              JIMENEZ                CA     90012280044
B779B25A972B22   DEANNA             BARAJAS                CO     90008342509
B779B37278165B   WILLIAM            MELTON                 KS     90004523727
B779B385185927   MELISSA            VERDIN                 KY     90010993851
B779B43112B271   MARTENA            WILLIAMS               DC     90009114311
B779B6A7455953   CLAUDIA CRISTINA   MACIAS DE SANCHEZ      CA     90014486074
B779B946A93727   JENNIFER           GEIGER                 OH     90011409460
B77B1862257564   RUBY               IBAVE                  NM     90006928622
B77B3A49985942   LIZZIE             PIERCE                 KY     90003280499
B77B4917572B69   ELYSIA             MARTINEZ               CO     33049279175
B77B4A25491582   IRMA               ORTIZ                  TX     90006920254
B77B565A193727   SEITE              YOUNG                  OH     90015116501
B77B7169731639   PAIGE              QUIER                  KS     90003181697
B77B7299793758   WALTER             PRICE                  OH     64510332997
B77B7669891579   MYRNA              MEDRANO                TX     75023486698
B77B7715181642   JOSE               MARTINEZ               MO     29013807151
B77B7A9A593745   CINDY              HALEY                  OH     64516390905
B77B878845B265   DATREIL            KEITH                  KY     90005237884
B77B88A8791579   MAYRA              MEZA                   TX     90013158087
B77B8A34A5B389   ADAM               RUST                   OR     90005020340
B77B993114B245   SHERI              ANDERSON               NE     90001339311
B77BB7A4393752   DALESHA            GARRETT                OH     90010167043
B77BB86385B231   JAMES              DENNIS                 KY     90014248638
B781119A72B271   MICHELLE           VANTERPOOL             DC     90012841907
B781154475B541   SUSAN              GARCIA                 NM     90011315447
B7813237391579   DIAZ               NORMA                  TX     75094292373
B7813894A55953   IVAN               ARIAS                  CA     90013048940
B781584275B265   EMMANUEL           CASTRO                 KY     68009358427
B7816951A72B69   SHEENA             HACKNEY                CO     33000569510
B7816A7A381642   AVA                HARRIS                 MO     90014850703
B781714692B271   DARIYAH            GREEN                  VA     90012591469
B7817158831639   MELODY             MOSES                  KS     22003821588
B7817415893727   RICKEY             DENNIS JR              OH     64572894158
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2228 of 2350


B7817553891579   KRISTEN      HERMANSEN                    TX     90010255538
B7817614497B42   BRYAN        MAGLIETTA                    CO     90007946144
B7817773A91298   DEHLIA       BECKES                       GA     14515807730
B7818525993752   LACHON       TURLEY                       OH     90010835259
B7818582A55953   JUAN         LLAMAS                       CA     90011785820
B78187A9772B69   DANTE        MARTINEZ                     CO     90013207097
B7818A44161842   RICHARD      LOYET                        IL     27511950441
B7819231561984   CRISEIDA     WERDENBERG                   CA     46096352315
B7819271491579   EDUARDO      GARCIA                       TX     90015072714
B781936A455953   CHEZARAY     UPKINS                       CA     90011783604
B7819A25672B69   JAMELA       MILLS                        CO     90002830256
B781B397241277   COLLEEN      DODSON                       PA     90005133972
B781B489472B69   ALFRADO      FRANCA                       CO     90014494894
B781BA5735B265   JENNIFER     BAYENS                       KY     68060360573
B7821156131639   CHARLIE      BYERS                        KS     90011121561
B7821832555953   RINA         DUARTE                       CA     90012818325
B782184A72B271   THOMSINA     SMITH                        DC     90013748407
B782237AA8B142   CARSON       CLIFT                        UT     90000943700
B7822958A5B255   DAVID        ISMAIL                       KY     90012769580
B78243A8961999   TERRENCE     COTTER                       CA     90001923089
B782451272B271   KINITA       MEDLOCK                      DC     90010735127
B782483235B265   SUMTHIN      CUTE                         KY     90001638323
B7825686755972   NELDA        MCNEALY                      CA     90005986867
B782643292B886   RITA         OUTLAW                       ID     90002774329
B7826934A55953   DENISE       MARTINEZ                     CA     90012229340
B7827577772B69   RONALD       BOLEY                        CO     90013075777
B7827777431639   MARCEE       HARRIS                       KS     90013337774
B7827A83181642   ERICA        HUNT                         MO     90014850831
B7828358293727   SHARON       DUDLEY                       OH     90008853582
B782838AA72B62   TOUCHEE      WASHINGTON                   CO     90012573800
B782864149716B   MAYRA        CUELLAR                      OR     90008296414
B782899795B265   YASMIN       BAKER                        KY     90013909979
B782913465B265   MICHAEL      FOARD                        KY     90011351346
B78293AA95135B   BRENDA       BALLEK                       OH     90014983009
B783121625B396   DILLON       HOUGH                        OR     44518202162
B7831927772B62   DESIREE      MAESTAS                      CO     33079859277
B7832835893727   GARY         WALDEN                       OH     64589388358
B7833473691576   JUAN         SIMENTAL                     TX     90009064736
B7833953493752   LARRY        REID                         OH     64560279534
B7833982261925   CRISTAL      GUTIERREZ                    CA     90002669822
B783399777B489   GOSAFAT      RODRIGUEZ                    NC     90011829977
B7834591331639   TRACEANN     LUDWIG-ADKINS                KS     22081575913
B7834593893758   RICHARD      ENGLE                        OH     90010325938
B783478278B833   MELISSA      LOKOT                        HI     90014737827
B7835A2A77B489   KAYLA        FINLEY                       NC     90011830207
B7835A77285927   BRANDON      BISHOP                       KY     90014030772
B7836A2A77B489   KAYLA        FINLEY                       NC     90011830207
B783731815B396   ANDREW       MCDONALD                     OR     90011353181
B783764A181642   CASSANDRA    MCPHERSON                    MO     29054496401
B783821192B271   JOHNTRE      SMITH                        DC     90013002119
B7838657633634   PORSCHE      CRAWFORD                     NC     90012646576
B78386A3591579   ANGEL        RICO                         TX     90014916035
B783B284A57565   SANDRA       CASTILLO                     NM     90012572840
B783B736285927   HELEN        KABAGENYI                    KY     90008247362
B783B9A7172B69   CORDOVA      SABRA                        CO     33041209071
B784136995B396   ANDREA       WATSON                       OR     90006853699
B7842178731639   ERICA        DAY                          KS     90014301787
B784234245B265   JOHN         COLLARD                      KY     90014353424
B784297655B396   ANTONIO      MORENO                       OR     90007059765
B7842A92881642   NICOLE       LOMAX                        MO     90014850928
B7843122222963   KEITH        BELLAMY                      GA     90015431222
B784334A591579   JESSE        LARA                         TX     90000543405
B7843824461976   MINERVA      CORTEZ                       CA     90011398244
B7843A1685B396   MICHAEL      BRUCE                        OR     90014500168
B78441A3755953   HERMINIA     ALVAREZ                      CA     90011931037
B784437AA93736   TERRY        MCCOMBS                      OH     90000603700
B7844427972B47   VICTORIA     ROUNDTREE                    CO     33082114279
B7844466A54122   LAURA        HONER                        OR     90014804660
B784447185B396   DON          CROTTY                       OR     44555864718
B784537734B541   ANTIGANEE    KEMP                         OK     90012203773
B7845414281642   CHARLENE     WILLIAMS                     MO     90007434142
B784546A85B396   ELIJAH       SCHNEIDER                    OR     90013014608
B78457AA991257   PAMELA       MCGOWAN                      GA     14502657009
B78458A2393727   ORLANDO      GUZMAN                       OH     64589978023
B7846171361925   JESUS        CASTRO                       CA     90010991713
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2229 of 2350


B78463A295B265   JANET             HESTON                  KY     68030733029
B7846469393758   PRESTIGE          ENTERTAINMENT           OH     64543364693
B7846556393752   DEWANDA           TAYLOR                  OH     90013505563
B78467A4355927   LISA MARIE        CARDENAS                CA     90000847043
B7847664755953   LINDA             VILLA                   CA     48039326647
B7847839391579   RODRIGO           HERNANDEZ               TX     90001228393
B7848A14193727   WILLIARD          DANZEISEN               OH     64528540141
B7849221A93752   WILLY             RILEY                   OH     90004952210
B784924A685976   JANET             GIRDLER                 KY     90000862406
B7849477681642   JOSE              SANCHEZ PENA            MO     29051384776
B784B979857565   VERONICA          GONZALEZ                NM     90011009798
B785137AA93736   TERRY             MCCOMBS                 OH     90000603700
B7852263376B5B   HAILEY            WOODWARD                CA     90000392633
B7852267272B69   THERESA           CHAVARRIA               CO     33098282672
B7852639A3163B   TOMARA            TREGO                   KS     90006606390
B785268828B325   JAURAN            GREEN                   SC     90014236882
B785271167B478   ARKEVIOUS         ARMSTRONG               NC     90010297116
B7853A67272B62   MARIA             ROSALES                 CO     33013450672
B7854458193758   MICHELE           THOMPSON                OH     64500904581
B785458347B322   SALAHADIN         HAGOS                   VA     90006955834
B7855554791579   ANGELICA          VASQUEZ                 TX     90010255547
B785557A331639   CECILIA           RAMOS                   KS     22061315703
B7855792742332   POLLY             SMITH                   GA     90011837927
B7855AA2472B81   GERARDO           GARCIA                  CO     90011830024
B7857518281642   ROBERT            HAGGET                  MO     90006995182
B7858229793727   BRITTANY          SMITH                   OH     90014152297
B7858747154151   TERRY             WENRICK                 OR     90001367471
B7858753A72B69   VERKO             VARGAS-BARRETO          CO     90011357530
B78587A3872B62   KARINE            OLSON                   CO     90004767038
B7858A5895B265   KATRINA           SMITH                   KY     90007700589
B7859654185927   LANCE             COMMADORE               KY     90010256541
B785B145581642   NIQUILA           MCBRIDE                 MO     90011861455
B785B46719182B   R                 BELL                    OK     21029034671
B785B927693758   LACHRISTA         SPRIGGS                 OH     90014759276
B7861869781642   RENATA            WINTERS                 MO     29054508697
B7861887693727   ANTOINETTE        HARRIS                  OH     64537088876
B7861A68A93758   MYRACLE           THOMPSON                OH     90013860680
B7863125781642   SAUNNIECE         GORDON                  MO     90014851257
B786361512B271   VANESSA           AGNEW                   DC     81047186151
B7865175255953   TAMMY             GARRISON                CA     90015121752
B7865259485927   FRANCISCO         VERASTEGUI              KY     90014982594
B7865428572B69   EMANUEL           CALDERON                CO     90012414285
B7865545855953   JOSE              CARDIEL                 CA     90015065458
B786581342B888   VERONICA          DUARTE                  ID     90007018134
B786624345B265   JAMIE             HARRIS                  KY     68089582434
B7866355291257   CHRISTIAN         SIERRA                  GA     90003203552
B7866493A31688   JORGE             ESQUIBEL                KS     22010994930
B786793985B386   WILLIAM           HULL                    OR     44596259398
B7868973991579   WILLIAM           PERRY                   TX     90013679739
B78692A3155953   GENARO            LINARES                 CA     90015092031
B786B72A65B265   JANA              HUDSON                  KY     90012697206
B786B73935B384   JUAN              SANTOS                  OR     90001067393
B786BA38861982   SHEILA            CENTER                  CA     90007650388
B7871615A93727   EVAN              VINCENT                 OH     90003936150
B7871848272B69   INGA              ABBOTT                  CO     90012448482
B7872214172B69   TREYVON MARQUIZ   THOMAS FISHER           CO     90014392141
B7872896172B69   RICARDO           RAMOS                   CO     33040158961
B7872A13793727   ADESINA           BENTON                  OH     90010640137
B7873258593727   CHRIS             BRUMBAUGH               OH     64532282585
B78743A6185927   JOHN              WALKER                  KY     90012683061
B7874425172B69   JOE               ESTRADA                 CO     33010454251
B7874987593783   NATASHA           HENRY                   OH     90011049875
B7875133755953   HARVEY            SCOTT                   CA     90011801337
B78756AA281642   WILLIE GENE       BAILEY                  MO     90012506002
B7876438172B69   CHRIS             GRANT                   CO     90004994381
B7876489793727   TIFFANY           ENGLE                   OH     90010144897
B78764A6255956   ESTEBAN           GOMEZ                   CA     90006404062
B7876732193758   KATHY             COLLINS                 OH     90014517321
B787717323B352   RUSSELL           WARD                    CO     90010511732
B787749A693752   COURTNEY          LATTIMORE               OH     90011454906
B7878A8755B231   CAROLYN           LEWIS                   KY     90009160875
B7879639691579   ISELA             GILLAM                  TX     90015126396
B78797A3455953   TINA              GARNICA                 CA     90012967034
B7881242A2B23B   TAKISHA           BRYANT                  VA     90011412420
B788154115B265   JASON             CLARK                   KY     68043725411
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2230 of 2350


B7881582991579   PATRICIA     MESTA                        TX     90014825829
B78823A8493727   NANCY        JONES                        OH     90003453084
B788245327B478   OSMAR        ZAPATA                       NC     90014704532
B7882711172B62   FRED         TAPIA                        CO     33088607111
B78851A3493752   TAMIKA       DONALDS                      OH     64516251034
B788524A95B265   TIFFANY      NALL                         KY     90008042409
B7885326A55953   MARIN        SANCHEZ                      CA     90011803260
B7885537493727   ROSALIND     LEININGER                    OH     90003395374
B7886254185927   GABRIEL      MUNOZ                        KY     90014092541
B788636655B265   PEDRO        PINA                         KY     68075753665
B7886678155925   DENNIS       LAUGHLIN                     CA     49062876781
B7887326A55953   MARIN        SANCHEZ                      CA     90011803260
B7887887892871   JOVANI       DIAZ                         AZ     90009708878
B7887A83991579   ARIANA       DROBET                       TX     75060450839
B7888469372B62   JUSTIN       TORREZ                       CO     90011264693
B7889161591579   DESIREE      MUNOZ                        TX     90009071615
B7889832672B62   DEBORAH      CHRISTIANSAN                 CO     33087388326
B788B1A9193727   ANDY         JARNIGAN                     OH     90014841091
B788B213672B69   MARIE        RODRIGUEZ                    CO     90014752136
B788B277385927   MONICA       MARKS                        KY     67091842773
B788B379281642   JAMIE        KNAUFF                       MO     90014853792
B788BA13993758   ASRAA        HASAN                        OH     90003020139
B7891443561985   FREDI        MACIAS                       CA     90007564435
B789166AA7B489   ANGELA       CORRELL                      NC     11080786600
B7891774991579   ELIZABETH    TORRES                       TX     90015127749
B7891837A72B62   THERESA      GARCIA                       CO     33083108370
B78921A2522963   LOUIS        WASHINGTON                   GA     90014291025
B7892672491579   IVONNE       ALARCON                      TX     75075496724
B7893381793745   THERESA      ELLISON                      OH     64578463817
B7894716293727   HEATHER      STUART                       OH     90008587162
B789542527B42B   TITO         MENJIUAR                     NC     90013364252
B78956A6142332   ASHLEY       MOORE                        GA     90014176061
B7895923972B62   JOSHUA       CLAPPER                      CO     90014849239
B7896116793752   MARTY        HICKS                        OH     90011091167
B78968A9991574   EDUARDO      FERNANDEZ                    TX     90013788099
B7897116793752   MARTY        HICKS                        OH     90011091167
B7897291172B62   PERLA        JIMENEZ                      CO     33076792911
B789773697B449   MARY         CARTER                       NC     90004387369
B7897A28124B64   MONIQUE      BYRD                         DC     90012870281
B7898A31791579   EVELYN       ORTA                         TX     90014470317
B7899576393752   ANGELA       JACKSON                      OH     90007395763
B78B14A3924B38   OUMOU        KANAGO                       MD     90008674039
B78B1842A31639   DEVON        CASTANEDA                    KS     90003888420
B78B1A28293727   KIRSTIN      SMITH                        OH     90001440282
B78B2311972B69   NUNO LOPEZ   MARTA                        CO     33025293119
B78B237695B396   ALEJANDRA    MORFIN                       OR     90013303769
B78B289457B489   VALERIE      STONE                        NC     90011828945
B78B366A15B265   JENNIFER     BAUMAN                       KY     90012296601
B78B36AA55B196   THOMAS       FARO                         AR     23077006005
B78B5329691579   SARA         RODRIGUEZ                    TX     90011413296
B78B535948B38B   TAFRA        ROBINSON                     SC     90013933594
B78B62A5172B62   ELIAZAR      SALINAS                      CO     33054032051
B78B643942B271   JUANITA      HAMMOND                      DC     90010534394
B78B759278B14B   MATTHEW      MOWER                        UT     90008265927
B78B8153872B62   STEVE        CARLLOTTA                    CO     90012681538
B78B961655B396   DEQUANTE     CARSON                       OR     90015236165
B78B9A27993745   REGINA       BURNS                        OH     90002510279
B78B9A84193727   SISTINA      BARNETT                      OH     64566880841
B78BB45829182B   FELISHA      BROWN                        OK     90001114582
B78BB49785B548   TANYA        LOVATO                       NM     90001674978
B78BB5A7681642   SHERMAN      DORSY                        MO     29021665076
B78BB782372B69   KENNEDY      GEINNY                       CO     33052357823
B78BB79982B271   TOBIE        MISER                        DC     90003437998
B78BBA2725B371   ALBERTO      GOMEZ                        OR     90001330272
B7911662972B69   BRANDON      DARNELL                      CO     90013386629
B7911855791579   WENDY        TEJEDA                       TX     90010128557
B79118A975B265   JAKYMBRIAH   BEARD                        KY     90015218097
B7912727A8B192   CASSIE       STEVENSON                    UT     31017657270
B7913197136B98   MATT         LENOIR                       OR     90012751971
B7913677191948   STEPHANIE    URBINA-NIEVES                NC     90012486771
B7913769885927   AMAMGU       LUNDUELO                     KY     67061777698
B7913A61A93745   PAUL         CASE                         OH     64597010610
B7914175255953   TAMMY        GARRISON                     CA     90015121752
B7915494193752   SHAREE       SUMLIN                       OH     90010404941
B7916161422963   LOU          BLATON                       GA     90014121614
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2231 of 2350


B7916252172B69   STEVE        MCGRAW                       CO     90014802521
B7916852231639   RATANA       GERMAN                       KS     90003568522
B791716325B592   JOSE         FUENTES                      NM     90013641632
B791744A324B64   MARGARET     AROTIMI                      VA     90011194403
B7917944855953   RONDA        SALCIDO                      CA     90014979448
B791877A893727   KHRISTINA    HUIST                        OH     64543957708
B791884345B265   WAYNE        WOODS                        KY     90013238434
B7919414355979   MICHELLE     REA                          CA     49070024143
B7919661693752   ALEAHA       BRANHAM                      OH     64520076616
B791B218393727   KATHY        HEFFLIN                      OH     90010772183
B791B48358B186   GALLEY       DARIN                        UT     90003984835
B791B624672B62   ROBERT       GARCIA                       CO     90012406246
B792146795B396   JOSE         MADRIGAL                     OR     44561994679
B7921821293745   HELEN        SALYER                       OH     90002828212
B792288A87B489   KIMBERLYN    MCMILLIAN                    NC     90006718808
B7922AA6484367   DIANA        VAYAS                        SC     19094180064
B792311695B396   KEN          MULLEN                       OR     90013931169
B792459975B265   MONTEZ       SMITH                        KY     90015055997
B7925453693738   CRYSTAL      HEFLIN                       OH     90001824536
B792557682B271   LEON         KING                         DC     90003215768
B792594495B265   CALVIN       CHARLES                      KY     90009319449
B7926312831639   AMANDA       REED                         KS     90014153128
B7926471481642   JOSHUA       BARNES                       MO     90014854714
B792733565B265   JENNIFER     REEVES                       KY     90012633356
B7927A58A5B131   LATASHA      CROSS                        AR     90009830580
B7928574893752   THOMAS       BANDURA                      OH     90014845748
B79292A6691579   SYLVIA       RAMIREZ                      TX     75060192066
B792979225B396   JEFFREY      RUTLEDGE JR                  OR     90008157922
B792999A531639   NATHAN       ROBINSON                     KS     22086609905
B792B491791579   MONIQUE      MATA                         TX     90005174917
B7931312785861   IBARRA       JUAN CARLOS                  CA     90001073127
B7931319372B3B   HELEN        BOTTO                        CO     90011533193
B7931974293758   WILLIAM      BAER                         OH     90014899742
B7933555555953   ROSA         CARINIO                      CA     90011825555
B7933741391579   JAMES        RODMAN                       TX     90011877413
B7933A5A95B396   BARBARA      MARTINEZ                     OR     44515420509
B7934236193727   LEAH         JACKSON                      OH     64583042361
B7934761391579   LUZ          DOLORES ANDUJO               TX     90012547613
B7935137655972   RUDY         OROSCO                       CA     90005991376
B7935424585927   ADRIENNE     BRAUDIS                      KY     67054404245
B7935AA5755953   TANNER       GALVAN                       CA     90014150057
B7936353591579   LAURA        AMAYA                        TX     90002333535
B793739712B248   BRITTANY     MATHIS                       DC     90013433971
B7937597393745   JAMES        BARNETT                      OH     64570275973
B7937678872B62   DORAE        WILLIAMS                     CO     90012966788
B793771A524B64   JOSE         RIVERA                       DC     90002587105
B7937AA5755953   TANNER       GALVAN                       CA     90014150057
B793817845B265   DELVON       REDD                         KY     90010971784
B7938619672B69   JESUS        OCHOA URIBE                  CO     90014266196
B793875A755953   JOSUE        ROBLEDO                      CA     90009997507
B7938846A5593B   DESIREE J    DOMINGO                      CA     90001778460
B7938A7665B396   DEMETRIA     MARRION                      OR     90009740766
B793B536172B69   JEANETTE     OSBORN                       CO     33090135361
B793B72217B489   JUAN JOSE    HERNANDEZ                    NC     90011837221
B793B762557444   ERIC         STUTZMAN                     IN     90012577625
B793B9AA14B256   ISABEL       ORTIZ                        NE     26063599001
B793BA4A272B62   EDWIN        BELLO                        CO     90013790402
B794153A95B255   GINA         EMBRY                        KY     90010645309
B794171679182B   TERI         GRAVES                       OK     21064877167
B7942244555993   LONNIE       CUPIT                        CA     90012292445
B79437A8491579   JOSE         PACHECO                      TX     75048997084
B7943A72372B62   YOLANDA      SILVA                        CO     90004890723
B79441AA191579   GILBERT      SANDOVAL                     TX     90014741001
B794446127B32B   REGINA O     NESIAMA                      VA     90004534612
B7945252A91582   ROSIO        BORJON                       CO     90007872520
B7945346871921   MARVINA      PANAGOS                      CO     90013963468
B79453A594B935   JOADRIAN     WILLIAMS                     TX     90001313059
B7945763381642   JAMIE        ROBINSON                     MO     29079687633
B7947136455953   XOCHTIL      RAIMEZ                       CA     90011821364
B7947853393752   TASHA        WADE                         OH     64578468533
B7948923791579   MALDONADO    EDMUNDO                      TX     90000579237
B7948976693727   PATRICIA     NAPIER                       OH     90009379766
B7948A3925B265   TAMARA       STONE                        KY     90015510392
B7949179455953   JUAN         DE LA TORRE-TORRES           CA     90011821794
B79492A7731461   ROBERTO      CRUZADO                      MO     90012642077
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2232 of 2350


B794971145B396   RAPHAEL      HESSE                        OR     90014987114
B7949953355953   YSIDRA       ROSALES                      CA     90014159533
B794B312A31639   BRENDA       MORALES                      KS     90013633120
B794B622955993   LONNIE       CUPIT                        CA     90012246229
B794B623285927   SYGLENDA     FAULKNER                     KY     67049786232
B794B969193758   MELINDA      NOBLE                        OH     90010279691
B794B97742B271   THOMAS       GREEN                        DC     90012529774
B7951622181642   CHRISTINA    GARCIA                       MO     29094436221
B7952254742332   JOHNNY       JEFFRESS                     GA     90014182547
B79524A9581642   ROSEMARY G   MUZQUIZ                      MO     29001654095
B795397742B271   THOMAS       GREEN                        DC     90012529774
B7955142993758   LAURA        KELLOGG                      OH     64553991429
B7955627385927   CHANGABOBA   MULUME                       KY     90007976273
B795589762B271   ROY          NELSON                       DC     90010218976
B7955A31172B84   ALFONSO      MARQUEZ                      CO     33066880311
B7956323A93752   BRANDI       SNYDER                       OH     90013583230
B7956515355972   GEORGE       WEBBER                       CA     49000455153
B7956588855953   ANTONIO      AGUILAR                      CA     90011605888
B7957348A55953   EULALIO      CASTILLO                     CA     90011823480
B7957613581642   CRISTIAN     GOZALEZ                      MO     90014856135
B795817A891579   MARYJANE     MACIAS                       TX     75063531708
B7958493693758   ADAM         WILSON                       OH     90014874936
B795872155B265   VIRGINIA     WILCOXSON                    KY     90010577215
B795938A793727   BEVERLY      JACKSON                      OH     64589063807
B7959681291579   JESUS        CASTRO                       TX     90011106812
B7959737472B62   ANIBAL       MARQUEZ                      CO     90004797374
B795B254972B69   MARIA        HERNANDEZ                    CO     33009262549
B795B61A591579   MARIA        TENA                         TX     75050156105
B795B775393758   MARTINA      CALDWELL                     OH     64537467753
B795B971193752   LAVAYA       KETTLEHAKE                   OH     64586759711
B7961167993758   AMBER        WILLIAMS                     OH     90013151679
B796217A393752   ANDREWS      SUTTLES                      OH     90012021703
B7962496955972   EMILIO       BRISENO                      CA     90008794969
B796283455B265   STEFAN       SAJIC                        KY     68033418345
B7963914693758   CAROLYN      HOLMES                       OH     64569609146
B7964753581642   JUAN         NAVA                         KS     90008747535
B796541A947979   IMARI        CRISOSTOMO                   AR     90001994109
B7965785493758   NESE         KOEHLER                      OH     90014517854
B7965798261937   MAYRA        QUIJADA                      CA     46015577982
B7965841855953   MARIA        HERNANDEZ                    CA     90011828418
B7965A24633687   VERNICA      AGUILAR                      NC     90001830246
B7965A5A931639   MONICA       SMITH                        KS     90011960509
B7966544372B62   MARICELA     CHAVEZ                       CO     33093375443
B7966666893747   MATT         WEBER                        OH     90011386668
B7967421855972   RICHARD      BORJA                        CA     90014374218
B7967869193727   CHARLENE     COCHRAN                      OH     64535988691
B79682A7772B69   RACHEL       HAMMES                       CO     90014742077
B7969A4A185927   JOEKEYTAL    JORDAN                       KY     90014510401
B796B266993752   PEDRO        HERNANDEZ                    OH     90013102669
B796B7A7A93758   EBONI        CHILDS.......                OH     64532117070
B7971367597B31   VERONICA     GAUCIN                       CO     90008163675
B7971A88972B62   GINA         CARANZA                      CO     90011460889
B7972125A2B22B   STEPHANIE    EDWARDS                      DC     90013871250
B7973977293727   BARBARA      MCCORMICK                    OH     64591589772
B797444652B349   JESSE        ROZANSKI                     CT     90014114465
B7974718972B69   MICHAEL      COLARUSSO                    CO     90013567189
B7974A56555953   LUPITA       REYES                        CA     90007820565
B797516952B271   LENIDAS      TREJO-A                      DC     81045371695
B7975411655953   WILLIAM      CRABTREE                     CA     90007364116
B797575A472B69   JUSTIN       PATTERSON                    CO     33089257504
B7975962672B62   DOUGLAS      DALE                         CO     90010299626
B7976A3138B13B   SCOTT        WALKER                       UT     90011850313
B7977358491579   HUGO         CAMARILLO                    TX     75097643584
B7977451993727   CHARLEI      GEORGE                       OH     90012254519
B7978762291579   ESMERALDA    REYES                        TX     90006117622
B7978964593752   MARIA        CANO                         OH     90013519645
B7979289355953   DIANA        GRAY                         CA     90011832893
B7979763191579   MARIA        RIVERA                       TX     75068757631
B7979818931421   LEROY        HAMILTON                     MO     90003328189
B797B118241267   RINDA        WALKER                       PA     90001631182
B797B6A4793758   LORI         SCHMIDT                      OH     90012466047
B7981214293758   ANTHONY      CHAMBERS                     OH     90012642142
B7981967951355   MARY         SCALF                        OH     90004989679
B7982161955953   JUAN         ROSALES                      CA     90014161619
B798224375B548   PAUL         GONZALES                     NM     90006522437
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2233 of 2350


B798255A22B271   MARTINA      JONES                        DC     90010735502
B7982625493758   JESSICA      CLARK                        OH     90012296254
B7983593991872   KARLA        IBARRA                       OK     90012635939
B798374288B133   CLAUDIA      GIL                          UT     31036607428
B798378865B396   JILL         ORTMANN                      OR     44501597886
B798547586196B   MICHAEL      BARRON                       CA     46009724758
B798552A485927   ALETHA       AGEE                         KY     90014705204
B7985743655953   SALVADOR     HERANDEZ                     CA     90013277436
B7986353472B69   MICHON       ARAGON                       CO     90005923534
B7986951172B62   EZER         DELVAL                       CO     33074749511
B798699368B183   DAVID        DIMARK                       UT     31005119936
B79876A6993758   LAQUITA      ROBERTS                      OH     64549016069
B79876A6A93727   MICHAEL      HITTIGTON                    OH     90009416060
B7988245581642   YEZICA       AGUILAR                      MO     90009452455
B798852244B285   DEVON        HARRELL                      NE     90014815224
B79887AA493752   MELINDA      HOLLINGSHEAD                 OH     64583987004
B798888772B271   BILDA        PARADA                       DC     90007078877
B7988A2232B271   SELVIA       MOORE                        DC     90008960223
B7989518885975   JOE          ELAM                         KY     90011875188
B798959735B396   MICHAEL      PEACOCK                      OR     90001825973
B7991814172B62   BOBBIE       MARTINEZ                     CO     90013548141
B7991893971925   VINCENT      MICCICHE                     CO     90005748939
B7992499393758   JASON        ADKINS                       OH     90001584993
B7992963881642   TAMMY        HANSON                       MO     29041449638
B7993A41A2B271   CYNTHIA      JONES                        DC     90012530410
B7994786972432   BILLIE JO    COFFMAN                      PA     90011517869
B7996264831688   ROBERT       VANDEGRIFT                   KS     22040362648
B799652618B166   KEVIN        YARRINGTON                   UT     90003035261
B799652A193727   BRITTANY     HINER                        OH     90011305201
B7996783255953   RICHARD      GONZALES                     CA     90001017832
B7996864193727   BREOSHA      PEDRAZA SMITH                OH     90014768641
B7997112531454   STEWART      LYNCH                        MO     27502721125
B7997832693752   SHERI        CANTRELL                     OH     64575718326
B7997A49793758   HEATHER      MARKOVICH                    OH     90014230497
B7999162885927   NADINE       EARLEIVAUEER                 KY     67080741628
B7999679355972   RITA         MARES                        CA     49065736793
B799978A28B833   TANTANIN     OSONIS                       HI     90014747802
B799B346893758   NICOLE       HOLZINGER                    OH     64578773468
B799B9A8155953   VERONICA     DIAZ                         CA     90008269081
B79B1378393758   IVERSON      ALLEN                        OH     90008503783
B79B181A272B62   CURTIS       MOORE                        CO     33087658102
B79B224722B271   LAVODRAMA    PAULIN CYRIAQUE              DC     90013412472
B79B324A731688   CHAKIB       RADOVANI                     KS     90003792407
B79B3436797124   CIRO         MENDOZA                      OR     90013734367
B79B3A1357B434   CARLOS       RICO                         NC     90010010135
B79B444567B489   JOSE         CUEVAS                       NC     90005514456
B79B4796991579   ASHLEY       MARUFO                       TX     90015167969
B79B4939972B69   RICHARD      BORQUEZ                      CO     90009229399
B79B4A93793758   CHERYL       BANDA                        OH     64549020937
B79B5156393758   RAYMOND      COLLIER                      OH     90004951563
B79B626A681642   TYRELL       ROATH                        MO     90014712606
B79B6544693752   MARQUS       SHACKLESYD                   OH     90012805446
B79B6561191579   DESTINY      MCCORMACK                    TX     90010795611
B79B6683731639   TAMMY        FOSS                         KS     90013166837
B79B7458472B69   MARIA        GAYTAN                       CO     90007244584
B79B75A4681642   JACILYNN     HARTSOCK                     MO     29047385046
B79B7741993752   CHAD         DEER                         OH     90014677419
B79B7776772B62   ANITA        HODGIN                       CO     33040207767
B79B7876A91579   MICHELLE     WARE                         TX     90007098760
B79B826A681642   TYRELL       ROATH                        MO     90014712606
B79B82A1672B26   ANGEL        LUCERO                       CO     90011592016
B79B845A74B946   ADRIENNE     COOPER                       TX     90012644507
B79B88A395B545   JEORGIA      GRAM                         NM     90007058039
B79B8926972B27   MONICA       WAY                          CO     90008739269
B79B9424781642   TEIGHLOR     DAY                          MO     90014854247
B79B96A6893758   DONYA        WASHINGTON                   OH     64566776068
B79BB51235B124   RUBY         BOOTH                        AR     90007755123
B79BB839351337   VICTORIA     FORTNER                      OH     90011928393
B7B11396881642   ANRES        CASTANEDA-RUIZ               MO     90014773968
B7B1162139B122   JAKALA       MCINTYRE                     MS     90014096213
B7B11A7A87B489   JENNIFER     THOMPSON                     NC     90011800708
B7B1234662B271   JOHN         HAMMOND                      DC     90012703466
B7B12478585927   ELISABETH    WILLIAMS                     KY     90012634785
B7B1379A691579   ERNESTO      HERNANDEZ                    TX     90002947906
B7B14446A81642   QUINTEN      BRADLEY                      KS     90014774460
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2234 of 2350


B7B14A18455953   MARIA        VARGAS                       CA     48002490184
B7B15394143589   LORY         FARR                         UT     31010663941
B7B15452593745   SCOTT        HOLLAND                      OH     90014654525
B7B1546875B124   JAMES        URSERY                       AR     90012144687
B7B1614442B271   JOSE         MENDOZA                      DC     90010731444
B7B18236572B69   GLENN        GEORGE                       CO     33039842365
B7B19833472B62   HELEN        MIRANDA                      CO     90009148334
B7B198A2343589   NAKKITA      BASSETT                      UT     90013238023
B7B1B69AA8B325   AUTHUR       BEASLEY                      SC     90014216900
B7B2175947B489   TONYA        ALSTON                       NC     11000867594
B7B21A61A41288   SAMI         SALMON                       PA     90001690610
B7B222A9943589   SCOTT        ABEL                         UT     90010612099
B7B22415131639   BETTY        ABBOTT                       KS     22011114151
B7B2284362B271   MICHELE      TIPPINS                      DC     90009058436
B7B2352845B396   JENNIFER     ANDERSON                     OR     90014665284
B7B24176231639   TREVOR       BAKER                        KS     22076411762
B7B24376555972   PEDRO        BARBOSA                      CA     49063353765
B7B24382491579   CRYSTAL      SCOTT                        TX     75088343824
B7B251A6693727   SHEAYL       CRUMBLE                      OH     90010881066
B7B25381291579   MARIA        GARCIA                       TX     75064483812
B7B25A76693727   CRYSTAL      BITTNER                      OH     90014260766
B7B25A82385927   TIFFANY      MATYOKE                      KY     67089400823
B7B2621883B399   ALFANSO      OCANPO                       CO     90003422188
B7B2659965B396   EFREN        FONSECA                      OR     44597505996
B7B26819193727   GRACE        RIGGINS                      OH     90010988191
B7B27151585927   TOYOUR       NEALY                        KY     67012401515
B7B27222531639   JAYME        JAGGER                       KS     90008172225
B7B27242793752   CURTIS       NORTON                       OH     64515342427
B7B27588331688   ASIA         MITCHELL                     KS     90011585883
B7B27684172B26   DELANO       DUNCAN                       CO     33015186841
B7B27846291579   EVA          SAENZ                        TX     90013518462
B7B29715793752   VICTOR       MINOR                        OH     90015117157
B7B29716A5B196   JEROME       JENKINS                      AR     90012087160
B7B2B199643589   ANTONIO      ESCARENO                     UT     90014791996
B7B2B448A93727   MAYANA       MORELAND                     OH     90011304480
B7B2B449191579   MATILDE      ORTIZ                        TX     90013854491
B7B2B517981642   TENEISHA     THOMAS                       KS     90010955179
B7B2B93885B54B   SHIRLEY      COLLINS                      NM     90007909388
B7B31335A54187   RETA         ANDERSON                     OR     47030743350
B7B3136695B265   PAUL         BANKS                        KY     90008943669
B7B32487681642   YOLANDA      MELSON                       MO     90007994876
B7B3286A991579   RACHAEL      MONJE                        TX     75089348609
B7B33728871966   MARICELA     RIOS                         CO     32013737288
B7B3475947B489   TONYA        ALSTON                       NC     11000867594
B7B34759A55953   LATANYA      IYAMU                        CA     90010877590
B7B34999493727   MARGARITA    ZAVALA                       OH     64594039994
B7B34A34A8B133   VICTOR       VILLEGAS                     UT     90011900340
B7B35726893745   EMILY        BREWER                       OH     64582297268
B7B36525747839   MARTIA       LEE                          GA     90012665257
B7B36547393727   LUCAS        MITCHELL                     OH     90012035473
B7B3655277B489   DAVID        LOPEZ                        NC     11055885527
B7B3655794B249   JORGE        GARCIA                       NE     90006915579
B7B377A5A84354   MALE         MAYERS                       SC     90004267050
B7B3841412B945   PENNY        WATSON                       CA     90011904141
B7B38521472447   CRAIG        MORROW                       PA     90012075214
B7B39439285927   DANA         CASKEY                       KY     90013194392
B7B39628554187   SCOTT        KELLEY                       OR     90012256285
B7B39A1A472B62   CLAUDE       RIDLEY                       CO     33092170104
B7B3B711131428   RACHEL       CAPONE                       MO     90011397111
B7B3B768581642   MIREYA       CARMONA                      MO     29054457685
B7B41476633625   LAKISHA      HOPKINS                      NC     90012314766
B7B41533851324   SARAH        MCGINNIS                     OH     90013085338
B7B41674891579   BRIAN        COLES                        TX     90013606748
B7B41789593745   ZACHERY      VALDEZ                       OH     90014547895
B7B41A31693758   JANICA       JONES                        OH     64537770316
B7B4216585B265   COURTNEY     LARGE                        KY     90009981658
B7B42316993727   ELVIS        THAXTON                      OH     90013383169
B7B42998643589   SHAUNA       HUGO                         UT     90011809986
B7B42A81693752   EMILY        BRADLEY                      OH     90014770816
B7B42AA4455953   CUAHTEMOC    GALLARDO                     CA     90010410044
B7B43597172B62   PALMA C.     CASTANGO                     CO     33067265971
B7B43949485927   LASHA        HADDIX                       KY     67024189494
B7B43998643589   SHAUNA       HUGO                         UT     90011809986
B7B44174691585   ADALINA      CONTRERAS                    TX     90009881746
B7B44399693727   JOANNA       SIMON                        OH     64551073996
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2235 of 2350


B7B44521231639   ADOLPH       LOMELY                       KS     90012395212
B7B44769593745   SAMANTHA     MARCUM                       OH     64573467695
B7B45998591579   MIRIAM       GUZMAN                       TX     90010169985
B7B45A2525B141   ANDRAMANDA   LEWIS                        AR     90011200252
B7B4645A393745   KENDA        KEERAN                       OH     90014664503
B7B46484881642   CURTIS       DRAFFEN                      MO     90014774848
B7B4685527B489   LOUIS        JOSEPH                       NC     11066238552
B7B479AAA55953   COURTNEY     HOOVER                       CA     90014859000
B7B4858644B555   BAVERLY      GRAVES                       OK     90008895864
B7B4867A454151   IVIE         MELODIE                      OR     90004466704
B7B516A6855953   ROMAN        DE LA VEGA                   CA     90013896068
B7B51874285927   ALFREDO      CANCIO                       KY     67075878742
B7B5215372B235   TYRON        JOHNSON                      DC     90001051537
B7B52274343589   JOHN         FRANKLAND                    UT     90014782743
B7B52464751235   VERNON       MILBURN                      CO     33045964647
B7B52566351235   VERNON       MILBURN                      CO     90013255663
B7B5279445132B   CHRISTINE    MARLATT                      OH     90003217944
B7B52821755953   ONELIA       FERNANDEZ                    CA     90012678217
B7B53184591579   MARISSA      DE LA CERDA                  TX     90013371845
B7B53388493727   KEISHA       HARRIS                       OH     90007813884
B7B53445243589   LUKE         PARKINSON                    UT     90011594452
B7B53914755953   MARIA        GOMEZ                        CA     90013499147
B7B54294A8B231   PREPAID      CUSTOMER                     VT     90015272940
B7B54373A57565   SOMERLADD    IRMMA                        NM     90007943730
B7B54392193745   DOUGLAS      HARRISON                     OH     90010403921
B7B54472272B69   ADAN         PACHECO                      CO     33003144722
B7B5458A22B271   TIFFANY      MILES                        DC     81037405802
B7B54899691579   RUFUS        GILFORD                      TX     75091968996
B7B54915193752   BOBBIE       STEWART                      OH     64588379151
B7B54A9A15B396   ANTHONY      CROCKER                      OR     44528970901
B7B55445243589   LUKE         PARKINSON                    UT     90011594452
B7B57133257444   JOSE         REYES                        IN     90013181332
B7B57164A85927   SHIRLEY      HAWKINS                      KY     90014091640
B7B57A5722B24B   TAMELA       WORTHEN                      DC     90013680572
B7B58561193745   HEATHER      VALLADARES                   OH     90014665611
B7B58857851351   BENJAMIN     PETERSON                     OH     90013088578
B7B5B481391579   LIRIO        RAMOS                        TX     90011624813
B7B61142355953   GABRIEL      CRUZ                         CA     90012781423
B7B61597693745   PAIGE        ROSALES                      OH     90014665976
B7B61928793752   JAMES        WOODS                        OH     90006629287
B7B61A34A72B69   CHANDI       ONEILL                       CO     33022220340
B7B62221293752   KIMBERLY     REIFEMDECK                   OH     64541442212
B7B6259765B265   ELNORA       HAWKINS                      KY     68090995976
B7B62927293745   MICHAEL      CLEELAN                      OH     90010059272
B7B62982755953   MAYTE        VASQUEZ                      CA     90013909827
B7B63199685927   SARAH        KELLY                        KY     90015551996
B7B63344143589   WADE         GARR                         UT     31004013441
B7B635A3285927   DESIREE      WHITE                        KY     90005865032
B7B63683872B53   STEPHEN      WYMAN                        CO     90009646838
B7B63944272B3B   TERRY        FORD                         CO     90012889442
B7B63A33685964   DENNIS       VAUGN                        KY     90002120336
B7B6461A131688   JENNIFER     RICHARDS                     KS     22086666101
B7B6483A791579   STEPHEN      BAXTER                       TX     75091598307
B7B6544A598B23   MICHELE      SMITH                        NC     90006934405
B7B66515443589   CALISHA      HUGO                         UT     90011955154
B7B669AA772B69   FRANCISCO    ESCOBEDO                     CO     90013729007
B7B671A9955953   NEREIDA      GARCIA                       CA     90012241099
B7B6774822B857   JODIE        BILL                         ID     90001077482
B7B69784872B94   JORGE        MORENO                       CO     33094687848
B7B6B257555953   PATRICIA     DE LA GARZA                  CA     90013222575
B7B6B441693727   QUENTIN      LEWIS                        OH     90006974416
B7B6B761572B69   KAREN        GREENSTREET                  CO     33038537615
B7B71463691257   SETH         WARRIOR                      GA     90006204636
B7B71873A2B271   MALCOLM      SAMPSON                      DC     90009508730
B7B72196872B69   RACHELL      TURMENNE                     CO     90013561968
B7B72464693752   SHAWNA       DAVIS                        OH     90014714646
B7B725AAA91579   DIANA        PEDROZA                      TX     90008205000
B7B72791876B69   ALBERTO      MARTA                        CA     90007457918
B7B72922293727   BRETT        WILLIAMS                     OH     64500159222
B7B73166985927   EMIDIO       FIGUEROA                     KY     90004751669
B7B73548155979   AMALIA       TORRES                       CA     90009295481
B7B73662A7B478   JASMINE      GAITHER                      NC     90008006620
B7B73791876B69   ALBERTO      MARTA                        CA     90007457918
B7B7415A493738   ROBERT       GAMBLE                       OH     90012451504
B7B746A176618B   JESUS        CERVANTES                    CA     90014026017
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2236 of 2350


B7B74979972B62   ROBERT            GOMEZ                   CO     33075059799
B7B75622A55972   MAX               LEON                    CA     90005916220
B7B7668835B265   VANESSA           SANDERS                 KY     68090996883
B7B76A6763163B   JIMMIE            CRANFORD                KS     90010820676
B7B77297685927   SHIRLEY           RAMIREZ                 KY     90012662976
B7B773A7293727   ANGELA            LEATH                   OH     64549003072
B7B7777915B265   TONY              STILLWELL               KY     90004347791
B7B78554393752   CHRIS             WEIDNER                 OH     90009855543
B7B78563A93758   DERON             MARTIN                  OH     90014515630
B7B78785A2B271   SONYA             PEGUERO                 DC     90013957850
B7B7886688B825   ROBERT            DIAZ                    HI     90015338668
B7B792A2272B62   JAIRO             REYES                   CO     90015162022
B7B7B135681642   PEGGY             COLLIE                  MO     90014781356
B7B7B638772B27   MELVIN            LEWIS                   CO     33062676387
B7B7BA83431639   CHRISTAL          HUBBLD                  KS     90004030834
B7B81188A91579   ALEXANDRA ELENA   BADILLO                 TX     90006371880
B7B81484691257   SHERVANNE         GATSON                  GA     14515584846
B7B81723493747   SCOTT             MARTIN                  OH     64593177234
B7B823A3A55953   GILLERMINA        MEDINA                  CA     90014543030
B7B82585A43589   MARVIN            WILLIE                  UT     31065525850
B7B82A83685927   EMMALEE           SPICKARD                KY     90006170836
B7B8367692B252   NICKEL            TURNER                  DC     90000956769
B7B84163461825   CRISTY            WILSON                  IL     90007861634
B7B84557372B69   ANAHI             PACHECO                 CO     90010575573
B7B8517214B541   BRENDA            BAKER                   OK     90010831721
B7B85798572B69   JOSE              AYALA                   CO     33006017985
B7B8625157B489   CATHERINE         CLINE                   NC     11036932515
B7B864A1491579   GILBERT           CARDENAS                TX     75048364014
B7B87217A91579   WILLIAM           BROCKMOLLER             TX     90010462170
B7B88498393745   ZACH              THOMASON                OH     90014684983
B7B88529972B62   LEYDI             VANESSA                 CO     90012405299
B7B88755791257   BRYAN             DIAMOND                 GA     90011937557
B7B8983975B265   KORTEZ            FLETCHER                KY     90013988397
B7B8B952893752   CASSIE            HUFFORD                 OH     90008069528
B7B8B9A935B396   HEATHER           MYHRVOLD                OR     44577789093
B7B91498393745   ZACH              THOMASON                OH     90014684983
B7B91593A2B271   SABRINA           MCLEAN                  DC     90012755930
B7B92171A5B396   THIMOTY           SHORT                   OR     90011351710
B7B92A5A493758   DENISE            CHASTAIN                OH     90014060504
B7B9312615B265   TAQUA             HAM                     KY     68009021261
B7B9348763162B   JOYCE             HILL                    KS     90013324876
B7B93791672B69   JORGE             FRAIRE                  CO     33063077916
B7B93962393752   CHARLOTTE         PRATER                  OH     64575039623
B7B94633493758   DAVID             GRIDER                  OH     64596686334
B7B9492396196B   TERESITA          MACIAS                  CA     90003139239
B7B94AA4581642   JACLYN            BROOKSHIER              MO     90014790045
B7B9576578B12B   RICHARD           MOORE                   UT     90003347657
B7B95795691579   HILDA             MARQUEZ                 TX     75059767956
B7B95A19281642   DANTWONE          HANKS                   MO     90014790192
B7B95A52555953   JENNIE            ROMERO                  CA     90013100525
B7B9712162B271   SHAVON            CRAWFORD                DC     90014221216
B7B97182155953   MARIA             RAMIREZ                 CA     90010751821
B7B97536891579   APRIL             ARIAS                   TX     90013535368
B7B99246791582   CASEY             CARPENTER               TX     75053162467
B7B9941846149B   ESTEFANIA         BRISENO                 OH     90015064184
B7B9B473A93745   ALICE             HAAS                    OH     90009774730
B7B9B794372B62   MARICRUZ          VALIENTE                CO     90014867943
B7B9B884391579   ABRAHAM           MEDINA                  TX     90000558843
B7B9BA7A193758   JULIE             SALINAS                 OH     64501870701
B7BB1124957444   JESSE             CHERRONE                IN     90013021249
B7BB124A72B247   SHAYVAN           SMITH                   DC     90001342407
B7BB1277693752   KURTIS            JORDAN                  OH     90012862776
B7BB1478471993   MICHELLE          OBRIEN                  CO     90014324784
B7BB17A7641B5B   LATONYA           LAWSON                  MD     82042877076
B7BB2874593758   JAMES             WILLIAMS                OH     90008398745
B7BB28A2772B62   KELLIE            GARKOW                  CO     90012838027
B7BB293882B271   CHATIA            MOTLEY                  DC     90014529388
B7BB2A54761954   JOSE              MONTES                  CA     90007640547
B7BB32A4693752   DAWN              BOOHER                  OH     90000722046
B7BB37A3324B64   TIE               JACKSON                 VA     90000797033
B7BB389889286B   VICENTE           CERVANTES               AZ     90015418988
B7BB415593B321   JOSH              CALEB WEST              CO     90001051559
B7BB4339543589   BILLY             WOOD                    UT     31045133395
B7BB433A955956   GUADALUPE         CHAVEZ                  CA     90011453309
B7BB4379755984   DEION             BROWN                   CA     90007863797
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2237 of 2350


B7BB5778643589   SYLVIA       SANCHEZ                      UT     90014987786
B7BB6229691579   MARIA        MAESE                        TX     75059872296
B7BB631A155972   MARISA       MORALES                      CA     49095523101
B7BB637A55B388   ADELE        ACHENBACH                    OR     90008433705
B7BB6569181642   STEVEN       WELLS                        MO     90014745691
B7BB6722571964   LONNIE       EVENS                        CO     90013557225
B7BB754485B265   BRENDA       WALTERS                      KY     90007395448
B7BB7743591579   ROSAURA      DELGADO                      TX     90009467435
B7BB8717872B62   MICHAEL      TAYLOR                       CO     33019247178
B8111491385927   LAKESHA      SMITH                        KY     90014564913
B8111872A31688   JESSICA      RIEMEN                       KS     22084088720
B811212725B327   ANTONIO      AGUILAR                      OR     90010511272
B8112615655959   ALAN         ANIAG                        CA     48062316156
B81126A9993758   RORY         GESTRICH                     OH     90010586099
B8113848491924   SAYRA        GONZALES                     NC     90013138484
B8113A14693758   DORCUS       MILINER                      OH     90011550146
B8114131891579   CINTHIA      GARCIA                       TX     75039361318
B811432745B561   MICHELLE     PHILLIPS                     NM     35017133274
B8114393493752   MARGRET      MAGGARD                      OH     90012823934
B811446119182B   MARIA        BECEIRA                      OK     21035384611
B811512395B221   NICOLE       DAVENPORT                    KY     90007721239
B8115176197123   DAWN         BLANEY BASTA                 OR     44549531761
B8115445691248   DEMESHA      COLEMAN                      GA     90009494456
B8116633336122   YENZEL       JUAREZ                       TX     90014106333
B811716265B396   MEREA        RIPPETOE                     OR     90003131626
B8117198491924   JOVON        JOHNSON                      NC     90014571984
B8117622391394   JESSICA      WHITLOW                      KS     90012476223
B8117A52591844   PATTY        WHEELER                      OK     90006940525
B811874625B327   MARIUS       IBUYE                        OR     44581817462
B8119841A7B489   KEISHA       MCCORMICH                    NC     90014868410
B8119932671931   GARFIELD     MORGAN                       CO     32026379326
B8119A2982242B   MICHAEL      KERIEC                       IL     90015450298
B811B131155979   CATHERINE    KING                         CA     49053391311
B811B364636122   MICHELLE     CERVANTEZ                    TX     73545003646
B811B619561429   HENRY        BURNSIDE                     OH     90014186195
B811B64245B396   BEN          HAMILTON                     OR     90010456424
B811B721591924   JEREMY       ROSS                         NC     90012367215
B811B989A5B327   HECTOR       RODRIGUEZ                    OR     44584819890
B81215AA651326   IDE          SANOUNOU                     OH     90001585006
B8122426172B62   BARRY        SULLIVAN                     CO     90014694261
B812283547B489   LATONYA      ROBINSON                     NC     90009928354
B8123436841262   ROBERT       DINKFELT                     PA     51000574368
B812343965B382   DENISE       LANGFORD                     OR     90007714396
B8123842555959   NANCY        AGUILAR                      CA     48039908425
B8124832585936   JEFF         HELTON                       KY     90011298325
B8124859A55959   MARIA        CASTRO                       CA     90002518590
B8124A7A45B396   RUDY         DUDLESTON                    OR     90010710704
B8125279591579   JACQUELINE   NICHOLS                      TX     90015112795
B8127238793727   JAMIE        MAXWELL                      OH     64509812387
B8127422985936   JAMES        TILLMAN                      KY     90000614229
B8127617672B81   VERONICA     MARTINEZ                     CO     90013916176
B812788A35B396   MICHELLE     WILFONG                      OR     90006508803
B812796887B489   JAVANDA      TRUESDALE                    NC     90011939688
B8127A13772B62   ALEJANDRO    DELGRANDE                    CO     90013220137
B8128546272B69   RENE         CORDOVA                      CO     90003805462
B8128888436122   CHRISTY      LEOS                         TX     90014228884
B8129348A93752   SAVANNAH     ATKINS                       OH     64593953480
B8129546131639   JUSTIN       MILLER                       KS     90002915461
B812B184255959   JHANCARLO    RODRIGUEZ                    CA     90011911842
B812B214291579   KARINA       HAGELSIEB                    TX     90010802142
B812B923A7B489   JESSICA      ROPER                        NC     90013619230
B81311A4872B62   VICTORIO     ALDABA PEREZ                 CO     90005181048
B8131294755925   ALLEN        WASHINGTON                   CA     90008492947
B81316A4131639   TRAVIS       LANKFORD                     KS     22064626041
B8132116A24B35   ROBIN        REIS                         DC     90008431160
B8132311772B62   JOHN         VARGA                        CO     33032323117
B8132595791579   CELIA        VAZQUEZ                      TX     75027525957
B8132714572B69   LUIS         RODRIGUEZ                    CO     90012007145
B8132935955959   VANESSA      GONZALEZ                     CA     90014989359
B8133383261937   MARIANA      TREVIZO                      CA     90008303832
B81334A4391924   SHANTELL     WILLIAMS                     NC     90014694043
B8133832A61937   MARINA       TREVIZO                      CA     90013338320
B813428972242B   PEDRO        JAUREGUI                     IL     90015392897
B8134294677542   JESUS        SOTO-MEDINA                  NV     90009512946
B813457689286B   BLANCA       VALLEJO                      AZ     90015375768
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2238 of 2350


B8134691393727   HARRY         BOND                        OH     64588736913
B8134934455959   ERIKA         GARCIA                      CA     90012449344
B8135547285936   CHRISTINA     KENNEDY                     KY     90014045472
B813556787B489   MELOMIE       FISHER                      NC     11073875678
B8136179793745   JOY           HOWARD                      OH     64511821797
B8136463185936   CHRISTOPHER   CHILDS                      KY     90013094631
B8137581155959   DAMIEN        CHAVES                      CA     90015415811
B8137A57936122   STEPHANIE     CESAR                       TX     90013840579
B8139221976B27   BRYAN         MUNDY                       CA     90012232219
B8139376543564   ELIZABETH     COREY                       UT     90005173765
B8139544356365   URIEL         RAMIREZ                     IA     90014045443
B813B277972B69   MARCELA       CRUZ                        CO     33040102779
B814149842B271   HANNAH        MONTANA                     VA     81042094984
B8141539941229   TIMOTHY       HOPKINS                     PA     90014635399
B8142219393727   WILLIAM       DAVIDSON                    OH     64593812193
B8142675731491   KERLESTER     BANKS                       MO     90010156757
B814282868B186   MICHAEL       WHITTON                     UT     90010938286
B814314A37B462   SHEILA        MOSLEY                      NC     90002171403
B8143171372B62   JOESPH        VALDEZ                      CO     90013781713
B8143277885927   KAREN         ALLEN                       KY     90011312778
B81433A367B489   ROBERT        MCCCAULEY                   NC     90008883036
B8143437336122   MARIA         GREEN                       TX     73551664373
B814367263B326   KEVIN         BICKFORD                    CO     90012936726
B8143832193752   SHAWN         ELKINS                      OH     64550898321
B814387367B489   AJA           BYERS                       NC     90014258736
B814398444B574   MATTHEW       SEEBECK                     OK     90015019844
B8143A87A91924   JUDY          WISE                        NC     90015140870
B8144469461985   CHRISTOPHER   BRIGHT                      CA     90012824694
B814491A87B465   SYPIL         TESENIAR                    NC     11009889108
B8145298172B69   IRENE         ROMERO                      CO     90013142981
B8145764655959   WILLIAM       LONG                        CA     90013057646
B8145A82493752   MARK          KINGSOLVER                  OH     90014930824
B8146195955959   JUVENTIO      ISLAS                       CA     48090431959
B8146562585936   KACEY         CLAYPOOLE                   KY     90014045625
B8147532555959   REBECCA       ALVAREZ                     CA     90004595325
B814936A991924   KARLA         GONZALEZ MORALES            NC     90013253609
B8149485372B62   ALICIA        GARCIA                      CO     90013294853
B814959164B249   JORGE         SOSA-MARTINEZ               NE     90008785916
B814B28699182B   DOUGLAS       WOODS                       OK     21012842869
B815119285136B   DANIEL        SOTO                        OH     66017361928
B8151789493727   SHANNON       BASKIN                      OH     64533587894
B815183A936122   SUSANA        GAMBOA                      TX     90015308309
B81518A617B422   ISABEL        VARGAS                      NC     11003758061
B81524A7291579   SANDY         RODRIGUEZ                   TX     75004134072
B815264167B489   MOESHA        HERRON                      NC     90013946416
B815296628B531   JUSTIN        YATES                       CA     90013959662
B8153392591573   ALBERT        TORRES                      TX     90009943925
B8153752591579   NESTOR        LUNA                        TX     75009137525
B8153A4275B224   MICHAEL       BLACKEMAN                   KY     90006980427
B8155388872B62   KAYDIE        HUERTA                      CO     90004823888
B815691497B489   ANTOINE       REID                        NC     11005069149
B815834975B327   DANIELLE      SOC LOPEZ                   OR     44505103497
B815866377B489   MARIO         CELIS                       NC     90015046637
B81599A1155959   CARLOS        SANCHEZ                     CA     90002869011
B815B11595B396   RUTH          REED                        OR     44512481159
B815B141855959   ROY           OROSCO                      CA     90013211418
B815B649142332   SELENA        SHAVERS                     GA     90003936491
B815B697793758   AMBER         HOWARD                      OH     90005966977
B8161179855959   JOSE          AMBRIZ                      CA     90015301798
B8161547A91924   ELOUISE       MILLER                      NC     17035315470
B8161997672B69   ANA           CUARA                       CO     90012759976
B816267A193758   WAYMIRE       BRIAN                       OH     90010586701
B816273A993751   CHRESTOPHER   WILLIAMS                    OH     90011967309
B8163167272B62   JOHN          BROGAN                      CO     33099231672
B8163567455959   GILBERTO      NARANJO                     CA     48090555674
B816359A991257   CICELY        MASON                       GA     90005345909
B8163A17591924   ZAQUETTA      HENDERSON                   NC     90009980175
B8165121A91924   PAYGO         IVR ACTIVATION              NC     90015471210
B8165223693752   TAMESHA       BRUCE                       OH     90012752236
B816566887B489   TONY          GASTON                      NC     90013296688
B8165722193752   SHAWN         PACK                        OH     90008097221
B8166244772448   JASON         HOUGH                       PA     90012592447
B816628415B327   GARY          GARDNER                     OR     44542272841
B816628A136122   FELISSIA      GARZA                       TX     90011662801
B81662A6172B69   MAYRA         PEREZ                       CO     90011142061
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2239 of 2350


B8166737A71931   KAREN            SANDOVAL                 CO     32099167370
B8167961191579   JORGE            LEON                     TX     75005539611
B8167A61572B62   DOROLES          LOPEZ                    CO     90011300615
B8168123533647   TERI             LITTLEJOHN               NC     12030661235
B8168698391579   SILVIA           BECERRA                  TX     90007476983
B8169423A55959   JAY              VASQUEZ                  CA     90013064230
B8169474A93727   JULIE            WIKLE                    OH     90012824740
B816954A891878   VAHNEIMON        HAOKIP                   OK     90014805408
B816B132893752   LAURA            COLEMAN                  OH     90014271328
B816B46A191549   CESAR            TORRES                   TX     90005254601
B8171432385927   AMBER            DENNIS                   KY     90000794323
B81717A1177553   NORMA            GUARIGLIA                NV     90004797011
B817183939182B   MIGUEL           VALDIVIA                 OK     21077598393
B8171931593727   CHRISTOPHER      BERRY                    OH     90013279315
B8171951393752   DALDOUM          ZICO                     OH     90012219513
B8172128193736   SPENCER          BURNETT                  OH     90005811281
B8172143391579   MIGUEL           RAMOS                    TX     90002581433
B817264987B489   TIA              CROCE                    SC     90013946498
B8172779693727   YOLANDA          DAVIS                    OH     90015207796
B817282A385927   JAMIE            GARNER                   KY     90006198203
B8172A29355959   JESUS            RODRIGUEZ                CA     90014180293
B817315AA8B13B   JORGE            ORTEGA                   UT     90008331500
B8173453791924   JOHN             BLACKWOOD                NC     90008594537
B8173573593752   JOSEPH           CUNNINGHAM               OH     64599625735
B8173755472B62   AGUSTIN          GUERRERO                 CO     33002617554
B8173767224B64   MARIA            HERNANDEZ                DC     90001467672
B8174153193752   BETH             OYLER                    OH     90014501531
B8174729A93758   LITRELL          WEST                     OH     90010587290
B8174A45291965   MARGARITO        MARTINEZ                 NC     90000200452
B8175643336122   MARY ANN         DURAN                    TX     90009766433
B817643A536122   JAMES            GONZALEZ                 TX     90013744305
B8176669555972   JOHN             BOWEN                    CA     90013116695
B8176A11155959   JOSE             CASTRO                   CA     90005560111
B8177349985927   JORGE            LARA                     KY     67094153499
B817823762B271   MARVIN           MENJIVAR                 DC     90009492376
B81783AA891579   SMITH            CHRISTINE                TX     90008383008
B8178537A5B327   MICHELLE         MARTIN                   OR     90010985370
B817883877B489   CATHERINE        LOPEZ                    NC     90009398387
B8179291585927   JAMI             BAUMGARTNER              KY     90012132915
B817B294436122   DNNIS            PARTIDA                  TX     90015162944
B817B654A93745   LEON             DARST                    OH     90006706540
B817BA19272B62   GERALDINE        VODICKA                  CO     90006890192
B8181197591579   RAUL             MACIAS                   TX     90011371975
B818155498B154   JOHNSON          YOUNG                    UT     31001635549
B8181686A72B62   SAMSON           CANTU                    CO     90012636860
B8181765584766   MEDIA            HANNA                    IL     90003297655
B8181A48A85936   ASHLEY           REYNOLDS                 KY     90014940480
B8182954772B62   NATALIA          PORRAS CONZALEZ          CO     90002769547
B8182A2AA72B94   JANIE            JENKINS                  CO     90014980200
B8183273536122   CALEB            GARCIA                   TX     90013602735
B8183658393758   GREGORY          MINNIFIELD               OH     64564006583
B8184478972B69   MIRIAM           SOLANO                   CO     90009944789
B818479215B25B   CHRISTOPHER      POLLARD                  KY     90003197921
B8184828491549   JESUS            BERMUDEZ TINAJERO        TX     90008028284
B8184948985936   JAMES            GRUBBS                   KY     90012779489
B8185527985936   YVONNE           HICKMAN                  KY     66023745279
B81867A9936122   SHANNON          HARRIS                   TX     90006567099
B8187311272B49   ANABEL           ORTEGA                   CO     33042273112
B8187672893745   TIFFANY          WILSON                   OH     90006706728
B8188143933625   SHADEANA         AUSBORNE                 NC     90009281439
B8188294291579   RODRIGUEZ        ROSY                     TX     90009982942
B818881A272B62   CURTIS           MOORE                    CO     33087658102
B8188A32A5B396   LATOSHA          DELONEY                  OR     44508770320
B81893A6A91579   DAVID            ORTEGA                   TX     75008623060
B818B344372B69   MARIA            SANDATE                  CO     90010173443
B818B44747B489   NIGEL            ERWIN                    NC     90012654474
B818B67157B489   MARIA            ARGUETA                  NC     90013946715
B8191918372B69   MARIA            LARA                     CO     33051309183
B819282777B45B   MONTOBIA         GRAY                     NC     90002508277
B8193343272B69   WILLIAM ROGERT   STEWARD                  CO     90012703432
B8193563A93745   ERICKA           KIRK                     OH     64566975630
B8193A6427B489   YHON             BEY                      NC     90006050642
B81944A8691579   MARIELA          LOPEZ                    TX     90007774086
B8194937972B94   MARVIN           ROWTON                   CO     90005769379
B819518A891924   NICOLAS          RODRIGUEZ                NC     90011851808
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2240 of 2350


B8195528291248   SANDRA            LIPSEY                  GA     14594095282
B8195726891579   LORENA            FLORES                  TX     90001817268
B8195A6314B93B   ROMEL             SOLOMON                 TX     90007710631
B8197572472B69   ANDRES            CANO                    CO     90007865724
B819776514B525   VICKIE            EASLEY                  OK     90010837651
B819855AA31688   TEQUILA           DAWSON                  KS     22002945500
B819872985B327   MARIA             VELAZQUEZ-MARTINEZ      OR     90008047298
B8198978791924   OMAR              ROSILLO                 NC     90010859787
B819911445B396   SAMUEL            RIMMER                  OR     44552541144
B819917615B573   JAVIER            DESANTIAGO              NM     90007611761
B8199339491579   VANESSA           LENHART                 TX     75036343394
B8199839691924   EMILLEE           LANDRETH                NC     90009088396
B819B33649155B   MANUEL SALVADOR   LIZARRAGA               TX     90010783364
B819B68135B327   DOUGLAS           PACE                    OR     44550066813
B819B84483B357   BRIAN             TORPY                   CO     33035808448
B81B1439555959   CHRISTOBAL        IBARRA                  CA     90014904395
B81B17A7972497   ELDEN             HARPER                  PA     51079877079
B81B23A3855959   ANGEL             MARTINEZ                CA     90011243038
B81B37A6491579   APOLINAR          PICHARDO                TX     90004037064
B81B388868B186   JOSHUA            LEWIS                   UT     90007798886
B81B434565B327   A MARTIN          RUIZ TAPIA              OR     90012173456
B81B437527B489   ESLY              CHAY ZACARIAS           NC     90003863752
B81B556A45B327   JOSE              MALDONADO               OR     90010375604
B81B5662472B69   AMANDA            GREGORY                 CO     90009216624
B81B5849A91924   DUJUAN            HOOD                    NC     90010178490
B81B5922772B62   NATHAN            CHASE                   CO     33029849227
B81B6745191579   LAURA             MURILLO                 TX     90011997451
B81B684A193752   JAGEL             BRANDON                 OH     64512958401
B81B738A793727   MIKE              JONES                   OH     64543233807
B81B858697B489   ARTURO            LANDA                   NC     90013945869
B81B9889893727   TRACY             SHUNK                   OH     90003338898
B81BB13A85B327   JENNIFER          MADDISON                OR     90013681308
B8211AA4693752   PAMELA            COGGIN                  OH     90014090046
B8212236885927   EDWARD            NJERI                   KY     90001782368
B821233A293726   KHRYSTYONA        TURNEL                  OH     90010113302
B821328125B327   CHRIS DOUGLAS     BEGGERLY                OR     90012362812
B821411995B396   CHUCK             BARKER                  OR     44585201199
B8214253893727   BRANDY            ADAMS                   OH     64506222538
B8214322855959   VERA              BETANCOURT              CA     90011803228
B8214357972B62   ISIDRO            LEAL                    CO     90011013579
B8214365191579   PAOLA             CORDERO                 TX     90011553651
B821556475B327   MATTHEW           BATALA                  OR     90013955647
B8215677391924   BEVON             HOLT                    NC     17056236773
B8215697872B62   ADRIAN            CASTREJON               CO     33080396978
B82156AA87B489   CARRIE            BRIDGES                 NC     90000566008
B8215928672B84   RITA              GUDDINGS                CO     90010509286
B8215964691579   VINCENTE          CARBAJAL                NM     75039169646
B821612568B141   MARISSA           BAGSHAW                 UT     90012311256
B821642A391579   MIKE              ENCISO                  TX     75048644203
B8216572872B69   MAYRA             GRIEGO                  CO     33043765728
B821681672B271   STEPHEN A         HOWARD                  DC     90010338167
B821744765B327   HIRAM             LIZARRAGA               OR     44537844476
B8217533A72B62   ASHLEY            LEWIS                   CO     90014575330
B8218533772B62   MELISSA           REBETERANO              CO     90014825337
B8218565161825   RENEE             DANSBERRY               MO     90003665651
B8219416A85936   MARC              AHAUS                   KY     90014154160
B821961555B327   ANDRES            PEREZ                   OR     90013956155
B821B546993761   LAURA             ABRAMS                  OH     90012905469
B821B54927B478   DERRICK           MILLER                  NC     90008775492
B821B572941298   SHAKEEMA          BAUGH                   PA     90012645729
B821B77215B396   KHAMNANG          VISATHEP                OR     90010267721
B821B853255959   BRISEIDA          SOSA BELTRAN            CA     48074008532
B821B86AA5B327   DEBBIE            CARABAJAL               OR     44550648600
B8221177672B62   LISA              BEEBE                   CO     90013781776
B8221644655959   DANIEL            HERNANDEZ               CA     90010196446
B8221A25893727   RHONDA            ELSTON                  OH     64584850258
B8222211971932   JULIE             VELAZQUEZ               CO     90009562119
B8222551A2B274   AMILCAR           GONZALEZ                DC     90015015510
B8222743755959   LUIS GERARDO      PORTILLO                CA     90015187437
B822344765B327   HIRAM             LIZARRAGA               OR     44537844476
B822383A37B489   LYTONJA           JONES                   NC     90012238303
B8224227891579   LARRY             MORIN                   TX     75017902278
B8224322131639   HEATHER           GONZALES                KS     22065123221
B82243A2685936   KRISTINA          BLADES                  KY     90010883026
B8225137431639   SHANTE            JACKSON                 KS     90011711374
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2241 of 2350


B8225372893727   PHYLLIS           KNIGHT                  OH     90014823728
B822576575B396   FILICITY          HOUSTON                 OR     90012837657
B8225A78291579   GONZALO A         A PENA                  TX     90011210782
B8226245172B62   AMANDA            ORNELAS                 CO     33029402451
B8226494155972   SACREMENTO        RIO                     CA     49004674941
B8226881393758   THERESA           SPARKS                  OH     64598558813
B82276AA993752   LINDA             BENNETT                 OH     90011186009
B8228313955959   CARLOS            PIMENTEL                CA     90006253139
B822865795B327   CAROLYN           JANECEK                 OR     44539416579
B8229257A5B327   MELISSA           BUSCHO                  OR     90010522570
B8229859255959   CHRISTINA         GRANADO                 CA     90003108592
B822B171655959   LUCIANO           CASARUBIAS              CA     90004661716
B822B1A975B327   ZOILA             GARCIA                  OR     90013781097
B822B361651372   DESTINY           VOLZ                    OH     90005843616
B822B433861825   MANUEL            ROMERO                  IL     90014464338
B822B539991549   ANDREA            MAESTAS                 TX     90015115399
B822B618993745   AMANDA            HARWOOD                 OH     90013306189
B823115A95B571   ALBERT            SALAZAR                 NM     90012531509
B82312A6293752   VELIKA            COURTNEY                OH     90009852062
B8231391991257   ORLANDO           BRADY                   GA     90009873919
B8231667A72B69   BRIAN             FIGUEROA                CO     90012006670
B82317A447B489   ABEL              ZAMBRANO                NC     90013947044
B8231994955959   EDGAR             TORRES                  CA     90013839949
B8231A12A85936   ADDISON           HERRMANN                KY     90012950120
B8231A87636122   ANTHONY           OLIVAREZ                TX     90011120876
B8232733255959   MARIA             YURIAR                  CA     90014687332
B823292395B396   GABRIELA          CARRILLOS               OR     44586149239
B8233495493752   KALEIGH           MUNDEY                  OH     90013644954
B8233A56572B69   ANNETTE           BACAY                   CO     90013150565
B8235162893758   TIERRA N          LANE                    OH     64581191628
B8236562293727   MINDY             FIELDS                  OH     64532615622
B8237122472B69   DAVID             NAJERA                  CO     33088521224
B823743A536122   JAMES             GONZALEZ                TX     90013744305
B8239192972B69   ELVA              HERNANADEZ              CO     33072921929
B823B13A772B88   GRACE             OROZCO                  CO     90012851307
B823B194A7B489   ABIGAIL           MEDRANO                 NC     11076851940
B823B984131688   KIMBERLY          BYERLY                  KS     90003649841
B82424A185B327   SHAWNNA           LLOYD                   OR     90007084018
B824266A233647   NATALYN           SUITS                   NC     90004236602
B8243185533625   JAMES             CLODFELTER              NC     90011321855
B824332AA85927   SCARNEL           GAINES                  KY     90011313200
B824418A272B62   PRECIOUS          SHAW                    CO     90013781802
B8244225891248   ELICA             FLORES                  GA     14507812258
B824475427B489   AMISADAY          HERNANDEZ               NC     90013947542
B8244829972B69   MEGAN             HAMMEL                  CO     90012838299
B8245319572B62   NATASHA           NESS                    CO     90011193195
B8245696491579   SERVANDO          CAMACHO                 TX     90009976964
B8247526772B62   MARIA             BATRES                  CO     90013985267
B82478A4472B62   MARIA DEL ROCIO   CASAS-HERNANDEZ         CO     90010638044
B824879325B336   BUNNIE            SHUMWAY                 OR     90011927932
B8248AA655B396   ANYA              LOUISE                  OR     90008600065
B8249584272B62   RICHARD           MORGAN                  CO     90005985842
B824B71717B489   MICHELLE          CARDONA                 NC     90013947171
B825182A385927   JAMIE             GARNER                  KY     90006198203
B8251943636122   JOHN              HARTLEY                 TX     73526369436
B8251A65857543   VALARIE           REISNER                 NM     90013850658
B825235A74B289   MAVIS             NEWTON                  NE     90012723507
B8252589285936   LITA              TRAME                   KY     90013085892
B82529A8893727   JOSHUA            YOUNG                   OH     90011009088
B825321A393758   NONA              WILLIAMS                OH     64564662103
B8253545885927   DIANE             SULLIVAN                KY     67052535458
B8253851355959   ANGELA            ALVAREZ                 CA     90013758513
B8254681455959   CRYSTAL           MENDOZA                 CA     90015176814
B8255284793727   ALEXIS            HENDERSON               OH     90005222847
B8255886785927   SANDRO            XIMELLO                 KY     67043358867
B8255A1717B489   STEPHANIE         MARTINEZ                NC     90012930171
B8257137472B69   ANTHONY           MARTINEZ                CO     90014451374
B825771514124B   TODD              MCCARRISON              PA     90013837151
B8257717791579   CLAUDIA           HERNANDEZ               TX     90001047177
B825779A57B489   KEISHA            HARRIS                  NC     90013947905
B8257833493727   YARNIEKA          BRADLEY                 OH     90014648334
B8257A11272B3B   ANGELICA          SALAZAR                 CO     33039850112
B8257A72985936   JEREMY            BERG                    KY     66057820729
B8258213484346   NOEL              MARTINEZ-GALLEGOS       SC     90010312134
B8259121491924   BYRON             PARKER                  NC     90011471214
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2242 of 2350


B825924A472B69   MONTSERRAT    GARCIA                      CO     90011142404
B825995A293727   PRADA         DRAKE                       OH     90014329502
B825BA99424B64   MANUEL        COREA                       VA     90012880994
B826119225B327   ISIDRO        ALVARADA                    OR     44521941922
B8261848285936   TIFFANIE      HEARLD                      KY     90013398482
B8262159693752   BRITTANEY     ABERLE                      OH     90015011596
B8262438591579   ABRAHAM       TORRES                      TX     90013434385
B826331A531639   RUSTIN        ARNETT                      KS     22092783105
B8263462455959   SANDRA        INFANTE                     CA     90015094624
B826365A593752   CIERRA        BUTLER                      OH     64554116505
B826395178B136   SHAWN         COOK                        UT     90008439517
B8264343191579   ROSA          VELEZ                       TX     90000513431
B826451979182B   HELEN         GLAZE                       OK     90005525197
B826673A636122   TERRY         RAMSEY                      TX     90003057306
B82671A9876B56   SAUL          CARRASCO                    CA     90012821098
B826797275B222   KOURTNEE      DALE                        KY     90001619727
B826887562B886   BRENDA        BENOIT                      ID     90010588756
B8268A36955959   SABRINA       WILLIAMS                    CA     90012870369
B826B15A991579   JAZMIN        CHAVEZ                      TX     90008541509
B826B196455959   BERNARDINO    CASIANO CRUZ                CA     90014131964
B826B424385936   ZACK          LYONS                       KY     90014164243
B826B71279182B   MARLENA       ROCOLE                      OK     21015057127
B82713A235B327   DENENA        REAMY                       OR     44501703023
B8271484591579   ALEJANDRO     PEREZ                       TX     90014094845
B827175237B489   DAVID         FERGUSON                    NC     11008477523
B8271A5612B271   LATASHA       BAXTER                      DC     90009810561
B8272259585936   VANESSA       LEE                         KY     66057842595
B8272299157564   JOE           BUSTAMANTE                  NM     90004952991
B8272895791554   JESUS         REZA                        TX     72094538957
B8273189291924   ALICIA        CAMPBELL                    NC     90012021892
B8274259585936   VANESSA       LEE                         KY     66057842595
B8274379491924   MARIA         BALDERAS                    NC     90012733794
B8275221491579   KARINA        HEGALSEIB                   TX     90010802214
B8275492842332   CHRISTOPHER   NAVE                        GA     90010234928
B827549992B95B   SALVADOR      CORONA                      CA     90012734999
B8275892791924   ALBERTO       AVILA CARBAJAL              NC     90011498927
B8275A73855942   JESUS         SANTIAGO-MONTERO            CA     49097870738
B827615985B396   JAMES         SAYWARD                     OR     90014501598
B827633A291579   EFRAIN        CANDIA                      TX     75051993302
B8276377172B62   GRISELDA      VILLA                       CO     33058293771
B827641273B352   MARCO         HERNANDEZ                   CO     90009954127
B8276478885927   LAUREN        WRIGHT                      KY     90014614788
B827653585B396   KARLA         BECERRA GALLARDO            OR     90012355358
B8276671293745   FANTA         FURR                        OH     90014386712
B8277624191924   TABATHA       RILEY                       NC     90009176241
B8277671293745   FANTA         FURR                        OH     90014386712
B8278364585927   BRADLEY       RENFROW                     KY     90014513645
B8278996A24B64   CHARLIE       SHARPE                      MD     90013629960
B8279117272B62   JOHN          REDDING                     CO     90000321172
B8279619355959   ILCE          OROZCO                      CA     90012406193
B827996625B396   DONNA         WADE                        OR     44546829662
B827998115B327   HECTOR        ROQUE                       OR     90011549811
B827B268985927   RONNIE        YOUNGER                     KY     90007342689
B827B397131639   BRIAN         SCTOTT                      KS     90011713971
B827B46A385936   PATRICIA      WOOTEN                      KY     90014164603
B827B56A391924   CHRISTOPHER   FAIRLEY                     NC     90011165603
B8282556961952   MIGUEL        LUGO                        CA     90007625569
B82828A7333625   CHESLEY       NELSON                      NC     90010848073
B8282998693727   AMBER         BRETELSON                   OH     90013929986
B8283195441288   LESA          MITCHELL                    PA     51009841954
B8283216572B62   JAVIER        AGUIRRE                     CO     33058572165
B828382747B489   ALEJANDRO     MENDEZ                      NC     90013948274
B8283A4523B381   NICK          FEROTTE                     CO     33019980452
B8284151761973   DAVID         MENDEZ                      CA     90011541517
B8285394893758   MICHELLE      PETERSON                    OH     90011053948
B828589599155B   IRENE         LOPEZ                       TX     90011348959
B8286149193752   RICHARD       BRACKIN                     OH     90012121491
B8286839193727   HEATHER       DAUGHERTY                   OH     64539818391
B8287362991924   TASHIA        TOWNES                      NC     90014863629
B8287675393727   WINDELL       HARRIS                      OH     90013336753
B8287767172B69   KARINA        JAQUEZ                      CO     33009997671
B8288295971925   LINDA         PONCE                       CO     38026452959
B828851979182B   HELEN         GLAZE                       OK     90005525197
B8288835493752   ELIZABETH     SNYDER                      OH     90010838354
B8288A51772B69   SANTOS        AL;VARADO                   CO     33053450517
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2243 of 2350


B8289144255959   JOANNA       CERVANTES                    CA     90014681442
B8289148455959   JOANNA       CERVANTES                    CA     48005731484
B828B35882242B   JON          WAGNER                       IL     90015483588
B828B68362B923   KENDALL      LEWIS                        CA     90001206836
B828B968972B27   SHIRLEY      ALDRICH                      CO     33051729689
B828B99312B242   BERNARD      NUBY                         DC     90009589931
B8291323897157   FRANK        KRAMER                       OR     90002463238
B829142185B396   DAVID        WEHLAND                      OR     90004174218
B8291818872B62   SONJA        HARRIS                       CO     90010438188
B829217862B844   KELLIE       DUNCAN                       ID     42076351786
B8292455A61985   LOUIS        GOLETTO                      CA     90007754550
B829256684B564   STACY        HELGUERA                     OK     90008885668
B8292612672B69   KENNETH      DOIG                         CO     90014556126
B829279158B151   TALLON       NEILSEN                      UT     31055217915
B8293A8423B359   MARIA        ORTIZ                        CO     33032960842
B8294A82685927   FRANK        BOATTY                       KY     90003050826
B829522965B396   LINDA        SON                          OR     44572802296
B8296423991578   SAUL         SEPULBEDA                    TX     90001204239
B829673258B152   JEAN         GRASER                       UT     31002657325
B8296763972B69   OTONIEL      MARTINEZ                     CO     33071137639
B829684737B489   LIDIA        NIEVA                        NC     90013948473
B829749559154B   MIRNA        VALDEZ                       TX     90014184955
B829753122B252   TIA          HUNTER                       DC     90005155312
B8297862591579   MARIO        ENRIQUEZ                     TX     90007728625
B829889A185936   SHANE        MOORE                        KY     90012088901
B8299638876B58   ROXANA       GUDINO                       CA     90002026388
B829B3A8957543   TERESA       TOFYA                        NM     90004183089
B829B447624B64   NADINE       BLAND                        DC     90010704476
B829B727636122   GENENNE      GRANBERRY                    TX     73592587276
B829B98A172B62   VELEN        VELAZCO                      CO     33012619801
B829BA41791853   CASSANDRA    MANN                         OK     90008340417
B82B1354985927   JOHN         MARLOWE                      KY     90012843549
B82B215A661977   CONRAD       ALBERTO                      CA     90015111506
B82B279A972B62   NIQUASIA     WADDLES                      CO     33009197909
B82B291A97B468   JAMES        WOODSON                      NC     90007899109
B82B2A56985927   LAUREN       ROBINSON                     KY     90013180569
B82B3562791579   ALFREDO      PIZARRO                      TX     90015105627
B82B4326936122   RICHARD      FEHER                        TX     90009063269
B82B4399A5B327   PAULA        PALMA                        OR     44577213990
B82B484745B541   LEAH         GOVER                        NM     90004938474
B82B669A37B489   ELLIS        ROBERTS                      NC     90013946903
B82B6813485927   SHARON       RICHMOND                     KY     67032558134
B82B6A57872B69   LANCE        ECKSTAIN                     CO     33017190578
B82B7611155959   JESUS        BERMUDEZ                     CA     90011416111
B82B7882785936   ROBERTA      HARGIS                       KY     90013858827
B82B7887593752   JACK         EPPERLEY                     OH     90012598875
B82B8537776B27   MARK         GULAK                        CA     90002595377
B82B87A3591924   ALICIA       GOMEZ                        NC     90013817035
B82B9681936122   MANUEL       VALADEZ                      TX     90006936819
B82BB688855972   RUDY         GONZALES                     CA     49067256888
B831213A636122   YESENIA      RANGEL                       TX     90009771306
B8313741993727   DIANNA       ROMINE                       OH     64595817419
B831432595B396   ERIKA        ZINACA TEOBAL                OR     90011653259
B831481A891924   JOSE         TOLENTINO                    NC     90010408108
B8314A78643236   ANTONIO      ACOSTA                       TX     90014870786
B831562517B489   DAVID        NUNEZ                        NC     90012336251
B8315656193727   TERESA       SMITH                        OH     90006096561
B8315871472B62   MONICA       PEREZ                        CO     33060678714
B8315A72272B69   MARIA        VILLALBA                     CO     90012530722
B8317184191257   HEARTLEY     JOHNSON                      GA     90009561841
B831787A27B489   OMAR         VASQUEZ                      NC     90013948702
B8317A63236122   OLIVIA       TORRIS                       TX     73509660632
B8318265572B69   JOSE         SALINAS                      CO     90000182655
B8318667A93758   EDGAR        POSADAS                      OH     64521756670
B8318675293752   ELVIS        ROSARIO                      OH     90004296752
B8318A88585927   RANAVALONA   JENKINS                      KY     90008380885
B831945469182B   ELVIN        HUNT                         OK     21089584546
B831B859985927   HOANG        DUONG                        KY     90013878599
B8321344457134   KEVIN        BIKINDU                      VA     90000423444
B83213A9455959   GERARDO      ORTIZ                        CA     90013823094
B8322146891924   MARIO        RODRIGUEZ                    NC     90009471468
B8322677A85964   BARBARA      DIALLO                       KY     66061626770
B83232A795B396   JULIE        KNOWLES                      OR     90012402079
B8323A91A85927   RACHEL       LANG                         KY     90014740910
B8324322393758   JOSH         EASOM                        OH     90003333223
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2244 of 2350


B8324443772B69   SIMEON         SIMS                       CO     90014824437
B8324954724B64   LOVELY         CRUZ                       VA     90007799547
B832515188433B   JERONIMO       BAUTISTA                   SC     90003591518
B8325329272B62   JANET          SMITH                      CO     33024723292
B8325999433624   AMANDA         HEDRICK                    NC     90009199994
B8325A7A685821   FRANCILIA      HERRERA                    CA     90011600706
B8326118591257   JOAQUIN        GARCIA                     GA     90010981185
B832754352B256   TAMEKO         BALL                       DC     90012285435
B83279A3991579   ANA            SIQUEIROS                  TX     90001949039
B8328267372B62   NYDIA          ORTIZ                      CO     90014332673
B8329189893758   JAMES          CAMPBELL                   OH     90008961898
B83295AA693752   AARON          BURNS                      OH     90013775006
B832992177B489   WILSON         MEJIA                      NC     90008519217
B832B72125B327   TONY           METCALF                    OR     90003827212
B833122997B489   DOREEN         BELL                       NC     90014742299
B8331457491579   GUILLERMO      SALDANA                    TX     75030284574
B833146657B489   JAMIE          ERVIN                      NC     90010434665
B833152612564B   JOSEFA         RUBIO                      AL     90013855261
B833153225B327   TIM            FAGERGREN                  OR     44570685322
B8331537191257   ALBERTINA      IVY                        GA     90006305371
B833318678B133   CASEY          BAIRD                      UT     90010371867
B8334253785927   JAMES          JOHNSON                    KY     90009712537
B8334569A36122   VANESSA        GARCIA                     TX     90009615690
B8334693641229   DARMONICA      FIELDS                     PA     90011596936
B8335798972B62   MIA            MOORE                      CO     33036247989
B833642277B489   MARIA          RAMIREZ                    NC     90013964227
B8336431924B64   TAY            SMITH                      DC     90011204319
B8336A35993752   PAYGO          IVR ACTIVATION             OH     90010300359
B8338246255959   CRYSTAL        ARROYO                     CA     90010322462
B8338541291579   RAMONA         SOTELO                     TX     90014275412
B8339188785927   GABINO         LOZANO                     KY     90007341887
B8339231451324   KEISHAWNIE     BELL                       OH     90009552314
B83397A8655959   MARIA          MURILLO                    CA     90004947086
B8339961484364   LATOYO         BROWN                      SC     90004369614
B8339965972B62   SCOT           STRINGER                   CO     33076859659
B833B16537B489   DARIUS         MCCULLOUSH                 NC     90014761653
B833B831572B62   VANESSA        MEDRANO                    CO     90000768315
B833B86557B489   DERRICK        TAYLOR                     NC     90011288655
B8341532533643   RAYMOND        BROKENBROUHG 111           NC     90012965325
B834194429182B   RAQUEL         MASON                      OK     21089409442
B8341A75172B69   ROBERT         CAMPOS                     CO     90012530751
B8342199855959   MARCOS         ZAPOTECO                   CA     48044221998
B8342285455992   SALVADOR       GARCIA                     CA     90006132854
B8342387185927   ALEXYZ         JONES                      KY     90011313871
B8342573A33646   MEGAN          GASEY                      NC     90014605730
B834297287B489   PATRICIA       PALACIOS                   NC     90003019728
B834298A536122   BRANDON        CANALES                    TX     90014129805
B8342A4925B396   TROY           KIRK                       OR     90011370492
B8343525972B69   JOEL           FERNQUIST                  CO     90011535259
B834367335B327   GLEMMA         RUISE                      OR     44512826733
B8344417785927   NATALIE        HUGHES                     KY     90005634177
B834457569286B   BLANCA         VALLEJO                    AZ     90015375756
B8344856893752   CHLOE          KRISTENSEN                 OH     90013418568
B8344A41193727   JAMES          WALKER                     OH     90000320411
B8345157681659   NAKIA          JEFFERSON                  MO     29088711576
B8346528A7B489   TAYONA         ROARY                      NC     90014015280
B8346587536122   CHRISTIE       TERIÑO                     TX     73519685875
B8347296236122   ROBERT         GONZALES                   TX     90012552962
B8348263576B3B   JOANNA         GANZALEZ                   CA     46006272635
B834858AA72B69   EDWARD         GONZALES                   CO     90013895800
B834862962B266   SHARMEKA       WILLIAMS                   DC     90000656296
B834874A491579   MARIA          PEREZ                      TX     75090267404
B834885117B489   LOUIS          JOSEPH                     NC     90013948511
B8348881591924   ELIZABETH      ALMEIDA                    NC     17092118815
B834944877B489   HECTOR LEMOS   COLORADO                   NC     90012354487
B834953789182B   OLGA           TORRES                     OK     90002195378
B834B16595B374   UKULE          SADO                       OR     90010671659
B8351698443236   GLORIA         QUIROZ                     TX     90014626984
B8351763755959   FRANCO         SONIA                      CA     90007027637
B835193A431688   LAURIE         MCNAMARA                   KS     22049999304
B8352389172B62   AUBREY         JOHNSON                    CO     90011013891
B835259995138B   MICHAEL        HUFF                       OH     90011545999
B8352846255959   JESO           ESPINO                     CA     90014108462
B8353218985936   KRISTINA       GROGER                     KY     90014702189
B8353A65391592   ORTIZ          DWAYNE                     TX     90010900653
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2245 of 2350


B835424677B489   PATSY        WOODCOCK                     NC     90014402467
B835444772B95B   ANGELA       MEJIA                        CA     90012694477
B8355152385936   MINDY        MAHONEY                      KY     90014181523
B8355715A31639   CHERRI       MWANACHE                     KS     90003267150
B8355A21893758   GERALD       TURPIN                       OH     64592350218
B8355A85361925   ARTURO       VITELA                       CA     90010660853
B8357411393758   ROBERT       SHADIX                       OH     90010594113
B835789112B227   VINCENT      TOBIAS                       DC     90012508911
B8357994491257   ELIZABETH    RODRIGUEZ                    SC     14524809944
B8358357131688   JOY E        DOWNS                        KS     90002923571
B83586A7A91579   JESUS        HERNANDEZ                    TX     90006786070
B8358782742332   ANN          MAXWELL                      GA     90000947827
B835977235B384   LESONDRA     HILL                         OR     44566467723
B835982624B541   ERICK        CHALI                        OK     90014068262
B835B395993758   TOSHIA       DANIELS                      OH     90010593959
B835B475772461   EUGENE       DULKIS                       PA     90002614757
B835B956285936   KACEY        CLAYPOOLE                    KY     90014179562
B835B9A6491579   ROSALI       DEALVAREZ                    TX     75072829064
B8361386A9182B   JUAN         JUAREZ HERNANDEZ             OK     21021743860
B836174A18B187   MERLIN       ETHINGTON                    UT     31088037401
B836184777B449   DEVONNE      CARTHCART                    NC     90012708477
B8361987772B69   ARACELI      GUADARRAMA                   CO     90005359877
B8362235193752   IDA          BARBER                       OH     90012602351
B8362374572B69   ENRIQUE      RODRIGUEZ                    CO     33012113745
B836381122B271   MARKISHA     MABRY                        DC     81043308112
B8363985871966   CYNTHA       COOK                         CO     32013479858
B8364178485936   MARIO        RIVERO                       KY     90008891784
B8364259491579   RUTH         RIVERA                       TX     75086742594
B8364285455992   SALVADOR     GARCIA                       CA     90006132854
B836479925B327   DARYL        CROSSMAN                     OR     90002017992
B8364A96731639   AREDENNA     BASSETT                      KS     90011720967
B8365A2345B356   JOHN         BURCHFEIL                    OR     90014670234
B836616259182B   BETH         DIHEL                        OK     90006981625
B8366738491972   ALICIA       EASTON                       NC     90008457384
B836697A643236   ESTELLA      REYES                        TX     90014719706
B836779A472B69   DANA         SEGURA                       CO     90009577904
B8367918985936   BIHL         CURTIS                       KY     90011179189
B8367A46685927   ANGELA       YEAGER                       KY     67003350466
B8368237891585   ADRIAN       ORTEGA                       TX     90004242378
B836824999154B   DESSARDY     GONZALES                     TX     90009472499
B836866685B592   OMAR         OROZCO-GARCIA                NM     90002756668
B836883817B489   ITZEL        GODINEZ                      NC     90013948381
B8369247272B62   JASON        KARL                         CO     33010622472
B836972144B557   DAVID        FUCHS                        OK     90011657214
B836B331493727   KELLY        JUDY BAILEY                  OH     64556053314
B836B7A4793738   TRACY        GREEN                        OH     90006527047
B8371549621831   CODY         ANDERSON                     MN     90014825496
B8372111655972   KAYLAN       POLLARD                      CA     90008811116
B8372428891579   MARIA        PEREZ                        TX     90009764288
B8372511491579   IVONE        MORA                         TX     90013005114
B837298997B489   SIMON        JORDAN                       NC     90013949899
B8373922685927   HEATHER      WETHINGTON                   KY     67003359226
B837499A87B489   ANTONIO      GARCIA                       NC     90013949908
B8375765793752   RONALD       ROWLAND                      OH     64567637657
B8376A68191592   CYNTHIA      HERRERA                      TX     75073160681
B8377A6455B327   TERRI        DONALDSON                    OR     44518320645
B8378143491579   LUIS         ZUBIATE                      TX     90003071434
B8378759885936   WILLIAM      MCBEE                        KY     90010937598
B8378812893752   DAVID        BROWN                        OH     64544018128
B8378A95972B69   ANA          MARTINEZ                     CO     90012530959
B837915194B251   SHAUNA       GRADY                        NE     90012881519
B837947937B489   RICARDO      CABEZA DE VACCA              NC     90010434793
B837B5A3993727   LEATRICE     SMITH                        OH     64590895039
B837B757193758   CARLA        HARVEY                       OH     90003837571
B837BA1777B489   SAKIA        CROWDER                      NC     90013950177
B8381166672B62   STEVEN       WILLIAMS                     CO     90009661666
B8381377661949   CHRIS        SHEARER                      CA     90000853776
B838141312B844   KENNY        BOYLAN                       ID     90003384131
B8381614872B69   RANDY        VANMETER                     CO     33090726148
B8382286691924   DOMINIQUE    STANLEY                      NC     90011682866
B8382977191579   ADRIANA      ZUNIGA                       TX     90011009771
B838399467B489   SALVADOR     CRUZ                         NC     90013949946
B8384284791579   JONES        ROY                          TX     90014612847
B8385593493745   ELIZABETH    OGDEN                        OH     64542375934
B8385842991524   MIGUEL       MURILLO                      TX     75024408429
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2246 of 2350


B8385878351339   QUANISHA     CRENSHAW                     OH     90012418783
B8386485991368   LEE          WILDER                       KS     90014754859
B8386774991924   MIKE         BROWN                        NC     90012957749
B8387452172B69   MONICA       HERNANDEZ                    CO     33032874521
B8388139331688   KEITH        MITCHELL                     KS     90006131393
B8388229191579   MARGARITA    RUIZ                         TX     75093242291
B838845245B396   CALEB        FRANKLIN                     OR     90010664524
B8388531593758   BRYAN        AGNEW                        OH     90010595315
B8388534991924   CAMELIA      LATTA                        NC     90008785349
B8388796185936   ANTHONY      HALEY                        KY     90011787961
B8389361485936   MICHELLE     THOMAS                       KY     90014183614
B8389934793727   PEYTON       CLEGG                        OH     90002229347
B839117485B396   ANNJALYSSA   JONES                        OR     90005821748
B8391185991924   JOHANNA      HAGERMAN                     NC     90008181859
B8391481272B62   SAL          GUERRERO JR                  CO     33012624812
B8392133A77577   ERIN         LOONEY                       NV     90001761330
B839224535B356   JASON        RALSTON                      OR     90013302453
B8392349631639   MELISSA      HALE                         KS     22082523496
B8392392691579   MARY LOU     MARS                         TX     75087853926
B8393535797B31   ALBERTA      GRIFFIN                      CO     90014415357
B8394555472B69   AMANDA       MAES                         CO     90001695554
B8394636691579   IRENE        HERNANDEZ                    TX     75006576366
B8394721355959   ROBERTO      ORTIS                        CA     90015377213
B8396285155972   JAMES        SYHAVONG                     CA     49067092851
B8396879761925   ELIZABETH    LOPEZ                        CA     90010828797
B8397241193758   MARIA        SHORT                        OH     90007812411
B83972A267B489   MARCO        MATA                         NC     90011602026
B839732AA7B492   GORGE        RENTERIA                     NC     90008773200
B839744125B396   JACOB        MULL                         OR     90011424412
B8397725424B55   TARRICK      WALKER                       DC     90006357254
B8397879761925   ELIZABETH    LOPEZ                        CA     90010828797
B839796677B489   MARIA        GONZALEZ                     NC     90013369667
B839846115B396   ERIKA        CONTRERAS                    OR     44578964611
B8398989724B64   IVONY        WILLIAMS                     DC     90013439897
B8398A99731639   MONICA       FERNANDEZ                    KS     22078510997
B8399843555959   DAVID        HOFFMAN                      CA     48012858435
B83B112A791924   PATRICIA     LINDSAY                      NC     90010341207
B83B2795331639   CHRISTOPHE   NAVA                         KS     22029287953
B83B2959A85927   LATASHA      RILEY                        KY     67093139590
B83B438517B489   VANESSA      FRANO                        NC     11072803851
B83B4622355959   REYNA        MADERO                       CA     90012406223
B83B46A6355924   ANGEL        CRUV                         CA     90001226063
B83B5315255959   ROSIO        RAMIREZ                      CA     90014543152
B83B548A193783   CINDY        LUNDY                        OH     64561434801
B83B54A857B489   LENDER       STEWART                      NC     11016754085
B83B7394772B62   TIMOTHY      MCHONE                       CO     90013603947
B83B7781291924   JULIO        DIAZ                         NC     90000937812
B83B8773891924   DENIQUA      GRANT                        NC     90002287738
B83B9399491579   RAFAEL       HERNANDEZ                    TX     90007543994
B83B9663472B69   CRYSTAL      GRIEGO                       CO     90014956634
B83BB83895B327   MARIA        CERVANTES                    OR     90002268389
B8411478A93758   MENSAH       MARTIN                       OH     90006034780
B841198A62B271   COURTNEY     KNIGHT                       DC     90011489806
B84119A7655972   KA           XIONG                        CA     49056739076
B8412181985936   SHERRIE      HARRIS                       KY     90014921819
B84121AA991939   JORGE        MORALES                      NC     90004191009
B841234798B192   DEBBIE       NEWELL                       UT     31017543479
B8412354893752   MICHELLE     MANIS                        OH     90014773548
B8412766391579   LESLIE       MENDOZA                      NM     90011917663
B841311845B555   BEATRIZ      VALLE                        NM     90009441184
B8413357472B69   JOSHUA       SIMMONS                      CO     90008883574
B8414763785936   AMIE         ROBERTS                      KY     66009697637
B841536693146B   CHERYL       MASSA                        MO     90015113669
B8415683231452   YASMIN       MARTIN                       MO     90007606832
B841594A372B27   PAYGO        IVR ACTIVATION               CO     90014479403
B841613245B396   YOSIEF       TEWOLDE                      OR     90010151324
B8416236291579   HUGO A       MARTINEZ                     TX     75092062362
B841716747B489   KIMBERLY     STONE                        SC     11028371674
B8417356231468   JEAN         GAYER                        MO     90004933562
B8417718172B69   LISA         MOORE                        CO     33010407181
B841798124B954   JOE          MUNOZ                        TX     90008159812
B841811A455959   EVELYN       SILVA                        CA     90012421104
B8418178455959   FELICIANO    RODRIGUEZ                    CA     90014951784
B8418335355972   BILLY        SHERELL                      CA     90004623353
B8418813172B69   CESAR        AYALA                        CO     33008808131
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2247 of 2350


B8419351993727   BRIDGET            WRAY                   OH     90014693519
B84196A7191924   YURI               PENA                   NC     17080076071
B841B414891924   NAJOWIONNICOLE     FEARRINGTON            NC     90014574148
B841B5A242B271   DASHAWN            RUSSELL                DC     90010305024
B841B95512B271   CARLED             WHITE                  DC     90012849551
B842113A772B69   BRANDON            HUDSON                 CO     90012531307
B8421153391924   DYLAN              SYLVAN                 NC     90011981533
B84211A9151326   JEROMFE            HALL                   OH     90000451091
B8421658891579   JOSE               GONZALEZ               TX     75099146588
B842225A54B251   MODESTO            ANTONIO DURATE         NE     90001112505
B842226285B396   CHANELLE           THOMAS                 OR     90015222628
B8422658893727   SHAWN              JOHNSON                OH     64567856588
B8422A73772B69   MARINA             FRANCO                 CO     33019850737
B8423271A36122   MELISSA            OLGUIN                 TX     73522852710
B842358419286B   BLANCA             VALLEJO                AZ     90015375841
B8423A36655959   OLIVER             ZAVALA                 CA     90004630366
B842435254B933   CURTIS             ROSE                   TX     90007193525
B8425344955972   CARMEN             BAJXAC                 CA     90014653449
B8425469461985   CHRISTOPHER        BRIGHT                 CA     90012824694
B8425738772B62   DOUGLAS            AVISON                 CO     90013047387
B8426147791549   JENNIFER           WILSON                 TX     90008551477
B842673115B281   SANDRA             WOOLRIDGE              KY     68098237311
B842733339182B   ONIWAK             MUNIZ                  OK     90005913333
B8427692A7B489   CIARA              PERRY                  NC     90009906920
B8428897A4B284   ANDY               MALDONADO              NE     90013628970
B8428A24155959   AMANDA             MARTINEZ               CA     48072000241
B8428A93291924   JAVON              HUNTER                 NC     90014430932
B842936562B238   THELMA             DORSEY                 DC     81014433656
B8429393893752   JULES              DANIEL                 OH     64534193938
B84294A4172B62   DAMIAN             CORTEZ                 CO     90011014041
B8429869A91579   YVONNE             GUZMAN                 TX     90006258690
B842B927872B48   SUZANNE            REED                   CO     90008549278
B8431252493752   KENNETH            PUHALA                 OH     90006452524
B843131A672B69   FELIX              MOISES                 CO     33074523106
B8431643472B62   RACHELLE           SANTISTEVAN            CO     90012976434
B8432164155959   JOSE               CRUZ-NUNEZ             CA     90002331641
B8432194536122   MEAGAN             CHELSEA WINDSOR        TX     90014021945
B843239A772B69   DOLORES            SEGURA                 CO     90013593907
B8432A7327B489   HIGINIO DE JESUS   GARCIA                 NC     90013950732
B8433866293752   TRAMELLE           JONES                  OH     90009708662
B8434145393758   MELISSA            TAYLOR                 OH     64574021453
B8435466191579   ROVIN              ESCOBAR                TX     90014954661
B8435A56872B69   ANGELICA           CUEVAS RAYA            CO     33001030568
B8437755A9182B   LAURA              LOPEZ                  OK     21035577550
B843794345B396   JAMEEL             MELSON                 OR     90014129434
B843877292B523   BRANDON            KORNEGAY               AL     90014727729
B843879A12B271   CHANNELL           SPENCER                DC     90011647901
B8438A33155959   NANCY              PENA                   CA     90010250331
B8439339A91924   ALECIA             GATTIS                 NC     90012163390
B843946125B327   FLOYD              MCCALLUM               OR     90008974612
B8439728436122   MANUEL             GARCIA                 TX     90014197284
B843B541591579   KARLA              THOMAS                 TX     90006065415
B843B5A1336122   CALEB              GARCIA                 TX     90014855013
B843B82785B327   CHRISTOPHE         JUNGENBERG             OR     44547368278
B84414A2947839   CANDACE            BROWN                  GA     90008484029
B8441617972B62   KARLA              ESCARCEGA              CO     33091016179
B84417A269182B   MILSA              AGUILAR                OK     21019977026
B8441A86672B69   JONATHON           PATCH                  CO     90008550866
B8442471191579   RUBEN              RENTERIA               TX     90013374711
B844339832B223   DREW               SONLOSKI               DC     81012063983
B8443669491579   MELISSA            FERRERA                TX     90014626694
B844414545B957   PRISCILLA          PETLEY                 ID     90014201454
B8444425685927   DIANA              HERNANDEZ              KY     90014564256
B8445218555959   ELIZABET           RIOS SALOMON           CA     90013632185
B8445245977324   YESENIA            AQUINO                 IL     90013032459
B8445716A9182B   CHASE              WASHINGTON             OK     90009907160
B8445A9117B489   JOSHUA             CARLTON                NC     90013950911
B8446138136122   VANESSA            RODRIGUEZ              TX     90010001381
B8446635891579   SAUL               RAMIREZ                TX     75098426358
B8447816185927   HEATHER            DAVIS                  KY     90006968161
B8447941A93727   CEARAIGH           GERNON                 OH     90011009410
B8447995872B69   RICARDO            GARCIA                 CO     90013129958
B844829929182B   ELIDA              HELER                  OK     90005542992
B8448A9677B489   MARIA              VALENTIN               NC     90013950967
B844B49A993727   MANDY              LEWIS                  OH     64501704909
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2248 of 2350


B844B514493752   LYNN         CLEMANS                      OH     90003815144
B8451783972B21   RALPH        ASHLEY                       CO     90011347839
B84519A2A5B396   LORNA        POWELL                       OR     90009909020
B8452169872B69   SARAH        RUDOLPH                      CO     33017191698
B845246532564B   TIMMOTHY     GUERRERO                     AL     90013964653
B8452866685927   MARICUS      JONES                        KY     90009938666
B845297AA55959   TLALOC       CUEVAS                       CA     90013329700
B84542A8622963   JOEY         DULANTO                      GA     90014012086
B8454476381656   DANIELLE     HENRY                        KS     29015094763
B8454619361961   YESENIA      OSORIO                       CA     90015076193
B84546A8572B88   MIRNA        GALLEGOS                     CO     33077106085
B845556687B489   EUSFORGIO    VARGAS                       NC     90014015668
B8455774955959   WENDY        DURAN                        CA     48009797749
B84562A712B834   CHANDLER     NORTON                       ID     90011672071
B8456624393758   MICHAEL      CARTER                       OH     90000876243
B845678535B25B   ELIZABETH    SCHULTZ                      KY     90000227853
B845681A361984   MARIA        ALVAREZ                      CA     90001228103
B8456938872B69   OSCAR        FLOREAS                      CO     33088009388
B8457683791927   CECILIA      PEREZ TORRES                 NC     90010706837
B845839A891579   ROBERT       ESTRADA                      TX     90012593908
B84584AAA72B53   DOUGLAS      GROSSHANS                    CO     90012154000
B8459421372B62   MARIA NERI   GONZALES VENEGAS             CO     90011024213
B8459921691579   SERGIO       VALLES                       NM     90002839216
B8459A88793745   BRIAN        BERRIEN                      OH     90005700887
B845B247393752   QUALAIA      JOHNSON                      OH     90011522473
B845B59928B175   SANDRA       ROMERO                       UT     90012535992
B845B874172B62   JOSE         GUTIERREZ                    CO     33054128741
B84615A5393727   DARLENE      NASH                         OH     64532835053
B8461659791579   LURDES       SALINAS                      TX     90013776597
B846198815B396   SAMUEL       LOPEZ LOPEZ                  OR     44591319881
B8461A5A755959   MARIA        TURJILLO                     CA     90010260507
B84622A3336122   CLINT        MCENTIRE                     TX     90005962033
B8462674291579   CASSANDRA    FRANK                        TX     75061146742
B8462752677577   SHERI L.     CARROLL                      NV     43065267526
B8462959531657   KOREY        ABBOTT                       KS     90013659595
B8463429185927   ERICA        MITCHELL                     KY     67034074291
B8464138A6196B   LEOPOLDO     PASTELERO                    CA     90003861380
B8464169A91579   JAIME        CHAVEZ                       TX     90015171690
B846446355B327   JARRIT       OVERTON                      OR     90011534635
B846486792B96B   MARCELINA    PACHECO                      CA     90011978679
B846535A191924   LESLIE       WILSON                       NC     90004353501
B8467119591836   KELLI        MILNER                       OK     90011521195
B8467124991924   JOSE         ESPANA                       NC     90014171249
B8468372393752   COACHIE      SHORT                        OH     64507533723
B8468A44672B62   PEDRO        FLORES                       CO     90014390446
B8469238991579   MARA         ROSALES                      TX     90008582389
B8469324A2242B   JAVIER       ORTIZ                        IL     90015363240
B8469663385936   CRYSTAL      VON HAGEL                    KY     90001956633
B8469672772B69   NANDI        BHATTARAI                    CO     90012006727
B8469848536122   JULIA        HUERTA                       TX     90014768485
B8469862431639   DOUGLAS      MOORE                        KS     90011728624
B846B4A775B327   REBECCA      JAYNE                        OR     44540574077
B846B587393727   CHANTEL      PIKE                         OH     64561085873
B846B976655942   ABRAHAM      CASTILLO                     CA     90002129766
B847121547B489   SHANEQUE     SMITH                        NC     90013952154
B8472512685936   SHARON       CUNEO                        KY     90011905126
B847318875B396   NAEMO        HASSAN                       OR     90014391887
B8473354355959   GUSTAVO      DIAZ                         CA     90013823543
B8473A41391579   FRANCISCO    ROJAS                        TX     90012610413
B8474218A84333   BEVERLY      OWENSBY                      SC     90012732180
B8474954291924   RAQUEL       ROGERS                       NC     90009969542
B84749A4393758   TANYA        PETERSON                     OH     64506319043
B8475367A5B396   VICTOR       MCBROOKS                     OR     90013533670
B847537875B327   YASJAIDA     SOTELO REYES                 OR     90006863787
B8475762524B64   IRIS         MAJANO                       DC     90002437625
B84762A448B156   KIPP         LEE                          UT     90004872044
B847634155412B   DEBORRAH     BADGER                       OR     90015393415
B8476515291579   ENRIQUE      CANO                         TX     75014135152
B8476619493758   CASEY        CRUMRINE                     OH     90000516194
B847678922B22B   JEROME       BLAND                        DC     90012507892
B8477152472B62   JOSEF        PIVODA                       CO     90013861524
B8477752191574   SANDRA       VASQUEZ                      TX     90007587521
B847821997B489   MAYRA        HERNANDEZ                    NC     90013952199
B8478833472B62   SHEILA       VALENZUELA                   CO     33018948334
B8479561193752   ANGELA       SPENCER                      OH     64544755611
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2249 of 2350


B847972774B563   DARIK           WISE                      OK     90010017277
B847B473491579   MICHELLE        GARCIA                    TX     90004894734
B847B588531688   TROY            MITCHELL                  KS     22062765885
B847B745785927   HERNAN          MENDEZ                    KY     90012577457
B848121A655959   ARON            RAMIREZ                   CA     90014052106
B8482216731639   ANGELA          JOHNSTON                  KS     22034962167
B84824A8336122   CANDACE         BUBENIK                   TX     73539554083
B8482526672B69   ALEXIS          GENTRY                    CO     90013555266
B8482A29793727   ROBERT          SMITH                     OH     90006890297
B848378A931639   REYNA           COMPARAN                  KS     90003107809
B8483881493752   ANTENISE        DENNIS                    OH     90015008814
B848431782B883   KATHRYN         ROBERTS                   ID     90003583178
B8484347985936   HOPE            SMITH                     KY     66088053479
B848448897B489   ROSE            PORTER                    NC     90000524889
B8485286785927   BRIAN           HACKER                    KY     90007602867
B8485A57671921   PAT             ZWIRLEIN                  CO     32089800576
B8485A71155925   ALICIA          BARRAZA                   CA     90000310711
B8486493331475   ALENE           MARTIN                    MO     90008194933
B84865A534B289   JULIE           BURT                      NE     90004185053
B848717525B327   WIRELESS        CALLER                    OR     44578851752
B8488165741233   MARK            LENER                     PA     90013601657
B84882A6A85936   AMY             COOK                      KY     66024392060
B848835935B327   ROCHELLE        HOWELL                    OR     44518443593
B848853A936122   BRIANNA         OCHOA                     TX     73510795309
B8488561872B69   AMBER           ROSE                      CO     90003815618
B848869167B489   PHOURIENG       KEONAKHONE                NC     90003786916
B848927137B489   BRYAN           JONES                     NC     90013952713
B848951542B888   TAYLOR          DEVENPORT                 ID     90009285154
B848B5A7A36122   SAMMY           MARTINEZ                  TX     90012335070
B8491122855972   MISAEL          GARCIA                    CA     90001931228
B849127895B396   JAMES           HIGGINS                   OR     90013742789
B8492714855959   CAROLINA        CISNEROS                  CA     90013557148
B8493331A5B384   LAURA           DURAN DIAZ                OR     90008893310
B8493345193727   CORY            GREER                     OH     90011343451
B84941A5355959   FRANCISCO       SEGOVIANO                 CA     48082331053
B849455495B396   BRIANNA         SUTTON                    OR     90012315549
B849465A693758   JODIE           SAGE                      OH     64577436506
B84958A7585927   EDGAR           GAUCIN                    KY     90014728075
B849671713B372   REBECCA         BARRETT                   CO     90008887171
B8497134472B69   JESSICA         LANGE                     CO     90012531344
B849741195B548   BRAD            GREEN                     NM     35086114119
B8497662653B21   JESUS           VILLARREAL                CA     90014656626
B849829367B489   JOYCE           MAYAKA PANZA              NC     90013952936
B8498965655959   SANDRA          HERNANDEZ                 CA     90012779656
B8499447A91579   OSCAR           DIAZ                      TX     90012144470
B849B824972B62   DAN             SMITH                     CO     33012628249
B84B116A393752   JENNIFER        WANAMAKER                 OH     64560651603
B84B169975B396   GERARDO         GUILLEN                   OR     90015026997
B84B257915593B   TINA            RENTERIA                  CA     90011275791
B84B271AA85821   SCOTT           LIPIS                     CA     90013677100
B84B287A385936   JENNY           HENRY                     KY     66023008703
B84B3163693752   VICTORIA        WHISMAN                   OH     90013731636
B84B329748B859   ESTAKE          ESEUK                     HI     90015402974
B84B3467A91924   MIGUEL          THOMAS                    NC     90014874670
B84B3687185936   ERIC            CROUT                     KY     66017326871
B84B41A8872B62   JENNIFER        TAPIA                     CO     33090091088
B84B562484B285   LUZ             TAPIA                     NE     90011266248
B84B669669182B   EFREN           LEDEZMA-SANCHEZ           OK     21090186966
B84B6728272B62   JAMES DEONTAE   HARRIS                    CO     90012137282
B84B714697B489   TONY            ALLEN                     NC     90013951469
B84B7A7927B387   QUIMAGO         BOLALCALE                 VA     90001100792
B84B8649585927   HECTOR          PINERO                    KY     90015396495
B84B875A157564   LETICIA         SCHROEDER                 NM     90007817501
B84B8778972B62   RYAN            VIGIL                     CO     90010127789
B84B9833585927   JEEWAN          GURUNG                    KY     90010278335
B84BB26195593B   JACQUELIN       MEDINA                    CA     48003692619
B84BB267591924   RAFAEL          EVANS                     NC     90014302675
B84BB273855959   ISAIAS          RIOS                      CA     90014912738
B84BB61463B384   PETER           WILKINS                   CO     90011806146
B84BB651972B69   TRINIDAD        SOTELO                    CO     90007866519
B84BB715555959   JOSE            GONZALEZ                  CA     90003037155
B8512479472B69   ALEXA           ESCOBAR                   CO     90013654794
B8512998A85927   STEPHANE        MOKOBAN                   KY     90013699980
B8513816A3B335   LUZ             VILLASANA                 CO     90001178160
B851484365B396   VICTOR          CAMPUZANO                 OR     90014838436
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2250 of 2350


B851516752B271   DEVIN           STOKES                    DC     90008691675
B85159A4A5B327   JAMILA          BROWN                     OR     90006789040
B8515A35672B69   COSTELLO        GEORGE                    CO     90012970356
B851614293B352   MARIA           MACARENO                  CO     90003421429
B85167AA593727   DUANE           MORGAN                    OH     64558897005
B8517197A93727   JESSICA         VERSCHELDEN               OH     90012541970
B8517275593752   LISA            PORTER                    OH     64521422755
B8517A16531688   KAREN           MATHIS                    KS     22088030165
B8517A52185927   HUSSEIN         SOMBE                     KY     67085590521
B851832177B489   RENEE           LENOR                     NC     90013953217
B8518525291579   SANTIAGO        TERRAZAS                  TX     75030285252
B85193A5693758   HEATHER         CARMACK                   OH     64524083056
B8519587391579   JESSICA         RODRIGUEZ                 TX     75096565873
B851B539A9182B   TIMOTHY         ALLISION                  OK     21033945390
B851B87577192B   CLEORA          COCHRANE                  CO     90014888757
B852121195B396   TIANNA          ROGERS                    OR     90014322119
B8521992A7B489   KISHA           SMITH                     NC     11032219920
B852212AA55959   JEANETTE        SOTO                      CA     90013831200
B85223A4A93727   GREG            WELCH                     OH     64565353040
B852284A891579   CLAUDIA         HERRERA                   TX     90014758408
B8523824972B62   DAN             SMITH                     CO     33012628249
B8524127893752   MELISSA         MARSHALL                  OH     90011891278
B852412AA91232   TROY A          DEMPSEY                   GA     90006121200
B8524A74236122   ROSALBA         BARTON                    TX     73590170742
B852569779182B   MIKE            LAGEOSE                   OK     90000166977
B8526956791924   SHERYL          BOSTIC                    NC     90015119567
B852718A191924   MAIRA           PEREZ                     NC     90012821801
B8527521777363   GUADALUPE       MORA                      WI     90014065217
B852798855B396   JASHODHA        MONGER                    OR     90014869885
B8528141193758   WILLIAM         DODD                      OH     64596511411
B852935187B489   MONIQUE         CORPENING                 NC     11001223518
B8529484455927   BERTHA          NOELIA DEANDA             CA     90003344844
B85295A5155936   ALEJANDRO       HINOJOSA                  CA     90013345051
B8529A7A63B326   JON             MAJERUS                   CO     90010770706
B852B213985861   EBERTO ANDRES   RODRIGUEZ                 CA     90006562139
B852B939697123   ERIC            WELCH                     OR     90007669396
B8531316855959   ARTURO          VASQUEZ                   CA     90014543168
B8531329161975   MARCOS          RODARTE                   CA     90004363291
B8532218972B62   RICARDO         VASQUEZZ CORDOVA          CO     90012402189
B8532421991257   PEDRO           GOMEZ                     SC     90001854219
B8532A7437B489   ROSIO           LOZA                      NC     90007160743
B85331A7185927   BETH            CLARK                     KY     67085901071
B8533361391924   CLAUDINE        SHAW                      NC     90015123613
B8533A89957134   JUAN            MENJIVAR                  VA     90003170899
B853512AA55959   JEANETTE        SOTO                      CA     90013831200
B8535434991524   ESTEBAN         HERNANDEZ                 TX     75002714349
B853555564B954   BILLY           JOHNSON                   TX     90000855556
B8535681591579   DURAN           DANNY                     TX     90009686815
B85361AA985927   BEATRICE        COOPER                    KY     90005581009
B8536267572B62   JOSE            PEREZ                     CO     90012762675
B8536346491579   ADRIAN          AGUILAR                   TX     90013883464
B8536747776B31   FERNANDO        FUENTES                   CA     46004037477
B8536911872B62   AMBER           DEHERRERA                 CO     90014449118
B8536A31493727   RICHARD         ASHLEY                    OH     90013960314
B8537415691554   BEATRIZ         CASTILLO                  TX     75028194156
B8537423171924   DAVID           KORINEK                   CO     38010144231
B8537568772B69   JORGE           SANCHEZ                   CO     33036305687
B8537695593758   RUSSELL         YOUNG                     OH     64549986955
B8538144A72B62   ANA             DE LA TORRE               CO     33093301440
B8538326484383   AGNES           YOUNG                     SC     90012083264
B853885252B271   DEBORAH         SMITH                     DC     81028148525
B8539427793727   KENDRIA         WEAVER                    OH     90009384277
B8539486755959   ALMA            ROSA CASTELLANOS          CA     48011684867
B8539A26861937   MARIA           GONZALEZ                  CA     90008470268
B8539AA2A61937   MARGARITA       JUAREZ                    CA     90013920020
B853B96A672B69   LARRY           DUTCHER JR                CO     33092909606
B854142A122963   SAVANNAH        JENKINS                   GA     90014144201
B8541886691257   JENNIFER        BURGOS                    GA     90006688866
B85418A1472B62   MANUEL          AVILA                     CO     90009248014
B854192117B489   CHARLITA O      MITCHELL                  NC     11045929211
B8542463591579   CLAUDIA         VILLARREAL                TX     75074084635
B8542599455959   FRANCISCO       REYES                     CA     90008025994
B8542813793727   TONI            MESAROSH                  OH     64549078137
B85435A2933658   CHARMEL         WHITWORTH                 NC     90013145029
B85435AA791579   JAZMIN          COLEMAN                   TX     90012475007
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2251 of 2350


B854372255B371   LAURIANO      LOPEZ                       OR     90014127225
B8544232772B69   ROSARIO       GARAY                       CO     90011182327
B8544644A8165B   JERRY         FOLZ                        MO     90011506440
B8545538A55959   MIGUEL        MAGALLANES                  CA     90000485380
B8545774691585   PATRICIA      ORTEGA                      TX     75080817746
B8545815885927   ROBIN         BEER                        KY     90008968158
B8545A3445B396   DONAVAN LEE   QUILLAN                     OR     90002680344
B8546834136122   VERONICA      SENICEROS                   TX     73588858341
B85478A665B396   KATERA        PERRY                       OR     90015168066
B854825A82B23B   SHAKYTA       MOORE                       DC     90004852508
B854874A591924   RITA          BALDWIN                     NC     90013747405
B85489A395B396   SUSAN         DEHINE                      OR     44587719039
B854978365B573   JACKIE        PENA                        NM     90012827836
B8549958893752   LEANNA        SLORP                       OH     90014559588
B854B345291549   VALERIE       DEREGO                      TX     90002243452
B854B42625593B   MIAGUEL       DOMINGUEZ                   CA     90010604262
B855134323B357   FELIPE        PEREZ                       CO     90002013432
B855141947B489   LINDA         JOHNSON                     NC     90013954194
B855169779182B   MIKE          LAGEOSE                     OK     90000166977
B8552142355974   BOBBIE        HAMON                       CA     90000771423
B855217415B592   JESSICA       DURAN                       NM     90008391741
B855234A293752   KAPRI         TOOSON                      OH     90014893402
B8552A36557134   DESTINI       LINDSAY                     VA     90008330365
B8553123831478   CAROLINE      GUEST                       MO     90007681238
B8553198455959   CATHY         ROMERO                      CA     90007881984
B8553368872B62   FLORENCIA     DIAZ                        CO     90004923688
B8553449A7B489   JAMES         CLOUD                       NC     90013954490
B855347142B227   LALITA        WARD                        DC     90013974714
B8553483591579   PATRICIA      MERAZ                       TX     90013544835
B8553A79936122   MARIA         RODRIGUEZ                   TX     73507600799
B8554499161984   JOANN         MURPHY                      CA     46026324991
B8555189A72B69   SIMON         ENRIQUEZ                    CO     90014741890
B855522557B86B   ROBIN         MISTER                      IL     90014792255
B8555435631688   ROBERT        CHANILER                    KS     90013664356
B8555646572B24   MIGUEL        ZAPETA                      CO     90001226465
B85565A6472B69   MARIBEL       GARCIA                      CO     33060875064
B8557578955959   JORGE         MARTINEZ                    CA     90013405789
B855817525B327   WIRELESS      CALLER                      OR     44578851752
B85581AA12242B   ELIZABETH     BERNAL                      IL     90015521001
B8558312985936   DANIEL        ASHBY                       KY     90005473129
B855912865B327   ALMA          ROBLES                      OR     90011441286
B8559747591924   BOB           YACONE                      NC     90000437475
B8559778472B62   SILVINO       CHAVEZ                      CO     90008887784
B8559979893758   JACQUELINE    REYNOLDS                    OH     64508439798
B855BAA4991579   VICTOR        ALVARDO                     TX     90008100049
B8561667155959   STEPHANIE     GONZALEZ                    CA     48067176671
B8561AA837B422   MEGAN         SORTO VASQUEZ               NC     90009550083
B8562445272B62   ERICA         ANDERSON                    CO     90005834452
B8562458A85927   MIRACLE       SAMUELS                     KY     90013454580
B8562692231639   TINA          MORGAN                      KS     90011736922
B85633A4436122   CHELSEA       PERRY                       TX     90013333044
B856516A22B24B   LATIA         PLOWDEN                     DC     90007751602
B8565679A7B489   GERARDO       RIOS                        NC     90006316790
B8566418933658   KALYN         BURCH                       NC     90012704189
B8566A82885927   RENE          CANCHIS                     KY     67074630828
B8567282391924   MICHEAL       STEPHENSON                  NC     90010872823
B8567439436122   EUGENE        ALVAREZ                     TX     90013494394
B8567858555972   ADRIAN        LOPEZ                       CA     90004458585
B8568733972B69   ANTHONY       MAGANA                      CO     90013547339
B85687A388B142   CHEVELLE      SQUIRES                     UT     90004527038
B8568A2295B396   AMBER         BARBER                      OR     90013450229
B8568A8277B489   PORSHEIA      PATTERSON                   NC     90013560827
B8569344357543   PAUL          OTERO                       NM     90014633443
B85693A9955959   JOSE          FRYAS                       CA     90015163099
B8569624791579   MARIBEL       HERNANDEZ                   TX     75091426247
B856993119182B   DOROTHY       HALL                        OK     21063899311
B856B14942B271   JOHANNA       CHAMBERLAIN                 DC     90010881494
B856B237755996   ROSE          ORNELAS                     CA     49013302377
B856BA7A472B62   IRENE         SIMPSON                     CO     90013650704
B857256715B396   BRADY         TOWNSEND                    OR     90012315671
B85728A7985927   ISHAEIAH      TAYLOR                      KY     90013648079
B857293355B141   REGINA        GAJRAJSINGH                 AR     90009359335
B8573269285927   BRITTANIE     DUDLEY                      KY     67040452692
B857436887B489   VALERIE       HOPKINS                     NC     90000863688
B8574393571933   AMY           STORM                       CO     90010183935
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2252 of 2350


B857452855B327   MARLAND          TOWNSEND                 OR     90010545285
B8574816A91579   ARMANDO          VILLA                    NM     75076058160
B8575261393758   KIARA            FERGUSON                 OH     90008572613
B857558792242B   JUAN             RODRIGUEZ                IL     90015415879
B8576127A85927   SHALLYN          BANEGAS                  KY     90009241270
B857815655B396   JESSICA          VANRADEN                 OR     90011411565
B8578411572B69   FILBERT          MAESTAS                  CO     90006684115
B8578611672B69   DENEKA           MAESTAS                  CO     90015036116
B8578863491549   RUBEN            ALVIDREZ                 TX     75006208634
B857B261A24B64   TAYVONE          WILLIAMS                 DC     90014982610
B857B432272B62   ANASTASIA        PENA                     CO     90011014322
B8581986576B27   JUAN             AYALA                    CA     46074049865
B8583891672B62   APRIL            MANZANARES               CO     33011948916
B858416915B396   DENNIS           DAVIS                    OR     90015121691
B858461462B889   GORDON           EPPERSON                 ID     90006016146
B858499A972B62   TANIA            RONQUILLO                CO     90011399909
B8585557993752   SUSAN            LEMASTER                 OH     90012155579
B858579535412B   EVERETT          SHELTON                  OR     90014417953
B8585982755972   MA               THAO                     CA     49058769827
B85859A8785936   SAGE             PAYTON                   KY     90014779087
B8586432171932   SHADOW           SMITH                    CO     90002034321
B8586664591972   ELDER            ROJAS                    NC     90011636645
B8587412736122   ERIC             PENA                     TX     90014164127
B8587579793727   CHELSEY          LEE                      OH     64586545797
B8587773985936   JESSICA          DUNBAR                   KY     90014237739
B8588798291924   VIVIAN           AP0NTE                   NC     90006507982
B8589162291579   RENE             LECHUGA                  TX     90002831622
B858955A372B62   PATRICIA         SPONSEL                  CO     33066875503
B858982A72B885   VLAD             CARAMIDARU               ID     90007848207
B858B586393752   ANDREA           HEARY                    OH     64589275863
B858B7A7885927   MARIA EVA        PEREZ                    KY     67003537078
B858B967936122   ALBERT           HACKNEY                  TX     90013869679
B8591454193727   STEPHANIE        MADDEN                   OH     90012434541
B8591775855959   CATALINA         FABIAN                   CA     90010437758
B859217155B396   JOSE             MARTINEZ                 OR     90015141715
B8592773985936   JESSICA          DUNBAR                   KY     90014237739
B859323695B541   DAMILIA          PEREZ-ESTEBEZ            NM     90002252369
B8594481A5B396   CHRISTINA        KNOWLES                  OR     44598374810
B859552527B489   ASHLEY           HAYES                    NC     90013965252
B8596474593752   MELISSA          DICE                     OH     64528864745
B8597474255979   KENNETH          JOHNSON                  CA     90013624742
B85978A2991924   EUGENIO          LOPEZ                    NC     90002178029
B8598189436122   VERONICA         JONES                    TX     90012651894
B8598249393752   AARON            GAY                      OH     64583172493
B859857834B524   MACKENZIE        ADAMSON                  OK     90014785783
B85988A5A93727   NIKLA            TRAMMELL                 OH     64525488050
B8599466355959   TERESA           PEREZ                    CA     90014084663
B8599998191592   DANIELA          CASIANO                  TX     90004589981
B859B274347839   LANEICIA         WOMACK                   GA     90006042743
B859B3A1385936   DOUGLAS          HORNE                    KY     66018643013
B859B55825133B   MARGARITTA       ROSS                     OH     66093295582
B859BA94536122   YVONNE           RAMIREZ                  TX     73580850945
B85B1186776B3B   LINETH           RAMIREZ                  CA     90001241867
B85B1727993727   CEDRICT          ROUNDTREE                OH     90001607279
B85B2541591924   WONICA           JONES                    NC     90014745415
B85B2999324B64   RONZELL          JONES                    DC     90013079993
B85B314995B353   YOLANDA          CEJA                     OR     44538441499
B85B3152572B62   SAMUEL           HIDALGO                  CO     90013661525
B85B3593591582   ANGEL            CABRRERA                 TX     75030355935
B85B4134972B69   ERIK             RAMOS                    CO     90012531349
B85B4661972B62   NICOLE           PEREZ                    CO     90012586619
B85B4871193727   MARVIN           ARIELLE                  OH     90001168711
B85B55A5255972   ANTONIO          RIVERA                   CA     90007005052
B85B579A47B489   ROSA             GUARDADO                 NC     11070107904
B85B6216385927   SUSAN            HEFNER                   KY     90014152163
B85B63A1191924   JAMES            WEBB                     NC     17098873011
B85B643533146B   TAHANNI          RAGLAND                  MO     90002154353
B85B6A2A631639   LUIS             MENDEZ                   KS     22087170206
B85B7424372B62   TROY             MATTHEWS                 CO     90011014243
B85B789156192B   HARRIS MULETTE   ANDREA                   CA     90003478915
B85B87A9893727   TONENSHA         NASH                     OH     90011377098
B85B9916A36122   BIANCA           LOPEZ                    TX     90007569160
B85B9981791579   CHRISTOPHER      VASQUEZ                  TX     90011349817
B85B9A9837B489   MIKAYLA          RUSS                     NC     90008350983
B861112165B396   JAMES            FRANCISCO                OR     90010291216
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2253 of 2350


B861127398B156   PARKER       CAYWOOD                      UT     90010622739
B8611564693727   TABATHA      WHALON                       OH     90013635646
B8611897691924   BJ           LEWIS                        NC     90007988976
B8612AA6393752   NADELKA      TERZIEFF                     OH     64592660063
B8613647331688   CHERYL       BILLINGSLEY                  KS     90000866473
B8613664136122   MAYA         LOPEZ                        TX     90011066641
B861396145B374   JOSE         GOMEZ                        OR     90005039614
B8613A7515B396   JUSTIN       YARGER                       OR     44546850751
B861411857B456   BRENETTA     COLEMAN                      NC     90010411185
B861424A136122   BERTHA       BALLEZA                      TX     90010722401
B8614649655959   SERGIO       MEZA                         CA     90015356496
B861518875B561   ELI          BECERRA                      NM     90002631887
B8615612785927   PATRICIA     ANDERSON                     KY     67050566127
B86159A6885936   BRETT        METTEN                       KY     66058969068
B861618A685927   DOMINGO      CORTEZ                       KY     90004731806
B8616485493727   BARBIE       CUNE                         OH     90004544854
B861666A233647   NATALYN      SUITS                        NC     90004236602
B861749A555959   CUTBERTO     CORREA                       CA     90012634905
B8617A55493745   KEVIN        VHALEY                       OH     90001310554
B861834195B396   GAIL         ORTIZ                        OR     90013743419
B8618556A72B69   ALICE        MARIN                        CO     33048995560
B8618968291579   MARCO        LOPEZ                        NM     75043669682
B861B383236122   SALLY        PADRON                       TX     90010563832
B861B56642242B   ANTONIA      MIRANDA                      IL     90015015664
B861B8A1A72B69   TOM          ZERR                         CO     90009088010
B861B974685927   GREG         KARSNER                      KY     90015359746
B86213A9793727   ANNETTE      FINLEY                       OH     90010653097
B86216A577B489   WILLIAM      NIX                          SC     90013966057
B862174492B271   GERALDINE    CLAY                         DC     90007837449
B8621A79136122   CARLOS       PARRAS                       TX     90006520791
B8622577191579   RICARDO      GARCIA                       TX     75078425771
B862291A793758   MELCHOR      ESPINO                       OH     90000829107
B8623896755959   NELY         CARDENAS                     CA     90002208967
B8624151355959   TERESA       MORALES                      CA     48039321513
B8624A6665B545   MARK         CERNA                        NM     90010690666
B8625756A55959   MARITZA      JUSTO                        CA     90013367560
B8625988485927   LEKISHIA     MCALLISTER                   KY     90001589884
B8626163155959   CARLOS       MORALES                      CA     48082331631
B862652447B489   SCOTT        WILLIAMS                     NC     90012965244
B8626585836122   DEBORAH      TATE                         TX     90014355858
B8626A9A63B359   JENNIFER     KRASER                       CO     90006220906
B8627163585927   FRANK        NAMEGABE                     KY     90008581635
B862752447B489   SCOTT        WILLIAMS                     NC     90012965244
B8627774872B62   CHARLENA     MANRIQUEZ                    CO     33092237748
B8627A57993727   CORY         UPTAGRAFFT                   OH     90011010579
B8628158672B69   THERON       ROBERTS                      CO     90012531586
B8628523A81229   AMBER        BROWN                        OH     90013755230
B8628795293727   HEATHER      REILLEY                      OH     90012837952
B862889277B33B   MARIA        CHAVEZ                       VA     90006078927
B862953535B544   JAVIER       MORALES                      NM     90008695353
B8629694872B69   MANUEL       ALMEJO                       CO     90015236948
B862978845B327   MIKE         THOMAS                       OR     90004887884
B862B412736122   ERIC         PENA                         TX     90014164127
B8631282372B62   NICOLE       PARSON                       CO     33095352823
B8631754231422   MEHEDIN      SALIHU                       MO     27557437542
B863176A355959   JOSE         VASQUEZ                      CA     90011267603
B8632192436122   ESTELLA      CARDENAS                     TX     90013621924
B8632322172B69   GERARDO      MENDEZ                       CO     90009793221
B863246678B878   ETIKA        ALZINGA                      HI     90015144667
B8633189236122   VICTORIA     VELASQUEZ                    TX     90009041892
B86334A3991579   ERIKA        GARCIA                       TX     90001774039
B863477A542332   TONY         HART                         GA     90010717705
B8634A34636122   JOHN         CASTILLO                     TX     90012600346
B8634A8575B396   LACEY        KISER                        OR     90010670857
B863521A95B327   RONNIE       BOOTHBY                      OR     90005642109
B8635441491248   TYWAN        GILBERT                      GA     90010184414
B8635595172B62   ARTURO       GARZA CORTEZ                 CO     33088535951
B8636989993752   TYLER        SOUTHERLAND                  OH     90008889899
B8636AA3255959   FRANCO       QUEZADA                      CA     90015550032
B8637161291579   JAIME        CARILLO                      TX     90011491612
B8637266931639   KAREN        HOVIOUS                      KS     22029192669
B863754815B534   SABRINA      ORTEGA                       NM     90008405481
B863761727B489   JOSE         ORTIZ                        NC     90013966172
B86381A7385927   SALVADOR     VILLALPANDO                  KY     90004201073
B86383A9A57B84   JEREMY       LYONS                        PA     90015243090
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2254 of 2350


B8638A19471921   BENNETT       BASKERVILLE                 CO     90007640194
B8639532772B62   ROSAURA       ALMANZA                     CO     90013965327
B863954232B271   KATY          PEREZ                       DC     81098705423
B8639824633B51   JOSEPH        SMITH                       OH     90014978246
B863B394493745   JASON         STEINER                     OH     90006493944
B8641677691257   LINDA         LIVINGSTON                  GA     90010276776
B864179A15B398   MEGAN         MAHONEY                     OR     90004567901
B864248A955959   C             LATRICE                     CA     90014564809
B8644223585927   RITA          BURKE                       KY     67060792235
B8644368993752   CHRISTOPHER   CLARKE                      OH     90004783689
B86443A1291939   MODESTO       QUINTANILLA                 NC     90008563012
B8644688291579   CLAUDIA       ESTRADA                     TX     90013686882
B864482795B327   ROSA          ROJAS                       OR     44500638279
B8644894355959   CARMEN        ECHEVESTE                   CA     90009838943
B864493385B388   LEATHIA       MILLER                      OR     90004229338
B8645257372B69   ANGELA        DIAZ-DIAZ                   CO     90014752573
B8645358855959   ESTER         GARCIA                      CA     90013833588
B864581727B489   GEORGE        RHODES                      NC     90001588172
B8645A39891579   ROSEANN       CARREON                     TX     75057310398
B864734A991579   ROSA          FLORES                      TX     75063093409
B8647524993727   MELISSA       BAH                         OH     90013145249
B86475A245B231   NIKKI         GYLES                       KY     90014625024
B8647922A4B265   SYLVESTER     RHODES                      NE     27066169220
B8648177555959   GREGORIA      BARRON                      CA     90014871775
B8648865572432   KIRSTY        THORPE                      PA     90012658655
B86493A3972B62   MARIO         ARAGON                      CO     90010843039
B8651128191579   OFELIA        GARCIA                      TX     90000301281
B865132A272B62   STEFANIA      GUZMAN                      CO     90013933202
B8652461A7B489   MARIA         PADILLA                     NC     90013724610
B865281415B327   ARGELIA       NOLAZCO MANRIQUEZ           OR     44518568141
B8652A2689182B   MATTHEW       ACEE                        OK     21038580268
B8653545691362   DANIEL        VEGA                        MO     90013695456
B8653839472B35   ERIC          WORLEY                      CO     90011668394
B865467457B489   JOSE          RUMBO                       NC     90013966745
B86553A865B545   AMANDA        GOMEZ                       NM     90015193086
B865551AA91924   CARNIKA       HOLME-RODRIGUEZ             NC     90014085100
B865611472B271   JANEIRO       SMITH                       DC     90011451147
B8656352191864   CHRISTIE      BLANKENSHIP                 OK     90009043521
B865659A285927   MARTHA        WAOBWELA                    KY     90013735902
B8656986357197   ERIC          TEOH                        VA     81007399863
B8657141821752   BRAXTON       NORMAN                      IL     90015391418
B865745247B489   KITTY         ROSS                        NC     11096314524
B865938339182B   JUANITA       LITTLEJOHN                  OK     90000203833
B8659561872B69   AMBER         ROSE                        CO     90003815618
B8659749177524   ADOLFO        ROMERO                      NV     90013697491
B8659899A72B25   MICHAEL       LANDERS                     CO     90006328990
B865B27452B25B   RICO          THREADGILL                  VA     90009602745
B865B589591592   ELIZABETH     DURAN                       TX     75093265895
B866146782B271   MARIA         MALAKNOVA                   VA     90002754678
B8661943455959   DORIS         NUNEZ                       CA     90012459434
B8662279293758   DAVID         DION                        OH     64563892792
B866264A793727   LISA          HARVEY                      OH     90008486407
B8662992672B69   JUSTIN        CARROLL                     CO     90014399926
B866347A893752   TINA          DRAKE                       OH     64535394708
B8663566331428   TERIKA        WORTHY                      MO     90014845663
B8663781231688   SCOTT         FRASER                      KS     22090347812
B8663A78551347   SHALONA       WHITE                       OH     66056950785
B866423127B489   SANDRA        GLOVER                      NC     90010312312
B8664643555959   VALERIO       VENTURA                     CA     90014586435
B8665418693752   JAMES         DEGREDORIO                  OH     90013434186
B8665653951347   ANISHA        BRYANT                      OH     90013796539
B86658A8155931   DAVID         LEE BOEN                    CA     90000818081
B8666561955972   GUADALUPE     AVILA                       CA     49053945619
B8666764891578   CYNTHIA       HERNANDEZ                   TX     90012647648
B86673A7691924   DIJANEE       BENJAMIN                    NC     90014583076
B866747A893727   JEWELL        JAMISON                     OH     90001534708
B8667628285936   ANGELA        WOODWARD                    KY     66058806282
B866792765B396   8838          AMHAZ                       OR     44505479276
B86691A3A93752   CHRISTINA     STOVER                      OH     90014011030
B8669652291524   FERNANDO      PUCHI                       TX     90008976522
B8669974772B62   SHEILA        VONDRA                      CO     90008039747
B8669986355959   BENITO        COLLADO                     CA     90011269863
B866B498155959   SALVADOR      ARANZAZU                    CA     48020834981
B8671252193752   KRISTINA      MULLEN                      OH     90007462521
B8671669293727   ASHLEIGH      GOLOMSKI                    OH     90013296692
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2255 of 2350


B86722A6124B64   ROSA         PINON                        DC     90013922061
B8672A7315B396   MARIA        CANO                         OR     44572800731
B8673653333643   SYLVIA       BEASON                       NC     12034006533
B8674567555959   SYLVIA       GONZALEZ                     CA     48092415675
B867469A236122   ANTONIO      TENORIO                      TX     90006296902
B8674828851863   SHASTIDY     PONCE                        NY     90015358288
B867565975B396   SHANNON      BROWN                        OR     90014356597
B8675729331639   NITA         WILLIAMS                     KS     90012577293
B8678359385936   CARMEN       NELSON                       KY     90012273593
B8678622A36122   AMY          ESTRADA                      TX     73542686220
B8678667131688   LARRY        SMITH                        KS     22042486671
B8679545185936   CHERIE       MARTIN                       KY     90012725451
B8679573285927   TAKIA        KING PULLUMS                 KY     90013605732
B867B364585927   GEORGE       GIBBINS                      KY     90009903645
B867B662455959   HERNAN       RAMIREZ                      CA     90010336624
B867B77A172B69   RICARDO      GOMEZ                        CO     33090627701
B867B914736122   CARLOS       VASQUEZ                      TX     73536959147
B8681138572B69   MELRESHA     WILLIAMS                     CO     90013531385
B868253652B247   DAISY        HUDGERS                      DC     90001955365
B868283375B396   FRANK        VAN WAGNER                   OR     90013778337
B868284A27B489   LEOPOLDO     PONCE                        NC     11063988402
B868419185B396   SAMANTHA     LUNDGREN                     OR     90014971918
B8684A5663B191   DEREK        LONG                         VA     90000550566
B868524735B327   ENRIQUE      GOMEZ                        OR     90000872473
B868552A236122   ANDREW       WALLEY                       TX     90015305202
B868713433B372   DAJANA       PATRICK                      CO     90011221343
B8687427472B62   MARIA        RAMOS                        CO     33006284274
B86876AA585936   JOSE         TREJO                        KY     90011766005
B868775885B221   CHARLES      ENSMINGER                    KY     90012427588
B868893655B396   MONICA       QUINTERO                     OR     90015109365
B8689536A7B489   EMANUEL      SEKE                         NC     90010435360
B8691112A91579   DANIEL       JOSEPH                       TX     90014541120
B869167235B396   NAIM         MOHAMMAD                     OR     90014366723
B8691741693727   LAWRENCE     JOHNSON                      OH     90011377416
B869196A19182B   KARA         WEAVER                       OK     21027959601
B86933A1391579   GISEL        FIGUEROA                     TX     90014713013
B8693531A93752   UNIQUA       NORTHCUTT                    OH     90013705310
B869372A985936   CASSEY       SIMON                        KY     90014157209
B8693A53291579   JOHN ADAMS   TAYLOR                       TX     90013070532
B8693A92171932   TRINITY      HERRERA-TAFOYA               CO     90012930921
B8694126791924   TIESHA       BROWN                        NC     90006741267
B869428144B935   VAN          TRAYLOR                      TX     90002772814
B8694323855959   NANCY        ARAUJO                       CA     90011943238
B869434A57B387   SEAN         SARCENO                      VA     90010123405
B86947A9493761   AMY          BEATTY                       OH     90000197094
B869514292B271   LUPIN        RAHMAN                       DC     90011621429
B8695221993727   RANDY        HEDRICK                      OH     90014152219
B8695545185936   CHERIE       MARTIN                       KY     90012725451
B869656893B355   JERRY        LAWING                       CO     33041685689
B8696953785927   BETHANY      BECK                         KY     90014269537
B8696A76891582   REBECCA      NUNEZ                        TX     90008060768
B8697464791579   MARTIN       SANMERON                     TX     90007534647
B8697575591924   KARLA        CATILLO                      NC     90011345755
B8699A11155959   MARIA        PASILLAS                     CA     90012970111
B869B25A731639   MARTIN       GUTIERREZ                    KS     90011742507
B869B878524B64   BRYAN        QUINTEROS                    VA     90011358785
B86B1255693736   MELISSA      SHERMAN                      OH     90007732556
B86B2253785927   SHANNON      ADAMS                        KY     90002522537
B86B3323493752   TRY          ADAMS                        OH     90003113234
B86B43A785B327   SAMATHA      CHAVEZ                       OR     44506493078
B86B4437272B69   JOSE         GOMEZ                        CO     90013934372
B86B6263136122   MARIO        MORAIDA                      TX     90014662631
B86B649257B484   TRAVIS       YOUNG                        NC     11004064925
B86B657444B298   GARRET       PORTER                       NE     27006795744
B86B7747193752   ERIN         DENNIS                       OH     90013227471
B86B7811291579   SARAH        AVILA                        TX     75074298112
B86B9661372B62   MATTHEW      STANFORD                     CO     90014396613
B86B978A691579   EDNA         NIEVES                       TX     75087047806
B86B9853A55959   MARYLOU      VIELMA                       CA     48034738530
B86BB56427B489   CALEB        ST. LOUIS                    NC     90013965642
B86BB726191248   SHELIA       FERGUSON                     GA     14530157261
B871123415B396   RACHAEL      STACK                        OR     90011912341
B871136A191924   GABRIELA     ROMENS                       NC     90013933601
B8711616772B62   JUAN         MEDINA                       CO     90005046167
B871196A336122   JULIUS       JULIUS                       TX     90013929603
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2256 of 2350


B8712258385927   DIONNA         BENTON                     KY     67009882583
B8712398171933   JASON          OSBORN                     CO     32043843981
B87123A9A72B22   ALICIA         PADILLA                    CO     90010593090
B8712436172B69   DIANE          SMITH                      CO     33060014361
B871284AA5B396   LEONIDES       FLORES                     OR     90009868400
B8712A1547B489   SANDRA         PLASENCIA                  NC     90011370154
B8713628161973   CRYSTAL        LUJAN                      CA     90009566281
B871368662B271   MICHAEL        MUNSON                     DC     90001316866
B871478852B271   PORTOLESE      MATTOCKS                   DC     90003937885
B8715115941965   ALLAN          WOBSER                     OH     90015171159
B871543822B256   SILVIA         TOLENTINO                  DC     90013074382
B8715796791924   CARLOS         ROBERTO                    NC     90015057967
B871591715B327   KYLE           STOCKWEL                   OR     44507599171
B8717151391574   CESAR          ESPINO                     TX     75030221513
B871776397B489   ROSHESHA       WALKER                     NC     90013967639
B8717A12385936   TONY           COOPER                     KY     90013080123
B8718916555959   ANGEL JACOBO   PEREZ                      CA     90014439165
B8719447541B53   FRED           HAHN JR                    VA     82046974475
B87196A1293752   BIANNCA        DENLINGER                  OH     64587476012
B8719AA1791924   DENNIS         CONNERS                    NC     90010810017
B871B133385927   JOSE           LOPEZ                      KY     90013551333
B871B469455959   QUINTIL        LOSANO                     CA     90015184694
B8721526972B62   GIRMA          HAILE                      CO     90013985269
B872169853B381   BRIAN          LASKE                      CO     33082656985
B8722177655959   YESENIA        LOPEZ                      CA     90014871776
B8722199A5B396   CHRIS          HEDDEN                     OR     90013991990
B8722513655959   JOSE           DIAZ                       CA     90012825136
B8722669731639   MICHEAL        WILLIAMS                   KS     90013826697
B8723121172B62   JOANNA         HUDSON                     CO     90013451211
B8723265791579   CARLOS         RODRIGUEZ                  TX     75057582657
B872346A35B221   JANET          JACKSON                    KY     90011574603
B8723669491864   SAMANTHA       PASSINI                    OK     90012656694
B87241A8193752   VALERIE        RUPERT                     OH     90011481081
B8724572831475   KERRY          HENRY                      MO     27563585728
B872481895B396   ANTONIO        PARMARO                    OR     90012018189
B8725691372B62   RAYMOND        LUCKINBILL                 CO     33005796913
B8726341A91924   KEVIN          HERNANDEZ                  NC     90010853410
B8726787785927   HEATHER        LANE                       KY     90014917877
B872679137B489   JOSE           PEREZ                      NC     90013967913
B8728112972B69   ANTONIO        CHACON                     CO     33001171129
B872955895B327   RYAN           MONTGOMERY                 OR     44572915589
B8729A5634B52B   CYNTHIA        WALTERS                    OK     90006050563
B872B515276B58   JUANA          DIEGO                      CA     90004395152
B872B666155959   JUAN           HERNANDEZ                  CA     90013076661
B873116819182B   TIM            TOUCHET                    OK     90005821681
B873119387B398   WANDA          SHUKAY                     VA     90010291938
B8731359891248   DEONDRIA       MCCURDY                    GA     14505073598
B87315AA655959   JULIO          MONTALVO                   CA     48013855006
B8731696985936   CHRIS          TRANGE                     KY     90005726969
B8732281291579   ASHLEY         BARRERA                    TX     90007312812
B8733479442332   LUKE           STONEMAN                   GA     90008674794
B873463472B271   ASIA           HARDEN                     DC     90009386347
B8734683371932   MARTHA         SILVA-MALDONADO            CO     90004096833
B873581967B489   ALEJANDRA      PEREZ                      NC     90013968196
B8736545191924   STACY          SMITH                      NC     90014605451
B873674A82B271   JANET          SKRINE                     DC     81030897408
B8737787536122   KIM            HANKINS                    TX     90012567875
B8737926A91524   ANTONIO        CERECERES                  TX     90008729260
B87379AA585936   JENNIFER       ADAMS                      KY     90009469005
B87383A5672B62   JUAN MANUEL    NUNEZ                      CO     90013243056
B8741292672B84   KIM            WALKER                     CO     90001802926
B8743429A7B422   CARLOS         BOLANOS                    NC     90010674290
B8743455791924   JORGUE         BARTOLO                    NC     17028964557
B8744126676B31   OMAR           ARBELAEZ                   CA     46052111266
B8744255791924   LYNETTE        REID                       NC     90012882557
B8744754672B62   PATRICIA       GILLESPIE                  CO     33090017546
B8745248272B62   MARIO          LOZANO                     CO     90008972482
B874529A261973   FAUSTO         SALAS                      CA     90003202902
B8745916793727   LAURA          MICHEAL                    OH     90013339167
B874593A691579   MARIA          JAQUEZ                     TX     75036289306
B874893852B271   FERIN          STEPHENS                   VA     81042379385
B8748977593752   HALEY          KILBURN                    OH     90009779775
B874993852B271   FERIN          STEPHENS                   VA     81042379385
B8749AA717B489   LEO            VILLANUEVA                 NC     90008270071
B874B1A4736122   JESSICA        RANGEL                     TX     90014731047
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2257 of 2350


B874B484871933   ROBERTA      LOA                          CO     32005374848
B874B857255972   IRIS         CHAVEZ                       CA     49067958572
B874B97A32B271   KISHAWNA     BROWN                        DC     81042369703
B874BA6225B396   ROXANNE      WARK                         OR     90014850622
B87516A3672B62   NIGUEL       VIGIL                        CO     90014186036
B875187285B336   RUEDIGER     ERBRICH                      OR     90007788728
B8751A47272464   ROSANN       VEENIS                       PA     51084420472
B8752985A55959   JOSE         ZEPEDA                       CA     90015019850
B8752A3987B331   DENISE       JOHNSON                      VA     90001570398
B875315A272B62   HOLLY        SANTISTEVAN                  CO     33084131502
B8753371885927   ALI          SAID                         KY     67003833718
B8755371885927   ALI          SAID                         KY     67003833718
B8755981293752   LATASHA      OWENS                        OH     90013799812
B875686227B489   RACHELLE     KING                         NC     90013968622
B8757A2AA91924   GLADIS       CARDONA                      NC     90002800200
B875811662B745   RAELYNN      MCCLURE                      ME     90015411166
B875813385B326   SUZANNE      LAVIOLETTE                   OR     44505431338
B8758891236122   MIRIAM       RAMOS                        TX     73526318912
B875973715B327   ANGELA       FOUCHE                       OR     90000237371
B875994555B396   MATTHEW      PERDUE                       OR     44531419455
B875B3AA75B327   JESSICA      GARCIA CAMACHO               OR     44509943007
B875B453A91924   CLARISSA     HENY                         NC     90010224530
B875B957772B69   JON          SIMMONS                      CO     33013999577
B875B988391921   STELLMAL     RIGT                         NC     90008449883
B875BA37285936   GARY         MERIDA                       KY     90003420372
B876114A193752   MARTIN       SANCHEZ                      OH     90013181401
B876183895B327   MARIA        CERVANTES                    OR     90002268389
B876197A685936   EDGAR        DE LA CRUZ                   KY     90011789706
B8762394993752   ERIC         FREESE                       PR     90013113949
B876241A191579   CHRISTINE    WHIPPLE                      TX     75092264101
B8762964172B32   BRENT        EDWARDS                      CO     33054809641
B8762977872B69   FERNANDO     ROMERO                       CO     90002319778
B8763543972488   VIRGINIA     PUGLIESI                     PA     90005345439
B87636A7351347   RONALD       WILLIAMS                     OH     66031026073
B8763A23A2B255   ABRAHAM      THOMPSON                     DC     90000210230
B876468765B396   ANGELA       BARNEY                       OR     90004826876
B876481A891924   JOSE         TOLENTINO                    NC     90010408108
B8765379185936   TASHA        BROWN                        KY     90014663791
B876579A793743   TIMOTHY      CAMPBELL                     OH     90012257907
B8765827655979   MIGUEL       MAGANA HERNANDEZ             CA     90009888276
B8766189672B69   JUSTINA      NIETP                        CO     90012531896
B8766828585975   ABRAHAM      RAMEIREZ                     KY     90010588285
B876756A272B69   JESSIKA      CERVANTES                    CO     33087715602
B8767759855972   MICHELLE     BRACKNELL                    CA     49091497598
B8767845685927   MARICELA     MORENO                       KY     90014988456
B8768315191924   KIMBERLY     MYERS                        NC     90014513151
B8768823A93727   JOSEPH       VERASSO                      OH     90013648230
B876999257B489   ANDREA       WILLIAMS                     NC     90007289925
B8771517393727   GINA         RECTOR                       OH     90014855173
B8772722855938   MONICA       GARCIA                       CA     90001237228
B8773651885936   JENNIFER     LEWIS                        KY     90010226518
B8773A86272B62   ADAM         HOWARD                       CO     90011130862
B8774211655959   GILBERT      LOPEZ                        CA     90011982116
B87745A1541231   DAVID        KUCZYNSKI                    PA     90006555015
B87747A2855959   DAVID        VAZQUEZ GALLO                CA     90010337028
B877535282B271   ROBERT       MITCHELL                     DC     81091273528
B8775787672B62   CHRISTINA    FRANKLIN                     CO     90011977876
B8776129885936   MATT         NEGICH                       KY     90004231298
B8776415755959   MARIO        BARAJAS                      CA     90007894157
B8776548A93727   GABRIELLE    JAMES                        OH     90010805480
B877674595B396   ZIPPORAH     LYZER                        OR     90015157459
B8777236755959   RYAN         RAY                          CA     90013632367
B8777479691924   DELIA        KPENOSEN                     NC     90002304796
B8777582672B62   ANA          GUZMAN                       CO     90014355826
B8778159772B69   MARIA        PICAZO                       CO     33091551597
B8778311424B64   SHALONDA     COLES                        DC     90009963114
B87791A7591579   STEVE        RODRIGUEZ                    TX     90013831075
B877B34798B192   DEBBIE       NEWELL                       UT     31017543479
B877B644455959   SHYENNE      BABB                         CA     90001906444
B8781A94155959   JOSE         GUTIERREZ                    CA     90015020941
B8782138136122   VANESSA      RODRIGUEZ                    TX     90010001381
B8783131993758   LINDSEY      ROSS                         OH     90010611319
B878357467B45B   FELICIA      STEVENSON                    NC     90009795746
B878358A991579   JAIME        SILVA                        TX     90014515809
B8783A73172B62   JOHN         SOUTHER                      CO     90012510731
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2258 of 2350


B8784953555959   ALFREDO           HERNANDEZ               CA     90012479535
B8784A31493727   RICHARD           ASHLEY                  OH     90013960314
B8785156672B69   JOSE              LUCERO-PONCE            CO     33085481566
B8785579336122   LISA              PENA                    TX     90006835793
B8785A89461998   PEREZ LEE         FURNITURE               CA     90013380894
B8786531685936   JESSIE            TALBOT                  KY     90010555316
B87871A6436122   CHRIS             BLAND                   TX     90015311064
B8787832991592   OLIVIA            ARTEAGA                 TX     75011868329
B8788566997134   MARY              PALMER-CORREA           OR     44598735669
B87885A9691579   LINDA             AGUILAR                 TX     90013545096
B8788758A36122   CHRISTOPHER       HACKNEY                 TX     90008327580
B87887A1972B62   VICTOR            CERVANTES               CO     90009297019
B8789783493727   SHATINKA          YOUNG                   OH     64508347834
B878B483991579   ARACELI           VAZQUEZ                 TX     90014174839
B8791572754176   JUAQUINA          SANTOS                  OR     47002105727
B8792491793738   KELLEY            SMITH                   OH     90010554917
B879252645B396   ROBERT            MELENDEZ                OR     44531435264
B8793888491852   MARIA             HUGHES                  OK     90004688884
B879395A85593B   FELIPE            MARQUEZ                 CA     49076789508
B8793A1A655959   EDUARDO           FELIPE                  CA     90013330106
B8794867A91579   YVETTE HERLINDA   MELENDEZ                TX     90004388670
B8795127641277   BRANDON           CORWIN                  PA     90004421276
B879526A285927   NDAYISHIMIYE      JEANNE                  KY     90013912602
B8795331955959   VERONICA          MORALES                 CA     48063453319
B8796723985936   ROBIN             STANTON                 KY     90011807239
B879691689154B   CLAUDIA           VASQUEZ                 TX     90010729168
B8797553493752   ANGELA            BUSH                    OH     64556855534
B8797852A85927   OMAR              ALMANZA                 KY     90014918520
B8797895955959   MARIA             RIVERA                  CA     90013588959
B879798597B489   TA                WIRELESS                NC     90013969859
B8798315193752   ROY               WALAKER                 OH     90011563151
B879915A591579   MARIA             GONZALEZ                TX     75066551505
B8799342251391   NYKUILA           LOVE                    OH     90006323422
B8799482A55959   GLORIA            CARRILLO                CA     90015184820
B879949A585936   TERRY             HURST                   KY     66045224905
B8799875393752   TIM               SHOFFNER                OH     64590088753
B879999847B489   SHANICE           BLOOMFIELD              NC     90013969984
B879B52AA5B327   MARIA             REYNA                   OR     44518755200
B879B69AA55959   PETRA             GONZALEZ                CA     90013776900
B879B858285936   BRIDGET           EGGLESTON               KY     90014898582
B879B88237B489   JEANNIE           GILBERT                 NC     90004008823
B879B8A9393752   BRANDI            MINOR                   OH     64525398093
B87B143735134B   TYLER             MUELLER                 OH     90009854373
B87B1754136122   MARY              GARCIA                  TX     90012687541
B87B2236755959   RYAN              RAY                     CA     90013632367
B87B2655751324   BIHUTE            MISSI                   OH     66086616557
B87B3484291924   ROBERT            DAVIS                   NC     90001414842
B87B4226185927   KAYLA             BROWN                   KY     90015162261
B87B486A493752   TINA              LAAKE                   OH     64593598604
B87B6197472B69   MICHEAL           BONEY                   CO     90014901974
B87B6625593752   KATRINA           MARSHALL                OH     90011516255
B87B6953A36122   NINA              GOMEZ                   TX     90008709530
B87B74A3493752   RYAN              PRICE                   OH     90012864034
B87B7A63791924   JESKIA            ROBERSON                NC     90011440637
B87B8513972B62   DEWAYNE           CURTIS                  CO     90015115139
B87B9342785936   EDMUND            LUCKEY                  KY     90011773427
B87BB41897B489   NAYELY            CRUZ                    NC     90000864189
B87BB492891924   GERNERAL          MEALER                  NC     90010824928
B87BB828755972   ANTHONY           LOWE                    CA     90004628287
B8811226872B69   ROBERT            PETER                   CO     90013632268
B8812277936122   GERALD            GARCIA                  TX     90014662779
B8812617472498   ALLEN             BLATTENBERGER           PA     51021926174
B8813372A4B576   SHANEQUA          JENNINGS                OK     90001563720
B8813487431475   DONNA             HILDEBRAND              MO     90001584874
B881379545B396   SEAN              VORACHAK                OR     90014817954
B88142A815B343   DANA              LAWRENCE                OR     90008412081
B8814312A93727   KENT              GREGG                   OH     90009373120
B8814633331639   ASHLEY            HORNING                 KS     90001096333
B8814839885927   ROSE              STOKLEY                 KY     90010798398
B881533762B271   TIAWANA           TUCKER                  DC     81064143376
B8815397391924   LATIA             BURNETTE                NC     90013353973
B881543A491579   OSCAR             JAQUEZ                  TX     90010774304
B8815843955959   JESSICA           ARANZAZO                CA     48017648439
B8815A98A5B541   LOURDES           GUTIERREZ               NM     90008670980
B8816236336122   SHAY              KREMLING                TX     90012452363
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2259 of 2350


B8816A5297B489   DARREL          ASKEW                     NC     90013970529
B881727687B335   CARLOS          ARISPE                    VA     90013752768
B8817326136122   NATAHAN         SILKEY                    TX     90007603261
B8817768293727   KATIE           HICKMAN                   OH     64506767682
B88179A6893761   DIANA           WATERS                    OH     90012559068
B881877957B489   JASMINE         BAILEY                    NC     11004247795
B881964A992871   ANDREW          HAMILTON                  AZ     90013806409
B8819A5775B396   ANGELICA        LOPEZ                     OR     90014860577
B881B17844B284   COURTNEY        HANCOCK                   NE     90002521784
B881B248277397   DEMETRIA        PICKETT                   IL     90010792482
B881B37A733658   ERIC            SCOTT                     NC     90012723707
B881B978493727   JUSTIN          SMITH                     OH     90012119784
B881BA14685936   KANDICE         JORDRE                    OH     90007650146
B882136885B396   WADE            ROBERTSON                 OR     44543123688
B882243A285936   BARRY           GOINS                     KY     90003214302
B8822686572B21   ALISSA          HANFF                     CO     90002176865
B8822863455972   MARGERET        DELGADO                   CA     90005458634
B8823192A72B69   JESUS           PICAZO                    CO     33047721920
B882339552B271   KIARA           CLAYTON                   DC     90007593955
B8824249885927   DAMOND          CARROL                    KY     90013902498
B882496972B271   CRYSTAL         HARRIS                    VA     81029749697
B882555475B327   JACOB           BIRDWELL                  OR     90010555547
B882585134B245   CANDY           CARTER                    NE     90008358513
B8826442155959   ERIKA           CERVANTES                 CA     90010004421
B8827293831639   CECILIA         SHEPHERD                  KS     90003932938
B882783523B335   ANE             THAMMATHI                 CO     33006658352
B8828162291579   LUIS            ROJAS                     TX     75091301622
B8828227A77349   ANDREJ          PAPEZ                     IL     90003212270
B882857685B396   WILLIAM         HOUCK                     OR     90014015768
B8828873661825   MARIO           EILAND                    MO     90013118736
B88291A197B489   ISELA           CRUZ                      NC     90013971019
B8829836155959   ELEAZAR         LEMUS                     CA     48087328361
B8829941291574   JUAN            GONZALEZ                  TX     90001539412
B8829A77A91579   BRANDON         JACKSON                   TX     90012370770
B882B358872B62   MARIA           VALDEZ                    CO     33045233588
B882BA16985927   AMBER           WALLS                     KY     90014770169
B883165195B567   YADIRA          MUNOZ CHAVEZ              NM     36078616519
B8831736372B69   KATHIA          IVONNE                    CO     90013277363
B88317A8785927   KWAME           CALDWELL                  KY     90008487087
B8832437131639   TEANNA          MOORE                     KS     90012254371
B8832841355959   KENNETH         SCONIERS                  CA     90013018413
B8833154A85927   TRACY           LITTLE                    KY     90011121540
B8833526972B69   JOSE            RUIZ                      CO     90010555269
B883411A124B64   RAYMOND         CHEADLE                   DC     90010661101
B8834276772B62   DANIEL          ERRAMOUSTE                CO     90014382767
B883432A855959   ZUREIDI         MARQUEZ                   CA     90015163208
B8834873131688   JUAN            LARRA                     KS     22006158731
B8835228991924   TEDDY           VINSON                    NC     17062912289
B8835374585927   ARMANDO         MELGAREJO                 KY     90012163745
B8835611193758   RICK            NEECE                     OH     64515436111
B8836552672B22   JOSEPHINE       MCGEE                     CO     90014555526
B8836554785927   SARA            MOSES                     KY     90014615547
B8836942231428   BO              HAWKINS                   MO     27517809422
B8836984825632   FRANKLIN OMAR   AGUILAR                   AL     90014419848
B8837721393752   EDMUND          LEWIS II                  OH     64573307213
B883795785B396   EFREIN          HERRERA RIDRIGUEZ         OR     90010319578
B8837A4142B252   ANGELA          NORRIS                    DC     90009070414
B883823A841272   MARPESSA        MOORE                     PA     90001702308
B883861225B327   BRIAN           WELLS                     OR     90000646122
B883877965B396   GIRUMEANTE      SUREW                     OR     44580837796
B883881987B489   DEASIA          JONHS                     NC     90014138198
B8838A4238B192   ROBERT          WILLIAMS                  UT     90012720423
B883955125B396   SAMANTHA        JOHNSON                   OR     90013375512
B8839726555972   ABIGAL          RIVERA                    CA     49010147265
B8839951391579   AARON           SANCHEZ                   TX     90011499513
B883B1A387B489   CARMEN          RAMIREZ                   NC     90013971038
B884111653163B   ALEX            LUDLOW                    KS     90003391165
B88411A1293758   MARY            REICHARD                  OH     64511971012
B8841284791579   JONES           ROY                       TX     90014612847
B8841323861982   RUDY            LAMY                      CA     90012203238
B8841527631639   BRAD            LILL                      KS     22024465276
B8841533355959   DIANNA          LYNN                      CA     90008885333
B8841639693727   AYREONNA        DALTON                    OH     90014636396
B8841981893752   MALIA           HARDEN                    OH     64549409818
B8841A21993727   CHRISTINE       HAMILTON                  OH     90009970219
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2260 of 2350


B8842192285936   KEVIN        FREDERICK                    KY     90014651922
B884237822B96B   JENNA        REYES                        CA     45086973782
B8843317791579   MARICELA     CRUZ                         TX     75036313177
B88434A639182B   BILLY        BUNCH                        OK     21059374063
B8844767357552   THOMAS       MELENDEZ                     NM     90001397673
B8844859772B62   ANDREW       SQUIRE                       CO     90012348597
B8845247A93758   LAZARUS      BURDETTE                     OH     90001502470
B8846974991579   ROBERT       DUGGAN                       TX     90010279749
B8846A35472B69   MARTHA       FERNANDEZ                    CO     33092050354
B8847282893752   MERELEENE    RIGGS                        OH     64521422828
B8847355285936   ELBERTA      MELTON                       KY     66052663552
B8847927455959   ROBERTO      AVILEZ                       CA     90012799274
B8848A25785927   JESSICA      MCGUIRE                      KY     67041130257
B88494A9372B62   NICHOLE      PEREZ                        CO     33018224093
B8849766672B94   LUIS         MEDINA                       CO     90012617666
B884B193385936   HEATHER      KENTER                       KY     90014691933
B884B3A3393727   KAMI         RIDDICK                      OH     90004223033
B885132184B243   SANDRA       ANDERSON                     NE     26016583218
B885146A391579   ROBERT       ANAYA                        TX     90012914603
B88514A4193727   DAREIN       FRANCIS                      OH     90012994041
B88516A6A91924   RODNEY       HEADEN                       NC     90005736060
B8852122991924   ALBERTO      YANEZ                        NC     90015011229
B885233665B547   BLANCA       LOPEZ                        NM     36033923366
B8852663472B69   CRYSTAL      GRIEGO                       CO     90014956634
B885268992B246   SHANTA       BETHEL                       DC     90005076899
B8852748651352   KIM          SANDER                       OH     90007517486
B8852999385936   MICHAEL      POMPILIO                     KY     90014509993
B8853A23931688   SHAWN        BROWN                        KS     90004360239
B8854353493752   JENNIFER     LONG                         OH     90010633534
B8855224193776   KIMBERLY     MULLINS                      OH     90012072241
B8855791A71965   ARHUR        MAIAVA                       CO     32045797910
B885613A155959   AMPARO       ZAVALA                       CA     90015181301
B885655539182B   JAMES        JACKSON                      OK     21048525553
B8856691841235   DIANA        DONAHUE                      PA     90001776918
B8857443936122   VIDAL        SALAZAR                      TX     73524844439
B8857559A72B62   EDUARDO      BARRIOS-PACHECO              CO     33061125590
B8857663951339   BRIAN        CHILDRERS                    OH     90000976639
B8859399355972   LAURA        MORENO                       CA     49062853993
B885997895B372   JANET        TAYLOR                       OR     90013759789
B885B184193758   ANGELA       WOODS                        OH     64595951841
B885B3A795B389   PORTLAND     OREGON                       OR     90001893079
B885B94A736122   ADAN         REYNA                        TX     90014359407
B8861812472B62   KIMBERLY     SNYDER                       CO     33046548124
B886195855B548   BRENDA       SISNEROS                     NM     35086959585
B886222252B886   DOUGLAS      BOYCE                        ID     42032432225
B8862788A55926   ARISTEO      RAYAS                        CA     90013817880
B8863287291952   PAMELA       FONSECA                      NC     90013232872
B88636A675B396   STELLA       NAW                          OR     44531456067
B8863A6A891248   ANRDEA       CAMPBELL                     GA     14505190608
B886421165B327   ARQUIMIDES   DENIS MIRANDA                OR     90006752116
B8864384493727   MARXUS       SMITH                        OH     90001303844
B8864682272B69   HARLAM       MORRISON                     CO     90012006822
B8865219872B69   STACEY       COPELAND                     CO     90012532198
B8865412193727   JAMES        HUDEN                        OH     90014834121
B8865548472B62   TONYA        HARRIS                       CO     33088765484
B8865584455959   JOSE         MADRIGAL                     CA     90013875844
B886581352B22B   TIFFANY      COLEMAN                      DC     90005868135
B88669A4A91924   ARETHA       JOHNSON                      NC     90013519040
B88675A565B327   JERIMAH      SPARKS                       OR     90010675056
B8867992236122   MARY         VALDEZ                       TX     90014609922
B8868A2692B251   HIRUT        GHIRMAY                      DC     90000250269
B8868A51A93727   CRISTINO     PEREZ COLLIN                 OH     64583880510
B8869149372B62   CALIXTO      AMAYA                        CO     33071201493
B886953145B396   BRANDON      CROSS                        OR     90014995314
B886B642685963   JAMES        MORITZ                       KY     90005876426
B8871578891924   JULIO        DEL CID                      NC     90003115788
B8871A15861529   FIDENCIO     GARCIA                       TN     90009650158
B8872414431639   BOBBIE       BARNARD                      KS     22094294144
B88725A187B489   ANISHA       DICKSON                      NC     90003695018
B887268465B396   MOLENI       FEAOMEATA                    OR     90011956846
B887311519182B   GLADNEY      HARDY                        OK     21073911151
B887328A355993   MARTIN       MONTALVO                     CA     90012732803
B8873345893752   JESSICA      BASS                         OH     90002373458
B8873429936122   KIM          ROSALES                      TX     90003334299
B8873464791924   DULCE        BAUTISTA                     NC     90002444647
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2261 of 2350


B8873493471964   JESSICA        BLOUGH                     CO     90002644934
B887381494B541   JOSEPH         TURNER                     OK     90009158149
B8873941785927   NICOLE         SIPOS                      KY     90010359417
B8873A4A831688   TERESA         SALAS-BATRES               KS     90004360408
B8873A75793752   DENNIS         SNOWDEN                    OH     90011350757
B8873AA1893752   DENNIS         SNOWDEN                    OH     90012020018
B8873AA3793727   CHRISTOPHER    JORDAN                     OH     90012960037
B887454A16192B   FRANCISCO      VARELA                     CA     90004175401
B88757A3491924   BRENDA         MACEDO                     NC     90014547034
B8875996255959   SEFERINO       MALAGON                    CA     90007809962
B88769A8191524   MAYRA          MACIAS                     TX     75089319081
B887718A155959   VALERIE        ESPINOZA                   CA     90013221801
B887779668B187   AMANDA         THOMPSON                   UT     90006237966
B8878221385927   JESUS          PEREZ                      KY     90013582213
B8879277331639   LINDA          MILLER                     KS     90010142773
B887942397B489   GUADALUPE      GONZALEZ                   NC     90014854239
B8879644A85927   CANDACE        NAPIER                     KY     90011066440
B887B37A691924   SANCHEZ        BARNES                     NC     90005023706
B887B489985936   KALEIGH        BLEAS                      KY     90014654899
B887B988885927   MARK           ESTEPP                     KY     90015039888
B8881831691579   ERIKA          SOTO                       TX     90015588316
B888212895B375   JEFFERY        STIPE                      OR     90001181289
B888223315B398   MELISSA        TRUMPS                     OR     90008812331
B8882259685927   HEATHER        ADAMS                      KY     90013202596
B88822A2197134   JUDITH IVETH   PERALTA HERANDEZ           OR     90004552021
B8882524185936   JEREMY         MAYS                       KY     90003535241
B8882797A91924   BEVERLY        FIELDS                     NC     90010057970
B8882AAA655994   KEVIN          EHRLICH                    CA     90005740006
B888338725B396   TONE           WARREN                     OR     90010843872
B8883879991924   STACY          RAMOS                      NC     90011638799
B888393357B489   BRAYAN         BRIONES                    NC     90014019335
B8884522225632   MAMIE          THOMAS                     AL     90014465222
B88845A8255959   ANNA           STEPHENS                   CA     90005145082
B8885299985927   GEORGE         SELLARDS                   KY     90006312999
B88856A5A5B327   CRAIG          FROST                      OR     90014026050
B8886799285927   JAMES          RAYFORD                    KY     90013617992
B8886A22893727   SHANTELLE      NEWPORT                    OH     90011290228
B8887894593752   JAMES          CONNER                     OH     64535718945
B8887921491582   OLINDA         BROOKS                     TX     90011429214
B888795237B489   FRANKLIN       GARCIA                     NC     90001039523
B8887A85185927   MATT           SMITH                      KY     67041570851
B8888564285936   JANICE         JONES                      KY     90014655642
B8888634236122   JENNIFER       GONZALES                   TX     90012196342
B8888844372B62   CHARLES        DEARBORN                   CO     33025218443
B88892A3636122   BRANDON        COLBERT                    TX     90015132036
B8889376624B64   ROZEATTA       PEARSON                    VA     90014573766
B8889898272B88   SAMANTHA       EIZENGA                    CO     90002558982
B888B157855959   JOSEFINA       HERNANDEZ                  CA     90011281578
B888B363131639   EMMA           NEWTON                     KS     90011753631
B889141585B571   SILVIA         LOZANO                     NM     90005174158
B8891837393752   KARMA          BROWN                      OH     90010768373
B8892669A31688   KENNETH        COLEMAN                    KS     22066216690
B8893547A91924   ELOUISE        MILLER                     NC     17035315470
B88935A9572B62   PAULA          MARTINEZ                   CO     90011015095
B889427955B327   KOY            SAECHAO                    OR     90010562795
B889459A555959   RUBY           LEAL                       CA     48073685905
B8894A2345B396   MARIANNA       FLORES                     OR     90013790234
B889533277B327   BLANCA         VILLANUEVA                 VA     90002323327
B88966A7A72B69   JOSE ANTONIO   ROMAN                      CO     90011536070
B8896715893752   DARIA          GOODS                      OH     90008107158
B8897726991579   MARTHA         MORENO                     TX     90015277269
B8898721357565   NATHAN         FIERRO                     NM     90008477213
B88996A6272B26   ROGER          GERMAIN                    CO     90008516062
B88998A595B327   SHERRI         KILGORE                    OR     44579838059
B8899A72731688   JOSE           REANGEL                    KS     22065960727
B88B1975155959   CARLOS         SANCHEZ                    CA     90015199751
B88B2324185936   MARLENE        GARCIA                     KY     66000863241
B88B2413991924   DIANAH         ALSTON                     NC     17039104139
B88B374749182B   CAROL          STARKEY                    OK     90006317474
B88B39A7472B62   GALVAN         DAMIAN                     CO     33064589074
B88B469892B271   TERESA         GARCIA-HERNANDEZ           DC     90011456989
B88B4AA9A5B396   SHANNON        LUDAHL                     OR     44506150090
B88B6251591554   SAMUEL         ARELLANO                   TX     90004972515
B88B6472272B69   JUAN           MALPICA                    CO     90012564722
B88B6924831639   KELLY          HOFFMAN                    KS     90011749248
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2262 of 2350


B88B6953133642   MARTIN M     KHAMALA                      NC     12042969531
B88B722535B54B   TANISHA      MARQUEZ                      NM     90013912253
B88B791852B271   KIARA        JOHNSON                      DC     81008459185
B88B7994493727   DAVIDA       WILLIS                       OH     90015079944
B88B7A65A93752   CLOTEAL      JORDAN                       OH     90006120650
B88B879647B499   EZ           AUTO RIDE                    NC     90004197964
B88B962387B489   BARTOLO      LUNA                         NC     90010436238
B88B9762A91524   YVONNE       GALINDO                      TX     75006317620
B891123615B327   TERRY        WARREN                       OR     44543962361
B8911A46791579   CARLOS       VILLALOBOS                   TX     90010810467
B89123A8955972   MARIBEL      FLORES                       CA     49004813089
B891258938B833   UILANI       TAVAI                        HI     90014835893
B8913394191579   JOSE         AMESQUITA                    TX     90001013941
B8913485731458   KAMMEELAH    MORROW                       MO     90011014857
B891377772B271   GERARDO      CRUZ                         DC     90001887777
B89138A345B396   JADE         WELLS                        OR     44515788034
B89139A9143589   CHELSEA      KERR                         UT     90009569091
B8914241391585   ROCIO        VILLALOBOS                   TX     75000202413
B89145A6155927   ROSE         CAZARES                      CA     90001775061
B8914A62122963   TERRA        CRAWFORD                     GA     90014240621
B89153A2191924   YUDIS        GONZALES                     NC     17069113021
B8915578191878   VANESSA      PRICE                        OK     90012395781
B8915689885927   LESLIE       GRAUL                        KY     90012916898
B8915957A7B489   JOHN         CABRERA                      NC     90014019570
B89161A1391924   BETZABEL     PEREYRA                      NC     90013941013
B891687A893727   APRIL        KURAN                        OH     90012298708
B8916A28431639   FAYE MARIE   MILLS                        KS     22084250284
B8917138931639   ANGELA       SHERMAN                      KS     90001901389
B8917987791965   EMONI        HARDY                        NC     90002729877
B89181AA793727   CATHY        GRUBB                        OH     90015141007
B8918245591579   MIGUIL       CASTANDA                     TX     75066552455
B8919749193752   SHONTA       SMALLS                       OH     90013237491
B891999365B396   GLORIA       MARTINEZ                     OR     90014099936
B891B724191579   GLENN        TRITTENBACK                  TX     75039307241
B8921827A91248   CAVADA       REDDICK                      GA     90014878270
B8921848193727   ELEXIS       DALRYMPLE                    OH     90013288481
B8922522451356   TAHNIA       BUTLER                       OH     90011435224
B8923212272B69   STEVE        RODRIGUEZ                    CO     33053312122
B8923632636155   JARRID       BESS                         TX     90008326326
B8924185891579   SANDRA       RAMIREZ                      TX     90008511858
B8925651191579   CECILIA      HERNANDEZ                    TX     90003896511
B8925845393761   BRITTANY     JENKINS                      OH     90012748453
B8925A28943585   ASHLEE       BRUEHL                       UT     31000620289
B8926116293758   KIMBERLY     OLSON                        OH     64517311162
B8926585491579   IVAN         MARTINEZ                     TX     90013225854
B8927248991579   EDUARDO      ALDERETE                     TX     90014682489
B8927289391592   JUAN         HERNANDEZ                    TX     75005802893
B8927384593727   HOLLI        TERRY                        OH     90011073845
B8927759224B64   DEISY        RIVAS                        DC     90005327592
B8928178336122   NICOLE       BROWN                        TX     90012441783
B8928291285927   DEKONNA      VAUGHN                       KY     90012842912
B8928A2A685936   ALFRED       RANES                        KY     90014660206
B8928A3A993745   CHRIS        BOWEN                        OH     90007000309
B8929437391579   ROSE         FRANCO                       TX     90007894373
B892949715B327   GUADALUPE    ARREOLA                      OR     44519014971
B892955275B396   DARLYN       BETANCOURT                   OR     44568435527
B892956352B941   JOSEFINA     AGUILERA                     CA     90007875635
B8929A49391222   DMONIQUE     GREEN                        GA     90001480493
B8929AA5536122   ANTONIO      BARCENAS                     TX     90014440055
B892B167393758   ROBERT       BLAKELY JR                   OH     64502911673
B892B718585936   JONATHON     WALTERS                      KY     90011837185
B8931862924B64   BRIAN        SMALLWOOD                    DC     90006348629
B893254657B489   PABLO        PEREZ                        NC     90009415465
B8932596772B62   SHARON       WASHINGTON                   CO     33089305967
B8932753271924   RICKY        RAMOS                        CO     90001077532
B893294235B396   JOSE         FONSECA                      OR     90011259423
B8932973285936   BASS         TASHA                        KY     90007969732
B893322A672B69   ELYSE        MALLINGER                    CO     33034742206
B893418565B393   JOSE         CEJA                         OR     90003221856
B8934274A85936   MICHAEL      IMHOLTE                      KY     90014682740
B893443A72B259   ROBIN        BAKER                        DC     81084504307
B8934A34A84373   FRANCISCO    WILLIAMS                     SC     90012230340
B8935951891973   MERY         MENDOZA                      NC     90009399518
B8935A47955992   SANDRA       DIAZ                         CA     90015070479
B8935A7665B396   MICHAEL      WHITE                        OR     90015090766
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2263 of 2350


B893628854B537   KIMBERLIN    STREETER                     OK     21550232885
B8936663885936   TRACI        LAWSON                       KY     90004276638
B893685575B396   SERGE        KASHUL                       OR     90013968557
B8936A4594B299   ALEYDA       MENA-GONZALEZ                NE     90009310459
B893789985B327   ALEXIS       HARRIS                       OR     90001218998
B8937914291578   BENJAMIN     LOPEZ                        TX     90006509142
B8938184855972   PATRICIA     GARCIA                       CA     90000591848
B8938483772B62   MATASHA      LAZZU                        CO     90012714837
B893957162B271   RICARDO      LOVE                         DC     90012565716
B893959575B327   RAE          DURHAM                       OR     90000755957
B8939753385927   AMANDA       THOMAS                       KY     67041717533
B893B5A9361941   VANESSA      SALAS                        CA     90006015093
B893B622191579   KARLA        ARRAS                        TX     90002306221
B894273569182B   GABINO       MARTINEZ                     OK     90003027356
B8943342193727   HEATHER      LOUDRY                       OH     90009353421
B894371A372B62   ELSHABLEI    GAINES                       CO     33012647103
B894372325B396   JAMES        SIMS                         OR     90004967232
B8944533491579   VALERIE      SAENZ                        TX     90009515334
B894479469182B   LINDA        BOLLIER                      OK     90005547946
B894489A655959   NONE         NONE                         CA     90007928906
B894497A836122   RICO         WATTS                        TX     90013789708
B8944A5565B396   LEAH         STANTON                      OR     90013770556
B8946718772B56   IBRAHIM      SAYID                        CO     90012307187
B8946934555959   ANGEL        VASQUEZ                      CA     48012919345
B89469A9833634   KIM          DAYE                         NC     90004319098
B8947821A72B62   OLIVIO       ATAYDE                       CO     33001778210
B8947844A41237   CHRISTINA    JONES-TIPPETT                PA     51091408440
B8948365685936   RICHARD      NEAVES                       KY     90004283656
B8948A21536122   CECILIA      CANTU                        TX     90013320215
B894928945B396   RICHARD      STEVENS                      OR     90008362894
B8949A66A72B69   LUKE         MARTINEZ                     CO     90001280660
B8949A77491579   ENRIQUE      ALMANZA GARCIA               TX     90015300774
B894B2A5155959   YESI         MACHUCE                      CA     48073022051
B894B2A8236122   EVERADO      GARCIA                       TX     90013062082
B894B478893727   STEPHANIE    KINGSOLIVER                  OH     90012074788
B894B491993751   WILLIAM      RYENOLDS                     OH     90007144919
B894B5A817B489   PEDRO        MARTINEZ SANTOS              NC     90008285081
B894B63195B396   MICHAEL      HELLER                       OR     90010506319
B8951612372B98   CHERYL       YOON                         CO     33014266123
B8951624585936   MANDI        GRADNER                      KY     90014666245
B8952645A36122   JANIE        HERNANDEZ                    TX     90014096450
B8953AA6336122   YOLANDA      DAVILA                       TX     73555900063
B895411697B439   JANICIA      LAND                         NC     90008811169
B8954737885936   LUL          MOHAMUD                      KY     90014667378
B895521825B327   JAMES        BOND                         OR     90004972182
B895625335599B   VICTORIA     DE LA CRUZ                   CA     90014492533
B8957435731688   RYAN         REYNOLDS                     KS     90006054357
B8957768491579   PATRICIA     CHAVEZ                       TX     75007357684
B89584A2141965   GEORGE       GREEN                        OH     90014664021
B89587A997B489   MARY         DANCY                        NC     11080957099
B8959128591579   GABRIELA     CASAREZ                      TX     90015411285
B8959417941965   JOHNNY       BROOKS                       OH     90014664179
B895971A372B62   ELSHABLEI    GAINES                       CO     33012647103
B8959726391924   NAKIEL       CLEMONS                      NC     90009667263
B895B917791924   FELSIE       KAORNER                      NC     17005359177
B895BA3A436122   JASON        WYATT                        TX     90014370304
B8961642372B69   ISRAEL       RAMOS                        CO     33010216423
B89617A9791924   BROOKS       POE                          NC     90010387097
B8961998241277   RYAN         STOLAR                       PA     90005159982
B896255115B573   IVAN         ORTIZ-CASTRO                 NM     35085245511
B8962997193752   JEFFREY      HALE                         OH     90005469971
B8963268A55972   MARCOS       GONZALEZ                     CA     49068762680
B8963889831458   LASHONDRA    FARMER                       MO     90003498898
B8964216172B62   BRITNEY      ARMENTA                      CO     33080492161
B8964725A72B69   ERICK        MARTINEZ                     CO     33012277250
B89648A2236122   HILARY       SASKI                        TX     90010698022
B896549777B489   VALERIA      MORALES                      NC     11093174977
B8965932355959   NICOLE       HICKS                        CA     48085139323
B896674A84B521   SANTANNA     MEJIA                        OK     90014867408
B8966857A85936   NISSA        COOPER                       KY     90000978570
B8967344A91579   MARGARITA    MURRAY                       TX     90013793440
B8968265172B62   JOSE         RODRIGUEZ                    CO     33010752651
B8968653193752   ANTHONY      HEINDL                       OH     64516766531
B8968673623136   JOHN         FILLIEZ                      MI     90014846736
B8968968891924   JESUS        ARROYO BENITEZ               NC     90008059688
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2264 of 2350


B896981A891924   JOSE         TOLENTINO                    NC     90010408108
B8969924576B3B   JOSE         NUNEZ                        CA     90014579245
B8971127293727   EDWARD       MORGAN                       OH     90001201272
B8973161551331   PRO MSNRY    PROFESSIONAL MASONRY         OH     90001191615
B8974121285927   ANDREA       GRANVILLE                    KY     67004721212
B89753A5836122   AMALIA       HERNANDEZ                    TX     90014003058
B8976482255959   ROLANDO      LOPEZ                        CA     90015184822
B8976835833688   TONYA        VANDERBURG                   NC     90001288358
B8978376855959   MARIA        ZERMENO                      CA     90015163768
B8978713693727   DILLON       STRONG                       OH     64578317136
B8978761A85936   MATTHEW      SPECHT                       KY     90013007610
B8979218372B69   SONIA        SIERRA                       CO     90008992183
B8979562491579   KARLA        GARCIA                       TX     90014315624
B8979816841965   DIANA        GLENN                        OH     90014758168
B897B313785927   BRANDON      BRYANT                       KY     90013423137
B897B63483B388   TOM          RHODES                       CO     90011476348
B897B996591924   DAVID        MENDOZA                      NC     90011109965
B8981A56491579   BRIDGET      DELFIN                       TX     90003510564
B898211995B396   CHUCK        BARKER                       OR     44585201199
B898229A785936   DAVID        SILVER                       KY     90012732907
B8982A12193752   SHERRY       WOODS                        OH     64512430121
B8983844384327   DAVID        DRAKE                        SC     90007638443
B898445922B271   TERRY        BARR                         DC     90011574592
B8984A37931639   ASHLEE       STARX                        KS     90004400379
B8985943493752   TERRIE       VEAL                         OH     64540119434
B89862A3A7B489   MARY         LWESTOVER                    NC     90011292030
B8986462372B62   JESUS        RODRIGUEZ                    CO     90009564623
B898672A15B396   ABDIRAHIM    MOHAMED                      OR     44560527201
B898739515B396   DIEGO        SANCHEZ                      OR     90013573951
B8987458193752   CANDICE      DAVIS                        OH     90014724581
B898764989182B   SUSAN        BAUGESS                      OK     21018766498
B8987854393752   SHANTE       JOHNSON                      OH     90008488543
B89882A1771925   YVETTE       MEDINA                       CO     90005082017
B8988457191579   MARIA        ACOSTA                       TX     90013704571
B8988657291579   SANDRA       ROMO                         TX     90004696572
B8989328531688   CINDY        FARR                         KS     90005383285
B8989937485936   FELICIA      KINDOLL                      KY     90013519374
B8989AA5191579   GRACIELA     MONTES                       TX     90014640051
B898B279155972   STEVE        NUNEZ                        CA     49077462791
B8991851971921   ISABELLA     BIERI                        CO     32031558519
B8991A7525B327   SADIE        NOGGLE                       OR     90007870752
B8992175485927   AMANDA       WILSON                       KY     90014361754
B899227955B327   KOY          SAECHAO                      OR     90010562795
B8993366572B69   KRISTIN      ZIMMERMAN                    CO     33040773665
B899352265B396   DWAYNE       BLAINE                       OR     90011345226
B899369349286B   MARCO        GALLARDO                     AZ     90014626934
B8993965A55959   SYLVIA       CORONADO                     CA     48010629650
B8994888172B69   ALISA        GRAY                         CO     33017588881
B8994A17636122   MARTIN       DIAZ                         TX     73560190176
B8994A94155959   JOSE         GUTIERREZ                    CA     90015020941
B8994AA1655972   SUSANA       RODRIGUEZ                    CA     49011960016
B899534A891924   SIAN         MCCLEAN                      NC     90012513408
B899567A455959   LORENA       GOMEZ                        CA     90014826704
B89961A2541266   OLIVIA       GILBOW                       PA     90013401025
B8997474891924   BARTOLA      SANCHEZ                      NC     90015164748
B8997546276B42   FELISHA      WIMMER                       CA     90011325462
B8997745185927   PAYGO        IVR ACTIVATION               KY     90013107451
B8997AA4393775   AMY          KELLEY                       OH     90007420043
B899875A88B196   BETINA       DOMINGUEZ                    UT     90007967508
B8998922A72B81   SALVADOR     MEDINA                       CO     90011559220
B8998965376B45   JORGE        MORALES                      CA     90005079653
B8999241393738   DARREN       HALE                         OH     90011622413
B8999377985936   ZACHARY      HUMBERT                      KY     90014683779
B8999AA8A61825   LUIS         PLATA-VELEZ                  MO     90013930080
B899B56538B142   JARED        OSTLER                       UT     90007485653
B899B7A5936B84   LANCE        PARKER                       WA     90015507059
B899B89537B489   BRIAN        MOORE                        NC     90012108953
B899B992236122   MARY         VALDEZ                       TX     90014609922
B89B1253191924   MARVIN       VIGIL GUTIERREZ              NC     90014702531
B89B1734891579   JOSE         LUGO                         TX     90006927348
B89B227817B327   ESTELA       MENDOZA                      VA     90006092781
B89B2471791248   RICO         SUAVE                        GA     90015254717
B89B335345B327   KIRA         DUNFORD                      OR     90003483534
B89B3776798B2B   CARLOS       LEIVA                        NC     90006257767
B89B3A52936122   JESSSICA     HINOJOS                      TX     90010610529
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2265 of 2350


B89B4168272B69   MARIA         VARGAS                      CO     33014711682
B89B5632271964   CODY          GARY                        CO     90011466322
B89B6159491983   CAROLYN       CRAIG                       NC     90009861594
B89B7517591579   YOLANDA       MARTINEZ                    TX     90004785175
B89B7957A7B489   JOHN          CABRERA                     NC     90014019570
B89B8127491257   SHEILA        LATSON                      GA     90009201274
B89B8996191921   SHAINA        HALL                        NC     90012949961
B89B928988B878   ISI           ISARA                       HI     90015052898
B89BB58355B221   ERICA         GLASS                       KY     68017675835
B89BB975993727   BEARD         CHERELLE                    OH     90012339759
B8B11896993727   BROOKE-LYNN   HAYES                       OH     90012098969
B8B12A12451331   AMY           RAPP                        OH     90008360124
B8B131A754B933   ALLEN         SEZER                       TX     90004591075
B8B13537455959   MARIO         LOPEZ                       CA     90013815374
B8B15377422444   MELISSA       MANSBRIDGE                  CO     20525873774
B8B15AA256193B   REX           SHEPHEERD                   CA     90013740025
B8B16844755959   NANCY         LEPKE                       CA     90008038447
B8B1789477B489   TYRA          MOORE                       NC     90012438947
B8B18368893761   JAMES         SMITH                       OH     90011273688
B8B18525472B62   HELEN         ASMEROM                     CO     90012615254
B8B18782472B62   LAUREN        METZGER                     CO     90012627824
B8B18839555959   NANCY         HERNANDEZ                   CA     90011248395
B8B1939377B489   JOSEPH        PAGE                        NC     90013943937
B8B19795143236   SAVIAN        SANDOVAL                    TX     90015127951
B8B19A17593752   JAMIE         BUSSARD                     OH     90013860175
B8B1B125472457   NATHAN        MOUNTAN                     PA     90005791254
B8B1B431791579   EDUARDO       HERNANDEZ                   TX     75091644317
B8B1B786285936   HARRY         MAYBERRY                    KY     90013987862
B8B1BA3625B224   ELMER         COMBS                       KY     90007530362
B8B21365685936   RICHARD       NEAVES                      KY     90004283656
B8B21736191924   RAYMOND       BRUNSON                     NC     17005487361
B8B2173745B396   KIM           STILSON                     OR     90008187374
B8B21A18A5B396   ALBERTO       BELLO-MENDOZA               OR     90013790180
B8B2224A993758   RAMON         ANDERSON                    OH     90011342409
B8B2322A15B327   WENDY         WARNER                      OR     44589142201
B8B23784593752   DOUGLAS       MOSS                        OH     64523467845
B8B2463445B396   TELENA        ROGERS                      OR     44508776344
B8B255A9985936   OUMAR         ELHADJI                     KY     90005385099
B8B2574275B541   AMBER         HORTON                      NM     90014957427
B8B2579415B585   NICOLE        AVILA                       NM     35092397941
B8B26469985936   TINA          WALLACE                     KY     90012394699
B8B2654A493784   CHRISTOPHE    FRANZ                       OH     90000865404
B8B26831593727   MARCO         GEORGE                      OH     90009988315
B8B269A135B327   FERNANDO      SANTIAGO SOLIS              OR     90010679013
B8B273A9255959   COSMA         MARTINEZ                    CA     90013743092
B8B27516A2B22B   PATRICE       EVERETTE                    DC     90010695160
B8B27A21993752   TEVA          CAHILL                      OH     64587360219
B8B28778893727   APRIL         CALDWELL                    OH     64503527788
B8B28864355959   HEVES         BECERRA                     CA     90012918643
B8B28988872B62   LARRY         HALE                        CO     90011399888
B8B2923A885936   RODNEY        EVERSOLE                    OH     90014792308
B8B2962267B489   JESUS         DIAZ                        NC     90011296226
B8B299A3991924   LATICHA       BLACKBURN                   NC     90010339039
B8B2B274993752   RHONDA        PICKELSIMER                 OH     90013922749
B8B2B671925229   ANGELA        MILTON                      NC     90011746719
B8B2B822355959   HUGO          DURAN                       CA     48063168223
B8B2B981293758   KATHY         MITCHELL                    OH     64527679812
B8B31343291924   CAROLINA      FLORES                      NC     90001443432
B8B317AA251347   DEON          JACKSON                     OH     66005987002
B8B31828997B29   JENNIFER      LOCK                        CO     39033578289
B8B31995A93727   DANNY         PILL                        OH     90012959950
B8B32295793752   MICHAEL       KRIEGER                     OH     64503762957
B8B326A4291924   ETHEL         EDWARDS                     NC     90014446042
B8B3447345B396   JOSHUA        PROTASIEWICZ                OR     90015134734
B8B34915585936   TAB           VANCE                       KY     90005209155
B8B35254A5B327   JUAN          GARCIA SANCHEZ              OR     90013952540
B8B35653336122   JACQELINE     REYNA                       TX     90014576533
B8B357A299182B   TAMMY         LONG                        OK     90003797029
B8B359AA685936   CAROL         DEGOLYER                    KY     90013819006
B8B36526372B69   CHRISTALEN    MCELVANE                    CO     33047095263
B8B36974736122   TIMOTHY       BALBOA GARCIA               TX     90013689747
B8B374A324B268   DENISE        BOJE                        NE     27022084032
B8B38217791579   OPHELIA       HAHN                        TX     75003762177
B8B3871385B396   SANTAJ        EDWARDS                     OR     44510917138
B8B39758358541   ERIC          HOWARD                      VA     54010907583
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2266 of 2350


B8B3B26317B489   MS           BELLAMY                      NC     90000262631
B8B41A54591579   NATALE       GREEN                        TX     75064900545
B8B43284791579   JONES        ROY                          TX     90014612847
B8B4463875B327   LAURA        ORTEGA GUTIERREZ             OR     44556196387
B8B44749285927   KIMBERLY     LEWIS                        KY     90012937492
B8B4528565B396   PATRICE      BASS                         OR     44577712856
B8B4636157B489   LEO          THOMAS                       NC     90013963615
B8B48293436122   ASHLEY       GIBSON                       TX     90010592934
B8B4889467B489   PABLO        PEREZ                        NC     90007948946
B8B48964491257   COURTNEY     SKINNER                      GA     90007479644
B8B49452191579   FATIMA       CEPEDA                       TX     75094864521
B8B49877255972   REYNALDA     PIMENTEL                     CA     49088548772
B8B4B313993752   SHALYNN      DIXON                        OH     90015023139
B8B4B672485936   DESIREE      SWEENEY                      KY     90004086724
B8B4B716333B4B   LUCIANA      CHAMBERS                     OH     90014427163
B8B4B718791579   ALPHA        ALICIA                       TX     90014067187
B8B4B936936122   MARIA        PERALTA                      TX     73545449369
B8B51469A7B489   ENDANG       LUIGAWATI                    SC     90013944690
B8B519A275B327   SHERRI       CELIS                        OR     90012589027
B8B5237347B489   ADILIS       LARA                         NC     90013963734
B8B526A687B489   PAYGO        IVR ACTIVATION               NC     90014006068
B8B52A49472B62   MIRIAM       MOLINA                       CO     90011590494
B8B53264A91579   CORINA       MORALES                      TX     75095962640
B8B54545393752   LESLIE       HARBARGER                    OH     90008375453
B8B54775991924   SANDRA       DAVIS                        NC     90014647759
B8B5477875B396   ANASTASIO    NUNEZ HERNANDEZ              OR     90008487787
B8B55A9145B396   ANDY         LEWANDOSKI                   OR     44509450914
B8B57564551352   KIMBERLY     CORNWELL                     OH     90007235645
B8B5785A131639   AMBER        JENSEN                       KS     90011718501
B8B57872393727   JENAA        HINTON                       OH     64587128723
B8B5842345B327   BRANDI       CUEVAS                       OR     90013514234
B8B5842385B34B   FRANK        CAMPBELL                     OR     90007264238
B8B5847767B489   MARIA        DELOERA                      NC     90013944776
B8B58589893752   GLENN        TAYLOR                       OH     64539795898
B8B58992A72B69   LINO         SANCHEZ                      CO     90000349920
B8B58A63172B62   PAUL         GESE                         CO     90012580631
B8B5B16277B489   ERICA        RODMAN                       NC     90010031627
B8B5B217572B62   CARLOS       ALTUZAR                      CO     90010422175
B8B5B27155B327   JODI         WILLIAMS                     OR     90013952715
B8B61129831639   IRIS         MCINTOSH                     KS     90012401298
B8B61248185936   ANGELA       FAHLBUSH                     KY     90013992481
B8B61832693727   SHERI        CANTRELL                     OH     64575718326
B8B6193245B396   PABLO        GOMEZ                        OR     90014049324
B8B61944155959   MARINA       LARIOS                       CA     48056759441
B8B6312A791924   PATRICIA     LINDSAY                      NC     90010341207
B8B63475172B69   ROSALAND     PHELPS                       CO     90002514751
B8B63519755972   DERCELL      BROWN                        CA     49011115197
B8B6422744B268   ROBB         JORGENSEN                    NE     27008432274
B8B64551272B62   NATASHA      MOORE                        CO     33059935512
B8B6518615B327   JAMES        GAMEL                        OR     90013971861
B8B6548117B489   AMA          MOLINA                       NC     90013944811
B8B65841555959   MARCOS       ORTEGA                       CA     90012838415
B8B65914133624   GLENNA       TURNER                       NC     12085179141
B8B66283993758   TAMEEKA      MEDANE                       OH     64566172839
B8B6661585B231   MILLIE       WARD                         KY     68012656158
B8B66916891924   MALISA       HOLDER                       NC     90005279168
B8B67423693727   SHALAMAR     DEBRAUX                      OH     90007364236
B8B67572293752   JEREMY       MATTHEWS                     OH     64520125722
B8B69139357565   GUADALUPE    SAENZ                        NM     90000201393
B8B69145A72B62   MARIA        MARENTES                     CO     33061021450
B8B692A5472B69   JORGE        GUERRERO                     CO     90001852054
B8B6B167785927   MARY         RASHIDI                      KY     90013811677
B8B6B356185936   RANDALL      JOHNSON                      KY     90011293561
B8B6B542172B69   ESTHER       CARILLO                      CO     33039995421
B8B6BA86893745   MINDY        JOHNSON                      OH     90011230868
B8B7136735B396   JUSTIN       ZEHNER                       OR     90013953673
B8B72566485927   GEORGE       JEFFERSON                    KY     90013985664
B8B726AA29182B   ARACELI      ORTIZ                        OK     90008666002
B8B72763755959   ASHLEY       PEREZ                        CA     48092897637
B8B72845372B69   PEDRO        RODRIQUEZ                    CO     33002618453
B8B73263493727   JODI         ERB                          OH     90013532634
B8B73432361994   IRIS         BARRERA                      CA     90014754323
B8B74354291248   KIMBERLY     HOSTIL                       GA     90003213542
B8B74A36472B69   AMY          SILLIMON                     CO     90010060364
B8B751A8191579   DAVID        HINOJOS                      TX     90013931081
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2267 of 2350


B8B7541A293758   ISAIAH             APPDULLA               OH     90010584102
B8B7676175B534   ROSEMARIA          BACA                   NM     90011017617
B8B76A77391582   ADRIAN             GARCIA                 TX     90009060773
B8B77287231639   JENNIFER           POTTORFF               KS     22012062872
B8B77341A85936   MONTY              LEMON                  KY     90013993410
B8B77879A5B374   MARIA              ZUNIGA                 OR     90006878790
B8B77A89172B69   CRAIG              GILLS                  CO     33010300891
B8B79629172B69   YOLANDA            GARCIA                 CO     33068146291
B8B7985125B396   VERONICA           ROMERO                 OR     90013368512
B8B7B129155959   JESUS              CISNEROS               CA     48037561291
B8B7B5A377B489   ASHLEY             KEMP                   NC     90013945037
B8B7B823A5B396   GERALD             CRAWFORD               OR     90009548230
B8B81463185936   CHRISTOPHER        CHILDS                 KY     90013094631
B8B81523A7B489   KALIA              BREWER                 NC     90013945230
B8B81572291924   AURORA             HERNANDEZ              NC     90007905722
B8B81A5197B478   GLENDA             GONZALEZ               NC     90002400519
B8B82393391924   RASCHAUNDA         LEACH                  NC     90007723933
B8B8244815B327   DIONISIO           FUENTES                OR     44536204481
B8B8252827B489   LARRY              TOMPKINS               NC     90013945282
B8B8393192B271   LEXUS              JOHNSON                DC     90011469319
B8B8462AA7B489   HERBER             MACHADO                NC     90006296200
B8B84771A36122   JEREMY             MENDOZA                TX     90012937710
B8B85239455959   LEOVARDO           PEREDIA                CA     90011242394
B8B8543375B327   LORI               COOPER                 OR     90013514337
B8B85513972B62   DEWAYNE            CURTIS                 CO     90015115139
B8B85786193752   TEAONNOLEE         GAINES                 OH     64528487861
B8B859A9836122   JEFFREY            SPRADLEY               TX     90010949098
B8B86768A91837   DERRI              JOHNSON                OK     90009987680
B8B867AA772B62   BRENDA JEANNETTE   FLORES                 CO     90011367007
B8B87198885936   DANIEL             LOVELESS JR            KY     90012731988
B8B8741627B492   KAREN              SMITH                  NC     90013584162
B8B8752A291579   MONICA             ALMANZA                TX     90011495202
B8B8753A87B489   JUSTIN             HUBBARD                NC     90013945308
B8B87898572B62   MARTHA             RUIZ                   CO     90008458985
B8B8791995132B   SANDRA             ANDAVERDE              OH     90008819199
B8B87924585927   KATHY              WARNER                 KY     90008619245
B8B88359372B62   NATIVADAD          DIAZ                   CO     90013513593
B8B885A427B489   RACHELL            MONCRIEFT              NC     90014015042
B8B888A3893752   HEATH              KNOUFF                 OH     64516018038
B8B89167291579   JUSTIN             TRUJILLO               TX     90007431672
B8B892A2A61977   DIANA              VELAZQUEZ              CA     90007552020
B8B892A7893736   TERRY              LEONARD                OH     64515982078
B8B89474736122   PETE               MARTINEZ               TX     90014074747
B8B8951A691579   CRISTINA           OROZCO                 TX     90014155106
B8B8958947B489   MELODY             BUFORD                 NC     11043955894
B8B898A6255973   BRICEIDA           VALDEROBLES            CA     90008358062
B8B8B743972B62   JULIE              ANN                    CO     90008057439
B8B8B872285927   TIARA              REID                   KY     90005268722
B8B91625A36122   MARK               TORRES                 TX     90014176250
B8B91852772B69   JOSE               ANGEL TORRES           CO     90011488527
B8B918A5A47839   CANDICE            WILLIS                 GA     90001708050
B8B92421797B43   ROCHELLE           GARCIA                 CO     90014774217
B8B92666A72B69   BALTAZAR           SANTANA                CO     90013336660
B8B92712555959   JOSE               MAGALLANEZ             CA     90002517125
B8B94363931639   MARNIE             JEHLE                  KS     22005373639
B8B94471893727   KELLY              RIGGS                  OH     64567204718
B8B9523257B489   INGRID             SANCHEZ                NC     90012662325
B8B9595495B327   PHILLIP            MATHES                 OR     44575839549
B8B95A9487B492   FADILA             ZIMIC                  NC     90002860948
B8B9611285B327   MACY               NGUYEN                 OR     90013681128
B8B97591555959   HUMBERTO           SANCHEZ                CA     90012365915
B8B97872A5B396   TROY               PFUHL                  OR     44509368720
B8B97A23536122   NICOLE             GARCIA                 TX     90011950235
B8B98513972B69   ADRIENE            DANIELS                CO     33009995139
B8B9853927B489   NEVANT             NIXON                  NC     90013945392
B8B98544372B62   MARICELA           CHAVEZ                 CO     33093375443
B8B985AA793752   JOSEPH             STEFAN                 OH     90012775007
B8B9917622B835   ADAN               RIVERA                 ID     90007771762
B8B99525872B62   NICOLE             CORDOVA                CO     33097405258
B8B99623785936   CRYSTAL            HORN                   KY     90003306237
B8B9977465B396   ANA                SANDOVAL               OR     90015007746
B8B99958897933   MIRIAM             CORTEZ                 TX     71083239588
B8B9B448461937   BRENT              HARVEY                 CA     90004644484
B8B9B481993752   ELMER              CAMPUZANO              OH     90003954819
B8B9B749A85936   LAWRENCE           BRUNS                  KY     90004867490
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2268 of 2350


B8B9B8A1572B62   RODOLFO      AMAYA                        CO     90012898015
B8BB11A4172B62   BRYAN        KNIGHT                       CO     33010051041
B8BB154695B396   HUNTER       SMITH                        OR     90014945469
B8BB192635B327   ELIAS        GARCIA                       OR     90006959263
B8BB2483155972   SUHE         JIMENEZ                      CA     49004664831
B8BB281485B396   JEREMIAH     JOHNSON                      OR     90004268148
B8BB3851593752   JERMAINE     JONES                        OH     90013448515
B8BB3A2618B138   SHERRIE      CRUZ                         UT     31038880261
B8BB3A6273B355   DAVID        HILDERANDT                   CO     90010390627
B8BB3AA1872B69   CHEYENNE     FORESTIERI                   CO     90012530018
B8BB435477B489   NATASHKA     CUFFIE                       NC     90013963547
B8BB4A25A9182B   EDUARDO      HERRERO                      OK     90002890250
B8BB5544455959   AIDA         FARIAS                       CA     90014595444
B8BB556862B941   ANTONIO      CASILLAS                     CA     90010625686
B8BB6117457564   CARLOS       VILLA                        NM     90007921174
B8BB614355B562   VANESSA      JARAMILLO                    NM     90001771435
B8BB6812872B62   PEDRO        MORENO                       CO     33041038128
B8BB6868181652   ANITA        BYRNE                        MO     29052398681
B8BB77A8155959   CYNTHIA      MATA                         CA     90013057081
B8BB875A385936   BRIAN        RICHTER                      KY     90013967503
B8BB994327B489   MARTIN       GALEANA                      NC     90015039432
B8BBB649136122   CYNTHIA      GOMEZ                        TX     90013576491
B8BBB994255942   FACUNDO      GOMEZ                        CA     49080169942
B9111346355938   RENE         RUVALCABA                    CA     90012293463
B9111759272B62   MATHA        MUNOZ                        CO     33075297592
B9111958172B69   WILBER       CAGNALETTI                   CO     90014919581
B9112423955953   MATTEW       RODRIGUEZ                    CA     90014634239
B9112A4973363B   NILTON       AYALA                        NC     90014970497
B91131A7691578   RODOLFO      MORALES                      TX     90001551076
B911368A797157   KELLY        ROSS                         OR     90000846807
B911463A55B561   SERINA       ANTHONY                      NM     90007906305
B911499142B23B   UNIQUE       CALHOUN                      DC     90011389914
B9115426155953   MARIA        TORRED                       CA     90014634261
B911555A15B384   LUIS         LAUREANO JIMENEZ             OR     90005955501
B9115817A51391   ARCHIBALD    MEINERS                      OH     90009548170
B911636715B396   ELIZABETH    TAVERA                       OR     44587903671
B911722612B271   CHRISTINA    HAYES                        DC     90013742261
B911737424B259   PARYS        JOHNSON                      NE     90014643742
B911791345B327   HERMELINDA   BARRON-CRUZ                  OR     90014179134
B9117935991371   SHERRY       HANCOCK                      KS     29078179359
B9117A17355953   BRYCE        RAPOZO                       CA     90014920173
B9118A75155959   PERLA        SANCHEZ                      CA     90014850751
B911913632B271   LOURDEZ      MENA                         DC     90011111363
B91191A9576B52   JULIO        BOLANOS                      CA     90009981095
B9119281593727   TAKELIA      DAY                          OH     64513222815
B911928295B396   FANNIE       PHILLIPS                     OR     44509912829
B911983A791573   ALEJANDRO    MORALES                      TX     90009608307
B911B392291952   TACOSHA      NEFARLAND                    NC     90002133922
B911B84933363B   SHAKA        REAP                         NC     90014968493
B912185662B857   BETHANY      SELLS                        ID     90007558566
B9121923955953   MARISELA     HERNANDEZ                    CA     90014169239
B9122436536122   RODNEY       LACY                         TX     90012924365
B9122591891385   NOEMI        SANCHEZ                      KS     90002485918
B9123764355959   CONNIE       RAMIREZ                      CA     90012877643
B9123764676B52   LORENA       RENTERIA                     CA     46004897646
B9124612A91872   FRANCISCO    RODRIGUEZ                    OK     90009946120
B9125248655972   GABINO       RODRIGUEZ                    CA     90013372486
B9125535155953   BRENDA       PELAYO                       CA     90000905351
B9125958493736   DAWN         SHIRK                        OH     90010039584
B9126182172B62   MELVIN       SCOTT                        CO     33087791821
B912678112B271   WILLIAM      SMITH                        DC     90009737811
B9128224793727   BRANT        KENDRICK                     OH     90010812247
B9128679A76B52   LAWRENCE     CASON                        CA     90010826790
B9129451172B69   VERONICA     MENDOZA                      CO     33072484511
B91296A872B229   KATINA       BIGELOW                      DC     90001736087
B912B11A893727   LEAH         CASSELL                      OH     90014711108
B912B62618B14B   BRIAN        BRISCOE                      UT     90003556261
B912B921491582   OLINDA       BROOKS                       TX     90011429214
B913129A761998   JULIO        COLON                        CA     90008942907
B9131436955953   TINA         GARNICA                      CA     90014634369
B91314A4993758   KARIN        MISER                        OH     64505224049
B9133249A24B28   ERNEST       REED                         VA     90012522490
B9133A16936122   VICTOR       RAMIREZ                      TX     90010640169
B9134998893727   SERVANDO     RODRIGUEZ BANDA              OH     90014969988
B913526623363B   J OMAR       HERRERA                      NC     90014982662
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2269 of 2350


B9135438255953   ERNESTO      ESTRADA                      CA     90013024382
B9136436955953   TINA         GARNICA                      CA     90014634369
B9136438755943   JUAN         GONZALES                     CA     90001474387
B9136732255959   CHRYS        MONTENEGRO                   CA     90012127322
B91371A872B232   KELLY        BEAVERS                      DC     90014061087
B9137397993758   BONITA       SMITH                        OH     90009893979
B9137416176B52   LARRY        SMITH                        CA     90002404161
B9137464672B62   MARIA        JUAREZ-MARCIAL               CO     33080114646
B9137518793727   BILL         BURTON                       OH     90012825187
B913842195B327   DARIN        MCDONALD                     OR     90014514219
B913B846A5B327   JASON        BALL                         OR     90000768460
B913B955855953   MARICELA     HERNANDEZ                    CA     90014169558
B914156552B271   ROBERT       ROSEBUROUGH                  DC     90013025655
B914163485B327   ALAN         KNOTTS                       OR     90014626348
B9141642891592   ADRIANA      PAZ ANAYA                    TX     75084086428
B9141823993758   TARA         HIATT                        OH     90013428239
B9142842393758   ANNDEA       STORY                        OH     90001828423
B9142949A55953   MARIA        RUIZ                         CA     90013049490
B9143389855959   ADRIANA      ALVAREZ                      CA     90007373898
B914412364B537   MATHEW       DAVIS                        OK     90009371236
B914423279712B   ADALBERTO    SUMANO                       OR     90005972327
B9144553863698   TIM          DICKHERBER                   MO     90011345538
B9144651533624   AMANDA       WHITMAN                      NC     90009256515
B9144A34672B69   ANDY         VIGIL                        CO     33075810346
B9146767355953   KIM          ACEVEDO                      CA     90013047673
B9146864576B52   BRIAN        WILLIAMS                     CA     90014138645
B9146A8365B327   ANGELICA     MAGANA VALDEZ                OR     90012750836
B914765A855959   VERONICA     BENITES                      CA     90014586508
B914773885B232   LINDA        BEACH                        KY     90012137388
B9148122476B52   ANDREA       SARABIA                      CA     90010271224
B914845255B396   SEAN         HENDERSON                    OR     90013834525
B9148888455979   RAMON        PADILLA                      CA     90013598884
B9148A6A45B327   ZURIAM       TAPIA TREJO                  OR     90010060604
B9148AA7976B5B   RAMON        VAZQUEZ                      CA     90004930079
B914B629193727   AARON        KEMP                         OH     90012376291
B9152392721826   SHAKARI      JOHNSON                      MN     90011603927
B9152424693727   DESTINY      WOOTON                       OH     90007034246
B915278413363B   KASSIME      WOODS                        NC     90014987841
B91534A8572B84   JEREMY       PLATT                        CO     90001074085
B915355472B857   BRIDGETTE    MOCKWITZ                     ID     90005975547
B9153783163697   JILL         BRUNE                        MO     90000817831
B915378413363B   KASSIME      WOODS                        NC     90014987841
B9153817793758   LESLIE       KITTRELLS                    OH     90013118177
B9153A25455953   JAVIER       ORTEGA                       CA     90013050254
B9154167172B62   MARIA        VILLANUEVA                   CO     90009111671
B9155258391885   BRENT        REMPE                        OK     21003932583
B9155967855953   BERENICE     CONTRERAS                    CA     90014169678
B91559AA172B69   CRISTINA     PINON                        CO     90001059001
B9156735536122   CYNTHIA      DURHAM                       TX     90001347355
B9156AA5A3B396   JENNIFER     DICKEY                       CO     90001160050
B9157423955953   MATTEW       RODRIGUEZ                    CA     90014634239
B9157425547832   BRITTANY     WILDER                       GA     90014184255
B915745222B271   STEVEN       MORGAN                       VA     81042674522
B915774525B327   ARMANADO     MANZANO                      OR     90008407452
B9158248271966   LINDSAY      MOON                         CO     33096142482
B9158289593758   KRISTIN      PUETT                        OH     90011322895
B9158731393758   JORDAN       JONES                        OH     90014857313
B9159347431921   MAHENDRA     RAMAKRISHNAN                 IA     90015073474
B9159422454122   DAN          DAVIS                        OR     90009394224
B915B832193752   SHAWN        ELKINS                       OH     64550898321
B915B95387B421   ANTHONY      DAVIS                        NC     11010699538
B915BA17841229   JAMES        KELLY                        PA     90004610178
B91614AA855972   RICK         SANTANA                      CA     90007014008
B91617A963165B   MATTHEW      MAUPIN                       KS     90009557096
B9162112636122   RUDOLPH      PADIERNA                     TX     90011971126
B9162714131639   GINA         RAY                          KS     22009617141
B9162A5487B393   MARIO        RENDEROS                     VA     90008510548
B9163124572B62   ABRAHAM      HERRERA                      CO     33090541245
B9163336A5B327   STICKS       JONES                        OR     44552913360
B9163558693758   MICHAEL      CASEY                        OH     64505925586
B916361645B396   MICHAEL      ANDERSON                     OR     90003596164
B9163932831688   LEANN        PROVINCE                     KS     22064669328
B916394A736122   ADAN         REYNA                        TX     90014359407
B9164148572B62   REBECA       VITA                         CO     90010621485
B916483795B327   DEVIN        BARNES                       OR     44544688379
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2270 of 2350


B9164A5172B271   RAMOS             RIGOBERTO               DC     81019910517
B9165A38A55953   JOANNA            GARCIA                  CA     90012300380
B916661323B385   JAMES             SCHWARTZ                CO     33089236132
B916677A34B259   JUANA             HUIZAR                  NE     27081037703
B916694515B327   GALINA            LAZARENKO               OR     44537959451
B9167322191574   CYNTHIA           TREVINO                 TX     75063003221
B9167485572465   JAMES             DAW                     PA     51036554855
B9167688893727   ROBIN             GRIFFIN                 OH     64531046888
B9167994355953   NAOMI             PLASCENCIA              CA     90014169943
B9168189493758   SENYA             OJINJIDEKA              OH     90013141894
B9168212A85927   ROOSEVELT         JOHNSON JR.             KY     67065722120
B9169227172B22   MUKESH            CHANDRA                 CO     90006042271
B9169583176B52   SHEILA            DAVIS                   CA     46076885831
B9169833855953   CHRISTINA         ANDERSON                CA     90013078338
B916B565293727   TODD              KESSLER                 OH     90013605652
B916B624977525   ANA BEL           JUAREZ AYALA            NV     90004226249
B916B851155953   MARIA             VALTIERRA               CA     90013068511
B917156764B259   SHAYLA            SMITH                   NE     90015125676
B917156894B557   YANETH            VERA                    OK     90011645689
B9172664555959   DANIEL            SMITH                   CA     90014866645
B9172725857142   JUVIERA           YASMEEN                 VA     90010807258
B9172A37A31456   RICHARD           WILSON                  MO     90013220370
B917357185B396   GINNY             CROCKER                 OR     90008825718
B9173623643236   JOHNNY            GONZALES                TX     90015396236
B9173815993758   CAROLYN           MARSHALL                OH     90013258159
B917456A72B271   IYONIA            SCOTT                   DC     90012285607
B9174726861955   ARTURO            LANGUREN                CA     90007347268
B917475134B259   TOLISHA           GREEN                   NE     90002577513
B9174765793752   STEVEN            CHAMPION                OH     64517277657
B917485A255953   EDUARDO           YANEZ                   CA     90013088502
B9174865636122   SAMMANTHA         GONZALES                TX     90010748656
B917542624B259   SHANNON           FIGUEROA                NE     90014644262
B917548A485963   BRITTANY          BRUCE                   KY     90012854804
B91766A125B327   MARIA             LOPEZ                   OR     90007696012
B917682AA71936   ROSALIO           ZAMORA                  CO     90010508200
B9177385972B53   CHRIS             JOLLY                   CO     90011293859
B917742624B259   SHANNON           FIGUEROA                NE     90014644262
B917763688B186   CHRIS             ESPINOSA                UT     31061516368
B9177958736122   VANESSA           GARCIA                  TX     90013539587
B9178146436B98   ERNEST            ARNOLD                  OR     90011871464
B9178A84476B52   NADIA             SALORIO                 CA     90003810844
B917955835B327   TALIB ABDULHASN   ZAIDAWI                 OR     90013525583
B9179982655953   REYNALDO          GONZALEZ                CA     90013089826
B917B246A8B133   DAVID PAUL        CHRISTENSEN             UT     90010362460
B917B252593752   JOSH              MACKEY                  OH     90010932525
B917B5A1155959   JESUS             GARCIA                  CA     90012085011
B917BA86472B69   MELQUIADES        CABALLERO               CO     90014150864
B918126932B271   CHRISTINE         PORTER                  VA     90007002693
B9181665976B52   KISHA             PONCE                   CA     90014936659
B9181825A7B431   CHAD DAVID        SMITH                   NC     90010268250
B9182178436122   CHRISTINE         ANDERSEN                TX     90012511784
B918225223B352   KATHLEEN          BAKER                   CO     90010272522
B9182427476B52   ERIK              GARCIA                  CA     90014684274
B91825A2172B69   ANGIE             BORUNDA                 CO     33052115021
B9183169A5B327   LORENZO           LOPEZ                   OR     90013221690
B9183211472B69   JOSEFINA          RODRIGUEZ               CO     90007712114
B918337274B259   BRENDA            LEE                     NE     27012323727
B9183714131639   GINA              RAY                     KS     22009617141
B9183994693758   VINCENT           IRVIN                   OH     90006169946
B918399A47B489   SAMUEL            SPEARS                  NC     11089369904
B91841A5255979   LUIS              CONTRERAS               CA     90009261052
B9184A45755953   JOSE              CORDOVA                 CA     90013090457
B9185168493727   CHEYENNE          STILABOWER              OH     90010621684
B91852A497B489   ALFONZO           EDWARDS                 NC     11010772049
B9185369A4B296   FRANK             SMITH                   NE     90009543690
B9185583155953   DANIEL RODOLPHO   VALENCUELA GARCIA       CA     90014645831
B918579175B338   HILDA             ALONSO RODRIGUEZ        OR     90000157917
B9186349472B3B   JUAN              RECINOS                 CO     90007243494
B91869A2184364   LAROYCELYN        WATSON                  SC     90001839021
B918745A461971   MARCO             SORIA                   CA     90007154504
B9187698672B62   ARNOLD            VALDEZ                  CO     90013976986
B9187917293758   JAMES             WINCHESTER              OH     90008739172
B9188521136122   CHRISTINA         LOPEZ                   TX     73521895211
B9188571372B69   DANNY             SCHNAKER                CO     33043075713
B9189361572B3B   RICKY             KOONCE                  CO     33064903615
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2271 of 2350


B918B591A8B166   JOHNNY                MONTOYA             UT     90008105910
B918B6A975B327   LISA                  HILLIARD            OR     90011906097
B918BAAAA55953   MIGUEL                RUBIO               CA     90013090000
B9191261291864   JODI                  COZBEY              OK     90007662612
B9191A81536122   NORMA PARRY BRUSCHA   GIBSON              TX     90008000815
B9192132672B62   CIPRIANO              DZUL-AKE            CO     90002091326
B919363A55B561   SERINA                ANTHONY             NM     90007906305
B9194412772465   GORDON                HANCOCK             PA     51063224127
B9194847A5B327   JUAN CARLOS           SANTIAGO            OR     90012918470
B91951A9772B62   RAMON                 NAVARRO             CO     90003711097
B919532224B259   MADAI                 MARIN REYES         NE     90009793222
B9195359A5B355   JOY                   SMITH               OR     90011093590
B9195573976B52   MARIANO               GARCIA              CA     90013815739
B9195AA715B396   WILLIAM               BOLTON              OR     90011750071
B919665692B271   URSULA                DAVIS               DC     90010386569
B9197463933642   MARCOS                ORTEGA              NC     90014024639
B9198178436122   CHRISTINE             ANDERSEN            TX     90012511784
B9198232493727   SUNNI                 WILKERSON           OH     90002362324
B9198347772B62   LISA                  ALVARENGA           CO     33027513477
B919858455B396   CHERIE                PAGE                OR     44531625845
B919922784B259   MARIA                 GUADALUPE           NE     90010582278
B9199316736122   KEISHA                RINGLAND            TX     73580073167
B919933492B271   LANETTA               EATMON              DC     90011143349
B9199645872465   GLORIA                HAYES               PA     51036646458
B9199949355959   ANGELA                GUERRA              CA     90013869493
B9199A7728B191   ISABER                HITE                UT     90006510772
B9199A78576B52   RYAN                  CHARLES             CA     90012950785
B919B159636122   NAOMI                 MONROY              TX     73561291596
B919B762255953   JUAN                  CASTILLO DIAZ       CA     90014807622
B919BA85872B69   CHRIS                 MATOS               CO     33082160858
B91B1455493727   JASHANNA              BRYANT              OH     90011854554
B91B154692B271   OSCAR                 FLORES              DC     90007055469
B91B17A763363B   EDWIN                 VASQUEZ             NC     90014957076
B91B1885172B62   KEVIN                 PADILLA             CO     33000868851
B91B32A5991329   AMBER                 COLEMAN             MO     90002372059
B91B4211155953   LISA                  CARRILLO            CA     90012982111
B91B628185B382   BRIAN                 ZETTERVALL          OR     44505952818
B91B6579391222   TORIANO               BYRD                GA     90002695793
B91B6AA322B857   NANCI                 NYDEGGER            ID     90010460032
B91B7354691493   RAYMOND               NIELSEN             NY     90014633546
B91B859794B259   MARIA                 RIOS                NE     90011075979
B91B9833655959   MARIA                 SALINAS             CA     48018118336
B91B9871A3363B   DIJUANA               DOUTHIT             NC     90014958710
B91BB194436122   MILLIE                SALAS               TX     90013051944
B91BB53859712B   EMILIA                MEJIA               OR     90000485385
B921131442B271   TORRENCE              MILLEK              DC     90015133144
B9211332472B62   PETER                 SHERWILL            CO     90013603324
B921188495B327   CISNEROS              LUZ MARIA           OR     90011728849
B9212356636122   SELINA                ZAMORA              TX     90008983566
B9212422572B81   YOLANDA               PEDROZA             CO     90014014225
B9212785755959   MICHELLE              ALVAREZ             CA     90010537857
B9212858157183   SHEILA                GLENN               VA     90009448581
B921296472B271   BRIANNA               TOWNES              DC     90012739647
B9213321236122   SELENA                HERNANDEZ           TX     90015003212
B921373423B355   JOSEPH                SORENSON            CO     90003817342
B9214345A76B52   MARIO                 RODRIGUEZ           CA     46029493450
B9214395272B62   ALEJANDRO             FERNANDEZ           CO     33077003952
B9214472855953   ISAAC                 GAYTON              CA     90005234728
B9214491193752   DONISHA               BOZEMAN-RUFARO      OH     64521244911
B921553A92B835   ASIA                  JUAREZ-BELTRAN      ID     42010025309
B9215684455953   MARTHA                ZAVALA              CA     90013116844
B9216457972B69   THOMAS                MENEVERZ            CO     90013934579
B92166A6554B76   SANDRA                GAMEZ               VA     90008836065
B9216752393727   JACQUELINE            SCOTT               OH     90009847523
B921679935B396   YAIR                  PACHECO             OR     44594517993
B92167A3331639   JEREMY                TRAFFAS             KS     90012997033
B9217197331639   GEOVANY               ORTIZ               KS     90010031973
B9218374A36122   RENE                  GARZA               TX     90004253740
B921862545B534   CYNTHIA               PENA                NM     90010056254
B9218A5372B972   JANNETTE              HELO                CA     90008200537
B921916358B825   TERRY                 BROWN               HI     90014161635
B92194A1172B69   DEBRA                 KITE                CO     90000664011
B92196A225B396   PAW                   MU                  OR     90013306022
B921B3A8785927   ANNA                  ROBERSTON           KY     67029183087
B922117349712B   TESHAYE               ARAYA               OR     90001641734
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2272 of 2350


B92211AA876B52   MIRIAN        HERNANDEZ                   CA     90004181008
B9221267155959   HEIDI         MUNOZ                       CA     90013242671
B9221734855953   ANDREA        DELA CRUZ                   CA     90013117348
B922233792B271   DEMIS         BIRU                        DC     90011113379
B9222479293758   NICHOLAS      PIEKUTOWSKI                 OH     64555514792
B9222612861994   NORMA         AGUILERA                    CA     90008926128
B922288395B396   PRANEEL       SIWAN                       OR     90009628839
B9224578972B69   SILVIA        MARTINEZ                    CO     33073955789
B922549185B555   CONNIE        CORONA                      NM     90006964918
B922633A73363B   AYOFEMI       JEFFERIES                   NC     90014523307
B9226517391554   MARIA         RUBIO                       TX     90013225173
B922655155B327   ROSENDO       DE LA SANCHA                OR     90004025515
B922717394B259   EDOH          KOFFI                       NE     90008501739
B9227185176B52   JUANA         IXCOY                       CA     46089031851
B9228631755953   SOPHIE        GOMEZ                       CA     90003766317
B922923615B327   NICOLE        CHAMBERS                    OR     90012012361
B92293A1972B69   MELVIN        PAGE                        CO     33016433019
B9229639251355   DIANNE        GATEWOOD APT 2              OH     90014916392
B92299AA255959   DORA          TORRES                      CA     90013369002
B922B277172B62   KATHY         DAVIS                       CO     33043362771
B923115A85B396   TROY          ERKENBECK                   OR     90007081508
B9231315793752   HEATHER       RUSSELL                     OH     64582183157
B9231691A2B834   TIFFNEY       DEVRIES                     ID     90011496910
B9232173836B98   FIDEL         NAPUTI                      OR     90008701738
B9232381A76B52   ALICIA        PEREZ                       CA     90012953810
B9232539355953   DORA          RODRIGUEZ-SOTO              CA     90013125393
B9232848693758   AMBER         OSBORNE                     OH     90011118486
B92329A2455972   OMIE          CUNNINGHAM                  CA     90007019024
B923355AA55953   MICHAEL       YBARRA                      CA     90013125500
B9234812676B52   ARMANDO       MORENO                      CA     90012758126
B923519A955928   ELSA          CARDENAS                    CA     90008131909
B9235516A72B62   HERRERA       LUZ                         CO     90011175160
B923576955B396   SANDRA        HEFFNER                     OR     90004007695
B9235AA5936B98   SHADI         BATROUKH                    OR     44549920059
B923621992B857   NICOLE        CONTRERAS                   ID     42016972199
B9236374672B69   RUBEN         BANUELLOS                   CO     90012743746
B9236413655959   CATHY         MENDOZA                     CA     90009014136
B9236444831688   MARIA         RODRIGUEZ                   KS     22096284448
B9236982793758   MELISSA       BRISCOE                     OH     64566769827
B9236A79691586   AURORA        PINEDA                      TX     75057620796
B9237429393752   WAYNE         HOLMES                      OH     64514334293
B9237628371944   YESENIA       ROSALES-OCHOA               CO     90011306283
B9237847236122   TERALYN       WILLIAMS                    TX     90014168472
B9237868224B64   EMMA          VEGA                        DC     90002088682
B9237996593758   KELLEY        HUGUELY                     OH     64509629965
B9238455A72B62   SHEILA        HARRIS                      CO     33023294550
B9239231176B52   JUAN          SANTIAGO                    CA     90002282311
B923969A44B259   BRIANNA       MATHER                      NE     90012606904
B9239A32A77569   GARY          SMITH                       NV     43050450320
B923B382372B69   MIGUEL        CARBAJAL                    CO     33037633823
B923B495A55953   JOSE ADRIAN   ROMERO                      CA     90013124950
B923B566155959   MARCOS        SALASAR                     CA     90002575661
B9241115651343   BRANDYN       HENSLEY                     OH     90006071156
B9241119293727   ALICIA        BOSTICK                     OH     90010241192
B924156A13363B   MOHAMED       MASHALL                     NC     90014965601
B92416A3676B52   BEVERLY       HERNANDEZ                   CA     90003606036
B9242176872B69   JEANNETTE     OLGUIN                      CO     90010251768
B924248924B259   THOMAS        VAUGHN                      NE     90012814892
B9242789936122   KRISTY        MOFFETT                     TX     90002477899
B924351352B271   ELIZA         MOJDUSZKA                   NJ     81042725135
B92436A7255953   MARIA         FRANCO                      CA     90013126072
B9243886A8B171   SHARNELL      N GROGAN                    UT     90008928860
B9243A1435B599   KRYSTAL       LOYA                        NM     90006960143
B9244982193758   CHRISTOPHER   BANKS                       OH     90015149821
B9244A62255953   BARBIE        JEFF                        CA     90011790622
B9244A7815B396   DIANE         WILLINGHAM                  OR     44534750781
B9245623493727   LAQUITA       BRODIE                      OH     90014056234
B924579A793743   TIMOTHY       CAMPBELL                    OH     90012257907
B9245A1885B396   FLORES        OROZCO                      OR     90003720188
B924631884B259   JEREMY        JANKOVICH                   NE     27039863188
B924654713363B   LINDA         BOBO                        NC     90015075471
B92468A2793752   TALACEY       MARTIN                      OH     64591208027
B92472A3957564   JUDITH        GOMEZ                       NM     90014412039
B9248459455953   GABRIELA      PORCHAS DIAZ                CA     90013134594
B92488AA731639   VALERIE       COLLETTE                    KS     90013868007
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2273 of 2350


B924917A872B98   JUSTIN        RODRIGUEZ                   CO     90008931708
B9249459455953   GABRIELA      PORCHAS DIAZ                CA     90013134594
B924BA2498B154   CARL          HALL                        UT     90005700249
B92514A4836122   JEREMIAH      FOX                         TX     90014624048
B92515AA42B857   S             JOHNSTON                    ID     90007775004
B9251824561949   PABLO         RODRIGUEZ                   CA     90011968245
B9251A7857B489   SHONTAE       LITTLE                      NC     11049650785
B9252828772B62   EDUARDO       FLORIES                     CO     33051808287
B9252968455953   SINTIA        DELGADO                     CA     90013139684
B9253377672B69   MARIO         MARQUEZ                     CO     33054843776
B92537A265B327   JASON         BROWN                       OR     90014467026
B9253972A55953   VERONICA      PEREZ                       CA     90013139720
B925419154B265   WILLIAM       RAMSEY                      NE     27075041915
B925475574B259   SANTOS        CRUZ                        NE     90012667557
B925548592B841   MEASHO        MELAKI                      ID     90014084859
B9255996531667   BRITTANI      JONES                       KS     90010539965
B92559A129712B   JENNIFER      VON FLUE                    OR     90005979012
B9256345793758   JENNIFER      LYNCH                       OH     90004093457
B9256613472B69   CHERI         MASON                       CO     33082396134
B9256624A5B327   HONORIO       FAJARDO                     OR     90013696240
B9256712172498   JOSEPH        MORRIS                      PA     90007187121
B9257765536122   PAUL          MELEZ                       TX     90014867655
B925878815B293   CYDRIC        SMITH                       KY     68025267881
B925952987B431   MAYBELLINE    PORTILLO                    NC     90008045298
B925B252172B62   ROSARIO       CHAVEZ                      CO     33067132521
B925B82235138B   WILLIAM       ROSE                        OH     90014048223
B9261156255953   SARAH         CUEVAS                      CA     90013141562
B926176825B327   ALBERTO       MARTINEZ                    OR     44582277682
B9263675255953   LUIS          MENDOZA LOZA                CA     90014186752
B9264392555953   JOSIE         HERNANDEZ-REYNA             CA     90003423925
B9264477372B69   DANIEL        KIMBALL CONKLIN             CO     33009544773
B9265578376B52   STEVE         BELISARIO JR                CA     90013255783
B92657A4893758   ADAM          PEYTON                      OH     90004497048
B92658A2172B62   JANET         WHITE                       CO     90002678021
B9267259924B55   JOHANNA       DIAZ                        DC     81091272599
B926739392B265   LAKISCHA      JAMES                       DC     90007753939
B92673A6272B69   KRISTEN       MOLLOY                      CO     33031663062
B9267725372B62   JOSEPH        MAUL                        CO     90012047253
B9267885493758   JASMINE       COTTRELL                    OH     90014558854
B926811817B489   ROSALEI       WILSON                      NC     90005811181
B9268141172465   CASSANDRA     RUSKIN                      PA     51041611411
B9268366441937   BILLY         HUFFAKER                    OH     90014503664
B926944463B368   KATHI         WITT                        CO     33013724446
B9269847676B52   MARIA         NOVOA                       CA     90013298476
B9271984193758   RICHARD       WHITE SR                    OH     90011029841
B927212732B271   GIOVANNI      BROWN                       DC     90013651273
B927245A393758   RACHEL        SARGENT                     OH     90012184503
B9272468955953   OCTAVIO       GUERRA                      CA     90011284689
B9272566836B98   JUAN          REBOLLEDO-GARZON            OR     90002155668
B927319512B887   CATHERINE     JONES                       ID     42074061951
B927375825B396   RAJ           TIWARI                      OR     90008277582
B92737A4593758   MICHEAL       TAYLOR                      OH     90014097045
B927382442B857   AGUILERA      GONZALEZ                    ID     90006848244
B9274246136122   BELINDA       PEREZ                       TX     90010682461
B927454A155959   JUAN          GUTIERREZ                   CA     90010335401
B9274773785927   ETASIA        GODFREY                     KY     67029727737
B927568134B259   FLORIANE      OUBDA                       NE     90012276813
B9275748566134   ILYNE         VERERA                      CA     90015387485
B9275943736122   DEONA         AGUINAGA                    TX     90002449437
B9276319493752   AMANDA        BOREN                       OH     90010973194
B9276693172B62   LEELAND       KENNETH                     CO     90010136931
B92772A334B284   CHRISTOPHER   SZYDELKO                    NE     90011632033
B9277895936B98   LACROY        BRANDON                     OR     44557998959
B9277928836122   PEDRO         TINAJERO                    TX     90010609288
B927827A524B28   CHARLES       WILSON                      DC     90013352705
B92787A835B396   DJULIA        DENGUB                      OR     44576997083
B9279472636122   JOHN          LECON                       TX     90012924726
B927968195B396   JOSAFAT       ISRAEL SOSA                 OR     90003346819
B9279748993727   JOHNITA L     PITTS                       OH     90004297489
B9279923955953   JUSTIN        VILLEGES                    CA     90013259239
B927B43735B327   PHALICIA      BATEMAN                     OR     90006764373
B927BAA7A55959   MIGUEL        RODRIGUEZ                   CA     48066270070
B9281863A31688   KOBERLY       ROBBINS                     KS     90003558630
B9282829285927   YOLANDA       AVERETTE                    KY     67065838292
B9283343877583   GRACE         HERNANDEZ                   CA     90007573438
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2274 of 2350


B928337445B396   HAROLD        THOMAS                      OR     90002183744
B928361735B396   KEITH         THOMAS                      OR     44532286173
B9284153731688   CHRIS         GALLOWAY                    KS     22061621537
B9284374876B52   JOSHUA        CHRISTIE                    CA     90008463748
B9284862436122   CARRINA       COX                         TX     90008158624
B9285272A93727   JAVINNA       WILSON                      OH     90005992720
B9285345793783   GILBERT       REVERE                      OH     90012653457
B92858A9491578   NANCY         PUEBLA                      TX     90008758094
B9285951661952   JUAN          CASTILLO                    CA     90012289516
B9286294593727   ANTHONY       ECKLEY                      OH     64531992945
B928655525B396   NANCY         MEEK                        OR     90011905552
B9286966276B52   ERIKA         LOPEZ                       CA     90014299662
B928726575B327   JASON         FOOTE                       OR     44509212657
B9288318A76B52   GRECIA        BALLESTEROS                 CA     90014543180
B9288477271936   KATHERINE     SHELTON                     CO     32053504772
B9288481155959   MIGUEL        LOPEZ                       CA     90015194811
B928868A793758   ZACHARY       TABOR                       OH     90013156807
B9289221931456   BIRDIE        MCCLAIN                     MO     90004832219
B9289631272B62   JESSICA       KARR                        CO     90007496312
B928B311893758   VALENTINA     HOLLINGSWORTH               OH     90012723118
B928B67264B259   NABIL         GRADO                       NE     90013356726
B928BA2894B541   JODY          LANE                        OK     90013020289
B928BAA4341229   GILWOODE      JACKSON                     PA     90004590043
B9291388672B69   MERCEDES      CRUZ                        CO     90012743886
B9291562836122   ERNESTO       BUSTOS                      TX     73500985628
B9291696972B62   JOVAY         WADE                        CO     33025776969
B92917A8131639   TRISH         POLK                        KS     90010307081
B9291896255953   SKI           WALKER                      CA     90013268962
B9291999393758   KENNETH       BAILEY                      OH     90009979993
B92919A3893727   BOBBY         JACKSON                     OH     90012619038
B9292388161945   JUAN          ELIGIO                      CA     46023913881
B92927A4593758   MICHEAL       TAYLOR                      OH     90014097045
B9293172A77977   OMAR          HERRERA                     IL     90015481720
B9293862436122   CARRINA       COX                         TX     90008158624
B9293947272B29   LOPEZ         NICO                        CO     90001139472
B9293962A91257   VON           REESE                       GA     14581329620
B9294797255953   WILLIAM       BERMUNDEZ                   CA     90014187972
B929562A772B69   DEBRA         E PAYTON                    CO     33019146207
B9295AA6336122   YOLANDA       DAVILA                      TX     73555900063
B9297199793758   CLIFTON       JOHNSON                     OH     64565101997
B9297331185927   YVONNE        LEWIS                       KY     67047443311
B9297449597922   BRENDA        TAYLOR                      TX     74079044495
B9297671A72B62   GASPAR        VICENTE                     CO     33096086710
B9298626191972   LASTARDIA     MAISONET                    NC     90010256261
B929885742B271   RODNEY        MCCRAY JR                   DC     90014788574
B929888728165B   TIMOTHY       TEVIS                       MO     90011658872
B9298A1322B221   OLVIN OMAR    CHIRINOS MENDEZ             DC     90000960132
B929B19A855972   MAKAYLA       MCCRAE                      CA     90007021908
B929B347A55953   JUANITA       MELCHOR                     CA     90014063470
B929B92565B396   ANDREW        LEVIE                       OR     44576119256
B929B949284333   JERRY         BROWN                       SC     90008809492
B92B1126393752   VICKIE        OSBORNE                     OH     64517281263
B92B1915576B52   YASMIN        HERNANDEZ                   CA     46051829155
B92B223A141229   KELLY         MOORE                       PA     51069142301
B92B2747A72B69   MARY LOU      GARCIA                      CO     33083637470
B92B281275B522   MARY          GONZALES                    NM     90011028127
B92B3715772B69   MICHELE       YOUNG                       CO     90012967157
B92B4881431688   ELIZABETH     CALDERON                    KS     22015218814
B92B5689384333   ANGELA        BRIGMON                     SC     90008426893
B92B6157333643   LORENZO       CARDOZA                     NC     90007961573
B92B6425993758   GREGORY       FRIEND                      OH     90012684259
B92B655485B396   SEAN          O'CONNOR                    OR     90014325548
B92B679148B123   NICHOLE       RODRIGUE                    UT     90004247914
B92B7177A55953   LESLIE        SOQUI                       CA     90013101770
B92B738322B271   ALL           STATE GLASS                 VA     81054373832
B92B793445B327   RUBEN         SALAS                       OR     44569029344
B92B835842B857   ISELA         RIVERA                      ID     90007243584
B92B8481136122   SERGIO        CHRISTPHER                  TX     90008394811
B92B8596872B69   JODIE TRINI   MADRID                      CO     90013255968
B92BB868393758   SIR WINSTON   JAMES                       OH     90014258683
B92BBA58272B69   JORGE         REYES                       CO     33013210582
B9311399872B69   SOCORRO       QUIROZ                      CO     33059353998
B931169142B271   TROY          BATES                       DC     90014886914
B9311958736122   VANESSA       GARCIA                      TX     90013539587
B931221755B327   NAYELI        GUTIERREZ                   OR     90010502175
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2275 of 2350


B931258745B396   IVETH        MONTIEL                      OR     44564525874
B9313321A2B22B   DOROTHY      LANGLEY                      DC     90015123210
B9314355131639   RELONDA      WRIGHT                       KS     90002323551
B931486A75B327   ALBERT       GRAHAM                       OR     44547198607
B931488424B541   IDA          PELZER                       OK     90008128842
B9314A9495B34B   SALVADOR-M   BARTOLO                      OR     90001770949
B9315243472B69   SHANNA       WEST                         CO     90006862434
B931529658B141   DON          THORNWALL                    UT     90009222965
B9315654676B52   FIDELINA     ORTEGA                       CA     90008666546
B931583A25B327   LORENA       LOPEZ MERIDA                 OR     90012728302
B9316388493727   ANGELA       BUNDY                        OH     64582113884
B9316553472B62   MARIA        PENALOZA                     CO     90012325534
B9316617391576   JUAN         ALVARADO                     TX     90008896173
B9316874836122   JOSHUA       HERNANDEZ                    TX     90013288748
B931739A241229   MICHELE      CALABRESE                    PA     51025963902
B931742A672B62   FLO          WILSON                       CO     90012784206
B931795962B271   JOHNITTA     JONES                        DC     90014599596
B9318276A5B343   JONATHAN     DEWALD                       OR     90010482760
B9318919936122   ERICA        SEVILLA                      TX     90003809199
B931927A15B327   RUFINO       TREJO                        OR     44520002701
B9319755A55953   MARIA        GARCIA                       CA     90014217550
B931B46A193752   DEVIN        BUCHANAN                     OH     64559194601
B931B51812B857   CHRIS        YOUNG                        ID     42067175181
B9321247393758   JENNIFER     ARNETT                       OH     64528382473
B9321543285927   CHANA        PARKER                       KY     67048685432
B9321617661945   TOBY         HOWARD                       CA     46089196176
B932194665B396   RAYME        LACEY                        OR     90014929466
B93223A125B396   WILLIE       ANDERSON                     OR     44512063012
B93236A7936122   AMBER        WAID                         TX     90014836079
B932375A676B52   DAWN         LEE                          CA     90012977506
B932426477B489   JOSEPH       MCDUFFIE                     NC     11085602647
B932464714B259   REYNA        AMBROSIO                     NE     27060856471
B932464A172B69   ELIMELEC     MONTOYA-RODRIGUEZ            CO     90013656401
B932568933363B   JESUS        TREVINO                      NC     90012996893
B9325723455959   MIGUEL       CASTRO                       CA     48067487234
B932589262B271   CHARLENE     HATCHERSON                   DC     90014128926
B9325A76673272   INGISO       MENDOZA                      NJ     90015300766
B9326187655959   YULIANA      GARCIA                       CA     90010711876
B9326245657565   CHRIS        HAKES                        NM     35509492456
B9326464536122   RICARDO      PEREZ                        TX     90014934645
B9326782A76B52   EMMANUEL     BARRIENTOS                   CA     90014107820
B932695584B585   JAMES        WORLEY                       OK     90004749558
B9327115576B52   GUILLERMO    MATURINO                     CA     90000721155
B9327A16155953   MICHAEL      MADRID                       CA     90014660161
B9328115A55959   ISAMAR       RODRIGUEZ                    CA     90012921150
B9328262A71932   CASSANDRA    DILLON                       CO     90011452620
B93284A4772B69   KATHY        KISSNER                      CO     90012744047
B9328A61A2B845   EVENLYN      RODRIGUEZ                    ID     90013810610
B932938765B327   DEJA         OVERTON                      OR     90009363876
B9329768476B52   LUIS         MOSQUEDA                     CA     90014707684
B9329A32155953   MICHAEL      MADRID                       CA     90014660321
B932B926355959   CURT         BERKLEY                      CA     90008999263
B932B945961971   MIKE         MOORE                        CA     90006369459
B932B99945B396   JOSE         MURALLES PEREZ               OR     90010389994
B933331A131421   SHAMIKA      GUTHRIE                      MO     90010683101
B9333575276B52   MANUEL       DOMINGUEZ                    CA     46077535752
B9333A44136122   ROSETTA      SHOWS                        TX     90009480441
B9334398661975   MARKELL      GANT                         CA     90013833986
B9334744136122   FERNANDO     MUNOZ                        TX     90014377441
B93347A6172465   ELMER        WILES                        PA     51017097061
B9335A42193752   TIFFANY      BAKER                        OH     64509240421
B933615435B573   GERARDO      ANDREW                       NM     90011331543
B9336591893727   MELINDA      MODEN                        OH     90012975918
B93374A6A36B98   HEATHER      BOLDS                        OR     90010184060
B933824743163B   ANN          MEYER                        KS     90012342474
B9338668972B62   ISABELLE     RIVERA                       CO     90012246689
B9339467255959   RICARDA      HERNANDEZ                    CA     90006824672
B9339624536B98   FELIPE       VICTORIANO                   OR     90004656245
B9339A47736122   HOPE         GOMEZ                        TX     90014340477
B933B345131688   JOHN         JONES                        KS     90005443451
B933B526836122   DINA         LESTER                       TX     90014885268
B933B64775B396   SEANICE      TROJAN                       OR     90009206477
B934135862B857   CASSIE       ROBERTS                      ID     42027833586
B9341792593758   ZAHARA       BLOODSOE                     OH     90013157925
B9341879155959   ANTONIO      MARTINEZ                     CA     90013058791
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2276 of 2350


B934211462B22B   ANN            BROOKS                     DC     90003491146
B9342161A55959   ROSA           ZEPEDA                     CA     48067501610
B9342238836122   ROCHELLE       GRAYSON                    TX     90009622388
B9342496393758   JESSICA        GRICE                      OH     90008794963
B934282625B327   YULIET         RAMOS                      OR     90002068262
B9342A38836122   ROCHELLE       GRAYSON                    TX     90014780388
B934323A376B52   SANTIAGO       OROS                       CA     90013862303
B9343411151339   ELOISE         MINNIEFIELD                OH     90008554111
B934364A15B386   JALANDA        SWAIN                      OR     90011036401
B934394A572465   JERRY          BALLENTINE                 PA     51042449405
B934412185B547   SILVIA         BOBADILLA                  NM     90011241218
B934429764B221   PATRICIA       CRENSHAW                   NE     90007382976
B93443A657B489   JENNY          WASHINGTON                 NC     11086173065
B9344592185927   ALEJANDRO      ROJAS                      KY     67087415921
B934512282B857   TODD           OHNGREN                    ID     90011641228
B9345448355959   ADELINA        CARRANZA                   CA     90008644483
B934566A75B396   GEORGE AARON   KANDLER                    OR     90013286607
B9346797993758   ABDULMULTI     SALEH                      OH     90013157979
B9347651772B69   DENNIS         DAVIS                      CO     90006086517
B9347752193727   DAWN           HOWARD                     OH     64582177521
B934791673363B   LATAISHA       HUDSON                     NC     90015149167
B934816A24B259   BRYANT         AVILA                      NE     90012971602
B9348859655953   RICKEY         BURNIAS                    CA     90014688596
B9348895991576   MORAIMA        OSORIA LEVARIO             TX     90012788959
B934893383363B   AVERY          HUDSON                     NC     90015149338
B934986A955953   DAVID          RICE                       CA     90014688609
B934B791893758   DAWANDA        GOODWIN                    OH     90013157918
B9351797372B69   RAUL           GALLEGOS                   CO     90014687973
B9352328893727   RANDALL        NIX                        OH     90013743288
B935244617B489   BRUCE          BOON                       NC     11051334461
B935254518B131   NICK           PETERSON                   UT     90002555451
B9353477972B69   ANDREW         MUTCH                      CO     90009904779
B935359765B396   LUKE           SLINKERT                   OR     90011595976
B93536A945B327   BEN            PERKINS                    OR     90013016094
B935424185B396   JOHN           BARRY                      OR     44567082418
B9354821185927   TOMIKA         COLEMAN                    KY     67081588211
B935491444B574   ERIKA          AGUIRRE                    OK     90011539144
B935616235B396   SEAD           MOHAMED ABDULLAHI          OR     90012991623
B935642465B327   MARISOL        MIRANDA                    OR     90004964246
B935717292B857   BILLIE         HENSLEY                    ID     90011641729
B935754672B271   TYRONE         CLAYTONE                   VA     90009545467
B9357662593727   JEFFREY        CAUDILL                    OH     90014476625
B935786127B489   LASONIO        THOMPSON                   NC     11038928612
B935833855B396   JEFF           BENNETT                    HI     44579433385
B9358A2A231665   JOHN           MATTHEWS                   KS     90007780202
B9359468172B69   CAROL          SHARPE                     CO     90005614681
B9359665672B27   MARTIN         MANCHA                     CO     33012026656
B935B779772B69   LORRIANE       ARMIJO                     CO     33001157797
B9361239A72B69   OBED           JIRON                      CO     33098892390
B936153924B259   DANYELLE       LEAR                       NE     90002865392
B93619A3655953   JESS           SANDOVAL                   CA     90013089036
B9361A94255959   PASCUAL        ARIAS                      CA     90002860942
B9362127993727   AMY            HERRON                     OH     64576381279
B9362174555953   MIRIAM         NAVA                       CA     90008741745
B93621A4472B69   LORETTA        ATLER                      CO     90005701044
B9362517676B52   JACOB          ALDAMA                     CA     90014625176
B9363351585927   LINDA          DREUX                      KY     90005013515
B936387718B168   MICHELE        ORENO                      UT     90012038771
B936418873363B   JASON          WATERS                     NC     90014511887
B9364943455953   EDDIE          GUTIERREZ                  CA     90014699434
B936526839712B   SARA           TINDELL                    OR     90005992683
B936531A555953   BRANDIE        HANKEY                     CA     90014743105
B936547314B259   SHAMSO         MAYOW                      NE     90014894731
B9365951855953   JOSE           RAMIREZ                    CA     90014699518
B936633415B327   VALERIA        MOON                       OR     44550573341
B936652342B857   SHERRALYN      CAYLOR                     ID     90010475234
B936748955B396   RAMIRO         CORTES-ORTIZ               CA     90014824895
B93679AA32B857   ANDREW         BENTLEY                    ID     90007039003
B9368745172B62   KYLEE          BARTA                      CO     90004927451
B9369235393752   ROBIN          CHINN                      OH     64584972353
B9369521731639   MEYER          CRAIG                      KS     22035325217
B9369925661825   ALFONO         SHABAZZ                    MO     90006899256
B936B2A6255959   KATRINA        MIRELES                    CA     90006752062
B9371859A7B489   ZENAIDA        ROJAS                      NC     11096598590
B9371A3863B355   SHERRI         NESS                       CO     33052560386
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2277 of 2350


B9371A6A555953   CAROLYN      ZIERK                        CA     48008010605
B9373495372B69   DEBBIE       MUSIC                        CO     33016434953
B9373A68736122   STARR        SAVOY                        TX     90014010687
B937442414B259   ADAM         PARKER                       NE     27076594241
B937523985B327   WILLIAM      PECK                         OR     44590172398
B93768AA576B52   RANDI        MICHAEL                      CA     46050788005
B937752375B327   MIGUEL       QUINO                        OR     44510795237
B9379A14955953   DANIEL       MORALES                      CA     90014710149
B937B169336122   AMBER        HEIBEL                       TX     73528741693
B937B583793758   RITA         CONLEY                       OH     90013855837
B938112712B857   JENNIFER     TENEYCK                      ID     42089691271
B9381454884327   JAMELLA      HEYWARD                      SC     90010634548
B9382379551356   LAURA        GLOVER                       OH     66020243795
B9382428776B52   NANCY        MARTINEZ                     CA     46060224287
B9382759243236   JACINDA      FADELA                       TX     90015527592
B9382827272B62   WARSAME      SUSOW-ADOW                   CO     90012728272
B938283877B489   CATHERINE    LOPEZ                        NC     90009398387
B9382959555953   ALICIA       GRIJALVA                     CA     90013459595
B9382966261945   RAFAEL       PURECO                       CA     90010579662
B938313332B945   JUILANA      JASSO                        CA     90013801333
B9383227A93752   CIERRA       BEAN                         OH     64583002270
B938344283363B   IVAN         ANGULO                       NC     90015184428
B9383526985927   MICHAEL      HOLLOMAN                     KY     67004835269
B9384242A91582   BEATRIZ      CONSUELO                     TX     90001062420
B93842A3455959   TERESA       LUGO                         CA     90011862034
B9384551A81635   NATASHA      BOLANOS                      MO     90008455510
B9385758855959   YOLANDA      ESTRADA                      CA     90013987588
B938595A972B62   TRACY        PHILLIPS                     CO     90012299509
B9386239A36122   SHIRLEY      TEMPIE                       TX     90010332390
B9386664272B69   EDY          FELIX                        CO     33076766642
B9386A96276B52   GABRIELA     BAILON                       CA     90012950962
B9387167154179   MELISSA      DEN-HOLLANDER                OR     90006341671
B9387215691579   WILLIAM      BROWN                        TX     90008522156
B9387A9245B396   SARA         DESMARISS                    OR     90015270924
B9388165455953   JANET        MARTINEZ                     CA     90014691654
B938995397B479   RODOLFO      GOMEZ                        NC     90012029539
B9389A87355959   ALICIA       GUERRERO                     CA     90015190873
B938B721876B52   SIMPLICIA    MACEDO                       CA     90007737218
B9391317572B69   MARIA        JOAQUIN JOAQUIN              CO     90014203175
B9392189155953   AJ           HERNANDEZ                    CA     90014721891
B939298153363B   SCOTT        FULK                         NC     90015169815
B939298842B271   CLIFFORD     FOWLER                       DC     90014479884
B9392AAA75B327   COURTNEY     BROWN                        OR     90014410007
B9393122493727   MICHELLE     BEAN                         OH     90011751224
B939326193363B   LAUREANO     JUAREZ                       NC     90015172619
B9394222955953   ERIHA        BELTRAN                      CA     90014722229
B9394356372B69   MARIBEL      ORTIZ                        CO     90013173563
B9394683A2B271   JOSE         SARAVIA                      DC     81042776830
B9395456676B52   JOSE         MARTINEZ                     CA     90013964566
B9396778172B62   JANET        PAINTIN                      CO     33074307781
B9396866847927   LILIANA      GATES                        AR     90014728668
B9396A1A82B271   KENNEDY      MOLDER                       DC     90008720108
B9396A4745B396   CASEY        RICHMIRE                     OR     90012430474
B939714262B271   DAVID        STITH                        DC     90011031426
B9397231551325   NATE         AGNEW                        OH     90003682315
B939776763363B   BONNELL      SHERF                        NC     90015177676
B9397997936122   ESPERANZA    HERNANDEZ                    TX     90011329979
B939846922B22B   ANTWANNE     JOHNSON                      DC     90011854692
B9399238676B52   ERIKA        OLVERA                       CA     90013862386
B939944933363B   IVAN         ANGULO                       NC     90015184493
B9399A54355953   IDELFONSO    GOMEZ                        CA     90013150543
B939B39522B271   PAYGO        IVR ACTIVATION               DC     90010163952
B93B112285B562   TIFFANY      REID                         NM     90009011228
B93B1137976B52   WENDY        WALESKA                      CA     90012691379
B93B1171A31639   ANGIE        WILLIAMS                     KS     90003461710
B93B1347A55953   JUANITA      MELCHOR                      CA     90014063470
B93B1363A55959   DANIEL       ORNELAS                      CA     90006193630
B93B137763363B   GRABIELA     COUTO                        NC     90015113776
B93B187995B573   RICHARDO     CASTILLO                     NM     90009858799
B93B225585B396   JOSHUA       WINSLOW                      OR     90010502558
B93B2347A55953   JUANITA      MELCHOR                      CA     90014063470
B93B242953363B   IRIS         TAPIA                        NC     90015114295
B93B2613791257   DONNA        FORKNER                      GA     90006616137
B93B2A4235B327   JONNIA       PURIFOY                      OR     90013410423
B93B329195B396   SARAH        HUEGLI                       OR     90000242919
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2278 of 2350


B93B3A18672B69   GRACE             CHAVEZ-SOTO             CO     90001530186
B93B4374433642   MATTHEW           BADGER                  NC     12044653744
B93B4517493783   SARAH             MORGAN                  OH     90007685174
B93B5226741229   TIMIKO            HAWKINS                 PA     51030812267
B93B5884224B64   KEISHA            WHITEHEAD               DC     90010698842
B93B6227436122   BRIANNA           SCULL                   TX     90012572274
B93B6A3215134B   CHRISHANDA        DEJANETTE               OH     90007330321
B93B7617A2B246   JOHN              BURNS                   MD     90011876170
B93B7A34991943   GAYNELLA          HAMLETT                 NC     17093280349
B93B8254676B52   HAYTZ             XAVIER                  CA     90009092546
B93B864132B271   DAMIAN            YOUNG                   DC     90014716413
B93B9381776B52   NANCY             BALCAZAR                CA     90009743817
B93B945362B841   ATTA              HOURI                   ID     90015364536
B93B9565A5B389   BRADLEY STEPHEN   HARDING                 OR     90003715650
B93B9587155953   JONATHON          REYNA                   CA     90014205871
B93B975455B396   MICHEAL           WOOLEY                  OR     90003797545
B93B9A1187B398   FRANCISCA         JUAREZ                  VA     90012410118
B93BBAA855B396   JERALI            BLACKMON                OR     44548820085
B941114345B544   JACQUELYN         PENNINGTON              NM     90008421434
B9411258A91574   JESSICA           AVALOS                  TX     90011662580
B9411546655953   JESUS             MONTOYA                 CA     90014735466
B9411979733647   EDUARDO           VASQUEZ                 NC     90013619797
B9412165455953   JANET             MARTINEZ                CA     90014691654
B9413133621929   JASON             RALPH                   IN     20583481336
B9413165455953   JANET             MARTINEZ                CA     90014691654
B941364764B249   JOSE              SOLORIO                 IA     90012476476
B9414151376B52   HAYLIN            ALCARAZ                 CA     90010791513
B9414328393727   ANTHONY           GRAHAM                  OH     64549733283
B9414349436122   MARK              GUITERREZ               TX     90014123494
B9414352A76B52   GILDARDO          REFUGIO                 CA     90014443520
B9414591793758   SCOTT             WEST                    OH     90006435917
B94145A755B327   MUBEEN            ALGHAFFAAR              OR     90013385075
B9414992472B62   KARLA YVETTE      OROPEZA                 CO     90013279924
B941555A476B52   SUSANA            SORIANO                 CA     90012285504
B9416439872B69   ADALBERTO         PEREZ                   CO     90012824398
B9416576155959   GLORIA            TORRES                  CA     90014745761
B9417397872B69   REBECCA           ESPINO                  CO     90014783978
B94173A7A5B396   NAKYUNG           LEE                     OR     90010503070
B9417836A24B64   RICHARD           ROJAS                   VA     81014118360
B9418328443563   ALLEN             DEDMON                  UT     90015503284
B9418329755953   CRISTAL           GUZMAN                  CA     90014693297
B9419166772465   ROBIN             KARASINSKI              PA     51015031667
B9419536A72B69   ERNESTO           CHAVEZ                  CO     33090995360
B941962872B223   BENITA            SMITH                   DC     81013986287
B9419646155953   JOSE              LIZARRAGA               CA     90014736461
B941977185B224   MARK              MITCHELL                KY     68064257718
B9419791193752   RICHARD           SHOUP                   OH     64518207911
B941B766393752   MISTY             SPENCER                 OH     64506927663
B941B98633363B   HARLEE            BALL                    NC     90015189863
B941BAA6936122   LONNIE            CUNNINGHAM              TX     90012740069
B942131A493752   KIMBERLY          KING                    OH     64507663104
B94215AA15B327   JORGE             VIGOA-BARRIOS           OR     44513285001
B942256722B271   MELISSA           HILL                    DC     90011115672
B9422774576B52   MIGUEL            PEREZ                   CA     46096567745
B9422832454173   YVONNE            ONEIL                   OR     90014558324
B9422858955953   JULIO             BARAJAS                 CA     48061868589
B9422A3175B358   SARAH             SMALLING                OR     90010390317
B942314393363B   CHINA             ENRIQUEZ                NC     90013971439
B942386942342B   ANTWAIN           VINSON                  OH     90014228694
B942411514B259   CHUCK             HACKSHAW                NE     27064111151
B942417AA76B52   NOELLE            DANGELO                 CA     90014201700
B9424479655927   ALEJANDRO         PEREZ                   CA     90007714796
B9424674755953   DAVID             NUNES                   CA     90014736747
B9425161A61945   PAULINA           JUAREZ                  CA     90012631610
B9425387572B62   RENA              GALVAN                  CO     33087133875
B9425424331428   QUIANA            NICHOLS                 MO     90001454243
B942734612B857   MUKULI            SARKI                   ID     90011643461
B9427836455972   CINTHIA           SERVIN                  CA     90007028364
B9427997636122   BRENDA            RODRIGUEZ               TX     73592069976
B9428121372B62   MELISSA           MUNOZ                   CO     90004981213
B9428614A4B259   DEVAN             MENDENHALL              NE     90011956140
B9428719655953   MARGARET          VELASQUEZ               CA     90014737196
B942892395B327   CHRISTOPHER       HALL                    OR     90014179239
B9429153A2B271   ANTHONY           SMITH                   DC     90013051530
B9429169172B62   WAYNE             EMERICH                 CO     33054911691
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2279 of 2350


B9429182436B45   RONNIE        BENOLOGA                    OR     90008581824
B942936257B489   TONJA         WILSONDREW                  NC     11052433625
B9429719655953   MARGARET      VELASQUEZ                   CA     90014737196
B942B166772465   ROBIN         KARASINSKI                  PA     51015031667
B942B389255953   MAETYCIE      JONES                       CA     48047843892
B942B838672B62   ERICK         HART                        CO     33080198386
B942B92788B131   TERRY         LARRSEN                     UT     90008969278
B943124218B141   TONYA         STRONG                      UT     31040902421
B943128425B396   DWIGHT        MERRYWEATHER                OR     90012082842
B9433183941937   BILLY         HUFFAKER                    OH     90014291839
B9433217472B69   GRISELDA      MUNOZ                       CO     90008542174
B9433429436B98   TRAVIS        STEWART                     OR     90007634294
B9433738455953   DIANA         AMBRIZ                      CA     90014737384
B943426925B327   GERARDO       HERNANDEZ AGUILERA          OR     90010442692
B9435923193752   STEPHAINE     HARVEY                      OH     64503489231
B9436596872B69   JODIE TRINI   MADRID                      CO     90013255968
B9437A5522B271   QADRY         HARRIS                      DC     90013840552
B9438346155953   MISAEL        ORNELAS                     CA     90014633461
B9438391593752   KENNETH       CARGLE                      OH     90011883915
B943885638B237   JERRON        APPLETON                    VT     90015548563
B9439234955953   JOSE          MELENDEZ                    CA     90013862349
B943B4A478B154   KIMERLEE      SUNDWALL                    UT     90006284047
B943B4A5772B69   SANDRA        RIVERA                      CO     90003584057
B943B716193727   FRANCINA      CARR                        OH     90005907161
B943B732955953   LETICIA       CHRISTIE                    CA     90014737329
B943B985172B62   DIANA         WERSEN                      CO     33063219851
B943BA6225B327   ERICK         PATRICK                     OR     90009860622
B9441491272B62   SANDRA        PALACIOS                    CO     90012214912
B944183264B259   ROSE          SLODERBECK                  NE     27032458326
B944192715B396   ROSEANN       SIMONTON                    OR     90014449271
B9441A68455953   ITELA         MAYORAL                     CA     90013860684
B9442224572B62   JULIET        CURRINGTON                  CO     33098862245
B9442789372B22   JESSICA       SANCHEZ                     CO     90009557893
B944327994B259   LORI          KRESS                       NE     90004402799
B9443455855953   ALFONSO       RAMIREZ                     CA     90014754558
B9443A38A55959   RANFERI       REYNOSA                     CA     90012380380
B944421215B327   TERIESA       JEWKES                      OR     90007872121
B9444438193727   BRIAN         MOON                        OH     64506854381
B9444457655959   ROMINA        GARZA                       CA     48067954576
B944452245B382   MOHAMED       AHMED                       OR     90005555224
B944462717B489   CHRISTOPHE    OGDEN                       NC     90000556271
B944473495B327   JUAN          MONTERO RAMIREZ             OR     44523907349
B944529A72B271   JUANITA       MASON                       DC     90012442907
B9445388876B52   JOSE          MATA                        CA     46093433888
B944543464B259   CHARLES       FEAHERTY                    NE     90002534346
B9446883193758   ZACHARY       CANTRELL                    OH     90000258831
B9447248772B62   CHAVEZ        RAUL                        CO     90007842487
B9447869785927   ROSALINDA     ROSALES                     KY     90007278697
B9448455493758   JACKIE        MCGREW                      OH     64500864554
B9448531276B67   JIMMY         PHUNKEH                     CA     90010375312
B944875162B244   CYBTHIA       GREEN                       DC     90009117516
B9448A14836122   ASHA          HARGROVE                    TX     90014600148
B9449558A31688   ROSALIE       DEAN                        KS     90010635580
B9449872855953   ETHAN         CAMACHO                     CA     90014748728
B944B329993758   GREGORY       KIRK                        OH     90012693299
B944B945972465   KATHRYN       SCHWARTZ                    PA     51040779459
B945194419712B   ROBERT        KIMSEY                      OR     90005999441
B9452777681673   EMILY         EVERETT                     MO     90009717776
B945291137B489   DARIUS        CLUP                        NC     90006699113
B945319354B259   TINA          CRAWFORD                    NE     90010091935
B9453356A5B396   JOSEPHINE     WILCOTT                     OR     90014843560
B9453639455959   MARIO         TORRES                      CA     90015366394
B9453897A4B259   MOSELY        MBOWA                       NE     27010938970
B945427A23363B   MARISOL       PELAEZ                      NC     90013902702
B9454474736122   ORLANDO       RODRIGUEZ                   TX     73517404747
B9454771772B69   MARTIN        ORTEGA                      CO     33082487717
B9454791231639   SHAWN         BRADLEY                     KS     90005187912
B9456565293727   TODD          KESSLER                     OH     90013605652
B9456675872B62   ROY           COX                         CO     90010786758
B945689454B272   AMANDA        MATZ                        NE     90012778945
B9457198A5B396   DONTA         YOUNG                       OR     90013861980
B94576A1476B52   ARTURO        VILLEGAS                    CA     46054656014
B9457947272B29   LOPEZ         NICO                        CO     90001139472
B945844525B327   ANDRES        MARTINEZ CAMPOS             OR     44564854452
B9458969355953   GIOVANNY      ANDRADE                     CA     90014749693
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2280 of 2350


B9459347993727   BRYAN            HEISTE                   OH     90005933479
B9459423672B69   JOSE             GONZALEZ CHAVEZ          CO     90012744236
B9459A14436122   HOLLY            MATHENY                  TX     90014770144
B945B34597B489   GAIL             THOMPSON                 NC     90004003459
B945B58255B327   MOHAMED          ALABDALAALI              OR     90010335825
B945B818987B53   RICE NICKELL     FOUNTAIN                 AR     90014718189
B945B96914B259   JESSICA          PICHLER                  NE     90012139691
B946137955B396   JOSHUA           DEWBERRY                 OR     90014753795
B9461664555972   NESTOR           ESTRADA                  CA     90009226645
B946241733363B   OFELIA           RIVERA                   NC     90015214173
B9462599393758   ASHLEY           VAN WINKLE               OH     64586585993
B94632A832B838   ANGELIQU         STONE                    ID     90014242083
B9463359161945   SANDRA           PENA                     CA     46089263591
B9463448836122   JESSICA          FONSECA                  TX     90009354488
B9463824772B62   DELORIS          SALAZAR                  CO     90010458247
B9463918261925   WESLEY           JACKSON                  CA     90012599182
B946463182B271   SHEILA           FRAZIER                  DC     90009476318
B946465749712B   AMANDA           ARMSTRONG                OR     90009076574
B94647A4572B69   ANGEL            TRUJILLO                 CO     33035757045
B946524A25B396   JOSEPH           WALTERS                  OR     90012792402
B9465A61997134   CINDY            ADAMS                    OR     90007830619
B9466335655953   EUGENE ANTHONY   BELLO JR                 CA     90014763356
B946643126192B   JOHN             THOMPSON                 CA     90006524312
B9466697491976   LATONIA          BRASWELL                 NC     90014316974
B94667A9855959   CAROLINA         GUTIERREZ                CA     48068607098
B9467663872B62   RAELEEN          AGUIRRE                  CO     90014816638
B946927572B842   BRITTANY         DENNIS                   ID     90014332757
B9469386A76B52   SERGIO           CEDILLO                  CA     90014753860
B9469557393727   DUANE            HUTCHINSON               OH     90013365573
B9469743872B69   SUE              SCALLORN                 CO     33009547438
B946B185593758   RYAN             MYERS                    OH     64577611855
B946B691841235   DIANA            DONAHUE                  PA     90001776918
B946BA76855959   BRENDA           ROSALES                  CA     90010420768
B947117165B327   MAGDALENO        ORTIZ                    OR     90011341716
B9471578955953   MICHELLE         YORK                     CA     90013495789
B9471629876B52   MARCELINA        VARGAS                   CA     90014836298
B9472A55193758   BAILEY           PATTON                   OH     64551630551
B9473381576B52   JUSTINA          MYERS                    CA     90012503815
B947359515B396   CHELSEA          MADRIGAL                 OR     90015125951
B947397AA24B55   AURELIA          CARR-OLVERSON            VA     81021929700
B9475439451577   CHARLES          GRAZIER                  IA     90015304394
B9476363285936   DANA             BEDEL                    KY     66000443632
B94764A5293758   MICHELLE         JACKSON                  OH     90007454052
B9476634636122   LUKE             ALVAREZ                  TX     90014996346
B94767A8161945   JUDITH           MITCHELL                 CA     46089267081
B9477363285936   DANA             BEDEL                    KY     66000443632
B9477724585927   FIDENCIO         CASTILLO                 KY     90012947245
B9478177955959   MARIA            ANDRADE                  CA     90005791779
B94783AA22B271   HERMAN           MORRIS                   DC     81010443002
B9478761136B98   TINA             GUTZ                     OR     44556477611
B9478837A4B259   ANGELICA         HERNANDEZ                NE     27082328370
B947936834B257   SHAWN            BARBER                   NE     90007683683
B9479563955953   SONIA            COBARRUBIAS              CA     90014765639
B94795A1993727   JOANN            MILEO                    OH     64501725019
B947968A672B69   EMILY            MEHRING                  CO     90014816806
B947968AA5B327   ALMA DELIA       SILVA MONCADA            OR     90007226800
B9479A73261433   GUSTAV           MILLER                   OH     90013900732
B947B22425B327   NAJM             MAHDI                    OR     44598802242
B947B834255959   EDUARDO          HERNANDEZ                CA     90007728342
B948116143163B   JENNIFER         COOPER                   KS     90007671614
B9481346172B69   ORNELAS          MENDOZA                  CO     33011673461
B9481439193758   CHRISTINA        SMITH                    OH     90015114391
B9481487831688   ALVARO           FRANCO                   KS     22021804878
B948171772B857   JOE              VOLM                     ID     42037507177
B9481952655959   FREDY            GONZALEZ                 CA     90010299526
B9482551736122   JORGE            ESCOBEDO                 TX     90003705517
B9482899172B69   DARLA            PELAYO                   CO     33090328991
B948328767B489   MICHAEL          ROSS                     NC     90005272876
B9483289993727   CHRISTOFFER      EVANS                    OH     90014872899
B948399825B327   MELENY           ANDON                    OR     90014839982
B948542837B489   FREDI            REDI                     NC     90005114283
B94857AA455959   ROBERT           CASTILLO                 CA     90001947004
B948582712B857   RICHELLE         FLORES                   ID     42097058271
B9485953855953   CHRISTOPHER      HART                     CA     90012769538
B9486693436122   JASON            MEDELLIN                 TX     90014846934
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2281 of 2350


B9487572A5B396   JOSH         WORKMAN                      OR     90003735720
B9487739872B62   ARACELI      RENTERIA                     CO     90002307398
B9487786931478   KENA         MCKINNEY                     MO     90010937869
B948782442B271   JERRELL      GAITHER                      DC     90015108244
B94882A9293758   KALIN        ANDERSON                     OH     90009532092
B94884A5A72B69   JOSHUA       GITZEN                       CO     90013664050
B9488A32355959   FATIMA       VILLA                        CA     90014890323
B9489A7A35B327   JOSE         LUNA ARCOS                   OR     90008100703
B948B257291573   YAJAIRA      POLANCO                      TX     90011012572
B948B37A236B98   KIM          GATTEN                       OR     90010163702
B948B57A155953   MARIA        SANCHES DE SAAVERDA          CA     90014765701
B949129585B241   ELYSE        SMITH                        KY     90013962958
B94917A8372B48   VANESSA      SANDOVAL                     CO     90013097083
B949185224B259   TINA         JONES                        NE     90014658522
B9491A19672B69   KAYLA        BERMUDEZ                     CO     90005250196
B9492338472465   TONYA        JOHNSTON                     PA     51042643384
B94928A944B259   FRANCISCO    CUA                          NE     90014658094
B9493492393727   HEAVEN       WELLS                        OH     90013204923
B949445133363B   JAQUITA      WATSON                       NC     90015254513
B949619A64B259   JOSE LUIS    JAUREGUI                     NE     27066331906
B9496287772B62   HAKEEN       ABDULHAFIZ                   CO     90004432877
B9496517155953   MARIA        RAMIREZ                      CA     90009815171
B949834794B259   LEONORA      MIRANDA                      IA     90014383479
B9499362355953   EMILIO       GARCIA                       CA     90011313623
B949981744B259   ELIZABETH    HOLMES                       NE     90014658174
B949B56A23B335   HOLLY        CARY                         CO     33015965602
B94B142334B273   LAURIE       MOTHERSHED                   NE     90005464233
B94B167A893758   MELISSA      LEWIS                        OH     90014596708
B94B4168431688   ROTONDA      JOHNSON                      KS     22040801684
B94B4465836122   BROOK        RANGEL                       TX     90011084658
B94B4691791549   ALEXIS       RUIZ                         TX     90007106917
B94B4782872B69   CRYSTAL      GERBER                       CO     33010087828
B94B484A42B271   FLOYD        LITTLE SR                    DC     90014538404
B94B5333533646   DOUGLAS      CLINE                        NC     90014563335
B94B5833536B97   NARCISO      TEPEC                        WA     90015508335
B94B585664B259   SHELLY       MARSOLEK                     NE     27014148566
B94B6252693727   ASHLEY       TURNER                       OH     90013532526
B94B654A455959   JOSE         GASCA                        CA     90007375404
B94B6595593752   WILLIAM      ABNER                        OH     90014435955
B94B65A512342B   SUSAN        MARIE                        OH     90014135051
B94B661154B259   ABDULKADIR   ABDALLE                      NE     27054056115
B94B676A93363B   LATOYA       MILLER                       NC     90015197609
B94B722A572B69   HUGO         SANCHEZ                      CO     33062042205
B94B749215B396   WILLIAM      FOSTER                       OR     44535324921
B94B8254636122   LUIS         MACIAS                       TX     90014692546
B94B835A34B259   ERIK         SANCHEZ                      NE     27050513503
B94B8466891323   TEQUILA      JORDAN                       KS     90011144668
B94B922A972B62   ARTURO       GUZMAN                       CO     90007842209
B94B963812B857   ARJUN        DULAL                        ID     42058816381
B94B9757155959   TERESA       CABRERA                      CA     90007687571
B94B9896493758   BARBARA      HUDSON                       OH     64534638964
B94BB18265B396   ROBERT       BEACH                        OR     90013861826
B94BB237855953   JOHNNY       RIVAS                        CA     90014732378
B94BB89165B327   GUSTAVO      NAVARRO                      OR     90009978916
B94BBA3935B327   RACHEL       HANCOCK                      OR     90005240393
B9511583855953   LUIS         GONZALES                     CA     90014775838
B95116A2831433   LAQUITA      EGGLESTON                    MO     90010066028
B951199428B131   HELEN        FERIANTE                     UT     31075649942
B9511997636122   BRENDA       RODRIGUEZ                    TX     73592069976
B951236257B489   LAURA        SEWELL                       NC     11031743625
B951257592B857   DALORES      MARTINEZ                     ID     42020405759
B951279425B396   KARAN        HOBSON                       OR     90001277942
B951299455B327   DARRELL      BERRY                        OR     44516179945
B951392385B327   SADYE        OZUNA                        OR     90011079238
B9514257272B69   JANNET       PERCHEZ                      CO     90011232572
B9514335124B28   RAQUEL       PACHECO                      VA     90012373351
B951448155B396   REBECCA      HERNANDEZ                    OR     90012354815
B951586972B857   LUKE         BAKER                        ID     90013238697
B95158A9376B52   MARISA       REBER                        CA     90014918093
B9515A34A5B255   SHARLENE     LUTZ                         KY     90005650340
B9515A54155959   WILFRANO     CARRANZA                     CA     90012840541
B95167A8855972   JUANITA      REYNOSA                      CA     90004127088
B9517A33A31688   EMALEIGH     FARLOW                       KS     90011530330
B9519196455959   BERNARDINO   CASIANO CRUZ                 CA     90014131964
B9519586992871   VICTORIA     HALE                         AZ     90015365869
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2282 of 2350


B9519AA5976B52   CYNTHIA           MILLER                  CA     90012590059
B95213A345B396   MARIA             HERNANDEZ               OR     90014943034
B952166345B548   RICHARD           BACA                    NM     90008406634
B952218A32B239   RANA              BUTLER                  DC     90001301803
B9522415892871   KATIE             HANSON                  AZ     90014094158
B9522522451356   TAHNIA            BUTLER                  OH     90011435224
B9522594655953   VICTORIA          RODRIGUEZ               CA     90013415946
B9522855772B69   KRIS              GOCHANOUR               CO     33010088557
B9522912272B62   DACI              BLANCHARD               CO     90002839122
B952327712B962   MANDEEP           BATH                    CA     90011822771
B952335683363B   KATRINA           MOSLEY                  NC     90015263568
B952359525B396   JAMES             GATES                   OR     90011975952
B9523689631921   TRENT             CALDWELL                IA     90013356896
B952489395B396   LEVI              FLOYD                   OR     90013048939
B9525239255953   DANIEL            NEGRETE-GONZALEZ        CA     48038442392
B9525338536122   TERESA            PARTAIN                 TX     90012903385
B9525462184331   AUSTIN            RAMEY                   SC     90012424621
B9525819376B52   LUIS              FIGUEROA                CA     90007968193
B9527324191582   WENDY             BECERRA                 TX     90008843241
B9527639272B69   LUIS              CHAVEZ                  CO     33002536392
B952814928B38B   ROSA              GARCIA                  SC     90015341492
B952849395B327   TIA               PORTER                  OR     90014614939
B9528529136122   MATEO             GARCIA                  TX     90014695291
B95286A4155972   JIMMY             CRUZ                    CA     49032716041
B95287A6655953   SHARICKA          GLASS                   CA     90014887066
B9528A5A693775   KAREN AND STEVE   MOLDEN                  OH     90001790506
B9529A43993758   KENDRA            COOK                    OH     90009850439
B952B11632B271   DENISHA           TOYE                    DC     90012461163
B952B262355953   MIRLA             DIAZ                    CA     90014782623
B952BA65972B67   JESUS             RASCON                  CO     90007020659
B9531221497124   ARMANDO           GARCIA                  OR     90007582214
B953143A833625   VANESSA           FEMAT                   NC     90012294308
B9532132955972   ARTHUR            RAMIREZ                 CA     90007031329
B9532719241235   CARRIE            HARDESTY                PA     90013797192
B9533491572B62   IVES              KASONGA                 CO     90012344915
B9534265972B69   SILVERIO          ASTORGA RODRIGUEZ       CO     33062122659
B953444A855953   ADRIAN            SANDOVAL                CA     90014784408
B953462A65B396   KENNETH           MECHAM                  OR     90013486206
B9536214355959   JUAN              ZAPOTECO                CA     90011632143
B9536346493738   ELIZABITH         GREEN                   OH     90014303464
B9537276972B98   ARLENE            HACKINBERG              CO     90009752769
B9537387155953   VICTORIA          SANCHEZ                 CA     48001143871
B9538257272B69   JANNET            PERCHEZ                 CO     90011232572
B9538387155953   VICTORIA          SANCHEZ                 CA     48001143871
B9539387155953   VICTORIA          SANCHEZ                 CA     48001143871
B953957533363B   BRANDON           COLEMAN                 NC     90015295753
B9539584293758   SHAWN             DOUGLAS                 OH     64529095842
B953B873985927   KARINA            GUTIERREZ               KY     90002568739
B953BAA675B396   DEBRA             LEANN                   OR     90015230067
B9542735755953   ANTONIO           SUAREZ                  CA     90011347357
B954282872B264   GARY              JOHNSON                 DC     81088108287
B9543527955953   SANDRA            NEVAREZ                 CA     90014785279
B9543565993727   SANDRA            FUESTON                 OH     90013605659
B9543A93576B52   JORGE             MENDOZA                 CA     90015160935
B9544659276B52   CAREY             MOORE                   CA     46073756592
B9544795472B69   ARSENIA           HERNANDEZ               CO     90012637954
B9545423491843   AMANDA            HARRIS                  OK     90008724234
B954625915B396   ROSIE             TANNER                  OR     44511642591
B9546726393727   ASHTON            MORGAN                  OH     64509007263
B954723A82B857   FARAMARZI         FARAMARZI               ID     90000522308
B9547369172B35   DAVID             PEREZ                   CO     90010773691
B9547685693727   CHRISTOPHE        MCINTIRE                OH     64556136856
B9548648572B62   JEANEEN           YSLAS                   CO     33089896485
B95494A1136122   CYNTHIA           HARRED                  TX     90011124011
B9549621972B62   CECILIA           REYES                   CO     90014426219
B954984185B396   DILLON            ZIEMER                  OR     90001198418
B954B4A9893727   DUSTIN            SMITH                   OH     90009984098
B954B721A5B327   JOSE              MEJIA RAMIREZ           OR     44513697210
B954BA62172B69   VANIA             ILGEN                   CO     90004730621
B9551284A5B327   MARK              SLY                     OR     90010442840
B9551336276B52   ARIANA            CONTRERAS               CA     90013913362
B955163942B271   GEREL             WESS                    DC     90009806394
B955165A972B69   RANCE             MASSEY                  CO     33049076509
B955168912B828   MUSIE             MEBRAHTU                ID     90012276891
B9552882A3363B   PABLO JOEL        PEREZ CANDELA           NC     90014158820
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2283 of 2350


B9552A3522B234   DEBORAH         BROWN                     DC     81010910352
B9552A53291836   PHYLLIS         THURSTON                  OK     90010570532
B9553338A9712B   MICHAEL         JOHNSON                   OR     90011393380
B9553477A61825   MELISSA         DIEMER                    MO     90003074770
B9554311776B52   RAMON           LOPEZ                     CA     90000513117
B95545A4472B69   HERMELINDA      ALFARO DE GALINA          CO     90011865044
B955485484B259   CHRISTINE       CARRANZA                  NE     90014658548
B9554A2595B327   CHRISTIAN       STRAMIELLO                OR     90012280259
B9555642A55959   BRAD            ARNSBERGER                CA     90012276420
B9555884A5B327   AZUCENA         GONZALEZ                  OR     90015138840
B955616195B396   AUDREA          NORDSTROM                 OR     90011591619
B9557361672B69   TIMOTHY         WADLEY                    CO     33092023616
B9557546493727   MELISSA         DICKEY                    OH     64580665464
B9557783576B52   MARIA           URIBE                     CA     90010487835
B9557A9245B396   RACHEL          POOT                      OR     44574250924
B9558457471929   ALAN            SHAVER                    CO     32000304574
B9558623372465   JENNY           MORRISON                  PA     51020776233
B9558849372B62   CRYSTAL         RODRIGUEZ                 CO     90012728493
B955914985B396   NICOLE          OOTEN                     OR     90015161498
B955933A193758   TAYLOR          SHOCKEY                   OH     90014943301
B9559A2125B327   RUDY            ROJAS                     OR     90012640212
B955B58989712B   JUANA           ESPINOZA RODRIGUEZ        OR     90006005898
B955B627972B62   THERESE         BRIDGES                   CO     90010346279
B955B746336122   MARA            NAVA                      TX     90008127463
B955B811255953   GILBERT         MALDONADO                 CA     48096618112
B956137134B269   ROSE            WHITCOMB                  NE     90011253713
B9561596955953   DOROTHY         KOSTIELNEY                CA     90014275969
B9561642972B69   MADELINE        ZUNIGA                    CO     90013656429
B9561695A5B224   NATIVIDAD       CRUZ GARCIA               KY     90012086950
B956219522B271   REYNA           PERAZ                     VA     81000861952
B9562837555959   JOSE LUIS       MARTINEZ                  CA     90015208375
B95631A6A91836   MARY            OSBORN                    OK     90014291060
B9563322955953   ALISON          RAMIREZ                   CA     90012413229
B9563478755959   LUZ             ROSALES                   CA     90005484787
B95639A285B327   RONY JAVIER     REYES CASTELLANOS         OR     90012999028
B9563A27531639   STEVEN          ROHR                      KS     22054850275
B9564673161945   JENNIFER        BURKE                     CA     46011896731
B9564779193758   MARIAH          MORRIS                    OH     90014107791
B9565294672B69   RHONDA          HASSENFORTER              CO     33015262946
B95654A449712B   LOUIS           MCCLENDON                 OR     90012874044
B9565631272B62   JESSICA         KARR                      CO     90007496312
B9566272476B52   RYAN            KNUTH                     CA     90014272724
B956718A95B348   MARIA           RANGEL                    OR     90006161809
B9567313A76B52   RAMON           MATUTE                    CA     90002053130
B956742417B489   MARTHA          BEISER                    NC     11082844241
B9568696955953   MARILINDA       LUNA                      CA     90010106969
B9568871A55959   PATRICIO        MELCHOR                   CA     90014678710
B9569985193758   RENIQUIA        HUGHES                    OH     90011129851
B956B848555953   JOSE            ZENDEJAS                  CA     90012468485
B9571198976B67   ANDREA          VILLICANA                 CA     90002181989
B9572222261941   GEORGE          ALBRAIRA                  CA     90010632222
B9572412A3363B   BRADLEY         STEVEN                    NC     90015324120
B9572514731688   LEE             JUDKINS                   KS     22059935147
B9572578A8B131   ALSSANIE        GAERTNER                  UT     90013265780
B957313A755993   SANDRA          DIAZ                      CA     49008811307
B9573265872B69   APRIL           ZUNIGA                    CO     90012752658
B9573472171921   CHRISTINA       KING                      CO     90014364721
B9573898A93758   PEGGY           CAGG                      OH     90006998980
B9573964A55953   STEVE           LUNA                      CA     90014779640
B9574131793727   BILLY           CAMERON                   OH     90011711317
B9574839A72B69   MARIA           GODINES                   CO     90014498390
B9575472772B69   JOSHUA ARTHUR   WHITE                     CO     90012174727
B957554294B259   OMAR            ANTUNEZ                   NE     90011135429
B9575972885927   LISA            STEVENS                   KY     67005429728
B9576354A84364   SHONDRA         ELLIS                     SC     90006793540
B9576778693727   RYAN            DUNN                      OH     90014567786
B9577443272B69   MARTIN          CEDILLO                   CO     90012744432
B9577491155953   FAVIAN          ESTRADA                   CA     90014874911
B9577543491582   EDGAR           GARCIA                    TX     90010015434
B957836314B259   FREDDY          HARRIS                    NE     90007203631
B9579389A5B327   DANA            BIEL                      OR     90010003890
B9579433755959   JOSE            PENA                      CA     90013234337
B957B19555B327   LANISE          GRIFFIN                   OR     90000511955
B957B775672B69   ZACHARY         RICE                      CO     90012767756
B957BA99A91524   FERNANDO        AVITIA                    TX     90005020990
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2284 of 2350


B9581212176B52   ALICIA                 SALAS              CA     90015122121
B9581255236122   YVONNE                 ROJAS              TX     90006992552
B9582399372B62   JESSE                  GONZALES           CO     33047363993
B958541765B396   MARIA DE LOS ANGELES   LOPEZ-PRECIADO     OR     90013714176
B9585615A93727   ELVITA                 HARRIS             OH     64500576150
B9585616272457   JOANIE                 LOWRY              PA     90008926162
B958768A555953   LUZ                    LOMELI             CA     90014876805
B9587751491257   JAMES                  KELLOGG            GA     90012157514
B9587869772B62   VENDETTA               FERGUSON           CO     33005408697
B9587951293727   CHRIS                  TAYLOR             OH     90013889512
B9587A9AA72B67   SAIDA                  AGUIRRE            CO     90006290900
B958833293B381   MARK                   THOMSEN            CO     33004653329
B958845362B828   ATTA                   HOURI              ID     90015364536
B958856152B828   ATTA                   HOURI              ID     90012295615
B95887AA755959   ERIKA                  GASTILLO           CA     90005487007
B958B36AA76B52   MAYRA                  LARRANAGA          CA     46065823600
B959128154B259   DANIEL                 SMITH              NE     27050032815
B959128467B657   SHANNA                 WILLIAMS           GA     90008802846
B9591373772B69   BETINA                 GALINDO            CO     90009743737
B9592A27531639   STEVEN                 ROHR               KS     22054850275
B959415615B327   JIM                    FIELDS             OR     44504921561
B959464314B259   THERESA                MCNICHOLS          NE     27082086431
B9594AA797B489   EDDIE                  DAVIS              NC     11005500079
B9595285985927   STEPHANIE              CHANDLER           KY     67090252859
B9595332693758   LETETIA                PARKS              OH     90014463326
B9595898655972   R LLAMAS               MOTA               CA     90008158986
B959592614B259   RONITA                 MURRAY             NE     27092049261
B9595984A2B838   JONATHAN               TESSNEAR           ID     90014309840
B95959A3455953   VALERIE                SANTIAGO           CA     90014879034
B9595A6772B271   PETER                  WILSON             DC     81077240677
B95972AA472B69   RALPH                  FRANKLIN           CO     90010482004
B95976A145B327   JESSICA                LOURINE            OR     90006086014
B9597792993758   DAVID                  MADDEN             OH     90006047929
B95985A3472B62   IVETTE                 CHAVARRIA          CO     90002065034
B959898964B259   PHILLIP                ELLIS              NE     27069709896
B95991A547B489   BRIDGET                GILLIAM            NC     11066291054
B9599668693758   NUNU                   SINS               OH     90010846686
B959991888162B   ROSALYN                ARRINGTON          MO     29079739188
B9599AA3A55959   MARIA                  FUENTES            CA     90004000030
B959B139531639   KARIN                  ENGSTROM           KS     90002081395
B959B7A7624B64   CORNELLE               BUTLER             DC     90013597076
B959BA5915B396   ALISA                  JONES              OR     90013950591
B959BA78872B69   GEME                   SANDOVAL           CO     33012310788
B95B1523336B98   CRYSTAL                HORALE             WA     90005855233
B95B1941355959   REBECCA                MARTINEZ           CA     48068809413
B95B2457555953   SANDRA                 ORTEGA             CA     48034034575
B95B2A56276B52   DERUYTER               ELIJAH             CA     90003370562
B95B321554B296   COMMADORE              PERKINS            NE     90003082155
B95B336339712B   ABE                    FOFANAH            OR     90006003633
B95B3835A41229   SARAH                  HOETZLEIN          PA     51047978350
B95B3943393758   SARA                   GEORGE             OH     90010849433
B95B4132976B42   ELIZABETH              HERNANDEZ          CA     90007851329
B95B5853272B69   TAGEN                  EASTBURN           CO     33054888532
B95B6485285927   PRAKASH                MAGAR              KY     90006424852
B95B733295593B   CHEYENNE               PACE               CA     90012033329
B95B7355A4B299   JAMISON                ALFORD             NE     90014873550
B95B7554454134   CAMERON                REITES             OR     90015045544
B95B7723A93758   TAMMY                  FERGUSON           OH     64528977230
B95B8656572B69   JOSE                   MORALES            CO     90011566565
B95B9659293783   SUSAN                  SCHAEFFER          OH     90013376592
B95B9731A76B52   GRISELDA               MELGOZA            CA     46083057310
B9612162955959   OCTAVIO                PEREGRINO          CA     90006811629
B9612234893758   LINDSAY                JUSAKE             OH     64511812348
B961318844B259   MESHAH                 MARKS              NE     90013371884
B9613563955953   SONIA                  COBARRUBIAS        CA     90014765639
B9614126736122   YVONNE                 CARDENAS           TX     90009971267
B9614446172465   PAT                    GALLAGHER          PA     51050614461
B9614476755959   DAVID                  ARRUTIA            CA     48016334767
B961498782B24B   SHEENA                 BROWN              DC     90000909878
B961543A941235   NOELLE                 CERRO              PA     90002034309
B9615653391549   RODDAM                 JUSTIN             TX     75075396533
B9615A73436122   CRISTINA               PUENTE             TX     90007740734
B9616519936122   ROSE                   PARTIDA            TX     73579725199
B9616855655953   SYLVIA                 RAMERIZ-SOLIZ      CA     90004548556
B9616A35A5B396   WILLIAM                CLAYTON            OR     90012430350
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2285 of 2350


B961792925B327   ANRENE       LINDSAY                      OR     90009349292
B961847185B534   JOSE         ORTIZ                        NM     90007894718
B961885A772B62   REBEKAH      BOSWELL                      CO     33073278507
B9619217455953   JESUS        PONCE                        CA     90014882174
B961957272B857   SCOTT        WARNER                       ID     42011665727
B9619574824B38   TANIA        SAMPERIO                     VA     81011015748
B961B166855953   ANGELICA     TERAN                        CA     90014881668
B961B33A25B396   JOSE         MARTINEZ                     OR     90014803302
B961B794672B62   LISA         MELVIN                       CO     33092427946
B9621235155959   TERESA       ALVAREZ                      CA     48073402351
B9621384591872   SHAWANNA     HAMPTON                      OK     90008503845
B962142194B259   ORACIO       MEJIA                        NE     90014694219
B962168497B428   HEATHER      HANSON                       NC     90013816849
B9622A2662B271   LARRY        GREEN                        DC     90012880266
B9622A72231452   SHASTA       GRAY                         MO     90011410722
B9623236676B52   FRANCISCO    CRESENCIO                    CA     90005102366
B962337297B433   RUDY         MENDOZA                      NC     90014893729
B9623552571964   PHILLIS      WAGANER                      CO     90001295525
B962374425B396   JOSUE        CASTRO                       OR     90001627442
B9623791755959   RICARDO      VIVEROS                      CA     48071427917
B962379A193758   BRITTANY     PRATHER                      OH     64543807901
B9624179972B69   ZULU         LOVE                         CO     90005971799
B9624974991554   PEGGY        BELTRAN                      TX     90010779749
B9625467693727   JESSE        JONES                        OH     90007664676
B9625781755953   YESICA       GONZLEZ                      CA     90014887817
B962593982B857   CJ           BECKETT                      ID     90011649398
B962596892B838   SARA         TESSNEAR                     ID     90014309689
B9626A68755959   RAMONA W     PRITTWITZ                    CA     90012480687
B9627738131463   KIMBERLY     ROHR                         MO     90009027381
B9628311961945   TERESA       SMITH                        CA     46089543119
B9628453951385   MIGUEL       NARRVA                       OH     90014234539
B9628522757125   JOYCE        STEWART                      VA     81007625227
B962889A98433B   REGINALD     SMITH                        SC     90011198909
B9629833991582   LUIS         HERNANDEZ                    TX     90014518339
B9631A28372B62   BRIZA        ENRIQUEZ                     CO     90014310283
B9632155793758   TAMMY        GILBERT                      OH     64593231557
B9632883455959   MARICELA     LOPEZ HERNANDEZ              CA     90013058834
B963343A693758   HARGRAVE     JOHN                         OH     90000794306
B9633877455953   VALERIE      CARDOZA                      CA     90014888774
B963449817B347   JOSE         MELGAR                       VA     81075714981
B9634985A55959   JOSE         ZEPEDA                       CA     90015019850
B96353A715B396   PAIGE        LAWSON                       OR     90001453071
B963617127B479   VERONICA     LOPEZ                        NC     90008671712
B963631512B234   QUENTINA     HAMLETT                      DC     90001253151
B9636496776B52   HUGO         MARTINEZ                     CA     90013924967
B9636742793758   MICHELLE     GEORGE                       OH     90005117427
B9636AA9293727   ANDREW       GRAUPMANN                    OH     90000230092
B963745A74B946   ADRIENNE     COOPER                       TX     90012644507
B9637697A5B327   JAIME        FERNANDEZ                    OR     90013336970
B963817395B374   ERNESTO      IXCOY POJOY                  OR     90006891739
B9638255A36122   JOSE         ESCOBEDO                     TX     90014002550
B96383A4A93758   JOSHUA       KUHN                         OH     64534283040
B96386A5461989   ADALBERTO    FLORES BAHENA                CA     90000996054
B9639347A55953   JUANITA      MELCHOR                      CA     90014063470
B963B95742B857   TIFFANI      CALKINS                      ID     42095099574
B964125765B396   EVANGELINA   CORTEZ                       OR     90004772576
B9641A61736122   MEGHAN       HEINOLD                      TX     73553310617
B9642615731639   ELIZABETH    HERNANDEZ                    KS     22007856157
B9642A61736122   MEGHAN       HEINOLD                      TX     73553310617
B9643665272B69   TERALL       BERRY                        CO     90011566652
B96437A6A24B28   GARFIELD     ROSS II                      DC     90010717060
B964486AA5B327   DEBBIE       CARABAJAL                    OR     44550648600
B96455A4797B59   HILARY       CANO                         CO     39010265047
B9645654293758   CHARLES      FOREST                       OH     90010166542
B96456A5393758   JANNELL      DEMMONS                      OH     90010356053
B96458AA44B259   ELEUTERIA    MARTINEZ                     NE     90008658004
B9646285A61977   MYRNA        CALDERON                     CA     90010482850
B964664495B327   DAVE         SING                         OR     44516266449
B9646749A5B396   LOGAN        THORN                        OR     90014977490
B9646792272B69   JOANNA       MENDOZA                      CO     90014677922
B964696A393783   MELISSA      WHITT                        OH     64557909603
B964772A555953   MELISSA      REEDER                       CA     90014867205
B9647832472435   TIFFANY      SCOTT                        PA     90006328324
B9647A1325B327   JUSTINO      PALOME                       OR     90014180132
B9648423893727   MICHAEL      BLANTON                      OH     90014914238
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2286 of 2350


B9648942A31688   JENNIFER     GRUBE                        KS     22038409420
B9649252A55959   STEVEN       DELEON                       CA     90014532520
B9649619972B62   BENARD       JONES                        CO     90007056199
B964B24AA72B62   TRACY        PITTMAN                      CO     33010722400
B964B831561941   ARELI        SOTO                         CA     90009378315
B964B879693727   MORRIS       JORDAN                       OH     90009768796
B9652186955959   ROXANNE      HERNANDEZ                    CA     48052051869
B9652466536122   BREEANNA     CANO                         TX     90013674665
B9652617672B62   LOUIS        PREUSS                       CO     33080426176
B9652A94341229   CHRISTINA    MCNEESE                      PA     51013570943
B9653A35824B64   KIZZIE       KING                         DC     81047180358
B965417735B375   JR STEPHEN   KRISTICH                     OR     90004581773
B9654299455959   GRISELDA     DIAZ                         CA     90012352994
B965436835B375   JR STEPHEN   KRISTICH                     OR     90012583683
B96547A512B271   HERBERT      MCKINNEY                     DC     90009657051
B9654998761925   JUANA A      OCHOA                        CA     90008679987
B965535A972B62   JUSTIN       KOEPPEN                      CO     90007993509
B96555A7976B52   ANA KAREN    LOPEZ                        CA     90013925079
B9655631793758   NATHANIEL    GALES                        OH     90005296317
B9655966647832   VONNIE       COOPER                       GA     90014589666
B9656133541237   ALVIN        SIMS                         PA     51089381335
B965617315B327   TYLER        DRAKE                        OR     44527891731
B965622374B259   THOMAS       COWAN                        IA     27006052237
B9656711393727   DAWN         LEDFORD                      OH     64540337113
B9657158255972   IRMA         RENTERIA                     CA     90007041582
B965731414B259   JASON        HUBBARD                      NE     90015103141
B9657629193727   AARON        KEMP                         OH     90012376291
B965793A593758   PAMELA       NOBLE                        OH     90007959305
B9658496472B3B   MERIED       AMARE                        CO     90012714964
B9658499355953   RICARDO      ALVARADO                     CA     90014894993
B965874A136122   ERNEST       BARNES                       TX     73528797401
B965879815B327   ANGELA       CARLON                       OR     90007167981
B9658A3832B857   JACOB        ELLER                        ID     90011650383
B9659172293783   THOMASETTA   CALHOUN                      OH     90000861722
B965B135555953   JENNIFER     HOLLOWAY                     CA     90014891355
B965B632272B69   DEMITRIA     BLEA                         CO     33045876322
B966164285B327   ALBRIGHT     ENTERPRISES                  OR     44516276428
B966245775B562   LOURDES      CORTEZ                       NM     35094434577
B9662573955953   JOHN         DENICOLA                     CA     90014895739
B966265279712B   DANA         KENNIS                       OR     90006536527
B9663536A5B396   TERRACE      MARTIN                       OR     90013395360
B9664125755953   JESSICA      GAMA                         CA     90014911257
B966464285B327   ALBRIGHT     ENTERPRISES                  OR     44516276428
B9664931772B62   JOEY         SCAGLIONE                    CO     90001239317
B9665239792871   KIRBY        COOK                         AZ     90014162397
B9665461472B69   MARFREN      SOLARES                      CO     90010314614
B9665532955953   GUILLERMO    JIMENEZ                      CA     90012485329
B966592A893758   TYLER        BAKER                        OH     90014139208
B9665A7AA93758   TYLER        BAKER                        OH     90014960700
B9666618736122   EMILIO       BALADEZ                      TX     90010266187
B9666A16776B52   EUGENIO      SILVESTRE                    CA     46017600167
B966737175B327   MARIA        HERNANDEZ                    OR     44573033717
B966767765B396   ANNE         TERY                         OR     44511576776
B96678A5772B27   JESSICA      YOOS                         CO     33097618057
B966897A82B864   GARRETT      FLOWER                       ID     90006669708
B9668995A5B327   SAM          WALSH                        OR     44522689950
B966B14535B327   ANTHONY      BASTIAN                      OR     90014231453
B966B39485B541   RUBEN        FLORES                       NM     90000303948
B966B777155959   ALYSHA       HERNANDEZ                    CA     90014697771
B96711A1176B52   MARIAELENA   BURGOS                       CA     46064571011
B9671625A55953   RICARDO      ARMENTA                      CA     90014896250
B9672312293758   DAVONNA      HENDERSON                    OH     90003913122
B9672323651385   NIKO         SCOTT                        OH     90010963236
B9672352A41229   ANGELINA     LAYNE                        PA     51080783520
B9672479255953   CLIFFORD     LOVEJOY                      CA     90014904792
B96725A1172B3B   TERRI        SNOOK                        CO     90010915011
B9672627857133   FANY         MARTINEZ                     VA     90007226278
B96729A495B327   CELERINA     ROJOS                        OR     90006609049
B967356264B259   AARON        CHANEY                       IA     90014575626
B96736AAA4B259   EMILY        MCVEY                        NE     90011706000
B9674487276B52   MARIBEL      GAMEZ                        CA     90014684872
B967476585B396   QUIENTIN     WYNN                         OR     44598507658
B9674A3625B224   ELMER        COMBS                        KY     90007530362
B9675479255953   CLIFFORD     LOVEJOY                      CA     90014904792
B967568A993727   RICKIE       GRAY                         OH     64506846809
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2287 of 2350


B9677173472B62   NATASHA      PACHECO                      CO     90013641734
B967835492B857   ADAM         FREDRICK                     ID     42014263549
B967894154B259   KRYSTALL     KELLER-JACKET                IA     90014659415
B9678969272B62   SARENA       ROY                          CO     90011029692
B96795A3155953   MARLILIN     VALENCIA                     CA     90014905031
B9679645476B52   CHERYL       WOOD                         CA     90012556454
B967B389893758   CHERYL       ESTEP                        OH     90007803898
B967B479255953   CLIFFORD     LOVEJOY                      CA     90014904792
B967BA55855979   ZIAD         ALEXANDER SHAMMA             CA     49006680558
B968113A733647   BETTY        SHAW                         NC     90005211307
B968127A272B69   CINDY        CORRAL                       CO     90000242702
B96818A5155938   ALEX         BUENTELLO                    CA     90010968051
B9682156655953   ANTONIO      PANTOJA                      CA     90014911566
B9682215A4B273   LAURA        TAYLOR                       NE     90011232150
B968285134B259   TIERRA       DRAPER                       NE     90007348513
B968287A272B62   JASON        GRAY                         CO     90012728702
B9682AA7336B98   NIKALAI      LUKENOVICH                   OR     90008500073
B9683151A5B396   DIANA        OWENS                        OR     90002751510
B9683156655953   ANTONIO      PANTOJA                      CA     90014911566
B9683793A4B259   KELLY        EGGERTSEN                    NE     90009707930
B968441A836122   JOHN         RICHARDS                     TX     90012024108
B968475415B396   EDDIE        WILLIAMS                     OR     90001867541
B968483274B259   DAVID        HANSEN                       NE     90013528327
B9684A85A61971   ROBERTO      CHARLES                      CA     90009650850
B9685A4A35B327   ROBBERT      STAPLES                      OR     90005300403
B968622545B327   STORIA       RASA                         OR     90003502254
B968623899712B   MARNIE       MCCAMMON                     OR     47005872389
B96867A315B396   JORGE        PEREZ                        OR     44555717031
B968693A772B69   TIFFANY      BLEA                         CO     33047539307
B9687662991574   JESUS        FRAIRE                       TX     75028706629
B968787A272B62   JASON        GRAY                         CO     90012728702
B968814A75B327   IZAAC        CASTILLO                     OR     44595141407
B9688492771651   TONY         WILLIAMS                     OH     90015284927
B9688A9682B271   DELANY       EPPS05                       DC     90013060968
B968B521655953   CARLOS       CASTANEDA                    CA     90014905216
B968BA1965B396   JEFF         KISSELOFF                    OR     90012390196
B96918A7241229   KRYSTAL      COLLINS                      PA     90005698072
B969248952B287   RONALD       GOODWIN                      DC     90006154895
B969283184B259   JOHN         TYSON                        NE     90013268318
B969346345B396   LORENA       STAFFORD                     OR     90011124634
B969366244B259   JOSEPH       ROSE                         NE     27056766624
B969384A931688   DEBRA        BECKLEY                      KS     90013718409
B969452822676B   PAUL D       PRECOPIA                     PA     90013035282
B969478A193727   SHAWN        STEWART                      OH     64533147801
B9694857672B3B   MARCIANNA    HORD                         CO     90007788576
B9695135855959   ANA          GUTIERREZ                    CA     90011741358
B9695153272B3B   ABBREA       ALLARD                       CO     90010861532
B969545A45B382   LACEY        VALLERGA                     OR     44516674504
B969625445B396   ANTONIO      DAVILA RODRIGUEZ             OR     90013862544
B969671915B525   PATRICK      PENNINGTON                   NM     90001537191
B9697342A5B396   TINA         BECHTOLDT                    OR     90012063420
B9697435936122   MARCOS       MUNOZ                        TX     90012714359
B969757133B325   DANA         QUINTO                       CO     33014285713
B9698413576B42   THERESEA     PRESNALL                     CA     90008964135
B969874329712B   MICAH        LEVAL                        OR     90006537432
B9699265872B69   LOPEZ        JOANA                        CO     90008542658
B9699A7585B396   VERONICA     LOPEZ                        OR     90005670758
B969B119555953   CUAUHTEMOC   SOLORIO                      CA     90007071195
B969B689636122   SONIA        SALINAS                      TX     90007886896
B969B729A97B69   LISA         SHARK                        CO     90008307290
B96B1417155959   ELIZABETH    ELIZONDO                     CA     90009874171
B96B166915B396   IRENE        REYES                        OR     44513866691
B96B22A489714B   ERIN         RIGGS                        OR     90001152048
B96B2539A2B857   JENNIFER     BENGER                       ID     42051525390
B96B2623972B62   BRUNO        YRIVARREN-PADILLA            CO     90007056239
B96B271A455972   MARIA        NAVARRO                      CA     90007037104
B96B293195B399   NORMA        DIAZ                         OR     90011419319
B96B3511677977   NORAH        HURST                        IL     90014935116
B96B3828733646   ANDREA       PHILLIPS                     NC     90007558287
B96B387A55B327   ROBERT       COTTRELL                     OR     90015098705
B96B388664B259   LINDA        GRUHN                        NE     90014508866
B96B4119555953   CUAUHTEMOC   SOLORIO                      CA     90007071195
B96B489165B382   GUSTAVO      NAVARRO                      OR     90009978916
B96B564165B396   MELREN       PICHON                       OR     44563026416
B96B5A64A93758   KATIA        REYNOLDS                     OH     90015050640
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2288 of 2350


B96B633277B489   JUANA         LEWIS                       NC     11085973327
B96B6618A43563   JAMIE         MELE                        UT     90014186180
B96B6734172B62   JEANNETTE     CRUZ                        CO     33045007341
B96B7166855953   ANGELICA      TERAN                       CA     90014881668
B96B8166855953   ANGELICA      TERAN                       CA     90014881668
B96B871A255959   GUADALUPE     GUERRERO                    CA     90015177102
B96B9166855953   ANGELICA      TERAN                       CA     90014881668
B96BB16622B857   JOSE          HERNANDEZ-VAZQUEZ           ID     42044141662
B96BB61894B259   GARY          GREEN                       NE     27034536189
B96BB761793758   SHANICE       BAILEY                      OH     90011237617
B97115AA331688   KATHLEEN      ALLEN                       KS     90002535003
B9712522A2B271   MIGUEL        CRUZ                        DC     90010195220
B9713287972465   DOUGLAS       HILLYER                     PA     51079952879
B9713295591582   ELIAS         REYES                       TX     90006762955
B9713538824B64   JOSE CARLOS   DELGADO                     VA     90014525388
B971357625B557   CAROL         ORTEGA                      NM     90004045762
B9713A43491826   KIER          MASSO                       OK     21079070434
B971453565B571   ALISON        COURTOIS                    NM     35021845356
B9714764A93727   CYNTHIA       BLAKLEY                     OH     90010807640
B9714971A76B52   FELICIANO     MATUS                       CA     90014859710
B971546A255959   TRISHA        BROOKS                      CA     90013234602
B9715816793758   KIM           LEACH                       OH     90009728167
B9715A3366193B   DENA          SCHWARTZ                    CA     90008660336
B9716663872B62   RAELEEN       AGUIRRE                     CO     90014816638
B971669765B327   ALEX          DEAL                        OR     90013726976
B97168A9376B52   MARISA        REBER                       CA     90014918093
B9717284A61954   DANIEL        SLEDD                       CA     90010712840
B9717526755959   JOANN         RUIZ                        CA     90014815267
B9717591A8B166   JOHNNY        MONTOYA                     UT     90008105910
B971791A36619B   JUAN          MARTINEZ                    CA     90014649103
B971827232B857   PATRICIA      VARGAS                      ID     42065052723
B9718454293727   WESLEY        BARNETT                     OH     90012234542
B9719772576B52   LINDA         ESTUDILLO                   CA     90009957725
B9719A37A5B327   JUAN          SIERRA HERNANDEZ            OR     90006840370
B9721332A72B62   LINDA         BAUTISTA                    OR     33091923320
B9721A3854B259   ANGEL         GONZAGA                     NE     90015020385
B9721A89351347   JOHN          HUGHES                      OH     90004240893
B9722675376B52   JULIA         AVALOS                      CA     46064166753
B9722686655953   LUIS          ZAPIEN                      CA     90012766866
B972343975B799   GERARDO       SANCHEZ-MORLES              MN     90015344397
B9723529455972   CARINA        MONTES                      CA     90000355294
B972371413163B   JOSH          ANDERSON                    KS     90013867141
B972373A631281   ROBYN         FLEMING                     IL     90014807306
B9723771793738   DANIEL        MILLER                      OH     90001497717
B9724742A4B542   LINDA         RIDDLE                      OK     90010697420
B972478A85B396   JOYCE         WATSON                      OR     44537867808
B9725474693758   MELISSA       WATKINS                     OH     90001544746
B9726A94131639   ROSALIA       CHAVEZ                      KS     22002760941
B9727311255953   MICHAEL       SANDERS                     CA     90013713112
B9727433261977   ALEXANDER     KALENDAREV                  CA     90002174332
B9728367276B52   SAUL          ORTEGA                      CA     46005313672
B9728385936122   ALFONSO       MARTINEZ                    TX     90012583859
B972878855134B   JESSICA       SAUNDERS                    OH     90005327885
B9729553A4B265   MARCO         CARDONA                     NE     90007985530
B9729575854155   MELISSA       CEMORE                      OR     90015375758
B9729875872B62   NELSON        MONTERO                     CO     90012728758
B972988543B372   ANDREW        MORRIS                      CO     33019148854
B972B195A5B327   MARIO         REYES                       OR     90015091950
B972B267372B69   JESUS         MALDONADO                   CO     33037412673
B972B54965B396   JENNIFER      WILKINS                     OR     90000225496
B9731846655928   DUSTIN        MCNEARNEY                   CA     90013218466
B9731898772B69   A JULAINNE    SHAW                        CO     90010028987
B97318A4876B52   ANGELICA      REYES                       CA     90014838048
B973246115B396   CARL          BISHOP                      OR     90010504611
B9732595985927   JASMINE       HOUSTON                     KY     90005965959
B9732867272464   LISA          BROWN                       PA     51089678672
B9732915155959   MAURICIO      LARA                        CA     48054999151
B9733152893758   NICOLE        SPRING                      OH     90006631528
B973469788B166   JESSE         ADAMS                       UT     90009826978
B9734848A91257   RONNEISHA     GRANT                       GA     90003338480
B973537915B396   DEBORA        DRAHEIM                     OR     90010253791
B97361AA72B271   JOSE          MENJIBAR                    DC     90013061007
B9736755243236   DALLEN        VILLARREAL                  TX     90015277552
B9736A28431639   FAYE MARIE    MILLS                       KS     22084250284
B9736A4A993727   CARLOS        CARTER                      OH     64511790409
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2289 of 2350


B973721565B327   CLAUDIA            RAMIREZ                OR     90013592156
B9737522131688   JANET              KUNKEL                 KS     22055325221
B973785AA31639   APRIL              MALONE                 KS     22001718500
B97381A8533643   NANCY              NANCY                  NC     90007961085
B973957A255959   ESTELA             DIAZ                   CA     90011645702
B973B179591574   PANCHO             SILVERTHORNE           TX     75027861795
B973B913355953   STEVEN             MIGUEL                 CA     90014939133
B9741396231639   ELIZABETH          ULERY                  KS     90013283962
B9741518741288   CHRISTIE           PAIS                   PA     90001755187
B9742414172B69   VERA               VENEGAS                CO     90012744141
B97429A175B327   SANDRA             ZARATE                 OR     90012129017
B9742A53A72B62   STACY              OLSON                  CO     33010850530
B974328A75B327   MELISSA            HADDIX                 OR     44584932807
B974342927B34B   JENNY              TORRES                 VA     90003914292
B97434A1181651   MARC               CLEVELAND              MO     90014754011
B9744178391257   REBECCA            BUKOWSKI               GA     90007961783
B9744415172B98   CHRISTIE           GLANDON                CO     90012884151
B974462432B271   KEPHREN            PONDEXTER              DC     90012156243
B9745364472B62   DOMINICK           PORQUIS                CO     90003303644
B974587185B333   KRISTYN            KAUFMANN               OR     90011748718
B974632144B521   JACQUELINE         MCKINNEY               OK     90010573214
B97471A8672B98   MELISSA            MIDDLEMISS             CO     90012211086
B9747A1A62B271   YARED              YESHEBERUNU            DC     90014900106
B9749191193727   MAE                MOODY                  OH     90002271911
B9749385936122   ALFONSO            MARTINEZ               TX     90012583859
B9749964941229   ANDREW             SNIPES                 PA     51016779649
B974B868955959   YESENIA            MELENDEZ               CA     90012808689
B974B994776B52   DELLANIRA          GONZALEZ               CA     90012979947
B9751427272B69   GOEL               NEVARES                CO     33023034272
B9751785776B52   KATHRYN            NICOLAYEFF             CA     90009407857
B9751973841229   AMBER              HEPP                   PA     51016779738
B9752533555959   EMMA               GARCIA                 CA     48071605335
B975322992B271   ABBAFEKADEIYESUS   KENFEMECHAEL           DC     90008072299
B9753672485936   DESIREE            SWEENEY                KY     90004086724
B97541A6341248   JANICE             HUWE                   PA     51072791063
B975449215B327   SHANTIA            MOSS                   OR     44515794921
B9754697972B69   ALEXANDRA          CHISHOLM               CO     90014496979
B9754845172B62   LETICIA            VIZCAINO               CO     90014148451
B9756352355953   SHERRI             TATUM                  CA     48049683523
B9756936272B62   GENARO             RODRIGUEZ MENDEZ       CO     33065389362
B975798345B327   DONALD             HUGHES                 OR     90000769834
B975843449712B   PORTLAND           INSURANCE              OR     90006594344
B9758514636122   DAVID              CHAVEZ                 TX     90014365146
B975951585B396   SHANNON            BOYD                   OR     44507005158
B97597A1172465   AMINAH             GENES                  PA     51049767011
B97599A6357183   XABEL              FANTA                  VA     90002889063
B9759A18355928   ROSEMARY           VARGAS                 CA     48063690183
B975B676A2B857   DEBBIE             SEWRIGHT               ID     42000556760
B975B922276B52   KEINA              NUNEZ                  CA     90014989222
B9761296376B52   JANET              DOMINGUEZ              CA     90003512963
B9762AA7861945   OMAR               CEBALLOS               CA     90011160078
B9763129972B69   SHENIKA            DEAN                   CO     90013801299
B9763271133624   VANESSA            CAMPBELL               NC     90008742711
B9763444972B62   JOHNSON            CONANDUS               CO     90013444449
B9763471A5B327   TAYLOR             MARSHALL               OR     44521524710
B97634A7385927   BRITTANY           BROUGHTON              KY     67033344073
B976356815B396   SASHA              FREEMAN                OR     44586195681
B97641A282B271   CANDICE            JONES                  DC     90013061028
B9764396455959   MARIA              RODRIGUEZ              CA     90014753964
B9764A2429712B   BARRY              HOLMES                 OR     90006580242
B9764A95255953   ROBERTO            CISNEROS-GARCIA        CA     48097970952
B97655A292B835   CRYSTAL            KIRKLAND               ID     90010395029
B976612112B625   REBECCA            JONES                  WA     90015421211
B9766446461982   MARGARITA          OROPEZA                CA     90007224464
B9767535455959   LETICIA            CHAVEZ                 CA     90012095354
B9767558393758   WILLIAM            PORRAS                 OH     90007455583
B9768713691831   JESUSITA           REYNA                  OK     90008357136
B9768844A72B69   MARY               GARZA                  CO     90010868440
B976B16449155B   ARGELIA            FAVELA                 NM     90010691644
B976B41522B883   HOWARD             POLLOCK                ID     90012374152
B976B616A91961   AIDA               LAINEZ                 NC     90008916160
B9771155236122   KENNETH            AMAYA                  TX     90011091552
B9772135893727   AMBER              CONRAD                 OH     64528371358
B9772278954122   SHERYL             DEVORAH                OR     90011512789
B9773326661945   EFIGENIA           FERNANDO               CA     46073073266
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2290 of 2350


B9774851A61992   EILEEN                 ROBINSON           CA     90001048510
B9774986931688   CASSANDRA              COSTON             KS     90006849869
B9774A25655953   GILBERTO               MEDINA             CA     90014980256
B9775557A55923   NOEMI                  VALENCIA           CA     90003075570
B9777794A55972   AMBER ANNETTE          WALKER             CA     90007047940
B977833A372B69   SHERI                  CARTER             CO     33091373303
B97784A1476B52   ASUNCION               GUZMAN             CA     90014754014
B97797A5936122   ETHEL                  GIRDY              TX     90014067059
B977B39458432B   ILENI ISABEL           BLANCO             SC     90008063945
B978128372B271   LATONIA                RICHARDSON         DC     90008072837
B9781322193727   KATHLEEN               KOESTER            OH     64589873221
B97816A4824B28   VICTOR                 ROMERO LIMA        DC     90004936048
B978237218B141   NICK                   SPEARS             UT     90005703721
B97823AA45B396   JACQUELINE             ILLANES            OR     44523803004
B9782575276B52   EDITH                  HERNANDEZ          CA     90013925752
B9782947136122   DONNA                  BAREFIELD          TX     73503109471
B97834A745B396   LAMAR                  HILL               OR     90007344074
B9783512A5B349   JOSEPH                 SCALFANI           OR     90001975120
B9784547136122   ED                     BENOIT             TX     90006145471
B9784591991579   MYRNA                  MORALES            TX     90010895919
B9784624557122   AMALIA                 VILLENA            VA     81025456245
B97847A7793758   BRIDGETTE              COLEMAN            OH     90014157077
B9784812655972   ARMANDO                MENDEZ             CA     90007048126
B9785694676B52   NINFA                  MORALES            CA     90012276946
B978682244B259   JUAN                   HERNANDEZ          IA     27072998224
B978685895B327   SHAUN                  WAAYENEERG         OR     90008618589
B9786A41172465   CYNTHIA                MCKENZIE           PA     51003720411
B9787418936122   DAMIAN                 RODRIGUEZ          TX     90014584189
B978751965B327   TERENCE                MIDDAUGH           OR     90012605196
B978778115B327   JAMES                  MC MARLIN          OR     90014537811
B978837A82B271   KWANEE                 BUTLER             DC     81054973708
B9788444231688   FELICIA                FOWLER             KS     22000854442
B978893A761945   ALLEN                  RIDER              CA     46095669307
B9789351484329   TYRA                   DAVIS              SC     90006133514
B9789352655959   AMELIA                 GOMEZ              CA     90006963526
B9789513576B52   CENON                  SANCHEZ            CA     90013965135
B9789784455959   ANTONIO                CRUZ PEREZ         CA     90013557844
B9789831336122   JUAN                   PACHECO            TX     90012098313
B978B379A72B69   BERTHA                 CASTILLO           CO     33067813790
B978B72A72B271   JASMINA                GARCIA             DC     90015167207
B978BA88491573   ADAN                   SIERRA             TX     90008820884
B9791429936122   ROSIE                  QUINTANILLA        TX     90004674299
B979142A853B33   BRANDON                BOONE              CA     90011034208
B9791844661945   ROSA                   CECILIANO          CA     46007728446
B9792692A76B52   LAUREN                 LONGACRE           CA     90011126920
B9792744493727   ROBIN                  HARVEY             OH     64546397444
B979335344B256   EMAN                   NAMIR              NE     26072063534
B9793944A76B52   MARIA                  PONCE              CA     90015019440
B9793985872B62   DARNELL                FAWCETT            CO     90010969858
B9793A6365B255   ART                    GHOLSON            KY     90012080636
B979469A34B259   LAURA                  QUEZADA LOPEZ      NE     90012736903
B9795127261925   FLORENCIO Y ANGELICA   SALAZAR            CA     90010771272
B9795537293727   FELICIA                APPLEBERRY         OH     90007055372
B9795786354179   BROOKE                 STILES             OR     90004327863
B9796725593758   JEREMY                 BINION             OH     90014157255
B9796978A76B52   JAMES D                VASQUEZ            CA     90014349780
B979815A85B329   JULIO                  JIMENEZ            OR     90001841508
B9798318572B69   MICHAEL                TREALOFF           CO     90015013185
B97989A5A55959   HILDA                  ROSQUERO           CA     90015099050
B979927462B271   ISMAIL                 LEIGH              DC     90015162746
B9799343672B69   BRUCE                  HILL               CO     90010793436
B9799A24672B62   LOURITHA               GILLIAM-BERNARD    CO     33045160246
B979B16625B327   ALEJANDRO              GARCIA             OR     44510731662
B979B874491576   GLORIA                 MORENO             TX     90002088744
B97B1258736122   JOHN                   BANDA              TX     90014782587
B97B1532593758   COREY                  HENNING            OH     90007455325
B97B2781185927   NITA                   BARBOZA            KY     67080377811
B97B286324B259   CLAIRE                 DE MERS            NE     90013268632
B97B297A772B69   STEPHANIE              DURAN              CO     90015149707
B97B298A45B327   EUGENE                 HUDSON             OR     90008959804
B97B4125172B69   GRACIELA               HERNANDEZ          CO     33005401251
B97B4493855972   STEFANIE               HANDY              CA     90007044938
B97B4653424B64   DAVID                  COOKE              DC     90012416534
B97B4963391885   DORA                   RAMOS              OK     90008989633
B97B4A4962B271   ANDREA                 SCOTT              DC     90001820496
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2291 of 2350


B97B5126755959   JOAQUIN      SALCEDO                      CA     90011641267
B97B636A571951   TREVOR       STICE                        CO     90005593605
B97B665912B271   MARTIN       WARD                         DC     90013916591
B97B6682391257   REGINA       JENKINS                      SC     90008516823
B97B7397993758   BONITA       SMITH                        OH     90009893979
B97B747274B259   ERICA        OZUNA                        NE     27030994727
B97B7526755959   JOANN        RUIZ                         CA     90014815267
B97B766195B396   TASHA        MEYER                        OR     90010486619
B97B8276436122   ANTONIO      GARCIA                       TX     90014582764
B97B8721A91576   VERONICA     GARCIA                       TX     90011937210
B97B9AA3572B69   JESSE        FORVILLY                     CO     90010500035
B97BB255972B62   PEDRO        RAMIREZ                      CO     33011112559
B97BB581436122   GONZALO      PEREZ                        TX     90005405814
B981167A17B489   STACEY       ENOCH                        NC     11024246701
B9812554731688   JACKIE       CAMPA                        KS     90003225547
B9812767555959   LETICIA      FLORES                       CA     90005567675
B981285213B176   LESTER       SALGUERO                     VA     81051998521
B9812A4882B271   KENNETH      LAMB                         DC     90012580488
B9813422155996   MYRA         BETANCOURT                   CA     90004174221
B9813927585822   MARTHA       DEL VILLAR                   CA     90008549275
B9813A11472B69   NATHAN       MARCHINSKY                   CO     90013150114
B9813A82736122   ODILIA       GARCIA                       TX     90000640827
B9813A8375B327   HECTOR       ACEVEDO                      OR     90011140837
B981489AA6193B   MARCOS       CASTANEDA                    CA     46025218900
B9816281191573   LUIS         CORDOVA FNP-C                TX     75088912811
B981637A591573   PATY         EPT                          TX     90010813705
B9817835976B52   BRENDA       QUIAHUA                      CA     46004788359
B9817854761945   MS.          JAY                          CA     46018668547
B9818157193727   CRYSTAL      CLARKE                       OH     64523941571
B981B31545B396   MARIA        PINTO                        OR     44561653154
B981B556691582   AURORA       MARTINEZ                     TX     90012405566
B981B72734B259   MAGDALENA    MARTINEZ                     NE     90014667273
B9821499272B62   ERIC         MARTINEZ                     CO     33037154992
B982152894B259   QUETZALY     ROMO                         NE     90009705289
B982163118B825   JOHN         YAP                          HI     90014486311
B9822241A72B62   GOMEZ        VICTOR                       CO     90011042410
B9822736871931   CARLOS       CAMARENA                     CO     90013087368
B9822846193758   MELISSA      FIKES-ALLEN                  OH     90014148461
B9822985772B69   ROSA         LOZOYA                       CO     33082429857
B982345662B271   ARIEL        PENNINGTON                   DC     90012694566
B982397A62B271   ARIEL        PENNINGTON                   DC     90013859706
B9824385585927   LAURIE       ROOP                         KY     67010293855
B9824787972B69   KENT         HOMLES                       CO     90009947879
B9824896755959   NELY         CARDENAS                     CA     90002208967
B9825444231639   AUSTIN       DIAZ                         KS     22013994442
B982572784B259   PARKER       ELOISE                       NE     27097347278
B982583162B857   LYSSA        LIMBRECHT                    ID     90009288316
B9825991A85927   CECILE       KAHINDO                      KY     67077189910
B982654515B327   KATHERINE    POLON                        OR     90014555451
B9826891A55959   JORDAN       VAZQUEZ                      CA     48073408910
B9826A21A5B396   JAIME        HERRERA                      OR     44534370210
B9829243255959   LUIS         CISNEROS                     CA     90002822432
B9829389372B69   LUIS         LECHUGA                      CO     90010503893
B982953712B857   REW          PETERS                       ID     90011655371
B9829798272B62   SELENE       PEREZ                        CO     90000207982
B982B92245B396   PARRISH      GREEN                        OR     90013099224
B982BA15431688   WILLIE       OWENS                        KS     22010480154
B982BA5215B338   CRISTINA     SENA                         OR     90009420521
B9831114161971   ISABEL       MUNGUIA                      CA     46053671141
B9831117572B69   EDGAR        PORRES                       CO     90015201175
B9831198172B62   JESSICA      ALSOP                        CO     33008041981
B9831857555943   EDIA         CAMARA                       CA     49096478575
B9832324161973   ANGELICA     BARRIGA                      CA     90001683241
B983296565B327   PAULINA      DE PINON                     OR     90012809656
B98333A1655959   LUIS         VIVEROS                      CA     90008483016
B9833544993727   GARY         CALDWELL                     OH     64513755449
B9833545855953   JOSE         CARDIEL                      CA     90015065458
B9834456955953   CLAUDIO      ALBERTO                      CA     90015054569
B983446813B365   VERONICA     ARMENADRIZ                   CO     90013634681
B9836278572B62   MARCO        DIAZ                         CO     90015002785
B9836423536122   ANITA        SOLIS                        TX     73504764235
B983698838B131   ISRAEL       RODRIGUEZ                    UT     90008019883
B983728215B327   MARIA        JUAREZ                       OR     90009072821
B9837481355953   RAMON        RODRIGUEZ                    CA     90015054813
B9837A6619193B   SOLOMON      MEDINA                       NC     90010450661
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2292 of 2350


B983821275B327   AMBER SKY     EVANS                       OR     90014562127
B9838735793758   BRANDON       SORRELL                     OH     64518677357
B98387A2993727   CHASMIN       TURNER                      OH     90015097029
B9838AA9855959   MARTHA        GARCIA                      CA     90014400098
B98395A2555953   MIRIAM        MEZA                        CA     90015055025
B9839A44236122   MARIO         LUCIO                       TX     90012270442
B983B746993758   LASHELL       BARBER                      OH     90014157469
B983B933572B69   MUE           MONG                        CO     90001059335
B98413AAA5B355   SUZANNE       PIERCE                      OR     90012533000
B984225632B857   CAMIE         SMITH                       ID     42007842563
B9842391A9155B   ANTONIETA     RIBERA                      TX     90011553910
B984312A455959   MAIRANI       OCAMPO                      CA     90001411204
B984414A255959   NOEMI         ESPINO                      CA     90014781402
B9844785A43236   JULIA         DUARTE                      TX     90014807850
B9844933155953   FERMIN        ZAMORA                      CA     90014569331
B984496224B259   JASON         CALVERT                     NE     90003269622
B9844974172B62   MARY          KONKOL                      CO     33017669741
B984515255B327   JONG          HWANG                       OR     90011161525
B9845632993726   HEATHER       WENZLER                     OH     90009296329
B9845799272B69   FERNANDO      ROSILLO                     CO     33082497992
B984611585B572   TINA          MARTINEZ                    NM     90003861158
B9846428624B64   HANSMATTEE    SAHDEO                      DC     90010464286
B984722A576B52   ENRIQUE       REYNOSO                     CA     90014202205
B984735735B545   TAMMI         WILSON                      NM     35069053573
B9848175255953   TAMMY         GARRISON                    CA     90015121752
B984925A32B227   DEB           BHATTACHARJEE               DC     90001472503
B9849266493727   KEVIN         DAVIS                       OH     90012382664
B9849686A2B271   JOBON         CASSELL                     DC     90011176860
B984975512B271   JOBON         CASSELL                     DC     90012787551
B984984285B327   JENNIFER      RICKS                       OR     90010248428
B98499A8221826   DERRICK       DEFOE                       MN     90014129082
B98499AA824B28   ANDREA        SWANN                       DC     90003909008
B9849A77842332   REGINALD      KNIGHT JR                   TN     90010980778
B984B771576B52   ITZEL         BARRIOS                     CA     90012127715
B9851498176B52   MANUELA       FELIX                       CA     90013934981
B9852881172B69   KEITH         NESBY                       CO     90009188811
B9853895157162   MYRA          FLORES                      VA     90014068951
B98538A5472B69   SAMUEL        FRANCO                      CO     33056438054
B985483A15B396   ELSA          GUARNEROS                   OR     44528268301
B9854967276B52   JESUS         ANGEL                       CA     90010929672
B985556A92B229   RYANE         NICKENS                     DC     90012595609
B9856558393758   WILLIAM       PORRAS                      OH     90007455583
B9856694736122   NATALIE       CABRERA                     TX     90013696947
B9856A42655957   ELOI          MARIN                       CA     90011640426
B9856A76491972   NOONIE        WILLIAMS                    NC     90012580764
B9857A81524B64   VONETTA       ROBERTS                     DC     90012830815
B9857A8A993758   COURTNEY      WASHIGTON                   OH     90004640809
B9858177131639   JOSHUA        CARDINELL                   KS     22079721771
B9858226471932   GLORIA        MONTOYA                     CO     90012102264
B98586A2291976   KERRI         ATKINSON                    NC     90011306022
B9859326272B69   NICOLE        TINAJERO                    CO     90012753262
B985976277B489   NEIL          GOBBI                       NC     11052907627
B9859821755953   ONELIA        FERNANDEZ                   CA     90012678217
B985B288572B69   HEATH         STEPHENSON                  CO     90011232885
B985B34245B396   IAN           MCEWAN                      OR     90013453424
B985B973736122   MELINDA       ALVAREZ                     TX     73596369737
B98617A4A72B84   LEE           HOUSTON                     CO     90005347040
B9861A3375B168   AMANDA        JONES                       AR     90011990337
B9862225791266   DANIEL        MARES                       GA     90012802257
B9862325384326   PAYGO         IVR ACTIVATION              SC     90014883253
B9862557176B52   VICTOR        CANSECO                     CA     46079975571
B9863112193727   LOYD          SHAFFER                     OH     90000261121
B9863139872B69   ARMANDO       MARTINEZ                    CO     33023711398
B9863842776B52   JUAN CARLOS   RAYO                        CA     90013078427
B9864613A72B62   MAYRA         ALBALADEJO                  CO     33050086130
B9864AAAA5B327   AUDREY        MERSHON                     OR     90007020000
B98652A7731461   ROBERTO       CRUZADO                     MO     90012642077
B986585555B327   URIEL         RAMIREZ                     OR     90014418555
B9866184355953   BERNARDO      MARTINEZ                    CA     90015121843
B9866372231639   ERIN          HILL                        KS     90003663722
B98663A682B271   ANTONIO       BRITT                       DC     90014513068
B9866471A93727   JACK          BALL                        OH     64569194710
B9867115161529   LAKEISHA      WOODARD                     TN     90010661151
B9868217A31688   EDWARD        CRAVENS                     KS     90014902170
B986832A255953   ROBERTO       LOPEZ                       CA     90015073202
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2293 of 2350


B986847854B259   ALVARADO      CORINE                      NE     27025414785
B986873345B54B   GLENN         CHRISTIE                    NM     35060837334
B9868813176B52   LINDA         GRAFFIN                     CA     46081168131
B9869478A5B327   CARA          HANLON                      OR     90013094780
B9869931772B48   ANGELA        BORDEN                      CO     90002659317
B986B37325B396   MARIA         LOPEZ                       OR     90011593732
B986B44A22B857   GREGORY       SPRINGER                    ID     90006404402
B986B764872B62   ROSANA        RETANA                      CO     90014937648
B986B874251368   DONA          COORS                       OH     66059808742
B986B949A93727   ELIZABETH     DEAN                        OH     90012169490
B986B957872B69   ADELAIDA      PASILLAS                    CO     90012559578
B986BAA6472B98   CARLOS        RIVERA                      CO     33089840064
B987165834B259   CINDY         OBRIEN                      IA     27088146583
B98722A2A76B52   JESSE         FIMBRES                     CA     90014642020
B987239875B389   FRANCISCO     ACOSTA                      OR     90000753987
B987292A42B271   ANGELA        CHERRY                      DC     90015019204
B9873196755953   CHRIS         MOON                        CA     90015121967
B987367485B327   ALEJANDRO     TORRES                      OR     90011906748
B9873938972B69   TIARA         BEASLEY                     CO     90013919389
B98744A414B259   DORREEN       WATKINS                     NE     27069934041
B987456A172B62   TILA          KOROK                       CO     90002515601
B987494245B396   THEODORE      HARROLD                     OR     90009859424
B987533482B271   MARIO         CORONADO                    DC     90011133348
B9875413341229   LEROY         FREDERICK                   PA     51042714133
B9875721655959   ABIGAIL       MARTINEZ                    CA     90013277216
B987616165B396   RACHEL        DORAN                       OR     90000911616
B98764A782B857   OTTO          HUNSAKER                    ID     42010244078
B987674494B259   CLAUDETTE     DENNIS                      NE     90011027449
B987774494B259   CLAUDETTE     DENNIS                      NE     90011027449
B9878311A8B141   MARK          KELLSON                     UT     31069343110
B9878A23636122   MELISSA       RANGEL                      TX     90008520236
B987913AA36122   MAXIMILIANO   RAMIREZ                     TX     90015151300
B987935A67B34B   VERONICA      MORALES                     VA     81010823506
B987B25875B396   TENNIEL       SULTT                       OR     90012562587
B9881534872B62   CRISTIAN      ORTIZ                       CO     90012735348
B98824A5372B62   ZAMIRA        PERLERA                     CO     33093424053
B9882894636122   TAMMY         MCDADE                      TX     90014588946
B9883245772B69   ADELINA       HERMOSILLO                  CO     33032252457
B98832A1261925   GLORIA        LOPEZ                       CA     90004332012
B9883972972B62   ANTONIO       ESTRADA                     CO     33009209729
B9883A9722B271   JUSTIN        BUNN                        DC     90014470972
B9884417761945   URID          BALBUENA                    CA     46089494177
B9884588972B69   ANAYELI       MONTES                      CO     90012935889
B988611732B857   CHRISTINA     WERRE                       ID     90001341173
B9886795355959   ISIDRO        CARDENAS                    CA     90014217953
B988727398B156   PARKER        CAYWOOD                     UT     90010622739
B9887457461937   CYNTHIA       JACOBS                      CA     46006624574
B98876A727B489   NEDRA         DRAKEFORD                   NC     11044136072
B9888453636B98   FAUSTINA      DE LOS SANTOS               OR     90001714536
B988936185B399   STAR          LOWELL                      OR     44037883618
B9889462A72B62   JAMES         DURAN                       CO     33052464620
B9889776A41229   JAMILLAH      MUHAMMAD                    PA     90005707760
B98897A4955953   MARIA         LARA                        CA     90013557049
B988987912B271   EBIN          VEST                        DC     90014008791
B988B683893727   QUENNELLA     MURPHY                      OH     90014906838
B988B725431639   RHONDA        MACY                        KS     22088487254
B9891A85393727   PATRICIA      GEARING                     OH     90013900853
B9892194436122   MILLIE        SALAS                       TX     90013051944
B9892331555959   NALLELI       VILLANUEVA                  CA     90006893315
B9893152155993   ANITA         APODACA                     CA     90013551521
B989341395B522   P             HIGGINS                     NM     90009214139
B9893425955924   CARLOS        GALLEGOS                    CA     90010524259
B9893683A76B52   ILIAN         GUTIERREZ                   CA     90013936830
B9893758593727   ERIN          OLIVER                      OH     90013407585
B9894177A72B62   ADALI         PEREZ GONZALEZ              CO     90010691770
B9894688176B52   CRITTENTON    ZAYAK                       CA     90013956881
B989567465B396   MARIA         ROSAS                       OR     44567556746
B989584867B34B   ANNA          MEJIA                       VA     90008128486
B989612862B857   ASHLEY        VAIL                        ID     90010221286
B98973A345B396   MARIA         HERNANDEZ                   OR     90014943034
B9897828136122   JARRED        BROOKS                      TX     73548868281
B9898943297B98   JENI          LAPLANTE                    CO     39090649432
B989895455B396   ANGELICA      URIBE                       OR     90009239545
B9898A66536122   SUSAN         PALMER                      TX     90014060665
B989922125B327   FLOYBA        WARE                        OR     90009652212
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2294 of 2350


B989B1A2555959   SAUL         PENALOZA                     CA     90005621025
B989B47A25B327   MELANIE      WHITE                        OR     90011604702
B989B74155B396   KATELYN      WALDEN                       OR     90000597415
B989B777355953   AURELIANO    GRANADO                      CA     90015127773
B98B2163331639   JOSEPH       ARAGON                       KS     90006391633
B98B225855B573   DANNY        BROOKS                       NM     35010962585
B98B237455B396   SULAIMAN     ZAINEL                       OR     44552423745
B98B238862B271   JOSEPH       MATHURIN                     DC     90014873886
B98B267A17B489   STACEY       ENOCH                        NC     11024246701
B98B29A5276B52   LINDA        JOHNSON                      CA     46067939052
B98B362518B231   CHRISTINA    MCSWEENEY                    VT     90015446251
B98B526A836122   ANITA        RAMIREZ                      TX     90003422608
B98B52A3955953   GABRIELLA    FERNANDEZ                    CA     90015022039
B98B6A3A393727   THOMAS       MOORE                        OH     64593520303
B98B7262236122   JANIE        PEREZ                        TX     90008692622
B98B7292355953   CESAR        MARTINEZ                     CA     90015042923
B98B742622B857   MARIA        MIRALRIO                     ID     42014654262
B98B776A793727   DAVID        BOOTES                       OH     90015087607
B98B876733B352   DANIEL       GARCIA                       CO     90008277673
B98B9277755959   MAYRA        DIAZ                         CA     90011862777
B98B977822B259   ANTOINE      BROWN                        DC     81004037782
B98B9A9195B327   EDGAR        IBOA                         OR     44537750919
B98BB36369712B   ABDULRAHAM   AHMED                        OR     90009753636
B98BB3A5836122   AMALIA       HERNANDEZ                    TX     90014003058
B98BB558476B52   LETECIA      LOPEZ                        CA     90003525584
B98BB64147B464   LESLIE       NEWTON                       NC     90001146414
B991127394B259   RAQUEL       DE LA CRUZ SOTO              NE     27033892739
B9911279891398   KATHERINE    MULLINS                      KS     90013152798
B991196A841229   JOHN         STUCK                        PA     51063099608
B991243242B857   JOANNA       GARCIA                       ID     90005304324
B991258922B271   DOMINIQUE    LEE                          DC     90006325892
B991266263B326   ANEL         VASQUEZ                      CO     90004936626
B991275A34B259   RUTH         WEEKS                        NE     27090487503
B991329A376B52   VISHAL       SHAH                         CA     46096412903
B991341442B271   CHRISTINA    GOMEZ                        DC     90013904144
B991392674B259   DANIEL       RIEF                         IA     90014669267
B9914A29772B62   JOSE         TORERES                      CO     90012720297
B9914A34555959   MANUEL       ALVAREZ                      CA     90015020345
B9914A4325B396   RHONNY       MASTNE                       OR     44586830432
B9916271772B62   KELLY        PATTERSON                    CO     33053402717
B9916545A9712B   JUAN         FERNADEZ                     OR     90014065450
B9916849285927   NATHAN       JENSEN                       KY     67095008492
B9917311991582   NONIE        MENDEZ                       TX     90011823119
B9917499893727   PEDRO        TARIRA                       OH     64506864998
B9917847276B52   ASHLEY       OJEDA                        CA     90013938472
B9917A4514B259   IDA          CRAWFORD                     IA     27049480451
B9918784331688   APRIL        POWELL                       KS     90005607843
B991927394B259   RAQUEL       DE LA CRUZ SOTO              NE     27033892739
B99195A695B327   RICHARD      FELLER                       OR     90012055069
B991B753171231   PAULA        BEDFORD                      IA     90009067531
B991B88A536122   GEORGE       ROSALES                      TX     90005138805
B9921A17A85927   CONCEPCION   TAPIA                        KY     67015290170
B9923819776B52   FERNANDO     SOSA                         CA     46054378197
B9923879A2B857   FRANCISCO    GARCIA                       ID     42005878790
B9923971A72B69   MARIA        DE LOS ANGELES               CO     90015149710
B9924314293727   LATOSHA      SMITH                        OH     90013393142
B9924511871964   TIFFANY      BROWN                        CO     90004855118
B9924545172B62   RAUL         MARTINEZ AGUILAR             CO     90013585451
B992491672B857   KANDY        ELAM                         ID     42049519167
B992532535B327   MANUEL       ROJAS RODRIGUEZ              OR     90011503253
B992695434B259   AMY          ROWAN                        NE     90014449543
B992698835B396   RICHARD      CARTER                       OR     90013529883
B9926A85472B62   ADRIANA      HENANDEZ                     CO     33041950854
B9927563755959   NICOLE       MORGAN                       CA     90009075637
B9928337893727   PAYGO        IVR ACTIVATION               OH     90009653378
B9928857631639   JESSE        STYLES                       KS     90013568576
B99289A5433625   JOHN         TUCKER                       NC     90011639054
B9929274236122   KEVIN        TOLLE                        TX     73541442742
B992987A255959   MERCY        RAMOS                        CA     90005598702
B992B462254139   YANET        HERNANDEZ                    OR     90014804622
B992BA3A77B489   QUAJANNIA    POOLE                        NC     90003650307
B993125434B259   TRENTIN      VACHAL                       NE     90015012543
B993151415B396   KIMBERLY     NENE                         OR     90012295141
B9933A49A72B69   ANGELICA     DURAN                        CO     33074790490
B9934684672B69   GERMAN       GORDILLO                     CO     90014816846
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2295 of 2350


B993685645B549   NORMA        GUTIERREZ                    NM     90014908564
B99371A5691936   TERRY        RAING                        NC     90007951056
B99382A6A72B69   DANIEL       MARTINEZ                     CO     90013992060
B993839AA31688   JOSUE        ALCALA                       KS     90008063900
B9938412671929   LAVERNE      VIGIL                        CO     32060864126
B9938A46585927   ASHLEY       DAVIDSON                     KY     90005750465
B993912982B271   KENYA        UTLEY                        DC     90003391298
B993927947B489   CHRIS        SADDLER                      NC     90011282794
B99394A165B396   ARIE         MARTIN                       OR     44577894016
B9939668191582   OFELIA       MADRID                       TX     90001446681
B9939792993758   DAVID        MADDEN                       OH     90006047929
B99398A717B34B   VICTOR       TORRE                        VA     90011358071
B993B964393758   MAUREEN      LAWLOR                       OH     90004289643
B9941993A2B857   RICHARD      KIRKMAN                      ID     90010099930
B9942989A47832   KELLY        JACKSON                      GA     90001139890
B9943132993758   CANDICE      WATKINS                      OH     90014751329
B9943491A31688   HENRY        WOMACK                       KS     90011494910
B994381A736122   CYNTHIA      CANTU                        TX     73513088107
B9944178772B69   MICHELLE     LITTRELL                     CO     33062621787
B994451415B396   KIMBERLY     NENE                         OR     90012295141
B9945177976B47   BEATRIZ      MANDRAGON                    CA     90011471779
B9945238593727   JACOB        BALLARD                      OH     90000622385
B994529835B396   CHASE        BARNES                       OR     44593262983
B994544A22B857   GREGORY      SPRINGER                     ID     90006404402
B994564A172B69   JOSE         OVANDO                       CO     33008946401
B994617332B857   CHANDRA      SARKI                        ID     42012331733
B9946A1832B271   GARY         ADAMS                        DC     90012810183
B994779955B396   NATHEN       DECRISCIO                    OR     90013197995
B9947822336122   BRITTANY     GOMEZ                        TX     90008268223
B9947A2115B327   DERIK        MORGAN                       OR     44556660211
B994814625B396   COURTNEY     HAVENS                       OR     90002121462
B9948467241229   DEBORAH      GRUBER                       PA     90009654672
B9949278A85927   GUADALUPE    GARCIA                       KY     67018282780
B994935A15B333   DOUGLAS      ANDERSON                     OR     44505123501
B994938864B521   DANIEL       COURTNEY                     OK     90014103886
B9949A1554B259   CHRISTINE    ROMERO-VERA                  NE     90005600155
B9949A38893758   ROBERT       STROZIER                     OH     90002340388
B9949A66271944   VICTORIA     STONE                        CO     32054330662
B9951282836122   CAROL        DE LA CRUZ                   TX     90012852828
B9952119172B69   JESUS        ARROYO                       CO     90015201191
B99525A8A55959   ELIZABETH    ARRO                         CA     90013235080
B9953895376B52   ANGEL        HERNANDEZ                    CA     90014438953
B9954559393738   TENIKA       CRUSOE                       OH     90011895593
B995535A22B271   DELL         JOHN                         VA     90012853502
B9955A62136122   MARIA        CHAVEZ                       TX     90006710621
B995675212B857   EBONY        JORGENSEN                    ID     42049517521
B9956937324B64   OMATA        HARRIS                       DC     81067989373
B9956997672B69   ANA          CUARA                        CO     90012759976
B99579A5A7B489   SANTRICE     COCHRAN                      NC     90007249050
B9958212972B69   JEANINE      WRIGHT                       CO     90009122129
B9958421A76B58   BRUV         CHADWICK                     CA     90005094210
B9958933893758   JAMES        BOYER                        OH     64583979338
B995954564B259   JOSE         SANCHEZ                      NE     27053965456
B9959945341229   COLETTE      JONES                        PA     51082589453
B995B646576B52   JESUS        MARTINEZ                     CA     46015176465
B995B762424B64   LEONDRA      BEST                         DC     90014717624
B995B955A93758   RANDALL      RHODES                       OH     90014159550
B995BA1A35B573   EULALIO      ABEITA                       NM     90012680103
B9961A11855959   SILVIA       GOMEZ                        CA     90011380118
B99622A6784582   TARIQ        ABDUL                        NY     90015462067
B996351965B327   TERENCE      MIDDAUGH                     OR     90012605196
B996387A193758   JOSEPH       MOKAS                        OH     90013858701
B9964162676B52   TERRA        VERRELA                      CA     90011911626
B996569A58B152   DAVID        WORTHINGTON                  UT     90003596905
B9965889943236   JOEL         LOPEZ                        TX     90015498899
B996619575B327   FELICITA     DANIELS                      OR     44546971957
B996658988B186   SHARI        FOULGER                      UT     31092705898
B996671A972B69   PAUL         LOUS                         CO     90014497109
B9968752276B52   JAVIER       RIOS                         CA     46030157522
B9969419591965   MEGAN        WHEELER                      NC     90012184195
B996B9A7231688   MARY         WARD                         KS     22077599072
B997131655B327   NADEA        CERREZU                      OR     44505753165
B9971795472B81   KATHY        PETERSEN                     CO     33090257954
B9972647593758   JASAMINE     WHITE                        OH     90001396475
B9972983831639   ROIKY        LOUIS-JACQUES                KS     90012309838
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2296 of 2350


B997343165B396   BARNETT      TRACY                        OR     44534564316
B997385615B327   DAVID        MALBERG                      OR     90014758561
B9974315936122   JANICE       SODIA                        TX     73538943159
B99754A7377977   AGUSTIN      TORRES                       IL     90015504073
B9976729893758   YVETTE       MORGAN                       OH     64539927298
B9977335A93758   RAYMOND      WAYMIRE                      OH     90012383350
B9977595161977   KRAIG        ROBIN KINGSLEY               CA     46014005951
B997924A12B271   MANUEL       SANCHEZ                      DC     90015182401
B99797A5872B62   ANTONIO      CASTANEDA                    CO     90009797058
B9979915576B52   YASMIN       HERNANDEZ                    CA     46051829155
B9979A94131468   NICOLE       DAVIS                        MO     90012720941
B997B321A2B271   SHAUNICE     CRAMPTON                     DC     90003403210
B997B379576B52   ISANEL       GARICA                       CA     90013943795
B997B482551341   CHRISTINA    JOSEPH                       OH     90001144825
B997B789172B69   CARLOS       RAMIREZ                      CO     90009477891
B99817A1A36122   KAYLA        JARCHOW                      TX     90010587010
B99819A3176B52   TERESA       MENDOZA                      CA     46083379031
B9982119741229   MARK         STEPHANOVIC                  PA     51063151197
B9982525776B52   BRYAN        LOPEZ                        CA     90013025257
B99835A3293758   CONITA       FLOYD                        OH     64543045032
B9985114855959   MARIE        CORTEZ                       CA     90015371148
B998553843B326   KING         MEDLIN                       CO     90010775384
B998561165B396   BARBARA      JACOBSEN                     OR     90012706116
B9985852972429   JOSEPH       HENRICKS                     PA     51094018529
B9985A7875B327   DAWN         NEARHOOD                     OR     90010460787
B9986125593776   CHARTY       VANGORDEN                    OH     90001721255
B9986449191872   LAQUITA      CARTER                       OK     90009994491
B99868A4672457   CARMEN       THOMAS                       PA     90011368046
B9986AA584B259   MICHAEL      REIDA                        NE     90008950058
B998748A691549   RAFAEL       RAMIREZ                      TX     90011404806
B998771428B12B   WADE         SCHOFIELD                    UT     90010577142
B99881A8441229   VERONICA     BUTLER                       PA     90005731084
B998851A793758   AMANDA       HAWKINS                      OH     64555085107
B9989358293758   MARCHA       COSPY                        OH     90008103582
B9989548751339   KATHY        OSDON                        OH     90002405487
B9989867A92842   SONIA        WETMORE                      AZ     90014658670
B998B12A24B259   KIMBERLY     UITTS                        NE     27040761202
B998B14225B356   DANYA        OCHOA                        OR     90009751422
B998B59364B285   DEREK        MCCABE                       IA     90005865936
B999236A772465   TERRENCE     LASTER                       PA     51035163607
B99933A994B259   EUWANDA      JENNINGS                     NE     27033023099
B9993552672B62   LAILANI      DEMARRIAS                    CO     90013885526
B9993569272B62   ALLISON      JONES                        CO     33037275692
B9994199155959   LAQUEDA      ALBERTY                      CA     90006111991
B999436592B271   KIESHA       REED                         VA     90014573659
B9994435172B62   ERICA        MARTINEZ                     CO     90015204351
B999614312B945   ELOY         HERNANDEZ                    CA     90006271431
B9996463355959   LUPITA       CORTEZ                       CA     48006134633
B9996497372B62   IVY          RYAN                         CO     90012844973
B99969A954B259   MARTIN       GOMEZ                        NE     90011539095
B9997432872B69   GENA         AYALA                        CO     33040794328
B9997882636122   BLAIR        HICKS                        TX     90014878826
B9997949676B52   LUIS         ANTONIO                      CA     90007039496
B9998515355959   ALBERTO      ONOFRE                       CA     90013235153
B9998976551325   STEVEN       DAVIS                        OH     90006149765
B999988555B54B   RYAN         TRUJILLO                     NM     35075088855
B999B248772B62   CHAVEZ       RAUL                         CO     90007842487
B99B178334B259   JOSHUA       THOMPSON                     NE     90013297833
B99B1799272B62   LAFAWN       LEE                          CO     33011557992
B99B1847276B52   ASHLEY       OJEDA                        CA     90013938472
B99B1967655959   RUTY         CHAVEZ                       CA     48084659676
B99B2626293727   MAKAYLA      ELLINGTON                    OH     90014076262
B99B286A155959   STEPHANIE    CARDENAS                     CA     48086458601
B99B51A5293758   DEL          HAMMOND                      OH     90014171052
B99B5696293727   J            RINEHART                     OH     64577836962
B99B621152B271   MIYAKO       GADSON                       DC     90014962115
B99B6223276B52   TERESA       SORIANO                      CA     90014282232
B99B6371772B69   GERARDO      DIAZ                         CO     90015263717
B99B7527A93727   JEFFERY      THACKER                      OH     64579045270
B99B7AA3955959   ADRIAN       RUIZ                         CA     90013920039
B99B877235B327   LESONDRA     HILL                         OR     44566467723
B99B9336372B69   DERON        JOHNSON                      CO     90009693363
B99B976983B326   DOUG         GANJE                        CO     90012817698
B99BB371936122   VICTOR       MARTINEZ                     TX     90009633719
B9B11498593727   ALYSSA       GOODWIN                      OH     90000224985
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2297 of 2350


B9B119A9885964   ALEX              VARVAS                  KY     90002869098
B9B1245152B941   ALFONSO           SYLVEIRA                CA     45033814515
B9B12816676B52   LUCINA            SOLIS                   CA     90012178166
B9B129AA65B396   MARCOS            CORDOBA                 OR     90009959006
B9B13976142332   DANYALE           WYRICK                  GA     90014599761
B9B1436852B227   SHARON            SANDERS                 DC     90007013685
B9B1452892B271   GRACE             HERRION                 DC     90013875289
B9B1554A72B271   NATHAN            HARKINS                 DC     90015005407
B9B1624215B327   SARAH             PETERS                  OR     90011802421
B9B1631519712B   SANTITN           MARIE                   OR     90005873151
B9B1694842B857   SCOTT             SLATER                  ID     90010459484
B9B17299293758   WILLIAM           WHITLOW                 OH     90009422992
B9B17442672B67   LARRY             LAMBERT                 CO     90002484426
B9B17611472B62   SONIA             AVILA                   CO     33042996114
B9B17A46736122   ARCELIA           MENDOZA                 TX     90013440467
B9B18498593727   ALYSSA            GOODWIN                 OH     90000224985
B9B1882A276B52   SARIMILCA         MORALES                 CA     46023018202
B9B18997955959   STEPHANIE         MARTINEZ                CA     90007639979
B9B19376255959   RUDY              HERNANDEZ               CA     90013283762
B9B1998983363B   GINA              TRENT                   NC     90014909898
B9B1B261671932   RYAN              SMITH                   CO     90009712616
B9B1B661393727   MICHAEL           DOUGHTY II              OH     64538086613
B9B1B86595B327   ROBERT            CORNFORTH               OR     90012088659
B9B21341993758   DUANE             BOODEN                  OH     90006203419
B9B2169685B356   LISA              PRADO                   OR     90009866968
B9B22528493762   EDWARDS           MIGNERY                 OH     90002455284
B9B23475472B69   ANTHONY           MUSE                    CO     90011244754
B9B2353A872B62   JULIAN            A GOMEZ                 CO     33036375308
B9B2421553363B   JAMILA            STOVER                  NC     90014912155
B9B2451245B544   BRENDA            LASH                    NM     90010435124
B9B25A22972B62   ARNULFO           CONTRERAS               CO     90011360229
B9B2636314B243   EUGENE            COTTER                  NE     90008123631
B9B26756136122   MARY              REYNA                   TX     90007967561
B9B2745225B396   JOSE DE JESUS     CORDOVA PEREZ           OR     90007554522
B9B27817985927   PRISCELLA         ROBINSON                KY     67098748179
B9B28463176B52   SACARIAS          TRUJILLO                CA     90013794631
B9B2856132B271   RUBIN             ASHMON                  DC     90014985613
B9B28849755953   RODELLE           REED                    CA     48092658497
B9B29525831688   BIANCA            PEREDA                  KS     22083035258
B9B29774972B62   ANDRE             HERRON                  CO     90013387749
B9B29889993758   LATREASE          JOHNSON                 OH     90014478899
B9B29A83155953   JUNIOR            SOLORZANO               CA     90012520831
B9B2B48653363B   TOMOROW           MIDDLEBROOKS            NC     90014914865
B9B2B734291329   LASHAUNDA         BYRD                    KS     90005737342
B9B2B798536122   KENNETH           NEWTON                  TX     90012627985
B9B32183561998   CONNIE            TRUC                    CA     90013801835
B9B3274158B141   PEDRO             ESQUIVEL                UT     31069967415
B9B32776676B52   MARIA GUADALUPE   PAMATZ                  CA     90014107766
B9B3338534B256   DENIS             MUTIIBWA                NE     90001723853
B9B3375815B396   KEVIN             ZIEVERINK               OR     90011587581
B9B3444385B396   JOSE              CARDENAS                OR     44531544438
B9B35335A5B327   KATHLEEN          WOLFE                   OR     90008943350
B9B35AA535B396   LLANA             COOPER                  OR     44584740053
B9B36192592871   KERI              DEHERRERA               AZ     90014881925
B9B36889351372   MONICA            PATRICK                 OH     66052328893
B9B3715873363B   CAROLINA          ALVAREZ MORALES         NC     12017311587
B9B3721152B271   MIYAKO            GADSON                  DC     90014962115
B9B37216936122   DOUGLAS           PARHAM                  TX     90003822169
B9B38232872B62   LUPITA            CASILLAS                CO     33091912328
B9B38578455959   JP                VILLAGOMEZ              CA     90013985784
B9B38825372B69   NORA              CHAPARRO                CO     33072848253
B9B3913A431688   JAMIE             GOODWIN                 KS     22062131304
B9B39425576B52   GIOVANI           AGUILAR                 CA     90015184255
B9B3B622A76B52   JOSE              SILVA                   CA     46075626220
B9B3BA15536122   JUAN              LOPEZ                   TX     90008430155
B9B42248193727   JASON             EVERS                   OH     90014172481
B9B42614972B69   JOSEPH            BURNS                   CO     90015026149
B9B42689693758   JOE               CASTON                  OH     90014106896
B9B426A9A57564   MICHAEL           CHAVEZ                  NM     90003566090
B9B4288932B271   BETTY             MILLS                   DC     81088978893
B9B44324293758   REESE             EVANS                   OH     90013133242
B9B44359372B69   GUADALUPE         DERAMOS                 CO     90012743593
B9B44A79A55938   BRANDYNN          MOORE                   CA     90012070790
B9B45848855959   ANGEL             ROMO                    CA     90013038488
B9B46134655959   URIVEY            MONRROY                 CA     90012781346
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2298 of 2350


B9B461A8A93752   WHITNEY       REDDENS                     OH     90005481080
B9B46487155953   ESMERALDA     CASTILLO                    CA     90002954871
B9B4727363363B   CHARLES       INGRAM                      NC     90014932736
B9B4798495B327   IDA           CALDERON                    OR     44571679849
B9B48894685927   LISA          WILSON                      KY     67004368946
B9B49391651347   MARIA         AKA                         OH     90009863916
B9B49439331639   SARAH         REED                        KS     90001664393
B9B4B261A5B396   ELIZABETH     DUNCAN                      OR     90013912610
B9B4B332393727   ALANTE        LINDSEY                     OH     90012483323
B9B51326843236   PAYGO         IVR ACTIVATION              TX     90010563268
B9B5263957B49B   CARLOS        MARTINEZ                    NC     90008306395
B9B5297852B271   MARTEACO      TAYLOR                      DC     81005949785
B9B5299285B327   ALBERTO       ZUNIGA                      OR     90006969928
B9B53183793743   MARKITA       JONES                       OH     90008051837
B9B53777372B3B   RHONDA        DURHAM                      CO     90003247773
B9B53853355959   JOSE          ZEPEDA                      CA     90010678533
B9B5453622B271   TASHEMIA      BEAL                        DC     90012545362
B9B54673472B62   ZACHARY       CAMP                        CO     90014176734
B9B5478783363B   MIRIAM        PENALOZA                    NC     90014927878
B9B55534776B3B   CAROLINA      TURRUBIATES                 CA     90003925347
B9B559AA755959   JOSE          RAMIREZ AQUINO              CA     48082749007
B9B5661A272B4B   JULIAN        CARDONA                     CO     90011926102
B9B5718A572B69   RAMIREZ       FERNANDO                    CO     33018251805
B9B58249293727   KEANI         GRAY                        OH     90007902492
B9B5833762B857   AUSTIN        RIOJAS                      ID     90004193376
B9B58439331639   SARAH         REED                        KS     90001664393
B9B5957533363B   TANYA         REYNOLDS                    NC     90014935753
B9B596A9772B69   FABIAN        CARMENORON                  CO     90011566097
B9B5B6A3372B56   ALESSANDRI    PEREZ                       CO     90000436033
B9B5B96687B334   KWAKY         AMEMAKALOR                  VA     81034659668
B9B61A64393738   DONYALE       WILCOXSON                   OH     90001380643
B9B61AA8785687   MICHAEL       SPENCER                     NJ     90004590087
B9B62314893727   TWANDA        STARKS                      OH     90012293148
B9B6237424B259   PARYS         JOHNSON                     NE     90014643742
B9B6284332B857   RADD          HORTON                      ID     90011628433
B9B63396936122   RUBEN         SALAS                       TX     90013883969
B9B63665972B69   DENNIS        GREGORY                     CO     90012306659
B9B6467617B489   NICOLE        JACKSON                     NC     90012066761
B9B6524984B585   ESTHELA       ROMO                        OK     90002602498
B9B65741372B62   NORA          DE LEON                     CO     33092827413
B9B6612A593752   SYLVANA       COOPER                      OH     64550731205
B9B6616933363B   ERIKA         LUEVANOS                    NC     90014941693
B9B66494A91974   ALEXANDRA     SHANNON                     NC     90011694940
B9B666A159712B   JASON         ANDRESS                     OR     90005926015
B9B6675442B857   MARY          FULGHUM                     ID     42003957544
B9B66A81355959   EDUARDO       CAMPOS                      CA     48054590813
B9B66AA6676B52   JERRY         LUCERO                      CA     90002080066
B9B67357172B69   HEATHER       DOUGLAS                     CO     33043083571
B9B6761AA36122   YURI          SANCHEZ                     TX     90010376100
B9B6835AA72B62   MARTIN        NATHAN                      CO     90013653500
B9B68424A36122   FELIPE        DIAZ                        TX     90010034240
B9B6937644B259   JULIUS        MICKEL                      NE     90014643764
B9B6949A93B176   EDWIN         MEDRANO                     VA     81041724909
B9B6978A43363B   PAYGO         IVR ACTIVATION              NC     90014937804
B9B69791355953   ANGEL         MADRID                      CA     90014167913
B9B69921243236   JESSICA       VONDRA                      TX     90014899212
B9B6B459A55953   JOHNNY        ROCHA                       CA     48063774590
B9B6B645555953   ALVIN         GAGE                        CA     90014166455
B9B6B671436122   SAVANNA       LOPEZ                       TX     90010916714
B9B73167861954   ELADIA        TEPETZI                     CA     90002161678
B9B7322415B356   BRENDA        NAVARRO-RAMIREZ             OR     90011642241
B9B7352592B271   RENAY         CORELY                      DC     90004885259
B9B735A2441229   VANESSA       CORBOY                      PA     90004615024
B9B74999A72B62   TAMMY         GALLEGOS                    CO     33073579990
B9B74A27593727   STEVEN        JENNINGS                    OH     90008390275
B9B7518483363B   CHRISTOPHER   ARMETT                      NC     90014981848
B9B75867641229   LATOYA        JONES                       PA     51009908676
B9B77759472B62   HECTOR        MENDOZA                     CO     33027917594
B9B77961255959   PEGGY         NEVAREZ                     CA     48044689612
B9B77A78893758   ABDALA        MOHAMMED                    OH     90010430788
B9B78421A3363B   ALMA          CABRERA                     NC     90014944210
B9B7888A776B52   ARMANDO       CORREA                      CA     90014378807
B9B78978A76B52   JAMES D       VASQUEZ                     CA     90014349780
B9B7951513363B   SUSANA        TORREZ                      NC     90014955151
B9B7958434B259   PAUL          MAHONEY                     NE     27014935843
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2299 of 2350


B9B7962625B396   MAMA                VERGA                 OR     90011246262
B9B79AA6776B52   JOSE                JUAREZ                CA     90012260067
B9B7BAA9455953   SEBASTIAN           HUARACA               CA     90008300094
B9B8115355B327   ANDREW RAY KENETH   FEIGHTNER             OR     90010131535
B9B81341A55959   CHISTIAN            AVALOS                CA     90014633410
B9B81359636122   TODD                OHLSON                TX     90015143596
B9B81422A4B259   NICOLE              PETERSON              NE     90003574220
B9B81467151391   DARELL              OLIVER                OH     90007324671
B9B81487155953   ESMERALDA           CASTILLO              CA     90002954871
B9B8154963363B   EDWIN               FLORIAN               NC     90014955496
B9B81766772B69   JESUS               CRUZ                  CO     90012767667
B9B8197237B34B   SANTOS              MENDES                VA     81020399723
B9B81A7335B534   DELIA               SALCEDO               NM     90001430733
B9B82313593758   ADAM                ARCHER                OH     90006753135
B9B8245573363B   GRACE               CRUM                  NC     90011374557
B9B82823855953   DAVID               CABASOS               CA     90011228238
B9B8294812B271   CIARRA              GOODE                 DC     90012999481
B9B8295A291257   SHAKETA             DAVIS                 GA     90002969502
B9B83792836122   JENNIFER            CUELLAR               TX     90014167928
B9B83848855953   JOEL                GALLARDO              CA     90014168488
B9B8392774B259   JASON               WALKER                NE     90014869277
B9B83A91697B29   FLOR                GONZALEZ              CO     90012660916
B9B8493355B799   NORBERTO            MORENO                MN     90013899335
B9B8496732B271   FERMILIANA          LOPEZ                 DC     90013629673
B9B8554625B333   ROBERT              SMITH                 OR     90000915462
B9B85947754122   CYE                 LARSON                OR     90015139477
B9B86197155953   JOSEFINA            GUERRERO              CA     90012911971
B9B86938731466   LARRY               GLASSON               MO     27512719387
B9B8824312B271   ANTHONY             FROST                 DC     81001992431
B9B88494A5B396   JOSE                CARLOS-GARCIA         OR     44540944940
B9B8858413363B   YOLANDA             ASCENCIO              NC     90014945841
B9B88789A91831   LEONARD             ARNOLD                OK     90010907890
B9B89111672B69   CHAU                TRUONG                CO     90014161116
B9B9173626196B   JESUS               CHAVEZ                CA     90014357362
B9B9177A372B62   JENNIFER            WATKINS               CO     90012727703
B9B92833955959   MARGARITA           LOPEZ                 CA     90012228339
B9B93813141229   MICHELLE            MAMIE                 PA     90004608131
B9B93839955953   CODY                CHRISMAN              CA     90012968399
B9B94279391329   DAVE                BENTON                KS     29053302793
B9B943A5572465   LAURA               HARRIS                PA     51053663055
B9B94635355959   DANIEL              DE PAZ                CA     90013286353
B9B94826672B62   RITA                ROBERTS               CO     33078798266
B9B9493AA2B857   CORINNA             LOGSDON               ID     42035399300
B9B94A9925B396   TYLER               GILES                 OR     90014540992
B9B9539A972B62   ANGEL               TORRES                CO     90013983909
B9B969A6793727   VINCENT             DOZIER                OH     90013189067
B9B96A99855959   ALBERTO             RANGEL                CA     90005590998
B9B97371576B52   LUCERO              VALENCIA              CA     90003493715
B9B9739A89712B   YVETTE              STENSON               OR     90013753908
B9B9755143363B   SHAUTEA             HOLT                  NC     90014695514
B9B9816455B573   SABRINA             DOMINGUEZ             NM     90010811645
B9B994A2724B28   JOSE                MORON                 VA     90009354027
B9B9955143363B   SHAUTEA             HOLT                  NC     90014695514
B9B99979576B52   SUSY                LOZOYA                CA     90013919795
B9B99A7A624B64   DEONTAY             STEPNEY               MD     90011060706
B9B9B387372B81   RENNE               PROSSER               CO     90002573873
B9B9B65A991222   VICTOR              CORONADO              GA     90005816509
B9B9B686531688   TEDI                BOWEN                 KS     22069096865
B9B9B77395B396   GLORIA              CATALAN               OR     44581137739
B9BB1679872B69   ROSE                ESPINOSA              CO     90013216798
B9BB241A421929   DAWN                CHAVEZ                IN     20509554104
B9BB3132393727   SHAMYRA             ALDERSON              OH     90011991323
B9BB3212693752   PEGGY               VANWINKLE             OH     64514552126
B9BB396722B271   JOHN                EMINA                 DC     90012679672
B9BB4248993758   DEWAYNE             TURNER                OH     90013132489
B9BB4421761994   LETICIA             LOPEZ                 CA     90010974217
B9BB4791A3363B   CIANNA              JOHNSON               NC     90014897910
B9BB5394A24B64   TODASHA             FOSTER                DC     90003943940
B9BB544A891874   MICHELLE            MARTINEZ              OK     21063454408
B9BB561429155B   ADRIANA             SZVETECZ              TX     90014526142
B9BB742168B14B   JONATHAN            SADOWSKI              UT     90013254216
B9BB749222B96B   NICOLE              BALLADAD              CA     90010184922
B9BB75A9655959   NONE                NONE                  CA     90009055096
B9BB7766572B69   EVELYN              MARGERUM              CO     90009607665
B9BB812632B271   DEONDRA             WALKER                DC     90008211263
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2300 of 2350


B9BB824324B259   JAMES        BILLER                       NE     27005152432
B9BB8268424B28   CESAR        GONSALEZ                     VA     90008522684
B9BB9A2195B396   RYAN         KRUTSINGER                   OR     90015260219
B9BBB714193736   RICHARD      EXON                         OH     90011407141
B9BBB8A5155959   PAULA        JIMENEZ                      CA     90013058051
B9BBBA2135133B   EDDIE        SHERMAN                      OH     66094690213
BB112544A93727   MONICA       WILLIAMSON                   OH     90005235440
BB11267382B857   MARISSA      HARIVILL                     ID     90008646738
BB11292835B269   DEIDRE       HAYES                        KY     68010699283
BB11326682B58B   DEUNDRIA     MARABLE                      AL     90014642668
BB114642755972   TATIANA      ZAMORA                       CA     90014416427
BB114684A93771   JENNIFER     BROWN                        OH     90007486840
BB114757A3363B   NATHAN       ERWIN                        NC     90011077570
BB11516397B489   IRINEO       SIERRA                       NC     90014751639
BB115445A93764   HEATHER      MURRAY                       OH     64558204450
BB1158A8193745   ANTHONY      TORY                         OH     90005238081
BB115912A91885   YOLANDA      GALDAMEZ                     OK     90010229120
BB115947A5B396   JESSICA      CLERK                        OR     44556519470
BB115A21597124   ANNABELLE    RIVERA                       OR     90014450215
BB115A7A172B62   JOHN         HART                         CO     33060240701
BB116446177569   EDWARD       SMITH                        NV     43084204461
BB116758797124   KATIN        ANTONIO                      OR     90008027587
BB118296697124   YULIANA      FIGUEROA                     OR     90013912966
BB118827555972   DORA         BARAJAS                      CA     90011938275
BB11888447192B   STEVE        YATES                        CO     90012808844
BB119153172B62   SHERI        PARADISE                     CO     33015791531
BB119248454B94   RENEE        BROWN                        VA     90002262484
BB119475784327   JUDY         HYMAN                        SC     19091964757
BB119477631639   BRIAN        KEEN                         KS     90012024776
BB119638372B69   MIGUEL       MENDOZA                      CO     90000506383
BB11B133331639   ALMA         AMAYA                        KS     90014431333
BB11B46A69194B   DARIUS       BLUE                         NC     90002554606
BB11BA3815B265   SAMANTHA     SHEPHERD                     KY     90014650381
BB11BA6417B489   YASMINE      HOOD                         NC     11053550641
BB121139193751   TAMARA       KELLEY                       OH     90009491391
BB121691A72B4B   HECTOR       DE LUNA                      CO     90013646910
BB121A51631639   STEPHANIE    HACKETT                      KS     90013820516
BB12252357B489   DILCIA       POLANCE                      NC     90003765235
BB122965491257   NAKIA        GARCIA                       GA     90013339654
BB122A9417B393   MANUEL       REYES                        VA     81061170941
BB12399A83363B   GENARO       HERNANDEZ                    NC     12089099908
BB124255A5B269   BETTY        OGLESBY                      KY     90013402550
BB124774124B64   ROBERTA      WILES                        DC     81016277741
BB124A1AA54B3B   MARYLISA     BALLARD                      VA     90006570100
BB125122291978   RODNETTA     GILL                         NC     90012391222
BB125253993771   STEVEN       DELAFUENTE                   OH     64588152539
BB1253A3593751   ASHLEE       GOINES                       OH     90006973035
BB125485285836   AMY          POTTS                        CA     90014494852
BB125A21431639   DANIEL       STONECHIPHER                 KS     90014540214
BB125A2A89194B   TYSHELLE     MELTON                       NC     90015090208
BB125A76491978   TRACY        CREWS                        NC     90014410764
BB125A76554B94   SHARAZ       ISMAIL                       VA     90012860765
BB126214293727   ANTHONY      CHAMBERS                     OH     90012642142
BB12628645B548   PHILIP       HAYES                        NM     90009922864
BB126359291978   SHARON       BOBBITT                      NC     90014193592
BB12637A791257   EARTHA       WALCOTT                      GA     14560403707
BB126399472465   AMY          VILLARREAL                   PA     90004583994
BB126754785836   DALE         ELLIOTT                      CA     90010707547
BB1269A585B168   LATONNA      MCDONNELL                    AR     90007789058
BB126A12393727   RICKY        HALL                         OH     90012620123
BB126A9242B857   TYLER        CAMPBELL                     ID     90013220924
BB127147776B5B   LISA         LORIGAN                      CA     90006751477
BB12742355B265   TERRY        DUFF                         KY     90014754235
BB1274A578B12B   JENNIFER     TODD                         UT     31005814057
BB127595772465   LENORA       HUMPHRIES                    PA     90011855957
BB127696693745   ANDREW       GILBERT                      OH     90013776966
BB127865491257   GARRETT      LEWIS                        GA     90015578654
BB128238347942   MARCUS       WADE                         AR     90001342383
BB128374972B62   JORGE LUIS   ARANDA IBARRA                CO     90013193749
BB128751793727   CHRISTINA    WHITMER                      OH     64523977517
BB12918433363B   LATISHA      LITTLE                       NC     90011091843
BB12932685B269   JASMINE      MURPHY                       KY     90014873268
BB129472593745   ROBERT       CLINE                        OH     90013594725
BB129633176B27   AIOTEST1     DONOTTOUCH                   CA     90015116331
BB12988363363B   CRISTAL      COUTINO                      NC     90013088836
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2301 of 2350


BB129967976B27   HEATHER      SANCHEZ                      CA     90001479679
BB12B31329194B   KAM          PU                           NC     90013043132
BB12B51A772B69   ERNEST       BRADLEY                      CO     33058615107
BB12B69175B327   BRTTANY      WARLICK                      OR     44534666917
BB12B944A93752   LYNDSEY      STAMPER                      OH     64569979440
BB131589291257   BRIDGETTE    RIOU                         GA     90012225892
BB13192112B26B   TERRENCE     WILLIAMS                     DC     81062479211
BB131A7867B489   ALICIA       FREEMAN                      NC     90014740786
BB132268576B3B   NEYDI        ARAGON                       CA     46002352685
BB13236738B12B   PAUL         BARNARD                      UT     90012723673
BB13238955B265   TERESA       HUFF                         KY     68037523895
BB13271165B327   HERIBERTO    HERNANDEZ PEREZ              OR     90001707116
BB132A63576B27   EMILIE       HOOK                         CA     90013270635
BB133253993771   STEVEN       DELAFUENTE                   OH     64588152539
BB133358593752   WHITNEY      THOMAS                       OH     90012853585
BB13345178B12B   MARY         KELLY                        UT     90012344517
BB13367755B269   MICHAEL      STANFORD                     KY     68076796775
BB133821141223   SHARNELL     GARNER                       PA     90005448211
BB13393A872465   RACHAEL      CERTICH                      PA     90010209308
BB134295961825   BRIAN        WICKS                        IL     90015602959
BB134651291257   ERIN         MELENDEZ                     GA     90012386512
BB13537A641286   APRIL L      WALKER                       PA     90004843706
BB135788993771   KENNITH      NAPIER                       OH     90012237889
BB135987176B27   LIBORIO      RAMOS                        CA     46064709871
BB1362A3493752   JOHN         MCMAHAN                      OH     90010922034
BB13639965B269   GREG         MCCORMICK                    KY     90013293996
BB137117A5B327   MARK         BLAYLOCK                     OR     44534741170
BB137396A72B62   ERIC         STAMPER                      CO     90012813960
BB137A81572B62   ALEX         RUBY                         CO     90004770815
BB13842923363B   PAUL         CEISWICH                     NC     12016614292
BB138432493771   APRIL        WAGNER                       OH     90008974324
BB13848445B356   MIKHAIL      YASINSKIY                    OR     44560974844
BB13939475B269   JOHN         DOE                          KY     90001123947
BB139964A72B69   RENE         RAMIREZ                      CO     33014149640
BB13B47A893745   KIMUREY      MILES                        OH     90007844708
BB13B81222B941   NORMA        LOPEZ                        CA     90014278122
BB13B8AA52B857   NICOLE       MCGILVREY                    ID     90014158005
BB1421A315B265   CHARLES      ALLEN                        KY     90011501031
BB142A2965B399   JOAQUIN      MONTESINOS                   OR     44029470296
BB14347725B124   ROBERT       LEE                          AR     90015114772
BB143534A77364   NANCY        PENA                         IL     90001385340
BB143562891978   NAQUASIA     BLOUNT                       NC     90013155628
BB143634551332   ANDREA       GANSHEIMER                   OH     90012446345
BB143737172B94   JANIE        VOGT                         CO     90005117371
BB143776485927   SHANE        WOODS                        KY     90002697764
BB1441A155B396   LOREN        ASLAND                       OR     90010771015
BB144271257133   PABLO        ZAMBRANO                     VA     90005652712
BB144873293752   CORY         WILKS                        OH     90013628732
BB14515118B12B   JAMAL        GOODE                        UT     90013611511
BB145243A41229   CHANDA       HARRISON                     PA     90004242430
BB145364493751   ROCHELLE     HORTON                       OH     64547333644
BB145A43A55972   ARMANDO      ZARAGOZA                     CA     90009130430
BB145A48924B64   VIOLA        MIMMS                        VA     90014520489
BB146171185927   CONCEPCION   DEL RIO                      KY     67035521711
BB146687372B62   MAX          KUSTUMZ                      CO     90001196873
BB147578972B44   OMAR         OCAMPO                       CO     90006865789
BB1475A2261925   ERICK        VEGA                         CA     90009395022
BB148219176B27   NANCY        GURROLA                      CA     46043442191
BB14887145B383   TIM          GOYER                        OR     90002588714
BB1493A4993752   JASON        MITCHEL                      OH     90006153049
BB1493A562B941   TRINA        PRICE                        CA     90008203056
BB149866193758   TOM          PAINTER                      OH     64535738661
BB149887A97B59   CHRIS        GARCIA                       CO     90011798870
BB149986272B44   THERESE      A WILBURN                    CO     90000359862
BB14B4A425B269   MIKE         JONES                        KY     90014354042
BB14B63939194B   SHERRON      HINTON                       NC     17060166393
BB14B759381579   LUIS         GOMEZ                        IL     20598587593
BB14B768476B27   LUIS         HERNANDEZ                    CA     90010737684
BB151159A93751   RACHEL       STRADER                      OH     64514301590
BB151317376B27   DANIEL       GRANADOS                     CA     46016003173
BB15137A772B69   EUTIMIA      MARTINEZ                     CO     33053773707
BB151A35977362   DAVID        TORESS                       IL     90014830359
BB151AA413363B   MARCELLA     DULIN                        NC     90014020041
BB152128741223   JAMES        DIRLING                      PA     90013111287
BB152624893745   RAULAND      POLLARD                      OH     64509936248
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2302 of 2350


BB152884676B27   TISON        WHEELER                      CA     90013798846
BB152A7368B12B   FLACKMAN     RICHARD                      UT     31013800736
BB152A9415B269   RACHEL       CANINE                       KY     90014620941
BB153123161994   MARIA        GONZALEZ                     CA     46000111231
BB153481772465   JOCELYN      PEER                         PA     51041224817
BB15349A42B271   CHRISTINA    HARRIS                       DC     90002114904
BB1536A155598B   ERICK        GOVE                         CA     90013406015
BB1546A1331639   CHAROES      MILLER                       KS     90014936013
BB154766A5B265   DIANE        ALEXANDER                    KY     90000987660
BB154849493758   MARLYN       DILLINGSLEY                  OH     90010708494
BB154865193764   MINERVA      TEEGARDEN                    OH     64559168651
BB155317376B27   DANIEL       GRANADOS                     CA     46016003173
BB155518931639   DARLENA      DEMENT                       KS     90013355189
BB15583325B396   BARAK        DAVIES                       CA     90011248332
BB156635131688   MARSHALL     VOYLES                       KS     90007196351
BB156652755972   YESENIA      TORRES                       CA     49072816527
BB156828841229   YESHENIA     DIXON                        PA     51007798288
BB15713345B327   SOLEDAD      PINEDA                       OR     90012311334
BB157324872465   WALTER       BARCHESKI                    PA     51079423248
BB15733682B941   SHANET       RANGEL                       CA     45078453368
BB157493155972   RIGOBERTO    LOPEZ                        CA     49006694931
BB157694624B64   JOSE         RAMOS                        VA     81035506946
BB15778993363B   CRISTINA     MARTINEZ                     NC     12029397899
BB157829476B27   SKYLER       EICKLEBERRY                  CA     90013838294
BB157AA1893771   DONNA        STEWART                      OH     90014090018
BB15819635B265   MAC          LONDON                       KY     68044881963
BB158585847832   CHARLENE     DOZIER                       GA     90012975858
BB158919872B62   CARLOS       OROSCO                       CO     33052369198
BB159718393727   TYRUS        CARTER                       OH     90006077183
BB159741191978   JESENIA      SANTIAGO                     NC     90013937411
BB15983A25B327   YOAN         DIAZ                         OR     90003938302
BB15B245493752   ALFREDO      GENERAL                      OH     64576292454
BB15B623955979   JOHN         RECTOR                       CA     49003946239
BB15B8A5461941   ERNESTO      BATISTA                      CA     90001588054
BB161193993783   TERESA       MILLER                       OH     90001771939
BB161336A54B94   LESLIE       DUFFIN                       VA     90012983360
BB161544872B62   ZEFERINO     AQUINO                       CO     33049515448
BB161677691978   SHELLEY      SANDERS                      NC     90012856776
BB161714493758   TRAVIS       UNERWOOD                     OH     90009007144
BB162117472465   LEANNE       STIEF                        PA     90006781174
BB162639193751   JACOB        EBRITE                       OH     90014876391
BB16369147B489   ALBA         GRANADOS                     NC     90015146914
BB16371913363B   ROCIO        PEREZ                        NC     90013147191
BB164459331639   CLIFF        MCCART                       KS     22059884593
BB16473A87B443   DOREEN       GOVERO                       NC     11091397308
BB16477698B12B   LONIA        KERSEY                       UT     90012687769
BB16481A772B69   ADAM         SCHAFF                       CO     33084008107
BB16515174B564   DAVID        EASON                        OK     90014471517
BB165169993745   TONYA        STILGUESS                    OH     90005261699
BB165347791238   CHRISTIE     CONLEY                       GA     90009143477
BB16584555B356   CHRIS        EKMAN                        OR     90007618455
BB1661A1272465   JENNIFER     WAGGONER                     PA     90001361012
BB16624422B271   KISHA        JOHNSON                      DC     90009672442
BB166338A85836   FERNANDO     SANCHEZ                      CA     90013103380
BB166377793751   DANE         PRITCHARD                    OH     64558873777
BB167818772B69   RAMON        CANTOR                       CO     90015288187
BB167A7985B265   AMBER        MULLINS                      KY     90011090798
BB167AA2155972   JOHN         DAVIS                        CA     90009090021
BB1681A7554B94   THERESA      CROSS                        VA     90011851075
BB16834A94B272   CHRISTINE    MONTANYE                     NE     90009423409
BB168471631639   JESUS        DELGADO                      KS     90010014716
BB168A14191573   ARMANDO      ALANIS                       TX     90013970141
BB168A29691257   VICTORIA     SMITH                        GA     90010430296
BB16918737B489   JAMES        SMOUTHERSON                  NC     90005431873
BB16921A77B443   ROBERT       HARPER                       NC     90008572107
BB169389A8562B   DELORES      LEE                          NJ     90005703890
BB16B266693758   REGINA       GILLISPIE                    OH     90004232666
BB16B279161825   SHEILA       DAVIS                        IL     90015612791
BB16B326172B62   BEATRIZ      JAQUES                       CO     90013613261
BB16B47543363B   JAMIE        JOHNSON                      NC     90012004754
BB17145195B269   KIM          JEFFRIES                     KY     90011084519
BB171558291574   GUADALUPE    FAVELA                       TX     90007935582
BB17161319194B   JENNIFER     SPELLER                      NC     90002386131
BB171857185836   FELIX        ROMIGIO                      CA     46087108571
BB171991A72B22   DEBBIE       MAYA                         CO     90007709910
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2303 of 2350


BB171A6242B941   CINDY        CLAY                         CA     90002870624
BB172171393727   NATHANIEL    GREATHOUSE                   OH     64527431713
BB172522184373   TASHIMA      JONES                        SC     90004265221
BB173192793726   PATRICIA     HOWARD                       OH     90010611927
BB1732A332B271   ROSALYN      BYRD                         DC     90015302033
BB17375795B265   TAYMIKA      ROYSTON                      KY     68026807579
BB173916791978   CHISTINE     MCCLURE                      NC     90000399167
BB174178191978   LATRISHA     STRICKLAND                   NC     17025731781
BB174465793727   KYLE         GABBARD                      OH     90013254657
BB174499891592   MARTHA       GARCIA                       TX     75098674998
BB17497A731639   ANDRES       CAZARES                      KS     22082629707
BB174A17297124   ADRIANA      CARBAJAL                     OR     44009150172
BB174A58341229   CHERYL       WEAVER                       PA     90012550583
BB17523613363B   MELISSA      CURLEE                       NC     90014742361
BB17528875B269   MUNJI        AWAD                         KY     90006352887
BB17543372B857   BRANDY       WOOD                         ID     90008694337
BB175565955972   LEO          MIRANDA                      CA     90014815659
BB175566691884   NATHAN       WATIE                        OK     90004055666
BB1759A889194B   KALIA        CHANDANAIS                   NC     17057999088
BB1763A183363B   JASMINE      HUNTER                       NC     90014353018
BB17649292B941   MARIA        GONSALVES                    CA     90007374929
BB176759491257   BRIDGETT     SPENCER                      GA     90002827594
BB17683433B372   MIKE         BOULDEN                      CO     90012038343
BB177868891257   WYNESTER     BURKE                        GA     90014288688
BB177A54954B3B   ELISABET     ACONA                        VA     90004460549
BB17816277B489   ERICA        RODMAN                       NC     90010031627
BB178824255972   MARCELINA    REYES                        CA     90010778242
BB178A47676B27   SEAN         WILLIAMSON                   CA     90012180476
BB17914188B131   MARIA        VAZQUEZ                      UT     90001011418
BB179237997124   LAURA        PEREZ                        OR     44082102379
BB1792A8885836   LAURA        JENNINGS                     CA     90011922088
BB179897A93745   FRANCO       LIVINGSTON                   OH     90000708970
BB17B34867B449   MYRON        PARKER                       NC     11026983486
BB17B51493363B   JOHN         BAKER                        NC     90007505149
BB17B741572B62   LINDA        VELASQUEZ                    CO     33042397415
BB17B761693727   SALLY        BOWEN                        OH     64561387616
BB181295672465   SARA         FAIR                         PA     90010792956
BB181561976B3B   MIREYA       SHORT                        CA     90001775619
BB182384433635   LONEKA       GRAVES                       NC     90012703844
BB182649A93758   KELLY        JONES                        OH     90000586490
BB182843593745   THERESA      MYERS                        OH     64550988435
BB182856155972   PRIMITIVO    NAVARRETE                    CA     90008768561
BB183213293751   SARBJEET     KAUR                         OH     64514512132
BB183265785836   IGNACIO      SANDOVAL                     CA     46001022657
BB1837A675B265   JAMES        CLEMENS                      KY     90013017067
BB18381833363B   PAM          GO HAM                       NC     90013968183
BB183968441223   MONICA       OAKLEY                       PA     90010059684
BB183A76741229   EDWIN        CYRUS                        PA     51003450767
BB18481915B396   WILLOW       MOON                         OR     44556468191
BB18511785B265   LATOSHA      FOREE                        KY     90014241178
BB185197593758   SAUL         HERNANDEZ                    OH     90012741975
BB185233476B27   ANTONIA      ARRAZOLAQ                    CA     46015202334
BB185514185927   SHEILA       SHORT                        KY     67034555141
BB1855A1993727   WILLIAM      HENSLEY                      OH     90012895019
BB18583A772B69   JOSE         SANTANA                      CO     33015908307
BB185959493771   ANN          SAYRE                        OH     90013699594
BB185962A72B62   HEIDI        VIRGIL                       CO     33078049620
BB1859A4497124   BARBARA      AVALOS                       OR     90002759044
BB1862A585B269   DEJARA       JOHNSON                      KY     90010212058
BB18643A27B322   MARTHA       HURTADO                      VA     81062354302
BB186533593771   JENNIFER     SODER                        OH     90014745335
BB1866A8376B3B   KEN          VU                           CA     90001886083
BB186721754B3B   DIANDRA      KEANE                        VA     90010587217
BB1869A1131639   THEODORE     WIESMER                      KS     90010129011
BB18747572B941   JESUS        AMATECO                      CA     90014344757
BB188328841229   JOHANNA      WEIMER                       PA     90004243288
BB18877A17B489   CHRIS        SMITH                        NC     11043527701
BB188A3212B883   BILLY        FOX                          ID     90012070321
BB188A79133626   JUAN         GARCIA                       NC     90001920791
BB189525793751   ANGELA       PETERS                       OH     64572795257
BB189946372B62   DESIREE      HERNANDEZ                    CO     90009229463
BB189A9198B155   STEPHEN      SILVER                       UT     90007690919
BB18B324A91554   MELODY       DUNN                         TX     90012723240
BB18B536A2B857   JOSE         JOSE                         ID     90009985360
BB19153883B352   REGINA       MOSS                         CO     90007345388
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2304 of 2350


BB191765254B94   CLAUDIA      BUESO                        VA     90011317652
BB19193695B396   DAVID        CARENDER                     OR     90014839369
BB1919A3831668   EARL         SANDERS                      KS     90009079038
BB192732941229   PAUL         SOGA                         PA     51093557329
BB1929A7597124   JAVIER       LUNA                         OR     90012729075
BB192A5A855972   PATRICIA     DUARTE                       CA     49035270508
BB193428691978   EDITH        FLORES                       NC     90011884286
BB193616355972   LINDA        SANTILLAN                    CA     90002906163
BB19366928B12B   ELENA        SANTHEZ                      UT     90013646692
BB193684633635   NATASHA      CHEELEY                      NC     90009496846
BB194198672B69   DAVID        RAINEY                       CO     90010111986
BB19432242B941   DOMINIQUE    SLAY                         CA     90002403224
BB194437372B62   FRANK        ESCATEL                      CO     33032024373
BB194A93A9194B   LATOYA       CLEMONS                      NC     90013170930
BB195149472B62   MILTON       GARCIA                       CO     33029651494
BB19546345598B   LUZ          ARAGO                        CA     90011294634
BB195571772B69   WILLIAM      TIMOTHY                      CO     90009715717
BB195598293745   LOUISE       HUDKINS                      OH     64591315982
BB1956A8693752   ADRIAN       HARRISON                     OH     90000866086
BB19683385B327   REYNA        HOGAN                        OR     44586548338
BB197279793752   AMY          COLVIN                       OH     90010922797
BB19732845B368   STEVEN       BERTRAM                      OR     44510443284
BB197522793745   WENDY        BROWN                        OH     90013455227
BB197732557134   KAMALUDIN    SOBOURUDIN                   VA     81083537325
BB197A23393727   KAYLA        WILLIAMS                     OH     64500590233
BB198224293758   MELINDA      WELLS                        OH     90010982242
BB198247654B94   JAMELL       SHOWELL                      VA     90012782476
BB198363241223   GIBRAN       ZEHER                        PA     90010063632
BB1987A745B269   TEARNY       BAKER                        KY     90013707074
BB1988AA193771   JENNIFER     HOPKINS                      OH     64573498001
BB198A5543363B   LLAYA        MICHAEL                      NC     12088980554
BB198A7A22B941   STEPHANIE    GARCIA                       CA     45016610702
BB19928357B443   ANDRES       FUENTES                      NC     90001272835
BB199617284373   MARY         BECKER                       SC     90004266172
BB199694233647   AMANDO       MARTINEZ                     NC     90014666942
BB19979A472B69   CHARLES      REESE                        CO     90013767904
BB19B219A91257   CATHERINE    POWELL                       GA     90014402190
BB19B364454B94   SEAN         MAJOR                        VA     90014913644
BB19B466793752   SANTIYA      COPPER                       OH     90002554667
BB19B899A93727   DYRONNA      WILCOX                       OH     64593928990
BB1B1137493745   KIISHIA      MORRIS                       OH     90014711374
BB1B133A45B269   SANDRA       GRAHAM                       KY     90009643304
BB1B143345593B   DEREK        YBARRA                       CA     90007904334
BB1B1436A55994   JEREMY       J CHAVEZ                     CA     90007654360
BB1B162A561925   JOSE         MUNOZ                        CA     90007446205
BB1B1845441229   NICOLE       KOSTER                       PA     51067358454
BB1B1A48131639   BRANDON      BEEDLES                      KS     90009760481
BB1B2175471966   JUHN         COOK                         CO     32096401754
BB1B2228A91978   KIM          DINH                         NC     90006202280
BB1B2987A5B396   PAUL         TAPIA                        OR     90006159870
BB1B299A63363B   MESHA A      DICKERSON                    NC     90006089906
BB1B342562B271   DELANO       CAVER                        DC     90013194256
BB1B3625385927   RAYMOND      SARTIN                       KY     67050886253
BB1B375149194B   JESSICA      BRYANT                       NC     90014307514
BB1B3779157444   AISEKAL      BYRD                         IN     90013287791
BB1B3863A93771   TAMARA       JONES                        OH     90013808630
BB1B421A38B133   ANGELA       CRANE                        UT     31074312103
BB1B4A88A93751   STEVEN       WRIGHT                       OH     90001970880
BB1B5144224B64   RACHELL      BROWN                        MD     90014011442
BB1B5181591978   VERONICA     SANCHEZ                      NC     90013021815
BB1B5838A81259   KAREEN       BASS                         KY     68058708380
BB1B5A1A93B352   ALISSA       SAUER                        CO     33065980109
BB1B629524B289   DAVID        MOHR                         NE     90009352952
BB1B637587B489   YADIRA       ANTONEZ                      NC     90008023758
BB1B6412355972   HELEN        HARGROVE                     CA     90004204123
BB1B64A8472465   SANDRA       RUSSELL                      PA     90001234084
BB1B6715631639   CLESSIE      COLE                         KS     22096787156
BB1B687A593771   CAITLIN      VESTAL                       OH     90011978705
BB1B6A4A872429   SHAWN        MCNAMEE                      PA     90013060408
BB1B7137741229   TIMOTHY      ZACCAGNINI                   PA     90004241377
BB1B7417A2B227   CHAD         CARTER                       DC     81084724170
BB1B743832B941   AMADA        PACHECO                      CA     90014174383
BB1B765325B327   JEROME       PARKER                       OR     44508596532
BB1B8278472B69   DENNIS       BERGESON                     CO     90003502784
BB1B8642754B94   ANTHONY      WARE                         VA     90015376427
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2305 of 2350


BB1B8853691863   LINDA                  JONES                 OK   21006268536
BB1B8A71A91257   CAITLYN                WYGANT                GA   14504960710
BB1B91A2A93775   LINDA                  BARR                  OH   90013241020
BB1B9311531639   FRANK                  WHEELER               KS   90008493115
BB1B9421193751   CLAUDIA                FRIAS VILLA           OH   90010104211
BB1B9787A8B12B   AMANDA                 BRENNAN               UT   90013577870
BB1B98A4824B64   KEN                    ACOPSLATSTE           MD   90015458048
BB1BB429476B3B   CIPRIANO               HERNANDEZ             CA   90009794294
BB1BB43475B327   OSAMAH                 IBRAHIM               OR   90008014347
BB1BB49A154B94   CHRIS                  BARNET                VA   90014614901
BB1BB78252B941   CHRISTOPHER            HULTMAN               CA   90013017825
BB211432A72465   LYNN                   LASKY                 PA   90011204320
BB211738393758   NIKI                   SWEENEY               OH   90010057383
BB2117A2A97124   ANDREA                 RAMOS                 OR   90014027020
BB21196728B12B   SIERRA                 TUCKER                UT   90013659672
BB211A7625B265   KEONDRA                GARRETT               KY   68030270762
BB21232493363B   LIZA                   JOHNSON               NC   90012143249
BB212489A5B393   LAURA                  JOHNSON               OR   90005684890
BB212979893727   MICHAELE               TAYLOR                OH   90011309798
BB212998A93727   MICHAELE               TAYLOR                OH   90013719980
BB21321A693764   CAROL                  NYE                   OH   90006842106
BB213888376B27   DALE                   WEBSTER               CA   90013598883
BB214149585836   PATRICIO               LORENZO               CA   90013761495
BB214158893758   SAMUEL                 MCDOWELL              OH   90003871588
BB214713A72B62   MARIA DE LOS ANGELES   LOTOYA CASTILLO       CO   90013037130
BB2149A8284825   JEN                    RODRIGUEZ             NJ   90015049082
BB215314333635   KEISHA                 HAMLETT               NC   90013413143
BB215736455972   LUZ MARIA              MONTOYA               CA   90014537364
BB215839393745   ORA                    SMITH                 OH   90014738393
BB2158AA43363B   THOMAS                 EUGENE                NC   90013748004
BB216138A93727   ADAM                   FALKNOR               OH   90015581380
BB216229993751   KIMBERLY               LOVETT                OH   90013812299
BB216686A93751   STEVEN                 RODGERS               OH   90014546860
BB217235693727   CHANDLER               PHILLIPS              OH   90002802356
BB217452276B27   BRIAN                  DIXON                 CA   90014824522
BB217672391592   JASPER                 OZUNA                 TX   90014566723
BB217812A93771   ALAMA                  DIOMANDE              OH   90011438120
BB217A1612B941   JAIME                  KUNKEL                CA   90002590161
BB21814877B443   LALI                   GURUNG                NC   90001731487
BB21817A622963   TARA                   CRAWFORD              GA   90014621706
BB218844172B69   LUCIA                  ARMENTA DE CASTILLO   CO   33000568441
BB218AA3A91978   AIDEE                  GONZALEZ MORALES      NC   90014730030
BB219159693751   BRITTANEY              ABERLE                OH   90015011596
BB21923759194B   CHRISTOPHER            SMITH                 NC   90012872375
BB21962172B941   ANNA                   VALDEZ                CA   90005306217
BB219642893745   CHRISTY                WILLIAMS              OH   64518336428
BB219888191978   DAMARIS                REYES                 NC   90012608881
BB2198A4A61825   THE                    MAN                   IL   90011258040
BB21B175493745   MONIQUE                LEWIS                 OH   90012881754
BB21B282193771   LASHAUNA               STRUNK                OH   90011852821
BB21B313954B94   SALOMON                LICONA BONILLA        VA   90014823139
BB21B59175B265   DEBRA                  SHIELDS               KY   68024435917
BB21B6A7597124   MATTHEW                THEELER               OR   44097256075
BB21B82745B396   ANGELINE               GANADEN               OR   90014608274
BB21B84AA93745   MONIQUE                LEWIS                 OH   90014628400
BB22128A591257   BETHUNE                EDWIN                 GA   90004892805
BB22133952B857   JULIA                  GRIGG                 ID   90009593395
BB2214A8572B62   THOMAS                 LUCERO                CO   90015344085
BB221637493745   CRISHENDA              CRAWFORD              OH   90007846374
BB221672A51378   LINDA                  PICKETT               OH   90011426720
BB221914485836   JOSEPH                 BAKALCHACK            CA   90007729144
BB221977676B27   RUFINA                 SOLANO HERNADEZ       CA   90013179776
BB222168497124   JOSE                   ROBLES                OR   90013991684
BB222261541229   JENIFER                CALTAGIRONE           PA   51068432615
BB2225A1793752   MANL                   BLANKS                OH   90011825017
BB223236872465   DANIEL                 BURNSWORTH            PA   90011062368
BB22338383363B   ELECIA                 DAVIS                 NC   12050463838
BB223386854B94   JENNA                  HELM                  VA   90011383868
BB223568176B27   MICHEAL                LANIER                CA   90014865681
BB223872491257   SHYANNE                KALTENBACH            GA   90015028724
BB223927493752   SHAKUR                 FLETCHER              OH   90014569274
BB22424182B271   TAMELA                 KNOTT                 DC   90012842418
BB2242A8772465   AMBER                  CHANDLER              PA   51011262087
BB22453845B265   JOSH                   CAMBRON               KY   90014575384
BB22491645B327   MOISES                 GARCIA                OR   44552499164
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2306 of 2350


BB225547193727   CHARLES      MARSHALL                     OH     90014425471
BB225626893738   MATIKA-MAE   RICE                         OH     90014756268
BB225772472B69   BALLIEN      ROBERT                       CO     90010267724
BB22584717B489   BIANCHA      BROWN                        NC     90005648471
BB2259A8191524   MAYRA        MACIAS                       TX     75089319081
BB22611A993751   SCOTT        LEWIS                        OH     90012591109
BB22658583363B   NYCOLE       YANEZ                        NC     12027765858
BB22676622B857   JOSE         CISNEROS                     ID     42042897662
BB22685A191978   CHAD         KEPPEN                       NC     90012308501
BB226949372B69   EVETTE       GONZALEZ                     CO     90006769493
BB226A3992B271   IRIS         LOPEZ                        DC     90000120399
BB226AA352B941   PAULA        LEIVA                        CA     90009120035
BB22729AA2B857   NIKKI        ETZLE                        ID     42088972900
BB22759637B443   SONYA        SPRINGS                      NC     11011335963
BB227721A85836   YADIRA       CARRILLO                     CA     90011847210
BB227941193752   FELICIA      BOLING                       OH     64520979411
BB227951A72465   SHEILA       SMITH                        PA     51050419510
BB228217284373   PATRICIA     TORRES                       SC     90006992172
BB228258376B27   CARLY        ROBSON                       CA     90011922583
BB22829135B231   TIFFANY      RANKIN                       KY     90013052913
BB22859192B857   GUADALUPE    CASAS PUEBLA                 ID     42059235919
BB22869985B396   ELISE        TANNER                       OR     90014616998
BB229781854B94   JOYCE        DICKENS                      DC     90005607818
BB229866493758   BRIAN        COLE                         OH     90015018664
BB22B254193752   DAVID        METCALF                      OH     64578292541
BB22B3A297B443   SERESA       MILLER                       NC     90012243029
BB22B43573B321   SETH         LAVIGNE                      CO     33096004357
BB22B47777B393   JOHN         LOUCH                        VA     90015114777
BB22B62642B271   GILDARDO     SALVADOR                     DC     81097706264
BB23138465B327   KYLE         SMITH                        OR     90011513846
BB23141735B269   DAMARIS      ROSARIO                      KY     90005814173
BB231576493751   MISTY        BROWN                        OH     90011975764
BB23178255B396   HAZEL        SEDIVEC                      OR     90004787825
BB23196572B271   TROY         PAYTON                       MD     90014809657
BB231A64472B69   JOANNA       SMITH                        CO     33077790644
BB232278A54B94   DAVID        SZALKOWSKI                   VA     90013182780
BB232413272B69   ANDREA       GOMEZ                        CO     90012384132
BB23261982B271   FRANK        WILLIAM HARRIS               DC     90015296198
BB23296315B396   ANDREA       BRIGGS                       OR     90000989631
BB232A43A5598B   REGAN        GUZMAN                       CA     49072920430
BB232A6137B489   TANARA       CHAMBERS                     NC     11086050613
BB2334A3393751   WILSON       DARNELL                      OH     90013824033
BB233A4693363B   GLORIOUS     LONAX                        NC     90013240469
BB233A7125B269   KAYLA        PARMAN                       KY     90013930712
BB2352A7755972   SAYLA        GONZALES                     CA     90014392077
BB235537A5B327   ANDREW       WERNER                       OR     44559885370
BB235799497124   ADRIANA      PINEDA                       OR     90004137994
BB235814991978   JERRY        SUAREZ                       NC     90013938149
BB235828797157   DAMIAN       ALCOLEA                      OR     90010828287
BB236154791978   PAMELA       YOUNG                        NC     90011761547
BB2361A2672B69   ANGELA       GARCIA- ROGRIGUEZ            CO     90003081026
BB23636A891238   GEORGE       ANDRADE                      GA     14573283608
BB236452861941   RAMIRO       GARCIA                       CA     90009124528
BB236544555972   MIGUEL       BARAJAS                      CA     90015135445
BB23667442B941   ENRIQUE      SANCHEZ                      CA     90014046744
BB23735A693752   DEBRA        JENKINS                      OH     90013643506
BB23756295B562   STEPHANIE    MONTOYA                      NM     90001175629
BB23775AA5B396   FLOYD        MAYES                        OR     90014617500
BB237774593751   JOYCE        ROBERTSON                    OH     64581867745
BB237888385836   ERIK         FLORES                       CA     90012128883
BB238476641229   BRANDI       FREDERICK                    PA     90010424766
BB23852A15593B   REBECA       TREJO                        CA     90008635201
BB238651A93752   KEVIN        DULL                         OH     64586246510
BB23885157B489   PHILIP       DUNBAR                       NC     11008338515
BB238886185955   RAMONA       STIDHAM                      KY     90012578861
BB2389A323363B   SALLY        BARBER                       NC     12069009032
BB238AA3533635   THOMAS       GILLOM                       NC     90001680035
BB239515A72B69   ERIKA        HERNANDEZ                    CO     90013295150
BB23997A855972   JULIAN       MARTINEZ                     CA     90013089708
BB23B24887B489   VALENTINO    LOPEZ                        NC     90012222488
BB23B616685976   SHAWN        SMITH                        KY     90011026166
BB23B666385836   VICTOR       LARA                         CA     90011906663
BB23B6A5991257   VIRGINIA     GATTIS                       GA     14519156059
BB23B71657B443   TAHIRAH      HALL                         NC     11002807165
BB23B899855972   RAY          CELAYA                       CA     90008768998
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2307 of 2350


BB23B8A5472B62   SAMUEL                FRANCO              CO     33056438054
BB2413A7885836   MARYJUNE              RUSSELL             CA     90008383078
BB241876391576   EDDIE                 AVILA               TX     90009508763
BB241984672B69   ALAN                  MULLICA             CO     33058509846
BB24232757B443   LASHAIREE T           PERKINS             NC     90001273275
BB24262722B941   ANDRES                SANTANA             CA     90015036272
BB24328915B327   GELACIA               PEREZ               OR     90012272891
BB243356391582   CONNIE                CADENA              TX     90010873563
BB243432493771   APRIL                 WAGNER              OH     90008974324
BB244367272465   YOLANDA               TAYLOR              PA     90014533672
BB24442A89194B   WILLIAM               BAREFOOT            NC     90012904208
BB24451965B327   TERENCE               MIDDAUGH            OR     90012605196
BB244644454B94   AARON                 PENNEY              VA     90011096444
BB24486897B34B   EVELIN                GUIROLA             VA     90006888689
BB24487955B265   MARY                  RAYMAN              KY     90004108795
BB245681693745   JESSE                 ROPER               OH     90009496816
BB245689776B27   MATT                  READ                CA     46089606897
BB246246491978   SEQOUIA               CLEMONS             NC     90011762464
BB246477231492   ALLEN                 HINKLE              MO     90005874772
BB246635893758   EDWARD                CHILDERS            OH     90006506358
BB246A45993771   JEFF                  TRIMBLE             OH     64563640459
BB2471A7772B62   JACQUELINE            RASO                CO     90000641077
BB24735345B396   MIRANDA               WILSON              OR     90013753534
BB247719872B44   CESAR                 LOERA               CO     90006877198
BB247826191978   TAYLA                 GRIMSTEAD           NC     90013938261
BB247962A91257   VON                   REESE               GA     14581329620
BB248268A55972   AHMED                 AKRAM               CA     90010632680
BB2485A5A2B857   TOM                   MELTON              ID     90013305050
BB249875297124   GINARAI               MYRICK              OR     90002358752
BB24B182A93751   CLARENCE              BROWN               OH     64595411820
BB24B242593771   DANIELLE              BEARD               OH     90011932425
BB24B92657B489   SAM                   SPRINGS             NC     90014449265
BB24B9AA664121   NORMA                 GONZALEZ            IA     90013949006
BB24BA66A93771   JOSEPH                BERTSCH             OH     90012080660
BB24BA94491257   JERRI                 MOORE               GA     90012550944
BB251476384373   FIDEL                 GOMEZ               SC     19010054763
BB25155215B396   JEFF                  VANGORDER           OR     44515635521
BB251882372B69   JACQUILEA             CHAMBERS            CO     33085128823
BB252858291978   IRENE                 OVALLES-TORRES      NC     90013938582
BB25289555B381   AMANCIO               MARTINEZ            OR     90001328955
BB252896276B3B   RODRIGO               MIRANDA             CA     90006708962
BB253147191394   EARL                  WETZEL              MO     29019321471
BB25371935B265   AMBER                 SMITH               KY     90013327193
BB25374633363B   YOLANDA               STARKS              NC     90014697463
BB25412A42B857   NATHAN                FERCH               ID     90014341204
BB2542A5485836   MAURICE               LAWRENCE            CA     90011342054
BB254583331639   ISACC                 CARDENAS            KS     90013255833
BB25462722B941   ANDRES                SANTANA             CA     90015036272
BB254951891257   DAVID                 JONES               GA     90013599518
BB25521A454B94   DANIEL                TORREZ              VA     90010432104
BB2553A5333635   AGUSTINA              SANCHEZ             NC     90004573053
BB2554A1772B69   ROBERT                GRAVELLE            CO     90011994017
BB256799254B94   AGNES                 ARREY-MDI           VA     81013877992
BB256876451331   BILLY                 SIPOS               OH     90013238764
BB257117333635   ISMAEL                RUIZ RIVERA         NC     18012781173
BB25721192B941   HENRY                 PULLIAM             CA     90011342119
BB25751A891257   KEITH                 CUNNINGHAM          GA     90014185108
BB25757792B271   ALTHEA                ARGYLE              DC     81035045779
BB25761392B857   JOSE                  UGALDE              ID     90012316139
BB25784677B443   BRITTANY              PEEC                NC     90010748467
BB257858291978   IRENE                 OVALLES-TORRES      NC     90013938582
BB258195891873   SHAWNA                PICKUP              OK     90010181958
BB25852183B396   FELICIA               LOPEZ               CO     33036465218
BB258875A61924   LETY                  BARRIOS             CA     90006148750
BB258A81872B62   JESSICA               THOMPSON            CO     90005940818
BB258AA7576B3B   GUILLERMO             GONZALEZ            CA     90002210075
BB2596A3991257   TARANCE               WALKER              GA     90015256039
BB25972452B26B   YESSICA               MEDRANO             DC     90006327245
BB25973223B381   WENDY                 WARNER              CO     33045627322
BB259734757133   EDWIN                 ALFARO              CO     90010037347
BB25995395B269   GEORGE                KINSLOW             KY     90003229539
BB259A86A91238   DELORES               SMALL               GA     14579730860
BB259AA7576B3B   GUILLERMO             GONZALEZ            CA     90002210075
BB25B169872B69   MARIO                 HINOSTROZA          CO     33089381698
BB25B57A82B271   MERCEDES DEL CARMEN   VIGIL               DC     90014905708
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2308 of 2350


BB261126472465   SHAWN        PRICE                        PA     90013811264
BB261681741229   RONALD       QUAGLIA                      PA     90004246817
BB261885254B3B   ANNE         BALL                         VA     90001078852
BB261985A91978   JULIO        VENTURA                      NC     17093599850
BB262167193771   GAY          SUTHERLAND                   OH     64506091671
BB26285349194B   KEESHA       BRADLEY                      NC     90014868534
BB262A95793752   WARREN       MEADE                        OH     90015290957
BB263338872B62   RUBEN        BALDERRAMA                   CO     33058253388
BB263838A33635   ARACELI      HERNANDEZ                    NC     18064308380
BB264139124B64   JOSE         HERNANDEZ                    DC     90002331391
BB264226831639   PAULA        HEART                        KS     90011372268
BB26441844B582   JASON        LALICKER                     OK     90008704184
BB26447985B231   NICHOLAS     HUDGENS                      KY     90013224798
BB264548397124   DIEGO        ANSELMO MONDRAGON            OR     90008055483
BB264715772B69   CRUZ         ZARATE                       CO     90007037157
BB26484889194B   COLLEEN      DENNIS                       NC     17093578488
BB264985393771   TONI         NELSON                       OH     90001169853
BB26528892B857   SHAUNTA      CURIEL                       ID     90005092889
BB265383331639   TERESA       DEAR                         KS     90012463833
BB2655A6391978   JENNIFER     STOKES                       NC     90014055063
BB265618155935   STEVEN       RAMOS                        CA     90010476181
BB265628333635   SHARBA       MOORE                        NC     90011676283
BB265649661825   KELSEY       HAWKINS                      IL     90015446496
BB265683293752   JESUS        PEREZ                        OH     90015526832
BB26571172B941   BRYAN        ALCARAZ                      CA     90014717117
BB266721272B69   MICHAEL      HOPKINS                      CO     90007647212
BB2667A7172B26   TAMARA       SHERWOOD                     CO     33090727071
BB26682A391257   STERLING     WILLIAMS                     GA     90013718203
BB266867191978   RAMI         IKHREISHI                    NC     90013938671
BB266A78285836   MITCIE       BARONIAN                     CA     90003150782
BB267A7415B269   KIERRA       DENNIS                       KY     68013800741
BB268599657565   JESSICA      LUNA                         NM     90003465996
BB26895352B857   NAZMI        TERZIQI                      ID     90012169535
BB26932159194B   MARCO        TORRES                       NC     17058213215
BB269496472B69   LARRY        HOWLETT                      CO     90014044964
BB26951AA3363B   HENRY        SALMERON                     NC     90013495100
BB26987158B19B   ALYSHA       OLSEN                        UT     90006408715
BB269935672B69   LARRY        HOWLETT                      CO     90013829356
BB269A37193751   KEITH        HUNTSBERGER                  OH     64564290371
BB269A9939194B   ELIUD        KINYANJUI                    NC     90014620993
BB26B1A8855972   CYNTHIA      MONTEZ                       CA     49090411088
BB26B666772B69   DANIEL       FARRER                       CO     33069766667
BB2713A3293771   JOSE         CRUZ                         OH     64511993032
BB27144715B327   JUAN         MORENO                       OR     44508404471
BB271489A93745   LATOSHA      WEBSTER                      OH     90007354890
BB271A8479194B   EDGAR        MARTINEZ                     NC     90009580847
BB272124772B69   BRANDIE      CHESSER                      CO     90014551247
BB272231985836   JOSE         PEREZ                        CA     90008712319
BB272554293771   TASHA        DEWBERRY                     OH     64538705542
BB272763472B69   SONYA        ACKER                        CO     90014577634
BB273422955931   SARAH        ANDERSEN                     CA     90013304229
BB27392747B443   LASHARI      BERRY                        NC     90002059274
BB273976A72455   ELIZABETH    SHAFFER                      PA     90013349760
BB27416A45B265   SLIKK        RICK                         KY     90015071604
BB274187391978   MARY ANN     DESPRES                      NC     90002881873
BB27539679194B   ZOILA        HERNANDEZ                    NC     90003803967
BB275548331639   MARIAH       CASTILLO                     KS     90014615483
BB27562892B271   DAVID        BAKER                        DC     90011336289
BB275872854B3B   TRNEST       JONES                        VA     90004988728
BB275934972B69   DERRICK      GURULE                       CO     90011589349
BB27618A53363B   KIEDIE       ERIEHUN                      NC     90013511805
BB27625115B269   PAIGE        LADD                         KY     90011662511
BB276357772465   ROBERT W     ELLER                        PA     90010493577
BB276613531465   ASHLEY       BRIGHT                       MO     90012816135
BB2769A632B271   ANGELA       DYER                         DC     90013419063
BB277268393727   THOMAS       SHEPHERD                     OH     90012962683
BB277486293758   MINDI        ELLIOTT                      OH     64583764862
BB277838A91978   ZEYDA        ZURBARAN                     NC     90001538380
BB2778A8893751   LISA         ANSLEY                       OH     64591578088
BB2779A6993745   LYNNETTE     KITCHEN                      OH     90004419069
BB277A64472B69   JOANNA       SMITH                        CO     33077790644
BB279178993752   CAROLYN S    GERSON                       OH     90010461789
BB27917A772B62   JUAN         ORDAZ                        CO     33063551707
BB279291193727   SHARITA      FRAZIER                      OH     64589292911
BB27935A92B628   MARK         JOY                          WA     90015373509
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2309 of 2350


BB279419885836   DOMINGO             PEREZ                 CA     46081684198
BB279896676B27   CLARENCE            GOOD                  CA     46006088966
BB27B427693727   TIMOTHY             WOODS                 OH     90005364276
BB27B915797124   JOSE                ISIORDIA              OR     90015119157
BB27B982576B27   DAVID               ROCHA                 CA     90009209825
BB28126295B327   VANESSA             LEON                  OR     90007822629
BB281423A91257   JESSICA             EKERN                 GA     90014164230
BB281544631277   BRENDA              JONES                 IL     90014015446
BB281674193771   TROY                VANFLEET              OH     64580676741
BB28193693363B   TAREESA             FIELDS                NC     90011159369
BB28269119194B   TANEEKA             BONAPERTE             NC     90008846911
BB282796A93758   DEBORAH             JESSUP                OH     90014787960
BB282A8752B857   MITCHELL            PONTING               ID     90008130875
BB282A95541226   CHARLES             FURLONG               PA     90000370955
BB28361385B265   JAY                 POLK                  KY     90014066138
BB283681554B3B   TAMEEKA             JACKSON               VA     90000386815
BB28375627B489   SHANCKA             MCCOY                 NC     90013607562
BB28437943363B   JENNIFER            WATSON                NC     90014793794
BB284876593727   JAMES               METZ                  OH     90010868765
BB2854A3655972   GLORIA CONCEPTION   TRUJILLO              CA     90008344036
BB285577872B69   CRYSTAL             RIVERA                CO     90014935778
BB286146893745   ERRIDC              DIXON                 OH     90002731468
BB286184431639   LEA                 UTS                   KS     90011441844
BB28624743B335   MARIA               FLORES-CEBALLOS       CO     33014782474
BB28652315B396   NAVELLIE            CLARK                 OR     90002775231
BB286563851385   MELISSA             SETTLE                OH     90003685638
BB286A33176B27   FLORDELINA          BARRETT               CA     90013830331
BB287983272465   SHARON              KOPAS                 PA     90012609832
BB287AA4793727   JANELLE             THIGPEN               OH     90012330047
BB288121693745   APRIL               WAYMIRE               OH     90011471216
BB2881A2672B47   LISA                KEYS                  CO     33068781026
BB288771433635   LATESHIA            TORAIN                NC     90005307714
BB288873841229   KEVIN               SELINGER              PA     90004248738
BB28912652B941   TABITHA             ALLSUP                CA     90014851265
BB289737993745   JASEMINE            PITTMAN               OH     90012467379
BB28996A991257   OSCAR               LUNA                  GA     90015099609
BB28B634176B84   HAYDEE              ZAVALZA               CA     90014076341
BB28B635A93758   JAQUELINE           LUCAS                 OH     64599096350
BB28B69542B271   GUDELIA             VAZQUEZ               DC     90010756954
BB29153845B396   MARLANA             GREEN                 OR     90014705384
BB291543A93771   CHRISTINE           PARKE                 OH     64505965430
BB291677A31639   CRYSTAL             BREESE                KS     90014306770
BB292687691257   DENISE              KIMBLE                GA     90008846876
BB2926A785B598   SAM                 COUGHENOUR            NM     90006196078
BB292A1895B562   MARISSA             GONZALES              NM     35007140189
BB292A72955972   ALISA               JOHNSON               CA     49078890729
BB293244391978   AMBER               HALL                  NC     90013032443
BB29375655B265   TJ                  HUTCHINSON            KY     90013767565
BB293A6495B269   JESS                CHEEKS                KY     90010500649
BB293A72955972   ALISA               JOHNSON               CA     49078890729
BB293A83A93758   DUSTY               RUSSELL               OH     90003890830
BB29431434B557   DEBRA               KELLEY                OK     90007543143
BB29596119194B   FATIMA              ESPINAL               NC     90015339611
BB295A4335B327   AUTUMN              SANG                  OR     90012490433
BB296176493745   ALEXIS              JAMES                 OH     90011861764
BB296A78A33635   ANTHONY             MOORE                 NC     90006660780
BB2971A1291257   TEDDY               GUNN                  GA     90015031012
BB297338576B27   RYAN                LOTTES                CA     90014543385
BB297779993771   TONY                KISER                 OH     64589067799
BB297992A55972   JORGE               MUNIZ                 CA     90008769920
BB29815275B383   MELISSA             DENDY                 OR     90008531527
BB298755A5B327   ELISA               CASTRO                OR     90013697550
BB298831A72465   SHANE               WESNER                PA     90004188310
BB298A1A891978   KYMBERLY            RAND                  NC     90013940108
BB298A55193727   BAILEY              PATTON                OH     64551630551
BB29924A693758   CORY                LOVETT                OH     64525402406
BB29942365B265   CAMISHA             GRAVES                KY     90014484236
BB29954912B271   ANTONIA             GLADDEN               DC     81008825491
BB29B11227B443   FELICIA             LYTLE                 NC     90004411122
BB29B328A5B368   CHARLES             DOWNING               OR     90007573280
BB29B814742332   FREDDIE             NORMAN                GA     90013578147
BB2B173545B25B   BRENDA              BURNS                 KY     90012337354
BB2B1A4A672465   KEITH               FLINCHUM              PA     90004450406
BB2B21AA485836   JAMES               KING                  CA     90014261004
BB2B2311841229   JOSEPH              NECKERMAN             PA     51095663118
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2310 of 2350


BB2B279825B269   DETRICK      HATCHER                      KY     90010807982
BB2B284543363B   DJUANA       LEVERETT                     NC     90011118454
BB2B3287454B94   AYSHA        DAVIS                        VA     90015522874
BB2B333842B229   HELEN        DEGIFE                       DC     81076033384
BB2B438A497124   JAVIER       GONZALEZ                     OR     90010663804
BB2B473147B489   PAULINE      INGRAM                       NC     90005787314
BB2B5556193745   TASHA        ALNIMRI                      OH     90013535561
BB2B6353A85836   ROY          MATSUEDA                     CA     90013983530
BB2B661A95B396   BRITTANY     CRUZ                         OR     90007546109
BB2B7213A7B443   RONALD       CHRISTENURY                  NC     90010122130
BB2B727252B835   MASON        CALDWELL                     ID     90012852725
BB2B7293876B27   RUBEN        CONTRERAS                    CA     90014212938
BB2B7326554B94   ERNESTO      SALINAS                      VA     90013973265
BB2B741625B396   ANNA         DRUMMOND                     OR     90000374162
BB2B7633176B27   AIOTEST1     DONOTTOUCH                   CA     90015116331
BB2B772445B327   GAEGE        CIPRES                       OR     90008857244
BB2B792A67B489   MONILA       RAGIN                        NC     90014969206
BB2B822545B327   DEBORAH      APPLEBY                      OR     44516422254
BB2B877792B271   EVELLA       DECK                         DC     90012357779
BB2B87A9591524   LUIS         CARDENAS                     TX     90004417095
BB2B891332B857   CHERYL       ROMERO                       ID     90008839133
BB2B8917272B62   STEVE        NELSON                       CO     90013169172
BB2B8921293771   HARLAN       SLISE                        OH     90013809212
BB2B9453A91257   TONI         VANN                         GA     90011324530
BB2B94A2993751   MARTHA       BOOKER-WILKINS               OH     90011284029
BB2BB16269194B   KRYSTLE      EDWARDS                      NC     90013741626
BB2BB19A393752   KELSIE       GROSS                        OH     90014751903
BB2BB25A772465   LISA         BOOK                         PA     51088252507
BB311112193745   KARTINA      OWENS                        OH     90014001121
BB311153493727   STEVEN       ROWLAND                      OH     90014811534
BB31187A276B27   VICTOR       CORDOBA                      CA     90011718702
BB311A33272B62   JOSEFINA     MORALES                      CO     33026360332
BB311A43785836   KEITH        BAKER                        CA     90007080437
BB31233855B265   LINH         DOAN                         KY     90012743385
BB312851A7B443   CONSTANCE    DINI                         NC     11008108510
BB312992393727   KEVIN        BROOKS                       OH     90004839923
BB31365A52B271   JAYE         JOHNSON                      VA     90015316505
BB313864193771   TERRY        COWAN                        OH     90013928641
BB31448A35B355   TODD         PETERSON                     OR     90014864803
BB314A45691582   IVAN         RIOS                         TX     90007910456
BB314A4A593745   ANDREW       LANNOM                       OH     90014580405
BB31524275B265   JOE          GILL                         KY     90012492427
BB31541375B396   DAVID        BAKER                        OR     90012404137
BB31581123363B   JORGE        AGUIRRE                      NC     12001138112
BB315A6242B941   CINDY        CLAY                         CA     90002870624
BB316639993771   MANDOLYNNE   CARDWELL                     OH     90014506399
BB31685A593764   JESSICA G    PAXTON                       OH     90006848505
BB316A45891257   BILLY        BULLOCK                      GA     90014580458
BB317243681655   ROSE         BRATT                        MO     90013952436
BB317462491257   LINDSEY      BROWN                        GA     90012974624
BB317484447832   HARROLD      SIMMS                        GA     90014704844
BB318796172B69   BRANDEN      LOWERY                       CO     90013707961
BB318A55793751   MONA         CANCHOLA                     OH     90006210557
BB31933937B489   KEITH        THOMAS                       NC     90011103393
BB3193AA493771   SHAINA       REED                         OH     90013223004
BB319514A91976   FRANCISCA    SANTOS                       NC     90012175140
BB319738885836   KRISTIN      PARA                         CA     90013317388
BB31981762B941   JOSH         CORONA                       CA     90009608176
BB319858655972   RUBEN        LOPEZ                        CA     90013818586
BB31B111791978   SOLOMON      FISHASION                    NC     90013941117
BB31B497176B27   ARTURO       CASTILLO                     CA     46006034971
BB31B54A655972   BRITTON      SHIRLEY                      CA     49035905406
BB31B6A939286B   JENNIFER     SANDOVAL                     AZ     90014646093
BB31B934493745   RAY          BRICKLES                     OH     90013929344
BB32145725B265   RENATA       CHURCHILL                    KY     90014864572
BB322245333625   LATESHA      LANIER                       NC     90004612453
BB32225515B396   DIANA        HUGHES                       OR     44556082551
BB3224A8285836   NAPOLSKIY    NMITRIY                      CA     90007574082
BB322775393727   LOGAN        SCARBERRY                    OH     90012437753
BB322878572B44   CRICKET      HOPE7                        CO     90006878785
BB323378693727   JEFFERY      MARTIN                       OH     90003183786
BB32338523363B   JENNIFER     JAIMES                       NC     90011533852
BB323769485836   ERLINDA      RINEHART                     CA     46084687694
BB323782893745   SHARON       BRAKE                        OH     64506767828
BB323917893764   CHRIS        COLLINSWORTH                 OH     90006849178
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2311 of 2350


BB324222385976   DUSTY         ASHFORD                     KY     90001202223
BB324767293751   BRENT         ROBINSON                    OH     90001987672
BB324971276B27   ZENAIDA       BEARD                       CA     90014929712
BB325213457444   MARIAH        LAMPKIN                     IN     90012842134
BB325498993751   DANIKA        BARKER                      OH     90013364989
BB3255A332B857   TIFFANI       PAGE                        ID     90012445033
BB325778172B62   IRENE         HAMMACK                     CO     90003657781
BB32581985B396   LETICIA       OROZCO                      OR     90014618198
BB325829893771   NORM          KRIGER                      OH     64500038298
BB326158531639   ROBERT        LEITHOFF                    KS     90010411585
BB326714493752   JAMES         FLANNERY                    OH     90013257144
BB326929993752   RICHARD       CHAVERS                     OH     90014489299
BB326A71A7B489   JESSICA       SPRINGS                     NC     90014800710
BB327372354B94   DARRELL       CALLOWAY                    VA     90010413723
BB327411243583   KENNETH       GREN                        UT     90004174112
BB327575276B27   MANUEL        DOMINGUEZ                   CA     46077535752
BB327A6712B941   TANIA         DELUCA                      CA     90014890671
BB328181693751   JOE           HESTER                      OH     90013371816
BB328212693727   BOBBY         GRIFFIN                     OH     64574412126
BB32859453B387   JESSICA       MCCUE                       CO     33056165945
BB328754591978   PHILIP        SKIADOS                     NC     90007677545
BB32881985B396   LETICIA       OROZCO                      OR     90014618198
BB328868572B69   JOHN          HAID                        CO     90013738685
BB329381A85836   CESAR         CASTILLO                    CA     90009453810
BB32944429194B   ELIZABETH     ONDARI                      NC     17021884442
BB329989591554   JUAN          MORALES                     TX     75068699895
BB32B373861999   STEPHANIE     MAYNARD                     CA     90012033738
BB32B829577572   ROBERT        GONZALEZ                    NV     90000278295
BB32B9A6891978   MARTHA        ORTIZ                       NC     90008019068
BB33142467B489   EBONY         TOLBERT                     NC     11007934246
BB331583776B3B   FRANCISCO     DE JESUS                    CA     90013365837
BB331593191549   MARIA         ELIZALDE                    TX     90014775931
BB331663931639   JOHN          JANSSON                     KS     22080976639
BB331784A55972   RUBEN         GONZALEZ                    CA     90011947840
BB331854191978   MARIA         BARRERA                     NC     17094458541
BB332123291524   LEONARDO      SANCHEZ                     TX     75077401232
BB33241867B443   JEAN          PREVAL                      NC     90004754186
BB332945791978   VANESSA       DEFAZ                       NC     90002749457
BB333888854B94   CHYNNA        WELLS                       VA     90010038888
BB334319493758   SHANECOLE     ELMORE CANTY                OH     90014243194
BB334714493752   JAMES         FLANNERY                    OH     90013257144
BB3353A422B246   ANGELA        FELDER                      DC     90007633042
BB33545888B196   CHRISTOPHER   TABACHKI                    UT     90007884588
BB33567179194B   TYRONE        LINDSEY                     NC     90004236717
BB3356A715B269   JOSHUA        BRYANT                      KY     68008536071
BB335711831688   CORINA        APODACA                     KS     22073697118
BB335736672B44   TINA          CUTTER                      CO     90002147366
BB335974431639   JACOB         BYINGTON                    KS     90013149744
BB33639A19194B   ASHLEY        CLARK                       NC     90013343901
BB336539A72B69   ANGEL         PEREZ                       CO     90015115390
BB336673272465   REBECCA       BAKER                       PA     51026796732
BB336751493745   NATHAN        HALL                        OH     90011857514
BB337866593758   TIFFANY       WILLIAMS                    OH     90008868665
BB338525185836   BRITTANY      CARNLINE                    CA     90008645251
BB338564893752   TODD          STAFFORD                    OH     90010225648
BB3386A3131639   MICHAEL       ALBERTS                     KS     90010986031
BB33897823363B   TONY          CHAVIS                      NC     90014699782
BB33927355B327   ARTURO        ABURTO-BECCERA              OR     44506832735
BB33939792B857   DANIELLE      VIALET                      ID     90012923979
BB339459133635   GARY          JOHNSON                     NC     90008804591
BB33957A191257   DESTION       MOBLEY                      GA     90014895701
BB339A62972B44   RUBEN         ARNEROS                     CO     33000800629
BB33B48643363B   CARLOS        SANDOVAL                    NC     90013894864
BB33B65432B841   SAMANTHA      ZEA                         ID     90014936543
BB33B937A33635   YOLANDA       WATKINS                     NC     90003409370
BB33BA4217B489   RODNEY        FINLEY                      NC     90012940421
BB341229A55972   MARTINA       REYES                       CA     90011652290
BB34147A997124   ALENA         JAIME                       OR     90010104709
BB341748172B62   EZEQUIEL      CRUZ                        CO     90015097481
BB342284191573   LETICIA       SALDIVAR                    NM     90010952841
BB342319493758   SHANECOLE     ELMORE CANTY                OH     90014243194
BB342A2A355972   JOHN          VAUTIER                     CA     90002320203
BB343156576B3B   ALFONCE       LOPEZ                       CA     46001651565
BB34334932B857   RAYMOND       CORDEN                      ID     42073553493
BB343644855972   NELLY         SANCHEZ                     CA     90011886448
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2312 of 2350


BB344288472B62   THEMIE         WHITENIGHT                 CO     33094692884
BB34428962B271   SHEREITA       RESPER                     DC     90009402896
BB344516284353   MICHELLE       BRYANT-FELDER              SC     90001355162
BB344884491257   TERESA         STRBERT                    SC     90010738844
BB345155593745   RICK           FRALEY                     OH     90013181555
BB345291272B62   SAMUEL         SHANNON                    CO     90012152912
BB3452AA631492   DIANNA         MILLER                     MO     90012312006
BB345426357444   AGUSTIN        BANGO                      IN     90009144263
BB34551818B136   NATHAN         HARMON                     UT     31003765181
BB34578A72B271   KARINA         HANNIBAL                   DC     90001417807
BB345A18A9194B   MARICRUZ       CARMONA                    NC     90012210180
BB3461A6693758   CONSTANCE      DUNSON                     OH     90003141066
BB346476491978   COEY           ARNDD                      NC     90014694764
BB34688592B857   LINDA          WINCHESTER                 ID     90011098859
BB347325676B27   MARIA          BERATRANO                  CA     46073803256
BB3478A795B269   MICHEAL        COLE                       KY     90008568079
BB34814742B252   LAPRELE        BALLINGER                  DC     90012701474
BB348385576B27   STEVEN         SANDERS                    CA     90014833855
BB348445385836   SHASHI         SHILARNAV                  CA     90015154453
BB348A4385B265   KRISTIE        NEWMAN                     KY     90000940438
BB348A4645B396   SEAN           EASTMAN                    OR     90001590464
BB348A6837B489   MIGUEL         FLORES                     NC     90014460683
BB348A7315B269   ALECIA         SEDDAM                     KY     90013930731
BB34935272B271   SHAMAYME       WOODBERRY                  DC     90012013527
BB349657591257   JULIUS         PRINGLE                    GA     90013986575
BB34B4A2872465   THEODORE       HALUSKA                    PA     90000674028
BB35115A32B271   NORRIS         RUTH                       DC     90013231503
BB35155145B265   ROBIN          WATERBURY                  KY     90012905514
BB351855376B27   RAFAEL RAMOS   GONZALEZ                   CA     90002548553
BB352A2A476B27   CARLOS         LARA                       CA     90011100204
BB353867976B27   CARMEN         ALDAVA                     CA     46041168679
BB35387535B396   JASON          SHAW                       OR     90014518753
BB353948985836   TOMASZ         WOJCIECHOWSKI              CA     90007749489
BB353AA2751372   ALLISON        WILLIAMS                   OH     66040100027
BB354243A91978   AHMED          SALEM                      NC     90011772430
BB354741193775   CHRISTOPHER    SUTER                      OH     90010367411
BB35482152B941   MARTIN         PULIDO                     CA     45006128215
BB354A6972B857   ASHLEY         COURTRIGHT                 ID     90005240697
BB354A9675B327   ALBERT         WILLAN                     OR     90012870967
BB355273A5B265   KENYTHA        MOORE                      KY     90008922730
BB355343376B27   RANDALL        CARDENAS                   CA     90014003433
BB35539345B396   JAMES          HICKERSON                  OR     90012573934
BB355621754B94   JOSEF          KING                       VA     90013536217
BB3561A372B823   KESHIA         MENDEZ                     ID     90011641037
BB356334176B27   ELIAS          LOPEZ                      CA     90014213341
BB356348855972   MELINDA        OCAMPO                     CA     90011333488
BB35654825B265   TERRY          BOARDMAN                   KY     90014115482
BB356728676B42   ISIDRO         LOPEZ                      CA     46059007286
BB35715A261825   ZACHARY        HAGEN                      IL     90015451502
BB35716199194B   SADELE         LOPE                       NC     90015311619
BB35726845B528   LOUIS          RIVERA                     NM     90003902684
BB357396455972   SERGIO         ESQUIVEL                   CA     90013133964
BB3573A7893776   MALCOM         KEITH                      OH     64500313078
BB357486733635   MARTINA        PETTIFORD                  NC     90010484867
BB357782185949   SHANIKA R      WILLIAMS                   KY     90010227821
BB357A95472B28   SHEILA         OKWALE                     CO     90010300954
BB358184431639   LEA            UTS                        KS     90011441844
BB358282285836   ROGELIO        LIRA                       CA     90005712822
BB358719993771   MARSHA         ROBERTS                    OH     90010777199
BB35887172B271   DEJOUNNOBL     HALL                       DC     90001078717
BB358875872B44   DANYALE        HARMON                     CO     90013038758
BB359143391257   BRANDONN       JOHNSON                    GA     90011311433
BB359476491978   COEY           ARNDD                      NC     90014694764
BB359742772465   BRYAN          MURRAY                     PA     90012507427
BB35982115B396   ROGER          LEDOUX                     OR     44589228211
BB35B132593752   LORI           BOYD                       OH     64547151325
BB35B19319286B   KELLY          YAZZIE                     AZ     90014621931
BB35B466872B44   NAOMI          ZAMORA                     CO     33066314668
BB35B912876B27   ALICIA         RUNDELL                    CA     90014439128
BB3612A595B327   RAQUEL         REYES                      OR     90015132059
BB361555191978   RASHIKA        HILL                       NC     90006425551
BB361865A91885   REYNALDO       SANCHEZ                    OK     90010938650
BB36195662B857   ROSENDO        GARCIA                     ID     90008139566
BB36242A52B857   JESUS          MEDINA                     ID     90008984205
BB36259433363B   ARIYAN         DALTON                     NC     90013925943
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2313 of 2350


BB362929593745   ADAM             FARMER                   OH     90013019295
BB36295625B327   JOAQUIN ADELFO   GOMEZ CRUZ               OR     90013599562
BB36323873363B   PABLO            AUSTIN                   NC     90011242387
BB363283733634   LAQUEENIA        WILSON                   NC     90013122837
BB363371893752   HOWARD           DILLARD                  OH     90012883718
BB363527293727   VICTORIA         TAYLOR                   OH     90008895272
BB363652977556   DANIEL           NEITZ                    NV     90003616529
BB363987A5B265   BETHANY          EPPS                     KY     68044879870
BB364762497B42   ALBERT           KNAEBEL II               CO     90004747624
BB364769485927   MIKE             YOUNG                    KY     67094607694
BB364837472B69   ENID             MOORE                    CO     90013608374
BB364A66485836   CARRIEANN        POE                      CA     90000520664
BB36578AA72B69   SUMMER           JOHNSON                  CO     90011057800
BB365879263698   KAREN            HUDSON                   MO     90002498792
BB365982A55972   LORENA           MARTINEZ                 CA     90013039820
BB365A52572B62   CARLOS           ARELLANO                 CO     90008790525
BB366214876B27   LUCINA           BARRANCO                 CA     90012872148
BB366597655972   MICHAEL          FLOWERS                  CA     90013365976
BB366632972B69   JOEY             LEFTER                   CO     90014606329
BB36681792B857   NAOMI            TORRES                   ID     90010388179
BB366844972B62   CESAR            VALLADARES               CO     90005278449
BB3683A4584373   WHITNEY          BROWN                    SC     19010063045
BB368457872465   ROBIN            RUBENSTEIN               PA     90006024578
BB3688A192B271   BRIANA           SUTTON                   DC     90014788019
BB368A4A65B269   HELEN            SALLEE                   KY     68083270406
BB368A53533647   JOSE             MENDOZA                  NC     90012770535
BB36937225B269   ALEX             LOPEZ                    KY     90014013722
BB369468557565   MARIA            REYES                    NM     90001444685
BB36981888B18B   VICTOR           JOE                      UT     90003578188
BB369872897124   KAREN            RELECH                   OR     90012878728
BB36987A593758   IAN              HOLMES                   OH     90000588705
BB36B561493771   KNICE            HEDERSON                 OH     64582425614
BB371278955972   SHANNON          ARISTA                   CA     90012772789
BB37181A15B269   BETTY            THOMPSON                 KY     68017938101
BB371923491978   KURT             PECK                     NC     90014549234
BB372349197124   ANDREW           CHAVALIA                 OR     90000663491
BB37261255B265   RHONDA           MCALLISTER               KY     90013446125
BB373165254187   ORLANDO          CENTENO                  OR     90000161652
BB37322A67B489   BETH             BELTRAN                  NC     90007732206
BB37332535B349   ELIZABETH        DAVIS                    OR     90012663253
BB37389625B265   SHARONDA         LONG                     KY     90009648962
BB37467872B941   PAULO            SILVA                    CA     90008076787
BB37473342B256   NYDRA            ALLEN                    DC     90009857334
BB37474155B269   KAREN            JORDAN                   KY     68065707415
BB375A4395B572   KRISTIN          GARCIA                   NM     90010540439
BB376145A93727   MEEKA            SAMMONS                  OH     64548461450
BB37637A791257   EARTHA           WALCOTT                  GA     14560403707
BB37649165B327   DANIEL           WESTRICH                 OR     90007824916
BB37657349286B   LEV              DE SILVA                 AZ     90015435734
BB37699A52B941   DANIELLE         PARSONS                  CA     90014539905
BB377597893745   SOPHIA           OWENS                    OH     90013865978
BB3775A682B857   JARED            BORGE                    ID     90010405068
BB377A2565B396   TONI             JERGESEN                 OR     90014730256
BB377A52A5B269   TONNETTE         RUSSELL                  KY     90013130520
BB378184293727   AMANDA           MALONE                   OH     90012041842
BB378318771964   GUSTAVO          GALLEGOS                 CO     32079263187
BB378474985836   WILLIAM          STEDMAN                  CA     90002414749
BB378642472B69   LUCI             MAREZ                    CO     90013306424
BB37894632B271   LEOPOLDO         MARTINEZ                 DC     90008989463
BB378A4587B489   JOHN             SIMMONS                  NC     90007600458
BB379262733635   DAISY            VINCENT                  NC     18054532627
BB379686372B69   CRISTINA         DOMINGUEZ                CO     33025486863
BB37989713363B   JOSE             ALVARADO                 NC     90013968971
BB37B14372B857   JASMINE          VILLAGOMEZ               ID     90013221437
BB37B179576B27   ERILA            LOZANO                   CA     90000111795
BB37B22213363B   CONSTANCE        TRANSOU                  NC     12003122221
BB37B62477B489   SANDRA           STATEN                   NC     11061466247
BB37B718A2B271   HAWA             JALLOH                   VA     90013897180
BB37B793385955   AMANDA           CHRISTIANSON             KY     90012507933
BB37B85A385836   ENRIQUE          SALAS                    CA     90013788503
BB381416A24B64   ELBA             MENDOZA                  DC     90012654160
BB38161A291978   RITU             MALLA                    NC     90013256102
BB3818A215B396   TERRY            DEAN                     OR     44556588021
BB382244197B59   ANGEL            GONZALES                 CO     90013872441
BB382517541276   JULIE            TRBOVICH                 PA     90006335175
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2314 of 2350


BB38273995B396   TROY          STARKS                      OR     90011217399
BB383249A93758   MICHAEL       PARKER                      OH     90009932490
BB38329A376B27   FRANCISCO     CARRILLO                    CA     90012822903
BB383355585836   CATHY         RODRIGUEZ                   CA     90013103555
BB383856761994   BRANDON       ZANAVICH                    CA     46000128567
BB383934633647   CHERRI        SAUNDERS                    NC     90005299346
BB38465AA2B857   GINA          HALLMAN                     ID     42073196500
BB385871393771   APRIL         BRANDON                     OH     64596438713
BB385A2A531452   KIMBRA        HOST                        MO     90001540205
BB385A6195B265   CLARESHA      DISHMAN                     KY     90002730619
BB386131A85836   ASIMA BEGUM   ROSADO                      CA     90013211310
BB38615619194B   CHANEL        JEFFRIES                    NC     90013401561
BB38622789194B   CHANEL        JEFFRIES                    NC     90005752278
BB38625285B396   ROBERT        ELAM                        OR     44580182528
BB386344291978   YESENIA       ORTEGA                      NC     90013943442
BB38656A676B3B   DEAN          MARTIN                      CA     90007225606
BB38662933363B   NANET         DYE                         NC     90014106293
BB3866AA693751   GENESIA       MYERS                       OH     64504136006
BB38727587B489   ADRIENNE      SHIPP                       NC     11041182758
BB387457691978   ANTHONY       PAGE                        NC     90009524576
BB38765222B941   ANNA          DAROSA                      CA     90013976522
BB387A16328169   DANIEL        MARTINEZ                    TX     90014500163
BB38887995B593   DIANA         CHAVIRA                     NM     36006258799
BB38887AA41229   RICHARD       JONES                       PA     51063998700
BB38952525B396   MIKKI         GREEN                       OR     90013475252
BB389981293751   KATHY         MITCHELL                    OH     64527679812
BB38B363872B69   JACOB         WAGNER                      CO     90003323638
BB38B478493751   HAILEY        COOK                        OH     90013904784
BB38B59A954B94   LORENA        MEDENA                      VA     90015145909
BB38B66362B857   RON           ZECHMANN                    ID     90001996636
BB39136962B941   CINDY         VALENCIA                    CA     90013003696
BB391997672B35   LINDA         DEHERRERA                   CO     33027729976
BB391A8A593752   DANIEL        GEBREMARIAM                 OH     90009030805
BB39225512B271   MARIA         FLORES                      DC     90014762551
BB392497897157   JUNE          ALBERTSON                   OR     90012464978
BB392599176B3B   GUDELIA       GARCIA                      CA     90003235991
BB392642585836   KARINA        LIZARRAGA                   CA     90011986425
BB39325A193745   ASHLEY        NEWLAND                     OH     90015092501
BB39327382B941   GOYCE         PEREZ                       CA     90014732738
BB39367262B26B   TIFFANY       SHERRILL                    DC     81065126726
BB393771793727   ROBERT        GUINN                       OH     90014787717
BB393785872B69   JAVOBET       RUEDA URRUTIA               CO     90014377858
BB39383359194B   KISHA         CURRY                       NC     90014908335
BB3941A185B396   MIKE          KELLY                       OR     44533371018
BB39455715B269   DEBORAH       WADE                        KY     68089415571
BB394591591573   TRACY         BROWN                       TX     90013945915
BB394763472B69   SONYA         ACKER                       CO     90014577634
BB39491913163B   DANA          HUGHES                      KS     90006399191
BB39513237B433   JENIFER       LEGIONS                     NC     90014171323
BB395231A93752   TAMARA        GARRETT                     OH     90009132310
BB39528972B857   CHAD          ANDERSON                    ID     90013712897
BB39557A755972   ERIKA         LOPEZ                       CA     90013665707
BB395633176B27   AIOTEST1      DONOTTOUCH                  CA     90015116331
BB395857593751   AUSTIN        HAMBY                       OH     90013768575
BB395A93655972   MIRANDA       WYRICK                      CA     90014160936
BB39619432B857   VICTOR        ORTIZ                       ID     90015131943
BB39623159194B   EDUARDO       JIMENEZ                     NC     90012732315
BB396454355972   SAM           ALBO                        CA     90009364543
BB396553693771   KASEY         HAWKINS                     OH     90014755536
BB396737A72B69   JUAN          HERNANDEZ                   CO     90012847370
BB39689A176B27   ANGELICA      BIDALES                     CA     90000488901
BB396954155972   JOSE          ALBO                        CA     90013909541
BB39711A755972   JUANA         COBIAN                      CA     49059971107
BB39714A43363B   TAMMY         BULLINS                     NC     90011761404
BB39717672B857   FRANCISCO     RODRIGUEZ                   ID     90000991767
BB39721535B327   LEANA         RUMSEY                      OR     44501032153
BB397241597124   MARIO         TORRES                      OR     90013562415
BB397273A9194B   PANFILO       SOTO                        NC     90009292730
BB397351793745   LISA          JONES                       OH     90013063517
BB397363791257   FARETI        SAVEA                       GA     90008733637
BB397677A2B256   RAYMOND       MINOR                       DC     90007516770
BB397749961924   MICHAEL       BLANCO                      CA     46006107499
BB397946493751   LESLIE        DENLINGER                   OH     64563979464
BB398364A91978   MATT          TOUPS                       NC     90013033640
BB39839A75B396   IVAN          MENDEZ                      OR     90011073907
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2315 of 2350


BB39854485B265   JALIT        MAIRENA                      KY     90012735448
BB398645276B3B   WALTER       BALTAZAR                     CA     90003236452
BB39872825B541   NANCY        MARTINEZ                     NM     35069547282
BB39876243363B   KIMBERLY     BAKER                        NC     90013947624
BB398771493726   GLENN        WALKER                       OH     90007377714
BB39911A55B327   THERESA      GREIN                        OR     44514041105
BB399334985836   MICHAEL      TIPPS                        CA     90001453349
BB399343331277   FELIX        VALLADARES                   IL     20568913433
BB39954975B396   ALEX         TUCKER                       OR     90010975497
BB399642672B48   MARK         MANLEY                       CO     90013916426
BB399737791257   JEFFERY      JOHNSON                      GA     14597907377
BB39B13A954B3B   JUAN         MARTIR                       VA     90001201309
BB39B3A555B327   KATHRYN      SMITH                        OR     44542653055
BB39B53712B857   ELIDA        BALDERAS                     ID     42061865371
BB39B57915B265   KATHY        MCWILLIAMS                   KY     68025105791
BB39B669193751   SHARI        STONE                        OH     64597966691
BB39B7A277B433   ANN          BEACHAM                      NC     90014667027
BB39BA1387B489   PEDRO        VELASQUEZ                    NC     11037700138
BB3B127377B489   ZULEYKA      ALICEA                       NC     90012192737
BB3B1367293752   TAYLOR       ROSS                         OH     90013393672
BB3B1439A55972   SANDRA       GARCIA                       CA     90001634390
BB3B165425B269   CHRI         HUBER                        KY     90009956542
BB3B186A89194B   JEFFREY      COLE                         NC     90004208608
BB3B1A7662B857   NACHO        VALENZUELA                   ID     42025460766
BB3B2667A93771   TINA         FUSTON                       OH     90004306670
BB3B282A772B62   JOSE         HERNANDEZ                    CO     33043278207
BB3B28A5855972   ROSA         POSADAS                      CA     49061848058
BB3B2969293751   ELIZABETH    MCDANIEL                     OH     90011069692
BB3B3216131688   GARY         HUFFMAN                      KS     22062822161
BB3B355A75B535   JOANNA       SPARKS                       NM     90004755507
BB3B3822793751   LACEY        TURNER                       OH     90014728227
BB3B396372B941   CELINA       ODINEZ                       CA     90014709637
BB3B4164555972   CRYSTAL      CASTILLO                     CA     90011651645
BB3B42A1A76B84   EDUARDO      GONZALEZ                     CA     90004232010
BB3B469542B271   GUDELIA      VAZQUEZ                      DC     90010756954
BB3B4851376B27   JUAN         SANCHEZ                      CA     90007198513
BB3B522293B332   MICHELLE     MARCHAND                     CO     90001942229
BB3B53A2797124   GUZMAN       NARANJO                      OR     90013613027
BB3B553A87323B   WILLIAM      LEWIS                        NJ     90014315308
BB3B571172B271   MAURICIO     FUENTES                      DC     90009627117
BB3B572319194B   TYREE        WILLIAMS                     NC     17098847231
BB3B5954372B69   REFUJIO      HERNANDEZ                    CO     33063059543
BB3B596145B269   TERRY        PERKINS                      KY     68072929614
BB3B611325B592   FRED         ADLER                        NM     90009881132
BB3B63A482B857   RITA         CORBETT                      ID     42065883048
BB3B646672B941   CARMEN       ROJO                         CA     90015004667
BB3B6711191978   HELENA       COSTON                       NC     90013967111
BB3B7319147942   JEFF         JONES                        AR     90012313191
BB3B745A46193B   EMEDARDO     PENUELAS                     CA     90001034504
BB3B773275B265   DAVID        HUTCHINSON JR                KY     68014337327
BB3B7741393727   JENNIFER     BRUBAKER                     OH     64531607413
BB3B781345B396   ROBIN        LATHROP                      OR     90014618134
BB3B793A39194B   KAROLYN      JOHNSON                      NC     17091119303
BB3B7957572B69   SHANNAN      GREER                        CO     33093699575
BB3B8316291978   NIKKI        BRADFORD                     NC     90014683162
BB3B879A772465   THOMAS       JONES                        PA     51045827907
BB3B9171A55972   RAJWANT      KAUR                         CA     90011651710
BB3B929A32B271   SHARRI       SMITH                        VA     90009012903
BB3B9657593752   ELIZABETH    KRONK                        OH     90009276575
BB3B973892B271   ALDO         RAMOS                        DC     90013797389
BB3B9A93A72B26   NOHOMI       LOPEZ                        CO     90009930930
BB3BB197891257   PETER        BRUNSON                      GA     90015431978
BB3BB83A391978   MIGUEL       AGUILAR                      NC     90011768303
BB3BBA9523363B   TOY          CADE                         NC     90014670952
BB41168A872B69   LETICIA      CALDERON                     CO     33001456808
BB4116A7641229   PAM          NARDEI                       PA     90004336076
BB41196A12B857   SAMANTHA     LUCAS                        ID     90011839601
BB41233583363B   BRITTANY     MCNEAIR                      NC     90011283358
BB412436893752   PAUL         SLIVINSKI                    OH     90013064368
BB412866291978   FERNANDO     DOMINGUEZ                    NC     90002658662
BB412946855972   SANDRA       RUELAS                       CA     90013389468
BB413581993771   MARK         WHITE                        OH     64536735819
BB413633176B27   AIOTEST1     DONOTTOUCH                   CA     90015116331
BB413958A54B94   ANDREA       AGUILAR                      VA     90012159580
BB413961255972   MARIA        DE LOS ANGELES               CA     90010259612
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2316 of 2350


BB414418231468   S3T          ENTERPRISE                   MO     27558584182
BB414819991978   KAREN        THOMAS                       NC     90012318199
BB414A56991978   KAREN        THOMAS                       NC     90005410569
BB415227493771   MELISSA      WOOTEN                       OH     90007722274
BB415393476B3B   SAMUEL       HERNANDEZ                    CA     90006393934
BB416163A2B941   CHRISTIAN    RAMSEY                       CA     90007671630
BB416726893751   MOSLEY       SHIRLEY                      OH     90007807268
BB416764172B69   ANGEL        MORRIS                       CO     33058327641
BB41724A693758   LAPORSCHE    CULPEPPER                    OH     90009282406
BB4176A2A72B84   ANGELICA     GONZALEZ                     CO     90014836020
BB417A94272B69   STANLEY      DERICKSON II                 CO     33032140942
BB418553693771   KASEY        HAWKINS                      OH     90014755536
BB418971276B27   ZENAIDA      BEARD                        CA     90014929712
BB419177991978   RIGO         TRUJILLO                     NC     90000511779
BB419258393752   BRANDI       COCHRAN                      OH     64584442583
BB419285633635   PREDRO       OROBIO DE JESUS              NC     90013802856
BB419496493727   ANGELA       SELMON                       OH     90012674964
BB419527551329   BOAKAI       CARNEY                       OH     66093795275
BB419669951349   PAUL         DUNCAN                       OH     90008996699
BB419724993751   CAMILLIA     WHITE                        OH     90011437249
BB41B4A865B396   WILLIAM      DEWEESE                      OR     44558114086
BB41B61392B857   JOSE         UGALDE                       ID     90012316139
BB422836893758   NICOLE       SNOUFFER                     OH     64580818368
BB423441741229   JOSHUA       WISE                         PA     90013494417
BB42345A95B333   NORBERT      GAONA-PONCE                  OR     90013884509
BB423594772B62   FIDEL        GUERRA                       CO     90013845947
BB423686455972   JOSE         TORRES                       CA     90000776864
BB4241A5491978   LINDA        CESPEDES                     NC     90010461054
BB42429662B271   ANGELA       HUMBLE                       VA     81035152966
BB42487893363B   JESSICA      HAYES                        NC     90011288789
BB42493A976B27   MARIA        CAMPOS                       CA     46010379309
BB424A1299194B   TABITHA      MCKOY                        NC     90011370129
BB424AA763363B   OMAR         SANCHEZ                      NC     90013970076
BB42592599194B   RHENETTA     ELLIS                        NC     90012789259
BB425A2A73363B   WALID        DANE                         NC     90013970207
BB42639299194B   VICTOR       CARMICHAEL                   NC     90009573929
BB426412193752   JANELL       RHOADS                       OH     64533224121
BB42699A254B3B   SAMANTHA     MORGAN                       VA     90002569902
BB426A2883363B   KRISTI       JACKSON                      NC     90013970288
BB427199793726   PAMELA       RUTLEDGE                     OH     64593521997
BB427829155972   CYNTHIA      LOPEZ                        CA     90014338291
BB427A39884373   JACQUETTA    DICKERSON                    SC     90008230398
BB427A4A63363B   DONIA        BATMA                        NC     90013970406
BB427A96354B94   ANTONIO      RIVERA                       VA     90015460963
BB428221585836   JESSE        HARNISH                      CA     90002292215
BB42862465B541   ROSEMARY     SANCHEZ                      NM     90009626246
BB428686455972   JOSE         TORRES                       CA     90000776864
BB428686933133   PAYGO        IVR ACTIVATION               IL     90008156869
BB429188293745   DWAYNE       MCCLELLAN                    OH     64502171882
BB42931525B327   PANDI        LEE                          OR     44568823152
BB429317354B94   CLAUDIA      BUEZO                        VA     90009283173
BB429565855972   EDUARDO      SETEGRINO                    CA     90006235658
BB429639993771   MANDOLYNNE   CARDWELL                     OH     90014506399
BB42981A35B572   OCTAVIANO    OROSCO                       NM     90001678103
BB4298A995B396   JENNIFER     BRANDOLF                     OR     90013538099
BB429A4613363B   CHRIS        MILLER                       NC     90013970461
BB42B225A2B244   ROBERT       PRICE                        DC     90007662250
BB42B32185B265   CARL         COMSTOCK                     KY     68082223218
BB42B377591257   MICHAEL      GODWIN                       GA     90014443775
BB42B54A491978   AGUSTIN      ZUÑIGA                       NC     17005315404
BB42B571855972   SANDRO       ONTIVERPS                    CA     90013945718
BB431455972B48   GARY         WRIGHT                       CO     90013024559
BB43182A55B265   ERIC         SHOFNER                      KY     90010938205
BB43189142B835   KATHLEEN     TESSMAN                      ID     90010438914
BB43219682B941   ALYSSA       SANCHEZ                      CA     90012041968
BB432598293751   NATASHA      BELLUS                       OH     90003885982
BB432A56A3363B   MATT         ROUFE                        NC     90013970560
BB43333525B327   RANDOLPH     SLOAN                        OR     44580033352
BB43356A833133   TASHA        GRIFFIN                      IL     90015225608
BB4341AA32B229   MARTA        CHAVEZ                       DC     81002751003
BB434967884373   DEBRA        EVES                         SC     90013369678
BB4349A535B561   STEVE        MILLER                       NM     35025389053
BB435269176B27   VIRGINIA     CORTEZ                       CA     90000112691
BB435A3675B396   SHAWN-PAUL   RESCHERT                     OR     90009320367
BB435A6A83363B   ADEL         DAWOU                        NC     90013970608
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2317 of 2350


BB436464993771   ARIEL        DAVIS                        OH     90010984649
BB436494993771   NICOLE       BUNNELL                      OH     90012764949
BB43657A97B443   ANJEL        DABLADO                      NC     11096205709
BB436828A93736   BRITTNEY     WELBAUM                      OH     90012688280
BB436887172B69   JOSHUA       SILVA                        CO     33093698871
BB437796576B27   ALEJANDRO    RUIZ                         CA     46095407965
BB437845A85836   PAUL         GUIAO                        CA     90014418450
BB438782172B62   PABLO        LAMAS                        CO     90013037821
BB438862193771   JEREMY       BROOKS                       OH     90013348621
BB439132155979   LAURA        RIOS                         CA     90010491321
BB439145593745   LARRY        HALL                         OH     64572221455
BB4394A339194B   MICHELLE     MINOR                        NC     90004344033
BB439545654B94   MYKE         WHITE                        VA     90002155456
BB439712955972   ERMINIO      GARCIA                       CA     90014717129
BB439A6723363B   LINDSAY      THORN                        NC     90013970672
BB43B62352B271   DARNELL      WATSON                       DC     90011336235
BB43B699172B62   MICHIELLE    MILLINGTON                   CO     33047106991
BB43B82A893771   CHRISTINE    MCCOMAS                      OH     90013148208
BB43BA32555972   BEATRICE     RAMOS                        CA     90007400325
BB43BA5A63363B   VIKKI        SANDLER                      NC     90013970506
BB43BA79754B94   JAYBONNE     CRUZ                         VA     90015420797
BB441115297124   TERESA       HARTMAN                      OR     44034921152
BB441548A91978   DANIELLE     WATKINS                      NC     90013945480
BB441A7383363B   ZAKE         LISTTER                      NC     90013970738
BB44213A82B271   KASHAE       MUSGROVE                     DC     90011201308
BB4424A8693751   AMY          GIBSON                       OH     90011344086
BB442571993727   RICHARD      PAYNE                        OH     90013385719
BB442849A2B941   BRIANDA      ALVAREZ                      CA     90013938490
BB442A7973363B   KIMBRLEY     FOX                          NC     90013970797
BB4431A5393727   SHERRITA     ADKINS                       OH     90002981053
BB44351417B489   BRENDA       JOHSON                       NC     90012015141
BB443766A24B64   CELSO        FERRUFINO                    MD     90015547660
BB44419AA72B69   CARRIENNA    JAMES                        CO     90010691900
BB44474817B489   STEPHANIE    SMALLWOOD                    NC     90011487481
BB444A8365B269   BRANDY       BAKER                        KY     90013130836
BB4453A457B443   MARIBEL      LUNA                         NC     11003153045
BB445437493758   KEVIN        WOODS                        OH     90014804374
BB445579255972   JAVIER       GUTIERREZ                    CA     90013945792
BB44581729194B   BELEN        LOPEZ CABANAS                NC     90015108172
BB4458A342B857   FRANKLIN     SOTO                         ID     90009808034
BB44598524B258   KRISTINA     JOHNSON                      NE     90000949852
BB445A8A297124   THOMAS       LYTH                         OR     44072100802
BB4469A2293758   MARY         CHATMAN                      OH     90009999022
BB44746672B941   CARMEN       ROJO                         CA     90015004667
BB447653372B28   RICHARD      PARRA                        CO     90001726533
BB447721393764   SHELBY       HOUTZ                        OH     90007077213
BB448382493745   AMANDA       CARLTON                      OH     90012933824
BB449131393751   SHAWN        MABRY                        OH     90000471313
BB449266A85836   BANNY        AGAPITO                      CA     90007842660
BB44956A893771   NICK         MARTIN                       OH     90015455608
BB449583755972   JASMINE      SANDOVAL                     CA     90013945837
BB44978438B169   BRANDY       BARBER                       UT     90011777843
BB449A4398B194   CLINT        TAYLOR                       UT     90008000439
BB44B32945B389   APRIL        JOHNSON                      OR     90007793294
BB44B39775B396   RYAN         CARR                         OR     90014243977
BB44B497693758   RYAN         RIVERS                       OH     90007634976
BB44B675A93727   MARK         CANTRELL                     OH     90013566750
BB44B756776B27   JAZMIN       HERRERA                      CA     46072787567
BB44B77495B396   RUDEE        SULLIVAN                     OR     90002037749
BB44BA9532B22B   ANDREA       MC KINNIE                    DC     90006300953
BB45143865B396   DAVID        JACOBO                       OR     44542944386
BB451455693758   BRENT        MEASEL                       OH     64543534556
BB451976557568   ANGIE        FRIAS                        NM     90001079765
BB4523A7284373   INMER        ARGUETA                      SC     90006653072
BB45271A176B27   SUE          GRAF                         CA     46024327101
BB453629872B62   BRANDON      JAMES                        CO     90015526298
BB45391832B857   ZEMY         DHWARA                       ID     90012699183
BB45395A593745   ROBERT       YADEN                        OH     90013889505
BB453986272465   DARRYL       HOLSINGER                    PA     90012989862
BB45413233363B   BETH         TILLACK                      NC     90013971323
BB45419193363B   WILLIE       MOSLEY                       NC     90014851919
BB454199493771   REGINA       DAVIS                        OH     90001531994
BB454A4A155972   DONNA        HILL                         CA     49044310401
BB454AA2257565   BRENDA       JOHNSON                      NM     90004390022
BB45514163363B   GINGER       CHAFFIN                      NC     90013971416
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2318 of 2350


BB455471A97124   ANA          TAPIA                        OR     90007624710
BB4561A1255972   IRMA         DIAZ                         CA     90007431012
BB456696293752   JANETTE      RICE                         OH     64538776962
BB45714393363B   CHINA        ENRIQUEZ                     NC     90013971439
BB457168A91978   TYREL        YOUNG                        NC     90008401680
BB4572A2991257   TONI         REDHORSE                     GA     90010312029
BB457316885976   AMY          WARNER                       KY     66033183168
BB457424A54134   PATTIE -     SCHANAMAN                    OR     90014794240
BB4574A1A76B27   SERGIO       SALDANA                      CA     90014844010
BB457AA9231639   KIM          SLOVER                       KS     90007580092
BB45823452B857   BERSAIDA     MENDIOLA                     OR     90013452345
BB45858A493758   JESSE        HISER                        OH     64503465804
BB458814972B69   JENNIFER     LUCERO                       CO     33045258149
BB458A92A2B941   DERRICK      BANE                         CA     90014540920
BB45913415B396   TYLER        WOODS                        OR     90014641341
BB45937883363B   RANDALL      DAVIS                        NC     90010303788
BB459982485836   CHARLES      WARREN                       CA     90013039824
BB4599A365B327   FELIPA       SILVA                        OR     90007069036
BB459A7615B54B   PAGE         CHRISTY                      NM     35017290761
BB45B11AA3363B   TEMEKA       ROBINSON                     NC     90013971100
BB45B17247B489   NICOLE       ASHFORD                      NC     90014811724
BB45B1A745B265   THELMA       HALEY                        KY     68080701074
BB45B24A685836   ROSA ISELA   ROMERO                       CA     90010132406
BB45B53385B265   SARAH        DAUGHERTY                    KY     90005305338
BB45B611872B69   ERICK        HERNANDEZ                    CO     90013846118
BB45B933791978   MARIA        CARMEN VALLE                 NC     90013969337
BB46138845B573   DEBRA        TORRES                       NM     90002773884
BB461742185836   MARKEETA     BELL                         CA     90002077421
BB461882772B62   CARLOS       REYES                        CO     90003238827
BB4618A1193771   REGINA       DAVIS                        OH     90013228011
BB461972424B64   WURIE        KARGDO                       VA     81013679724
BB462647293771   ROBERT       CURTIS                       OH     90014886472
BB462716493764   RACHEL       THOMAS                       OH     90006877164
BB462789A3B355   ADAM         SMITH                        CO     90011927890
BB462893155972   COOPERR      AARON LEE                    CA     49032148931
BB46315673363B   MARIA        MILLER                       NC     90013971567
BB4631A959194B   GREGORY      HARRELL                      NC     90013321095
BB463254A33626   MARIA        CAMPOS                       NC     90008202540
BB46345688B156   ANGELA       BASTIANI                     UT     90000764568
BB46365A691257   JERAD        LOMAX                        GA     90012226506
BB463796597124   CANDY        HOLBROOK                     OR     90008737965
BB463955655972   TERESE       KLAFT                        CA     49081299556
BB463A34654B94   JOSE MIGUE   LOVO                         VA     90007640346
BB465864193771   TERRY        COWAN                        OH     90013928641
BB465A7689194B   JACKSON      MARSHALL                     NC     90015090768
BB465A9415B222   BOBBY        WHITEHEAD                    KY     68011860941
BB466218372B67   LORIE        NEWBY                        CO     33004462183
BB466273885836   ROGER        MCWILLIAMS                   CA     90013222738
BB466422697124   JONATHON     MESA                         OR     90010774226
BB466518193745   CHASITY      CLAY                         OH     90009195181
BB467254761994   SHEILA       QUARLES                      CA     46000332547
BB46848317B489   EDGAR        HERRERA                      NC     90011164831
BB468796472B62   JOHN         DAVIS                        CO     33013757964
BB4687AA593727   DUANE        MORGAN                       OH     64558897005
BB468A59542376   JOHN         ELLIS                        GA     90014700595
BB469369676B27   LUZ          BELTRAN                      CA     90000113696
BB469599255972   BRIAN        BRATTON                      CA     90013945992
BB469689893745   TERESA       BRUNER                       OH     90003786898
BB469862193771   JEREMY       BROOKS                       OH     90013348621
BB46B13757B489   JOHN         MCDOWELL JR                  NC     11000971375
BB46B35A876B27   LUISA        GONZALEZ ALCALA              CA     90014803508
BB46B491891948   GREGORY      MITCHELL                     NC     90011754918
BB46B89735B396   MANGA        GHISING                      OR     90013058973
BB4713A3191257   LAKISHA      HASTINGS                     GA     90013843031
BB471481A9194B   CHRISSY      LACKAMY                      NC     90013384810
BB471617672B62   ONORIO       FLORES-XOCHITLA              CO     33000466176
BB471748791978   JODY         CRAIN                        NC     90008407487
BB471A8664B251   JENNIE I     JOHNSON                      NE     27013420866
BB472198A3363B   SONIA        VALDEZ                       NC     90004931980
BB472417A2B941   ROGELIO      GARCIA DE LA CRUZ            CA     90014734170
BB472585493752   NICOLE       MIKEL                        OH     64546845854
BB4726A3A55972   DONALD       SPENCER                      CA     90013946030
BB473862272B62   JANET        MARTINEZ                     CO     33032198622
BB47451639194B   MANUEL       CERVANTES                    NC     90013975163
BB4746A7972B69   LUIS         RIVAS RODRIGUEZ              CO     90015416079
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2319 of 2350


BB47494717B489   LAQUITTA      RICHARDSON                  NC     90013509471
BB47555A52B941   JOSE          RODRIGUEZ                   CA     90007695505
BB476196472B62   ROMANA        ROBINSON                    CO     33052001964
BB476214376B27   ROMAN         ABARCA                      CA     46067192143
BB476542491978   DEKA          ABDURAHMAN                  NC     90005095424
BB476A49797124   KORTNEE       STEPHENS                    OR     90014320497
BB477326354B94   SECKIN        AKMAN                       VA     90002303263
BB477814176B27   IAN           SUTER                       CA     46048458141
BB477A34285836   KYLE          OTTO                        CA     90002640342
BB478218776B27   SONIA         CRUZ                        CA     46057822187
BB478455754B94   ELSA          MEDINA                      VA     90009614557
BB47857492B941   CHRISTOPHER   MORRIS                      CA     90010775749
BB478618572B62   LEE           GANT                        CO     90007626185
BB47865815B327   DAVIS         NATE                        OR     44504876581
BB478752893758   KINEKA        HARDIN                      OH     64560707528
BB478837672B69   BARBARA       BUTTON                      CO     33067708376
BB478A33A54134   DONALD        HAMBELTON                   OR     90014920330
BB47916589194B   SINDY         SALADO                      NC     90008791658
BB479652391978   MARILYN       COLES                       NC     90013946523
BB47B1A9593752   KING          TIMOTHY                     OH     90010981095
BB47B342733635   MEOCIA        TORAIN                      NC     18000013427
BB47B42A572B69   KEN           ALLEN                       CO     33022554205
BB47B646491592   MANNY         OLIVAS                      TX     90000566464
BB481229631639   BRIANNA       KEE                         KS     90006272296
BB48136715B269   LATANYA       BUGGS                       KY     90012583671
BB481577476B3B   KEITH         WILSON                      CA     90005455774
BB481639593771   SAMANTHA      LINK                        OH     90011126395
BB48233113363B   FELECIA       BRADLEY                     NC     90013153311
BB48269477B489   JUSTIN        NELMS                       NC     90015146947
BB482AAA472B69   MARIA         SALOMON                     CO     33061480004
BB483564A54121   PAUL          QUEEN                       OR     90015345640
BB48382465598B   MARIO         LOPEZ PRUZ                  CA     90005628246
BB485141292871   KATIE         ALTIVEROS                   AZ     90015351412
BB485443933635   CHRISTOPHER   STEWART                     NC     90006104439
BB485645472B69   SHELLEY       LAROUCHE                    CO     33054126454
BB4859A3793745   CHRISTINA     DEES                        OH     90014409037
BB486326A91978   ANA           GUTIERREZ                   NC     90011783260
BB48639617B443   MARIANA       MAYA                        NC     11063863961
BB48666122B941   ALEXIS        MORA                        CA     90012986612
BB4869A7693745   DENISE        WILLIAMS                    OH     64543389076
BB487565993745   MIKE          CLEMENTS                    OH     64564425659
BB48795552B271   DAVID         MICKEL                      DC     90015369555
BB48795847B431   TASHIKA       WELCH                       NC     90009709584
BB487979493727   DAVID         WILSON                      OH     64508359794
BB488237193752   GWENDOLYN     SHARPE                      OH     64515692371
BB4888A672B271   REMBERTO      MATA                        VA     90001048067
BB488A96A72B62   JENNIFER      CURTIS                      CO     33029650960
BB489718654B94   NORMA         GONZALEZ                    VA     90014077186
BB48995A872B62   MICHAEL       CREECH                      CO     90009999508
BB48B97A65B269   KATHERINE     SCHENCK                     KY     90014829706
BB491343485927   EZEQUIEL      CORTEZ                      KY     67005163434
BB491814893771   MARGARET      FERNANDEZ                   OH     90007818148
BB491883697124   ALISHA        POWERS                      OR     90015108836
BB491A2213B176   JAIME         BAUTISTA                    VA     90001010221
BB49237682B941   C             MARTINEZ                    CA     90013453768
BB492386593745   STEPHANIE     ACKLEY                      OH     90007763865
BB4924A875B269   LACAROLE      MITCHELL                    KY     90007674087
BB492755293752   DANIEL        WEINLAND JR                 OH     64599137552
BB492756855979   JAIME         SCOTT                       CA     90008377568
BB492793A2B26B   COLLINS       HUGHES                      DC     90013507930
BB493257391574   TRACY         MENDIETA                    TX     90012032573
BB493645176B27   ANA           LARA                        CA     46074856451
BB49381685B135   DENISE        FISHER                      AR     23084048168
BB494217972B69   BRANDEN       HERRERA                     CO     33064292179
BB49465662B25B   GLINDA        EWIN                        DC     90012026566
BB4948A142B857   SUSIE         SCHULER                     ID     42012088014
BB494969185964   DONNA         GOLDIE                      KY     90012599691
BB49551325B327   VERONICA      KEGLEYSMITH                 OR     90012205132
BB495799497124   ADRIANA       PINEDA                      OR     90004137994
BB495AAA591978   LESLIE        GUTIERREZ                   NC     90013970005
BB4963A1A77977   LEONARD       BOEY                        IL     90014873010
BB496452393752   REGINA        EVANS                       OH     90014514523
BB49669335B269   FRED          NELSON                      KY     90010586933
BB496777855972   DEBORAH       WILLIAMS                    CA     90005677778
BB49722A293752   DOUGLAS       ENGLE                       OH     90010222202
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2320 of 2350


BB497A79993752   ANGELES        BROTHERTON                 OH     90012200799
BB498145972B44   ALEJANDRO      MUNOZ                      CO     33003311459
BB49B12334B266   STACI          SCOENBOHN                  IA     90006271233
BB49B681691978   HECTOR         SALAS                      NC     90013946816
BB49BA54A2B54B   RINISHA        BEARD                      AL     90014820540
BB4B1365293727   LAMAR          HAMDED                     OH     90015483652
BB4B1415685836   LOUIS          LISSAEE                    CA     90013674156
BB4B1573193751   PATRICIA       GOODMAN                    OH     64596325731
BB4B196993B352   JOSE           SANCHEZ                    CO     33006119699
BB4B1A27491257   SONIA          OLIVER                     GA     90012190274
BB4B211243363B   MARIA MOLINA   MOLINA                     NC     90013951124
BB4B213462B962   JOSE           CABEZA                     CA     90013241346
BB4B222245B269   MYRA           JOHNSON                    KY     90008502224
BB4B248AA72465   TRICIA         NUDO                       PA     51069914800
BB4B24A232B941   PEDRO          CANSECO                    CA     90015144023
BB4B3545154B94   KALVIN         STARCHER                   VA     90014985451
BB4B3792972465   JUSTIN         FITZGERALD                 PA     90005727929
BB4B3832593745   NOELIA         BASQUEZ                    OH     90012778325
BB4B4688555927   DONALD         HALL                       CA     49000236885
BB4B481A22B287   TONJA          BOWMAN                     DC     90001678102
BB4B575662B857   CHRIS          HARRELSON                  ID     90014467566
BB4B5868A91257   MASSON         TUCKER                     GA     90010308680
BB4B646695B396   JORGE          SOTO                       OR     90011254669
BB4B6495A55972   AMY            RICHARD                    CA     90014464950
BB4B6582672B62   MARK D         FIDLER                     CO     90008025826
BB4B6978931639   THELMA         STILWILL                   KS     90013839789
BB4B6A8324B562   CATHERINE      ESPERE                     OK     90011510832
BB4B6AA9231639   KIM            SLOVER                     KS     90007580092
BB4B7139472B69   ERIN           OLEKSIUK                   CO     90005541394
BB4B75A6297124   KEITH          HUDSON                     OR     90000495062
BB4B7A2459194B   CARLOS         GARCIA                     NC     90015090245
BB4B839929194B   MARIA          RILEY                      NC     90011353992
BB4B8698431639   CHARLES        BLACKBURN                  KS     22048966984
BB4B8856993771   AARON          KELLER                     OH     90011608569
BB4B8969293751   ELIZABETH      MCDANIEL                   OH     90011069692
BB4B9987176B3B   LIBORIO        RAMOS                      CA     46064709871
BB4BB22AA91976   COLM           MARTIN                     NC     90011002200
BB4BB28892B26B   HENRY          ALLEN                      DC     81094502889
BB4BB322397124   TAMI           CALIFF                     OR     90013913223
BB51145AA93727   RODERICK       MCCULLOUGH JR              OH     64525814500
BB5114A4A2B271   CHRISTIAN      COMLEMAN                   DC     90008204040
BB51162342B271   CHRISTIAN      COLEMAN                    DC     90014336234
BB511A76493758   JAMIE          ROBINSON                   OH     90012980764
BB512237372B69   THOMAS         DANIEL-FLANAGAN            CO     90008822373
BB512425A41258   RICHARD        RODRIGUEZ                  PA     90001324250
BB51245462B857   JEANNY         BOYER                      ID     42006184546
BB51377462B271   ZARTIA         BERRY                      DC     90009497746
BB513844591574   ERIC           MALDONADO                  CA     46015148445
BB514238976B3B   STEPHEN        HOUSE                      CA     90003282389
BB514328693751   JAMES          HUTSELL                    OH     90012473286
BB514342354B94   CHARLES F      STOUT                      VA     90012943423
BB514436554B94   JUAN           RODAS                      VA     90008314365
BB51472435B327   MARIELA        CHAVEZ                     OR     44552957243
BB514856993771   AARON          KELLER                     OH     90011608569
BB515112691257   LESTER         JOHNSON                    GA     90005001126
BB515283676B3B   JUAN           CASTILLO                   CA     90003282836
BB51538919194B   REGINA         HAGWOOD                    NC     90010883891
BB51616325B265   SHARAINA       THOMPSON                   KY     90011121632
BB516283676B3B   JUAN           CASTILLO                   CA     90003282836
BB516392485836   OLIVIA         VENEGAS                    CA     90002183924
BB516461357444   EMILIANO       CHAVERO                    IN     20529974613
BB516729876B27   JAZMIN         LLAMAS                     CA     46021687298
BB516A5795B244   BEN            ARVIN                      KY     90014760579
BB517353142376   GWENDOLYNN     MARTIN                     GA     90014283531
BB517773A72B56   BENJAMIN       ROSE                       CO     90006167730
BB517936791978   MARGARITA      SALMERON MENDOZA           NC     90011789367
BB517952541233   BENJAMIN       PERRIN                     PA     90009229525
BB518166785927   NORD           RIVERA                     KY     90002871667
BB51831858B15B   JORDAN         KAY                        UT     90014513185
BB51837499194B   EDWARDS        VANGHAN                    NC     17046823749
BB51874A291978   VICTOR         GUERRERO                   NC     90011797402
BB519617941229   JANET          DANKO                      PA     51042276179
BB51975262B857   ANNE           CIZA                       ID     42074967526
BB51984A572B69   DAWN           HUSKEY                     CO     90012028405
BB519A3993363B   ALLEN          DAN                        NC     90014180399
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2321 of 2350


BB51B53845B396   MARLANA      GREEN                        OR     90014705384
BB51B84825132B   KALA         SINGH                        OH     90008708482
BB51B95462B271   REGINALD     PARKER                       DC     90013579546
BB521122755972   MARIA        PEREZ                        CA     90013101227
BB521181991978   NANCY        CORREA                       NC     17079181819
BB521364993727   ANGELA       DILLON                       OH     90010743649
BB52175842B271   DENITA       SIMUEL                       DC     90001257584
BB521971497B31   NATHAN       BEDNARIK                     CO     39049149714
BB52211653363B   VIN          DIESEL                       NC     90014181165
BB52249A885836   JOVIELYN     ULZANO                       CA     90011784908
BB522515155972   ANTONIO      FELAN JR                     CA     90011655151
BB52313513363B   ENGAE        LUIS                         NC     90014181351
BB523432593751   SHERRIA      BUTLER                       OH     90011344325
BB524116572B44   LORENZA      ORNELAZ                      CO     90006891165
BB52414983363B   DJ           PATTMAN                      NC     90014181498
BB524225A61994   ADRIAN R     FLAISZ                       CA     46000362250
BB525181885836   LIDIA        MORALES                      CA     46040641818
BB525439A76B27   HILARIO      GONZALES                     CA     46078014390
BB52567725B396   JESSE        HOFFMEISTER                  OR     90014576772
BB5256A3831639   WELDON       SMITH JR                     KS     22044736038
BB52591857B489   JESSICA      GRIFFIN                      NC     90013019185
BB525A49393771   MICHAEL      BROWNLOW                     OH     90014930493
BB52646733B372   TOMAS        ROMERO                       CO     90011034673
BB52648572B857   CRYSTAL      ROBINSON                     ID     42011434857
BB526523476B27   VICTOR       ORTIZ                        CA     90010415234
BB526A5517B443   RUBEN        MENDOZA                      NC     11057960551
BB526A66191943   RAYMOND      BURROUGHS                    NC     17041620661
BB52722293363B   ANA          GONAZELS                     NC     90014182229
BB52729372B857   JESSE        STARKEY                      ID     90012712937
BB52746A193771   CASSANDRA    HARRIS                       OH     90012704601
BB527755491978   HONORIA      JUAREZ                       NC     90013947554
BB527866193752   DAVID        JONES                        OH     64558818661
BB528147685836   SCOTT        OHRT                         CA     90013241476
BB528284493771   SHANE        BYRD                         OH     90003032844
BB528369A2B857   ROSALBA      VILLA                        ID     42039133690
BB528765791978   JAMAL        PRICE                        NC     90013947657
BB52923813363B   BARNRA       ANN                          NC     90014182381
BB52947A276B3B   MARIA        HERNANDEZ                    CA     90002884702
BB529622A5B327   RACHEDIA     ROSS                         OR     90009346220
BB529663285836   ADRIANNA     MENZHAUSEN                   CA     90003796632
BB529736655972   FELIPE       GONZALES                     CA     90014587366
BB529882791257   JONATHAN     PEED                         GA     90012418827
BB52B139872B62   ARMANDO      MARTINEZ                     CO     33023711398
BB52B27557B387   CLEMENTO     SANTILLAN                    VA     90006182755
BB52BA39493758   LITISHA      BURTON                       OH     90007650394
BB5311A879194B   CHAQUANA     SAMPSON                      NC     90014351087
BB531584155972   SARA         AVILA                        CA     49098145841
BB532466772B69   JESUS        CENICEROS                    CO     33035664667
BB532573A5B265   KAEN         LOUCKS                       KY     90007705730
BB5325AA85B327   HUMBERTO     BADILLO                      OR     90013635008
BB532862A93752   SHIRLEY      COCKRELL                     OH     90012888620
BB532942331665   ASHLEY       ARCE                         KS     90001079423
BB53323615B396   MALSBURY     AMBER                        OR     90013282361
BB533868893752   JAMES        CRAFT                        OH     90012788688
BB534378476B27   VICTOR       ANDRADE                      CA     90011183784
BB53445422B271   CARLETTA     ZYRD                         DC     90011794542
BB534455472465   MEGAN        LYON                         PA     90003744554
BB53448112B941   FRANCISCO    TASCON                       CA     90014734811
BB534596497124   TERRY        SPINKS                       OR     90002655964
BB534632847855   MELINDA      MOTEN                        GA     90013336328
BB534818193771   LYNDA        WARREN                       OH     64516888181
BB5348A4A93727   LISA         BOND                         OH     64544738040
BB53526A73363B   ANDY         JOHNSON                      NC     90014182607
BB53544569194B   BELINDY      LLOYD                        NC     90010164456
BB535517954B94   MIA          WHITE                        VA     90013845179
BB535683571936   SEAN         GILMORE                      CO     90006486835
BB53576A455972   JUANA        ORTIZ                        CA     90013597604
BB535999A5B269   SCHARONDA    SANDERS                      KY     90012289990
BB536469393758   CLARICE      MONIQUE                      OH     90014864693
BB53663143363B   JOSE         COUTO                        NC     90011536314
BB536644472B69   AARON        MANZANAREZ                   CO     90012786444
BB53681139194B   OTONIEL      RIVERA                       NC     90000928113
BB53695365B396   BREANNA      DEEWHICT                     OR     90014129536
BB5369A885B396   BRADLEY      LOWE                         OR     90008489088
BB536A54293751   AMANDA       ADAMS                        OH     64500460542
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2322 of 2350


BB537252231639   SHELLY        LEITZEL                     KS     90010412522
BB538416391554   DOLORES       JIMISON                     TX     90013794163
BB539159A91978   TERRANCE      LANCASTER                   NC     90011131590
BB53929A191554   DIEGO         GARCIA                      TX     90010312901
BB53939243363B   MAYRA         GAMEZ NIETO                 NC     90012683924
BB539847276B27   HOLLY         FITZGERALD                  CA     90006648472
BB53B26AA3363B   FERNANDA      GAMEZ NIETO                 NC     90014182600
BB53B278931639   TERRY         MITCHELL                    KS     90015002789
BB53B2A6593727   TIFFANY       REED                        OH     90002792065
BB53B726372B69   LESTER        RAMSEY                      CO     90010937263
BB53B841A31639   VIVIAN        DE LA TORRE                 KS     90013388410
BB53B949981682   SHELITA       HENDERSON                   MO     90012429499
BB54123452B857   BERSAIDA      MENDIOLA                    OR     90013452345
BB54135922B883   DANIEL        MOCKNITZ                    ID     42016383592
BB54142693363B   DANNY         BOBO                        NC     90014184269
BB541555172B62   ARTURO        DURON                       CO     33042905551
BB541896793752   DANTE         HERRING                     OH     64514928967
BB5418A467B489   EUSTORGIA     SANCHEZ                     NC     90012168046
BB5419A2355972   NATHANIEL     SMITH                       CA     90013159023
BB541A75A2B258   CLARENCE      JONES                       DC     90001570750
BB54221365B557   CLAUDIA       TISCARENO                   NM     90014532136
BB54246593363B   SANDY         MAICKLE                     NC     90014184659
BB542812A9194B   TYLER         CARRIGAN                    NC     90014398120
BB542A61531639   JEFF          THOMPSON                    KS     22014650615
BB543781A3363B   MARIA         TORRES                      NC     90012927810
BB544337791978   JESSE         WELLS                       NC     90013013377
BB54434252B271   PORSHA        MALACHI                     DC     90013573425
BB544369993727   JUAN          PALMA                       OH     90011203699
BB54465A454B94   RENATO        MENDIETA                    VA     90005506504
BB5446A5176B27   NORMA         GARCIA                      CA     90014916051
BB544993672B44   THOMAS        SELMAN                      CO     90012609936
BB544997184373   MELISSA       WEST                        SC     90001339971
BB54499944B525   SHARRITA      LASKEY                      OK     90011269994
BB54512395B265   NICOLE        DAVENPORT                   KY     90007721239
BB54562663B396   BENJAMIN      LUJAN                       CO     90011656266
BB545792591978   EBONY         MOORE                       NC     90013047925
BB546336A93751   CHARLENE      RAWLINGS                    OH     90012473360
BB546369A41276   JANICE        DICECCO                     PA     51030543690
BB54648843363B   MIGUEL        MARTINEZ                    NC     90014184884
BB546867585836   RODICA        PETRASCY                    CA     90002788675
BB547195355936   MAIRA         RENTERIA                    CA     90010491953
BB54782523363B   LETICIA       CRUZ                        NC     90009408252
BB54792A131639   MICHAEL       LOMBARDO                    KS     90015089201
BB547934691257   DEYQUAN       MORGAN                      GA     90014609346
BB548185A91978   ROBERTA       BARRIOS                     NC     90011791850
BB54898915B396   SIRENA        LAY                         OR     90014619891
BB548A15A91257   LINDSEY       WARNER                      GA     90014730150
BB54923A376B3B   SANITRA       ASHLEY                      CA     90003302303
BB549818697124   TRAVIS        STANFIL                     OR     90014558186
BB54B29273363B   BRUCE         KENNEDY                     NC     90014182927
BB54B5A3493751   AMANDA        BLOMMEL                     OH     90008105034
BB54B929991257   MARCIA        MORGAN                      GA     90014609299
BB551343293771   TIMOTHY       GENT                        OH     90015163432
BB55176545B396   AMBER         PATRAW                      OR     90000357654
BB551863593727   NICHOLAS      SIREON                      OH     90012358635
BB55444764B273   JERAMIE       BUCHANAN                    NE     26046804476
BB55452225B269   AARON         DAVIS                       KY     68052045222
BB554A69891978   MELISSA       JAMES                       NC     90013970698
BB555587991257   JASLIN        ALVAREZ                     GA     14592935879
BB555648841229   CHRIS         SPARBANIE                   PA     51016446488
BB555772A5B384   DARCEE        BAUGHN                      OR     90010187720
BB55581765B531   DANIEL        COBOSS                      NM     90010768176
BB555914672465   SESTIE        HILDRETH                    PA     90011879146
BB556121493771   DANIELLE      JONES                       OH     90013701214
BB556161991978   KEDIJA        ABDU                        NC     90011771619
BB556549797124   ERIN EILEEN   O BRIEN                     OR     90010015497
BB5565A2776B27   JOSE          JUAREZ                      CA     90012415027
BB556699393727   JILL          BLANKENSHIP                 OH     64562336993
BB55686457B489   FELIPA        CORTEZ                      NC     11020488645
BB5571A615B327   FRANKLYN      PERKINS                     OR     44568401061
BB55738842B857   ALISHA        BRODY                       ID     90012403884
BB557452393752   REGINA        EVANS                       OH     90014514523
BB557669397124   SCOTT         BURNS                       OR     90009136693
BB558614172B69   VIOLA         MARGARET                    CO     90011576141
BB558721872465   ERIC          FIALKOVICH                  PA     90011517218
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2323 of 2350


BB559779197124   JOHANNA      CHRISTIAN                    OR     90012717791
BB55988385B396   JESSICA      BOGGS                        OR     90012768838
BB559A49576B27   ANGEL        MARQUEZ                      CA     90010740495
BB55B195293751   SAMANTHA     TIPTON                       OH     90007461952
BB55B52113B325   NILA         SHELDON                      CO     33077095211
BB55B56A893752   SANDRA       MERCER                       OH     90013195608
BB55B84112B857   KAREN        NUNEZ                        ID     42094048411
BB55B939793758   RYAN         MICHAUD                      OH     90007069397
BB55B95917B443   MARIA        CALZADA                      NC     11057969591
BB56129A62B271   KAE          FARRELL                      DC     90015522906
BB56173895B269   NORA         MCCARTHY                     OH     90012347389
BB561747755972   ESMERALDA    VILLA                        CA     90001057477
BB562312A93745   CEAIRA       SELDON                       OH     90009603120
BB56266752B271   HEARD        DEITRA                       DC     90011336675
BB56273924122B   ROBERT       MOSER                        PA     51064137392
BB562A35A5B396   RICKY        RIOS                         OR     90013220350
BB5632A8197124   SUSAN        WALL                         OR     90012922081
BB56341A472465   BRIAN        ANZIO                        PA     51039334104
BB563529A55972   ADRIAN       JIMINEZ                      CA     49064905290
BB564438193752   MARCUS       SPEAKS                       OH     64500254381
BB564612572465   ADAM         JACOBS                       PA     90013666125
BB564664897124   SERAFIN      ROSAS                        OR     90014886648
BB565213693758   TONEISHA     KELLY                        OH     90014742136
BB565384793771   BRIAN        CAUDILL                      OH     90014153847
BB56554915B265   CAELIN       RALSTON                      KY     90014685491
BB566171293771   TY           STEWART                      OH     64595371712
BB56617A95B396   NIKKI        WATSON                       OR     90008491709
BB5662A8772465   AMBER        CHANDLER                     PA     51011262087
BB5663A4476B27   MARSHAWN     BRADFORD                     CA     46075223044
BB566546A2B941   JOSE         LOPEZ                        CA     90005175460
BB56661375B265   SHAWN        BYNUM                        KY     90014426137
BB566875493745   LUTHER       WARD                         OH     90012928754
BB566A74393751   BRUCE        HANNAHS                      OH     90011950743
BB566AA515B327   JASON        EICHHOLZ                     OR     44548950051
BB567591391257   EDGAR        PENA                         GA     14598265913
BB56834AA7B489   ISAM         HAJIBANA                     NC     90000683400
BB56835912B26B   PERCY        BATES                        DC     90013523591
BB568362797124   DESIREE      HERNANDEZ                    OR     90011513627
BB569311693752   PRESTON      MCGREEVY                     OH     90013643116
BB56956A22B271   OSMAN        SARCENO                      DC     81006435602
BB56B289193751   SHARON       REESE                        OH     90012632891
BB56B371254B94   RAUL         NAVARRO                      VA     90014823712
BB56B852393764   DAVIDQ       GRIFFITH                     OH     90011278523
BB571481993771   PHILLIP      CAMPBELL                     OH     64587054819
BB57157A154B94   EFRAIN       PACHECO                      VA     90012515701
BB57215875B265   WHITNEY      BIECKERT                     KY     90011991587
BB572986472435   STACIE       WALLS                        PA     90006739864
BB5729A7A91554   VIRGINIA     VALADEZ                      TX     90012459070
BB573127893736   ASHLEY       FAIN                         OH     90006361278
BB573216A54B3B   KATHERINE    J. PATTERSON                 VA     81016012160
BB57395A655979   RONEIA       BILLINGS                     CA     90001279506
BB5739A5393764   ANTHONY      MALLORY                      OH     90000369053
BB5743A8661984   LEONARDO     ROYBAL                       CA     90008313086
BB57452715B269   CHARLES      BUNNELL                      KY     90014005271
BB57482342B857   RAY          CHAVEZ                       ID     90014098234
BB574882697124   BRENDON      SCOTT                        OR     90011378826
BB574A44893751   NINA         WASHINGTON                   OH     64517780448
BB57517275B396   TIM          STEHMAN                      OR     90008491727
BB57523A997124   MARK         SCHANTZ                      OR     90012922309
BB5756A265B265   EAZY         MONEY                        KY     90007706026
BB57614A231639   JANICE       ROSS                         KS     22058501402
BB576442372B69   TERESA       CONTRERAS                    CO     90012404423
BB57736A95B269   ANDRE        DOWNING                      KY     90011673609
BB577755891978   YAEL         MONSERRATH                   NC     90014267558
BB57836815B269   LINAIDA      TEJEDA                       KY     90013403681
BB579174354B94   SANTOS       RAMOS                        VA     90013281743
BB57B257697124   JUSTYN       PRIEST                       OR     90014332576
BB57B33A92B271   MAURICE      RICHARDSON                   DC     90014103309
BB57B375493764   TAWNEY       OLIVER                       OH     90011073754
BB57B388985927   JESUS        HERNANDEZ                    KY     90010313889
BB57B433361825   LOGAN        EWINK                        MO     90004894333
BB57B517991576   RONALDO      DURAN                        NM     75093175179
BB57B5A6193758   MARCUS       IVERY                        OH     90014645061
BB57B953185836   DANIEL       ROMERO                       CA     90009549531
BB57B989472435   SYLVIA       BOWMAN                       PA     90001449894
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2324 of 2350


BB581248793745   TONY         SMITH                        OH     90013672487
BB581349493727   JASON        PETITTO                      OH     90012423494
BB581389891257   STACEY       MADDOX                       GA     90015143898
BB581777985836   AJA          PARKS                        CA     90011167779
BB581928285822   R            IRVING                       CA     90009299282
BB582745893771   PAYGO        IVR ACTIVATION               OH     90013777458
BB582924793752   TEVAUGHN     TYLER                        OH     90013319247
BB582A52372B62   CENA LAURA   SPENCER                      CO     90011130523
BB582A9372B941   JENN         DENYS                        CA     90011380937
BB583313793758   DEBORAH      COMBS                        OH     64534133137
BB583489651324   GENEVIEVE    WHITMORE                     OH     66007294896
BB58352272B26B   JORGE        VALENCIA-MATEO               DC     81013775227
BB583739954B94   TRAENEL      JAMES                        VA     90015377399
BB583768597124   JOHNATHAN    GOMEZ                        OR     44046237685
BB583A41993751   TANEESHA     MOORE                        OH     90010970419
BB584492754B94   MADELAINE    CUELLO                       VA     90003964927
BB584634176B27   RAMIRO       RAMIREZ                      CA     90002456341
BB584772285927   ANGELA       PARKER                       KY     90006337722
BB585131572B69   MARGARITA    ARZOLA                       CO     33090921315
BB58525877B489   LAMONT       STREATER                     NC     90012072587
BB58529815B396   KANIKO       ALLEN                        OR     44560292981
BB585A6A371921   AMY          MEDINA                       CO     32086980603
BB5862AA95B384   ALICIA       ALBINO FLORES                OR     90011492009
BB586377293771   ROSEMARIE    EVRINGHAM                    OH     90012463772
BB587884533635   CEDRICK      CORBETT                      NC     90010558845
BB58799A331639   VICKIE       GABBERT                      KS     90009139903
BB588154A5B269   VANNESS      WORDLAW                      KY     90014871540
BB588788993771   KENNITH      NAPIER                       OH     90012237889
BB589472593727   COLLENE      ROACH                        OH     90003534725
BB589664897124   SERAFIN      ROSAS                        OR     90014886648
BB589923491592   MONICA       AGUILAR                      TX     90002039234
BB58B257A5B327   MELISSA      BUSCHO                       OR     90010522570
BB58B589593738   LYDIA        DONNELL                      OH     64533885895
BB58B62555B396   MICHAEL      BISHOP                       OR     90008506255
BB58BA96591978   LAURA        LOGGEMAN                     NC     17094120965
BB5912A8342332   RACHEL       DOOLITTLE                    GA     90010212083
BB59134195B327   RACHEL       MAGDALENA                    OR     90010713419
BB591433193758   CHRISTINA    NEELY                        OH     90008764331
BB591658197124   MAYELI       BARRAGAN                     OR     90012956581
BB59198AA55972   EDDIE        GONZALEZ                     CA     90013989800
BB591A8112B941   MAGDALENA    MORALEZ                      CA     45045790811
BB59217A18B825   ASHLEY       JOHNSON                      HI     90014731701
BB59231182B857   JESSICA      SUTTON                       ID     90005243118
BB592344697124   JOSE         GABRIEL                      OR     90011063446
BB592764555972   NORMA        ALVAREZ                      CA     49081467645
BB592794272B62   PETERSON     BRODIE                       CO     90014137942
BB59334842B941   IVETH        ROMERO                       CA     90013073484
BB593581893771   THERESA      HAMBACH                      OH     90012565818
BB59372783363B   BRANDON      STUCK                        NC     90014227278
BB59373355B396   GEANNA       GUERRERO                     OR     90011567335
BB59394542B857   AARON        THOMAS                       ID     90014159454
BB593A98893727   HOLLY        WOOD                         OH     64504880988
BB594385654B94   BEN          KRASINSKI                    VA     90011483856
BB5943A342B941   BRENE        FAVELA                       CA     90012273034
BB594592293745   PAMELA       HIGGINS                      OH     64551095922
BB594786591257   CRUZ         GUTIERREZ                    GA     90010457865
BB59521A193752   TRACI        STORMER                      OH     64572262101
BB59578A376B27   VANESSA      GARCIA                       CA     90009097803
BB596928991965   DESNIS       VILLEGA                      NC     90012869289
BB597147672465   ANDREW       NUGENT                       PA     51031681476
BB597198A97124   JESUS        GONZALEZ                     OR     90013991980
BB59744212B271   RASHAD       CARLTON                      DC     90012054421
BB5976A2431639   CYNTHIA      BRADFORD                     KS     90014356024
BB597992491978   NURIS        AYARA                        NC     90013949924
BB597A3A693751   TAMMY        TOLLE                        OH     90012600306
BB59845795B396   JULIA        GALAZ                        OR     90009704579
BB59849835B396   JACK         BURTON                       OR     90012694983
BB59856839194B   JESSICA      BYRD                         NC     17095415683
BB598619793771   AMY          STUDEBAKER                   OH     64555196197
BB598638693727   JENNY        SPAIN                        OH     64551796386
BB598734731639   JOHNNIE      EVANS                        KS     22094057347
BB59876A693751   DAYOMINE     OWENS                        OH     90015017606
BB59884A176B3B   EFIGENIO     SANCHEZ                      CA     90003318401
BB598999191978   STEVEN       PARISI                       NC     90013949991
BB598A2A82B271   NERY         VASQUEZ                      DC     90008310208
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2325 of 2350


BB59933855B265   LINH           DOAN                       KY     90012743385
BB599449472B69   ERICK          RODREGIZ                   CO     90012404494
BB59969AA76B3B   PATRICIA       MILLAN                     CA     90006216900
BB59991427B489   JAMES          LOCKIE                     NC     90012199142
BB59B453891582   LUCIA          LOPEZ                      TX     75016394538
BB59B536993758   RAMON          GARCIA                     OH     90003625369
BB59B77967B489   FRANK          LUCAS                      NC     90014897796
BB59B82262B857   CHRISTINA      GOMEZ                      ID     90006268226
BB59B872672B29   DAVE           NOSKER                     CO     90004658726
BB5B1238985836   URIEL          MORENO                     CA     46094542389
BB5B147413363B   CLAIRE         TYSSO                      NC     90014174741
BB5B18A225B338   RYAN           MCELORY                    OR     90007358022
BB5B1922493751   JARON          TOWNS                      OH     90007479224
BB5B1981585836   VINICIO        QUINONEZ                   CA     90014949815
BB5B2597A54B94   JORGE          HERNANDEZ                  VA     90004565970
BB5B2666593727   CHATONA        BANKS                      OH     90007436665
BB5B314663363B   ANITA          HORTON                     NC     90004561466
BB5B332A493752   GARY           SAVAGE                     OH     64542113204
BB5B3422693771   CATHY          BYERS                      OH     64535794226
BB5B396452B941   KATINA         PONT                       CA     45052919645
BB5B3A78341229   CRYSTAL        ARMSTRONG                  PA     90008460783
BB5B3A8A297124   THOMAS         LYTH                       OR     44072100802
BB5B4324954B94   MARVIN         RAMAOS                     VA     90013353249
BB5B4397485836   CYRIL          MANTHORPE                  CA     46086963974
BB5B457A772B69   ELVA           HERNANDEZ                  CO     90002085707
BB5B4618871699   CHERYL         NIEVES                     NY     90000656188
BB5B4A76697124   JENNIFER       GRANERA                    OR     90012910766
BB5B562643363B   DEVIN          CORNELIUS                  NC     90014176264
BB5B6413A91257   ANTHONY        ELLISON                    GA     90012584130
BB5B6547293752   CHRIS          CATBERTH                   OH     64509535472
BB5B6679255972   SHAUNA         SHELTON                    CA     90001206792
BB5B6741372B34   CESAR          GARCIA                     CO     90000667413
BB5B679A75B396   MIGUEL         BLAS MENDEZ                OR     90003217907
BB5B769385B396   GREGORY        GIBSON                     OR     90008476938
BB5B7954293745   DEBORAH        MINES                      OH     90014009542
BB5B7969A72B69   EDITT IVETT    MONTERROZA                 CO     90015109690
BB5B848932B941   ADANELIS       RICO                       CA     90011314893
BB5B865933363B   MUVE           MUSIC                      NC     90014176593
BB5B8722361825   MELISSA        PIERCE                     IL     90015387223
BB5B8852A91978   ALLEGRA        WASHINGTON                 NC     90011788520
BB5B8958891881   KALEBRA        FOX                        OK     90010009588
BB5B89A3A93751   NIEVES         JONES                      OH     64582259030
BB5B8A84691952   LAMONICA       GERMANY                    NC     90009090846
BB5B926412B841   BENJAMIN       OROZCO-ZAMORA              ID     90015352641
BB5B9835961994   MARILYN        BENFORD                    CA     46090568359
BB5B9948972B69   JUDY           FOY                        CO     33039419489
BB5B9A1767B489   MAITA          KERSEY                     NC     90012240176
BB5BB24AA72B62   ERIC           DZUL-AKE                   CO     33094252400
BB5BB293584373   CHARLES        STOKES                     SC     90003392935
BB5BB2A555B265   TROY           BENNING                    KY     68076742055
BB5BB41AA31639   AMANDA         JENKINS                    KS     22034064100
BB5BB43563363B   CRICKET        WIRELESS                   NC     90014174356
BB5BB54A976B27   MICHELLE       PIKE                       CA     46082635409
BB5BB71992B271   MARY           ROMERO                     DC     90009987199
BB5BB966693752   DANIEL         NIEDERMAYER                OH     90014489666
BB61154A793771   ANDREW         FULLER                     OH     90013545407
BB61174585B351   MARIA          ORTEGA                     OR     90001427458
BB61188885B265   SUSAN          WILLIAMS                   KY     90014488888
BB61217775B265   ALEASHA        SMITH                      KY     90004351777
BB612378393758   IVERSON        ALLEN                      OH     90008503783
BB612413A91257   ANTHONY        ELLISON                    GA     90012584130
BB612752885836   SILVIA         ARTEAGA                    CA     90013447528
BB612AA682B941   ANGELICA       RAMOS                      CA     90006260068
BB613171955996   ERMA PAULINE   CRIBBS                     CA     90003951719
BB613241697124   RUTH           HERNADEZ                   OR     90012452416
BB613261572465   CASEY          GIBSON                     PA     90010232615
BB61382295B327   MOHAMMAD       NOURI                      OR     90013258229
BB6138A265B548   MELODY         BALLARD                    NM     90009058026
BB614361976B27   SABRINA        MCGLYNN                    CA     90007273619
BB61475815B327   MARVIN         WHITE                      OR     44514987581
BB614844172B69   JOSE           RAMOS                      CO     33097568441
BB614993521B48   MICHAEL        SILVA                      TX     90012839935
BB614AA7991978   PATRICIA       DAVILA                     NC     90003690079
BB615641555972   HOLLY          ZARATE                     CA     49093806415
BB615947485927   ROB            PENROD                     KY     67032429474
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2326 of 2350


BB61617587B489   BARRY          CLARK                      NC     90011451758
BB61696722B857   FRANCES        JOINER                     ID     90010679672
BB61696A65B265   CHUGGIE        HUDSON                     KY     90010939606
BB61713582B857   NORA           SIMMONS                    ID     42059791358
BB61746A472465   GARLAND        WILLS                      PA     90014864604
BB617A36591978   ROSES          HOLMES                     NC     90013950365
BB61812585B522   JANIS          CARBAJAL                   NM     90009031258
BB61928913363B   KAJUANA        HAMILTON                   NC     12038732891
BB619358A55927   ERIC           MAGGARD                    CA     49067643580
BB619638472465   CELESTINE      BOYD                       PA     90011026384
BB61B343293771   TIMOTHY        GENT                       OH     90015163432
BB61BA6A693751   MARYANN        SHINKLE                    OH     90002170606
BB621229193758   TYREE          WILSON                     OH     90014652291
BB62195259194B   SYLVIA         TAPP                       NC     90014809525
BB62195885B396   THAD           MACMILLAN                  OR     44568359588
BB6222A1193752   SHELBY         GEORGE                     OH     90012222011
BB622539472B69   SIMONE         RAMIREZ                    CO     33054035394
BB62292228562B   ANTONIO        LOPEZ                      NJ     90006879222
BB623479A55993   GRISELDA       ZENDEJAS                   CA     90013044790
BB623488497124   WENDY          WELSH                      OR     44048704884
BB623534855992   RAPHAELA       MADRIGAL                   CA     48060515348
BB623893376B27   MARIA          MENDEZ                     CA     90013308933
BB624131691978   NECARLA        FULLARD                    NC     90014801316
BB62425962B271   MATTHEW        SHORTER                    DC     81035252596
BB6243A1254B94   ZIMIRA         ELSTON                     VA     90012463012
BB624673285836   TIMOTHY        LANGFORD                   CA     90012306732
BB624779354B94   DELMIRA        ELSTON                     VA     90008177793
BB625123893771   MIHELE         STEPHENS                   OH     90011291238
BB6252A572B258   ALICIA         GILLIAM                    DC     90001432057
BB625433291257   JABRI          RUTLEDGE                   GA     90013394332
BB62545915B333   AMADA          SANCHEZ                    OR     90010584591
BB625633776B3B   EDGAR          ESCOBEDO                   CA     46004066337
BB626A15297124   MARVIN         STEPHENS                   OR     44026740152
BB62722A931639   FELIPE         MONTES                     KS     90012572209
BB627881572B69   ANA            GANDARILLA                 CO     90011408815
BB627918472B69   NAM VAN        LE                         CO     90013599184
BB628136972465   EDWARD         HARTMAN                    PA     51093121369
BB628332693771   BARBARA        STAPLETON                  OH     90015273326
BB62885389194B   JEANETTE       NORRIS                     NC     17070248538
BB629122755972   MARIA          PEREZ                      CA     90013101227
BB629766293727   JAKE           ENGLE                      OH     64528847662
BB629952472B44   MAURO          PEREZ                      CO     33096569524
BB629971772465   WILLIAM        STAUFFER                   PA     90009119717
BB62B195672B69   ANDY           IDEK                       CO     33011541956
BB62B234A93745   TIFFANY        LEE                        OH     90014412340
BB62B84437B489   SAMANTHA       MCKINNEY                   NC     11045248443
BB631486461924   MARIO          RODRIGUEZ                  CA     90010264864
BB631534193727   MARIE          HOLLOWAY                   OH     64575785341
BB631626672465   CAROL          SAXON                      PA     51042786266
BB63179399194B   KISHA          SMITH                      NC     17085407939
BB631833272B62   GERALD         DURAN                      CO     90010718332
BB63197332B857   ELZA           MADERO                     ID     90014159733
BB632768791257   EDDIE          KINSEY                     GA     90007547687
BB633316493771   TONY           DOUGLAS                    OH     90013013164
BB633698631639   ALEXANDER      REED                       KS     90013436986
BB63386667B489   VICKY          PRINCE                     NC     90013008666
BB633A1565B396   EVA            TAYLOR                     OR     90008660156
BB633A31376B27   EVA            MARTINEZ                   CA     90010760313
BB63413542B271   AMBER          SHARP                      DC     90012901354
BB63427852B271   JEROME         JOHNSON                    DC     90015092785
BB63467882B857   GUDALUPE       JIMENEZ                    ID     42094066788
BB635218A97124   YUDITH         ORTIZ LOPEZ                OR     44012902180
BB635A1615B269   ANGELINA       NOQUIZ                     KY     90012260161
BB636239193751   JENNIFER       TYREE                      OH     64505502391
BB636249A91978   LATAVIA        MCLEAN                     NC     17081062490
BB636311355927   DANNY          AVILA                      CA     90013903113
BB63688545B327   VICKIE         BECKETT                    OR     44516608854
BB637134133635   ESTHER         LOPEZ                      NC     18041201341
BB63721765B396   GERALD         CUNNINIGHAM                OR     90014632176
BB6372A622B857   ROSA           GARCIA                     ID     42063702062
BB637958493752   SHAMEKA        KEITH                      OH     90006589584
BB63817582B941   ALEX           MORENO                     CA     90013861758
BB63821859194B   PEDRO          FLORES                     NC     90010472185
BB638245972B62   SAUNDRA        KESSLER                    CO     90012322459
BB63873985B327   LUIS ALBERTO   PALACIOS DE LA ROSA        OR     90004827398
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2327 of 2350


BB63913645B396   MIKE          MOLDOVAN                    OR     44527411364
BB63914755B269   TAMMY         STILLWELL                   KY     90010151475
BB639336A7B489   ESTRELLITA    PRIZE                       NC     90014503360
BB639345472B44   BRAD          BIESEMEIER                  CO     90006893454
BB6393A9693727   JAMES         GAULDING                    OH     64541693096
BB639433291257   JABRI         RUTLEDGE                    GA     90013394332
BB63967A231639   TRINA         CAREY                       KS     22039026702
BB639874741229   DERON         LAWRENCE                    PA     90009778747
BB639887572465   HARMON        VINCENT                     PA     51075798875
BB63B13462B26B   LASHONDA      TAYLOR                      DC     81095041346
BB63B322A93727   GLORIA        ECKERT                      OH     90010383220
BB63B4A625B327   LAURA         MUNOZ REYES                 OR     90000664062
BB63B656333635   ABIGAIL       WILSON                      NC     90010576563
BB63B774231639   TERASA        WRIGHT                      KS     90012657742
BB641337891257   KANDY         FILLMORE                    GA     90014633378
BB641794493752   TASHAE        HOLMAN                      OH     90001407944
BB641872297124   RITA          FERNANDEZ                   OR     44080648722
BB642616172B69   LILIANA       RAMIREZ                     CO     33058576161
BB642741593764   THREASA       VANKS                       OH     90006907415
BB642773A85836   AARON         AUSTIN                      CA     90013427730
BB643115193752   CODY          SHARP                       OH     90015491151
BB64439575B327   JUAN          REYES-GONZALES              OR     44576843957
BB644561155972   JOHN          GALVAN                      CA     49050235611
BB644664655972   JOHN          GALVAN                      CA     49043376646
BB644AA862B857   MARGARITA     HERNANDEZ                   ID     90003900086
BB645264142376   PAYGO         IVR ACTIVATION              TN     90013992641
BB64587948B145   LYNDA         GONZALES                    UT     90006378794
BB645A6447B489   MARIO         GRANDE                      NC     90012020644
BB646321876B27   GLORIA        BAROUSSE                    CA     90010923218
BB6463A717B334   INGRID        RIVERA                      VA     90014253071
BB646612A72465   CHRISTINE     NOLTE                       PA     90012996120
BB646625155936   MICHELLE      STRAND                      CA     49079956251
BB646A1A954B94   HAMIDULLAH    FARSIAZ                     VA     90015470109
BB647534397124   ERIC          FROST                       OR     90014175343
BB6475A3A7B489   TAI           HARRIS                      NC     90015205030
BB648257197124   JAMES         VERINER                     OR     90015202571
BB64831429194B   REBECCA       ROBLERO                     NC     90015003142
BB648699455936   LEAH          MELENDEZ                    CA     49000206994
BB64873155B396   JAMES         ZWASCHKA                    OR     44597077315
BB648858436125   YIRA          BARRIENTES                  TX     90011508584
BB648931293752   ERICA         MIKESELL                    OH     64579029312
BB648937793727   TONYA         HAMLET                      OH     90011399377
BB64916585B269   MARQUETTA     STARKS                      KY     90009631658
BB64979222B941   MARIA         ANGEL                       CA     45069507922
BB649866492831   ANGELICA      ZAMUDIO                     AZ     90015048664
BB649879997124   CRYSTAL       BENNETT                     OR     90009578799
BB649AA8A5B396   JORDAN        POWELL                      OR     90011650080
BB64B113193771   TRAVIS        RICHARDS                    OH     90013921131
BB64B1A132B26B   AMIN          PATEL                       DC     90002861013
BB64B427A72B62   ANNA          FLORES                      CO     90005654270
BB64B661597124   JOYCE         YOUNG                       OR     90013016615
BB65129A793764   RIGOBERTO     OSNAYA                      OH     90002592907
BB651A7A891257   KENNETH       JACKSON                     GA     90009190708
BB65241A591574   PRISCILLA     PIZANA                      TX     90012574105
BB652583493727   ASHLEY        GARDNER                     OH     90015075834
BB652741A72B62   VANESSA       MARTINEZ                    CO     90013807410
BB65292832B857   JEREMY        HENDON                      ID     90012699283
BB653379A72B44   WILLIAM       GRIFFITH                    CO     90006893790
BB653558A72B69   ISAAC         VILLA-VILLA                 CO     33074885580
BB653722472B48   SILVERIO      MALAGON-MORA                CO     33074727224
BB65385A754B94   MARIA DILIA   FRANCO                      VA     90003598507
BB653867585836   RODICA        PETRASCY                    CA     90002788675
BB654573293751   CHRISTINA     SNYDER                      OH     64535585732
BB654647972465   PAMELA        CAIN                        PA     51090536479
BB65486579194B   LAUREN        KIKUCHI                     NC     90011908657
BB654893991978   AURO          VILLEGAS                    NC     90012038939
BB654896297124   ALLEN         CLARK                       OR     90009218962
BB65493875B327   CESAR         LOPEZ                       OR     90010139387
BB655186591978   NATALIE       RODRIGUEZ                   NC     90013951865
BB6552A5793764   DARNELL       MILLER                      OH     90006942057
BB655377661998   SIGRID        HAMERL                      CA     90013903776
BB655586297124   BRANDY        BUNSEMEYER                  OR     90010645862
BB655741655972   NISA          DELAGARZA                   CA     90013947416
BB65578A241229   MELISSA       GOMBKOTO                    PA     90006927802
BB655835493771   EMELY         BRENKE                      OH     90015338354
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2328 of 2350


BB656132485836   KAINA         LAVALLART                   CA     90011191324
BB656176861992   ANTHONY       PELEGRINO                   CA     46077921768
BB656216693751   PORTCIA       COTTRELL                    OH     90011122166
BB65627A454B94   KEVIN         ATKINS                      VA     90015432704
BB656352A55972   ANTONIO       REYES                       CA     90000483520
BB6563A1793758   NICOLE        HUBER                       OH     90014653017
BB656775891257   RENE          GARCIA                      GA     14575047758
BB657123A31639   ESEYAS        HAILE GHEBREMARIAM          KS     90014071230
BB657336291978   MONIQUE       HAMILTON                    NC     17052783362
BB658818393771   DAVID         MARTIN                      OH     90012308183
BB658984672B62   ESTHER        GOMEZ                       CO     33052219846
BB65899A861954   MIGUEL        MUNOZ                       CA     46041679908
BB659738985836   JOSHUA        MENDOZA                     CA     90012667389
BB65974243363B   DUSTIN        MABE                        NC     90014297424
BB659883472B69   RACHEL        FLOHR                       CO     90014668834
BB659A12A93745   CHRIS         MILLER                      OH     90014480120
BB65B42859194B   TYRONE        GLYNN                       NC     90010354285
BB65B442491978   JAJUAN        BOWE                        NC     17068044424
BB65B45575B265   MARCIE        BIRD                        KY     90013874557
BB65B5A739194B   LUIS          MARTINEZ                    NC     90012165073
BB65B879997124   CRYSTAL       BENNETT                     OR     90009578799
BB661124172461   PATRICK       DECARLO                     PA     90003541241
BB661377831468   LATANIA       NGETICH                     MO     27517273778
BB6628A6572497   WANDA         PLETCHER                    PA     90006838065
BB66337385B265   VERNON        ENGLE                       KY     90014853738
BB66341192B26B   WALTER        AREVALO                     VA     81010874119
BB66353A931639   KAYLA         KLAUSMEYER                  KS     90008525309
BB66365455B396   ANGELA        MEGRANT                     OR     90002296545
BB663656493727   ISABEL        SUAREZ                      OH     90010806564
BB6637AA593751   DUANE         MORGAN                      OH     64558897005
BB6639A175B269   JENNIFER      BARTELT                     KY     90010499017
BB664715891978   JADA          JACKSON                     NC     90011807158
BB665724133635   TONYA         NIXON                       NC     18014567241
BB6658A5897124   LETICIA       AGUILAR                     OR     90013568058
BB66591125B396   CYNTHIA       BALTAZAR                    OR     90002539112
BB6661A6585836   DEZARAY       RANKIN                      CA     90013561065
BB666256751378   KEITH         WILLIAMS                    OH     90007592567
BB666432593745   CHELSEY       LYNCH                       OH     90014554325
BB666A91A72B62   BRITTNEY      BUCK                        CO     90011150910
BB6672A675B544   JOEL DAMIAN   DORADO ALVARADO             NM     90014912067
BB66733619194B   BEATRIS       LAZARO                      NC     17041223361
BB667631272B69   RICARDO       MARTINEZ-TORREZ             CO     90009036312
BB66778785B327   JEREMY        BOOTH                       OR     90014637878
BB667815147942   DEVON         JOHNSTON                    AR     90003888151
BB66783537B391   JUAN          XILOJ                       VA     81044308353
BB668447393758   FABRICE       AMADOUM                     OH     90003144473
BB6684AA176B27   LEAH NICOLE   MULVEY                      CA     90014294001
BB66878855B327   CHRISTARAY    SMITH                       OR     90013427885
BB668AA2954B94   ISABEL        FRANCISCO                   VA     90013960029
BB669223591257   BEANE         DEANARA                     GA     90005302235
BB669236591978   APRIL         TORAIN                      NC     17094912365
BB66937515B327   SHARRON       WEICHOLD                    OR     90014723751
BB66949835133B   MICHELE       STANDIFER                   OH     66045724983
BB6695A7585927   SERGIO        ROCHA                       KY     90007315075
BB66994285B396   JING          ZHANG                       OR     90012429428
BB67121A385942   NEAL          HARRIS                      KY     67089172103
BB6714A5A72B44   RICARDO       OROZCO                      CO     90006894050
BB671714893727   TYRONE        WILSON                      OH     64580977148
BB671976A93751   VANITY        WILSON                      OH     64542489760
BB671A66176B27   JAVIER        SANCHEZ                     CA     90001090661
BB67233735B265   DARLENE       DUNFORD                     KY     90002293373
BB67287745B327   HILIARY       AVILA                       OR     44587898774
BB672A8A454B94   NICUTA        HAMZA                       VA     90012350804
BB67369A554B94   SHELBY        HINEGARDNER                 VA     90014866905
BB67373362B941   AMANI         OBAID                       CA     90013967336
BB67429712B941   HECTOR        CORONADO                    CA     90013942971
BB674321254B94   JOSE          REYES                       VA     90015333212
BB674329A24B64   ABIGAIL       WOODLAND                    DC     90012183290
BB67443665B327   MARIA         MONCIVAIS                   OR     90001544366
BB67443885B396   CORD          MARTINEZ                    OR     90009364388
BB674526472465   WILLIAM       THOMPSON                    PA     90014115264
BB6754A2954B94   ROSA          MEMBRENO                    VA     90001534029
BB676445391978   GUADALUPE     SEGUNDO                     NC     90009544453
BB676976155972   DAVID         DE LA CRUZ                  CA     90010259761
BB677232A5B265   MARVIN        CALIMANO                    KY     90013882320
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2329 of 2350


BB67736782B229   MICHAEL      EDWARDS                      DC     90002683678
BB67772155B269   VIRGINIA     WILCOXSON                    KY     90010577215
BB678376431667   NIKELIA      DICKSON                      KS     90013333764
BB67846775B396   TABITHA      SEARS                        OR     90004734677
BB6787A6893745   KRYSTA       MOEHN                        OH     90009647068
BB678A14397124   DANIEL       CRONK                        OR     90007020143
BB678A5652B962   PABLO        ORTEGA                       CA     45002620565
BB6798A7593751   GIBSON       GEORGE                       OH     64531288075
BB679A32791394   FERNANDO     MARTINEZ                     KS     90000870327
BB679A53391978   CHRIS        FOX                          NC     17005620533
BB67B193385836   LAURA        DE LA TORRE                  CA     46014541933
BB67B47345B396   KIERRA       MITCHELL                     OR     90002764734
BB681179172465   KAREN        LUTZ                         PA     51037671791
BB6811A6491257   TIERA        SHAW                         GA     90011901064
BB68145362B941   ANDRES       SOARES                       CA     90014904536
BB68162A393751   DANIEL       YOUNG                        OH     64519396203
BB68177543363B   BRITTANY     WALL                         NC     90014747754
BB6818A387B489   TWYLIA       CARR                         NC     11051218038
BB6823A689194B   OSCAR        MENDOZA                      NC     17079043068
BB682565993752   BARB         WAGENBACH                    OH     64528785659
BB68261A493745   ASHLEY       FROST                        OH     90011706104
BB683429A2B857   ORALIA       ACUNA                        ID     42010264290
BB6836AA431639   ASHLEY       CALDWELL                     KS     90013256004
BB68433335B265   PAUL         GREEEN                       KY     90014143333
BB684646693727   MARIA        ROBINSON                     OH     64520706466
BB684826431639   MICHAEL      POLITE                       KS     90013458264
BB68513723363B   TREVOR       PLATT                        NC     90004971372
BB68522A15B327   POMPEYO      MARIN                        OR     90007532201
BB68611432B271   MONICA       FIGUEROA                     VA     90015291143
BB68644797B489   ANTONIO      MAXWELL                      NC     90013244479
BB686513272B62   TANIA        OSIRIS                       CO     90006265132
BB686A6789194B   NICOLE       ROYSTER                      NC     90009670678
BB687231A42332   ARTHUR       WEST                         GA     90014652310
BB687442993751   DAVID        ELLIS                        OH     90011344429
BB68823A25B396   ALEXA        NICKENS                      OR     90014632302
BB68826585B265   ROBERT       MCKINNEY                     KY     90011082658
BB68837114B521   LASHARA      TINGLE                       OK     90000383711
BB68884273144B   LATISHA      BROOKES                      MO     90007838427
BB688882924B55   FABIAN       SANCHEZ                      DC     81013428829
BB6888A1A85836   SERAFIN      HERNANDEZ                    CA     46042278010
BB68935AA93758   AMBER        JENNINGS                     OH     90014653500
BB689726391948   MAURICE      UNGARO                       NC     90007657263
BB68B14345B269   ARACELY      GOMEZ                        KY     90004901434
BB68B2A9793727   TERRELL      MCKINNEY                     OH     90007762097
BB68B3AA69194B   YURIBET      ALBARRAN                     NC     90006183006
BB68B498497124   ADILENE      MALDONADO LANDA              OR     90013564984
BB691141241229   KARIN        CROSBY                       PA     51082751412
BB69124145B396   CARLY        SEARLS                       OR     90014632414
BB69172895B269   PATRICIA S   PRECHTEL                     KY     90003547289
BB69186413363B   CHAQUELLA    MALL                         NC     90014828641
BB69189964B299   ERIC         LANDRUM                      NE     90011238996
BB691959193745   COURTNEY     PORTIS                       OH     90013889591
BB692326A2B26B   THURMOND     HINTON                       DC     81095633260
BB692383393727   CHERYL       CLARK                        OH     90011053833
BB692537261825   PAUL         COWGILL                      IL     90014915372
BB692573785836   MARIO        DETORRES                     CA     90010315737
BB692A4839194B   ERIC         ROSS                         NC     90011610483
BB693334491978   WILDER       GUEVARA                      NC     90013953344
BB693355672B62   FABIOLA      CRUZ                         CO     33029533556
BB6936A5471932   TRACY        POBST                        CO     90014356054
BB69386A82B941   JOSE         OREGON                       CA     90014168608
BB693878793727   DAWN         BLANKENSHIP                  OH     90013188787
BB6939A272B857   JANE         INGRAM                       ID     90015099027
BB693A73A93758   KATINA       PRATHER                      OH     64548920730
BB694155161825   EDIBERTO     HERNANDEZ                    IL     90015491551
BB69426685B327   JOHN         BIERMANN                     OR     90002332668
BB694384793771   BRIAN        CAUDILL                      OH     90014153847
BB69447A485836   RANFERI      SALGADO                      CA     90013694704
BB694548A91978   DANIELLE     WATKINS                      NC     90013945480
BB69466219194B   KELLY        PRIVETTE                     NC     90013206621
BB694A69893727   DE ANTHONY   ALEXANDER                    OH     90012860698
BB695225285836   JOSUE        CERVANTES                    CA     90012162252
BB6953A839194B   PHILLIP      STEPHENS                     NC     90004193083
BB69557175B327   SHIRIN       TRIGLIA                      OR     90004205717
BB6958A5485836   MARIAH       VINCENT                      CA     90013228054
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2330 of 2350


BB69618863363B   MARCOS       LOPEZ                        NC     90014411886
BB696635776B27   AIOTEST1     DONOTTOUCH                   CA     90015116357
BB696793791574   ALEJANDRO    VASQUEZ                      TX     90010687937
BB69712175B269   TONYA        QUINN                        KY     68085131217
BB697246484373   RODNEY       ALSTON                       SC     90000432464
BB69748A572B62   ISRAEL       VALENZUELA                   CO     90013964805
BB69758823363B   HARRY        HOOSIER                      NC     90009445882
BB69827A285927   KENT         TURNER                       KY     67057082702
BB69842A693751   KELLY        SIMPSON                      OH     64543924206
BB698516757444   MICHAEL      RODGERS                      IN     90014415167
BB69858455B169   FLOYD        MOSS                         AR     90015115845
BB69872459194B   CLAUDETTE    ISANGWA                      NC     90013147245
BB6988A8297124   AGUSTIN      ALBORONSO HERNANDEZ          OR     44073398082
BB69936142B941   ALICIA       ZENDEJAS                     CA     90013143614
BB699A45142376   DYLAN        WISE                         GA     90003640451
BB699A56191978   TRACY        MICHEAL JR                   NC     90013130561
BB69B23142B857   COLLIN       DAY                          ID     90000292314
BB69B475142376   CHRISTY      PATE                         GA     90003454751
BB69B91A15B327   OSCAR        CAMPOS TORRES                OR     90014179101
BB69B9A3793751   HENRY        DEERE                        OH     90004489037
BB69BAA168562B   JAIME        GARCIA                       NJ     90007000016
BB6B1487997124   MARIA        MARTINEZ                     OR     90011554879
BB6B16A5471932   TRACY        POBST                        CO     90014356054
BB6B182247B489   BRITTANY     DEWBERRY                     NC     90014758224
BB6B1871172B69   BRUCE        WESTMORELAND                 CO     90014808711
BB6B2264593771   CODY         NUTTER                       OH     90006382645
BB6B2294293727   MARIBEL      SAAVEDRA                     OH     64569552942
BB6B255937B489   GRACE        JONES                        NC     11069705593
BB6B2766197124   PAULA        GENTHNER                     OR     44082247661
BB6B297365B269   LIL          WAG                          KY     90006329736
BB6B3225172B69   TERRY        WATKINS                      CO     33027662251
BB6B3474693758   RICO         PUGH                         OH     64523404746
BB6B36AA693751   JEVON        GRANT                        OH     64543416006
BB6B4669355972   SAMUEL       CARDENAS                     CA     90013946693
BB6B485249194B   BENJAMIN     PAEZ                         NC     90012918524
BB6B495717B489   TAMICKA      JACKSON                      NC     90013509571
BB6B53A9693745   JOSHUA       MILLER                       OH     90014453096
BB6B547454B284   MARJORIE     THIESFELD                    NE     26086934745
BB6B5687493752   BRANDY       BOYD                         OH     64501986874
BB6B56A2985927   AMANDA       KIRCH                        KY     67094756029
BB6B6236891257   TYLER        MURPHY                       GA     90006192368
BB6B65A9A31639   KRYSTINA     WINCHESTER                   KS     90013395090
BB6B7529991978   LASHONDA     JONES                        NC     17047805299
BB6B76A5172B62   ZANZIA       ALLEN                        CO     33027846051
BB6B7729585927   DAVITA       HAWKINS                      KY     90005707295
BB6B7818255935   JOSEPH       GARCIA                       CA     90015328182
BB6B7823376B27   ANTONIO      PEDRO                        CA     46082538233
BB6B788485B327   TRACY        APPLEBY                      OR     44575698848
BB6B7976776B3B   JASON        FOSTER                       CA     90005009767
BB6B7A41155935   JOSEPH       GARCIA                       CA     48086850411
BB6B832A65B269   BRETT        DURBIN                       KY     90014823206
BB6B8479941229   TERRY        LIPINSKI                     PA     90003034799
BB6B8941A5B396   MARTHA       SALGADO                      OR     44508309410
BB6B8962A2B857   DANIELLE     GREGORY                      ID     90013229620
BB6B9134193751   DEONTAY      GATES                        OH     90012071341
BB6B9A13993771   JERROD       PAHSSEN                      OH     90005470139
BB6BB132893745   NICOLE       BAILUM                       OH     90005561328
BB6BB133554B94   GRETCHEN     DEWITT                       VA     90012551335
BB6BB323731639   VERONICA     PERRYMAN                     KS     90011093237
BB6BB46A361825   RAFAEL       SANTOS                       IL     90015494603
BB71115A491978   WENDY        RAUDALES                     NC     90011811504
BB711391993758   ASHLEE       DUNCAN                       OH     90014653919
BB711662485836   STEVEN       KOVACHY-III                  CA     90010816624
BB711884433635   KIMBERLY     JONES                        NC     90006768844
BB712339676B27   MARIO        FIGUEROA                     CA     90005423396
BB712464A91978   TIMOTHY      WILLIAMS                     NC     90013954640
BB713546193764   ASIA         MINGLE                       OH     90006945461
BB71422692B857   NABOR        DIAS                         ID     90009172269
BB71487352B271   KISHA        GRAHAM                       DC     90002468735
BB714A93393752   THADDEUS     HANLEY                       OH     64558730933
BB7153A9955972   STEVEN       BALDWI                       CA     49098433099
BB715767872B69   AARON        PHILLIPS                     CO     90002867678
BB71587325B269   T            WOLNEY                       KY     68047288732
BB715951693771   KENDRICK     HENDERSON                    OH     90013929516
BB716182693758   LUKE         LIMING                       OH     90011611826
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2331 of 2350


BB716377491978   GLADYS         HARRISON                   NC     90013953774
BB716462272B62   TERESA MARIE   TURNER                     CO     90013304622
BB71673482B941   MARC           MC DONALD                  CA     90006427348
BB71679A62B271   BRIAN          MCDANIELS                  VA     90010807906
BB71753A472B69   NESTOR         NAVA                       CO     90011455304
BB717889631639   ANNETTE        HUNT                       KS     90006898896
BB717AA3991257   ASHLEY         KNOBLICH                   GA     90014640039
BB718377491978   GLADYS         HARRISON                   NC     90013953774
BB718516A93745   OMAR           MALCOLM                    OH     90012935160
BB718647972465   PAMELA         CAIN                       PA     51090536479
BB718847393771   BROOKE         LAMBERT                    OH     90008208473
BB718A64A8726B   DONNIECE       DUFFY                      IL     90013940640
BB718A84372B62   CIRA           TEJADA                     CO     33018730843
BB71911952B271   JUANITA        BROWN                      DC     90013151195
BB719263693745   SHELBY         WATT                       OH     90013102636
BB71982935B269   MIDALIS        SANCHEZ                    KY     90010958293
BB71B391993758   ASHLEE         DUNCAN                     OH     90014653919
BB71B42A49286B   VICTORIA       WILLIE                     AZ     90014684204
BB71B54349194B   GEOGRE         NGARACHU                   NC     90011335434
BB71B56785B269   TERRENCE       HALL                       KY     90014455678
BB71B694872B81   CHRISTINE      AULTZ                      CO     90014686948
BB71B79222B857   NICK           KETTER                     ID     90011427922
BB71B826655972   JOSE           GONZALEZ                   CA     49064178266
BB71B95A293771   SHANE          COPELAND                   OH     90013479502
BB721263272B69   MICHAEL        METZGER                    CO     33054132632
BB72127765B396   CRYSTAL        PLOEM                      OR     90014632776
BB721381993745   AMY            PENNYWITT                  OH     64512463819
BB721866242332   ROBERT         MULLINS                    GA     90013878662
BB7222A342B264   JOSE           AYALA TORRES               DC     90001772034
BB72244217B334   ALISON         FLORANZ                    VA     90010614421
BB72257412B228   QUERETTA       SIMMS                      DC     90011805741
BB722A13676B27   ABIGAIL        LUGO                       CA     90011490136
BB723619793751   NICOLE         MARTIN                     OH     90011086197
BB72386153363B   WILLIAM        BRAVO                      NC     90014488615
BB724243155972   JAVIER         RUIZ                       CA     90011902431
BB724489693771   LINDA          PARTHEMORE                 OH     64572444896
BB724854893727   MARIA          OUTLAW                     OH     64538628548
BB725198293752   KEVIN          BROCK                      OH     64517211982
BB725322991978   ANGEL          ALFARO                     NC     17067023229
BB72634615B351   JAMES          JOHNSON                    OR     90011553461
BB726446661982   EFRAIN         GALAN                      CA     90011804466
BB72676544B267   DANA           PENNING                    NE     27001457654
BB72681727B443   MARIA          ACOSTA                     NC     90006618172
BB726828391978   STACEY         AGUIRRE                    NC     90012868283
BB726832A22963   RAYMOND        BELL                       GA     90013928320
BB72691A597124   LILIANA        PORRAS                     OR     90014349105
BB72738A576B27   ABRIL          SOTELO                     CA     90013453805
BB72758A291978   SANTOS         RAMOS                      NC     17055215802
BB7277A6372B62   ROBBIE         TAFOYA                     CO     90014727063
BB72841992B271   MARDE          HINES                      DC     81002324199
BB728577655972   FRANCISCO      MORENO                     CA     90013395776
BB728755791827   CHARLES        BENEFIELD                  OK     21025687557
BB7287A3733635   BRETT          ROGERS                     NC     18060657037
BB72895345B269   NATALIE        WAGNER                     KY     90010769534
BB7293A8855972   DAVID          GONZALEZ                   CA     49074153088
BB729652185836   MAYRA          VAZQUEZ                    CA     46008566521
BB72975A893771   CHRISTOPHER    JORDAN                     OH     90013837508
BB72B727A93745   BARBARA L      WARMOTH                    OH     64538087270
BB72B915776B3B   CRYSTAL        CONTRERAS                  CA     90004249157
BB72BA5252B271   SALVADOR       MARTINEZ                   DC     90014810525
BB731143654B94   KIM            GREENE                     DC     90012441436
BB73127385B269   VALINDA        LEWIS                      KY     90013132738
BB731435172B62   DIANA          MADRID                     CO     33073224351
BB731515354B3B   BARBARA        WARREN                     VA     90004325153
BB7316A8654B94   TEVHIDE        KUCUKKARASU                VA     90012236086
BB732248372B62   VANESSA        VASQUEZ                    CO     90015522483
BB732248876B27   VIRIDIANA      HERNANDEZ                  CA     90015012488
BB732337655972   GERARDO        CHAVEZ                     CA     90000383376
BB7328A1885836   ANDRES         JUAREZ RIVAS               CA     90010418018
BB733513172B62   JASMIN         LOVE                       CO     33097875131
BB733629893752   SONJA          ALLSUP                     OH     90004966298
BB733673A5B373   ALISON         EMBLER-BROWN               OR     44506706730
BB73445933363B   LYNN           SATTERWHITE                NC     12055764593
BB73475985B269   NERYSBEL       FRIAS                      KY     90011677598
BB734A64731639   YOLANDA        MORALES                    KS     90011190647
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2332 of 2350


BB735442255935   MARIA        MACIEL                       CA     90004324422
BB73566962B857   JOYCE        CRAIG                        ID     90012016696
BB736A7357B489   FRANCO       HERNANDEZ                    NC     90008460735
BB737473993758   HARRIS       ALEXIS                       OH     90014664739
BB73756835B396   SHAWN        GRAIFF                       OR     90013965683
BB737891955972   FABIAN       NUNEZ                        CA     90013448919
BB737915372465   ERIN         PRIDDY                       PA     90014019153
BB738211A85836   PEDRO        MATIAS                       CA     90013232110
BB7385A4224B64   SABRINA      EALEN                        VA     90011895042
BB73866732B26B   ESDRAS       AGUILAR TUCUBAL              DC     81064836673
BB73875992B229   CHANITA      BAKER                        DC     90010857599
BB738A3185B265   MIKE         HANES                        KY     90005730318
BB7396A752B228   MICHAEL      BALL                         DC     90006196075
BB73974A25B396   LILLIAN      MCGUIRE                      OR     90015157402
BB73B7A322B857   GEORGE       KENT                         ID     90014627032
BB73BA4AA72B62   EDGAR        DE PAZ                       CO     33079030400
BB741127993751   AMY          HERRON                       OH     64576381279
BB741152785836   KEVYN        VALADEZ                      CA     90015241527
BB74183487B489   RUTH         RIVERA                       NC     90003568348
BB74215942B857   ISRAEL       FLORES                       ID     42084661594
BB742176785821   MISTY        ORTIZ                        CA     90010411767
BB742995193745   JAMES        WYATT                        OH     90001859951
BB7432A1972465   KATHY        DOVIDIO                      PA     51044922019
BB743657591976   RENEE        PICKETT                      NC     90002216575
BB74367292B221   MAXIMO       SOSA                         DC     81089846729
BB74369735B389   SANDRA       RUIZ                         OR     90009446973
BB743775891978   OPHELIA      GILES                        NC     90002837758
BB743A2712B26B   CHRIS        YOUNG                        VA     81064840271
BB744575572B69   MARIA        PEREZ                        CO     90011005755
BB74481755B265   HAYLEE       CHOATE                       KY     90013918175
BB744851A93745   STEPHANIE    BROWN                        OH     90013348510
BB744921993752   SAMUEL       FLOYD                        OH     90013129219
BB744A8977B443   MAHRAN       ABUDULLAH OMER               NC     11075380897
BB745259372B69   ENRIQUE      MUNOZ                        CO     90014302593
BB745496A54B94   RAMON        OCHOA                        VA     90014824960
BB745613372B69   MARIA        SANCHEZ                      CO     33074606133
BB745996385836   ANTONIO      CARMELO                      CA     46009419963
BB74619A372B44   JULIO        CHAVEZ                       CO     90007141903
BB74624172B941   YAZIL        PEREZ                        CA     45021082417
BB74667719194B   LAKEITTA     BURNETT                      NC     90014846771
BB746751661898   DANELLE      PRESTON                      MO     27533837516
BB746A24693745   ROBIN        YANKIE                       OH     90014300246
BB747214293727   DAVID        DOLLE                        OH     64541832142
BB74776222B271   RICHARD      RIGGINS                      DC     90010667622
BB747A16393745   DAVID        STEVENS                      OH     64516770163
BB74816876193B   THEODORE     MASON                        CA     90001461687
BB749229472465   JOSIAH       SWAN                         PA     90013712294
BB749446881659   MELISSA      CRISPIN                      MO     90007644468
BB7494A345B349   ISABEL       ROLON                        OR     90013034034
BB749592A4B525   LAKESHIA     BLAKES                       OK     90008685920
BB74B878572465   LETHERA      HARRISON                     PA     90004988785
BB74BA64554B94   KEITH        ABEL                         VA     90014550645
BB75157387B489   QUASHEEHA    MILLER                       NC     90010365738
BB75217365B244   COREY        ROSS                         KY     90012671736
BB75222624B555   MERCEADEZ    DELANO                       OK     90003752262
BB75231867B489   HEATHER      BEARDSLEY                    NC     90002613186
BB752482955972   THONGLU      RATTANABABAPHA               CA     49051524829
BB7528AA972B29   KERI         CARLSEN                      CO     90007648009
BB752A43385836   MATT         HANDY                        CA     90013510433
BB753586524B64   IBAN         DE LA O POLIO                VA     81090575865
BB75417272B941   JASON        CARMO                        CA     45075591727
BB75424323B355   SCOTT        WEBBER                       CO     90005202432
BB754492372B44   FRANCISCO    ALVIN                        CO     90006894923
BB754657191398   LETICIA      MERA                         KS     90011776571
BB755185322963   LEYVER       MAYORGA                      GA     90013881853
BB755595428169   CHELSEA      MEYER                        TX     90014545954
BB755788793751   NIKOLE       WATSON                       OH     90009807887
BB755814593745   MICHELLE     RHOADES                      OH     64589608145
BB756392691592   JOSE         SAUCEDO                      TX     90010983926
BB7564AA45B573   JACLYN       FORT                         NM     90014634004
BB756587972B62   BRET         BAKER                        CO     90002585879
BB75664895B396   RONNA        CALKINS                      OR     90006536489
BB756976993752   FONDIA       WITHROW                      OH     64516769769
BB7576A2793751   DIONTEE      BARKER                       OH     90009426027
BB757714693745   BLAIRE       STANDLEY                     OH     90013687146
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2333 of 2350


BB758422231277   JUSSU        MALLAH                       IL     90015404222
BB7588A9493771   RICHARD      TRIMBLE                      OH     90007468094
BB75936987B489   NICOLE       ALFORD                       NC     90012843698
BB759687497B98   MELISSA      HERMAN                       CO     39005106874
BB759863A93727   DAVID        VICKERS                      OH     90013588630
BB75B11542B941   MATTHEW      MINJARES                     CA     90012101154
BB75B1A3A93751   CHRISTINA    STOVER                       OH     90014011030
BB75B34A741229   STACEY       GRANT                        PA     51004523407
BB75B594254B94   PAYGO        IVR ACTIVATION               VA     90013235942
BB75B87733B13B   ANGINETTE    ANGINETTE                    VA     81098008773
BB76129912B857   PIEPKORN     LORI                         ID     42096152991
BB761957185836   GUADALUPE    LAGUNA                       CA     46090689571
BB761A63393752   RICARDO      VALPUESTA MANZANO            OH     90004910633
BB761A65176B3B   BENJAMIN     REYES                        CA     90013210651
BB761A75A97124   ERICKA       ISLAS BARRON                 OR     90013000750
BB762312A93752   KENT         GREGG                        OH     90009373120
BB762514155972   PEDRO        PORRAS                       CA     90006905141
BB76269A29194B   DYTWAN       ANDERSON                     NC     90014846902
BB762843954B3B   MAYNOR       PEREZ                        VA     90002898439
BB76295A372B62   ALEJANDRO    MARTINEZ                     CO     90008429503
BB762AA585B269   JESSICA      HUGULEY                      KY     90009010058
BB76319869194B   ALICIA       MITCHELL                     NC     90013801986
BB76326529194B   ALICIA       MITCHELL                     NC     90014902652
BB76336142B941   ALICIA       ZENDEJAS                     CA     90013143614
BB764222455927   TED          LAMBOY JR                    CA     49067022224
BB764289455972   LESLI        MONIQUE SALDANA              CA     90014132894
BB764483172B69   DEDRICK      BASS                         CO     90012404831
BB76453695B396   JUAN         XIRUIM                       OR     90001775369
BB76488699194B   DELPHINE     WILDER                       NC     17081318869
BB764A33761825   JOHNATHAN    MYERS                        IL     90015360337
BB7658A517B489   QUETTA       LEE                          NC     90010658051
BB76596655B396   RAVEN        ANGEL                        OR     90010439665
BB76653582B58B   CHRISTILIN   WHITTSETT                    AL     90014795358
BB76665618B328   CALVIN       MASSEY                       SC     11047336561
BB766937861992   JILL         ROJO                         CA     90013899378
BB76748112B941   FRANCISCO    TASCON                       CA     90014734811
BB76776235B269   ELENA        BALLESTEROS                  KY     90013347623
BB767775185927   ERIC         CRAIG                        KY     67027277751
BB768438272B69   DARRALL      LASHAY SMITH                 CO     90007814382
BB7687A925B269   JUSTIN       HERMAN                       KY     90012047092
BB768891A5B396   KELLY        SCHUYLER                     OR     90002478910
BB769219542376   EDDIE        WALKER                       GA     90014842195
BB769814A93752   PAULA        CLEMENS                      OH     90009588140
BB769A11231448   STACEY       HAYES                        MO     90003000112
BB76B187941261   LEONARD      TAYLOR                       PA     90014191879
BB76B445897124   ERNESTA      SANTOS                       OR     44097204458
BB76B51567B443   ANGELA       MCNEILL                      NC     11072205156
BB76B52852B857   MARIA        PELAYO                       ID     90010585285
BB76B878A3363B   KAYLA        MAHONEY                      NC     90013228780
BB77116885B396   RON          RUSHLIGHT                    OR     90014641688
BB77151559194B   EDNAT        GARDNER                      NC     90013635155
BB771542872B69   ESTEFANIA    ALTAMIRA                     CO     90013375428
BB771678485836   EMMELINE P   DUNCAN                       CA     90014136784
BB771A46791978   MARIA        GARCIA                       NC     90003910467
BB7727A125B396   KELLY        BREWER                       OR     90006167012
BB773181372B44   EDGAR        CRUZ                         CO     33087131813
BB773359755972   TYISHA       PITTMAN                      CA     90012803597
BB7734A5755972   KASONDRA     APODACA                      CA     90010084057
BB774226133687   ALFREDA      HIGGS                        NC     90001762261
BB77428435B585   FRANK        PEREA                        NM     90014962843
BB77438A25B327   IRMA         SERRANO                      OR     44559583802
BB77467A793771   MICHELLE     HIRSCHFELD                   OH     64511536707
BB7746A457B443   JULIO        LOPEZ                        NC     90001856045
BB7747A4693752   ASHLEY       RADFORD                      OH     90012327046
BB775424A31639   JOSE LUIS    ANGEL-MORALES                KS     90013934240
BB775663431639   JOSE LUIS    ANGEL-MORALES                KS     90014436634
BB77568625B327   JUANITA      BERRY                        OR     44575276862
BB775733693745   ADRIAN       CHAVEZ                       OH     90012287336
BB775756472B44   JOSE         MENDOZA                      CO     33055117564
BB775799493752   MEGAN        GALENTINE                    OH     90011207994
BB776444872B62   XAVIER       MONSIVAIZ                    CO     90011094448
BB776583793752   RITA         CONLEY                       OH     90013855837
BB77688813363B   LISA         HICKMAN                      NC     90014548881
BB777465331639   REBECCA      FRANKLIN                     KS     90013794653
BB777477876B3B   INES         RAMIREZ                      CA     90004284778
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2334 of 2350


BB778111A97124   FERNANDO     DIAZ NAVA                    OR     90013011110
BB77818395B396   FELICIA      JOHNSON                      OR     90014811839
BB778264593771   CODY         NUTTER                       OH     90006382645
BB778759A5B269   HEATHER      DORSEY                       KY     90011927590
BB778834A93745   VALERIE      CRABLE                       OH     90009568340
BB77929112B857   ED           MCDORNELL                    ID     90007052911
BB77992495B327   SORAIDA      GALVAN                       OR     44509649249
BB77B316133635   LETESHA      HOLT                         NC     18027713161
BB77B443885836   CHRIS        GARNER                       CA     90010914438
BB77B857A91978   JOSE         MARTIN                       NC     17049568570
BB77BA38672B69   RONNIE       GARZA                        CO     90014730386
BB78151329286B   RENE         GRANILLO                     AZ     90014595132
BB781714693745   BLAIRE       STANDLEY                     OH     90013687146
BB781816191257   SHANTEL      BUNTHOFF                     GA     14513498161
BB78255887B489   BEN R        DEAL                         NC     90013395588
BB782672441229   JOSEPH       STIEFF                       PA     90008936724
BB782792272B67   CHRIS        CHOPKO                       CO     90004657922
BB782948391978   MARIA        ROJAS                        NC     17046839483
BB7829A9793751   OSCAR        QUEZADA                      OH     90012029097
BB783437793745   MICHAEL      GERMOND                      OH     64560304377
BB78359123363B   GARY         DOTSON                       NC     90014555912
BB783779393752   ANDRES       GOMEZ                        OH     64595867793
BB783847691573   ALEJANDRO    SERRANO                      TX     90010698476
BB78398A993751   MICHAEL      HORNBECK                     OH     90013599809
BB783AA7171933   CASSANDRA    THORNTON                     CO     90012390071
BB784195531639   JUANITA      FRITZE                       KS     90002311955
BB78426437B433   SADE         MASSEY                       NC     90014672643
BB78487877B489   LATONYA      TYSON                        NC     11013898787
BB785277A5B269   DONNA        JONES                        KY     68049732770
BB78547399194B   MARK         WILLIAM                      NC     90004134739
BB7856A3793758   SHAWNA       NASBY                        OH     90014656037
BB7856AA355972   JAMES        DEAN                         CA     90014816003
BB786312272465   NATHAN       PAULEY                       PA     51012863122
BB786465357552   STACIE       SCOUTEN                      NM     90006944653
BB78649125B265   ROBERT       DRUIN                        KY     90012884912
BB786A3362B271   EBONY        HICKS                        DC     90013700336
BB78786248B171   KATHY        RUSSELL                      UT     90013538624
BB78795992B941   JOHN         VIDAURE                      CA     45053069599
BB788258693752   GLORIA       WENCLEWICZ                   OH     64596282586
BB788424491257   ANGEL        WATERS                       GA     90007184244
BB788775993727   JAIRAI       MARTIN                       OH     90008937759
BB788777793771   KEVIN        POPP                         OH     64518887777
BB788885793751   GREGORY      BELCHER                      OH     90013828857
BB789552255972   FELIPE       VILLAGOMEZ                   CA     49014065522
BB789624547942   ALLISON      MENDENHALL                   AR     90001316245
BB78B227455979   RICHARD      RUZ                          CA     90001022274
BB78BA45572B62   MONICA       LOPEZ                        CO     90014130455
BB79117A455972   JOSE         CERDA                        CA     90013061704
BB79119137B489   ROBYN        BRIGGS                       NC     90013771913
BB7913A8572B62   JESSICA      ESQUIBEL                     CO     90014813085
BB791443A91978   JENI         RIVERA                       NC     90008674430
BB79156562B857   WILLIAM      THOMPSON                     ID     90014835656
BB791957391928   BLANCA       MIXTEGA                      NC     90013909573
BB791985293727   KIM          DEVOISE                      OH     64508219852
BB791A58793745   NOE          ALAS                         OH     90014010587
BB79226275B265   JASON        CEE                          KY     90014692627
BB792372555972   SAENGCHANH   MANIVONG                     CA     90013403725
BB792495272B62   SHANA        PACE                         CO     90002464952
BB792661655972   ELOY         MENDOZA                      CA     90014256616
BB7926A1131639   SHAUNTEL     MADISON                      KS     22088836011
BB7927A965B327   DHAN         GURUNG                       OR     90001227096
BB792987797124   DEREK        IVIE                         OR     90003149877
BB792A24693727   ERIC         KINDRED                      OH     64580210246
BB792A83454B94   CECIL        MORRIS                       VA     90014740834
BB793627555972   MARGARITO    MENDEZ                       CA     90005056275
BB79419829194B   GABRIELA     MENDOZA                      NC     17062451982
BB79448738B192   LANA         K EZELL                      UT     90008404873
BB79497347B489   JOSE         MOLINA                       NC     11093679734
BB794991172B62   JOSE         POLANCO                      CO     33028289911
BB794A14672465   JAMES        CROCKER                      PA     90013490146
BB795183585836   RAUL         SORIANO                      CA     46069811835
BB795497831639   LORENA       FAGARDO                      KS     22063464978
BB795673272B69   JOSE         ACEVIS                       CO     33004046732
BB795822155972   OFELIA       RIOS-RODRIGUEZ               CA     90013948221
BB79584AA5B378   LEONIDES     FLORES                       OR     90009868400
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2335 of 2350


BB796142493745   JESSICA      SILVERS                      OH     90013231424
BB79652915B396   ARTURO       MORENO                       OR     90005345291
BB796AAAA72B62   MARIA        ROSARIO                      CO     33072130000
BB79733285B269   GARY         SMITH                        KY     90010053328
BB797342855941   ANTONIO      VELA                         CA     90011583428
BB797355255972   CHARLES      ROGER ANDERSON               CA     90001483552
BB79763185B327   CESAR        COTERO                       OR     90014086318
BB79779549194B   REARNOLDO    CHANDLER                     NC     90014597954
BB7977A9972B62   HOPE         ELIZALDE                     CO     90014727099
BB797896131639   BRITTANY L   KNIGHT                       KS     22005348961
BB797A16593771   MELISSA      HENAR                        OH     90007240165
BB798154676B3B   PEDRO        SALGADO                      CA     90003661546
BB798183A2B941   PATRICK      STRIBLING                    CA     90001141830
BB798593393771   JOSEPH       BRACKNEY                     OH     90014715933
BB798967385836   CHRISTINA    HIGLEY                       CA     90004779673
BB799279555972   MICHAEL      LEBEAU                       CA     90012892795
BB79947697B446   MELANIE      HOVIS                        NC     11053954769
BB799663985836   JEFFREY      BROWN                        CA     90013356639
BB79976A53B387   JAMES        RAMSEY                       CO     33086797605
BB79B19392B857   BREEANNA     HENSLEY                      ID     90008171939
BB79B813455972   MANUEL       MERCADO                      CA     90013948134
BB79B92A281655   CAYLE        FULLER                       MO     90010789202
BB7B121719194B   GLADYS       NDUNGU                       NC     90010642171
BB7B129712B941   HECTOR       CORONADO                     CA     90013942971
BB7B1823391978   DIMNAY       PASTOR                       NC     90012208233
BB7B1835891885   JUAN         LUNA                         OK     90013868358
BB7B1926593751   LLOYD        MCGHEE                       OH     64589609265
BB7B2681391965   CARLA        CRUZ                         NC     17039926813
BB7B32A1693752   LEON         BISHOP                       OH     90005062016
BB7B3665793745   CARL         ROBERTS                      OH     90008546657
BB7B3729291978   AWILDA       ANDUJAR                      NC     17009467292
BB7B3875372B62   LOURDES      GALLEGOS                     CO     33039058753
BB7B3937893758   CHANTELL     HELT                         OH     90010999378
BB7B3A95793752   WARREN       MEADE                        OH     90015290957
BB7B4343891978   BONIFACIO    PEREZ                        NC     90013953438
BB7B444655B265   DONNA        MEBRY                        KY     90003374465
BB7B455615B327   GUINEVERE    JONES                        OR     44531555561
BB7B548885B265   ROCHELLE     MILES                        KY     90013174888
BB7B555565B184   MARK         WRIGHT                       AR     90013965556
BB7B6372A31664   STEVEN       COLEMAN                      KS     90013093720
BB7B6437185836   ELMER        ANTONIO                      CA     46091504371
BB7B6938554B94   JEFFERY      CARTER                       VA     90003679385
BB7B6A28591978   YVETTE       WILSON                       NC     90014880285
BB7B6A43554B94   MICHAEL      CANUL                        VA     90014620435
BB7B714877B489   SINDY        POSADAS FUNEZ                NC     90012301487
BB7B7A1269155B   PAULINE      SOSA                         TX     90010750126
BB7B8256A3B371   JORGE        LUNA                         CO     33064842560
BB7B82A4393745   DAVID        EVERHART                     OH     64561892043
BB7B8377491978   GLADYS       HARRISON                     NC     90013953774
BB7B8384A72B62   SANDRA       GUTIERREZ                    CO     90012883840
BB7B8452572B69   JANICE       BRISNEHAN                    CO     90001194525
BB7B893572B857   OCTAVIO      ZAMORA                       ID     90014039357
BB7B9519A9194B   MATTHEW      CHAMBLISS                    NC     90013755190
BB7B989427B489   KIKAXY       BARNES                       NC     11051568942
BB7BB246193727   JAMES        CLARK                        OH     90014872461
BB7BB24A23363B   MARK         PICKELL                      NC     90014412402
BB7BB271572B62   SALOMON      RODRIGUEZ                    CO     90013262715
BB7BB3A4472465   TAMMY        GOODWIN                      PA     51085153044
BB811213772465   MARILYN      SANCHEEZ                     PA     90015132137
BB81182955B265   TYRONE       PORTER                       KY     90013788295
BB811937441233   SHAYLA       PITTS                        PA     90005409374
BB81276A72B941   CHRISTINA    WILLIAMS                     CA     90011157607
BB81282822B857   ELISHA       BARRY                        ID     90013778282
BB813587991257   JASLIN       ALVAREZ                      GA     14592935879
BB813595936125   KATHY        BARRIENTES                   TX     90014285959
BB81365169194B   TERRELL      OLIVER                       NC     90013996516
BB813781393745   CARISSA      NEAL                         OH     90011637813
BB81385A171929   ANA          MANZO-GARCIA                 CO     90011028501
BB813979993752   ANNA         NEWMAN                       OH     90013149799
BB814139993758   BRYAN        BUTTS                        OH     90014741399
BB814627393752   GOHNIE       VERANO                       OH     90008496273
BB81518525B396   JOLYNN       WOLF                         OR     90014811852
BB81535284B273   ANGELA       HOLCOMB                      NE     26035103528
BB815443476B27   IVONNE       GONZALEZ                     CA     90011594434
BB815473572491   RENEE        HILD                         PA     90014454735
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2336 of 2350


BB81586512B258   MONICA       BROOKS                       DC     90008048651
BB815895693758   JOYIS        JONES                        OH     90007518956
BB816152276B27   LUIS         HERNANDEZ                    CA     90014161522
BB816469A55972   DAVID        GARCIA                       CA     90009004690
BB81659185B265   TY           WOLFE                        KY     90012615918
BB81673A997124   RACHEL       BELL                         OR     90011767309
BB817592831639   EVELYN       BROWN                        KS     22040375928
BB817614A5B265   MICHAEL      SMITH                        KY     68095376140
BB817985391257   SHANNON      BELL                         GA     90007969853
BB81811632B857   TANA         MINK                         ID     90014891163
BB818A36154B94   ANDRES       HERNANDEZ                    VA     90011390361
BB81921978B323   SMAMEKA      BARBER                       SC     11058332197
BB81B889972B44   LANESSA      ROBINSON                     CO     90008758899
BB821385693727   MELISSA      DILLON                       OH     64552433856
BB82151A792831   MARICELA     GONZALEZ                     AZ     90015055107
BB821537261825   PAUL         COWGILL                      IL     90014915372
BB821A32A2B287   EVERETT      BROWN                        DC     81013160320
BB822552293758   JOSEPH       CARROLL                      OH     90001105522
BB822558376B27   EMMA         GARZA                        CA     90014445583
BB822752885836   SILVIA       ARTEAGA                      CA     90013447528
BB822758893745   MARK         BROWN                        OH     64577107588
BB822778242376   MERCEDES     MOSCOSO                      GA     90013137782
BB8227A4631639   AMANCIO      RAMIREZ                      KS     90000967046
BB822A14891965   CONSUELO     UTIOSO                       NC     90008540148
BB822A5787B489   CHEYENNE     BLUFORD                      NC     90013170578
BB8231A7785836   ANDRES       ESCOBAL                      CA     90013501077
BB8232A472B857   JAIME        NIETO                        ID     42094682047
BB82344284B251   CLARK        DARK                         NE     90001254428
BB823898976B3B   VICTORINO    VALENTIN                     CA     90004318989
BB823998193752   JEREALD      NELSON                       OH     90013469981
BB823A11271699   RANARD       BELL                         OK     52079410112
BB823A59172465   RANDY        BROWN                        PA     51045920591
BB824126891978   YOLANDA      WILSON                       NC     90011831268
BB824463561994   GUILLERMO    FERNANDEZ                    CA     46029734635
BB825233691385   DIEGO        CASTRO                       KS     90011992336
BB825296564184   REGGIE       SMITH                        IA     90015112965
BB82546427B489   MARIO        PORRAS                       NC     90013244642
BB825515976B27   ADAN         GONZALEZ                     CA     46063475159
BB825667393751   QUAN         JONES                        OH     90013576673
BB825683193727   KEVIN        HARRISON                     OH     90012536831
BB825729A5B327   ROGELIO      OLIVA                        OR     44550247290
BB825A72993745   WILLIAM      LUCAS                        OH     64553980729
BB82631583363B   SHANNON      HIATT                        NC     90014603158
BB82674715B327   CRYSTAL      TOLSON                       OR     44551447471
BB826767741229   JZAHLEE      NORRINGTON                   PA     51016367677
BB827163A5B269   NATLIE       SHOULDERS                    KY     90013351630
BB82724279194B   ALBERTO      MARTINEZ                     NC     90012512427
BB827335791978   REBECCA      ROUSE                        NC     90014133357
BB827987291881   COSHANNA     ROBERTSON                    OK     21004219872
BB82829AA93771   DANIELLE     STAMPER                      OH     90013052900
BB828832693752   SHERI        CANTRELL                     OH     64575718326
BB82928725B165   OSMAN        VALLE                        AR     90015072872
BB829345A72B44   VERONICA     TORRES                       CO     33017883450
BB829467493771   ELLEAN       DAVIS                        OH     90008594674
BB829668493745   KIM          BROWN                        OH     90009316684
BB82B287793771   JOHN         WINEMILLER                   OH     90012002877
BB82B292672B69   JENNIFER     FOWLER                       CO     33064952926
BB82B534193771   AUSTEN       CRAUN                        OH     90014835341
BB82B74A793758   BRANDEN      BATES                        OH     90014657407
BB82B91A62B941   RAFAEL       HERRERA                      CA     45005869106
BB82BA66A5B265   BRYAN        SULZER                       KY     90010940660
BB83121555B327   GRISELDA     CANDELAS                     OR     90012262155
BB83138412B941   ARMANDO      CASTILLO                     CA     45077503841
BB831396793771   NICHOLAS     BOOS                         OH     90012853967
BB831467631639   DAWN         MURPHY                       KS     90013434676
BB83147A39194B   RAFAEL       GARCIA                       NC     90011174703
BB83158417B338   KATTIA       MORALES                      VA     90013165841
BB8316A7576B27   NIKKI        INTRIERI                     CA     90002526075
BB831A67293745   REBECCA      RISNER                       OH     90013340672
BB832233485836   MANUEL       TARACENA                     CA     90010022334
BB8324A8455972   VANESSA      KINSELLA                     CA     49015324084
BB83272492B941   MARCOS       LOPEZ                        CA     90011427249
BB832996941233   WENDY        MCBRIDE                      PA     90005239969
BB833788993771   KENNITH      NAPIER                       OH     90012237889
BB83422592B941   KIM          WOOTTEN                      CA     45077152259
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2337 of 2350


BB834259193745   GREGORY               WILLIS              OH     64549392591
BB834969372B69   TITO                  RAMIREZ             CO     90015109693
BB835215385975   CHRISTINA             DEAVER              KY     90014782153
BB835254985836   RAYMOND               MUSGROVE            CA     90015312549
BB835347297124   ANGELINA              SANDOVAL            OR     90011563472
BB8353A7854B94   JOSE                  ARQUETA             VA     90011893078
BB835523591257   TYRONE                COLEMAN             GA     90002015235
BB83585AA5B396   SAMANTHA              BENNET              OR     90011568500
BB83666A793758   DARNELL               PETERSON            OH     90015216607
BB8366A7354B94   EDUARDO               AMAYA DIAZ          VA     81012166073
BB836A21431639   DANIEL                STONECHIPHER        KS     90014540214
BB837852A5B265   ANALOYKI              VERDURA             KY     68013018520
BB83847822B864   EDILTRUDES            JOSOL               ID     90003324782
BB83858A45B327   DAHLIA                ALKAZRAJI           OR     90015095804
BB839918393751   JANET                 WASHABAUGH          OH     90002719183
BB83B512A93727   LONNIE                ROACH               OH     64586515120
BB83B514293771   KASEY                 SUMMERS             OH     90012595142
BB83B739841229   LAURIE                LEHMAN              PA     51042647398
BB83B939376B27   JESSENIA              AVILA               CA     46073569393
BB83BA42A55972   LUIS                  BEDOY               CA     90009880420
BB83BA85693758   JASON                 YOST                OH     64578690856
BB841382172B62   FRANCISCO             PACHECO             CO     90012343821
BB84147312B857   PHENELOPE             JUPP                ID     90001114731
BB841655693745   DAWN                  COX                 OH     64564276556
BB842287893727   LINDLEY               KELLMAN             OH     90007692878
BB842564231639   LUIS                  HERNANDEZ           KS     90014885642
BB84257A25B269   KRISTIE               NEWTON              KY     90012815702
BB842A65955972   JANY                  XIONG               CA     90005840659
BB842A88176B27   ANNA                  BELLA               CA     90012310881
BB84356577B372   HENRY                 SALVATIERRA         VA     81021025657
BB843879976B27   RUSSELL               MCMILLAN            CA     90015148799
BB844381993745   DUSTIN                AULT                OH     90014913819
BB84518895B327   MICHAEL               ROWE                OR     90010861889
BB845281941258   JILL                  ALSTON              PA     51015952819
BB84575315B371   CHRISTIAN ALEJANDRO   VILLASENOR          OR     90004917531
BB845822861825   SEBASTIAN             MICULAIE            MO     90015308228
BB845AA3231639   FELICIA               OWENS               KS     22030510032
BB846471972B69   ALEXIS                FILIPPI             CO     33097594719
BB846474224B64   FINIS                 THOMAS              DC     90014734742
BB84648A893771   ASHLEY                SMITH               OH     90000254808
BB846579476B3B   SUNHARIB              YOKHANA             CA     90004365794
BB847139357552   GUADALUPE             SAENZ               NM     90000201393
BB847446541229   REGIS                 WALLACE             PA     51035764465
BB847558276B27   MARIA                 LOPEZ               CA     46073195582
BB84836317B489   CHRIS                 SAFFORD             NC     90014923631
BB84854389194B   PATRICA               PURYEAR             NC     90012355438
BB848765193764   KATHERINE             BOLES               OH     90008287651
BB8489A9772B69   MARIA                 JUAREZ              CO     33076069097
BB84919335598B   LORENZO               GALINDO             CA     90013451933
BB849659193727   JEAN                  MUHIRE              OH     90013606591
BB84B36425B396   JAVIER                GONZALEZ            OR     90000483642
BB84B393A5B384   ELIZABETH             ROMERO              OR     90001013930
BB84B434A2B941   AMY                   LOPES               CA     45023534340
BB84B8A3872457   JOHN                  PRYSTUPO            PA     90002498038
BB851395793727   LESA                  AMMONS              OH     90007973957
BB85145573363B   GRACE                 CRUM                NC     90011374557
BB85151189194B   MARIA                 RAMOS               NC     90011355118
BB8516A3872B44   SANDRA                RODGERS             CO     90006896038
BB851782297124   EARL                  GOLL                OR     90012767822
BB851A27A93745   CAROLYN               JEFFRIES            OH     64521250270
BB85259612B26B   KONTIT                WOLDEMARIAM         DC     81014585961
BB852673393727   SUMMER                WILEY               OH     90011916733
BB85298985B327   ROSA                  JIMENEZ VASQUEZ     OR     44551979898
BB852A66331639   SHANE                 GEORGE              KS     22091900663
BB853279555972   MICHAEL               LEBEAU              CA     90012892795
BB853885593771   JOSHUA                BRICKER             OH     90012008855
BB8546A7354B94   EDUARDO               AMAYA DIAZ          VA     81012166073
BB856651493751   LAMICA                IVORY               OH     90001956514
BB85687645B396   ANITA                 MENDEZ              OR     90012478764
BB856A1212B857   SANTIAGO              GOMEZ               ID     90010130121
BB85726842B271   REINA                 ARIABALO            DC     90015362684
BB857283198B2B   LISA                  WILLIAMS            NC     90001622831
BB858149754B94   ANTONIO               MORENO              VA     90009901497
BB858495372B69   LUZ                   RODRIGUEZ           CO     90012404953
BB85897277B434   RAFAEL                ALPIZAR             NC     90009769727
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2338 of 2350


BB859314693752   JIM          SMITH                        OH     90005933146
BB85942A693758   HOLLY        JACKSON                      OH     64566564206
BB85955242B271   CYNTHIA      C METCALF                    DC     90015015524
BB859591391257   EDGAR        PENA                         GA     14598265913
BB859627A5B327   CIRO         BADILLO                      OR     90005366270
BB859857A55972   MARIA        QUINTEROS                    CA     90013948570
BB85B126A93752   WILLIAM      HEIDENREICH                  OH     90002221260
BB85B661285836   PAM          TAYLOR                       CA     90012786612
BB85B851293727   SHERRY       HEGEMAN                      OH     64579398512
BB8613A515B265   LAWANN       MORRIS                       KY     90015133051
BB861615372B44   BORJAS       TEO                          CO     90006896153
BB861648572B62   JAMES        BUSBY                        CO     33013586485
BB86166542B271   DENNIS       CAYAS                        DC     90013736654
BB861872991978   RENEE        HINTON                       NC     17015528729
BB86236269194B   SANDRA       LEE                          NC     90003883626
BB862978231639   KATHERINE    LOWE                         KS     22065509782
BB863696893752   VERNITA      SUMLIN                       OH     64598426968
BB86411715B522   ANN          HASTINGS                     NM     90004791171
BB86414645B327   VALERIE      ZACHA                        OR     90015251464
BB864679224B64   IRENE        MANIESON                     VA     81032636792
BB8647A512B857   JASON        FITZ-ROY                     ID     90001197051
BB864898472465   LATOYA       COTTOM                       PA     90004788984
BB86496439194B   STEPHON      WHITLEY                      NC     90014679643
BB8655A352B857   JASON        HARVEY                       ID     90011885035
BB865625371933   STEFANIE     MARTINEZ                     CO     32001766253
BB8656A4593727   MYCA         POYNTER                      OH     90013376045
BB865854A2B26B   SHIRLEY      HALL                         DC     90002298540
BB866396254B94   STANLEY      BERRYWMN                     VA     90013963962
BB866419497124   MANUEL       COVARRUBIAS                  OR     90013834194
BB866A6774B56B   GLORIA       ROJAS                        OK     90003270677
BB867753A93751   ARMANI       WILLIAMS                     OH     90011507530
BB8678A353363B   CHERNISE     BANKS                        NC     90014708035
BB867A58685836   ALLIE        BOOTH                        CA     46065650586
BB86865715B269   GRISELDA     ACEBEDO                      KY     90008816571
BB86936865B327   JAVIER       GONZALEZ                     OR     90010073686
BB869842855972   MICHAEL      GARCIA SR                    CA     49006158428
BB86B27A954B94   CHACON       MARCO                        VA     90005542709
BB86B36265B265   TIM          MATTA                        KY     68028013626
BB86B862A93727   CARLISA      HARRIS                       OH     90012128620
BB871365955972   JUAN         VALDIVIA                     CA     90012743659
BB87195385B269   REBECCA      MEANS                        KY     90007749538
BB871A67885836   JACQUELINE   NELSON                       CA     46015240678
BB872547993771   JULIE        POORE                        OH     64580475479
BB872744354B94   GERARDO      MELARA                       VA     90014997443
BB8727AA55B265   DELSHAWN     MORRIS                       KY     90013027005
BB873681241229   FASHAWNA     PEOPLES                      PA     51048936812
BB873788A3363B   RUTH ANN     MANN                         NC     90005607880
BB873A39493758   LITISHA      BURTON                       OH     90007650394
BB87413515B269   JEAN         GABRIEL                      KY     68061651351
BB874231893745   NANCY        WILLIS                       OH     64551232318
BB87425475B327   OMAR         MONTESINOS                   OR     44575562547
BB874476593752   DANIELLE     CLOUSE                       OH     90008284765
BB874861155972   YAZMIN       PEREZ                        CA     90013948611
BB874AA9472465   ROY          RICHARDS                     PA     90014570094
BB87532A641229   DEBORAH      EDMONDSON                    PA     90009263206
BB875553891978   VIVIAN       DAVIS                        NC     90000535538
BB875717A72B4B   ASHLEY       KENNEDY                      CO     90006827170
BB875839493751   AILEEN       PIERCE                       OH     90012958394
BB875861155972   YAZMIN       PEREZ                        CA     90013948611
BB87681655B327   JESUS        ARNANDEZ                     OR     44510288165
BB8768A2155925   JAMMIE       HUGHES                       CA     90008708021
BB876A99431639   BILLIE       GREEN                        KS     90013480994
BB877498597124   HERNANDEZ    REBECCA                      OR     90011044985
BB877759172465   STORM        HOUP                         PA     90008617591
BB87849495B269   TIFFANY      BRANCH                       KY     90001964949
BB878865124B44   ROBERT       KIEFER                       MD     90015548651
BB87893157B489   SHAWN        JOHNSON                      NC     11075889315
BB879846491257   HEATHER      JENKINS                      GA     90010488464
BB879918393758   CURTIS       DAVIS                        OH     90014659183
BB879A1133363B   REBECCA      CONTRERAS                    NC     12045820113
BB87B138485927   PAIGE        BEAM                         KY     67028111384
BB87B286A97124   JOSH         TOWNSEND                     OR     44031432860
BB87B563455972   MARY         ARCHULETA                    CA     49083525634
BB87B887254B94   WILLIAM      AGUILAR                      VA     90012778872
BB881416191978   MICHELLE     UPCHURCH                     NC     90013114161
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2339 of 2350


BB88153649194B   CAROLYN          SINGLETARY               NC     90012665364
BB88171175B327   ALEJANDRO        RODRIGUEZ CRUZ           OR     44580397117
BB88183739194B   JOQUAY           HOWEL                    NC     90015198373
BB88192242B941   JOSE             MENDEZ                   CA     90010359224
BB881A92976B27   JUANA            ENRIQUEZ                 CA     90003130929
BB882417772B62   GARY             HARMS                    CO     33086464177
BB882441431639   AMANDA           SQUIER                   KS     22062584414
BB882793791978   MICHELLE         VENTOUR                  NC     90014047937
BB882A79872B69   RASHEED          YARBER                   CO     33012790798
BB883359372B62   PERLA            HOLGUIN                  CO     90012613593
BB883418A2B857   VALENTIN         CERVANTES                ID     90012404180
BB88345362B941   ANDRES           SOARES                   CA     90014904536
BB88388A75B168   DIANNA           MATHIS                   AR     90005098807
BB88394A131639   ELIJAH           MATHENIA                 KS     90009409401
BB88399A855972   PRISCILLA        DOMINGUEZ                CA     90013969908
BB88418415B396   JAMES            GARDNER                  OR     90014641841
BB884323272465   KRISTY           MERCHIONE                PA     90010863232
BB88466912B271   ADEWALE          FAMAKINWA                DC     90014756691
BB884721493745   MICHAEL          ANTHONY                  OH     90014897214
BB884761491353   KELLIE E         HESSE                    KS     29040317614
BB884955993758   JENNIFER         ADAMS                    OH     90014659559
BB88511A27B443   WANDA            TOBIAS                   NC     11003821102
BB8856A575B265   GABRIEL          MUNOZ                    KY     90014426057
BB885863A2B941   DOLORES          HERNANDEZ                CA     45051428630
BB885876372B69   MICHAEL          KLEIST                   CO     33036558763
BB88587755B396   PORFIRIO         PABLO                    OR     90011568775
BB88613A85B269   CHARLIE          HORD 3                   KY     90012291308
BB8868A7441233   ROBYN            DIETERLE                 PA     90005308074
BB88722A45B557   MAURICIO         REZA                     NM     35016622204
BB88729525B265   MARLYN           RIOS-PINEDA              KY     90012492952
BB887418193758   MICHAEL          PERKINS                  OH     64523524181
BB887441355927   DANIEL           GONZALEZ                 CA     90013034413
BB88856233B372   LINDA            STONESTREET              CO     90005705623
BB88876323363B   CHANAY           VASQUEZ                  NC     90014727632
BB889159397982   RAMIRO           JUAREZ                   TX     74039501593
BB88935A32B941   CHARLYN          FULTZ                    CA     45037443503
BB889449A93752   ERIKA            SHANKS                   OH     90011524490
BB889542493727   CHRISTOPHER      NICKLAUS                 OH     90013175424
BB88B21635B531   JOHN             MONTOYA                  NM     90013852163
BB88B398341229   CHRIS            RUNK                     PA     90001943983
BB88B47925B396   JESSICA KAYLEA   PERROTT                  OR     90013304792
BB88B489654B94   ANA              PASTORA                  VA     90013964896
BB88B53382B941   JERRY            BARNETT                  CA     90009135338
BB88B5A5293727   TIFFANY          JOHNSON                  OH     90013995052
BB88B983A97124   JAMES            SMITH                    OR     44041929830
BB891AA7493758   ANGELA           FIELDS                   OH     64534810074
BB89216A371921   MARIA            RODRIGUEZ                CO     32071861603
BB892238433647   FELISA           SARVER                   NC     90007702384
BB892261555979   JASON            MEDSKER                  CA     49082632615
BB892267193752   GARY             FLOYD                    OH     64560532671
BB892332351332   ROY              PAUGH                    OH     90000853323
BB89237139194B   TALIA            ANTHONY                  NC     90013293713
BB892859191978   MARIO D          MCMILLAN                 NC     90014048591
BB89333A42B271   DARRIUS          HOLDER                   DC     90015203304
BB89363675B269   GLEIMY           ARREDONDO                KY     68012246367
BB893958684373   KEVIN            ALSON                    SC     19009699586
BB894594993751   TIMOTHY          HERD                     OH     90009025949
BB89474725B327   JAMES            BREEN                    OR     90013857472
BB8963A2A2B857   MEMORY           TOVES                    ID     90010283020
BB89672279194B   CRYSTAL          BURNO                    NC     90014847227
BB89731555B269   LESLIE           HEADY                    KY     68019013155
BB89746A25B327   EMILIO           CHOLULA ESPINOZA         OR     90014874602
BB897543593771   ROBERT           COPPLER                  OH     90013945435
BB897619654B3B   ASTRIDE          HATUNGUNGIYAKEMYE        VA     90011276196
BB898579376B3B   MARICELA         BENITES                  CA     90006825793
BB89912353363B   TERI             LITTLEJOHN               NC     12030661235
BB899176491978   CRISTINA         COTO                     NC     90014151764
BB899228755972   ROBERT           DAVIS                    CA     90015142287
BB89928972B857   JAKE             MITCHELL                 ID     90014062897
BB89932A193758   MARK             DONOHOO                  OH     64593773201
BB899643991257   LATIKIA          WAY                      GA     90013956439
BB89987512B857   CALEB            BRUCE                    ID     90013988751
BB899A7315133B   JAKE             SOWDERS                  OH     66065010731
BB89B112393727   JESSICA          BUERK                    OH     90014171123
BB89B13542B271   MEGHAN           CALHOUN                  VA     90011231354
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2340 of 2350


BB89B244193758   CHEY         LANAE                        OH     90004732441
BB89B814A9194B   LUIS         CORTES                       NC     17085288140
BB89B837193727   JAMES        DEMETRIUS                    OH     90015308371
BB89B8AA293758   TAMEKA       TUCKER                       OH     64564298002
BB8B111285B396   KA           THAO                         OR     90000381128
BB8B11A6433635   BURLINGTON   MATTRESS                     NC     90013031064
BB8B1874172B69   LUIS         ESPARZA                      CO     33096738741
BB8B187492B857   OSVALDO      SANCHES                      ID     90014998749
BB8B1921A7B489   JILLIAN      CREWS                        NC     90013379210
BB8B2133154B94   ALBA         LAGOS                        VA     90012161331
BB8B244A95B396   JOEL         GONZALEZ                     OR     44578194409
BB8B2464991554   ANTONIO      ROMO                         TX     90001714649
BB8B289A64B232   LORI         JONES                        NE     90007998906
BB8B28A8A84825   DANA         LOWRIE                       NJ     90014508080
BB8B292A131639   ADDY         SINCLAIRE                    KS     90013969201
BB8B2988997124   DAVID        EVANSON                      OR     44028449889
BB8B32A8785836   EDUARDO      VILLA                        CA     90014822087
BB8B3377557564   VICTOR       MALDONADO                    NM     35585213775
BB8B3464A51341   CHAD         PEYTON                       OH     66050754640
BB8B3981393752   LAMESHA      COWHERD                      OH     90003249813
BB8B3A3442B857   FRANCES      ADAMS                        ID     90010840344
BB8B4947593752   JOHN         MCGUFFIE                     OH     64561649475
BB8B5296161825   WIRELESS     CALLER                       IL     90015442961
BB8B565662B232   MIGUEL S     GARCIA                       DC     90004366566
BB8B58A725B327   MICHAEL      ASKAY                        OR     90003088072
BB8B6217672B69   LAURA        SHEEDER                      CO     33089592176
BB8B6326155972   ABELARDO     HERRERA                      CA     90015183261
BB8B6624885836   PATRICIA     PIONTEK                      CA     46075996248
BB8B66A7954B94   OMAR         DIAZ                         VA     90002166079
BB8B724883363B   MARGARET     MEANS                        NC     12059282488
BB8B7373997124   REBECCA      FLORES                       OR     90011053739
BB8B741A52B857   AGUSTIN      ORTIZ                        ID     42075634105
BB8B7592793771   MINDY        LUDWIG                       OH     64592425927
BB8B763A672B62   JOSE         SANDOVAL                     CO     33014146306
BB8B773829194B   GISELE       MUANZA                       NC     90015027382
BB8B776789156B   CECILIA      HERNANDEZ                    TX     75006697678
BB8B782569286B   SHELLEY      DRYDEN                       AZ     90015468256
BB8B8239854B94   TIMOTHY      BROTHERS                     VA     90011942398
BB8B897A793745   MICHAELA     LISCH                        OH     90013339707
BB8B9585493745   DIANA        BISLER                       OH     64570815854
BB8BB147293745   BROOKE       BURNHAM                      OH     90014171472
BB8BB16939194B   SANDRA       ANDRADE                      NC     90003881693
BB8BB21682B857   TAMMY        RAY                          ID     42005862168
BB8BB68535B396   ALIVIA       KENT                         OR     90012846853
BB8BB8A252B271   JAMEL        WINSTON                      DC     90014788025
BB911513972B62   MELVIS       AMAYA                        CO     33018245139
BB91213832B941   MATTHEW      MIJARES                      CA     90012111383
BB91228227B489   ANGELA       WORTHAM                      NC     90013862822
BB9133A8631639   BENJAMIN     BARBOZA                      KS     90008533086
BB913469672B62   ANA          MARFIL                       CO     33098824696
BB913547193751   TINISHA      TOLLE                        OH     90010595471
BB91355462B271   SYBIL        JOHNSON                      DC     81035405546
BB913555991592   MARCELA      VIDAL                        TX     75005385559
BB913851A61992   EILEEN       ROBINSON                     CA     90001048510
BB913895397124   JONATHAN     WOOD                         OR     90010868953
BB914151497124   ARMANDO      MIRANDA                      OR     90000281514
BB91417A65B555   ALMA         JAUREGUI                     NM     90002611706
BB91475727B489   JOSEPH       LAZARSKI                     NC     90013607572
BB914967631277   GLENDIA      BROWN                        IL     90015429676
BB916553984373   MICHAEL      WALKER                       SC     90008035539
BB91697895B269   CHARRA       MILLER                       KY     90014829789
BB91726755B269   STEPHEN      TURNER                       KY     90014662675
BB917474391941   REGINALD     SMITH                        NC     90011854743
BB91758423363B   DEMETRIO     RIOS DE LA CRUZ              NC     90014835842
BB917796755972   JESSICA      PADROSA                      CA     90012197967
BB91818732B941   ELFIDA       OSEGUEDA                     CA     90012311873
BB9181A9854B94   CLAUDIA      ZUNIGA                       VA     90012531098
BB91837357B345   MARIA        ARGUETA                      VA     90005163735
BB91868232B941   MARIA        VAZQUEZ                      CA     90010826823
BB91981245B265   AMY          KALBER                       KY     90003378124
BB919A6A493752   JOHN         COCCA                        OH     64593610604
BB91B225A91257   JENNIFER     BARENGTINE                   GA     90007312250
BB91B322293751   GERARDO      SANCHEZ                      OH     90015013222
BB91B393622444   CARMEN       GUADARRAMA                   IL     90014783936
BB91B9A822B857   COLBY        CROWTHER                     ID     90013869082
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2341 of 2350


BB921132272B62   NORMA            RODRIGUEZ-LUEVANO        CO     90009221322
BB9211A9876B27   MARTHA           GUZMAN                   CA     90015341098
BB92164785B265   DOTTIE           WADDELL                  KY     90011856478
BB92171613363B   SANITA           JONES                    NC     90014837161
BB921784172B69   CORREEN          MARTINEZ                 CO     33070417841
BB92271613363B   SANITA           JONES                    NC     90014837161
BB922721693771   DESIREE          MULLINS                  OH     90005137216
BB92284642B857   SHELLY           BRETT                    ID     90011118464
BB92291362B941   SARA             FORGNONE                 CA     90014179136
BB922A28891978   STEVON DESHAUN   MUHAMMAD                 NC     90011840288
BB923142893758   TANYA            LAKIN                    OH     90012411428
BB9239A8493745   JACKIE           STEVENS                  OH     90014559084
BB923A47591978   MARTIN           ALVAREZ                  NC     90011840475
BB924518193758   NARDA            WAGGONER                 OH     90014665181
BB924651555972   MIKE             MARTINEZ                 CA     90013486515
BB92521693B325   BIANEY           GONZALEZ                 CO     90008722169
BB9254A7155972   CAROLINA         CARRISALES               CA     49090234071
BB92566637B489   MAJEEDAH         MILLS                    NC     11098516663
BB92587582B271   BRIAN            BROWN                    DC     90015128758
BB926197891257   SHANNON          WASHINGTON               GA     90003991978
BB92624535B396   CAROLINE         GOODBAUDY                OR     90013032453
BB926518193758   NARDA            WAGGONER                 OH     90014665181
BB92659515B327   CHERYL           WOOD                     OR     90010965951
BB92661A397124   BARTOLO          FLORES MONTES            OR     90013526103
BB926A3A955972   ADRIANA          LEON                     CA     90010260309
BB92711472B271   MARK             LOWERY                   DC     90007271147
BB92734733363B   ANNETTE          MANNING                  NC     90002983473
BB92763632B941   JILBERTO         SERRANO                  CA     90014496363
BB927652793758   BOBBY            KENNERLY                 OH     64504536527
BB927738A5B396   TRISHA           ROMERO                   OR     90008877380
BB927881A51358   LORIE            GIBSON                   OH     90010988810
BB92795895B269   TOYGUAN          ASKEW                    KY     68069969589
BB9279A6391257   JACQUELINE       BRYAN                    GA     90005299063
BB92812242B941   BRENDA           ZUNO                     CA     90007961224
BB92829285B381   MIRIAM           LOPEZ                    OR     90004742928
BB928A29493751   NATALIE          JONES                    OH     64559270294
BB929176972B62   JUAN             PICAZO                   CO     33005371769
BB92932A672B69   PAULA            PIGFORD                  CO     33008793206
BB929334551324   COLLEEN          SWEENEY                  OH     90012803345
BB929419A9194B   CLAUDIA          REYES                    NC     90013354190
BB92954A797124   YUMIKO           ARON                     OR     90008075407
BB929A2462B271   FRANKIE          BURNETTE                 VA     90013810246
BB92B17352B271   LATICIA          LONG                     DC     90014841735
BB92B451185927   HUNBERTO         MONCADA                  KY     67068004511
BB92B539193745   KATHLEEN         CARR                     OH     64594065391
BB92B738A55972   KATHERINE        GRIJALVA                 CA     90015127380
BB92B832A33635   KENDRICK         GILLIAM                  NC     18081738320
BB92B883472B69   RACHEL           FLOHR                    CO     90014668834
BB92B88615B269   BARBARA          FAISON                   KY     68070938861
BB92B886755972   ELIZABETH        SOLORIO                  CA     90013948867
BB92B945631639   GABRELLE         PALACIOZ                 KS     22069079456
BB931532154B94   ALLEI            REID                     DC     90014625321
BB931A8185B325   GERALD           ALM                      OR     44593410818
BB93238447B489   TA               WIRELESS                 NC     90013963844
BB93261A242376   TONYA            BLEDSOE                  GA     90013106102
BB932662A85836   VICKY            NEWMAN                   CA     90013926620
BB933165672B62   TARA             JENKINS                  CO     33007491656
BB93319332B857   EVOL             SUTTON                   ID     90014781933
BB93328A393727   BRUCE            MANTZ                    OH     64527972803
BB933334155972   JOSE             LARA                     CA     49068523341
BB933454193751   JESSICA          KAVANAGH                 OH     64594344541
BB933756A93758   MARK             ESTES                    OH     64523467560
BB933A26876B27   MARIA            CALVA                    CA     46012860268
BB934129A51341   SCOTT            BRISTOL                  OH     90001621290
BB9343A225B327   YOUSIR           FAQI                     OR     44502713022
BB93573485B269   MICHEAL          HENNING                  KY     90011067348
BB936285655928   MARLENE          WELCH                    CA     90014652856
BB93662165B327   RENNIE           BELT                     OR     90015096216
BB9367A2A2B941   NANCY            LOPEZ                    CA     90006227020
BB937626A2B857   ANGEL            BOYD                     ID     90008486260
BB9376A9772B69   JESUS            MATEO                    CO     90012896097
BB937828485836   CHARLES          STANLEY                  CA     46026468284
BB937A84531639   KATIE            PHILLIPS                 KS     90003080845
BB9384AA693727   MIKA             CARSON                   OH     90012934006
BB938632291978   GALINDO          HERNANDEZ                NC     90006576322
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2342 of 2350


BB93867895B265   ROSALINDA    ALLEN                        KY     68024166789
BB93924333363B   DEVON        BETTON                       NC     90014862433
BB939646272B44   VICKIE       BURKS                        CO     90006906462
BB93975272B941   JOYCE        PEREZ                        CA     90007967527
BB9399A6391257   JACQUELINE   BRYAN                        GA     90005299063
BB93B12359194B   FRITZ        DYER                         NC     90003081235
BB93B524891978   HECTOR       MARTINEZ                     NC     90014245248
BB9414A2593727   LOIS         HERNENDEZ                    OH     90012154025
BB941532393758   ABBIE        RITTER                       OH     90014665323
BB941A17893771   JAMES        GRANT                        GA     90014160178
BB942285885836   CAMERINO     CEDILLO                      CA     90006662858
BB942597372B62   JASMINE      BARRIETO                     CO     90012515973
BB942648997124   ALDAMA       JUANITA                      OR     90010216489
BB94274842B271   ALEM         BEKELE                       DC     90010017484
BB942A78943584   RONALD       HUTCHINS                     UT     90014650789
BB942A82857444   CLARICE      BONE                         IN     90012350828
BB9433A7555972   BASILIO      BACASEGUA                    CA     49014413075
BB943694297124   NOLAN        WALLING                      OR     90008946942
BB943A5675B269   LIDIA        ALKINSON OLIVERA             KY     90011680567
BB944112A93752   CONNIE       CHILDERS                     OH     90001571120
BB944274572B69   RUTH         DEOLIVERIA                   CO     90004132745
BB94437662B26B   RONY         JOHNSON                      DC     90010983766
BB944513297124   IRENE        CRUZ                         OR     90013035132
BB94459372B857   SAMANTHA     NAVA'JASSO                   ID     90002385937
BB944697624B64   TERESA       DOMINGUEZ                    VA     90007926976
BB9446A3785836   JULIE        KNOWLES                      CA     90009386037
BB944A2A357564   SARAH        LOPEZ                        NM     90004280203
BB945621293771   ANDREW       SWOB                         OH     90014096212
BB945829893771   NORM         KRIGER                       OH     64500038298
BB94586842B271   GWENDOLYN    PURYEAR                      DC     90012418684
BB94594558B825   DONNELL      PUA                          HI     90014919455
BB94633392B271   JIMMY        LEE                          DC     90015203339
BB94658329194B   MARIO        ALAS                         NC     90012825832
BB94665192B857   JAREN        WILCOX                       ID     90004256519
BB946975A7B489   TIFFANY      WALLACE                      NC     11096639750
BB947258497124   ALBERT       BARHAM                       OR     44066182584
BB947835355972   PAKOU        LAO                          CA     90014338353
BB948533593745   JASON        ELDRIDGE                     OH     90014605335
BB94891847B489   TERRY        MCKINZIE                     NC     90012649184
BB948991491324   FRAZEE       KIMBERLY                     KS     90011609914
BB949153A93758   GARRETT      LOCKETT JR                   OH     90013341530
BB949747891978   RENEE        MCDONALD                     NC     90015177478
BB949751176B27   PATRICIA     CAMPOS                       CA     90011317511
BB94B241193727   THOMAS       MILLER                       OH     90007482411
BB94B788A76B27   ALFONSO      PEREZ                        CA     90008307880
BB94B981176B27   ALFONSO      PEREZ                        CA     90012589811
BB94BAA2285836   MARIA        BROOKS                       CA     90014460022
BB951A53885836   ANTONIO      LOPEZ                        CA     46002210538
BB952172272B69   JEREMY       AYERS                        CO     90009311722
BB952683A97124   SAUL         SARATE                       OR     90013316830
BB952936A7B443   MARY         FIGUEROA                     NC     90006029360
BB9531A5197124   MARTHA       CASTILLO                     OR     90003731051
BB95425A293764   ANA          CORTEZ                       OH     90007002502
BB95433A85B269   BRYAN        PARRIS                       KY     90014893308
BB954A39372B29   JUAN JOSE    AGUERO                       CO     33081990393
BB95524327B489   DEANNA       SIMPSON                      NC     90012192432
BB955346155972   CELSO        GARCIA                       CA     90011663461
BB955451885836   ANGEL        OTIVEROS                     CA     90010754518
BB955494372B69   SHUNRONICA   DOUCETT                      CO     33010324943
BB95557613363B   QUIANA       REYNOLDS                     NC     90014725761
BB955A3339194B   TIFFANY      REID                         NC     90013410333
BB956A47793727   JOSHUA       PITTMAN                      OH     64542330477
BB957453691978   SHAGUANNA    DOTSON                       NC     90002854536
BB95784442B941   ANOOP        DHESI                        CA     90004028444
BB957932385836   VICKY        NEWAMN                       CA     90013989323
BB95892398B175   LEXIE        BRYNER                       UT     31002109239
BB95915115B396   ERIN         ROSS                         OR     90010061511
BB959712A5B265   MIKE         PERRY                        KY     90012467120
BB95992133363B   TIFFANY      COLLINS                      NC     90014869213
BB95B186776B3B   MOISES       RAMIREZ                      CA     90004431867
BB95B791493758   ROBERT       DUNSON                       OH     64542897914
BB96143295B327   ALICIA       ORTIZ INFANTE                OR     90011334329
BB961959A72B69   JOSE         RAMIREZ                      CO     33040539590
BB96213A691574   LOURDES      FLORES                       TX     90006961306
BB9622A4A3363B   KEVIN        PRIPPE                       NC     90014862040
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2343 of 2350


BB96238315B396   JEREMIE      OTT                          OR     44589283831
BB96244693363B   KEVIN        PRIPPE                       NC     90015294469
BB962562493752   STEVEN       SCHOMBURG                    OH     90014955624
BB9625A8384353   DEBRA        BERENS                       SC     90004855083
BB962A8998B14B   KYNDRAH      TAYLOR                       UT     90001620899
BB963632655972   VALERIA      GONZALEZ                     CA     90010476326
BB96388A95B269   SONYA        TIMMONS                      KY     90013818809
BB9641A873363B   MARCOS       GUTIERREZ                    NC     90014121087
BB96452937B489   DASHAWNA     DAVIS                        NC     90012835293
BB96529882B271   LASHAWN      WILLIAMS                     DC     90003792988
BB96535279194B   PHILLIP      JONES                        NC     90011143527
BB965369693752   CHAMEKA      PARRISH                      OH     90010943696
BB965885772B69   CLELIA       CRUZ                         CO     33071928857
BB9659A759194B   JASMINE      DAVIS                        NC     90015199075
BB966246755994   APRIL        MANJARREZ                    CA     90000802467
BB966492472B62   CARLOS       ALVARADO                     CO     90008534924
BB96658247B443   JOHNNY       FULLER                       NC     90006835824
BB96665895B265   EDDIE        HOBREY                       KY     68094726589
BB96678A35B327   EFRAIN       ARROYO                       OR     90006417803
BB966A2139194B   BILLY        HILL                         NC     90011610213
BB966A84393727   AMBER        CAMDEN                       OH     90013900843
BB966A99891524   ELSA         SANCHEZ                      TX     75072840998
BB96723688B186   MARIETHA     LAZARO                       UT     31079922368
BB9673AA32B941   PAULINA      CASTILLO                     CA     90010843003
BB96819362B941   JULIO        JASSO                        CA     90008051936
BB96843752B941   EFFRAIN      ALVAREZ                      CA     90013834375
BB968463A3363B   DIANNA       NIXON                        NC     90013964630
BB968A16993751   KURT         BENNETT                      OH     90014120169
BB968AA6554B94   RACHEL       SEXTON                       VA     90015320065
BB969235A8B166   ADRIAN       GARCIA                       UT     90014042350
BB969285193751   NICOLE       LOCKHART                     OH     64508602851
BB969868A91868   TAMARA       WILSON                       OK     90011048680
BB96B3A1376B27   EVA          TOVAR                        CA     90012743013
BB96B59A15B327   MARIA        TORRES                       OR     90002305901
BB96B712A5B265   MIKE         PERRY                        KY     90012467120
BB96B83827B489   FELICIANA    REYES                        NC     90011908382
BB97122712B26B   STANLEY      TAYLOR                       DC     90011232271
BB971671793758   PAMELA       CVITKOVICH                   OH     64535246717
BB9717A7A5B327   JUAN         RUIZ ALCANTAR                OR     44590577070
BB9722AA591978   HUMBERTO     MIRANDA GARCIA               NC     90014052005
BB972347493752   ANN          SEFIC                        OH     90015513474
BB972548172B44   SHANNON      POOLE                        CO     33022535481
BB972586742376   MICKEY       AKINS                        GA     90009685867
BB972AA9A91257   DAKIYA       WHITE                        GA     90013790090
BB97331AA42332   COREY        VANDERGRIFF                  TN     90015243100
BB97357213B399   JEANNIE      MEAGHER                      CO     90010055721
BB97424792B857   DANIELLE     HILDEBRAND                   ID     42095672479
BB97495A385836   TIFFANY      CAVALCANTI                   CA     90012789503
BB975332493752   MARIAH       LITTLE                       OH     90011113324
BB975A67893745   AARON        ARNETT                       OH     64551270678
BB975AA5593751   AMY          TEAGUE                       OH     90009340055
BB976514393752   RYANNE       WEAVER                       OH     90009055143
BB976553291257   STEVE        MCINTYRE                     GA     90011545532
BB976A4955B269   MELISSA      WEIDNER                      KY     90013710495
BB977135793751   DYLAN        PEYTON                       OH     90013931357
BB977291972B62   ARMANDO      CEDENO                       CO     90002572919
BB977299531639   LINDA        CARTWRIGHT                   KS     90006372995
BB9775A517B489   ALAIN        ROBLES                       NC     90014065051
BB97769795B396   RICARDO      CRUZ                         OR     90013156979
BB97857975B265   SUSAN        WILKINSON                    KY     90015125797
BB978A17384373   STEVEN       WALTERS                      SC     19009510173
BB97918739194B   MARY ANN     DESPRES                      NC     90002881873
BB97922A893751   ERIC         BARNS                        OH     90009842208
BB97938422B271   ANITA        BREW                         DC     90013633842
BB97954912B941   MARIA        MANDUJUANA                   CA     90011615491
BB979698685836   ARNURLO      CAOP                         CA     46014986986
BB979936397124   JENNIE       GREENE                       OR     44038549363
BB97B42888B136   TRAVIS       SORENSEN                     UT     31066414288
BB97BA38A93745   JULIA        BANZHOF                      OH     90014690380
BB98136438B168   RACHELLE     ROWAN                        UT     90008573643
BB98137465B265   PAULA        MITCHELL                     KY     68042513746
BB98186987B489   MELVIN       AYALA                        NC     90010808698
BB981897793745   HELEN        SALYER                       OH     90014648977
BB981A96A5B396   CARLOS       TORRES                       OR     90002200960
BB982275A7B443   TIFFANY      BASKINS                      NC     11003632750
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2344 of 2350


BB982699985836   JESSENIA           AREVALO                CA     90004826999
BB982858631639   MICHAEL            VELA                   KS     90014108586
BB982861A31639   MICHAEL            VELA                   KS     90014078610
BB982966893751   MICHAEL            RUEF                   OH     90012669668
BB983267793727   WILLIAM            PATRICK                OH     64581012677
BB98326983163B   KRISTEN            GARRETT                KS     90010332698
BB983378255972   ESMAERALDA         LOPEZ                  CA     90011743782
BB98345A131639   JESUS              RETANA                 KS     22013214501
BB98366195B265   JOHN               NEILL                  KY     90008656619
BB98369452B857   DUSTIN             ZAHRADNICEK            ID     90012006945
BB98446645B265   YANAISY            HERNANDEZ              KY     90014174664
BB98473945B269   HARLOD             TAYLOR                 KY     90000987394
BB984916572B69   KATHLEEN           FRITZ                  CO     33086459165
BB984953672B62   ALFREDO            ARZATE                 CO     90009019536
BB985135693751   NATHANIEL          TASTE                  OH     64568751356
BB985299693771   RENEE              COX                    OH     90001112996
BB98559815B269   RACHELLE           DOUGLAS                KY     68039335981
BB985A3A27B489   SYLVIA             BIDGOOD                NC     90000120302
BB985A63276B31   RICHARD            HERNANDEZ              CA     90013120632
BB985AA2361825   BREANNA            STEENSON               IL     90015470023
BB985AA8191978   RYAN CHRISTOPHER   PIERCE                 NC     90007080081
BB98634A176B27   JESSICA            HURST                  CA     90014543401
BB986586485836   RICARDO            ROS                    CA     90010785864
BB98668392B857   ASHA               OWEID                  ID     90014356839
BB986864872B69   JONATHAN           RAMIREZ                CO     33024078648
BB987169255972   ANGELINA           CABRERA                CA     90008811692
BB98762A291978   UBALDO             VILLAGES               NC     90011846202
BB987673976B3B   JESUS              GRIEGO                 CA     90004436739
BB988611393771   KARA               MILLER                 OH     90012536113
BB98896A491257   KENDRA             SMITH                  GA     90014039604
BB9893A9A2B941   MIGUEL             RIVERA                 CA     90010843090
BB98B89AA72B44   ANDRES             GARCIA                 CO     90010468900
BB9912A2A85836   JUAN               QUINONEZ               CA     90001952020
BB99139715B265   FRANCISCO          GALLEGO                KY     68093583971
BB99159A897124   DIAZ DIAZ          ANALLELY               OR     90005065908
BB99161A85B269   BENJAMIN           DAWSON                 KY     90012816108
BB9916A9393764   RAAKHIM            BEY                    OH     90007006093
BB991AA795B269   BENJAMIN           DAWSON                 KY     90013890079
BB99226732B941   FERNANDO           VADILLO                CA     90013952673
BB992338293758   ROSE               PARKER                 OH     90003073382
BB992463393751   ROBIN              ARMSTRONG              OH     90007834633
BB992781251356   TIMOTHY            STONE                  OH     90004907812
BB99278A554151   ABIGAIL            ELLER                  OR     47082717805
BB992A9AA72B69   KAREN              HARRIS                 CO     90008910900
BB9932A8393727   SHAWN              TROUTMAN               OH     90009722083
BB99392A331639   DANA               GREEN                  KS     90013829203
BB9945A775B327   CODY               JONES                  OR     44576875077
BB994651172B62   KHADIJA            AMEEN                  CO     33050816511
BB994A99676B27   ELIZABETH          GARCIA                 CA     90013000996
BB99546467B489   JOSE               FLORES                 NC     90010464646
BB995558654B94   LISA               HOLLEY                 VA     90013135586
BB99589525B265   KENNY              FRENCH                 KY     90003378952
BB995A61684373   JONATHAN           JARAMILLO              SC     90003420616
BB996183293771   SHACON             BARNES                 OH     90014241832
BB996726891978   LATOYA             FARRIOR                NC     90013087268
BB996A13872B62   TIMOTHY            WEETH                  CO     33030560138
BB996A36A2B941   MARISSA            GONZALEZ               CA     90007370360
BB997A64772B62   VIRJOLEAN          CORDOVA                CO     90008890647
BB997A7A954B94   GUADALUPE          RODRIGUEZ              VA     90012600709
BB99811737B489   ZIPPORAH           BATTLE-HAY             NC     90010721173
BB998281655972   VERONICA           HERRERA                CA     90012772816
BB99851715B396   MELVIN             HAWKINS                OR     44583885171
BB99934317B489   FERNANDO           CALIHUA                NC     90010503431
BB99948985B396   CHANG              KYU KU                 OR     90015174898
BB9995A825B265   TRISHA             WEBB                   KY     90015175082
BB99991562B26B   JANANI             ALSTON                 DC     81065019156
BB9999A9893752   SANDIE             BARBIAN                OH     64535849098
BB99B26275B265   JASON              CEE                    KY     90014692627
BB99B56445B396   SILVIA             VARGAS                 OR     90011305644
BB99B666493771   JEFFERY            FUGATE                 OH     64580096664
BB99B71785B265   AMANDA             WAGONER                KY     90009987178
BB99B897A31448   DAVID              LAY                    MO     90004718970
BB9B1197793751   FRANKLIN           ZUERN                  OH     64598921977
BB9B129AA91978   KIMBERLY           LEACH                  NC     90011382900
BB9B1418A72B69   ALYSSA             LATOSKI                CO     33064294180
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2345 of 2350


BB9B1778A2B857   STEVEN       FREELAND                     ID     90013367780
BB9B1816891978   STEVE        MCGEE                        NC     90011838168
BB9B1956493764   JENNIFER     SCHRICKER                    OH     90002719564
BB9B1A26791257   PAMELA S     GREENE                       GA     90015060267
BB9B2331572B69   JACKLYN      DUVALL                       CO     90005563315
BB9B252677B489   THEM         SIU                          NC     90006125267
BB9B281833363B   LANNY        SHELLY                       NC     12017448183
BB9B365985B327   AMANDA       DANVISON                     OR     90004146598
BB9B3791272B44   DULCE        SANCHEZ                      CO     33097377912
BB9B4543593771   ROBERT       COPPLER                      OH     90013945435
BB9B4819A7B489   SHATIA       TILLMAN                      NC     90009178190
BB9B54AA772B84   SHEILA       REIMER                       CO     90007584007
BB9B5866193727   VANESSA      PETRONSKY                    OH     64517148661
BB9B626955B269   MARICELO     MEDINA                       KY     68067032695
BB9B678A584373   RONALD       BROWN                        SC     90005667805
BB9B682875B326   RUDOLPH      GOLDBACHER                   OR     44576398287
BB9B737159194B   JANEL        WATKINS                      NC     90013693715
BB9B752A272465   MARK         STRAYER                      PA     90009135202
BB9B755282B857   GUADALUPE    CALLEJAS                     ID     90014985528
BB9B75A7993751   AMANDA       DRUIN                        OH     64594075079
BB9B7816891978   STEVE        MCGEE                        NC     90011838168
BB9B793327B489   JOSE         MENDOZA                      NC     90014299332
BB9B7A3112B58B   KATLIN       JONES                        AL     90014860311
BB9B8158672465   CRAIG        HAWTHORNE                    PA     90012291586
BB9B973915B327   ELIZABETH    BEARYMAN                     OR     90009877391
BB9B9A86393764   JAQUA        TURNER                       OH     90010620863
BBB11237254B3B   ELZIE        ROBINSON                     VA     81055402372
BBB1123A693751   JONATHON     GREEN                        OH     90010412306
BBB11395455972   PA ZAO       YANG                         CA     90013943954
BBB116A7A55972   SABRINA      KING                         CA     90011646070
BBB11814355997   LISA         MCCOY                        CA     90011148143
BBB12393255972   ARTURO       AGUILAR                      CA     90000573932
BBB1247A485836   RANFERI      SALGADO                      CA     90013694704
BBB12814776B27   RAUL         LAZARO                       CA     90009138147
BBB12818172465   RACHEL       BARTOLINI                    PA     90006328181
BBB1281922B825   ASHLEY       ECKIWAUDAH                   ID     90010268192
BBB13449993752   DOROTHY      HARRIS                       OH     90013774499
BBB1366A25B269   RODRICA      ANDERSON                     KY     90010636602
BBB13784421B48   SAFIYYAH     WYATT                        TX     90014317844
BBB13842331639   KERA         BENDER                       KS     90014038423
BBB13962A41242   JIM          WENGER                       PA     90004939620
BBB13A1365B265   CURTIS       HARPER                       KY     90010920136
BBB14194193764   LACEY        SCHROLL                      OH     90010031941
BBB14211541229   NICOLE       REVTAI                       PA     90000492115
BBB1423917B489   TISHA        LIGON                        NC     11081712391
BBB14456893751   STEVEN       NAPIER                       OH     90012034568
BBB14518155972   MANUEL       GARCIA                       CA     90014595181
BBB14848655972   RODGER       RAMIREZ                      CA     90004858486
BBB1513A572B62   CRYSTAL      VIGIL                        CO     90001831305
BBB15351385836   JANET        ESTRADA                      CA     90013873513
BBB15641197124   CHRIS        MCPHERSON                    OR     44029436411
BBB15841193745   ERIN         SOWARDS                      OH     90001648411
BBB16279354B94   HARRY        RUCKER                       VA     90012622793
BBB16291472465   SARA         FAIR                         PA     90010792914
BBB16724672B69   JURI         GRISPINO                     CO     33018007246
BBB1675747192B   CHERIEKA     KYLE                         CO     90004627574
BBB16A2625B327   SAVANNAH     GLEASON                      OR     90012570262
BBB17125161925   ARNULFO      BAHENA                       CA     46038031251
BBB17225493752   JAMES        MCKIBBEN                     OH     90012802254
BBB172A5A93738   GREG         JONES                        OH     90001182050
BBB1731282B857   GREYSON      WERRY                        ID     90008113128
BBB17A84A85836   ABEUL        YUSUF                        CA     90012720840
BBB19615555972   ALEXANDER    GOMEZ                        CA     90013416155
BBB1998629194B   JOEL         ROSADO LOPEZ                 NC     90008139862
BBB19AAA991978   JOHN         SALEHPOUR                    NC     90012090009
BBB1B661493758   CYNTHIA      FOSTER                       OH     64541166614
BBB1B74545B396   JOHNNY       RAYMOND                      OR     90011947454
BBB1B75A22B941   ELFIDA       OCEGUEDA                     CA     45069737502
BBB2112A52B857   MARIAH       DALLING                      ID     90010561205
BBB21197193758   MICHAEL      KELLEY                       OH     64509051971
BBB2122A393751   GINA         REGES                        OH     64511052203
BBB21364193727   DAVID        GONZALEZ                     OH     90009163641
BBB21837672B69   BARBARA      BUTTON                       CO     33067708376
BBB21A34A2B941   THERESA      ORTIZ                        CA     90002030340
BBB22513976B27   JUAN         RUELLAS                      CA     90012715139
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2346 of 2350


BBB22933272465   LAURA          ROBBINS                    PA     51031369332
BBB22A62484373   SEMONE         GEDDIS                     SC     90003420624
BBB23115593771   ROBERT         MONNIN                     OH     90011151155
BBB23238231688   KELLI          GRIFFIN                    KS     22019452382
BBB23263793745   SHANEE         YOUNG                      OH     90003872637
BBB23476331448   DENISE         GORDON                     MO     90004314763
BBB234A6391238   CLAUDIA        LEWIS                      GA     14572884063
BBB23A33524B44   ANA            POCASANGRE                 MD     90015560335
BBB24273793771   TOREY          HENDERSON                  OH     90006142737
BBB25148172465   AMANDA         ADAMS                      PA     90006961481
BBB2536872B271   LEAH           DUKES                      DC     90013633687
BBB253AA776B27   CHRISTIAN      FRANCO                     CA     90013983007
BBB2595657B489   TAMMY          LOTHARP                    NC     11008069565
BBB26269572B69   WARREN         SMITH                      CO     90001902695
BBB2633515B396   JOSEPH         SISK                       OR     90014253351
BBB26437497124   BRITTANY       CARROLL                    OR     90014054374
BBB26476331639   LOUISA         ARELLANO                   KS     90013524763
BBB26575984373   JULIA          WHITE                      SC     90003375759
BBB2661733363B   KOYATITTO      MILLER                     NC     90012856173
BBB26633293752   TAYISHA        GIBSON                     OH     90003056332
BBB27494A3363B   RUPERTO        DALTON                     NC     90010574940
BBB2782615B265   JAMES          SWAIN                      KY     68081528261
BBB279A2984373   DAVID          TURNER                     SC     19009329029
BBB2811925B393   KATY           STRUBEL                    OR     90004091192
BBB28131233133   PAYGO          IVR ACTIVATION             IL     90013921312
BBB28131893771   JOHNNY         COLEMAN                    OH     90006971318
BBB2813332B857   MARIA          VEGA                       ID     90014691333
BBB2822715B269   CHERI          BARKER                     KY     90014152271
BBB28396891978   ASHLEY         HOLMES                     NC     90013423968
BBB28486193758   EDWARD         VANWEY                     OH     64544904861
BBB2871A191936   JUANA          TURCIOS                    NC     90013097101
BBB28761776B3B   MANUEL         AVENA                      CA     90001367617
BBB28A96176B31   ANSELMO        CRUZ                       CA     90013970961
BBB29494A3363B   RUPERTO        DALTON                     NC     90010574940
BBB2B5AA354B94   PATRICA        PORK                       VA     90014725003
BBB2B79838B12B   PATRICIA       WALKER                     UT     90013497983
BBB3144129194B   YOLANDA        CRISTOBAL                  NC     90007434412
BBB3148715B396   DWAYNE         JUDGE                      OR     44575464871
BBB31985772B69   DONOVAN        BARTLETT                   CO     33028529857
BBB3214687B489   SHEMERE        WRIGHT                     NC     90009111468
BBB32326A54B94   LORAINE        SIMON                      VA     90009923260
BBB3252A424B64   SHANEKA        JONES                      DC     90014435204
BBB32615976B27   STEPHEN        NICHOLS                    CA     46009216159
BBB3276A772465   CATHERINE      THORNTON                   PA     90013287607
BBB32783A3363B   PAYGO          IVR ACTIVATION             NC     90010577830
BBB332A3685861   JENNIFER       PHAM                       CA     90012852036
BBB33353297124   RENEE          HOLLINGSWORTH              OR     90014943532
BBB33778691257   JOSHUA         ROMERO PIZARRO             GA     90012757786
BBB33A95993752   SHAVELTA       HARDING                    OH     90007710959
BBB34229184373   ERICKA         FOGLE                      SC     19009332291
BBB34584491978   ROBERT         THOMAS                     NC     90011735844
BBB34647993758   SONIA          HOLYCROSS                  OH     90010706479
BBB348A733363B   CECILIA        JACINTO                    NC     90011958073
BBB35535A5B327   GARY           SIMMONS                    OR     90014525350
BBB3581A93363B   MIGUEL ANGEL   AUSTIN                     NC     90009458109
BBB35966297124   RENA           KELLISON                   OR     90014079662
BBB36482193752   PAULA          WEAVER                     OH     90006954821
BBB3651762B271   FREDY          CORONADO-RAMIREZ           DC     81022695176
BBB3684139194B   JUDY           YOW                        NC     17081198413
BBB37271393727   SCHARLENE      STOVALL                    OH     90006142713
BBB372A5297B59   YVETTE         WALKER                     CO     39077912052
BBB37523291978   LARRY          BREES                      NC     90013935232
BBB37A68454B94   MARIE          PADILLA                    VA     90011020684
BBB3826625B265   HAL            BRACKNEY                   KY     68014282662
BBB3854A757552   JERRY          FLEMING                    NM     90013055407
BBB38629657133   OSCAR          GAMEZ                      VA     90013576296
BBB386A8493752   JASON          HOWARD                     OH     90014106084
BBB3871875B396   JOYCE          LANGSTEFF                  OR     90015157187
BBB3891559194B   VICTOR         VEGA                       NC     90014099155
BBB3898693363B   ESTELA         GOMEZ                      NC     90010579869
BBB39197393771   JIM            MOON                       OH     90012411973
BBB39354693752   CARL           PERRY                      OH     64508473546
BBB39442572465   LENA           KESTER                     PA     90014844425
BBB3957245B269   JASON          MCDONALD                   KY     68067255724
BBB39694193771   ALBERTO        LOPEZ                      OH     90013316941
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2347 of 2350


BBB39985A91257   LUIS         RIVERA                       GA     90011759850
BBB3B62982B271   MARTIN       DOUZANT                      DC     90013626298
BBB41187854B3B   TERRENCE     BROWNLEE                     VA     90003071878
BBB4128573363B   VICKY        VALDEZ                       NC     90013352857
BBB41614441223   MARCIA       ALLSHOUSE                    PA     51091936144
BBB41951A2B26B   NATALIA      GRACHEVA                     DC     81008959510
BBB41A8AA54B94   ANTONIO      MORENO                       VA     90004950800
BBB4219563163B   ALICIA       RODRIGUEZ                    KS     90001311956
BBB42732393771   SHERRY       HOWARD                       OH     64576277323
BBB4295689194B   RAHMEL       THOMPSON                     NC     90010759568
BBB4336142B941   ALICIA       ZENDEJAS                     CA     90013143614
BBB4397525B184   CYNTHIA      TAYLOR                       AR     90012489752
BBB4429478B12B   TRACY        OLESKY                       UT     31041902947
BBB4493485B327   TONY         HERNANDEZ                    OR     90012249348
BBB45563733635   JAMES        ROSEMAN                      NC     18081655637
BBB4588A893751   BLACKAMIGO   MEXICO                       OH     90010958808
BBB468A6797124   BILLY        WASSON                       OR     90012668067
BBB46923142332   KERI         MORROW                       GA     90015299231
BBB47275593764   MARY LYNN    BERNHARD                     OH     90007062755
BBB47385272B69   PARIS        PEDRAZA                      CO     90012383852
BBB47633A2B941   FABIAN       CASTILLO                     CA     90012046330
BBB47A31355972   CHRIS        ISLAS                        CA     49072530313
BBB47A7157B443   RUSUS        LOCKHARC                     NC     90009580715
BBB482A5672B69   MARCO        RETA                         CO     33087942056
BBB48566685836   DANIELLE     CRAIN                        CA     90003845666
BBB4887A355972   PHILLIP      DURAN                        CA     90013938703
BBB48957A85927   HENRY        HAMBERG                      KY     67063129570
BBB48A51572B44   MARIA        OLIVERA                      CO     90000120515
BBB49437376B27   NOEMY        LARIOS                       CA     90010724373
BBB4962185B327   ANICETO      GONZALEZ AGUIRRE             OR     90009056218
BBB49699724B64   ESAU         HERNANDEZ                    MD     90015496997
BBB4B963654B3B   ARLETHA      CRAIG                        VA     81055299636
BBB4B97865B265   IVO          KOLARIK                      KY     68016249786
BBB51563493752   MARCY        BOYD                         OH     64572675634
BBB5167475B265   MARSCOTA     BUMBALOUTH                   KY     90012096747
BBB51823A85836   CRISTINA     FLORES ROMERO                CA     90012128230
BBB5184985B327   VICTOR       DIAZ                         OR     90014178498
BBB52257655972   SELVI        MUNOZ                        CA     90008752576
BBB52485172B69   CHANCE       COX                          CO     33037464851
BBB5251AA93745   SANDRA       GATTEN                       OH     90009345100
BBB52641495624   JUANITA      LOREDO                       TX     90011546414
BBB53229172B62   NAOMI        NAVARO                       CO     90010332291
BBB536A3493751   TAMEKA       HOWARD                       OH     90003786034
BBB5383369194B   MESTAWOT     MANDEFRO                     NC     17079138336
BBB5391A272B44   WILLIAM      WOELFLE                      CO     33090249102
BBB53955341223   BRIAN        BOCETTI                      PA     51098439553
BBB54AA3193764   DALE         PECKHAM                      OH     90006830031
BBB55417491831   MARQUETTA    BERRY                        OK     90012644174
BBB55651372B69   CALLEA       BENNETT                      CO     33095126513
BBB55666372457   DEATTA       DEAN                         PA     90001676663
BBB5627425B265   FRANCINE     MCCUBBINS                    KY     68023392742
BBB56289331688   STEPHANIE    DOTY                         KS     22000822893
BBB56584672465   HOWARD       WINE                         PA     51067685846
BBB56A82731521   PAYGO        IVR ACTIVATION               NY     90013500827
BBB57385633647   HESTER       BRODIE                       NC     90012983856
BBB5778767B443   WILLIAM      COOK                         NC     90004407876
BBB57A9A391978   EON          BLACK                        NC     90014280903
BBB58168341229   EUGENE       RHODES JR                    PA     51023791683
BBB58428597124   MISAEL       ROJAS MORENO                 OR     90007134285
BBB584A225B269   DANA         YOUNG                        KY     90014724022
BBB59576685836   SUSAN        GARCIA                       CA     46079935766
BBB5999555B265   TIERA        WINFIELD                     KY     90014399955
BBB59A15272B62   ROCIO        GALLEGOS                     CO     90000200152
BBB59A93693752   STEVE        REEVES                       OH     90014130936
BBB5B18873363B   JASON        WATERS                       NC     90014511887
BBB5B58A25B327   NANCY        CAMPOS                       OR     44581105802
BBB5BA8288B12B   AUDRA        GALE                         UT     90013520828
BBB61419572B69   CYNTHIA      BARTLETT                     CO     33084334195
BBB618A983363B   VICTORIA     JIMENEZ                      NC     90013018098
BBB61923277396   LEVI         GWIN                         IL     90013799232
BBB6215155B265   WENTURA      SANCHEZ                      KY     90010431515
BBB6247869194B   CHRISTOPHE   RODRIQUEZ                    NC     90000674786
BBB6286638B197   ALICIA       SARABIA                      UT     90009788663
BBB6291413363B   GLENNA       TURNER                       NC     12085179141
BBB6322353363B   WILMER       MADRID                       NC     90014742235
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2348 of 2350


BBB63223772B62   SHAWNA       LUCERO                       CO     90006612237
BBB63322A93751   MIKE         BEENS                        OH     90012913220
BBB63A37193745   AXEL         GARCIA                       OH     90008330371
BBB64395554B3B   DEXTER       STERLING                     VA     90001443955
BBB6448AA8B12B   J LANE       PARKER                       UT     90008834800
BBB64A75193727   AHMAD        KHALIL                       OH     64590920751
BBB6511839194B   OMAR         GUERRERO                     NC     90013981183
BBB65369A3363B   JOSE         RESENDIZ                     NC     90013033690
BBB65699872B62   SHANTI       KLEMM                        CO     33008316998
BBB65749A3B391   BRETT        WEISZ                        CO     90002677490
BBB659AA497124   KRYSTAL      OLSEN                        OR     90003369004
BBB65AA785B327   ADRIANA      LOPEZ                        OR     44552490078
BBB6627A58B12B   MAILEE       HAYES                        UT     90013552705
BBB6667585B327   ANTONIA      RAMOS                        OR     90003796758
BBB6681185B269   APRYL        BURGESS                      KY     90014648118
BBB66A8513363B   CLIFFORD     FLOYD                        NC     90013020851
BBB6714449194B   CARMELLA     CAMPBELL                     NC     90012871444
BBB672A9531688   WILLIAM      TICE                         KS     90007192095
BBB6756199194B   HASSAN       MALICK                       NC     90011915619
BBB67645272435   BRIAN        DISMAN                       PA     51085746452
BBB6845365B374   FAUSTINA     DE LOS SANTOS                OR     90001714536
BBB68464872B69   LUIS         SANDOVAL                     CO     90004184648
BBB68472A31521   KEVIN        CASE                         NY     90014134720
BBB6857597B489   CHALAMAR     STEPHENS                     NC     90013305759
BBB6888A585836   MARCO        GUERRERO                     CA     90013828805
BBB68AA9954B94   MOISES       HERNNADEZ                    VA     90013280099
BBB6921A555972   JUAN         GONZALEZ                     CA     90010442105
BBB69499897124   EDITH        COTA CONTRERAS               OR     44076974998
BBB69589184367   STEPHANIE    WALL                         SC     90006705891
BBB69965556365   SARAH        PARKYN                       IA     90014249655
BBB699A727B489   DARA         GRANT                        NC     90013409072
BBB6B648393727   JESSICA      PATTON                       OH     64555036483
BBB6B8A433363B   MILLICENT    MARSHALL                     NC     90013018043
BBB6B961541223   JAMIE        ZEMAN                        PA     90008919615
BBB719A542B941   DOROTHY      WRIGHT                       CA     45072019054
BBB72169897124   KRISTINE     WOOLERY                      OR     44073351698
BBB7221A924B64   ANTHONY      WINCHESTER                   DC     90012202109
BBB722A177B391   CATALINO A   VILLATORO HERNANDEZ          VA     90011832017
BBB722A3891978   HUBALDO      MARTINEZ                     NC     90014812038
BBB723A4472465   TAMMY        GOODWIN                      PA     51085153044
BBB72A55193745   BUD          MASTERS                      OH     90010890551
BBB73187493771   NIKKI        MONTGOMERY                   OH     90013291874
BBB73A86A91257   DELORES      SMALL                        GA     14579730860
BBB7415322B857   MARIA        PADILLA                      ID     42033321532
BBB74514293771   KASEY        SUMMERS                      OH     90012595142
BBB7481779194B   TYSHINEAK    STEWART                      NC     17073128177
BBB74972555972   GABRIELA     BALTAZAR                     CA     90008929725
BBB75116476B27   IGNACIO      ASABAY                       CA     46059771164
BBB75273572465   CAROLYN      ZEWE                         OH     51076892735
BBB7538848B329   ANDREA       MATTHEWS                     SC     90015183884
BBB75A23793745   AMANDA       VEST                         OH     90014350237
BBB76542922444   GARLAND      HINDERSON                    IL     90015465429
BBB76A57385836   DAN          HENDERSON                    CA     90012260573
BBB77769193745   DENISE       POWERS                       OH     90014827691
BBB7791975B396   CORY         MCCOLLUM                     OR     44556359197
BBB78153372B69   CHRISTIE     JUDD                         CO     33069541533
BBB78387493727   KATISH       BEASLEY                      OH     90010383874
BBB7853189194B   RAFAEL       VEGA                         NC     90012655318
BBB7855163363B   HUON         MIO                          NC     90001535516
BBB7855772B271   CHAVON       WINSTON                      DC     90012505577
BBB78A3675B327   ENRIQUE      FRAGA                        OR     90013100367
BBB79227555972   JESUS        SAVEDRA                      CA     49064042275
BBB7964A32B271   DAVIS        ROOSEVELT                    DC     90001136403
BBB79722533635   RAUL         VALDIVIA                     NC     18023587225
BBB79A6518B12B   MERCEDES     GIRON                        UT     90014030651
BBB7B444A7B489   JOSE MARCO   MEJIA                        NC     90012354440
BBB7B52585B338   PAIGE        CARLIN-HEINTZ                OR     44578445258
BBB7B631155936   MIGUEL       GUAJARDO                     CA     90003616311
BBB7B67222B221   KRISTY       FLEMING                      DC     90005406722
BBB7B87A355972   PHILLIP      DURAN                        CA     90013938703
BBB7BA7672B941   KAREN        FALKENBERG                   CA     45034660767
BBB81288893758   LAMENA       STONE                        OH     90008712888
BBB81425697124   SARAH-ANN    TORRES                       OR     90002694256
BBB81563793771   JUSTIN       NEU                          OH     90013045637
BBB81795A93751   KERRI        ST CLAIR                     OH     64589047950
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2349 of 2350


BBB8227A58B12B   MAILEE            HAYES                   UT     90013552705
BBB82421276B27   ALMA              BELMAN                  CA     90012704212
BBB82763785836   KIMBERLY          PARANGAT                CA     90007387637
BBB83762676B27   MARTHA            CHAVEZ                  CA     90010197626
BBB8395345B269   PORSCHIA          DULIN                   KY     90006329534
BBB83958855972   GABRIELA          CORTEZ                  CA     90010259588
BBB84414655948   SUMMER            BECKER                  CA     90009414146
BBB8466A485927   LUIS              LEYVA                   KY     67095856604
BBB84A11172B62   MATTHEW           ELLIS                   CO     90012120111
BBB8524613B335   DARLENE           NEUFELD                 CO     33075682461
BBB8529115B269   DAVID R           HARDIN                  KY     90014022911
BBB8554582B857   MICHAELA          WARNER                  ID     42055175458
BBB85A1678B12B   EPHRAIM           NOLEN                   UT     90003340167
BBB8651695B396   LAUREN            EPSTEIN-MURRAY          OR     90013475169
BBB86774585836   FLOR              TORREZ                  CA     90014837745
BBB8723A597B43   JOSHUA            HOLTON                  CO     90007742305
BBB87528493758   CHRISTOPHE        SCOTT                   OH     64587945284
BBB87563A85836   JAIME             THOMPSON                CA     46054585630
BBB8794972B271   WILLIAM           SCOTT                   MD     90015369497
BBB8823882B857   BRANDY            AL-KOTRANI              ID     90011892388
BBB88432972442   LACIE             NOONAN                  PA     90001284329
BBB8919A15B327   KAREN             RANSOM                  OR     90013561901
BBB89361855972   VIVIANA           BARAJAS                 CA     90001013618
BBB89524A3363B   TONYA             STRONG                  NC     90005605240
BBB8959AA8B12B   MARY              GONZALES                UT     90013555900
BBB89827161825   GLEN              HARRIS                  IL     90015608271
BBB89848A93727   MIKE              BRANNON                 OH     64544698480
BBB8989962B857   ALAN              SHIPLEY                 ID     42091478996
BBB8B2A8785836   EDUARDO           VILLA                   CA     90014822087
BBB8B47235B269   JAMES             BRUCE                   KY     90010294723
BBB911A7A72B62   DONALD            MCMEANS                 CO     33039501070
BBB91328197124   DAVID             LANG                    OR     90012763281
BBB91664272B44   MARK              WATKINS                 CO     90008526642
BBB91873A76B3B   GUILLERMO         MADRID                  CA     90001628730
BBB91883291978   NESTOR            TORRES                  NC     90001678832
BBB9235A95B265   ANDREW            WEAVER                  KY     68001723509
BBB92371A7B391   LORENZO OSWALDO   SALINAS                 VA     90008293710
BBB92856172465   CHRISTOPHER       VASALECH                PA     90009468561
BBB93115231521   PAYGO             IVR ACTIVATION          NY     90014501152
BBB93995555972   BRENDA            GRANADOS                CA     90012239955
BBB93A8A37B489   EMILIO            CHAVEZ                  NC     90015100803
BBB94243541223   TRACY             SCHULTZ                 PA     51015822435
BBB94559593727   ERIN              BUCK                    OH     64546405595
BBB9456A55B396   NANCY             SAUCEDO                 OR     90013235605
BBB94638193752   JOHN BENJAMIN     HAWKINS                 OH     90014256381
BBB94A3113363B   SHAWNTENA         SPRUILL                 NC     90011070311
BBB951A7776B27   ANDRES            ESCOBAL                 CA     90013501077
BBB9549652B941   LINDA             FIELDS                  CA     90013084965
BBB9558985B327   TIM               HUUKI                   OR     44576355898
BBB95692172B69   ANGELICA          SONORA                  CO     33057776921
BBB95775393727   MARTINA           CALDWELL                OH     64537467753
BBB9587722B941   RUBY              OCHOA                   CA     90013388772
BBB9628222B941   MICHAEL           DEIEMOS                 CA     90003352822
BBB96373876B27   JESUS             HERNANDEZ               CA     90014823738
BBB96391991385   KATHLEEN          STRAUSBAUGH             KS     90005503919
BBB96987131688   SEBRINA           WINFREY                 KS     90012349871
BBB9698A251339   ANGELA            SAYRE                   OH     90007449802
BBB97353531639   EBONY             ASKEW                   KS     90013273535
BBB97425191978   TANIKA            BYRD                    NC     90010614251
BBB98195A72B69   REBECCA           OLOO                    CO     90013311950
BBB9821815B269   CANARY            LYNN                    KY     90008522181
BBB98365242332   BRANDI            PELL                    GA     90012273652
BBB9838612B857   SHEA              GOLDSTEIN               ID     90013333861
BBB98576491385   CHRISTINE         BLANKENSHIP             KS     90009895764
BBB98999A7B489   CHANTEL           OTTO                    NC     11063679990
BBB9923145B269   MELISSA           MAYES                   KY     90005372314
BBB99285851337   BINTA             TOURAY                  OH     90006622858
BBB9931274124B   ROBERT            MCCLOSKEY               PA     90004983127
BBB99336172B62   RON               CHAVEZ                  CO     33009233361
BBB99586793758   DAVID             CHAX                    OH     90013945867
BBB9B266A3363B   DANIELLEQ         HOWLE                   NC     90013022660
BBB9B328A4B56B   MARIA             ESPARZA                 OK     90006683280
BBB9B335533635   SHANEKIA          CRUMPTON                NC     90008473355
BBB9B546993751   BENJAMIN          BOYD                    OH     90003935469
BBB9BA98393745   AMBER             ROUSH                   OH     90013720983
   Case 3:19-cv-07270-WHA Document 408-2 Filed 03/23/22 Page 2350 of 2350


BBBB141129194B   NETASHA      HILL                         NC     90001144112
BBBB2247893727   TAYLOR       KOVACS                       OH     90014872478
BBBB229319194B   JONATHAN     FAIRCLOTH                    NC     90012722931
BBBB2424133647   SARAHI       LOPEZ                        NC     90012714241
BBBB285A655972   SAM          ALBO                         CA     90011768506
BBBB3136576B27   MARTHA       CORTEZ                       CA     90014011365
BBBB3744793751   EDWARD       BLOOMFIELD                   OH     90013347447
BBBB3A2615B269   TERRY        GRISMER                      KY     90008500261
BBBB41A2197124   MARIALUISA   GONZALEZ CONTRERA            OR     44053991021
BBBB457465B265   KAREN        MALONE                       KY     68027945746
BBBB4646A91978   SAUL         RIVERA                       NC     90013936460
BBBB4784421B48   SAFIYYAH     WYATT                        TX     90014317844
BBBB5554472465   RACHEL       KARAFFA                      PA     90013395544
BBBB5A83972B44   JERONIMO     CARILLO                      CO     33086220839
BBBB663298B139   MARLENE      ENGLAND                      UT     90004756329
BBBB7576A3B377   JERRY        BEAUCHAMP                    CO     90009905760
BBBB7719631639   DAVID        ROSE                         KS     90013777196
BBBB811717B443   TIMOTEO      CORDERO                      NC     11058801171
BBBB8145A93771   CHRISTINA    TORBOLI                      OH     90001691450
BBBB8687724B64   CARLA        CARTER                       DC     90008026877
BBBB89A2154B3B   MARIVEL      HERNANDEZ                    VA     81007249021
BBBB8A24272B69   MARCOS       LOZANO                       CO     33007930242
BBBB8A6579194B   ISLANDE      LAMARTINIERE                 NC     90002680657
BBBB9852291238   NICOLE       SHELLMAN                     GA     90009568522
